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                                      Exhibit B

                                Rejected Vehicle Leases




RLF1 23564073v.1
     VIN
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                      Make
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                                        Model Description  City
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 1   134PJMDNXKD178762   Chrysler       CHEROKEE            LOS ANGELES            CA
 2   154AL3AP4GN332440   Nissan         ALTIMA              Dallas                 TX
 3   154AL3AP8HN360615   Nissan         ALTIMA              SAN FRANCISCO          CA
 4   156BP7A33EC004844   Volkswagen     PASSAT              Matteson               IL
 5   16ADP3H21JL294423   Ford           FOCUS               SANTA CLARA            C
 6   16ADP3H2XJL261680   Ford           FOCUS               CHARLOTTE              NC
 7   16ADP3J24JL323309   Ford           FOCUS               FORT MYERS             FL
 8   16ADP3J27JL279368   Ford           FOCUS               LOS ANGELES            CA
 9   16ADP3J2XJL314873   Ford           FOCUS               Norwalk                CA
10   16ADP3M26JL314171   Ford           FOCUS               TAMPA                  US
11   16ADP3N21JL283183   Ford           FOCUS               Schaumburg             IL
12   16ADP3N21JL294667   Ford           FOCUS               Davie                  FL
13   16ADP3N22JL279482   Ford           FOCUS               KNOXVILLE              TN
14   16ADP3N22JL314585   Ford           FOCUS               SANTA ANA              CA
15   16ADP3N23JL326244   Ford           FOCUS               Manheim                PA
16   16ADP3N24JL314071   Ford           FOCUS               Charlotte              NC
17   16ADP3N26JL283146   Ford           FOCUS               Manheim                PA
18   16ADP3N26JL323726   Ford           FOCUS               SACRAMENTO             CA
19   16ADP3N28JL283309   Ford           FOCUS               Tolleson               AZ
20   16ADP3N2XJL250103   Ford           FOCUS               LAS VEGAS              NV
21   16MCU0HD6KUC31470   Ford           ESCAPE              PALM SPRINGS           CA
22   16MCU0HDXKUB82726   Ford           ESCAPE              PHOENIX                AZ
23   16MCU0J93KUB82945   Ford           ESCAPE              SEATAC                 WA
24   16MCU0J98KUA25573   Ford           ESCAPE              LAS VEGAS              NV
25   1711C5SA2GU161198   GM             MALIBU              Riverside              CA
26   171BE5SM0H7161547   GM             CRUZE               TEMPLE HILLS           MD
27   171BE5SM0H7242516   GM             CRUZE               BOSTON                 MA
28   171BE5SM2H7241108   GM             CRUZE               Atlanta                GA
29   171BE5SM5H7185066   GM             CRUZE               DAYTONA BEACH          FL
30   171BE5SM6H7243542   GM             CRUZE               RALEIGH, DURHAM        NC
31   171BE5SM7H7182671   GM             CRUZE               STERLING               VA
32   171BF5SM0H7244103   GM             CRUZE               SAN FRANCISCO          CA
33   171BF5SM7H7178696   GM             CRUZE               Tampa                  FL
34   171BF5SMXH7242021   GM             CRUZE               HANOVER                MD
35   171PE5SB3F7284275   GM             CRUZE               Pasadena               CA
36   17KKNLLA1JZ207224   GM             ACADIA              Plainfield             IN
37   17KKNLLA9KZ271402   GM             ACADIA              PHOENIX                AZ
38   17KKNMLS0JZ218620   GM             ACADIA              BOISE                  US
39   17KKNMLS2JZ218523   GM             ACADIA              PHOENIX                AZ
40   17KKNMLS8KZ264875   GM             ACADIA              PHOENIX                AZ
41   17KKNMLS9KZ249916   GM             ACADIA              PHOENIX                AZ
42   17KKNMLSXKZ251447   GM             ACADIA              PHOENIX                AZ
43   19XFB2F71FE703708   Honda          CIVIC               SAN FRANCISCO          CA
44   19XFC1F3XGE209109   Honda          CIVIC               North Billerica        MA
45   19XFC2F52GE045667   Honda          CIVIC               STERLING               VA
46   19XFC2F52JE002681   Honda          CIVIC               Philadelphia           PA
47   19XFC2F53HE222034   Honda          CIVIC               Tolleson               AZ
48   19XFC2F54GE022097   Honda          CIVIC               ST Paul                MN
49   19XFC2F54GE210795   Honda          CIVIC               PHILADELPHIA           PA
50   19XFC2F55GE016325   Honda          CIVIC               Philadelphia           PA
51   19XFC2F55GE213916   Honda          CIVIC               North Dighton          MA
52   19XFC2F56HE223484   Honda          CIVIC               BURBANK                CA
53   19XFC2F57GE070306   Honda          CIVIC               CHICAGO                IL
54   19XFC2F57GE202481   Honda          CIVIC               Lynn                   MA
55   19XFC2F57GE207907   Honda          CIVIC               EXETER                 RI
56   19XFC2F57HE051031   Honda          CIVIC               DALLAS                 TX
57   19XFC2F57JE002000   Honda          CIVIC               EAST BOSTON            MA
58   19XFC2F58GE218107   Honda          CIVIC               SANTA ANA              CA
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 59   19XFC2F58GE221878   Honda        CIVIC               Burlingame             CA
 60   19XFC2F58GE235909   Honda        CIVIC               NEW ENGLAND DEALER     MA
 61   19XFC2F58JE002054   Honda        CIVIC               Grove City             OH
 62   19XFC2F58JE007240   Honda        CIVIC               Matteson               IL
 63   19XFC2F59GE040868   Honda        CIVIC               BOSTON                 MA
 64   19XFC2F60KE008991   Honda        CIVIC               TAMPA                  FL
 65   19XFC2F60KE021305   Honda        CIVIC               Miami                  FL
 66   19XFC2F60KE022034   Honda        CIVIC               Atlanta                GA
 67   19XFC2F60KE025340   Honda        CIVIC               Nashville              TN
 68   19XFC2F60KE027900   Honda        CIVIC               TAMPA                  FL
 69   19XFC2F60KE029212   Honda        CIVIC               Ft. Myers              FL
 70   19XFC2F60KE031378   Honda        CIVIC               Miami                  FL
 71   19XFC2F60KE034670   Honda        CIVIC               COLLEGE PARK           GA
 72   19XFC2F60KE035530   Honda        CIVIC               Houston                TX
 73   19XFC2F60KE039061   Honda        CIVIC               TAMPA                  FL
 74   19XFC2F60KE039237   Honda        CIVIC               SAN ANTONIO            TX
 75   19XFC2F61KE012371   Honda        CIVIC               ORLANDO                FL
 76   19XFC2F61KE015643   Honda        CIVIC               Manheim                PA
 77   19XFC2F61KE015657   Honda        CIVIC               Denver                 CO
 78   19XFC2F61KE015741   Honda        CIVIC               ORLANDO                FL
 79   19XFC2F61KE025721   Honda        CIVIC               Florissant             MO
 80   19XFC2F61KE030708   Honda        CIVIC               Jacksonville           FL
 81   19XFC2F61KE030790   Honda        CIVIC               WEST PALM BEACH        FL
 82   19XFC2F61KE038856   Honda        CIVIC               PANAMA CITY            FL
 83   19XFC2F61KE038999   Honda        CIVIC               COLUMBIA               SC
 84   19XFC2F61KE206561   Honda        CIVIC               Portland               OR
 85   19XFC2F61KE212523   Honda        CIVIC               Portland               OR
 86   19XFC2F62KE005140   Honda        CIVIC               Birmingham             AL
 87   19XFC2F62KE024772   Honda        CIVIC               TAMPA                  FL
 88   19XFC2F62KE027011   Honda        CIVIC               ORLANDO                FL
 89   19XFC2F62KE030278   Honda        CIVIC               FORT MYERS             FL
 90   19XFC2F62KE030832   Honda        CIVIC               TAMPA                  FL
 91   19XFC2F62KE036890   Honda        CIVIC               LOUISVILLE             KY
 92   19XFC2F62KE047629   Honda        CIVIC               EULESS                 TX
 93   19XFC2F62KE048909   Honda        CIVIC               PHOENIX                AZ
 94   19XFC2F62KE212546   Honda        CIVIC               Beaverton              OR
 95   19XFC2F63KE011206   Honda        CIVIC               Davie                  FL
 96   19XFC2F63KE013974   Honda        CIVIC               MARIETTA               GA
 97   19XFC2F63KE020309   Honda        CIVIC               Atlanta                GA
 98   19XFC2F63KE020889   Honda        CIVIC               MOBILE                 A
 99   19XFC2F63KE029544   Honda        CIVIC               HANOVER                MD
100   19XFC2F63KE032959   Honda        CIVIC               WEST PALM BEACH        FL
101   19XFC2F63KE035439   Honda        CIVIC               ALBUQUERQUE            NM
102   19XFC2F63KE035697   Honda        CIVIC               HARTFORD               CT
103   19XFC2F63KE037126   Honda        CIVIC               Winter Park            FL
104   19XFC2F63KE037658   Honda        CIVIC               MERRIVILLE             IN
105   19XFC2F63KE037921   Honda        CIVIC               SOUTHEAST DST OFFC     OK
106   19XFC2F63KE040253   Honda        CIVIC               ORLANDO                FL
107   19XFC2F63KE042732   Honda        CIVIC               ORLANDO                FL
108   19XFC2F63KE043380   Honda        CIVIC               ORLANDO                FL
109   19XFC2F63KE212555   Honda        CIVIC               CHATTANOOGA            TN
110   19XFC2F64KE006922   Honda        CIVIC               Miami                  FL
111   19XFC2F64KE009951   Honda        CIVIC               LOUISVILLE             KY
112   19XFC2F64KE009965   Honda        CIVIC               ORLANDO                FL
113   19XFC2F64KE019637   Honda        CIVIC               ORLANDO                FL
114   19XFC2F64KE020402   Honda        CIVIC               COLLEGE PARK           GA
115   19XFC2F64KE020769   Honda        CIVIC               Portland               OR
116   19XFC2F64KE020898   Honda        CIVIC               Philadelphia           PA
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117   19XFC2F64KE023901   Honda        CIVIC               Beaverton              OR
118   19XFC2F64KE024160   Honda        CIVIC               Pittsburgh             PA
119   19XFC2F64KE026801   Honda        CIVIC               Las Vegas              NV
120   19XFC2F64KE028631   Honda        CIVIC               Louisville             KY
121   19XFC2F64KE037247   Honda        CIVIC               ATLANTA                GA
122   19XFC2F64KE038799   Honda        CIVIC               BOSTON                 MA
123   19XFC2F64KE044599   Honda        CIVIC               Phoenix                AZ
124   19XFC2F65KE007349   Honda        CIVIC               CHAMBLEE               GA
125   19XFC2F65KE008128   Honda        CIVIC               PHOENIX                AZ
126   19XFC2F65KE008162   Honda        CIVIC               COLLEGE PARK           GA
127   19XFC2F65KE009375   Honda        CIVIC               Winter Park            FL
128   19XFC2F65KE010977   Honda        CIVIC               EL PASO                TX
129   19XFC2F65KE012812   Honda        CIVIC               HANOVER                MD
130   19XFC2F65KE014348   Honda        CIVIC               Charlotte              NC
131   19XFC2F65KE015449   Honda        CIVIC               Nashville              TN
132   19XFC2F65KE016164   Honda        CIVIC               MIAMI                  FL
133   19XFC2F65KE017105   Honda        CIVIC               Miami                  FL
134   19XFC2F65KE019002   Honda        CIVIC               Davie                  FL
135   19XFC2F65KE020649   Honda        CIVIC               TAMPA                  FL
136   19XFC2F65KE024989   Honda        CIVIC               TAMPA                  FL
137   19XFC2F65KE031084   Honda        CIVIC               CHARLOTTE              NC
138   19XFC2F65KE035264   Honda        CIVIC               Englewood              CO
139   19XFC2F65KE036124   Honda        CIVIC               STERLING               VA
140   19XFC2F65KE036219   Honda        CIVIC               PHOENIX                AZ
141   19XFC2F65KE036611   Honda        CIVIC               ORLANDO                FL
142   19XFC2F65KE042988   Honda        CIVIC               Stockton               CA
143   19XFC2F65KE043011   Honda        CIVIC               PHOENIX                AZ
144   19XFC2F65KE043204   Honda        CIVIC               TUCSON                 AZ
145   19XFC2F65KE046166   Honda        CIVIC               PHOENIX                AZ
146   19XFC2F65KE047494   Honda        CIVIC               PHOENIX                AZ
147   19XFC2F65KE202450   Honda        CIVIC               Portland               OR
148   19XFC2F65KE204344   Honda        CIVIC               Arlington              WA
149   19XFC2F65KE213643   Honda        CIVIC               Phoenix                AZ
150   19XFC2F66KE000636   Honda        CIVIC               ORLANDO                FL
151   19XFC2F66KE003343   Honda        CIVIC               Estero                 FL
152   19XFC2F66KE009045   Honda        CIVIC               Florissant             MO
153   19XFC2F66KE010910   Honda        CIVIC               COLLEGE PARK           GA
154   19XFC2F66KE011412   Honda        CIVIC               DENVER                 CO
155   19XFC2F66KE012334   Honda        CIVIC               COLLEGE PARK           GA
156   19XFC2F66KE014018   Honda        CIVIC               Atlanta                GA
157   19XFC2F66KE014231   Honda        CIVIC               Miami                  FL
158   19XFC2F66KE015461   Honda        CIVIC               ATLANTA                GA
159   19XFC2F66KE027643   Honda        CIVIC               FORT LAUDERDALE        FL
160   19XFC2F66KE031028   Honda        CIVIC               Las Vegas              NV
161   19XFC2F66KE036312   Honda        CIVIC               Hebron                 KY
162   19XFC2F66KE037296   Honda        CIVIC               PHOENIX                AZ
163   19XFC2F66KE037654   Honda        CIVIC               Atlanta                GA
164   19XFC2F66KE037850   Honda        CIVIC               PORTLAND               OR
165   19XFC2F66KE038819   Honda        CIVIC               Miami                  FL
166   19XFC2F66KE041381   Honda        CIVIC               ORLANDO                FL
167   19XFC2F66KE041395   Honda        CIVIC               WEST PALM BEACH        FL
168   19XFC2F66KE042059   Honda        CIVIC               Detroit                MI
169   19XFC2F66KE042465   Honda        CIVIC               CHICAGO                IL
170   19XFC2F66KE042725   Honda        CIVIC               N. Palm Beach          FL
171   19XFC2F66KE048038   Honda        CIVIC               Pompano Beach          FL
172   19XFC2F67KE000094   Honda        CIVIC               Atlanta                GA
173   19XFC2F67KE002766   Honda        CIVIC               DALLAS                 TX
174   19XFC2F67KE007725   Honda        CIVIC               Estero                 FL
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175   19XFC2F67KE014027   Honda        CIVIC               WHITE PLAINS           NY
176   19XFC2F67KE019549   Honda        CIVIC               Newark                 NJ
177   19XFC2F67KE020314   Honda        CIVIC               WEST PALM BEACH        FL
178   19XFC2F67KE021396   Honda        CIVIC               PENSACOLA              FL
179   19XFC2F67KE026310   Honda        CIVIC               Detroit                MI
180   19XFC2F67KE027912   Honda        CIVIC               Orlando                FL
181   19XFC2F67KE031216   Honda        CIVIC               RALEIGH, DURHAM        NC
182   19XFC2F67KE033208   Honda        CIVIC               BALTIMORE              MD
183   19XFC2F67KE035296   Honda        CIVIC               Houston                TX
184   19XFC2F67KE036819   Honda        CIVIC               Hapeville              GA
185   19XFC2F67KE039008   Honda        CIVIC               ORLANDO                FL
186   19XFC2F67KE039123   Honda        CIVIC               STERLING               VA
187   19XFC2F67KE039266   Honda        CIVIC               KILLEEN                US
188   19XFC2F67KE039395   Honda        CIVIC               TAMPA                  FL
189   19XFC2F67KE040224   Honda        CIVIC               FAYETTEVILLE           GA
190   19XFC2F67KE043401   Honda        CIVIC               PHOENIX                AZ
191   19XFC2F67KE043799   Honda        CIVIC               LAS VEGAS              NV
192   19XFC2F67KE201980   Honda        CIVIC               FEDERAL WAY            WA
193   19XFC2F68KE005403   Honda        CIVIC               TAMPA                  FL
194   19XFC2F68KE017499   Honda        CIVIC               LITTLE ROCK            AR
195   19XFC2F68KE019172   Honda        CIVIC               Houston                TX
196   19XFC2F68KE020743   Honda        CIVIC               Atlanta                GA
197   19XFC2F68KE021973   Honda        CIVIC               MIAMI                  FL
198   19XFC2F68KE023108   Honda        CIVIC               ORLANDO                FL
199   19XFC2F68KE026414   Honda        CIVIC               FORT MYERS             FL
200   19XFC2F68KE028535   Honda        CIVIC               ORLANDO                FL
201   19XFC2F68KE030088   Honda        CIVIC               Hapeville              GA
202   19XFC2F68KE031368   Honda        CIVIC               ALBUQUERQUE            NM
203   19XFC2F68KE031743   Honda        CIVIC               UNION CITY             GA
204   19XFC2F68KE032973   Honda        CIVIC               Sanford                FL
205   19XFC2F68KE036845   Honda        CIVIC               WHITE PLAINS           NY
206   19XFC2F68KE037719   Honda        CIVIC               Estero                 FL
207   19XFC2F68KE038871   Honda        CIVIC               Miami                  FL
208   19XFC2F68KE039423   Honda        CIVIC               Davie                  FL
209   19XFC2F68KE206847   Honda        CIVIC               Burien                 WA
210   19XFC2F68KE212485   Honda        CIVIC               Stockton               CA
211   19XFC2F69KE006768   Honda        CIVIC               Hapeville              GA
212   19XFC2F69KE011016   Honda        CIVIC               Houston                TX
213   19XFC2F69KE012358   Honda        CIVIC               CLEARWATER             FL
214   19XFC2F69KE012733   Honda        CIVIC               Atlanta                GA
215   19XFC2F69KE014675   Honda        CIVIC               Phoenix                AZ
216   19XFC2F69KE017897   Honda        CIVIC               TAMPA                  FL
217   19XFC2F69KE018578   Honda        CIVIC               Miami                  FL
218   19XFC2F69KE022565   Honda        CIVIC               COLLEGE PARK           GA
219   19XFC2F69KE030133   Honda        CIVIC               Denver                 CO
220   19XFC2F69KE036207   Honda        CIVIC               CHICAGO                IL
221   19XFC2F69KE048261   Honda        CIVIC               MIAMI                  FL
222   19XFC2F69KE048860   Honda        CIVIC               TAMPA                  FL
223   19XFC2F69KE211359   Honda        CIVIC               Burien                 WA
224   19XFC2F6XKE009047   Honda        CIVIC               Ft. Myers              FL
225   19XFC2F6XKE011932   Honda        CIVIC               SOUTHEAST DST OFFC     OK
226   19XFC2F6XKE017374   Honda        CIVIC               TAMPA                  FL
227   19XFC2F6XKE017925   Honda        CIVIC               MIAMI                  FL
228   19XFC2F6XKE020811   Honda        CIVIC               Englewood              CO
229   19XFC2F6XKE022039   Honda        CIVIC               Miami                  FL
230   19XFC2F6XKE022932   Honda        CIVIC               Davie                  FL
231   19XFC2F6XKE023014   Honda        CIVIC               ORLANDO                FL
232   19XFC2F6XKE025636   Honda        CIVIC               ORLANDO                FL
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233   19XFC2F6XKE029136   Honda        CIVIC                 Pensacola             FL
234   19XFC2F6XKE033414   Honda        CIVIC                 Portland              OR
235   19XFC2F6XKE038936   Honda        CIVIC                 Estero                FL
236   19XFC2F6XKE040167   Honda        CIVIC                 Sanford               FL
237   19XFC2F6XKE041240   Honda        CIVIC                 Jacksonville          FL
238   19XFC2F6XKE041982   Honda        CIVIC                 SALT LAKE CITY        UT
239   19XFC2F6XKE044042   Honda        CIVIC                 ALBUQUERQUE           NM
240   19XFC2F6XKE048060   Honda        CIVIC                 Orlando               FL
241   19XFC2F6XKE205392   Honda        CIVIC                 Portland              OR
242   19XFC2F70GE219995   Honda        CIVIC                 NEW ENGLAND DEALER    MA
243   19XFC2F71JE002110   Honda        CIVIC                 North Dighton         MA
244   19XFC2F72HE007584   Honda        CIVIC                 Fort Lauderdale       FL
245   19XFC2F73HE230765   Honda        CIVIC                 SAN JOSE              CA
246   19XFC2F76GE037685   Honda        CIVIC                 DES MOINES            IA
247   19XFC2F76HE201454   Honda        CIVIC                 STERLING              VA
248   19XFC2F77GE035203   Honda        CIVIC                 Davie                 FL
249   1C3CCCAB3GN166763   Chrysler                     200   SAN DIEGO             CA
250   1C3CCCAB6GN137290   Chrysler                     200   BURBANK               CA
251   1C3CCCAB7GN151294   Chrysler                     200   PHOENIX               AZ
252   1C3CCCAB9HN504927   Chrysler                     200   Atlanta               GA
253   1C3CCCABXFN679099   Chrysler                     200   UNION CITY            GA
254   1C3CDFBB3FD181474   Chrysler     DART                  Los Angeles           CA
255   1C3CDFBB4FD243531   Chrysler     DART                  CHICAGO               IL
256   1C3CDFEB9FD123431   Chrysler     DART                  RICHMOND              VA
257   1C3CDFFA5GD821218   Chrysler     DART                  BURBANK               CA
258   1C4AJWAG2JL857422   Chrysler     WRAN                  Tampa                 FL
259   1C4AJWAG5HL676566   Chrysler     WRAN                  MARIETTA              GA
260   1C4AJWBG2JL936796   Chrysler     WRAN                  Aurora                CO
261   1C4AJWBG9JL936570   Chrysler     WRAN                  Bordentown            NJ
262   1C4BJWDG0HL753375   Chrysler     WRAN                  Honolulu              HI
263   1C4BJWDG0JL866684   Chrysler     WRAN                  KAILUA‐KONA           HI
264   1C4BJWDG0JL874638   Chrysler     WRAN                  HONOLULU              HI
265   1C4BJWDG0JL874719   Chrysler     WRAN                  HONOLULU              HI
266   1C4BJWDG0JL881928   Chrysler     WRAN                  Lihue                 HI
267   1C4BJWDG0JL881931   Chrysler     WRAN                  HONOLULU              HI
268   1C4BJWDG0JL881945   Chrysler     WRAN                  Hayward               CA
269   1C4BJWDG0JL881959   Chrysler     WRAN                  TRACY                 CA
270   1C4BJWDG0JL886448   Chrysler     WRAN                  KAUAI                 HI
271   1C4BJWDG0JL886482   Chrysler     WRAN                  SAN FRANCISCO         CA
272   1C4BJWDG0JL886529   Chrysler     WRAN                  SAN FRANCISCO         CA
273   1C4BJWDG0JL886742   Chrysler     WRAN                  LIHUE                 HI
274   1C4BJWDG0JL887034   Chrysler     WRAN                  HONOLULU              HI
275   1C4BJWDG0JL887096   Chrysler     WRAN                  Kahului               HI
276   1C4BJWDG0JL887776   Chrysler     WRAN                  HONOLULU              HI
277   1C4BJWDG0JL888443   Chrysler     WRAN                  HONOLULU              HI
278   1C4BJWDG1HL718263   Chrysler     WRAN                  SAN FRANCISCO         CA
279   1C4BJWDG1HL753367   Chrysler     WRAN                  Stockton              CA
280   1C4BJWDG1JL881923   Chrysler     WRAN                  LIHUE                 HI
281   1C4BJWDG1JL881937   Chrysler     WRAN                  LIHUE                 HI
282   1C4BJWDG1JL881954   Chrysler     WRAN                  KAUAI                 HI
283   1C4BJWDG1JL882232   Chrysler     WRAN                  HONOLULU              HI
284   1C4BJWDG1JL883090   Chrysler     WRAN                  LIHUE                 HI
285   1C4BJWDG1JL884837   Chrysler     WRAN                  Honolulu              HI
286   1C4BJWDG1JL886524   Chrysler     WRAN                  SAN FRANCISCO         CA
287   1C4BJWDG1JL887219   Chrysler     WRAN                  Honolulu              HI
288   1C4BJWDG1JL916427   Chrysler     WRAN                  Hattiesburg           MS
289   1C4BJWDG2HL649714   Chrysler     WRAN                  Bensalem              PA
290   1C4BJWDG2JL873989   Chrysler     WRAN                  North Dighton         MA
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291   1C4BJWDG2JL878304   Chrysler     WRAN                KAHULUI                HI
292   1C4BJWDG2JL878528   Chrysler     WRAN                TRACY                  CA
293   1C4BJWDG2JL882045   Chrysler     WRAN                HONOLULU               HI
294   1C4BJWDG2JL882059   Chrysler     WRAN                KAHULUI                HI
295   1C4BJWDG2JL882210   Chrysler     WRAN                Lihue                  HI
296   1C4BJWDG2JL882272   Chrysler     WRAN                HONOLULU               HI
297   1C4BJWDG2JL882837   Chrysler     WRAN                Portland               OR
298   1C4BJWDG2JL882854   Chrysler     WRAN                Honolulu               HI
299   1C4BJWDG2JL886452   Chrysler     WRAN                LIHUE                  HI
300   1C4BJWDG2JL886502   Chrysler     WRAN                HILO                   HI
301   1C4BJWDG2JL886516   Chrysler     WRAN                Bridgeton              MO
302   1C4BJWDG2JL886564   Chrysler     WRAN                KALAOA                 HI
303   1C4BJWDG2JL886581   Chrysler     WRAN                NEW ORLEANS            LA
304   1C4BJWDG2JL886631   Chrysler     WRAN                INDIANAPOLIS           IN
305   1C4BJWDG2JL888413   Chrysler     WRAN                Hilo                   HI
306   1C4BJWDG2JL890968   Chrysler     WRAN                Kahului                HI
307   1C4BJWDG2JL908496   Chrysler     WRAN                HONOLULU               HI
308   1C4BJWDG3JL866145   Chrysler     WRAN                Hilo                   HI
309   1C4BJWDG3JL873998   Chrysler     WRAN                ST Paul                MN
310   1C4BJWDG3JL878649   Chrysler     WRAN                HONOLULU               HI
311   1C4BJWDG3JL879316   Chrysler     WRAN                Hilo                   HI
312   1C4BJWDG3JL886489   Chrysler     WRAN                KAUAI                  HI
313   1C4BJWDG3JL886525   Chrysler     WRAN                HILO                   HI
314   1C4BJWDG3JL886878   Chrysler     WRAN                KAUAI                  HI
315   1C4BJWDG3JL907129   Chrysler     WRAN                Honolulu               HI
316   1C4BJWDG3JL908457   Chrysler     WRAN                HOUSTON                TX
317   1C4BJWDG4HL753377   Chrysler     WRAN                Portland               OR
318   1C4BJWDG4JL865375   Chrysler     WRAN                Kahului                HI
319   1C4BJWDG4JL875386   Chrysler     WRAN                HONOLULU               HI
320   1C4BJWDG4JL882192   Chrysler     WRAN                HONOLULU               HI
321   1C4BJWDG4JL882838   Chrysler     WRAN                Portland               OR
322   1C4BJWDG4JL882872   Chrysler     WRAN                Honolulu               HI
323   1C4BJWDG4JL886534   Chrysler     WRAN                WHITE PLAINS           NY
324   1C4BJWDG4JL886551   Chrysler     WRAN                WAIMEA                 HI
325   1C4BJWDG4JL886596   Chrysler     WRAN                SAN FRANCISCO          CA
326   1C4BJWDG4JL887036   Chrysler     WRAN                Kahului                HI
327   1C4BJWDG4JL887098   Chrysler     WRAN                KAHULUI                HI
328   1C4BJWDG4JL887120   Chrysler     WRAN                KAHULUI                HI
329   1C4BJWDG4JL887232   Chrysler     WRAN                KAHULUI                HI
330   1C4BJWDG4JL888817   Chrysler     WRAN                TAMPA                  FL
331   1C4BJWDG4JL906913   Chrysler     WRAN                HONOLULU               HI
332   1C4BJWDG5JL873761   Chrysler     WRAN                INDIANAPOLIS           IN
333   1C4BJWDG5JL882010   Chrysler     WRAN                HONOLULU               HI
334   1C4BJWDG5JL882833   Chrysler     WRAN                SAN FRANCISCO          CA
335   1C4BJWDG5JL882850   Chrysler     WRAN                EWA BEACH              HI
336   1C4BJWDG5JL883030   Chrysler     WRAN                EWA BEACH              HI
337   1C4BJWDG5JL883058   Chrysler     WRAN                CLEVELAND              OH
338   1C4BJWDG5JL883688   Chrysler     WRAN                KAHULUI                HI
339   1C4BJWDG5JL883724   Chrysler     WRAN                HONOLULU               HI
340   1C4BJWDG5JL884825   Chrysler     WRAN                PLEASANTON             CA
341   1C4BJWDG5JL886560   Chrysler     WRAN                CHICAGO O'HARE AP      IL
342   1C4BJWDG5JL886607   Chrysler     WRAN                Stockton               CA
343   1C4BJWDG5JL887076   Chrysler     WRAN                Kahului                HI
344   1C4BJWDG5JL887188   Chrysler     WRAN                KAHULUI                HI
345   1C4BJWDG5JL888096   Chrysler     WRAN                Kahului                HI
346   1C4BJWDG5JL907312   Chrysler     WRAN                HONOLULU               HI
347   1C4BJWDG5JL909027   Chrysler     WRAN                KANSAS CITY            MO
348   1C4BJWDG6JL881951   Chrysler     WRAN                Hilo                   HI
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349   1C4BJWDG6JL882193   Chrysler     WRAN                HONOLULU                HI
350   1C4BJWDG6JL882291   Chrysler     WRAN                HONOLULU                HI
351   1C4BJWDG6JL882730   Chrysler     WRAN                HONOLULU                HI
352   1C4BJWDG6JL886468   Chrysler     WRAN                LIHUE                   HI
353   1C4BJWDG6JL886499   Chrysler     WRAN                Portland                OR
354   1C4BJWDG6JL886597   Chrysler     WRAN                SAN ANTONIO             TX
355   1C4BJWDG6JL887099   Chrysler     WRAN                KAHULUI                 HI
356   1C4BJWDG6JL887118   Chrysler     WRAN                Kahului                 HI
357   1C4BJWDG6JL887412   Chrysler     WRAN                KAHULUI                 HI
358   1C4BJWDG6JL887782   Chrysler     WRAN                HILO                    HI
359   1C4BJWDG6JL891637   Chrysler     WRAN                Kahului                 HI
360   1C4BJWDG7HL753373   Chrysler     WRAN                Honolulu                HI
361   1C4BJWDG7HL753454   Chrysler     WRAN                SAN FRANCISCO           CA
362   1C4BJWDG7JL881926   Chrysler     WRAN                LIHUE                   HI
363   1C4BJWDG7JL882851   Chrysler     WRAN                HONOLULU                HI
364   1C4BJWDG7JL882879   Chrysler     WRAN                Honolulu                HI
365   1C4BJWDG7JL886477   Chrysler     WRAN                KANSAS CITY             MO
366   1C4BJWDG7JL886754   Chrysler     WRAN                DENVER                  CO
367   1C4BJWDG7JL887029   Chrysler     WRAN                Kahului                 HI
368   1C4BJWDG7JL887077   Chrysler     WRAN                KAHULUI                 HI
369   1C4BJWDG7JL888181   Chrysler     WRAN                ATLANTA                 GA
370   1C4BJWDG7JL888441   Chrysler     WRAN                HONOLULU                HI
371   1C4BJWDG7JL906906   Chrysler     WRAN                SACRAMENTO              CA
372   1C4BJWDG7JL907800   Chrysler     WRAN                SAN JOSE                CA
373   1C4BJWDG7JL908459   Chrysler     WRAN                HONOLULU                HI
374   1C4BJWDG7JL938738   Chrysler     WRAN                SAN ANTONIO             TX
375   1C4BJWDG8JL874516   Chrysler     WRAN                Kahului                 HI
376   1C4BJWDG8JL874550   Chrysler     WRAN                KAHULUI                 HI
377   1C4BJWDG8JL878839   Chrysler     WRAN                BLOOMINGTON             IL
378   1C4BJWDG8JL882289   Chrysler     WRAN                HONOLULU                HI
379   1C4BJWDG8JL882549   Chrysler     WRAN                S. San Francisc         CA
380   1C4BJWDG8JL882583   Chrysler     WRAN                LIHUE                   HI
381   1C4BJWDG8JL882860   Chrysler     WRAN                Honolulu                HI
382   1C4BJWDG8JL886469   Chrysler     WRAN                SALT LAKE CITY          US
383   1C4BJWDG8JL886486   Chrysler     WRAN                KAUAI                   HI
384   1C4BJWDG8JL886522   Chrysler     WRAN                Kailua Kona             HI
385   1C4BJWDG8JL886603   Chrysler     WRAN                LIHUE                   HI
386   1C4BJWDG8JL886858   Chrysler     WRAN                KAUAI                   HI
387   1C4BJWDG8JL910298   Chrysler     WRAN                HONOLULU                HI
388   1C4BJWDG8JL938733   Chrysler     WRAN                Baltimore               MD
389   1C4BJWDG9HL753374   Chrysler     WRAN                Burlingame              CA
390   1C4BJWDG9HL753455   Chrysler     WRAN                HONOLULU                HI
391   1C4BJWDG9JL878543   Chrysler     WRAN                HONOLULU                HI
392   1C4BJWDG9JL881930   Chrysler     WRAN                KAUAI                   HI
393   1C4BJWDG9JL881944   Chrysler     WRAN                SAN FRANCISCO           CA
394   1C4BJWDG9JL881961   Chrysler     WRAN                KAUAI                   HI
395   1C4BJWDG9JL882012   Chrysler     WRAN                Honolulu                HI
396   1C4BJWDG9JL882270   Chrysler     WRAN                LIHUE                   HI
397   1C4BJWDG9JL882852   Chrysler     WRAN                Honolulu                HI
398   1C4BJWDG9JL882866   Chrysler     WRAN                HONOLULU                HI
399   1C4BJWDG9JL883791   Chrysler     WRAN                KAHULUI                 HI
400   1C4BJWDG9JL884617   Chrysler     WRAN                So. San Francis         CA
401   1C4BJWDG9JL886481   Chrysler     WRAN                SEATAC                  WA
402   1C4BJWDG9JL886741   Chrysler     WRAN                Englewood               CO
403   1C4BJWDG9JL887081   Chrysler     WRAN                HONOLULU                HI
404   1C4BJWDG9JL888456   Chrysler     WRAN                NEW ORLEANS             LA
405   1C4BJWDG9JL938739   Chrysler     WRAN                DFW AIRPORT             TX
406   1C4BJWDGXJL865638   Chrysler     WRAN                SAN FRANCISCO           CA
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407   1C4BJWDGXJL878616   Chrysler     WRAN                HONOLULU               HI
408   1C4BJWDGXJL884237   Chrysler     WRAN                HILO                   HI
409   1C4BJWDGXJL886473   Chrysler     WRAN                SAN FRANCISCO          CA
410   1C4BJWDGXJL886506   Chrysler     WRAN                SAN FRANCISCO          CA
411   1C4BJWDGXJL886747   Chrysler     WRAN                DENVER                 CO
412   1C4BJWDGXJL886859   Chrysler     WRAN                KAUAI                  HI
413   1C4BJWDGXJL887218   Chrysler     WRAN                KAHULUI                HI
414   1C4BJWDGXJL898056   Chrysler     WRAN                Colorado Spring        CO
415   1C4BJWDGXJL908486   Chrysler     WRAN                Honolulu               HI
416   1C4BJWDGXJL910433   Chrysler     WRAN                SAN ANTONIO            TX
417   1C4BJWEG0JL935906   Chrysler     WRAN                TAMPA                  FL
418   1C4BJWEG0JL936313   Chrysler     WRAN                Huntington Stat        NY
419   1C4BJWEG1JL850007   Chrysler     WRAN                SAN DIEGO              CA
420   1C4BJWEG1JL936238   Chrysler     WRAN                KENNER                 LA
421   1C4BJWEG1JL936353   Chrysler     WRAN                WHITE PLAINS           NY
422   1C4BJWEG1JL937261   Chrysler     WRAN                San Diego              CA
423   1C4BJWEG1JL937826   Chrysler     WRAN                BROOKLYN               NY
424   1C4BJWEG2JL937480   Chrysler     WRAN                CHARLOTTE              NC
425   1C4BJWEG2JL937897   Chrysler     WRAN                RONKONKOMA             NY
426   1C4BJWEG3JL937584   Chrysler     WRAN                WINDSOR LOCKS          CT
427   1C4BJWEG4JL895412   Chrysler     WRAN                Manheim                PA
428   1C4BJWEG5JL895421   Chrysler     WRAN                SAINT PAUL             MN
429   1C4BJWEG5JL936453   Chrysler     WRAN                Atlanta                GA
430   1C4BJWEG6JL937563   Chrysler     WRAN                CHEEKTOWAGA            NY
431   1C4BJWEG7JL908153   Chrysler     WRAN                TAMPA                  FL
432   1C4BJWEG7JL936406   Chrysler     WRAN                GRAND RAPIDS           MI
433   1C4BJWEG8JL889516   Chrysler     WRAN                HONOLULU               HI
434   1C4BJWEG9JL936116   Chrysler     WRAN                SAINT LOUIS            MO
435   1C4BJWEGXJL936576   Chrysler     WRAN                BOSTON                 MA
436   1C4BJWEGXJL937825   Chrysler     WRAN                STERLING               VA
437   1C4GJWBG6JL922958   Chrysler     WRAN                STERLING               VA
438   1C4HJWDG0JL922973   Chrysler     WRAN                HILO                   HI
439   1C4HJWDG0JL923315   Chrysler     WRAN                Kahului                HI
440   1C4HJWDG0JL923525   Chrysler     WRAN                HONOLULU               HI
441   1C4HJWDG0JL925727   Chrysler     WRAN                SAN FRANCISCO          CA
442   1C4HJWDG0JL925761   Chrysler     WRAN                KALAOA                 HI
443   1C4HJWDG0JL925775   Chrysler     WRAN                HILO                   HI
444   1C4HJWDG0JL925792   Chrysler     WRAN                LIHUE                  HI
445   1C4HJWDG0JL925808   Chrysler     WRAN                LIHUE                  HI
446   1C4HJWDG0JL925825   Chrysler     WRAN                LIHUE                  HI
447   1C4HJWDG0JL925839   Chrysler     WRAN                LIHUE                  HI
448   1C4HJWDG0JL925856   Chrysler     WRAN                Kahului                HI
449   1C4HJWDG0JL925873   Chrysler     WRAN                KAHULUI                HI
450   1C4HJWDG0JL925887   Chrysler     WRAN                KAHULUI                HI
451   1C4HJWDG0JL925890   Chrysler     WRAN                Kahului                HI
452   1C4HJWDG0JL925937   Chrysler     WRAN                KAHULUI                HI
453   1C4HJWDG0JL925940   Chrysler     WRAN                Kahului                HI
454   1C4HJWDG0JL925985   Chrysler     WRAN                HONOLULU               HI
455   1C4HJWDG0JL925999   Chrysler     WRAN                HONOLULU               HI
456   1C4HJWDG1JL922965   Chrysler     WRAN                HILO                   HI
457   1C4HJWDG1JL923324   Chrysler     WRAN                Kahului                HI
458   1C4HJWDG1JL925736   Chrysler     WRAN                BURBANK                CA
459   1C4HJWDG1JL925753   Chrysler     WRAN                SAN FRANCISCO          CA
460   1C4HJWDG1JL925770   Chrysler     WRAN                HILO                   HI
461   1C4HJWDG1JL925820   Chrysler     WRAN                KAUAI                  HI
462   1C4HJWDG1JL925851   Chrysler     WRAN                LIHUE                  HI
463   1C4HJWDG1JL925915   Chrysler     WRAN                Kahului                HI
464   1C4HJWDG1JL925932   Chrysler     WRAN                Kahului                HI
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465   1C4HJWDG1JL925946   Chrysler      WRAN                 Kahului                  HI
466   1C4HJWDG1JL925977   Chrysler      WRAN                 HONOLULU                 HI
467   1C4HJWDG1JL925980   Chrysler      WRAN                 HONOLULU                 HI
468   1C4HJWDG1JL926000   Chrysler      WRAN                 HONOLULU                 HI
469   1C4HJWDG2JL925728   Chrysler      WRAN                 WAIMEA                   HI
470   1C4HJWDG2JL925745   Chrysler      WRAN                 EULESS                   TX
471   1C4HJWDG2JL925759   Chrysler      WRAN                 Hilo                     HI
472   1C4HJWDG2JL925762   Chrysler      WRAN                 HILO                     HI
473   1C4HJWDG2JL925809   Chrysler      WRAN                 LIHUE                    HI
474   1C4HJWDG2JL925860   Chrysler      WRAN                 Kahului                  HI
475   1C4HJWDG2JL925874   Chrysler      WRAN                 Kahului                  HI
476   1C4HJWDG2JL925924   Chrysler      WRAN                 Kahului                  HI
477   1C4HJWDG2JL925941   Chrysler      WRAN                 KAHULUI                  HI
478   1C4HJWDG2JL925972   Chrysler      WRAN                 HONOLULU                 HI
479   1C4HJWDG2JL926006   Chrysler      WRAN                 HONOLULU                 HI
480   1C4HJWDG3JL922966   Chrysler      WRAN                 SAN FRANCISCO            CA
481   1C4HJWDG3JL923194   Chrysler      WRAN                 LIHUE                    HI
482   1C4HJWDG3JL923518   Chrysler      WRAN                 HONOLULU                 HI
483   1C4HJWDG3JL925737   Chrysler      WRAN                 KAILUA‐KONA              HI
484   1C4HJWDG3JL925740   Chrysler      WRAN                 HILO                     HI
485   1C4HJWDG3JL925754   Chrysler      WRAN                 Hilo                     HI
486   1C4HJWDG3JL925768   Chrysler      WRAN                 HILO                     HI
487   1C4HJWDG3JL925771   Chrysler      WRAN                 Hilo                     HI
488   1C4HJWDG3JL925785   Chrysler      WRAN                 LIHUE                    HI
489   1C4HJWDG3JL925799   Chrysler      WRAN                 LIHUE                    HI
490   1C4HJWDG3JL925804   Chrysler      WRAN                 LIHUE                    HI
491   1C4HJWDG3JL925818   Chrysler      WRAN                 LIHUE                    HI
492   1C4HJWDG3JL925866   Chrysler      WRAN                 KAHULUI                  HI
493   1C4HJWDG3JL925883   Chrysler      WRAN                 KAHULUI                  HI
494   1C4HJWDG3JL925902   Chrysler      WRAN                 Kahului                  HI
495   1C4HJWDG3JL925947   Chrysler      WRAN                 KAHULUI                  HI
496   1C4HJWDG3JL925964   Chrysler      WRAN                 HONOLULU                 HI
497   1C4HJWDG3JL925981   Chrysler      WRAN                 HONOLULU                 HI
498   1C4HJWDG3JL925995   Chrysler      WRAN                 HONOLULU                 HI
499   1C4HJWDG4JL923186   Chrysler      WRAN                 LIHUE                    HI
500   1C4HJWDG4JL923320   Chrysler      WRAN                 KAHULUI                  HI
501   1C4HJWDG4JL925729   Chrysler      WRAN                 SAN FRANCISCO            CA
502   1C4HJWDG4JL925732   Chrysler      WRAN                 PLEASANTON               CA
503   1C4HJWDG4JL925746   Chrysler      WRAN                 KALAOA                   HI
504   1C4HJWDG4JL925763   Chrysler      WRAN                 HILO                     HI
505   1C4HJWDG4JL925777   Chrysler      WRAN                 KAILUA‐KONA              HI
506   1C4HJWDG4JL925780   Chrysler      WRAN                 WAIMEA                   HI
507   1C4HJWDG4JL925827   Chrysler      WRAN                 LIHUE                    HI
508   1C4HJWDG4JL925911   Chrysler      WRAN                 KAHULUI                  HI
509   1C4HJWDG4JL926007   Chrysler      WRAN                 HONOLULU                 HI
510   1C4HJWDG5JL922967   Chrysler      WRAN                 WAIMEA                   HI
511   1C4HJWDG5JL922970   Chrysler      WRAN                 SAN FRANCISCO            CA
512   1C4HJWDG5JL923326   Chrysler      WRAN                 Kahului                  HI
513   1C4HJWDG5JL925724   Chrysler      WRAN                 SAN FRANCISCO            CA
514   1C4HJWDG5JL925769   Chrysler      WRAN                 KALAOA                   HI
515   1C4HJWDG5JL925772   Chrysler      WRAN                 SAN FRANCISCO            CA
516   1C4HJWDG5JL925822   Chrysler      WRAN                 KAUAI                    HI
517   1C4HJWDG5JL925836   Chrysler      WRAN                 KAUAI                    HI
518   1C4HJWDG5JL925917   Chrysler      WRAN                 KAHULUI                  HI
519   1C4HJWDG5JL925920   Chrysler      WRAN                 Kahului                  HI
520   1C4HJWDG5JL925965   Chrysler      WRAN                 Honolulu                 HI
521   1C4HJWDG5JL925979   Chrysler      WRAN                 HONOLULU                 HI
522   1C4HJWDG5JL926002   Chrysler      WRAN                 Honolulu                 HI
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523   1C4HJWDG5JL926016   Chrysler      WRAN                 HONOLULU                 HI
524   1C4HJWDG6JL923187   Chrysler      WRAN                 KAUAI                    HI
525   1C4HJWDG6JL925733   Chrysler      WRAN                 KALAOA                   HI
526   1C4HJWDG6JL925750   Chrysler      WRAN                 KALAOA                   HI
527   1C4HJWDG6JL925764   Chrysler      WRAN                 HILO                     HI
528   1C4HJWDG6JL925778   Chrysler      WRAN                 Sacramento               CA
529   1C4HJWDG6JL925795   Chrysler      WRAN                 KAUAI                    HI
530   1C4HJWDG6JL925814   Chrysler      WRAN                 LIHUE                    HI
531   1C4HJWDG6JL925859   Chrysler      WRAN                 KAHULUI                  HI
532   1C4HJWDG6JL925862   Chrysler      WRAN                 KAHULUI                  HI
533   1C4HJWDG6JL925876   Chrysler      WRAN                 Kahului                  HI
534   1C4HJWDG6JL925893   Chrysler      WRAN                 Kahului                  HI
535   1C4HJWDG6JL925909   Chrysler      WRAN                 KAHULUI                  HI
536   1C4HJWDG6JL925957   Chrysler      WRAN                 HONOLULU                 HI
537   1C4HJWDG6JL925960   Chrysler      WRAN                 SAN FRANCISCO            CA
538   1C4HJWDG7JL923327   Chrysler      WRAN                 KAHULUI                  HI
539   1C4HJWDG7JL923523   Chrysler      WRAN                 HONOLULU                 HI
540   1C4HJWDG7JL925725   Chrysler      WRAN                 Hilo                     HI
541   1C4HJWDG7JL925739   Chrysler      WRAN                 PLEASANTON               CA
542   1C4HJWDG7JL925742   Chrysler      WRAN                 Portland                 OR
543   1C4HJWDG7JL925756   Chrysler      WRAN                 Beaverton                OR
544   1C4HJWDG7JL925773   Chrysler      WRAN                 BURBANK                  CA
545   1C4HJWDG7JL925787   Chrysler      WRAN                 LIHUE                    HI
546   1C4HJWDG7JL925868   Chrysler      WRAN                 Kahului                  HI
547   1C4HJWDG7JL925871   Chrysler      WRAN                 Kahului                  HI
548   1C4HJWDG7JL925899   Chrysler      WRAN                 Kahului                  HI
549   1C4HJWDG7JL925918   Chrysler      WRAN                 KAHULUI                  HI
550   1C4HJWDG7JL925983   Chrysler      WRAN                 Honolulu                 HI
551   1C4HJWDG8JL923319   Chrysler      WRAN                 KAHULUI MAUI             HI
552   1C4HJWDG8JL925734   Chrysler      WRAN                 KALAOA                   HI
553   1C4HJWDG8JL925748   Chrysler      WRAN                 HILO                     HI
554   1C4HJWDG8JL925765   Chrysler      WRAN                 HILO                     HI
555   1C4HJWDG8JL925779   Chrysler      WRAN                 Hilo                     HI
556   1C4HJWDG8JL925801   Chrysler      WRAN                 KAUAI                    HI
557   1C4HJWDG8JL925815   Chrysler      WRAN                 KAUAI                    HI
558   1C4HJWDG8JL925829   Chrysler      WRAN                 KAUAI                    HI
559   1C4HJWDG8JL925832   Chrysler      WRAN                 LIHUE                    HI
560   1C4HJWDG8JL925863   Chrysler      WRAN                 KAHULUI                  HI
561   1C4HJWDG8JL925880   Chrysler      WRAN                 KAHULUI                  HI
562   1C4HJWDG8JL925913   Chrysler      WRAN                 KAHULUI                  HI
563   1C4HJWDG8JL925927   Chrysler      WRAN                 Kahului                  HI
564   1C4HJWDG8JL925930   Chrysler      WRAN                 KAHULUI                  HI
565   1C4HJWDG8JL925961   Chrysler      WRAN                 HONOLULU                 HI
566   1C4HJWDG9JL922972   Chrysler      WRAN                 KAILUA‐KONA              HI
567   1C4HJWDG9JL925743   Chrysler      WRAN                 HILO                     HI
568   1C4HJWDG9JL925757   Chrysler      WRAN                 KAILUA‐KONA              HI
569   1C4HJWDG9JL925760   Chrysler      WRAN                 Hayward                  CA
570   1C4HJWDG9JL925788   Chrysler      WRAN                 KAUAI                    HI
571   1C4HJWDG9JL925791   Chrysler      WRAN                 KAUAI                    HI
572   1C4HJWDG9JL925810   Chrysler      WRAN                 KAUAI                    HI
573   1C4HJWDG9JL925824   Chrysler      WRAN                 LIHUE                    HI
574   1C4HJWDG9JL925841   Chrysler      WRAN                 KAUAI                    HI
575   1C4HJWDG9JL925905   Chrysler      WRAN                 Kahului                  HI
576   1C4HJWDG9JL925919   Chrysler      WRAN                 Kahului                  HI
577   1C4HJWDG9JL925936   Chrysler      WRAN                 Kahului                  HI
578   1C4HJWDG9JL925953   Chrysler      WRAN                 Honolulu                 HI
579   1C4HJWDG9JL925967   Chrysler      WRAN                 HONOLULU                 HI
580   1C4HJWDG9JL925984   Chrysler      WRAN                 Honolulu                 HI
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581   1C4HJWDGXJL922964   Chrysler      WRAN                 Portland                 OR
582   1C4HJWDGXJL923189   Chrysler      WRAN                 LIHUE                    HI
583   1C4HJWDGXJL923192   Chrysler      WRAN                 LIHUE                    HI
584   1C4HJWDGXJL923323   Chrysler      WRAN                 KAHULUI                  HI
585   1C4HJWDGXJL925752   Chrysler      WRAN                 KALAOA                   HI
586   1C4HJWDGXJL925783   Chrysler      WRAN                 KAUAI                    HI
587   1C4HJWDGXJL925802   Chrysler      WRAN                 LIHUE                    HI
588   1C4HJWDGXJL925833   Chrysler      WRAN                 LIHUE                    HI
589   1C4HJWDGXJL925881   Chrysler      WRAN                 Kahului                  HI
590   1C4HJWDGXJL925931   Chrysler      WRAN                 Kahului                  HI
591   1C4HJWDGXJL925945   Chrysler      WRAN                 KAHULUI                  HI
592   1C4HJWEG0JL922986   Chrysler      WRAN                 SAN FRANCISCO            CA
593   1C4HJWEG0JL923006   Chrysler      WRAN                 SAN FRANCISCO            CA
594   1C4HJWEG0JL923023   Chrysler      WRAN                 SAN FRANCISCO            CA
595   1C4HJWEG0JL923037   Chrysler      WRAN                 Hilo                     HI
596   1C4HJWEG0JL923040   Chrysler      WRAN                 KALAOA                   HI
597   1C4HJWEG0JL923054   Chrysler      WRAN                 SAN FRANCISCO            CA
598   1C4HJWEG0JL923085   Chrysler      WRAN                 TRACY                    CA
599   1C4HJWEG0JL923099   Chrysler      WRAN                 TRACY                    CA
600   1C4HJWEG0JL923152   Chrysler      WRAN                 SAN FRANCISCO            CA
601   1C4HJWEG0JL923166   Chrysler      WRAN                 SAN FRANCISCO            CA
602   1C4HJWEG0JL923202   Chrysler      WRAN                 LIHUE                    HI
603   1C4HJWEG0JL923216   Chrysler      WRAN                 KAUAI                    HI
604   1C4HJWEG0JL923233   Chrysler      WRAN                 KAUAI                    HI
605   1C4HJWEG0JL923264   Chrysler      WRAN                 KAUAI                    HI
606   1C4HJWEG0JL923278   Chrysler      WRAN                 SAN FRANCISCO            CA
607   1C4HJWEG0JL923281   Chrysler      WRAN                 KAUAI                    HI
608   1C4HJWEG0JL923295   Chrysler      WRAN                 LIHUE                    HI
609   1C4HJWEG0JL923314   Chrysler      WRAN                 SAN FRANCISCO            CA
610   1C4HJWEG0JL923345   Chrysler      WRAN                 KAHULUI                  HI
611   1C4HJWEG0JL923359   Chrysler      WRAN                 KAHULUI                  HI
612   1C4HJWEG0JL923409   Chrysler      WRAN                 KAHULUI                  HI
613   1C4HJWEG0JL923412   Chrysler      WRAN                 KAHULUI                  HI
614   1C4HJWEG0JL923443   Chrysler      WRAN                 KAHULUI                  HI
615   1C4HJWEG0JL923457   Chrysler      WRAN                 KAHULUI                  HI
616   1C4HJWEG0JL923474   Chrysler      WRAN                 KAHULUI                  HI
617   1C4HJWEG0JL923491   Chrysler      WRAN                 KAHULUI                  HI
618   1C4HJWEG0JL923510   Chrysler      WRAN                 KAHULUI                  HI
619   1C4HJWEG0JL923538   Chrysler      WRAN                 HONOLULU                 HI
620   1C4HJWEG0JL923541   Chrysler      WRAN                 HONOLULU                 HI
621   1C4HJWEG0JL923569   Chrysler      WRAN                 HONOLULU                 HI
622   1C4HJWEG0JL923572   Chrysler      WRAN                 Honolulu                 HI
623   1C4HJWEG0JL923586   Chrysler      WRAN                 HONOLULU                 HI
624   1C4HJWEG0JL923605   Chrysler      WRAN                 HONOLULU                 HI
625   1C4HJWEG0JL923622   Chrysler      WRAN                 Honolulu                 HI
626   1C4HJWEG0JL923653   Chrysler      WRAN                 HONOLULU                 HI
627   1C4HJWEG0JL923667   Chrysler      WRAN                 Honolulu                 HI
628   1C4HJWEG1JL922995   Chrysler      WRAN                 TRACY                    CA
629   1C4HJWEG1JL923001   Chrysler      WRAN                 SAN FRANCISCO            CA
630   1C4HJWEG1JL923015   Chrysler      WRAN                 SAN FRANCISCO            CA
631   1C4HJWEG1JL923029   Chrysler      WRAN                 SAN FRANCISCO            CA
632   1C4HJWEG1JL923046   Chrysler      WRAN                 SAN FRANCISCO            CA
633   1C4HJWEG1JL923080   Chrysler      WRAN                 KAILUA‐KONA              HI
634   1C4HJWEG1JL923094   Chrysler      WRAN                 SAN FRANCISCO            CA
635   1C4HJWEG1JL923113   Chrysler      WRAN                 SAN FRANCISCO            CA
636   1C4HJWEG1JL923127   Chrysler      WRAN                 SAN FRANCISCO            CA
637   1C4HJWEG1JL923130   Chrysler      WRAN                 SAN FRANCISCO            CA
638   1C4HJWEG1JL923158   Chrysler      WRAN                 BURBANK                  CA
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639   1C4HJWEG1JL923208   Chrysler      WRAN                 SAN FRANCISCO            CA
640   1C4HJWEG1JL923211   Chrysler      WRAN                 LIHUE                    HI
641   1C4HJWEG1JL923225   Chrysler      WRAN                 LIHUE                    HI
642   1C4HJWEG1JL923239   Chrysler      WRAN                 KAUAI                    HI
643   1C4HJWEG1JL923256   Chrysler      WRAN                 LIHUE                    HI
644   1C4HJWEG1JL923287   Chrysler      WRAN                 LIHUE                    HI
645   1C4HJWEG1JL923290   Chrysler      WRAN                 KAUAI                    HI
646   1C4HJWEG1JL923306   Chrysler      WRAN                 LIHUE                    HI
647   1C4HJWEG1JL923337   Chrysler      WRAN                 KAHULUI                  HI
648   1C4HJWEG1JL923340   Chrysler      WRAN                 Kahului                  HI
649   1C4HJWEG1JL923354   Chrysler      WRAN                 KAHULUI                  HI
650   1C4HJWEG1JL923368   Chrysler      WRAN                 KAHULUI                  HI
651   1C4HJWEG1JL923371   Chrysler      WRAN                 Kahului                  HI
652   1C4HJWEG1JL923399   Chrysler      WRAN                 Kahului                  HI
653   1C4HJWEG1JL923404   Chrysler      WRAN                 KAHULUI                  HI
654   1C4HJWEG1JL923418   Chrysler      WRAN                 KAHULUI                  HI
655   1C4HJWEG1JL923421   Chrysler      WRAN                 Kahului                  HI
656   1C4HJWEG1JL923449   Chrysler      WRAN                 KAHULUI                  HI
657   1C4HJWEG1JL923452   Chrysler      WRAN                 Kahului                  HI
658   1C4HJWEG1JL923466   Chrysler      WRAN                 Kahului                  HI
659   1C4HJWEG1JL923483   Chrysler      WRAN                 KAHULUI                  HI
660   1C4HJWEG1JL923497   Chrysler      WRAN                 KAHULUI                  HI
661   1C4HJWEG1JL923502   Chrysler      WRAN                 Kahului                  HI
662   1C4HJWEG1JL923516   Chrysler      WRAN                 KAHULUI                  HI
663   1C4HJWEG1JL923547   Chrysler      WRAN                 HONOLULU                 HI
664   1C4HJWEG1JL923564   Chrysler      WRAN                 Honolulu                 HI
665   1C4HJWEG1JL923578   Chrysler      WRAN                 HONOLULU                 HI
666   1C4HJWEG1JL923581   Chrysler      WRAN                 Honolulu                 HI
667   1C4HJWEG1JL923595   Chrysler      WRAN                 HONOLULU                 HI
668   1C4HJWEG1JL923614   Chrysler      WRAN                 HONOLULU                 HI
669   1C4HJWEG1JL923645   Chrysler      WRAN                 Honolulu                 HI
670   1C4HJWEG2JL922987   Chrysler      WRAN                 HILO                     HI
671   1C4HJWEG2JL923007   Chrysler      WRAN                 KAILUA‐KONA              HI
672   1C4HJWEG2JL923010   Chrysler      WRAN                 Hilo                     HI
673   1C4HJWEG2JL923024   Chrysler      WRAN                 BURBANK                  CA
674   1C4HJWEG2JL923038   Chrysler      WRAN                 Hilo                     HI
675   1C4HJWEG2JL923041   Chrysler      WRAN                 SAN FRANCISCO            CA
676   1C4HJWEG2JL923055   Chrysler      WRAN                 SAN FRANCISCO            CA
677   1C4HJWEG2JL923086   Chrysler      WRAN                 SAN FRANCISCO            CA
678   1C4HJWEG2JL923105   Chrysler      WRAN                 SAN FRANCISCO            CA
679   1C4HJWEG2JL923122   Chrysler      WRAN                 SAN FRANCISCO            CA
680   1C4HJWEG2JL923136   Chrysler      WRAN                 SAN FRANCISCO            CA
681   1C4HJWEG2JL923167   Chrysler      WRAN                 SAN FRANCISCO            CA
682   1C4HJWEG2JL923198   Chrysler      WRAN                 LIHUE                    HI
683   1C4HJWEG2JL923203   Chrysler      WRAN                 LIHUE                    HI
684   1C4HJWEG2JL923220   Chrysler      WRAN                 LIHUE                    HI
685   1C4HJWEG2JL923234   Chrysler      WRAN                 LIHUE                    HI
686   1C4HJWEG2JL923248   Chrysler      WRAN                 LIHUE                    HI
687   1C4HJWEG2JL923251   Chrysler      WRAN                 LIHUE                    HI
688   1C4HJWEG2JL923265   Chrysler      WRAN                 Lihue                    HI
689   1C4HJWEG2JL923279   Chrysler      WRAN                 LIHUE                    HI
690   1C4HJWEG2JL923296   Chrysler      WRAN                 KAUAI                    HI
691   1C4HJWEG2JL923301   Chrysler      WRAN                 LIHUE                    HI
692   1C4HJWEG2JL923329   Chrysler      WRAN                 KAHULUI                  HI
693   1C4HJWEG2JL923346   Chrysler      WRAN                 Kahului                  HI
694   1C4HJWEG2JL923377   Chrysler      WRAN                 Kahului                  HI
695   1C4HJWEG2JL923380   Chrysler      WRAN                 KAHULUI                  HI
696   1C4HJWEG2JL923427   Chrysler      WRAN                 KAHULUI                  HI
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697   1C4HJWEG2JL923444   Chrysler      WRAN                 KAHULUI                  HI
698   1C4HJWEG2JL923461   Chrysler      WRAN                 KAHULUI                  HI
699   1C4HJWEG2JL923489   Chrysler      WRAN                 Kahului                  HI
700   1C4HJWEG2JL923492   Chrysler      WRAN                 Kahului                  HI
701   1C4HJWEG2JL923511   Chrysler      WRAN                 KAHULUI                  HI
702   1C4HJWEG2JL923542   Chrysler      WRAN                 HONOLULU                 HI
703   1C4HJWEG2JL923587   Chrysler      WRAN                 HONOLULU                 HI
704   1C4HJWEG2JL923606   Chrysler      WRAN                 Honolulu                 HI
705   1C4HJWEG2JL923623   Chrysler      WRAN                 HONOLULU                 HI
706   1C4HJWEG2JL923640   Chrysler      WRAN                 Honolulu                 HI
707   1C4HJWEG2JL923654   Chrysler      WRAN                 SAN FRANCISCO            CA
708   1C4HJWEG3JL922979   Chrysler      WRAN                 HILO                     HI
709   1C4HJWEG3JL922982   Chrysler      WRAN                 Hilo                     HI
710   1C4HJWEG3JL923047   Chrysler      WRAN                 HILO                     HI
711   1C4HJWEG3JL923050   Chrysler      WRAN                 SAN FRANCISCO            CA
712   1C4HJWEG3JL923064   Chrysler      WRAN                 TRACY                    CA
713   1C4HJWEG3JL923081   Chrysler      WRAN                 SAN FRANCISCO            CA
714   1C4HJWEG3JL923100   Chrysler      WRAN                 Hayward                  CA
715   1C4HJWEG3JL923159   Chrysler      WRAN                 SAN FRANCISCO            CA
716   1C4HJWEG3JL923176   Chrysler      WRAN                 SAN FRANCISCO            CA
717   1C4HJWEG3JL923209   Chrysler      WRAN                 KAUAI                    HI
718   1C4HJWEG3JL923212   Chrysler      WRAN                 LIHUE                    HI
719   1C4HJWEG3JL923226   Chrysler      WRAN                 KAUAI                    HI
720   1C4HJWEG3JL923257   Chrysler      WRAN                 KAUAI                    HI
721   1C4HJWEG3JL923260   Chrysler      WRAN                 KAUAI                    HI
722   1C4HJWEG3JL923291   Chrysler      WRAN                 KAUAI                    HI
723   1C4HJWEG3JL923338   Chrysler      WRAN                 KAHULUI                  HI
724   1C4HJWEG3JL923341   Chrysler      WRAN                 Kahului                  HI
725   1C4HJWEG3JL923355   Chrysler      WRAN                 Kahului                  HI
726   1C4HJWEG3JL923369   Chrysler      WRAN                 KAHULUI MAUI             HI
727   1C4HJWEG3JL923372   Chrysler      WRAN                 KAHULUI                  HI
728   1C4HJWEG3JL923386   Chrysler      WRAN                 KAHULUI                  HI
729   1C4HJWEG3JL923419   Chrysler      WRAN                 Kahului                  HI
730   1C4HJWEG3JL923484   Chrysler      WRAN                 KAHULUI                  HI
731   1C4HJWEG3JL923548   Chrysler      WRAN                 HONOLULU                 HI
732   1C4HJWEG3JL923551   Chrysler      WRAN                 HONOLULU                 HI
733   1C4HJWEG3JL923565   Chrysler      WRAN                 HONOLULU                 HI
734   1C4HJWEG3JL923596   Chrysler      WRAN                 HONOLULU                 HI
735   1C4HJWEG3JL923601   Chrysler      WRAN                 HONOLULU                 HI
736   1C4HJWEG3JL923615   Chrysler      WRAN                 HONOLULU                 HI
737   1C4HJWEG3JL923646   Chrysler      WRAN                 HONOLULU                 HI
738   1C4HJWEG4JL922974   Chrysler      WRAN                 Hilo                     HI
739   1C4HJWEG4JL922991   Chrysler      WRAN                 SAN FRANCISCO            CA
740   1C4HJWEG4JL923011   Chrysler      WRAN                 SAN FRANCISCO            CA
741   1C4HJWEG4JL923039   Chrysler      WRAN                 SAN FRANCISCO            CA
742   1C4HJWEG4JL923042   Chrysler      WRAN                 KALAOA                   HI
743   1C4HJWEG4JL923073   Chrysler      WRAN                 SAN FRANCISCO            CA
744   1C4HJWEG4JL923087   Chrysler      WRAN                 SAN FRANCISCO            CA
745   1C4HJWEG4JL923106   Chrysler      WRAN                 WAIMEA                   HI
746   1C4HJWEG4JL923123   Chrysler      WRAN                 HILO                     HI
747   1C4HJWEG4JL923137   Chrysler      WRAN                 SAN FRANCISCO            CA
748   1C4HJWEG4JL923168   Chrysler      WRAN                 Hayward                  CA
749   1C4HJWEG4JL923171   Chrysler      WRAN                 SAN FRANCISCO            CA
750   1C4HJWEG4JL923199   Chrysler      WRAN                 LIHUE                    HI
751   1C4HJWEG4JL923204   Chrysler      WRAN                 Lihue                    HI
752   1C4HJWEG4JL923221   Chrysler      WRAN                 Lihue                    HI
753   1C4HJWEG4JL923235   Chrysler      WRAN                 LIHUE                    HI
754   1C4HJWEG4JL923249   Chrysler      WRAN                 LIHUE                    HI
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755   1C4HJWEG4JL923266   Chrysler      WRAN                 KAUAI                    HI
756   1C4HJWEG4JL923283   Chrysler      WRAN                 SAN FRANCISCO            CA
757   1C4HJWEG4JL923302   Chrysler      WRAN                 LIHUE                    HI
758   1C4HJWEG4JL923350   Chrysler      WRAN                 Kahului                  HI
759   1C4HJWEG4JL923378   Chrysler      WRAN                 KAHULUI                  HI
760   1C4HJWEG4JL923431   Chrysler      WRAN                 Kahului                  HI
761   1C4HJWEG4JL923445   Chrysler      WRAN                 KAHULUI                  HI
762   1C4HJWEG4JL923459   Chrysler      WRAN                 KAHULUI                  HI
763   1C4HJWEG4JL923462   Chrysler      WRAN                 Kahului                  HI
764   1C4HJWEG4JL923476   Chrysler      WRAN                 KAHULUI                  HI
765   1C4HJWEG4JL923509   Chrysler      WRAN                 Kahului                  HI
766   1C4HJWEG4JL923512   Chrysler      WRAN                 KAHULUI                  HI
767   1C4HJWEG4JL923574   Chrysler      WRAN                 Honolulu                 HI
768   1C4HJWEG4JL923588   Chrysler      WRAN                 Honolulu                 HI
769   1C4HJWEG4JL923591   Chrysler      WRAN                 HONOLULU                 HI
770   1C4HJWEG4JL923624   Chrysler      WRAN                 Honolulu                 HI
771   1C4HJWEG4JL923638   Chrysler      WRAN                 HONOLULU                 HI
772   1C4HJWEG4JL923669   Chrysler      WRAN                 Honolulu                 HI
773   1C4HJWEG5JL922983   Chrysler      WRAN                 SAN FRANCISCO            CA
774   1C4HJWEG5JL923017   Chrysler      WRAN                 BURBANK                  CA
775   1C4HJWEG5JL923034   Chrysler      WRAN                 SAN FRANCISCO            CA
776   1C4HJWEG5JL923051   Chrysler      WRAN                 SAN FRANCISCO            CA
777   1C4HJWEG5JL923079   Chrysler      WRAN                 SAN FRANCISCO            CA
778   1C4HJWEG5JL923096   Chrysler      WRAN                 HILO                     HI
779   1C4HJWEG5JL923115   Chrysler      WRAN                 SAN FRANCISCO            CA
780   1C4HJWEG5JL923163   Chrysler      WRAN                 HILO                     HI
781   1C4HJWEG5JL923177   Chrysler      WRAN                 WAIMEA                   HI
782   1C4HJWEG5JL923180   Chrysler      WRAN                 KALAOA                   HI
783   1C4HJWEG5JL923230   Chrysler      WRAN                 KAUAI                    HI
784   1C4HJWEG5JL923244   Chrysler      WRAN                 KAUAI                    HI
785   1C4HJWEG5JL923275   Chrysler      WRAN                 LIHUE                    HI
786   1C4HJWEG5JL923292   Chrysler      WRAN                 LIHUE                    HI
787   1C4HJWEG5JL923308   Chrysler      WRAN                 LIHUE                    HI
788   1C4HJWEG5JL923339   Chrysler      WRAN                 KAHULUI                  HI
789   1C4HJWEG5JL923342   Chrysler      WRAN                 Kahului                  HI
790   1C4HJWEG5JL923387   Chrysler      WRAN                 Kahului                  HI
791   1C4HJWEG5JL923390   Chrysler      WRAN                 Kahului                  HI
792   1C4HJWEG5JL923406   Chrysler      WRAN                 KAHULUI                  HI
793   1C4HJWEG5JL923437   Chrysler      WRAN                 Kahului                  HI
794   1C4HJWEG5JL923440   Chrysler      WRAN                 KAHULUI                  HI
795   1C4HJWEG5JL923485   Chrysler      WRAN                 KAHULUI                  HI
796   1C4HJWEG5JL923499   Chrysler      WRAN                 KAHULUI                  HI
797   1C4HJWEG5JL923504   Chrysler      WRAN                 Kahului                  HI
798   1C4HJWEG5JL923535   Chrysler      WRAN                 Honolulu                 HI
799   1C4HJWEG5JL923549   Chrysler      WRAN                 HONOLULU                 HI
800   1C4HJWEG5JL923566   Chrysler      WRAN                 HONOLULU                 HI
801   1C4HJWEG5JL923597   Chrysler      WRAN                 HONOLULU                 HI
802   1C4HJWEG5JL923616   Chrysler      WRAN                 Honolulu                 HI
803   1C4HJWEG5JL923633   Chrysler      WRAN                 HONOLULU                 HI
804   1C4HJWEG5JL923647   Chrysler      WRAN                 HONOLULU                 HI
805   1C4HJWEG5JL923650   Chrysler      WRAN                 Honolulu                 HI
806   1C4HJWEG5JL923664   Chrysler      WRAN                 Honolulu                 HI
807   1C4HJWEG6JL922975   Chrysler      WRAN                 SAN FRANCISCO            CA
808   1C4HJWEG6JL922989   Chrysler      WRAN                 SAN FRANCISCO            CA
809   1C4HJWEG6JL923026   Chrysler      WRAN                 HILO                     HI
810   1C4HJWEG6JL923043   Chrysler      WRAN                 SAN FRANCISCO            CA
811   1C4HJWEG6JL923057   Chrysler      WRAN                 SAN FRANCISCO            CA
812   1C4HJWEG6JL923060   Chrysler      WRAN                 TRACY                    CA
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813   1C4HJWEG6JL923088   Chrysler      WRAN                 BURBANK                  CA
814   1C4HJWEG6JL923091   Chrysler      WRAN                 HILO                     HI
815   1C4HJWEG6JL923110   Chrysler      WRAN                 TRACY                    CA
816   1C4HJWEG6JL923124   Chrysler      WRAN                 Hilo                     HI
817   1C4HJWEG6JL923205   Chrysler      WRAN                 SAN FRANCISCO            CA
818   1C4HJWEG6JL923219   Chrysler      WRAN                 LIHUE                    HI
819   1C4HJWEG6JL923222   Chrysler      WRAN                 LIHUE                    HI
820   1C4HJWEG6JL923236   Chrysler      WRAN                 KAUAI                    HI
821   1C4HJWEG6JL923253   Chrysler      WRAN                 Lihue                    HI
822   1C4HJWEG6JL923303   Chrysler      WRAN                 LIHUE                    HI
823   1C4HJWEG6JL923334   Chrysler      WRAN                 Kahului                  HI
824   1C4HJWEG6JL923348   Chrysler      WRAN                 KAHULUI MAUI             HI
825   1C4HJWEG6JL923351   Chrysler      WRAN                 Kahului                  HI
826   1C4HJWEG6JL923365   Chrysler      WRAN                 KAHULUI                  HI
827   1C4HJWEG6JL923379   Chrysler      WRAN                 Kahului                  HI
828   1C4HJWEG6JL923382   Chrysler      WRAN                 KAHULUI                  HI
829   1C4HJWEG6JL923401   Chrysler      WRAN                 KAHULUI                  HI
830   1C4HJWEG6JL923415   Chrysler      WRAN                 Kahului                  HI
831   1C4HJWEG6JL923446   Chrysler      WRAN                 Kahului                  HI
832   1C4HJWEG6JL923463   Chrysler      WRAN                 KAHULUI                  HI
833   1C4HJWEG6JL923544   Chrysler      WRAN                 HONOLULU                 HI
834   1C4HJWEG6JL923558   Chrysler      WRAN                 HONOLULU                 HI
835   1C4HJWEG6JL923561   Chrysler      WRAN                 Honolulu                 HI
836   1C4HJWEG6JL923575   Chrysler      WRAN                 Honolulu                 HI
837   1C4HJWEG6JL923608   Chrysler      WRAN                 HONOLULU                 HI
838   1C4HJWEG6JL923611   Chrysler      WRAN                 HONOLULU                 HI
839   1C4HJWEG6JL923642   Chrysler      WRAN                 HONOLULU                 HI
840   1C4HJWEG6JL923656   Chrysler      WRAN                 Honolulu                 HI
841   1C4HJWEG7JL922998   Chrysler      WRAN                 Hayward                  CA
842   1C4HJWEG7JL923066   Chrysler      WRAN                 Hayward                  CA
843   1C4HJWEG7JL923083   Chrysler      WRAN                 SAN FRANCISCO            CA
844   1C4HJWEG7JL923102   Chrysler      WRAN                 HILO                     HI
845   1C4HJWEG7JL923116   Chrysler      WRAN                 SAN FRANCISCO            CA
846   1C4HJWEG7JL923150   Chrysler      WRAN                 Hilo                     HI
847   1C4HJWEG7JL923164   Chrysler      WRAN                 SAN FRANCISCO            CA
848   1C4HJWEG7JL923178   Chrysler      WRAN                 BURBANK                  CA
849   1C4HJWEG7JL923195   Chrysler      WRAN                 KAUAI                    HI
850   1C4HJWEG7JL923214   Chrysler      WRAN                 KAUAI                    HI
851   1C4HJWEG7JL923231   Chrysler      WRAN                 LIHUE                    HI
852   1C4HJWEG7JL923259   Chrysler      WRAN                 KAUAI                    HI
853   1C4HJWEG7JL923262   Chrysler      WRAN                 LIHUE                    HI
854   1C4HJWEG7JL923276   Chrysler      WRAN                 SAN FRANCISCO            CA
855   1C4HJWEG7JL923293   Chrysler      WRAN                 LIHUE                    HI
856   1C4HJWEG7JL923309   Chrysler      WRAN                 LIHUE                    HI
857   1C4HJWEG7JL923312   Chrysler      WRAN                 LIHUE                    HI
858   1C4HJWEG7JL923343   Chrysler      WRAN                 Kahului                  HI
859   1C4HJWEG7JL923357   Chrysler      WRAN                 Kahului                  HI
860   1C4HJWEG7JL923360   Chrysler      WRAN                 KAHULUI                  HI
861   1C4HJWEG7JL923374   Chrysler      WRAN                 KAHULUI                  HI
862   1C4HJWEG7JL923407   Chrysler      WRAN                 KAHULUI                  HI
863   1C4HJWEG7JL923424   Chrysler      WRAN                 Kahului                  HI
864   1C4HJWEG7JL923455   Chrysler      WRAN                 KAHULUI                  HI
865   1C4HJWEG7JL923472   Chrysler      WRAN                 KAHULUI                  HI
866   1C4HJWEG7JL923486   Chrysler      WRAN                 KAHULUI                  HI
867   1C4HJWEG7JL923505   Chrysler      WRAN                 KAHULUI                  HI
868   1C4HJWEG7JL923567   Chrysler      WRAN                 HONOLULU                 HI
869   1C4HJWEG7JL923570   Chrysler      WRAN                 Honolulu                 HI
870   1C4HJWEG7JL923598   Chrysler      WRAN                 HONOLULU                 HI
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871   1C4HJWEG7JL923620   Chrysler      WRAN                 HONOLULU                 HI
872   1C4HJWEG7JL923634   Chrysler      WRAN                 HONOLULU                 HI
873   1C4HJWEG7JL923648   Chrysler      WRAN                 Honolulu                 HI
874   1C4HJWEG8JL922993   Chrysler      WRAN                 KALAOA                   HI
875   1C4HJWEG8JL923027   Chrysler      WRAN                 HILO                     HI
876   1C4HJWEG8JL923044   Chrysler      WRAN                 TRACY                    CA
877   1C4HJWEG8JL923058   Chrysler      WRAN                 SAN FRANCISCO            CA
878   1C4HJWEG8JL923089   Chrysler      WRAN                 BURBANK                  CA
879   1C4HJWEG8JL923125   Chrysler      WRAN                 SAN FRANCISCO            CA
880   1C4HJWEG8JL923139   Chrysler      WRAN                 SAN FRANCISCO            CA
881   1C4HJWEG8JL923142   Chrysler      WRAN                 HILO                     HI
882   1C4HJWEG8JL923156   Chrysler      WRAN                 SAN FRANCISCO            CA
883   1C4HJWEG8JL923173   Chrysler      WRAN                 SAN FRANCISCO            CA
884   1C4HJWEG8JL923206   Chrysler      WRAN                 LIHUE                    HI
885   1C4HJWEG8JL923223   Chrysler      WRAN                 SAN FRANCISCO            CA
886   1C4HJWEG8JL923237   Chrysler      WRAN                 LIHUE                    HI
887   1C4HJWEG8JL923271   Chrysler      WRAN                 LIHUE                    HI
888   1C4HJWEG8JL923304   Chrysler      WRAN                 LIHUE                    HI
889   1C4HJWEG8JL923335   Chrysler      WRAN                 Kahului                  HI
890   1C4HJWEG8JL923352   Chrysler      WRAN                 Kahului                  HI
891   1C4HJWEG8JL923366   Chrysler      WRAN                 KAHULUI                  HI
892   1C4HJWEG8JL923397   Chrysler      WRAN                 Kahului                  HI
893   1C4HJWEG8JL923402   Chrysler      WRAN                 KAHULUI                  HI
894   1C4HJWEG8JL923416   Chrysler      WRAN                 KAHULUI                  HI
895   1C4HJWEG8JL923433   Chrysler      WRAN                 KAHULUI                  HI
896   1C4HJWEG8JL923447   Chrysler      WRAN                 KAHULUI                  HI
897   1C4HJWEG8JL923481   Chrysler      WRAN                 Kahului                  HI
898   1C4HJWEG8JL923495   Chrysler      WRAN                 KAHULUI                  HI
899   1C4HJWEG8JL923500   Chrysler      WRAN                 KAHULUI                  HI
900   1C4HJWEG8JL923531   Chrysler      WRAN                 HONOLULU                 HI
901   1C4HJWEG8JL923545   Chrysler      WRAN                 Honolulu                 HI
902   1C4HJWEG8JL923562   Chrysler      WRAN                 HONOLULU                 HI
903   1C4HJWEG8JL923612   Chrysler      WRAN                 HONOLULU                 HI
904   1C4HJWEG8JL923643   Chrysler      WRAN                 Honolulu                 HI
905   1C4HJWEG8JL923657   Chrysler      WRAN                 Honolulu                 HI
906   1C4HJWEG9JL922985   Chrysler      WRAN                 TRACY                    CA
907   1C4HJWEG9JL923005   Chrysler      WRAN                 SAN FRANCISCO            CA
908   1C4HJWEG9JL923022   Chrysler      WRAN                 HILO                     HI
909   1C4HJWEG9JL923053   Chrysler      WRAN                 HILO                     HI
910   1C4HJWEG9JL923067   Chrysler      WRAN                 KALAOA                   HI
911   1C4HJWEG9JL923070   Chrysler      WRAN                 HILO                     HI
912   1C4HJWEG9JL923084   Chrysler      WRAN                 Hayward                  CA
913   1C4HJWEG9JL923098   Chrysler      WRAN                 SAN FRANCISCO            CA
914   1C4HJWEG9JL923134   Chrysler      WRAN                 Kailua‐Kona              HI
915   1C4HJWEG9JL923179   Chrysler      WRAN                 SAN FRANCISCO            CA
916   1C4HJWEG9JL923182   Chrysler      WRAN                 HILO                     HI
917   1C4HJWEG9JL923196   Chrysler      WRAN                 KAUAI                    HI
918   1C4HJWEG9JL923201   Chrysler      WRAN                 LIHUE                    HI
919   1C4HJWEG9JL923229   Chrysler      WRAN                 LIHUE                    HI
920   1C4HJWEG9JL923232   Chrysler      WRAN                 KAUAI                    HI
921   1C4HJWEG9JL923246   Chrysler      WRAN                 LIHUE                    HI
922   1C4HJWEG9JL923263   Chrysler      WRAN                 LIHUE                    HI
923   1C4HJWEG9JL923277   Chrysler      WRAN                 SAN FRANCISCO            CA
924   1C4HJWEG9JL923280   Chrysler      WRAN                 LIHUE                    HI
925   1C4HJWEG9JL923389   Chrysler      WRAN                 KAHULUI                  HI
926   1C4HJWEG9JL923392   Chrysler      WRAN                 SAN FRANCISCO            CA
927   1C4HJWEG9JL923425   Chrysler      WRAN                 Kahului                  HI
928   1C4HJWEG9JL923442   Chrysler      WRAN                 Kahului                  HI
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929   1C4HJWEG9JL923456   Chrysler      WRAN                 KAHULUI                  HI
930   1C4HJWEG9JL923487   Chrysler      WRAN                 KAHULUI                  HI
931   1C4HJWEG9JL923540   Chrysler      WRAN                 Honolulu                 HI
932   1C4HJWEG9JL923554   Chrysler      WRAN                 Honolulu                 HI
933   1C4HJWEG9JL923585   Chrysler      WRAN                 HONOLULU                 HI
934   1C4HJWEG9JL923599   Chrysler      WRAN                 Honolulu                 HI
935   1C4HJWEG9JL923604   Chrysler      WRAN                 HONOLULU                 HI
936   1C4HJWEG9JL923618   Chrysler      WRAN                 HONOLULU                 HI
937   1C4HJWEG9JL923621   Chrysler      WRAN                 HONOLULU                 HI
938   1C4HJWEG9JL923635   Chrysler      WRAN                 HONOLULU                 HI
939   1C4HJWEG9JL923649   Chrysler      WRAN                 Honolulu                 HI
940   1C4HJWEGXJL922977   Chrysler      WRAN                 SAN FRANCISCO            CA
941   1C4HJWEGXJL922980   Chrysler      WRAN                 SAN FRANCISCO            CA
942   1C4HJWEGXJL922994   Chrysler      WRAN                 SAN FRANCISCO            CA
943   1C4HJWEGXJL923000   Chrysler      WRAN                 SAN FRANCISCO            CA
944   1C4HJWEGXJL923028   Chrysler      WRAN                 Hilo                     HI
945   1C4HJWEGXJL923031   Chrysler      WRAN                 SAN FRANCISCO            CA
946   1C4HJWEGXJL923045   Chrysler      WRAN                 SAN FRANCISCO            CA
947   1C4HJWEGXJL923062   Chrysler      WRAN                 KAILUA‐KONA              HI
948   1C4HJWEGXJL923093   Chrysler      WRAN                 HILO                     HI
949   1C4HJWEGXJL923109   Chrysler      WRAN                 SAN FRANCISCO            CA
950   1C4HJWEGXJL923126   Chrysler      WRAN                 HILO                     HI
951   1C4HJWEGXJL923143   Chrysler      WRAN                 SAN FRANCISCO            CA
952   1C4HJWEGXJL923157   Chrysler      WRAN                 Hilo                     HI
953   1C4HJWEGXJL923160   Chrysler      WRAN                 HILO                     HI
954   1C4HJWEGXJL923174   Chrysler      WRAN                 KAILUA‐KONA              HI
955   1C4HJWEGXJL923207   Chrysler      WRAN                 LIHUE                    HI
956   1C4HJWEGXJL923238   Chrysler      WRAN                 KAUAI                    HI
957   1C4HJWEGXJL923255   Chrysler      WRAN                 KAUAI                    HI
958   1C4HJWEGXJL923269   Chrysler      WRAN                 LIHUE                    HI
959   1C4HJWEGXJL923286   Chrysler      WRAN                 LIHUE                    HI
960   1C4HJWEGXJL923305   Chrysler      WRAN                 KAUAI                    HI
961   1C4HJWEGXJL923367   Chrysler      WRAN                 KAHULUI                  HI
962   1C4HJWEGXJL923370   Chrysler      WRAN                 KAHULUI                  HI
963   1C4HJWEGXJL923398   Chrysler      WRAN                 KAHULUI                  HI
964   1C4HJWEGXJL923403   Chrysler      WRAN                 KAHULUI                  HI
965   1C4HJWEGXJL923434   Chrysler      WRAN                 Kahului                  HI
966   1C4HJWEGXJL923448   Chrysler      WRAN                 Kahului                  HI
967   1C4HJWEGXJL923465   Chrysler      WRAN                 Kahului                  HI
968   1C4HJWEGXJL923479   Chrysler      WRAN                 Kahului                  HI
969   1C4HJWEGXJL923482   Chrysler      WRAN                 KAHULUI                  HI
970   1C4HJWEGXJL923496   Chrysler      WRAN                 KAHULUI                  HI
971   1C4HJWEGXJL923501   Chrysler      WRAN                 KAHULUI                  HI
972   1C4HJWEGXJL923515   Chrysler      WRAN                 KAHULUI                  HI
973   1C4HJWEGXJL923532   Chrysler      WRAN                 HONOLULU                 HI
974   1C4HJWEGXJL923546   Chrysler      WRAN                 HONOLULU                 HI
975   1C4HJWEGXJL923563   Chrysler      WRAN                 HONOLULU                 HI
976   1C4HJWEGXJL923577   Chrysler      WRAN                 HONOLULU                 HI
977   1C4HJWEGXJL923594   Chrysler      WRAN                 HONOLULU                 HI
978   1C4HJWEGXJL923644   Chrysler      WRAN                 HONOLULU                 HI
979   1C4HJWEGXJL923658   Chrysler      WRAN                 HONOLULU                 HI
980   1C4HJWEGXJL923661   Chrysler      WRAN                 Honolulu                 HI
981   1C4HJXDG0KW527729   Chrysler      WRAN                 LOS ANGELES              CA
982   1C4HJXDG0KW527889   Chrysler      WRAN                 Scottsdale               AZ
983   1C4HJXDG0KW555353   Chrysler      WRAN                 DETROIT                  MI
984   1C4HJXDG0KW555451   Chrysler      WRAN                 CHICAGO                  IL
985   1C4HJXDG1KW527805   Chrysler      WRAN                 DETROIT                  MI
986   1C4HJXDG1KW527836   Chrysler      WRAN                 DFW AIRPORT              TX
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 987   1C4HJXDG1KW527867   Chrysler      WRAN                 SAINT LOUIS              MO
 988   1C4HJXDG1KW527870   Chrysler      WRAN                 SOUTHEAST DST OFFC       OK
 989   1C4HJXDG1KW527884   Chrysler      WRAN                 Omaha                    NE
 990   1C4HJXDG1KW555409   Chrysler      WRAN                 DETROIT                  MI
 991   1C4HJXDG1KW555412   Chrysler      WRAN                 LOUISVILLE               KY
 992   1C4HJXDG1KW555426   Chrysler      WRAN                 CHICAGO                  IL
 993   1C4HJXDG2KW527893   Chrysler      WRAN                 RENO                     NV
 994   1C4HJXDG2KW555371   Chrysler      WRAN                 INDIANAPOLIS             IN
 995   1C4HJXDG2KW555421   Chrysler      WRAN                 NEWARK                   NJ
 996   1C4HJXDG3KW527725   Chrysler      WRAN                 PHOENIX                  AZ
 997   1C4HJXDG3KW555329   Chrysler      WRAN                 Detroit                  MI
 998   1C4HJXDG3KW555363   Chrysler      WRAN                 RONKONKOMA               NY
 999   1C4HJXDG4KW527717   Chrysler      WRAN                 LAS VEGAS                NV
1000   1C4HJXDG4KW527782   Chrysler      WRAN                 DENVER                   CO
1001   1C4HJXDG4KW555405   Chrysler      WRAN                 FLORIDA DEALER DIR       FL
1002   1C4HJXDG4KW555436   Chrysler      WRAN                 SOUTHEAST DST OFFC       OK
1003   1C4HJXDG4KW555517   Chrysler      WRAN                 WOODSON TERRACE          MO
1004   1C4HJXDG5KW527872   Chrysler      WRAN                 NEWARK                   NJ
1005   1C4HJXDG5KW555333   Chrysler      WRAN                 BUFFALO                  NY
1006   1C4HJXDG5KW555381   Chrysler      WRAN                 BOSTON                   MA
1007   1C4HJXDG5KW555462   Chrysler      WRAN                 ATLANTA                  GA
1008   1C4HJXDG6KW555468   Chrysler      WRAN                 PROVIDENCE               RI
1009   1C4HJXDG6KW555471   Chrysler      WRAN                 WEST COLUMBIA            SC
1010   1C4HJXDG7KW527713   Chrysler      WRAN                 DENVER                   CO
1011   1C4HJXDG7KW555334   Chrysler      WRAN                 DETROIT                  MI
1012   1C4HJXDG7KW555365   Chrysler      WRAN                 RONKONKOMA               NY
1013   1C4HJXDG7KW555415   Chrysler      WRAN                 EGG HARBOR TOWN          NJ
1014   1C4HJXDG7KW555429   Chrysler      WRAN                 Slidell                  LA
1015   1C4HJXDG8KW527719   Chrysler      WRAN                 SALT LAKE CITY           UT
1016   1C4HJXDG8KW527820   Chrysler      WRAN                 CLEVELAND                OH
1017   1C4HJXDG8KW527848   Chrysler      WRAN                 INDIANAPOLIS             IN
1018   1C4HJXDG9KW527728   Chrysler      WRAN                 SALT LAKE CITY           UT
1019   1C4HJXDG9KW555402   Chrysler      WRAN                 SAINT LOUIS              MO
1020   1C4HJXDGXKW527723   Chrysler      WRAN                 Reno                     NV
1021   1C4HJXDGXKW527835   Chrysler      WRAN                 HANOVER                  MD
1022   1C4HJXDGXKW527866   Chrysler      WRAN                 LOUISVILLE               KY
1023   1C4HJXDGXKW555375   Chrysler      WRAN                 RONKONKOMA               NY
1024   1C4HJXDGXKW555442   Chrysler      WRAN                 COLUMBIA                 SC
1025   1C4HJXDN0KW588402   Chrysler      WRAN                 PHOENIX                  AZ
1026   1C4HJXDN0KW588609   Chrysler      WRAN                 Atlanta                  GA
1027   1C4HJXDN0KW588710   Chrysler      WRAN                 WEST PALM BEACH          FL
1028   1C4HJXDN0KW588772   Chrysler      WRAN                 CHARLOTTE                NC
1029   1C4HJXDN0KW588898   Chrysler      WRAN                 DENVER                   CO
1030   1C4HJXDN0KW588903   Chrysler      WRAN                 Salt Lake City           UT
1031   1C4HJXDN0KW595382   Chrysler      WRAN                 ORLANDO                  FL
1032   1C4HJXDN1KW588375   Chrysler      WRAN                 St. Louis                MO
1033   1C4HJXDN1KW588392   Chrysler      WRAN                 FORT MYERS               FL
1034   1C4HJXDN1KW588411   Chrysler      WRAN                 TAMPA                    FL
1035   1C4HJXDN1KW588537   Chrysler      WRAN                 BOSTON                   MA
1036   1C4HJXDN1KW588795   Chrysler      WRAN                 Schaumburg               IL
1037   1C4HJXDN1KW588828   Chrysler      WRAN                 KANSAS CITY              MO
1038   1C4HJXDN1KW588831   Chrysler      WRAN                 St. Louis                MO
1039   1C4HJXDN1KW588845   Chrysler      WRAN                 COLUMBUS                 OH
1040   1C4HJXDN1KW588862   Chrysler      WRAN                 DFW AIRPORT              TX
1041   1C4HJXDN1KW588957   Chrysler      WRAN                 Palm Springs             CA
1042   1C4HJXDN2KW588384   Chrysler      WRAN                 ATLANTA                  GA
1043   1C4HJXDN2KW588501   Chrysler      WRAN                 North Dighton            MA
1044   1C4HJXDN2KW588515   Chrysler      WRAN                 MINNEAPOLIS              MN
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1045   1C4HJXDN2KW588630   Chrysler      WRAN                 TAMPA                    FL
1046   1C4HJXDN2KW588871   Chrysler      WRAN                 Dallas                   TX
1047   1C4HJXDN2KW588899   Chrysler      WRAN                 DENVER                   CO
1048   1C4HJXDN2KW588935   Chrysler      WRAN                 LAS VEGAS                NV
1049   1C4HJXDN2KW590247   Chrysler      WRAN                 PENSACOLA                FL
1050   1C4HJXDN3KW588619   Chrysler      WRAN                 CHARLOTTE                NC
1051   1C4HJXDN3KW588832   Chrysler      WRAN                 KANSAS CITY              MO
1052   1C4HJXDN3KW588846   Chrysler      WRAN                 CHICAGO                  IL
1053   1C4HJXDN3KW595442   Chrysler      WRAN                 PANAMA CITY              FL
1054   1C4HJXDN4KW588676   Chrysler      WRAN                 FORT MYERS               FL
1055   1C4HJXDN4KW588886   Chrysler      WRAN                 SALT LAKE CITY           UT
1056   1C4HJXDN4KW588905   Chrysler      WRAN                 EL PASO                  TX
1057   1C4HJXDN4KW590251   Chrysler      WRAN                 FORT MYERS               FL
1058   1C4HJXDN5KW588590   Chrysler      WRAN                 Union City               GA
1059   1C4HJXDN5KW588606   Chrysler      WRAN                 RALEIGH                  NC
1060   1C4HJXDN5KW588640   Chrysler      WRAN                 WEST COLUMBIA            SC
1061   1C4HJXDN5KW588797   Chrysler      WRAN                 Schaumburg               IL
1062   1C4HJXDN5KW588833   Chrysler      WRAN                 Atlanta                  GA
1063   1C4HJXDN5KW588914   Chrysler      WRAN                 Fountain                 CO
1064   1C4HJXDN5KW588976   Chrysler      WRAN                 Des Moines               IA
1065   1C4HJXDN5KW590257   Chrysler      WRAN                 SOUTHEAST DST OFFC       OK
1066   1C4HJXDN6KW588629   Chrysler      WRAN                 Coraopolis               PA
1067   1C4HJXDN6KW588713   Chrysler      WRAN                 SAN JOSE                 CA
1068   1C4HJXDN6KW588811   Chrysler      WRAN                 GRAND RAPIDS             MI
1069   1C4HJXDN6KW588842   Chrysler      WRAN                 SEATAC                   WA
1070   1C4HJXDN6KW588890   Chrysler      WRAN                 SALT LAKE CITY           UT
1071   1C4HJXDN6KW588906   Chrysler      WRAN                 FEDERAL WAY              WA
1072   1C4HJXDN6KW590252   Chrysler      WRAN                 STATESBORO               GA
1073   1C4HJXDN6KW590364   Chrysler      WRAN                 BLOOMINGTON              IL
1074   1C4HJXDN6KW595418   Chrysler      WRAN                 NEW BERN                 NC
1075   1C4HJXDN7KW588624   Chrysler      WRAN                 COLLEGE PARK             GA
1076   1C4HJXDN7KW588803   Chrysler      WRAN                 SOUTH BEND               IN
1077   1C4HJXDN7KW588820   Chrysler      WRAN                 DETROIT                  MI
1078   1C4HJXDN7KW588879   Chrysler      WRAN                 BURBANK                  CA
1079   1C4HJXDN7KW588896   Chrysler      WRAN                 DENVER                   CO
1080   1C4HJXDN7KW588932   Chrysler      WRAN                 DENVER                   CO
1081   1C4HJXDN7KW588977   Chrysler      WRAN                 Des Moines               IA
1082   1C4HJXDN7KW595363   Chrysler      WRAN                 Miami                    FL
1083   1C4HJXDN8KW588566   Chrysler      WRAN                 Lynn                     MA
1084   1C4HJXDN8KW588650   Chrysler      WRAN                 NEWARK                   NJ
1085   1C4HJXDN8KW588826   Chrysler      WRAN                 WEST PALM BEACH          FL
1086   1C4HJXDN8KW588907   Chrysler      WRAN                 ALBUQUERQUE              NM
1087   1C4HJXDN8KW588910   Chrysler      WRAN                 MINNEAPOLIS              MN
1088   1C4HJXDN8KW588955   Chrysler      WRAN                 LOS ANGELES              CA
1089   1C4HJXDN8KW588969   Chrysler      WRAN                 NEWARK                   NJ
1090   1C4HJXDN9KW588379   Chrysler      WRAN                 FORT MYERS               FL
1091   1C4HJXDN9KW588558   Chrysler      WRAN                 WEST COLUMBIA            SC
1092   1C4HJXDN9KW588642   Chrysler      WRAN                 Warwick                  RI
1093   1C4HJXDN9KW588706   Chrysler      WRAN                 LOS ANGELES              CA
1094   1C4HJXDN9KW588799   Chrysler      WRAN                 CHICAGO                  IL
1095   1C4HJXDN9KW588897   Chrysler      WRAN                 Denver                   CO
1096   1C4HJXDN9KW595381   Chrysler      WRAN                 JACKSON                  MS
1097   1C4HJXDN9KW595414   Chrysler      WRAN                 MIAMI                    FL
1098   1C4HJXDNXKW588570   Chrysler      WRAN                 PHOENIX                  AZ
1099   1C4HJXDNXKW588598   Chrysler      WRAN                 WEST PALM BEACH          FL
1100   1C4HJXDNXKW588603   Chrysler      WRAN                 WARWICK                  RI
1101   1C4HJXDNXKW588813   Chrysler      WRAN                 DETROIT                  MI
1102   1C4HJXDNXKW588830   Chrysler      WRAN                 GRAND RAPIDS             MI
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1103   1C4HJXDNXKW588889   Chrysler      WRAN                 SAN JOSE                 CA
1104   1C4HJXDNXKW588939   Chrysler      WRAN                 SALT LAKE CITY           UT
1105   1C4HJXDNXKW588973   Chrysler      WRAN                 St. Louis                MO
1106   1C4HJXDNXKW595440   Chrysler      WRAN                 JACKSON                  MS
1107   1C4HJXEG0KW527826   Chrysler      WRAN                 RONKONKOMA               NY
1108   1C4HJXEG0KW527860   Chrysler      WRAN                 ORLANDO                  FL
1109   1C4HJXEG1KW527740   Chrysler      WRAN                 Dallas                   TX
1110   1C4HJXEG1KW527821   Chrysler      WRAN                 CHARLOTTE                NC
1111   1C4HJXEG1KW555490   Chrysler      WRAN                 Las Vegas                NV
1112   1C4HJXEG1KW555506   Chrysler      WRAN                 RENO                     NV
1113   1C4HJXEG2KW527875   Chrysler      WRAN                 KNOXVILLE                TN
1114   1C4HJXEG2KW555319   Chrysler      WRAN                 PHOENIX                  AZ
1115   1C4HJXEG2KW555322   Chrysler      WRAN                 PENSACOLA                FL
1116   1C4HJXEG2KW555496   Chrysler      WRAN                 Ontario                  CA
1117   1C4HJXEG3KW555491   Chrysler      WRAN                 Phoenix                  AZ
1118   1C4HJXEG3KW555507   Chrysler      WRAN                 SAN ANTONIO              TX
1119   1C4HJXEG4KW527764   Chrysler      WRAN                 SAN FRANCISCO            CA
1120   1C4HJXEG4KW527912   Chrysler      WRAN                 Portland                 OR
1121   1C4HJXEG4KW555340   Chrysler      WRAN                 Houston                  TX
1122   1C4HJXEG5KW514702   Chrysler      WRAN                 ORLANDO                  FL
1123   1C4HJXEG5KW555508   Chrysler      WRAN                 SAN DIEGO                US
1124   1C4HJXEG6KW527877   Chrysler      WRAN                 WEST PALM BEACH          FL
1125   1C4HJXEG6KW555484   Chrysler      WRAN                 Burien                   WA
1126   1C4HJXEG7KW555493   Chrysler      WRAN                 LAS VEGAS                NV
1127   1C4HJXEG8KW527878   Chrysler      WRAN                 LOUISVILLE               KY
1128   1C4HJXEG8KW527881   Chrysler      WRAN                 NORFOLK                  VA
1129   1C4HJXEG8KW555325   Chrysler      WRAN                 Tampa                    FL
1130   1C4HJXEG9KW515111   Chrysler      WRAN                 SEATAC                   WA
1131   1C4HJXEG9KW527730   Chrysler      WRAN                 SARASOTA                 FL
1132   1C4HJXEG9KW527744   Chrysler      WRAN                 SAN FRANCISCO            CA
1133   1C4HJXEG9KW527789   Chrysler      WRAN                 CHICAGO                  IL
1134   1C4HJXEG9KW527839   Chrysler      WRAN                 NEW ORLEANS              LA
1135   1C4HJXEG9KW527873   Chrysler      WRAN                 PENSACOLA                FL
1136   1C4HJXEGXKW527767   Chrysler      WRAN                 SAN FRANCISCO            CA
1137   1C4HJXEGXKW527879   Chrysler      WRAN                 WEST COLUMBIA            SC
1138   1C4HJXEN0KW588334   Chrysler      WRAN                 FRESNO                   CA
1139   1C4HJXEN0KW588365   Chrysler      WRAN                 FRESNO                   CA
1140   1C4HJXEN0KW588432   Chrysler      WRAN                 MORROW                   GA
1141   1C4HJXEN0KW588723   Chrysler      WRAN                 Salt Lake City           UT
1142   1C4HJXEN0KW588740   Chrysler      WRAN                 Portland                 OR
1143   1C4HJXEN0KW588768   Chrysler      WRAN                 SOUTH SAN FRANC          CA
1144   1C4HJXEN0KW590200   Chrysler      WRAN                 CLEVELAND                OH
1145   1C4HJXEN0KW590326   Chrysler      WRAN                 Des Moines               IA
1146   1C4HJXEN0KW590343   Chrysler      WRAN                 CLEVELAND                OH
1147   1C4HJXEN0KW590391   Chrysler      WRAN                 SAINT PAUL               MN
1148   1C4HJXEN0KW590410   Chrysler      WRAN                 SAINT PAUL               MN
1149   1C4HJXEN0KW595395   Chrysler      WRAN                 INDIANAPOLIS             IN
1150   1C4HJXEN0KW600515   Chrysler      WRAN                 STERLING                 VA
1151   1C4HJXEN1KW588360   Chrysler      WRAN                 PORTLAND                 OR
1152   1C4HJXEN1KW590125   Chrysler      WRAN                 Atlanta                  GA
1153   1C4HJXEN1KW590352   Chrysler      WRAN                 DETROIT                  MI
1154   1C4HJXEN1KW590433   Chrysler      WRAN                 DETROIT                  MI
1155   1C4HJXEN2KW515501   Chrysler      WRAN                 FORT MYERS               FL
1156   1C4HJXEN2KW516308   Chrysler      WRAN                 RONKONKOMA               NY
1157   1C4HJXEN2KW588304   Chrysler      WRAN                 PORTLAND                 OR
1158   1C4HJXEN2KW588352   Chrysler      WRAN                 SACRAMENTO               CA
1159   1C4HJXEN2KW588366   Chrysler      WRAN                 BRONX                    NY
1160   1C4HJXEN2KW588769   Chrysler      WRAN                 PORTLAND                 OR
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1161   1C4HJXEN2KW590151   Chrysler      WRAN                 BOSTON                   MA
1162   1C4HJXEN2KW590196   Chrysler      WRAN                 MYRTLE BEACH             SC
1163   1C4HJXEN2KW590294   Chrysler      WRAN                 NASHVILLE                TN
1164   1C4HJXEN2KW590344   Chrysler      WRAN                 Kansas City              MO
1165   1C4HJXEN2KW590392   Chrysler      WRAN                 COLUMBUS                 OH
1166   1C4HJXEN2KW590425   Chrysler      WRAN                 Florissant               MO
1167   1C4HJXEN2KW595950   Chrysler      WRAN                 Houston                  TX
1168   1C4HJXEN3KW588683   Chrysler      WRAN                 SAN JOSE                 CA
1169   1C4HJXEN3KW588747   Chrysler      WRAN                 PORTLAND                 OR
1170   1C4HJXEN3KW588764   Chrysler      WRAN                 SEATAC                   WA
1171   1C4HJXEN3KW588859   Chrysler      WRAN                 Dallas                   TX
1172   1C4HJXEN3KW590126   Chrysler      WRAN                 INDIANAPOLIS             IN
1173   1C4HJXEN3KW590143   Chrysler      WRAN                 SAINT LOUIS              MO
1174   1C4HJXEN3KW590157   Chrysler      WRAN                 Leesburg                 VA
1175   1C4HJXEN3KW590238   Chrysler      WRAN                 DETROIT                  MI
1176   1C4HJXEN3KW590272   Chrysler      WRAN                 INDIANAPOLIS             IN
1177   1C4HJXEN3KW590305   Chrysler      WRAN                 BLOOMINGTON              IL
1178   1C4HJXEN3KW590336   Chrysler      WRAN                 DETROIT                  MI
1179   1C4HJXEN3KW590384   Chrysler      WRAN                 CLEVELAND                OH
1180   1C4HJXEN3KW590398   Chrysler      WRAN                 INDIANAPOLIS             IN
1181   1C4HJXEN3KW590403   Chrysler      WRAN                 CHICAGO                  IL
1182   1C4HJXEN3KW595553   Chrysler      WRAN                 CLEVELAND                OH
1183   1C4HJXEN3KW600203   Chrysler      WRAN                 ORLANDO                  FL
1184   1C4HJXEN3KW600508   Chrysler      WRAN                 MIAMI                    FL
1185   1C4HJXEN3KW614716   Chrysler      WRAN                 RENO                     NV
1186   1C4HJXEN4KW588319   Chrysler      WRAN                 PORTLAND                 OR
1187   1C4HJXEN4KW588434   Chrysler      WRAN                 FORT MYERS               FL
1188   1C4HJXEN4KW588451   Chrysler      WRAN                 Marietta                 GA
1189   1C4HJXEN4KW588742   Chrysler      WRAN                 SAN FRANCISCO            CA
1190   1C4HJXEN4KW588756   Chrysler      WRAN                 PORTLAND                 OR
1191   1C4HJXEN4KW590216   Chrysler      WRAN                 TAMPA                    FL
1192   1C4HJXEN4KW590278   Chrysler      WRAN                 INDIANAPOLIS             IN
1193   1C4HJXEN4KW590281   Chrysler      WRAN                 DETROIT                  MI
1194   1C4HJXEN4KW590300   Chrysler      WRAN                 PHOENIX                  AZ
1195   1C4HJXEN4KW595366   Chrysler      WRAN                 PITTSBURGH               PA
1196   1C4HJXEN5KW588359   Chrysler      WRAN                 SAN FRANCISCO            CA
1197   1C4HJXEN5KW588460   Chrysler      WRAN                 WOODSON TERRACE          MO
1198   1C4HJXEN5KW588734   Chrysler      WRAN                 LAS VEGAS                NV
1199   1C4HJXEN5KW588751   Chrysler      WRAN                 SEATAC                   WA
1200   1C4HJXEN5KW590225   Chrysler      WRAN                 DETROIT                  MI
1201   1C4HJXEN5KW590323   Chrysler      WRAN                 DETROIT                  MI
1202   1C4HJXEN5KW590354   Chrysler      WRAN                 SAINT PAUL               MN
1203   1C4HJXEN5KW590418   Chrysler      WRAN                 SAINT PAUL               MN
1204   1C4HJXEN5KW595408   Chrysler      WRAN                 Tampa                    FL
1205   1C4HJXEN5KW595814   Chrysler      WRAN                 Hebron                   KY
1206   1C4HJXEN5KW595909   Chrysler      WRAN                 PHOENIX                  AZ
1207   1C4HJXEN6KW588693   Chrysler      WRAN                 DENVER                   CO
1208   1C4HJXEN6KW588760   Chrysler      WRAN                 PORTLAND                 OR
1209   1C4HJXEN6KW590153   Chrysler      WRAN                 GRAND RAPIDS             MI
1210   1C4HJXEN6KW590301   Chrysler      WRAN                 FORT LAUDERDALE          FL
1211   1C4HJXEN6KW590329   Chrysler      WRAN                 SAINT PAUL               MN
1212   1C4HJXEN6KW590377   Chrysler      WRAN                 TROY                     OH
1213   1C4HJXEN6KW590380   Chrysler      WRAN                 SAINT PAUL               MN
1214   1C4HJXEN6KW590430   Chrysler      WRAN                 INDIANAPOLIS             IN
1215   1C4HJXEN7KW588427   Chrysler      WRAN                 PITTSBURGH               PA
1216   1C4HJXEN7KW588461   Chrysler      WRAN                 KENNER                   LA
1217   1C4HJXEN7KW588749   Chrysler      WRAN                 PORTLAND                 OR
1218   1C4HJXEN7KW590209   Chrysler      WRAN                 RALEIGH                  NC
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1219   1C4HJXEN7KW590274   Chrysler      WRAN                 DETROIT                  MI
1220   1C4HJXEN7KW590338   Chrysler      WRAN                 DETROIT                  MI
1221   1C4HJXEN7KW595622   Chrysler      WRAN                 ORLANDO                  FL
1222   1C4HJXEN7KW600141   Chrysler      WRAN                 HARTFORD                 CT
1223   1C4HJXEN8KW588310   Chrysler      WRAN                 Smithtown                NY
1224   1C4HJXEN8KW588341   Chrysler      WRAN                 SAN FRANCISCO            CA
1225   1C4HJXEN8KW588467   Chrysler      WRAN                 HARTFORD                 CT
1226   1C4HJXEN8KW590381   Chrysler      WRAN                 INDIANAPOLIS             IN
1227   1C4HJXEN8KW644732   Chrysler      WRAN                 Denver                   CO
1228   1C4HJXEN9KW588476   Chrysler      WRAN                 CLEVELAND                OH
1229   1C4HJXEN9KW588686   Chrysler      WRAN                 SALT LAKE CITY           UT
1230   1C4HJXEN9KW588753   Chrysler      WRAN                 SAN JOSE                 CA
1231   1C4HJXEN9KW590244   Chrysler      WRAN                 RENO                     NV
1232   1C4HJXEN9KW590308   Chrysler      WRAN                 BLOOMINGTON              IL
1233   1C4HJXEN9KW590311   Chrysler      WRAN                 DETROIT                  MI
1234   1C4HJXEN9KW590325   Chrysler      WRAN                 LOUISVILLE               KY
1235   1C4HJXEN9KW590406   Chrysler      WRAN                 BLOOMINGTON              IL
1236   1C4HJXEN9KW595475   Chrysler      WRAN                 Beaverton                OR
1237   1C4HJXENXKW516282   Chrysler      WRAN                 Davie                    FL
1238   1C4HJXENXKW545698   Chrysler      WRAN                 DANIA                    FL
1239   1C4HJXENXKW588308   Chrysler      WRAN                 Burien                   WA
1240   1C4HJXENXKW588471   Chrysler      WRAN                 SAN FRANCISCO            CA
1241   1C4HJXENXKW588681   Chrysler      WRAN                 OAKLAND                  CA
1242   1C4HJXENXKW588714   Chrysler      WRAN                 PORTLAND                 OR
1243   1C4HJXENXKW588745   Chrysler      WRAN                 LAKEWOOD                 WA
1244   1C4HJXENXKW590298   Chrysler      WRAN                 SYRACUSE                 NY
1245   1C4HJXENXKW590320   Chrysler      WRAN                 SAINT PAUL               MN
1246   1C4HJXENXKW590334   Chrysler      WRAN                 CHICAGO                  IL
1247   1C4HJXENXKW590348   Chrysler      WRAN                 GRAND RAPIDS             MI
1248   1C4HJXENXKW590351   Chrysler      WRAN                 Kansas City              MO
1249   1C4HJXENXKW590379   Chrysler      WRAN                 MINNEAPOLIS              MN
1250   1C4HJXENXKW590429   Chrysler      WRAN                 DETROIT                  MI
1251   1C4NJCBA8HD130350   Chrysler      COMPASS              LAS VEGAS                NV
1252   1C4NJCBB4GD776900   Chrysler      COMPASS              LOS ANGELES              CA
1253   1C4NJCEA1GD792684   Chrysler      COMPASS              Tampa                    FL
1254   1C4NJCEA2HD211033   Chrysler      COMPASS              DALLAS                   TX
1255   1C4NJCEA3FD209580   Chrysler      COMPASS              PICO RIVERA              CA
1256   1C4NJCEA7HD212467   Chrysler      COMPASS              SEATAC                   WA
1257   1C4NJCEA9GD640698   Chrysler      COMPASS              UNION CITY               GA
1258   1C4NJCEA9HD118378   Chrysler      COMPASS              Dallas                   TX
1259   1C4NJCEAXHD207196   Chrysler      COMPASS              Cleveland                OH
1260   1C4NJCEB2HD182299   Chrysler      COMPASS              Costa Mesa               CA
1261   1C4NJCEB3HD199371   Chrysler      COMPASS              Irving                   TX
1262   1C4NJCEB6HD141447   Chrysler      COMPASS              Dallas                   TX
1263   1C4NJCEB7HD182489   Chrysler      COMPASS              Tolleson                 AZ
1264   1C4NJDEB0GD751574   Chrysler      COMPASS              DFW AIRPORT              TX
1265   1C4NJDEB0HD159318   Chrysler      COMPASS              DALLAS                   TX
1266   1C4NJDEB1GD767833   Chrysler      COMPASS              BOSTON                   MA
1267   1C4NJDEB1HD126490   Chrysler      COMPASS              BOSTON                   MA
1268   1C4NJDEB2HD128104   Chrysler      COMPASS              CHICAGO                  IL
1269   1C4NJDEB2HD213198   Chrysler      COMPASS              SAN ANTONIO              TX
1270   1C4NJDEB3GD573028   Chrysler      COMPASS              MEDINA                   OH
1271   1C4NJDEB3GD772211   Chrysler      COMPASS              NEW YORK CITY            NY
1272   1C4NJDEB3HD192586   Chrysler      COMPASS              DALLAS                   TX
1273   1C4NJDEB4GD725964   Chrysler      COMPASS              Chicago                  IL
1274   1C4NJDEB5HD101043   Chrysler      COMPASS              Morrisville              NC
1275   1C4NJDEB5HD177779   Chrysler      COMPASS              Irving                   TX
1276   1C4NJDEB6GD690988   Chrysler      COMPASS              SEATAC                   WA
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1277   1C4NJDEB8GD768283   Chrysler      COMPASS              PHOENIX                  AZ
1278   1C4NJDEB8GD798688   Chrysler      COMPASS              STERLING                 VA
1279   1C4NJDEB9GD767983   Chrysler      COMPASS              BOSTON                   MA
1280   1C4NJDEB9GD797212   Chrysler      COMPASS              North Billerica          MA
1281   1C4NJPFA0GD801736   Chrysler      PATRIOT              BURBANK                  CA
1282   1C4NJPFA6HD169133   Chrysler      PATRIOT              TAMPA                    US
1283   1C4NJPFA8GD615877   Chrysler      PATRIOT              ORLANDO                  FL
1284   1C4NJPFB3HD182205   Chrysler      PATRIOT              ONTARIO                  CA
1285   1C4NJPFB4HD183010   Chrysler      PATRIOT              BURBANK                  CA
1286   1C4NJPFB4HD183038   Chrysler      PATRIOT              Lake Elsinore            CA
1287   1C4NJPFB4HD184643   Chrysler      PATRIOT              LOS ANGELES              CA
1288   1C4NJPFB7HD183034   Chrysler      PATRIOT              GRAHAM                   WA
1289   1C4NJPFBXHD184145   Chrysler      PATRIOT              SAN FRANCISCO            CA
1290   1C4NJRFB1FD290976   Chrysler      PATRIOT              Miami                    FL
1291   1C4NJRFB6GD696723   Chrysler      PATRIOT              NEW ENGLAND DEALER       MA
1292   1C4NJRFB7HD114288   Chrysler      PATRIOT              Houston                  TX
1293   1C4NJRFB9GD768143   Chrysler      PATRIOT              CHICAGO                  IL
1294   1C4PJLAB7HW644455   Chrysler      CHEROKEE             CHICAGO                  IL
1295   1C4PJLAB8GW281291   Chrysler      CHEROKEE             MINNEAPOLIS              US
1296   1C4PJLCB0HW666858   Chrysler      CHEROKEE             MIAMI                    FL
1297   1C4PJLCB2HW604698   Chrysler      CHEROKEE             Palm Springs             CA
1298   1C4PJLCB3GW114110   Chrysler      CHEROKEE             BURBANK                  CA
1299   1C4PJLCB3GW149455   Chrysler      CHEROKEE             MIAMI                    FL
1300   1C4PJLCB3GW178096   Chrysler      CHEROKEE             LOS ANGELES              CA
1301   1C4PJLCB3HW607674   Chrysler      CHEROKEE             FORT MYERS               FL
1302   1C4PJLCB3HW642067   Chrysler      CHEROKEE             Scottsdale               AZ
1303   1C4PJLCB8GW375944   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1304   1C4PJLCB8HW523432   Chrysler      CHEROKEE             Sanford                  FL
1305   1C4PJLCB9FW617171   Chrysler      CHEROKEE             NASHVILLE                TN
1306   1C4PJLCB9HW666857   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1307   1C4PJLCB9HW667409   Chrysler      CHEROKEE             Scottsdale               AZ
1308   1C4PJLCS0GW312319   Chrysler      CHEROKEE             BURBANK                  CA
1309   1C4PJLCS9GW171069   Chrysler      CHEROKEE             LOS ANGELES              CA
1310   1C4PJLDB0KD170167   Chrysler      CHEROKEE             LOS ANGELES              CA
1311   1C4PJLDB0KD170198   Chrysler      CHEROKEE             ORLANDO                  FL
1312   1C4PJLDB0KD170203   Chrysler      CHEROKEE             EAST BOSTON              MA
1313   1C4PJLDB0KD170251   Chrysler      CHEROKEE             Hendersonville           TN
1314   1C4PJLDB0KD170282   Chrysler      CHEROKEE             COLLEGE PARK             GA
1315   1C4PJLDB0KD170301   Chrysler      CHEROKEE             TAMPA                    FL
1316   1C4PJLDB0KD170427   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1317   1C4PJLDB0KD170525   Chrysler      CHEROKEE             FORT MYERS               FL
1318   1C4PJLDB0KD170668   Chrysler      CHEROKEE             RONKONKOMA               NY
1319   1C4PJLDB0KD300304   Chrysler      CHEROKEE             SAN DIEGO                CA
1320   1C4PJLDB0KD300321   Chrysler      CHEROKEE             Miami                    FL
1321   1C4PJLDB0KD300352   Chrysler      CHEROKEE             ORLANDO                  FL
1322   1C4PJLDB0KD300481   Chrysler      CHEROKEE             MARIETTA                 GA
1323   1C4PJLDB0KD300528   Chrysler      CHEROKEE             ORLANDO                  FL
1324   1C4PJLDB0KD300531   Chrysler      CHEROKEE             Richmond                 VA
1325   1C4PJLDB0KD300609   Chrysler      CHEROKEE             AUSTIN                   TX
1326   1C4PJLDB0KD300741   Chrysler      CHEROKEE             ATLANTA                  GA
1327   1C4PJLDB0KD300769   Chrysler      CHEROKEE             FORT MYERS               FL
1328   1C4PJLDB0KD302201   Chrysler      CHEROKEE             Atlanta                  GA
1329   1C4PJLDB0KD302277   Chrysler      CHEROKEE             BIRMINGHAM               AL
1330   1C4PJLDB0KD302389   Chrysler      CHEROKEE             Jacksonville             FL
1331   1C4PJLDB0KD302439   Chrysler      CHEROKEE             KNOXVILLE                TN
1332   1C4PJLDB0KD302473   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1333   1C4PJLDB0KD302490   Chrysler      CHEROKEE             BIRMINGHAM               AL
1334   1C4PJLDB0KD302554   Chrysler      CHEROKEE             STERLING                 VA
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1335   1C4PJLDB0KD302568   Chrysler      CHEROKEE             SAN FRANCISCO            CA
1336   1C4PJLDB0KD302571   Chrysler      CHEROKEE             SHREVEPORT               LA
1337   1C4PJLDB0KD302604   Chrysler      CHEROKEE             NEWARK                   NJ
1338   1C4PJLDB0KD302652   Chrysler      CHEROKEE             DALLAS                   TX
1339   1C4PJLDB0KD411046   Chrysler      CHEROKEE             SOUTHEAST DST OFFC       OK
1340   1C4PJLDB0KD416134   Chrysler      CHEROKEE             DALLAS                   TX
1341   1C4PJLDB0KD416151   Chrysler      CHEROKEE             Bridgeton                MO
1342   1C4PJLDB0KD416196   Chrysler      CHEROKEE             LOS ANGELES              CA
1343   1C4PJLDB0KD419468   Chrysler      CHEROKEE             HOUSTON                  TX
1344   1C4PJLDB0KD427599   Chrysler      CHEROKEE             CLARKSVILLE              IN
1345   1C4PJLDB0KD427733   Chrysler      CHEROKEE             PHILADELPHIA             PA
1346   1C4PJLDB0KD427781   Chrysler      CHEROKEE             HUEYTOWN                 AL
1347   1C4PJLDB0KD433614   Chrysler      CHEROKEE             SAINT PAUL               MN
1348   1C4PJLDB1KD170159   Chrysler      CHEROKEE             Omaha                    NE
1349   1C4PJLDB1KD170291   Chrysler      CHEROKEE             DARLINGTON               SC
1350   1C4PJLDB1KD170422   Chrysler      CHEROKEE             FORT MYERS               FL
1351   1C4PJLDB1KD170632   Chrysler      CHEROKEE             SAVANNAH                 GA
1352   1C4PJLDB1KD170663   Chrysler      CHEROKEE             CHICAGO                  IL
1353   1C4PJLDB1KD170680   Chrysler      CHEROKEE             TAMPA                    FL
1354   1C4PJLDB1KD183896   Chrysler      CHEROKEE             BOSTON                   MA
1355   1C4PJLDB1KD183946   Chrysler      CHEROKEE             White Plains             NY
1356   1C4PJLDB1KD300330   Chrysler      CHEROKEE             MEMPHIS                  TN
1357   1C4PJLDB1KD300361   Chrysler      CHEROKEE             ORLANDO                  FL
1358   1C4PJLDB1KD300375   Chrysler      CHEROKEE             St. Louis                MO
1359   1C4PJLDB1KD300392   Chrysler      CHEROKEE             Jacksonville             FL
1360   1C4PJLDB1KD300442   Chrysler      CHEROKEE             ORLANDO                  FL
1361   1C4PJLDB1KD300456   Chrysler      CHEROKEE             DANIA BEACH              FL
1362   1C4PJLDB1KD300473   Chrysler      CHEROKEE             FORT MYERS               FL
1363   1C4PJLDB1KD300554   Chrysler      CHEROKEE             FORT MYERS               FL
1364   1C4PJLDB1KD300571   Chrysler      CHEROKEE             MORROW                   GA
1365   1C4PJLDB1KD300599   Chrysler      CHEROKEE             FORT MYERS               FL
1366   1C4PJLDB1KD300618   Chrysler      CHEROKEE             HOUSTON                  TX
1367   1C4PJLDB1KD300621   Chrysler      CHEROKEE             San Antonio              TX
1368   1C4PJLDB1KD300666   Chrysler      CHEROKEE             ORLANDO                  FL
1369   1C4PJLDB1KD300747   Chrysler      CHEROKEE             Hebron                   KY
1370   1C4PJLDB1KD300750   Chrysler      CHEROKEE             MIAMI                    FL
1371   1C4PJLDB1KD300778   Chrysler      CHEROKEE             STERLING                 VA
1372   1C4PJLDB1KD300781   Chrysler      CHEROKEE             SOUTHEAST DST OFFC       OK
1373   1C4PJLDB1KD302174   Chrysler      CHEROKEE             LAS VEGAS                NV
1374   1C4PJLDB1KD302255   Chrysler      CHEROKEE             TAMPA                    FL
1375   1C4PJLDB1KD302269   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1376   1C4PJLDB1KD302286   Chrysler      CHEROKEE             BOISE                    US
1377   1C4PJLDB1KD302319   Chrysler      CHEROKEE             HOUSTON                  TX
1378   1C4PJLDB1KD302370   Chrysler      CHEROKEE             SAN DIEGO                CA
1379   1C4PJLDB1KD302420   Chrysler      CHEROKEE             FT LAUDERDALE            FL
1380   1C4PJLDB1KD302515   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1381   1C4PJLDB1KD302563   Chrysler      CHEROKEE             SAVANNAH                 GA
1382   1C4PJLDB1KD302658   Chrysler      CHEROKEE             PALM SPRINGS             CA
1383   1C4PJLDB1KD415994   Chrysler      CHEROKEE             Irving                   TX
1384   1C4PJLDB1KD419415   Chrysler      CHEROKEE             DALLAS                   TX
1385   1C4PJLDB1KD419477   Chrysler      CHEROKEE             BATON ROUGE              LA
1386   1C4PJLDB1KD427630   Chrysler      CHEROKEE             Houston                  TX
1387   1C4PJLDB1KD433878   Chrysler      CHEROKEE             Atlanta                  GA
1388   1C4PJLDB1KD433928   Chrysler      CHEROKEE             Lexington                KY
1389   1C4PJLDB2KD170168   Chrysler      CHEROKEE             Winter Park              FL
1390   1C4PJLDB2KD170252   Chrysler      CHEROKEE             ORLANDO                  FL
1391   1C4PJLDB2KD170297   Chrysler      CHEROKEE             ROCHESTER                NY
1392   1C4PJLDB2KD170347   Chrysler      CHEROKEE             JACKSONVILLE             FL
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1393   1C4PJLDB2KD170638   Chrysler      CHEROKEE             PORTLAND                 OR
1394   1C4PJLDB2KD183874   Chrysler      CHEROKEE             SAN JOSE                 CA
1395   1C4PJLDB2KD183907   Chrysler      CHEROKEE             Hapeville                GA
1396   1C4PJLDB2KD184040   Chrysler      CHEROKEE             FORT MYERS               FL
1397   1C4PJLDB2KD209812   Chrysler      CHEROKEE             MIAMI                    FL
1398   1C4PJLDB2KD300319   Chrysler      CHEROKEE             MIAMI                    FL
1399   1C4PJLDB2KD300398   Chrysler      CHEROKEE             ORLANDO                  FL
1400   1C4PJLDB2KD300496   Chrysler      CHEROKEE             Leesburg                 VA
1401   1C4PJLDB2KD300580   Chrysler      CHEROKEE             Woodhaven                MI
1402   1C4PJLDB2KD300613   Chrysler      CHEROKEE             San Antonio              TX
1403   1C4PJLDB2KD300644   Chrysler      CHEROKEE             DALLAS                   TX
1404   1C4PJLDB2KD300658   Chrysler      CHEROKEE             Atlanta                  GA
1405   1C4PJLDB2KD300689   Chrysler      CHEROKEE             SAN DIEGO                CA
1406   1C4PJLDB2KD300756   Chrysler      CHEROKEE             Richmond                 VA
1407   1C4PJLDB2KD302295   Chrysler      CHEROKEE             SOUTHEAST DST OFFC       OK
1408   1C4PJLDB2KD302412   Chrysler      CHEROKEE             KNOXVILLE                TN
1409   1C4PJLDB2KD302443   Chrysler      CHEROKEE             HANOVER                  MD
1410   1C4PJLDB2KD302474   Chrysler      CHEROKEE             LAS VEGAS                NV
1411   1C4PJLDB2KD302488   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1412   1C4PJLDB2KD302555   Chrysler      CHEROKEE             DALLAS                   TX
1413   1C4PJLDB2KD411064   Chrysler      CHEROKEE             ALBUQUERQUE              NM
1414   1C4PJLDB2KD415826   Chrysler      CHEROKEE             PALM SPRINGS             CA
1415   1C4PJLDB2KD416104   Chrysler      CHEROKEE             ORLANDO                  FL
1416   1C4PJLDB2KD416121   Chrysler      CHEROKEE             ONTARIO                  CA
1417   1C4PJLDB2KD419441   Chrysler      CHEROKEE             Houston                  TX
1418   1C4PJLDB2KD419455   Chrysler      CHEROKEE             Amarillo                 TX
1419   1C4PJLDB2KD427622   Chrysler      CHEROKEE             AUSTIN                   TX
1420   1C4PJLDB2KD427636   Chrysler      CHEROKEE             EULESS                   TX
1421   1C4PJLDB2KD427751   Chrysler      CHEROKEE             MEMPHIS                  TN
1422   1C4PJLDB2KD427779   Chrysler      CHEROKEE             SALT LAKE CITY           UT
1423   1C4PJLDB2KD433694   Chrysler      CHEROKEE             West Bountiful           UT
1424   1C4PJLDB3KD170244   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1425   1C4PJLDB3KD170289   Chrysler      CHEROKEE             BOSTON                   MA
1426   1C4PJLDB3KD170311   Chrysler      CHEROKEE             DULUTH                   GA
1427   1C4PJLDB3KD170356   Chrysler      CHEROKEE             TAMPA                    US
1428   1C4PJLDB3KD170504   Chrysler      CHEROKEE             TAMPA                    FL
1429   1C4PJLDB3KD300345   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1430   1C4PJLDB3KD300362   Chrysler      CHEROKEE             ORLANDO                  FL
1431   1C4PJLDB3KD300376   Chrysler      CHEROKEE             MIAMI                    FL
1432   1C4PJLDB3KD300538   Chrysler      CHEROKEE             SOUTHEAST DST OFFC       OK
1433   1C4PJLDB3KD300555   Chrysler      CHEROKEE             LAS VEGAS                NV
1434   1C4PJLDB3KD300684   Chrysler      CHEROKEE             BURLINGTON               VT
1435   1C4PJLDB3KD300751   Chrysler      CHEROKEE             Plainfield               IN
1436   1C4PJLDB3KD302192   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
1437   1C4PJLDB3KD302273   Chrysler      CHEROKEE             ORLANDO                  FL
1438   1C4PJLDB3KD302323   Chrysler      CHEROKEE             Portland                 ME
1439   1C4PJLDB3KD302354   Chrysler      CHEROKEE             ORLANDO                  FL
1440   1C4PJLDB3KD302371   Chrysler      CHEROKEE             NEWARK                   NJ
1441   1C4PJLDB3KD302404   Chrysler      CHEROKEE             TAMPA                    FL
1442   1C4PJLDB3KD302483   Chrysler      CHEROKEE             Tampa                    FL
1443   1C4PJLDB3KD302497   Chrysler      CHEROKEE             Miami                    FL
1444   1C4PJLDB3KD302533   Chrysler      CHEROKEE             Sacramento               CA
1445   1C4PJLDB3KD302581   Chrysler      CHEROKEE             MIAMI                    FL
1446   1C4PJLDB3KD302595   Chrysler      CHEROKEE             JACKSONVILLE             FL
1447   1C4PJLDB3KD302614   Chrysler      CHEROKEE             BUFFALO                  NY
1448   1C4PJLDB3KD302628   Chrysler      CHEROKEE             LOS ANGELES AP           CA
1449   1C4PJLDB3KD302659   Chrysler      CHEROKEE             Harlingen                TX
1450   1C4PJLDB3KD416001   Chrysler      CHEROKEE             Dallas                   TX
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1451   1C4PJLDB3KD416127   Chrysler      CHEROKEE             Austin                   TX
1452   1C4PJLDB3KD416239   Chrysler      CHEROKEE             DALLAS                   TX
1453   1C4PJLDB3KD419352   Chrysler      CHEROKEE             DALLAS                   TX
1454   1C4PJLDB3KD419514   Chrysler      CHEROKEE             EL PASO                  TX
1455   1C4PJLDB3KD427743   Chrysler      CHEROKEE             EVANSVILLE               IN
1456   1C4PJLDB3KD427760   Chrysler      CHEROKEE             NAPLES                   FL
1457   1C4PJLDB3KD433722   Chrysler      CHEROKEE             SAN DIEGO                CA
1458   1C4PJLDB3KD433770   Chrysler      CHEROKEE             BURBANK                  CA
1459   1C4PJLDB3KD433901   Chrysler      CHEROKEE             BALTIMORE                MD
1460   1C4PJLDB4KD170110   Chrysler      CHEROKEE             ORLANDO                  FL
1461   1C4PJLDB4KD170172   Chrysler      CHEROKEE             Tampa                    FL
1462   1C4PJLDB4KD170219   Chrysler      CHEROKEE             MIAMI                    FL
1463   1C4PJLDB4KD170253   Chrysler      CHEROKEE             CHICAGO                  IL
1464   1C4PJLDB4KD170270   Chrysler      CHEROKEE             Miami                    FL
1465   1C4PJLDB4KD183990   Chrysler      CHEROKEE             CHAMBLEE                 GA
1466   1C4PJLDB4KD209813   Chrysler      CHEROKEE             NEW YORK CITY            NY
1467   1C4PJLDB4KD300404   Chrysler      CHEROKEE             JACKSONVILLE             FL
1468   1C4PJLDB4KD300435   Chrysler      CHEROKEE             ORLANDO                  FL
1469   1C4PJLDB4KD300449   Chrysler      CHEROKEE             STERLING                 VA
1470   1C4PJLDB4KD300452   Chrysler      CHEROKEE             SEATTLE                  WA
1471   1C4PJLDB4KD300483   Chrysler      CHEROKEE             N. Palm Beach            FL
1472   1C4PJLDB4KD300502   Chrysler      CHEROKEE             ORLANDO                  FL
1473   1C4PJLDB4KD300516   Chrysler      CHEROKEE             ORLANDO                  FL
1474   1C4PJLDB4KD300533   Chrysler      CHEROKEE             ORLANDO                  FL
1475   1C4PJLDB4KD302167   Chrysler      CHEROKEE             FORT MYERS               FL
1476   1C4PJLDB4KD302198   Chrysler      CHEROKEE             Dallas                   TX
1477   1C4PJLDB4KD302301   Chrysler      CHEROKEE             DALLAS                   TX
1478   1C4PJLDB4KD302332   Chrysler      CHEROKEE             ATLANTA                  GA
1479   1C4PJLDB4KD302394   Chrysler      CHEROKEE             ATLANTA                  GA
1480   1C4PJLDB4KD302427   Chrysler      CHEROKEE             CHICAGO                  IL
1481   1C4PJLDB4KD302458   Chrysler      CHEROKEE             DENVER                   CO
1482   1C4PJLDB4KD302461   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
1483   1C4PJLDB4KD302475   Chrysler      CHEROKEE             MANCHESTER               US
1484   1C4PJLDB4KD302489   Chrysler      CHEROKEE             ATLANTA                  GA
1485   1C4PJLDB4KD302539   Chrysler      CHEROKEE             ORLANDO                  FL
1486   1C4PJLDB4KD302556   Chrysler      CHEROKEE             BURBANK                  CA
1487   1C4PJLDB4KD302623   Chrysler      CHEROKEE             ONTARIO                  CA
1488   1C4PJLDB4KD302640   Chrysler      CHEROKEE             LAS VEGAS                NV
1489   1C4PJLDB4KD415827   Chrysler      CHEROKEE             STERLING                 VA
1490   1C4PJLDB4KD415844   Chrysler      CHEROKEE             Memphis                  TN
1491   1C4PJLDB4KD416153   Chrysler      CHEROKEE             Dallas                   TX
1492   1C4PJLDB4KD419330   Chrysler      CHEROKEE             WHITE PLAINS             NY
1493   1C4PJLDB4KD419408   Chrysler      CHEROKEE             MILWAUKEE                WI
1494   1C4PJLDB4KD419506   Chrysler      CHEROKEE             TUCSON                   AZ
1495   1C4PJLDB4KD419537   Chrysler      CHEROKEE             Houston                  TX
1496   1C4PJLDB4KD427489   Chrysler      CHEROKEE             ORLANDO                  FL
1497   1C4PJLDB4KD427587   Chrysler      CHEROKEE             Austell                  GA
1498   1C4PJLDB5KD170228   Chrysler      CHEROKEE             WEST COLUMBIA            SC
1499   1C4PJLDB5KD183769   Chrysler      CHEROKEE             MIAMI                    FL
1500   1C4PJLDB5KD183836   Chrysler      CHEROKEE             FORT MYERS               FL
1501   1C4PJLDB5KD183898   Chrysler      CHEROKEE             PHOENIX                  AZ
1502   1C4PJLDB5KD183982   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
1503   1C4PJLDB5KD300301   Chrysler      CHEROKEE             MILWAUKEE                WI
1504   1C4PJLDB5KD300329   Chrysler      CHEROKEE             Nashville                TN
1505   1C4PJLDB5KD300332   Chrysler      CHEROKEE             Tampa                    FL
1506   1C4PJLDB5KD300427   Chrysler      CHEROKEE             SARASOTA                 FL
1507   1C4PJLDB5KD300475   Chrysler      CHEROKEE             SAN DIEGO                CA
1508   1C4PJLDB5KD300525   Chrysler      CHEROKEE             APPLETON                 WI
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1509   1C4PJLDB5KD300539   Chrysler      CHEROKEE             Miami                    FL
1510   1C4PJLDB5KD300542   Chrysler      CHEROKEE             DALLAS                   TX
1511   1C4PJLDB5KD300637   Chrysler      CHEROKEE             RICHMOND                 VA
1512   1C4PJLDB5KD300654   Chrysler      CHEROKEE             FORT MYERS               FL
1513   1C4PJLDB5KD300699   Chrysler      CHEROKEE             Houston                  TX
1514   1C4PJLDB5KD300718   Chrysler      CHEROKEE             JACKSON                  MS
1515   1C4PJLDB5KD300735   Chrysler      CHEROKEE             ORLANDO                  FL
1516   1C4PJLDB5KD300752   Chrysler      CHEROKEE             Atlanta                  GA
1517   1C4PJLDB5KD302257   Chrysler      CHEROKEE             STERLING                 VA
1518   1C4PJLDB5KD302260   Chrysler      CHEROKEE             SARASOTA                 FL
1519   1C4PJLDB5KD302307   Chrysler      CHEROKEE             ORLANDO                  FL
1520   1C4PJLDB5KD302355   Chrysler      CHEROKEE             TULSA                    OK
1521   1C4PJLDB5KD302419   Chrysler      CHEROKEE             TAMPA                    FL
1522   1C4PJLDB5KD302422   Chrysler      CHEROKEE             Denver                   CO
1523   1C4PJLDB5KD302467   Chrysler      CHEROKEE             North Dighton            MA
1524   1C4PJLDB5KD302534   Chrysler      CHEROKEE             Los Angeles              CA
1525   1C4PJLDB5KD302582   Chrysler      CHEROKEE             KENNER                   LA
1526   1C4PJLDB5KD302596   Chrysler      CHEROKEE             SANFORD                  FL
1527   1C4PJLDB5KD302615   Chrysler      CHEROKEE             ORANGE COUNTY            CA
1528   1C4PJLDB5KD415965   Chrysler      CHEROKEE             EULESS                   TX
1529   1C4PJLDB5KD419370   Chrysler      CHEROKEE             Houston                  TX
1530   1C4PJLDB5KD419501   Chrysler      CHEROKEE             TAMPA                    FL
1531   1C4PJLDB5KD419515   Chrysler      CHEROKEE             ONTARIO                  CA
1532   1C4PJLDB5KD427517   Chrysler      CHEROKEE             KNOXVILLE                TN
1533   1C4PJLDB5KD427582   Chrysler      CHEROKEE             TAMPA                    FL
1534   1C4PJLDB5KD427663   Chrysler      CHEROKEE             Houston                  TX
1535   1C4PJLDB5KD427744   Chrysler      CHEROKEE             TULSA                    OK
1536   1C4PJLDB5KD433625   Chrysler      CHEROKEE             FORT MYERS               FL
1537   1C4PJLDB5KD433687   Chrysler      CHEROKEE             TAMPA                    FL
1538   1C4PJLDB5KD433690   Chrysler      CHEROKEE             SAVANNAH                 GA
1539   1C4PJLDB5KD433916   Chrysler      CHEROKEE             Dallas                   TX
1540   1C4PJLDB6KD170206   Chrysler      CHEROKEE             Tampa                    FL
1541   1C4PJLDB6KD170223   Chrysler      CHEROKEE             MARIETTA                 GA
1542   1C4PJLDB6KD170268   Chrysler      CHEROKEE             TAMPA                    FL
1543   1C4PJLDB6KD170349   Chrysler      CHEROKEE             SOUTHEAST DST OFFC       OK
1544   1C4PJLDB6KD170674   Chrysler      CHEROKEE             PHOENIX                  AZ
1545   1C4PJLDB6KD184008   Chrysler      CHEROKEE             RALIEGH                  NC
1546   1C4PJLDB6KD300355   Chrysler      CHEROKEE             ORLANDO                  FL
1547   1C4PJLDB6KD300405   Chrysler      CHEROKEE             SAVANNAH                 GA
1548   1C4PJLDB6KD300419   Chrysler      CHEROKEE             TAMPA                    FL
1549   1C4PJLDB6KD300467   Chrysler      CHEROKEE             TAMPA                    FL
1550   1C4PJLDB6KD300503   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1551   1C4PJLDB6KD300520   Chrysler      CHEROKEE             ORLANDO                  FL
1552   1C4PJLDB6KD300548   Chrysler      CHEROKEE             Atlanta                  GA
1553   1C4PJLDB6KD300582   Chrysler      CHEROKEE             ATLANTA                  GA
1554   1C4PJLDB6KD300596   Chrysler      CHEROKEE             Kansas City              MO
1555   1C4PJLDB6KD300629   Chrysler      CHEROKEE             AUSTIN                   TX
1556   1C4PJLDB6KD300646   Chrysler      CHEROKEE             Kansas City              KS
1557   1C4PJLDB6KD300789   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
1558   1C4PJLDB6KD302154   Chrysler      CHEROKEE             Hendersonville           TN
1559   1C4PJLDB6KD302168   Chrysler      CHEROKEE             JACKSONVILLE             FL
1560   1C4PJLDB6KD302171   Chrysler      CHEROKEE             MIAMI                    FL
1561   1C4PJLDB6KD302185   Chrysler      CHEROKEE             FAYETTEVILLE             GA
1562   1C4PJLDB6KD302221   Chrysler      CHEROKEE             Corpus Christi           TX
1563   1C4PJLDB6KD302235   Chrysler      CHEROKEE             TAMPA                    FL
1564   1C4PJLDB6KD302249   Chrysler      CHEROKEE             CHARLESTON               SC
1565   1C4PJLDB6KD302400   Chrysler      CHEROKEE             LAS VEGAS                NV
1566   1C4PJLDB6KD302414   Chrysler      CHEROKEE             Plainfield               IN
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1567   1C4PJLDB6KD302493   Chrysler      CHEROKEE             ORLANDO                  FL
1568   1C4PJLDB6KD302557   Chrysler      CHEROKEE             Jacksonville             FL
1569   1C4PJLDB6KD302574   Chrysler      CHEROKEE             Slidell                  LA
1570   1C4PJLDB6KD302638   Chrysler      CHEROKEE             TAMPA                    FL
1571   1C4PJLDB6KD302641   Chrysler      CHEROKEE             TAMPA                    US
1572   1C4PJLDB6KD416042   Chrysler      CHEROKEE             HOUSTON                  TX
1573   1C4PJLDB6KD416073   Chrysler      CHEROKEE             Oklahoma City            OK
1574   1C4PJLDB6KD416087   Chrysler      CHEROKEE             Warr Acres               OK
1575   1C4PJLDB6KD419331   Chrysler      CHEROKEE             Houston                  TX
1576   1C4PJLDB6KD427476   Chrysler      CHEROKEE             Indianapolis             IN
1577   1C4PJLDB6KD427512   Chrysler      CHEROKEE             SACRAMENTO               CA
1578   1C4PJLDB6KD427557   Chrysler      CHEROKEE             BIRMINGHAN               AL
1579   1C4PJLDB6KD427610   Chrysler      CHEROKEE             San Antonio              TX
1580   1C4PJLDB6KD433729   Chrysler      CHEROKEE             Austell                  GA
1581   1C4PJLDB7KD170117   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1582   1C4PJLDB7KD170277   Chrysler      CHEROKEE             Des Moines               IA
1583   1C4PJLDB7KD170294   Chrysler      CHEROKEE             North Dighton            MA
1584   1C4PJLDB7KD170537   Chrysler      CHEROKEE             Ft. Myers                FL
1585   1C4PJLDB7KD183773   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
1586   1C4PJLDB7KD183854   Chrysler      CHEROKEE             TAMPA                    US
1587   1C4PJLDB7KD184017   Chrysler      CHEROKEE             ORLANDO                  FL
1588   1C4PJLDB7KD300316   Chrysler      CHEROKEE             Atlanta                  GA
1589   1C4PJLDB7KD300493   Chrysler      CHEROKEE             Milwaukee                WI
1590   1C4PJLDB7KD300512   Chrysler      CHEROKEE             MEMPHIS                  TN
1591   1C4PJLDB7KD300607   Chrysler      CHEROKEE             HARTFORD                 CT
1592   1C4PJLDB7KD300638   Chrysler      CHEROKEE             EL PASO                  TX
1593   1C4PJLDB7KD300641   Chrysler      CHEROKEE             MIAMI                    FL
1594   1C4PJLDB7KD300669   Chrysler      CHEROKEE             Kansas City              MO
1595   1C4PJLDB7KD300722   Chrysler      CHEROKEE             Houston                  TX
1596   1C4PJLDB7KD302177   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1597   1C4PJLDB7KD302213   Chrysler      CHEROKEE             NEW ORLEANS              LA
1598   1C4PJLDB7KD302258   Chrysler      CHEROKEE             Woodhaven                MI
1599   1C4PJLDB7KD302390   Chrysler      CHEROKEE             SAN FRANCISCO            CA
1600   1C4PJLDB7KD302406   Chrysler      CHEROKEE             NEW ORLEANS              LA
1601   1C4PJLDB7KD302423   Chrysler      CHEROKEE             TAMPA                    FL
1602   1C4PJLDB7KD302440   Chrysler      CHEROKEE             SARASOTA                 FL
1603   1C4PJLDB7KD302454   Chrysler      CHEROKEE             FORT MYERS               FL
1604   1C4PJLDB7KD302485   Chrysler      CHEROKEE             PHILADELPHIA             PA
1605   1C4PJLDB7KD302521   Chrysler      CHEROKEE             NORFOLK                  VA
1606   1C4PJLDB7KD302552   Chrysler      CHEROKEE             Houston                  TX
1607   1C4PJLDB7KD302566   Chrysler      CHEROKEE             ORLANDO                  FL
1608   1C4PJLDB7KD302597   Chrysler      CHEROKEE             LOUISVILLE               KY
1609   1C4PJLDB7KD302633   Chrysler      CHEROKEE             SALT LAKE CITY           US
1610   1C4PJLDB7KD318993   Chrysler      CHEROKEE             HOUSTON                  TX
1611   1C4PJLDB7KD415837   Chrysler      CHEROKEE             JACKSONVILLE             FL
1612   1C4PJLDB7KD415966   Chrysler      CHEROKEE             Stockton                 CA
1613   1C4PJLDB7KD416020   Chrysler      CHEROKEE             TAMPA                    FL
1614   1C4PJLDB7KD416101   Chrysler      CHEROKEE             San Antonio              TX
1615   1C4PJLDB7KD416177   Chrysler      CHEROKEE             DALLAS                   TX
1616   1C4PJLDB7KD416227   Chrysler      CHEROKEE             DENVER                   CO
1617   1C4PJLDB7KD427678   Chrysler      CHEROKEE             DFW AIRPORT              TX
1618   1C4PJLDB7KD427681   Chrysler      CHEROKEE             Austin                   TX
1619   1C4PJLDB7KD433965   Chrysler      CHEROKEE             Dallas                   TX
1620   1C4PJLDB8KD170188   Chrysler      CHEROKEE             BALTIMORE                MD
1621   1C4PJLDB8KD170384   Chrysler      CHEROKEE             ORLANDO                  FL
1622   1C4PJLDB8KD170613   Chrysler      CHEROKEE             CLEVELAND                OH
1623   1C4PJLDB8KD170630   Chrysler      CHEROKEE             RAYNHAM                  MA
1624   1C4PJLDB8KD183815   Chrysler      CHEROKEE             COCOA                    FL
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1625   1C4PJLDB8KD183944   Chrysler      CHEROKEE             FORT MYERS               FL
1626   1C4PJLDB8KD300342   Chrysler      CHEROKEE             ORLANDO                  FL
1627   1C4PJLDB8KD300356   Chrysler      CHEROKEE             Manheim                  PA
1628   1C4PJLDB8KD300390   Chrysler      CHEROKEE             Estero                   FL
1629   1C4PJLDB8KD300485   Chrysler      CHEROKEE             CHARLESTON               WV
1630   1C4PJLDB8KD300504   Chrysler      CHEROKEE             PHOENIX                  AZ
1631   1C4PJLDB8KD300518   Chrysler      CHEROKEE             Raleigh                  NC
1632   1C4PJLDB8KD300549   Chrysler      CHEROKEE             Winter Park              FL
1633   1C4PJLDB8KD300552   Chrysler      CHEROKEE             SOUTHEAST DST OFFC       OK
1634   1C4PJLDB8KD300647   Chrysler      CHEROKEE             LAS VEGAS                NV
1635   1C4PJLDB8KD300700   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1636   1C4PJLDB8KD302205   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
1637   1C4PJLDB8KD302284   Chrysler      CHEROKEE             NORFOLK                  VA
1638   1C4PJLDB8KD302303   Chrysler      CHEROKEE             FORT MYERS               FL
1639   1C4PJLDB8KD302334   Chrysler      CHEROKEE             ORLANDO                  FL
1640   1C4PJLDB8KD302351   Chrysler      CHEROKEE             TAMPA                    FL
1641   1C4PJLDB8KD302575   Chrysler      CHEROKEE             HOUSTON                  TX
1642   1C4PJLDB8KD302625   Chrysler      CHEROKEE             SALT LAKE CITY           UT
1643   1C4PJLDB8KD302642   Chrysler      CHEROKEE             PHOENIX                  AZ
1644   1C4PJLDB8KD302656   Chrysler      CHEROKEE             Portland                 OR
1645   1C4PJLDB8KD415880   Chrysler      CHEROKEE             Warr Acres               OK
1646   1C4PJLDB8KD416060   Chrysler      CHEROKEE             NEW YORK CITY            NY
1647   1C4PJLDB8KD419332   Chrysler      CHEROKEE             TAMPA                    FL
1648   1C4PJLDB8KD427513   Chrysler      CHEROKEE             SHREVEPORT               LA
1649   1C4PJLDB8KD427723   Chrysler      CHEROKEE             ATLANTA                  GA
1650   1C4PJLDB8KD427737   Chrysler      CHEROKEE             Manheim                  PA
1651   1C4PJLDB8KD427740   Chrysler      CHEROKEE             FORT MYERS               FL
1652   1C4PJLDB8KD427754   Chrysler      CHEROKEE             LITTLE ROCK              AR
1653   1C4PJLDB8KD427768   Chrysler      CHEROKEE             Stone Mountain           GA
1654   1C4PJLDB8KD427799   Chrysler      CHEROKEE             FORT MYERS               FL
1655   1C4PJLDB8KD433750   Chrysler      CHEROKEE             ALBUQERQUE               NM
1656   1C4PJLDB8KD433764   Chrysler      CHEROKEE             Warr Acres               OK
1657   1C4PJLDB8KD433831   Chrysler      CHEROKEE             DALLAS                   TX
1658   1C4PJLDB9KD170183   Chrysler      CHEROKEE             Houston                  TX
1659   1C4PJLDB9KD170281   Chrysler      CHEROKEE             WHITE PLAINS             NY
1660   1C4PJLDB9KD170670   Chrysler      CHEROKEE             KENNER                   LA
1661   1C4PJLDB9KD183788   Chrysler      CHEROKEE             Tolleson                 AZ
1662   1C4PJLDB9KD208009   Chrysler      CHEROKEE             ORLANDO                  FL
1663   1C4PJLDB9KD300334   Chrysler      CHEROKEE             SALT LAKE CITY           US
1664   1C4PJLDB9KD300396   Chrysler      CHEROKEE             SAN DIEGO                CA
1665   1C4PJLDB9KD300429   Chrysler      CHEROKEE             TAMPA                    FL
1666   1C4PJLDB9KD300432   Chrysler      CHEROKEE             ALBUQUERQUE              NM
1667   1C4PJLDB9KD300494   Chrysler      CHEROKEE             FORT MYERS               FL
1668   1C4PJLDB9KD300513   Chrysler      CHEROKEE             HOUSTON                  TX
1669   1C4PJLDB9KD300530   Chrysler      CHEROKEE             ORLANDO                  FL
1670   1C4PJLDB9KD300544   Chrysler      CHEROKEE             DENVER                   CO
1671   1C4PJLDB9KD300558   Chrysler      CHEROKEE             KNOXVILLE                TN
1672   1C4PJLDB9KD300575   Chrysler      CHEROKEE             GUNNISON                 CO
1673   1C4PJLDB9KD300625   Chrysler      CHEROKEE             HOUSTON                  TX
1674   1C4PJLDB9KD300642   Chrysler      CHEROKEE             Coraopolis               PA
1675   1C4PJLDB9KD300656   Chrysler      CHEROKEE             SAINT LOUIS              MO
1676   1C4PJLDB9KD300687   Chrysler      CHEROKEE             Houston                  TX
1677   1C4PJLDB9KD300690   Chrysler      CHEROKEE             SAINT LOUIS              MO
1678   1C4PJLDB9KD300754   Chrysler      CHEROKEE             SOUTHEAST DST OFFC       OK
1679   1C4PJLDB9KD300768   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1680   1C4PJLDB9KD300771   Chrysler      CHEROKEE             SEATTLE                  WA
1681   1C4PJLDB9KD300785   Chrysler      CHEROKEE             TAMPA                    FL
1682   1C4PJLDB9KD302214   Chrysler      CHEROKEE             SHREVEPORT               LA
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1683   1C4PJLDB9KD302276   Chrysler      CHEROKEE             PENSACOLA                FL
1684   1C4PJLDB9KD302293   Chrysler      CHEROKEE             HANOVER                  MD
1685   1C4PJLDB9KD302374   Chrysler      CHEROKEE             NEWARK                   NJ
1686   1C4PJLDB9KD302391   Chrysler      CHEROKEE             ORLANDO                  FL
1687   1C4PJLDB9KD302407   Chrysler      CHEROKEE             ORLANDO                  FL
1688   1C4PJLDB9KD302455   Chrysler      CHEROKEE             Chicago                  IL
1689   1C4PJLDB9KD302469   Chrysler      CHEROKEE             Estero                   FL
1690   1C4PJLDB9KD302486   Chrysler      CHEROKEE             TAMPA                    FL
1691   1C4PJLDB9KD302505   Chrysler      CHEROKEE             NASHVILLE                TN
1692   1C4PJLDB9KD302567   Chrysler      CHEROKEE             KENNER                   LA
1693   1C4PJLDB9KD415984   Chrysler      CHEROKEE             CHARLOTTESVILLE          VA
1694   1C4PJLDB9KD427536   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1695   1C4PJLDB9KD433840   Chrysler      CHEROKEE             Irving                   TX
1696   1C4PJLDB9KD433904   Chrysler      CHEROKEE             DALLAS                   TX
1697   1C4PJLDBXKD170239   Chrysler      CHEROKEE             MIAMI                    FL
1698   1C4PJLDBXKD170371   Chrysler      CHEROKEE             Cleveland                OH
1699   1C4PJLDBXKD170502   Chrysler      CHEROKEE             ROCHESTER                NY
1700   1C4PJLDBXKD170581   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1701   1C4PJLDBXKD183900   Chrysler      CHEROKEE             NEW ORLEANS              LA
1702   1C4PJLDBXKD184044   Chrysler      CHEROKEE             Dallas                   TX
1703   1C4PJLDBXKD300391   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1704   1C4PJLDBXKD300441   Chrysler      CHEROKEE             MIAMI                    FL
1705   1C4PJLDBXKD300455   Chrysler      CHEROKEE             MIAMI                    FL
1706   1C4PJLDBXKD300469   Chrysler      CHEROKEE             CHARLESTON               WV
1707   1C4PJLDBXKD300472   Chrysler      CHEROKEE             Atlanta                  GA
1708   1C4PJLDBXKD300486   Chrysler      CHEROKEE             SAN ANTONIO              TX
1709   1C4PJLDBXKD300522   Chrysler      CHEROKEE             HOUSTON                  TX
1710   1C4PJLDBXKD300682   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1711   1C4PJLDBXKD300715   Chrysler      CHEROKEE             SOUTH SAN FRANC          CA
1712   1C4PJLDBXKD302190   Chrysler      CHEROKEE             CHICAGO                  IL
1713   1C4PJLDBXKD302268   Chrysler      CHEROKEE             SAN FRANCISCO            CA
1714   1C4PJLDBXKD302321   Chrysler      CHEROKEE             MIAMI                    FL
1715   1C4PJLDBXKD302447   Chrysler      CHEROKEE             FORT MYERS               FL
1716   1C4PJLDBXKD302450   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
1717   1C4PJLDBXKD302481   Chrysler      CHEROKEE             Orlando                  FL
1718   1C4PJLDBXKD302545   Chrysler      CHEROKEE             Houston                  TX
1719   1C4PJLDBXKD302643   Chrysler      CHEROKEE             TUCSON                   AZ
1720   1C4PJLDBXKD415959   Chrysler      CHEROKEE             Irving                   TX
1721   1C4PJLDBXKD415962   Chrysler      CHEROKEE             TAMPA                    FL
1722   1C4PJLDBXKD416027   Chrysler      CHEROKEE             FORT MYERS               FL
1723   1C4PJLDBXKD416139   Chrysler      CHEROKEE             Tulsa                    OK
1724   1C4PJLDBXKD416156   Chrysler      CHEROKEE             DALLAS                   TX
1725   1C4PJLDBXKD427500   Chrysler      CHEROKEE             Atlanta                  GA
1726   1C4PJLDBXKD427531   Chrysler      CHEROKEE             Irving                   TX
1727   1C4PJLDBXKD427559   Chrysler      CHEROKEE             PHOENIX                  AZ
1728   1C4PJLDBXKD427562   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1729   1C4PJLDBXKD433720   Chrysler      CHEROKEE             NASHVILLE                TN
1730   1C4PJLDBXKD433815   Chrysler      CHEROKEE             Irving                   TX
1731   1C4PJLDBXKD433863   Chrysler      CHEROKEE             Euless                   TX
1732   1C4PJLDSXHW547469   Chrysler      CHEROKEE             Fort Lauderdale          FL
1733   1C4PJLLB0KD110357   Chrysler      CHEROKEE             LOUISVILLE               KY
1734   1C4PJMBX5KD298540   Chrysler      CHEROKEE             ORLANDO                  FL
1735   1C4PJMCB5GW278710   Chrysler      CHEROKEE             BOSTON                   MA
1736   1C4PJMCS6FW757927   Chrysler      CHEROKEE             GLEN BURNIE              MD
1737   1C4PJMCSXFW601356   Chrysler      CHEROKEE             BURIEN                   WA
1738   1C4PJMDB8GW335254   Chrysler      CHEROKEE             Dallas                   TX
1739   1C4PJMDN0KD178897   Chrysler      CHEROKEE             PHOENIX                  AZ
1740   1C4PJMDN0KD180617   Chrysler      CHEROKEE             OAKLAND                  CA
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1741   1C4PJMDN0KD180827   Chrysler      CHEROKEE             Houston                  TX
1742   1C4PJMDN0KD194291   Chrysler      CHEROKEE             NORFOLK                  VA
1743   1C4PJMDN0KD194307   Chrysler      CHEROKEE             PHILADELPHIA             PA
1744   1C4PJMDN1KD165768   Chrysler      CHEROKEE             Aurora                   CO
1745   1C4PJMDN1KD165785   Chrysler      CHEROKEE             KANSAS CITY              MO
1746   1C4PJMDN2KD179517   Chrysler      CHEROKEE             BURLINGTON               VT
1747   1C4PJMDN2KD179906   Chrysler      CHEROKEE             PENSACOLA                FL
1748   1C4PJMDN2KD179954   Chrysler      CHEROKEE             DAYTONA BEACH            FL
1749   1C4PJMDN3KD180630   Chrysler      CHEROKEE             SALT LAKE CITY           UT
1750   1C4PJMDN3KD180658   Chrysler      CHEROKEE             Newark                   NJ
1751   1C4PJMDN3KD180885   Chrysler      CHEROKEE             DENVER                   CO
1752   1C4PJMDN4KD180765   Chrysler      CHEROKEE             SEATAC                   WA
1753   1C4PJMDN5KD165322   Chrysler      CHEROKEE             NEWARK                   NJ
1754   1C4PJMDN5KD194299   Chrysler      CHEROKEE             ATLANTA                  GA
1755   1C4PJMDN7KD178766   Chrysler      CHEROKEE             BURBANK                  CA
1756   1C4PJMDN7KD179318   Chrysler      CHEROKEE             Aurora                   CO
1757   1C4PJMDN7KD180520   Chrysler      CHEROKEE             SALT LAKE CITY           US
1758   1C4PJMDN8KD179747   Chrysler      CHEROKEE             North Dighton            MA
1759   1C4PJMDN8KD179750   Chrysler      CHEROKEE             DETROIT                  MI
1760   1C4PJMDN8KD180140   Chrysler      CHEROKEE             FORT MYERS               FL
1761   1C4PJMDN9KD179546   Chrysler      CHEROKEE             Matteson                 IL
1762   1C4PJMDN9KD180521   Chrysler      CHEROKEE             Grove City               OH
1763   1C4PJMDNXKD179720   Chrysler      CHEROKEE             PHILADELPHIA             PA
1764   1C4PJMDNXKD179782   Chrysler      CHEROKEE             Houston                  TX
1765   1C4PJMDNXKD180382   Chrysler      CHEROKEE             JAMAICA                  NY
1766   1C4PJMDNXKD180740   Chrysler      CHEROKEE             Memphis                  TN
1767   1C4PJMDS1HW593911   Chrysler      CHEROKEE             LOS ANGELES              CA
1768   1C4PJMDS3FW777082   Chrysler      CHEROKEE             STERLING                 VA
1769   1C4PJMDS9FW705979   Chrysler      CHEROKEE             Los Angeles              CA
1770   1C4PJMDSXGW132026   Chrysler      CHEROKEE             Fredericksburg           VA
1771   1C4PJMDX0KD165620   Chrysler      CHEROKEE             Ocoee                    FL
1772   1C4PJMDX0KD166203   Chrysler      CHEROKEE             ORLANDO                  FL
1773   1C4PJMDX0KD166248   Chrysler      CHEROKEE             Denver                   CO
1774   1C4PJMDX0KD166363   Chrysler      CHEROKEE             Bensalem                 PA
1775   1C4PJMDX0KD197581   Chrysler      CHEROKEE             Plainfield               IN
1776   1C4PJMDX0KD197600   Chrysler      CHEROKEE             Bensalem                 PA
1777   1C4PJMDX0KD197659   Chrysler      CHEROKEE             BRONX                    NY
1778   1C4PJMDX0KD197709   Chrysler      CHEROKEE             ORLANDO                  FL
1779   1C4PJMDX0KD197970   Chrysler      CHEROKEE             Chicago                  IL
1780   1C4PJMDX0KD303477   Chrysler      CHEROKEE             N. Palm Beach            FL
1781   1C4PJMDX0KD303513   Chrysler      CHEROKEE             PHOENIX                  AZ
1782   1C4PJMDX0KD303527   Chrysler      CHEROKEE             OAKLAND                  CA
1783   1C4PJMDX0KD303575   Chrysler      CHEROKEE             TAMPA                    FL
1784   1C4PJMDX0KD303589   Chrysler      CHEROKEE             STERLING                 VA
1785   1C4PJMDX0KD303687   Chrysler      CHEROKEE             Milwaukee                WI
1786   1C4PJMDX0KD303690   Chrysler      CHEROKEE             Detroit                  MI
1787   1C4PJMDX0KD303706   Chrysler      CHEROKEE             Plainfield               IN
1788   1C4PJMDX0KD303723   Chrysler      CHEROKEE             COLLEGE PARK             GA
1789   1C4PJMDX0KD303754   Chrysler      CHEROKEE             DENVER                   CO
1790   1C4PJMDX0KD303799   Chrysler      CHEROKEE             CHICAGO                  US
1791   1C4PJMDX0KD303849   Chrysler      CHEROKEE             PHILADELPHIA             PA
1792   1C4PJMDX0KD303866   Chrysler      CHEROKEE             LAS VEGAS                NV
1793   1C4PJMDX0KD303897   Chrysler      CHEROKEE             Atlanta                  GA
1794   1C4PJMDX0KD303902   Chrysler      CHEROKEE             FORT MYERS               FL
1795   1C4PJMDX0KD303916   Chrysler      CHEROKEE             HOLLY HILL               FL
1796   1C4PJMDX0KD303964   Chrysler      CHEROKEE             Philadelphia             PA
1797   1C4PJMDX0KD303978   Chrysler      CHEROKEE             CANTON                   T
1798   1C4PJMDX0KD303981   Chrysler      CHEROKEE             PALM SPRINGS             CA
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1799   1C4PJMDX0KD303995   Chrysler      CHEROKEE             SACRAMENTO               CA
1800   1C4PJMDX0KD304029   Chrysler      CHEROKEE             ALBANY                   N
1801   1C4PJMDX0KD304032   Chrysler      CHEROKEE             PHOENIX                  AZ
1802   1C4PJMDX0KD304080   Chrysler      CHEROKEE             San Antonio              TX
1803   1C4PJMDX0KD304127   Chrysler      CHEROKEE             LOS ANGELES              CA
1804   1C4PJMDX0KD304130   Chrysler      CHEROKEE             GYPSUM                   CO
1805   1C4PJMDX0KD304144   Chrysler      CHEROKEE             SAN DIEGO                CA
1806   1C4PJMDX0KD304175   Chrysler      CHEROKEE             ONTARIO                  CA
1807   1C4PJMDX0KD304189   Chrysler      CHEROKEE             DENVER                   CO
1808   1C4PJMDX0KD304211   Chrysler      CHEROKEE             Denver                   CO
1809   1C4PJMDX0KD304225   Chrysler      CHEROKEE             EL PASO                  TX
1810   1C4PJMDX0KD304239   Chrysler      CHEROKEE             Phoenix                  AZ
1811   1C4PJMDX0KD304287   Chrysler      CHEROKEE             San Diego                CA
1812   1C4PJMDX0KD304306   Chrysler      CHEROKEE             LOS ANGELES AP           CA
1813   1C4PJMDX0KD304340   Chrysler      CHEROKEE             DENVER                   CO
1814   1C4PJMDX0KD304385   Chrysler      CHEROKEE             PHOENIX                  AZ
1815   1C4PJMDX0KD305519   Chrysler      CHEROKEE             LOS ANGELES              CA
1816   1C4PJMDX0KD305522   Chrysler      CHEROKEE             DENVER                   CO
1817   1C4PJMDX0KD408021   Chrysler      CHEROKEE             LOS ANGELES              CA
1818   1C4PJMDX0KD408049   Chrysler      CHEROKEE             LOS ANGELES              CA
1819   1C4PJMDX0KD408097   Chrysler      CHEROKEE             Roseville                CA
1820   1C4PJMDX0KD408102   Chrysler      CHEROKEE             OAKLAND                  CA
1821   1C4PJMDX0KD408150   Chrysler      CHEROKEE             SACRAMENTO               CA
1822   1C4PJMDX0KD412182   Chrysler      CHEROKEE             JACKSON                  MS
1823   1C4PJMDX0KD412263   Chrysler      CHEROKEE             SEATAC                   WA
1824   1C4PJMDX0KD412280   Chrysler      CHEROKEE             Albuquerque              NM
1825   1C4PJMDX0KD412358   Chrysler      CHEROKEE             KENNER                   LA
1826   1C4PJMDX0KD412392   Chrysler      CHEROKEE             DAYTONA BEACH            FL
1827   1C4PJMDX0KD412408   Chrysler      CHEROKEE             Atlanta                  GA
1828   1C4PJMDX0KD412490   Chrysler      CHEROKEE             ATLANTA                  GA
1829   1C4PJMDX0KD417026   Chrysler      CHEROKEE             SAVANNAH                 GA
1830   1C4PJMDX0KD423263   Chrysler      CHEROKEE             JACKSONVILLE             FL
1831   1C4PJMDX0KD423358   Chrysler      CHEROKEE             MEMPHIS                  TN
1832   1C4PJMDX0KD423568   Chrysler      CHEROKEE             Manheim                  PA
1833   1C4PJMDX0KD423599   Chrysler      CHEROKEE             Cincinnati               OH
1834   1C4PJMDX0KD423618   Chrysler      CHEROKEE             Winston‐Salem            NC
1835   1C4PJMDX0KD429743   Chrysler      CHEROKEE             LAS VEGAS                NV
1836   1C4PJMDX0KD429760   Chrysler      CHEROKEE             Chicago                  IL
1837   1C4PJMDX0KD439978   Chrysler      CHEROKEE             LOS ANGELES              CA
1838   1C4PJMDX0KD440113   Chrysler      CHEROKEE             PITTSBURGH               PA
1839   1C4PJMDX0KD444839   Chrysler      CHEROKEE             Jacksonville             FL
1840   1C4PJMDX1KD165383   Chrysler      CHEROKEE             Elkridge                 MD
1841   1C4PJMDX1KD166162   Chrysler      CHEROKEE             ORLANDO                  FL
1842   1C4PJMDX1KD166193   Chrysler      CHEROKEE             ALBANY                   NY
1843   1C4PJMDX1KD166355   Chrysler      CHEROKEE             WEST DUNDEE              IL
1844   1C4PJMDX1KD166369   Chrysler      CHEROKEE             North Dighton            MA
1845   1C4PJMDX1KD197668   Chrysler      CHEROKEE             Fredericksburg           VA
1846   1C4PJMDX1KD197797   Chrysler      CHEROKEE             ORLANDO                  FL
1847   1C4PJMDX1KD303424   Chrysler      CHEROKEE             Ventura                  CA
1848   1C4PJMDX1KD303441   Chrysler      CHEROKEE             Atlanta                  GA
1849   1C4PJMDX1KD303455   Chrysler      CHEROKEE             Union City               GA
1850   1C4PJMDX1KD303469   Chrysler      CHEROKEE             ORLANDO                  FL
1851   1C4PJMDX1KD303486   Chrysler      CHEROKEE             FORT MYERS               FL
1852   1C4PJMDX1KD303522   Chrysler      CHEROKEE             ORLANDO                  FL
1853   1C4PJMDX1KD303536   Chrysler      CHEROKEE             TAMPA                    FL
1854   1C4PJMDX1KD303567   Chrysler      CHEROKEE             Atlanta                  GA
1855   1C4PJMDX1KD303570   Chrysler      CHEROKEE             DETROIT                  MI
1856   1C4PJMDX1KD303584   Chrysler      CHEROKEE             CLEVELAND                OH
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1857   1C4PJMDX1KD303598   Chrysler      CHEROKEE             HANOVER                  MD
1858   1C4PJMDX1KD303620   Chrysler      CHEROKEE             Hartford                 CT
1859   1C4PJMDX1KD303651   Chrysler      CHEROKEE             CHARLESTON               WV
1860   1C4PJMDX1KD303665   Chrysler      CHEROKEE             CORAL SPRINGS            FL
1861   1C4PJMDX1KD303679   Chrysler      CHEROKEE             BLOOMINGTON              IL
1862   1C4PJMDX1KD303701   Chrysler      CHEROKEE             STERLING                 VA
1863   1C4PJMDX1KD303732   Chrysler      CHEROKEE             CHICAGO O'HARE AP        IL
1864   1C4PJMDX1KD303746   Chrysler      CHEROKEE             STERLING                 VA
1865   1C4PJMDX1KD303763   Chrysler      CHEROKEE             ATLANTA                  GA
1866   1C4PJMDX1KD303813   Chrysler      CHEROKEE             PHILADELPHIA             PA
1867   1C4PJMDX1KD303827   Chrysler      CHEROKEE             PHILADELPHIA             PA
1868   1C4PJMDX1KD303830   Chrysler      CHEROKEE             Greensboro               NC
1869   1C4PJMDX1KD303844   Chrysler      CHEROKEE             SOUTH BEND               IN
1870   1C4PJMDX1KD303858   Chrysler      CHEROKEE             Atlanta                  GA
1871   1C4PJMDX1KD303861   Chrysler      CHEROKEE             West Mifflin             PA
1872   1C4PJMDX1KD303892   Chrysler      CHEROKEE             PHILADELPHIA             PA
1873   1C4PJMDX1KD303908   Chrysler      CHEROKEE             ORLANDO                  FL
1874   1C4PJMDX1KD303939   Chrysler      CHEROKEE             RALEIGH                  NC
1875   1C4PJMDX1KD303942   Chrysler      CHEROKEE             Medford                  NY
1876   1C4PJMDX1KD303973   Chrysler      CHEROKEE             LOS ANGELES              CA
1877   1C4PJMDX1KD304024   Chrysler      CHEROKEE             JACKSON                  WY
1878   1C4PJMDX1KD304038   Chrysler      CHEROKEE             SALT LAKE CITY           US
1879   1C4PJMDX1KD304041   Chrysler      CHEROKEE             BEAUFORT                 SC
1880   1C4PJMDX1KD304055   Chrysler      CHEROKEE             DENVER                   CO
1881   1C4PJMDX1KD304122   Chrysler      CHEROKEE             San Antonio              TX
1882   1C4PJMDX1KD304153   Chrysler      CHEROKEE             BURBANK                  CA
1883   1C4PJMDX1KD304167   Chrysler      CHEROKEE             LOS ANGELES AP           CA
1884   1C4PJMDX1KD304170   Chrysler      CHEROKEE             LOS ANGELES              CA
1885   1C4PJMDX1KD304184   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
1886   1C4PJMDX1KD304198   Chrysler      CHEROKEE             SALT LAKE CITY           US
1887   1C4PJMDX1KD304203   Chrysler      CHEROKEE             SACRAMENTO               CA
1888   1C4PJMDX1KD304220   Chrysler      CHEROKEE             Atlanta                  GA
1889   1C4PJMDX1KD304234   Chrysler      CHEROKEE             STOCKTON                 CA
1890   1C4PJMDX1KD304265   Chrysler      CHEROKEE             LAS VEGAS                NV
1891   1C4PJMDX1KD304279   Chrysler      CHEROKEE             DENVER                   CO
1892   1C4PJMDX1KD304296   Chrysler      CHEROKEE             BURBANK                  CA
1893   1C4PJMDX1KD304315   Chrysler      CHEROKEE             SALT LAKE CITY           UT
1894   1C4PJMDX1KD304332   Chrysler      CHEROKEE             SAN FRANCISCO            CA
1895   1C4PJMDX1KD304346   Chrysler      CHEROKEE             HANOVER                  MD
1896   1C4PJMDX1KD304363   Chrysler      CHEROKEE             SAINT LOUIS              MO
1897   1C4PJMDX1KD304377   Chrysler      CHEROKEE             LOS ANGELES              CA
1898   1C4PJMDX1KD304380   Chrysler      CHEROKEE             PHOENIX                  AZ
1899   1C4PJMDX1KD305514   Chrysler      CHEROKEE             PHOENIX                  AZ
1900   1C4PJMDX1KD408030   Chrysler      CHEROKEE             LOS ANGELES              CA
1901   1C4PJMDX1KD408044   Chrysler      CHEROKEE             Roseville                CA
1902   1C4PJMDX1KD408058   Chrysler      CHEROKEE             Sacramento               CA
1903   1C4PJMDX1KD408075   Chrysler      CHEROKEE             PORTLAND                 OR
1904   1C4PJMDX1KD408190   Chrysler      CHEROKEE             LOS ANGELES              CA
1905   1C4PJMDX1KD408223   Chrysler      CHEROKEE             ATLANTA                  GA
1906   1C4PJMDX1KD412207   Chrysler      CHEROKEE             PALM SPRINGS             CA
1907   1C4PJMDX1KD412210   Chrysler      CHEROKEE             LOS ANGELES              CA
1908   1C4PJMDX1KD412224   Chrysler      CHEROKEE             Roseville                CA
1909   1C4PJMDX1KD412272   Chrysler      CHEROKEE             PORTLAND                 OR
1910   1C4PJMDX1KD412322   Chrysler      CHEROKEE             ROCHESTER                NY
1911   1C4PJMDX1KD412336   Chrysler      CHEROKEE             LAS VEGAS                NV
1912   1C4PJMDX1KD412353   Chrysler      CHEROKEE             SACRAMENTO               CA
1913   1C4PJMDX1KD412398   Chrysler      CHEROKEE             Atlanta                  GA
1914   1C4PJMDX1KD412434   Chrysler      CHEROKEE             DETROIT                  MI
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1915   1C4PJMDX1KD423241   Chrysler      CHEROKEE             CHICAGO                  IL
1916   1C4PJMDX1KD423269   Chrysler      CHEROKEE             Teterboro                NJ
1917   1C4PJMDX1KD423336   Chrysler      CHEROKEE             Milwaukee                WI
1918   1C4PJMDX1KD423434   Chrysler      CHEROKEE             HARRISBURG               PA
1919   1C4PJMDX1KD423563   Chrysler      CHEROKEE             Wilmington               NC
1920   1C4PJMDX1KD423577   Chrysler      CHEROKEE             GLASSBORO                NJ
1921   1C4PJMDX1KD429735   Chrysler      CHEROKEE             PORTLAND                 OR
1922   1C4PJMDX1KD429752   Chrysler      CHEROKEE             DENVER                   CO
1923   1C4PJMDX1KD435213   Chrysler      CHEROKEE             SAN DIEGO                US
1924   1C4PJMDX1KD435227   Chrysler      CHEROKEE             Louisville               KY
1925   1C4PJMDX1KD439956   Chrysler      CHEROKEE             APPLETON                 WI
1926   1C4PJMDX1KD439987   Chrysler      CHEROKEE             RENO                     NV
1927   1C4PJMDX1KD440024   Chrysler      CHEROKEE             LOS ANGELES              CA
1928   1C4PJMDX1KD440069   Chrysler      CHEROKEE             SAN JOSE                 CA
1929   1C4PJMDX1KD440072   Chrysler      CHEROKEE             Ventura                  CA
1930   1C4PJMDX1KD444753   Chrysler      CHEROKEE             Las Vegas                NV
1931   1C4PJMDX1KD444820   Chrysler      CHEROKEE             Smithtown                NY
1932   1C4PJMDX2KD165375   Chrysler      CHEROKEE             BOSTON                   MA
1933   1C4PJMDX2KD165490   Chrysler      CHEROKEE             RICHMOND                 VA
1934   1C4PJMDX2KD165697   Chrysler      CHEROKEE             Dallas                   TX
1935   1C4PJMDX2KD166171   Chrysler      CHEROKEE             STERLING                 VA
1936   1C4PJMDX2KD166316   Chrysler      CHEROKEE             North Dighton            MA
1937   1C4PJMDX2KD166350   Chrysler      CHEROKEE             Winston‐Salem            NC
1938   1C4PJMDX2KD166378   Chrysler      CHEROKEE             ALBANY                   N
1939   1C4PJMDX2KD197498   Chrysler      CHEROKEE             SACRAMENTO               CA
1940   1C4PJMDX2KD197694   Chrysler      CHEROKEE             DALLAS                   TX
1941   1C4PJMDX2KD210007   Chrysler      CHEROKEE             HOUSTON                  TX
1942   1C4PJMDX2KD303416   Chrysler      CHEROKEE             SAINT PAUL               MN
1943   1C4PJMDX2KD303433   Chrysler      CHEROKEE             FAYETTEVILLE             GA
1944   1C4PJMDX2KD303500   Chrysler      CHEROKEE             CHARLOTTE                NC
1945   1C4PJMDX2KD303528   Chrysler      CHEROKEE             NEW BERN                 NC
1946   1C4PJMDX2KD303531   Chrysler      CHEROKEE             BALTIMORE                MD
1947   1C4PJMDX2KD303559   Chrysler      CHEROKEE             NORFOLK                  VA
1948   1C4PJMDX2KD303562   Chrysler      CHEROKEE             PENSACOLA                FL
1949   1C4PJMDX2KD303576   Chrysler      CHEROKEE             SARASOTA                 FL
1950   1C4PJMDX2KD303593   Chrysler      CHEROKEE             Atlanta                  GA
1951   1C4PJMDX2KD303609   Chrysler      CHEROKEE             Clearwater               FL
1952   1C4PJMDX2KD303626   Chrysler      CHEROKEE             ATLANTA                  GA
1953   1C4PJMDX2KD303643   Chrysler      CHEROKEE             LAS VEGAS                NV
1954   1C4PJMDX2KD303657   Chrysler      CHEROKEE             GYPSUM                   CO
1955   1C4PJMDX2KD303688   Chrysler      CHEROKEE             TRACY                    CA
1956   1C4PJMDX2KD303691   Chrysler      CHEROKEE             Orlando                  FL
1957   1C4PJMDX2KD303710   Chrysler      CHEROKEE             ORLANDO                  FL
1958   1C4PJMDX2KD303741   Chrysler      CHEROKEE             ATLANTA                  GA
1959   1C4PJMDX2KD303819   Chrysler      CHEROKEE             DETROIT                  MI
1960   1C4PJMDX2KD303822   Chrysler      CHEROKEE             SEA TAC                  WA
1961   1C4PJMDX2KD303836   Chrysler      CHEROKEE             Manheim                  PA
1962   1C4PJMDX2KD303853   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1963   1C4PJMDX2KD303867   Chrysler      CHEROKEE             ORLANDO                  FL
1964   1C4PJMDX2KD303870   Chrysler      CHEROKEE             MIAMI                    FL
1965   1C4PJMDX2KD303917   Chrysler      CHEROKEE             Warminster               PA
1966   1C4PJMDX2KD303920   Chrysler      CHEROKEE             Atlanta                  GA
1967   1C4PJMDX2KD303934   Chrysler      CHEROKEE             Cicero                   NY
1968   1C4PJMDX2KD303948   Chrysler      CHEROKEE             SAN JOSE                 CA
1969   1C4PJMDX2KD303965   Chrysler      CHEROKEE             FAYETTEVILLE             GA
1970   1C4PJMDX2KD303979   Chrysler      CHEROKEE             SANTA CLARA              CA
1971   1C4PJMDX2KD303982   Chrysler      CHEROKEE             SAN JOSE                 CA
1972   1C4PJMDX2KD304002   Chrysler      CHEROKEE             Killeen                  TX
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1973   1C4PJMDX2KD304016   Chrysler      CHEROKEE             WEST PALM BEACH          FL
1974   1C4PJMDX2KD304033   Chrysler      CHEROKEE             DENVER                   CO
1975   1C4PJMDX2KD304047   Chrysler      CHEROKEE             PHOENIX                  AZ
1976   1C4PJMDX2KD304064   Chrysler      CHEROKEE             ALBUQUERQUE              NM
1977   1C4PJMDX2KD304095   Chrysler      CHEROKEE             PHOENIX                  AZ
1978   1C4PJMDX2KD304114   Chrysler      CHEROKEE             DENVER                   CO
1979   1C4PJMDX2KD304128   Chrysler      CHEROKEE             Atlanta                  GA
1980   1C4PJMDX2KD304131   Chrysler      CHEROKEE             HANOVER                  MD
1981   1C4PJMDX2KD304145   Chrysler      CHEROKEE             OAKLAND                  CA
1982   1C4PJMDX2KD304159   Chrysler      CHEROKEE             INGLEWOOD                CA
1983   1C4PJMDX2KD304162   Chrysler      CHEROKEE             CHARLOTTE                NC
1984   1C4PJMDX2KD304209   Chrysler      CHEROKEE             LAS VEGAS                NV
1985   1C4PJMDX2KD304212   Chrysler      CHEROKEE             PHOENIX                  AZ
1986   1C4PJMDX2KD304243   Chrysler      CHEROKEE             LOS ANGELES              CA
1987   1C4PJMDX2KD304274   Chrysler      CHEROKEE             SAN FRANCISCO            CA
1988   1C4PJMDX2KD304291   Chrysler      CHEROKEE             DENVER                   CO
1989   1C4PJMDX2KD304307   Chrysler      CHEROKEE             West Bountiful           UT
1990   1C4PJMDX2KD304310   Chrysler      CHEROKEE             LOUISVILLE               KY
1991   1C4PJMDX2KD304341   Chrysler      CHEROKEE             ORLANDO                  FL
1992   1C4PJMDX2KD304355   Chrysler      CHEROKEE             LOS ANGELES              CA
1993   1C4PJMDX2KD304369   Chrysler      CHEROKEE             PHOENIX                  AZ
1994   1C4PJMDX2KD304372   Chrysler      CHEROKEE             LOS ANGELES              CA
1995   1C4PJMDX2KD305523   Chrysler      CHEROKEE             PHOENIX                  AZ
1996   1C4PJMDX2KD408005   Chrysler      CHEROKEE             KNOXVILLE                TN
1997   1C4PJMDX2KD408036   Chrysler      CHEROKEE             LOS ANGELES              CA
1998   1C4PJMDX2KD408053   Chrysler      CHEROKEE             ONTARIO                  CA
1999   1C4PJMDX2KD408067   Chrysler      CHEROKEE             Sacramento               CA
2000   1C4PJMDX2KD408070   Chrysler      CHEROKEE             LOS ANGELES AP           CA
2001   1C4PJMDX2KD408148   Chrysler      CHEROKEE             PORTLAND                 OR
2002   1C4PJMDX2KD408179   Chrysler      CHEROKEE             PORTLAND                 OR
2003   1C4PJMDX2KD408196   Chrysler      CHEROKEE             CHICAGO                  IL
2004   1C4PJMDX2KD412202   Chrysler      CHEROKEE             PALM SPRINGS             CA
2005   1C4PJMDX2KD412250   Chrysler      CHEROKEE             SAN DIEGO                CA
2006   1C4PJMDX2KD412359   Chrysler      CHEROKEE             HANOVER                  MD
2007   1C4PJMDX2KD412426   Chrysler      CHEROKEE             SAN FRANCISCO            CA
2008   1C4PJMDX2KD423314   Chrysler      CHEROKEE             LOS ANGELES              CA
2009   1C4PJMDX2KD423362   Chrysler      CHEROKEE             HARTFORD                 CT
2010   1C4PJMDX2KD423538   Chrysler      CHEROKEE             CLARKSVILLE              IN
2011   1C4PJMDX2KD429761   Chrysler      CHEROKEE             BIRMINGHAM               AL
2012   1C4PJMDX2KD435205   Chrysler      CHEROKEE             SACRAMENTO               CA
2013   1C4PJMDX2KD440016   Chrysler      CHEROKEE             PALM SPRINGS             CA
2014   1C4PJMDX2KD440047   Chrysler      CHEROKEE             Austin                   TX
2015   1C4PJMDX2KD444695   Chrysler      CHEROKEE             LOS ANGELES              CA
2016   1C4PJMDX2KD444714   Chrysler      CHEROKEE             LOS ANGELES              CA
2017   1C4PJMDX2KD444759   Chrysler      CHEROKEE             CHICAGO                  IL
2018   1C4PJMDX2KD444776   Chrysler      CHEROKEE             Burien                   WA
2019   1C4PJMDX3KD165384   Chrysler      CHEROKEE             North Dighton            MA
2020   1C4PJMDX3KD165546   Chrysler      CHEROKEE             Woodhaven                MI
2021   1C4PJMDX3KD165658   Chrysler      CHEROKEE             Statesville              NC
2022   1C4PJMDX3KD166244   Chrysler      CHEROKEE             Bensalem                 PA
2023   1C4PJMDX3KD166339   Chrysler      CHEROKEE             Elkridge                 MD
2024   1C4PJMDX3KD166356   Chrysler      CHEROKEE             Manheim                  PA
2025   1C4PJMDX3KD197655   Chrysler      CHEROKEE             COLUMBUS                 OH
2026   1C4PJMDX3KD197736   Chrysler      CHEROKEE             WOODSON TERRACE          MO
2027   1C4PJMDX3KD197879   Chrysler      CHEROKEE             CHICAGO                  IL
2028   1C4PJMDX3KD209819   Chrysler      CHEROKEE             Smithtown                NY
2029   1C4PJMDX3KD303425   Chrysler      CHEROKEE             Slidell                  LA
2030   1C4PJMDX3KD303439   Chrysler      CHEROKEE             Atlanta                  GA
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2031   1C4PJMDX3KD303442   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
2032   1C4PJMDX3KD303487   Chrysler      CHEROKEE             Kansas City              MO
2033   1C4PJMDX3KD303490   Chrysler      CHEROKEE             COLLEGE PARK             GA
2034   1C4PJMDX3KD303506   Chrysler      CHEROKEE             TAMPA                    US
2035   1C4PJMDX3KD303540   Chrysler      CHEROKEE             WEST PALM BEACH          FL
2036   1C4PJMDX3KD303571   Chrysler      CHEROKEE             PITTSBURGH               PA
2037   1C4PJMDX3KD303599   Chrysler      CHEROKEE             TAMPA                    FL
2038   1C4PJMDX3KD303618   Chrysler      CHEROKEE             RICHMOND                 VA
2039   1C4PJMDX3KD303621   Chrysler      CHEROKEE             Hartford                 CT
2040   1C4PJMDX3KD303635   Chrysler      CHEROKEE             DANIA BEACH              FL
2041   1C4PJMDX3KD303649   Chrysler      CHEROKEE             Houston                  TX
2042   1C4PJMDX3KD303733   Chrysler      CHEROKEE             LOS ANGELES              CA
2043   1C4PJMDX3KD303747   Chrysler      CHEROKEE             Atlanta                  GA
2044   1C4PJMDX3KD303750   Chrysler      CHEROKEE             GRAND RAPIDS             MI
2045   1C4PJMDX3KD303764   Chrysler      CHEROKEE             RONKONKOMA               NY
2046   1C4PJMDX3KD303795   Chrysler      CHEROKEE             Detroit                  MI
2047   1C4PJMDX3KD303800   Chrysler      CHEROKEE             Detroit                  MI
2048   1C4PJMDX3KD303831   Chrysler      CHEROKEE             ORLANDO                  FL
2049   1C4PJMDX3KD303845   Chrysler      CHEROKEE             Statesville              NC
2050   1C4PJMDX3KD303859   Chrysler      CHEROKEE             MIAMI                    FL
2051   1C4PJMDX3KD303862   Chrysler      CHEROKEE             GREENVILLE               NC
2052   1C4PJMDX3KD303876   Chrysler      CHEROKEE             GAINESVILLE              FL
2053   1C4PJMDX3KD303909   Chrysler      CHEROKEE             TAMPA                    FL
2054   1C4PJMDX3KD303912   Chrysler      CHEROKEE             SEATAC                   WA
2055   1C4PJMDX3KD303926   Chrysler      CHEROKEE             PHILADELPHIA             PA
2056   1C4PJMDX3KD303957   Chrysler      CHEROKEE             Miami                    FL
2057   1C4PJMDX3KD303974   Chrysler      CHEROKEE             Los Angeles              CA
2058   1C4PJMDX3KD303988   Chrysler      CHEROKEE             SALT LAKE CITY           UT
2059   1C4PJMDX3KD303991   Chrysler      CHEROKEE             PHOENIX                  AZ
2060   1C4PJMDX3KD304008   Chrysler      CHEROKEE             TAMPA                    FL
2061   1C4PJMDX3KD304042   Chrysler      CHEROKEE             DENVER                   CO
2062   1C4PJMDX3KD304073   Chrysler      CHEROKEE             LOS ANGELES              CA
2063   1C4PJMDX3KD304087   Chrysler      CHEROKEE             PHOENIX                  AZ
2064   1C4PJMDX3KD304106   Chrysler      CHEROKEE             PHOENIX                  AZ
2065   1C4PJMDX3KD304137   Chrysler      CHEROKEE             PALM SPRINGS             CA
2066   1C4PJMDX3KD304140   Chrysler      CHEROKEE             ONTARIO                  CA
2067   1C4PJMDX3KD304154   Chrysler      CHEROKEE             LOS ANGELES              CA
2068   1C4PJMDX3KD304171   Chrysler      CHEROKEE             Hayward                  CA
2069   1C4PJMDX3KD304185   Chrysler      CHEROKEE             Phoenix                  AZ
2070   1C4PJMDX3KD304204   Chrysler      CHEROKEE             ONTARIO                  CA
2071   1C4PJMDX3KD304218   Chrysler      CHEROKEE             SAN DIEGO                CA
2072   1C4PJMDX3KD304221   Chrysler      CHEROKEE             CLEVELAND                OH
2073   1C4PJMDX3KD304249   Chrysler      CHEROKEE             TRACY                    CA
2074   1C4PJMDX3KD304252   Chrysler      CHEROKEE             PHOENIX                  AZ
2075   1C4PJMDX3KD304266   Chrysler      CHEROKEE             WEST PALM BEACH          FL
2076   1C4PJMDX3KD304283   Chrysler      CHEROKEE             PHOENIX                  AZ
2077   1C4PJMDX3KD304297   Chrysler      CHEROKEE             SAN JOSE                 CA
2078   1C4PJMDX3KD304302   Chrysler      CHEROKEE             Riverside                CA
2079   1C4PJMDX3KD304316   Chrysler      CHEROKEE             LOS ANGELES              CA
2080   1C4PJMDX3KD304333   Chrysler      CHEROKEE             BOISE                    ID
2081   1C4PJMDX3KD304347   Chrysler      CHEROKEE             PALM SPRINGS             CA
2082   1C4PJMDX3KD304350   Chrysler      CHEROKEE             KENNER                   LA
2083   1C4PJMDX3KD304364   Chrysler      CHEROKEE             SAN DIEGO                CA
2084   1C4PJMDX3KD304378   Chrysler      CHEROKEE             Rio Linda                CA
2085   1C4PJMDX3KD304381   Chrysler      CHEROKEE             PHILADELPHIA             PA
2086   1C4PJMDX3KD408014   Chrysler      CHEROKEE             Tustin                   CA
2087   1C4PJMDX3KD408028   Chrysler      CHEROKEE             FORT MYERS               FL
2088   1C4PJMDX3KD408045   Chrysler      CHEROKEE             LOS ANGELES              CA
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2089   1C4PJMDX3KD408093   Chrysler      CHEROKEE             MONTEREY                 CA
2090   1C4PJMDX3KD408112   Chrysler      CHEROKEE             Burien                   WA
2091   1C4PJMDX3KD408207   Chrysler      CHEROKEE             CHARLOTTE                NC
2092   1C4PJMDX3KD408210   Chrysler      CHEROKEE             NEW BERN                 NC
2093   1C4PJMDX3KD412189   Chrysler      CHEROKEE             BURBANK                  CA
2094   1C4PJMDX3KD412225   Chrysler      CHEROKEE             Pasadena                 CA
2095   1C4PJMDX3KD412287   Chrysler      CHEROKEE             DETROIT                  MI
2096   1C4PJMDX3KD412421   Chrysler      CHEROKEE             Manheim                  PA
2097   1C4PJMDX3KD412435   Chrysler      CHEROKEE             Elkridge                 MD
2098   1C4PJMDX3KD412452   Chrysler      CHEROKEE             ATLANTA                  GA
2099   1C4PJMDX3KD423287   Chrysler      CHEROKEE             Bensalem                 PA
2100   1C4PJMDX3KD423290   Chrysler      CHEROKEE             Hartford                 CT
2101   1C4PJMDX3KD423306   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
2102   1C4PJMDX3KD423337   Chrysler      CHEROKEE             MEDINA                   OH
2103   1C4PJMDX3KD423502   Chrysler      CHEROKEE             MILWAUKEE                WI
2104   1C4PJMDX3KD423595   Chrysler      CHEROKEE             JACKSON                  MS
2105   1C4PJMDX3KD423600   Chrysler      CHEROKEE             KNOXVILLE                TN
2106   1C4PJMDX3KD429767   Chrysler      CHEROKEE             WARWICK                  RI
2107   1C4PJMDX3KD435228   Chrysler      CHEROKEE             Stockton                 CA
2108   1C4PJMDX3KD439960   Chrysler      CHEROKEE             SALT LAKE CITY           UT
2109   1C4PJMDX3KD440039   Chrysler      CHEROKEE             LOS ANGELES              CA
2110   1C4PJMDX3KD440042   Chrysler      CHEROKEE             Chicago                  IL
2111   1C4PJMDX3KD440123   Chrysler      CHEROKEE             Bensalem                 PA
2112   1C4PJMDX3KD444740   Chrysler      CHEROKEE             PALM SPRINGS             CA
2113   1C4PJMDX3KD444754   Chrysler      CHEROKEE             BURBANK                  CA
2114   1C4PJMDX3KD444849   Chrysler      CHEROKEE             Florissant               MO
2115   1C4PJMDX4KD165524   Chrysler      CHEROKEE             Atlanta                  GA
2116   1C4PJMDX4KD165569   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
2117   1C4PJMDX4KD165703   Chrysler      CHEROKEE             Chicago                  IL
2118   1C4PJMDX4KD166141   Chrysler      CHEROKEE             Manheim                  PA
2119   1C4PJMDX4KD166155   Chrysler      CHEROKEE             SAN JOSE                 CA
2120   1C4PJMDX4KD166270   Chrysler      CHEROKEE             FORT MYERS               FL
2121   1C4PJMDX4KD197616   Chrysler      CHEROKEE             Winston‐Salem            NC
2122   1C4PJMDX4KD197678   Chrysler      CHEROKEE             Smithtown                NY
2123   1C4PJMDX4KD197728   Chrysler      CHEROKEE             Warminster               PA
2124   1C4PJMDX4KD197888   Chrysler      CHEROKEE             PHILADELPHIA             PA
2125   1C4PJMDX4KD303417   Chrysler      CHEROKEE             Atlanta                  GA
2126   1C4PJMDX4KD303434   Chrysler      CHEROKEE             RALIEGH                  NC
2127   1C4PJMDX4KD303448   Chrysler      CHEROKEE             ATLANTA                  GA
2128   1C4PJMDX4KD303465   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
2129   1C4PJMDX4KD303496   Chrysler      CHEROKEE             DAYTONA BEACH            FL
2130   1C4PJMDX4KD303515   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
2131   1C4PJMDX4KD303529   Chrysler      CHEROKEE             Manheim                  PA
2132   1C4PJMDX4KD303580   Chrysler      CHEROKEE             Clarksville              IN
2133   1C4PJMDX4KD303594   Chrysler      CHEROKEE             LOUISVILLE               KY
2134   1C4PJMDX4KD303658   Chrysler      CHEROKEE             CHICAGO                  IL
2135   1C4PJMDX4KD303661   Chrysler      CHEROKEE             Warr Acres               OK
2136   1C4PJMDX4KD303708   Chrysler      CHEROKEE             ST Paul                  MN
2137   1C4PJMDX4KD303742   Chrysler      CHEROKEE             DES PLAINES              US
2138   1C4PJMDX4KD303787   Chrysler      CHEROKEE             GREENVILLE               NC
2139   1C4PJMDX4KD303823   Chrysler      CHEROKEE             PHILADELPHIA             PA
2140   1C4PJMDX4KD303837   Chrysler      CHEROKEE             CLEARWATER               FL
2141   1C4PJMDX4KD303885   Chrysler      CHEROKEE             TAMPA                    FL
2142   1C4PJMDX4KD303904   Chrysler      CHEROKEE             GRAND RAPIDS             MI
2143   1C4PJMDX4KD303935   Chrysler      CHEROKEE             NORFOLK                  VA
2144   1C4PJMDX4KD303952   Chrysler      CHEROKEE             MIAMI                    FL
2145   1C4PJMDX4KD303997   Chrysler      CHEROKEE             SAN DIEGO                CA
2146   1C4PJMDX4KD304003   Chrysler      CHEROKEE             Ventura                  CA
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2147   1C4PJMDX4KD304017   Chrysler      CHEROKEE             DENVER                   CO
2148   1C4PJMDX4KD304065   Chrysler      CHEROKEE             COLUMBUS                 OH
2149   1C4PJMDX4KD304115   Chrysler      CHEROKEE             TUCSON                   AZ
2150   1C4PJMDX4KD304132   Chrysler      CHEROKEE             TUCSON                   AZ
2151   1C4PJMDX4KD304180   Chrysler      CHEROKEE             KENNER                   LA
2152   1C4PJMDX4KD304194   Chrysler      CHEROKEE             albuquerque              nm
2153   1C4PJMDX4KD304213   Chrysler      CHEROKEE             SAN FRANCISCO            CA
2154   1C4PJMDX4KD304230   Chrysler      CHEROKEE             LOS ANGELES              CA
2155   1C4PJMDX4KD304258   Chrysler      CHEROKEE             LAS VEGAS                NV
2156   1C4PJMDX4KD304261   Chrysler      CHEROKEE             albuquerque              nm
2157   1C4PJMDX4KD304275   Chrysler      CHEROKEE             SANTA ANA                CA
2158   1C4PJMDX4KD304289   Chrysler      CHEROKEE             LAS VEGAS                NV
2159   1C4PJMDX4KD304292   Chrysler      CHEROKEE             PALM SPRINGS             CA
2160   1C4PJMDX4KD304308   Chrysler      CHEROKEE             BURBANK                  CA
2161   1C4PJMDX4KD304339   Chrysler      CHEROKEE             LAS VEGAS                NV
2162   1C4PJMDX4KD305524   Chrysler      CHEROKEE             SANTA ANA                CA
2163   1C4PJMDX4KD408037   Chrysler      CHEROKEE             Los Angeles              CA
2164   1C4PJMDX4KD408040   Chrysler      CHEROKEE             LOS ANGELES              CA
2165   1C4PJMDX4KD408071   Chrysler      CHEROKEE             DENVER                   CO
2166   1C4PJMDX4KD408085   Chrysler      CHEROKEE             Hebron                   KY
2167   1C4PJMDX4KD408104   Chrysler      CHEROKEE             LOS ANGELES              CA
2168   1C4PJMDX4KD408118   Chrysler      CHEROKEE             LAS VEGAS                NV
2169   1C4PJMDX4KD408216   Chrysler      CHEROKEE             DETROIT                  MI
2170   1C4PJMDX4KD412198   Chrysler      CHEROKEE             Riverside                CA
2171   1C4PJMDX4KD412203   Chrysler      CHEROKEE             PHOENIX                  AZ
2172   1C4PJMDX4KD412248   Chrysler      CHEROKEE             LOS ANGELES              CA
2173   1C4PJMDX4KD412279   Chrysler      CHEROKEE             ONTARIO, RIVERSIDE       CA
2174   1C4PJMDX4KD412413   Chrysler      CHEROKEE             NEW YORK CITY            NY
2175   1C4PJMDX4KD412430   Chrysler      CHEROKEE             Manheim                  PA
2176   1C4PJMDX4KD412475   Chrysler      CHEROKEE             Norfolk                  VA
2177   1C4PJMDX4KD417028   Chrysler      CHEROKEE             ORLANDO                  FL
2178   1C4PJMDX4KD423234   Chrysler      CHEROKEE             COLLEGE PARK             GA
2179   1C4PJMDX4KD423296   Chrysler      CHEROKEE             CHICAGO                  IL
2180   1C4PJMDX4KD423346   Chrysler      CHEROKEE             ONTARIO                  CA
2181   1C4PJMDX4KD423380   Chrysler      CHEROKEE             LOUISVILLE               KY
2182   1C4PJMDX4KD423394   Chrysler      CHEROKEE             Baltimore                MD
2183   1C4PJMDX4KD423475   Chrysler      CHEROKEE             ALBUQERQUE               NM
2184   1C4PJMDX4KD423556   Chrysler      CHEROKEE             NASHVILLE                TN
2185   1C4PJMDX4KD429759   Chrysler      CHEROKEE             Hebron                   KY
2186   1C4PJMDX4KD440096   Chrysler      CHEROKEE             KENNER                   LA
2187   1C4PJMDX4KD440101   Chrysler      CHEROKEE             North Dighton            MA
2188   1C4PJMDX4KD444732   Chrysler      CHEROKEE             SEATAC                   WA
2189   1C4PJMDX5KD165371   Chrysler      CHEROKEE             ST PAUL                  MN
2190   1C4PJMDX5KD165435   Chrysler      CHEROKEE             Norwalk                  CA
2191   1C4PJMDX5KD165497   Chrysler      CHEROKEE             Hattiesburg              MS
2192   1C4PJMDX5KD165595   Chrysler      CHEROKEE             SAN DIEGO                CA
2193   1C4PJMDX5KD166164   Chrysler      CHEROKEE             Elkridge                 MD
2194   1C4PJMDX5KD166195   Chrysler      CHEROKEE             Rockville Centr          NY
2195   1C4PJMDX5KD166262   Chrysler      CHEROKEE             Las Vegas                NV
2196   1C4PJMDX5KD166326   Chrysler      CHEROKEE             FORT MYERS               FL
2197   1C4PJMDX5KD166374   Chrysler      CHEROKEE             BOSTON, LOGAN AP         MA
2198   1C4PJMDX5KD197592   Chrysler      CHEROKEE             STERLING                 VA
2199   1C4PJMDX5KD197611   Chrysler      CHEROKEE             Davie                    FL
2200   1C4PJMDX5KD197818   Chrysler      CHEROKEE             RONKONKOMA               NY
2201   1C4PJMDX5KD197821   Chrysler      CHEROKEE             DAYTONA BEACH            FL
2202   1C4PJMDX5KD197902   Chrysler      CHEROKEE             ORLANDO                  FL
2203   1C4PJMDX5KD197950   Chrysler      CHEROKEE             Anaheim                  CA
2204   1C4PJMDX5KD209837   Chrysler      CHEROKEE             BUFFALO                  NY
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2205   1C4PJMDX5KD303412   Chrysler      CHEROKEE             SAN ANTONIO              TX
2206   1C4PJMDX5KD303426   Chrysler      CHEROKEE             TAMPA                    FL
2207   1C4PJMDX5KD303457   Chrysler      CHEROKEE             Jacksonville             FL
2208   1C4PJMDX5KD303460   Chrysler      CHEROKEE             WEST PALM BEACH          FL
2209   1C4PJMDX5KD303488   Chrysler      CHEROKEE             LOS ANGELES              CA
2210   1C4PJMDX5KD303507   Chrysler      CHEROKEE             TALLAHASSEE              FL
2211   1C4PJMDX5KD303510   Chrysler      CHEROKEE             WEST COLUMBIA            SC
2212   1C4PJMDX5KD303524   Chrysler      CHEROKEE             SARASOTA                 FL
2213   1C4PJMDX5KD303538   Chrysler      CHEROKEE             FORT MYERS               FL
2214   1C4PJMDX5KD303555   Chrysler      CHEROKEE             Coraopolis               PA
2215   1C4PJMDX5KD303586   Chrysler      CHEROKEE             MIAMI                    FL
2216   1C4PJMDX5KD303653   Chrysler      CHEROKEE             SALT LAKE CITY           US
2217   1C4PJMDX5KD303667   Chrysler      CHEROKEE             WOODSON TERRACE          MO
2218   1C4PJMDX5KD303670   Chrysler      CHEROKEE             Florissant               MO
2219   1C4PJMDX5KD303684   Chrysler      CHEROKEE             DALLAS                   TX
2220   1C4PJMDX5KD303703   Chrysler      CHEROKEE             CASTLE ROCK              CO
2221   1C4PJMDX5KD303720   Chrysler      CHEROKEE             LOS ANGELES              CA
2222   1C4PJMDX5KD303748   Chrysler      CHEROKEE             HANOVER                  MD
2223   1C4PJMDX5KD303751   Chrysler      CHEROKEE             PHILADELPHIA             PA
2224   1C4PJMDX5KD303765   Chrysler      CHEROKEE             Miami                    FL
2225   1C4PJMDX5KD303779   Chrysler      CHEROKEE             CHICAGO                  IL
2226   1C4PJMDX5KD303782   Chrysler      CHEROKEE             ORLANDO                  FL
2227   1C4PJMDX5KD303796   Chrysler      CHEROKEE             ORLANDO                  FL
2228   1C4PJMDX5KD303801   Chrysler      CHEROKEE             RICHMOND                 VA
2229   1C4PJMDX5KD303815   Chrysler      CHEROKEE             ORLANDO                  FL
2230   1C4PJMDX5KD303877   Chrysler      CHEROKEE             OKLAHOMA CITY            OK
2231   1C4PJMDX5KD303880   Chrysler      CHEROKEE             WEST PALM BEACH          FL
2232   1C4PJMDX5KD303930   Chrysler      CHEROKEE             BOISE                    US
2233   1C4PJMDX5KD303944   Chrysler      CHEROKEE             Elkridge                 MD
2234   1C4PJMDX5KD303961   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
2235   1C4PJMDX5KD303975   Chrysler      CHEROKEE             RICHMOND                 VA
2236   1C4PJMDX5KD304009   Chrysler      CHEROKEE             DENVER                   CO
2237   1C4PJMDX5KD304012   Chrysler      CHEROKEE             SANTA ANA                CA
2238   1C4PJMDX5KD304088   Chrysler      CHEROKEE             DENVER                   CO
2239   1C4PJMDX5KD304110   Chrysler      CHEROKEE             PHOENIX                  AZ
2240   1C4PJMDX5KD304124   Chrysler      CHEROKEE             Houston                  TX
2241   1C4PJMDX5KD304141   Chrysler      CHEROKEE             DALLAS                   TX
2242   1C4PJMDX5KD304155   Chrysler      CHEROKEE             KNOXVILLE                TN
2243   1C4PJMDX5KD304169   Chrysler      CHEROKEE             BOISE                    US
2244   1C4PJMDX5KD304172   Chrysler      CHEROKEE             TUCSON                   AZ
2245   1C4PJMDX5KD304205   Chrysler      CHEROKEE             SALT LAKE CITY           UT
2246   1C4PJMDX5KD304219   Chrysler      CHEROKEE             LOS ANGELES              CA
2247   1C4PJMDX5KD304222   Chrysler      CHEROKEE             WEST PALM BEACH          FL
2248   1C4PJMDX5KD304253   Chrysler      CHEROKEE             MIAMI                    FL
2249   1C4PJMDX5KD304270   Chrysler      CHEROKEE             RENO                     NV
2250   1C4PJMDX5KD304298   Chrysler      CHEROKEE             PHOENIX                  AZ
2251   1C4PJMDX5KD304320   Chrysler      CHEROKEE             LOS ANGELES              CA
2252   1C4PJMDX5KD304334   Chrysler      CHEROKEE             DENVER                   CO
2253   1C4PJMDX5KD304348   Chrysler      CHEROKEE             COSTA MESA               CA
2254   1C4PJMDX5KD304351   Chrysler      CHEROKEE             San Antonio              TX
2255   1C4PJMDX5KD304365   Chrysler      CHEROKEE             PHOENIX                  AZ
2256   1C4PJMDX5KD304379   Chrysler      CHEROKEE             DENVER                   CO
2257   1C4PJMDX5KD304382   Chrysler      CHEROKEE             ONTARIO, RIVERSIDE       CA
2258   1C4PJMDX5KD305516   Chrysler      CHEROKEE             Longmont                 CO
2259   1C4PJMDX5KD318962   Chrysler      CHEROKEE             RICHMOND                 VA
2260   1C4PJMDX5KD408015   Chrysler      CHEROKEE             ORANGE COUNTY            CA
2261   1C4PJMDX5KD408029   Chrysler      CHEROKEE             PHOENIX                  AZ
2262   1C4PJMDX5KD408094   Chrysler      CHEROKEE             Burien                   WA
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2263   1C4PJMDX5KD408113   Chrysler      CHEROKEE             LAS VEGAS                NV
2264   1C4PJMDX5KD408127   Chrysler      CHEROKEE             KNOXVILLE                TN
2265   1C4PJMDX5KD408189   Chrysler      CHEROKEE             Stockton                 CA
2266   1C4PJMDX5KD408192   Chrysler      CHEROKEE             LOS ANGELES              CA
2267   1C4PJMDX5KD412193   Chrysler      CHEROKEE             Ventura                  CA
2268   1C4PJMDX5KD412243   Chrysler      CHEROKEE             SEATAC                   WA
2269   1C4PJMDX5KD412291   Chrysler      CHEROKEE             ALBANY                   GA
2270   1C4PJMDX5KD423307   Chrysler      CHEROKEE             DETROIT                  MI
2271   1C4PJMDX5KD423372   Chrysler      CHEROKEE             DETROIT                  MI
2272   1C4PJMDX5KD423422   Chrysler      CHEROKEE             Warminster               PA
2273   1C4PJMDX5KD423453   Chrysler      CHEROKEE             JACKSONVILLE             FL
2274   1C4PJMDX5KD423470   Chrysler      CHEROKEE             Salt Lake City           UT
2275   1C4PJMDX5KD423517   Chrysler      CHEROKEE             ORLANDO                  FL
2276   1C4PJMDX5KD429740   Chrysler      CHEROKEE             PORTLAND                 OR
2277   1C4PJMDX5KD439961   Chrysler      CHEROKEE             FRESNO                   CA
2278   1C4PJMDX5KD439975   Chrysler      CHEROKEE             LOS ANGELES              CA
2279   1C4PJMDX5KD440012   Chrysler      CHEROKEE             SEATAC                   WA
2280   1C4PJMDX5KD440026   Chrysler      CHEROKEE             LOS ANGELES              CA
2281   1C4PJMDX5KD444707   Chrysler      CHEROKEE             Sacramento               CA
2282   1C4PJMDX5KD444755   Chrysler      CHEROKEE             Salt Lake City           UT
2283   1C4PJMDX6KD165508   Chrysler      CHEROKEE             CHARLESTON               WV
2284   1C4PJMDX6KD165511   Chrysler      CHEROKEE             FORT MYERS               FL
2285   1C4PJMDX6KD165590   Chrysler      CHEROKEE             FAYETTEVILLE             GA
2286   1C4PJMDX6KD166142   Chrysler      CHEROKEE             TAMPA                    FL
2287   1C4PJMDX6KD166173   Chrysler      CHEROKEE             Statesville              NC
2288   1C4PJMDX6KD166271   Chrysler      CHEROKEE             STERLING                 VA
2289   1C4PJMDX6KD166299   Chrysler      CHEROKEE             North Dighton            MA
2290   1C4PJMDX6KD197617   Chrysler      CHEROKEE             SACRAMENTO               CA
2291   1C4PJMDX6KD197696   Chrysler      CHEROKEE             Smithtown                NY
2292   1C4PJMDX6KD197701   Chrysler      CHEROKEE             Greensboro               NC
2293   1C4PJMDX6KD197827   Chrysler      CHEROKEE             BURNSVILLE               MN
2294   1C4PJMDX6KD303404   Chrysler      CHEROKEE             BIRMINGHAM               AL
2295   1C4PJMDX6KD303452   Chrysler      CHEROKEE             ORLANDO                  FL
2296   1C4PJMDX6KD303483   Chrysler      CHEROKEE             ORLANDO                  FL
2297   1C4PJMDX6KD303502   Chrysler      CHEROKEE             TAMPA                    FL
2298   1C4PJMDX6KD303533   Chrysler      CHEROKEE             Chicago                  IL
2299   1C4PJMDX6KD303550   Chrysler      CHEROKEE             TAMPA                    FL
2300   1C4PJMDX6KD303595   Chrysler      CHEROKEE             Pensacola                FL
2301   1C4PJMDX6KD303600   Chrysler      CHEROKEE             KANSAS CITY              MO
2302   1C4PJMDX6KD303614   Chrysler      CHEROKEE             INDIANAPOLIS             IN
2303   1C4PJMDX6KD303628   Chrysler      CHEROKEE             SAN DIEGO                CA
2304   1C4PJMDX6KD303659   Chrysler      CHEROKEE             KANSAS CITY              MO
2305   1C4PJMDX6KD303662   Chrysler      CHEROKEE             Reno                     NV
2306   1C4PJMDX6KD303676   Chrysler      CHEROKEE             DENVER                   CO
2307   1C4PJMDX6KD303693   Chrysler      CHEROKEE             Atlanta                  GA
2308   1C4PJMDX6KD303709   Chrysler      CHEROKEE             PHILADELPHIA             US
2309   1C4PJMDX6KD303757   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
2310   1C4PJMDX6KD303760   Chrysler      CHEROKEE             KNOXVILLE                TN
2311   1C4PJMDX6KD303774   Chrysler      CHEROKEE             BOSTON                   MA
2312   1C4PJMDX6KD303791   Chrysler      CHEROKEE             CHARLESTON               WV
2313   1C4PJMDX6KD303810   Chrysler      CHEROKEE             NEW BERN                 NC
2314   1C4PJMDX6KD303838   Chrysler      CHEROKEE             Hebron                   KY
2315   1C4PJMDX6KD303841   Chrysler      CHEROKEE             Fontana                  CA
2316   1C4PJMDX6KD303869   Chrysler      CHEROKEE             RALEIGH                  NC
2317   1C4PJMDX6KD303872   Chrysler      CHEROKEE             Atlanta                  GA
2318   1C4PJMDX6KD303886   Chrysler      CHEROKEE             Warr Acres               OK
2319   1C4PJMDX6KD303922   Chrysler      CHEROKEE             STERLING                 VA
2320   1C4PJMDX6KD303936   Chrysler      CHEROKEE             ORLANDO                  FL
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2321   1C4PJMDX6KD303953   Chrysler      CHEROKEE             BIRMINGHAM               AL
2322   1C4PJMDX6KD303967   Chrysler      CHEROKEE             STERLING                 VA
2323   1C4PJMDX6KD303970   Chrysler      CHEROKEE             DENVER                   CO
2324   1C4PJMDX6KD303984   Chrysler      CHEROKEE             SAN FRANCISCO            CA
2325   1C4PJMDX6KD303998   Chrysler      CHEROKEE             DENVER                   CO
2326   1C4PJMDX6KD304018   Chrysler      CHEROKEE             ALBUQERQUE               NM
2327   1C4PJMDX6KD304021   Chrysler      CHEROKEE             Austin                   TX
2328   1C4PJMDX6KD304066   Chrysler      CHEROKEE             SACRAMENTO               CA
2329   1C4PJMDX6KD304102   Chrysler      CHEROKEE             MEDINA                   OH
2330   1C4PJMDX6KD304116   Chrysler      CHEROKEE             PALM SPRINGS             CA
2331   1C4PJMDX6KD304133   Chrysler      CHEROKEE             WEST PALM BEACH          FL
2332   1C4PJMDX6KD304181   Chrysler      CHEROKEE             SACRAMENTO               CA
2333   1C4PJMDX6KD304200   Chrysler      CHEROKEE             Phoenix                  AZ
2334   1C4PJMDX6KD304214   Chrysler      CHEROKEE             LOS ANGELES              CA
2335   1C4PJMDX6KD304228   Chrysler      CHEROKEE             Portland                 OR
2336   1C4PJMDX6KD304245   Chrysler      CHEROKEE             SANTA ANA                CA
2337   1C4PJMDX6KD304293   Chrysler      CHEROKEE             LOS ANGELES              CA
2338   1C4PJMDX6KD304309   Chrysler      CHEROKEE             TUCSON                   AZ
2339   1C4PJMDX6KD304326   Chrysler      CHEROKEE             PHOENIX                  AZ
2340   1C4PJMDX6KD304343   Chrysler      CHEROKEE             LAS VEGAS                NV
2341   1C4PJMDX6KD304357   Chrysler      CHEROKEE             LAS VEGAS                NV
2342   1C4PJMDX6KD304360   Chrysler      CHEROKEE             Tolleson                 AZ
2343   1C4PJMDX6KD304374   Chrysler      CHEROKEE             LOS ANGELES              CA
2344   1C4PJMDX6KD305525   Chrysler      CHEROKEE             PHOENIX                  AZ
2345   1C4PJMDX6KD408024   Chrysler      CHEROKEE             BURBANK                  CA
2346   1C4PJMDX6KD408055   Chrysler      CHEROKEE             SAN DIEGO                CA
2347   1C4PJMDX6KD408122   Chrysler      CHEROKEE             INGLEWOOD                CA
2348   1C4PJMDX6KD408198   Chrysler      CHEROKEE             SOUTH SAN FRANC          CA
2349   1C4PJMDX6KD412185   Chrysler      CHEROKEE             San Diego                CA
2350   1C4PJMDX6KD412400   Chrysler      CHEROKEE             CORPUS CHRISTI           TX
2351   1C4PJMDX6KD417015   Chrysler      CHEROKEE             NEW YORK CITY            NY
2352   1C4PJMDX6KD423235   Chrysler      CHEROKEE             BALTIMORE                MD
2353   1C4PJMDX6KD423364   Chrysler      CHEROKEE             LAS VEGAS                NV
2354   1C4PJMDX6KD423381   Chrysler      CHEROKEE             Atlanta                  GA
2355   1C4PJMDX6KD423400   Chrysler      CHEROKEE             Hamilton                 OH
2356   1C4PJMDX6KD423414   Chrysler      CHEROKEE             LEXINGTON                KY
2357   1C4PJMDX6KD423493   Chrysler      CHEROKEE             BOISE                    US
2358   1C4PJMDX6KD423588   Chrysler      CHEROKEE             Greensboro               NC
2359   1C4PJMDX6KD429729   Chrysler      CHEROKEE             SEATAC                   WA
2360   1C4PJMDX6KD435210   Chrysler      CHEROKEE             FRESNO                   CA
2361   1C4PJMDX6KD439967   Chrysler      CHEROKEE             Sacramento               CA
2362   1C4PJMDX6KD440018   Chrysler      CHEROKEE             SAN DIEGO                CA
2363   1C4PJMDX6KD440052   Chrysler      CHEROKEE             Pasadena                 CA
2364   1C4PJMDX6KD440083   Chrysler      CHEROKEE             Warminster               PA
2365   1C4PJMDX6KD444702   Chrysler      CHEROKEE             SAN JOSE                 CA
2366   1C4PJMDX6KD444747   Chrysler      CHEROKEE             Riverside                CA
2367   1C4PJMDX6KD444750   Chrysler      CHEROKEE             LOS ANGELES              CA
2368   1C4PJMDX6KD444764   Chrysler      CHEROKEE             LOS ANGELES              CA
2369   1C4PJMDX6KD444800   Chrysler      CHEROKEE             INGLEWOOD                CA
2370   1C4PJMDX6KD444876   Chrysler      CHEROKEE             Portland                 OR
2371   1C4PJMDX7KD165727   Chrysler      CHEROKEE             Hayward                  CA
2372   1C4PJMDX7KD166313   Chrysler      CHEROKEE             NEWARK                   NJ
2373   1C4PJMDX7KD166344   Chrysler      CHEROKEE             Hartford                 CT
2374   1C4PJMDX7KD197576   Chrysler      CHEROKEE             ORLANDO                  FL
2375   1C4PJMDX7KD197612   Chrysler      CHEROKEE             Statesville              NC
2376   1C4PJMDX7KD197903   Chrysler      CHEROKEE             Clearwater               FL
2377   1C4PJMDX7KD197951   Chrysler      CHEROKEE             PITTSBURGH               PA
2378   1C4PJMDX7KD303427   Chrysler      CHEROKEE             ORLANDO                  FL
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2379   1C4PJMDX7KD303444   Chrysler      CHEROKEE             HARTFORD                 CT
2380   1C4PJMDX7KD303489   Chrysler      CHEROKEE             WEST COLUMBIA            SC
2381   1C4PJMDX7KD303508   Chrysler      CHEROKEE             FORT MYERS               FL
2382   1C4PJMDX7KD303511   Chrysler      CHEROKEE             TAMPA                    FL
2383   1C4PJMDX7KD303539   Chrysler      CHEROKEE             NEW BERN                 NC
2384   1C4PJMDX7KD303542   Chrysler      CHEROKEE             MEMPHIS                  TN
2385   1C4PJMDX7KD303590   Chrysler      CHEROKEE             FORT MYERS               FL
2386   1C4PJMDX7KD303623   Chrysler      CHEROKEE             KANSAS CITY              MO
2387   1C4PJMDX7KD303637   Chrysler      CHEROKEE             INDIANAPOLIS             IN
2388   1C4PJMDX7KD303640   Chrysler      CHEROKEE             Pittsburgh               PA
2389   1C4PJMDX7KD303654   Chrysler      CHEROKEE             FRESNO                   CA
2390   1C4PJMDX7KD303668   Chrysler      CHEROKEE             KANSAS CITY              MO
2391   1C4PJMDX7KD303704   Chrysler      CHEROKEE             Sarasota                 FL
2392   1C4PJMDX7KD303718   Chrysler      CHEROKEE             STERLING                 VA
2393   1C4PJMDX7KD303721   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
2394   1C4PJMDX7KD303735   Chrysler      CHEROKEE             JACKSONVILLE             FL
2395   1C4PJMDX7KD303752   Chrysler      CHEROKEE             BOSTON                   MA
2396   1C4PJMDX7KD303766   Chrysler      CHEROKEE             BALTIMORE                MD
2397   1C4PJMDX7KD303797   Chrysler      CHEROKEE             ORLANDO                  FL
2398   1C4PJMDX7KD303802   Chrysler      CHEROKEE             Fairburn                 GA
2399   1C4PJMDX7KD303816   Chrysler      CHEROKEE             FORT MYERS               FL
2400   1C4PJMDX7KD303833   Chrysler      CHEROKEE             PHILADELPHIA             PA
2401   1C4PJMDX7KD303847   Chrysler      CHEROKEE             Hamilton                 OH
2402   1C4PJMDX7KD303864   Chrysler      CHEROKEE             DETROIT                  MI
2403   1C4PJMDX7KD303900   Chrysler      CHEROKEE             FORT MYERS               FL
2404   1C4PJMDX7KD303945   Chrysler      CHEROKEE             PITTSBURGH               PA
2405   1C4PJMDX7KD303976   Chrysler      CHEROKEE             PHOENIX                  AZ
2406   1C4PJMDX7KD304013   Chrysler      CHEROKEE             DES MOINES               IA
2407   1C4PJMDX7KD304027   Chrysler      CHEROKEE             PHOENIX                  AZ
2408   1C4PJMDX7KD304030   Chrysler      CHEROKEE             SALT LAKE CITY           US
2409   1C4PJMDX7KD304044   Chrysler      CHEROKEE             ONTARIO                  CA
2410   1C4PJMDX7KD304058   Chrysler      CHEROKEE             ONTARIO                  CA
2411   1C4PJMDX7KD304061   Chrysler      CHEROKEE             SHREVEPORT               LA
2412   1C4PJMDX7KD304108   Chrysler      CHEROKEE             Memphis                  TN
2413   1C4PJMDX7KD304156   Chrysler      CHEROKEE             PHOENIX                  AZ
2414   1C4PJMDX7KD304206   Chrysler      CHEROKEE             LAS VEGAS                NV
2415   1C4PJMDX7KD304240   Chrysler      CHEROKEE             TUCSON                   AZ
2416   1C4PJMDX7KD304268   Chrysler      CHEROKEE             Warr Acres               OK
2417   1C4PJMDX7KD304299   Chrysler      CHEROKEE             SACRAMENTO               CA
2418   1C4PJMDX7KD304318   Chrysler      CHEROKEE             LOS ANGELES              CA
2419   1C4PJMDX7KD304321   Chrysler      CHEROKEE             Riverside                CA
2420   1C4PJMDX7KD304352   Chrysler      CHEROKEE             PHOENIX                  AZ
2421   1C4PJMDX7KD305517   Chrysler      CHEROKEE             HANOVER                  MD
2422   1C4PJMDX7KD305520   Chrysler      CHEROKEE             EL PASO                  TX
2423   1C4PJMDX7KD318963   Chrysler      CHEROKEE             BALTIMORE                MD
2424   1C4PJMDX7KD408033   Chrysler      CHEROKEE             OAKLAND                  CA
2425   1C4PJMDX7KD408047   Chrysler      CHEROKEE             BURBANK                  CA
2426   1C4PJMDX7KD408081   Chrysler      CHEROKEE             LAS VEGAS                NV
2427   1C4PJMDX7KD408176   Chrysler      CHEROKEE             CHICAGO                  IL
2428   1C4PJMDX7KD408209   Chrysler      CHEROKEE             INDIANAPOLIS             IN
2429   1C4PJMDX7KD412230   Chrysler      CHEROKEE             LOS ANGELES              CA
2430   1C4PJMDX7KD412244   Chrysler      CHEROKEE             LOS ANGELES              CA
2431   1C4PJMDX7KD412292   Chrysler      CHEROKEE             Hamilton                 OH
2432   1C4PJMDX7KD412339   Chrysler      CHEROKEE             SAN DIEGO                CA
2433   1C4PJMDX7KD412406   Chrysler      CHEROKEE             KENNER                   LA
2434   1C4PJMDX7KD412440   Chrysler      CHEROKEE             WEST COLUMBIA            SC
2435   1C4PJMDX7KD412471   Chrysler      CHEROKEE             Greensboro               NC
2436   1C4PJMDX7KD412485   Chrysler      CHEROKEE             JACKSONVILLE             FL
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2437   1C4PJMDX7KD412499   Chrysler      CHEROKEE             MEMPHIS                  TN
2438   1C4PJMDX7KD423373   Chrysler      CHEROKEE             PHOENIX                  AZ
2439   1C4PJMDX7KD423471   Chrysler      CHEROKEE             MIAMI                    FL
2440   1C4PJMDX7KD423504   Chrysler      CHEROKEE             Warr Acres               OK
2441   1C4PJMDX7KD423518   Chrysler      CHEROKEE             CLARKSVILLE              IN
2442   1C4PJMDX7KD439962   Chrysler      CHEROKEE             Costa Mesa               CA
2443   1C4PJMDX7KD440061   Chrysler      CHEROKEE             LOS ANGELES              CA
2444   1C4PJMDX7KD440089   Chrysler      CHEROKEE             Atlanta                  GA
2445   1C4PJMDX7KD444689   Chrysler      CHEROKEE             Hendersonville           TN
2446   1C4PJMDX7KD444692   Chrysler      CHEROKEE             GREEN BAY                WI
2447   1C4PJMDX7KD444708   Chrysler      CHEROKEE             SAN JOSE                 CA
2448   1C4PJMDX7KD444773   Chrysler      CHEROKEE             Sacramento               CA
2449   1C4PJMDX7KD444787   Chrysler      CHEROKEE             INDIANAPOLIS             IN
2450   1C4PJMDX8KD165378   Chrysler      CHEROKEE             North Dighton            MA
2451   1C4PJMDX8KD165431   Chrysler      CHEROKEE             ORLANDO                  FL
2452   1C4PJMDX8KD165543   Chrysler      CHEROKEE             Charlotte                NC
2453   1C4PJMDX8KD165641   Chrysler      CHEROKEE             Philadelphia             PA
2454   1C4PJMDX8KD166272   Chrysler      CHEROKEE             ROANOKE                  VA
2455   1C4PJMDX8KD197585   Chrysler      CHEROKEE             LAS VEGAS                NV
2456   1C4PJMDX8KD197599   Chrysler      CHEROKEE             Manheim                  PA
2457   1C4PJMDX8KD303405   Chrysler      CHEROKEE             Caledonia                WI
2458   1C4PJMDX8KD303419   Chrysler      CHEROKEE             DAYTONA BEACH            FL
2459   1C4PJMDX8KD303453   Chrysler      CHEROKEE             STERLING                 VA
2460   1C4PJMDX8KD303498   Chrysler      CHEROKEE             DENVER                   CO
2461   1C4PJMDX8KD303503   Chrysler      CHEROKEE             Miami                    FL
2462   1C4PJMDX8KD303517   Chrysler      CHEROKEE             CHICAGO                  IL
2463   1C4PJMDX8KD303548   Chrysler      CHEROKEE             MIAMI                    FL
2464   1C4PJMDX8KD303629   Chrysler      CHEROKEE             ATLANTA                  GA
2465   1C4PJMDX8KD303646   Chrysler      CHEROKEE             TAMPA                    US
2466   1C4PJMDX8KD303677   Chrysler      CHEROKEE             DENVER                   CO
2467   1C4PJMDX8KD303694   Chrysler      CHEROKEE             HARTFORD                 CT
2468   1C4PJMDX8KD303713   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
2469   1C4PJMDX8KD303730   Chrysler      CHEROKEE             Philadelphia             PA
2470   1C4PJMDX8KD303744   Chrysler      CHEROKEE             WEST PALM BEACH          FL
2471   1C4PJMDX8KD303775   Chrysler      CHEROKEE             KENNER                   LA
2472   1C4PJMDX8KD303789   Chrysler      CHEROKEE             CLEVELAND                OH
2473   1C4PJMDX8KD303792   Chrysler      CHEROKEE             STERLING                 VA
2474   1C4PJMDX8KD303808   Chrysler      CHEROKEE             Chicago                  IL
2475   1C4PJMDX8KD303811   Chrysler      CHEROKEE             Tampa                    FL
2476   1C4PJMDX8KD303839   Chrysler      CHEROKEE             SARASOTA                 FL
2477   1C4PJMDX8KD303890   Chrysler      CHEROKEE             MILWAUKEE                WI
2478   1C4PJMDX8KD303940   Chrysler      CHEROKEE             NORFOLK                  VA
2479   1C4PJMDX8KD303971   Chrysler      CHEROKEE             SAN JOSE                 CA
2480   1C4PJMDX8KD303985   Chrysler      CHEROKEE             Miami                    FL
2481   1C4PJMDX8KD303999   Chrysler      CHEROKEE             CLOVIS                   CA
2482   1C4PJMDX8KD304005   Chrysler      CHEROKEE             GYPSUM                   CO
2483   1C4PJMDX8KD304019   Chrysler      CHEROKEE             NEWARK                   NJ
2484   1C4PJMDX8KD304022   Chrysler      CHEROKEE             SANTA FE                 NM
2485   1C4PJMDX8KD304036   Chrysler      CHEROKEE             SARASOTA                 FL
2486   1C4PJMDX8KD304084   Chrysler      CHEROKEE             albuquerque              nm
2487   1C4PJMDX8KD304098   Chrysler      CHEROKEE             SALT LAKE CITY           US
2488   1C4PJMDX8KD304103   Chrysler      CHEROKEE             Irving                   TX
2489   1C4PJMDX8KD304148   Chrysler      CHEROKEE             DENVER                   CO
2490   1C4PJMDX8KD304151   Chrysler      CHEROKEE             TUCSON                   AZ
2491   1C4PJMDX8KD304165   Chrysler      CHEROKEE             SANTA ANA                CA
2492   1C4PJMDX8KD304179   Chrysler      CHEROKEE             PHOENIX                  AZ
2493   1C4PJMDX8KD304182   Chrysler      CHEROKEE             DENVER                   CO
2494   1C4PJMDX8KD304215   Chrysler      CHEROKEE             Riverside                CA
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2495   1C4PJMDX8KD304232   Chrysler      CHEROKEE             DENVER                   CO
2496   1C4PJMDX8KD304246   Chrysler      CHEROKEE             DENVER                   CO
2497   1C4PJMDX8KD304263   Chrysler      CHEROKEE             LAS VEGAS                NV
2498   1C4PJMDX8KD304277   Chrysler      CHEROKEE             SANTA ANA                CA
2499   1C4PJMDX8KD304280   Chrysler      CHEROKEE             PHOENIX                  AZ
2500   1C4PJMDX8KD304313   Chrysler      CHEROKEE             SALT LAKE CITY           UT
2501   1C4PJMDX8KD304330   Chrysler      CHEROKEE             DENVER                   CO
2502   1C4PJMDX8KD304361   Chrysler      CHEROKEE             FRESNO                   CA
2503   1C4PJMDX8KD304375   Chrysler      CHEROKEE             PORTLAND                 ME
2504   1C4PJMDX8KD305512   Chrysler      CHEROKEE             Fresno                   CA
2505   1C4PJMDX8KD408025   Chrysler      CHEROKEE             McHenry                  IL
2506   1C4PJMDX8KD408042   Chrysler      CHEROKEE             SANTA ANA                CA
2507   1C4PJMDX8KD408056   Chrysler      CHEROKEE             LAS VEGAS                NV
2508   1C4PJMDX8KD408087   Chrysler      CHEROKEE             Austin                   TX
2509   1C4PJMDX8KD408090   Chrysler      CHEROKEE             SACRAMENTO               CA
2510   1C4PJMDX8KD408106   Chrysler      CHEROKEE             Clarksville              IN
2511   1C4PJMDX8KD408137   Chrysler      CHEROKEE             Burien                   WA
2512   1C4PJMDX8KD408199   Chrysler      CHEROKEE             TAMPA                    FL
2513   1C4PJMDX8KD412205   Chrysler      CHEROKEE             LAS VEGAS                NV
2514   1C4PJMDX8KD412270   Chrysler      CHEROKEE             ATLANTA                  GA
2515   1C4PJMDX8KD412334   Chrysler      CHEROKEE             MIAMI                    FL
2516   1C4PJMDX8KD412382   Chrysler      CHEROKEE             Manheim                  PA
2517   1C4PJMDX8KD412429   Chrysler      CHEROKEE             Atlanta                  GA
2518   1C4PJMDX8KD412432   Chrysler      CHEROKEE             Riverside                CA
2519   1C4PJMDX8KD417016   Chrysler      CHEROKEE             TAMPA                    FL
2520   1C4PJMDX8KD417050   Chrysler      CHEROKEE             BIRMINGHAM               AL
2521   1C4PJMDX8KD423267   Chrysler      CHEROKEE             INDIANAPOLIS             IN
2522   1C4PJMDX8KD423334   Chrysler      CHEROKEE             LAS VEGAS                NV
2523   1C4PJMDX8KD423351   Chrysler      CHEROKEE             SANTA ANA                CA
2524   1C4PJMDX8KD423429   Chrysler      CHEROKEE             Atlanta                  GA
2525   1C4PJMDX8KD423446   Chrysler      CHEROKEE             Louisville               KY
2526   1C4PJMDX8KD423544   Chrysler      CHEROKEE             Sacramento               CA
2527   1C4PJMDX8KD435211   Chrysler      CHEROKEE             LOS ANGELES              CA
2528   1C4PJMDX8KD444703   Chrysler      CHEROKEE             SEATAC                   WA
2529   1C4PJMDX8KD444829   Chrysler      CHEROKEE             SYRACUSE                 NY
2530   1C4PJMDX9KD165616   Chrysler      CHEROKEE             BOSTON, LOGAN AP         MA
2531   1C4PJMDX9KD166202   Chrysler      CHEROKEE             DETROIT                  MI
2532   1C4PJMDX9KD166295   Chrysler      CHEROKEE             STERLING                 VA
2533   1C4PJMDX9KD166300   Chrysler      CHEROKEE             MINNEAPOLIS              MN
2534   1C4PJMDX9KD166345   Chrysler      CHEROKEE             Tampa                    FL
2535   1C4PJMDX9KD166376   Chrysler      CHEROKEE             STERLING                 VA
2536   1C4PJMDX9KD197420   Chrysler      CHEROKEE             SEATAC                   WA
2537   1C4PJMDX9KD197613   Chrysler      CHEROKEE             STERLING                 VA
2538   1C4PJMDX9KD197790   Chrysler      CHEROKEE             NEWARK                   NJ
2539   1C4PJMDX9KD303459   Chrysler      CHEROKEE             MIAMI                    FL
2540   1C4PJMDX9KD303462   Chrysler      CHEROKEE             TAMPA                    FL
2541   1C4PJMDX9KD303476   Chrysler      CHEROKEE             Fredericksburg           VA
2542   1C4PJMDX9KD303512   Chrysler      CHEROKEE             SAN ANTONIO              TX
2543   1C4PJMDX9KD303526   Chrysler      CHEROKEE             PITTSBURGH               PA
2544   1C4PJMDX9KD303591   Chrysler      CHEROKEE             TAMPA                    FL
2545   1C4PJMDX9KD303607   Chrysler      CHEROKEE             WEST PALM BEACH          FL
2546   1C4PJMDX9KD303624   Chrysler      CHEROKEE             Atlanta                  GA
2547   1C4PJMDX9KD303655   Chrysler      CHEROKEE             CHICAGO                  IL
2548   1C4PJMDX9KD303719   Chrysler      CHEROKEE             Lake Elsinore            CA
2549   1C4PJMDX9KD303753   Chrysler      CHEROKEE             SARASOTA                 FL
2550   1C4PJMDX9KD303767   Chrysler      CHEROKEE             ORLANDO                  FL
2551   1C4PJMDX9KD303784   Chrysler      CHEROKEE             Riverside                CA
2552   1C4PJMDX9KD303817   Chrysler      CHEROKEE             PHOENIX                  AZ
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2553   1C4PJMDX9KD303851   Chrysler      CHEROKEE             Fredericksburg           VA
2554   1C4PJMDX9KD303879   Chrysler      CHEROKEE             Hartford                 CT
2555   1C4PJMDX9KD303901   Chrysler      CHEROKEE             Kansas City              MO
2556   1C4PJMDX9KD303915   Chrysler      CHEROKEE             Windsor Locks            CT
2557   1C4PJMDX9KD303929   Chrysler      CHEROKEE             PHILADELPHIA             PA
2558   1C4PJMDX9KD303932   Chrysler      CHEROKEE             TAMPA                    FL
2559   1C4PJMDX9KD303946   Chrysler      CHEROKEE             PHILADELPHIA             PA
2560   1C4PJMDX9KD303980   Chrysler      CHEROKEE             PHOENIX                  AZ
2561   1C4PJMDX9KD303994   Chrysler      CHEROKEE             ORLANDO                  FL
2562   1C4PJMDX9KD304031   Chrysler      CHEROKEE             SAN FRANCISCO            CA
2563   1C4PJMDX9KD304045   Chrysler      CHEROKEE             Pasadena                 CA
2564   1C4PJMDX9KD304059   Chrysler      CHEROKEE             KNOXVILLE                TN
2565   1C4PJMDX9KD304062   Chrysler      CHEROKEE             ALBUQUERQUE              NM
2566   1C4PJMDX9KD304076   Chrysler      CHEROKEE             ONTARIO                  CA
2567   1C4PJMDX9KD304112   Chrysler      CHEROKEE             Los Angeles              CA
2568   1C4PJMDX9KD304126   Chrysler      CHEROKEE             ATLANTA                  GA
2569   1C4PJMDX9KD304160   Chrysler      CHEROKEE             SACRAMENTO               CA
2570   1C4PJMDX9KD304207   Chrysler      CHEROKEE             Houston                  TX
2571   1C4PJMDX9KD304210   Chrysler      CHEROKEE             Stockton                 CA
2572   1C4PJMDX9KD304255   Chrysler      CHEROKEE             DES MOINES               IA
2573   1C4PJMDX9KD304269   Chrysler      CHEROKEE             PHOENIX                  AZ
2574   1C4PJMDX9KD304272   Chrysler      CHEROKEE             SAN DIEGO                CA
2575   1C4PJMDX9KD304286   Chrysler      CHEROKEE             PHOENIX                  AZ
2576   1C4PJMDX9KD304305   Chrysler      CHEROKEE             BURBANK                  CA
2577   1C4PJMDX9KD304319   Chrysler      CHEROKEE             OAKLAND                  CA
2578   1C4PJMDX9KD304322   Chrysler      CHEROKEE             LAS VEGAS                NV
2579   1C4PJMDX9KD304336   Chrysler      CHEROKEE             TUCSON                   AZ
2580   1C4PJMDX9KD304353   Chrysler      CHEROKEE             Phoenix                  AZ
2581   1C4PJMDX9KD304367   Chrysler      CHEROKEE             DENVER                   CO
2582   1C4PJMDX9KD305518   Chrysler      CHEROKEE             LOS ANGELES              CA
2583   1C4PJMDX9KD318964   Chrysler      CHEROKEE             PHOENIX                  AZ
2584   1C4PJMDX9KD319001   Chrysler      CHEROKEE             SARASOTA                 FL
2585   1C4PJMDX9KD408017   Chrysler      CHEROKEE             San Diego                CA
2586   1C4PJMDX9KD408034   Chrysler      CHEROKEE             Denver                   CO
2587   1C4PJMDX9KD408051   Chrysler      CHEROKEE             DENVER                   CO
2588   1C4PJMDX9KD408065   Chrysler      CHEROKEE             Seattle                  WA
2589   1C4PJMDX9KD408132   Chrysler      CHEROKEE             SEATAC                   WA
2590   1C4PJMDX9KD408177   Chrysler      CHEROKEE             PORTLAND                 OR
2591   1C4PJMDX9KD412259   Chrysler      CHEROKEE             Portland                 OR
2592   1C4PJMDX9KD412262   Chrysler      CHEROKEE             Riverside                CA
2593   1C4PJMDX9KD412343   Chrysler      CHEROKEE             Manheim                  PA
2594   1C4PJMDX9KD412486   Chrysler      CHEROKEE             EULESS                   TX
2595   1C4PJMDX9KD412519   Chrysler      CHEROKEE             ORLANDO                  FL
2596   1C4PJMDX9KD417039   Chrysler      CHEROKEE             STERLING                 VA
2597   1C4PJMDX9KD423360   Chrysler      CHEROKEE             LOUISVILLE               KY
2598   1C4PJMDX9KD423519   Chrysler      CHEROKEE             Atlanta                  GA
2599   1C4PJMDX9KD423598   Chrysler      CHEROKEE             Hendersonville           TN
2600   1C4PJMDX9KD423603   Chrysler      CHEROKEE             ATLANTA                  GA
2601   1C4PJMDX9KD429739   Chrysler      CHEROKEE             SEATAC                   WA
2602   1C4PJMDX9KD440045   Chrysler      CHEROKEE             ST Paul                  MN
2603   1C4PJMDX9KD440062   Chrysler      CHEROKEE             SAN DIEGO                CA
2604   1C4PJMDX9KD440126   Chrysler      CHEROKEE             Sterling                 VA
2605   1C4PJMDX9KD444726   Chrysler      CHEROKEE             anchorage,               ak
2606   1C4PJMDX9KD444841   Chrysler      CHEROKEE             WEST PALM BEACH          FL
2607   1C4PJMDXXKD165429   Chrysler      CHEROKEE             North Dighton            MA
2608   1C4PJMDXXKD165561   Chrysler      CHEROKEE             Warminster               PA
2609   1C4PJMDXXKD165611   Chrysler      CHEROKEE             Bensalem                 PA
2610   1C4PJMDXXKD165639   Chrysler      CHEROKEE             Manheim                  PA
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2611   1C4PJMDXXKD197605   Chrysler      CHEROKEE             Bensalem                 PA
2612   1C4PJMDXXKD197684   Chrysler      CHEROKEE             FORT MYERS               FL
2613   1C4PJMDXXKD197734   Chrysler      CHEROKEE             SAINT LOUIS              MO
2614   1C4PJMDXXKD197829   Chrysler      CHEROKEE             Euless                   TX
2615   1C4PJMDXXKD303437   Chrysler      CHEROKEE             HANOVER                  MD
2616   1C4PJMDXXKD303440   Chrysler      CHEROKEE             Des Moines               IA
2617   1C4PJMDXXKD303471   Chrysler      CHEROKEE             Detroit                  MI
2618   1C4PJMDXXKD303485   Chrysler      CHEROKEE             PITTSBURGH               PA
2619   1C4PJMDXXKD303499   Chrysler      CHEROKEE             FORT LAUDERDALE          FL
2620   1C4PJMDXXKD303552   Chrysler      CHEROKEE             Atlanta                  GA
2621   1C4PJMDXXKD303583   Chrysler      CHEROKEE             Woodhaven                MI
2622   1C4PJMDXXKD303602   Chrysler      CHEROKEE             JACKSONVILLE             FL
2623   1C4PJMDXXKD303616   Chrysler      CHEROKEE             WEST PALM BEACH          FL
2624   1C4PJMDXXKD303633   Chrysler      CHEROKEE             SARASOTA                 FL
2625   1C4PJMDXXKD303650   Chrysler      CHEROKEE             DENVER                   CO
2626   1C4PJMDXXKD303681   Chrysler      CHEROKEE             KENNER                   LA
2627   1C4PJMDXXKD303695   Chrysler      CHEROKEE             LAS VEGAS                NV
2628   1C4PJMDXXKD303700   Chrysler      CHEROKEE             CHICAGO                  IL
2629   1C4PJMDXXKD303714   Chrysler      CHEROKEE             Ft. Myers                FL
2630   1C4PJMDXXKD303745   Chrysler      CHEROKEE             FORT MYERS               FL
2631   1C4PJMDXXKD303793   Chrysler      CHEROKEE             Atlanta                  GA
2632   1C4PJMDXXKD303809   Chrysler      CHEROKEE             FORT MYERS               FL
2633   1C4PJMDXXKD303812   Chrysler      CHEROKEE             WEST PALM BEACH          FL
2634   1C4PJMDXXKD303843   Chrysler      CHEROKEE             TAMPA                    FL
2635   1C4PJMDXXKD303857   Chrysler      CHEROKEE             STERLING                 VA
2636   1C4PJMDXXKD303860   Chrysler      CHEROKEE             ORLANDO                  FL
2637   1C4PJMDXXKD303874   Chrysler      CHEROKEE             DETROIT                  MI
2638   1C4PJMDXXKD303888   Chrysler      CHEROKEE             LOS ANGELES              CA
2639   1C4PJMDXXKD303891   Chrysler      CHEROKEE             Warminster               PA
2640   1C4PJMDXXKD303910   Chrysler      CHEROKEE             Kansas City              MO
2641   1C4PJMDXXKD303941   Chrysler      CHEROKEE             Atlanta                  GA
2642   1C4PJMDXXKD303969   Chrysler      CHEROKEE             DENVER                   CO
2643   1C4PJMDXXKD304006   Chrysler      CHEROKEE             DENVER                   CO
2644   1C4PJMDXXKD304037   Chrysler      CHEROKEE             Euless                   TX
2645   1C4PJMDXXKD304054   Chrysler      CHEROKEE             GYPSUM                   CO
2646   1C4PJMDXXKD304071   Chrysler      CHEROKEE             ONTARIO                  CA
2647   1C4PJMDXXKD304099   Chrysler      CHEROKEE             SALT LAKE CITY           US
2648   1C4PJMDXXKD304104   Chrysler      CHEROKEE             LOS ANGELES              CA
2649   1C4PJMDXXKD304121   Chrysler      CHEROKEE             PHOENIX                  AZ
2650   1C4PJMDXXKD304135   Chrysler      CHEROKEE             Albuquerque              NM
2651   1C4PJMDXXKD304149   Chrysler      CHEROKEE             INDIANAPOLIS             IN
2652   1C4PJMDXXKD304152   Chrysler      CHEROKEE             SACRAMENTO               CA
2653   1C4PJMDXXKD304166   Chrysler      CHEROKEE             PHOENIX                  AZ
2654   1C4PJMDXXKD304183   Chrysler      CHEROKEE             PHOENIX                  AZ
2655   1C4PJMDXXKD304197   Chrysler      CHEROKEE             SAN DIEGO                CA
2656   1C4PJMDXXKD304216   Chrysler      CHEROKEE             FRESNO                   CA
2657   1C4PJMDXXKD304233   Chrysler      CHEROKEE             ATLANTA                  GA
2658   1C4PJMDXXKD304250   Chrysler      CHEROKEE             LOS ANGELES              CA
2659   1C4PJMDXXKD304264   Chrysler      CHEROKEE             PALM SPRINGS             CA
2660   1C4PJMDXXKD304278   Chrysler      CHEROKEE             SANTA CLARA              CA
2661   1C4PJMDXXKD304281   Chrysler      CHEROKEE             BURBANK                  CA
2662   1C4PJMDXXKD304314   Chrysler      CHEROKEE             LOS ANGELES              CA
2663   1C4PJMDXXKD304328   Chrysler      CHEROKEE             BURBANK                  CA
2664   1C4PJMDXXKD304331   Chrysler      CHEROKEE             FRESNO                   CA
2665   1C4PJMDXXKD304362   Chrysler      CHEROKEE             NEWPORT BEACH            CA
2666   1C4PJMDXXKD408012   Chrysler      CHEROKEE             FRESNO                   CA
2667   1C4PJMDXXKD408026   Chrysler      CHEROKEE             LOS ANGELES              CA
2668   1C4PJMDXXKD408060   Chrysler      CHEROKEE             ONTARIO                  CA
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2669   1C4PJMDXXKD408169   Chrysler      CHEROKEE             LOS ANGELES              CA
2670   1C4PJMDXXKD412206   Chrysler      CHEROKEE             LAS VEGAS                NV
2671   1C4PJMDXXKD412268   Chrysler      CHEROKEE             WOODSON TERRACE          MO
2672   1C4PJMDXXKD412299   Chrysler      CHEROKEE             KENNER                   LA
2673   1C4PJMDXXKD412433   Chrysler      CHEROKEE             Austin                   TX
2674   1C4PJMDXXKD412450   Chrysler      CHEROKEE             ATLANTA                  GA
2675   1C4PJMDXXKD412500   Chrysler      CHEROKEE             PENSACOLA                FL
2676   1C4PJMDXXKD417034   Chrysler      CHEROKEE             Medford                  NY
2677   1C4PJMDXXKD417051   Chrysler      CHEROKEE             North Dighton            MA
2678   1C4PJMDXXKD423237   Chrysler      CHEROKEE             Hebron                   KY
2679   1C4PJMDXXKD423240   Chrysler      CHEROKEE             KNOXVILLE                TN
2680   1C4PJMDXXKD423254   Chrysler      CHEROKEE             KANSAS CITY              MO
2681   1C4PJMDXXKD423285   Chrysler      CHEROKEE             Clarksville              IN
2682   1C4PJMDXXKD423321   Chrysler      CHEROKEE             SAN DIEGO                CA
2683   1C4PJMDXXKD423383   Chrysler      CHEROKEE             Manheim                  PA
2684   1C4PJMDXXKD423402   Chrysler      CHEROKEE             Atlanta                  GA
2685   1C4PJMDXXKD423450   Chrysler      CHEROKEE             HOUSTON                  TX
2686   1C4PJMDXXKD423495   Chrysler      CHEROKEE             MANCHESTER               US
2687   1C4PJMDXXKD423545   Chrysler      CHEROKEE             Statesville              NC
2688   1C4PJMDXXKD423559   Chrysler      CHEROKEE             MEMPHIS                  TN
2689   1C4PJMDXXKD429751   Chrysler      CHEROKEE             Detroit                  MI
2690   1C4PJMDXXKD429765   Chrysler      CHEROKEE             ALBANY                   NY
2691   1C4PJMDXXKD429782   Chrysler      CHEROKEE             MEMPHIS                  TN
2692   1C4PJMDXXKD439972   Chrysler      CHEROKEE             LAS VEGAS                NV
2693   1C4PJMDXXKD440149   Chrysler      CHEROKEE             LAS VEGAS                NV
2694   1C4PJMDXXKD444704   Chrysler      CHEROKEE             SAN DIEGO                CA
2695   1C4PJMDXXKD444735   Chrysler      CHEROKEE             ONTARIO                  CA
2696   1C4PJMDXXKD444749   Chrysler      CHEROKEE             Torrance                 CA
2697   1C4PJMJN2KD173964   Chrysler      CHEROKEE             WEST PALM BEACH          FL
2698   1C4PJMJN2KD174256   Chrysler      CHEROKEE             Phoenix                  AZ
2699   1C4PJMJN4KD173951   Chrysler      CHEROKEE             North Dighton            MA
2700   1C4PJMLB7KD194649   Chrysler      CHEROKEE             DANIA BEACH              FL
2701   1C4PJMLB9KD319764   Chrysler      CHEROKEE             Davie                    FL
2702   1C4RDHDG0LC145799   Chrysler      DURANGO              MIAMI                    FL
2703   1C4RDHDG0LC145804   Chrysler      DURANGO              PHILADELPHIA             PA
2704   1C4RDHDG0LC145818   Chrysler      DURANGO              Atlanta                  GA
2705   1C4RDHDG0LC145821   Chrysler      DURANGO              CHICAGO                  IL
2706   1C4RDHDG0LC145835   Chrysler      DURANGO              SAN DIEGO                CA
2707   1C4RDHDG0LC145866   Chrysler      DURANGO              TAMPA                    FL
2708   1C4RDHDG0LC145883   Chrysler      DURANGO              BOSTON                   MA
2709   1C4RDHDG0LC153238   Chrysler      DURANGO              PHOENIX                  AZ
2710   1C4RDHDG0LC154759   Chrysler      DURANGO              NORFOLK                  VA
2711   1C4RDHDG0LC154762   Chrysler      DURANGO              ORLANDO                  FL
2712   1C4RDHDG0LC154776   Chrysler      DURANGO              DALLAS                   TX
2713   1C4RDHDG0LC154843   Chrysler      DURANGO              PHOENIX                  AZ
2714   1C4RDHDG0LC154857   Chrysler      DURANGO              PHOENIX                  AZ
2715   1C4RDHDG1LC145794   Chrysler      DURANGO              ATLANTA                  GA
2716   1C4RDHDG1LC145813   Chrysler      DURANGO              MIAMI                    FL
2717   1C4RDHDG1LC145827   Chrysler      DURANGO              ORLANDO                  FL
2718   1C4RDHDG1LC145830   Chrysler      DURANGO              PENSACOLA                FL
2719   1C4RDHDG1LC145844   Chrysler      DURANGO              ORLANDO                  FL
2720   1C4RDHDG1LC145858   Chrysler      DURANGO              CHICAGO O'HARE AP        IL
2721   1C4RDHDG1LC145861   Chrysler      DURANGO              Miami                    FL
2722   1C4RDHDG1LC145875   Chrysler      DURANGO              FORT LAUDERDALE          FL
2723   1C4RDHDG1LC145889   Chrysler      DURANGO              TAMPA                    FL
2724   1C4RDHDG1LC153233   Chrysler      DURANGO              PHOENIX                  AZ
2725   1C4RDHDG1LC154723   Chrysler      DURANGO              ORLANDO                  FL
2726   1C4RDHDG1LC154754   Chrysler      DURANGO              MIAMI                    FL
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2727   1C4RDHDG1LC154768   Chrysler      DURANGO              DALLAS                   TX
2728   1C4RDHDG1LC154771   Chrysler      DURANGO              KENNER                   LA
2729   1C4RDHDG1LC154785   Chrysler      DURANGO              HOUSTON                  TX
2730   1C4RDHDG1LC154849   Chrysler      DURANGO              PHOENIX                  AZ
2731   1C4RDHDG1LC154852   Chrysler      DURANGO              STERLING                 VA
2732   1C4RDHDG2LC145805   Chrysler      DURANGO              TAMPA                    FL
2733   1C4RDHDG2LC145819   Chrysler      DURANGO              SARASOTA                 FL
2734   1C4RDHDG2LC145822   Chrysler      DURANGO              FORT MYERS               FL
2735   1C4RDHDG2LC145836   Chrysler      DURANGO              MIAMI                    FL
2736   1C4RDHDG2LC145867   Chrysler      DURANGO              MOBILE                   A
2737   1C4RDHDG2LC145870   Chrysler      DURANGO              MIAMI                    FL
2738   1C4RDHDG2LC145884   Chrysler      DURANGO              FORT LAUDERDALE          FL
2739   1C4RDHDG2LC153239   Chrysler      DURANGO              SAN FRANCISCO            CA
2740   1C4RDHDG2LC154729   Chrysler      DURANGO              TAMPA                    FL
2741   1C4RDHDG2LC154763   Chrysler      DURANGO              SAINT LOUIS              MO
2742   1C4RDHDG2LC154777   Chrysler      DURANGO              Houston                  TX
2743   1C4RDHDG2LC154780   Chrysler      DURANGO              Houston                  TX
2744   1C4RDHDG2LC154844   Chrysler      DURANGO              PHOENIX                  AZ
2745   1C4RDHDG2LC154858   Chrysler      DURANGO              Lake Elsinore            CA
2746   1C4RDHDG3JC328806   Chrysler      DURANGO              North Dighton            MA
2747   1C4RDHDG3JC328854   Chrysler      DURANGO              Fontana                  CA
2748   1C4RDHDG3LC145795   Chrysler      DURANGO              Miami                    FL
2749   1C4RDHDG3LC145800   Chrysler      DURANGO              FORT MYERS               FL
2750   1C4RDHDG3LC145814   Chrysler      DURANGO              COLUMBIA                 SC
2751   1C4RDHDG3LC145828   Chrysler      DURANGO              TAMPA                    FL
2752   1C4RDHDG3LC145831   Chrysler      DURANGO              SAVANNAH                 GA
2753   1C4RDHDG3LC145845   Chrysler      DURANGO              COLLEGE PARK             GA
2754   1C4RDHDG3LC145859   Chrysler      DURANGO              MIAMI                    FL
2755   1C4RDHDG3LC145862   Chrysler      DURANGO              MIAMI                    FL
2756   1C4RDHDG3LC145876   Chrysler      DURANGO              FORT LAUDERDALE          FL
2757   1C4RDHDG3LC153234   Chrysler      DURANGO              PHOENIX                  AZ
2758   1C4RDHDG3LC154724   Chrysler      DURANGO              TAMPA                    FL
2759   1C4RDHDG3LC154755   Chrysler      DURANGO              ORLANDO                  FL
2760   1C4RDHDG3LC154769   Chrysler      DURANGO              Houston                  TX
2761   1C4RDHDG3LC154772   Chrysler      DURANGO              OKLAHOMA CITY            OK
2762   1C4RDHDG3LC154786   Chrysler      DURANGO              TULSA                    OK
2763   1C4RDHDG3LC154853   Chrysler      DURANGO              CHARLESTON               SC
2764   1C4RDHDG4JC281768   Chrysler      DURANGO              Oceanside                CA
2765   1C4RDHDG4LC145806   Chrysler      DURANGO              FORT MYERS               FL
2766   1C4RDHDG4LC145823   Chrysler      DURANGO              TAMPA                    FL
2767   1C4RDHDG4LC145837   Chrysler      DURANGO              GRAND RAPIDS             MI
2768   1C4RDHDG4LC145840   Chrysler      DURANGO              CHARLESTON               SC
2769   1C4RDHDG4LC145854   Chrysler      DURANGO              DAYTONA BEACH            FL
2770   1C4RDHDG4LC145868   Chrysler      DURANGO              CHARLESTON               WV
2771   1C4RDHDG4LC145885   Chrysler      DURANGO              AUGUSTA                  GA
2772   1C4RDHDG4LC154764   Chrysler      DURANGO              JACKSONVILLE             FL
2773   1C4RDHDG4LC154778   Chrysler      DURANGO              KENNER                   LA
2774   1C4RDHDG4LC154781   Chrysler      DURANGO              HOUSTON                  TX
2775   1C4RDHDG4LC154845   Chrysler      DURANGO              PALM SPRINGS             CA
2776   1C4RDHDG5JC289796   Chrysler      DURANGO              San Bruno                CA
2777   1C4RDHDG5JC289801   Chrysler      DURANGO              Salt Lake City           UT
2778   1C4RDHDG5JC323445   Chrysler      DURANGO              GREENVILLE               NC
2779   1C4RDHDG5JC328810   Chrysler      DURANGO              TRACY                    CA
2780   1C4RDHDG5LC145796   Chrysler      DURANGO              SAVANNAH                 GA
2781   1C4RDHDG5LC145801   Chrysler      DURANGO              STERLING                 VA
2782   1C4RDHDG5LC145815   Chrysler      DURANGO              FORT LAUDERDALE          FL
2783   1C4RDHDG5LC145829   Chrysler      DURANGO              MIAMI                    FL
2784   1C4RDHDG5LC145832   Chrysler      DURANGO              Miami                    FL
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2785   1C4RDHDG5LC145846   Chrysler      DURANGO              CHARLOTTE                NC
2786   1C4RDHDG5LC145863   Chrysler      DURANGO              HOLLY HILL               FL
2787   1C4RDHDG5LC145877   Chrysler      DURANGO              TAMPA                    FL
2788   1C4RDHDG5LC145880   Chrysler      DURANGO              WEST COLUMBIA            SC
2789   1C4RDHDG5LC153235   Chrysler      DURANGO              TUCSON                   AZ
2790   1C4RDHDG5LC154725   Chrysler      DURANGO              ORLANDO                  FL
2791   1C4RDHDG5LC154756   Chrysler      DURANGO              ORLANDO                  FL
2792   1C4RDHDG5LC154773   Chrysler      DURANGO              SARASOTA                 FL
2793   1C4RDHDG5LC154787   Chrysler      DURANGO              HOUSTON                  TX
2794   1C4RDHDG5LC154790   Chrysler      DURANGO              HOUSTON                  TX
2795   1C4RDHDG5LC154840   Chrysler      DURANGO              PHOENIX                  AZ
2796   1C4RDHDG5LC154854   Chrysler      DURANGO              TUCSON                   AZ
2797   1C4RDHDG6LC145807   Chrysler      DURANGO              MIAMI                    FL
2798   1C4RDHDG6LC145824   Chrysler      DURANGO              Tampa                    FL
2799   1C4RDHDG6LC145838   Chrysler      DURANGO              SARASOTA                 FL
2800   1C4RDHDG6LC145841   Chrysler      DURANGO              CLEVELAND                OH
2801   1C4RDHDG6LC145855   Chrysler      DURANGO              SYRACUSE                 NY
2802   1C4RDHDG6LC145869   Chrysler      DURANGO              TAMPA                    FL
2803   1C4RDHDG6LC145872   Chrysler      DURANGO              ATLANTA                  GA
2804   1C4RDHDG6LC145886   Chrysler      DURANGO              ORLANDO                  FL
2805   1C4RDHDG6LC153230   Chrysler      DURANGO              TUCSON                   AZ
2806   1C4RDHDG6LC154717   Chrysler      DURANGO              ORLANDO                  FL
2807   1C4RDHDG6LC154720   Chrysler      DURANGO              PENSACOLA                FL
2808   1C4RDHDG6LC154751   Chrysler      DURANGO              INDIANAPOLIS             IN
2809   1C4RDHDG6LC154765   Chrysler      DURANGO              PHILADELPHIA             PA
2810   1C4RDHDG6LC154779   Chrysler      DURANGO              SAN ANTONIO              TX
2811   1C4RDHDG6LC154782   Chrysler      DURANGO              CANTON                   T
2812   1C4RDHDG6LC154846   Chrysler      DURANGO              LOS ANGELES              CA
2813   1C4RDHDG7JC323480   Chrysler      DURANGO              Jacksonville             FL
2814   1C4RDHDG7JC345124   Chrysler      DURANGO              Fontana                  CA
2815   1C4RDHDG7LC145797   Chrysler      DURANGO              MILWAUKEE                WI
2816   1C4RDHDG7LC145802   Chrysler      DURANGO              ORLANDO                  FL
2817   1C4RDHDG7LC145816   Chrysler      DURANGO              ORLANDO                  FL
2818   1C4RDHDG7LC145833   Chrysler      DURANGO              ORLANDO                  FL
2819   1C4RDHDG7LC145847   Chrysler      DURANGO              MIAMI                    FL
2820   1C4RDHDG7LC145864   Chrysler      DURANGO              TAMPA                    FL
2821   1C4RDHDG7LC145881   Chrysler      DURANGO              FORT MYERS               FL
2822   1C4RDHDG7LC153236   Chrysler      DURANGO              EL PASO                  TX
2823   1C4RDHDG7LC154726   Chrysler      DURANGO              ORLANDO                  FL
2824   1C4RDHDG7LC154760   Chrysler      DURANGO              FORT LAUDERDALE          FL
2825   1C4RDHDG7LC154774   Chrysler      DURANGO              Atlanta                  GA
2826   1C4RDHDG7LC154788   Chrysler      DURANGO              HOUSTON                  TX
2827   1C4RDHDG7LC154841   Chrysler      DURANGO              Scottsdale               AZ
2828   1C4RDHDG7LC154855   Chrysler      DURANGO              PHOENIX                  AZ
2829   1C4RDHDG8JC316523   Chrysler      DURANGO              EAST BOSTON              MA
2830   1C4RDHDG8LC145808   Chrysler      DURANGO              MIAMI                    FL
2831   1C4RDHDG8LC145811   Chrysler      DURANGO              JACKSONVILLE             FL
2832   1C4RDHDG8LC145825   Chrysler      DURANGO              SYRACUSE                 NY
2833   1C4RDHDG8LC145839   Chrysler      DURANGO              MIAMI                    FL
2834   1C4RDHDG8LC145842   Chrysler      DURANGO              Miami                    FL
2835   1C4RDHDG8LC145856   Chrysler      DURANGO              ORLANDO                  FL
2836   1C4RDHDG8LC145887   Chrysler      DURANGO              ORLANDO                  FL
2837   1C4RDHDG8LC145890   Chrysler      DURANGO              FORT MYERS               FL
2838   1C4RDHDG8LC154718   Chrysler      DURANGO              COLLEGE PARK             GA
2839   1C4RDHDG8LC154721   Chrysler      DURANGO              LOUISVILLE               KY
2840   1C4RDHDG8LC154752   Chrysler      DURANGO              ORLANDO                  FL
2841   1C4RDHDG8LC154766   Chrysler      DURANGO              SAN ANTONIO              TX
2842   1C4RDHDG8LC154783   Chrysler      DURANGO              HOUSTON                  TX
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2843   1C4RDHDG8LC154847   Chrysler      DURANGO              PALM SPRINGS             CA
2844   1C4RDHDG8LC154850   Chrysler      DURANGO              SEATAC                   WA
2845   1C4RDHDG8LC204100   Chrysler      DURANGO              SAN ANTONIO              TX
2846   1C4RDHDG9JC281703   Chrysler      DURANGO              Houston                  TX
2847   1C4RDHDG9JC328812   Chrysler      DURANGO              Kent                     WA
2848   1C4RDHDG9LC145798   Chrysler      DURANGO              ORLANDO                  FL
2849   1C4RDHDG9LC145803   Chrysler      DURANGO              MIAMI                    FL
2850   1C4RDHDG9LC145817   Chrysler      DURANGO              TAMPA                    FL
2851   1C4RDHDG9LC145820   Chrysler      DURANGO              MIAMI                    FL
2852   1C4RDHDG9LC145834   Chrysler      DURANGO              FORT LAUDERDALE          FL
2853   1C4RDHDG9LC145848   Chrysler      DURANGO              ATLANTA                  GA
2854   1C4RDHDG9LC145879   Chrysler      DURANGO              JACKSON                  MS
2855   1C4RDHDG9LC145882   Chrysler      DURANGO              ORLANDO                  FL
2856   1C4RDHDG9LC153237   Chrysler      DURANGO              TUCSON                   AZ
2857   1C4RDHDG9LC153240   Chrysler      DURANGO              ONTARIO                  CA
2858   1C4RDHDG9LC154758   Chrysler      DURANGO              NASHVILLE                TN
2859   1C4RDHDG9LC154761   Chrysler      DURANGO              ORLANDO                  FL
2860   1C4RDHDG9LC154775   Chrysler      DURANGO              HOUSTON                  TX
2861   1C4RDHDG9LC154789   Chrysler      DURANGO              MCALLEN                  TX
2862   1C4RDHDG9LC154842   Chrysler      DURANGO              PHILADELPHIA             PA
2863   1C4RDHDG9LC154856   Chrysler      DURANGO              Tolleson                 AZ
2864   1C4RDHDGXJC328785   Chrysler      DURANGO              San Diego                CA
2865   1C4RDHDGXJC328799   Chrysler      DURANGO              SAN JOSE                 CA
2866   1C4RDHDGXJC345134   Chrysler      DURANGO              WHITE PLAINS             NY
2867   1C4RDHDGXLC145809   Chrysler      DURANGO              MIAMI                    FL
2868   1C4RDHDGXLC145826   Chrysler      DURANGO              ORLANDO                  FL
2869   1C4RDHDGXLC145843   Chrysler      DURANGO              DAVIE                    FL
2870   1C4RDHDGXLC145857   Chrysler      DURANGO              PORTLAND                 ME
2871   1C4RDHDGXLC145874   Chrysler      DURANGO              ORLANDO                  FL
2872   1C4RDHDGXLC145888   Chrysler      DURANGO              LOS ANGELES AP           CA
2873   1C4RDHDGXLC153232   Chrysler      DURANGO              PHOENIX                  AZ
2874   1C4RDHDGXLC154719   Chrysler      DURANGO              EAST BOSTON              MA
2875   1C4RDHDGXLC154722   Chrysler      DURANGO              FORT MYERS               FL
2876   1C4RDHDGXLC154753   Chrysler      DURANGO              MIAMI                    FL
2877   1C4RDHDGXLC154767   Chrysler      DURANGO              Houston                  TX
2878   1C4RDHDGXLC154770   Chrysler      DURANGO              PENSACOLA                FL
2879   1C4RDHDGXLC154784   Chrysler      DURANGO              DALLAS                   TX
2880   1C4RDHDGXLC154851   Chrysler      DURANGO              SOUTH SAN FRANC          CA
2881   1C4RDJAG0KC651191   Chrysler      DURANGO              PHILADELPHIA             PA
2882   1C4RDJAG0KC755583   Chrysler      DURANGO              WHITE PLAINS             NY
2883   1C4RDJAG1KC755401   Chrysler      DURANGO              LOS ANGELES              CA
2884   1C4RDJAG2KC755634   Chrysler      DURANGO              Webster                  NY
2885   1C4RDJAG3KC722058   Chrysler      DURANGO              NEWARK                   NJ
2886   1C4RDJAG3KC755349   Chrysler      DURANGO              LAS VEGAS                NV
2887   1C4RDJAG3KC755576   Chrysler      DURANGO              Atlanta                  GA
2888   1C4RDJAG5KC755370   Chrysler      DURANGO              SAN FRANCISCO            CA
2889   1C4RDJAG5KC755403   Chrysler      DURANGO              N. Las Vegas             NV
2890   1C4RDJAG6KC792783   Chrysler      DURANGO              DALLAS                   TX
2891   1C4RDJAG7KC721950   Chrysler      DURANGO              TULSA                    OK
2892   1C4RDJAG7KC755399   Chrysler      DURANGO              SAN DIEGO                CA
2893   1C4RDJAG9KC651271   Chrysler      DURANGO              KENNER                   LA
2894   1C4RDJAG9KC676400   Chrysler      DURANGO              FORT LAUDERDALE          FL
2895   1C4RDJAGXKC792740   Chrysler      DURANGO              OKLAHOMA CITY            OK
2896   1C4RDJAGXKC792768   Chrysler      DURANGO              SACRAMENTO               CA
2897   1C4RDJDG0JC282214   Chrysler      DURANGO              Statesville              NC
2898   1C4RDJDG0JC312358   Chrysler      DURANGO              Manheim                  PA
2899   1C4RDJDG0JC312408   Chrysler      DURANGO              Ocoee                    FL
2900   1C4RDJDG0KC676376   Chrysler      DURANGO              TAMPA                    FL
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2901   1C4RDJDG0KC780088   Chrysler      DURANGO              Des Moines               IA
2902   1C4RDJDG0LC153313   Chrysler      DURANGO              BOSTON                   MA
2903   1C4RDJDG0LC155076   Chrysler      DURANGO              JACKSONVILLE             FL
2904   1C4RDJDG0LC155093   Chrysler      DURANGO              KNOXVILLE                TN
2905   1C4RDJDG0LC155109   Chrysler      DURANGO              RALEIGH, DURHAM          NC
2906   1C4RDJDG0LC155191   Chrysler      DURANGO              Atlanta                  GA
2907   1C4RDJDG0LC155269   Chrysler      DURANGO              MILWAUKEE                WI
2908   1C4RDJDG0LC155272   Chrysler      DURANGO              NEW BERN                 NC
2909   1C4RDJDG0LC155286   Chrysler      DURANGO              DES PLAINES              US
2910   1C4RDJDG0LC204812   Chrysler      DURANGO              PHILADELPHIA             PA
2911   1C4RDJDG0LC213395   Chrysler      DURANGO              SAN JOSE                 CA
2912   1C4RDJDG0LC213400   Chrysler      DURANGO              Los Angeles              CA
2913   1C4RDJDG0LC213414   Chrysler      DURANGO              SAN FRANCISCO            CA
2914   1C4RDJDG0LC228821   Chrysler      DURANGO              DETROIT                  MI
2915   1C4RDJDG1JC329492   Chrysler      DURANGO              Fontana                  CA
2916   1C4RDJDG1KC651485   Chrysler      DURANGO              Bordentown               NJ
2917   1C4RDJDG1KC792721   Chrysler      DURANGO              KNOXVILLE                TN
2918   1C4RDJDG1LC153305   Chrysler      DURANGO              LAS VEGAS                NV
2919   1C4RDJDG1LC153336   Chrysler      DURANGO              SACRAMENTO               CA
2920   1C4RDJDG1LC155085   Chrysler      DURANGO              PITTSBURGH               PA
2921   1C4RDJDG1LC155099   Chrysler      DURANGO              RICHMOND                 VA
2922   1C4RDJDG1LC155202   Chrysler      DURANGO              SAINT PAUL               MN
2923   1C4RDJDG1LC155264   Chrysler      DURANGO              MILWAUKEE                WI
2924   1C4RDJDG1LC155278   Chrysler      DURANGO              CHICAGO                  IL
2925   1C4RDJDG1LC155281   Chrysler      DURANGO              CHICAGO                  IL
2926   1C4RDJDG1LC155300   Chrysler      DURANGO              CHICAGO                  IL
2927   1C4RDJDG1LC155345   Chrysler      DURANGO              SAINT PAUL               MN
2928   1C4RDJDG1LC204799   Chrysler      DURANGO              NEW BERN                 NC
2929   1C4RDJDG1LC204804   Chrysler      DURANGO              JACKSONVILLE             FL
2930   1C4RDJDG1LC213406   Chrysler      DURANGO              BURBANK                  CA
2931   1C4RDJDG1LC228827   Chrysler      DURANGO              CHICAGO                  IL
2932   1C4RDJDG1LC228830   Chrysler      DURANGO              DETROIT                  MI
2933   1C4RDJDG1LC260306   Chrysler      DURANGO              Dallas                   TX
2934   1C4RDJDG2JC282215   Chrysler      DURANGO              MALDEN                   MA
2935   1C4RDJDG2JC312331   Chrysler      DURANGO              Las Vegas                NV
2936   1C4RDJDG2JC329484   Chrysler      DURANGO              SAN DIEGO                CA
2937   1C4RDJDG2JC345457   Chrysler      DURANGO              San Francisco            CA
2938   1C4RDJDG2JC345488   Chrysler      DURANGO              BOSTON                   MA
2939   1C4RDJDG2KC792811   Chrysler      DURANGO              TAMPA                    FL
2940   1C4RDJDG2LC153300   Chrysler      DURANGO              ALBANY                   N
2941   1C4RDJDG2LC153328   Chrysler      DURANGO              LOS ANGELES AP           CA
2942   1C4RDJDG2LC155077   Chrysler      DURANGO              NEW BERN                 NC
2943   1C4RDJDG2LC155080   Chrysler      DURANGO              Parkville                MD
2944   1C4RDJDG2LC155094   Chrysler      DURANGO              RALIEGH                  NC
2945   1C4RDJDG2LC155113   Chrysler      DURANGO              RALIEGH                  NC
2946   1C4RDJDG2LC155208   Chrysler      DURANGO              PHOENIX                  AZ
2947   1C4RDJDG2LC155273   Chrysler      DURANGO              MIAMI                    FL
2948   1C4RDJDG2LC155287   Chrysler      DURANGO              CHICAGO                  IL
2949   1C4RDJDG2LC155290   Chrysler      DURANGO              DES MOINES               IA
2950   1C4RDJDG2LC204813   Chrysler      DURANGO              STERLING                 VA
2951   1C4RDJDG2LC213396   Chrysler      DURANGO              MONTEREY                 CA
2952   1C4RDJDG2LC228822   Chrysler      DURANGO              DETROIT                  MI
2953   1C4RDJDG2LC260301   Chrysler      DURANGO              WOODSON TERRACE          MO
2954   1C4RDJDG3JC414706   Chrysler      DURANGO              Chicago                  IL
2955   1C4RDJDG3KC651360   Chrysler      DURANGO              PENSACOLA                FL
2956   1C4RDJDG3KC755458   Chrysler      DURANGO              FRESNO                   CA
2957   1C4RDJDG3KC769814   Chrysler      DURANGO              BIRMINGHAM               AL
2958   1C4RDJDG3LC153306   Chrysler      DURANGO              STERLING                 VA
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2959   1C4RDJDG3LC153340   Chrysler      DURANGO              Phoenix                  AZ
2960   1C4RDJDG3LC155184   Chrysler      DURANGO              Albuquerque              NM
2961   1C4RDJDG3LC155198   Chrysler      DURANGO              Beaverton                OR
2962   1C4RDJDG3LC155265   Chrysler      DURANGO              ST LOUIS                 MO
2963   1C4RDJDG3LC155279   Chrysler      DURANGO              MILWAUKEE                WI
2964   1C4RDJDG3LC155296   Chrysler      DURANGO              SAINT LOUIS              MO
2965   1C4RDJDG3LC155301   Chrysler      DURANGO              CHICAGO                  IL
2966   1C4RDJDG3LC155346   Chrysler      DURANGO              CHICAGO O'HARE AP        IL
2967   1C4RDJDG3LC204805   Chrysler      DURANGO              NEW BERN                 NC
2968   1C4RDJDG3LC213391   Chrysler      DURANGO              SANTA ANA                CA
2969   1C4RDJDG3LC213407   Chrysler      DURANGO              SAN FRANCISCO            CA
2970   1C4RDJDG3LC213410   Chrysler      DURANGO              SAN JOSE                 CA
2971   1C4RDJDG3LC228828   Chrysler      DURANGO              DETROIT                  MI
2972   1C4RDJDG3LC228831   Chrysler      DURANGO              CHATTANOOGA              TN
2973   1C4RDJDG3LC260310   Chrysler      DURANGO              SAINT LOUIS              MO
2974   1C4RDJDG4JC282250   Chrysler      DURANGO              FARMINGTON               NM
2975   1C4RDJDG4JC312427   Chrysler      DURANGO              Atlanta                  GA
2976   1C4RDJDG4KC755484   Chrysler      DURANGO              KNOXVILLE                TN
2977   1C4RDJDG4LC153301   Chrysler      DURANGO              PITTSBURGH               PA
2978   1C4RDJDG4LC153315   Chrysler      DURANGO              BUFFALO                  NY
2979   1C4RDJDG4LC153329   Chrysler      DURANGO              BURBANK                  CA
2980   1C4RDJDG4LC155078   Chrysler      DURANGO              Hebron                   KY
2981   1C4RDJDG4LC155081   Chrysler      DURANGO              FRESNO                   CA
2982   1C4RDJDG4LC155095   Chrysler      DURANGO              NORFOLK                  VA
2983   1C4RDJDG4LC155114   Chrysler      DURANGO              COLUMBIA                 SC
2984   1C4RDJDG4LC155274   Chrysler      DURANGO              CHICAGO                  IL
2985   1C4RDJDG4LC155288   Chrysler      DURANGO              HARRISBURG               PA
2986   1C4RDJDG4LC155291   Chrysler      DURANGO              DALLAS                   TX
2987   1C4RDJDG4LC204800   Chrysler      DURANGO              WILMINGTON               NC
2988   1C4RDJDG4LC213397   Chrysler      DURANGO              BURLINGAME               CA
2989   1C4RDJDG4LC228823   Chrysler      DURANGO              CHICAGO                  IL
2990   1C4RDJDG4LC260302   Chrysler      DURANGO              SAINT LOUIS              MO
2991   1C4RDJDG5KC755462   Chrysler      DURANGO              Irving                   TX
2992   1C4RDJDG5KC755476   Chrysler      DURANGO              Atlanta                  GA
2993   1C4RDJDG5KC755512   Chrysler      DURANGO              FAYETTEVILLE             GA
2994   1C4RDJDG5LC153307   Chrysler      DURANGO              STERLING                 VA
2995   1C4RDJDG5LC153310   Chrysler      DURANGO              ROCHESTER                NY
2996   1C4RDJDG5LC153324   Chrysler      DURANGO              WEST PALM BEACH          FL
2997   1C4RDJDG5LC153341   Chrysler      DURANGO              FORT LAUDERDALE          FL
2998   1C4RDJDG5LC155168   Chrysler      DURANGO              Dallas                   TX
2999   1C4RDJDG5LC155171   Chrysler      DURANGO              INGLEWOOD                CA
3000   1C4RDJDG5LC155283   Chrysler      DURANGO              SAVANNAH                 GA
3001   1C4RDJDG5LC155297   Chrysler      DURANGO              CHICAGO                  IL
3002   1C4RDJDG5LC155347   Chrysler      DURANGO              GRAND RAPIDS             MI
3003   1C4RDJDG5LC155350   Chrysler      DURANGO              PITTSBURGH               PA
3004   1C4RDJDG5LC213392   Chrysler      DURANGO              SAN FRANCISCO            CA
3005   1C4RDJDG5LC213408   Chrysler      DURANGO              SAN JOSE                 CA
3006   1C4RDJDG5LC228829   Chrysler      DURANGO              DETROIT                  MI
3007   1C4RDJDG6JC282279   Chrysler      DURANGO              Albuquerque              NM
3008   1C4RDJDG6JC312333   Chrysler      DURANGO              DENVER                   CO
3009   1C4RDJDG6KC769810   Chrysler      DURANGO              KNOXVILLE                TN
3010   1C4RDJDG6KC792732   Chrysler      DURANGO              PHILADELPHIA             PA
3011   1C4RDJDG6LC153302   Chrysler      DURANGO              PHILADELPHIA             PA
3012   1C4RDJDG6LC155079   Chrysler      DURANGO              PHILADELPHIA             PA
3013   1C4RDJDG6LC155096   Chrysler      DURANGO              WARWICK                  RI
3014   1C4RDJDG6LC155101   Chrysler      DURANGO              HOUSTON                  TX
3015   1C4RDJDG6LC155115   Chrysler      DURANGO              NEW BERN                 NC
3016   1C4RDJDG6LC155177   Chrysler      DURANGO              Amarillo                 TX
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3017   1C4RDJDG6LC155180   Chrysler      DURANGO              SAN JOSE                 CA
3018   1C4RDJDG6LC155275   Chrysler      DURANGO              CHICAGO                  IL
3019   1C4RDJDG6LC155292   Chrysler      DURANGO              CLEVELAND                OH
3020   1C4RDJDG6LC213398   Chrysler      DURANGO              SACRAMENTO               CA
3021   1C4RDJDG6LC228824   Chrysler      DURANGO              INDIANAPOLIS             IN
3022   1C4RDJDG6LC260298   Chrysler      DURANGO              DETROIT                  MI
3023   1C4RDJDG6LC260303   Chrysler      DURANGO              WEST PALM BEACH          FL
3024   1C4RDJDG7JC282243   Chrysler      DURANGO              Atlanta                  GA
3025   1C4RDJDG7JC312406   Chrysler      DURANGO              Greensboro               NC
3026   1C4RDJDG7JC414577   Chrysler      DURANGO              BOSTON                   MA
3027   1C4RDJDG7JC414658   Chrysler      DURANGO              TAMPA                    FL
3028   1C4RDJDG7LC153308   Chrysler      DURANGO              MIAMI                    FL
3029   1C4RDJDG7LC153311   Chrysler      DURANGO              FORT LAUDERDALE          FL
3030   1C4RDJDG7LC153339   Chrysler      DURANGO              LAS VEGAS                NV
3031   1C4RDJDG7LC155107   Chrysler      DURANGO              COLUMBIA                 SC
3032   1C4RDJDG7LC155110   Chrysler      DURANGO              NEW BERN                 NC
3033   1C4RDJDG7LC155205   Chrysler      DURANGO              INGLEWOOD                CA
3034   1C4RDJDG7LC155267   Chrysler      DURANGO              DES MOINES               IA
3035   1C4RDJDG7LC155270   Chrysler      DURANGO              CHICAGO                  IL
3036   1C4RDJDG7LC155284   Chrysler      DURANGO              SAINT LOUIS              MO
3037   1C4RDJDG7LC155298   Chrysler      DURANGO              DES MOINES               IA
3038   1C4RDJDG7LC155348   Chrysler      DURANGO              WOODSON TERRACE          MO
3039   1C4RDJDG7LC155351   Chrysler      DURANGO              INDIANAPOLIS             IN
3040   1C4RDJDG7LC204791   Chrysler      DURANGO              SAVANNAH                 GA
3041   1C4RDJDG7LC213393   Chrysler      DURANGO              SAN FRANCISCO            CA
3042   1C4RDJDG7LC213409   Chrysler      DURANGO              PITTSBURGH               PA
3043   1C4RDJDG7LC260309   Chrysler      DURANGO              KNOXVILLE                TN
3044   1C4RDJDG8KC722052   Chrysler      DURANGO              Dallas                   TX
3045   1C4RDJDG8KC764690   Chrysler      DURANGO              OAKLAND                  CA
3046   1C4RDJDG8LC153303   Chrysler      DURANGO              NEW BERN                 NC
3047   1C4RDJDG8LC153320   Chrysler      DURANGO              LAS VEGAS                NV
3048   1C4RDJDG8LC155083   Chrysler      DURANGO              BALTIMORE                MD
3049   1C4RDJDG8LC155097   Chrysler      DURANGO              CHARLOTTE                NC
3050   1C4RDJDG8LC155116   Chrysler      DURANGO              GREENSBORO               NC
3051   1C4RDJDG8LC155200   Chrysler      DURANGO              KENNER                   LA
3052   1C4RDJDG8LC155262   Chrysler      DURANGO              CHICAGO                  IL
3053   1C4RDJDG8LC155276   Chrysler      DURANGO              GRAND RAPIDS             MI
3054   1C4RDJDG8LC155293   Chrysler      DURANGO              INDIANAPOLIS             IN
3055   1C4RDJDG8LC155343   Chrysler      DURANGO              CHICAGO O'HARE AP        IL
3056   1C4RDJDG8LC204797   Chrysler      DURANGO              TAMPA                    FL
3057   1C4RDJDG8LC213399   Chrysler      DURANGO              SOUTH SAN FRANC          CA
3058   1C4RDJDG8LC228825   Chrysler      DURANGO              CHICAGO                  IL
3059   1C4RDJDG8LC260299   Chrysler      DURANGO              LOS ANGELES              CA
3060   1C4RDJDG8LC260304   Chrysler      DURANGO              WOODSON TERRACE          MO
3061   1C4RDJDG9KC651427   Chrysler      DURANGO              Atlanta                  GA
3062   1C4RDJDG9KC755478   Chrysler      DURANGO              KNOXVILLE                TN
3063   1C4RDJDG9KC792787   Chrysler      DURANGO              Port Newark              NJ
3064   1C4RDJDG9LC153309   Chrysler      DURANGO              STERLING                 VA
3065   1C4RDJDG9LC153312   Chrysler      DURANGO              ALBANY                   NY
3066   1C4RDJDG9LC155092   Chrysler      DURANGO              GREENSBORO               NC
3067   1C4RDJDG9LC155108   Chrysler      DURANGO              CHARLESTON               SC
3068   1C4RDJDG9LC155111   Chrysler      DURANGO              ATLANTA                  GA
3069   1C4RDJDG9LC155206   Chrysler      DURANGO              Fresno                   CA
3070   1C4RDJDG9LC155299   Chrysler      DURANGO              PENSACOLA                FL
3071   1C4RDJDG9LC155349   Chrysler      DURANGO              WHITE PLAINS             NY
3072   1C4RDJDG9LC204792   Chrysler      DURANGO              SAN DIEGO                CA
3073   1C4RDJDG9LC204811   Chrysler      DURANGO              Dallas                   TX
3074   1C4RDJDG9LC213394   Chrysler      DURANGO              INGLEWOOD                CA
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3075   1C4RDJDG9LC213413   Chrysler      DURANGO              SEA TAC                  WA
3076   1C4RDJDG9LC228820   Chrysler      DURANGO              SAINT PAUL               MN
3077   1C4RDJDGXJC282219   Chrysler      DURANGO              Greensboro               NC
3078   1C4RDJDGXJC290563   Chrysler      DURANGO              Detroit                  MI
3079   1C4RDJDGXJC290580   Chrysler      DURANGO              Atlanta                  GA
3080   1C4RDJDGXJC323769   Chrysler      DURANGO              Ventura                  CA
3081   1C4RDJDGXJC345478   Chrysler      DURANGO              TRACY                    CA
3082   1C4RDJDGXJC414704   Chrysler      DURANGO              Warwick                  RI
3083   1C4RDJDGXKC651386   Chrysler      DURANGO              Jacksonville             FL
3084   1C4RDJDGXKC755456   Chrysler      DURANGO              SACRAMENTO               CA
3085   1C4RDJDGXKC769843   Chrysler      DURANGO              Slidell                  LA
3086   1C4RDJDGXKC780096   Chrysler      DURANGO              Scottsdale               AZ
3087   1C4RDJDGXLC153299   Chrysler      DURANGO              MANCHESTER               US
3088   1C4RDJDGXLC153304   Chrysler      DURANGO              STERLING                 VA
3089   1C4RDJDGXLC153318   Chrysler      DURANGO              PHILADELPHIA             PA
3090   1C4RDJDGXLC155084   Chrysler      DURANGO              STERLING                 VA
3091   1C4RDJDGXLC155098   Chrysler      DURANGO              NEW BERN                 NC
3092   1C4RDJDGXLC155201   Chrysler      DURANGO              Houston                  TX
3093   1C4RDJDGXLC155263   Chrysler      DURANGO              INDIANAPOLIS             IN
3094   1C4RDJDGXLC155277   Chrysler      DURANGO              DETROIT                  MI
3095   1C4RDJDGXLC155294   Chrysler      DURANGO              MILWAUKEE                WI
3096   1C4RDJDGXLC155344   Chrysler      DURANGO              CHICAGO                  IL
3097   1C4RDJDGXLC204798   Chrysler      DURANGO              NEWARK                   NJ
3098   1C4RDJDGXLC204803   Chrysler      DURANGO              BALTIMORE                MD
3099   1C4RDJDGXLC213405   Chrysler      DURANGO              FRESNO                   CA
3100   1C4RDJDGXLC228826   Chrysler      DURANGO              Milwaukee                WI
3101   1C4RJFAG0KC653318   Chrysler      GR                   GREEN BAY                WI
3102   1C4RJFAG0KC692796   Chrysler      GR                   BOSTON                   MA
3103   1C4RJFAG0KC771658   Chrysler      GR                   PHILADELPHIA             PA
3104   1C4RJFAG0KC771708   Chrysler      GR                   ALLENTOWN                US
3105   1C4RJFAG0KC771725   Chrysler      GR                   STERLING                 US
3106   1C4RJFAG0KC771773   Chrysler      GR                   PHILADELPHIA             PA
3107   1C4RJFAG0KC771823   Chrysler      GR                   ONTARIO                  CA
3108   1C4RJFAG0KC771840   Chrysler      GR                   FORT LAUDERDALE          FL
3109   1C4RJFAG0KC793255   Chrysler      GR                   ALBUQUERQUE              NM
3110   1C4RJFAG0KC793286   Chrysler      GR                   ST Paul                  MN
3111   1C4RJFAG0KC793353   Chrysler      GR                   BLOOMINGTON              IL
3112   1C4RJFAG0KC793398   Chrysler      GR                   GRAND RAPIDS             MI
3113   1C4RJFAG0KC793403   Chrysler      GR                   TAMPA                    US
3114   1C4RJFAG0KC793420   Chrysler      GR                   Tampa                    FL
3115   1C4RJFAG0KC793451   Chrysler      GR                   PHILADELPHIA             PA
3116   1C4RJFAG0KC802357   Chrysler      GR                   ST PAUL                  MN
3117   1C4RJFAG0KC803752   Chrysler      GR                   SAINT PAUL               MN
3118   1C4RJFAG0KC812404   Chrysler      GR                   GRAND RAPIDS             MI
3119   1C4RJFAG0KC817862   Chrysler      GR                   ROANOKE                  VA
3120   1C4RJFAG1KC771541   Chrysler      GR                   Dallas                   TX
3121   1C4RJFAG1KC771717   Chrysler      GR                   WEST PALM BEACH          FL
3122   1C4RJFAG1KC771720   Chrysler      GR                   PHILADELPHIA             PA
3123   1C4RJFAG1KC771796   Chrysler      GR                   Atlanta                  GA
3124   1C4RJFAG1KC771832   Chrysler      GR                   PHILADELPHIA             PA
3125   1C4RJFAG1KC771880   Chrysler      GR                   STERLING                 VA
3126   1C4RJFAG1KC793183   Chrysler      GR                   STERLING                 VA
3127   1C4RJFAG1KC793216   Chrysler      GR                   NEW YORK CITY            NY
3128   1C4RJFAG1KC793393   Chrysler      GR                   INDIANAPOLIS             IN
3129   1C4RJFAG1KC793426   Chrysler      GR                   HOUSTON                  TX
3130   1C4RJFAG1KC793443   Chrysler      GR                   Plainfield               IN
3131   1C4RJFAG1KC802349   Chrysler      GR                   INGLEWOOD                CA
3132   1C4RJFAG1KC803761   Chrysler      GR                   ST PAUL                  MN
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3133   1C4RJFAG1KC812413   Chrysler      GR                   GRAND RAPIDS             MI
3134   1C4RJFAG1KC812430   Chrysler      GR                   GRAND RAPIDS             MI
3135   1C4RJFAG1KC812458   Chrysler      GR                   DETROIT                  MI
3136   1C4RJFAG1KC817871   Chrysler      GR                   ORLANDO                  FL
3137   1C4RJFAG1KC817904   Chrysler      GR                   GREENVILLE               NC
3138   1C4RJFAG2KC771533   Chrysler      GR                   LAS VEGAS                NV
3139   1C4RJFAG2KC771743   Chrysler      GR                   STERLING                 VA
3140   1C4RJFAG2KC771791   Chrysler      GR                   GRAND RAPIDS             MI
3141   1C4RJFAG2KC771810   Chrysler      GR                   PHILADELPHIA             PA
3142   1C4RJFAG2KC771841   Chrysler      GR                   DALLAS                   TX
3143   1C4RJFAG2KC793189   Chrysler      GR                   NORFOLK                  VA
3144   1C4RJFAG2KC793354   Chrysler      GR                   BLOOMINGTON              IL
3145   1C4RJFAG2KC793371   Chrysler      GR                   CHICAGO                  IL
3146   1C4RJFAG2KC793385   Chrysler      GR                   DES PLAINES              US
3147   1C4RJFAG2KC793418   Chrysler      GR                   DALLAS                   TX
3148   1C4RJFAG2KC793466   Chrysler      GR                   ST PAUL                  MN
3149   1C4RJFAG2KC802358   Chrysler      GR                   RICHMOND                 VA
3150   1C4RJFAG2KC803736   Chrysler      GR                   MINNEAPOLIS              MN
3151   1C4RJFAG2KC812453   Chrysler      GR                   Atlanta                  GA
3152   1C4RJFAG2KC812467   Chrysler      GR                   MIAMI                    FL
3153   1C4RJFAG2KC812470   Chrysler      GR                   MILWAUKEE                WI
3154   1C4RJFAG2KC817863   Chrysler      GR                   CLEVELAND                OH
3155   1C4RJFAG3KC771511   Chrysler      GR                   MIAMI                    FL
3156   1C4RJFAG3KC771590   Chrysler      GR                   Miami                    FL
3157   1C4RJFAG3KC771654   Chrysler      GR                   PHILADELPHIA             US
3158   1C4RJFAG3KC771699   Chrysler      GR                   LOS ANGELES              CA
3159   1C4RJFAG3KC771718   Chrysler      GR                   PHILADELPHIA             PA
3160   1C4RJFAG3KC771797   Chrysler      GR                   Dallas                   TX
3161   1C4RJFAG3KC793279   Chrysler      GR                   DALLAS                   TX
3162   1C4RJFAG3KC793282   Chrysler      GR                   BOSTON                   MA
3163   1C4RJFAG3KC793296   Chrysler      GR                   CHICAGO                  IL
3164   1C4RJFAG3KC793380   Chrysler      GR                   CHICAGO                  IL
3165   1C4RJFAG3KC793444   Chrysler      GR                   ST PAUL                  MN
3166   1C4RJFAG3KC793461   Chrysler      GR                   CHICAGO                  IL
3167   1C4RJFAG3KC802353   Chrysler      GR                   SAINT PAUL               MN
3168   1C4RJFAG3KC807438   Chrysler      GR                   SAINT LOUIS              MO
3169   1C4RJFAG3KC811733   Chrysler      GR                   ORLANDO                  FL
3170   1C4RJFAG3KC812414   Chrysler      GR                   Hebron                   KY
3171   1C4RJFAG3KC812462   Chrysler      GR                   CHICAGO                  IL
3172   1C4RJFAG3KC817838   Chrysler      GR                   CLEVELAND                OH
3173   1C4RJFAG3KC817841   Chrysler      GR                   DETROIT                  MI
3174   1C4RJFAG3KC817855   Chrysler      GR                   Houston                  TX
3175   1C4RJFAG3KC817886   Chrysler      GR                   CLEVELAND                OH
3176   1C4RJFAG4KC653225   Chrysler      GR                   DENVER                   CO
3177   1C4RJFAG4KC653323   Chrysler      GR                   BIRMINGHAM               AL
3178   1C4RJFAG4KC771677   Chrysler      GR                   PHILADELPHIA             PA
3179   1C4RJFAG4KC771744   Chrysler      GR                   SAINT LOUIS              MO
3180   1C4RJFAG4KC771808   Chrysler      GR                   FORT MYERS               FL
3181   1C4RJFAG4KC771839   Chrysler      GR                   STERLING                 VA
3182   1C4RJFAG4KC793226   Chrysler      GR                   BLOOMINGTON              IL
3183   1C4RJFAG4KC793369   Chrysler      GR                   KENNER                   LA
3184   1C4RJFAG4KC793372   Chrysler      GR                   MILWAUKEE                WI
3185   1C4RJFAG4KC793405   Chrysler      GR                   DES PLAINES              IL
3186   1C4RJFAG4KC802331   Chrysler      GR                   OKLAHOMA CITY            OK
3187   1C4RJFAG4KC803740   Chrysler      GR                   SAINT PAUL               MN
3188   1C4RJFAG4KC803768   Chrysler      GR                   CHICAGO                  IL
3189   1C4RJFAG4KC812440   Chrysler      GR                   HARRISBURG               PA
3190   1C4RJFAG4KC812454   Chrysler      GR                   HANOVER                  MD
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3191   1C4RJFAG4KC817864   Chrysler      GR                   HEBRON                   KY
3192   1C4RJFAG4KC817881   Chrysler      GR                   VANDALIA                 OH
3193   1C4RJFAG5KC677162   Chrysler      GR                   LOS ANGELES              CA
3194   1C4RJFAG5KC771526   Chrysler      GR                   SAN DIEGO                CA
3195   1C4RJFAG5KC771574   Chrysler      GR                   STERLING                 VA
3196   1C4RJFAG5KC771610   Chrysler      GR                   PITTSBURGH               PA
3197   1C4RJFAG5KC771672   Chrysler      GR                   NEW YORK CITY            NY
3198   1C4RJFAG5KC771686   Chrysler      GR                   NEWARK                   NJ
3199   1C4RJFAG5KC771722   Chrysler      GR                   BRONX                    NY
3200   1C4RJFAG5KC771767   Chrysler      GR                   PHILADELPHIA             PA
3201   1C4RJFAG5KC771770   Chrysler      GR                   WARWICK                  RI
3202   1C4RJFAG5KC771784   Chrysler      GR                   PHILADELPHIA             PA
3203   1C4RJFAG5KC771879   Chrysler      GR                   Atlanta                  GA
3204   1C4RJFAG5KC793168   Chrysler      GR                   NEW BERN                 NC
3205   1C4RJFAG5KC793221   Chrysler      GR                   EL PASO                  TX
3206   1C4RJFAG5KC793302   Chrysler      GR                   LOS ANGELES              CA
3207   1C4RJFAG5KC793378   Chrysler      GR                   CHICAGO O'HARE AP        IL
3208   1C4RJFAG5KC802340   Chrysler      GR                   SAINT PAUL               MN
3209   1C4RJFAG5KC817873   Chrysler      GR                   DETROIT                  MI
3210   1C4RJFAG5KC817890   Chrysler      GR                   TAMPA                    FL
3211   1C4RJFAG6KC771602   Chrysler      GR                   Atlanta                  GA
3212   1C4RJFAG6KC771700   Chrysler      GR                   PHILADELPHIA             PA
3213   1C4RJFAG6KC771809   Chrysler      GR                   PHILADELPHIA             PA
3214   1C4RJFAG6KC771812   Chrysler      GR                   PHILADELPHIA             PA
3215   1C4RJFAG6KC793163   Chrysler      GR                   STERLING                 VA
3216   1C4RJFAG6KC793194   Chrysler      GR                   STERLING                 VA
3217   1C4RJFAG6KC793227   Chrysler      GR                   BIRMINGHAM               AL
3218   1C4RJFAG6KC793289   Chrysler      GR                   CHICAGO                  IL
3219   1C4RJFAG6KC793387   Chrysler      GR                   LAS VEGAS                NV
3220   1C4RJFAG6KC793423   Chrysler      GR                   ST PAUL                  MN
3221   1C4RJFAG6KC811709   Chrysler      GR                   ORLANDO                  FL
3222   1C4RJFAG6KC812438   Chrysler      GR                   GRAND RAPIDS             MI
3223   1C4RJFAG6KC812472   Chrysler      GR                   BLOOMINGTON              IL
3224   1C4RJFAG6KC817882   Chrysler      GR                   DETROIT                  MI
3225   1C4RJFAG6KC817901   Chrysler      GR                   SAINT LOUIS              MO
3226   1C4RJFAG7KC692892   Chrysler      GR                   LOS ANGELES              CA
3227   1C4RJFAG7KC771592   Chrysler      GR                   PITTSBURGH               PA
3228   1C4RJFAG7KC771706   Chrysler      GR                   PITTSBURGH               PA
3229   1C4RJFAG7KC771740   Chrysler      GR                   HARTFORD                 CT
3230   1C4RJFAG7KC771883   Chrysler      GR                   DES MOINES               IA
3231   1C4RJFAG7KC793169   Chrysler      GR                   FORT LAUDERDALE          FL
3232   1C4RJFAG7KC793205   Chrysler      GR                   COLUMBUS                 OH
3233   1C4RJFAG7KC793236   Chrysler      GR                   LOS ANGELES              CA
3234   1C4RJFAG7KC793317   Chrysler      GR                   BALLWIN                  MO
3235   1C4RJFAG7KC793348   Chrysler      GR                   Florissant               MO
3236   1C4RJFAG7KC793351   Chrysler      GR                   SAINT PAUL               MN
3237   1C4RJFAG7KC793396   Chrysler      GR                   SAINT PAUL               MN
3238   1C4RJFAG7KC802355   Chrysler      GR                   ST PAUL                  MN
3239   1C4RJFAG7KC803733   Chrysler      GR                   ORLANDO                  FL
3240   1C4RJFAG7KC812402   Chrysler      GR                   PITTSBURGH               PA
3241   1C4RJFAG7KC817843   Chrysler      GR                   INDIANAPOLIS             IN
3242   1C4RJFAG7KC817860   Chrysler      GR                   Bridgeton                MO
3243   1C4RJFAG7KC817891   Chrysler      GR                   MEMPHIS                  TN
3244   1C4RJFAG8KC692870   Chrysler      GR                   ANCHORAGE                AK
3245   1C4RJFAG8KC692884   Chrysler      GR                   MIAMI                    FL
3246   1C4RJFAG8KC771519   Chrysler      GR                   LAS VEGAS                NV
3247   1C4RJFAG8KC771536   Chrysler      GR                   SAN FRANCISCO            CA
3248   1C4RJFAG8KC771679   Chrysler      GR                   DENVER                   CO
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3249   1C4RJFAG8KC771696   Chrysler      GR                   LAS VEGAS                NV
3250   1C4RJFAG8KC771777   Chrysler      GR                   CLEVELAND                OH
3251   1C4RJFAG8KC771827   Chrysler      GR                   PHILADELPHIA             PA
3252   1C4RJFAG8KC771844   Chrysler      GR                   LAUREL                   MD
3253   1C4RJFAG8KC793276   Chrysler      GR                   GRAND RAPIDS             MI
3254   1C4RJFAG8KC793357   Chrysler      GR                   INDIANAPOLIS             IN
3255   1C4RJFAG8KC793360   Chrysler      GR                   LAS VEGAS                NV
3256   1C4RJFAG8KC793374   Chrysler      GR                   CHICAGO                  IL
3257   1C4RJFAG8KC793391   Chrysler      GR                   CHICAGO                  IL
3258   1C4RJFAG8KC793407   Chrysler      GR                   SAINT PAUL               MN
3259   1C4RJFAG8KC802350   Chrysler      GR                   Atlanta                  GA
3260   1C4RJFAG8KC811713   Chrysler      GR                   PHILADELPHIA             PA
3261   1C4RJFAG8KC811727   Chrysler      GR                   KANSAS CITY              MO
3262   1C4RJFAG8KC812425   Chrysler      GR                   Fredericksburg           VA
3263   1C4RJFAG8KC817852   Chrysler      GR                   NEW BERN                 NC
3264   1C4RJFAG8KC817902   Chrysler      GR                   SAINT LOUIS              MO
3265   1C4RJFAG9KC771495   Chrysler      GR                   Los Angeles              CA
3266   1C4RJFAG9KC771545   Chrysler      GR                   Atlanta                  GA
3267   1C4RJFAG9KC771657   Chrysler      GR                   STERLING                 VA
3268   1C4RJFAG9KC771710   Chrysler      GR                   PHILADELPHIA             PA
3269   1C4RJFAG9KC771724   Chrysler      GR                   PHILADELPHIA             PA
3270   1C4RJFAG9KC771755   Chrysler      GR                   PHILADELPHIA             PA
3271   1C4RJFAG9KC771772   Chrysler      GR                   WHITE PLAINS             NY
3272   1C4RJFAG9KC771870   Chrysler      GR                   VANDALIA                 OH
3273   1C4RJFAG9KC793285   Chrysler      GR                   CLEVELAND                OH
3274   1C4RJFAG9KC793318   Chrysler      GR                   SAN ANTONIO              TX
3275   1C4RJFAG9KC793352   Chrysler      GR                   CHICAGO                  IL
3276   1C4RJFAG9KC793383   Chrysler      GR                   ORLANDO                  FL
3277   1C4RJFAG9KC793447   Chrysler      GR                   KNOXVILLE                TN
3278   1C4RJFAG9KC802325   Chrysler      GR                   GRAND RAPIDS             MI
3279   1C4RJFAG9KC802339   Chrysler      GR                   ST PAUL                  MN
3280   1C4RJFAG9KC803765   Chrysler      GR                   BURBANK                  CA
3281   1C4RJFAG9KC812420   Chrysler      GR                   CLEVELAND                OH
3282   1C4RJFAG9KC812465   Chrysler      GR                   PITTSBURGH               PA
3283   1C4RJFAG9KC817861   Chrysler      GR                   DETROIT                  MI
3284   1C4RJFAG9KC817875   Chrysler      GR                   DALLAS                   TX
3285   1C4RJFAG9KC817889   Chrysler      GR                   DETROIT                  MI
3286   1C4RJFAG9KC817908   Chrysler      GR                   CHICAGO                  IL
3287   1C4RJFAGXKC665220   Chrysler      GR                   WEST PALM BEACH          FL
3288   1C4RJFAGXKC692773   Chrysler      GR                   KENNER                   LA
3289   1C4RJFAGXKC692952   Chrysler      GR                   Anchorage                AK
3290   1C4RJFAGXKC771506   Chrysler      GR                   LAS VEGAS                NV
3291   1C4RJFAGXKC771747   Chrysler      GR                   PHILADELPHIA             PA
3292   1C4RJFAGXKC771764   Chrysler      GR                   PHILADELPHIA             PA
3293   1C4RJFAGXKC771814   Chrysler      GR                   PHILADELPHIA             PA
3294   1C4RJFAGXKC771828   Chrysler      GR                   GREENSBORO               NC
3295   1C4RJFAGXKC771831   Chrysler      GR                   PHILADELPHIA             US
3296   1C4RJFAGXKC793165   Chrysler      GR                   PHILADELPHIA             PA
3297   1C4RJFAGXKC793229   Chrysler      GR                   STERLING                 VA
3298   1C4RJFAGXKC793280   Chrysler      GR                   LAS VEGAS                NV
3299   1C4RJFAGXKC793294   Chrysler      GR                   MILWAUKEE                WI
3300   1C4RJFAGXKC793313   Chrysler      GR                   CHARLESTON               WV
3301   1C4RJFAGXKC793344   Chrysler      GR                   CHICAGO O'HARE AP        IL
3302   1C4RJFAGXKC793408   Chrysler      GR                   Irving                   TX
3303   1C4RJFAGXKC802348   Chrysler      GR                   HOUSTON                  TX
3304   1C4RJFAGXKC802351   Chrysler      GR                   MILWAUKEE                WI
3305   1C4RJFAGXKC811714   Chrysler      GR                   INDIANAPOLIS             IN
3306   1C4RJFAGXKC817853   Chrysler      GR                   CHARLOTTE                US
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3307   1C4RJFAGXKC817867   Chrysler      GR                   PHILADELPHIA             PA
3308   1C4RJFAGXKC817903   Chrysler      GR                   TAMPA                    FL
3309   1C4RJFBG0JC418608   Chrysler      GR                   NEWARK                   NJ
3310   1C4RJFBG0KC653477   Chrysler      GR                   LOS ANGELES              CA
3311   1C4RJFBG0KC711443   Chrysler      GR                   TUCSON                   AZ
3312   1C4RJFBG0KC711474   Chrysler      GR                   PITTSBURGH               PA
3313   1C4RJFBG0KC711488   Chrysler      GR                   FRESNO                   CA
3314   1C4RJFBG0KC711491   Chrysler      GR                   KNOXVILLE                TN
3315   1C4RJFBG0KC711524   Chrysler      GR                   PALM SPRINGS             CA
3316   1C4RJFBG0KC711538   Chrysler      GR                   KANSAS CITY              MO
3317   1C4RJFBG0KC711541   Chrysler      GR                   KNOXVILLE                TN
3318   1C4RJFBG0KC711569   Chrysler      GR                   GRAND RAPIDS             MI
3319   1C4RJFBG0KC711572   Chrysler      GR                   Oak Lawn                 IL
3320   1C4RJFBG0KC711586   Chrysler      GR                   PHILADELPHIA             PA
3321   1C4RJFBG0KC711684   Chrysler      GR                   RONKONKOMA               NY
3322   1C4RJFBG0KC711698   Chrysler      GR                   KNOXVILLE                TN
3323   1C4RJFBG0KC711703   Chrysler      GR                   ORLANDO                  FL
3324   1C4RJFBG0KC711717   Chrysler      GR                   ATLANTA                  GA
3325   1C4RJFBG0KC711720   Chrysler      GR                   SYRACUSE                 NY
3326   1C4RJFBG0KC711734   Chrysler      GR                   ALBANY                   NY
3327   1C4RJFBG0KC711751   Chrysler      GR                   ORLANDO                  FL
3328   1C4RJFBG0KC711765   Chrysler      GR                   STERLING                 VA
3329   1C4RJFBG0KC711782   Chrysler      GR                   INDIANAPOLIS             IN
3330   1C4RJFBG0KC711796   Chrysler      GR                   SCRANTON                 PA
3331   1C4RJFBG0KC711801   Chrysler      GR                   Aberdeen                 MD
3332   1C4RJFBG0KC711815   Chrysler      GR                   NEW BERN                 NC
3333   1C4RJFBG0KC711829   Chrysler      GR                   DETROIT                  MI
3334   1C4RJFBG0KC711846   Chrysler      GR                   NEWARK                   NJ
3335   1C4RJFBG0KC711863   Chrysler      GR                   ORLANDO                  FL
3336   1C4RJFBG0KC711877   Chrysler      GR                   PHOENIX                  AZ
3337   1C4RJFBG0KC711880   Chrysler      GR                   ORLANDO                  FL
3338   1C4RJFBG0KC711894   Chrysler      GR                   ATLANTA                  GA
3339   1C4RJFBG0KC711913   Chrysler      GR                   RALEIGH                  NC
3340   1C4RJFBG0KC711927   Chrysler      GR                   RONKONKOMA               NY
3341   1C4RJFBG0KC711930   Chrysler      GR                   Teterboro                NJ
3342   1C4RJFBG0KC711961   Chrysler      GR                   PITTSBURGH               PA
3343   1C4RJFBG0KC711975   Chrysler      GR                   BUFFALO                  NY
3344   1C4RJFBG0KC711992   Chrysler      GR                   FORT MYERS               FL
3345   1C4RJFBG0KC712012   Chrysler      GR                   CHARLOTTE                NC
3346   1C4RJFBG0KC712026   Chrysler      GR                   ATLANTA                  GA
3347   1C4RJFBG0KC712057   Chrysler      GR                   CHARLOTTE                NC
3348   1C4RJFBG0KC712060   Chrysler      GR                   MONROE                   LA
3349   1C4RJFBG0KC712088   Chrysler      GR                   WILMINGTON               NC
3350   1C4RJFBG0KC712091   Chrysler      GR                   DES MOINES               IA
3351   1C4RJFBG0KC712110   Chrysler      GR                   HANOVER                  MD
3352   1C4RJFBG0KC712124   Chrysler      GR                   PHILADELPHIA             PA
3353   1C4RJFBG0KC712138   Chrysler      GR                   MT EPHRAIM               NJ
3354   1C4RJFBG0KC712155   Chrysler      GR                   BALTIMORE                MD
3355   1C4RJFBG0KC712169   Chrysler      GR                   ORLANDO                  FL
3356   1C4RJFBG0KC712172   Chrysler      GR                   BUFFALO                  NY
3357   1C4RJFBG0KC712186   Chrysler      GR                   FAYETTEVILLE             US
3358   1C4RJFBG0KC712205   Chrysler      GR                   NEWARK                   NJ
3359   1C4RJFBG0KC712219   Chrysler      GR                   BOSTON                   MA
3360   1C4RJFBG0KC712222   Chrysler      GR                   Tampa                    FL
3361   1C4RJFBG0KC712253   Chrysler      GR                   WILMINGTON               NC
3362   1C4RJFBG0KC712267   Chrysler      GR                   Sterling                 VA
3363   1C4RJFBG0KC712298   Chrysler      GR                   ALBUQUERQUE              NM
3364   1C4RJFBG0KC712303   Chrysler      GR                   ALBUQUERQUE              NM
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3365   1C4RJFBG0KC712317   Chrysler      GR                   PALM SPRINGS             CA
3366   1C4RJFBG0KC712351   Chrysler      GR                   HOUSTON                  TX
3367   1C4RJFBG0KC712379   Chrysler      GR                   MIAMI                    FL
3368   1C4RJFBG0KC712382   Chrysler      GR                   CHICAGO O'HARE AP        IL
3369   1C4RJFBG0KC712396   Chrysler      GR                   PHILADELPHIA             US
3370   1C4RJFBG0KC712401   Chrysler      GR                   DES PLAINES              US
3371   1C4RJFBG0KC712415   Chrysler      GR                   DES MOINES               IA
3372   1C4RJFBG0KC723754   Chrysler      GR                   Los Angeles              CA
3373   1C4RJFBG0KC734625   Chrysler      GR                   NEW ORLEANS              LA
3374   1C4RJFBG0KC756558   Chrysler      GR                   STERLING                 VA
3375   1C4RJFBG0KC756561   Chrysler      GR                   PHILADELPHIA             PA
3376   1C4RJFBG0KC756608   Chrysler      GR                   Chicago                  IL
3377   1C4RJFBG0KC756611   Chrysler      GR                   HANOVER                  MD
3378   1C4RJFBG0KC781850   Chrysler      GR                   Des Moines               IA
3379   1C4RJFBG0KC781864   Chrysler      GR                   CHICAGO                  IL
3380   1C4RJFBG0KC781914   Chrysler      GR                   PHOENIX                  AZ
3381   1C4RJFBG0KC781928   Chrysler      GR                   LOS ANGELES              CA
3382   1C4RJFBG0KC782013   Chrysler      GR                   Warr Acres               OK
3383   1C4RJFBG0KC782061   Chrysler      GR                   N. Las Vegas             NV
3384   1C4RJFBG0KC782089   Chrysler      GR                   MOSINEE                  WI
3385   1C4RJFBG1JC331378   Chrysler      GR                   MIAMI                    FL
3386   1C4RJFBG1JC373405   Chrysler      GR                   BOSTON                   MA
3387   1C4RJFBG1KC711435   Chrysler      GR                   BURLINGAME               CA
3388   1C4RJFBG1KC711452   Chrysler      GR                   LOS ANGELES              CA
3389   1C4RJFBG1KC711466   Chrysler      GR                   BURBANK                  CA
3390   1C4RJFBG1KC711516   Chrysler      GR                   SACRAMENTO               CA
3391   1C4RJFBG1KC711533   Chrysler      GR                   LOS ANGELES              CA
3392   1C4RJFBG1KC711550   Chrysler      GR                   LOUISVILLE               KY
3393   1C4RJFBG1KC711578   Chrysler      GR                   ASTORIA                  NY
3394   1C4RJFBG1KC711581   Chrysler      GR                   Massapequa               NY
3395   1C4RJFBG1KC711595   Chrysler      GR                   Bensalem                 PA
3396   1C4RJFBG1KC711600   Chrysler      GR                   DETROIT                  MI
3397   1C4RJFBG1KC711645   Chrysler      GR                   GRAND RAPIDS             MI
3398   1C4RJFBG1KC711659   Chrysler      GR                   STERLING                 VA
3399   1C4RJFBG1KC711662   Chrysler      GR                   KANSAS CITY              MO
3400   1C4RJFBG1KC711676   Chrysler      GR                   PROVIDENCE               RI
3401   1C4RJFBG1KC711709   Chrysler      GR                   NEW YORK CITY            NY
3402   1C4RJFBG1KC711712   Chrysler      GR                   NEWARK                   NJ
3403   1C4RJFBG1KC711726   Chrysler      GR                   BOSTON                   MA
3404   1C4RJFBG1KC711743   Chrysler      GR                   ALLENTOWN                US
3405   1C4RJFBG1KC711757   Chrysler      GR                   PROVIDENCE               RI
3406   1C4RJFBG1KC711760   Chrysler      GR                   BIRMINGHAN               AL
3407   1C4RJFBG1KC711774   Chrysler      GR                   ROCHESTER                NY
3408   1C4RJFBG1KC711791   Chrysler      GR                   BOSTON                   MA
3409   1C4RJFBG1KC711807   Chrysler      GR                   WARWICK                  RI
3410   1C4RJFBG1KC711824   Chrysler      GR                   Landover Hills           MD
3411   1C4RJFBG1KC711838   Chrysler      GR                   RONKONKOMA               NY
3412   1C4RJFBG1KC711841   Chrysler      GR                   ROANOKE                  VA
3413   1C4RJFBG1KC711855   Chrysler      GR                   STERLING                 VA
3414   1C4RJFBG1KC711872   Chrysler      GR                   SAINT PAUL               MN
3415   1C4RJFBG1KC711886   Chrysler      GR                   GREENSBORO               GA
3416   1C4RJFBG1KC711905   Chrysler      GR                   CHARLOTTE                NC
3417   1C4RJFBG1KC711919   Chrysler      GR                   NEW YORK CITY            NY
3418   1C4RJFBG1KC711922   Chrysler      GR                   PITTSBURGH               PA
3419   1C4RJFBG1KC711953   Chrysler      GR                   BUTLER                   PA
3420   1C4RJFBG1KC711967   Chrysler      GR                   CHICAGO                  IL
3421   1C4RJFBG1KC711970   Chrysler      GR                   NEW BERN                 NC
3422   1C4RJFBG1KC711984   Chrysler      GR                   RICHMOND                 VA
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3423   1C4RJFBG1KC711998   Chrysler      GR                   WHITE PLAINS             NY
3424   1C4RJFBG1KC712004   Chrysler      GR                   ORLANDO                  FL
3425   1C4RJFBG1KC712018   Chrysler      GR                   ORLANDO                  FL
3426   1C4RJFBG1KC712021   Chrysler      GR                   WEST COLUMBIA            SC
3427   1C4RJFBG1KC712035   Chrysler      GR                   NORFOLK                  VA
3428   1C4RJFBG1KC712049   Chrysler      GR                   DALLAS                   TX
3429   1C4RJFBG1KC712052   Chrysler      GR                   BUFFALO                  NY
3430   1C4RJFBG1KC712066   Chrysler      GR                   WEST PALM BEACH          FL
3431   1C4RJFBG1KC712097   Chrysler      GR                   Hebron                   KY
3432   1C4RJFBG1KC712102   Chrysler      GR                   KNOXVILLE                TN
3433   1C4RJFBG1KC712116   Chrysler      GR                   CHARLOTTE                NC
3434   1C4RJFBG1KC712133   Chrysler      GR                   PORTLAND                 ME
3435   1C4RJFBG1KC712147   Chrysler      GR                   NEWARK                   NJ
3436   1C4RJFBG1KC712150   Chrysler      GR                   Philadelphia             PA
3437   1C4RJFBG1KC712164   Chrysler      GR                   SYRACUSE                 NY
3438   1C4RJFBG1KC712181   Chrysler      GR                   CHICAGO                  IL
3439   1C4RJFBG1KC712214   Chrysler      GR                   NEW YORK CITY            NY
3440   1C4RJFBG1KC712228   Chrysler      GR                   BOSTON                   MA
3441   1C4RJFBG1KC712262   Chrysler      GR                   SOUTH BURLINGTO          VT
3442   1C4RJFBG1KC712312   Chrysler      GR                   MILWAUKEE                WI
3443   1C4RJFBG1KC712357   Chrysler      GR                   EGG HARBOR TOWN          NJ
3444   1C4RJFBG1KC712360   Chrysler      GR                   MILWAUKEE                WI
3445   1C4RJFBG1KC712374   Chrysler      GR                   NEW YORK CITY            NY
3446   1C4RJFBG1KC712388   Chrysler      GR                   MIAMI                    FL
3447   1C4RJFBG1KC712391   Chrysler      GR                   SHREVEPORT               LA
3448   1C4RJFBG1KC712407   Chrysler      GR                   KANSAS CITY              MO
3449   1C4RJFBG1KC734620   Chrysler      GR                   PANAMA CITY              FL
3450   1C4RJFBG1KC781937   Chrysler      GR                   OKLAHOMA CITY            OK
3451   1C4RJFBG1KC781954   Chrysler      GR                   CHICAGO                  IL
3452   1C4RJFBG2JC331292   Chrysler      GR                   Pittsburgh               PA
3453   1C4RJFBG2JC341918   Chrysler      GR                   ORLANDO                  FL
3454   1C4RJFBG2KC692670   Chrysler      GR                   Atlanta                  GA
3455   1C4RJFBG2KC711458   Chrysler      GR                   LOS ANGELES              CA
3456   1C4RJFBG2KC711461   Chrysler      GR                   DALLAS                   TX
3457   1C4RJFBG2KC711475   Chrysler      GR                   BURBANK                  CA
3458   1C4RJFBG2KC711511   Chrysler      GR                   LAS VEGAS                NV
3459   1C4RJFBG2KC711539   Chrysler      GR                   Atlanta                  GA
3460   1C4RJFBG2KC711542   Chrysler      GR                   Atlanta                  GA
3461   1C4RJFBG2KC711573   Chrysler      GR                   Dallas                   TX
3462   1C4RJFBG2KC711587   Chrysler      GR                   BOSTON                   MA
3463   1C4RJFBG2KC711606   Chrysler      GR                   LOUISVILLE               KY
3464   1C4RJFBG2KC711623   Chrysler      GR                   BOSTON                   MA
3465   1C4RJFBG2KC711637   Chrysler      GR                   ORLANDO                  FL
3466   1C4RJFBG2KC711640   Chrysler      GR                   DETROIT                  MI
3467   1C4RJFBG2KC711668   Chrysler      GR                   AUSTIN                   TX
3468   1C4RJFBG2KC711685   Chrysler      GR                   BOSTON                   MA
3469   1C4RJFBG2KC711704   Chrysler      GR                   HARTFORD                 CT
3470   1C4RJFBG2KC711718   Chrysler      GR                   DETROIT                  MI
3471   1C4RJFBG2KC711721   Chrysler      GR                   TAMPA                    FL
3472   1C4RJFBG2KC711735   Chrysler      GR                   Hebron                   KY
3473   1C4RJFBG2KC711752   Chrysler      GR                   Tampa                    FL
3474   1C4RJFBG2KC711766   Chrysler      GR                   MANCHESTER               US
3475   1C4RJFBG2KC711783   Chrysler      GR                   ORLANDO                  FL
3476   1C4RJFBG2KC711797   Chrysler      GR                   Parkville                MD
3477   1C4RJFBG2KC711802   Chrysler      GR                   WARWICK                  RI
3478   1C4RJFBG2KC711816   Chrysler      GR                   CLEVELAND                OH
3479   1C4RJFBG2KC711833   Chrysler      GR                   ORLANDO                  FL
3480   1C4RJFBG2KC711847   Chrysler      GR                   ROANOKE                  VA
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3481   1C4RJFBG2KC711850   Chrysler      GR                   EGG HARBOR TOWN          NJ
3482   1C4RJFBG2KC711864   Chrysler      GR                   Johnston                 RI
3483   1C4RJFBG2KC711881   Chrysler      GR                   DURHAM                   NC
3484   1C4RJFBG2KC711895   Chrysler      GR                   Scottsdale               AZ
3485   1C4RJFBG2KC711900   Chrysler      GR                   WINTER PARK              FL
3486   1C4RJFBG2KC711914   Chrysler      GR                   SALT LAKE CITY           UT
3487   1C4RJFBG2KC711928   Chrysler      GR                   MANHATTAN                NY
3488   1C4RJFBG2KC711945   Chrysler      GR                   PITTSBURGH               PA
3489   1C4RJFBG2KC711959   Chrysler      GR                   RALEIGH                  NC
3490   1C4RJFBG2KC711976   Chrysler      GR                   Nashville                TN
3491   1C4RJFBG2KC712030   Chrysler      GR                   CHICAGO                  IL
3492   1C4RJFBG2KC712044   Chrysler      GR                   CHARLOTTE                US
3493   1C4RJFBG2KC712058   Chrysler      GR                   Nashville                TN
3494   1C4RJFBG2KC712061   Chrysler      GR                   Union City               GA
3495   1C4RJFBG2KC712089   Chrysler      GR                   ORLANDO                  FL
3496   1C4RJFBG2KC712092   Chrysler      GR                   CHARLOTTE                NC
3497   1C4RJFBG2KC712108   Chrysler      GR                   GRAND RAPIDS             MI
3498   1C4RJFBG2KC712125   Chrysler      GR                   BUFFALO                  NY
3499   1C4RJFBG2KC712187   Chrysler      GR                   TAMPA                    FL
3500   1C4RJFBG2KC712190   Chrysler      GR                   ATLANTA                  GA
3501   1C4RJFBG2KC712206   Chrysler      GR                   NEW YORK CITY            NY
3502   1C4RJFBG2KC712223   Chrysler      GR                   STERLING                 VA
3503   1C4RJFBG2KC712237   Chrysler      GR                   STERLING                 VA
3504   1C4RJFBG2KC712240   Chrysler      GR                   NEWARK                   NJ
3505   1C4RJFBG2KC712254   Chrysler      GR                   MORRISVILLE              NC
3506   1C4RJFBG2KC712268   Chrysler      GR                   WEST PALM BEACH          FL
3507   1C4RJFBG2KC712299   Chrysler      GR                   MANCHESTER               US
3508   1C4RJFBG2KC712318   Chrysler      GR                   CHARLESTON               WV
3509   1C4RJFBG2KC712321   Chrysler      GR                   Jacksonville             FL
3510   1C4RJFBG2KC712349   Chrysler      GR                   BLOOMINGTON              IL
3511   1C4RJFBG2KC712352   Chrysler      GR                   RENO                     NV
3512   1C4RJFBG2KC712383   Chrysler      GR                   ATLANTA                  GA
3513   1C4RJFBG2KC712397   Chrysler      GR                   Columbus                 OH
3514   1C4RJFBG2KC745691   Chrysler      GR                   Atlanta                  GA
3515   1C4RJFBG2KC756545   Chrysler      GR                   STERLING                 VA
3516   1C4RJFBG2KC756609   Chrysler      GR                   HARRISBURG               PA
3517   1C4RJFBG2KC756660   Chrysler      GR                   DES PLAINES              US
3518   1C4RJFBG2KC781705   Chrysler      GR                   KENNER                   LA
3519   1C4RJFBG2KC781977   Chrysler      GR                   NEW BERN                 NC
3520   1C4RJFBG2KC781980   Chrysler      GR                   COLUMBUS                 OH
3521   1C4RJFBG3JC347078   Chrysler      GR                   SAINT PAUL               MN
3522   1C4RJFBG3KC653022   Chrysler      GR                   Kansas City              MO
3523   1C4RJFBG3KC692676   Chrysler      GR                   Atlanta                  GA
3524   1C4RJFBG3KC711436   Chrysler      GR                   Los Angeles              CA
3525   1C4RJFBG3KC711453   Chrysler      GR                   SAN DIEGO                US
3526   1C4RJFBG3KC711467   Chrysler      GR                   LOS ANGELES              CA
3527   1C4RJFBG3KC711484   Chrysler      GR                   ONTARIO                  CA
3528   1C4RJFBG3KC711498   Chrysler      GR                   Scottsdale               AZ
3529   1C4RJFBG3KC711517   Chrysler      GR                   NEW BERN                 NC
3530   1C4RJFBG3KC711534   Chrysler      GR                   Fontana                  CA
3531   1C4RJFBG3KC711548   Chrysler      GR                   TAMPA                    FL
3532   1C4RJFBG3KC711551   Chrysler      GR                   JACKSON                  MS
3533   1C4RJFBG3KC711565   Chrysler      GR                   PHILADELPHIA             PA
3534   1C4RJFBG3KC711579   Chrysler      GR                   Los Angeles              CA
3535   1C4RJFBG3KC711582   Chrysler      GR                   DETROIT                  MI
3536   1C4RJFBG3KC711596   Chrysler      GR                   Hamilton                 OH
3537   1C4RJFBG3KC711601   Chrysler      GR                   DETROIT                  MI
3538   1C4RJFBG3KC711615   Chrysler      GR                   PHILADELPHIA             PA
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3539   1C4RJFBG3KC711629   Chrysler      GR                   PHOENIX                  AZ
3540   1C4RJFBG3KC711646   Chrysler      GR                   ORLANDO                  FL
3541   1C4RJFBG3KC711663   Chrysler      GR                   SAINT LOUIS              MO
3542   1C4RJFBG3KC711677   Chrysler      GR                   EGG HARBOR TOWN          NJ
3543   1C4RJFBG3KC711680   Chrysler      GR                   East Boston              MA
3544   1C4RJFBG3KC711694   Chrysler      GR                   West Mifflin             PA
3545   1C4RJFBG3KC711713   Chrysler      GR                   BOSTON                   MA
3546   1C4RJFBG3KC711775   Chrysler      GR                   DES MOINES               IA
3547   1C4RJFBG3KC711789   Chrysler      GR                   WHITE PLAINS             NY
3548   1C4RJFBG3KC711792   Chrysler      GR                   COLUMBUS                 OH
3549   1C4RJFBG3KC711811   Chrysler      GR                   WHITE PLAINS             NY
3550   1C4RJFBG3KC711825   Chrysler      GR                   FORT MYERS               FL
3551   1C4RJFBG3KC711839   Chrysler      GR                   PHILADELPHIA             PA
3552   1C4RJFBG3KC711842   Chrysler      GR                   BUFFALO                  NY
3553   1C4RJFBG3KC711856   Chrysler      GR                   CHARLOTTE                NC
3554   1C4RJFBG3KC711873   Chrysler      GR                   SARASOTA                 FL
3555   1C4RJFBG3KC711887   Chrysler      GR                   STERLING                 VA
3556   1C4RJFBG3KC711890   Chrysler      GR                   CHARLOTTE                US
3557   1C4RJFBG3KC711906   Chrysler      GR                   JACKSONVILLE             FL
3558   1C4RJFBG3KC711937   Chrysler      GR                   PHILADELPHIA             PA
3559   1C4RJFBG3KC711954   Chrysler      GR                   BALTIMORE                MD
3560   1C4RJFBG3KC711971   Chrysler      GR                   SAN FRANCISCO            CA
3561   1C4RJFBG3KC711985   Chrysler      GR                   WEST PALM BEACH          FL
3562   1C4RJFBG3KC712019   Chrysler      GR                   MORROW                   GA
3563   1C4RJFBG3KC712022   Chrysler      GR                   JACKSONVILLE             FL
3564   1C4RJFBG3KC712036   Chrysler      GR                   KNOXVILLE                TN
3565   1C4RJFBG3KC712053   Chrysler      GR                   WEST PALM BEACH          FL
3566   1C4RJFBG3KC712067   Chrysler      GR                   STERLING                 VA
3567   1C4RJFBG3KC712084   Chrysler      GR                   TAMPA                    FL
3568   1C4RJFBG3KC712098   Chrysler      GR                   SALT LAKE CITY           US
3569   1C4RJFBG3KC712117   Chrysler      GR                   PHILADELPHIA             PA
3570   1C4RJFBG3KC712120   Chrysler      GR                   ALEXANDRIA               VA
3571   1C4RJFBG3KC712134   Chrysler      GR                   COLLEGE PARK             GA
3572   1C4RJFBG3KC712148   Chrysler      GR                   STERLING                 VA
3573   1C4RJFBG3KC712151   Chrysler      GR                   BALTIMORE                MD
3574   1C4RJFBG3KC712165   Chrysler      GR                   ORLANDO                  FL
3575   1C4RJFBG3KC712179   Chrysler      GR                   NORFOLK                  VA
3576   1C4RJFBG3KC712182   Chrysler      GR                   ALBANY                   N
3577   1C4RJFBG3KC712196   Chrysler      GR                   ATLANTA                  GA
3578   1C4RJFBG3KC712229   Chrysler      GR                   BIRMINGHAN               AL
3579   1C4RJFBG3KC712246   Chrysler      GR                   WHITE PLAINS             NY
3580   1C4RJFBG3KC712327   Chrysler      GR                   KENNER                   LA
3581   1C4RJFBG3KC712330   Chrysler      GR                   KANSAS CITY              MO
3582   1C4RJFBG3KC712344   Chrysler      GR                   STERLING                 VA
3583   1C4RJFBG3KC712358   Chrysler      GR                   KNOXVILLE                TN
3584   1C4RJFBG3KC712375   Chrysler      GR                   KNOXVILLE                TN
3585   1C4RJFBG3KC712392   Chrysler      GR                   GRAND RAPIDS             MI
3586   1C4RJFBG3KC723750   Chrysler      GR                   DALLAS                   TX
3587   1C4RJFBG3KC734621   Chrysler      GR                   Atlanta                  GA
3588   1C4RJFBG3KC756571   Chrysler      GR                   CHARLOTTE                NC
3589   1C4RJFBG3KC756585   Chrysler      GR                   Leesburg                 VA
3590   1C4RJFBG3KC756621   Chrysler      GR                   ATLANTA                  GA
3591   1C4RJFBG3KC756697   Chrysler      GR                   MIAMI                    FL
3592   1C4RJFBG3KC781874   Chrysler      GR                   Atlanta                  GA
3593   1C4RJFBG3KC781910   Chrysler      GR                   Atlanta                  GA
3594   1C4RJFBG3KC781972   Chrysler      GR                   Irving                   TX
3595   1C4RJFBG4JC341919   Chrysler      GR                   KENNER                   LA
3596   1C4RJFBG4KC711428   Chrysler      GR                   LOS ANGELES              CA
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3597   1C4RJFBG4KC711445   Chrysler      GR                   Teterboro                NJ
3598   1C4RJFBG4KC711462   Chrysler      GR                   SACRAMENTO               CA
3599   1C4RJFBG4KC711493   Chrysler      GR                   Phoenix                  AZ
3600   1C4RJFBG4KC711526   Chrysler      GR                   Hayward                  CA
3601   1C4RJFBG4KC711543   Chrysler      GR                   DALLAS                   TX
3602   1C4RJFBG4KC711557   Chrysler      GR                   SAINT LOUIS              MO
3603   1C4RJFBG4KC711560   Chrysler      GR                   DETROIT                  MI
3604   1C4RJFBG4KC711574   Chrysler      GR                   PORTLAND                 ME
3605   1C4RJFBG4KC711591   Chrysler      GR                   SAINT PAUL               MN
3606   1C4RJFBG4KC711624   Chrysler      GR                   KNOXVILLE                TN
3607   1C4RJFBG4KC711641   Chrysler      GR                   Rockville Centr          NY
3608   1C4RJFBG4KC711655   Chrysler      GR                   PHOENIX                  AZ
3609   1C4RJFBG4KC711686   Chrysler      GR                   BUFFALO                  NY
3610   1C4RJFBG4KC711705   Chrysler      GR                   BIRMINGHAM               AL
3611   1C4RJFBG4KC711722   Chrysler      GR                   BOSTON                   MA
3612   1C4RJFBG4KC711736   Chrysler      GR                   Detroit                  MI
3613   1C4RJFBG4KC711753   Chrysler      GR                   NEW BERN                 NC
3614   1C4RJFBG4KC711770   Chrysler      GR                   FAYETTEVILLE             GA
3615   1C4RJFBG4KC711784   Chrysler      GR                   WARWICK                  RI
3616   1C4RJFBG4KC711798   Chrysler      GR                   BOSTON                   MA
3617   1C4RJFBG4KC711803   Chrysler      GR                   PITTSBURGH               PA
3618   1C4RJFBG4KC711817   Chrysler      GR                   Atlanta                  GA
3619   1C4RJFBG4KC711834   Chrysler      GR                   Hebron                   KY
3620   1C4RJFBG4KC711848   Chrysler      GR                   NEW BERN                 NC
3621   1C4RJFBG4KC711851   Chrysler      GR                   TAMPA                    FL
3622   1C4RJFBG4KC711865   Chrysler      GR                   BOSTON                   MA
3623   1C4RJFBG4KC711879   Chrysler      GR                   NEWARK                   NJ
3624   1C4RJFBG4KC711882   Chrysler      GR                   PITTSBURGH               PA
3625   1C4RJFBG4KC711901   Chrysler      GR                   Indianapolis             IN
3626   1C4RJFBG4KC711929   Chrysler      GR                   CLEVELAND                OH
3627   1C4RJFBG4KC711932   Chrysler      GR                   HANOVER                  MD
3628   1C4RJFBG4KC711946   Chrysler      GR                   Brooklyn                 NY
3629   1C4RJFBG4KC711977   Chrysler      GR                   MILWAUKEE                WI
3630   1C4RJFBG4KC711980   Chrysler      GR                   GREENSBORO               NC
3631   1C4RJFBG4KC712000   Chrysler      GR                   WHITE PLAINS             NY
3632   1C4RJFBG4KC712014   Chrysler      GR                   TAMPA                    FL
3633   1C4RJFBG4KC712028   Chrysler      GR                   BALTIMORE                MD
3634   1C4RJFBG4KC712031   Chrysler      GR                   WILMINGTON               NC
3635   1C4RJFBG4KC712045   Chrysler      GR                   Pittsburgh               PA
3636   1C4RJFBG4KC712059   Chrysler      GR                   JACKSONVILLE             FL
3637   1C4RJFBG4KC712093   Chrysler      GR                   SOUTH BURLINGTO          VT
3638   1C4RJFBG4KC712109   Chrysler      GR                   PHILADELPHIA             PA
3639   1C4RJFBG4KC712112   Chrysler      GR                   MIAMI                    FL
3640   1C4RJFBG4KC712126   Chrysler      GR                   BIRMINGHAN               AL
3641   1C4RJFBG4KC712143   Chrysler      GR                   Atlanta                  GA
3642   1C4RJFBG4KC712157   Chrysler      GR                   Clearwater               FL
3643   1C4RJFBG4KC712160   Chrysler      GR                   Tampa                    FL
3644   1C4RJFBG4KC712174   Chrysler      GR                   NEWARK                   NJ
3645   1C4RJFBG4KC712188   Chrysler      GR                   BOSTON                   MA
3646   1C4RJFBG4KC712191   Chrysler      GR                   WARWICK                  RI
3647   1C4RJFBG4KC712207   Chrysler      GR                   PHILADELPHIA             PA
3648   1C4RJFBG4KC712210   Chrysler      GR                   ORLANDO                  FL
3649   1C4RJFBG4KC712238   Chrysler      GR                   SYRACUSE                 NY
3650   1C4RJFBG4KC712255   Chrysler      GR                   TAMPA                    FL
3651   1C4RJFBG4KC712269   Chrysler      GR                   BOSTON                   MA
3652   1C4RJFBG4KC712272   Chrysler      GR                   BOSTON                   MA
3653   1C4RJFBG4KC712305   Chrysler      GR                   ASTORIA                  NY
3654   1C4RJFBG4KC712319   Chrysler      GR                   DES PLAINES              US
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3655   1C4RJFBG4KC712336   Chrysler      GR                   SAINT LOUIS              MO
3656   1C4RJFBG4KC712367   Chrysler      GR                   DES MOINES               IA
3657   1C4RJFBG4KC712370   Chrysler      GR                   LOS ANGELES              CA
3658   1C4RJFBG4KC712384   Chrysler      GR                   RONKONKOMA               NY
3659   1C4RJFBG4KC712398   Chrysler      GR                   CHARLOTTE                NC
3660   1C4RJFBG4KC712403   Chrysler      GR                   INDIANAPOLIS             IN
3661   1C4RJFBG4KC712420   Chrysler      GR                   Memphis                  TN
3662   1C4RJFBG4KC745689   Chrysler      GR                   COLLEGE PARK             GA
3663   1C4RJFBG4KC745692   Chrysler      GR                   NEWPORT BEACH            CA
3664   1C4RJFBG4KC756627   Chrysler      GR                   CHICAGO                  IL
3665   1C4RJFBG4KC781706   Chrysler      GR                   KENNER                   LA
3666   1C4RJFBG4KC781883   Chrysler      GR                   CHEEKTOWAGA              NY
3667   1C4RJFBG4KC782029   Chrysler      GR                   Dallas                   TX
3668   1C4RJFBG5JC331335   Chrysler      GR                   Tampa                    FL
3669   1C4RJFBG5KC692677   Chrysler      GR                   BATON ROUGE              LA
3670   1C4RJFBG5KC711423   Chrysler      GR                   BURBANK                  CA
3671   1C4RJFBG5KC711437   Chrysler      GR                   BURLINGAME               CA
3672   1C4RJFBG5KC711440   Chrysler      GR                   SAN JOSE                 CA
3673   1C4RJFBG5KC711454   Chrysler      GR                   PALM SPRINGS             CA
3674   1C4RJFBG5KC711485   Chrysler      GR                   SACRAMENTO               CA
3675   1C4RJFBG5KC711504   Chrysler      GR                   LOS ANGELES              CA
3676   1C4RJFBG5KC711518   Chrysler      GR                   LOS ANGELES              CA
3677   1C4RJFBG5KC711521   Chrysler      GR                   SACRAMENTO               CA
3678   1C4RJFBG5KC711552   Chrysler      GR                   PITTSBURGH               PA
3679   1C4RJFBG5KC711566   Chrysler      GR                   WEST PALM BEACH          FL
3680   1C4RJFBG5KC711583   Chrysler      GR                   PROVIDENCE               RI
3681   1C4RJFBG5KC711597   Chrysler      GR                   CHICAGO                  IL
3682   1C4RJFBG5KC711602   Chrysler      GR                   GRAND RAPIDS             MI
3683   1C4RJFBG5KC711616   Chrysler      GR                   Hebron                   KY
3684   1C4RJFBG5KC711633   Chrysler      GR                   GRAND RAPIDS             MI
3685   1C4RJFBG5KC711647   Chrysler      GR                   SAINT LOUIS              MO
3686   1C4RJFBG5KC711650   Chrysler      GR                   SAINT LOUIS              MO
3687   1C4RJFBG5KC711664   Chrysler      GR                   Florissant               MO
3688   1C4RJFBG5KC711678   Chrysler      GR                   PORTLAND                 OR
3689   1C4RJFBG5KC711681   Chrysler      GR                   ALBANY                   NY
3690   1C4RJFBG5KC711695   Chrysler      GR                   Union City               GA
3691   1C4RJFBG5KC711714   Chrysler      GR                   CHICAGO                  IL
3692   1C4RJFBG5KC711728   Chrysler      GR                   NEW YORK CITY            NY
3693   1C4RJFBG5KC711731   Chrysler      GR                   WHITE PLAINS             NY
3694   1C4RJFBG5KC711745   Chrysler      GR                   FORT LAUDERDALE          FL
3695   1C4RJFBG5KC711762   Chrysler      GR                   Manheim                  PA
3696   1C4RJFBG5KC711776   Chrysler      GR                   NEW YORK CITY            NY
3697   1C4RJFBG5KC711793   Chrysler      GR                   NEW BERN                 NC
3698   1C4RJFBG5KC711809   Chrysler      GR                   PANAMA CITY              FL
3699   1C4RJFBG5KC711812   Chrysler      GR                   STERLING                 VA
3700   1C4RJFBG5KC711826   Chrysler      GR                   SARASOTA                 FL
3701   1C4RJFBG5KC711843   Chrysler      GR                   WEST PALM BEACH          FL
3702   1C4RJFBG5KC711857   Chrysler      GR                   WEST PALM BEACH          FL
3703   1C4RJFBG5KC711860   Chrysler      GR                   CHARLESTON               WV
3704   1C4RJFBG5KC711888   Chrysler      GR                   Atlanta                  GA
3705   1C4RJFBG5KC711891   Chrysler      GR                   NAPLES                   FL
3706   1C4RJFBG5KC711907   Chrysler      GR                   BOSTON                   MA
3707   1C4RJFBG5KC711924   Chrysler      GR                   RONKONKOMA               NY
3708   1C4RJFBG5KC711938   Chrysler      GR                   NEW BERN                 NC
3709   1C4RJFBG5KC711941   Chrysler      GR                   ALLENTOWN                US
3710   1C4RJFBG5KC711955   Chrysler      GR                   Atlanta                  GA
3711   1C4RJFBG5KC711972   Chrysler      GR                   Hapeville                GA
3712   1C4RJFBG5KC711986   Chrysler      GR                   Killeen                  TX
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3713   1C4RJFBG5KC712006   Chrysler      GR                   PORTLAND                 ME
3714   1C4RJFBG5KC712023   Chrysler      GR                   MIAMI                    FL
3715   1C4RJFBG5KC712040   Chrysler      GR                   ALBANY                   GA
3716   1C4RJFBG5KC712054   Chrysler      GR                   Atlanta                  GA
3717   1C4RJFBG5KC712068   Chrysler      GR                   ORLANDO                  FL
3718   1C4RJFBG5KC712071   Chrysler      GR                   BUFFALO                  NY
3719   1C4RJFBG5KC712099   Chrysler      GR                   Alcoa                    TN
3720   1C4RJFBG5KC712104   Chrysler      GR                   SAN DIEGO                CA
3721   1C4RJFBG5KC712121   Chrysler      GR                   NEW BERN                 NC
3722   1C4RJFBG5KC712135   Chrysler      GR                   TAMPA                    FL
3723   1C4RJFBG5KC712152   Chrysler      GR                   Manheim                  PA
3724   1C4RJFBG5KC712166   Chrysler      GR                   MANCHESTER               US
3725   1C4RJFBG5KC712183   Chrysler      GR                   SYRACUSE                 NY
3726   1C4RJFBG5KC712202   Chrysler      GR                   Detroit                  MI
3727   1C4RJFBG5KC712216   Chrysler      GR                   NEW YORK CITY            NY
3728   1C4RJFBG5KC712247   Chrysler      GR                   NEW YORK CITY            NY
3729   1C4RJFBG5KC712250   Chrysler      GR                   NEW BERN                 NC
3730   1C4RJFBG5KC712264   Chrysler      GR                   WHITE PLAINS             NY
3731   1C4RJFBG5KC712278   Chrysler      GR                   CHICAGO                  IL
3732   1C4RJFBG5KC712295   Chrysler      GR                   SAN JOSE                 CA
3733   1C4RJFBG5KC712328   Chrysler      GR                   KANSAS CITY              MO
3734   1C4RJFBG5KC712376   Chrysler      GR                   HARTFORD                 CT
3735   1C4RJFBG5KC712393   Chrysler      GR                   LAS VEGAS                NV
3736   1C4RJFBG5KC712409   Chrysler      GR                   PHILADELPHIA             PA
3737   1C4RJFBG5KC712412   Chrysler      GR                   MILWAUKEE                WI
3738   1C4RJFBG5KC734619   Chrysler      GR                   Atlanta                  GA
3739   1C4RJFBG5KC756555   Chrysler      GR                   FORT LAUDERDALE          FL
3740   1C4RJFBG5KC756569   Chrysler      GR                   MYRTLE BEACH             SC
3741   1C4RJFBG5KC756667   Chrysler      GR                   DALLAS                   TX
3742   1C4RJFBG5KC781780   Chrysler      GR                   TAMPA                    FL
3743   1C4RJFBG5KC781875   Chrysler      GR                   PHOENIX                  AZ
3744   1C4RJFBG5KC781908   Chrysler      GR                   STERLING                 VA
3745   1C4RJFBG5KC781939   Chrysler      GR                   CHARLOTTE                NC
3746   1C4RJFBG5KC781973   Chrysler      GR                   NEW ORLEANS              LA
3747   1C4RJFBG5KC782069   Chrysler      GR                   CHICAGO                  IL
3748   1C4RJFBG5KC782072   Chrysler      GR                   ST PAUL                  MN
3749   1C4RJFBG6JC292867   Chrysler      GR                   LAS VEGAS                NV
3750   1C4RJFBG6JC331490   Chrysler      GR                   SOUTHEAST DST OFFC       OK
3751   1C4RJFBG6JC347463   Chrysler      GR                   TAMPA                    FL
3752   1C4RJFBG6JC373500   Chrysler      GR                   Union City               GA
3753   1C4RJFBG6KC692672   Chrysler      GR                   Atlanta                  GA
3754   1C4RJFBG6KC711429   Chrysler      GR                   LOS ANGELES              CA
3755   1C4RJFBG6KC711432   Chrysler      GR                   SAN JOSE                 CA
3756   1C4RJFBG6KC711446   Chrysler      GR                   STERLING                 VA
3757   1C4RJFBG6KC711494   Chrysler      GR                   SAN DIEGO                CA
3758   1C4RJFBG6KC711527   Chrysler      GR                   SAN DIEGO                CA
3759   1C4RJFBG6KC711530   Chrysler      GR                   SOUTH SAN FRANC          CA
3760   1C4RJFBG6KC711544   Chrysler      GR                   LOUISVILLE               KY
3761   1C4RJFBG6KC711558   Chrysler      GR                   CHICAGO                  IL
3762   1C4RJFBG6KC711561   Chrysler      GR                   CHARLESTON               WV
3763   1C4RJFBG6KC711589   Chrysler      GR                   PHILADELPHIA             PA
3764   1C4RJFBG6KC711592   Chrysler      GR                   DETROIT                  MI
3765   1C4RJFBG6KC711611   Chrysler      GR                   PHILADELPHIA             PA
3766   1C4RJFBG6KC711639   Chrysler      GR                   LOS ANGELES              CA
3767   1C4RJFBG6KC711642   Chrysler      GR                   WOODSON TERRACE          MO
3768   1C4RJFBG6KC711656   Chrysler      GR                   ALBANY                   NY
3769   1C4RJFBG6KC711687   Chrysler      GR                   PHILADELPHIA             PA
3770   1C4RJFBG6KC711690   Chrysler      GR                   HARTFORD                 CT
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3771   1C4RJFBG6KC711706   Chrysler      GR                   Hebron                   KY
3772   1C4RJFBG6KC711723   Chrysler      GR                   STERLING                 VA
3773   1C4RJFBG6KC711737   Chrysler      GR                   PITTSBURGH               PA
3774   1C4RJFBG6KC711740   Chrysler      GR                   Lynn                     MA
3775   1C4RJFBG6KC711754   Chrysler      GR                   RONKONKOMA               NY
3776   1C4RJFBG6KC711768   Chrysler      GR                   BOSTON                   MA
3777   1C4RJFBG6KC711799   Chrysler      GR                   JACKSON                  MS
3778   1C4RJFBG6KC711804   Chrysler      GR                   BLOOMINGTON              IL
3779   1C4RJFBG6KC711818   Chrysler      GR                   Sarasota                 FL
3780   1C4RJFBG6KC711821   Chrysler      GR                   PHILADELPHIA             PA
3781   1C4RJFBG6KC711835   Chrysler      GR                   Jacksonville             FL
3782   1C4RJFBG6KC711849   Chrysler      GR                   BIRMINGHAM               AL
3783   1C4RJFBG6KC711852   Chrysler      GR                   RICHMOND                 VA
3784   1C4RJFBG6KC711883   Chrysler      GR                   WARWICK                  RI
3785   1C4RJFBG6KC711897   Chrysler      GR                   MONROE                   NC
3786   1C4RJFBG6KC711902   Chrysler      GR                   SAINT LOUIS              MO
3787   1C4RJFBG6KC711916   Chrysler      GR                   SAN DIEGO                CA
3788   1C4RJFBG6KC711933   Chrysler      GR                   Fairburn                 GA
3789   1C4RJFBG6KC711947   Chrysler      GR                   MEMPHIS                  TN
3790   1C4RJFBG6KC711950   Chrysler      GR                   HANOVER                  MD
3791   1C4RJFBG6KC711964   Chrysler      GR                   BLOOMINGTON              IL
3792   1C4RJFBG6KC711995   Chrysler      GR                   MIDDLE RIVER             MD
3793   1C4RJFBG6KC712001   Chrysler      GR                   NEWARK                   NJ
3794   1C4RJFBG6KC712015   Chrysler      GR                   RALIEGH                  NC
3795   1C4RJFBG6KC712032   Chrysler      GR                   BENSON                   NC
3796   1C4RJFBG6KC712046   Chrysler      GR                   WEST COLUMBIA            SC
3797   1C4RJFBG6KC712077   Chrysler      GR                   Atlanta                  GA
3798   1C4RJFBG6KC712080   Chrysler      GR                   PLAINFIELD               NJ
3799   1C4RJFBG6KC712094   Chrysler      GR                   MAPLEWOOD                MN
3800   1C4RJFBG6KC712127   Chrysler      GR                   PHILADELPHIA             PA
3801   1C4RJFBG6KC712130   Chrysler      GR                   PHILADELPHIA             PA
3802   1C4RJFBG6KC712144   Chrysler      GR                   PITTSBURGH               PA
3803   1C4RJFBG6KC712158   Chrysler      GR                   RALEIGH                  NC
3804   1C4RJFBG6KC712161   Chrysler      GR                   MANCHESTER               US
3805   1C4RJFBG6KC712175   Chrysler      GR                   HARTFORD                 CT
3806   1C4RJFBG6KC712189   Chrysler      GR                   WHITE PLAINS             NY
3807   1C4RJFBG6KC712192   Chrysler      GR                   RALIEGH                  NC
3808   1C4RJFBG6KC712211   Chrysler      GR                   PHILADELPHIA             PA
3809   1C4RJFBG6KC712225   Chrysler      GR                   WHITE PLAINS             NY
3810   1C4RJFBG6KC712242   Chrysler      GR                   STERLING                 VA
3811   1C4RJFBG6KC712256   Chrysler      GR                   BUFFALO                  NY
3812   1C4RJFBG6KC712273   Chrysler      GR                   Woodhaven                MI
3813   1C4RJFBG6KC712323   Chrysler      GR                   HARRISBURG               PA
3814   1C4RJFBG6KC712337   Chrysler      GR                   CHICAGO                  IL
3815   1C4RJFBG6KC712340   Chrysler      GR                   KANSAS CITY              MO
3816   1C4RJFBG6KC712399   Chrysler      GR                   CHICAGO                  IL
3817   1C4RJFBG6KC712418   Chrysler      GR                   SAINT PAUL               MN
3818   1C4RJFBG6KC712421   Chrysler      GR                   CHICAGO                  IL
3819   1C4RJFBG6KC745693   Chrysler      GR                   Atlanta                  GA
3820   1C4RJFBG6KC781707   Chrysler      GR                   KENNER                   LA
3821   1C4RJFBG6KC781870   Chrysler      GR                   NEW BERN                 NC
3822   1C4RJFBG6KC781917   Chrysler      GR                   KENNER                   LA
3823   1C4RJFBG6KC781920   Chrysler      GR                   ORLANDO                  FL
3824   1C4RJFBG6KC781948   Chrysler      GR                   CHICAGO                  IL
3825   1C4RJFBG6KC781996   Chrysler      GR                   DES PLAINES              US
3826   1C4RJFBG6KC782016   Chrysler      GR                   GYPSUM                   CO
3827   1C4RJFBG6KC782033   Chrysler      GR                   ATLANTA                  GA
3828   1C4RJFBG7JC324872   Chrysler      GR                   LOS ANGELES              CA
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3829   1C4RJFBG7KC626969   Chrysler      GR                   Atlanta                  GA
3830   1C4RJFBG7KC692681   Chrysler      GR                   KENNER                   LA
3831   1C4RJFBG7KC711424   Chrysler      GR                   Fresno                   CA
3832   1C4RJFBG7KC711438   Chrysler      GR                   SAN DIEGO                CA
3833   1C4RJFBG7KC711455   Chrysler      GR                   Webster                  NY
3834   1C4RJFBG7KC711469   Chrysler      GR                   SEATAC                   WA
3835   1C4RJFBG7KC711486   Chrysler      GR                   SACRAMENTO               CA
3836   1C4RJFBG7KC711505   Chrysler      GR                   PORTLAND                 OR
3837   1C4RJFBG7KC711522   Chrysler      GR                   BURBANK                  CA
3838   1C4RJFBG7KC711536   Chrysler      GR                   NASHVILLE                TN
3839   1C4RJFBG7KC711570   Chrysler      GR                   CHICAGO                  IL
3840   1C4RJFBG7KC711584   Chrysler      GR                   Raleigh                  NC
3841   1C4RJFBG7KC711598   Chrysler      GR                   Philadelphia             PA
3842   1C4RJFBG7KC711603   Chrysler      GR                   PORTLAND                 OR
3843   1C4RJFBG7KC711620   Chrysler      GR                   WESTLAKE                 OH
3844   1C4RJFBG7KC711634   Chrysler      GR                   INDIANAPOLIS             IN
3845   1C4RJFBG7KC711648   Chrysler      GR                   STERLING                 VA
3846   1C4RJFBG7KC711679   Chrysler      GR                   CHARLESTON               WV
3847   1C4RJFBG7KC711682   Chrysler      GR                   ROANOKE                  VA
3848   1C4RJFBG7KC711701   Chrysler      GR                   Teterboro                NJ
3849   1C4RJFBG7KC711715   Chrysler      GR                   LAS VEGAS                NV
3850   1C4RJFBG7KC711732   Chrysler      GR                   ORLANDO                  FL
3851   1C4RJFBG7KC711746   Chrysler      GR                   SANTA ANA                CA
3852   1C4RJFBG7KC711763   Chrysler      GR                   PORTLAND                 ME
3853   1C4RJFBG7KC711794   Chrysler      GR                   BALTIMORE                MD
3854   1C4RJFBG7KC711827   Chrysler      GR                   PITTSBURGH               PA
3855   1C4RJFBG7KC711830   Chrysler      GR                   TAMPA                    US
3856   1C4RJFBG7KC711844   Chrysler      GR                   BOSTON                   MA
3857   1C4RJFBG7KC711858   Chrysler      GR                   SAN DIEGO                CA
3858   1C4RJFBG7KC711861   Chrysler      GR                   KNOXVILLE                TN
3859   1C4RJFBG7KC711875   Chrysler      GR                   NEW ORLEANS              LA
3860   1C4RJFBG7KC711892   Chrysler      GR                   STERLING                 VA
3861   1C4RJFBG7KC711908   Chrysler      GR                   ATLANTA                  GA
3862   1C4RJFBG7KC711911   Chrysler      GR                   RALEIGH                  NC
3863   1C4RJFBG7KC711925   Chrysler      GR                   KNOXVILLE                TN
3864   1C4RJFBG7KC711939   Chrysler      GR                   PHILADELPHIA             PA
3865   1C4RJFBG7KC711942   Chrysler      GR                   Parkville                MD
3866   1C4RJFBG7KC711956   Chrysler      GR                   PHILADELPHIA             PA
3867   1C4RJFBG7KC711987   Chrysler      GR                   MEMPHIS                  TN
3868   1C4RJFBG7KC711990   Chrysler      GR                   PHILADELPHIA             PA
3869   1C4RJFBG7KC712007   Chrysler      GR                   GREENVILLE               NC
3870   1C4RJFBG7KC712010   Chrysler      GR                   Marietta                 GA
3871   1C4RJFBG7KC712024   Chrysler      GR                   NEW BERN                 NC
3872   1C4RJFBG7KC712038   Chrysler      GR                   PORTLAND                 ME
3873   1C4RJFBG7KC712041   Chrysler      GR                   EGG HARBOR TOWN          NJ
3874   1C4RJFBG7KC712055   Chrysler      GR                   BIRMINGHAM               AL
3875   1C4RJFBG7KC712069   Chrysler      GR                   SEATAC                   WA
3876   1C4RJFBG7KC712072   Chrysler      GR                   CHARLOTTE                NC
3877   1C4RJFBG7KC712105   Chrysler      GR                   LOS ANGELES              CA
3878   1C4RJFBG7KC712153   Chrysler      GR                   PHILADELPHIA             PA
3879   1C4RJFBG7KC712167   Chrysler      GR                   PORTLAND                 ME
3880   1C4RJFBG7KC712170   Chrysler      GR                   NEW BERN                 NC
3881   1C4RJFBG7KC712184   Chrysler      GR                   NEW BERN                 NC
3882   1C4RJFBG7KC712203   Chrysler      GR                   BOSTON                   MA
3883   1C4RJFBG7KC712220   Chrysler      GR                   BOSTON                   MA
3884   1C4RJFBG7KC712234   Chrysler      GR                   NEW BERN                 NC
3885   1C4RJFBG7KC712251   Chrysler      GR                   ASTORIA                  NY
3886   1C4RJFBG7KC712265   Chrysler      GR                   NEWARK                   NJ
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3887   1C4RJFBG7KC712279   Chrysler      GR                   Detroit                  MI
3888   1C4RJFBG7KC712296   Chrysler      GR                   SAN JOSE                 CA
3889   1C4RJFBG7KC712332   Chrysler      GR                   SAINT PAUL               MN
3890   1C4RJFBG7KC712394   Chrysler      GR                   CLEVELAND                OH
3891   1C4RJFBG7KC712413   Chrysler      GR                   SAINT PAUL               MN
3892   1C4RJFBG7KC734623   Chrysler      GR                   KENNER                   LA
3893   1C4RJFBG7KC756556   Chrysler      GR                   STERLING                 VA
3894   1C4RJFBG7KC756606   Chrysler      GR                   NEW YORK CITY            NY
3895   1C4RJFBG7KC781960   Chrysler      GR                   Indianapolis             IN
3896   1C4RJFBG7KC782025   Chrysler      GR                   MINNEAPOLIS              MN
3897   1C4RJFBG7KC782039   Chrysler      GR                   SAINT PAUL               MN
3898   1C4RJFBG8KC692673   Chrysler      GR                   COLLEGE PARK             GA
3899   1C4RJFBG8KC711495   Chrysler      GR                   LOS ANGELES AP           CA
3900   1C4RJFBG8KC711500   Chrysler      GR                   LOS ANGELES              CA
3901   1C4RJFBG8KC711528   Chrysler      GR                   SAN DIEGO                CA
3902   1C4RJFBG8KC711531   Chrysler      GR                   BURBANK                  CA
3903   1C4RJFBG8KC711562   Chrysler      GR                   CHICAGO                  IL
3904   1C4RJFBG8KC711576   Chrysler      GR                   MEDINA                   OH
3905   1C4RJFBG8KC711593   Chrysler      GR                   NEW BERN                 NC
3906   1C4RJFBG8KC711609   Chrysler      GR                   LOUISVILLE               KY
3907   1C4RJFBG8KC711612   Chrysler      GR                   NEW ORLEANS              LA
3908   1C4RJFBG8KC711657   Chrysler      GR                   LOS ANGELES              CA
3909   1C4RJFBG8KC711660   Chrysler      GR                   KNOXVILLE                TN
3910   1C4RJFBG8KC711674   Chrysler      GR                   BUFFALO                  NY
3911   1C4RJFBG8KC711691   Chrysler      GR                   RONKONKOMA               NY
3912   1C4RJFBG8KC711707   Chrysler      GR                   PHILADELPHIA             PA
3913   1C4RJFBG8KC711724   Chrysler      GR                   Hebron                   KY
3914   1C4RJFBG8KC711738   Chrysler      GR                   NEW BERN                 NC
3915   1C4RJFBG8KC711741   Chrysler      GR                   Portland                 ME
3916   1C4RJFBG8KC711769   Chrysler      GR                   NEWARK                   NJ
3917   1C4RJFBG8KC711772   Chrysler      GR                   HARTFORD                 CT
3918   1C4RJFBG8KC711786   Chrysler      GR                   CLEVELAND                OH
3919   1C4RJFBG8KC711819   Chrysler      GR                   WEST PALM BEACH          FL
3920   1C4RJFBG8KC711822   Chrysler      GR                   BOSTON                   MA
3921   1C4RJFBG8KC711836   Chrysler      GR                   HARRISBURG               PA
3922   1C4RJFBG8KC711867   Chrysler      GR                   WHITE PLAINS             NY
3923   1C4RJFBG8KC711870   Chrysler      GR                   WARWICK                  RI
3924   1C4RJFBG8KC711884   Chrysler      GR                   WARWICK                  RI
3925   1C4RJFBG8KC711903   Chrysler      GR                   Atlanta                  GA
3926   1C4RJFBG8KC711917   Chrysler      GR                   HOUSTON                  TX
3927   1C4RJFBG8KC711920   Chrysler      GR                   CHARLOTTE                US
3928   1C4RJFBG8KC711948   Chrysler      GR                   FT WAYNE                 IN
3929   1C4RJFBG8KC711951   Chrysler      GR                   Manheim                  PA
3930   1C4RJFBG8KC711965   Chrysler      GR                   PHILADELPHIA             PA
3931   1C4RJFBG8KC711982   Chrysler      GR                   Atlanta                  GA
3932   1C4RJFBG8KC712002   Chrysler      GR                   WEST PALM BEACH          FL
3933   1C4RJFBG8KC712016   Chrysler      GR                   NEWARK                   NJ
3934   1C4RJFBG8KC712050   Chrysler      GR                   BIRMINGHAM               AL
3935   1C4RJFBG8KC712064   Chrysler      GR                   Atlanta                  GA
3936   1C4RJFBG8KC712078   Chrysler      GR                   SACRAMENTO               CA
3937   1C4RJFBG8KC712081   Chrysler      GR                   RALIEGH                  NC
3938   1C4RJFBG8KC712095   Chrysler      GR                   PHOENIX                  AZ
3939   1C4RJFBG8KC712100   Chrysler      GR                   JOHNSON CITY             TN
3940   1C4RJFBG8KC712114   Chrysler      GR                   HARTFORD                 CT
3941   1C4RJFBG8KC712128   Chrysler      GR                   GRAND RAPIDS             MI
3942   1C4RJFBG8KC712131   Chrysler      GR                   PHILADELPHIA             PA
3943   1C4RJFBG8KC712145   Chrysler      GR                   PHILADELPHIA             PA
3944   1C4RJFBG8KC712159   Chrysler      GR                   NEW ORLEANS              LA
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3945   1C4RJFBG8KC712176   Chrysler      GR                   PITTSBURGH               PA
3946   1C4RJFBG8KC712209   Chrysler      GR                   PHILADELPHIA             PA
3947   1C4RJFBG8KC712212   Chrysler      GR                   BOSTON                   MA
3948   1C4RJFBG8KC712226   Chrysler      GR                   PHILADELPHIA             PA
3949   1C4RJFBG8KC712243   Chrysler      GR                   OAKLAND                  CA
3950   1C4RJFBG8KC712257   Chrysler      GR                   BOSTON                   MA
3951   1C4RJFBG8KC712260   Chrysler      GR                   DETROIT                  MI
3952   1C4RJFBG8KC712274   Chrysler      GR                   PORTLAND                 ME
3953   1C4RJFBG8KC712310   Chrysler      GR                   KANSAS CITY              MO
3954   1C4RJFBG8KC712324   Chrysler      GR                   CATONSVILLE              MD
3955   1C4RJFBG8KC712338   Chrysler      GR                   Atlanta                  GA
3956   1C4RJFBG8KC712355   Chrysler      GR                   PITTSBURGH               PA
3957   1C4RJFBG8KC712369   Chrysler      GR                   MILWAUKEE                WI
3958   1C4RJFBG8KC712372   Chrysler      GR                   CHICAGO                  IL
3959   1C4RJFBG8KC712386   Chrysler      GR                   BALLWIN                  MO
3960   1C4RJFBG8KC712405   Chrysler      GR                   Columbia                 MD
3961   1C4RJFBG8KC756551   Chrysler      GR                   PANAMA CITY              FL
3962   1C4RJFBG8KC756579   Chrysler      GR                   STERLING                 VA
3963   1C4RJFBG8KC756596   Chrysler      GR                   ATLANTA                  GA
3964   1C4RJFBG8KC756646   Chrysler      GR                   PHILADELPHIA             US
3965   1C4RJFBG8KC781708   Chrysler      GR                   Atlanta                  GA
3966   1C4RJFBG8KC781711   Chrysler      GR                   KENNER                   LA
3967   1C4RJFBG8KC781949   Chrysler      GR                   OMAHA                    NE
3968   1C4RJFBG8KC781997   Chrysler      GR                   SAINT PAUL               MN
3969   1C4RJFBG8KC782020   Chrysler      GR                   Atlanta                  GA
3970   1C4RJFBG8KC782034   Chrysler      GR                   SAINT PAUL               MN
3971   1C4RJFBG8KC782051   Chrysler      GR                   CHICAGO                  IL
3972   1C4RJFBG8KC782065   Chrysler      GR                   SAINT PAUL               MN
3973   1C4RJFBG8KC782079   Chrysler      GR                   SYRACUSE                 NY
3974   1C4RJFBG9KC692679   Chrysler      GR                   NEW ORLEANS              LA
3975   1C4RJFBG9KC711425   Chrysler      GR                   JAMAICA                  NY
3976   1C4RJFBG9KC711442   Chrysler      GR                   BURBANK                  CA
3977   1C4RJFBG9KC711456   Chrysler      GR                   San Diego                CA
3978   1C4RJFBG9KC711487   Chrysler      GR                   NEWPORT BEACH            CA
3979   1C4RJFBG9KC711490   Chrysler      GR                   PALM SPRINGS             CA
3980   1C4RJFBG9KC711506   Chrysler      GR                   Harlingen                TX
3981   1C4RJFBG9KC711540   Chrysler      GR                   LOUISVILLE               KY
3982   1C4RJFBG9KC711554   Chrysler      GR                   LOS ANGELES              CA
3983   1C4RJFBG9KC711568   Chrysler      GR                   LOUISVILLE               KY
3984   1C4RJFBG9KC711571   Chrysler      GR                   FAYETTEVILLE             US
3985   1C4RJFBG9KC711599   Chrysler      GR                   COLUMBUS                 OH
3986   1C4RJFBG9KC711618   Chrysler      GR                   ALEXANDRIA               VA
3987   1C4RJFBG9KC711621   Chrysler      GR                   DETROIT                  MI
3988   1C4RJFBG9KC711635   Chrysler      GR                   FAYETTEVILLE             US
3989   1C4RJFBG9KC711649   Chrysler      GR                   CHICAGO                  IL
3990   1C4RJFBG9KC711697   Chrysler      GR                   WHITE PLAINS             NY
3991   1C4RJFBG9KC711702   Chrysler      GR                   NEW YORK CITY            NY
3992   1C4RJFBG9KC711716   Chrysler      GR                   NORFOLK                  VA
3993   1C4RJFBG9KC711747   Chrysler      GR                   FORT LAUDERDALE          FL
3994   1C4RJFBG9KC711750   Chrysler      GR                   East Boston              MA
3995   1C4RJFBG9KC711764   Chrysler      GR                   MANCHESTER               US
3996   1C4RJFBG9KC711778   Chrysler      GR                   Smithtown                NY
3997   1C4RJFBG9KC711781   Chrysler      GR                   Miami                    FL
3998   1C4RJFBG9KC711795   Chrysler      GR                   NORFOLK                  VA
3999   1C4RJFBG9KC711828   Chrysler      GR                   PITTSBURGH               PA
4000   1C4RJFBG9KC711845   Chrysler      GR                   NORFOLK                  VA
4001   1C4RJFBG9KC711862   Chrysler      GR                   ROANOKE                  VA
4002   1C4RJFBG9KC711876   Chrysler      GR                   ROCHESTER                NY
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4003   1C4RJFBG9KC711893   Chrysler      GR                   BIRMINGHAM               AL
4004   1C4RJFBG9KC711909   Chrysler      GR                   ALBANY                   NY
4005   1C4RJFBG9KC711912   Chrysler      GR                   NEW BERN                 NC
4006   1C4RJFBG9KC711926   Chrysler      GR                   Atlanta                  GA
4007   1C4RJFBG9KC711943   Chrysler      GR                   Tampa                    FL
4008   1C4RJFBG9KC711957   Chrysler      GR                   RONKONKOMA               NY
4009   1C4RJFBG9KC711960   Chrysler      GR                   NORFOLK                  VA
4010   1C4RJFBG9KC711988   Chrysler      GR                   BIRMINGHAM               AL
4011   1C4RJFBG9KC711991   Chrysler      GR                   MEMPHIS                  TN
4012   1C4RJFBG9KC712008   Chrysler      GR                   Atlanta                  GA
4013   1C4RJFBG9KC712011   Chrysler      GR                   NEW YORK CITY            NY
4014   1C4RJFBG9KC712025   Chrysler      GR                   MIAMI                    FL
4015   1C4RJFBG9KC712039   Chrysler      GR                   RICHMOND                 VA
4016   1C4RJFBG9KC712042   Chrysler      GR                   WARWICK                  RI
4017   1C4RJFBG9KC712056   Chrysler      GR                   Cincinnati               OH
4018   1C4RJFBG9KC712073   Chrysler      GR                   BOSTON                   MA
4019   1C4RJFBG9KC712087   Chrysler      GR                   RALEIGH                  NC
4020   1C4RJFBG9KC712090   Chrysler      GR                   ROANOKE                  VA
4021   1C4RJFBG9KC712106   Chrysler      GR                   PHILADELPHIA             PA
4022   1C4RJFBG9KC712137   Chrysler      GR                   ALBANY                   NY
4023   1C4RJFBG9KC712154   Chrysler      GR                   PHILADELPHIA             PA
4024   1C4RJFBG9KC712168   Chrysler      GR                   NORFOLK                  VA
4025   1C4RJFBG9KC712171   Chrysler      GR                   ORLANDO                  FL
4026   1C4RJFBG9KC712185   Chrysler      GR                   PORTLAND                 ME
4027   1C4RJFBG9KC712199   Chrysler      GR                   CHICAGO                  IL
4028   1C4RJFBG9KC712204   Chrysler      GR                   DETROIT                  MI
4029   1C4RJFBG9KC712221   Chrysler      GR                   NEW YORK CITY            NY
4030   1C4RJFBG9KC712235   Chrysler      GR                   STERLING                 VA
4031   1C4RJFBG9KC712249   Chrysler      GR                   SAN FRANCISCO            CA
4032   1C4RJFBG9KC712252   Chrysler      GR                   OMAHA                    NE
4033   1C4RJFBG9KC712266   Chrysler      GR                   WHITE PLAINS             NY
4034   1C4RJFBG9KC712297   Chrysler      GR                   CHICAGO                  IL
4035   1C4RJFBG9KC712347   Chrysler      GR                   SAINT PAUL               MN
4036   1C4RJFBG9KC712350   Chrysler      GR                   CHICAGO                  IL
4037   1C4RJFBG9KC712364   Chrysler      GR                   CHICAGO                  IL
4038   1C4RJFBG9KC712378   Chrysler      GR                   JACKSONVILLE             FL
4039   1C4RJFBG9KC712395   Chrysler      GR                   Florissant               MO
4040   1C4RJFBG9KC712400   Chrysler      GR                   SAINT PAUL               MN
4041   1C4RJFBG9KC712414   Chrysler      GR                   KANSAS CITY              MO
4042   1C4RJFBG9KC734624   Chrysler      GR                   FORT MYERS               FL
4043   1C4RJFBG9KC756512   Chrysler      GR                   WEST PALM BEACH          FL
4044   1C4RJFBG9KC756588   Chrysler      GR                   PHILADELPHIA             PA
4045   1C4RJFBG9KC756607   Chrysler      GR                   PITTSBURGH               PA
4046   1C4RJFBG9KC756610   Chrysler      GR                   HARRISBURG               PA
4047   1C4RJFBG9KC756669   Chrysler      GR                   LAS VEGAS                NV
4048   1C4RJFBG9KC781779   Chrysler      GR                   DETROIT                  MI
4049   1C4RJFBG9KC781913   Chrysler      GR                   EAST BOSTON              MA
4050   1C4RJFBG9KC782012   Chrysler      GR                   Des Moines               IA
4051   1C4RJFBG9KC782043   Chrysler      GR                   SAINT PAUL               MN
4052   1C4RJFBG9KC782060   Chrysler      GR                   BOSTON                   MA
4053   1C4RJFBG9KC782088   Chrysler      GR                   SAINT PAUL               MN
4054   1C4RJFBG9KC782091   Chrysler      GR                   DETROIT                  MI
4055   1C4RJFBGXKC626982   Chrysler      GR                   KENNER                   LA
4056   1C4RJFBGXKC653003   Chrysler      GR                   KENNER                   LA
4057   1C4RJFBGXKC653423   Chrysler      GR                   LOS ANGELES              CA
4058   1C4RJFBGXKC711434   Chrysler      GR                   SAN DIEGO                CA
4059   1C4RJFBGXKC711448   Chrysler      GR                   NEW YORK CITY            NY
4060   1C4RJFBGXKC711451   Chrysler      GR                   HEMET                    CA
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4061   1C4RJFBGXKC711465   Chrysler      GR                   Phoenix                  AZ
4062   1C4RJFBGXKC711482   Chrysler      GR                   LOS ANGELES              CA
4063   1C4RJFBGXKC711496   Chrysler      GR                   SAN DIEGO                CA
4064   1C4RJFBGXKC711501   Chrysler      GR                   LOS ANGELES              CA
4065   1C4RJFBGXKC711529   Chrysler      GR                   BURLINGAME               CA
4066   1C4RJFBGXKC711546   Chrysler      GR                   PORTLAND                 OR
4067   1C4RJFBGXKC711563   Chrysler      GR                   PORTLAND                 ME
4068   1C4RJFBGXKC711577   Chrysler      GR                   GRAND RAPIDS             MI
4069   1C4RJFBGXKC711594   Chrysler      GR                   Chicago                  IL
4070   1C4RJFBGXKC711627   Chrysler      GR                   INDIANAPOLIS             IN
4071   1C4RJFBGXKC711644   Chrysler      GR                   CHICAGO                  IL
4072   1C4RJFBGXKC711658   Chrysler      GR                   SAINT LOUIS              MO
4073   1C4RJFBGXKC711689   Chrysler      GR                   HARTFORD                 CT
4074   1C4RJFBGXKC711708   Chrysler      GR                   MIAMI                    FL
4075   1C4RJFBGXKC711711   Chrysler      GR                   LOUISVILLE               KY
4076   1C4RJFBGXKC711739   Chrysler      GR                   ALBANY                   NY
4077   1C4RJFBGXKC711742   Chrysler      GR                   ORLANDO                  FL
4078   1C4RJFBGXKC711756   Chrysler      GR                   BALTIMORE                MD
4079   1C4RJFBGXKC711790   Chrysler      GR                   DES PLAINES              US
4080   1C4RJFBGXKC711806   Chrysler      GR                   PHILADELPHIA             PA
4081   1C4RJFBGXKC711823   Chrysler      GR                   PHOENIX                  AZ
4082   1C4RJFBGXKC711854   Chrysler      GR                   Chicago                  IL
4083   1C4RJFBGXKC711871   Chrysler      GR                   SAVANNAH                 GA
4084   1C4RJFBGXKC711885   Chrysler      GR                   Kansas City              MO
4085   1C4RJFBGXKC711904   Chrysler      GR                   NEWARK                   NJ
4086   1C4RJFBGXKC711918   Chrysler      GR                   PHILADELPHIA             PA
4087   1C4RJFBGXKC711921   Chrysler      GR                   PHILADELPHIA             PA
4088   1C4RJFBGXKC711935   Chrysler      GR                   PHILADELPHIA             PA
4089   1C4RJFBGXKC711952   Chrysler      GR                   RONKONKOMA               NY
4090   1C4RJFBGXKC711966   Chrysler      GR                   HANOVER                  MD
4091   1C4RJFBGXKC712003   Chrysler      GR                   STERLING                 VA
4092   1C4RJFBGXKC712017   Chrysler      GR                   RALEIGH                  NC
4093   1C4RJFBGXKC712020   Chrysler      GR                   Phoenix                  AZ
4094   1C4RJFBGXKC712034   Chrysler      GR                   KNOXVILLE                TN
4095   1C4RJFBGXKC712048   Chrysler      GR                   KANSAS CITY              MO
4096   1C4RJFBGXKC712051   Chrysler      GR                   TAMPA                    FL
4097   1C4RJFBGXKC712065   Chrysler      GR                   ATLANTA                  GA
4098   1C4RJFBGXKC712082   Chrysler      GR                   Atlanta                  GA
4099   1C4RJFBGXKC712096   Chrysler      GR                   UNION CITY               GA
4100   1C4RJFBGXKC712101   Chrysler      GR                   CHARLOTTE                NC
4101   1C4RJFBGXKC712115   Chrysler      GR                   WILLISTON                ND
4102   1C4RJFBGXKC712129   Chrysler      GR                   NEW BERN                 NC
4103   1C4RJFBGXKC712132   Chrysler      GR                   NEW BERN                 NC
4104   1C4RJFBGXKC712146   Chrysler      GR                   Lynn                     MA
4105   1C4RJFBGXKC712163   Chrysler      GR                   NEW YORK                 NY
4106   1C4RJFBGXKC712180   Chrysler      GR                   DAYTONA BEACH            FL
4107   1C4RJFBGXKC712194   Chrysler      GR                   BURBANK                  CA
4108   1C4RJFBGXKC712213   Chrysler      GR                   SAN ANTONIO              TX
4109   1C4RJFBGXKC712227   Chrysler      GR                   ORLANDO                  FL
4110   1C4RJFBGXKC712230   Chrysler      GR                   PHILADELPHIA             PA
4111   1C4RJFBGXKC712244   Chrysler      GR                   NORFOLK                  VA
4112   1C4RJFBGXKC712258   Chrysler      GR                   CHICAGO                  IL
4113   1C4RJFBGXKC712261   Chrysler      GR                   BOSTON                   MA
4114   1C4RJFBGXKC712275   Chrysler      GR                   NEW BERN                 NC
4115   1C4RJFBGXKC712289   Chrysler      GR                   LAS VEGAS                NV
4116   1C4RJFBGXKC712311   Chrysler      GR                   SAINT PAUL               MN
4117   1C4RJFBGXKC712325   Chrysler      GR                   Atlanta                  GA
4118   1C4RJFBGXKC712339   Chrysler      GR                   CHICAGO                  IL
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4119   1C4RJFBGXKC712387   Chrysler      GR                   SALT LAKE CITY           UT
4120   1C4RJFBGXKC712390   Chrysler      GR                   Massapequa               NY
4121   1C4RJFBGXKC756535   Chrysler      GR                   CLEVELAND                OH
4122   1C4RJFBGXKC756552   Chrysler      GR                   Atlanta                  GA
4123   1C4RJFBGXKC756566   Chrysler      GR                   SHREVEPORT               LA
4124   1C4RJFBGXKC756602   Chrysler      GR                   PHILADELPHIA             PA
4125   1C4RJFBGXKC781712   Chrysler      GR                   Birmingham               AL
4126   1C4RJFBGXKC781922   Chrysler      GR                   SCRANTON                 PA
4127   1C4RJFBGXKC781970   Chrysler      GR                   CHICAGO                  IL
4128   1C4RJFBGXKC782004   Chrysler      GR                   HOUSTON                  TX
4129   1C4RJFBGXKC782018   Chrysler      GR                   MINNEAPOLIS              MN
4130   1C4RJFBGXKC782035   Chrysler      GR                   SAINT LOUIS              MO
4131   1C4RJFBGXKC782052   Chrysler      GR                   DES PLAINES              US
4132   1C4RJFBGXKC782097   Chrysler      GR                   DULUTH                   MN
4133   1C4RJFCG3JC331395   Chrysler      GR                   FAYETTEVILLE             GA
4134   1C4RJFCG5JC325016   Chrysler      GR                   DAYTONA BEACH            FL
4135   1C4RJFCG7JC418412   Chrysler      GR                   Plainfield               IN
4136   1C4RJFCG8JC418385   Chrysler      GR                   LOS ANGELES              CA
4137   1C4RJFCG8JC418693   Chrysler      GR                   Newark                   NJ
4138   1C4RJFCG9JC409663   Chrysler      GR                   Elkridge                 MD
4139   1C4RJFCGXJC355600   Chrysler      GR                   BENTONVILLE              AR
4140   1C4RJFCGXJC355662   Chrysler      GR                   Manheim                  PA
4141   1C4RJFJG0JC373218   Chrysler      GR                   Atlanta                  GA
4142   1C4RJFJG2JC409720   Chrysler      GR                   Detroit                  MI
4143   1C4RJFJG2JC418529   Chrysler      GR                   Atlanta                  GA
4144   1C4RJFJG3JC324885   Chrysler      GR                   Tolleson                 AZ
4145   1C4RJFJG4JC409685   Chrysler      GR                   Bordentown               NJ
4146   1C4RJFJG6JC418551   Chrysler      GR                   DETROIT                  MI
4147   1C4RJFJG7JC347473   Chrysler      GR                   Fredericksburg           VA
4148   1C4RJFJG8JC256213   Chrysler      GR                   PHOENIX                  AZ
4149   1C4RJFJG8JC331444   Chrysler      GR                   LAS VEGAS                NV
4150   1C4RJFJGXJC347371   Chrysler      GR                   NEW YORK                 US
4151   1C4RJFJGXJC409688   Chrysler      GR                   Seattle                  WA
4152   1C4RJFLG0KC803781   Chrysler      GR                   Florissant               MO
4153   1C4RJFLG0KC803795   Chrysler      GR                   SAINT PAUL               MN
4154   1C4RJFLG1KC781872   Chrysler      GR                   ATLANTA                  GA
4155   1C4RJFLG1KC803773   Chrysler      GR                   Dallas                   TX
4156   1C4RJFLG2KC781895   Chrysler      GR                   STERLING                 VA
4157   1C4RJFLG2KC803779   Chrysler      GR                   SAINT PAUL               MN
4158   1C4RJFLG3KC765303   Chrysler      GR                   SAN FRANCISCO            CA
4159   1C4RJFLG3KC771909   Chrysler      GR                   ATLANTA                  GA
4160   1C4RJFLG3KC771912   Chrysler      GR                   CHICAGO                  IL
4161   1C4RJFLG4KC692698   Chrysler      GR                   Lake Elsinore            CA
4162   1C4RJFLG4KC765309   Chrysler      GR                   DETROIT                  MI
4163   1C4RJFLG4KC771613   Chrysler      GR                   ALBANY                   NY
4164   1C4RJFLG4KC771921   Chrysler      GR                   PHILADELPHIA             PA
4165   1C4RJFLG4KC781963   Chrysler      GR                   PHILADELPHIA             PA
4166   1C4RJFLG4KC793336   Chrysler      GR                   SAINT LOUIS              MO
4167   1C4RJFLG4KC803783   Chrysler      GR                   MILWAUKEE                WI
4168   1C4RJFLG4KC803797   Chrysler      GR                   SAINT PAUL               MN
4169   1C4RJFLG5KC803792   Chrysler      GR                   Schaumburg               IL
4170   1C4RJFLG6KC771919   Chrysler      GR                   MILWAUKEE                WI
4171   1C4RJFLG6KC812484   Chrysler      GR                   NEW BERN                 NC
4172   1C4RJFLG7KC771914   Chrysler      GR                   Atlanta                  GA
4173   1C4RJFLG7KC781763   Chrysler      GR                   SAN ANTONIO              TX
4174   1C4RJFLG7KC803776   Chrysler      GR                   SAN JOSE                 CA
4175   1C4RJFLG8KC771923   Chrysler      GR                   BOSTON                   MA
4176   1C4RJFLG8KC781965   Chrysler      GR                   Charlotte                NC
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4177   1C4RJFLG8KC793338   Chrysler      GR                   Atlanta                  GA
4178   1C4RJFLG9KC781845   Chrysler      GR                   Woodhaven                MI
4179   1C4RJFLG9KC781912   Chrysler      GR                   PHILADELPHIA             PA
4180   1C4RJFLG9KC803729   Chrysler      GR                   DETROIT                  MI
4181   1C4RJFLGXKC781806   Chrysler      GR                   Atlanta                  GA
4182   1C4RJFLGXKC781868   Chrysler      GR                   Fresno                   CA
4183   1C4RJFLGXKC793339   Chrysler      GR                   DES PLAINES              US
4184   1C4SDHCT0LC141963   Chrysler      DURANGO              TAMPA                    FL
4185   1C4SDHCT0LC141977   Chrysler      DURANGO              Ocoee                    FL
4186   1C4SDHCT0LC141980   Chrysler      DURANGO              ORLANDO                  FL
4187   1C4SDHCT0LC141994   Chrysler      DURANGO              FORT MYERS               FL
4188   1C4SDHCT0LC145852   Chrysler      DURANGO              SARASOTA                 FL
4189   1C4SDHCT0LC153241   Chrysler      DURANGO              LOS ANGELES              CA
4190   1C4SDHCT0LC153255   Chrysler      DURANGO              TUCSON                   AZ
4191   1C4SDHCT0LC153269   Chrysler      DURANGO              San Diego                CA
4192   1C4SDHCT0LC153272   Chrysler      DURANGO              CHICAGO                  IL
4193   1C4SDHCT0LC154714   Chrysler      DURANGO              WEST PALM BEACH          FL
4194   1C4SDHCT0LC154731   Chrysler      DURANGO              STERLING                 VA
4195   1C4SDHCT0LC154745   Chrysler      DURANGO              Estero                   FL
4196   1C4SDHCT0LC154793   Chrysler      DURANGO              DES MOINES               IA
4197   1C4SDHCT0LC154809   Chrysler      DURANGO              HOUSTON                  TX
4198   1C4SDHCT0LC154812   Chrysler      DURANGO              DALLAS                   TX
4199   1C4SDHCT0LC154826   Chrysler      DURANGO              DALLAS                   TX
4200   1C4SDHCT1LC141955   Chrysler      DURANGO              MIAMI                    FL
4201   1C4SDHCT1LC141969   Chrysler      DURANGO              FORT LAUDERDALE          FL
4202   1C4SDHCT1LC141972   Chrysler      DURANGO              TALLAHASSEE              US
4203   1C4SDHCT1LC141986   Chrysler      DURANGO              MIAMI                    FL
4204   1C4SDHCT1LC153247   Chrysler      DURANGO              PORTLAND                 OR
4205   1C4SDHCT1LC153250   Chrysler      DURANGO              TUCSON                   AZ
4206   1C4SDHCT1LC153264   Chrysler      DURANGO              PALM SPRINGS             CA
4207   1C4SDHCT1LC154737   Chrysler      DURANGO              ORLANDO                  FL
4208   1C4SDHCT1LC154740   Chrysler      DURANGO              NAPLES                   FL
4209   1C4SDHCT1LC154799   Chrysler      DURANGO              HOUSTON                  TX
4210   1C4SDHCT1LC154804   Chrysler      DURANGO              HOUSTON                  TX
4211   1C4SDHCT1LC154818   Chrysler      DURANGO              SAN DIEGO                CA
4212   1C4SDHCT1LC154821   Chrysler      DURANGO              DALLAS                   TX
4213   1C4SDHCT1LC154835   Chrysler      DURANGO              HOUSTON                  TX
4214   1C4SDHCT1LC161283   Chrysler      DURANGO              PHOENIX                  AZ
4215   1C4SDHCT1LC162577   Chrysler      DURANGO              FORT MYERS               FL
4216   1C4SDHCT2LC141964   Chrysler      DURANGO              MIAMI                    FL
4217   1C4SDHCT2LC141978   Chrysler      DURANGO              FORT LAUDERDALE          FL
4218   1C4SDHCT2LC141981   Chrysler      DURANGO              TAMPA                    FL
4219   1C4SDHCT2LC145853   Chrysler      DURANGO              FORT MYERS               FL
4220   1C4SDHCT2LC153242   Chrysler      DURANGO              PHOENIX                  AZ
4221   1C4SDHCT2LC153256   Chrysler      DURANGO              LOS ANGELES              CA
4222   1C4SDHCT2LC153273   Chrysler      DURANGO              BURBANK                  CA
4223   1C4SDHCT2LC154715   Chrysler      DURANGO              FT. LAUDERDALE           FL
4224   1C4SDHCT2LC154732   Chrysler      DURANGO              DES MOINES               IA
4225   1C4SDHCT2LC154794   Chrysler      DURANGO              Houston                  TX
4226   1C4SDHCT2LC154813   Chrysler      DURANGO              MOBILE                   A
4227   1C4SDHCT2LC154827   Chrysler      DURANGO              CHICAGO                  IL
4228   1C4SDHCT2LC154830   Chrysler      DURANGO              San Antonio              TX
4229   1C4SDHCT3LC141956   Chrysler      DURANGO              ORLANDO                  FL
4230   1C4SDHCT3LC141973   Chrysler      DURANGO              NAPLES                   FL
4231   1C4SDHCT3LC141987   Chrysler      DURANGO              BALTIMORE                MD
4232   1C4SDHCT3LC141990   Chrysler      DURANGO              WEST COLUMBIA            SC
4233   1C4SDHCT3LC153248   Chrysler      DURANGO              PHOENIX                  AZ
4234   1C4SDHCT3LC153251   Chrysler      DURANGO              LOS ANGELES              CA
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4235   1C4SDHCT3LC153265   Chrysler      DURANGO              LOS ANGELES              CA
4236   1C4SDHCT3LC154738   Chrysler      DURANGO              STERLING                 VA
4237   1C4SDHCT3LC154741   Chrysler      DURANGO              FORT MYERS               FL
4238   1C4SDHCT3LC154819   Chrysler      DURANGO              WICHITA FALLS            TX
4239   1C4SDHCT3LC154836   Chrysler      DURANGO              Dallas                   TX
4240   1C4SDHCT3LC161284   Chrysler      DURANGO              PHOENIX                  AZ
4241   1C4SDHCT3LC162578   Chrysler      DURANGO              MIDLAND                  TX
4242   1C4SDHCT4LC141965   Chrysler      DURANGO              MIAMI                    FL
4243   1C4SDHCT4LC141982   Chrysler      DURANGO              FORT MYERS               FL
4244   1C4SDHCT4LC153226   Chrysler      DURANGO              MIAMI                    FL
4245   1C4SDHCT4LC153243   Chrysler      DURANGO              PHOENIX                  AZ
4246   1C4SDHCT4LC153257   Chrysler      DURANGO              PHOENIX                  AZ
4247   1C4SDHCT4LC153260   Chrysler      DURANGO              PHOENIX                  AZ
4248   1C4SDHCT4LC153274   Chrysler      DURANGO              EL PASO                  TX
4249   1C4SDHCT4LC154716   Chrysler      DURANGO              MIAMI                    FL
4250   1C4SDHCT4LC154747   Chrysler      DURANGO              ORLANDO                  FL
4251   1C4SDHCT4LC154750   Chrysler      DURANGO              FORT LAUDERDALE          FL
4252   1C4SDHCT4LC154795   Chrysler      DURANGO              HOUSTON                  TX
4253   1C4SDHCT4LC154800   Chrysler      DURANGO              HOUSTON                  TX
4254   1C4SDHCT4LC154814   Chrysler      DURANGO              HOUSTON                  TX
4255   1C4SDHCT4LC154828   Chrysler      DURANGO              COLUMBUS                 OH
4256   1C4SDHCT4LC154831   Chrysler      DURANGO              DALLAS                   TX
4257   1C4SDHCT5LC141957   Chrysler      DURANGO              ORLANDO                  FL
4258   1C4SDHCT5LC141960   Chrysler      DURANGO              West Palm Beach          FL
4259   1C4SDHCT5LC141974   Chrysler      DURANGO              ATLANTA                  GA
4260   1C4SDHCT5LC141991   Chrysler      DURANGO              ORLANDO                  FL
4261   1C4SDHCT5LC153249   Chrysler      DURANGO              LAS VEGAS                NV
4262   1C4SDHCT5LC153252   Chrysler      DURANGO              SAN FRANCISCO            CA
4263   1C4SDHCT5LC153266   Chrysler      DURANGO              TUCSON                   AZ
4264   1C4SDHCT5LC154711   Chrysler      DURANGO              ORLANDO                  FL
4265   1C4SDHCT5LC154739   Chrysler      DURANGO              RALIEGH                  NC
4266   1C4SDHCT5LC154742   Chrysler      DURANGO              MIAMI                    FL
4267   1C4SDHCT5LC154806   Chrysler      DURANGO              HOUSTON                  TX
4268   1C4SDHCT5LC154823   Chrysler      DURANGO              DALLAS                   TX
4269   1C4SDHCT5LC154837   Chrysler      DURANGO              Austin                   TX
4270   1C4SDHCT5LC154868   Chrysler      DURANGO              DETROIT                  MI
4271   1C4SDHCT5LC161285   Chrysler      DURANGO              PHOENIX                  AZ
4272   1C4SDHCT5LC162579   Chrysler      DURANGO              Tulsa                    OK
4273   1C4SDHCT6LC141966   Chrysler      DURANGO              MIAMI                    FL
4274   1C4SDHCT6LC141983   Chrysler      DURANGO              MIAMI                    FL
4275   1C4SDHCT6LC153227   Chrysler      DURANGO              FORT LAUDERDALE          FL
4276   1C4SDHCT6LC153244   Chrysler      DURANGO              LAS VEGAS                NV
4277   1C4SDHCT6LC153258   Chrysler      DURANGO              SANTA ANA                CA
4278   1C4SDHCT6LC153261   Chrysler      DURANGO              Tolleson                 AZ
4279   1C4SDHCT6LC153275   Chrysler      DURANGO              PHOENIX                  AZ
4280   1C4SDHCT6LC154748   Chrysler      DURANGO              TAMPA                    FL
4281   1C4SDHCT6LC154796   Chrysler      DURANGO              HOUSTON                  TX
4282   1C4SDHCT6LC154801   Chrysler      DURANGO              HOUSTON                  TX
4283   1C4SDHCT6LC154829   Chrysler      DURANGO              HOUSTON                  TX
4284   1C4SDHCT6LC154832   Chrysler      DURANGO              DALLAS                   TX
4285   1C4SDHCT6LC161277   Chrysler      DURANGO              WEST PALM BEACH          FL
4286   1C4SDHCT6LC161280   Chrysler      DURANGO              HOUSTON                  TX
4287   1C4SDHCT7LC141958   Chrysler      DURANGO              FORT MYERS               FL
4288   1C4SDHCT7LC141961   Chrysler      DURANGO              MIAMI                    FL
4289   1C4SDHCT7LC141975   Chrysler      DURANGO              FORT LAUDERDALE          FL
4290   1C4SDHCT7LC141989   Chrysler      DURANGO              PHILADELPHIA             PA
4291   1C4SDHCT7LC141992   Chrysler      DURANGO              TAMPA                    FL
4292   1C4SDHCT7LC145850   Chrysler      DURANGO              FORT MYERS               FL
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4293   1C4SDHCT7LC153267   Chrysler      DURANGO              TUCSON                   AZ
4294   1C4SDHCT7LC153270   Chrysler      DURANGO              LAS VEGAS                NV
4295   1C4SDHCT7LC154712   Chrysler      DURANGO              DAYTONA BEACH            FL
4296   1C4SDHCT7LC154743   Chrysler      DURANGO              SARASOTA                 FL
4297   1C4SDHCT7LC154791   Chrysler      DURANGO              HOUSTON                  TX
4298   1C4SDHCT7LC154807   Chrysler      DURANGO              CORPUS CHRISTI           TX
4299   1C4SDHCT7LC154810   Chrysler      DURANGO              HOUSTON                  TX
4300   1C4SDHCT7LC154824   Chrysler      DURANGO              Dallas                   TX
4301   1C4SDHCT7LC154838   Chrysler      DURANGO              DALLAS                   TX
4302   1C4SDHCT8LC141967   Chrysler      DURANGO              WEST PALM BEACH          FL
4303   1C4SDHCT8LC141970   Chrysler      DURANGO              DETROIT                  MI
4304   1C4SDHCT8LC141984   Chrysler      DURANGO              TAMPA                    FL
4305   1C4SDHCT8LC153228   Chrysler      DURANGO              WINTER PARK              FL
4306   1C4SDHCT8LC153245   Chrysler      DURANGO              LAS VEGAS                NV
4307   1C4SDHCT8LC153259   Chrysler      DURANGO              SAN DIEGO                US
4308   1C4SDHCT8LC153262   Chrysler      DURANGO              PHOENIX                  AZ
4309   1C4SDHCT8LC153276   Chrysler      DURANGO              Live Oak                 TX
4310   1C4SDHCT8LC154735   Chrysler      DURANGO              COLLEGE PARK             GA
4311   1C4SDHCT8LC154749   Chrysler      DURANGO              MIAMI                    FL
4312   1C4SDHCT8LC154797   Chrysler      DURANGO              FLORIDA DEALER DIR       FL
4313   1C4SDHCT8LC154802   Chrysler      DURANGO              KENNER                   LA
4314   1C4SDHCT8LC154816   Chrysler      DURANGO              Dallas                   TX
4315   1C4SDHCT8LC154833   Chrysler      DURANGO              HOUSTON                  TX
4316   1C4SDHCT8LC161281   Chrysler      DURANGO              DFW AIRPORT              TX
4317   1C4SDHCT9LC141959   Chrysler      DURANGO              ORLANDO                  FL
4318   1C4SDHCT9LC141962   Chrysler      DURANGO              MIAMI                    FL
4319   1C4SDHCT9LC141976   Chrysler      DURANGO              FORT LAUDERDALE          FL
4320   1C4SDHCT9LC141993   Chrysler      DURANGO              WEST COLUMBIA            SC
4321   1C4SDHCT9LC145851   Chrysler      DURANGO              MILWAUKEE                WI
4322   1C4SDHCT9LC153254   Chrysler      DURANGO              PHOENIX                  AZ
4323   1C4SDHCT9LC153268   Chrysler      DURANGO              PHOENIX                  AZ
4324   1C4SDHCT9LC153271   Chrysler      DURANGO              PORTLAND                 OR
4325   1C4SDHCT9LC154713   Chrysler      DURANGO              CLEVELAND                OH
4326   1C4SDHCT9LC154730   Chrysler      DURANGO              ORLANDO                  FL
4327   1C4SDHCT9LC154744   Chrysler      DURANGO              Atlanta                  GA
4328   1C4SDHCT9LC154792   Chrysler      DURANGO              HOUSTON                  TX
4329   1C4SDHCT9LC154808   Chrysler      DURANGO              Houston                  TX
4330   1C4SDHCT9LC154811   Chrysler      DURANGO              HOUSTON                  TX
4331   1C4SDHCT9LC154825   Chrysler      DURANGO              HOUSTON                  TX
4332   1C4SDHCT9LC154839   Chrysler      DURANGO              KENNER                   LA
4333   1C4SDHCTXLC141968   Chrysler      DURANGO              STERLING                 VA
4334   1C4SDHCTXLC141971   Chrysler      DURANGO              ORLANDO                  FL
4335   1C4SDHCTXLC141985   Chrysler      DURANGO              WILMINGTON AP            NC
4336   1C4SDHCTXLC153229   Chrysler      DURANGO              MIAMI                    FL
4337   1C4SDHCTXLC153246   Chrysler      DURANGO              PHOENIX                  AZ
4338   1C4SDHCTXLC153263   Chrysler      DURANGO              Phoenix                  AZ
4339   1C4SDHCTXLC154736   Chrysler      DURANGO              SAVANNAH                 GA
4340   1C4SDHCTXLC154798   Chrysler      DURANGO              SAN ANTONIO              TX
4341   1C4SDHCTXLC154803   Chrysler      DURANGO              HOUSTON                  TX
4342   1C4SDHCTXLC154817   Chrysler      DURANGO              HOUSTON                  TX
4343   1C4SDHCTXLC154820   Chrysler      DURANGO              Irving                   TX
4344   1C4SDHCTXLC154834   Chrysler      DURANGO              AUSTIN                   TX
4345   1C4SDHCTXLC161279   Chrysler      DURANGO              TUCSON                   AZ
4346   1C4SDHCTXLC161282   Chrysler      DURANGO              HOUSTON                  TX
4347   1C4SDHCTXLC162576   Chrysler      DURANGO              FORT MYERS               FL
4348   1C4SDJCT0KC780091   Chrysler      DURANGO              ATLANTA                  GA
4349   1C4SDJCT0LC142182   Chrysler      DURANGO              NORFOLK                  VA
4350   1C4SDJCT0LC155126   Chrysler      DURANGO              RALIEGH                  NC
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4351   1C4SDJCT0LC155160   Chrysler      DURANGO              SAN DIEGO                CA
4352   1C4SDJCT0LC155224   Chrysler      DURANGO              LOS ANGELES              CA
4353   1C4SDJCT0LC155255   Chrysler      DURANGO              LOS ANGELES              CA
4354   1C4SDJCT0LC155305   Chrysler      DURANGO              CHICAGO O'HARE AP        IL
4355   1C4SDJCT0LC155319   Chrysler      DURANGO              SAINT PAUL               MN
4356   1C4SDJCT0LC155322   Chrysler      DURANGO              CHICAGO                  IL
4357   1C4SDJCT0LC155336   Chrysler      DURANGO              CASCADE TOWNSHI          MI
4358   1C4SDJCT0LC155353   Chrysler      DURANGO              DES PLAINES              US
4359   1C4SDJCT0LC228804   Chrysler      DURANGO              SAN FRANCISCO            CA
4360   1C4SDJCT0LC228818   Chrysler      DURANGO              RENO                     NV
4361   1C4SDJCT0LC228835   Chrysler      DURANGO              DETROIT                  MI
4362   1C4SDJCT0LC228849   Chrysler      DURANGO              SAINT LOUIS              MO
4363   1C4SDJCT1KC684809   Chrysler      DURANGO              North Billerica          MA
4364   1C4SDJCT1KC755426   Chrysler      DURANGO              SEATAC                   WA
4365   1C4SDJCT1LC146225   Chrysler      DURANGO              ALEXANDRIA               VA
4366   1C4SDJCT1LC155104   Chrysler      DURANGO              GREENVILLE               NC
4367   1C4SDJCT1LC155118   Chrysler      DURANGO              TAMPA                    US
4368   1C4SDJCT1LC155121   Chrysler      DURANGO              SUMTER                   SC
4369   1C4SDJCT1LC155250   Chrysler      DURANGO              DALLAS                   TX
4370   1C4SDJCT1LC155328   Chrysler      DURANGO              Elgin                    IL
4371   1C4SDJCT1LC155331   Chrysler      DURANGO              Cedar Rapids             IA
4372   1C4SDJCT1LC155359   Chrysler      DURANGO              CHICAGO                  IL
4373   1C4SDJCT1LC204818   Chrysler      DURANGO              PORTLAND                 ME
4374   1C4SDJCT1LC228813   Chrysler      DURANGO              SAN JOSE                 CA
4375   1C4SDJCT1LC228844   Chrysler      DURANGO              CLEVELAND                OH
4376   1C4SDJCT2LC142183   Chrysler      DURANGO              ROCHESTER                NY
4377   1C4SDJCT2LC146220   Chrysler      DURANGO              East Boston              MA
4378   1C4SDJCT2LC155130   Chrysler      DURANGO              New Britain              CT
4379   1C4SDJCT2LC155158   Chrysler      DURANGO              RENO                     NV
4380   1C4SDJCT2LC155306   Chrysler      DURANGO              MILWAUKEE                WI
4381   1C4SDJCT2LC155323   Chrysler      DURANGO              SEATAC                   WA
4382   1C4SDJCT2LC155337   Chrysler      DURANGO              ALEXANDRIA               VA
4383   1C4SDJCT2LC155354   Chrysler      DURANGO              CHICAGO                  IL
4384   1C4SDJCT2LC204830   Chrysler      DURANGO              FORT MYERS               FL
4385   1C4SDJCT2LC228819   Chrysler      DURANGO              PETALUMA                 CA
4386   1C4SDJCT2LC228853   Chrysler      DURANGO              BLOOMINGTON              IL
4387   1C4SDJCT3KC755427   Chrysler      DURANGO              Austin                   TX
4388   1C4SDJCT3LC142189   Chrysler      DURANGO              STERLING                 VA
4389   1C4SDJCT3LC146226   Chrysler      DURANGO              NEW BERN                 NC
4390   1C4SDJCT3LC155105   Chrysler      DURANGO              CLEVELAND                OH
4391   1C4SDJCT3LC155119   Chrysler      DURANGO              PENSACOLA                FL
4392   1C4SDJCT3LC155122   Chrysler      DURANGO              FAYETTEVILLE             US
4393   1C4SDJCT3LC155136   Chrysler      DURANGO              MIAMI                    FL
4394   1C4SDJCT3LC155315   Chrysler      DURANGO              BLOOMINGTON              IL
4395   1C4SDJCT3LC155329   Chrysler      DURANGO              MILWAUKEE                WI
4396   1C4SDJCT3LC155332   Chrysler      DURANGO              LAS VEGAS                NV
4397   1C4SDJCT3LC228795   Chrysler      DURANGO              FRESNO                   CA
4398   1C4SDJCT3LC228800   Chrysler      DURANGO              SANTA ANA                CA
4399   1C4SDJCT3LC228814   Chrysler      DURANGO              OAKLAND                  CA
4400   1C4SDJCT3LC228845   Chrysler      DURANGO              DETROIT                  MI
4401   1C4SDJCT4KC780093   Chrysler      DURANGO              Springfield              MO
4402   1C4SDJCT4LC142184   Chrysler      DURANGO              PHILADELPHIA             PA
4403   1C4SDJCT4LC146218   Chrysler      DURANGO              PASADENA                 MD
4404   1C4SDJCT4LC146221   Chrysler      DURANGO              INDIANAPOLIS             IN
4405   1C4SDJCT4LC155128   Chrysler      DURANGO              BOSTON                   MA
4406   1C4SDJCT4LC155131   Chrysler      DURANGO              PHILADELPHIA             PA
4407   1C4SDJCT4LC155243   Chrysler      DURANGO              Atlanta                  GA
4408   1C4SDJCT4LC155307   Chrysler      DURANGO              CHARLESTON               WV
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4409   1C4SDJCT4LC155310   Chrysler      DURANGO              BALTIMORE                MD
4410   1C4SDJCT4LC155338   Chrysler      DURANGO              MEMPHIS                  TN
4411   1C4SDJCT4LC155355   Chrysler      DURANGO              CHICAGO                  IL
4412   1C4SDJCT4LC204828   Chrysler      DURANGO              Jamaica                  NY
4413   1C4SDJCT4LC228837   Chrysler      DURANGO              DETROIT                  MI
4414   1C4SDJCT4LC228840   Chrysler      DURANGO              SAN JOSE                 CA
4415   1C4SDJCT4LC228854   Chrysler      DURANGO              WICHITA FALLS            TX
4416   1C4SDJCT5KC755414   Chrysler      DURANGO              Beaverton                OR
4417   1C4SDJCT5LC155087   Chrysler      DURANGO              GREENVILLE               NC
4418   1C4SDJCT5LC155090   Chrysler      DURANGO              PASADENA                 MD
4419   1C4SDJCT5LC155106   Chrysler      DURANGO              RALIEGH                  NC
4420   1C4SDJCT5LC155123   Chrysler      DURANGO              NEW BERN                 NC
4421   1C4SDJCT5LC155140   Chrysler      DURANGO              LAS VEGAS                NV
4422   1C4SDJCT5LC155154   Chrysler      DURANGO              INGLEWOOD                CA
4423   1C4SDJCT5LC155221   Chrysler      DURANGO              HOUSTON                  TX
4424   1C4SDJCT5LC155302   Chrysler      DURANGO              CHICAGO                  IL
4425   1C4SDJCT5LC155316   Chrysler      DURANGO              LOUISVILLE               KY
4426   1C4SDJCT5LC155333   Chrysler      DURANGO              CHICAGO                  IL
4427   1C4SDJCT5LC204823   Chrysler      DURANGO              PITTSBURGH               PA
4428   1C4SDJCT5LC228801   Chrysler      DURANGO              SAN JOSE                 CA
4429   1C4SDJCT5LC228815   Chrysler      DURANGO              LOS ANGELES              CA
4430   1C4SDJCT5LC228832   Chrysler      DURANGO              WICHITA FALLS            TX
4431   1C4SDJCT5LC228846   Chrysler      DURANGO              Detroit                  MI
4432   1C4SDJCT6LC142185   Chrysler      DURANGO              RICHMOND                 VA
4433   1C4SDJCT6LC146219   Chrysler      DURANGO              Leesburg                 VA
4434   1C4SDJCT6LC146222   Chrysler      DURANGO              WEST COLUMBIA            SC
4435   1C4SDJCT6LC155132   Chrysler      DURANGO              Annapolis                MD
4436   1C4SDJCT6LC155146   Chrysler      DURANGO              LAS VEGAS                NV
4437   1C4SDJCT6LC155230   Chrysler      DURANGO              HOUSTON                  TX
4438   1C4SDJCT6LC155258   Chrysler      DURANGO              LAS VEGAS                NV
4439   1C4SDJCT6LC155311   Chrysler      DURANGO              PITTSBURGH               PA
4440   1C4SDJCT6LC155325   Chrysler      DURANGO              DES PLAINES              US
4441   1C4SDJCT6LC155339   Chrysler      DURANGO              Atlanta                  GA
4442   1C4SDJCT6LC155356   Chrysler      DURANGO              DALLAS                   TX
4443   1C4SDJCT6LC204829   Chrysler      DURANGO              JAMAICA                  NY
4444   1C4SDJCT6LC204832   Chrysler      DURANGO              PHILADELPHIA             PA
4445   1C4SDJCT6LC228807   Chrysler      DURANGO              SAN JOSE                 CA
4446   1C4SDJCT6LC228810   Chrysler      DURANGO              SOUTH SAN FRANC          CA
4447   1C4SDJCT6LC228838   Chrysler      DURANGO              STERLING                 VA
4448   1C4SDJCT6LC228841   Chrysler      DURANGO              DETROIT                  MI
4449   1C4SDJCT6LC228855   Chrysler      DURANGO              SAINT LOUIS              MO
4450   1C4SDJCT7KC659266   Chrysler      DURANGO              NEWARK                   NJ
4451   1C4SDJCT7LC155088   Chrysler      DURANGO              PHILADELPHIA             PA
4452   1C4SDJCT7LC155091   Chrysler      DURANGO              HANOVER                  MD
4453   1C4SDJCT7LC155124   Chrysler      DURANGO              AUGUSTA                  GA
4454   1C4SDJCT7LC155138   Chrysler      DURANGO              BURBANK                  CA
4455   1C4SDJCT7LC155141   Chrysler      DURANGO              LAS VEGAS                NV
4456   1C4SDJCT7LC155222   Chrysler      DURANGO              Schaumburg               IL
4457   1C4SDJCT7LC155303   Chrysler      DURANGO              CHARLESTON               WV
4458   1C4SDJCT7LC155320   Chrysler      DURANGO              CHICAGO                  IL
4459   1C4SDJCT7LC204824   Chrysler      DURANGO              Jamaica                  NY
4460   1C4SDJCT7LC204838   Chrysler      DURANGO              Stone Mountain           GA
4461   1C4SDJCT7LC228797   Chrysler      DURANGO              SAN FRANCISCO            CA
4462   1C4SDJCT7LC228802   Chrysler      DURANGO              OAKLAND                  CA
4463   1C4SDJCT7LC228816   Chrysler      DURANGO              STERLING                 VA
4464   1C4SDJCT7LC228833   Chrysler      DURANGO              DETROIT                  MI
4465   1C4SDJCT7LC228847   Chrysler      DURANGO              DETROIT                  MI
4466   1C4SDJCT7LC228850   Chrysler      DURANGO              SAINT LOUIS              MO
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4467   1C4SDJCT8LC142186   Chrysler      DURANGO              GRAND RAPIDS             MI
4468   1C4SDJCT8LC155147   Chrysler      DURANGO              LAS VEGAS                NV
4469   1C4SDJCT8LC155309   Chrysler      DURANGO              CHARLOTTE                NC
4470   1C4SDJCT8LC155312   Chrysler      DURANGO              KNOXVILLE                TN
4471   1C4SDJCT8LC155357   Chrysler      DURANGO              FAYETTEVILLE             GA
4472   1C4SDJCT8LC155360   Chrysler      DURANGO              DES MOINES               IA
4473   1C4SDJCT8LC228808   Chrysler      DURANGO              SOUTH SAN FRANC          CA
4474   1C4SDJCT8LC228811   Chrysler      DURANGO              LOS ANGELES              CA
4475   1C4SDJCT8LC228839   Chrysler      DURANGO              North Canton             OH
4476   1C4SDJCT8LC228842   Chrysler      DURANGO              DETROIT                  MI
4477   1C4SDJCT8LC228856   Chrysler      DURANGO              JACKSONVILLE             FL
4478   1C4SDJCT9KC721962   Chrysler      DURANGO              WHITE PLAINS             NY
4479   1C4SDJCT9KC721976   Chrysler      DURANGO              RONKONKOMA               NY
4480   1C4SDJCT9LC142181   Chrysler      DURANGO              BOSTON                   MA
4481   1C4SDJCT9LC155089   Chrysler      DURANGO              AUSTIN                   TX
4482   1C4SDJCT9LC155125   Chrysler      DURANGO              CHARLOTTE                NC
4483   1C4SDJCT9LC155142   Chrysler      DURANGO              CEDAR RAPIDS             IA
4484   1C4SDJCT9LC155237   Chrysler      DURANGO              TAMPA                    FL
4485   1C4SDJCT9LC155240   Chrysler      DURANGO              LAS VEGAS                NV
4486   1C4SDJCT9LC155254   Chrysler      DURANGO              MEMPHIS                  TN
4487   1C4SDJCT9LC155304   Chrysler      DURANGO              CHICAGO                  IL
4488   1C4SDJCT9LC155318   Chrysler      DURANGO              COLUMBIA                 SC
4489   1C4SDJCT9LC155321   Chrysler      DURANGO              CHICAGO                  IL
4490   1C4SDJCT9LC155335   Chrysler      DURANGO              DES PLAINES              US
4491   1C4SDJCT9LC155352   Chrysler      DURANGO              MIAMI                    FL
4492   1C4SDJCT9LC204825   Chrysler      DURANGO              Parkville                MD
4493   1C4SDJCT9LC228798   Chrysler      DURANGO              SAN FRANCISCO            CA
4494   1C4SDJCT9LC228817   Chrysler      DURANGO              SEATAC                   WA
4495   1C4SDJCT9LC228834   Chrysler      DURANGO              DETROIT                  MI
4496   1C4SDJCT9LC228848   Chrysler      DURANGO              SAINT LOUIS              MO
4497   1C4SDJCT9LC228851   Chrysler      DURANGO              WOODSON TERRACE          MO
4498   1C4SDJCTXKC755666   Chrysler      DURANGO              DENVER                   CO
4499   1C4SDJCTXLC142187   Chrysler      DURANGO              STERLING                 VA
4500   1C4SDJCTXLC142190   Chrysler      DURANGO              FAYETTEVILLE             US
4501   1C4SDJCTXLC146224   Chrysler      DURANGO              CLEVELAND                OH
4502   1C4SDJCTXLC155117   Chrysler      DURANGO              RALEIGH                  NC
4503   1C4SDJCTXLC155120   Chrysler      DURANGO              NEW BERN                 NC
4504   1C4SDJCTXLC155134   Chrysler      DURANGO              PHILADELPHIA             PA
4505   1C4SDJCTXLC155148   Chrysler      DURANGO              Salt Lake City           UT
4506   1C4SDJCTXLC155151   Chrysler      DURANGO              MONTEREY                 CA
4507   1C4SDJCTXLC155232   Chrysler      DURANGO              LAS VEGAS                NV
4508   1C4SDJCTXLC155313   Chrysler      DURANGO              CHICAGO                  IL
4509   1C4SDJCTXLC155330   Chrysler      DURANGO              LEXINGTON                KY
4510   1C4SDJCTXLC155361   Chrysler      DURANGO              BLOOMINGTON              IL
4511   1C4SDJCTXLC204817   Chrysler      DURANGO              MILWAUKEE                WI
4512   1C4SDJCTXLC204820   Chrysler      DURANGO              MILWAUKEE                WI
4513   1C4SDJCTXLC204834   Chrysler      DURANGO              MYRTLE BEACH             SC
4514   1C4SDJCTXLC228812   Chrysler      DURANGO              SAN FRANCISCO            CA
4515   1C4SDJCTXLC228843   Chrysler      DURANGO              DETROIT                  MI
4516   1C6RR6LT0KS549282   Chrysler      RAM                  Omaha                    NE
4517   1C6RR6LT2KS549235   Chrysler      RAM                  DALLAS                   TX
4518   1C6RR6LT3KS548840   Chrysler      RAM                  SAN DIEGO                CA
4519   1C6RR6LT4KS549124   Chrysler      RAM                  MARIETTA                 GA
4520   1C6RR6LT5KS549262   Chrysler      RAM                  Tolleson                 AZ
4521   1C6RR6LT7KS554768   Chrysler      RAM                  FORT MYERS               FL
4522   1C6RR6LT8KS552124   Chrysler      RAM                  ATLANTA                  GA
4523   1C6RR6LT8KS554715   Chrysler      RAM                  OAKLAND                  CA
4524   1C6RR6LT9KS554822   Chrysler      RAM                  DALLAS                   TX
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4525   1C6RR7GG6KS592768   Chrysler      RAM                  Slidell                  LA
4526   1C6RR7GG8KS595865   Chrysler      RAM                  BIRMINGHAM               AL
4527   1C6RR7GT0KS605916   Chrysler      RAM                  SAINT PAUL               MN
4528   1C6RR7GT1KS605925   Chrysler      RAM                  SAINT PAUL               MN
4529   1C6RR7GT1KS613801   Chrysler      RAM                  LOUISVILLE               KY
4530   1C6RR7GT2KS605643   Chrysler      RAM                  Livonia                  MI
4531   1C6RR7GT6KS605919   Chrysler      RAM                  HOUSTON                  TX
4532   1C6RR7GT8KS624858   Chrysler      RAM                  PHOENIX                  AZ
4533   1C6RR7GT9KS605333   Chrysler      RAM                  CHARLESTON               WV
4534   1C6RR7LG1KS595986   Chrysler      RAM                  Kansas City              MO
4535   1C6RR7LG2KS596001   Chrysler      RAM                  Killeen                  TX
4536   1C6RR7LG6KS592713   Chrysler      RAM                  Dallas                   TX
4537   1C6RR7LT0JS289325   Chrysler      RAM                  PORTLAND                 ME
4538   1C6RR7LT0JS289387   Chrysler      RAM                  ST LOUIS                 MO
4539   1C6RR7LT0JS289440   Chrysler      RAM                  Manheim                  PA
4540   1C6RR7LT0KS524985   Chrysler      RAM                  San Diego                CA
4541   1C6RR7LT0KS525019   Chrysler      RAM                  KNOXVILLE                TN
4542   1C6RR7LT0KS526946   Chrysler      RAM                  SOUTHEAST DST OFFC       OK
4543   1C6RR7LT0KS527434   Chrysler      RAM                  LITTLE ROCK              AR
4544   1C6RR7LT0KS550499   Chrysler      RAM                  PHILADELPHIA             PA
4545   1C6RR7LT0KS582174   Chrysler      RAM                  Los Angeles              CA
4546   1C6RR7LT0KS582241   Chrysler      RAM                  SEATAC                   WA
4547   1C6RR7LT1JS288023   Chrysler      RAM                  Dallas                   TX
4548   1C6RR7LT1JS288166   Chrysler      RAM                  North Dighton            MA
4549   1C6RR7LT1KS524574   Chrysler      RAM                  KNOXVILLE                TN
4550   1C6RR7LT1KS524994   Chrysler      RAM                  PHOENIX                  AZ
4551   1C6RR7LT1KS527670   Chrysler      RAM                  SHREVEPORT               LA
4552   1C6RR7LT1KS571524   Chrysler      RAM                  SAN JOSE                 CA
4553   1C6RR7LT1KS582104   Chrysler      RAM                  Stockton                 CA
4554   1C6RR7LT1KS582135   Chrysler      RAM                  DETROIT                  MI
4555   1C6RR7LT1KS582149   Chrysler      RAM                  LAS VEGAS                NV
4556   1C6RR7LT1KS582152   Chrysler      RAM                  Tolleson                 AZ
4557   1C6RR7LT1KS582183   Chrysler      RAM                  SAN JOSE                 CA
4558   1C6RR7LT1KS582216   Chrysler      RAM                  INGLEWOOD                CA
4559   1C6RR7LT1KS582278   Chrysler      RAM                  ONTARIO                  CA
4560   1C6RR7LT1KS605302   Chrysler      RAM                  Reno                     NV
4561   1C6RR7LT1KS605641   Chrysler      RAM                  Elgin                    IL
4562   1C6RR7LT1KS613979   Chrysler      RAM                  SOUTHEAST DST OFFC       OK
4563   1C6RR7LT1KS633942   Chrysler      RAM                  Bridgeton                MO
4564   1C6RR7LT2JS288029   Chrysler      RAM                  MARIETTA                 GA
4565   1C6RR7LT2JS288175   Chrysler      RAM                  Revere                   MA
4566   1C6RR7LT2JS289424   Chrysler      RAM                  Pittsburgh               PA
4567   1C6RR7LT2JS289438   Chrysler      RAM                  Webster                  NY
4568   1C6RR7LT2JS289441   Chrysler      RAM                  Cleveland                OH
4569   1C6RR7LT2JS289486   Chrysler      RAM                  HANOVER                  MD
4570   1C6RR7LT2KS524972   Chrysler      RAM                  TAMPA                    FL
4571   1C6RR7LT2KS527662   Chrysler      RAM                  Salt Lake City           UT
4572   1C6RR7LT2KS550021   Chrysler      RAM                  SAINT PAUL               MN
4573   1C6RR7LT2KS550259   Chrysler      RAM                  DALLAS                   TX
4574   1C6RR7LT2KS550343   Chrysler      RAM                  Atlanta                  GA
4575   1C6RR7LT2KS550374   Chrysler      RAM                  DETROIT                  MI
4576   1C6RR7LT2KS582290   Chrysler      RAM                  SAN FRANCISCO            CA
4577   1C6RR7LT2KS601405   Chrysler      RAM                  SAINT PAUL               MN
4578   1C6RR7LT2KS605969   Chrysler      RAM                  ST Paul                  MN
4579   1C6RR7LT3HS784581   Chrysler      RAM                  Manheim                  PA
4580   1C6RR7LT3JS206308   Chrysler      RAM                  HANOVER                  MD
4581   1C6RR7LT3JS289383   Chrysler      RAM                  RONKONKOMA               NY
4582   1C6RR7LT3JS289416   Chrysler      RAM                  LOUISVILLE               KY
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4583   1C6RR7LT3JS289447   Chrysler      RAM                  BOSTON                   MA
4584   1C6RR7LT3JS289481   Chrysler      RAM                  FAYETTEVILLE             NC
4585   1C6RR7LT3JS306232   Chrysler      RAM                  REDMOND                  OR
4586   1C6RR7LT3JS306246   Chrysler      RAM                  Tulsa                    OK
4587   1C6RR7LT3KS524656   Chrysler      RAM                  SAN ANTONIO              TX
4588   1C6RR7LT3KS524978   Chrysler      RAM                  LAS VEGAS                NV
4589   1C6RR7LT3KS526567   Chrysler      RAM                  FORT MYERS               FL
4590   1C6RR7LT3KS527671   Chrysler      RAM                  DENVER                   CO
4591   1C6RR7LT3KS527718   Chrysler      RAM                  Albuquerque              NM
4592   1C6RR7LT3KS527721   Chrysler      RAM                  MONTEREY                 CA
4593   1C6RR7LT3KS549931   Chrysler      RAM                  SOUTHEAST DST OFFC       OK
4594   1C6RR7LT3KS550237   Chrysler      RAM                  DALLAS                   TX
4595   1C6RR7LT3KS582136   Chrysler      RAM                  FRESNO                   CA
4596   1C6RR7LT3KS587157   Chrysler      RAM                  SACRAMENTO               CA
4597   1C6RR7LT4JS300326   Chrysler      RAM                  SACRAMENTO               CA
4598   1C6RR7LT4JS306224   Chrysler      RAM                  SAN FRANCISCO            CA
4599   1C6RR7LT4KS524472   Chrysler      RAM                  ORLANDO                  FL
4600   1C6RR7LT4KS524679   Chrysler      RAM                  SAN ANTONIO              TX
4601   1C6RR7LT4KS524861   Chrysler      RAM                  SALT LAKE CITY           US
4602   1C6RR7LT4KS524987   Chrysler      RAM                  RENO                     NV
4603   1C6RR7LT4KS525041   Chrysler      RAM                  FRESNO                   CA
4604   1C6RR7LT4KS526903   Chrysler      RAM                  SOUTHEAST DST OFFC       OK
4605   1C6RR7LT4KS527565   Chrysler      RAM                  SAN FRANCISCO            CA
4606   1C6RR7LT4KS527646   Chrysler      RAM                  KNOXVILLE                TN
4607   1C6RR7LT4KS549663   Chrysler      RAM                  LEXINGTON                KY
4608   1C6RR7LT4KS550389   Chrysler      RAM                  Oklahoma City            OK
4609   1C6RR7LT4KS550523   Chrysler      RAM                  Atlanta                  GA
4610   1C6RR7LT4KS582226   Chrysler      RAM                  DALLAS                   TX
4611   1C6RR7LT4KS582257   Chrysler      RAM                  CHICAGO                  IL
4612   1C6RR7LT4KS587166   Chrysler      RAM                  Hattiesburg              MS
4613   1C6RR7LT4KS644479   Chrysler      RAM                  SUMTER                   SC
4614   1C6RR7LT5JS288056   Chrysler      RAM                  Tulsa                    OK
4615   1C6RR7LT5JS289398   Chrysler      RAM                  BUFFALO                  NY
4616   1C6RR7LT5JS289417   Chrysler      RAM                  Dunn                     NC
4617   1C6RR7LT5JS289420   Chrysler      RAM                  Lynn                     MA
4618   1C6RR7LT5JS289448   Chrysler      RAM                  Teterboro                NJ
4619   1C6RR7LT5JS289465   Chrysler      RAM                  Statesville              NC
4620   1C6RR7LT5JS300321   Chrysler      RAM                  Manheim                  PA
4621   1C6RR7LT5KS524691   Chrysler      RAM                  LITTLE ROCK              AR
4622   1C6RR7LT5KS524867   Chrysler      RAM                  LAS VEGAS                NV
4623   1C6RR7LT5KS524884   Chrysler      RAM                  Los Angeles              CA
4624   1C6RR7LT5KS525033   Chrysler      RAM                  RONKONKOMA               NY
4625   1C6RR7LT5KS525047   Chrysler      RAM                  PHOENIX                  AZ
4626   1C6RR7LT5KS527624   Chrysler      RAM                  Las Vegas                NV
4627   1C6RR7LT5KS527705   Chrysler      RAM                  FRESNO                   CA
4628   1C6RR7LT5KS582123   Chrysler      RAM                  Phoenix                  AZ
4629   1C6RR7LT5KS582137   Chrysler      RAM                  PORTLAND                 OR
4630   1C6RR7LT5KS582154   Chrysler      RAM                  FRESNO                   CA
4631   1C6RR7LT5KS582235   Chrysler      RAM                  seatac                   wa
4632   1C6RR7LT6JS288020   Chrysler      RAM                  EL PASO                  US
4633   1C6RR7LT6JS306239   Chrysler      RAM                  SAN JOSE                 CA
4634   1C6RR7LT6KS524487   Chrysler      RAM                  ORLANDO                  FL
4635   1C6RR7LT6KS524926   Chrysler      RAM                  PHOENIX                  AZ
4636   1C6RR7LT6KS526997   Chrysler      RAM                  FRESNO                   CA
4637   1C6RR7LT6KS527700   Chrysler      RAM                  SEATAC                   WA
4638   1C6RR7LT6KS535778   Chrysler      RAM                  LOS ANGELES              CA
4639   1C6RR7LT6KS550040   Chrysler      RAM                  Austell                  GA
4640   1C6RR7LT6KS582101   Chrysler      RAM                  Norwalk                  CA
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4641   1C6RR7LT6KS582115   Chrysler      RAM                  ONTARIO                  CA
4642   1C6RR7LT6KS582289   Chrysler      RAM                  RENO                     NV
4643   1C6RR7LT7JS289368   Chrysler      RAM                  North Dighton            MA
4644   1C6RR7LT7JS289435   Chrysler      RAM                  Atlanta                  GA
4645   1C6RR7LT7JS289449   Chrysler      RAM                  Atlanta                  GA
4646   1C6RR7LT7KS524806   Chrysler      RAM                  INDIANAPOLIS             IN
4647   1C6RR7LT7KS527012   Chrysler      RAM                  KENNER                   LA
4648   1C6RR7LT7KS527124   Chrysler      RAM                  BOSTON                   MA
4649   1C6RR7LT7KS527706   Chrysler      RAM                  BOISE                    US
4650   1C6RR7LT7KS549785   Chrysler      RAM                  Atlanta                  GA
4651   1C6RR7LT7KS549883   Chrysler      RAM                  DALLAS                   TX
4652   1C6RR7LT7KS550158   Chrysler      RAM                  Atlanta                  GA
4653   1C6RR7LT7KS582155   Chrysler      RAM                  LOS ANGELES              CA
4654   1C6RR7LT7KS605837   Chrysler      RAM                  CLEVELAND                OH
4655   1C6RR7LT7KS654407   Chrysler      RAM                  GREENWOOD                NE
4656   1C6RR7LT8JS288195   Chrysler      RAM                  Birmingham               AL
4657   1C6RR7LT8JS289363   Chrysler      RAM                  CLEVELAND                OH
4658   1C6RR7LT8JS289377   Chrysler      RAM                  Manheim                  PA
4659   1C6RR7LT8JS289427   Chrysler      RAM                  CHEEKTOWAGA              NY
4660   1C6RR7LT8JS289430   Chrysler      RAM                  ALBANY                   NY
4661   1C6RR7LT8JS289444   Chrysler      RAM                  ROCHESTER                NY
4662   1C6RR7LT8JS306260   Chrysler      RAM                  Hayward                  CA
4663   1C6RR7LT8KS524992   Chrysler      RAM                  Corpus Christi           TX
4664   1C6RR7LT8KS527598   Chrysler      RAM                  RENO                     NV
4665   1C6RR7LT8KS527617   Chrysler      RAM                  DALLAS                   TX
4666   1C6RR7LT8KS527715   Chrysler      RAM                  DFW AIRPORT              TX
4667   1C6RR7LT8KS550346   Chrysler      RAM                  SOUTHEAST DST OFFC       OK
4668   1C6RR7LT8KS582097   Chrysler      RAM                  SANTA ANA                CA
4669   1C6RR7LT8KS582245   Chrysler      RAM                  LAS VEGAS                NV
4670   1C6RR7LT9JS288142   Chrysler      RAM                  Houston                  TX
4671   1C6RR7LT9JS289341   Chrysler      RAM                  BUFFALO                  NY
4672   1C6RR7LT9JS289369   Chrysler      RAM                  WHITE PLAINS             NY
4673   1C6RR7LT9JS289422   Chrysler      RAM                  RICHMOND                 VA
4674   1C6RR7LT9JS289436   Chrysler      RAM                  HARTFORD                 CT
4675   1C6RR7LT9KS524872   Chrysler      RAM                  SAN DIEGO                CA
4676   1C6RR7LT9KS524886   Chrysler      RAM                  SACRAMENTO               CA
4677   1C6RR7LT9KS525018   Chrysler      RAM                  LAS VEGAS                NV
4678   1C6RR7LT9KS526945   Chrysler      RAM                  Warr Acres               OK
4679   1C6RR7LT9KS527240   Chrysler      RAM                  Portland                 ME
4680   1C6RR7LT9KS527643   Chrysler      RAM                  ORLANDO                  FL
4681   1C6RR7LT9KS527691   Chrysler      RAM                  Kent                     WA
4682   1C6RR7LT9KS527707   Chrysler      RAM                  PRINCE GEORGE            BC
4683   1C6RR7LT9KS582237   Chrysler      RAM                  SEATAC                   WA
4684   1C6RR7LT9KS582240   Chrysler      RAM                  SAN FRANCISCO            US
4685   1C6RR7LT9KS582268   Chrysler      RAM                  BURBANK                  CA
4686   1C6RR7LT9KS582285   Chrysler      RAM                  PALM SPRINGS             CA
4687   1C6RR7LT9KS613910   Chrysler      RAM                  DALLAS                   TX
4688   1C6RR7LTXJS289378   Chrysler      RAM                  NEW ORLEANS              LA
4689   1C6RR7LTXJS289459   Chrysler      RAM                  PITTSBURGH               PA
4690   1C6RR7LTXJS306194   Chrysler      RAM                  SAN DIEGO                CA
4691   1C6RR7LTXKS526937   Chrysler      RAM                  RALEIGH                  NC
4692   1C6RR7LTXKS527005   Chrysler      RAM                  DENVER                   CO
4693   1C6RR7LTXKS527019   Chrysler      RAM                  SAN ANTONIO              TX
4694   1C6RR7LTXKS527604   Chrysler      RAM                  SACRAMENTO               CA
4695   1C6RR7LTXKS527666   Chrysler      RAM                  Tulsa                    OK
4696   1C6RR7LTXKS527683   Chrysler      RAM                  DENVER                   CO
4697   1C6RR7LTXKS527697   Chrysler      RAM                  KALISPELL                MT
4698   1C6RR7LTXKS549828   Chrysler      RAM                  SAN FRANCISCO            CA
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4699   1C6RR7LTXKS582103   Chrysler      RAM                  LAS VEGAS                NV
4700   1C6RR7LTXKS582117   Chrysler      RAM                  San Diego                CA
4701   1C6RR7LTXKS582134   Chrysler      RAM                  SAN DIEGO                CA
4702   1C6RR7LTXKS582179   Chrysler      RAM                  ONTARIO                  CA
4703   1C6RR7LTXKS582263   Chrysler      RAM                  seatac                   wa
4704   1C6RR7NG1JS306343   Chrysler      RAM                  Detroit                  MI
4705   1C6RR7NG6JS306466   Chrysler      RAM                  Detroit                  MI
4706   1C6RR7NG7JS300305   Chrysler      RAM                  Pittsburgh               PA
4707   1C6RR7NG9JS306414   Chrysler      RAM                  Riverside                CA
4708   1C6RR7NGXJS306289   Chrysler      RAM                  Lubbock                  TX
4709   1C6RR7NGXJS306311   Chrysler      RAM                  WEST PALM BEACH          FL
4710   1C6RR7NGXJS306468   Chrysler      RAM                  Euless                   TX
4711   1C6RR7NT8JS229757   Chrysler      RAM                  MARIETTA                 GA
4712   1C6RR7TT1KS550902   Chrysler      RAM                  DETROIT                  MI
4713   1C6RR7TT1KS552973   Chrysler      RAM                  Dallas                   TX
4714   1C6RR7TT2KS550889   Chrysler      RAM                  SAINT PAUL               MN
4715   1C6RR7TT4KS552935   Chrysler      RAM                  INDIANAPOLIS             IN
4716   1C6RR7TT4KS556094   Chrysler      RAM                  Tolleson                 AZ
4717   1C6RR7TT4KS556189   Chrysler      RAM                  DALLAS                   TX
4718   1C6RR7TT5KS552989   Chrysler      RAM                  Teterboro                NJ
4719   1C6RR7TT5KS556301   Chrysler      RAM                  Mira Loma                CA
4720   1C6RR7TT6KS550832   Chrysler      RAM                  Atlanta                  GA
4721   1C6RR7TT7KS551150   Chrysler      RAM                  BURBANK                  CA
4722   1C6RR7TT7KS551214   Chrysler      RAM                  HOT SPRINGS              AR
4723   1C6RR7TT8KS552906   Chrysler      RAM                  Hapeville                GA
4724   1C6RR7TT9KS553014   Chrysler      RAM                  Teterboro                NJ
4725   1C6RR7TTXKS556200   Chrysler      RAM                  CHICAGO                  IL
4726   1C6RR7TTXKS556312   Chrysler      RAM                  DENVER                   CO
4727   1C6RREHT2KN847804   Chrysler      RAM                  PITTSBURGH               PA
4728   1C6RREHT4KN847688   Chrysler      RAM                  EAST BOSTON              MA
4729   1C6RREHT7KN847748   Chrysler      RAM                  LOUISVILLE               KY
4730   1C6RRFMG0KN848402   Chrysler      RAM                  ATLANTA                  GA
4731   1C6RRFMG0KN858427   Chrysler      RAM                  SAINT LOUIS              MO
4732   1C6RRFMG2KN858462   Chrysler      RAM                  Atlanta                  GA
4733   1C6RRFMG5KN848394   Chrysler      RAM                  HOUSTON                  TX
4734   1C6RRFMG5KN858407   Chrysler      RAM                  CLEVELAND                OH
4735   1C6RRFMG6KN848470   Chrysler      RAM                  LOUISVILLE               KY
4736   1C6RRFMG7KN848431   Chrysler      RAM                  BIRMINGHAM               AL
4737   1C6SRFBT0KN820133   Chrysler      RAM                  CLEVELAND                OH
4738   1C6SRFBT0KN822299   Chrysler      RAM                  PENSACOLA                FL
4739   1C6SRFBT0KN822352   Chrysler      RAM                  Cedar Rapids             IA
4740   1C6SRFBT0KN833206   Chrysler      RAM                  Hapeville                GA
4741   1C6SRFBT0KN833254   Chrysler      RAM                  Albuquerque              NM
4742   1C6SRFBT0KN833271   Chrysler      RAM                  EL PASO                  TX
4743   1C6SRFBT0KN833321   Chrysler      RAM                  SAINT PAUL               MN
4744   1C6SRFBT1KN822277   Chrysler      RAM                  EULESS                   TX
4745   1C6SRFBT1KN822425   Chrysler      RAM                  DETROIT                  MI
4746   1C6SRFBT1KN833151   Chrysler      RAM                  Ontario                  CA
4747   1C6SRFBT1KN833196   Chrysler      RAM                  Savannah                 GA
4748   1C6SRFBT1KN833215   Chrysler      RAM                  Detroit                  MI
4749   1C6SRFBT1KN833246   Chrysler      RAM                  Houston                  TX
4750   1C6SRFBT1KN833294   Chrysler      RAM                  LAS VEGAS                NV
4751   1C6SRFBT1KN833330   Chrysler      RAM                  LOS ANGELES              CA
4752   1C6SRFBT1KN833361   Chrysler      RAM                  Hebron                   KY
4753   1C6SRFBT2KN822434   Chrysler      RAM                  PITTSBURGH               PA
4754   1C6SRFBT2KN833109   Chrysler      RAM                  ONTARIO                  CA
4755   1C6SRFBT2KN833143   Chrysler      RAM                  Tolleson                 AZ
4756   1C6SRFBT2KN833207   Chrysler      RAM                  Memphis                  TN
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4757   1C6SRFBT2KN833305   Chrysler      RAM                  OAKLAND                  CA
4758   1C6SRFBT2KN833322   Chrysler      RAM                  GYPSUM                   CO
4759   1C6SRFBT3KN820126   Chrysler      RAM                  WEST CENTRAL DEALE       CO
4760   1C6SRFBT3KN822278   Chrysler      RAM                  LAFAYETTE                LA
4761   1C6SRFBT3KN822295   Chrysler      RAM                  Pensacola                FL
4762   1C6SRFBT3KN822300   Chrysler      RAM                  WEST PALM BEACH          FL
4763   1C6SRFBT3KN822345   Chrysler      RAM                  Atlanta                  GA
4764   1C6SRFBT3KN833121   Chrysler      RAM                  Las Vegas                NV
4765   1C6SRFBT3KN833149   Chrysler      RAM                  KILLEEN                  US
4766   1C6SRFBT3KN833216   Chrysler      RAM                  SOUTHEAST DST OFFC       OK
4767   1C6SRFBT3KN833233   Chrysler      RAM                  Atlanta                  GA
4768   1C6SRFBT3KN833250   Chrysler      RAM                  ORLANDO                  FL
4769   1C6SRFBT3KN833264   Chrysler      RAM                  SALT LAKE CITY           UT
4770   1C6SRFBT4KN822368   Chrysler      RAM                  Memphis                  TN
4771   1C6SRFBT4KN822385   Chrysler      RAM                  Houston                  TX
4772   1C6SRFBT4KN822421   Chrysler      RAM                  West Mifflin             PA
4773   1C6SRFBT4KN822435   Chrysler      RAM                  CLEVELAND                OH
4774   1C6SRFBT4KN833127   Chrysler      RAM                  LOS ANGELES              CA
4775   1C6SRFBT4KN833368   Chrysler      RAM                  STREAMWOOD               IL
4776   1C6SRFBT5KN820130   Chrysler      RAM                  SHREVEPORT               LA
4777   1C6SRFBT5KN822282   Chrysler      RAM                  HOUSTON                  TX
4778   1C6SRFBT5KN822394   Chrysler      RAM                  DALLAS                   TX
4779   1C6SRFBT5KN822413   Chrysler      RAM                  DALLAS                   TX
4780   1C6SRFBT5KN822430   Chrysler      RAM                  WHITE PLAINS             NY
4781   1C6SRFBT5KN833105   Chrysler      RAM                  BOARDMAN                 OH
4782   1C6SRFBT5KN833198   Chrysler      RAM                  ATLANTA                  GA
4783   1C6SRFBT5KN833203   Chrysler      RAM                  ORLANDO                  FL
4784   1C6SRFBT5KN833217   Chrysler      RAM                  CHARLOTTE                NC
4785   1C6SRFBT5KN833220   Chrysler      RAM                  ALIQUIPPA                PA
4786   1C6SRFBT5KN833279   Chrysler      RAM                  SALT LAKE CITY           UT
4787   1C6SRFBT5KN833296   Chrysler      RAM                  SALT LAKE CITY           US
4788   1C6SRFBT5KN833377   Chrysler      RAM                  DENVER                   CO
4789   1C6SRFBT6KN822291   Chrysler      RAM                  Slidell                  LA
4790   1C6SRFBT6KN822310   Chrysler      RAM                  EULESS                   TX
4791   1C6SRFBT6KN822324   Chrysler      RAM                  KENNER                   LA
4792   1C6SRFBT6KN822355   Chrysler      RAM                  KNOXVILLE                TN
4793   1C6SRFBT6KN833095   Chrysler      RAM                  PORTLAND                 OR
4794   1C6SRFBT6KN833100   Chrysler      RAM                  SACRAMENTO               CA
4795   1C6SRFBT6KN833114   Chrysler      RAM                  SANTA ANA                CA
4796   1C6SRFBT6KN833145   Chrysler      RAM                  ONTARIO                  CA
4797   1C6SRFBT6KN833209   Chrysler      RAM                  SOUTHEAST DST OFFC       OK
4798   1C6SRFBT6KN833226   Chrysler      RAM                  SAVANNAH                 GA
4799   1C6SRFBT7KN820131   Chrysler      RAM                  MARIETTA                 GA
4800   1C6SRFBT7KN822316   Chrysler      RAM                  Slidell                  LA
4801   1C6SRFBT7KN822347   Chrysler      RAM                  SOUTHEAST DST OFFC       OK
4802   1C6SRFBT7KN822428   Chrysler      RAM                  CHARLESTON               WV
4803   1C6SRFBT7KN833185   Chrysler      RAM                  OMAHA                    NE
4804   1C6SRFBT7KN833204   Chrysler      RAM                  Morrisville              NC
4805   1C6SRFBT7KN833266   Chrysler      RAM                  Dallas                   TX
4806   1C6SRFBT7KN833381   Chrysler      RAM                  SALT LAKE CITY           UT
4807   1C6SRFBT8KN822308   Chrysler      RAM                  LOUISVILLE               KY
4808   1C6SRFBT8KN822339   Chrysler      RAM                  GRAND RAPIDS             MI
4809   1C6SRFBT8KN822423   Chrysler      RAM                  INDIANAPOLIS             IN
4810   1C6SRFBT8KN833101   Chrysler      RAM                  Phoenix                  AZ
4811   1C6SRFBT8KN833180   Chrysler      RAM                  SACRAMENTO               CA
4812   1C6SRFBT8KN833244   Chrysler      RAM                  ATLANTA                  GA
4813   1C6SRFBT8KN833261   Chrysler      RAM                  DALLAS                   TX
4814   1C6SRFBT8KN833275   Chrysler      RAM                  BOISE                    US
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4815   1C6SRFBT8KN833292   Chrysler      RAM                  OAKLAND                  CA
4816   1C6SRFBT9KN822284   Chrysler      RAM                  Teterboro                NJ
4817   1C6SRFBT9KN822396   Chrysler      RAM                  Detroit                  MI
4818   1C6SRFBT9KN833110   Chrysler      RAM                  San Diego                CA
4819   1C6SRFBT9KN833141   Chrysler      RAM                  SAN FRANCISCO            CA
4820   1C6SRFBT9KN833186   Chrysler      RAM                  Ocoee                    FL
4821   1C6SRFBT9KN838713   Chrysler      RAM                  ALBUQUERQUE              NM
4822   1C6SRFBTXKN822326   Chrysler      RAM                  LOUISVILLE               KY
4823   1C6SRFBTXKN822343   Chrysler      RAM                  CHICAGO                  IL
4824   1C6SRFBTXKN822391   Chrysler      RAM                  DETROIT                  MI
4825   1C6SRFBTXKN822410   Chrysler      RAM                  Albuquerque              NM
4826   1C6SRFBTXKN833231   Chrysler      RAM                  Carleton                 MI
4827   1C6SRFFT0KN838917   Chrysler      RAM                  DALLAS                   TX
4828   1C6SRFFT0KN839727   Chrysler      RAM                  CLEVELAND                OH
4829   1C6SRFFT0KN840120   Chrysler      RAM                  DFW AIRPORT              TX
4830   1C6SRFFT0KN840151   Chrysler      RAM                  PHOENIX                  AZ
4831   1C6SRFFT0KN840196   Chrysler      RAM                  Dallas                   TX
4832   1C6SRFFT0KN840425   Chrysler      RAM                  KANSAS CITY              MO
4833   1C6SRFFT0KN840473   Chrysler      RAM                  DALLAS                   TX
4834   1C6SRFFT0KN840487   Chrysler      RAM                  DALLAS                   TX
4835   1C6SRFFT0KN840506   Chrysler      RAM                  DALLAS                   TX
4836   1C6SRFFT1KN838909   Chrysler      RAM                  SAN ANTONIO              TX
4837   1C6SRFFT1KN839459   Chrysler      RAM                  DALLAS                   TX
4838   1C6SRFFT1KN839994   Chrysler      RAM                  Dallas                   TX
4839   1C6SRFFT1KN840028   Chrysler      RAM                  ATLANTA                  GA
4840   1C6SRFFT1KN840479   Chrysler      RAM                  DFW AIRPORT              TX
4841   1C6SRFFT2KN838823   Chrysler      RAM                  BOSTON                   MA
4842   1C6SRFFT2KN838918   Chrysler      RAM                  Dallas                   TX
4843   1C6SRFFT2KN839227   Chrysler      RAM                  Dallas                   TX
4844   1C6SRFFT2KN839485   Chrysler      RAM                  HOUSTON                  TX
4845   1C6SRFFT2KN840183   Chrysler      RAM                  WICHITA FALLS            TX
4846   1C6SRFFT2KN840460   Chrysler      RAM                  DALLAS                   TX
4847   1C6SRFFT3KN840001   Chrysler      RAM                  Denver                   CO
4848   1C6SRFFT3KN840130   Chrysler      RAM                  Houston                  TX
4849   1C6SRFFT3KN840158   Chrysler      RAM                  SHREVEPORT               LA
4850   1C6SRFFT3KN840192   Chrysler      RAM                  DALLAS                   TX
4851   1C6SRFFT3KN840323   Chrysler      RAM                  DALLAS                   TX
4852   1C6SRFFT3KN840452   Chrysler      RAM                  DALLAS                   TX
4853   1C6SRFFT4KN839469   Chrysler      RAM                  DALLAS                   TX
4854   1C6SRFFT4KN839472   Chrysler      RAM                  DALLAS                   TX
4855   1C6SRFFT4KN840220   Chrysler      RAM                  KENNER                   LA
4856   1C6SRFFT5KN839433   Chrysler      RAM                  Dallas                   TX
4857   1C6SRFFT5KN840307   Chrysler      RAM                  DALLAS                   TX
4858   1C6SRFFT7KN840017   Chrysler      RAM                  Dallas                   TX
4859   1C6SRFFT7KN840065   Chrysler      RAM                  SAINT LOUIS              MO
4860   1C6SRFFT7KN840504   Chrysler      RAM                  Atlanta                  GA
4861   1C6SRFFT8KN840026   Chrysler      RAM                  DALLAS                   TX
4862   1C6SRFFTXKN838911   Chrysler      RAM                  DFW AIRPORT              TX
4863   1C6SRFFTXKN839198   Chrysler      RAM                  Dallas                   TX
4864   1C6SRFFTXKN840125   Chrysler      RAM                  HOUSTON                  TX
4865   1C6SRFFTXKN840447   Chrysler      RAM                  SHREVEPORT               LA
4866   1C6SRFHT0KN839661   Chrysler      RAM                  FAYETTEVILLE             GA
4867   1C6SRFHT0KN839689   Chrysler      RAM                  Atlanta                  GA
4868   1C6SRFHT0KN839871   Chrysler      RAM                  DETROIT                  MI
4869   1C6SRFHT4KN839646   Chrysler      RAM                  Union City               GA
4870   1C6SRFHT4KN839873   Chrysler      RAM                  CLEVELAND                OH
4871   1C6SRFHT5KN840790   Chrysler      RAM                  DENVER                   CO
4872   1C6SRFHT6KN838725   Chrysler      RAM                  PORTLAND                 OR
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4873   1C6SRFHTXKN840705   Chrysler      RAM                  LOS ANGELES              CA
4874   1C6SRFKT0KN839510   Chrysler      RAM                  SAN DIEGO                CA
4875   1C6SRFKT1KN839841   Chrysler      RAM                  Atlanta                  GA
4876   1C6SRFKT2KN838939   Chrysler      RAM                  DFW AIRPORT              TX
4877   1C6SRFKT4KN839512   Chrysler      RAM                  Tolleson                 AZ
4878   1C6SRFKT4KN840594   Chrysler      RAM                  Dallas                   TX
4879   1C6SRFKT5KN839972   Chrysler      RAM                  Pensacola                FL
4880   1C6SRFKT6KN840581   Chrysler      RAM                  DFW AIRPORT              TX
4881   1C6SRFKT7KN840587   Chrysler      RAM                  CHICAGO                  IL
4882   1C6SRFKT8KN840629   Chrysler      RAM                  HANOVER                  MD
4883   1C6SRFKT9KN839862   Chrysler      RAM                  Atlanta                  GA
4884   1C6SRFKT9KN840543   Chrysler      RAM                  Dallas                   TX
4885   1C6SRFKTXKN840048   Chrysler      RAM                  Houston                  TX
4886   1C6SRFKTXKN840552   Chrysler      RAM                  SAN ANTONIO              TX
4887   1C6SRFLT0KN839344   Chrysler      RAM                  SAN ANTONIO              TX
4888   1C6SRFLT1KN839028   Chrysler      RAM                  Dallas                   TX
4889   1C6SRFLT1KN839093   Chrysler      RAM                  FAYETTEVILLE             GA
4890   1C6SRFLT1KN839109   Chrysler      RAM                  HOUSTON                  TX
4891   1C6SRFLT1KN839384   Chrysler      RAM                  HOUSTON                  TX
4892   1C6SRFLT2KN839037   Chrysler      RAM                  HOUSTON                  TX
4893   1C6SRFLT2KN839104   Chrysler      RAM                  NEW ORLEANS              LA
4894   1C6SRFLT3KN839242   Chrysler      RAM                  DALLAS                   TX
4895   1C6SRFLT3KN839273   Chrysler      RAM                  DALLAS                   TX
4896   1C6SRFLT4KN839055   Chrysler      RAM                  DFW AIRPORT              TX
4897   1C6SRFLT5KN839260   Chrysler      RAM                  LAS VEGAS                NV
4898   1C6SRFLT6KN839283   Chrysler      RAM                  PORTLAND                 OR
4899   1C6SRFLT7KN839292   Chrysler      RAM                  Pensacola                FL
4900   1C6SRFLT7KN871255   Chrysler      RAM                  MEMPHIS                  TN
4901   1C6SRFLT8KN839012   Chrysler      RAM                  DFW AIRPORT              TX
4902   1C6SRFLT8KN839379   Chrysler      RAM                  Kansas City              MO
4903   1C6SRFLT9KN839049   Chrysler      RAM                  Dallas                   TX
4904   1C6SRFLT9KN839357   Chrysler      RAM                  Dallas                   TX
4905   1FA6P8CF0K5138492   Ford          MUST                 LAS VEGAS                NV
4906   1FA6P8CF0K5163778   Ford          MUST                 MIAMI                    FL
4907   1FA6P8CF0K5186297   Ford          MUST                 CHARLOTTE                NC
4908   1FA6P8CF0K5186302   Ford          MUST                 SACRAMENTO               CA
4909   1FA6P8CF0K5188485   Ford          MUST                 LAS VEGAS                NV
4910   1FA6P8CF0K5188518   Ford          MUST                 SACRAMENTO               CA
4911   1FA6P8CF0K5188535   Ford          MUST                 LAS VEGAS                NV
4912   1FA6P8CF0K5188549   Ford          MUST                 BURBANK                  CA
4913   1FA6P8CF0K5193590   Ford          MUST                 LAS VEGAS                NV
4914   1FA6P8CF0L5111617   Ford          MUST                 Denver                   CO
4915   1FA6P8CF0L5111665   Ford          MUST                 DALLAS                   TX
4916   1FA6P8CF0L5111679   Ford          MUST                 DALLAS                   TX
4917   1FA6P8CF0L5111696   Ford          MUST                 OKLAHOMA CITY            OK
4918   1FA6P8CF0L5111701   Ford          MUST                 AUSTIN                   TX
4919   1FA6P8CF0L5112332   Ford          MUST                 TAMPA                    FL
4920   1FA6P8CF0L5112346   Ford          MUST                 WEST PALM BEACH          FL
4921   1FA6P8CF0L5115196   Ford          MUST                 Manheim                  PA
4922   1FA6P8CF0L5115313   Ford          MUST                 TAMPA                    FL
4923   1FA6P8CF0L5118700   Ford          MUST                 ORLANDO                  FL
4924   1FA6P8CF0L5118907   Ford          MUST                 CHICAGO                  IL
4925   1FA6P8CF0L5118910   Ford          MUST                 TALLAHASSEE              FL
4926   1FA6P8CF0L5119135   Ford          MUST                 FORT LAUDERDALE          FL
4927   1FA6P8CF0L5131219   Ford          MUST                 Davie                    FL
4928   1FA6P8CF0L5136453   Ford          MUST                 Hayward                  CA
4929   1FA6P8CF1K5140350   Ford          MUST                 Birmingham               AL
4930   1FA6P8CF1K5171775   Ford          MUST                 Pasadena                 CA
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4931   1FA6P8CF1K5171808   Ford         MUST                 SAN LUIS OBSIPO          CA
4932   1FA6P8CF1K5186275   Ford         MUST                 Dallas                   TX
4933   1FA6P8CF1K5188513   Ford         MUST                 TUCSON                   AZ
4934   1FA6P8CF1K5188527   Ford         MUST                 TRACY                    CA
4935   1FA6P8CF1K5188530   Ford         MUST                 SOUTH SAN FRANC          CA
4936   1FA6P8CF1K5193534   Ford         MUST                 Live Oak                 TX
4937   1FA6P8CF1K5193548   Ford         MUST                 NEW ORLEANS              LA
4938   1FA6P8CF1K5193579   Ford         MUST                 SEATTLE                  WA
4939   1FA6P8CF1K5193582   Ford         MUST                 LAS VEGAS                NV
4940   1FA6P8CF1L5111612   Ford         MUST                 KNOXVILLE                TN
4941   1FA6P8CF1L5111660   Ford         MUST                 DALLAS                   TX
4942   1FA6P8CF1L5111674   Ford         MUST                 DALLAS                   TX
4943   1FA6P8CF1L5111688   Ford         MUST                 ORLANDO                  FL
4944   1FA6P8CF1L5111691   Ford         MUST                 DALLAS                   TX
4945   1FA6P8CF1L5111707   Ford         MUST                 DALLAS                   TX
4946   1FA6P8CF1L5111903   Ford         MUST                 NEW ORLEANS              LA
4947   1FA6P8CF1L5111920   Ford         MUST                 NEW ORLEANS              LA
4948   1FA6P8CF1L5115207   Ford         MUST                 DULUTH                   GA
4949   1FA6P8CF1L5115305   Ford         MUST                 TAMPA                    FL
4950   1FA6P8CF1L5115319   Ford         MUST                 TAMPA                    FL
4951   1FA6P8CF1L5115322   Ford         MUST                 ORLANDO                  FL
4952   1FA6P8CF1L5118477   Ford         MUST                 CHICAGO                  IL
4953   1FA6P8CF1L5119175   Ford         MUST                 CHICAGO                  IL
4954   1FA6P8CF1L5131116   Ford         MUST                 Jacksonville             FL
4955   1FA6P8CF2H5345085   Ford         MUST                 PHILADELPHIA             US
4956   1FA6P8CF2K5163779   Ford         MUST                 ORLANDO                  FL
4957   1FA6P8CF2K5171767   Ford         MUST                 Lake Elsinore            CA
4958   1FA6P8CF2K5186284   Ford         MUST                 DALLAS                   TX
4959   1FA6P8CF2K5186320   Ford         MUST                 SAN JOSE                 CA
4960   1FA6P8CF2K5188486   Ford         MUST                 LAS VEGAS                NV
4961   1FA6P8CF2K5188519   Ford         MUST                 SAN JOSE                 CA
4962   1FA6P8CF2K5188522   Ford         MUST                 SOUTH SAN FRANC          CA
4963   1FA6P8CF2K5188536   Ford         MUST                 SAN JOSE                 CA
4964   1FA6P8CF2K5193560   Ford         MUST                 FRESNO                   CA
4965   1FA6P8CF2K5193574   Ford         MUST                 ONTARIO, RIVERSIDE       CA
4966   1FA6P8CF2K5193588   Ford         MUST                 LAS VEGAS                NV
4967   1FA6P8CF2K5193591   Ford         MUST                 Salt Lake City           UT
4968   1FA6P8CF2L5111618   Ford         MUST                 Atlanta                  GA
4969   1FA6P8CF2L5111683   Ford         MUST                 LITTLE ROCK              AR
4970   1FA6P8CF2L5111702   Ford         MUST                 AUSTIN                   TX
4971   1FA6P8CF2L5111909   Ford         MUST                 HOUSTON                  TX
4972   1FA6P8CF2L5112333   Ford         MUST                 MIAMI                    FL
4973   1FA6P8CF2L5112400   Ford         MUST                 PHOENIX                  AZ
4974   1FA6P8CF2L5115197   Ford         MUST                 JACKSONVILLE             FL
4975   1FA6P8CF2L5118486   Ford         MUST                 BOSTON                   MA
4976   1FA6P8CF2L5118696   Ford         MUST                 FORT LAUDERDALE          FL
4977   1FA6P8CF2L5118911   Ford         MUST                 ORLANDO                  FL
4978   1FA6P8CF2L5119136   Ford         MUST                 SARASOTA                 FL
4979   1FA6P8CF2L5136423   Ford         MUST                 Hayward                  CA
4980   1FA6P8CF3K5138289   Ford         MUST                 LAS VEGAS                NV
4981   1FA6P8CF3K5163757   Ford         MUST                 PHOENIX                  AZ
4982   1FA6P8CF3K5163774   Ford         MUST                 Tampa                    FL
4983   1FA6P8CF3K5171776   Ford         MUST                 TRACY                    CA
4984   1FA6P8CF3K5186309   Ford         MUST                 San Diego                CA
4985   1FA6P8CF3K5186312   Ford         MUST                 FRESNO                   CA
4986   1FA6P8CF3K5188495   Ford         MUST                 Las Vegas                NV
4987   1FA6P8CF3K5188500   Ford         MUST                 ORANGE COUNTY            CA
4988   1FA6P8CF3K5188545   Ford         MUST                 Phoenix                  AZ
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4989   1FA6P8CF3K5193535   Ford         MUST                 Albuquerque              NM
4990   1FA6P8CF3L5111661   Ford         MUST                 GRAND RAPIDS             MI
4991   1FA6P8CF3L5111675   Ford         MUST                 Killeen                  TX
4992   1FA6P8CF3L5111689   Ford         MUST                 TAMPA                    FL
4993   1FA6P8CF3L5111692   Ford         MUST                 HOUSTON                  TX
4994   1FA6P8CF3L5111708   Ford         MUST                 SAN ANTONIO              TX
4995   1FA6P8CF3L5112339   Ford         MUST                 ORLANDO                  FL
4996   1FA6P8CF3L5112342   Ford         MUST                 ORLANDO                  FL
4997   1FA6P8CF3L5115208   Ford         MUST                 Atlanta                  GA
4998   1FA6P8CF3L5115211   Ford         MUST                 ATLANTA                  GA
4999   1FA6P8CF3L5115306   Ford         MUST                 ORLANDO                  FL
5000   1FA6P8CF3L5115323   Ford         MUST                 JACKSONVILLE             FL
5001   1FA6P8CF3L5118478   Ford         MUST                 SAINT PAUL               MN
5002   1FA6P8CF3L5118691   Ford         MUST                 FORT LAUDERDALE          FL
5003   1FA6P8CF3L5118903   Ford         MUST                 Hapeville                GA
5004   1FA6P8CF3L5119131   Ford         MUST                 Miami                    FL
5005   1FA6P8CF3L5131196   Ford         MUST                 Newport Beach            CA
5006   1FA6P8CF4K5138270   Ford         MUST                 OAKLAND                  CA
5007   1FA6P8CF4K5186271   Ford         MUST                 Phoenix                  AZ
5008   1FA6P8CF4K5188490   Ford         MUST                 LAS VEGAS                NV
5009   1FA6P8CF4K5188506   Ford         MUST                 PHOENIX                  AZ
5010   1FA6P8CF4K5188523   Ford         MUST                 LOS ANGELES              CA
5011   1FA6P8CF4K5188537   Ford         MUST                 LOS ANGELES              CA
5012   1FA6P8CF4K5188540   Ford         MUST                 Las Vegas                NV
5013   1FA6P8CF4K5188554   Ford         MUST                 LOS ANGELES              CA
5014   1FA6P8CF4K5193544   Ford         MUST                 Houston                  TX
5015   1FA6P8CF4K5193561   Ford         MUST                 Anaheim                  CA
5016   1FA6P8CF4K5193575   Ford         MUST                 SAN JOSE                 CA
5017   1FA6P8CF4L5111667   Ford         MUST                 HOUSTON                  TX
5018   1FA6P8CF4L5111670   Ford         MUST                 DFW AIRPORT              TX
5019   1FA6P8CF4L5111684   Ford         MUST                 HOUSTON                  TX
5020   1FA6P8CF4L5111698   Ford         MUST                 HOUSTON                  TX
5021   1FA6P8CF4L5111927   Ford         MUST                 HOUSTON                  TX
5022   1FA6P8CF4L5115198   Ford         MUST                 Atlanta                  GA
5023   1FA6P8CF4L5115203   Ford         MUST                 UNION CITY               GA
5024   1FA6P8CF4L5115315   Ford         MUST                 SAVANNAH                 GA
5025   1FA6P8CF4L5118490   Ford         MUST                 WESTERVILLE              OH
5026   1FA6P8CF4L5119171   Ford         MUST                 Cedar Rapids             IA
5027   1FA6P8CF4L5131210   Ford         MUST                 WOODS CROSS              US
5028   1FA6P8CF5K5163761   Ford         MUST                 FORT MYERS               FL
5029   1FA6P8CF5K5186263   Ford         MUST                 CHICAGO                  IL
5030   1FA6P8CF5K5186327   Ford         MUST                 Anaheim                  CA
5031   1FA6P8CF5K5188496   Ford         MUST                 OAKLAND                  CA
5032   1FA6P8CF5K5188501   Ford         MUST                 LAS VEGAS                NV
5033   1FA6P8CF5K5188532   Ford         MUST                 SAN DIEGO                US
5034   1FA6P8CF5K5193570   Ford         MUST                 Montebello               CA
5035   1FA6P8CF5L5111614   Ford         MUST                 ATLANTA                  GA
5036   1FA6P8CF5L5111662   Ford         MUST                 DFW AIRPORT              TX
5037   1FA6P8CF5L5111676   Ford         MUST                 Dallas                   TX
5038   1FA6P8CF5L5111693   Ford         MUST                 HOUSTON                  TX
5039   1FA6P8CF5L5111919   Ford         MUST                 DALLAS                   TX
5040   1FA6P8CF5L5115209   Ford         MUST                 KNOXVILLE                TN
5041   1FA6P8CF5L5118708   Ford         MUST                 MIAMI                    FL
5042   1FA6P8CF5L5118711   Ford         MUST                 JACKSONVILLE             FL
5043   1FA6P8CF5L5118899   Ford         MUST                 FORT MYERS               FL
5044   1FA6P8CF5L5118918   Ford         MUST                 ORLANDO                  FL
5045   1FA6P8CF5L5136433   Ford         MUST                 LOS ANGELES              CA
5046   1FA6P8CF6K5171805   Ford         MUST                 Las Vegas                NV
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5047   1FA6P8CF6K5186286   Ford         MUST                 HOUSTON                  TX
5048   1FA6P8CF6K5186305   Ford         MUST                 SACRAMENTO               CA
5049   1FA6P8CF6K5188491   Ford         MUST                 Fontana                  CA
5050   1FA6P8CF6K5188507   Ford         MUST                 PHOENIX                  AZ
5051   1FA6P8CF6K5188510   Ford         MUST                 SAN FRANCISCO            CA
5052   1FA6P8CF6K5188524   Ford         MUST                 CHICAGO                  IL
5053   1FA6P8CF6K5193559   Ford         MUST                 LOS ANGELES              CA
5054   1FA6P8CF6L5111668   Ford         MUST                 JACKSONVILLE             FL
5055   1FA6P8CF6L5111671   Ford         MUST                 BIRMINGHAM               AL
5056   1FA6P8CF6L5111685   Ford         MUST                 DFW AIRPORT              TX
5057   1FA6P8CF6L5111699   Ford         MUST                 HOUSTON                  TX
5058   1FA6P8CF6L5111704   Ford         MUST                 HOUSTON                  TX
5059   1FA6P8CF6L5111900   Ford         MUST                 HOUSTON                  TX
5060   1FA6P8CF6L5111914   Ford         MUST                 HOUSTON                  TX
5061   1FA6P8CF6L5111928   Ford         MUST                 HOUSTON                  TX
5062   1FA6P8CF6L5112383   Ford         MUST                 LAS VEGAS                NV
5063   1FA6P8CF6L5112402   Ford         MUST                 PHOENIX                  AZ
5064   1FA6P8CF6L5115199   Ford         MUST                 Atlanta                  GA
5065   1FA6P8CF6L5115204   Ford         MUST                 KNOXVILLE                TN
5066   1FA6P8CF6L5115302   Ford         MUST                 TAMPA                    FL
5067   1FA6P8CF6L5118474   Ford         MUST                 Louisville               KY
5068   1FA6P8CF6L5118703   Ford         MUST                 MIAMI                    FL
5069   1FA6P8CF6L5118913   Ford         MUST                 TAMPA                    FL
5070   1FA6P8CF6L5119169   Ford         MUST                 CHICAGO                  IL
5071   1FA6P8CF6L5131046   Ford         MUST                 Orlando                  FL
5072   1FA6P8CF6L5131175   Ford         MUST                 SAN ANTONIO              TX
5073   1FA6P8CF6L5131192   Ford         MUST                 PHOENIX                  AZ
5074   1FA6P8CF6L5131211   Ford         MUST                 PORTLAND                 OR
5075   1FA6P8CF7K5138490   Ford         MUST                 Springfield              MO
5076   1FA6P8CF7K5163762   Ford         MUST                 DANIA                    FL
5077   1FA6P8CF7K5163776   Ford         MUST                 TAMPA                    FL
5078   1FA6P8CF7K5186264   Ford         MUST                 WEST PALM BEACH          FL
5079   1FA6P8CF7K5186278   Ford         MUST                 SAVANNAH                 GA
5080   1FA6P8CF7K5186281   Ford         MUST                 Denver                   CO
5081   1FA6P8CF7K5186314   Ford         MUST                 Santa Clara              CA
5082   1FA6P8CF7K5186328   Ford         MUST                 RENO                     NV
5083   1FA6P8CF7K5188516   Ford         MUST                 Burien                   WA
5084   1FA6P8CF7K5193568   Ford         MUST                 SEATTLE                  WA
5085   1FA6P8CF7K5193571   Ford         MUST                 SANTA ANA                CA
5086   1FA6P8CF7K5193585   Ford         MUST                 LOS ANGELES              CA
5087   1FA6P8CF7L5111663   Ford         MUST                 SEATAC                   WA
5088   1FA6P8CF7L5111677   Ford         MUST                 NEW ORLEANS              LA
5089   1FA6P8CF7L5111680   Ford         MUST                 Dallas                   TX
5090   1FA6P8CF7L5111694   Ford         MUST                 SAN ANTONIO              TX
5091   1FA6P8CF7L5111937   Ford         MUST                 HOUSTON                  TX
5092   1FA6P8CF7L5115194   Ford         MUST                 Atlanta                  GA
5093   1FA6P8CF7L5115213   Ford         MUST                 PENSACOLA                FL
5094   1FA6P8CF7L5115308   Ford         MUST                 ORLANDO                  FL
5095   1FA6P8CF7L5118693   Ford         MUST                 TAMPA                    FL
5096   1FA6P8CF7L5119133   Ford         MUST                 TAMPA                    FL
5097   1FA6P8CF7L5131038   Ford         MUST                 PHILADELPHIA             PA
5098   1FA6P8CF7L5136434   Ford         MUST                 SAN FRANCISCO            CA
5099   1FA6P8CF8K5171806   Ford         MUST                 Palm Springs             CA
5100   1FA6P8CF8K5186306   Ford         MUST                 SAN FRANCISCO            CA
5101   1FA6P8CF8K5186323   Ford         MUST                 Los Angeles              CA
5102   1FA6P8CF8K5188492   Ford         MUST                 Phoenix                  AZ
5103   1FA6P8CF8K5188511   Ford         MUST                 LOS ANGELES              CA
5104   1FA6P8CF8K5188525   Ford         MUST                 SACRAMENTO               CA
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5105   1FA6P8CF8K5188539   Ford         MUST                 SAN DIEGO                CA
5106   1FA6P8CF8L5111669   Ford         MUST                 HOUSTON                  TX
5107   1FA6P8CF8L5111672   Ford         MUST                 DALLAS                   TX
5108   1FA6P8CF8L5111705   Ford         MUST                 DALLAS                   TX
5109   1FA6P8CF8L5111929   Ford         MUST                 AUSTIN                   TX
5110   1FA6P8CF8L5112336   Ford         MUST                 Miami                    FL
5111   1FA6P8CF8L5112384   Ford         MUST                 PHOENIX                  AZ
5112   1FA6P8CF8L5115205   Ford         MUST                 BIRMINGHAM               AL
5113   1FA6P8CF8L5115303   Ford         MUST                 Jacksonville             FL
5114   1FA6P8CF8L5115317   Ford         MUST                 ORLANDO                  FL
5115   1FA6P8CF8L5118900   Ford         MUST                 COCOA                    FL
5116   1FA6P8CF8L5131212   Ford         MUST                 SEATAC                   WA
5117   1FA6P8CF8L5131243   Ford         MUST                 SALT LAKE CITY           UT
5118   1FA6P8CF9K5139706   Ford         MUST                 JACKSONVILLE             FL
5119   1FA6P8CF9K5163763   Ford         MUST                 TAMPA                    FL
5120   1FA6P8CF9K5171782   Ford         MUST                 Stockton                 CA
5121   1FA6P8CF9K5188498   Ford         MUST                 LAS VEGAS                NV
5122   1FA6P8CF9K5188520   Ford         MUST                 SAN JOSE                 CA
5123   1FA6P8CF9K5188534   Ford         MUST                 LAS VEGAS                NV
5124   1FA6P8CF9K5188548   Ford         MUST                 LOS ANGELES AP           CA
5125   1FA6P8CF9K5193569   Ford         MUST                 Burlingame               CA
5126   1FA6P8CF9K5193572   Ford         MUST                 SACRAMENTO               CA
5127   1FA6P8CF9K5193586   Ford         MUST                 Windsor Locks            CT
5128   1FA6P8CF9L5111616   Ford         MUST                 SOUTHEAST DST OFFC       OK
5129   1FA6P8CF9L5111664   Ford         MUST                 HOUSTON                  TX
5130   1FA6P8CF9L5111678   Ford         MUST                 Springfield              MO
5131   1FA6P8CF9L5111681   Ford         MUST                 FT. LAUDERDALE           FL
5132   1FA6P8CF9L5111695   Ford         MUST                 HOUSTON                  TX
5133   1FA6P8CF9L5111700   Ford         MUST                 SAINT LOUIS              MO
5134   1FA6P8CF9L5111910   Ford         MUST                 DALLAS                   TX
5135   1FA6P8CF9L5111924   Ford         MUST                 HOUSTON                  TX
5136   1FA6P8CF9L5112345   Ford         MUST                 ORLANDO                  FL
5137   1FA6P8CF9L5115195   Ford         MUST                 VANDALIA                 OH
5138   1FA6P8CF9L5115200   Ford         MUST                 CHATTANOOGA              TN
5139   1FA6P8CF9L5115214   Ford         MUST                 SOUTHEAST DST OFFC       OK
5140   1FA6P8CF9L5115309   Ford         MUST                 Miami                    FL
5141   1FA6P8CF9L5115312   Ford         MUST                 ORLANDO                  FL
5142   1FA6P8CF9L5131204   Ford         MUST                 SEA TAC                  WA
5143   1FA6P8CFXK5163772   Ford         MUST                 MIAMI                    FL
5144   1FA6P8CFXK5171788   Ford         MUST                 LOS ANGELES              CA
5145   1FA6P8CFXK5171807   Ford         MUST                 OAKLAND                  CA
5146   1FA6P8CFXK5186291   Ford         MUST                 JACKSON                  MS
5147   1FA6P8CFXK5186307   Ford         MUST                 Newport Beach            CA
5148   1FA6P8CFXK5186324   Ford         MUST                 LAS VEGAS                NV
5149   1FA6P8CFXK5188493   Ford         MUST                 Las Vegas                NV
5150   1FA6P8CFXK5188526   Ford         MUST                 Charlotte                NC
5151   1FA6P8CFXK5188543   Ford         MUST                 SANTA ANA                CA
5152   1FA6P8CFXK5193533   Ford         MUST                 ORLANDO                  FL
5153   1FA6P8CFXK5193564   Ford         MUST                 LAS VEGAS                NV
5154   1FA6P8CFXK5193578   Ford         MUST                 Ventura                  CA
5155   1FA6P8CFXL5111673   Ford         MUST                 DALLAS                   TX
5156   1FA6P8CFXL5111687   Ford         MUST                 CORPUS CHRISTI           TX
5157   1FA6P8CFXL5111690   Ford         MUST                 DALLAS                   TX
5158   1FA6P8CFXL5111933   Ford         MUST                 Dallas                   TX
5159   1FA6P8CFXL5112337   Ford         MUST                 NEWARK                   NJ
5160   1FA6P8CFXL5112404   Ford         MUST                 Phoenix                  AZ
5161   1FA6P8CFXL5115206   Ford         MUST                 Atlanta                  GA
5162   1FA6P8CFXL5115304   Ford         MUST                 FORT LAUDERDALE          FL
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5163   1FA6P8CFXL5118915   Ford         MUST                 SARASOTA                 FL
5164   1FA6P8CFXL5119174   Ford         MUST                 BLOOMINGTON              IL
5165   1FA6P8CFXL5131115   Ford         MUST                 JACKSONVILLE             FL
5166   1FA6P8TH0L5111621   Ford         MUST                 Atlanta                  GA
5167   1FA6P8TH0L5111635   Ford         MUST                 WEST COLUMBIA            SC
5168   1FA6P8TH0L5111649   Ford         MUST                 Atlanta                  GA
5169   1FA6P8TH0L5111652   Ford         MUST                 Atlanta                  GA
5170   1FA6P8TH0L5112039   Ford         MUST                 SAN FRANCISCO            CA
5171   1FA6P8TH0L5112042   Ford         MUST                 SANTA ANA                CA
5172   1FA6P8TH0L5112056   Ford         MUST                 PALM SPRINGS             CA
5173   1FA6P8TH0L5112204   Ford         MUST                 SARASOTA                 FL
5174   1FA6P8TH0L5112218   Ford         MUST                 Miami                    FL
5175   1FA6P8TH0L5112221   Ford         MUST                 Miami                    FL
5176   1FA6P8TH0L5112235   Ford         MUST                 Atlanta                  GA
5177   1FA6P8TH0L5112249   Ford         MUST                 FORT LAUDERDALE          FL
5178   1FA6P8TH0L5112252   Ford         MUST                 SAN JOSE                 CA
5179   1FA6P8TH0L5112266   Ford         MUST                 LAS VEGAS                NV
5180   1FA6P8TH0L5112350   Ford         MUST                 SARASOTA                 FL
5181   1FA6P8TH0L5112364   Ford         MUST                 FORT MYERS               FL
5182   1FA6P8TH0L5112378   Ford         MUST                 MIAMI                    FL
5183   1FA6P8TH0L5112462   Ford         MUST                 BURBANK                  CA
5184   1FA6P8TH0L5112493   Ford         MUST                 SAN JOSE                 CA
5185   1FA6P8TH0L5115216   Ford         MUST                 TAMPA                    FL
5186   1FA6P8TH0L5118505   Ford         MUST                 LAS VEGAS                NV
5187   1FA6P8TH0L5118519   Ford         MUST                 LAS VEGAS                NV
5188   1FA6P8TH0L5118522   Ford         MUST                 LOS ANGELES              CA
5189   1FA6P8TH0L5118813   Ford         MUST                 PENSACOLA                FL
5190   1FA6P8TH0L5118827   Ford         MUST                 ORLANDO                  FL
5191   1FA6P8TH0L5118830   Ford         MUST                 MIAMI                    FL
5192   1FA6P8TH0L5118875   Ford         MUST                 BOSTON                   MA
5193   1FA6P8TH0L5118892   Ford         MUST                 PHILADELPHIA             PA
5194   1FA6P8TH0L5119069   Ford         MUST                 OAKLAND                  CA
5195   1FA6P8TH0L5119072   Ford         MUST                 PALM SPRINGS             CA
5196   1FA6P8TH0L5119153   Ford         MUST                 MIAMI                    FL
5197   1FA6P8TH0L5119167   Ford         MUST                 Miami                    FL
5198   1FA6P8TH0L5119511   Ford         MUST                 FORT MYERS               FL
5199   1FA6P8TH0L5119525   Ford         MUST                 TAMPA                    FL
5200   1FA6P8TH0L5119587   Ford         MUST                 JACKSONVILLE             FL
5201   1FA6P8TH0L5119590   Ford         MUST                 SARASOTA                 FL
5202   1FA6P8TH0L5136728   Ford         MUST                 PHILADELPHIA             PA
5203   1FA6P8TH0L5136759   Ford         MUST                 JACKSONVILLE             FL
5204   1FA6P8TH0L5136762   Ford         MUST                 WINTER PARK              FL
5205   1FA6P8TH0L5136776   Ford         MUST                 Jacksonville             FL
5206   1FA6P8TH0L5136793   Ford         MUST                 TAMPA                    FL
5207   1FA6P8TH0L5136826   Ford         MUST                 ORLANDO                  FL
5208   1FA6P8TH1L5111627   Ford         MUST                 ATLANTA                  GA
5209   1FA6P8TH1L5111644   Ford         MUST                 DETROIT                  MI
5210   1FA6P8TH1L5111658   Ford         MUST                 Atlanta                  GA
5211   1FA6P8TH1L5112048   Ford         MUST                 SAN DIEGO                CA
5212   1FA6P8TH1L5112051   Ford         MUST                 BURBANK                  CA
5213   1FA6P8TH1L5112065   Ford         MUST                 LOS ANGELES              CA
5214   1FA6P8TH1L5112079   Ford         MUST                 SAN JOSE                 CA
5215   1FA6P8TH1L5112082   Ford         MUST                 LOS ANGELES              CA
5216   1FA6P8TH1L5112213   Ford         MUST                 TAMPA                    FL
5217   1FA6P8TH1L5112227   Ford         MUST                 MIAMI                    FL
5218   1FA6P8TH1L5112230   Ford         MUST                 MIAMI                    FL
5219   1FA6P8TH1L5112244   Ford         MUST                 ORLANDO                  FL
5220   1FA6P8TH1L5112258   Ford         MUST                 FRESNO                   CA
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5221   1FA6P8TH1L5112261   Ford         MUST                 SAN JOSE                 CA
5222   1FA6P8TH1L5112275   Ford         MUST                 SAN FRANCISCO            CA
5223   1FA6P8TH1L5112356   Ford         MUST                 WEST PALM BEACH          FL
5224   1FA6P8TH1L5112373   Ford         MUST                 JACKSONVILLE             FL
5225   1FA6P8TH1L5112485   Ford         MUST                 LAS VEGAS                NV
5226   1FA6P8TH1L5112499   Ford         MUST                 LOS ANGELES              CA
5227   1FA6P8TH1L5118495   Ford         MUST                 LAS VEGAS                NV
5228   1FA6P8TH1L5118514   Ford         MUST                 LAS VEGAS                NV
5229   1FA6P8TH1L5118819   Ford         MUST                 ORLANDO                  FL
5230   1FA6P8TH1L5118822   Ford         MUST                 ORLANDO                  FL
5231   1FA6P8TH1L5118836   Ford         MUST                 ORLANDO                  FL
5232   1FA6P8TH1L5118870   Ford         MUST                 KNOXVILLE                TN
5233   1FA6P8TH1L5118884   Ford         MUST                 PITTSBURGH               PA
5234   1FA6P8TH1L5119064   Ford         MUST                 FRESNO                   CA
5235   1FA6P8TH1L5119145   Ford         MUST                 WEST PALM BEACH          FL
5236   1FA6P8TH1L5119159   Ford         MUST                 FORT LAUDERDALE          FL
5237   1FA6P8TH1L5119162   Ford         MUST                 JACKSONVILLE             FL
5238   1FA6P8TH1L5119517   Ford         MUST                 MIAMI                    FL
5239   1FA6P8TH1L5119520   Ford         MUST                 FORT MYERS               FL
5240   1FA6P8TH1L5119579   Ford         MUST                 ORLANDO                  FL
5241   1FA6P8TH1L5119582   Ford         MUST                 ORLANDO                  FL
5242   1FA6P8TH1L5136768   Ford         MUST                 JACKSONVILLE             FL
5243   1FA6P8TH1L5137273   Ford         MUST                 SARASOTA                 FL
5244   1FA6P8TH2L5111619   Ford         MUST                 Atlanta                  GA
5245   1FA6P8TH2L5111622   Ford         MUST                 Teterboro                NJ
5246   1FA6P8TH2L5111636   Ford         MUST                 BIRMINGHAM               AL
5247   1FA6P8TH2L5111653   Ford         MUST                 BIRMINGHAM               AL
5248   1FA6P8TH2L5112043   Ford         MUST                 SACRAMENTO               CA
5249   1FA6P8TH2L5112057   Ford         MUST                 LOS ANGELES              CA
5250   1FA6P8TH2L5112060   Ford         MUST                 ONTARIO                  CA
5251   1FA6P8TH2L5112074   Ford         MUST                 LOS ANGELES              CA
5252   1FA6P8TH2L5112205   Ford         MUST                 Miami                    FL
5253   1FA6P8TH2L5112219   Ford         MUST                 FORT LAUDERDALE          FL
5254   1FA6P8TH2L5112222   Ford         MUST                 ORLANDO                  FL
5255   1FA6P8TH2L5112236   Ford         MUST                 MIAMI                    FL
5256   1FA6P8TH2L5112253   Ford         MUST                 SANTA ANA                CA
5257   1FA6P8TH2L5112267   Ford         MUST                 SALT LAKE CITY           UT
5258   1FA6P8TH2L5112270   Ford         MUST                 COSTA MESA               CA
5259   1FA6P8TH2L5112351   Ford         MUST                 PENSACOLA                FL
5260   1FA6P8TH2L5112365   Ford         MUST                 WINTER PARK              FL
5261   1FA6P8TH2L5112463   Ford         MUST                 LAS VEGAS                NV
5262   1FA6P8TH2L5112494   Ford         MUST                 LAS VEGAS                NV
5263   1FA6P8TH2L5115217   Ford         MUST                 ORLANDO                  FL
5264   1FA6P8TH2L5115220   Ford         MUST                 FAYETTEVILLE             GA
5265   1FA6P8TH2L5118506   Ford         MUST                 SAN DIEGO                CA
5266   1FA6P8TH2L5118523   Ford         MUST                 SAN DIEGO                CA
5267   1FA6P8TH2L5118814   Ford         MUST                 Miami                    FL
5268   1FA6P8TH2L5118831   Ford         MUST                 ORLANDO                  FL
5269   1FA6P8TH2L5118893   Ford         MUST                 HANOVER                  MD
5270   1FA6P8TH2L5119056   Ford         MUST                 Lake Elsinore            CA
5271   1FA6P8TH2L5119073   Ford         MUST                 LOS ANGELES              CA
5272   1FA6P8TH2L5119154   Ford         MUST                 ORLANDO                  FL
5273   1FA6P8TH2L5119526   Ford         MUST                 SARASOTA                 FL
5274   1FA6P8TH2L5119574   Ford         MUST                 Tampa                    FL
5275   1FA6P8TH2L5119588   Ford         MUST                 Tampa                    FL
5276   1FA6P8TH2L5119591   Ford         MUST                 Miami                    FL
5277   1FA6P8TH2L5136794   Ford         MUST                 WINTER PARK              FL
5278   1FA6P8TH3L5111628   Ford         MUST                 ATLANTA                  GA
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5279   1FA6P8TH3L5111631   Ford         MUST                 Atlanta                  GA
5280   1FA6P8TH3L5111645   Ford         MUST                 Marietta                 GA
5281   1FA6P8TH3L5111659   Ford         MUST                 ATLANTA                  GA
5282   1FA6P8TH3L5112049   Ford         MUST                 OMAHA                    NE
5283   1FA6P8TH3L5112052   Ford         MUST                 LOS ANGELES              CA
5284   1FA6P8TH3L5112066   Ford         MUST                 LOS ANGELES              CA
5285   1FA6P8TH3L5112083   Ford         MUST                 SAN FRANCISCO            CA
5286   1FA6P8TH3L5112214   Ford         MUST                 DES MOINES               IA
5287   1FA6P8TH3L5112228   Ford         MUST                 MIAMI                    FL
5288   1FA6P8TH3L5112231   Ford         MUST                 WEST PALM BEACH          FL
5289   1FA6P8TH3L5112245   Ford         MUST                 Miami                    FL
5290   1FA6P8TH3L5112259   Ford         MUST                 SACRAMENTO               CA
5291   1FA6P8TH3L5112262   Ford         MUST                 SACRAMENTO               CA
5292   1FA6P8TH3L5112276   Ford         MUST                 SOUTH SAN FRANC          CA
5293   1FA6P8TH3L5112357   Ford         MUST                 ORLANDO                  FL
5294   1FA6P8TH3L5112360   Ford         MUST                 FORT LAUDERDALE          FL
5295   1FA6P8TH3L5112374   Ford         MUST                 ORLANDO                  FL
5296   1FA6P8TH3L5112472   Ford         MUST                 LAS VEGAS                NV
5297   1FA6P8TH3L5112486   Ford         MUST                 HUNTSVILLE               AL
5298   1FA6P8TH3L5112505   Ford         MUST                 SAN FRANCISCO            CA
5299   1FA6P8TH3L5118496   Ford         MUST                 LAS VEGAS                NV
5300   1FA6P8TH3L5118501   Ford         MUST                 SAN DIEGO                CA
5301   1FA6P8TH3L5118515   Ford         MUST                 LOS ANGELES              CA
5302   1FA6P8TH3L5118823   Ford         MUST                 ORLANDO                  FL
5303   1FA6P8TH3L5118837   Ford         MUST                 Jacksonville             FL
5304   1FA6P8TH3L5118840   Ford         MUST                 FORT LAUDERDALE          FL
5305   1FA6P8TH3L5118868   Ford         MUST                 BUFFALO                  NY
5306   1FA6P8TH3L5118871   Ford         MUST                 FORT LAUDERDALE          FL
5307   1FA6P8TH3L5118885   Ford         MUST                 TAMPA                    FL
5308   1FA6P8TH3L5119065   Ford         MUST                 SANTA ANA                CA
5309   1FA6P8TH3L5119146   Ford         MUST                 MIAMI                    FL
5310   1FA6P8TH3L5119163   Ford         MUST                 FORT LAUDERDALE          FL
5311   1FA6P8TH3L5119518   Ford         MUST                 TAMPA                    FL
5312   1FA6P8TH3L5119521   Ford         MUST                 FORT MYERS               FL
5313   1FA6P8TH3L5119535   Ford         MUST                 FORT LAUDERDALE          FL
5314   1FA6P8TH3L5119566   Ford         MUST                 MIAMI                    FL
5315   1FA6P8TH3L5119583   Ford         MUST                 MIAMI                    FL
5316   1FA6P8TH3L5136786   Ford         MUST                 PORTLAND                 ME
5317   1FA6P8TH3L5137291   Ford         MUST                 NORFOLK                  VA
5318   1FA6P8TH4L5111623   Ford         MUST                 BIRMINGHAM               AL
5319   1FA6P8TH4L5111637   Ford         MUST                 BIRMINGHAN               AL
5320   1FA6P8TH4L5111640   Ford         MUST                 MILWAUKEE                WI
5321   1FA6P8TH4L5111654   Ford         MUST                 NEW BERN                 NC
5322   1FA6P8TH4L5112044   Ford         MUST                 LAS VEGAS                NV
5323   1FA6P8TH4L5112061   Ford         MUST                 SANTA ANA                CA
5324   1FA6P8TH4L5112075   Ford         MUST                 SACRAMENTO               CA
5325   1FA6P8TH4L5112206   Ford         MUST                 WEST PALM BEACH          FL
5326   1FA6P8TH4L5112223   Ford         MUST                 ORLANDO                  FL
5327   1FA6P8TH4L5112237   Ford         MUST                 SARASOTA                 FL
5328   1FA6P8TH4L5112240   Ford         MUST                 JACKSONVILLE             FL
5329   1FA6P8TH4L5112254   Ford         MUST                 PALM SPRINGS             CA
5330   1FA6P8TH4L5112268   Ford         MUST                 INGLEWOOD                CA
5331   1FA6P8TH4L5112271   Ford         MUST                 SOUTH SAN FRANC          CA
5332   1FA6P8TH4L5112349   Ford         MUST                 SCRANTON                 PA
5333   1FA6P8TH4L5112352   Ford         MUST                 JACKSONVILLE             FL
5334   1FA6P8TH4L5112366   Ford         MUST                 FORT LAUDERDALE          FL
5335   1FA6P8TH4L5112478   Ford         MUST                 PHOENIX                  AZ
5336   1FA6P8TH4L5112495   Ford         MUST                 SACRAMENTO               CA
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5337   1FA6P8TH4L5112500   Ford         MUST                 PHOENIX                  AZ
5338   1FA6P8TH4L5115218   Ford         MUST                 FORT LAUDERDALE          FL
5339   1FA6P8TH4L5115221   Ford         MUST                 ATLANTA                  GA
5340   1FA6P8TH4L5118507   Ford         MUST                 LAS VEGAS                NV
5341   1FA6P8TH4L5118510   Ford         MUST                 LAS VEGAS                NV
5342   1FA6P8TH4L5118524   Ford         MUST                 SAN DIEGO                CA
5343   1FA6P8TH4L5118815   Ford         MUST                 WEST PALM BEACH          FL
5344   1FA6P8TH4L5118829   Ford         MUST                 MIAMI                    FL
5345   1FA6P8TH4L5118832   Ford         MUST                 FORT MYERS               FL
5346   1FA6P8TH4L5118894   Ford         MUST                 Miami                    FL
5347   1FA6P8TH4L5119057   Ford         MUST                 LOS ANGELES              CA
5348   1FA6P8TH4L5119060   Ford         MUST                 Buena Park               CA
5349   1FA6P8TH4L5119074   Ford         MUST                 LAS VEGAS                NV
5350   1FA6P8TH4L5119155   Ford         MUST                 TAMPA                    FL
5351   1FA6P8TH4L5119513   Ford         MUST                 FORT MYERS               FL
5352   1FA6P8TH4L5119527   Ford         MUST                 MIAMI                    FL
5353   1FA6P8TH4L5119530   Ford         MUST                 FORT LAUDERDALE          FL
5354   1FA6P8TH4L5119575   Ford         MUST                 ATLANTA                  GA
5355   1FA6P8TH4L5119589   Ford         MUST                 WINTER PARK              FL
5356   1FA6P8TH4L5119592   Ford         MUST                 FORT LAUDERDALE          FL
5357   1FA6P8TH4L5136831   Ford         MUST                 JACKSONVILLE             FL
5358   1FA6P8TH5L5111629   Ford         MUST                 WEST PALM BEACH          FL
5359   1FA6P8TH5L5111632   Ford         MUST                 JACKSONVILLE             FL
5360   1FA6P8TH5L5111646   Ford         MUST                 ATLANTA                  GA
5361   1FA6P8TH5L5112053   Ford         MUST                 LAS VEGAS                NV
5362   1FA6P8TH5L5112070   Ford         MUST                 SACRAMENTO               CA
5363   1FA6P8TH5L5112084   Ford         MUST                 BURBANK                  CA
5364   1FA6P8TH5L5112215   Ford         MUST                 Miami                    FL
5365   1FA6P8TH5L5112229   Ford         MUST                 MIAMI                    FL
5366   1FA6P8TH5L5112232   Ford         MUST                 FORT LAUDERDALE          FL
5367   1FA6P8TH5L5112246   Ford         MUST                 Atlanta                  GA
5368   1FA6P8TH5L5112263   Ford         MUST                 PORTLAND                 OR
5369   1FA6P8TH5L5112277   Ford         MUST                 LOS ANGELES AP           CA
5370   1FA6P8TH5L5112280   Ford         MUST                 SANTA ANA                CA
5371   1FA6P8TH5L5112358   Ford         MUST                 TAMPA                    FL
5372   1FA6P8TH5L5112361   Ford         MUST                 JACKSONVILLE             FL
5373   1FA6P8TH5L5112375   Ford         MUST                 Hebron                   KY
5374   1FA6P8TH5L5112487   Ford         MUST                 BURBANK                  CA
5375   1FA6P8TH5L5118502   Ford         MUST                 BURBANK                  CA
5376   1FA6P8TH5L5118824   Ford         MUST                 CHARLESTON               WV
5377   1FA6P8TH5L5118838   Ford         MUST                 MIAMI                    FL
5378   1FA6P8TH5L5118841   Ford         MUST                 SAINT LOUIS              MO
5379   1FA6P8TH5L5118869   Ford         MUST                 NEWARK                   NJ
5380   1FA6P8TH5L5118886   Ford         MUST                 ORLANDO                  FL
5381   1FA6P8TH5L5119066   Ford         MUST                 SAN DIEGO                CA
5382   1FA6P8TH5L5119147   Ford         MUST                 ORLANDO                  FL
5383   1FA6P8TH5L5119150   Ford         MUST                 WEST PALM BEACH          FL
5384   1FA6P8TH5L5119164   Ford         MUST                 MIAMI                    FL
5385   1FA6P8TH5L5119519   Ford         MUST                 TAMPA                    FL
5386   1FA6P8TH5L5119567   Ford         MUST                 ORLANDO                  FL
5387   1FA6P8TH5L5119570   Ford         MUST                 FORT MYERS               FL
5388   1FA6P8TH5L5119584   Ford         MUST                 TAMPA                    FL
5389   1FA6P8TH5L5136093   Ford         MUST                 Brighton                 CO
5390   1FA6P8TH5L5136787   Ford         MUST                 Miami                    FL
5391   1FA6P8TH5L5137244   Ford         MUST                 Sacramento               CA
5392   1FA6P8TH6L5111624   Ford         MUST                 KNOXVILLE                TN
5393   1FA6P8TH6L5111638   Ford         MUST                 TAMPA                    FL
5394   1FA6P8TH6L5111641   Ford         MUST                 PHILADELPHIA             PA
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5395   1FA6P8TH6L5111655   Ford         MUST                 KENNER                   LA
5396   1FA6P8TH6L5112045   Ford         MUST                 SAN FRANCISCO            CA
5397   1FA6P8TH6L5112059   Ford         MUST                 SANTA ANA                CA
5398   1FA6P8TH6L5112062   Ford         MUST                 LOS ANGELES              CA
5399   1FA6P8TH6L5112207   Ford         MUST                 FORT MYERS               FL
5400   1FA6P8TH6L5112210   Ford         MUST                 ORLANDO                  FL
5401   1FA6P8TH6L5112224   Ford         MUST                 MIAMI                    FL
5402   1FA6P8TH6L5112238   Ford         MUST                 FORT MYERS               FL
5403   1FA6P8TH6L5112255   Ford         MUST                 SAN JOSE                 CA
5404   1FA6P8TH6L5112269   Ford         MUST                 LOS ANGELES              CA
5405   1FA6P8TH6L5112272   Ford         MUST                 SAN JOSE                 CA
5406   1FA6P8TH6L5112353   Ford         MUST                 CHICAGO                  IL
5407   1FA6P8TH6L5112367   Ford         MUST                 GAINESVILLE              FL
5408   1FA6P8TH6L5112370   Ford         MUST                 Atlanta                  GA
5409   1FA6P8TH6L5112465   Ford         MUST                 LAS VEGAS                NV
5410   1FA6P8TH6L5112501   Ford         MUST                 RENO                     NV
5411   1FA6P8TH6L5115219   Ford         MUST                 WEST PALM BEACH          FL
5412   1FA6P8TH6L5118508   Ford         MUST                 LAS VEGAS                NV
5413   1FA6P8TH6L5118511   Ford         MUST                 LOS ANGELES              CA
5414   1FA6P8TH6L5118816   Ford         MUST                 TAMPA                    FL
5415   1FA6P8TH6L5118833   Ford         MUST                 JACKSONVILLE             FL
5416   1FA6P8TH6L5118878   Ford         MUST                 HILLSBOROUGH             NJ
5417   1FA6P8TH6L5118881   Ford         MUST                 DETROIT                  MI
5418   1FA6P8TH6L5118895   Ford         MUST                 COLLEGE PARK             GA
5419   1FA6P8TH6L5119058   Ford         MUST                 INGLEWOOD                CA
5420   1FA6P8TH6L5119061   Ford         MUST                 SACRAMENTO               CA
5421   1FA6P8TH6L5119075   Ford         MUST                 SAN DIEGO                CA
5422   1FA6P8TH6L5119156   Ford         MUST                 KNOXVILLE                TN
5423   1FA6P8TH6L5119514   Ford         MUST                 TAMPA                    FL
5424   1FA6P8TH6L5119528   Ford         MUST                 MIAMI                    FL
5425   1FA6P8TH6L5119531   Ford         MUST                 WEST PALM BEACH          FL
5426   1FA6P8TH6L5119576   Ford         MUST                 ORLANDO                  FL
5427   1FA6P8TH6L5119593   Ford         MUST                 WOODSON TERRACE          MO
5428   1FA6P8TH6L5136765   Ford         MUST                 JACKSONVILLE             FL
5429   1FA6P8TH6L5136829   Ford         MUST                 ORLANDO                  FL
5430   1FA6P8TH7L5111633   Ford         MUST                 CHARLOTTE                NC
5431   1FA6P8TH7L5111647   Ford         MUST                 Atlanta                  GA
5432   1FA6P8TH7L5111650   Ford         MUST                 FAYETTEVILLE             GA
5433   1FA6P8TH7L5112037   Ford         MUST                 DENVER                   CO
5434   1FA6P8TH7L5112040   Ford         MUST                 PHOENIX                  AZ
5435   1FA6P8TH7L5112054   Ford         MUST                 ORANGE COUNTY            CA
5436   1FA6P8TH7L5112068   Ford         MUST                 SALT LAKE CITY           US
5437   1FA6P8TH7L5112071   Ford         MUST                 INGLEWOOD                CA
5438   1FA6P8TH7L5112085   Ford         MUST                 LOS ANGELES              CA
5439   1FA6P8TH7L5112202   Ford         MUST                 FORT LAUDERDALE          FL
5440   1FA6P8TH7L5112216   Ford         MUST                 MIAMI                    FL
5441   1FA6P8TH7L5112233   Ford         MUST                 WEST PALM BEACH          FL
5442   1FA6P8TH7L5112247   Ford         MUST                 Atlanta                  GA
5443   1FA6P8TH7L5112250   Ford         MUST                 FORT LAUDERDALE          FL
5444   1FA6P8TH7L5112264   Ford         MUST                 FRESNO                   CA
5445   1FA6P8TH7L5112278   Ford         MUST                 INGLEWOOD                CA
5446   1FA6P8TH7L5112281   Ford         MUST                 OAKLAND                  CA
5447   1FA6P8TH7L5112359   Ford         MUST                 STATESBORO               GA
5448   1FA6P8TH7L5112362   Ford         MUST                 Miami                    FL
5449   1FA6P8TH7L5112376   Ford         MUST                 ORLANDO                  FL
5450   1FA6P8TH7L5112488   Ford         MUST                 SAN FRANCISCO            CA
5451   1FA6P8TH7L5118498   Ford         MUST                 DENVER                   CO
5452   1FA6P8TH7L5118503   Ford         MUST                 LAS VEGAS                NV
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5453   1FA6P8TH7L5118517   Ford         MUST                 PHOENIX                  AZ
5454   1FA6P8TH7L5118520   Ford         MUST                 LOS ANGELES              CA
5455   1FA6P8TH7L5118825   Ford         MUST                 TALLAHASSEE              F
5456   1FA6P8TH7L5118839   Ford         MUST                 PHILADELPHIA             PA
5457   1FA6P8TH7L5118842   Ford         MUST                 ORLANDO                  FL
5458   1FA6P8TH7L5118873   Ford         MUST                 CHARLOTTE                NC
5459   1FA6P8TH7L5118887   Ford         MUST                 PHILADELPHIA             PA
5460   1FA6P8TH7L5118890   Ford         MUST                 LOS ANGELES              CA
5461   1FA6P8TH7L5119053   Ford         MUST                 PALM SPRINGS             CA
5462   1FA6P8TH7L5119070   Ford         MUST                 SAN DIEGO                CA
5463   1FA6P8TH7L5119148   Ford         MUST                 Miami                    FL
5464   1FA6P8TH7L5119151   Ford         MUST                 TAMPA                    FL
5465   1FA6P8TH7L5119165   Ford         MUST                 Atlanta                  GA
5466   1FA6P8TH7L5119523   Ford         MUST                 WINTER PARK              FL
5467   1FA6P8TH7L5119568   Ford         MUST                 TAMPA                    FL
5468   1FA6P8TH7L5119571   Ford         MUST                 TAMPA                    FL
5469   1FA6P8TH7L5119585   Ford         MUST                 WINTER PARK              FL
5470   1FA6P8TH7L5136127   Ford         MUST                 KNOXVILLE                TN
5471   1FA6P8TH7L5136757   Ford         MUST                 SARASOTA                 FL
5472   1FA6P8TH7L5136824   Ford         MUST                 ORLANDO                  FL
5473   1FA6P8TH8L5111625   Ford         MUST                 LOUISVILLE               KY
5474   1FA6P8TH8L5111639   Ford         MUST                 Atlanta                  GA
5475   1FA6P8TH8L5111656   Ford         MUST                 Union City               GA
5476   1FA6P8TH8L5112046   Ford         MUST                 LOS ANGELES              CA
5477   1FA6P8TH8L5112063   Ford         MUST                 INGLEWOOD                CA
5478   1FA6P8TH8L5112077   Ford         MUST                 LOS ANGELES              CA
5479   1FA6P8TH8L5112080   Ford         MUST                 LOS ANGELES AP           CA
5480   1FA6P8TH8L5112208   Ford         MUST                 ORLANDO                  FL
5481   1FA6P8TH8L5112211   Ford         MUST                 MIAMI                    FL
5482   1FA6P8TH8L5112225   Ford         MUST                 ATLANTA                  GA
5483   1FA6P8TH8L5112239   Ford         MUST                 COLUMBIA                 SC
5484   1FA6P8TH8L5112242   Ford         MUST                 NASHVILLE                TN
5485   1FA6P8TH8L5112256   Ford         MUST                 MONTEREY                 CA
5486   1FA6P8TH8L5112273   Ford         MUST                 SAN FRANCISCO            CA
5487   1FA6P8TH8L5112354   Ford         MUST                 FORT LAUDERDALE          FL
5488   1FA6P8TH8L5112368   Ford         MUST                 Miami                    FL
5489   1FA6P8TH8L5112371   Ford         MUST                 FORT MYERS               FL
5490   1FA6P8TH8L5112483   Ford         MUST                 LAS VEGAS                NV
5491   1FA6P8TH8L5115223   Ford         MUST                 Atlanta                  GA
5492   1FA6P8TH8L5118509   Ford         MUST                 INGLEWOOD                CA
5493   1FA6P8TH8L5118512   Ford         MUST                 LOS ANGELES              CA
5494   1FA6P8TH8L5118817   Ford         MUST                 SARASOTA                 FL
5495   1FA6P8TH8L5118820   Ford         MUST                 WEST PALM BEACH          FL
5496   1FA6P8TH8L5118834   Ford         MUST                 CORAL SPRINGS            FL
5497   1FA6P8TH8L5118879   Ford         MUST                 INDIANAPOLIS             IN
5498   1FA6P8TH8L5118882   Ford         MUST                 JAMAICA                  NY
5499   1FA6P8TH8L5119059   Ford         MUST                 LOS ANGELES              CA
5500   1FA6P8TH8L5119062   Ford         MUST                 ORANGE COUNTY            CA
5501   1FA6P8TH8L5119076   Ford         MUST                 ORANGE COUNTY            CA
5502   1FA6P8TH8L5119143   Ford         MUST                 MONTGOMERY               AL
5503   1FA6P8TH8L5119157   Ford         MUST                 FORT MYERS               FL
5504   1FA6P8TH8L5119160   Ford         MUST                 ORLANDO                  FL
5505   1FA6P8TH8L5119515   Ford         MUST                 TAMPA                    FL
5506   1FA6P8TH8L5119529   Ford         MUST                 MIAMI                    FL
5507   1FA6P8TH8L5119532   Ford         MUST                 WEST PALM BEACH          FL
5508   1FA6P8TH8L5119577   Ford         MUST                 ORLANDO                  FL
5509   1FA6P8TH8L5119580   Ford         MUST                 TAMPA                    FL
5510   1FA6P8TH8L5119594   Ford         MUST                 MIAMI                    FL
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5511   1FA6P8TH8L5136766   Ford         MUST                 ORLANDO                  FL
5512   1FA6P8TH9L5111620   Ford         MUST                 KENNESAW                 GA
5513   1FA6P8TH9L5111634   Ford         MUST                 KNOXVILLE                TN
5514   1FA6P8TH9L5111648   Ford         MUST                 Atlanta                  GA
5515   1FA6P8TH9L5111651   Ford         MUST                 BIRMINGHAM               AL
5516   1FA6P8TH9L5112038   Ford         MUST                 ONTARIO                  CA
5517   1FA6P8TH9L5112041   Ford         MUST                 SAN DIEGO                CA
5518   1FA6P8TH9L5112055   Ford         MUST                 SAN JOSE                 CA
5519   1FA6P8TH9L5112069   Ford         MUST                 LOS ANGELES              CA
5520   1FA6P8TH9L5112072   Ford         MUST                 belmont                  CA
5521   1FA6P8TH9L5112086   Ford         MUST                 SAN DIEGO                CA
5522   1FA6P8TH9L5112203   Ford         MUST                 TAMPA                    FL
5523   1FA6P8TH9L5112217   Ford         MUST                 Hialeah                  FL
5524   1FA6P8TH9L5112220   Ford         MUST                 MIAMI                    FL
5525   1FA6P8TH9L5112234   Ford         MUST                 WEST PALM BEACH          FL
5526   1FA6P8TH9L5112248   Ford         MUST                 SARASOTA                 FL
5527   1FA6P8TH9L5112251   Ford         MUST                 MIAMI                    FL
5528   1FA6P8TH9L5112265   Ford         MUST                 LOS ANGELES              CA
5529   1FA6P8TH9L5112279   Ford         MUST                 LOS ANGELES              CA
5530   1FA6P8TH9L5112363   Ford         MUST                 FT. LAUDERDALE           FL
5531   1FA6P8TH9L5112377   Ford         MUST                 FORT MYERS               FL
5532   1FA6P8TH9L5112492   Ford         MUST                 PALM SPRINGS             CA
5533   1FA6P8TH9L5115215   Ford         MUST                 WEST PALM BEACH          FL
5534   1FA6P8TH9L5118499   Ford         MUST                 SAN FRANCISCO            CA
5535   1FA6P8TH9L5118504   Ford         MUST                 ORANGE COUNTY            CA
5536   1FA6P8TH9L5118518   Ford         MUST                 LAS VEGAS                NV
5537   1FA6P8TH9L5118521   Ford         MUST                 LOS ANGELES              CA
5538   1FA6P8TH9L5118826   Ford         MUST                 WEST PALM BEACH          FL
5539   1FA6P8TH9L5118874   Ford         MUST                 NEWARK                   NJ
5540   1FA6P8TH9L5118888   Ford         MUST                 BALTIMORE                MD
5541   1FA6P8TH9L5119054   Ford         MUST                 SAN DIEGO                CA
5542   1FA6P8TH9L5119071   Ford         MUST                 BURBANK                  CA
5543   1FA6P8TH9L5119149   Ford         MUST                 FORT LAUDERDALE          FL
5544   1FA6P8TH9L5119152   Ford         MUST                 FORT LAUDERDALE          FL
5545   1FA6P8TH9L5119166   Ford         MUST                 CHARLESTON               SC
5546   1FA6P8TH9L5119524   Ford         MUST                 ORLANDO                  FL
5547   1FA6P8TH9L5119569   Ford         MUST                 FORT LAUDERDALE          FL
5548   1FA6P8TH9L5119572   Ford         MUST                 JACKSONVILLE             FL
5549   1FA6P8TH9L5119586   Ford         MUST                 DANIA BEACH              FL
5550   1FA6P8TH9L5136758   Ford         MUST                 JACKSONVILLE             FL
5551   1FA6P8TH9L5136761   Ford         MUST                 JACKSONVILLE             FL
5552   1FA6P8TH9L5136789   Ford         MUST                 ORLANDO                  FL
5553   1FA6P8THXL5111626   Ford         MUST                 Atlanta                  GA
5554   1FA6P8THXL5111643   Ford         MUST                 Atlanta                  GA
5555   1FA6P8THXL5111657   Ford         MUST                 NORFOLK                  VA
5556   1FA6P8THXL5112047   Ford         MUST                 PALM SPRINGS             CA
5557   1FA6P8THXL5112050   Ford         MUST                 LOS ANGELES              CA
5558   1FA6P8THXL5112064   Ford         MUST                 SAN JOSE                 CA
5559   1FA6P8THXL5112078   Ford         MUST                 LOS ANGELES              CA
5560   1FA6P8THXL5112081   Ford         MUST                 BURBANK                  CA
5561   1FA6P8THXL5112209   Ford         MUST                 MIAMI                    FL
5562   1FA6P8THXL5112212   Ford         MUST                 FORT LAUDERDALE          FL
5563   1FA6P8THXL5112226   Ford         MUST                 TAMPA                    FL
5564   1FA6P8THXL5112243   Ford         MUST                 MIAMI                    FL
5565   1FA6P8THXL5112257   Ford         MUST                 SACRAMENTO               CA
5566   1FA6P8THXL5112260   Ford         MUST                 SAN JOSE                 CA
5567   1FA6P8THXL5112274   Ford         MUST                 OAKLAND                  CA
5568   1FA6P8THXL5112355   Ford         MUST                 MIAMI                    FL
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5569   1FA6P8THXL5112369   Ford         MUST                 MIAMI                    FL
5570   1FA6P8THXL5112372   Ford         MUST                 TAMPA                    FL
5571   1FA6P8THXL5112467   Ford         MUST                 LAS VEGAS                NV
5572   1FA6P8THXL5112470   Ford         MUST                 ALBUQERQUE               NM
5573   1FA6P8THXL5112484   Ford         MUST                 PHOENIX                  AZ
5574   1FA6P8THXL5112498   Ford         MUST                 Phoenix                  AZ
5575   1FA6P8THXL5118513   Ford         MUST                 FRESNO                   CA
5576   1FA6P8THXL5118818   Ford         MUST                 WEST PALM BEACH          FL
5577   1FA6P8THXL5118821   Ford         MUST                 ORLANDO                  FL
5578   1FA6P8THXL5118835   Ford         MUST                 Tampa                    FL
5579   1FA6P8THXL5118897   Ford         MUST                 NEW YORK CITY            NY
5580   1FA6P8THXL5119063   Ford         MUST                 Los Angeles              CA
5581   1FA6P8THXL5119077   Ford         MUST                 LOS ANGELES              CA
5582   1FA6P8THXL5119144   Ford         MUST                 MIAMI                    FL
5583   1FA6P8THXL5119158   Ford         MUST                 JACKSONVILLE             FL
5584   1FA6P8THXL5119161   Ford         MUST                 MIAMI                    FL
5585   1FA6P8THXL5119516   Ford         MUST                 ORLANDO                  FL
5586   1FA6P8THXL5119533   Ford         MUST                 FORT LAUDERDALE          FL
5587   1FA6P8THXL5119578   Ford         MUST                 WEST PALM BEACH          FL
5588   1FA6P8THXL5119581   Ford         MUST                 STERLING                 VA
5589   1FA6P8THXL5119595   Ford         MUST                 MIAMI                    FL
5590   1FA6P8THXL5136770   Ford         MUST                 JACKSONVILLE             FL
5591   1FA6P8THXL5136784   Ford         MUST                 TAMPA                    FL
5592   1FADP3E24JL271061   Ford         FOCUS                LAS VEGAS                NV
5593   1FADP3E25JL234276   Ford         FOCUS                HOUSTON                  TX
5594   1FADP3E29HL283748   Ford         FOCUS                SAN ANTONIO              TX
5595   1FADP3F20GL306668   Ford         FOCUS                ROCHESTER                NY
5596   1FADP3F22HL296503   Ford         FOCUS                CHICAGO                  IL
5597   1FADP3F23JL279795   Ford         FOCUS                MIAMI                    FL
5598   1FADP3F23JL280882   Ford         FOCUS                Dallas                   TX
5599   1FADP3F25HL277993   Ford         FOCUS                Smithtown                NY
5600   1FADP3F25HL278206   Ford         FOCUS                Hanover                  MD
5601   1FADP3F25JL272587   Ford         FOCUS                Dallas                   TX
5602   1FADP3F26JL251960   Ford         FOCUS                CHICAGO                  IL
5603   1FADP3F28GL382557   Ford         FOCUS                ROCHESTER                NY
5604   1FADP3F2XGL370801   Ford         FOCUS                LAS VEGAS                NV
5605   1FADP3FE3JL322719   Ford         FOCUS                San Antonio              TX
5606   1FADP3FE6JL217527   Ford         FOCUS                TAMPA                    FL
5607   1FADP3H22JL294429   Ford         FOCUS                Tolleson                 AZ
5608   1FADP3H23JL314204   Ford         FOCUS                DAYTONA BEACH            FL
5609   1FADP3H26JL293736   Ford         FOCUS                ORLANDO                  FL
5610   1FADP3H27JL293731   Ford         FOCUS                Detroit                  MI
5611   1FADP3H2XJL294016   Ford         FOCUS                DFW AIRPORT              TX
5612   1FADP3H2XJL314216   Ford         FOCUS                LOS ANGELES AP           CA
5613   1FADP3H2XJL314569   Ford         FOCUS                WEST PALM BEACH          FL
5614   1FADP3J20JL294312   Ford         FOCUS                WEST PALM BEACH          FL
5615   1FADP3J20JL294570   Ford         FOCUS                PHILADELPHIA             PA
5616   1FADP3J20JL317040   Ford         FOCUS                Atlanta                  GA
5617   1FADP3J22JL271856   Ford         FOCUS                CHARLOTTE                US
5618   1FADP3J22JL272019   Ford         FOCUS                DETROIT                  MI
5619   1FADP3J22JL272120   Ford         FOCUS                PITTSBURGH               PA
5620   1FADP3J22JL279391   Ford         FOCUS
5621   1FADP3J22JL294344   Ford         FOCUS                FORT LAUDERDALE          FL
5622   1FADP3J23JL271980   Ford         FOCUS                North Dighton            MA
5623   1FADP3J23JL294076   Ford         FOCUS                LA HABRA                 CA
5624   1FADP3J23JL294112   Ford         FOCUS                Riverside                CA
5625   1FADP3J24JL288285   Ford         FOCUS                PHILADELPHIA             PA
5626   1FADP3J24JL314772   Ford         FOCUS                Elkridge                 MD
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5627   1FADP3J25JL283127   Ford         FOCUS                Marietta                 GA
5628   1FADP3J25JL294452   Ford         FOCUS                TAMPA                    FL
5629   1FADP3J25JL314375   Ford         FOCUS                FORT MYERS               FL
5630   1FADP3J25JL314909   Ford         FOCUS                ORLANDO                  FL
5631   1FADP3J25JL316952   Ford         FOCUS                Stone Mountain           GA
5632   1FADP3J25JL323285   Ford         FOCUS                Manheim                  PA
5633   1FADP3J25JL323660   Ford         FOCUS                STERLING                 VA
5634   1FADP3J26JL279359   Ford         FOCUS                STERLING                 VA
5635   1FADP3J26JL283315   Ford         FOCUS                Los Angeles              CA
5636   1FADP3J26JL314711   Ford         FOCUS                Tolleson                 AZ
5637   1FADP3J26JL323831   Ford         FOCUS                Detroit                  MI
5638   1FADP3J26JL326227   Ford         FOCUS                Teterboro                NJ
5639   1FADP3J27JL294176   Ford         FOCUS                CHICAGO                  IL
5640   1FADP3J27JL294324   Ford         FOCUS                FORT LAUDERDALE          FL
5641   1FADP3J27JL323286   Ford         FOCUS                MILWAUKEE                WI
5642   1FADP3J27JL323840   Ford         FOCUS                Newark                   NJ
5643   1FADP3J27JL323918   Ford         FOCUS                Alexandria               VA
5644   1FADP3J28JL261834   Ford         FOCUS                LOS ANGELES              CA
5645   1FADP3J28JL294686   Ford         FOCUS                Atlanta                  GA
5646   1FADP3J29JL294597   Ford         FOCUS                Dallas                   TX
5647   1FADP3J2XJL272074   Ford         FOCUS                WEST PALM BEACH          FL
5648   1FADP3J2XJL314369   Ford         FOCUS                Statesville              NC
5649   1FADP3J2XJL314971   Ford         FOCUS                Jacksonville             FL
5650   1FADP3J2XJL323928   Ford         FOCUS                JACKSONVILLE             FL
5651   1FADP3K23JL315412   Ford         FOCUS                DANIA BEACH              FL
5652   1FADP3K26GL331242   Ford         FOCUS                Chicago                  IL
5653   1FADP3K27JL251116   Ford         FOCUS                DANIA BEACH              FL
5654   1FADP3K2XJL326794   Ford         FOCUS                SAN DIEGO                CA
5655   1FADP3M20JL265968   Ford         FOCUS                WEST PALM BEACH          FL
5656   1FADP3M20JL293737   Ford         FOCUS                Roseville                CA
5657   1FADP3M22HL256540   Ford         FOCUS                FORT LAUDERDALE          FL
5658   1FADP3M23JL314774   Ford         FOCUS                Maple Grove              MN
5659   1FADP3M25JL326702   Ford         FOCUS                SALT LAKE CITY           UT
5660   1FADP3M26JL261553   Ford         FOCUS                MONTCLAIR                CA
5661   1FADP3M27JL227119   Ford         FOCUS                Ft. Myers                FL
5662   1FADP3M27JL294447   Ford         FOCUS                Manheim                  PA
5663   1FADP3M29JL323351   Ford         FOCUS                CHARLOTTE                NC
5664   1FADP3M29JL326704   Ford         FOCUS                Denver                   CO
5665   1FADP3N20JL249736   Ford         FOCUS                PALM S                   CA
5666   1FADP3N20JL279612   Ford         FOCUS                Atlanta                  GA
5667   1FADP3N20JL280582   Ford         FOCUS                Orlando                  FL
5668   1FADP3N20JL283367   Ford         FOCUS                Teterboro                NJ
5669   1FADP3N20JL314827   Ford         FOCUS                LAS VEGAS                NV
5670   1FADP3N21JL279327   Ford         FOCUS                TAMPA                    FL
5671   1FADP3N21JL294796   Ford         FOCUS                PHOENIX                  AZ
5672   1FADP3N21JL314433   Ford         FOCUS                Manheim                  PA
5673   1FADP3N21JL314545   Ford         FOCUS                Elkridge                 MD
5674   1FADP3N21JL314559   Ford         FOCUS                AUSTIN                   TX
5675   1FADP3N21JL323455   Ford         FOCUS                LAS VEGAS                NV
5676   1FADP3N22JL314845   Ford         FOCUS                Fontana                  CA
5677   1FADP3N23JL261735   Ford         FOCUS                DAYTONA BEACH            FL
5678   1FADP3N23JL271715   Ford         FOCUS                MARIETTA                 GA
5679   1FADP3N23JL294718   Ford         FOCUS                Euless                   TX
5680   1FADP3N23JL326146   Ford         FOCUS                Manheim                  PA
5681   1FADP3N24JL294002   Ford         FOCUS                Manheim                  PA
5682   1FADP3N24JL326124   Ford         FOCUS                HARRISBURG               PA
5683   1FADP3N25JL261705   Ford         FOCUS                Euless                   TX
5684   1FADP3N25JL325869   Ford         FOCUS                Statesville              NC
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5685   1FADP3N26JL272129   Ford        FOCUS                Las Vegas                NV
5686   1FADP3N26JL314427   Ford        FOCUS                ORLANDO                  FL
5687   1FADP3N26JL326089   Ford        FOCUS                BIRMINGHAM               AL
5688   1FADP3N27JL250107   Ford        FOCUS                Caledonia                WI
5689   1FADP3N27JL314856   Ford        FOCUS                DENVER                   CO
5690   1FADP3N27JL323721   Ford        FOCUS                North Dighton            MA
5691   1FADP3N27JL323962   Ford        FOCUS                Latham                   NY
5692   1FADP3N28JL271743   Ford        FOCUS                Latham                   NY
5693   1FADP3N28JL271905   Ford        FOCUS                Sterling                 VA
5694   1FADP3N29JL272030   Ford        FOCUS                FORT LAUDERDALE          FL
5695   1FADP3N29JL279558   Ford        FOCUS                STERLING                 VA
5696   1FADP3N29JL289782   Ford        FOCUS                Bridgeton                MO
5697   1FADP3N29JL314258   Ford        FOCUS                Detroit                  MI
5698   1FADP3N29JL314745   Ford        FOCUS                LOS ANGELES              CA
5699   1FADP3N29JL314857   Ford        FOCUS                DALLAS                   TX
5700   1FADP3N29JL326152   Ford        FOCUS                KNOXVILLE                TN
5701   1FADP3N2XJL249811   Ford        FOCUS                DENVER                   CO
5702   1FADP3N2XJL283215   Ford        FOCUS                PHILADELPHIA             US
5703   1FADP3N2XJL314852   Ford        FOCUS                Miami                    FL
5704   1FADP3N2XJL323423   Ford        FOCUS                LOS ANGELES              CA
5705   1FAHP2F80JG109449   Ford        TAURUS               Rio Linda                CA
5706   1FAHP2F80JG109466   Ford        TAURUS               SAN DIEGO                CA
5707   1FAHP2F80JG109502   Ford        TAURUS               Aurora                   CO
5708   1FAHP2F80JG109743   Ford        TAURUS               BURBANK                  CA
5709   1FAHP2F80JG109760   Ford        TAURUS               Manheim                  PA
5710   1FAHP2F80JG109838   Ford        TAURUS               LOS ANGELES              CA
5711   1FAHP2F80JG117373   Ford        TAURUS               Beaverton                OR
5712   1FAHP2F80JG129474   Ford        TAURUS               Ventura                  CA
5713   1FAHP2F80JG129491   Ford        TAURUS               ATLANTA                  GA
5714   1FAHP2F80JG133444   Ford        TAURUS               LAS VEGAS                NV
5715   1FAHP2F80JG133475   Ford        TAURUS               TRACY                    CA
5716   1FAHP2F80JG133489   Ford        TAURUS               ALLENTOWN                US
5717   1FAHP2F80JG133492   Ford        TAURUS               Las Vegas                NV
5718   1FAHP2F80JG134920   Ford        TAURUS               SAN FRANCISCO            CA
5719   1FAHP2F80JG138983   Ford        TAURUS               LAS VEGAS                NV
5720   1FAHP2F80KG106617   Ford        TAURUS               Atlanta                  GA
5721   1FAHP2F80KG106651   Ford        TAURUS               WEST COLUMBIA            SC
5722   1FAHP2F80KG106665   Ford        TAURUS               INDIANAPOLIS             IN
5723   1FAHP2F80KG106679   Ford        TAURUS               Fresno                   CA
5724   1FAHP2F80KG106696   Ford        TAURUS               MEMPHIS                  TN
5725   1FAHP2F80KG106729   Ford        TAURUS               Hebron                   KY
5726   1FAHP2F80KG106732   Ford        TAURUS               DETROIT                  MI
5727   1FAHP2F80KG107427   Ford        TAURUS               WARWICK                  RI
5728   1FAHP2F80KG107444   Ford        TAURUS               BIRMINGHAN               AL
5729   1FAHP2F80KG107458   Ford        TAURUS               INDIANAPOLIS             IN
5730   1FAHP2F80KG107461   Ford        TAURUS               LOS ANGELES              CA
5731   1FAHP2F80KG107475   Ford        TAURUS               BURBANK                  CA
5732   1FAHP2F80KG107492   Ford        TAURUS               LOS ANGELES              CA
5733   1FAHP2F80KG107508   Ford        TAURUS               SAN DIEGO                CA
5734   1FAHP2F80KG107511   Ford        TAURUS               LOS ANGELES              CA
5735   1FAHP2F80KG107525   Ford        TAURUS               Atlanta                  GA
5736   1FAHP2F80KG107542   Ford        TAURUS               BURBANK                  CA
5737   1FAHP2F80KG107556   Ford        TAURUS               Riverside                CA
5738   1FAHP2F80KG107587   Ford        TAURUS               LOS ANGELES              CA
5739   1FAHP2F80KG107654   Ford        TAURUS               LOS ANGELES              CA
5740   1FAHP2F80KG107668   Ford        TAURUS               WEST PALM BEACH          FL
5741   1FAHP2F80KG107671   Ford        TAURUS               RALEIGH                  NC
5742   1FAHP2F80KG107699   Ford        TAURUS               CHARLOTTE                NC
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5743   1FAHP2F80KG108979   Ford        TAURUS               DETROIT                  MI
5744   1FAHP2F80KG108996   Ford        TAURUS               KNOXVILLE                TN
5745   1FAHP2F80KG109761   Ford        TAURUS               LAUREL                   MD
5746   1FAHP2F80KG109789   Ford        TAURUS               LOS ANGELES              CA
5747   1FAHP2F80KG109808   Ford        TAURUS               SANTA ANA                CA
5748   1FAHP2F80KG110747   Ford        TAURUS               STERLING                 VA
5749   1FAHP2F80KG110750   Ford        TAURUS               PITTSBURGH               PA
5750   1FAHP2F80KG110781   Ford        TAURUS               PALM SPRINGS             CA
5751   1FAHP2F80KG110795   Ford        TAURUS               SAN DIEGO                CA
5752   1FAHP2F80KG111509   Ford        TAURUS               RICHMOND                 VA
5753   1FAHP2F80KG111512   Ford        TAURUS               ATLANTA                  GA
5754   1FAHP2F80KG111526   Ford        TAURUS               WEST PALM BEACH          FL
5755   1FAHP2F80KG111543   Ford        TAURUS               NORFOLK                  VA
5756   1FAHP2F80KG114183   Ford        TAURUS               NEW BERN                 NC
5757   1FAHP2F80KG114216   Ford        TAURUS               Tampa                    FL
5758   1FAHP2F80KG114233   Ford        TAURUS               FORT MYERS               FL
5759   1FAHP2F80KG114247   Ford        TAURUS               Austin                   TX
5760   1FAHP2F80KG114586   Ford        TAURUS               FORT LAUDERDALE          FL
5761   1FAHP2F80KG115396   Ford        TAURUS               DETROIT                  MI
5762   1FAHP2F80KG115401   Ford        TAURUS               BIRMINGHAN               AL
5763   1FAHP2F80KG115415   Ford        TAURUS               CHARLESTON               WV
5764   1FAHP2F80KG115429   Ford        TAURUS               PHILADELPHIA             PA
5765   1FAHP2F80KG115446   Ford        TAURUS               PITTSBURGH               PA
5766   1FAHP2F80KG115463   Ford        TAURUS               DETROIT                  MI
5767   1FAHP2F80KG115513   Ford        TAURUS               INDIANAPOLIS             IN
5768   1FAHP2F80KG115527   Ford        TAURUS               Louisville               KY
5769   1FAHP2F80KG115544   Ford        TAURUS               HOUSTON                  TX
5770   1FAHP2F80KG115611   Ford        TAURUS               Atlanta                  GA
5771   1FAHP2F80KG115625   Ford        TAURUS               NEWARK                   NJ
5772   1FAHP2F80KG115639   Ford        TAURUS               ORLANDO                  FL
5773   1FAHP2F80KG115687   Ford        TAURUS               DENVER                   CO
5774   1FAHP2F80KG115690   Ford        TAURUS               PHOENIX                  AZ
5775   1FAHP2F80KG115723   Ford        TAURUS               WICHITA FALLS            TX
5776   1FAHP2F81JG102154   Ford        TAURUS               Lake Elsinore            CA
5777   1FAHP2F81JG102283   Ford        TAURUS               SAN ANTONIO              TX
5778   1FAHP2F81JG109489   Ford        TAURUS               LAS VEGAS                NV
5779   1FAHP2F81JG109525   Ford        TAURUS               Stockton                 CA
5780   1FAHP2F81JG109587   Ford        TAURUS               TALLAHASSEE              FL
5781   1FAHP2F81JG129516   Ford        TAURUS               SANTA ANA                CA
5782   1FAHP2F81JG132772   Ford        TAURUS               BURBANK                  CA
5783   1FAHP2F81JG133453   Ford        TAURUS               SAN DIEGO                CA
5784   1FAHP2F81JG133470   Ford        TAURUS               Santa Clara              CA
5785   1FAHP2F81JG134926   Ford        TAURUS               Santa Clara              CA
5786   1FAHP2F81KG106593   Ford        TAURUS               BALTIMORE                MD
5787   1FAHP2F81KG106609   Ford        TAURUS               NEWARK                   NJ
5788   1FAHP2F81KG106660   Ford        TAURUS               West Mifflin             PA
5789   1FAHP2F81KG106688   Ford        TAURUS               LOUISVILLE               KY
5790   1FAHP2F81KG106691   Ford        TAURUS               CLEVELAND                OH
5791   1FAHP2F81KG106724   Ford        TAURUS               Atlanta                  GA
5792   1FAHP2F81KG106738   Ford        TAURUS               Medford                  NY
5793   1FAHP2F81KG106741   Ford        TAURUS               Charlotte                NC
5794   1FAHP2F81KG107419   Ford        TAURUS               CLARKSVILLE              IN
5795   1FAHP2F81KG107422   Ford        TAURUS               CHATTANOOGA              TN
5796   1FAHP2F81KG107453   Ford        TAURUS               NEW BERN                 NC
5797   1FAHP2F81KG107517   Ford        TAURUS               LOS ANGELES              CA
5798   1FAHP2F81KG107520   Ford        TAURUS               TAMPA                    FL
5799   1FAHP2F81KG107534   Ford        TAURUS               SANTA ANA                CA
5800   1FAHP2F81KG107565   Ford        TAURUS               SAN DIEGO                CA
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5801   1FAHP2F81KG107596   Ford        TAURUS               NORFOLK                  VA
5802   1FAHP2F81KG107615   Ford        TAURUS               SANTA ANA                CA
5803   1FAHP2F81KG107632   Ford        TAURUS               LAS VEGAS                NV
5804   1FAHP2F81KG107663   Ford        TAURUS               Aurora                   CO
5805   1FAHP2F81KG107677   Ford        TAURUS               Fredericksburg           VA
5806   1FAHP2F81KG107694   Ford        TAURUS               Manheim                  PA
5807   1FAHP2F81KG108974   Ford        TAURUS               NASHVILLE                TN
5808   1FAHP2F81KG108991   Ford        TAURUS               PHILADELPHIA             PA
5809   1FAHP2F81KG109767   Ford        TAURUS               BOSTON                   MA
5810   1FAHP2F81KG109798   Ford        TAURUS               ONTARIO                  CA
5811   1FAHP2F81KG109834   Ford        TAURUS               SAN DIEGO                CA
5812   1FAHP2F81KG109879   Ford        TAURUS               LOUISVILLE               KY
5813   1FAHP2F81KG110742   Ford        TAURUS               ORLANDO                  FL
5814   1FAHP2F81KG110773   Ford        TAURUS               BURBANK                  CA
5815   1FAHP2F81KG111504   Ford        TAURUS               NORFOLK                  VA
5816   1FAHP2F81KG111518   Ford        TAURUS               MIAMI                    FL
5817   1FAHP2F81KG111521   Ford        TAURUS               FORT MYERS               FL
5818   1FAHP2F81KG111549   Ford        TAURUS               WINTER PARK              FL
5819   1FAHP2F81KG111552   Ford        TAURUS               WEST COLUMBIA            SC
5820   1FAHP2F81KG114189   Ford        TAURUS               BURBANK                  CA
5821   1FAHP2F81KG114211   Ford        TAURUS               NEW BERN                 NC
5822   1FAHP2F81KG114225   Ford        TAURUS               Louisville               KY
5823   1FAHP2F81KG114273   Ford        TAURUS               WHITE PLAINS             NY
5824   1FAHP2F81KG114595   Ford        TAURUS               WEST PALM BEACH          FL
5825   1FAHP2F81KG115360   Ford        TAURUS               ATLANTA                  GA
5826   1FAHP2F81KG115388   Ford        TAURUS               INDIANAPOLIS             IN
5827   1FAHP2F81KG115407   Ford        TAURUS               ORLANDO                  FL
5828   1FAHP2F81KG115410   Ford        TAURUS               Atlanta                  GA
5829   1FAHP2F81KG115455   Ford        TAURUS               ST Paul                  MN
5830   1FAHP2F81KG115469   Ford        TAURUS               GRAND RAPIDS             MI
5831   1FAHP2F81KG115553   Ford        TAURUS               PHILADELPHIA             PA
5832   1FAHP2F81KG115567   Ford        TAURUS               Wood Cross               UT
5833   1FAHP2F81KG115570   Ford        TAURUS               PHILADELPHIA             PA
5834   1FAHP2F81KG115584   Ford        TAURUS               LOS ANGELES              CA
5835   1FAHP2F81KG115598   Ford        TAURUS               LOUISVILLE               KY
5836   1FAHP2F81KG115603   Ford        TAURUS               CLEVELAND                OH
5837   1FAHP2F81KG115648   Ford        TAURUS               KNOXVILLE                TN
5838   1FAHP2F81KG115651   Ford        TAURUS               CHARLESTON               WV
5839   1FAHP2F81KG115665   Ford        TAURUS               Phoenix                  AZ
5840   1FAHP2F81KG115682   Ford        TAURUS               DENVER                   CO
5841   1FAHP2F81KG115701   Ford        TAURUS               BURBANK                  CA
5842   1FAHP2F81KG115729   Ford        TAURUS               RALEIGH                  NC
5843   1FAHP2F81KG115732   Ford        TAURUS               BIRMINGHAM               AL
5844   1FAHP2F82JG109470   Ford        TAURUS               Stockton                 CA
5845   1FAHP2F82JG109503   Ford        TAURUS               Mira Loma                CA
5846   1FAHP2F82JG109694   Ford        TAURUS               Hayward                  CA
5847   1FAHP2F82JG109730   Ford        TAURUS               PHOENIX                  AZ
5848   1FAHP2F82JG109761   Ford        TAURUS               Rockville Centr          NY
5849   1FAHP2F82JG109808   Ford        TAURUS               NEW BERN                 NC
5850   1FAHP2F82JG129475   Ford        TAURUS               ONTARIO                  CA
5851   1FAHP2F82JG129511   Ford        TAURUS               Phoenix                  AZ
5852   1FAHP2F82JG133459   Ford        TAURUS               LOS ANGELES              CA
5853   1FAHP2F82JG133462   Ford        TAURUS               SANTA ANA                CA
5854   1FAHP2F82JG133493   Ford        TAURUS               LOS ANGELES              CA
5855   1FAHP2F82JG134935   Ford        TAURUS               PORTLAND                 ME
5856   1FAHP2F82JG138984   Ford        TAURUS               PALM SPRINGS             CA
5857   1FAHP2F82KG106599   Ford        TAURUS               ORLANDO                  FL
5858   1FAHP2F82KG106604   Ford        TAURUS               LOS ANGELES              CA
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5859   1FAHP2F82KG106618   Ford        TAURUS               CHARLESTON                   WV
5860   1FAHP2F82KG106621   Ford        TAURUS               PHILADELPHIA                 PA
5861   1FAHP2F82KG106635   Ford        TAURUS               CHARLESTON                   WV
5862   1FAHP2F82KG106652   Ford        TAURUS               Baltimore                    MD
5863   1FAHP2F82KG106683   Ford        TAURUS               Fairburn                     GA
5864   1FAHP2F82KG106697   Ford        TAURUS               PHILADELPHIA                 PA
5865   1FAHP2F82KG106733   Ford        TAURUS               WASHINGTON DC, NATIONAL AP   DC
5866   1FAHP2F82KG107428   Ford        TAURUS               HANOVER                      MD
5867   1FAHP2F82KG107431   Ford        TAURUS               ROANOKE                      VA
5868   1FAHP2F82KG107459   Ford        TAURUS               KNOXVILLE                    TN
5869   1FAHP2F82KG107462   Ford        TAURUS               DETROIT                      MI
5870   1FAHP2F82KG107476   Ford        TAURUS               LAS VEGAS                    NV
5871   1FAHP2F82KG107493   Ford        TAURUS               SEATTLE                      WA
5872   1FAHP2F82KG107526   Ford        TAURUS               LAS VEGAS                    NV
5873   1FAHP2F82KG107543   Ford        TAURUS               LOS ANGELES                  CA
5874   1FAHP2F82KG107574   Ford        TAURUS               LAS VEGAS                    NV
5875   1FAHP2F82KG107591   Ford        TAURUS               PITTSBURGH                   PA
5876   1FAHP2F82KG107624   Ford        TAURUS               DETROIT                      MI
5877   1FAHP2F82KG107638   Ford        TAURUS               PALM SPRINGS                 CA
5878   1FAHP2F82KG107641   Ford        TAURUS               LOS ANGELES                  CA
5879   1FAHP2F82KG107672   Ford        TAURUS               ORLANDO                      FL
5880   1FAHP2F82KG107686   Ford        TAURUS               Manheim                      PA
5881   1FAHP2F82KG108983   Ford        TAURUS               Cerritos                     CA
5882   1FAHP2F82KG109793   Ford        TAURUS               WEST PALM BEACH              FL
5883   1FAHP2F82KG109809   Ford        TAURUS               PALM SPRINGS                 CA
5884   1FAHP2F82KG109812   Ford        TAURUS               Tolleson                     AZ
5885   1FAHP2F82KG109826   Ford        TAURUS               LOS ANGELES                  CA
5886   1FAHP2F82KG109843   Ford        TAURUS               PENSACOLA                    FL
5887   1FAHP2F82KG109857   Ford        TAURUS               Burien                       WA
5888   1FAHP2F82KG109860   Ford        TAURUS               Mira Loma                    CA
5889   1FAHP2F82KG109874   Ford        TAURUS               Philadelphia                 PA
5890   1FAHP2F82KG110734   Ford        TAURUS               TAMPA                        FL
5891   1FAHP2F82KG110751   Ford        TAURUS               NORFOLK                      VA
5892   1FAHP2F82KG110815   Ford        TAURUS               KNOXVILLE                    TN
5893   1FAHP2F82KG110829   Ford        TAURUS               INDIANAPOLIS                 IN
5894   1FAHP2F82KG111494   Ford        TAURUS               TAMPA                        US
5895   1FAHP2F82KG111513   Ford        TAURUS               WINTER PARK                  FL
5896   1FAHP2F82KG111527   Ford        TAURUS               FORT MYERS                   FL
5897   1FAHP2F82KG111544   Ford        TAURUS               JACKSONVILLE                 FL
5898   1FAHP2F82KG114184   Ford        TAURUS               SAINT LOUIS                  MO
5899   1FAHP2F82KG114220   Ford        TAURUS               MOBILE                       A
5900   1FAHP2F82KG114248   Ford        TAURUS               MOBILE                       A
5901   1FAHP2F82KG114282   Ford        TAURUS               PENSACOLA                    FL
5902   1FAHP2F82KG115397   Ford        TAURUS               CLEVELAND                    OH
5903   1FAHP2F82KG115402   Ford        TAURUS               CHARLESTON                   WV
5904   1FAHP2F82KG115416   Ford        TAURUS               Manheim                      PA
5905   1FAHP2F82KG115433   Ford        TAURUS               NEW BERN                     NC
5906   1FAHP2F82KG115450   Ford        TAURUS               Atlanta                      GA
5907   1FAHP2F82KG115478   Ford        TAURUS               BALTIMORE                    MD
5908   1FAHP2F82KG115481   Ford        TAURUS               NORFOLK                      VA
5909   1FAHP2F82KG115495   Ford        TAURUS               NORFOLK                      VA
5910   1FAHP2F82KG115500   Ford        TAURUS               Ocoee                        FL
5911   1FAHP2F82KG115562   Ford        TAURUS               DETROIT                      MI
5912   1FAHP2F82KG115593   Ford        TAURUS               Albuquerque                  NM
5913   1FAHP2F82KG115657   Ford        TAURUS               DETROIT                      MI
5914   1FAHP2F82KG115660   Ford        TAURUS               SOUTH BEND                   IN
5915   1FAHP2F82KG115688   Ford        TAURUS               BURBANK                      CA
5916   1FAHP2F82KG115707   Ford        TAURUS               FRESNO                       CA
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5917   1FAHP2F82KG115724   Ford        TAURUS               KANSAS CITY                  MO
5918   1FAHP2F83JG109509   Ford        TAURUS               Miami                        FL
5919   1FAHP2F83JG109557   Ford        TAURUS               Manheim                      PA
5920   1FAHP2F83JG109588   Ford        TAURUS               MIAMI                        FL
5921   1FAHP2F83JG109672   Ford        TAURUS               Ventura                      CA
5922   1FAHP2F83JG109767   Ford        TAURUS               MIAMI                        FL
5923   1FAHP2F83JG129498   Ford        TAURUS               PHOENIX                      AZ
5924   1FAHP2F83JG129503   Ford        TAURUS               Kent                         WA
5925   1FAHP2F83JG129520   Ford        TAURUS               NORFOLK                      VA
5926   1FAHP2F83JG133423   Ford        TAURUS               MIAMI                        FL
5927   1FAHP2F83JG133468   Ford        TAURUS               Beaverton                    OR
5928   1FAHP2F83JG133485   Ford        TAURUS               Las Vegas                    NV
5929   1FAHP2F83KG106613   Ford        TAURUS               CLEVELAND                    OH
5930   1FAHP2F83KG106630   Ford        TAURUS               Atlanta                      GA
5931   1FAHP2F83KG106658   Ford        TAURUS               SCRANTON                     PA
5932   1FAHP2F83KG106661   Ford        TAURUS               ORLANDO                      FL
5933   1FAHP2F83KG106675   Ford        TAURUS               ATLANTA                      GA
5934   1FAHP2F83KG106689   Ford        TAURUS               Hendersonville               TN
5935   1FAHP2F83KG106692   Ford        TAURUS               ASHEVILLE                    NC
5936   1FAHP2F83KG106725   Ford        TAURUS               Orlando                      FL
5937   1FAHP2F83KG106739   Ford        TAURUS               MEMPHIS                      TN
5938   1FAHP2F83KG106742   Ford        TAURUS               PHILADELPHIA                 US
5939   1FAHP2F83KG107437   Ford        TAURUS               Hamilton                     OH
5940   1FAHP2F83KG107454   Ford        TAURUS               Charlotte                    NC
5941   1FAHP2F83KG107468   Ford        TAURUS               LOS ANGELES                  CA
5942   1FAHP2F83KG107485   Ford        TAURUS               LAS VEGAS                    NV
5943   1FAHP2F83KG107499   Ford        TAURUS               LOS ANGELES                  CA
5944   1FAHP2F83KG107549   Ford        TAURUS               LAS VEGAS                    NV
5945   1FAHP2F83KG107552   Ford        TAURUS               SAN DIEGO                    CA
5946   1FAHP2F83KG107566   Ford        TAURUS               ALLENTOWN                    US
5947   1FAHP2F83KG107583   Ford        TAURUS               LOS ANGELES                  CA
5948   1FAHP2F83KG107602   Ford        TAURUS               PALM SPRINGS                 CA
5949   1FAHP2F83KG107650   Ford        TAURUS               LOS ANGELES                  CA
5950   1FAHP2F83KG107664   Ford        TAURUS               ORLANDO                      FL
5951   1FAHP2F83KG107678   Ford        TAURUS               NEW BERN                     NC
5952   1FAHP2F83KG107695   Ford        TAURUS               Fredericksburg               VA
5953   1FAHP2F83KG108992   Ford        TAURUS               DETROIT                      MI
5954   1FAHP2F83KG109771   Ford        TAURUS               CHARLOTTE                    NC
5955   1FAHP2F83KG109804   Ford        TAURUS               Albuquerque                  NM
5956   1FAHP2F83KG109821   Ford        TAURUS               KNOXVILLE                    TN
5957   1FAHP2F83KG110760   Ford        TAURUS               ORLANDO                      FL
5958   1FAHP2F83KG110774   Ford        TAURUS               WOODLAND HILLS               CA
5959   1FAHP2F83KG111469   Ford        TAURUS               San Antonio                  TX
5960   1FAHP2F83KG111536   Ford        TAURUS               WEST COLUMBIA                SC
5961   1FAHP2F83KG114193   Ford        TAURUS               CHICAGO                      IL
5962   1FAHP2F83KG114209   Ford        TAURUS               TAMPA                        FL
5963   1FAHP2F83KG114226   Ford        TAURUS               FT LAUDERDALE                FL
5964   1FAHP2F83KG115375   Ford        TAURUS               HOUSTON                      TX
5965   1FAHP2F83KG115408   Ford        TAURUS               SAN DIEGO                    CA
5966   1FAHP2F83KG115439   Ford        TAURUS               NASHVILLE                    TN
5967   1FAHP2F83KG115442   Ford        TAURUS               FORT LAUDERDALE              FL
5968   1FAHP2F83KG115456   Ford        TAURUS               DETROIT                      MI
5969   1FAHP2F83KG115473   Ford        TAURUS               CHICAGO                      IL
5970   1FAHP2F83KG115487   Ford        TAURUS               WASHINGTON DC, NATIONAL AP   DC
5971   1FAHP2F83KG115523   Ford        TAURUS               Atlanta                      GA
5972   1FAHP2F83KG115537   Ford        TAURUS               KNOXVILLE                    TN
5973   1FAHP2F83KG115568   Ford        TAURUS               LAS VEGAS                    NV
5974   1FAHP2F83KG115585   Ford        TAURUS               Los Angeles                  CA
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5975   1FAHP2F83KG115599   Ford        TAURUS               Rock Hill                SC
5976   1FAHP2F83KG115604   Ford        TAURUS               HARRISBURG               PA
5977   1FAHP2F83KG115635   Ford        TAURUS               PHILADELPHIA             PA
5978   1FAHP2F83KG115649   Ford        TAURUS               MIAMI                    FL
5979   1FAHP2F83KG115666   Ford        TAURUS               BURBANK                  CA
5980   1FAHP2F83KG115702   Ford        TAURUS               ORANGE COUNTY            CA
5981   1FAHP2F84JG102150   Ford        TAURUS               Stockton                 CA
5982   1FAHP2F84JG102181   Ford        TAURUS               DENVER                   CO
5983   1FAHP2F84JG109471   Ford        TAURUS               Hayward                  CA
5984   1FAHP2F84JG109485   Ford        TAURUS               LAS VEGAS                NV
5985   1FAHP2F84JG109597   Ford        TAURUS               TAMPA                    US
5986   1FAHP2F84JG109678   Ford        TAURUS               LOS ANGELES              CA
5987   1FAHP2F84JG129476   Ford        TAURUS               LOS ANGELES              CA
5988   1FAHP2F84JG129493   Ford        TAURUS               LAS VEGAS                NV
5989   1FAHP2F84JG133429   Ford        TAURUS               Woodhaven                MI
5990   1FAHP2F84JG133446   Ford        TAURUS               LAS VEGAS                NV
5991   1FAHP2F84JG133480   Ford        TAURUS               Fontana                  CA
5992   1FAHP2F84JG133494   Ford        TAURUS               PALM SPRINGS             CA
5993   1FAHP2F84JG134936   Ford        TAURUS               SACRAMENTO               CA
5994   1FAHP2F84JG138985   Ford        TAURUS               Roseville                CA
5995   1FAHP2F84KG106605   Ford        TAURUS               PITTSBURGH               PA
5996   1FAHP2F84KG106667   Ford        TAURUS               JACKSONVILLE             FL
5997   1FAHP2F84KG106698   Ford        TAURUS               WEST COLUMBIA            SC
5998   1FAHP2F84KG106703   Ford        TAURUS               RONKONKOMA               NY
5999   1FAHP2F84KG106717   Ford        TAURUS               Salt Lake City           UT
6000   1FAHP2F84KG106720   Ford        TAURUS               PHILADELPHIA             PA
6001   1FAHP2F84KG107415   Ford        TAURUS               ATLANTA                  GA
6002   1FAHP2F84KG107429   Ford        TAURUS               PHILADELPHIA             PA
6003   1FAHP2F84KG107432   Ford        TAURUS               TAMPA                    FL
6004   1FAHP2F84KG107446   Ford        TAURUS               JACKSONVILLE             FL
6005   1FAHP2F84KG107480   Ford        TAURUS               INGLEWOOD                CA
6006   1FAHP2F84KG107527   Ford        TAURUS               FORT LAUDERDALE          FL
6007   1FAHP2F84KG107589   Ford        TAURUS               ATLANTA                  GA
6008   1FAHP2F84KG107592   Ford        TAURUS               Bridgeton                MO
6009   1FAHP2F84KG107625   Ford        TAURUS               LAS VEGAS                NV
6010   1FAHP2F84KG107673   Ford        TAURUS               PHILADELPHIA             PA
6011   1FAHP2F84KG107687   Ford        TAURUS               STERLING                 VA
6012   1FAHP2F84KG107690   Ford        TAURUS               Atlanta                  GA
6013   1FAHP2F84KG108967   Ford        TAURUS               TAMPA                    FL
6014   1FAHP2F84KG108984   Ford        TAURUS               OAKLAND                  CA
6015   1FAHP2F84KG109763   Ford        TAURUS               DETROIT                  MI
6016   1FAHP2F84KG109780   Ford        TAURUS               BURBANK                  CA
6017   1FAHP2F84KG109858   Ford        TAURUS               Wichita                  KS
6018   1FAHP2F84KG110749   Ford        TAURUS               NEW BERN                 NC
6019   1FAHP2F84KG110766   Ford        TAURUS               ROCHESTER                NY
6020   1FAHP2F84KG110802   Ford        TAURUS               BURBANK                  CA
6021   1FAHP2F84KG111514   Ford        TAURUS               COLUMBUS                 OH
6022   1FAHP2F84KG111531   Ford        TAURUS               Miami                    FL
6023   1FAHP2F84KG111545   Ford        TAURUS               NEW BERN                 NC
6024   1FAHP2F84KG114171   Ford        TAURUS               LITTLE ROCK              AR
6025   1FAHP2F84KG114185   Ford        TAURUS               KENNER                   LA
6026   1FAHP2F84KG114199   Ford        TAURUS               NEW YORK CITY            NY
6027   1FAHP2F84KG114204   Ford        TAURUS               ATLANTA                  GA
6028   1FAHP2F84KG114252   Ford        TAURUS               Houston                  TX
6029   1FAHP2F84KG114266   Ford        TAURUS               Miami                    FL
6030   1FAHP2F84KG114588   Ford        TAURUS               FORT MYERS               FL
6031   1FAHP2F84KG115367   Ford        TAURUS               FORT LAUDERDALE          FL
6032   1FAHP2F84KG115370   Ford        TAURUS               MILWAUKEE                WI
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6033   1FAHP2F84KG115398   Ford        TAURUS               Annapolis                MD
6034   1FAHP2F84KG115417   Ford        TAURUS               CHARLOTTE                NC
6035   1FAHP2F84KG115434   Ford        TAURUS               PITTSBURGH               PA
6036   1FAHP2F84KG115451   Ford        TAURUS               Grove City               OH
6037   1FAHP2F84KG115479   Ford        TAURUS               KNOXVILLE                TN
6038   1FAHP2F84KG115496   Ford        TAURUS               ORLANDO                  FL
6039   1FAHP2F84KG115580   Ford        TAURUS               LAS VEGAS                NV
6040   1FAHP2F84KG115630   Ford        TAURUS               BOSTON                   MA
6041   1FAHP2F84KG115675   Ford        TAURUS               Florissant               MO
6042   1FAHP2F85JG109415   Ford        TAURUS               ATLANTA                  GA
6043   1FAHP2F85JG109494   Ford        TAURUS               BURBANK                  CA
6044   1FAHP2F85JG109527   Ford        TAURUS               Roseville                CA
6045   1FAHP2F85JG109673   Ford        TAURUS               LOS ANGELES              CA
6046   1FAHP2F85JG109737   Ford        TAURUS               Mira Loma                CA
6047   1FAHP2F85JG109771   Ford        TAURUS               TAMPA                    FL
6048   1FAHP2F85JG109799   Ford        TAURUS               SAN FRANCISCO            CA
6049   1FAHP2F85JG117370   Ford        TAURUS               Fountain                 CO
6050   1FAHP2F85JG129468   Ford        TAURUS               Riverside                CA
6051   1FAHP2F85JG129499   Ford        TAURUS               Riverside                CA
6052   1FAHP2F85JG129521   Ford        TAURUS               Houston                  TX
6053   1FAHP2F85JG133424   Ford        TAURUS               Atlanta                  GA
6054   1FAHP2F85JG133438   Ford        TAURUS               Phoenix                  AZ
6055   1FAHP2F85JG133469   Ford        TAURUS               Stockton                 CA
6056   1FAHP2F85JG133486   Ford        TAURUS               PALM SPRINGS             CA
6057   1FAHP2F85JG134931   Ford        TAURUS               OAKLAND                  CA
6058   1FAHP2F85KG106595   Ford        TAURUS               NEW YORK CITY            NY
6059   1FAHP2F85KG106614   Ford        TAURUS               CHARLOTTE                NC
6060   1FAHP2F85KG106645   Ford        TAURUS               RALEIGH                  NC
6061   1FAHP2F85KG106659   Ford        TAURUS               NORFOLK                  VA
6062   1FAHP2F85KG106662   Ford        TAURUS               Atlanta                  GA
6063   1FAHP2F85KG106693   Ford        TAURUS               SOUTHEAST DST OFFC       OK
6064   1FAHP2F85KG106709   Ford        TAURUS               COLLEGE PARK             GA
6065   1FAHP2F85KG106712   Ford        TAURUS               FORT MYERS               FL
6066   1FAHP2F85KG106726   Ford        TAURUS               BALTIMORE                MD
6067   1FAHP2F85KG106743   Ford        TAURUS               NEW BERN                 NC
6068   1FAHP2F85KG107438   Ford        TAURUS               SAN DIEGO                CA
6069   1FAHP2F85KG107441   Ford        TAURUS               TAMPA                    FL
6070   1FAHP2F85KG107455   Ford        TAURUS               ORLANDO                  FL
6071   1FAHP2F85KG107486   Ford        TAURUS               LAS VEGAS                NV
6072   1FAHP2F85KG107505   Ford        TAURUS               INDIANAPOLIS             IN
6073   1FAHP2F85KG107522   Ford        TAURUS               ONTARIO                  CA
6074   1FAHP2F85KG107536   Ford        TAURUS               ORANGE COUNTY            CA
6075   1FAHP2F85KG107567   Ford        TAURUS               Jacksonville             FL
6076   1FAHP2F85KG107584   Ford        TAURUS               BULLHEAD CITY            AZ
6077   1FAHP2F85KG107598   Ford        TAURUS               GRAND RAPIDS             MI
6078   1FAHP2F85KG107603   Ford        TAURUS               BURBANK                  CA
6079   1FAHP2F85KG107617   Ford        TAURUS               PORTLAND                 OR
6080   1FAHP2F85KG107620   Ford        TAURUS               LOS ANGELES              CA
6081   1FAHP2F85KG107665   Ford        TAURUS               FORT MYERS               FL
6082   1FAHP2F85KG107679   Ford        TAURUS               SACRAMENTO               CA
6083   1FAHP2F85KG107682   Ford        TAURUS               RICHMOND                 VA
6084   1FAHP2F85KG107696   Ford        TAURUS               Louisville               KY
6085   1FAHP2F85KG108976   Ford        TAURUS               SAN DIEGO                CA
6086   1FAHP2F85KG109822   Ford        TAURUS               ONTARIO                  CA
6087   1FAHP2F85KG109836   Ford        TAURUS               SANTA ANA                CA
6088   1FAHP2F85KG109853   Ford        TAURUS               BURBANK                  CA
6089   1FAHP2F85KG109870   Ford        TAURUS               Ontario                  CA
6090   1FAHP2F85KG110758   Ford        TAURUS               PHILADELPHIA             PA
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6091   1FAHP2F85KG110761   Ford        TAURUS               INDIANAPOLIS             IN
6092   1FAHP2F85KG110789   Ford        TAURUS               ONTARIO                  CA
6093   1FAHP2F85KG110825   Ford        TAURUS               CHICAGO                  IL
6094   1FAHP2F85KG111523   Ford        TAURUS               Jacksonville             FL
6095   1FAHP2F85KG111540   Ford        TAURUS               WEST PALM BEACH          FL
6096   1FAHP2F85KG111554   Ford        TAURUS               DETROIT                  MI
6097   1FAHP2F85KG114177   Ford        TAURUS               ORLANDO                  FL
6098   1FAHP2F85KG114194   Ford        TAURUS               ORLANDO                  FL
6099   1FAHP2F85KG114213   Ford        TAURUS               Atlanta                  GA
6100   1FAHP2F85KG114230   Ford        TAURUS               RICHMOND                 VA
6101   1FAHP2F85KG114289   Ford        TAURUS               NORFOLK                  VA
6102   1FAHP2F85KG114597   Ford        TAURUS               NORFOLK                  VA
6103   1FAHP2F85KG115362   Ford        TAURUS               STERLING                 VA
6104   1FAHP2F85KG115426   Ford        TAURUS               BALTIMORE                MD
6105   1FAHP2F85KG115443   Ford        TAURUS               GRAND RAPIDS             MI
6106   1FAHP2F85KG115457   Ford        TAURUS               WILMINGTON               NC
6107   1FAHP2F85KG115524   Ford        TAURUS               Florissant               MO
6108   1FAHP2F85KG115555   Ford        TAURUS               Carleton                 MI
6109   1FAHP2F85KG115569   Ford        TAURUS               LOS ANGELES              CA
6110   1FAHP2F85KG115572   Ford        TAURUS               Pasadena                 CA
6111   1FAHP2F85KG115586   Ford        TAURUS               BURBANK                  CA
6112   1FAHP2F85KG115636   Ford        TAURUS               Smithtown                NY
6113   1FAHP2F85KG115667   Ford        TAURUS               INGLEWOOD                CA
6114   1FAHP2F85KG115698   Ford        TAURUS               DENVER                   CO
6115   1FAHP2F85KG115734   Ford        TAURUS               WEST COLUMBIA            SC
6116   1FAHP2F86JG102179   Ford        TAURUS               BIRMINGHAN               AL
6117   1FAHP2F86JG102344   Ford        TAURUS               Ft. Myers                FL
6118   1FAHP2F86JG109584   Ford        TAURUS               SARASOTA                 FL
6119   1FAHP2F86JG109634   Ford        TAURUS               Hayward                  CA
6120   1FAHP2F86JG109648   Ford        TAURUS               Stockton                 CA
6121   1FAHP2F86JG109715   Ford        TAURUS               Roseville                CA
6122   1FAHP2F86JG129477   Ford        TAURUS               WEST PALM BEACH          FL
6123   1FAHP2F86JG129480   Ford        TAURUS               SAN DIEGO                CA
6124   1FAHP2F86JG133450   Ford        TAURUS               SAN JOSE                 CA
6125   1FAHP2F86JG133464   Ford        TAURUS               Stockton                 CA
6126   1FAHP2F86KG106606   Ford        TAURUS               PORTLAND                 ME
6127   1FAHP2F86KG106637   Ford        TAURUS               Philadelphia             PA
6128   1FAHP2F86KG106640   Ford        TAURUS               Pittsburgh               PA
6129   1FAHP2F86KG106668   Ford        TAURUS               ORLANDO                  FL
6130   1FAHP2F86KG106671   Ford        TAURUS               ELKRIDGE                 MD
6131   1FAHP2F86KG106685   Ford        TAURUS               ROANOKE                  VA
6132   1FAHP2F86KG106699   Ford        TAURUS               RONKONKOMA               NY
6133   1FAHP2F86KG106721   Ford        TAURUS               GLEN BURNIE              MD
6134   1FAHP2F86KG107433   Ford        TAURUS               KNOXVILLE                TN
6135   1FAHP2F86KG107447   Ford        TAURUS               KNOXVILLE                TN
6136   1FAHP2F86KG107450   Ford        TAURUS               Warr Acres               OK
6137   1FAHP2F86KG107528   Ford        TAURUS               LOS ANGELES              CA
6138   1FAHP2F86KG107545   Ford        TAURUS               SAN DIEGO                CA
6139   1FAHP2F86KG107593   Ford        TAURUS               HARRISBURG               PA
6140   1FAHP2F86KG107609   Ford        TAURUS               SAN JACINTO              CA
6141   1FAHP2F86KG107626   Ford        TAURUS               LAS VEGAS                NV
6142   1FAHP2F86KG107643   Ford        TAURUS               LOS ANGELES              CA
6143   1FAHP2F86KG107674   Ford        TAURUS               ORLANDO                  FL
6144   1FAHP2F86KG107688   Ford        TAURUS               MIAMI                    FL
6145   1FAHP2F86KG108968   Ford        TAURUS               Des Plaines              IL
6146   1FAHP2F86KG108971   Ford        TAURUS               CLEVELAND                OH
6147   1FAHP2F86KG109778   Ford        TAURUS               ONTARIO                  CA
6148   1FAHP2F86KG109831   Ford        TAURUS               PALM SPRINGS             CA
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6149   1FAHP2F86KG109845   Ford        TAURUS               ONTARIO                  CA
6150   1FAHP2F86KG109862   Ford        TAURUS               SANTA ANA                CA
6151   1FAHP2F86KG110798   Ford        TAURUS               BURBANK                  CA
6152   1FAHP2F86KG110817   Ford        TAURUS               LOUISVILLE               KY
6153   1FAHP2F86KG110820   Ford        TAURUS               PALM SPRINGS             CA
6154   1FAHP2F86KG111496   Ford        TAURUS               MOBILE                   A
6155   1FAHP2F86KG111529   Ford        TAURUS               ORLANDO                  FL
6156   1FAHP2F86KG111546   Ford        TAURUS               MIAMI                    FL
6157   1FAHP2F86KG114169   Ford        TAURUS               Estero                   FL
6158   1FAHP2F86KG114172   Ford        TAURUS               Springfield              MO
6159   1FAHP2F86KG114219   Ford        TAURUS               PENSACOLA                FL
6160   1FAHP2F86KG114236   Ford        TAURUS               LOUISVILLE               KY
6161   1FAHP2F86KG114267   Ford        TAURUS               Dallas                   TX
6162   1FAHP2F86KG114589   Ford        TAURUS               ORLANDO                  FL
6163   1FAHP2F86KG114592   Ford        TAURUS               JACKSON                  MS
6164   1FAHP2F86KG115371   Ford        TAURUS               SAINT LOUIS              MO
6165   1FAHP2F86KG115404   Ford        TAURUS               DETROIT                  MI
6166   1FAHP2F86KG115435   Ford        TAURUS               Hendersonville           TN
6167   1FAHP2F86KG115449   Ford        TAURUS               GRAND RAPIDS             MI
6168   1FAHP2F86KG115452   Ford        TAURUS               STERLING                 VA
6169   1FAHP2F86KG115497   Ford        TAURUS               Hebron                   KY
6170   1FAHP2F86KG115516   Ford        TAURUS               STERLING                 VA
6171   1FAHP2F86KG115533   Ford        TAURUS               ROANOKE                  VA
6172   1FAHP2F86KG115550   Ford        TAURUS               GRAND RAPIDS             MI
6173   1FAHP2F86KG115564   Ford        TAURUS               DETROIT                  MI
6174   1FAHP2F86KG115578   Ford        TAURUS               SAN DIEGO                CA
6175   1FAHP2F86KG115628   Ford        TAURUS               BALTIMORE                MD
6176   1FAHP2F86KG115631   Ford        TAURUS               GRAND RAPIDS             MI
6177   1FAHP2F86KG115659   Ford        TAURUS               Davie                    FL
6178   1FAHP2F86KG115662   Ford        TAURUS               AUSTIN                   TX
6179   1FAHP2F86KG115676   Ford        TAURUS               ORANGE COUNTY            CA
6180   1FAHP2F86KG115693   Ford        TAURUS               LOS ANGELES              CA
6181   1FAHP2F86KG115709   Ford        TAURUS               White Plains             ny
6182   1FAHP2F87JG102224   Ford        TAURUS               WEST PALM BEACH          FL
6183   1FAHP2F87JG102269   Ford        TAURUS               Greensboro               NC
6184   1FAHP2F87JG109481   Ford        TAURUS               Roseville                CA
6185   1FAHP2F87JG109528   Ford        TAURUS               Fresno                   CA
6186   1FAHP2F87JG109593   Ford        TAURUS               Leesburg                 VA
6187   1FAHP2F87JG109643   Ford        TAURUS               Hartford                 CT
6188   1FAHP2F87JG109769   Ford        TAURUS               Atlanta                  GA
6189   1FAHP2F87JG117368   Ford        TAURUS               Salt Lake City           UT
6190   1FAHP2F87JG129486   Ford        TAURUS               ONTARIO                  CA
6191   1FAHP2F87JG132775   Ford        TAURUS               DALLAS                   TX
6192   1FAHP2F87JG133442   Ford        TAURUS               SAN FRANCISCO            CA
6193   1FAHP2F87JG133473   Ford        TAURUS               TUCSON                   AZ
6194   1FAHP2F87JG133487   Ford        TAURUS               ONTARIO                  CA
6195   1FAHP2F87JG134932   Ford        TAURUS               Santa Clara              CA
6196   1FAHP2F87KG106596   Ford        TAURUS               HANOVER                  MD
6197   1FAHP2F87KG106663   Ford        TAURUS               ORANGE COUNTY            CA
6198   1FAHP2F87KG106677   Ford        TAURUS               Euless                   TX
6199   1FAHP2F87KG106694   Ford        TAURUS               FORT MYERS               FL
6200   1FAHP2F87KG106713   Ford        TAURUS               Orlando                  FL
6201   1FAHP2F87KG106730   Ford        TAURUS               TAMPA                    FL
6202   1FAHP2F87KG106744   Ford        TAURUS               Atlanta                  GA
6203   1FAHP2F87KG107425   Ford        TAURUS               West Mifflin             PA
6204   1FAHP2F87KG107439   Ford        TAURUS               STERLING                 VA
6205   1FAHP2F87KG107442   Ford        TAURUS               BROOKLYN                 NY
6206   1FAHP2F87KG107456   Ford        TAURUS               FORT MYERS               FL
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6207   1FAHP2F87KG107487   Ford        TAURUS               LAS VEGAS                NV
6208   1FAHP2F87KG107540   Ford        TAURUS               SAN DIEGO                CA
6209   1FAHP2F87KG107571   Ford        TAURUS               LOS ANGELES              CA
6210   1FAHP2F87KG107604   Ford        TAURUS               LOS ANGELES              CA
6211   1FAHP2F87KG107618   Ford        TAURUS               Florissant               MO
6212   1FAHP2F87KG107621   Ford        TAURUS               SAN DIEGO                CA
6213   1FAHP2F87KG107697   Ford        TAURUS               LOUISVILLE               KY
6214   1FAHP2F87KG108980   Ford        TAURUS               SAN JOSE                 CA
6215   1FAHP2F87KG108994   Ford        TAURUS               Charleston               SC
6216   1FAHP2F87KG109000   Ford        TAURUS               Atlanta                  GA
6217   1FAHP2F87KG109787   Ford        TAURUS               PALM SPRINGS             CA
6218   1FAHP2F87KG109840   Ford        TAURUS               LAS VEGAS                NV
6219   1FAHP2F87KG109854   Ford        TAURUS               LOS ANGELES              CA
6220   1FAHP2F87KG110731   Ford        TAURUS               WHITE PLAINS             NY
6221   1FAHP2F87KG110762   Ford        TAURUS               Fountain                 CO
6222   1FAHP2F87KG110776   Ford        TAURUS               LOS ANGELES              CA
6223   1FAHP2F87KG110809   Ford        TAURUS               PALM SPRINGS             CA
6224   1FAHP2F87KG111510   Ford        TAURUS               Sarasota                 FL
6225   1FAHP2F87KG111524   Ford        TAURUS               NORFOLK                  VA
6226   1FAHP2F87KG114178   Ford        TAURUS               Charleston               SC
6227   1FAHP2F87KG114231   Ford        TAURUS               SARASOTA                 FL
6228   1FAHP2F87KG114276   Ford        TAURUS               JACKSON                  MS
6229   1FAHP2F87KG114598   Ford        TAURUS               WEST PALM BEACH          FL
6230   1FAHP2F87KG115363   Ford        TAURUS               TAMPA                    FL
6231   1FAHP2F87KG115377   Ford        TAURUS               Dallas                   TX
6232   1FAHP2F87KG115380   Ford        TAURUS               RALEIGH                  NC
6233   1FAHP2F87KG115427   Ford        TAURUS               INDIANAPOLIS             IN
6234   1FAHP2F87KG115430   Ford        TAURUS               STERLING                 VA
6235   1FAHP2F87KG115461   Ford        TAURUS               Louisville               KY
6236   1FAHP2F87KG115525   Ford        TAURUS               CHICAGO                  IL
6237   1FAHP2F87KG115539   Ford        TAURUS               GRAND RAPIDS             MI
6238   1FAHP2F87KG115542   Ford        TAURUS               Atlanta                  GA
6239   1FAHP2F87KG115556   Ford        TAURUS               DETROIT                  MI
6240   1FAHP2F87KG115573   Ford        TAURUS               ORANGE COUNTY            CA
6241   1FAHP2F87KG115587   Ford        TAURUS               SEATTLE                  WA
6242   1FAHP2F87KG115623   Ford        TAURUS               WEST PALM BEACH          FL
6243   1FAHP2F87KG115640   Ford        TAURUS               Smithtown                NY
6244   1FAHP2F87KG115671   Ford        TAURUS               TAMPA                    FL
6245   1FAHP2F87KG118067   Ford        TAURUS               KENNER                   LA
6246   1FAHP2F87KG118070   Ford        TAURUS               KENNER                   LA
6247   1FAHP2F88JG102314   Ford        TAURUS               DAYTONA BEACH            FL
6248   1FAHP2F88JG103253   Ford        TAURUS               TAMPA                    FL
6249   1FAHP2F88JG109456   Ford        TAURUS               TAMPA                    FL
6250   1FAHP2F88JG109490   Ford        TAURUS               Mira Loma                CA
6251   1FAHP2F88JG109554   Ford        TAURUS               Stone Mountain           GA
6252   1FAHP2F88JG109716   Ford        TAURUS               San Diego                CA
6253   1FAHP2F88JG109733   Ford        TAURUS               Lake Elsinore            CA
6254   1FAHP2F88JG109747   Ford        TAURUS               San Diego                CA
6255   1FAHP2F88JG129478   Ford        TAURUS               Cedar Rapids             IA
6256   1FAHP2F88JG129481   Ford        TAURUS               LAS VEGAS                NV
6257   1FAHP2F88JG129500   Ford        TAURUS               LAS VEGAS                NV
6258   1FAHP2F88JG129514   Ford        TAURUS               SAN DIEGO                CA
6259   1FAHP2F88JG133434   Ford        TAURUS               North Las Vegas          NV
6260   1FAHP2F88JG133448   Ford        TAURUS               Cerritos                 CA
6261   1FAHP2F88JG134924   Ford        TAURUS               Tolleson                 AZ
6262   1FAHP2F88KG106610   Ford        TAURUS               HANOVER                  MD
6263   1FAHP2F88KG106624   Ford        TAURUS               Bensalem                 PA
6264   1FAHP2F88KG106669   Ford        TAURUS               BALTIMORE                MD
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6265   1FAHP2F88KG106686   Ford        TAURUS               SAINT PAUL               MN
6266   1FAHP2F88KG107434   Ford        TAURUS               STERLING                 VA
6267   1FAHP2F88KG107448   Ford        TAURUS               PHILADELPHIA             PA
6268   1FAHP2F88KG107451   Ford        TAURUS               MIAMI                    FL
6269   1FAHP2F88KG107465   Ford        TAURUS               LAS VEGAS                NV
6270   1FAHP2F88KG107482   Ford        TAURUS               WEST PALM BEACH          FL
6271   1FAHP2F88KG107496   Ford        TAURUS               LOS ANGELES              CA
6272   1FAHP2F88KG107577   Ford        TAURUS               BURBANK                  CA
6273   1FAHP2F88KG107613   Ford        TAURUS               BURBANK                  CA
6274   1FAHP2F88KG107630   Ford        TAURUS               BURBANK                  CA
6275   1FAHP2F88KG107644   Ford        TAURUS               PALM SPRINGS             CA
6276   1FAHP2F88KG107658   Ford        TAURUS               LOS ANGELES              CA
6277   1FAHP2F88KG107689   Ford        TAURUS               FORT MYERS               FL
6278   1FAHP2F88KG107692   Ford        TAURUS               DETROIT                  MI
6279   1FAHP2F88KG108969   Ford        TAURUS               RALEIGH                  NC
6280   1FAHP2F88KG108986   Ford        TAURUS               SANTA ANA                CA
6281   1FAHP2F88KG109765   Ford        TAURUS               MEMPHIS                  TN
6282   1FAHP2F88KG109779   Ford        TAURUS               LAS VEGAS                NV
6283   1FAHP2F88KG109815   Ford        TAURUS               Sacramento               CA
6284   1FAHP2F88KG109832   Ford        TAURUS               PALM SPRINGS             CA
6285   1FAHP2F88KG109880   Ford        TAURUS               GREENVILLE               NC
6286   1FAHP2F88KG110740   Ford        TAURUS               Florissant               MO
6287   1FAHP2F88KG110799   Ford        TAURUS               BURBANK                  CA
6288   1FAHP2F88KG111516   Ford        TAURUS               Riverside                CA
6289   1FAHP2F88KG111533   Ford        TAURUS               WEST PALM BEACH          FL
6290   1FAHP2F88KG111547   Ford        TAURUS               Clearwater               FL
6291   1FAHP2F88KG111550   Ford        TAURUS               CHARLOTTE                NC
6292   1FAHP2F88KG114223   Ford        TAURUS               Elkridge                 MD
6293   1FAHP2F88KG114240   Ford        TAURUS               Detroit                  MI
6294   1FAHP2F88KG114271   Ford        TAURUS               SAN JOSE                 CA
6295   1FAHP2F88KG114593   Ford        TAURUS               Atlanta                  GA
6296   1FAHP2F88KG115372   Ford        TAURUS               Austell                  GA
6297   1FAHP2F88KG115386   Ford        TAURUS               FORT MYERS               FL
6298   1FAHP2F88KG115436   Ford        TAURUS               Burien                   WA
6299   1FAHP2F88KG115470   Ford        TAURUS               DETROIT                  MI
6300   1FAHP2F88KG115517   Ford        TAURUS               Ocoee                    FL
6301   1FAHP2F88KG115520   Ford        TAURUS               MILWAUKEE                WI
6302   1FAHP2F88KG115534   Ford        TAURUS               PHILADELPHIA             PA
6303   1FAHP2F88KG115596   Ford        TAURUS               KNOXVILLE                TN
6304   1FAHP2F88KG115646   Ford        TAURUS               PHILADELPHIA             PA
6305   1FAHP2F88KG115663   Ford        TAURUS               SANTA ANA                CA
6306   1FAHP2F88KG115680   Ford        TAURUS               TUCSON                   AZ
6307   1FAHP2F88KG115727   Ford        TAURUS               FORT MYERS               FL
6308   1FAHP2F89JG109353   Ford        TAURUS               TRACY                    CA
6309   1FAHP2F89JG109451   Ford        TAURUS               OKLAHOMA CITY            OK
6310   1FAHP2F89JG109739   Ford        TAURUS               Manheim                  PA
6311   1FAHP2F89JG109840   Ford        TAURUS               LAS VEGAS                NV
6312   1FAHP2F89JG115783   Ford        TAURUS               Hattiesburg              MS
6313   1FAHP2F89JG129490   Ford        TAURUS               LAS VEGAS                NV
6314   1FAHP2F89JG129506   Ford        TAURUS               BOISE                    US
6315   1FAHP2F89JG129523   Ford        TAURUS               Kent                     WA
6316   1FAHP2F89JG132776   Ford        TAURUS               LAS VEGAS                NV
6317   1FAHP2F89JG133426   Ford        TAURUS               Rockville Centr          NY
6318   1FAHP2F89JG133443   Ford        TAURUS               Roseville                CA
6319   1FAHP2F89JG133457   Ford        TAURUS               Fontana                  CA
6320   1FAHP2F89JG133474   Ford        TAURUS               SEATAC                   WA
6321   1FAHP2F89JG133491   Ford        TAURUS               DENVER                   CO
6322   1FAHP2F89JG134916   Ford        TAURUS               SALT LAKE CITY           UT
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6323   1FAHP2F89JG134933   Ford        TAURUS               LOS ANGELES              CA
6324   1FAHP2F89KG106616   Ford        TAURUS               Aberdeen                 MD
6325   1FAHP2F89KG106650   Ford        TAURUS               PHILADELPHIA             PA
6326   1FAHP2F89KG106664   Ford        TAURUS               RALIEGH                  NC
6327   1FAHP2F89KG106678   Ford        TAURUS               Chicago                  IL
6328   1FAHP2F89KG106700   Ford        TAURUS               STERLING                 VA
6329   1FAHP2F89KG106714   Ford        TAURUS               INDIANAPOLIS             IN
6330   1FAHP2F89KG106728   Ford        TAURUS               BALTIMORE                MD
6331   1FAHP2F89KG106731   Ford        TAURUS               PHILADELPHIA             PA
6332   1FAHP2F89KG106745   Ford        TAURUS               INDIANAPOLIS             IN
6333   1FAHP2F89KG107426   Ford        TAURUS               LOUISVILLE               KY
6334   1FAHP2F89KG107443   Ford        TAURUS               NEW BERN                 NC
6335   1FAHP2F89KG107457   Ford        TAURUS               FORT LAUDERDALE          FL
6336   1FAHP2F89KG107460   Ford        TAURUS               LOS ANGELES              CA
6337   1FAHP2F89KG107507   Ford        TAURUS               SANTA ANA                CA
6338   1FAHP2F89KG107524   Ford        TAURUS               SAN JOSE                 CA
6339   1FAHP2F89KG107586   Ford        TAURUS               ORANGE COUNTY            CA
6340   1FAHP2F89KG107605   Ford        TAURUS               LOS ANGELES              CA
6341   1FAHP2F89KG107619   Ford        TAURUS               BURBANK                  CA
6342   1FAHP2F89KG107622   Ford        TAURUS               ONTARIO                  CA
6343   1FAHP2F89KG107653   Ford        TAURUS               SANTA ANA                CA
6344   1FAHP2F89KG107667   Ford        TAURUS               NASHVILLE                TN
6345   1FAHP2F89KG107670   Ford        TAURUS               Memphis                  TN
6346   1FAHP2F89KG107698   Ford        TAURUS               RALIEGH                  NC
6347   1FAHP2F89KG108981   Ford        TAURUS               Austin                   TX
6348   1FAHP2F89KG109774   Ford        TAURUS               PALM SPRINGS             CA
6349   1FAHP2F89KG109807   Ford        TAURUS               NEW BERN                 NC
6350   1FAHP2F89KG109810   Ford        TAURUS               LAS VEGAS                NV
6351   1FAHP2F89KG109838   Ford        TAURUS               BURBANK                  CA
6352   1FAHP2F89KG109869   Ford        TAURUS               Atlanta                  GA
6353   1FAHP2F89KG110746   Ford        TAURUS               STERLING                 VA
6354   1FAHP2F89KG110780   Ford        TAURUS               LOS ANGELES              CA
6355   1FAHP2F89KG110813   Ford        TAURUS               LAS VEGAS                NV
6356   1FAHP2F89KG111511   Ford        TAURUS               STERLING                 VA
6357   1FAHP2F89KG111525   Ford        TAURUS               Manheim                  PA
6358   1FAHP2F89KG111539   Ford        TAURUS               ORLANDO                  FL
6359   1FAHP2F89KG111542   Ford        TAURUS               KNOXVILLE                TN
6360   1FAHP2F89KG114182   Ford        TAURUS               JACKSONVILLE             FL
6361   1FAHP2F89KG114215   Ford        TAURUS               Hendersonville           TN
6362   1FAHP2F89KG114229   Ford        TAURUS               TAMPA                    FL
6363   1FAHP2F89KG114246   Ford        TAURUS               Euless                   TX
6364   1FAHP2F89KG115364   Ford        TAURUS               COLLEGE PARK             GA
6365   1FAHP2F89KG115378   Ford        TAURUS               Hendersonville           TN
6366   1FAHP2F89KG115381   Ford        TAURUS               BIRMINGHAM               AL
6367   1FAHP2F89KG115428   Ford        TAURUS               DETROIT                  MI
6368   1FAHP2F89KG115431   Ford        TAURUS               DETROIT                  MI
6369   1FAHP2F89KG115476   Ford        TAURUS               Statesville              NC
6370   1FAHP2F89KG115493   Ford        TAURUS               STERLING                 VA
6371   1FAHP2F89KG115526   Ford        TAURUS               HARRISBURG               PA
6372   1FAHP2F89KG115557   Ford        TAURUS               Smithtown                NY
6373   1FAHP2F89KG115560   Ford        TAURUS               EXETER                   RI
6374   1FAHP2F89KG115574   Ford        TAURUS               SANTA ANA                CA
6375   1FAHP2F89KG115638   Ford        TAURUS               MIAMI                    FL
6376   1FAHP2F89KG115641   Ford        TAURUS               STERLING                 VA
6377   1FAHP2F89KG115669   Ford        TAURUS               FRESNO                   CA
6378   1FAHP2F89KG115672   Ford        TAURUS               NEW BERN                 NC
6379   1FAHP2F89KG115736   Ford        TAURUS               Greensboro               NC
6380   1FAHP2F89KG118068   Ford        TAURUS               FORT MYERS               FL
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6381   1FAHP2F89KG118071   Ford        TAURUS               BIRMINGHAM               AL
6382   1FAHP2F8XJG109362   Ford        TAURUS               Norwalk                  CA
6383   1FAHP2F8XJG109457   Ford        TAURUS               PHOENIX                  AZ
6384   1FAHP2F8XJG109801   Ford        TAURUS               Mobile                   AL
6385   1FAHP2F8XJG117364   Ford        TAURUS               DENVER                   CO
6386   1FAHP2F8XJG129515   Ford        TAURUS               SAN DIEGO                CA
6387   1FAHP2F8XJG132768   Ford        TAURUS               Manheim                  PA
6388   1FAHP2F8XJG132771   Ford        TAURUS               Hayward                  CA
6389   1FAHP2F8XJG134925   Ford        TAURUS               LOS ANGELES              CA
6390   1FAHP2F8XKG106592   Ford        TAURUS               ORLANDO                  FL
6391   1FAHP2F8XKG106611   Ford        TAURUS               Atlanta                  GA
6392   1FAHP2F8XKG106625   Ford        TAURUS               FORT LAUDERDALE          FL
6393   1FAHP2F8XKG106642   Ford        TAURUS               PHILADELPHIA             PA
6394   1FAHP2F8XKG106687   Ford        TAURUS               STERLING                 VA
6395   1FAHP2F8XKG106690   Ford        TAURUS               Atlanta                  GA
6396   1FAHP2F8XKG106706   Ford        TAURUS               BALTIMORE                MD
6397   1FAHP2F8XKG106740   Ford        TAURUS               FORT MYERS               FL
6398   1FAHP2F8XKG107418   Ford        TAURUS               Miami                    FL
6399   1FAHP2F8XKG107421   Ford        TAURUS               GREENSBORO               NC
6400   1FAHP2F8XKG107435   Ford        TAURUS               FORT LAUDERDALE          FL
6401   1FAHP2F8XKG107449   Ford        TAURUS               ORLANDO                  FL
6402   1FAHP2F8XKG107452   Ford        TAURUS               CHARLOTTE                US
6403   1FAHP2F8XKG107502   Ford        TAURUS               LAS VEGAS                NV
6404   1FAHP2F8XKG107516   Ford        TAURUS               LAS VEGAS                NV
6405   1FAHP2F8XKG107533   Ford        TAURUS               SAN DIEGO                CA
6406   1FAHP2F8XKG107547   Ford        TAURUS               Los Angeles              CA
6407   1FAHP2F8XKG107600   Ford        TAURUS               Euless                   TX
6408   1FAHP2F8XKG107614   Ford        TAURUS               SANTA ANA                CA
6409   1FAHP2F8XKG107631   Ford        TAURUS               LOS ANGELES              CA
6410   1FAHP2F8XKG107645   Ford        TAURUS               LAS VEGAS                NV
6411   1FAHP2F8XKG107662   Ford        TAURUS               Cincinnati               OH
6412   1FAHP2F8XKG108987   Ford        TAURUS               LAS VEGAS                NV
6413   1FAHP2F8XKG109783   Ford        TAURUS               SANTA ANA                CA
6414   1FAHP2F8XKG109833   Ford        TAURUS               LAS VEGAS                NV
6415   1FAHP2F8XKG109878   Ford        TAURUS               Denver                   CO
6416   1FAHP2F8XKG110741   Ford        TAURUS               Elkridge                 MD
6417   1FAHP2F8XKG110772   Ford        TAURUS               Las Vegas                NV
6418   1FAHP2F8XKG110805   Ford        TAURUS               SEATAC                   WA
6419   1FAHP2F8XKG111503   Ford        TAURUS               TAMPA                    FL
6420   1FAHP2F8XKG111517   Ford        TAURUS               DAYTONA BEACH            FL
6421   1FAHP2F8XKG111520   Ford        TAURUS               FORT MYERS               FL
6422   1FAHP2F8XKG111551   Ford        TAURUS               MILWAUKEE                WI
6423   1FAHP2F8XKG114174   Ford        TAURUS               ORLANDO                  FL
6424   1FAHP2F8XKG114191   Ford        TAURUS               Harvey                   LA
6425   1FAHP2F8XKG114224   Ford        TAURUS               Nashville                TN
6426   1FAHP2F8XKG114255   Ford        TAURUS               San Antonio              TX
6427   1FAHP2F8XKG114269   Ford        TAURUS               NASHVILLE                TN
6428   1FAHP2F8XKG114594   Ford        TAURUS               GRAND RAPIDS             MI
6429   1FAHP2F8XKG115387   Ford        TAURUS               BALTIMORE                MD
6430   1FAHP2F8XKG115390   Ford        TAURUS               NORFOLK                  VA
6431   1FAHP2F8XKG115437   Ford        TAURUS               MEMPHIS                  TN
6432   1FAHP2F8XKG115440   Ford        TAURUS               HARTFORD                 CT
6433   1FAHP2F8XKG115454   Ford        TAURUS               Hamilton                 OH
6434   1FAHP2F8XKG115468   Ford        TAURUS               PENSACOLA                FL
6435   1FAHP2F8XKG115471   Ford        TAURUS               SARASOTA                 FL
6436   1FAHP2F8XKG115485   Ford        TAURUS               FT LAUDERDALE            FL
6437   1FAHP2F8XKG115499   Ford        TAURUS               TAMPA                    FL
6438   1FAHP2F8XKG115521   Ford        TAURUS               PITTSBURGH               PA
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6439   1FAHP2F8XKG115552   Ford        TAURUS               DETROIT                  MI
6440   1FAHP2F8XKG115597   Ford        TAURUS               STERLING                 VA
6441   1FAHP2F8XKG115616   Ford        TAURUS               Elkridge                 MD
6442   1FAHP2F8XKG115647   Ford        TAURUS               WEST PALM BEACH          FL
6443   1FAHP2F8XKG115681   Ford        TAURUS               PHOENIX                  AZ
6444   1FAHP2F8XKG115728   Ford        TAURUS               PHILADELPHIA             PA
6445   1FAHP2F96HG126162   Ford        TAURUS               FORT LAUDERDALE          FL
6446   1FATP8FF0K5138247   Ford        MUST                 BIRMINGHAM               AL
6447   1FATP8FF0K5138250   Ford        MUST                 KNOXVILLE                TN
6448   1FATP8FF0K5138345   Ford        MUST                 Miami                    FL
6449   1FATP8FF0K5138393   Ford        MUST                 MIAMI                    FL
6450   1FATP8FF0K5138409   Ford        MUST                 Tampa                    FL
6451   1FATP8FF0K5138426   Ford        MUST                 FORT LAUDERDALE          FL
6452   1FATP8FF0K5138524   Ford        MUST                 FORT MYERS               FL
6453   1FATP8FF0K5138538   Ford        MUST                 FORT MYERS               FL
6454   1FATP8FF0K5138541   Ford        MUST                 North Las Vegas          NV
6455   1FATP8FF0K5138569   Ford        MUST                 ORLANDO                  FL
6456   1FATP8FF0K5140418   Ford        MUST                 ROANOKE                  VA
6457   1FATP8FF0K5140421   Ford        MUST                 Plantation               FL
6458   1FATP8FF0K5140466   Ford        MUST                 FORT MYERS               FL
6459   1FATP8FF0K5140483   Ford        MUST                 Pasadena                 CA
6460   1FATP8FF0K5140502   Ford        MUST                 Anaheim                  CA
6461   1FATP8FF0K5150222   Ford        MUST                 MIAMI                    FL
6462   1FATP8FF0K5150236   Ford        MUST                 Estero                   FL
6463   1FATP8FF0K5150253   Ford        MUST                 MIAMI                    FL
6464   1FATP8FF0K5151046   Ford        MUST                 Davie                    FL
6465   1FATP8FF0K5151077   Ford        MUST                 N. Palm Beach            FL
6466   1FATP8FF0K5151080   Ford        MUST                 WEST PALM BEACH          FL
6467   1FATP8FF0K5151113   Ford        MUST                 FORT LAUDERDALE          FL
6468   1FATP8FF0K5171636   Ford        MUST                 DES MOINES               IA
6469   1FATP8FF0K5171653   Ford        MUST                 Ocoee                    FL
6470   1FATP8FF0K5171698   Ford        MUST                 BIRMINGHAM               AL
6471   1FATP8FF0K5171748   Ford        MUST                 CORPUS CHRISTI           TX
6472   1FATP8FF0K5171815   Ford        MUST                 Torrance                 CA
6473   1FATP8FF0K5171846   Ford        MUST                 LAS VEGAS                NV
6474   1FATP8FF0K5171863   Ford        MUST                 Torrance                 CA
6475   1FATP8FF0K5171877   Ford        MUST                 Lake Elsinore            CA
6476   1FATP8FF0K5171880   Ford        MUST                 SEATTLE                  WA
6477   1FATP8FF0K5171958   Ford        MUST                 Teterboro                NJ
6478   1FATP8FF0K5171975   Ford        MUST                 FORT MYERS               FL
6479   1FATP8FF0K5179557   Ford        MUST                 N. Palm Beach            FL
6480   1FATP8FF0K5179560   Ford        MUST                 TAMPA                    FL
6481   1FATP8FF0K5179641   Ford        MUST                 TAMPA                    US
6482   1FATP8FF0K5179655   Ford        MUST                 PENSACOLA                FL
6483   1FATP8FF0K5182135   Ford        MUST                 DETROIT                  MI
6484   1FATP8FF0K5182250   Ford        MUST                 DAYTON                   OH
6485   1FATP8FF0K5182278   Ford        MUST                 HANOVER                  MD
6486   1FATP8FF0K5182281   Ford        MUST                 CLEVELAND                OH
6487   1FATP8FF0K5182300   Ford        MUST                 KNOXVILLE                TN
6488   1FATP8FF0K5182314   Ford        MUST                 Santa Clara              CA
6489   1FATP8FF0K5182345   Ford        MUST                 Torrance                 CA
6490   1FATP8FF0K5182359   Ford        MUST                 SAN FRANCISCO            CA
6491   1FATP8FF0K5182376   Ford        MUST                 Riverside                CA
6492   1FATP8FF0K5182913   Ford        MUST                 PHOENIX                  AZ
6493   1FATP8FF0K5182927   Ford        MUST                 PHOENIX                  AZ
6494   1FATP8FF0K5182930   Ford        MUST                 CHICAGO                  IL
6495   1FATP8FF0K5182944   Ford        MUST                 Fontana                  CA
6496   1FATP8FF0K5182992   Ford        MUST                 FORT MYERS               FL
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6497   1FATP8FF0L5111728   Ford         MUST                 GRAND PRAIRIE            TX
6498   1FATP8FF0L5111731   Ford         MUST                 DALLAS                   TX
6499   1FATP8FF0L5111941   Ford         MUST                 HOUSTON                  TX
6500   1FATP8FF0L5112006   Ford         MUST                 LOS ANGELES              CA
6501   1FATP8FF0L5112023   Ford         MUST                 LAS VEGAS                NV
6502   1FATP8FF0L5112409   Ford         MUST                 PHOENIX                  AZ
6503   1FATP8FF0L5112412   Ford         MUST                 Phoenix                  AZ
6504   1FATP8FF0L5112426   Ford         MUST                 PHOENIX                  AZ
6505   1FATP8FF0L5112443   Ford         MUST                 ONTARIO                  CA
6506   1FATP8FF0L5112457   Ford         MUST                 PHOENIX                  AZ
6507   1FATP8FF0L5115228   Ford         MUST                 DALLAS                   TX
6508   1FATP8FF0L5115231   Ford         MUST                 DALLAS                   TX
6509   1FATP8FF0L5115245   Ford         MUST                 DALLAS                   TX
6510   1FATP8FF0L5115276   Ford         MUST                 HOUSTON                  TX
6511   1FATP8FF0L5118467   Ford         MUST                 Atlanta                  GA
6512   1FATP8FF0L5118470   Ford         MUST                 KENNESAW                 GA
6513   1FATP8FF0L5118548   Ford         MUST                 LAS VEGAS                NV
6514   1FATP8FF0L5118551   Ford         MUST                 LOS ANGELES AP           CA
6515   1FATP8FF0L5118565   Ford         MUST                 INGLEWOOD                CA
6516   1FATP8FF0L5118596   Ford         MUST                 LAS VEGAS                NV
6517   1FATP8FF0L5118601   Ford         MUST                 SAN FRANCISCO            CA
6518   1FATP8FF0L5118615   Ford         MUST                 LAS VEGAS                NV
6519   1FATP8FF0L5118629   Ford         MUST                 LAS VEGAS                NV
6520   1FATP8FF0L5118789   Ford         MUST                 SAN DIEGO                CA
6521   1FATP8FF0L5118792   Ford         MUST                 HESPERIA                 ca
6522   1FATP8FF0L5118808   Ford         MUST                 OAKLAND                  CA
6523   1FATP8FF0L5118811   Ford         MUST                 SACRAMENTO               CA
6524   1FATP8FF0L5119036   Ford         MUST                 SAN ANTONIO              TX
6525   1FATP8FF0L5119456   Ford         MUST                 Atlanta                  GA
6526   1FATP8FF0L5120686   Ford         MUST                 MEMPHIS                  TN
6527   1FATP8FF0L5130988   Ford         MUST                 Atlanta                  GA
6528   1FATP8FF0L5131073   Ford         MUST                 KNOXVILLE                TN
6529   1FATP8FF0L5131087   Ford         MUST                 KENNER                   LA
6530   1FATP8FF1K5138239   Ford         MUST                 CHARLOTTE                NC
6531   1FATP8FF1K5138323   Ford         MUST                 Hayward                  CA
6532   1FATP8FF1K5138435   Ford         MUST                 FAYETTEVILLE             GA
6533   1FATP8FF1K5138449   Ford         MUST                 FORT LAUDERDALE          FL
6534   1FATP8FF1K5138533   Ford         MUST                 West Palm Beach          FL
6535   1FATP8FF1K5138547   Ford         MUST                 TAMPA                    FL
6536   1FATP8FF1K5138581   Ford         MUST                 MIAMI                    FL
6537   1FATP8FF1K5140346   Ford         MUST                 FORT MYERS               FL
6538   1FATP8FF1K5140508   Ford         MUST                 Burien                   WA
6539   1FATP8FF1K5140511   Ford         MUST                 TALLAHASSEE              F
6540   1FATP8FF1K5150231   Ford         MUST                 KEY WEST                 FL
6541   1FATP8FF1K5150262   Ford         MUST                 MIAMI INT'L AP           FL
6542   1FATP8FF1K5151069   Ford         MUST                 Miami                    FL
6543   1FATP8FF1K5151086   Ford         MUST                 WEST PALM BEACH          FL
6544   1FATP8FF1K5171659   Ford         MUST                 FAYETTEVILLE             GA
6545   1FATP8FF1K5171743   Ford         MUST                 SAN ANTONIO              TX
6546   1FATP8FF1K5171824   Ford         MUST                 ONTARIO                  CA
6547   1FATP8FF1K5171838   Ford         MUST                 ONTARIO                  CA
6548   1FATP8FF1K5171855   Ford         MUST                 SAN DIEGO                CA
6549   1FATP8FF1K5171872   Ford         MUST                 KNOXVILLE                TN
6550   1FATP8FF1K5171967   Ford         MUST                 BIRMINGHAM               AL
6551   1FATP8FF1K5171970   Ford         MUST                 LOS ANGELES              CA
6552   1FATP8FF1K5179633   Ford         MUST                 GREENVILLE               NC
6553   1FATP8FF1K5179647   Ford         MUST                 WEST PALM BEACH          FL
6554   1FATP8FF1K5179650   Ford         MUST                 FT LAUDERDALE            FL
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6555   1FATP8FF1K5182287   Ford         MUST                 WEST PALM BEACH          FL
6556   1FATP8FF1K5182290   Ford         MUST                 COLUMBUS                 OH
6557   1FATP8FF1K5182306   Ford         MUST                 Salt Lake City           UT
6558   1FATP8FF1K5182323   Ford         MUST                 Tolleson                 AZ
6559   1FATP8FF1K5182337   Ford         MUST                 LAS VEGAS                NV
6560   1FATP8FF1K5182340   Ford         MUST                 Las Vegas                NV
6561   1FATP8FF1K5182368   Ford         MUST                 BALTIMORE                MD
6562   1FATP8FF1K5182385   Ford         MUST                 CHARLOTTE                NC
6563   1FATP8FF1K5182905   Ford         MUST                 LAS VEGAS                NV
6564   1FATP8FF1K5182936   Ford         MUST                 HOUSTON                  TX
6565   1FATP8FF1K5182953   Ford         MUST                 PHOENIX                  AZ
6566   1FATP8FF1L5111737   Ford         MUST                 ORLANDO                  FL
6567   1FATP8FF1L5111947   Ford         MUST                 OKLAHOMA CITY            OK
6568   1FATP8FF1L5111950   Ford         MUST                 ONTARIO                  CA
6569   1FATP8FF1L5112001   Ford         MUST                 SAN DIEGO                CA
6570   1FATP8FF1L5112015   Ford         MUST                 SAN FRANCISCO            CA
6571   1FATP8FF1L5112029   Ford         MUST                 DENVER                   CO
6572   1FATP8FF1L5112032   Ford         MUST                 OAKLAND                  CA
6573   1FATP8FF1L5112421   Ford         MUST                 PHOENIX                  AZ
6574   1FATP8FF1L5112435   Ford         MUST                 PHOENIX                  AZ
6575   1FATP8FF1L5112452   Ford         MUST                 PHOENIX                  AZ
6576   1FATP8FF1L5115237   Ford         MUST                 KNOXVILLE                TN
6577   1FATP8FF1L5115240   Ford         MUST                 AUSTIN                   TX
6578   1FATP8FF1L5118462   Ford         MUST                 UNION CITY               GA
6579   1FATP8FF1L5118526   Ford         MUST                 LAS VEGAS                NV
6580   1FATP8FF1L5118543   Ford         MUST                 PHOENIX                  AZ
6581   1FATP8FF1L5118557   Ford         MUST                 OAKLAND                  CA
6582   1FATP8FF1L5118560   Ford         MUST                 SAN DIEGO                US
6583   1FATP8FF1L5118591   Ford         MUST                 SANTA ANA                CA
6584   1FATP8FF1L5118610   Ford         MUST                 SAC                      CA
6585   1FATP8FF1L5118624   Ford         MUST                 LOS ANGELES              CA
6586   1FATP8FF1L5118798   Ford         MUST                 LOS ANGELES              CA
6587   1FATP8FF1L5118803   Ford         MUST                 SACRAMENTO               CA
6588   1FATP8FF1L5119028   Ford         MUST                 SAN ANTONIO              TX
6589   1FATP8FF1L5119031   Ford         MUST                 HOUSTON                  TX
6590   1FATP8FF1L5119045   Ford         MUST                 HOUSTON                  TX
6591   1FATP8FF1L5119448   Ford         MUST                 PENSACOLA                FL
6592   1FATP8FF1L5119451   Ford         MUST                 Atlanta                  GA
6593   1FATP8FF1L5120549   Ford         MUST                 PENSACOLA                FL
6594   1FATP8FF1L5120552   Ford         MUST                 Austell                  GA
6595   1FATP8FF1L5125282   Ford         MUST                 Tampa                    FL
6596   1FATP8FF1L5125301   Ford         MUST                 MIAMI                    FL
6597   1FATP8FF1L5131017   Ford         MUST                 Atlanta                  GA
6598   1FATP8FF1L5131065   Ford         MUST                 KNOXVILLE                TN
6599   1FATP8FF1L5131079   Ford         MUST                 KENNER                   LA
6600   1FATP8FF1L5131096   Ford         MUST                 NEW ORLEANS              LA
6601   1FATP8FF1L5131129   Ford         MUST                 MEMPHIS                  TN
6602   1FATP8FF1L5135889   Ford         MUST                 STERLING                 VA
6603   1FATP8FF1L5135925   Ford         MUST                 FAYETTEVILLE             GA
6604   1FATP8FF2K5138234   Ford         MUST                 Louisville               KY
6605   1FATP8FF2K5138251   Ford         MUST                 TAMPA                    FL
6606   1FATP8FF2K5138363   Ford         MUST                 Davie                    FL
6607   1FATP8FF2K5138430   Ford         MUST                 N. Palm Beach            FL
6608   1FATP8FF2K5138458   Ford         MUST                 MIAMI                    FL
6609   1FATP8FF2K5138539   Ford         MUST                 MIAMI                    FL
6610   1FATP8FF2K5138542   Ford         MUST                 Estero                   FL
6611   1FATP8FF2K5140419   Ford         MUST                 FORT MYERS               FL
6612   1FATP8FF2K5140467   Ford         MUST                 Jacksonville             FL
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6613   1FATP8FF2K5140470   Ford         MUST                 CINCINNATI               OH
6614   1FATP8FF2K5140520   Ford         MUST                 ORLANDO                  FL
6615   1FATP8FF2K5150237   Ford         MUST                 FORT MYERS               FL
6616   1FATP8FF2K5150254   Ford         MUST                 MIAMI                    FL
6617   1FATP8FF2K5150268   Ford         MUST                 BALTIMORE                MD
6618   1FATP8FF2K5151047   Ford         MUST                 MIAMI                    FL
6619   1FATP8FF2K5151064   Ford         MUST                 ORLANDO                  FL
6620   1FATP8FF2K5151078   Ford         MUST                 FORT MYERS               FL
6621   1FATP8FF2K5151081   Ford         MUST                 Miami                    FL
6622   1FATP8FF2K5151100   Ford         MUST                 Clearwater               FL
6623   1FATP8FF2K5151114   Ford         MUST                 MIAMI                    FL
6624   1FATP8FF2K5151128   Ford         MUST                 ORLANDO                  FL
6625   1FATP8FF2K5171637   Ford         MUST                 MOBILE                   A
6626   1FATP8FF2K5171668   Ford         MUST                 Harvey                   LA
6627   1FATP8FF2K5171685   Ford         MUST                 LOUISVILLE               KY
6628   1FATP8FF2K5171735   Ford         MUST                 HOUSTON                  TX
6629   1FATP8FF2K5171749   Ford         MUST                 AUSTIN                   TX
6630   1FATP8FF2K5171816   Ford         MUST                 Ventura                  CA
6631   1FATP8FF2K5171850   Ford         MUST                 Riverside                CA
6632   1FATP8FF2K5171864   Ford         MUST                 Torrance                 CA
6633   1FATP8FF2K5171878   Ford         MUST                 FORT LAUDERDALE          FL
6634   1FATP8FF2K5171881   Ford         MUST                 TRACY                    CA
6635   1FATP8FF2K5171959   Ford         MUST                 HOUSTON                  TX
6636   1FATP8FF2K5171962   Ford         MUST                 HOUSTON                  TX
6637   1FATP8FF2K5171976   Ford         MUST                 Atlanta                  GA
6638   1FATP8FF2K5179558   Ford         MUST                 RALEIGH                  NC
6639   1FATP8FF2K5179642   Ford         MUST                 MIAMI                    FL
6640   1FATP8FF2K5182251   Ford         MUST                 SOUTHEAST DST OFFC       OK
6641   1FATP8FF2K5182265   Ford         MUST                 ORLANDO                  FL
6642   1FATP8FF2K5182282   Ford         MUST                 N. Palm Beach            FL
6643   1FATP8FF2K5182296   Ford         MUST                 CHEEKTOWAGA              NY
6644   1FATP8FF2K5182301   Ford         MUST                 NEWARK                   NJ
6645   1FATP8FF2K5182315   Ford         MUST                 BOISE                    US
6646   1FATP8FF2K5182329   Ford         MUST                 ONTARIO                  CA
6647   1FATP8FF2K5182332   Ford         MUST                 PALM S                   CA
6648   1FATP8FF2K5182377   Ford         MUST                 ORLANDO                  FL
6649   1FATP8FF2K5182380   Ford         MUST                 FORT MYERS               FL
6650   1FATP8FF2K5182900   Ford         MUST                 OMAHA                    NE
6651   1FATP8FF2K5182914   Ford         MUST                 CHARLESTON               WV
6652   1FATP8FF2K5182928   Ford         MUST                 DENVER                   CO
6653   1FATP8FF2K5182945   Ford         MUST                 DENVER                   CO
6654   1FATP8FF2L5111715   Ford         MUST                 DALLAS                   TX
6655   1FATP8FF2L5111729   Ford         MUST                 HOUSTON                  TX
6656   1FATP8FF2L5111732   Ford         MUST                 HOUSTON                  TX
6657   1FATP8FF2L5111956   Ford         MUST                 HOUSTON                  TX
6658   1FATP8FF2L5111987   Ford         MUST                 LOS ANGELES              CA
6659   1FATP8FF2L5111990   Ford         MUST                 LOS ANGELES              CA
6660   1FATP8FF2L5112007   Ford         MUST                 LAS VEGAS                NV
6661   1FATP8FF2L5112024   Ford         MUST                 FRESNO                   CA
6662   1FATP8FF2L5112427   Ford         MUST                 SAN DIEGO                CA
6663   1FATP8FF2L5112430   Ford         MUST                 DETROIT                  MI
6664   1FATP8FF2L5114405   Ford         MUST                 HOUSTON                  TX
6665   1FATP8FF2L5115232   Ford         MUST                 WICHITA FALLS            TX
6666   1FATP8FF2L5115277   Ford         MUST                 HOUSTON                  TX
6667   1FATP8FF2L5115280   Ford         MUST                 MIAMI                    FL
6668   1FATP8FF2L5118471   Ford         MUST                 Atlanta                  GA
6669   1FATP8FF2L5118535   Ford         MUST                 ALBUQERQUE               NM
6670   1FATP8FF2L5118552   Ford         MUST                 PHOENIX                  AZ
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6671   1FATP8FF2L5118566   Ford         MUST                 PHOENIX                  AZ
6672   1FATP8FF2L5118583   Ford         MUST                 SANTA ANA                CA
6673   1FATP8FF2L5118597   Ford         MUST                 LOS ANGELES              CA
6674   1FATP8FF2L5118602   Ford         MUST                 LAS VEGAS                NV
6675   1FATP8FF2L5118633   Ford         MUST                 SACRAMENTO               CA
6676   1FATP8FF2L5118793   Ford         MUST                 INGLEWOOD                CA
6677   1FATP8FF2L5119023   Ford         MUST                 DALLAS                   TX
6678   1FATP8FF2L5119443   Ford         MUST                 Atlanta                  GA
6679   1FATP8FF2L5119457   Ford         MUST                 CHATTANOOGA              TN
6680   1FATP8FF2L5120544   Ford         MUST                 ATLANTA                  GA
6681   1FATP8FF2L5120687   Ford         MUST                 KNOXVILLE                TN
6682   1FATP8FF2L5120690   Ford         MUST                 MONTGOMERY               AL
6683   1FATP8FF2L5125288   Ford         MUST                 Atlanta                  GA
6684   1FATP8FF2L5130989   Ford         MUST                 ORLANDO                  FL
6685   1FATP8FF2L5131060   Ford         MUST                 KNOXVILLE                TN
6686   1FATP8FF2L5131074   Ford         MUST                 KNOXVILLE                TN
6687   1FATP8FF2L5131091   Ford         MUST                 ORLANDO                  FL
6688   1FATP8FF2L5131298   Ford         MUST                 MEMPHIS                  TN
6689   1FATP8FF2L5136663   Ford         MUST                 Medford                  NY
6690   1FATP8FF2L5136677   Ford         MUST                 ATLANTA                  GA
6691   1FATP8FF3K5138372   Ford         MUST                 Torrance                 CA
6692   1FATP8FF3K5138386   Ford         MUST                 N. Palm Beach            FL
6693   1FATP8FF3K5138405   Ford         MUST                 FORT LAUDERDALE          FL
6694   1FATP8FF3K5138419   Ford         MUST                 ATLANTA                  GA
6695   1FATP8FF3K5138436   Ford         MUST                 MIDLAND                  TX
6696   1FATP8FF3K5138467   Ford         MUST                 NEW YORK CITY            NY
6697   1FATP8FF3K5138548   Ford         MUST                 Davie                    FL
6698   1FATP8FF3K5138579   Ford         MUST                 FORT MYERS               FL
6699   1FATP8FF3K5140459   Ford         MUST                 PHOENIX                  AZ
6700   1FATP8FF3K5150246   Ford         MUST                 MIAMI                    FL
6701   1FATP8FF3K5151073   Ford         MUST                 NEW YORK CITY            NY
6702   1FATP8FF3K5151087   Ford         MUST                 NEWARK                   NJ
6703   1FATP8FF3K5151106   Ford         MUST                 ORLANDO                  FL
6704   1FATP8FF3K5151123   Ford         MUST                 WEST PALM BEACH          FL
6705   1FATP8FF3K5171646   Ford         MUST                 Warminster               PA
6706   1FATP8FF3K5171663   Ford         MUST                 ATLANTA                  GA
6707   1FATP8FF3K5171825   Ford         MUST                 Las Vegas                NV
6708   1FATP8FF3K5171839   Ford         MUST                 Las Vegas                NV
6709   1FATP8FF3K5171887   Ford         MUST                 S. San Francisc          CA
6710   1FATP8FF3K5171954   Ford         MUST                 KNOXVILLE                TN
6711   1FATP8FF3K5171971   Ford         MUST                 Sarasota                 FL
6712   1FATP8FF3K5179634   Ford         MUST                 BALTIMORE                MD
6713   1FATP8FF3K5179648   Ford         MUST                 WEST PALM BEACH          FL
6714   1FATP8FF3K5179651   Ford         MUST                 FORT MYERS               FL
6715   1FATP8FF3K5182257   Ford         MUST                 COCOA                    FL
6716   1FATP8FF3K5182260   Ford         MUST                 WEST PALM BEACH          FL
6717   1FATP8FF3K5182274   Ford         MUST                 RALEIGH                  NC
6718   1FATP8FF3K5182288   Ford         MUST                 ALEXANDRIA               VA
6719   1FATP8FF3K5182307   Ford         MUST                 LAS VEGAS                NV
6720   1FATP8FF3K5182310   Ford         MUST                 DENVER                   CO
6721   1FATP8FF3K5182338   Ford         MUST                 SAN DIEGO                US
6722   1FATP8FF3K5182341   Ford         MUST                 Las Vegas                NV
6723   1FATP8FF3K5182369   Ford         MUST                 MIAMI                    FL
6724   1FATP8FF3K5182372   Ford         MUST                 MIAMI                    FL
6725   1FATP8FF3K5182386   Ford         MUST                 FORT LAUDERDALE          FL
6726   1FATP8FF3K5182887   Ford         MUST                 KINGSTON                 MA
6727   1FATP8FF3K5182890   Ford         MUST                 MIAMI                    FL
6728   1FATP8FF3K5182906   Ford         MUST                 CHICAGO                  IL
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6729   1FATP8FF3K5182923   Ford         MUST                 TAMPA                    US
6730   1FATP8FF3K5182940   Ford         MUST                 LAS VEGAS                NV
6731   1FATP8FF3L5111710   Ford         MUST                 Dallas                   TX
6732   1FATP8FF3L5111724   Ford         MUST                 Dallas                   TX
6733   1FATP8FF3L5111948   Ford         MUST                 AUSTIN                   TX
6734   1FATP8FF3L5111951   Ford         MUST                 MIDLAND                  TX
6735   1FATP8FF3L5111996   Ford         MUST                 INGLEWOOD                CA
6736   1FATP8FF3L5112002   Ford         MUST                 PALM SPRINGS             CA
6737   1FATP8FF3L5112016   Ford         MUST                 LAS VEGAS                NV
6738   1FATP8FF3L5112033   Ford         MUST                 LOS ANGELES              CA
6739   1FATP8FF3L5112419   Ford         MUST                 LOS ANGELES              CA
6740   1FATP8FF3L5112436   Ford         MUST                 SAN FRANCISCO            CA
6741   1FATP8FF3L5112453   Ford         MUST                 LAS VEGAS                NV
6742   1FATP8FF3L5115272   Ford         MUST                 HOUSTON                  TX
6743   1FATP8FF3L5118463   Ford         MUST                 WARWICK                  RI
6744   1FATP8FF3L5118527   Ford         MUST                 OAKLAND                  CA
6745   1FATP8FF3L5118530   Ford         MUST                 SANTA ANA                CA
6746   1FATP8FF3L5118544   Ford         MUST                 Los Angeles              CA
6747   1FATP8FF3L5118592   Ford         MUST                 ONTARIO                  CA
6748   1FATP8FF3L5118625   Ford         MUST                 LOS ANGELES              CA
6749   1FATP8FF3L5118804   Ford         MUST                 INGLEWOOD                CA
6750   1FATP8FF3L5119029   Ford         MUST                 SAN ANTONIO              TX
6751   1FATP8FF3L5119032   Ford         MUST                 AUSTIN                   TX
6752   1FATP8FF3L5119449   Ford         MUST                 BIRMINGHAM               AL
6753   1FATP8FF3L5120682   Ford         MUST                 KNOXVILLE                TN
6754   1FATP8FF3L5125297   Ford         MUST                 FORT LAUDERDALE          FL
6755   1FATP8FF3L5131004   Ford         MUST                 CHARLOTTE                NC
6756   1FATP8FF3L5131066   Ford         MUST                 KNOXVILLE                TN
6757   1FATP8FF3L5131097   Ford         MUST                 KENNER                   LA
6758   1FATP8FF4K5138235   Ford         MUST                 ATLANTA                  GA
6759   1FATP8FF4K5138316   Ford         MUST                 Stockton                 CA
6760   1FATP8FF4K5138395   Ford         MUST                 ORLANDO                  FL
6761   1FATP8FF4K5138414   Ford         MUST                 MIAMI                    FL
6762   1FATP8FF4K5138445   Ford         MUST                 ORLANDO                  FL
6763   1FATP8FF4K5138459   Ford         MUST                 DAYTONA BEACH            FL
6764   1FATP8FF4K5138462   Ford         MUST                 Winston‐Salem            NC
6765   1FATP8FF4K5138526   Ford         MUST                 SARASOTA                 FL
6766   1FATP8FF4K5138543   Ford         MUST                 ORLANDO                  FL
6767   1FATP8FF4K5138557   Ford         MUST                 DARLINGTON               SC
6768   1FATP8FF4K5140499   Ford         MUST                 Anaheim                  CA
6769   1FATP8FF4K5140521   Ford         MUST                 SARASOTA                 FL
6770   1FATP8FF4K5150210   Ford         MUST                 Roseville                CA
6771   1FATP8FF4K5150269   Ford         MUST                 FORT MYERS               FL
6772   1FATP8FF4K5151079   Ford         MUST                 TAMPA                    FL
6773   1FATP8FF4K5151082   Ford         MUST                 FORT LAUDERDALE          FL
6774   1FATP8FF4K5151115   Ford         MUST                 TAMPA                    FL
6775   1FATP8FF4K5151129   Ford         MUST                 KEY WEST                 FL
6776   1FATP8FF4K5151132   Ford         MUST                 Winter Park              FL
6777   1FATP8FF4K5171638   Ford         MUST                 Atlanta                  GA
6778   1FATP8FF4K5171655   Ford         MUST                 NEW BERN                 NC
6779   1FATP8FF4K5171736   Ford         MUST                 PITTSBURGH               PA
6780   1FATP8FF4K5171753   Ford         MUST                 BALTIMORE                MD
6781   1FATP8FF4K5171820   Ford         MUST                 Phoenix                  AZ
6782   1FATP8FF4K5171865   Ford         MUST                 OAKLAND                  CA
6783   1FATP8FF4K5171882   Ford         MUST                 Ventura                  CA
6784   1FATP8FF4K5171946   Ford         MUST                 NEW ORLEANS              LA
6785   1FATP8FF4K5171963   Ford         MUST                 Torrance                 CA
6786   1FATP8FF4K5179559   Ford         MUST                 PHILADELPHIA             PA
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6787   1FATP8FF4K5179626   Ford         MUST                 BLOOMINGTON              IL
6788   1FATP8FF4K5179643   Ford         MUST                 MIAMI                    FL
6789   1FATP8FF4K5182249   Ford         MUST                 TAMPA                    FL
6790   1FATP8FF4K5182252   Ford         MUST                 PENSACOLA                FL
6791   1FATP8FF4K5182266   Ford         MUST                 Stone Mountain           GA
6792   1FATP8FF4K5182283   Ford         MUST                 BALTIMORE                MD
6793   1FATP8FF4K5182316   Ford         MUST                 S. San Francisc          CA
6794   1FATP8FF4K5182333   Ford         MUST                 LAS VEGAS                NV
6795   1FATP8FF4K5182347   Ford         MUST                 LOS ANGELES AP           CA
6796   1FATP8FF4K5182350   Ford         MUST                 PHOENIX                  AZ
6797   1FATP8FF4K5182381   Ford         MUST                 PENSACOLA                FL
6798   1FATP8FF4K5182896   Ford         MUST                 GREENSBORO               NC
6799   1FATP8FF4K5182901   Ford         MUST                 LOS ANGELES              CA
6800   1FATP8FF4K5182932   Ford         MUST                 BURBANK                  CA
6801   1FATP8FF4K5182946   Ford         MUST                 Des Moines               IA
6802   1FATP8FF4L5111716   Ford         MUST                 DALLAS                   TX
6803   1FATP8FF4L5111943   Ford         MUST                 AUSTIN                   TX
6804   1FATP8FF4L5111988   Ford         MUST                 LAS VEGAS                NV
6805   1FATP8FF4L5111991   Ford         MUST                 SAN FRANCISCO            CA
6806   1FATP8FF4L5112008   Ford         MUST                 LAS VEGAS                NV
6807   1FATP8FF4L5112011   Ford         MUST                 SAN FRANCISCO            CA
6808   1FATP8FF4L5112025   Ford         MUST                 LAS VEGAS                NV
6809   1FATP8FF4L5112414   Ford         MUST                 Phoenix                  AZ
6810   1FATP8FF4L5112428   Ford         MUST                 PHOENIX                  AZ
6811   1FATP8FF4L5112431   Ford         MUST                 LAS VEGAS                NV
6812   1FATP8FF4L5112445   Ford         MUST                 PHOENIX                  AZ
6813   1FATP8FF4L5118469   Ford         MUST                 ATLANTA                  GA
6814   1FATP8FF4L5118472   Ford         MUST                 CHARLOTTE                US
6815   1FATP8FF4L5118536   Ford         MUST                 ORANGE COUNTY            CA
6816   1FATP8FF4L5118570   Ford         MUST                 INGLEWOOD                CA
6817   1FATP8FF4L5118584   Ford         MUST                 SAN FRANCISCO            CA
6818   1FATP8FF4L5118598   Ford         MUST                 PHOENIX                  AZ
6819   1FATP8FF4L5118620   Ford         MUST                 LAS VEGAS                NV
6820   1FATP8FF4L5119041   Ford         MUST                 HOUSTON                  TX
6821   1FATP8FF4L5119444   Ford         MUST                 Atlanta                  GA
6822   1FATP8FF4L5120545   Ford         MUST                 KNOXVILLE                TN
6823   1FATP8FF4L5120688   Ford         MUST                 KNOXVILLE                TN
6824   1FATP8FF4L5120691   Ford         MUST                 KNOXVILLE                TN
6825   1FATP8FF4L5131075   Ford         MUST                 BIRMINGHAM               AL
6826   1FATP8FF4L5131089   Ford         MUST                 KENNER                   LA
6827   1FATP8FF4L5131092   Ford         MUST                 CHARLOTTE                NC
6828   1FATP8FF4L5131299   Ford         MUST                 KNOXVILLE                TN
6829   1FATP8FF4L5135921   Ford         MUST                 HARLEYVILLE              SC
6830   1FATP8FF5K5138244   Ford         MUST                 CHATTANOOGA              TN
6831   1FATP8FF5K5138258   Ford         MUST                 ORLANDO                  FL
6832   1FATP8FF5K5138387   Ford         MUST                 ORLANDO                  FL
6833   1FATP8FF5K5138423   Ford         MUST                 Miami                    FL
6834   1FATP8FF5K5138468   Ford         MUST                 RICHMOND                 VA
6835   1FATP8FF5K5138471   Ford         MUST                 SARASOTA                 FL
6836   1FATP8FF5K5138583   Ford         MUST                 FORT LAUDERDALE          FL
6837   1FATP8FF5K5140396   Ford         MUST                 San Diego                CA
6838   1FATP8FF5K5140415   Ford         MUST                 FORT LAUDERDALE          FL
6839   1FATP8FF5K5140480   Ford         MUST                 Jacksonville             FL
6840   1FATP8FF5K5140513   Ford         MUST                 MIAMI                    FL
6841   1FATP8FF5K5150216   Ford         MUST                 Massapequa               NY
6842   1FATP8FF5K5150247   Ford         MUST                 WEST PALM BEACH          FL
6843   1FATP8FF5K5150250   Ford         MUST                 MIAMI                    FL
6844   1FATP8FF5K5150264   Ford         MUST                 MIAMI                    FL
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6845   1FATP8FF5K5151074   Ford         MUST                 TAMPA                    FL
6846   1FATP8FF5K5151088   Ford         MUST                 JACKSONVILLE             FL
6847   1FATP8FF5K5151124   Ford         MUST                 MIAMI                    FL
6848   1FATP8FF5K5171647   Ford         MUST                 COLLEGE PARK             GA
6849   1FATP8FF5K5171650   Ford         MUST                 MIAMI                    FL
6850   1FATP8FF5K5171664   Ford         MUST                 MIAMI                    FL
6851   1FATP8FF5K5171681   Ford         MUST                 Riverside                CA
6852   1FATP8FF5K5171695   Ford         MUST                 DFW AIRPORT              TX
6853   1FATP8FF5K5171700   Ford         MUST                 AUSTIN                   TX
6854   1FATP8FF5K5171826   Ford         MUST                 Ventura                  CA
6855   1FATP8FF5K5171843   Ford         MUST                 LAS VEGAS                NV
6856   1FATP8FF5K5171874   Ford         MUST                 SEATTLE                  WA
6857   1FATP8FF5K5171969   Ford         MUST                 PENSACOLA                FL
6858   1FATP8FF5K5171972   Ford         MUST                 ORLANDO                  FL
6859   1FATP8FF5K5179635   Ford         MUST                 Pasadena                 CA
6860   1FATP8FF5K5179652   Ford         MUST                 RICHMOND                 VA
6861   1FATP8FF5K5182132   Ford         MUST                 HOUSTON                  TX
6862   1FATP8FF5K5182258   Ford         MUST                 Chicago                  IL
6863   1FATP8FF5K5182261   Ford         MUST                 RALEIGH                  NC
6864   1FATP8FF5K5182275   Ford         MUST                 Warminster               PA
6865   1FATP8FF5K5182289   Ford         MUST                 FORT MYERS               FL
6866   1FATP8FF5K5182292   Ford         MUST                 LAS VEGAS                NV
6867   1FATP8FF5K5182311   Ford         MUST                 NEW YORK CITY            NY
6868   1FATP8FF5K5182342   Ford         MUST                 LAS VEGAS                NV
6869   1FATP8FF5K5182356   Ford         MUST                 LOS ANGELES              CA
6870   1FATP8FF5K5182373   Ford         MUST                 BALTIMORE                MD
6871   1FATP8FF5K5182387   Ford         MUST                 Leesburg                 VA
6872   1FATP8FF5K5182888   Ford         MUST                 DFW AIRPORT              TX
6873   1FATP8FF5K5182891   Ford         MUST                 WEST PALM BEACH          FL
6874   1FATP8FF5K5182907   Ford         MUST                 PHOENIX                  AZ
6875   1FATP8FF5K5182910   Ford         MUST                 PHOENIX                  AZ
6876   1FATP8FF5K5182924   Ford         MUST                 LAS VEGAS                NV
6877   1FATP8FF5K5182938   Ford         MUST                 LAS VEGAS                NV
6878   1FATP8FF5L5111725   Ford         MUST                 ATLANTA                  GA
6879   1FATP8FF5L5111949   Ford         MUST                 HOUSTON                  TX
6880   1FATP8FF5L5111997   Ford         MUST                 SAN DIEGO                CA
6881   1FATP8FF5L5112003   Ford         MUST                 CHARLOTTE                NC
6882   1FATP8FF5L5112017   Ford         MUST                 SAN FRANCISCO            CA
6883   1FATP8FF5L5112020   Ford         MUST                 LAS VEGAS                NV
6884   1FATP8FF5L5112034   Ford         MUST                 LAS VEGAS                NV
6885   1FATP8FF5L5112437   Ford         MUST                 TUCSON                   AZ
6886   1FATP8FF5L5112440   Ford         MUST                 Phoenix                  AZ
6887   1FATP8FF5L5112454   Ford         MUST                 PHOENIX                  AZ
6888   1FATP8FF5L5115225   Ford         MUST                 PHOENIX                  AZ
6889   1FATP8FF5L5115239   Ford         MUST                 NEW ORLEANS              LA
6890   1FATP8FF5L5115242   Ford         MUST                 DALLAS                   TX
6891   1FATP8FF5L5115273   Ford         MUST                 ATLANTA                  GA
6892   1FATP8FF5L5118464   Ford         MUST                 ATLANTA                  GA
6893   1FATP8FF5L5118528   Ford         MUST                 LAS VEGAS                NV
6894   1FATP8FF5L5118531   Ford         MUST                 LAS VEGAS                NV
6895   1FATP8FF5L5118545   Ford         MUST                 SAN JOSE                 CA
6896   1FATP8FF5L5118562   Ford         MUST                 LAS VEGAS                NV
6897   1FATP8FF5L5118576   Ford         MUST                 SAN DIEGO                CA
6898   1FATP8FF5L5118593   Ford         MUST                 LOS ANGELES              CA
6899   1FATP8FF5L5118626   Ford         MUST                 SACRAMENTO               CA
6900   1FATP8FF5L5118805   Ford         MUST                 SAN JOSE                 CA
6901   1FATP8FF5L5119033   Ford         MUST                 AUSTIN                   TX
6902   1FATP8FF5L5119047   Ford         MUST                 Tulsa                    OK
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6903   1FATP8FF5L5119453   Ford         MUST                 FORT LAUDERDALE          FL
6904   1FATP8FF5L5120683   Ford         MUST                 ATLANTA                  GA
6905   1FATP8FF5L5130999   Ford         MUST                 BIRMINGHAM               AL
6906   1FATP8FF5L5131067   Ford         MUST                 CHICAGO                  IL
6907   1FATP8FF5L5131084   Ford         MUST                 NEW ORLEANS              LA
6908   1FATP8FF5L5131120   Ford         MUST                 Atlanta                  GA
6909   1FATP8FF5L5135927   Ford         MUST                 Atlanta                  GA
6910   1FATP8FF6J5132421   Ford         MUST                 HILO                     HI
6911   1FATP8FF6K5138253   Ford         MUST                 Hialeah                  FL
6912   1FATP8FF6K5138320   Ford         MUST                 Norwalk                  CA
6913   1FATP8FF6K5138365   Ford         MUST                 FORT MYERS               FL
6914   1FATP8FF6K5138396   Ford         MUST                 MIAMI                    FL
6915   1FATP8FF6K5138401   Ford         MUST                 ATLANTA                  GA
6916   1FATP8FF6K5138415   Ford         MUST                 FORT MYERS               FL
6917   1FATP8FF6K5138432   Ford         MUST                 Sarasota                 FL
6918   1FATP8FF6K5138446   Ford         MUST                 ORLANDO                  FL
6919   1FATP8FF6K5138463   Ford         MUST                 DENVER                   CO
6920   1FATP8FF6K5138527   Ford         MUST                 NEW ORLEANS              LA
6921   1FATP8FF6K5138561   Ford         MUST                 GRAND RAPIDS             MI
6922   1FATP8FF6K5140424   Ford         MUST                 FORT LAUDERDALE          FL
6923   1FATP8FF6K5140455   Ford         MUST                 TAMPA                    US
6924   1FATP8FF6K5140472   Ford         MUST                 ORLANDO                  FL
6925   1FATP8FF6K5140486   Ford         MUST                 Fresno                   CA
6926   1FATP8FF6K5140505   Ford         MUST                 DANIA BEACH              FL
6927   1FATP8FF6K5150208   Ford         MUST                 Hialeah                  FL
6928   1FATP8FF6K5150225   Ford         MUST                 Hialeah                  FL
6929   1FATP8FF6K5150239   Ford         MUST                 MIAMI                    FL
6930   1FATP8FF6K5171639   Ford         MUST                 Austell                  GA
6931   1FATP8FF6K5171656   Ford         MUST                 NORFOLK                  VA
6932   1FATP8FF6K5171687   Ford         MUST                 DALLAS                   TX
6933   1FATP8FF6K5171737   Ford         MUST                 HOUSTON                  TX
6934   1FATP8FF6K5171740   Ford         MUST                 DALLAS                   TX
6935   1FATP8FF6K5171754   Ford         MUST                 DALLAS                   TX
6936   1FATP8FF6K5171821   Ford         MUST                 SEATTLE                  WA
6937   1FATP8FF6K5171835   Ford         MUST                 Sacramento               CA
6938   1FATP8FF6K5171866   Ford         MUST                 Torrance                 CA
6939   1FATP8FF6K5171950   Ford         MUST                 LOUISVILLE               KY
6940   1FATP8FF6K5171981   Ford         MUST                 Lynn                     MA
6941   1FATP8FF6K5179627   Ford         MUST                 BIRMINGHAM               AL
6942   1FATP8FF6K5179630   Ford         MUST                 KNOXVILLE                TN
6943   1FATP8FF6K5179644   Ford         MUST                 PHILADELPHIA             US
6944   1FATP8FF6K5182141   Ford         MUST                 LOS ANGELES              CA
6945   1FATP8FF6K5182253   Ford         MUST                 BALTIMORE                MD
6946   1FATP8FF6K5182267   Ford         MUST                 BALTIMORE                MD
6947   1FATP8FF6K5182270   Ford         MUST                 NEWARK                   NJ
6948   1FATP8FF6K5182284   Ford         MUST                 RALEIGH                  NC
6949   1FATP8FF6K5182298   Ford         MUST                 Fresno                   CA
6950   1FATP8FF6K5182303   Ford         MUST                 Norwalk                  CA
6951   1FATP8FF6K5182317   Ford         MUST                 seatac                   wa
6952   1FATP8FF6K5182334   Ford         MUST                 SAN FRANCISCO            CA
6953   1FATP8FF6K5182348   Ford         MUST                 LAS VEGAS                NV
6954   1FATP8FF6K5182351   Ford         MUST                 SAN FRANCISCO            CA
6955   1FATP8FF6K5182379   Ford         MUST                 PHILADELPHIA             PA
6956   1FATP8FF6K5182382   Ford         MUST                 JAMAICA                  NY
6957   1FATP8FF6K5182897   Ford         MUST                 CHICAGO                  IL
6958   1FATP8FF6K5182902   Ford         MUST                 DENVER                   CO
6959   1FATP8FF6K5182916   Ford         MUST                 HOUSTON                  TX
6960   1FATP8FF6K5182933   Ford         MUST                 Stockton                 CA
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6961   1FATP8FF6K5182947   Ford         MUST                 PHOENIX                  AZ
6962   1FATP8FF6K5182950   Ford         MUST                 SALT LAKE CITY           US
6963   1FATP8FF6L5111717   Ford         MUST                 LUBBOCK                  TX
6964   1FATP8FF6L5111720   Ford         MUST                 HOUSTON                  TX
6965   1FATP8FF6L5111734   Ford         MUST                 ALBUQERQUE               NM
6966   1FATP8FF6L5111989   Ford         MUST                 Hayward                  CA
6967   1FATP8FF6L5111992   Ford         MUST                 LAS VEGAS                NV
6968   1FATP8FF6L5112009   Ford         MUST                 LAS VEGAS                NV
6969   1FATP8FF6L5112012   Ford         MUST                 LAS VEGAS                NV
6970   1FATP8FF6L5112026   Ford         MUST                 LAS VEGAS                NV
6971   1FATP8FF6L5112415   Ford         MUST                 LAS VEGAS                NV
6972   1FATP8FF6L5112429   Ford         MUST                 TUCSON                   AZ
6973   1FATP8FF6L5112432   Ford         MUST                 Phoenix                  AZ
6974   1FATP8FF6L5115279   Ford         MUST                 KENNER                   LA
6975   1FATP8FF6L5118473   Ford         MUST                 ATLANTA                  GA
6976   1FATP8FF6L5118537   Ford         MUST                 ONTARIO                  CA
6977   1FATP8FF6L5118540   Ford         MUST                 OAKLAND                  CA
6978   1FATP8FF6L5118554   Ford         MUST                 PHOENIX                  AZ
6979   1FATP8FF6L5118568   Ford         MUST                 INGLEWOOD                CA
6980   1FATP8FF6L5118599   Ford         MUST                 LOS ANGELES              CA
6981   1FATP8FF6L5118604   Ford         MUST                 INGLEWOOD                CA
6982   1FATP8FF6L5118635   Ford         MUST                 ONTARIO                  CA
6983   1FATP8FF6L5118795   Ford         MUST                 SAN FRANCISCO            CA
6984   1FATP8FF6L5118800   Ford         MUST                 SAN JOSE                 CA
6985   1FATP8FF6L5119445   Ford         MUST                 Atlanta                  GA
6986   1FATP8FF6L5120546   Ford         MUST                 KNOXVILLE                TN
6987   1FATP8FF6L5120689   Ford         MUST                 KNOXVILLE                TN
6988   1FATP8FF6L5120692   Ford         MUST                 KNOXVILLE                TN
6989   1FATP8FF6L5125293   Ford         MUST                 ORLANDO                  FL
6990   1FATP8FF6L5131014   Ford         MUST                 KENNER                   LA
6991   1FATP8FF6L5131059   Ford         MUST                 NASHVILLE                TN
6992   1FATP8FF6L5131062   Ford         MUST                 BIRMINGHAN               AL
6993   1FATP8FF6L5131076   Ford         MUST                 NEW ORLEANS              LA
6994   1FATP8FF6L5131093   Ford         MUST                 SAVANNAH                 GA
6995   1FATP8FF6L5131255   Ford         MUST                 HOUSTON                  TX
6996   1FATP8FF6L5131305   Ford         MUST                 MEBANE                   NC
6997   1FATP8FF6L5136701   Ford         MUST                 HILLSBOROUGH             NJ
6998   1FATP8FF7K5138245   Ford         MUST                 FAYETTEVILLE             US
6999   1FATP8FF7K5138259   Ford         MUST                 BIRMINGHAN               AL
7000   1FATP8FF7K5138312   Ford         MUST                 Pasadena                 CA
7001   1FATP8FF7K5138343   Ford         MUST                 Miami                    FL
7002   1FATP8FF7K5138360   Ford         MUST                 Tampa                    FL
7003   1FATP8FF7K5138438   Ford         MUST                 Atlanta                  GA
7004   1FATP8FF7K5138441   Ford         MUST                 DAYTONA BEACH            FL
7005   1FATP8FF7K5138455   Ford         MUST                 Hapeville                GA
7006   1FATP8FF7K5138469   Ford         MUST                 FORT MYERS               FL
7007   1FATP8FF7K5138570   Ford         MUST                 Davie                    FL
7008   1FATP8FF7K5140349   Ford         MUST                 ORLANDO                  FL
7009   1FATP8FF7K5140397   Ford         MUST                 Sarasota                 FL
7010   1FATP8FF7K5140402   Ford         MUST                 SAN DIEGO                CA
7011   1FATP8FF7K5140464   Ford         MUST                 TAMPA                    FL
7012   1FATP8FF7K5150203   Ford         MUST                 DANIA                    FL
7013   1FATP8FF7K5150217   Ford         MUST                 FORT MYERS               FL
7014   1FATP8FF7K5150265   Ford         MUST                 WEST PALM BEACH          FL
7015   1FATP8FF7K5151061   Ford         MUST                 ORLANDO                  FL
7016   1FATP8FF7K5151089   Ford         MUST                 FORT MYERS               FL
7017   1FATP8FF7K5151092   Ford         MUST                 MIAMI                    FL
7018   1FATP8FF7K5151125   Ford         MUST                 ORLANDO                  FL
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7019   1FATP8FF7K5171648   Ford         MUST                 COLUMBIA                 SC
7020   1FATP8FF7K5171665   Ford         MUST                 SAVANNAH                 GA
7021   1FATP8FF7K5171679   Ford         MUST                 SHREVEPORT               LA
7022   1FATP8FF7K5171696   Ford         MUST                 Detroit                  MI
7023   1FATP8FF7K5171861   Ford         MUST                 LAS VEGAS                NV
7024   1FATP8FF7K5171875   Ford         MUST                 SANTA BARBARA            CA
7025   1FATP8FF7K5171889   Ford         MUST                 Norwalk                  CA
7026   1FATP8FF7K5171956   Ford         MUST                 DANIA BEACH              FL
7027   1FATP8FF7K5179653   Ford         MUST                 ROANOKE                  VA
7028   1FATP8FF7K5182262   Ford         MUST                 LOUISVILLE               KY
7029   1FATP8FF7K5182276   Ford         MUST                 PENSACOLA                FL
7030   1FATP8FF7K5182309   Ford         MUST                 OAKLAND                  CA
7031   1FATP8FF7K5182312   Ford         MUST                 Atlanta                  GA
7032   1FATP8FF7K5182326   Ford         MUST                 LAS VEGAS                NV
7033   1FATP8FF7K5182343   Ford         MUST                 Ventura                  CA
7034   1FATP8FF7K5182357   Ford         MUST                 Fontana                  CA
7035   1FATP8FF7K5182374   Ford         MUST                 STERLING                 VA
7036   1FATP8FF7K5182889   Ford         MUST                 BIRMINGHAM               AL
7037   1FATP8FF7K5182908   Ford         MUST                 LOS ANGELES              CA
7038   1FATP8FF7K5182911   Ford         MUST                 FORT MYERS               FL
7039   1FATP8FF7K5182939   Ford         MUST                 PHOENIX                  AZ
7040   1FATP8FF7K5182942   Ford         MUST                 Statesville              NC
7041   1FATP8FF7K5182990   Ford         MUST                 NORFOLK                  VA
7042   1FATP8FF7L5111712   Ford         MUST                 HOUSTON                  TX
7043   1FATP8FF7L5111726   Ford         MUST                 Dallas                   TX
7044   1FATP8FF7L5111953   Ford         MUST                 DALLAS                   TX
7045   1FATP8FF7L5111998   Ford         MUST                 BURBANK                  CA
7046   1FATP8FF7L5112004   Ford         MUST                 RENO                     NV
7047   1FATP8FF7L5112018   Ford         MUST                 PHOENIX                  AZ
7048   1FATP8FF7L5112021   Ford         MUST                 BURBANK                  CA
7049   1FATP8FF7L5112410   Ford         MUST                 PHOENIX                  AZ
7050   1FATP8FF7L5112424   Ford         MUST                 LAS VEGAS                NV
7051   1FATP8FF7L5112441   Ford         MUST                 LAS VEGAS                NV
7052   1FATP8FF7L5112455   Ford         MUST                 LOS ANGELES              CA
7053   1FATP8FF7L5115226   Ford         MUST                 KANSAS CITY              MO
7054   1FATP8FF7L5115243   Ford         MUST                 DALLAS                   TX
7055   1FATP8FF7L5115274   Ford         MUST                 HOUSTON                  TX
7056   1FATP8FF7L5118465   Ford         MUST                 ATLANTA                  GA
7057   1FATP8FF7L5118529   Ford         MUST                 LOS ANGELES              CA
7058   1FATP8FF7L5118563   Ford         MUST                 LAS VEGAS                NV
7059   1FATP8FF7L5118577   Ford         MUST                 SAN FRANCISCO            CA
7060   1FATP8FF7L5118580   Ford         MUST                 PALM SPRINGS             CA
7061   1FATP8FF7L5118613   Ford         MUST                 WILMINGTON               CA
7062   1FATP8FF7L5118630   Ford         MUST                 LOS ANGELES AP           CA
7063   1FATP8FF7L5119048   Ford         MUST                 SAN ANTONIO              TX
7064   1FATP8FF7L5119051   Ford         MUST                 HOUSTON                  TX
7065   1FATP8FF7L5119440   Ford         MUST                 MOBILE                   A
7066   1FATP8FF7L5120684   Ford         MUST                 FAYETTEVILLE             GA
7067   1FATP8FF7L5125299   Ford         MUST                 ORLANDO                  FL
7068   1FATP8FF7L5131068   Ford         MUST                 ATLANTA                  GA
7069   1FATP8FF7L5131085   Ford         MUST                 Atlanta                  GA
7070   1FATP8FF7L5131121   Ford         MUST                 CLEVELAND                OH
7071   1FATP8FF7L5136674   Ford         MUST                 JAMAICA                  NY
7072   1FATP8FF8J5132419   Ford         MUST                 HILO                     HI
7073   1FATP8FF8J5132422   Ford         MUST                 HILO                     HI
7074   1FATP8FF8K5138237   Ford         MUST                 MIAMI                    FL
7075   1FATP8FF8K5138304   Ford         MUST                 LAS VEGAS                NV
7076   1FATP8FF8K5138433   Ford         MUST                 TAMPA                    FL
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7077   1FATP8FF8K5140456   Ford         MUST                 WEST PALM BEACH          FL
7078   1FATP8FF8K5140473   Ford         MUST                 MIAMI                    FL
7079   1FATP8FF8K5140523   Ford         MUST                 MIAMI                    FL
7080   1FATP8FF8K5150209   Ford         MUST                 Davie                    FL
7081   1FATP8FF8K5150212   Ford         MUST                 WEST PALM BEACH          FL
7082   1FATP8FF8K5150226   Ford         MUST                 WEST PALM BEACH          FL
7083   1FATP8FF8K5150257   Ford         MUST                 FORT MYERS               FL
7084   1FATP8FF8K5151067   Ford         MUST                 FORT LAUDERDALE          FL
7085   1FATP8FF8K5151070   Ford         MUST                 FORT MYERS               FL
7086   1FATP8FF8K5151098   Ford         MUST                 ATLANTA                  GA
7087   1FATP8FF8K5151117   Ford         MUST                 MIAMI                    FL
7088   1FATP8FF8K5151120   Ford         MUST                 ORLANDO                  FL
7089   1FATP8FF8K5171643   Ford         MUST                 FORT LAUDERDALE          FL
7090   1FATP8FF8K5171688   Ford         MUST                 KNOXVILLE                TN
7091   1FATP8FF8K5171691   Ford         MUST                 HOUSTON                  TX
7092   1FATP8FF8K5171948   Ford         MUST                 Miami                    FL
7093   1FATP8FF8K5171951   Ford         MUST                 Kansas City              MO
7094   1FATP8FF8K5171979   Ford         MUST                 BIRMINGHAN               AL
7095   1FATP8FF8K5179628   Ford         MUST                 CHARLOTTE                NC
7096   1FATP8FF8K5179631   Ford         MUST                 BALTIMORE                MD
7097   1FATP8FF8K5179645   Ford         MUST                 TAMPA                    US
7098   1FATP8FF8K5182139   Ford         MUST                 Las Vegas                NV
7099   1FATP8FF8K5182142   Ford         MUST                 LAS VEGAS                NV
7100   1FATP8FF8K5182254   Ford         MUST                 RALEIGH                  NC
7101   1FATP8FF8K5182271   Ford         MUST                 ORLANDO                  FL
7102   1FATP8FF8K5182299   Ford         MUST                 SAINT PAUL               MN
7103   1FATP8FF8K5182318   Ford         MUST                 SAN JOSE                 CA
7104   1FATP8FF8K5182321   Ford         MUST                 PORTLAND                 OR
7105   1FATP8FF8K5182335   Ford         MUST                 SANTA ANA                CA
7106   1FATP8FF8K5182349   Ford         MUST                 Tolleson                 AZ
7107   1FATP8FF8K5182352   Ford         MUST                 HOUSTON                  TX
7108   1FATP8FF8K5182366   Ford         MUST                 NEW BERN                 NC
7109   1FATP8FF8K5182383   Ford         MUST                 HARTFORD                 CT
7110   1FATP8FF8K5182898   Ford         MUST                 DENVER                   CO
7111   1FATP8FF8K5182903   Ford         MUST                 ELMHURST                 IL
7112   1FATP8FF8K5182917   Ford         MUST                 PHOENIX                  AZ
7113   1FATP8FF8K5182920   Ford         MUST                 BURBANK                  CA
7114   1FATP8FF8K5182948   Ford         MUST                 Irving                   TX
7115   1FATP8FF8K5182951   Ford         MUST                 PHOENIX                  AZ
7116   1FATP8FF8L5111718   Ford         MUST                 Dallas                   TX
7117   1FATP8FF8L5111721   Ford         MUST                 DALLAS                   TX
7118   1FATP8FF8L5111735   Ford         MUST                 AUSTIN                   TX
7119   1FATP8FF8L5111945   Ford         MUST                 CHARLOTTE                NC
7120   1FATP8FF8L5112013   Ford         MUST                 SAN DIEGO                CA
7121   1FATP8FF8L5112027   Ford         MUST                 SANTA ANA                CA
7122   1FATP8FF8L5112030   Ford         MUST                 LAS VEGAS                NV
7123   1FATP8FF8L5112433   Ford         MUST                 PORTLAND                 OR
7124   1FATP8FF8L5112450   Ford         MUST                 Pheonix                  AZ
7125   1FATP8FF8L5115235   Ford         MUST                 FORT LAUDERDALE          FL
7126   1FATP8FF8L5118541   Ford         MUST                 LA HABRA                 CA
7127   1FATP8FF8L5118555   Ford         MUST                 LAS VEGAS                NV
7128   1FATP8FF8L5118572   Ford         MUST                 PHOENIX                  AZ
7129   1FATP8FF8L5118586   Ford         MUST                 SAN FRANCISCO            CA
7130   1FATP8FF8L5118605   Ford         MUST                 Scottsdale               AZ
7131   1FATP8FF8L5118622   Ford         MUST                 STERLING                 US
7132   1FATP8FF8L5118636   Ford         MUST                 LOS ANGELES              CA
7133   1FATP8FF8L5119026   Ford         MUST                 SAN ANTONIO              TX
7134   1FATP8FF8L5119043   Ford         MUST                 AMARILLO                 US
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7135   1FATP8FF8L5120547   Ford         MUST                 BIRMINGHAM               AL
7136   1FATP8FF8L5131001   Ford         MUST                 TAMPA                    FL
7137   1FATP8FF8L5131063   Ford         MUST                 ORLANDO                  FL
7138   1FATP8FF8L5131077   Ford         MUST                 NEW ORLEANS              LA
7139   1FATP8FF8L5131080   Ford         MUST                 JACKSONVILLE             FL
7140   1FATP8FF8L5136702   Ford         MUST                 NEWARK                   NY
7141   1FATP8FF9K5138246   Ford         MUST                 Sterling                 VA
7142   1FATP8FF9K5138344   Ford         MUST                 CLEVELAND                OH
7143   1FATP8FF9K5138358   Ford         MUST                 ORLANDO                  FL
7144   1FATP8FF9K5138375   Ford         MUST                 DAYTONA BEACH            FL
7145   1FATP8FF9K5138392   Ford         MUST                 TAMPA                    FL
7146   1FATP8FF9K5138408   Ford         MUST                 MIAMI                    FL
7147   1FATP8FF9K5138442   Ford         MUST                 PHOENIX                  AZ
7148   1FATP8FF9K5138540   Ford         MUST                 FORT LAUDERDALE          FL
7149   1FATP8FF9K5138568   Ford         MUST                 FORT LAUDERDALE          FL
7150   1FATP8FF9K5138571   Ford         MUST                 Sarasota                 FL
7151   1FATP8FF9K5140420   Ford         MUST                 ORLANDO                  FL
7152   1FATP8FF9K5140451   Ford         MUST                 Charleston               SC
7153   1FATP8FF9K5140515   Ford         MUST                 FORT MYERS               FL
7154   1FATP8FF9K5150221   Ford         MUST                 MIAMI                    FL
7155   1FATP8FF9K5150249   Ford         MUST                 Davie                    FL
7156   1FATP8FF9K5151062   Ford         MUST                 WEST PALM BEACH          FL
7157   1FATP8FF9K5151076   Ford         MUST                 MIAMI                    FL
7158   1FATP8FF9K5151109   Ford         MUST                 FORT LAUDERDALE          FL
7159   1FATP8FF9K5151126   Ford         MUST                 MARIETTA                 GA
7160   1FATP8FF9K5171649   Ford         MUST                 CHARLOTTE                NC
7161   1FATP8FF9K5171666   Ford         MUST                 MYRTLE BEACH             SC
7162   1FATP8FF9K5171697   Ford         MUST                 GREENSBORO               NC
7163   1FATP8FF9K5171747   Ford         MUST                 HOUSTON                  TX
7164   1FATP8FF9K5171750   Ford         MUST                 Live Oak                 TX
7165   1FATP8FF9K5171828   Ford         MUST                 Anaheim                  CA
7166   1FATP8FF9K5171831   Ford         MUST                 SANTA ANA                CA
7167   1FATP8FF9K5171974   Ford         MUST                 ALBUQUERQUE              NM
7168   1FATP8FF9K5179623   Ford         MUST                 ORLANDO                  FL
7169   1FATP8FF9K5179637   Ford         MUST                 MEBANE                   NC
7170   1FATP8FF9K5179654   Ford         MUST                 TAMPA                    FL
7171   1FATP8FF9K5182134   Ford         MUST                 BIRMINGHAM               AL
7172   1FATP8FF9K5182263   Ford         MUST                 SOUTHEAST DST OFFC       OK
7173   1FATP8FF9K5182280   Ford         MUST                 FORT MYERS               FL
7174   1FATP8FF9K5182313   Ford         MUST                 Fontana                  CA
7175   1FATP8FF9K5182327   Ford         MUST                 LAS VEGAS                NV
7176   1FATP8FF9K5182330   Ford         MUST                 SAN DIEGO                CA
7177   1FATP8FF9K5182358   Ford         MUST                 LAS VEGAS                NV
7178   1FATP8FF9K5182375   Ford         MUST                 ATLANTA                  GA
7179   1FATP8FF9K5182893   Ford         MUST                 Clearwater               FL
7180   1FATP8FF9K5182909   Ford         MUST                 LAS VEGAS                NV
7181   1FATP8FF9K5182912   Ford         MUST                 SAN DIEGO                US
7182   1FATP8FF9K5182926   Ford         MUST                 PHOENIX                  AZ
7183   1FATP8FF9K5182943   Ford         MUST                 LAS VEGAS                NV
7184   1FATP8FF9K5182988   Ford         MUST                 LAS VEGAS                NV
7185   1FATP8FF9L5111713   Ford         MUST                 KENNER                   LA
7186   1FATP8FF9L5111727   Ford         MUST                 AUSTIN                   TX
7187   1FATP8FF9L5111730   Ford         MUST                 AUSTIN                   TX
7188   1FATP8FF9L5111954   Ford         MUST                 KENNER                   LA
7189   1FATP8FF9L5111999   Ford         MUST                 LAS VEGAS                NV
7190   1FATP8FF9L5112005   Ford         MUST                 INGLEWOOD                CA
7191   1FATP8FF9L5112022   Ford         MUST                 LOS ANGELES              CA
7192   1FATP8FF9L5112036   Ford         MUST                 PALM SPRINGS             CA
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7193   1FATP8FF9L5112411   Ford         MUST                 PHOENIX                  AZ
7194   1FATP8FF9L5112425   Ford         MUST                 PHOENIX                  AZ
7195   1FATP8FF9L5112439   Ford         MUST                 PHOENIX                  AZ
7196   1FATP8FF9L5112442   Ford         MUST                 PHOENIX                  AZ
7197   1FATP8FF9L5112456   Ford         MUST                 PHOENIX                  AZ
7198   1FATP8FF9L5115227   Ford         MUST                 FORT LAUDERDALE          FL
7199   1FATP8FF9L5115230   Ford         MUST                 SAN DIEGO                CA
7200   1FATP8FF9L5115244   Ford         MUST                 HOUSTON                  TX
7201   1FATP8FF9L5115275   Ford         MUST                 HOUSTON                  TX
7202   1FATP8FF9L5118466   Ford         MUST                 ATLANTA                  GA
7203   1FATP8FF9L5118550   Ford         MUST                 LAS VEGAS                NV
7204   1FATP8FF9L5118564   Ford         MUST                 INGLEWOOD                CA
7205   1FATP8FF9L5118578   Ford         MUST                 LOS ANGELES AP           CA
7206   1FATP8FF9L5118581   Ford         MUST                 LOS ANGELES              CA
7207   1FATP8FF9L5118600   Ford         MUST                 LAS VEGAS                NV
7208   1FATP8FF9L5118614   Ford         MUST                 LOS ANGELES              CA
7209   1FATP8FF9L5118628   Ford         MUST                 INGLEWOOD                CA
7210   1FATP8FF9L5118788   Ford         MUST                 SANTA ANA                CA
7211   1FATP8FF9L5118791   Ford         MUST                 FRESNO                   CA
7212   1FATP8FF9L5118807   Ford         MUST                 ONTARIO                  CA
7213   1FATP8FF9L5118810   Ford         MUST                 LOS ANGELES              CA
7214   1FATP8FF9L5119049   Ford         MUST                 AUSTIN                   TX
7215   1FATP8FF9L5119438   Ford         MUST                 PENSACOLA                FL
7216   1FATP8FF9L5119441   Ford         MUST                 ROSWELL                  GA
7217   1FATP8FF9L5119455   Ford         MUST                 ATLANTA                  GA
7218   1FATP8FF9L5120685   Ford         MUST                 KNOXVILLE                TN
7219   1FATP8FF9L5130987   Ford         MUST                 JACKSONVILLE             FL
7220   1FATP8FF9L5131069   Ford         MUST                 BIRMINGHAM               AL
7221   1FATP8FF9L5131072   Ford         MUST                 KNOXVILLE                TN
7222   1FATP8FF9L5131086   Ford         MUST                 KENNER                   LA
7223   1FATP8FF9L5143108   Ford         MUST                 CHATTANOOGA              TN
7224   1FATP8FFXJ5177314   Ford         MUST                 Tolleson                 AZ
7225   1FATP8FFXK5135744   Ford         MUST                 KEY WEST                 FL
7226   1FATP8FFXK5138238   Ford         MUST                 SAN FRANCISCO            CA
7227   1FATP8FFXK5138420   Ford         MUST                 TAMPA                    US
7228   1FATP8FFXK5138451   Ford         MUST                 FORT MYERS               FL
7229   1FATP8FFXK5138465   Ford         MUST                 ATLANTA                  GA
7230   1FATP8FFXK5138546   Ford         MUST                 CHARLESTON               WV
7231   1FATP8FFXK5138563   Ford         MUST                 Ocoee                    FL
7232   1FATP8FFXK5138580   Ford         MUST                 MIAMI                    FL
7233   1FATP8FFXK5140409   Ford         MUST                 Hayward                  CA
7234   1FATP8FFXK5140474   Ford         MUST                 Estero                   FL
7235   1FATP8FFXK5140507   Ford         MUST                 TAMPA                    FL
7236   1FATP8FFXK5140524   Ford         MUST                 West Palm Beach          FL
7237   1FATP8FFXK5150244   Ford         MUST                 Davie                    FL
7238   1FATP8FFXK5150258   Ford         MUST                 Orlando                  FL
7239   1FATP8FFXK5150261   Ford         MUST                 TAMPA                    US
7240   1FATP8FFXK5150275   Ford         MUST                 ORLANDO                  FL
7241   1FATP8FFXK5151068   Ford         MUST                 WEST PALM BEACH          FL
7242   1FATP8FFXK5151071   Ford         MUST                 JACKSONVILLE             FL
7243   1FATP8FFXK5151085   Ford         MUST                 MIAMI                    FL
7244   1FATP8FFXK5151099   Ford         MUST                 Pasadena                 CA
7245   1FATP8FFXK5151118   Ford         MUST                 DARLINGTON               SC
7246   1FATP8FFXK5171644   Ford         MUST                 PENSACOLA                FL
7247   1FATP8FFXK5171658   Ford         MUST                 Miami                    FL
7248   1FATP8FFXK5171689   Ford         MUST                 Las Vegas                NV
7249   1FATP8FFXK5171692   Ford         MUST                 Dallas                   TX
7250   1FATP8FFXK5171739   Ford         MUST                 SHREVEPORT               LA
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7251   1FATP8FFXK5171742   Ford         MUST                 Dallas                   TX
7252   1FATP8FFXK5171837   Ford         MUST                 OAKLAND                  CA
7253   1FATP8FFXK5171854   Ford         MUST                 SAN FRANCISCO            CA
7254   1FATP8FFXK5171868   Ford         MUST                 TRACY                    CA
7255   1FATP8FFXK5171871   Ford         MUST                 Sacramento               CA
7256   1FATP8FFXK5171949   Ford         MUST                 Harvey                   LA
7257   1FATP8FFXK5171952   Ford         MUST                 LOUISVILLE               KY
7258   1FATP8FFXK5171966   Ford         MUST                 KNOXVILLE                TN
7259   1FATP8FFXK5179629   Ford         MUST                 NEWARK                   NJ
7260   1FATP8FFXK5179646   Ford         MUST                 FORT LAUDERDALE          FL
7261   1FATP8FFXK5182143   Ford         MUST                 SANTA ANA                CA
7262   1FATP8FFXK5182272   Ford         MUST                 RONKONKOMA               NY
7263   1FATP8FFXK5182322   Ford         MUST                 Detroit                  MI
7264   1FATP8FFXK5182336   Ford         MUST                 SAN DIEGO                CA
7265   1FATP8FFXK5182353   Ford         MUST                 LAS VEGAS                NV
7266   1FATP8FFXK5182367   Ford         MUST                 TAMPA                    FL
7267   1FATP8FFXK5182370   Ford         MUST                 SARASOTA                 FL
7268   1FATP8FFXK5182384   Ford         MUST                 AUGUSTA                  GA
7269   1FATP8FFXK5182899   Ford         MUST                 Burien                   WA
7270   1FATP8FFXK5182904   Ford         MUST                 PHOENIX                  AZ
7271   1FATP8FFXK5182918   Ford         MUST                 INDIANAPOLIS             IN
7272   1FATP8FFXK5182921   Ford         MUST                 BOISE                    US
7273   1FATP8FFXK5182949   Ford         MUST                 PHOENIX                  AZ
7274   1FATP8FFXK5182952   Ford         MUST                 LOS ANGELES              CA
7275   1FATP8FFXL5111719   Ford         MUST                 DALLAS                   TX
7276   1FATP8FFXL5111722   Ford         MUST                 HOUSTON                  TX
7277   1FATP8FFXL5111736   Ford         MUST                 AUSTIN                   TX
7278   1FATP8FFXL5111946   Ford         MUST                 HOUSTON                  TX
7279   1FATP8FFXL5112000   Ford         MUST                 INGLEWOOD                CA
7280   1FATP8FFXL5112014   Ford         MUST                 PHOENIX                  AZ
7281   1FATP8FFXL5112028   Ford         MUST                 LAS VEGAS                NV
7282   1FATP8FFXL5112420   Ford         MUST                 PHOENIX                  AZ
7283   1FATP8FFXL5112434   Ford         MUST                 PHOENIX                  AZ
7284   1FATP8FFXL5112448   Ford         MUST                 TUCSON                   AZ
7285   1FATP8FFXL5115236   Ford         MUST                 DALLAS                   TX
7286   1FATP8FFXL5118525   Ford         MUST                 Reno                     NV
7287   1FATP8FFXL5118542   Ford         MUST                 LOS ANGELES              CA
7288   1FATP8FFXL5118556   Ford         MUST                 INGLEWOOD                CA
7289   1FATP8FFXL5118590   Ford         MUST                 N HOLLYWOOD              CA
7290   1FATP8FFXL5118606   Ford         MUST                 SAN JOSE                 CA
7291   1FATP8FFXL5118623   Ford         MUST                 SANTA ANA                CA
7292   1FATP8FFXL5118637   Ford         MUST                 LAS VEGAS                NV
7293   1FATP8FFXL5118797   Ford         MUST                 BURBANK                  CA
7294   1FATP8FFXL5118802   Ford         MUST                 LOS ANGELES              CA
7295   1FATP8FFXL5119030   Ford         MUST                 CORPUS CHRISTI           TX
7296   1FATP8FFXL5119450   Ford         MUST                 ATLANTA                  GA
7297   1FATP8FFXL5125295   Ford         MUST                 TAMPA                    FL
7298   1FATP8FFXL5125300   Ford         MUST                 TAMPA                    FL
7299   1FATP8FFXL5131002   Ford         MUST                 WEST COLUMBIA            SC
7300   1FATP8FFXL5131016   Ford         MUST                 TAMPA                    FL
7301   1FATP8FFXL5131064   Ford         MUST                 Miami                    FL
7302   1FATP8FFXL5131078   Ford         MUST                 KENNER                   LA
7303   1FATP8FFXL5131081   Ford         MUST                 Ft. Myers                FL
7304   1FATP8FFXL5131095   Ford         MUST                 PENSACOLA                FL
7305   1FATP8FFXL5131260   Ford         MUST                 MIAMI                    FL
7306   1FATP8UH0J5123959   Ford         MUST                 FORT MYERS               FL
7307   1FATP8UH0J5124030   Ford         MUST                 CHEEKTOWAGA              NY
7308   1FATP8UH0J5124058   Ford         MUST                 MIAMI                    FL
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7309   1FATP8UH0J5124061   Ford        MUST                 N. Palm Beach            FL
7310   1FATP8UH0J5155052   Ford        MUST                 BALTIMORE                MD
7311   1FATP8UH0J5176998   Ford        MUST                 ALBUQUERQUE              NM
7312   1FATP8UH0J5177021   Ford        MUST                 Atlanta                  GA
7313   1FATP8UH0K5135711   Ford        MUST                 SAINT LOUIS              MO
7314   1FATP8UH0K5135725   Ford        MUST                 SANTA ANA                CA
7315   1FATP8UH0K5135756   Ford        MUST                 SANTA ANA                CA
7316   1FATP8UH0K5138382   Ford        MUST                 Ventura                  CA
7317   1FATP8UH0K5138480   Ford        MUST                 Anaheim                  CA
7318   1FATP8UH0K5138513   Ford        MUST                 SEATTLE                  WA
7319   1FATP8UH0K5150306   Ford        MUST                 PHOENIX                  AZ
7320   1FATP8UH0L5120711   Ford        MUST                 KNOXVILLE                TN
7321   1FATP8UH0L5137119   Ford        MUST                 FORT MYERS               FL
7322   1FATP8UH1J5123923   Ford        MUST                 Hayward                  CA
7323   1FATP8UH1J5123954   Ford        MUST                 Pompano Beach            FL
7324   1FATP8UH1J5129432   Ford        MUST                 KNOXVILLE                TN
7325   1FATP8UH1J5142438   Ford        MUST                 Harvey                   LA
7326   1FATP8UH1J5154993   Ford        MUST                 MARIETTA                 GA
7327   1FATP8UH1J5177013   Ford        MUST                 LAS VEGAS                NV
7328   1FATP8UH1K5135717   Ford        MUST                 OAKLAND                  CA
7329   1FATP8UH1K5135720   Ford        MUST                 LOS ANGELES              CA
7330   1FATP8UH1K5135734   Ford        MUST                 LOS ANGELES              CA
7331   1FATP8UH1K5138486   Ford        MUST                 ST Paul                  MN
7332   1FATP8UH1K5138522   Ford        MUST                 Hebron                   KY
7333   1FATP8UH1K5171908   Ford        MUST                 SAN FRANCISCO            CA
7334   1FATP8UH1L5115260   Ford        MUST                 NEWARK                   NJ
7335   1FATP8UH1L5118742   Ford        MUST                 Miami                    FL
7336   1FATP8UH1L5118949   Ford        MUST                 Miami                    FL
7337   1FATP8UH2J5124045   Ford        MUST                 SOUTHEAST DST OFFC       OK
7338   1FATP8UH2J5142528   Ford        MUST                 CHICAGO                  IL
7339   1FATP8UH2J5155053   Ford        MUST                 MIAMI                    FL
7340   1FATP8UH2K5104539   Ford        MUST                 WEST COLUMBIA            SC
7341   1FATP8UH2K5138335   Ford        MUST                 Sacramento               CA
7342   1FATP8UH2K5171917   Ford        MUST                 SAN FRANCISCO            CA
7343   1FATP8UH2K5171934   Ford        MUST                 LAS VEGAS                NV
7344   1FATP8UH2L5125327   Ford        MUST                 HOUSTON IAH AP           TX
7345   1FATP8UH3J5123924   Ford        MUST                 Kailua‐Kona              HI
7346   1FATP8UH3J5123941   Ford        MUST                 ROANOKE                  VA
7347   1FATP8UH3J5124023   Ford        MUST                 Davie                    FL
7348   1FATP8UH3J5132364   Ford        MUST                 BURBANK                  CA
7349   1FATP8UH3J5132493   Ford        MUST                 KALAOA                   HI
7350   1FATP8UH3K5135699   Ford        MUST                 SAN FRANCISCO            CA
7351   1FATP8UH3K5135704   Ford        MUST                 Anaheim                  CA
7352   1FATP8UH3K5135735   Ford        MUST                 ORLANDO                  FL
7353   1FATP8UH3K5135752   Ford        MUST                 Stockton                 CA
7354   1FATP8UH3K5138277   Ford        MUST                 Lake Elsinore            CA
7355   1FATP8UH3K5138487   Ford        MUST                 LOS ANGELES AP           CA
7356   1FATP8UH3K5138523   Ford        MUST                 SAN FRANCISCO            CA
7357   1FATP8UH3K5171909   Ford        MUST                 MONTEREY                 CA
7358   1FATP8UH3K5179590   Ford        MUST                 DES PLAINES              US
7359   1FATP8UH3L5136871   Ford        MUST                 Miami                    FL
7360   1FATP8UH3L5139530   Ford        MUST                 Medford                  NY
7361   1FATP8UH4J5124029   Ford        MUST                 Pompano Beach            FL
7362   1FATP8UH4J5154938   Ford        MUST                 Ocoee                    FL
7363   1FATP8UH4K5135730   Ford        MUST                 Tolleson                 AZ
7364   1FATP8UH4K5138384   Ford        MUST                 Riverside                CA
7365   1FATP8UH4K5138479   Ford        MUST                 LOS ANGELES              CA
7366   1FATP8UH4K5171899   Ford        MUST                 LAS VEGAS                NV
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7367   1FATP8UH4K5179601   Ford        MUST                 SAN FRANCISCO            CA
7368   1FATP8UH4L5115334   Ford        MUST                 Tampa                    FL
7369   1FATP8UH5J5123990   Ford        MUST                 Miami                    FL
7370   1FATP8UH5J5132365   Ford        MUST                 SAN FRANCISCO            CA
7371   1FATP8UH5J5132494   Ford        MUST                 EWA BEACH                HI
7372   1FATP8UH5J5176995   Ford        MUST                 LOS ANGELES              CA
7373   1FATP8UH5K5135719   Ford        MUST                 LOS ANGELES              CA
7374   1FATP8UH5K5138278   Ford        MUST                 SAN JOSE                 CA
7375   1FATP8UH5K5138281   Ford        MUST                 WEST PALM BEACH          FL
7376   1FATP8UH5K5138331   Ford        MUST                 BURBANK                  CA
7377   1FATP8UH5K5138376   Ford        MUST                 Santa Clara              CA
7378   1FATP8UH5K5138474   Ford        MUST                 Lake Elsinore            CA
7379   1FATP8UH5K5171894   Ford        MUST                 SOUTH SAN FRANC          CA
7380   1FATP8UH5K5171913   Ford        MUST                 SAN DIEGO                CA
7381   1FATP8UH5L5112569   Ford        MUST                 FORT MYERS               FL
7382   1FATP8UH5L5115293   Ford        MUST                 Houston                  TX
7383   1FATP8UH5L5120705   Ford        MUST                 OMAHA                    NE
7384   1FATP8UH6J5123965   Ford        MUST                 PENSACOLA                FL
7385   1FATP8UH6J5124050   Ford        MUST                 Orlando                  FL
7386   1FATP8UH6J5142449   Ford        MUST                 Rio Linda                CA
7387   1FATP8UH6J5142497   Ford        MUST                 SAN DIEGO                CA
7388   1FATP8UH6J5155041   Ford        MUST                 GRAND RAPIDS             MI
7389   1FATP8UH6J5166203   Ford        MUST                 North Las Vegas          NV
7390   1FATP8UH6K5135695   Ford        MUST                 OAKLAND                  CA
7391   1FATP8UH6K5135700   Ford        MUST                 EL PASO                  TX
7392   1FATP8UH6K5135714   Ford        MUST                 Las Vegas                NV
7393   1FATP8UH6K5138337   Ford        MUST                 LAS VEGAS                NV
7394   1FATP8UH6K5138385   Ford        MUST                 Stockton                 CA
7395   1FATP8UH6K5138516   Ford        MUST                 LOS ANGELES              CA
7396   1FATP8UH6K5150276   Ford        MUST                 EL PASO                  TX
7397   1FATP8UH6K5150312   Ford        MUST                 PHOENIX                  AZ
7398   1FATP8UH6K5171922   Ford        MUST                 LAS VEGAS                NV
7399   1FATP8UH6L5118851   Ford        MUST                 NEW ORLEANS              LA
7400   1FATP8UH7J5124039   Ford        MUST                 FORT MYERS               FL
7401   1FATP8UH7J5124056   Ford        MUST                 MIAMI                    FL
7402   1FATP8UH7J5132500   Ford        MUST                 NORTH PAC                CA
7403   1FATP8UH7J5155047   Ford        MUST                 FORT LAUDERDALE          FL
7404   1FATP8UH7J5160149   Ford        MUST                 PHOENIX                  AZ
7405   1FATP8UH7J5160152   Ford        MUST                 LAS VEGAS                NV
7406   1FATP8UH7J5177002   Ford        MUST                 STERLING                 VA
7407   1FATP8UH7K5138332   Ford        MUST                 LOS ANGELES              CA
7408   1FATP8UH7K5171900   Ford        MUST                 LAS VEGAS                NV
7409   1FATP8UH7K5171914   Ford        MUST                 LAS VEGAS                NV
7410   1FATP8UH7L5115330   Ford        MUST                 KENNER                   LA
7411   1FATP8UH7L5115361   Ford        MUST                 Orlando                  FL
7412   1FATP8UH7L5118924   Ford        MUST                 FORT MYERS               FL
7413   1FATP8UH7L5118955   Ford        MUST                 Miami                    FL
7414   1FATP8UH7L5135125   Ford        MUST                 Austell                  GA
7415   1FATP8UH8J5132361   Ford        MUST                 North Las Vegas          NV
7416   1FATP8UH8J5132392   Ford        MUST                 Bridgeton                MO
7417   1FATP8UH8J5132490   Ford        MUST                 Honolulu                 HI
7418   1FATP8UH8J5154991   Ford        MUST                 Rio Linda                CA
7419   1FATP8UH8K5135696   Ford        MUST                 LAS VEGAS                NV
7420   1FATP8UH8K5135701   Ford        MUST                 TAMPA                    US
7421   1FATP8UH8K5135729   Ford        MUST                 TRACY                    CA
7422   1FATP8UH8K5135732   Ford        MUST                 FRESNO                   CA
7423   1FATP8UH8K5138324   Ford        MUST                 Tolleson                 AZ
7424   1FATP8UH8K5138484   Ford        MUST                 PHOENIX                  AZ
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7425   1FATP8UH8K5138517   Ford        MUST                 LAS VEGAS                NV
7426   1FATP8UH8K5171906   Ford        MUST                 LOS ANGELES              CA
7427   1FATP8UH8L5118866   Ford        MUST                 Tulsa                    OK
7428   1FATP8UH9J5123975   Ford        MUST                 Tampa                    FL
7429   1FATP8UH9J5142476   Ford        MUST                 TAMPA                    FL
7430   1FATP8UH9J5155051   Ford        MUST                 Winter Park              FL
7431   1FATP8UH9J5177034   Ford        MUST                 LOS ANGELES              CA
7432   1FATP8UH9J5177048   Ford        MUST                 INGLEWOOD                CA
7433   1FATP8UH9K5135738   Ford        MUST                 Norwalk                  CA
7434   1FATP8UH9K5171932   Ford        MUST                 PORTLAND                 OR
7435   1FATP8UH9K5179593   Ford        MUST                 SAN FRANCISCO            CA
7436   1FATP8UH9K5179609   Ford        MUST                 Leesburg                 VA
7437   1FATP8UH9L5121386   Ford        MUST                 Austell                  GA
7438   1FATP8UH9L5137152   Ford        MUST                 MIAMI INT'L AP           FL
7439   1FATP8UHXJ5132362   Ford        MUST                 HILO                     HI
7440   1FATP8UHXJ5132491   Ford        MUST                 PLEASANTON               CA
7441   1FATP8UHXJ5154992   Ford        MUST                 PHOENIX                  AZ
7442   1FATP8UHXJ5155026   Ford        MUST                 North Las Vegas          NV
7443   1FATP8UHXK5106569   Ford        MUST                 WEST COLUMBIA            SC
7444   1FATP8UHXK5135697   Ford        MUST                 LAS VEGAS                NV
7445   1FATP8UHXK5135747   Ford        MUST                 FORT LAUDERDALE          FL
7446   1FATP8UHXK5135750   Ford        MUST                 SEA TAC                  WA
7447   1FATP8UHXK5138325   Ford        MUST                 SACRAMENTO               CA
7448   1FATP8UHXK5138518   Ford        MUST                 Phoenix                  AZ
7449   1FATP8UHXK5171910   Ford        MUST                 LAS VEGAS                NV
7450   1FATP8UHXK5171924   Ford        MUST                 SAN FRANCISCO            CA
7451   1FATP8UHXK5179599   Ford        MUST                 DAYTON                   OH
7452   1FBAX2C80LKA09226   Ford        TRANSIT              Atlanta                  GA
7453   1FBAX2C80LKA14345   Ford        TRANSIT              HOUSTON                  TX
7454   1FBAX2C81LKA07260   Ford        TRANSIT              KENNER                   LA
7455   1FBAX2C81LKA14354   Ford        TRANSIT              JACKSON                  MS
7456   1FBAX2C81LKA22678   Ford        TRANSIT              KENNER                   LA
7457   1FBAX2C82LKA06814   Ford        TRANSIT              FAYETTEVILLE             GA
7458   1FBAX2C82LKA41014   Ford        TRANSIT              BOSTON                   MA
7459   1FBAX2C83LKA14338   Ford        TRANSIT              ATLANTA                  GA
7460   1FBAX2C83LKA14355   Ford        TRANSIT              TAMPA                    FL
7461   1FBAX2C83LKA22665   Ford        TRANSIT              KENNER                   LA
7462   1FBAX2C83LKA22679   Ford        TRANSIT              KENNER                   LA
7463   1FBAX2C84LKA06815   Ford        TRANSIT              Atlanta                  GA
7464   1FBAX2C84LKA14333   Ford        TRANSIT              Atlanta                  GA
7465   1FBAX2C84LKA14347   Ford        TRANSIT              KENNER                   LA
7466   1FBAX2C86LKA06816   Ford        TRANSIT              Atlanta                  GA
7467   1FBAX2C86LKA14348   Ford        TRANSIT              HOUSTON                  TX
7468   1FBAX2C86LKA40318   Ford        TRANSIT              Atlanta                  GA
7469   1FBAX2C86LKA40321   Ford        TRANSIT              DETROIT                  MI
7470   1FBAX2C88LKA06817   Ford        TRANSIT              Atlanta                  GA
7471   1FBAX2C88LKA14335   Ford        TRANSIT              Atlanta                  GA
7472   1FBAX2C88LKA40319   Ford        TRANSIT              Atlanta                  GA
7473   1FBAX2C89LKA14344   Ford        TRANSIT              KENNER                   LA
7474   1FBAX2C8XLKA14336   Ford        TRANSIT              ATLANTA                  GA
7475   1FBAX2C8XLKA14353   Ford        TRANSIT              JACKSON                  MS
7476   1FBAX2CM0GKA56226   Ford        TRANSIT              South San Franc          CA
7477   1FBAX2CM0HKA96825   Ford        TRANSIT              SHREVEPORT               LA
7478   1FBAX2CM0HKB00842   Ford        TRANSIT              Manheim                  PA
7479   1FBAX2CM0JKA17319   Ford        TRANSIT              Hapeville                GA
7480   1FBAX2CM0JKA17322   Ford        TRANSIT              ATLANTA                  GA
7481   1FBAX2CM0JKA52166   Ford        TRANSIT              JACKSON                  MS
7482   1FBAX2CM0JKA83885   Ford        TRANSIT              PITTSBURGH               PA
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7483   1FBAX2CM0JKA83904   Ford        TRANSIT              NEWARK                   NJ
7484   1FBAX2CM0JKB20269   Ford        TRANSIT              JACKSON                  MS
7485   1FBAX2CM0JKB20272   Ford        TRANSIT              SHREVEPORT               LA
7486   1FBAX2CM0KKA28743   Ford        TRANSIT              BURBANK                  CA
7487   1FBAX2CM0KKA31044   Ford        TRANSIT              KENNER                   LA
7488   1FBAX2CM0KKA54162   Ford        TRANSIT              BURBANK                  CA
7489   1FBAX2CM0KKA96959   Ford        TRANSIT              NEWARK                   NJ
7490   1FBAX2CM0KKB02677   Ford        TRANSIT              Atlanta                  GA
7491   1FBAX2CM0KKB02680   Ford        TRANSIT              Atlanta                  GA
7492   1FBAX2CM1HKA72176   Ford        TRANSIT              South San Franc          CA
7493   1FBAX2CM1HKB00848   Ford        TRANSIT              NEWARK                   NJ
7494   1FBAX2CM1JKA71762   Ford        TRANSIT              Atlanta                  GA
7495   1FBAX2CM1JKA74256   Ford        TRANSIT              GLENDALE                 CA
7496   1FBAX2CM1JKA79540   Ford        TRANSIT              EAST BOSTON              MA
7497   1FBAX2CM1JKA83880   Ford        TRANSIT              Statesville              NC
7498   1FBAX2CM1JKB02086   Ford        TRANSIT              PITTSBURGH               PA
7499   1FBAX2CM1KKA23180   Ford        TRANSIT              Atlanta                  GA
7500   1FBAX2CM1KKA49553   Ford        TRANSIT              AUSTIN                   TX
7501   1FBAX2CM1KKA64036   Ford        TRANSIT              BURBANK                  CA
7502   1FBAX2CM1KKA67986   Ford        TRANSIT              Atlanta                  GA
7503   1FBAX2CM1KKA94816   Ford        TRANSIT              Atlanta                  GA
7504   1FBAX2CM1KKA94850   Ford        TRANSIT              NEWARK                   NJ
7505   1FBAX2CM1KKA96954   Ford        TRANSIT              Atlanta                  GA
7506   1FBAX2CM1KKB26633   Ford        TRANSIT              NEWARK                   NJ
7507   1FBAX2CM2GKA74260   Ford        TRANSIT              South San Franc          CA
7508   1FBAX2CM2JKA17323   Ford        TRANSIT              SOUTHEAST DST OFFC       OK
7509   1FBAX2CM2JKA52167   Ford        TRANSIT              Slidell                  LA
7510   1FBAX2CM2JKA83905   Ford        TRANSIT              NEWARK                   NJ
7511   1FBAX2CM2KKA28744   Ford        TRANSIT              BURBANK                  CA
7512   1FBAX2CM2KKA31045   Ford        TRANSIT              AUSTIN                   TX
7513   1FBAX2CM2KKA36438   Ford        TRANSIT              AUSTIN                   TX
7514   1FBAX2CM2KKA54163   Ford        TRANSIT              BURBANK                  CA
7515   1FBAX2CM2KKB02678   Ford        TRANSIT              Atlanta                  GA
7516   1FBAX2CM3GKA97952   Ford        TRANSIT              EL PASO                  TX
7517   1FBAX2CM3HKA60191   Ford        TRANSIT              SAVANNAH                 GA
7518   1FBAX2CM3HKA96821   Ford        TRANSIT              OAKLAND                  CA
7519   1FBAX2CM3JKA71763   Ford        TRANSIT              Atlanta                  GA
7520   1FBAX2CM3JKA74257   Ford        TRANSIT              BURBANK                  CA
7521   1FBAX2CM3JKA79541   Ford        TRANSIT              NEWARK                   NJ
7522   1FBAX2CM3JKB02087   Ford        TRANSIT              NEWARK                   NJ
7523   1FBAX2CM3KKA36433   Ford        TRANSIT              KENNER                   LA
7524   1FBAX2CM3KKA49554   Ford        TRANSIT              HOUSTON                  TX
7525   1FBAX2CM3KKA64040   Ford        TRANSIT              BURBANK                  CA
7526   1FBAX2CM3KKA67987   Ford        TRANSIT              KNOXVILLE                TN
7527   1FBAX2CM3KKA94817   Ford        TRANSIT              NEW BERN                 NC
7528   1FBAX2CM3KKA96955   Ford        TRANSIT              AUSTIN                   TX
7529   1FBAX2CM3KKB26634   Ford        TRANSIT              NEWARK                   NJ
7530   1FBAX2CM4HKA72172   Ford        TRANSIT              SOUTH SAN FRANC          CA
7531   1FBAX2CM4JKA17324   Ford        TRANSIT              Hapeville                GA
7532   1FBAX2CM4JKA52168   Ford        TRANSIT              SAN ANTONIO              TX
7533   1FBAX2CM4JKA55846   Ford        TRANSIT              Morrisville              NC
7534   1FBAX2CM4JKA83887   Ford        TRANSIT              Atlanta                  GA
7535   1FBAX2CM4JKA83890   Ford        TRANSIT              BURBANK                  CA
7536   1FBAX2CM4JKA83906   Ford        TRANSIT              NEWARK                   NJ
7537   1FBAX2CM4KKA28745   Ford        TRANSIT              BURBANK                  CA
7538   1FBAX2CM4KKA31046   Ford        TRANSIT              WEST COLUMBIA            SC
7539   1FBAX2CM4KKA36425   Ford        TRANSIT              PITTSBURGH               PA
7540   1FBAX2CM4KKA54164   Ford        TRANSIT              BURBANK                  CA
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7541   1FBAX2CM4KKB02679   Ford        TRANSIT              Atlanta                  GA
7542   1FBAX2CM5HKA96822   Ford        TRANSIT              AUSTIN                   TX
7543   1FBAX2CM5JKA29031   Ford        TRANSIT              AUSTIN                   TX
7544   1FBAX2CM5JKA71764   Ford        TRANSIT              PITTSBURGH               PA
7545   1FBAX2CM5JKA74258   Ford        TRANSIT              BURBANK                  CA
7546   1FBAX2CM5JKA83882   Ford        TRANSIT              Atlanta                  GA
7547   1FBAX2CM5JKA96471   Ford        TRANSIT              EAST BOSTON              MA
7548   1FBAX2CM5JKB02088   Ford        TRANSIT              SARASOTA                 FL
7549   1FBAX2CM5JKB15018   Ford        TRANSIT              EAST BOSTON              MA
7550   1FBAX2CM5KKA23179   Ford        TRANSIT              PITTSBURGH               PA
7551   1FBAX2CM5KKA36434   Ford        TRANSIT              AUSTIN                   TX
7552   1FBAX2CM5KKA64038   Ford        TRANSIT              BURBANK                  CA
7553   1FBAX2CM5KKA64041   Ford        TRANSIT              BURBANK                  CA
7554   1FBAX2CM5KKA67988   Ford        TRANSIT              KENNER                   LA
7555   1FBAX2CM5KKA94849   Ford        TRANSIT              NEWARK                   NJ
7556   1FBAX2CM5KKA96956   Ford        TRANSIT              KENNER                   LA
7557   1FBAX2CM5KKB26635   Ford        TRANSIT              NEWARK                   NJ
7558   1FBAX2CM6GKA74259   Ford        TRANSIT              South San Franc          CA
7559   1FBAX2CM6HKA72173   Ford        TRANSIT              EL PASO                  TX
7560   1FBAX2CM6HKB00845   Ford        TRANSIT              NEWARK                   NJ
7561   1FBAX2CM6JKA42693   Ford        TRANSIT              Hapeville                GA
7562   1FBAX2CM6JKA52169   Ford        TRANSIT              ORLANDO                  FL
7563   1FBAX2CM6JKA83891   Ford        TRANSIT              LOS ANGELES              CA
7564   1FBAX2CM6JKB02083   Ford        TRANSIT              CHEEKTOWAGA              NY
7565   1FBAX2CM6KKA28746   Ford        TRANSIT              BURBANK                  CA
7566   1FBAX2CM6KKA36426   Ford        TRANSIT              Atlanta                  GA
7567   1FBAX2CM6KKA54165   Ford        TRANSIT              BURBANK                  CA
7568   1FBAX2CM6KKA94813   Ford        TRANSIT              Atlanta                  GA
7569   1FBAX2CM6KKA96951   Ford        TRANSIT              WEST COLUMBIA            SC
7570   1FBAX2CM7HKA25380   Ford        TRANSIT              ORLANDO                  FL
7571   1FBAX2CM7JKA17320   Ford        TRANSIT              Miami                    FL
7572   1FBAX2CM7JKA29032   Ford        TRANSIT              AUSTIN                   TX
7573   1FBAX2CM7JKA71765   Ford        TRANSIT              NEWARK                   NJ
7574   1FBAX2CM7JKA83883   Ford        TRANSIT              Atlanta                  GA
7575   1FBAX2CM7JKB02027   Ford        TRANSIT              PITTSBURGH               PA
7576   1FBAX2CM7JKB15036   Ford        TRANSIT              HOUSTON                  TX
7577   1FBAX2CM7JKB20270   Ford        TRANSIT              KENNER                   LA
7578   1FBAX2CM7KKA36435   Ford        TRANSIT              AUSTIN                   TX
7579   1FBAX2CM7KKA54160   Ford        TRANSIT              PHOENIX                  AZ
7580   1FBAX2CM7KKA64039   Ford        TRANSIT              BURBANK                  CA
7581   1FBAX2CM7KKA64042   Ford        TRANSIT              BURBANK                  CA
7582   1FBAX2CM7KKA66891   Ford        TRANSIT              KENNER                   LA
7583   1FBAX2CM7KKA67989   Ford        TRANSIT              KENNER                   LA
7584   1FBAX2CM7KKA96957   Ford        TRANSIT              NEWARK                   NJ
7585   1FBAX2CM8HKB00846   Ford        TRANSIT              NEWARK                   NJ
7586   1FBAX2CM8JKA67613   Ford        TRANSIT              KENNER                   LA
7587   1FBAX2CM8JKA74254   Ford        TRANSIT              SOUTH SAN FRANC          CA
7588   1FBAX2CM8JKA83889   Ford        TRANSIT              BURBANK                  CA
7589   1FBAX2CM8JKA83892   Ford        TRANSIT              BURBANK                  CA
7590   1FBAX2CM8KKA31048   Ford        TRANSIT              SAN ANTONIO              TX
7591   1FBAX2CM8KKA54166   Ford        TRANSIT              BURBANK                  CA
7592   1FBAX2CM8KKA94814   Ford        TRANSIT              NORFOLK                  VA
7593   1FBAX2CM8KKA96952   Ford        TRANSIT              NEW BERN                 NC
7594   1FBAX2CM8KKB02684   Ford        TRANSIT              STERLING                 VA
7595   1FBAX2CM9HKB00841   Ford        TRANSIT              EAST RUTHERFORD          NJ
7596   1FBAX2CM9JKA17318   Ford        TRANSIT              KNOXVILLE                TN
7597   1FBAX2CM9JKA17321   Ford        TRANSIT              RALEIGH                  NC
7598   1FBAX2CM9JKA83884   Ford        TRANSIT              Atlanta                  GA
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7599   1FBAX2CM9JKA83903   Ford        TRANSIT              NEWARK                   NJ
7600   1FBAX2CM9JKB20268   Ford        TRANSIT              NEW BERN                 NC
7601   1FBAX2CM9JKB20271   Ford        TRANSIT              Atlanta                  GA
7602   1FBAX2CM9KKA31043   Ford        TRANSIT              KENNER                   LA
7603   1FBAX2CM9KKA36436   Ford        TRANSIT              ORLANDO                  FL
7604   1FBAX2CM9KKA54161   Ford        TRANSIT              BURBANK                  CA
7605   1FBAX2CMXHKA72175   Ford        TRANSIT              ORLANDO                  FL
7606   1FBAX2CMXHKA76291   Ford        TRANSIT              Hapeville                GA
7607   1FBAX2CMXJKA67614   Ford        TRANSIT              KILLEEN                  TX
7608   1FBAX2CMXJKA71761   Ford        TRANSIT              Tampa                    FL
7609   1FBAX2CMXJKA74255   Ford        TRANSIT              BURBANK                  CA
7610   1FBAX2CMXJKA83893   Ford        TRANSIT              Dallas                   TX
7611   1FBAX2CMXKKA49552   Ford        TRANSIT              KENNER                   LA
7612   1FBAX2CMXKKA64035   Ford        TRANSIT              BURBANK                  CA
7613   1FBAX2CMXKKA94815   Ford        TRANSIT              ATLANTA                  GA
7614   1FBAX2CMXKKA96953   Ford        TRANSIT              Atlanta                  GA
7615   1FBAX2Y81LKA22690   Ford        TRANSIT              NEW ORLEANS              LA
7616   1FBAX2Y82LKA14372   Ford        TRANSIT              KENNER                   LA
7617   1FBAX2Y83LKA14364   Ford        TRANSIT              METAIRIE                 LA
7618   1FBAX2Y83LKA40642   Ford        TRANSIT              BURBANK                  CA
7619   1FBAX2Y84LKA22652   Ford        TRANSIT              LAS VEGAS                NV
7620   1FBAX2Y84LKA22683   Ford        TRANSIT              KENNER                   LA
7621   1FBAX2Y84LKA40584   Ford        TRANSIT              LAS VEGAS                NV
7622   1FBAX2Y85LKA40643   Ford        TRANSIT              BURBANK                  CA
7623   1FBAX2Y86LKA14374   Ford        TRANSIT              KENNER                   LA
7624   1FBAX2Y86LKA22684   Ford        TRANSIT              KENNER                   LA
7625   1FBAX2Y86LKA40585   Ford        TRANSIT              LAS VEGAS                NV
7626   1FBAX2Y87LKA14366   Ford        TRANSIT              KENNER                   LA
7627   1FBAX2Y87LKA22659   Ford        TRANSIT              BURBANK                  CA
7628   1FBAX2Y88LKA40796   Ford        TRANSIT              BURLINGAME               CA
7629   1FBAX2Y89LKA14367   Ford        TRANSIT              KENNER                   LA
7630   1FBAX2Y89LKA14370   Ford        TRANSIT              KENNER                   LA
7631   1FBAX2Y8XLKA22686   Ford        TRANSIT              KENNER                   LA
7632   1FBAX2Y8XLKA40797   Ford        TRANSIT              South San Franc          CA
7633   1FBVU4X80LKA22655   Ford        TRANSIT              BURBANK                  CA
7634   1FBVU4X81LKA07257   Ford        TRANSIT              KENNER                   LA
7635   1FBVU4X81LKA14340   Ford        TRANSIT              BURBANK                  CA
7636   1FBVU4X81LKA22664   Ford        TRANSIT              KENNER                   LA
7637   1FBVU4X82LKA40266   Ford        TRANSIT              ALBUQUERQUE              NM
7638   1FBVU4X83LKA14341   Ford        TRANSIT              KENNER                   LA
7639   1FBVU4X83LKA22648   Ford        TRANSIT              ALBUQUERQUE              NM
7640   1FBVU4X84LKA40267   Ford        TRANSIT              ALBUQUERQUE              NM
7641   1FBVU4X85LKA41007   Ford        TRANSIT              KENNER                   LA
7642   1FBVU4X89LKA22654   Ford        TRANSIT              BURBANK                  CA
7643   1FBVU4X89LKA40636   Ford        TRANSIT              BURBANK                  CA
7644   1FBVU4X8XLKA07256   Ford        TRANSIT              KENNER                   LA
7645   1FBVU4XM0HKA72167   Ford        TRANSIT              BURBANK                  CA
7646   1FBVU4XM0KKA94810   Ford        TRANSIT              SANTA FE                 NM
7647   1FBVU4XM1HKA25374   Ford        TRANSIT              ALBUQUERQUE              NM
7648   1FBVU4XM1JKA17314   Ford        TRANSIT              ALBUQUERQUE              NM
7649   1FBVU4XM1KKA15225   Ford        TRANSIT              ALBUQUERQUE              NM
7650   1FBVU4XM2HKA60196   Ford        TRANSIT              BURBANK                  CA
7651   1FBVU4XM2KKB02681   Ford        TRANSIT              KENNER                   LA
7652   1FBVU4XM3HKA25375   Ford        TRANSIT              ALBUQUERQUE              NM
7653   1FBVU4XM3KKA15226   Ford        TRANSIT              ALBUQUERQUE              NM
7654   1FBVU4XM4HKA72169   Ford        TRANSIT              Fontana                  CA
7655   1FBVU4XM4KKA15221   Ford        TRANSIT              ALBUQERQUE               NM
7656   1FBVU4XM4KKA94812   Ford        TRANSIT              ALBUQUERQUE              NM
       VIN
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                                    DocModel
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7657   1FBVU4XM4KKB02682   Ford        TRANSIT              KENNER                   LA
7658   1FBVU4XM5HKA25376   Ford        TRANSIT              EL PASO                  TX
7659   1FBVU4XM5JKA17316   Ford        TRANSIT              FLORISSANT               MO
7660   1FBVU4XM5KKA66890   Ford        TRANSIT              KENNER                   LA
7661   1FBVU4XM6KKA15222   Ford        TRANSIT              ALBUQUERQUE              NM
7662   1FBVU4XM6KKA66879   Ford        TRANSIT              BURBANK                  CA
7663   1FBVU4XM6KKA94844   Ford        TRANSIT              AUSTIN                   TX
7664   1FBVU4XM6KKB02683   Ford        TRANSIT              KENNER                   LA
7665   1FBVU4XM7HKA25377   Ford        TRANSIT              ALBUQUERQUE              NM
7666   1FBVU4XM7JKA17317   Ford        TRANSIT              ALBUQUERQUE              NM
7667   1FBVU4XM7KKA54157   Ford        TRANSIT              BURBANK                  CA
7668   1FBVU4XM8HKA25372   Ford        TRANSIT              ALBUQUERQUE              NM
7669   1FBVU4XM8KKA15223   Ford        TRANSIT              EL PASO                  TX
7670   1FBVU4XM8KKA94845   Ford        TRANSIT              KENNER                   LA
7671   1FBVU4XM9KKA54158   Ford        TRANSIT              BURBANK                  CA
7672   1FBVU4XM9KKA66889   Ford        TRANSIT              KENNER                   LA
7673   1FBVU4XMXHKA25373   Ford        TRANSIT              DENVER                   CO
7674   1FBVU4XMXKKA15224   Ford        TRANSIT              ALBUQUERQUE              NM
7675   1FBVU4XMXKKA94846   Ford        TRANSIT              KENNER                   LA
7676   1FBZX2CM2HKA60198   Ford        TRANSIT              NEWARK                   NJ
7677   1FBZX2CM2HKA96828   Ford        TRANSIT              NEWARK                   NJ
7678   1FBZX2CM2HKB07083   Ford        TRANSIT              Houston                  TX
7679   1FBZX2CM4HKA60199   Ford        TRANSIT              NEWARK                   NJ
7680   1FBZX2CM4HKA96829   Ford        TRANSIT              Teterboro                NJ
7681   1FBZX2CM4HKB07084   Ford        TRANSIT              NEWARK                   NJ
7682   1FBZX2CM6HKB07085   Ford        TRANSIT              Union City               GA
7683   1FBZX2CM8HKB07086   Ford        TRANSIT              Atlanta                  GA
7684   1FBZX2CMXHKA76293   Ford        TRANSIT              NEWARK                   NJ
7685   1FBZX2CMXHKB07087   Ford        TRANSIT              CLEVELAND                OH
7686   1FBZX2YM0HKA49726   Ford        TRANSIT              PALM SPRINGS             CA
7687   1FBZX2YM0HKB12775   Ford        TRANSIT              PORT NEWARK              NJ
7688   1FBZX2YM0JKA42698   Ford        TRANSIT              BURBANK                  CA
7689   1FBZX2YM0JKA79542   Ford        TRANSIT              BOSTON                   MA
7690   1FBZX2YM0JKA83915   Ford        TRANSIT              EAST RUTHERFORD          NJ
7691   1FBZX2YM0JKB02091   Ford        TRANSIT              NEWARK                   NJ
7692   1FBZX2YM0JKB02107   Ford        TRANSIT              NEWARK                   NJ
7693   1FBZX2YM0JKB02138   Ford        TRANSIT              EAST RUTHERFORD          NJ
7694   1FBZX2YM0JKB20283   Ford        TRANSIT              NEWARK                   NJ
7695   1FBZX2YM0KKA18242   Ford        TRANSIT              Philadelphia             PA
7696   1FBZX2YM0KKA80563   Ford        TRANSIT              NEWARK                   NJ
7697   1FBZX2YM0KKB02688   Ford        TRANSIT              NEWARK                   NJ
7698   1FBZX2YM0KKB02691   Ford        TRANSIT              NEWARK                   NJ
7699   1FBZX2YM0KKB02707   Ford        TRANSIT              PHILADELPHIA             US
7700   1FBZX2YM0KKB02738   Ford        TRANSIT              NEWARK                   NJ
7701   1FBZX2YM0KKB02741   Ford        TRANSIT              NEWARK                   NJ
7702   1FBZX2YM0KKB40244   Ford        TRANSIT              NEW YORK CITY            NY
7703   1FBZX2YM0KKB40258   Ford        TRANSIT              NEWARK                   NJ
7704   1FBZX2YM1HKA72206   Ford        TRANSIT
7705   1FBZX2YM1HKA93895   Ford        TRANSIT              SOUTH SAN FRANC          CA
7706   1FBZX2YM1HKA96831   Ford        TRANSIT              Statesville              NC
7707   1FBZX2YM1HKB12767   Ford        TRANSIT              PORT NEWARK              NJ
7708   1FBZX2YM1HKB12770   Ford        TRANSIT              NEWARK                   NJ
7709   1FBZX2YM1JKA42709   Ford        TRANSIT              Atlanta                  GA
7710   1FBZX2YM1JKA70736   Ford        TRANSIT              JACKSON                  MS
7711   1FBZX2YM1JKA83907   Ford        TRANSIT              NEWARK                   NJ
7712   1FBZX2YM1JKA83910   Ford        TRANSIT              NEWARK                   NJ
7713   1FBZX2YM1JKB02097   Ford        TRANSIT              NORFOLK                  VA
7714   1FBZX2YM1JKB02102   Ford        TRANSIT              NEWARK                   NJ
       VIN
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                        Make
                                    DocModel
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7715   1FBZX2YM1JKB02116   Ford        TRANSIT              EAST RUTHERFORD          NJ
7716   1FBZX2YM1JKB02133   Ford        TRANSIT              NEWARK                   NJ
7717   1FBZX2YM1JKB20275   Ford        TRANSIT              NEWARK                   NJ
7718   1FBZX2YM1JKB20289   Ford        TRANSIT              NEWARK                   NJ
7719   1FBZX2YM1JKB20292   Ford        TRANSIT              NEWARK                   NJ
7720   1FBZX2YM1KKA20646   Ford        TRANSIT              BURBANK                  CA
7721   1FBZX2YM1KKA31050   Ford        TRANSIT              KENNER                   LA
7722   1FBZX2YM1KKA38127   Ford        TRANSIT              FORT LAUDERDALE          FL
7723   1FBZX2YM1KKA49547   Ford        TRANSIT              SOUTH SAN FRANC          CA
7724   1FBZX2YM1KKA49550   Ford        TRANSIT              BURLINGAME               CA
7725   1FBZX2YM1KKA64047   Ford        TRANSIT              SOUTH SAN FRANC          CA
7726   1FBZX2YM1KKA66882   Ford        TRANSIT              Houston                  TX
7727   1FBZX2YM1KKA70883   Ford        TRANSIT              SARASOTA                 FL
7728   1FBZX2YM1KKA80572   Ford        TRANSIT              NEWARK                   NJ
7729   1FBZX2YM1KKB02697   Ford        TRANSIT              NEWARK                   NJ
7730   1FBZX2YM1KKB02702   Ford        TRANSIT              NEWARK                   NJ
7731   1FBZX2YM1KKB02716   Ford        TRANSIT              NEWARK                   NJ
7732   1FBZX2YM1KKB02733   Ford        TRANSIT              NEWARK                   NJ
7733   1FBZX2YM1KKB02747   Ford        TRANSIT              NEWARK                   NJ
7734   1FBZX2YM1KKB02750   Ford        TRANSIT              NEWARK                   NJ
7735   1FBZX2YM1KKB02845   Ford        TRANSIT              Albuquerque              NM
7736   1FBZX2YM1KKB40236   Ford        TRANSIT              NEWARK                   NJ
7737   1FBZX2YM1KKB40253   Ford        TRANSIT              NEWARK                   NJ
7738   1FBZX2YM2HKA49730   Ford        TRANSIT              PALM SPRINGS             CA
7739   1FBZX2YM2HKA72179   Ford        TRANSIT              LAS VEGAS                NV
7740   1FBZX2YM2HKA72182   Ford        TRANSIT              LAS VEGAS                NV
7741   1FBZX2YM2HKA72215   Ford        TRANSIT              PORT NEWARK              NJ
7742   1FBZX2YM2HKA93887   Ford        TRANSIT              San Diego                CA
7743   1FBZX2YM2HKA96840   Ford        TRANSIT              PORT NEWARK              NJ
7744   1FBZX2YM2JKA42699   Ford        TRANSIT              BURBANK                  CA
7745   1FBZX2YM2JKA70745   Ford        TRANSIT              EAST RUTHERFORD          NJ
7746   1FBZX2YM2JKA83902   Ford        TRANSIT              AUSTIN                   TX
7747   1FBZX2YM2JKA83916   Ford        TRANSIT              BOSTON                   MA
7748   1FBZX2YM2JKA96472   Ford        TRANSIT              Jacksonville             FL
7749   1FBZX2YM2JKB02089   Ford        TRANSIT              NEWARK                   NJ
7750   1FBZX2YM2JKB02108   Ford        TRANSIT              WEST COLUMBIA            SC
7751   1FBZX2YM2JKB02139   Ford        TRANSIT              JAMAICA                  NY
7752   1FBZX2YM2JKB20284   Ford        TRANSIT              NEWARK                   NJ
7753   1FBZX2YM2KKA23183   Ford        TRANSIT              LAS VEGAS                NV
7754   1FBZX2YM2KKA49539   Ford        TRANSIT              ORLANDO                  FL
7755   1FBZX2YM2KKA80564   Ford        TRANSIT              NEW YORK CITY            NY
7756   1FBZX2YM2KKB02692   Ford        TRANSIT              NEWARK                   NJ
7757   1FBZX2YM2KKB02725   Ford        TRANSIT              NEWARK                   NJ
7758   1FBZX2YM2KKB02739   Ford        TRANSIT              NORFOLK                  VA
7759   1FBZX2YM2KKB02742   Ford        TRANSIT              NEWARK                   NJ
7760   1FBZX2YM2KKB02837   Ford        TRANSIT              TUCSON                   AZ
7761   1FBZX2YM2KKB40245   Ford        TRANSIT              NEWARK                   NJ
7762   1FBZX2YM3HKA60204   Ford        TRANSIT              NEWARK                   NJ
7763   1FBZX2YM3HKA66228   Ford        TRANSIT              Ventura                  CA
7764   1FBZX2YM3HKA76287   Ford        TRANSIT              Los Angeles              CA
7765   1FBZX2YM3HKA76290   Ford        TRANSIT              PALM SPRINGS             CA
7766   1FBZX2YM3HKA93896   Ford        TRANSIT              LOS ANGELES              CA
7767   1FBZX2YM3JKA55848   Ford        TRANSIT              KILLEEN                  TX
7768   1FBZX2YM3JKA70737   Ford        TRANSIT              DALLAS                   TX
7769   1FBZX2YM3JKA70740   Ford        TRANSIT              EGG HARBOR TOWN          NJ
7770   1FBZX2YM3JKA83908   Ford        TRANSIT              NEWARK                   NJ
7771   1FBZX2YM3JKA83925   Ford        TRANSIT              NEWARK                   NJ
7772   1FBZX2YM3JKB02103   Ford        TRANSIT              NEWARK                   NJ
       VIN
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                        Make
                                    DocModel
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                                                                  Page 136 of 2491   State
7773   1FBZX2YM3JKB02117   Ford        TRANSIT              Newark                   NJ
7774   1FBZX2YM3JKB02120   Ford        TRANSIT              NEWARK                   NJ
7775   1FBZX2YM3JKB20276   Ford        TRANSIT              NEWARK                   NJ
7776   1FBZX2YM3KKA36427   Ford        TRANSIT              South San Franc          CA
7777   1FBZX2YM3KKA36430   Ford        TRANSIT              TUCSON                   AZ
7778   1FBZX2YM3KKA38128   Ford        TRANSIT              ORLANDO                  FL
7779   1FBZX2YM3KKA38131   Ford        TRANSIT              ORLANDO                  FL
7780   1FBZX2YM3KKA38162   Ford        TRANSIT              ORLANDO                  FL
7781   1FBZX2YM3KKA38212   Ford        TRANSIT              Dallas                   TX
7782   1FBZX2YM3KKA49548   Ford        TRANSIT              BURLINGAME               CA
7783   1FBZX2YM3KKA49551   Ford        TRANSIT              BURLINGAME               CA
7784   1FBZX2YM3KKA64048   Ford        TRANSIT              SOUTH SAN FRANC          CA
7785   1FBZX2YM3KKB02698   Ford        TRANSIT              NEWARK                   NJ
7786   1FBZX2YM3KKB02717   Ford        TRANSIT              NEWARK                   NJ
7787   1FBZX2YM3KKB02720   Ford        TRANSIT              NEWARK                   NJ
7788   1FBZX2YM3KKB02734   Ford        TRANSIT              NEWARK                   NJ
7789   1FBZX2YM3KKB02751   Ford        TRANSIT              Teterboro                NJ
7790   1FBZX2YM3KKB02832   Ford        TRANSIT              EL PASO                  TX
7791   1FBZX2YM3KKB02846   Ford        TRANSIT              SAN ANTONIO              TX
7792   1FBZX2YM3KKB40237   Ford        TRANSIT              NEWARK                   NJ
7793   1FBZX2YM3KKB40240   Ford        TRANSIT              NEWARK                   NJ
7794   1FBZX2YM3KKB40254   Ford        TRANSIT              PHILADELPHIA             PA
7795   1FBZX2YM4HKA49728   Ford        TRANSIT              Austin                   TX
7796   1FBZX2YM4HKA60194   Ford        TRANSIT              MIAMI                    FL
7797   1FBZX2YM4HKA72202   Ford        TRANSIT              NEWARK                   NJ
7798   1FBZX2YM4HKA93891   Ford        TRANSIT              BURBANK                  CA
7799   1FBZX2YM4JKA70746   Ford        TRANSIT              EAST BOSTON              MA
7800   1FBZX2YM4JKA83920   Ford        TRANSIT              NEWARK                   NJ
7801   1FBZX2YM4JKB02093   Ford        TRANSIT              CHEEKTOWAGA              NY
7802   1FBZX2YM4JKB02109   Ford        TRANSIT              NEWARK                   NJ
7803   1FBZX2YM4JKB02112   Ford        TRANSIT              NEWARK                   NJ
7804   1FBZX2YM4JKB02126   Ford        TRANSIT              NEWARK                   NJ
7805   1FBZX2YM4JKB20285   Ford        TRANSIT              Manheim                  PA
7806   1FBZX2YM4KKA38123   Ford        TRANSIT              Burien                   WA
7807   1FBZX2YM4KKA49543   Ford        TRANSIT              ORLANDO                  FL
7808   1FBZX2YM4KKA64043   Ford        TRANSIT              SOUTH SAN FRANC          CA
7809   1FBZX2YM4KKA66942   Ford        TRANSIT              Pensacola                FL
7810   1FBZX2YM4KKA80565   Ford        TRANSIT              NEWARK                   NJ
7811   1FBZX2YM4KKB02693   Ford        TRANSIT              NEWARK                   NJ
7812   1FBZX2YM4KKB02743   Ford        TRANSIT              PORT NEWARK              NJ
7813   1FBZX2YM4KKB26637   Ford        TRANSIT              LOS ANGELES              CA
7814   1FBZX2YM4KKB26640   Ford        TRANSIT              LAS VEGAS                NV
7815   1FBZX2YM5HKA72208   Ford        TRANSIT              PITTSBURGH               PA
7816   1FBZX2YM5HKA96833   Ford        TRANSIT              NEWARK                   NJ
7817   1FBZX2YM5JKA17327   Ford        TRANSIT              AUSTIN                   TX
7818   1FBZX2YM5JKA83909   Ford        TRANSIT              NEWARK                   NJ
7819   1FBZX2YM5JKA83912   Ford        TRANSIT              NEWARK                   NJ
7820   1FBZX2YM5JKA83926   Ford        TRANSIT              NEWARK                   NJ
7821   1FBZX2YM5JKB02104   Ford        TRANSIT              NEWARK                   NJ
7822   1FBZX2YM5JKB02121   Ford        TRANSIT              MEDFORD                  MA
7823   1FBZX2YM5JKB02135   Ford        TRANSIT              WHITE PLAINS             NY
7824   1FBZX2YM5JKB20277   Ford        TRANSIT              NEWARK                   NJ
7825   1FBZX2YM5JKB20280   Ford        TRANSIT              BUFFALO                  NY
7826   1FBZX2YM5KKA20651   Ford        TRANSIT              Slidell                  LA
7827   1FBZX2YM5KKA36428   Ford        TRANSIT              South San Franc          CA
7828   1FBZX2YM5KKA38132   Ford        TRANSIT              SOUTHEAST DST OFFC       OK
7829   1FBZX2YM5KKA38213   Ford        TRANSIT              El Paso                  TX
7830   1FBZX2YM5KKA49549   Ford        TRANSIT              SANTA ANA                CA
       VIN
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                                    DocModel
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7831   1FBZX2YM5KKA54167   Ford        TRANSIT              KENNER                   LA
7832   1FBZX2YM5KKB02699   Ford        TRANSIT              EGG HARBOR TOWN          NJ
7833   1FBZX2YM5KKB02718   Ford        TRANSIT              NEWARK                   NJ
7834   1FBZX2YM5KKB02735   Ford        TRANSIT              NEWARK                   NJ
7835   1FBZX2YM5KKB02749   Ford        TRANSIT              RONKONKOMA               NY
7836   1FBZX2YM5KKB02833   Ford        TRANSIT              ALBUQERQUE               NM
7837   1FBZX2YM5KKB26646   Ford        TRANSIT              SEATAC                   WA
7838   1FBZX2YM5KKB40241   Ford        TRANSIT              NEWARK                   NJ
7839   1FBZX2YM5KKB40255   Ford        TRANSIT              NEWARK                   NJ
7840   1FBZX2YM6HKA60200   Ford        TRANSIT              NEWARK                   NJ
7841   1FBZX2YM6HKA66224   Ford        TRANSIT              BURBANK                  CA
7842   1FBZX2YM6HKA72184   Ford        TRANSIT              LAS VEGAS                NV
7843   1FBZX2YM6HKA93889   Ford        TRANSIT              ONTARIO                  CA
7844   1FBZX2YM6HKA93892   Ford        TRANSIT              LOS ANGELES              CA
7845   1FBZX2YM6JKA70747   Ford        TRANSIT              NEWARK                   NJ
7846   1FBZX2YM6JKA83918   Ford        TRANSIT              ALBANY                   N
7847   1FBZX2YM6JKA83921   Ford        TRANSIT              EAST RUTHERFORD          NJ
7848   1FBZX2YM6JKB02113   Ford        TRANSIT              BOSTON                   MA
7849   1FBZX2YM6JKB02127   Ford        TRANSIT              BOSTON                   MA
7850   1FBZX2YM6JKB20286   Ford        TRANSIT              NEWARK                   NJ
7851   1FBZX2YM6KKA18245   Ford        TRANSIT              Fredericksburg           VA
7852   1FBZX2YM6KKA20660   Ford        TRANSIT              MCALLEN                  TX
7853   1FBZX2YM6KKA20674   Ford        TRANSIT              LAS VEGAS                NV
7854   1FBZX2YM6KKA38124   Ford        TRANSIT              DANIA                    FL
7855   1FBZX2YM6KKA38155   Ford        TRANSIT              Wichita                  KS
7856   1FBZX2YM6KKA49575   Ford        TRANSIT              ORLANDO                  FL
7857   1FBZX2YM6KKA64044   Ford        TRANSIT              South San Franc          CA
7858   1FBZX2YM6KKB02713   Ford        TRANSIT              NEWARK                   NJ
7859   1FBZX2YM6KKB02727   Ford        TRANSIT              NEWARK                   NJ
7860   1FBZX2YM6KKB02730   Ford        TRANSIT              PHILADELPHIA             PA
7861   1FBZX2YM6KKB02744   Ford        TRANSIT              NEWARK                   NJ
7862   1FBZX2YM6KKB02839   Ford        TRANSIT              SAN ANTONIO              TX
7863   1FBZX2YM6KKB40247   Ford        TRANSIT              NEWARK                   NJ
7864   1FBZX2YM6KKB40250   Ford        TRANSIT              NEWARK                   NJ
7865   1FBZX2YM7HKA72193   Ford        TRANSIT              NEWARK                   NJ
7866   1FBZX2YM7HKA76289   Ford        TRANSIT              PALM SPRINGS             CA
7867   1FBZX2YM7HKA96834   Ford        TRANSIT              NEWARK                   NJ
7868   1FBZX2YM7HKB12790   Ford        TRANSIT              NEWARK                   NJ
7869   1FBZX2YM7JKA17328   Ford        TRANSIT              AUSTIN                   TX
7870   1FBZX2YM7JKA70742   Ford        TRANSIT              NEWARK                   NJ
7871   1FBZX2YM7JKA83913   Ford        TRANSIT              NEWARK                   NJ
7872   1FBZX2YM7JKB02105   Ford        TRANSIT              NEWARK                   NJ
7873   1FBZX2YM7JKB02119   Ford        TRANSIT              BRIDGEPORT               PA
7874   1FBZX2YM7JKB02136   Ford        TRANSIT              NEWARK                   NJ
7875   1FBZX2YM7JKB20281   Ford        TRANSIT              NEWARK                   NJ
7876   1FBZX2YM7KKA18240   Ford        TRANSIT              Pompano Beach            FL
7877   1FBZX2YM7KKA36429   Ford        TRANSIT              KENNER                   LA
7878   1FBZX2YM7KKA36432   Ford        TRANSIT              PALM SPRINGS             CA
7879   1FBZX2YM7KKA54168   Ford        TRANSIT              JACKSON                  MS
7880   1FBZX2YM7KKA71035   Ford        TRANSIT              SAN ANTONIO              TX
7881   1FBZX2YM7KKA80561   Ford        TRANSIT              PALM SPRINGS             CA
7882   1FBZX2YM7KKA94847   Ford        TRANSIT              NEWARK                   NJ
7883   1FBZX2YM7KKB02705   Ford        TRANSIT              NEWARK                   NJ
7884   1FBZX2YM7KKB02719   Ford        TRANSIT              NEWARK                   NJ
7885   1FBZX2YM7KKB02736   Ford        TRANSIT              NEWARK                   NJ
7886   1FBZX2YM7KKB26650   Ford        TRANSIT              LOS ANGELES AP           CA
7887   1FBZX2YM7KKB40239   Ford        TRANSIT              NEWARK                   NJ
7888   1FBZX2YM7KKB40256   Ford        TRANSIT              NEWARK                   NJ
       VIN
                Case 20-11218-MFW
                        Make
                                    DocModel
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7889   1FBZX2YM8HKA60201   Ford        TRANSIT              Fredericksburg           VA
7890   1FBZX2YM8HKA72185   Ford        TRANSIT              DETROIT                  MI
7891   1FBZX2YM8HKA93893   Ford        TRANSIT              Pasadena                 CA
7892   1FBZX2YM8HKB12779   Ford        TRANSIT              PORT NEWARK              NJ
7893   1FBZX2YM8JKA70748   Ford        TRANSIT              NEWARK                   NJ
7894   1FBZX2YM8JKA83922   Ford        TRANSIT              ORLANDO                  FL
7895   1FBZX2YM8JKB02095   Ford        TRANSIT              PITTSBURGH               PA
7896   1FBZX2YM8JKB02100   Ford        TRANSIT              CHEEKTOWAGA              NY
7897   1FBZX2YM8JKB02114   Ford        TRANSIT              STERLING                 US
7898   1FBZX2YM8JKB02128   Ford        TRANSIT              NEWARK                   NJ
7899   1FBZX2YM8JKB20290   Ford        TRANSIT              BOSTON                   MA
7900   1FBZX2YM8KKA20661   Ford        TRANSIT              Manheim                  PA
7901   1FBZX2YM8KKA38156   Ford        TRANSIT              Kansas City              MO
7902   1FBZX2YM8KKA49576   Ford        TRANSIT              MIAMI                    FL
7903   1FBZX2YM8KKA64045   Ford        TRANSIT              SAN DIEGO                CA
7904   1FBZX2YM8KKA80567   Ford        TRANSIT              NEWARK                   NJ
7905   1FBZX2YM8KKA80570   Ford        TRANSIT              NEWARK                   NJ
7906   1FBZX2YM8KKB02700   Ford        TRANSIT              NEWARK                   NJ
7907   1FBZX2YM8KKB02714   Ford        TRANSIT              NEWARK                   NJ
7908   1FBZX2YM8KKB02728   Ford        TRANSIT              PHILADELPHIA             PA
7909   1FBZX2YM8KKB02731   Ford        TRANSIT              NEWARK                   NJ
7910   1FBZX2YM8KKB02745   Ford        TRANSIT              NEWARK                   NJ
7911   1FBZX2YM8KKB26639   Ford        TRANSIT              LAS VEGAS                NV
7912   1FBZX2YM8KKB26642   Ford        TRANSIT              LOS ANGELES              CA
7913   1FBZX2YM8KKB40248   Ford        TRANSIT              PHILADELPHIA             PA
7914   1FBZX2YM8KKB40251   Ford        TRANSIT              NEWARK                   NJ
7915   1FBZX2YM9HKA72180   Ford        TRANSIT              ORLANDO                  FL
7916   1FBZX2YM9JKA83914   Ford        TRANSIT              NEWARK                   NJ
7917   1FBZX2YM9JKB02090   Ford        TRANSIT              NEWARK                   NJ
7918   1FBZX2YM9JKB02123   Ford        TRANSIT              NEWARK                   NJ
7919   1FBZX2YM9JKB02137   Ford        TRANSIT              NEWARK                   NJ
7920   1FBZX2YM9JKB20279   Ford        TRANSIT              NEWARK                   NJ
7921   1FBZX2YM9JKB20282   Ford        TRANSIT              NEWARK                   NJ
7922   1FBZX2YM9KKA18241   Ford        TRANSIT              LOS ANGELES              CA
7923   1FBZX2YM9KKA20667   Ford        TRANSIT              Burien                   WA
7924   1FBZX2YM9KKA38134   Ford        TRANSIT              ORLANDO                  FL
7925   1FBZX2YM9KKA67990   Ford        TRANSIT              AUSTIN                   TX
7926   1FBZX2YM9KKA80562   Ford        TRANSIT              South San Franc          CA
7927   1FBZX2YM9KKA94848   Ford        TRANSIT              SAN ANTONIO              TX
7928   1FBZX2YM9KKB02690   Ford        TRANSIT              EAST RUTHERFORD          NJ
7929   1FBZX2YM9KKB02706   Ford        TRANSIT              NEWARK                   NJ
7930   1FBZX2YM9KKB02723   Ford        TRANSIT              EGG HARBOR TOWN          NJ
7931   1FBZX2YM9KKB02737   Ford        TRANSIT              NEWARK                   NJ
7932   1FBZX2YM9KKB02740   Ford        TRANSIT              NEWARK                   NJ
7933   1FBZX2YM9KKB40257   Ford        TRANSIT              NEWARK                   NJ
7934   1FBZX2YMXHKA72186   Ford        TRANSIT              El Paso                  TX
7935   1FBZX2YMXHKA72205   Ford        TRANSIT              NEWARK                   NJ
7936   1FBZX2YMXHKA93894   Ford        TRANSIT              El Paso                  TX
7937   1FBZX2YMXHKB12766   Ford        TRANSIT              PITTSBURGH               PA
7938   1FBZX2YMXJKA42708   Ford        TRANSIT              AUSTIN                   TX
7939   1FBZX2YMXJKA70752   Ford        TRANSIT              Manheim                  PA
7940   1FBZX2YMXJKA83923   Ford        TRANSIT              NEWARK                   NJ
7941   1FBZX2YMXJKB02115   Ford        TRANSIT              MEDFORD                  MA
7942   1FBZX2YMXJKB02132   Ford        TRANSIT              NEWARK                   NJ
7943   1FBZX2YMXJKB20291   Ford        TRANSIT              NEWARK                   NJ
7944   1FBZX2YMXKKA18247   Ford        TRANSIT              Pensacola                FL
7945   1FBZX2YMXKKA20662   Ford        TRANSIT              AUSTIN                   TX
7946   1FBZX2YMXKKA36439   Ford        TRANSIT              KENNER                   LA
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7947   1FBZX2YMXKKA38126   Ford        TRANSIT              ORLANDO                  FL
7948   1FBZX2YMXKKA49546   Ford        TRANSIT              San Francisco            CA
7949   1FBZX2YMXKKA64046   Ford        TRANSIT              BURLINGAME               CA
7950   1FBZX2YMXKKA80568   Ford        TRANSIT              NEWARK                   NJ
7951   1FBZX2YMXKKA80571   Ford        TRANSIT              NEWARK                   NJ
7952   1FBZX2YMXKKB02696   Ford        TRANSIT              NEWARK                   NJ
7953   1FBZX2YMXKKB02701   Ford        TRANSIT              NEWARK                   NJ
7954   1FBZX2YMXKKB02715   Ford        TRANSIT              NEWARK                   NJ
7955   1FBZX2YMXKKB02729   Ford        TRANSIT              WHITE PLAINS             NY
7956   1FBZX2YMXKKB02732   Ford        TRANSIT              NEWARK                   NJ
7957   1FBZX2YMXKKB02746   Ford        TRANSIT              NEWARK                   NJ
7958   1FBZX2YMXKKB40235   Ford        TRANSIT              NEWARK                   NJ
7959   1FBZX2YMXKKB40249   Ford        TRANSIT              NEWARK                   NJ
7960   1FBZX2YMXKKB40252   Ford        TRANSIT              NEWARK                   NJ
7961   1FBZX2ZM0JKB15034   Ford        TRANSIT              Fontana                  CA
7962   1FBZX2ZM0JKB20220   Ford        TRANSIT              GARDENA                  CA
7963   1FBZX2ZM0JKB20251   Ford        TRANSIT              LAS VEGAS                NV
7964   1FBZX2ZM0KKA38148   Ford        TRANSIT              ORLANDO                  FL
7965   1FBZX2ZM0KKA38151   Ford        TRANSIT              DANIA BEACH              FL
7966   1FBZX2ZM1JKB02034   Ford        TRANSIT              FORT LAUDERDALE          FL
7967   1FBZX2ZM1JKB02082   Ford        TRANSIT              PHOENIX                  AZ
7968   1FBZX2ZM1JKB20209   Ford        TRANSIT              DANIA                    FL
7969   1FBZX2ZM1JKB20226   Ford        TRANSIT              LAS VEGAS                NV
7970   1FBZX2ZM1JKB20243   Ford        TRANSIT              Hayward                  CA
7971   1FBZX2ZM1KKA49580   Ford        TRANSIT              ORLANDO                  FL
7972   1FBZX2ZM1KKA77783   Ford        TRANSIT              Slidell                  LA
7973   1FBZX2ZM1KKB02861   Ford        TRANSIT              EL PASO                  TX
7974   1FBZX2ZM2JKA67617   Ford        TRANSIT              SAINT PAUL               MN
7975   1FBZX2ZM2JKA67620   Ford        TRANSIT              LAS VEGAS                NV
7976   1FBZX2ZM2JKB02074   Ford        TRANSIT              NORTH PAC                CA
7977   1FBZX2ZM2JKB02186   Ford        TRANSIT              LOS ANGELES              CA
7978   1FBZX2ZM2JKB20266   Ford        TRANSIT              Miami                    FL
7979   1FBZX2ZM2JKB20316   Ford        TRANSIT              ORLANDO                  FL
7980   1FBZX2ZM2KKA38118   Ford        TRANSIT              Morrisville              NC
7981   1FBZX2ZM2KKA38149   Ford        TRANSIT              ORLANDO                  FL
7982   1FBZX2ZM2KKA38152   Ford        TRANSIT              ORLANDO                  FL
7983   1FBZX2ZM3JKA96477   Ford        TRANSIT              TAMPA                    FL
7984   1FBZX2ZM3JKB02164   Ford        TRANSIT              SALT LAKE CITY           UT
7985   1FBZX2ZM3JKB20227   Ford        TRANSIT              Ventura                  CA
7986   1FBZX2ZM3JKB20230   Ford        TRANSIT              SAN DIEGO                CA
7987   1FBZX2ZM3KKA20677   Ford        TRANSIT              LAS VEGAS                NV
7988   1FBZX2ZM3KKA23188   Ford        TRANSIT              PALM SPRINGS             CA
7989   1FBZX2ZM3KKA49578   Ford        TRANSIT              ORLANDO                  FL
7990   1FBZX2ZM3KKA77784   Ford        TRANSIT              MIAMI                    FL
7991   1FBZX2ZM3KKB26661   Ford        TRANSIT              STERLING                 VA
7992   1FBZX2ZM4JKA67618   Ford        TRANSIT              SANTA ANA                CA
7993   1FBZX2ZM4JKB02142   Ford        TRANSIT              MIAMI                    FL
7994   1FBZX2ZM4JKB02156   Ford        TRANSIT              BURBANK                  CA
7995   1FBZX2ZM4JKB15022   Ford        TRANSIT              SANTA ANA                CA
7996   1FBZX2ZM4JKB20236   Ford        TRANSIT              LAS VEGAS                NV
7997   1FBZX2ZM4JKB20303   Ford        TRANSIT              LAS VEGAS                NV
7998   1FBZX2ZM4KKA20669   Ford        TRANSIT              Salt Lake City           UT
7999   1FBZX2ZM4KKA38153   Ford        TRANSIT              ORLANDO                  FL
8000   1FBZX2ZM4KKB26653   Ford        TRANSIT              LOS ANGELES              CA
8001   1FBZX2ZM5JKA60645   Ford        TRANSIT              CHARLESTON               WV
8002   1FBZX2ZM5JKA67627   Ford        TRANSIT              LOS ANGELES              CA
8003   1FBZX2ZM5JKB02165   Ford        TRANSIT              LAS VEGAS                NV
8004   1FBZX2ZM5JKB20231   Ford        TRANSIT              LOS ANGELES              CA
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8005   1FBZX2ZM5JKB20262   Ford        TRANSIT              Torrance                 CA
8006   1FBZX2ZM5KKA18235   Ford        TRANSIT              KAHULUI MAUI             HI
8007   1FBZX2ZM5KKA20647   Ford        TRANSIT              LAS VEGAS                NV
8008   1FBZX2ZM5KKA20664   Ford        TRANSIT              AUSTIN                   TX
8009   1FBZX2ZM5KKA49579   Ford        TRANSIT              TAMPA                    FL
8010   1FBZX2ZM5KKA77785   Ford        TRANSIT              FT LAUDERDALE            FL
8011   1FBZX2ZM6JKA60590   Ford        TRANSIT              SAN DIEGO                CA
8012   1FBZX2ZM6JKB15040   Ford        TRANSIT              TAMPA                    FL
8013   1FBZX2ZM6JKB20318   Ford        TRANSIT              SAN DIEGO                CA
8014   1FBZX2ZM6KKA38140   Ford        TRANSIT              ORLANDO                  FL
8015   1FBZX2ZM6KKA38154   Ford        TRANSIT              ORLANDO                  FL
8016   1FBZX2ZM6KKA94840   Ford        TRANSIT              LAS VEGAS                NV
8017   1FBZX2ZM6KKB26654   Ford        TRANSIT              SAN DIEGO                CA
8018   1FBZX2ZM7JKA60582   Ford        TRANSIT              MIAMI                    FL
8019   1FBZX2ZM7JKB20229   Ford        TRANSIT              DETROIT                  MI
8020   1FBZX2ZM7JKB20294   Ford        TRANSIT              Albuquerque              NM
8021   1FBZX2ZM7KKA20648   Ford        TRANSIT              LAS VEGAS                NV
8022   1FBZX2ZM7KKA38115   Ford        TRANSIT              AUSTIN                   TX
8023   1FBZX2ZM7KKA38146   Ford        TRANSIT              FORT MYERS               FL
8024   1FBZX2ZM7KKB02850   Ford        TRANSIT              EL PASO                  TX
8025   1FBZX2ZM7KKB26663   Ford        TRANSIT              ALBUQUERQUE              NM
8026   1FBZX2ZM8JKA60574   Ford        TRANSIT              EAST BOSTON              MA
8027   1FBZX2ZM8JKA60610   Ford        TRANSIT              CHARLESTON               WV
8028   1FBZX2ZM8JKB02077   Ford        TRANSIT              LAS VEGAS                NV
8029   1FBZX2ZM8JKB20255   Ford        TRANSIT              LOS ANGELES              CA
8030   1FBZX2ZM8JKB20319   Ford        TRANSIT              Reno                     NV
8031   1FBZX2ZM8KKA20643   Ford        TRANSIT              Houston                  TX
8032   1FBZX2ZM8KKA23185   Ford        TRANSIT              LAS VEGAS                NV
8033   1FBZX2ZM8KKA38110   Ford        TRANSIT              AUSTIN                   TX
8034   1FBZX2ZM8KKA38138   Ford        TRANSIT              ORLANDO                  FL
8035   1FBZX2ZM8KKA38141   Ford        TRANSIT              MIAMI                    FL
8036   1FBZX2ZM8KKA94838   Ford        TRANSIT              SAN DIEGO                CA
8037   1FBZX2ZM9JKB02184   Ford        TRANSIT              LAS VEGAS                NV
8038   1FBZX2ZM9JKB20250   Ford        TRANSIT              San Diego                CA
8039   1FBZX2ZM9KKA20649   Ford        TRANSIT              LAS VEGAS                NV
8040   1FBZX2ZM9KKA38150   Ford        TRANSIT              ORLANDO                  FL
8041   1FBZX2ZM9KKA66904   Ford        TRANSIT              HOUSTON                  TX
8042   1FBZX2ZMXJKA60589   Ford        TRANSIT              LAS VEGAS                NV
8043   1FBZX2ZMXJKB20211   Ford        TRANSIT              JACKSON                  MS
8044   1FBZX2ZMXJKB20239   Ford        TRANSIT              LOS ANGELES              CA
8045   1FBZX2ZMXJKB20306   Ford        TRANSIT              SANTA BARBARA            CA
8046   1FBZX2ZMXJKB20323   Ford        TRANSIT              ORLANDO                  FL
8047   1FBZX2ZMXKKA38139   Ford        TRANSIT              ORLANDO                  FL
8048   1FBZX2ZMXKKA66894   Ford        TRANSIT              MIAMI                    FL
8049   1FBZX2ZMXKKB02860   Ford        TRANSIT              EL PASO                  TX
8050   1FM5K7D80KGA61234   Ford        EXPLORER             SAN DIEGO                CA
8051   1FM5K7D80KGA61251   Ford        EXPLORER             Woodhaven                MI
8052   1FM5K7D80KGA61265   Ford        EXPLORER             Salt Lake City           UT
8053   1FM5K7D80KGA61296   Ford        EXPLORER             ORLANDO                  FL
8054   1FM5K7D80KGA61301   Ford        EXPLORER             LOS ANGELES              CA
8055   1FM5K7D80KGA61315   Ford        EXPLORER             Miami                    FL
8056   1FM5K7D80KGA61332   Ford        EXPLORER             LOS ANGELES              CA
8057   1FM5K7D80KGA61587   Ford        EXPLORER             CHICAGO                  IL
8058   1FM5K7D80KGA61783   Ford        EXPLORER             SAN DIEGO                CA
8059   1FM5K7D80KGB26373   Ford        EXPLORER             SANTA ANA                CA
8060   1FM5K7D80KGB26714   Ford        EXPLORER             PALM SPRINGS             CA
8061   1FM5K7D80KGB47336   Ford        EXPLORER             TAMPA                    FL
8062   1FM5K7D81KGA61243   Ford        EXPLORER             SALT LAKE CITY           UT
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8063   1FM5K7D81KGA61257   Ford        EXPLORER             LOS ANGELES              CA
8064   1FM5K7D81KGA61260   Ford        EXPLORER             PHOENIX                  AZ
8065   1FM5K7D81KGA61274   Ford        EXPLORER             VANDALIA                 OH
8066   1FM5K7D81KGA61288   Ford        EXPLORER             SAN DIEGO                CA
8067   1FM5K7D81KGA61307   Ford        EXPLORER             SAN DIEGO                CA
8068   1FM5K7D81KGA61324   Ford        EXPLORER             PORTLAND                 OR
8069   1FM5K7D81KGA61727   Ford        EXPLORER             LOS ANGELES              CA
8070   1FM5K7D81KGA61792   Ford        EXPLORER             SAN DIEGO                CA
8071   1FM5K7D81KGA61856   Ford        EXPLORER             BURBANK                  CA
8072   1FM5K7D81KGB26205   Ford        EXPLORER             OAKLAND                  CA
8073   1FM5K7D81KGB26365   Ford        EXPLORER             Los Angeles              CA
8074   1FM5K7D81KGB47345   Ford        EXPLORER             HOUSTON                  TX
8075   1FM5K7D82KGA61235   Ford        EXPLORER             LAS VEGAS                NV
8076   1FM5K7D82KGA61249   Ford        EXPLORER             LAS VEGAS                NV
8077   1FM5K7D82KGA61252   Ford        EXPLORER             BURBANK                  CA
8078   1FM5K7D82KGA61283   Ford        EXPLORER             CHICAGO                  IL
8079   1FM5K7D82KGA61297   Ford        EXPLORER             STERLING                 VA
8080   1FM5K7D82KGA61302   Ford        EXPLORER             PHOENIX                  AZ
8081   1FM5K7D82KGA61333   Ford        EXPLORER             LOS ANGELES              CA
8082   1FM5K7D82KGA61574   Ford        EXPLORER             BURBANK                  CA
8083   1FM5K7D82KGA61588   Ford        EXPLORER             DALLAS                   TX
8084   1FM5K7D82KGA61784   Ford        EXPLORER             Phoenix                  AZ
8085   1FM5K7D82KGA61798   Ford        EXPLORER             MIAMI                    FL
8086   1FM5K7D82KGA61851   Ford        EXPLORER             PHOENIX                  AZ
8087   1FM5K7D82KGB25743   Ford        EXPLORER             BURBANK                  CA
8088   1FM5K7D82KGB26374   Ford        EXPLORER             LAS VEGAS                NV
8089   1FM5K7D82KGB47337   Ford        EXPLORER             SALT LAKE CITY           US
8090   1FM5K7D83KGA61244   Ford        EXPLORER             SAN DIEGO                CA
8091   1FM5K7D83KGA61258   Ford        EXPLORER             WHITE PLAINS             NY
8092   1FM5K7D83KGA61275   Ford        EXPLORER             INGLEWOOD                CA
8093   1FM5K7D83KGA61292   Ford        EXPLORER             LAS VEGAS                NV
8094   1FM5K7D83KGA61308   Ford        EXPLORER             SAN DIEGO                CA
8095   1FM5K7D83KGA61311   Ford        EXPLORER             SAN DIEGO                CA
8096   1FM5K7D83KGA61325   Ford        EXPLORER             BURBANK                  CA
8097   1FM5K7D83KGA61583   Ford        EXPLORER             SAN DIEGO                CA
8098   1FM5K7D83KGA61728   Ford        EXPLORER             PALM SPRINGS             CA
8099   1FM5K7D83KGA61731   Ford        EXPLORER             ONTARIO                  CA
8100   1FM5K7D83KGA61793   Ford        EXPLORER             LOS ANGELES              CA
8101   1FM5K7D83KGA61857   Ford        EXPLORER             SAN DIEGO                CA
8102   1FM5K7D83KGB25735   Ford        EXPLORER             Houston                  TX
8103   1FM5K7D83KGB26206   Ford        EXPLORER             LOS ANGELES              CA
8104   1FM5K7D83KGB26366   Ford        EXPLORER             SAN DIEGO                CA
8105   1FM5K7D84KGA61236   Ford        EXPLORER             Norwalk                  CA
8106   1FM5K7D84KGA61253   Ford        EXPLORER             PHOENIX                  AZ
8107   1FM5K7D84KGA61267   Ford        EXPLORER             PHOENIX                  AZ
8108   1FM5K7D84KGA61270   Ford        EXPLORER             ONTARIO                  CA
8109   1FM5K7D84KGA61298   Ford        EXPLORER             LOS ANGELES              CA
8110   1FM5K7D84KGA61303   Ford        EXPLORER             LAS VEGAS                NV
8111   1FM5K7D84KGA61317   Ford        EXPLORER             PHOENIX                  AZ
8112   1FM5K7D84KGA61334   Ford        EXPLORER             WEST COLUMBIA            SC
8113   1FM5K7D84KGA61575   Ford        EXPLORER             LOS ANGELES              CA
8114   1FM5K7D84KGA61852   Ford        EXPLORER             ST PAUL                  MN
8115   1FM5K7D84KGB25730   Ford        EXPLORER             ONTARIO, RIVERSIDE       CA
8116   1FM5K7D84KGB47355   Ford        EXPLORER             CHICAGO                  IL
8117   1FM5K7D85KGA61245   Ford        EXPLORER             DENVER                   CO
8118   1FM5K7D85KGA61262   Ford        EXPLORER             Houston                  TX
8119   1FM5K7D85KGA61276   Ford        EXPLORER             NEW YORK CITY            NY
8120   1FM5K7D85KGA61326   Ford        EXPLORER             LAS VEGAS                NV
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8121   1FM5K7D85KGA61505   Ford        EXPLORER             ORLANDO                  FL
8122   1FM5K7D85KGA61570   Ford        EXPLORER             LAS VEGAS                NV
8123   1FM5K7D85KGA61732   Ford        EXPLORER             PHOENIX                  AZ
8124   1FM5K7D85KGA61780   Ford        EXPLORER             LOS ANGELES              CA
8125   1FM5K7D85KGB26207   Ford        EXPLORER             SACRAMENTO               CA
8126   1FM5K7D85KGB26210   Ford        EXPLORER             LOS ANGELES              CA
8127   1FM5K7D85KGB47347   Ford        EXPLORER             ORLANDO                  FL
8128   1FM5K7D85KGB47350   Ford        EXPLORER             GREENVILLE               NC
8129   1FM5K7D86HGA67113   Ford        EXPLORER             Hialeah                  FL
8130   1FM5K7D86KGA61237   Ford        EXPLORER             LAS VEGAS                NV
8131   1FM5K7D86KGA61240   Ford        EXPLORER             HOUSTON                  TX
8132   1FM5K7D86KGA61254   Ford        EXPLORER             CHICAGO                  IL
8133   1FM5K7D86KGA61268   Ford        EXPLORER             ONTARIO                  CA
8134   1FM5K7D86KGA61285   Ford        EXPLORER             LAS VEGAS                NV
8135   1FM5K7D86KGA61299   Ford        EXPLORER             PANAMA CITY              FL
8136   1FM5K7D86KGA61304   Ford        EXPLORER             PALM SPRINGS             CA
8137   1FM5K7D86KGA61576   Ford        EXPLORER             BURBANK                  CA
8138   1FM5K7D86KGA61724   Ford        EXPLORER             SAINT PAUL               MN
8139   1FM5K7D86KGA61786   Ford        EXPLORER             LOS ANGELES              CA
8140   1FM5K7D86KGB25728   Ford        EXPLORER             LOS ANGELES              CA
8141   1FM5K7D86KGB25731   Ford        EXPLORER             LOS ANGELES              CA
8142   1FM5K7D86KGB25745   Ford        EXPLORER             LOS ANGELES              CA
8143   1FM5K7D86KGB26216   Ford        EXPLORER             SANTA ANA                CA
8144   1FM5K7D87KGA61229   Ford        EXPLORER             BURBANK                  CA
8145   1FM5K7D87KGA61232   Ford        EXPLORER             FRESNO                   CA
8146   1FM5K7D87KGA61246   Ford        EXPLORER             BURBANK                  CA
8147   1FM5K7D87KGA61263   Ford        EXPLORER             SARASOTA                 FL
8148   1FM5K7D87KGA61313   Ford        EXPLORER             VALLEJO                  CA
8149   1FM5K7D87KGA61330   Ford        EXPLORER             LOS ANGELES              CA
8150   1FM5K7D87KGA61506   Ford        EXPLORER             DALLAS                   TX
8151   1FM5K7D87KGA61571   Ford        EXPLORER             LOS ANGELES              CA
8152   1FM5K7D87KGA61585   Ford        EXPLORER             TUCSON                   AZ
8153   1FM5K7D87KGA61781   Ford        EXPLORER             BURBANK                  CA
8154   1FM5K7D87KGA61795   Ford        EXPLORER             MIAMI                    FL
8155   1FM5K7D87KGB25737   Ford        EXPLORER             MIAMI                    FL
8156   1FM5K7D87KGB26208   Ford        EXPLORER             FRESNO                   CA
8157   1FM5K7D87KGB26368   Ford        EXPLORER             LOS ANGELES AP           CA
8158   1FM5K7D87KGB26371   Ford        EXPLORER             PHOENIX                  AZ
8159   1FM5K7D87KGB47348   Ford        EXPLORER             WEST COLUMBIA            SC
8160   1FM5K7D88KGA61255   Ford        EXPLORER             AUSTIN                   TX
8161   1FM5K7D88KGA61269   Ford        EXPLORER             LOS ANGELES              CA
8162   1FM5K7D88KGA61272   Ford        EXPLORER             SAN FRANCISCO            CA
8163   1FM5K7D88KGA61286   Ford        EXPLORER             DALLAS                   TX
8164   1FM5K7D88KGA61305   Ford        EXPLORER             SAN ANTONIO              TX
8165   1FM5K7D88KGA61322   Ford        EXPLORER             LOS ANGELES AP           CA
8166   1FM5K7D88KGA61580   Ford        EXPLORER             LAS VEGAS                NV
8167   1FM5K7D88KGA61725   Ford        EXPLORER             LOS ANGELES              CA
8168   1FM5K7D88KGA61854   Ford        EXPLORER             GARDENA                  CA
8169   1FM5K7D88KGB25732   Ford        EXPLORER             LAS VEGAS                NV
8170   1FM5K7D88KGB26721   Ford        EXPLORER             ONTARIO                  CA
8171   1FM5K7D89KGA61233   Ford        EXPLORER             LOS ANGELES              CA
8172   1FM5K7D89KGA61247   Ford        EXPLORER             LAS VEGAS                NV
8173   1FM5K7D89KGA61250   Ford        EXPLORER             LOS ANGELES              CA
8174   1FM5K7D89KGA61281   Ford        EXPLORER             SAN DIEGO                CA
8175   1FM5K7D89KGA61300   Ford        EXPLORER             LOS ANGELES              CA
8176   1FM5K7D89KGA61314   Ford        EXPLORER             LOS ANGELES              CA
8177   1FM5K7D89KGA61328   Ford        EXPLORER             WOODLAND HILLS           CA
8178   1FM5K7D89KGA61569   Ford        EXPLORER             SAN DIEGO                CA
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8179   1FM5K7D89KGA61572   Ford        EXPLORER             OAKLAND                  CA
8180   1FM5K7D89KGA61586   Ford        EXPLORER             STERLING                 VA
8181   1FM5K7D89KGA61782   Ford        EXPLORER             SAN DIEGO                CA
8182   1FM5K7D89KGB25741   Ford        EXPLORER             DALLAS                   TX
8183   1FM5K7D89KGB26369   Ford        EXPLORER             NASHVILLE                TN
8184   1FM5K7D89KGB26713   Ford        EXPLORER             SEATAC                   WA
8185   1FM5K7D89KGB47349   Ford        EXPLORER             ORLANDO                  FL
8186   1FM5K7D89KGB47352   Ford        EXPLORER             JACKSONVILLE             FL
8187   1FM5K7D8XKGA61242   Ford        EXPLORER             RALEIGH                  NC
8188   1FM5K7D8XKGA61287   Ford        EXPLORER             SAN DIEGO                CA
8189   1FM5K7D8XKGA61290   Ford        EXPLORER             SCOTTSDALE               AZ
8190   1FM5K7D8XKGA61306   Ford        EXPLORER             MIAMI                    FL
8191   1FM5K7D8XKGA61578   Ford        EXPLORER             SAN DIEGO                CA
8192   1FM5K7D8XKGA61581   Ford        EXPLORER             SANTA ANA                CA
8193   1FM5K7D8XKGA61788   Ford        EXPLORER             SEA TAC                  WA
8194   1FM5K7D8XKGA61791   Ford        EXPLORER             LOS ANGELES              CA
8195   1FM5K7D8XKGA61855   Ford        EXPLORER             SANTA ANA                CA
8196   1FM5K7D8XKGB25733   Ford        EXPLORER             MONROE                   NC
8197   1FM5K7D8XKGB26719   Ford        EXPLORER             HOUSTON                  TX
8198   1FM5K7DH7HGB43728   Ford        EXPLORER             MIAMI                    FL
8199   1FM5K7F86KGA17414   Ford        EXPLORER             DANIA BEACH              FL
8200   1FM5K7F87KGA64113   Ford        EXPLORER             TAMPA                    FL
8201   1FM5K8D80HGC77602   Ford        EXPLORER             Ocoee                    FL
8202   1FM5K8D80HGC90074   Ford        EXPLORER             KENNER                   LA
8203   1FM5K8D80HGD05138   Ford        EXPLORER             ANCHORAGE                AK
8204   1FM5K8D80JGA27850   Ford        EXPLORER             Hartford                 CT
8205   1FM5K8D80JGA36502   Ford        EXPLORER
8206   1FM5K8D80JGA43384   Ford        EXPLORER             RONKONKOMA               NY
8207   1FM5K8D80JGA45622   Ford        EXPLORER             Massapequa               NY
8208   1FM5K8D80JGA45720   Ford        EXPLORER             Indianapolis             IN
8209   1FM5K8D80JGA56927   Ford        EXPLORER             Bordentown               NJ
8210   1FM5K8D80JGB18570   Ford        EXPLORER             SYRACUSE                 NY
8211   1FM5K8D80JGB80468   Ford        EXPLORER             Manheim                  PA
8212   1FM5K8D80JGB80471   Ford        EXPLORER             PHILADELPHIA             PA
8213   1FM5K8D80JGB90966   Ford        EXPLORER             Manheim                  PA
8214   1FM5K8D80JGB91003   Ford        EXPLORER             Rio Linda                CA
8215   1FM5K8D80JGB91017   Ford        EXPLORER             Ontario                  CA
8216   1FM5K8D80JGB91034   Ford        EXPLORER             SEATAC                   WA
8217   1FM5K8D80JGB91065   Ford        EXPLORER             SAN FRANCISCO            CA
8218   1FM5K8D80JGB91101   Ford        EXPLORER             Ventura                  CA
8219   1FM5K8D80JGB91129   Ford        EXPLORER             Rio Linda                CA
8220   1FM5K8D80JGB91180   Ford        EXPLORER             SAN DIEGO                CA
8221   1FM5K8D80JGB91194   Ford        EXPLORER             Fontana                  CA
8222   1FM5K8D80JGB91213   Ford        EXPLORER             DENVER                   CO
8223   1FM5K8D80JGB91230   Ford        EXPLORER             Dallas                   TX
8224   1FM5K8D80JGB91244   Ford        EXPLORER             Riverside                CA
8225   1FM5K8D80JGB91339   Ford        EXPLORER             SARASOTA                 FL
8226   1FM5K8D80JGC06972   Ford        EXPLORER             Rio Linda                CA
8227   1FM5K8D80JGC07006   Ford        EXPLORER             OAKLAND                  CA
8228   1FM5K8D80JGC07023   Ford        EXPLORER             Houston                  TX
8229   1FM5K8D80JGC15011   Ford        EXPLORER             Statesville              NC
8230   1FM5K8D80JGC15025   Ford        EXPLORER             BALTIMORE                MD
8231   1FM5K8D80JGC15056   Ford        EXPLORER             Detroit                  MI
8232   1FM5K8D80JGC15087   Ford        EXPLORER             Denver                   CO
8233   1FM5K8D80JGC15106   Ford        EXPLORER             Aurora                   CO
8234   1FM5K8D80JGC15123   Ford        EXPLORER             Costa Mesa               CA
8235   1FM5K8D80JGC15154   Ford        EXPLORER             LAS VEGAS                NV
8236   1FM5K8D80JGC15171   Ford        EXPLORER             Riverside                CA
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8237   1FM5K8D80JGC15185   Ford        EXPLORER             OXNARD AP                CA
8238   1FM5K8D80JGC15199   Ford        EXPLORER             Ventura                  CA
8239   1FM5K8D80JGC15204   Ford        EXPLORER             AUSTIN                   TX
8240   1FM5K8D80JGC15221   Ford        EXPLORER             ONTARIO                  CA
8241   1FM5K8D80JGC15249   Ford        EXPLORER             Los Angeles              CA
8242   1FM5K8D80JGC15252   Ford        EXPLORER             SACRAMENTO               CA
8243   1FM5K8D80JGC15302   Ford        EXPLORER             SAN DIEGO                CA
8244   1FM5K8D80JGC15350   Ford        EXPLORER             San Diego                CA
8245   1FM5K8D80JGC15364   Ford        EXPLORER             Costa Mesa               CA
8246   1FM5K8D80JGC15378   Ford        EXPLORER             FULLERTON                CA
8247   1FM5K8D80JGC15445   Ford        EXPLORER             Norwalk                  CA
8248   1FM5K8D80JGC15462   Ford        EXPLORER             SANTA ANA                CA
8249   1FM5K8D80JGC15476   Ford        EXPLORER             GYPSUM                   CO
8250   1FM5K8D80JGC15493   Ford        EXPLORER             DENVER                   CO
8251   1FM5K8D80JGC15509   Ford        EXPLORER             SAC                      CA
8252   1FM5K8D80JGC15543   Ford        EXPLORER             Caledonia                WI
8253   1FM5K8D80JGC15607   Ford        EXPLORER             Kent                     WA
8254   1FM5K8D80JGC15610   Ford        EXPLORER             Statesville              NC
8255   1FM5K8D80JGC15641   Ford        EXPLORER             Tampa                    FL
8256   1FM5K8D80JGC15655   Ford        EXPLORER             SACRAMENTO               CA
8257   1FM5K8D80JGC15669   Ford        EXPLORER             HOUSTON                  TX
8258   1FM5K8D80JGC15672   Ford        EXPLORER             Riverside                CA
8259   1FM5K8D80JGC15719   Ford        EXPLORER             Denver                   CO
8260   1FM5K8D80JGC15767   Ford        EXPLORER             SAN DIEGO                CA
8261   1FM5K8D80JGC15770   Ford        EXPLORER             SAINT PAUL               MN
8262   1FM5K8D80JGC15784   Ford        EXPLORER             SANTA ANA                CA
8263   1FM5K8D80JGC15803   Ford        EXPLORER             SAN FRANCISCO            CA
8264   1FM5K8D80JGC15820   Ford        EXPLORER             BALTIMORE                MD
8265   1FM5K8D80JGC15834   Ford        EXPLORER             North Dighton            MA
8266   1FM5K8D80JGC15848   Ford        EXPLORER             SAN DIEGO                CA
8267   1FM5K8D80JGC15851   Ford        EXPLORER             ORANGE COUNTY            CA
8268   1FM5K8D80JGC15865   Ford        EXPLORER             Norwalk                  CA
8269   1FM5K8D80JGC15915   Ford        EXPLORER             ALBUQUERQUE              NM
8270   1FM5K8D80JGC15963   Ford        EXPLORER             Norwalk                  CA
8271   1FM5K8D80JGC15977   Ford        EXPLORER             JACKSON                  MS
8272   1FM5K8D80JGC15994   Ford        EXPLORER             PORTLAND                 OR
8273   1FM5K8D80JGC16000   Ford        EXPLORER             North Dighton            MA
8274   1FM5K8D80JGC16014   Ford        EXPLORER             Burien                   WA
8275   1FM5K8D80JGC16028   Ford        EXPLORER             SANTA BARBARA            CA
8276   1FM5K8D80JGC16031   Ford        EXPLORER             DENVER                   CO
8277   1FM5K8D80JGC16059   Ford        EXPLORER             LAS VEGAS                NV
8278   1FM5K8D80JGC16062   Ford        EXPLORER             GYPSUM                   CO
8279   1FM5K8D80JGC16109   Ford        EXPLORER             MIDLAND                  TX
8280   1FM5K8D80JGC33931   Ford        EXPLORER             Fontana                  CA
8281   1FM5K8D80KGA42799   Ford        EXPLORER             Fontana                  CA
8282   1FM5K8D80KGA61384   Ford        EXPLORER             KANSAS CITY              MO
8283   1FM5K8D80KGA61398   Ford        EXPLORER             SAINT LOUIS              MO
8284   1FM5K8D80KGA61403   Ford        EXPLORER             DES MOINES               IA
8285   1FM5K8D80KGA61417   Ford        EXPLORER             PORTLAND                 OR
8286   1FM5K8D80KGA61420   Ford        EXPLORER             PHOENIX                  AZ
8287   1FM5K8D80KGA61434   Ford        EXPLORER             SACRAMENTO               CA
8288   1FM5K8D80KGA61448   Ford        EXPLORER             LOS ANGELES              CA
8289   1FM5K8D80KGA61451   Ford        EXPLORER             LOS ANGELES              CA
8290   1FM5K8D80KGA61465   Ford        EXPLORER             LAS VEGAS                NV
8291   1FM5K8D80KGA61479   Ford        EXPLORER             FORT LAUDERDALE          FL
8292   1FM5K8D80KGA61496   Ford        EXPLORER             PALM S                   CA
8293   1FM5K8D80KGA61515   Ford        EXPLORER             AUSTIN                   TX
8294   1FM5K8D80KGA61529   Ford        EXPLORER             LAS VEGAS                NV
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8295   1FM5K8D80KGA61594   Ford        EXPLORER             MILWAUKEE                WI
8296   1FM5K8D80KGA61613   Ford        EXPLORER             ANCHORAGE                AK
8297   1FM5K8D80KGA61630   Ford        EXPLORER             PORTLAND                 OR
8298   1FM5K8D80KGA61658   Ford        EXPLORER             CHICAGO                  IL
8299   1FM5K8D80KGA61661   Ford        EXPLORER             SAN FRANCISCO            CA
8300   1FM5K8D80KGA61689   Ford        EXPLORER             SALT LAKE CITY           UT
8301   1FM5K8D80KGA61711   Ford        EXPLORER             PHOENIX                  AZ
8302   1FM5K8D80KGA61739   Ford        EXPLORER             Lake in the Hil          IL
8303   1FM5K8D80KGA61806   Ford        EXPLORER             SAN DIEGO                CA
8304   1FM5K8D80KGA61823   Ford        EXPLORER             SANTA ANA                CA
8305   1FM5K8D80KGA61868   Ford        EXPLORER             LOS ANGELES AP           CA
8306   1FM5K8D80KGA61871   Ford        EXPLORER             LOS ANGELES              CA
8307   1FM5K8D80KGA61885   Ford        EXPLORER             SACRAMENTO               CA
8308   1FM5K8D80KGA61899   Ford        EXPLORER             SACRAMENTO               CA
8309   1FM5K8D80KGA61904   Ford        EXPLORER             LAS VEGAS                NV
8310   1FM5K8D80KGB25424   Ford        EXPLORER             PHILADELPHIA             PA
8311   1FM5K8D80KGB25441   Ford        EXPLORER             Fairburn                 GA
8312   1FM5K8D80KGB25455   Ford        EXPLORER             LOS ANGELES              CA
8313   1FM5K8D80KGB25519   Ford        EXPLORER             PHILADELPHIA             PA
8314   1FM5K8D80KGB25861   Ford        EXPLORER             MEDINA                   OH
8315   1FM5K8D80KGB25956   Ford        EXPLORER             STERLING                 VA
8316   1FM5K8D80KGB25990   Ford        EXPLORER             NEW YORK CITY            NY
8317   1FM5K8D80KGB26010   Ford        EXPLORER             MIDDLE RIVER             MD
8318   1FM5K8D80KGB26024   Ford        EXPLORER             STERLING                 VA
8319   1FM5K8D80KGB26038   Ford        EXPLORER             MYRTLE BEACH             SC
8320   1FM5K8D80KGB26055   Ford        EXPLORER             ORLANDO                  FL
8321   1FM5K8D80KGB26069   Ford        EXPLORER             KANSAS CITY              MO
8322   1FM5K8D80KGB26119   Ford        EXPLORER             LOS ANGELES              CA
8323   1FM5K8D80KGB26136   Ford        EXPLORER             Hendersonville           TN
8324   1FM5K8D80KGB26217   Ford        EXPLORER             Memphis                  TN
8325   1FM5K8D80KGB26220   Ford        EXPLORER             NORFOLK                  VA
8326   1FM5K8D80KGB26427   Ford        EXPLORER             STERLING                 VA
8327   1FM5K8D80KGB26668   Ford        EXPLORER             RALEIGH, DURHAM          NC
8328   1FM5K8D80KGB26699   Ford        EXPLORER             NEWARK                   NJ
8329   1FM5K8D80KGB26704   Ford        EXPLORER             MONTGOMERY               AL
8330   1FM5K8D80KGB26900   Ford        EXPLORER             FORT LAUDERDALE          FL
8331   1FM5K8D80KGB26914   Ford        EXPLORER             DES MOINES               IA
8332   1FM5K8D80KGB26931   Ford        EXPLORER             CLEVELAND                OH
8333   1FM5K8D80KGB46483   Ford        EXPLORER             KENNER                   LA
8334   1FM5K8D80KGB46533   Ford        EXPLORER             Greensboro               NC
8335   1FM5K8D80KGB46547   Ford        EXPLORER             COLLEGE PARK             GA
8336   1FM5K8D80KGB46578   Ford        EXPLORER             ATLANTA                  GA
8337   1FM5K8D80KGB46600   Ford        EXPLORER             TAMPA                    FL
8338   1FM5K8D80KGB46628   Ford        EXPLORER             WHITE PLAINS             NY
8339   1FM5K8D80KGB46645   Ford        EXPLORER             HOUSTON                  TX
8340   1FM5K8D80KGB46659   Ford        EXPLORER             Teterboro                NJ
8341   1FM5K8D80KGB46662   Ford        EXPLORER             PHILADELPHIA             PA
8342   1FM5K8D80KGB46676   Ford        EXPLORER             NORFOLK                  VA
8343   1FM5K8D80KGB46709   Ford        EXPLORER             PHILADELPHIA             PA
8344   1FM5K8D80KGB46712   Ford        EXPLORER             Hattiesburg              MS
8345   1FM5K8D80KGB46726   Ford        EXPLORER             KNOXVILLE                TN
8346   1FM5K8D80KGB46757   Ford        EXPLORER             MIAMI                    FL
8347   1FM5K8D80KGB46760   Ford        EXPLORER             LOS ANGELES              CA
8348   1FM5K8D80KGB46788   Ford        EXPLORER             JACKSONVILLE             FL
8349   1FM5K8D80KGB46791   Ford        EXPLORER             LYNCHBURG                VA
8350   1FM5K8D80KGB46810   Ford        EXPLORER             PORTLAND                 OR
8351   1FM5K8D80KGB46824   Ford        EXPLORER             PHOENIX                  AZ
8352   1FM5K8D80KGB46838   Ford        EXPLORER             DETROIT                  MI
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8353   1FM5K8D80KGB46841   Ford        EXPLORER             PHOENIX                  AZ
8354   1FM5K8D80KGB46872   Ford        EXPLORER             LOS ANGELES              CA
8355   1FM5K8D80KGB46886   Ford        EXPLORER             SAN JOSE                 CA
8356   1FM5K8D80KGB47181   Ford        EXPLORER             SACRAMENTO               CA
8357   1FM5K8D80KGB47195   Ford        EXPLORER             CLEVELAND                OH
8358   1FM5K8D80KGB47214   Ford        EXPLORER             CHARLESTON               WV
8359   1FM5K8D80KGB47228   Ford        EXPLORER             STERLING                 VA
8360   1FM5K8D80KGB47245   Ford        EXPLORER             CHICAGO                  IL
8361   1FM5K8D80KGB47259   Ford        EXPLORER             PHILADELPHIA             PA
8362   1FM5K8D80KGB47312   Ford        EXPLORER             Teterboro                NJ
8363   1FM5K8D80KGB47360   Ford        EXPLORER             RICHMOND                 VA
8364   1FM5K8D80KGB47374   Ford        EXPLORER             WEST COLUMBIA            SC
8365   1FM5K8D80KGB47391   Ford        EXPLORER             CHICAGO                  IL
8366   1FM5K8D80KGB47424   Ford        EXPLORER             FORT MYERS               FL
8367   1FM5K8D80KGB47455   Ford        EXPLORER             Austin                   TX
8368   1FM5K8D80KGB47486   Ford        EXPLORER             STERLING                 VA
8369   1FM5K8D80KGB48024   Ford        EXPLORER             BURBANK                  CA
8370   1FM5K8D80KGB48041   Ford        EXPLORER             SAN FRANCISCO            CA
8371   1FM5K8D80KGB48055   Ford        EXPLORER             SAN JOSE                 CA
8372   1FM5K8D80KGB48069   Ford        EXPLORER             SAINT PAUL               MN
8373   1FM5K8D80KGB48119   Ford        EXPLORER             CHARLOTTE                NC
8374   1FM5K8D80KGB48136   Ford        EXPLORER             Atlanta                  GA
8375   1FM5K8D80KGB48668   Ford        EXPLORER             GREENVILLE               NC
8376   1FM5K8D80KGB48699   Ford        EXPLORER             ROCHESTER                NY
8377   1FM5K8D80KGB48704   Ford        EXPLORER             CHARLOTTE                NC
8378   1FM5K8D80KGB48721   Ford        EXPLORER             PHILADELPHIA             PA
8379   1FM5K8D80KGB48735   Ford        EXPLORER             SEATAC                   WA
8380   1FM5K8D80KGB48752   Ford        EXPLORER             PHOENIX                  AZ
8381   1FM5K8D80KGB48766   Ford        EXPLORER             HOUSTON                  TX
8382   1FM5K8D80KGB49030   Ford        EXPLORER             SANTA ANA                CA
8383   1FM5K8D80KGB49075   Ford        EXPLORER             SANTA CLARA              CA
8384   1FM5K8D80KGB49156   Ford        EXPLORER             Atlanta                  GA
8385   1FM5K8D80KGB49187   Ford        EXPLORER             OMAHA                    NE
8386   1FM5K8D80KGB49190   Ford        EXPLORER             Atlanta                  GA
8387   1FM5K8D80KGB49335   Ford        EXPLORER             LAS VEGAS                NV
8388   1FM5K8D81HGB80151   Ford        EXPLORER             Tolleson                 AZ
8389   1FM5K8D81HGC90066   Ford        EXPLORER             ONTARIO                  CA
8390   1FM5K8D81HGD05083   Ford        EXPLORER             ANCHORAGE                AK
8391   1FM5K8D81HGD57247   Ford        EXPLORER             SAN JOSE                 CA
8392   1FM5K8D81HGD57295   Ford        EXPLORER             Bordentown               NJ
8393   1FM5K8D81HGD57328   Ford        EXPLORER             Mira Loma                CA
8394   1FM5K8D81HGD64814   Ford        EXPLORER             Hayward                  CA
8395   1FM5K8D81JGA15044   Ford        EXPLORER             PORTLAND                 OR
8396   1FM5K8D81JGA27971   Ford        EXPLORER             LOS ANGELES              CA
8397   1FM5K8D81JGA27985   Ford        EXPLORER             Manheim                  PA
8398   1FM5K8D81JGA45595   Ford        EXPLORER             Philadelphia             PA
8399   1FM5K8D81JGA56886   Ford        EXPLORER             Warminster               PA
8400   1FM5K8D81JGA81528   Ford        EXPLORER             Atlanta                  GA
8401   1FM5K8D81JGA81531   Ford        EXPLORER             DALLAS                   TX
8402   1FM5K8D81JGB90961   Ford        EXPLORER             Denver                   CO
8403   1FM5K8D81JGB90989   Ford        EXPLORER             SAN FRANCISCO            CA
8404   1FM5K8D81JGB91043   Ford        EXPLORER             LOS ANGELES              CA
8405   1FM5K8D81JGB91057   Ford        EXPLORER             GYPSUM                   CO
8406   1FM5K8D81JGB91060   Ford        EXPLORER             Anaheim                  CA
8407   1FM5K8D81JGB91155   Ford        EXPLORER             FORT MYERS               FL
8408   1FM5K8D81JGB91169   Ford        EXPLORER             SAN FRANCISCO            CA
8409   1FM5K8D81JGB91172   Ford        EXPLORER             Fontana                  CA
8410   1FM5K8D81JGB91219   Ford        EXPLORER             PORTLAND                 OR
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8411   1FM5K8D81JGB91222   Ford        EXPLORER             Manheim                  PA
8412   1FM5K8D81JGB91253   Ford        EXPLORER             SEATTLE                  WA
8413   1FM5K8D81JGB91284   Ford        EXPLORER             Kent                     WA
8414   1FM5K8D81JGB91303   Ford        EXPLORER             Burien                   WA
8415   1FM5K8D81JGC06950   Ford        EXPLORER             Denver                   CO
8416   1FM5K8D81JGC06964   Ford        EXPLORER             SAN DIEGO                CA
8417   1FM5K8D81JGC06978   Ford        EXPLORER             Fontana                  CA
8418   1FM5K8D81JGC06981   Ford        EXPLORER             Ocoee                    FL
8419   1FM5K8D81JGC06995   Ford        EXPLORER             PHOENIX                  AZ
8420   1FM5K8D81JGC14997   Ford        EXPLORER             Baltimore                MD
8421   1FM5K8D81JGC15003   Ford        EXPLORER             SOUTHEAST DST OFFC       OK
8422   1FM5K8D81JGC15034   Ford        EXPLORER             Riverside                CA
8423   1FM5K8D81JGC15048   Ford        EXPLORER             LAS VEGAS                NV
8424   1FM5K8D81JGC15132   Ford        EXPLORER             BOSTON                   MA
8425   1FM5K8D81JGC15177   Ford        EXPLORER             Torrance                 CA
8426   1FM5K8D81JGC15180   Ford        EXPLORER             Coraopolis               PA
8427   1FM5K8D81JGC15213   Ford        EXPLORER             AUSTIN                   TX
8428   1FM5K8D81JGC15227   Ford        EXPLORER             PHOENIX                  AZ
8429   1FM5K8D81JGC15230   Ford        EXPLORER             Lake Elsinore            CA
8430   1FM5K8D81JGC15325   Ford        EXPLORER             SEATAC                   WA
8431   1FM5K8D81JGC15373   Ford        EXPLORER             Manheim                  PA
8432   1FM5K8D81JGC15423   Ford        EXPLORER             NEW YORK CITY            NY
8433   1FM5K8D81JGC15437   Ford        EXPLORER             SAN DIEGO                CA
8434   1FM5K8D81JGC15440   Ford        EXPLORER             ONTARIO                  CA
8435   1FM5K8D81JGC15468   Ford        EXPLORER             Fontana                  CA
8436   1FM5K8D81JGC15471   Ford        EXPLORER             Statesville              NC
8437   1FM5K8D81JGC15485   Ford        EXPLORER             Bensalem                 PA
8438   1FM5K8D81JGC15535   Ford        EXPLORER             FAIRFIELD                CA
8439   1FM5K8D81JGC15549   Ford        EXPLORER             DES MOINES               IA
8440   1FM5K8D81JGC15552   Ford        EXPLORER             PITTSBURGH               PA
8441   1FM5K8D81JGC15583   Ford        EXPLORER             SAINT PAUL               MN
8442   1FM5K8D81JGC15602   Ford        EXPLORER             Statesville              NC
8443   1FM5K8D81JGC15650   Ford        EXPLORER             PHILADELPHIA             PA
8444   1FM5K8D81JGC15678   Ford        EXPLORER             SEATAC                   WA
8445   1FM5K8D81JGC15681   Ford        EXPLORER             Irving                   TX
8446   1FM5K8D81JGC15695   Ford        EXPLORER             SALT LAKE CITY           UT
8447   1FM5K8D81JGC15728   Ford        EXPLORER             Tampa                    FL
8448   1FM5K8D81JGC15731   Ford        EXPLORER             Torrance                 CA
8449   1FM5K8D81JGC15745   Ford        EXPLORER             DENVER                   CO
8450   1FM5K8D81JGC15759   Ford        EXPLORER             Burien                   WA
8451   1FM5K8D81JGC15762   Ford        EXPLORER             SAINT LOUIS              MO
8452   1FM5K8D81JGC15776   Ford        EXPLORER             Sterling                 VA
8453   1FM5K8D81JGC15809   Ford        EXPLORER             PHOENIX                  AZ
8454   1FM5K8D81JGC15812   Ford        EXPLORER             PHOENIX                  AZ
8455   1FM5K8D81JGC15857   Ford        EXPLORER             DENVER                   CO
8456   1FM5K8D81JGC15860   Ford        EXPLORER             Ontario                  CA
8457   1FM5K8D81JGC15874   Ford        EXPLORER             SEATTLE                  WA
8458   1FM5K8D81JGC15891   Ford        EXPLORER             BURBANK                  CA
8459   1FM5K8D81JGC15907   Ford        EXPLORER             SAN DIEGO                CA
8460   1FM5K8D81JGC15924   Ford        EXPLORER             San Diego                CA
8461   1FM5K8D81JGC15941   Ford        EXPLORER             DENVER                   CO
8462   1FM5K8D81JGC15969   Ford        EXPLORER             PHOENIX                  AZ
8463   1FM5K8D81JGC15972   Ford        EXPLORER             FRESNO                   CA
8464   1FM5K8D81JGC16006   Ford        EXPLORER             DENVER                   CO
8465   1FM5K8D81JGC16023   Ford        EXPLORER             Kent                     WA
8466   1FM5K8D81JGC16037   Ford        EXPLORER             Torrance                 CA
8467   1FM5K8D81JGC16040   Ford        EXPLORER             Nashville                TN
8468   1FM5K8D81JGC16054   Ford        EXPLORER             LAS VEGAS                NV
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8469   1FM5K8D81JGC16085   Ford        EXPLORER             North Las Vegas          NV
8470   1FM5K8D81JGC16099   Ford        EXPLORER             Fontana                  CA
8471   1FM5K8D81JGC16104   Ford        EXPLORER             LOS ANGELES AP           CA
8472   1FM5K8D81JGC33906   Ford        EXPLORER             ORLANDO                  FL
8473   1FM5K8D81KGA42794   Ford        EXPLORER             ATLANTA                  GA
8474   1FM5K8D81KGA61376   Ford        EXPLORER             SAN DIEGO                CA
8475   1FM5K8D81KGA61409   Ford        EXPLORER             PHILADELPHIA             US
8476   1FM5K8D81KGA61457   Ford        EXPLORER             ONTARIO                  CA
8477   1FM5K8D81KGA61460   Ford        EXPLORER             SANTA ANA                CA
8478   1FM5K8D81KGA61474   Ford        EXPLORER             Reno                     NV
8479   1FM5K8D81KGA61524   Ford        EXPLORER             PALM SPRINGS             CA
8480   1FM5K8D81KGA61555   Ford        EXPLORER             CLEVELAND                OH
8481   1FM5K8D81KGA61605   Ford        EXPLORER             DETROIT                  MI
8482   1FM5K8D81KGA61622   Ford        EXPLORER             LAS VEGAS                NV
8483   1FM5K8D81KGA61636   Ford        EXPLORER             Lake Elsinore            CA
8484   1FM5K8D81KGA61653   Ford        EXPLORER             PHOENIX                  AZ
8485   1FM5K8D81KGA61684   Ford        EXPLORER             PHOENIX                  AZ
8486   1FM5K8D81KGA61698   Ford        EXPLORER             Las Vegas                NV
8487   1FM5K8D81KGA61703   Ford        EXPLORER             FRESNO                   CA
8488   1FM5K8D81KGA61717   Ford        EXPLORER             SAN JOSE                 CA
8489   1FM5K8D81KGA61720   Ford        EXPLORER             LOS ANGELES              CA
8490   1FM5K8D81KGA61734   Ford        EXPLORER             HOUSTON                  TX
8491   1FM5K8D81KGA61765   Ford        EXPLORER             LAS VEGAS                NV
8492   1FM5K8D81KGA61779   Ford        EXPLORER             DES MOINES               IA
8493   1FM5K8D81KGA61801   Ford        EXPLORER             Los Angeles              CA
8494   1FM5K8D81KGA61815   Ford        EXPLORER             MEMPHIS                  TN
8495   1FM5K8D81KGA61829   Ford        EXPLORER             LOS ANGELES              CA
8496   1FM5K8D81KGA61832   Ford        EXPLORER             DENVER                   CO
8497   1FM5K8D81KGA61846   Ford        EXPLORER             LOS ANGELES AP           CA
8498   1FM5K8D81KGA61863   Ford        EXPLORER             INGLEWOOD                CA
8499   1FM5K8D81KGA61877   Ford        EXPLORER             LOS ANGELES              CA
8500   1FM5K8D81KGA61880   Ford        EXPLORER             Lake Elsinore            CA
8501   1FM5K8D81KGB16294   Ford        EXPLORER             CHICAGO                  IL
8502   1FM5K8D81KGB25352   Ford        EXPLORER             CLEVELAND                OH
8503   1FM5K8D81KGB25383   Ford        EXPLORER             CLEVELAND                OH
8504   1FM5K8D81KGB25433   Ford        EXPLORER             TAMPA                    FL
8505   1FM5K8D81KGB25481   Ford        EXPLORER             PALM SPRINGS             CA
8506   1FM5K8D81KGB25500   Ford        EXPLORER             PHOENIX                  AZ
8507   1FM5K8D81KGB25514   Ford        EXPLORER             WEST COLUMBIA            SC
8508   1FM5K8D81KGB25867   Ford        EXPLORER             LAS VEGAS                NV
8509   1FM5K8D81KGB25903   Ford        EXPLORER             NEW BERN                 NC
8510   1FM5K8D81KGB25917   Ford        EXPLORER             PENSACOLA                FL
8511   1FM5K8D81KGB25920   Ford        EXPLORER             STERLING                 VA
8512   1FM5K8D81KGB25934   Ford        EXPLORER             Elkridge                 MD
8513   1FM5K8D81KGB25948   Ford        EXPLORER             Stockton                 CA
8514   1FM5K8D81KGB25965   Ford        EXPLORER             DAYTONA BEACH            FL
8515   1FM5K8D81KGB25982   Ford        EXPLORER             Charlotte                NC
8516   1FM5K8D81KGB25996   Ford        EXPLORER             NEW BERN                 NC
8517   1FM5K8D81KGB26002   Ford        EXPLORER             PENSACOLA                FL
8518   1FM5K8D81KGB26033   Ford        EXPLORER             SCRANTON                 PA
8519   1FM5K8D81KGB26047   Ford        EXPLORER             ORLANDO                  FL
8520   1FM5K8D81KGB26100   Ford        EXPLORER             SACRAMENTO               CA
8521   1FM5K8D81KGB26128   Ford        EXPLORER             Teterboro                NJ
8522   1FM5K8D81KGB26162   Ford        EXPLORER             PHOENIX                  AZ
8523   1FM5K8D81KGB26355   Ford        EXPLORER             MILWAUKEE                WI
8524   1FM5K8D81KGB26632   Ford        EXPLORER             NEW BERN                 NC
8525   1FM5K8D81KGB26663   Ford        EXPLORER             CHARLOTTE                NC
8526   1FM5K8D81KGB26677   Ford        EXPLORER             Tampa                    FL
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8527   1FM5K8D81KGB26694   Ford        EXPLORER             DETROIT                  MI
8528   1FM5K8D81KGB26906   Ford        EXPLORER             WEST PALM BEACH          FL
8529   1FM5K8D81KGB26937   Ford        EXPLORER             HANOVER                  MD
8530   1FM5K8D81KGB26940   Ford        EXPLORER             Clarksville              IN
8531   1FM5K8D81KGB46475   Ford        EXPLORER             KANSAS CITY              MO
8532   1FM5K8D81KGB46508   Ford        EXPLORER             KENNER                   LA
8533   1FM5K8D81KGB46525   Ford        EXPLORER             ATLANTA                  GA
8534   1FM5K8D81KGB46590   Ford        EXPLORER             Atlanta                  GA
8535   1FM5K8D81KGB46640   Ford        EXPLORER             PITTSBURGH               PA
8536   1FM5K8D81KGB46668   Ford        EXPLORER             PHOENIX                  AZ
8537   1FM5K8D81KGB46671   Ford        EXPLORER             HANOVER                  MD
8538   1FM5K8D81KGB46685   Ford        EXPLORER             Atlanta                  GA
8539   1FM5K8D81KGB46704   Ford        EXPLORER             TAMPA                    US
8540   1FM5K8D81KGB46766   Ford        EXPLORER             ORLANDO                  FL
8541   1FM5K8D81KGB46783   Ford        EXPLORER             MEMPHIS                  TN
8542   1FM5K8D81KGB46833   Ford        EXPLORER             SEATAC                   WA
8543   1FM5K8D81KGB46878   Ford        EXPLORER             ORANGE COUNTY            CA
8544   1FM5K8D81KGB46895   Ford        EXPLORER             SANTA CLARA              CA
8545   1FM5K8D81KGB47030   Ford        EXPLORER             BURBANK                  CA
8546   1FM5K8D81KGB47173   Ford        EXPLORER             Union City               GA
8547   1FM5K8D81KGB47187   Ford        EXPLORER             FORT MYERS               FL
8548   1FM5K8D81KGB47206   Ford        EXPLORER             CHARLOTTE                NC
8549   1FM5K8D81KGB47268   Ford        EXPLORER             TAMPA                    FL
8550   1FM5K8D81KGB47271   Ford        EXPLORER             ONTARIO                  CA
8551   1FM5K8D81KGB47285   Ford        EXPLORER             LOS ANGELES AP           CA
8552   1FM5K8D81KGB47299   Ford        EXPLORER             TAMPA                    FL
8553   1FM5K8D81KGB47304   Ford        EXPLORER             BOSTON                   MA
8554   1FM5K8D81KGB47318   Ford        EXPLORER             STERLING                 VA
8555   1FM5K8D81KGB47321   Ford        EXPLORER             Atlanta                  GA
8556   1FM5K8D81KGB47383   Ford        EXPLORER             HARRISBURG               PA
8557   1FM5K8D81KGB47402   Ford        EXPLORER             ORLANDO                  FL
8558   1FM5K8D81KGB47416   Ford        EXPLORER             Matteson                 IL
8559   1FM5K8D81KGB47478   Ford        EXPLORER             PHILADELPHIA             PA
8560   1FM5K8D81KGB47495   Ford        EXPLORER             PHILADELPHIA             PA
8561   1FM5K8D81KGB48016   Ford        EXPLORER             SAN DIEGO                CA
8562   1FM5K8D81KGB48047   Ford        EXPLORER             LOS ANGELES              CA
8563   1FM5K8D81KGB48050   Ford        EXPLORER             ST PAUL                  MN
8564   1FM5K8D81KGB48064   Ford        EXPLORER             NEW YORK CITY            NY
8565   1FM5K8D81KGB48128   Ford        EXPLORER             Atlanta                  GA
8566   1FM5K8D81KGB48209   Ford        EXPLORER             Teterboro                NJ
8567   1FM5K8D81KGB48677   Ford        EXPLORER             CHARLESTON               WV
8568   1FM5K8D81KGB48694   Ford        EXPLORER             FORT MYERS               FL
8569   1FM5K8D81KGB48713   Ford        EXPLORER             CHICAGO                  IL
8570   1FM5K8D81KGB48727   Ford        EXPLORER             ORANGE COUNTY            CA
8571   1FM5K8D81KGB48744   Ford        EXPLORER             DFW AIRPORT              TX
8572   1FM5K8D81KGB48758   Ford        EXPLORER             SAN JOSE                 CA
8573   1FM5K8D81KGB48761   Ford        EXPLORER             Orlando                  FL
8574   1FM5K8D81KGB49019   Ford        EXPLORER             DES MOINES               IA
8575   1FM5K8D81KGB49036   Ford        EXPLORER             LOS ANGELES              CA
8576   1FM5K8D81KGB49053   Ford        EXPLORER             LOS ANGELES              CA
8577   1FM5K8D81KGB49067   Ford        EXPLORER             PANARAMA CITY            ca
8578   1FM5K8D81KGB49070   Ford        EXPLORER             SAN FRANCISCO            CA
8579   1FM5K8D81KGB49084   Ford        EXPLORER             LOS ANGELES              CA
8580   1FM5K8D81KGB49103   Ford        EXPLORER             GREENVILLE               NC
8581   1FM5K8D81KGB49117   Ford        EXPLORER             TAMPA                    US
8582   1FM5K8D81KGB49120   Ford        EXPLORER             Warr Acres               OK
8583   1FM5K8D81KGB49134   Ford        EXPLORER             AUGUSTA                  GA
8584   1FM5K8D81KGB49179   Ford        EXPLORER             HARRISBURG               PA
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8585   1FM5K8D81KGB49182   Ford        EXPLORER             ORLANDO                  FL
8586   1FM5K8D81KGB49196   Ford        EXPLORER             NEW BERN                 NC
8587   1FM5K8D81KGB49327   Ford        EXPLORER             SEATAC                   WA
8588   1FM5K8D82GGC88650   Ford        EXPLORER             Riverside                CA
8589   1FM5K8D82HGC90058   Ford        EXPLORER             SAINT PAUL               MN
8590   1FM5K8D82HGC90075   Ford        EXPLORER             KENNER                   LA
8591   1FM5K8D82HGD05089   Ford        EXPLORER             ANCHORAGE                AK
8592   1FM5K8D82HGD05092   Ford        EXPLORER             Fairbanks                AK
8593   1FM5K8D82HGD05125   Ford        EXPLORER             ANCHORAGE                AK
8594   1FM5K8D82HGD05156   Ford        EXPLORER             ANCHORAGE                AK
8595   1FM5K8D82HGD43597   Ford        EXPLORER             Bordentown               NJ
8596   1FM5K8D82HGD64868   Ford        EXPLORER             DAYTONA BEACH            FL
8597   1FM5K8D82JGA27946   Ford        EXPLORER             Riverside                CA
8598   1FM5K8D82JGA27980   Ford        EXPLORER             CUMMING                  GA
8599   1FM5K8D82JGA45640   Ford        EXPLORER             SARASOTA                 FL
8600   1FM5K8D82JGA45668   Ford        EXPLORER             Smithtown                NY
8601   1FM5K8D82JGA56962   Ford        EXPLORER             Matteson                 IL
8602   1FM5K8D82JGB18571   Ford        EXPLORER             BALTIMORE                MD
8603   1FM5K8D82JGB80469   Ford        EXPLORER             HOUSTON                  TX
8604   1FM5K8D82JGB80472   Ford        EXPLORER             STERLING                 VA
8605   1FM5K8D82JGB91021   Ford        EXPLORER             S. San Francisc          CA
8606   1FM5K8D82JGB91049   Ford        EXPLORER             LAS VEGAS                NV
8607   1FM5K8D82JGB91052   Ford        EXPLORER             ONTARIO                  CA
8608   1FM5K8D82JGB91066   Ford        EXPLORER             Tolleson                 AZ
8609   1FM5K8D82JGB91083   Ford        EXPLORER             LOS ANGELES              CA
8610   1FM5K8D82JGB91133   Ford        EXPLORER             Tolleson                 AZ
8611   1FM5K8D82JGB91181   Ford        EXPLORER             Fresno                   CA
8612   1FM5K8D82JGB91195   Ford        EXPLORER             Bordentown               NJ
8613   1FM5K8D82JGB91200   Ford        EXPLORER             Torrance                 CA
8614   1FM5K8D82JGB91231   Ford        EXPLORER             Norwalk                  CA
8615   1FM5K8D82JGB91312   Ford        EXPLORER             Santa Clara              CA
8616   1FM5K8D82JGB91326   Ford        EXPLORER             Portland                 OR
8617   1FM5K8D82JGC06990   Ford        EXPLORER             Caledonia                WI
8618   1FM5K8D82JGC07007   Ford        EXPLORER             Manheim                  PA
8619   1FM5K8D82JGC14992   Ford        EXPLORER             JACKSONVILLE             FL
8620   1FM5K8D82JGC15009   Ford        EXPLORER             North Dighton            MA
8621   1FM5K8D82JGC15110   Ford        EXPLORER             LOS ANGELES              CA
8622   1FM5K8D82JGC15172   Ford        EXPLORER             LOS ANGELES              CA
8623   1FM5K8D82JGC15270   Ford        EXPLORER             Schaumburg               IL
8624   1FM5K8D82JGC15298   Ford        EXPLORER             PORTLAND                 OR
8625   1FM5K8D82JGC15317   Ford        EXPLORER             Fontana                  CA
8626   1FM5K8D82JGC15348   Ford        EXPLORER             Milwaukee                WI
8627   1FM5K8D82JGC15351   Ford        EXPLORER             Burlingame               CA
8628   1FM5K8D82JGC15382   Ford        EXPLORER             ORANGE COUNTY            CA
8629   1FM5K8D82JGC15401   Ford        EXPLORER             Denver                   CO
8630   1FM5K8D82JGC15429   Ford        EXPLORER             SAN DIEGO                CA
8631   1FM5K8D82JGC15477   Ford        EXPLORER             SANTA ANA                CA
8632   1FM5K8D82JGC15494   Ford        EXPLORER             OAKLAND                  CA
8633   1FM5K8D82JGC15513   Ford        EXPLORER             KILLEEN                  US
8634   1FM5K8D82JGC15608   Ford        EXPLORER             SAN DIEGO                US
8635   1FM5K8D82JGC15625   Ford        EXPLORER             Fontana                  CA
8636   1FM5K8D82JGC15771   Ford        EXPLORER             KENNER                   LA
8637   1FM5K8D82JGC15785   Ford        EXPLORER             Louisville               KY
8638   1FM5K8D82JGC15821   Ford        EXPLORER             CHARLESTON               WV
8639   1FM5K8D82JGC15849   Ford        EXPLORER             Rio Linda                CA
8640   1FM5K8D82JGC15852   Ford        EXPLORER             Elkridge                 MD
8641   1FM5K8D82JGC15897   Ford        EXPLORER             Ocoee                    FL
8642   1FM5K8D82JGC15916   Ford        EXPLORER             LOS ANGELES              CA
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8643   1FM5K8D82JGC15950   Ford        EXPLORER             DAYTONA BEACH            FL
8644   1FM5K8D82JGC15964   Ford        EXPLORER             Fontana                  CA
8645   1FM5K8D82JGC15978   Ford        EXPLORER             Norwalk                  CA
8646   1FM5K8D82JGC15995   Ford        EXPLORER             Los Angeles              CA
8647   1FM5K8D82JGC16001   Ford        EXPLORER             Torrance                 CA
8648   1FM5K8D82JGC16029   Ford        EXPLORER             SALT LAKE CITY           UT
8649   1FM5K8D82JGC16032   Ford        EXPLORER             SAN FRANCISCO            CA
8650   1FM5K8D82JGC16046   Ford        EXPLORER             PHOENIX                  AZ
8651   1FM5K8D82JGC16080   Ford        EXPLORER             Portland                 OR
8652   1FM5K8D82JGC16113   Ford        EXPLORER             Manheim                  PA
8653   1FM5K8D82JGC16127   Ford        EXPLORER             Anaheim                  CA
8654   1FM5K8D82JGC33915   Ford        EXPLORER             Davie                    FL
8655   1FM5K8D82JGC33932   Ford        EXPLORER             HANOVER                  MD
8656   1FM5K8D82KGA61340   Ford        EXPLORER             CHICAGO O'HARE AP        IL
8657   1FM5K8D82KGA61371   Ford        EXPLORER             WEST PALM BEACH          FL
8658   1FM5K8D82KGA61385   Ford        EXPLORER             WARWICK                  RI
8659   1FM5K8D82KGA61399   Ford        EXPLORER             SEA TAC                  WA
8660   1FM5K8D82KGA61404   Ford        EXPLORER             SAN JOSE                 CA
8661   1FM5K8D82KGA61421   Ford        EXPLORER             FRESNO                   CA
8662   1FM5K8D82KGA61449   Ford        EXPLORER             PHOENIX                  AZ
8663   1FM5K8D82KGA61452   Ford        EXPLORER             LOS ANGELES              CA
8664   1FM5K8D82KGA61483   Ford        EXPLORER             LOUISVILLE               KY
8665   1FM5K8D82KGA61595   Ford        EXPLORER             ALBUQUERQUE              NM
8666   1FM5K8D82KGA61600   Ford        EXPLORER             MIAMI                    FL
8667   1FM5K8D82KGA61614   Ford        EXPLORER             SEATAC                   WA
8668   1FM5K8D82KGA61628   Ford        EXPLORER             Stockton                 CA
8669   1FM5K8D82KGA61645   Ford        EXPLORER             SEA TAC                  WA
8670   1FM5K8D82KGA61676   Ford        EXPLORER             Winston‐Salem            NC
8671   1FM5K8D82KGA61693   Ford        EXPLORER             SANTA ANA                CA
8672   1FM5K8D82KGA61709   Ford        EXPLORER             ALBUQUERQUE              NM
8673   1FM5K8D82KGA61774   Ford        EXPLORER             Portland                 OR
8674   1FM5K8D82KGA61807   Ford        EXPLORER             SAN DIEGO                CA
8675   1FM5K8D82KGA61810   Ford        EXPLORER             SEATAC                   WA
8676   1FM5K8D82KGA61824   Ford        EXPLORER             INGLEWOOD                CA
8677   1FM5K8D82KGA61841   Ford        EXPLORER             SAN FRANCISCO            CA
8678   1FM5K8D82KGA61869   Ford        EXPLORER             SAINT PAUL               MN
8679   1FM5K8D82KGA61872   Ford        EXPLORER             PHOENIX                  AZ
8680   1FM5K8D82KGA61905   Ford        EXPLORER             DES PLAINES              US
8681   1FM5K8D82KGB25294   Ford        EXPLORER             NEWARK                   NJ
8682   1FM5K8D82KGB25313   Ford        EXPLORER             NEWARK                   NJ
8683   1FM5K8D82KGB25344   Ford        EXPLORER             PHILADELPHIA             PA
8684   1FM5K8D82KGB25375   Ford        EXPLORER             NEWARK                   NJ
8685   1FM5K8D82KGB25392   Ford        EXPLORER             BOSTON                   MA
8686   1FM5K8D82KGB25411   Ford        EXPLORER             RICHMOND                 VA
8687   1FM5K8D82KGB25506   Ford        EXPLORER             SANTA ANA                CA
8688   1FM5K8D82KGB25862   Ford        EXPLORER             ALBUQUERQUE              NM
8689   1FM5K8D82KGB25960   Ford        EXPLORER             STERLING                 VA
8690   1FM5K8D82KGB25974   Ford        EXPLORER             Atlanta                  GA
8691   1FM5K8D82KGB25991   Ford        EXPLORER             NEW YORK CITY            NY
8692   1FM5K8D82KGB26011   Ford        EXPLORER             CLEVELAND                OH
8693   1FM5K8D82KGB26025   Ford        EXPLORER             RALIEGH                  NC
8694   1FM5K8D82KGB26039   Ford        EXPLORER             PHOENIX                  AZ
8695   1FM5K8D82KGB26042   Ford        EXPLORER             BALTIMORE                MD
8696   1FM5K8D82KGB26073   Ford        EXPLORER             COLLEGE PARK             GA
8697   1FM5K8D82KGB26087   Ford        EXPLORER             TULSA                    OK
8698   1FM5K8D82KGB26137   Ford        EXPLORER             EL PASO                  TX
8699   1FM5K8D82KGB26140   Ford        EXPLORER             LOUISVILLE               KY
8700   1FM5K8D82KGB26171   Ford        EXPLORER             SAN FRANCISCO            CA
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8701   1FM5K8D82KGB26185   Ford        EXPLORER             AUSTIN                   TX
8702   1FM5K8D82KGB26347   Ford        EXPLORER             PHILADELPHIA             PA
8703   1FM5K8D82KGB26428   Ford        EXPLORER             JAMAICA                  NY
8704   1FM5K8D82KGB26655   Ford        EXPLORER             ATLANTA                  GA
8705   1FM5K8D82KGB26672   Ford        EXPLORER             HOUSTON                  TX
8706   1FM5K8D82KGB26705   Ford        EXPLORER             MANHATTAN                NY
8707   1FM5K8D82KGB26901   Ford        EXPLORER             NEWPORT BEACH            CA
8708   1FM5K8D82KGB26915   Ford        EXPLORER             ORLANDO                  FL
8709   1FM5K8D82KGB26946   Ford        EXPLORER             LITTLE ROCK              AR
8710   1FM5K8D82KGB46470   Ford        EXPLORER             LAS VEGAS                NV
8711   1FM5K8D82KGB46484   Ford        EXPLORER             Atlanta                  GA
8712   1FM5K8D82KGB46498   Ford        EXPLORER             CANTON                   T
8713   1FM5K8D82KGB46517   Ford        EXPLORER             NEWARK                   NJ
8714   1FM5K8D82KGB46520   Ford        EXPLORER             KENNER                   LA
8715   1FM5K8D82KGB46534   Ford        EXPLORER             NORFOLK                  VA
8716   1FM5K8D82KGB46565   Ford        EXPLORER             Irving                   TX
8717   1FM5K8D82KGB46582   Ford        EXPLORER             ATLANTA                  GA
8718   1FM5K8D82KGB46596   Ford        EXPLORER             WARWICK                  RI
8719   1FM5K8D82KGB46601   Ford        EXPLORER             BLOOMINGTON              IL
8720   1FM5K8D82KGB46632   Ford        EXPLORER             ATLANTA                  GA
8721   1FM5K8D82KGB46646   Ford        EXPLORER             INGLEWOOD                CA
8722   1FM5K8D82KGB46663   Ford        EXPLORER             MILWAUKEE                WI
8723   1FM5K8D82KGB46677   Ford        EXPLORER             SALEM                    MA
8724   1FM5K8D82KGB46680   Ford        EXPLORER             NEWARK                   NJ
8725   1FM5K8D82KGB46694   Ford        EXPLORER             LOUISVILLE               KY
8726   1FM5K8D82KGB46730   Ford        EXPLORER             NEWARK                   NJ
8727   1FM5K8D82KGB46744   Ford        EXPLORER             NEW BERN                 NC
8728   1FM5K8D82KGB46758   Ford        EXPLORER             COLLEGE PARK             GA
8729   1FM5K8D82KGB46775   Ford        EXPLORER             NORFOLK                  VA
8730   1FM5K8D82KGB46792   Ford        EXPLORER             PANAMA CITY              FL
8731   1FM5K8D82KGB46825   Ford        EXPLORER             SACRAMENTO               CA
8732   1FM5K8D82KGB46839   Ford        EXPLORER             KANSAS CITY              MO
8733   1FM5K8D82KGB46873   Ford        EXPLORER             ORLANDO                  FL
8734   1FM5K8D82KGB46906   Ford        EXPLORER             Reno                     NV
8735   1FM5K8D82KGB46923   Ford        EXPLORER             COLUMBIA                 SC
8736   1FM5K8D82KGB47165   Ford        EXPLORER             DALLAS                   TX
8737   1FM5K8D82KGB47196   Ford        EXPLORER             KENNER                   LA
8738   1FM5K8D82KGB47232   Ford        EXPLORER             TAMPA                    FL
8739   1FM5K8D82KGB47246   Ford        EXPLORER             NEWARK                   NJ
8740   1FM5K8D82KGB47263   Ford        EXPLORER             BRONX                    NY
8741   1FM5K8D82KGB47277   Ford        EXPLORER             Detroit                  MI
8742   1FM5K8D82KGB47313   Ford        EXPLORER             KNOXVILLE                TN
8743   1FM5K8D82KGB47330   Ford        EXPLORER             SAINT LOUIS              MO
8744   1FM5K8D82KGB47361   Ford        EXPLORER             Memphis                  TN
8745   1FM5K8D82KGB47375   Ford        EXPLORER             FORT MYERS               FL
8746   1FM5K8D82KGB47389   Ford        EXPLORER             NORFOLK                  VA
8747   1FM5K8D82KGB47392   Ford        EXPLORER             WHITE PLAINS             NY
8748   1FM5K8D82KGB47408   Ford        EXPLORER             JACKSON                  MS
8749   1FM5K8D82KGB47411   Ford        EXPLORER             LITTLE ROCK              AR
8750   1FM5K8D82KGB47425   Ford        EXPLORER             KNOXVILLE                TN
8751   1FM5K8D82KGB47442   Ford        EXPLORER             CHARLOTTESVILLE          VA
8752   1FM5K8D82KGB47456   Ford        EXPLORER             DALLAS                   TX
8753   1FM5K8D82KGB47473   Ford        EXPLORER             STERLING                 VA
8754   1FM5K8D82KGB47487   Ford        EXPLORER             CLEVELAND                OH
8755   1FM5K8D82KGB48025   Ford        EXPLORER             SAN ANTONIO              TX
8756   1FM5K8D82KGB48039   Ford        EXPLORER             LOS ANGELES              CA
8757   1FM5K8D82KGB48056   Ford        EXPLORER             BURBANK                  CA
8758   1FM5K8D82KGB48137   Ford        EXPLORER             TAMPA                    FL
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8759   1FM5K8D82KGB48204   Ford        EXPLORER             BRONX                    NY
8760   1FM5K8D82KGB48669   Ford        EXPLORER             ATLANTA                  GA
8761   1FM5K8D82KGB48672   Ford        EXPLORER             DALLAS                   TX
8762   1FM5K8D82KGB48719   Ford        EXPLORER             NEWARK                   NJ
8763   1FM5K8D82KGB48722   Ford        EXPLORER             ALEXANDRIA               VA
8764   1FM5K8D82KGB48736   Ford        EXPLORER             SAN FRANCISCO            CA
8765   1FM5K8D82KGB49028   Ford        EXPLORER             FRESNO                   CA
8766   1FM5K8D82KGB49045   Ford        EXPLORER             SAN FRANCISCO            CA
8767   1FM5K8D82KGB49059   Ford        EXPLORER             MIAMI                    FL
8768   1FM5K8D82KGB49076   Ford        EXPLORER             SAN JOSE                 CA
8769   1FM5K8D82KGB49109   Ford        EXPLORER             AUSTIN                   TX
8770   1FM5K8D82KGB49112   Ford        EXPLORER             CHARLOTTE                NC
8771   1FM5K8D82KGB49157   Ford        EXPLORER             Jacksonville             FL
8772   1FM5K8D82KGB49160   Ford        EXPLORER             GRAND RAPIDS             MI
8773   1FM5K8D82KGB49174   Ford        EXPLORER             PORTLAND                 OR
8774   1FM5K8D82KGB49188   Ford        EXPLORER             Indianapolis             IN
8775   1FM5K8D82KGB49191   Ford        EXPLORER             WHITE PLAINS             NY
8776   1FM5K8D83GGC88513   Ford        EXPLORER             Hayward                  CA
8777   1FM5K8D83HGC85807   Ford        EXPLORER             Greensboro               NC
8778   1FM5K8D83HGD05098   Ford        EXPLORER             Juneau                   AK
8779   1FM5K8D83HGD05134   Ford        EXPLORER             ANCHORAGE                AK
8780   1FM5K8D83HGD05148   Ford        EXPLORER             ANCHORAGE                AK
8781   1FM5K8D83JGA15045   Ford        EXPLORER             PHOENIX                  AZ
8782   1FM5K8D83JGA27860   Ford        EXPLORER             STERLING                 VA
8783   1FM5K8D83JGA27907   Ford        EXPLORER             SAN DIEGO                CA
8784   1FM5K8D83JGA36462   Ford        EXPLORER             Hamilton                 OH
8785   1FM5K8D83JGA36526   Ford        EXPLORER             North Dighton            MA
8786   1FM5K8D83JGA36557   Ford        EXPLORER             PHILADELPHIA             PA
8787   1FM5K8D83JGA45713   Ford        EXPLORER             Rio Linda                CA
8788   1FM5K8D83JGA45727   Ford        EXPLORER             SYRACUSE                 NY
8789   1FM5K8D83JGA56887   Ford        EXPLORER             Ocoee                    FL
8790   1FM5K8D83JGA81529   Ford        EXPLORER             ATLANTA                  GA
8791   1FM5K8D83JGA81532   Ford        EXPLORER             KENNER                   LA
8792   1FM5K8D83JGB10446   Ford        EXPLORER             BURBANK                  CA
8793   1FM5K8D83JGB90962   Ford        EXPLORER             Aurora                   CO
8794   1FM5K8D83JGB90976   Ford        EXPLORER             KNOXVILLE                TN
8795   1FM5K8D83JGB91013   Ford        EXPLORER             FRESNO                   CA
8796   1FM5K8D83JGB91030   Ford        EXPLORER             Stockton                 CA
8797   1FM5K8D83JGB91044   Ford        EXPLORER             Fontana                  CA
8798   1FM5K8D83JGB91058   Ford        EXPLORER             TAMPA                    FL
8799   1FM5K8D83JGB91092   Ford        EXPLORER             Aurora                   CO
8800   1FM5K8D83JGB91156   Ford        EXPLORER             SACRAMENTO               CA
8801   1FM5K8D83JGB91206   Ford        EXPLORER             Newport Beach            CA
8802   1FM5K8D83JGB91237   Ford        EXPLORER             Rio Linda                CA
8803   1FM5K8D83JGB91254   Ford        EXPLORER             Ventura                  CA
8804   1FM5K8D83JGB91285   Ford        EXPLORER             FRESNO                   CA
8805   1FM5K8D83JGB91321   Ford        EXPLORER             SACRAMENTO               CA
8806   1FM5K8D83JGC06948   Ford        EXPLORER             SAN DIEGO                CA
8807   1FM5K8D83JGC06979   Ford        EXPLORER             Stockton                 CA
8808   1FM5K8D83JGC06996   Ford        EXPLORER             Ventura                  CA
8809   1FM5K8D83JGC07016   Ford        EXPLORER             SACRAMENTO               CA
8810   1FM5K8D83JGC15021   Ford        EXPLORER             HOUSTON                  TX
8811   1FM5K8D83JGC15049   Ford        EXPLORER             HANOVER                  MD
8812   1FM5K8D83JGC15052   Ford        EXPLORER             DENVER                   CO
8813   1FM5K8D83JGC15066   Ford        EXPLORER             SEATTLE                  WA
8814   1FM5K8D83JGC15195   Ford        EXPLORER             Riverside                CA
8815   1FM5K8D83JGC15214   Ford        EXPLORER             LOS ANGELES              CA
8816   1FM5K8D83JGC15357   Ford        EXPLORER             Lake Elsinore            CA
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8817   1FM5K8D83JGC15410   Ford        EXPLORER             SAN DIEGO                CA
8818   1FM5K8D83JGC15424   Ford        EXPLORER             LOS ANGELES              CA
8819   1FM5K8D83JGC15438   Ford        EXPLORER             HOUSTON                  TX
8820   1FM5K8D83JGC15455   Ford        EXPLORER             Corpus Christi           TX
8821   1FM5K8D83JGC15469   Ford        EXPLORER             ALBUQUERQUE              NM
8822   1FM5K8D83JGC15472   Ford        EXPLORER             Fontana                  CA
8823   1FM5K8D83JGC15519   Ford        EXPLORER             Tolleson                 AZ
8824   1FM5K8D83JGC15553   Ford        EXPLORER             CLEVELAND                OH
8825   1FM5K8D83JGC15570   Ford        EXPLORER             North Dighton            MA
8826   1FM5K8D83JGC15584   Ford        EXPLORER             Manheim                  PA
8827   1FM5K8D83JGC15598   Ford        EXPLORER             LOS ANGELES              CA
8828   1FM5K8D83JGC15617   Ford        EXPLORER             SEATAC                   WA
8829   1FM5K8D83JGC15648   Ford        EXPLORER             LOS ANGELES              CA
8830   1FM5K8D83JGC15651   Ford        EXPLORER             LAS VEGAS                NV
8831   1FM5K8D83JGC15679   Ford        EXPLORER             Lake Elsinore            CA
8832   1FM5K8D83JGC15682   Ford        EXPLORER             RENO                     NV
8833   1FM5K8D83JGC15696   Ford        EXPLORER             DENVER                   CO
8834   1FM5K8D83JGC15715   Ford        EXPLORER             ONTARIO                  CA
8835   1FM5K8D83JGC15729   Ford        EXPLORER             PHILADELPHIA             US
8836   1FM5K8D83JGC15780   Ford        EXPLORER             SEATAC                   WA
8837   1FM5K8D83JGC15794   Ford        EXPLORER             Fontana                  CA
8838   1FM5K8D83JGC15875   Ford        EXPLORER             Fontana                  CA
8839   1FM5K8D83JGC15889   Ford        EXPLORER             Pasadena                 CA
8840   1FM5K8D83JGC15942   Ford        EXPLORER             Stockton                 CA
8841   1FM5K8D83JGC15956   Ford        EXPLORER             LOS ANGELES              CA
8842   1FM5K8D83JGC15973   Ford        EXPLORER             Hayward                  CA
8843   1FM5K8D83JGC15987   Ford        EXPLORER             Kent                     WA
8844   1FM5K8D83JGC15990   Ford        EXPLORER             Schaumburg               IL
8845   1FM5K8D83JGC16038   Ford        EXPLORER             Fontana                  CA
8846   1FM5K8D83JGC16041   Ford        EXPLORER             Bensalem                 PA
8847   1FM5K8D83JGC16055   Ford        EXPLORER             Mira Loma                CA
8848   1FM5K8D83JGC16069   Ford        EXPLORER             Greensboro               NC
8849   1FM5K8D83JGC16086   Ford        EXPLORER             Fontana                  CA
8850   1FM5K8D83JGC16136   Ford        EXPLORER             LAS VEGAS                NV
8851   1FM5K8D83JGC33907   Ford        EXPLORER             TAMPA                    FL
8852   1FM5K8D83JGC33938   Ford        EXPLORER             Woodhaven                MI
8853   1FM5K8D83KGA42795   Ford        EXPLORER             BURBANK                  CA
8854   1FM5K8D83KGA61217   Ford        EXPLORER             DENVER                   CO
8855   1FM5K8D83KGA61220   Ford        EXPLORER             AUSTIN                   TX
8856   1FM5K8D83KGA61346   Ford        EXPLORER             SAN JOSE                 CA
8857   1FM5K8D83KGA61380   Ford        EXPLORER             MILWAUKEE                WI
8858   1FM5K8D83KGA61394   Ford        EXPLORER             BALTIMORE                MD
8859   1FM5K8D83KGA61413   Ford        EXPLORER             SAN JOSE                 CA
8860   1FM5K8D83KGA61427   Ford        EXPLORER             LAS VEGAS                NV
8861   1FM5K8D83KGA61430   Ford        EXPLORER             FRESNO                   CA
8862   1FM5K8D83KGA61458   Ford        EXPLORER             OAKLAND                  CA
8863   1FM5K8D83KGA61475   Ford        EXPLORER             LOS ANGELES              CA
8864   1FM5K8D83KGA61489   Ford        EXPLORER             ONTARIO                  CA
8865   1FM5K8D83KGA61492   Ford        EXPLORER             BURBANK                  CA
8866   1FM5K8D83KGA61525   Ford        EXPLORER             LOS ANGELES              CA
8867   1FM5K8D83KGA61539   Ford        EXPLORER             PORTLAND                 OR
8868   1FM5K8D83KGA61542   Ford        EXPLORER             SAVANNAH                 GA
8869   1FM5K8D83KGA61606   Ford        EXPLORER             PHOENIX                  AZ
8870   1FM5K8D83KGA61637   Ford        EXPLORER             SEATAC                   WA
8871   1FM5K8D83KGA61654   Ford        EXPLORER             SEATAC                   WA
8872   1FM5K8D83KGA61668   Ford        EXPLORER             SEATAC                   WA
8873   1FM5K8D83KGA61671   Ford        EXPLORER             LOS ANGELES              CA
8874   1FM5K8D83KGA61685   Ford        EXPLORER             SEATAC                   WA
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8875   1FM5K8D83KGA61704   Ford        EXPLORER             LOS ANGELES              CA
8876   1FM5K8D83KGA61721   Ford        EXPLORER             SACRAMENTO               CA
8877   1FM5K8D83KGA61749   Ford        EXPLORER             PENSACOLA                FL
8878   1FM5K8D83KGA61752   Ford        EXPLORER             LOS ANGELES              CA
8879   1FM5K8D83KGA61802   Ford        EXPLORER             SAN DIEGO                CA
8880   1FM5K8D83KGA61816   Ford        EXPLORER             Estero                   FL
8881   1FM5K8D83KGA61833   Ford        EXPLORER             SACRAMENTO               CA
8882   1FM5K8D83KGA61878   Ford        EXPLORER             RENO                     NV
8883   1FM5K8D83KGA61881   Ford        EXPLORER             INDIANAPOLIS             IN
8884   1FM5K8D83KGA61900   Ford        EXPLORER             BOSTON                   MA
8885   1FM5K8D83KGB16295   Ford        EXPLORER             HOUSTON                  TX
8886   1FM5K8D83KGB25305   Ford        EXPLORER             PHILADELPHIA             PA
8887   1FM5K8D83KGB25319   Ford        EXPLORER             KNOXVILLE                TN
8888   1FM5K8D83KGB25336   Ford        EXPLORER             Harvey                   LA
8889   1FM5K8D83KGB25417   Ford        EXPLORER             BOSTON                   MA
8890   1FM5K8D83KGB25420   Ford        EXPLORER             DETROIT                  MI
8891   1FM5K8D83KGB25434   Ford        EXPLORER             AUSTIN                   TX
8892   1FM5K8D83KGB25479   Ford        EXPLORER             SAINT LOUIS              MO
8893   1FM5K8D83KGB25496   Ford        EXPLORER             RALIEGH                  NC
8894   1FM5K8D83KGB25501   Ford        EXPLORER             SAN FRANCISCO            CA
8895   1FM5K8D83KGB25868   Ford        EXPLORER             WESTLAKE                 OH
8896   1FM5K8D83KGB25871   Ford        EXPLORER             PHILADELPHIA             PA
8897   1FM5K8D83KGB25949   Ford        EXPLORER             FORT LAUDERDALE          FL
8898   1FM5K8D83KGB25966   Ford        EXPLORER             SOUTH BEND               IN
8899   1FM5K8D83KGB25997   Ford        EXPLORER             AUGUSTA                  GA
8900   1FM5K8D83KGB26003   Ford        EXPLORER             CHICAGO                  IL
8901   1FM5K8D83KGB26020   Ford        EXPLORER             DETROIT                  MI
8902   1FM5K8D83KGB26034   Ford        EXPLORER             Alexandria               VA
8903   1FM5K8D83KGB26101   Ford        EXPLORER             LOS ANGELES              CA
8904   1FM5K8D83KGB26129   Ford        EXPLORER             SAN DIEGO                CA
8905   1FM5K8D83KGB26146   Ford        EXPLORER             Phoenix                  AZ
8906   1FM5K8D83KGB26177   Ford        EXPLORER             TUCSON                   AZ
8907   1FM5K8D83KGB26180   Ford        EXPLORER             NASHVILLE                TN
8908   1FM5K8D83KGB26647   Ford        EXPLORER             PHOENIX                  AZ
8909   1FM5K8D83KGB26664   Ford        EXPLORER             CHARLESTON               WV
8910   1FM5K8D83KGB26695   Ford        EXPLORER             BIRMINGHAM               AL
8911   1FM5K8D83KGB26938   Ford        EXPLORER             SAINT PAUL               MN
8912   1FM5K8D83KGB26941   Ford        EXPLORER             NEWARK                   NJ
8913   1FM5K8D83KGB46476   Ford        EXPLORER             Atlanta                  GA
8914   1FM5K8D83KGB46493   Ford        EXPLORER             MILWAUKEE                WI
8915   1FM5K8D83KGB46509   Ford        EXPLORER             ATLANTA                  GA
8916   1FM5K8D83KGB46526   Ford        EXPLORER             LOS ANGELES AP           CA
8917   1FM5K8D83KGB46543   Ford        EXPLORER             MONTEREY                 CA
8918   1FM5K8D83KGB46557   Ford        EXPLORER             CHATTANOOGA              TN
8919   1FM5K8D83KGB46560   Ford        EXPLORER             SARASOTA                 FL
8920   1FM5K8D83KGB46574   Ford        EXPLORER             Atlanta                  GA
8921   1FM5K8D83KGB46591   Ford        EXPLORER             NORFOLK                  VA
8922   1FM5K8D83KGB46607   Ford        EXPLORER             GREENSBORO               NC
8923   1FM5K8D83KGB46624   Ford        EXPLORER             BALTIMORE                MD
8924   1FM5K8D83KGB46655   Ford        EXPLORER             Carleton                 MI
8925   1FM5K8D83KGB46686   Ford        EXPLORER             Atlanta                  GA
8926   1FM5K8D83KGB46722   Ford        EXPLORER             Saint Paul               MN
8927   1FM5K8D83KGB46736   Ford        EXPLORER             FORT LAUDERDALE          FL
8928   1FM5K8D83KGB46753   Ford        EXPLORER             RONKONKOMA               NY
8929   1FM5K8D83KGB46767   Ford        EXPLORER             Atlanta                  GA
8930   1FM5K8D83KGB46803   Ford        EXPLORER             CHATTANOOGA              TN
8931   1FM5K8D83KGB46820   Ford        EXPLORER             STERLING                 VA
8932   1FM5K8D83KGB46834   Ford        EXPLORER             LAS VEGAS                NV
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8933   1FM5K8D83KGB46848   Ford        EXPLORER             FRESNO                   CA
8934   1FM5K8D83KGB46865   Ford        EXPLORER             STERLING                 VA
8935   1FM5K8D83KGB47031   Ford        EXPLORER             BURBANK                  CA
8936   1FM5K8D83KGB47174   Ford        EXPLORER             FORT LAUDERDALE          FL
8937   1FM5K8D83KGB47191   Ford        EXPLORER             JACKSONVILLE             FL
8938   1FM5K8D83KGB47210   Ford        EXPLORER             DETROIT                  MI
8939   1FM5K8D83KGB47224   Ford        EXPLORER             FT. LAUDERDALE           FL
8940   1FM5K8D83KGB47255   Ford        EXPLORER             Atlanta                  GA
8941   1FM5K8D83KGB47269   Ford        EXPLORER             CLEVELAND                OH
8942   1FM5K8D83KGB47286   Ford        EXPLORER             GRAND RAPIDS             MI
8943   1FM5K8D83KGB47305   Ford        EXPLORER             KANSAS CITY              MO
8944   1FM5K8D83KGB47367   Ford        EXPLORER             Landover Hills           MD
8945   1FM5K8D83KGB47417   Ford        EXPLORER             White Plains             NY
8946   1FM5K8D83KGB47420   Ford        EXPLORER             BIRMINGHAM               AL
8947   1FM5K8D83KGB47434   Ford        EXPLORER             MILWAUKEE                WI
8948   1FM5K8D83KGB47479   Ford        EXPLORER             WHITE PLAINS             NY
8949   1FM5K8D83KGB48034   Ford        EXPLORER             SAN JOSE                 CA
8950   1FM5K8D83KGB48048   Ford        EXPLORER             PALM SPRINGS             CA
8951   1FM5K8D83KGB48051   Ford        EXPLORER             NASHVILLE                TN
8952   1FM5K8D83KGB48065   Ford        EXPLORER             INDIANAPOLIS             IN
8953   1FM5K8D83KGB48129   Ford        EXPLORER             CUMMING                  GA
8954   1FM5K8D83KGB48700   Ford        EXPLORER             Richmond                 VA
8955   1FM5K8D83KGB48714   Ford        EXPLORER             PHILADELPHIA             PA
8956   1FM5K8D83KGB48745   Ford        EXPLORER             PALM SPRINGS             CA
8957   1FM5K8D83KGB48762   Ford        EXPLORER             OAKLAND                  CA
8958   1FM5K8D83KGB49054   Ford        EXPLORER             PALM SPRINGS             CA
8959   1FM5K8D83KGB49068   Ford        EXPLORER             SACRAMENTO               CA
8960   1FM5K8D83KGB49071   Ford        EXPLORER             MILWAUKEE                WI
8961   1FM5K8D83KGB49085   Ford        EXPLORER             SAN DIEGO                CA
8962   1FM5K8D83KGB49121   Ford        EXPLORER             NEWARK                   NJ
8963   1FM5K8D83KGB49135   Ford        EXPLORER             SAN DIEGO                CA
8964   1FM5K8D83KGB49149   Ford        EXPLORER             JACKSONVILLE             FL
8965   1FM5K8D83KGB49166   Ford        EXPLORER             WARWICK                  RI
8966   1FM5K8D84GGC88875   Ford        EXPLORER             El Paso                  TX
8967   1FM5K8D84HGC90076   Ford        EXPLORER             KENNER                   LA
8968   1FM5K8D84HGD56903   Ford        EXPLORER             Oceanside                CA
8969   1FM5K8D84HGD57310   Ford        EXPLORER             Fontana                  CA
8970   1FM5K8D84HGD64855   Ford        EXPLORER             FT. LAUDERDALE           FL
8971   1FM5K8D84HGD64872   Ford        EXPLORER             Oceanside                CA
8972   1FM5K8D84JGA27964   Ford        EXPLORER             Ventura                  CA
8973   1FM5K8D84JGA36471   Ford        EXPLORER             Bordentown               NJ
8974   1FM5K8D84JGA36518   Ford        EXPLORER             Fontana                  CA
8975   1FM5K8D84JGA36535   Ford        EXPLORER             DENVER                   CO
8976   1FM5K8D84JGA45624   Ford        EXPLORER             Bordentown               NJ
8977   1FM5K8D84JGA45672   Ford        EXPLORER             Davie                    FL
8978   1FM5K8D84JGB57582   Ford        EXPLORER             Atlanta                  GA
8979   1FM5K8D84JGB80473   Ford        EXPLORER             CHARLOTTE                NC
8980   1FM5K8D84JGB90971   Ford        EXPLORER             SAN DIEGO                CA
8981   1FM5K8D84JGB90985   Ford        EXPLORER             Baltimore                MD
8982   1FM5K8D84JGB90999   Ford        EXPLORER             Torrance                 CA
8983   1FM5K8D84JGB91005   Ford        EXPLORER             SAN DIEGO                CA
8984   1FM5K8D84JGB91022   Ford        EXPLORER             FORT MYERS               FL
8985   1FM5K8D84JGB91070   Ford        EXPLORER             Manheim                  PA
8986   1FM5K8D84JGB91084   Ford        EXPLORER             PHILADELPHIA             PA
8987   1FM5K8D84JGB91103   Ford        EXPLORER             LOS ANGELES              CA
8988   1FM5K8D84JGB91117   Ford        EXPLORER             PORTLAND                 OR
8989   1FM5K8D84JGB91120   Ford        EXPLORER             Norwalk                  CA
8990   1FM5K8D84JGB91134   Ford        EXPLORER             Fontana                  CA
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8991   1FM5K8D84JGB91151   Ford        EXPLORER             LOS ANGELES              CA
8992   1FM5K8D84JGB91215   Ford        EXPLORER             DENVER                   CO
8993   1FM5K8D84JGB91229   Ford        EXPLORER             LOS ANGELES              CA
8994   1FM5K8D84JGB91246   Ford        EXPLORER             San Diego                CA
8995   1FM5K8D84JGC06991   Ford        EXPLORER             Des Plaines              IL
8996   1FM5K8D84JGC15013   Ford        EXPLORER             Statesville              NC
8997   1FM5K8D84JGC15044   Ford        EXPLORER             DENVER                   CO
8998   1FM5K8D84JGC15061   Ford        EXPLORER             Aurora                   CO
8999   1FM5K8D84JGC15075   Ford        EXPLORER             Tolleson                 AZ
9000   1FM5K8D84JGC15108   Ford        EXPLORER             TRACY                    CA
9001   1FM5K8D84JGC15139   Ford        EXPLORER             LAS VEGAS                NV
9002   1FM5K8D84JGC15156   Ford        EXPLORER             Albuquerque              NM
9003   1FM5K8D84JGC15173   Ford        EXPLORER             TULSA                    OK
9004   1FM5K8D84JGC15223   Ford        EXPLORER             Riverside                CA
9005   1FM5K8D84JGC15268   Ford        EXPLORER             TRACY                    CA
9006   1FM5K8D84JGC15271   Ford        EXPLORER             LOS ANGELES              CA
9007   1FM5K8D84JGC15335   Ford        EXPLORER             PHOENIX                  AZ
9008   1FM5K8D84JGC15383   Ford        EXPLORER             BURBANK                  CA
9009   1FM5K8D84JGC15433   Ford        EXPLORER             DALLAS                   TX
9010   1FM5K8D84JGC15450   Ford        EXPLORER             DENVER                   CO
9011   1FM5K8D84JGC15481   Ford        EXPLORER             Seattle                  WA
9012   1FM5K8D84JGC15528   Ford        EXPLORER             Hayward                  CA
9013   1FM5K8D84JGC15559   Ford        EXPLORER             Morrisville              NC
9014   1FM5K8D84JGC15688   Ford        EXPLORER             Hayward                  CA
9015   1FM5K8D84JGC15691   Ford        EXPLORER             SEATAC                   WA
9016   1FM5K8D84JGC15710   Ford        EXPLORER             PORTLAND                 OR
9017   1FM5K8D84JGC15741   Ford        EXPLORER             BIRMINGHAM               AL
9018   1FM5K8D84JGC15755   Ford        EXPLORER             Philadelphia             PA
9019   1FM5K8D84JGC15805   Ford        EXPLORER             LOS ANGELES              CA
9020   1FM5K8D84JGC15951   Ford        EXPLORER             LAS VEGAS                NV
9021   1FM5K8D84JGC15965   Ford        EXPLORER             SPRINGFIELD              VA
9022   1FM5K8D84JGC15979   Ford        EXPLORER             LOS ANGELES AP           CA
9023   1FM5K8D84JGC15982   Ford        EXPLORER             North Las Vegas          NV
9024   1FM5K8D84JGC15996   Ford        EXPLORER             Kent                     WA
9025   1FM5K8D84JGC16002   Ford        EXPLORER             Denver                   CO
9026   1FM5K8D84JGC16033   Ford        EXPLORER             SAN JOSE                 CA
9027   1FM5K8D84JGC16047   Ford        EXPLORER             SAN JOSE                 CA
9028   1FM5K8D84JGC16050   Ford        EXPLORER             LAS VEGAS                NV
9029   1FM5K8D84JGC16078   Ford        EXPLORER             LAS VEGAS                NV
9030   1FM5K8D84KGA61341   Ford        EXPLORER             LOS ANGELES              CA
9031   1FM5K8D84KGA61369   Ford        EXPLORER             LOS ANGELES              CA
9032   1FM5K8D84KGA61372   Ford        EXPLORER             INGLEWOOD                CA
9033   1FM5K8D84KGA61386   Ford        EXPLORER             SAN DIEGO                CA
9034   1FM5K8D84KGA61405   Ford        EXPLORER             NEW ORLEANS              LA
9035   1FM5K8D84KGA61422   Ford        EXPLORER             AUSTIN                   TX
9036   1FM5K8D84KGA61436   Ford        EXPLORER             BURBANK                  CA
9037   1FM5K8D84KGA61453   Ford        EXPLORER             LOS ANGELES              CA
9038   1FM5K8D84KGA61467   Ford        EXPLORER             PALM SPRINGS             CA
9039   1FM5K8D84KGA61498   Ford        EXPLORER             KENNER                   LA
9040   1FM5K8D84KGA61520   Ford        EXPLORER             CHICAGO                  IL
9041   1FM5K8D84KGA61534   Ford        EXPLORER             BURBANK                  CA
9042   1FM5K8D84KGA61601   Ford        EXPLORER             SEATAC                   WA
9043   1FM5K8D84KGA61615   Ford        EXPLORER             SAN DIEGO                CA
9044   1FM5K8D84KGA61663   Ford        EXPLORER             OAKLAND                  CA
9045   1FM5K8D84KGA61680   Ford        EXPLORER             FRESNO                   CA
9046   1FM5K8D84KGA61758   Ford        EXPLORER             DENVER                   CO
9047   1FM5K8D84KGA61761   Ford        EXPLORER             SANTA ANA                CA
9048   1FM5K8D84KGA61775   Ford        EXPLORER             PHOENIX                  AZ
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9049   1FM5K8D84KGA61808   Ford        EXPLORER             LOS ANGELES AP           CA
9050   1FM5K8D84KGA61842   Ford        EXPLORER             HANOVER                  MD
9051   1FM5K8D84KGA61873   Ford        EXPLORER             LAS VEGAS                NV
9052   1FM5K8D84KGA61887   Ford        EXPLORER             LOS ANGELES              CA
9053   1FM5K8D84KGA61890   Ford        EXPLORER             UNION CITY               GA
9054   1FM5K8D84KGA61906   Ford        EXPLORER             ONTARIO                  CA
9055   1FM5K8D84KGA90886   Ford        EXPLORER             Atlanta                  GA
9056   1FM5K8D84KGB25295   Ford        EXPLORER             FAYETTEVILLE             GA
9057   1FM5K8D84KGB25300   Ford        EXPLORER             CHARLOTTE                NC
9058   1FM5K8D84KGB25314   Ford        EXPLORER             BURLINGTON               VT
9059   1FM5K8D84KGB25328   Ford        EXPLORER             PHILADELPHIA             US
9060   1FM5K8D84KGB25376   Ford        EXPLORER             WARWICK                  RI
9061   1FM5K8D84KGB25393   Ford        EXPLORER             Ft. Myers                FL
9062   1FM5K8D84KGB25488   Ford        EXPLORER             NEWARK                   NJ
9063   1FM5K8D84KGB25491   Ford        EXPLORER             DENVER                   CO
9064   1FM5K8D84KGB25507   Ford        EXPLORER             SAN ANTONIO              TX
9065   1FM5K8D84KGB25510   Ford        EXPLORER             ALBUQUERQUE              NM
9066   1FM5K8D84KGB25913   Ford        EXPLORER             PITTSBURGH               PA
9067   1FM5K8D84KGB25930   Ford        EXPLORER             PHILADELPHIA             PA
9068   1FM5K8D84KGB25944   Ford        EXPLORER             PHOENIX                  AZ
9069   1FM5K8D84KGB26026   Ford        EXPLORER             Irving                   TX
9070   1FM5K8D84KGB26074   Ford        EXPLORER             ATLANTA                  GA
9071   1FM5K8D84KGB26107   Ford        EXPLORER             DALLAS                   TX
9072   1FM5K8D84KGB26110   Ford        EXPLORER             LOS ANGELES              CA
9073   1FM5K8D84KGB26138   Ford        EXPLORER             SALT LAKE CITY           UT
9074   1FM5K8D84KGB26141   Ford        EXPLORER             BURBANK                  CA
9075   1FM5K8D84KGB26155   Ford        EXPLORER             PITTSBURGH               PA
9076   1FM5K8D84KGB26169   Ford        EXPLORER             PHOENIX                  AZ
9077   1FM5K8D84KGB26172   Ford        EXPLORER             SANTA ANA                CA
9078   1FM5K8D84KGB26219   Ford        EXPLORER             Fredericksburg           VA
9079   1FM5K8D84KGB26222   Ford        EXPLORER             BUFFALO                  NY
9080   1FM5K8D84KGB26351   Ford        EXPLORER             LITTLE ROCK              AR
9081   1FM5K8D84KGB26429   Ford        EXPLORER             Teterboro                NJ
9082   1FM5K8D84KGB26639   Ford        EXPLORER             BOSTON                   MA
9083   1FM5K8D84KGB26642   Ford        EXPLORER             Cerritos                 CA
9084   1FM5K8D84KGB26673   Ford        EXPLORER             RALEIGH                  NC
9085   1FM5K8D84KGB26902   Ford        EXPLORER             GREENVILLE               NC
9086   1FM5K8D84KGB26916   Ford        EXPLORER             AUSTIN                   TX
9087   1FM5K8D84KGB26933   Ford        EXPLORER             PHOENIX                  AZ
9088   1FM5K8D84KGB26947   Ford        EXPLORER             RONKONKOMA               NY
9089   1FM5K8D84KGB46485   Ford        EXPLORER             RONKONKOMA               NY
9090   1FM5K8D84KGB46499   Ford        EXPLORER             HOUSTON                  TX
9091   1FM5K8D84KGB46521   Ford        EXPLORER             DAYTONA BEACH            FL
9092   1FM5K8D84KGB46535   Ford        EXPLORER             CLEVELAND                OH
9093   1FM5K8D84KGB46552   Ford        EXPLORER             MEDINA                   OH
9094   1FM5K8D84KGB46566   Ford        EXPLORER             FORT LAUDERDALE          FL
9095   1FM5K8D84KGB46583   Ford        EXPLORER             Baltimore                MD
9096   1FM5K8D84KGB46597   Ford        EXPLORER             WARWICK                  RI
9097   1FM5K8D84KGB46602   Ford        EXPLORER             Euless                   TX
9098   1FM5K8D84KGB46664   Ford        EXPLORER             Atlanta                  GA
9099   1FM5K8D84KGB46681   Ford        EXPLORER             NEW YORK CITY            NY
9100   1FM5K8D84KGB46695   Ford        EXPLORER             NORFOLK                  VA
9101   1FM5K8D84KGB46700   Ford        EXPLORER             Reno                     NV
9102   1FM5K8D84KGB46728   Ford        EXPLORER             DETROIT                  MI
9103   1FM5K8D84KGB46731   Ford        EXPLORER             Atlanta                  GA
9104   1FM5K8D84KGB46762   Ford        EXPLORER             KNOXVILLE                TN
9105   1FM5K8D84KGB46776   Ford        EXPLORER             SAN DIEGO                CA
9106   1FM5K8D84KGB46793   Ford        EXPLORER             BIRMINGHAM               AL
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9107   1FM5K8D84KGB46826   Ford        EXPLORER             DENVER                   CO
9108   1FM5K8D84KGB46857   Ford        EXPLORER             HOUSTON                  TX
9109   1FM5K8D84KGB46860   Ford        EXPLORER             SOUTH SAN FRANC          CA
9110   1FM5K8D84KGB46874   Ford        EXPLORER             LAS VEGAS                NV
9111   1FM5K8D84KGB46891   Ford        EXPLORER             albuquerque              nm
9112   1FM5K8D84KGB46907   Ford        EXPLORER             PHILADELPHIA             PA
9113   1FM5K8D84KGB47166   Ford        EXPLORER             KNOXVILLE                TN
9114   1FM5K8D84KGB47183   Ford        EXPLORER             INDIANAPOLIS             IN
9115   1FM5K8D84KGB47197   Ford        EXPLORER             LAS VEGAS                NV
9116   1FM5K8D84KGB47202   Ford        EXPLORER             Hamilton                 OH
9117   1FM5K8D84KGB47216   Ford        EXPLORER             KENNER                   LA
9118   1FM5K8D84KGB47247   Ford        EXPLORER             ALBANY                   N
9119   1FM5K8D84KGB47250   Ford        EXPLORER             WEST PALM BEACH          FL
9120   1FM5K8D84KGB47281   Ford        EXPLORER             Newark                   NJ
9121   1FM5K8D84KGB47331   Ford        EXPLORER             Tampa                    FL
9122   1FM5K8D84KGB47362   Ford        EXPLORER             PITTSBURGH               PA
9123   1FM5K8D84KGB47376   Ford        EXPLORER             PHILADELPHIA             PA
9124   1FM5K8D84KGB47393   Ford        EXPLORER             KNOXVILLE                TN
9125   1FM5K8D84KGB47412   Ford        EXPLORER             HANOVER                  MD
9126   1FM5K8D84KGB47460   Ford        EXPLORER             PHILADELPHIA             PA
9127   1FM5K8D84KGB47491   Ford        EXPLORER             KNOXVILLE                TN
9128   1FM5K8D84KGB48026   Ford        EXPLORER             SAINT PAUL               MN
9129   1FM5K8D84KGB48057   Ford        EXPLORER             RENO                     NV
9130   1FM5K8D84KGB48060   Ford        EXPLORER             SAN DIEGO                CA
9131   1FM5K8D84KGB48656   Ford        EXPLORER             NEWARK                   NJ
9132   1FM5K8D84KGB48673   Ford        EXPLORER             ATLANTA                  GA
9133   1FM5K8D84KGB48687   Ford        EXPLORER             Webster                  NY
9134   1FM5K8D84KGB48737   Ford        EXPLORER             SAN JOSE                 CA
9135   1FM5K8D84KGB48740   Ford        EXPLORER             PHOENIX                  AZ
9136   1FM5K8D84KGB48771   Ford        EXPLORER             Florissant               MO
9137   1FM5K8D84KGB49015   Ford        EXPLORER             NEW BERN                 NC
9138   1FM5K8D84KGB49029   Ford        EXPLORER             CHARLOTTE                NC
9139   1FM5K8D84KGB49032   Ford        EXPLORER             OAKLAND                  CA
9140   1FM5K8D84KGB49046   Ford        EXPLORER             PHOENIX                  AZ
9141   1FM5K8D84KGB49077   Ford        EXPLORER             SEATAC                   WA
9142   1FM5K8D84KGB49080   Ford        EXPLORER             SAN DIEGO                CA
9143   1FM5K8D84KGB49094   Ford        EXPLORER             SARASOTA                 FL
9144   1FM5K8D84KGB49113   Ford        EXPLORER             ORLANDO                  FL
9145   1FM5K8D84KGB49130   Ford        EXPLORER             COLUMBUS                 OH
9146   1FM5K8D84KGB49158   Ford        EXPLORER             FORT MYERS               FL
9147   1FM5K8D84KGB49161   Ford        EXPLORER             LOS ANGELES              CA
9148   1FM5K8D84KGB49189   Ford        EXPLORER             MIDLAND                  TX
9149   1FM5K8D84KGB49192   Ford        EXPLORER             CHARLESTON               WV
9150   1FM5K8D84KGB49337   Ford        EXPLORER             Scottsdale               AZ
9151   1FM5K8D85HGD05104   Ford        EXPLORER             Fairbanks                AK
9152   1FM5K8D85HGD24798   Ford        EXPLORER             Davie                    FL
9153   1FM5K8D85HGD57039   Ford        EXPLORER             Kent                     WA
9154   1FM5K8D85HGD57154   Ford        EXPLORER             Mira Loma                CA
9155   1FM5K8D85HGD57283   Ford        EXPLORER             SAN JOSE                 CA
9156   1FM5K8D85HGD64783   Ford        EXPLORER             Portland                 OR
9157   1FM5K8D85HGD64816   Ford        EXPLORER             Chicago                  IL
9158   1FM5K8D85JGA27908   Ford        EXPLORER             PORTLAND                 OR
9159   1FM5K8D85JGA27939   Ford        EXPLORER             Hayward                  CA
9160   1FM5K8D85JGA27956   Ford        EXPLORER             Manheim                  PA
9161   1FM5K8D85JGA36561   Ford        EXPLORER             Cleveland                OH
9162   1FM5K8D85JGA45616   Ford        EXPLORER             North Dighton            MA
9163   1FM5K8D85JGA45664   Ford        EXPLORER             Bensalem                 PA
9164   1FM5K8D85JGA45728   Ford        EXPLORER             Memphis                  TN
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9165   1FM5K8D85JGB10447   Ford        EXPLORER             Davie                    FL
9166   1FM5K8D85JGB90963   Ford        EXPLORER             San Diego                CA
9167   1FM5K8D85JGB90977   Ford        EXPLORER             North Dighton            MA
9168   1FM5K8D85JGB90994   Ford        EXPLORER             DENVER                   CO
9169   1FM5K8D85JGB91062   Ford        EXPLORER             SEATAC                   WA
9170   1FM5K8D85JGB91160   Ford        EXPLORER             LAS VEGAS                NV
9171   1FM5K8D85JGB91188   Ford        EXPLORER             PLEASANTON               CA
9172   1FM5K8D85JGB91207   Ford        EXPLORER             LOS ANGELES              CA
9173   1FM5K8D85JGB91210   Ford        EXPLORER             Statesville              NC
9174   1FM5K8D85JGB91238   Ford        EXPLORER             SALT LAKE CITY           US
9175   1FM5K8D85JGB91286   Ford        EXPLORER             SAN DIEGO                CA
9176   1FM5K8D85JGC06983   Ford        EXPLORER             Chicago                  IL
9177   1FM5K8D85JGC06997   Ford        EXPLORER             Norwalk                  CA
9178   1FM5K8D85JGC07017   Ford        EXPLORER             DENVER                   CO
9179   1FM5K8D85JGC15053   Ford        EXPLORER             CHICAGO                  IL
9180   1FM5K8D85JGC15067   Ford        EXPLORER             FRESNO                   CA
9181   1FM5K8D85JGC15084   Ford        EXPLORER             Santa Clara              CA
9182   1FM5K8D85JGC15103   Ford        EXPLORER             DES MOINES               IA
9183   1FM5K8D85JGC15151   Ford        EXPLORER             SEATTLE                  WA
9184   1FM5K8D85JGC15201   Ford        EXPLORER             SAN DIEGO                CA
9185   1FM5K8D85JGC15229   Ford        EXPLORER             TRACY                    CA
9186   1FM5K8D85JGC15246   Ford        EXPLORER             Stockton                 CA
9187   1FM5K8D85JGC15263   Ford        EXPLORER             LAS VEGAS                NV
9188   1FM5K8D85JGC15277   Ford        EXPLORER             Los Angeles              CA
9189   1FM5K8D85JGC15294   Ford        EXPLORER             LA HABRA                 CA
9190   1FM5K8D85JGC15313   Ford        EXPLORER             Charlotte                NC
9191   1FM5K8D85JGC15327   Ford        EXPLORER             LAS VEGAS                NV
9192   1FM5K8D85JGC15330   Ford        EXPLORER             Fresno                   CA
9193   1FM5K8D85JGC15375   Ford        EXPLORER             Riverside                CA
9194   1FM5K8D85JGC15411   Ford        EXPLORER             Hayward                  CA
9195   1FM5K8D85JGC15439   Ford        EXPLORER             INGLEWOOD                CA
9196   1FM5K8D85JGC15487   Ford        EXPLORER             Lake Elsinore            CA
9197   1FM5K8D85JGC15506   Ford        EXPLORER             Warminster               PA
9198   1FM5K8D85JGC15537   Ford        EXPLORER             Denver                   CO
9199   1FM5K8D85JGC15540   Ford        EXPLORER             LOS ANGELES              CA
9200   1FM5K8D85JGC15554   Ford        EXPLORER             Teterboro                NJ
9201   1FM5K8D85JGC15571   Ford        EXPLORER             NEW BERN                 NC
9202   1FM5K8D85JGC15604   Ford        EXPLORER             KANSAS CITY              MO
9203   1FM5K8D85JGC15618   Ford        EXPLORER             TAMPA                    FL
9204   1FM5K8D85JGC15635   Ford        EXPLORER             Des Plaines              IL
9205   1FM5K8D85JGC15652   Ford        EXPLORER             Mira Loma                CA
9206   1FM5K8D85JGC15683   Ford        EXPLORER             Seattle                  WA
9207   1FM5K8D85JGC15747   Ford        EXPLORER             PALM SPRINGS             CA
9208   1FM5K8D85JGC15781   Ford        EXPLORER             MONTEREY                 CA
9209   1FM5K8D85JGC15800   Ford        EXPLORER             SEATAC                   WA
9210   1FM5K8D85JGC15814   Ford        EXPLORER             SEATAC                   WA
9211   1FM5K8D85JGC15926   Ford        EXPLORER             Norwalk                  CA
9212   1FM5K8D85JGC15943   Ford        EXPLORER             Fontana                  CA
9213   1FM5K8D85JGC15957   Ford        EXPLORER             LOS ANGELES              CA
9214   1FM5K8D85JGC15974   Ford        EXPLORER             BURBANK                  CA
9215   1FM5K8D85JGC15988   Ford        EXPLORER             Fontana                  CA
9216   1FM5K8D85JGC16008   Ford        EXPLORER             Pasadena                 CA
9217   1FM5K8D85JGC16039   Ford        EXPLORER             BURBANK                  CA
9218   1FM5K8D85JGC16056   Ford        EXPLORER             LAS VEGAS                NV
9219   1FM5K8D85JGC16087   Ford        EXPLORER             SAN DIEGO                CA
9220   1FM5K8D85JGC33908   Ford        EXPLORER             Philadelphia             PA
9221   1FM5K8D85JGC33911   Ford        EXPLORER             Manheim                  PA
9222   1FM5K8D85KGA42796   Ford        EXPLORER             BURBANK                  CA
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9223   1FM5K8D85KGA61218   Ford        EXPLORER             OKLAHOMA CITY            OK
9224   1FM5K8D85KGA61221   Ford        EXPLORER             PHOENIX                  AZ
9225   1FM5K8D85KGA61364   Ford        EXPLORER             ORLANDO                  FL
9226   1FM5K8D85KGA61378   Ford        EXPLORER             LOS ANGELES              CA
9227   1FM5K8D85KGA61381   Ford        EXPLORER             BURBANK                  CA
9228   1FM5K8D85KGA61395   Ford        EXPLORER             FRESNO                   CA
9229   1FM5K8D85KGA61414   Ford        EXPLORER             LAS VEGAS                NV
9230   1FM5K8D85KGA61428   Ford        EXPLORER             SACRAMENTO               CA
9231   1FM5K8D85KGA61431   Ford        EXPLORER             LA HABRA                 CA
9232   1FM5K8D85KGA61459   Ford        EXPLORER             PORTLAND                 OR
9233   1FM5K8D85KGA61526   Ford        EXPLORER             LOS ANGELES              CA
9234   1FM5K8D85KGA61543   Ford        EXPLORER             KNOXVILLE                TN
9235   1FM5K8D85KGA61557   Ford        EXPLORER             KENNER                   LA
9236   1FM5K8D85KGA61610   Ford        EXPLORER             LOS ANGELES              CA
9237   1FM5K8D85KGA61669   Ford        EXPLORER             MONTCLAIR                CA
9238   1FM5K8D85KGA61705   Ford        EXPLORER             LAS VEGAS                NV
9239   1FM5K8D85KGA61719   Ford        EXPLORER             PHOENIX                  AZ
9240   1FM5K8D85KGA61722   Ford        EXPLORER             MONTCLAIR                CA
9241   1FM5K8D85KGA61736   Ford        EXPLORER             Atlanta                  GA
9242   1FM5K8D85KGA61753   Ford        EXPLORER             Stockton                 CA
9243   1FM5K8D85KGA61803   Ford        EXPLORER             MILWAUKEE                WI
9244   1FM5K8D85KGA61817   Ford        EXPLORER             SAN DIEGO                CA
9245   1FM5K8D85KGA61820   Ford        EXPLORER             PHOENIX                  AZ
9246   1FM5K8D85KGA61834   Ford        EXPLORER             ONTARIO                  CA
9247   1FM5K8D85KGA61865   Ford        EXPLORER             Slidell                  LA
9248   1FM5K8D85KGA61882   Ford        EXPLORER             LOS ANGELES              CA
9249   1FM5K8D85KGA61896   Ford        EXPLORER             SACRAMENTO               CA
9250   1FM5K8D85KGB16296   Ford        EXPLORER             SOUTH BEND               IN
9251   1FM5K8D85KGB25323   Ford        EXPLORER             BOSTON, LOGAN AP         MA
9252   1FM5K8D85KGB25340   Ford        EXPLORER             INDIANAPOLIS             IN
9253   1FM5K8D85KGB25354   Ford        EXPLORER             CHARLOTTE                US
9254   1FM5K8D85KGB25368   Ford        EXPLORER             GREENVILLE               NC
9255   1FM5K8D85KGB25385   Ford        EXPLORER             ORLANDO                  FL
9256   1FM5K8D85KGB25418   Ford        EXPLORER             GROVE CITY               PA
9257   1FM5K8D85KGB25421   Ford        EXPLORER             Dallas                   TX
9258   1FM5K8D85KGB25483   Ford        EXPLORER             SAN ANTONIO              TX
9259   1FM5K8D85KGB25502   Ford        EXPLORER             Houston                  TX
9260   1FM5K8D85KGB25516   Ford        EXPLORER             Teterboro                NJ
9261   1FM5K8D85KGB25905   Ford        EXPLORER             NEW YORK CITY            NY
9262   1FM5K8D85KGB25919   Ford        EXPLORER             WARWICK                  RI
9263   1FM5K8D85KGB25922   Ford        EXPLORER             Clarksville              IN
9264   1FM5K8D85KGB25936   Ford        EXPLORER             Fontana                  CA
9265   1FM5K8D85KGB26004   Ford        EXPLORER             NEWARK                   NJ
9266   1FM5K8D85KGB26018   Ford        EXPLORER             WILMINGTON               NC
9267   1FM5K8D85KGB26021   Ford        EXPLORER             INDIANAPOLIS             IN
9268   1FM5K8D85KGB26066   Ford        EXPLORER             DETROIT                  MI
9269   1FM5K8D85KGB26147   Ford        EXPLORER             ATLANTA                  GA
9270   1FM5K8D85KGB26164   Ford        EXPLORER             PALM SPRINGS             CA
9271   1FM5K8D85KGB26178   Ford        EXPLORER             PHOENIX                  AZ
9272   1FM5K8D85KGB26181   Ford        EXPLORER             LOS ANGELES              CA
9273   1FM5K8D85KGB26195   Ford        EXPLORER             MIAMI                    FL
9274   1FM5K8D85KGB26651   Ford        EXPLORER             KENNER                   LA
9275   1FM5K8D85KGB26682   Ford        EXPLORER             PHILADELPHIA             PA
9276   1FM5K8D85KGB26701   Ford        EXPLORER             WEST PALM BEACH          FL
9277   1FM5K8D85KGB26911   Ford        EXPLORER             CHARLOTTE                NC
9278   1FM5K8D85KGB26942   Ford        EXPLORER             ROANOKE                  VA
9279   1FM5K8D85KGB46477   Ford        EXPLORER             Detroit                  MI
9280   1FM5K8D85KGB46513   Ford        EXPLORER             NEWARK                   NJ
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9281   1FM5K8D85KGB46527   Ford        EXPLORER             Atlanta                  GA
9282   1FM5K8D85KGB46530   Ford        EXPLORER             EPHRATA                  PA
9283   1FM5K8D85KGB46544   Ford        EXPLORER             DES MOINES               IA
9284   1FM5K8D85KGB46561   Ford        EXPLORER             TAMPA                    FL
9285   1FM5K8D85KGB46575   Ford        EXPLORER             NEW BERN                 NC
9286   1FM5K8D85KGB46592   Ford        EXPLORER             PENSACOLA                FL
9287   1FM5K8D85KGB46608   Ford        EXPLORER             FORT MYERS               FL
9288   1FM5K8D85KGB46625   Ford        EXPLORER             Harvey                   LA
9289   1FM5K8D85KGB46656   Ford        EXPLORER             WEST COLUMBIA            SC
9290   1FM5K8D85KGB46706   Ford        EXPLORER             KNOXVILLE                TN
9291   1FM5K8D85KGB46723   Ford        EXPLORER             DES MOINES               IA
9292   1FM5K8D85KGB46740   Ford        EXPLORER             CHARLOTTE                NC
9293   1FM5K8D85KGB46754   Ford        EXPLORER             CHARLOTTE                NC
9294   1FM5K8D85KGB46768   Ford        EXPLORER             KENNER                   LA
9295   1FM5K8D85KGB46771   Ford        EXPLORER             CHARLESTON               WV
9296   1FM5K8D85KGB46799   Ford        EXPLORER             FORT MYERS               FL
9297   1FM5K8D85KGB46849   Ford        EXPLORER             SAINT PAUL               MN
9298   1FM5K8D85KGB46897   Ford        EXPLORER             PHOENIX                  AZ
9299   1FM5K8D85KGB47029   Ford        EXPLORER             Fontana                  CA
9300   1FM5K8D85KGB47032   Ford        EXPLORER             BURBANK                  CA
9301   1FM5K8D85KGB47175   Ford        EXPLORER             PHILADELPHIA             PA
9302   1FM5K8D85KGB47189   Ford        EXPLORER             LUBBOCK                  TX
9303   1FM5K8D85KGB47192   Ford        EXPLORER             COLLEGE PARK             GA
9304   1FM5K8D85KGB47208   Ford        EXPLORER             DALLAS                   TX
9305   1FM5K8D85KGB47225   Ford        EXPLORER             TAMPA                    US
9306   1FM5K8D85KGB47239   Ford        EXPLORER             BROOKLYN                 NY
9307   1FM5K8D85KGB47242   Ford        EXPLORER             NEW YORK CITY            NY
9308   1FM5K8D85KGB47256   Ford        EXPLORER             SEATAC                   WA
9309   1FM5K8D85KGB47385   Ford        EXPLORER             STERLING                 VA
9310   1FM5K8D85KGB47399   Ford        EXPLORER             RICHMOND                 VA
9311   1FM5K8D85KGB47404   Ford        EXPLORER             Atlanta                  GA
9312   1FM5K8D85KGB47418   Ford        EXPLORER             SOUTH BEND               IN
9313   1FM5K8D85KGB47421   Ford        EXPLORER             PITTSBURGH               PA
9314   1FM5K8D85KGB47449   Ford        EXPLORER             North Dighton            MA
9315   1FM5K8D85KGB48018   Ford        EXPLORER             LAS VEGAS                NV
9316   1FM5K8D85KGB48021   Ford        EXPLORER             SAN JOSE                 CA
9317   1FM5K8D85KGB48035   Ford        EXPLORER             PALM SPRINGS             CA
9318   1FM5K8D85KGB48052   Ford        EXPLORER             OKLAHOMA CITY            OK
9319   1FM5K8D85KGB48066   Ford        EXPLORER             LAS VEGAS                NV
9320   1FM5K8D85KGB48097   Ford        EXPLORER             Union                    NJ
9321   1FM5K8D85KGB48116   Ford        EXPLORER             WEST PALM BEACH          FL
9322   1FM5K8D85KGB48133   Ford        EXPLORER             GREENVILLE               NC
9323   1FM5K8D85KGB48665   Ford        EXPLORER             NEW YORK CITY            NY
9324   1FM5K8D85KGB48682   Ford        EXPLORER             CHARLOTTE                NC
9325   1FM5K8D85KGB48701   Ford        EXPLORER             MILWAUKEE                WI
9326   1FM5K8D85KGB48763   Ford        EXPLORER             Saint Paul               MN
9327   1FM5K8D85KGB49038   Ford        EXPLORER             SACRAMENTO               CA
9328   1FM5K8D85KGB49041   Ford        EXPLORER             PHILADELPHIA             PA
9329   1FM5K8D85KGB49055   Ford        EXPLORER             SACRAMENTO               CA
9330   1FM5K8D85KGB49119   Ford        EXPLORER             CHARLOTTE                NC
9331   1FM5K8D85KGB49122   Ford        EXPLORER             NEW ORLEANS              LA
9332   1FM5K8D85KGB49136   Ford        EXPLORER             CUMMING                  GA
9333   1FM5K8D85KGB49153   Ford        EXPLORER             PITTSBURGH               PA
9334   1FM5K8D85KGB49167   Ford        EXPLORER             WARWICK                  RI
9335   1FM5K8D85KGB49332   Ford        EXPLORER             MILWAUKEE                WI
9336   1FM5K8D86HGC77684   Ford        EXPLORER             Oceanside                CA
9337   1FM5K8D86JGA27948   Ford        EXPLORER             Davie                    FL
9338   1FM5K8D86JGA43373   Ford        EXPLORER             Chicago                  IL
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9339   1FM5K8D86JGA45611   Ford        EXPLORER             North Dighton            MA
9340   1FM5K8D86JGA56883   Ford        EXPLORER             Mt. Juliet               TN
9341   1FM5K8D86JGA56964   Ford        EXPLORER             Webster                  NY
9342   1FM5K8D86JGA57063   Ford        EXPLORER             Manheim                  PA
9343   1FM5K8D86JGB45093   Ford        EXPLORER             Winston‐Salem            NC
9344   1FM5K8D86JGB57583   Ford        EXPLORER             BOSTON                   MA
9345   1FM5K8D86JGB66283   Ford        EXPLORER             ORLANDO                  FL
9346   1FM5K8D86JGB90986   Ford        EXPLORER             GYPSUM                   CO
9347   1FM5K8D86JGB91023   Ford        EXPLORER             Denver                   CO
9348   1FM5K8D86JGB91040   Ford        EXPLORER             Warminster               PA
9349   1FM5K8D86JGB91068   Ford        EXPLORER             Hayward                  CA
9350   1FM5K8D86JGB91071   Ford        EXPLORER             PORTLAND                 OR
9351   1FM5K8D86JGB91118   Ford        EXPLORER             DENVER                   CO
9352   1FM5K8D86JGB91135   Ford        EXPLORER             HOUSTON                  TX
9353   1FM5K8D86JGB91149   Ford        EXPLORER             Fontana                  CA
9354   1FM5K8D86JGB91152   Ford        EXPLORER             PHOENIX                  AZ
9355   1FM5K8D86JGB91183   Ford        EXPLORER             SAN DIEGO                CA
9356   1FM5K8D86JGB91202   Ford        EXPLORER             MOBILE                   A
9357   1FM5K8D86JGB91250   Ford        EXPLORER             LOS ANGELES              CA
9358   1FM5K8D86JGB91278   Ford        EXPLORER             Elkridge                 MD
9359   1FM5K8D86JGB91281   Ford        EXPLORER             Stockton                 CA
9360   1FM5K8D86JGB91314   Ford        EXPLORER             ATLANTA                  GA
9361   1FM5K8D86JGB91328   Ford        EXPLORER             Ventura                  CA
9362   1FM5K8D86JGC06975   Ford        EXPLORER             Hayward                  CA
9363   1FM5K8D86JGC07009   Ford        EXPLORER             PALM SPRINGS             CA
9364   1FM5K8D86JGC15000   Ford        EXPLORER             Manheim                  PA
9365   1FM5K8D86JGC15062   Ford        EXPLORER             Manheim                  PA
9366   1FM5K8D86JGC15093   Ford        EXPLORER             Roseville                CA
9367   1FM5K8D86JGC15126   Ford        EXPLORER             BURBANK                  CA
9368   1FM5K8D86JGC15143   Ford        EXPLORER             Beaverton                OR
9369   1FM5K8D86JGC15160   Ford        EXPLORER             SACRAMENTO               CA
9370   1FM5K8D86JGC15269   Ford        EXPLORER             Costa Mesa               CA
9371   1FM5K8D86JGC15272   Ford        EXPLORER             PHOENIX                  AZ
9372   1FM5K8D86JGC15319   Ford        EXPLORER             Rio Linda                CA
9373   1FM5K8D86JGC15322   Ford        EXPLORER             Torrance                 CA
9374   1FM5K8D86JGC15336   Ford        EXPLORER             FRESNO                   CA
9375   1FM5K8D86JGC15353   Ford        EXPLORER             DENVER                   CO
9376   1FM5K8D86JGC15384   Ford        EXPLORER             LAS VEGAS                NV
9377   1FM5K8D86JGC15434   Ford        EXPLORER             Sacramento               CA
9378   1FM5K8D86JGC15448   Ford        EXPLORER             FRESNO                   CA
9379   1FM5K8D86JGC15546   Ford        EXPLORER             DENVER                   CO
9380   1FM5K8D86JGC15594   Ford        EXPLORER             Norfolk                  VA
9381   1FM5K8D86JGC15613   Ford        EXPLORER             Houston                  TX
9382   1FM5K8D86JGC15627   Ford        EXPLORER             Denver                   CO
9383   1FM5K8D86JGC15725   Ford        EXPLORER             WEST PALM BEACH          FL
9384   1FM5K8D86JGC15837   Ford        EXPLORER             Hayward                  CA
9385   1FM5K8D86JGC15854   Ford        EXPLORER             Fresno                   CA
9386   1FM5K8D86JGC15899   Ford        EXPLORER             PHOENIX                  AZ
9387   1FM5K8D86JGC15904   Ford        EXPLORER             Norwalk                  CA
9388   1FM5K8D86JGC15935   Ford        EXPLORER             SALT LAKE CITY           UT
9389   1FM5K8D86JGC15949   Ford        EXPLORER             Fontana                  CA
9390   1FM5K8D86JGC15952   Ford        EXPLORER             Atlanta                  GA
9391   1FM5K8D86JGC15983   Ford        EXPLORER             Tolleson                 AZ
9392   1FM5K8D86JGC15997   Ford        EXPLORER             LAS VEGAS                NV
9393   1FM5K8D86JGC16003   Ford        EXPLORER             Ocoee                    FL
9394   1FM5K8D86JGC16017   Ford        EXPLORER             STOCKTON                 CA
9395   1FM5K8D86JGC16034   Ford        EXPLORER             PORTLAND                 ME
9396   1FM5K8D86JGC16048   Ford        EXPLORER             ONTARIO                  CA
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9397   1FM5K8D86JGC16065   Ford        EXPLORER             Marietta                 GA
9398   1FM5K8D86JGC16132   Ford        EXPLORER             Ocoee                    FL
9399   1FM5K8D86JGC33920   Ford        EXPLORER             CHEEKTOWAGA              NY
9400   1FM5K8D86KGA61339   Ford        EXPLORER             LOS ANGELES              CA
9401   1FM5K8D86KGA61342   Ford        EXPLORER             SAN DIEGO                US
9402   1FM5K8D86KGA61356   Ford        EXPLORER             MONTEREY                 CA
9403   1FM5K8D86KGA61373   Ford        EXPLORER             BURBANK                  CA
9404   1FM5K8D86KGA61387   Ford        EXPLORER             SAN DIEGO                CA
9405   1FM5K8D86KGA61390   Ford        EXPLORER             SAINT PAUL               MN
9406   1FM5K8D86KGA61423   Ford        EXPLORER             SOUTH SAN FRANC          CA
9407   1FM5K8D86KGA61440   Ford        EXPLORER             PORTLAND                 OR
9408   1FM5K8D86KGA61454   Ford        EXPLORER             SANTA ANA                CA
9409   1FM5K8D86KGA61468   Ford        EXPLORER             LOS ANGELES              CA
9410   1FM5K8D86KGA61471   Ford        EXPLORER             San Diego                CA
9411   1FM5K8D86KGA61485   Ford        EXPLORER             SAN JOSE                 CA
9412   1FM5K8D86KGA61499   Ford        EXPLORER             HARTFORD                 CT
9413   1FM5K8D86KGA61549   Ford        EXPLORER             Atlanta                  GA
9414   1FM5K8D86KGA61566   Ford        EXPLORER             PHOENIX                  AZ
9415   1FM5K8D86KGA61597   Ford        EXPLORER             Reno                     NV
9416   1FM5K8D86KGA61633   Ford        EXPLORER             SEATAC                   WA
9417   1FM5K8D86KGA61664   Ford        EXPLORER             SAINT PAUL               MN
9418   1FM5K8D86KGA61681   Ford        EXPLORER             SOUTHEAST DST OFFC       OK
9419   1FM5K8D86KGA61695   Ford        EXPLORER             FRESNO                   CA
9420   1FM5K8D86KGA61700   Ford        EXPLORER             LOS ANGELES              CA
9421   1FM5K8D86KGA61714   Ford        EXPLORER             SAN DIEGO                CA
9422   1FM5K8D86KGA61759   Ford        EXPLORER             LOS ANGELES              CA
9423   1FM5K8D86KGA61762   Ford        EXPLORER             DALLAS                   TX
9424   1FM5K8D86KGA61812   Ford        EXPLORER             SACRAMENTO               CA
9425   1FM5K8D86KGA61826   Ford        EXPLORER             LOS ANGELES              CA
9426   1FM5K8D86KGA61843   Ford        EXPLORER             SEATTLE                  WA
9427   1FM5K8D86KGA61860   Ford        EXPLORER             PHOENIX                  AZ
9428   1FM5K8D86KGA61891   Ford        EXPLORER             FRESNO                   CA
9429   1FM5K8D86KGB25301   Ford        EXPLORER             WEST COLUMBIA            SC
9430   1FM5K8D86KGB25329   Ford        EXPLORER             Teterboro                NJ
9431   1FM5K8D86KGB25346   Ford        EXPLORER             STERLING                 VA
9432   1FM5K8D86KGB25427   Ford        EXPLORER             COLLEGE PARK             GA
9433   1FM5K8D86KGB25475   Ford        EXPLORER             KNOXVILLE                TN
9434   1FM5K8D86KGB25492   Ford        EXPLORER             Hebron                   KY
9435   1FM5K8D86KGB25900   Ford        EXPLORER             COLLEGE PARK             GA
9436   1FM5K8D86KGB25928   Ford        EXPLORER             ATLANTA                  GA
9437   1FM5K8D86KGB26013   Ford        EXPLORER             NASHVILLE                TN
9438   1FM5K8D86KGB26027   Ford        EXPLORER             PHILADELPHIA             PA
9439   1FM5K8D86KGB26044   Ford        EXPLORER             NEWARK                   NJ
9440   1FM5K8D86KGB26108   Ford        EXPLORER             LAS VEGAS                NV
9441   1FM5K8D86KGB26139   Ford        EXPLORER             WEST PALM BEACH          FL
9442   1FM5K8D86KGB26142   Ford        EXPLORER             LOS ANGELES              CA
9443   1FM5K8D86KGB26190   Ford        EXPLORER             PHILADELPHIA             PA
9444   1FM5K8D86KGB26240   Ford        EXPLORER             Houston                  TX
9445   1FM5K8D86KGB26352   Ford        EXPLORER             SAVANNAH                 GA
9446   1FM5K8D86KGB26643   Ford        EXPLORER             ALBANY                   N
9447   1FM5K8D86KGB26657   Ford        EXPLORER             BUFFALO                  NY
9448   1FM5K8D86KGB26660   Ford        EXPLORER             BOSTON                   MA
9449   1FM5K8D86KGB26903   Ford        EXPLORER             EGG HARBOR TOWN          NJ
9450   1FM5K8D86KGB26934   Ford        EXPLORER             PITTSBURGH               PA
9451   1FM5K8D86KGB46472   Ford        EXPLORER             SALT LAKE CITY           UT
9452   1FM5K8D86KGB46486   Ford        EXPLORER             BIRMINGHAM               AL
9453   1FM5K8D86KGB46505   Ford        EXPLORER             MIAMI                    FL
9454   1FM5K8D86KGB46519   Ford        EXPLORER             Detroit                  MI
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9455   1FM5K8D86KGB46522   Ford        EXPLORER             SAINT LOUIS              MO
9456   1FM5K8D86KGB46570   Ford        EXPLORER             DES MOINES               IA
9457   1FM5K8D86KGB46584   Ford        EXPLORER             CHARLESTON               WV
9458   1FM5K8D86KGB46603   Ford        EXPLORER             LOS ANGELES              CA
9459   1FM5K8D86KGB46620   Ford        EXPLORER             ALBANY                   NY
9460   1FM5K8D86KGB46634   Ford        EXPLORER             KENNER                   LA
9461   1FM5K8D86KGB46648   Ford        EXPLORER             AUSTIN                   TX
9462   1FM5K8D86KGB46665   Ford        EXPLORER             VANDALIA                 OH
9463   1FM5K8D86KGB46715   Ford        EXPLORER             RONKONKOMA               NY
9464   1FM5K8D86KGB46732   Ford        EXPLORER             SYRACUSE                 NY
9465   1FM5K8D86KGB46777   Ford        EXPLORER             NEW BERN                 NC
9466   1FM5K8D86KGB46780   Ford        EXPLORER             BALTIMORE                MD
9467   1FM5K8D86KGB46889   Ford        EXPLORER             STERLING                 VA
9468   1FM5K8D86KGB46911   Ford        EXPLORER             Dallas                   TX
9469   1FM5K8D86KGB47184   Ford        EXPLORER             CHICAGO                  IL
9470   1FM5K8D86KGB47198   Ford        EXPLORER             ORLANDO                  FL
9471   1FM5K8D86KGB47203   Ford        EXPLORER             Harvey                   LA
9472   1FM5K8D86KGB47220   Ford        EXPLORER             NEWARK                   NJ
9473   1FM5K8D86KGB47234   Ford        EXPLORER             CHARLESTON               SC
9474   1FM5K8D86KGB47251   Ford        EXPLORER             Hebron                   KY
9475   1FM5K8D86KGB47296   Ford        EXPLORER             Parkville                MD
9476   1FM5K8D86KGB47329   Ford        EXPLORER             CHARLOTTE                NC
9477   1FM5K8D86KGB47430   Ford        EXPLORER             PITTSBURGH               PA
9478   1FM5K8D86KGB47444   Ford        EXPLORER             CHARLESTON               WV
9479   1FM5K8D86KGB47458   Ford        EXPLORER             Sacramento               CA
9480   1FM5K8D86KGB47475   Ford        EXPLORER             Statesville              NC
9481   1FM5K8D86KGB47489   Ford        EXPLORER             CHARLOTTE                NC
9482   1FM5K8D86KGB47492   Ford        EXPLORER             Chicago                  IL
9483   1FM5K8D86KGB48027   Ford        EXPLORER             SOUTH SAN FRANC          CA
9484   1FM5K8D86KGB48030   Ford        EXPLORER             BURBANK                  CA
9485   1FM5K8D86KGB48044   Ford        EXPLORER             SACRAMENTO               CA
9486   1FM5K8D86KGB48061   Ford        EXPLORER             NASHVILLE                TN
9487   1FM5K8D86KGB48125   Ford        EXPLORER             CHARLOTTE                NC
9488   1FM5K8D86KGB48206   Ford        EXPLORER             PHILADELPHIA             PA
9489   1FM5K8D86KGB48657   Ford        EXPLORER             NEW BERN                 NC
9490   1FM5K8D86KGB48674   Ford        EXPLORER             Atlanta                  GA
9491   1FM5K8D86KGB48688   Ford        EXPLORER             MIAMI                    FL
9492   1FM5K8D86KGB48691   Ford        EXPLORER             BEAUFORT                 SC
9493   1FM5K8D86KGB48710   Ford        EXPLORER             KANSAS CITY              MO
9494   1FM5K8D86KGB48724   Ford        EXPLORER             HOUSTON                  TX
9495   1FM5K8D86KGB48738   Ford        EXPLORER             ONTARIO                  CA
9496   1FM5K8D86KGB48755   Ford        EXPLORER             FEDERAL WAY              WA
9497   1FM5K8D86KGB48769   Ford        EXPLORER             CHARLOTTE                NC
9498   1FM5K8D86KGB48772   Ford        EXPLORER             COLUMBUS                 OH
9499   1FM5K8D86KGB49016   Ford        EXPLORER             WEST COLUMBIA            SC
9500   1FM5K8D86KGB49033   Ford        EXPLORER             PORTLAND                 OR
9501   1FM5K8D86KGB49047   Ford        EXPLORER             LAS VEGAS                NV
9502   1FM5K8D86KGB49050   Ford        EXPLORER             PHILADELPHIA             PA
9503   1FM5K8D86KGB49064   Ford        EXPLORER             PHOENIX                  AZ
9504   1FM5K8D86KGB49078   Ford        EXPLORER             Plainfield               IN
9505   1FM5K8D86KGB49081   Ford        EXPLORER             BIRMINGHAN               AL
9506   1FM5K8D86KGB49095   Ford        EXPLORER             Winston‐Salem            NC
9507   1FM5K8D86KGB49114   Ford        EXPLORER             RICHMOND                 VA
9508   1FM5K8D86KGB49128   Ford        EXPLORER             Richmond                 VA
9509   1FM5K8D86KGB49159   Ford        EXPLORER             STERLING                 VA
9510   1FM5K8D86KGB49162   Ford        EXPLORER             FORT LAUDERDALE          FL
9511   1FM5K8D86KGB49176   Ford        EXPLORER             NEW BERN                 NC
9512   1FM5K8D87HGC90072   Ford        EXPLORER             MILWAUKEE                WI
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9513   1FM5K8D87HGD17741   Ford        EXPLORER             DFW AIRPORT              TX
9514   1FM5K8D87HGD64915   Ford        EXPLORER             SAN DIEGO                CA
9515   1FM5K8D87JGA36514   Ford        EXPLORER             Atlanta                  GA
9516   1FM5K8D87JGA56861   Ford        EXPLORER             Ocoee                    FL
9517   1FM5K8D87JGB66275   Ford        EXPLORER             PHOENIX                  AZ
9518   1FM5K8D87JGB90981   Ford        EXPLORER             Manheim                  PA
9519   1FM5K8D87JGB91032   Ford        EXPLORER             PHOENIX                  AZ
9520   1FM5K8D87JGB91080   Ford        EXPLORER             Baltimore                MD
9521   1FM5K8D87JGB91113   Ford        EXPLORER             SAN JOSE                 CA
9522   1FM5K8D87JGB91127   Ford        EXPLORER             PHOENIX                  AZ
9523   1FM5K8D87JGB91144   Ford        EXPLORER             TRACY                    CA
9524   1FM5K8D87JGB91158   Ford        EXPLORER             LAS VEGAS                NV
9525   1FM5K8D87JGB91192   Ford        EXPLORER             San Diego                CA
9526   1FM5K8D87JGB91211   Ford        EXPLORER             Lake Elsinore            CA
9527   1FM5K8D87JGB91225   Ford        EXPLORER             Ventura                  CA
9528   1FM5K8D87JGB91256   Ford        EXPLORER             Winston‐Salem            NC
9529   1FM5K8D87JGB91323   Ford        EXPLORER             Manheim                  PA
9530   1FM5K8D87JGC06953   Ford        EXPLORER             SALT LAKE CITY           UT
9531   1FM5K8D87JGC06998   Ford        EXPLORER             Los Angeles              CA
9532   1FM5K8D87JGC07004   Ford        EXPLORER             SAN DIEGO                CA
9533   1FM5K8D87JGC07018   Ford        EXPLORER             ONTARIO                  CA
9534   1FM5K8D87JGC15037   Ford        EXPLORER             DENVER                   CO
9535   1FM5K8D87JGC15054   Ford        EXPLORER             Riverside                CA
9536   1FM5K8D87JGC15068   Ford        EXPLORER             Fontana                  CA
9537   1FM5K8D87JGC15118   Ford        EXPLORER             Kent                     WA
9538   1FM5K8D87JGC15149   Ford        EXPLORER             FORT LAUDERDALE          FL
9539   1FM5K8D87JGC15152   Ford        EXPLORER             DENVER                   CO
9540   1FM5K8D87JGC15216   Ford        EXPLORER             PORTLAND                 OR
9541   1FM5K8D87JGC15264   Ford        EXPLORER             SACRAMENTO               CA
9542   1FM5K8D87JGC15300   Ford        EXPLORER             S. San Francisc          CA
9543   1FM5K8D87JGC15331   Ford        EXPLORER             SAN FRANCISCO            CA
9544   1FM5K8D87JGC15345   Ford        EXPLORER             PALM SPRINGS             CA
9545   1FM5K8D87JGC15409   Ford        EXPLORER             WEST PALM BEACH          FL
9546   1FM5K8D87JGC15412   Ford        EXPLORER             LOS ANGELES              CA
9547   1FM5K8D87JGC15426   Ford        EXPLORER             Fontana                  CA
9548   1FM5K8D87JGC15443   Ford        EXPLORER             Ventura                  CA
9549   1FM5K8D87JGC15457   Ford        EXPLORER             Torrance                 CA
9550   1FM5K8D87JGC15474   Ford        EXPLORER             Webster                  NY
9551   1FM5K8D87JGC15488   Ford        EXPLORER             SAN JOSE                 CA
9552   1FM5K8D87JGC15507   Ford        EXPLORER             SACRAMENTO               CA
9553   1FM5K8D87JGC15541   Ford        EXPLORER             SAN DIEGO                CA
9554   1FM5K8D87JGC15555   Ford        EXPLORER             NEW BERN                 NC
9555   1FM5K8D87JGC15572   Ford        EXPLORER             Rockville Centr          NY
9556   1FM5K8D87JGC15586   Ford        EXPLORER             JACKSONVILLE             FL
9557   1FM5K8D87JGC15605   Ford        EXPLORER             Fontana                  CA
9558   1FM5K8D87JGC15619   Ford        EXPLORER             Miami                    FL
9559   1FM5K8D87JGC15653   Ford        EXPLORER             PHOENIX                  AZ
9560   1FM5K8D87JGC15720   Ford        EXPLORER             Rio Linda                CA
9561   1FM5K8D87JGC15748   Ford        EXPLORER             GRAND JUNCTION           C
9562   1FM5K8D87JGC15751   Ford        EXPLORER             BURBANK                  CA
9563   1FM5K8D87JGC15796   Ford        EXPLORER             Costa Mesa               CA
9564   1FM5K8D87JGC15815   Ford        EXPLORER             Harvey                   LA
9565   1FM5K8D87JGC15832   Ford        EXPLORER             DENVER                   CO
9566   1FM5K8D87JGC15877   Ford        EXPLORER             SALT LAKE CITY           UT
9567   1FM5K8D87JGC15880   Ford        EXPLORER             Los Angeles              CA
9568   1FM5K8D87JGC15894   Ford        EXPLORER             SAN DIEGO                CA
9569   1FM5K8D87JGC15913   Ford        EXPLORER             SANTA ANA                CA
9570   1FM5K8D87JGC15927   Ford        EXPLORER             SAN DIEGO                CA
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9571   1FM5K8D87JGC15944   Ford        EXPLORER             Pasadena                 CA
9572   1FM5K8D87JGC15958   Ford        EXPLORER             Fontana                  CA
9573   1FM5K8D87JGC15992   Ford        EXPLORER             BURBANK                  CA
9574   1FM5K8D87JGC16009   Ford        EXPLORER             SALT LAKE CITY           UT
9575   1FM5K8D87JGC16012   Ford        EXPLORER             LOS ANGELES AP           CA
9576   1FM5K8D87JGC16026   Ford        EXPLORER             Detroit                  MI
9577   1FM5K8D87JGC16107   Ford        EXPLORER             BRONX                    NY
9578   1FM5K8D87JGC33909   Ford        EXPLORER             SAINT PAUL               MN
9579   1FM5K8D87JGC33926   Ford        EXPLORER             North Dighton            MA
9580   1FM5K8D87KGA42797   Ford        EXPLORER             BURBANK                  CA
9581   1FM5K8D87KGA61219   Ford        EXPLORER             Dallas                   TX
9582   1FM5K8D87KGA61351   Ford        EXPLORER             BURBANK                  CA
9583   1FM5K8D87KGA61365   Ford        EXPLORER             SAN JOSE                 CA
9584   1FM5K8D87KGA61379   Ford        EXPLORER             SANTA ANA                CA
9585   1FM5K8D87KGA61382   Ford        EXPLORER             SAN DIEGO                CA
9586   1FM5K8D87KGA61396   Ford        EXPLORER             SAN ANTONIO              TX
9587   1FM5K8D87KGA61446   Ford        EXPLORER             PORTLAND                 OR
9588   1FM5K8D87KGA61558   Ford        EXPLORER             SAINT PAUL               MN
9589   1FM5K8D87KGA61561   Ford        EXPLORER             SAINT LOUIS              MO
9590   1FM5K8D87KGA61589   Ford        EXPLORER             LAS VEGAS                NV
9591   1FM5K8D87KGA61625   Ford        EXPLORER             SALT LAKE CITY           UT
9592   1FM5K8D87KGA61656   Ford        EXPLORER             SACRAMENTO               CA
9593   1FM5K8D87KGA61673   Ford        EXPLORER             PALM SPRINGS             CA
9594   1FM5K8D87KGA61687   Ford        EXPLORER             SACRAMENTO               CA
9595   1FM5K8D87KGA61690   Ford        EXPLORER             PHOENIX                  AZ
9596   1FM5K8D87KGA61706   Ford        EXPLORER             LOS ANGELES              CA
9597   1FM5K8D87KGA61723   Ford        EXPLORER             Los Angeles              CA
9598   1FM5K8D87KGA61740   Ford        EXPLORER             Atlanta                  GA
9599   1FM5K8D87KGA61754   Ford        EXPLORER             LAS VEGAS                NV
9600   1FM5K8D87KGA61771   Ford        EXPLORER             SAN ANTONIO              TX
9601   1FM5K8D87KGA61799   Ford        EXPLORER             SACRAMENTO               CA
9602   1FM5K8D87KGA61804   Ford        EXPLORER             PHOENIX                  AZ
9603   1FM5K8D87KGA61821   Ford        EXPLORER             SANTA ANA                CA
9604   1FM5K8D87KGA61835   Ford        EXPLORER             Reno                     NV
9605   1FM5K8D87KGB16297   Ford        EXPLORER             NEW ORLEANS              LA
9606   1FM5K8D87KGB25310   Ford        EXPLORER             NEW BERN                 NC
9607   1FM5K8D87KGB25341   Ford        EXPLORER             SACRAMENTO               CA
9608   1FM5K8D87KGB25372   Ford        EXPLORER             FAYETTEVILLE             GA
9609   1FM5K8D87KGB25386   Ford        EXPLORER             PERTH AMBOY              NJ
9610   1FM5K8D87KGB25419   Ford        EXPLORER             PHOENIX                  AZ
9611   1FM5K8D87KGB25436   Ford        EXPLORER             FORT LAUDERDALE          FL
9612   1FM5K8D87KGB25453   Ford        EXPLORER             AUSTIN                   TX
9613   1FM5K8D87KGB25467   Ford        EXPLORER             HOUSTON                  TX
9614   1FM5K8D87KGB25503   Ford        EXPLORER             SAN ANTONIO              TX
9615   1FM5K8D87KGB25517   Ford        EXPLORER             GREENSBORO               NC
9616   1FM5K8D87KGB25520   Ford        EXPLORER             NEWARK                   NJ
9617   1FM5K8D87KGB25887   Ford        EXPLORER             PHILADELPHIA             PA
9618   1FM5K8D87KGB25890   Ford        EXPLORER             Manheim                  PA
9619   1FM5K8D87KGB25906   Ford        EXPLORER             LOS ANGELES              CA
9620   1FM5K8D87KGB25971   Ford        EXPLORER             EAST BOSTON              MA
9621   1FM5K8D87KGB25985   Ford        EXPLORER             BOSTON                   MA
9622   1FM5K8D87KGB25999   Ford        EXPLORER             STERLING                 VA
9623   1FM5K8D87KGB26005   Ford        EXPLORER             SAN DIEGO                CA
9624   1FM5K8D87KGB26019   Ford        EXPLORER             HOUSTON                  TX
9625   1FM5K8D87KGB26022   Ford        EXPLORER             BOSTON                   MA
9626   1FM5K8D87KGB26036   Ford        EXPLORER             STERLING                 VA
9627   1FM5K8D87KGB26053   Ford        EXPLORER             RICHMOND                 VA
9628   1FM5K8D87KGB26067   Ford        EXPLORER             BIRMINGHAM               AL
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9629   1FM5K8D87KGB26134   Ford        EXPLORER             INGLEWOOD                CA
9630   1FM5K8D87KGB26148   Ford        EXPLORER             LAS VEGAS                NV
9631   1FM5K8D87KGB26151   Ford        EXPLORER             BURBANK                  CA
9632   1FM5K8D87KGB26165   Ford        EXPLORER             SAN DIEGO                CA
9633   1FM5K8D87KGB26179   Ford        EXPLORER             AUSTIN                   TX
9634   1FM5K8D87KGB26196   Ford        EXPLORER             MEDINA                   OH
9635   1FM5K8D87KGB26229   Ford        EXPLORER             TULSA                    OK
9636   1FM5K8D87KGB26358   Ford        EXPLORER             RONKONKOMA               NY
9637   1FM5K8D87KGB26666   Ford        EXPLORER             SEATAC                   WA
9638   1FM5K8D87KGB26683   Ford        EXPLORER             PROVIDENCE               RI
9639   1FM5K8D87KGB26702   Ford        EXPLORER             Dallas                   TX
9640   1FM5K8D87KGB26926   Ford        EXPLORER             SARASOTA                 FL
9641   1FM5K8D87KGB26943   Ford        EXPLORER             PENSACOLA                FL
9642   1FM5K8D87KGB46478   Ford        EXPLORER             Atlanta                  GA
9643   1FM5K8D87KGB46481   Ford        EXPLORER             TAMPA                    FL
9644   1FM5K8D87KGB46528   Ford        EXPLORER             HOUSTON                  TX
9645   1FM5K8D87KGB46531   Ford        EXPLORER             BIRMINGHAM               AL
9646   1FM5K8D87KGB46562   Ford        EXPLORER             Atlanta                  GA
9647   1FM5K8D87KGB46609   Ford        EXPLORER             PHILADELPHIA             PA
9648   1FM5K8D87KGB46612   Ford        EXPLORER             FORT MYERS               FL
9649   1FM5K8D87KGB46643   Ford        EXPLORER             Teterboro                NJ
9650   1FM5K8D87KGB46660   Ford        EXPLORER             Chicago                  IL
9651   1FM5K8D87KGB46688   Ford        EXPLORER             RONKONKOMA               NY
9652   1FM5K8D87KGB46691   Ford        EXPLORER             NORFOLK                  VA
9653   1FM5K8D87KGB46707   Ford        EXPLORER             STERLING                 VA
9654   1FM5K8D87KGB46710   Ford        EXPLORER             PHILADELPHIA             PA
9655   1FM5K8D87KGB46741   Ford        EXPLORER             ATLANTA                  GA
9656   1FM5K8D87KGB46755   Ford        EXPLORER             INDIANAPOLIS             IN
9657   1FM5K8D87KGB46769   Ford        EXPLORER             NEW YORK CITY            NY
9658   1FM5K8D87KGB46786   Ford        EXPLORER             STERLING                 VA
9659   1FM5K8D87KGB46805   Ford        EXPLORER             TAMPA                    FL
9660   1FM5K8D87KGB46822   Ford        EXPLORER             SALT LAKE CITY           UT
9661   1FM5K8D87KGB46867   Ford        EXPLORER             SACRAMENTO               CA
9662   1FM5K8D87KGB46898   Ford        EXPLORER             SOUTH SAN FRANC          CA
9663   1FM5K8D87KGB46903   Ford        EXPLORER             CHARLESTON               WV
9664   1FM5K8D87KGB46917   Ford        EXPLORER             KANSAS CITY              MO
9665   1FM5K8D87KGB47033   Ford        EXPLORER             BURBANK                  CA
9666   1FM5K8D87KGB47193   Ford        EXPLORER             SAN ANTONIO              TX
9667   1FM5K8D87KGB47209   Ford        EXPLORER             PORTLAND                 OR
9668   1FM5K8D87KGB47212   Ford        EXPLORER             PHOENIX                  AZ
9669   1FM5K8D87KGB47226   Ford        EXPLORER             STERLING                 VA
9670   1FM5K8D87KGB47243   Ford        EXPLORER             JACKSON                  MS
9671   1FM5K8D87KGB47257   Ford        EXPLORER             PORTLAND                 ME
9672   1FM5K8D87KGB47274   Ford        EXPLORER             Teterboro                NJ
9673   1FM5K8D87KGB47291   Ford        EXPLORER             MCALLEN                  TX
9674   1FM5K8D87KGB47310   Ford        EXPLORER             ORLANDO                  FL
9675   1FM5K8D87KGB47419   Ford        EXPLORER             CHARLESTON               WV
9676   1FM5K8D87KGB47436   Ford        EXPLORER             SARASOTA                 FL
9677   1FM5K8D87KGB47467   Ford        EXPLORER             BIRMINGHAN               AL
9678   1FM5K8D87KGB47470   Ford        EXPLORER             BOSTON                   MA
9679   1FM5K8D87KGB47484   Ford        EXPLORER             DALLAS                   TX
9680   1FM5K8D87KGB48019   Ford        EXPLORER             ONTARIO                  CA
9681   1FM5K8D87KGB48022   Ford        EXPLORER             WILMINGTON               NC
9682   1FM5K8D87KGB48036   Ford        EXPLORER             Dallas                   TX
9683   1FM5K8D87KGB48053   Ford        EXPLORER             Atlanta                  GA
9684   1FM5K8D87KGB48070   Ford        EXPLORER             LAS VEGAS                NV
9685   1FM5K8D87KGB48098   Ford        EXPLORER             NEW YORK CITY            NY
9686   1FM5K8D87KGB48103   Ford        EXPLORER             STERLING                 VA
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9687   1FM5K8D87KGB48134   Ford        EXPLORER             ORLANDO                  FL
9688   1FM5K8D87KGB48652   Ford        EXPLORER             STERLING                 VA
9689   1FM5K8D87KGB48702   Ford        EXPLORER             KENNER                   LA
9690   1FM5K8D87KGB48716   Ford        EXPLORER             Woodhaven                MI
9691   1FM5K8D87KGB48747   Ford        EXPLORER             LOS ANGELES AP           CA
9692   1FM5K8D87KGB48750   Ford        EXPLORER             ONTARIO                  CA
9693   1FM5K8D87KGB48764   Ford        EXPLORER             Statesville              NC
9694   1FM5K8D87KGB49011   Ford        EXPLORER             CHICAGO                  IL
9695   1FM5K8D87KGB49056   Ford        EXPLORER             LOS ANGELES              CA
9696   1FM5K8D87KGB49073   Ford        EXPLORER             INGLEWOOD                CA
9697   1FM5K8D87KGB49087   Ford        EXPLORER             PHILADELPHIA             PA
9698   1FM5K8D87KGB49106   Ford        EXPLORER             KENNER                   LA
9699   1FM5K8D87KGB49154   Ford        EXPLORER             DETROIT                  MI
9700   1FM5K8D87KGB49168   Ford        EXPLORER             Teterboro                NJ
9701   1FM5K8D87KGB49171   Ford        EXPLORER             WEST PALM BEACH          FL
9702   1FM5K8D87KGB49185   Ford        EXPLORER             BIRMINGHAM               AL
9703   1FM5K8D88HGD05548   Ford        EXPLORER             Bordentown               NJ
9704   1FM5K8D88HGD17702   Ford        EXPLORER             Bordentown               NJ
9705   1FM5K8D88HGD56967   Ford        EXPLORER             Kent                     WA
9706   1FM5K8D88JGA27899   Ford        EXPLORER             Portland                 OR
9707   1FM5K8D88JGA36490   Ford        EXPLORER             Ocoee                    FL
9708   1FM5K8D88JGA36506   Ford        EXPLORER             Manheim                  PA
9709   1FM5K8D88JGA45707   Ford        EXPLORER             Massapequa               NY
9710   1FM5K8D88JGB45094   Ford        EXPLORER             ATLANTA                  GA
9711   1FM5K8D88JGB90956   Ford        EXPLORER             SANTA ANA                CA
9712   1FM5K8D88JGB91010   Ford        EXPLORER             Rio Linda                CA
9713   1FM5K8D88JGB91024   Ford        EXPLORER             DENVER                   CO
9714   1FM5K8D88JGB91038   Ford        EXPLORER             Teterboro                NJ
9715   1FM5K8D88JGB91153   Ford        EXPLORER             Los Angeles              CA
9716   1FM5K8D88JGB91198   Ford        EXPLORER             INDIANAPOLIS             IN
9717   1FM5K8D88JGB91279   Ford        EXPLORER             PORTLAND                 OR
9718   1FM5K8D88JGB91282   Ford        EXPLORER             FEDERAL WAY              WA
9719   1FM5K8D88JGB91296   Ford        EXPLORER             Santa Clara              CA
9720   1FM5K8D88JGB91301   Ford        EXPLORER             LAS VEGAS                NV
9721   1FM5K8D88JGB91329   Ford        EXPLORER             Costa Mesa               CA
9722   1FM5K8D88JGB91332   Ford        EXPLORER             Memphis                  TN
9723   1FM5K8D88JGC06959   Ford        EXPLORER             San Diego                CA
9724   1FM5K8D88JGC15046   Ford        EXPLORER             ALBUQUERQUE              NM
9725   1FM5K8D88JGC15113   Ford        EXPLORER             WARWICK                  RI
9726   1FM5K8D88JGC15130   Ford        EXPLORER             Denver                   CO
9727   1FM5K8D88JGC15161   Ford        EXPLORER             PALM SPRINGS             CA
9728   1FM5K8D88JGC15175   Ford        EXPLORER             INGLEWOOD                CA
9729   1FM5K8D88JGC15189   Ford        EXPLORER             Des Plaines              IL
9730   1FM5K8D88JGC15192   Ford        EXPLORER             SAN DIEGO                CA
9731   1FM5K8D88JGC15290   Ford        EXPLORER             LAS VEGAS                NV
9732   1FM5K8D88JGC15340   Ford        EXPLORER             LAS VEGAS                NV
9733   1FM5K8D88JGC15368   Ford        EXPLORER             CERRITOS                 CA
9734   1FM5K8D88JGC15371   Ford        EXPLORER             Ventura                  CA
9735   1FM5K8D88JGC15404   Ford        EXPLORER             OAKLAND                  CA
9736   1FM5K8D88JGC15421   Ford        EXPLORER             Caledonia                WI
9737   1FM5K8D88JGC15435   Ford        EXPLORER             Hayward                  CA
9738   1FM5K8D88JGC15449   Ford        EXPLORER             Hayward                  CA
9739   1FM5K8D88JGC15516   Ford        EXPLORER             LOS ANGELES              CA
9740   1FM5K8D88JGC15533   Ford        EXPLORER             LOS ANGELES              CA
9741   1FM5K8D88JGC15550   Ford        EXPLORER             Houston                  TX
9742   1FM5K8D88JGC15628   Ford        EXPLORER             Beaverton                OR
9743   1FM5K8D88JGC15631   Ford        EXPLORER             Miami                    FL
9744   1FM5K8D88JGC15659   Ford        EXPLORER             So. San Francis          CA
       VIN
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9745   1FM5K8D88JGC15676   Ford        EXPLORER             LOS ANGELES              CA
9746   1FM5K8D88JGC15743   Ford        EXPLORER             FORT MYERS               FL
9747   1FM5K8D88JGC15757   Ford        EXPLORER             Warr Acres               OK
9748   1FM5K8D88JGC15791   Ford        EXPLORER             FRESNO                   CA
9749   1FM5K8D88JGC15807   Ford        EXPLORER             LAS VEGAS                NV
9750   1FM5K8D88JGC15905   Ford        EXPLORER             OAKLAND                  CA
9751   1FM5K8D88JGC15919   Ford        EXPLORER             Pasadena                 CA
9752   1FM5K8D88JGC15922   Ford        EXPLORER             Sacramento               CA
9753   1FM5K8D88JGC15967   Ford        EXPLORER             SAINT PAUL               MN
9754   1FM5K8D88JGC15970   Ford        EXPLORER             DENVER                   CO
9755   1FM5K8D88JGC16004   Ford        EXPLORER             SAN DIEGO                CA
9756   1FM5K8D88JGC16021   Ford        EXPLORER             SACRAMENTO               CA
9757   1FM5K8D88JGC16052   Ford        EXPLORER             North Las Vegas          NV
9758   1FM5K8D88JGC16066   Ford        EXPLORER             OAKLAND                  CA
9759   1FM5K8D88JGC16097   Ford        EXPLORER             ALBUQUERQUE              NM
9760   1FM5K8D88JGC33904   Ford        EXPLORER             Hendersonville           TN
9761   1FM5K8D88JGC33918   Ford        EXPLORER             Marietta                 GA
9762   1FM5K8D88JGC33949   Ford        EXPLORER             Warwick                  RI
9763   1FM5K8D88KGA61343   Ford        EXPLORER             BRADENTON                FL
9764   1FM5K8D88KGA61357   Ford        EXPLORER             PHOENIX                  AZ
9765   1FM5K8D88KGA61374   Ford        EXPLORER             LAS VEGAS                NV
9766   1FM5K8D88KGA61388   Ford        EXPLORER             ONTARIO                  CA
9767   1FM5K8D88KGA61391   Ford        EXPLORER             DALLAS                   TX
9768   1FM5K8D88KGA61424   Ford        EXPLORER             LOS ANGELES              CA
9769   1FM5K8D88KGA61455   Ford        EXPLORER             KNOXVILLE                TN
9770   1FM5K8D88KGA61469   Ford        EXPLORER             OAKLAND                  CA
9771   1FM5K8D88KGA61486   Ford        EXPLORER             ATLANTA                  GA
9772   1FM5K8D88KGA61522   Ford        EXPLORER             RALEIGH                  NC
9773   1FM5K8D88KGA61553   Ford        EXPLORER             LOS ANGELES AP           CA
9774   1FM5K8D88KGA61598   Ford        EXPLORER             North Dighton            MA
9775   1FM5K8D88KGA61603   Ford        EXPLORER             RENO                     NV
9776   1FM5K8D88KGA61617   Ford        EXPLORER             SEATAC                   WA
9777   1FM5K8D88KGA61620   Ford        EXPLORER             LAS VEGAS                NV
9778   1FM5K8D88KGA61679   Ford        EXPLORER             BURBANK                  CA
9779   1FM5K8D88KGA61682   Ford        EXPLORER             OAKLAND                  CA
9780   1FM5K8D88KGA61701   Ford        EXPLORER             Sacramento               CA
9781   1FM5K8D88KGA61715   Ford        EXPLORER             BURBANK                  CA
9782   1FM5K8D88KGA61746   Ford        EXPLORER             Los Angeles              CA
9783   1FM5K8D88KGA61830   Ford        EXPLORER             LAS VEGAS                NV
9784   1FM5K8D88KGA61844   Ford        EXPLORER             ONTARIO                  CA
9785   1FM5K8D88KGA61861   Ford        EXPLORER             SANTA ANA                CA
9786   1FM5K8D88KGA61875   Ford        EXPLORER             Elkridge                 MD
9787   1FM5K8D88KGA61889   Ford        EXPLORER             LAS VEGAS                NV
9788   1FM5K8D88KGA61892   Ford        EXPLORER             Phoenix                  AZ
9789   1FM5K8D88KGB25316   Ford        EXPLORER             RONKONKOMA               NY
9790   1FM5K8D88KGB25347   Ford        EXPLORER             PHILADELPHIA             PA
9791   1FM5K8D88KGB25364   Ford        EXPLORER             ORLANDO                  FL
9792   1FM5K8D88KGB25395   Ford        EXPLORER             MILWAUKEE                WI
9793   1FM5K8D88KGB25400   Ford        EXPLORER             SAINT LOUIS              MO
9794   1FM5K8D88KGB25414   Ford        EXPLORER             DAYTONA BEACH            FL
9795   1FM5K8D88KGB25865   Ford        EXPLORER             DALLAS                   TX
9796   1FM5K8D88KGB25879   Ford        EXPLORER             FAYETTEVILLE             GA
9797   1FM5K8D88KGB25901   Ford        EXPLORER             Euless                   TX
9798   1FM5K8D88KGB25963   Ford        EXPLORER             WARWICK                  RI
9799   1FM5K8D88KGB25980   Ford        EXPLORER             BOSTON                   MA
9800   1FM5K8D88KGB25994   Ford        EXPLORER             ORLANDO                  FL
9801   1FM5K8D88KGB26000   Ford        EXPLORER             HARTFORD                 CT
9802   1FM5K8D88KGB26031   Ford        EXPLORER             CUMMING                  GA
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9803   1FM5K8D88KGB26109   Ford        EXPLORER             Hamilton                 OH
9804   1FM5K8D88KGB26143   Ford        EXPLORER             ORLANDO                  FL
9805   1FM5K8D88KGB26174   Ford        EXPLORER             DALLAS                   TX
9806   1FM5K8D88KGB26191   Ford        EXPLORER             PHILADELPHIA             PA
9807   1FM5K8D88KGB26238   Ford        EXPLORER             RENO                     NV
9808   1FM5K8D88KGB26644   Ford        EXPLORER             STERLING                 VA
9809   1FM5K8D88KGB26661   Ford        EXPLORER             PLATTSBURGH              NY
9810   1FM5K8D88KGB26675   Ford        EXPLORER             STERLING                 VA
9811   1FM5K8D88KGB26708   Ford        EXPLORER             FORT LAUDERDALE          FL
9812   1FM5K8D88KGB26935   Ford        EXPLORER             Manheim                  PA
9813   1FM5K8D88KGB46473   Ford        EXPLORER             FORT LAUDERDALE          FL
9814   1FM5K8D88KGB46487   Ford        EXPLORER             Harvey                   LA
9815   1FM5K8D88KGB46490   Ford        EXPLORER             NEW BERN                 NC
9816   1FM5K8D88KGB46523   Ford        EXPLORER             ATLANTA                  GA
9817   1FM5K8D88KGB46537   Ford        EXPLORER             STERLING                 VA
9818   1FM5K8D88KGB46554   Ford        EXPLORER             ATLANTA                  GA
9819   1FM5K8D88KGB46568   Ford        EXPLORER             CHARLESTON               WV
9820   1FM5K8D88KGB46585   Ford        EXPLORER             SARASOTA                 FL
9821   1FM5K8D88KGB46604   Ford        EXPLORER             BIRMINGHAM               AL
9822   1FM5K8D88KGB46618   Ford        EXPLORER             Webster                  NY
9823   1FM5K8D88KGB46649   Ford        EXPLORER             NORFOLK                  VA
9824   1FM5K8D88KGB46652   Ford        EXPLORER             HARTFORD                 CT
9825   1FM5K8D88KGB46666   Ford        EXPLORER             Atlanta                  GA
9826   1FM5K8D88KGB46716   Ford        EXPLORER             SAN JOSE                 CA
9827   1FM5K8D88KGB46733   Ford        EXPLORER             Ft. Myers                FL
9828   1FM5K8D88KGB46747   Ford        EXPLORER             PHILADELPHIA             PA
9829   1FM5K8D88KGB46764   Ford        EXPLORER             RONKONKOMA               NY
9830   1FM5K8D88KGB46778   Ford        EXPLORER             GREEN BAY                WI
9831   1FM5K8D88KGB46781   Ford        EXPLORER             MIAMI                    FL
9832   1FM5K8D88KGB46800   Ford        EXPLORER             FAYETTEVILLE             GA
9833   1FM5K8D88KGB46828   Ford        EXPLORER             OKLAHOMA CITY            OK
9834   1FM5K8D88KGB46845   Ford        EXPLORER             ROCHESTER                NY
9835   1FM5K8D88KGB46859   Ford        EXPLORER             NORFOLK                  VA
9836   1FM5K8D88KGB46862   Ford        EXPLORER             DALLAS                   TX
9837   1FM5K8D88KGB46926   Ford        EXPLORER             Teterboro                NJ
9838   1FM5K8D88KGB47168   Ford        EXPLORER             ORLANDO                  FL
9839   1FM5K8D88KGB47185   Ford        EXPLORER             FRESNO                   CA
9840   1FM5K8D88KGB47199   Ford        EXPLORER             Atlanta                  GA
9841   1FM5K8D88KGB47204   Ford        EXPLORER             KENNER                   LA
9842   1FM5K8D88KGB47221   Ford        EXPLORER             Atlanta                  GA
9843   1FM5K8D88KGB47302   Ford        EXPLORER             HOUSTON                  TX
9844   1FM5K8D88KGB47333   Ford        EXPLORER             INDIANAPOLIS             IN
9845   1FM5K8D88KGB47364   Ford        EXPLORER             CINCINNATI               OH
9846   1FM5K8D88KGB47381   Ford        EXPLORER             CLEVELAND                OH
9847   1FM5K8D88KGB47395   Ford        EXPLORER             ORLANDO                  FL
9848   1FM5K8D88KGB48028   Ford        EXPLORER             NEWPORT BEACH            CA
9849   1FM5K8D88KGB48031   Ford        EXPLORER             FRESNO                   CA
9850   1FM5K8D88KGB48045   Ford        EXPLORER             PALM SPRINGS             CA
9851   1FM5K8D88KGB48059   Ford        EXPLORER             FRESNO                   CA
9852   1FM5K8D88KGB48062   Ford        EXPLORER             HOUSTON                  TX
9853   1FM5K8D88KGB48661   Ford        EXPLORER             ONTARIO                  CA
9854   1FM5K8D88KGB48689   Ford        EXPLORER             WEST PALM BEACH          FL
9855   1FM5K8D88KGB48708   Ford        EXPLORER             HOUSTON                  TX
9856   1FM5K8D88KGB48725   Ford        EXPLORER             PHILADELPHIA             PA
9857   1FM5K8D88KGB48756   Ford        EXPLORER             PHOENIX                  AZ
9858   1FM5K8D88KGB49034   Ford        EXPLORER             DAYTON                   OH
9859   1FM5K8D88KGB49048   Ford        EXPLORER             SAN FRANCISCO            CA
9860   1FM5K8D88KGB49051   Ford        EXPLORER             PHOENIX                  AZ
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9861   1FM5K8D88KGB49101   Ford        EXPLORER             AUSTIN                   TX
9862   1FM5K8D88KGB49115   Ford        EXPLORER             ROANOKE                  VA
9863   1FM5K8D88KGB49129   Ford        EXPLORER             PHILADELPHIA             PA
9864   1FM5K8D88KGB49163   Ford        EXPLORER             STERLING                 VA
9865   1FM5K8D88KGB49177   Ford        EXPLORER             Dallas                   TX
9866   1FM5K8D89HGC90073   Ford        EXPLORER             KENNER                   LA
9867   1FM5K8D89HGD05140   Ford        EXPLORER             Fairbanks                AK
9868   1FM5K8D89HGD05543   Ford        EXPLORER             Manheim                  PA
9869   1FM5K8D89HGD17692   Ford        EXPLORER             Tampa                    FL
9870   1FM5K8D89HGD64818   Ford        EXPLORER             Hayward                  CA
9871   1FM5K8D89HGD64866   Ford        EXPLORER             DES MOINES               IA
9872   1FM5K8D89HGD64978   Ford        EXPLORER             Mira Loma                CA
9873   1FM5K8D89JGA27958   Ford        EXPLORER             SAN DIEGO                CA
9874   1FM5K8D89JGA27961   Ford        EXPLORER             Anaheim                  CA
9875   1FM5K8D89JGA45599   Ford        EXPLORER             Manheim                  PA
9876   1FM5K8D89JGA45604   Ford        EXPLORER             North Dighton            MA
9877   1FM5K8D89JGA45652   Ford        EXPLORER             Cleveland                OH
9878   1FM5K8D89JGA57039   Ford        EXPLORER             ORLANDO                  FL
9879   1FM5K8D89JGB80470   Ford        EXPLORER             MIAMI                    FL
9880   1FM5K8D89JGB90965   Ford        EXPLORER             DENVER                   CO
9881   1FM5K8D89JGB90996   Ford        EXPLORER             Cleveland                OH
9882   1FM5K8D89JGB91047   Ford        EXPLORER             SAN FRANCISCO            CA
9883   1FM5K8D89JGB91100   Ford        EXPLORER             Santa Clara              CA
9884   1FM5K8D89JGB91145   Ford        EXPLORER             TRACY                    CA
9885   1FM5K8D89JGB91162   Ford        EXPLORER             PHOENIX                  AZ
9886   1FM5K8D89JGB91212   Ford        EXPLORER             PHOENIX                  AZ
9887   1FM5K8D89JGB91243   Ford        EXPLORER             DENVER                   CO
9888   1FM5K8D89JGB91274   Ford        EXPLORER             Fresno                   CA
9889   1FM5K8D89JGB91341   Ford        EXPLORER             Hayward                  CA
9890   1FM5K8D89JGC06968   Ford        EXPLORER             Cleveland                OH
9891   1FM5K8D89JGC06985   Ford        EXPLORER             Pasadena                 CA
9892   1FM5K8D89JGC07022   Ford        EXPLORER             EULESS                   TX
9893   1FM5K8D89JGC15007   Ford        EXPLORER             SARASOTA                 FL
9894   1FM5K8D89JGC15038   Ford        EXPLORER             Leesburg                 VA
9895   1FM5K8D89JGC15041   Ford        EXPLORER             DENVER                   CO
9896   1FM5K8D89JGC15069   Ford        EXPLORER             PORTLAND                 OR
9897   1FM5K8D89JGC15119   Ford        EXPLORER             SEATAC                   WA
9898   1FM5K8D89JGC15122   Ford        EXPLORER             DENVER                   CO
9899   1FM5K8D89JGC15153   Ford        EXPLORER             SAN DIEGO                CA
9900   1FM5K8D89JGC15170   Ford        EXPLORER             Kent                     WA
9901   1FM5K8D89JGC15217   Ford        EXPLORER             Norwalk                  CA
9902   1FM5K8D89JGC15265   Ford        EXPLORER             Fontana                  CA
9903   1FM5K8D89JGC15279   Ford        EXPLORER             San Diego                CA
9904   1FM5K8D89JGC15296   Ford        EXPLORER             NEWARK                   NJ
9905   1FM5K8D89JGC15332   Ford        EXPLORER             SAN DIEGO                CA
9906   1FM5K8D89JGC15377   Ford        EXPLORER             Tolleson                 AZ
9907   1FM5K8D89JGC15413   Ford        EXPLORER             Burien                   WA
9908   1FM5K8D89JGC15427   Ford        EXPLORER             HAYWARD                  CA
9909   1FM5K8D89JGC15458   Ford        EXPLORER             OAKLAND                  CA
9910   1FM5K8D89JGC15461   Ford        EXPLORER             SAN FRANCISCO            CA
9911   1FM5K8D89JGC15475   Ford        EXPLORER             PITTSBURGH               PA
9912   1FM5K8D89JGC15489   Ford        EXPLORER             MONTEREY                 CA
9913   1FM5K8D89JGC15511   Ford        EXPLORER             Fontana                  CA
9914   1FM5K8D89JGC15525   Ford        EXPLORER             Los Angeles              CA
9915   1FM5K8D89JGC15539   Ford        EXPLORER             TAMPA                    FL
9916   1FM5K8D89JGC15556   Ford        EXPLORER             CHICAGO                  IL
9917   1FM5K8D89JGC15590   Ford        EXPLORER             Bridgeton                MO
9918   1FM5K8D89JGC15623   Ford        EXPLORER             OAKLAND                  CA
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9919   1FM5K8D89JGC15640   Ford        EXPLORER             PORTLAND                 OR
9920   1FM5K8D89JGC15671   Ford        EXPLORER             LAS VEGAS                NV
9921   1FM5K8D89JGC15699   Ford        EXPLORER             OMAHA                    NE
9922   1FM5K8D89JGC15718   Ford        EXPLORER             PORTLAND                 OR
9923   1FM5K8D89JGC15721   Ford        EXPLORER             SEATAC                   WA
9924   1FM5K8D89JGC15735   Ford        EXPLORER             LOS ANGELES              CA
9925   1FM5K8D89JGC15749   Ford        EXPLORER             SEATAC                   WA
9926   1FM5K8D89JGC15752   Ford        EXPLORER             Fontana                  CA
9927   1FM5K8D89JGC15766   Ford        EXPLORER             So. San Francis          CA
9928   1FM5K8D89JGC15783   Ford        EXPLORER             DES PLAINES              US
9929   1FM5K8D89JGC15797   Ford        EXPLORER             WEST COLUMBIA            SC
9930   1FM5K8D89JGC15802   Ford        EXPLORER             FEDERAL WAY              WA
9931   1FM5K8D89JGC15833   Ford        EXPLORER             NEWARK                   NJ
9932   1FM5K8D89JGC15850   Ford        EXPLORER             ORANGE COUNTY            CA
9933   1FM5K8D89JGC15864   Ford        EXPLORER             SEATAC                   WA
9934   1FM5K8D89JGC15881   Ford        EXPLORER             Riverside                CA
9935   1FM5K8D89JGC15945   Ford        EXPLORER             LAS VEGAS                NV
9936   1FM5K8D89JGC15959   Ford        EXPLORER             INGLEWOOD                CA
9937   1FM5K8D89JGC15962   Ford        EXPLORER             SALT LAKE CITY           US
9938   1FM5K8D89JGC15976   Ford        EXPLORER             North Dighton            MA
9939   1FM5K8D89JGC15993   Ford        EXPLORER             TAMPA                    FL
9940   1FM5K8D89JGC16027   Ford        EXPLORER             KENNER                   LA
9941   1FM5K8D89JGC16030   Ford        EXPLORER             LOS ANGELES              CA
9942   1FM5K8D89JGC16061   Ford        EXPLORER             SAN FRANCISCO            CA
9943   1FM5K8D89JGC16089   Ford        EXPLORER             Detroit                  MI
9944   1FM5K8D89JGC33927   Ford        EXPLORER             PITTSBURGH               PA
9945   1FM5K8D89JGC33944   Ford        EXPLORER             North Dighton            MA
9946   1FM5K8D89KGA42798   Ford        EXPLORER             BURBANK                  CA
9947   1FM5K8D89KGA61223   Ford        EXPLORER             Atlanta                  GA
9948   1FM5K8D89KGA61352   Ford        EXPLORER             BURBANK                  CA
9949   1FM5K8D89KGA61366   Ford        EXPLORER             SANTA ANA                CA
9950   1FM5K8D89KGA61397   Ford        EXPLORER             LOS ANGELES              CA
9951   1FM5K8D89KGA61402   Ford        EXPLORER             HOUSTON                  TX
9952   1FM5K8D89KGA61416   Ford        EXPLORER             LAS VEGAS                NV
9953   1FM5K8D89KGA61433   Ford        EXPLORER             TAMPA                    FL
9954   1FM5K8D89KGA61447   Ford        EXPLORER             Statesville              NC
9955   1FM5K8D89KGA61464   Ford        EXPLORER             SANTA ANA                CA
9956   1FM5K8D89KGA61481   Ford        EXPLORER             PALM SPRINGS             CA
9957   1FM5K8D89KGA61500   Ford        EXPLORER             SAN ANTONIO              TX
9958   1FM5K8D89KGA61531   Ford        EXPLORER             NEWPORT BEACH            CA
9959   1FM5K8D89KGA61559   Ford        EXPLORER             LOS ANGELES              CA
9960   1FM5K8D89KGA61609   Ford        EXPLORER             DALLAS                   TX
9961   1FM5K8D89KGA61612   Ford        EXPLORER             SOUTH BEND               IN
9962   1FM5K8D89KGA61626   Ford        EXPLORER             Atlanta                  GA
9963   1FM5K8D89KGA61657   Ford        EXPLORER             SEATTLE                  WA
9964   1FM5K8D89KGA61660   Ford        EXPLORER             PHILADELPHIA             PA
9965   1FM5K8D89KGA61688   Ford        EXPLORER             ATLANTA                  GA
9966   1FM5K8D89KGA61691   Ford        EXPLORER             DES MOINES               IA
9967   1FM5K8D89KGA61710   Ford        EXPLORER             SAN JOSE                 CA
9968   1FM5K8D89KGA61741   Ford        EXPLORER             NEW BERN                 NC
9969   1FM5K8D89KGA61755   Ford        EXPLORER             Reno                     NV
9970   1FM5K8D89KGA61819   Ford        EXPLORER             SAN DIEGO                CA
9971   1FM5K8D89KGA61822   Ford        EXPLORER             North Las Vegas          NV
9972   1FM5K8D89KGA61836   Ford        EXPLORER             SAN DIEGO                CA
9973   1FM5K8D89KGA61867   Ford        EXPLORER             LOS ANGELES              CA
9974   1FM5K8D89KGA61870   Ford        EXPLORER             Portland                 OR
9975   1FM5K8D89KGA61884   Ford        EXPLORER             SAN DIEGO                CA
9976   1FM5K8D89KGA61903   Ford        EXPLORER             CHICAGO                  IL
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 9977   1FM5K8D89KGB25342   Ford        EXPLORER             ROCHESTER                NY
 9978   1FM5K8D89KGB25387   Ford        EXPLORER             BOSTON                   MA
 9979   1FM5K8D89KGB25390   Ford        EXPLORER             WICHITA FALLS            TX
 9980   1FM5K8D89KGB25406   Ford        EXPLORER             NEW ORLEANS              LA
 9981   1FM5K8D89KGB25423   Ford        EXPLORER             RONKONKOMA               NY
 9982   1FM5K8D89KGB25440   Ford        EXPLORER             FORT LAUDERDALE          FL
 9983   1FM5K8D89KGB25874   Ford        EXPLORER             NEWARK                   NJ
 9984   1FM5K8D89KGB25910   Ford        EXPLORER             NEW BERN                 NC
 9985   1FM5K8D89KGB25938   Ford        EXPLORER             HOUSTON                  TX
 9986   1FM5K8D89KGB25941   Ford        EXPLORER             PHILADELPHIA             PA
 9987   1FM5K8D89KGB25969   Ford        EXPLORER             NEW BERN                 NC
 9988   1FM5K8D89KGB26023   Ford        EXPLORER             MIAMI                    FL
 9989   1FM5K8D89KGB26040   Ford        EXPLORER             CHARLOTTE                NC
 9990   1FM5K8D89KGB26054   Ford        EXPLORER             Hebron                   KY
 9991   1FM5K8D89KGB26071   Ford        EXPLORER             AUSTIN                   TX
 9992   1FM5K8D89KGB26099   Ford        EXPLORER             SAN DIEGO                CA
 9993   1FM5K8D89KGB26149   Ford        EXPLORER             Reno                     NV
 9994   1FM5K8D89KGB26166   Ford        EXPLORER             KENNER                   LA
 9995   1FM5K8D89KGB26197   Ford        EXPLORER             KENNER                   LA
 9996   1FM5K8D89KGB26202   Ford        EXPLORER             Atlanta                  GA
 9997   1FM5K8D89KGB26345   Ford        EXPLORER             DALLAS                   TX
 9998   1FM5K8D89KGB26359   Ford        EXPLORER             Hebron                   KY
 9999   1FM5K8D89KGB26362   Ford        EXPLORER             STERLING                 VA
10000   1FM5K8D89KGB26426   Ford        EXPLORER             WARWICK                  RI
10001   1FM5K8D89KGB26636   Ford        EXPLORER             SARASOTA                 FL
10002   1FM5K8D89KGB26703   Ford        EXPLORER             GREENSBORO               NC
10003   1FM5K8D89KGB26927   Ford        EXPLORER             KANSAS CITY              MO
10004   1FM5K8D89KGB26930   Ford        EXPLORER             INDIANAPOLIS             IN
10005   1FM5K8D89KGB26944   Ford        EXPLORER             JAMAICA                  NY
10006   1FM5K8D89KGB29214   Ford        EXPLORER             Detroit                  MI
10007   1FM5K8D89KGB46482   Ford        EXPLORER             COLLEGE PARK             GA
10008   1FM5K8D89KGB46501   Ford        EXPLORER             NORFOLK                  VA
10009   1FM5K8D89KGB46515   Ford        EXPLORER             WEST COLUMBIA            SC
10010   1FM5K8D89KGB46577   Ford        EXPLORER             FORT MYERS               FL
10011   1FM5K8D89KGB46613   Ford        EXPLORER             RONKONKOMA               NY
10012   1FM5K8D89KGB46627   Ford        EXPLORER             SYRACUSE                 NY
10013   1FM5K8D89KGB46630   Ford        EXPLORER             RICHMOND                 VA
10014   1FM5K8D89KGB46644   Ford        EXPLORER             PHILADELPHIA             PA
10015   1FM5K8D89KGB46661   Ford        EXPLORER             FRESNO                   CA
10016   1FM5K8D89KGB46675   Ford        EXPLORER             NEWARK                   NJ
10017   1FM5K8D89KGB46692   Ford        EXPLORER             CATONSVILLE              MD
10018   1FM5K8D89KGB46739   Ford        EXPLORER             FORT LAUDERDALE          FL
10019   1FM5K8D89KGB46773   Ford        EXPLORER             FORT LAUDERDALE          FL
10020   1FM5K8D89KGB46787   Ford        EXPLORER             GREENVILLE               NC
10021   1FM5K8D89KGB46790   Ford        EXPLORER             RALIEGH                  NC
10022   1FM5K8D89KGB46806   Ford        EXPLORER             LAS VEGAS                NV
10023   1FM5K8D89KGB46854   Ford        EXPLORER             Austin                   TX
10024   1FM5K8D89KGB46871   Ford        EXPLORER             albuquerque              nm
10025   1FM5K8D89KGB46921   Ford        EXPLORER             FORT LAUDERDALE          FL
10026   1FM5K8D89KGB47034   Ford        EXPLORER             BURBANK                  CA
10027   1FM5K8D89KGB47177   Ford        EXPLORER             DALLAS                   TX
10028   1FM5K8D89KGB47194   Ford        EXPLORER             PENSACOLA                FL
10029   1FM5K8D89KGB47244   Ford        EXPLORER             PHILADELPHIA             PA
10030   1FM5K8D89KGB47289   Ford        EXPLORER             CLEVELAND                OH
10031   1FM5K8D89KGB47292   Ford        EXPLORER             STERLING                 VA
10032   1FM5K8D89KGB47325   Ford        EXPLORER             West Mifflin             PA
10033   1FM5K8D89KGB47437   Ford        EXPLORER             CLEVELAND                OH
10034   1FM5K8D89KGB47454   Ford        EXPLORER             SOUTH BEND               IN
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10035   1FM5K8D89KGB47468   Ford        EXPLORER             Hamilton                 OH
10036   1FM5K8D89KGB47485   Ford        EXPLORER             CHARLOTTE                NC
10037   1FM5K8D89KGB48023   Ford        EXPLORER             LAS VEGAS                NV
10038   1FM5K8D89KGB48037   Ford        EXPLORER             DALLAS                   TX
10039   1FM5K8D89KGB48040   Ford        EXPLORER             SACRAMENTO               CA
10040   1FM5K8D89KGB48054   Ford        EXPLORER             LOS ANGELES              CA
10041   1FM5K8D89KGB48068   Ford        EXPLORER             SACRAMENTO               CA
10042   1FM5K8D89KGB48071   Ford        EXPLORER             BURBANK                  CA
10043   1FM5K8D89KGB48121   Ford        EXPLORER             Hebron                   KY
10044   1FM5K8D89KGB48135   Ford        EXPLORER             Florissant               MO
10045   1FM5K8D89KGB48653   Ford        EXPLORER             ALBANY                   NY
10046   1FM5K8D89KGB48667   Ford        EXPLORER             STERLING                 VA
10047   1FM5K8D89KGB48698   Ford        EXPLORER             EGG HARBOR TOWN          NJ
10048   1FM5K8D89KGB48703   Ford        EXPLORER             RONKONKOMA               NY
10049   1FM5K8D89KGB48717   Ford        EXPLORER             LAS VEGAS                NV
10050   1FM5K8D89KGB48720   Ford        EXPLORER             ATLANTA                  GA
10051   1FM5K8D89KGB48748   Ford        EXPLORER             SAN FRANCISCO            CA
10052   1FM5K8D89KGB48765   Ford        EXPLORER             PENSACOLA                FL
10053   1FM5K8D89KGB49012   Ford        EXPLORER             ORLANDO                  FL
10054   1FM5K8D89KGB49026   Ford        EXPLORER             SACRAMENTO               CA
10055   1FM5K8D89KGB49043   Ford        EXPLORER             SAN FRANCISCO            CA
10056   1FM5K8D89KGB49060   Ford        EXPLORER             PHOENIX                  AZ
10057   1FM5K8D89KGB49074   Ford        EXPLORER             SEATAC                   WA
10058   1FM5K8D89KGB49107   Ford        EXPLORER             DES MOINES               IA
10059   1FM5K8D89KGB49334   Ford        EXPLORER             MONROE                   NC
10060   1FM5K8D8XHGD05146   Ford        EXPLORER             ANCHORAGE                AK
10061   1FM5K8D8XHGD17488   Ford        EXPLORER             Port Newark              NJ
10062   1FM5K8D8XHGD56937   Ford        EXPLORER             MONTEREY                 CA
10063   1FM5K8D8XHGD57005   Ford        EXPLORER             Pasadena                 CA
10064   1FM5K8D8XHGD57165   Ford        EXPLORER             Fontana                  CA
10065   1FM5K8D8XJGA27855   Ford        EXPLORER             CHICAGO                  IL
10066   1FM5K8D8XJGA27886   Ford        EXPLORER             Bordentown               NJ
10067   1FM5K8D8XJGA36457   Ford        EXPLORER             Bensalem                 PA
10068   1FM5K8D8XJGA43361   Ford        EXPLORER             Woodhaven                MI
10069   1FM5K8D8XJGA45742   Ford        EXPLORER             Bordentown               NJ
10070   1FM5K8D8XJGA45756   Ford        EXPLORER             Sterling                 VA
10071   1FM5K8D8XJGB45095   Ford        EXPLORER             Tolleson                 AZ
10072   1FM5K8D8XJGB66285   Ford        EXPLORER             Statesville              NC
10073   1FM5K8D8XJGB90960   Ford        EXPLORER             SAN DIEGO                CA
10074   1FM5K8D8XJGB90988   Ford        EXPLORER             SAN DIEGO                CA
10075   1FM5K8D8XJGB90991   Ford        EXPLORER             San Diego                CA
10076   1FM5K8D8XJGB91008   Ford        EXPLORER             DETROIT                  MI
10077   1FM5K8D8XJGB91011   Ford        EXPLORER             SAN DIEGO                CA
10078   1FM5K8D8XJGB91039   Ford        EXPLORER             SANTA ANA                CA
10079   1FM5K8D8XJGB91056   Ford        EXPLORER             LOS ANGELES              CA
10080   1FM5K8D8XJGB91073   Ford        EXPLORER             PORTLAND                 OR
10081   1FM5K8D8XJGB91090   Ford        EXPLORER             PHOENIX                  AZ
10082   1FM5K8D8XJGB91106   Ford        EXPLORER             CHICAGO                  IL
10083   1FM5K8D8XJGB91123   Ford        EXPLORER             LOS ANGELES              CA
10084   1FM5K8D8XJGB91140   Ford        EXPLORER             Charlotte                NC
10085   1FM5K8D8XJGB91154   Ford        EXPLORER             PALM SPRINGS             CA
10086   1FM5K8D8XJGB91171   Ford        EXPLORER             PORTLAND                 OR
10087   1FM5K8D8XJGB91199   Ford        EXPLORER             Kent                     WA
10088   1FM5K8D8XJGB91204   Ford        EXPLORER             LAS VEGAS                NV
10089   1FM5K8D8XJGB91221   Ford        EXPLORER             TAMPA                    FL
10090   1FM5K8D8XJGB91249   Ford        EXPLORER             DENVER                   CO
10091   1FM5K8D8XJGB91283   Ford        EXPLORER             Rio Linda                CA
10092   1FM5K8D8XJGB91302   Ford        EXPLORER             Aurora                   CO
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10093   1FM5K8D8XJGC06977   Ford        EXPLORER             Denver                   CO
10094   1FM5K8D8XJGC06980   Ford        EXPLORER             Fontana                  CA
10095   1FM5K8D8XJGC06994   Ford        EXPLORER             SAN DIEGO                CA
10096   1FM5K8D8XJGC07000   Ford        EXPLORER             PORTLAND                 OR
10097   1FM5K8D8XJGC15081   Ford        EXPLORER             AUSTIN                   TX
10098   1FM5K8D8XJGC15095   Ford        EXPLORER             Denver                   CO
10099   1FM5K8D8XJGC15128   Ford        EXPLORER             SAN FRANCISCO            CA
10100   1FM5K8D8XJGC15260   Ford        EXPLORER             SEATTLE                  WA
10101   1FM5K8D8XJGC15288   Ford        EXPLORER             PHOENIX                  AZ
10102   1FM5K8D8XJGC15291   Ford        EXPLORER             SAN DIEGO                CA
10103   1FM5K8D8XJGC15307   Ford        EXPLORER             Denver                   CO
10104   1FM5K8D8XJGC15338   Ford        EXPLORER             Fontana                  CA
10105   1FM5K8D8XJGC15369   Ford        EXPLORER             SAN JOSE                 CA
10106   1FM5K8D8XJGC15372   Ford        EXPLORER             Rio Linda                CA
10107   1FM5K8D8XJGC15419   Ford        EXPLORER             BURBANK                  CA
10108   1FM5K8D8XJGC15436   Ford        EXPLORER             TRACY                    CA
10109   1FM5K8D8XJGC15453   Ford        EXPLORER             Atlanta                  GA
10110   1FM5K8D8XJGC15467   Ford        EXPLORER             Baltimore                MD
10111   1FM5K8D8XJGC15470   Ford        EXPLORER             SAN DIEGO                CA
10112   1FM5K8D8XJGC15520   Ford        EXPLORER             FRESNO                   CA
10113   1FM5K8D8XJGC15534   Ford        EXPLORER             FAIRFIELD                CA
10114   1FM5K8D8XJGC15548   Ford        EXPLORER             MIAMI                    FL
10115   1FM5K8D8XJGC15551   Ford        EXPLORER             WESTLAKE                 OH
10116   1FM5K8D8XJGC15663   Ford        EXPLORER             LOS ANGELES              CA
10117   1FM5K8D8XJGC15727   Ford        EXPLORER             SEATAC                   WA
10118   1FM5K8D8XJGC15744   Ford        EXPLORER             SAN DIEGO                CA
10119   1FM5K8D8XJGC15758   Ford        EXPLORER             SAN JOSE                 CA
10120   1FM5K8D8XJGC15792   Ford        EXPLORER             Hayward                  CA
10121   1FM5K8D8XJGC15811   Ford        EXPLORER             LOS ANGELES              CA
10122   1FM5K8D8XJGC15873   Ford        EXPLORER             ONTARIO                  CA
10123   1FM5K8D8XJGC15887   Ford        EXPLORER             DENVER                   CO
10124   1FM5K8D8XJGC15890   Ford        EXPLORER             BURBANK                  CA
10125   1FM5K8D8XJGC15906   Ford        EXPLORER             PHOENIX                  AZ
10126   1FM5K8D8XJGC15923   Ford        EXPLORER             Ventura                  CA
10127   1FM5K8D8XJGC15940   Ford        EXPLORER             DENVER                   CO
10128   1FM5K8D8XJGC15968   Ford        EXPLORER             Austin                   TX
10129   1FM5K8D8XJGC15985   Ford        EXPLORER             Hayward                  CA
10130   1FM5K8D8XJGC15999   Ford        EXPLORER             DENVER                   CO
10131   1FM5K8D8XJGC16005   Ford        EXPLORER             Tolleson                 AZ
10132   1FM5K8D8XJGC16019   Ford        EXPLORER             Tolleson                 AZ
10133   1FM5K8D8XJGC16022   Ford        EXPLORER             Hayward                  CA
10134   1FM5K8D8XJGC16053   Ford        EXPLORER             Phoenix                  AZ
10135   1FM5K8D8XJGC16067   Ford        EXPLORER             Lake Elsinore            CA
10136   1FM5K8D8XJGC16098   Ford        EXPLORER             SAN DIEGO                CA
10137   1FM5K8D8XJGC16103   Ford        EXPLORER             Bordentown               NJ
10138   1FM5K8D8XJGC16120   Ford        EXPLORER             North Dighton            MA
10139   1FM5K8D8XJGC33936   Ford        EXPLORER             TAMPA                    FL
10140   1FM5K8D8XKGA42793   Ford        EXPLORER             Atlanta                  GA
10141   1FM5K8D8XKGA61344   Ford        EXPLORER             BURBANK                  CA
10142   1FM5K8D8XKGA61375   Ford        EXPLORER             BIRMINGHAN               AL
10143   1FM5K8D8XKGA61389   Ford        EXPLORER             LOS ANGELES AP           CA
10144   1FM5K8D8XKGA61392   Ford        EXPLORER             SAINT PAUL               MN
10145   1FM5K8D8XKGA61408   Ford        EXPLORER             LOS ANGELES              CA
10146   1FM5K8D8XKGA61411   Ford        EXPLORER             LAS VEGAS                NV
10147   1FM5K8D8XKGA61425   Ford        EXPLORER             LOS ANGELES              CA
10148   1FM5K8D8XKGA61439   Ford        EXPLORER             LAS VEGAS                NV
10149   1FM5K8D8XKGA61456   Ford        EXPLORER             LOS ANGELES              CA
10150   1FM5K8D8XKGA61473   Ford        EXPLORER             SANTA ANA                CA
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10151   1FM5K8D8XKGA61537   Ford        EXPLORER             Portland                 OR
10152   1FM5K8D8XKGA61554   Ford        EXPLORER             ORLANDO                  FL
10153   1FM5K8D8XKGA61568   Ford        EXPLORER             LAS VEGAS                NV
10154   1FM5K8D8XKGA61599   Ford        EXPLORER             LOUISVILLE               KY
10155   1FM5K8D8XKGA61621   Ford        EXPLORER             SEATAC                   WA
10156   1FM5K8D8XKGA61635   Ford        EXPLORER             ORANGE COUNTY            CA
10157   1FM5K8D8XKGA61652   Ford        EXPLORER             TAMPA                    FL
10158   1FM5K8D8XKGA61683   Ford        EXPLORER             SAN JOSE                 CA
10159   1FM5K8D8XKGA61697   Ford        EXPLORER             Sacramento               CA
10160   1FM5K8D8XKGA61702   Ford        EXPLORER             LAS VEGAS                NV
10161   1FM5K8D8XKGA61716   Ford        EXPLORER             PHOENIX                  AZ
10162   1FM5K8D8XKGA61747   Ford        EXPLORER             SAN DIEGO                CA
10163   1FM5K8D8XKGA61750   Ford        EXPLORER             LAS VEGAS                NV
10164   1FM5K8D8XKGA61764   Ford        EXPLORER             SANTA ANA                CA
10165   1FM5K8D8XKGA61828   Ford        EXPLORER             Fontana                  CA
10166   1FM5K8D8XKGA61831   Ford        EXPLORER             SACRAMENTO               CA
10167   1FM5K8D8XKGA61845   Ford        EXPLORER             LAS VEGAS                NV
10168   1FM5K8D8XKGA61862   Ford        EXPLORER             ONTARIO                  CA
10169   1FM5K8D8XKGB16293   Ford        EXPLORER             Atlanta                  GA
10170   1FM5K8D8XKGB25320   Ford        EXPLORER             Parkville                MD
10171   1FM5K8D8XKGB25348   Ford        EXPLORER             Teterboro                NJ
10172   1FM5K8D8XKGB25401   Ford        EXPLORER             SAN FRANCISCO            CA
10173   1FM5K8D8XKGB25429   Ford        EXPLORER             Atlanta                  GA
10174   1FM5K8D8XKGB25432   Ford        EXPLORER             CHICAGO                  IL
10175   1FM5K8D8XKGB25446   Ford        EXPLORER             STERLING                 VA
10176   1FM5K8D8XKGB25463   Ford        EXPLORER             PORTLAND                 OR
10177   1FM5K8D8XKGB25933   Ford        EXPLORER             BIRMINGHAM               AL
10178   1FM5K8D8XKGB25947   Ford        EXPLORER             LOS ANGELES              CA
10179   1FM5K8D8XKGB25950   Ford        EXPLORER             LAS VEGAS                NV
10180   1FM5K8D8XKGB25964   Ford        EXPLORER             LAS VEGAS                NV
10181   1FM5K8D8XKGB26001   Ford        EXPLORER             SHREVEPORT               LA
10182   1FM5K8D8XKGB26029   Ford        EXPLORER             FORT LAUDERDALE          FL
10183   1FM5K8D8XKGB26094   Ford        EXPLORER             OXFORD                   MS
10184   1FM5K8D8XKGB26113   Ford        EXPLORER             SAN FRANCISCO            CA
10185   1FM5K8D8XKGB26158   Ford        EXPLORER             TUCSON                   AZ
10186   1FM5K8D8XKGB26175   Ford        EXPLORER             LAS VEGAS                NV
10187   1FM5K8D8XKGB26225   Ford        EXPLORER             GRAND JUNCTION           C
10188   1FM5K8D8XKGB26354   Ford        EXPLORER             CHAMBERSBURG             PA
10189   1FM5K8D8XKGB26662   Ford        EXPLORER             CHARLESTON               WV
10190   1FM5K8D8XKGB26936   Ford        EXPLORER             Ocoee                    FL
10191   1FM5K8D8XKGB46488   Ford        EXPLORER             BIRMINGHAM               AL
10192   1FM5K8D8XKGB46510   Ford        EXPLORER             MIAMI                    FL
10193   1FM5K8D8XKGB46524   Ford        EXPLORER             FORT MYERS               FL
10194   1FM5K8D8XKGB46555   Ford        EXPLORER             ATLANTA                  GA
10195   1FM5K8D8XKGB46569   Ford        EXPLORER             Atlanta                  GA
10196   1FM5K8D8XKGB46572   Ford        EXPLORER             CHICAGO                  IL
10197   1FM5K8D8XKGB46619   Ford        EXPLORER             RONKONKOMA               NY
10198   1FM5K8D8XKGB46636   Ford        EXPLORER             INDIANAPOLIS             IN
10199   1FM5K8D8XKGB46703   Ford        EXPLORER             Vandalia                 OH
10200   1FM5K8D8XKGB46720   Ford        EXPLORER             STERLING                 VA
10201   1FM5K8D8XKGB46734   Ford        EXPLORER             ALEXANDRIA               VA
10202   1FM5K8D8XKGB46748   Ford        EXPLORER             WARWICK                  RI
10203   1FM5K8D8XKGB46779   Ford        EXPLORER             NEW BERN                 NC
10204   1FM5K8D8XKGB46796   Ford        EXPLORER             CHARLESTON               WV
10205   1FM5K8D8XKGB46801   Ford        EXPLORER             COLUMBIA                 SC
10206   1FM5K8D8XKGB46832   Ford        EXPLORER             Los Angeles              CA
10207   1FM5K8D8XKGB46877   Ford        EXPLORER             DALLAS                   TX
10208   1FM5K8D8XKGB46913   Ford        EXPLORER             SAN FRANCISCO            CA
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10209   1FM5K8D8XKGB46927   Ford        EXPLORER             BOSTON                   MA
10210   1FM5K8D8XKGB47169   Ford        EXPLORER             ORLANDO                  FL
10211   1FM5K8D8XKGB47186   Ford        EXPLORER             DETROIT                  MI
10212   1FM5K8D8XKGB47205   Ford        EXPLORER             FT WALTON                FL
10213   1FM5K8D8XKGB47222   Ford        EXPLORER             FORT LAUDERDALE          FL
10214   1FM5K8D8XKGB47270   Ford        EXPLORER             RALIEGH                  NC
10215   1FM5K8D8XKGB47320   Ford        EXPLORER             FAYETTEVILLE             GA
10216   1FM5K8D8XKGB47334   Ford        EXPLORER             NEWARK                   NJ
10217   1FM5K8D8XKGB47379   Ford        EXPLORER             Teterboro                NJ
10218   1FM5K8D8XKGB47382   Ford        EXPLORER             BOSTON                   MA
10219   1FM5K8D8XKGB47401   Ford        EXPLORER             SYRACUSE                 NY
10220   1FM5K8D8XKGB47415   Ford        EXPLORER             GRAND RAPIDS             MI
10221   1FM5K8D8XKGB47463   Ford        EXPLORER             ATLANTA                  GA
10222   1FM5K8D8XKGB47480   Ford        EXPLORER             STERLING                 VA
10223   1FM5K8D8XKGB48015   Ford        EXPLORER             SAN DIEGO                CA
10224   1FM5K8D8XKGB48029   Ford        EXPLORER             LOS ANGELES              CA
10225   1FM5K8D8XKGB48063   Ford        EXPLORER             BULLHEAD CITY            AZ
10226   1FM5K8D8XKGB48127   Ford        EXPLORER             COLLEGE PARK             GA
10227   1FM5K8D8XKGB48130   Ford        EXPLORER             WEST COLUMBIA            SC
10228   1FM5K8D8XKGB48662   Ford        EXPLORER             KNOXVILLE                TN
10229   1FM5K8D8XKGB48693   Ford        EXPLORER             Teterboro                NJ
10230   1FM5K8D8XKGB48712   Ford        EXPLORER             GARDENA                  CA
10231   1FM5K8D8XKGB48743   Ford        EXPLORER             ORANGE COUNTY            CA
10232   1FM5K8D8XKGB48757   Ford        EXPLORER             BURBANK                  CA
10233   1FM5K8D8XKGB49018   Ford        EXPLORER             PHILADELPHIA             PA
10234   1FM5K8D8XKGB49049   Ford        EXPLORER             HOUSTON                  TX
10235   1FM5K8D8XKGB49052   Ford        EXPLORER             LOS ANGELES AP           CA
10236   1FM5K8D8XKGB49066   Ford        EXPLORER             SOUTH SAN FRANC          CA
10237   1FM5K8D8XKGB49083   Ford        EXPLORER             PALM SPRINGS             CA
10238   1FM5K8D8XKGB49097   Ford        EXPLORER             TAMPA                    US
10239   1FM5K8D8XKGB49102   Ford        EXPLORER             Atlanta                  GA
10240   1FM5K8D8XKGB49116   Ford        EXPLORER             CHICAGO                  IL
10241   1FM5K8D8XKGB49164   Ford        EXPLORER             DALLAS                   TX
10242   1FM5K8D8XKGB49178   Ford        EXPLORER             PHOENIX                  AZ
10243   1FMCU0F70HUA50905   Ford        ESCAPE               Phoenix                  AZ
10244   1FMCU0F71HUB01537   Ford        ESCAPE               SEATTLE                  WA
10245   1FMCU0F74HUB87426   Ford        ESCAPE               Richmond                 VA
10246   1FMCU0F74HUE94174   Ford        ESCAPE               SAN FRANCISCO            CA
10247   1FMCU0F74JUC31186   Ford        ESCAPE               SOUTHEAST DST OFFC       OK
10248   1FMCU0F75FUA87767   Ford        ESCAPE               MIAMI INT'L AP           FL
10249   1FMCU0F75HUB89640   Ford        ESCAPE               South San Franc          CA
10250   1FMCU0F75JUA07229   Ford        ESCAPE               ORLANDO                  FL
10251   1FMCU0F76JUA44466   Ford        ESCAPE               DETROIT                  MI
10252   1FMCU0F7XGUB24216   Ford        ESCAPE               BURBANK                  CA
10253   1FMCU0F7XGUC53296   Ford        ESCAPE               SCHILLER PARK            IL
10254   1FMCU0G70GUA42588   Ford        ESCAPE               FT LAUDERDALE            FL
10255   1FMCU0G71GUC55520   Ford        ESCAPE               Hialeah                  FL
10256   1FMCU0G72GUA92585   Ford        ESCAPE               MIDDLE RIVER             MD
10257   1FMCU0G73GUA45811   Ford        ESCAPE               SEATAC                   WA
10258   1FMCU0G74GUA91471   Ford        ESCAPE               LAS VEGAS                NV
10259   1FMCU0G74GUB87293   Ford        ESCAPE               ANNANDALE                VA
10260   1FMCU0G76FUA36146   Ford        ESCAPE               Fredericksburg           VA
10261   1FMCU0G78GUB64325   Ford        ESCAPE               Philadelphia             PA
10262   1FMCU0G79GUC91410   Ford        ESCAPE               DES PLAINES              IL
10263   1FMCU0G7XGUA36989   Ford        ESCAPE               PHILADELPHIA             PA
10264   1FMCU0G7XGUB06104   Ford        ESCAPE               Hayward                  CA
10265   1FMCU0G90GUA39921   Ford        ESCAPE               LOS ANGELES              CA
10266   1FMCU0G90HUA50869   Ford        ESCAPE               PHOENIX                  AZ
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10267   1FMCU0G90HUB46548   Ford        ESCAPE               SACRAMENTO               CA
10268   1FMCU0G90HUB46551   Ford        ESCAPE               LOS ANGELES              CA
10269   1FMCU0G90JUC64976   Ford        ESCAPE               BURBANK                  CA
10270   1FMCU0G92HUB45093   Ford        ESCAPE               CHANDLER                 AZ
10271   1FMCU0G92HUC13876   Ford        ESCAPE               SAN FRANCISCO            CA
10272   1FMCU0G93GUA40092   Ford        ESCAPE               BURBANK                  CA
10273   1FMCU0G93HUA23536   Ford        ESCAPE               SANTA ANA                CA
10274   1FMCU0G94GUB65084   Ford        ESCAPE               Atlanta                  GA
10275   1FMCU0G94HUA09502   Ford        ESCAPE               Woodhaven                MI
10276   1FMCU0G94HUA23531   Ford        ESCAPE               PHOENIX                  AZ
10277   1FMCU0G94HUB31003   Ford        ESCAPE               SACRAMENTO               CA
10278   1FMCU0G95HUB31012   Ford        ESCAPE               LOS ANGELES              CA
10279   1FMCU0G95HUB46562   Ford        ESCAPE               Mira Loma                CA
10280   1FMCU0G95JUC20908   Ford        ESCAPE               FORT LAUDERDALE          FL
10281   1FMCU0G96HUB46571   Ford        ESCAPE               Salt Lake City           UT
10282   1FMCU0G96JUB49606   Ford        ESCAPE               OAKLAND                  CA
10283   1FMCU0G97GUC27836   Ford        ESCAPE               SAN DIEGO                CA
10284   1FMCU0G97JUC64991   Ford        ESCAPE               BURBANK                  CA
10285   1FMCU0G97JUC89311   Ford        ESCAPE               DALLAS                   TX
10286   1FMCU0G98FUB89001   Ford        ESCAPE               Baltimore                MD
10287   1FMCU0G98GUA66333   Ford        ESCAPE               Phoenix                  AZ
10288   1FMCU0G98GUB15837   Ford        ESCAPE               Tolleson                 AZ
10289   1FMCU0G98GUC08874   Ford        ESCAPE               CHICAGO                  IL
10290   1FMCU0G98HUA23533   Ford        ESCAPE               Tolleson                 AZ
10291   1FMCU0G98HUB31005   Ford        ESCAPE               NORTH PAC                CA
10292   1FMCU0G98HUB46572   Ford        ESCAPE               LOS ANGELES              CA
10293   1FMCU0G98HUB81290   Ford        ESCAPE               LOS ANGELES              CA
10294   1FMCU0G98HUB89809   Ford        ESCAPE               Lake Elsinore            CA
10295   1FMCU0G98JUB47145   Ford        ESCAPE               DANIA BEACH              FL
10296   1FMCU0G99HUB31417   Ford        ESCAPE               BURBANK                  CA
10297   1FMCU0G9XJUC63687   Ford        ESCAPE               SAN FRANCISCO            CA
10298   1FMCU0GD0HUA60628   Ford        ESCAPE               Obetz                    OH
10299   1FMCU0GD0HUA79308   Ford        ESCAPE               Chicago                  IL
10300   1FMCU0GD0HUA82449   Ford        ESCAPE               BURBANK                  CA
10301   1FMCU0GD0HUB21797   Ford        ESCAPE               Phoenix                  AZ
10302   1FMCU0GD0HUB40723   Ford        ESCAPE               CHICAGO                  IL
10303   1FMCU0GD0HUC63843   Ford        ESCAPE               Atlanta                  GA
10304   1FMCU0GD0HUD38928   Ford        ESCAPE               MEDINA                   OH
10305   1FMCU0GD0HUD44101   Ford        ESCAPE               DALLAS                   TX
10306   1FMCU0GD1HUA15035   Ford        ESCAPE               ORLANDO                  FL
10307   1FMCU0GD1HUA32773   Ford        ESCAPE               BURBANK                  CA
10308   1FMCU0GD1HUB90353   Ford        ESCAPE               BURBANK                  CA
10309   1FMCU0GD1HUC76844   Ford        ESCAPE               DES PLAINES              IL
10310   1FMCU0GD1HUD26934   Ford        ESCAPE               FORT MYERS               FL
10311   1FMCU0GD1HUE05262   Ford        ESCAPE               MIDDLE RIVER             MD
10312   1FMCU0GD1HUE17136   Ford        ESCAPE               SOUTHEAST DST OFFC       OK
10313   1FMCU0GD1HUE22384   Ford        ESCAPE               Rockville Centr          NY
10314   1FMCU0GD1HUE49360   Ford        ESCAPE               BURBANK                  CA
10315   1FMCU0GD1HUE53070   Ford        ESCAPE               Nashville                TN
10316   1FMCU0GD1HUE69298   Ford        ESCAPE               ORLANDO                  FL
10317   1FMCU0GD1JUA41706   Ford        ESCAPE               Houston                  TX
10318   1FMCU0GD1JUC40920   Ford        ESCAPE               Miami                    FL
10319   1FMCU0GD2HUA20938   Ford        ESCAPE               SANTA ANA                CA
10320   1FMCU0GD2HUA82713   Ford        ESCAPE               PHOENIX                  AZ
10321   1FMCU0GD2HUA91878   Ford        ESCAPE               Windsor Locks            CT
10322   1FMCU0GD2HUD52541   Ford        ESCAPE               CHICAGO                  IL
10323   1FMCU0GD2HUE22541   Ford        ESCAPE               Hattiesburg              MS
10324   1FMCU0GD2JUA35364   Ford        ESCAPE               NORTH PAC                CA
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10325   1FMCU0GD2JUD44512   Ford        ESCAPE               SOUTH SAN FRANC          CA
10326   1FMCU0GD3HUA37828   Ford        ESCAPE               Lake in the Hil          IL
10327   1FMCU0GD3HUB21003   Ford        ESCAPE               CHICAGO                  IL
10328   1FMCU0GD3HUB88071   Ford        ESCAPE               DES PLAINES              IL
10329   1FMCU0GD3HUC09548   Ford        ESCAPE               WHITE PLAINS             NY
10330   1FMCU0GD3HUC28200   Ford        ESCAPE               South San Franc          CA
10331   1FMCU0GD3HUE05540   Ford        ESCAPE               MIDDLE RIVER             MD
10332   1FMCU0GD3HUE17106   Ford        ESCAPE               PHILADELPHIA             PA
10333   1FMCU0GD3HUE38991   Ford        ESCAPE               PITTSBURGH               PA
10334   1FMCU0GD3JUB85645   Ford        ESCAPE               NORTH PAC                CA
10335   1FMCU0GD3JUC40580   Ford        ESCAPE               DANIA BEACH              FL
10336   1FMCU0GD3JUD37469   Ford        ESCAPE               Springfield              MO
10337   1FMCU0GD4HUA48675   Ford        ESCAPE               Portland                 OR
10338   1FMCU0GD4HUA52287   Ford        ESCAPE               North Dighton            MA
10339   1FMCU0GD4HUB39297   Ford        ESCAPE               Webster                  NY
10340   1FMCU0GD4HUC18985   Ford        ESCAPE               TAMPA                    US
10341   1FMCU0GD4HUC47046   Ford        ESCAPE               Milwaukee                WI
10342   1FMCU0GD4HUD29150   Ford        ESCAPE               Houston                  TX
10343   1FMCU0GD4HUD92734   Ford        ESCAPE               DES MOINES               IA
10344   1FMCU0GD4HUD94970   Ford        ESCAPE               PHOENIX                  AZ
10345   1FMCU0GD5HUA35109   Ford        ESCAPE               TUCSON                   AZ
10346   1FMCU0GD5HUA74475   Ford        ESCAPE               LAS VEGAS                NV
10347   1FMCU0GD5HUB00993   Ford        ESCAPE               ORLANDO                  FL
10348   1FMCU0GD5HUB20371   Ford        ESCAPE               TAMPA                    FL
10349   1FMCU0GD5HUB42225   Ford        ESCAPE               KNOXVILLE                TN
10350   1FMCU0GD5HUE22839   Ford        ESCAPE               Harvey                   LA
10351   1FMCU0GD5HUE68994   Ford        ESCAPE               Detroit                  MI
10352   1FMCU0GD5HUF05199   Ford        ESCAPE               CHARLOTTE                NC
10353   1FMCU0GD5KUB29613   Ford        ESCAPE               Woodhaven                MI
10354   1FMCU0GD6HUA37953   Ford        ESCAPE               Johnston                 RI
10355   1FMCU0GD6HUA59788   Ford        ESCAPE               ORLANDO                  FL
10356   1FMCU0GD6HUB14675   Ford        ESCAPE               DES PLAINES              US
10357   1FMCU0GD6HUB20945   Ford        ESCAPE               KNOXVILLE                TN
10358   1FMCU0GD6HUB76965   Ford        ESCAPE               STERLING                 VA
10359   1FMCU0GD6HUC23363   Ford        ESCAPE               CHICAGO                  IL
10360   1FMCU0GD6HUD39811   Ford        ESCAPE               DES PLAINES              IL
10361   1FMCU0GD6HUE39973   Ford        ESCAPE               San Antonio              TX
10362   1FMCU0GD6HUE53338   Ford        ESCAPE               CHICAGO                  IL
10363   1FMCU0GD7HUA68872   Ford        ESCAPE               BURBANK                  CA
10364   1FMCU0GD7HUB51380   Ford        ESCAPE               NEW ORLEANS              LA
10365   1FMCU0GD7HUB79647   Ford        ESCAPE               Florissant               MO
10366   1FMCU0GD7HUC22934   Ford        ESCAPE               CHICAGO                  IL
10367   1FMCU0GD7HUC55092   Ford        ESCAPE               LOS ANGELES              CA
10368   1FMCU0GD7HUE23023   Ford        ESCAPE               PHOENIX                  AZ
10369   1FMCU0GD7HUE39660   Ford        ESCAPE               North Dighton            MA
10370   1FMCU0GD7HUE39898   Ford        ESCAPE               SAN ANTONIO              TX
10371   1FMCU0GD7JUA87072   Ford        ESCAPE               LAS VEGAS                NV
10372   1FMCU0GD8HUA03755   Ford        ESCAPE               Euless                   TX
10373   1FMCU0GD8HUA15162   Ford        ESCAPE               INGLEWOOD                CA
10374   1FMCU0GD8HUA49358   Ford        ESCAPE               Jacksonville             FL
10375   1FMCU0GD8HUA79301   Ford        ESCAPE               Milwaukee                WI
10376   1FMCU0GD8HUB44535   Ford        ESCAPE               BURBANK                  CA
10377   1FMCU0GD8HUB78071   Ford        ESCAPE               SARASOTA                 FL
10378   1FMCU0GD8HUC12137   Ford        ESCAPE               NOTTINGHAM               MD
10379   1FMCU0GD8HUC68174   Ford        ESCAPE               Irving                   TX
10380   1FMCU0GD8HUD27661   Ford        ESCAPE               MELROSE PARK             IL
10381   1FMCU0GD8HUD74706   Ford        ESCAPE               INDIANAPOLIS             IN
10382   1FMCU0GD8HUE37805   Ford        ESCAPE               PHOENIX                  AZ
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10383   1FMCU0GD8HUE39876   Ford        ESCAPE               Tampa                    FL
10384   1FMCU0GD9HUA80005   Ford        ESCAPE               CHICAGO                  IL
10385   1FMCU0GD9HUB00995   Ford        ESCAPE               Detroit                  MI
10386   1FMCU0GD9HUB14153   Ford        ESCAPE               DENVER                   CO
10387   1FMCU0GD9HUC26743   Ford        ESCAPE               PHOENIX                  AZ
10388   1FMCU0GD9HUC64036   Ford        ESCAPE               Matteson                 IL
10389   1FMCU0GD9HUC95870   Ford        ESCAPE               LOS ANGELES              CA
10390   1FMCU0GD9HUD17785   Ford        ESCAPE               CHICAGO                  IL
10391   1FMCU0GDXHUA62970   Ford        ESCAPE               LOS ANGELES              CA
10392   1FMCU0GDXHUA81132   Ford        ESCAPE               SARASOTA                 FL
10393   1FMCU0GDXHUB01203   Ford        ESCAPE               CHICAGO                  IL
10394   1FMCU0GDXHUB28529   Ford        ESCAPE               CHICAGO                  IL
10395   1FMCU0GDXHUB41054   Ford        ESCAPE               CHICAGO                  IL
10396   1FMCU0GDXHUB53480   Ford        ESCAPE               PHOENIX                  AZ
10397   1FMCU0GDXHUD38435   Ford        ESCAPE               Harvey                   LA
10398   1FMCU0GDXHUD42159   Ford        ESCAPE               LAS VEGAS                NV
10399   1FMCU0GDXHUD75288   Ford        ESCAPE               SPRINGFIELD              VA
10400   1FMCU0GDXHUE38602   Ford        ESCAPE               NEW YORK CITY            NY
10401   1FMCU0GDXHUE39829   Ford        ESCAPE               BURBANK                  CA
10402   1FMCU0GDXHUE49342   Ford        ESCAPE               HARBOR CITY              CA
10403   1FMCU0GDXHUE70174   Ford        ESCAPE               CHICAGO                  IL
10404   1FMCU0GX1GUA43314   Ford        ESCAPE               PITTSBURGH               PA
10405   1FMCU0GX1GUA83263   Ford        ESCAPE               SANTA ANA                CA
10406   1FMCU0GX2FUA57544   Ford        ESCAPE               Elkridge                 MD
10407   1FMCU0GX2GUA99245   Ford        ESCAPE               Matteson                 IL
10408   1FMCU0GX3GUA34923   Ford        ESCAPE               WASHINGTON DC            MD
10409   1FMCU0GX3GUB89343   Ford        ESCAPE               WEST PALM BEACH          FL
10410   1FMCU0GX3GUC77549   Ford        ESCAPE               CHICAGO                  IL
10411   1FMCU0GX4GUB70302   Ford        ESCAPE               Irving                   TX
10412   1FMCU0GX4GUC77902   Ford        ESCAPE               LOS ANGELES              CA
10413   1FMCU0GX5GUB85889   Ford        ESCAPE               SPRINGFIELD              VA
10414   1FMCU0GX5GUB95340   Ford        ESCAPE               BOSTON                   MA
10415   1FMCU0GX6GUB53405   Ford        ESCAPE               Tampa                    FL
10416   1FMCU0GX7FUA66966   Ford        ESCAPE               Grove City               OH
10417   1FMCU0GXXGUC18417   Ford        ESCAPE               Sarasota                 FL
10418   1FMCU0H62LUB24757   Ford        ESCAPE               SAVANNAH                 GA
10419   1FMCU0H63LUB14416   Ford        ESCAPE               Austell                  GA
10420   1FMCU0H66LUB14412   Ford        ESCAPE               Austell                  GA
10421   1FMCU0HD7JUA21071   Ford        ESCAPE               ATLANTA                  GA
10422   1FMCU0HD9KUC33083   Ford        ESCAPE               Oklahoma City            OK
10423   1FMCU0HDXKUC29267   Ford        ESCAPE               Gaston                   SC
10424   1FMCU0J90HUA35846   Ford        ESCAPE               CHICAGO O'HARE AP        IL
10425   1FMCU0J92HUA94803   Ford        ESCAPE               PHOENIX                  AZ
10426   1FMCU0J92HUB22812   Ford        ESCAPE               PHOENIX                  AZ
10427   1FMCU0J92HUB81441   Ford        ESCAPE               PHOENIX                  AZ
10428   1FMCU0J92KUC30015   Ford        ESCAPE               Kansas City              KS
10429   1FMCU0J94HUA49216   Ford        ESCAPE               CHICAGO                  IL
10430   1FMCU0J95HUA61813   Ford        ESCAPE               PHOENIX                  AZ
10431   1FMCU0J95HUB83281   Ford        ESCAPE               Rio Linda                CA
10432   1FMCU0J96HUB40651   Ford        ESCAPE               San Diego                CA
10433   1FMCU0J97HUA61800   Ford        ESCAPE               Las Vegas                NV
10434   1FMCU0J97HUA89063   Ford        ESCAPE               SAN DIEGO                US
10435   1FMCU0J98HUC31730   Ford        ESCAPE               DANIA BEACH              FL
10436   1FMCU0J99HUB83266   Ford        ESCAPE               BURBANK                  CA
10437   1FMCU0J99HUC80371   Ford        ESCAPE               CENTRAL DIST OFFC        OK
10438   1FMCU0J99JUC88136   Ford        ESCAPE               Maple Grove              MN
10439   1FMCU0J9XHUB44413   Ford        ESCAPE               LOS ANGELES              CA
10440   1FMCU0J9XJUC88159   Ford        ESCAPE               Carleton                 MI
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10441   1FMCU0JD0HUC38076   Ford        ESCAPE               Nashville                TN
10442   1FMCU0JD1HUA80220   Ford        ESCAPE               CLEVELAND                OH
10443   1FMCU0JD1HUB20862   Ford        ESCAPE               CHICAGO                  IL
10444   1FMCU0JD1HUC09587   Ford        ESCAPE               MELROSE PARK             IL
10445   1FMCU0JD2HUA94773   Ford        ESCAPE               Tolleson                 AZ
10446   1FMCU0JD3HUA48840   Ford        ESCAPE               Detroit                  MI
10447   1FMCU0JD3HUB20734   Ford        ESCAPE               CHICAGO                  IL
10448   1FMCU0JD3HUD52508   Ford        ESCAPE               Marietta                 GA
10449   1FMCU0JD5HUB87027   Ford        ESCAPE               Richmond                 VA
10450   1FMCU0JD8HUA77752   Ford        ESCAPE               Smithtown                NY
10451   1FMCU0JD9HUA22162   Ford        ESCAPE               GRAND JUNCTION           C
10452   1FMCU0JD9HUB77701   Ford        ESCAPE               CLEVELAND                OH
10453   1FMCU0JX4GUB90879   Ford        ESCAPE               CHICAGO                  IL
10454   1FMCU0JX9GUB35425   Ford        ESCAPE               CHICAGO                  IL
10455   1FMCU9G90HUB78808   Ford        ESCAPE               CLEVELAND                OH
10456   1FMCU9G91JUC50105   Ford        ESCAPE               Phoenix                  AZ
10457   1FMCU9G92GUC52728   Ford        ESCAPE               DES MOINES               IA
10458   1FMCU9G92GUC71201   Ford        ESCAPE               Londonderry              NH
10459   1FMCU9G93HUA11262   Ford        ESCAPE               KNOXVILLE                TN
10460   1FMCU9G93JUC38540   Ford        ESCAPE               SAN ANTONIO              TX
10461   1FMCU9G93JUC50090   Ford        ESCAPE               SAN ANTONIO              TX
10462   1FMCU9G94HUB97216   Ford        ESCAPE               CHICAGO                  IL
10463   1FMCU9G94HUC50657   Ford        ESCAPE               FRESNO                   CA
10464   1FMCU9G95GUA98757   Ford        ESCAPE               SAN ANTONIO              TX
10465   1FMCU9G96HUB88291   Ford        ESCAPE               DES PLAINES              IL
10466   1FMCU9G97HUB15026   Ford        ESCAPE               DES PLAINES              IL
10467   1FMCU9G98JUB62698   Ford        ESCAPE               Norwalk                  CA
10468   1FMCU9G99HUB78600   Ford        ESCAPE               KENNER                   LA
10469   1FMCU9G9XJUB48544   Ford        ESCAPE               FORT LAUDERDALE          FL
10470   1FMCU9GD0HUB77050   Ford        ESCAPE               CHICAGO                  IL
10471   1FMCU9GD1HUE49105   Ford        ESCAPE               SAINT LOUIS              MO
10472   1FMCU9GD1JUB61560   Ford        ESCAPE               Phoenix                  AZ
10473   1FMCU9GD2HUA03707   Ford        ESCAPE               CHICAGO                  IL
10474   1FMCU9GD2HUC28239   Ford        ESCAPE               SAN FRANCISCO            CA
10475   1FMCU9GD2HUE48741   Ford        ESCAPE               Des Plaines              IL
10476   1FMCU9GD2HUE49484   Ford        ESCAPE               Dania                    FL
10477   1FMCU9GD3JUC60980   Ford        ESCAPE               FT LAUDERDALE            FL
10478   1FMCU9GD4HUB01637   Ford        ESCAPE               SAVANNAH                 GA
10479   1FMCU9GD4HUB14890   Ford        ESCAPE               CHICAGO                  IL
10480   1FMCU9GD4HUE39605   Ford        ESCAPE               BALTIMORE                MD
10481   1FMCU9GD4KUB30515   Ford        ESCAPE               BIRMINGHAM               AL
10482   1FMCU9GD5HUC48419   Ford        ESCAPE               GRAND RAPIDS             MI
10483   1FMCU9GD5HUE49916   Ford        ESCAPE               Riverside                CA
10484   1FMCU9GD5HUE76629   Ford        ESCAPE               BALTIMORE                MD
10485   1FMCU9GD6HUA10823   Ford        ESCAPE               CHICAGO                  IL
10486   1FMCU9GD6HUA12698   Ford        ESCAPE               Memphis                  TN
10487   1FMCU9GD6HUE39606   Ford        ESCAPE               SAINT PAUL               MN
10488   1FMCU9GD7HUE48721   Ford        ESCAPE               CHICAGO                  IL
10489   1FMCU9GD7HUE49867   Ford        ESCAPE               NORTH HOLLYWOOD          CA
10490   1FMCU9GD8HUD85581   Ford        ESCAPE               Dallas                   TX
10491   1FMCU9GD8HUE49487   Ford        ESCAPE               NEWARK                   NJ
10492   1FMCU9GD9HUE37770   Ford        ESCAPE               INDIANAPOLIS             IN
10493   1FMCU9GDXHUC12287   Ford        ESCAPE               DES MOINES               IA
10494   1FMCU9GDXHUE49944   Ford        ESCAPE               LOS ANGELES              CA
10495   1FMCU9GX0GUB96013   Ford        ESCAPE               Chicago                  IL
10496   1FMCU9GX1GUB18467   Ford        ESCAPE               Elkridge                 MD
10497   1FMCU9GX6GUB27861   Ford        ESCAPE               Lynn                     MA
10498   1FMCU9GX7GUB75711   Ford        ESCAPE               FLORIDA DEALER DIR       FL
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10499   1FMCU9GX8GUC16654   Ford        ESCAPE               NEW ENGLAND DEALER       MA
10500   1FMCU9H63LUB17062   Ford        ESCAPE               HILLSBOROUGH             NJ
10501   1FMCU9H64LUB17264   Ford        ESCAPE               DURYEA                   PA
10502   1FMCU9H66LUB17945   Ford        ESCAPE               HAMPTON                  VA
10503   1FMCU9H69LUB09662   Ford        ESCAPE               Hayward                  CA
10504   1FMCU9HD0JUC86998   Ford        ESCAPE               LAS VEGAS                NV
10505   1FMCU9HD0JUC89478   Ford        ESCAPE               SOUTHEAST DST OFFC       OK
10506   1FMCU9HD1KUC28870   Ford        ESCAPE               EXETER                   RI
10507   1FMCU9HD5JUC87029   Ford        ESCAPE               SAN DIEGO                CA
10508   1FMCU9HD7JUC86982   Ford        ESCAPE               SAN ANTONIO              TX
10509   1FMCU9HD9JUC86921   Ford        ESCAPE               DETROIT                  MI
10510   1FMCU9J90HUB49964   Ford        ESCAPE               CHICAGO                  IL
10511   1FMCU9J90JUC40383   Ford        ESCAPE               CLEVELAND                OH
10512   1FMCU9J90KUC29031   Ford        ESCAPE               Austell                  GA
10513   1FMCU9J90KUC32348   Ford        ESCAPE               HUEYTOWN                 AL
10514   1FMCU9J91HUB27522   Ford        ESCAPE               Winter Park              FL
10515   1FMCU9J92JUC89441   Ford        ESCAPE               Plainfield               IN
10516   1FMCU9J93LUB08995   Ford        ESCAPE               Wood Cross               UT
10517   1FMCU9J94GUB84862   Ford        ESCAPE               Honolulu                 HI
10518   1FMCU9J95JUC89448   Ford        ESCAPE               LOS ANGELES              CA
10519   1FMCU9J96HUB51735   Ford        ESCAPE               CHICAGO                  IL
10520   1FMCU9J96JUC89426   Ford        ESCAPE               GYPSUM                   CO
10521   1FMCU9J97JUC89824   Ford        ESCAPE               LAS VEGAS                NV
10522   1FMCU9J98KUA25495   Ford        ESCAPE               TUCSON                   AZ
10523   1FMCU9J99JUA57774   Ford        ESCAPE               Windsor Locks            CT
10524   1FMCU9JX6GUB69889   Ford        ESCAPE               CHICAGO                  IL
10525   1FMJK1JT0KEA29464   Ford        EXPED                DALLAS                   TX
10526   1FMJK1JT0KEA31019   Ford        EXPED                EL PASO                  TX
10527   1FMJK1JT0KEA31022   Ford        EXPED                RALEIGH, DURHAM          NC
10528   1FMJK1JT0KEA36706   Ford        EXPED                SAN FRANCISCO            CA
10529   1FMJK1JT0KEA36821   Ford        EXPED                SHREVEPORT               LA
10530   1FMJK1JT0KEA36947   Ford        EXPED                RICHMOND (BC)            BC
10531   1FMJK1JT0KEA36950   Ford        EXPED                SEATAC                   WA
10532   1FMJK1JT0KEA36981   Ford        EXPED                PORTLAND                 OR
10533   1FMJK1JT0KEA37063   Ford        EXPED                BURBANK                  CA
10534   1FMJK1JT0KEA37127   Ford        EXPED                Tulsa                    OK
10535   1FMJK1JT0KEA37130   Ford        EXPED                LOS ANGELES              CA
10536   1FMJK1JT0KEA38987   Ford        EXPED                STERLING                 VA
10537   1FMJK1JT0KEA43929   Ford        EXPED                BOSTON                   MA
10538   1FMJK1JT0KEA43932   Ford        EXPED                DENVER                   CO
10539   1FMJK1JT0KEA44014   Ford        EXPED                LOS ANGELES              CA
10540   1FMJK1JT0KEA44076   Ford        EXPED                FRESNO                   CA
10541   1FMJK1JT0KEA49391   Ford        EXPED                BOSTON                   MA
10542   1FMJK1JT0KEA49536   Ford        EXPED                SALT LAKE CITY           UT
10543   1FMJK1JT1KEA29456   Ford        EXPED                Tolleson                 AZ
10544   1FMJK1JT1KEA36715   Ford        EXPED                LOS ANGELES              CA
10545   1FMJK1JT1KEA37069   Ford        EXPED                RONKONKOMA               NY
10546   1FMJK1JT1KEA37184   Ford        EXPED                LAS VEGAS                NV
10547   1FMJK1JT1KEA38979   Ford        EXPED                RICHMOND                 VA
10548   1FMJK1JT1KEA38982   Ford        EXPED                ASTORIA                  NY
10549   1FMJK1JT1KEA39016   Ford        EXPED                NORFOLK                  VA
10550   1FMJK1JT1KEA43955   Ford        EXPED                LOS ANGELES              CA
10551   1FMJK1JT1KEA44068   Ford        EXPED                SAN DIEGO                CA
10552   1FMJK1JT1KEA44071   Ford        EXPED                PHOENIX                  AZ
10553   1FMJK1JT1KEA49397   Ford        EXPED                BOSTON                   MA
10554   1FMJK1JT1KEA49464   Ford        EXPED                ALBANY                   N
10555   1FMJK1JT2KEA29465   Ford        EXPED                LAS VEGAS                NV
10556   1FMJK1JT2KEA36822   Ford        EXPED                Louisville               KY
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10557   1FMJK1JT2KEA36948   Ford         EXPED                PORTLAND                 OR
10558   1FMJK1JT2KEA37114   Ford         EXPED                LOS ANGELES              CA
10559   1FMJK1JT2KEA37145   Ford         EXPED                DES PLAINES              US
10560   1FMJK1JT2KEA37257   Ford         EXPED                Tucson                   AZ
10561   1FMJK1JT2KEA38974   Ford         EXPED                Tolleson                 AZ
10562   1FMJK1JT2KEA38988   Ford         EXPED                JACKSONVILLE             FL
10563   1FMJK1JT2KEA43950   Ford         EXPED                WHITE PLAINS             NY
10564   1FMJK1JT2KEA49487   Ford         EXPED                WARWICK                  RI
10565   1FMJK1JT2KEA49490   Ford         EXPED                SAN DIEGO                CA
10566   1FMJK1JT2KEA49537   Ford         EXPED                GRAND RAPIDS             MI
10567   1FMJK1JT2KEA49540   Ford         EXPED                LOS ANGELES              CA
10568   1FMJK1JT3KEA29457   Ford         EXPED                SANTA ANA                CA
10569   1FMJK1JT3KEA29460   Ford         EXPED                DENVER                   CO
10570   1FMJK1JT3KEA36697   Ford         EXPED                San Diego                CA
10571   1FMJK1JT3KEA37106   Ford         EXPED                LOS ANGELES              CA
10572   1FMJK1JT3KEA37185   Ford         EXPED                SANTA ANA                CA
10573   1FMJK1JT3KEA37235   Ford         EXPED                PHOENIX                  AZ
10574   1FMJK1JT3KEA39020   Ford         EXPED                Tolleson                 AZ
10575   1FMJK1JT3KEA43939   Ford         EXPED                Tolleson                 AZ
10576   1FMJK1JT3KEA44010   Ford         EXPED                ONTARIO                  CA
10577   1FMJK1JT3KEA44055   Ford         EXPED                LOS ANGELES              CA
10578   1FMJK1JT3KEA44069   Ford         EXPED                Tolleson                 AZ
10579   1FMJK1JT3KEA49398   Ford         EXPED                BOSTON                   MA
10580   1FMJK1JT3KEA49417   Ford         EXPED                NEWARK                   NJ
10581   1FMJK1JT3KEA49420   Ford         EXPED                HOUSTON                  TX
10582   1FMJK1JT3KEA49465   Ford         EXPED                PORTLAND                 ME
10583   1FMJK1JT3KEA49515   Ford         EXPED                LAS VEGAS                NV
10584   1FMJK1JT4KEA29466   Ford         EXPED                TULSA                    OK
10585   1FMJK1JT4KEA36711   Ford         EXPED                LAS VEGAS                NV
10586   1FMJK1JT4KEA36983   Ford         EXPED                PITTSBURGH               PA
10587   1FMJK1JT4KEA37258   Ford         EXPED                SAN FRANCISCO            CA
10588   1FMJK1JT4KEA38975   Ford         EXPED                WEST PALM BEACH          FL
10589   1FMJK1JT4KEA43934   Ford         EXPED                LOS ANGELES              CA
10590   1FMJK1JT4KEA43965   Ford         EXPED                BOSTON                   MA
10591   1FMJK1JT4KEA44002   Ford         EXPED                PORTLAND                 OR
10592   1FMJK1JT4KEA44016   Ford         EXPED                Atlanta                  GA
10593   1FMJK1JT4KEA49488   Ford         EXPED                GRAND RAPIDS             MI
10594   1FMJK1JT4KEA49491   Ford         EXPED                FAYETTEVILLE             GA
10595   1FMJK1JT4KEA49538   Ford         EXPED                SEA TAC                  WA
10596   1FMJK1JT5KEA36698   Ford         EXPED                BALTIMORE                MD
10597   1FMJK1JT5KEA36703   Ford         EXPED                SAN FRANCISCO            CA
10598   1FMJK1JT5KEA37110   Ford         EXPED                LOS ANGELES              CA
10599   1FMJK1JT5KEA37172   Ford         EXPED                BUTLER                   PA
10600   1FMJK1JT5KEA37186   Ford         EXPED                LOS ANGELES              CA
10601   1FMJK1JT5KEA37236   Ford         EXPED                BUFFALO                  NY
10602   1FMJK1JT5KEA38967   Ford         EXPED                Los Angeles              CA
10603   1FMJK1JT5KEA38984   Ford         EXPED                BALTIMORE                MD
10604   1FMJK1JT5KEA43926   Ford         EXPED                Tolleson                 AZ
10605   1FMJK1JT5KEA43943   Ford         EXPED                JACKSON                  MS
10606   1FMJK1JT5KEA43957   Ford         EXPED                West Bountiful           UT
10607   1FMJK1JT5KEA44011   Ford         EXPED                Portland                 OR
10608   1FMJK1JT5KEA44073   Ford         EXPED                SOUTH SAN FRANC          CA
10609   1FMJK1JT5KEA49466   Ford         EXPED                BOSTON                   MA
10610   1FMJK1JT5KEA49483   Ford         EXPED                STERLING                 VA
10611   1FMJK1JT5KEA49533   Ford         EXPED                FRESNO                   CA
10612   1FMJK1JT6KEA36385   Ford         EXPED                ANCHORAGE                AK
10613   1FMJK1JT6KEA36709   Ford         EXPED                LAS VEGAS                NV
10614   1FMJK1JT6KEA36984   Ford         EXPED                JAMAICA                  NY
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10615   1FMJK1JT6KEA37116   Ford         EXPED                SACRAMENTO               CA
10616   1FMJK1JT6KEA37133   Ford         EXPED                NEW BERN                 NC
10617   1FMJK1JT6KEA37178   Ford         EXPED                RONKONKOMA               NY
10618   1FMJK1JT6KEA37231   Ford         EXPED                TULSA                    OK
10619   1FMJK1JT6KEA37262   Ford         EXPED                PITTSBURGH               PA
10620   1FMJK1JT6KEA39027   Ford         EXPED                Manheim                  PA
10621   1FMJK1JT6KEA39030   Ford         EXPED                MIAMI                    FL
10622   1FMJK1JT6KEA43966   Ford         EXPED                Tulsa                    OK
10623   1FMJK1JT6KEA49394   Ford         EXPED                MANCHESTER               US
10624   1FMJK1JT6KEA49458   Ford         EXPED                EGG HARBOR TOWN          NJ
10625   1FMJK1JT6KEA49508   Ford         EXPED                OAKLAND                  CA
10626   1FMJK1JT6KEA49539   Ford         EXPED                Atlanta                  GA
10627   1FMJK1JT7KEA29350   Ford         EXPED                Albuquerque              NM
10628   1FMJK1JT7KEA29459   Ford         EXPED                LOS ANGELES              CA
10629   1FMJK1JT7KEA36704   Ford         EXPED                BALTIMORE                MD
10630   1FMJK1JT7KEA36718   Ford         EXPED                BURBANK                  CA
10631   1FMJK1JT7KEA36721   Ford         EXPED                SANTA ANA                CA
10632   1FMJK1JT7KEA36945   Ford         EXPED                LOS ANGELES              CA
10633   1FMJK1JT7KEA37061   Ford         EXPED                Fontana                  CA
10634   1FMJK1JT7KEA37108   Ford         EXPED                SEATAC                   WA
10635   1FMJK1JT7KEA37111   Ford         EXPED                BIRMINGHAM               AL
10636   1FMJK1JT7KEA37125   Ford         EXPED                SANTA ANA                CA
10637   1FMJK1JT7KEA37190   Ford         EXPED                SAN DIEGO                CA
10638   1FMJK1JT7KEA37237   Ford         EXPED                SAN FRANCISCO            CA
10639   1FMJK1JT7KEA37254   Ford         EXPED                FAIRBANKS                AK
10640   1FMJK1JT7KEA38968   Ford         EXPED                ALBUQERQUE               NM
10641   1FMJK1JT7KEA38985   Ford         EXPED                DANIA                    FL
10642   1FMJK1JT7KEA39019   Ford         EXPED                NEWARK                   NJ
10643   1FMJK1JT7KEA43958   Ford         EXPED                Reno                     NV
10644   1FMJK1JT7KEA43961   Ford         EXPED                Riverside                CA
10645   1FMJK1JT7KEA44009   Ford         EXPED                St. Louis                MO
10646   1FMJK1JT7KEA49422   Ford         EXPED                SALT LAKE CITY           UT
10647   1FMJK1JT7KEA49534   Ford         EXPED                DENVER                   CO
10648   1FMJK1JT8KEA29468   Ford         EXPED                Tolleson                 AZ
10649   1FMJK1JT8KEA36386   Ford         EXPED                ANCHORAGE                AK
10650   1FMJK1JT8KEA36713   Ford         EXPED                PORTLAND                 OR
10651   1FMJK1JT8KEA37070   Ford         EXPED                FRESNO                   CA
10652   1FMJK1JT8KEA37117   Ford         EXPED                OAKLAND                  CA
10653   1FMJK1JT8KEA37148   Ford         EXPED                RALEIGH                  NC
10654   1FMJK1JT8KEA37151   Ford         EXPED                JACKSONVILLE             FL
10655   1FMJK1JT8KEA38977   Ford         EXPED                ONTARIO                  CA
10656   1FMJK1JT8KEA38980   Ford         EXPED                STERLING                 VA
10657   1FMJK1JT8KEA39031   Ford         EXPED                OAKLAND                  CA
10658   1FMJK1JT8KEA43936   Ford         EXPED                Bridgeton                MO
10659   1FMJK1JT8KEA43953   Ford         EXPED                SANTA CLARA              CA
10660   1FMJK1JT8KEA44004   Ford         EXPED                OAKLAND                  CA
10661   1FMJK1JT8KEA44066   Ford         EXPED                AUSTIN                   TX
10662   1FMJK1JT8KEA49395   Ford         EXPED                ORLANDO                  FL
10663   1FMJK1JT8KEA49459   Ford         EXPED                PITTSBURGH               PA
10664   1FMJK1JT8KEA49462   Ford         EXPED                BIRMINGHAM               AL
10665   1FMJK1JT8KEA49509   Ford         EXPED                DENVER                   CO
10666   1FMJK1JT8KEA49512   Ford         EXPED                SEATTLE                  WA
10667   1FMJK1JT9KEA29463   Ford         EXPED                OAKLAND                  CA
10668   1FMJK1JT9KEA36686   Ford         EXPED                BOSTON                   MA
10669   1FMJK1JT9KEA37062   Ford         EXPED                Tolleson                 AZ
10670   1FMJK1JT9KEA37174   Ford         EXPED                ATLANTA                  GA
10671   1FMJK1JT9KEA38969   Ford         EXPED                Albuquerque              NM
10672   1FMJK1JT9KEA38972   Ford         EXPED                LAS VEGAS                NV
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10673   1FMJK1JT9KEA39023   Ford         EXPED                SEATAC                   WA
10674   1FMJK1JT9KEA43945   Ford         EXPED                LAS VEGAS                NV
10675   1FMJK1JT9KEA44061   Ford         EXPED                SAN FRANCISCO            CA
10676   1FMJK1JT9KEA44075   Ford         EXPED                Fontana                  CA
10677   1FMJK1JT9KEA49535   Ford         EXPED                Las Vegas                NV
10678   1FMJK1JTXKEA36387   Ford         EXPED                ANCHORAGE                AK
10679   1FMJK1JTXKEA36714   Ford         EXPED                LAS VEGAS                NV
10680   1FMJK1JTXKEA37068   Ford         EXPED                FORT MYERS               FL
10681   1FMJK1JTXKEA37071   Ford         EXPED                BOSTON                   MA
10682   1FMJK1JTXKEA37118   Ford         EXPED                Tolleson                 AZ
10683   1FMJK1JTXKEA37183   Ford         EXPED                Lake Elsinore            CA
10684   1FMJK1JTXKEA38978   Ford         EXPED                Manheim                  PA
10685   1FMJK1JTXKEA38981   Ford         EXPED                SAN ANTONIO              TX
10686   1FMJK1JTXKEA39029   Ford         EXPED                LOS ANGELES              CA
10687   1FMJK1JTXKEA44005   Ford         EXPED                SANTA ANA                CA
10688   1FMJK1JTXKEA44070   Ford         EXPED                BOSTON                   MA
10689   1FMJK1JTXKEA49396   Ford         EXPED                ALBANY                   N
10690   1FMJK1JTXKEA49463   Ford         EXPED                JACKSON                  MS
10691   1FMJK1KT0LEA03589   Ford         EXPED                LAS VEGAS                NV
10692   1FMJK1KT0LEA03592   Ford         EXPED                LAS VEGAS                NV
10693   1FMJK1KT0LEA03608   Ford         EXPED                SAN DIEGO                CA
10694   1FMJK1KT0LEA03611   Ford         EXPED                SALT LAKE CITY           UT
10695   1FMJK1KT0LEA10414   Ford         EXPED                HOUSTON                  TX
10696   1FMJK1KT0LEA10428   Ford         EXPED                NEWARK                   NJ
10697   1FMJK1KT0LEA10431   Ford         EXPED                SHREVEPORT               LA
10698   1FMJK1KT0LEA10445   Ford         EXPED                HOUSTON                  TX
10699   1FMJK1KT0LEA10459   Ford         EXPED                HOUSTON                  TX
10700   1FMJK1KT0LEA10476   Ford         EXPED                LOS ANGELES              CA
10701   1FMJK1KT0LEA10493   Ford         EXPED                SALT LAKE CITY           US
10702   1FMJK1KT0LEA10512   Ford         EXPED                PORTLAND                 OR
10703   1FMJK1KT0LEA10526   Ford         EXPED                SALT LAKE CITY           UT
10704   1FMJK1KT0LEA19307   Ford         EXPED                COLUMBIA                 SC
10705   1FMJK1KT0LEA19310   Ford         EXPED                NEW BERN                 NC
10706   1FMJK1KT0LEA19338   Ford         EXPED                Detroit                  MI
10707   1FMJK1KT0LEA19341   Ford         EXPED                DETROIT                  MI
10708   1FMJK1KT0LEA19355   Ford         EXPED                HOUSTON                  TX
10709   1FMJK1KT0LEA19419   Ford         EXPED                SANTA ANA                CA
10710   1FMJK1KT0LEA19422   Ford         EXPED                Reno                     NV
10711   1FMJK1KT0LEA19453   Ford         EXPED                PHILADELPHIA             PA
10712   1FMJK1KT0LEA19484   Ford         EXPED                PORTLAND                 OR
10713   1FMJK1KT0LEA19498   Ford         EXPED                BEAVERTON                OR
10714   1FMJK1KT0LEA38214   Ford         EXPED                DALLAS                   TX
10715   1FMJK1KT0LEA38259   Ford         EXPED                CLEVELAND                OH
10716   1FMJK1KT0LEA38293   Ford         EXPED                FORT MYERS               FL
10717   1FMJK1KT0LEA38312   Ford         EXPED                FORT LAUDERDALE          FL
10718   1FMJK1KT0LEA38326   Ford         EXPED                WEST PALM BEACH          FL
10719   1FMJK1KT0LEA38343   Ford         EXPED                WEST PALM BEACH          FL
10720   1FMJK1KT0LEA38357   Ford         EXPED                WEST PALM BEACH          FL
10721   1FMJK1KT0LEA38360   Ford         EXPED                WEST PALM BEACH          FL
10722   1FMJK1KT0LEA38374   Ford         EXPED                WEST PALM BEACH          FL
10723   1FMJK1KT0LEA38388   Ford         EXPED                OKLAHOMA CITY            OK
10724   1FMJK1KT0LEA38391   Ford         EXPED                DETROIT                  MI
10725   1FMJK1KT1LEA03584   Ford         EXPED                LAS VEGAS                NV
10726   1FMJK1KT1LEA03598   Ford         EXPED                SEA TAC                  WA
10727   1FMJK1KT1LEA03603   Ford         EXPED                SAN DIEGO                CA
10728   1FMJK1KT1LEA10423   Ford         EXPED                ATLANTA                  GA
10729   1FMJK1KT1LEA10437   Ford         EXPED                DALLAS                   TX
10730   1FMJK1KT1LEA10440   Ford         EXPED                KENNER                   LA
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10731   1FMJK1KT1LEA10454   Ford         EXPED                Atlanta                  GA
10732   1FMJK1KT1LEA10468   Ford         EXPED                OAKLAND                  CA
10733   1FMJK1KT1LEA10471   Ford         EXPED                DENVER                   CO
10734   1FMJK1KT1LEA10485   Ford         EXPED                LOS ANGELES              CA
10735   1FMJK1KT1LEA10499   Ford         EXPED                SALT LAKE CITY           UT
10736   1FMJK1KT1LEA10504   Ford         EXPED                SACRAMENTO               CA
10737   1FMJK1KT1LEA10518   Ford         EXPED                SAN FRANCISCO            CA
10738   1FMJK1KT1LEA10521   Ford         EXPED                SAN DIEGO                CA
10739   1FMJK1KT1LEA19347   Ford         EXPED                DETROIT                  MI
10740   1FMJK1KT1LEA19350   Ford         EXPED                FORT LAUDERDALE          FL
10741   1FMJK1KT1LEA19414   Ford         EXPED                LOS ANGELES              CA
10742   1FMJK1KT1LEA19459   Ford         EXPED                NEWARK                   NJ
10743   1FMJK1KT1LEA19493   Ford         EXPED                SEATAC                   WA
10744   1FMJK1KT1LEA19509   Ford         EXPED                KENNER                   LA
10745   1FMJK1KT1LEA19512   Ford         EXPED                SAN JOSE                 CA
10746   1FMJK1KT1LEA19574   Ford         EXPED                RALEIGH                  NC
10747   1FMJK1KT1LEA19588   Ford         EXPED                BURBANK                  CA
10748   1FMJK1KT1LEA19591   Ford         EXPED                SAN FRANCISCO            CA
10749   1FMJK1KT1LEA19607   Ford         EXPED                ATLANTA                  GA
10750   1FMJK1KT1LEA19610   Ford         EXPED                MIAMI                    FL
10751   1FMJK1KT1LEA38237   Ford         EXPED                KENNER                   LA
10752   1FMJK1KT1LEA38335   Ford         EXPED                LAS VEGAS                NV
10753   1FMJK1KT1LEA38352   Ford         EXPED                CHARLESTON               SC
10754   1FMJK1KT2LEA03593   Ford         EXPED                LAS VEGAS                NV
10755   1FMJK1KT2LEA03609   Ford         EXPED                BURBANK                  CA
10756   1FMJK1KT2LEA03612   Ford         EXPED                SANTA ANA                CA
10757   1FMJK1KT2LEA10415   Ford         EXPED                HOUSTON                  TX
10758   1FMJK1KT2LEA10429   Ford         EXPED                HOUSTON                  TX
10759   1FMJK1KT2LEA10432   Ford         EXPED                DALLAS FORT WORTH AP     TX
10760   1FMJK1KT2LEA10446   Ford         EXPED                HOUSTON                  TX
10761   1FMJK1KT2LEA10463   Ford         EXPED                HOUSTON                  TX
10762   1FMJK1KT2LEA10477   Ford         EXPED                LOS ANGELES              CA
10763   1FMJK1KT2LEA10480   Ford         EXPED                LAS VEGAS                NV
10764   1FMJK1KT2LEA10494   Ford         EXPED                HOUSTON                  TX
10765   1FMJK1KT2LEA10513   Ford         EXPED                SAN DIEGO                CA
10766   1FMJK1KT2LEA10527   Ford         EXPED                KNOXVILLE                TN
10767   1FMJK1KT2LEA10530   Ford         EXPED                PHOENIX                  AZ
10768   1FMJK1KT2LEA19308   Ford         EXPED                CHARLOTTE                NC
10769   1FMJK1KT2LEA19339   Ford         EXPED                DETROIT                  MI
10770   1FMJK1KT2LEA19342   Ford         EXPED                GRAND RAPIDS             MI
10771   1FMJK1KT2LEA19356   Ford         EXPED                GRAND RAPIDS             MI
10772   1FMJK1KT2LEA19423   Ford         EXPED                SAN FRANCISCO            CA
10773   1FMJK1KT2LEA19454   Ford         EXPED                SAINT LOUIS              MO
10774   1FMJK1KT2LEA19499   Ford         EXPED                SEATAC                   WA
10775   1FMJK1KT2LEA19518   Ford         EXPED                ALBUQUERQUE              NM
10776   1FMJK1KT2LEA19521   Ford         EXPED                LOS ANGELES              CA
10777   1FMJK1KT2LEA38215   Ford         EXPED                SAN ANTONIO              TX
10778   1FMJK1KT2LEA38232   Ford         EXPED                Irving                   TX
10779   1FMJK1KT2LEA38263   Ford         EXPED                TAMPA                    FL
10780   1FMJK1KT2LEA38294   Ford         EXPED                FORT MYERS               FL
10781   1FMJK1KT2LEA38313   Ford         EXPED                FORT LAUDERDALE          FL
10782   1FMJK1KT2LEA38327   Ford         EXPED                FORT LAUDERDALE          FL
10783   1FMJK1KT2LEA38330   Ford         EXPED                FORT LAUDERDALE          FL
10784   1FMJK1KT2LEA38358   Ford         EXPED                WEST PALM BEACH          FL
10785   1FMJK1KT2LEA38361   Ford         EXPED                NEWARK                   NJ
10786   1FMJK1KT2LEA38375   Ford         EXPED                WEST PALM BEACH          FL
10787   1FMJK1KT2LEA38389   Ford         EXPED                MIDLAND                  TX
10788   1FMJK1KT3LEA03585   Ford         EXPED                SAN DIEGO                CA
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10789   1FMJK1KT3LEA03599   Ford         EXPED                ATLANTA                  GA
10790   1FMJK1KT3LEA03604   Ford         EXPED                LOS ANGELES              CA
10791   1FMJK1KT3LEA10424   Ford         EXPED                HOUSTON                  TX
10792   1FMJK1KT3LEA10438   Ford         EXPED                HOUSTON                  TX
10793   1FMJK1KT3LEA10441   Ford         EXPED                GRAND RAPIDS             MI
10794   1FMJK1KT3LEA10455   Ford         EXPED                HOUSTON                  TX
10795   1FMJK1KT3LEA10469   Ford         EXPED                SAN FRANCISCO            CA
10796   1FMJK1KT3LEA10472   Ford         EXPED                OAKLAND                  CA
10797   1FMJK1KT3LEA10486   Ford         EXPED                CHICAGO                  IL
10798   1FMJK1KT3LEA10505   Ford         EXPED                LOS ANGELES              CA
10799   1FMJK1KT3LEA10519   Ford         EXPED                ONTARIO                  CA
10800   1FMJK1KT3LEA10522   Ford         EXPED                GYPSUM                   CO
10801   1FMJK1KT3LEA19348   Ford         EXPED                DES MOINES               IA
10802   1FMJK1KT3LEA19351   Ford         EXPED                BOSTON                   MA
10803   1FMJK1KT3LEA19365   Ford         EXPED                CHICAGO                  IL
10804   1FMJK1KT3LEA19415   Ford         EXPED                LOS ANGELES              CA
10805   1FMJK1KT3LEA19513   Ford         EXPED                SANTA ANA                CA
10806   1FMJK1KT3LEA19575   Ford         EXPED                Reno                     NV
10807   1FMJK1KT3LEA19589   Ford         EXPED                PORTLAND                 OR
10808   1FMJK1KT3LEA19592   Ford         EXPED                INGLEWOOD                CA
10809   1FMJK1KT3LEA19608   Ford         EXPED                NORFOLK                  VA
10810   1FMJK1KT3LEA38238   Ford         EXPED                KENNER                   LA
10811   1FMJK1KT3LEA38319   Ford         EXPED                MIAMI                    FL
10812   1FMJK1KT3LEA38322   Ford         EXPED                MIAMI                    FL
10813   1FMJK1KT3LEA38336   Ford         EXPED                FORT LAUDERDALE          FL
10814   1FMJK1KT3LEA38367   Ford         EXPED                WEST PALM BEACH          FL
10815   1FMJK1KT3LEA38370   Ford         EXPED                WEST PALM BEACH          FL
10816   1FMJK1KT4LEA03594   Ford         EXPED                DENVER                   CO
10817   1FMJK1KT4LEA03613   Ford         EXPED                FRESNO                   CA
10818   1FMJK1KT4LEA10416   Ford         EXPED                MARY ESTHER              FL
10819   1FMJK1KT4LEA10433   Ford         EXPED                HOUSTON                  TX
10820   1FMJK1KT4LEA10447   Ford         EXPED                HOUSTON                  TX
10821   1FMJK1KT4LEA10450   Ford         EXPED                DALLAS                   TX
10822   1FMJK1KT4LEA10464   Ford         EXPED                HOUSTON                  TX
10823   1FMJK1KT4LEA10478   Ford         EXPED                LAS VEGAS                NV
10824   1FMJK1KT4LEA10481   Ford         EXPED                BURBANK                  CA
10825   1FMJK1KT4LEA10495   Ford         EXPED                Lake Elsinore            CA
10826   1FMJK1KT4LEA10514   Ford         EXPED                PALM SPRINGS             CA
10827   1FMJK1KT4LEA10528   Ford         EXPED                LOS ANGELES              CA
10828   1FMJK1KT4LEA10531   Ford         EXPED                SAINT PAUL               MN
10829   1FMJK1KT4LEA19309   Ford         EXPED                SAN ANTONIO              TX
10830   1FMJK1KT4LEA19312   Ford         EXPED                RALEIGH                  NC
10831   1FMJK1KT4LEA19343   Ford         EXPED                GRAND RAPIDS             MI
10832   1FMJK1KT4LEA19357   Ford         EXPED                CLEVELAND                OH
10833   1FMJK1KT4LEA19360   Ford         EXPED                PITTSBURGH               PA
10834   1FMJK1KT4LEA19410   Ford         EXPED                BURBANK                  CA
10835   1FMJK1KT4LEA19424   Ford         EXPED                LOUISVILLE               KY
10836   1FMJK1KT4LEA19455   Ford         EXPED                Teterboro                NJ
10837   1FMJK1KT4LEA19486   Ford         EXPED                SAINT PAUL               MN
10838   1FMJK1KT4LEA19505   Ford         EXPED                SAN JOSE                 CA
10839   1FMJK1KT4LEA19519   Ford         EXPED                SANTA ANA                CA
10840   1FMJK1KT4LEA19522   Ford         EXPED                RENO                     NV
10841   1FMJK1KT4LEA19570   Ford         EXPED                LAS VEGAS                NV
10842   1FMJK1KT4LEA19603   Ford         EXPED                NEW BERN                 NC
10843   1FMJK1KT4LEA38216   Ford         EXPED                EL PASO                  TX
10844   1FMJK1KT4LEA38247   Ford         EXPED                DES MOINES               IA
10845   1FMJK1KT4LEA38264   Ford         EXPED                SARASOTA                 FL
10846   1FMJK1KT4LEA38281   Ford         EXPED                FORT MYERS               FL
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10847   1FMJK1KT4LEA38314   Ford         EXPED                Hialeah                  FL
10848   1FMJK1KT4LEA38331   Ford         EXPED                FORT LAUDERDALE          FL
10849   1FMJK1KT4LEA38345   Ford         EXPED                FORT LAUDERDALE          FL
10850   1FMJK1KT4LEA38359   Ford         EXPED                WEST PALM BEACH          FL
10851   1FMJK1KT4LEA38362   Ford         EXPED                WEST PALM BEACH          FL
10852   1FMJK1KT4LEA38376   Ford         EXPED                ORLANDO                  FL
10853   1FMJK1KT4LEA38393   Ford         EXPED                WESLACO                  TX
10854   1FMJK1KT5LEA03586   Ford         EXPED                LAS VEGAS                NV
10855   1FMJK1KT5LEA03605   Ford         EXPED                SACRAMENTO               CA
10856   1FMJK1KT5LEA10425   Ford         EXPED                AUSTIN                   TX
10857   1FMJK1KT5LEA10442   Ford         EXPED                HOUSTON                  TX
10858   1FMJK1KT5LEA10456   Ford         EXPED                DFW AIRPORT              TX
10859   1FMJK1KT5LEA10473   Ford         EXPED                BURLINGAME               CA
10860   1FMJK1KT5LEA10487   Ford         EXPED                SAN DIEGO                CA
10861   1FMJK1KT5LEA10490   Ford         EXPED                SACRAMENTO               CA
10862   1FMJK1KT5LEA10506   Ford         EXPED                LAS VEGAS                NV
10863   1FMJK1KT5LEA10523   Ford         EXPED                DETROIT                  MI
10864   1FMJK1KT5LEA19349   Ford         EXPED                GRAND RAPIDS             MI
10865   1FMJK1KT5LEA19352   Ford         EXPED                GRAND RAPIDS             MI
10866   1FMJK1KT5LEA19366   Ford         EXPED                ATLANTA                  GA
10867   1FMJK1KT5LEA19416   Ford         EXPED                DENVER                   CO
10868   1FMJK1KT5LEA19450   Ford         EXPED                NEW YORK CITY            NY
10869   1FMJK1KT5LEA19478   Ford         EXPED                Atlanta                  GA
10870   1FMJK1KT5LEA19481   Ford         EXPED                SAN DIEGO                CA
10871   1FMJK1KT5LEA19495   Ford         EXPED                MIDLAND                  TX
10872   1FMJK1KT5LEA19514   Ford         EXPED                LAS VEGAS                NV
10873   1FMJK1KT5LEA19576   Ford         EXPED                SALT LAKE CITY           US
10874   1FMJK1KT5LEA19593   Ford         EXPED                LOS ANGELES              CA
10875   1FMJK1KT5LEA19609   Ford         EXPED                RALEIGH                  NC
10876   1FMJK1KT5LEA38256   Ford         EXPED                TAMPA                    US
10877   1FMJK1KT5LEA38290   Ford         EXPED                ORLANDO                  FL
10878   1FMJK1KT5LEA38306   Ford         EXPED                MIAMI                    FL
10879   1FMJK1KT5LEA38323   Ford         EXPED                FORT LAUDERDALE          FL
10880   1FMJK1KT5LEA38340   Ford         EXPED                SOUTH BEND               IN
10881   1FMJK1KT5LEA38354   Ford         EXPED                INDIANAPOLIS             IN
10882   1FMJK1KT5LEA38368   Ford         EXPED                WEST PALM BEACH          FL
10883   1FMJK1KT6LEA03595   Ford         EXPED                AMARILLO                 US
10884   1FMJK1KT6LEA03614   Ford         EXPED                PORTLAND                 OR
10885   1FMJK1KT6LEA10417   Ford         EXPED                HOUSTON                  TX
10886   1FMJK1KT6LEA10420   Ford         EXPED                DENVER                   CO
10887   1FMJK1KT6LEA10434   Ford         EXPED                HOUSTON                  TX
10888   1FMJK1KT6LEA10448   Ford         EXPED                KENNER                   LA
10889   1FMJK1KT6LEA10465   Ford         EXPED                DALLAS                   TX
10890   1FMJK1KT6LEA10479   Ford         EXPED                LOS ANGELES              CA
10891   1FMJK1KT6LEA10482   Ford         EXPED                SAN JOSE                 CA
10892   1FMJK1KT6LEA10496   Ford         EXPED                LAS VEGAS                NV
10893   1FMJK1KT6LEA10501   Ford         EXPED                SALT LAKE CITY           UT
10894   1FMJK1KT6LEA10515   Ford         EXPED                Los Angeles              CA
10895   1FMJK1KT6LEA10529   Ford         EXPED                BURBANK                  CA
10896   1FMJK1KT6LEA19344   Ford         EXPED                DETROIT                  MI
10897   1FMJK1KT6LEA19358   Ford         EXPED                NEWARK                   NJ
10898   1FMJK1KT6LEA19361   Ford         EXPED                CHICAGO                  IL
10899   1FMJK1KT6LEA19408   Ford         EXPED                Lake Elsinore            CA
10900   1FMJK1KT6LEA19411   Ford         EXPED                WEST PALM BEACH          FL
10901   1FMJK1KT6LEA19425   Ford         EXPED                SANTA ANA                CA
10902   1FMJK1KT6LEA19456   Ford         EXPED                SAVANNAH                 GA
10903   1FMJK1KT6LEA19506   Ford         EXPED                SANTA ANA                CA
10904   1FMJK1KT6LEA19523   Ford         EXPED                MONTEREY                 CA
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10905   1FMJK1KT6LEA19537   Ford         EXPED                SPOKANE                  WA
10906   1FMJK1KT6LEA19540   Ford         EXPED                SACRAMENTO               CA
10907   1FMJK1KT6LEA19568   Ford         EXPED                SAN JOSE                 CA
10908   1FMJK1KT6LEA19571   Ford         EXPED                PALM SPRINGS             CA
10909   1FMJK1KT6LEA19604   Ford         EXPED                RONKONKOMA               NY
10910   1FMJK1KT6LEA38234   Ford         EXPED                DALLAS                   TX
10911   1FMJK1KT6LEA38248   Ford         EXPED                TAMPA                    FL
10912   1FMJK1KT6LEA38251   Ford         EXPED                WEST COLUMBIA            SC
10913   1FMJK1KT6LEA38315   Ford         EXPED                Miami                    FL
10914   1FMJK1KT6LEA38332   Ford         EXPED                TAMPA                    FL
10915   1FMJK1KT6LEA38363   Ford         EXPED                FORT LAUDERDALE          FL
10916   1FMJK1KT6LEA38380   Ford         EXPED                WEST PALM BEACH          FL
10917   1FMJK1KT7LEA03587   Ford         EXPED                LAS VEGAS                NV
10918   1FMJK1KT7LEA03590   Ford         EXPED                LOS ANGELES AP           CA
10919   1FMJK1KT7LEA03606   Ford         EXPED                LOS ANGELES              CA
10920   1FMJK1KT7LEA10412   Ford         EXPED                HOUSTON                  TX
10921   1FMJK1KT7LEA10426   Ford         EXPED                PORTLAND                 OR
10922   1FMJK1KT7LEA10443   Ford         EXPED                HOUSTON                  TX
10923   1FMJK1KT7LEA10457   Ford         EXPED                HOUSTON                  TX
10924   1FMJK1KT7LEA10460   Ford         EXPED                DALLAS                   TX
10925   1FMJK1KT7LEA10474   Ford         EXPED                LOS ANGELES              CA
10926   1FMJK1KT7LEA10488   Ford         EXPED                SAN FRANCISCO            CA
10927   1FMJK1KT7LEA10491   Ford         EXPED                PHOENIX                  AZ
10928   1FMJK1KT7LEA10507   Ford         EXPED                KANSAS CITY              MO
10929   1FMJK1KT7LEA10510   Ford         EXPED                LOS ANGELES              CA
10930   1FMJK1KT7LEA10524   Ford         EXPED                LOS ANGELES              CA
10931   1FMJK1KT7LEA19336   Ford         EXPED                DETROIT                  MI
10932   1FMJK1KT7LEA19353   Ford         EXPED                DETROIT                  MI
10933   1FMJK1KT7LEA19417   Ford         EXPED                PHOENIX                  AZ
10934   1FMJK1KT7LEA19420   Ford         EXPED                LOS ANGELES              CA
10935   1FMJK1KT7LEA19448   Ford         EXPED                PHILADELPHIA             PA
10936   1FMJK1KT7LEA19451   Ford         EXPED                JAMAICA                  NY
10937   1FMJK1KT7LEA19479   Ford         EXPED                SEATAC                   WA
10938   1FMJK1KT7LEA19496   Ford         EXPED                PORTLAND                 OR
10939   1FMJK1KT7LEA19515   Ford         EXPED                OAKLAND                  CA
10940   1FMJK1KT7LEA19594   Ford         EXPED                HAGERSTOWN               MD
10941   1FMJK1KT7LEA38226   Ford         EXPED                Irving                   TX
10942   1FMJK1KT7LEA38257   Ford         EXPED                FORT LAUDERDALE          FL
10943   1FMJK1KT7LEA38260   Ford         EXPED                CLEVELAND                OH
10944   1FMJK1KT7LEA38291   Ford         EXPED                FORT MYERS               FL
10945   1FMJK1KT7LEA38310   Ford         EXPED                DANIA BEACH              FL
10946   1FMJK1KT7LEA38324   Ford         EXPED                HOUSTON                  TX
10947   1FMJK1KT7LEA38338   Ford         EXPED                WEST PALM BEACH          FL
10948   1FMJK1KT7LEA38355   Ford         EXPED                WEST PALM BEACH          FL
10949   1FMJK1KT7LEA38369   Ford         EXPED                WEST PALM BEACH          FL
10950   1FMJK1KT7LEA38372   Ford         EXPED                WEST PALM BEACH          FL
10951   1FMJK1KT8LEA03582   Ford         EXPED                PHOENIX                  AZ
10952   1FMJK1KT8LEA03596   Ford         EXPED                LAS VEGAS                NV
10953   1FMJK1KT8LEA03601   Ford         EXPED                LAS VEGAS                NV
10954   1FMJK1KT8LEA03615   Ford         EXPED                SAN DIEGO                CA
10955   1FMJK1KT8LEA10418   Ford         EXPED                HOUSTON                  TX
10956   1FMJK1KT8LEA10421   Ford         EXPED                HOUSTON                  TX
10957   1FMJK1KT8LEA10435   Ford         EXPED                HOUSTON                  TX
10958   1FMJK1KT8LEA10449   Ford         EXPED                HOUSTON                  TX
10959   1FMJK1KT8LEA10466   Ford         EXPED                NASHVILLE                TN
10960   1FMJK1KT8LEA10483   Ford         EXPED                SANTA ANA                CA
10961   1FMJK1KT8LEA10497   Ford         EXPED                SAN FRANCISCO            CA
10962   1FMJK1KT8LEA10502   Ford         EXPED                LOS ANGELES              CA
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10963   1FMJK1KT8LEA10516   Ford         EXPED                DALLAS                   TX
10964   1FMJK1KT8LEA19314   Ford         EXPED                CHARLOTTE                NC
10965   1FMJK1KT8LEA19345   Ford         EXPED                DES MOINES               IA
10966   1FMJK1KT8LEA19359   Ford         EXPED                CLEVELAND                OH
10967   1FMJK1KT8LEA19409   Ford         EXPED                SAN FRANCISCO            CA
10968   1FMJK1KT8LEA19412   Ford         EXPED                SACRAMENTO               CA
10969   1FMJK1KT8LEA19426   Ford         EXPED                LOS ANGELES              CA
10970   1FMJK1KT8LEA19457   Ford         EXPED                NEW YORK CITY            NY
10971   1FMJK1KT8LEA19507   Ford         EXPED                LOS ANGELES              CA
10972   1FMJK1KT8LEA19510   Ford         EXPED                LAS VEGAS                NV
10973   1FMJK1KT8LEA19572   Ford         EXPED                LAS VEGAS                NV
10974   1FMJK1KT8LEA19605   Ford         EXPED                WILMINGTON               NC
10975   1FMJK1KT8LEA38221   Ford         EXPED                DALLAS                   TX
10976   1FMJK1KT8LEA38249   Ford         EXPED                OMAHA                    NE
10977   1FMJK1KT8LEA38252   Ford         EXPED                TAMPA                    FL
10978   1FMJK1KT8LEA38283   Ford         EXPED                FORT MYERS               FL
10979   1FMJK1KT8LEA38333   Ford         EXPED                MIAMI                    FL
10980   1FMJK1KT8LEA38347   Ford         EXPED                WEST PALM BEACH          FL
10981   1FMJK1KT8LEA38350   Ford         EXPED                WEST PALM BEACH          FL
10982   1FMJK1KT8LEA38364   Ford         EXPED                WEST PALM BEACH          FL
10983   1FMJK1KT8LEA38378   Ford         EXPED                WEST PALM BEACH          FL
10984   1FMJK1KT8LEA42270   Ford         EXPED                DALLAS                   TX
10985   1FMJK1KT9LEA03588   Ford         EXPED                LAS VEGAS                NV
10986   1FMJK1KT9LEA03607   Ford         EXPED                PHOENIX                  AZ
10987   1FMJK1KT9LEA03610   Ford         EXPED                MILWAUKEE                WI
10988   1FMJK1KT9LEA10413   Ford         EXPED                HOUSTON                  TX
10989   1FMJK1KT9LEA10427   Ford         EXPED                HOUSTON                  TX
10990   1FMJK1KT9LEA10430   Ford         EXPED                JACKSONVILLE             FL
10991   1FMJK1KT9LEA10444   Ford         EXPED                CORPUS CHRISTI           TX
10992   1FMJK1KT9LEA10458   Ford         EXPED                SAN ANTONIO              TX
10993   1FMJK1KT9LEA10461   Ford         EXPED                HOUSTON                  TX
10994   1FMJK1KT9LEA10489   Ford         EXPED                SAN DIEGO                CA
10995   1FMJK1KT9LEA10492   Ford         EXPED                LAS VEGAS                NV
10996   1FMJK1KT9LEA10508   Ford         EXPED                PALM SPRINGS             CA
10997   1FMJK1KT9LEA10511   Ford         EXPED                NEWARK                   NJ
10998   1FMJK1KT9LEA19306   Ford         EXPED                CHARLOTTE                NC
10999   1FMJK1KT9LEA19337   Ford         EXPED                DETROIT                  MI
11000   1FMJK1KT9LEA19340   Ford         EXPED                DETROIT                  MI
11001   1FMJK1KT9LEA19354   Ford         EXPED                GRAND RAPIDS             MI
11002   1FMJK1KT9LEA19418   Ford         EXPED                SAN DIEGO                CA
11003   1FMJK1KT9LEA19421   Ford         EXPED                LOS ANGELES              CA
11004   1FMJK1KT9LEA19452   Ford         EXPED                PHILADELPHIA             PA
11005   1FMJK1KT9LEA19516   Ford         EXPED                OAKLAND                  CA
11006   1FMJK1KT9LEA19595   Ford         EXPED                PORTLAND                 OR
11007   1FMJK1KT9LEA38227   Ford         EXPED                DALLAS                   TX
11008   1FMJK1KT9LEA38258   Ford         EXPED                NEW BERN                 NC
11009   1FMJK1KT9LEA38289   Ford         EXPED                FORT MYERS               FL
11010   1FMJK1KT9LEA38308   Ford         EXPED                FORT LAUDERDALE          FL
11011   1FMJK1KT9LEA38311   Ford         EXPED                FORT LAUDERDALE          FL
11012   1FMJK1KT9LEA38325   Ford         EXPED                JAMAICA                  NY
11013   1FMJK1KT9LEA38342   Ford         EXPED                WEST PALM BEACH          FL
11014   1FMJK1KT9LEA38356   Ford         EXPED                TAMPA                    FL
11015   1FMJK1KTXLEA03583   Ford         EXPED                CHARLESTON               SC
11016   1FMJK1KTXLEA03597   Ford         EXPED                PORTLAND                 OR
11017   1FMJK1KTXLEA03602   Ford         EXPED                LOS ANGELES              CA
11018   1FMJK1KTXLEA03616   Ford         EXPED                DENVER                   CO
11019   1FMJK1KTXLEA10419   Ford         EXPED                Hebron                   KY
11020   1FMJK1KTXLEA10422   Ford         EXPED                HOUSTON                  TX
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11021   1FMJK1KTXLEA10436   Ford         EXPED                HOUSTON                  TX
11022   1FMJK1KTXLEA10467   Ford         EXPED                SAN DIEGO                CA
11023   1FMJK1KTXLEA10470   Ford         EXPED                SALT LAKE CITY           US
11024   1FMJK1KTXLEA10484   Ford         EXPED                SANTA ANA                CA
11025   1FMJK1KTXLEA10498   Ford         EXPED                LAS VEGAS                NV
11026   1FMJK1KTXLEA10503   Ford         EXPED                LOS ANGELES              CA
11027   1FMJK1KTXLEA10517   Ford         EXPED                NEWPORT BEACH            CA
11028   1FMJK1KTXLEA10520   Ford         EXPED                SANTA ANA                CA
11029   1FMJK1KTXLEA19315   Ford         EXPED                PENSACOLA                FL
11030   1FMJK1KTXLEA19346   Ford         EXPED                DETROIT                  MI
11031   1FMJK1KTXLEA19363   Ford         EXPED                CLEVELAND                OH
11032   1FMJK1KTXLEA19413   Ford         EXPED                PALM SPRINGS             CA
11033   1FMJK1KTXLEA19458   Ford         EXPED                Teterboro                NJ
11034   1FMJK1KTXLEA19461   Ford         EXPED                GRAND RAPIDS             MI
11035   1FMJK1KTXLEA19508   Ford         EXPED                SHREVEPORT               LA
11036   1FMJK1KTXLEA19573   Ford         EXPED                VALLEJO                  CA
11037   1FMJK1KTXLEA19590   Ford         EXPED                LOS ANGELES              CA
11038   1FMJK1KTXLEA19606   Ford         EXPED                SARASOTA                 FL
11039   1FMJK1KTXLEA38219   Ford         EXPED                DALLAS                   TX
11040   1FMJK1KTXLEA38236   Ford         EXPED                DALLAS                   TX
11041   1FMJK1KTXLEA38253   Ford         EXPED                ROCHESTER                NY
11042   1FMJK1KTXLEA38284   Ford         EXPED                FORT MYERS               FL
11043   1FMJK1KTXLEA38334   Ford         EXPED                DANIA BEACH              FL
11044   1FMJK1KTXLEA38365   Ford         EXPED                KANSAS CITY              MO
11045   1FMJK1KTXLEA38382   Ford         EXPED                WEST PALM BEACH          FL
11046   1FMJK2AT0LEA03518   Ford         EXPED                INDIANAPOLIS             IN
11047   1FMJK2AT0LEA03521   Ford         EXPED                GYPSUM                   CO
11048   1FMJK2AT0LEA03549   Ford         EXPED                DENVER                   CO
11049   1FMJK2AT0LEA03633   Ford         EXPED                SALT LAKE CITY           UT
11050   1FMJK2AT0LEA10405   Ford         EXPED                DENVER                   CO
11051   1FMJK2AT0LEA19301   Ford         EXPED                BOSTON                   MA
11052   1FMJK2AT0LEA19329   Ford         EXPED                CHARLOTTE                NC
11053   1FMJK2AT0LEA19332   Ford         EXPED                KNOXVILLE                TN
11054   1FMJK2AT0LEA19377   Ford         EXPED                DETROIT                  MI
11055   1FMJK2AT0LEA19380   Ford         EXPED                ATLANTA                  GA
11056   1FMJK2AT0LEA19394   Ford         EXPED                FAYETTEVILLE             GA
11057   1FMJK2AT0LEA19430   Ford         EXPED                DENVER                   CO
11058   1FMJK2AT0LEA19444   Ford         EXPED                ORLANDO                  FL
11059   1FMJK2AT0LEA19475   Ford         EXPED                TAMPA                    FL
11060   1FMJK2AT0LEA19525   Ford         EXPED                SANTA BARBARA            CA
11061   1FMJK2AT0LEA19623   Ford         EXPED                WHITE PLAINS             NY
11062   1FMJK2AT0LEA38267   Ford         EXPED                JACKSONVILLE             FL
11063   1FMJK2AT0LEA38298   Ford         EXPED                FORT MYERS               FL
11064   1FMJK2AT0LEA38303   Ford         EXPED                FORT MYERS               FL
11065   1FMJK2AT1LEA03530   Ford         EXPED                GYPSUM                   CO
11066   1FMJK2AT1LEA03544   Ford         EXPED                DENVER                   CO
11067   1FMJK2AT1LEA03558   Ford         EXPED                DENVER                   CO
11068   1FMJK2AT1LEA03575   Ford         EXPED                TULSA                    OK
11069   1FMJK2AT1LEA03625   Ford         EXPED                OAKLAND                  CA
11070   1FMJK2AT1LEA10395   Ford         EXPED                SPOKANE                  WA
11071   1FMJK2AT1LEA10400   Ford         EXPED                DENVER                   CO
11072   1FMJK2AT1LEA19324   Ford         EXPED                SAVANNAH                 GA
11073   1FMJK2AT1LEA19369   Ford         EXPED                DETROIT                  MI
11074   1FMJK2AT1LEA19372   Ford         EXPED                DETROIT                  MI
11075   1FMJK2AT1LEA19386   Ford         EXPED                GRAND RAPIDS             MI
11076   1FMJK2AT1LEA19436   Ford         EXPED                LOS ANGELES              CA
11077   1FMJK2AT1LEA19467   Ford         EXPED                CLEVELAND                OH
11078   1FMJK2AT1LEA19470   Ford         EXPED                BUFFALO                  NY
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11079   1FMJK2AT1LEA19579   Ford         EXPED                SAN JOSE                 CA
11080   1FMJK2AT1LEA19596   Ford         EXPED                FRESNO                   CA
11081   1FMJK2AT1LEA38276   Ford         EXPED                ORLANDO                  FL
11082   1FMJK2AT2LEA03567   Ford         EXPED                DENVER                   CO
11083   1FMJK2AT2LEA03570   Ford         EXPED                DENVER                   CO
11084   1FMJK2AT2LEA03620   Ford         EXPED                SALT LAKE CITY           UT
11085   1FMJK2AT2LEA03634   Ford         EXPED                AUSTIN                   TX
11086   1FMJK2AT2LEA10390   Ford         EXPED                SANTA FE                 NM
11087   1FMJK2AT2LEA19297   Ford         EXPED                PROVIDENCE               RI
11088   1FMJK2AT2LEA19316   Ford         EXPED                PITTSBURGH               PA
11089   1FMJK2AT2LEA19333   Ford         EXPED                CHARLOTTE                NC
11090   1FMJK2AT2LEA19378   Ford         EXPED                KNOXVILLE                TN
11091   1FMJK2AT2LEA19381   Ford         EXPED                SEATAC                   WA
11092   1FMJK2AT2LEA19428   Ford         EXPED                LAS VEGAS                NV
11093   1FMJK2AT2LEA19431   Ford         EXPED                LOS ANGELES              CA
11094   1FMJK2AT2LEA19445   Ford         EXPED                ORLANDO                  FL
11095   1FMJK2AT2LEA19476   Ford         EXPED                KNOXVILLE                TN
11096   1FMJK2AT2LEA19526   Ford         EXPED                SANTA ANA                CA
11097   1FMJK2AT2LEA19624   Ford         EXPED                INDIANAPOLIS             IN
11098   1FMJK2AT2LEA38240   Ford         EXPED                KENNER                   LA
11099   1FMJK2AT2LEA38268   Ford         EXPED                ORLANDO                  FL
11100   1FMJK2AT2LEA38271   Ford         EXPED                ORLANDO                  FL
11101   1FMJK2AT3LEA03528   Ford         EXPED                GYPSUM                   CO
11102   1FMJK2AT3LEA03531   Ford         EXPED                BOSTON                   MA
11103   1FMJK2AT3LEA03545   Ford         EXPED                Dallas                   TX
11104   1FMJK2AT3LEA03626   Ford         EXPED                SAINT LOUIS              MO
11105   1FMJK2AT3LEA10401   Ford         EXPED                DENVER                   CO
11106   1FMJK2AT3LEA19325   Ford         EXPED                STERLING                 VA
11107   1FMJK2AT3LEA19373   Ford         EXPED                DETROIT                  MI
11108   1FMJK2AT3LEA19387   Ford         EXPED                DETROIT                  MI
11109   1FMJK2AT3LEA19390   Ford         EXPED                BOSTON                   MA
11110   1FMJK2AT3LEA19437   Ford         EXPED                LITTLE ROCK              AR
11111   1FMJK2AT3LEA19440   Ford         EXPED                WHITE PLAINS             NY
11112   1FMJK2AT3LEA19468   Ford         EXPED                PHILADELPHIA             PA
11113   1FMJK2AT3LEA19471   Ford         EXPED                PHILADELPHIA             PA
11114   1FMJK2AT3LEA19549   Ford         EXPED                LAS VEGAS                NV
11115   1FMJK2AT3LEA19597   Ford         EXPED                LOS ANGELES              CA
11116   1FMJK2AT3LEA19616   Ford         EXPED                Atlanta                  GA
11117   1FMJK2AT3LEA38277   Ford         EXPED                SHREVEPORT               LA
11118   1FMJK2AT3LEA38280   Ford         EXPED                Atlanta                  GA
11119   1FMJK2AT4LEA03554   Ford         EXPED                SANTA ANA                CA
11120   1FMJK2AT4LEA03618   Ford         EXPED                GYPSUM                   CO
11121   1FMJK2AT4LEA03621   Ford         EXPED                SEATAC                   WA
11122   1FMJK2AT4LEA03635   Ford         EXPED                SALT LAKE CITY           UT
11123   1FMJK2AT4LEA10391   Ford         EXPED                DENVER                   CO
11124   1FMJK2AT4LEA10407   Ford         EXPED                GYPSUM                   CO
11125   1FMJK2AT4LEA19298   Ford         EXPED                SARASOTA                 FL
11126   1FMJK2AT4LEA19303   Ford         EXPED                CHICAGO                  IL
11127   1FMJK2AT4LEA19320   Ford         EXPED                CHARLOTTE                NC
11128   1FMJK2AT4LEA19334   Ford         EXPED                RALEIGH                  NC
11129   1FMJK2AT4LEA19379   Ford         EXPED                DETROIT                  MI
11130   1FMJK2AT4LEA19382   Ford         EXPED                GRAND RAPIDS             MI
11131   1FMJK2AT4LEA19429   Ford         EXPED                SAN FRANCISCO            CA
11132   1FMJK2AT4LEA19432   Ford         EXPED                PALM SPRINGS             CA
11133   1FMJK2AT4LEA19446   Ford         EXPED                KANSAS CITY              MO
11134   1FMJK2AT4LEA19477   Ford         EXPED                PHILADELPHIA             PA
11135   1FMJK2AT4LEA19527   Ford         EXPED                OAKLAND                  CA
11136   1FMJK2AT4LEA19530   Ford         EXPED                NEWPORT BEACH            CA
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11137   1FMJK2AT4LEA19611   Ford        EXPED                NEW BERN                 NC
11138   1FMJK2AT4LEA19625   Ford        EXPED                BOSTON                   MA
11139   1FMJK2AT4LEA38241   Ford        EXPED                SOUTHEAST                LA
11140   1FMJK2AT4LEA38269   Ford        EXPED                ORLANDO                  FL
11141   1FMJK2AT5HEA73703   Ford        EXPED                Denver                   CO
11142   1FMJK2AT5LEA03546   Ford        EXPED                GYPSUM                   CO
11143   1FMJK2AT5LEA03563   Ford        EXPED                SALT LAKE CITY           US
11144   1FMJK2AT5LEA03580   Ford        EXPED                CLEVELAND                OH
11145   1FMJK2AT5LEA03627   Ford        EXPED                SALT LAKE CITY           UT
11146   1FMJK2AT5LEA03630   Ford        EXPED                SALT LAKE CITY           UT
11147   1FMJK2AT5LEA10397   Ford        EXPED                FORT MYERS               FL
11148   1FMJK2AT5LEA19326   Ford        EXPED                WEST COLUMBIA            SC
11149   1FMJK2AT5LEA19374   Ford        EXPED                DETROIT                  MI
11150   1FMJK2AT5LEA19388   Ford        EXPED                DETROIT                  MI
11151   1FMJK2AT5LEA19391   Ford        EXPED                GRAND RAPIDS             MI
11152   1FMJK2AT5LEA19438   Ford        EXPED                NEWARK                   NJ
11153   1FMJK2AT5LEA19441   Ford        EXPED                SALT LAKE CITY           UT
11154   1FMJK2AT5LEA19469   Ford        EXPED                HAILEY SUN VALLEY        ID
11155   1FMJK2AT5LEA19472   Ford        EXPED                PITTSBURGH               PA
11156   1FMJK2AT5LEA19598   Ford        EXPED                FRESNO                   CA
11157   1FMJK2AT5LEA19617   Ford        EXPED                HANOVER                  MD
11158   1FMJK2AT5LEA19620   Ford        EXPED                PENSACOLA                FL
11159   1FMJK2AT5LEA38278   Ford        EXPED                BIRMINGHAM               AL
11160   1FMJK2AT5LEA38295   Ford        EXPED                BOSTON                   MA
11161   1FMJK2AT6LEA03541   Ford        EXPED                DENVER                   CO
11162   1FMJK2AT6LEA03619   Ford        EXPED                Phoenix                  AZ
11163   1FMJK2AT6LEA03622   Ford        EXPED                LOS ANGELES              CA
11164   1FMJK2AT6LEA03636   Ford        EXPED                SALT LAKE CITY           US
11165   1FMJK2AT6LEA10392   Ford        EXPED                DENVER                   CO
11166   1FMJK2AT6LEA10408   Ford        EXPED                OAKLAND                  CA
11167   1FMJK2AT6LEA19299   Ford        EXPED                WARWICK                  RI
11168   1FMJK2AT6LEA19304   Ford        EXPED                North Dighton            MA
11169   1FMJK2AT6LEA19318   Ford        EXPED                CHARLOTTE                NC
11170   1FMJK2AT6LEA19321   Ford        EXPED                SAVANNAH                 GA
11171   1FMJK2AT6LEA19383   Ford        EXPED                GRAND RAPIDS             MI
11172   1FMJK2AT6LEA19433   Ford        EXPED                LOS ANGELES              CA
11173   1FMJK2AT6LEA19447   Ford        EXPED                NEW BERN                 NC
11174   1FMJK2AT6LEA19464   Ford        EXPED                HARRISBURG               PA
11175   1FMJK2AT6LEA19500   Ford        EXPED                SALT LAKE CITY           US
11176   1FMJK2AT6LEA19528   Ford        EXPED                SAN JOSE                 CA
11177   1FMJK2AT6LEA19531   Ford        EXPED                BURBANK                  CA
11178   1FMJK2AT6LEA19612   Ford        EXPED                Raleigh                  NC
11179   1FMJK2AT6LEA38242   Ford        EXPED                SOUTHEAST                LA
11180   1FMJK2AT6LEA38273   Ford        EXPED                SAVANNAH                 GA
11181   1FMJK2AT7LEA03564   Ford        EXPED                DENVER                   CO
11182   1FMJK2AT7LEA03581   Ford        EXPED                DENVER                   CO
11183   1FMJK2AT7LEA03631   Ford        EXPED                SALT LAKE CITY           US
11184   1FMJK2AT7LEA10398   Ford        EXPED                FORT LAUDERDALE          FL
11185   1FMJK2AT7LEA10403   Ford        EXPED                DENVER                   CO
11186   1FMJK2AT7LEA19327   Ford        EXPED                DENVER                   CO
11187   1FMJK2AT7LEA19330   Ford        EXPED                NEW YORK CITY            NY
11188   1FMJK2AT7LEA19375   Ford        EXPED                DETROIT                  MI
11189   1FMJK2AT7LEA19389   Ford        EXPED                DETROIT                  MI
11190   1FMJK2AT7LEA19392   Ford        EXPED                BUFFALO                  NY
11191   1FMJK2AT7LEA19442   Ford        EXPED                STERLING                 VA
11192   1FMJK2AT7LEA19473   Ford        EXPED                TULSA                    OK
11193   1FMJK2AT7LEA19487   Ford        EXPED                PORTLAND                 OR
11194   1FMJK2AT7LEA19599   Ford        EXPED                SALT LAKE CITY           US
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11195   1FMJK2AT7LEA19618   Ford         EXPED                NEW BERN                 NC
11196   1FMJK2AT7LEA19621   Ford         EXPED                SCRANTON                 PA
11197   1FMJK2AT7LEA38279   Ford         EXPED                Atlanta                  GA
11198   1FMJK2AT7LEA38296   Ford         EXPED                FORT MYERS               FL
11199   1FMJK2AT7LEA38301   Ford         EXPED                Atlanta                  GA
11200   1FMJK2AT8LEA03542   Ford         EXPED                GYPSUM                   CO
11201   1FMJK2AT8LEA03623   Ford         EXPED                SALT LAKE CITY           UT
11202   1FMJK2AT8LEA10393   Ford         EXPED                DENVER                   CO
11203   1FMJK2AT8LEA10409   Ford         EXPED                DENVER                   CO
11204   1FMJK2AT8LEA19305   Ford         EXPED                NEWARK                   NJ
11205   1FMJK2AT8LEA19319   Ford         EXPED                CHARLOTTE                NC
11206   1FMJK2AT8LEA19322   Ford         EXPED                TALLAHASSEE              FL
11207   1FMJK2AT8LEA19370   Ford         EXPED                GRAND RAPIDS             MI
11208   1FMJK2AT8LEA19384   Ford         EXPED                HOUSTON                  TX
11209   1FMJK2AT8LEA19465   Ford         EXPED                NEWARK                   NJ
11210   1FMJK2AT8LEA19529   Ford         EXPED                SACRAMENTO               CA
11211   1FMJK2AT8LEA19532   Ford         EXPED                SAN JOSE                 CA
11212   1FMJK2AT8LEA19577   Ford         EXPED                LITTLE ROCK              AR
11213   1FMJK2AT8LEA19580   Ford         EXPED                SACRAMENTO               CA
11214   1FMJK2AT8LEA19613   Ford         EXPED                RALEIGH                  NC
11215   1FMJK2AT8LEA38243   Ford         EXPED                JACKSONVILLE             FL
11216   1FMJK2AT8LEA38274   Ford         EXPED                SAVANNAH                 GA
11217   1FMJK2AT9LEA03517   Ford         EXPED                OMAHA                    NE
11218   1FMJK2AT9LEA03520   Ford         EXPED                DENVER                   CO
11219   1FMJK2AT9LEA03534   Ford         EXPED                GYPSUM                   CO
11220   1FMJK2AT9LEA03565   Ford         EXPED                CHICAGO                  IL
11221   1FMJK2AT9LEA03629   Ford         EXPED                SALT LAKE CITY           UT
11222   1FMJK2AT9LEA03632   Ford         EXPED                LAS VEGAS                NV
11223   1FMJK2AT9LEA10399   Ford         EXPED                DENVER                   CO
11224   1FMJK2AT9LEA10404   Ford         EXPED                GYPSUM                   CO
11225   1FMJK2AT9LEA19300   Ford         EXPED                DENVER                   CO
11226   1FMJK2AT9LEA19328   Ford         EXPED                NEW BERN                 NC
11227   1FMJK2AT9LEA19331   Ford         EXPED                BOSTON                   MA
11228   1FMJK2AT9LEA19376   Ford         EXPED                DETROIT                  MI
11229   1FMJK2AT9LEA19393   Ford         EXPED                CHICAGO                  IL
11230   1FMJK2AT9LEA19443   Ford         EXPED                HARTFORD                 CT
11231   1FMJK2AT9LEA19474   Ford         EXPED                HARTFORD                 CT
11232   1FMJK2AT9LEA19488   Ford         EXPED                INGLEWOOD                CA
11233   1FMJK2AT9LEA19524   Ford         EXPED                PHOENIX                  AZ
11234   1FMJK2AT9LEA19622   Ford         EXPED                DENVER                   CO
11235   1FMJK2AT9LEA38266   Ford         EXPED                ORLANDO                  FL
11236   1FMJK2AT9LEA38297   Ford         EXPED                MILWAUKEE                WI
11237   1FMJK2ATXLEA03526   Ford         EXPED                DENVER                   CO
11238   1FMJK2ATXLEA03557   Ford         EXPED                GYPSUM                   CO
11239   1FMJK2ATXLEA03624   Ford         EXPED                STERLING                 VA
11240   1FMJK2ATXLEA10394   Ford         EXPED                DENVER                   CO
11241   1FMJK2ATXLEA19323   Ford         EXPED                CHARLOTTE                NC
11242   1FMJK2ATXLEA19368   Ford         EXPED                DETROIT                  MI
11243   1FMJK2ATXLEA19371   Ford         EXPED                MYRTLE BEACH             SC
11244   1FMJK2ATXLEA19385   Ford         EXPED                ORLANDO                  FL
11245   1FMJK2ATXLEA19435   Ford         EXPED                SAN FRANCISCO            CA
11246   1FMJK2ATXLEA19466   Ford         EXPED                PHILADELPHIA             PA
11247   1FMJK2ATXLEA19502   Ford         EXPED                GREENSBORO               NC
11248   1FMJK2ATXLEA19547   Ford         EXPED                RENO                     NV
11249   1FMJK2ATXLEA19578   Ford         EXPED                LANSING                  MI
11250   1FMJK2ATXLEA19581   Ford         EXPED                ORANGE COUNTY            CA
11251   1FMJK2ATXLEA19600   Ford         EXPED                LOS ANGELES              CA
11252   1FMJK2ATXLEA19614   Ford         EXPED                TAMPA                    FL
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11253   1FMJK2ATXLEA38244   Ford         EXPED                RICHMOND                 VA
11254   1FMJU1JT0HEA28950   Ford         EXPEDITION           PLEASANTON               CA
11255   1FMJU1JT0HEA28981   Ford         EXPEDITION
11256   1FMJU1JT0HEA29032   Ford         EXPEDITION           PLEASANTON               CA
11257   1FMJU1JT0KEA29359   Ford         EXPEDITION           TAMPA                    FL
11258   1FMJU1JT0KEA29362   Ford         EXPEDITION           Cicero                   NY
11259   1FMJU1JT0KEA29376   Ford         EXPEDITION           SACRAMENTO               CA
11260   1FMJU1JT0KEA29409   Ford         EXPEDITION           LOS ANGELES              CA
11261   1FMJU1JT0KEA29412   Ford         EXPEDITION           PHOENIX                  AZ
11262   1FMJU1JT0KEA29426   Ford         EXPEDITION           CORPUS CHRISTI           TX
11263   1FMJU1JT0KEA29443   Ford         EXPEDITION           MIAMI                    FL
11264   1FMJU1JT0KEA29751   Ford         EXPEDITION           HOUSTON                  TX
11265   1FMJU1JT0KEA29782   Ford         EXPEDITION           MONTEREY                 CA
11266   1FMJU1JT0KEA29880   Ford         EXPEDITION           CHARLOTTE                NC
11267   1FMJU1JT0KEA30947   Ford         EXPEDITION           Springfield              MO
11268   1FMJU1JT0KEA30950   Ford         EXPEDITION           LOS ANGELES              CA
11269   1FMJU1JT0KEA30964   Ford         EXPEDITION           DENVER                   CO
11270   1FMJU1JT0KEA30981   Ford         EXPEDITION           TAMPA                    FL
11271   1FMJU1JT0KEA30995   Ford         EXPEDITION           BURBANK                  CA
11272   1FMJU1JT0KEA36389   Ford         EXPEDITION           ANCHORAGE                AK
11273   1FMJU1JT0KEA36411   Ford         EXPEDITION           FRESNO                   CA
11274   1FMJU1JT0KEA36425   Ford         EXPEDITION           MEMPHIS                  TN
11275   1FMJU1JT0KEA36439   Ford         EXPEDITION           ORLANDO                  FL
11276   1FMJU1JT0KEA36442   Ford         EXPEDITION           North Dighton            MA
11277   1FMJU1JT0KEA36487   Ford         EXPEDITION           HOUSTON                  TX
11278   1FMJU1JT0KEA36490   Ford         EXPEDITION           DALLAS                   TX
11279   1FMJU1JT0KEA36506   Ford         EXPEDITION           CHEEKTOWAGA              NY
11280   1FMJU1JT0KEA36537   Ford         EXPEDITION           CHARLESTON               SC
11281   1FMJU1JT0KEA36540   Ford         EXPEDITION           PHILADELPHIA             PA
11282   1FMJU1JT0KEA36568   Ford         EXPEDITION           DARLINGTON               SC
11283   1FMJU1JT0KEA36571   Ford         EXPEDITION           Smithtown                NY
11284   1FMJU1JT0KEA36585   Ford         EXPEDITION           BOSTON                   MA
11285   1FMJU1JT0KEA36733   Ford         EXPEDITION           HOUSTON                  TX
11286   1FMJU1JT0KEA36747   Ford         EXPEDITION           ORLANDO                  FL
11287   1FMJU1JT0KEA36750   Ford         EXPEDITION           ATLANTA                  GA
11288   1FMJU1JT0KEA36764   Ford         EXPEDITION           Manheim                  PA
11289   1FMJU1JT0KEA36778   Ford         EXPEDITION           North Dighton            MA
11290   1FMJU1JT0KEA36781   Ford         EXPEDITION           DENVER                   CO
11291   1FMJU1JT0KEA36800   Ford         EXPEDITION           PHILADELPHIA             PA
11292   1FMJU1JT0KEA36828   Ford         EXPEDITION           Rockville Centr          NY
11293   1FMJU1JT0KEA36831   Ford         EXPEDITION           ROANOKE                  VA
11294   1FMJU1JT0KEA36845   Ford         EXPEDITION           Stone Mountain           GA
11295   1FMJU1JT0KEA36862   Ford         EXPEDITION           ORLANDO                  FL
11296   1FMJU1JT0KEA36876   Ford         EXPEDITION           BIRMINGHAM               AL
11297   1FMJU1JT0KEA36893   Ford         EXPEDITION           FORT MYERS               FL
11298   1FMJU1JT0KEA36909   Ford         EXPEDITION           FORT MYERS               FL
11299   1FMJU1JT0KEA36912   Ford         EXPEDITION           Fontana                  CA
11300   1FMJU1JT0KEA36926   Ford         EXPEDITION           Davie                    FL
11301   1FMJU1JT0KEA36943   Ford         EXPEDITION           STERLING                 US
11302   1FMJU1JT0KEA36957   Ford         EXPEDITION           SAN FRANCISCO            CA
11303   1FMJU1JT0KEA36960   Ford         EXPEDITION           Houston                  TX
11304   1FMJU1JT0KEA36974   Ford         EXPEDITION           PHOENIX                  AZ
11305   1FMJU1JT0KEA37008   Ford         EXPEDITION           TAMPA                    US
11306   1FMJU1JT0KEA37025   Ford         EXPEDITION           Indianapolis             IN
11307   1FMJU1JT0KEA37073   Ford         EXPEDITION           LOS ANGELES              CA
11308   1FMJU1JT0KEA37087   Ford         EXPEDITION           TAMPA                    FL
11309   1FMJU1JT0KEA37090   Ford         EXPEDITION           PALM SPRINGS             CA
11310   1FMJU1JT0KEA37137   Ford         EXPEDITION           MIAMI                    FL
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11311   1FMJU1JT0KEA37140   Ford         EXPEDITION           NEW BERN                 NC
11312   1FMJU1JT0KEA37168   Ford         EXPEDITION           KENNER                   LA
11313   1FMJU1JT0KEA37171   Ford         EXPEDITION           LOUISVILLE               KY
11314   1FMJU1JT0KEA37199   Ford         EXPEDITION           BOSTON                   MA
11315   1FMJU1JT0KEA37204   Ford         EXPEDITION           SAINT PAUL               MN
11316   1FMJU1JT0KEA37218   Ford         EXPEDITION           PENSACOLA                FL
11317   1FMJU1JT0KEA37221   Ford         EXPEDITION           CORAL SPRINGS            FL
11318   1FMJU1JT0KEA37249   Ford         EXPEDITION           MEMPHIS                  TN
11319   1FMJU1JT0KEA37283   Ford         EXPEDITION           SCRANTON                 PA
11320   1FMJU1JT0KEA38997   Ford         EXPEDITION           DALLAS                   TX
11321   1FMJU1JT0KEA39003   Ford         EXPEDITION           Union City               GA
11322   1FMJU1JT0KEA43908   Ford         EXPEDITION           DALLAS                   TX
11323   1FMJU1JT0KEA43911   Ford         EXPEDITION           DENVER                   CO
11324   1FMJU1JT0KEA43925   Ford         EXPEDITION           ALBANY                   NY
11325   1FMJU1JT0KEA43973   Ford         EXPEDITION           LAS VEGAS                NV
11326   1FMJU1JT0KEA43987   Ford         EXPEDITION           PHOENIX                  AZ
11327   1FMJU1JT0KEA43990   Ford         EXPEDITION           Miami                    FL
11328   1FMJU1JT0KEA44024   Ford         EXPEDITION           Fontana                  CA
11329   1FMJU1JT0KEA44041   Ford         EXPEDITION           INGLEWOOD                CA
11330   1FMJU1JT0KEA44105   Ford         EXPEDITION           SANTA ANA                CA
11331   1FMJU1JT0KEA44119   Ford         EXPEDITION           LAS VEGAS                NV
11332   1FMJU1JT0KEA44122   Ford         EXPEDITION           DAYTONA BEACH            FL
11333   1FMJU1JT0KEA44153   Ford         EXPEDITION           BURBANK                  CA
11334   1FMJU1JT0KEA44167   Ford         EXPEDITION           MIAMI                    FL
11335   1FMJU1JT0KEA44170   Ford         EXPEDITION           LAS VEGAS                NV
11336   1FMJU1JT0KEA44184   Ford         EXPEDITION           KNOXVILLE                TN
11337   1FMJU1JT0KEA49403   Ford         EXPEDITION           BUFFALO                  NY
11338   1FMJU1JT0KEA49434   Ford         EXPEDITION           AUSTIN                   TX
11339   1FMJU1JT0KEA49448   Ford         EXPEDITION           Reno                     NV
11340   1FMJU1JT0KEA49451   Ford         EXPEDITION           MIAMI                    FL
11341   1FMJU1JT0KEA49479   Ford         EXPEDITION           NORFOLK                  VA
11342   1FMJU1JT0KEA49482   Ford         EXPEDITION           NEW BERN                 NC
11343   1FMJU1JT0KEA49501   Ford         EXPEDITION           LOS ANGELES              CA
11344   1FMJU1JT0KEA49529   Ford         EXPEDITION           HOUSTON                  TX
11345   1FMJU1JT0KEA49532   Ford         EXPEDITION           GYPSUM                   CO
11346   1FMJU1JT1HEA28973   Ford         EXPEDITION           Fontana                  CA
11347   1FMJU1JT1HEA29055   Ford         EXPEDITION           Hayward                  CA
11348   1FMJU1JT1KEA29368   Ford         EXPEDITION           MIAMI                    FL
11349   1FMJU1JT1KEA29371   Ford         EXPEDITION           NEW YORK CITY            NY
11350   1FMJU1JT1KEA29385   Ford         EXPEDITION           GRAND RAPIDS             MI
11351   1FMJU1JT1KEA29399   Ford         EXPEDITION           PENSACOLA                FL
11352   1FMJU1JT1KEA29421   Ford         EXPEDITION           DENVER                   CO
11353   1FMJU1JT1KEA29435   Ford         EXPEDITION           Bensalem                 PA
11354   1FMJU1JT1KEA29449   Ford         EXPEDITION           ORLANDO                  FL
11355   1FMJU1JT1KEA29757   Ford         EXPEDITION           KEY WEST                 FL
11356   1FMJU1JT1KEA29760   Ford         EXPEDITION           West Palm Beach          FL
11357   1FMJU1JT1KEA29774   Ford         EXPEDITION           STERLING                 VA
11358   1FMJU1JT1KEA30939   Ford         EXPEDITION           WOODSON TERRACE          MO
11359   1FMJU1JT1KEA30956   Ford         EXPEDITION           DENVER                   CO
11360   1FMJU1JT1KEA30973   Ford         EXPEDITION           Aurora                   CO
11361   1FMJU1JT1KEA36370   Ford         EXPEDITION           LAS VEGAS                NV
11362   1FMJU1JT1KEA36403   Ford         EXPEDITION           TAMPA                    FL
11363   1FMJU1JT1KEA36420   Ford         EXPEDITION           Hartford                 CT
11364   1FMJU1JT1KEA36448   Ford         EXPEDITION           DENVER                   CO
11365   1FMJU1JT1KEA36451   Ford         EXPEDITION           DANIA BEACH              FL
11366   1FMJU1JT1KEA36482   Ford         EXPEDITION           Hamilton                 OH
11367   1FMJU1JT1KEA36515   Ford         EXPEDITION           Slidell                  LA
11368   1FMJU1JT1KEA36529   Ford         EXPEDITION           HOUSTON                  TX
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11369   1FMJU1JT1KEA36546   Ford         EXPEDITION           CHARLOTTESVILLE          VA
11370   1FMJU1JT1KEA36563   Ford         EXPEDITION           TAMPA                    FL
11371   1FMJU1JT1KEA36580   Ford         EXPEDITION           West Palm Beach          FL
11372   1FMJU1JT1KEA36725   Ford         EXPEDITION           SALT LAKE CITY           UT
11373   1FMJU1JT1KEA36739   Ford         EXPEDITION           PALM SPRINGS             CA
11374   1FMJU1JT1KEA36756   Ford         EXPEDITION           NEWARK                   NJ
11375   1FMJU1JT1KEA36773   Ford         EXPEDITION           NEW YORK CITY            NY
11376   1FMJU1JT1KEA36787   Ford         EXPEDITION           Manheim                  PA
11377   1FMJU1JT1KEA36790   Ford         EXPEDITION           Manheim                  PA
11378   1FMJU1JT1KEA36806   Ford         EXPEDITION           Bordentown               NJ
11379   1FMJU1JT1KEA36823   Ford         EXPEDITION           MIAMI                    FL
11380   1FMJU1JT1KEA36868   Ford         EXPEDITION           Dallas                   TX
11381   1FMJU1JT1KEA36885   Ford         EXPEDITION           Tampa                    FL
11382   1FMJU1JT1KEA36899   Ford         EXPEDITION           CHARLESTON               SC
11383   1FMJU1JT1KEA36904   Ford         EXPEDITION           BALTIMORE                MD
11384   1FMJU1JT1KEA36918   Ford         EXPEDITION           BURBANK                  CA
11385   1FMJU1JT1KEA36921   Ford         EXPEDITION           Denver                   CO
11386   1FMJU1JT1KEA36935   Ford         EXPEDITION           DENVER                   CO
11387   1FMJU1JT1KEA36966   Ford         EXPEDITION           DALLAS                   TX
11388   1FMJU1JT1KEA36997   Ford         EXPEDITION           SAN ANTONIO              TX
11389   1FMJU1JT1KEA37003   Ford         EXPEDITION           Fresno                   CA
11390   1FMJU1JT1KEA37017   Ford         EXPEDITION           SAN ANTONIO              TX
11391   1FMJU1JT1KEA37020   Ford         EXPEDITION           DENVER                   CO
11392   1FMJU1JT1KEA37079   Ford         EXPEDITION           SAN FRANCISCO            CA
11393   1FMJU1JT1KEA37163   Ford         EXPEDITION           FORT MYERS               FL
11394   1FMJU1JT1KEA37213   Ford         EXPEDITION           SEATAC                   WA
11395   1FMJU1JT1KEA37227   Ford         EXPEDITION           HOUSTON                  TX
11396   1FMJU1JT1KEA37244   Ford         EXPEDITION           Fontana                  CA
11397   1FMJU1JT1KEA38992   Ford         EXPEDITION           BURNSVILLE               MN
11398   1FMJU1JT1KEA39009   Ford         EXPEDITION           Manheim                  PA
11399   1FMJU1JT1KEA39012   Ford         EXPEDITION           BLOOMINGTON              IL
11400   1FMJU1JT1KEA43903   Ford         EXPEDITION           DETROIT                  MI
11401   1FMJU1JT1KEA43917   Ford         EXPEDITION           Houston                  TX
11402   1FMJU1JT1KEA43920   Ford         EXPEDITION           DENVER                   CO
11403   1FMJU1JT1KEA43979   Ford         EXPEDITION           Lake Elsinore            CA
11404   1FMJU1JT1KEA43982   Ford         EXPEDITION           SALT LAKE CITY           US
11405   1FMJU1JT1KEA43996   Ford         EXPEDITION           ATLANTA                  GA
11406   1FMJU1JT1KEA44033   Ford         EXPEDITION           INGLEWOOD                CA
11407   1FMJU1JT1KEA44047   Ford         EXPEDITION           SAN FRANCISCO            CA
11408   1FMJU1JT1KEA44078   Ford         EXPEDITION           Atlanta                  GA
11409   1FMJU1JT1KEA44081   Ford         EXPEDITION           DENVER                   CO
11410   1FMJU1JT1KEA44095   Ford         EXPEDITION           SANTA ANA                CA
11411   1FMJU1JT1KEA44114   Ford         EXPEDITION           Tustin                   CA
11412   1FMJU1JT1KEA44128   Ford         EXPEDITION           INGLEWOOD                CA
11413   1FMJU1JT1KEA44145   Ford         EXPEDITION           CLEVELAND                OH
11414   1FMJU1JT1KEA44176   Ford         EXPEDITION           OAKLAND                  CA
11415   1FMJU1JT1KEA49409   Ford         EXPEDITION           WEST COLUMBIA            SC
11416   1FMJU1JT1KEA49426   Ford         EXPEDITION           SHREVEPORT               LA
11417   1FMJU1JT1KEA49443   Ford         EXPEDITION           SACRAMENTO               CA
11418   1FMJU1JT1KEA49457   Ford         EXPEDITION           LOS ANGELES              CA
11419   1FMJU1JT1KEA49474   Ford         EXPEDITION           NEW BERN                 NC
11420   1FMJU1JT1KEA49524   Ford         EXPEDITION           DENVER                   CO
11421   1FMJU1JT2HEA26228   Ford         EXPEDITION           Hayward                  CA
11422   1FMJU1JT2HEA28965   Ford         EXPEDITION           Hayward                  CA
11423   1FMJU1JT2HEA28982   Ford         EXPEDITION           Rio Linda                CA
11424   1FMJU1JT2HEA29002   Ford         EXPEDITION           Rio Linda                CA
11425   1FMJU1JT2HEA29047   Ford         EXPEDITION           TRACY                    CA
11426   1FMJU1JT2HEA29050   Ford         EXPEDITION           Portland                 OR
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11427   1FMJU1JT2KEA29363   Ford         EXPEDITION           NASHVILLE                TN
11428   1FMJU1JT2KEA29413   Ford         EXPEDITION           BURBANK                  CA
11429   1FMJU1JT2KEA29427   Ford         EXPEDITION           FORT LAUDERDALE          FL
11430   1FMJU1JT2KEA29444   Ford         EXPEDITION           Miami                    FL
11431   1FMJU1JT2KEA29475   Ford         EXPEDITION           RENO                     NV
11432   1FMJU1JT2KEA29735   Ford         EXPEDITION           LAS VEGAS                NV
11433   1FMJU1JT2KEA29752   Ford         EXPEDITION           Manheim                  PA
11434   1FMJU1JT2KEA29766   Ford         EXPEDITION           Atlanta                  GA
11435   1FMJU1JT2KEA30965   Ford         EXPEDITION           DENVER                   CO
11436   1FMJU1JT2KEA30979   Ford         EXPEDITION           BOSTON                   MA
11437   1FMJU1JT2KEA36393   Ford         EXPEDITION           ANCHORAGE                AK
11438   1FMJU1JT2KEA36409   Ford         EXPEDITION           DETROIT                  MI
11439   1FMJU1JT2KEA36412   Ford         EXPEDITION           PENSACOLA                FL
11440   1FMJU1JT2KEA36443   Ford         EXPEDITION           PITTSBURGH               PA
11441   1FMJU1JT2KEA36457   Ford         EXPEDITION           Atlanta                  GA
11442   1FMJU1JT2KEA36474   Ford         EXPEDITION           SAN DIEGO                CA
11443   1FMJU1JT2KEA36491   Ford         EXPEDITION           HOUSTON                  TX
11444   1FMJU1JT2KEA36507   Ford         EXPEDITION           Oklahoma City            OK
11445   1FMJU1JT2KEA36510   Ford         EXPEDITION           WEST COLUMBIA            SC
11446   1FMJU1JT2KEA36555   Ford         EXPEDITION           LOUISVILLE               KY
11447   1FMJU1JT2KEA36586   Ford         EXPEDITION           CLEVELAND                OH
11448   1FMJU1JT2KEA36748   Ford         EXPEDITION           SLIDELL                  LA
11449   1FMJU1JT2KEA36751   Ford         EXPEDITION           FORT LAUDERDALE          FL
11450   1FMJU1JT2KEA36765   Ford         EXPEDITION           PHILADELPHIA             PA
11451   1FMJU1JT2KEA36782   Ford         EXPEDITION           CHICAGO                  IL
11452   1FMJU1JT2KEA36796   Ford         EXPEDITION           SAN ANTONIO              TX
11453   1FMJU1JT2KEA36829   Ford         EXPEDITION           DALLAS                   TX
11454   1FMJU1JT2KEA36832   Ford         EXPEDITION           Naperville               IL
11455   1FMJU1JT2KEA36846   Ford         EXPEDITION           PHILADELPHIA             PA
11456   1FMJU1JT2KEA36877   Ford         EXPEDITION           DAYTONA BEACH            FL
11457   1FMJU1JT2KEA36880   Ford         EXPEDITION           Atlanta                  GA
11458   1FMJU1JT2KEA36894   Ford         EXPEDITION           WEST PALM BEACH          FL
11459   1FMJU1JT2KEA36913   Ford         EXPEDITION           Fredericksburg           VA
11460   1FMJU1JT2KEA36930   Ford         EXPEDITION           SANTA ANA                CA
11461   1FMJU1JT2KEA36944   Ford         EXPEDITION           Manheim                  PA
11462   1FMJU1JT2KEA36961   Ford         EXPEDITION           LAS VEGAS                NV
11463   1FMJU1JT2KEA36975   Ford         EXPEDITION           OAKLAND                  CA
11464   1FMJU1JT2KEA37012   Ford         EXPEDITION           CHICAGO                  IL
11465   1FMJU1JT2KEA37026   Ford         EXPEDITION           ROANOKE                  VA
11466   1FMJU1JT2KEA37074   Ford         EXPEDITION           LAS VEGAS                NV
11467   1FMJU1JT2KEA37091   Ford         EXPEDITION           FRESNO                   CA
11468   1FMJU1JT2KEA37138   Ford         EXPEDITION           TAMPA                    FL
11469   1FMJU1JT2KEA37141   Ford         EXPEDITION           ORLANDO                  FL
11470   1FMJU1JT2KEA37155   Ford         EXPEDITION           MIAMI                    FL
11471   1FMJU1JT2KEA37169   Ford         EXPEDITION           BALTIMORE                MD
11472   1FMJU1JT2KEA37205   Ford         EXPEDITION           CLEVELAND                OH
11473   1FMJU1JT2KEA37219   Ford         EXPEDITION           Columbia                 MD
11474   1FMJU1JT2KEA37222   Ford         EXPEDITION           ORLANDO                  FL
11475   1FMJU1JT2KEA37267   Ford         EXPEDITION           SANTA BARBARA            CA
11476   1FMJU1JT2KEA37270   Ford         EXPEDITION           LOS ANGELES              CA
11477   1FMJU1JT2KEA38998   Ford         EXPEDITION           WARWICK                  RI
11478   1FMJU1JT2KEA39004   Ford         EXPEDITION           Teterboro                NJ
11479   1FMJU1JT2KEA43909   Ford         EXPEDITION           HOUSTON IAH AP           TX
11480   1FMJU1JT2KEA43912   Ford         EXPEDITION           FRESNO                   CA
11481   1FMJU1JT2KEA43988   Ford         EXPEDITION           SAINT LOUIS              MO
11482   1FMJU1JT2KEA43991   Ford         EXPEDITION           MIDLAND                  TX
11483   1FMJU1JT2KEA44042   Ford         EXPEDITION           OAKLAND                  CA
11484   1FMJU1JT2KEA44087   Ford         EXPEDITION           ROCHESTER                NY
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11485   1FMJU1JT2KEA44090   Ford         EXPEDITION           LOS ANGELES              CA
11486   1FMJU1JT2KEA44106   Ford         EXPEDITION           TUCSON                   AZ
11487   1FMJU1JT2KEA44123   Ford         EXPEDITION           SANTA ANA                CA
11488   1FMJU1JT2KEA44137   Ford         EXPEDITION           LAS VEGAS                NV
11489   1FMJU1JT2KEA44140   Ford         EXPEDITION           HOUSTON                  TX
11490   1FMJU1JT2KEA44154   Ford         EXPEDITION           SAN FRANCISCO            CA
11491   1FMJU1JT2KEA44171   Ford         EXPEDITION           PENSACOLA                FL
11492   1FMJU1JT2KEA44185   Ford         EXPEDITION           DENVER                   CO
11493   1FMJU1JT2KEA49399   Ford         EXPEDITION           North Dighton            MA
11494   1FMJU1JT2KEA49404   Ford         EXPEDITION           SAN FRANCISCO            CA
11495   1FMJU1JT2KEA49435   Ford         EXPEDITION           PENSACOLA                FL
11496   1FMJU1JT2KEA49449   Ford         EXPEDITION           BURBANK                  CA
11497   1FMJU1JT2KEA49452   Ford         EXPEDITION           SACRAMENTO               CA
11498   1FMJU1JT2KEA49516   Ford         EXPEDITION           LAS VEGAS                NV
11499   1FMJU1JT3HEA28991   Ford         EXPEDITION           Santa Clara              CA
11500   1FMJU1JT3HEA29056   Ford         EXPEDITION           Hayward                  CA
11501   1FMJU1JT3KEA29355   Ford         EXPEDITION           ATLANTA                  GA
11502   1FMJU1JT3KEA29369   Ford         EXPEDITION           DENVER                   CO
11503   1FMJU1JT3KEA29372   Ford         EXPEDITION           PANAMA CITY              FL
11504   1FMJU1JT3KEA29386   Ford         EXPEDITION           Statesville              NC
11505   1FMJU1JT3KEA29405   Ford         EXPEDITION           ONTARIO                  CA
11506   1FMJU1JT3KEA29422   Ford         EXPEDITION           LAS VEGAS                NV
11507   1FMJU1JT3KEA29758   Ford         EXPEDITION           LAS VEGAS                NV
11508   1FMJU1JT3KEA29761   Ford         EXPEDITION           FORT MYERS               FL
11509   1FMJU1JT3KEA30957   Ford         EXPEDITION           KANSAS CITY              MO
11510   1FMJU1JT3KEA30960   Ford         EXPEDITION           Dallas                   TX
11511   1FMJU1JT3KEA30974   Ford         EXPEDITION           LAS VEGAS                NV
11512   1FMJU1JT3KEA36371   Ford         EXPEDITION           HANOVER                  MD
11513   1FMJU1JT3KEA36399   Ford         EXPEDITION           Mira Loma                CA
11514   1FMJU1JT3KEA36404   Ford         EXPEDITION           JACKSON                  MS
11515   1FMJU1JT3KEA36418   Ford         EXPEDITION           STERLING                 VA
11516   1FMJU1JT3KEA36421   Ford         EXPEDITION           STERLING                 VA
11517   1FMJU1JT3KEA36449   Ford         EXPEDITION           Chicago                  IL
11518   1FMJU1JT3KEA36452   Ford         EXPEDITION           Dallas                   TX
11519   1FMJU1JT3KEA36466   Ford         EXPEDITION           NEW ORLEANS              LA
11520   1FMJU1JT3KEA36483   Ford         EXPEDITION           WEST PALM BEACH          FL
11521   1FMJU1JT3KEA36497   Ford         EXPEDITION           OAKLAND                  CA
11522   1FMJU1JT3KEA36516   Ford         EXPEDITION           KENNER                   LA
11523   1FMJU1JT3KEA36533   Ford         EXPEDITION           PHOENIX                  AZ
11524   1FMJU1JT3KEA36547   Ford         EXPEDITION           HARTFORD                 CT
11525   1FMJU1JT3KEA36550   Ford         EXPEDITION           DETROIT                  MI
11526   1FMJU1JT3KEA36581   Ford         EXPEDITION           SAVANNAH                 GA
11527   1FMJU1JT3KEA36757   Ford         EXPEDITION           TAMPA                    FL
11528   1FMJU1JT3KEA36788   Ford         EXPEDITION           Des Plaines              IL
11529   1FMJU1JT3KEA36791   Ford         EXPEDITION           WILMINGTON               NC
11530   1FMJU1JT3KEA36807   Ford         EXPEDITION           NORFOLK                  VA
11531   1FMJU1JT3KEA36810   Ford         EXPEDITION           STERLING                 VA
11532   1FMJU1JT3KEA36824   Ford         EXPEDITION           ROANOKE                  VA
11533   1FMJU1JT3KEA36838   Ford         EXPEDITION           CHARLESTON               SC
11534   1FMJU1JT3KEA36869   Ford         EXPEDITION           TAMPA                    FL
11535   1FMJU1JT3KEA36872   Ford         EXPEDITION           TAMPA                    FL
11536   1FMJU1JT3KEA36919   Ford         EXPEDITION           WOODLAND HILLS           CA
11537   1FMJU1JT3KEA36922   Ford         EXPEDITION           BURBANK                  CA
11538   1FMJU1JT3KEA36936   Ford         EXPEDITION           Scottsdale               AZ
11539   1FMJU1JT3KEA36953   Ford         EXPEDITION           PORTLAND                 OR
11540   1FMJU1JT3KEA36967   Ford         EXPEDITION           PHOENIX                  AZ
11541   1FMJU1JT3KEA36998   Ford         EXPEDITION           SAN FRANCISCO            CA
11542   1FMJU1JT3KEA37004   Ford         EXPEDITION           SACRAMENTO               CA
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11543   1FMJU1JT3KEA37018   Ford         EXPEDITION           Aurora                   CO
11544   1FMJU1JT3KEA37083   Ford         EXPEDITION           SAN FRANCISCO            CA
11545   1FMJU1JT3KEA37097   Ford         EXPEDITION           TRACY                    CA
11546   1FMJU1JT3KEA37102   Ford         EXPEDITION           PALM SPRINGS             CA
11547   1FMJU1JT3KEA37164   Ford         EXPEDITION           TAMPA                    FL
11548   1FMJU1JT3KEA37214   Ford         EXPEDITION           MILWAUKEE                WI
11549   1FMJU1JT3KEA37228   Ford         EXPEDITION           OKLAHOMA CITY            OK
11550   1FMJU1JT3KEA37245   Ford         EXPEDITION           TEMECULA LOCAL EDITION   CA
11551   1FMJU1JT3KEA38993   Ford         EXPEDITION           NEW YORK CITY            NY
11552   1FMJU1JT3KEA39013   Ford         EXPEDITION           FORT MYERS               FL
11553   1FMJU1JT3KEA43899   Ford         EXPEDITION           CHICAGO                  IL
11554   1FMJU1JT3KEA43904   Ford         EXPEDITION           DENVER                   CO
11555   1FMJU1JT3KEA43918   Ford         EXPEDITION           MONTEREY                 CA
11556   1FMJU1JT3KEA43921   Ford         EXPEDITION           Dallas                   TX
11557   1FMJU1JT3KEA43983   Ford         EXPEDITION           San Diego                CA
11558   1FMJU1JT3KEA44020   Ford         EXPEDITION           SALT LAKE CITY           US
11559   1FMJU1JT3KEA44034   Ford         EXPEDITION           INDIANAPOLIS             IN
11560   1FMJU1JT3KEA44048   Ford         EXPEDITION           SALT LAKE CITY           US
11561   1FMJU1JT3KEA44051   Ford         EXPEDITION           RONKONKOMA               NY
11562   1FMJU1JT3KEA44079   Ford         EXPEDITION           LOS ANGELES              CA
11563   1FMJU1JT3KEA44082   Ford         EXPEDITION           SALT LAKE CITY           US
11564   1FMJU1JT3KEA44096   Ford         EXPEDITION           SALT LAKE CITY           UT
11565   1FMJU1JT3KEA44101   Ford         EXPEDITION           Reno                     NV
11566   1FMJU1JT3KEA44132   Ford         EXPEDITION           KENNER                   LA
11567   1FMJU1JT3KEA44146   Ford         EXPEDITION           MILWAUKEE                WI
11568   1FMJU1JT3KEA44163   Ford         EXPEDITION           RICHMOND                 VA
11569   1FMJU1JT3KEA44177   Ford         EXPEDITION           SALT LAKE CITY           UT
11570   1FMJU1JT3KEA44180   Ford         EXPEDITION           LOS ANGELES              CA
11571   1FMJU1JT3KEA49413   Ford         EXPEDITION           CHATTANOOGA              TN
11572   1FMJU1JT3KEA49430   Ford         EXPEDITION           HOUSTON                  TX
11573   1FMJU1JT3KEA49444   Ford         EXPEDITION           LOS ANGELES              CA
11574   1FMJU1JT3KEA49475   Ford         EXPEDITION           MILWAUKEE                WI
11575   1FMJU1JT4HEA28952   Ford         EXPEDITION           Hayward                  CA
11576   1FMJU1JT4HEA29003   Ford         EXPEDITION           Stockton                 CA
11577   1FMJU1JT4KEA29378   Ford         EXPEDITION           Newark                   NJ
11578   1FMJU1JT4KEA29381   Ford         EXPEDITION           STERLING                 VA
11579   1FMJU1JT4KEA29395   Ford         EXPEDITION           Baltimore                MD
11580   1FMJU1JT4KEA29428   Ford         EXPEDITION           KANSAS CITY              MO
11581   1FMJU1JT4KEA29445   Ford         EXPEDITION           HANOVER                  MD
11582   1FMJU1JT4KEA29476   Ford         EXPEDITION           COLLEGE PARK             GA
11583   1FMJU1JT4KEA29736   Ford         EXPEDITION           LITTLE ROCK              AR
11584   1FMJU1JT4KEA29753   Ford         EXPEDITION           LOS ANGELES              CA
11585   1FMJU1JT4KEA29767   Ford         EXPEDITION           DAYTONA BEACH            FL
11586   1FMJU1JT4KEA29770   Ford         EXPEDITION           Miami                    FL
11587   1FMJU1JT4KEA29784   Ford         EXPEDITION           LAS VEGAS                NV
11588   1FMJU1JT4KEA29851   Ford         EXPEDITION           FORT LAUDERDALE          FL
11589   1FMJU1JT4KEA29879   Ford         EXPEDITION           DALLAS                   TX
11590   1FMJU1JT4KEA29882   Ford         EXPEDITION           GRAND RAPIDS             MI
11591   1FMJU1JT4KEA30935   Ford         EXPEDITION           PALM SPRINGS             CA
11592   1FMJU1JT4KEA30966   Ford         EXPEDITION           SAINT PAUL               MN
11593   1FMJU1JT4KEA30983   Ford         EXPEDITION           MONTGOMERY               AL
11594   1FMJU1JT4KEA30997   Ford         EXPEDITION           ORLANDO                  FL
11595   1FMJU1JT4KEA36380   Ford         EXPEDITION           SANTA CLARA              CA
11596   1FMJU1JT4KEA36413   Ford         EXPEDITION           Atlanta                  GA
11597   1FMJU1JT4KEA36427   Ford         EXPEDITION           Lake in the Hil          IL
11598   1FMJU1JT4KEA36430   Ford         EXPEDITION           Orlando                  FL
11599   1FMJU1JT4KEA36475   Ford         EXPEDITION           OKLAHOMA CITY            OK
11600   1FMJU1JT4KEA36489   Ford         EXPEDITION           MCALLEN                  TX
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11601   1FMJU1JT4KEA36492   Ford         EXPEDITION           DALLAS                   TX
11602   1FMJU1JT4KEA36511   Ford         EXPEDITION           Miami                    FL
11603   1FMJU1JT4KEA36539   Ford         EXPEDITION           GRAND RAPIDS             MI
11604   1FMJU1JT4KEA36542   Ford         EXPEDITION           ATLANTA                  GA
11605   1FMJU1JT4KEA36556   Ford         EXPEDITION           West Palm Beach          FL
11606   1FMJU1JT4KEA36573   Ford         EXPEDITION           FORT MYERS               FL
11607   1FMJU1JT4KEA36587   Ford         EXPEDITION           NEW YORK CITY            NY
11608   1FMJU1JT4KEA36735   Ford         EXPEDITION           Burien                   WA
11609   1FMJU1JT4KEA36749   Ford         EXPEDITION           Union City               GA
11610   1FMJU1JT4KEA36752   Ford         EXPEDITION           DENVER                   CO
11611   1FMJU1JT4KEA36783   Ford         EXPEDITION           SAINT PAUL               MN
11612   1FMJU1JT4KEA36802   Ford         EXPEDITION           SARASOTA                 FL
11613   1FMJU1JT4KEA36833   Ford         EXPEDITION           JACKSON                  MS
11614   1FMJU1JT4KEA36847   Ford         EXPEDITION           LOS ANGELES              CA
11615   1FMJU1JT4KEA36850   Ford         EXPEDITION           DETROIT                  MI
11616   1FMJU1JT4KEA36864   Ford         EXPEDITION           WHITE PLAINS             NY
11617   1FMJU1JT4KEA36878   Ford         EXPEDITION           MIAMI                    FL
11618   1FMJU1JT4KEA36895   Ford         EXPEDITION           LAS VEGAS                NV
11619   1FMJU1JT4KEA36900   Ford         EXPEDITION           ALEXANDRIA               VA
11620   1FMJU1JT4KEA36914   Ford         EXPEDITION           STERLING                 VA
11621   1FMJU1JT4KEA36928   Ford         EXPEDITION           LAS VEGAS                NV
11622   1FMJU1JT4KEA36931   Ford         EXPEDITION           SAN DIEGO                CA
11623   1FMJU1JT4KEA36959   Ford         EXPEDITION           PORTLAND                 OR
11624   1FMJU1JT4KEA36962   Ford         EXPEDITION           PORTLAND                 OR
11625   1FMJU1JT4KEA36976   Ford         EXPEDITION           SAN FRANCISCO            CA
11626   1FMJU1JT4KEA37030   Ford         EXPEDITION           FORT MYERS               FL
11627   1FMJU1JT4KEA37075   Ford         EXPEDITION           LOS ANGELES              CA
11628   1FMJU1JT4KEA37089   Ford         EXPEDITION           Fontana                  CA
11629   1FMJU1JT4KEA37092   Ford         EXPEDITION           TRACY                    CA
11630   1FMJU1JT4KEA37139   Ford         EXPEDITION           JACKSONVILLE             FL
11631   1FMJU1JT4KEA37206   Ford         EXPEDITION           ALBANY                   N
11632   1FMJU1JT4KEA37268   Ford         EXPEDITION           Portland                 OR
11633   1FMJU1JT4KEA37271   Ford         EXPEDITION           SAINT LOUIS              MO
11634   1FMJU1JT4KEA37285   Ford         EXPEDITION           ORLANDO                  FL
11635   1FMJU1JT4KEA38999   Ford         EXPEDITION           Tolleson                 AZ
11636   1FMJU1JT4KEA39005   Ford         EXPEDITION           Matteson                 IL
11637   1FMJU1JT4KEA43894   Ford         EXPEDITION           DENVER                   CO
11638   1FMJU1JT4KEA43975   Ford         EXPEDITION           NEW ORLEANS              LA
11639   1FMJU1JT4KEA43989   Ford         EXPEDITION           DENVER                   CO
11640   1FMJU1JT4KEA43992   Ford         EXPEDITION           Atlanta                  GA
11641   1FMJU1JT4KEA44026   Ford         EXPEDITION           LOS ANGELES              CA
11642   1FMJU1JT4KEA44043   Ford         EXPEDITION           Des Moines               IA
11643   1FMJU1JT4KEA44088   Ford         EXPEDITION           HOUSTON                  TX
11644   1FMJU1JT4KEA44091   Ford         EXPEDITION           Manheim                  PA
11645   1FMJU1JT4KEA44107   Ford         EXPEDITION           Salt Lake City           UT
11646   1FMJU1JT4KEA44124   Ford         EXPEDITION           ONTARIO                  CA
11647   1FMJU1JT4KEA44138   Ford         EXPEDITION           SANTA ANA                CA
11648   1FMJU1JT4KEA44155   Ford         EXPEDITION           SAN FRANCISCO            CA
11649   1FMJU1JT4KEA44169   Ford         EXPEDITION           OAKLAND                  CA
11650   1FMJU1JT4KEA44172   Ford         EXPEDITION           San Diego                CA
11651   1FMJU1JT4KEA44186   Ford         EXPEDITION           LOS ANGELES              CA
11652   1FMJU1JT4KEA49405   Ford         EXPEDITION           Stone Mountain           GA
11653   1FMJU1JT4KEA49436   Ford         EXPEDITION           ORLANDO                  FL
11654   1FMJU1JT4KEA49453   Ford         EXPEDITION           SALT LAKE CITY           UT
11655   1FMJU1JT4KEA49503   Ford         EXPEDITION           ALBANY                   NY
11656   1FMJU1JT5HEA28944   Ford         EXPEDITION           Hayward                  CA
11657   1FMJU1JT5HEA28992   Ford         EXPEDITION           Honolulu                 HI
11658   1FMJU1JT5HEA29026   Ford         EXPEDITION           Hayward                  CA
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11659   1FMJU1JT5HEA29043   Ford         EXPEDITION           Fontana                  CA
11660   1FMJU1JT5HEA29057   Ford         EXPEDITION           Portland                 OR
11661   1FMJU1JT5KEA29356   Ford         EXPEDITION           WEST COLUMBIA            SC
11662   1FMJU1JT5KEA29387   Ford         EXPEDITION           Aurora                   CO
11663   1FMJU1JT5KEA29390   Ford         EXPEDITION           ORLANDO                  FL
11664   1FMJU1JT5KEA29423   Ford         EXPEDITION           LUBBOCK                  TX
11665   1FMJU1JT5KEA29437   Ford         EXPEDITION           FORT MYERS               FL
11666   1FMJU1JT5KEA29440   Ford         EXPEDITION           ORLANDO                  FL
11667   1FMJU1JT5KEA29759   Ford         EXPEDITION           Slidell                  LA
11668   1FMJU1JT5KEA29762   Ford         EXPEDITION           TAMPA                    FL
11669   1FMJU1JT5KEA30958   Ford         EXPEDITION           CHARLOTTE                NC
11670   1FMJU1JT5KEA30961   Ford         EXPEDITION           SAN ANTONIO              TX
11671   1FMJU1JT5KEA30975   Ford         EXPEDITION           ORLANDO                  FL
11672   1FMJU1JT5KEA30992   Ford         EXPEDITION           FORT LAUDERDALE          FL
11673   1FMJU1JT5KEA36369   Ford         EXPEDITION           DENVER                   CO
11674   1FMJU1JT5KEA36419   Ford         EXPEDITION           MIAMI                    FL
11675   1FMJU1JT5KEA36422   Ford         EXPEDITION           HOUSTON                  TX
11676   1FMJU1JT5KEA36436   Ford         EXPEDITION           SAVANNAH                 GA
11677   1FMJU1JT5KEA36453   Ford         EXPEDITION           KENNER                   LA
11678   1FMJU1JT5KEA36467   Ford         EXPEDITION           JAMAICA                  NY
11679   1FMJU1JT5KEA36470   Ford         EXPEDITION           Irving                   TX
11680   1FMJU1JT5KEA36484   Ford         EXPEDITION           Slidell                  LA
11681   1FMJU1JT5KEA36498   Ford         EXPEDITION           HOUSTON                  TX
11682   1FMJU1JT5KEA36503   Ford         EXPEDITION           MILWAUKEE                WI
11683   1FMJU1JT5KEA36517   Ford         EXPEDITION           MIAMI                    FL
11684   1FMJU1JT5KEA36520   Ford         EXPEDITION           NEWARK                   NJ
11685   1FMJU1JT5KEA36534   Ford         EXPEDITION           CLEVELAND                OH
11686   1FMJU1JT5KEA36548   Ford         EXPEDITION           SAN ANTONIO              TX
11687   1FMJU1JT5KEA36551   Ford         EXPEDITION           CHARLESTON               SC
11688   1FMJU1JT5KEA36565   Ford         EXPEDITION           RALEIGH                  NC
11689   1FMJU1JT5KEA36579   Ford         EXPEDITION           San Diego                CA
11690   1FMJU1JT5KEA36582   Ford         EXPEDITION           Manheim                  PA
11691   1FMJU1JT5KEA36677   Ford         EXPEDITION           SAN ANTONIO              TX
11692   1FMJU1JT5KEA36680   Ford         EXPEDITION           Dallas                   TX
11693   1FMJU1JT5KEA36730   Ford         EXPEDITION           LA HABRA                 CA
11694   1FMJU1JT5KEA36744   Ford         EXPEDITION           LITTLE ROCK              AR
11695   1FMJU1JT5KEA36758   Ford         EXPEDITION           DALLAS FORT WORTH AP     TX
11696   1FMJU1JT5KEA36761   Ford         EXPEDITION           BOISE                    US
11697   1FMJU1JT5KEA36775   Ford         EXPEDITION           PORTLAND                 ME
11698   1FMJU1JT5KEA36792   Ford         EXPEDITION           BOSTON                   MA
11699   1FMJU1JT5KEA36808   Ford         EXPEDITION           PHILADELPHIA             PA
11700   1FMJU1JT5KEA36811   Ford         EXPEDITION           NEWARK                   NJ
11701   1FMJU1JT5KEA36825   Ford         EXPEDITION           NEWARK                   NJ
11702   1FMJU1JT5KEA36839   Ford         EXPEDITION           FORT LAUDERDALE          FL
11703   1FMJU1JT5KEA36842   Ford         EXPEDITION           SHREVEPORT               LA
11704   1FMJU1JT5KEA36856   Ford         EXPEDITION           Warminster               PA
11705   1FMJU1JT5KEA36873   Ford         EXPEDITION           MIAMI                    FL
11706   1FMJU1JT5KEA36906   Ford         EXPEDITION           Carleton                 MI
11707   1FMJU1JT5KEA36923   Ford         EXPEDITION           SALT LAKE CITY           US
11708   1FMJU1JT5KEA36937   Ford         EXPEDITION           LAS VEGAS                NV
11709   1FMJU1JT5KEA36954   Ford         EXPEDITION           LOS ANGELES              CA
11710   1FMJU1JT5KEA36971   Ford         EXPEDITION           SEATAC                   WA
11711   1FMJU1JT5KEA37005   Ford         EXPEDITION           SALT LAKE CITY           UT
11712   1FMJU1JT5KEA37019   Ford         EXPEDITION           Aurora                   CO
11713   1FMJU1JT5KEA37103   Ford         EXPEDITION           SAN FRANCISCO            CA
11714   1FMJU1JT5KEA37165   Ford         EXPEDITION           ORLANDO                  FL
11715   1FMJU1JT5KEA37201   Ford         EXPEDITION           Denver                   CO
11716   1FMJU1JT5KEA37215   Ford         EXPEDITION           TAMPA                    FL
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11717   1FMJU1JT5KEA37246   Ford         EXPEDITION           LOS ANGELES              CA
11718   1FMJU1JT5KEA37263   Ford         EXPEDITION           MEDINA                   OH
11719   1FMJU1JT5KEA37280   Ford         EXPEDITION           WARWICK                  RI
11720   1FMJU1JT5KEA38994   Ford         EXPEDITION           PHILADELPHIA             PA
11721   1FMJU1JT5KEA39000   Ford         EXPEDITION           ORLANDO                  FL
11722   1FMJU1JT5KEA43919   Ford         EXPEDITION           LOS ANGELES              CA
11723   1FMJU1JT5KEA43967   Ford         EXPEDITION           INGLEWOOD                CA
11724   1FMJU1JT5KEA43984   Ford         EXPEDITION           DENVER                   CO
11725   1FMJU1JT5KEA44018   Ford         EXPEDITION           SAN DIEGO                CA
11726   1FMJU1JT5KEA44021   Ford         EXPEDITION           INGLEWOOD                CA
11727   1FMJU1JT5KEA44035   Ford         EXPEDITION           SAN DIEGO                CA
11728   1FMJU1JT5KEA44049   Ford         EXPEDITION           SANTA ANA                CA
11729   1FMJU1JT5KEA44097   Ford         EXPEDITION           ONTARIO                  CA
11730   1FMJU1JT5KEA44102   Ford         EXPEDITION           Santa Clara              CA
11731   1FMJU1JT5KEA44133   Ford         EXPEDITION           SAN DIEGO                CA
11732   1FMJU1JT5KEA44150   Ford         EXPEDITION           SAN FRANCISCO            CA
11733   1FMJU1JT5KEA44164   Ford         EXPEDITION           MILWAUKEE                WI
11734   1FMJU1JT5KEA44178   Ford         EXPEDITION           SEATAC                   WA
11735   1FMJU1JT5KEA44181   Ford         EXPEDITION           OAKLAND                  CA
11736   1FMJU1JT5KEA49400   Ford         EXPEDITION           JACKSONVILLE             FL
11737   1FMJU1JT5KEA49414   Ford         EXPEDITION           SYRACUSE                 NY
11738   1FMJU1JT5KEA49428   Ford         EXPEDITION           TULSA                    OK
11739   1FMJU1JT5KEA49445   Ford         EXPEDITION           FRESNO                   CA
11740   1FMJU1JT5KEA49476   Ford         EXPEDITION           GRAND RAPIDS             MI
11741   1FMJU1JT5KEA49526   Ford         EXPEDITION           DENVER                   CO
11742   1FMJU1JT6HEA28998   Ford         EXPEDITION           Riverside                CA
11743   1FMJU1JT6HEA29021   Ford         EXPEDITION           TRACY                    CA
11744   1FMJU1JT6HEA29035   Ford         EXPEDITION           Hayward                  CA
11745   1FMJU1JT6KEA29351   Ford         EXPEDITION           Austin                   TX
11746   1FMJU1JT6KEA29365   Ford         EXPEDITION           ORLANDO                  FL
11747   1FMJU1JT6KEA29379   Ford         EXPEDITION           GRAND RAPIDS             MI
11748   1FMJU1JT6KEA29382   Ford         EXPEDITION           JACKSONVILLE             FL
11749   1FMJU1JT6KEA29396   Ford         EXPEDITION           RALEIGH                  NC
11750   1FMJU1JT6KEA29401   Ford         EXPEDITION           MIAMI                    FL
11751   1FMJU1JT6KEA29415   Ford         EXPEDITION           SACRAMENTO               CA
11752   1FMJU1JT6KEA29429   Ford         EXPEDITION           MIAMI                    FL
11753   1FMJU1JT6KEA29446   Ford         EXPEDITION           RALIEGH                  NC
11754   1FMJU1JT6KEA29477   Ford         EXPEDITION           SAN DIEGO                CA
11755   1FMJU1JT6KEA29740   Ford         EXPEDITION           SAN JOSE                 CA
11756   1FMJU1JT6KEA29768   Ford         EXPEDITION           Dallas                   TX
11757   1FMJU1JT6KEA29771   Ford         EXPEDITION           ATLANTA                  GA
11758   1FMJU1JT6KEA29852   Ford         EXPEDITION           KANSAS CITY              MO
11759   1FMJU1JT6KEA30953   Ford         EXPEDITION           Atlanta                  GA
11760   1FMJU1JT6KEA30967   Ford         EXPEDITION           KALISPELL                MT
11761   1FMJU1JT6KEA30984   Ford         EXPEDITION           Fredericksburg           VA
11762   1FMJU1JT6KEA30998   Ford         EXPEDITION           ORLANDO                  FL
11763   1FMJU1JT6KEA36378   Ford         EXPEDITION           Albuquerque              NM
11764   1FMJU1JT6KEA36395   Ford         EXPEDITION           ANCHORAGE                AK
11765   1FMJU1JT6KEA36400   Ford         EXPEDITION           KANSAS CITY              MO
11766   1FMJU1JT6KEA36414   Ford         EXPEDITION           PENSACOLA                FL
11767   1FMJU1JT6KEA36428   Ford         EXPEDITION           Fredericksburg           VA
11768   1FMJU1JT6KEA36431   Ford         EXPEDITION           RALEIGH                  NC
11769   1FMJU1JT6KEA36445   Ford         EXPEDITION           St. Louis                MO
11770   1FMJU1JT6KEA36459   Ford         EXPEDITION           San Antonio              TX
11771   1FMJU1JT6KEA36476   Ford         EXPEDITION           SAN ANTONIO              TX
11772   1FMJU1JT6KEA36509   Ford         EXPEDITION           DENVER                   CO
11773   1FMJU1JT6KEA36512   Ford         EXPEDITION           DALLAS                   TX
11774   1FMJU1JT6KEA36526   Ford         EXPEDITION           DAYTONA BEACH            FL
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11775   1FMJU1JT6KEA36543   Ford         EXPEDITION           Baltimore                MD
11776   1FMJU1JT6KEA36557   Ford         EXPEDITION           LAS VEGAS                NV
11777   1FMJU1JT6KEA36560   Ford         EXPEDITION           WEST PALM BEACH          FL
11778   1FMJU1JT6KEA36574   Ford         EXPEDITION           GRAND RAPIDS             MI
11779   1FMJU1JT6KEA36722   Ford         EXPEDITION           LOS ANGELES              CA
11780   1FMJU1JT6KEA36736   Ford         EXPEDITION           SOUTH SAN FRANC          CA
11781   1FMJU1JT6KEA36770   Ford         EXPEDITION           SAN ANTONIO              TX
11782   1FMJU1JT6KEA36784   Ford         EXPEDITION           BOSTON                   MA
11783   1FMJU1JT6KEA36798   Ford         EXPEDITION           WHITE PLAINS             NY
11784   1FMJU1JT6KEA36803   Ford         EXPEDITION           NORFOLK                  VA
11785   1FMJU1JT6KEA36848   Ford         EXPEDITION           Atlanta                  GA
11786   1FMJU1JT6KEA36865   Ford         EXPEDITION           MIAMI                    FL
11787   1FMJU1JT6KEA36882   Ford         EXPEDITION           DENVER                   CO
11788   1FMJU1JT6KEA36901   Ford         EXPEDITION           HARTFORD                 CT
11789   1FMJU1JT6KEA36915   Ford         EXPEDITION           ALBANY                   NY
11790   1FMJU1JT6KEA36977   Ford         EXPEDITION           DENVER                   CO
11791   1FMJU1JT6KEA36980   Ford         EXPEDITION           BURBANK                  CA
11792   1FMJU1JT6KEA37000   Ford         EXPEDITION           LAS VEGAS                NV
11793   1FMJU1JT6KEA37014   Ford         EXPEDITION           MIAMI                    FL
11794   1FMJU1JT6KEA37028   Ford         EXPEDITION           FORT LAUDERDALE          FL
11795   1FMJU1JT6KEA37076   Ford         EXPEDITION           OAKLAND                  CA
11796   1FMJU1JT6KEA37093   Ford         EXPEDITION           TAMPA                    FL
11797   1FMJU1JT6KEA37160   Ford         EXPEDITION           Philadelphia             PA
11798   1FMJU1JT6KEA37207   Ford         EXPEDITION           MOBILE                   A
11799   1FMJU1JT6KEA37210   Ford         EXPEDITION           PHOENIX                  AZ
11800   1FMJU1JT6KEA37224   Ford         EXPEDITION           WOODSON TERRACE          MO
11801   1FMJU1JT6KEA37238   Ford         EXPEDITION           STERLING                 US
11802   1FMJU1JT6KEA37241   Ford         EXPEDITION           GYPSUM                   CO
11803   1FMJU1JT6KEA37269   Ford         EXPEDITION           DENVER                   CO
11804   1FMJU1JT6KEA37272   Ford         EXPEDITION           DENVER                   CO
11805   1FMJU1JT6KEA37286   Ford         EXPEDITION           SALT LAKE CITY           US
11806   1FMJU1JT6KEA43895   Ford         EXPEDITION           WEST PALM BEACH          FL
11807   1FMJU1JT6KEA43914   Ford         EXPEDITION           HOUSTON                  TX
11808   1FMJU1JT6KEA43976   Ford         EXPEDITION           CHICAGO                  IL
11809   1FMJU1JT6KEA43993   Ford         EXPEDITION           EL SEGUNDO               CA
11810   1FMJU1JT6KEA44027   Ford         EXPEDITION           LOS ANGELES              CA
11811   1FMJU1JT6KEA44030   Ford         EXPEDITION           KANSAS CITY              MO
11812   1FMJU1JT6KEA44044   Ford         EXPEDITION           BURBANK                  CA
11813   1FMJU1JT6KEA44089   Ford         EXPEDITION           BURBANK                  CA
11814   1FMJU1JT6KEA44092   Ford         EXPEDITION           Fontana                  CA
11815   1FMJU1JT6KEA44108   Ford         EXPEDITION           Chicago                  IL
11816   1FMJU1JT6KEA44139   Ford         EXPEDITION           Los Angeles              CA
11817   1FMJU1JT6KEA44156   Ford         EXPEDITION           SALT LAKE CITY           US
11818   1FMJU1JT6KEA44173   Ford         EXPEDITION           SALT LAKE CITY           UT
11819   1FMJU1JT6KEA44187   Ford         EXPEDITION           SAN FRANCISCO            CA
11820   1FMJU1JT6KEA49437   Ford         EXPEDITION           PHILADELPHIA             PA
11821   1FMJU1JT6KEA49440   Ford         EXPEDITION           KENNER                   LA
11822   1FMJU1JT6KEA49454   Ford         EXPEDITION           OAKLAND                  CA
11823   1FMJU1JT6KEA49468   Ford         EXPEDITION           Rockville Centr          NY
11824   1FMJU1JT6KEA49471   Ford         EXPEDITION           Phoenix                  AZ
11825   1FMJU1JT6KEA49499   Ford         EXPEDITION           CHICAGO O'HARE AP        IL
11826   1FMJU1JT6KEA49504   Ford         EXPEDITION           HANOVER                  MD
11827   1FMJU1JT6KEA49518   Ford         EXPEDITION           RENO                     NV
11828   1FMJU1JT6KEA49521   Ford         EXPEDITION           LOS ANGELES              CA
11829   1FMJU1JT7HEA28976   Ford         EXPEDITION           TRACY                    CA
11830   1FMJU1JT7HEA29013   Ford         EXPEDITION           Santa Clara              CA
11831   1FMJU1JT7KEA29388   Ford         EXPEDITION           DETROIT                  MI
11832   1FMJU1JT7KEA29407   Ford         EXPEDITION           LOS ANGELES              CA
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11833   1FMJU1JT7KEA29410   Ford         EXPEDITION           SAN JOSE                 CA
11834   1FMJU1JT7KEA29424   Ford         EXPEDITION           DETROIT                  MI
11835   1FMJU1JT7KEA29441   Ford         EXPEDITION           ATLANTA                  GA
11836   1FMJU1JT7KEA29729   Ford         EXPEDITION           Denver                   CO
11837   1FMJU1JT7KEA29732   Ford         EXPEDITION           SAN JOSE                 CA
11838   1FMJU1JT7KEA29763   Ford         EXPEDITION           Atlanta                  GA
11839   1FMJU1JT7KEA29777   Ford         EXPEDITION           PHOENIX                  AZ
11840   1FMJU1JT7KEA30945   Ford         EXPEDITION           RALIEGH                  NC
11841   1FMJU1JT7KEA30959   Ford         EXPEDITION           LOS ANGELES              CA
11842   1FMJU1JT7KEA30962   Ford         EXPEDITION           SARASOTA                 FL
11843   1FMJU1JT7KEA30976   Ford         EXPEDITION           Atlanta                  GA
11844   1FMJU1JT7KEA30993   Ford         EXPEDITION           Tolleson                 AZ
11845   1FMJU1JT7KEA36390   Ford         EXPEDITION           ANCHORAGE                AK
11846   1FMJU1JT7KEA36406   Ford         EXPEDITION           CHARLOTTE                NC
11847   1FMJU1JT7KEA36423   Ford         EXPEDITION           RICHMOND                 VA
11848   1FMJU1JT7KEA36437   Ford         EXPEDITION           WEST PALM BEACH          FL
11849   1FMJU1JT7KEA36440   Ford         EXPEDITION           AUSTIN                   TX
11850   1FMJU1JT7KEA36454   Ford         EXPEDITION           SAINT LOUIS              MO
11851   1FMJU1JT7KEA36468   Ford         EXPEDITION           MANHATTAN                NY
11852   1FMJU1JT7KEA36471   Ford         EXPEDITION           MCALLEN                  TX
11853   1FMJU1JT7KEA36485   Ford         EXPEDITION           SAINT LOUIS              MO
11854   1FMJU1JT7KEA36499   Ford         EXPEDITION           HOUSTON                  TX
11855   1FMJU1JT7KEA36504   Ford         EXPEDITION           EL PASO                  TX
11856   1FMJU1JT7KEA36521   Ford         EXPEDITION           DALLAS                   TX
11857   1FMJU1JT7KEA36535   Ford         EXPEDITION           Chicago                  IL
11858   1FMJU1JT7KEA36549   Ford         EXPEDITION           CHICAGO                  IL
11859   1FMJU1JT7KEA36552   Ford         EXPEDITION           MEDINA                   OH
11860   1FMJU1JT7KEA36583   Ford         EXPEDITION           STERLING                 VA
11861   1FMJU1JT7KEA36728   Ford         EXPEDITION           SAN DIEGO                CA
11862   1FMJU1JT7KEA36731   Ford         EXPEDITION           Tulsa                    OK
11863   1FMJU1JT7KEA36745   Ford         EXPEDITION           TAMPA                    FL
11864   1FMJU1JT7KEA36776   Ford         EXPEDITION           TAMPA                    FL
11865   1FMJU1JT7KEA36793   Ford         EXPEDITION           WEST PALM BEACH          FL
11866   1FMJU1JT7KEA36809   Ford         EXPEDITION           TAMPA                    FL
11867   1FMJU1JT7KEA36843   Ford         EXPEDITION           ORLANDO                  FL
11868   1FMJU1JT7KEA36857   Ford         EXPEDITION           SYRACUSE                 NY
11869   1FMJU1JT7KEA36860   Ford         EXPEDITION           DALLAS                   TX
11870   1FMJU1JT7KEA36874   Ford         EXPEDITION           KANSAS CITY              MO
11871   1FMJU1JT7KEA36888   Ford         EXPEDITION           SAVANNAH                 GA
11872   1FMJU1JT7KEA36891   Ford         EXPEDITION           Atlanta                  GA
11873   1FMJU1JT7KEA36907   Ford         EXPEDITION           NEW YORK CITY            NY
11874   1FMJU1JT7KEA36910   Ford         EXPEDITION           SANTA BARBARA            CA
11875   1FMJU1JT7KEA36938   Ford         EXPEDITION           LAS VEGAS                NV
11876   1FMJU1JT7KEA36941   Ford         EXPEDITION           PHOENIX                  AZ
11877   1FMJU1JT7KEA36955   Ford         EXPEDITION           BOISE                    US
11878   1FMJU1JT7KEA36969   Ford         EXPEDITION           LOS ANGELES              CA
11879   1FMJU1JT7KEA37006   Ford         EXPEDITION           SALT LAKE CITY           US
11880   1FMJU1JT7KEA37023   Ford         EXPEDITION           DALLAS                   TX
11881   1FMJU1JT7KEA37085   Ford         EXPEDITION           LAS VEGAS                NV
11882   1FMJU1JT7KEA37099   Ford         EXPEDITION           SANTA ANA                CA
11883   1FMJU1JT7KEA37104   Ford         EXPEDITION           seatac                   wa
11884   1FMJU1JT7KEA37152   Ford         EXPEDITION           DETROIT                  MI
11885   1FMJU1JT7KEA37197   Ford         EXPEDITION           Warminster               PA
11886   1FMJU1JT7KEA37202   Ford         EXPEDITION           BOSTON                   MA
11887   1FMJU1JT7KEA37216   Ford         EXPEDITION           PENSACOLA                FL
11888   1FMJU1JT7KEA37247   Ford         EXPEDITION           OAKLAND                  CA
11889   1FMJU1JT7KEA37250   Ford         EXPEDITION           SHREVEPORT               LA
11890   1FMJU1JT7KEA37264   Ford         EXPEDITION           MIAMI                    FL
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11891   1FMJU1JT7KEA38995   Ford         EXPEDITION           DETROIT                  MI
11892   1FMJU1JT7KEA39001   Ford         EXPEDITION           Ft. Myers                FL
11893   1FMJU1JT7KEA43968   Ford         EXPEDITION           DENVER                   CO
11894   1FMJU1JT7KEA43971   Ford         EXPEDITION           ONTARIO                  CA
11895   1FMJU1JT7KEA43985   Ford         EXPEDITION           LOS ANGELES              CA
11896   1FMJU1JT7KEA43999   Ford         EXPEDITION           Mt. Juliet               TN
11897   1FMJU1JT7KEA44019   Ford         EXPEDITION           TRACY                    CA
11898   1FMJU1JT7KEA44022   Ford         EXPEDITION           LOS ANGELES              CA
11899   1FMJU1JT7KEA44036   Ford         EXPEDITION           BURBANK                  CA
11900   1FMJU1JT7KEA44098   Ford         EXPEDITION           Reno                     NV
11901   1FMJU1JT7KEA44103   Ford         EXPEDITION           DENVER                   CO
11902   1FMJU1JT7KEA44117   Ford         EXPEDITION           Riverside                CA
11903   1FMJU1JT7KEA44120   Ford         EXPEDITION           MONTEREY                 CA
11904   1FMJU1JT7KEA44148   Ford         EXPEDITION           Fontana                  CA
11905   1FMJU1JT7KEA44151   Ford         EXPEDITION           SEATAC                   WA
11906   1FMJU1JT7KEA44165   Ford         EXPEDITION           SAN JOSE                 CA
11907   1FMJU1JT7KEA44182   Ford         EXPEDITION           Tolleson                 AZ
11908   1FMJU1JT7KEA49401   Ford         EXPEDITION           DETROIT                  MI
11909   1FMJU1JT7KEA49415   Ford         EXPEDITION           Fredericksburg           VA
11910   1FMJU1JT7KEA49429   Ford         EXPEDITION           ORLANDO                  FL
11911   1FMJU1JT7KEA49480   Ford         EXPEDITION           DETROIT                  MI
11912   1FMJU1JT7KEA49494   Ford         EXPEDITION           SALT LAKE CITY           US
11913   1FMJU1JT7KEA49527   Ford         EXPEDITION           DENVER                   CO
11914   1FMJU1JT8HEA28968   Ford         EXPEDITION           TRACY                    CA
11915   1FMJU1JT8HEA28971   Ford         EXPEDITION           Hayward                  CA
11916   1FMJU1JT8HEA28985   Ford         EXPEDITION           Fontana                  CA
11917   1FMJU1JT8HEA29019   Ford         EXPEDITION           Portland                 OR
11918   1FMJU1JT8KEA29352   Ford         EXPEDITION           Rio Linda                CA
11919   1FMJU1JT8KEA29366   Ford         EXPEDITION           KNOXVILLE                TN
11920   1FMJU1JT8KEA29383   Ford         EXPEDITION           TAMPA                    FL
11921   1FMJU1JT8KEA29397   Ford         EXPEDITION           WEST PALM BEACH          FL
11922   1FMJU1JT8KEA29402   Ford         EXPEDITION           TAMPA                    FL
11923   1FMJU1JT8KEA29416   Ford         EXPEDITION           DALLAS                   TX
11924   1FMJU1JT8KEA29433   Ford         EXPEDITION           ST. SIMONS ISLAND        GA
11925   1FMJU1JT8KEA29450   Ford         EXPEDITION           FORT LAUDERDALE          FL
11926   1FMJU1JT8KEA29478   Ford         EXPEDITION           SALT LAKE CITY           US
11927   1FMJU1JT8KEA29481   Ford         EXPEDITION           STERLING                 VA
11928   1FMJU1JT8KEA29738   Ford         EXPEDITION           Miami                    FL
11929   1FMJU1JT8KEA29741   Ford         EXPEDITION           SAN FRANCISCO            CA
11930   1FMJU1JT8KEA29755   Ford         EXPEDITION           MIAMI                    FL
11931   1FMJU1JT8KEA29769   Ford         EXPEDITION           DETROIT                  MI
11932   1FMJU1JT8KEA29772   Ford         EXPEDITION           BALTIMORE                MD
11933   1FMJU1JT8KEA30940   Ford         EXPEDITION           Aurora                   CO
11934   1FMJU1JT8KEA30968   Ford         EXPEDITION           PALM SPRINGS             CA
11935   1FMJU1JT8KEA30985   Ford         EXPEDITION           LOS ANGELES              CA
11936   1FMJU1JT8KEA36382   Ford         EXPEDITION           CHICAGO O'HARE AP        IL
11937   1FMJU1JT8KEA36396   Ford         EXPEDITION           ANCHORAGE                AK
11938   1FMJU1JT8KEA36415   Ford         EXPEDITION           Savannah                 GA
11939   1FMJU1JT8KEA36429   Ford         EXPEDITION           MILWAUKEE                WI
11940   1FMJU1JT8KEA36432   Ford         EXPEDITION           COLUMBIA                 SC
11941   1FMJU1JT8KEA36446   Ford         EXPEDITION           Slidell                  LA
11942   1FMJU1JT8KEA36463   Ford         EXPEDITION           OKLAHOMA CITY            OK
11943   1FMJU1JT8KEA36477   Ford         EXPEDITION           CORPUS CHRISTI           TX
11944   1FMJU1JT8KEA36480   Ford         EXPEDITION           Kansas City              MO
11945   1FMJU1JT8KEA36513   Ford         EXPEDITION           SANTA ANA                CA
11946   1FMJU1JT8KEA36527   Ford         EXPEDITION           Houston                  TX
11947   1FMJU1JT8KEA36544   Ford         EXPEDITION           HOUSTON                  TX
11948   1FMJU1JT8KEA36558   Ford         EXPEDITION           MONTCLAIR                CA
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11949   1FMJU1JT8KEA36561   Ford         EXPEDITION           ALEXANDRIA               VA
11950   1FMJU1JT8KEA36723   Ford         EXPEDITION           SAN FRANCISCO            CA
11951   1FMJU1JT8KEA36737   Ford         EXPEDITION           PHILADELPHIA             PA
11952   1FMJU1JT8KEA36768   Ford         EXPEDITION           LOUISVILLE               KY
11953   1FMJU1JT8KEA36835   Ford         EXPEDITION           WEST PALM BEACH          FL
11954   1FMJU1JT8KEA36849   Ford         EXPEDITION           ATLANTA                  GA
11955   1FMJU1JT8KEA36852   Ford         EXPEDITION           ORLANDO                  FL
11956   1FMJU1JT8KEA36866   Ford         EXPEDITION           CLEVELAND                OH
11957   1FMJU1JT8KEA36883   Ford         EXPEDITION           FORT LAUDERDALE          FL
11958   1FMJU1JT8KEA36897   Ford         EXPEDITION           NEWARK                   NJ
11959   1FMJU1JT8KEA36916   Ford         EXPEDITION           West Mifflin             PA
11960   1FMJU1JT8KEA36995   Ford         EXPEDITION           PORTLAND                 OR
11961   1FMJU1JT8KEA37015   Ford         EXPEDITION           FEDERAL WAY              WA
11962   1FMJU1JT8KEA37080   Ford         EXPEDITION           Miami                    FL
11963   1FMJU1JT8KEA37094   Ford         EXPEDITION           LOS ANGELES              CA
11964   1FMJU1JT8KEA37158   Ford         EXPEDITION           MIAMI                    FL
11965   1FMJU1JT8KEA37161   Ford         EXPEDITION           Austin                   TX
11966   1FMJU1JT8KEA37208   Ford         EXPEDITION           SAN FRANCISCO            CA
11967   1FMJU1JT8KEA37211   Ford         EXPEDITION           SAVANNAH                 GA
11968   1FMJU1JT8KEA37225   Ford         EXPEDITION           FORT LAUDERDALE          FL
11969   1FMJU1JT8KEA37239   Ford         EXPEDITION           WEST COLUMBIA            SC
11970   1FMJU1JT8KEA37242   Ford         EXPEDITION           Clarksville              IN
11971   1FMJU1JT8KEA37273   Ford         EXPEDITION           DENVER                   CO
11972   1FMJU1JT8KEA37287   Ford         EXPEDITION           PITTSBURGH               PA
11973   1FMJU1JT8KEA38990   Ford         EXPEDITION           MILWAUKEE                WI
11974   1FMJU1JT8KEA39007   Ford         EXPEDITION           CHICAGO O'HARE AP        IL
11975   1FMJU1JT8KEA39010   Ford         EXPEDITION           JACKSONVILLE             FL
11976   1FMJU1JT8KEA43896   Ford         EXPEDITION           SANTA ANA                CA
11977   1FMJU1JT8KEA43915   Ford         EXPEDITION           Aurora                   CO
11978   1FMJU1JT8KEA43977   Ford         EXPEDITION           WEST COLUMBIA            SC
11979   1FMJU1JT8KEA43994   Ford         EXPEDITION           SALT LAKE CITY           UT
11980   1FMJU1JT8KEA44028   Ford         EXPEDITION           LAS VEGAS                NV
11981   1FMJU1JT8KEA44031   Ford         EXPEDITION           REDDING                  CA
11982   1FMJU1JT8KEA44093   Ford         EXPEDITION           San Diego                CA
11983   1FMJU1JT8KEA44109   Ford         EXPEDITION           SACRAMENTO               CA
11984   1FMJU1JT8KEA44126   Ford         EXPEDITION           LAS VEGAS                NV
11985   1FMJU1JT8KEA44143   Ford         EXPEDITION           LAS VEGAS                NV
11986   1FMJU1JT8KEA44174   Ford         EXPEDITION           TAMPA                    FL
11987   1FMJU1JT8KEA44188   Ford         EXPEDITION           OAKLAND                  CA
11988   1FMJU1JT8KEA44191   Ford         EXPEDITION           Tolleson                 AZ
11989   1FMJU1JT8KEA49407   Ford         EXPEDITION           PORTLAND                 ME
11990   1FMJU1JT8KEA49410   Ford         EXPEDITION           DETROIT                  MI
11991   1FMJU1JT8KEA49424   Ford         EXPEDITION           HARTFORD                 CT
11992   1FMJU1JT8KEA49438   Ford         EXPEDITION           DALLAS                   TX
11993   1FMJU1JT8KEA49441   Ford         EXPEDITION           OAKLAND                  CA
11994   1FMJU1JT8KEA49455   Ford         EXPEDITION           INGLEWOOD                CA
11995   1FMJU1JT8KEA49469   Ford         EXPEDITION           CHARLOTTE                NC
11996   1FMJU1JT8KEA49472   Ford         EXPEDITION           PROVIDENCE               RI
11997   1FMJU1JT8KEA49505   Ford         EXPEDITION           OKLAHOMA CITY            OK
11998   1FMJU1JT8KEA49519   Ford         EXPEDITION           SALT LAKE CITY           UT
11999   1FMJU1JT8KEA49522   Ford         EXPEDITION           DENVER                   CO
12000   1FMJU1JT9HEA29014   Ford         EXPEDITION           Hayward                  CA
12001   1FMJU1JT9HEA29028   Ford         EXPEDITION           Rio Linda                CA
12002   1FMJU1JT9HEA29031   Ford         EXPEDITION           Hayward                  CA
12003   1FMJU1JT9KEA29358   Ford         EXPEDITION           RICHMOND                 VA
12004   1FMJU1JT9KEA29361   Ford         EXPEDITION           DENVER                   CO
12005   1FMJU1JT9KEA29392   Ford         EXPEDITION           DENVER                   CO
12006   1FMJU1JT9KEA29408   Ford         EXPEDITION           LOS ANGELES              CA
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12007   1FMJU1JT9KEA29411   Ford         EXPEDITION           SAN JOSE                 CA
12008   1FMJU1JT9KEA29425   Ford         EXPEDITION           Rockville Centr          NY
12009   1FMJU1JT9KEA29733   Ford         EXPEDITION           TUCSON                   AZ
12010   1FMJU1JT9KEA29750   Ford         EXPEDITION           LUBBOCK                  TX
12011   1FMJU1JT9KEA29764   Ford         EXPEDITION           ROCHESTER                NY
12012   1FMJU1JT9KEA30946   Ford         EXPEDITION           OKLAHOMA CITY            OK
12013   1FMJU1JT9KEA30963   Ford         EXPEDITION           Riverside                CA
12014   1FMJU1JT9KEA30977   Ford         EXPEDITION           WHITE PLAINS             NY
12015   1FMJU1JT9KEA30994   Ford         EXPEDITION           Teterboro                NJ
12016   1FMJU1JT9KEA36388   Ford         EXPEDITION           ANCHORAGE                AK
12017   1FMJU1JT9KEA36407   Ford         EXPEDITION           HOUSTON                  TX
12018   1FMJU1JT9KEA36410   Ford         EXPEDITION           Atlanta                  GA
12019   1FMJU1JT9KEA36424   Ford         EXPEDITION           KENNER                   LA
12020   1FMJU1JT9KEA36438   Ford         EXPEDITION           CORPUS CHRISTI           TX
12021   1FMJU1JT9KEA36441   Ford         EXPEDITION           PHILADELPHIA             PA
12022   1FMJU1JT9KEA36469   Ford         EXPEDITION           NEW BERN                 NC
12023   1FMJU1JT9KEA36505   Ford         EXPEDITION           Killeen                  TX
12024   1FMJU1JT9KEA36519   Ford         EXPEDITION           PENSACOLA                FL
12025   1FMJU1JT9KEA36522   Ford         EXPEDITION           BOISE                    ID
12026   1FMJU1JT9KEA36536   Ford         EXPEDITION           MIAMI                    FL
12027   1FMJU1JT9KEA36553   Ford         EXPEDITION           SOUTHEAST DST OFFC       OK
12028   1FMJU1JT9KEA36567   Ford         EXPEDITION           TAMPA                    FL
12029   1FMJU1JT9KEA36570   Ford         EXPEDITION           BOSTON                   MA
12030   1FMJU1JT9KEA36651   Ford         EXPEDITION           HILO                     HI
12031   1FMJU1JT9KEA36679   Ford         EXPEDITION           HOUSTON                  TX
12032   1FMJU1JT9KEA36682   Ford         EXPEDITION           HOUSTON                  TX
12033   1FMJU1JT9KEA36729   Ford         EXPEDITION           LOS ANGELES              CA
12034   1FMJU1JT9KEA36746   Ford         EXPEDITION           FT LAUDERDALE            FL
12035   1FMJU1JT9KEA36777   Ford         EXPEDITION           KENNER                   LA
12036   1FMJU1JT9KEA36794   Ford         EXPEDITION           NEWARK                   NJ
12037   1FMJU1JT9KEA36827   Ford         EXPEDITION           FORT MYERS               FL
12038   1FMJU1JT9KEA36830   Ford         EXPEDITION           TAMPA                    FL
12039   1FMJU1JT9KEA36844   Ford         EXPEDITION           JACKSONVILLE             FL
12040   1FMJU1JT9KEA36858   Ford         EXPEDITION           NASHVILLE                TN
12041   1FMJU1JT9KEA36861   Ford         EXPEDITION           NEW YORK CITY            NY
12042   1FMJU1JT9KEA36889   Ford         EXPEDITION           BIRMINGHAM               AL
12043   1FMJU1JT9KEA36892   Ford         EXPEDITION           ORLANDO                  FL
12044   1FMJU1JT9KEA36908   Ford         EXPEDITION           Manheim                  PA
12045   1FMJU1JT9KEA36942   Ford         EXPEDITION           LAS VEGAS                NV
12046   1FMJU1JT9KEA36956   Ford         EXPEDITION           GYPSUM                   CO
12047   1FMJU1JT9KEA36973   Ford         EXPEDITION           Rio Linda                CA
12048   1FMJU1JT9KEA37007   Ford         EXPEDITION           SEATAC                   WA
12049   1FMJU1JT9KEA37105   Ford         EXPEDITION           Fontana                  CA
12050   1FMJU1JT9KEA37153   Ford         EXPEDITION           TAMPA                    US
12051   1FMJU1JT9KEA37167   Ford         EXPEDITION           WEST PALM BEACH          FL
12052   1FMJU1JT9KEA37198   Ford         EXPEDITION           STERLING                 VA
12053   1FMJU1JT9KEA37203   Ford         EXPEDITION           Elkridge                 MD
12054   1FMJU1JT9KEA37220   Ford         EXPEDITION           ATLANTA                  GA
12055   1FMJU1JT9KEA37248   Ford         EXPEDITION           Baltimore                MD
12056   1FMJU1JT9KEA37265   Ford         EXPEDITION           DENVER                   CO
12057   1FMJU1JT9KEA37279   Ford         EXPEDITION           PITTSBURGH               PA
12058   1FMJU1JT9KEA37282   Ford         EXPEDITION           NEW YORK CITY            NY
12059   1FMJU1JT9KEA38996   Ford         EXPEDITION           AUSTIN                   TX
12060   1FMJU1JT9KEA39078   Ford         EXPEDITION           AUGUSTA                  GA
12061   1FMJU1JT9KEA43910   Ford         EXPEDITION           HOUSTON IAH AP           TX
12062   1FMJU1JT9KEA43969   Ford         EXPEDITION           SANTA CLARA              CA
12063   1FMJU1JT9KEA43972   Ford         EXPEDITION           LAS VEGAS                NV
12064   1FMJU1JT9KEA44040   Ford         EXPEDITION           Atlanta                  GA
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12065   1FMJU1JT9KEA44085   Ford        EXPEDITION           WESTERN DIST OFFC        OK
12066   1FMJU1JT9KEA44099   Ford        EXPEDITION           GRAND RAPIDS             MI
12067   1FMJU1JT9KEA44104   Ford        EXPEDITION           Dallas                   TX
12068   1FMJU1JT9KEA44135   Ford        EXPEDITION           SALT LAKE CITY           UT
12069   1FMJU1JT9KEA44149   Ford        EXPEDITION           SEATAC                   WA
12070   1FMJU1JT9KEA44152   Ford        EXPEDITION           Fontana                  CA
12071   1FMJU1JT9KEA44166   Ford        EXPEDITION           FRESNO                   CA
12072   1FMJU1JT9KEA44183   Ford        EXPEDITION           LAS VEGAS                NV
12073   1FMJU1JT9KEA49402   Ford        EXPEDITION           PLAINFIELD               NJ
12074   1FMJU1JT9KEA49433   Ford        EXPEDITION           LITTLE ROCK              AR
12075   1FMJU1JT9KEA49447   Ford        EXPEDITION           BOSTON                   MA
12076   1FMJU1JT9KEA49450   Ford        EXPEDITION           Tucson                   AZ
12077   1FMJU1JT9KEA49478   Ford        EXPEDITION           CLEVELAND                OH
12078   1FMJU1JT9KEA49481   Ford        EXPEDITION           Woodhaven                MI
12079   1FMJU1JT9KEA49500   Ford        EXPEDITION           Manheim                  PA
12080   1FMJU1JT9KEA49531   Ford        EXPEDITION           DENVER                   CO
12081   1FMJU1JTXHEA29023   Ford        EXPEDITION           Hayward                  CA
12082   1FMJU1JTXHEA29054   Ford        EXPEDITION           Portland                 OR
12083   1FMJU1JTXKEA29370   Ford        EXPEDITION           PORTLAND                 ME
12084   1FMJU1JTXKEA29398   Ford        EXPEDITION           BIRMINGHAM               AL
12085   1FMJU1JTXKEA29403   Ford        EXPEDITION           HOUSTON                  TX
12086   1FMJU1JTXKEA29417   Ford        EXPEDITION           WEST PALM BEACH          FL
12087   1FMJU1JTXKEA29434   Ford        EXPEDITION           TAMPA                    FL
12088   1FMJU1JTXKEA29448   Ford        EXPEDITION           RONKONKOMA               NY
12089   1FMJU1JTXKEA29739   Ford        EXPEDITION           SAN FRANCISCO            CA
12090   1FMJU1JTXKEA29773   Ford        EXPEDITION           MIAMI                    FL
12091   1FMJU1JTXKEA30938   Ford        EXPEDITION           GYPSUM                   CO
12092   1FMJU1JTXKEA30941   Ford        EXPEDITION           Aurora                   CO
12093   1FMJU1JTXKEA30955   Ford        EXPEDITION           EL PASO                  TX
12094   1FMJU1JTXKEA30969   Ford        EXPEDITION           DENVER                   CO
12095   1FMJU1JTXKEA30972   Ford        EXPEDITION           Framingham               MA
12096   1FMJU1JTXKEA36397   Ford        EXPEDITION           FORT LAUDERDALE          FL
12097   1FMJU1JTXKEA36402   Ford        EXPEDITION           FORT LAUDERDALE          FL
12098   1FMJU1JTXKEA36416   Ford        EXPEDITION           WEST PALM BEACH          FL
12099   1FMJU1JTXKEA36433   Ford        EXPEDITION           Lake Elsinore            CA
12100   1FMJU1JTXKEA36447   Ford        EXPEDITION           DALLAS                   TX
12101   1FMJU1JTXKEA36478   Ford        EXPEDITION           ALEXANDRIA               VA
12102   1FMJU1JTXKEA36481   Ford        EXPEDITION           RONKONKOMA               NY
12103   1FMJU1JTXKEA36500   Ford        EXPEDITION           CHICAGO O'HARE AP        IL
12104   1FMJU1JTXKEA36514   Ford        EXPEDITION           NEW BERN                 NC
12105   1FMJU1JTXKEA36528   Ford        EXPEDITION           Hayward                  CA
12106   1FMJU1JTXKEA36545   Ford        EXPEDITION           WHITE PLAINS             NY
12107   1FMJU1JTXKEA36559   Ford        EXPEDITION           MOBILE                   A
12108   1FMJU1JTXKEA36562   Ford        EXPEDITION           DETROIT                  MI
12109   1FMJU1JTXKEA36643   Ford        EXPEDITION           HILO                     HI
12110   1FMJU1JTXKEA36724   Ford        EXPEDITION           SAN DIEGO                CA
12111   1FMJU1JTXKEA36738   Ford        EXPEDITION           ATLANTA                  GA
12112   1FMJU1JTXKEA36772   Ford        EXPEDITION           STERLING                 VA
12113   1FMJU1JTXKEA36805   Ford        EXPEDITION           Burien                   WA
12114   1FMJU1JTXKEA36836   Ford        EXPEDITION           MIAMI                    FL
12115   1FMJU1JTXKEA36853   Ford        EXPEDITION           FORT LAUDERDALE          FL
12116   1FMJU1JTXKEA36867   Ford        EXPEDITION           LAKEWOOD                 WA
12117   1FMJU1JTXKEA36870   Ford        EXPEDITION           TAMPA                    FL
12118   1FMJU1JTXKEA36884   Ford        EXPEDITION           ORLANDO                  FL
12119   1FMJU1JTXKEA36898   Ford        EXPEDITION           COLLEGE PARK             GA
12120   1FMJU1JTXKEA36917   Ford        EXPEDITION           WARWICK                  RI
12121   1FMJU1JTXKEA36934   Ford        EXPEDITION           Burien                   WA
12122   1FMJU1JTXKEA36965   Ford        EXPEDITION           SEATAC                   WA
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12123   1FMJU1JTXKEA36979   Ford        EXPEDITION           TRACY                    CA
12124   1FMJU1JTXKEA37002   Ford        EXPEDITION           Portland                 OR
12125   1FMJU1JTXKEA37016   Ford        EXPEDITION           SACRAMENTO               CA
12126   1FMJU1JTXKEA37078   Ford        EXPEDITION           SAN FRANCISCO            CA
12127   1FMJU1JTXKEA37081   Ford        EXPEDITION           SAN FRANCISCO            CA
12128   1FMJU1JTXKEA37095   Ford        EXPEDITION           LAS VEGAS                NV
12129   1FMJU1JTXKEA37100   Ford        EXPEDITION           Fontana                  CA
12130   1FMJU1JTXKEA37159   Ford        EXPEDITION           WEST PALM BEACH          FL
12131   1FMJU1JTXKEA37162   Ford        EXPEDITION           ATLANTA                  GA
12132   1FMJU1JTXKEA37209   Ford        EXPEDITION           PHILADELPHIA             PA
12133   1FMJU1JTXKEA37212   Ford        EXPEDITION           PITTSBURGH               PA
12134   1FMJU1JTXKEA37243   Ford        EXPEDITION           KENNER                   LA
12135   1FMJU1JTXKEA37274   Ford        EXPEDITION           PALM SPRINGS             CA
12136   1FMJU1JTXKEA37288   Ford        EXPEDITION           KINGSPORT‐TRI CITY       TN
12137   1FMJU1JTXKEA38991   Ford        EXPEDITION           San Diego                CA
12138   1FMJU1JTXKEA39011   Ford        EXPEDITION           BOSTON                   MA
12139   1FMJU1JTXKEA43916   Ford        EXPEDITION           LOS ANGELES              CA
12140   1FMJU1JTXKEA43978   Ford        EXPEDITION           FRESNO                   CA
12141   1FMJU1JTXKEA43995   Ford        EXPEDITION           Miami                    FL
12142   1FMJU1JTXKEA44046   Ford        EXPEDITION           LOS ANGELES              CA
12143   1FMJU1JTXKEA44077   Ford        EXPEDITION           SALT LAKE CITY           US
12144   1FMJU1JTXKEA44080   Ford        EXPEDITION           DETROIT                  MI
12145   1FMJU1JTXKEA44113   Ford        EXPEDITION           Cedar Rapids             IA
12146   1FMJU1JTXKEA44127   Ford        EXPEDITION           Riverside                CA
12147   1FMJU1JTXKEA44130   Ford        EXPEDITION           LOUISVILLE               KY
12148   1FMJU1JTXKEA44144   Ford        EXPEDITION           Manheim                  PA
12149   1FMJU1JTXKEA44161   Ford        EXPEDITION           SEATAC                   WA
12150   1FMJU1JTXKEA44189   Ford        EXPEDITION           CHARLOTTE                NC
12151   1FMJU1JTXKEA49408   Ford        EXPEDITION           RICHMOND                 VA
12152   1FMJU1JTXKEA49411   Ford        EXPEDITION           NEW BERN                 NC
12153   1FMJU1JTXKEA49425   Ford        EXPEDITION           SAN ANTONIO              TX
12154   1FMJU1JTXKEA49439   Ford        EXPEDITION           MEMPHIS                  TN
12155   1FMJU1JTXKEA49442   Ford        EXPEDITION           LOS ANGELES              CA
12156   1FMJU1JTXKEA49456   Ford        EXPEDITION           LAS VEGAS                NV
12157   1FMJU1JTXKEA49473   Ford        EXPEDITION           ALBANY                   NY
12158   1FMJU1JTXKEA49506   Ford        EXPEDITION           WINDSOR LOCKS            CT
12159   1FMJU1JTXKEA49523   Ford        EXPEDITION           DENVER                   CO
12160   1FMSK8DH5LGB83324   Ford        EXPLORER             Elgin                    IL
12161   1FT7W2B60KEE43569   Ford        F250                 BOISE                    US
12162   1FT7W2B61KEE43578   Ford        F250                 SAINT PAUL               MN
12163   1FT7W2B61KEE43581   Ford        F250                 Des Moines               IA
12164   1FT7W2B63KEE43582   Ford        F250                 SAINT PAUL               MN
12165   1FT7W2B65KEE43583   Ford        F250                 SAINT PAUL               MN
12166   1FT7W2B67KEE43567   Ford        F250                 BOISE                    US
12167   1FT7W2B67KEE43570   Ford        F250                 SAINT PAUL               MN
12168   1FT7W2B67KEE43584   Ford        F250                 Maple Grove              MN
12169   1FT7W2B69KEE43585   Ford        F250                 SAINT PAUL               MN
12170   1FT7W2B6XKEE43580   Ford        F250                 SAINT PAUL               MN
12171   1FTEW1E40LFA20207   Ford        F150                 Union City               GA
12172   1FTEW1E40LFA20367   Ford        F150                 HOUSTON                  TX
12173   1FTEW1E40LFA20370   Ford        F150                 Harvey                   LA
12174   1FTEW1E41LFA20202   Ford        F150                 Atlanta                  GA
12175   1FTEW1E41LFA20247   Ford        F150                 DALLAS                   TX
12176   1FTEW1E41LFA20250   Ford        F150                 DALLAS                   TX
12177   1FTEW1E41LFA20376   Ford        F150                 NEW ORLEANS              LA
12178   1FTEW1E41LFA20569   Ford        F150                 FORT MYERS               FL
12179   1FTEW1E42LFA20466   Ford        F150                 Tampa                    FL
12180   1FTEW1E42LFA20533   Ford        F150                 TUCSON                   AZ
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12181   1FTEW1E43LFA20265   Ford        F150                 DALLAS                   TX
12182   1FTEW1E43LFA20377   Ford        F150                 EL PASO                  TX
12183   1FTEW1E43LFA20542   Ford        F150                 PHOENIX                  AZ
12184   1FTEW1E44LFA20243   Ford        F150                 SAN ANTONIO              TX
12185   1FTEW1E44LFA20341   Ford        F150                 DALLAS                   TX
12186   1FTEW1E44LKD02440   Ford        F150                 AUSTIN                   TX
12187   1FTEW1E45LFA20204   Ford        F150                 ATLANTA                  GA
12188   1FTEW1E45LFA20364   Ford        F150                 Corpus Christi           TX
12189   1FTEW1E45LFA20445   Ford        F150                 JACKSONVILLE             FL
12190   1FTEW1E46LFA20342   Ford        F150                 DENVER                   CO
12191   1FTEW1E46LFA20437   Ford        F150                 ORLANDO                  FL
12192   1FTEW1E47LFA20270   Ford        F150                 DALLAS                   TX
12193   1FTEW1E47LFA20348   Ford        F150                 HOUSTON                  TX
12194   1FTEW1E47LFA20494   Ford        F150                 ORLANDO                  FL
12195   1FTEW1E47LFA20544   Ford        F150                 PHOENIX                  AZ
12196   1FTEW1E48LFA20262   Ford        F150                 MIDLAND                  TX
12197   1FTEW1E48LFA20486   Ford        F150                 Atlanta                  GA
12198   1FTEW1E49LFA20352   Ford        F150                 JACKSONVILLE             FL
12199   1FTEW1E49LFA20366   Ford        F150                 NEW ORLEANS              LA
12200   1FTEW1E49LFA20545   Ford        F150                 PHOENIX                  AZ
12201   1FTEW1E4XLFA20215   Ford        F150                 Atlanta                  GA
12202   1FTEW1E4XLFA20263   Ford        F150                 DFW AIRPORT              TX
12203   1FTEW1E4XLFA20537   Ford        F150                 Tolleson                 AZ
12204   1FTEW1E4XLFA20571   Ford        F150                 BOSTON                   MA
12205   1FTEW1E50JKD82292   Ford        F150                 SEATAC                   WA
12206   1FTEW1E50KFA68796   Ford        F150                 ORLANDO                  FL
12207   1FTEW1E50KFA68958   Ford        F150                 BUFFALO                  NY
12208   1FTEW1E50KFB21271   Ford        F150                 Roanoke                  VA
12209   1FTEW1E50KFB50589   Ford        F150                 BUFFALO                  NY
12210   1FTEW1E50KFB50592   Ford        F150                 JACKSONVILLE             FL
12211   1FTEW1E50KFC09527   Ford        F150                 BOSTON                   MA
12212   1FTEW1E50KFC09530   Ford        F150                 BOSTON                   MA
12213   1FTEW1E50KFC09575   Ford        F150                 Houston                  TX
12214   1FTEW1E50KFC09592   Ford        F150                 PHILADELPHIA             US
12215   1FTEW1E50KKC04660   Ford        F150                 SEATTLE                  WA
12216   1FTEW1E50KKC04738   Ford        F150                 BURBANK                  CA
12217   1FTEW1E50KKC04769   Ford        F150                 SACRAMENTO               CA
12218   1FTEW1E50KKC37190   Ford        F150                 EL PASO                  TX
12219   1FTEW1E50KKC44057   Ford        F150                 HOUSTON                  TX
12220   1FTEW1E50KKC44060   Ford        F150                 Mt. Juliet               TN
12221   1FTEW1E50KKC44172   Ford        F150                 Santa Clara              CA
12222   1FTEW1E50KKC92819   Ford        F150                 North Dighton            MA
12223   1FTEW1E50KKD06640   Ford        F150                 KNOXVILLE                TN
12224   1FTEW1E50KKD06668   Ford        F150                 Slidell                  LA
12225   1FTEW1E50KKD06704   Ford        F150
12226   1FTEW1E50KKD52386   Ford        F150                 ROCHESTER                NY
12227   1FTEW1E50KKD74212   Ford        F150                 LAS VEGAS                NV
12228   1FTEW1E50KKD74243   Ford        F150                 San Diego                CA
12229   1FTEW1E50KKD74341   Ford        F150                 BOISE                    US
12230   1FTEW1E50LFA20314   Ford        F150                 DALLAS                   TX
12231   1FTEW1E50LFA20457   Ford        F150                 HOUSTON                  TX
12232   1FTEW1E50LFA20460   Ford        F150                 Sarasota                 FL
12233   1FTEW1E50LFA20524   Ford        F150                 ORLANDO                  FL
12234   1FTEW1E50LFA20555   Ford        F150                 Phoenix                  AZ
12235   1FTEW1E50LFA72929   Ford        F150                 ATLANTA                  GA
12236   1FTEW1E50LFA72963   Ford        F150                 SAINT LOUIS              MO
12237   1FTEW1E50LFA72977   Ford        F150                 DENVER                   CO
12238   1FTEW1E50LFA72994   Ford        F150                 DENVER                   CO
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12239   1FTEW1E50LFA73000   Ford        F150                 DENVER                   CO
12240   1FTEW1E50LFA73031   Ford        F150                 LOS ANGELES              CA
12241   1FTEW1E50LFA73143   Ford        F150                 Jacksonville             FL
12242   1FTEW1E50LFA73160   Ford        F150                 PHOENIX                  AZ
12243   1FTEW1E50LFA73174   Ford        F150                 PITTSBURGH               PA
12244   1FTEW1E50LFA73191   Ford        F150                 CHARLESTON               WV
12245   1FTEW1E50LKD33631   Ford        F150                 Hanover                  MD
12246   1FTEW1E51JKD36101   Ford        F150                 ORLANDO                  FL
12247   1FTEW1E51JKD82253   Ford        F150                 Baltimore                MD
12248   1FTEW1E51KFA68774   Ford        F150                 JACKSON                  MS
12249   1FTEW1E51KFB21120   Ford        F150                 PITTSBURGH               PA
12250   1FTEW1E51KFB50780   Ford        F150                 WEST COLUMBIA            SC
12251   1FTEW1E51KFB84959   Ford        F150                 WHITE PLAINS             NY
12252   1FTEW1E51KFB84962   Ford        F150                 INDIANAPOLIS             IN
12253   1FTEW1E51KFB85013   Ford        F150                 SOUTHEAST DST OFFC       OK
12254   1FTEW1E51KFC09522   Ford        F150                 North Dighton            MA
12255   1FTEW1E51KFC09536   Ford        F150                 CHARLESTON               WV
12256   1FTEW1E51KFC09553   Ford        F150                 PHOENIX                  AZ
12257   1FTEW1E51KFC09567   Ford        F150                 INDIANAPOLIS             IN
12258   1FTEW1E51KFC09584   Ford        F150                 Teterboro                NJ
12259   1FTEW1E51KFC47171   Ford        F150                 HOUSTON                  TX
12260   1FTEW1E51KFC47218   Ford        F150                 TAMPA                    FL
12261   1FTEW1E51KKC04697   Ford        F150                 ONTARIO                  CA
12262   1FTEW1E51KKC04750   Ford        F150                 Lake Elsinore            CA
12263   1FTEW1E51KKC44049   Ford        F150                 DALLAS                   TX
12264   1FTEW1E51KKC44097   Ford        F150                 SAN DIEGO                CA
12265   1FTEW1E51KKC92831   Ford        F150                 Charleston               SC
12266   1FTEW1E51KKD18148   Ford        F150                 Houston                  TX
12267   1FTEW1E51KKD18179   Ford        F150                 San Antonio              TX
12268   1FTEW1E51KKD18196   Ford        F150                 SAN ANTONIO              TX
12269   1FTEW1E51KKD74249   Ford        F150                 Kansas City              MO
12270   1FTEW1E51KKD74266   Ford        F150                 DETROIT                  MI
12271   1FTEW1E51KKD74316   Ford        F150                 Cerritos                 CA
12272   1FTEW1E51KKD74333   Ford        F150                 Tolleson                 AZ
12273   1FTEW1E51KKE08187   Ford        F150                 LAS VEGAS                NV
12274   1FTEW1E51KKE08190   Ford        F150                 SANTA ANA                CA
12275   1FTEW1E51KKE08271   Ford        F150                 Santa Clara              CA
12276   1FTEW1E51KKE08304   Ford        F150                 Hayward                  CA
12277   1FTEW1E51KKE08318   Ford        F150                 SOUTH BEND               IN
12278   1FTEW1E51LFA20290   Ford        F150                 DALLAS                   TX
12279   1FTEW1E51LFA20306   Ford        F150                 GREEN BAY                WI
12280   1FTEW1E51LFA20323   Ford        F150                 ATLANTA                  GA
12281   1FTEW1E51LFA20399   Ford        F150                 HOUSTON                  TX
12282   1FTEW1E51LFA20418   Ford        F150                 HOUSTON                  TX
12283   1FTEW1E51LFA20421   Ford        F150                 HOUSTON                  TX
12284   1FTEW1E51LFA20516   Ford        F150                 WEST PALM BEACH          FL
12285   1FTEW1E51LFA20564   Ford        F150                 Phoenix                  AZ
12286   1FTEW1E51LFA72938   Ford        F150                 WARWICK                  RI
12287   1FTEW1E51LFA72941   Ford        F150                 HOUSTON                  TX
12288   1FTEW1E51LFA72955   Ford        F150                 SOUTHEAST DST OFFC       OK
12289   1FTEW1E51LFA72972   Ford        F150                 INDIANAPOLIS             IN
12290   1FTEW1E51LFA73006   Ford        F150                 SAN DIEGO                CA
12291   1FTEW1E51LFA73037   Ford        F150                 Milwaukee                WI
12292   1FTEW1E51LFA73054   Ford        F150                 MILWAUKEE                WI
12293   1FTEW1E51LFA73085   Ford        F150                 SAINT PAUL               MN
12294   1FTEW1E51LFA73135   Ford        F150                 CLEARWATER               FL
12295   1FTEW1E51LFA73149   Ford        F150                 PHOENIX                  AZ
12296   1FTEW1E51LFA73166   Ford        F150                 Phoenix                  AZ
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12297   1FTEW1E51LFA73183   Ford        F150                 CLEVELAND                OH
12298   1FTEW1E51LFA73197   Ford        F150                 DETROIT                  MI
12299   1FTEW1E51LKD33637   Ford        F150                 KNOXVILLE                TN
12300   1FTEW1E51LKD33640   Ford        F150                 KANSAS CITY              MO
12301   1FTEW1E52KFA19034   Ford        F150                 CHARLESTON               WV
12302   1FTEW1E52KFA68735   Ford        F150                 Nashville                TN
12303   1FTEW1E52KFB84954   Ford        F150                 BOSTON                   MA
12304   1FTEW1E52KFB85019   Ford        F150                 Savannah                 GA
12305   1FTEW1E52KFC09609   Ford        F150                 EGG HARBOR TOWN          NJ
12306   1FTEW1E52KFC09612   Ford        F150                 STERLING                 VA
12307   1FTEW1E52KFC47163   Ford        F150                 CASTLE HAYNE             NC
12308   1FTEW1E52KFC47194   Ford        F150                 BOSTON                   MA
12309   1FTEW1E52KKC04711   Ford        F150                 Honolulu                 HI
12310   1FTEW1E52KKC04756   Ford        F150                 Ventura                  CA
12311   1FTEW1E52KKC44061   Ford        F150                 Wilmington               NC
12312   1FTEW1E52KKC44089   Ford        F150                 San Antonio              TX
12313   1FTEW1E52KKC55920   Ford        F150                 JACKSON                  MS
12314   1FTEW1E52KKC55934   Ford        F150                 HOUSTON                  TX
12315   1FTEW1E52KKD18191   Ford        F150                 Austin                   TX
12316   1FTEW1E52KKD18207   Ford        F150                 DALLAS                   TX
12317   1FTEW1E52KKD74227   Ford        F150                 BURBANK                  CA
12318   1FTEW1E52KKD74292   Ford        F150                 OAKLAND                  CA
12319   1FTEW1E52KKD74311   Ford        F150                 BURBANK                  CA
12320   1FTEW1E52KKD74325   Ford        F150                 ONTARIO                  CA
12321   1FTEW1E52KKD74342   Ford        F150                 PICO RIVERA              CA
12322   1FTEW1E52KKE08277   Ford        F150                 SAN FRANCISCO            CA
12323   1FTEW1E52KKE08280   Ford        F150                 San Diego                CA
12324   1FTEW1E52KKE08294   Ford        F150                 Denver                   CO
12325   1FTEW1E52LFA20198   Ford        F150                 ALBUQUERQUE              NM
12326   1FTEW1E52LFA20234   Ford        F150                 SOUTHEAST DST OFFC       OK
12327   1FTEW1E52LFA20301   Ford        F150                 DALLAS                   TX
12328   1FTEW1E52LFA20394   Ford        F150                 Houston                  TX
12329   1FTEW1E52LFA20413   Ford        F150                 AMARILLO                 US
12330   1FTEW1E52LFA20427   Ford        F150                 FORT MYERS               FL
12331   1FTEW1E52LFA20458   Ford        F150                 JACKSONVILLE             FL
12332   1FTEW1E52LFA20511   Ford        F150                 ORLANDO                  FL
12333   1FTEW1E52LFA20525   Ford        F150                 KENNER                   LA
12334   1FTEW1E52LFA20556   Ford        F150                 PHOENIX                  AZ
12335   1FTEW1E52LFA72933   Ford        F150                 Warwick                  RI
12336   1FTEW1E52LFA72978   Ford        F150                 DENVER                   CO
12337   1FTEW1E52LFA72981   Ford        F150                 GYPSUM                   CO
12338   1FTEW1E52LFA72995   Ford        F150                 DENVER                   CO
12339   1FTEW1E52LFA73001   Ford        F150                 Sacramento               CA
12340   1FTEW1E52LFA73046   Ford        F150                 MILWAUKEE                WI
12341   1FTEW1E52LFA73063   Ford        F150                 SAINT PAUL               MN
12342   1FTEW1E52LFA73080   Ford        F150                 FORT MYERS               FL
12343   1FTEW1E52LFA73127   Ford        F150                 TAMPA                    FL
12344   1FTEW1E52LFA73144   Ford        F150                 Jacksonville             FL
12345   1FTEW1E52LFA73158   Ford        F150                 Phoenix                  AZ
12346   1FTEW1E52LFA73161   Ford        F150                 EL PASO                  TX
12347   1FTEW1E52LFA73192   Ford        F150                 PITTSBURGH               PA
12348   1FTEW1E52LKD33629   Ford        F150                 KANSAS CITY              MO
12349   1FTEW1E52LKD33632   Ford        F150                 SAINT PAUL               MN
12350   1FTEW1E53KFA68761   Ford        F150                 INDIANAPOLIS             IN
12351   1FTEW1E53KFB21099   Ford        F150                 SOUTHEAST DST OFFC       OK
12352   1FTEW1E53KFB21104   Ford        F150                 Fredericksburg           VA
12353   1FTEW1E53KFB50585   Ford        F150                 ALBANY                   GA
12354   1FTEW1E53KFB50781   Ford        F150                 Bordentown               NJ
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12355   1FTEW1E53KFB84946   Ford        F150                 MT EPHRAIM               NJ
12356   1FTEW1E53KFB84963   Ford        F150                 WHITE PLAINS             NY
12357   1FTEW1E53KFC09523   Ford        F150                 SYRACUSE                 NY
12358   1FTEW1E53KFC09537   Ford        F150                 BOSTON                   MA
12359   1FTEW1E53KFC09571   Ford        F150                 Killeen                  TX
12360   1FTEW1E53KFC47124   Ford        F150                 EAST BOSTON              MA
12361   1FTEW1E53KFC47141   Ford        F150                 NEW BERN                 NC
12362   1FTEW1E53KFC47155   Ford        F150                 Slidell                  LA
12363   1FTEW1E53KFC47169   Ford        F150                 RONKONKOMA               NY
12364   1FTEW1E53KFC47172   Ford        F150                 BUFFALO                  NY
12365   1FTEW1E53KFC47219   Ford        F150                 Slidell                  LA
12366   1FTEW1E53KFC47222   Ford        F150                 STERLING                 VA
12367   1FTEW1E53KKC04667   Ford        F150                 SACRAMENTO               CA
12368   1FTEW1E53KKC04782   Ford        F150                 BLOOMINGTON              IL
12369   1FTEW1E53KKC44084   Ford        F150                 BIRMINGHAM               AL
12370   1FTEW1E53KKC55912   Ford        F150                 JACKSONVILLE             FL
12371   1FTEW1E53KKC55943   Ford        F150                 Salt Lake City           UT
12372   1FTEW1E53KKC92815   Ford        F150                 Tampa                    FL
12373   1FTEW1E53KKD06695   Ford        F150                 Dallas                   TX
12374   1FTEW1E53KKD18166   Ford        F150                 SOUTHWEST DEALER D       TX
12375   1FTEW1E53KKD74236   Ford        F150                 Phoenix                  AZ
12376   1FTEW1E53KKD74284   Ford        F150                 KNOXVILLE                TN
12377   1FTEW1E53KKD74320   Ford        F150                 HOUSTON                  TX
12378   1FTEW1E53KKE08286   Ford        F150                 Burien                   WA
12379   1FTEW1E53KKE08319   Ford        F150                 SANTA ANA                CA
12380   1FTEW1E53LFA20291   Ford        F150                 HOUSTON                  TX
12381   1FTEW1E53LFA20307   Ford        F150                 DALLAS                   TX
12382   1FTEW1E53LFA20310   Ford        F150                 SAN ANTONIO              TX
12383   1FTEW1E53LFA20470   Ford        F150                 DETROIT                  MI
12384   1FTEW1E53LFA20517   Ford        F150                 FORT LAUDERDALE          FL
12385   1FTEW1E53LFA20548   Ford        F150                 Tucson                   AZ
12386   1FTEW1E53LFA20551   Ford        F150                 Phoenix                  AZ
12387   1FTEW1E53LFA72939   Ford        F150                 WARWICK                  RI
12388   1FTEW1E53LFA72942   Ford        F150                 Rochester                NY
12389   1FTEW1E53LFA72987   Ford        F150                 DENVER                   CO
12390   1FTEW1E53LFA72990   Ford        F150                 PHOENIX                  AZ
12391   1FTEW1E53LFA73041   Ford        F150                 Milwaukee                WI
12392   1FTEW1E53LFA73055   Ford        F150                 DENVER                   CO
12393   1FTEW1E53LFA73069   Ford        F150                 SAINT PAUL               MN
12394   1FTEW1E53LFA73072   Ford        F150                 SAINT PAUL               MN
12395   1FTEW1E53LFA73086   Ford        F150                 Saint Paul               MN
12396   1FTEW1E53LFA73153   Ford        F150                 PHOENIX                  AZ
12397   1FTEW1E53LFA73167   Ford        F150                 SACRAMENTO               CA
12398   1FTEW1E53LFA73170   Ford        F150                 TUCSON                   AZ
12399   1FTEW1E53LFA73198   Ford        F150                 PITTSBURGH               PA
12400   1FTEW1E53LKD33624   Ford        F150                 ALBUQUERQUE              NM
12401   1FTEW1E53LKD33641   Ford        F150                 DALLAS                   TX
12402   1FTEW1E53LKD33655   Ford        F150                 INDIANAPOLIS             IN
12403   1FTEW1E54JFD04901   Ford        F150                 Milwaukee                WI
12404   1FTEW1E54JKD36187   Ford        F150                 Dallas                   TX
12405   1FTEW1E54KFA68736   Ford        F150                 Atlanta                  GA
12406   1FTEW1E54KFC09546   Ford        F150                 Alexandria               VA
12407   1FTEW1E54KFC09577   Ford        F150                 Lafayette                LA
12408   1FTEW1E54KFC09580   Ford        F150                 INDIANAPOLIS             IN
12409   1FTEW1E54KFC47214   Ford        F150                 JACKSON                  MS
12410   1FTEW1E54KKC04645   Ford        F150                 KANSAS CITY              MO
12411   1FTEW1E54KKC04743   Ford        F150                 LOS ANGELES              CA
12412   1FTEW1E54KKC44076   Ford        F150                 Slidell                  LA
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12413   1FTEW1E54KKC55921   Ford        F150                 DALLAS                   TX
12414   1FTEW1E54KKC92810   Ford        F150                 HARTFORD                 CT
12415   1FTEW1E54KKC92841   Ford        F150                 MIAMI                    FL
12416   1FTEW1E54KKD06656   Ford        F150                 KNOXVILLE                TN
12417   1FTEW1E54KKD06690   Ford        F150                 Phoenix                  AZ
12418   1FTEW1E54KKD06706   Ford        F150                 ORLANDO                  FL
12419   1FTEW1E54KKD74214   Ford        F150                 SANTA ANA                CA
12420   1FTEW1E54KKD74228   Ford        F150                 Las Vegas                NV
12421   1FTEW1E54KKD74245   Ford        F150                 Seattle                  WA
12422   1FTEW1E54KKD74276   Ford        F150                 LOS ANGELES              CA
12423   1FTEW1E54KKD74293   Ford        F150                 APPLE VALLEY             CA
12424   1FTEW1E54KKD74312   Ford        F150                 SAN DIEGO                CA
12425   1FTEW1E54KKD74326   Ford        F150                 ONTARIO                  CA
12426   1FTEW1E54KKE08250   Ford        F150                 GRAND RAPIDS             MI
12427   1FTEW1E54KKE08264   Ford        F150                 Dallas                   TX
12428   1FTEW1E54LFA20414   Ford        F150                 Humble                   TX
12429   1FTEW1E54LFA20428   Ford        F150                 EULESS                   TX
12430   1FTEW1E54LFA20459   Ford        F150                 WEST PALM BEACH          FL
12431   1FTEW1E54LFA20509   Ford        F150                 TAMPA                    FL
12432   1FTEW1E54LFA20526   Ford        F150                 PHOENIX                  AZ
12433   1FTEW1E54LFA20557   Ford        F150                 PHOENIX                  AZ
12434   1FTEW1E54LFA72934   Ford        F150                 BOSTON                   MA
12435   1FTEW1E54LFA72948   Ford        F150                 WARWICK                  RI
12436   1FTEW1E54LFA72951   Ford        F150                 BOSTON                   MA
12437   1FTEW1E54LFA73016   Ford        F150                 Los Angeles              CA
12438   1FTEW1E54LFA73050   Ford        F150                 MILWAUKEE                WI
12439   1FTEW1E54LFA73078   Ford        F150                 SAINT PAUL               MN
12440   1FTEW1E54LFA73095   Ford        F150                 PHOENIX                  AZ
12441   1FTEW1E54LFA73100   Ford        F150                 Saint Paul               MN
12442   1FTEW1E54LFA73131   Ford        F150                 FORT LAUDERDALE          FL
12443   1FTEW1E54LFA73145   Ford        F150                 FORT LAUDERDALE          FL
12444   1FTEW1E54LFA73176   Ford        F150                 KENNER                   LA
12445   1FTEW1E54LFA73193   Ford        F150                 KNOXVILLE                TN
12446   1FTEW1E54LKD33647   Ford        F150                 Tampa                    FL
12447   1FTEW1E55JKD82255   Ford        F150                 Buffalo                  NY
12448   1FTEW1E55KFA19027   Ford        F150                 SAINT PAUL               MN
12449   1FTEW1E55KFA68762   Ford        F150                 FORT LAUDERDALE          FL
12450   1FTEW1E55KFA68793   Ford        F150                 Columbus                 OH
12451   1FTEW1E55KFA68826   Ford        F150                 CHATTANOOGA              TN
12452   1FTEW1E55KFB50586   Ford        F150                 ROCHESTER                NY
12453   1FTEW1E55KFB84964   Ford        F150                 Sterling                 VA
12454   1FTEW1E55KFC09524   Ford        F150                 BOSTON                   MA
12455   1FTEW1E55KFC09572   Ford        F150                 Slidell                  LA
12456   1FTEW1E55KFC09605   Ford        F150                 CHATTANOOGA              TN
12457   1FTEW1E55KFC09619   Ford        F150                 CORONA                   NY
12458   1FTEW1E55KFC47108   Ford        F150                 North Dighton            MA
12459   1FTEW1E55KFC47142   Ford        F150                 Atlanta                  GA
12460   1FTEW1E55KFC47173   Ford        F150                 INDIANAPOLIS             IN
12461   1FTEW1E55KFC47190   Ford        F150                 BOSTON                   MA
12462   1FTEW1E55KKC04685   Ford        F150                 FRESNO                   CA
12463   1FTEW1E55KKC44068   Ford        F150                 MARIETTA                 GA
12464   1FTEW1E55KKC44104   Ford        F150                 Hebron                   KY
12465   1FTEW1E55KKC44121   Ford        F150                 GRAND RAPIDS             MI
12466   1FTEW1E55KKC55913   Ford        F150                 DETROIT                  MI
12467   1FTEW1E55KKC92833   Ford        F150                 Dallas                   TX
12468   1FTEW1E55KKD06665   Ford        F150                 DALLAS                   TX
12469   1FTEW1E55KKD06679   Ford        F150                 HOUSTON                  TX
12470   1FTEW1E55KKD18170   Ford        F150                 CLEVELAND                OH
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12471   1FTEW1E55KKD18203   Ford        F150                 Houston                  TX
12472   1FTEW1E55KKD52383   Ford        F150                 CHARLESTON               WV
12473   1FTEW1E55KKD74304   Ford        F150                 Riverside                CA
12474   1FTEW1E55KKD74335   Ford        F150                 DENVER                   CO
12475   1FTEW1E55KKD74349   Ford        F150                 PORTLAND                 OR
12476   1FTEW1E55KKE08192   Ford        F150                 BURBANK                  CA
12477   1FTEW1E55KKE08306   Ford        F150                 Scottsdale               AZ
12478   1FTEW1E55LFA20227   Ford        F150                 Atlanta                  GA
12479   1FTEW1E55LFA20230   Ford        F150                 Atlanta                  GA
12480   1FTEW1E55LFA20387   Ford        F150                 DALLAS                   TX
12481   1FTEW1E55LFA20504   Ford        F150                 ORLANDO                  FL
12482   1FTEW1E55LFA20518   Ford        F150                 Clearwater               FL
12483   1FTEW1E55LFA20521   Ford        F150                 FORT LAUDERDALE          FL
12484   1FTEW1E55LFA20549   Ford        F150                 Ventura                  CA
12485   1FTEW1E55LFA20552   Ford        F150                 PHOENIX                  AZ
12486   1FTEW1E55LFA72943   Ford        F150                 ROCHESTER                NY
12487   1FTEW1E55LFA72957   Ford        F150                 BUFFALO                  NY
12488   1FTEW1E55LFA72960   Ford        F150                 CHEEKTOWAGA              NY
12489   1FTEW1E55LFA72988   Ford        F150                 PHOENIX                  AZ
12490   1FTEW1E55LFA72991   Ford        F150                 DENVER                   CO
12491   1FTEW1E55LFA73011   Ford        F150                 ONTARIO                  CA
12492   1FTEW1E55LFA73073   Ford        F150                 SAINT PAUL               MN
12493   1FTEW1E55LFA73137   Ford        F150                 PHOENIX                  AZ
12494   1FTEW1E55LFA73140   Ford        F150                 RONKONKOMA               NY
12495   1FTEW1E55LFA73171   Ford        F150                 Phoenix                  AZ
12496   1FTEW1E55LKD33642   Ford        F150                 SOUTHEAST DST OFFC       OK
12497   1FTEW1E56JKD82300   Ford        F150                 Kent                     WA
12498   1FTEW1E56KFB84942   Ford        F150                 SYRACUSE                 NY
12499   1FTEW1E56KFB85010   Ford        F150                 SAVANNAH                 GA
12500   1FTEW1E56KFC09533   Ford        F150                 WARWICK                  RI
12501   1FTEW1E56KFC09547   Ford        F150                 Grove City               OH
12502   1FTEW1E56KFC09581   Ford        F150                 NEW BERN                 NC
12503   1FTEW1E56KFC09595   Ford        F150                 BOSTON                   MA
12504   1FTEW1E56KFC09614   Ford        F150                 LOUISVILLE               KY
12505   1FTEW1E56KFC47165   Ford        F150                 Atlanta                  GA
12506   1FTEW1E56KFC47179   Ford        F150                 BALTIMORE                MD
12507   1FTEW1E56KFC47182   Ford        F150                 WARWICK                  RI
12508   1FTEW1E56KFC47201   Ford        F150                 JACKSON                  MS
12509   1FTEW1E56KFC47229   Ford        F150                 Norfolk                  VA
12510   1FTEW1E56KKC04758   Ford        F150                 BURBANK                  CA
12511   1FTEW1E56KKC44080   Ford        F150                 HOUSTON                  TX
12512   1FTEW1E56KKC44130   Ford        F150                 Nashville                TN
12513   1FTEW1E56KKD74201   Ford        F150                 LAS VEGAS                NV
12514   1FTEW1E56KKD74263   Ford        F150                 MEMPHIS                  TN
12515   1FTEW1E56KKD74327   Ford        F150                 ONTARIO                  CA
12516   1FTEW1E56KKE08217   Ford        F150                 LOS ANGELES              CA
12517   1FTEW1E56KKE08220   Ford        F150                 LAS VEGAS                NV
12518   1FTEW1E56KKE08251   Ford        F150                 MEMPHIS                  TN
12519   1FTEW1E56KKE08315   Ford        F150                 PORTLAND                 ME
12520   1FTEW1E56LFA20222   Ford        F150                 SOUTHEAST DST OFFC       OK
12521   1FTEW1E56LFA20298   Ford        F150                 SAN ANTONIO              TX
12522   1FTEW1E56LFA20303   Ford        F150                 HOUSTON                  TX
12523   1FTEW1E56LFA20334   Ford        F150                 HOUSTON                  TX
12524   1FTEW1E56LFA20379   Ford        F150                 HOUSTON                  TX
12525   1FTEW1E56LFA20401   Ford        F150                 HOUSTON                  TX
12526   1FTEW1E56LFA20477   Ford        F150                 Sarasota                 FL
12527   1FTEW1E56LFA20527   Ford        F150                 JACKSONVILLE             FL
12528   1FTEW1E56LFA20561   Ford        F150                 Tustin                   CA
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12529   1FTEW1E56LFA72935   Ford        F150                 BUFFALO                  NY
12530   1FTEW1E56LFA72949   Ford        F150                 BOSTON                   MA
12531   1FTEW1E56LFA72952   Ford        F150                 AUBURN                   MA
12532   1FTEW1E56LFA72983   Ford        F150                 Dallas                   TX
12533   1FTEW1E56LFA72997   Ford        F150                 Colorado Spring          CO
12534   1FTEW1E56LFA73003   Ford        F150                 SANTA ANA                CA
12535   1FTEW1E56LFA73034   Ford        F150                 SANTA ANA                CA
12536   1FTEW1E56LFA73065   Ford        F150                 SAINT PAUL               MN
12537   1FTEW1E56LFA73082   Ford        F150                 SAINT PAUL               MN
12538   1FTEW1E56LFA73101   Ford        F150                 SAINT PAUL               MN
12539   1FTEW1E56LFA73115   Ford        F150                 KENNER                   LA
12540   1FTEW1E56LFA73129   Ford        F150                 TULSA                    OK
12541   1FTEW1E56LFA73146   Ford        F150                 ORLANDO                  FL
12542   1FTEW1E56LFA73163   Ford        F150                 TUCSON                   AZ
12543   1FTEW1E56LFA73177   Ford        F150                 NORFOLK                  VA
12544   1FTEW1E56LFA73180   Ford        F150                 WHITE PLAINS             NY
12545   1FTEW1E56LFA73194   Ford        F150                 PITTSBURGH               PA
12546   1FTEW1E56LKD33634   Ford        F150                 INDIANAPOLIS             IN
12547   1FTEW1E57JKD82306   Ford        F150                 SEATAC                   WA
12548   1FTEW1E57KFA68729   Ford        F150                 Atlanta                  GA
12549   1FTEW1E57KFA68956   Ford        F150                 BUFFALO                  NY
12550   1FTEW1E57KFB50590   Ford        F150                 Statesville              NC
12551   1FTEW1E57KFB84965   Ford        F150                 Indianapolis             IN
12552   1FTEW1E57KFC09525   Ford        F150                 EAST BOSTON              MA
12553   1FTEW1E57KFC09542   Ford        F150                 DETROIT                  MI
12554   1FTEW1E57KFC47126   Ford        F150                 BOSTON                   MA
12555   1FTEW1E57KFC47160   Ford        F150                 OMAHA                    NE
12556   1FTEW1E57KFC47207   Ford        F150                 Hattiesburg              MS
12557   1FTEW1E57KKC04705   Ford        F150                 SAN JOSE                 CA
12558   1FTEW1E57KKC04770   Ford        F150                 Phoenix                  AZ
12559   1FTEW1E57KKC04784   Ford        F150                 DETROIT                  MI
12560   1FTEW1E57KKC44072   Ford        F150                 Atlanta                  GA
12561   1FTEW1E57KKC55928   Ford        F150                 Austin                   TX
12562   1FTEW1E57KKC55931   Ford        F150                 SALT LAKE CITY           UT
12563   1FTEW1E57KKC92803   Ford        F150                 JACKSON                  MS
12564   1FTEW1E57KKC92820   Ford        F150                 SACRAMENTO               CA
12565   1FTEW1E57KKD06652   Ford        F150                 KENNER                   LA
12566   1FTEW1E57KKD06666   Ford        F150                 Houston                  TX
12567   1FTEW1E57KKD74255   Ford        F150                 MILWAUKEE                WI
12568   1FTEW1E57KKD74286   Ford        F150                 EL PASO                  TX
12569   1FTEW1E57KKD74322   Ford        F150                 BURBANK                  CA
12570   1FTEW1E57KKE08310   Ford        F150                 WICHITA FALLS            TX
12571   1FTEW1E57LFA20195   Ford        F150                 PHOENIX                  AZ
12572   1FTEW1E57LFA20200   Ford        F150                 PHOENIX                  AZ
12573   1FTEW1E57LFA20293   Ford        F150                 HOUSTON                  TX
12574   1FTEW1E57LFA20326   Ford        F150                 DALLAS                   TX
12575   1FTEW1E57LFA20388   Ford        F150                 DENVER                   CO
12576   1FTEW1E57LFA20391   Ford        F150                 HOUSTON                  TX
12577   1FTEW1E57LFA20407   Ford        F150                 HOUSTON                  TX
12578   1FTEW1E57LFA20472   Ford        F150                 FORT MYERS               FL
12579   1FTEW1E57LFA20567   Ford        F150                 PHOENIX                  AZ
12580   1FTEW1E57LFA72944   Ford        F150                 BOSTON                   MA
12581   1FTEW1E57LFA72958   Ford        F150                 PORTLAND                 ME
12582   1FTEW1E57LFA72992   Ford        F150                 DENVER                   CO
12583   1FTEW1E57LFA73009   Ford        F150                 ONTARIO                  CA
12584   1FTEW1E57LFA73026   Ford        F150                 LA HABRA                 CA
12585   1FTEW1E57LFA73057   Ford        F150                 ORLANDO                  FL
12586   1FTEW1E57LFA73060   Ford        F150                 MILWAUKEE                WI
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12587   1FTEW1E57LFA73088   Ford        F150                 SAINT PAUL               MN
12588   1FTEW1E57LFA73110   Ford        F150                 SAINT PAUL               MN
12589   1FTEW1E57LFA73124   Ford        F150                 TAMPA                    FL
12590   1FTEW1E57LFA73169   Ford        F150                 Phoenix                  AZ
12591   1FTEW1E57LFA73172   Ford        F150                 Phoenix                  AZ
12592   1FTEW1E57LKD33643   Ford        F150                 WICHITA FALLS            TX
12593   1FTEW1E58JFC54939   Ford        F150                 Webster                  NY
12594   1FTEW1E58JKD36208   Ford        F150                 Oklahoma City            OK
12595   1FTEW1E58KFA19023   Ford        F150                 MILWAUKEE AIRPORT        WI
12596   1FTEW1E58KFB21275   Ford        F150                 CHARLESTON               WV
12597   1FTEW1E58KFB50582   Ford        F150                 Morrow                   GA
12598   1FTEW1E58KFB84943   Ford        F150                 RONKONKOMA               NY
12599   1FTEW1E58KFB84960   Ford        F150                 COLUMBUS                 OH
12600   1FTEW1E58KFB85011   Ford        F150                 STERLING                 VA
12601   1FTEW1E58KFC09601   Ford        F150                 WHITE PLAINS             NY
12602   1FTEW1E58KFC09615   Ford        F150                 HARTFORD                 CT
12603   1FTEW1E58KFC47118   Ford        F150                 BOSTON                   MA
12604   1FTEW1E58KFC47121   Ford        F150                 North Dighton            MA
12605   1FTEW1E58KFC47135   Ford        F150                 Atlanta                  GA
12606   1FTEW1E58KFC47152   Ford        F150                 Harvey                   LA
12607   1FTEW1E58KKC04678   Ford        F150                 SACRAMENTO               CA
12608   1FTEW1E58KKC92793   Ford        F150                 DALLAS                   TX
12609   1FTEW1E58KKC92986   Ford        F150                 FORT LAUDERDALE          FL
12610   1FTEW1E58KKD06644   Ford        F150                 SOUTHEAST DST OFFC       OK
12611   1FTEW1E58KKD06661   Ford        F150                 Hanover                  MD
12612   1FTEW1E58KKD06692   Ford        F150                 JACKSON                  MS
12613   1FTEW1E58KKD74247   Ford        F150                 BURBANK                  CA
12614   1FTEW1E58KKD74250   Ford        F150                 SACRAMENTO               CA
12615   1FTEW1E58KKD74281   Ford        F150                 PALM SPRINGS             CA
12616   1FTEW1E58KKD74295   Ford        F150                 SANTA ANA                CA
12617   1FTEW1E58KKD74314   Ford        F150                 LAS VEGAS                NV
12618   1FTEW1E58KKE08185   Ford        F150                 Mira Loma                CA
12619   1FTEW1E58KKE08204   Ford        F150                 LAS VEGAS                NV
12620   1FTEW1E58LFA20237   Ford        F150                 Orlando                  FL
12621   1FTEW1E58LFA20318   Ford        F150                 SOUTHEAST DST OFFC       OK
12622   1FTEW1E58LFA20335   Ford        F150                 EULESS                   TX
12623   1FTEW1E58LFA20383   Ford        F150                 Dallas                   TX
12624   1FTEW1E58LFA20397   Ford        F150                 HOUSTON                  TX
12625   1FTEW1E58LFA20416   Ford        F150                 Houston                  TX
12626   1FTEW1E58LFA20447   Ford        F150                 WEST PALM BEACH          FL
12627   1FTEW1E58LFA20450   Ford        F150                 MIAMI                    FL
12628   1FTEW1E58LFA20514   Ford        F150                 PHOENIX                  AZ
12629   1FTEW1E58LFA20559   Ford        F150                 Phoenix                  AZ
12630   1FTEW1E58LFA72936   Ford        F150                 BOSTON                   MA
12631   1FTEW1E58LFA72967   Ford        F150                 NEWARK                   NJ
12632   1FTEW1E58LFA72984   Ford        F150                 Denver                   CO
12633   1FTEW1E58LFA72998   Ford        F150                 DENVER                   CO
12634   1FTEW1E58LFA73004   Ford        F150                 ONTARIO                  CA
12635   1FTEW1E58LFA73049   Ford        F150                 INDIANAPOLIS             IN
12636   1FTEW1E58LFA73052   Ford        F150                 CHICAGO                  IL
12637   1FTEW1E58LFA73083   Ford        F150                 SOUTHEAST DST OFFC       OK
12638   1FTEW1E58LFA73102   Ford        F150                 SAINT PAUL               MN
12639   1FTEW1E58LFA73133   Ford        F150                 COCOA                    FL
12640   1FTEW1E58LFA73147   Ford        F150                 Ocoee                    FL
12641   1FTEW1E58LFA73178   Ford        F150                 PITTSBURGH               PA
12642   1FTEW1E58LFA73181   Ford        F150                 PITTSBURGH               PA
12643   1FTEW1E58LKD33649   Ford        F150                 WICHITA FALLS            TX
12644   1FTEW1E59KFA68764   Ford        F150                 KENNER                   LA
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12645   1FTEW1E59KFB21267   Ford        F150                 RONKONKOMA               NY
12646   1FTEW1E59KFB84949   Ford        F150                 Tulsa                    OK
12647   1FTEW1E59KFB84966   Ford        F150                 DETROIT                  MI
12648   1FTEW1E59KFB85082   Ford        F150                 Chicago                  IL
12649   1FTEW1E59KFC09560   Ford        F150                 JACKSONVILLE             FL
12650   1FTEW1E59KFC09591   Ford        F150                 PHILADELPHIA             PA
12651   1FTEW1E59KFC47189   Ford        F150                 PHILADELPHIA             PA
12652   1FTEW1E59KFC47211   Ford        F150                 KNOXVILLE                TN
12653   1FTEW1E59KKC04642   Ford        F150                 PORTLAND                 ME
12654   1FTEW1E59KKC55946   Ford        F150                 DALLAS                   TX
12655   1FTEW1E59KKD06653   Ford        F150                 SHREVEPORT               LA
12656   1FTEW1E59KKD18155   Ford        F150                 Slidell                  LA
12657   1FTEW1E59KKD18205   Ford        F150                 HOUSTON                  TX
12658   1FTEW1E59KKD74306   Ford        F150                 SAN DIEGO                CA
12659   1FTEW1E59KKE08180   Ford        F150                 Ontario                  CA
12660   1FTEW1E59KKE08227   Ford        F150                 Norwalk                  CA
12661   1FTEW1E59LFA20196   Ford        F150                 ALBUQUERQUE              NM
12662   1FTEW1E59LFA20229   Ford        F150                 SOUTHEAST DST OFFC       OK
12663   1FTEW1E59LFA20392   Ford        F150                 HOUSTON                  TX
12664   1FTEW1E59LFA20408   Ford        F150                 HOUSTON                  TX
12665   1FTEW1E59LFA20456   Ford        F150                 FORT MYERS               FL
12666   1FTEW1E59LFA20554   Ford        F150                 Lake Elsinore            CA
12667   1FTEW1E59LFA72928   Ford        F150                 ATLANTA                  GA
12668   1FTEW1E59LFA72931   Ford        F150                 BUFFALO                  NY
12669   1FTEW1E59LFA72945   Ford        F150                 BOSTON                   MA
12670   1FTEW1E59LFA72959   Ford        F150                 BOSTON                   MA
12671   1FTEW1E59LFA72962   Ford        F150                 DES MOINES               IA
12672   1FTEW1E59LFA72993   Ford        F150                 WARWICK                  RI
12673   1FTEW1E59LFA73027   Ford        F150                 ONTARIO                  CA
12674   1FTEW1E59LFA73044   Ford        F150                 CHICAGO                  IL
12675   1FTEW1E59LFA73061   Ford        F150                 SAINT PAUL               MN
12676   1FTEW1E59LFA73075   Ford        F150                 GREEN BAY                WI
12677   1FTEW1E59LFA73089   Ford        F150                 SAINT PAUL               MN
12678   1FTEW1E59LFA73092   Ford        F150                 Saint Paul               MN
12679   1FTEW1E59LFA73125   Ford        F150                 Tampa                    FL
12680   1FTEW1E59LFA73156   Ford        F150                 DENVER                   CO
12681   1FTEW1E59LFA73187   Ford        F150                 West Mifflin             PA
12682   1FTEW1E5XJFC29220   Ford        F150                 Atlanta                  GA
12683   1FTEW1E5XJKD58694   Ford        F150                 MARIETTA                 GA
12684   1FTEW1E5XKFA19038   Ford        F150                 Detroit                  MI
12685   1FTEW1E5XKFB21083   Ford        F150                 LOUISVILLE               KY
12686   1FTEW1E5XKFB21116   Ford        F150                 West Mifflin             PA
12687   1FTEW1E5XKFB21276   Ford        F150                 DALLAS                   TX
12688   1FTEW1E5XKFB50759   Ford        F150                 NEW BERN                 NC
12689   1FTEW1E5XKFB50762   Ford        F150                 ORLANDO                  FL
12690   1FTEW1E5XKFC09535   Ford        F150                 BOSTON                   MA
12691   1FTEW1E5XKFC09566   Ford        F150                 Harvey                   LA
12692   1FTEW1E5XKFC09597   Ford        F150                 MT EPHRAIM               NJ
12693   1FTEW1E5XKFC47170   Ford        F150                 GLASSBORO                NJ
12694   1FTEW1E5XKFC47184   Ford        F150                 Slidell                  LA
12695   1FTEW1E5XKFC47198   Ford        F150                 JACKSON                  MS
12696   1FTEW1E5XKFC47220   Ford        F150                 BIRMINGHAM               AL
12697   1FTEW1E5XKKC04651   Ford        F150                 DETROIT                  MI
12698   1FTEW1E5XKKC44065   Ford        F150                 CHICAGO                  IL
12699   1FTEW1E5XKKC44082   Ford        F150                 MIDWAY                   FL
12700   1FTEW1E5XKKC92794   Ford        F150                 PHOENIX                  AZ
12701   1FTEW1E5XKKC92813   Ford        F150                 Reno                     NV
12702   1FTEW1E5XKKC92987   Ford        F150                 WEST PALM BEACH          FL
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12703   1FTEW1E5XKKD06662   Ford        F150                 HOUSTON                  TX
12704   1FTEW1E5XKKD18164   Ford        F150                 HOUSTON                  TX
12705   1FTEW1E5XKKD74279   Ford        F150                 PALM SPRINGS             CA
12706   1FTEW1E5XKKD74282   Ford        F150                 Costa Mesa               CA
12707   1FTEW1E5XKKD74296   Ford        F150                 ONTARIO                  CA
12708   1FTEW1E5XKKD74315   Ford        F150                 ONTARIO                  CA
12709   1FTEW1E5XKKD74346   Ford        F150                 Salt Lake City           UT
12710   1FTEW1E5XKKE08205   Ford        F150                 BIRMINGHAM               AL
12711   1FTEW1E5XKKE08236   Ford        F150                 LOS ANGELES              CA
12712   1FTEW1E5XKKE08267   Ford        F150                 Sacramento               CA
12713   1FTEW1E5XKKE08284   Ford        F150                 SALT LAKE CITY           US
12714   1FTEW1E5XKKE08320   Ford        F150                 COLUMBUS                 OH
12715   1FTEW1E5XLFA20224   Ford        F150                 Stone Mountain           GA
12716   1FTEW1E5XLFA20319   Ford        F150                 JACKSON                  MS
12717   1FTEW1E5XLFA20398   Ford        F150                 EULESS                   TX
12718   1FTEW1E5XLFA20417   Ford        F150                 BIRMINGHAM               AL
12719   1FTEW1E5XLFA20515   Ford        F150                 ORLANDO                  FL
12720   1FTEW1E5XLFA72937   Ford        F150                 BOSTON                   MA
12721   1FTEW1E5XLFA72954   Ford        F150                 RONKONKOMA               NY
12722   1FTEW1E5XLFA72985   Ford        F150                 DENVER                   CO
12723   1FTEW1E5XLFA73022   Ford        F150                 Phoenix                  AZ
12724   1FTEW1E5XLFA73053   Ford        F150                 Caledonia                WI
12725   1FTEW1E5XLFA73067   Ford        F150                 SAINT PAUL               MN
12726   1FTEW1E5XLFA73070   Ford        F150                 SAINT PAUL               MN
12727   1FTEW1E5XLFA73098   Ford        F150                 SAINT PAUL               MN
12728   1FTEW1E5XLFA73103   Ford        F150                 DETROIT                  MI
12729   1FTEW1E5XLFA73151   Ford        F150                 Phoenix                  AZ
12730   1FTEW1E5XLFA73165   Ford        F150                 BURBANK                  CA
12731   1FTEW1E5XLFA73182   Ford        F150                 CHARLESTON               WV
12732   1FTEW1EF1HFB11091   Ford        F150                 ANCHORAGE                AK
12733   1FTEW1EF8HKC65112   Ford        F150                 anchorage,               ak
12734   1FTEW1EFXHFB11087   Ford        F150                 anchorage,               ak
12735   1G1105S30JU137547   GM          IMPALA               Cleveland                OH
12736   1G1105S30JU146961   GM          IMPALA               Dallas                   TX
12737   1G1105S30JU147768   GM          IMPALA               COSTA MESA               CA
12738   1G1105S30JU147964   GM          IMPALA               FORT MYERS               FL
12739   1G1105S30JU147995   GM          IMPALA               Newark                   NJ
12740   1G1105S30JU148080   GM          IMPALA               LOS ANGELES              CA
12741   1G1105S30JU148791   GM          IMPALA               Columbia                 MD
12742   1G1105S30JU148841   GM          IMPALA               FORT MYERS               FL
12743   1G1105S30JU148886   GM          IMPALA               SARASOTA                 FL
12744   1G1105S30JU150475   GM          IMPALA               PHOENIX                  AZ
12745   1G1105S30KU112455   GM          IMPALA               KAILUA‐KONA              HI
12746   1G1105S30KU113279   GM          IMPALA               HILO                     HI
12747   1G1105S30KU117297   GM          IMPALA               WEST PALM BEACH          FL
12748   1G1105S30KU117543   GM          IMPALA               ATLANTA                  GA
12749   1G1105S30KU125318   GM          IMPALA               Winston‐Salem            NC
12750   1G1105S30KU126193   GM          IMPALA               SAVANNAH                 GA
12751   1G1105S30KU133046   GM          IMPALA               WARWICK                  RI
12752   1G1105S30KU133676   GM          IMPALA               Atlanta                  GA
12753   1G1105S30KU135220   GM          IMPALA               ORLANDO                  FL
12754   1G1105S30KU135332   GM          IMPALA               JACKSONVILLE             FL
12755   1G1105S30KU135461   GM          IMPALA               ORLANDO                  FL
12756   1G1105S30KU135685   GM          IMPALA               SARASOTA                 FL
12757   1G1105S30KU137095   GM          IMPALA               Atlanta                  GA
12758   1G1105S30KU137405   GM          IMPALA               TAMPA                    FL
12759   1G1105S30KU137453   GM          IMPALA               RALEIGH                  NC
12760   1G1105S30KU137520   GM          IMPALA               Atlanta                  GA
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12761   1G1105S30KU137727   GM          IMPALA               CHARLESTON                   SC
12762   1G1105S30KU137808   GM          IMPALA               NEW BERN                     NC
12763   1G1105S30KU138523   GM          IMPALA               LOS ANGELES                  CA
12764   1G1105S30KU138781   GM          IMPALA               PALM SPRINGS                 CA
12765   1G1105S30KU138800   GM          IMPALA               TUCSON                       AZ
12766   1G1105S30KU138912   GM          IMPALA               ROCHESTER                    NY
12767   1G1105S30KU139087   GM          IMPALA               CHARLESTON                   SC
12768   1G1105S30KU139140   GM          IMPALA               TAMPA                        FL
12769   1G1105S30KU139168   GM          IMPALA               WASHINGTON DC, NATIONAL AP   DC
12770   1G1105S30KU139199   GM          IMPALA               WEST PALM BEACH              FL
12771   1G1105S30KU139381   GM          IMPALA               MIAMI                        FL
12772   1G1105S30KU139428   GM          IMPALA               Hebron                       KY
12773   1G1105S30KU139509   GM          IMPALA               CHICAGO                      IL
12774   1G1105S30KU139543   GM          IMPALA               INDIANAPOLIS                 IN
12775   1G1105S30KU139669   GM          IMPALA               DENVER                       CO
12776   1G1105S30KU139722   GM          IMPALA               CHARLESTON                   WV
12777   1G1105S30KU139736   GM          IMPALA               STERLING                     VA
12778   1G1105S30KU139784   GM          IMPALA               CEDAR RAPIDS                 IA
12779   1G1105S30KU139820   GM          IMPALA               LEXINGTON                    KY
12780   1G1105S30KU139848   GM          IMPALA               DES MOINES                   IA
12781   1G1105S30KU139932   GM          IMPALA               NEW BERN                     NC
12782   1G1105S30KU139977   GM          IMPALA               KEY WEST                     FL
12783   1G1105S30KU140031   GM          IMPALA               TUCSON                       AZ
12784   1G1105S30KU140997   GM          IMPALA               ORLANDO                      FL
12785   1G1105S30KU141177   GM          IMPALA               RICHMOND                     VA
12786   1G1105S30KU141261   GM          IMPALA               SEATAC                       WA
12787   1G1105S30KU141311   GM          IMPALA               INGLEWOOD                    CA
12788   1G1105S30KU141471   GM          IMPALA               SANTA FE                     NM
12789   1G1105S30KU141597   GM          IMPALA               ONTARIO                      CA
12790   1G1105S30KU142054   GM          IMPALA               SAN JOSE                     CA
12791   1G1105S30KU142636   GM          IMPALA               EL PASO                      TX
12792   1G1105S30KU143253   GM          IMPALA               NEWARK                       NJ
12793   1G1105S30KU143351   GM          IMPALA               FORT LAUDERDALE              FL
12794   1G1105S30KU144029   GM          IMPALA               TAMPA                        FL
12795   1G1105S30LU112084   GM          IMPALA               FORT MYERS                   FL
12796   1G1105S31JU124175   GM          IMPALA               Nashville                    TN
12797   1G1105S31JU132146   GM          IMPALA               WEST PALM BEACH              FL
12798   1G1105S31JU136679   GM          IMPALA               Smithtown                    NY
12799   1G1105S31JU140151   GM          IMPALA               Coraopolis                   PA
12800   1G1105S31JU146497   GM          IMPALA               LAS VEGAS                    NV
12801   1G1105S31JU147827   GM          IMPALA               ORLANDO                      FL
12802   1G1105S31JU147889   GM          IMPALA               TAMPA                        US
12803   1G1105S31JU148539   GM          IMPALA               GRAND RAPIDS                 MI
12804   1G1105S31JU148881   GM          IMPALA               TUCSON                       AZ
12805   1G1105S31JU149058   GM          IMPALA               LOS ANGELES                  CA
12806   1G1105S31JU149545   GM          IMPALA               FORT MYERS                   FL
12807   1G1105S31JU150498   GM          IMPALA               MILWAUKEE                    WI
12808   1G1105S31JU150565   GM          IMPALA               LOS ANGELES                  CA
12809   1G1105S31KU117535   GM          IMPALA               ORLANDO                      FL
12810   1G1105S31KU125084   GM          IMPALA               GAINESVILLE                  FL
12811   1G1105S31KU125523   GM          IMPALA               ORLANDO                      FL
12812   1G1105S31KU126140   GM          IMPALA               TAMPA                        FL
12813   1G1105S31KU132794   GM          IMPALA               ALBANY                       NY
12814   1G1105S31KU133282   GM          IMPALA               EAST BOSTON                  MA
12815   1G1105S31KU133296   GM          IMPALA               PHILADELPHIA                 PA
12816   1G1105S31KU133802   GM          IMPALA               NAPLES                       FL
12817   1G1105S31KU134884   GM          IMPALA               ATLANTA                      GA
12818   1G1105S31KU134898   GM          IMPALA               RICHMOND                     VA
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12819   1G1105S31KU135193   GM          IMPALA               PHILADELPHIA             PA
12820   1G1105S31KU135565   GM          IMPALA               PHILADELPHIA             PA
12821   1G1105S31KU135582   GM          IMPALA               FORT LAUDERDALE          FL
12822   1G1105S31KU135646   GM          IMPALA               WEST COLUMBIA            SC
12823   1G1105S31KU137154   GM          IMPALA               MIAMI                    FL
12824   1G1105S31KU137185   GM          IMPALA               CHICAGO                  IL
12825   1G1105S31KU137218   GM          IMPALA               WEST PALM BEACH          FL
12826   1G1105S31KU137235   GM          IMPALA               DAVIE                    FL
12827   1G1105S31KU137297   GM          IMPALA               CHARLOTTE                NC
12828   1G1105S31KU137543   GM          IMPALA               MILWAUKEE                WI
12829   1G1105S31KU137624   GM          IMPALA               RICHMOND                 VA
12830   1G1105S31KU137641   GM          IMPALA               DULUTH                   GA
12831   1G1105S31KU138269   GM          IMPALA               LOS ANGELES              CA
12832   1G1105S31KU138384   GM          IMPALA               LAS VEGAS                NV
12833   1G1105S31KU138739   GM          IMPALA               PHOENIX                  AZ
12834   1G1105S31KU138904   GM          IMPALA               PENSACOLA                FL
12835   1G1105S31KU138997   GM          IMPALA               MEMPHIS                  TN
12836   1G1105S31KU139020   GM          IMPALA               LITTLE ROCK              AR
12837   1G1105S31KU139051   GM          IMPALA               PORTLAND                 OR
12838   1G1105S31KU139115   GM          IMPALA               SEATAC                   WA
12839   1G1105S31KU139177   GM          IMPALA               Atlanta                  GA
12840   1G1105S31KU139521   GM          IMPALA               Glendale Height          IL
12841   1G1105S31KU139597   GM          IMPALA               CHICAGO                  IL
12842   1G1105S31KU139650   GM          IMPALA               FORT LAUDERDALE          FL
12843   1G1105S31KU139793   GM          IMPALA               WEST PALM BEACH          FL
12844   1G1105S31KU140197   GM          IMPALA               CHICAGO                  IL
12845   1G1105S31KU140202   GM          IMPALA               WICHITA FALLS            TX
12846   1G1105S31KU140295   GM          IMPALA               DETROIT                  MI
12847   1G1105S31KU140684   GM          IMPALA               HANOVER                  MD
12848   1G1105S31KU140782   GM          IMPALA               DENVER                   CO
12849   1G1105S31KU140944   GM          IMPALA               CHICAGO                  IL
12850   1G1105S31KU140992   GM          IMPALA               BOSTON                   MA
12851   1G1105S31KU141138   GM          IMPALA               WARWICK                  RI
12852   1G1105S31KU141317   GM          IMPALA               SAINT PAUL               MN
12853   1G1105S31KU141429   GM          IMPALA               LOS ANGELES              CA
12854   1G1105S31KU141494   GM          IMPALA               SACRAMENTO               CA
12855   1G1105S31KU141642   GM          IMPALA               LOS ANGELES              CA
12856   1G1105S31KU141723   GM          IMPALA               BURBANK                  CA
12857   1G1105S31KU143990   GM          IMPALA               TUCSON                   AZ
12858   1G1105S31KU144945   GM          IMPALA               BOSTON                   MA
12859   1G1105S31LU110778   GM          IMPALA               AUGUSTA                  GA
12860   1G1105S32JU124704   GM          IMPALA               TAMPA                    FL
12861   1G1105S32JU132916   GM          IMPALA               CHAMBLEE                 GA
12862   1G1105S32JU138943   GM          IMPALA               ORLANDO                  FL
12863   1G1105S32JU139204   GM          IMPALA               Hanover                  MD
12864   1G1105S32JU142846   GM          IMPALA               LAS VEGAS                NV
12865   1G1105S32JU143379   GM          IMPALA               Fontana                  CA
12866   1G1105S32JU146752   GM          IMPALA               SOUTHEAST DST OFFC       OK
12867   1G1105S32JU147562   GM          IMPALA               ORANGE COUNTY            CA
12868   1G1105S32JU147674   GM          IMPALA               MIAMI                    FL
12869   1G1105S32JU148033   GM          IMPALA               NASHVILLE                TN
12870   1G1105S32JU148100   GM          IMPALA               PALM SPRINGS             CA
12871   1G1105S32JU148176   GM          IMPALA               ATLANTA                  GA
12872   1G1105S32JU148405   GM          IMPALA               Manheim                  PA
12873   1G1105S32JU148579   GM          IMPALA               LOS ANGELES              CA
12874   1G1105S32JU148663   GM          IMPALA               SAN JOSE                 CA
12875   1G1105S32JU150400   GM          IMPALA               North Dighton            MA
12876   1G1105S32JU150784   GM          IMPALA               PHOENIX                  AZ
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12877   1G1105S32KU114496   GM          IMPALA               WEST PALM BEACH          FL
12878   1G1105S32KU114661   GM          IMPALA               ORLANDO                  FL
12879   1G1105S32KU114692   GM          IMPALA               ORLANDO                  FL
12880   1G1105S32KU117060   GM          IMPALA               FORT LAUDERDALE          FL
12881   1G1105S32KU117320   GM          IMPALA               FORT MYERS               FL
12882   1G1105S32KU117401   GM          IMPALA               WEST PALM BEACH          FL
12883   1G1105S32KU117592   GM          IMPALA               PITTSBURGH               PA
12884   1G1105S32KU117642   GM          IMPALA               MIAMI                    FL
12885   1G1105S32KU125126   GM          IMPALA               Memphis                  TN
12886   1G1105S32KU126132   GM          IMPALA               TAMPA                    FL
12887   1G1105S32KU132030   GM          IMPALA               ATLANTA                  GA
12888   1G1105S32KU132898   GM          IMPALA               PHOENIX                  AZ
12889   1G1105S32KU132920   GM          IMPALA               BOSTON                   MA
12890   1G1105S32KU133016   GM          IMPALA               CHICAGO                  IL
12891   1G1105S32KU133114   GM          IMPALA               HANOVER                  MD
12892   1G1105S32KU133324   GM          IMPALA               NEW BERN                 NC
12893   1G1105S32KU135106   GM          IMPALA               BOSTON                   MA
12894   1G1105S32KU135140   GM          IMPALA               PENSACOLA                FL
12895   1G1105S32KU135459   GM          IMPALA               STERLING                 VA
12896   1G1105S32KU135493   GM          IMPALA               PENSACOLA                FL
12897   1G1105S32KU137230   GM          IMPALA               RALEIGH                  NC
12898   1G1105S32KU137390   GM          IMPALA               Manheim                  PA
12899   1G1105S32KU137504   GM          IMPALA               KNOXVILLE                TN
12900   1G1105S32KU137552   GM          IMPALA               JACKSONVILLE             FL
12901   1G1105S32KU137647   GM          IMPALA               KNOXVILLE                TN
12902   1G1105S32KU137700   GM          IMPALA               NASHVILLE                TN
12903   1G1105S32KU138460   GM          IMPALA               PHOENIX                  AZ
12904   1G1105S32KU138975   GM          IMPALA               SAN JOSE                 CA
12905   1G1105S32KU139060   GM          IMPALA               PHOENIX                  AZ
12906   1G1105S32KU139270   GM          IMPALA               WEST COLUMBIA            SC
12907   1G1105S32KU139592   GM          IMPALA               CHARLESTON               SC
12908   1G1105S32KU139947   GM          IMPALA               MIAMI                    FL
12909   1G1105S32KU140001   GM          IMPALA               CHICAGO                  IL
12910   1G1105S32KU140015   GM          IMPALA               CHICAGO                  IL
12911   1G1105S32KU140046   GM          IMPALA               FORT LAUDERDALE          FL
12912   1G1105S32KU140130   GM          IMPALA               NEW BERN                 NC
12913   1G1105S32KU140175   GM          IMPALA               LAS VEGAS                NV
12914   1G1105S32KU140242   GM          IMPALA               STERLING                 VA
12915   1G1105S32KU140547   GM          IMPALA               NEW YORK CITY            NY
12916   1G1105S32KU140953   GM          IMPALA               DENVER                   CO
12917   1G1105S32KU141231   GM          IMPALA               SALT LAKE CITY           US
12918   1G1105S32KU141570   GM          IMPALA               DENVER                   CO
12919   1G1105S32KU141858   GM          IMPALA               EL PASO                  TX
12920   1G1105S32KU142007   GM          IMPALA               SAN JOSE                 CA
12921   1G1105S32KU142363   GM          IMPALA               LOS ANGELES              CA
12922   1G1105S32KU142802   GM          IMPALA               TAMPA                    FL
12923   1G1105S32KU143156   GM          IMPALA               INDIANAPOLIS             IN
12924   1G1105S32KU144002   GM          IMPALA               MIAMI                    FL
12925   1G1105S32LU110224   GM          IMPALA               FORT MYERS               FL
12926   1G1105S32LU110739   GM          IMPALA               FORT MYERS               FL
12927   1G1105S33JU132651   GM          IMPALA               Smithtown                NY
12928   1G1105S33JU134660   GM          IMPALA               Tampa                    FL
12929   1G1105S33JU139678   GM          IMPALA               Warwick                  RI
12930   1G1105S33JU144444   GM          IMPALA               RONKONKOMA               NY
12931   1G1105S33JU146601   GM          IMPALA               BURBANK                  CA
12932   1G1105S33JU146744   GM          IMPALA               DALLAS                   TX
12933   1G1105S33JU147764   GM          IMPALA               Harvey                   LA
12934   1G1105S33JU148168   GM          IMPALA               BOSTON                   MA
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12935   1G1105S33JU148204   GM          IMPALA               Memphis                  TN
12936   1G1105S33JU148266   GM          IMPALA               SEATAC                   WA
12937   1G1105S33JU148493   GM          IMPALA               PHOENIX                  AZ
12938   1G1105S33JU148526   GM          IMPALA               ALEXANDRIA               VA
12939   1G1105S33JU148994   GM          IMPALA               PHILADELPHIA             PA
12940   1G1105S33JU149840   GM          IMPALA               LOUISVILLE               KY
12941   1G1105S33KU112322   GM          IMPALA               HILO                     HI
12942   1G1105S33KU112465   GM          IMPALA               KAILUA‐KONA              HI
12943   1G1105S33KU113406   GM          IMPALA               WAIMEA                   HI
12944   1G1105S33KU113647   GM          IMPALA               SARASOTA                 FL
12945   1G1105S33KU117343   GM          IMPALA               NEW BERN                 NC
12946   1G1105S33KU126222   GM          IMPALA               TAMPA                    FL
12947   1G1105S33KU133056   GM          IMPALA               PHILADELPHIA             PA
12948   1G1105S33KU133624   GM          IMPALA               Atlanta                  GA
12949   1G1105S33KU134482   GM          IMPALA               STERLING                 VA
12950   1G1105S33KU134983   GM          IMPALA               CHICAGO                  IL
12951   1G1105S33KU134997   GM          IMPALA               RALIEGH                  NC
12952   1G1105S33KU135471   GM          IMPALA               KENNER                   LA
12953   1G1105S33KU135535   GM          IMPALA               DES PLAINES              US
12954   1G1105S33KU137382   GM          IMPALA               DETROIT                  MI
12955   1G1105S33KU137401   GM          IMPALA               OMAHA                    NE
12956   1G1105S33KU137513   GM          IMPALA               RICHMOND                 VA
12957   1G1105S33KU137544   GM          IMPALA               LOUISVILLE               KY
12958   1G1105S33KU137589   GM          IMPALA               INDIANAPOLIS             IN
12959   1G1105S33KU137608   GM          IMPALA               LOUISVILLE               KY
12960   1G1105S33KU137799   GM          IMPALA               FORT MYERS               FL
12961   1G1105S33KU138872   GM          IMPALA               KENNER                   LA
12962   1G1105S33KU139133   GM          IMPALA               DES MOINES               IA
12963   1G1105S33KU139181   GM          IMPALA               NEW ORLEANS              LA
12964   1G1105S33KU139245   GM          IMPALA               STERLING                 VA
12965   1G1105S33KU139312   GM          IMPALA               LOUISVILLE               KY
12966   1G1105S33KU139519   GM          IMPALA               DETROIT                  MI
12967   1G1105S33KU139536   GM          IMPALA               BOSTON                   MA
12968   1G1105S33KU139648   GM          IMPALA               DETROIT                  MI
12969   1G1105S33KU139746   GM          IMPALA               DANIA                    FL
12970   1G1105S33KU139875   GM          IMPALA               JACKSONVILLE             FL
12971   1G1105S33KU140203   GM          IMPALA               DETROIT                  MI
12972   1G1105S33KU140539   GM          IMPALA               RALEIGH                  NC
12973   1G1105S33KU140850   GM          IMPALA               ALBUQUERQUE              NM
12974   1G1105S33KU141142   GM          IMPALA               PHILADELPHIA             PA
12975   1G1105S33KU141383   GM          IMPALA               albuquerque              nm
12976   1G1105S33KU141786   GM          IMPALA               LOS ANGELES              CA
12977   1G1105S33KU141853   GM          IMPALA               SANTA FE                 NM
12978   1G1105S33KU142274   GM          IMPALA               LOS ANGELES              CA
12979   1G1105S33KU142923   GM          IMPALA               PHILADELPHIA             PA
12980   1G1105S33KU143148   GM          IMPALA               NAPLES                   FL
12981   1G1105S33KU143232   GM          IMPALA               Miami                    FL
12982   1G1105S33KU143263   GM          IMPALA               WEST PALM BEACH          FL
12983   1G1105S33KU143540   GM          IMPALA               Albany                   NY
12984   1G1105S33KU143702   GM          IMPALA               ALBUQUERQUE              NM
12985   1G1105S33LU109504   GM          IMPALA               KNOXVILLE                TN
12986   1G1105S33LU110524   GM          IMPALA               FORT MYERS               FL
12987   1G1105S34JU131864   GM          IMPALA               Beaverton                OR
12988   1G1105S34JU146638   GM          IMPALA               SAN DIEGO                CA
12989   1G1105S34JU148633   GM          IMPALA               ORLANDO                  FL
12990   1G1105S34JU148745   GM          IMPALA               SARASOTA                 FL
12991   1G1105S34JU149135   GM          IMPALA               SALT LAKE CITY           UT
12992   1G1105S34JU149488   GM          IMPALA               Louisville               KY
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12993   1G1105S34JU150463   GM          IMPALA               SALT LAKE CITY           US
12994   1G1105S34JU150527   GM          IMPALA               LOS ANGELES              CA
12995   1G1105S34JU150656   GM          IMPALA               Cranberry Towns          PA
12996   1G1105S34JU150883   GM          IMPALA               LOS ANGELES AP           CA
12997   1G1105S34KU112488   GM          IMPALA               HILO                     HI
12998   1G1105S34KU112961   GM          IMPALA               Kailua‐Kona              HI
12999   1G1105S34KU113592   GM          IMPALA               FORT LAUDERDALE          FL
13000   1G1105S34KU114435   GM          IMPALA               WEST PALM BEACH          FL
13001   1G1105S34KU115567   GM          IMPALA               JACKSONVILLE             FL
13002   1G1105S34KU133034   GM          IMPALA               LOS ANGELES              CA
13003   1G1105S34KU133308   GM          IMPALA               COLLEGE PARK             GA
13004   1G1105S34KU133454   GM          IMPALA               Florissant               MO
13005   1G1105S34KU134555   GM          IMPALA               RENO                     NV
13006   1G1105S34KU135124   GM          IMPALA               Tampa                    FL
13007   1G1105S34KU135320   GM          IMPALA               JACKSONVILLE             FL
13008   1G1105S34KU135446   GM          IMPALA               CHARLESTON               WV
13009   1G1105S34KU135477   GM          IMPALA               PHILADELPHIA             PA
13010   1G1105S34KU137004   GM          IMPALA               ORLANDO                  FL
13011   1G1105S34KU137245   GM          IMPALA               KANSAS CITY              MO
13012   1G1105S34KU137472   GM          IMPALA               CHICAGO                  IL
13013   1G1105S34KU137701   GM          IMPALA               LITTLE ROCK              AR
13014   1G1105S34KU138993   GM          IMPALA               SEATAC                   WA
13015   1G1105S34KU139089   GM          IMPALA               GRAND RAPIDS             MI
13016   1G1105S34KU139156   GM          IMPALA               OMAHA                    NE
13017   1G1105S34KU139237   GM          IMPALA               NEW BERN                 NC
13018   1G1105S34KU139321   GM          IMPALA               MEMPHIS                  TN
13019   1G1105S34KU139397   GM          IMPALA               SAINT LOUIS              MO
13020   1G1105S34KU139531   GM          IMPALA               FORT MYERS               FL
13021   1G1105S34KU139660   GM          IMPALA               DETROIT                  MI
13022   1G1105S34KU139738   GM          IMPALA               NEW ORLEANS              LA
13023   1G1105S34KU140145   GM          IMPALA               STERLING                 VA
13024   1G1105S34KU140923   GM          IMPALA               SALT LAKE CITY           US
13025   1G1105S34KU141103   GM          IMPALA               BOSTON                   MA
13026   1G1105S34KU141165   GM          IMPALA               JACKSONVILLE             FL
13027   1G1105S34KU141716   GM          IMPALA               PHOENIX                  AZ
13028   1G1105S34KU141750   GM          IMPALA               LOS ANGELES              CA
13029   1G1105S34KU141912   GM          IMPALA               PHOENIX                  AZ
13030   1G1105S34KU143238   GM          IMPALA               WEST PALM BEACH          FL
13031   1G1105S34LU106479   GM          IMPALA               FORT MYERS               FL
13032   1G1105S34LU111536   GM          IMPALA               FORT MYERS               FL
13033   1G1105S35JU132344   GM          IMPALA               ORLANDO                  FL
13034   1G1105S35JU139665   GM          IMPALA               MIAMI                    FL
13035   1G1105S35JU145594   GM          IMPALA               Hayward                  CA
13036   1G1105S35JU147006   GM          IMPALA               BURBANK                  CA
13037   1G1105S35JU147815   GM          IMPALA               SANTA ANA                CA
13038   1G1105S35JU147930   GM          IMPALA               DENVER                   CO
13039   1G1105S35JU147944   GM          IMPALA               SEATAC                   WA
13040   1G1105S35JU148351   GM          IMPALA               ORLANDO                  FL
13041   1G1105S35JU148382   GM          IMPALA               Torrance                 CA
13042   1G1105S35JU148785   GM          IMPALA               DENVER                   CO
13043   1G1105S35JU148897   GM          IMPALA               LAS VEGAS                NV
13044   1G1105S35JU149127   GM          IMPALA               PORTLAND                 ME
13045   1G1105S35KU112936   GM          IMPALA               KALAOA                   HI
13046   1G1105S35KU113052   GM          IMPALA               KAILUA‐KONA              HI
13047   1G1105S35KU114394   GM          IMPALA               FORT MYERS               FL
13048   1G1105S35KU115092   GM          IMPALA               Winston‐Salem            NC
13049   1G1105S35KU117490   GM          IMPALA               Warr Acres               OK
13050   1G1105S35KU125668   GM          IMPALA               TAMPA                    FL
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13051   1G1105S35KU133608   GM          IMPALA               ORLANDO                  FL
13052   1G1105S35KU133656   GM          IMPALA               PORTLAND                 ME
13053   1G1105S35KU134399   GM          IMPALA               PITTSBURGH               PA
13054   1G1105S35KU134855   GM          IMPALA               PALM SPRINGS             CA
13055   1G1105S35KU134922   GM          IMPALA               SAVANNAH                 GA
13056   1G1105S35KU134936   GM          IMPALA               COLUMBIA                 SC
13057   1G1105S35KU135083   GM          IMPALA               FORT LAUDERDALE          FL
13058   1G1105S35KU135262   GM          IMPALA               BOSTON                   MA
13059   1G1105S35KU135293   GM          IMPALA               KNOXVILLE                TN
13060   1G1105S35KU135312   GM          IMPALA               WEST PALM BEACH          FL
13061   1G1105S35KU135486   GM          IMPALA               STERLING                 VA
13062   1G1105S35KU135682   GM          IMPALA               JACKSONVILLE             FL
13063   1G1105S35KU137500   GM          IMPALA               PHILADELPHIA             PA
13064   1G1105S35KU137528   GM          IMPALA               KENNER                   LA
13065   1G1105S35KU137559   GM          IMPALA               LOUISVILLE               KY
13066   1G1105S35KU137576   GM          IMPALA               SARASOTA                 FL
13067   1G1105S35KU139053   GM          IMPALA               CHICAGO                  IL
13068   1G1105S35KU139067   GM          IMPALA               DETROIT                  MI
13069   1G1105S35KU139084   GM          IMPALA               DETROIT                  MI
13070   1G1105S35KU139120   GM          IMPALA               KANSAS CITY              MO
13071   1G1105S35KU139327   GM          IMPALA               SARASOTA                 FL
13072   1G1105S35KU139392   GM          IMPALA               MILWAUKEE                WI
13073   1G1105S35KU139473   GM          IMPALA               SARASOTA                 FL
13074   1G1105S35KU139487   GM          IMPALA               MILWAUKEE                WI
13075   1G1105S35KU139490   GM          IMPALA               HOUSTON                  TX
13076   1G1105S35KU139764   GM          IMPALA               RALEIGH                  NC
13077   1G1105S35KU140042   GM          IMPALA               DES MOINES               IA
13078   1G1105S35KU140249   GM          IMPALA               DETROIT                  MI
13079   1G1105S35KU140980   GM          IMPALA               ROCHESTER                NY
13080   1G1105S35KU141353   GM          IMPALA               Miami                    FL
13081   1G1105S35KU141627   GM          IMPALA               FRESNO                   CA
13082   1G1105S35KU141966   GM          IMPALA               Los Angeles              CA
13083   1G1105S35LU110380   GM          IMPALA               FORT MYERS               FL
13084   1G1105S35LU112288   GM          IMPALA               FORT MYERS               FL
13085   1G1105S35LU112341   GM          IMPALA               Miami                    FL
13086   1G1105S36JU147936   GM          IMPALA               Teterboro                NJ
13087   1G1105S36JU148262   GM          IMPALA               LAS VEGAS                NV
13088   1G1105S36JU148374   GM          IMPALA               DENVER                   CO
13089   1G1105S36JU148973   GM          IMPALA               North Dighton            MA
13090   1G1105S36JU148987   GM          IMPALA               PHILADELPHIA             PA
13091   1G1105S36JU150772   GM          IMPALA               Chicago                  IL
13092   1G1105S36KU112802   GM          IMPALA               Kailua‐Kona              HI
13093   1G1105S36KU113058   GM          IMPALA               HILO                     HI
13094   1G1105S36KU115506   GM          IMPALA               Richmond                 VA
13095   1G1105S36KU115778   GM          IMPALA               ORLANDO                  FL
13096   1G1105S36KU117126   GM          IMPALA               JACKSONVILLE             FL
13097   1G1105S36KU117580   GM          IMPALA               WEST PALM BEACH          FL
13098   1G1105S36KU117644   GM          IMPALA               FORT MYERS               FL
13099   1G1105S36KU117692   GM          IMPALA               Winston‐Salem            NC
13100   1G1105S36KU131866   GM          IMPALA               Austell                  GA
13101   1G1105S36KU133052   GM          IMPALA               MIAMI                    FL
13102   1G1105S36KU134816   GM          IMPALA               HOUSTON                  TX
13103   1G1105S36KU134959   GM          IMPALA               JACKSONVILLE             FL
13104   1G1105S36KU134993   GM          IMPALA               STERLING                 VA
13105   1G1105S36KU135173   GM          IMPALA               BOSTON                   MA
13106   1G1105S36KU135299   GM          IMPALA               CLEVELAND                OH
13107   1G1105S36KU135495   GM          IMPALA               FORT MYERS               FL
13108   1G1105S36KU135593   GM          IMPALA               Atlanta                  GA
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13109   1G1105S36KU135674   GM          IMPALA               RALEIGH                  NC
13110   1G1105S36KU137182   GM          IMPALA               INDIANAPOLIS             IN
13111   1G1105S36KU137313   GM          IMPALA               WEST PALM BEACH          FL
13112   1G1105S36KU137327   GM          IMPALA               OMAHA                    NE
13113   1G1105S36KU137425   GM          IMPALA               NASHVILLE                TN
13114   1G1105S36KU137537   GM          IMPALA               GRAND RAPIDS             MI
13115   1G1105S36KU137621   GM          IMPALA               DES MOINES               IA
13116   1G1105S36KU137957   GM          IMPALA               CHICAGO                  IL
13117   1G1105S36KU138512   GM          IMPALA               LOS ANGELES              CA
13118   1G1105S36KU138901   GM          IMPALA               NEW BERN                 NC
13119   1G1105S36KU139076   GM          IMPALA               COLLEGE PARK             GA
13120   1G1105S36KU139109   GM          IMPALA               SARASOTA                 FL
13121   1G1105S36KU139272   GM          IMPALA               CHICAGO                  IL
13122   1G1105S36KU139336   GM          IMPALA               STERLING                 VA
13123   1G1105S36KU139353   GM          IMPALA               WHITE PLAINS             NY
13124   1G1105S36KU139398   GM          IMPALA               LEXINGTON                KY
13125   1G1105S36KU139420   GM          IMPALA               CEDAR RAPIDS             IA
13126   1G1105S36KU139434   GM          IMPALA               DENVER                   CO
13127   1G1105S36KU139532   GM          IMPALA               PENSACOLA                FL
13128   1G1105S36KU139661   GM          IMPALA               NEW BERN                 NC
13129   1G1105S36KU139773   GM          IMPALA               CHICAGO                  IL
13130   1G1105S36KU139854   GM          IMPALA               JACKSONVILLE             FL
13131   1G1105S36KU139935   GM          IMPALA               CHICAGO                  IL
13132   1G1105S36KU140258   GM          IMPALA               FORT LAUDERDALE          FL
13133   1G1105S36KU140938   GM          IMPALA               INDIANAPOLIS             IN
13134   1G1105S36KU141295   GM          IMPALA               KNOXVILLE                TN
13135   1G1105S36KU141362   GM          IMPALA               PHOENIX                  AZ
13136   1G1105S36KU141877   GM          IMPALA               SYRACUSE                 NY
13137   1G1105S36KU142267   GM          IMPALA               ST Paul                  MN
13138   1G1105S36KU142995   GM          IMPALA               MIAMI                    FL
13139   1G1105S36LU106659   GM          IMPALA               NASHVILLE                TN
13140   1G1105S36LU109951   GM          IMPALA               FORT MYERS               FL
13141   1G1105S37JU129350   GM          IMPALA               BURBANK                  CA
13142   1G1105S37JU136475   GM          IMPALA               CHAMBLEE                 GA
13143   1G1105S37JU139747   GM          IMPALA               North Dighton            MA
13144   1G1105S37JU140011   GM          IMPALA               Smithtown                NY
13145   1G1105S37JU140221   GM          IMPALA               PHOENIX                  AZ
13146   1G1105S37JU146519   GM          IMPALA               DALLAS                   TX
13147   1G1105S37JU148836   GM          IMPALA               FRESNO                   CA
13148   1G1105S37JU149033   GM          IMPALA               PHOENIX                  AZ
13149   1G1105S37JU149212   GM          IMPALA               Houston                  TX
13150   1G1105S37JU149453   GM          IMPALA               FORT LAUDERDALE          FL
13151   1G1105S37JU149923   GM          IMPALA               Torrance                 CA
13152   1G1105S37JU150408   GM          IMPALA               Warr Acres               OK
13153   1G1105S37KU112436   GM          IMPALA               Kailua‐Kona              HI
13154   1G1105S37KU114008   GM          IMPALA               TAMPA                    FL
13155   1G1105S37KU114154   GM          IMPALA               ORLANDO                  FL
13156   1G1105S37KU115434   GM          IMPALA               WEST PALM BEACH          FL
13157   1G1105S37KU118821   GM          IMPALA               Houston                  TX
13158   1G1105S37KU125638   GM          IMPALA               Hapeville                GA
13159   1G1105S37KU126255   GM          IMPALA               FORT LAUDERDALE          FL
13160   1G1105S37KU130421   GM          IMPALA               HARTFORD                 CT
13161   1G1105S37KU132914   GM          IMPALA               WARWICK                  RI
13162   1G1105S37KU133108   GM          IMPALA               PANAMA CITY              FL
13163   1G1105S37KU133206   GM          IMPALA               TAMPA                    FL
13164   1G1105S37KU133240   GM          IMPALA               BOSTON                   MA
13165   1G1105S37KU133304   GM          IMPALA               JACKSONVILLE             FL
13166   1G1105S37KU133786   GM          IMPALA               WARWICK                  RI
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13167   1G1105S37KU133822   GM          IMPALA               ATLANTA                  GA
13168   1G1105S37KU134582   GM          IMPALA               WEST PALM BEACH          FL
13169   1G1105S37KU134839   GM          IMPALA               CHICAGO                  IL
13170   1G1105S37KU134873   GM          IMPALA               BLOOMINGTON              IL
13171   1G1105S37KU134906   GM          IMPALA               SAN ANTONIO              TX
13172   1G1105S37KU135389   GM          IMPALA               Raleigh                  NC
13173   1G1105S37KU135473   GM          IMPALA               SAN ANTONIO              TX
13174   1G1105S37KU137210   GM          IMPALA               RICHMOND                 VA
13175   1G1105S37KU137241   GM          IMPALA               San Antonio              TX
13176   1G1105S37KU137398   GM          IMPALA               PITTSBURGH               PA
13177   1G1105S37KU137515   GM          IMPALA               CLEVELAND                OH
13178   1G1105S37KU137675   GM          IMPALA               Irving                   TX
13179   1G1105S37KU137997   GM          IMPALA               FAYETTEVILLE             GA
13180   1G1105S37KU139037   GM          IMPALA               BOSTON                   MA
13181   1G1105S37KU139068   GM          IMPALA               KENNER                   LA
13182   1G1105S37KU139152   GM          IMPALA               MILWAUKEE                WI
13183   1G1105S37KU139281   GM          IMPALA               INDIANAPOLIS             IN
13184   1G1105S37KU139362   GM          IMPALA               SPOKANE                  WA
13185   1G1105S37KU139426   GM          IMPALA               CHICAGO                  IL
13186   1G1105S37KU139524   GM          IMPALA               ORLANDO                  FL
13187   1G1105S37KU139605   GM          IMPALA               PALM SPRINGS             CA
13188   1G1105S37KU139832   GM          IMPALA               Detroit                  MI
13189   1G1105S37KU139961   GM          IMPALA               WEST COLUMBIA            SC
13190   1G1105S37KU140124   GM          IMPALA               GRAND RAPIDS             MI
13191   1G1105S37KU140284   GM          IMPALA               KENNER                   LA
13192   1G1105S37KU140334   GM          IMPALA               HARTFORD                 CT
13193   1G1105S37KU140673   GM          IMPALA               WICHITA FALLS            TX
13194   1G1105S37KU141001   GM          IMPALA               BIRMINGHAM               AL
13195   1G1105S37KU141063   GM          IMPALA               BOSTON                   MA
13196   1G1105S37KU141564   GM          IMPALA               BUFFALO                  NY
13197   1G1105S37KU141578   GM          IMPALA               SALT LAKE CITY           UT
13198   1G1105S37KU141693   GM          IMPALA               KENNER                   LA
13199   1G1105S37KU141967   GM          IMPALA               Englewood                CO
13200   1G1105S37KU142438   GM          IMPALA               LAS VEGAS                NV
13201   1G1105S37KU142472   GM          IMPALA               ONTARIO                  CA
13202   1G1105S37KU143962   GM          IMPALA               LOS ANGELES              CA
13203   1G1105S37LU111689   GM          IMPALA               FORT MYERS               FL
13204   1G1105S37LU111742   GM          IMPALA               GLASSBORO                NJ
13205   1G1105S37LU112308   GM          IMPALA               Grove City               OH
13206   1G1105S38JU132077   GM          IMPALA               ORLANDO                  FL
13207   1G1105S38JU133536   GM          IMPALA               Schaumburg               IL
13208   1G1105S38JU136212   GM          IMPALA               SOUTHEAST DST OFFC       OK
13209   1G1105S38JU136646   GM          IMPALA               FORT LAUDERDALE          FL
13210   1G1105S38JU146657   GM          IMPALA               LAS VEGAS                NV
13211   1G1105S38JU146738   GM          IMPALA               Sacramento               CA
13212   1G1105S38JU147579   GM          IMPALA               SALT LAKE CITY           UT
13213   1G1105S38JU147825   GM          IMPALA               PALM SPRINGS             CA
13214   1G1105S38JU148036   GM          IMPALA               Houston                  TX
13215   1G1105S38JU148344   GM          IMPALA               Elkridge                 MD
13216   1G1105S38JU148392   GM          IMPALA               GRAND RAPIDS             MI
13217   1G1105S38JU148716   GM          IMPALA               FORT MYERS               FL
13218   1G1105S38JU148828   GM          IMPALA               CHICAGO                  IL
13219   1G1105S38JU148845   GM          IMPALA               MONTCLAIR                CA
13220   1G1105S38JU149011   GM          IMPALA               MT EPHRAIM               NJ
13221   1G1105S38KU112543   GM          IMPALA               Kailua‐Kona              HI
13222   1G1105S38KU112607   GM          IMPALA               HILO                     HI
13223   1G1105S38KU113563   GM          IMPALA               Maple Grove              MN
13224   1G1105S38KU113594   GM          IMPALA               Atlanta                  GA
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13225   1G1105S38KU114406   GM          IMPALA               ORLANDO                  FL
13226   1G1105S38KU115605   GM          IMPALA               WEST PALM BEACH          FL
13227   1G1105S38KU116060   GM          IMPALA               FORT MYERS               FL
13228   1G1105S38KU126295   GM          IMPALA               DAYTONA BEACH            FL
13229   1G1105S38KU133196   GM          IMPALA               BOSTON                   MA
13230   1G1105S38KU133618   GM          IMPALA               Los Angeles              CA
13231   1G1105S38KU134297   GM          IMPALA               SAN DIEGO                CA
13232   1G1105S38KU134963   GM          IMPALA               RALEIGH                  NC
13233   1G1105S38KU135028   GM          IMPALA               FORT MYERS               FL
13234   1G1105S38KU135143   GM          IMPALA               STERLING                 VA
13235   1G1105S38KU135479   GM          IMPALA               NASHVILLE                TN
13236   1G1105S38KU135482   GM          IMPALA               CHARLESTON               SC
13237   1G1105S38KU137295   GM          IMPALA               HANOVER                  MD
13238   1G1105S38KU137314   GM          IMPALA               GREENVILLE               NC
13239   1G1105S38KU137359   GM          IMPALA               PENSACOLA                FL
13240   1G1105S38KU137569   GM          IMPALA               GREENVILLE               NC
13241   1G1105S38KU137636   GM          IMPALA               CHICAGO                  IL
13242   1G1105S38KU137684   GM          IMPALA               STERLING                 VA
13243   1G1105S38KU137815   GM          IMPALA               CLEVELAND                OH
13244   1G1105S38KU139001   GM          IMPALA               CHICAGO MIDWAY           IL
13245   1G1105S38KU139127   GM          IMPALA               MILWAUKEE                WI
13246   1G1105S38KU139189   GM          IMPALA               Cudahy                   WI
13247   1G1105S38KU139239   GM          IMPALA               DETROIT                  MI
13248   1G1105S38KU139306   GM          IMPALA               CHATTANOOGA              TN
13249   1G1105S38KU139466   GM          IMPALA               JACKSONVILLE             FL
13250   1G1105S38KU139760   GM          IMPALA               SARASOTA                 FL
13251   1G1105S38KU139810   GM          IMPALA               DES MOINES               IA
13252   1G1105S38KU139838   GM          IMPALA               FORT LAUDERDALE          FL
13253   1G1105S38KU139953   GM          IMPALA               McHenry                  IL
13254   1G1105S38KU140102   GM          IMPALA               LEXINGTON                KY
13255   1G1105S38KU140133   GM          IMPALA               RICHMOND                 VA
13256   1G1105S38KU140245   GM          IMPALA               AUGUSTA                  GA
13257   1G1105S38KU140598   GM          IMPALA               SYRACUSE                 NY
13258   1G1105S38KU140634   GM          IMPALA               CHICAGO                  IL
13259   1G1105S38KU140715   GM          IMPALA               ORLANDO                  FL
13260   1G1105S38KU140746   GM          IMPALA               WARWICK                  RI
13261   1G1105S38KU140892   GM          IMPALA               HARTFORD                 CT
13262   1G1105S38KU141010   GM          IMPALA               Aberdeen                 MD
13263   1G1105S38KU141203   GM          IMPALA               TUCSON                   AZ
13264   1G1105S38KU141265   GM          IMPALA               PALM SPRINGS             CA
13265   1G1105S38KU141606   GM          IMPALA               COLORADO SPRING          CO
13266   1G1105S38KU142190   GM          IMPALA               LOS ANGELES AP           CA
13267   1G1105S38KU143145   GM          IMPALA               Atlanta                  GA
13268   1G1105S38KU143212   GM          IMPALA               Atlanta                  GA
13269   1G1105S38KU143615   GM          IMPALA               WEST PALM BEACH          FL
13270   1G1105S38LU109420   GM          IMPALA               COLLEGE PARK             GA
13271   1G1105S38LU109787   GM          IMPALA               Des Moines               IA
13272   1G1105S38LU110342   GM          IMPALA               FORT MYERS               FL
13273   1G1105S39JU123081   GM          IMPALA               DAYTONA BEACH            FL
13274   1G1105S39JU125249   GM          IMPALA               STERLING                 VA
13275   1G1105S39JU133352   GM          IMPALA               Greensboro               NC
13276   1G1105S39JU135781   GM          IMPALA               SAINT PAUL               MN
13277   1G1105S39JU136512   GM          IMPALA               ST. SIMONS ISLAND        GA
13278   1G1105S39JU146232   GM          IMPALA               SAN DIEGO                CA
13279   1G1105S39JU146893   GM          IMPALA               GRAND RAPIDS             MI
13280   1G1105S39JU147588   GM          IMPALA               Massapequa               NY
13281   1G1105S39JU148501   GM          IMPALA               SANTA ANA                CA
13282   1G1105S39KU112390   GM          IMPALA               HILO                     HI
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13283   1G1105S39KU112549   GM          IMPALA               WAIMEA                   HI
13284   1G1105S39KU113099   GM          IMPALA               HILO                     HI
13285   1G1105S39KU118254   GM          IMPALA               TAMPA                    FL
13286   1G1105S39KU132817   GM          IMPALA               LOS ANGELES AP           CA
13287   1G1105S39KU132851   GM          IMPALA               DETROIT                  MI
13288   1G1105S39KU133532   GM          IMPALA               MIAMI                    FL
13289   1G1105S39KU133790   GM          IMPALA               CHARLESTON               WV
13290   1G1105S39KU134129   GM          IMPALA               STERLING                 US
13291   1G1105S39KU134373   GM          IMPALA               FORT LAUDERDALE          FL
13292   1G1105S39KU134857   GM          IMPALA               MILWAUKEE                WI
13293   1G1105S39KU134972   GM          IMPALA               NEW BERN                 NC
13294   1G1105S39KU135510   GM          IMPALA               RALEIGH                  NC
13295   1G1105S39KU137077   GM          IMPALA               SAN ANTONIO              TX
13296   1G1105S39KU137239   GM          IMPALA               SALT LAKE CITY           UT
13297   1G1105S39KU137290   GM          IMPALA               MIAMI                    FL
13298   1G1105S39KU137399   GM          IMPALA               Tulsa                    OK
13299   1G1105S39KU137418   GM          IMPALA               DENVER                   CO
13300   1G1105S39KU137435   GM          IMPALA               FORT MYERS               FL
13301   1G1105S39KU137631   GM          IMPALA               KNOXVILLE                TN
13302   1G1105S39KU137872   GM          IMPALA               Atlanta                  GA
13303   1G1105S39KU138911   GM          IMPALA               JACKSON                  MS
13304   1G1105S39KU138973   GM          IMPALA               PHOENIX                  AZ
13305   1G1105S39KU139069   GM          IMPALA               Miami                    FL
13306   1G1105S39KU139203   GM          IMPALA               KNOXVILLE                TN
13307   1G1105S39KU139315   GM          IMPALA               Austin                   TX
13308   1G1105S39KU139329   GM          IMPALA               TAMPA                    FL
13309   1G1105S39KU139394   GM          IMPALA               ORLANDO                  FL
13310   1G1105S39KU139511   GM          IMPALA               JACKSONVILLE             FL
13311   1G1105S39KU139525   GM          IMPALA               FORT MYERS               FL
13312   1G1105S39KU139539   GM          IMPALA               CHICAGO                  IL
13313   1G1105S39KU139573   GM          IMPALA               TAMPA                    FL
13314   1G1105S39KU139668   GM          IMPALA               BLOOMINGTON              IL
13315   1G1105S39KU139704   GM          IMPALA               BOSTON                   MA
13316   1G1105S39KU139881   GM          IMPALA               CLEVELAND                OH
13317   1G1105S39KU139914   GM          IMPALA               KNOXVILLE                TN
13318   1G1105S39KU139959   GM          IMPALA               DENVER                   CO
13319   1G1105S39KU139976   GM          IMPALA               ATLANTA                  GA
13320   1G1105S39KU140139   GM          IMPALA               NORFOLK                  VA
13321   1G1105S39KU140206   GM          IMPALA               GRAND RAPIDS             MI
13322   1G1105S39KU140531   GM          IMPALA               PROVIDENCE               RI
13323   1G1105S39KU140898   GM          IMPALA               WARWICK                  RI
13324   1G1105S39KU140934   GM          IMPALA               PORTLAND                 ME
13325   1G1105S39KU140979   GM          IMPALA               LOUISVILLE               KY
13326   1G1105S39KU141159   GM          IMPALA               WEST PALM BEACH          FL
13327   1G1105S39KU141212   GM          IMPALA               SAINT LOUIS              MO
13328   1G1105S39KU141257   GM          IMPALA               LOS ANGELES              CA
13329   1G1105S39KU141386   GM          IMPALA               PALM SPRINGS             CA
13330   1G1105S39KU141534   GM          IMPALA               SAN FRANCISCO            CA
13331   1G1105S39KU141825   GM          IMPALA               Austell                  GA
13332   1G1105S39KU142280   GM          IMPALA               SALT LAKE CITY           US
13333   1G1105S39KU143963   GM          IMPALA               ST Paul                  MN
13334   1G1105S39LU112424   GM          IMPALA               Miami                    FL
13335   1G1105S3XJU136051   GM          IMPALA               SARASOTA                 FL
13336   1G1105S3XJU136390   GM          IMPALA               NORFOLK                  VA
13337   1G1105S3XJU137250   GM          IMPALA               ATLANTA                  GA
13338   1G1105S3XJU140407   GM          IMPALA               DAYTONA BEACH            FL
13339   1G1105S3XJU146868   GM          IMPALA               FORT MYERS               FL
13340   1G1105S3XJU146935   GM          IMPALA               Anaheim                  CA
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13341   1G1105S3XJU148331   GM          IMPALA               LOS ANGELES              CA
13342   1G1105S3XJU148555   GM          IMPALA               Tolleson                 AZ
13343   1G1105S3XJU148748   GM          IMPALA               Webster                  NY
13344   1G1105S3XJU148779   GM          IMPALA               Sterling                 VA
13345   1G1105S3XJU148944   GM          IMPALA               Johnston                 RI
13346   1G1105S3XJU150371   GM          IMPALA               DENVER                   CO
13347   1G1105S3XJU150564   GM          IMPALA               BOISE                    US
13348   1G1105S3XJU150886   GM          IMPALA               Las Vegas                NV
13349   1G1105S3XJU150922   GM          IMPALA               MIAMI                    FL
13350   1G1105S3XKU112236   GM          IMPALA               KAILUA‐KONA              HI
13351   1G1105S3XKU113628   GM          IMPALA               ORLANDO                  FL
13352   1G1105S3XKU115752   GM          IMPALA               JACKSONVILLE             FL
13353   1G1105S3XKU125245   GM          IMPALA               ORLANDO                  FL
13354   1G1105S3XKU125357   GM          IMPALA               Rincon                   GA
13355   1G1105S3XKU131854   GM          IMPALA               TAMPA                    FL
13356   1G1105S3XKU133068   GM          IMPALA               BURBANK                  CA
13357   1G1105S3XKU133796   GM          IMPALA               ALBANY                   NY
13358   1G1105S3XKU134754   GM          IMPALA               DALLAS                   TX
13359   1G1105S3XKU134950   GM          IMPALA               Hebron                   KY
13360   1G1105S3XKU135256   GM          IMPALA               KENNER                   LA
13361   1G1105S3XKU137346   GM          IMPALA               PITTSBURGH               PA
13362   1G1105S3XKU137377   GM          IMPALA               CHICAGO                  IL
13363   1G1105S3XKU137394   GM          IMPALA               PROVIDENCE               RI
13364   1G1105S3XKU137492   GM          IMPALA               Atlanta                  GA
13365   1G1105S3XKU138464   GM          IMPALA               UNION CITY               GA
13366   1G1105S3XKU139176   GM          IMPALA               DES MOINES               IA
13367   1G1105S3XKU139291   GM          IMPALA               LEXINGTON                KY
13368   1G1105S3XKU139369   GM          IMPALA               Downey                   CA
13369   1G1105S3XKU139694   GM          IMPALA               DALLAS                   TX
13370   1G1105S3XKU139758   GM          IMPALA               CLEVELAND                OH
13371   1G1105S3XKU139839   GM          IMPALA               BURLINGTON               VT
13372   1G1105S3XKU139887   GM          IMPALA               GRAND RAPIDS             MI
13373   1G1105S3XKU139890   GM          IMPALA               KENNER                   LA
13374   1G1105S3XKU139968   GM          IMPALA               DETROIT                  MI
13375   1G1105S3XKU140117   GM          IMPALA               KNOXVILLE                TN
13376   1G1105S3XKU140182   GM          IMPALA               INDIANAPOLIS             IN
13377   1G1105S3XKU140490   GM          IMPALA               CHARLOTTE                NC
13378   1G1105S3XKU140845   GM          IMPALA               SALT LAKE CITY           UT
13379   1G1105S3XKU141106   GM          IMPALA               WHITE PLAINS             NY
13380   1G1105S3XKU141431   GM          IMPALA               LAS VEGAS                NV
13381   1G1105S3XKU141462   GM          IMPALA               SAN JOSE                 CA
13382   1G1105S3XKU141543   GM          IMPALA               PHOENIX                  AZ
13383   1G1105S3XKU141588   GM          IMPALA               PHOENIX                  AZ
13384   1G1105S3XKU141798   GM          IMPALA               ONTARIO                  CA
13385   1G1105S3XKU142806   GM          IMPALA               OMAHA                    NE
13386   1G1105S3XKU143034   GM          IMPALA               KEY WEST                 FL
13387   1G1105S3XLU108706   GM          IMPALA               ATLANTA                  GA
13388   1G1105S3XLU110536   GM          IMPALA               FORT MYERS               FL
13389   1G1105S3XLU110858   GM          IMPALA               FORT MYERS               FL
13390   1G1105SA0JU130158   GM          IMPALA               SAN FRANCISCO            CA
13391   1G1105SA2JU136303   GM          IMPALA               NORTH PAC                CA
13392   1G1105SA5JU101142   GM          IMPALA               NORTH PAC                CA
13393   1G1115SL8FU119267   GM          IMPALA               Port Newark              NJ
13394   1G1125S30JU131421   GM          IMPALA               Hilo                     HI
13395   1G1125S30JU142399   GM          IMPALA               Rockville Centr          NY
13396   1G1125S30JU142905   GM          IMPALA               BLOOMINGTON              IL
13397   1G1125S30JU143830   GM          IMPALA               LAS VEGAS                NV
13398   1G1125S30JU143844   GM          IMPALA               HOUSTON                  TX
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13399   1G1125S30JU144511   GM           IMPALA               NEW YORK CITY            NY
13400   1G1125S30JU144587   GM           IMPALA               SANDSTON                 VA
13401   1G1125S30JU145240   GM           IMPALA               Detroit                  MI
13402   1G1125S30JU149367   GM           IMPALA               TAMPA                    FL
13403   1G1125S30JU150244   GM           IMPALA               North Dighton            MA
13404   1G1125S31JU128768   GM           IMPALA               WEST DUNDEE              IL
13405   1G1125S31JU132903   GM           IMPALA               FORT LAUDERDALE          FL
13406   1G1125S31JU133162   GM           IMPALA               SARASOTA                 FL
13407   1G1125S31JU137910   GM           IMPALA               FORT MYERS               FL
13408   1G1125S31JU138006   GM           IMPALA               WEST PALM BEACH          FL
13409   1G1125S31JU138720   GM           IMPALA               Matteson                 IL
13410   1G1125S31JU143870   GM           IMPALA               INGLEWOOD                CA
13411   1G1125S31JU144503   GM           IMPALA               Manheim                  PA
13412   1G1125S31JU144646   GM           IMPALA               DETROIT                  MI
13413   1G1125S31JU144677   GM           IMPALA               FORT LAUDERDALE          FL
13414   1G1125S31JU144937   GM           IMPALA               Tolleson                 AZ
13415   1G1125S31JU145358   GM           IMPALA               San Diego                CA
13416   1G1125S31JU147806   GM           IMPALA               Warminster               PA
13417   1G1125S31JU149491   GM           IMPALA               OAKLAND                  CA
13418   1G1125S31JU150379   GM           IMPALA               SAN JOSE                 CA
13419   1G1125S32JU106651   GM           IMPALA               Sacramento               CA
13420   1G1125S32JU133140   GM           IMPALA               RALEIGH                  NC
13421   1G1125S32JU138497   GM           IMPALA               GREENVILLE               NC
13422   1G1125S32JU143800   GM           IMPALA               SAN FRANCISCO            CA
13423   1G1125S32JU144204   GM           IMPALA               SANTA ANA                CA
13424   1G1125S32JU146499   GM           IMPALA               Las Vegas                NV
13425   1G1125S32JU146549   GM           IMPALA               ORLANDO                  FL
13426   1G1125S32JU149306   GM           IMPALA               Houston                  TX
13427   1G1125S32JU149774   GM           IMPALA               Matteson                 IL
13428   1G1125S32JU149838   GM           IMPALA               NEW ORLEANS              LA
13429   1G1125S32JU150293   GM           IMPALA               DALLAS                   TX
13430   1G1125S32JU150441   GM           IMPALA               LOS ANGELES              CA
13431   1G1125S32JU150472   GM           IMPALA               WOODSON TERRACE          MO
13432   1G1125S33JU132255   GM           IMPALA               HILO                     HI
13433   1G1125S33JU144535   GM           IMPALA               DENVER                   CO
13434   1G1125S33JU144633   GM           IMPALA               Florissant               MO
13435   1G1125S33JU145653   GM           IMPALA               SYRACUSE                 NY
13436   1G1125S33JU146527   GM           IMPALA               BIRMINGHAM               AL
13437   1G1125S33JU146883   GM           IMPALA               BOSTON                   MA
13438   1G1125S33JU147323   GM           IMPALA               MILWAUKEE                WI
13439   1G1125S33JU148911   GM           IMPALA               PHILADELPHIA             US
13440   1G1125S33JU150738   GM           IMPALA               GWINN                    MI
13441   1G1125S33JU150755   GM           IMPALA               Smithtown                NY
13442   1G1125S34JU129168   GM           IMPALA               FORT LAUDERDALE          FL
13443   1G1125S34JU129509   GM           IMPALA               North Dighton            MA
13444   1G1125S34JU135861   GM           IMPALA               COLLEGE PARK             GA
13445   1G1125S34JU143314   GM           IMPALA               SAINT LOUIS              MO
13446   1G1125S34JU143832   GM           IMPALA               Ocoee                    FL
13447   1G1125S34JU144494   GM           IMPALA               PORTLAND                 OR
13448   1G1125S34JU144611   GM           IMPALA               RENO                     NV
13449   1G1125S34JU144978   GM           IMPALA               Hayward                  CA
13450   1G1125S34JU145385   GM           IMPALA               ATLANTA                  GA
13451   1G1125S34JU148030   GM           IMPALA               BOSTON                   MA
13452   1G1125S34JU150280   GM           IMPALA               KANSAS CITY              MO
13453   1G1125S34JU150375   GM           IMPALA               SAINT LOUIS              MO
13454   1G1125S35JU122228   GM           IMPALA               Hapeville                GA
13455   1G1125S35JU133164   GM           IMPALA               Warminster               PA
13456   1G1125S35JU138834   GM           IMPALA               FORT LAUDERDALE          FL
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13457   1G1125S35JU144973   GM           IMPALA               LAS VEGAS                NV
13458   1G1125S35JU145685   GM           IMPALA               North Dighton            MA
13459   1G1125S35JU146268   GM           IMPALA               MELROSE PARK             IL
13460   1G1125S35JU146769   GM           IMPALA               SAN DIEGO                CA
13461   1G1125S35JU147226   GM           IMPALA               DALLAS                   TX
13462   1G1125S35JU147372   GM           IMPALA               INDIANAPOLIS             IN
13463   1G1125S35JU147971   GM           IMPALA               Warminster               PA
13464   1G1125S35JU148733   GM           IMPALA               DETROIT                  MI
13465   1G1125S35JU150207   GM           IMPALA               PHOENIX                  AZ
13466   1G1125S36JU128717   GM           IMPALA               CHICAGO                  IL
13467   1G1125S36JU144948   GM           IMPALA               Smithtown                NY
13468   1G1125S36JU145176   GM           IMPALA               NEW YORK CITY            NY
13469   1G1125S36JU146263   GM           IMPALA               CHICAGO                  IL
13470   1G1125S36JU146540   GM           IMPALA               NORFOLK                  VA
13471   1G1125S36JU147381   GM           IMPALA               JACKSONVILLE             FL
13472   1G1125S36JU148191   GM           IMPALA               ST PAUL                  MN
13473   1G1125S36JU149793   GM           IMPALA               NASHVILLE                TN
13474   1G1125S36JU150880   GM           IMPALA               Elkridge                 MD
13475   1G1125S37JU122165   GM           IMPALA               FORT MYERS               FL
13476   1G1125S37JU131979   GM           IMPALA               Hilo                     HI
13477   1G1125S37JU133411   GM           IMPALA               HILO                     HI
13478   1G1125S37JU136406   GM           IMPALA               TAMPA                    FL
13479   1G1125S37JU144215   GM           IMPALA               Hanover                  MD
13480   1G1125S37JU144831   GM           IMPALA               TAMPA                    FL
13481   1G1125S37JU144862   GM           IMPALA               LAS VEGAS                NV
13482   1G1125S37JU145350   GM           IMPALA               JACKSON                  MS
13483   1G1125S37JU145378   GM           IMPALA               SAN FRANCISCO            CA
13484   1G1125S37JU145753   GM           IMPALA               MONTCLAIR                CA
13485   1G1125S37JU147616   GM           IMPALA               Fontana                  CA
13486   1G1125S37JU147955   GM           IMPALA               CHICAGO                  IL
13487   1G1125S37JU148362   GM           IMPALA               Greensboro               NC
13488   1G1125S37JU149107   GM           IMPALA               Johnston                 RI
13489   1G1125S37JU149222   GM           IMPALA               LOS ANGELES              CA
13490   1G1125S37JU150306   GM           IMPALA               TAMPA                    US
13491   1G1125S37JU150631   GM           IMPALA               HARTFORD                 CT
13492   1G1125S38JU128413   GM           IMPALA               SOUTHEAST DST OFFC       OK
13493   1G1125S38JU136110   GM           IMPALA               FORT MYERS               FL
13494   1G1125S38JU138553   GM           IMPALA               DENVER                   CO
13495   1G1125S38JU144904   GM           IMPALA               NASHVILLE                TN
13496   1G1125S38JU145311   GM           IMPALA               NORFOLK                  VA
13497   1G1125S38JU145745   GM           IMPALA               Sterling                 VA
13498   1G1125S38JU146278   GM           IMPALA               TAMPA                    FL
13499   1G1125S38JU146362   GM           IMPALA               ST Paul                  MN
13500   1G1125S38JU146782   GM           IMPALA               Des Plaines              IL
13501   1G1125S38JU149651   GM           IMPALA               FT LAUDERDALE            FL
13502   1G1125S38JU150072   GM           IMPALA               Manheim                  PA
13503   1G1125S39JU124449   GM           IMPALA               TAMPA                    FL
13504   1G1125S39JU125889   GM           IMPALA               HOUSTON                  TX
13505   1G1125S39JU128534   GM           IMPALA               FORT MYERS               FL
13506   1G1125S39JU133121   GM           IMPALA               Hilo                     HI
13507   1G1125S39JU142210   GM           IMPALA               NEW YORK CITY            NY
13508   1G1125S39JU143826   GM           IMPALA               LOS ANGELES              CA
13509   1G1125S39JU144507   GM           IMPALA               LOS ANGELES              CA
13510   1G1125S39JU145429   GM           IMPALA               FORT LAUDERDALE          FL
13511   1G1125S39JU146953   GM           IMPALA               ORLANDO                  FL
13512   1G1125S39JU147147   GM           IMPALA               MIAMI                    FL
13513   1G1125S39JU147424   GM           IMPALA               Salt Lake City           UT
13514   1G1125S39JU148007   GM           IMPALA               ORLANDO                  FL
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13515   1G1125S39JU150792   GM          IMPALA               ORLANDO                  FL
13516   1G1125S3XJU133712   GM          IMPALA               SARASOTA                 FL
13517   1G1125S3XJU144175   GM          IMPALA               LOS ANGELES              CA
13518   1G1125S3XJU144581   GM          IMPALA               NEWARK                   NJ
13519   1G1125S3XJU145018   GM          IMPALA               SAN DIEGO                CA
13520   1G1125S3XJU145083   GM          IMPALA               LOS ANGELES              CA
13521   1G1125S3XJU145374   GM          IMPALA               DENVER                   CO
13522   1G1125S3XJU145679   GM          IMPALA               Miami                    FL
13523   1G1125S3XJU145777   GM          IMPALA               CHICAGO                  IL
13524   1G1125S3XJU147285   GM          IMPALA               NORFOLK                  VA
13525   1G1125S3XJU147383   GM          IMPALA               CHICAGO                  IL
13526   1G1125S3XJU149344   GM          IMPALA               SANTA ANA                CA
13527   1G1125S3XJU149358   GM          IMPALA               North Dighton            MA
13528   1G1125S3XJU150512   GM          IMPALA               SAN ANTONIO              TX
13529   1G11A5SA0GU143627   GM          MALIBU               UNION CITY               GA
13530   1G11C5SA1GF130402   GM          MALIBU               BURBANK                  CA
13531   1G11C5SA4GF109771   GM          MALIBU               Tampa                    FL
13532   1G11C5SA4GU147822   GM          MALIBU               Wilmington               NC
13533   1G11C5SA6GF167123   GM          MALIBU               Atlanta                  GA
13534   1G11C5SL0FF327061   GM          MALIBU               Pittsburgh               PA
13535   1G11C5SLXFF288298   GM          MALIBU               BURBANK                  CA
13536   1G11D5SL3FF322191   GM          MALIBU               ALBANY                   N
13537   1G11D5SL4FF215442   GM          MALIBU               Portland                 OR
13538   1G11Z5S30LU106324   GM          IMPALA               Miami                    FL
13539   1G11Z5S30LU106517   GM          IMPALA               TAMPA                    FL
13540   1G11Z5S30LU106520   GM          IMPALA               MIAMI                    FL
13541   1G11Z5S30LU106677   GM          IMPALA               KENNER                   LA
13542   1G11Z5S30LU106680   GM          IMPALA               SARASOTA                 FL
13543   1G11Z5S30LU106713   GM          IMPALA               FORT MYERS               FL
13544   1G11Z5S30LU108607   GM          IMPALA               FORT MYERS               FL
13545   1G11Z5S30LU108753   GM          IMPALA               MIAMI                    FL
13546   1G11Z5S30LU108770   GM          IMPALA               MIAMI                    FL
13547   1G11Z5S30LU109501   GM          IMPALA               BIRMINGHAM               AL
13548   1G11Z5S30LU112043   GM          IMPALA               FORT MYERS               FL
13549   1G11Z5S30LU113502   GM          IMPALA               FORT MYERS               FL
13550   1G11Z5S31KU104368   GM          IMPALA               Phoenix                  AZ
13551   1G11Z5S31LU106297   GM          IMPALA               FORT MYERS               FL
13552   1G11Z5S31LU108597   GM          IMPALA               TITUSVILLE               FL
13553   1G11Z5S32LU106437   GM          IMPALA               FORT MYERS               FL
13554   1G11Z5S32LU106521   GM          IMPALA               FORT LAUDERDALE          FL
13555   1G11Z5S32LU108818   GM          IMPALA               FORT LAUDERDALE          FL
13556   1G11Z5S32LU109919   GM          IMPALA               FORT MYERS               FL
13557   1G11Z5S32LU110570   GM          IMPALA               FORT MYERS               FL
13558   1G11Z5S33LU106625   GM          IMPALA               WEST PALM BEACH          FL
13559   1G11Z5S33LU106673   GM          IMPALA               FORT MYERS               FL
13560   1G11Z5S33LU106754   GM          IMPALA               JACKSONVILLE             FL
13561   1G11Z5S33LU110030   GM          IMPALA               FORT MYERS               FL
13562   1G11Z5S33LU110688   GM          IMPALA               FORT MYERS               FL
13563   1G11Z5S34KU108236   GM          IMPALA               PHOENIX                  AZ
13564   1G11Z5S34KU112898   GM          IMPALA               Scottsdale               AZ
13565   1G11Z5S34LU106620   GM          IMPALA               FORT MYERS               FL
13566   1G11Z5S34LU111963   GM          IMPALA               Jacksonville             FL
13567   1G11Z5S35LU106674   GM          IMPALA               FORT LAUDERDALE          FL
13568   1G11Z5S35LU108618   GM          IMPALA               WEST PALM BEACH          FL
13569   1G11Z5S36LU106473   GM          IMPALA               FORT MYERS               FL
13570   1G11Z5S37KU115231   GM          IMPALA               CHANDLER                 AZ
13571   1G11Z5S37LU106529   GM          IMPALA               JACKSONVILLE             FL
13572   1G11Z5S37LU108698   GM          IMPALA               ORLANDO                  FL
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13573   1G11Z5S37LU108717   GM          IMPALA               ORLANDO                  FL
13574   1G11Z5S37LU112394   GM          IMPALA               FORT MYERS               FL
13575   1G11Z5S38LU106698   GM          IMPALA               TAMPA                    FL
13576   1G11Z5S38LU110363   GM          IMPALA               Darlington               SC
13577   1G11Z5S38LU111383   GM          IMPALA               FORT MYERS               FL
13578   1G11Z5S39LU106581   GM          IMPALA               FORT MYERS               FL
13579   1G11Z5S3XLU106427   GM          IMPALA               FORT MYERS               FL
13580   1G11Z5S3XLU109344   GM          IMPALA               AUGUSTA                  GA
13581   1G11Z5S3XLU109408   GM          IMPALA               ROANOKE                  VA
13582   1G11Z5SA0KU111939   GM          IMPALA               Kailua‐Kona              HI
13583   1G11Z5SA0KU112024   GM          IMPALA               HILO                     HI
13584   1G11Z5SA0KU112167   GM          IMPALA               HILO                     HI
13585   1G11Z5SA0KU114484   GM          IMPALA               TAMPA                    US
13586   1G11Z5SA0KU115425   GM          IMPALA               FORT MYERS               FL
13587   1G11Z5SA0KU131821   GM          IMPALA               MOBILE                   A
13588   1G11Z5SA0KU132337   GM          IMPALA               Coraopolis               PA
13589   1G11Z5SA0KU132497   GM          IMPALA               Euless                   TX
13590   1G11Z5SA0KU132984   GM          IMPALA               FORT MYERS               FL
13591   1G11Z5SA0KU133570   GM          IMPALA               DES MOINES               IA
13592   1G11Z5SA0KU133973   GM          IMPALA               PHILADELPHIA             PA
13593   1G11Z5SA0KU134007   GM          IMPALA               Orlando                  FL
13594   1G11Z5SA0KU134105   GM          IMPALA               PHILADELPHIA             US
13595   1G11Z5SA0KU134203   GM          IMPALA               PHILADELPHIA             PA
13596   1G11Z5SA0KU134265   GM          IMPALA               Clearwater               FL
13597   1G11Z5SA0KU134539   GM          IMPALA               WESTLAKE                 OH
13598   1G11Z5SA0KU134590   GM          IMPALA               Houston                  TX
13599   1G11Z5SA0KU134752   GM          IMPALA               Dallas                   TX
13600   1G11Z5SA0KU134833   GM          IMPALA               Tulsa                    OK
13601   1G11Z5SA0KU135013   GM          IMPALA               KANSAS CITY              MO
13602   1G11Z5SA0KU135027   GM          IMPALA               KENNER                   LA
13603   1G11Z5SA0KU135240   GM          IMPALA               KANSAS CITY              MO
13604   1G11Z5SA0KU135318   GM          IMPALA               SAINT PAUL               MN
13605   1G11Z5SA0KU135478   GM          IMPALA               GREENSBORO               NC
13606   1G11Z5SA0KU135514   GM          IMPALA               Marietta                 GA
13607   1G11Z5SA0KU135545   GM          IMPALA               ST Paul                  MN
13608   1G11Z5SA0KU135559   GM          IMPALA               ORLANDO                  FL
13609   1G11Z5SA0KU135710   GM          IMPALA               Nashville                TN
13610   1G11Z5SA0KU135822   GM          IMPALA               Phoenix                  AZ
13611   1G11Z5SA0KU135870   GM          IMPALA               Nashville                TN
13612   1G11Z5SA0KU136467   GM          IMPALA               SAN DIEGO                US
13613   1G11Z5SA0KU137019   GM          IMPALA               CHARLOTTE                NC
13614   1G11Z5SA0KU137070   GM          IMPALA               LOS ANGELES AP           CA
13615   1G11Z5SA0KU137411   GM          IMPALA               GREENVILLE               NC
13616   1G11Z5SA0KU137456   GM          IMPALA               BOSTON                   MA
13617   1G11Z5SA0KU137540   GM          IMPALA               MINNEAPOLIS              MN
13618   1G11Z5SA0KU138249   GM          IMPALA               MIAMI                    FL
13619   1G11Z5SA0KU138297   GM          IMPALA               ORLANDO                  FL
13620   1G11Z5SA0KU138445   GM          IMPALA               SOUTHEAST DST OFFC       OK
13621   1G11Z5SA0KU138476   GM          IMPALA               AUGUSTA                  GA
13622   1G11Z5SA0KU138980   GM          IMPALA               Killeen                  TX
13623   1G11Z5SA0KU139059   GM          IMPALA               RICHMOND                 VA
13624   1G11Z5SA0KU139112   GM          IMPALA               GRAND RAPIDS             MI
13625   1G11Z5SA0KU139207   GM          IMPALA               LAS VEGAS                NV
13626   1G11Z5SA0KU139482   GM          IMPALA               FORT LAUDERDALE          FL
13627   1G11Z5SA0KU139806   GM          IMPALA               DES MOINES               IA
13628   1G11Z5SA0KU140762   GM          IMPALA               JACKSONVILLE             FL
13629   1G11Z5SA0KU140776   GM          IMPALA               FORT MYERS               FL
13630   1G11Z5SA0KU140793   GM          IMPALA               Rockville Centr          NY
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13631   1G11Z5SA0KU140812   GM          IMPALA               Atlanta                  GA
13632   1G11Z5SA0KU140857   GM          IMPALA               SARASOTA                 FL
13633   1G11Z5SA0KU140860   GM          IMPALA               WEST PALM BEACH          FL
13634   1G11Z5SA0KU140955   GM          IMPALA               TAMPA                    FL
13635   1G11Z5SA0KU141040   GM          IMPALA               FORT MYERS               FL
13636   1G11Z5SA0KU141054   GM          IMPALA               WEST PALM BEACH          FL
13637   1G11Z5SA0KU141085   GM          IMPALA               DETROIT                  MI
13638   1G11Z5SA0KU141118   GM          IMPALA               Houston                  TX
13639   1G11Z5SA0KU141135   GM          IMPALA               BIRMINGHAM               AL
13640   1G11Z5SA0KU141247   GM          IMPALA               WEST COLUMBIA            SC
13641   1G11Z5SA0KU141281   GM          IMPALA               CHARLOTTE                NC
13642   1G11Z5SA0KU141359   GM          IMPALA               Hebron                   KY
13643   1G11Z5SA0KU141488   GM          IMPALA               CHICAGO                  IL
13644   1G11Z5SA0KU141507   GM          IMPALA               Memphis                  TN
13645   1G11Z5SA0KU141569   GM          IMPALA               NEW BERN                 NC
13646   1G11Z5SA0KU141605   GM          IMPALA               SAN DIEGO                CA
13647   1G11Z5SA0KU141653   GM          IMPALA               JACKSONVILLE             FL
13648   1G11Z5SA0KU141684   GM          IMPALA               SYRACUSE                 NY
13649   1G11Z5SA0KU141782   GM          IMPALA               PHOENIX                  AZ
13650   1G11Z5SA0KU141930   GM          IMPALA               Hamilton                 OH
13651   1G11Z5SA0KU141944   GM          IMPALA               KNOXVILLE                TN
13652   1G11Z5SA0KU141958   GM          IMPALA               Atlanta                  GA
13653   1G11Z5SA1KU112016   GM          IMPALA               KALAOA                   HI
13654   1G11Z5SA1KU112145   GM          IMPALA               KAILUA‐KONA              HI
13655   1G11Z5SA1KU112209   GM          IMPALA               HILO                     HI
13656   1G11Z5SA1KU113683   GM          IMPALA               BIRMINGHAM               AL
13657   1G11Z5SA1KU115787   GM          IMPALA               TAMPA                    US
13658   1G11Z5SA1KU116647   GM          IMPALA               FORT MYERS               FL
13659   1G11Z5SA1KU132380   GM          IMPALA               FORT LAUDERDALE          FL
13660   1G11Z5SA1KU133500   GM          IMPALA               Kansas City              MO
13661   1G11Z5SA1KU133710   GM          IMPALA               Baltimore                MD
13662   1G11Z5SA1KU133724   GM          IMPALA               WEST PALM BEACH          FL
13663   1G11Z5SA1KU133965   GM          IMPALA               Sanford                  FL
13664   1G11Z5SA1KU133979   GM          IMPALA               ORLANDO                  FL
13665   1G11Z5SA1KU134193   GM          IMPALA               North Dighton            MA
13666   1G11Z5SA1KU134243   GM          IMPALA               MILWAUKEE                WI
13667   1G11Z5SA1KU134310   GM          IMPALA               Atlanta                  GA
13668   1G11Z5SA1KU134405   GM          IMPALA               SHREVEPORT               LA
13669   1G11Z5SA1KU134632   GM          IMPALA               MEDINA                   OH
13670   1G11Z5SA1KU135005   GM          IMPALA               Tampa                    FL
13671   1G11Z5SA1KU135036   GM          IMPALA               JACKSONVILLE             FL
13672   1G11Z5SA1KU135182   GM          IMPALA               DENVER                   CO
13673   1G11Z5SA1KU135523   GM          IMPALA               KENNER                   LA
13674   1G11Z5SA1KU135618   GM          IMPALA               Phoenix                  AZ
13675   1G11Z5SA1KU135795   GM          IMPALA               Denver                   CO
13676   1G11Z5SA1KU135828   GM          IMPALA               Tulsa                    OK
13677   1G11Z5SA1KU136445   GM          IMPALA               FORT MYERS               FL
13678   1G11Z5SA1KU137028   GM          IMPALA               Hebron                   KY
13679   1G11Z5SA1KU137143   GM          IMPALA               MILWAUKEE                WI
13680   1G11Z5SA1KU137191   GM          IMPALA               ORLANDO                  FL
13681   1G11Z5SA1KU137286   GM          IMPALA               PHOENIX                  AZ
13682   1G11Z5SA1KU137319   GM          IMPALA               CHICAGO                  IL
13683   1G11Z5SA1KU137353   GM          IMPALA               ORLANDO                  FL
13684   1G11Z5SA1KU137370   GM          IMPALA               BALTIMORE                MD
13685   1G11Z5SA1KU137448   GM          IMPALA               MILWAUKEE                WI
13686   1G11Z5SA1KU137496   GM          IMPALA               RALEIGH                  NC
13687   1G11Z5SA1KU137529   GM          IMPALA               BUFFALO                  NY
13688   1G11Z5SA1KU137577   GM          IMPALA               BOSTON                   MA
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13689   1G11Z5SA1KU137627   GM          IMPALA               SAINT PAUL               MN
13690   1G11Z5SA1KU137725   GM          IMPALA               GRAND RAPIDS             MI
13691   1G11Z5SA1KU137868   GM          IMPALA               LOS ANGELES              CA
13692   1G11Z5SA1KU138373   GM          IMPALA               SARASOTA                 FL
13693   1G11Z5SA1KU138664   GM          IMPALA               TAMPA                    FL
13694   1G11Z5SA1KU138728   GM          IMPALA               Miami                    FL
13695   1G11Z5SA1KU138731   GM          IMPALA               Atlanta                  GA
13696   1G11Z5SA1KU138888   GM          IMPALA               SARASOTA                 FL
13697   1G11Z5SA1KU138941   GM          IMPALA               STERLING                 VA
13698   1G11Z5SA1KU139457   GM          IMPALA               DES MOINES               IA
13699   1G11Z5SA1KU139474   GM          IMPALA               MINNEAPOLIS              MN
13700   1G11Z5SA1KU139684   GM          IMPALA               ORLANDO                  FL
13701   1G11Z5SA1KU139989   GM          IMPALA               Indianapolis             IN
13702   1G11Z5SA1KU140009   GM          IMPALA               DETROIT                  MI
13703   1G11Z5SA1KU140060   GM          IMPALA               PHOENIX                  AZ
13704   1G11Z5SA1KU140186   GM          IMPALA               Grove City               OH
13705   1G11Z5SA1KU140642   GM          IMPALA               SAINT PAUL               MN
13706   1G11Z5SA1KU140656   GM          IMPALA               Chicago                  IL
13707   1G11Z5SA1KU140723   GM          IMPALA               Fontana                  CA
13708   1G11Z5SA1KU140740   GM          IMPALA               TAMPA                    FL
13709   1G11Z5SA1KU140799   GM          IMPALA               KNOXVILLE                TN
13710   1G11Z5SA1KU140835   GM          IMPALA               SAINT PAUL               MN
13711   1G11Z5SA1KU140866   GM          IMPALA               TAMPA                    FL
13712   1G11Z5SA1KU140883   GM          IMPALA               TAMPA                    FL
13713   1G11Z5SA1KU140902   GM          IMPALA               Nashville                TN
13714   1G11Z5SA1KU140947   GM          IMPALA               SAINT PAUL               MN
13715   1G11Z5SA1KU140950   GM          IMPALA               DETROIT                  MI
13716   1G11Z5SA1KU140964   GM          IMPALA               WEST PALM BEACH          FL
13717   1G11Z5SA1KU140995   GM          IMPALA               ATLANTA                  GA
13718   1G11Z5SA1KU141127   GM          IMPALA               Atlanta                  GA
13719   1G11Z5SA1KU141239   GM          IMPALA               BIRMINGHAM               AL
13720   1G11Z5SA1KU141287   GM          IMPALA               MEMPHIS                  TN
13721   1G11Z5SA1KU141399   GM          IMPALA               DETROIT                  MI
13722   1G11Z5SA1KU141404   GM          IMPALA               PHILADELPHIA             PA
13723   1G11Z5SA1KU141452   GM          IMPALA               CHARLOTTE                NC
13724   1G11Z5SA1KU141497   GM          IMPALA               DAYTON                   OH
13725   1G11Z5SA1KU141581   GM          IMPALA               CHARLOTTE                US
13726   1G11Z5SA1KU141774   GM          IMPALA               Jacksonville             FL
13727   1G11Z5SA1KU141810   GM          IMPALA               OMAHA                    NE
13728   1G11Z5SA1KU141824   GM          IMPALA               Miami                    FL
13729   1G11Z5SA1KU141838   GM          IMPALA               DALLAS                   TX
13730   1G11Z5SA1KU141936   GM          IMPALA               Nashville                TN
13731   1G11Z5SA1KU142844   GM          IMPALA               TAMPA                    FL
13732   1G11Z5SA1KU142889   GM          IMPALA               Baltimore                MD
13733   1G11Z5SA1KU143833   GM          IMPALA               WICHITA FALLS            TX
13734   1G11Z5SA2KU115118   GM          IMPALA               ORLANDO                  FL
13735   1G11Z5SA2KU115331   GM          IMPALA               TAMPA                    FL
13736   1G11Z5SA2KU117158   GM          IMPALA               NEWARK                   NJ
13737   1G11Z5SA2KU130864   GM          IMPALA               SOUTHEAST DST OFFC       OK
13738   1G11Z5SA2KU131822   GM          IMPALA               DALLAS                   TX
13739   1G11Z5SA2KU132064   GM          IMPALA               NAPLES                   FL
13740   1G11Z5SA2KU132078   GM          IMPALA               Baltimore                MD
13741   1G11Z5SA2KU132145   GM          IMPALA               TAMPA                    FL
13742   1G11Z5SA2KU132176   GM          IMPALA               MIAMI                    FL
13743   1G11Z5SA2KU132212   GM          IMPALA               ATLANTA AP               GA
13744   1G11Z5SA2KU132405   GM          IMPALA               NEW YORK CITY            NY
13745   1G11Z5SA2KU132436   GM          IMPALA               FORT MYERS               FL
13746   1G11Z5SA2KU132534   GM          IMPALA               Kansas City              MO
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13747   1G11Z5SA2KU134039   GM          IMPALA               FORT MYERS               FL
13748   1G11Z5SA2KU134087   GM          IMPALA               MIAMI                    FL
13749   1G11Z5SA2KU134199   GM          IMPALA               ROCHESTER                NY
13750   1G11Z5SA2KU134235   GM          IMPALA               Tampa                    FL
13751   1G11Z5SA2KU134896   GM          IMPALA               Smithtown                NY
13752   1G11Z5SA2KU135160   GM          IMPALA               Chicago                  IL
13753   1G11Z5SA2KU135188   GM          IMPALA               SAINT PAUL               MN
13754   1G11Z5SA2KU135191   GM          IMPALA               Slidell                  LA
13755   1G11Z5SA2KU135398   GM          IMPALA               CLARKSVILLE              IN
13756   1G11Z5SA2KU135448   GM          IMPALA               WEST PALM BEACH          FL
13757   1G11Z5SA2KU135739   GM          IMPALA               DETROIT                  MI
13758   1G11Z5SA2KU136146   GM          IMPALA               JACKSONVILLE             FL
13759   1G11Z5SA2KU137037   GM          IMPALA               ORLANDO                  FL
13760   1G11Z5SA2KU137202   GM          IMPALA               Burien                   WA
13761   1G11Z5SA2KU137233   GM          IMPALA               DES MOINES               IA
13762   1G11Z5SA2KU137281   GM          IMPALA               Stockton                 CA
13763   1G11Z5SA2KU137331   GM          IMPALA               SOUTH BEND               IN
13764   1G11Z5SA2KU137362   GM          IMPALA               Killeen                  TX
13765   1G11Z5SA2KU137409   GM          IMPALA               SAN JOSE                 CA
13766   1G11Z5SA2KU137443   GM          IMPALA               Oklahoma City            OK
13767   1G11Z5SA2KU137457   GM          IMPALA               Memphis                  TN
13768   1G11Z5SA2KU137572   GM          IMPALA               ST PAUL                  MN
13769   1G11Z5SA2KU137619   GM          IMPALA               FORT LAUDERDALE          FL
13770   1G11Z5SA2KU137720   GM          IMPALA               JAMAICA                  NY
13771   1G11Z5SA2KU138415   GM          IMPALA               JACKSONVILLE             FL
13772   1G11Z5SA2KU138477   GM          IMPALA               ALEXANDRIA               VA
13773   1G11Z5SA2KU138835   GM          IMPALA               TAMPA                    FL
13774   1G11Z5SA2KU139175   GM          IMPALA               SALT LAKE CITY           UT
13775   1G11Z5SA2KU139242   GM          IMPALA               HUNTSVILLE               AL
13776   1G11Z5SA2KU139404   GM          IMPALA               CLEVELAND                OH
13777   1G11Z5SA2KU139421   GM          IMPALA               ATLANTA                  GA
13778   1G11Z5SA2KU139502   GM          IMPALA               RICHMOND                 VA
13779   1G11Z5SA2KU139645   GM          IMPALA               WARWICK                  RI
13780   1G11Z5SA2KU139709   GM          IMPALA               Hebron                   KY
13781   1G11Z5SA2KU139726   GM          IMPALA               DES MOINES               IA
13782   1G11Z5SA2KU139824   GM          IMPALA               BLOOMINGTON              IL
13783   1G11Z5SA2KU140021   GM          IMPALA               OMAHA                    NE
13784   1G11Z5SA2KU140777   GM          IMPALA               RALIEGH                  NC
13785   1G11Z5SA2KU140794   GM          IMPALA               ALBUQUERQUE              NM
13786   1G11Z5SA2KU140830   GM          IMPALA               DETROIT                  MI
13787   1G11Z5SA2KU140844   GM          IMPALA               FT. LAUDERDALE           FL
13788   1G11Z5SA2KU140875   GM          IMPALA               TAMPA                    FL
13789   1G11Z5SA2KU140908   GM          IMPALA               JACKSONVILLE             FL
13790   1G11Z5SA2KU140911   GM          IMPALA               Miami                    FL
13791   1G11Z5SA2KU140956   GM          IMPALA               MIAMI                    FL
13792   1G11Z5SA2KU141024   GM          IMPALA               TAMPA                    FL
13793   1G11Z5SA2KU141055   GM          IMPALA               DES MOINES               IA
13794   1G11Z5SA2KU141105   GM          IMPALA               Atlanta                  GA
13795   1G11Z5SA2KU141136   GM          IMPALA               GRAND RAPIDS             MI
13796   1G11Z5SA2KU141251   GM          IMPALA               MIAMI                    FL
13797   1G11Z5SA2KU141301   GM          IMPALA               RICHMOND                 VA
13798   1G11Z5SA2KU141329   GM          IMPALA               Philadelphia             PA
13799   1G11Z5SA2KU141332   GM          IMPALA               RALEIGH                  NC
13800   1G11Z5SA2KU141377   GM          IMPALA               ORLANDO                  FL
13801   1G11Z5SA2KU141380   GM          IMPALA               CLEVELAND                OH
13802   1G11Z5SA2KU141444   GM          IMPALA               TAMPA                    US
13803   1G11Z5SA2KU141461   GM          IMPALA               CLARKSVILLE              IN
13804   1G11Z5SA2KU141492   GM          IMPALA               AUSTIN                   TX
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13805   1G11Z5SA2KU141525   GM          IMPALA               GREENSBORO               NC
13806   1G11Z5SA2KU141539   GM          IMPALA               Smithtown                NY
13807   1G11Z5SA2KU141542   GM          IMPALA               SAINT PAUL               MN
13808   1G11Z5SA2KU141590   GM          IMPALA               BALTIMORE                MD
13809   1G11Z5SA2KU141671   GM          IMPALA               DETROIT                  MI
13810   1G11Z5SA2KU141752   GM          IMPALA               MILWAUKEE                WI
13811   1G11Z5SA2KU141783   GM          IMPALA               ATLANTA                  GA
13812   1G11Z5SA2KU141864   GM          IMPALA               CHARLESTON               WV
13813   1G11Z5SA2KU141881   GM          IMPALA               CHARLESTON               WV
13814   1G11Z5SA2KU141895   GM          IMPALA               Baltimore                MD
13815   1G11Z5SA2KU141900   GM          IMPALA               DALLAS                   TX
13816   1G11Z5SA2KU141959   GM          IMPALA               FORT MYERS               FL
13817   1G11Z5SA2KU142058   GM          IMPALA               SARASOTA                 FL
13818   1G11Z5SA2KU142559   GM          IMPALA               ST Paul                  MN
13819   1G11Z5SA2KU143405   GM          IMPALA               TAMPA                    FL
13820   1G11Z5SA3KU111093   GM          IMPALA               HILO                     HI
13821   1G11Z5SA3KU111501   GM          IMPALA               HILO                     HI
13822   1G11Z5SA3KU111515   GM          IMPALA               HILO                     HI
13823   1G11Z5SA3KU111563   GM          IMPALA               Kailua‐Kona              HI
13824   1G11Z5SA3KU111613   GM          IMPALA               HILO                     HI
13825   1G11Z5SA3KU113782   GM          IMPALA               WEST PALM BEACH          FL
13826   1G11Z5SA3KU113930   GM          IMPALA               FORT MYERS               FL
13827   1G11Z5SA3KU114012   GM          IMPALA               SARASOTA                 FL
13828   1G11Z5SA3KU115533   GM          IMPALA               CHARLOTTESVILLE          VA
13829   1G11Z5SA3KU115628   GM          IMPALA               PHILADELPHIA             PA
13830   1G11Z5SA3KU117024   GM          IMPALA               Atlanta                  GA
13831   1G11Z5SA3KU117167   GM          IMPALA               WEST PALM BEACH          FL
13832   1G11Z5SA3KU131831   GM          IMPALA               WAIMEA                   HI
13833   1G11Z5SA3KU131845   GM          IMPALA               GRAND RAPIDS             MI
13834   1G11Z5SA3KU131957   GM          IMPALA               FORT MYERS               FL
13835   1G11Z5SA3KU132106   GM          IMPALA               SOUTHEAST DST OFFC       OK
13836   1G11Z5SA3KU132168   GM          IMPALA               Dallas                   TX
13837   1G11Z5SA3KU132185   GM          IMPALA               FORT LAUDERDALE          FL
13838   1G11Z5SA3KU132302   GM          IMPALA               Atlanta                  GA
13839   1G11Z5SA3KU132543   GM          IMPALA               MIAMI                    FL
13840   1G11Z5SA3KU133336   GM          IMPALA               Atlanta                  GA
13841   1G11Z5SA3KU133580   GM          IMPALA               BOSTON                   MA
13842   1G11Z5SA3KU133983   GM          IMPALA               ROANOKE                  VA
13843   1G11Z5SA3KU134051   GM          IMPALA               EAST BOSTON              MA
13844   1G11Z5SA3KU134163   GM          IMPALA               KANSAS CITY              MO
13845   1G11Z5SA3KU134289   GM          IMPALA               Houston                  TX
13846   1G11Z5SA3KU134437   GM          IMPALA               Houston                  TX
13847   1G11Z5SA3KU134454   GM          IMPALA               San Antonio              TX
13848   1G11Z5SA3KU134728   GM          IMPALA               Orlando                  FL
13849   1G11Z5SA3KU134888   GM          IMPALA               Miami                    FL
13850   1G11Z5SA3KU134938   GM          IMPALA               PHILADELPHIA             PA
13851   1G11Z5SA3KU135054   GM          IMPALA               HILLSBOROUGH             NJ
13852   1G11Z5SA3KU135619   GM          IMPALA               PHILADELPHIA             PA
13853   1G11Z5SA3KU135670   GM          IMPALA               Englewood                CO
13854   1G11Z5SA3KU135717   GM          IMPALA               FLORIDA DEALER DIR       FL
13855   1G11Z5SA3KU135751   GM          IMPALA               Phoenix                  AZ
13856   1G11Z5SA3KU137080   GM          IMPALA               DALLAS                   TX
13857   1G11Z5SA3KU137242   GM          IMPALA               BLOOMINGTON              IL
13858   1G11Z5SA3KU137421   GM          IMPALA               FRESNO                   CA
13859   1G11Z5SA3KU137533   GM          IMPALA               Portland                 ME
13860   1G11Z5SA3KU137600   GM          IMPALA               GRAND RAPIDS             MI
13861   1G11Z5SA3KU137628   GM          IMPALA               Atlanta                  GA
13862   1G11Z5SA3KU137905   GM          IMPALA               Ventura                  CA
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13863   1G11Z5SA3KU138357   GM          IMPALA               CHICAGO                  IL
13864   1G11Z5SA3KU138407   GM          IMPALA               Smithtown                NY
13865   1G11Z5SA3KU138424   GM          IMPALA               INDIANAPOLIS             IN
13866   1G11Z5SA3KU138469   GM          IMPALA               FORT LAUDERDALE          FL
13867   1G11Z5SA3KU138505   GM          IMPALA               ORLANDO                  FL
13868   1G11Z5SA3KU138567   GM          IMPALA               FORT MYERS               FL
13869   1G11Z5SA3KU138651   GM          IMPALA               NORFOLK                  VA
13870   1G11Z5SA3KU138729   GM          IMPALA               WEST PALM BEACH          FL
13871   1G11Z5SA3KU138763   GM          IMPALA               Kansas City              MO
13872   1G11Z5SA3KU138813   GM          IMPALA               FORT LAUDERDALE          FL
13873   1G11Z5SA3KU138861   GM          IMPALA               ORLANDO                  FL
13874   1G11Z5SA3KU138889   GM          IMPALA               ORLANDO                  FL
13875   1G11Z5SA3KU138892   GM          IMPALA               FORT LAUDERDALE          FL
13876   1G11Z5SA3KU138908   GM          IMPALA               KNOXVILLE                TN
13877   1G11Z5SA3KU138939   GM          IMPALA               CHICAGO                  IL
13878   1G11Z5SA3KU139041   GM          IMPALA               Irving                   TX
13879   1G11Z5SA3KU139136   GM          IMPALA               Des Moines               IA
13880   1G11Z5SA3KU139153   GM          IMPALA               CHICAGO                  IL
13881   1G11Z5SA3KU139640   GM          IMPALA               TAMPA                    FL
13882   1G11Z5SA3KU139654   GM          IMPALA               NEWARK                   NJ
13883   1G11Z5SA3KU139685   GM          IMPALA               WICHITA FALLS            TX
13884   1G11Z5SA3KU139766   GM          IMPALA               CHICAGO                  IL
13885   1G11Z5SA3KU139931   GM          IMPALA               DALLAS                   TX
13886   1G11Z5SA3KU140660   GM          IMPALA               ORLANDO                  FL
13887   1G11Z5SA3KU140674   GM          IMPALA               CHICAGO                  IL
13888   1G11Z5SA3KU140688   GM          IMPALA               Atlanta                  GA
13889   1G11Z5SA3KU140710   GM          IMPALA               DES MOINES               IA
13890   1G11Z5SA3KU140741   GM          IMPALA               FORT LAUDERDALE          FL
13891   1G11Z5SA3KU140884   GM          IMPALA               BIRMINGHAM               AL
13892   1G11Z5SA3KU140917   GM          IMPALA               Memphis                  TN
13893   1G11Z5SA3KU140965   GM          IMPALA               Miami                    FL
13894   1G11Z5SA3KU141016   GM          IMPALA               ORLANDO                  FL
13895   1G11Z5SA3KU141064   GM          IMPALA               DANIA BEACH              FL
13896   1G11Z5SA3KU141081   GM          IMPALA               FORT MYERS               FL
13897   1G11Z5SA3KU141145   GM          IMPALA               WEST PALM BEACH          FL
13898   1G11Z5SA3KU141162   GM          IMPALA               TAMPA                    FL
13899   1G11Z5SA3KU141193   GM          IMPALA               SAINT LOUIS              MO
13900   1G11Z5SA3KU141422   GM          IMPALA               WEST COLUMBIA            SC
13901   1G11Z5SA3KU141503   GM          IMPALA               LAS VEGAS                NV
13902   1G11Z5SA3KU141548   GM          IMPALA               PORTLAND                 ME
13903   1G11Z5SA3KU141629   GM          IMPALA               BLOOMINGTON              IL
13904   1G11Z5SA3KU141792   GM          IMPALA               BOSTON                   MA
13905   1G11Z5SA3KU141887   GM          IMPALA               DETROIT                  MI
13906   1G11Z5SA3KU141906   GM          IMPALA               LOS ANGELES              CA
13907   1G11Z5SA3KU141971   GM          IMPALA               MIAMI                    FL
13908   1G11Z5SA3KU142148   GM          IMPALA               SALT LAKE CITY           UT
13909   1G11Z5SA4KU111667   GM          IMPALA               HILO                     HI
13910   1G11Z5SA4KU111698   GM          IMPALA               KALAOA                   HI
13911   1G11Z5SA4KU111877   GM          IMPALA               WAIMEA                   HI
13912   1G11Z5SA4KU112124   GM          IMPALA               HILO                     HI
13913   1G11Z5SA4KU112205   GM          IMPALA               KAILUA‐KONA              HI
13914   1G11Z5SA4KU112365   GM          IMPALA               Kailua‐Kona              HI
13915   1G11Z5SA4KU114570   GM          IMPALA               FORT MYERS               FL
13916   1G11Z5SA4KU115282   GM          IMPALA               ORLANDO                  FL
13917   1G11Z5SA4KU116934   GM          IMPALA               Harvey                   LA
13918   1G11Z5SA4KU117484   GM          IMPALA               Clearwater               FL
13919   1G11Z5SA4KU131935   GM          IMPALA               WEST PALM BEACH          FL
13920   1G11Z5SA4KU131949   GM          IMPALA               Austin                   TX
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13921   1G11Z5SA4KU131997   GM          IMPALA               MIAMI                    FL
13922   1G11Z5SA4KU132132   GM          IMPALA               SANFORD                  FL
13923   1G11Z5SA4KU132308   GM          IMPALA               SAN LEANDRO              CA
13924   1G11Z5SA4KU132373   GM          IMPALA               Kansas City              MO
13925   1G11Z5SA4KU132437   GM          IMPALA               MIAMI                    FL
13926   1G11Z5SA4KU132583   GM          IMPALA               MORROW                   GA
13927   1G11Z5SA4KU133328   GM          IMPALA               WEST PALM BEACH          FL
13928   1G11Z5SA4KU133877   GM          IMPALA               WEST PALM BEACH          FL
13929   1G11Z5SA4KU133927   GM          IMPALA               TAMPA                    FL
13930   1G11Z5SA4KU133989   GM          IMPALA               JACKSONVILLE             FL
13931   1G11Z5SA4KU134091   GM          IMPALA               NEW BERN                 NC
13932   1G11Z5SA4KU134141   GM          IMPALA               SARASOTA                 FL
13933   1G11Z5SA4KU134365   GM          IMPALA               Irving                   TX
13934   1G11Z5SA4KU134642   GM          IMPALA               Warr Acres               OK
13935   1G11Z5SA4KU134740   GM          IMPALA               Warr Acres               OK
13936   1G11Z5SA4KU135015   GM          IMPALA               ORLANDO                  FL
13937   1G11Z5SA4KU135113   GM          IMPALA               Atlanta                  GA
13938   1G11Z5SA4KU135287   GM          IMPALA               CHICAGO                  IL
13939   1G11Z5SA4KU135306   GM          IMPALA               OMAHA                    NE
13940   1G11Z5SA4KU135466   GM          IMPALA               SAINT PAUL               MN
13941   1G11Z5SA4KU135743   GM          IMPALA               Warr Acres               OK
13942   1G11Z5SA4KU135998   GM          IMPALA               Colorado Spring          CO
13943   1G11Z5SA4KU136455   GM          IMPALA               Salt Lake City           UT
13944   1G11Z5SA4KU137136   GM          IMPALA               NEW BERN                 NC
13945   1G11Z5SA4KU137167   GM          IMPALA               Burien                   WA
13946   1G11Z5SA4KU137203   GM          IMPALA               Atlanta                  GA
13947   1G11Z5SA4KU137301   GM          IMPALA               MELROSE PARK             IL
13948   1G11Z5SA4KU137315   GM          IMPALA               Atlanta                  GA
13949   1G11Z5SA4KU137363   GM          IMPALA               CHARLESTON               WV
13950   1G11Z5SA4KU137508   GM          IMPALA               CHICAGO                  IL
13951   1G11Z5SA4KU137511   GM          IMPALA               LOS ANGELES              CA
13952   1G11Z5SA4KU137539   GM          IMPALA               CHICAGO                  IL
13953   1G11Z5SA4KU137556   GM          IMPALA               MYRTLE BEACH             SC
13954   1G11Z5SA4KU137573   GM          IMPALA               ROANOKE                  VA
13955   1G11Z5SA4KU137668   GM          IMPALA               Houston                  TX
13956   1G11Z5SA4KU137671   GM          IMPALA               BLOOMINGTON              IL
13957   1G11Z5SA4KU137699   GM          IMPALA               PHOENIX                  AZ
13958   1G11Z5SA4KU138240   GM          IMPALA               WEST PALM BEACH          FL
13959   1G11Z5SA4KU138299   GM          IMPALA               Raleigh                  NC
13960   1G11Z5SA4KU138397   GM          IMPALA               ORLANDO                  FL
13961   1G11Z5SA4KU138433   GM          IMPALA               WEST COLUMBIA            SC
13962   1G11Z5SA4KU138657   GM          IMPALA               MIAMI                    FL
13963   1G11Z5SA4KU138741   GM          IMPALA               Cranberry Towns          PA
13964   1G11Z5SA4KU138951   GM          IMPALA               OMAHA                    NE
13965   1G11Z5SA4KU138979   GM          IMPALA               BIRMINGHAM               AL
13966   1G11Z5SA4KU139047   GM          IMPALA               Kansas City              MO
13967   1G11Z5SA4KU139081   GM          IMPALA               ORLANDO                  FL
13968   1G11Z5SA4KU139131   GM          IMPALA               CHARLOTTE                NC
13969   1G11Z5SA4KU139159   GM          IMPALA               SARASOTA                 FL
13970   1G11Z5SA4KU139243   GM          IMPALA               PHILADELPHIA             PA
13971   1G11Z5SA4KU139341   GM          IMPALA               MILWAUKEE                WI
13972   1G11Z5SA4KU139422   GM          IMPALA               KANSAS CITY              MO
13973   1G11Z5SA4KU139453   GM          IMPALA               STERLING                 VA
13974   1G11Z5SA4KU139503   GM          IMPALA               PHILADELPHIA             PA
13975   1G11Z5SA4KU139680   GM          IMPALA               Atlanta                  GA
13976   1G11Z5SA4KU139744   GM          IMPALA               Warr Acres               OK
13977   1G11Z5SA4KU140053   GM          IMPALA               CHICAGO                  IL
13978   1G11Z5SA4KU140232   GM          IMPALA               LOS ANGELES              CA
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13979   1G11Z5SA4KU140263   GM          IMPALA               FORT LAUDERDALE          FL
13980   1G11Z5SA4KU140604   GM          IMPALA               Landover Hills           MD
13981   1G11Z5SA4KU140652   GM          IMPALA               Ft. Myers                FL
13982   1G11Z5SA4KU140683   GM          IMPALA               NEW BERN                 NC
13983   1G11Z5SA4KU140702   GM          IMPALA               PHILADELPHIA             US
13984   1G11Z5SA4KU140733   GM          IMPALA               KANSAS CITY              MO
13985   1G11Z5SA4KU140800   GM          IMPALA               MIAMI                    FL
13986   1G11Z5SA4KU140893   GM          IMPALA               MIAMI                    FL
13987   1G11Z5SA4KU140974   GM          IMPALA               JACKSONVILLE             FL
13988   1G11Z5SA4KU140991   GM          IMPALA               FORT MYERS               FL
13989   1G11Z5SA4KU141025   GM          IMPALA               COCOA                    FL
13990   1G11Z5SA4KU141039   GM          IMPALA               DETROIT                  MI
13991   1G11Z5SA4KU141042   GM          IMPALA               GREENVILLE               NC
13992   1G11Z5SA4KU141087   GM          IMPALA               WEST PALM BEACH          FL
13993   1G11Z5SA4KU141154   GM          IMPALA               BIRMINGHAM               AL
13994   1G11Z5SA4KU141283   GM          IMPALA               JACKSONVILLE             FL
13995   1G11Z5SA4KU141297   GM          IMPALA               CHARLOTTE                NC
13996   1G11Z5SA4KU141333   GM          IMPALA               Parkville                MD
13997   1G11Z5SA4KU141414   GM          IMPALA               BALTIMORE                MD
13998   1G11Z5SA4KU141459   GM          IMPALA               COLLEGE PARK             GA
13999   1G11Z5SA4KU141476   GM          IMPALA               JACKSONVILLE             FL
14000   1G11Z5SA4KU141591   GM          IMPALA               Estero                   FL
14001   1G11Z5SA4KU141624   GM          IMPALA               SAINT PAUL               MN
14002   1G11Z5SA4KU141638   GM          IMPALA               RALIEGH                  NC
14003   1G11Z5SA4KU141848   GM          IMPALA               NORFOLK                  VA
14004   1G11Z5SA4KU141851   GM          IMPALA               FORT LAUDERDALE          FL
14005   1G11Z5SA4KU141929   GM          IMPALA               WHITE PLAINS             NY
14006   1G11Z5SA4KU142465   GM          IMPALA               Marietta                 GA
14007   1G11Z5SA4KU142479   GM          IMPALA               S. San Francisc          CA
14008   1G11Z5SA4KU142868   GM          IMPALA               MEDINA                   OH
14009   1G11Z5SA4KU143082   GM          IMPALA               ORLANDO                  FL
14010   1G11Z5SA4KU143096   GM          IMPALA               Nashville                TN
14011   1G11Z5SA4KU143230   GM          IMPALA               AUSTIN                   TX
14012   1G11Z5SA5KU111712   GM          IMPALA               KALAOA                   HI
14013   1G11Z5SA5KU111757   GM          IMPALA               HILO                     HI
14014   1G11Z5SA5KU112729   GM          IMPALA               KAILUA‐KONA              HI
14015   1G11Z5SA5KU114884   GM          IMPALA               JACKSONVILLE             FL
14016   1G11Z5SA5KU117400   GM          IMPALA               TAMPA                    FL
14017   1G11Z5SA5KU119986   GM          IMPALA               Irving                   TX
14018   1G11Z5SA5KU131927   GM          IMPALA               PITTSBURGH               PA
14019   1G11Z5SA5KU132169   GM          IMPALA               San Antonio              TX
14020   1G11Z5SA5KU132222   GM          IMPALA               FORT MYERS               FL
14021   1G11Z5SA5KU132284   GM          IMPALA               TAMPA                    FL
14022   1G11Z5SA5KU132608   GM          IMPALA               Sanford                  FL
14023   1G11Z5SA5KU132673   GM          IMPALA               JACKSONVILLE             FL
14024   1G11Z5SA5KU133080   GM          IMPALA               Colorado Spring          CO
14025   1G11Z5SA5KU133192   GM          IMPALA               Coraopolis               PA
14026   1G11Z5SA5KU134083   GM          IMPALA               DALLAS                   TX
14027   1G11Z5SA5KU134231   GM          IMPALA               Smithtown                NY
14028   1G11Z5SA5KU134259   GM          IMPALA               Slidell                  LA
14029   1G11Z5SA5KU134343   GM          IMPALA               Lake Elsinore            CA
14030   1G11Z5SA5KU134374   GM          IMPALA               Annapolis                MD
14031   1G11Z5SA5KU134519   GM          IMPALA               Slidell                  LA
14032   1G11Z5SA5KU134553   GM          IMPALA               KANSAS CITY              MO
14033   1G11Z5SA5KU134598   GM          IMPALA               San Antonio              TX
14034   1G11Z5SA5KU134732   GM          IMPALA               Ocoee                    FL
14035   1G11Z5SA5KU135069   GM          IMPALA               DAYTON                   OH
14036   1G11Z5SA5KU135265   GM          IMPALA               Portland                 OR
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14037   1G11Z5SA5KU135296   GM          IMPALA               Marietta                 GA
14038   1G11Z5SA5KU135430   GM          IMPALA               Nashville                TN
14039   1G11Z5SA5KU136089   GM          IMPALA               Memphis                  TN
14040   1G11Z5SA5KU137128   GM          IMPALA               HARTFORD                 CT
14041   1G11Z5SA5KU137243   GM          IMPALA               Sacramento               CA
14042   1G11Z5SA5KU137257   GM          IMPALA               GREENSBORO               NC
14043   1G11Z5SA5KU137274   GM          IMPALA               LOS ANGELES              CA
14044   1G11Z5SA5KU137369   GM          IMPALA               DETROIT                  MI
14045   1G11Z5SA5KU137565   GM          IMPALA               Fresno                   CA
14046   1G11Z5SA5KU137579   GM          IMPALA               NORFOLK                  VA
14047   1G11Z5SA5KU137601   GM          IMPALA               Costa Mesa               CA
14048   1G11Z5SA5KU137629   GM          IMPALA               Atlanta                  GA
14049   1G11Z5SA5KU137663   GM          IMPALA               LAS VEGAS                NV
14050   1G11Z5SA5KU137677   GM          IMPALA               GREEN BAY                WI
14051   1G11Z5SA5KU138280   GM          IMPALA               BALTIMORE                MD
14052   1G11Z5SA5KU138375   GM          IMPALA               WEST PALM BEACH          FL
14053   1G11Z5SA5KU138473   GM          IMPALA               BIRMINGHAM               AL
14054   1G11Z5SA5KU138540   GM          IMPALA               BIRMINGHAN               AL
14055   1G11Z5SA5KU138764   GM          IMPALA               NASHVILLE                TN
14056   1G11Z5SA5KU138831   GM          IMPALA               DETROIT                  MI
14057   1G11Z5SA5KU138960   GM          IMPALA               Memphis                  TN
14058   1G11Z5SA5KU139266   GM          IMPALA               JACKSONVILLE             FL
14059   1G11Z5SA5KU139414   GM          IMPALA               ALBUQERQUE               NM
14060   1G11Z5SA5KU139462   GM          IMPALA               DENVER                   CO
14061   1G11Z5SA5KU139705   GM          IMPALA               Des Plaines              IL
14062   1G11Z5SA5KU139946   GM          IMPALA               LAS VEGAS                NV
14063   1G11Z5SA5KU140224   GM          IMPALA               PHILADELPHIA             PA
14064   1G11Z5SA5KU140269   GM          IMPALA               BOSTON                   MA
14065   1G11Z5SA5KU140630   GM          IMPALA               ORLANDO                  FL
14066   1G11Z5SA5KU140689   GM          IMPALA               ORLANDO                  FL
14067   1G11Z5SA5KU140871   GM          IMPALA               Denver                   CO
14068   1G11Z5SA5KU140904   GM          IMPALA               DENVER                   CO
14069   1G11Z5SA5KU140935   GM          IMPALA               NEW BERN                 NC
14070   1G11Z5SA5KU140983   GM          IMPALA               OMAHA                    NE
14071   1G11Z5SA5KU141051   GM          IMPALA               FORT LAUDERDALE          FL
14072   1G11Z5SA5KU141082   GM          IMPALA               ORLANDO                  FL
14073   1G11Z5SA5KU141227   GM          IMPALA               BIRMINGHAN               AL
14074   1G11Z5SA5KU141325   GM          IMPALA               SARASOTA                 FL
14075   1G11Z5SA5KU141468   GM          IMPALA               DES MOINES               IA
14076   1G11Z5SA5KU141485   GM          IMPALA               CHARLOTTE                NC
14077   1G11Z5SA5KU141518   GM          IMPALA               CHICAGO                  IL
14078   1G11Z5SA5KU141521   GM          IMPALA               KINSTON                  NC
14079   1G11Z5SA5KU141552   GM          IMPALA               TAMPA                    FL
14080   1G11Z5SA5KU141566   GM          IMPALA               SAN ANTONIO              TX
14081   1G11Z5SA5KU141602   GM          IMPALA               Englewood                CO
14082   1G11Z5SA5KU141647   GM          IMPALA               Hamilton                 OH
14083   1G11Z5SA5KU141650   GM          IMPALA               Florissant               MO
14084   1G11Z5SA5KU141678   GM          IMPALA               Atlanta                  GA
14085   1G11Z5SA5KU141731   GM          IMPALA               North Canton             OH
14086   1G11Z5SA5KU141891   GM          IMPALA               PHILADELPHIA             PA
14087   1G11Z5SA5KU141910   GM          IMPALA               JACKSONVILLE             FL
14088   1G11Z5SA5KU142085   GM          IMPALA               Costa Mesa               CA
14089   1G11Z5SA5KU142183   GM          IMPALA               SAN DIEGO                CA
14090   1G11Z5SA5KU142359   GM          IMPALA               Rochester                NY
14091   1G11Z5SA5KU142958   GM          IMPALA               Santa Clara              CA
14092   1G11Z5SA5KU143141   GM          IMPALA               Stockton                 CA
14093   1G11Z5SA6KU114375   GM          IMPALA               FORT LAUDERDALE          FL
14094   1G11Z5SA6KU114523   GM          IMPALA               FORT MYERS               FL
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14095   1G11Z5SA6KU117051   GM          IMPALA               FORT LAUDERDALE          FL
14096   1G11Z5SA6KU117616   GM          IMPALA               ORLANDO                  FL
14097   1G11Z5SA6KU122072   GM          IMPALA               MIAMI                    FL
14098   1G11Z5SA6KU130365   GM          IMPALA               Florissant               MO
14099   1G11Z5SA6KU131841   GM          IMPALA               Memphis                  TN
14100   1G11Z5SA6KU131953   GM          IMPALA               Slidell                  LA
14101   1G11Z5SA6KU132214   GM          IMPALA               Warr Acres               OK
14102   1G11Z5SA6KU132391   GM          IMPALA               Warr Acres               OK
14103   1G11Z5SA6KU132455   GM          IMPALA               Slidell                  LA
14104   1G11Z5SA6KU133136   GM          IMPALA               PHILADELPHIA             PA
14105   1G11Z5SA6KU133234   GM          IMPALA               Hamilton                 OH
14106   1G11Z5SA6KU133248   GM          IMPALA               Fontana                  CA
14107   1G11Z5SA6KU133590   GM          IMPALA               Webster                  NY
14108   1G11Z5SA6KU133766   GM          IMPALA               Baltimore                MD
14109   1G11Z5SA6KU133993   GM          IMPALA               PHILADELPHIA             PA
14110   1G11Z5SA6KU134013   GM          IMPALA               WARWICK                  RI
14111   1G11Z5SA6KU134075   GM          IMPALA               ORLANDO                  FL
14112   1G11Z5SA6KU134111   GM          IMPALA               HARRISBURG               PA
14113   1G11Z5SA6KU134125   GM          IMPALA               HARRISBURG               PA
14114   1G11Z5SA6KU134173   GM          IMPALA               Houston                  TX
14115   1G11Z5SA6KU134223   GM          IMPALA               GROVE CITY               PA
14116   1G11Z5SA6KU134299   GM          IMPALA               Coraopolis               PA
14117   1G11Z5SA6KU134318   GM          IMPALA               WARWICK                  RI
14118   1G11Z5SA6KU134674   GM          IMPALA               Slidell                  LA
14119   1G11Z5SA6KU134786   GM          IMPALA               Coraopolis               PA
14120   1G11Z5SA6KU134867   GM          IMPALA               Dallas                   TX
14121   1G11Z5SA6KU134934   GM          IMPALA               MELROSE PARK             IL
14122   1G11Z5SA6KU134948   GM          IMPALA               Chicago                  IL
14123   1G11Z5SA6KU135209   GM          IMPALA               MELROSE PARK             IL
14124   1G11Z5SA6KU135243   GM          IMPALA               JACKSONVILLE             FL
14125   1G11Z5SA6KU136067   GM          IMPALA               Phoenix                  AZ
14126   1G11Z5SA6KU136490   GM          IMPALA               Houston                  TX
14127   1G11Z5SA6KU137106   GM          IMPALA               LAS VEGAS                NV
14128   1G11Z5SA6KU137137   GM          IMPALA               PORTLAND                 OR
14129   1G11Z5SA6KU137140   GM          IMPALA               COLUMBUS                 OH
14130   1G11Z5SA6KU137221   GM          IMPALA               CLEVELAND                OH
14131   1G11Z5SA6KU137249   GM          IMPALA               MINNEAPOLIS              MN
14132   1G11Z5SA6KU137266   GM          IMPALA               SOUTHEAST DST OFFC       OK
14133   1G11Z5SA6KU137333   GM          IMPALA               WEST COLUMBIA            SC
14134   1G11Z5SA6KU137431   GM          IMPALA               San Antonio              TX
14135   1G11Z5SA6KU137509   GM          IMPALA               ALLENTOWN                US
14136   1G11Z5SA6KU137655   GM          IMPALA               MILWAUKEE                WI
14137   1G11Z5SA6KU137672   GM          IMPALA               Atlanta                  GA
14138   1G11Z5SA6KU137705   GM          IMPALA               Los Angeles              CA
14139   1G11Z5SA6KU138613   GM          IMPALA               SANFORD                  FL
14140   1G11Z5SA6KU138689   GM          IMPALA               CHARLOTTE                NC
14141   1G11Z5SA6KU138711   GM          IMPALA               ORLANDO                  FL
14142   1G11Z5SA6KU138921   GM          IMPALA               BURBANK                  CA
14143   1G11Z5SA6KU138983   GM          IMPALA               Louisville               KY
14144   1G11Z5SA6KU139129   GM          IMPALA               BIRMINGHAM               AL
14145   1G11Z5SA6KU139468   GM          IMPALA               LAS VEGAS                NV
14146   1G11Z5SA6KU139552   GM          IMPALA               SAINT PAUL               MN
14147   1G11Z5SA6KU139616   GM          IMPALA               INDIANAPOLIS             IN
14148   1G11Z5SA6KU139633   GM          IMPALA               HARTFORD                 CT
14149   1G11Z5SA6KU139955   GM          IMPALA               LAS VEGAS                NV
14150   1G11Z5SA6KU140345   GM          IMPALA               COLUMBUS                 OH
14151   1G11Z5SA6KU140717   GM          IMPALA               PITTSBURGH               PA
14152   1G11Z5SA6KU140734   GM          IMPALA               Coraopolis               PA
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14153   1G11Z5SA6KU140765   GM          IMPALA               Bensalem                 PA
14154   1G11Z5SA6KU140829   GM          IMPALA               Hebron                   KY
14155   1G11Z5SA6KU140832   GM          IMPALA               DETROIT                  MI
14156   1G11Z5SA6KU140863   GM          IMPALA               ORLANDO                  FL
14157   1G11Z5SA6KU140880   GM          IMPALA               FORT LAUDERDALE          FL
14158   1G11Z5SA6KU140961   GM          IMPALA               MIAMI                    FL
14159   1G11Z5SA6KU141009   GM          IMPALA               DETROIT                  MI
14160   1G11Z5SA6KU141012   GM          IMPALA               WARWICK                  RI
14161   1G11Z5SA6KU141088   GM          IMPALA               JACKSONVILLE             FL
14162   1G11Z5SA6KU141169   GM          IMPALA               ORLANDO                  FL
14163   1G11Z5SA6KU141172   GM          IMPALA               CHICAGO                  IL
14164   1G11Z5SA6KU141253   GM          IMPALA               ALEXANDRIA               VA
14165   1G11Z5SA6KU141267   GM          IMPALA               DENVER                   CO
14166   1G11Z5SA6KU141396   GM          IMPALA               NEW BERN                 NC
14167   1G11Z5SA6KU141401   GM          IMPALA               DES PLAINES              US
14168   1G11Z5SA6KU141477   GM          IMPALA               STERLING                 VA
14169   1G11Z5SA6KU141530   GM          IMPALA               INDIANAPOLIS             IN
14170   1G11Z5SA6KU141561   GM          IMPALA               NEW BERN                 NC
14171   1G11Z5SA6KU141608   GM          IMPALA               CHICAGO                  IL
14172   1G11Z5SA6KU141656   GM          IMPALA               TAMPA                    FL
14173   1G11Z5SA6KU141687   GM          IMPALA               PHILADELPHIA             PA
14174   1G11Z5SA6KU141690   GM          IMPALA               INDIANAPOLIS             IN
14175   1G11Z5SA6KU141737   GM          IMPALA               SARASOTA                 FL
14176   1G11Z5SA6KU141785   GM          IMPALA               MANCHESTER               US
14177   1G11Z5SA6KU141821   GM          IMPALA               Baltimore                MD
14178   1G11Z5SA6KU141902   GM          IMPALA               BIRMINGHAM               AL
14179   1G11Z5SA6KU141916   GM          IMPALA               NORFOLK                  VA
14180   1G11Z5SA6KU142564   GM          IMPALA               MIAMI                    FL
14181   1G11Z5SA7KU111162   GM          IMPALA               KALAOA                   HI
14182   1G11Z5SA7KU111419   GM          IMPALA               HILO                     HI
14183   1G11Z5SA7KU111579   GM          IMPALA               WAIMEA                   HI
14184   1G11Z5SA7KU111727   GM          IMPALA               KAILUA‐KONA              HI
14185   1G11Z5SA7KU114322   GM          IMPALA               KENNER                   LA
14186   1G11Z5SA7KU114921   GM          IMPALA               TAMPA                    FL
14187   1G11Z5SA7KU116068   GM          IMPALA               JACKSONVILLE             FL
14188   1G11Z5SA7KU116183   GM          IMPALA               TAMPA                    FL
14189   1G11Z5SA7KU117107   GM          IMPALA               SOUTHEAST DST OFFC       OK
14190   1G11Z5SA7KU117513   GM          IMPALA               DES PLAINES              US
14191   1G11Z5SA7KU117723   GM          IMPALA               ORLANDO                  FL
14192   1G11Z5SA7KU131962   GM          IMPALA               HOUSTON                  TX
14193   1G11Z5SA7KU132125   GM          IMPALA               JACKSONVILLE             FL
14194   1G11Z5SA7KU132237   GM          IMPALA               Atlanta                  GA
14195   1G11Z5SA7KU132285   GM          IMPALA               WEST PALM BEACH          FL
14196   1G11Z5SA7KU132481   GM          IMPALA               Irving                   TX
14197   1G11Z5SA7KU132528   GM          IMPALA               SAINT LOUIS              MO
14198   1G11Z5SA7KU132576   GM          IMPALA               KENNER                   LA
14199   1G11Z5SA7KU133274   GM          IMPALA               Des Moines               IA
14200   1G11Z5SA7KU133386   GM          IMPALA               KENNER                   LA
14201   1G11Z5SA7KU133582   GM          IMPALA               BIRMINGHAN               AL
14202   1G11Z5SA7KU133937   GM          IMPALA               ORLANDO                  FL
14203   1G11Z5SA7KU133999   GM          IMPALA               WARWICK                  RI
14204   1G11Z5SA7KU134117   GM          IMPALA               ATLANTA                  GA
14205   1G11Z5SA7KU134151   GM          IMPALA               WARWICK                  RI
14206   1G11Z5SA7KU134179   GM          IMPALA               WARWICK                  RI
14207   1G11Z5SA7KU134263   GM          IMPALA               CLEVELAND                OH
14208   1G11Z5SA7KU134392   GM          IMPALA               MEDINA                   OH
14209   1G11Z5SA7KU134425   GM          IMPALA               Kansas City              MO
14210   1G11Z5SA7KU134652   GM          IMPALA               MILWAUKEE                WI
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14211   1G11Z5SA7KU134666   GM          IMPALA               Norfolk                  VA
14212   1G11Z5SA7KU134702   GM          IMPALA               CHARLOTTE                NC
14213   1G11Z5SA7KU134764   GM          IMPALA               ANGOLA                   NY
14214   1G11Z5SA7KU134957   GM          IMPALA               SOUTHEAST DST OFFC       OK
14215   1G11Z5SA7KU135249   GM          IMPALA               DETROIT                  MI
14216   1G11Z5SA7KU135252   GM          IMPALA               PITTSBURGH               PA
14217   1G11Z5SA7KU135428   GM          IMPALA               Hapeville                GA
14218   1G11Z5SA7KU135526   GM          IMPALA               DALLAS                   TX
14219   1G11Z5SA7KU135574   GM          IMPALA               MIDDLE RIVER             MD
14220   1G11Z5SA7KU135591   GM          IMPALA               Raleigh                  NC
14221   1G11Z5SA7KU135669   GM          IMPALA               Hendersonville           TN
14222   1G11Z5SA7KU135834   GM          IMPALA               Colorado Spring          CO
14223   1G11Z5SA7KU137020   GM          IMPALA               SEATAC                   WA
14224   1G11Z5SA7KU137101   GM          IMPALA               PHILADELPHIA             PA
14225   1G11Z5SA7KU137213   GM          IMPALA               MILWAUKEE                WI
14226   1G11Z5SA7KU137325   GM          IMPALA               TUCSON                   AZ
14227   1G11Z5SA7KU137423   GM          IMPALA               SAINT PAUL               MN
14228   1G11Z5SA7KU137471   GM          IMPALA               DENVER                   CO
14229   1G11Z5SA7KU137521   GM          IMPALA               CHICAGO                  IL
14230   1G11Z5SA7KU137549   GM          IMPALA               MILWAUKEE                WI
14231   1G11Z5SA7KU137664   GM          IMPALA               NATIONAL CITY            CA
14232   1G11Z5SA7KU138264   GM          IMPALA               JACKSONVILLE             FL
14233   1G11Z5SA7KU138393   GM          IMPALA               Cincinnati               OH
14234   1G11Z5SA7KU138412   GM          IMPALA               CHAMBERSBURG             PA
14235   1G11Z5SA7KU138457   GM          IMPALA               FORT WALTON BEA          FL
14236   1G11Z5SA7KU138507   GM          IMPALA               Atlanta                  GA
14237   1G11Z5SA7KU138619   GM          IMPALA               Atlanta                  GA
14238   1G11Z5SA7KU138636   GM          IMPALA               COCOA                    FL
14239   1G11Z5SA7KU138653   GM          IMPALA               WEST PALM BEACH          FL
14240   1G11Z5SA7KU138779   GM          IMPALA               TAMPA                    FL
14241   1G11Z5SA7KU138829   GM          IMPALA               TAMPA                    FL
14242   1G11Z5SA7KU138961   GM          IMPALA               Salt Lake City           UT
14243   1G11Z5SA7KU139091   GM          IMPALA               SAINT LOUIS              MO
14244   1G11Z5SA7KU139155   GM          IMPALA               FORT LAUDERDALE          FL
14245   1G11Z5SA7KU139284   GM          IMPALA               CHICAGO                  IL
14246   1G11Z5SA7KU139527   GM          IMPALA               MIAMI                    FL
14247   1G11Z5SA7KU139656   GM          IMPALA               DETROIT                  MI
14248   1G11Z5SA7KU139673   GM          IMPALA               PHOENIX                  AZ
14249   1G11Z5SA7KU139754   GM          IMPALA               BOSTON                   MA
14250   1G11Z5SA7KU139866   GM          IMPALA               GRAND RAPIDS             MI
14251   1G11Z5SA7KU140192   GM          IMPALA               SAINT PAUL               MN
14252   1G11Z5SA7KU140662   GM          IMPALA               BOSTON                   MA
14253   1G11Z5SA7KU140709   GM          IMPALA               PITTSBURGH               PA
14254   1G11Z5SA7KU140743   GM          IMPALA               LOS ANGELES              CA
14255   1G11Z5SA7KU140774   GM          IMPALA               CHICAGO                  IL
14256   1G11Z5SA7KU140788   GM          IMPALA               FORT LAUDERDALE          FL
14257   1G11Z5SA7KU140791   GM          IMPALA               PENSACOLA                FL
14258   1G11Z5SA7KU140905   GM          IMPALA               FORT LAUDERDALE          FL
14259   1G11Z5SA7KU140922   GM          IMPALA               ROCHESTER                NY
14260   1G11Z5SA7KU140970   GM          IMPALA               DETROIT                  MI
14261   1G11Z5SA7KU140998   GM          IMPALA               ROANOKE                  VA
14262   1G11Z5SA7KU141097   GM          IMPALA               SAVANNAH                 GA
14263   1G11Z5SA7KU141102   GM          IMPALA               MIAMI                    FL
14264   1G11Z5SA7KU141147   GM          IMPALA               COLUMBIA                 SC
14265   1G11Z5SA7KU141150   GM          IMPALA               RICHMOND                 VA
14266   1G11Z5SA7KU141178   GM          IMPALA               NEW BERN                 NC
14267   1G11Z5SA7KU141293   GM          IMPALA               STERLING                 VA
14268   1G11Z5SA7KU141309   GM          IMPALA               RALIEGH                  NC
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14269   1G11Z5SA7KU141357   GM          IMPALA               BOSTON                   MA
14270   1G11Z5SA7KU141438   GM          IMPALA               STERLING                 VA
14271   1G11Z5SA7KU141441   GM          IMPALA               WEST PALM BEACH          FL
14272   1G11Z5SA7KU141519   GM          IMPALA               MIAMI                    FL
14273   1G11Z5SA7KU141620   GM          IMPALA               LAUREL                   MD
14274   1G11Z5SA7KU141651   GM          IMPALA               Atlanta                  GA
14275   1G11Z5SA7KU141665   GM          IMPALA               MIAMI                    FL
14276   1G11Z5SA7KU141729   GM          IMPALA               OMAHA                    NE
14277   1G11Z5SA7KU141777   GM          IMPALA               KINSTON                  NC
14278   1G11Z5SA7KU141813   GM          IMPALA               CHARLOTTE                NC
14279   1G11Z5SA7KU141875   GM          IMPALA               GRAND RAPIDS             MI
14280   1G11Z5SA7KU141889   GM          IMPALA               STERLING                 VA
14281   1G11Z5SA7KU141908   GM          IMPALA               STERLING                 VA
14282   1G11Z5SA7KU141942   GM          IMPALA               BOSTON                   MA
14283   1G11Z5SA7KU141990   GM          IMPALA               Chicago                  IL
14284   1G11Z5SA7KU142024   GM          IMPALA               CHARLOTTESVILLE          VA
14285   1G11Z5SA7KU142301   GM          IMPALA               CHICAGO                  IL
14286   1G11Z5SA7KU143027   GM          IMPALA               BALTIMORE                MD
14287   1G11Z5SA7KU143058   GM          IMPALA               LOS ANGELES              CA
14288   1G11Z5SA8KU111929   GM          IMPALA               HILO                     HI
14289   1G11Z5SA8KU112014   GM          IMPALA               HILO                     HI
14290   1G11Z5SA8KU113535   GM          IMPALA               CLEVELAND                OH
14291   1G11Z5SA8KU114894   GM          IMPALA               ORLANDO                  FL
14292   1G11Z5SA8KU114927   GM          IMPALA               WEST PALM BEACH          FL
14293   1G11Z5SA8KU117195   GM          IMPALA               KAILUA‐KONA              HI
14294   1G11Z5SA8KU117486   GM          IMPALA               ORLANDO                  FL
14295   1G11Z5SA8KU130674   GM          IMPALA               KENNER                   LA
14296   1G11Z5SA8KU131937   GM          IMPALA               Florissant               MO
14297   1G11Z5SA8KU132067   GM          IMPALA               UNION CITY               GA
14298   1G11Z5SA8KU132294   GM          IMPALA               ATLANTA                  GA
14299   1G11Z5SA8KU132389   GM          IMPALA               Houston                  TX
14300   1G11Z5SA8KU132733   GM          IMPALA               TUCSON                   AZ
14301   1G11Z5SA8KU133140   GM          IMPALA               DETROIT                  MI
14302   1G11Z5SA8KU134059   GM          IMPALA               PHILADELPHIA             PA
14303   1G11Z5SA8KU134143   GM          IMPALA               COLUMBUS                 OH
14304   1G11Z5SA8KU134157   GM          IMPALA               MIAMI                    FL
14305   1G11Z5SA8KU134207   GM          IMPALA               Nashville                TN
14306   1G11Z5SA8KU134241   GM          IMPALA               Salt Lake City           UT
14307   1G11Z5SA8KU134322   GM          IMPALA               COLLEGE PARK             GA
14308   1G11Z5SA8KU134403   GM          IMPALA               Atlanta                  GA
14309   1G11Z5SA8KU134594   GM          IMPALA               San Antonio              TX
14310   1G11Z5SA8KU134644   GM          IMPALA               WEST PALM BEACH          FL
14311   1G11Z5SA8KU134692   GM          IMPALA               Irving                   TX
14312   1G11Z5SA8KU135101   GM          IMPALA               CHICAGO                  IL
14313   1G11Z5SA8KU135163   GM          IMPALA               DES MOINES               IA
14314   1G11Z5SA8KU135518   GM          IMPALA               CHARLOTTE                NC
14315   1G11Z5SA8KU135776   GM          IMPALA               San Antonio              TX
14316   1G11Z5SA8KU136278   GM          IMPALA               DENVER                   CO
14317   1G11Z5SA8KU137088   GM          IMPALA               CHICAGO                  IL
14318   1G11Z5SA8KU137298   GM          IMPALA               WEST COLUMBIA            SC
14319   1G11Z5SA8KU137303   GM          IMPALA               FORT MYERS               FL
14320   1G11Z5SA8KU137365   GM          IMPALA               WEST COLUMBIA            SC
14321   1G11Z5SA8KU137415   GM          IMPALA               MILWAUKEE                WI
14322   1G11Z5SA8KU137429   GM          IMPALA               LAS VEGAS                NV
14323   1G11Z5SA8KU137463   GM          IMPALA               CHICAGO                  IL
14324   1G11Z5SA8KU137477   GM          IMPALA               MILWAUKEE                WI
14325   1G11Z5SA8KU137592   GM          IMPALA               KENNER                   LA
14326   1G11Z5SA8KU137611   GM          IMPALA               ORLANDO                  FL
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14327   1G11Z5SA8KU137673   GM          IMPALA               RIVERSIDE                CA
14328   1G11Z5SA8KU137723   GM          IMPALA               TAMPA                    FL
14329   1G11Z5SA8KU137771   GM          IMPALA               Windsor Locks            CT
14330   1G11Z5SA8KU138239   GM          IMPALA               TAMPA                    FL
14331   1G11Z5SA8KU138337   GM          IMPALA               NEW BERN                 NC
14332   1G11Z5SA8KU138371   GM          IMPALA               TAMPA                    FL
14333   1G11Z5SA8KU138564   GM          IMPALA               St. Louis                MO
14334   1G11Z5SA8KU138659   GM          IMPALA               ORLANDO                  FL
14335   1G11Z5SA8KU138693   GM          IMPALA               FORT MYERS               FL
14336   1G11Z5SA8KU138709   GM          IMPALA               JACKSONVILLE             FL
14337   1G11Z5SA8KU138807   GM          IMPALA               WEST PALM BEACH          FL
14338   1G11Z5SA8KU138953   GM          IMPALA               WEST PALM BEACH          FL
14339   1G11Z5SA8KU139035   GM          IMPALA               SAVANNAH                 GA
14340   1G11Z5SA8KU139116   GM          IMPALA               MILWAUKEE                WI
14341   1G11Z5SA8KU139147   GM          IMPALA               Hebron                   KY
14342   1G11Z5SA8KU139293   GM          IMPALA               KANSAS CITY              MO
14343   1G11Z5SA8KU139388   GM          IMPALA               St. Louis                MO
14344   1G11Z5SA8KU139441   GM          IMPALA               CLARKSVILLE              IN
14345   1G11Z5SA8KU139469   GM          IMPALA               SAINT PAUL               MN
14346   1G11Z5SA8KU139567   GM          IMPALA               Elgin                    IL
14347   1G11Z5SA8KU139892   GM          IMPALA               WARWICK                  RI
14348   1G11Z5SA8KU139925   GM          IMPALA               Atlanta                  GA
14349   1G11Z5SA8KU140024   GM          IMPALA               SAINT LOUIS              MO
14350   1G11Z5SA8KU140671   GM          IMPALA               FORT LAUDERDALE          FL
14351   1G11Z5SA8KU140721   GM          IMPALA               FT LAUDERDALE            FL
14352   1G11Z5SA8KU140752   GM          IMPALA               MIAMI                    FL
14353   1G11Z5SA8KU140833   GM          IMPALA               HOUSTON                  TX
14354   1G11Z5SA8KU140881   GM          IMPALA               MELBOURNE AP             FL
14355   1G11Z5SA8KU140895   GM          IMPALA               COCOA                    FL
14356   1G11Z5SA8KU140959   GM          IMPALA               FORT MYERS               FL
14357   1G11Z5SA8KU141030   GM          IMPALA               CLEVELAND                OH
14358   1G11Z5SA8KU141075   GM          IMPALA               Des Moines               IA
14359   1G11Z5SA8KU141108   GM          IMPALA               TAMPA                    FL
14360   1G11Z5SA8KU141139   GM          IMPALA               DES MOINES               IA
14361   1G11Z5SA8KU141187   GM          IMPALA               CHICAGO                  IL
14362   1G11Z5SA8KU141190   GM          IMPALA               PHOENIX                  AZ
14363   1G11Z5SA8KU141206   GM          IMPALA               MANCHESTER               US
14364   1G11Z5SA8KU141237   GM          IMPALA               STERLING                 VA
14365   1G11Z5SA8KU141271   GM          IMPALA               MILWAUKEE                WI
14366   1G11Z5SA8KU141285   GM          IMPALA               LOS ANGELES              CA
14367   1G11Z5SA8KU141299   GM          IMPALA               KNOXVILLE                TN
14368   1G11Z5SA8KU141416   GM          IMPALA               NEW BERN                 NC
14369   1G11Z5SA8KU141464   GM          IMPALA               PHILADELPHIA             PA
14370   1G11Z5SA8KU141528   GM          IMPALA               MIAMI                    FL
14371   1G11Z5SA8KU141593   GM          IMPALA               RALIEGH                  NC
14372   1G11Z5SA8KU141609   GM          IMPALA               WHITE PLAINS             NY
14373   1G11Z5SA8KU141626   GM          IMPALA               CHICAGO                  IL
14374   1G11Z5SA8KU141822   GM          IMPALA               Elkridge                 MD
14375   1G11Z5SA8KU141898   GM          IMPALA               RALIEGH                  NC
14376   1G11Z5SA8KU141951   GM          IMPALA               INDIANAPOLIS             IN
14377   1G11Z5SA8KU142520   GM          IMPALA               SAN DIEGO                CA
14378   1G11Z5SA8KU142601   GM          IMPALA               WEST PALM BEACH          FL
14379   1G11Z5SA8KU142727   GM          IMPALA               NEWARK                   NJ
14380   1G11Z5SA8KU142985   GM          IMPALA               Portland                 OR
14381   1G11Z5SA9KU111583   GM          IMPALA               KAILUA‐KONA              HI
14382   1G11Z5SA9KU112006   GM          IMPALA               HILO                     HI
14383   1G11Z5SA9KU112507   GM          IMPALA               HILO                     HI
14384   1G11Z5SA9KU113317   GM          IMPALA               KAILUA‐KONA              HI
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14385   1G11Z5SA9KU114340   GM          IMPALA               Miami                    FL
14386   1G11Z5SA9KU114404   GM          IMPALA               Jacksonville             FL
14387   1G11Z5SA9KU115262   GM          IMPALA               Dallas                   TX
14388   1G11Z5SA9KU115892   GM          IMPALA               FORT LAUDERDALE          FL
14389   1G11Z5SA9KU115942   GM          IMPALA               WEST PALM BEACH          FL
14390   1G11Z5SA9KU117450   GM          IMPALA               WEST PALM BEACH          FL
14391   1G11Z5SA9KU117626   GM          IMPALA               MIAMI                    FL
14392   1G11Z5SA9KU131879   GM          IMPALA               Downey                   CA
14393   1G11Z5SA9KU132028   GM          IMPALA               ORLANDO                  FL
14394   1G11Z5SA9KU132112   GM          IMPALA               Florissant               MO
14395   1G11Z5SA9KU132224   GM          IMPALA               DFW AIRPORT              TX
14396   1G11Z5SA9KU132353   GM          IMPALA               PHOENIX                  AZ
14397   1G11Z5SA9KU132370   GM          IMPALA               Nashville                TN
14398   1G11Z5SA9KU132403   GM          IMPALA               Burien                   WA
14399   1G11Z5SA9KU132434   GM          IMPALA               Atlanta                  GA
14400   1G11Z5SA9KU132496   GM          IMPALA               WEST PALM BEACH          FL
14401   1G11Z5SA9KU132501   GM          IMPALA               Las Vegas                NV
14402   1G11Z5SA9KU132563   GM          IMPALA               TAMPA                    US
14403   1G11Z5SA9KU133602   GM          IMPALA               Kansas City              MO
14404   1G11Z5SA9KU133969   GM          IMPALA               MIAMI                    FL
14405   1G11Z5SA9KU134121   GM          IMPALA               DETROIT                  MI
14406   1G11Z5SA9KU134183   GM          IMPALA               Baltimore                MD
14407   1G11Z5SA9KU134409   GM          IMPALA               Slidell                  LA
14408   1G11Z5SA9KU134863   GM          IMPALA               CHICAGO                  IL
14409   1G11Z5SA9KU134989   GM          IMPALA               HARRISBURG               PA
14410   1G11Z5SA9KU135091   GM          IMPALA               NASHVILLE                TN
14411   1G11Z5SA9KU135317   GM          IMPALA               DALLAS                   TX
14412   1G11Z5SA9KU135348   GM          IMPALA               HOUSTON                  TX
14413   1G11Z5SA9KU135527   GM          IMPALA               GRAND RAPIDS             MI
14414   1G11Z5SA9KU135611   GM          IMPALA               SAN ANTONIO              TX
14415   1G11Z5SA9KU135687   GM          IMPALA               WEST PALM BEACH          FL
14416   1G11Z5SA9KU135740   GM          IMPALA               KANSAS CITY              MO
14417   1G11Z5SA9KU137181   GM          IMPALA               Charleston               WV
14418   1G11Z5SA9KU137214   GM          IMPALA               LAS VEGAS                NV
14419   1G11Z5SA9KU137259   GM          IMPALA               JAMAICA                  NY
14420   1G11Z5SA9KU137357   GM          IMPALA               ONTARIO                  CA
14421   1G11Z5SA9KU137455   GM          IMPALA               Winter Park              FL
14422   1G11Z5SA9KU137584   GM          IMPALA               SAN DIEGO                CA
14423   1G11Z5SA9KU137603   GM          IMPALA               CHICAGO                  IL
14424   1G11Z5SA9KU137648   GM          IMPALA               HARRISBURG               PA
14425   1G11Z5SA9KU137665   GM          IMPALA               MILWAUKEE                WI
14426   1G11Z5SA9KU137679   GM          IMPALA               Roseville                CA
14427   1G11Z5SA9KU137780   GM          IMPALA               SAINT LOUIS              MO
14428   1G11Z5SA9KU138279   GM          IMPALA               JACKSONVILLE             FL
14429   1G11Z5SA9KU138296   GM          IMPALA               CHARLESTON               SC
14430   1G11Z5SA9KU138332   GM          IMPALA               MIAMI                    FL
14431   1G11Z5SA9KU138444   GM          IMPALA               FORT MYERS               FL
14432   1G11Z5SA9KU138492   GM          IMPALA               WEST COLUMBIA            SC
14433   1G11Z5SA9KU138511   GM          IMPALA               FORT LAUDERDALE          FL
14434   1G11Z5SA9KU138749   GM          IMPALA               FORT MYERS               FL
14435   1G11Z5SA9KU138833   GM          IMPALA               Irving                   TX
14436   1G11Z5SA9KU138847   GM          IMPALA               FORT LAUDERDALE          FL
14437   1G11Z5SA9KU138864   GM          IMPALA               WEST COLUMBIA            SC
14438   1G11Z5SA9KU138895   GM          IMPALA               Wichita                  KS
14439   1G11Z5SA9KU139013   GM          IMPALA               ATLANTA                  GA
14440   1G11Z5SA9KU139027   GM          IMPALA               WARWICK                  RI
14441   1G11Z5SA9KU139075   GM          IMPALA               ORLANDO                  FL
14442   1G11Z5SA9KU139173   GM          IMPALA               TAMPA                    FL
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14443   1G11Z5SA9KU139187   GM          IMPALA               PENSACOLA                FL
14444   1G11Z5SA9KU139223   GM          IMPALA               CHARLOTTE                NC
14445   1G11Z5SA9KU139335   GM          IMPALA               DENVER                   CO
14446   1G11Z5SA9KU139402   GM          IMPALA               GRAND RAPIDS             MI
14447   1G11Z5SA9KU139478   GM          IMPALA               STERLING                 VA
14448   1G11Z5SA9KU139481   GM          IMPALA               BOSTON                   MA
14449   1G11Z5SA9KU139612   GM          IMPALA               CHICAGO                  IL
14450   1G11Z5SA9KU139710   GM          IMPALA               RALIEGH                  NC
14451   1G11Z5SA9KU139805   GM          IMPALA               PHILADELPHIA             PA
14452   1G11Z5SA9KU140033   GM          IMPALA               CHICAGO                  IL
14453   1G11Z5SA9KU140453   GM          IMPALA               WEST PALM BEACH          FL
14454   1G11Z5SA9KU140646   GM          IMPALA               DETROIT                  MI
14455   1G11Z5SA9KU140713   GM          IMPALA               WEST PALM BEACH          FL
14456   1G11Z5SA9KU140727   GM          IMPALA               BIRMINGHAM               AL
14457   1G11Z5SA9KU140730   GM          IMPALA               FORT MYERS               FL
14458   1G11Z5SA9KU140744   GM          IMPALA               DETROIT                  MI
14459   1G11Z5SA9KU140758   GM          IMPALA               Des Moines               IA
14460   1G11Z5SA9KU140839   GM          IMPALA               KENNER                   LA
14461   1G11Z5SA9KU140856   GM          IMPALA               FORT MYERS               FL
14462   1G11Z5SA9KU140887   GM          IMPALA               FORT LAUDERDALE          FL
14463   1G11Z5SA9KU140971   GM          IMPALA               WEST PALM BEACH          FL
14464   1G11Z5SA9KU141084   GM          IMPALA               DES MOINES               IA
14465   1G11Z5SA9KU141117   GM          IMPALA               FORT LAUDERDALE          FL
14466   1G11Z5SA9KU141148   GM          IMPALA               ATLANTA AP               GA
14467   1G11Z5SA9KU141229   GM          IMPALA               JACKSONVILLE             FL
14468   1G11Z5SA9KU141327   GM          IMPALA               INDIANAPOLIS             IN
14469   1G11Z5SA9KU141389   GM          IMPALA               KENNER                   LA
14470   1G11Z5SA9KU141392   GM          IMPALA               ATLANTA                  GA
14471   1G11Z5SA9KU141408   GM          IMPALA               STERLING                 VA
14472   1G11Z5SA9KU141456   GM          IMPALA               Baltimore                MD
14473   1G11Z5SA9KU141537   GM          IMPALA               SARASOTA                 FL
14474   1G11Z5SA9KU141540   GM          IMPALA               MIAMI                    FL
14475   1G11Z5SA9KU141585   GM          IMPALA               TAMPA                    FL
14476   1G11Z5SA9KU141599   GM          IMPALA               MEBANE                   NC
14477   1G11Z5SA9KU141702   GM          IMPALA               NEWARK                   NJ
14478   1G11Z5SA9KU143031   GM          IMPALA               Torrance                 CA
14479   1G11Z5SA9KU143241   GM          IMPALA               ORLANDO                  FL
14480   1G11Z5SA9KU145765   GM          IMPALA               Atlanta                  GA
14481   1G11Z5SAXKU112922   GM          IMPALA               KALAOA                   HI
14482   1G11Z5SAXKU114685   GM          IMPALA               ORLANDO                  FL
14483   1G11Z5SAXKU116033   GM          IMPALA               MIAMI                    FL
14484   1G11Z5SAXKU116162   GM          IMPALA               FORT MYERS               FL
14485   1G11Z5SAXKU117098   GM          IMPALA               WEST PALM BEACH          FL
14486   1G11Z5SAXKU117375   GM          IMPALA               Jacksonville             FL
14487   1G11Z5SAXKU132037   GM          IMPALA               SAINT LOUIS              MO
14488   1G11Z5SAXKU132443   GM          IMPALA               EL PASO                  TX
14489   1G11Z5SAXKU132636   GM          IMPALA               Atlanta                  GA
14490   1G11Z5SAXKU132748   GM          IMPALA               BOSTON                   MA
14491   1G11Z5SAXKU133740   GM          IMPALA               CHICAGO                  IL
14492   1G11Z5SAXKU133995   GM          IMPALA               Hamilton                 OH
14493   1G11Z5SAXKU134127   GM          IMPALA               ROCHESTER                NY
14494   1G11Z5SAXKU134161   GM          IMPALA               Johnston                 RI
14495   1G11Z5SAXKU134211   GM          IMPALA               Scottsdale               AZ
14496   1G11Z5SAXKU134371   GM          IMPALA               TAMPA                    FL
14497   1G11Z5SAXKU134435   GM          IMPALA               DENVER                   CO
14498   1G11Z5SAXKU134452   GM          IMPALA               Houston                  TX
14499   1G11Z5SAXKU134774   GM          IMPALA               CLARKSVILLE              IN
14500   1G11Z5SAXKU134788   GM          IMPALA               Atlanta                  GA
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14501   1G11Z5SAXKU135598   GM          IMPALA               Elgin                    IL
14502   1G11Z5SAXKU135679   GM          IMPALA               Cedar Rapids             IA
14503   1G11Z5SAXKU135830   GM          IMPALA               DENVER                   CO
14504   1G11Z5SAXKU137044   GM          IMPALA               Leesburg                 VA
14505   1G11Z5SAXKU137058   GM          IMPALA               HARRISBURG               PA
14506   1G11Z5SAXKU137223   GM          IMPALA               SAINT PAUL               MN
14507   1G11Z5SAXKU137237   GM          IMPALA               SAINT PAUL               MN
14508   1G11Z5SAXKU137299   GM          IMPALA               PHOENIX                  AZ
14509   1G11Z5SAXKU137321   GM          IMPALA               LITTLE ROCK              AR
14510   1G11Z5SAXKU137335   GM          IMPALA               INDIANAPOLIS             IN
14511   1G11Z5SAXKU137366   GM          IMPALA               STERLING                 VA
14512   1G11Z5SAXKU137545   GM          IMPALA               DES MOINES               IA
14513   1G11Z5SAXKU137660   GM          IMPALA               SAINT PAUL               MN
14514   1G11Z5SAXKU137724   GM          IMPALA               OMAHA                    NE
14515   1G11Z5SAXKU137867   GM          IMPALA               WEST COLUMBIA            SC
14516   1G11Z5SAXKU138291   GM          IMPALA               TAMPA                    FL
14517   1G11Z5SAXKU138341   GM          IMPALA               CLARKSVILLE              IN
14518   1G11Z5SAXKU138484   GM          IMPALA               DETROIT                  MI
14519   1G11Z5SAXKU138520   GM          IMPALA               TAMPA                    FL
14520   1G11Z5SAXKU138579   GM          IMPALA               WEST COLUMBIA            SC
14521   1G11Z5SAXKU138744   GM          IMPALA               Tampa                    FL
14522   1G11Z5SAXKU138873   GM          IMPALA               Atlanta                  GA
14523   1G11Z5SAXKU139005   GM          IMPALA               LAS VEGAS                NV
14524   1G11Z5SAXKU139019   GM          IMPALA               Milwaukee                WI
14525   1G11Z5SAXKU139103   GM          IMPALA               STERLING                 US
14526   1G11Z5SAXKU139151   GM          IMPALA               BOISE                    US
14527   1G11Z5SAXKU139165   GM          IMPALA               DENVER                   CO
14528   1G11Z5SAXKU139215   GM          IMPALA               MILWAUKEE                WI
14529   1G11Z5SAXKU139229   GM          IMPALA               CHICAGO O'HARE AP        IL
14530   1G11Z5SAXKU139652   GM          IMPALA               FORT LAUDERDALE          FL
14531   1G11Z5SAXKU139716   GM          IMPALA               DETROIT                  MI
14532   1G11Z5SAXKU139943   GM          IMPALA               DENVER                   CO
14533   1G11Z5SAXKU140039   GM          IMPALA               DETROIT                  MI
14534   1G11Z5SAXKU140090   GM          IMPALA               Memphis                  TN
14535   1G11Z5SAXKU140123   GM          IMPALA               Philadelphia             PA
14536   1G11Z5SAXKU140252   GM          IMPALA               Houston                  TX
14537   1G11Z5SAXKU140381   GM          IMPALA               BOSTON                   MA
14538   1G11Z5SAXKU140459   GM          IMPALA               Baltimore                MD
14539   1G11Z5SAXKU140526   GM          IMPALA               WARWICK                  RI
14540   1G11Z5SAXKU140767   GM          IMPALA               MILWAUKEE                WI
14541   1G11Z5SAXKU140770   GM          IMPALA               STERLING                 VA
14542   1G11Z5SAXKU140901   GM          IMPALA               DETROIT                  MI
14543   1G11Z5SAXKU140929   GM          IMPALA               FORT LAUDERDALE          FL
14544   1G11Z5SAXKU140932   GM          IMPALA               PHOENIX                  AZ
14545   1G11Z5SAXKU140977   GM          IMPALA               TAMPA                    FL
14546   1G11Z5SAXKU141028   GM          IMPALA               KANSAS CITY              MO
14547   1G11Z5SAXKU141157   GM          IMPALA               TAMPA                    FL
14548   1G11Z5SAXKU141160   GM          IMPALA               FORT MYERS               FL
14549   1G11Z5SAXKU141174   GM          IMPALA               COCOA                    FL
14550   1G11Z5SAXKU141255   GM          IMPALA               Dallas                   TX
14551   1G11Z5SAXKU141417   GM          IMPALA               PHOENIX                  AZ
14552   1G11Z5SAXKU141479   GM          IMPALA               KNOXVILLE                TN
14553   1G11Z5SAXKU141515   GM          IMPALA               STERLING                 VA
14554   1G11Z5SAXKU141563   GM          IMPALA               HOLLY HILL               FL
14555   1G11Z5SAXKU141594   GM          IMPALA               STERLING                 VA
14556   1G11Z5SAXKU141708   GM          IMPALA               New York                 NY
14557   1G11Z5SAXKU141711   GM          IMPALA               GREENVILLE               NC
14558   1G11Z5SAXKU141725   GM          IMPALA               DETROIT                  MI
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14559   1G11Z5SAXKU141756   GM          IMPALA               COLUMBIA                 SC
14560   1G11Z5SAXKU141773   GM          IMPALA               STERLING                 VA
14561   1G11Z5SAXKU141868   GM          IMPALA               NORFOLK                  VA
14562   1G11Z5SAXKU141871   GM          IMPALA               HOUSTON                  TX
14563   1G11Z5SAXKU141921   GM          IMPALA               TAMPA                    FL
14564   1G11Z5SAXKU141952   GM          IMPALA               PROVIDENCE               RI
14565   1G11Z5SAXKU142244   GM          IMPALA               MILWAUKEE                WI
14566   1G11Z5SAXKU142437   GM          IMPALA               NORTH PAC                CA
14567   1G11Z5SAXKU142776   GM          IMPALA               AUSTIN                   TX
14568   1G11Z5SAXKU143121   GM          IMPALA               ORLANDO                  FL
14569   1G1BC5SM1H7211149   GM          CRUZE                Cleveland                OH
14570   1G1BC5SM1K7132555   GM          CRUZE                Winter Park              FL
14571   1G1BC5SM3H7196797   GM          CRUZE                LOS ANGELES              CA
14572   1G1BC5SM4G7307923   GM          CRUZE                Maple Grove              MN
14573   1G1BC5SM5H7205080   GM          CRUZE                ONTARIO                  CA
14574   1G1BC5SM6H7154995   GM          CRUZE                Denver                   CO
14575   1G1BC5SM7G7253484   GM          CRUZE                Davie                    FL
14576   1G1BC5SM7H7203508   GM          CRUZE                Pasadena                 CA
14577   1G1BC5SM9H7189787   GM          CRUZE                North Dighton            MA
14578   1G1BC5SMXH7230346   GM          CRUZE                Manheim                  PA
14579   1G1BE5SM0G7287017   GM          CRUZE                Costa Mesa               CA
14580   1G1BE5SM0G7325071   GM          CRUZE                Chicago                  IL
14581   1G1BE5SM0H7160169   GM          CRUZE                Hebron                   KY
14582   1G1BE5SM0H7165288   GM          CRUZE                PHILADELPHIA             PA
14583   1G1BE5SM0H7226610   GM          CRUZE                LOS ANGELES              CA
14584   1G1BE5SM0H7232665   GM          CRUZE                Davie                    FL
14585   1G1BE5SM0J7105601   GM          CRUZE                SAN FRANCISCO            CA
14586   1G1BE5SM0J7105775   GM          CRUZE                Fredericksburg           VA
14587   1G1BE5SM0J7106702   GM          CRUZE                BURBANK                  CA
14588   1G1BE5SM0J7106764   GM          CRUZE                SAN DIEGO                CA
14589   1G1BE5SM0J7106893   GM          CRUZE                North Las Vegas          NV
14590   1G1BE5SM0J7107056   GM          CRUZE                Costa Mesa               CA
14591   1G1BE5SM0J7107235   GM          CRUZE                BURBANK                  CA
14592   1G1BE5SM0J7107588   GM          CRUZE                Riverside                CA
14593   1G1BE5SM0J7107669   GM          CRUZE                LOS ANGELES              CA
14594   1G1BE5SM0J7108028   GM          CRUZE                BURBANK                  CA
14595   1G1BE5SM0J7108417   GM          CRUZE                SAN FRANCISCO            CA
14596   1G1BE5SM0J7108787   GM          CRUZE                NORTH PAC                CA
14597   1G1BE5SM0J7108899   GM          CRUZE                NORTH PAC                CA
14598   1G1BE5SM0J7109132   GM          CRUZE                SAN JOSE                 CA
14599   1G1BE5SM0J7109292   GM          CRUZE                Santa Clara              CA
14600   1G1BE5SM0J7109311   GM          CRUZE                SAN JOSE                 CA
14601   1G1BE5SM0J7109812   GM          CRUZE                Atlanta                  GA
14602   1G1BE5SM0J7110183   GM          CRUZE                BURBANK                  CA
14603   1G1BE5SM0J7110572   GM          CRUZE                Mira Loma                CA
14604   1G1BE5SM0J7110720   GM          CRUZE                LOS ANGELES              CA
14605   1G1BE5SM0J7110930   GM          CRUZE                TRACY                    CA
14606   1G1BE5SM0J7111849   GM          CRUZE                SAN FRANCISCO            CA
14607   1G1BE5SM0J7111902   GM          CRUZE                SEATTLE                  WA
14608   1G1BE5SM0J7112287   GM          CRUZE                LOS ANGELES              CA
14609   1G1BE5SM0J7112905   GM          CRUZE                HAYWARD                  CA
14610   1G1BE5SM0J7113035   GM          CRUZE                STERLING                 VA
14611   1G1BE5SM0J7113617   GM          CRUZE                NORTH PAC                CA
14612   1G1BE5SM0J7114198   GM          CRUZE                CULVER CITY              CA
14613   1G1BE5SM0J7114332   GM          CRUZE                NORTH PAC                CA
14614   1G1BE5SM0J7115240   GM          CRUZE                Miami                    FL
14615   1G1BE5SM0J7115688   GM          CRUZE                North Dighton            MA
14616   1G1BE5SM0J7115920   GM          CRUZE                Atlanta                  GA
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14617   1G1BE5SM0J7116369   GM          CRUZE                NORTH PAC                CA
14618   1G1BE5SM0J7116646   GM          CRUZE                LAS VEGAS                NV
14619   1G1BE5SM0J7117389   GM          CRUZE                MEDINA                   OH
14620   1G1BE5SM0J7119241   GM          CRUZE                PHILADELPHIA             PA
14621   1G1BE5SM0J7119255   GM          CRUZE                Baltimore                MD
14622   1G1BE5SM0J7119367   GM          CRUZE                Statesville              NC
14623   1G1BE5SM0J7119675   GM          CRUZE                BROOK PARK               OH
14624   1G1BE5SM0J7121491   GM          CRUZE                FT LAUDERDALE            FL
14625   1G1BE5SM0J7122219   GM          CRUZE                BURBANK                  CA
14626   1G1BE5SM0J7122513   GM          CRUZE                WILMINGTON               CA
14627   1G1BE5SM0J7122883   GM          CRUZE                BOSTON                   MA
14628   1G1BE5SM0J7124150   GM          CRUZE                WEST PALM BEACH          FL
14629   1G1BE5SM0J7124262   GM          CRUZE                LOS ANGELES              CA
14630   1G1BE5SM0J7124293   GM          CRUZE                BURBANK                  CA
14631   1G1BE5SM0J7127548   GM          CRUZE                Sterling                 VA
14632   1G1BE5SM0J7135777   GM          CRUZE                ATLANTA                  GA
14633   1G1BE5SM0J7137397   GM          CRUZE                FAYETTEVILLE             GA
14634   1G1BE5SM0J7138694   GM          CRUZE                Estero                   FL
14635   1G1BE5SM0J7139229   GM          CRUZE                DAYTONA BEACH            FL
14636   1G1BE5SM0J7140557   GM          CRUZE                Miami                    FL
14637   1G1BE5SM0J7141630   GM          CRUZE                ORLANDO                  FL
14638   1G1BE5SM0J7153356   GM          CRUZE                WEST PALM BEACH          FL
14639   1G1BE5SM0J7153616   GM          CRUZE                CHICAGO                  IL
14640   1G1BE5SM0J7154099   GM          CRUZE                DAYTONA BEACH            FL
14641   1G1BE5SM0J7154667   GM          CRUZE                North Dighton            MA
14642   1G1BE5SM0J7154863   GM          CRUZE                FLORIDA DEALER DIR       FL
14643   1G1BE5SM0J7155186   GM          CRUZE                LIHUE AP KAUAI           HI
14644   1G1BE5SM0J7155897   GM          CRUZE                Honolulu                 HI
14645   1G1BE5SM0J7156550   GM          CRUZE                NORTH HOLLYWOOD          CA
14646   1G1BE5SM0J7156676   GM          CRUZE                ROSEVILLE                CA
14647   1G1BE5SM0J7156810   GM          CRUZE                Kahului                  HI
14648   1G1BE5SM0J7156984   GM          CRUZE                KAHULUI                  HI
14649   1G1BE5SM0J7157228   GM          CRUZE                BURBANK                  CA
14650   1G1BE5SM0J7158265   GM          CRUZE                North Las Vegas          NV
14651   1G1BE5SM0J7158461   GM          CRUZE                SANTA ANA                CA
14652   1G1BE5SM0J7163532   GM          CRUZE                North Billerica          MA
14653   1G1BE5SM0J7163918   GM          CRUZE                FLORIDA DEALER DIR       FL
14654   1G1BE5SM0J7164146   GM          CRUZE                San Diego                CA
14655   1G1BE5SM0J7164745   GM          CRUZE                AUSTIN                   TX
14656   1G1BE5SM0J7166267   GM          CRUZE                GLEN BURNIE              MD
14657   1G1BE5SM0J7170528   GM          CRUZE                NORTH PAC                CA
14658   1G1BE5SM0J7171663   GM          CRUZE                NORTH PAC                CA
14659   1G1BE5SM0J7171940   GM          CRUZE                FORT MYERS               FL
14660   1G1BE5SM0J7173395   GM          CRUZE                Detroit                  MI
14661   1G1BE5SM0J7175227   GM          CRUZE                LOS ANGELES              CA
14662   1G1BE5SM0J7175857   GM          CRUZE                SAN DIEGO                CA
14663   1G1BE5SM0J7176491   GM          CRUZE                PALM SPRINGS             CA
14664   1G1BE5SM0J7176667   GM          CRUZE                PORTLAND                 OR
14665   1G1BE5SM0J7176832   GM          CRUZE                Sacramento               CA
14666   1G1BE5SM0J7177303   GM          CRUZE                Tampa                    FL
14667   1G1BE5SM0J7183067   GM          CRUZE                BURBANK                  CA
14668   1G1BE5SM0J7185286   GM          CRUZE                BURBANK                  CA
14669   1G1BE5SM0J7185613   GM          CRUZE                Florissant               MO
14670   1G1BE5SM0J7186082   GM          CRUZE                OAKLAND                  CA
14671   1G1BE5SM0J7187409   GM          CRUZE                BURBANK                  CA
14672   1G1BE5SM0J7187412   GM          CRUZE                BURBANK                  CA
14673   1G1BE5SM0J7187636   GM          CRUZE                Santa Clara              CA
14674   1G1BE5SM0J7187720   GM          CRUZE                BURBANK                  CA
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14675   1G1BE5SM0J7188334   GM          CRUZE                ROSEVILLE                CA
14676   1G1BE5SM0J7192044   GM          CRUZE                Hayward                  CA
14677   1G1BE5SM0J7192075   GM          CRUZE                DETROIT                  MI
14678   1G1BE5SM0J7193694   GM          CRUZE                SAN FRANCISCO            CA
14679   1G1BE5SM0J7195302   GM          CRUZE                Tolleson                 AZ
14680   1G1BE5SM0J7197065   GM          CRUZE                ORLANDO                  FL
14681   1G1BE5SM0J7198250   GM          CRUZE                Norwalk                  CA
14682   1G1BE5SM0J7202958   GM          CRUZE                DALLAS                   TX
14683   1G1BE5SM0J7203060   GM          CRUZE                OAKLAND                  CA
14684   1G1BE5SM0J7203494   GM          CRUZE                BURBANK                  CA
14685   1G1BE5SM0J7206962   GM          CRUZE                SAN DIEGO                CA
14686   1G1BE5SM0J7207075   GM          CRUZE                Stockton                 CA
14687   1G1BE5SM0J7207609   GM          CRUZE                NORTH PAC                CA
14688   1G1BE5SM0J7209165   GM          CRUZE                ORLANDO                  FL
14689   1G1BE5SM0J7209666   GM          CRUZE                SAN ANTONIO              TX
14690   1G1BE5SM0J7210963   GM          CRUZE                JAMAICA                  NY
14691   1G1BE5SM0J7211403   GM          CRUZE                SPRINGFIELD              VA
14692   1G1BE5SM0J7220652   GM          CRUZE                OAKLAND                  CA
14693   1G1BE5SM0J7222692   GM          CRUZE                BURBANK                  CA
14694   1G1BE5SM0J7223289   GM          CRUZE                Portland                 OR
14695   1G1BE5SM0J7223664   GM          CRUZE                SAN FRANCISCO            CA
14696   1G1BE5SM0J7223860   GM          CRUZE                CHARLESTON               WV
14697   1G1BE5SM0J7224880   GM          CRUZE                SAN FRANCISCO            CA
14698   1G1BE5SM0J7225074   GM          CRUZE                FORT LAUDERDALE          FL
14699   1G1BE5SM0J7226144   GM          CRUZE                Indianapolis             IN
14700   1G1BE5SM0J7227472   GM          CRUZE                CLARKSVILLE              IN
14701   1G1BE5SM0J7228654   GM          CRUZE                COLORADO SPRING          CO
14702   1G1BE5SM0J7230095   GM          CRUZE                Lake in the Hil          IL
14703   1G1BE5SM0J7230176   GM          CRUZE                Davie                    FL
14704   1G1BE5SM0J7231408   GM          CRUZE                Milwaukee                WI
14705   1G1BE5SM0J7231568   GM          CRUZE                BURBANK                  CA
14706   1G1BE5SM0J7237676   GM          CRUZE                MIAMI                    FL
14707   1G1BE5SM0J7237967   GM          CRUZE                San Diego                CA
14708   1G1BE5SM0J7238259   GM          CRUZE                BURBANK                  CA
14709   1G1BE5SM0J7238522   GM          CRUZE                Ventura                  CA
14710   1G1BE5SM0J7238603   GM          CRUZE                FORT LAUDERDALE          FL
14711   1G1BE5SM0J7238617   GM          CRUZE                Santa Clara              CA
14712   1G1BE5SM0J7239539   GM          CRUZE                TAMPA                    FL
14713   1G1BE5SM0J7239895   GM          CRUZE                ORLANDO                  FL
14714   1G1BE5SM0J7240321   GM          CRUZE                DOWNEY                   CA
14715   1G1BE5SM0J7240951   GM          CRUZE                Sacramento               CA
14716   1G1BE5SM0J7241162   GM          CRUZE                LOS ANGELES              CA
14717   1G1BE5SM0J7241498   GM          CRUZE                LOS ANGELES              CA
14718   1G1BE5SM0J7243204   GM          CRUZE                North Las Vegas          NV
14719   1G1BE5SM0J7243719   GM          CRUZE                BURBANK                  CA
14720   1G1BE5SM0J7244580   GM          CRUZE                Los Angeles              CA
14721   1G1BE5SM0K7106507   GM          CRUZE                SALT LAKE CITY           UT
14722   1G1BE5SM0K7107172   GM          CRUZE                Costa Mesa               CA
14723   1G1BE5SM0K7107284   GM          CRUZE                PLEASANTON               CA
14724   1G1BE5SM0K7107706   GM          CRUZE                ROSEVILLE                CA
14725   1G1BE5SM0K7107768   GM          CRUZE                Sacramento               CA
14726   1G1BE5SM0K7108354   GM          CRUZE                Atlanta                  GA
14727   1G1BE5SM0K7109164   GM          CRUZE                Detroit                  MI
14728   1G1BE5SM0K7109424   GM          CRUZE                ORLANDO                  FL
14729   1G1BE5SM0K7110332   GM          CRUZE                LOS ANGELES              CA
14730   1G1BE5SM0K7110475   GM          CRUZE                TAMPA                    FL
14731   1G1BE5SM0K7110802   GM          CRUZE                WEST PALM BEACH          FL
14732   1G1BE5SM0K7110895   GM          CRUZE                LOUISVILLE               KY
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14733   1G1BE5SM0K7111321   GM          CRUZE                ORLANDO                  FL
14734   1G1BE5SM0K7112033   GM          CRUZE                ORLANDO                  FL
14735   1G1BE5SM0K7112520   GM          CRUZE                MIAMI                    FL
14736   1G1BE5SM0K7113442   GM          CRUZE                TAMPA                    FL
14737   1G1BE5SM0K7113909   GM          CRUZE                LOS ANGELES              CA
14738   1G1BE5SM0K7113912   GM          CRUZE                NOTTINGHAM               MD
14739   1G1BE5SM0K7113960   GM          CRUZE                Austell                  GA
14740   1G1BE5SM0K7113974   GM          CRUZE                Cleveland                OH
14741   1G1BE5SM0K7114591   GM          CRUZE                SARASOTA                 FL
14742   1G1BE5SM0K7114705   GM          CRUZE                Los Angeles              CA
14743   1G1BE5SM0K7114767   GM          CRUZE                BLOOMINGTON              IL
14744   1G1BE5SM0K7114798   GM          CRUZE                LOS ANGELES              CA
14745   1G1BE5SM0K7114932   GM          CRUZE                FORT MYERS               FL
14746   1G1BE5SM0K7115062   GM          CRUZE                Boutte                   LA
14747   1G1BE5SM0K7115353   GM          CRUZE                SAN JOSE                 CA
14748   1G1BE5SM0K7115675   GM          CRUZE                Los Angeles              CA
14749   1G1BE5SM0K7115921   GM          CRUZE                WEST COLUMBIA            SC
14750   1G1BE5SM0K7115966   GM          CRUZE                FT LAUDERDALE            FL
14751   1G1BE5SM0K7116633   GM          CRUZE                DANIA BEACH              FL
14752   1G1BE5SM0K7116731   GM          CRUZE                WEST PALM BEACH          FL
14753   1G1BE5SM0K7116745   GM          CRUZE                FORT LAUDERDALE          FL
14754   1G1BE5SM0K7116924   GM          CRUZE                MIAMI                    FL
14755   1G1BE5SM0K7116969   GM          CRUZE                WEST PALM BEACH          FL
14756   1G1BE5SM0K7117099   GM          CRUZE                ORLANDO                  FL
14757   1G1BE5SM0K7117443   GM          CRUZE                TAMPA                    FL
14758   1G1BE5SM0K7117636   GM          CRUZE                ORLANDO                  FL
14759   1G1BE5SM0K7117751   GM          CRUZE                MIAMI                    FL
14760   1G1BE5SM0K7117815   GM          CRUZE                PORTLAND                 ME
14761   1G1BE5SM0K7118396   GM          CRUZE                WEST PALM BEACH          FL
14762   1G1BE5SM0K7118706   GM          CRUZE                FORT LAUDERDALE          FL
14763   1G1BE5SM0K7118740   GM          CRUZE                FORT LAUDERDALE          FL
14764   1G1BE5SM0K7118818   GM          CRUZE                FORT LAUDERDALE          FL
14765   1G1BE5SM0K7118852   GM          CRUZE                SARASOTA                 FL
14766   1G1BE5SM0K7118950   GM          CRUZE                FORT MYERS               FL
14767   1G1BE5SM0K7119046   GM          CRUZE                MIAMI                    FL
14768   1G1BE5SM0K7119113   GM          CRUZE                WEST PALM BEACH          FL
14769   1G1BE5SM0K7119189   GM          CRUZE                ORLANDO                  FL
14770   1G1BE5SM0K7119208   GM          CRUZE                FORT MYERS               FL
14771   1G1BE5SM0K7119211   GM          CRUZE                TAMPA                    FL
14772   1G1BE5SM0K7119466   GM          CRUZE                JACKSONVILLE             FL
14773   1G1BE5SM0K7119483   GM          CRUZE                Orlando                  FL
14774   1G1BE5SM0K7119502   GM          CRUZE                WEST PALM BEACH          FL
14775   1G1BE5SM0K7119600   GM          CRUZE                ORLANDO                  FL
14776   1G1BE5SM0K7119693   GM          CRUZE                ORLANDO                  FL
14777   1G1BE5SM0K7119855   GM          CRUZE                WEST PALM BEACH          FL
14778   1G1BE5SM0K7119967   GM          CRUZE                WEST PALM BEACH          FL
14779   1G1BE5SM0K7120066   GM          CRUZE                ORLANDO                  FL
14780   1G1BE5SM0K7120150   GM          CRUZE                ORLANDO                  FL
14781   1G1BE5SM0K7120231   GM          CRUZE                Atlanta                  GA
14782   1G1BE5SM0K7120732   GM          CRUZE                ORLANDO                  FL
14783   1G1BE5SM0K7120939   GM          CRUZE                FORT LAUDERDALE          FL
14784   1G1BE5SM0K7121363   GM          CRUZE                TAMPA                    FL
14785   1G1BE5SM0K7121623   GM          CRUZE                St. Louis                MO
14786   1G1BE5SM0K7121685   GM          CRUZE                FT LAUDERDALE            FL
14787   1G1BE5SM0K7121783   GM          CRUZE                COCOA                    FL
14788   1G1BE5SM0K7121900   GM          CRUZE                TAMPA                    FL
14789   1G1BE5SM0K7122190   GM          CRUZE                Chicago                  IL
14790   1G1BE5SM0K7122318   GM          CRUZE                SARASOTA                 FL
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14791   1G1BE5SM0K7122481   GM          CRUZE                ORLANDO                  FL
14792   1G1BE5SM0K7123064   GM          CRUZE                TAMPA                    FL
14793   1G1BE5SM0K7123243   GM          CRUZE                Jacksonville             FL
14794   1G1BE5SM0K7123288   GM          CRUZE                ORLANDO                  FL
14795   1G1BE5SM0K7123579   GM          CRUZE                ORLANDO                  FL
14796   1G1BE5SM0K7123646   GM          CRUZE                FORT LAUDERDALE          FL
14797   1G1BE5SM0K7124022   GM          CRUZE                ORLANDO                  FL
14798   1G1BE5SM0K7124120   GM          CRUZE                FORT MYERS               FL
14799   1G1BE5SM0K7124344   GM          CRUZE                WEST PALM BEACH          FL
14800   1G1BE5SM0K7124540   GM          CRUZE                Tulsa                    OK
14801   1G1BE5SM0K7126241   GM          CRUZE                FORT LAUDERDALE          FL
14802   1G1BE5SM0K7139247   GM          CRUZE                WEST PALM BEACH          FL
14803   1G1BE5SM0K7139328   GM          CRUZE                TAMPA                    FL
14804   1G1BE5SM0K7140401   GM          CRUZE                HOUSTON                  TX
14805   1G1BE5SM0K7140673   GM          CRUZE                TAMPA                    FL
14806   1G1BE5SM0K7140768   GM          CRUZE                TAMPA                    FL
14807   1G1BE5SM0K7140964   GM          CRUZE                WEST PALM BEACH          FL
14808   1G1BE5SM0K7141340   GM          CRUZE                FORT MYERS               FL
14809   1G1BE5SM0K7144075   GM          CRUZE                FT. LAUDERDALE           FL
14810   1G1BE5SM0K7144321   GM          CRUZE                ORLANDO                  FL
14811   1G1BE5SM0K7144349   GM          CRUZE                TAMPA                    FL
14812   1G1BE5SM0K7144464   GM          CRUZE                Jamaica                  NY
14813   1G1BE5SM0K7144609   GM          CRUZE                FORT LAUDERDALE          FL
14814   1G1BE5SM0K7144741   GM          CRUZE                JACKSONVILLE             FL
14815   1G1BE5SM0K7144755   GM          CRUZE                PHILADELPHIA             PA
14816   1G1BE5SM0K7144772   GM          CRUZE                ORLANDO                  FL
14817   1G1BE5SM0K7144979   GM          CRUZE                ORLANDO                  FL
14818   1G1BE5SM0K7145033   GM          CRUZE                MIAMI                    FL
14819   1G1BE5SM0K7145243   GM          CRUZE                FORT LAUDERDALE          FL
14820   1G1BE5SM0K7145288   GM          CRUZE                ORLANDO                  FL
14821   1G1BE5SM0K7145338   GM          CRUZE                TAMPA                    FL
14822   1G1BE5SM0K7145341   GM          CRUZE                FORT MYERS               FL
14823   1G1BE5SM0K7145422   GM          CRUZE                ALBANY                   GA
14824   1G1BE5SM0K7145484   GM          CRUZE                SAINT PAUL               MN
14825   1G1BE5SM0K7145503   GM          CRUZE                MIAMI                    FL
14826   1G1BE5SM0K7145517   GM          CRUZE                WEST PALM BEACH          FL
14827   1G1BE5SM0K7145579   GM          CRUZE                MIAMI                    FL
14828   1G1BE5SM0K7145646   GM          CRUZE                Fredericksburg           VA
14829   1G1BE5SM0K7145856   GM          CRUZE                TAMPA                    FL
14830   1G1BE5SM0K7146182   GM          CRUZE                WEST PALM BEACH          FL
14831   1G1BE5SM0K7146439   GM          CRUZE                St. Louis                MO
14832   1G1BE5SM0K7146537   GM          CRUZE                MIAMI                    FL
14833   1G1BE5SM0K7146585   GM          CRUZE                EAST BOSTON              MA
14834   1G1BE5SM0K7146702   GM          CRUZE                CHICAGO                  IL
14835   1G1BE5SM0K7146764   GM          CRUZE                ORLANDO                  FL
14836   1G1BE5SM0K7147509   GM          CRUZE                WEST PALM BEACH          FL
14837   1G1BE5SM1G7231829   GM          CRUZE                Marietta                 GA
14838   1G1BE5SM1H7164943   GM          CRUZE                Des Moines               IA
14839   1G1BE5SM1H7202493   GM          CRUZE                LOS ANGELES              CA
14840   1G1BE5SM1H7246736   GM          CRUZE                PORTLAND                 OR
14841   1G1BE5SM1J7105672   GM          CRUZE                RALEIGH                  NC
14842   1G1BE5SM1J7107132   GM          CRUZE                PLEASANTON               CA
14843   1G1BE5SM1J7107244   GM          CRUZE                GLEN BURNIE              MD
14844   1G1BE5SM1J7107261   GM          CRUZE                Costa Mesa               CA
14845   1G1BE5SM1J7107390   GM          CRUZE                Englewood                CO
14846   1G1BE5SM1J7107731   GM          CRUZE                BURBANK                  CA
14847   1G1BE5SM1J7107938   GM          CRUZE                BURBANK                  CA
14848   1G1BE5SM1J7108121   GM          CRUZE                BURBANK                  CA
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14849   1G1BE5SM1J7109365   GM          CRUZE                Riverside                CA
14850   1G1BE5SM1J7110306   GM          CRUZE                Rock Hill                SC
14851   1G1BE5SM1J7111231   GM          CRUZE                ONTARIO                  CA
14852   1G1BE5SM1J7113917   GM          CRUZE                N. Las Vegas             NV
14853   1G1BE5SM1J7114307   GM          CRUZE                Dallas                   TX
14854   1G1BE5SM1J7115599   GM          CRUZE                NEW ENGLAND DEALER       MA
14855   1G1BE5SM1J7116347   GM          CRUZE                PHILADELPHIA             PA
14856   1G1BE5SM1J7117661   GM          CRUZE                SEATTLE                  WA
14857   1G1BE5SM1J7118471   GM          CRUZE                BOSTON                   MA
14858   1G1BE5SM1J7121323   GM          CRUZE                BURBANK                  CA
14859   1G1BE5SM1J7122794   GM          CRUZE                PHILADELPHIA             PA
14860   1G1BE5SM1J7123301   GM          CRUZE                BURBANK                  CA
14861   1G1BE5SM1J7123377   GM          CRUZE                BURBANK                  CA
14862   1G1BE5SM1J7123847   GM          CRUZE                DAYTONA BEACH            FL
14863   1G1BE5SM1J7124819   GM          CRUZE                Arlington                WA
14864   1G1BE5SM1J7137098   GM          CRUZE                SAN ANTONIO              TX
14865   1G1BE5SM1J7138154   GM          CRUZE                DANIA BEACH              FL
14866   1G1BE5SM1J7141393   GM          CRUZE                Austell                  GA
14867   1G1BE5SM1J7151759   GM          CRUZE                TRACY                    CA
14868   1G1BE5SM1J7152278   GM          CRUZE                LIHUE AP KAUAI           HI
14869   1G1BE5SM1J7152409   GM          CRUZE                WEST PALM BEACH          FL
14870   1G1BE5SM1J7152457   GM          CRUZE                S. San Francisc          CA
14871   1G1BE5SM1J7152684   GM          CRUZE                Tampa                    FL
14872   1G1BE5SM1J7152930   GM          CRUZE                DALLAS                   TX
14873   1G1BE5SM1J7152992   GM          CRUZE                STERLING                 VA
14874   1G1BE5SM1J7154046   GM          CRUZE                SAN DIEGO                CA
14875   1G1BE5SM1J7154273   GM          CRUZE                ONTARIO                  CA
14876   1G1BE5SM1J7154340   GM          CRUZE                Portland                 OR
14877   1G1BE5SM1J7154614   GM          CRUZE                DAYTONA BEACH            FL
14878   1G1BE5SM1J7157125   GM          CRUZE                North Las Vegas          NV
14879   1G1BE5SM1J7157318   GM          CRUZE                SAN JOSE                 CA
14880   1G1BE5SM1J7157402   GM          CRUZE                SHERMAN OAKS             CA
14881   1G1BE5SM1J7157481   GM          CRUZE                KAHULUI                  HI
14882   1G1BE5SM1J7157545   GM          CRUZE                Honolulu                 HI
14883   1G1BE5SM1J7157870   GM          CRUZE                Atlanta                  GA
14884   1G1BE5SM1J7158341   GM          CRUZE                LOS ANGELES              CA
14885   1G1BE5SM1J7158565   GM          CRUZE                KAILUA KONA              HI
14886   1G1BE5SM1J7158632   GM          CRUZE                HONOLULU                 HI
14887   1G1BE5SM1J7164091   GM          CRUZE                ROSEVILLE                CA
14888   1G1BE5SM1J7164818   GM          CRUZE                DANIA BEACH              FL
14889   1G1BE5SM1J7165208   GM          CRUZE                NORTH HOLLYWOOD          CA
14890   1G1BE5SM1J7165287   GM          CRUZE                Pittsburgh               PA
14891   1G1BE5SM1J7165550   GM          CRUZE                CHARLOTTE                NC
14892   1G1BE5SM1J7165757   GM          CRUZE                SAINT PAUL               MN
14893   1G1BE5SM1J7166116   GM          CRUZE                WEST PALM BEACH          FL
14894   1G1BE5SM1J7171204   GM          CRUZE                SEATTLE                  WA
14895   1G1BE5SM1J7171901   GM          CRUZE                FORT MYERS               FL
14896   1G1BE5SM1J7172756   GM          CRUZE                Pasadena                 CA
14897   1G1BE5SM1J7172997   GM          CRUZE                BURBANK                  CA
14898   1G1BE5SM1J7173177   GM          CRUZE                RONKONKOMA               NY
14899   1G1BE5SM1J7174474   GM          CRUZE                WOODLAND HILLS           CA
14900   1G1BE5SM1J7176032   GM          CRUZE                Davie                    FL
14901   1G1BE5SM1J7177066   GM          CRUZE                BURBANK                  CA
14902   1G1BE5SM1J7177746   GM          CRUZE                BURBANK                  CA
14903   1G1BE5SM1J7181893   GM          CRUZE                BURBANK                  CA
14904   1G1BE5SM1J7181988   GM          CRUZE                LOS ANGELES              CA
14905   1G1BE5SM1J7183238   GM          CRUZE                Portland                 OR
14906   1G1BE5SM1J7183255   GM          CRUZE                LOS ANGELES              CA
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14907   1G1BE5SM1J7183952   GM          CRUZE                PHOENIX                  AZ
14908   1G1BE5SM1J7184034   GM          CRUZE                BURBANK                  CA
14909   1G1BE5SM1J7184177   GM          CRUZE                SAN DIEGO                CA
14910   1G1BE5SM1J7184325   GM          CRUZE                BURBANK                  CA
14911   1G1BE5SM1J7184955   GM          CRUZE                MARIETTA                 GA
14912   1G1BE5SM1J7185166   GM          CRUZE                Anaheim                  CA
14913   1G1BE5SM1J7186981   GM          CRUZE                PHOENIX                  AZ
14914   1G1BE5SM1J7189136   GM          CRUZE                San Diego                CA
14915   1G1BE5SM1J7189847   GM          CRUZE                ENGLEWOOD                CO
14916   1G1BE5SM1J7190688   GM          CRUZE                CENTRAL DIST OFFC        OK
14917   1G1BE5SM1J7190691   GM          CRUZE                BURBANK                  CA
14918   1G1BE5SM1J7190870   GM          CRUZE                SAN JOSE                 CA
14919   1G1BE5SM1J7191548   GM          CRUZE                FLORIDA DEALER DIR       FL
14920   1G1BE5SM1J7191985   GM          CRUZE                BURBANK                  CA
14921   1G1BE5SM1J7192148   GM          CRUZE                SANTA ANA                CA
14922   1G1BE5SM1J7192490   GM          CRUZE                LOS ANGELES              CA
14923   1G1BE5SM1J7192702   GM          CRUZE                BURBANK                  CA
14924   1G1BE5SM1J7192733   GM          CRUZE                NORTH HOLLYWOOD          CA
14925   1G1BE5SM1J7195194   GM          CRUZE                Tolleson                 AZ
14926   1G1BE5SM1J7195213   GM          CRUZE                RIVERSIDE                CA
14927   1G1BE5SM1J7196135   GM          CRUZE                Hamilton                 OH
14928   1G1BE5SM1J7196197   GM          CRUZE                Hayward                  CA
14929   1G1BE5SM1J7196765   GM          CRUZE                BURBANK                  CA
14930   1G1BE5SM1J7197219   GM          CRUZE                PORTLAND                 OR
14931   1G1BE5SM1J7197477   GM          CRUZE                Las Vegas                NV
14932   1G1BE5SM1J7197530   GM          CRUZE                SEATTLE                  WA
14933   1G1BE5SM1J7197656   GM          CRUZE                Burien                   WA
14934   1G1BE5SM1J7199293   GM          CRUZE                CHICAGO                  IL
14935   1G1BE5SM1J7199388   GM          CRUZE                INDIANAPOLIS             IN
14936   1G1BE5SM1J7199598   GM          CRUZE                CLEARWATER               FL
14937   1G1BE5SM1J7201320   GM          CRUZE                LOS ANGELES              CA
14938   1G1BE5SM1J7201866   GM          CRUZE                SAN JOSE                 CA
14939   1G1BE5SM1J7203584   GM          CRUZE                NORTH PAC                CA
14940   1G1BE5SM1J7204086   GM          CRUZE                CHICAGO                  IL
14941   1G1BE5SM1J7204752   GM          CRUZE                Norwalk                  CA
14942   1G1BE5SM1J7204797   GM          CRUZE                PHOENIX                  AZ
14943   1G1BE5SM1J7205321   GM          CRUZE                OAKLAND                  CA
14944   1G1BE5SM1J7206386   GM          CRUZE                BURBANK                  CA
14945   1G1BE5SM1J7207604   GM          CRUZE                Stockton                 CA
14946   1G1BE5SM1J7207974   GM          CRUZE                BURBANK                  CA
14947   1G1BE5SM1J7208204   GM          CRUZE                BURBANK                  CA
14948   1G1BE5SM1J7211426   GM          CRUZE                SACRAMENTO               CA
14949   1G1BE5SM1J7211989   GM          CRUZE                Grove City               OH
14950   1G1BE5SM1J7218604   GM          CRUZE                TAMPA                    US
14951   1G1BE5SM1J7219123   GM          CRUZE                PHILADELPHIA             PA
14952   1G1BE5SM1J7220739   GM          CRUZE                Kent                     WA
14953   1G1BE5SM1J7222510   GM          CRUZE                SACRAMENTO               CA
14954   1G1BE5SM1J7222958   GM          CRUZE                Anaheim                  CA
14955   1G1BE5SM1J7224659   GM          CRUZE                BURBANK                  CA
14956   1G1BE5SM1J7226623   GM          CRUZE                Warminster               PA
14957   1G1BE5SM1J7227965   GM          CRUZE                WEST PALM BEACH          FL
14958   1G1BE5SM1J7228758   GM          CRUZE                Philadelphia             PA
14959   1G1BE5SM1J7229778   GM          CRUZE                LOS ANGELES              CA
14960   1G1BE5SM1J7230414   GM          CRUZE                SACRAMENTO               CA
14961   1G1BE5SM1J7231501   GM          CRUZE                SAINT PAUL               MN
14962   1G1BE5SM1J7231787   GM          CRUZE                PHILADELPHIA             PA
14963   1G1BE5SM1J7238559   GM          CRUZE                SEATAC                   WA
14964   1G1BE5SM1J7238660   GM          CRUZE                Phoenix                  AZ
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14965   1G1BE5SM1J7239498   GM          CRUZE                LOS ANGELES              CA
14966   1G1BE5SM1J7239906   GM          CRUZE                NORTH PAC                CA
14967   1G1BE5SM1J7240067   GM          CRUZE                DALLAS                   TX
14968   1G1BE5SM1J7240702   GM          CRUZE                BURBANK                  CA
14969   1G1BE5SM1J7240828   GM          CRUZE                Riverside                CA
14970   1G1BE5SM1J7241428   GM          CRUZE                AUSTIN                   TX
14971   1G1BE5SM1J7242661   GM          CRUZE                ONTARIO                  CA
14972   1G1BE5SM1J7243678   GM          CRUZE                RIVERSIDE                CA
14973   1G1BE5SM1J7243776   GM          CRUZE                DOWNEY                   CA
14974   1G1BE5SM1J7243857   GM          CRUZE                SALT LAKE CITY           UT
14975   1G1BE5SM1J7244863   GM          CRUZE                FRESNO                   CA
14976   1G1BE5SM1K7107231   GM          CRUZE                FRESNO                   CA
14977   1G1BE5SM1K7107486   GM          CRUZE                LOS ANGELES              CA
14978   1G1BE5SM1K7107651   GM          CRUZE                JACKSONVILLE             FL
14979   1G1BE5SM1K7107729   GM          CRUZE                Atlanta                  GA
14980   1G1BE5SM1K7107813   GM          CRUZE                Killeen                  TX
14981   1G1BE5SM1K7108220   GM          CRUZE                LOS ANGELES              CA
14982   1G1BE5SM1K7108492   GM          CRUZE                FORT MYERS               FL
14983   1G1BE5SM1K7109366   GM          CRUZE                FORT LAUDERDALE          FL
14984   1G1BE5SM1K7109643   GM          CRUZE                FORT LAUDERDALE          FL
14985   1G1BE5SM1K7110503   GM          CRUZE                WEST PALM BEACH          FL
14986   1G1BE5SM1K7110629   GM          CRUZE                ORLANDO                  FL
14987   1G1BE5SM1K7110792   GM          CRUZE                ORLANDO                  FL
14988   1G1BE5SM1K7111358   GM          CRUZE                SCHILLER PARK            IL
14989   1G1BE5SM1K7113191   GM          CRUZE                Detroit                  MI
14990   1G1BE5SM1K7113496   GM          CRUZE                JACKSONVILLE             FL
14991   1G1BE5SM1K7113515   GM          CRUZE                FORT LAUDERDALE          FL
14992   1G1BE5SM1K7113871   GM          CRUZE                CLEVELAND                OH
14993   1G1BE5SM1K7114261   GM          CRUZE                SAINT PAUL               MN
14994   1G1BE5SM1K7114499   GM          CRUZE                SANTA ANA                CA
14995   1G1BE5SM1K7114504   GM          CRUZE                NORTH HOLLYWOOD          CA
14996   1G1BE5SM1K7115121   GM          CRUZE                Tampa                    FL
14997   1G1BE5SM1K7115541   GM          CRUZE                HOUSTON                  TX
14998   1G1BE5SM1K7115636   GM          CRUZE                SAN FRANCISCO            CA
14999   1G1BE5SM1K7115765   GM          CRUZE                ORLANDO                  FL
15000   1G1BE5SM1K7115832   GM          CRUZE                Phoenix                  AZ
15001   1G1BE5SM1K7116477   GM          CRUZE                WEST PALM BEACH          FL
15002   1G1BE5SM1K7116821   GM          CRUZE                ORLANDO                  FL
15003   1G1BE5SM1K7116835   GM          CRUZE                KENNER                   LA
15004   1G1BE5SM1K7117032   GM          CRUZE                KENNER                   LA
15005   1G1BE5SM1K7117080   GM          CRUZE                TAMPA                    FL
15006   1G1BE5SM1K7117189   GM          CRUZE                ORLANDO                  FL
15007   1G1BE5SM1K7117192   GM          CRUZE                ATLANTA                  GA
15008   1G1BE5SM1K7117418   GM          CRUZE                JACKSONVILLE             FL
15009   1G1BE5SM1K7117421   GM          CRUZE                WEST PALM BEACH          FL
15010   1G1BE5SM1K7117628   GM          CRUZE                FORT LAUDERDALE          FL
15011   1G1BE5SM1K7117869   GM          CRUZE                ORLANDO                  FL
15012   1G1BE5SM1K7117872   GM          CRUZE                JACKSONVILLE             FL
15013   1G1BE5SM1K7118049   GM          CRUZE                ORLANDO                  FL
15014   1G1BE5SM1K7118116   GM          CRUZE                ORLANDO                  FL
15015   1G1BE5SM1K7118293   GM          CRUZE                JACKSONVILLE             FL
15016   1G1BE5SM1K7118309   GM          CRUZE                Tampa                    FL
15017   1G1BE5SM1K7118438   GM          CRUZE                BALTIMORE                MD
15018   1G1BE5SM1K7118603   GM          CRUZE                WEST PALM BEACH          FL
15019   1G1BE5SM1K7118648   GM          CRUZE                FORT LAUDERDALE          FL
15020   1G1BE5SM1K7118729   GM          CRUZE                ATLANTA                  GA
15021   1G1BE5SM1K7118889   GM          CRUZE                FORT MYERS               FL
15022   1G1BE5SM1K7118892   GM          CRUZE                FT LAUDERDALE            FL
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15023   1G1BE5SM1K7118987   GM          CRUZE                FORT MYERS               FL
15024   1G1BE5SM1K7119007   GM          CRUZE                FORT LAUDERDALE          FL
15025   1G1BE5SM1K7119024   GM          CRUZE                FORT MYERS               FL
15026   1G1BE5SM1K7119170   GM          CRUZE                SARASOTA                 FL
15027   1G1BE5SM1K7119654   GM          CRUZE                ORLANDO                  FL
15028   1G1BE5SM1K7119685   GM          CRUZE                MIAMI                    FL
15029   1G1BE5SM1K7119699   GM          CRUZE                JACKSON                  MS
15030   1G1BE5SM1K7119847   GM          CRUZE                FORT MYERS               FL
15031   1G1BE5SM1K7120027   GM          CRUZE                MIAMI                    FL
15032   1G1BE5SM1K7120447   GM          CRUZE                JACKSONVILLE             FL
15033   1G1BE5SM1K7120545   GM          CRUZE                FORT LAUDERDALE          FL
15034   1G1BE5SM1K7120738   GM          CRUZE                FORT MYERS               FL
15035   1G1BE5SM1K7120755   GM          CRUZE                ORLANDO                  FL
15036   1G1BE5SM1K7120903   GM          CRUZE                WEST PALM BEACH          FL
15037   1G1BE5SM1K7121162   GM          CRUZE                WEST PALM BEACH          FL
15038   1G1BE5SM1K7121176   GM          CRUZE                MIAMI                    FL
15039   1G1BE5SM1K7121212   GM          CRUZE                ALBANY                   GA
15040   1G1BE5SM1K7121257   GM          CRUZE                Ft. Myers                FL
15041   1G1BE5SM1K7121386   GM          CRUZE                Miami                    FL
15042   1G1BE5SM1K7121582   GM          CRUZE                ORLANDO                  FL
15043   1G1BE5SM1K7121680   GM          CRUZE                FORT MYERS               FL
15044   1G1BE5SM1K7121727   GM          CRUZE                TAMPA                    FL
15045   1G1BE5SM1K7121789   GM          CRUZE                FORT MYERS               FL
15046   1G1BE5SM1K7121811   GM          CRUZE                TAMPA                    FL
15047   1G1BE5SM1K7122148   GM          CRUZE                ORLANDO                  FL
15048   1G1BE5SM1K7122280   GM          CRUZE                FORT MYERS               FL
15049   1G1BE5SM1K7122313   GM          CRUZE                WEST PALM BEACH          FL
15050   1G1BE5SM1K7122778   GM          CRUZE                ORLANDO                  FL
15051   1G1BE5SM1K7122800   GM          CRUZE                TAMPA                    FL
15052   1G1BE5SM1K7123221   GM          CRUZE                ORLANDO                  FL
15053   1G1BE5SM1K7123395   GM          CRUZE                ORLANDO                  FL
15054   1G1BE5SM1K7123588   GM          CRUZE                ORLANDO                  FL
15055   1G1BE5SM1K7123879   GM          CRUZE                WEST PALM BEACH          FL
15056   1G1BE5SM1K7123901   GM          CRUZE                MIAMI                    FL
15057   1G1BE5SM1K7124028   GM          CRUZE                Elgin                    IL
15058   1G1BE5SM1K7124126   GM          CRUZE                ORLANDO                  FL
15059   1G1BE5SM1K7124773   GM          CRUZE                ORLANDO                  FL
15060   1G1BE5SM1K7124983   GM          CRUZE                WEST PALM BEACH          FL
15061   1G1BE5SM1K7125003   GM          CRUZE                KEY WEST                 FL
15062   1G1BE5SM1K7125017   GM          CRUZE                ORLANDO                  FL
15063   1G1BE5SM1K7125132   GM          CRUZE                CHICAGO                  IL
15064   1G1BE5SM1K7138608   GM          CRUZE                Stockton                 CA
15065   1G1BE5SM1K7138883   GM          CRUZE                North Dighton            MA
15066   1G1BE5SM1K7139192   GM          CRUZE                Jamaica                  NY
15067   1G1BE5SM1K7139905   GM          CRUZE                ORLANDO                  FL
15068   1G1BE5SM1K7141184   GM          CRUZE                Austell                  GA
15069   1G1BE5SM1K7141217   GM          CRUZE                ORLANDO                  FL
15070   1G1BE5SM1K7141606   GM          CRUZE                FORT LAUDERDALE          FL
15071   1G1BE5SM1K7141640   GM          CRUZE                FORT MYERS               FL
15072   1G1BE5SM1K7141749   GM          CRUZE                WEST PALM BEACH          FL
15073   1G1BE5SM1K7142464   GM          CRUZE                Austell                  GA
15074   1G1BE5SM1K7144179   GM          CRUZE                FORT LAUDERDALE          FL
15075   1G1BE5SM1K7144313   GM          CRUZE                Elkridge                 MD
15076   1G1BE5SM1K7144358   GM          CRUZE                TAMPA                    FL
15077   1G1BE5SM1K7144389   GM          CRUZE                MIAMI                    FL
15078   1G1BE5SM1K7144473   GM          CRUZE                PEMBROKE                 MA
15079   1G1BE5SM1K7144697   GM          CRUZE                FORT LAUDERDALE          FL
15080   1G1BE5SM1K7144800   GM          CRUZE                TAMPA                    FL
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15081   1G1BE5SM1K7144988   GM          CRUZE                JACKSONVILLE             FL
15082   1G1BE5SM1K7145073   GM          CRUZE                MIAMI                    FL
15083   1G1BE5SM1K7145316   GM          CRUZE                MIAMI                    FL
15084   1G1BE5SM1K7145459   GM          CRUZE                Pittsburgh               PA
15085   1G1BE5SM1K7145509   GM          CRUZE                FORT LAUDERDALE          FL
15086   1G1BE5SM1K7145557   GM          CRUZE                TAMPA                    FL
15087   1G1BE5SM1K7145798   GM          CRUZE                ORLANDO                  FL
15088   1G1BE5SM1K7146191   GM          CRUZE                COLLEGE PARK             GA
15089   1G1BE5SM1K7146241   GM          CRUZE                KANSAS CITY              MO
15090   1G1BE5SM1K7146269   GM          CRUZE                TALLAHASSEE              FL
15091   1G1BE5SM1K7146417   GM          CRUZE                San Antonio              TX
15092   1G1BE5SM1K7146630   GM          CRUZE                Houston                  TX
15093   1G1BE5SM1K7146868   GM          CRUZE                ORLANDO                  FL
15094   1G1BE5SM1K7146871   GM          CRUZE                FORT MYERS               FL
15095   1G1BE5SM1K7147485   GM          CRUZE                St. Louis                MO
15096   1G1BE5SM2H7124659   GM          CRUZE                Pensacola                FL
15097   1G1BE5SM2H7237057   GM          CRUZE                Dania                    FL
15098   1G1BE5SM2H7241514   GM          CRUZE                Indianapolis             IN
15099   1G1BE5SM2H7275260   GM          CRUZE                SACRAMENTO               CA
15100   1G1BE5SM2J7102909   GM          CRUZE                Aurora                   CO
15101   1G1BE5SM2J7104062   GM          CRUZE                LOS ANGELES              CA
15102   1G1BE5SM2J7105616   GM          CRUZE                BURBANK                  CA
15103   1G1BE5SM2J7105860   GM          CRUZE                Atlanta                  GA
15104   1G1BE5SM2J7106104   GM          CRUZE                SAN DIEGO                CA
15105   1G1BE5SM2J7106135   GM          CRUZE                Riverside                CA
15106   1G1BE5SM2J7106183   GM          CRUZE                Fontana                  CA
15107   1G1BE5SM2J7106197   GM          CRUZE                BURBANK                  CA
15108   1G1BE5SM2J7106216   GM          CRUZE                NORTH PAC                CA
15109   1G1BE5SM2J7106233   GM          CRUZE                BURLINGAME               CA
15110   1G1BE5SM2J7106300   GM          CRUZE                SAN JOSE                 CA
15111   1G1BE5SM2J7106328   GM          CRUZE                BURBANK                  CA
15112   1G1BE5SM2J7106359   GM          CRUZE                ONTARIO                  CA
15113   1G1BE5SM2J7106376   GM          CRUZE                North Las Vegas          NV
15114   1G1BE5SM2J7106507   GM          CRUZE                NORTH PAC                CA
15115   1G1BE5SM2J7106698   GM          CRUZE                BURBANK                  CA
15116   1G1BE5SM2J7106703   GM          CRUZE                BURBANK                  CA
15117   1G1BE5SM2J7106863   GM          CRUZE                BURBANK                  CA
15118   1G1BE5SM2J7106877   GM          CRUZE                SOUTHEAST DST OFFC       OK
15119   1G1BE5SM2J7106930   GM          CRUZE                SAN DIEGO                CA
15120   1G1BE5SM2J7107124   GM          CRUZE                Rio Linda                CA
15121   1G1BE5SM2J7107530   GM          CRUZE                SAN JOSE                 CA
15122   1G1BE5SM2J7108063   GM          CRUZE                NORTH PAC                CA
15123   1G1BE5SM2J7108368   GM          CRUZE                BURBANK                  CA
15124   1G1BE5SM2J7108600   GM          CRUZE                LAS VEGAS                NV
15125   1G1BE5SM2J7108662   GM          CRUZE                Elkridge                 MD
15126   1G1BE5SM2J7108838   GM          CRUZE                LOS ANGELES              CA
15127   1G1BE5SM2J7108886   GM          CRUZE                DES PLAINES              IL
15128   1G1BE5SM2J7109018   GM          CRUZE                Tampa                    FL
15129   1G1BE5SM2J7109505   GM          CRUZE                RICHMOND                 VA
15130   1G1BE5SM2J7110427   GM          CRUZE                NORTH PAC                CA
15131   1G1BE5SM2J7110976   GM          CRUZE                BURBANK                  CA
15132   1G1BE5SM2J7111058   GM          CRUZE                BURBANK                  CA
15133   1G1BE5SM2J7111416   GM          CRUZE                BURBANK                  CA
15134   1G1BE5SM2J7112579   GM          CRUZE                ANAHEIM                  CA
15135   1G1BE5SM2J7112923   GM          CRUZE                CHICAGO                  IL
15136   1G1BE5SM2J7113120   GM          CRUZE                BURBANK                  CA
15137   1G1BE5SM2J7113585   GM          CRUZE                Marietta                 GA
15138   1G1BE5SM2J7114249   GM          CRUZE                BURBANK                  CA
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15139   1G1BE5SM2J7114266   GM          CRUZE                NEW ENGLAND DEALER       MA
15140   1G1BE5SM2J7115112   GM          CRUZE                DAYTONA BEACH            FL
15141   1G1BE5SM2J7117250   GM          CRUZE                North Dighton            MA
15142   1G1BE5SM2J7117605   GM          CRUZE                Elkridge                 MD
15143   1G1BE5SM2J7117703   GM          CRUZE                DAYTONA BEACH            FL
15144   1G1BE5SM2J7117748   GM          CRUZE                Tampa                    FL
15145   1G1BE5SM2J7118138   GM          CRUZE                Fredericksburg           VA
15146   1G1BE5SM2J7118155   GM          CRUZE                Elkridge                 MD
15147   1G1BE5SM2J7118608   GM          CRUZE                Atlanta                  GA
15148   1G1BE5SM2J7119550   GM          CRUZE                Manheim                  PA
15149   1G1BE5SM2J7120942   GM          CRUZE                San Diego                CA
15150   1G1BE5SM2J7121640   GM          CRUZE                Atlanta                  GA
15151   1G1BE5SM2J7122433   GM          CRUZE                DALLAS                   TX
15152   1G1BE5SM2J7122464   GM          CRUZE                Elkridge                 MD
15153   1G1BE5SM2J7122593   GM          CRUZE                North Las Vegas          NV
15154   1G1BE5SM2J7122867   GM          CRUZE                WEST PALM BEACH          FL
15155   1G1BE5SM2J7123033   GM          CRUZE                SAN DIEGO                CA
15156   1G1BE5SM2J7123047   GM          CRUZE                NORTH PAC                CA
15157   1G1BE5SM2J7123484   GM          CRUZE                Charlotte                NC
15158   1G1BE5SM2J7136848   GM          CRUZE                DANIA BEACH              FL
15159   1G1BE5SM2J7138194   GM          CRUZE                STERLING                 VA
15160   1G1BE5SM2J7139104   GM          CRUZE                JACKSONVILLE             FL
15161   1G1BE5SM2J7140723   GM          CRUZE                GLEN BURNIE              MD
15162   1G1BE5SM2J7151821   GM          CRUZE                SANTA ANA                CA
15163   1G1BE5SM2J7152239   GM          CRUZE                Fontana                  CA
15164   1G1BE5SM2J7153259   GM          CRUZE                N. Las Vegas             NV
15165   1G1BE5SM2J7153312   GM          CRUZE                Kahului                  HI
15166   1G1BE5SM2J7153827   GM          CRUZE                Hapeville                GA
15167   1G1BE5SM2J7154153   GM          CRUZE                Kahului                  HI
15168   1G1BE5SM2J7154394   GM          CRUZE                N MIAMI BEACH            FL
15169   1G1BE5SM2J7154671   GM          CRUZE                FT LAUDERDALE            FL
15170   1G1BE5SM2J7155416   GM          CRUZE                Smithtown                NY
15171   1G1BE5SM2J7155691   GM          CRUZE                Manheim                  PA
15172   1G1BE5SM2J7156128   GM          CRUZE                Norwalk                  CA
15173   1G1BE5SM2J7157151   GM          CRUZE                LOS ANGELES              CA
15174   1G1BE5SM2J7157165   GM          CRUZE                ONTARIO                  CA
15175   1G1BE5SM2J7157487   GM          CRUZE                NORTH HOLLYWOOD          CA
15176   1G1BE5SM2J7157666   GM          CRUZE                ROSEVILLE                CA
15177   1G1BE5SM2J7157926   GM          CRUZE                Fontana                  CA
15178   1G1BE5SM2J7158218   GM          CRUZE                BURBANK                  CA
15179   1G1BE5SM2J7158574   GM          CRUZE                KAHULUI                  HI
15180   1G1BE5SM2J7159093   GM          CRUZE                NORTH PAC                CA
15181   1G1BE5SM2J7163418   GM          CRUZE                LAKEWOOD                 WA
15182   1G1BE5SM2J7163967   GM          CRUZE                FORT MYERS               FL
15183   1G1BE5SM2J7164939   GM          CRUZE                BURBANK                  CA
15184   1G1BE5SM2J7164973   GM          CRUZE                BOSTON                   MA
15185   1G1BE5SM2J7165413   GM          CRUZE                Hayward                  CA
15186   1G1BE5SM2J7165427   GM          CRUZE                ONTARIO                  CA
15187   1G1BE5SM2J7165461   GM          CRUZE                LAS VEGAS                NV
15188   1G1BE5SM2J7166013   GM          CRUZE                NORTH PAC                CA
15189   1G1BE5SM2J7170496   GM          CRUZE                Pasadena                 CA
15190   1G1BE5SM2J7170742   GM          CRUZE                BURBANK                  CA
15191   1G1BE5SM2J7171390   GM          CRUZE                San Diego                CA
15192   1G1BE5SM2J7171633   GM          CRUZE                TRACY                    CA
15193   1G1BE5SM2J7172071   GM          CRUZE                Phoenix                  AZ
15194   1G1BE5SM2J7172300   GM          CRUZE                Rock Hill                SC
15195   1G1BE5SM2J7172846   GM          CRUZE                LOS ANGELES              CA
15196   1G1BE5SM2J7174404   GM          CRUZE                NEW ENGLAND DEALER       MA
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15197   1G1BE5SM2J7175729   GM          CRUZE                Tolleson                 AZ
15198   1G1BE5SM2J7176458   GM          CRUZE                BURBANK                  CA
15199   1G1BE5SM2J7176993   GM          CRUZE                Phoenix                  AZ
15200   1G1BE5SM2J7177514   GM          CRUZE                ORLANDO                  FL
15201   1G1BE5SM2J7177612   GM          CRUZE                North Las Vegas          NV
15202   1G1BE5SM2J7177738   GM          CRUZE                Costa Mesa               CA
15203   1G1BE5SM2J7178100   GM          CRUZE                SAN JOSE                 CA
15204   1G1BE5SM2J7180333   GM          CRUZE                BURBANK                  CA
15205   1G1BE5SM2J7182082   GM          CRUZE                NORTH PAC                CA
15206   1G1BE5SM2J7182826   GM          CRUZE                BURBANK                  CA
15207   1G1BE5SM2J7184446   GM          CRUZE                BURBANK                  CA
15208   1G1BE5SM2J7185130   GM          CRUZE                NORTH PAC                CA
15209   1G1BE5SM2J7185371   GM          CRUZE                BURBANK                  CA
15210   1G1BE5SM2J7186214   GM          CRUZE                WILMINGTON               CA
15211   1G1BE5SM2J7186990   GM          CRUZE                DES MOINES               IA
15212   1G1BE5SM2J7187055   GM          CRUZE                ROSEVILLE                CA
15213   1G1BE5SM2J7187539   GM          CRUZE                DENVER                   CO
15214   1G1BE5SM2J7187556   GM          CRUZE                BURBANK                  CA
15215   1G1BE5SM2J7188173   GM          CRUZE                BURBANK                  CA
15216   1G1BE5SM2J7188738   GM          CRUZE                Framingham               MA
15217   1G1BE5SM2J7189131   GM          CRUZE                Riverside                CA
15218   1G1BE5SM2J7189775   GM          CRUZE                BURBANK                  CA
15219   1G1BE5SM2J7190344   GM          CRUZE                NORTH PAC                CA
15220   1G1BE5SM2J7190358   GM          CRUZE                BURBANK                  CA
15221   1G1BE5SM2J7191350   GM          CRUZE                BURBANK                  CA
15222   1G1BE5SM2J7191686   GM          CRUZE                NORTH PAC                CA
15223   1G1BE5SM2J7191767   GM          CRUZE                NORTH PAC                CA
15224   1G1BE5SM2J7191798   GM          CRUZE                Riverside                CA
15225   1G1BE5SM2J7192062   GM          CRUZE                BURBANK                  CA
15226   1G1BE5SM2J7192143   GM          CRUZE                Salt Lake City           UT
15227   1G1BE5SM2J7192708   GM          CRUZE                BURBANK                  CA
15228   1G1BE5SM2J7192711   GM          CRUZE                SAN DIEGO                CA
15229   1G1BE5SM2J7194040   GM          CRUZE                WOODLAND HILLS           CA
15230   1G1BE5SM2J7196659   GM          CRUZE                Stockton                 CA
15231   1G1BE5SM2J7197553   GM          CRUZE                LAWNDALE                 CA
15232   1G1BE5SM2J7198542   GM          CRUZE                Philadelphia             PA
15233   1G1BE5SM2J7198637   GM          CRUZE                Los Angeles              CA
15234   1G1BE5SM2J7199366   GM          CRUZE                St. Louis                MO
15235   1G1BE5SM2J7199481   GM          CRUZE                Stockton                 CA
15236   1G1BE5SM2J7202329   GM          CRUZE                MORROW                   GA
15237   1G1BE5SM2J7203240   GM          CRUZE                Sacramento               CA
15238   1G1BE5SM2J7204517   GM          CRUZE                HAYWARD                  CA
15239   1G1BE5SM2J7205067   GM          CRUZE                SAN FRANCISCO            CA
15240   1G1BE5SM2J7205764   GM          CRUZE                Anaheim                  CA
15241   1G1BE5SM2J7206591   GM          CRUZE                Portland                 OR
15242   1G1BE5SM2J7208034   GM          CRUZE                BURBANK                  CA
15243   1G1BE5SM2J7208423   GM          CRUZE                Manheim                  PA
15244   1G1BE5SM2J7209863   GM          CRUZE                SAN JOSE                 CA
15245   1G1BE5SM2J7220541   GM          CRUZE                LAS VEGAS                NV
15246   1G1BE5SM2J7225335   GM          CRUZE                Tolleson                 AZ
15247   1G1BE5SM2J7225545   GM          CRUZE                Manheim                  PA
15248   1G1BE5SM2J7228333   GM          CRUZE                KNOXVILLE                TN
15249   1G1BE5SM2J7228459   GM          CRUZE                LOS ANGELES              CA
15250   1G1BE5SM2J7228705   GM          CRUZE                Englewood                CO
15251   1G1BE5SM2J7228719   GM          CRUZE                FRESNO                   CA
15252   1G1BE5SM2J7228784   GM          CRUZE                SAN JOSE                 CA
15253   1G1BE5SM2J7228896   GM          CRUZE                SAN FRANCISCO            CA
15254   1G1BE5SM2J7229255   GM          CRUZE                BURBANK                  CA
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15255   1G1BE5SM2J7230373   GM          CRUZE                LOS ANGELES              CA
15256   1G1BE5SM2J7230552   GM          CRUZE                Tolleson                 AZ
15257   1G1BE5SM2J7231183   GM          CRUZE                BURBANK                  CA
15258   1G1BE5SM2J7232219   GM          CRUZE                SAN FRANCISCO            CA
15259   1G1BE5SM2J7232639   GM          CRUZE                Denver                   CO
15260   1G1BE5SM2J7233158   GM          CRUZE                BURBANK                  CA
15261   1G1BE5SM2J7233192   GM          CRUZE                BURLINGAME               CA
15262   1G1BE5SM2J7237324   GM          CRUZE                LOS ANGELES              CA
15263   1G1BE5SM2J7237534   GM          CRUZE                BURBANK                  CA
15264   1G1BE5SM2J7237615   GM          CRUZE                Newark                   NJ
15265   1G1BE5SM2J7237825   GM          CRUZE                Detroit                  MI
15266   1G1BE5SM2J7238280   GM          CRUZE                SAN DIEGO                CA
15267   1G1BE5SM2J7238571   GM          CRUZE                LOS ANGELES              CA
15268   1G1BE5SM2J7238702   GM          CRUZE                BURBANK                  CA
15269   1G1BE5SM2J7238778   GM          CRUZE                Sacramento               CA
15270   1G1BE5SM2J7239185   GM          CRUZE                Irving                   TX
15271   1G1BE5SM2J7239333   GM          CRUZE                NORTH PAC                CA
15272   1G1BE5SM2J7239395   GM          CRUZE                PLEASANTON               CA
15273   1G1BE5SM2J7239509   GM          CRUZE                Houston                  TX
15274   1G1BE5SM2J7239588   GM          CRUZE                Riverside                CA
15275   1G1BE5SM2J7239879   GM          CRUZE                BURBANK                  CA
15276   1G1BE5SM2J7240210   GM          CRUZE                RENO                     NV
15277   1G1BE5SM2J7240885   GM          CRUZE                Torrance                 CA
15278   1G1BE5SM2J7242264   GM          CRUZE                LOS ANGELES              CA
15279   1G1BE5SM2J7242443   GM          CRUZE                BURBANK                  CA
15280   1G1BE5SM2J7243754   GM          CRUZE                Costa Mesa               CA
15281   1G1BE5SM2J7243771   GM          CRUZE                NORTH PAC                CA
15282   1G1BE5SM2J7243785   GM          CRUZE                BURBANK                  CA
15283   1G1BE5SM2K7106413   GM          CRUZE                LAS VEGAS                NV
15284   1G1BE5SM2K7107285   GM          CRUZE                NORTH PAC                CA
15285   1G1BE5SM2K7107559   GM          CRUZE                SAN JOSE                 CA
15286   1G1BE5SM2K7107934   GM          CRUZE                Coraopolis               PA
15287   1G1BE5SM2K7108288   GM          CRUZE                TAMPA                    FL
15288   1G1BE5SM2K7108646   GM          CRUZE                Tampa                    FL
15289   1G1BE5SM2K7108792   GM          CRUZE                FORT LAUDERDALE          FL
15290   1G1BE5SM2K7108999   GM          CRUZE                TAMPA                    FL
15291   1G1BE5SM2K7109148   GM          CRUZE                WEST PALM BEACH          FL
15292   1G1BE5SM2K7109571   GM          CRUZE                ORLANDO                  FL
15293   1G1BE5SM2K7110395   GM          CRUZE                FORT MYERS               FL
15294   1G1BE5SM2K7110803   GM          CRUZE                SAINT PAUL               MN
15295   1G1BE5SM2K7111319   GM          CRUZE                TAMPA                    FL
15296   1G1BE5SM2K7112082   GM          CRUZE                Tampa                    FL
15297   1G1BE5SM2K7112129   GM          CRUZE                Marietta                 GA
15298   1G1BE5SM2K7112745   GM          CRUZE                FORT LAUDERDALE          FL
15299   1G1BE5SM2K7112874   GM          CRUZE                MIAMI                    FL
15300   1G1BE5SM2K7112907   GM          CRUZE                Houston                  TX
15301   1G1BE5SM2K7112969   GM          CRUZE                DETROIT                  MI
15302   1G1BE5SM2K7114348   GM          CRUZE                PHILADELPHIA             PA
15303   1G1BE5SM2K7114527   GM          CRUZE                WEST PALM BEACH          FL
15304   1G1BE5SM2K7114544   GM          CRUZE                NEW BERN                 NC
15305   1G1BE5SM2K7114558   GM          CRUZE                JACKSONVILLE             FL
15306   1G1BE5SM2K7114589   GM          CRUZE                FRESNO                   CA
15307   1G1BE5SM2K7114608   GM          CRUZE                NORTH HOLLYWOOD          CA
15308   1G1BE5SM2K7114625   GM          CRUZE                St. Louis                MO
15309   1G1BE5SM2K7114706   GM          CRUZE                BURBANK                  CA
15310   1G1BE5SM2K7115080   GM          CRUZE                SAVANNAH                 GA
15311   1G1BE5SM2K7115256   GM          CRUZE                PENSACOLA                FL
15312   1G1BE5SM2K7115452   GM          CRUZE                FAYETTEVILLE             GA
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15313   1G1BE5SM2K7115824   GM          CRUZE                PORTLAND                 OR
15314   1G1BE5SM2K7115936   GM          CRUZE                ORLANDO                  FL
15315   1G1BE5SM2K7115953   GM          CRUZE                FORT LAUDERDALE          FL
15316   1G1BE5SM2K7116102   GM          CRUZE                WEST PALM BEACH          FL
15317   1G1BE5SM2K7116536   GM          CRUZE                Miami                    FL
15318   1G1BE5SM2K7116567   GM          CRUZE                North Billerica          MA
15319   1G1BE5SM2K7116844   GM          CRUZE                DANIA BEACH              FL
15320   1G1BE5SM2K7116861   GM          CRUZE                ORLANDO                  FL
15321   1G1BE5SM2K7117105   GM          CRUZE                MYRTLE BEACH             US
15322   1G1BE5SM2K7117198   GM          CRUZE                TAMPA                    FL
15323   1G1BE5SM2K7117623   GM          CRUZE                ORLANDO                  FL
15324   1G1BE5SM2K7117895   GM          CRUZE                Woodhaven                MI
15325   1G1BE5SM2K7118027   GM          CRUZE                Riverside                CA
15326   1G1BE5SM2K7118240   GM          CRUZE                WEST COLUMBIA            SC
15327   1G1BE5SM2K7118299   GM          CRUZE                Tulsa                    OK
15328   1G1BE5SM2K7118867   GM          CRUZE                ORLANDO                  FL
15329   1G1BE5SM2K7119095   GM          CRUZE                FORT MYERS               FL
15330   1G1BE5SM2K7119226   GM          CRUZE                DANIA BEACH              FL
15331   1G1BE5SM2K7119453   GM          CRUZE                ORLANDO                  FL
15332   1G1BE5SM2K7119601   GM          CRUZE                Ft. Myers                FL
15333   1G1BE5SM2K7119873   GM          CRUZE                TAMPA                    FL
15334   1G1BE5SM2K7120103   GM          CRUZE                WEST PALM BEACH          FL
15335   1G1BE5SM2K7120280   GM          CRUZE                CHICAGO                  IL
15336   1G1BE5SM2K7120375   GM          CRUZE                FORT LAUDERDALE          FL
15337   1G1BE5SM2K7120456   GM          CRUZE                ORLANDO                  FL
15338   1G1BE5SM2K7120604   GM          CRUZE                TAMPA                    FL
15339   1G1BE5SM2K7120733   GM          CRUZE                ATLANTA                  GA
15340   1G1BE5SM2K7120912   GM          CRUZE                DALLAS                   TX
15341   1G1BE5SM2K7120943   GM          CRUZE                JACKSONVILLE             FL
15342   1G1BE5SM2K7121042   GM          CRUZE                MIAMI                    FL
15343   1G1BE5SM2K7121526   GM          CRUZE                TAMPA                    US
15344   1G1BE5SM2K7121932   GM          CRUZE                FORT MYERS               FL
15345   1G1BE5SM2K7122126   GM          CRUZE                FORT LAUDERDALE          FL
15346   1G1BE5SM2K7122286   GM          CRUZE                TITUSVILLE               FL
15347   1G1BE5SM2K7122319   GM          CRUZE                NEW ORLEANS              LA
15348   1G1BE5SM2K7122482   GM          CRUZE                FORT LAUDERDALE          FL
15349   1G1BE5SM2K7122496   GM          CRUZE                FORT LAUDERDALE          FL
15350   1G1BE5SM2K7122630   GM          CRUZE                FORT MYERS               FL
15351   1G1BE5SM2K7123115   GM          CRUZE                JACKSONVILLE             FL
15352   1G1BE5SM2K7123387   GM          CRUZE                FORT LAUDERDALE          FL
15353   1G1BE5SM2K7123423   GM          CRUZE                FORT LAUDERDALE          FL
15354   1G1BE5SM2K7123468   GM          CRUZE                Warr Acres               OK
15355   1G1BE5SM2K7124071   GM          CRUZE                ORLANDO                  FL
15356   1G1BE5SM2K7124264   GM          CRUZE                TAMPA                    FL
15357   1G1BE5SM2K7124300   GM          CRUZE                FORT MYERS               FL
15358   1G1BE5SM2K7124507   GM          CRUZE                FORT LAUDERDALE          FL
15359   1G1BE5SM2K7124538   GM          CRUZE                TAMPA                    FL
15360   1G1BE5SM2K7124653   GM          CRUZE                ORLANDO                  FL
15361   1G1BE5SM2K7124815   GM          CRUZE                MIAMI                    FL
15362   1G1BE5SM2K7139993   GM          CRUZE                FORT LAUDERDALE          FL
15363   1G1BE5SM2K7140271   GM          CRUZE                Tulsa                    OK
15364   1G1BE5SM2K7140481   GM          CRUZE                ORLANDO                  FL
15365   1G1BE5SM2K7140867   GM          CRUZE                JACKSONVILLE             FL
15366   1G1BE5SM2K7141274   GM          CRUZE                FORT MYERS               FL
15367   1G1BE5SM2K7141291   GM          CRUZE                Houston                  TX
15368   1G1BE5SM2K7141338   GM          CRUZE                ORLANDO                  FL
15369   1G1BE5SM2K7141372   GM          CRUZE                SARASOTA                 FL
15370   1G1BE5SM2K7144059   GM          CRUZE                FORT LAUDERDALE          FL
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15371   1G1BE5SM2K7144319   GM          CRUZE                ELKRIDGE                 MD
15372   1G1BE5SM2K7144336   GM          CRUZE                TAMPA                    FL
15373   1G1BE5SM2K7144353   GM          CRUZE                Latham                   NY
15374   1G1BE5SM2K7144398   GM          CRUZE                St. Louis                MO
15375   1G1BE5SM2K7144448   GM          CRUZE                Springfield              MO
15376   1G1BE5SM2K7144451   GM          CRUZE                FORT LAUDERDALE          FL
15377   1G1BE5SM2K7144515   GM          CRUZE                TAMPA                    FL
15378   1G1BE5SM2K7144661   GM          CRUZE                Austin                   TX
15379   1G1BE5SM2K7144899   GM          CRUZE                MIAMI                    FL
15380   1G1BE5SM2K7145308   GM          CRUZE                FORT MYERS               FL
15381   1G1BE5SM2K7145325   GM          CRUZE                PITTSBURGH               PA
15382   1G1BE5SM2K7145356   GM          CRUZE                Tampa                    FL
15383   1G1BE5SM2K7145471   GM          CRUZE                ORLANDO                  FL
15384   1G1BE5SM2K7145566   GM          CRUZE                FORT MYERS               FL
15385   1G1BE5SM2K7145776   GM          CRUZE                JACKSONVILLE             FL
15386   1G1BE5SM2K7145891   GM          CRUZE                Dallas                   TX
15387   1G1BE5SM2K7145969   GM          CRUZE                ANGOLA                   NY
15388   1G1BE5SM2K7146247   GM          CRUZE                SAVANNAH                 GA
15389   1G1BE5SM2K7146491   GM          CRUZE                TAMPA                    FL
15390   1G1BE5SM2K7146538   GM          CRUZE                Hebron                   KY
15391   1G1BE5SM2K7146698   GM          CRUZE                ORLANDO                  FL
15392   1G1BE5SM2K7146717   GM          CRUZE                FORT LAUDERDALE          FL
15393   1G1BE5SM2K7146927   GM          CRUZE                TAMPA                    FL
15394   1G1BE5SM2K7146992   GM          CRUZE                Charleston               WV
15395   1G1BE5SM2K7147690   GM          CRUZE                ORLANDO                  FL
15396   1G1BE5SM3G7245652   GM          CRUZE                DES PLAINES              IL
15397   1G1BE5SM3H7169495   GM          CRUZE                SAINT PAUL               MN
15398   1G1BE5SM3H7217495   GM          CRUZE                LOS ANGELES              CA
15399   1G1BE5SM3H7250819   GM          CRUZE                Ontario                  CA
15400   1G1BE5SM3H7265630   GM          CRUZE                INDIANAPOLIS             IN
15401   1G1BE5SM3J7103745   GM          CRUZE                SANTA ANA                CA
15402   1G1BE5SM3J7105804   GM          CRUZE                Las Vegas                NV
15403   1G1BE5SM3J7105933   GM          CRUZE                BURLINGAME               CA
15404   1G1BE5SM3J7106063   GM          CRUZE                ONTARIO                  CA
15405   1G1BE5SM3J7106659   GM          CRUZE                BURBANK                  CA
15406   1G1BE5SM3J7106886   GM          CRUZE                Elkridge                 MD
15407   1G1BE5SM3J7106967   GM          CRUZE                BURBANK                  CA
15408   1G1BE5SM3J7106984   GM          CRUZE                North Las Vegas          NV
15409   1G1BE5SM3J7107634   GM          CRUZE                Costa Mesa               CA
15410   1G1BE5SM3J7108024   GM          CRUZE                SAN DIEGO                CA
15411   1G1BE5SM3J7108069   GM          CRUZE                LOS ANGELES              CA
15412   1G1BE5SM3J7108122   GM          CRUZE                SAN FRANCISCO            CA
15413   1G1BE5SM3J7108234   GM          CRUZE                Hayward                  CA
15414   1G1BE5SM3J7108296   GM          CRUZE                DANIA BEACH              FL
15415   1G1BE5SM3J7108413   GM          CRUZE                Elk Grove                CA
15416   1G1BE5SM3J7108542   GM          CRUZE                GLASSBORO                NJ
15417   1G1BE5SM3J7108685   GM          CRUZE                LOS ANGELES              CA
15418   1G1BE5SM3J7109299   GM          CRUZE                NORTH PAC                CA
15419   1G1BE5SM3J7109304   GM          CRUZE                SAN JOSE                 CA
15420   1G1BE5SM3J7109349   GM          CRUZE                NORTH PAC                CA
15421   1G1BE5SM3J7109383   GM          CRUZE                Rio Linda                CA
15422   1G1BE5SM3J7110453   GM          CRUZE                LOS ANGELES              CA
15423   1G1BE5SM3J7110680   GM          CRUZE                NORTH PAC                CA
15424   1G1BE5SM3J7111070   GM          CRUZE                Rio Linda                CA
15425   1G1BE5SM3J7111893   GM          CRUZE                SANTA ANA                CA
15426   1G1BE5SM3J7112283   GM          CRUZE                NOTTINGHAM               MD
15427   1G1BE5SM3J7112607   GM          CRUZE                BURBANK                  CA
15428   1G1BE5SM3J7112865   GM          CRUZE                LOS ANGELES              CA
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15429   1G1BE5SM3J7113644   GM          CRUZE                Phoenix                  AZ
15430   1G1BE5SM3J7113725   GM          CRUZE                Davie                    FL
15431   1G1BE5SM3J7114177   GM          CRUZE                BURBANK                  CA
15432   1G1BE5SM3J7114938   GM          CRUZE                Richmond                 VA
15433   1G1BE5SM3J7115667   GM          CRUZE                Atlanta                  GA
15434   1G1BE5SM3J7115958   GM          CRUZE                BURBANK                  CA
15435   1G1BE5SM3J7115961   GM          CRUZE                BURBANK                  CA
15436   1G1BE5SM3J7116642   GM          CRUZE                NORTH HOLLYWOOD          CA
15437   1G1BE5SM3J7117600   GM          CRUZE                HANOVER                  MD
15438   1G1BE5SM3J7118648   GM          CRUZE                Elkridge                 MD
15439   1G1BE5SM3J7119203   GM          CRUZE                STERLING                 VA
15440   1G1BE5SM3J7119704   GM          CRUZE                Massapequa               NY
15441   1G1BE5SM3J7121324   GM          CRUZE                Lynn                     MA
15442   1G1BE5SM3J7121436   GM          CRUZE                NORTH PAC                CA
15443   1G1BE5SM3J7121808   GM          CRUZE                LAS VEGAS                NV
15444   1G1BE5SM3J7121856   GM          CRUZE                COLLEGE PARK             GA
15445   1G1BE5SM3J7122036   GM          CRUZE                NORTH PAC                CA
15446   1G1BE5SM3J7122411   GM          CRUZE                Lake Elsinore            CA
15447   1G1BE5SM3J7123509   GM          CRUZE                FRESNO                   CA
15448   1G1BE5SM3J7124076   GM          CRUZE                Charlotte                NC
15449   1G1BE5SM3J7135658   GM          CRUZE                CHARLOTTE                US
15450   1G1BE5SM3J7138544   GM          CRUZE                DANIA BEACH              FL
15451   1G1BE5SM3J7139645   GM          CRUZE                DES MOINES               IA
15452   1G1BE5SM3J7140181   GM          CRUZE                FORT LAUDERDALE          FL
15453   1G1BE5SM3J7152539   GM          CRUZE                KAUAI                    HI
15454   1G1BE5SM3J7152606   GM          CRUZE                DAYTONA BEACH            FL
15455   1G1BE5SM3J7152766   GM          CRUZE                Las Vegas                NV
15456   1G1BE5SM3J7154663   GM          CRUZE                LIHUE AP KAUAI           HI
15457   1G1BE5SM3J7155022   GM          CRUZE                Kahului                  HI
15458   1G1BE5SM3J7155375   GM          CRUZE                Miami                    FL
15459   1G1BE5SM3J7155697   GM          CRUZE                Statesville              NC
15460   1G1BE5SM3J7156218   GM          CRUZE                DANIA BEACH              FL
15461   1G1BE5SM3J7156896   GM          CRUZE                PICO RIVERA              CA
15462   1G1BE5SM3J7157109   GM          CRUZE                Fontana                  CA
15463   1G1BE5SM3J7157949   GM          CRUZE                PASADENA                 CA
15464   1G1BE5SM3J7158843   GM          CRUZE                Kahului                  HI
15465   1G1BE5SM3J7159099   GM          CRUZE                TRACY                    CA
15466   1G1BE5SM3J7163220   GM          CRUZE                BURBANK                  CA
15467   1G1BE5SM3J7163668   GM          CRUZE                LAS VEGAS                NV
15468   1G1BE5SM3J7164190   GM          CRUZE                Rock Hill                SC
15469   1G1BE5SM3J7164383   GM          CRUZE                Dallas                   TX
15470   1G1BE5SM3J7164626   GM          CRUZE                DFW AIRPORT              TX
15471   1G1BE5SM3J7164738   GM          CRUZE                PLEASANTON               CA
15472   1G1BE5SM3J7164920   GM          CRUZE                Elkridge                 MD
15473   1G1BE5SM3J7165047   GM          CRUZE                SOUTHEAST DST OFFC       OK
15474   1G1BE5SM3J7165680   GM          CRUZE                Mira Loma                CA
15475   1G1BE5SM3J7165775   GM          CRUZE                Rio Linda                CA
15476   1G1BE5SM3J7166358   GM          CRUZE                Dania Beach              FL
15477   1G1BE5SM3J7170247   GM          CRUZE                BURBANK                  CA
15478   1G1BE5SM3J7170426   GM          CRUZE                MEDINA                   OH
15479   1G1BE5SM3J7170880   GM          CRUZE                BURBANK                  CA
15480   1G1BE5SM3J7171415   GM          CRUZE                ORLANDO                  FL
15481   1G1BE5SM3J7171981   GM          CRUZE                Sacramento               CA
15482   1G1BE5SM3J7172161   GM          CRUZE                CHINO                    CA
15483   1G1BE5SM3J7172645   GM          CRUZE                Stockton                 CA
15484   1G1BE5SM3J7172869   GM          CRUZE                BURBANK                  CA
15485   1G1BE5SM3J7172953   GM          CRUZE                SPRINGFIELD              VA
15486   1G1BE5SM3J7173293   GM          CRUZE                DETROIT                  MI
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15487   1G1BE5SM3J7173410   GM          CRUZE                WEST CENTRAL DEALE       CO
15488   1G1BE5SM3J7173939   GM          CRUZE                SAN JOSE                 CA
15489   1G1BE5SM3J7174105   GM          CRUZE                WEST PALM BEACH          FL
15490   1G1BE5SM3J7174525   GM          CRUZE                San Diego                CA
15491   1G1BE5SM3J7175691   GM          CRUZE                MIAMI                    FL
15492   1G1BE5SM3J7177523   GM          CRUZE                SYRACUSE                 NY
15493   1G1BE5SM3J7177540   GM          CRUZE                Fredericksburg           VA
15494   1G1BE5SM3J7177926   GM          CRUZE                NORTH PAC                CA
15495   1G1BE5SM3J7181748   GM          CRUZE                OAKLAND                  CA
15496   1G1BE5SM3J7183726   GM          CRUZE                BURBANK                  CA
15497   1G1BE5SM3J7183807   GM          CRUZE                Denver                   CO
15498   1G1BE5SM3J7184097   GM          CRUZE                PHOENIX                  AZ
15499   1G1BE5SM3J7184634   GM          CRUZE                LOS ANGELES              CA
15500   1G1BE5SM3J7185038   GM          CRUZE                SAN JOSE                 CA
15501   1G1BE5SM3J7185685   GM          CRUZE                BURBANK                  CA
15502   1G1BE5SM3J7186609   GM          CRUZE                SAN FRANCISCO            CA
15503   1G1BE5SM3J7187422   GM          CRUZE                BURBANK                  CA
15504   1G1BE5SM3J7188179   GM          CRUZE                WILMINGTON               CA
15505   1G1BE5SM3J7189056   GM          CRUZE                NORTH PAC                CA
15506   1G1BE5SM3J7189123   GM          CRUZE                BURBANK                  CA
15507   1G1BE5SM3J7189350   GM          CRUZE                SANTA ANA                CA
15508   1G1BE5SM3J7189381   GM          CRUZE                BURBANK                  CA
15509   1G1BE5SM3J7189610   GM          CRUZE                NORTH PAC                CA
15510   1G1BE5SM3J7189915   GM          CRUZE                BURBANK                  CA
15511   1G1BE5SM3J7190157   GM          CRUZE                Lake Elsinore            CA
15512   1G1BE5SM3J7190594   GM          CRUZE                BURBANK                  CA
15513   1G1BE5SM3J7190871   GM          CRUZE                BURBANK                  CA
15514   1G1BE5SM3J7190921   GM          CRUZE                North Las Vegas          NV
15515   1G1BE5SM3J7191244   GM          CRUZE                PICO RIVERA              CA
15516   1G1BE5SM3J7191700   GM          CRUZE                BURBANK                  CA
15517   1G1BE5SM3J7192216   GM          CRUZE                NORTH PAC                CA
15518   1G1BE5SM3J7192409   GM          CRUZE                Norwalk                  CA
15519   1G1BE5SM3J7192412   GM          CRUZE                WEST HARTFORD            CT
15520   1G1BE5SM3J7192636   GM          CRUZE                BURBANK                  CA
15521   1G1BE5SM3J7192801   GM          CRUZE                BURBANK                  CA
15522   1G1BE5SM3J7193690   GM          CRUZE                BURBANK                  CA
15523   1G1BE5SM3J7195424   GM          CRUZE                BURBANK                  CA
15524   1G1BE5SM3J7195598   GM          CRUZE                Oakland                  CA
15525   1G1BE5SM3J7196895   GM          CRUZE                NORTH PAC                CA
15526   1G1BE5SM3J7199215   GM          CRUZE                NORTH PAC                CA
15527   1G1BE5SM3J7199408   GM          CRUZE                HANOVER                  MD
15528   1G1BE5SM3J7201111   GM          CRUZE                LOMBARD                  IL
15529   1G1BE5SM3J7202680   GM          CRUZE                FT LAUDERDALE            FL
15530   1G1BE5SM3J7203053   GM          CRUZE                CHARLOTTE                NC
15531   1G1BE5SM3J7203165   GM          CRUZE                BURBANK                  CA
15532   1G1BE5SM3J7204364   GM          CRUZE                ONTARIO                  CA
15533   1G1BE5SM3J7205904   GM          CRUZE                BURBANK                  CA
15534   1G1BE5SM3J7205921   GM          CRUZE                SANTA CLARA              CA
15535   1G1BE5SM3J7206079   GM          CRUZE                BURBANK                  CA
15536   1G1BE5SM3J7206213   GM          CRUZE                Santa Clara              CA
15537   1G1BE5SM3J7206664   GM          CRUZE                DENVER                   CO
15538   1G1BE5SM3J7209936   GM          CRUZE                LOS ANGELES              CA
15539   1G1BE5SM3J7209967   GM          CRUZE                Norwalk                  CA
15540   1G1BE5SM3J7209984   GM          CRUZE                BURBANK                  CA
15541   1G1BE5SM3J7210181   GM          CRUZE                Manheim                  PA
15542   1G1BE5SM3J7211671   GM          CRUZE                Lake Elsinore            CA
15543   1G1BE5SM3J7222198   GM          CRUZE                Fresno                   CA
15544   1G1BE5SM3J7222489   GM          CRUZE                BURBANK                  CA
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                 Case 20-11218-MFW
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15545   1G1BE5SM3J7223481   GM          CRUZE                BURBANK                  CA
15546   1G1BE5SM3J7224095   GM          CRUZE                NORTH PAC                CA
15547   1G1BE5SM3J7225456   GM          CRUZE                SPRINGFIELD              VA
15548   1G1BE5SM3J7228406   GM          CRUZE                LOS ANGELES              CA
15549   1G1BE5SM3J7228714   GM          CRUZE                Hamilton                 OH
15550   1G1BE5SM3J7229958   GM          CRUZE                COLUMBUS                 OH
15551   1G1BE5SM3J7230236   GM          CRUZE                PLEASANTON               CA
15552   1G1BE5SM3J7230639   GM          CRUZE                Pasadena                 CA
15553   1G1BE5SM3J7231368   GM          CRUZE                San Antonio              TX
15554   1G1BE5SM3J7231757   GM          CRUZE                Chicago                  IL
15555   1G1BE5SM3J7231922   GM          CRUZE                Riverside                CA
15556   1G1BE5SM3J7237266   GM          CRUZE                INGLEWOOD                CA
15557   1G1BE5SM3J7237414   GM          CRUZE                Santa Clara              CA
15558   1G1BE5SM3J7238000   GM          CRUZE                Tolleson                 AZ
15559   1G1BE5SM3J7238210   GM          CRUZE                BURBANK                  CA
15560   1G1BE5SM3J7238272   GM          CRUZE                BURBANK                  CA
15561   1G1BE5SM3J7238806   GM          CRUZE                LOS ANGELES AP           CA
15562   1G1BE5SM3J7239096   GM          CRUZE                LOS ANGELES              CA
15563   1G1BE5SM3J7239146   GM          CRUZE                BURBANK                  CA
15564   1G1BE5SM3J7240619   GM          CRUZE                LOS ANGELES              CA
15565   1G1BE5SM3J7241589   GM          CRUZE                Riverside                CA
15566   1G1BE5SM3J7243875   GM          CRUZE                SEATAC                   WA
15567   1G1BE5SM3J7243973   GM          CRUZE                BURBANK                  CA
15568   1G1BE5SM3K7107568   GM          CRUZE                PHOENIX                  AZ
15569   1G1BE5SM3K7108137   GM          CRUZE                WEST PALM BEACH          FL
15570   1G1BE5SM3K7108154   GM          CRUZE                FORT MYERS               FL
15571   1G1BE5SM3K7108221   GM          CRUZE                Stone Mountain           GA
15572   1G1BE5SM3K7108431   GM          CRUZE                PHOENIX                  AZ
15573   1G1BE5SM3K7108834   GM          CRUZE                FORT MYERS               FL
15574   1G1BE5SM3K7109322   GM          CRUZE                NEW YORK CITY            NY
15575   1G1BE5SM3K7109353   GM          CRUZE                MILWAUKEE                WI
15576   1G1BE5SM3K7109854   GM          CRUZE                FRESNO                   CA
15577   1G1BE5SM3K7109935   GM          CRUZE                SAN ANTONIO              TX
15578   1G1BE5SM3K7109997   GM          CRUZE                TAMPA                    FL
15579   1G1BE5SM3K7110034   GM          CRUZE                JACKSONVILLE             FL
15580   1G1BE5SM3K7110115   GM          CRUZE                FORT MYERS               FL
15581   1G1BE5SM3K7110891   GM          CRUZE                BALTIMORE                MD
15582   1G1BE5SM3K7111183   GM          CRUZE                ORLANDO                  FL
15583   1G1BE5SM3K7111958   GM          CRUZE                SANTA ANA                CA
15584   1G1BE5SM3K7112009   GM          CRUZE                TAMPA                    FL
15585   1G1BE5SM3K7112656   GM          CRUZE                TAMPA                    FL
15586   1G1BE5SM3K7112818   GM          CRUZE                MEDINA                   OH
15587   1G1BE5SM3K7112947   GM          CRUZE                Slidell                  LA
15588   1G1BE5SM3K7113113   GM          CRUZE                Des Moines               IA
15589   1G1BE5SM3K7113323   GM          CRUZE                Elgin                    IL
15590   1G1BE5SM3K7114035   GM          CRUZE                PHOENIX                  AZ
15591   1G1BE5SM3K7114360   GM          CRUZE                MIAMI                    FL
15592   1G1BE5SM3K7114908   GM          CRUZE                WEST PALM BEACH          FL
15593   1G1BE5SM3K7114973   GM          CRUZE                DFW AIRPORT              TX
15594   1G1BE5SM3K7115668   GM          CRUZE                Warminster               PA
15595   1G1BE5SM3K7116092   GM          CRUZE                FORT LAUDERDALE          FL
15596   1G1BE5SM3K7116352   GM          CRUZE                Johnston                 RI
15597   1G1BE5SM3K7116464   GM          CRUZE                TAMPA                    FL
15598   1G1BE5SM3K7116559   GM          CRUZE                FORT MYERS               FL
15599   1G1BE5SM3K7116707   GM          CRUZE                ORLANDO                  FL
15600   1G1BE5SM3K7116772   GM          CRUZE                MEDINA                   OH
15601   1G1BE5SM3K7117064   GM          CRUZE                ORLANDO                  FL
15602   1G1BE5SM3K7117260   GM          CRUZE                TAMPA                    US
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15603   1G1BE5SM3K7117582   GM          CRUZE                TAMPA                    FL
15604   1G1BE5SM3K7117646   GM          CRUZE                FORT LAUDERDALE          FL
15605   1G1BE5SM3K7117713   GM          CRUZE                TAMPA                    FL
15606   1G1BE5SM3K7118246   GM          CRUZE                ORLANDO                  FL
15607   1G1BE5SM3K7118358   GM          CRUZE                LAS VEGAS                NV
15608   1G1BE5SM3K7118408   GM          CRUZE                MIAMI                    FL
15609   1G1BE5SM3K7118537   GM          CRUZE                JACKSONVILLE             FL
15610   1G1BE5SM3K7118540   GM          CRUZE                MIAMI                    FL
15611   1G1BE5SM3K7118764   GM          CRUZE                ORLANDO                  FL
15612   1G1BE5SM3K7118800   GM          CRUZE                TAMPA                    FL
15613   1G1BE5SM3K7118814   GM          CRUZE                ORLANDO                  FL
15614   1G1BE5SM3K7119008   GM          CRUZE                FORT MYERS               FL
15615   1G1BE5SM3K7119042   GM          CRUZE                SARASOTA                 FL
15616   1G1BE5SM3K7119171   GM          CRUZE                WEST PALM BEACH          FL
15617   1G1BE5SM3K7119302   GM          CRUZE                TAMPA                    FL
15618   1G1BE5SM3K7119347   GM          CRUZE                WOODSON TERRACE          MO
15619   1G1BE5SM3K7119381   GM          CRUZE                FORT LAUDERDALE          FL
15620   1G1BE5SM3K7119574   GM          CRUZE                SARASOTA                 FL
15621   1G1BE5SM3K7119722   GM          CRUZE                TAMPA                    FL
15622   1G1BE5SM3K7119803   GM          CRUZE                FORT MYERS               FL
15623   1G1BE5SM3K7119834   GM          CRUZE                ORLANDO                  FL
15624   1G1BE5SM3K7119980   GM          CRUZE                ORLANDO                  FL
15625   1G1BE5SM3K7120093   GM          CRUZE                FORT MYERS               FL
15626   1G1BE5SM3K7120160   GM          CRUZE                FORT LAUDERDALE          FL
15627   1G1BE5SM3K7120563   GM          CRUZE                ORLANDO                  FL
15628   1G1BE5SM3K7120725   GM          CRUZE                WEST PALM BEACH          FL
15629   1G1BE5SM3K7120756   GM          CRUZE                CHICAGO                  IL
15630   1G1BE5SM3K7120918   GM          CRUZE                ORLANDO                  FL
15631   1G1BE5SM3K7120921   GM          CRUZE                FORT LAUDERDALE          FL
15632   1G1BE5SM3K7121051   GM          CRUZE                FORT LAUDERDALE          FL
15633   1G1BE5SM3K7121115   GM          CRUZE                ORLANDO                  FL
15634   1G1BE5SM3K7121132   GM          CRUZE                FORT LAUDERDALE          FL
15635   1G1BE5SM3K7121163   GM          CRUZE                Newark                   NJ
15636   1G1BE5SM3K7121471   GM          CRUZE                ORLANDO                  FL
15637   1G1BE5SM3K7121678   GM          CRUZE                FORT MYERS               FL
15638   1G1BE5SM3K7121907   GM          CRUZE                FORT MYERS               FL
15639   1G1BE5SM3K7122684   GM          CRUZE                FORT MYERS               FL
15640   1G1BE5SM3K7123284   GM          CRUZE                WEST PALM BEACH          FL
15641   1G1BE5SM3K7123317   GM          CRUZE                FORT MYERS               FL
15642   1G1BE5SM3K7123589   GM          CRUZE                FORT MYERS               FL
15643   1G1BE5SM3K7123947   GM          CRUZE                ORLANDO                  FL
15644   1G1BE5SM3K7124144   GM          CRUZE                TALLAHASSEE              FL
15645   1G1BE5SM3K7124175   GM          CRUZE                FORT MYERS               FL
15646   1G1BE5SM3K7124404   GM          CRUZE                PHOENIX                  AZ
15647   1G1BE5SM3K7124774   GM          CRUZE                MIAMI                    FL
15648   1G1BE5SM3K7124970   GM          CRUZE                TAMPA                    FL
15649   1G1BE5SM3K7125388   GM          CRUZE                FORT MYERS               FL
15650   1G1BE5SM3K7125584   GM          CRUZE                DALLAS                   TX
15651   1G1BE5SM3K7125679   GM          CRUZE                Jacksonville             FL
15652   1G1BE5SM3K7126279   GM          CRUZE                DAVIE                    FL
15653   1G1BE5SM3K7139288   GM          CRUZE                TAMPA                    FL
15654   1G1BE5SM3K7139291   GM          CRUZE                JACKSONVILLE             FL
15655   1G1BE5SM3K7140828   GM          CRUZE                TAMPA                    FL
15656   1G1BE5SM3K7141381   GM          CRUZE                FORT LAUDERDALE          FL
15657   1G1BE5SM3K7142238   GM          CRUZE                ORLANDO                  FL
15658   1G1BE5SM3K7142580   GM          CRUZE                SAVANNAH                 GA
15659   1G1BE5SM3K7142692   GM          CRUZE                MIAMI                    FL
15660   1G1BE5SM3K7143910   GM          CRUZE                Florissant               MO
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15661   1G1BE5SM3K7144152   GM          CRUZE                JACKSONVILLE             FL
15662   1G1BE5SM3K7144328   GM          CRUZE                DALLAS                   TX
15663   1G1BE5SM3K7144345   GM          CRUZE                ORLANDO                  FL
15664   1G1BE5SM3K7144507   GM          CRUZE                NEW ORLEANS              LA
15665   1G1BE5SM3K7144569   GM          CRUZE                ORLANDO                  FL
15666   1G1BE5SM3K7144698   GM          CRUZE                BEAUFORT                 SC
15667   1G1BE5SM3K7144751   GM          CRUZE                WEST PALM BEACH          FL
15668   1G1BE5SM3K7144975   GM          CRUZE                FORT MYERS               FL
15669   1G1BE5SM3K7144989   GM          CRUZE                KENNER                   LA
15670   1G1BE5SM3K7144992   GM          CRUZE                WEST PALM BEACH          FL
15671   1G1BE5SM3K7145110   GM          CRUZE                NEW BERN                 NC
15672   1G1BE5SM3K7145219   GM          CRUZE                SARASOTA                 FL
15673   1G1BE5SM3K7145477   GM          CRUZE                DETROIT                  MI
15674   1G1BE5SM3K7145494   GM          CRUZE                DENVER                   CO
15675   1G1BE5SM3K7145544   GM          CRUZE                DENVER                   CO
15676   1G1BE5SM3K7145592   GM          CRUZE                SAVANNAH                 GA
15677   1G1BE5SM3K7146385   GM          CRUZE                FORT LAUDERDALE          FL
15678   1G1BE5SM3K7146595   GM          CRUZE                WINTER PARK              FL
15679   1G1BE5SM3K7146774   GM          CRUZE                FORT LAUDERDALE          FL
15680   1G1BE5SM3K7146872   GM          CRUZE                PHOENIX                  AZ
15681   1G1BE5SM3K7147083   GM          CRUZE                Colorado Spring          CO
15682   1G1BE5SM3K7147245   GM          CRUZE                JACKSON                  MS
15683   1G1BE5SM3K7147276   GM          CRUZE                SARASOTA                 FL
15684   1G1BE5SM3K7147391   GM          CRUZE                ORLANDO                  FL
15685   1G1BE5SM3K7147438   GM          CRUZE                Dallas                   TX
15686   1G1BE5SM4G7239911   GM          CRUZE                PICO RIVERA              CA
15687   1G1BE5SM4G7312579   GM          CRUZE                MIAMI                    FL
15688   1G1BE5SM4H7108852   GM          CRUZE                MEDINA                   OH
15689   1G1BE5SM4H7239098   GM          CRUZE                ELKRIDGE                 MD
15690   1G1BE5SM4J7105651   GM          CRUZE                CHICAGO                  IL
15691   1G1BE5SM4J7106122   GM          CRUZE                NEW ENGLAND DEALER       MA
15692   1G1BE5SM4J7106847   GM          CRUZE                BURBANK                  CA
15693   1G1BE5SM4J7106931   GM          CRUZE                Rio Linda                CA
15694   1G1BE5SM4J7107058   GM          CRUZE                LOS ANGELES              CA
15695   1G1BE5SM4J7107139   GM          CRUZE                SAN JOSE                 CA
15696   1G1BE5SM4J7107819   GM          CRUZE                Atlanta                  GA
15697   1G1BE5SM4J7108081   GM          CRUZE                Culpeper                 VA
15698   1G1BE5SM4J7108243   GM          CRUZE                SAN FRANCISCO            CA
15699   1G1BE5SM4J7108288   GM          CRUZE                NORTH PAC                CA
15700   1G1BE5SM4J7108467   GM          CRUZE                BURBANK                  CA
15701   1G1BE5SM4J7108548   GM          CRUZE                NEW ORLEANS              LA
15702   1G1BE5SM4J7108811   GM          CRUZE                Las Vegas                NV
15703   1G1BE5SM4J7108940   GM          CRUZE                San Diego                CA
15704   1G1BE5SM4J7109070   GM          CRUZE                PALM SPRINGS             CA
15705   1G1BE5SM4J7109263   GM          CRUZE                Atlanta                  GA
15706   1G1BE5SM4J7109344   GM          CRUZE                ORLANDO                  FL
15707   1G1BE5SM4J7109697   GM          CRUZE                Honolulu                 HI
15708   1G1BE5SM4J7109859   GM          CRUZE                TRACY                    CA
15709   1G1BE5SM4J7110140   GM          CRUZE                ANAHEIM                  CA
15710   1G1BE5SM4J7110221   GM          CRUZE                BURBANK                  CA
15711   1G1BE5SM4J7110509   GM          CRUZE                NEW ORLEANS              LA
15712   1G1BE5SM4J7110736   GM          CRUZE                Honolulu                 HI
15713   1G1BE5SM4J7112700   GM          CRUZE                Portland                 OR
15714   1G1BE5SM4J7113636   GM          CRUZE                ROSEVILLE                CA
15715   1G1BE5SM4J7114009   GM          CRUZE                North Dighton            MA
15716   1G1BE5SM4J7114348   GM          CRUZE                BURBANK                  CA
15717   1G1BE5SM4J7115855   GM          CRUZE                SALT LAKE CITY           UT
15718   1G1BE5SM4J7116021   GM          CRUZE                BURBANK                  CA
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15719   1G1BE5SM4J7116150   GM          CRUZE                SALT LAKE CITY           UT
15720   1G1BE5SM4J7117363   GM          CRUZE                Baltimore                MD
15721   1G1BE5SM4J7119954   GM          CRUZE                RALIEGH                  NC
15722   1G1BE5SM4J7120537   GM          CRUZE                STERLING                 VA
15723   1G1BE5SM4J7121137   GM          CRUZE                Sterling                 VA
15724   1G1BE5SM4J7122255   GM          CRUZE                Hanover                  MD
15725   1G1BE5SM4J7123163   GM          CRUZE                Atlanta                  GA
15726   1G1BE5SM4J7124295   GM          CRUZE                SANTA ANA                CA
15727   1G1BE5SM4J7130114   GM          CRUZE                NEW ENGLAND DEALER       MA
15728   1G1BE5SM4J7152789   GM          CRUZE                MIAMI                    FL
15729   1G1BE5SM4J7152985   GM          CRUZE                Chicago                  IL
15730   1G1BE5SM4J7153053   GM          CRUZE                LIHUE AP KAUAI           HI
15731   1G1BE5SM4J7153909   GM          CRUZE                Fontana                  CA
15732   1G1BE5SM4J7155045   GM          CRUZE                N MIAMI BEACH            FL
15733   1G1BE5SM4J7155725   GM          CRUZE                KAHULUI                  HI
15734   1G1BE5SM4J7156034   GM          CRUZE                North Las Vegas          NV
15735   1G1BE5SM4J7156518   GM          CRUZE                KAHULUI                  HI
15736   1G1BE5SM4J7158401   GM          CRUZE                Ventura                  CA
15737   1G1BE5SM4J7158611   GM          CRUZE                BURBANK                  CA
15738   1G1BE5SM4J7158687   GM          CRUZE                BURBANK                  CA
15739   1G1BE5SM4J7158754   GM          CRUZE                Kahului                  HI
15740   1G1BE5SM4J7158978   GM          CRUZE                BURBANK                  CA
15741   1G1BE5SM4J7159015   GM          CRUZE                TRACY                    CA
15742   1G1BE5SM4J7163422   GM          CRUZE                TRACY                    CA
15743   1G1BE5SM4J7163968   GM          CRUZE                N. Las Vegas             NV
15744   1G1BE5SM4J7164022   GM          CRUZE                ROSEVILLE                CA
15745   1G1BE5SM4J7164280   GM          CRUZE                NORTH PAC                CA
15746   1G1BE5SM4J7164652   GM          CRUZE                BRONX                    NY
15747   1G1BE5SM4J7164800   GM          CRUZE                DANIA BEACH              FL
15748   1G1BE5SM4J7164909   GM          CRUZE                Philadelphia             PA
15749   1G1BE5SM4J7165008   GM          CRUZE                North Las Vegas          NV
15750   1G1BE5SM4J7165025   GM          CRUZE                Ventura                  CA
15751   1G1BE5SM4J7165395   GM          CRUZE                ONTARIO                  CA
15752   1G1BE5SM4J7165574   GM          CRUZE                Manheim                  PA
15753   1G1BE5SM4J7165882   GM          CRUZE                PHILADELPHIA             PA
15754   1G1BE5SM4J7166000   GM          CRUZE                Elkridge                 MD
15755   1G1BE5SM4J7166160   GM          CRUZE                NORTH PAC                CA
15756   1G1BE5SM4J7166174   GM          CRUZE
15757   1G1BE5SM4J7166224   GM          CRUZE                NEW ORLEANS              LA
15758   1G1BE5SM4J7170774   GM          CRUZE                Rockville Centr          NY
15759   1G1BE5SM4J7171102   GM          CRUZE                SAN FRANCISCO            CA
15760   1G1BE5SM4J7172301   GM          CRUZE                NORTH PAC                CA
15761   1G1BE5SM4J7175506   GM          CRUZE                Riverside                CA
15762   1G1BE5SM4J7176218   GM          CRUZE                LOS ANGELES              CA
15763   1G1BE5SM4J7176266   GM          CRUZE                LOS ANGELES              CA
15764   1G1BE5SM4J7176414   GM          CRUZE                ATLANTA                  GA
15765   1G1BE5SM4J7176669   GM          CRUZE                SANTA ANA                CA
15766   1G1BE5SM4J7179197   GM          CRUZE                SAN FRANCISCO            CA
15767   1G1BE5SM4J7181743   GM          CRUZE                NORTH PAC                CA
15768   1G1BE5SM4J7182245   GM          CRUZE                LOS ANGELES              CA
15769   1G1BE5SM4J7182374   GM          CRUZE                ROSEVILLE                CA
15770   1G1BE5SM4J7182651   GM          CRUZE                FULLERTON                CA
15771   1G1BE5SM4J7182827   GM          CRUZE                SEATAC                   WA
15772   1G1BE5SM4J7183749   GM          CRUZE                Ventura                  CA
15773   1G1BE5SM4J7184917   GM          CRUZE                BURBANK                  CA
15774   1G1BE5SM4J7185002   GM          CRUZE                BURBANK                  CA
15775   1G1BE5SM4J7185033   GM          CRUZE                BURBANK                  CA
15776   1G1BE5SM4J7185212   GM          CRUZE                PHILADELPHIA             PA
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15777   1G1BE5SM4J7185534   GM          CRUZE                BURBANK                  CA
15778   1G1BE5SM4J7187588   GM          CRUZE                TRACY                    CA
15779   1G1BE5SM4J7188739   GM          CRUZE                PLEASANTON               CA
15780   1G1BE5SM4J7188935   GM          CRUZE                SAN JOSE                 CA
15781   1G1BE5SM4J7189275   GM          CRUZE                Salt Lake City           UT
15782   1G1BE5SM4J7189504   GM          CRUZE                SAN DIEGO                CA
15783   1G1BE5SM4J7189938   GM          CRUZE                Anaheim                  CA
15784   1G1BE5SM4J7189972   GM          CRUZE                Statesville              NC
15785   1G1BE5SM4J7190247   GM          CRUZE                BURBANK                  CA
15786   1G1BE5SM4J7190426   GM          CRUZE                Torrance                 CA
15787   1G1BE5SM4J7191477   GM          CRUZE                BURBANK                  CA
15788   1G1BE5SM4J7191589   GM          CRUZE                San Diego                CA
15789   1G1BE5SM4J7191771   GM          CRUZE                Fort Worth               TX
15790   1G1BE5SM4J7191978   GM          CRUZE                ORANGE COUNTY            CA
15791   1G1BE5SM4J7192144   GM          CRUZE                Pasadena                 CA
15792   1G1BE5SM4J7193729   GM          CRUZE                DES MOINES               IA
15793   1G1BE5SM4J7194136   GM          CRUZE                WILMINGTON               CA
15794   1G1BE5SM4J7197392   GM          CRUZE                TAMPA                    FL
15795   1G1BE5SM4J7197621   GM          CRUZE                Santa Clara              CA
15796   1G1BE5SM4J7197876   GM          CRUZE                Riverside                CA
15797   1G1BE5SM4J7198154   GM          CRUZE                SACRAMENTO               CA
15798   1G1BE5SM4J7198249   GM          CRUZE                ROSEVILLE                CA
15799   1G1BE5SM4J7201019   GM          CRUZE                TAMPA                    US
15800   1G1BE5SM4J7203756   GM          CRUZE                LOS ANGELES              CA
15801   1G1BE5SM4J7203918   GM          CRUZE                North Dighton            MA
15802   1G1BE5SM4J7204955   GM          CRUZE                SOUTHEAST DST OFFC       OK
15803   1G1BE5SM4J7205085   GM          CRUZE                LAS VEGAS                NV
15804   1G1BE5SM4J7205684   GM          CRUZE                South San Franc          CA
15805   1G1BE5SM4J7207323   GM          CRUZE                LAS VEGAS                NV
15806   1G1BE5SM4J7209234   GM          CRUZE                Santa Clara              CA
15807   1G1BE5SM4J7209296   GM          CRUZE                Pasadena                 CA
15808   1G1BE5SM4J7217821   GM          CRUZE                INGLEWOOD                CA
15809   1G1BE5SM4J7221979   GM          CRUZE                PALM SPRINGS             CA
15810   1G1BE5SM4J7222551   GM          CRUZE                ATLANTA                  GA
15811   1G1BE5SM4J7222601   GM          CRUZE                LOS ANGELES              CA
15812   1G1BE5SM4J7227121   GM          CRUZE                PHILADELPHIA             PA
15813   1G1BE5SM4J7228382   GM          CRUZE                Newark                   NJ
15814   1G1BE5SM4J7228737   GM          CRUZE                Roseville                CA
15815   1G1BE5SM4J7228804   GM          CRUZE                Massapequa               NY
15816   1G1BE5SM4J7229645   GM          CRUZE                SACRAMENTO               CA
15817   1G1BE5SM4J7237583   GM          CRUZE                LOS ANGELES              CA
15818   1G1BE5SM4J7237664   GM          CRUZE                MIAMI                    FL
15819   1G1BE5SM4J7237955   GM          CRUZE                SARASOTA                 FL
15820   1G1BE5SM4J7238250   GM          CRUZE                SOUTH SAN FRANC          CA
15821   1G1BE5SM4J7238670   GM          CRUZE                DALLAS                   TX
15822   1G1BE5SM4J7239382   GM          CRUZE                Ventura                  CA
15823   1G1BE5SM4J7239446   GM          CRUZE                Portland                 OR
15824   1G1BE5SM4J7239933   GM          CRUZE                MEMPHIS                  TN
15825   1G1BE5SM4J7239947   GM          CRUZE                BURBANK                  CA
15826   1G1BE5SM4J7240077   GM          CRUZE                FORT LAUDERDALE          FL
15827   1G1BE5SM4J7240631   GM          CRUZE                MIAMI                    FL
15828   1G1BE5SM4J7240788   GM          CRUZE                LAS VEGAS                NV
15829   1G1BE5SM4J7240970   GM          CRUZE                Las Vegas                NV
15830   1G1BE5SM4J7241004   GM          CRUZE                Hartford                 CT
15831   1G1BE5SM4J7241438   GM          CRUZE                PHOENIX                  AZ
15832   1G1BE5SM4J7243786   GM          CRUZE                DOWNEY                   CA
15833   1G1BE5SM4K7107059   GM          CRUZE                SACRAMENTO               CA
15834   1G1BE5SM4K7107420   GM          CRUZE                BURBANK                  CA
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15835   1G1BE5SM4K7107482   GM          CRUZE                Stockton                 CA
15836   1G1BE5SM4K7107868   GM          CRUZE                SAN DIEGO                US
15837   1G1BE5SM4K7108549   GM          CRUZE                FORT MYERS               FL
15838   1G1BE5SM4K7108647   GM          CRUZE                ORLANDO                  FL
15839   1G1BE5SM4K7109409   GM          CRUZE                ORLANDO                  FL
15840   1G1BE5SM4K7109524   GM          CRUZE                BOSTON                   MA
15841   1G1BE5SM4K7109765   GM          CRUZE                Marietta                 GA
15842   1G1BE5SM4K7109913   GM          CRUZE                TAMPA                    FL
15843   1G1BE5SM4K7110429   GM          CRUZE                WEST COLUMBIA            SC
15844   1G1BE5SM4K7110625   GM          CRUZE                MIAMI                    FL
15845   1G1BE5SM4K7110933   GM          CRUZE                TAMPA                    FL
15846   1G1BE5SM4K7110950   GM          CRUZE                Fredericksburg           VA
15847   1G1BE5SM4K7110995   GM          CRUZE                CHICAGO                  IL
15848   1G1BE5SM4K7111063   GM          CRUZE                JACKSONVILLE             FL
15849   1G1BE5SM4K7111483   GM          CRUZE                FAYETTEVILLE             US
15850   1G1BE5SM4K7111516   GM          CRUZE                SHREVEPORT               LA
15851   1G1BE5SM4K7111841   GM          CRUZE                TAMPA                    US
15852   1G1BE5SM4K7112049   GM          CRUZE                Phoenix                  AZ
15853   1G1BE5SM4K7112844   GM          CRUZE                GREENSBORO               NC
15854   1G1BE5SM4K7113069   GM          CRUZE                FORT LAUDERDALE          FL
15855   1G1BE5SM4K7113119   GM          CRUZE                PHILADELPHIA             PA
15856   1G1BE5SM4K7113203   GM          CRUZE                CHICAGO                  IL
15857   1G1BE5SM4K7113444   GM          CRUZE                FORT MYERS               FL
15858   1G1BE5SM4K7113590   GM          CRUZE                SAINT PAUL               MN
15859   1G1BE5SM4K7114027   GM          CRUZE                SAINT PAUL               MN
15860   1G1BE5SM4K7114397   GM          CRUZE                St. Louis                MO
15861   1G1BE5SM4K7114402   GM          CRUZE                Santa Clara              CA
15862   1G1BE5SM4K7114674   GM          CRUZE                FORT MYERS               FL
15863   1G1BE5SM4K7114688   GM          CRUZE                FORT LAUDERDALE          FL
15864   1G1BE5SM4K7114819   GM          CRUZE                Las Vegas                NV
15865   1G1BE5SM4K7114870   GM          CRUZE                GAINESVILLE              FL
15866   1G1BE5SM4K7115453   GM          CRUZE                TAMPA                    FL
15867   1G1BE5SM4K7115565   GM          CRUZE                PORTLAND                 OR
15868   1G1BE5SM4K7115596   GM          CRUZE                HOUSTON                  TX
15869   1G1BE5SM4K7115632   GM          CRUZE                Anaheim                  CA
15870   1G1BE5SM4K7116506   GM          CRUZE                ORLANDO                  FL
15871   1G1BE5SM4K7116649   GM          CRUZE                WEST PALM BEACH          FL
15872   1G1BE5SM4K7116876   GM          CRUZE                TAMPA                    US
15873   1G1BE5SM4K7116912   GM          CRUZE                WEST PALM BEACH          FL
15874   1G1BE5SM4K7117056   GM          CRUZE                DETROIT                  MI
15875   1G1BE5SM4K7117073   GM          CRUZE                MIAMI                    FL
15876   1G1BE5SM4K7117476   GM          CRUZE                Marietta                 GA
15877   1G1BE5SM4K7118157   GM          CRUZE                Jacksonville             FL
15878   1G1BE5SM4K7118370   GM          CRUZE                BIRMINGHAM               AL
15879   1G1BE5SM4K7118417   GM          CRUZE                FORT MYERS               FL
15880   1G1BE5SM4K7118465   GM          CRUZE                ORLANDO                  FL
15881   1G1BE5SM4K7118532   GM          CRUZE                FORT MYERS               FL
15882   1G1BE5SM4K7118594   GM          CRUZE                ORLANDO                  FL
15883   1G1BE5SM4K7118885   GM          CRUZE                ORLANDO                  FL
15884   1G1BE5SM4K7118904   GM          CRUZE                SAVANNAH                 GA
15885   1G1BE5SM4K7118918   GM          CRUZE                TAMPA                    FL
15886   1G1BE5SM4K7119003   GM          CRUZE                WEST COLUMBIA            SC
15887   1G1BE5SM4K7119194   GM          CRUZE                ORLANDO                  FL
15888   1G1BE5SM4K7119390   GM          CRUZE                MIAMI                    FL
15889   1G1BE5SM4K7119406   GM          CRUZE                CORINTH                  MS
15890   1G1BE5SM4K7119437   GM          CRUZE                CHARLOTTE                NC
15891   1G1BE5SM4K7119874   GM          CRUZE                JACKSONVILLE             FL
15892   1G1BE5SM4K7120040   GM          CRUZE                FORT MYERS               FL
        VIN
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15893   1G1BE5SM4K7120331   GM          CRUZE                WEST PALM BEACH          FL
15894   1G1BE5SM4K7120409   GM          CRUZE                TAMPA                    FL
15895   1G1BE5SM4K7120412   GM          CRUZE                ORLANDO                  FL
15896   1G1BE5SM4K7120538   GM          CRUZE                FORT MYERS               FL
15897   1G1BE5SM4K7120779   GM          CRUZE                WEST PALM BEACH          FL
15898   1G1BE5SM4K7121673   GM          CRUZE                MIAMI                    FL
15899   1G1BE5SM4K7122208   GM          CRUZE                MIAMI                    FL
15900   1G1BE5SM4K7122239   GM          CRUZE                ORLANDO                  FL
15901   1G1BE5SM4K7122306   GM          CRUZE                TAMPA                    FL
15902   1G1BE5SM4K7122354   GM          CRUZE                ORLANDO                  FL
15903   1G1BE5SM4K7122791   GM          CRUZE                TAMPA                    FL
15904   1G1BE5SM4K7122810   GM          CRUZE                Elkridge                 MD
15905   1G1BE5SM4K7123066   GM          CRUZE                FORT LAUDERDALE          FL
15906   1G1BE5SM4K7123116   GM          CRUZE                ORLANDO                  FL
15907   1G1BE5SM4K7123200   GM          CRUZE                SARASOTA                 FL
15908   1G1BE5SM4K7124380   GM          CRUZE                FORT LAUDERDALE          FL
15909   1G1BE5SM4K7124413   GM          CRUZE                FORT MYERS               FL
15910   1G1BE5SM4K7124606   GM          CRUZE                WEST PALM BEACH          FL
15911   1G1BE5SM4K7124685   GM          CRUZE                ORLANDO                  FL
15912   1G1BE5SM4K7124718   GM          CRUZE                TAMPA                    FL
15913   1G1BE5SM4K7124721   GM          CRUZE                Miami                    FL
15914   1G1BE5SM4K7124900   GM          CRUZE                MIAMI                    FL
15915   1G1BE5SM4K7139168   GM          CRUZE                Nashville                TN
15916   1G1BE5SM4K7139767   GM          CRUZE                WEST PALM BEACH          FL
15917   1G1BE5SM4K7139994   GM          CRUZE                SARASOTA                 FL
15918   1G1BE5SM4K7140420   GM          CRUZE                TAMPA                    FL
15919   1G1BE5SM4K7140529   GM          CRUZE                ORLANDO                  FL
15920   1G1BE5SM4K7140546   GM          CRUZE                ORLANDO                  FL
15921   1G1BE5SM4K7141440   GM          CRUZE                JACKSONVILLE             FL
15922   1G1BE5SM4K7141714   GM          CRUZE                ORLANDO                  FL
15923   1G1BE5SM4K7141731   GM          CRUZE                DETROIT                  MI
15924   1G1BE5SM4K7142457   GM          CRUZE                SAVANNAH                 GA
15925   1G1BE5SM4K7142653   GM          CRUZE                TAMPA                    FL
15926   1G1BE5SM4K7142751   GM          CRUZE                INDIANAPOLIS             IN
15927   1G1BE5SM4K7144015   GM          CRUZE                HOUSTON                  TX
15928   1G1BE5SM4K7144032   GM          CRUZE                LITTLE ROCK              AR
15929   1G1BE5SM4K7144063   GM          CRUZE                FORT MYERS               FL
15930   1G1BE5SM4K7144161   GM          CRUZE                GLASSBORO                NJ
15931   1G1BE5SM4K7144306   GM          CRUZE                ORLANDO                  FL
15932   1G1BE5SM4K7144323   GM          CRUZE                HARRISON                 AR
15933   1G1BE5SM4K7144628   GM          CRUZE                PLEASANTON               CA
15934   1G1BE5SM4K7144726   GM          CRUZE                Irving                   TX
15935   1G1BE5SM4K7144886   GM          CRUZE                WILMINGTON               NC
15936   1G1BE5SM4K7145004   GM          CRUZE                Austell                  GA
15937   1G1BE5SM4K7145102   GM          CRUZE                SARASOTA                 FL
15938   1G1BE5SM4K7145214   GM          CRUZE                PHILADELPHIA             PA
15939   1G1BE5SM4K7145441   GM          CRUZE                TAMPA                    FL
15940   1G1BE5SM4K7145486   GM          CRUZE                Cleveland                OH
15941   1G1BE5SM4K7145536   GM          CRUZE                St. Louis                MO
15942   1G1BE5SM4K7145679   GM          CRUZE                ST Paul                  MN
15943   1G1BE5SM4K7145889   GM          CRUZE                Houston                  TX
15944   1G1BE5SM4K7145956   GM          CRUZE                MIAMI                    FL
15945   1G1BE5SM4K7146038   GM          CRUZE                MIAMI                    FL
15946   1G1BE5SM4K7146377   GM          CRUZE                EULESS                   TX
15947   1G1BE5SM4K7146461   GM          CRUZE                Miami                    FL
15948   1G1BE5SM4K7146525   GM          CRUZE                ORLANDO                  FL
15949   1G1BE5SM4K7146542   GM          CRUZE                FORT MYERS               FL
15950   1G1BE5SM4K7146590   GM          CRUZE                DALLAS                   TX
        VIN
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15951   1G1BE5SM4K7146640   GM          CRUZE                ORLANDO                  FL
15952   1G1BE5SM4K7146671   GM          CRUZE                Omaha                    NE
15953   1G1BE5SM4K7146685   GM          CRUZE                Irving                   TX
15954   1G1BE5SM4K7146802   GM          CRUZE                Slidell                  LA
15955   1G1BE5SM4K7146847   GM          CRUZE                SARASOTA                 FL
15956   1G1BE5SM4K7146878   GM          CRUZE                ORLANDO                  FL
15957   1G1BE5SM4K7146931   GM          CRUZE                FORT MYERS               FL
15958   1G1BE5SM4K7147271   GM          CRUZE                FORT MYERS               FL
15959   1G1BE5SM4K7147562   GM          CRUZE                Oklahoma City            OK
15960   1G1BE5SM5G7239027   GM          CRUZE                Bensalem                 PA
15961   1G1BE5SM5H7113428   GM          CRUZE                FORT MYERS               FL
15962   1G1BE5SM5H7132688   GM          CRUZE                FORT MYERS               FL
15963   1G1BE5SM5H7183236   GM          CRUZE                Sarasota                 FL
15964   1G1BE5SM5H7202674   GM          CRUZE                NATIONAL CITY            CA
15965   1G1BE5SM5H7248408   GM          CRUZE                Chicago                  IL
15966   1G1BE5SM5H7257268   GM          CRUZE                CHICAGO                  IL
15967   1G1BE5SM5J7105870   GM          CRUZE                DANIA BEACH              FL
15968   1G1BE5SM5J7105965   GM          CRUZE                BURBANK                  CA
15969   1G1BE5SM5J7106243   GM          CRUZE                KENNER                   LA
15970   1G1BE5SM5J7107635   GM          CRUZE                Denver                   CO
15971   1G1BE5SM5J7107960   GM          CRUZE                North Las Vegas          NV
15972   1G1BE5SM5J7108140   GM          CRUZE                BURBANK                  CA
15973   1G1BE5SM5J7108168   GM          CRUZE                NORTH PAC                CA
15974   1G1BE5SM5J7108218   GM          CRUZE                LOS ANGELES              CA
15975   1G1BE5SM5J7108557   GM          CRUZE                LOS ANGELES              CA
15976   1G1BE5SM5J7108705   GM          CRUZE                SANTA ANA                CA
15977   1G1BE5SM5J7108803   GM          CRUZE                FLORIDA DEALER DIR       FL
15978   1G1BE5SM5J7109207   GM          CRUZE                NORTH PAC                CA
15979   1G1BE5SM5J7109255   GM          CRUZE                LOS ANGELES AP           CA
15980   1G1BE5SM5J7109322   GM          CRUZE                Anaheim                  CA
15981   1G1BE5SM5J7109417   GM          CRUZE                ORLANDO                  FL
15982   1G1BE5SM5J7109448   GM          CRUZE                BURBANK                  CA
15983   1G1BE5SM5J7110177   GM          CRUZE                LOS ANGELES              CA
15984   1G1BE5SM5J7110342   GM          CRUZE                BURBANK                  CA
15985   1G1BE5SM5J7110535   GM          CRUZE                SEATTLE                  WA
15986   1G1BE5SM5J7110566   GM          CRUZE                LOS ANGELES              CA
15987   1G1BE5SM5J7111118   GM          CRUZE                ORLANDO                  FL
15988   1G1BE5SM5J7111264   GM          CRUZE                LOS ANGELES              CA
15989   1G1BE5SM5J7112074   GM          CRUZE                CLEVELAND                OH
15990   1G1BE5SM5J7112303   GM          CRUZE                LOS ANGELES              CA
15991   1G1BE5SM5J7112401   GM          CRUZE                DOWNEY                   CA
15992   1G1BE5SM5J7112432   GM          CRUZE                LOS ANGELES              CA
15993   1G1BE5SM5J7112771   GM          CRUZE                Manheim                  PA
15994   1G1BE5SM5J7113046   GM          CRUZE                SAN DIEGO                CA
15995   1G1BE5SM5J7113256   GM          CRUZE                LOS ANGELES              CA
15996   1G1BE5SM5J7113354   GM          CRUZE                Elkridge                 MD
15997   1G1BE5SM5J7114181   GM          CRUZE                CLEVELAND                OH
15998   1G1BE5SM5J7114326   GM          CRUZE                DAYTONA BEACH            FL
15999   1G1BE5SM5J7115329   GM          CRUZE                LOS ANGELES AP           CA
16000   1G1BE5SM5J7115489   GM          CRUZE                Atlanta                  GA
16001   1G1BE5SM5J7115640   GM          CRUZE                Brighton                 CO
16002   1G1BE5SM5J7116738   GM          CRUZE                Fredericksburg           VA
16003   1G1BE5SM5J7117629   GM          CRUZE                Elkridge                 MD
16004   1G1BE5SM5J7117940   GM          CRUZE                Norwalk                  CA
16005   1G1BE5SM5J7118151   GM          CRUZE                Fontana                  CA
16006   1G1BE5SM5J7118196   GM          CRUZE                Dallas                   TX
16007   1G1BE5SM5J7118280   GM          CRUZE                CHICAGO                  IL
16008   1G1BE5SM5J7118523   GM          CRUZE                North Dighton            MA
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16009   1G1BE5SM5J7119042   GM          CRUZE                LAS VEGAS                NV
16010   1G1BE5SM5J7119655   GM          CRUZE                Fort Lauderdale          FL
16011   1G1BE5SM5J7120871   GM          CRUZE                Davie                    FL
16012   1G1BE5SM5J7121132   GM          CRUZE                BURBANK                  CA
16013   1G1BE5SM5J7122068   GM          CRUZE                TAMPA                    FL
16014   1G1BE5SM5J7122944   GM          CRUZE                Smithtown                NY
16015   1G1BE5SM5J7123320   GM          CRUZE                SEATAC                   WA
16016   1G1BE5SM5J7123463   GM          CRUZE                PHILADELPHIA             PA
16017   1G1BE5SM5J7123835   GM          CRUZE                Ventura                  CA
16018   1G1BE5SM5J7124001   GM          CRUZE                San Antonio              TX
16019   1G1BE5SM5J7124211   GM          CRUZE                NORTH PAC                CA
16020   1G1BE5SM5J7127724   GM          CRUZE                DES MOINES               IA
16021   1G1BE5SM5J7139176   GM          CRUZE                Davie                    FL
16022   1G1BE5SM5J7139579   GM          CRUZE                Manheim                  PA
16023   1G1BE5SM5J7148072   GM          CRUZE                Nashville                TN
16024   1G1BE5SM5J7153501   GM          CRUZE                Atlanta                  GA
16025   1G1BE5SM5J7154471   GM          CRUZE                Atlanta                  GA
16026   1G1BE5SM5J7155443   GM          CRUZE                Stockton                 CA
16027   1G1BE5SM5J7155555   GM          CRUZE                TRACY                    CA
16028   1G1BE5SM5J7155796   GM          CRUZE                Sterling                 VA
16029   1G1BE5SM5J7155930   GM          CRUZE                Winter Park              FL
16030   1G1BE5SM5J7156432   GM          CRUZE                CAPITOL HEIGHTS          MD
16031   1G1BE5SM5J7156561   GM          CRUZE                SAN FRANCISCO            CA
16032   1G1BE5SM5J7156642   GM          CRUZE                North Las Vegas          NV
16033   1G1BE5SM5J7156804   GM          CRUZE                Maple Grove              MN
16034   1G1BE5SM5J7157659   GM          CRUZE                HONOLULU                 HI
16035   1G1BE5SM5J7158116   GM          CRUZE                BURBANK                  CA
16036   1G1BE5SM5J7158472   GM          CRUZE                SAN FRANCISCO            CA
16037   1G1BE5SM5J7158715   GM          CRUZE                Honolulu                 HI
16038   1G1BE5SM5J7158763   GM          CRUZE                BURBANK                  CA
16039   1G1BE5SM5J7159234   GM          CRUZE                ONTARIO                  CA
16040   1G1BE5SM5J7162005   GM          CRUZE                FORT LAUDERDALE          FL
16041   1G1BE5SM5J7163414   GM          CRUZE                SPRINGFIELD              VA
16042   1G1BE5SM5J7164000   GM          CRUZE                Landover Hills           MD
16043   1G1BE5SM5J7164255   GM          CRUZE                N. Palm Beach            FL
16044   1G1BE5SM5J7164367   GM          CRUZE                Warwick                  RI
16045   1G1BE5SM5J7164482   GM          CRUZE                Slidell                  LA
16046   1G1BE5SM5J7164661   GM          CRUZE                Miami                    FL
16047   1G1BE5SM5J7164739   GM          CRUZE                ONTARIO                  CA
16048   1G1BE5SM5J7164904   GM          CRUZE                DANIA BEACH              FL
16049   1G1BE5SM5J7165891   GM          CRUZE                ALEXANDRIA               VA
16050   1G1BE5SM5J7166488   GM          CRUZE                Atlanta                  GA
16051   1G1BE5SM5J7170119   GM          CRUZE                CENTRAL DIST OFFC        OK
16052   1G1BE5SM5J7170265   GM          CRUZE                LOS ANGELES              CA
16053   1G1BE5SM5J7170413   GM          CRUZE                Cranberry Towns          PA
16054   1G1BE5SM5J7170508   GM          CRUZE                HANOVER                  MD
16055   1G1BE5SM5J7170931   GM          CRUZE                Tampa                    FL
16056   1G1BE5SM5J7170945   GM          CRUZE                Tolleson                 AZ
16057   1G1BE5SM5J7171190   GM          CRUZE                LOS ANGELES              CA
16058   1G1BE5SM5J7171254   GM          CRUZE                BURBANK                  CA
16059   1G1BE5SM5J7172162   GM          CRUZE                Tampa                    FL
16060   1G1BE5SM5J7172484   GM          CRUZE                NORTH PAC                CA
16061   1G1BE5SM5J7172615   GM          CRUZE                BURBANK                  CA
16062   1G1BE5SM5J7175157   GM          CRUZE                MEMPHIS                  TN
16063   1G1BE5SM5J7175269   GM          CRUZE                SAN DIEGO                CA
16064   1G1BE5SM5J7175272   GM          CRUZE                SAN DIEGO                CA
16065   1G1BE5SM5J7176891   GM          CRUZE                ONTARIO                  CA
16066   1G1BE5SM5J7177071   GM          CRUZE                Hartford                 CT
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                 Case 20-11218-MFW
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16067   1G1BE5SM5J7177376   GM          CRUZE                LAS VEGAS                NV
16068   1G1BE5SM5J7178351   GM          CRUZE                NEW YORK DEALER DI       NJ
16069   1G1BE5SM5J7183713   GM          CRUZE                LOS ANGELES              CA
16070   1G1BE5SM5J7183873   GM          CRUZE                TRACY                    CA
16071   1G1BE5SM5J7184165   GM          CRUZE                Anaheim                  CA
16072   1G1BE5SM5J7184215   GM          CRUZE                Santa Clara              CA
16073   1G1BE5SM5J7184697   GM          CRUZE                Pasadena                 CA
16074   1G1BE5SM5J7184750   GM          CRUZE                NORTH PAC                CA
16075   1G1BE5SM5J7185221   GM          CRUZE                NORTH HOLLYWOOD          CA
16076   1G1BE5SM5J7186319   GM          CRUZE                Pasadena                 CA
16077   1G1BE5SM5J7187213   GM          CRUZE                BURBANK                  CA
16078   1G1BE5SM5J7187633   GM          CRUZE                Oakland                  CA
16079   1G1BE5SM5J7189009   GM          CRUZE                BURBANK                  CA
16080   1G1BE5SM5J7189723   GM          CRUZE                Pasadena                 CA
16081   1G1BE5SM5J7189771   GM          CRUZE                LOS ANGELES              CA
16082   1G1BE5SM5J7189821   GM          CRUZE                Pheonix                  AZ
16083   1G1BE5SM5J7190130   GM          CRUZE                Fresno                   CA
16084   1G1BE5SM5J7190404   GM          CRUZE                Honolulu                 HI
16085   1G1BE5SM5J7191150   GM          CRUZE                HAYWARD                  CA
16086   1G1BE5SM5J7191360   GM          CRUZE                Pasadena                 CA
16087   1G1BE5SM5J7192637   GM          CRUZE                Statesville              NC
16088   1G1BE5SM5J7192797   GM          CRUZE                BURBANK                  CA
16089   1G1BE5SM5J7193061   GM          CRUZE                WILMINGTON               CA
16090   1G1BE5SM5J7193481   GM          CRUZE                Norwalk                  CA
16091   1G1BE5SM5J7193531   GM          CRUZE                Santa Clara              CA
16092   1G1BE5SM5J7194985   GM          CRUZE                Santa Clara              CA
16093   1G1BE5SM5J7195280   GM          CRUZE                Atlanta                  GA
16094   1G1BE5SM5J7196204   GM          CRUZE                Hayward                  CA
16095   1G1BE5SM5J7197627   GM          CRUZE                ANAHEIM                  CA
16096   1G1BE5SM5J7198115   GM          CRUZE                SAN ANTONIO              TX
16097   1G1BE5SM5J7199314   GM          CRUZE                CLEVELAND                OH
16098   1G1BE5SM5J7200896   GM          CRUZE                Greensboro               NC
16099   1G1BE5SM5J7202437   GM          CRUZE                SAN JOSE                 CA
16100   1G1BE5SM5J7203572   GM          CRUZE                ATLANTA                  GA
16101   1G1BE5SM5J7205953   GM          CRUZE                BURBANK                  CA
16102   1G1BE5SM5J7206343   GM          CRUZE                BURBANK                  CA
16103   1G1BE5SM5J7206505   GM          CRUZE                Stockton                 CA
16104   1G1BE5SM5J7209663   GM          CRUZE                CHICAGO                  IL
16105   1G1BE5SM5J7210568   GM          CRUZE                LAS VEGAS                NV
16106   1G1BE5SM5J7210652   GM          CRUZE                North Las Vegas          NV
16107   1G1BE5SM5J7217407   GM          CRUZE                Bridgeton                MO
16108   1G1BE5SM5J7217990   GM          CRUZE                TAMPA                    FL
16109   1G1BE5SM5J7221196   GM          CRUZE                ORLANDO                  FL
16110   1G1BE5SM5J7221246   GM          CRUZE                EGG HARBOR TOWN          NJ
16111   1G1BE5SM5J7221411   GM          CRUZE                Hurricane                WV
16112   1G1BE5SM5J7225099   GM          CRUZE                SANTA ANA                CA
16113   1G1BE5SM5J7227967   GM          CRUZE                ORLANDO                  FL
16114   1G1BE5SM5J7229685   GM          CRUZE                SALT LAKE CITY           US
16115   1G1BE5SM5J7229704   GM          CRUZE                SAN JOSE                 CA
16116   1G1BE5SM5J7230187   GM          CRUZE                Charlotte                NC
16117   1G1BE5SM5J7231369   GM          CRUZE                MILWAUKEE                WI
16118   1G1BE5SM5J7237706   GM          CRUZE                BURBANK                  CA
16119   1G1BE5SM5J7238130   GM          CRUZE                Kansas City              MO
16120   1G1BE5SM5J7238838   GM          CRUZE                BURBANK                  CA
16121   1G1BE5SM5J7239164   GM          CRUZE                CHICAGO                  IL
16122   1G1BE5SM5J7239360   GM          CRUZE                BURBANK                  CA
16123   1G1BE5SM5J7242680   GM          CRUZE                Phoenix                  AZ
16124   1G1BE5SM5J7243344   GM          CRUZE                BURBANK                  CA
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16125   1G1BE5SM5J7243716   GM          CRUZE                BURBANK                  CA
16126   1G1BE5SM5J7243733   GM          CRUZE                ORLANDO                  FL
16127   1G1BE5SM5J7247569   GM          CRUZE                SAN RAFAEL               CA
16128   1G1BE5SM5K7106759   GM          CRUZE                MEDINA                   OH
16129   1G1BE5SM5K7107149   GM          CRUZE                SANTA ANA                CA
16130   1G1BE5SM5K7107541   GM          CRUZE                BURBANK                  CA
16131   1G1BE5SM5K7107636   GM          CRUZE                SAN DIEGO                CA
16132   1G1BE5SM5K7108298   GM          CRUZE                WEST PALM BEACH          FL
16133   1G1BE5SM5K7108575   GM          CRUZE                Miami                    FL
16134   1G1BE5SM5K7108740   GM          CRUZE                CLEVELAND                OH
16135   1G1BE5SM5K7108768   GM          CRUZE                ORLANDO                  FL
16136   1G1BE5SM5K7108883   GM          CRUZE                Roseville                CA
16137   1G1BE5SM5K7109225   GM          CRUZE                FORT MYERS               FL
16138   1G1BE5SM5K7109533   GM          CRUZE                FORT MYERS               FL
16139   1G1BE5SM5K7109550   GM          CRUZE                BURBANK                  CA
16140   1G1BE5SM5K7109760   GM          CRUZE                FORT LAUDERDALE          FL
16141   1G1BE5SM5K7110228   GM          CRUZE                ORLANDO                  FL
16142   1G1BE5SM5K7110276   GM          CRUZE                ORLANDO                  FL
16143   1G1BE5SM5K7110357   GM          CRUZE                ORLANDO                  FL
16144   1G1BE5SM5K7110715   GM          CRUZE                WEST PALM BEACH          FL
16145   1G1BE5SM5K7110763   GM          CRUZE                CHICAGO                  IL
16146   1G1BE5SM5K7110777   GM          CRUZE                NEW BERN                 NC
16147   1G1BE5SM5K7111380   GM          CRUZE                WEST PALM BEACH          FL
16148   1G1BE5SM5K7111573   GM          CRUZE                MEMPHIS                  TN
16149   1G1BE5SM5K7111654   GM          CRUZE                ORLANDO                  FL
16150   1G1BE5SM5K7111962   GM          CRUZE                TAMPA                    FL
16151   1G1BE5SM5K7112903   GM          CRUZE                CHICAGO                  IL
16152   1G1BE5SM5K7112965   GM          CRUZE                ORLANDO                  FL
16153   1G1BE5SM5K7113064   GM          CRUZE                Sacramento               CA
16154   1G1BE5SM5K7113565   GM          CRUZE                NEW BERN                 NC
16155   1G1BE5SM5K7113596   GM          CRUZE                DES MOINES               IA
16156   1G1BE5SM5K7113937   GM          CRUZE                STATESBORO               GA
16157   1G1BE5SM5K7114540   GM          CRUZE                Norwalk                  CA
16158   1G1BE5SM5K7114652   GM          CRUZE                Costa Mesa               CA
16159   1G1BE5SM5K7115140   GM          CRUZE                Sacramento               CA
16160   1G1BE5SM5K7115395   GM          CRUZE                ORLANDO                  FL
16161   1G1BE5SM5K7115476   GM          CRUZE                ORLANDO                  FL
16162   1G1BE5SM5K7115638   GM          CRUZE                Maple Grove              MN
16163   1G1BE5SM5K7115672   GM          CRUZE                MIAMI                    FL
16164   1G1BE5SM5K7116319   GM          CRUZE                Tampa                    FL
16165   1G1BE5SM5K7116367   GM          CRUZE                ORLANDO                  FL
16166   1G1BE5SM5K7116515   GM          CRUZE                JACKSONVILLE             FL
16167   1G1BE5SM5K7116580   GM          CRUZE                ORLANDO                  FL
16168   1G1BE5SM5K7116613   GM          CRUZE                JACKSONVILLE             FL
16169   1G1BE5SM5K7116661   GM          CRUZE                WEST PALM BEACH          FL
16170   1G1BE5SM5K7116756   GM          CRUZE                Memphis                  TN
16171   1G1BE5SM5K7116773   GM          CRUZE                Tampa                    FL
16172   1G1BE5SM5K7116787   GM          CRUZE                TAMPA                    FL
16173   1G1BE5SM5K7116854   GM          CRUZE                ORLANDO                  FL
16174   1G1BE5SM5K7116885   GM          CRUZE                MIAMI                    FL
16175   1G1BE5SM5K7116899   GM          CRUZE                Ft. Myers                FL
16176   1G1BE5SM5K7116935   GM          CRUZE                FORT MYERS               FL
16177   1G1BE5SM5K7117261   GM          CRUZE                FORT MYERS               FL
16178   1G1BE5SM5K7117325   GM          CRUZE                WEST PALM BEACH          FL
16179   1G1BE5SM5K7117423   GM          CRUZE                SARASOTA                 FL
16180   1G1BE5SM5K7117583   GM          CRUZE                ORLANDO                  FL
16181   1G1BE5SM5K7117714   GM          CRUZE                JACKSONVILLE             FL
16182   1G1BE5SM5K7117728   GM          CRUZE                FORT LAUDERDALE          FL
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16183   1G1BE5SM5K7117874   GM          CRUZE                Memphis                  TN
16184   1G1BE5SM5K7118054   GM          CRUZE                TAMPA                    FL
16185   1G1BE5SM5K7118071   GM          CRUZE                FORT LAUDERDALE          FL
16186   1G1BE5SM5K7118118   GM          CRUZE                WEST PALM BEACH          FL
16187   1G1BE5SM5K7118233   GM          CRUZE                ORLANDO                  FL
16188   1G1BE5SM5K7118295   GM          CRUZE                ORLANDO                  FL
16189   1G1BE5SM5K7118412   GM          CRUZE                Coraopolis               PA
16190   1G1BE5SM5K7118667   GM          CRUZE                TAMPA                    FL
16191   1G1BE5SM5K7118782   GM          CRUZE                FORT MYERS               FL
16192   1G1BE5SM5K7118846   GM          CRUZE                ORLANDO                  FL
16193   1G1BE5SM5K7118894   GM          CRUZE                FORT MYERS               FL
16194   1G1BE5SM5K7119141   GM          CRUZE                FORT LAUDERDALE          FL
16195   1G1BE5SM5K7119267   GM          CRUZE                FORT MYERS               FL
16196   1G1BE5SM5K7119401   GM          CRUZE                ORLANDO                  FL
16197   1G1BE5SM5K7119642   GM          CRUZE                CHARLESTON               SC
16198   1G1BE5SM5K7119706   GM          CRUZE                Atlanta                  GA
16199   1G1BE5SM5K7119740   GM          CRUZE                Indianapolis             IN
16200   1G1BE5SM5K7119804   GM          CRUZE                KENNER                   LA
16201   1G1BE5SM5K7119933   GM          CRUZE                SARASOTA                 FL
16202   1G1BE5SM5K7120502   GM          CRUZE                WEST PALM BEACH          FL
16203   1G1BE5SM5K7120905   GM          CRUZE                ORLANDO                  FL
16204   1G1BE5SM5K7121035   GM          CRUZE                ORLANDO                  FL
16205   1G1BE5SM5K7121133   GM          CRUZE                WEST PALM BEACH          FL
16206   1G1BE5SM5K7121147   GM          CRUZE                Clearwater               FL
16207   1G1BE5SM5K7121164   GM          CRUZE                TAMPA                    FL
16208   1G1BE5SM5K7121231   GM          CRUZE                Miami                    FL
16209   1G1BE5SM5K7121388   GM          CRUZE                WEST PALM BEACH          FL
16210   1G1BE5SM5K7121486   GM          CRUZE                TAMPA                    FL
16211   1G1BE5SM5K7121617   GM          CRUZE                ORLANDO                  FL
16212   1G1BE5SM5K7121682   GM          CRUZE                WEST PALM BEACH          FL
16213   1G1BE5SM5K7121763   GM          CRUZE                MIAMI                    FL
16214   1G1BE5SM5K7121794   GM          CRUZE                ORLANDO                  FL
16215   1G1BE5SM5K7122315   GM          CRUZE                Miami                    FL
16216   1G1BE5SM5K7122332   GM          CRUZE                ORLANDO                  FL
16217   1G1BE5SM5K7122475   GM          CRUZE                WEST PALM BEACH          FL
16218   1G1BE5SM5K7122573   GM          CRUZE                WEST PALM BEACH          FL
16219   1G1BE5SM5K7122590   GM          CRUZE                MIAMI                    FL
16220   1G1BE5SM5K7122718   GM          CRUZE                ORLANDO                  FL
16221   1G1BE5SM5K7122735   GM          CRUZE                TAMPA                    FL
16222   1G1BE5SM5K7122928   GM          CRUZE                WEST PALM BEACH          FL
16223   1G1BE5SM5K7123030   GM          CRUZE                SARASOTA                 FL
16224   1G1BE5SM5K7123240   GM          CRUZE                FORT LAUDERDALE          FL
16225   1G1BE5SM5K7123254   GM          CRUZE                ORLANDO                  FL
16226   1G1BE5SM5K7124078   GM          CRUZE                ORLANDO                  FL
16227   1G1BE5SM5K7124212   GM          CRUZE                TAMPA                    FL
16228   1G1BE5SM5K7124517   GM          CRUZE                WEST PALM BEACH          FL
16229   1G1BE5SM5K7124999   GM          CRUZE                ORLANDO                  FL
16230   1G1BE5SM5K7125005   GM          CRUZE                STERLING                 VA
16231   1G1BE5SM5K7125070   GM          CRUZE                WEST PALM BEACH          FL
16232   1G1BE5SM5K7125084   GM          CRUZE                TAMPA                    FL
16233   1G1BE5SM5K7125134   GM          CRUZE                TAMPA                    FL
16234   1G1BE5SM5K7125229   GM          CRUZE                WEST PALM BEACH          FL
16235   1G1BE5SM5K7125585   GM          CRUZE                FORT MYERS               FL
16236   1G1BE5SM5K7139020   GM          CRUZE                FORT MYERS               FL
16237   1G1BE5SM5K7139342   GM          CRUZE                CHICAGO                  IL
16238   1G1BE5SM5K7140359   GM          CRUZE                MIAMI                    FL
16239   1G1BE5SM5K7140412   GM          CRUZE                FORT LAUDERDALE          FL
16240   1G1BE5SM5K7140460   GM          CRUZE                MIAMI                    FL
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16241   1G1BE5SM5K7141138   GM          CRUZE                DAYTONA BEACH            FL
16242   1G1BE5SM5K7141284   GM          CRUZE                DAVIE                    FL
16243   1G1BE5SM5K7142127   GM          CRUZE                DETROIT                  MI
16244   1G1BE5SM5K7142595   GM          CRUZE                JACKSONVILLE             FL
16245   1G1BE5SM5K7142645   GM          CRUZE                North Billerica          MA
16246   1G1BE5SM5K7143004   GM          CRUZE                Detroit                  MI
16247   1G1BE5SM5K7144167   GM          CRUZE                ORLANDO                  FL
16248   1G1BE5SM5K7144220   GM          CRUZE                STERLING                 VA
16249   1G1BE5SM5K7144251   GM          CRUZE                FORT MYERS               FL
16250   1G1BE5SM5K7144363   GM          CRUZE                Rochester                NY
16251   1G1BE5SM5K7144377   GM          CRUZE                Austell                  GA
16252   1G1BE5SM5K7144556   GM          CRUZE                Elkridge                 MD
16253   1G1BE5SM5K7144668   GM          CRUZE                WEST PALM BEACH          FL
16254   1G1BE5SM5K7144671   GM          CRUZE                FORT MYERS               FL
16255   1G1BE5SM5K7144766   GM          CRUZE                WEST PALM BEACH          FL
16256   1G1BE5SM5K7144931   GM          CRUZE                ANGOLA                   NY
16257   1G1BE5SM5K7145058   GM          CRUZE                FORT LAUDERDALE          FL
16258   1G1BE5SM5K7145187   GM          CRUZE                Alcoa                    TN
16259   1G1BE5SM5K7145299   GM          CRUZE                Atlanta                  GA
16260   1G1BE5SM5K7145397   GM          CRUZE                FORT MYERS               FL
16261   1G1BE5SM5K7145447   GM          CRUZE                FORT LAUDERDALE          FL
16262   1G1BE5SM5K7145626   GM          CRUZE                JACKSONVILLE             FL
16263   1G1BE5SM5K7145688   GM          CRUZE                MIAMI                    FL
16264   1G1BE5SM5K7145948   GM          CRUZE                COCOA                    FL
16265   1G1BE5SM5K7146274   GM          CRUZE                FORT MYERS               FL
16266   1G1BE5SM5K7146372   GM          CRUZE                Miami                    FL
16267   1G1BE5SM5K7146517   GM          CRUZE                Morrisville              NC
16268   1G1BE5SM5K7146579   GM          CRUZE                SARASOTA                 FL
16269   1G1BE5SM5K7146940   GM          CRUZE                ORLANDO                  FL
16270   1G1BE5SM5K7146971   GM          CRUZE                FORT MYERS               FL
16271   1G1BE5SM5K7147425   GM          CRUZE                TAMPA                    FL
16272   1G1BE5SM6G7326953   GM          CRUZE                NORTH PAC                CA
16273   1G1BE5SM6H7133316   GM          CRUZE                FORT MYERS               FL
16274   1G1BE5SM6H7137270   GM          CRUZE                TAMPA                    FL
16275   1G1BE5SM6H7138869   GM          CRUZE                NORTH HOLLYWOOD          CA
16276   1G1BE5SM6H7169863   GM          CRUZE                MORROW                   GA
16277   1G1BE5SM6H7244982   GM          CRUZE                Miami                    FL
16278   1G1BE5SM6H7271521   GM          CRUZE                NORTH HOLLYWOOD          CA
16279   1G1BE5SM6J7104839   GM          CRUZE                ONTARIO                  CA
16280   1G1BE5SM6J7106042   GM          CRUZE                BURBANK                  CA
16281   1G1BE5SM6J7106106   GM          CRUZE                n hollywood              ca
16282   1G1BE5SM6J7106493   GM          CRUZE                Rio Linda                CA
16283   1G1BE5SM6J7106655   GM          CRUZE                LAS VEGAS                NV
16284   1G1BE5SM6J7106719   GM          CRUZE                Davie                    FL
16285   1G1BE5SM6J7106980   GM          CRUZE                SAN DIEGO                CA
16286   1G1BE5SM6J7107286   GM          CRUZE                NORTH PAC                CA
16287   1G1BE5SM6J7107496   GM          CRUZE                STERLING                 VA
16288   1G1BE5SM6J7107546   GM          CRUZE                NEWPORT BEACH            CA
16289   1G1BE5SM6J7107840   GM          CRUZE                BURBANK                  CA
16290   1G1BE5SM6J7107949   GM          CRUZE                BURBANK                  CA
16291   1G1BE5SM6J7107966   GM          CRUZE                LOS ANGELES              CA
16292   1G1BE5SM6J7108003   GM          CRUZE                Sacramento               CA
16293   1G1BE5SM6J7108048   GM          CRUZE                BURBANK                  CA
16294   1G1BE5SM6J7108311   GM          CRUZE                LOS ANGELES              CA
16295   1G1BE5SM6J7108390   GM          CRUZE                BURBANK                  CA
16296   1G1BE5SM6J7108406   GM          CRUZE                CENTRAL DIST OFFC        OK
16297   1G1BE5SM6J7108521   GM          CRUZE                Lake Elsinore            CA
16298   1G1BE5SM6J7108549   GM          CRUZE                North Las Vegas          NV
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16299   1G1BE5SM6J7108650   GM          CRUZE                CHICAGO                  IL
16300   1G1BE5SM6J7108664   GM          CRUZE                LOS ANGELES              CA
16301   1G1BE5SM6J7108809   GM          CRUZE                BURBANK                  CA
16302   1G1BE5SM6J7108888   GM          CRUZE                South San Franc          CA
16303   1G1BE5SM6J7108941   GM          CRUZE                BURBANK                  CA
16304   1G1BE5SM6J7108986   GM          CRUZE                Chicago                  IL
16305   1G1BE5SM6J7109393   GM          CRUZE                NORTH PAC                CA
16306   1G1BE5SM6J7109412   GM          CRUZE                Hayward                  CA
16307   1G1BE5SM6J7110138   GM          CRUZE                DENVER                   CO
16308   1G1BE5SM6J7110429   GM          CRUZE                Atlanta                  GA
16309   1G1BE5SM6J7110785   GM          CRUZE                SAN DIEGO                CA
16310   1G1BE5SM6J7110804   GM          CRUZE                SEATTLE                  WA
16311   1G1BE5SM6J7110852   GM          CRUZE                DAYTONA BEACH            FL
16312   1G1BE5SM6J7111273   GM          CRUZE                DAYTONA BEACH            FL
16313   1G1BE5SM6J7111483   GM          CRUZE                NORTH PAC                CA
16314   1G1BE5SM6J7113072   GM          CRUZE                Anaheim                  CA
16315   1G1BE5SM6J7113086   GM          CRUZE                TRACY                    CA
16316   1G1BE5SM6J7113217   GM          CRUZE                LOS ANGELES              CA
16317   1G1BE5SM6J7113718   GM          CRUZE                Morrisville              NC
16318   1G1BE5SM6J7113959   GM          CRUZE                NORTH HOLLYWOOD          CA
16319   1G1BE5SM6J7114576   GM          CRUZE                Fort Lauderdale          FL
16320   1G1BE5SM6J7114903   GM          CRUZE                BURBANK                  CA
16321   1G1BE5SM6J7115002   GM          CRUZE                DALLAS                   TX
16322   1G1BE5SM6J7115324   GM          CRUZE                NORTH PAC                CA
16323   1G1BE5SM6J7115923   GM          CRUZE                MEDINA                   OH
16324   1G1BE5SM6J7116098   GM          CRUZE                BURBANK                  CA
16325   1G1BE5SM6J7116344   GM          CRUZE                BURBANK                  CA
16326   1G1BE5SM6J7118062   GM          CRUZE                Denver                   CO
16327   1G1BE5SM6J7119549   GM          CRUZE                ATLANTA                  GA
16328   1G1BE5SM6J7120040   GM          CRUZE                DENVER                   CO
16329   1G1BE5SM6J7120555   GM          CRUZE                HANOVER                  MD
16330   1G1BE5SM6J7121009   GM          CRUZE                DARLINGTON               SC
16331   1G1BE5SM6J7121298   GM          CRUZE                LOS ANGELES              CA
16332   1G1BE5SM6J7121897   GM          CRUZE                Fontana                  CA
16333   1G1BE5SM6J7122127   GM          CRUZE                BURBANK                  CA
16334   1G1BE5SM6J7122399   GM          CRUZE                Atlanta                  GA
16335   1G1BE5SM6J7122449   GM          CRUZE                MYRTLE BEACH             US
16336   1G1BE5SM6J7122743   GM          CRUZE                BURBANK                  CA
16337   1G1BE5SM6J7124279   GM          CRUZE                Winston‐Salem            NC
16338   1G1BE5SM6J7136240   GM          CRUZE                ALEXANDRIA               VA
16339   1G1BE5SM6J7138618   GM          CRUZE                CHARLOTTE                NC
16340   1G1BE5SM6J7140756   GM          CRUZE                DAYTONA BEACH            FL
16341   1G1BE5SM6J7140854   GM          CRUZE                Ft. Myers                FL
16342   1G1BE5SM6J7143415   GM          CRUZE                Portland                 OR
16343   1G1BE5SM6J7152597   GM          CRUZE                PHOENIX                  AZ
16344   1G1BE5SM6J7152678   GM          CRUZE                Davie                    FL
16345   1G1BE5SM6J7153555   GM          CRUZE                North Las Vegas          NV
16346   1G1BE5SM6J7153930   GM          CRUZE                BOSTON                   MA
16347   1G1BE5SM6J7154169   GM          CRUZE                Pompano Beach            FL
16348   1G1BE5SM6J7154253   GM          CRUZE                FORT LAUDERDALE          FL
16349   1G1BE5SM6J7154480   GM          CRUZE                BURBANK                  CA
16350   1G1BE5SM6J7154639   GM          CRUZE                Tampa                    FL
16351   1G1BE5SM6J7154897   GM          CRUZE                DANIA BEACH              FL
16352   1G1BE5SM6J7155886   GM          CRUZE                AIEA                     HI
16353   1G1BE5SM6J7156097   GM          CRUZE                Hayward                  CA
16354   1G1BE5SM6J7156133   GM          CRUZE                NORTH PAC                CA
16355   1G1BE5SM6J7156407   GM          CRUZE                BURBANK                  CA
16356   1G1BE5SM6J7156603   GM          CRUZE                Honolulu                 HI
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16357   1G1BE5SM6J7156973   GM          CRUZE                RICHMOND                 VA
16358   1G1BE5SM6J7157251   GM          CRUZE                Hayward                  CA
16359   1G1BE5SM6J7158156   GM          CRUZE                North Dighton            MA
16360   1G1BE5SM6J7158268   GM          CRUZE                KAHULUI                  HI
16361   1G1BE5SM6J7158335   GM          CRUZE                Fresno                   CA
16362   1G1BE5SM6J7158397   GM          CRUZE                Hebron                   KY
16363   1G1BE5SM6J7159372   GM          CRUZE                Hayward                  CA
16364   1G1BE5SM6J7163292   GM          CRUZE                ORLANDO                  FL
16365   1G1BE5SM6J7163972   GM          CRUZE                Sacramento               CA
16366   1G1BE5SM6J7164264   GM          CRUZE                North Dighton            MA
16367   1G1BE5SM6J7164457   GM          CRUZE                ALBUQUERQUE              NM
16368   1G1BE5SM6J7164989   GM          CRUZE                BURBANK                  CA
16369   1G1BE5SM6J7165348   GM          CRUZE                SPRINGFIELD              VA
16370   1G1BE5SM6J7165463   GM          CRUZE                Johnston                 RI
16371   1G1BE5SM6J7165897   GM          CRUZE                San Antonio              TX
16372   1G1BE5SM6J7166208   GM          CRUZE                Hapeville                GA
16373   1G1BE5SM6J7166600   GM          CRUZE                LOS ANGELES              CA
16374   1G1BE5SM6J7170842   GM          CRUZE                CHARLOTTE                NC
16375   1G1BE5SM6J7171215   GM          CRUZE                Pasadena                 CA
16376   1G1BE5SM6J7172851   GM          CRUZE                BURBANK                  CA
16377   1G1BE5SM6J7173742   GM          CRUZE                Davie                    FL
16378   1G1BE5SM6J7174096   GM          CRUZE                Lake Elsinore            CA
16379   1G1BE5SM6J7174518   GM          CRUZE                BURBANK                  CA
16380   1G1BE5SM6J7176334   GM          CRUZE                SEATAC                   WA
16381   1G1BE5SM6J7176544   GM          CRUZE                SEATAC                   WA
16382   1G1BE5SM6J7177077   GM          CRUZE                Davie                    FL
16383   1G1BE5SM6J7177628   GM          CRUZE                Scottsdale               AZ
16384   1G1BE5SM6J7178164   GM          CRUZE                Fontana                  CA
16385   1G1BE5SM6J7182490   GM          CRUZE                Atlanta                  GA
16386   1G1BE5SM6J7182778   GM          CRUZE                Sacramento               CA
16387   1G1BE5SM6J7183347   GM          CRUZE                BURBANK                  CA
16388   1G1BE5SM6J7183798   GM          CRUZE                SAVANNAH                 GA
16389   1G1BE5SM6J7184448   GM          CRUZE                BURBANK                  CA
16390   1G1BE5SM6J7185437   GM          CRUZE                NORTH PAC                CA
16391   1G1BE5SM6J7185535   GM          CRUZE                BURBANK                  CA
16392   1G1BE5SM6J7186779   GM          CRUZE                LAS VEGAS                NV
16393   1G1BE5SM6J7187060   GM          CRUZE                PORTLAND                 OR
16394   1G1BE5SM6J7187267   GM          CRUZE                LOS ANGELES              CA
16395   1G1BE5SM6J7187558   GM          CRUZE                NORTH PAC                CA
16396   1G1BE5SM6J7187589   GM          CRUZE                Riverside                CA
16397   1G1BE5SM6J7189293   GM          CRUZE                Pasadena                 CA
16398   1G1BE5SM6J7190105   GM          CRUZE                Portland                 OR
16399   1G1BE5SM6J7191108   GM          CRUZE                BURBANK                  CA
16400   1G1BE5SM6J7191416   GM          CRUZE                BURBANK                  CA
16401   1G1BE5SM6J7191531   GM          CRUZE                Dallas                   TX
16402   1G1BE5SM6J7191612   GM          CRUZE                SAN DIEGO                CA
16403   1G1BE5SM6J7192789   GM          CRUZE                ONTARIO                  CA
16404   1G1BE5SM6J7193019   GM          CRUZE                NORTH PAC                CA
16405   1G1BE5SM6J7193764   GM          CRUZE                SANTA ANA                CA
16406   1G1BE5SM6J7195207   GM          CRUZE                Santa Clara              CA
16407   1G1BE5SM6J7195465   GM          CRUZE                GRAND ISLAND AP          NE
16408   1G1BE5SM6J7195756   GM          CRUZE                PHOENIX                  AZ
16409   1G1BE5SM6J7196244   GM          CRUZE                Portland                 OR
16410   1G1BE5SM6J7196499   GM          CRUZE                North Las Vegas          NV
16411   1G1BE5SM6J7197877   GM          CRUZE                Lake in the Hil          IL
16412   1G1BE5SM6J7198589   GM          CRUZE                BURBANK                  CA
16413   1G1BE5SM6J7199239   GM          CRUZE                CHARLOTTE                NC
16414   1G1BE5SM6J7199421   GM          CRUZE                Sacramento               CA
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16415   1G1BE5SM6J7199838   GM          CRUZE                SOUTHWEST DEALER D       TX
16416   1G1BE5SM6J7200762   GM          CRUZE                ROSEVILLE                CA
16417   1G1BE5SM6J7202933   GM          CRUZE                Alcoa                    TN
16418   1G1BE5SM6J7206576   GM          CRUZE                SACRAMENTO               CA
16419   1G1BE5SM6J7207078   GM          CRUZE                NORTH PAC                CA
16420   1G1BE5SM6J7207162   GM          CRUZE                PHOENIX                  AZ
16421   1G1BE5SM6J7208523   GM          CRUZE                SAN JOSE                 CA
16422   1G1BE5SM6J7209574   GM          CRUZE                Newark                   NJ
16423   1G1BE5SM6J7216282   GM          CRUZE                MILWAUKEE                WI
16424   1G1BE5SM6J7217108   GM          CRUZE                HUNLOCK CREEK            PA
16425   1G1BE5SM6J7217822   GM          CRUZE                TAMPA                    FL
16426   1G1BE5SM6J7218100   GM          CRUZE                ORLANDO                  FL
16427   1G1BE5SM6J7220154   GM          CRUZE                BURBANK                  CA
16428   1G1BE5SM6J7220302   GM          CRUZE                BURBANK                  CA
16429   1G1BE5SM6J7222583   GM          CRUZE                Stockton                 CA
16430   1G1BE5SM6J7223197   GM          CRUZE                NORTH PAC                CA
16431   1G1BE5SM6J7223801   GM          CRUZE                Clearwater               FL
16432   1G1BE5SM6J7227900   GM          CRUZE                ST Paul                  MN
16433   1G1BE5SM6J7228416   GM          CRUZE                DENVER                   CO
16434   1G1BE5SM6J7228657   GM          CRUZE                Lynn                     MA
16435   1G1BE5SM6J7229081   GM          CRUZE                BURBANK                  CA
16436   1G1BE5SM6J7229856   GM          CRUZE                FRESNO                   CA
16437   1G1BE5SM6J7229887   GM          CRUZE                LAS VEGAS                NV
16438   1G1BE5SM6J7231364   GM          CRUZE                Cedar Rapids             IA
16439   1G1BE5SM6J7231901   GM          CRUZE                DETROIT                  MI
16440   1G1BE5SM6J7232241   GM          CRUZE                Cranberry Towns          PA
16441   1G1BE5SM6J7232370   GM          CRUZE                Oklahoma City            OK
16442   1G1BE5SM6J7233471   GM          CRUZE                FRESNO                   CA
16443   1G1BE5SM6J7237536   GM          CRUZE                SACRAMENTO               CA
16444   1G1BE5SM6J7237570   GM          CRUZE                BURBANK                  CA
16445   1G1BE5SM6J7237682   GM          CRUZE                LAS VEGAS                NV
16446   1G1BE5SM6J7237780   GM          CRUZE                RONKONKOMA               NY
16447   1G1BE5SM6J7238900   GM          CRUZE                BURBANK                  CA
16448   1G1BE5SM6J7239061   GM          CRUZE                NEW BERN                 NC
16449   1G1BE5SM6J7239304   GM          CRUZE                BURBANK                  CA
16450   1G1BE5SM6J7239979   GM          CRUZE                LOS ANGELES              CA
16451   1G1BE5SM6J7240145   GM          CRUZE                Bridgeton                MO
16452   1G1BE5SM6J7240260   GM          CRUZE                BURBANK                  CA
16453   1G1BE5SM6J7240596   GM          CRUZE                Burien                   WA
16454   1G1BE5SM6J7240811   GM          CRUZE                BURBANK                  CA
16455   1G1BE5SM6J7243143   GM          CRUZE                PALM SPRINGS             CA
16456   1G1BE5SM6J7243773   GM          CRUZE                Santa Clara              CA
16457   1G1BE5SM6J7244132   GM          CRUZE                FORT MYERS               FL
16458   1G1BE5SM6J7244471   GM          CRUZE                FRESNO                   CA
16459   1G1BE5SM6J7244745   GM          CRUZE                BURBANK                  CA
16460   1G1BE5SM6K7106592   GM          CRUZE                BURBANK                  CA
16461   1G1BE5SM6K7106978   GM          CRUZE                FULLERTON                CA
16462   1G1BE5SM6K7106981   GM          CRUZE                DENVER                   CO
16463   1G1BE5SM6K7107208   GM          CRUZE                BURBANK                  CA
16464   1G1BE5SM6K7107435   GM          CRUZE                LAS VEGAS                NV
16465   1G1BE5SM6K7107497   GM          CRUZE                Ventura                  CA
16466   1G1BE5SM6K7107578   GM          CRUZE                FRESNO                   CA
16467   1G1BE5SM6K7107886   GM          CRUZE                Ventura                  CA
16468   1G1BE5SM6K7108357   GM          CRUZE                TAMPA                    FL
16469   1G1BE5SM6K7108617   GM          CRUZE                STERLING                 VA
16470   1G1BE5SM6K7109105   GM          CRUZE                SARASOTA                 FL
16471   1G1BE5SM6K7110240   GM          CRUZE                JACKSONVILLE             FL
16472   1G1BE5SM6K7111372   GM          CRUZE                SAN JOSE                 CA
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16473   1G1BE5SM6K7111615   GM          CRUZE                WEST PALM BEACH          FL
16474   1G1BE5SM6K7112604   GM          CRUZE                JACKSONVILLE             FL
16475   1G1BE5SM6K7112716   GM          CRUZE                ORLANDO                  FL
16476   1G1BE5SM6K7112814   GM          CRUZE                ORLANDO                  FL
16477   1G1BE5SM6K7112831   GM          CRUZE                JACKSONVILLE             FL
16478   1G1BE5SM6K7112909   GM          CRUZE                Dallas                   TX
16479   1G1BE5SM6K7113008   GM          CRUZE                Stone Mountain           GA
16480   1G1BE5SM6K7113915   GM          CRUZE                SOUTHEAST DST OFFC       OK
16481   1G1BE5SM6K7114014   GM          CRUZE                San Antonio              TX
16482   1G1BE5SM6K7115342   GM          CRUZE                Santa Clara              CA
16483   1G1BE5SM6K7115518   GM          CRUZE                PHOENIX                  AZ
16484   1G1BE5SM6K7115521   GM          CRUZE                ORLANDO                  FL
16485   1G1BE5SM6K7115891   GM          CRUZE                TAMPA                    FL
16486   1G1BE5SM6K7116278   GM          CRUZE                SANTA ANA                CA
16487   1G1BE5SM6K7116507   GM          CRUZE                Statesville              NC
16488   1G1BE5SM6K7116524   GM          CRUZE                WEST PALM BEACH          FL
16489   1G1BE5SM6K7116636   GM          CRUZE                ORLANDO                  FL
16490   1G1BE5SM6K7116880   GM          CRUZE                JACKSONVILLE             FL
16491   1G1BE5SM6K7117074   GM          CRUZE                ORLANDO                  FL
16492   1G1BE5SM6K7117379   GM          CRUZE                FORT MYERS               FL
16493   1G1BE5SM6K7117446   GM          CRUZE                FORT LAUDERDALE          FL
16494   1G1BE5SM6K7117480   GM          CRUZE                JACKSONVILLE             FL
16495   1G1BE5SM6K7117608   GM          CRUZE                SARASOTA                 FL
16496   1G1BE5SM6K7117625   GM          CRUZE                FORT LAUDERDALE          FL
16497   1G1BE5SM6K7118063   GM          CRUZE                FORT MYERS               FL
16498   1G1BE5SM6K7118113   GM          CRUZE                MIAMI                    FL
16499   1G1BE5SM6K7118127   GM          CRUZE                FORT LAUDERDALE          FL
16500   1G1BE5SM6K7118144   GM          CRUZE                Dallas                   TX
16501   1G1BE5SM6K7118273   GM          CRUZE                FORT LAUDERDALE          FL
16502   1G1BE5SM6K7118287   GM          CRUZE                FORT MYERS               FL
16503   1G1BE5SM6K7118404   GM          CRUZE                Miami                    FL
16504   1G1BE5SM6K7118726   GM          CRUZE                LOS ANGELES              CA
16505   1G1BE5SM6K7118743   GM          CRUZE                ORLANDO                  FL
16506   1G1BE5SM6K7118824   GM          CRUZE                WEST PALM BEACH          FL
16507   1G1BE5SM6K7119035   GM          CRUZE                ATLANTA                  GA
16508   1G1BE5SM6K7119102   GM          CRUZE                ORLANDO                  FL
16509   1G1BE5SM6K7119312   GM          CRUZE                SARASOTA                 FL
16510   1G1BE5SM6K7119486   GM          CRUZE                FORT MYERS               FL
16511   1G1BE5SM6K7119567   GM          CRUZE                FORT MYERS               FL
16512   1G1BE5SM6K7119780   GM          CRUZE                FT. LAUDERDALE           FL
16513   1G1BE5SM6K7119973   GM          CRUZE                COLUMBIA                 SC
16514   1G1BE5SM6K7120153   GM          CRUZE                TAMPA                    FL
16515   1G1BE5SM6K7120590   GM          CRUZE                Miami                    FL
16516   1G1BE5SM6K7120850   GM          CRUZE                ORLANDO                  FL
16517   1G1BE5SM6K7120881   GM          CRUZE                FORT MYERS               FL
16518   1G1BE5SM6K7121044   GM          CRUZE                SARASOTA                 FL
16519   1G1BE5SM6K7121318   GM          CRUZE                FORT MYERS               FL
16520   1G1BE5SM6K7121349   GM          CRUZE                WEST PALM BEACH          FL
16521   1G1BE5SM6K7121626   GM          CRUZE                FORT MYERS               FL
16522   1G1BE5SM6K7122646   GM          CRUZE                ORLANDO                  FL
16523   1G1BE5SM6K7122999   GM          CRUZE                FORT MYERS               FL
16524   1G1BE5SM6K7123120   GM          CRUZE                TAMPA                    FL
16525   1G1BE5SM6K7123134   GM          CRUZE                ORLANDO                  FL
16526   1G1BE5SM6K7123215   GM          CRUZE                FORT MYERS               FL
16527   1G1BE5SM6K7123229   GM          CRUZE                TAMPA                    FL
16528   1G1BE5SM6K7123294   GM          CRUZE                FORT MYERS               FL
16529   1G1BE5SM6K7123439   GM          CRUZE                Florissant               MO
16530   1G1BE5SM6K7123893   GM          CRUZE                ORLANDO                  FL
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16531   1G1BE5SM6K7124154   GM          CRUZE                SARASOTA                 FL
16532   1G1BE5SM6K7124364   GM          CRUZE                JACKSONVILLE             FL
16533   1G1BE5SM6K7124428   GM          CRUZE                ORLANDO                  FL
16534   1G1BE5SM6K7124686   GM          CRUZE                FORT LAUDERDALE          FL
16535   1G1BE5SM6K7124980   GM          CRUZE                WEST PALM BEACH          FL
16536   1G1BE5SM6K7125594   GM          CRUZE                MIAMI                    FL
16537   1G1BE5SM6K7138491   GM          CRUZE                FORT MYERS               FL
16538   1G1BE5SM6K7138541   GM          CRUZE                TAMPA                    US
16539   1G1BE5SM6K7138703   GM          CRUZE                ORLANDO                  FL
16540   1G1BE5SM6K7138930   GM          CRUZE                CLARKSVILLE              IN
16541   1G1BE5SM6K7139009   GM          CRUZE                FORT LAUDERDALE          FL
16542   1G1BE5SM6K7139088   GM          CRUZE                TAMPA                    US
16543   1G1BE5SM6K7139284   GM          CRUZE                MEMPHIS                  TN
16544   1G1BE5SM6K7139303   GM          CRUZE                Florissant               MO
16545   1G1BE5SM6K7139365   GM          CRUZE                FORT LAUDERDALE          FL
16546   1G1BE5SM6K7139866   GM          CRUZE                Austin                   TX
16547   1G1BE5SM6K7140189   GM          CRUZE                TAMPA                    FL
16548   1G1BE5SM6K7140239   GM          CRUZE                TAMPA                    FL
16549   1G1BE5SM6K7140404   GM          CRUZE                DALLAS                   TX
16550   1G1BE5SM6K7140659   GM          CRUZE                FORT LAUDERDALE          FL
16551   1G1BE5SM6K7141245   GM          CRUZE                ORLANDO                  FL
16552   1G1BE5SM6K7142413   GM          CRUZE                PHILADELPHIA             PA
16553   1G1BE5SM6K7142606   GM          CRUZE                Indianapolis             IN
16554   1G1BE5SM6K7143402   GM          CRUZE                TAMPA                    FL
16555   1G1BE5SM6K7144114   GM          CRUZE                WHITE PLAINS             NY
16556   1G1BE5SM6K7144193   GM          CRUZE                TAMPA                    FL
16557   1G1BE5SM6K7144355   GM          CRUZE                MIAMI                    FL
16558   1G1BE5SM6K7144419   GM          CRUZE                SARASOTA                 FL
16559   1G1BE5SM6K7144520   GM          CRUZE                PLEASANTON               CA
16560   1G1BE5SM6K7144534   GM          CRUZE                FORT LAUDERDALE          FL
16561   1G1BE5SM6K7144548   GM          CRUZE                ORLANDO                  FL
16562   1G1BE5SM6K7144579   GM          CRUZE                MIAMI                    FL
16563   1G1BE5SM6K7144582   GM          CRUZE                Slidell                  LA
16564   1G1BE5SM6K7144596   GM          CRUZE                CHICAGO O'HARE AP        IL
16565   1G1BE5SM6K7144632   GM          CRUZE                Coraopolis               PA
16566   1G1BE5SM6K7144825   GM          CRUZE                FORT MYERS               FL
16567   1G1BE5SM6K7144839   GM          CRUZE                Detroit                  MI
16568   1G1BE5SM6K7144856   GM          CRUZE                DALLAS                   TX
16569   1G1BE5SM6K7144971   GM          CRUZE                WEST PALM BEACH          FL
16570   1G1BE5SM6K7144985   GM          CRUZE                SARASOTA                 FL
16571   1G1BE5SM6K7145070   GM          CRUZE                ORLANDO                  FL
16572   1G1BE5SM6K7145148   GM          CRUZE                DALLAS                   TX
16573   1G1BE5SM6K7145182   GM          CRUZE                TAMPA                    FL
16574   1G1BE5SM6K7145232   GM          CRUZE                HOUSTON                  TX
16575   1G1BE5SM6K7145666   GM          CRUZE                ORLANDO                  FL
16576   1G1BE5SM6K7145795   GM          CRUZE                FORT LAUDERDALE          FL
16577   1G1BE5SM6K7145845   GM          CRUZE                ORLANDO                  FL
16578   1G1BE5SM6K7146123   GM          CRUZE                FORT LAUDERDALE          FL
16579   1G1BE5SM6K7146171   GM          CRUZE                WEST PALM BEACH          FL
16580   1G1BE5SM6K7146218   GM          CRUZE                Live Oak                 TX
16581   1G1BE5SM6K7146302   GM          CRUZE                Bensalem                 PA
16582   1G1BE5SM6K7146431   GM          CRUZE                SAINT PAUL               MN
16583   1G1BE5SM6K7146462   GM          CRUZE                FORT LAUDERDALE          FL
16584   1G1BE5SM6K7146557   GM          CRUZE                WEST PALM BEACH          FL
16585   1G1BE5SM6K7146591   GM          CRUZE                FORT LAUDERDALE          FL
16586   1G1BE5SM6K7146610   GM          CRUZE                Pittsburgh               PA
16587   1G1BE5SM6K7146798   GM          CRUZE                FLORIDA DEALER DIR       FL
16588   1G1BE5SM6K7147191   GM          CRUZE                Scottsdale               AZ
        VIN
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16589   1G1BE5SM6K7147238   GM          CRUZE                Saint Paul               MN
16590   1G1BE5SM6K7147336   GM          CRUZE                MIAMI                    FL
16591   1G1BE5SM7H7238334   GM          CRUZE                PITTSBURGH               PA
16592   1G1BE5SM7J7102341   GM          CRUZE                NORTH PAC                CA
16593   1G1BE5SM7J7105921   GM          CRUZE                DENVER                   CO
16594   1G1BE5SM7J7105997   GM          CRUZE                BURBANK                  CA
16595   1G1BE5SM7J7106180   GM          CRUZE                Atlanta                  GA
16596   1G1BE5SM7J7106289   GM          CRUZE                S. San Francisc          CA
16597   1G1BE5SM7J7106406   GM          CRUZE                LOS ANGELES              CA
16598   1G1BE5SM7J7106437   GM          CRUZE                SANTA ANA                CA
16599   1G1BE5SM7J7106650   GM          CRUZE                Roseville                CA
16600   1G1BE5SM7J7107099   GM          CRUZE                BURBANK                  CA
16601   1G1BE5SM7J7107233   GM          CRUZE                Lake Elsinore            CA
16602   1G1BE5SM7J7107250   GM          CRUZE                BURBANK                  CA
16603   1G1BE5SM7J7107717   GM          CRUZE                NORTH PAC                CA
16604   1G1BE5SM7J7107930   GM          CRUZE                North Dighton            MA
16605   1G1BE5SM7J7108415   GM          CRUZE                SAN DIEGO                CA
16606   1G1BE5SM7J7108432   GM          CRUZE                North Las Vegas          NV
16607   1G1BE5SM7J7108883   GM          CRUZE                SAN JOSE                 CA
16608   1G1BE5SM7J7109631   GM          CRUZE                San Diego                CA
16609   1G1BE5SM7J7110424   GM          CRUZE                LOS ANGELES              CA
16610   1G1BE5SM7J7110746   GM          CRUZE                LOS ANGELES              CA
16611   1G1BE5SM7J7110939   GM          CRUZE                North Las Vegas          NV
16612   1G1BE5SM7J7111251   GM          CRUZE                Manheim                  PA
16613   1G1BE5SM7J7111377   GM          CRUZE                Atlanta                  GA
16614   1G1BE5SM7J7111914   GM          CRUZE                TRACY                    CA
16615   1G1BE5SM7J7112030   GM          CRUZE                Hartford                 CT
16616   1G1BE5SM7J7112397   GM          CRUZE                BURBANK                  CA
16617   1G1BE5SM7J7112447   GM          CRUZE                BURBANK                  CA
16618   1G1BE5SM7J7113565   GM          CRUZE                ORLANDO                  FL
16619   1G1BE5SM7J7114036   GM          CRUZE                Atlanta                  GA
16620   1G1BE5SM7J7115378   GM          CRUZE                NORTH HOLLYWOOD          CA
16621   1G1BE5SM7J7115672   GM          CRUZE                gardena                  ca
16622   1G1BE5SM7J7116319   GM          CRUZE                LOS ANGELES              CA
16623   1G1BE5SM7J7116725   GM          CRUZE                Fredericksburg           VA
16624   1G1BE5SM7J7121164   GM          CRUZE                FORT MYERS               FL
16625   1G1BE5SM7J7122072   GM          CRUZE                Clearwater               FL
16626   1G1BE5SM7J7123058   GM          CRUZE                NOTTINGHAM               MD
16627   1G1BE5SM7J7123402   GM          CRUZE                BOSTON                   MA
16628   1G1BE5SM7J7123433   GM          CRUZE                ORLANDO                  FL
16629   1G1BE5SM7J7123559   GM          CRUZE                Miami                    FL
16630   1G1BE5SM7J7124436   GM          CRUZE                HANOVER                  MD
16631   1G1BE5SM7J7124520   GM          CRUZE                Aurora                   CO
16632   1G1BE5SM7J7136666   GM          CRUZE                Tampa                    FL
16633   1G1BE5SM7J7137350   GM          CRUZE                Pittsburgh               PA
16634   1G1BE5SM7J7138949   GM          CRUZE                DAYTONA BEACH            FL
16635   1G1BE5SM7J7140121   GM          CRUZE                ORLANDO                  FL
16636   1G1BE5SM7J7141396   GM          CRUZE                Ft. Myers                FL
16637   1G1BE5SM7J7142788   GM          CRUZE                Las Vegas                NV
16638   1G1BE5SM7J7147411   GM          CRUZE                NORTH PAC                CA
16639   1G1BE5SM7J7151944   GM          CRUZE                Lynn                     MA
16640   1G1BE5SM7J7152561   GM          CRUZE                TAMPA                    FL
16641   1G1BE5SM7J7152835   GM          CRUZE                Estero                   FL
16642   1G1BE5SM7J7153466   GM          CRUZE                North Dighton            MA
16643   1G1BE5SM7J7154570   GM          CRUZE                TAMPA                    FL
16644   1G1BE5SM7J7154701   GM          CRUZE                Fredericksburg           VA
16645   1G1BE5SM7J7155086   GM          CRUZE                ST Paul                  MN
16646   1G1BE5SM7J7155993   GM          CRUZE                Elkridge                 MD
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16647   1G1BE5SM7J7156058   GM          CRUZE                CHICAGO                  IL
16648   1G1BE5SM7J7156139   GM          CRUZE                LOS ANGELES              CA
16649   1G1BE5SM7J7156173   GM          CRUZE                KAHULUI                  HI
16650   1G1BE5SM7J7156674   GM          CRUZE                Hayward                  CA
16651   1G1BE5SM7J7156786   GM          CRUZE                DANIA BEACH              FL
16652   1G1BE5SM7J7157520   GM          CRUZE                BURBANK                  CA
16653   1G1BE5SM7J7157596   GM          CRUZE                DOWNEY                   CA
16654   1G1BE5SM7J7157839   GM          CRUZE                Maple Grove              MN
16655   1G1BE5SM7J7157940   GM          CRUZE                KAHULUI                  HI
16656   1G1BE5SM7J7158022   GM          CRUZE                S. San Francisc          CA
16657   1G1BE5SM7J7158151   GM          CRUZE                CHICAGO                  IL
16658   1G1BE5SM7J7159204   GM          CRUZE                Fresno                   CA
16659   1G1BE5SM7J7159266   GM          CRUZE                PLEASANTON               CA
16660   1G1BE5SM7J7163303   GM          CRUZE                NEW ENGLAND DEALER       MA
16661   1G1BE5SM7J7163320   GM          CRUZE                DES MOINES               IA
16662   1G1BE5SM7J7163608   GM          CRUZE                RICHMOND                 VA
16663   1G1BE5SM7J7164743   GM          CRUZE                BURBANK                  CA
16664   1G1BE5SM7J7165181   GM          CRUZE                MELROSE PARK             IL
16665   1G1BE5SM7J7165469   GM          CRUZE                Manheim                  PA
16666   1G1BE5SM7J7165861   GM          CRUZE                BURBANK                  CA
16667   1G1BE5SM7J7165875   GM          CRUZE                NORTH PAC                CA
16668   1G1BE5SM7J7166055   GM          CRUZE                Sanford                  FL
16669   1G1BE5SM7J7166279   GM          CRUZE
16670   1G1BE5SM7J7170395   GM          CRUZE                TAMPA                    FL
16671   1G1BE5SM7J7171546   GM          CRUZE                CHARLOTTE                NC
16672   1G1BE5SM7J7171854   GM          CRUZE                NORTH PAC                CA
16673   1G1BE5SM7J7172194   GM          CRUZE                CHICAGO                  IL
16674   1G1BE5SM7J7173622   GM          CRUZE                Scottsdale               AZ
16675   1G1BE5SM7J7173877   GM          CRUZE                Mira Loma                CA
16676   1G1BE5SM7J7174107   GM          CRUZE                Las Vegas                NV
16677   1G1BE5SM7J7175001   GM          CRUZE                WILMINGTON               CA
16678   1G1BE5SM7J7175175   GM          CRUZE                San Antonio              TX
16679   1G1BE5SM7J7175970   GM          CRUZE                NORTH PAC                CA
16680   1G1BE5SM7J7176973   GM          CRUZE                CLEVELAND                OH
16681   1G1BE5SM7J7177301   GM          CRUZE                PHOENIX                  AZ
16682   1G1BE5SM7J7178707   GM          CRUZE                Las Vegas                NV
16683   1G1BE5SM7J7180215   GM          CRUZE                Anaheim                  CA
16684   1G1BE5SM7J7182451   GM          CRUZE                FRESNO                   CA
16685   1G1BE5SM7J7183048   GM          CRUZE                ONTARIO                  CA
16686   1G1BE5SM7J7183471   GM          CRUZE                San Diego                CA
16687   1G1BE5SM7J7183728   GM          CRUZE                Norwalk                  CA
16688   1G1BE5SM7J7183843   GM          CRUZE                SANTA ANA                CA
16689   1G1BE5SM7J7184023   GM          CRUZE                LOS ANGELES              CA
16690   1G1BE5SM7J7185026   GM          CRUZE                Anaheim                  CA
16691   1G1BE5SM7J7185091   GM          CRUZE                FRESNO                   CA
16692   1G1BE5SM7J7185821   GM          CRUZE                Scottsdale               AZ
16693   1G1BE5SM7J7186595   GM          CRUZE                North Las Vegas          NV
16694   1G1BE5SM7J7186984   GM          CRUZE                SANTA ANA                CA
16695   1G1BE5SM7J7187942   GM          CRUZE                Las Vegas                NV
16696   1G1BE5SM7J7188735   GM          CRUZE                Santa Clara              CA
16697   1G1BE5SM7J7189514   GM          CRUZE                NORTH PAC                CA
16698   1G1BE5SM7J7190355   GM          CRUZE                LOS ANGELES              CA
16699   1G1BE5SM7J7190632   GM          CRUZE                BURBANK                  CA
16700   1G1BE5SM7J7190677   GM          CRUZE                LOS ANGELES              CA
16701   1G1BE5SM7J7190713   GM          CRUZE                PHOENIX                  AZ
16702   1G1BE5SM7J7191098   GM          CRUZE                NORTH PAC                CA
16703   1G1BE5SM7J7191716   GM          CRUZE                NORTH PAC                CA
16704   1G1BE5SM7J7191926   GM          CRUZE                BURBANK                  CA
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16705   1G1BE5SM7J7192168   GM          CRUZE                BURBANK                  CA
16706   1G1BE5SM7J7192820   GM          CRUZE                BURBANK                  CA
16707   1G1BE5SM7J7193711   GM          CRUZE                CHICAGO                  IL
16708   1G1BE5SM7J7196771   GM          CRUZE                EL SEGUNDO               CA
16709   1G1BE5SM7J7197550   GM          CRUZE                NORTH PAC                CA
16710   1G1BE5SM7J7198388   GM          CRUZE                OAKLAND                  CA
16711   1G1BE5SM7J7199346   GM          CRUZE                Charlotte                NC
16712   1G1BE5SM7J7199816   GM          CRUZE                Jacksonville             FL
16713   1G1BE5SM7J7201662   GM          CRUZE                Manheim                  PA
16714   1G1BE5SM7J7203153   GM          CRUZE                SAN FRANCISCO            CA
16715   1G1BE5SM7J7203539   GM          CRUZE                SAN JOSE                 CA
16716   1G1BE5SM7J7206568   GM          CRUZE                Portland                 OR
16717   1G1BE5SM7J7207042   GM          CRUZE                SAN JOSE                 CA
16718   1G1BE5SM7J7211396   GM          CRUZE                Austell                  GA
16719   1G1BE5SM7J7219014   GM          CRUZE                SOUTHEAST DST OFFC       OK
16720   1G1BE5SM7J7221071   GM          CRUZE                COSTA MESA               CA
16721   1G1BE5SM7J7221779   GM          CRUZE                LAS VEGAS                NV
16722   1G1BE5SM7J7223886   GM          CRUZE                Salt Lake City           UT
16723   1G1BE5SM7J7223919   GM          CRUZE                BURBANK                  CA
16724   1G1BE5SM7J7226108   GM          CRUZE                Tampa                    FL
16725   1G1BE5SM7J7226285   GM          CRUZE                NORFOLK                  VA
16726   1G1BE5SM7J7228361   GM          CRUZE                KNOXVILLE                TN
16727   1G1BE5SM7J7229171   GM          CRUZE                DETROIT                  MI
16728   1G1BE5SM7J7229770   GM          CRUZE                Alcoa                    TN
16729   1G1BE5SM7J7233186   GM          CRUZE                DENVER                   CO
16730   1G1BE5SM7J7237495   GM          CRUZE                NORTH PAC                CA
16731   1G1BE5SM7J7237805   GM          CRUZE                Tolleson                 AZ
16732   1G1BE5SM7J7238310   GM          CRUZE                BURBANK                  CA
16733   1G1BE5SM7J7238789   GM          CRUZE                SAN JOSE                 CA
16734   1G1BE5SM7J7239179   GM          CRUZE                BURBANK                  CA
16735   1G1BE5SM7J7239294   GM          CRUZE                ST Paul                  MN
16736   1G1BE5SM7J7244558   GM          CRUZE                Pasadena                 CA
16737   1G1BE5SM7J7244575   GM          CRUZE                LOS ANGELES              CA
16738   1G1BE5SM7K7106679   GM          CRUZE                NORTH PAC                CA
16739   1G1BE5SM7K7106830   GM          CRUZE                Downey                   CA
16740   1G1BE5SM7K7106987   GM          CRUZE                WEST CENTRAL DEALE       CO
16741   1G1BE5SM7K7107010   GM          CRUZE                SAN FRANCISCO            CA
16742   1G1BE5SM7K7107184   GM          CRUZE                LOS ANGELES              CA
16743   1G1BE5SM7K7107251   GM          CRUZE                SAN DIEGO                CA
16744   1G1BE5SM7K7107640   GM          CRUZE                LAS VEGAS                NV
16745   1G1BE5SM7K7108030   GM          CRUZE                SAN LUIS OBSIPO          CA
16746   1G1BE5SM7K7108111   GM          CRUZE                TAMPA                    FL
16747   1G1BE5SM7K7108335   GM          CRUZE                FORT MYERS               FL
16748   1G1BE5SM7K7108559   GM          CRUZE                TAMPA                    FL
16749   1G1BE5SM7K7108657   GM          CRUZE                DETROIT                  MI
16750   1G1BE5SM7K7108805   GM          CRUZE                ORLANDO                  FL
16751   1G1BE5SM7K7108903   GM          CRUZE                ORLANDO                  FL
16752   1G1BE5SM7K7109162   GM          CRUZE                TAMPA                    FL
16753   1G1BE5SM7K7109212   GM          CRUZE                Warr Acres               OK
16754   1G1BE5SM7K7109856   GM          CRUZE                Nashville                TN
16755   1G1BE5SM7K7110022   GM          CRUZE                SARASOTA                 FL
16756   1G1BE5SM7K7110036   GM          CRUZE                ORLANDO                  FL
16757   1G1BE5SM7K7110098   GM          CRUZE                ORLANDO                  FL
16758   1G1BE5SM7K7110473   GM          CRUZE                JACKSONVILLE             FL
16759   1G1BE5SM7K7110621   GM          CRUZE                JACKSONVILLE             FL
16760   1G1BE5SM7K7112014   GM          CRUZE                Bridgeton                MO
16761   1G1BE5SM7K7112398   GM          CRUZE                Baltimore                MD
16762   1G1BE5SM7K7113664   GM          CRUZE                ORLANDO                  FL
        VIN
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16763   1G1BE5SM7K7114152   GM          CRUZE                SARASOTA                 FL
16764   1G1BE5SM7K7114555   GM          CRUZE                Miami                    FL
16765   1G1BE5SM7K7115477   GM          CRUZE                WEST PALM BEACH          FL
16766   1G1BE5SM7K7115530   GM          CRUZE                SACRAMENTO               CA
16767   1G1BE5SM7K7115723   GM          CRUZE                FORT LAUDERDALE          FL
16768   1G1BE5SM7K7116371   GM          CRUZE                FORT MYERS               FL
16769   1G1BE5SM7K7116385   GM          CRUZE                ORLANDO                  FL
16770   1G1BE5SM7K7116435   GM          CRUZE                FORT LAUDERDALE          FL
16771   1G1BE5SM7K7116452   GM          CRUZE                Houston                  TX
16772   1G1BE5SM7K7116564   GM          CRUZE                MEMPHIS                  TN
16773   1G1BE5SM7K7116936   GM          CRUZE                WEST PALM BEACH          FL
16774   1G1BE5SM7K7117083   GM          CRUZE                BRONX                    NY
16775   1G1BE5SM7K7117276   GM          CRUZE                MIAMI                    FL
16776   1G1BE5SM7K7117424   GM          CRUZE                Atlanta                  GA
16777   1G1BE5SM7K7117438   GM          CRUZE                FORT MYERS               FL
16778   1G1BE5SM7K7117648   GM          CRUZE                Warr Acres               OK
16779   1G1BE5SM7K7117763   GM          CRUZE                TAMPA                    FL
16780   1G1BE5SM7K7117892   GM          CRUZE                FORT MYERS               FL
16781   1G1BE5SM7K7117911   GM          CRUZE                FORT MYERS               FL
16782   1G1BE5SM7K7117973   GM          CRUZE                ORLANDO                  FL
16783   1G1BE5SM7K7118167   GM          CRUZE                ORLANDO                  FL
16784   1G1BE5SM7K7118170   GM          CRUZE                WEST PALM BEACH          FL
16785   1G1BE5SM7K7118590   GM          CRUZE                SANFORD                  FL
16786   1G1BE5SM7K7119139   GM          CRUZE                TAMPA                    FL
16787   1G1BE5SM7K7119402   GM          CRUZE                NEW YORK CITY            NY
16788   1G1BE5SM7K7119416   GM          CRUZE                JACKSONVILLE             FL
16789   1G1BE5SM7K7119562   GM          CRUZE                Harvey                   LA
16790   1G1BE5SM7K7119576   GM          CRUZE                ORLANDO                  FL
16791   1G1BE5SM7K7119643   GM          CRUZE                TAMPA                    US
16792   1G1BE5SM7K7119738   GM          CRUZE                WEST PALM BEACH          FL
16793   1G1BE5SM7K7119741   GM          CRUZE                FORT MYERS               FL
16794   1G1BE5SM7K7119853   GM          CRUZE                FORT MYERS               FL
16795   1G1BE5SM7K7119867   GM          CRUZE                DALLAS                   TX
16796   1G1BE5SM7K7119870   GM          CRUZE                ORLANDO                  FL
16797   1G1BE5SM7K7120386   GM          CRUZE                ORLANDO                  FL
16798   1G1BE5SM7K7120422   GM          CRUZE                Latham                   NY
16799   1G1BE5SM7K7120727   GM          CRUZE                FORT MYERS               FL
16800   1G1BE5SM7K7120758   GM          CRUZE                SARASOTA                 FL
16801   1G1BE5SM7K7120937   GM          CRUZE                Houston                  TX
16802   1G1BE5SM7K7120954   GM          CRUZE                FORT MYERS               FL
16803   1G1BE5SM7K7120971   GM          CRUZE                FORT MYERS               FL
16804   1G1BE5SM7K7121506   GM          CRUZE                FORT MYERS               FL
16805   1G1BE5SM7K7121585   GM          CRUZE                WEST PALM BEACH          FL
16806   1G1BE5SM7K7121649   GM          CRUZE                MIAMI                    FL
16807   1G1BE5SM7K7121778   GM          CRUZE                WEST PALM BEACH          FL
16808   1G1BE5SM7K7121781   GM          CRUZE                Atlanta                  GA
16809   1G1BE5SM7K7122218   GM          CRUZE                MIAMI                    FL
16810   1G1BE5SM7K7122414   GM          CRUZE                GAINESVILLE              FL
16811   1G1BE5SM7K7122798   GM          CRUZE                MONTEREY                 CA
16812   1G1BE5SM7K7123224   GM          CRUZE                TAMPA                    FL
16813   1G1BE5SM7K7123255   GM          CRUZE                MIAMI                    FL
16814   1G1BE5SM7K7123269   GM          CRUZE                TAMPA                    FL
16815   1G1BE5SM7K7123353   GM          CRUZE                ORLANDO                  FL
16816   1G1BE5SM7K7123885   GM          CRUZE                TAMPA                    US
16817   1G1BE5SM7K7123983   GM          CRUZE                FORT MYERS               FL
16818   1G1BE5SM7K7124096   GM          CRUZE                FORT LAUDERDALE          FL
16819   1G1BE5SM7K7124485   GM          CRUZE                FORT LAUDERDALE          FL
16820   1G1BE5SM7K7124583   GM          CRUZE                FORT LAUDERDALE          FL
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16821   1G1BE5SM7K7124678   GM          CRUZE                MIAMI                    FL
16822   1G1BE5SM7K7124907   GM          CRUZE                JACKSONVILLE             FL
16823   1G1BE5SM7K7125037   GM          CRUZE                FORT LAUDERDALE          FL
16824   1G1BE5SM7K7125118   GM          CRUZE                ORLANDO                  FL
16825   1G1BE5SM7K7139407   GM          CRUZE                WEST PALM BEACH          FL
16826   1G1BE5SM7K7140122   GM          CRUZE                FORT MYERS               FL
16827   1G1BE5SM7K7140329   GM          CRUZE                FORT LAUDERDALE          FL
16828   1G1BE5SM7K7140587   GM          CRUZE                TAMPA                    FL
16829   1G1BE5SM7K7140590   GM          CRUZE                ORLANDO                  FL
16830   1G1BE5SM7K7140654   GM          CRUZE                TAMPA                    FL
16831   1G1BE5SM7K7140895   GM          CRUZE                WEST PALM BEACH          FL
16832   1G1BE5SM7K7141030   GM          CRUZE                ORLANDO                  FL
16833   1G1BE5SM7K7141299   GM          CRUZE                TAMPA                    FL
16834   1G1BE5SM7K7141352   GM          CRUZE                ORLANDO                  FL
16835   1G1BE5SM7K7141755   GM          CRUZE                FORT MYERS               FL
16836   1G1BE5SM7K7142226   GM          CRUZE                ORLANDO                  FL
16837   1G1BE5SM7K7142386   GM          CRUZE                Slidell                  LA
16838   1G1BE5SM7K7144056   GM          CRUZE                Dallas                   TX
16839   1G1BE5SM7K7144168   GM          CRUZE                Lebanon                  TN
16840   1G1BE5SM7K7144302   GM          CRUZE                FORT LAUDERDALE          FL
16841   1G1BE5SM7K7144400   GM          CRUZE                LOS ANGELES              CA
16842   1G1BE5SM7K7144428   GM          CRUZE                NEW YORK CITY            NY
16843   1G1BE5SM7K7144512   GM          CRUZE                SARASOTA                 FL
16844   1G1BE5SM7K7144574   GM          CRUZE                ORLANDO                  FL
16845   1G1BE5SM7K7144669   GM          CRUZE                Cleveland                OH
16846   1G1BE5SM7K7144705   GM          CRUZE                PHILADELPHIA             PA
16847   1G1BE5SM7K7144719   GM          CRUZE                FORT MYERS               FL
16848   1G1BE5SM7K7144803   GM          CRUZE                TAMPA                    FL
16849   1G1BE5SM7K7144896   GM          CRUZE                FORT MYERS               FL
16850   1G1BE5SM7K7144929   GM          CRUZE                Des Moines               IA
16851   1G1BE5SM7K7144932   GM          CRUZE                TAMPA                    FL
16852   1G1BE5SM7K7145076   GM          CRUZE                ORLANDO                  FL
16853   1G1BE5SM7K7145417   GM          CRUZE                ORLANDO                  FL
16854   1G1BE5SM7K7145420   GM          CRUZE                TAMPA                    FL
16855   1G1BE5SM7K7145448   GM          CRUZE                Elgin                    IL
16856   1G1BE5SM7K7145708   GM          CRUZE                WEST PALM BEACH          FL
16857   1G1BE5SM7K7145837   GM          CRUZE                Harlingen                TX
16858   1G1BE5SM7K7146003   GM          CRUZE                DALLAS                   TX
16859   1G1BE5SM7K7146180   GM          CRUZE                FORT MYERS               FL
16860   1G1BE5SM7K7146275   GM          CRUZE                COLLEGE PARK             GA
16861   1G1BE5SM7K7146356   GM          CRUZE                TAMPA                    FL
16862   1G1BE5SM7K7146857   GM          CRUZE                DES MOINES               IA
16863   1G1BE5SM7K7146986   GM          CRUZE                Cleveland                OH
16864   1G1BE5SM7K7147538   GM          CRUZE                DENVER                   CO
16865   1G1BE5SM8G7235733   GM          CRUZE                CLEVELAND                OH
16866   1G1BE5SM8H7111995   GM          CRUZE                DETROIT                  MI
16867   1G1BE5SM8H7157116   GM          CRUZE                IRVINE                   TX
16868   1G1BE5SM8H7234664   GM          CRUZE                CHICAGO                  IL
16869   1G1BE5SM8H7236799   GM          CRUZE                STERLING                 VA
16870   1G1BE5SM8H7236950   GM          CRUZE                Memphis                  TN
16871   1G1BE5SM8H7246636   GM          CRUZE                CHARLOTTE                US
16872   1G1BE5SM8J7105586   GM          CRUZE                BURBANK                  CA
16873   1G1BE5SM8J7105779   GM          CRUZE                BOSTON                   MA
16874   1G1BE5SM8J7106169   GM          CRUZE                Fontana                  CA
16875   1G1BE5SM8J7106723   GM          CRUZE                BURBANK                  CA
16876   1G1BE5SM8J7106821   GM          CRUZE                SAN DIEGO                CA
16877   1G1BE5SM8J7107385   GM          CRUZE                PICO RIVERA              CA
16878   1G1BE5SM8J7107581   GM          CRUZE                TRACY                    CA
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16879   1G1BE5SM8J7107693   GM          CRUZE                Rio Linda                CA
16880   1G1BE5SM8J7109279   GM          CRUZE                LOS ANGELES              CA
16881   1G1BE5SM8J7111453   GM          CRUZE                NORTH HOLLYWOOD          CA
16882   1G1BE5SM8J7111694   GM          CRUZE                HANOVER                  MD
16883   1G1BE5SM8J7111842   GM          CRUZE                CLEVELAND                OH
16884   1G1BE5SM8J7112053   GM          CRUZE                Atlanta                  GA
16885   1G1BE5SM8J7112148   GM          CRUZE                Pasadena                 CA
16886   1G1BE5SM8J7112411   GM          CRUZE                BURBANK                  CA
16887   1G1BE5SM8J7112540   GM          CRUZE                INGLEWOOD                CA
16888   1G1BE5SM8J7112912   GM          CRUZE                NORTH PAC                CA
16889   1G1BE5SM8J7112943   GM          CRUZE                SAN JOSE                 CA
16890   1G1BE5SM8J7113185   GM          CRUZE                ELK GROVE                CA
16891   1G1BE5SM8J7113249   GM          CRUZE                NEW YORK DEALER DI       NJ
16892   1G1BE5SM8J7113641   GM          CRUZE                BALTIMORE                MD
16893   1G1BE5SM8J7114823   GM          CRUZE                NORTH PAC                CA
16894   1G1BE5SM8J7115020   GM          CRUZE                SPRINGFIELD              VA
16895   1G1BE5SM8J7115373   GM          CRUZE                BURBANK                  CA
16896   1G1BE5SM8J7115499   GM          CRUZE                Atlanta                  GA
16897   1G1BE5SM8J7115602   GM          CRUZE                Warwick                  RI
16898   1G1BE5SM8J7116362   GM          CRUZE                ORLANDO                  FL
16899   1G1BE5SM8J7117446   GM          CRUZE                Manheim                  PA
16900   1G1BE5SM8J7120878   GM          CRUZE                BURBANK                  CA
16901   1G1BE5SM8J7120993   GM          CRUZE                LOS ANGELES              CA
16902   1G1BE5SM8J7121061   GM          CRUZE                Miami                    FL
16903   1G1BE5SM8J7121108   GM          CRUZE                Fredericksburg           VA
16904   1G1BE5SM8J7121531   GM          CRUZE                Miami                    FL
16905   1G1BE5SM8J7121674   GM          CRUZE                North Dighton            MA
16906   1G1BE5SM8J7122260   GM          CRUZE                Atlanta                  GA
16907   1G1BE5SM8J7122453   GM          CRUZE                SANTA ANA                CA
16908   1G1BE5SM8J7122842   GM          CRUZE                NORTH PAC                CA
16909   1G1BE5SM8J7123439   GM          CRUZE                Torrance                 CA
16910   1G1BE5SM8J7123473   GM          CRUZE                DES PLAINES              IL
16911   1G1BE5SM8J7123490   GM          CRUZE                KENNER                   LA
16912   1G1BE5SM8J7123523   GM          CRUZE                BURBANK                  CA
16913   1G1BE5SM8J7124106   GM          CRUZE                SACRAMENTO               CA
16914   1G1BE5SM8J7134974   GM          CRUZE                Charlotte                NC
16915   1G1BE5SM8J7135381   GM          CRUZE                Elkridge                 MD
16916   1G1BE5SM8J7137387   GM          CRUZE                Atlanta                  GA
16917   1G1BE5SM8J7152990   GM          CRUZE                KAHULUI                  HI
16918   1G1BE5SM8J7153296   GM          CRUZE                Lihue                    HI
16919   1G1BE5SM8J7153962   GM          CRUZE                North Las Vegas          NV
16920   1G1BE5SM8J7154030   GM          CRUZE                Hartford                 CT
16921   1G1BE5SM8J7154965   GM          CRUZE                SANFORD                  FL
16922   1G1BE5SM8J7155193   GM          CRUZE                SAN ANTONIO              TX
16923   1G1BE5SM8J7155209   GM          CRUZE                KAHULUI                  HI
16924   1G1BE5SM8J7155663   GM          CRUZE                FORT LAUDERDALE          FL
16925   1G1BE5SM8J7156148   GM          CRUZE                BURBANK                  CA
16926   1G1BE5SM8J7157283   GM          CRUZE                LIHUE AP KAUAI           HI
16927   1G1BE5SM8J7157400   GM          CRUZE                LOS ANGELES              CA
16928   1G1BE5SM8J7157476   GM          CRUZE                HONOLULU                 HI
16929   1G1BE5SM8J7157851   GM          CRUZE                ORLANDO                  FL
16930   1G1BE5SM8J7158014   GM          CRUZE                Stockton                 CA
16931   1G1BE5SM8J7158790   GM          CRUZE                DAYTONA BEACH            FL
16932   1G1BE5SM8J7163374   GM          CRUZE                BOSTON                   MA
16933   1G1BE5SM8J7163424   GM          CRUZE                Tampa                    FL
16934   1G1BE5SM8J7163746   GM          CRUZE                Newark                   NJ
16935   1G1BE5SM8J7163827   GM          CRUZE                Sacramento               CA
16936   1G1BE5SM8J7163973   GM          CRUZE                DAYTONA BEACH            FL
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16937   1G1BE5SM8J7164377   GM          CRUZE                Austell                  GA
16938   1G1BE5SM8J7164394   GM          CRUZE                BURBANK                  CA
16939   1G1BE5SM8J7165674   GM          CRUZE                CLEVELAND                OH
16940   1G1BE5SM8J7165903   GM          CRUZE                MIDDLE RIVER             MD
16941   1G1BE5SM8J7170941   GM          CRUZE                BURBANK                  CA
16942   1G1BE5SM8J7171572   GM          CRUZE                Rockville Centr          NY
16943   1G1BE5SM8J7173077   GM          CRUZE                SOUTHEAST DST OFFC       OK
16944   1G1BE5SM8J7174052   GM          CRUZE                SAN DIEGO                CA
16945   1G1BE5SM8J7174861   GM          CRUZE                BURBANK                  CA
16946   1G1BE5SM8J7175301   GM          CRUZE                DES MOINES               IA
16947   1G1BE5SM8J7175542   GM          CRUZE                DAYTONA BEACH            FL
16948   1G1BE5SM8J7175718   GM          CRUZE                BURBANK                  CA
16949   1G1BE5SM8J7175928   GM          CRUZE                BURBANK                  CA
16950   1G1BE5SM8J7176013   GM          CRUZE                Slidell                  LA
16951   1G1BE5SM8J7176075   GM          CRUZE                SANFORD                  FL
16952   1G1BE5SM8J7177422   GM          CRUZE                Riverside                CA
16953   1G1BE5SM8J7182135   GM          CRUZE                LAS VEGAS                NV
16954   1G1BE5SM8J7183382   GM          CRUZE                NORTH PAC                CA
16955   1G1BE5SM8J7183768   GM          CRUZE                BURBANK                  CA
16956   1G1BE5SM8J7184418   GM          CRUZE                OAKLAND                  CA
16957   1G1BE5SM8J7184483   GM          CRUZE                SOUTHEAST DST OFFC       OK
16958   1G1BE5SM8J7185018   GM          CRUZE                SAN JOSE                 CA
16959   1G1BE5SM8J7186248   GM          CRUZE                BURBANK                  CA
16960   1G1BE5SM8J7186864   GM          CRUZE                SAN DIEGO                CA
16961   1G1BE5SM8J7188288   GM          CRUZE                SAINT PAUL               MN
16962   1G1BE5SM8J7189053   GM          CRUZE                BURBANK                  CA
16963   1G1BE5SM8J7189487   GM          CRUZE                SAN JOSE                 CA
16964   1G1BE5SM8J7189747   GM          CRUZE                BURBANK                  CA
16965   1G1BE5SM8J7189912   GM          CRUZE                BURBANK                  CA
16966   1G1BE5SM8J7190266   GM          CRUZE                SAN DIEGO                CA
16967   1G1BE5SM8J7190624   GM          CRUZE                BURBANK                  CA
16968   1G1BE5SM8J7190722   GM          CRUZE                BURBANK                  CA
16969   1G1BE5SM8J7192048   GM          CRUZE                ROSEVILLE                CA
16970   1G1BE5SM8J7192633   GM          CRUZE                NORTH HILLS              CA
16971   1G1BE5SM8J7192664   GM          CRUZE                SANTA ANA                CA
16972   1G1BE5SM8J7192681   GM          CRUZE                Riverside                CA
16973   1G1BE5SM8J7192759   GM          CRUZE                SAN DIEGO                CA
16974   1G1BE5SM8J7192812   GM          CRUZE                BURBANK                  CA
16975   1G1BE5SM8J7195161   GM          CRUZE                SAN DIEGO                CA
16976   1G1BE5SM8J7195919   GM          CRUZE                SAN JOSE                 CA
16977   1G1BE5SM8J7196200   GM          CRUZE                BURBANK                  CA
16978   1G1BE5SM8J7197055   GM          CRUZE                SAN JOSE                 CA
16979   1G1BE5SM8J7197198   GM          CRUZE                CHICAGO                  IL
16980   1G1BE5SM8J7199212   GM          CRUZE                Bensalem                 PA
16981   1G1BE5SM8J7200827   GM          CRUZE                Miami                    FL
16982   1G1BE5SM8J7201198   GM          CRUZE                CHICAGO                  IL
16983   1G1BE5SM8J7205011   GM          CRUZE                SAN JOSE                 CA
16984   1G1BE5SM8J7206238   GM          CRUZE                BURBANK                  CA
16985   1G1BE5SM8J7206434   GM          CRUZE                BURBANK                  CA
16986   1G1BE5SM8J7206787   GM          CRUZE                BURBANK                  CA
16987   1G1BE5SM8J7208331   GM          CRUZE                BURBANK                  CA
16988   1G1BE5SM8J7210368   GM          CRUZE                SACRAMENTO               CA
16989   1G1BE5SM8J7210869   GM          CRUZE                Fredericksburg           VA
16990   1G1BE5SM8J7211102   GM          CRUZE                Elkridge                 MD
16991   1G1BE5SM8J7211486   GM          CRUZE                Lake Elsinore            CA
16992   1G1BE5SM8J7212136   GM          CRUZE                ROSEVILLE                CA
16993   1G1BE5SM8J7221659   GM          CRUZE                BURBANK                  CA
16994   1G1BE5SM8J7223590   GM          CRUZE                AURORA                   CO
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16995   1G1BE5SM8J7225498   GM          CRUZE                LOS ANGELES              CA
16996   1G1BE5SM8J7227171   GM          CRUZE                Los Angeles              CA
16997   1G1BE5SM8J7228689   GM          CRUZE                COLLEGE PARK             GA
16998   1G1BE5SM8J7229101   GM          CRUZE                Sacramento               CA
16999   1G1BE5SM8J7232256   GM          CRUZE                SAN JOSE                 CA
17000   1G1BE5SM8J7232340   GM          CRUZE                Norwalk                  CA
17001   1G1BE5SM8J7233312   GM          CRUZE                BURBANK                  CA
17002   1G1BE5SM8J7237585   GM          CRUZE                SANTA ANA                CA
17003   1G1BE5SM8J7238591   GM          CRUZE                Louisville               KY
17004   1G1BE5SM8J7239451   GM          CRUZE                BURBANK                  CA
17005   1G1BE5SM8J7239577   GM          CRUZE                Florissant               MO
17006   1G1BE5SM8J7239885   GM          CRUZE                NORTH PAC                CA
17007   1G1BE5SM8J7240051   GM          CRUZE                Las Vegas                NV
17008   1G1BE5SM8J7240275   GM          CRUZE                NORTH PAC                CA
17009   1G1BE5SM8J7240812   GM          CRUZE                SAN DIEGO                CA
17010   1G1BE5SM8J7240891   GM          CRUZE                BURBANK                  CA
17011   1G1BE5SM8J7240969   GM          CRUZE                Manheim                  PA
17012   1G1BE5SM8J7241524   GM          CRUZE                ROSEVILLE                CA
17013   1G1BE5SM8J7241846   GM          CRUZE                SACRAMENTO               CA
17014   1G1BE5SM8J7242169   GM          CRUZE                North Las Vegas          NV
17015   1G1BE5SM8J7242706   GM          CRUZE                LOS ANGELES              CA
17016   1G1BE5SM8J7243239   GM          CRUZE                BURBANK                  CA
17017   1G1BE5SM8K7106710   GM          CRUZE                SAN FRANCISCO            CA
17018   1G1BE5SM8K7106951   GM          CRUZE                Santa Clara              CA
17019   1G1BE5SM8K7107081   GM          CRUZE                Sacramento               CA
17020   1G1BE5SM8K7107887   GM          CRUZE                Norwalk                  CA
17021   1G1BE5SM8K7108456   GM          CRUZE                FORT LAUDERDALE          FL
17022   1G1BE5SM8K7108506   GM          CRUZE                JACKSONVILLE             FL
17023   1G1BE5SM8K7109008   GM          CRUZE                PHOENIX                  AZ
17024   1G1BE5SM8K7109154   GM          CRUZE                Norwalk                  CA
17025   1G1BE5SM8K7109333   GM          CRUZE                ORLANDO                  FL
17026   1G1BE5SM8K7110269   GM          CRUZE                ORLANDO                  FL
17027   1G1BE5SM8K7110417   GM          CRUZE                ORLANDO                  FL
17028   1G1BE5SM8K7110692   GM          CRUZE                WEST PALM BEACH          FL
17029   1G1BE5SM8K7110742   GM          CRUZE                COLLEGE PARK             GA
17030   1G1BE5SM8K7110787   GM          CRUZE                KANSAS CITY              MO
17031   1G1BE5SM8K7111700   GM          CRUZE                Smithtown                NY
17032   1G1BE5SM8K7112037   GM          CRUZE                TAMPA                    FL
17033   1G1BE5SM8K7112085   GM          CRUZE                INDIANAPOLIS             IN
17034   1G1BE5SM8K7112507   GM          CRUZE                Irving                   TX
17035   1G1BE5SM8K7112636   GM          CRUZE                ORLANDO                  FL
17036   1G1BE5SM8K7112815   GM          CRUZE                ORLANDO                  FL
17037   1G1BE5SM8K7113124   GM          CRUZE                Bridgeton                MO
17038   1G1BE5SM8K7113141   GM          CRUZE                ORLANDO                  FL
17039   1G1BE5SM8K7113155   GM          CRUZE                SAVANNAH                 GA
17040   1G1BE5SM8K7113933   GM          CRUZE                SAN JOSE                 CA
17041   1G1BE5SM8K7114063   GM          CRUZE                JACKSONVILLE             FL
17042   1G1BE5SM8K7114502   GM          CRUZE                SARASOTA                 FL
17043   1G1BE5SM8K7114564   GM          CRUZE                ORLANDO                  FL
17044   1G1BE5SM8K7115083   GM          CRUZE                JACKSONVILLE             FL
17045   1G1BE5SM8K7115228   GM          CRUZE                BURBANK                  CA
17046   1G1BE5SM8K7115388   GM          CRUZE                NEW YORK CITY            NY
17047   1G1BE5SM8K7116332   GM          CRUZE                MIAMI                    FL
17048   1G1BE5SM8K7116394   GM          CRUZE                Tulsa                    OK
17049   1G1BE5SM8K7116511   GM          CRUZE                TAMPA                    FL
17050   1G1BE5SM8K7116623   GM          CRUZE                FORT LAUDERDALE          FL
17051   1G1BE5SM8K7116847   GM          CRUZE                KENNESAW                 GA
17052   1G1BE5SM8K7117058   GM          CRUZE                ST Paul                  MN
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17053   1G1BE5SM8K7117271   GM          CRUZE                FORT LAUDERDALE          FL
17054   1G1BE5SM8K7117299   GM          CRUZE                WEST PALM BEACH          FL
17055   1G1BE5SM8K7117352   GM          CRUZE                Stone Mountain           GA
17056   1G1BE5SM8K7117514   GM          CRUZE                ORLANDO                  FL
17057   1G1BE5SM8K7117657   GM          CRUZE                FORT LAUDERDALE          FL
17058   1G1BE5SM8K7117660   GM          CRUZE                FORT MYERS               FL
17059   1G1BE5SM8K7117819   GM          CRUZE                TAMPA                    FL
17060   1G1BE5SM8K7117867   GM          CRUZE                ORLANDO                  FL
17061   1G1BE5SM8K7118114   GM          CRUZE                MIAMI                    FL
17062   1G1BE5SM8K7118128   GM          CRUZE                FORT LAUDERDALE          FL
17063   1G1BE5SM8K7118145   GM          CRUZE                TAMPA                    FL
17064   1G1BE5SM8K7118288   GM          CRUZE                FORT MYERS               FL
17065   1G1BE5SM8K7118372   GM          CRUZE                ORLANDO                  FL
17066   1G1BE5SM8K7118551   GM          CRUZE                FORT MYERS               FL
17067   1G1BE5SM8K7118582   GM          CRUZE                ATLANTA                  GA
17068   1G1BE5SM8K7118842   GM          CRUZE                ST Paul                  MN
17069   1G1BE5SM8K7118887   GM          CRUZE                WEST COLUMBIA            SC
17070   1G1BE5SM8K7119019   GM          CRUZE                FORT LAUDERDALE          FL
17071   1G1BE5SM8K7119103   GM          CRUZE                FORT MYERS               FL
17072   1G1BE5SM8K7119716   GM          CRUZE                ORLANDO                  FL
17073   1G1BE5SM8K7119781   GM          CRUZE                WEST COLUMBIA            SC
17074   1G1BE5SM8K7119800   GM          CRUZE                SARASOTA                 FL
17075   1G1BE5SM8K7120283   GM          CRUZE                ATLANTA                  GA
17076   1G1BE5SM8K7120641   GM          CRUZE                JACKSONVILLE             FL
17077   1G1BE5SM8K7120705   GM          CRUZE                ORLANDO                  FL
17078   1G1BE5SM8K7120977   GM          CRUZE                Miami                    FL
17079   1G1BE5SM8K7121241   GM          CRUZE                ORLANDO                  FL
17080   1G1BE5SM8K7121336   GM          CRUZE                ORLANDO                  FL
17081   1G1BE5SM8K7121773   GM          CRUZE                JACKSONVILLE             FL
17082   1G1BE5SM8K7121935   GM          CRUZE                MIAMI                    FL
17083   1G1BE5SM8K7122633   GM          CRUZE                MIAMI                    FL
17084   1G1BE5SM8K7122695   GM          CRUZE                WEST PALM BEACH          FL
17085   1G1BE5SM8K7122714   GM          CRUZE                ORLANDO                  FL
17086   1G1BE5SM8K7122955   GM          CRUZE                JACKSONVILLE             FL
17087   1G1BE5SM8K7123121   GM          CRUZE                WARWICK                  RI
17088   1G1BE5SM8K7123233   GM          CRUZE                Tampa                    FL
17089   1G1BE5SM8K7123765   GM          CRUZE                SAINT LOUIS              MO
17090   1G1BE5SM8K7123779   GM          CRUZE                WEST PALM BEACH          FL
17091   1G1BE5SM8K7123801   GM          CRUZE                FORT MYERS               FL
17092   1G1BE5SM8K7123832   GM          CRUZE                FORT LAUDERDALE          FL
17093   1G1BE5SM8K7123846   GM          CRUZE                Alcoa                    TN
17094   1G1BE5SM8K7124009   GM          CRUZE                COLLEGE PARK             GA
17095   1G1BE5SM8K7124043   GM          CRUZE                FORT LAUDERDALE          FL
17096   1G1BE5SM8K7124057   GM          CRUZE                TAMPA                    FL
17097   1G1BE5SM8K7124074   GM          CRUZE                TAMPA                    FL
17098   1G1BE5SM8K7124298   GM          CRUZE                ORLANDO                  FL
17099   1G1BE5SM8K7124334   GM          CRUZE                FORT LAUDERDALE          FL
17100   1G1BE5SM8K7124351   GM          CRUZE                ORLANDO                  FL
17101   1G1BE5SM8K7124608   GM          CRUZE                DOTHAN                   AL
17102   1G1BE5SM8K7124933   GM          CRUZE                WEST PALM BEACH          FL
17103   1G1BE5SM8K7124981   GM          CRUZE                ORLANDO                  FL
17104   1G1BE5SM8K7125001   GM          CRUZE                Coraopolis               PA
17105   1G1BE5SM8K7125015   GM          CRUZE                ORLANDO                  FL
17106   1G1BE5SM8K7138508   GM          CRUZE                FORT LAUDERDALE          FL
17107   1G1BE5SM8K7138766   GM          CRUZE                MIAMI                    FL
17108   1G1BE5SM8K7140470   GM          CRUZE                Miami                    FL
17109   1G1BE5SM8K7141196   GM          CRUZE                TAMPA                    FL
17110   1G1BE5SM8K7142073   GM          CRUZE                FORT LAUDERDALE          FL
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17111   1G1BE5SM8K7142333   GM          CRUZE                FORT MYERS               FL
17112   1G1BE5SM8K7143014   GM          CRUZE                DALLAS                   TX
17113   1G1BE5SM8K7143966   GM          CRUZE                HOUSTON                  TX
17114   1G1BE5SM8K7144230   GM          CRUZE                Slidell                  LA
17115   1G1BE5SM8K7144258   GM          CRUZE                WEST PALM BEACH          FL
17116   1G1BE5SM8K7144485   GM          CRUZE                WEST PALM BEACH          FL
17117   1G1BE5SM8K7144535   GM          CRUZE                TAMPA                    FL
17118   1G1BE5SM8K7144776   GM          CRUZE                BRUNSWICK                GA
17119   1G1BE5SM8K7144793   GM          CRUZE                WINTER PARK              FL
17120   1G1BE5SM8K7144938   GM          CRUZE                ORLANDO                  FL
17121   1G1BE5SM8K7145071   GM          CRUZE                SAINT PAUL               MN
17122   1G1BE5SM8K7145118   GM          CRUZE                LOUISVILLE               KY
17123   1G1BE5SM8K7145152   GM          CRUZE                ATLANTA                  GA
17124   1G1BE5SM8K7145409   GM          CRUZE                Brighton                 CO
17125   1G1BE5SM8K7145426   GM          CRUZE                Springfield              MO
17126   1G1BE5SM8K7145460   GM          CRUZE                FORT MYERS               FL
17127   1G1BE5SM8K7145586   GM          CRUZE                TALLAHASSEE              FL
17128   1G1BE5SM8K7145992   GM          CRUZE                TAMPA                    FL
17129   1G1BE5SM8K7146219   GM          CRUZE                TAMPA                    FL
17130   1G1BE5SM8K7146589   GM          CRUZE                St. Louis                MO
17131   1G1BE5SM8K7146687   GM          CRUZE                Warminster               PA
17132   1G1BE5SM8K7146723   GM          CRUZE                JACKSONVILLE             FL
17133   1G1BE5SM8K7146754   GM          CRUZE                FORT MYERS               FL
17134   1G1BE5SM8K7146883   GM          CRUZE                WEST PALM BEACH          FL
17135   1G1BE5SM8K7147256   GM          CRUZE                ORLANDO                  FL
17136   1G1BE5SM8K7147273   GM          CRUZE                Indianapolis             IN
17137   1G1BE5SM8K7147368   GM          CRUZE                TAMPA                    FL
17138   1G1BE5SM8K7147547   GM          CRUZE                FORT MYERS               FL
17139   1G1BE5SM9G7322203   GM          CRUZE                BURBANK                  CA
17140   1G1BE5SM9H7122004   GM          CRUZE                Elkridge                 MD
17141   1G1BE5SM9H7135495   GM          CRUZE                ORLANDO                  FL
17142   1G1BE5SM9H7143676   GM          CRUZE                WEST PALM BEACH          FL
17143   1G1BE5SM9H7228176   GM          CRUZE                Slidell                  LA
17144   1G1BE5SM9H7268306   GM          CRUZE                SANDSTON                 VA
17145   1G1BE5SM9J7105581   GM          CRUZE                BURBANK                  CA
17146   1G1BE5SM9J7105628   GM          CRUZE                SAN FRANCISCO            CA
17147   1G1BE5SM9J7105659   GM          CRUZE                NORTH PAC                CA
17148   1G1BE5SM9J7105662   GM          CRUZE                ROSEVILLE                CA
17149   1G1BE5SM9J7106021   GM          CRUZE                Winston‐Salem            NC
17150   1G1BE5SM9J7106407   GM          CRUZE                Dallas                   TX
17151   1G1BE5SM9J7107086   GM          CRUZE                NORTH PAC                CA
17152   1G1BE5SM9J7107265   GM          CRUZE                BURBANK                  CA
17153   1G1BE5SM9J7107587   GM          CRUZE                TORRANCE                 CA
17154   1G1BE5SM9J7107668   GM          CRUZE                BURBANK                  CA
17155   1G1BE5SM9J7108321   GM          CRUZE                NORTH PAC                CA
17156   1G1BE5SM9J7108366   GM          CRUZE                SAN FRANCISCO            CA
17157   1G1BE5SM9J7108500   GM          CRUZE                SACRAMENTO               CA
17158   1G1BE5SM9J7108657   GM          CRUZE                DAYTONA BEACH            FL
17159   1G1BE5SM9J7109288   GM          CRUZE                Chicago                  IL
17160   1G1BE5SM9J7109615   GM          CRUZE                MIAMI                    FL
17161   1G1BE5SM9J7110568   GM          CRUZE                LOS ANGELES              CA
17162   1G1BE5SM9J7110831   GM          CRUZE                ORLANDO                  FL
17163   1G1BE5SM9J7112675   GM          CRUZE                Roseville                CA
17164   1G1BE5SM9J7112708   GM          CRUZE                HANOVER                  MD
17165   1G1BE5SM9J7112949   GM          CRUZE                SAN BRUNO                CA
17166   1G1BE5SM9J7114264   GM          CRUZE                DES MOINES               IA
17167   1G1BE5SM9J7115026   GM          CRUZE                NORTH HOLLYWOOD          CA
17168   1G1BE5SM9J7115057   GM          CRUZE                Chandler                 AZ
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17169   1G1BE5SM9J7115222   GM          CRUZE                VAN NUYS                 CA
17170   1G1BE5SM9J7115236   GM          CRUZE                NORTH PAC                CA
17171   1G1BE5SM9J7116080   GM          CRUZE                DANIA                    US
17172   1G1BE5SM9J7116161   GM          CRUZE                Charlotte                NC
17173   1G1BE5SM9J7116368   GM          CRUZE                BURBANK                  CA
17174   1G1BE5SM9J7116452   GM          CRUZE                Riverside                CA
17175   1G1BE5SM9J7116550   GM          CRUZE                BURBANK                  CA
17176   1G1BE5SM9J7116595   GM          CRUZE                PHILADELPHIA             PA
17177   1G1BE5SM9J7116998   GM          CRUZE                Hanover                  MD
17178   1G1BE5SM9J7118203   GM          CRUZE                NORTH PAC                CA
17179   1G1BE5SM9J7118721   GM          CRUZE                ROSEVILLE                CA
17180   1G1BE5SM9J7119822   GM          CRUZE                North Dighton            MA
17181   1G1BE5SM9J7120114   GM          CRUZE                SPRINGFIELD              VA
17182   1G1BE5SM9J7120176   GM          CRUZE                RICHMOND                 VA
17183   1G1BE5SM9J7122817   GM          CRUZE                N. Las Vegas             NV
17184   1G1BE5SM9J7123661   GM          CRUZE                SAN DIEGO                CA
17185   1G1BE5SM9J7123885   GM          CRUZE                N. Las Vegas             NV
17186   1G1BE5SM9J7124213   GM          CRUZE                North Dighton            MA
17187   1G1BE5SM9J7124390   GM          CRUZE                BURBANK                  CA
17188   1G1BE5SM9J7141626   GM          CRUZE                ORLANDO                  FL
17189   1G1BE5SM9J7152061   GM          CRUZE                North Las Vegas          NV
17190   1G1BE5SM9J7152416   GM          CRUZE                Philadelphia             PA
17191   1G1BE5SM9J7152514   GM          CRUZE                Louisville               KY
17192   1G1BE5SM9J7152724   GM          CRUZE                COLLEGE PARK             GA
17193   1G1BE5SM9J7153114   GM          CRUZE                Kahului                  HI
17194   1G1BE5SM9J7153193   GM          CRUZE                FORT MYERS               FL
17195   1G1BE5SM9J7153579   GM          CRUZE                Roseville                CA
17196   1G1BE5SM9J7154571   GM          CRUZE                Tampa                    FL
17197   1G1BE5SM9J7155705   GM          CRUZE                Manheim                  PA
17198   1G1BE5SM9J7155980   GM          CRUZE                Salt Lake City           UT
17199   1G1BE5SM9J7156059   GM          CRUZE                Kahului                  HI
17200   1G1BE5SM9J7156725   GM          CRUZE                Marietta                 GA
17201   1G1BE5SM9J7156840   GM          CRUZE                Hayward                  CA
17202   1G1BE5SM9J7157423   GM          CRUZE                EWA BEACH                HI
17203   1G1BE5SM9J7157616   GM          CRUZE                SAN FRANCISCO            CA
17204   1G1BE5SM9J7157941   GM          CRUZE                HONOLULU                 HI
17205   1G1BE5SM9J7158796   GM          CRUZE                HONOLULU                 HI
17206   1G1BE5SM9J7159236   GM          CRUZE                HONOLULU                 HI
17207   1G1BE5SM9J7163626   GM          CRUZE                Elkridge                 MD
17208   1G1BE5SM9J7164243   GM          CRUZE                SAN JOSE                 CA
17209   1G1BE5SM9J7164257   GM          CRUZE                NEW ENGLAND DEALER       MA
17210   1G1BE5SM9J7164310   GM          CRUZE                North Las Vegas          NV
17211   1G1BE5SM9J7164503   GM          CRUZE                CHICAGO                  IL
17212   1G1BE5SM9J7164663   GM          CRUZE                Elkridge                 MD
17213   1G1BE5SM9J7164727   GM          CRUZE                BOSTON                   MA
17214   1G1BE5SM9J7164811   GM          CRUZE                BURBANK                  CA
17215   1G1BE5SM9J7164887   GM          CRUZE                COLLEGE PARK             GA
17216   1G1BE5SM9J7165182   GM          CRUZE                MORROW                   GA
17217   1G1BE5SM9J7165439   GM          CRUZE                Woodhaven                MI
17218   1G1BE5SM9J7165506   GM          CRUZE                Fredericksburg           VA
17219   1G1BE5SM9J7165621   GM          CRUZE                North Dighton            MA
17220   1G1BE5SM9J7165666   GM          CRUZE                KENNER                   LA
17221   1G1BE5SM9J7165764   GM          CRUZE                Las Vegas                NV
17222   1G1BE5SM9J7165926   GM          CRUZE                Detroit                  MI
17223   1G1BE5SM9J7166025   GM          CRUZE                SOUTHEAST DST OFFC       OK
17224   1G1BE5SM9J7166137   GM          CRUZE                San Diego                CA
17225   1G1BE5SM9J7171645   GM          CRUZE                NORTH PAC                CA
17226   1G1BE5SM9J7172374   GM          CRUZE                Kent                     WA
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17227   1G1BE5SM9J7174710   GM          CRUZE                BURBANK                  CA
17228   1G1BE5SM9J7175971   GM          CRUZE                ONTARIO                  CA
17229   1G1BE5SM9J7177073   GM          CRUZE                Rio Linda                CA
17230   1G1BE5SM9J7177350   GM          CRUZE                Phoenix                  AZ
17231   1G1BE5SM9J7179020   GM          CRUZE                LOS ANGELES              CA
17232   1G1BE5SM9J7181334   GM          CRUZE                SHREVEPORT               LA
17233   1G1BE5SM9J7181608   GM          CRUZE                LOS ANGELES              CA
17234   1G1BE5SM9J7182189   GM          CRUZE                PHOENIX                  AZ
17235   1G1BE5SM9J7182225   GM          CRUZE                LAS VEGAS                NV
17236   1G1BE5SM9J7182936   GM          CRUZE                BURBANK                  CA
17237   1G1BE5SM9J7183486   GM          CRUZE                WEST HARTFORD            CT
17238   1G1BE5SM9J7183701   GM          CRUZE                SEATAC                   WA
17239   1G1BE5SM9J7184007   GM          CRUZE                SAN DIEGO                CA
17240   1G1BE5SM9J7184640   GM          CRUZE                SAN FRANCISCO            CA
17241   1G1BE5SM9J7185206   GM          CRUZE                NORTH PAC                CA
17242   1G1BE5SM9J7185559   GM          CRUZE                Tolleson                 AZ
17243   1G1BE5SM9J7186548   GM          CRUZE                Portland                 OR
17244   1G1BE5SM9J7186968   GM          CRUZE                San Diego                CA
17245   1G1BE5SM9J7187263   GM          CRUZE                NORTH PAC                CA
17246   1G1BE5SM9J7188039   GM          CRUZE                SAN DIEGO                CA
17247   1G1BE5SM9J7189160   GM          CRUZE                ROSEVILLE                CA
17248   1G1BE5SM9J7189627   GM          CRUZE                BURBANK                  CA
17249   1G1BE5SM9J7190373   GM          CRUZE                Portland                 OR
17250   1G1BE5SM9J7190857   GM          CRUZE                PICO RIVERA              CA
17251   1G1BE5SM9J7190924   GM          CRUZE                NORTH PAC                CA
17252   1G1BE5SM9J7191216   GM          CRUZE                BURBANK                  CA
17253   1G1BE5SM9J7191278   GM          CRUZE                Dallas                   TX
17254   1G1BE5SM9J7191961   GM          CRUZE                Ventura                  CA
17255   1G1BE5SM9J7192253   GM          CRUZE                BURBANK                  CA
17256   1G1BE5SM9J7192673   GM          CRUZE                NORTH PAC                CA
17257   1G1BE5SM9J7192771   GM          CRUZE                N. Palm Beach            FL
17258   1G1BE5SM9J7192818   GM          CRUZE                SANTA ANA                CA
17259   1G1BE5SM9J7192821   GM          CRUZE                NORTH HOLLYWOOD          CA
17260   1G1BE5SM9J7193628   GM          CRUZE                Pasadena                 CA
17261   1G1BE5SM9J7193659   GM          CRUZE                LOS ANGELES              CA
17262   1G1BE5SM9J7193712   GM          CRUZE                BURBANK                  CA
17263   1G1BE5SM9J7195041   GM          CRUZE                NORTH PAC                CA
17264   1G1BE5SM9J7196870   GM          CRUZE                Phoenix                  AZ
17265   1G1BE5SM9J7198196   GM          CRUZE                LOS ANGELES              CA
17266   1G1BE5SM9J7199316   GM          CRUZE                Warwick                  RI
17267   1G1BE5SM9J7199851   GM          CRUZE                FORT LAUDERDALE          FL
17268   1G1BE5SM9J7202649   GM          CRUZE                NORTH PAC                CA
17269   1G1BE5SM9J7203428   GM          CRUZE                CHICAGO                  IL
17270   1G1BE5SM9J7203753   GM          CRUZE                BURBANK                  CA
17271   1G1BE5SM9J7204773   GM          CRUZE                SAN FRANCISCO            CA
17272   1G1BE5SM9J7205910   GM          CRUZE                NORTH PAC                CA
17273   1G1BE5SM9J7206216   GM          CRUZE                SAN DIEGO                CA
17274   1G1BE5SM9J7207530   GM          CRUZE                SAN FRANCISCO            CA
17275   1G1BE5SM9J7207723   GM          CRUZE                BURBANK                  CA
17276   1G1BE5SM9J7208421   GM          CRUZE                DETROIT                  MI
17277   1G1BE5SM9J7208435   GM          CRUZE                Manheim                  PA
17278   1G1BE5SM9J7208984   GM          CRUZE                FORT MYERS               FL
17279   1G1BE5SM9J7217409   GM          CRUZE                CHICAGO                  IL
17280   1G1BE5SM9J7221928   GM          CRUZE                ONTARIO                  CA
17281   1G1BE5SM9J7225445   GM          CRUZE                BUFFALO                  NY
17282   1G1BE5SM9J7227521   GM          CRUZE                BURBANK                  CA
17283   1G1BE5SM9J7229060   GM          CRUZE                SAN DIEGO                CA
17284   1G1BE5SM9J7231472   GM          CRUZE                FORT LAUDERDALE          FL
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17285   1G1BE5SM9J7231603   GM          CRUZE                SEATAC                   WA
17286   1G1BE5SM9J7237269   GM          CRUZE                MINOT                    ND
17287   1G1BE5SM9J7238387   GM          CRUZE                LOS ANGELES              CA
17288   1G1BE5SM9J7239085   GM          CRUZE                Las Vegas                NV
17289   1G1BE5SM9J7239359   GM          CRUZE                SACRAMENTO               CA
17290   1G1BE5SM9J7239510   GM          CRUZE                PHOENIX                  AZ
17291   1G1BE5SM9J7240074   GM          CRUZE                CHICAGO                  IL
17292   1G1BE5SM9J7240205   GM          CRUZE                Anaheim                  CA
17293   1G1BE5SM9J7240236   GM          CRUZE                BURBANK                  CA
17294   1G1BE5SM9J7240639   GM          CRUZE                SARASOTA                 FL
17295   1G1BE5SM9J7240818   GM          CRUZE                Phoenix                  AZ
17296   1G1BE5SM9J7240978   GM          CRUZE                NORTH PAC                CA
17297   1G1BE5SM9J7241189   GM          CRUZE                NORTH PAC                CA
17298   1G1BE5SM9J7244500   GM          CRUZE                ONTARIO                  CA
17299   1G1BE5SM9K7106585   GM          CRUZE                LOS ANGELES              CA
17300   1G1BE5SM9K7106697   GM          CRUZE                BURBANK                  CA
17301   1G1BE5SM9K7106814   GM          CRUZE                SEATAC                   WA
17302   1G1BE5SM9K7107252   GM          CRUZE                PHOENIX                  AZ
17303   1G1BE5SM9K7107428   GM          CRUZE                LOS ANGELES AP           CA
17304   1G1BE5SM9K7107848   GM          CRUZE                South San Franc          CA
17305   1G1BE5SM9K7107882   GM          CRUZE                BURBANK                  CA
17306   1G1BE5SM9K7108708   GM          CRUZE                Warr Acres               OK
17307   1G1BE5SM9K7108885   GM          CRUZE                TAMPA                    FL
17308   1G1BE5SM9K7108952   GM          CRUZE                FT LAUDERDALE            US
17309   1G1BE5SM9K7109468   GM          CRUZE                SAN DIEGO                CA
17310   1G1BE5SM9K7109521   GM          CRUZE                FORT LAUDERDALE          FL
17311   1G1BE5SM9K7109549   GM          CRUZE                FORT LAUDERDALE          FL
17312   1G1BE5SM9K7110359   GM          CRUZE                MIAMI                    FL
17313   1G1BE5SM9K7111320   GM          CRUZE                NEW ORLEANS              LA
17314   1G1BE5SM9K7111530   GM          CRUZE                CHICAGO                  IL
17315   1G1BE5SM9K7112158   GM          CRUZE                FORT LAUDERDALE          FL
17316   1G1BE5SM9K7112208   GM          CRUZE                WEST PALM BEACH          FL
17317   1G1BE5SM9K7114105   GM          CRUZE                CHICAGO                  IL
17318   1G1BE5SM9K7114220   GM          CRUZE                Colorado Spring          CO
17319   1G1BE5SM9K7114282   GM          CRUZE                SOUTHEAST DST OFFC       OK
17320   1G1BE5SM9K7114654   GM          CRUZE                Teterboro                NJ
17321   1G1BE5SM9K7114895   GM          CRUZE                NEWARK                   NJ
17322   1G1BE5SM9K7115075   GM          CRUZE                ORLANDO                  FL
17323   1G1BE5SM9K7115769   GM          CRUZE                Riverside                CA
17324   1G1BE5SM9K7116162   GM          CRUZE                ORLANDO                  FL
17325   1G1BE5SM9K7116601   GM          CRUZE                WEST PALM BEACH          FL
17326   1G1BE5SM9K7116646   GM          CRUZE                JACKSONVILLE             FL
17327   1G1BE5SM9K7116727   GM          CRUZE                TAMPA                    FL
17328   1G1BE5SM9K7116839   GM          CRUZE                Detroit                  MI
17329   1G1BE5SM9K7117067   GM          CRUZE                FORT MYERS               FL
17330   1G1BE5SM9K7117070   GM          CRUZE                TAMPA                    FL
17331   1G1BE5SM9K7117120   GM          CRUZE                FORT LAUDERDALE          FL
17332   1G1BE5SM9K7117196   GM          CRUZE                FORT LAUDERDALE          FL
17333   1G1BE5SM9K7117358   GM          CRUZE                WEST PALM BEACH          FL
17334   1G1BE5SM9K7117392   GM          CRUZE                WEST PALM BEACH          FL
17335   1G1BE5SM9K7117862   GM          CRUZE                JACKSONVILLE             FL
17336   1G1BE5SM9K7118140   GM          CRUZE                FORT MYERS               FL
17337   1G1BE5SM9K7118235   GM          CRUZE                Miami                    FL
17338   1G1BE5SM9K7118249   GM          CRUZE                MIAMI                    FL
17339   1G1BE5SM9K7118350   GM          CRUZE                JACKSONVILLE             FL
17340   1G1BE5SM9K7118395   GM          CRUZE                FORT LAUDERDALE          FL
17341   1G1BE5SM9K7118493   GM          CRUZE                FORT LAUDERDALE          FL
17342   1G1BE5SM9K7118865   GM          CRUZE                FORT MYERS               FL
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17343   1G1BE5SM9K7119028   GM          CRUZE                Ft. Myers                FL
17344   1G1BE5SM9K7119112   GM          CRUZE                WEST PALM BEACH          FL
17345   1G1BE5SM9K7119403   GM          CRUZE                FORT LAUDERDALE          FL
17346   1G1BE5SM9K7120034   GM          CRUZE                FORT LAUDERDALE          FL
17347   1G1BE5SM9K7120132   GM          CRUZE                ORLANDO                  FL
17348   1G1BE5SM9K7120180   GM          CRUZE                TAMPA                    FL
17349   1G1BE5SM9K7120244   GM          CRUZE                WEST PALM BEACH          FL
17350   1G1BE5SM9K7120406   GM          CRUZE                Miami                    FL
17351   1G1BE5SM9K7120440   GM          CRUZE                TAMPA                    FL
17352   1G1BE5SM9K7120857   GM          CRUZE                TAMPA                    FL
17353   1G1BE5SM9K7121085   GM          CRUZE                ORLANDO                  FL
17354   1G1BE5SM9K7121250   GM          CRUZE                ORLANDO                  FL
17355   1G1BE5SM9K7121474   GM          CRUZE                MIAMI                    FL
17356   1G1BE5SM9K7121605   GM          CRUZE                HIALEAH GARDENS          FL
17357   1G1BE5SM9K7121801   GM          CRUZE                TAMPA                    FL
17358   1G1BE5SM9K7122253   GM          CRUZE                TITUSVILLE               FL
17359   1G1BE5SM9K7122284   GM          CRUZE                WEST PALM BEACH          FL
17360   1G1BE5SM9K7122527   GM          CRUZE                FORT MYERS               FL
17361   1G1BE5SM9K7122995   GM          CRUZE                TAMPA                    FL
17362   1G1BE5SM9K7123032   GM          CRUZE                SARASOTA                 FL
17363   1G1BE5SM9K7123127   GM          CRUZE                SARASOTA                 FL
17364   1G1BE5SM9K7123533   GM          CRUZE                FORT MYERS               FL
17365   1G1BE5SM9K7123886   GM          CRUZE                North Billerica          MA
17366   1G1BE5SM9K7124150   GM          CRUZE                FORT MYERS               FL
17367   1G1BE5SM9K7124181   GM          CRUZE                ORLANDO                  FL
17368   1G1BE5SM9K7124231   GM          CRUZE                Jacksonville             FL
17369   1G1BE5SM9K7124343   GM          CRUZE                SARASOTA                 FL
17370   1G1BE5SM9K7125119   GM          CRUZE                TAMPA                    FL
17371   1G1BE5SM9K7138873   GM          CRUZE                ORLANDO                  FL
17372   1G1BE5SM9K7139859   GM          CRUZE                Greer                    SC
17373   1G1BE5SM9K7140414   GM          CRUZE                TAMPA                    FL
17374   1G1BE5SM9K7141028   GM          CRUZE                SAVANNAH                 GA
17375   1G1BE5SM9K7141126   GM          CRUZE                ORLANDO                  FL
17376   1G1BE5SM9K7141160   GM          CRUZE                ORLANDO                  FL
17377   1G1BE5SM9K7141188   GM          CRUZE                ORLANDO                  FL
17378   1G1BE5SM9K7141353   GM          CRUZE                DAVIE                    FL
17379   1G1BE5SM9K7141370   GM          CRUZE                WEST PALM BEACH          FL
17380   1G1BE5SM9K7142664   GM          CRUZE                TAMPA                    FL
17381   1G1BE5SM9K7144379   GM          CRUZE                WEST PALM BEACH          FL
17382   1G1BE5SM9K7144382   GM          CRUZE                FORT MYERS               FL
17383   1G1BE5SM9K7144401   GM          CRUZE                BALTIMORE                MD
17384   1G1BE5SM9K7144480   GM          CRUZE                FORT MYERS               FL
17385   1G1BE5SM9K7144611   GM          CRUZE                FORT MYERS               FL
17386   1G1BE5SM9K7144690   GM          CRUZE                FORT LAUDERDALE          FL
17387   1G1BE5SM9K7144706   GM          CRUZE                CLEVELAND                OH
17388   1G1BE5SM9K7144835   GM          CRUZE                PHILADELPHIA             PA
17389   1G1BE5SM9K7145080   GM          CRUZE                PHOENIX                  AZ
17390   1G1BE5SM9K7145211   GM          CRUZE                FORT MYERS               FL
17391   1G1BE5SM9K7145399   GM          CRUZE                MIAMI                    FL
17392   1G1BE5SM9K7145791   GM          CRUZE                MIAMI                    FL
17393   1G1BE5SM9K7145869   GM          CRUZE                Hayward                  CA
17394   1G1BE5SM9K7146228   GM          CRUZE                WEST PALM BEACH          FL
17395   1G1BE5SM9K7146505   GM          CRUZE                FORT MYERS               FL
17396   1G1BE5SM9K7146634   GM          CRUZE                TAMPA                    FL
17397   1G1BE5SMXG7231019   GM          CRUZE                Dallas                   TX
17398   1G1BE5SMXG7256244   GM          CRUZE                NEW YORK DEALER DI       NJ
17399   1G1BE5SMXH7134985   GM          CRUZE                BURBANK                  CA
17400   1G1BE5SMXH7141743   GM          CRUZE                DETROIT                  MI
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17401   1G1BE5SMXH7145579   GM          CRUZE                Jacksonville             FL
17402   1G1BE5SMXH7277550   GM          CRUZE                FORT LAUDERDALE          FL
17403   1G1BE5SMXJ7105783   GM          CRUZE                HANOVER                  MD
17404   1G1BE5SMXJ7105900   GM          CRUZE                BURBANK                  CA
17405   1G1BE5SMXJ7106030   GM          CRUZE                RICHMOND                 VA
17406   1G1BE5SMXJ7106190   GM          CRUZE                LOS ANGELES              CA
17407   1G1BE5SMXJ7106335   GM          CRUZE                CHICAGO                  IL
17408   1G1BE5SMXJ7106464   GM          CRUZE                BURBANK                  CA
17409   1G1BE5SMXJ7106867   GM          CRUZE                Los Angeles              CA
17410   1G1BE5SMXJ7106898   GM          CRUZE                SAN JOSE                 CA
17411   1G1BE5SMXJ7107064   GM          CRUZE                LOS ANGELES              CA
17412   1G1BE5SMXJ7107095   GM          CRUZE                ONTARIO                  CA
17413   1G1BE5SMXJ7107548   GM          CRUZE                PHOENIX                  AZ
17414   1G1BE5SMXJ7108005   GM          CRUZE                BURBANK                  CA
17415   1G1BE5SMXJ7108277   GM          CRUZE                CHARLOTTE                NC
17416   1G1BE5SMXJ7108442   GM          CRUZE                Rockville Centr          NY
17417   1G1BE5SMXJ7109025   GM          CRUZE                SOUTHEAST DST OFFC       OK
17418   1G1BE5SMXJ7109218   GM          CRUZE                SAN LEANDRO              CA
17419   1G1BE5SMXJ7109297   GM          CRUZE                Woodhaven                MI
17420   1G1BE5SMXJ7109381   GM          CRUZE                San Diego                CA
17421   1G1BE5SMXJ7109428   GM          CRUZE                Fredericksburg           VA
17422   1G1BE5SMXJ7109509   GM          CRUZE                BURBANK                  CA
17423   1G1BE5SMXJ7109512   GM          CRUZE                San Diego                CA
17424   1G1BE5SMXJ7109753   GM          CRUZE                BURBANK                  CA
17425   1G1BE5SMXJ7109834   GM          CRUZE                SAN JOSE                 CA
17426   1G1BE5SMXJ7110322   GM          CRUZE                SAN JOSE                 CA
17427   1G1BE5SMXJ7110465   GM          CRUZE                LOS ANGELES              CA
17428   1G1BE5SMXJ7110658   GM          CRUZE                ONTARIO                  CA
17429   1G1BE5SMXJ7111101   GM          CRUZE                SAN DIEGO                CA
17430   1G1BE5SMXJ7111289   GM          CRUZE                BURBANK                  CA
17431   1G1BE5SMXJ7112443   GM          CRUZE                LOS ANGELES              CA
17432   1G1BE5SMXJ7112572   GM          CRUZE                BURBANK                  CA
17433   1G1BE5SMXJ7113656   GM          CRUZE                FT. LAUDERDALE           FL
17434   1G1BE5SMXJ7113706   GM          CRUZE                Richmond                 VA
17435   1G1BE5SMXJ7113723   GM          CRUZE                SAN JOSE                 CA
17436   1G1BE5SMXJ7114886   GM          CRUZE                TAMPA                    FL
17437   1G1BE5SMXJ7115374   GM          CRUZE                Davie                    FL
17438   1G1BE5SMXJ7116122   GM          CRUZE                Stockton                 CA
17439   1G1BE5SMXJ7117156   GM          CRUZE                STERLING                 VA
17440   1G1BE5SMXJ7118579   GM          CRUZE                GLASSBORO                NJ
17441   1G1BE5SMXJ7118954   GM          CRUZE                HANOVER                  MD
17442   1G1BE5SMXJ7119084   GM          CRUZE                Rockville Centr          NY
17443   1G1BE5SMXJ7119196   GM          CRUZE                North Dighton            MA
17444   1G1BE5SMXJ7119375   GM          CRUZE                CLEVELAND                OH
17445   1G1BE5SMXJ7119795   GM          CRUZE                Bensalem                 PA
17446   1G1BE5SMXJ7120459   GM          CRUZE                North Las Vegas          NV
17447   1G1BE5SMXJ7122034   GM          CRUZE                N. Palm Beach            FL
17448   1G1BE5SMXJ7122261   GM          CRUZE                Riverside                CA
17449   1G1BE5SMXJ7122437   GM          CRUZE                Austell                  GA
17450   1G1BE5SMXJ7122972   GM          CRUZE                BURBANK                  CA
17451   1G1BE5SMXJ7123202   GM          CRUZE                EVERETT                  MA
17452   1G1BE5SMXJ7123829   GM          CRUZE                DANIA BEACH              FL
17453   1G1BE5SMXJ7132174   GM          CRUZE                LAS VEGAS                NV
17454   1G1BE5SMXJ7140369   GM          CRUZE                MEDINA                   OH
17455   1G1BE5SMXJ7152411   GM          CRUZE                Lynn                     MA
17456   1G1BE5SMXJ7152456   GM          CRUZE                Kahului                  HI
17457   1G1BE5SMXJ7152764   GM          CRUZE                RONKONKOMA               NY
17458   1G1BE5SMXJ7153834   GM          CRUZE                Hayward                  CA
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17459   1G1BE5SMXJ7154160   GM          CRUZE                DANIA BEACH              FL
17460   1G1BE5SMXJ7154403   GM          CRUZE                BURBANK                  CA
17461   1G1BE5SMXJ7154904   GM          CRUZE                SOUTHEAST DST OFFC       OK
17462   1G1BE5SMXJ7155079   GM          CRUZE                S. San Francisc          CA
17463   1G1BE5SMXJ7155678   GM          CRUZE                LOS ANGELES              CA
17464   1G1BE5SMXJ7155714   GM          CRUZE                N. Las Vegas             NV
17465   1G1BE5SMXJ7155860   GM          CRUZE                Hayward                  CA
17466   1G1BE5SMXJ7156796   GM          CRUZE                HONOLULU                 HI
17467   1G1BE5SMXJ7157169   GM          CRUZE                HONOLULU                 HI
17468   1G1BE5SMXJ7157379   GM          CRUZE                PLEASANTON               CA
17469   1G1BE5SMXJ7158208   GM          CRUZE                Tampa                    FL
17470   1G1BE5SMXJ7158578   GM          CRUZE                Hayward                  CA
17471   1G1BE5SMXJ7158886   GM          CRUZE                ONTARIO                  CA
17472   1G1BE5SMXJ7163490   GM          CRUZE                Tampa                    FL
17473   1G1BE5SMXJ7163621   GM          CRUZE                Davie                    FL
17474   1G1BE5SMXJ7164302   GM          CRUZE                Rockville Centr          NY
17475   1G1BE5SMXJ7164381   GM          CRUZE                STATESBORO               GA
17476   1G1BE5SMXJ7164610   GM          CRUZE                NEWARK                   NJ
17477   1G1BE5SMXJ7164915   GM          CRUZE                Dallas                   TX
17478   1G1BE5SMXJ7164963   GM          CRUZE                LAS VEGAS                NV
17479   1G1BE5SMXJ7165000   GM          CRUZE                North Las Vegas          NV
17480   1G1BE5SMXJ7165434   GM          CRUZE                DALLAS                   TX
17481   1G1BE5SMXJ7165482   GM          CRUZE                Hilo                     HI
17482   1G1BE5SMXJ7170522   GM          CRUZE                BURBANK                  CA
17483   1G1BE5SMXJ7171394   GM          CRUZE                STERLING                 VA
17484   1G1BE5SMXJ7173629   GM          CRUZE                NORTH PAC                CA
17485   1G1BE5SMXJ7173632   GM          CRUZE                Las Vegas                NV
17486   1G1BE5SMXJ7173839   GM          CRUZE                LOS ANGELES              CA
17487   1G1BE5SMXJ7173887   GM          CRUZE                BURBANK                  CA
17488   1G1BE5SMXJ7174232   GM          CRUZE                Phoenix                  AZ
17489   1G1BE5SMXJ7174294   GM          CRUZE                DAYTONA BEACH            FL
17490   1G1BE5SMXJ7174828   GM          CRUZE                NORTH PAC                CA
17491   1G1BE5SMXJ7176000   GM          CRUZE                PHOENIX                  AZ
17492   1G1BE5SMXJ7176322   GM          CRUZE                SAN JOSE                 CA
17493   1G1BE5SMXJ7181889   GM          CRUZE                FAYETTEVILLE             GA
17494   1G1BE5SMXJ7183237   GM          CRUZE                NORTH PAC                CA
17495   1G1BE5SMXJ7183531   GM          CRUZE                BURBANK                  CA
17496   1G1BE5SMXJ7183545   GM          CRUZE                BURBANK                  CA
17497   1G1BE5SMXJ7184579   GM          CRUZE                BURBANK                  CA
17498   1G1BE5SMXJ7186333   GM          CRUZE                SANTA ANA                CA
17499   1G1BE5SMXJ7188082   GM          CRUZE                LAS VEGAS                NV
17500   1G1BE5SMXJ7188115   GM          CRUZE                BURBANK                  CA
17501   1G1BE5SMXJ7188289   GM          CRUZE                BURBANK                  CA
17502   1G1BE5SMXJ7188468   GM          CRUZE                Marietta                 GA
17503   1G1BE5SMXJ7188700   GM          CRUZE                NORTH PAC                CA
17504   1G1BE5SMXJ7189832   GM          CRUZE                ONTARIO                  CA
17505   1G1BE5SMXJ7190303   GM          CRUZE                BURBANK                  CA
17506   1G1BE5SMXJ7190804   GM          CRUZE                BURBANK                  CA
17507   1G1BE5SMXJ7191144   GM          CRUZE                NORTH PAC                CA
17508   1G1BE5SMXJ7191435   GM          CRUZE                Sacramento               CA
17509   1G1BE5SMXJ7191936   GM          CRUZE                LOS ANGELES              CA
17510   1G1BE5SMXJ7192973   GM          CRUZE                HAYWARD                  CA
17511   1G1BE5SMXJ7194500   GM          CRUZE                ENGLEWOOD                CO
17512   1G1BE5SMXJ7195761   GM          CRUZE                North Las Vegas          NV
17513   1G1BE5SMXJ7196926   GM          CRUZE                BURBANK                  CA
17514   1G1BE5SMXJ7198188   GM          CRUZE                NORTH PAC                CA
17515   1G1BE5SMXJ7198577   GM          CRUZE                PHOENIX                  AZ
17516   1G1BE5SMXJ7199096   GM          CRUZE                NEW ENGLAND DEALER       MA
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17517   1G1BE5SMXJ7199244   GM          CRUZE                Mira Loma                CA
17518   1G1BE5SMXJ7200103   GM          CRUZE                ORLANDO                  FL
17519   1G1BE5SMXJ7203910   GM          CRUZE                Los Angeles              CA
17520   1G1BE5SMXJ7204247   GM          CRUZE                LOS ANGELES              CA
17521   1G1BE5SMXJ7205480   GM          CRUZE                Portland                 OR
17522   1G1BE5SMXJ7207049   GM          CRUZE                RENO                     NV
17523   1G1BE5SMXJ7207522   GM          CRUZE                SANTA BARBARA            CA
17524   1G1BE5SMXJ7208332   GM          CRUZE                SAN DIEGO                CA
17525   1G1BE5SMXJ7209495   GM          CRUZE                SAN DIEGO                CA
17526   1G1BE5SMXJ7209996   GM          CRUZE                Norwalk                  CA
17527   1G1BE5SMXJ7210579   GM          CRUZE                ONTARIO                  CA
17528   1G1BE5SMXJ7217628   GM          CRUZE                CLEVELAND                OH
17529   1G1BE5SMXJ7219413   GM          CRUZE                SEATAC                   WA
17530   1G1BE5SMXJ7219721   GM          CRUZE                DANIA BEACH              FL
17531   1G1BE5SMXJ7224191   GM          CRUZE                SANTA ANA                CA
17532   1G1BE5SMXJ7225471   GM          CRUZE                Smithtown                NY
17533   1G1BE5SMXJ7227642   GM          CRUZE                ORLANDO                  FL
17534   1G1BE5SMXJ7227835   GM          CRUZE                DENVER                   CO
17535   1G1BE5SMXJ7227947   GM          CRUZE                PHILADELPHIA             PA
17536   1G1BE5SMXJ7228127   GM          CRUZE                Lake in the Hil          IL
17537   1G1BE5SMXJ7230508   GM          CRUZE                Roseville                CA
17538   1G1BE5SMXJ7230637   GM          CRUZE                SAN JOSE                 CA
17539   1G1BE5SMXJ7232775   GM          CRUZE                North Dighton            MA
17540   1G1BE5SMXJ7232923   GM          CRUZE                BURBANK                  CA
17541   1G1BE5SMXJ7233182   GM          CRUZE                KNOXVILLE                TN
17542   1G1BE5SMXJ7237197   GM          CRUZE                SAN FRANCISCO            CA
17543   1G1BE5SMXJ7237300   GM          CRUZE                NEW ENGLAND DEALER       MA
17544   1G1BE5SMXJ7237314   GM          CRUZE                Austin                   TX
17545   1G1BE5SMXJ7237359   GM          CRUZE                FORT LAUDERDALE          FL
17546   1G1BE5SMXJ7238480   GM          CRUZE                BURBANK                  CA
17547   1G1BE5SMXJ7240617   GM          CRUZE                BURBANK                  CA
17548   1G1BE5SMXJ7240813   GM          CRUZE                NORTH PAC                CA
17549   1G1BE5SMXJ7240827   GM          CRUZE                ATLANTA                  GA
17550   1G1BE5SMXJ7240830   GM          CRUZE                N. Las Vegas             NV
17551   1G1BE5SMXJ7241573   GM          CRUZE                BURBANK                  CA
17552   1G1BE5SMXJ7242495   GM          CRUZE                BURBANK                  CA
17553   1G1BE5SMXJ7243744   GM          CRUZE                Roseville                CA
17554   1G1BE5SMXJ7244747   GM          CRUZE                NORTH HOLLYWOOD          CA
17555   1G1BE5SMXK7106935   GM          CRUZE                SEATTLE                  WA
17556   1G1BE5SMXK7107468   GM          CRUZE                SAN JOSE                 CA
17557   1G1BE5SMXK7107602   GM          CRUZE                Warminster               PA
17558   1G1BE5SMXK7108362   GM          CRUZE                Atlanta                  GA
17559   1G1BE5SMXK7108667   GM          CRUZE                ORLANDO                  FL
17560   1G1BE5SMXK7108782   GM          CRUZE                ORLANDO                  FL
17561   1G1BE5SMXK7109298   GM          CRUZE                SARASOTA                 FL
17562   1G1BE5SMXK7109317   GM          CRUZE                ORLANDO                  FL
17563   1G1BE5SMXK7109365   GM          CRUZE                WEST PALM BEACH          FL
17564   1G1BE5SMXK7109656   GM          CRUZE                WEST PALM BEACH          FL
17565   1G1BE5SMXK7109690   GM          CRUZE                Winston‐Salem            NC
17566   1G1BE5SMXK7109866   GM          CRUZE                ORLANDO                  FL
17567   1G1BE5SMXK7109916   GM          CRUZE                ORLANDO                  FL
17568   1G1BE5SMXK7109995   GM          CRUZE                WEST PALM BEACH          FL
17569   1G1BE5SMXK7110290   GM          CRUZE                ORLANDO                  FL
17570   1G1BE5SMXK7110581   GM          CRUZE                TAMPA                    FL
17571   1G1BE5SMXK7110855   GM          CRUZE                albuquerque              nm
17572   1G1BE5SMXK7111083   GM          CRUZE                ORLANDO                  FL
17573   1G1BE5SMXK7111343   GM          CRUZE                JACKSONVILLE             FL
17574   1G1BE5SMXK7112430   GM          CRUZE                FORT LAUDERDALE          FL
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17575   1G1BE5SMXK7112444   GM          CRUZE                LOUISVILLE               KY
17576   1G1BE5SMXK7112928   GM          CRUZE                SALT LAKE CITY           UT
17577   1G1BE5SMXK7113108   GM          CRUZE                WEST PALM BEACH          FL
17578   1G1BE5SMXK7113531   GM          CRUZE                TAMPA                    FL
17579   1G1BE5SMXK7114095   GM          CRUZE                JACKSONVILLE             FL
17580   1G1BE5SMXK7114551   GM          CRUZE                TAMPA                    FL
17581   1G1BE5SMXK7114632   GM          CRUZE                Ft. Myers                FL
17582   1G1BE5SMXK7114792   GM          CRUZE                FAYETTEVILLE             GA
17583   1G1BE5SMXK7114890   GM          CRUZE                CLEVELAND                OH
17584   1G1BE5SMXK7114954   GM          CRUZE                TAMPA                    FL
17585   1G1BE5SMXK7115098   GM          CRUZE                SARASOTA                 FL
17586   1G1BE5SMXK7115229   GM          CRUZE                ORLANDO                  FL
17587   1G1BE5SMXK7115554   GM          CRUZE                BURBANK                  CA
17588   1G1BE5SMXK7115599   GM          CRUZE                Hebron                   KY
17589   1G1BE5SMXK7115618   GM          CRUZE                MIAMI                    FL
17590   1G1BE5SMXK7115733   GM          CRUZE                ORLANDO                  FL
17591   1G1BE5SMXK7115747   GM          CRUZE                Smithtown                NY
17592   1G1BE5SMXK7115974   GM          CRUZE                Los Angeles              CA
17593   1G1BE5SMXK7116302   GM          CRUZE                TAMPA                    FL
17594   1G1BE5SMXK7116347   GM          CRUZE                WEST PALM BEACH          FL
17595   1G1BE5SMXK7116350   GM          CRUZE                Ft. Myers                FL
17596   1G1BE5SMXK7116624   GM          CRUZE                FORT LAUDERDALE          FL
17597   1G1BE5SMXK7116641   GM          CRUZE                TAMPA                    FL
17598   1G1BE5SMXK7116834   GM          CRUZE                FORT LAUDERDALE          FL
17599   1G1BE5SMXK7116851   GM          CRUZE                SAVANNAH                 GA
17600   1G1BE5SMXK7117336   GM          CRUZE                Marietta                 GA
17601   1G1BE5SMXK7117353   GM          CRUZE                Rockville Centr          NY
17602   1G1BE5SMXK7117434   GM          CRUZE                TAMPA                    FL
17603   1G1BE5SMXK7117482   GM          CRUZE                FORT LAUDERDALE          FL
17604   1G1BE5SMXK7117644   GM          CRUZE                ORLANDO                  FL
17605   1G1BE5SMXK7118440   GM          CRUZE                ORLANDO                  FL
17606   1G1BE5SMXK7118650   GM          CRUZE                JACKSONVILLE             FL
17607   1G1BE5SMXK7118745   GM          CRUZE                SARASOTA                 FL
17608   1G1BE5SMXK7118793   GM          CRUZE                ORLANDO                  FL
17609   1G1BE5SMXK7118843   GM          CRUZE                FORT LAUDERDALE          FL
17610   1G1BE5SMXK7118969   GM          CRUZE                TAMPA                    FL
17611   1G1BE5SMXK7119216   GM          CRUZE                ORLANDO                  FL
17612   1G1BE5SMXK7119247   GM          CRUZE                SARASOTA                 FL
17613   1G1BE5SMXK7119510   GM          CRUZE                WEST PALM BEACH          FL
17614   1G1BE5SMXK7119619   GM          CRUZE                JACKSONVILLE             FL
17615   1G1BE5SMXK7119863   GM          CRUZE                ORLANDO                  FL
17616   1G1BE5SMXK7119927   GM          CRUZE                SARASOTA                 FL
17617   1G1BE5SMXK7120026   GM          CRUZE                TAMPA                    FL
17618   1G1BE5SMXK7120060   GM          CRUZE                MIAMI                    FL
17619   1G1BE5SMXK7120107   GM          CRUZE                WEST PALM BEACH          FL
17620   1G1BE5SMXK7120219   GM          CRUZE                FORT LAUDERDALE          FL
17621   1G1BE5SMXK7120592   GM          CRUZE                GRAND RAPIDS             MI
17622   1G1BE5SMXK7120608   GM          CRUZE                ORLANDO                  FL
17623   1G1BE5SMXK7120723   GM          CRUZE                WEST PALM BEACH          FL
17624   1G1BE5SMXK7121046   GM          CRUZE                NEWARK                   NJ
17625   1G1BE5SMXK7121113   GM          CRUZE                MIAMI                    FL
17626   1G1BE5SMXK7121225   GM          CRUZE                MIAMI                    FL
17627   1G1BE5SMXK7121242   GM          CRUZE                TAMPA                    FL
17628   1G1BE5SMXK7121256   GM          CRUZE                NEW YORK CITY            NY
17629   1G1BE5SMXK7121323   GM          CRUZE                TAMPA                    FL
17630   1G1BE5SMXK7121404   GM          CRUZE                ORLANDO                  FL
17631   1G1BE5SMXK7121550   GM          CRUZE                SARASOTA                 FL
17632   1G1BE5SMXK7121578   GM          CRUZE                WEST PALM BEACH          FL
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17633   1G1BE5SMXK7121824   GM          CRUZE                WEST PALM BEACH          FL
17634   1G1BE5SMXK7122052   GM          CRUZE                SARASOTA                 FL
17635   1G1BE5SMXK7122164   GM          CRUZE                Des Moines               IA
17636   1G1BE5SMXK7122505   GM          CRUZE                MIAMI                    FL
17637   1G1BE5SMXK7122522   GM          CRUZE                Hendersonville           TN
17638   1G1BE5SMXK7123069   GM          CRUZE                Atlanta                  GA
17639   1G1BE5SMXK7123136   GM          CRUZE                FORT MYERS               FL
17640   1G1BE5SMXK7123301   GM          CRUZE                ORLANDO                  FL
17641   1G1BE5SMXK7123668   GM          CRUZE                FORT MYERS               FL
17642   1G1BE5SMXK7123749   GM          CRUZE                Irving                   TX
17643   1G1BE5SMXK7123816   GM          CRUZE                WEST PALM BEACH          FL
17644   1G1BE5SMXK7123945   GM          CRUZE                BIRMINGHAM               AL
17645   1G1BE5SMXK7124299   GM          CRUZE                Jacksonville             FL
17646   1G1BE5SMXK7124304   GM          CRUZE                FORT MYERS               FL
17647   1G1BE5SMXK7124349   GM          CRUZE                MIAMI                    FL
17648   1G1BE5SMXK7124481   GM          CRUZE                ORLANDO                  FL
17649   1G1BE5SMXK7139398   GM          CRUZE                ORLANDO                  FL
17650   1G1BE5SMXK7139420   GM          CRUZE                DENVER                   CO
17651   1G1BE5SMXK7139966   GM          CRUZE                Tampa                    FL
17652   1G1BE5SMXK7140325   GM          CRUZE                ORLANDO                  FL
17653   1G1BE5SMXK7140499   GM          CRUZE                MIAMI                    FL
17654   1G1BE5SMXK7140566   GM          CRUZE                ATLANTA                  GA
17655   1G1BE5SMXK7140647   GM          CRUZE                Detroit                  MI
17656   1G1BE5SMXK7140745   GM          CRUZE                ORLANDO                  FL
17657   1G1BE5SMXK7140969   GM          CRUZE                FORT LAUDERDALE          FL
17658   1G1BE5SMXK7141197   GM          CRUZE                Tampa                    FL
17659   1G1BE5SMXK7141264   GM          CRUZE                SARASOTA                 FL
17660   1G1BE5SMXK7141393   GM          CRUZE                FORT MYERS               FL
17661   1G1BE5SMXK7142558   GM          CRUZE                SAN ANTONIO              TX
17662   1G1BE5SMXK7142723   GM          CRUZE                FORT MYERS               FL
17663   1G1BE5SMXK7143550   GM          CRUZE                Miami                    FL
17664   1G1BE5SMXK7143936   GM          CRUZE                WEST PALM BEACH          FL
17665   1G1BE5SMXK7144049   GM          CRUZE                TAMPA                    FL
17666   1G1BE5SMXK7144388   GM          CRUZE                TAMPA                    FL
17667   1G1BE5SMXK7144391   GM          CRUZE                HOUSTON                  TX
17668   1G1BE5SMXK7144438   GM          CRUZE                FORT LAUDERDALE          FL
17669   1G1BE5SMXK7144651   GM          CRUZE                Austell                  GA
17670   1G1BE5SMXK7144827   GM          CRUZE                PHILADELPHIA             PA
17671   1G1BE5SMXK7144939   GM          CRUZE                WEST PALM BEACH          FL
17672   1G1BE5SMXK7145198   GM          CRUZE                WEST PALM BEACH          FL
17673   1G1BE5SMXK7145217   GM          CRUZE                PHILADELPHIA             PA
17674   1G1BE5SMXK7145279   GM          CRUZE                Memphis                  TN
17675   1G1BE5SMXK7145296   GM          CRUZE                ST Paul                  MN
17676   1G1BE5SMXK7145427   GM          CRUZE                ST Paul                  MN
17677   1G1BE5SMXK7145525   GM          CRUZE                DENVER                   CO
17678   1G1BE5SMXK7145542   GM          CRUZE                KINGSPORT‐TRI CITY       TN
17679   1G1BE5SMXK7145654   GM          CRUZE                WEST PALM BEACH          FL
17680   1G1BE5SMXK7145685   GM          CRUZE                Pittsburgh               PA
17681   1G1BE5SMXK7145959   GM          CRUZE                MIAMI                    FL
17682   1G1BE5SMXK7146576   GM          CRUZE                GAINESVILLE              FL
17683   1G1BE5SMXK7146609   GM          CRUZE                ORLANDO                  FL
17684   1G1BE5SMXK7146691   GM          CRUZE                JACKSONVILLE             FL
17685   1G1BE5SMXK7146853   GM          CRUZE                Vandalia                 OH
17686   1G1BE5SMXK7147226   GM          CRUZE                Detroit                  MI
17687   1G1BE5SMXK7147257   GM          CRUZE                MIAMI                    FL
17688   1G1BF5SM1J7219409   GM          CRUZE                HUEYTOWN                 AL
17689   1G1BF5SM2J7184671   GM          CRUZE                Dallas                   TX
17690   1G1BG5SM1G7308631   GM          CRUZE                Norwalk                  CA
        VIN
                 Case 20-11218-MFW
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17691   1G1BG5SM7G7305958   GM          CRUZE                Grove City               OH
17692   1G1BJ5SM0K7101335   GM          CRUZE                Hartford                 CT
17693   1G1BJ5SM0K7101349   GM          CRUZE                NASHVILLE                TN
17694   1G1BJ5SM0K7101626   GM          CRUZE                Boise                    ID
17695   1G1BJ5SM0K7101710   GM          CRUZE                TAMPA                    FL
17696   1G1BJ5SM0K7101786   GM          CRUZE                Slidell                  LA
17697   1G1BJ5SM0K7101870   GM          CRUZE                Hanover                  MD
17698   1G1BJ5SM0K7101898   GM          CRUZE                Dallas                   TX
17699   1G1BJ5SM0K7101920   GM          CRUZE                Anaheim                  CA
17700   1G1BJ5SM0K7102033   GM          CRUZE                CHICAGO                  IL
17701   1G1BJ5SM0K7102064   GM          CRUZE                Winter Park              FL
17702   1G1BJ5SM0K7102467   GM          CRUZE                Memphis                  TN
17703   1G1BJ5SM0K7102517   GM          CRUZE                FORT MYERS               FL
17704   1G1BJ5SM0K7102520   GM          CRUZE                BOSTON                   MA
17705   1G1BJ5SM0K7102534   GM          CRUZE                CHICAGO                  IL
17706   1G1BJ5SM0K7102579   GM          CRUZE                PHOENIX                  AZ
17707   1G1BJ5SM0K7102646   GM          CRUZE                SOUTHEAST DST OFFC       OK
17708   1G1BJ5SM0K7102680   GM          CRUZE                MEMPHIS                  TN
17709   1G1BJ5SM0K7102713   GM          CRUZE                OMAHA                    NE
17710   1G1BJ5SM0K7102761   GM          CRUZE                Manheim                  PA
17711   1G1BJ5SM0K7102789   GM          CRUZE                DES MOINES               IA
17712   1G1BJ5SM0K7102792   GM          CRUZE                ORLANDO                  FL
17713   1G1BJ5SM0K7103084   GM          CRUZE                Hamilton                 OH
17714   1G1BJ5SM0K7103117   GM          CRUZE                PHOENIX                  AZ
17715   1G1BJ5SM0K7103148   GM          CRUZE                CHARLOTTE                NC
17716   1G1BJ5SM0K7103215   GM          CRUZE                MIAMI                    FL
17717   1G1BJ5SM0K7103229   GM          CRUZE                ORLANDO                  FL
17718   1G1BJ5SM0K7103523   GM          CRUZE                Manville                 NJ
17719   1G1BJ5SM0K7103604   GM          CRUZE                Orlando                  FL
17720   1G1BJ5SM0K7103635   GM          CRUZE                Indianapolis             IN
17721   1G1BJ5SM0K7103716   GM          CRUZE                Elkridge                 MD
17722   1G1BJ5SM0K7103831   GM          CRUZE                PHOENIX                  AZ
17723   1G1BJ5SM0K7103926   GM          CRUZE                LAS VEGAS                NV
17724   1G1BJ5SM0K7104154   GM          CRUZE                TAMPA                    FL
17725   1G1BJ5SM0K7104199   GM          CRUZE                Tolleson                 AZ
17726   1G1BJ5SM0K7104395   GM          CRUZE                ATLANTA                  GA
17727   1G1BJ5SM0K7104655   GM          CRUZE                SAVANNAH                 GA
17728   1G1BJ5SM0K7104767   GM          CRUZE                KAILUA‐KONA              HI
17729   1G1BJ5SM0K7104915   GM          CRUZE                Sarasota                 FL
17730   1G1BJ5SM0K7104929   GM          CRUZE                HILO                     HI
17731   1G1BJ5SM0K7105059   GM          CRUZE                LOS ANGELES              CA
17732   1G1BJ5SM0K7105384   GM          CRUZE                ATLANTA                  GA
17733   1G1BJ5SM0K7105434   GM          CRUZE                North Dighton            MA
17734   1G1BJ5SM0K7105465   GM          CRUZE                SOUTHEAST DST OFFC       OK
17735   1G1BJ5SM0K7105546   GM          CRUZE                SARASOTA                 FL
17736   1G1BJ5SM0K7105742   GM          CRUZE                Clearwater               FL
17737   1G1BJ5SM0K7105966   GM          CRUZE                MIAMI                    FL
17738   1G1BJ5SM0K7106194   GM          CRUZE                LOS ANGELES              CA
17739   1G1BJ5SM0K7106213   GM          CRUZE                FORT LAUDERDALE          FL
17740   1G1BJ5SM0K7106227   GM          CRUZE                Winter Park              FL
17741   1G1BJ5SM0K7106390   GM          CRUZE                KAILUA‐KONA              HI
17742   1G1BJ5SM0K7106406   GM          CRUZE                KALAOA                   HI
17743   1G1BJ5SM0K7106552   GM          CRUZE                BURBANK                  CA
17744   1G1BJ5SM0K7106681   GM          CRUZE                ORLANDO                  FL
17745   1G1BJ5SM0K7106728   GM          CRUZE                HILO                     HI
17746   1G1BJ5SM0K7106860   GM          CRUZE                HILO                     HI
17747   1G1BJ5SM1K7101408   GM          CRUZE                SPRINGFIELD              VA
17748   1G1BJ5SM1K7101618   GM          CRUZE                Miami                    FL
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17749   1G1BJ5SM1K7101702   GM          CRUZE                LOS ANGELES              CA
17750   1G1BJ5SM1K7101733   GM          CRUZE                WEST PALM BEACH          FL
17751   1G1BJ5SM1K7101747   GM          CRUZE                GREENSBORO               NC
17752   1G1BJ5SM1K7101862   GM          CRUZE                FORT LAUDERDALE          FL
17753   1G1BJ5SM1K7101926   GM          CRUZE                HANOVER                  MD
17754   1G1BJ5SM1K7101974   GM          CRUZE                Orlando                  FL
17755   1G1BJ5SM1K7102025   GM          CRUZE                Omaha                    NE
17756   1G1BJ5SM1K7102042   GM          CRUZE                CLOVIS                   CA
17757   1G1BJ5SM1K7102087   GM          CRUZE                Manheim                  PA
17758   1G1BJ5SM1K7102171   GM          CRUZE                SAN ANTONIO              TX
17759   1G1BJ5SM1K7102221   GM          CRUZE                SYRACUSE                 NY
17760   1G1BJ5SM1K7102252   GM          CRUZE                Hebron                   KY
17761   1G1BJ5SM1K7102428   GM          CRUZE                MIAMI                    FL
17762   1G1BJ5SM1K7102462   GM          CRUZE                MIAMI                    FL
17763   1G1BJ5SM1K7102543   GM          CRUZE                FRESNO                   CA
17764   1G1BJ5SM1K7102574   GM          CRUZE                Johnston                 RI
17765   1G1BJ5SM1K7102669   GM          CRUZE                JACKSONVILLE             FL
17766   1G1BJ5SM1K7102686   GM          CRUZE                ROCHESTER                NY
17767   1G1BJ5SM1K7102879   GM          CRUZE                OAKLAND                  CA
17768   1G1BJ5SM1K7102932   GM          CRUZE                OAKLAND                  CA
17769   1G1BJ5SM1K7103031   GM          CRUZE                WEST PALM BEACH          FL
17770   1G1BJ5SM1K7103045   GM          CRUZE                FORT MYERS               FL
17771   1G1BJ5SM1K7103160   GM          CRUZE                WARWICK                  RI
17772   1G1BJ5SM1K7103207   GM          CRUZE                AUGUSTA                  GA
17773   1G1BJ5SM1K7103398   GM          CRUZE                SEATAC                   WA
17774   1G1BJ5SM1K7103417   GM          CRUZE                STERLING                 VA
17775   1G1BJ5SM1K7103496   GM          CRUZE                RONKONKOMA               NY
17776   1G1BJ5SM1K7103532   GM          CRUZE                Tampa                    FL
17777   1G1BJ5SM1K7103613   GM          CRUZE                Atlanta                  GA
17778   1G1BJ5SM1K7103658   GM          CRUZE                WEST PALM BEACH          FL
17779   1G1BJ5SM1K7103806   GM          CRUZE                FORT MYERS               FL
17780   1G1BJ5SM1K7103837   GM          CRUZE                Tampa                    FL
17781   1G1BJ5SM1K7103868   GM          CRUZE                FORT MYERS               FL
17782   1G1BJ5SM1K7103904   GM          CRUZE                LIHUE                    HI
17783   1G1BJ5SM1K7103918   GM          CRUZE                KAILUA‐KONA              HI
17784   1G1BJ5SM1K7103983   GM          CRUZE                BURBANK                  CA
17785   1G1BJ5SM1K7104017   GM          CRUZE                ATLANTA                  GA
17786   1G1BJ5SM1K7104101   GM          CRUZE                Seattle                  WA
17787   1G1BJ5SM1K7104227   GM          CRUZE                Clearwater               FL
17788   1G1BJ5SM1K7104261   GM          CRUZE                Smithtown                NY
17789   1G1BJ5SM1K7104311   GM          CRUZE                Culpeper                 VA
17790   1G1BJ5SM1K7104874   GM          CRUZE                MIAMI                    FL
17791   1G1BJ5SM1K7104972   GM          CRUZE                San Diego                CA
17792   1G1BJ5SM1K7105099   GM          CRUZE                DANIA BEACH              FL
17793   1G1BJ5SM1K7105104   GM          CRUZE                BRONX                    NY
17794   1G1BJ5SM1K7105216   GM          CRUZE                Louisville               KY
17795   1G1BJ5SM1K7105247   GM          CRUZE                KALAOA                   HI
17796   1G1BJ5SM1K7105538   GM          CRUZE                ORLANDO                  FL
17797   1G1BJ5SM1K7105796   GM          CRUZE                HILO                     HI
17798   1G1BJ5SM1K7105930   GM          CRUZE                Santa Clara              CA
17799   1G1BJ5SM1K7106088   GM          CRUZE                Warr Acres               OK
17800   1G1BJ5SM1K7106219   GM          CRUZE                Hilo                     HI
17801   1G1BJ5SM1K7106267   GM          CRUZE                KALAOA                   HI
17802   1G1BJ5SM1K7106768   GM          CRUZE                Los Angeles              CA
17803   1G1BJ5SM1K7107189   GM          CRUZE                Las Vegas                NV
17804   1G1BJ5SM2K7101658   GM          CRUZE                MIAMI                    FL
17805   1G1BJ5SM2K7101661   GM          CRUZE                SAN FRANCISCO            CA
17806   1G1BJ5SM2K7101692   GM          CRUZE                BURBANK                  CA
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17807   1G1BJ5SM2K7101725   GM          CRUZE                Costa Mesa               CA
17808   1G1BJ5SM2K7101823   GM          CRUZE                CENTRAL DIST OFFC        OK
17809   1G1BJ5SM2K7101966   GM          CRUZE                BURBANK                  CA
17810   1G1BJ5SM2K7101983   GM          CRUZE                ORLANDO                  FL
17811   1G1BJ5SM2K7102020   GM          CRUZE                Riverside                CA
17812   1G1BJ5SM2K7102048   GM          CRUZE                FORT MYERS               FL
17813   1G1BJ5SM2K7102079   GM          CRUZE                WEST PALM BEACH          FL
17814   1G1BJ5SM2K7102163   GM          CRUZE                TAMPA                    FL
17815   1G1BJ5SM2K7102230   GM          CRUZE                Baltimore                MD
17816   1G1BJ5SM2K7102311   GM          CRUZE                SOUTH BEND               IN
17817   1G1BJ5SM2K7102566   GM          CRUZE                COLLEGE PARK             GA
17818   1G1BJ5SM2K7102583   GM          CRUZE                CHICAGO                  IL
17819   1G1BJ5SM2K7102700   GM          CRUZE                CHARLOTTE                NC
17820   1G1BJ5SM2K7102793   GM          CRUZE                Morrisville              NC
17821   1G1BJ5SM2K7103247   GM          CRUZE                CHARLOTTE                NC
17822   1G1BJ5SM2K7103393   GM          CRUZE                WILMINGTON               CA
17823   1G1BJ5SM2K7103555   GM          CRUZE                MIAMI                    FL
17824   1G1BJ5SM2K7103586   GM          CRUZE                Indianapolis             IN
17825   1G1BJ5SM2K7103605   GM          CRUZE                TAMPA                    FL
17826   1G1BJ5SM2K7103751   GM          CRUZE                STERLING                 VA
17827   1G1BJ5SM2K7103815   GM          CRUZE                Hanover                  MD
17828   1G1BJ5SM2K7103832   GM          CRUZE                SAVANNAH                 GA
17829   1G1BJ5SM2K7103927   GM          CRUZE                KALAOA                   HI
17830   1G1BJ5SM2K7103958   GM          CRUZE                HILO                     HI
17831   1G1BJ5SM2K7104009   GM          CRUZE                CHARLOTTE                NC
17832   1G1BJ5SM2K7104012   GM          CRUZE                WAIMEA                   HI
17833   1G1BJ5SM2K7104057   GM          CRUZE                Warr Acres               OK
17834   1G1BJ5SM2K7104107   GM          CRUZE                Atlanta                  GA
17835   1G1BJ5SM2K7104267   GM          CRUZE                Marietta                 GA
17836   1G1BJ5SM2K7104303   GM          CRUZE                Albuquerque              NM
17837   1G1BJ5SM2K7104317   GM          CRUZE                FORT LAUDERDALE          FL
17838   1G1BJ5SM2K7104432   GM          CRUZE                ORLANDO                  FL
17839   1G1BJ5SM2K7104513   GM          CRUZE                Irving                   TX
17840   1G1BJ5SM2K7104740   GM          CRUZE                ORLANDO                  FL
17841   1G1BJ5SM2K7104835   GM          CRUZE                Hayward                  CA
17842   1G1BJ5SM2K7104883   GM          CRUZE                FORT MYERS               FL
17843   1G1BJ5SM2K7104897   GM          CRUZE                Torrance                 CA
17844   1G1BJ5SM2K7104964   GM          CRUZE                WEST PALM BEACH          FL
17845   1G1BJ5SM2K7105046   GM          CRUZE                MIAMI                    FL
17846   1G1BJ5SM2K7105080   GM          CRUZE                KAILUA‐KONA              HI
17847   1G1BJ5SM2K7105385   GM          CRUZE                Miami                    FL
17848   1G1BJ5SM2K7105497   GM          CRUZE                BURBANK                  CA
17849   1G1BJ5SM2K7105502   GM          CRUZE                ORLANDO                  FL
17850   1G1BJ5SM2K7105578   GM          CRUZE                HILO                     HI
17851   1G1BJ5SM2K7105631   GM          CRUZE                PHILADELPHIA             PA
17852   1G1BJ5SM2K7105693   GM          CRUZE                SAN JOSE                 CA
17853   1G1BJ5SM2K7105869   GM          CRUZE                Orlando                  FL
17854   1G1BJ5SM2K7105953   GM          CRUZE                HILO                     HI
17855   1G1BJ5SM2K7105967   GM          CRUZE                KNOXVILLE                TN
17856   1G1BJ5SM2K7106150   GM          CRUZE                WEST PALM BEACH          FL
17857   1G1BJ5SM2K7106231   GM          CRUZE                LOS ANGELES              CA
17858   1G1BJ5SM2K7106455   GM          CRUZE                Riverside                CA
17859   1G1BJ5SM2K7106486   GM          CRUZE                Smithtown                NY
17860   1G1BJ5SM2K7106567   GM          CRUZE                WAIMEA                   HI
17861   1G1BJ5SM2K7106570   GM          CRUZE                SANFORD                  FL
17862   1G1BJ5SM2K7106701   GM          CRUZE                Bridgeton                MO
17863   1G1BJ5SM2K7106732   GM          CRUZE                SAN JOSE                 CA
17864   1G1BJ5SM2K7106858   GM          CRUZE                PHILADELPHIA             PA
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17865   1G1BJ5SM3K7101586   GM          CRUZE                Tampa                    FL
17866   1G1BJ5SM3K7101667   GM          CRUZE                TAMPA                    FL
17867   1G1BJ5SM3K7101829   GM          CRUZE                Tampa                    FL
17868   1G1BJ5SM3K7101846   GM          CRUZE                DAYTONA BEACH            FL
17869   1G1BJ5SM3K7101894   GM          CRUZE                Phoenix                  AZ
17870   1G1BJ5SM3K7101975   GM          CRUZE                Jacksonville             FL
17871   1G1BJ5SM3K7102107   GM          CRUZE                TAMPA                    FL
17872   1G1BJ5SM3K7102219   GM          CRUZE                Atlanta                  GA
17873   1G1BJ5SM3K7102236   GM          CRUZE                ORANGE COUNTY            CA
17874   1G1BJ5SM3K7102589   GM          CRUZE                JAMAICA                  NY
17875   1G1BJ5SM3K7102673   GM          CRUZE                Manheim                  PA
17876   1G1BJ5SM3K7102771   GM          CRUZE                Detroit                  MI
17877   1G1BJ5SM3K7102804   GM          CRUZE                SAN FRANCISCO            CA
17878   1G1BJ5SM3K7102897   GM          CRUZE                Massapequa               NY
17879   1G1BJ5SM3K7102978   GM          CRUZE                SOUTHEAST DST OFFC       OK
17880   1G1BJ5SM3K7102981   GM          CRUZE                FORT MYERS               FL
17881   1G1BJ5SM3K7103094   GM          CRUZE                WARWICK                  RI
17882   1G1BJ5SM3K7103127   GM          CRUZE                ORLANDO                  FL
17883   1G1BJ5SM3K7103239   GM          CRUZE                HANOVER                  MD
17884   1G1BJ5SM3K7103273   GM          CRUZE                DETROIT                  MI
17885   1G1BJ5SM3K7103290   GM          CRUZE                ORLANDO                  FL
17886   1G1BJ5SM3K7103399   GM          CRUZE                WEST PALM BEACH          FL
17887   1G1BJ5SM3K7103533   GM          CRUZE                OAKLAND                  CA
17888   1G1BJ5SM3K7103757   GM          CRUZE                HILO                     HI
17889   1G1BJ5SM3K7103807   GM          CRUZE                LOS ANGELES              CA
17890   1G1BJ5SM3K7104021   GM          CRUZE                Anaheim                  CA
17891   1G1BJ5SM3K7104049   GM          CRUZE                Atlanta                  GA
17892   1G1BJ5SM3K7104231   GM          CRUZE                ORLANDO                  FL
17893   1G1BJ5SM3K7104276   GM          CRUZE                ORLANDO                  FL
17894   1G1BJ5SM3K7104438   GM          CRUZE                WEST PALM BEACH          FL
17895   1G1BJ5SM3K7104472   GM          CRUZE                Atlanta                  GA
17896   1G1BJ5SM3K7104567   GM          CRUZE                CHARLOTTE                US
17897   1G1BJ5SM3K7104648   GM          CRUZE                Portland                 OR
17898   1G1BJ5SM3K7104682   GM          CRUZE                JACKSONVILLE             FL
17899   1G1BJ5SM3K7104715   GM          CRUZE                SACRAMENTO               CA
17900   1G1BJ5SM3K7104861   GM          CRUZE                FORT MYERS               FL
17901   1G1BJ5SM3K7105489   GM          CRUZE                ORLANDO                  FL
17902   1G1BJ5SM3K7105525   GM          CRUZE                ATLANTA                  GA
17903   1G1BJ5SM3K7105606   GM          CRUZE                Kailua‐Kona              HI
17904   1G1BJ5SM3K7105640   GM          CRUZE                KALAOA                   HI
17905   1G1BJ5SM3K7105850   GM          CRUZE                Englewood                CO
17906   1G1BJ5SM3K7105914   GM          CRUZE                SPRINGFIELD              VA
17907   1G1BJ5SM3K7105945   GM          CRUZE                PORTLAND                 OR
17908   1G1BJ5SM3K7106111   GM          CRUZE                Tucson                   AZ
17909   1G1BJ5SM3K7106125   GM          CRUZE                Los Angeles              CA
17910   1G1BJ5SM3K7106156   GM          CRUZE                FORT MYERS               FL
17911   1G1BJ5SM3K7106173   GM          CRUZE                ORLANDO                  FL
17912   1G1BJ5SM3K7106366   GM          CRUZE                Phoenix                  AZ
17913   1G1BJ5SM3K7106397   GM          CRUZE                KANSAS CITY              MO
17914   1G1BJ5SM3K7106738   GM          CRUZE                HILO                     HI
17915   1G1BJ5SM3K7106979   GM          CRUZE                Rock Hill                SC
17916   1G1BJ5SM4K7101399   GM          CRUZE                BURBANK                  CA
17917   1G1BJ5SM4K7101497   GM          CRUZE                SAVANNAH                 GA
17918   1G1BJ5SM4K7101578   GM          CRUZE                FORT MYERS               FL
17919   1G1BJ5SM4K7101595   GM          CRUZE                Dallas                   TX
17920   1G1BJ5SM4K7101628   GM          CRUZE                JACKSONVILLE             FL
17921   1G1BJ5SM4K7101631   GM          CRUZE                WEST PALM BEACH          FL
17922   1G1BJ5SM4K7101645   GM          CRUZE                WEST PALM BEACH          FL
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17923   1G1BJ5SM4K7101726   GM          CRUZE                FT. LAUDERDALE           FL
17924   1G1BJ5SM4K7101855   GM          CRUZE                SOUTHEAST DST OFFC       OK
17925   1G1BJ5SM4K7102049   GM          CRUZE                Winter Park              FL
17926   1G1BJ5SM4K7102052   GM          CRUZE                Indianapolis             IN
17927   1G1BJ5SM4K7102116   GM          CRUZE                DETROIT                  MI
17928   1G1BJ5SM4K7102195   GM          CRUZE                Sanford                  FL
17929   1G1BJ5SM4K7102231   GM          CRUZE                Sanford                  FL
17930   1G1BJ5SM4K7102343   GM          CRUZE                Atlanta                  GA
17931   1G1BJ5SM4K7102357   GM          CRUZE                North Dighton            MA
17932   1G1BJ5SM4K7102536   GM          CRUZE                Atlanta                  GA
17933   1G1BJ5SM4K7102570   GM          CRUZE                San Diego                CA
17934   1G1BJ5SM4K7102696   GM          CRUZE                Rock Hill                SC
17935   1G1BJ5SM4K7103119   GM          CRUZE                Orlando                  FL
17936   1G1BJ5SM4K7103136   GM          CRUZE                DES MOINES               IA
17937   1G1BJ5SM4K7103363   GM          CRUZE                ORLANDO                  FL
17938   1G1BJ5SM4K7103413   GM          CRUZE                MEMPHIS                  TN
17939   1G1BJ5SM4K7103458   GM          CRUZE                INDIANAPOLIS             IN
17940   1G1BJ5SM4K7103508   GM          CRUZE                TAMPA                    FL
17941   1G1BJ5SM4K7103539   GM          CRUZE                Ft Pierce                FL
17942   1G1BJ5SM4K7103802   GM          CRUZE                MELROSE PARK             IL
17943   1G1BJ5SM4K7103895   GM          CRUZE                WAIMEA                   HI
17944   1G1BJ5SM4K7103945   GM          CRUZE                TAMPA                    FL
17945   1G1BJ5SM4K7104237   GM          CRUZE                STERLING                 VA
17946   1G1BJ5SM4K7104464   GM          CRUZE                CHARLESTON               WV
17947   1G1BJ5SM4K7104514   GM          CRUZE                DES MOINES               IA
17948   1G1BJ5SM4K7104741   GM          CRUZE                CHICAGO                  IL
17949   1G1BJ5SM4K7104755   GM          CRUZE                WAIMEA                   HI
17950   1G1BJ5SM4K7104836   GM          CRUZE                ROSEVILLE                CA
17951   1G1BJ5SM4K7104917   GM          CRUZE                SAN DIEGO                CA
17952   1G1BJ5SM4K7104920   GM          CRUZE                TAMPA                    US
17953   1G1BJ5SM4K7105016   GM          CRUZE                MIAMI                    FL
17954   1G1BJ5SM4K7105291   GM          CRUZE                ORLANDO                  FL
17955   1G1BJ5SM4K7105341   GM          CRUZE                DENVER                   CO
17956   1G1BJ5SM4K7105422   GM          CRUZE                FORT MYERS               FL
17957   1G1BJ5SM4K7105615   GM          CRUZE                Florissant               MO
17958   1G1BJ5SM4K7105789   GM          CRUZE                HILO                     HI
17959   1G1BJ5SM4K7105856   GM          CRUZE                Sacramento               CA
17960   1G1BJ5SM4K7105906   GM          CRUZE                Lake in the Hil          IL
17961   1G1BJ5SM4K7105937   GM          CRUZE                HILO                     HI
17962   1G1BJ5SM4K7105971   GM          CRUZE                SAN JOSE                 CA
17963   1G1BJ5SM4K7105999   GM          CRUZE                ROSEVILLE                CA
17964   1G1BJ5SM4K7106375   GM          CRUZE                ORLANDO                  FL
17965   1G1BJ5SM4K7106487   GM          CRUZE                HILO                     HI
17966   1G1BJ5SM4K7106733   GM          CRUZE                TAMPA                    FL
17967   1G1BJ5SM5K7101332   GM          CRUZE                Portland                 OR
17968   1G1BJ5SM5K7101377   GM          CRUZE                ORLANDO                  FL
17969   1G1BJ5SM5K7101668   GM          CRUZE                TAMPA                    FL
17970   1G1BJ5SM5K7101704   GM          CRUZE                ATLANTA                  GA
17971   1G1BJ5SM5K7101718   GM          CRUZE                Stockton                 CA
17972   1G1BJ5SM5K7101847   GM          CRUZE                BURBANK                  CA
17973   1G1BJ5SM5K7102058   GM          CRUZE                Santa Clara              CA
17974   1G1BJ5SM5K7102092   GM          CRUZE                Portland                 ME
17975   1G1BJ5SM5K7102187   GM          CRUZE                Atlanta                  GA
17976   1G1BJ5SM5K7102240   GM          CRUZE                Winter Park              FL
17977   1G1BJ5SM5K7102285   GM          CRUZE                Ventura                  CA
17978   1G1BJ5SM5K7102478   GM          CRUZE                DANIA BEACH              FL
17979   1G1BJ5SM5K7102514   GM          CRUZE                NOTTINGHAM               MD
17980   1G1BJ5SM5K7102609   GM          CRUZE                Statesville              NC
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17981   1G1BJ5SM5K7102710   GM          CRUZE                Scottsdale               AZ
17982   1G1BJ5SM5K7102898   GM          CRUZE                Indianapolis             IN
17983   1G1BJ5SM5K7102917   GM          CRUZE                HARTFORD                 CT
17984   1G1BJ5SM5K7102982   GM          CRUZE                SAINT LOUIS              MO
17985   1G1BJ5SM5K7103033   GM          CRUZE                BURBANK                  CA
17986   1G1BJ5SM5K7103100   GM          CRUZE                WEST PALM BEACH          FL
17987   1G1BJ5SM5K7103405   GM          CRUZE                TAMPA                    FL
17988   1G1BJ5SM5K7103503   GM          CRUZE                Hapeville                GA
17989   1G1BJ5SM5K7103551   GM          CRUZE                Atlanta                  GA
17990   1G1BJ5SM5K7103842   GM          CRUZE                KAILUA‐KONA              HI
17991   1G1BJ5SM5K7103954   GM          CRUZE                SAN DIEGO                CA
17992   1G1BJ5SM5K7104019   GM          CRUZE                FRESNO                   CA
17993   1G1BJ5SM5K7104022   GM          CRUZE                HILO                     HI
17994   1G1BJ5SM5K7104036   GM          CRUZE                WEST PALM BEACH          FL
17995   1G1BJ5SM5K7104053   GM          CRUZE                TAMPA                    FL
17996   1G1BJ5SM5K7104103   GM          CRUZE                SOUTHEAST DST OFFC       OK
17997   1G1BJ5SM5K7104182   GM          CRUZE                FORT LAUDERDALE          FL
17998   1G1BJ5SM5K7104215   GM          CRUZE                Bensalem                 PA
17999   1G1BJ5SM5K7104280   GM          CRUZE                COLLEGE PARK             GA
18000   1G1BJ5SM5K7104392   GM          CRUZE                Atlanta                  GA
18001   1G1BJ5SM5K7104442   GM          CRUZE                FORT MYERS               FL
18002   1G1BJ5SM5K7104702   GM          CRUZE                Las Vegas                NV
18003   1G1BJ5SM5K7104781   GM          CRUZE                BURBANK                  CA
18004   1G1BJ5SM5K7104960   GM          CRUZE                KAILUA‐KONA              HI
18005   1G1BJ5SM5K7104991   GM          CRUZE                BURBANK                  CA
18006   1G1BJ5SM5K7105025   GM          CRUZE                FT. LAUDERDALE           FL
18007   1G1BJ5SM5K7105297   GM          CRUZE                PHOENIX                  AZ
18008   1G1BJ5SM5K7105333   GM          CRUZE                ORLANDO                  FL
18009   1G1BJ5SM5K7105381   GM          CRUZE                BURBANK                  CA
18010   1G1BJ5SM5K7105509   GM          CRUZE                HILO                     HI
18011   1G1BJ5SM5K7105574   GM          CRUZE                KALAOA                   HI
18012   1G1BJ5SM5K7106157   GM          CRUZE                WAIMEA                   HI
18013   1G1BJ5SM5K7106191   GM          CRUZE                HILO                     HI
18014   1G1BJ5SM5K7106238   GM          CRUZE                HILO                     HI
18015   1G1BJ5SM5K7106241   GM          CRUZE                LOS ANGELES              CA
18016   1G1BJ5SM5K7106269   GM          CRUZE                LOS ANGELES              CA
18017   1G1BJ5SM5K7106286   GM          CRUZE                Englewood                CO
18018   1G1BJ5SM5K7106319   GM          CRUZE                Sanford                  FL
18019   1G1BJ5SM5K7106367   GM          CRUZE                FORT LAUDERDALE          FL
18020   1G1BJ5SM5K7106398   GM          CRUZE                TAMPA                    FL
18021   1G1BJ5SM5K7106658   GM          CRUZE                KAILUA KONA              HI
18022   1G1BJ5SM6K7101548   GM          CRUZE                FORT MYERS               FL
18023   1G1BJ5SM6K7101632   GM          CRUZE                SAN JOSE                 CA
18024   1G1BJ5SM6K7101663   GM          CRUZE                BURBANK                  CA
18025   1G1BJ5SM6K7101680   GM          CRUZE                Dania                    FL
18026   1G1BJ5SM6K7101761   GM          CRUZE                GRAND RAPIDS             MI
18027   1G1BJ5SM6K7101839   GM          CRUZE                LOS ANGELES              CA
18028   1G1BJ5SM6K7101937   GM          CRUZE                ORLANDO                  FL
18029   1G1BJ5SM6K7102053   GM          CRUZE                TAMPA                    FL
18030   1G1BJ5SM6K7102070   GM          CRUZE                GRAND RAPIDS             MI
18031   1G1BJ5SM6K7102103   GM          CRUZE                NEWARK                   NJ
18032   1G1BJ5SM6K7102179   GM          CRUZE                LAS VEGAS                NV
18033   1G1BJ5SM6K7102182   GM          CRUZE                Tampa                    FL
18034   1G1BJ5SM6K7102277   GM          CRUZE                RONKONKOMA               NY
18035   1G1BJ5SM6K7102375   GM          CRUZE                MIAMI                    FL
18036   1G1BJ5SM6K7102733   GM          CRUZE                ORLANDO                  FL
18037   1G1BJ5SM6K7102750   GM          CRUZE                UNION CITY               GA
18038   1G1BJ5SM6K7102764   GM          CRUZE                Elkridge                 MD
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18039   1G1BJ5SM6K7102926   GM          CRUZE                ROCHESTER                NY
18040   1G1BJ5SM6K7102943   GM          CRUZE                Florissant               MO
18041   1G1BJ5SM6K7103042   GM          CRUZE                ORLANDO                  FL
18042   1G1BJ5SM6K7103073   GM          CRUZE                SOUTHEAST DST OFFC       OK
18043   1G1BJ5SM6K7103090   GM          CRUZE                HAMPTON                  VA
18044   1G1BJ5SM6K7103137   GM          CRUZE                ORLANDO                  FL
18045   1G1BJ5SM6K7103168   GM          CRUZE                Miami                    FL
18046   1G1BJ5SM6K7103204   GM          CRUZE                MIAMI                    FL
18047   1G1BJ5SM6K7103221   GM          CRUZE                Ocoee                    FL
18048   1G1BJ5SM6K7103350   GM          CRUZE                Torrance                 CA
18049   1G1BJ5SM6K7103574   GM          CRUZE                FORT LAUDERDALE          FL
18050   1G1BJ5SM6K7103588   GM          CRUZE                Newark                   NJ
18051   1G1BJ5SM6K7103624   GM          CRUZE                MIAMI                    FL
18052   1G1BJ5SM6K7103770   GM          CRUZE                HILO                     HI
18053   1G1BJ5SM6K7103901   GM          CRUZE                HILO                     HI
18054   1G1BJ5SM6K7103994   GM          CRUZE                EAST BOSTON              MA
18055   1G1BJ5SM6K7104305   GM          CRUZE                SARASOTA                 FL
18056   1G1BJ5SM6K7104353   GM          CRUZE                WEST PALM BEACH          FL
18057   1G1BJ5SM6K7104384   GM          CRUZE                HOLLY HILL               FL
18058   1G1BJ5SM6K7104482   GM          CRUZE                SAVANNAH                 GA
18059   1G1BJ5SM6K7104532   GM          CRUZE                Clarksville              IN
18060   1G1BJ5SM6K7104594   GM          CRUZE                FORT MYERS               FL
18061   1G1BJ5SM6K7104630   GM          CRUZE                Atlanta                  GA
18062   1G1BJ5SM6K7104885   GM          CRUZE                HILO                     HI
18063   1G1BJ5SM6K7105079   GM          CRUZE                ORLANDO                  FL
18064   1G1BJ5SM6K7105163   GM          CRUZE                Sacramento               CA
18065   1G1BJ5SM6K7105275   GM          CRUZE                TAMPA                    FL
18066   1G1BJ5SM6K7105289   GM          CRUZE                HILO                     HI
18067   1G1BJ5SM6K7105390   GM          CRUZE                Clearwater               FL
18068   1G1BJ5SM6K7105423   GM          CRUZE                KAILUA‐KONA              HI
18069   1G1BJ5SM6K7105521   GM          CRUZE                CLOVIS                   CA
18070   1G1BJ5SM6K7105857   GM          CRUZE                HILO                     HI
18071   1G1BJ5SM6K7105891   GM          CRUZE                HILO                     HI
18072   1G1BJ5SM6K7105969   GM          CRUZE                LOS ANGELES              CA
18073   1G1BJ5SM6K7106099   GM          CRUZE                HILO                     HI
18074   1G1BJ5SM6K7106247   GM          CRUZE                Hilo                     HI
18075   1G1BJ5SM6K7106409   GM          CRUZE                Winter Park              FL
18076   1G1BJ5SM6K7106510   GM          CRUZE                Aurora                   CO
18077   1G1BJ5SM6K7106538   GM          CRUZE                LOS ANGELES              CA
18078   1G1BJ5SM6K7106555   GM          CRUZE                Phoenix                  AZ
18079   1G1BJ5SM7K7101641   GM          CRUZE                SACRAMENTO               CA
18080   1G1BJ5SM7K7101705   GM          CRUZE                JACKSONVILLE             FL
18081   1G1BJ5SM7K7101784   GM          CRUZE                TAMPA                    FL
18082   1G1BJ5SM7K7101865   GM          CRUZE                Pasadena                 CA
18083   1G1BJ5SM7K7102000   GM          CRUZE                Denver                   CO
18084   1G1BJ5SM7K7102188   GM          CRUZE                N. Palm Beach            FL
18085   1G1BJ5SM7K7102210   GM          CRUZE                BURBANK                  CA
18086   1G1BJ5SM7K7102398   GM          CRUZE                MEDINA                   OH
18087   1G1BJ5SM7K7102479   GM          CRUZE                CLARKSVILLE              IN
18088   1G1BJ5SM7K7102496   GM          CRUZE                SARASOTA                 FL
18089   1G1BJ5SM7K7102501   GM          CRUZE                FORT LAUDERDALE          FL
18090   1G1BJ5SM7K7102529   GM          CRUZE                RALEIGH                  NC
18091   1G1BJ5SM7K7102661   GM          CRUZE                Pensacola                FL
18092   1G1BJ5SM7K7102708   GM          CRUZE                GLEN BURNIE              MD
18093   1G1BJ5SM7K7102787   GM          CRUZE                SOUTHEAST DST OFFC       OK
18094   1G1BJ5SM7K7102854   GM          CRUZE                FORT MYERS               FL
18095   1G1BJ5SM7K7102952   GM          CRUZE                Smithtown                NY
18096   1G1BJ5SM7K7102983   GM          CRUZE                Hamilton                 OH
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18097   1G1BJ5SM7K7103079   GM          CRUZE                ATLANTA                  GA
18098   1G1BJ5SM7K7103096   GM          CRUZE                NASHVILLE                TN
18099   1G1BJ5SM7K7103101   GM          CRUZE                OMAHA                    NE
18100   1G1BJ5SM7K7103129   GM          CRUZE                HOUSTON                  TX
18101   1G1BJ5SM7K7103163   GM          CRUZE                Hanover                  MD
18102   1G1BJ5SM7K7103244   GM          CRUZE                SARASOTA                 FL
18103   1G1BJ5SM7K7103275   GM          CRUZE                DETROIT                  MI
18104   1G1BJ5SM7K7103535   GM          CRUZE                Atlanta                  GA
18105   1G1BJ5SM7K7103616   GM          CRUZE                FORT MYERS               FL
18106   1G1BJ5SM7K7103647   GM          CRUZE                Orlando                  FL
18107   1G1BJ5SM7K7103695   GM          CRUZE                KAILUA‐KONA              HI
18108   1G1BJ5SM7K7103969   GM          CRUZE                HILO                     HI
18109   1G1BJ5SM7K7104054   GM          CRUZE                DENVER                   CO
18110   1G1BJ5SM7K7104099   GM          CRUZE                HILO                     HI
18111   1G1BJ5SM7K7104300   GM          CRUZE                LAS VEGAS                NV
18112   1G1BJ5SM7K7104443   GM          CRUZE                Detroit                  MI
18113   1G1BJ5SM7K7104491   GM          CRUZE                Mt. Juliet               TN
18114   1G1BJ5SM7K7105141   GM          CRUZE                Torrance                 CA
18115   1G1BJ5SM7K7105155   GM          CRUZE                KALAOA                   HI
18116   1G1BJ5SM7K7105172   GM          CRUZE                WAIMEA                   HI
18117   1G1BJ5SM7K7105432   GM          CRUZE                TAMPA                    FL
18118   1G1BJ5SM7K7105575   GM          CRUZE                WAIMEA                   HI
18119   1G1BJ5SM7K7105608   GM          CRUZE                CHICAGO                  IL
18120   1G1BJ5SM7K7105656   GM          CRUZE                WEST PALM BEACH          FL
18121   1G1BJ5SM7K7105799   GM          CRUZE                ORLANDO                  FL
18122   1G1BJ5SM7K7105804   GM          CRUZE                Miami                    FL
18123   1G1BJ5SM7K7105897   GM          CRUZE                Hartford                 CT
18124   1G1BJ5SM7K7105933   GM          CRUZE                Bridgeton                MO
18125   1G1BJ5SM7K7105978   GM          CRUZE                SANFORD                  FL
18126   1G1BJ5SM7K7106094   GM          CRUZE                SAN DIEGO                CA
18127   1G1BJ5SM7K7106113   GM          CRUZE                HILO                     HI
18128   1G1BJ5SM7K7106287   GM          CRUZE                Hayward                  CA
18129   1G1BJ5SM7K7106306   GM          CRUZE                Roseville                CA
18130   1G1BJ5SM7K7106323   GM          CRUZE                PHILADELPHIA             PA
18131   1G1BJ5SM7K7106354   GM          CRUZE                Burien                   WA
18132   1G1BJ5SM7K7106466   GM          CRUZE                KAILUA‐KONA              HI
18133   1G1BJ5SM7K7106564   GM          CRUZE                KALAOA                   HI
18134   1G1BJ5SM7K7106578   GM          CRUZE                LOS ANGELES              CA
18135   1G1BJ5SM7K7106581   GM          CRUZE                MIAMI                    FL
18136   1G1BJ5SM7K7106600   GM          CRUZE                WEST HARTFORD            CT
18137   1G1BJ5SM7K7106614   GM          CRUZE                FORT MYERS               FL
18138   1G1BJ5SM7K7106662   GM          CRUZE                Sanford                  FL
18139   1G1BJ5SM7K7106676   GM          CRUZE                BURBANK                  CA
18140   1G1BJ5SM7K7106757   GM          CRUZE                KALAOA                   HI
18141   1G1BJ5SM8K7101485   GM          CRUZE                Sanford                  FL
18142   1G1BJ5SM8K7101552   GM          CRUZE                Memphis                  TN
18143   1G1BJ5SM8K7101583   GM          CRUZE                WEST PALM BEACH          FL
18144   1G1BJ5SM8K7101633   GM          CRUZE                LOS ANGELES              CA
18145   1G1BJ5SM8K7101678   GM          CRUZE                Salt Lake City           UT
18146   1G1BJ5SM8K7101700   GM          CRUZE                Anaheim                  CA
18147   1G1BJ5SM8K7101857   GM          CRUZE                Anaheim                  CA
18148   1G1BJ5SM8K7101888   GM          CRUZE                Tolleson                 AZ
18149   1G1BJ5SM8K7101972   GM          CRUZE                Jacksonville             FL
18150   1G1BJ5SM8K7102006   GM          CRUZE                Scottsdale               AZ
18151   1G1BJ5SM8K7102037   GM          CRUZE                Massapequa               NY
18152   1G1BJ5SM8K7102071   GM          CRUZE                DALLAS                   TX
18153   1G1BJ5SM8K7102099   GM          CRUZE                MEDINA                   OH
18154   1G1BJ5SM8K7102166   GM          CRUZE                Sacramento               CA
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18155   1G1BJ5SM8K7102216   GM          CRUZE                TAMPA                    FL
18156   1G1BJ5SM8K7102278   GM          CRUZE                Roseville                CA
18157   1G1BJ5SM8K7102281   GM          CRUZE                DALLAS                   TX
18158   1G1BJ5SM8K7102331   GM          CRUZE                Atlanta                  GA
18159   1G1BJ5SM8K7102507   GM          CRUZE                Tulsa                    OK
18160   1G1BJ5SM8K7102622   GM          CRUZE                Atlanta                  GA
18161   1G1BJ5SM8K7102698   GM          CRUZE                Cleveland                OH
18162   1G1BJ5SM8K7102720   GM          CRUZE                Atlanta                  GA
18163   1G1BJ5SM8K7102751   GM          CRUZE                NEW YORK CITY            NY
18164   1G1BJ5SM8K7103088   GM          CRUZE                MEMPHIS                  TN
18165   1G1BJ5SM8K7103110   GM          CRUZE                FORT MYERS               FL
18166   1G1BJ5SM8K7103186   GM          CRUZE                Memphis                  TN
18167   1G1BJ5SM8K7103396   GM          CRUZE                LOS ANGELES              CA
18168   1G1BJ5SM8K7103463   GM          CRUZE                TAMPA                    FL
18169   1G1BJ5SM8K7103477   GM          CRUZE                Woodhaven                MI
18170   1G1BJ5SM8K7103480   GM          CRUZE                COLUMBIA                 SC
18171   1G1BJ5SM8K7103494   GM          CRUZE                PHILADELPHIA             PA
18172   1G1BJ5SM8K7103544   GM          CRUZE                ORLANDO                  FL
18173   1G1BJ5SM8K7103589   GM          CRUZE                CLEVELAND                OH
18174   1G1BJ5SM8K7103611   GM          CRUZE                Jacksonville             FL
18175   1G1BJ5SM8K7103656   GM          CRUZE                Fredericksburg           VA
18176   1G1BJ5SM8K7103723   GM          CRUZE                FLORIDA DEALER DIR       FL
18177   1G1BJ5SM8K7103768   GM          CRUZE                CHICAGO                  IL
18178   1G1BJ5SM8K7103771   GM          CRUZE                Nashville                TN
18179   1G1BJ5SM8K7103785   GM          CRUZE                KAILUA‐KONA              HI
18180   1G1BJ5SM8K7103849   GM          CRUZE                LAS VEGAS                NV
18181   1G1BJ5SM8K7103852   GM          CRUZE                BURBANK                  CA
18182   1G1BJ5SM8K7103981   GM          CRUZE                HILO                     HI
18183   1G1BJ5SM8K7104063   GM          CRUZE                NASHVILLE                TN
18184   1G1BJ5SM8K7104080   GM          CRUZE                WEST PALM BEACH          FL
18185   1G1BJ5SM8K7104113   GM          CRUZE                PICO RIVERA              CA
18186   1G1BJ5SM8K7104449   GM          CRUZE                York Haven               PA
18187   1G1BJ5SM8K7104483   GM          CRUZE                TAMPA                    FL
18188   1G1BJ5SM8K7104497   GM          CRUZE                Lake in the Hil          IL
18189   1G1BJ5SM8K7104645   GM          CRUZE                FORT MYERS               FL
18190   1G1BJ5SM8K7104662   GM          CRUZE                LAS VEGAS                NV
18191   1G1BJ5SM8K7104869   GM          CRUZE                ORLANDO                  FL
18192   1G1BJ5SM8K7104905   GM          CRUZE                KALAOA                   HI
18193   1G1BJ5SM8K7104922   GM          CRUZE                ORLANDO                  FL
18194   1G1BJ5SM8K7104970   GM          CRUZE                LAS VEGAS                NV
18195   1G1BJ5SM8K7105049   GM          CRUZE                Irving                   TX
18196   1G1BJ5SM8K7105150   GM          CRUZE                HILO                     HI
18197   1G1BJ5SM8K7105164   GM          CRUZE                SAN DIEGO                CA
18198   1G1BJ5SM8K7105231   GM          CRUZE                AUGUSTA                  GA
18199   1G1BJ5SM8K7105262   GM          CRUZE                HILO                     HI
18200   1G1BJ5SM8K7105326   GM          CRUZE                KALAOA                   HI
18201   1G1BJ5SM8K7105357   GM          CRUZE                Atlanta                  GA
18202   1G1BJ5SM8K7105455   GM          CRUZE                Norfolk                  VA
18203   1G1BJ5SM8K7105617   GM          CRUZE                LOS ANGELES              CA
18204   1G1BJ5SM8K7105858   GM          CRUZE                Stockton                 CA
18205   1G1BJ5SM8K7105908   GM          CRUZE                Bridgeton                MO
18206   1G1BJ5SM8K7105925   GM          CRUZE                ORLANDO                  FL
18207   1G1BJ5SM8K7106010   GM          CRUZE                WILMINGTON               CA
18208   1G1BJ5SM8K7106167   GM          CRUZE                ORLANDO                  FL
18209   1G1BJ5SM8K7106220   GM          CRUZE                INDIANAPOLIS             IN
18210   1G1BJ5SM8K7106282   GM          CRUZE                LOS ANGELES              CA
18211   1G1BJ5SM8K7106380   GM          CRUZE                BURBANK                  CA
18212   1G1BJ5SM8K7106394   GM          CRUZE                SANFORD                  FL
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18213   1G1BJ5SM8K7106492   GM          CRUZE                KAILUA‐KONA              HI
18214   1G1BJ5SM8K7106539   GM          CRUZE                Englewood                CO
18215   1G1BJ5SM8K7106587   GM          CRUZE                KAILUA‐KONA              HI
18216   1G1BJ5SM8K7106718   GM          CRUZE                ORLANDO                  FL
18217   1G1BJ5SM9K7101592   GM          CRUZE                Sacramento               CA
18218   1G1BJ5SM9K7101690   GM          CRUZE                BURBANK                  CA
18219   1G1BJ5SM9K7101706   GM          CRUZE                WEST PALM BEACH          FL
18220   1G1BJ5SM9K7101852   GM          CRUZE                SANFORD                  FL
18221   1G1BJ5SM9K7101964   GM          CRUZE                Santa Clara              CA
18222   1G1BJ5SM9K7101981   GM          CRUZE                JACKSONVILLE             FL
18223   1G1BJ5SM9K7101995   GM          CRUZE                ONTARIO                  CA
18224   1G1BJ5SM9K7102015   GM          CRUZE                Winter Park              FL
18225   1G1BJ5SM9K7102080   GM          CRUZE                PHOENIX                  AZ
18226   1G1BJ5SM9K7102144   GM          CRUZE                HANOVER                  MD
18227   1G1BJ5SM9K7102189   GM          CRUZE                OAKLAND                  CA
18228   1G1BJ5SM9K7102452   GM          CRUZE                KENNER                   LA
18229   1G1BJ5SM9K7102466   GM          CRUZE                San Antonio              TX
18230   1G1BJ5SM9K7102631   GM          CRUZE                Lake Elsinore            CA
18231   1G1BJ5SM9K7102905   GM          CRUZE                Tolleson                 AZ
18232   1G1BJ5SM9K7103178   GM          CRUZE                TAMPA                    FL
18233   1G1BJ5SM9K7103200   GM          CRUZE                MIAMI                    FL
18234   1G1BJ5SM9K7103388   GM          CRUZE                SAINT PAUL               MN
18235   1G1BJ5SM9K7103441   GM          CRUZE                San Antonio              TX
18236   1G1BJ5SM9K7103553   GM          CRUZE                SOUTHEAST DST OFFC       OK
18237   1G1BJ5SM9K7103603   GM          CRUZE                MIAMI                    FL
18238   1G1BJ5SM9K7103911   GM          CRUZE                FORT MYERS               FL
18239   1G1BJ5SM9K7104525   GM          CRUZE                LOS ANGELES              CA
18240   1G1BJ5SM9K7104590   GM          CRUZE                JACKSONVILLE             FL
18241   1G1BJ5SM9K7104668   GM          CRUZE                KENNER                   LA
18242   1G1BJ5SM9K7104699   GM          CRUZE                ORLANDO                  FL
18243   1G1BJ5SM9K7104847   GM          CRUZE                WEST PALM BEACH          FL
18244   1G1BJ5SM9K7105044   GM          CRUZE                ORLANDO                  FL
18245   1G1BJ5SM9K7105402   GM          CRUZE                FORT LAUDERDALE          FL
18246   1G1BJ5SM9K7105559   GM          CRUZE                EWA BEACH                HI
18247   1G1BJ5SM9K7105626   GM          CRUZE                Omaha                    NE
18248   1G1BJ5SM9K7105884   GM          CRUZE                HILO                     HI
18249   1G1BJ5SM9K7106453   GM          CRUZE                ORLANDO                  FL
18250   1G1BJ5SM9K7106629   GM          CRUZE                TAMPA                    FL
18251   1G1BJ5SM9K7106677   GM          CRUZE                Fontana                  CA
18252   1G1BJ5SM9K7106713   GM          CRUZE                WEST PALM BEACH          FL
18253   1G1BJ5SM9K7107148   GM          CRUZE                MILWAUKEE                WI
18254   1G1BJ5SMXK7101701   GM          CRUZE                ORLANDO                  FL
18255   1G1BJ5SMXK7101729   GM          CRUZE                FORT MYERS               FL
18256   1G1BJ5SMXK7101777   GM          CRUZE                Sanford                  FL
18257   1G1BJ5SMXK7101830   GM          CRUZE                Clearwater               FL
18258   1G1BJ5SMXK7101844   GM          CRUZE                MIAMI                    FL
18259   1G1BJ5SMXK7101861   GM          CRUZE                Miami                    FL
18260   1G1BJ5SMXK7101875   GM          CRUZE                Roseville                CA
18261   1G1BJ5SMXK7101892   GM          CRUZE                Pasadena                 CA
18262   1G1BJ5SMXK7101911   GM          CRUZE                Atlanta                  GA
18263   1G1BJ5SMXK7101925   GM          CRUZE                Atlanta                  GA
18264   1G1BJ5SMXK7102041   GM          CRUZE                Phoenix                  AZ
18265   1G1BJ5SMXK7102122   GM          CRUZE                Indianapolis             IN
18266   1G1BJ5SMXK7102296   GM          CRUZE                Detroit                  MI
18267   1G1BJ5SMXK7102301   GM          CRUZE                Clearwater               FL
18268   1G1BJ5SMXK7102444   GM          CRUZE                HANOVER                  MD
18269   1G1BJ5SMXK7102458   GM          CRUZE                PHILADELPHIA             PA
18270   1G1BJ5SMXK7102475   GM          CRUZE                ORLANDO                  FL
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18271   1G1BJ5SMXK7102508   GM          CRUZE                Orlando                  FL
18272   1G1BJ5SMXK7102606   GM          CRUZE                Statesville              NC
18273   1G1BJ5SMXK7102699   GM          CRUZE                Des Plaines              IL
18274   1G1BJ5SMXK7102721   GM          CRUZE                Newark                   NJ
18275   1G1BJ5SMXK7102878   GM          CRUZE                Miami                    FL
18276   1G1BJ5SMXK7102900   GM          CRUZE                PHOENIX                  AZ
18277   1G1BJ5SMXK7102928   GM          CRUZE                LOS ANGELES              CA
18278   1G1BJ5SMXK7102959   GM          CRUZE                Anaheim                  CA
18279   1G1BJ5SMXK7103044   GM          CRUZE                Atlanta                  GA
18280   1G1BJ5SMXK7103092   GM          CRUZE                Hapeville                GA
18281   1G1BJ5SMXK7103108   GM          CRUZE                Austin                   TX
18282   1G1BJ5SMXK7103268   GM          CRUZE                INGLEWOOD                CA
18283   1G1BJ5SMXK7103397   GM          CRUZE                CHICAGO                  IL
18284   1G1BJ5SMXK7103688   GM          CRUZE                Denver                   CO
18285   1G1BJ5SMXK7103691   GM          CRUZE                BURBANK                  CA
18286   1G1BJ5SMXK7103920   GM          CRUZE                KALAOA                   HI
18287   1G1BJ5SMXK7104016   GM          CRUZE                GREEN BAY                WI
18288   1G1BJ5SMXK7104050   GM          CRUZE                PHOENIX                  AZ
18289   1G1BJ5SMXK7104064   GM          CRUZE                FORT MYERS               FL
18290   1G1BJ5SMXK7104078   GM          CRUZE                Phoenix                  AZ
18291   1G1BJ5SMXK7104145   GM          CRUZE                ROANOKE                  VA
18292   1G1BJ5SMXK7104226   GM          CRUZE                SEATTLE                  WA
18293   1G1BJ5SMXK7104338   GM          CRUZE                Hendersonville           TN
18294   1G1BJ5SMXK7104372   GM          CRUZE                ORLANDO                  FL
18295   1G1BJ5SMXK7104484   GM          CRUZE                Atlanta                  GA
18296   1G1BJ5SMXK7104503   GM          CRUZE                MIAMI                    FL
18297   1G1BJ5SMXK7104713   GM          CRUZE                SAN FRANCISCO            CA
18298   1G1BJ5SMXK7104775   GM          CRUZE                EWA BEACH                HI
18299   1G1BJ5SMXK7104856   GM          CRUZE                Atlanta                  GA
18300   1G1BJ5SMXK7104906   GM          CRUZE                Kansas City              MO
18301   1G1BJ5SMXK7105067   GM          CRUZE                KAILUA‐KONA              HI
18302   1G1BJ5SMXK7105120   GM          CRUZE                LOS ANGELES              CA
18303   1G1BJ5SMXK7105182   GM          CRUZE                Chicago                  IL
18304   1G1BJ5SMXK7105277   GM          CRUZE                RALEIGH                  NC
18305   1G1BJ5SMXK7105280   GM          CRUZE                ROSEVILLE                CA
18306   1G1BJ5SMXK7105344   GM          CRUZE                WAIMEA                   HI
18307   1G1BJ5SMXK7105389   GM          CRUZE                HILO                     HI
18308   1G1BJ5SMXK7105652   GM          CRUZE                ALLENTOWN                US
18309   1G1BJ5SMXK7105960   GM          CRUZE                Sacramento               CA
18310   1G1BJ5SMXK7105974   GM          CRUZE                SAN FRANCISCO            CA
18311   1G1BJ5SMXK7106073   GM          CRUZE                HILO                     HI
18312   1G1BJ5SMXK7106123   GM          CRUZE                ORLANDO                  FL
18313   1G1BJ5SMXK7106252   GM          CRUZE                FORT LAUDERDALE          FL
18314   1G1BJ5SMXK7106283   GM          CRUZE                MIAMI                    FL
18315   1G1BJ5SMXK7106428   GM          CRUZE                BURBANK                  CA
18316   1G1BJ5SMXK7106669   GM          CRUZE                HILO                     HI
18317   1G1BJ5SMXK7106686   GM          CRUZE                ORLANDO                  FL
18318   1G1BJ5SMXK7106705   GM          CRUZE                Beaverton                OR
18319   1G1BJ5SMXK7106719   GM          CRUZE                SAN JOSE                 CA
18320   1G1BJ5SMXK7106736   GM          CRUZE                KAILUA KONA              HI
18321   1G1BJ5SMXK7106770   GM          CRUZE                HONOLULU                 HI
18322   1G1BJ5SMXK7106817   GM          CRUZE                WEST PALM BEACH          FL
18323   1G1FB1RX0J0172579   GM          CAMARO               NEWARK                   NJ
18324   1G1FB1RX0J0177359   GM          CAMARO               ORLANDO                  FL
18325   1G1FB1RX0J0177989   GM          CAMARO               LOS ANGELES AP           CA
18326   1G1FB1RX0K0125814   GM          CAMARO               SAN FRANCISCO            CA
18327   1G1FB1RX0K0126106   GM          CAMARO               Las Vegas                NV
18328   1G1FB1RX0K0126509   GM          CAMARO               Fresno                   CA
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18329   1G1FB1RX0K0130950   GM           CAMARO               Davie                    FL
18330   1G1FB1RX0K0131046   GM           CAMARO               Tampa                    FL
18331   1G1FB1RX0K0131757   GM           CAMARO               Greensboro               NC
18332   1G1FB1RX0K0132651   GM           CAMARO               SOUTHEAST DST OFFC       OK
18333   1G1FB1RX0K0132777   GM           CAMARO               Union City               GA
18334   1G1FB1RX0K0132990   GM           CAMARO               LOS ANGELES              CA
18335   1G1FB1RX0K0133105   GM           CAMARO               Scottsdale               AZ
18336   1G1FB1RX0K0133931   GM           CAMARO               Chicago                  IL
18337   1G1FB1RX0K0137350   GM           CAMARO               El Paso                  TX
18338   1G1FB1RX0K0137638   GM           CAMARO               Atlanta                  GA
18339   1G1FB1RX0K0138031   GM           CAMARO               ORLANDO                  FL
18340   1G1FB1RX1J0147481   GM           CAMARO               SACRAMENTO               CA
18341   1G1FB1RX1J0148789   GM           CAMARO               Sacramento               CA
18342   1G1FB1RX1J0151112   GM           CAMARO               Anaheim                  CA
18343   1G1FB1RX1J0172882   GM           CAMARO               CHICAGO                  IL
18344   1G1FB1RX1J0180481   GM           CAMARO               STERLING                 VA
18345   1G1FB1RX1K0130634   GM           CAMARO               PENSACOLA                FL
18346   1G1FB1RX1K0130696   GM           CAMARO               Elkridge                 MD
18347   1G1FB1RX1K0130973   GM           CAMARO               Tampa                    FL
18348   1G1FB1RX1K0131010   GM           CAMARO               FORT MYERS               FL
18349   1G1FB1RX1K0131055   GM           CAMARO               FORT MYERS               FL
18350   1G1FB1RX1K0131315   GM           CAMARO               WEST PALM BEACH          FL
18351   1G1FB1RX1K0131377   GM           CAMARO               Windsor Locks            CT
18352   1G1FB1RX1K0131394   GM           CAMARO               Las Vegas                NV
18353   1G1FB1RX1K0131427   GM           CAMARO               Jacksonville             FL
18354   1G1FB1RX1K0131458   GM           CAMARO               Stone Mountain           GA
18355   1G1FB1RX1K0131511   GM           CAMARO               CLEARWATER               FL
18356   1G1FB1RX1K0131864   GM           CAMARO               Ft. Myers                FL
18357   1G1FB1RX1K0131900   GM           CAMARO               WOODSON TERRACE          MO
18358   1G1FB1RX1K0131928   GM           CAMARO               DETROIT                  MI
18359   1G1FB1RX1K0132108   GM           CAMARO               Newport Beach            CA
18360   1G1FB1RX1K0132478   GM           CAMARO               FORT MYERS               FL
18361   1G1FB1RX1K0132609   GM           CAMARO               DALLAS                   TX
18362   1G1FB1RX1K0132819   GM           CAMARO               WEST PALM BEACH          FL
18363   1G1FB1RX1K0133131   GM           CAMARO               SEATTLE                  WA
18364   1G1FB1RX1K0133467   GM           CAMARO               St. Louis                MO
18365   1G1FB1RX1K0133517   GM           CAMARO               Roseville                CA
18366   1G1FB1RX1K0133789   GM           CAMARO               Hamilton                 OH
18367   1G1FB1RX1K0137972   GM           CAMARO               LOS ANGELES              CA
18368   1G1FB1RX2J0122024   GM           CAMARO               North Dighton            MA
18369   1G1FB1RX2J0179002   GM           CAMARO               LOS ANGELES AP           CA
18370   1G1FB1RX2K0130593   GM           CAMARO               Phoenix                  AZ
18371   1G1FB1RX2K0130741   GM           CAMARO               Tampa                    FL
18372   1G1FB1RX2K0130786   GM           CAMARO               SARASOTA                 FL
18373   1G1FB1RX2K0131209   GM           CAMARO               SAN JOSE                 CA
18374   1G1FB1RX2K0131310   GM           CAMARO               Greensboro               NC
18375   1G1FB1RX2K0131937   GM           CAMARO               MIAMI                    FL
18376   1G1FB1RX2K0132487   GM           CAMARO               REDMOND                  OR
18377   1G1FB1RX2K0133073   GM           CAMARO               Harvey                   LA
18378   1G1FB1RX2K0133106   GM           CAMARO               Baton Rouge              LA
18379   1G1FB1RX2K0133378   GM           CAMARO               SAN JOSE                 CA
18380   1G1FB1RX2K0133557   GM           CAMARO               ROSWELL                  GA
18381   1G1FB1RX2K0133655   GM           CAMARO               Tolleson                 AZ
18382   1G1FB1RX2K0133896   GM           CAMARO               Las Vegas                NV
18383   1G1FB1RX2K0138483   GM           CAMARO               Riverside                CA
18384   1G1FB1RX2K0138760   GM           CAMARO               S. San Francisc          CA
18385   1G1FB1RX3J0166775   GM           CAMARO               Albuquerque              NM
18386   1G1FB1RX3J0182023   GM           CAMARO               PORTLAND                 ME
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18387   1G1FB1RX3K0125693   GM           CAMARO               ONTARIO                  CA
18388   1G1FB1RX3K0126536   GM           CAMARO               Hayward                  CA
18389   1G1FB1RX3K0130862   GM           CAMARO               JACKSONVILLE             FL
18390   1G1FB1RX3K0131185   GM           CAMARO               DAYTONA BEACH            FL
18391   1G1FB1RX3K0131302   GM           CAMARO               SARASOTA                 FL
18392   1G1FB1RX3K0131431   GM           CAMARO               SOUTHEAST DST OFFC       OK
18393   1G1FB1RX3K0131574   GM           CAMARO               Huntington Stat          NY
18394   1G1FB1RX3K0132062   GM           CAMARO               SANTA ANA                CA
18395   1G1FB1RX3K0132238   GM           CAMARO               Smithtown                NY
18396   1G1FB1RX3K0133308   GM           CAMARO               Hapeville                GA
18397   1G1FB1RX3K0133633   GM           CAMARO               Hurricane                WV
18398   1G1FB1RX3K0134054   GM           CAMARO               Las Vegas                NV
18399   1G1FB1RX3K0137861   GM           CAMARO               Nashville                TN
18400   1G1FB1RX3K0138783   GM           CAMARO               Lake Elsinore            CA
18401   1G1FB1RX4J0177705   GM           CAMARO               MIAMI                    FL
18402   1G1FB1RX4J0178689   GM           CAMARO               SAN JOSE                 CA
18403   1G1FB1RX4J0181902   GM           CAMARO               PHILADELPHIA             PA
18404   1G1FB1RX4K0130658   GM           CAMARO               ATLANTA                  GA
18405   1G1FB1RX4K0131132   GM           CAMARO               Tampa                    FL
18406   1G1FB1RX4K0131521   GM           CAMARO               TALLAHASSEE              FL
18407   1G1FB1RX4K0132023   GM           CAMARO               LOS ANGELES              CA
18408   1G1FB1RX4K0132068   GM           CAMARO               Tampa                    FL
18409   1G1FB1RX4K0132104   GM           CAMARO               OAKLAND                  CA
18410   1G1FB1RX4K0132216   GM           CAMARO               Phoenix                  AZ
18411   1G1FB1RX4K0133236   GM           CAMARO               TUCSON                   AZ
18412   1G1FB1RX4K0133284   GM           CAMARO               Las Vegas                NV
18413   1G1FB1RX4K0134127   GM           CAMARO               Nashville                TN
18414   1G1FB1RX4K0137982   GM           CAMARO               WEST PALM BEACH          FL
18415   1G1FB1RX4K0138033   GM           CAMARO               DECATUR                  GA
18416   1G1FB1RX4K0138095   GM           CAMARO               KANSAS CITY              MO
18417   1G1FB1RX4K0138923   GM           CAMARO               CLARKSVILLE              IN
18418   1G1FB1RX5J0150643   GM           CAMARO               Las Vegas                NV
18419   1G1FB1RX5J0177745   GM           CAMARO               MIAMI                    FL
18420   1G1FB1RX5J0178409   GM           CAMARO               Hartford                 CT
18421   1G1FB1RX5K0125873   GM           CAMARO               ONTARIO                  CA
18422   1G1FB1RX5K0130605   GM           CAMARO               N. Palm Beach            FL
18423   1G1FB1RX5K0130877   GM           CAMARO               Davie                    FL
18424   1G1FB1RX5K0131060   GM           CAMARO               Tolleson                 AZ
18425   1G1FB1RX5K0131382   GM           CAMARO               FT LAUDERDALE            FL
18426   1G1FB1RX5K0131608   GM           CAMARO               SOUTHEAST DST OFFC       OK
18427   1G1FB1RX5K0133617   GM           CAMARO               WEST COLUMBIA            SC
18428   1G1FB1RX5K0133939   GM           CAMARO               San Diego                CA
18429   1G1FB1RX5K0137344   GM           CAMARO               Pensacola                FL
18430   1G1FB1RX5K0137666   GM           CAMARO               DALLAS                   TX
18431   1G1FB1RX5K0138123   GM           CAMARO               DES MOINES               IA
18432   1G1FB1RX5K0138526   GM           CAMARO               Nashville                TN
18433   1G1FB1RX6J0150814   GM           CAMARO               SACRAMENTO               CA
18434   1G1FB1RX6J0176426   GM           CAMARO               RONKONKOMA               NY
18435   1G1FB1RX6K0131410   GM           CAMARO               FORT LAUDERDALE          FL
18436   1G1FB1RX6K0132198   GM           CAMARO               LAS VEGAS                NV
18437   1G1FB1RX6K0132444   GM           CAMARO               FT LAUDERDALE            FL
18438   1G1FB1RX6K0132668   GM           CAMARO               ATLANTA                  GA
18439   1G1FB1RX6K0132704   GM           CAMARO               SACRAMENTO               CA
18440   1G1FB1RX6K0133156   GM           CAMARO               LOUISVILLE               KY
18441   1G1FB1RX6K0133173   GM           CAMARO               Hamilton                 OH
18442   1G1FB1RX6K0133304   GM           CAMARO               PHOENIX                  AZ
18443   1G1FB1RX6K0133917   GM           CAMARO               Jacksonville             FL
18444   1G1FB1RX6K0134159   GM           CAMARO               Pensacola                FL
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18445   1G1FB1RX6K0134291   GM           CAMARO               Atlanta                  GA
18446   1G1FB1RX6K0134419   GM           CAMARO               SOUTHEAST DST OFFC       OK
18447   1G1FB1RX6K0138177   GM           CAMARO               Lake in the Hil          IL
18448   1G1FB1RX7K0130945   GM           CAMARO               ORLANDO                  FL
18449   1G1FB1RX7K0131058   GM           CAMARO               Albuquerque              NM
18450   1G1FB1RX7K0131092   GM           CAMARO               ATLANTA                  GA
18451   1G1FB1RX7K0131142   GM           CAMARO               DANIA BEACH              FL
18452   1G1FB1RX7K0131366   GM           CAMARO               WEST PALM BEACH          FL
18453   1G1FB1RX7K0131416   GM           CAMARO               PHOENIX                  AZ
18454   1G1FB1RX7K0131531   GM           CAMARO               Las Vegas                NV
18455   1G1FB1RX7K0131562   GM           CAMARO               Hayward                  CA
18456   1G1FB1RX7K0131657   GM           CAMARO               STERLING                 VA
18457   1G1FB1RX7K0132016   GM           CAMARO               Torrance                 CA
18458   1G1FB1RX7K0132078   GM           CAMARO               MIAMI                    FL
18459   1G1FB1RX7K0132372   GM           CAMARO               North Dighton            MA
18460   1G1FB1RX7K0132792   GM           CAMARO               MONTEREY                 CA
18461   1G1FB1RX7K0133649   GM           CAMARO               SOUTHEAST DST OFFC       OK
18462   1G1FB1RX7K0133974   GM           CAMARO               FLORIDA DEALER DIR       FL
18463   1G1FB1RX7K0134221   GM           CAMARO               St. Louis                MO
18464   1G1FB1RX8J0172751   GM           CAMARO               Florissant               MO
18465   1G1FB1RX8K0126273   GM           CAMARO               LAS VEGAS                NV
18466   1G1FB1RX8K0130646   GM           CAMARO               SOUTHEAST DST OFFC       OK
18467   1G1FB1RX8K0131425   GM           CAMARO               ATLANTA AP               GA
18468   1G1FB1RX8K0131506   GM           CAMARO               DAYTONA BEACH            FL
18469   1G1FB1RX8K0131585   GM           CAMARO               Pensacola                FL
18470   1G1FB1RX8K0131733   GM           CAMARO               SARASOTA                 FL
18471   1G1FB1RX8K0132008   GM           CAMARO               FORT MYERS               FL
18472   1G1FB1RX8K0132073   GM           CAMARO               FAYETTEVILLE             GA
18473   1G1FB1RX8K0132185   GM           CAMARO               Winter Park              FL
18474   1G1FB1RX8K0132560   GM           CAMARO               Davie                    FL
18475   1G1FB1RX8K0133319   GM           CAMARO               Mira Loma                CA
18476   1G1FB1RX9K0130588   GM           CAMARO               FORT LAUDERDALE          FL
18477   1G1FB1RX9K0130641   GM           CAMARO               MIAMI                    FL
18478   1G1FB1RX9K0130896   GM           CAMARO               WEST PALM BEACH          FL
18479   1G1FB1RX9K0131014   GM           CAMARO               Orlando                  FL
18480   1G1FB1RX9K0131613   GM           CAMARO               LAS VEGAS                NV
18481   1G1FB1RX9K0132034   GM           CAMARO               ORLANDO                  FL
18482   1G1FB1RX9K0132048   GM           CAMARO               Scottsdale               AZ
18483   1G1FB1RX9K0132177   GM           CAMARO               Pensacola                FL
18484   1G1FB1RX9K0132289   GM           CAMARO               Miami                    FL
18485   1G1FB1RX9K0132969   GM           CAMARO               Des Plaines              IL
18486   1G1FB1RX9K0133958   GM           CAMARO               Phoenix                  AZ
18487   1G1FB1RX9K0138481   GM           CAMARO               MEBANE                   NC
18488   1G1FB1RX9K0139761   GM           CAMARO               KNOXVILLE                TN
18489   1G1FB1RXXJ0172444   GM           CAMARO               AUGUSTA                  GA
18490   1G1FB1RXXK0130700   GM           CAMARO               Rock Hill                SC
18491   1G1FB1RXXK0130793   GM           CAMARO               JACKSONVILLE             FL
18492   1G1FB1RXXK0130826   GM           CAMARO               SARASOTA                 FL
18493   1G1FB1RXXK0131023   GM           CAMARO               Jacksonville             FL
18494   1G1FB1RXXK0131121   GM           CAMARO               S. San Francisc          CA
18495   1G1FB1RXXK0131149   GM           CAMARO               Davie                    FL
18496   1G1FB1RXXK0131233   GM           CAMARO               FRESNO                   CA
18497   1G1FB1RXXK0131331   GM           CAMARO               Norwalk                  CA
18498   1G1FB1RXXK0131362   GM           CAMARO               LOS ANGELES              CA
18499   1G1FB1RXXK0131376   GM           CAMARO               SAN JOSE                 CA
18500   1G1FB1RXXK0131605   GM           CAMARO               KILLEEN                  US
18501   1G1FB1RXXK0132737   GM           CAMARO               HAYWARD                  CA
18502   1G1FB1RXXK0132821   GM           CAMARO               HAYWARD                  CA
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18503   1G1FB1RXXK0132866   GM          CAMARO               Newport Beach            CA
18504   1G1FB1RXXK0133869   GM          CAMARO               SOUTHEAST DST OFFC       OK
18505   1G1FB1RXXK0133905   GM          CAMARO               FLORIDA DEALER DIR       FL
18506   1G1FB1RXXK0134195   GM          CAMARO               Salt Lake City           UT
18507   1G1FB1RXXK0134438   GM          CAMARO               MILWAUKEE                WI
18508   1G1FB3DX0J0111557   GM          CAMARO               SAN FRANCISCO            CA
18509   1G1FB3DX0J0113048   GM          CAMARO               Kahului                  HI
18510   1G1FB3DX0J0113535   GM          CAMARO               KAHULUI                  HI
18511   1G1FB3DX0J0113566   GM          CAMARO               KAUAI                    HI
18512   1G1FB3DX0J0114278   GM          CAMARO               KAHULUI                  HI
18513   1G1FB3DX0J0114541   GM          CAMARO               KAHULUI                  HI
18514   1G1FB3DX0J0115222   GM          CAMARO               KAHULUI                  HI
18515   1G1FB3DX0J0115429   GM          CAMARO               Kahului                  HI
18516   1G1FB3DX0J0123336   GM          CAMARO               North Las Vegas          NV
18517   1G1FB3DX0J0123577   GM          CAMARO               Kahului                  HI
18518   1G1FB3DX0J0123837   GM          CAMARO               Hilo                     HI
18519   1G1FB3DX0J0124275   GM          CAMARO               SAN FRANCISCO            CA
18520   1G1FB3DX0J0124342   GM          CAMARO               TRACY                    CA
18521   1G1FB3DX0J0124521   GM          CAMARO               Hilo                     HI
18522   1G1FB3DX0J0125202   GM          CAMARO               Kahului                  HI
18523   1G1FB3DX0J0125376   GM          CAMARO               Kahului                  HI
18524   1G1FB3DX0K0109681   GM          CAMARO               HILO                     HI
18525   1G1FB3DX0K0109986   GM          CAMARO               HILO                     HI
18526   1G1FB3DX0K0110555   GM          CAMARO               HILO                     HI
18527   1G1FB3DX0K0110653   GM          CAMARO               KAILUA‐KONA              HI
18528   1G1FB3DX0K0111043   GM          CAMARO               KAILUA‐KONA              HI
18529   1G1FB3DX0K0112600   GM          CAMARO               KAILUA‐KONA              HI
18530   1G1FB3DX0K0121488   GM          CAMARO               MIAMI                    FL
18531   1G1FB3DX0K0122740   GM          CAMARO               BIRMINGHAN               AL
18532   1G1FB3DX0K0125363   GM          CAMARO               MIAMI                    FL
18533   1G1FB3DX0K0126058   GM          CAMARO               BUFFALO                  NY
18534   1G1FB3DX0K0126559   GM          CAMARO               MIAMI                    FL
18535   1G1FB3DX0K0134693   GM          CAMARO               LOS ANGELES              CA
18536   1G1FB3DX0K0134709   GM          CAMARO               Tampa                    FL
18537   1G1FB3DX0K0136427   GM          CAMARO               LAS VEGAS                NV
18538   1G1FB3DX0K0136945   GM          CAMARO               SAN DIEGO                US
18539   1G1FB3DX0K0137366   GM          CAMARO               INGLEWOOD                CA
18540   1G1FB3DX0K0137657   GM          CAMARO               LAS VEGAS                NV
18541   1G1FB3DX0K0139294   GM          CAMARO               PHOENIX                  AZ
18542   1G1FB3DX0K0139683   GM          CAMARO               PHOENIX                  AZ
18543   1G1FB3DX0K0139960   GM          CAMARO               MONTGOMERY               AL
18544   1G1FB3DX0K0142602   GM          CAMARO               LAS VEGAS                NV
18545   1G1FB3DX0K0142955   GM          CAMARO               LAS VEGAS                NV
18546   1G1FB3DX0K0143829   GM          CAMARO               KENNER                   LA
18547   1G1FB3DX0K0143961   GM          CAMARO               SACRAMENTO               CA
18548   1G1FB3DX0K0147976   GM          CAMARO               Atlanta                  GA
18549   1G1FB3DX0K0148075   GM          CAMARO               LAS VEGAS                NV
18550   1G1FB3DX0K0149632   GM          CAMARO               PHOENIX                  AZ
18551   1G1FB3DX1J0112796   GM          CAMARO               TRACY                    CA
18552   1G1FB3DX1J0113544   GM          CAMARO               KAHULUI                  HI
18553   1G1FB3DX1J0114161   GM          CAMARO               Lihue                    HI
18554   1G1FB3DX1J0123281   GM          CAMARO               North Las Vegas          NV
18555   1G1FB3DX1J0123796   GM          CAMARO               Kahului                  HI
18556   1G1FB3DX1J0124141   GM          CAMARO               North Las Vegas          NV
18557   1G1FB3DX1J0125192   GM          CAMARO               SAN FRANCISCO            CA
18558   1G1FB3DX1J0134183   GM          CAMARO               Riverside                CA
18559   1G1FB3DX1J0157074   GM          CAMARO               TAMPA                    FL
18560   1G1FB3DX1J0168737   GM          CAMARO               SEA TAC                  WA
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18561   1G1FB3DX1K0107292   GM          CAMARO               WAIMEA                   HI
18562   1G1FB3DX1K0107809   GM          CAMARO               HILO                     HI
18563   1G1FB3DX1K0109611   GM          CAMARO               HILO                     HI
18564   1G1FB3DX1K0110998   GM          CAMARO               KALAOA                   HI
18565   1G1FB3DX1K0112637   GM          CAMARO               HILO                     HI
18566   1G1FB3DX1K0121127   GM          CAMARO               ORLANDO                  FL
18567   1G1FB3DX1K0122018   GM          CAMARO               NEW BERN                 NC
18568   1G1FB3DX1K0125579   GM          CAMARO               MIAMI                    FL
18569   1G1FB3DX1K0125792   GM          CAMARO               PHILADELPHIA             PA
18570   1G1FB3DX1K0126523   GM          CAMARO               MILWAUKEE                WI
18571   1G1FB3DX1K0131740   GM          CAMARO               Live Oak                 TX
18572   1G1FB3DX1K0131852   GM          CAMARO               ORLANDO                  FL
18573   1G1FB3DX1K0131995   GM          CAMARO               FORT MYERS               FL
18574   1G1FB3DX1K0132323   GM          CAMARO               LOS ANGELES              CA
18575   1G1FB3DX1K0132435   GM          CAMARO               MIAMI                    FL
18576   1G1FB3DX1K0134489   GM          CAMARO               SAN DIEGO                CA
18577   1G1FB3DX1K0134573   GM          CAMARO               Tolleson                 AZ
18578   1G1FB3DX1K0135013   GM          CAMARO               LOS ANGELES              CA
18579   1G1FB3DX1K0139174   GM          CAMARO               SAN DIEGO                CA
18580   1G1FB3DX1K0139210   GM          CAMARO               SANTA ANA                CA
18581   1G1FB3DX1K0139255   GM          CAMARO               FRESNO                   CA
18582   1G1FB3DX1K0143452   GM          CAMARO               SAINT PAUL               MN
18583   1G1FB3DX1K0144763   GM          CAMARO               CORONADO                 CA
18584   1G1FB3DX1K0148151   GM          CAMARO               SANTA BARBARA            CA
18585   1G1FB3DX1K0149672   GM          CAMARO               LOS ANGELES              CA
18586   1G1FB3DX1K0150143   GM          CAMARO               LOS ANGELES              CA
18587   1G1FB3DX2J0112936   GM          CAMARO               SAN FRANCISCO            CA
18588   1G1FB3DX2J0113617   GM          CAMARO               TRACY                    CA
18589   1G1FB3DX2J0123211   GM          CAMARO               LIHUE AP KAUAI           HI
18590   1G1FB3DX2J0123371   GM          CAMARO               Kahului                  HI
18591   1G1FB3DX2J0126805   GM          CAMARO               North Las Vegas          NV
18592   1G1FB3DX2J0149047   GM          CAMARO               FORT MYERS               FL
18593   1G1FB3DX2J0163627   GM          CAMARO               Tolleson                 AZ
18594   1G1FB3DX2J0167158   GM          CAMARO               Tolleson                 AZ
18595   1G1FB3DX2J0167600   GM          CAMARO               LAS VEGAS                NV
18596   1G1FB3DX2J0168827   GM          CAMARO               Tolleson                 AZ
18597   1G1FB3DX2K0108581   GM          CAMARO               KALAOA                   HI
18598   1G1FB3DX2K0109830   GM          CAMARO               HILO                     HI
18599   1G1FB3DX2K0110699   GM          CAMARO               HILO                     HI
18600   1G1FB3DX2K0112100   GM          CAMARO               HILO                     HI
18601   1G1FB3DX2K0112677   GM          CAMARO               KAILUA‐KONA              HI
18602   1G1FB3DX2K0112887   GM          CAMARO               HILO                     HI
18603   1G1FB3DX2K0121122   GM          CAMARO               JACKSONVILLE             FL
18604   1G1FB3DX2K0121332   GM          CAMARO               SARASOTA                 FL
18605   1G1FB3DX2K0121959   GM          CAMARO               CHARLOTTE                NC
18606   1G1FB3DX2K0122187   GM          CAMARO               DALLAS                   TX
18607   1G1FB3DX2K0122478   GM          CAMARO               LOS ANGELES AP           CA
18608   1G1FB3DX2K0122545   GM          CAMARO               MIAMI                    FL
18609   1G1FB3DX2K0123257   GM          CAMARO               Jacksonville             FL
18610   1G1FB3DX2K0125185   GM          CAMARO               Metairie                 LA
18611   1G1FB3DX2K0125719   GM          CAMARO               BUFFALO                  NY
18612   1G1FB3DX2K0125753   GM          CAMARO               MIAMI                    FL
18613   1G1FB3DX2K0126000   GM          CAMARO               JACKSONVILLE             FL
18614   1G1FB3DX2K0127244   GM          CAMARO               WEST PALM BEACH          FL
18615   1G1FB3DX2K0131648   GM          CAMARO               Los Angeles              CA
18616   1G1FB3DX2K0132010   GM          CAMARO               JACKSONVILLE             FL
18617   1G1FB3DX2K0132119   GM          CAMARO               LAS VEGAS                NV
18618   1G1FB3DX2K0132296   GM          CAMARO               Leesburg                 VA
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18619   1G1FB3DX2K0132332   GM          CAMARO               MIAMI                    FL
18620   1G1FB3DX2K0132430   GM          CAMARO               LOS ANGELES              CA
18621   1G1FB3DX2K0132525   GM          CAMARO               FORT MYERS               FL
18622   1G1FB3DX2K0132556   GM          CAMARO               PHOENIX                  AZ
18623   1G1FB3DX2K0132685   GM          CAMARO               TUCSON                   AZ
18624   1G1FB3DX2K0134825   GM          CAMARO               LAS VEGAS                NV
18625   1G1FB3DX2K0135196   GM          CAMARO               PORTLAND                 ME
18626   1G1FB3DX2K0135666   GM          CAMARO               ALBUQUERQUE              NM
18627   1G1FB3DX2K0136333   GM          CAMARO               ONTARIO                  CA
18628   1G1FB3DX2K0136641   GM          CAMARO               LOS ANGELES              CA
18629   1G1FB3DX2K0139121   GM          CAMARO               SANTA ANA                CA
18630   1G1FB3DX2K0139149   GM          CAMARO               Hayward                  CA
18631   1G1FB3DX2K0139345   GM          CAMARO               LOS ANGELES              CA
18632   1G1FB3DX2K0139524   GM          CAMARO               SOUTH SAN FRANC          CA
18633   1G1FB3DX2K0142391   GM          CAMARO               LAS VEGAS                NV
18634   1G1FB3DX2K0142617   GM          CAMARO               LAS VEGAS                NV
18635   1G1FB3DX2K0144061   GM          CAMARO               LOS ANGELES              CA
18636   1G1FB3DX2K0149227   GM          CAMARO               INGLEWOOD                CA
18637   1G1FB3DX2K0149762   GM          CAMARO               PLEASANTON               CA
18638   1G1FB3DX3J0114114   GM          CAMARO               North Las Vegas          NV
18639   1G1FB3DX3J0114243   GM          CAMARO               Lihue                    HI
18640   1G1FB3DX3J0115084   GM          CAMARO               LIHUE                    HI
18641   1G1FB3DX3J0117109   GM          CAMARO               KAILUA‐KONA              HI
18642   1G1FB3DX3J0119958   GM          CAMARO               HONOLULU                 HI
18643   1G1FB3DX3J0123136   GM          CAMARO               TRACY                    CA
18644   1G1FB3DX3J0123296   GM          CAMARO               SAN FRANCISCO            CA
18645   1G1FB3DX3J0123556   GM          CAMARO               KAHULUI                  HI
18646   1G1FB3DX3J0123749   GM          CAMARO               Lihue                    HI
18647   1G1FB3DX3J0124108   GM          CAMARO               KAHULUI                  HI
18648   1G1FB3DX3J0124741   GM          CAMARO               Lihue                    HI
18649   1G1FB3DX3J0124884   GM          CAMARO               SAN FRANCISCO            CA
18650   1G1FB3DX3J0154032   GM          CAMARO               DAYTONA BEACH            FL
18651   1G1FB3DX3J0185541   GM          CAMARO               PALM SPRINGS             CA
18652   1G1FB3DX3K0109870   GM          CAMARO               HILO                     HI
18653   1G1FB3DX3K0110081   GM          CAMARO               KALAOA                   HI
18654   1G1FB3DX3K0110565   GM          CAMARO               KAILUA‐KONA              HI
18655   1G1FB3DX3K0111103   GM          CAMARO               HILO                     HI
18656   1G1FB3DX3K0122554   GM          CAMARO               FORT MYERS               FL
18657   1G1FB3DX3K0122831   GM          CAMARO               WEST PALM BEACH          FL
18658   1G1FB3DX3K0125373   GM          CAMARO               MIAMI                    FL
18659   1G1FB3DX3K0131920   GM          CAMARO               MIAMI                    FL
18660   1G1FB3DX3K0132100   GM          CAMARO               DETROIT                  MI
18661   1G1FB3DX3K0132145   GM          CAMARO               Alcoa                    TN
18662   1G1FB3DX3K0132758   GM          CAMARO               FORT MYERS               FL
18663   1G1FB3DX3K0133652   GM          CAMARO               SARASOTA                 FL
18664   1G1FB3DX3K0134364   GM          CAMARO               FORT MYERS               FL
18665   1G1FB3DX3K0135501   GM          CAMARO               LA HABRA                 CA
18666   1G1FB3DX3K0136292   GM          CAMARO               ORLANDO                  FL
18667   1G1FB3DX3K0136308   GM          CAMARO               LOS ANGELES              CA
18668   1G1FB3DX3K0136535   GM          CAMARO               Tolleson                 AZ
18669   1G1FB3DX3K0136566   GM          CAMARO               Clearwater               FL
18670   1G1FB3DX3K0138916   GM          CAMARO               SACRAMENTO               CA
18671   1G1FB3DX3K0139189   GM          CAMARO               PHOENIX                  AZ
18672   1G1FB3DX3K0139614   GM          CAMARO               DETROIT                  MI
18673   1G1FB3DX3K0139838   GM          CAMARO               OAKLAND                  CA
18674   1G1FB3DX3K0142805   GM          CAMARO               STERLING                 VA
18675   1G1FB3DX3K0142898   GM          CAMARO               Morrisville              NC
18676   1G1FB3DX3K0143078   GM          CAMARO               ATLANTA                  GA
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18677   1G1FB3DX3K0143243   GM          CAMARO               LOS ANGELES              CA
18678   1G1FB3DX3K0143873   GM          CAMARO               SACRAMENTO               CA
18679   1G1FB3DX3K0144005   GM          CAMARO               JACKSON                  MS
18680   1G1FB3DX3K0148202   GM          CAMARO               LAS VEGAS                NV
18681   1G1FB3DX3K0149964   GM          CAMARO               LAS VEGAS                NV
18682   1G1FB3DX3K0150127   GM          CAMARO               SAN DIEGO                CA
18683   1G1FB3DX3K0150290   GM          CAMARO               FORT MYERS               FL
18684   1G1FB3DX4J0114672   GM          CAMARO               Lihue                    HI
18685   1G1FB3DX4J0115028   GM          CAMARO               TRACY                    CA
18686   1G1FB3DX4J0123176   GM          CAMARO               Hilo                     HI
18687   1G1FB3DX4J0123842   GM          CAMARO               SAN FRANCISCO            CA
18688   1G1FB3DX4J0124196   GM          CAMARO               North Las Vegas          NV
18689   1G1FB3DX4J0124392   GM          CAMARO               KAHULUI                  HI
18690   1G1FB3DX4J0124571   GM          CAMARO               Honolulu                 HI
18691   1G1FB3DX4J0124814   GM          CAMARO               TRACY                    CA
18692   1G1FB3DX4J0124859   GM          CAMARO               North Las Vegas          NV
18693   1G1FB3DX4J0125266   GM          CAMARO               KAHULUI                  HI
18694   1G1FB3DX4J0156291   GM          CAMARO               FORT LAUDERDALE          FL
18695   1G1FB3DX4J0161314   GM          CAMARO               FORT MYERS               FL
18696   1G1FB3DX4J0184818   GM          CAMARO               PHOENIX                  AZ
18697   1G1FB3DX4K0107609   GM          CAMARO               HILO                     HI
18698   1G1FB3DX4K0109442   GM          CAMARO               HILO                     HI
18699   1G1FB3DX4K0109571   GM          CAMARO               HILO                     HI
18700   1G1FB3DX4K0110025   GM          CAMARO               HILO                     HI
18701   1G1FB3DX4K0110509   GM          CAMARO               KAILUA‐KONA              HI
18702   1G1FB3DX4K0110753   GM          CAMARO               HILO                     HI
18703   1G1FB3DX4K0125317   GM          CAMARO               Miami                    FL
18704   1G1FB3DX4K0125799   GM          CAMARO               ORLANDO                  FL
18705   1G1FB3DX4K0126435   GM          CAMARO               FORT LAUDERDALE          FL
18706   1G1FB3DX4K0126645   GM          CAMARO               BOSTON                   MA
18707   1G1FB3DX4K0131795   GM          CAMARO               FORT MYERS               FL
18708   1G1FB3DX4K0131800   GM          CAMARO               STERLING                 VA
18709   1G1FB3DX4K0131960   GM          CAMARO               TAMPA                    FL
18710   1G1FB3DX4K0132025   GM          CAMARO               TAMPA                    US
18711   1G1FB3DX4K0132266   GM          CAMARO               JACKSONVILLE             FL
18712   1G1FB3DX4K0132705   GM          CAMARO               ORLANDO                  FL
18713   1G1FB3DX4K0134535   GM          CAMARO               PHOENIX                  AZ
18714   1G1FB3DX4K0137046   GM          CAMARO               JACKSONVILLE             FL
18715   1G1FB3DX4K0139458   GM          CAMARO               SACRAMENTO               CA
18716   1G1FB3DX4K0139654   GM          CAMARO               LOS ANGELES              CA
18717   1G1FB3DX4K0139945   GM          CAMARO               SAN FRANCISCO            CA
18718   1G1FB3DX4K0142490   GM          CAMARO               LOS ANGELES              CA
18719   1G1FB3DX4K0142571   GM          CAMARO               STERLING                 VA
18720   1G1FB3DX4K0142862   GM          CAMARO               TUCSON                   AZ
18721   1G1FB3DX4K0143431   GM          CAMARO               SANTA ANA                CA
18722   1G1FB3DX4K0143672   GM          CAMARO               GREENSBORO               NC
18723   1G1FB3DX4K0148581   GM          CAMARO               SAN DIEGO                CA
18724   1G1FB3DX4K0148628   GM          CAMARO               SAN FRANCISCO            CA
18725   1G1FB3DX4K0149391   GM          CAMARO               LOS ANGELES              CA
18726   1G1FB3DX4K0149584   GM          CAMARO               ONTARIO                  CA
18727   1G1FB3DX4K0149648   GM          CAMARO               LOS ANGELES              CA
18728   1G1FB3DX4K0149696   GM          CAMARO               SAN JOSE                 CA
18729   1G1FB3DX4K0150055   GM          CAMARO               SAN JOSE                 CA
18730   1G1FB3DX4K0150167   GM          CAMARO               SAN JOSE                 CA
18731   1G1FB3DX4K0150332   GM          CAMARO               PHOENIX                  AZ
18732   1G1FB3DX5J0113000   GM          CAMARO               SAN FRANCISCO            CA
18733   1G1FB3DX5J0119105   GM          CAMARO               Honolulu                 HI
18734   1G1FB3DX5J0123168   GM          CAMARO               KAHULUI                  HI
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18735   1G1FB3DX5J0123770   GM          CAMARO               Kahului                  HI
18736   1G1FB3DX5J0123932   GM          CAMARO               SAN FRANCISCO            CA
18737   1G1FB3DX5J0156476   GM          CAMARO               TAMPA                    FL
18738   1G1FB3DX5J0161077   GM          CAMARO               FORT MYERS               FL
18739   1G1FB3DX5J0168059   GM          CAMARO               LOS ANGELES              CA
18740   1G1FB3DX5K0109840   GM          CAMARO               HILO                     HI
18741   1G1FB3DX5K0110387   GM          CAMARO               HILO                     HI
18742   1G1FB3DX5K0111880   GM          CAMARO               HILO                     HI
18743   1G1FB3DX5K0112530   GM          CAMARO               HILO                     HI
18744   1G1FB3DX5K0121437   GM          CAMARO               SOUTHEAST DST OFFC       OK
18745   1G1FB3DX5K0121549   GM          CAMARO               BIRMINGHAM               AL
18746   1G1FB3DX5K0122006   GM          CAMARO               MILWAUKEE                WI
18747   1G1FB3DX5K0125424   GM          CAMARO               FORT MYERS               FL
18748   1G1FB3DX5K0125679   GM          CAMARO               FORT LAUDERDALE          FL
18749   1G1FB3DX5K0125827   GM          CAMARO               NEW BERN                 NC
18750   1G1FB3DX5K0126010   GM          CAMARO               WEST PALM BEACH          FL
18751   1G1FB3DX5K0126301   GM          CAMARO               Miami                    FL
18752   1G1FB3DX5K0126721   GM          CAMARO               DAYTONA BEACH            FL
18753   1G1FB3DX5K0126833   GM          CAMARO               Houston                  TX
18754   1G1FB3DX5K0131479   GM          CAMARO               MIAMI                    FL
18755   1G1FB3DX5K0131675   GM          CAMARO               YUMA                     AZ
18756   1G1FB3DX5K0131725   GM          CAMARO               MIAMI                    FL
18757   1G1FB3DX5K0131806   GM          CAMARO               WEST PALM BEACH          FL
18758   1G1FB3DX5K0131935   GM          CAMARO               LAS VEGAS                NV
18759   1G1FB3DX5K0132535   GM          CAMARO               ORLANDO                  FL
18760   1G1FB3DX5K0132888   GM          CAMARO               ORLANDO                  FL
18761   1G1FB3DX5K0134513   GM          CAMARO               SANTA ANA                CA
18762   1G1FB3DX5K0135189   GM          CAMARO               LAS VEGAS                NV
18763   1G1FB3DX5K0143597   GM          CAMARO               PHOENIX                  AZ
18764   1G1FB3DX5K0143633   GM          CAMARO               CHARLESTON               SC
18765   1G1FB3DX5K0144183   GM          CAMARO               SEATAC                   WA
18766   1G1FB3DX5K0148217   GM          CAMARO               GRAND RAPIDS             MI
18767   1G1FB3DX5K0149092   GM          CAMARO               LAS VEGAS                NV
18768   1G1FB3DX5K0149464   GM          CAMARO               OMAHA                    NE
18769   1G1FB3DX5K0149481   GM          CAMARO               LAS VEGAS                NV
18770   1G1FB3DX5K0149853   GM          CAMARO               SAN DIEGO                CA
18771   1G1FB3DX5K0150405   GM          CAMARO               PORTLAND                 OR
18772   1G1FB3DX6J0119419   GM          CAMARO               North Las Vegas          NV
18773   1G1FB3DX6J0120568   GM          CAMARO               Honolulu                 HI
18774   1G1FB3DX6J0123406   GM          CAMARO               Lihue                    HI
18775   1G1FB3DX6J0123888   GM          CAMARO               TRACY                    CA
18776   1G1FB3DX6J0124541   GM          CAMARO               KAHULUI                  HI
18777   1G1FB3DX6J0124653   GM          CAMARO               KAHULUI                  HI
18778   1G1FB3DX6J0124829   GM          CAMARO               KAHULUI                  HI
18779   1G1FB3DX6J0126838   GM          CAMARO               Portland                 OR
18780   1G1FB3DX6J0161055   GM          CAMARO               Davie                    FL
18781   1G1FB3DX6J0186280   GM          CAMARO               SAN DIEGO                CA
18782   1G1FB3DX6K0107272   GM          CAMARO               KAILUA‐KONA              HI
18783   1G1FB3DX6K0108325   GM          CAMARO               KAILUA‐KONA              HI
18784   1G1FB3DX6K0108454   GM          CAMARO               KAILUA‐KONA              HI
18785   1G1FB3DX6K0109166   GM          CAMARO               HILO                     HI
18786   1G1FB3DX6K0109541   GM          CAMARO               KAILUA‐KONA              HI
18787   1G1FB3DX6K0109880   GM          CAMARO               HILO                     HI
18788   1G1FB3DX6K0112147   GM          CAMARO               WAIMEA                   HI
18789   1G1FB3DX6K0121382   GM          CAMARO               BALTIMORE                MD
18790   1G1FB3DX6K0121799   GM          CAMARO               MIAMI                    FL
18791   1G1FB3DX6K0122645   GM          CAMARO               PITTSBURGH               PA
18792   1G1FB3DX6K0123097   GM          CAMARO               PHILADELPHIA             PA
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18793   1G1FB3DX6K0123326   GM          CAMARO               WOODSON TERRACE          MO
18794   1G1FB3DX6K0125190   GM          CAMARO               ATLANTA                  GA
18795   1G1FB3DX6K0126291   GM          CAMARO               ATLANTA                  GA
18796   1G1FB3DX6K0132530   GM          CAMARO               FORT LAUDERDALE          FL
18797   1G1FB3DX6K0134777   GM          CAMARO               SALT LAKE CITY           US
18798   1G1FB3DX6K0136724   GM          CAMARO               PHOENIX                  AZ
18799   1G1FB3DX6K0139638   GM          CAMARO               Pheonix                  AZ
18800   1G1FB3DX6K0140028   GM          CAMARO               PALM SPRINGS             CA
18801   1G1FB3DX6K0142068   GM          CAMARO               Newport Beach            CA
18802   1G1FB3DX6K0142880   GM          CAMARO               RALEIGH                  NC
18803   1G1FB3DX6K0143074   GM          CAMARO               ALBUQERQUE               NM
18804   1G1FB3DX6K0148517   GM          CAMARO               SAN FRANCISCO            CA
18805   1G1FB3DX6K0149330   GM          CAMARO               ONTARIO                  CA
18806   1G1FB3DX6K0149568   GM          CAMARO               LOS ANGELES              CA
18807   1G1FB3DX6K0149778   GM          CAMARO               SALT LAKE CITY           US
18808   1G1FB3DX7J0113385   GM          CAMARO               KAHULUI                  HI
18809   1G1FB3DX7J0113578   GM          CAMARO               KAHULUI                  HI
18810   1G1FB3DX7J0114133   GM          CAMARO               TRACY                    CA
18811   1G1FB3DX7J0114326   GM          CAMARO               Kahului                  HI
18812   1G1FB3DX7J0123396   GM          CAMARO               KAHULUI                  HI
18813   1G1FB3DX7J0123401   GM          CAMARO               LIHUE                    HI
18814   1G1FB3DX7J0124824   GM          CAMARO               SAN FRANCISCO            CA
18815   1G1FB3DX7J0134513   GM          CAMARO               Estero                   FL
18816   1G1FB3DX7J0157614   GM          CAMARO               Indianapolis             IN
18817   1G1FB3DX7J0161971   GM          CAMARO               MIAMI                    FL
18818   1G1FB3DX7K0110018   GM          CAMARO               HILO                     HI
18819   1G1FB3DX7K0110407   GM          CAMARO               WAIMEA                   HI
18820   1G1FB3DX7K0110472   GM          CAMARO               HILO                     HI
18821   1G1FB3DX7K0111525   GM          CAMARO               KAILUA‐KONA              HI
18822   1G1FB3DX7K0111539   GM          CAMARO               KAILUA‐KONA              HI
18823   1G1FB3DX7K0121794   GM          CAMARO               MOBILE                   A
18824   1G1FB3DX7K0122122   GM          CAMARO               RALEIGH                  NC
18825   1G1FB3DX7K0122301   GM          CAMARO               KENNER                   LA
18826   1G1FB3DX7K0122816   GM          CAMARO               ORLANDO                  FL
18827   1G1FB3DX7K0122962   GM          CAMARO               FORT MYERS               FL
18828   1G1FB3DX7K0125084   GM          CAMARO               WEST PALM BEACH          FL
18829   1G1FB3DX7K0125215   GM          CAMARO               NORFOLK                  VA
18830   1G1FB3DX7K0125876   GM          CAMARO               STERLING                 VA
18831   1G1FB3DX7K0125974   GM          CAMARO               ORLANDO                  FL
18832   1G1FB3DX7K0126039   GM          CAMARO               ORLANDO                  FL
18833   1G1FB3DX7K0126588   GM          CAMARO               ATLANTA                  GA
18834   1G1FB3DX7K0131581   GM          CAMARO               JACKSONVILLE             FL
18835   1G1FB3DX7K0132035   GM          CAMARO               SARASOTA                 FL
18836   1G1FB3DX7K0132343   GM          CAMARO               SARASOTA                 FL
18837   1G1FB3DX7K0132620   GM          CAMARO               TAMPA                    FL
18838   1G1FB3DX7K0132665   GM          CAMARO               WEST PALM BEACH          FL
18839   1G1FB3DX7K0132858   GM          CAMARO               ATLANTA                  GA
18840   1G1FB3DX7K0133900   GM          CAMARO               FORT LAUDERDALE          FL
18841   1G1FB3DX7K0135145   GM          CAMARO               LAS VEGAS                NV
18842   1G1FB3DX7K0135341   GM          CAMARO               PORTLAND                 OR
18843   1G1FB3DX7K0135548   GM          CAMARO               SANTA ANA                CA
18844   1G1FB3DX7K0135646   GM          CAMARO               PHOENIX                  AZ
18845   1G1FB3DX7K0137378   GM          CAMARO               LOS ANGELES              CA
18846   1G1FB3DX7K0138840   GM          CAMARO               LOS ANGELES              CA
18847   1G1FB3DX7K0138871   GM          CAMARO               MEMPHIS                  TN
18848   1G1FB3DX7K0139518   GM          CAMARO               FRESNO                   CA
18849   1G1FB3DX7K0139793   GM          CAMARO               LAS VEGAS                NV
18850   1G1FB3DX7K0142922   GM          CAMARO               ONTARIO                  CA
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18851   1G1FB3DX7K0143620   GM          CAMARO               Atlanta                  GA
18852   1G1FB3DX7K0143648   GM          CAMARO               LAS VEGAS                NV
18853   1G1FB3DX7K0143746   GM          CAMARO               WOODSON TERRACE          MO
18854   1G1FB3DX7K0143794   GM          CAMARO               LOS ANGELES              CA
18855   1G1FB3DX7K0148039   GM          CAMARO               LOS ANGELES              CA
18856   1G1FB3DX7K0148283   GM          CAMARO               FEDERAL WAY              WA
18857   1G1FB3DX7K0148784   GM          CAMARO               SACRAMENTO               CA
18858   1G1FB3DX7K0149207   GM          CAMARO               PALM SPRINGS             CA
18859   1G1FB3DX7K0149269   GM          CAMARO               SAN DIEGO                CA
18860   1G1FB3DX7K0149305   GM          CAMARO               SAN DIEGO                CA
18861   1G1FB3DX7K0149448   GM          CAMARO               CHICAGO                  IL
18862   1G1FB3DX7K0149742   GM          CAMARO               LAS VEGAS                NV
18863   1G1FB3DX8J0113377   GM          CAMARO               KAHULUI                  HI
18864   1G1FB3DX8J0113864   GM          CAMARO               Kahului                  HI
18865   1G1FB3DX8J0114271   GM          CAMARO               Lihue                    HI
18866   1G1FB3DX8J0119602   GM          CAMARO               TRACY                    CA
18867   1G1FB3DX8J0120684   GM          CAMARO               North Las Vegas          NV
18868   1G1FB3DX8J0123326   GM          CAMARO               KAHULUI                  HI
18869   1G1FB3DX8J0124749   GM          CAMARO               Kahului                  HI
18870   1G1FB3DX8J0124766   GM          CAMARO               SAN FRANCISCO            CA
18871   1G1FB3DX8J0157086   GM          CAMARO               Pompano Beach            FL
18872   1G1FB3DX8J0169626   GM          CAMARO               SEATTLE                  WA
18873   1G1FB3DX8K0109671   GM          CAMARO               KAILUA‐KONA              HI
18874   1G1FB3DX8K0109850   GM          CAMARO               HILO                     HI
18875   1G1FB3DX8K0110089   GM          CAMARO               KAILUA KONA              HI
18876   1G1FB3DX8K0110626   GM          CAMARO               HILO                     HI
18877   1G1FB3DX8K0110769   GM          CAMARO               HILO                     HI
18878   1G1FB3DX8K0122775   GM          CAMARO               TAMPA                    FL
18879   1G1FB3DX8K0123117   GM          CAMARO               Marietta                 GA
18880   1G1FB3DX8K0125465   GM          CAMARO               ORLANDO                  FL
18881   1G1FB3DX8K0125921   GM          CAMARO               SARASOTA                 FL
18882   1G1FB3DX8K0131735   GM          CAMARO               MIAMI                    FL
18883   1G1FB3DX8K0132030   GM          CAMARO               FORT LAUDERDALE          FL
18884   1G1FB3DX8K0133680   GM          CAMARO               WEST COLUMBIA            SC
18885   1G1FB3DX8K0135431   GM          CAMARO               ONTARIO                  CA
18886   1G1FB3DX8K0135493   GM          CAMARO               SAN JOSE                 CA
18887   1G1FB3DX8K0135607   GM          CAMARO               Phoenix                  AZ
18888   1G1FB3DX8K0135834   GM          CAMARO               Beaverton                OR
18889   1G1FB3DX8K0138877   GM          CAMARO               ONTARIO                  CA
18890   1G1FB3DX8K0139110   GM          CAMARO               PHOENIX                  AZ
18891   1G1FB3DX8K0139382   GM          CAMARO               LOS ANGELES              CA
18892   1G1FB3DX8K0139589   GM          CAMARO               SAN JOSE                 CA
18893   1G1FB3DX8K0139625   GM          CAMARO               Houston                  TX
18894   1G1FB3DX8K0139768   GM          CAMARO               OAKLAND                  CA
18895   1G1FB3DX8K0139933   GM          CAMARO               DETROIT                  MI
18896   1G1FB3DX8K0143111   GM          CAMARO               HANOVER                  MD
18897   1G1FB3DX8K0143481   GM          CAMARO               BURBANK                  CA
18898   1G1FB3DX8K0143514   GM          CAMARO               ROCHESTER                NY
18899   1G1FB3DX8K0148602   GM          CAMARO               LOS ANGELES              CA
18900   1G1FB3DX8K0149183   GM          CAMARO               LOS ANGELES              CA
18901   1G1FB3DX8K0149944   GM          CAMARO               Sacramento               CA
18902   1G1FB3DX8K0150253   GM          CAMARO               SANTA CLARA              CA
18903   1G1FB3DX9J0114103   GM          CAMARO               KAHULUI                  HI
18904   1G1FB3DX9J0115770   GM          CAMARO               KAHULUI                  HI
18905   1G1FB3DX9J0120550   GM          CAMARO               TRACY                    CA
18906   1G1FB3DX9J0124839   GM          CAMARO               SAN FRANCISCO            CA
18907   1G1FB3DX9J0125005   GM          CAMARO               Lihue                    HI
18908   1G1FB3DX9J0166072   GM          CAMARO               LAS VEGAS                NV
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18909   1G1FB3DX9K0109274   GM          CAMARO               KALAOA                   HI
18910   1G1FB3DX9K0109601   GM          CAMARO               HILO                     HI
18911   1G1FB3DX9K0109890   GM          CAMARO               HILO                     HI
18912   1G1FB3DX9K0109940   GM          CAMARO               KAILUA‐KONA              HI
18913   1G1FB3DX9K0110120   GM          CAMARO               KAILUA‐KONA              HI
18914   1G1FB3DX9K0110442   GM          CAMARO               KAILUA‐KONA              HI
18915   1G1FB3DX9K0111770   GM          CAMARO               KAILUA‐KONA              HI
18916   1G1FB3DX9K0122428   GM          CAMARO               SAINT PAUL               MN
18917   1G1FB3DX9K0123062   GM          CAMARO               Los Angeles              CA
18918   1G1FB3DX9K0126348   GM          CAMARO               North Billerica          MA
18919   1G1FB3DX9K0131551   GM          CAMARO               NEW ORLEANS              LA
18920   1G1FB3DX9K0131680   GM          CAMARO               PHOENIX                  AZ
18921   1G1FB3DX9K0131730   GM          CAMARO               FORT MYERS               FL
18922   1G1FB3DX9K0131985   GM          CAMARO               ORLANDO                  FL
18923   1G1FB3DX9K0132246   GM          CAMARO               FT. LAUDERDALE           FL
18924   1G1FB3DX9K0132635   GM          CAMARO               FORT MYERS               FL
18925   1G1FB3DX9K0134885   GM          CAMARO               PHOENIX                  AZ
18926   1G1FB3DX9K0135521   GM          CAMARO               PHOENIX                  AZ
18927   1G1FB3DX9K0135714   GM          CAMARO               SAINT LOUIS              MO
18928   1G1FB3DX9K0136300   GM          CAMARO               FRESNO                   CA
18929   1G1FB3DX9K0136619   GM          CAMARO               PHILADELPHIA             US
18930   1G1FB3DX9K0136927   GM          CAMARO               LAS VEGAS                NV
18931   1G1FB3DX9K0141562   GM          CAMARO               LOS ANGELES              CA
18932   1G1FB3DX9K0141805   GM          CAMARO               LOS ANGELES              CA
18933   1G1FB3DX9K0142761   GM          CAMARO               LOS ANGELES              CA
18934   1G1FB3DX9K0142985   GM          CAMARO               PHOENIX                  AZ
18935   1G1FB3DX9K0143005   GM          CAMARO               Bensalem                 PA
18936   1G1FB3DX9K0143327   GM          CAMARO               PHOENIX                  AZ
18937   1G1FB3DX9K0143411   GM          CAMARO               FAYETTEVILLE             GA
18938   1G1FB3DX9K0143487   GM          CAMARO               HANOVER                  MD
18939   1G1FB3DX9K0143702   GM          CAMARO               BULLHEAD CITY            AZ
18940   1G1FB3DX9K0143750   GM          CAMARO               PHILADELPHIA             PA
18941   1G1FB3DX9K0143778   GM          CAMARO               PHOENIX                  AZ
18942   1G1FB3DX9K0149712   GM          CAMARO               LAS VEGAS                NV
18943   1G1FB3DX9K0150374   GM          CAMARO               PHOENIX                  AZ
18944   1G1FB3DXXJ0113333   GM          CAMARO               Kahului                  HI
18945   1G1FB3DXXJ0113493   GM          CAMARO               KAUAI                    HI
18946   1G1FB3DXXJ0113851   GM          CAMARO               KAHULUI                  HI
18947   1G1FB3DXXJ0113879   GM          CAMARO               KAHULUI                  HI
18948   1G1FB3DXXJ0114319   GM          CAMARO               KAHULUI                  HI
18949   1G1FB3DXXJ0122873   GM          CAMARO               KAUAI                    HI
18950   1G1FB3DXXJ0123411   GM          CAMARO               HONOLULU                 HI
18951   1G1FB3DXXJ0123523   GM          CAMARO               North Las Vegas          NV
18952   1G1FB3DXXJ0123571   GM          CAMARO               BURBANK                  CA
18953   1G1FB3DXXJ0136322   GM          CAMARO               FORT LAUDERDALE          FL
18954   1G1FB3DXXJ0152391   GM          CAMARO               WEST PALM BEACH          FL
18955   1G1FB3DXXJ0185343   GM          CAMARO               Los Angeles              CA
18956   1G1FB3DXXK0108876   GM          CAMARO               KAILUA‐KONA              HI
18957   1G1FB3DXXK0109770   GM          CAMARO               HILO                     HI
18958   1G1FB3DXXK0110417   GM          CAMARO               Hilo                     HI
18959   1G1FB3DXXK0111339   GM          CAMARO               KAILUA‐KONA              HI
18960   1G1FB3DXXK0111504   GM          CAMARO               KALAOA                   HI
18961   1G1FB3DXXK0111518   GM          CAMARO               HILO                     HI
18962   1G1FB3DXXK0112152   GM          CAMARO               HILO                     HI
18963   1G1FB3DXXK0112779   GM          CAMARO               HILO                     HI
18964   1G1FB3DXXK0122082   GM          CAMARO               MIAMI                    FL
18965   1G1FB3DXXK0122132   GM          CAMARO               ORLANDO                  FL
18966   1G1FB3DXXK0122650   GM          CAMARO               SARASOTA                 FL
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18967   1G1FB3DXXK0125841   GM          CAMARO               FAYETTEVILLE             GA
18968   1G1FB3DXXK0125886   GM          CAMARO               KANSAS CITY              MO
18969   1G1FB3DXXK0125967   GM          CAMARO               MIAMI                    FL
18970   1G1FB3DXXK0126441   GM          CAMARO               JACKSONVILLE             FL
18971   1G1FB3DXXK0126553   GM          CAMARO               MIAMI                    FL
18972   1G1FB3DXXK0126701   GM          CAMARO               MIAMI                    FL
18973   1G1FB3DXXK0131588   GM          CAMARO               FT. LAUDERDALE           FL
18974   1G1FB3DXXK0131638   GM          CAMARO               ORLANDO                  FL
18975   1G1FB3DXXK0131896   GM          CAMARO               ORLANDO                  FL
18976   1G1FB3DXXK0132045   GM          CAMARO               LOS ANGELES              CA
18977   1G1FB3DXXK0132384   GM          CAMARO               PENSACOLA                FL
18978   1G1FB3DXXK0136600   GM          CAMARO               PHOENIX                  AZ
18979   1G1FB3DXXK0137147   GM          CAMARO               LAS VEGAS                NV
18980   1G1FB3DXXK0139139   GM          CAMARO               LOS ANGELES              CA
18981   1G1FB3DXXK0139206   GM          CAMARO               NEW ORLEANS              LA
18982   1G1FB3DXXK0139593   GM          CAMARO               SAN DIEGO                CA
18983   1G1FB3DXXK0139688   GM          CAMARO               LOS ANGELES              CA
18984   1G1FB3DXXK0139870   GM          CAMARO               OAKLAND                  CA
18985   1G1FB3DXXK0140341   GM          CAMARO               Phoenix                  AZ
18986   1G1FB3DXXK0142994   GM          CAMARO               FRESNO                   CA
18987   1G1FB3DXXK0143014   GM          CAMARO               BURBANK                  CA
18988   1G1FB3DXXK0143062   GM          CAMARO               BURLINGAME               CA
18989   1G1FB3DXXK0143692   GM          CAMARO               FRESNO                   CA
18990   1G1FB3DXXK0149251   GM          CAMARO               Los Angeles              CA
18991   1G1FB3DXXK0149797   GM          CAMARO               LOS ANGELES              CA
18992   1G1FB3DXXK0150111   GM          CAMARO               PALM SPRINGS             CA
18993   1G1FB3DXXK0150271   GM          CAMARO               PHOENIX                  AZ
18994   1G1FF3D73H0203535   GM          CAMARO               Hebron                   KY
18995   1G1FH1R70K0130798   GM          CAMARO               ROANOKE                  VA
18996   1G1FH1R70K0130820   GM          CAMARO               Smithtown                NY
18997   1G1FH1R70K0131269   GM          CAMARO               TAMPA                    US
18998   1G1FH1R70K0131515   GM          CAMARO               KENNER                   LA
18999   1G1FH1R70K0131630   GM          CAMARO               ATLANTA                  GA
19000   1G1FH1R70K0131773   GM          CAMARO               Warminster               PA
19001   1G1FH1R70K0131885   GM          CAMARO               DENVER                   CO
19002   1G1FH1R70K0132079   GM          CAMARO               FAYETTEVILLE             GA
19003   1G1FH1R70K0132101   GM          CAMARO               GRAND RAPIDS             MI
19004   1G1FH1R70K0132325   GM          CAMARO               INDIANAPOLIS             IN
19005   1G1FH1R70K0132339   GM          CAMARO               LOS ANGELES              CA
19006   1G1FH1R70K0133118   GM          CAMARO               Philadelphia             PA
19007   1G1FH1R70K0133362   GM          CAMARO               FORT LAUDERDALE          FL
19008   1G1FH1R70K0136245   GM          CAMARO               ORLANDO                  FL
19009   1G1FH1R70K0136438   GM          CAMARO               SNELLVILLE               GA
19010   1G1FH1R70K0136830   GM          CAMARO               HOUSTON                  TX
19011   1G1FH1R70K0138027   GM          CAMARO               ONTARIO                  CA
19012   1G1FH1R70K0138934   GM          CAMARO               CLEVELAND                OH
19013   1G1FH1R70K0139260   GM          CAMARO               SAINT PAUL               MN
19014   1G1FH1R70K0139436   GM          CAMARO               MIAMI                    FL
19015   1G1FH1R70K0139517   GM          CAMARO               WEST PALM BEACH          FL
19016   1G1FH1R70K0139632   GM          CAMARO               ORLANDO                  FL
19017   1G1FH1R70L0106406   GM          CAMARO               Phoenix                  AZ
19018   1G1FH1R70L0107653   GM          CAMARO               ATLANTA                  GA
19019   1G1FH1R70L0107989   GM          CAMARO               Houston                  TX
19020   1G1FH1R70L0108771   GM          CAMARO               Houston                  TX
19021   1G1FH1R70L0111055   GM          CAMARO               NASHVILLE                TN
19022   1G1FH1R70L0112299   GM          CAMARO               CHARLOTTE                NC
19023   1G1FH1R70L0112383   GM          CAMARO               SANDSTON                 VA
19024   1G1FH1R70L0112397   GM          CAMARO               PHOENIX                  AZ
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19025   1G1FH1R70L0128907   GM          CAMARO               MIAMI                    FL
19026   1G1FH1R71K0130695   GM          CAMARO               FORT LAUDERDALE          FL
19027   1G1FH1R71K0130924   GM          CAMARO               PHOENIX                  AZ
19028   1G1FH1R71K0130986   GM          CAMARO               SARASOTA                 FL
19029   1G1FH1R71K0131460   GM          CAMARO               ORLANDO                  FL
19030   1G1FH1R71K0131622   GM          CAMARO               LAS VEGAS                NV
19031   1G1FH1R71K0131636   GM          CAMARO               PENSACOLA                FL
19032   1G1FH1R71K0131751   GM          CAMARO               CHICAGO                  IL
19033   1G1FH1R71K0131846   GM          CAMARO               DENVER                   CO
19034   1G1FH1R71K0132091   GM          CAMARO               Union City               GA
19035   1G1FH1R71K0132365   GM          CAMARO               WEST COLUMBIA            SC
19036   1G1FH1R71K0132401   GM          CAMARO               BURBANK                  CA
19037   1G1FH1R71K0132656   GM          CAMARO               PHOENIX                  AZ
19038   1G1FH1R71K0133466   GM          CAMARO               MIDDLE RIVER             MD
19039   1G1FH1R71K0133631   GM          CAMARO               TUCSON                   AZ
19040   1G1FH1R71K0136545   GM          CAMARO               College Park             GA
19041   1G1FH1R71K0136593   GM          CAMARO               CORPUS CHRISTI           TX
19042   1G1FH1R71K0136870   GM          CAMARO               Tampa                    FL
19043   1G1FH1R71K0137596   GM          CAMARO               DENVER                   CO
19044   1G1FH1R71K0137789   GM          CAMARO               DENVER                   CO
19045   1G1FH1R71K0137971   GM          CAMARO               PHOENIX                  AZ
19046   1G1FH1R71K0138201   GM          CAMARO               CHARLOTTE                US
19047   1G1FH1R71K0138778   GM          CAMARO               Tampa                    FL
19048   1G1FH1R71K0139719   GM          CAMARO               CLEVELAND                OH
19049   1G1FH1R71K0142605   GM          CAMARO               KANSAS CITY              MO
19050   1G1FH1R71L0106284   GM          CAMARO               GREENVILLE               NC
19051   1G1FH1R71L0107824   GM          CAMARO               Houston                  TX
19052   1G1FH1R71L0110741   GM          CAMARO               DES MOINES               IA
19053   1G1FH1R71L0110867   GM          CAMARO               INDIANAPOLIS             IN
19054   1G1FH1R71L0111372   GM          CAMARO               HOUSTON                  TX
19055   1G1FH1R71L0111713   GM          CAMARO               KNOXVILLE                TN
19056   1G1FH1R71L0112389   GM          CAMARO               CHARLOTTE                NC
19057   1G1FH1R71L0112831   GM          CAMARO               SAN FRANCISCO            CA
19058   1G1FH1R71L0114160   GM          CAMARO               PHOENIX                  AZ
19059   1G1FH1R71L0121755   GM          CAMARO               LIHUE                    HI
19060   1G1FH1R71L0121920   GM          CAMARO               SAN JOSE                 CA
19061   1G1FH1R72K0130902   GM          CAMARO               SALT LAKE CITY           US
19062   1G1FH1R72K0131080   GM          CAMARO               Greensboro               NC
19063   1G1FH1R72K0131189   GM          CAMARO               CLEVELAND                OH
19064   1G1FH1R72K0131211   GM          CAMARO               MIAMI                    FL
19065   1G1FH1R72K0131354   GM          CAMARO               LAS VEGAS                NV
19066   1G1FH1R72K0131418   GM          CAMARO               Louisville               KY
19067   1G1FH1R72K0131497   GM          CAMARO               TAMPA                    FL
19068   1G1FH1R72K0131533   GM          CAMARO               GRAND RAPIDS             MI
19069   1G1FH1R72K0131564   GM          CAMARO               BOISE                    US
19070   1G1FH1R72K0131600   GM          CAMARO               ORLANDO                  FL
19071   1G1FH1R72K0131743   GM          CAMARO               Hapeville                GA
19072   1G1FH1R72K0131791   GM          CAMARO               LOS ANGELES              CA
19073   1G1FH1R72K0131810   GM          CAMARO               LAS VEGAS                NV
19074   1G1FH1R72K0132147   GM          CAMARO               DENVER                   CO
19075   1G1FH1R72K0132262   GM          CAMARO               Kennesaw                 GA
19076   1G1FH1R72K0132309   GM          CAMARO               PHOENIX                  AZ
19077   1G1FH1R72K0132598   GM          CAMARO               ATLANTA                  GA
19078   1G1FH1R72K0132617   GM          CAMARO               Tulsa                    OK
19079   1G1FH1R72K0132648   GM          CAMARO               TAMPA                    FL
19080   1G1FH1R72K0132696   GM          CAMARO               Massapequa               NY
19081   1G1FH1R72K0133248   GM          CAMARO               EL PASO                  TX
19082   1G1FH1R72K0133282   GM          CAMARO               AUSTIN                   TX
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19083   1G1FH1R72K0133461   GM          CAMARO               Smithtown                NY
19084   1G1FH1R72K0133699   GM          CAMARO               CLEVELAND                OH
19085   1G1FH1R72K0133976   GM          CAMARO               CHICAGO                  IL
19086   1G1FH1R72K0134013   GM          CAMARO               MIAMI                    FL
19087   1G1FH1R72K0136229   GM          CAMARO               FORT LAUDERDALE          FL
19088   1G1FH1R72K0137025   GM          CAMARO               KNOXVILLE                TN
19089   1G1FH1R72K0137316   GM          CAMARO               ORLANDO                  FL
19090   1G1FH1R72K0137333   GM          CAMARO               MIAMI                    FL
19091   1G1FH1R72K0137848   GM          CAMARO               ALBANY                   GA
19092   1G1FH1R72K0137932   GM          CAMARO               JACKSONVILLE             FL
19093   1G1FH1R72K0138157   GM          CAMARO               LAS VEGAS                NV
19094   1G1FH1R72K0138255   GM          CAMARO               KANSAS CITY              US
19095   1G1FH1R72K0138546   GM          CAMARO               PHOENIX                  AZ
19096   1G1FH1R72K0139194   GM          CAMARO               ORLANDO                  FL
19097   1G1FH1R72K0139387   GM          CAMARO               Orlando                  FL
19098   1G1FH1R72K0139390   GM          CAMARO               ORLANDO                  FL
19099   1G1FH1R72L0106018   GM          CAMARO               Houston                  TX
19100   1G1FH1R72L0107766   GM          CAMARO               STERLING                 VA
19101   1G1FH1R72L0107833   GM          CAMARO               PHILADELPHIA             PA
19102   1G1FH1R72L0107914   GM          CAMARO               STERLING                 VA
19103   1G1FH1R72L0108187   GM          CAMARO               Dallas                   TX
19104   1G1FH1R72L0108268   GM          CAMARO               Houston                  TX
19105   1G1FH1R72L0108349   GM          CAMARO               FT LAUDERDALE            FL
19106   1G1FH1R72L0108447   GM          CAMARO               SAN DIEGO                CA
19107   1G1FH1R72L0110649   GM          CAMARO               KNOXVILLE                TN
19108   1G1FH1R72L0110876   GM          CAMARO               PHOENIX                  AZ
19109   1G1FH1R72L0111509   GM          CAMARO               NASHVILLE                TN
19110   1G1FH1R72L0112062   GM          CAMARO               PHILADELPHIA             US
19111   1G1FH1R72L0112160   GM          CAMARO               NORFOLK                  VA
19112   1G1FH1R72L0112532   GM          CAMARO               PHOENIX                  AZ
19113   1G1FH1R72L0113373   GM          CAMARO               LAS VEGAS                NV
19114   1G1FH1R72L0122008   GM          CAMARO               LIHUE                    HI
19115   1G1FH1R72L0122042   GM          CAMARO               N HOLLYWOOD              CA
19116   1G1FH1R73K0130715   GM          CAMARO               SOUTH SAN FRANC          CA
19117   1G1FH1R73K0130844   GM          CAMARO               North Dighton            MA
19118   1G1FH1R73K0131041   GM          CAMARO               DETROIT                  MI
19119   1G1FH1R73K0131153   GM          CAMARO               SOUTHEAST DST OFFC       OK
19120   1G1FH1R73K0131282   GM          CAMARO               ONTARIO                  CA
19121   1G1FH1R73K0131542   GM          CAMARO               ATLANTA                  GA
19122   1G1FH1R73K0131637   GM          CAMARO               SACRAMENTO               CA
19123   1G1FH1R73K0131783   GM          CAMARO               Baltimore                MD
19124   1G1FH1R73K0131850   GM          CAMARO               Manheim                  PA
19125   1G1FH1R73K0132058   GM          CAMARO               WEST PALM BEACH          FL
19126   1G1FH1R73K0132433   GM          CAMARO               PHILADELPHIA             PA
19127   1G1FH1R73K0132867   GM          CAMARO               PHOENIX                  AZ
19128   1G1FH1R73K0133243   GM          CAMARO               DETROIT                  MI
19129   1G1FH1R73K0136661   GM          CAMARO               ORLANDO                  FL
19130   1G1FH1R73K0137096   GM          CAMARO               MIAMI                    FL
19131   1G1FH1R73K0137793   GM          CAMARO               Atlanta                  GA
19132   1G1FH1R73K0138149   GM          CAMARO               LAS VEGAS                NV
19133   1G1FH1R73K0138748   GM          CAMARO               ORLANDO                  FL
19134   1G1FH1R73K0138975   GM          CAMARO               MEMPHIS                  TN
19135   1G1FH1R73K0138989   GM          CAMARO               ORLANDO                  FL
19136   1G1FH1R73K0139463   GM          CAMARO               ORLANDO                  FL
19137   1G1FH1R73L0106447   GM          CAMARO               SAN DIEGO                CA
19138   1G1FH1R73L0106609   GM          CAMARO               Scottsdale               AZ
19139   1G1FH1R73L0106741   GM          CAMARO               Dania                    FL
19140   1G1FH1R73L0106934   GM          CAMARO               Winston‐Salem            NC
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19141   1G1FH1R73L0107338   GM          CAMARO               Winston‐Salem            NC
19142   1G1FH1R73L0107355   GM          CAMARO               Charlotte                NC
19143   1G1FH1R73L0107470   GM          CAMARO               Las Vegas                NV
19144   1G1FH1R73L0107713   GM          CAMARO               Dallas                   TX
19145   1G1FH1R73L0108022   GM          CAMARO               Houston                  TX
19146   1G1FH1R73L0108036   GM          CAMARO               SAN DIEGO                CA
19147   1G1FH1R73L0108330   GM          CAMARO               Las Vegas                NV
19148   1G1FH1R73L0108473   GM          CAMARO               Dallas                   TX
19149   1G1FH1R73L0111793   GM          CAMARO               NASHVILLE                TN
19150   1G1FH1R73L0112085   GM          CAMARO               BIRMINGHAM               AL
19151   1G1FH1R73L0112149   GM          CAMARO               COLUMBIA                 SC
19152   1G1FH1R73L0112491   GM          CAMARO               KNOXVILLE                TN
19153   1G1FH1R73L0112524   GM          CAMARO               Landover Hills           MD
19154   1G1FH1R73L0112720   GM          CAMARO               Anaheim                  CA
19155   1G1FH1R73L0112734   GM          CAMARO               LAS VEGAS                NV
19156   1G1FH1R73L0112927   GM          CAMARO               ATLANTA                  GA
19157   1G1FH1R73L0112958   GM          CAMARO               LAS VEGAS                NV
19158   1G1FH1R73L0113009   GM          CAMARO               RALEIGH                  NC
19159   1G1FH1R73L0128173   GM          CAMARO               Atlanta                  GA
19160   1G1FH1R74K0130755   GM          CAMARO               ATLANTA                  GA
19161   1G1FH1R74K0130822   GM          CAMARO               Detroit                  MI
19162   1G1FH1R74K0131047   GM          CAMARO               ROCHESTER                NY
19163   1G1FH1R74K0131100   GM          CAMARO               Hapeville                GA
19164   1G1FH1R74K0131582   GM          CAMARO               Atlanta                  GA
19165   1G1FH1R74K0132084   GM          CAMARO               SAN FRANCISCO            CA
19166   1G1FH1R74K0132103   GM          CAMARO               COLORADO SPRING          CO
19167   1G1FH1R74K0132294   GM          CAMARO               BOSTON                   MA
19168   1G1FH1R74K0132974   GM          CAMARO               CLEVELAND                OH
19169   1G1FH1R74K0133798   GM          CAMARO               NASHVILLE                TN
19170   1G1FH1R74K0134157   GM          CAMARO               Florissant               MO
19171   1G1FH1R74K0135910   GM          CAMARO               FORT LAUDERDALE          FL
19172   1G1FH1R74K0135938   GM          CAMARO               ORLANDO                  FL
19173   1G1FH1R74K0137785   GM          CAMARO               Morrisville              NC
19174   1G1FH1R74K0138614   GM          CAMARO               Warminster               PA
19175   1G1FH1R74K0139052   GM          CAMARO               DAYTONA BEACH            FL
19176   1G1FH1R74K0139083   GM          CAMARO               TAMPA                    US
19177   1G1FH1R74K0139536   GM          CAMARO               CLEVELAND                OH
19178   1G1FH1R74K0139696   GM          CAMARO               ORLANDO                  FL
19179   1G1FH1R74K0139729   GM          CAMARO               WEST PALM BEACH          FL
19180   1G1FH1R74K0139911   GM          CAMARO               Detroit                  MI
19181   1G1FH1R74K0139956   GM          CAMARO               SAINT PAUL               MN
19182   1G1FH1R74K0140167   GM          CAMARO               Fredericksburg           VA
19183   1G1FH1R74L0106294   GM          CAMARO               SAN DIEGO                CA
19184   1G1FH1R74L0106974   GM          CAMARO               SAN FRANCISCO            CA
19185   1G1FH1R74L0107350   GM          CAMARO               SOUTH SAN FRANC          CA
19186   1G1FH1R74L0107770   GM          CAMARO               LOS ANGELES              CA
19187   1G1FH1R74L0107848   GM          CAMARO               Las Vegas                NV
19188   1G1FH1R74L0108028   GM          CAMARO               Dallas                   TX
19189   1G1FH1R74L0108255   GM          CAMARO               SAVANNAH                 GA
19190   1G1FH1R74L0110846   GM          CAMARO               INDIANAPOLIS             IN
19191   1G1FH1R74L0111138   GM          CAMARO               LAS VEGAS                NV
19192   1G1FH1R74L0111690   GM          CAMARO               NASHVILLE                TN
19193   1G1FH1R74L0111883   GM          CAMARO               LOS ANGELES              CA
19194   1G1FH1R74L0112287   GM          CAMARO               PENSACOLA                FL
19195   1G1FH1R74L0112371   GM          CAMARO               GREENSBORO               NC
19196   1G1FH1R74L0112516   GM          CAMARO               LAS VEGAS                NV
19197   1G1FH1R74L0112807   GM          CAMARO               KNOXVILLE                TN
19198   1G1FH1R74L0112905   GM          CAMARO               SAN DIEGO                CA
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19199   1G1FH1R74L0122012   GM          CAMARO               SANTA ANA                CA
19200   1G1FH1R75K0130697   GM          CAMARO               Charleston               SC
19201   1G1FH1R75K0130764   GM          CAMARO               New Britain              CT
19202   1G1FH1R75K0131736   GM          CAMARO               MIAMI                    FL
19203   1G1FH1R75K0131767   GM          CAMARO               LAS VEGAS                NV
19204   1G1FH1R75K0131879   GM          CAMARO               DENVER                   CO
19205   1G1FH1R75K0132790   GM          CAMARO               CHICAGO                  IL
19206   1G1FH1R75K0133115   GM          CAMARO               Middletown               PA
19207   1G1FH1R75K0134197   GM          CAMARO               SAINT PAUL               MN
19208   1G1FH1R75K0134443   GM          CAMARO               TAMPA                    FL
19209   1G1FH1R75K0136645   GM          CAMARO               DANIA BEACH              FL
19210   1G1FH1R75K0136757   GM          CAMARO               DANIA BEACH              FL
19211   1G1FH1R75K0138668   GM          CAMARO               DES PLAINES              IL
19212   1G1FH1R75K0138864   GM          CAMARO               Lake in the Hil          IL
19213   1G1FH1R75K0139030   GM          CAMARO               Chicago                  IL
19214   1G1FH1R75K0139285   GM          CAMARO               Tampa                    FL
19215   1G1FH1R75K0139318   GM          CAMARO               ORLANDO                  FL
19216   1G1FH1R75K0139786   GM          CAMARO               ORLANDO                  FL
19217   1G1FH1R75L0105901   GM          CAMARO               SAN FRANCISCO            CA
19218   1G1FH1R75L0107440   GM          CAMARO               Phoenix                  AZ
19219   1G1FH1R75L0107616   GM          CAMARO               RONKONKOMA               NY
19220   1G1FH1R75L0107809   GM          CAMARO               PHILADELPHIA             PA
19221   1G1FH1R75L0108166   GM          CAMARO               Clearwater               FL
19222   1G1FH1R75L0110788   GM          CAMARO               CHARLOTTE                NC
19223   1G1FH1R75L0111102   GM          CAMARO               NASHVILLE                TN
19224   1G1FH1R75L0111987   GM          CAMARO               RALEIGH                  NC
19225   1G1FH1R75L0112041   GM          CAMARO               Torrance                 CA
19226   1G1FH1R75L0112170   GM          CAMARO               PHOENIX                  AZ
19227   1G1FH1R75L0114422   GM          CAMARO               TUCSON                   AZ
19228   1G1FH1R75L0128109   GM          CAMARO               LOS ANGELES              CA
19229   1G1FH1R75L0128403   GM          CAMARO               LOS ANGELES              CA
19230   1G1FH1R76K0130692   GM          CAMARO               ATLANTA                  GA
19231   1G1FH1R76K0130711   GM          CAMARO               MEBANE                   NC
19232   1G1FH1R76K0130885   GM          CAMARO               GREENSBORO               NC
19233   1G1FH1R76K0130918   GM          CAMARO               Elkridge                 MD
19234   1G1FH1R76K0131003   GM          CAMARO               Philadelphia             PA
19235   1G1FH1R76K0131017   GM          CAMARO               Atlanta                  GA
19236   1G1FH1R76K0131034   GM          CAMARO               PHOENIX                  AZ
19237   1G1FH1R76K0131860   GM          CAMARO               ORLANDO                  FL
19238   1G1FH1R76K0131986   GM          CAMARO               TAMPA                    FL
19239   1G1FH1R76K0132426   GM          CAMARO               SARASOTA                 FL
19240   1G1FH1R76K0132457   GM          CAMARO               EAST BOSTON              MA
19241   1G1FH1R76K0136539   GM          CAMARO               Tampa                    FL
19242   1G1FH1R76K0136735   GM          CAMARO               PHOENIX                  AZ
19243   1G1FH1R76K0136749   GM          CAMARO               ORLANDO                  FL
19244   1G1FH1R76K0136766   GM          CAMARO               ORLANDO                  FL
19245   1G1FH1R76K0137190   GM          CAMARO               JACKSONVILLE             FL
19246   1G1FH1R76K0137433   GM          CAMARO               EL PASO                  TX
19247   1G1FH1R76K0137805   GM          CAMARO               BALTIMORE                MD
19248   1G1FH1R76K0138212   GM          CAMARO               Greensboro               NC
19249   1G1FH1R76K0138940   GM          CAMARO               GRAND RAPIDS             MI
19250   1G1FH1R76K0139120   GM          CAMARO               FORT MYERS               FL
19251   1G1FH1R76K0139165   GM          CAMARO               DETROIT                  MI
19252   1G1FH1R76K0139229   GM          CAMARO               DETROIT                  MI
19253   1G1FH1R76K0139246   GM          CAMARO               ORLANDO                  FL
19254   1G1FH1R76K0139442   GM          CAMARO               FORT LAUDERDALE          FL
19255   1G1FH1R76K0139974   GM          CAMARO               ELKRIDGE                 MD
19256   1G1FH1R76K0140123   GM          CAMARO               TAMPA                    FL
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19257   1G1FH1R76L0106944   GM          CAMARO               SAN FRANCISCO            CA
19258   1G1FH1R76L0107592   GM          CAMARO               BALTIMORE                MD
19259   1G1FH1R76L0107740   GM          CAMARO               Orlando                  FL
19260   1G1FH1R76L0107964   GM          CAMARO               Los Angeles              CA
19261   1G1FH1R76L0108063   GM          CAMARO               Santa Clara              CA
19262   1G1FH1R76L0108208   GM          CAMARO               FT LAUDERDALE            FL
19263   1G1FH1R76L0108211   GM          CAMARO               Killeen                  TX
19264   1G1FH1R76L0110282   GM          CAMARO               FAYETTEVILLE             GA
19265   1G1FH1R76L0110914   GM          CAMARO               FORT MYERS               FL
19266   1G1FH1R76L0111996   GM          CAMARO               BURBANK                  CA
19267   1G1FH1R76L0112176   GM          CAMARO               NEW BERN                 NC
19268   1G1FH1R76L0112355   GM          CAMARO               TUCSON                   AZ
19269   1G1FH1R76L0112520   GM          CAMARO               Pheonix                  AZ
19270   1G1FH1R76L0113862   GM          CAMARO               TUCSON                   AZ
19271   1G1FH1R76L0128278   GM          CAMARO               LOS ANGELES              CA
19272   1G1FH1R77K0130734   GM          CAMARO               Sterling                 VA
19273   1G1FH1R77K0131043   GM          CAMARO               Atlanta                  GA
19274   1G1FH1R77K0131284   GM          CAMARO               DETROIT                  MI
19275   1G1FH1R77K0131401   GM          CAMARO               TAMPA                    FL
19276   1G1FH1R77K0131446   GM          CAMARO               Hernando                 MS
19277   1G1FH1R77K0131544   GM          CAMARO               SALT LAKE CITY           UT
19278   1G1FH1R77K0131656   GM          CAMARO               SAN LUIS OBSIPO          CA
19279   1G1FH1R77K0131673   GM          CAMARO               NEWARK                   NJ
19280   1G1FH1R77K0131897   GM          CAMARO               Elkridge                 MD
19281   1G1FH1R77K0131978   GM          CAMARO               DENVER                   CO
19282   1G1FH1R77K0132113   GM          CAMARO               Santa Clara              CA
19283   1G1FH1R77K0132452   GM          CAMARO               LAS VEGAS                NV
19284   1G1FH1R77K0132550   GM          CAMARO               NEW YORK CITY            NY
19285   1G1FH1R77K0133228   GM          CAMARO               FORT LAUDERDALE          FL
19286   1G1FH1R77K0133391   GM          CAMARO               Hartford                 CT
19287   1G1FH1R77K0133567   GM          CAMARO               Rockville Centr          NY
19288   1G1FH1R77K0133911   GM          CAMARO               BALTIMORE                MD
19289   1G1FH1R77K0133987   GM          CAMARO               Manheim                  PA
19290   1G1FH1R77K0134024   GM          CAMARO               Philadelphia             PA
19291   1G1FH1R77K0134265   GM          CAMARO               North Dighton            MA
19292   1G1FH1R77K0134301   GM          CAMARO               Central Square           NY
19293   1G1FH1R77K0136629   GM          CAMARO               TAMPA                    FL
19294   1G1FH1R77K0137179   GM          CAMARO               ATLANTA                  GA
19295   1G1FH1R77K0137327   GM          CAMARO               BIRMINGHAM               AL
19296   1G1FH1R77K0137456   GM          CAMARO               FORT MYERS               FL
19297   1G1FH1R77K0137845   GM          CAMARO               DANIA                    FL
19298   1G1FH1R77K0138087   GM          CAMARO               DENVER                   CO
19299   1G1FH1R77K0138896   GM          CAMARO               Slidell                  LA
19300   1G1FH1R77K0139109   GM          CAMARO               Grove City               OH
19301   1G1FH1R77L0106287   GM          CAMARO               FT. LAUDERDALE           FL
19302   1G1FH1R77L0106502   GM          CAMARO               Scottsdale               AZ
19303   1G1FH1R77L0106595   GM          CAMARO               Santa Clara              CA
19304   1G1FH1R77L0107195   GM          CAMARO               Winter Park              FL
19305   1G1FH1R77L0107908   GM          CAMARO               SANFORD                  FL
19306   1G1FH1R77L0107911   GM          CAMARO               Philadelphia             PA
19307   1G1FH1R77L0108136   GM          CAMARO               Winter Park              FL
19308   1G1FH1R77L0108234   GM          CAMARO               Orlando                  FL
19309   1G1FH1R77L0108539   GM          CAMARO               Hendersonville           TN
19310   1G1FH1R77L0110713   GM          CAMARO               JACKSONVILLE             FL
19311   1G1FH1R77L0111327   GM          CAMARO               KNOXVILLE                TN
19312   1G1FH1R77L0111487   GM          CAMARO               Clarksville              IN
19313   1G1FH1R77L0111604   GM          CAMARO               KNOXVILLE                TN
19314   1G1FH1R77L0112025   GM          CAMARO               ROANOKE                  VA
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19315   1G1FH1R77L0112154   GM          CAMARO               SACRAMENTO               CA
19316   1G1FH1R77L0112249   GM          CAMARO               DETROIT                  MI
19317   1G1FH1R77L0112588   GM          CAMARO               RALEIGH                  NC
19318   1G1FH1R77L0112915   GM          CAMARO               ATLANTA                  GA
19319   1G1FH1R77L0114079   GM          CAMARO               TUCSON                   AZ
19320   1G1FH1R77L0121534   GM          CAMARO               SAN JOSE                 CA
19321   1G1FH1R77L0122148   GM          CAMARO               LIHUE                    HI
19322   1G1FH1R78K0130709   GM          CAMARO               CHATTANOOGA              TN
19323   1G1FH1R78K0130712   GM          CAMARO               DENVER                   CO
19324   1G1FH1R78K0130743   GM          CAMARO               GRAND RAPIDS             MI
19325   1G1FH1R78K0130807   GM          CAMARO               Phoenix                  AZ
19326   1G1FH1R78K0131228   GM          CAMARO               KNOXVILLE                TN
19327   1G1FH1R78K0131374   GM          CAMARO               Plainfield               IN
19328   1G1FH1R78K0131424   GM          CAMARO               SOUTH SAN FRANC          CA
19329   1G1FH1R78K0131469   GM          CAMARO               Elkridge                 MD
19330   1G1FH1R78K0131651   GM          CAMARO               BOISE                    US
19331   1G1FH1R78K0131729   GM          CAMARO               BOSTON                   MA
19332   1G1FH1R78K0131746   GM          CAMARO               MIAMI                    FL
19333   1G1FH1R78K0131794   GM          CAMARO               SALT LAKE CITY           UT
19334   1G1FH1R78K0131830   GM          CAMARO               CHICAGO                  IL
19335   1G1FH1R78K0131875   GM          CAMARO               LOUISVILLE               KY
19336   1G1FH1R78K0131889   GM          CAMARO               ORLANDO                  FL
19337   1G1FH1R78K0131956   GM          CAMARO               Live Oak                 TX
19338   1G1FH1R78K0132024   GM          CAMARO               SALT LAKE CITY           US
19339   1G1FH1R78K0132170   GM          CAMARO               LAS VEGAS                NV
19340   1G1FH1R78K0132864   GM          CAMARO               BOSTON                   MA
19341   1G1FH1R78K0133318   GM          CAMARO               DENVER                   CO
19342   1G1FH1R78K0133559   GM          CAMARO               PHILADELPHIA             PA
19343   1G1FH1R78K0134453   GM          CAMARO               Tampa                    FL
19344   1G1FH1R78K0134663   GM          CAMARO               MILWAUKEE                WI
19345   1G1FH1R78K0136185   GM          CAMARO               FORT LAUDERDALE          FL
19346   1G1FH1R78K0136378   GM          CAMARO               SAVANNAH                 GA
19347   1G1FH1R78K0136803   GM          CAMARO               Tampa                    FL
19348   1G1FH1R78K0137188   GM          CAMARO               TAMPA                    US
19349   1G1FH1R78K0138096   GM          CAMARO               Jacksonville             FL
19350   1G1FH1R78K0138292   GM          CAMARO               ORLANDO                  FL
19351   1G1FH1R78K0138308   GM          CAMARO               KINSTON                  NC
19352   1G1FH1R78K0138969   GM          CAMARO               MIAMI                    FL
19353   1G1FH1R78K0139295   GM          CAMARO               FORT LAUDERDALE          FL
19354   1G1FH1R78K0139457   GM          CAMARO               ORLANDO                  FL
19355   1G1FH1R78K0139488   GM          CAMARO               DETROIT                  MI
19356   1G1FH1R78K0139622   GM          CAMARO               ORLANDO                  FL
19357   1G1FH1R78L0106380   GM          CAMARO               Sanford                  FL
19358   1G1FH1R78L0107576   GM          CAMARO               Houston                  TX
19359   1G1FH1R78L0107920   GM          CAMARO               Dallas                   TX
19360   1G1FH1R78L0108145   GM          CAMARO               Scottsdale               AZ
19361   1G1FH1R78L0108288   GM          CAMARO               DES PLAINES              US
19362   1G1FH1R78L0108307   GM          CAMARO               Orlando                  FL
19363   1G1FH1R78L0108582   GM          CAMARO               Sanford                  FL
19364   1G1FH1R78L0111093   GM          CAMARO               FAYETTEVILLE             GA
19365   1G1FH1R78L0112096   GM          CAMARO               PHOENIX                  AZ
19366   1G1FH1R78L0112485   GM          CAMARO               LAS VEGAS                NV
19367   1G1FH1R78L0114334   GM          CAMARO               PHOENIX                  AZ
19368   1G1FH1R79K0130699   GM          CAMARO               PHOENIX                  AZ
19369   1G1FH1R79K0130783   GM          CAMARO               RALIEGH                  NC
19370   1G1FH1R79K0130847   GM          CAMARO               Manheim                  PA
19371   1G1FH1R79K0131237   GM          CAMARO               SOUTHEAST DST OFFC       OK
19372   1G1FH1R79K0131478   GM          CAMARO               KENNER                   LA
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19373   1G1FH1R79K0131500   GM          CAMARO               PHILADELPHIA             US
19374   1G1FH1R79K0132355   GM          CAMARO               MEMPHIS                  TN
19375   1G1FH1R79K0132761   GM          CAMARO               TUCSON                   AZ
19376   1G1FH1R79K0133165   GM          CAMARO               Massapequa               NY
19377   1G1FH1R79K0133215   GM          CAMARO               KNOXVILLE                TN
19378   1G1FH1R79K0133313   GM          CAMARO               Smithtown                NY
19379   1G1FH1R79K0133442   GM          CAMARO               Cleveland                OH
19380   1G1FH1R79K0134381   GM          CAMARO               MARY ESTHER              FL
19381   1G1FH1R79K0135918   GM          CAMARO               ORLANDO                  FL
19382   1G1FH1R79K0136339   GM          CAMARO               ORLANDO                  FL
19383   1G1FH1R79K0137202   GM          CAMARO               Atlanta                  GA
19384   1G1FH1R79K0137412   GM          CAMARO               NEW YORK CITY            NY
19385   1G1FH1R79K0137684   GM          CAMARO               ROCHESTER                NY
19386   1G1FH1R79K0137765   GM          CAMARO               Schaumburg               IL
19387   1G1FH1R79K0137801   GM          CAMARO               PHOENIX                  AZ
19388   1G1FH1R79K0138012   GM          CAMARO               OAKLAND                  CA
19389   1G1FH1R79K0138799   GM          CAMARO               CHARLOTTE                NC
19390   1G1FH1R79K0139452   GM          CAMARO               DETROIT                  MI
19391   1G1FH1R79K0139497   GM          CAMARO               Detroit                  MI
19392   1G1FH1R79K0139774   GM          CAMARO               MIAMI                    FL
19393   1G1FH1R79K0140052   GM          CAMARO               FORT LAUDERDALE          FL
19394   1G1FH1R79K0142772   GM          CAMARO               WINTER PARK              FL
19395   1G1FH1R79L0106534   GM          CAMARO               Phoenix                  AZ
19396   1G1FH1R79L0106971   GM          CAMARO               Tampa                    FL
19397   1G1FH1R79L0107778   GM          CAMARO               Winter Park              FL
19398   1G1FH1R79L0107974   GM          CAMARO               Dallas                   TX
19399   1G1FH1R79L0108199   GM          CAMARO               Tampa                    FL
19400   1G1FH1R79L0108557   GM          CAMARO               Pompano Beach            FL
19401   1G1FH1R79L0108672   GM          CAMARO               Nashville                TN
19402   1G1FH1R79L0112544   GM          CAMARO               LOS ANGELES              CA
19403   1G1FH1R79L0112639   GM          CAMARO               RALEIGH                  NC
19404   1G1FH1R79L0113015   GM          CAMARO               LAS VEGAS                NV
19405   1G1FH1R7XK0130825   GM          CAMARO               Philadelphia             PA
19406   1G1FH1R7XK0130954   GM          CAMARO               Detroit                  MI
19407   1G1FH1R7XK0130968   GM          CAMARO               Hamilton                 OH
19408   1G1FH1R7XK0131084   GM          CAMARO               PENSACOLA                FL
19409   1G1FH1R7XK0131277   GM          CAMARO               ATLANTA                  GA
19410   1G1FH1R7XK0131344   GM          CAMARO               HOUSTON                  TX
19411   1G1FH1R7XK0131439   GM          CAMARO               Newark                   NJ
19412   1G1FH1R7XK0131487   GM          CAMARO               Hamilton                 OH
19413   1G1FH1R7XK0131540   GM          CAMARO               CHICAGO                  IL
19414   1G1FH1R7XK0131683   GM          CAMARO               PHILADELPHIA             PA
19415   1G1FH1R7XK0132042   GM          CAMARO               MIAMI                    FL
19416   1G1FH1R7XK0133210   GM          CAMARO               North Dighton            MA
19417   1G1FH1R7XK0133854   GM          CAMARO               HOUSTON                  TX
19418   1G1FH1R7XK0134275   GM          CAMARO               Smithtown                NY
19419   1G1FH1R7XK0136575   GM          CAMARO               WEST PALM BEACH          FL
19420   1G1FH1R7XK0136611   GM          CAMARO               MIAMI                    FL
19421   1G1FH1R7XK0136902   GM          CAMARO               SAVANNAH                 GA
19422   1G1FH1R7XK0137239   GM          CAMARO               MIAMI                    FL
19423   1G1FH1R7XK0138083   GM          CAMARO               WEST DUNDEE              IL
19424   1G1FH1R7XK0138228   GM          CAMARO               ORLANDO                  FL
19425   1G1FH1R7XK0139055   GM          CAMARO               FORT MYERS               FL
19426   1G1FH1R7XK0139217   GM          CAMARO               MIAMI                    FL
19427   1G1FH1R7XK0139637   GM          CAMARO               MIAMI                    FL
19428   1G1FH1R7XK0139640   GM          CAMARO               BIRMINGHAM               AL
19429   1G1FH1R7XL0106641   GM          CAMARO               Scottsdale               AZ
19430   1G1FH1R7XL0108051   GM          CAMARO               CLEVELAND                OH
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19431   1G1FH1R7XL0108132   GM          CAMARO               Houston                  TX
19432   1G1FH1R7XL0108325   GM          CAMARO               Clearwater               FL
19433   1G1FH1R7XL0108423   GM          CAMARO               Clearwater               FL
19434   1G1FH1R7XL0108728   GM          CAMARO               Houston                  TX
19435   1G1FH1R7XL0111841   GM          CAMARO               GREENSBORO               NC
19436   1G1FH1R7XL0111919   GM          CAMARO               CHARLESTON               SC
19437   1G1FH1R7XL0112116   GM          CAMARO               SANTA ANA                CA
19438   1G1FH1R7XL0112214   GM          CAMARO               CHARLOTTE                NC
19439   1G1FH1R7XL0112293   GM          CAMARO               PITTSBURGH               PA
19440   1G1FH1R7XL0112973   GM          CAMARO               CLARKSVILLE              IN
19441   1G1FH1R7XL0112987   GM          CAMARO               MILWAUKEE                WI
19442   1G1FH1R7XL0113976   GM          CAMARO               PHOENIX                  AZ
19443   1G1FH1R7XL0114027   GM          CAMARO               S. San Francisc          CA
19444   1G1FH1R7XL0114092   GM          CAMARO               TUCSON                   AZ
19445   1G1FH3D70K0115737   GM          CAMARO               HILO                     HI
19446   1G1FH3D70K0116273   GM          CAMARO               HILO                     HI
19447   1G1FH3D70K0122932   GM          CAMARO               Miami                    FL
19448   1G1FH3D70K0123112   GM          CAMARO               PANAMA CITY              FL
19449   1G1FH3D70K0125135   GM          CAMARO               Miami                    FL
19450   1G1FH3D70K0125328   GM          CAMARO               TAMPA                    FL
19451   1G1FH3D70K0125569   GM          CAMARO               SARASOTA                 FL
19452   1G1FH3D70K0125636   GM          CAMARO               ORLANDO                  FL
19453   1G1FH3D70K0125782   GM          CAMARO               Tampa                    FL
19454   1G1FH3D70K0125846   GM          CAMARO               CHARLESTON               SC
19455   1G1FH3D70K0126155   GM          CAMARO               WEST PALM BEACH          FL
19456   1G1FH3D70K0126415   GM          CAMARO               TAMPA                    FL
19457   1G1FH3D70K0126849   GM          CAMARO               ST PETERSBURG            FL
19458   1G1FH3D70K0131842   GM          CAMARO               Austin                   TX
19459   1G1FH3D70K0132490   GM          CAMARO               CHARLESTON               SC
19460   1G1FH3D70K0133042   GM          CAMARO               LOS ANGELES              CA
19461   1G1FH3D70K0133509   GM          CAMARO               OAKLAND                  CA
19462   1G1FH3D70K0133932   GM          CAMARO               CLOVIS                   CA
19463   1G1FH3D70K0134238   GM          CAMARO               RALEIGH, DURHAM          NC
19464   1G1FH3D70K0135020   GM          CAMARO               Jacksonville             FL
19465   1G1FH3D70K0135065   GM          CAMARO               FORT MYERS               FL
19466   1G1FH3D70K0135583   GM          CAMARO               Bay Shore                NY
19467   1G1FH3D70K0135826   GM          CAMARO               Phoenix                  AZ
19468   1G1FH3D70K0135891   GM          CAMARO               BALTIMORE                MD
19469   1G1FH3D70K0136328   GM          CAMARO               JAMAICA                  NY
19470   1G1FH3D70K0136359   GM          CAMARO               FT. LAUDERDALE           FL
19471   1G1FH3D70K0136555   GM          CAMARO               HAWTHORNE                NJ
19472   1G1FH3D70K0137477   GM          CAMARO               LAS VEGAS                NV
19473   1G1FH3D70K0137818   GM          CAMARO               ATLANTA                  GA
19474   1G1FH3D70K0137947   GM          CAMARO               CHARLESTON               SC
19475   1G1FH3D70K0138323   GM          CAMARO               PITTSBURGH               PA
19476   1G1FH3D70K0139763   GM          CAMARO               HOUSTON                  TX
19477   1G1FH3D70K0143098   GM          CAMARO               ATLANTA                  GA
19478   1G1FH3D70K0143215   GM          CAMARO               Dallas                   TX
19479   1G1FH3D70K0143294   GM          CAMARO               MIAMI                    FL
19480   1G1FH3D70K0143473   GM          CAMARO               Tolleson                 AZ
19481   1G1FH3D70K0143957   GM          CAMARO               AUSTIN                   TX
19482   1G1FH3D70K0144364   GM          CAMARO               PHILADELPHIA             US
19483   1G1FH3D70K0145188   GM          CAMARO               Detroit                  MI
19484   1G1FH3D70K0145434   GM          CAMARO               CHICAGO                  IL
19485   1G1FH3D70K0145837   GM          CAMARO               MANCHESTER               US
19486   1G1FH3D70K0148253   GM          CAMARO               CHARLOTTE                NC
19487   1G1FH3D70K0149404   GM          CAMARO               DENVER                   CO
19488   1G1FH3D70K0150620   GM          CAMARO               MYRTLE BEACH             SC
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19489   1G1FH3D70L0116226   GM          CAMARO               FORT LAUDERDALE          FL
19490   1G1FH3D70L0116274   GM          CAMARO               FORT MYERS               FL
19491   1G1FH3D70L0116307   GM          CAMARO               TAMPA                    US
19492   1G1FH3D70L0116355   GM          CAMARO               DANIA                    FL
19493   1G1FH3D70L0116520   GM          CAMARO               WINTER PARK              FL
19494   1G1FH3D70L0116680   GM          CAMARO               FORT MYERS               FL
19495   1G1FH3D70L0116761   GM          CAMARO               SARASOTA                 FL
19496   1G1FH3D70L0116842   GM          CAMARO               MIAMI                    FL
19497   1G1FH3D70L0116890   GM          CAMARO               LAS VEGAS                NV
19498   1G1FH3D70L0116923   GM          CAMARO               PHOENIX                  AZ
19499   1G1FH3D70L0116971   GM          CAMARO               TUCSON                   AZ
19500   1G1FH3D70L0117103   GM          CAMARO               PHOENIX                  AZ
19501   1G1FH3D70L0117344   GM          CAMARO               ONTARIO                  CA
19502   1G1FH3D70L0117392   GM          CAMARO               TAMPA                    FL
19503   1G1FH3D70L0117425   GM          CAMARO               LOS ANGELES              CA
19504   1G1FH3D70L0117568   GM          CAMARO               TULSA                    OK
19505   1G1FH3D70L0117697   GM          CAMARO               SAVANNAH                 GA
19506   1G1FH3D70L0118087   GM          CAMARO               SAVANNAH                 GA
19507   1G1FH3D70L0118252   GM          CAMARO               TAMPA                    FL
19508   1G1FH3D70L0118431   GM          CAMARO               TAMPA                    FL
19509   1G1FH3D70L0118610   GM          CAMARO               MIAMI                    FL
19510   1G1FH3D70L0118767   GM          CAMARO               FT. LAUDERDALE           FL
19511   1G1FH3D70L0118770   GM          CAMARO               MIAMI                    FL
19512   1G1FH3D70L0118848   GM          CAMARO               TAMPA                    US
19513   1G1FH3D71K0112426   GM          CAMARO               KALAOA                   HI
19514   1G1FH3D71K0115990   GM          CAMARO               HONOLULU                 HI
19515   1G1FH3D71K0121983   GM          CAMARO               SARASOTA                 FL
19516   1G1FH3D71K0123037   GM          CAMARO               WEST PALM BEACH          FL
19517   1G1FH3D71K0123247   GM          CAMARO               Orlando                  FL
19518   1G1FH3D71K0123426   GM          CAMARO               Davie                    FL
19519   1G1FH3D71K0131901   GM          CAMARO               LOS ANGELES              CA
19520   1G1FH3D71K0132000   GM          CAMARO               NEW ORLEANS              LA
19521   1G1FH3D71K0132353   GM          CAMARO               ATLANTA                  GA
19522   1G1FH3D71K0132420   GM          CAMARO               BIRMINGHAM               AL
19523   1G1FH3D71K0133132   GM          CAMARO               LAS VEGAS                NV
19524   1G1FH3D71K0133616   GM          CAMARO               ORLANDO                  FL
19525   1G1FH3D71K0134037   GM          CAMARO               Tolleson                 AZ
19526   1G1FH3D71K0134250   GM          CAMARO               PHOENIX                  AZ
19527   1G1FH3D71K0134278   GM          CAMARO               Davie                    FL
19528   1G1FH3D71K0135088   GM          CAMARO               BOSTON                   MA
19529   1G1FH3D71K0135253   GM          CAMARO               NEWARK                   NJ
19530   1G1FH3D71K0135690   GM          CAMARO               RONKONKOMA               NY
19531   1G1FH3D71K0136435   GM          CAMARO               KENNER                   LA
19532   1G1FH3D71K0136838   GM          CAMARO               PHILADELPHIA             PA
19533   1G1FH3D71K0137245   GM          CAMARO               FORT MYERS               FL
19534   1G1FH3D71K0138279   GM          CAMARO               ATLANTA                  GA
19535   1G1FH3D71K0139089   GM          CAMARO               DALLAS                   TX
19536   1G1FH3D71K0139903   GM          CAMARO               SAN ANTONIO              TX
19537   1G1FH3D71K0140050   GM          CAMARO               SAN ANTONIO              TX
19538   1G1FH3D71K0140601   GM          CAMARO               Lake Elsinore            CA
19539   1G1FH3D71K0141019   GM          CAMARO               FRESNO                   CA
19540   1G1FH3D71K0141070   GM          CAMARO               BUTLER                   PA
19541   1G1FH3D71K0141229   GM          CAMARO               SAVANNAH                 GA
19542   1G1FH3D71K0143224   GM          CAMARO               FAYETTEVILLE             GA
19543   1G1FH3D71K0143448   GM          CAMARO               WEST PALM BEACH          FL
19544   1G1FH3D71K0143725   GM          CAMARO               PHILADELPHIA             PA
19545   1G1FH3D71K0145619   GM          CAMARO               DETROIT                  MI
19546   1G1FH3D71K0145667   GM          CAMARO               NEW ORLEANS              LA
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19547   1G1FH3D71K0148181   GM          CAMARO               Houston                  TX
19548   1G1FH3D71K0148732   GM          CAMARO               HOUSTON                  TX
19549   1G1FH3D71K0149136   GM          CAMARO               Tampa                    FL
19550   1G1FH3D71K0149640   GM          CAMARO               MEMPHIS                  TN
19551   1G1FH3D71K0149993   GM          CAMARO               Atlanta                  GA
19552   1G1FH3D71K0150223   GM          CAMARO               CHINO                    CA
19553   1G1FH3D71L0116235   GM          CAMARO               WEST PALM BEACH          FL
19554   1G1FH3D71L0116445   GM          CAMARO               TAMPA                    FL
19555   1G1FH3D71L0116526   GM          CAMARO               JACKSONVILLE             FL
19556   1G1FH3D71L0116641   GM          CAMARO               ORLANDO                  FL
19557   1G1FH3D71L0116767   GM          CAMARO               WEST PALM BEACH          FL
19558   1G1FH3D71L0116770   GM          CAMARO               MIAMI                    FL
19559   1G1FH3D71L0117112   GM          CAMARO               SOUTH SAN FRANC          CA
19560   1G1FH3D71L0117160   GM          CAMARO               Las Vegas                NV
19561   1G1FH3D71L0117188   GM          CAMARO               DANIA BEACH              FL
19562   1G1FH3D71L0117191   GM          CAMARO               PHOENIX                  AZ
19563   1G1FH3D71L0117725   GM          CAMARO               ORLANDO                  FL
19564   1G1FH3D71L0118101   GM          CAMARO               FORT MYERS               FL
19565   1G1FH3D71L0118261   GM          CAMARO               STERLING                 VA
19566   1G1FH3D71L0118583   GM          CAMARO               Miami                    FL
19567   1G1FH3D71L0118745   GM          CAMARO               ORLANDO                  FL
19568   1G1FH3D72K0121152   GM          CAMARO               MIAMI                    FL
19569   1G1FH3D72K0121684   GM          CAMARO               TAMPA                    FL
19570   1G1FH3D72K0122463   GM          CAMARO               ORLANDO                  FL
19571   1G1FH3D72K0122897   GM          CAMARO               Jacksonville             FL
19572   1G1FH3D72K0123192   GM          CAMARO               Tampa                    FL
19573   1G1FH3D72K0123399   GM          CAMARO               LOS ANGELES              CA
19574   1G1FH3D72K0125265   GM          CAMARO               JACKSONVILLE             FL
19575   1G1FH3D72K0125475   GM          CAMARO               FORT MYERS               FL
19576   1G1FH3D72K0125539   GM          CAMARO               MIAMI                    FL
19577   1G1FH3D72K0125735   GM          CAMARO               MIAMI                    FL
19578   1G1FH3D72K0126254   GM          CAMARO               WEST PALM BEACH          FL
19579   1G1FH3D72K0126822   GM          CAMARO               ORLANDO                  FL
19580   1G1FH3D72K0133057   GM          CAMARO               San Diego                CA
19581   1G1FH3D72K0133107   GM          CAMARO               PHOENIX                  AZ
19582   1G1FH3D72K0133494   GM          CAMARO               SOUTH SAN FRANC          CA
19583   1G1FH3D72K0133740   GM          CAMARO               MIAMI                    FL
19584   1G1FH3D72K0133785   GM          CAMARO               TRACY                    CA
19585   1G1FH3D72K0134063   GM          CAMARO               FORT MYERS               FL
19586   1G1FH3D72K0134970   GM          CAMARO               Indianapolis             IN
19587   1G1FH3D72K0135746   GM          CAMARO               BOSTON                   MA
19588   1G1FH3D72K0139179   GM          CAMARO               BIRMINGHAM               AL
19589   1G1FH3D72K0139506   GM          CAMARO               Hebron                   KY
19590   1G1FH3D72K0139599   GM          CAMARO               ORLANDO                  FL
19591   1G1FH3D72K0139828   GM          CAMARO               PHOENIX                  AZ
19592   1G1FH3D72K0142163   GM          CAMARO               JACKSONVILLE             FL
19593   1G1FH3D72K0143149   GM          CAMARO               SANFORD                  FL
19594   1G1FH3D72K0143653   GM          CAMARO               RALEIGH                  NC
19595   1G1FH3D72K0143720   GM          CAMARO               HOUSTON                  TX
19596   1G1FH3D72K0143734   GM          CAMARO               FORT MYERS               FL
19597   1G1FH3D72K0143801   GM          CAMARO               CHARLOTTE                NC
19598   1G1FH3D72K0144009   GM          CAMARO               WHITE PLAINS             NY
19599   1G1FH3D72K0145323   GM          CAMARO               Detroit                  MI
19600   1G1FH3D72K0145550   GM          CAMARO               PHILADELPHIA             PA
19601   1G1FH3D72K0148125   GM          CAMARO               LOS ANGELES              CA
19602   1G1FH3D72K0148352   GM          CAMARO               DALLAS                   TX
19603   1G1FH3D72K0148772   GM          CAMARO               NASHVILLE                TN
19604   1G1FH3D72K0148822   GM          CAMARO               DALLAS                   TX
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19605   1G1FH3D72K0148853   GM          CAMARO               Pheonix                  AZ
19606   1G1FH3D72K0149257   GM          CAMARO               Warminster               PA
19607   1G1FH3D72K0149954   GM          CAMARO               KANSAS CITY              MO
19608   1G1FH3D72K0149985   GM          CAMARO               Rock Hill                SC
19609   1G1FH3D72L0116115   GM          CAMARO               DANIA                    FL
19610   1G1FH3D72L0116406   GM          CAMARO               KENNER                   LA
19611   1G1FH3D72L0116454   GM          CAMARO               FORT MYERS               FL
19612   1G1FH3D72L0116535   GM          CAMARO               FORT LAUDERDALE          FL
19613   1G1FH3D72L0116695   GM          CAMARO               WEST PALM BEACH          FL
19614   1G1FH3D72L0116857   GM          CAMARO               FORT LAUDERDALE          FL
19615   1G1FH3D72L0117040   GM          CAMARO               LAS VEGAS                NV
19616   1G1FH3D72L0117118   GM          CAMARO               JACKSONVILLE             FL
19617   1G1FH3D72L0117121   GM          CAMARO               Pheonix                  AZ
19618   1G1FH3D72L0117443   GM          CAMARO               Tampa                    FL
19619   1G1FH3D72L0117538   GM          CAMARO               FORT MYERS               FL
19620   1G1FH3D72L0117586   GM          CAMARO               LAS VEGAS                NV
19621   1G1FH3D72L0117653   GM          CAMARO               MIAMI                    FL
19622   1G1FH3D72L0117863   GM          CAMARO               JACKSONVILLE             FL
19623   1G1FH3D72L0118267   GM          CAMARO               ATLANTA                  GA
19624   1G1FH3D72L0118351   GM          CAMARO               TAMPA                    US
19625   1G1FH3D72L0118916   GM          CAMARO               MEMPHIS                  TN
19626   1G1FH3D73K0112198   GM          CAMARO               KAILUA‐KONA              HI
19627   1G1FH3D73K0112590   GM          CAMARO               HILO                     HI
19628   1G1FH3D73K0124402   GM          CAMARO               WEST PALM BEACH          FL
19629   1G1FH3D73K0125615   GM          CAMARO               MIAMI                    FL
19630   1G1FH3D73K0126201   GM          CAMARO               BIRMINGHAM               AL
19631   1G1FH3D73K0133519   GM          CAMARO               CHARLOTTE                NC
19632   1G1FH3D73K0134881   GM          CAMARO               RICHMOND                 VA
19633   1G1FH3D73K0135416   GM          CAMARO               WEST PALM BEACH          FL
19634   1G1FH3D73K0135786   GM          CAMARO               Miami                    FL
19635   1G1FH3D73K0136145   GM          CAMARO               ATLANTA                  GA
19636   1G1FH3D73K0136288   GM          CAMARO               JACKSON                  MS
19637   1G1FH3D73K0136355   GM          CAMARO               FORT MYERS               FL
19638   1G1FH3D73K0136842   GM          CAMARO               Atlanta                  GA
19639   1G1FH3D73K0136968   GM          CAMARO               KNOXVILLE                TN
19640   1G1FH3D73K0137120   GM          CAMARO               Greensboro               NC
19641   1G1FH3D73K0137800   GM          CAMARO               KNOXVILLE                TN
19642   1G1FH3D73K0138588   GM          CAMARO               ATLANTA                  GA
19643   1G1FH3D73K0139644   GM          CAMARO               DFW AIRPORT              TX
19644   1G1FH3D73K0140731   GM          CAMARO               FORT LAUDERDALE          FL
19645   1G1FH3D73K0140762   GM          CAMARO               LAS VEGAS                NV
19646   1G1FH3D73K0142253   GM          CAMARO               Florissant               MO
19647   1G1FH3D73K0143158   GM          CAMARO               ORLANDO                  FL
19648   1G1FH3D73K0143239   GM          CAMARO               HARTFORD                 CT
19649   1G1FH3D73K0143502   GM          CAMARO               FORT MYERS               FL
19650   1G1FH3D73K0144388   GM          CAMARO               FORT LAUDERDALE          FL
19651   1G1FH3D73K0145007   GM          CAMARO               Detroit                  MI
19652   1G1FH3D73K0145329   GM          CAMARO               MILWAUKEE                WI
19653   1G1FH3D73K0148313   GM          CAMARO               HOUSTON                  TX
19654   1G1FH3D73K0148778   GM          CAMARO               SAN ANTONIO              TX
19655   1G1FH3D73K0148828   GM          CAMARO               KNOXVILLE                TN
19656   1G1FH3D73K0149008   GM          CAMARO               BIRMINGHAM               AL
19657   1G1FH3D73K0150417   GM          CAMARO               Leesburg                 VA
19658   1G1FH3D73L0116379   GM          CAMARO               ORLANDO                  FL
19659   1G1FH3D73L0116592   GM          CAMARO               MIAMI INT'L AP           FL
19660   1G1FH3D73L0116740   GM          CAMARO               MIAMI                    FL
19661   1G1FH3D73L0116947   GM          CAMARO               MIAMI                    FL
19662   1G1FH3D73L0116995   GM          CAMARO               PHOENIX                  AZ
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19663   1G1FH3D73L0117001   GM          CAMARO               FORT LAUDERDALE          FL
19664   1G1FH3D73L0117046   GM          CAMARO               TAMPA                    FL
19665   1G1FH3D73L0117127   GM          CAMARO               PHOENIX                  AZ
19666   1G1FH3D73L0117130   GM          CAMARO               LOS ANGELES              CA
19667   1G1FH3D73L0117287   GM          CAMARO               CHICAGO                  IL
19668   1G1FH3D73L0117595   GM          CAMARO               PHOENIX                  AZ
19669   1G1FH3D73L0117662   GM          CAMARO               MIAMI                    FL
19670   1G1FH3D73L0117693   GM          CAMARO               JACKSONVILLE             FL
19671   1G1FH3D73L0117712   GM          CAMARO               Jacksonville             FL
19672   1G1FH3D73L0117760   GM          CAMARO               SAVANNAH                 GA
19673   1G1FH3D73L0117905   GM          CAMARO               JACKSONVILLE             FL
19674   1G1FH3D73L0117953   GM          CAMARO               JACKSONVILLE             FL
19675   1G1FH3D73L0118116   GM          CAMARO               SAVANNAH                 GA
19676   1G1FH3D73L0118567   GM          CAMARO               MIAMI                    FL
19677   1G1FH3D73L0118603   GM          CAMARO               SARASOTA                 FL
19678   1G1FH3D73L0118696   GM          CAMARO               TITUSVILLE               FL
19679   1G1FH3D74K0112761   GM          CAMARO               KAILUA‐KONA              HI
19680   1G1FH3D74K0121749   GM          CAMARO               FORT LAUDERDALE          FL
19681   1G1FH3D74K0122092   GM          CAMARO               UNION CITY               GA
19682   1G1FH3D74K0122528   GM          CAMARO               FORT MYERS               FL
19683   1G1FH3D74K0122755   GM          CAMARO               ORLANDO                  FL
19684   1G1FH3D74K0123002   GM          CAMARO               JACKSONVILLE             FL
19685   1G1FH3D74K0123291   GM          CAMARO               Dania                    FL
19686   1G1FH3D74K0124943   GM          CAMARO               WEST PALM BEACH          FL
19687   1G1FH3D74K0125140   GM          CAMARO               TAMPA                    FL
19688   1G1FH3D74K0125574   GM          CAMARO               Estero                   FL
19689   1G1FH3D74K0125851   GM          CAMARO               TAMPA                    FL
19690   1G1FH3D74K0133187   GM          CAMARO               ORLANDO                  FL
19691   1G1FH3D74K0133948   GM          CAMARO               LAS VEGAS                NV
19692   1G1FH3D74K0134033   GM          CAMARO               DES PLAINES              IL
19693   1G1FH3D74K0134470   GM          CAMARO               LAS VEGAS                NV
19694   1G1FH3D74K0135568   GM          CAMARO               ORLANDO                  FL
19695   1G1FH3D74K0135943   GM          CAMARO               WILMINGTON               NC
19696   1G1FH3D74K0136882   GM          CAMARO               NEW ORLEANS              LA
19697   1G1FH3D74K0137269   GM          CAMARO               JACKSONVILLE             FL
19698   1G1FH3D74K0139264   GM          CAMARO               HOUSTON                  TX
19699   1G1FH3D74K0139376   GM          CAMARO               FORT LAUDERDALE          FL
19700   1G1FH3D74K0141628   GM          CAMARO               KNOXVILLE                TN
19701   1G1FH3D74K0143069   GM          CAMARO               LAS VEGAS                NV
19702   1G1FH3D74K0143492   GM          CAMARO               ALBANY                   N
19703   1G1FH3D74K0143668   GM          CAMARO               CHARLOTTE                NC
19704   1G1FH3D74K0144853   GM          CAMARO               RALEIGH                  NC
19705   1G1FH3D74K0145422   GM          CAMARO               DALLAS                   TX
19706   1G1FH3D74K0145601   GM          CAMARO               Birmingham               AL
19707   1G1FH3D74K0148708   GM          CAMARO               Ft. Myers                FL
19708   1G1FH3D74K0149440   GM          CAMARO               DULUTH                   GA
19709   1G1FH3D74K0149874   GM          CAMARO               MIAMI                    FL
19710   1G1FH3D74K0150314   GM          CAMARO               LOS ANGELES              CA
19711   1G1FH3D74K0150393   GM          CAMARO               ORLANDO                  FL
19712   1G1FH3D74K0150507   GM          CAMARO               FAYETTEVILLE             GA
19713   1G1FH3D74L0116181   GM          CAMARO               TAMPA                    FL
19714   1G1FH3D74L0116469   GM          CAMARO               SARASOTA                 FL
19715   1G1FH3D74L0116665   GM          CAMARO               SARASOTA                 FL
19716   1G1FH3D74L0116701   GM          CAMARO               FORT MYERS               FL
19717   1G1FH3D74L0116794   GM          CAMARO               Jacksonville             FL
19718   1G1FH3D74L0116908   GM          CAMARO               ONTARIO                  CA
19719   1G1FH3D74L0116911   GM          CAMARO               LAS VEGAS                NV
19720   1G1FH3D74L0117766   GM          CAMARO               DANIA BEACH              FL
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19721   1G1FH3D74L0117959   GM          CAMARO               JACKSONVILLE             FL
19722   1G1FH3D74L0118299   GM          CAMARO               MIAMI                    FL
19723   1G1FH3D74L0119047   GM          CAMARO               ROANOKE                  VA
19724   1G1FH3D75K0121498   GM          CAMARO               MIAMI                    FL
19725   1G1FH3D75K0122294   GM          CAMARO               UNION CITY               GA
19726   1G1FH3D75K0122540   GM          CAMARO               DAYTONA BEACH            FL
19727   1G1FH3D75K0125003   GM          CAMARO               ORLANDO                  FL
19728   1G1FH3D75K0125275   GM          CAMARO               Miami                    FL
19729   1G1FH3D75K0125390   GM          CAMARO               Jacksonville             FL
19730   1G1FH3D75K0126099   GM          CAMARO               SOUTHEAST DST OFFC       OK
19731   1G1FH3D75K0126328   GM          CAMARO               Slidell                  LA
19732   1G1FH3D75K0126894   GM          CAMARO               Estero                   FL
19733   1G1FH3D75K0133716   GM          CAMARO               PHOENIX                  AZ
19734   1G1FH3D75K0133764   GM          CAMARO               SACRAMENTO               CA
19735   1G1FH3D75K0135658   GM          CAMARO               Austell                  GA
19736   1G1FH3D75K0135935   GM          CAMARO               ATLANTA                  GA
19737   1G1FH3D75K0135983   GM          CAMARO               MIAMI                    FL
19738   1G1FH3D75K0136387   GM          CAMARO               LOS ANGELES AP           CA
19739   1G1FH3D75K0136633   GM          CAMARO               MIAMI                    FL
19740   1G1FH3D75K0136731   GM          CAMARO               Miami                    FL
19741   1G1FH3D75K0137071   GM          CAMARO               ATLANTA                  GA
19742   1G1FH3D75K0138964   GM          CAMARO               AUSTIN                   TX
19743   1G1FH3D75K0139693   GM          CAMARO               HOUSTON                  TX
19744   1G1FH3D75K0139788   GM          CAMARO               Houston                  TX
19745   1G1FH3D75K0139984   GM          CAMARO               LOS ANGELES AP           CA
19746   1G1FH3D75K0140245   GM          CAMARO               Baltimore                MD
19747   1G1FH3D75K0140424   GM          CAMARO               LOS ANGELES              CA
19748   1G1FH3D75K0140682   GM          CAMARO               Las Vegas                NV
19749   1G1FH3D75K0143372   GM          CAMARO               NEW ORLEANS              LA
19750   1G1FH3D75K0143386   GM          CAMARO               MIAMI                    FL
19751   1G1FH3D75K0143436   GM          CAMARO               MIAMI                    FL
19752   1G1FH3D75K0143579   GM          CAMARO               Statesville              NC
19753   1G1FH3D75K0143677   GM          CAMARO               BOSTON                   MA
19754   1G1FH3D75K0143825   GM          CAMARO               WEST PALM BEACH          FL
19755   1G1FH3D75K0144523   GM          CAMARO               ORLANDO                  FL
19756   1G1FH3D75K0144571   GM          CAMARO               WEST PALM BEACH          FL
19757   1G1FH3D75K0145087   GM          CAMARO               DETROIT                  MI
19758   1G1FH3D75K0145526   GM          CAMARO               CHICAGO                  IL
19759   1G1FH3D75K0145574   GM          CAMARO               FORT LAUDERDALE          FL
19760   1G1FH3D75K0145607   GM          CAMARO               CHICAGO                  IL
19761   1G1FH3D75K0146420   GM          CAMARO               CHICAGO                  IL
19762   1G1FH3D75K0148166   GM          CAMARO               TULSA                    OK
19763   1G1FH3D75K0148331   GM          CAMARO               PENSACOLA                FL
19764   1G1FH3D75K0148944   GM          CAMARO               Raleigh                  NC
19765   1G1FH3D75K0149107   GM          CAMARO               WEST COLUMBIA            SC
19766   1G1FH3D75L0116268   GM          CAMARO               FORT LAUDERDALE          FL
19767   1G1FH3D75L0116304   GM          CAMARO               MIAMI                    FL
19768   1G1FH3D75L0116352   GM          CAMARO               ORLANDO                  FL
19769   1G1FH3D75L0116397   GM          CAMARO               Miami                    FL
19770   1G1FH3D75L0116433   GM          CAMARO               CHARLOTTE                NC
19771   1G1FH3D75L0116481   GM          CAMARO               ORLANDO                  FL
19772   1G1FH3D75L0116657   GM          CAMARO               Atlanta                  GA
19773   1G1FH3D75L0116755   GM          CAMARO               ORLANDO                  FL
19774   1G1FH3D75L0116836   GM          CAMARO               ORLANDO                  FL
19775   1G1FH3D75L0116884   GM          CAMARO               FORT LAUDERDALE          FL
19776   1G1FH3D75L0116920   GM          CAMARO               TUCSON                   AZ
19777   1G1FH3D75L0117212   GM          CAMARO               PHOENIX                  AZ
19778   1G1FH3D75L0117243   GM          CAMARO               FORT MYERS               FL
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19779   1G1FH3D75L0117386   GM          CAMARO               ONTARIO                  CA
19780   1G1FH3D75L0117484   GM          CAMARO               TAMPA                    FL
19781   1G1FH3D75L0117887   GM          CAMARO               MIAMI                    FL
19782   1G1FH3D75L0117890   GM          CAMARO               JACKSONVILLE             FL
19783   1G1FH3D75L0118036   GM          CAMARO               MIAMI                    FL
19784   1G1FH3D75L0118523   GM          CAMARO               Miami                    FL
19785   1G1FH3D75L0119011   GM          CAMARO               SAVANNAH                 GA
19786   1G1FH3D76K0121137   GM          CAMARO               MIAMI                    FL
19787   1G1FH3D76K0121297   GM          CAMARO               TAMPA                    FL
19788   1G1FH3D76K0121915   GM          CAMARO               FORT LAUDERDALE          FL
19789   1G1FH3D76K0122613   GM          CAMARO               Miami                    FL
19790   1G1FH3D76K0122806   GM          CAMARO               Davie                    FL
19791   1G1FH3D76K0123132   GM          CAMARO               TUCSON                   AZ
19792   1G1FH3D76K0123227   GM          CAMARO               MIAMI                    FL
19793   1G1FH3D76K0125270   GM          CAMARO               Davie                    FL
19794   1G1FH3D76K0125415   GM          CAMARO               Davie                    FL
19795   1G1FH3D76K0125513   GM          CAMARO               MIAMI                    FL
19796   1G1FH3D76K0125608   GM          CAMARO               HARTFORD                 CT
19797   1G1FH3D76K0125673   GM          CAMARO               Ocoee                    FL
19798   1G1FH3D76K0125866   GM          CAMARO               Sarasota                 FL
19799   1G1FH3D76K0126015   GM          CAMARO               Statesville              NC
19800   1G1FH3D76K0126306   GM          CAMARO               Miami                    FL
19801   1G1FH3D76K0126483   GM          CAMARO               DAYTONA BEACH            FL
19802   1G1FH3D76K0126855   GM          CAMARO               ORLANDO                  FL
19803   1G1FH3D76K0132235   GM          CAMARO               DFW AIRPORT              TX
19804   1G1FH3D76K0132719   GM          CAMARO               PHOENIX                  AZ
19805   1G1FH3D76K0133112   GM          CAMARO               LAS VEGAS                NV
19806   1G1FH3D76K0133286   GM          CAMARO               GREENVILLE               NC
19807   1G1FH3D76K0133384   GM          CAMARO               ALBUQUERQUE              NM
19808   1G1FH3D76K0133708   GM          CAMARO               BURIEN                   WA
19809   1G1FH3D76K0135152   GM          CAMARO               FORT LAUDERDALE          FL
19810   1G1FH3D76K0135443   GM          CAMARO               Morrisville              NC
19811   1G1FH3D76K0135927   GM          CAMARO               ATLANTA                  GA
19812   1G1FH3D76K0136320   GM          CAMARO               WINDSOR LOCKS            US
19813   1G1FH3D76K0136494   GM          CAMARO               CHARLESTON               SC
19814   1G1FH3D76K0137175   GM          CAMARO               NEWARK                   NJ
19815   1G1FH3D76K0137225   GM          CAMARO               FORT MYERS               FL
19816   1G1FH3D76K0138956   GM          CAMARO               LOUISVILLE               KY
19817   1G1FH3D76K0139833   GM          CAMARO               DALLAS                   TX
19818   1G1FH3D76K0140934   GM          CAMARO               SAINT LOUIS              MO
19819   1G1FH3D76K0142103   GM          CAMARO               TAMPA                    FL
19820   1G1FH3D76K0143168   GM          CAMARO               FORT MYERS               FL
19821   1G1FH3D76K0143266   GM          CAMARO               SEATAC                   WA
19822   1G1FH3D76K0143526   GM          CAMARO               SAN ANTONIO              TX
19823   1G1FH3D76K0143543   GM          CAMARO               ATLANTA                  GA
19824   1G1FH3D76K0143624   GM          CAMARO               ATLANTA                  GA
19825   1G1FH3D76K0143784   GM          CAMARO               MEDINA                   OH
19826   1G1FH3D76K0145194   GM          CAMARO               GRAND RAPIDS             MI
19827   1G1FH3D76K0149195   GM          CAMARO               MIAMI                    FL
19828   1G1FH3D76K0150217   GM          CAMARO               Jacksonville             FL
19829   1G1FH3D76L0116148   GM          CAMARO               FORT LAUDERDALE          FL
19830   1G1FH3D76L0116229   GM          CAMARO               WEST PALM BEACH          FL
19831   1G1FH3D76L0116232   GM          CAMARO               MIAMI                    FL
19832   1G1FH3D76L0116358   GM          CAMARO               ORLANDO                  FL
19833   1G1FH3D76L0116361   GM          CAMARO               WEST PALM BEACH          FL
19834   1G1FH3D76L0116523   GM          CAMARO               FORT MYERS               FL
19835   1G1FH3D76L0116604   GM          CAMARO               ORLANDO                  FL
19836   1G1FH3D76L0117607   GM          CAMARO               SARASOTA                 FL
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19837   1G1FH3D76L0117638   GM          CAMARO               JACKSONVILLE             FL
19838   1G1FH3D76L0117641   GM          CAMARO               FORT LAUDERDALE          FL
19839   1G1FH3D76L0117896   GM          CAMARO               NEW BERN                 NC
19840   1G1FH3D76L0117929   GM          CAMARO               DAYTONA BEACH            FL
19841   1G1FH3D76L0118241   GM          CAMARO               JACKSONVILLE             FL
19842   1G1FH3D76L0118952   GM          CAMARO               ATLANTA                  GA
19843   1G1FH3D77K0114570   GM          CAMARO               HILO                     HI
19844   1G1FH3D77K0114956   GM          CAMARO               HILO                     HI
19845   1G1FH3D77K0121387   GM          CAMARO               FORT MYERS               FL
19846   1G1FH3D77K0122054   GM          CAMARO               NORFOLK                  VA
19847   1G1FH3D77K0122328   GM          CAMARO               ORLANDO                  FL
19848   1G1FH3D77K0126234   GM          CAMARO               Orlando                  FL
19849   1G1FH3D77K0126265   GM          CAMARO               ORLANDO                  FL
19850   1G1FH3D77K0126315   GM          CAMARO               Tampa                    FL
19851   1G1FH3D77K0132230   GM          CAMARO               DALLAS                   TX
19852   1G1FH3D77K0132700   GM          CAMARO               LAS VEGAS                NV
19853   1G1FH3D77K0132938   GM          CAMARO               North Dighton            MA
19854   1G1FH3D77K0133202   GM          CAMARO               TRACY                    CA
19855   1G1FH3D77K0133359   GM          CAMARO               FORT MYERS               FL
19856   1G1FH3D77K0133409   GM          CAMARO               STERLING                 VA
19857   1G1FH3D77K0133846   GM          CAMARO               MIAMI                    FL
19858   1G1FH3D77K0134222   GM          CAMARO               SANTA ANA                CA
19859   1G1FH3D77K0134933   GM          CAMARO               BOSTON                   MA
19860   1G1FH3D77K0136780   GM          CAMARO               BIRMINGHAM               AL
19861   1G1FH3D77K0136875   GM          CAMARO               ATLANTA                  GA
19862   1G1FH3D77K0136956   GM          CAMARO               BOSTON                   MA
19863   1G1FH3D77K0137010   GM          CAMARO               WHITE PLAINS             NY
19864   1G1FH3D77K0137329   GM          CAMARO               DURHAM                   NC
19865   1G1FH3D77K0137444   GM          CAMARO               Atlanta                  GA
19866   1G1FH3D77K0137914   GM          CAMARO               DETROIT                  MI
19867   1G1FH3D77K0138996   GM          CAMARO               DALLAS                   TX
19868   1G1FH3D77K0139047   GM          CAMARO               KENNESAW                 GA
19869   1G1FH3D77K0139064   GM          CAMARO               DALLAS                   TX
19870   1G1FH3D77K0139114   GM          CAMARO               HARTFORD                 CT
19871   1G1FH3D77K0139470   GM          CAMARO               JACKSONVILLE             FL
19872   1G1FH3D77K0139565   GM          CAMARO               MILWAUKEE                WI
19873   1G1FH3D77K0139713   GM          CAMARO               DALLAS                   TX
19874   1G1FH3D77K0139954   GM          CAMARO               LAS VEGAS                NV
19875   1G1FH3D77K0140389   GM          CAMARO               PHOENIX                  AZ
19876   1G1FH3D77K0141882   GM          CAMARO               CHEEKTOWAGA              NY
19877   1G1FH3D77K0142451   GM          CAMARO               WEST PALM BEACH          FL
19878   1G1FH3D77K0143261   GM          CAMARO               CHARLOTTE                NC
19879   1G1FH3D77K0143275   GM          CAMARO               BALTIMORE                MD
19880   1G1FH3D77K0143342   GM          CAMARO               KENNER                   LA
19881   1G1FH3D77K0143390   GM          CAMARO               RALEIGH                  NC
19882   1G1FH3D77K0143549   GM          CAMARO               SOUTHEAST DST OFFC       OK
19883   1G1FH3D77K0143681   GM          CAMARO               KENNER                   LA
19884   1G1FH3D77K0143969   GM          CAMARO               FORT MYERS               FL
19885   1G1FH3D77K0145592   GM          CAMARO               CHICAGO                  IL
19886   1G1FH3D77K0145737   GM          CAMARO               MILWAUKEE                WI
19887   1G1FH3D77K0148511   GM          CAMARO               DALLAS                   TX
19888   1G1FH3D77K0148959   GM          CAMARO               SARASOTA                 FL
19889   1G1FH3D77K0149366   GM          CAMARO               Atlanta                  GA
19890   1G1FH3D77K0149397   GM          CAMARO               CHARLOTTE                NC
19891   1G1FH3D77K0149576   GM          CAMARO               SAVANNAH                 GA
19892   1G1FH3D77K0150338   GM          CAMARO               ORLANDO                  FL
19893   1G1FH3D77L0116160   GM          CAMARO               WEST PALM BEACH          FL
19894   1G1FH3D77L0116529   GM          CAMARO               FORT LAUDERDALE          FL
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19895   1G1FH3D77L0116689   GM          CAMARO               MIAMI                    FL
19896   1G1FH3D77L0116773   GM          CAMARO               ORLANDO                  FL
19897   1G1FH3D77L0116806   GM          CAMARO               TAMPA                    FL
19898   1G1FH3D77L0117082   GM          CAMARO               Tolleson                 AZ
19899   1G1FH3D77L0117177   GM          CAMARO               FORT LAUDERDALE          FL
19900   1G1FH3D77L0117227   GM          CAMARO               PALM SPRINGS             CA
19901   1G1FH3D77L0117230   GM          CAMARO               TAMPA                    FL
19902   1G1FH3D77L0117308   GM          CAMARO               FT LAUDERDALE            FL
19903   1G1FH3D77L0117437   GM          CAMARO               TAMPA                    FL
19904   1G1FH3D77L0117535   GM          CAMARO               JACKSONVILLE             FL
19905   1G1FH3D77L0117647   GM          CAMARO               MIAMI                    FL
19906   1G1FH3D77L0117857   GM          CAMARO               ORLANDO                  FL
19907   1G1FH3D77L0118054   GM          CAMARO               ORLANDO                  FL
19908   1G1FH3D77L0118555   GM          CAMARO               Miami                    FL
19909   1G1FH3D77L0118751   GM          CAMARO               MIAMI                    FL
19910   1G1FH3D78K0122127   GM          CAMARO               FORT MYERS               FL
19911   1G1FH3D78K0122841   GM          CAMARO               JACKSONVILLE             FL
19912   1G1FH3D78K0123102   GM          CAMARO               FORT LAUDERDALE          FL
19913   1G1FH3D78K0125979   GM          CAMARO               DAYTONA BEACH            FL
19914   1G1FH3D78K0126128   GM          CAMARO               ORLANDO                  FL
19915   1G1FH3D78K0126209   GM          CAMARO               JACKSON                  MS
19916   1G1FH3D78K0126341   GM          CAMARO               Davie                    FL
19917   1G1FH3D78K0126369   GM          CAMARO               JACKSONVILLE             FL
19918   1G1FH3D78K0126422   GM          CAMARO               MIAMI                    FL
19919   1G1FH3D78K0132205   GM          CAMARO               WEST PALM BEACH          FL
19920   1G1FH3D78K0132379   GM          CAMARO               HOUSTON                  TX
19921   1G1FH3D78K0132589   GM          CAMARO               Leesburg                 VA
19922   1G1FH3D78K0132768   GM          CAMARO               FAYETTEVILLE             GA
19923   1G1FH3D78K0132818   GM          CAMARO               SAN DIEGO                US
19924   1G1FH3D78K0133032   GM          CAMARO               ORLANDO                  FL
19925   1G1FH3D78K0133192   GM          CAMARO               BOISE                    US
19926   1G1FH3D78K0133290   GM          CAMARO               DETROIT                  MI
19927   1G1FH3D78K0133628   GM          CAMARO               SARASOTA                 FL
19928   1G1FH3D78K0133838   GM          CAMARO               Rio Linda                CA
19929   1G1FH3D78K0133872   GM          CAMARO               Aurora                   CO
19930   1G1FH3D78K0133984   GM          CAMARO               ATLANTA                  GA
19931   1G1FH3D78K0134407   GM          CAMARO               HARTFORD                 CT
19932   1G1FH3D78K0134889   GM          CAMARO               COLLEGE PARK             GA
19933   1G1FH3D78K0135802   GM          CAMARO               MIAMI                    FL
19934   1G1FH3D78K0136383   GM          CAMARO               FORT LAUDERDALE          FL
19935   1G1FH3D78K0136738   GM          CAMARO               NEWARK                   NJ
19936   1G1FH3D78K0136898   GM          CAMARO               ORLANDO                  FL
19937   1G1FH3D78K0136920   GM          CAMARO               FORT LAUDERDALE          FL
19938   1G1FH3D78K0136996   GM          CAMARO               BUFFALO                  NY
19939   1G1FH3D78K0137386   GM          CAMARO               ORLANDO                  FL
19940   1G1FH3D78K0137436   GM          CAMARO               NEWARK                   NJ
19941   1G1FH3D78K0137517   GM          CAMARO               TAMPA                    US
19942   1G1FH3D78K0138988   GM          CAMARO               LAS VEGAS                NV
19943   1G1FH3D78K0139056   GM          CAMARO               CHAMBLEE                 GA
19944   1G1FH3D78K0139400   GM          CAMARO               STERLING                 VA
19945   1G1FH3D78K0139428   GM          CAMARO               WILMINGTON               NC
19946   1G1FH3D78K0139512   GM          CAMARO               DFW AIRPORT              TX
19947   1G1FH3D78K0139753   GM          CAMARO               MARIETTA                 GA
19948   1G1FH3D78K0139848   GM          CAMARO               MYRTLE BEACH             SC
19949   1G1FH3D78K0139915   GM          CAMARO               DALLAS                   TX
19950   1G1FH3D78K0140112   GM          CAMARO               MILWAUKEE AIRPORT        WI
19951   1G1FH3D78K0140305   GM          CAMARO               JACKSONVILLE             FL
19952   1G1FH3D78K0141289   GM          CAMARO               NEW BERN                 NC
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19953   1G1FH3D78K0143107   GM          CAMARO               DES MOINES               IA
19954   1G1FH3D78K0143284   GM          CAMARO               SPRING                   TX
19955   1G1FH3D78K0143415   GM          CAMARO               DFW AIRPORT              TX
19956   1G1FH3D78K0143477   GM          CAMARO               FORT MYERS               FL
19957   1G1FH3D78K0143639   GM          CAMARO               STERLING                 VA
19958   1G1FH3D78K0143821   GM          CAMARO               SAN ANTONIO              TX
19959   1G1FH3D78K0144287   GM          CAMARO               BIRMINGHAM               AL
19960   1G1FH3D78K0145469   GM          CAMARO               GRAND RAPIDS             MI
19961   1G1FH3D78K0148842   GM          CAMARO               HOUSTON                  TX
19962   1G1FH3D78K0148890   GM          CAMARO               MIAMI                    FL
19963   1G1FH3D78K0149201   GM          CAMARO               NEW BERN                 NC
19964   1G1FH3D78K0149828   GM          CAMARO               AUSTIN                   TX
19965   1G1FH3D78K0150199   GM          CAMARO               TAMPA                    US
19966   1G1FH3D78L0116247   GM          CAMARO               FORT LAUDERDALE          FL
19967   1G1FH3D78L0116331   GM          CAMARO               ORLANDO                  FL
19968   1G1FH3D78L0116541   GM          CAMARO               Miami                    FL
19969   1G1FH3D78L0116734   GM          CAMARO               ORLANDO                  FL
19970   1G1FH3D78L0116989   GM          CAMARO               TAMPA                    US
19971   1G1FH3D78L0118077   GM          CAMARO               MIAMI                    FL
19972   1G1FH3D78L0118757   GM          CAMARO               MIAMI                    FL
19973   1G1FH3D78L0118872   GM          CAMARO               BIRMINGHAM               AL
19974   1G1FH3D78L0118984   GM          CAMARO               ORLANDO                  FL
19975   1G1FH3D78L0119262   GM          CAMARO               FT. LAUDERDALE           FL
19976   1G1FH3D79K0121634   GM          CAMARO               MIAMI                    FL
19977   1G1FH3D79K0122640   GM          CAMARO               DANIA BEACH              FL
19978   1G1FH3D79K0123237   GM          CAMARO               KEY WEST                 FL
19979   1G1FH3D79K0123321   GM          CAMARO               North Las Vegas          NV
19980   1G1FH3D79K0125408   GM          CAMARO               DAYTONA BEACH            FL
19981   1G1FH3D79K0125554   GM          CAMARO               FORT LAUDERDALE          FL
19982   1G1FH3D79K0126073   GM          CAMARO               MIAMI                    FL
19983   1G1FH3D79K0132455   GM          CAMARO               DALLAS                   TX
19984   1G1FH3D79K0133007   GM          CAMARO               TUCSON                   AZ
19985   1G1FH3D79K0133122   GM          CAMARO               PHOENIX                  AZ
19986   1G1FH3D79K0133489   GM          CAMARO               LAWNDALE                 CA
19987   1G1FH3D79K0133752   GM          CAMARO               SAN FRANCISCO            CA
19988   1G1FH3D79K0133864   GM          CAMARO               Fontana                  CA
19989   1G1FH3D79K0134318   GM          CAMARO               Tolleson                 AZ
19990   1G1FH3D79K0134531   GM          CAMARO               PHOENIX                  AZ
19991   1G1FH3D79K0135517   GM          CAMARO               PHILADELPHIA             PA
19992   1G1FH3D79K0135694   GM          CAMARO               RICHMOND                 VA
19993   1G1FH3D79K0135730   GM          CAMARO               MIAMI                    FL
19994   1G1FH3D79K0135923   GM          CAMARO               Detroit                  MI
19995   1G1FH3D79K0135999   GM          CAMARO               FORT MYERS               FL
19996   1G1FH3D79K0136375   GM          CAMARO               BIRMINGHAM               AL
19997   1G1FH3D79K0136411   GM          CAMARO               ORLANDO                  FL
19998   1G1FH3D79K0136585   GM          CAMARO               TAMPA                    FL
19999   1G1FH3D79K0137171   GM          CAMARO               SHREVEPORT               LA
20000   1G1FH3D79K0137249   GM          CAMARO               SYRACUSE                 NY
20001   1G1FH3D79K0140037   GM          CAMARO               CHARLOTTE                NC
20002   1G1FH3D79K0140412   GM          CAMARO               BALLWIN                  MO
20003   1G1FH3D79K0141334   GM          CAMARO               ST LOUIS                 MO
20004   1G1FH3D79K0143102   GM          CAMARO               BALTIMORE                MD
20005   1G1FH3D79K0143312   GM          CAMARO               WARWICK                  RI
20006   1G1FH3D79K0143729   GM          CAMARO               CHICAGO                  IL
20007   1G1FH3D79K0143973   GM          CAMARO               ORLANDO                  FL
20008   1G1FH3D79K0148364   GM          CAMARO               JACKSONVILLE             FL
20009   1G1FH3D79K0148526   GM          CAMARO               PHILADELPHIA             PA
20010   1G1FH3D79K0148638   GM          CAMARO               DALLAS                   TX
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20011   1G1FH3D79K0150065   GM          CAMARO               Pheonix                  AZ
20012   1G1FH3D79K0150101   GM          CAMARO               MOBILE                   A
20013   1G1FH3D79L0116127   GM          CAMARO               Miami                    FL
20014   1G1FH3D79L0116175   GM          CAMARO               Davie                    FL
20015   1G1FH3D79L0116256   GM          CAMARO               ORLANDO                  FL
20016   1G1FH3D79L0116340   GM          CAMARO               WEST PALM BEACH          FL
20017   1G1FH3D79L0116385   GM          CAMARO               TALLAHASSEE              FL
20018   1G1FH3D79L0116743   GM          CAMARO               TAMPA                    FL
20019   1G1FH3D79L0116788   GM          CAMARO               TAMPA                    FL
20020   1G1FH3D79L0116905   GM          CAMARO               FORT LAUDERDALE          FL
20021   1G1FH3D79L0117004   GM          CAMARO               Phoenix                  AZ
20022   1G1FH3D79L0117200   GM          CAMARO               SARASOTA                 FL
20023   1G1FH3D79L0117407   GM          CAMARO               PHOENIX                  AZ
20024   1G1FH3D79L0117732   GM          CAMARO               JACKSONVILLE             FL
20025   1G1FH3D79L0117875   GM          CAMARO               SAVANNAH                 GA
20026   1G1FH3D79L0118475   GM          CAMARO               FORT MYERS               FL
20027   1G1FH3D79L0119058   GM          CAMARO               FORT LAUDERDALE          FL
20028   1G1FH3D7XK0112506   GM          CAMARO               HILO                     HI
20029   1G1FH3D7XK0121402   GM          CAMARO               KNOXVILLE                TN
20030   1G1FH3D7XK0121447   GM          CAMARO               BIRMINGHAM               AL
20031   1G1FH3D7XK0123022   GM          CAMARO               Miami                    FL
20032   1G1FH3D7XK0123277   GM          CAMARO               GRAND RAPIDS             MI
20033   1G1FH3D7XK0123506   GM          CAMARO               ORLANDO                  FL
20034   1G1FH3D7XK0125661   GM          CAMARO               Davie                    FL
20035   1G1FH3D7XK0126860   GM          CAMARO               KNOXVILLE                TN
20036   1G1FH3D7XK0132075   GM          CAMARO               BALTIMORE                MD
20037   1G1FH3D7XK0132710   GM          CAMARO               Greensboro               NC
20038   1G1FH3D7XK0132898   GM          CAMARO               Las Vegas                NV
20039   1G1FH3D7XK0133002   GM          CAMARO               PHOENIX                  AZ
20040   1G1FH3D7XK0133310   GM          CAMARO               RALEIGH                  NC
20041   1G1FH3D7XK0133940   GM          CAMARO               PHOENIX                  AZ
20042   1G1FH3D7XK0134053   GM          CAMARO               PHOENIX                  AZ
20043   1G1FH3D7XK0134134   GM          CAMARO               FRESNO                   CA
20044   1G1FH3D7XK0134568   GM          CAMARO               NEW YORK CITY            NY
20045   1G1FH3D7XK0135722   GM          CAMARO               COLUMBIA                 SC
20046   1G1FH3D7XK0136059   GM          CAMARO               NEWARK                   NJ
20047   1G1FH3D7XK0136367   GM          CAMARO               Houston                  TX
20048   1G1FH3D7XK0136403   GM          CAMARO               FORT MYERS               FL
20049   1G1FH3D7XK0136580   GM          CAMARO               BOSTON                   MA
20050   1G1FH3D7XK0136689   GM          CAMARO               COLUMBIA                 SC
20051   1G1FH3D7XK0137356   GM          CAMARO               FORT LAUDERDALE          FL
20052   1G1FH3D7XK0137440   GM          CAMARO               PHILADELPHIA             PA
20053   1G1FH3D7XK0137681   GM          CAMARO               MIAMI                    FL
20054   1G1FH3D7XK0138765   GM          CAMARO               DALLAS                   TX
20055   1G1FH3D7XK0143027   GM          CAMARO               BIRMINGHAM               AL
20056   1G1FH3D7XK0143657   GM          CAMARO               Birmingham               AL
20057   1G1FH3D7XK0143741   GM          CAMARO               TULSA                    OK
20058   1G1FH3D7XK0143805   GM          CAMARO               CHARLESTON               WV
20059   1G1FH3D7XK0144226   GM          CAMARO               RICHMOND                 VA
20060   1G1FH3D7XK0144775   GM          CAMARO               Medford                  NY
20061   1G1FH3D7XK0145182   GM          CAMARO               WOODSON TERRACE          MO
20062   1G1FH3D7XK0145652   GM          CAMARO               Lake Elsinore            CA
20063   1G1FH3D7XK0148101   GM          CAMARO               KEY WEST                 FL
20064   1G1FH3D7XK0148549   GM          CAMARO               HOUSTON                  TX
20065   1G1FH3D7XK0148860   GM          CAMARO               HOUSTON                  TX
20066   1G1FH3D7XK0149121   GM          CAMARO               FORT LAUDERDALE          FL
20067   1G1FH3D7XK0149894   GM          CAMARO               SAVANNAH                 GA
20068   1G1FH3D7XK0150205   GM          CAMARO               HAWTHORNE                NJ
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20069   1G1FH3D7XK0150477   GM          CAMARO               CHARLOTTE                US
20070   1G1FH3D7XL0116220   GM          CAMARO               FORT MYERS               FL
20071   1G1FH3D7XL0116394   GM          CAMARO               FORT LAUDERDALE          FL
20072   1G1FH3D7XL0116511   GM          CAMARO               TAMPA                    US
20073   1G1FH3D7XL0116718   GM          CAMARO               MIAMI                    FL
20074   1G1FH3D7XL0116749   GM          CAMARO               ORLANDO                  FL
20075   1G1FH3D7XL0116797   GM          CAMARO               Miami                    FL
20076   1G1FH3D7XL0116878   GM          CAMARO               PHOENIX                  AZ
20077   1G1FH3D7XL0117206   GM          CAMARO               ORLANDO                  FL
20078   1G1FH3D7XL0117626   GM          CAMARO               MIAMI                    FL
20079   1G1FH3D7XL0117772   GM          CAMARO               JACKSONVILLE             FL
20080   1G1FH3D7XL0117917   GM          CAMARO               JACKSONVILLE             US
20081   1G1FH3D7XL0118324   GM          CAMARO               ORLANDO                  FL
20082   1G1FH3D7XL0118856   GM          CAMARO               ATLANTA                  GA
20083   1G1FH3D7XL0118940   GM          CAMARO               ORLANDO                  FL
20084   1G1FH3D7XL0118968   GM          CAMARO               Davie                    FL
20085   1G1FK1R61L0108383   GM          CAMARO               WEST PALM BEACH          FL
20086   1G1FK1R63L0108482   GM          CAMARO               Estero                   FL
20087   1G1FK1R67L0107450   GM          CAMARO               Denver                   CO
20088   1G1FK1R6XL0107748   GM          CAMARO               Phoenix                  AZ
20089   1G1JF5SB0J4105445   GM          SONIC                TAMPA                    FL
20090   1G1JF5SB0J4105560   GM          SONIC                Torrance                 CA
20091   1G1JF5SB0J4106658   GM          SONIC                MIDDLE RIVER             MD
20092   1G1JF5SB0J4107731   GM          SONIC                FORT LAUDERDALE          FL
20093   1G1JF5SB0J4108247   GM          SONIC                Norfolk                  VA
20094   1G1JF5SB0J4108345   GM          SONIC                COLLEGE PARK             GA
20095   1G1JF5SB0J4108507   GM          SONIC                Coraopolis               PA
20096   1G1JF5SB0J4125372   GM          SONIC                Sacramento               CA
20097   1G1JF5SB0J4130880   GM          SONIC                Lake Elsinore            CA
20098   1G1JF5SB0J4131544   GM          SONIC                OAKLAND                  CA
20099   1G1JF5SB0J4131608   GM          SONIC                RICHMOND                 VA
20100   1G1JF5SB0J4132239   GM          SONIC                CLEVELAND                OH
20101   1G1JF5SB0J4132743   GM          SONIC                SANTA ANA                CA
20102   1G1JF5SB0J4132905   GM          SONIC                Rockville Centr          NY
20103   1G1JF5SB0J4133908   GM          SONIC                Ventura                  CA
20104   1G1JF5SB0J4134024   GM          SONIC                TAMPA                    FL
20105   1G1JF5SB0J4134542   GM          SONIC                Fontana                  CA
20106   1G1JF5SB0J4135027   GM          SONIC                TUCSON                   AZ
20107   1G1JF5SB0J4135853   GM          SONIC                Manheim                  PA
20108   1G1JF5SB0J4136341   GM          SONIC                WEST PALM BEACH          FL
20109   1G1JF5SB0J4136811   GM          SONIC                Ventura                  CA
20110   1G1JF5SB0J4138042   GM          SONIC                FORT LAUDERDALE          FL
20111   1G1JF5SB0J4138462   GM          SONIC                Austin                   TX
20112   1G1JF5SB0J4138848   GM          SONIC                Nashville                TN
20113   1G1JF5SB0J4138882   GM          SONIC                Florissant               MO
20114   1G1JF5SB0K4121131   GM          SONIC                NORTH PAC                CA
20115   1G1JF5SB0K4121212   GM          SONIC                Smithtown                NY
20116   1G1JF5SB0K4121467   GM          SONIC                Costa Mesa               CA
20117   1G1JF5SB0K4121629   GM          SONIC                ALBUQUERQUE              NM
20118   1G1JF5SB0K4121677   GM          SONIC                PHOENIX                  AZ
20119   1G1JF5SB0K4121887   GM          SONIC                CHICAGO                  IL
20120   1G1JF5SB0K4122912   GM          SONIC                CLARKSVILLE              IN
20121   1G1JF5SB0K4122957   GM          SONIC                Las Vegas                NV
20122   1G1JF5SB0K4123008   GM          SONIC                Caledonia                WI
20123   1G1JF5SB0K4123011   GM          SONIC                Windsor Locks            CT
20124   1G1JF5SB0K4123297   GM          SONIC                Austell                  GA
20125   1G1JF5SB0K4123364   GM          SONIC                Warwick                  RI
20126   1G1JF5SB0K4123400   GM          SONIC                Memphis                  TN
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20127   1G1JF5SB0K4123476   GM           SONIC                AUGUSTA                  GA
20128   1G1JF5SB0K4123705   GM           SONIC                Coraopolis               PA
20129   1G1JF5SB0K4123977   GM           SONIC                INDIANAPOLIS             IN
20130   1G1JF5SB0K4124157   GM           SONIC                Coraopolis               PA
20131   1G1JF5SB0K4124384   GM           SONIC                Nashville                TN
20132   1G1JF5SB0K4124983   GM           SONIC                Indianapolis             IN
20133   1G1JF5SB0K4125146   GM           SONIC                Vandalia                 OH
20134   1G1JF5SB0K4125387   GM           SONIC                Englewood                CO
20135   1G1JF5SB0K4126295   GM           SONIC                BOSTON                   MA
20136   1G1JF5SB0K4126460   GM           SONIC                BUFFALO                  NY
20137   1G1JF5SB0K4127365   GM           SONIC                SAN LEANDRO              CA
20138   1G1JF5SB0K4127415   GM           SONIC                Anaheim                  CA
20139   1G1JF5SB0K4128628   GM           SONIC                Norwalk                  CA
20140   1G1JF5SB0K4128631   GM           SONIC                PORTLAND                 OR
20141   1G1JF5SB0K4129035   GM           SONIC                Hayward                  CA
20142   1G1JF5SB0K4129648   GM           SONIC                Stockton                 CA
20143   1G1JF5SB0L4112155   GM           SONIC                FORT MYERS               FL
20144   1G1JF5SB1J4106135   GM           SONIC                Ventura                  CA
20145   1G1JF5SB1J4106197   GM           SONIC                STERLING                 VA
20146   1G1JF5SB1J4106684   GM           SONIC                WILMINGTON               CA
20147   1G1JF5SB1J4107057   GM           SONIC                FORT MYERS               FL
20148   1G1JF5SB1J4130239   GM           SONIC                FRESNO                   CA
20149   1G1JF5SB1J4132458   GM           SONIC                PHOENIX                  AZ
20150   1G1JF5SB1J4132735   GM           SONIC                Ventura                  CA
20151   1G1JF5SB1J4132833   GM           SONIC                FORT LAUDERDALE          FL
20152   1G1JF5SB1J4133495   GM           SONIC                OAKLAND                  CA
20153   1G1JF5SB1J4133836   GM           SONIC                Hayward                  CA
20154   1G1JF5SB1J4133982   GM           SONIC                SANTA CLARA              CA
20155   1G1JF5SB1J4134453   GM           SONIC                Manheim                  PA
20156   1G1JF5SB1J4135327   GM           SONIC                NEW YORK CITY            NY
20157   1G1JF5SB1J4135795   GM           SONIC                Denver                   CO
20158   1G1JF5SB1J4135957   GM           SONIC                Norfolk                  VA
20159   1G1JF5SB1J4136199   GM           SONIC                SARASOTA                 FL
20160   1G1JF5SB1J4136252   GM           SONIC                Ventura                  CA
20161   1G1JF5SB1J4136476   GM           SONIC                Chicago                  IL
20162   1G1JF5SB1J4136509   GM           SONIC                DENVER                   CO
20163   1G1JF5SB1J4136820   GM           SONIC                MILWAUKEE                WI
20164   1G1JF5SB1J4138017   GM           SONIC                Los Angeles              CA
20165   1G1JF5SB1J4138342   GM           SONIC                FORT MYERS               FL
20166   1G1JF5SB1J4138504   GM           SONIC                FORT MYERS               FL
20167   1G1JF5SB1J4139118   GM           SONIC                Hebron                   KY
20168   1G1JF5SB1J4139135   GM           SONIC                LANCASTER                PA
20169   1G1JF5SB1K4121185   GM           SONIC                Phoenix                  AZ
20170   1G1JF5SB1K4121459   GM           SONIC                Coraopolis               PA
20171   1G1JF5SB1K4121610   GM           SONIC                FORT MYERS               FL
20172   1G1JF5SB1K4121655   GM           SONIC                FORT MYERS               FL
20173   1G1JF5SB1K4121753   GM           SONIC                Caledonia                WI
20174   1G1JF5SB1K4122126   GM           SONIC                Baltimore                MD
20175   1G1JF5SB1K4122367   GM           SONIC                Davie                    FL
20176   1G1JF5SB1K4122448   GM           SONIC                CHICAGO                  IL
20177   1G1JF5SB1K4122465   GM           SONIC                Phoenix                  AZ
20178   1G1JF5SB1K4122837   GM           SONIC                TAMPA                    FL
20179   1G1JF5SB1K4122921   GM           SONIC                Austell                  GA
20180   1G1JF5SB1K4123065   GM           SONIC                DAYTON                   OH
20181   1G1JF5SB1K4123258   GM           SONIC                Hamilton                 OH
20182   1G1JF5SB1K4123339   GM           SONIC                DETROIT                  MI
20183   1G1JF5SB1K4123440   GM           SONIC                Medford                  NY
20184   1G1JF5SB1K4123776   GM           SONIC                Hamilton                 OH
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20185   1G1JF5SB1K4123826   GM           SONIC                CLARKSVILLE              IN
20186   1G1JF5SB1K4123874   GM           SONIC                Baltimore                MD
20187   1G1JF5SB1K4123924   GM           SONIC                PHOENIX                  AZ
20188   1G1JF5SB1K4124149   GM           SONIC                KNOXVILLE                TN
20189   1G1JF5SB1K4124376   GM           SONIC                Chicago                  IL
20190   1G1JF5SB1K4124698   GM           SONIC                Florissant               MO
20191   1G1JF5SB1K4124944   GM           SONIC                Portland                 ME
20192   1G1JF5SB1K4124992   GM           SONIC                NEW YORK DEALER DI       NJ
20193   1G1JF5SB1K4125575   GM           SONIC                CHICAGO                  IL
20194   1G1JF5SB1K4126743   GM           SONIC                Baltimore                MD
20195   1G1JF5SB1K4126919   GM           SONIC                PITTSBURGH               PA
20196   1G1JF5SB1K4127083   GM           SONIC                Torrance                 CA
20197   1G1JF5SB1K4127651   GM           SONIC                Roseville                CA
20198   1G1JF5SB1K4128041   GM           SONIC                Portland                 OR
20199   1G1JF5SB1K4129481   GM           SONIC                LAS VEGAS                NV
20200   1G1JF5SB1K4129917   GM           SONIC                SACRAMENTO               CA
20201   1G1JF5SB1L4111760   GM           SONIC                FORT MYERS               FL
20202   1G1JF5SB2J4104765   GM           SONIC                SACRAMENTO               CA
20203   1G1JF5SB2J4107455   GM           SONIC                Warminster               PA
20204   1G1JF5SB2J4108265   GM           SONIC                Manheim                  PA
20205   1G1JF5SB2J4108461   GM           SONIC                Johnston                 RI
20206   1G1JF5SB2J4119847   GM           SONIC                Warminster               PA
20207   1G1JF5SB2J4131819   GM           SONIC                Palm Springs             CA
20208   1G1JF5SB2J4132890   GM           SONIC                BOSTON                   MA
20209   1G1JF5SB2J4132985   GM           SONIC                FORT MYERS               FL
20210   1G1JF5SB2J4133294   GM           SONIC                Mira Loma                CA
20211   1G1JF5SB2J4133425   GM           SONIC                ORLANDO                  FL
20212   1G1JF5SB2J4133764   GM           SONIC                EGG HARBOR TOWN          NJ
20213   1G1JF5SB2J4133974   GM           SONIC                BIRMINGHAN               AL
20214   1G1JF5SB2J4134123   GM           SONIC                Colorado Spring          CO
20215   1G1JF5SB2J4134140   GM           SONIC                ORLANDO                  FL
20216   1G1JF5SB2J4134428   GM           SONIC                Atlanta                  GA
20217   1G1JF5SB2J4134767   GM           SONIC                SACRAMENTO               CA
20218   1G1JF5SB2J4135109   GM           SONIC                AUGUSTA                  GA
20219   1G1JF5SB2J4135255   GM           SONIC                MONTGOMERY               AL
20220   1G1JF5SB2J4135983   GM           SONIC                BIRMINGHAM               AL
20221   1G1JF5SB2J4135997   GM           SONIC                ORANGE COUNTY            CA
20222   1G1JF5SB2J4136227   GM           SONIC                UNION CITY               GA
20223   1G1JF5SB2J4138172   GM           SONIC                SAN JOSE                 CA
20224   1G1JF5SB2J4139824   GM           SONIC                PALM SPRINGS             CA
20225   1G1JF5SB2J4140164   GM           SONIC                SACRAMENTO               CA
20226   1G1JF5SB2J4140598   GM           SONIC                LOS ANGELES              CA
20227   1G1JF5SB2K4121275   GM           SONIC                Stone Mountain           GA
20228   1G1JF5SB2K4121728   GM           SONIC                LAS VEGAS                NV
20229   1G1JF5SB2K4121843   GM           SONIC                Orlando                  FL
20230   1G1JF5SB2K4122118   GM           SONIC                FORT MYERS               FL
20231   1G1JF5SB2K4122135   GM           SONIC                West Columbia            SC
20232   1G1JF5SB2K4122703   GM           SONIC                HANOVER                  MD
20233   1G1JF5SB2K4123348   GM           SONIC                Hayward                  CA
20234   1G1JF5SB2K4123690   GM           SONIC                Houston                  TX
20235   1G1JF5SB2K4123771   GM           SONIC                MEMPHIS                  TN
20236   1G1JF5SB2K4124127   GM           SONIC                Alexandria               VA
20237   1G1JF5SB2K4124211   GM           SONIC                Richmond                 VA
20238   1G1JF5SB2K4124788   GM           SONIC                BRONX                    NY
20239   1G1JF5SB2K4125228   GM           SONIC                WHITE PLAINS             NY
20240   1G1JF5SB2K4125424   GM           SONIC                Rockville Centr          NY
20241   1G1JF5SB2K4125522   GM           SONIC                COLUMBIA                 SC
20242   1G1JF5SB2K4125570   GM           SONIC                HILLSBOROUGH             NJ
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20243   1G1JF5SB2K4125844   GM           SONIC                MEDINA                   OH
20244   1G1JF5SB2K4126444   GM           SONIC                CLARKSVILLE              IN
20245   1G1JF5SB2K4127321   GM           SONIC                San Diego                CA
20246   1G1JF5SB2K4127545   GM           SONIC                Annapolis                MD
20247   1G1JF5SB2K4127688   GM           SONIC                Las Vegas                NV
20248   1G1JF5SB2K4128422   GM           SONIC                MELROSE PARK             IL
20249   1G1JF5SB2K4132941   GM           SONIC                PLEASANTON               CA
20250   1G1JF5SB3J4104094   GM           SONIC                Tolleson                 AZ
20251   1G1JF5SB3J4104418   GM           SONIC                S. San Francisc          CA
20252   1G1JF5SB3J4105522   GM           SONIC                Ft. Myers                FL
20253   1G1JF5SB3J4107982   GM           SONIC
20254   1G1JF5SB3J4108405   GM           SONIC                Irving                   TX
20255   1G1JF5SB3J4130646   GM           SONIC                SAN FRANCISCO            CA
20256   1G1JF5SB3J4131747   GM           SONIC                SAN DIEGO                CA
20257   1G1JF5SB3J4131781   GM           SONIC                Ventura                  CA
20258   1G1JF5SB3J4131795   GM           SONIC                North Dighton            MA
20259   1G1JF5SB3J4132140   GM           SONIC                Hanover                  MD
20260   1G1JF5SB3J4132798   GM           SONIC                Teterboro                NJ
20261   1G1JF5SB3J4133322   GM           SONIC                Rockville Centr          NY
20262   1G1JF5SB3J4133451   GM           SONIC                Savannah                 GA
20263   1G1JF5SB3J4133563   GM           SONIC                TAMPA                    FL
20264   1G1JF5SB3J4133840   GM           SONIC                Torrance                 CA
20265   1G1JF5SB3J4134258   GM           SONIC                SYRACUSE                 NY
20266   1G1JF5SB3J4134535   GM           SONIC                Elkridge                 MD
20267   1G1JF5SB3J4134843   GM           SONIC                Cleveland                OH
20268   1G1JF5SB3J4135183   GM           SONIC                INGLEWOOD                CA
20269   1G1JF5SB3J4135801   GM           SONIC                Riverside                CA
20270   1G1JF5SB3J4135863   GM           SONIC                Plainfield               IN
20271   1G1JF5SB3J4135992   GM           SONIC                Anaheim                  CA
20272   1G1JF5SB3J4136222   GM           SONIC                Dallas                   TX
20273   1G1JF5SB3J4137421   GM           SONIC                MEDINA                   OH
20274   1G1JF5SB3J4138097   GM           SONIC                WEST PALM BEACH          FL
20275   1G1JF5SB3J4138276   GM           SONIC                Slidell                  LA
20276   1G1JF5SB3J4138486   GM           SONIC                Cincinnati               OH
20277   1G1JF5SB3J4138536   GM           SONIC                SANTA CLARA              CA
20278   1G1JF5SB3J4140092   GM           SONIC                LITHIA SPRINGS           GA
20279   1G1JF5SB3J4140190   GM           SONIC                Indianapolis             IN
20280   1G1JF5SB3K4121267   GM           SONIC                Phoenix                  AZ
20281   1G1JF5SB3K4121348   GM           SONIC                Indianapolis             IN
20282   1G1JF5SB3K4121351   GM           SONIC                Sanford                  FL
20283   1G1JF5SB3K4121379   GM           SONIC                Hamilton                 OH
20284   1G1JF5SB3K4121818   GM           SONIC                DALLAS                   TX
20285   1G1JF5SB3K4121835   GM           SONIC                Houston                  TX
20286   1G1JF5SB3K4122189   GM           SONIC                Milwaukee                WI
20287   1G1JF5SB3K4122399   GM           SONIC                Nashville                TN
20288   1G1JF5SB3K4123178   GM           SONIC                TAMPA                    FL
20289   1G1JF5SB3K4123987   GM           SONIC                FORT MYERS               FL
20290   1G1JF5SB3K4124069   GM           SONIC                Hebron                   KY
20291   1G1JF5SB3K4124282   GM           SONIC                Schaumburg               IL
20292   1G1JF5SB3K4124427   GM           SONIC                Hamilton                 OH
20293   1G1JF5SB3K4124637   GM           SONIC                Nashville                TN
20294   1G1JF5SB3K4126078   GM           SONIC                NEWARK                   NJ
20295   1G1JF5SB3K4126274   GM           SONIC                Hapeville                GA
20296   1G1JF5SB3K4127926   GM           SONIC                PLEASANTON               CA
20297   1G1JF5SB3K4127974   GM           SONIC                Riverside                CA
20298   1G1JF5SB3K4128526   GM           SONIC                SACRAMENTO               CA
20299   1G1JF5SB3K4128932   GM           SONIC                ONTARIO                  CA
20300   1G1JF5SB3K4129143   GM           SONIC                PLEASANTON               CA
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20301   1G1JF5SB4J4105352   GM           SONIC                Downey                   CA
20302   1G1JF5SB4J4105805   GM           SONIC                Tucson                   AZ
20303   1G1JF5SB4J4107411   GM           SONIC                FORT MYERS               FL
20304   1G1JF5SB4J4108039   GM           SONIC                Ft. Myers                FL
20305   1G1JF5SB4J4130784   GM           SONIC                Sacramento               CA
20306   1G1JF5SB4J4130848   GM           SONIC                OAKLAND                  CA
20307   1G1JF5SB4J4131739   GM           SONIC                NEW YORK CITY            NY
20308   1G1JF5SB4J4133023   GM           SONIC                WARWICK                  RI
20309   1G1JF5SB4J4133362   GM           SONIC                WEST COLUMBIA            SC
20310   1G1JF5SB4J4133703   GM           SONIC                Portland                 ME
20311   1G1JF5SB4J4134057   GM           SONIC                BOSTON                   MA
20312   1G1JF5SB4J4134298   GM           SONIC                Richmond                 VA
20313   1G1JF5SB4J4134463   GM           SONIC                STOCKTON                 CA
20314   1G1JF5SB4J4135872   GM           SONIC                ORLANDO                  FL
20315   1G1JF5SB4J4136018   GM           SONIC                SAN JOSE                 CA
20316   1G1JF5SB4J4136357   GM           SONIC                ORLANDO                  FL
20317   1G1JF5SB4J4136360   GM           SONIC                ORLANDO                  FL
20318   1G1JF5SB4J4136813   GM           SONIC                Killeen                  TX
20319   1G1JF5SB4J4138206   GM           SONIC                PHOENIX                  AZ
20320   1G1JF5SB4J4138366   GM           SONIC                ORLANDO                  FL
20321   1G1JF5SB4J4138853   GM           SONIC                NEWARK                   NJ
20322   1G1JF5SB4J4139355   GM           SONIC                FORT LAUDERDALE          FL
20323   1G1JF5SB4J4140232   GM           SONIC                LOS ANGELES              CA
20324   1G1JF5SB4K4121942   GM           SONIC                Chicago                  IL
20325   1G1JF5SB4K4122847   GM           SONIC                PHOENIX                  AZ
20326   1G1JF5SB4K4122945   GM           SONIC                Rockville Centr          NY
20327   1G1JF5SB4K4123027   GM           SONIC                KNOXVILLE                TN
20328   1G1JF5SB4K4123240   GM           SONIC                Rockville Centr          NY
20329   1G1JF5SB4K4123951   GM           SONIC                SEATAC                   WA
20330   1G1JF5SB4K4123979   GM           SONIC                Tampa                    FL
20331   1G1JF5SB4K4124159   GM           SONIC                PLEASANTON               CA
20332   1G1JF5SB4K4124288   GM           SONIC                Hanover                  MD
20333   1G1JF5SB4K4124386   GM           SONIC                Alcoa                    TN
20334   1G1JF5SB4K4125117   GM           SONIC                Chicago                  IL
20335   1G1JF5SB4K4126073   GM           SONIC                MEDINA                   OH
20336   1G1JF5SB4K4127191   GM           SONIC                Lake Elsinore            CA
20337   1G1JF5SB4K4127465   GM           SONIC                Pasadena                 CA
20338   1G1JF5SB4K4127787   GM           SONIC                SACRAMENTO               CA
20339   1G1JF5SB4K4129426   GM           SONIC                San Diego                CA
20340   1G1JF5SB4K4129877   GM           SONIC                Riverside                CA
20341   1G1JF5SB5J4107210   GM           SONIC                ORLANDO                  FL
20342   1G1JF5SB5J4108440   GM           SONIC                Coraopolis               PA
20343   1G1JF5SB5J4130132   GM           SONIC                LOS ANGELES              CA
20344   1G1JF5SB5J4131166   GM           SONIC                ORANGE COUNTY            CA
20345   1G1JF5SB5J4131393   GM           SONIC                Sacramento               CA
20346   1G1JF5SB5J4131409   GM           SONIC                SACRAMENTO               CA
20347   1G1JF5SB5J4131877   GM           SONIC                SANTA ANA                CA
20348   1G1JF5SB5J4132236   GM           SONIC                SANTA BARBARA            CA
20349   1G1JF5SB5J4133824   GM           SONIC                Richmond                 VA
20350   1G1JF5SB5J4134231   GM           SONIC                Rock Hill                SC
20351   1G1JF5SB5J4134360   GM           SONIC                RICHMOND                 VA
20352   1G1JF5SB5J4134777   GM           SONIC                Marietta                 GA
20353   1G1JF5SB5J4135055   GM           SONIC                ONTARIO                  CA
20354   1G1JF5SB5J4135654   GM           SONIC                TAMPA                    FL
20355   1G1JF5SB5J4135881   GM           SONIC                West Mifflin             PA
20356   1G1JF5SB5J4136397   GM           SONIC                DAYTONA BEACH            FL
20357   1G1JF5SB5J4136710   GM           SONIC                WHITE PLAINS             NY
20358   1G1JF5SB5J4136755   GM           SONIC                ORLANDO                  FL
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20359   1G1JF5SB5J4138179   GM           SONIC                COLUMBIA                 SC
20360   1G1JF5SB5J4138375   GM           SONIC                FORT LAUDERDALE          FL
20361   1G1JF5SB5J4138411   GM           SONIC                Ft. Myers                FL
20362   1G1JF5SB5J4138456   GM           SONIC                Rock Hill                SC
20363   1G1JF5SB5J4138912   GM           SONIC                CHICAGO                  IL
20364   1G1JF5SB5J4138957   GM           SONIC                ORLANDO                  FL
20365   1G1JF5SB5J4138974   GM           SONIC                NEW BERN                 NC
20366   1G1JF5SB5J4139039   GM           SONIC                Atlanta                  GA
20367   1G1JF5SB5J4139221   GM           SONIC                JACKSONVILLE             FL
20368   1G1JF5SB5K4121092   GM           SONIC                Hamilton                 OH
20369   1G1JF5SB5K4121657   GM           SONIC                COSTA MESA               CA
20370   1G1JF5SB5K4121738   GM           SONIC                Florissant               MO
20371   1G1JF5SB5K4121917   GM           SONIC                Indianapolis             IN
20372   1G1JF5SB5K4122422   GM           SONIC                Richmond                 VA
20373   1G1JF5SB5K4122453   GM           SONIC                Austin                   TX
20374   1G1JF5SB5K4122971   GM           SONIC                Tampa                    FL
20375   1G1JF5SB5K4123053   GM           SONIC                Pompano Beach            FL
20376   1G1JF5SB5K4123294   GM           SONIC                Alcoa                    TN
20377   1G1JF5SB5K4123831   GM           SONIC                GREENWOOD                NE
20378   1G1JF5SB5K4124378   GM           SONIC                Midland                  TX
20379   1G1JF5SB5K4124493   GM           SONIC                Hamilton                 OH
20380   1G1JF5SB5K4125272   GM           SONIC                FORT MYERS               FL
20381   1G1JF5SB5K4126390   GM           SONIC                Florissant               MO
20382   1G1JF5SB5K4126454   GM           SONIC                North Dighton            MA
20383   1G1JF5SB5K4126776   GM           SONIC                SPRINGFIELD              VA
20384   1G1JF5SB5K4127121   GM           SONIC                Warminster               PA
20385   1G1JF5SB5K4128334   GM           SONIC                Stockton                 CA
20386   1G1JF5SB5K4128995   GM           SONIC                Roseville                CA
20387   1G1JF5SB5K4129323   GM           SONIC                SAN FRANCISCO            CA
20388   1G1JF5SB5K4129421   GM           SONIC                SAN DIEGO                US
20389   1G1JF5SB5K4129788   GM           SONIC                Stockton                 CA
20390   1G1JF5SB5K4129905   GM           SONIC                SACRAMENTO               CA
20391   1G1JF5SB5L4112538   GM           SONIC                Des Moines               IA
20392   1G1JF5SB6J4105921   GM           SONIC                LA HABRA                 CA
20393   1G1JF5SB6J4106289   GM           SONIC                MIAMI                    FL
20394   1G1JF5SB6J4106373   GM           SONIC                PLEASANTON               CA
20395   1G1JF5SB6J4106874   GM           SONIC                MIAMI INT'L AP           FL
20396   1G1JF5SB6J4107247   GM           SONIC                WEST PALM BEACH          FL
20397   1G1JF5SB6J4130009   GM           SONIC                Fresno                   CA
20398   1G1JF5SB6J4131662   GM           SONIC                SEATTLE                  WA
20399   1G1JF5SB6J4131855   GM           SONIC                EL SEGUNDO               CA
20400   1G1JF5SB6J4132018   GM           SONIC                TUCSON                   AZ
20401   1G1JF5SB6J4132276   GM           SONIC                ORANGE COUNTY            CA
20402   1G1JF5SB6J4132505   GM           SONIC                Baltimore                MD
20403   1G1JF5SB6J4133282   GM           SONIC                NASHVILLE                TN
20404   1G1JF5SB6J4133816   GM           SONIC                KNOXVILLE                TN
20405   1G1JF5SB6J4133976   GM           SONIC                Atlanta                  GA
20406   1G1JF5SB6J4134268   GM           SONIC                SANTA ANA                CA
20407   1G1JF5SB6J4135551   GM           SONIC                FORT MYERS               FL
20408   1G1JF5SB6J4135789   GM           SONIC                COLLEGE PARK             GA
20409   1G1JF5SB6J4135842   GM           SONIC                MIAMI                    FL
20410   1G1JF5SB6J4136201   GM           SONIC                MONTCLAIR                CA
20411   1G1JF5SB6J4136764   GM           SONIC                Norwalk                  CA
20412   1G1JF5SB6J4137350   GM           SONIC                JACKSONVILLE             FL
20413   1G1JF5SB6J4138269   GM           SONIC                TAMPA                    FL
20414   1G1JF5SB6J4138336   GM           SONIC                Warminster               PA
20415   1G1JF5SB6J4139003   GM           SONIC                CLEVELAND                OH
20416   1G1JF5SB6J4139048   GM           SONIC                KENNER                   LA
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20417   1G1JF5SB6J4139146   GM           SONIC                PHILADELPHIA             PA
20418   1G1JF5SB6J4140281   GM           SONIC                Bridgeton                MO
20419   1G1JF5SB6K4121263   GM           SONIC                ORLANDO                  FL
20420   1G1JF5SB6K4121893   GM           SONIC                PHOENIX                  AZ
20421   1G1JF5SB6K4122011   GM           SONIC                Manville                 NJ
20422   1G1JF5SB6K4122302   GM           SONIC                Austin                   TX
20423   1G1JF5SB6K4122588   GM           SONIC                Indianapolis             IN
20424   1G1JF5SB6K4122865   GM           SONIC                MORROW                   GA
20425   1G1JF5SB6K4123093   GM           SONIC                Marietta                 GA
20426   1G1JF5SB6K4123210   GM           SONIC                Columbus                 OH
20427   1G1JF5SB6K4123420   GM           SONIC                DALLAS                   TX
20428   1G1JF5SB6K4123921   GM           SONIC                Wichita                  KS
20429   1G1JF5SB6K4124129   GM           SONIC                Elkridge                 MD
20430   1G1JF5SB6K4125295   GM           SONIC                JAMAICA                  NY
20431   1G1JF5SB6K4125636   GM           SONIC                Bridgeton                MO
20432   1G1JF5SB6K4126088   GM           SONIC                PHOENIX                  AZ
20433   1G1JF5SB6K4127337   GM           SONIC                San Diego                CA
20434   1G1JF5SB6K4127435   GM           SONIC                Costa Mesa               CA
20435   1G1JF5SB6K4129007   GM           SONIC                San Diego                CA
20436   1G1JF5SB6K4129119   GM           SONIC                SEATAC                   WA
20437   1G1JF5SB6K4129251   GM           SONIC                BURBANK                  CA
20438   1G1JF5SB6K4129833   GM           SONIC                Phoenix                  AZ
20439   1G1JF5SB6K4130013   GM           SONIC                SAN LEANDRO              CA
20440   1G1JF5SB6K4132621   GM           SONIC                SACRAMENTO               CA
20441   1G1JF5SB7J4104695   GM           SONIC                Jacksonville             FL
20442   1G1JF5SB7J4105894   GM           SONIC                Los Angeles              CA
20443   1G1JF5SB7J4131654   GM           SONIC                TRACY                    CA
20444   1G1JF5SB7J4132321   GM           SONIC                MANCHESTER               US
20445   1G1JF5SB7J4132495   GM           SONIC                Hanover                  MD
20446   1G1JF5SB7J4133243   GM           SONIC                Rockville Centr          NY
20447   1G1JF5SB7J4133663   GM           SONIC                PHOENIX                  AZ
20448   1G1JF5SB7J4134487   GM           SONIC                Las Vegas                NV
20449   1G1JF5SB7J4134831   GM           SONIC                SAINT PAUL               MN
20450   1G1JF5SB7J4135039   GM           SONIC                NEWARK                   NJ
20451   1G1JF5SB7J4135378   GM           SONIC                Smithtown                NY
20452   1G1JF5SB7J4136062   GM           SONIC                PORTLAND                 OR
20453   1G1JF5SB7J4136157   GM           SONIC                Maple Grove              MN
20454   1G1JF5SB7J4136434   GM           SONIC                FRESNO                   CA
20455   1G1JF5SB7J4136532   GM           SONIC                SAN JOSE                 CA
20456   1G1JF5SB7J4136885   GM           SONIC                NEW ORLEANS              LA
20457   1G1JF5SB7J4138023   GM           SONIC                JACKSONVILLE             FL
20458   1G1JF5SB7J4138426   GM           SONIC                LAS VEGAS                NV
20459   1G1JF5SB7J4139012   GM           SONIC                PHOENIX                  AZ
20460   1G1JF5SB7J4140080   GM           SONIC                ALEXANDRIA               VA
20461   1G1JF5SB7K4121241   GM           SONIC                SHAKOPEE                 MN
20462   1G1JF5SB7K4121515   GM           SONIC                FRESNO                   CA
20463   1G1JF5SB7K4121854   GM           SONIC                CLARKSVILLE              IN
20464   1G1JF5SB7K4121983   GM           SONIC                EIGHT MILE               AL
20465   1G1JF5SB7K4122664   GM           SONIC                Columbus                 OH
20466   1G1JF5SB7K4122714   GM           SONIC                SAN LEANDRO              CA
20467   1G1JF5SB7K4123250   GM           SONIC                Florissant               MO
20468   1G1JF5SB7K4123443   GM           SONIC                Leesburg                 VA
20469   1G1JF5SB7K4123488   GM           SONIC                Hendersonville           TN
20470   1G1JF5SB7K4123586   GM           SONIC                RAYNHAM                  MA
20471   1G1JF5SB7K4123796   GM           SONIC                DETROIT                  MI
20472   1G1JF5SB7K4124141   GM           SONIC                Newark                   NJ
20473   1G1JF5SB7K4124270   GM           SONIC                KNOXVILLE                TN
20474   1G1JF5SB7K4124334   GM           SONIC                Baltimore                MD
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20475   1G1JF5SB7K4124656   GM           SONIC                WARWICK                  RI
20476   1G1JF5SB7K4124740   GM           SONIC                Darlington               SC
20477   1G1JF5SB7K4124754   GM           SONIC                DETROIT                  MI
20478   1G1JF5SB7K4124804   GM           SONIC                Jamaica                  NY
20479   1G1JF5SB7K4125306   GM           SONIC                Hamilton                 OH
20480   1G1JF5SB7K4125323   GM           SONIC                Manheim                  PA
20481   1G1JF5SB7K4125449   GM           SONIC                Denver                   CO
20482   1G1JF5SB7K4126343   GM           SONIC                EIGHT MILE               AL
20483   1G1JF5SB7K4127329   GM           SONIC                SACRAMENTO               CA
20484   1G1JF5SB7K4127640   GM           SONIC                Marietta                 GA
20485   1G1JF5SB7K4127900   GM           SONIC                Lake Elsinore            CA
20486   1G1JF5SB8J4104060   GM           SONIC                LAS VEGAS                NV
20487   1G1JF5SB8J4105547   GM           SONIC                PLEASANTON               CA
20488   1G1JF5SB8J4106388   GM           SONIC                Phoenix                  AZ
20489   1G1JF5SB8J4108013   GM           SONIC                ORLANDO                  FL
20490   1G1JF5SB8J4130612   GM           SONIC                SAN JOSE                 CA
20491   1G1JF5SB8J4131906   GM           SONIC                Stockton                 CA
20492   1G1JF5SB8J4132778   GM           SONIC                Ventura                  CA
20493   1G1JF5SB8J4132795   GM           SONIC                WOODLAND HILLS           CA
20494   1G1JF5SB8J4133624   GM           SONIC                Miami                    FL
20495   1G1JF5SB8J4134482   GM           SONIC                Tucson                   AZ
20496   1G1JF5SB8J4134644   GM           SONIC                Jacksonville             FL
20497   1G1JF5SB8J4135888   GM           SONIC                TUCSON                   AZ
20498   1G1JF5SB8J4135969   GM           SONIC                Latham                   NY
20499   1G1JF5SB8J4136006   GM           SONIC                RICHMOND                 VA
20500   1G1JF5SB8J4136488   GM           SONIC                NORFOLK                  VA
20501   1G1JF5SB8J4136622   GM           SONIC                MEDINA                   OH
20502   1G1JF5SB8J4136748   GM           SONIC                NASHVILLE                TN
20503   1G1JF5SB8J4138239   GM           SONIC                Rockville Centr          NY
20504   1G1JF5SB8J4138516   GM           SONIC                Teterboro                NJ
20505   1G1JF5SB8J4138869   GM           SONIC                Warwick                  RI
20506   1G1JF5SB8J4139892   GM           SONIC                WARWICK                  RI
20507   1G1JF5SB8J4140427   GM           SONIC                Caledonia                WI
20508   1G1JF5SB8K4121443   GM           SONIC                Roseville                CA
20509   1G1JF5SB8K4121667   GM           SONIC                FT LAUDERDALE            FL
20510   1G1JF5SB8K4121751   GM           SONIC                GREENWOOD                IN
20511   1G1JF5SB8K4121765   GM           SONIC                Jacksonville             FL
20512   1G1JF5SB8K4121829   GM           SONIC                MORROW                   GA
20513   1G1JF5SB8K4122091   GM           SONIC                BURNSVILLE               MN
20514   1G1JF5SB8K4122351   GM           SONIC                San Diego                CA
20515   1G1JF5SB8K4122446   GM           SONIC                Jacksonville             FL
20516   1G1JF5SB8K4122950   GM           SONIC                Florissant               MO
20517   1G1JF5SB8K4123029   GM           SONIC                Florissant               MO
20518   1G1JF5SB8K4123225   GM           SONIC                Hendersonville           TN
20519   1G1JF5SB8K4123242   GM           SONIC                Jacksonville             FL
20520   1G1JF5SB8K4123452   GM           SONIC                MEDINA                   OH
20521   1G1JF5SB8K4123516   GM           SONIC                Hendersonville           TN
20522   1G1JF5SB8K4123662   GM           SONIC                MERRIVILLE               IN
20523   1G1JF5SB8K4123726   GM           SONIC                Alcoa                    TN
20524   1G1JF5SB8K4124391   GM           SONIC                Chicago                  IL
20525   1G1JF5SB8K4124522   GM           SONIC                PHILADELPHIA             PA
20526   1G1JF5SB8K4124861   GM           SONIC                JOHNSTOWN                PA
20527   1G1JF5SB8K4125069   GM           SONIC                Fontana                  CA
20528   1G1JF5SB8K4125184   GM           SONIC                Hamilton                 OH
20529   1G1JF5SB8K4125203   GM           SONIC                MEDINA                   OH
20530   1G1JF5SB8K4125511   GM           SONIC                Jamaica                  NY
20531   1G1JF5SB8K4125931   GM           SONIC                BUTLER                   NJ
20532   1G1JF5SB8K4127047   GM           SONIC                DES MOINES               IA
        VIN
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20533   1G1JF5SB8K4127761   GM           SONIC                Roseville                CA
20534   1G1JF5SB8K4128148   GM           SONIC                BURBANK                  CA
20535   1G1JF5SB8K4128800   GM           SONIC                Hendersonville           TN
20536   1G1JF5SB8K4129283   GM           SONIC                Rock Hill                SC
20537   1G1JF5SB8K4129347   GM           SONIC                Lake Elsinore            CA
20538   1G1JF5SB8K4129753   GM           SONIC                San Diego                CA
20539   1G1JF5SB8K4129901   GM           SONIC                SAN LEANDRO              CA
20540   1G1JF5SB9J4107257   GM           SONIC                Johnston                 RI
20541   1G1JF5SB9J4107596   GM           SONIC                Cleveland                OH
20542   1G1JF5SB9J4107873   GM           SONIC                Miami                    FL
20543   1G1JF5SB9J4108490   GM           SONIC                WEST PALM BEACH          FL
20544   1G1JF5SB9J4131851   GM           SONIC                SACRAMENTO               CA
20545   1G1JF5SB9J4131896   GM           SONIC                RONKONKOMA               NY
20546   1G1JF5SB9J4132367   GM           SONIC                LOS ANGELES              CA
20547   1G1JF5SB9J4133163   GM           SONIC                BURBANK                  CA
20548   1G1JF5SB9J4133647   GM           SONIC                Warminster               PA
20549   1G1JF5SB9J4133812   GM           SONIC                Indianapolis             IN
20550   1G1JF5SB9J4135267   GM           SONIC                FORT LAUDERDALE          FL
20551   1G1JF5SB9J4135866   GM           SONIC                KANSAS CITY              MO
20552   1G1JF5SB9J4135950   GM           SONIC                Davie                    FL
20553   1G1JF5SB9J4136208   GM           SONIC                Indianapolis             IN
20554   1G1JF5SB9J4136273   GM           SONIC                SANFORD                  FL
20555   1G1JF5SB9J4136404   GM           SONIC                TAMPA                    FL
20556   1G1JF5SB9J4137634   GM           SONIC                Louisville               KY
20557   1G1JF5SB9J4138069   GM           SONIC                CHICAGO                  IL
20558   1G1JF5SB9J4138315   GM           SONIC                Atlanta                  GA
20559   1G1JF5SB9J4138444   GM           SONIC                MIAMI                    FL
20560   1G1JF5SB9J4138511   GM           SONIC                FAYETTEVILLE             US
20561   1G1JF5SB9J4138850   GM           SONIC                WEST PALM BEACH          FL
20562   1G1JF5SB9J4138914   GM           SONIC                OAKLAND                  CA
20563   1G1JF5SB9J4138928   GM           SONIC                Stone Mountain           GA
20564   1G1JF5SB9J4139061   GM           SONIC                Beaverton                OR
20565   1G1JF5SB9K4121127   GM           SONIC                Santa Clara              CA
20566   1G1JF5SB9K4121385   GM           SONIC                Denver                   CO
20567   1G1JF5SB9K4121483   GM           SONIC                Lake Elsinore            CA
20568   1G1JF5SB9K4121497   GM           SONIC                SANTA ANA                CA
20569   1G1JF5SB9K4121693   GM           SONIC                Slidell                  LA
20570   1G1JF5SB9K4121712   GM           SONIC                Newark                   NJ
20571   1G1JF5SB9K4121824   GM           SONIC                Florissant               MO
20572   1G1JF5SB9K4122181   GM           SONIC                Houston                  TX
20573   1G1JF5SB9K4122245   GM           SONIC                Winston‐Salem            NC
20574   1G1JF5SB9K4122584   GM           SONIC                COLUMBIA                 SC
20575   1G1JF5SB9K4123055   GM           SONIC                HILLSBOROUGH             NJ
20576   1G1JF5SB9K4123122   GM           SONIC                SAINT PAUL               MN
20577   1G1JF5SB9K4123394   GM           SONIC                Hebron                   KY
20578   1G1JF5SB9K4123461   GM           SONIC                Jamaica                  NY
20579   1G1JF5SB9K4123685   GM           SONIC                Cincinnati               OH
20580   1G1JF5SB9K4124044   GM           SONIC                Columbus                 OH
20581   1G1JF5SB9K4124366   GM           SONIC                Pittsburgh               PA
20582   1G1JF5SB9K4124660   GM           SONIC                Detroit                  MI
20583   1G1JF5SB9K4124786   GM           SONIC                Baltimore                MD
20584   1G1JF5SB9K4125405   GM           SONIC                Hendersonville           TN
20585   1G1JF5SB9K4126019   GM           SONIC                ST Paul                  MN
20586   1G1JF5SB9K4126179   GM           SONIC                Avoca                    PA
20587   1G1JF5SB9K4126280   GM           SONIC                EAST BOSTON              MA
20588   1G1JF5SB9K4126313   GM           SONIC                Pittsburgh               PA
20589   1G1JF5SB9K4126800   GM           SONIC                MELROSE PARK             IL
20590   1G1JF5SB9K4126859   GM           SONIC                Windsor Locks            CT
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20591   1G1JF5SB9K4126862   GM           SONIC                Pittsburgh               PA
20592   1G1JF5SB9K4127221   GM           SONIC                San Diego                CA
20593   1G1JF5SB9K4128594   GM           SONIC                SAN LEANDRO              CA
20594   1G1JF5SB9K4129373   GM           SONIC                SAN DIEGO                CA
20595   1G1JF5SB9K4129521   GM           SONIC                Tucson                   AZ
20596   1G1JF5SB9K4129809   GM           SONIC                COSTA MESA               CA
20597   1G1JF5SB9K4129969   GM           SONIC                Lake Elsinore            CA
20598   1G1JF5SB9K4130121   GM           SONIC                Ventura                  CA
20599   1G1JF5SBXJ4107123   GM           SONIC                SANFORD                  FL
20600   1G1JF5SBXJ4107428   GM           SONIC                ORLANDO                  FL
20601   1G1JF5SBXJ4107431   GM           SONIC                FT. LAUDERDALE           FL
20602   1G1JF5SBXJ4108496   GM           SONIC                SANFORD                  FL
20603   1G1JF5SBXJ4130174   GM           SONIC                SAN FRANCISCO            CA
20604   1G1JF5SBXJ4130787   GM           SONIC                Anaheim                  CA
20605   1G1JF5SBXJ4131048   GM           SONIC                AUGUSTA                  GA
20606   1G1JF5SBXJ4131406   GM           SONIC                PALM SPRINGS             CA
20607   1G1JF5SBXJ4131664   GM           SONIC                KANSAS CITY              MO
20608   1G1JF5SBXJ4132202   GM           SONIC                LOS ANGELES              CA
20609   1G1JF5SBXJ4133530   GM           SONIC                FORT LAUDERDALE          FL
20610   1G1JF5SBXJ4133642   GM           SONIC                ORLANDO                  FL
20611   1G1JF5SBXJ4134175   GM           SONIC                PHOENIX                  AZ
20612   1G1JF5SBXJ4134631   GM           SONIC                JACKSONVILLE             FL
20613   1G1JF5SBXJ4134791   GM           SONIC                FORT MYERS               FL
20614   1G1JF5SBXJ4134807   GM           SONIC                Sacramento               CA
20615   1G1JF5SBXJ4135102   GM           SONIC                St. Louis                MO
20616   1G1JF5SBXJ4135679   GM           SONIC                LAS VEGAS                NV
20617   1G1JF5SBXJ4136427   GM           SONIC                Davie                    FL
20618   1G1JF5SBXJ4136640   GM           SONIC                SACRAMENTO               CA
20619   1G1JF5SBXJ4138551   GM           SONIC                FORT LAUDERDALE          FL
20620   1G1JF5SBXJ4138971   GM           SONIC                NEWARK                   NJ
20621   1G1JF5SBXJ4138985   GM           SONIC                Baltimore                MD
20622   1G1JF5SBXJ4139005   GM           SONIC                Houston                  TX
20623   1G1JF5SBXJ4139568   GM           SONIC                DULUTH                   GA
20624   1G1JF5SBXJ4139957   GM           SONIC                Dallas                   TX
20625   1G1JF5SBXJ4140185   GM           SONIC                ATLANTA                  GA
20626   1G1JF5SBXK4121573   GM           SONIC                San Diego                CA
20627   1G1JF5SBXK4121637   GM           SONIC                PLEASANTON               CA
20628   1G1JF5SBXK4121699   GM           SONIC                BOSTON                   MA
20629   1G1JF5SBXK4121931   GM           SONIC                CLARKSVILLE              IN
20630   1G1JF5SBXK4122030   GM           SONIC                CHARLOTTE                NC
20631   1G1JF5SBXK4122044   GM           SONIC                N. Palm Beach            FL
20632   1G1JF5SBXK4122223   GM           SONIC                MORROW                   GA
20633   1G1JF5SBXK4122321   GM           SONIC                ORLANDO                  FL
20634   1G1JF5SBXK4122450   GM           SONIC                Cleveland                OH
20635   1G1JF5SBXK4122674   GM           SONIC                SHREVEPORT               LA
20636   1G1JF5SBXK4122853   GM           SONIC                Rochester                NY
20637   1G1JF5SBXK4122867   GM           SONIC                Scottsdale               AZ
20638   1G1JF5SBXK4122965   GM           SONIC                Coraopolis               PA
20639   1G1JF5SBXK4123131   GM           SONIC                Tampa                    FL
20640   1G1JF5SBXK4123291   GM           SONIC                GLASSBORO                NJ
20641   1G1JF5SBXK4123548   GM           SONIC                DES MOINES               IA
20642   1G1JF5SBXK4123680   GM           SONIC                CHATTANOOGA              TN
20643   1G1JF5SBXK4123758   GM           SONIC                Marietta                 GA
20644   1G1JF5SBXK4123887   GM           SONIC                Florissant               MO
20645   1G1JF5SBXK4123954   GM           SONIC                Hendersonville           TN
20646   1G1JF5SBXK4123971   GM           SONIC                Hendersonville           TN
20647   1G1JF5SBXK4124408   GM           SONIC                Indianapolis             IN
20648   1G1JF5SBXK4124960   GM           SONIC                Richmond                 VA
        VIN
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20649   1G1JF5SBXK4127101   GM          SONIC                Roseville                CA
20650   1G1JF5SBXK4127437   GM          SONIC                Fontana                  CA
20651   1G1JF5SBXK4128054   GM          SONIC                PLEASANTON               CA
20652   1G1JF5SBXK4128121   GM          SONIC                Burien                   WA
20653   1G1JF5SBXK4128426   GM          SONIC                Phoenix                  AZ
20654   1G1JF5SBXK4128586   GM          SONIC                SAN LEANDRO              CA
20655   1G1JF5SBXK4128765   GM          SONIC                Roseville                CA
20656   1G1JF5SBXK4128927   GM          SONIC                GRAND RAPIDS             MI
20657   1G1JF5SBXK4129219   GM          SONIC                Las Vegas                NV
20658   1G1JF5SBXK4129382   GM          SONIC                TUCSON                   AZ
20659   1G1PC5SG1G7150495   GM          CRUZE                BURBANK                  CA
20660   1G1PC5SGXG7184158   GM          CRUZE                Brighton                 CO
20661   1G1PE5SB1G7180918   GM          CRUZE                Elkridge                 MD
20662   1G1PE5SB3G7141361   GM          CRUZE                Chicago                  IL
20663   1G1PE5SB5G7140650   GM          CRUZE                Baltimore                MD
20664   1G1PE5SB6G7180929   GM          CRUZE                BURBANK                  CA
20665   1G1PE5SB6G7228722   GM          CRUZE                SANFORD                  FL
20666   1G1PE5SB8G7203577   GM          CRUZE                Manheim                  PA
20667   1G1PE5SBXG7147383   GM          CRUZE                Tampa                    FL
20668   1G1PE5SBXG7192159   GM          CRUZE                ELKRIDGE                 MD
20669   1G1PF5SB1G7198557   GM          CRUZE                BURBANK                  CA
20670   1G1PG5SBXG7124194   GM          CRUZE                Mira Loma                CA
20671   1G1YF3D75H5122922   GM          CORVETTE             TRACY                    CA
20672   1G1YU2D60K5601943   GM          CORVETTE             Denver                   CO
20673   1G1YU2D60K5601974   GM          CORVETTE             FT. LAUDERDALE           FL
20674   1G1YU2D60K5601988   GM          CORVETTE             ORLANDO                  FL
20675   1G1YU2D61K5601966   GM          CORVETTE             PHOENIX                  AZ
20676   1G1YU2D61K5601997   GM          CORVETTE             Davie                    FL
20677   1G1YU2D61K5602017   GM          CORVETTE             Houston                  TX
20678   1G1YU2D62K5601944   GM          CORVETTE             Fontana                  CA
20679   1G1YU2D62K5601958   GM          CORVETTE             WEST PALM BEACH          FL
20680   1G1YU2D62K5602012   GM          CORVETTE             Davie                    FL
20681   1G1YU2D63K5601970   GM          CORVETTE             SARASOTA                 FL
20682   1G1YU2D63K5601998   GM          CORVETTE             Houston                  TX
20683   1G1YU2D63K5602004   GM          CORVETTE             CHANTILLY                VA
20684   1G1YU2D65K5601999   GM          CORVETTE             Anaheim                  CA
20685   1G1YU2D65K5602019   GM          CORVETTE             WEST PALM BEACH          FL
20686   1G1YU2D66K5601946   GM          CORVETTE             Anaheim                  CA
20687   1G1YU2D66K5601977   GM          CORVETTE             Matteson                 IL
20688   1G1YU2D66K5602031   GM          CORVETTE             Pompano Beach            FL
20689   1G1YU2D67K5601955   GM          CORVETTE             ORLANDO                  FL
20690   1G1YU2D67K5601986   GM          CORVETTE             ORLANDO                  FL
20691   1G1YU2D68K5602015   GM          CORVETTE             Houston                  TX
20692   1G1YU2D6XK5601979   GM          CORVETTE             Norwalk                  CA
20693   1G1YU2D6XK5601982   GM          CORVETTE             Riverside                CA
20694   1G1ZB5ST1JF207512   GM          MALIBU               Hartford                 CT
20695   1G1ZB5ST2JF129192   GM          MALIBU               torrance                 ca
20696   1G1ZB5ST3GF340992   GM          MALIBU               Tampa                    FL
20697   1G1ZB5ST3JF141593   GM          MALIBU               NORTH PAC                CA
20698   1G1ZB5ST5GF308450   GM          MALIBU               Los Angeles              CA
20699   1G1ZB5ST8JF194953   GM          MALIBU               DENVER                   CO
20700   1G1ZB5ST8JF227725   GM          MALIBU               WEST PALM BEACH          FL
20701   1G1ZB5STXJF145575   GM          MALIBU               North Las Vegas          NV
20702   1G1ZC5ST8JF162601   GM          MALIBU               NEW ENGLAND DEALER       MA
20703   1G1ZD5ST0JF126494   GM          CRUZE                NORTH PAC                CA
20704   1G1ZD5ST0JF126804   GM          CRUZE                Mira Loma                CA
20705   1G1ZD5ST0JF127600   GM          CRUZE                DES PLAINES              IL
20706   1G1ZD5ST0JF130271   GM          CRUZE                SAN JOSE                 CA
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20707   1G1ZD5ST0JF132683   GM           CRUZE                SAN JOSE                 CA
20708   1G1ZD5ST0JF133316   GM           CRUZE                BURBANK                  CA
20709   1G1ZD5ST0JF134319   GM           CRUZE                BALTIMORE                MD
20710   1G1ZD5ST0JF134952   GM           CRUZE                BURBANK                  CA
20711   1G1ZD5ST0JF135907   GM           CRUZE                STERLING                 VA
20712   1G1ZD5ST0JF136944   GM           CRUZE                North Las Vegas          NV
20713   1G1ZD5ST0JF137172   GM           CRUZE                Hanover                  MD
20714   1G1ZD5ST0JF137317   GM           CRUZE                Elkridge                 MD
20715   1G1ZD5ST0JF137799   GM           CRUZE                San Diego                CA
20716   1G1ZD5ST0JF137947   GM           CRUZE                DFW AIRPORT              TX
20717   1G1ZD5ST0JF138015   GM           CRUZE                DENVER                   CO
20718   1G1ZD5ST0JF138354   GM           CRUZE                DAYTONA BEACH            FL
20719   1G1ZD5ST0JF138824   GM           CRUZE                DALLAS                   TX
20720   1G1ZD5ST0JF139813   GM           CRUZE                MILWAUKEE                US
20721   1G1ZD5ST0JF140265   GM           CRUZE                Hebron                   KY
20722   1G1ZD5ST0JF140332   GM           CRUZE                Euless                   TX
20723   1G1ZD5ST0JF140654   GM           CRUZE                Las Vegas                NV
20724   1G1ZD5ST0JF140671   GM           CRUZE                SOUTHWEST DEALER D       TX
20725   1G1ZD5ST0JF142193   GM           CRUZE                Matteson                 IL
20726   1G1ZD5ST0JF143134   GM           MALIBU               SAN FRANCISCO            CA
20727   1G1ZD5ST0JF143277   GM           CRUZE                BOSTON                   MA
20728   1G1ZD5ST0JF144574   GM           CRUZE                Denver                   CO
20729   1G1ZD5ST0JF144784   GM           CRUZE                LOS ANGELES              CA
20730   1G1ZD5ST0JF149063   GM           CRUZE                PHILADELPHIA             PA
20731   1G1ZD5ST0JF149130   GM           CRUZE                PITTSBURGH               PA
20732   1G1ZD5ST0JF149175   GM           CRUZE                BOSTON                   MA
20733   1G1ZD5ST0JF149192   GM           CRUZE                PHILADELPHIA             PA
20734   1G1ZD5ST0JF149290   GM           CRUZE                HARVEY                   LA
20735   1G1ZD5ST0JF149547   GM           CRUZE                MORROW                   GA
20736   1G1ZD5ST0JF149578   GM           CRUZE                Statesville              NC
20737   1G1ZD5ST0JF149595   GM           CRUZE                GLEN BURNIE              MD
20738   1G1ZD5ST0JF149807   GM           CRUZE                North Dighton            MA
20739   1G1ZD5ST0JF149953   GM           CRUZE                FLORIDA DEALER DIR       FL
20740   1G1ZD5ST0JF149970   GM           CRUZE                Philadelphia             PA
20741   1G1ZD5ST0JF150262   GM           CRUZE                DAYTONA BEACH            FL
20742   1G1ZD5ST0JF150536   GM           CRUZE                Davie                    FL
20743   1G1ZD5ST0JF150732   GM           CRUZE                PHOENIX                  AZ
20744   1G1ZD5ST0JF150763   GM           CRUZE                Davie                    FL
20745   1G1ZD5ST0JF151041   GM           CRUZE                ORLANDO                  FL
20746   1G1ZD5ST0JF151072   GM           CRUZE                Fredericksburg           VA
20747   1G1ZD5ST0JF151461   GM           CRUZE                DAYTONA BEACH            FL
20748   1G1ZD5ST0JF151623   GM           CRUZE                DAYTONA BEACH            FL
20749   1G1ZD5ST0JF151816   GM           CRUZE                ORLANDO                  FL
20750   1G1ZD5ST0JF152139   GM           CRUZE                BOSTON                   MA
20751   1G1ZD5ST0JF152240   GM           CRUZE                SAN FRANCISCO            CA
20752   1G1ZD5ST0JF152402   GM           CRUZE                LOS ANGELES              CA
20753   1G1ZD5ST0JF153128   GM           CRUZE                Norwalk                  CA
20754   1G1ZD5ST0JF153548   GM           CRUZE                BURBANK                  CA
20755   1G1ZD5ST0JF154506   GM           CRUZE                SAN DIEGO                CA
20756   1G1ZD5ST0JF154974   GM           CRUZE                BURBANK                  CA
20757   1G1ZD5ST0JF155025   GM           CRUZE                North Dighton            MA
20758   1G1ZD5ST0JF155090   GM           CRUZE                NORTH PAC                CA
20759   1G1ZD5ST0JF155249   GM           CRUZE                BURBANK                  CA
20760   1G1ZD5ST0JF155364   GM           CRUZE                SAN DIEGO                CA
20761   1G1ZD5ST0JF155462   GM           MALIBU               Tolleson                 AZ
20762   1G1ZD5ST0JF155543   GM           CRUZE                Los Angeles              CA
20763   1G1ZD5ST0JF155722   GM           CRUZE                LOS ANGELES              CA
20764   1G1ZD5ST0JF155736   GM           CRUZE                Fontana                  CA
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20765   1G1ZD5ST0JF155817   GM           CRUZE                WEST CENTRAL DEALE       CO
20766   1G1ZD5ST0JF155915   GM           CRUZE                SAN FRANCISCO            CA
20767   1G1ZD5ST0JF156045   GM           CRUZE                SAN FRANCISCO            CA
20768   1G1ZD5ST0JF156398   GM           CRUZE                Kent                     WA
20769   1G1ZD5ST0JF156501   GM           CRUZE                BURBANK                  CA
20770   1G1ZD5ST0JF156613   GM           CRUZE                Phoenix                  AZ
20771   1G1ZD5ST0JF157020   GM           CRUZE                Tolleson                 AZ
20772   1G1ZD5ST0JF157079   GM           CRUZE                CHARLOTTE                NC
20773   1G1ZD5ST0JF157440   GM           CRUZE                Lake Elsinore            CA
20774   1G1ZD5ST0JF157485   GM           CRUZE                LOS ANGELES              CA
20775   1G1ZD5ST0JF158894   GM           CRUZE                Aurora                   CO
20776   1G1ZD5ST0JF159138   GM           CRUZE                Elkridge                 MD
20777   1G1ZD5ST0JF159396   GM           CRUZE                Tucson                   AZ
20778   1G1ZD5ST0JF159723   GM           CRUZE                DENVER                   CO
20779   1G1ZD5ST0JF159866   GM           CRUZE                Atlanta                  GA
20780   1G1ZD5ST0JF160113   GM           CRUZE                BOSTON                   MA
20781   1G1ZD5ST0JF160225   GM           CRUZE                Atlanta                  GA
20782   1G1ZD5ST0JF160290   GM           CRUZE                MARIETTA                 GA
20783   1G1ZD5ST0JF160340   GM           CRUZE                Denver                   CO
20784   1G1ZD5ST0JF172701   GM           CRUZE                PHOENIX                  AZ
20785   1G1ZD5ST0JF173847   GM           CRUZE                SPRINGFIELD              VA
20786   1G1ZD5ST0JF179681   GM           CRUZE                Elkridge                 MD
20787   1G1ZD5ST0JF180412   GM           CRUZE                Cleveland                OH
20788   1G1ZD5ST0JF180488   GM           CRUZE                DAYTONA BEACH            FL
20789   1G1ZD5ST0JF181561   GM           CRUZE                LOS ANGELES              CA
20790   1G1ZD5ST0JF181897   GM           CRUZE                Atlanta                  GA
20791   1G1ZD5ST0JF182290   GM           CRUZE                SAN FRANCISCO            CA
20792   1G1ZD5ST0JF182483   GM           CRUZE                KNOXVILLE                TN
20793   1G1ZD5ST0JF182788   GM           CRUZE                SAN JOSE                 CA
20794   1G1ZD5ST0JF182953   GM           CRUZE                Hayward                  CA
20795   1G1ZD5ST0JF183052   GM           CRUZE                Costa Mesa               CA
20796   1G1ZD5ST0JF183309   GM           CRUZE                Smithtown                NY
20797   1G1ZD5ST0JF184864   GM           CRUZE                Warminster               PA
20798   1G1ZD5ST0JF190194   GM           CRUZE                NORTH PAC                CA
20799   1G1ZD5ST0JF190454   GM           CRUZE                SAN FRANCISCO            CA
20800   1G1ZD5ST0JF195623   GM           CRUZE                BURBANK                  CA
20801   1G1ZD5ST0JF199509   GM           CRUZE                Las Vegas                NV
20802   1G1ZD5ST0JF199977   GM           CRUZE                SAN DIEGO                CA
20803   1G1ZD5ST0JF200156   GM           CRUZE                Costa Mesa               CA
20804   1G1ZD5ST0JF200173   GM           CRUZE                BURBANK                  CA
20805   1G1ZD5ST0JF200416   GM           CRUZE                SAN FRANCISCO            US
20806   1G1ZD5ST0JF206751   GM           CRUZE                STERLING                 VA
20807   1G1ZD5ST0JF206832   GM           MALIBU               SEATAC                   WA
20808   1G1ZD5ST0JF212078   GM           CRUZE                ATLANTA AP               GA
20809   1G1ZD5ST0JF213523   GM           CRUZE                SAN FRANCISCO            CA
20810   1G1ZD5ST0JF216163   GM           CRUZE                DETROIT                  MI
20811   1G1ZD5ST0JF217636   GM           CRUZE                Torrance                 CA
20812   1G1ZD5ST0JF218219   GM           CRUZE                Fredericksburg           VA
20813   1G1ZD5ST0JF218253   GM           CRUZE                Jacksonville             FL
20814   1G1ZD5ST0JF219029   GM           CRUZE                Burien                   WA
20815   1G1ZD5ST0JF220214   GM           CRUZE                LOS ANGELES              CA
20816   1G1ZD5ST0JF220844   GM           CRUZE                BURBANK                  CA
20817   1G1ZD5ST0JF221461   GM           CRUZE                BURBANK                  CA
20818   1G1ZD5ST0JF222142   GM           CRUZE                SAN JOSE                 CA
20819   1G1ZD5ST0JF222318   GM           CRUZE                BURBANK                  CA
20820   1G1ZD5ST0JF222769   GM           CRUZE                Hayward                  CA
20821   1G1ZD5ST0JF222822   GM           CRUZE                PHOENIX                  AZ
20822   1G1ZD5ST0JF223114   GM           CRUZE                BURBANK                  CA
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20823   1G1ZD5ST0JF223419   GM           CRUZE                SANTA ANA                CA
20824   1G1ZD5ST0JF223484   GM           CRUZE                DETROIT                  MI
20825   1G1ZD5ST0JF223727   GM           CRUZE                Fresno                   CA
20826   1G1ZD5ST0JF224828   GM           CRUZE                Pasadena                 CA
20827   1G1ZD5ST0JF225042   GM           CRUZE                COLLEGE PARK             GA
20828   1G1ZD5ST0JF226160   GM           CRUZE                SAN FRANCISCO            CA
20829   1G1ZD5ST0JF227230   GM           CRUZE                East Granby              CT
20830   1G1ZD5ST0JF228104   GM           CRUZE                Las Vegas                NV
20831   1G1ZD5ST0JF232878   GM           CRUZE                Fontana                  CA
20832   1G1ZD5ST0JF233108   GM           CRUZE                RAYNHAM                  MA
20833   1G1ZD5ST0JF233464   GM           CRUZE                Atlanta                  GA
20834   1G1ZD5ST0JF233772   GM           CRUZE                ORLANDO                  FL
20835   1G1ZD5ST0JF234632   GM           CRUZE                Denver                   CO
20836   1G1ZD5ST0JF234873   GM           CRUZE                SHREVEPORT               LA
20837   1G1ZD5ST0JF235053   GM           CRUZE                Winston‐Salem            NC
20838   1G1ZD5ST0JF235134   GM           CRUZE                Davie                    FL
20839   1G1ZD5ST0JF235151   GM           CRUZE                WEST PALM BEACH          FL
20840   1G1ZD5ST0JF235165   GM           CRUZE                Elkridge                 MD
20841   1G1ZD5ST0JF235683   GM           CRUZE                FORT LAUDERDALE          FL
20842   1G1ZD5ST0JF235716   GM           CRUZE                STERLING                 VA
20843   1G1ZD5ST0JF236042   GM           CRUZE                Plainfield               IN
20844   1G1ZD5ST0JF236123   GM           CRUZE                North Dighton            MA
20845   1G1ZD5ST0JF236400   GM           CRUZE                PHILADELPHIA             PA
20846   1G1ZD5ST0JF236591   GM           CRUZE                BURBANK                  CA
20847   1G1ZD5ST0JF236719   GM           CRUZE                TAMPA                    FL
20848   1G1ZD5ST0JF236994   GM           CRUZE                SAN FRANCISCO            CA
20849   1G1ZD5ST0JF237031   GM           CRUZE                BURBANK                  CA
20850   1G1ZD5ST0JF237174   GM           CRUZE                ROSEVILLE                CA
20851   1G1ZD5ST0JF237367   GM           CRUZE                NORTH PAC                CA
20852   1G1ZD5ST0JF237420   GM           CRUZE                Estero                   FL
20853   1G1ZD5ST0JF237434   GM           CRUZE                SACRAMENTO               CA
20854   1G1ZD5ST0JF237577   GM           CRUZE                DENVER                   CO
20855   1G1ZD5ST0JF237613   GM           CRUZE                LOS ANGELES              CA
20856   1G1ZD5ST0JF237840   GM           CRUZE                BURBANK                  CA
20857   1G1ZD5ST0JF237854   GM           CRUZE                SAN JOSE                 CA
20858   1G1ZD5ST0JF237983   GM           CRUZE                Warr Acres               OK
20859   1G1ZD5ST0JF238079   GM           CRUZE                PHOENIX                  AZ
20860   1G1ZD5ST0JF238213   GM           CRUZE                SAN FRANCISCO            CA
20861   1G1ZD5ST0JF238390   GM           CRUZE                CLEVELAND                OH
20862   1G1ZD5ST0JF238437   GM           CRUZE                Tolleson                 AZ
20863   1G1ZD5ST0JF238549   GM           CRUZE                BURBANK                  CA
20864   1G1ZD5ST0JF238566   GM           CRUZE                LOS ANGELES              CA
20865   1G1ZD5ST0JF238583   GM           CRUZE                LOS ANGELES              CA
20866   1G1ZD5ST0JF238647   GM           CRUZE                DES MOINES               IA
20867   1G1ZD5ST0JF238700   GM           CRUZE                WEST CENTRAL DEALE       CO
20868   1G1ZD5ST0JF238728   GM           CRUZE                Torrance                 CA
20869   1G1ZD5ST0JF239068   GM           CRUZE                NORTH PAC                CA
20870   1G1ZD5ST0JF239149   GM           CRUZE                TAMPA                    FL
20871   1G1ZD5ST0JF239314   GM           CRUZE                Santa Clara              CA
20872   1G1ZD5ST0JF239815   GM           CRUZE                LOS ANGELES              CA
20873   1G1ZD5ST0JF239913   GM           CRUZE                BURBANK                  CA
20874   1G1ZD5ST0JF240141   GM           CRUZE                CHICAGO                  IL
20875   1G1ZD5ST0JF240592   GM           CRUZE                Chicago                  IL
20876   1G1ZD5ST0JF240835   GM           CRUZE                STERLING                 VA
20877   1G1ZD5ST0JF241421   GM           CRUZE                Atlanta                  GA
20878   1G1ZD5ST0JF241502   GM           CRUZE                Manheim                  PA
20879   1G1ZD5ST0JF242035   GM           CRUZE                OAKLAND                  CA
20880   1G1ZD5ST0JF242147   GM           CRUZE                TAMPA                    US
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20881   1G1ZD5ST0JF242360   GM           CRUZE                BURBANK                  CA
20882   1G1ZD5ST0JF242827   GM           CRUZE                DETROIT                  MI
20883   1G1ZD5ST0JF243184   GM           CRUZE                TAMPA                    FL
20884   1G1ZD5ST0JF243217   GM           CRUZE                BALTIMORE                MD
20885   1G1ZD5ST0JF243430   GM           CRUZE                PHILADELPHIA             PA
20886   1G1ZD5ST0JF243525   GM           CRUZE                CHICAGO                  IL
20887   1G1ZD5ST0JF243783   GM           CRUZE                NEW ORLEANS              LA
20888   1G1ZD5ST0JF243816   GM           CRUZE                KANSAS CITY              MO
20889   1G1ZD5ST0JF243878   GM           CRUZE                JACKSONVILLE             FL
20890   1G1ZD5ST0JF244075   GM           CRUZE                CHICAGO                  IL
20891   1G1ZD5ST0JF244125   GM           CRUZE                CHICAGO                  IL
20892   1G1ZD5ST0JF244187   GM           CRUZE                BIRMINGHAN               AL
20893   1G1ZD5ST0JF244335   GM           CRUZE                KENNER                   LA
20894   1G1ZD5ST0JF244514   GM           CRUZE                CHICAGO                  IL
20895   1G1ZD5ST0JF244576   GM           CRUZE                LAS VEGAS                NV
20896   1G1ZD5ST0JF244738   GM           CRUZE                Salt Lake City           UT
20897   1G1ZD5ST0JF244755   GM           CRUZE                ORLANDO                  FL
20898   1G1ZD5ST0JF244819   GM           CRUZE                Atlanta                  GA
20899   1G1ZD5ST0JF244934   GM           CRUZE                Fontana                  CA
20900   1G1ZD5ST0JF244948   GM           CRUZE                COLUMBIA                 MO
20901   1G1ZD5ST0JF244965   GM           CRUZE                BURBANK                  CA
20902   1G1ZD5ST0JF245047   GM           CRUZE                SAN JOSE                 CA
20903   1G1ZD5ST0JF245131   GM           CRUZE                DETROIT                  MI
20904   1G1ZD5ST0JF245257   GM           CRUZE                PHOENIX                  AZ
20905   1G1ZD5ST0JF245260   GM           CRUZE                NORWALK                  CA
20906   1G1ZD5ST0JF245355   GM           CRUZE                LAS VEGAS                NV
20907   1G1ZD5ST0JF245386   GM           CRUZE                Dallas                   TX
20908   1G1ZD5ST0JF245615   GM           CRUZE                Greensboro               NC
20909   1G1ZD5ST0JF245713   GM           CRUZE                Oakland                  CA
20910   1G1ZD5ST0JF245727   GM           CRUZE                Burien                   WA
20911   1G1ZD5ST0JF245775   GM           CRUZE                CHICAGO                  IL
20912   1G1ZD5ST0JF245811   GM           CRUZE                NORTH PAC                CA
20913   1G1ZD5ST0JF245940   GM           CRUZE                LAS VEGAS                NV
20914   1G1ZD5ST0JF246022   GM           CRUZE                GRAND RAPIDS             MI
20915   1G1ZD5ST0JF246151   GM           CRUZE                AUSTIN                   TX
20916   1G1ZD5ST0JF246179   GM           CRUZE                SAN FRANCISCO            CA
20917   1G1ZD5ST0JF246277   GM           CRUZE                Santa Clara              CA
20918   1G1ZD5ST0JF246358   GM           CRUZE                Stockton                 CA
20919   1G1ZD5ST0JF246408   GM           CRUZE                SAN FRANCISCO            CA
20920   1G1ZD5ST0JF246487   GM           CRUZE                ROSEVILLE                CA
20921   1G1ZD5ST0JF246523   GM           CRUZE                BURBANK                  CA
20922   1G1ZD5ST0JF246733   GM           CRUZE                PHOENIX                  AZ
20923   1G1ZD5ST0JF246764   GM           CRUZE                TAMPA                    FL
20924   1G1ZD5ST0JF246778   GM           CRUZE                CHICAGO                  IL
20925   1G1ZD5ST0JF246800   GM           CRUZE                ORLANDO                  FL
20926   1G1ZD5ST0JF246814   GM           CRUZE                PHILADELPHIA             PA
20927   1G1ZD5ST0JF246876   GM           CRUZE                Denver                   CO
20928   1G1ZD5ST0JF246909   GM           CRUZE                Phoenix                  AZ
20929   1G1ZD5ST0JF246974   GM           CRUZE                COLLEGE PARK             GA
20930   1G1ZD5ST0JF247039   GM           CRUZE                BURBANK                  CA
20931   1G1ZD5ST0JF247090   GM           CRUZE                STERLING                 VA
20932   1G1ZD5ST0JF247168   GM           CRUZE                FORT MYERS               FL
20933   1G1ZD5ST0JF247204   GM           CRUZE                BURBANK                  CA
20934   1G1ZD5ST0JF247218   GM           CRUZE                TAMPA                    FL
20935   1G1ZD5ST0JF247252   GM           CRUZE                SAINT PAUL               MN
20936   1G1ZD5ST0JF247283   GM           CRUZE                Maple Grove              MN
20937   1G1ZD5ST0JF247395   GM           CRUZE                BURBANK                  CA
20938   1G1ZD5ST0JF247543   GM           CRUZE                MIAMI                    FL
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20939   1G1ZD5ST0JF247607   GM           CRUZE                Norwalk                  CA
20940   1G1ZD5ST0JF247624   GM           CRUZE                SACRAMENTO               CA
20941   1G1ZD5ST0JF247672   GM           CRUZE                Norwalk                  CA
20942   1G1ZD5ST0JF247686   GM           CRUZE                Denver                   CO
20943   1G1ZD5ST0JF247705   GM           CRUZE                OAKLAND                  CA
20944   1G1ZD5ST0JF247834   GM           CRUZE                INDIANAPOLIS             IN
20945   1G1ZD5ST0JF247848   GM           CRUZE                Honolulu                 HI
20946   1G1ZD5ST0JF247963   GM           CRUZE                LAS VEGAS                NV
20947   1G1ZD5ST0JF248224   GM           CRUZE                Santa Clara              CA
20948   1G1ZD5ST0JF248384   GM           CRUZE                STERLING                 VA
20949   1G1ZD5ST0JF248501   GM           CRUZE                Riverside                CA
20950   1G1ZD5ST0JF248594   GM           CRUZE                TAMPA                    FL
20951   1G1ZD5ST0JF248630   GM           CRUZE                Tolleson                 AZ
20952   1G1ZD5ST0JF248644   GM           CRUZE                NEWARK                   NJ
20953   1G1ZD5ST0JF248708   GM           CRUZE                ORLANDO                  FL
20954   1G1ZD5ST0JF248935   GM           CRUZE                Charlotte                NC
20955   1G1ZD5ST0JF248949   GM           CRUZE                North Dighton            MA
20956   1G1ZD5ST0JF248952   GM           CRUZE                LOS ANGELES              CA
20957   1G1ZD5ST0JF248983   GM           CRUZE                FRESNO                   CA
20958   1G1ZD5ST0JF249017   GM           CRUZE                Salt Lake City           UT
20959   1G1ZD5ST0JF249082   GM           CRUZE                Rock Hill                SC
20960   1G1ZD5ST0JF249132   GM           CRUZE                N. Palm Beach            FL
20961   1G1ZD5ST0JF249180   GM           CRUZE                BALTIMORE                MD
20962   1G1ZD5ST0JF249194   GM           CRUZE                GRAND RAPIDS             MI
20963   1G1ZD5ST0JF249373   GM           CRUZE                NORTH PAC                CA
20964   1G1ZD5ST0JF249406   GM           CRUZE                Elkridge                 MD
20965   1G1ZD5ST0JF249471   GM           CRUZE                SAN JOSE                 CA
20966   1G1ZD5ST0JF249485   GM           CRUZE                MILWAUKEE                WI
20967   1G1ZD5ST0JF249535   GM           CRUZE                St. Louis                MO
20968   1G1ZD5ST0JF249549   GM           CRUZE                ATLANTA                  GA
20969   1G1ZD5ST0JF249583   GM           CRUZE                Elkridge                 MD
20970   1G1ZD5ST0JF249695   GM           CRUZE                SAN JOSE                 CA
20971   1G1ZD5ST0JF249745   GM           CRUZE                Cincinnati               OH
20972   1G1ZD5ST0JF249776   GM           CRUZE                Mira Loma                CA
20973   1G1ZD5ST0JF249857   GM           CRUZE                BURBANK                  CA
20974   1G1ZD5ST0JF249907   GM           CRUZE                LOS ANGELES              CA
20975   1G1ZD5ST0JF249969   GM           CRUZE                BURBANK                  CA
20976   1G1ZD5ST0JF250099   GM           CRUZE                Norwalk                  CA
20977   1G1ZD5ST0JF250118   GM           CRUZE                BURBANK                  CA
20978   1G1ZD5ST0JF250149   GM           CRUZE                SHREVEPORT               LA
20979   1G1ZD5ST0JF250183   GM           CRUZE                STERLING                 VA
20980   1G1ZD5ST0JF250264   GM           CRUZE                SAN DIEGO                CA
20981   1G1ZD5ST0JF250295   GM           CRUZE                SANTA ANA                CA
20982   1G1ZD5ST0JF250362   GM           CRUZE                RICHMOND                 VA
20983   1G1ZD5ST0JF250376   GM           CRUZE                ORLANDO                  FL
20984   1G1ZD5ST0JF250460   GM           CRUZE                SOUTH BEND               IN
20985   1G1ZD5ST0JF250507   GM           CRUZE                WEST PALM BEACH          FL
20986   1G1ZD5ST0JF250913   GM           CRUZE                JACKSONVILLE             FL
20987   1G1ZD5ST0JF250927   GM           CRUZE                LAS VEGAS                NV
20988   1G1ZD5ST0JF251026   GM           CRUZE                SAN JOSE                 CA
20989   1G1ZD5ST0JF251074   GM           CRUZE                PORTLAND                 OR
20990   1G1ZD5ST0JF251205   GM           CRUZE                STERLING                 VA
20991   1G1ZD5ST0JF251270   GM           CRUZE                WEST PALM BEACH          FL
20992   1G1ZD5ST0JF252001   GM           CRUZE                FORT LAUDERDALE          FL
20993   1G1ZD5ST0JF252046   GM           CRUZE                SAN DIEGO                CA
20994   1G1ZD5ST0JF252273   GM           CRUZE                Hayward                  CA
20995   1G1ZD5ST0JF252435   GM           CRUZE                San Diego                CA
20996   1G1ZD5ST0JF252564   GM           CRUZE                SANTA ANA                CA
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20997   1G1ZD5ST0JF252760   GM           CRUZE                Houston                  TX
20998   1G1ZD5ST0JF253195   GM           CRUZE                Denver                   CO
20999   1G1ZD5ST0JF253200   GM           CRUZE                Winston‐Salem            NC
21000   1G1ZD5ST0JF253553   GM           CRUZE                LOS ANGELES              CA
21001   1G1ZD5ST0JF253813   GM           CRUZE                OKLAHOMA CITY            OK
21002   1G1ZD5ST0JF253827   GM           CRUZE                Davie                    FL
21003   1G1ZD5ST0JF253875   GM           CRUZE                PORTLAND                 OR
21004   1G1ZD5ST0JF253889   GM           CRUZE                Euless                   TX
21005   1G1ZD5ST0JF253911   GM           CRUZE                BLOOMINGTON              IL
21006   1G1ZD5ST0JF253973   GM           CRUZE                BOSTON                   MA
21007   1G1ZD5ST0JF254007   GM           CRUZE                CHICAGO                  IL
21008   1G1ZD5ST0JF254184   GM           CRUZE                Coraopolis               PA
21009   1G1ZD5ST0JF254265   GM           CRUZE                Manheim                  PA
21010   1G1ZD5ST0JF254539   GM           CRUZE                Chandler                 AZ
21011   1G1ZD5ST0JF254640   GM           CRUZE                STERLING                 VA
21012   1G1ZD5ST0JF254699   GM           CRUZE                ONTARIO                  CA
21013   1G1ZD5ST0JF255108   GM           CRUZE                Hamilton                 OH
21014   1G1ZD5ST0JF255173   GM           CRUZE                ORLANDO                  FL
21015   1G1ZD5ST0JF255206   GM           CRUZE                PHILADELPHIA             PA
21016   1G1ZD5ST0JF255268   GM           CRUZE                FRESNO                   CA
21017   1G1ZD5ST0JF255271   GM           CRUZE                LAS VEGAS                NV
21018   1G1ZD5ST0JF255335   GM           CRUZE                FORT LAUDERDALE          FL
21019   1G1ZD5ST0JF255464   GM           CRUZE                MIAMI                    FL
21020   1G1ZD5ST0JF255562   GM           CRUZE                HEBRON                   KY
21021   1G1ZD5ST0JF255626   GM           CRUZE                ORLANDO                  FL
21022   1G1ZD5ST0JF255710   GM           CRUZE                Fredericksburg           VA
21023   1G1ZD5ST0JF255903   GM           CRUZE                Las Vegas                NV
21024   1G1ZD5ST0JF255917   GM           CRUZE                Tolleson                 AZ
21025   1G1ZD5ST0JF256095   GM           CRUZE                BOSTON                   MA
21026   1G1ZD5ST0JF256288   GM           CRUZE                NORTH PAC                CA
21027   1G1ZD5ST0JF256369   GM           CRUZE                SANTA ANA                CA
21028   1G1ZD5ST0JF256484   GM           CRUZE                N. Palm Beach            FL
21029   1G1ZD5ST0JF256548   GM           CRUZE                LOS ANGELES              CA
21030   1G1ZD5ST0JF256579   GM           CRUZE                Avoca                    PA
21031   1G1ZD5ST0JF257165   GM           CRUZE                Rockville Centr          NY
21032   1G1ZD5ST0JF257229   GM           CRUZE                Union City               GA
21033   1G1ZD5ST0JF257277   GM           CRUZE                WEST CENTRAL DEALE       CO
21034   1G1ZD5ST0JF257361   GM           CRUZE                Stockton                 CA
21035   1G1ZD5ST0JF257599   GM           CRUZE                BOSTON                   MA
21036   1G1ZD5ST0JF257635   GM           CRUZE                SALT LAKE CITY           US
21037   1G1ZD5ST0JF257795   GM           CRUZE                Bensalem                 PA
21038   1G1ZD5ST0JF257800   GM           CRUZE                SAINT LOUIS              MO
21039   1G1ZD5ST0JF257926   GM           CRUZE                SARASOTA                 FL
21040   1G1ZD5ST0JF258199   GM           CRUZE                NORTH PAC                CA
21041   1G1ZD5ST0JF258235   GM           CRUZE                Tampa                    FL
21042   1G1ZD5ST0JF258350   GM           CRUZE                LOS ANGELES              CA
21043   1G1ZD5ST0JF258476   GM           CRUZE                PHOENIX                  AZ
21044   1G1ZD5ST0JF258591   GM           CRUZE                INDIANAPOLIS             IN
21045   1G1ZD5ST0JF259076   GM           CRUZE                Pasadena                 CA
21046   1G1ZD5ST0JF259112   GM           CRUZE                SANTA ANA                CA
21047   1G1ZD5ST0JF259482   GM           CRUZE                Portland                 OR
21048   1G1ZD5ST0JF259840   GM           CRUZE                LOS ANGELES              CA
21049   1G1ZD5ST0JF259921   GM           CRUZE                NORTH PAC                CA
21050   1G1ZD5ST0JF260003   GM           CRUZE                SANTA ANA                CA
21051   1G1ZD5ST0JF260292   GM           CRUZE                PHILADELPHIA             PA
21052   1G1ZD5ST0JF260521   GM           CRUZE                Denver                   CO
21053   1G1ZD5ST0JF260969   GM           CRUZE                LOS ANGELES              CA
21054   1G1ZD5ST0JF261247   GM           CRUZE                SAN DIEGO                CA
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21055   1G1ZD5ST0JF261748   GM           CRUZE                BURBANK                  CA
21056   1G1ZD5ST0JF261815   GM           CRUZE                Fontana                  CA
21057   1G1ZD5ST0JF262219   GM           CRUZE                ST Paul                  MN
21058   1G1ZD5ST0JF262561   GM           CRUZE                SAN JOSE                 CA
21059   1G1ZD5ST0JF262589   GM           CRUZE                Tolleson                 AZ
21060   1G1ZD5ST0JF262852   GM           CRUZE                Euless                   TX
21061   1G1ZD5ST0JF262902   GM           CRUZE                MORROW                   GA
21062   1G1ZD5ST0JF263175   GM           CRUZE                ATLANTA                  GA
21063   1G1ZD5ST0JF263256   GM           CRUZE                LAS VEGAS                NV
21064   1G1ZD5ST0JF263371   GM           CRUZE                SANTA ANA                CA
21065   1G1ZD5ST0JF263533   GM           CRUZE                TAMPA                    FL
21066   1G1ZD5ST0JF263564   GM           CRUZE                Matteson                 IL
21067   1G1ZD5ST0JF263645   GM           CRUZE                Windsor Locks            CT
21068   1G1ZD5ST0JF263743   GM           CRUZE                INDIANAPOLIS             IN
21069   1G1ZD5ST0JF263807   GM           CRUZE                Fredericksburg           VA
21070   1G1ZD5ST0JF264052   GM           CRUZE                Maple Grove              MN
21071   1G1ZD5ST0JF264147   GM           CRUZE                WARWICK                  RI
21072   1G1ZD5ST0JF264195   GM           CRUZE                ORLANDO                  FL
21073   1G1ZD5ST0JF264391   GM           CRUZE                CHICAGO                  IL
21074   1G1ZD5ST0JF264553   GM           CRUZE                CHICAGO                  IL
21075   1G1ZD5ST0JF264634   GM           CRUZE                DES PLAINES              US
21076   1G1ZD5ST0JF265640   GM           CRUZE                Fontana                  CA
21077   1G1ZD5ST0JF266514   GM           CRUZE                SACRAMENTO               CA
21078   1G1ZD5ST0JF266674   GM           CRUZE                BURBANK                  CA
21079   1G1ZD5ST0JF266755   GM           CRUZE                CLARKSVILLE              IN
21080   1G1ZD5ST0JF266772   GM           CRUZE                HANOVER                  MD
21081   1G1ZD5ST0JF267050   GM           CRUZE                WEST PALM BEACH          FL
21082   1G1ZD5ST0JF267159   GM           CRUZE                Torrance                 CA
21083   1G1ZD5ST0JF267212   GM           CRUZE                Elkridge                 MD
21084   1G1ZD5ST0JF267386   GM           CRUZE                DETROIT                  MI
21085   1G1ZD5ST0JF267405   GM           CRUZE                SAN FRANCISCO            CA
21086   1G1ZD5ST0JF267453   GM           CRUZE                FRESNO                   CA
21087   1G1ZD5ST0JF267534   GM           CRUZE                KENNER                   LA
21088   1G1ZD5ST0JF267565   GM           CRUZE                CHICAGO                  IL
21089   1G1ZD5ST0JF267923   GM           CRUZE                PHOENIX                  AZ
21090   1G1ZD5ST0JF267954   GM           CRUZE                PALM SPRINGS             CA
21091   1G1ZD5ST0JF268070   GM           CRUZE                Alexandria               VA
21092   1G1ZD5ST0JF268117   GM           CRUZE                TRACY                    CA
21093   1G1ZD5ST0JF268750   GM           CRUZE                WEST PALM BEACH          FL
21094   1G1ZD5ST0JF268831   GM           CRUZE                FORT LAUDERDALE          FL
21095   1G1ZD5ST0JF268845   GM           CRUZE                PHOENIX                  AZ
21096   1G1ZD5ST0JF269512   GM           CRUZE                COSTA MESA               CA
21097   1G1ZD5ST0JF269722   GM           CRUZE                SEATTLE                  WA
21098   1G1ZD5ST0JF269767   GM           CRUZE                BURBANK                  CA
21099   1G1ZD5ST0JF269915   GM           CRUZE                NORTH PAC                CA
21100   1G1ZD5ST0JF270062   GM           CRUZE                Tolleson                 AZ
21101   1G1ZD5ST0JF270238   GM           CRUZE                ORLANDO                  FL
21102   1G1ZD5ST0JF270594   GM           CRUZE                BURBANK                  CA
21103   1G1ZD5ST0JF270630   GM           CRUZE                Euless                   TX
21104   1G1ZD5ST0JF270711   GM           CRUZE                BURBANK                  CA
21105   1G1ZD5ST0JF270739   GM           CRUZE                WEST PALM BEACH          FL
21106   1G1ZD5ST0JF270790   GM           CRUZE                AUSTIN                   TX
21107   1G1ZD5ST0JF271065   GM           CRUZE                MIAMI                    FL
21108   1G1ZD5ST0JF271258   GM           CRUZE                ORLANDO                  FL
21109   1G1ZD5ST0JF271535   GM           CRUZE                North Las Vegas          NV
21110   1G1ZD5ST0JF271938   GM           CRUZE                SEATAC                   WA
21111   1G1ZD5ST0JF272247   GM           CRUZE                SOUTH SAN FRANC          CA
21112   1G1ZD5ST0JF272264   GM           CRUZE                NEWARK                   NJ
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21113   1G1ZD5ST0JF272300   GM           CRUZE                STERLING                 VA
21114   1G1ZD5ST0JF272443   GM           CRUZE                Salt Lake City           UT
21115   1G1ZD5ST0JF273947   GM           CRUZE                Beaverton                OR
21116   1G1ZD5ST0JF274693   GM           CRUZE                LAS VEGAS                NV
21117   1G1ZD5ST0JF274712   GM           CRUZE                DALLAS                   TX
21118   1G1ZD5ST0JF274807   GM           CRUZE                PITTSBURGH               PA
21119   1G1ZD5ST0JF274919   GM           CRUZE                DETROIT                  MI
21120   1G1ZD5ST0JF275309   GM           CRUZE                Dallas                   TX
21121   1G1ZD5ST0JF275438   GM           CRUZE                Syracuse                 NY
21122   1G1ZD5ST0JF275570   GM           CRUZE                Winter Park              FL
21123   1G1ZD5ST0JF275598   GM           CRUZE                GRAND RAPIDS             MI
21124   1G1ZD5ST0JF275648   GM           CRUZE                SACRAMENTO               CA
21125   1G1ZD5ST0JF275908   GM           CRUZE                STERLING                 VA
21126   1G1ZD5ST0JF276010   GM           CRUZE                ORLANDO                  FL
21127   1G1ZD5ST0JF276072   GM           CRUZE                Houston                  TX
21128   1G1ZD5ST0JF276198   GM           CRUZE                LAS VEGAS                NV
21129   1G1ZD5ST0JF276217   GM           CRUZE                SAN DIEGO                CA
21130   1G1ZD5ST0JF276315   GM           CRUZE                Sacramento               CA
21131   1G1ZD5ST0JF276380   GM           CRUZE                FORT LAUDERDALE          FL
21132   1G1ZD5ST0JF276461   GM           CRUZE                Houston                  TX
21133   1G1ZD5ST0JF276525   GM           CRUZE                ONTARIO                  CA
21134   1G1ZD5ST0JF276606   GM           CRUZE                BURBANK                  CA
21135   1G1ZD5ST0KF104254   GM           MALIBU               DENVER                   CO
21136   1G1ZD5ST0KF104335   GM           MALIBU               JACKSONVILLE             FL
21137   1G1ZD5ST0KF104528   GM           MALIBU               FORT MYERS               FL
21138   1G1ZD5ST0KF104691   GM           MALIBU               NORTH PAC                CA
21139   1G1ZD5ST0KF104805   GM           MALIBU               ATLANTA                  GA
21140   1G1ZD5ST0KF104819   GM           MALIBU               FORT LAUDERDALE          FL
21141   1G1ZD5ST0KF104870   GM           MALIBU               MEMPHIS                  TN
21142   1G1ZD5ST0KF105002   GM           MALIBU               HANOVER                  MD
21143   1G1ZD5ST0KF105162   GM           MALIBU               ALLENTOWN                US
21144   1G1ZD5ST0KF105176   GM           MALIBU               PHOENIX                  AZ
21145   1G1ZD5ST0KF105212   GM           MALIBU               DANIA BEACH              FL
21146   1G1ZD5ST0KF105310   GM           MALIBU               ATLANTA                  GA
21147   1G1ZD5ST0KF105355   GM           MALIBU               TAMPA                    FL
21148   1G1ZD5ST0KF105422   GM           MALIBU               Tampa                    FL
21149   1G1ZD5ST0KF105470   GM           MALIBU               MIAMI                    FL
21150   1G1ZD5ST0KF105484   GM           MALIBU               GOLDSBORO                NC
21151   1G1ZD5ST0KF105727   GM           MALIBU               Clearwater               FL
21152   1G1ZD5ST0KF105761   GM           MALIBU               SARASOTA                 FL
21153   1G1ZD5ST0KF105775   GM           MALIBU               RICHMOND                 VA
21154   1G1ZD5ST0KF106022   GM           MALIBU               Tampa                    FL
21155   1G1ZD5ST0KF106151   GM           MALIBU               WEST PALM BEACH          FL
21156   1G1ZD5ST0KF106196   GM           MALIBU               FORT LAUDERDALE          FL
21157   1G1ZD5ST0KF106439   GM           MALIBU               PHILADELPHIA             PA
21158   1G1ZD5ST0KF106604   GM           MALIBU               LOUISVILLE               KY
21159   1G1ZD5ST0KF106652   GM           MALIBU               JACKSONVILLE             FL
21160   1G1ZD5ST0KF106795   GM           MALIBU               LAS VEGAS                NV
21161   1G1ZD5ST0KF106876   GM           MALIBU               HOUSTON                  TX
21162   1G1ZD5ST0KF106943   GM           MALIBU               RICHMOND                 VA
21163   1G1ZD5ST0KF106974   GM           MALIBU               DENVER                   CO
21164   1G1ZD5ST0KF107106   GM           MALIBU               CHARLOTTE                NC
21165   1G1ZD5ST0KF107252   GM           MALIBU               FORT LAUDERDALE          FL
21166   1G1ZD5ST0KF107591   GM           MALIBU               SEATAC                   WA
21167   1G1ZD5ST0KF108353   GM           MALIBU               SACRAMENTO               CA
21168   1G1ZD5ST0KF108563   GM           MALIBU               INDIANAPOLIS             IN
21169   1G1ZD5ST0KF108983   GM           MALIBU               PANAMA CITY              FL
21170   1G1ZD5ST0KF109289   GM           MALIBU               WEST PALM BEACH          FL
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21171   1G1ZD5ST0KF109308   GM           MALIBU               AUSTIN                   TX
21172   1G1ZD5ST0KF109339   GM           MALIBU               LOS ANGELES              CA
21173   1G1ZD5ST0KF109471   GM           MALIBU               MIAMI                    FL
21174   1G1ZD5ST0KF109521   GM           MALIBU               SAN FRANCISCO            CA
21175   1G1ZD5ST0KF109762   GM           MALIBU               TAMPA                    US
21176   1G1ZD5ST0KF109874   GM           MALIBU               NEW YORK CITY            NY
21177   1G1ZD5ST0KF110247   GM           MALIBU               SACRAMENTO               CA
21178   1G1ZD5ST0KF110300   GM           MALIBU               JACKSONVILLE             FL
21179   1G1ZD5ST0KF110345   GM           MALIBU               COLLEGE PARK             GA
21180   1G1ZD5ST0KF110491   GM           MALIBU               NOTTINGHAM               MD
21181   1G1ZD5ST0KF110555   GM           MALIBU               Statesville              NC
21182   1G1ZD5ST0KF110572   GM           MALIBU               ALEXANDRIA               VA
21183   1G1ZD5ST0KF110703   GM           MALIBU               NEW ORLEANS              LA
21184   1G1ZD5ST0KF110748   GM           MALIBU               CHARLOTTE                NC
21185   1G1ZD5ST0KF110815   GM           MALIBU               ORLANDO                  FL
21186   1G1ZD5ST0KF111320   GM           MALIBU               ORLANDO                  FL
21187   1G1ZD5ST0KF111530   GM           MALIBU               COLLEGE PARK             GA
21188   1G1ZD5ST0KF111821   GM           MALIBU               Coraopolis               PA
21189   1G1ZD5ST0KF111849   GM           MALIBU               ORLANDO                  FL
21190   1G1ZD5ST0KF112046   GM           MALIBU               ORLANDO                  FL
21191   1G1ZD5ST0KF112256   GM           MALIBU               Nashville                TN
21192   1G1ZD5ST0KF112306   GM           MALIBU               MIAMI                    FL
21193   1G1ZD5ST0KF112483   GM           MALIBU               MIAMI                    FL
21194   1G1ZD5ST0KF112919   GM           MALIBU               CHARLOTTE                NC
21195   1G1ZD5ST0KF112953   GM           MALIBU               LOUISVILLE               KY
21196   1G1ZD5ST0KF113116   GM           MALIBU               TAMPA                    FL
21197   1G1ZD5ST0KF113200   GM           MALIBU               FORT MYERS               FL
21198   1G1ZD5ST0KF113441   GM           MALIBU               FORT MYERS               FL
21199   1G1ZD5ST0KF113889   GM           MALIBU               ORLANDO                  FL
21200   1G1ZD5ST0KF114055   GM           MALIBU               TAMPA                    FL
21201   1G1ZD5ST0KF114413   GM           MALIBU               ATLANTA                  GA
21202   1G1ZD5ST0KF114573   GM           MALIBU               Irving                   TX
21203   1G1ZD5ST0KF114640   GM           MALIBU               FORT LAUDERDALE          FL
21204   1G1ZD5ST0KF114783   GM           MALIBU               Atlanta                  GA
21205   1G1ZD5ST0KF114864   GM           MALIBU               ORLANDO                  FL
21206   1G1ZD5ST0KF115092   GM           MALIBU               ORLANDO                  FL
21207   1G1ZD5ST0KF115173   GM           MALIBU               DENVER                   CO
21208   1G1ZD5ST0KF115304   GM           MALIBU               FORT LAUDERDALE          FL
21209   1G1ZD5ST0KF115321   GM           MALIBU               SARASOTA                 FL
21210   1G1ZD5ST0KF116419   GM           MALIBU               Elkridge                 MD
21211   1G1ZD5ST0KF116601   GM           MALIBU               Elkridge                 MD
21212   1G1ZD5ST0KF116811   GM           MALIBU               Slidell                  LA
21213   1G1ZD5ST0KF116968   GM           MALIBU               TAMPA                    US
21214   1G1ZD5ST0KF116985   GM           MALIBU               Tampa                    FL
21215   1G1ZD5ST0KF116999   GM           MALIBU               Miami                    FL
21216   1G1ZD5ST0KF117022   GM           MALIBU               TAMPA                    FL
21217   1G1ZD5ST0KF117263   GM           MALIBU               Kansas City              MO
21218   1G1ZD5ST0KF117411   GM           MALIBU               MEDINA                   OH
21219   1G1ZD5ST0KF117487   GM           MALIBU               Manheim                  PA
21220   1G1ZD5ST0KF117540   GM           MALIBU               KANSAS CITY              MO
21221   1G1ZD5ST0KF117635   GM           MALIBU               FORT MYERS               FL
21222   1G1ZD5ST0KF117764   GM           MALIBU               CHARLOTTE                NC
21223   1G1ZD5ST0KF118185   GM           MALIBU               CHICAGO                  IL
21224   1G1ZD5ST0KF118249   GM           MALIBU               Fairburn                 GA
21225   1G1ZD5ST0KF118283   GM           MALIBU               WEST PALM BEACH          FL
21226   1G1ZD5ST0KF118509   GM           MALIBU               SAVANNAH                 GA
21227   1G1ZD5ST0KF118588   GM           MALIBU               Manheim                  PA
21228   1G1ZD5ST0KF118865   GM           MALIBU               Webster                  NY
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21229   1G1ZD5ST0KF119076   GM           MALIBU               TAMPA                    FL
21230   1G1ZD5ST0KF119109   GM           MALIBU               ORLANDO                  FL
21231   1G1ZD5ST0KF119319   GM           MALIBU               Sanford                  FL
21232   1G1ZD5ST0KF119336   GM           MALIBU               OAKLAND                  CA
21233   1G1ZD5ST0KF119644   GM           MALIBU               Atlanta                  GA
21234   1G1ZD5ST0KF119790   GM           MALIBU               ST Paul                  MN
21235   1G1ZD5ST0KF120325   GM           MALIBU               KENNER                   LA
21236   1G1ZD5ST0KF120549   GM           MALIBU               FORT MYERS               FL
21237   1G1ZD5ST0KF121524   GM           MALIBU               WEST COLUMBIA            SC
21238   1G1ZD5ST0KF121734   GM           MALIBU               BIRMINGHAN               AL
21239   1G1ZD5ST0KF122091   GM           MALIBU               Omaha                    NE
21240   1G1ZD5ST0KF122706   GM           MALIBU               DALLAS                   TX
21241   1G1ZD5ST0KF122818   GM           MALIBU               Statesville              NC
21242   1G1ZD5ST0KF123256   GM           MALIBU               GRAND RAPIDS             MI
21243   1G1ZD5ST0KF123287   GM           MALIBU               BOSTON                   MA
21244   1G1ZD5ST0KF123371   GM           MALIBU               ORLANDO                  FL
21245   1G1ZD5ST0KF123614   GM           MALIBU               TAMPA                    FL
21246   1G1ZD5ST0KF123709   GM           MALIBU               WEST COLUMBIA            SC
21247   1G1ZD5ST0KF123824   GM           MALIBU               Atlanta                  GA
21248   1G1ZD5ST0KF123841   GM           MALIBU               FORT LAUDERDALE          FL
21249   1G1ZD5ST0KF124021   GM           MALIBU               FORT MYERS               FL
21250   1G1ZD5ST0KF124083   GM           MALIBU               GRAND RAPIDS             MI
21251   1G1ZD5ST0KF124245   GM           MALIBU               MIAMI                    FL
21252   1G1ZD5ST0KF124424   GM           MALIBU               Orlando                  FL
21253   1G1ZD5ST0KF124603   GM           MALIBU               LAS VEGAS                NV
21254   1G1ZD5ST0KF125590   GM           MALIBU               FORT LAUDERDALE          FL
21255   1G1ZD5ST0KF125668   GM           MALIBU               SAINT PAUL               MN
21256   1G1ZD5ST0KF125721   GM           MALIBU               Detroit                  MI
21257   1G1ZD5ST0KF125900   GM           MALIBU               FORT MYERS               FL
21258   1G1ZD5ST0KF126013   GM           MALIBU               TAMPA                    FL
21259   1G1ZD5ST0KF126058   GM           MALIBU               SAN FRANCISCO            CA
21260   1G1ZD5ST0KF126190   GM           MALIBU               SARASOTA                 FL
21261   1G1ZD5ST0KF126495   GM           MALIBU               CHARLOTTE                NC
21262   1G1ZD5ST0KF126545   GM           MALIBU               Burien                   WA
21263   1G1ZD5ST0KF126657   GM           MALIBU               SARASOTA                 FL
21264   1G1ZD5ST0KF126688   GM           MALIBU               ORLANDO                  FL
21265   1G1ZD5ST0KF126917   GM           MALIBU               CHATTANOOGA              TN
21266   1G1ZD5ST0KF127078   GM           MALIBU               NASHVILLE                TN
21267   1G1ZD5ST0KF127209   GM           MALIBU               ORLANDO                  FL
21268   1G1ZD5ST0KF133219   GM           MALIBU               FORT LAUDERDALE          FL
21269   1G1ZD5ST0KF133270   GM           MALIBU               CHICAGO                  IL
21270   1G1ZD5ST0KF133334   GM           MALIBU               TAMPA                    FL
21271   1G1ZD5ST0KF133642   GM           MALIBU               Tulsa                    OK
21272   1G1ZD5ST0KF133768   GM           MALIBU               Detroit                  MI
21273   1G1ZD5ST0KF133818   GM           MALIBU               FORT LAUDERDALE          FL
21274   1G1ZD5ST0KF134371   GM           MALIBU               SAN JOSE                 CA
21275   1G1ZD5ST0KF134399   GM           MALIBU               Irving                   TX
21276   1G1ZD5ST0KF134466   GM           MALIBU               FORT MYERS               FL
21277   1G1ZD5ST0KF134502   GM           MALIBU               MIAMI                    FL
21278   1G1ZD5ST0KF134578   GM           MALIBU               Dallas                   TX
21279   1G1ZD5ST0KF134807   GM           MALIBU               Slidell                  LA
21280   1G1ZD5ST0KF134984   GM           MALIBU               TAMPA                    FL
21281   1G1ZD5ST0KF135097   GM           MALIBU               NAPLES                   FL
21282   1G1ZD5ST0KF135116   GM           MALIBU               NEW BERN                 NC
21283   1G1ZD5ST0KF135147   GM           MALIBU               Florissant               MO
21284   1G1ZD5ST0KF135262   GM           MALIBU               ORLANDO                  FL
21285   1G1ZD5ST0KF135472   GM           MALIBU               TAMPA                    FL
21286   1G1ZD5ST0KF135553   GM           MALIBU               MIAMI                    FL
        VIN
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21287   1G1ZD5ST0KF135570   GM           MALIBU               Tucson                   AZ
21288   1G1ZD5ST0KF135584   GM           MALIBU               JACKSONVILLE             FL
21289   1G1ZD5ST0KF135715   GM           MALIBU               Riverside                CA
21290   1G1ZD5ST0KF136041   GM           MALIBU               ORLANDO                  FL
21291   1G1ZD5ST0KF136346   GM           MALIBU               CLEVELAND                OH
21292   1G1ZD5ST0KF136752   GM           MALIBU               ORLANDO                  FL
21293   1G1ZD5ST0KF136816   GM           MALIBU               CHARLOTTE                NC
21294   1G1ZD5ST0KF137738   GM           MALIBU               WEST PALM BEACH          FL
21295   1G1ZD5ST0KF137948   GM           MALIBU               BIRMINGHAM               AL
21296   1G1ZD5ST0KF138002   GM           MALIBU               Slidell                  LA
21297   1G1ZD5ST0KF138436   GM           MALIBU               ORLANDO                  FL
21298   1G1ZD5ST0KF138453   GM           MALIBU               WEST COLUMBIA            SC
21299   1G1ZD5ST0KF138517   GM           MALIBU               Bordentown               NJ
21300   1G1ZD5ST0KF138520   GM           MALIBU               KNOXVILLE                TN
21301   1G1ZD5ST0KF138646   GM           MALIBU               Harvey                   LA
21302   1G1ZD5ST0KF153857   GM           MALIBU               Jacksonville             FL
21303   1G1ZD5ST0KF154104   GM           MALIBU               TAMPA                    FL
21304   1G1ZD5ST0KF154135   GM           MALIBU               BIRMINGHAM               AL
21305   1G1ZD5ST0KF154474   GM           MALIBU               ORLANDO                  FL
21306   1G1ZD5ST0KF154507   GM           MALIBU               ORLANDO                  FL
21307   1G1ZD5ST0KF154782   GM           MALIBU               ORLANDO                  FL
21308   1G1ZD5ST0KF154930   GM           MALIBU               Dallas                   TX
21309   1G1ZD5ST0KF155091   GM           MALIBU               LAS VEGAS                NV
21310   1G1ZD5ST0KF155107   GM           MALIBU               Slidell                  LA
21311   1G1ZD5ST0KF155348   GM           MALIBU               WHITE PLAINS             NY
21312   1G1ZD5ST0KF155382   GM           MALIBU               Irving                   TX
21313   1G1ZD5ST0KF155429   GM           MALIBU               SACRAMENTO               CA
21314   1G1ZD5ST0KF155544   GM           MALIBU               Louisville               KY
21315   1G1ZD5ST0KF155673   GM           MALIBU               STERLING                 VA
21316   1G1ZD5ST0KF155768   GM           MALIBU               Sterling                 VA
21317   1G1ZD5ST0KF156144   GM           MALIBU               SAN DIEGO                CA
21318   1G1ZD5ST0KF156337   GM           MALIBU               NEW BERN                 NC
21319   1G1ZD5ST0KF156435   GM           MALIBU               NORFOLK                  US
21320   1G1ZD5ST0KF157780   GM           MALIBU               TAMPA                    FL
21321   1G1ZD5ST0KF158086   GM           MALIBU               TAMPA                    FL
21322   1G1ZD5ST0KF158170   GM           MALIBU               San Diego                CA
21323   1G1ZD5ST0KF158234   GM           MALIBU               SAN FRANCISCO            CA
21324   1G1ZD5ST0KF158394   GM           MALIBU               Detroit                  MI
21325   1G1ZD5ST0KF158413   GM           MALIBU               WEST PALM BEACH          FL
21326   1G1ZD5ST0KF158539   GM           MALIBU               ORLANDO                  FL
21327   1G1ZD5ST0KF158749   GM           MALIBU               WEST PALM BEACH          FL
21328   1G1ZD5ST0KF158752   GM           MALIBU               PHOENIX                  AZ
21329   1G1ZD5ST0KF158878   GM           MALIBU               SAN DIEGO                CA
21330   1G1ZD5ST0KF158931   GM           MALIBU               DAYTONA BEACH            FL
21331   1G1ZD5ST0KF159674   GM           MALIBU               FORT MYERS               FL
21332   1G1ZD5ST0KF159769   GM           MALIBU               JACKSONVILLE             FL
21333   1G1ZD5ST0KF160002   GM           MALIBU               TAMPA                    FL
21334   1G1ZD5ST0KF160050   GM           MALIBU               ORLANDO                  FL
21335   1G1ZD5ST0KF160212   GM           MALIBU               Pittsburgh               PA
21336   1G1ZD5ST0KF160324   GM           MALIBU               Fresno                   CA
21337   1G1ZD5ST0KF160596   GM           MALIBU               SAVANNAH                 GA
21338   1G1ZD5ST0KF160646   GM           MALIBU               Hebron                   KY
21339   1G1ZD5ST0KF160856   GM           MALIBU               MIAMI                    FL
21340   1G1ZD5ST0KF160940   GM           MALIBU               TAMPA                    FL
21341   1G1ZD5ST0KF161036   GM           MALIBU               STERLING                 VA
21342   1G1ZD5ST0KF161134   GM           MALIBU               FORT LAUDERDALE          FL
21343   1G1ZD5ST0KF161487   GM           MALIBU               SARASOTA                 FL
21344   1G1ZD5ST0KF161537   GM           MALIBU               ORLANDO                  FL
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21345   1G1ZD5ST0KF161585   GM           MALIBU               ORLANDO                  FL
21346   1G1ZD5ST0KF161635   GM           MALIBU               DENVER                   CO
21347   1G1ZD5ST0KF161652   GM           MALIBU               KENNER                   LA
21348   1G1ZD5ST0KF161733   GM           MALIBU               Atlanta                  GA
21349   1G1ZD5ST0KF161778   GM           MALIBU               MIAMI                    FL
21350   1G1ZD5ST0KF161845   GM           MALIBU               JACKSONVILLE             FL
21351   1G1ZD5ST0KF161909   GM           MALIBU               LAS VEGAS                NV
21352   1G1ZD5ST0KF161974   GM           MALIBU               DALLAS                   TX
21353   1G1ZD5ST0KF161988   GM           MALIBU               JACKSON                  MS
21354   1G1ZD5ST0KF162154   GM           MALIBU               ORLANDO                  FL
21355   1G1ZD5ST0KF162185   GM           MALIBU               WEST PALM BEACH          FL
21356   1G1ZD5ST0KF162378   GM           MALIBU               LOUISVILLE               KY
21357   1G1ZD5ST0KF162591   GM           MALIBU               EIGHT MILE               AL
21358   1G1ZD5ST0KF162624   GM           MALIBU               Atlanta                  GA
21359   1G1ZD5ST0KF162641   GM           MALIBU               Newark                   NJ
21360   1G1ZD5ST0KF162851   GM           MALIBU               WEST PALM BEACH          FL
21361   1G1ZD5ST0KF163076   GM           MALIBU               MIAMI                    FL
21362   1G1ZD5ST0KF163160   GM           MALIBU               Detroit                  MI
21363   1G1ZD5ST0KF163188   GM           MALIBU               DANIA BEACH              FL
21364   1G1ZD5ST0KF163241   GM           MALIBU               ATLANTA                  GA
21365   1G1ZD5ST0KF163269   GM           MALIBU               FORT LAUDERDALE          FL
21366   1G1ZD5ST0KF163384   GM           MALIBU               Syracuse                 NY
21367   1G1ZD5ST0KF163403   GM           MALIBU               FORT LAUDERDALE          FL
21368   1G1ZD5ST0KF163448   GM           MALIBU               TAMPA                    US
21369   1G1ZD5ST0KF163479   GM           MALIBU               FORT MYERS               FL
21370   1G1ZD5ST0KF163594   GM           MALIBU               MIAMI                    FL
21371   1G1ZD5ST0KF163627   GM           MALIBU               ATLANTA                  GA
21372   1G1ZD5ST0KF163630   GM           MALIBU               TAMPA                    FL
21373   1G1ZD5ST0KF163725   GM           MALIBU               Sanford                  FL
21374   1G1ZD5ST0KF164020   GM           MALIBU               PHOENIX                  AZ
21375   1G1ZD5ST0KF164079   GM           MALIBU               MIAMI                    FL
21376   1G1ZD5ST0KF164163   GM           MALIBU               SAVANNAH                 GA
21377   1G1ZD5ST0KF164227   GM           MALIBU               Cleveland                OH
21378   1G1ZD5ST0KF164440   GM           MALIBU               MIAMI                    FL
21379   1G1ZD5ST0KF164454   GM           MALIBU               FORT LAUDERDALE          FL
21380   1G1ZD5ST0KF164549   GM           MALIBU               TAMPA                    FL
21381   1G1ZD5ST0KF164681   GM           MALIBU               Albuquerque              NM
21382   1G1ZD5ST0KF164793   GM           MALIBU               TAMPA                    FL
21383   1G1ZD5ST0KF164843   GM           MALIBU               Houston                  TX
21384   1G1ZD5ST0KF165118   GM           MALIBU               MIAMI                    FL
21385   1G1ZD5ST0KF165121   GM           MALIBU               TAMPA                    FL
21386   1G1ZD5ST0KF165524   GM           MALIBU               WEST PALM BEACH          FL
21387   1G1ZD5ST0KF165622   GM           MALIBU               ORLANDO                  FL
21388   1G1ZD5ST0KF165636   GM           MALIBU               Ft. Myers                FL
21389   1G1ZD5ST0KF165684   GM           MALIBU               CLEVELAND                OH
21390   1G1ZD5ST0KF165927   GM           MALIBU               SEATTLE                  WA
21391   1G1ZD5ST0KF166074   GM           MALIBU               Atlanta                  GA
21392   1G1ZD5ST0KF166110   GM           MALIBU               Springfield              MO
21393   1G1ZD5ST0KF166561   GM           MALIBU               JACKSONVILLE             FL
21394   1G1ZD5ST0KF166866   GM           MALIBU               ORLANDO                  FL
21395   1G1ZD5ST0KF167032   GM           MALIBU               ORLANDO                  FL
21396   1G1ZD5ST0KF167080   GM           MALIBU               Riverside                CA
21397   1G1ZD5ST0KF167192   GM           MALIBU               WEST PALM BEACH          FL
21398   1G1ZD5ST0KF167211   GM           MALIBU               Hanover                  MD
21399   1G1ZD5ST0KF167256   GM           MALIBU               San Diego                CA
21400   1G1ZD5ST0KF167404   GM           MALIBU               FORT MYERS               FL
21401   1G1ZD5ST0KF167502   GM           MALIBU               Atlanta                  GA
21402   1G1ZD5ST0KF167564   GM           MALIBU               Houston                  TX
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21403   1G1ZD5ST0KF167693   GM           MALIBU               ORLANDO                  FL
21404   1G1ZD5ST0KF167743   GM           MALIBU               Slidell                  LA
21405   1G1ZD5ST0KF167872   GM           MALIBU               KENNER                   LA
21406   1G1ZD5ST0KF167905   GM           MALIBU               GAINESVILLE              FL
21407   1G1ZD5ST0KF168892   GM           MALIBU               DES MOINES               IA
21408   1G1ZD5ST0KF169301   GM           MALIBU               Winter Park              FL
21409   1G1ZD5ST0KF169458   GM           MALIBU               TAMPA                    FL
21410   1G1ZD5ST0KF169797   GM           MALIBU               Kansas City              MO
21411   1G1ZD5ST0KF169976   GM           MALIBU               Tampa                    FL
21412   1G1ZD5ST0KF170125   GM           MALIBU               Hebron                   KY
21413   1G1ZD5ST0KF170836   GM           MALIBU               NAPLES                   FL
21414   1G1ZD5ST0KF171100   GM           MALIBU               Ft. Myers                FL
21415   1G1ZD5ST0KF171212   GM           MALIBU               TAMPA                    FL
21416   1G1ZD5ST0KF172554   GM           MALIBU               HOUSTON                  TX
21417   1G1ZD5ST0KF174286   GM           MALIBU               Atlanta                  GA
21418   1G1ZD5ST0KF175521   GM           MALIBU               Jacksonville             FL
21419   1G1ZD5ST0KF175566   GM           MALIBU               ATLANTA                  GA
21420   1G1ZD5ST0KF175745   GM           MALIBU               Hebron                   KY
21421   1G1ZD5ST0KF175910   GM           MALIBU               Houston                  TX
21422   1G1ZD5ST0KF176930   GM           MALIBU               Hamilton                 OH
21423   1G1ZD5ST0KF177253   GM           MALIBU               Tampa                    FL
21424   1G1ZD5ST0KF177298   GM           MALIBU               ATLANTA                  GA
21425   1G1ZD5ST0KF177348   GM           MALIBU               DETROIT                  MI
21426   1G1ZD5ST0KF177401   GM           MALIBU               Slidell                  LA
21427   1G1ZD5ST0KF177995   GM           MALIBU               JACKSONVILLE             FL
21428   1G1ZD5ST0KF178337   GM           MALIBU               KNOXVILLE                TN
21429   1G1ZD5ST0KF178774   GM           MALIBU               CLEVELAND                OH
21430   1G1ZD5ST0KF178919   GM           MALIBU               SOUTH BEND               IN
21431   1G1ZD5ST0KF179228   GM           MALIBU               Kansas City              MO
21432   1G1ZD5ST0KF179407   GM           MALIBU               Winter Park              FL
21433   1G1ZD5ST0KF180217   GM           MALIBU               Medford                  NY
21434   1G1ZD5ST0KF180668   GM           MALIBU               Nashville                TN
21435   1G1ZD5ST0KF180704   GM           MALIBU               INDIANAPOLIS             IN
21436   1G1ZD5ST0KF181934   GM           MALIBU               ORLANDO                  FL
21437   1G1ZD5ST0KF182565   GM           MALIBU               Fairburn                 GA
21438   1G1ZD5ST0KF183263   GM           MALIBU               BIRMINGHAM               AL
21439   1G1ZD5ST0KF183571   GM           MALIBU               CHICAGO                  IL
21440   1G1ZD5ST0KF183585   GM           MALIBU               Austell                  GA
21441   1G1ZD5ST0KF184056   GM           MALIBU               Springfield              MO
21442   1G1ZD5ST0KF184624   GM           MALIBU               INDIANAPOLIS             IN
21443   1G1ZD5ST0KF184784   GM           MALIBU               ALLENTOWN                US
21444   1G1ZD5ST0KF185532   GM           MALIBU               MEMPHIS                  TN
21445   1G1ZD5ST0KF186454   GM           MALIBU               Mobile                   AL
21446   1G1ZD5ST0KF186759   GM           MALIBU               JACKSON                  MS
21447   1G1ZD5ST0KF194327   GM           MALIBU               Rio Linda                CA
21448   1G1ZD5ST0KF195106   GM           MALIBU               Portland                 OR
21449   1G1ZD5ST0KF214656   GM           MALIBU               Kansas City              MO
21450   1G1ZD5ST0LF031713   GM           MALIBU               Houston                  TX
21451   1G1ZD5ST0LF032411   GM           MALIBU               HUEYTOWN                 AL
21452   1G1ZD5ST0LF054425   GM           MALIBU               FORT MYERS               FL
21453   1G1ZD5ST0LF057745   GM           MALIBU               LIHUE                    HI
21454   1G1ZD5ST0LF061276   GM           MALIBU               Oklahoma City            OK
21455   1G1ZD5ST0LF093760   GM           MALIBU               FORT MYERS               FL
21456   1G1ZD5ST0LF094004   GM           MALIBU               Tulsa                    OK
21457   1G1ZD5ST0LF096982   GM           MALIBU               FORT MYERS               FL
21458   1G1ZD5ST0LF097226   GM           MALIBU               FORT MYERS               FL
21459   1G1ZD5ST0LF098926   GM           MALIBU               FORT MYERS               FL
21460   1G1ZD5ST0LF100304   GM           MALIBU               Hayward                  CA
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21461   1G1ZD5ST1JF121921   GM           MALIBU               DENVER                   CO
21462   1G1ZD5ST1JF127668   GM           CRUZE                Carol Stream             IL
21463   1G1ZD5ST1JF128738   GM           MALIBU               North Las Vegas          NV
21464   1G1ZD5ST1JF128822   GM           CRUZE                Rio Linda                CA
21465   1G1ZD5ST1JF131445   GM           CRUZE                WILMINGTON               CA
21466   1G1ZD5ST1JF131526   GM           CRUZE                PHOENIX                  AZ
21467   1G1ZD5ST1JF133356   GM           CRUZE                Tampa                    FL
21468   1G1ZD5ST1JF133387   GM           CRUZE                NORTH PAC                CA
21469   1G1ZD5ST1JF133521   GM           CRUZE                PHILADELPHIA             PA
21470   1G1ZD5ST1JF133583   GM           CRUZE                LOS ANGELES              CA
21471   1G1ZD5ST1JF133664   GM           CRUZE                NORTH PAC                CA
21472   1G1ZD5ST1JF133700   GM           CRUZE                BURBANK                  CA
21473   1G1ZD5ST1JF133910   GM           CRUZE                SANTA ANA                CA
21474   1G1ZD5ST1JF133972   GM           CRUZE                BURBANK                  CA
21475   1G1ZD5ST1JF135012   GM           CRUZE                ROSEVILLE                CA
21476   1G1ZD5ST1JF135124   GM           CRUZE                San Diego                CA
21477   1G1ZD5ST1JF135799   GM           CRUZE                NORTH PAC                CA
21478   1G1ZD5ST1JF135950   GM           CRUZE                Grove City               OH
21479   1G1ZD5ST1JF137388   GM           CRUZE                ENGLEWOOD                CO
21480   1G1ZD5ST1JF137973   GM           CRUZE                SEATAC                   WA
21481   1G1ZD5ST1JF138332   GM           CRUZE                Dallas                   TX
21482   1G1ZD5ST1JF138492   GM           CRUZE                STERLING                 VA
21483   1G1ZD5ST1JF138573   GM           CRUZE                SAN JOSE                 CA
21484   1G1ZD5ST1JF138928   GM           CRUZE                Fredericksburg           VA
21485   1G1ZD5ST1JF139125   GM           CRUZE                DENVER                   CO
21486   1G1ZD5ST1JF139559   GM           CRUZE                SAN JOSE                 CA
21487   1G1ZD5ST1JF140078   GM           CRUZE                LOS ANGELES              CA
21488   1G1ZD5ST1JF140260   GM           CRUZE                CHARLOTTE                NC
21489   1G1ZD5ST1JF140999   GM           CRUZE                Dallas                   TX
21490   1G1ZD5ST1JF141439   GM           CRUZE                LOS ANGELES              CA
21491   1G1ZD5ST1JF144258   GM           CRUZE                Fontana                  CA
21492   1G1ZD5ST1JF144504   GM           CRUZE                NEW YORK DEALER DI       NJ
21493   1G1ZD5ST1JF145054   GM           CRUZE                BOSTON                   MA
21494   1G1ZD5ST1JF145071   GM           CRUZE                STERLING                 VA
21495   1G1ZD5ST1JF145717   GM           CRUZE                GLEN BURNIE              MD
21496   1G1ZD5ST1JF145815   GM           CRUZE                Atlanta                  GA
21497   1G1ZD5ST1JF145975   GM           CRUZE                Tampa                    FL
21498   1G1ZD5ST1JF149038   GM           CRUZE                Atlanta                  GA
21499   1G1ZD5ST1JF149301   GM           CRUZE                Hanover                  MD
21500   1G1ZD5ST1JF149444   GM           CRUZE                Atlanta                  GA
21501   1G1ZD5ST1JF149685   GM           CRUZE                DANIA BEACH              FL
21502   1G1ZD5ST1JF149721   GM           CRUZE                North Dighton            MA
21503   1G1ZD5ST1JF150013   GM           CRUZE                LAS VEGAS                NV
21504   1G1ZD5ST1JF150092   GM           CRUZE                MEDINA                   OH
21505   1G1ZD5ST1JF150173   GM           CRUZE                EAST BOSTON              MA
21506   1G1ZD5ST1JF150237   GM           CRUZE                Denver                   CO
21507   1G1ZD5ST1JF150626   GM           CRUZE                RICHMOND                 VA
21508   1G1ZD5ST1JF150996   GM           CRUZE                PHILADELPHIA             PA
21509   1G1ZD5ST1JF151193   GM           CRUZE                STERLING                 VA
21510   1G1ZD5ST1JF151386   GM           CRUZE                ORLANDO                  FL
21511   1G1ZD5ST1JF151761   GM           CRUZE                North Dighton            MA
21512   1G1ZD5ST1JF151937   GM           CRUZE                SAN DIEGO                CA
21513   1G1ZD5ST1JF152103   GM           CRUZE                ONTARIO                  CA
21514   1G1ZD5ST1JF152974   GM           CRUZE                DALLAS                   TX
21515   1G1ZD5ST1JF154241   GM           CRUZE                MORROW                   GA
21516   1G1ZD5ST1JF154269   GM           CRUZE                So. San Francis          CA
21517   1G1ZD5ST1JF154997   GM           CRUZE                LAS VEGAS                NV
21518   1G1ZD5ST1JF155762   GM           CRUZE                Burlingame               CA
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21519   1G1ZD5ST1JF155826   GM           CRUZE                NORTH PAC                CA
21520   1G1ZD5ST1JF157236   GM           CRUZE                SAN JOSE                 CA
21521   1G1ZD5ST1JF157365   GM           CRUZE                HARVEY                   LA
21522   1G1ZD5ST1JF157513   GM           CRUZE                MORROW                   GA
21523   1G1ZD5ST1JF157656   GM           CRUZE                LOS ANGELES              CA
21524   1G1ZD5ST1JF158404   GM           CRUZE                PHILADELPHIA             PA
21525   1G1ZD5ST1JF159102   GM           CRUZE                Austin                   TX
21526   1G1ZD5ST1JF159732   GM           CRUZE                Elkridge                 MD
21527   1G1ZD5ST1JF159844   GM           CRUZE                Miami                    FL
21528   1G1ZD5ST1JF159911   GM           CRUZE                Phoenix                  AZ
21529   1G1ZD5ST1JF160105   GM           CRUZE                Winter Park              FL
21530   1G1ZD5ST1JF160718   GM           CRUZE                Salt Lake City           UT
21531   1G1ZD5ST1JF160749   GM           CRUZE                LOS ANGELES              CA
21532   1G1ZD5ST1JF160895   GM           CRUZE                STERLING                 VA
21533   1G1ZD5ST1JF161108   GM           CRUZE                SANTA ANA                CA
21534   1G1ZD5ST1JF166907   GM           CRUZE                Cleveland                OH
21535   1G1ZD5ST1JF168513   GM           CRUZE                WEST PALM BEACH          FL
21536   1G1ZD5ST1JF169354   GM           CRUZE                LAS VEGAS                NV
21537   1G1ZD5ST1JF169452   GM           CRUZE                North Dighton            MA
21538   1G1ZD5ST1JF172416   GM           CRUZE                North Dighton            MA
21539   1G1ZD5ST1JF173341   GM           CRUZE                MORROW                   GA
21540   1G1ZD5ST1JF174232   GM           CRUZE                Miami                    FL
21541   1G1ZD5ST1JF174246   GM           CRUZE                Miami                    FL
21542   1G1ZD5ST1JF175770   GM           MALIBU               BURBANK                  CA
21543   1G1ZD5ST1JF175851   GM           MALIBU               Manheim                  PA
21544   1G1ZD5ST1JF176157   GM           CRUZE                Portland                 OR
21545   1G1ZD5ST1JF178023   GM           CRUZE                DENVER                   CO
21546   1G1ZD5ST1JF180919   GM           CRUZE                COLLEGE PARK             GA
21547   1G1ZD5ST1JF181911   GM           CRUZE                Philadelphia             PA
21548   1G1ZD5ST1JF181990   GM           CRUZE                Kent                     WA
21549   1G1ZD5ST1JF182248   GM           CRUZE                Fontana                  CA
21550   1G1ZD5ST1JF183609   GM           CRUZE                Tampa                    FL
21551   1G1ZD5ST1JF183660   GM           CRUZE                Sacramento               CA
21552   1G1ZD5ST1JF184064   GM           CRUZE                Hendersonville           TN
21553   1G1ZD5ST1JF184243   GM           CRUZE                PHILADELPHIA             PA
21554   1G1ZD5ST1JF184646   GM           CRUZE                Aurora                   CO
21555   1G1ZD5ST1JF187417   GM           CRUZE                BURBANK                  CA
21556   1G1ZD5ST1JF188082   GM           CRUZE                NORTH PAC                CA
21557   1G1ZD5ST1JF191290   GM           CRUZE                BURBANK                  CA
21558   1G1ZD5ST1JF192696   GM           MALIBU               OAKLAND                  CA
21559   1G1ZD5ST1JF198286   GM           MALIBU               SEATAC                   WA
21560   1G1ZD5ST1JF198336   GM           CRUZE                SANTA ANA                CA
21561   1G1ZD5ST1JF198577   GM           CRUZE                PITTSBURGH               PA
21562   1G1ZD5ST1JF198823   GM           CRUZE                BURBANK                  CA
21563   1G1ZD5ST1JF201994   GM           CRUZE                S. San Francisc          CA
21564   1G1ZD5ST1JF202112   GM           CRUZE                Roseville                CA
21565   1G1ZD5ST1JF202630   GM           CRUZE                SAN FRANCISCO            CA
21566   1G1ZD5ST1JF206564   GM           CRUZE                Hayward                  CA
21567   1G1ZD5ST1JF206953   GM           CRUZE                Las Vegas                NV
21568   1G1ZD5ST1JF206998   GM           MALIBU               North Dighton            MA
21569   1G1ZD5ST1JF209996   GM           MALIBU               Hamilton                 OH
21570   1G1ZD5ST1JF211795   GM           CRUZE                Stockton                 CA
21571   1G1ZD5ST1JF212462   GM           CRUZE                Kent                     WA
21572   1G1ZD5ST1JF213692   GM           CRUZE                OAKLAND                  CA
21573   1G1ZD5ST1JF213921   GM           CRUZE                SAN DIEGO                CA
21574   1G1ZD5ST1JF215975   GM           CRUZE                DES MOINES               IA
21575   1G1ZD5ST1JF216687   GM           CRUZE                Slidell                  LA
21576   1G1ZD5ST1JF217788   GM           CRUZE                Chicago                  IL
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21577   1G1ZD5ST1JF218195   GM           CRUZE                SEA TAC                  WA
21578   1G1ZD5ST1JF218522   GM           CRUZE                San Diego                CA
21579   1G1ZD5ST1JF218620   GM           CRUZE                SAN DIEGO                US
21580   1G1ZD5ST1JF218908   GM           CRUZE                SAN FRANCISCO            CA
21581   1G1ZD5ST1JF219119   GM           CRUZE                PHOENIX                  AZ
21582   1G1ZD5ST1JF219573   GM           CRUZE                Beaverton                OR
21583   1G1ZD5ST1JF220061   GM           CRUZE                BURBANK                  CA
21584   1G1ZD5ST1JF220402   GM           CRUZE                SAN DIEGO                CA
21585   1G1ZD5ST1JF221047   GM           CRUZE                NORTH PAC                CA
21586   1G1ZD5ST1JF221663   GM           CRUZE                SOUTH SAN FRANC          CA
21587   1G1ZD5ST1JF221811   GM           CRUZE                Ocoee                    FL
21588   1G1ZD5ST1JF222070   GM           CRUZE                BURBANK                  CA
21589   1G1ZD5ST1JF223638   GM           CRUZE                LOS ANGELES              CA
21590   1G1ZD5ST1JF225017   GM           CRUZE                BURBANK                  CA
21591   1G1ZD5ST1JF225888   GM           CRUZE                NORTH PAC                CA
21592   1G1ZD5ST1JF226099   GM           CRUZE                STERLING                 VA
21593   1G1ZD5ST1JF226197   GM           CRUZE                LOS ANGELES              CA
21594   1G1ZD5ST1JF226572   GM           CRUZE                SANTA ANA                CA
21595   1G1ZD5ST1JF226958   GM           CRUZE                LAS VEGAS                NV
21596   1G1ZD5ST1JF227060   GM           CRUZE                WARWICK                  RI
21597   1G1ZD5ST1JF227575   GM           CRUZE                BURBANK                  CA
21598   1G1ZD5ST1JF227687   GM           CRUZE                ALBUQERQUE               NM
21599   1G1ZD5ST1JF232209   GM           CRUZE                SARASOTA                 FL
21600   1G1ZD5ST1JF232419   GM           CRUZE                Baltimore                MD
21601   1G1ZD5ST1JF232422   GM           CRUZE                GLENOLDEN                PA
21602   1G1ZD5ST1JF233439   GM           CRUZE                LAS VEGAS                NV
21603   1G1ZD5ST1JF233974   GM           CRUZE                TAMPA                    FL
21604   1G1ZD5ST1JF234705   GM           CRUZE                DENVER                   CO
21605   1G1ZD5ST1JF234817   GM           CRUZE                SAVANNAH                 GA
21606   1G1ZD5ST1JF234834   GM           CRUZE                FORT LAUDERDALE          FL
21607   1G1ZD5ST1JF234901   GM           CRUZE                Miami                    FL
21608   1G1ZD5ST1JF235160   GM           CRUZE                NORFOLK                  VA
21609   1G1ZD5ST1JF235448   GM           CRUZE                Newark                   NJ
21610   1G1ZD5ST1JF235451   GM           CRUZE                Charlotte                NC
21611   1G1ZD5ST1JF235871   GM           CRUZE                Cleveland                OH
21612   1G1ZD5ST1JF235952   GM           CRUZE                SOUTHEAST DST OFFC       OK
21613   1G1ZD5ST1JF236146   GM           CRUZE                RICHMOND                 VA
21614   1G1ZD5ST1JF236177   GM           CRUZE                Manheim                  PA
21615   1G1ZD5ST1JF236227   GM           CRUZE                MIAMI                    FL
21616   1G1ZD5ST1JF236437   GM           CRUZE                MEDINA                   OH
21617   1G1ZD5ST1JF236518   GM           CRUZE                FRESNO HLE               CA
21618   1G1ZD5ST1JF236566   GM           CRUZE                SAN JOSE                 CA
21619   1G1ZD5ST1JF236583   GM           CRUZE                Tolleson                 AZ
21620   1G1ZD5ST1JF236762   GM           CRUZE                BURBANK                  CA
21621   1G1ZD5ST1JF236891   GM           CRUZE                LOS ANGELES              CA
21622   1G1ZD5ST1JF236924   GM           CRUZE                NORTH PAC                CA
21623   1G1ZD5ST1JF237054   GM           CRUZE                NORTH PAC                CA
21624   1G1ZD5ST1JF237152   GM           CRUZE                BURBANK                  CA
21625   1G1ZD5ST1JF237281   GM           CRUZE                Tolleson                 AZ
21626   1G1ZD5ST1JF237331   GM           CRUZE                Stone Mountain           GA
21627   1G1ZD5ST1JF237698   GM           CRUZE                Salt Lake City           UT
21628   1G1ZD5ST1JF237877   GM           CRUZE                Manheim                  PA
21629   1G1ZD5ST1JF238009   GM           CRUZE                NORTH HOLLYWOOD          CA
21630   1G1ZD5ST1JF238155   GM           CRUZE                Portland                 OR
21631   1G1ZD5ST1JF238205   GM           CRUZE                Stockton                 CA
21632   1G1ZD5ST1JF238236   GM           CRUZE                LOS ANGELES              CA
21633   1G1ZD5ST1JF238432   GM           CRUZE                FORT MYERS               FL
21634   1G1ZD5ST1JF238978   GM           CRUZE                Torrance                 CA
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21635   1G1ZD5ST1JF239239   GM           CRUZE                BURBANK                      CA
21636   1G1ZD5ST1JF239418   GM           CRUZE                BURBANK                      CA
21637   1G1ZD5ST1JF240147   GM           CRUZE                BOSTON                       MA
21638   1G1ZD5ST1JF240598   GM           CRUZE                Davie                        FL
21639   1G1ZD5ST1JF240813   GM           CRUZE                Dallas                       TX
21640   1G1ZD5ST1JF240889   GM           CRUZE                Clarksville                  IN
21641   1G1ZD5ST1JF241170   GM           CRUZE                BURBANK                      CA
21642   1G1ZD5ST1JF241797   GM           CRUZE                Atlanta                      GA
21643   1G1ZD5ST1JF241914   GM           CRUZE                WASHINGTON DC, NATIONAL AP   DC
21644   1G1ZD5ST1JF242061   GM           CRUZE                Houston                      TX
21645   1G1ZD5ST1JF242657   GM           CRUZE                Fontana                      CA
21646   1G1ZD5ST1JF242710   GM           CRUZE                Newark                       NJ
21647   1G1ZD5ST1JF242979   GM           CRUZE                South San Franc              CA
21648   1G1ZD5ST1JF243131   GM           CRUZE                Atlanta                      GA
21649   1G1ZD5ST1JF243193   GM           CRUZE                NEW BERN                     NC
21650   1G1ZD5ST1JF243212   GM           CRUZE                Tolleson                     AZ
21651   1G1ZD5ST1JF243310   GM           CRUZE                LOS ANGELES AP               CA
21652   1G1ZD5ST1JF243713   GM           CRUZE                Charlotte                    NC
21653   1G1ZD5ST1JF243999   GM           CRUZE                TULSA                        OK
21654   1G1ZD5ST1JF244019   GM           CRUZE                SAN DIEGO                    CA
21655   1G1ZD5ST1JF244358   GM           CRUZE                Orlando                      FL
21656   1G1ZD5ST1JF244425   GM           CRUZE                ST Paul                      MN
21657   1G1ZD5ST1JF244473   GM           CRUZE                Statesville                  NC
21658   1G1ZD5ST1JF244585   GM           CRUZE                ST Paul                      MN
21659   1G1ZD5ST1JF244604   GM           CRUZE                Hayward                      CA
21660   1G1ZD5ST1JF244649   GM           CRUZE                SARASOTA                     FL
21661   1G1ZD5ST1JF244652   GM           CRUZE                CHICAGO                      IL
21662   1G1ZD5ST1JF244683   GM           CRUZE                CHICAGO                      IL
21663   1G1ZD5ST1JF244814   GM           CRUZE                Charlotte                    NC
21664   1G1ZD5ST1JF244988   GM           CRUZE                SAN DIEGO                    CA
21665   1G1ZD5ST1JF245090   GM           CRUZE                BURBANK                      CA
21666   1G1ZD5ST1JF245106   GM           CRUZE                BURBANK                      CA
21667   1G1ZD5ST1JF245199   GM           CRUZE                Chicago                      IL
21668   1G1ZD5ST1JF245297   GM           CRUZE                Tolleson                     AZ
21669   1G1ZD5ST1JF245316   GM           CRUZE                Greensboro                   NC
21670   1G1ZD5ST1JF245655   GM           CRUZE                Salt Lake City               UT
21671   1G1ZD5ST1JF245784   GM           CRUZE                Irving                       TX
21672   1G1ZD5ST1JF245932   GM           CRUZE                SAN JOSE                     CA
21673   1G1ZD5ST1JF246028   GM           CRUZE                HANOVER                      MD
21674   1G1ZD5ST1JF246059   GM           CRUZE                Fredericksburg               VA
21675   1G1ZD5ST1JF246109   GM           CRUZE                SAN JOSE                     CA
21676   1G1ZD5ST1JF246269   GM           CRUZE                Rio Linda                    CA
21677   1G1ZD5ST1JF246336   GM           CRUZE                BIRMINGHAM                   AL
21678   1G1ZD5ST1JF246370   GM           CRUZE                CHARLOTTE                    NC
21679   1G1ZD5ST1JF246420   GM           CRUZE                FORT LAUDERDALE              FL
21680   1G1ZD5ST1JF246577   GM           CRUZE                CLEVELAND                    OH
21681   1G1ZD5ST1JF246708   GM           CRUZE                CHICAGO                      IL
21682   1G1ZD5ST1JF246742   GM           CRUZE                Rockville Centr              NY
21683   1G1ZD5ST1JF246899   GM           CRUZE                Louisville                   KY
21684   1G1ZD5ST1JF246949   GM           CRUZE                Atlanta                      GA
21685   1G1ZD5ST1JF246997   GM           CRUZE                Rio Linda                    CA
21686   1G1ZD5ST1JF247020   GM           CRUZE                LOS ANGELES                  CA
21687   1G1ZD5ST1JF247101   GM           CRUZE                Salt Lake City               UT
21688   1G1ZD5ST1JF247177   GM           CRUZE                STERLING                     VA
21689   1G1ZD5ST1JF247289   GM           CRUZE                HANOVER                      MD
21690   1G1ZD5ST1JF247339   GM           CRUZE                Torrance                     CA
21691   1G1ZD5ST1JF247406   GM           CRUZE                Ventura                      CA
21692   1G1ZD5ST1JF247423   GM           CRUZE                NEW BERN                     NC
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21693   1G1ZD5ST1JF247454   GM           CRUZE                Ft. Myers                FL
21694   1G1ZD5ST1JF247471   GM           CRUZE                ORLANDO                  FL
21695   1G1ZD5ST1JF247535   GM           CRUZE                LOS ANGELES              CA
21696   1G1ZD5ST1JF247647   GM           CRUZE                Manheim                  PA
21697   1G1ZD5ST1JF247650   GM           CRUZE                Hamilton                 OH
21698   1G1ZD5ST1JF247793   GM           CRUZE                SANFORD                  FL
21699   1G1ZD5ST1JF247888   GM           CRUZE                Hebron                   KY
21700   1G1ZD5ST1JF247986   GM           CRUZE                SAN FRANCISCO            CA
21701   1G1ZD5ST1JF248023   GM           CRUZE                MILWAUKEE                WI
21702   1G1ZD5ST1JF248068   GM           CRUZE                SAN FRANCISCO            CA
21703   1G1ZD5ST1JF248233   GM           CRUZE                SAN JOSE                 CA
21704   1G1ZD5ST1JF248281   GM           CRUZE                SAN DIEGO                CA
21705   1G1ZD5ST1JF248393   GM           CRUZE                Tolleson                 AZ
21706   1G1ZD5ST1JF248409   GM           MALIBU               DANIA BEACH              FL
21707   1G1ZD5ST1JF248426   GM           CRUZE                DES MOINES               IA
21708   1G1ZD5ST1JF248443   GM           CRUZE                RICHMOND                 VA
21709   1G1ZD5ST1JF248457   GM           CRUZE                Jacksonville             FL
21710   1G1ZD5ST1JF248538   GM           CRUZE                CLEVELAND                OH
21711   1G1ZD5ST1JF248555   GM           CRUZE                NORTHEAST DISTRICT       NJ
21712   1G1ZD5ST1JF248586   GM           CRUZE                Riverside                CA
21713   1G1ZD5ST1JF248605   GM           CRUZE                Los Angeles              CA
21714   1G1ZD5ST1JF248667   GM           CRUZE                Miami                    FL
21715   1G1ZD5ST1JF248703   GM           CRUZE                DALLAS                   TX
21716   1G1ZD5ST1JF248829   GM           CRUZE                Detroit                  MI
21717   1G1ZD5ST1JF248863   GM           CRUZE                DETROIT                  MI
21718   1G1ZD5ST1JF248894   GM           CRUZE                Torrance                 CA
21719   1G1ZD5ST1JF248927   GM           CRUZE                Atlanta                  GA
21720   1G1ZD5ST1JF248975   GM           CRUZE                NORTH PAC                CA
21721   1G1ZD5ST1JF248992   GM           CRUZE                FORT MYERS               FL
21722   1G1ZD5ST1JF249026   GM           CRUZE                LUBBOCK                  TX
21723   1G1ZD5ST1JF249186   GM           CRUZE                BURBANK                  CA
21724   1G1ZD5ST1JF249205   GM           CRUZE                BURBANK                  CA
21725   1G1ZD5ST1JF249219   GM           CRUZE                CHICAGO                  IL
21726   1G1ZD5ST1JF249253   GM           CRUZE                GREENSBORO               NC
21727   1G1ZD5ST1JF249298   GM           CRUZE                PHOENIX                  AZ
21728   1G1ZD5ST1JF249320   GM           CRUZE                FORT LAUDERDALE          FL
21729   1G1ZD5ST1JF249379   GM           CRUZE                Tolleson                 AZ
21730   1G1ZD5ST1JF249432   GM           CRUZE                Stone Mountain           GA
21731   1G1ZD5ST1JF249480   GM           CRUZE                DES MOINES               IA
21732   1G1ZD5ST1JF249589   GM           CRUZE                WEST PALM BEACH          FL
21733   1G1ZD5ST1JF249639   GM           CRUZE                NORWALK                  CA
21734   1G1ZD5ST1JF249642   GM           CRUZE                STERLING                 VA
21735   1G1ZD5ST1JF249687   GM           CRUZE                Greensboro               NC
21736   1G1ZD5ST1JF249754   GM           CRUZE                HANOVER                  MD
21737   1G1ZD5ST1JF249804   GM           CRUZE                BURBANK                  CA
21738   1G1ZD5ST1JF249902   GM           CRUZE                SACRAMENTO               CA
21739   1G1ZD5ST1JF249964   GM           CRUZE                LAS VEGAS                NV
21740   1G1ZD5ST1JF249995   GM           CRUZE                FAYETTEVILLE             GA
21741   1G1ZD5ST1JF250029   GM           CRUZE                CHARLOTTE                NC
21742   1G1ZD5ST1JF250113   GM           CRUZE                BIRMINGHAN               AL
21743   1G1ZD5ST1JF250127   GM           CRUZE                BURBANK                  CA
21744   1G1ZD5ST1JF250189   GM           CRUZE                Norwalk                  CA
21745   1G1ZD5ST1JF250242   GM           CRUZE                MEDFORD                  MA
21746   1G1ZD5ST1JF250287   GM           CRUZE                NORTH PAC                CA
21747   1G1ZD5ST1JF250323   GM           CRUZE                WEST PALM BEACH          FL
21748   1G1ZD5ST1JF250368   GM           CRUZE                NEW ENGLAND DEALER       MA
21749   1G1ZD5ST1JF250435   GM           CRUZE                SAN FRANCISCO            CA
21750   1G1ZD5ST1JF250452   GM           CRUZE                BURBANK                  CA
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21751   1G1ZD5ST1JF250483   GM           CRUZE                CHARLOTTE                NC
21752   1G1ZD5ST1JF250693   GM           CRUZE                Charlotte                NC
21753   1G1ZD5ST1JF250726   GM           CRUZE                SAINT LOUIS              MO
21754   1G1ZD5ST1JF250788   GM           CRUZE                CHICAGO                  IL
21755   1G1ZD5ST1JF251116   GM           CRUZE                Hattiesburg              MS
21756   1G1ZD5ST1JF251178   GM           CRUZE                Warr Acres               OK
21757   1G1ZD5ST1JF251407   GM           CRUZE                WEST PALM BEACH          FL
21758   1G1ZD5ST1JF251522   GM           CRUZE                Fredericksburg           VA
21759   1G1ZD5ST1JF251651   GM           CRUZE                BURBANK                  CA
21760   1G1ZD5ST1JF251777   GM           CRUZE                SEATAC                   WA
21761   1G1ZD5ST1JF251813   GM           CRUZE                SARASOTA                 FL
21762   1G1ZD5ST1JF251942   GM           CRUZE                BLOOMINGTON              IL
21763   1G1ZD5ST1JF252539   GM           CRUZE                Austell                  GA
21764   1G1ZD5ST1JF252590   GM           CRUZE                DENVER                   CO
21765   1G1ZD5ST1JF252914   GM           CRUZE                Tampa                    FL
21766   1G1ZD5ST1JF253027   GM           CRUZE                DENVER                   CO
21767   1G1ZD5ST1JF253092   GM           CRUZE                ALLENTOWN                US
21768   1G1ZD5ST1JF253335   GM           CRUZE                Detroit                  MI
21769   1G1ZD5ST1JF253562   GM           CRUZE                Cleveland                OH
21770   1G1ZD5ST1JF253836   GM           CRUZE                HOUSTON                  TX
21771   1G1ZD5ST1JF253870   GM           CRUZE                Bridgeton                MO
21772   1G1ZD5ST1JF254033   GM           CRUZE                Hamilton                 OH
21773   1G1ZD5ST1JF254078   GM           CRUZE                HANOVER                  MD
21774   1G1ZD5ST1JF254081   GM           CRUZE                TUCSON                   AZ
21775   1G1ZD5ST1JF254159   GM           CRUZE                NORTH PAC                CA
21776   1G1ZD5ST1JF254601   GM           CRUZE                STERLING                 VA
21777   1G1ZD5ST1JF254615   GM           CRUZE                FORT LAUDERDALE          FL
21778   1G1ZD5ST1JF254744   GM           CRUZE                FORT MYERS               FL
21779   1G1ZD5ST1JF254839   GM           CRUZE                NOTTINGHAM               MD
21780   1G1ZD5ST1JF254954   GM           CRUZE                LOS ANGELES              CA
21781   1G1ZD5ST1JF255201   GM           CRUZE                BURBANK                  CA
21782   1G1ZD5ST1JF255215   GM           CRUZE                BURBANK                  CA
21783   1G1ZD5ST1JF255747   GM           CRUZE                Aurora                   CO
21784   1G1ZD5ST1JF255778   GM           CRUZE                BURBANK                  CA
21785   1G1ZD5ST1JF255991   GM           MALIBU               FORT MYERS               FL
21786   1G1ZD5ST1JF256011   GM           CRUZE                Baltimore                MD
21787   1G1ZD5ST1JF256235   GM           CRUZE                Dallas                   TX
21788   1G1ZD5ST1JF256252   GM           CRUZE                Statesville              NC
21789   1G1ZD5ST1JF256350   GM           CRUZE                North Las Vegas          NV
21790   1G1ZD5ST1JF256395   GM           CRUZE                glendale                 ca
21791   1G1ZD5ST1JF256428   GM           CRUZE                Fontana                  CA
21792   1G1ZD5ST1JF256493   GM           CRUZE                LOS ANGELES              CA
21793   1G1ZD5ST1JF256543   GM           CRUZE                Atlanta                  GA
21794   1G1ZD5ST1JF256641   GM           CRUZE                Statesville              NC
21795   1G1ZD5ST1JF257286   GM           CRUZE                HARTFORD                 CT
21796   1G1ZD5ST1JF257434   GM           CRUZE                Miami                    FL
21797   1G1ZD5ST1JF257546   GM           CRUZE                PHOENIX                  AZ
21798   1G1ZD5ST1JF257580   GM           CRUZE                DALLAS                   TX
21799   1G1ZD5ST1JF257773   GM           CRUZE                ORLANDO                  FL
21800   1G1ZD5ST1JF257837   GM           CRUZE                Buena Park               CA
21801   1G1ZD5ST1JF257854   GM           CRUZE                GRAND RAPIDS             MI
21802   1G1ZD5ST1JF257935   GM           CRUZE                MEDINA                   OH
21803   1G1ZD5ST1JF258714   GM           CRUZE                Sacramento               CA
21804   1G1ZD5ST1JF259006   GM           CRUZE                Mira Loma                CA
21805   1G1ZD5ST1JF259247   GM           CRUZE                SAN JOSE                 CA
21806   1G1ZD5ST1JF259572   GM           CRUZE                Santa Clara              CA
21807   1G1ZD5ST1JF260236   GM           CRUZE                Portland                 OR
21808   1G1ZD5ST1JF260589   GM           CRUZE                Burien                   WA
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21809   1G1ZD5ST1JF260804   GM           CRUZE                SACRAMENTO               CA
21810   1G1ZD5ST1JF260852   GM           CRUZE                BURBANK                  CA
21811   1G1ZD5ST1JF260866   GM           CRUZE                DAYTONA BEACH            FL
21812   1G1ZD5ST1JF261063   GM           CRUZE                South San Franc          CA
21813   1G1ZD5ST1JF261760   GM           CRUZE                Hayward                  CA
21814   1G1ZD5ST1JF261791   GM           CRUZE                ROSEVILLE                CA
21815   1G1ZD5ST1JF262309   GM           CRUZE                WEST PALM BEACH          FL
21816   1G1ZD5ST1JF262441   GM           CRUZE                NORTH PAC                CA
21817   1G1ZD5ST1JF262469   GM           CRUZE                SAN FRANCISCO            CA
21818   1G1ZD5ST1JF262567   GM           CRUZE                Dallas                   TX
21819   1G1ZD5ST1JF262763   GM           CRUZE                NORTH PAC                CA
21820   1G1ZD5ST1JF262889   GM           CRUZE                OAKLAND                  CA
21821   1G1ZD5ST1JF263217   GM           CRUZE                INDIANAPOLIS             IN
21822   1G1ZD5ST1JF263282   GM           CRUZE                STERLING                 VA
21823   1G1ZD5ST1JF263301   GM           CRUZE                Chicago                  IL
21824   1G1ZD5ST1JF263329   GM           CRUZE                Stockton                 CA
21825   1G1ZD5ST1JF263587   GM           CRUZE                Warminster               PA
21826   1G1ZD5ST1JF263671   GM           CRUZE                Irving                   TX
21827   1G1ZD5ST1JF263833   GM           CRUZE                Fredericksburg           VA
21828   1G1ZD5ST1JF263878   GM           CRUZE                SAN JOSE                 CA
21829   1G1ZD5ST1JF264240   GM           CRUZE                SACRAMENTO               CA
21830   1G1ZD5ST1JF264559   GM           CRUZE                Manheim                  PA
21831   1G1ZD5ST1JF264674   GM           CRUZE                SEATAC                   WA
21832   1G1ZD5ST1JF265565   GM           CRUZE                SOUTH SAN FRANC          CA
21833   1G1ZD5ST1JF266411   GM           CRUZE                ORLANDO                  FL
21834   1G1ZD5ST1JF266506   GM           CRUZE                SPRINGFIELD              VA
21835   1G1ZD5ST1JF266618   GM           CRUZE                LOS ANGELES              CA
21836   1G1ZD5ST1JF266814   GM           CRUZE                Warr Acres               OK
21837   1G1ZD5ST1JF266909   GM           CRUZE                FORT MYERS               FL
21838   1G1ZD5ST1JF266912   GM           CRUZE                Roseville                CA
21839   1G1ZD5ST1JF267364   GM           CRUZE                SAN DIEGO                CA
21840   1G1ZD5ST1JF267543   GM           CRUZE                NOTTINGHAM               MD
21841   1G1ZD5ST1JF268210   GM           CRUZE                OKLAHOMA CITY            OK
21842   1G1ZD5ST1JF268286   GM           CRUZE                TAMPA                    FL
21843   1G1ZD5ST1JF268322   GM           CRUZE                Palm Springs             CA
21844   1G1ZD5ST1JF268529   GM           CRUZE                BOSTON                   MA
21845   1G1ZD5ST1JF268644   GM           CRUZE                TAMPA                    FL
21846   1G1ZD5ST1JF268806   GM           CRUZE                BURBANK                  CA
21847   1G1ZD5ST1JF270233   GM           CRUZE                STERLING                 VA
21848   1G1ZD5ST1JF270295   GM           CRUZE                BURBANK                  CA
21849   1G1ZD5ST1JF270409   GM           CRUZE                San Francisco            CA
21850   1G1ZD5ST1JF270524   GM           CRUZE                RENO                     NV
21851   1G1ZD5ST1JF270684   GM           CRUZE                TAMPA                    FL
21852   1G1ZD5ST1JF270751   GM           CRUZE                North Las Vegas          NV
21853   1G1ZD5ST1JF270782   GM           CRUZE                SACRAMENTO               CA
21854   1G1ZD5ST1JF270913   GM           CRUZE                Beaverton                OR
21855   1G1ZD5ST1JF271043   GM           CRUZE                Detroit                  MI
21856   1G1ZD5ST1JF271186   GM           CRUZE                Greer                    SC
21857   1G1ZD5ST1JF271236   GM           CRUZE                SAN JOSE                 CA
21858   1G1ZD5ST1JF271298   GM           CRUZE                DOWNEY                   CA
21859   1G1ZD5ST1JF271348   GM           CRUZE                Warwick                  RI
21860   1G1ZD5ST1JF271592   GM           CRUZE                TUCSON                   AZ
21861   1G1ZD5ST1JF271673   GM           CRUZE                Atlanta                  GA
21862   1G1ZD5ST1JF271706   GM           CRUZE                Jacksonville             FL
21863   1G1ZD5ST1JF271978   GM           CRUZE                Manheim                  PA
21864   1G1ZD5ST1JF272029   GM           CRUZE                DETROIT                  MI
21865   1G1ZD5ST1JF272032   GM           CRUZE                NEWARK                   NJ
21866   1G1ZD5ST1JF272063   GM           CRUZE                PALM SPRINGS             CA
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21867   1G1ZD5ST1JF272113   GM           CRUZE                ROSEVILLE                CA
21868   1G1ZD5ST1JF272211   GM           CRUZE                DENVER                   CO
21869   1G1ZD5ST1JF272290   GM           CRUZE                JACKSONVILLE             FL
21870   1G1ZD5ST1JF272385   GM           CRUZE                BURBANK                  CA
21871   1G1ZD5ST1JF272418   GM           CRUZE                NORTH PAC                CA
21872   1G1ZD5ST1JF272595   GM           CRUZE                Bridgeton                MO
21873   1G1ZD5ST1JF273939   GM           CRUZE                STERLING                 VA
21874   1G1ZD5ST1JF274010   GM           CRUZE                ROCHESTER                NY
21875   1G1ZD5ST1JF274380   GM           CRUZE                Miami                    FL
21876   1G1ZD5ST1JF274427   GM           CRUZE                San Antonio              TX
21877   1G1ZD5ST1JF274444   GM           CRUZE                Slidell                  LA
21878   1G1ZD5ST1JF274556   GM           CRUZE                EL PASO                  US
21879   1G1ZD5ST1JF274671   GM           CRUZE                Winter Park              FL
21880   1G1ZD5ST1JF274749   GM           CRUZE                Charleston               SC
21881   1G1ZD5ST1JF274816   GM           CRUZE                SACRAMENTO               CA
21882   1G1ZD5ST1JF274878   GM           CRUZE                DES MOINES               IA
21883   1G1ZD5ST1JF275108   GM           CRUZE                OAKLAND                  CA
21884   1G1ZD5ST1JF275173   GM           CRUZE                AUSTIN                   TX
21885   1G1ZD5ST1JF275237   GM           CRUZE                SARASOTA                 FL
21886   1G1ZD5ST1JF275299   GM           CRUZE                ORANGE COUNTY            CA
21887   1G1ZD5ST1JF275397   GM           CRUZE                BURLINGAME               CA
21888   1G1ZD5ST1JF275433   GM           CRUZE                BLOOMINGTON              IL
21889   1G1ZD5ST1JF275481   GM           CRUZE                Phoenix                  AZ
21890   1G1ZD5ST1JF275612   GM           CRUZE                ORLANDO                  FL
21891   1G1ZD5ST1JF275917   GM           CRUZE                CHARLOTTE                NC
21892   1G1ZD5ST1JF276324   GM           CRUZE                ONTARIO                  CA
21893   1G1ZD5ST1JF276498   GM           CRUZE                Dallas                   TX
21894   1G1ZD5ST1KF104196   GM           MALIBU               LOS ANGELES              CA
21895   1G1ZD5ST1KF104246   GM           MALIBU               TULSA                    OK
21896   1G1ZD5ST1KF104330   GM           MALIBU               TAMPA                    FL
21897   1G1ZD5ST1KF104375   GM           MALIBU               Estero                   FL
21898   1G1ZD5ST1KF104473   GM           MALIBU               DETROIT                  MI
21899   1G1ZD5ST1KF104537   GM           MALIBU               FORT MYERS               FL
21900   1G1ZD5ST1KF104621   GM           MALIBU               ORLANDO                  FL
21901   1G1ZD5ST1KF105042   GM           MALIBU               MIAMI                    FL
21902   1G1ZD5ST1KF105106   GM           MALIBU               WARWICK                  RI
21903   1G1ZD5ST1KF105347   GM           MALIBU               ORLANDO                  FL
21904   1G1ZD5ST1KF105557   GM           MALIBU               Union City               GA
21905   1G1ZD5ST1KF105624   GM           MALIBU               FORT LAUDERDALE          FL
21906   1G1ZD5ST1KF105672   GM           MALIBU               FORT LAUDERDALE          FL
21907   1G1ZD5ST1KF105784   GM           MALIBU               WARWICK                  RI
21908   1G1ZD5ST1KF105798   GM           MALIBU               PALM SPRINGS             CA
21909   1G1ZD5ST1KF105865   GM           MALIBU               JACKSONVILLE             FL
21910   1G1ZD5ST1KF106045   GM           MALIBU               ORLANDO                  FL
21911   1G1ZD5ST1KF106238   GM           MALIBU               UNION CITY               GA
21912   1G1ZD5ST1KF106336   GM           MALIBU               Fresno                   CA
21913   1G1ZD5ST1KF107213   GM           MALIBU               ORLANDO                  FL
21914   1G1ZD5ST1KF107261   GM           MALIBU               SEATAC                   WA
21915   1G1ZD5ST1KF107356   GM           MALIBU               LAS VEGAS                NV
21916   1G1ZD5ST1KF108345   GM           MALIBU               BOSTON                   MA
21917   1G1ZD5ST1KF109088   GM           MALIBU               SOUTHEAST DST OFFC       OK
21918   1G1ZD5ST1KF110287   GM           MALIBU               WEST PALM BEACH          FL
21919   1G1ZD5ST1KF110323   GM           MALIBU               LAS VEGAS                NV
21920   1G1ZD5ST1KF110354   GM           MALIBU               DANIA BEACH              FL
21921   1G1ZD5ST1KF110788   GM           MALIBU               EGG HARBOR TOWN          NJ
21922   1G1ZD5ST1KF110838   GM           MALIBU               ORLANDO                  FL
21923   1G1ZD5ST1KF110869   GM           MALIBU               MIAMI                    FL
21924   1G1ZD5ST1KF110872   GM           MALIBU               ALBUQERQUE               NM
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21925   1G1ZD5ST1KF111181   GM           MALIBU               Rockville Centr          NY
21926   1G1ZD5ST1KF111231   GM           MALIBU               NEW BERN                 NC
21927   1G1ZD5ST1KF111388   GM           MALIBU               DETROIT                  MI
21928   1G1ZD5ST1KF111519   GM           MALIBU               Tampa                    FL
21929   1G1ZD5ST1KF111617   GM           MALIBU               Atlanta                  GA
21930   1G1ZD5ST1KF111715   GM           MALIBU               Detroit                  MI
21931   1G1ZD5ST1KF111889   GM           MALIBU               Warr Acres               OK
21932   1G1ZD5ST1KF111990   GM           MALIBU               MEDINA                   OH
21933   1G1ZD5ST1KF112198   GM           MALIBU               Houston                  TX
21934   1G1ZD5ST1KF112489   GM           MALIBU               WARWICK                  RI
21935   1G1ZD5ST1KF112573   GM           MALIBU               FORT LAUDERDALE          FL
21936   1G1ZD5ST1KF112671   GM           MALIBU               Massapequa               NY
21937   1G1ZD5ST1KF112962   GM           MALIBU               STERLING                 VA
21938   1G1ZD5ST1KF113321   GM           MALIBU               WEST PALM BEACH          FL
21939   1G1ZD5ST1KF113352   GM           MALIBU               TAMPA                    FL
21940   1G1ZD5ST1KF113447   GM           MALIBU               JACKSONVILLE             FL
21941   1G1ZD5ST1KF113464   GM           MALIBU               CLEVELAND                OH
21942   1G1ZD5ST1KF113495   GM           MALIBU               FORT LAUDERDALE          FL
21943   1G1ZD5ST1KF113576   GM           MALIBU               FORT LAUDERDALE          FL
21944   1G1ZD5ST1KF114095   GM           MALIBU               DURHAM                   NC
21945   1G1ZD5ST1KF114162   GM           MALIBU               SAN DIEGO                CA
21946   1G1ZD5ST1KF114257   GM           MALIBU               ATLANTA                  GA
21947   1G1ZD5ST1KF114436   GM           MALIBU               GREENSBORO               NC
21948   1G1ZD5ST1KF114517   GM           MALIBU               CHARLOTTE                NC
21949   1G1ZD5ST1KF114601   GM           MALIBU               Dallas                   TX
21950   1G1ZD5ST1KF114811   GM           MALIBU               ORLANDO                  FL
21951   1G1ZD5ST1KF115022   GM           MALIBU               Harvey                   LA
21952   1G1ZD5ST1KF115070   GM           MALIBU               BOISE                    ID
21953   1G1ZD5ST1KF115179   GM           MALIBU               ATLANTA                  GA
21954   1G1ZD5ST1KF115246   GM           MALIBU               Florissant               MO
21955   1G1ZD5ST1KF115408   GM           MALIBU               Manheim                  PA
21956   1G1ZD5ST1KF115523   GM           MALIBU               ORLANDO                  FL
21957   1G1ZD5ST1KF115747   GM           MALIBU               CHARLOTTE                NC
21958   1G1ZD5ST1KF116073   GM           MALIBU               ORLANDO                  FL
21959   1G1ZD5ST1KF116106   GM           MALIBU               HARTFORD                 CT
21960   1G1ZD5ST1KF116154   GM           MALIBU               Chicago                  IL
21961   1G1ZD5ST1KF116378   GM           MALIBU               AUSTIN                   TX
21962   1G1ZD5ST1KF116445   GM           MALIBU               FORT MYERS               FL
21963   1G1ZD5ST1KF116767   GM           MALIBU               Atlanta                  GA
21964   1G1ZD5ST1KF116834   GM           MALIBU               FORT MYERS               FL
21965   1G1ZD5ST1KF116879   GM           MALIBU               WEST PALM BEACH          FL
21966   1G1ZD5ST1KF117174   GM           MALIBU               MIAMI                    FL
21967   1G1ZD5ST1KF117420   GM           MALIBU               Greensboro               NC
21968   1G1ZD5ST1KF117725   GM           MALIBU               FORT LAUDERDALE          FL
21969   1G1ZD5ST1KF118020   GM           MALIBU               ORLANDO                  FL
21970   1G1ZD5ST1KF118244   GM           MALIBU               ATLANTA                  GA
21971   1G1ZD5ST1KF118390   GM           MALIBU               KNOXVILLE                TN
21972   1G1ZD5ST1KF118521   GM           MALIBU               TAMPA                    FL
21973   1G1ZD5ST1KF118695   GM           MALIBU               Bordentown               NJ
21974   1G1ZD5ST1KF118907   GM           MALIBU               BUFFALO                  NY
21975   1G1ZD5ST1KF118986   GM           MALIBU               SALT LAKE CITY           UT
21976   1G1ZD5ST1KF119927   GM           MALIBU               Ocoee                    FL
21977   1G1ZD5ST1KF121094   GM           MALIBU               SAN DIEGO                US
21978   1G1ZD5ST1KF121435   GM           MALIBU               NOTTINGHAM               MD
21979   1G1ZD5ST1KF121547   GM           MALIBU               LOS ANGELES              CA
21980   1G1ZD5ST1KF121564   GM           MALIBU               Houston                  TX
21981   1G1ZD5ST1KF121628   GM           MALIBU               KENNER                   LA
21982   1G1ZD5ST1KF121807   GM           MALIBU               STERLING                 VA
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21983   1G1ZD5ST1KF122522   GM           MALIBU               Lake Elsinore            CA
21984   1G1ZD5ST1KF122682   GM           MALIBU               SACRAMENTO               CA
21985   1G1ZD5ST1KF123198   GM           MALIBU               GLASSBORO                NJ
21986   1G1ZD5ST1KF123735   GM           MALIBU               MIAMI                    FL
21987   1G1ZD5ST1KF123878   GM           MALIBU               WARWICK                  RI
21988   1G1ZD5ST1KF123881   GM           MALIBU               TAMPA                    FL
21989   1G1ZD5ST1KF124559   GM           MALIBU               MIAMI                    FL
21990   1G1ZD5ST1KF124593   GM           MALIBU               TAMPA                    FL
21991   1G1ZD5ST1KF124755   GM           MALIBU               SAN ANTONIO              TX
21992   1G1ZD5ST1KF124867   GM           MALIBU               Irving                   TX
21993   1G1ZD5ST1KF125565   GM           MALIBU               FORT LAUDERDALE          FL
21994   1G1ZD5ST1KF126084   GM           MALIBU               TAMPA                    FL
21995   1G1ZD5ST1KF126179   GM           MALIBU               FORT LAUDERDALE          FL
21996   1G1ZD5ST1KF126442   GM           MALIBU               FORT LAUDERDALE          FL
21997   1G1ZD5ST1KF126621   GM           MALIBU               WEST PALM BEACH          FL
21998   1G1ZD5ST1KF126764   GM           MALIBU               LAS VEGAS                NV
21999   1G1ZD5ST1KF126800   GM           MALIBU               TAMPA                    FL
22000   1G1ZD5ST1KF127039   GM           MALIBU               DANIA BEACH              FL
22001   1G1ZD5ST1KF133407   GM           MALIBU               Atlanta                  GA
22002   1G1ZD5ST1KF133505   GM           MALIBU               JACKSONVILLE             FL
22003   1G1ZD5ST1KF133679   GM           MALIBU               TAMPA                    FL
22004   1G1ZD5ST1KF133794   GM           MALIBU               Houston                  TX
22005   1G1ZD5ST1KF134119   GM           MALIBU               Tulsa                    OK
22006   1G1ZD5ST1KF134203   GM           MALIBU               Hendersonville           TN
22007   1G1ZD5ST1KF134217   GM           MALIBU               FORT MYERS               FL
22008   1G1ZD5ST1KF134234   GM           MALIBU               Jacksonville             FL
22009   1G1ZD5ST1KF134363   GM           MALIBU               LITTLE ROCK              AR
22010   1G1ZD5ST1KF134394   GM           MALIBU               Austin                   TX
22011   1G1ZD5ST1KF134847   GM           MALIBU               FORT LAUDERDALE          FL
22012   1G1ZD5ST1KF135173   GM           MALIBU               Harvey                   LA
22013   1G1ZD5ST1KF135187   GM           MALIBU               NASHVILLE                TN
22014   1G1ZD5ST1KF135240   GM           MALIBU               BURBANK                  CA
22015   1G1ZD5ST1KF135254   GM           MALIBU               ATLANTA                  GA
22016   1G1ZD5ST1KF135383   GM           MALIBU               ORLANDO                  FL
22017   1G1ZD5ST1KF135447   GM           MALIBU               CHARLOTTE                US
22018   1G1ZD5ST1KF135464   GM           MALIBU               FORT LAUDERDALE          FL
22019   1G1ZD5ST1KF135514   GM           MALIBU               LAS VEGAS                NV
22020   1G1ZD5ST1KF135531   GM           MALIBU               DAYTONA BEACH            FL
22021   1G1ZD5ST1KF135562   GM           MALIBU               ORLANDO                  FL
22022   1G1ZD5ST1KF135786   GM           MALIBU               TAMPA                    FL
22023   1G1ZD5ST1KF135805   GM           MALIBU               MIAMI                    FL
22024   1G1ZD5ST1KF135867   GM           MALIBU               SARASOTA                 FL
22025   1G1ZD5ST1KF135934   GM           MALIBU               JACKSON                  MS
22026   1G1ZD5ST1KF136159   GM           MALIBU               MIAMI                    FL
22027   1G1ZD5ST1KF136808   GM           MALIBU               GLASSBORO                NJ
22028   1G1ZD5ST1KF137005   GM           MALIBU               FORT MYERS               FL
22029   1G1ZD5ST1KF137182   GM           MALIBU               FT LAUDERDALE            FL
22030   1G1ZD5ST1KF137201   GM           MALIBU               Memphis                  TN
22031   1G1ZD5ST1KF137246   GM           MALIBU               TAMPA                    FL
22032   1G1ZD5ST1KF138011   GM           MALIBU               SPRINGFIELD              VA
22033   1G1ZD5ST1KF138090   GM           MALIBU               KNOXVILLE                TN
22034   1G1ZD5ST1KF138381   GM           MALIBU               TAMPA                    FL
22035   1G1ZD5ST1KF138400   GM           MALIBU               FT. LAUDERDALE           FL
22036   1G1ZD5ST1KF138445   GM           MALIBU               WEST PALM BEACH          FL
22037   1G1ZD5ST1KF138512   GM           MALIBU               ORLANDO                  FL
22038   1G1ZD5ST1KF138560   GM           MALIBU               JACKSONVILLE             FL
22039   1G1ZD5ST1KF139076   GM           MALIBU               LOUISVILLE               KY
22040   1G1ZD5ST1KF155178   GM           MALIBU               ORLANDO                  FL
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22041   1G1ZD5ST1KF155312   GM           MALIBU               CHARLOTTE                NC
22042   1G1ZD5ST1KF155469   GM           MALIBU               ORLANDO                  FL
22043   1G1ZD5ST1KF155486   GM           MALIBU               Killeen                  TX
22044   1G1ZD5ST1KF155777   GM           MALIBU               CHEEKTOWAGA              NY
22045   1G1ZD5ST1KF156234   GM           MALIBU               TAMPA                    FL
22046   1G1ZD5ST1KF156427   GM           MALIBU               FORT MYERS               FL
22047   1G1ZD5ST1KF156962   GM           MALIBU               PALM S                   CA
22048   1G1ZD5ST1KF157934   GM           MALIBU               Las Vegas                NV
22049   1G1ZD5ST1KF158064   GM           MALIBU               ORLANDO                  FL
22050   1G1ZD5ST1KF158226   GM           MALIBU               FORT MYERS               FL
22051   1G1ZD5ST1KF158260   GM           MALIBU               Fresno                   CA
22052   1G1ZD5ST1KF158341   GM           MALIBU               TAMPA                    FL
22053   1G1ZD5ST1KF158369   GM           MALIBU               Santa Clara              CA
22054   1G1ZD5ST1KF158422   GM           MALIBU               Tampa                    FL
22055   1G1ZD5ST1KF158520   GM           MALIBU               ROSEVILLE                CA
22056   1G1ZD5ST1KF158551   GM           MALIBU               SAN LEANDRO              CA
22057   1G1ZD5ST1KF158727   GM           MALIBU               TAMPA                    FL
22058   1G1ZD5ST1KF158758   GM           MALIBU               MIAMI                    FL
22059   1G1ZD5ST1KF158842   GM           MALIBU               FORT LAUDERDALE          FL
22060   1G1ZD5ST1KF158856   GM           MALIBU               SANTA CLARA              CA
22061   1G1ZD5ST1KF159005   GM           MALIBU               FT LAUDERDALE            FL
22062   1G1ZD5ST1KF159313   GM           MALIBU               MIAMI                    FL
22063   1G1ZD5ST1KF159361   GM           MALIBU               LOUISVILLE               KY
22064   1G1ZD5ST1KF159392   GM           MALIBU               DANIA BEACH              FL
22065   1G1ZD5ST1KF159473   GM           MALIBU               FORT LAUDERDALE          FL
22066   1G1ZD5ST1KF159571   GM           MALIBU               FORT LAUDERDALE          FL
22067   1G1ZD5ST1KF159828   GM           MALIBU               FORT MYERS               FL
22068   1G1ZD5ST1KF159960   GM           MALIBU               Hayward                  CA
22069   1G1ZD5ST1KF160137   GM           MALIBU               Atlanta                  GA
22070   1G1ZD5ST1KF160199   GM           MALIBU               JACKSONVILLE             FL
22071   1G1ZD5ST1KF160283   GM           MALIBU               WEST PALM BEACH          FL
22072   1G1ZD5ST1KF160400   GM           MALIBU               TAMPA                    FL
22073   1G1ZD5ST1KF160638   GM           MALIBU               MELROSE PARK             IL
22074   1G1ZD5ST1KF160705   GM           MALIBU               SARASOTA                 FL
22075   1G1ZD5ST1KF160722   GM           MALIBU               TAMPA                    FL
22076   1G1ZD5ST1KF160753   GM           MALIBU               TAMPA                    FL
22077   1G1ZD5ST1KF161093   GM           MALIBU               FORT LAUDERDALE          FL
22078   1G1ZD5ST1KF161210   GM           MALIBU               Tampa                    FL
22079   1G1ZD5ST1KF161272   GM           MALIBU               ORLANDO                  FL
22080   1G1ZD5ST1KF161398   GM           MALIBU               TAMPA                    FL
22081   1G1ZD5ST1KF161417   GM           MALIBU               Euless                   TX
22082   1G1ZD5ST1KF161546   GM           MALIBU               TAMPA                    FL
22083   1G1ZD5ST1KF161630   GM           MALIBU               TAMPA                    FL
22084   1G1ZD5ST1KF161658   GM           MALIBU               ORLANDO                  FL
22085   1G1ZD5ST1KF161725   GM           MALIBU               INDIANAPOLIS             IN
22086   1G1ZD5ST1KF161742   GM           MALIBU               TAMPA                    FL
22087   1G1ZD5ST1KF161756   GM           MALIBU               WEST PALM BEACH          FL
22088   1G1ZD5ST1KF161773   GM           MALIBU               FORT LAUDERDALE          FL
22089   1G1ZD5ST1KF161854   GM           MALIBU               JACKSONVILLE             FL
22090   1G1ZD5ST1KF161885   GM           MALIBU               WEST PALM BEACH          FL
22091   1G1ZD5ST1KF161935   GM           MALIBU               Hamilton                 OH
22092   1G1ZD5ST1KF161952   GM           MALIBU               FORT MYERS               FL
22093   1G1ZD5ST1KF162065   GM           MALIBU               FORT LAUDERDALE          FL
22094   1G1ZD5ST1KF162261   GM           MALIBU               Atlanta                  GA
22095   1G1ZD5ST1KF162275   GM           MALIBU               TAMPA                    FL
22096   1G1ZD5ST1KF162339   GM           MALIBU               MIAMI                    FL
22097   1G1ZD5ST1KF162387   GM           MALIBU               ORLANDO                  FL
22098   1G1ZD5ST1KF162423   GM           MALIBU               WEST PALM BEACH          FL
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22099   1G1ZD5ST1KF162518   GM           MALIBU               Atlanta                  GA
22100   1G1ZD5ST1KF162745   GM           MALIBU               TAMPA                    FL
22101   1G1ZD5ST1KF162793   GM           MALIBU               Winter Park              FL
22102   1G1ZD5ST1KF162843   GM           MALIBU               LOUISVILLE               KY
22103   1G1ZD5ST1KF162924   GM           MALIBU               ORLANDO                  FL
22104   1G1ZD5ST1KF163023   GM           MALIBU               MIAMI                    FL
22105   1G1ZD5ST1KF163037   GM           MALIBU               FORT LAUDERDALE          FL
22106   1G1ZD5ST1KF163121   GM           MALIBU               COLLEGE PARK             GA
22107   1G1ZD5ST1KF163166   GM           MALIBU               SARASOTA                 FL
22108   1G1ZD5ST1KF163197   GM           MALIBU               TAMPA                    FL
22109   1G1ZD5ST1KF163202   GM           MALIBU               BIRMINGHAM               AL
22110   1G1ZD5ST1KF163636   GM           MALIBU               MIAMI                    FL
22111   1G1ZD5ST1KF163815   GM           MALIBU               White Plains             NY
22112   1G1ZD5ST1KF163913   GM           MALIBU               WEST PALM BEACH          FL
22113   1G1ZD5ST1KF164172   GM           MALIBU               TAMPA                    US
22114   1G1ZD5ST1KF164513   GM           MALIBU               Marietta                 GA
22115   1G1ZD5ST1KF164558   GM           MALIBU               Dallas                   TX
22116   1G1ZD5ST1KF164575   GM           MALIBU               DALLAS                   TX
22117   1G1ZD5ST1KF164687   GM           MALIBU               KNOXVILLE                TN
22118   1G1ZD5ST1KF165063   GM           MALIBU               SARASOTA                 FL
22119   1G1ZD5ST1KF165161   GM           MALIBU               Austin                   TX
22120   1G1ZD5ST1KF165208   GM           MALIBU               ORLANDO                  FL
22121   1G1ZD5ST1KF165449   GM           MALIBU               ORLANDO                  FL
22122   1G1ZD5ST1KF165600   GM           MALIBU               JACKSONVILLE             FL
22123   1G1ZD5ST1KF165659   GM           MALIBU               KENNER                   LA
22124   1G1ZD5ST1KF165760   GM           MALIBU               JACKSONVILLE             FL
22125   1G1ZD5ST1KF165936   GM           MALIBU               Hendersonville           TN
22126   1G1ZD5ST1KF166309   GM           MALIBU               TAMPA                    FL
22127   1G1ZD5ST1KF166598   GM           MALIBU               SALT LAKE CITY           US
22128   1G1ZD5ST1KF166634   GM           MALIBU               Riverside                CA
22129   1G1ZD5ST1KF166679   GM           MALIBU               Tampa                    FL
22130   1G1ZD5ST1KF166682   GM           MALIBU               ORLANDO                  FL
22131   1G1ZD5ST1KF166780   GM           MALIBU               FORT MYERS               FL
22132   1G1ZD5ST1KF166794   GM           MALIBU               Florissant               MO
22133   1G1ZD5ST1KF166889   GM           MALIBU               Tampa                    FL
22134   1G1ZD5ST1KF166908   GM           MALIBU               Omaha                    NE
22135   1G1ZD5ST1KF167153   GM           MALIBU               SOUTHEAST DST OFFC       OK
22136   1G1ZD5ST1KF167170   GM           MALIBU               FORT MYERS               FL
22137   1G1ZD5ST1KF167220   GM           MALIBU               RICHMOND                 VA
22138   1G1ZD5ST1KF167461   GM           MALIBU               Manheim                  PA
22139   1G1ZD5ST1KF167685   GM           MALIBU               FORT LAUDERDALE          FL
22140   1G1ZD5ST1KF167735   GM           MALIBU               DANIA BEACH              FL
22141   1G1ZD5ST1KF167749   GM           MALIBU               Hamilton                 OH
22142   1G1ZD5ST1KF167797   GM           MALIBU               Euless                   TX
22143   1G1ZD5ST1KF167816   GM           MALIBU               ORLANDO                  FL
22144   1G1ZD5ST1KF167850   GM           MALIBU               SARASOTA                 FL
22145   1G1ZD5ST1KF167914   GM           MALIBU               JACKSONVILLE             FL
22146   1G1ZD5ST1KF168044   GM           MALIBU               Tampa                    FL
22147   1G1ZD5ST1KF168187   GM           MALIBU               BIRMINGHAM               AL
22148   1G1ZD5ST1KF168464   GM           MALIBU               JACKSONVILLE             FL
22149   1G1ZD5ST1KF168612   GM           MALIBU               Oklahoma City            OK
22150   1G1ZD5ST1KF169498   GM           MALIBU               ORLANDO                  FL
22151   1G1ZD5ST1KF169551   GM           MALIBU               HARTFORD                 CT
22152   1G1ZD5ST1KF169680   GM           MALIBU               Florissant               MO
22153   1G1ZD5ST1KF169730   GM           MALIBU               Kansas City              MO
22154   1G1ZD5ST1KF169789   GM           MALIBU               FORT MYERS               FL
22155   1G1ZD5ST1KF170201   GM           MALIBU               ORLANDO                  FL
22156   1G1ZD5ST1KF170263   GM           MALIBU               St. Louis                MO
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22157   1G1ZD5ST1KF170313   GM           MALIBU               KANSAS CITY              MO
22158   1G1ZD5ST1KF170425   GM           MALIBU               Detroit                  MI
22159   1G1ZD5ST1KF170599   GM           MALIBU               NASHVILLE                TN
22160   1G1ZD5ST1KF170957   GM           MALIBU               LOUISVILLE               KY
22161   1G1ZD5ST1KF171574   GM           MALIBU               NASHVILLE                TN
22162   1G1ZD5ST1KF171719   GM           MALIBU               SAVANNAH                 GA
22163   1G1ZD5ST1KF175589   GM           MALIBU               Central Square           NY
22164   1G1ZD5ST1KF175785   GM           MALIBU               MIAMI                    FL
22165   1G1ZD5ST1KF177035   GM           MALIBU               MEMPHIS                  TN
22166   1G1ZD5ST1KF177701   GM           MALIBU               FORT LAUDERDALE          FL
22167   1G1ZD5ST1KF177939   GM           MALIBU               DAYTON                   OH
22168   1G1ZD5ST1KF178122   GM           MALIBU               WEST PALM BEACH          FL
22169   1G1ZD5ST1KF180842   GM           MALIBU               FORT MYERS               FL
22170   1G1ZD5ST1KF184454   GM           MALIBU               SOUTH BEND               IN
22171   1G1ZD5ST1KF184535   GM           MALIBU               STERLING                 VA
22172   1G1ZD5ST1KF185684   GM           MALIBU               KNOXVILLE                TN
22173   1G1ZD5ST1KF185880   GM           MALIBU               FORT MYERS               FL
22174   1G1ZD5ST1KF186026   GM           MALIBU               ORLANDO                  FL
22175   1G1ZD5ST1KF186530   GM           MALIBU               FORT LAUDERDALE          FL
22176   1G1ZD5ST1KF186589   GM           MALIBU               FORT MYERS               FL
22177   1G1ZD5ST1KF206825   GM           MALIBU               SAN DIEGO                US
22178   1G1ZD5ST1LF054000   GM           MALIBU               Hayward                  CA
22179   1G1ZD5ST1LF078278   GM           MALIBU               Tulsa                    OK
22180   1G1ZD5ST1LF085666   GM           MALIBU               EXETER                   RI
22181   1G1ZD5ST1LF088437   GM           MALIBU               Elkridge                 MD
22182   1G1ZD5ST1LF091886   GM           MALIBU               Woodhaven                MI
22183   1G1ZD5ST1LF094609   GM           MALIBU               Tulsa                    OK
22184   1G1ZD5ST2JF126089   GM           CRUZE                WEST CENTRAL DEALE       CO
22185   1G1ZD5ST2JF127369   GM           CRUZE                Hayward                  CA
22186   1G1ZD5ST2JF128036   GM           CRUZE                DES PLAINES              IL
22187   1G1ZD5ST2JF131776   GM           CRUZE                NORTH PAC                CA
22188   1G1ZD5ST2JF131941   GM           CRUZE                HANOVER                  MD
22189   1G1ZD5ST2JF132023   GM           CRUZE                Hartford                 CT
22190   1G1ZD5ST2JF132765   GM           CRUZE                SAN DIEGO                CA
22191   1G1ZD5ST2JF132846   GM           CRUZE                SAN DIEGO                CA
22192   1G1ZD5ST2JF133284   GM           CRUZE                PITTSBURGH               PA
22193   1G1ZD5ST2JF133298   GM           CRUZE                TRACY                    CA
22194   1G1ZD5ST2JF133446   GM           MALIBU               Norwalk                  CA
22195   1G1ZD5ST2JF133804   GM           CRUZE                SANTA ANA                CA
22196   1G1ZD5ST2JF134967   GM           CRUZE                LOS ANGELES              CA
22197   1G1ZD5ST2JF136301   GM           CRUZE                Santa Clara              CA
22198   1G1ZD5ST2JF136685   GM           CRUZE                SAN JOSE                 CA
22199   1G1ZD5ST2JF136783   GM           CRUZE                HANOVER                  MD
22200   1G1ZD5ST2JF137402   GM           CRUZE                SAN FRANCISCO            CA
22201   1G1ZD5ST2JF138226   GM           CRUZE                North Las Vegas          NV
22202   1G1ZD5ST2JF138310   GM           CRUZE                LAS VEGAS                NV
22203   1G1ZD5ST2JF138887   GM           CRUZE                CHICAGO                  IL
22204   1G1ZD5ST2JF138906   GM           CRUZE                Des Plaines              IL
22205   1G1ZD5ST2JF139117   GM           CRUZE                SANDSTON                 VA
22206   1G1ZD5ST2JF139277   GM           CRUZE                SAN JOSE                 CA
22207   1G1ZD5ST2JF139327   GM           CRUZE                SAN DIEGO                CA
22208   1G1ZD5ST2JF139392   GM           CRUZE                Las Vegas                NV
22209   1G1ZD5ST2JF139909   GM           CRUZE                CLEVELAND                OH
22210   1G1ZD5ST2JF140218   GM           CRUZE                CICERO                   IL
22211   1G1ZD5ST2JF140364   GM           CRUZE                Englewood                CO
22212   1G1ZD5ST2JF140459   GM           CRUZE                Chicago                  IL
22213   1G1ZD5ST2JF140784   GM           CRUZE                North Las Vegas          NV
22214   1G1ZD5ST2JF140994   GM           CRUZE                Fontana                  CA
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22215   1G1ZD5ST2JF141093   GM           CRUZE                Fresno                   CA
22216   1G1ZD5ST2JF141188   GM           CRUZE                North Las Vegas          NV
22217   1G1ZD5ST2JF141773   GM           CRUZE                UNION CITY               GA
22218   1G1ZD5ST2JF143247   GM           CRUZE                HANOVER                  MD
22219   1G1ZD5ST2JF143538   GM           CRUZE                North Dighton            MA
22220   1G1ZD5ST2JF143779   GM           CRUZE                COLLEGE PARK             GA
22221   1G1ZD5ST2JF144978   GM           CRUZE                SAN ANTONIO              TX
22222   1G1ZD5ST2JF145192   GM           CRUZE                Nashville                TN
22223   1G1ZD5ST2JF146794   GM           CRUZE                SAN JOSE                 CA
22224   1G1ZD5ST2JF146889   GM           CRUZE
22225   1G1ZD5ST2JF147010   GM           CRUZE                N. Palm Beach            FL
22226   1G1ZD5ST2JF148089   GM           CRUZE                Ocoee                    FL
22227   1G1ZD5ST2JF149291   GM           CRUZE                Atlanta                  GA
22228   1G1ZD5ST2JF149307   GM           CRUZE                FT. LAUDERDALE           FL
22229   1G1ZD5ST2JF149551   GM           CRUZE                DAYTONA BEACH            FL
22230   1G1ZD5ST2JF149601   GM           CRUZE                WEST CENTRAL DEALE       CO
22231   1G1ZD5ST2JF149856   GM           CRUZE                Atlanta                  GA
22232   1G1ZD5ST2JF149985   GM           CRUZE                Bensalem                 PA
22233   1G1ZD5ST2JF150022   GM           CRUZE                Hanover                  MD
22234   1G1ZD5ST2JF150327   GM           CRUZE                SCHILLER PARK            IL
22235   1G1ZD5ST2JF150571   GM           CRUZE                Atlanta                  GA
22236   1G1ZD5ST2JF150778   GM           CRUZE                North Dighton            MA
22237   1G1ZD5ST2JF151042   GM           CRUZE                DES MOINES               IA
22238   1G1ZD5ST2JF151221   GM           CRUZE                RALEIGH                  NC
22239   1G1ZD5ST2JF151364   GM           CRUZE                CHICAGO                  IL
22240   1G1ZD5ST2JF151610   GM           CRUZE                Hanover                  MD
22241   1G1ZD5ST2JF152076   GM           CRUZE                Tampa                    FL
22242   1G1ZD5ST2JF152112   GM           CRUZE                BURBANK                  CA
22243   1G1ZD5ST2JF152529   GM           CRUZE                BOSTON                   MA
22244   1G1ZD5ST2JF152739   GM           CRUZE                Hanover                  MD
22245   1G1ZD5ST2JF152871   GM           CRUZE                HANOVER                  MD
22246   1G1ZD5ST2JF153051   GM           CRUZE                Tampa                    FL
22247   1G1ZD5ST2JF154717   GM           CRUZE                BURBANK                  CA
22248   1G1ZD5ST2JF155656   GM           CRUZE                Phoenix                  AZ
22249   1G1ZD5ST2JF155799   GM           CRUZE                LOS ANGELES              CA
22250   1G1ZD5ST2JF155835   GM           CRUZE                BURBANK                  CA
22251   1G1ZD5ST2JF156161   GM           CRUZE                NORTH PAC                CA
22252   1G1ZD5ST2JF156256   GM           CRUZE                Torrance                 CA
22253   1G1ZD5ST2JF156337   GM           CRUZE                MORROW                   GA
22254   1G1ZD5ST2JF156788   GM           CRUZE                NORTH PAC                CA
22255   1G1ZD5ST2JF157164   GM           CRUZE                SANTA CLARA              CA
22256   1G1ZD5ST2JF157178   GM           CRUZE                BURBANK                  CA
22257   1G1ZD5ST2JF157181   GM           CRUZE                SAN JOSE                 CA
22258   1G1ZD5ST2JF157200   GM           CRUZE                SACRAMENTO               CA
22259   1G1ZD5ST2JF157584   GM           CRUZE                MEDINA                   OH
22260   1G1ZD5ST2JF157648   GM           CRUZE                Los Angeles              CA
22261   1G1ZD5ST2JF158315   GM           CRUZE                Atlanta                  GA
22262   1G1ZD5ST2JF158413   GM           CRUZE                Tampa                    FL
22263   1G1ZD5ST2JF158508   GM           CRUZE                North Las Vegas          NV
22264   1G1ZD5ST2JF159058   GM           CRUZE                FORT LAUDERDALE          FL
22265   1G1ZD5ST2JF159142   GM           CRUZE                Hanover                  MD
22266   1G1ZD5ST2JF159173   GM           CRUZE                Portland                 OR
22267   1G1ZD5ST2JF160033   GM           CRUZE                North Dighton            MA
22268   1G1ZD5ST2JF160291   GM           MALIBU               NORTH PAC                CA
22269   1G1ZD5ST2JF160372   GM           CRUZE                FORT MYERS               FL
22270   1G1ZD5ST2JF160386   GM           CRUZE                Estero                   FL
22271   1G1ZD5ST2JF160968   GM           CRUZE                N MIAMI BEACH            FL
22272   1G1ZD5ST2JF167483   GM           CRUZE                RALEIGH                  NC
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22273   1G1ZD5ST2JF167810   GM           CRUZE                Chicago                  IL
22274   1G1ZD5ST2JF167869   GM           MALIBU               FORT MYERS               FL
22275   1G1ZD5ST2JF168603   GM           CRUZE                FT. LAUDERDALE           FL
22276   1G1ZD5ST2JF169282   GM           CRUZE                Atlanta                  GA
22277   1G1ZD5ST2JF172568   GM           CRUZE                Manheim                  PA
22278   1G1ZD5ST2JF175812   GM           MALIBU               LAS VEGAS                NV
22279   1G1ZD5ST2JF177608   GM           CRUZE                BURBANK                  CA
22280   1G1ZD5ST2JF177897   GM           CRUZE                Mira Loma                CA
22281   1G1ZD5ST2JF178094   GM           CRUZE                NORTH PAC                CA
22282   1G1ZD5ST2JF178371   GM           CRUZE                DENVER                   CO
22283   1G1ZD5ST2JF178578   GM           CRUZE                BOSTON                   MA
22284   1G1ZD5ST2JF179133   GM           CRUZE                Winston‐Salem            NC
22285   1G1ZD5ST2JF179603   GM           CRUZE                DALLAS                   TX
22286   1G1ZD5ST2JF179682   GM           CRUZE                Elkridge                 MD
22287   1G1ZD5ST2JF181027   GM           CRUZE                SPRINGFIELD              VA
22288   1G1ZD5ST2JF181819   GM           CRUZE                BOSTON                   MA
22289   1G1ZD5ST2JF183005   GM           CRUZE                Santa Clara              CA
22290   1G1ZD5ST2JF183215   GM           CRUZE                NORTH PAC                CA
22291   1G1ZD5ST2JF184607   GM           CRUZE                BURBANK                  CA
22292   1G1ZD5ST2JF184963   GM           CRUZE                Elkridge                 MD
22293   1G1ZD5ST2JF185224   GM           CRUZE                Pasadena                 CA
22294   1G1ZD5ST2JF187295   GM           CRUZE                OAKLAND                  CA
22295   1G1ZD5ST2JF190732   GM           CRUZE                NORTH HOLLYWOOD          CA
22296   1G1ZD5ST2JF191198   GM           CRUZE                DANIA BEACH              FL
22297   1G1ZD5ST2JF191394   GM           CRUZE                Phoenix                  AZ
22298   1G1ZD5ST2JF198412   GM           CRUZE                Tolleson                 AZ
22299   1G1ZD5ST2JF198863   GM           MALIBU               LOS ANGELES              CA
22300   1G1ZD5ST2JF199480   GM           MALIBU               DAYTONA BEACH            FL
22301   1G1ZD5ST2JF199592   GM           CRUZE                SAN DIEGO                CA
22302   1G1ZD5ST2JF204175   GM           CRUZE                SAN FRANCISCO            CA
22303   1G1ZD5ST2JF206007   GM           MALIBU               Honolulu                 HI
22304   1G1ZD5ST2JF211482   GM           CRUZE                ONTARIO                  CA
22305   1G1ZD5ST2JF212972   GM           CRUZE                LOS ANGELES              CA
22306   1G1ZD5ST2JF213149   GM           CRUZE                Sacramento               CA
22307   1G1ZD5ST2JF217296   GM           CRUZE                CLEVELAND                OH
22308   1G1ZD5ST2JF219579   GM           CRUZE                LOS ANGELES              CA
22309   1G1ZD5ST2JF219985   GM           CRUZE                Fredericksburg           VA
22310   1G1ZD5ST2JF220814   GM           CRUZE                NORTH PAC                CA
22311   1G1ZD5ST2JF221932   GM           CRUZE                CHICAGO                  IL
22312   1G1ZD5ST2JF222143   GM           CRUZE                NORTH PAC                CA
22313   1G1ZD5ST2JF222935   GM           CRUZE                DAYTONA BEACH            FL
22314   1G1ZD5ST2JF223180   GM           CRUZE                LAS VEGAS                NV
22315   1G1ZD5ST2JF223759   GM           CRUZE                South San Franc          CA
22316   1G1ZD5ST2JF223874   GM           CRUZE                SAN DIEGO                CA
22317   1G1ZD5ST2JF224152   GM           CRUZE                Roseville                CA
22318   1G1ZD5ST2JF224264   GM           CRUZE                STERLING                 VA
22319   1G1ZD5ST2JF224796   GM           CRUZE                SOUTHEAST DST OFFC       OK
22320   1G1ZD5ST2JF224930   GM           CRUZE                PALM SPRINGS             CA
22321   1G1ZD5ST2JF225978   GM           CRUZE                SAN ANTONIO              TX
22322   1G1ZD5ST2JF226998   GM           CRUZE                Kansas City              MO
22323   1G1ZD5ST2JF227150   GM           CRUZE                SARASOTA                 FL
22324   1G1ZD5ST2JF232395   GM           CRUZE                FORT MYERS               FL
22325   1G1ZD5ST2JF232493   GM           CRUZE                CHARLOTTE                US
22326   1G1ZD5ST2JF232915   GM           CRUZE                WEST COLUMBIA            SC
22327   1G1ZD5ST2JF233031   GM           CRUZE                SEATAC                   WA
22328   1G1ZD5ST2JF233756   GM           CRUZE                North Dighton            MA
22329   1G1ZD5ST2JF234373   GM           CRUZE                Kansas City              MO
22330   1G1ZD5ST2JF234843   GM           CRUZE                Pittsburgh               PA
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22331   1G1ZD5ST2JF235037   GM           CRUZE                ROCHESTER                NY
22332   1G1ZD5ST2JF235295   GM           CRUZE                SHAKOPEE                 MN
22333   1G1ZD5ST2JF235345   GM           CRUZE                FORT LAUDERDALE          FL
22334   1G1ZD5ST2JF235409   GM           CRUZE                Smithtown                NY
22335   1G1ZD5ST2JF235555   GM           CRUZE                CHICAGO                  IL
22336   1G1ZD5ST2JF235636   GM           CRUZE                Austell                  GA
22337   1G1ZD5ST2JF235720   GM           CRUZE                SPRINGFIELD              VA
22338   1G1ZD5ST2JF235961   GM           CRUZE                BURBANK                  CA
22339   1G1ZD5ST2JF236009   GM           CRUZE                NORTH PAC                CA
22340   1G1ZD5ST2JF236057   GM           CRUZE                KENNER                   LA
22341   1G1ZD5ST2JF236463   GM           CRUZE                SANTA ANA                CA
22342   1G1ZD5ST2JF236480   GM           CRUZE                GRAND RAPIDS             MI
22343   1G1ZD5ST2JF237144   GM           CRUZE                Hartford                 CT
22344   1G1ZD5ST2JF237175   GM           CRUZE                BURBANK                  CA
22345   1G1ZD5ST2JF237368   GM           CRUZE                FORT MYERS               FL
22346   1G1ZD5ST2JF237418   GM           CRUZE                ATLANTA                  GA
22347   1G1ZD5ST2JF237449   GM           CRUZE                CHICAGO                  IL
22348   1G1ZD5ST2JF237452   GM           CRUZE                SEATAC                   WA
22349   1G1ZD5ST2JF237600   GM           CRUZE                HANOVER                  MD
22350   1G1ZD5ST2JF237693   GM           CRUZE                BURBANK                  CA
22351   1G1ZD5ST2JF237824   GM           CRUZE                NORTH PAC                CA
22352   1G1ZD5ST2JF237970   GM           CRUZE                NORTH PAC                CA
22353   1G1ZD5ST2JF238469   GM           CRUZE                PORTLAND                 OR
22354   1G1ZD5ST2JF238858   GM           CRUZE                SAN DIEGO                US
22355   1G1ZD5ST2JF238861   GM           CRUZE                Marietta                 GA
22356   1G1ZD5ST2JF239119   GM           CRUZE                LOS ANGELES              CA
22357   1G1ZD5ST2JF239377   GM           CRUZE                BURBANK                  CA
22358   1G1ZD5ST2JF239380   GM           CRUZE                BURBANK                  CA
22359   1G1ZD5ST2JF239573   GM           CRUZE                LAS VEGAS                NV
22360   1G1ZD5ST2JF239749   GM           CRUZE                Denver                   CO
22361   1G1ZD5ST2JF240271   GM           CRUZE                LOS ANGELES              CA
22362   1G1ZD5ST2JF240352   GM           CRUZE                ORLANDO                  FL
22363   1G1ZD5ST2JF240416   GM           CRUZE                Maple Grove              MN
22364   1G1ZD5ST2JF240478   GM           CRUZE                SAN JOSE                 CA
22365   1G1ZD5ST2JF240755   GM           CRUZE                FORT LAUDERDALE          FL
22366   1G1ZD5ST2JF241050   GM           CRUZE                Maple Grove              MN
22367   1G1ZD5ST2JF241128   GM           CRUZE                Tolleson                 AZ
22368   1G1ZD5ST2JF241145   GM           CRUZE                Anaheim                  CA
22369   1G1ZD5ST2JF241274   GM           CRUZE                INDIANAPOLIS             IN
22370   1G1ZD5ST2JF241520   GM           CRUZE                KNOXVILLE                TN
22371   1G1ZD5ST2JF241694   GM           CRUZE                Lake Elsinore            CA
22372   1G1ZD5ST2JF241789   GM           CRUZE                Dallas                   TX
22373   1G1ZD5ST2JF241856   GM           CRUZE                Atlanta                  GA
22374   1G1ZD5ST2JF241906   GM           CRUZE                CHICAGO                  IL
22375   1G1ZD5ST2JF242067   GM           CRUZE                Ft Pierce                FL
22376   1G1ZD5ST2JF242375   GM           CRUZE                PHOENIX                  AZ
22377   1G1ZD5ST2JF242506   GM           CRUZE                ORLANDO                  FL
22378   1G1ZD5ST2JF242523   GM           CRUZE                Chandler                 AZ
22379   1G1ZD5ST2JF243168   GM           CRUZE                CHICAGO                  IL
22380   1G1ZD5ST2JF243350   GM           CRUZE                SAINT PAUL               MN
22381   1G1ZD5ST2JF243560   GM           CRUZE                ORLANDO                  FL
22382   1G1ZD5ST2JF243591   GM           CRUZE                ONTARIO                  CA
22383   1G1ZD5ST2JF243607   GM           CRUZE                Columbia                 MD
22384   1G1ZD5ST2JF243624   GM           CRUZE                WOODSON TERRACE          MO
22385   1G1ZD5ST2JF243638   GM           CRUZE                Santa Clara              CA
22386   1G1ZD5ST2JF243686   GM           CRUZE                STERLING                 VA
22387   1G1ZD5ST2JF243767   GM           CRUZE                CHARLOTTE                NC
22388   1G1ZD5ST2JF243994   GM           CRUZE                SEATAC                   WA
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22389   1G1ZD5ST2JF244109   GM           CRUZE                SHREVEPORT               LA
22390   1G1ZD5ST2JF244157   GM           CRUZE                CLEVELAND                OH
22391   1G1ZD5ST2JF244336   GM           CRUZE                CHICAGO                  IL
22392   1G1ZD5ST2JF244367   GM           CRUZE                SALT LAKE CITY           US
22393   1G1ZD5ST2JF244370   GM           CRUZE                BURBANK                  CA
22394   1G1ZD5ST2JF244420   GM           CRUZE                MILWAUKEE                WI
22395   1G1ZD5ST2JF244465   GM           CRUZE                Chicago                  IL
22396   1G1ZD5ST2JF244479   GM           CRUZE                LOS ANGELES              CA
22397   1G1ZD5ST2JF244501   GM           CRUZE                DALLAS                   TX
22398   1G1ZD5ST2JF244580   GM           CRUZE                Florissant               MO
22399   1G1ZD5ST2JF244594   GM           CRUZE                Dallas                   TX
22400   1G1ZD5ST2JF244613   GM           CRUZE                SAN JOSE                 CA
22401   1G1ZD5ST2JF244725   GM           CRUZE                Sanford                  FL
22402   1G1ZD5ST2JF244773   GM           CRUZE                CHICAGO                  IL
22403   1G1ZD5ST2JF244787   GM           CRUZE                CLEVELAND                OH
22404   1G1ZD5ST2JF244921   GM           CRUZE                SANFORD                  FL
22405   1G1ZD5ST2JF245129   GM           MALIBU               OAKLAND                  CA
22406   1G1ZD5ST2JF245230   GM           CRUZE                Santa Clara              CA
22407   1G1ZD5ST2JF245356   GM           CRUZE                Dallas                   TX
22408   1G1ZD5ST2JF245373   GM           CRUZE                FORT MYERS               FL
22409   1G1ZD5ST2JF245387   GM           CRUZE                BURBANK                  CA
22410   1G1ZD5ST2JF245423   GM           CRUZE                BURBANK                  CA
22411   1G1ZD5ST2JF245468   GM           CRUZE                Salt Lake City           UT
22412   1G1ZD5ST2JF245504   GM           CRUZE                RICHMOND                 VA
22413   1G1ZD5ST2JF245633   GM           CRUZE                PALM SPRINGS             CA
22414   1G1ZD5ST2JF245647   GM           CRUZE                CHARLOTTE                NC
22415   1G1ZD5ST2JF245650   GM           CRUZE                DETROIT                  MI
22416   1G1ZD5ST2JF245759   GM           MALIBU               CLEVELAND                OH
22417   1G1ZD5ST2JF245809   GM           CRUZE                Stockton                 CA
22418   1G1ZD5ST2JF245969   GM           CRUZE                LOS ANGELES              CA
22419   1G1ZD5ST2JF246068   GM           CRUZE                KANSAS CITY              MO
22420   1G1ZD5ST2JF246152   GM           CRUZE                NOTTINGHAM               MD
22421   1G1ZD5ST2JF246328   GM           CRUZE                SANTA ANA                CA
22422   1G1ZD5ST2JF246331   GM           CRUZE                SAN ANTONIO              TX
22423   1G1ZD5ST2JF246409   GM           CRUZE                North Dighton            MA
22424   1G1ZD5ST2JF246491   GM           CRUZE                Rio Linda                CA
22425   1G1ZD5ST2JF246555   GM           CRUZE                CHICAGO                  IL
22426   1G1ZD5ST2JF246586   GM           CRUZE                Tolleson                 AZ
22427   1G1ZD5ST2JF246703   GM           CRUZE                ST Paul                  MN
22428   1G1ZD5ST2JF246717   GM           CRUZE                Nashville                TN
22429   1G1ZD5ST2JF246751   GM           CRUZE                NASHVILLE                TN
22430   1G1ZD5ST2JF246779   GM           CRUZE                Cincinnati               OH
22431   1G1ZD5ST2JF246796   GM           CRUZE                Hebron                   KY
22432   1G1ZD5ST2JF246846   GM           CRUZE                SACRAMENTO               CA
22433   1G1ZD5ST2JF246880   GM           CRUZE                Massapequa               NY
22434   1G1ZD5ST2JF246958   GM           CRUZE                SACRAMENTO               CA
22435   1G1ZD5ST2JF246975   GM           CRUZE                LOS ANGELES              CA
22436   1G1ZD5ST2JF246989   GM           CRUZE                FORT LAUDERDALE          FL
22437   1G1ZD5ST2JF247043   GM           CRUZE                Los Angeles              CA
22438   1G1ZD5ST2JF247057   GM           CRUZE                SAN DIEGO                CA
22439   1G1ZD5ST2JF247205   GM           CRUZE                DETROIT                  MI
22440   1G1ZD5ST2JF247317   GM           CRUZE                CLEVELAND                OH
22441   1G1ZD5ST2JF247348   GM           CRUZE                Honolulu                 HI
22442   1G1ZD5ST2JF247379   GM           CRUZE                SAN DIEGO                CA
22443   1G1ZD5ST2JF247513   GM           CRUZE                DETROIT                  MI
22444   1G1ZD5ST2JF247575   GM           CRUZE                PHOENIX                  AZ
22445   1G1ZD5ST2JF247687   GM           CRUZE                NOTTINGHAM               MD
22446   1G1ZD5ST2JF247740   GM           CRUZE                HANOVER                  MD
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22447   1G1ZD5ST2JF247768   GM           CRUZE                Miami                    FL
22448   1G1ZD5ST2JF247785   GM           CRUZE                PALM SPRINGS             CA
22449   1G1ZD5ST2JF247799   GM           CRUZE                COLUMBUS                 OH
22450   1G1ZD5ST2JF247866   GM           CRUZE                BOSTON                   MA
22451   1G1ZD5ST2JF247902   GM           CRUZE                SAN FRANCISCO            CA
22452   1G1ZD5ST2JF247916   GM           CRUZE                ORLANDO                  FL
22453   1G1ZD5ST2JF247978   GM           CRUZE                LOS ANGELES              CA
22454   1G1ZD5ST2JF247995   GM           CRUZE                PHILADELPHIA             PA
22455   1G1ZD5ST2JF248063   GM           CRUZE                GLEN BURNIE              MD
22456   1G1ZD5ST2JF248077   GM           CRUZE                SAINT PAUL               MN
22457   1G1ZD5ST2JF248094   GM           CRUZE                SAINT PAUL               MN
22458   1G1ZD5ST2JF248161   GM           CRUZE                WARWICK                  RI
22459   1G1ZD5ST2JF248208   GM           CRUZE                PHOENIX                  AZ
22460   1G1ZD5ST2JF248256   GM           CRUZE                Indianapolis             IN
22461   1G1ZD5ST2JF248368   GM           CRUZE                ATLANTA                  GA
22462   1G1ZD5ST2JF248385   GM           CRUZE                FORT LAUDERDALE          FL
22463   1G1ZD5ST2JF248399   GM           CRUZE                RICHMOND                 VA
22464   1G1ZD5ST2JF248404   GM           CRUZE                ALBUQUERQUE              NM
22465   1G1ZD5ST2JF248418   GM           CRUZE                CHARLOTTE                NC
22466   1G1ZD5ST2JF248421   GM           CRUZE                Las Vegas                NV
22467   1G1ZD5ST2JF248452   GM           CRUZE                TRACY                    CA
22468   1G1ZD5ST2JF248483   GM           CRUZE                NEW ENGLAND DEALER       MA
22469   1G1ZD5ST2JF248516   GM           CRUZE                TALLAHASSEE              F
22470   1G1ZD5ST2JF248547   GM           CRUZE                Kent                     WA
22471   1G1ZD5ST2JF248550   GM           CRUZE                El Segundo               CA
22472   1G1ZD5ST2JF248659   GM           CRUZE                Charlotte                NC
22473   1G1ZD5ST2JF248712   GM           CRUZE                CHICAGO                  IL
22474   1G1ZD5ST2JF248757   GM           CRUZE                OAKLAND                  CA
22475   1G1ZD5ST2JF248984   GM           CRUZE                Anaheim                  CA
22476   1G1ZD5ST2JF249021   GM           CRUZE                NORTH PAC                CA
22477   1G1ZD5ST2JF249097   GM           CRUZE                Plainfield               IN
22478   1G1ZD5ST2JF249214   GM           MALIBU               Tampa                    FL
22479   1G1ZD5ST2JF249343   GM           CRUZE                Chicago                  IL
22480   1G1ZD5ST2JF249357   GM           CRUZE                DETROIT                  MI
22481   1G1ZD5ST2JF249374   GM           CRUZE                FORT MYERS               FL
22482   1G1ZD5ST2JF249438   GM           CRUZE                Portland                 OR
22483   1G1ZD5ST2JF249665   GM           CRUZE                Indianapolis             IN
22484   1G1ZD5ST2JF249861   GM           CRUZE                DETROIT                  MI
22485   1G1ZD5ST2JF249990   GM           CRUZE                CHICAGO                  IL
22486   1G1ZD5ST2JF250024   GM           CRUZE                Manheim                  PA
22487   1G1ZD5ST2JF250038   GM           CRUZE                PHOENIX                  AZ
22488   1G1ZD5ST2JF250122   GM           CRUZE                ORLANDO                  FL
22489   1G1ZD5ST2JF250220   GM           CRUZE                SARASOTA                 FL
22490   1G1ZD5ST2JF250234   GM           CRUZE                WEST PALM BEACH          FL
22491   1G1ZD5ST2JF250332   GM           CRUZE                LOS ANGELES              CA
22492   1G1ZD5ST2JF250430   GM           CRUZE                Marietta                 GA
22493   1G1ZD5ST2JF250475   GM           CRUZE                BURBANK                  CA
22494   1G1ZD5ST2JF250525   GM           CRUZE                ONTARIO                  CA
22495   1G1ZD5ST2JF250945   GM           CRUZE                Tolleson                 AZ
22496   1G1ZD5ST2JF251514   GM           CRUZE                BURBANK                  CA
22497   1G1ZD5ST2JF251626   GM           CRUZE                MILWAUKEE                WI
22498   1G1ZD5ST2JF251657   GM           CRUZE                Framingham               MA
22499   1G1ZD5ST2JF251707   GM           CRUZE                Nashville                TN
22500   1G1ZD5ST2JF251741   GM           CRUZE                North Las Vegas          NV
22501   1G1ZD5ST2JF251853   GM           CRUZE                GRAND JUNCTION           C
22502   1G1ZD5ST2JF251965   GM           CRUZE                ROSEVILLE                CA
22503   1G1ZD5ST2JF252503   GM           CRUZE                SAN ANTONIO              TX
22504   1G1ZD5ST2JF252601   GM           CRUZE                CHICAGO                  IL
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22505   1G1ZD5ST2JF252825   GM           CRUZE                Maple Grove              MN
22506   1G1ZD5ST2JF253070   GM           CRUZE                LAS VEGAS                NV
22507   1G1ZD5ST2JF253344   GM           CRUZE                DENVER                   CO
22508   1G1ZD5ST2JF253490   GM           CRUZE                Manheim                  PA
22509   1G1ZD5ST2JF253537   GM           CRUZE                LAS VEGAS                NV
22510   1G1ZD5ST2JF253540   GM           CRUZE                SOUTHEAST DST OFFC       OK
22511   1G1ZD5ST2JF253585   GM           CRUZE                NORTH HILLS              CA
22512   1G1ZD5ST2JF253781   GM           CRUZE                SAN FRANCISCO            CA
22513   1G1ZD5ST2JF253831   GM           CRUZE                VALLEJO                  CA
22514   1G1ZD5ST2JF253926   GM           CRUZE                SACRAMENTO               CA
22515   1G1ZD5ST2JF254090   GM           CRUZE                Maple Grove              MN
22516   1G1ZD5ST2JF254154   GM           CRUZE                DENVER                   CO
22517   1G1ZD5ST2JF254333   GM           CRUZE                Irving                   TX
22518   1G1ZD5ST2JF254719   GM           CRUZE                BOSTON                   MA
22519   1G1ZD5ST2JF254820   GM           CRUZE                CHICAGO                  IL
22520   1G1ZD5ST2JF254963   GM           CRUZE                ALBUQERQUE               NM
22521   1G1ZD5ST2JF255059   GM           CRUZE                TAMPA                    FL
22522   1G1ZD5ST2JF255093   GM           CRUZE                SACRAMENTO               CA
22523   1G1ZD5ST2JF255367   GM           CRUZE                Roseville                CA
22524   1G1ZD5ST2JF255482   GM           CRUZE                STERLING                 VA
22525   1G1ZD5ST2JF255496   GM           CRUZE                Elkridge                 MD
22526   1G1ZD5ST2JF255742   GM           CRUZE                Caledonia                WI
22527   1G1ZD5ST2JF255854   GM           CRUZE                Elkridge                 MD
22528   1G1ZD5ST2JF255983   GM           CRUZE                PITTSBURGH               PA
22529   1G1ZD5ST2JF256129   GM           CRUZE                CHICAGO                  IL
22530   1G1ZD5ST2JF256132   GM           CRUZE                LAS VEGAS                NV
22531   1G1ZD5ST2JF256244   GM           CRUZE                Tampa                    FL
22532   1G1ZD5ST2JF256261   GM           CRUZE                BURBANK                  CA
22533   1G1ZD5ST2JF256390   GM           CRUZE                Davie                    FL
22534   1G1ZD5ST2JF256535   GM           CRUZE                CHICAGO                  IL
22535   1G1ZD5ST2JF256583   GM           CRUZE                STERLING                 VA
22536   1G1ZD5ST2JF256647   GM           CRUZE                FT LAUDERDALE            FL
22537   1G1ZD5ST2JF257202   GM           CRUZE                Atlanta                  GA
22538   1G1ZD5ST2JF257281   GM           CRUZE                CHICAGO                  IL
22539   1G1ZD5ST2JF257362   GM           CRUZE                ONTARIO, RIVERSIDE       CA
22540   1G1ZD5ST2JF257507   GM           CRUZE                VISTA                    CA
22541   1G1ZD5ST2JF257510   GM           CRUZE                SAN JOSE                 CA
22542   1G1ZD5ST2JF257619   GM           CRUZE                BURBANK                  CA
22543   1G1ZD5ST2JF257653   GM           CRUZE                Philadelphia             PA
22544   1G1ZD5ST2JF257989   GM           CRUZE                Tustin                   CA
22545   1G1ZD5ST2JF258138   GM           CRUZE                Stockton                 CA
22546   1G1ZD5ST2JF258883   GM           CRUZE                Beaverton                OR
22547   1G1ZD5ST2JF259273   GM           CRUZE                JACKSONVILLE             FL
22548   1G1ZD5ST2JF259791   GM           CRUZE                Santa Clara              CA
22549   1G1ZD5ST2JF259824   GM           CRUZE                San Diego                CA
22550   1G1ZD5ST2JF259970   GM           CRUZE                Charlotte                NC
22551   1G1ZD5ST2JF260469   GM           CRUZE                Costa Mesa               CA
22552   1G1ZD5ST2JF260696   GM           CRUZE                Phoenix                  AZ
22553   1G1ZD5ST2JF260715   GM           CRUZE                Houston                  TX
22554   1G1ZD5ST2JF260908   GM           CRUZE                NORTH PAC                CA
22555   1G1ZD5ST2JF261007   GM           CRUZE                Mira Loma                CA
22556   1G1ZD5ST2JF261136   GM           CRUZE                LOS ANGELES              CA
22557   1G1ZD5ST2JF261749   GM           CRUZE                Phoenix                  AZ
22558   1G1ZD5ST2JF261833   GM           CRUZE                Hamilton                 OH
22559   1G1ZD5ST2JF261959   GM           CRUZE                SAN JOSE                 CA
22560   1G1ZD5ST2JF261993   GM           CRUZE                OAKLAND                  CA
22561   1G1ZD5ST2JF262013   GM           CRUZE                Springfield              MO
22562   1G1ZD5ST2JF262447   GM           CRUZE                Elkridge                 MD
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22563   1G1ZD5ST2JF262514   GM           CRUZE                MEDINA                   OH
22564   1G1ZD5ST2JF262593   GM           CRUZE                ATLANTA                  GA
22565   1G1ZD5ST2JF262609   GM           CRUZE                Elkridge                 MD
22566   1G1ZD5ST2JF262612   GM           CRUZE                Fresno                   CA
22567   1G1ZD5ST2JF262772   GM           CRUZE                FRESNO                   CA
22568   1G1ZD5ST2JF262853   GM           CRUZE                North Las Vegas          NV
22569   1G1ZD5ST2JF262948   GM           CRUZE                Roseville                CA
22570   1G1ZD5ST2JF263114   GM           CRUZE                NORTH PAC                CA
22571   1G1ZD5ST2JF263274   GM           CRUZE                DFW AIRPORT              TX
22572   1G1ZD5ST2JF263520   GM           CRUZE                CLEVELAND                OH
22573   1G1ZD5ST2JF263596   GM           CRUZE                Hebron                   KY
22574   1G1ZD5ST2JF264389   GM           CRUZE                SPRINGFIELD              VA
22575   1G1ZD5ST2JF264425   GM           CRUZE                Sacramento               CA
22576   1G1ZD5ST2JF264442   GM           CRUZE                Baltimore                MD
22577   1G1ZD5ST2JF264747   GM           CRUZE                Sacramento               CA
22578   1G1ZD5ST2JF264893   GM           CRUZE                SAINT LOUIS              MO
22579   1G1ZD5ST2JF264957   GM           CRUZE                SAINT PAUL               MN
22580   1G1ZD5ST2JF265199   GM           CRUZE                Chicago                  IL
22581   1G1ZD5ST2JF265526   GM           CRUZE                Winter Park              FL
22582   1G1ZD5ST2JF266157   GM           CRUZE                Marietta                 GA
22583   1G1ZD5ST2JF266255   GM           CRUZE                LOS ANGELES              CA
22584   1G1ZD5ST2JF266286   GM           CRUZE                BURBANK                  CA
22585   1G1ZD5ST2JF266319   GM           CRUZE                Arlington                WA
22586   1G1ZD5ST2JF267115   GM           CRUZE                BOSTON                   MA
22587   1G1ZD5ST2JF267471   GM           CRUZE                MONTCLAIR                CA
22588   1G1ZD5ST2JF268345   GM           CRUZE                SAN DIEGO                CA
22589   1G1ZD5ST2JF268622   GM           CRUZE                SAN JOSE                 CA
22590   1G1ZD5ST2JF268765   GM           CRUZE                FAYETTEVILLE             GA
22591   1G1ZD5ST2JF268801   GM           CRUZE                Woodhaven                MI
22592   1G1ZD5ST2JF268944   GM           CRUZE                CHICAGO                  IL
22593   1G1ZD5ST2JF269947   GM           CRUZE                LAS VEGAS                NV
22594   1G1ZD5ST2JF270211   GM           CRUZE                CHICAGO                  IL
22595   1G1ZD5ST2JF270306   GM           CRUZE                SHREVEPORT               LA
22596   1G1ZD5ST2JF270371   GM           CRUZE                STERLING                 VA
22597   1G1ZD5ST2JF270466   GM           CRUZE                HANOVER                  MD
22598   1G1ZD5ST2JF270693   GM           CRUZE                MARIETTA                 GA
22599   1G1ZD5ST2JF270743   GM           CRUZE                MIAMI                    FL
22600   1G1ZD5ST2JF270760   GM           CRUZE                PORTLAND                 OR
22601   1G1ZD5ST2JF270791   GM           CRUZE                ORLANDO                  FL
22602   1G1ZD5ST2JF270922   GM           CRUZE                Dallas                   TX
22603   1G1ZD5ST2JF271052   GM           CRUZE                Euless                   TX
22604   1G1ZD5ST2JF271200   GM           CRUZE                LOS ANGELES              CA
22605   1G1ZD5ST2JF271245   GM           CRUZE                Hamilton                 OH
22606   1G1ZD5ST2JF271309   GM           CRUZE                LOS ANGELES AP           CA
22607   1G1ZD5ST2JF271326   GM           CRUZE                Lake Elsinore            CA
22608   1G1ZD5ST2JF271469   GM           CRUZE                SANTA ANA                CA
22609   1G1ZD5ST2JF271648   GM           CRUZE                Slidell                  LA
22610   1G1ZD5ST2JF271780   GM           CRUZE                BURBANK                  CA
22611   1G1ZD5ST2JF271813   GM           CRUZE                Houston                  TX
22612   1G1ZD5ST2JF271925   GM           CRUZE                MORROW                   GA
22613   1G1ZD5ST2JF271942   GM           CRUZE                North Las Vegas          NV
22614   1G1ZD5ST2JF272072   GM           CRUZE                WEST PALM BEACH          FL
22615   1G1ZD5ST2JF272105   GM           CRUZE                ORLANDO                  FL
22616   1G1ZD5ST2JF272122   GM           CRUZE                SAN DIEGO                CA
22617   1G1ZD5ST2JF272136   GM           CRUZE                Greensboro               NC
22618   1G1ZD5ST2JF272198   GM           CRUZE                DALLAS                   TX
22619   1G1ZD5ST2JF272458   GM           CRUZE                Fontana                  CA
22620   1G1ZD5ST2JF272587   GM           CRUZE                Lake Elsinore            CA
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22621   1G1ZD5ST2JF272606   GM           CRUZE                Carleton                 MI
22622   1G1ZD5ST2JF272668   GM           CRUZE                NORTH PAC                CA
22623   1G1ZD5ST2JF272704   GM           CRUZE                Stone Mountain           GA
22624   1G1ZD5ST2JF273674   GM           CRUZE                Tampa                    FL
22625   1G1ZD5ST2JF274145   GM           CRUZE                Atlanta                  GA
22626   1G1ZD5ST2JF274419   GM           CRUZE                CHICAGO                  IL
22627   1G1ZD5ST2JF274551   GM           CRUZE                HOUSTON                  TX
22628   1G1ZD5ST2JF274565   GM           CRUZE                Las Vegas                NV
22629   1G1ZD5ST2JF274677   GM           CRUZE                Florissant               MO
22630   1G1ZD5ST2JF275070   GM           CRUZE                MIAMI                    FL
22631   1G1ZD5ST2JF275098   GM           CRUZE                Scottsdale               AZ
22632   1G1ZD5ST2JF275117   GM           CRUZE                North Dighton            MA
22633   1G1ZD5ST2JF275179   GM           CRUZE                Tampa                    FL
22634   1G1ZD5ST2JF275263   GM           CRUZE                Riverside                CA
22635   1G1ZD5ST2JF275280   GM           CRUZE                Las Vegas                NV
22636   1G1ZD5ST2JF275585   GM           CRUZE                TAMPA                    FL
22637   1G1ZD5ST2JF275599   GM           CRUZE                BLOOMINGTON              IL
22638   1G1ZD5ST2JF275733   GM           CRUZE                WARWICK                  RI
22639   1G1ZD5ST2JF275960   GM           CRUZE                SAN DIEGO                CA
22640   1G1ZD5ST2JF276249   GM           CRUZE                SACRAMENTO               CA
22641   1G1ZD5ST2JF276428   GM           CRUZE                MEMPHIS                  TN
22642   1G1ZD5ST2KF104272   GM           MALIBU               FORT LAUDERDALE          FL
22643   1G1ZD5ST2KF104384   GM           MALIBU               SOUTHEAST DST OFFC       OK
22644   1G1ZD5ST2KF104417   GM           MALIBU               HOUSTON                  TX
22645   1G1ZD5ST2KF104546   GM           MALIBU               FORT MYERS               FL
22646   1G1ZD5ST2KF104658   GM           MALIBU               LOS ANGELES              CA
22647   1G1ZD5ST2KF104966   GM           MALIBU               ORLANDO                  FL
22648   1G1ZD5ST2KF105065   GM           MALIBU               Hebron                   KY
22649   1G1ZD5ST2KF105101   GM           MALIBU               Miami                    FL
22650   1G1ZD5ST2KF105258   GM           MALIBU               TAMPA                    FL
22651   1G1ZD5ST2KF105275   GM           MALIBU               ORLANDO                  FL
22652   1G1ZD5ST2KF105325   GM           MALIBU               WHITE PLAINS             NY
22653   1G1ZD5ST2KF105387   GM           MALIBU               ORLANDO                  FL
22654   1G1ZD5ST2KF105499   GM           MALIBU               CLEVELAND                OH
22655   1G1ZD5ST2KF105549   GM           MALIBU               ORLANDO                  FL
22656   1G1ZD5ST2KF105616   GM           MALIBU               KENNER                   LA
22657   1G1ZD5ST2KF105700   GM           MALIBU               Roseville                CA
22658   1G1ZD5ST2KF105762   GM           MALIBU               TAMPA                    FL
22659   1G1ZD5ST2KF105874   GM           MALIBU               FORT MYERS               FL
22660   1G1ZD5ST2KF106054   GM           MALIBU               Florissant               MO
22661   1G1ZD5ST2KF106166   GM           MALIBU               TAMPA                    FL
22662   1G1ZD5ST2KF106216   GM           MALIBU               FORT LAUDERDALE          FL
22663   1G1ZD5ST2KF106426   GM           MALIBU               ORLANDO                  FL
22664   1G1ZD5ST2KF106779   GM           MALIBU               Burien                   WA
22665   1G1ZD5ST2KF106989   GM           MALIBU               SAN DIEGO                CA
22666   1G1ZD5ST2KF107205   GM           MALIBU               BURBANK                  CA
22667   1G1ZD5ST2KF108192   GM           MALIBU               ATLANTA                  GA
22668   1G1ZD5ST2KF108743   GM           MALIBU               GYPSUM                   CO
22669   1G1ZD5ST2KF109102   GM           MALIBU               LAS VEGAS                NV
22670   1G1ZD5ST2KF109181   GM           MALIBU               Santa Clara              CA
22671   1G1ZD5ST2KF109262   GM           MALIBU               SAN DIEGO                CA
22672   1G1ZD5ST2KF109567   GM           MALIBU               ATLANTA                  GA
22673   1G1ZD5ST2KF110315   GM           MALIBU               Statesville              NC
22674   1G1ZD5ST2KF110556   GM           MALIBU               SARASOTA                 FL
22675   1G1ZD5ST2KF110640   GM           MALIBU               Charlotte                NC
22676   1G1ZD5ST2KF110721   GM           MALIBU               Denver                   CO
22677   1G1ZD5ST2KF110833   GM           MALIBU               ORLANDO                  FL
22678   1G1ZD5ST2KF110928   GM           MALIBU               MIAMI                    FL
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22679   1G1ZD5ST2KF110959   GM           MALIBU               FORT LAUDERDALE          FL
22680   1G1ZD5ST2KF110976   GM           MALIBU               Miami                    FL
22681   1G1ZD5ST2KF110993   GM           MALIBU               UNION CITY               GA
22682   1G1ZD5ST2KF111058   GM           MALIBU               ATLANTA                  GA
22683   1G1ZD5ST2KF111089   GM           MALIBU               Manheim                  PA
22684   1G1ZD5ST2KF111092   GM           MALIBU               CLEVELAND                OH
22685   1G1ZD5ST2KF111254   GM           MALIBU               ORLANDO                  FL
22686   1G1ZD5ST2KF111500   GM           MALIBU               PORTLAND                 ME
22687   1G1ZD5ST2KF111545   GM           MALIBU               SALT LAKE CITY           US
22688   1G1ZD5ST2KF111674   GM           MALIBU               WEST PALM BEACH          FL
22689   1G1ZD5ST2KF112050   GM           MALIBU               Florissant               MO
22690   1G1ZD5ST2KF112243   GM           MALIBU               WEST PALM BEACH          FL
22691   1G1ZD5ST2KF112369   GM           MALIBU               ORLANDO                  FL
22692   1G1ZD5ST2KF112405   GM           MALIBU               CHICAGO                  IL
22693   1G1ZD5ST2KF112758   GM           MALIBU               ORLANDO                  FL
22694   1G1ZD5ST2KF112811   GM           MALIBU               TAMPA                    FL
22695   1G1ZD5ST2KF113148   GM           MALIBU               TAMPA                    US
22696   1G1ZD5ST2KF113537   GM           MALIBU               MIAMI                    FL
22697   1G1ZD5ST2KF113554   GM           MALIBU               TAMPA                    FL
22698   1G1ZD5ST2KF113733   GM           MALIBU               EPHRATA                  PA
22699   1G1ZD5ST2KF113750   GM           MALIBU               MIAMI                    FL
22700   1G1ZD5ST2KF113778   GM           MALIBU               Winston‐Salem            NC
22701   1G1ZD5ST2KF113831   GM           MALIBU               SARASOTA                 FL
22702   1G1ZD5ST2KF113862   GM           MALIBU               TAMPA                    FL
22703   1G1ZD5ST2KF114087   GM           MALIBU               PHILADELPHIA             PA
22704   1G1ZD5ST2KF114123   GM           MALIBU               CHARLOTTE                NC
22705   1G1ZD5ST2KF114199   GM           MALIBU               JACKSONVILLE             FL
22706   1G1ZD5ST2KF114266   GM           MALIBU               ORLANDO                  FL
22707   1G1ZD5ST2KF114283   GM           MALIBU               Charlotte                NC
22708   1G1ZD5ST2KF114378   GM           MALIBU               SARASOTA                 FL
22709   1G1ZD5ST2KF114607   GM           MALIBU               Atlanta                  GA
22710   1G1ZD5ST2KF114669   GM           MALIBU               FORT MYERS               FL
22711   1G1ZD5ST2KF114736   GM           MALIBU               ALEXANDRIA               VA
22712   1G1ZD5ST2KF115255   GM           MALIBU               HAMPTON                  VA
22713   1G1ZD5ST2KF115384   GM           MALIBU               ST Paul                  MN
22714   1G1ZD5ST2KF115997   GM           MALIBU               WEST PALM BEACH          FL
22715   1G1ZD5ST2KF116163   GM           MALIBU               FORT MYERS               FL
22716   1G1ZD5ST2KF116311   GM           MALIBU               Houston                  TX
22717   1G1ZD5ST2KF116440   GM           MALIBU               DAYTONA BEACH            FL
22718   1G1ZD5ST2KF116714   GM           MALIBU               Charlotte                NC
22719   1G1ZD5ST2KF117183   GM           MALIBU               ATLANTA                  GA
22720   1G1ZD5ST2KF117250   GM           MALIBU               NORTH PAC                CA
22721   1G1ZD5ST2KF117393   GM           MALIBU               NORTH PAC                CA
22722   1G1ZD5ST2KF117717   GM           MALIBU               WEST PALM BEACH          FL
22723   1G1ZD5ST2KF117992   GM           MALIBU               TAMPA                    FL
22724   1G1ZD5ST2KF118060   GM           MALIBU               WARWICK                  RI
22725   1G1ZD5ST2KF118091   GM           MALIBU               SARASOTA                 FL
22726   1G1ZD5ST2KF118401   GM           MALIBU               TAMPA                    FL
22727   1G1ZD5ST2KF118446   GM           MALIBU               SOUTHEAST DST OFFC       OK
22728   1G1ZD5ST2KF118558   GM           MALIBU               ORLANDO                  FL
22729   1G1ZD5ST2KF118561   GM           MALIBU               SARASOTA                 FL
22730   1G1ZD5ST2KF119029   GM           MALIBU               ORLANDO                  FL
22731   1G1ZD5ST2KF119046   GM           MALIBU               Manheim                  PA
22732   1G1ZD5ST2KF119192   GM           MALIBU               ORLANDO                  FL
22733   1G1ZD5ST2KF119564   GM           MALIBU               FORT LAUDERDALE          FL
22734   1G1ZD5ST2KF120021   GM           MALIBU               LOS ANGELES              CA
22735   1G1ZD5ST2KF121458   GM           MALIBU               ORLANDO                  FL
22736   1G1ZD5ST2KF122187   GM           MALIBU               Phoenix                  AZ
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22737   1G1ZD5ST2KF122769   GM           MALIBU               San Diego                CA
22738   1G1ZD5ST2KF122805   GM           MALIBU               NORWALK                  CA
22739   1G1ZD5ST2KF122819   GM           MALIBU               WEST PALM BEACH          FL
22740   1G1ZD5ST2KF123615   GM           MALIBU               GRAND RAPIDS             MI
22741   1G1ZD5ST2KF124103   GM           MALIBU               DAYTONA BEACH            FL
22742   1G1ZD5ST2KF124179   GM           MALIBU               NEW BERN                 NC
22743   1G1ZD5ST2KF124215   GM           MALIBU               WEST PALM BEACH          FL
22744   1G1ZD5ST2KF124327   GM           MALIBU               FORT MYERS               FL
22745   1G1ZD5ST2KF124991   GM           MALIBU               PHOENIX                  AZ
22746   1G1ZD5ST2KF125610   GM           MALIBU               WEST PALM BEACH          FL
22747   1G1ZD5ST2KF126076   GM           MALIBU               STERLING                 VA
22748   1G1ZD5ST2KF126126   GM           MALIBU               JACKSONVILLE             FL
22749   1G1ZD5ST2KF126563   GM           MALIBU               LOS ANGELES              CA
22750   1G1ZD5ST2KF126773   GM           MALIBU               MIAMI                    FL
22751   1G1ZD5ST2KF127146   GM           MALIBU               Nashville                TN
22752   1G1ZD5ST2KF133450   GM           MALIBU               ORLANDO                  FL
22753   1G1ZD5ST2KF133707   GM           MALIBU               OAKLAND                  CA
22754   1G1ZD5ST2KF133870   GM           MALIBU               COLLEGE PARK             GA
22755   1G1ZD5ST2KF133884   GM           MALIBU               ORLANDO                  FL
22756   1G1ZD5ST2KF134100   GM           MALIBU               GRAND RAPIDS             MI
22757   1G1ZD5ST2KF134209   GM           MALIBU               Ft. Myers                FL
22758   1G1ZD5ST2KF134257   GM           MALIBU               NEW BERN                 NC
22759   1G1ZD5ST2KF134386   GM           MALIBU               SARASOTA                 FL
22760   1G1ZD5ST2KF134520   GM           MALIBU               CHICAGO                  IL
22761   1G1ZD5ST2KF134548   GM           MALIBU               ORLANDO                  FL
22762   1G1ZD5ST2KF134677   GM           MALIBU               TAMPA                    FL
22763   1G1ZD5ST2KF134792   GM           MALIBU               HANOVER                  MD
22764   1G1ZD5ST2KF134825   GM           MALIBU               Jacksonville             FL
22765   1G1ZD5ST2KF134906   GM           MALIBU               JACKSONVILLE             FL
22766   1G1ZD5ST2KF134999   GM           MALIBU               TAMPA                    US
22767   1G1ZD5ST2KF135148   GM           MALIBU               TAMPA                    FL
22768   1G1ZD5ST2KF135201   GM           MALIBU               Atlanta                  GA
22769   1G1ZD5ST2KF135215   GM           MALIBU               CHICAGO                  IL
22770   1G1ZD5ST2KF135425   GM           MALIBU               SARASOTA                 FL
22771   1G1ZD5ST2KF135778   GM           MALIBU               PHILADELPHIA             PA
22772   1G1ZD5ST2KF135943   GM           MALIBU               FORT LAUDERDALE          FL
22773   1G1ZD5ST2KF136588   GM           MALIBU               WEST PALM BEACH          FL
22774   1G1ZD5ST2KF136719   GM           MALIBU               WEST PALM BEACH          FL
22775   1G1ZD5ST2KF136820   GM           MALIBU               FORT LAUDERDALE          FL
22776   1G1ZD5ST2KF136946   GM           MALIBU               JACKSONVILLE             FL
22777   1G1ZD5ST2KF137076   GM           MALIBU               FORT LAUDERDALE          FL
22778   1G1ZD5ST2KF137210   GM           MALIBU               KENNER                   LA
22779   1G1ZD5ST2KF137305   GM           MALIBU               LOS ANGELES              CA
22780   1G1ZD5ST2KF137384   GM           MALIBU               ORLANDO                  FL
22781   1G1ZD5ST2KF137398   GM           MALIBU               JACKSONVILLE             FL
22782   1G1ZD5ST2KF137496   GM           MALIBU               ALEXANDRIA               VA
22783   1G1ZD5ST2KF137661   GM           MALIBU               MIAMI                    FL
22784   1G1ZD5ST2KF137983   GM           MALIBU               North Billerica          MA
22785   1G1ZD5ST2KF138017   GM           MALIBU               TAMPA                    FL
22786   1G1ZD5ST2KF138602   GM           MALIBU               ATLANTA                  GA
22787   1G1ZD5ST2KF138616   GM           MALIBU               HOUSTON                  TX
22788   1G1ZD5ST2KF138972   GM           MALIBU               Houston                  TX
22789   1G1ZD5ST2KF139331   GM           MALIBU               HOUSTON                  TX
22790   1G1ZD5ST2KF139460   GM           MALIBU               ORLANDO                  FL
22791   1G1ZD5ST2KF139491   GM           MALIBU               ORLANDO                  FL
22792   1G1ZD5ST2KF153908   GM           MALIBU               CLEVELAND                OH
22793   1G1ZD5ST2KF153939   GM           MALIBU               Phoenix                  AZ
22794   1G1ZD5ST2KF154251   GM           MALIBU               FORT LAUDERDALE          FL
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22795   1G1ZD5ST2KF154685   GM           MALIBU               ORLANDO                  FL
22796   1G1ZD5ST2KF154797   GM           MALIBU               Rockville Centr          NY
22797   1G1ZD5ST2KF154864   GM           MALIBU               TAMPA                    US
22798   1G1ZD5ST2KF155142   GM           MALIBU               ORLANDO                  FL
22799   1G1ZD5ST2KF155285   GM           MALIBU               JACKSONVILLE             FL
22800   1G1ZD5ST2KF155397   GM           MALIBU               HANOVER                  MD
22801   1G1ZD5ST2KF155433   GM           MALIBU               TAMPA                    FL
22802   1G1ZD5ST2KF155691   GM           MALIBU               ORLANDO                  FL
22803   1G1ZD5ST2KF156162   GM           MALIBU               ATLANTA                  GA
22804   1G1ZD5ST2KF156498   GM           MALIBU               PENSACOLA                FL
22805   1G1ZD5ST2KF157490   GM           MALIBU               FORT LAUDERDALE          FL
22806   1G1ZD5ST2KF157764   GM           MALIBU               FORT MYERS               FL
22807   1G1ZD5ST2KF157778   GM           MALIBU               FORT LAUDERDALE          FL
22808   1G1ZD5ST2KF157974   GM           MALIBU               WOODSON TERRACE          MO
22809   1G1ZD5ST2KF158090   GM           MALIBU               WEST PALM BEACH          FL
22810   1G1ZD5ST2KF158154   GM           MALIBU               TAMPA                    FL
22811   1G1ZD5ST2KF158445   GM           MALIBU               ORLANDO                  FL
22812   1G1ZD5ST2KF158543   GM           MALIBU               TAMPA                    US
22813   1G1ZD5ST2KF158560   GM           MALIBU               ALBANY                   GA
22814   1G1ZD5ST2KF158851   GM           MALIBU               LOS ANGELES              CA
22815   1G1ZD5ST2KF158929   GM           MALIBU               Nashville                TN
22816   1G1ZD5ST2KF158963   GM           MALIBU               TAMPA                    FL
22817   1G1ZD5ST2KF159353   GM           MALIBU               WEST PALM BEACH          FL
22818   1G1ZD5ST2KF159501   GM           MALIBU               TAMPA                    FL
22819   1G1ZD5ST2KF159661   GM           MALIBU               GLASSBORO                NJ
22820   1G1ZD5ST2KF159918   GM           MALIBU               ORLANDO                  FL
22821   1G1ZD5ST2KF159935   GM           MALIBU               FORT LAUDERDALE          FL
22822   1G1ZD5ST2KF160020   GM           MALIBU               Rockville Centr          NY
22823   1G1ZD5ST2KF160244   GM           MALIBU               NEWARK                   NJ
22824   1G1ZD5ST2KF160275   GM           MALIBU               FORT MYERS               FL
22825   1G1ZD5ST2KF160387   GM           MALIBU               ORLANDO                  FL
22826   1G1ZD5ST2KF160454   GM           MALIBU               SCHILLER PARK            IL
22827   1G1ZD5ST2KF160549   GM           MALIBU               ORLANDO                  FL
22828   1G1ZD5ST2KF160938   GM           MALIBU               FORT LAUDERDALE          FL
22829   1G1ZD5ST2KF161281   GM           MALIBU               CORAL SPRINGS            FL
22830   1G1ZD5ST2KF161328   GM           MALIBU               ORLANDO                  FL
22831   1G1ZD5ST2KF161412   GM           MALIBU               MIAMI                    FL
22832   1G1ZD5ST2KF161507   GM           MALIBU               SARASOTA                 FL
22833   1G1ZD5ST2KF161510   GM           MALIBU               Miami                    FL
22834   1G1ZD5ST2KF161524   GM           MALIBU               FORT LAUDERDALE          FL
22835   1G1ZD5ST2KF161880   GM           MALIBU               ORLANDO                  FL
22836   1G1ZD5ST2KF161961   GM           MALIBU               CLARKSVILLE              IN
22837   1G1ZD5ST2KF161992   GM           MALIBU               ORLANDO                  FL
22838   1G1ZD5ST2KF162107   GM           MALIBU               ORLANDO                  FL
22839   1G1ZD5ST2KF162138   GM           MALIBU               CHARLESTON               WV
22840   1G1ZD5ST2KF162141   GM           MALIBU               TAMPA                    FL
22841   1G1ZD5ST2KF162284   GM           MALIBU               MIAMI                    FL
22842   1G1ZD5ST2KF162348   GM           MALIBU               ORLANDO                  FL
22843   1G1ZD5ST2KF162527   GM           MALIBU               SALT LAKE CITY           US
22844   1G1ZD5ST2KF162544   GM           MALIBU               ORLANDO                  FL
22845   1G1ZD5ST2KF162656   GM           MALIBU               ORLANDO                  FL
22846   1G1ZD5ST2KF162687   GM           MALIBU               FORT MYERS               FL
22847   1G1ZD5ST2KF162768   GM           MALIBU               FORT LAUDERDALE          FL
22848   1G1ZD5ST2KF162947   GM           MALIBU               ORLANDO                  FL
22849   1G1ZD5ST2KF163001   GM           MALIBU               FORT LAUDERDALE          FL
22850   1G1ZD5ST2KF163029   GM           MALIBU               FORT MYERS               FL
22851   1G1ZD5ST2KF163080   GM           MALIBU               Denver                   CO
22852   1G1ZD5ST2KF163094   GM           MALIBU               Leroy                    NY
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22853   1G1ZD5ST2KF163113   GM           MALIBU               ORLANDO                  FL
22854   1G1ZD5ST2KF163127   GM           MALIBU               INDIANAPOLIS             IN
22855   1G1ZD5ST2KF163256   GM           MALIBU               TAMPA                    FL
22856   1G1ZD5ST2KF163337   GM           MALIBU               ORLANDO                  FL
22857   1G1ZD5ST2KF163371   GM           MALIBU               MIAMI                    FL
22858   1G1ZD5ST2KF163483   GM           MALIBU               Tulsa                    OK
22859   1G1ZD5ST2KF163502   GM           MALIBU               MIAMI                    FL
22860   1G1ZD5ST2KF163628   GM           MALIBU               TAMPA                    FL
22861   1G1ZD5ST2KF163645   GM           MALIBU               TAMPA                    FL
22862   1G1ZD5ST2KF163810   GM           MALIBU               Orlando                  FL
22863   1G1ZD5ST2KF163824   GM           MALIBU               FORT MYERS               FL
22864   1G1ZD5ST2KF163998   GM           MALIBU               JACKSONVILLE             FL
22865   1G1ZD5ST2KF164102   GM           MALIBU               MATTHEWS                 NC
22866   1G1ZD5ST2KF164231   GM           MALIBU               MIAMI                    FL
22867   1G1ZD5ST2KF164312   GM           MALIBU               North Dighton            MA
22868   1G1ZD5ST2KF164469   GM           MALIBU               STERLING                 VA
22869   1G1ZD5ST2KF164519   GM           MALIBU               DES MOINES               IA
22870   1G1ZD5ST2KF164651   GM           MALIBU               ORLANDO                  FL
22871   1G1ZD5ST2KF164732   GM           MALIBU               Elgin                    IL
22872   1G1ZD5ST2KF164777   GM           MALIBU               FORT MYERS               FL
22873   1G1ZD5ST2KF164813   GM           MALIBU               Riverside                CA
22874   1G1ZD5ST2KF164911   GM           MALIBU               WEST COLUMBIA            SC
22875   1G1ZD5ST2KF165055   GM           MALIBU               FORT LAUDERDALE          FL
22876   1G1ZD5ST2KF165069   GM           MALIBU               CLEVELAND                OH
22877   1G1ZD5ST2KF165105   GM           MALIBU               WEST PALM BEACH          FL
22878   1G1ZD5ST2KF165329   GM           MALIBU               Atlanta                  GA
22879   1G1ZD5ST2KF165508   GM           MALIBU               JACKSONVILLE             FL
22880   1G1ZD5ST2KF165606   GM           MALIBU               Jacksonville             FL
22881   1G1ZD5ST2KF165668   GM           MALIBU               FORT LAUDERDALE          FL
22882   1G1ZD5ST2KF165671   GM           MALIBU               GRAND RAPIDS             MI
22883   1G1ZD5ST2KF165718   GM           MALIBU               TAMPA                    US
22884   1G1ZD5ST2KF165783   GM           MALIBU               ATLANTA                  GA
22885   1G1ZD5ST2KF165816   GM           MALIBU               FORT MYERS               FL
22886   1G1ZD5ST2KF165914   GM           MALIBU               INDIANAPOLIS             IN
22887   1G1ZD5ST2KF166142   GM           MALIBU               CHARLOTTE                NC
22888   1G1ZD5ST2KF166187   GM           MALIBU               Hayward                  CA
22889   1G1ZD5ST2KF166402   GM           MALIBU               NEW ORLEANS              LA
22890   1G1ZD5ST2KF166416   GM           MALIBU               Coraopolis               PA
22891   1G1ZD5ST2KF166495   GM           MALIBU               Slidell                  LA
22892   1G1ZD5ST2KF166691   GM           MALIBU               ORLANDO                  FL
22893   1G1ZD5ST2KF166707   GM           MALIBU               MIAMI                    FL
22894   1G1ZD5ST2KF166710   GM           MALIBU               Dallas                   TX
22895   1G1ZD5ST2KF166772   GM           MALIBU               ORLANDO                  FL
22896   1G1ZD5ST2KF166836   GM           MALIBU               MIAMI                    FL
22897   1G1ZD5ST2KF166920   GM           MALIBU               TAMPA                    FL
22898   1G1ZD5ST2KF166982   GM           MALIBU               SARASOTA                 FL
22899   1G1ZD5ST2KF167050   GM           MALIBU               Houston                  TX
22900   1G1ZD5ST2KF167078   GM           MALIBU               Davie                    FL
22901   1G1ZD5ST2KF167422   GM           MALIBU               MIAMI                    FL
22902   1G1ZD5ST2KF167582   GM           MALIBU               Des Plaines              IL
22903   1G1ZD5ST2KF167663   GM           MALIBU               ORLANDO                  FL
22904   1G1ZD5ST2KF167744   GM           MALIBU               MIAMI                    FL
22905   1G1ZD5ST2KF167789   GM           MALIBU               FORT MYERS               FL
22906   1G1ZD5ST2KF167856   GM           MALIBU               ORLANDO                  FL
22907   1G1ZD5ST2KF167887   GM           MALIBU               MIAMI                    FL
22908   1G1ZD5ST2KF167940   GM           MALIBU               SAINT LOUIS              MO
22909   1G1ZD5ST2KF168165   GM           MALIBU               ATLANTA                  GA
22910   1G1ZD5ST2KF168246   GM           MALIBU               Las Vegas                NV
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22911   1G1ZD5ST2KF168456   GM           MALIBU               CLEVELAND                OH
22912   1G1ZD5ST2KF168473   GM           MALIBU               JACKSONVILLE             FL
22913   1G1ZD5ST2KF168490   GM           MALIBU               CLARKSVILLE              IN
22914   1G1ZD5ST2KF168778   GM           MALIBU               JACKSONVILLE             FL
22915   1G1ZD5ST2KF169042   GM           MALIBU               Pittsburgh               PA
22916   1G1ZD5ST2KF169204   GM           MALIBU               SOUTH BEND               IN
22917   1G1ZD5ST2KF169235   GM           MALIBU               ORLANDO                  FL
22918   1G1ZD5ST2KF169364   GM           MALIBU               TAMPA                    FL
22919   1G1ZD5ST2KF169445   GM           MALIBU               Medford                  NY
22920   1G1ZD5ST2KF169655   GM           MALIBU               Denver                   CO
22921   1G1ZD5ST2KF169669   GM           MALIBU               KNOXVILLE                TN
22922   1G1ZD5ST2KF169705   GM           MALIBU               MIAMI                    FL
22923   1G1ZD5ST2KF169736   GM           MALIBU               Kansas City              MO
22924   1G1ZD5ST2KF170241   GM           MALIBU               FORT LAUDERDALE          FL
22925   1G1ZD5ST2KF170837   GM           MALIBU               DES MOINES               IA
22926   1G1ZD5ST2KF171177   GM           MALIBU               STERLING                 VA
22927   1G1ZD5ST2KF171244   GM           MALIBU               FORT LAUDERDALE          FL
22928   1G1ZD5ST2KF171258   GM           MALIBU               FT. LAUDERDALE           FL
22929   1G1ZD5ST2KF171440   GM           MALIBU               ORLANDO                  FL
22930   1G1ZD5ST2KF171549   GM           MALIBU               Atlanta                  GA
22931   1G1ZD5ST2KF171552   GM           MALIBU               MIAMI                    FL
22932   1G1ZD5ST2KF172197   GM           MALIBU               Maple Grove              MN
22933   1G1ZD5ST2KF172328   GM           MALIBU               TITUSVILLE               FL
22934   1G1ZD5ST2KF173091   GM           MALIBU               Detroit                  MI
22935   1G1ZD5ST2KF175634   GM           MALIBU               ATLANTA                  GA
22936   1G1ZD5ST2KF176749   GM           MALIBU               BIRMINGHAM               AL
22937   1G1ZD5ST2KF176850   GM           MALIBU               ATLANTA                  GA
22938   1G1ZD5ST2KF177061   GM           MALIBU               TAMPA                    US
22939   1G1ZD5ST2KF177237   GM           MALIBU               FORT LAUDERDALE          FL
22940   1G1ZD5ST2KF177366   GM           MALIBU               TAMPA                    FL
22941   1G1ZD5ST2KF177965   GM           MALIBU               ATLANTA                  GA
22942   1G1ZD5ST2KF178288   GM           MALIBU               Omaha                    NE
22943   1G1ZD5ST2KF179263   GM           MALIBU               Atlanta                  GA
22944   1G1ZD5ST2KF179327   GM           MALIBU               FLORIDA DEALER DIR       FL
22945   1G1ZD5ST2KF179666   GM           MALIBU               FORT MYERS               FL
22946   1G1ZD5ST2KF180283   GM           MALIBU               ATLANTA                  GA
22947   1G1ZD5ST2KF181241   GM           MALIBU               JACKSONVILLE             FL
22948   1G1ZD5ST2KF182115   GM           MALIBU               FORT MYERS               FL
22949   1G1ZD5ST2KF182969   GM           MALIBU               DETROIT                  MI
22950   1G1ZD5ST2KF184477   GM           MALIBU               JACKSONVILLE             FL
22951   1G1ZD5ST2KF186066   GM           MALIBU               Oklahoma City            OK
22952   1G1ZD5ST2KF186133   GM           MALIBU               ORLANDO                  FL
22953   1G1ZD5ST2KF186410   GM           MALIBU               TAMPA                    US
22954   1G1ZD5ST2KF217185   GM           MALIBU               Riverside                CA
22955   1G1ZD5ST2KF217218   GM           MALIBU               Sacramento               CA
22956   1G1ZD5ST2LF078404   GM           MALIBU               Houston                  TX
22957   1G1ZD5ST2LF084672   GM           MALIBU               Austell                  GA
22958   1G1ZD5ST2LF086325   GM           MALIBU               Leroy                    NY
22959   1G1ZD5ST2LF086373   GM           MALIBU               MEBANE                   NC
22960   1G1ZD5ST2LF090035   GM           MALIBU               Las Vegas                NV
22961   1G1ZD5ST2LF092495   GM           MALIBU               Tulsa                    OK
22962   1G1ZD5ST2LF094263   GM           MALIBU               Oklahoma City            OK
22963   1G1ZD5ST2LF094487   GM           MALIBU               JACKSONVILLE             FL
22964   1G1ZD5ST2LF095820   GM           MALIBU               GLASSBORO                NJ
22965   1G1ZD5ST2LF096837   GM           MALIBU               FORT MYERS               FL
22966   1G1ZD5ST2LF097020   GM           MALIBU               FORT MYERS               FL
22967   1G1ZD5ST2LF097261   GM           MALIBU               FORT MYERS               FL
22968   1G1ZD5ST2LF098829   GM           MALIBU               FORT MYERS               FL
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22969   1G1ZD5ST2LF099303   GM           MALIBU               FORT MYERS               FL
22970   1G1ZD5ST2LF102197   GM           MALIBU               Orlando                  FL
22971   1G1ZD5ST2LF102720   GM           MALIBU               FORT MYERS               FL
22972   1G1ZD5ST2LF104645   GM           MALIBU               FORT MYERS               FL
22973   1G1ZD5ST2LF104788   GM           MALIBU
22974   1G1ZD5ST3JF132497   GM           CRUZE                NORTH PAC                CA
22975   1G1ZD5ST3JF132886   GM           CRUZE                Tampa                    FL
22976   1G1ZD5ST3JF133648   GM           CRUZE                LAS VEGAS                NV
22977   1G1ZD5ST3JF134444   GM           CRUZE                BURBANK                  CA
22978   1G1ZD5ST3JF134850   GM           CRUZE                TRACY                    CA
22979   1G1ZD5ST3JF135089   GM           CRUZE                Hayward                  CA
22980   1G1ZD5ST3JF135500   GM           CRUZE                SAN DIEGO                CA
22981   1G1ZD5ST3JF136176   GM           CRUZE                DES MOINES               IA
22982   1G1ZD5ST3JF136419   GM           CRUZE                CHICAGO                  IL
22983   1G1ZD5ST3JF136520   GM           CRUZE                DANIA BEACH              FL
22984   1G1ZD5ST3JF136730   GM           CRUZE                BURBANK                  CA
22985   1G1ZD5ST3JF136937   GM           CRUZE                Fontana                  CA
22986   1G1ZD5ST3JF136971   GM           CRUZE                Cleveland                OH
22987   1G1ZD5ST3JF137277   GM           CRUZE                Riverside                CA
22988   1G1ZD5ST3JF137795   GM           CRUZE                LOS ANGELES              CA
22989   1G1ZD5ST3JF137960   GM           CRUZE                ROSEVILLE                CA
22990   1G1ZD5ST3JF138364   GM           CRUZE                Phoenix                  AZ
22991   1G1ZD5ST3JF138459   GM           CRUZE                Kent                     WA
22992   1G1ZD5ST3JF138820   GM           CRUZE                CHICAGO                  IL
22993   1G1ZD5ST3JF140082   GM           CRUZE                Hanover                  MD
22994   1G1ZD5ST3JF140213   GM           CRUZE                STERLING                 VA
22995   1G1ZD5ST3JF140390   GM           CRUZE                Honolulu                 HI
22996   1G1ZD5ST3JF140678   GM           CRUZE                DES MOINES               IA
22997   1G1ZD5ST3JF140681   GM           CRUZE                LOS ANGELES              CA
22998   1G1ZD5ST3JF140843   GM           CRUZE                TITUSVILLE               FL
22999   1G1ZD5ST3JF141815   GM           CRUZE                Rio Linda                CA
23000   1G1ZD5ST3JF142267   GM           CRUZE                STERLING                 VA
23001   1G1ZD5ST3JF142771   GM           CRUZE                Tampa                    FL
23002   1G1ZD5ST3JF143063   GM           CRUZE                Tampa                    FL
23003   1G1ZD5ST3JF144519   GM           CRUZE                LAS VEGAS                NV
23004   1G1ZD5ST3JF144682   GM           CRUZE                BOSTON                   MA
23005   1G1ZD5ST3JF144701   GM           CRUZE                TAMPA                    FL
23006   1G1ZD5ST3JF145735   GM           CRUZE                Miami                    FL
23007   1G1ZD5ST3JF146111   GM           CRUZE                SOUTHEAST DST OFFC       OK
23008   1G1ZD5ST3JF146447   GM           CRUZE                Elkridge                 MD
23009   1G1ZD5ST3JF146982   GM           CRUZE                Tampa                    FL
23010   1G1ZD5ST3JF150496   GM           CRUZE                SPRINGFIELD              VA
23011   1G1ZD5ST3JF150563   GM           CRUZE                CHICAGO                  IL
23012   1G1ZD5ST3JF150871   GM           CRUZE                Tampa                    FL
23013   1G1ZD5ST3JF151423   GM           CRUZE                SOUTHEAST DST OFFC       OK
23014   1G1ZD5ST3JF151650   GM           CRUZE                BOSTON                   MA
23015   1G1ZD5ST3JF151793   GM           CRUZE                STERLING                 VA
23016   1G1ZD5ST3JF151874   GM           CRUZE                GLEN BURNIE              MD
23017   1G1ZD5ST3JF152619   GM           CRUZE                Elkridge                 MD
23018   1G1ZD5ST3JF153916   GM           CRUZE                N. Las Vegas             NV
23019   1G1ZD5ST3JF155021   GM           CRUZE                OAKLAND                  CA
23020   1G1ZD5ST3JF155049   GM           CRUZE                BURBANK                  CA
23021   1G1ZD5ST3JF155603   GM           CRUZE                NEW ENGLAND DEALER       MA
23022   1G1ZD5ST3JF155715   GM           CRUZE                DES PLAINES              IL
23023   1G1ZD5ST3JF155942   GM           CRUZE                BURBANK                  CA
23024   1G1ZD5ST3JF156038   GM           CRUZE                SALT LAKE CITY           UT
23025   1G1ZD5ST3JF156279   GM           CRUZE                CENTRAL DIST OFFC        OK
23026   1G1ZD5ST3JF156475   GM           CRUZE                BURBANK                  CA
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23027   1G1ZD5ST3JF156573   GM           CRUZE                BURBANK                  CA
23028   1G1ZD5ST3JF157285   GM           CRUZE                SAN JOSE                 CA
23029   1G1ZD5ST3JF157660   GM           CRUZE                FORT MYERS               FL
23030   1G1ZD5ST3JF158016   GM           CRUZE                Santa Clara              CA
23031   1G1ZD5ST3JF158176   GM           CRUZE                Sterling                 VA
23032   1G1ZD5ST3JF158226   GM           MALIBU               NORTH PAC                CA
23033   1G1ZD5ST3JF158243   GM           CRUZE                DALLAS                   TX
23034   1G1ZD5ST3JF158484   GM           CRUZE                DALLAS                   TX
23035   1G1ZD5ST3JF158517   GM           CRUZE                PHILADELPHIA             PA
23036   1G1ZD5ST3JF158680   GM           CRUZE                DAYTONA BEACH            FL
23037   1G1ZD5ST3JF158839   GM           CRUZE                DALLAS                   TX
23038   1G1ZD5ST3JF159067   GM           CRUZE                CHARLOTTE                NC
23039   1G1ZD5ST3JF159201   GM           CRUZE                DALLAS                   TX
23040   1G1ZD5ST3JF159344   GM           CRUZE                SARASOTA                 FL
23041   1G1ZD5ST3JF160185   GM           CRUZE                Johnston                 RI
23042   1G1ZD5ST3JF160283   GM           CRUZE                HANOVER                  MD
23043   1G1ZD5ST3JF160347   GM           CRUZE                San Antonio              TX
23044   1G1ZD5ST3JF160719   GM           CRUZE                Davie                    FL
23045   1G1ZD5ST3JF160946   GM           CRUZE                CHICAGO                  IL
23046   1G1ZD5ST3JF161031   GM           CRUZE                AUSTELL                  GA
23047   1G1ZD5ST3JF161062   GM           CRUZE                Tampa                    FL
23048   1G1ZD5ST3JF167492   GM           CRUZE                PHOENIX                  AZ
23049   1G1ZD5ST3JF167850   GM           MALIBU               DANIA BEACH              FL
23050   1G1ZD5ST3JF171140   GM           CRUZE                DARLINGTON               SC
23051   1G1ZD5ST3JF175771   GM           CRUZE                BURBANK                  CA
23052   1G1ZD5ST3JF179223   GM           CRUZE                FORT MYERS               FL
23053   1G1ZD5ST3JF179951   GM           CRUZE                Caledonia                WI
23054   1G1ZD5ST3JF180856   GM           CRUZE                PHILADELPHIA             PA
23055   1G1ZD5ST3JF182476   GM           CRUZE                Chicago                  IL
23056   1G1ZD5ST3JF182848   GM           CRUZE                SAN FRANCISCO            CA
23057   1G1ZD5ST3JF183692   GM           CRUZE                CHICAGO                  IL
23058   1G1ZD5ST3JF184289   GM           CRUZE                Ventura                  CA
23059   1G1ZD5ST3JF187273   GM           CRUZE                ONTARIO                  CA
23060   1G1ZD5ST3JF192232   GM           MALIBU               PHILADELPHIA             PA
23061   1G1ZD5ST3JF194353   GM           MALIBU               Lebanon                  TN
23062   1G1ZD5ST3JF196247   GM           CRUZE                Tampa                    FL
23063   1G1ZD5ST3JF198225   GM           CRUZE                BURBANK                  CA
23064   1G1ZD5ST3JF199469   GM           CRUZE                BURBANK                  CA
23065   1G1ZD5ST3JF206565   GM           CRUZE                ONTARIO                  CA
23066   1G1ZD5ST3JF213094   GM           MALIBU               SAN FRANCISCO            CA
23067   1G1ZD5ST3JF213497   GM           CRUZE                SACRAMENTO               CA
23068   1G1ZD5ST3JF215251   GM           CRUZE                Atlanta                  GA
23069   1G1ZD5ST3JF215489   GM           CRUZE                Atlanta                  GA
23070   1G1ZD5ST3JF215685   GM           CRUZE                Smithtown                NY
23071   1G1ZD5ST3JF216464   GM           CRUZE                CHICAGO                  IL
23072   1G1ZD5ST3JF216853   GM           CRUZE                SAN FRANCISCO            CA
23073   1G1ZD5ST3JF217730   GM           CRUZE                Dallas                   TX
23074   1G1ZD5ST3JF218148   GM           CRUZE                SAN ANTONIO              TX
23075   1G1ZD5ST3JF218991   GM           CRUZE                BURBANK                  CA
23076   1G1ZD5ST3JF219476   GM           CRUZE                CHICAGO                  IL
23077   1G1ZD5ST3JF219588   GM           CRUZE                Atlanta                  GA
23078   1G1ZD5ST3JF219798   GM           CRUZE                BURBANK                  CA
23079   1G1ZD5ST3JF220059   GM           CRUZE                Dallas                   TX
23080   1G1ZD5ST3JF220109   GM           CRUZE                SAN JOSE                 CA
23081   1G1ZD5ST3JF220997   GM           CRUZE                PITTSBURGH               PA
23082   1G1ZD5ST3JF222815   GM           CRUZE                Tolleson                 AZ
23083   1G1ZD5ST3JF224788   GM           CRUZE                NORTH PAC                CA
23084   1G1ZD5ST3JF225214   GM           CRUZE                NOTTINGHAM               MD
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23085   1G1ZD5ST3JF225228   GM           CRUZE                DAYTONA BEACH            FL
23086   1G1ZD5ST3JF225746   GM           CRUZE                WARWICK                  RI
23087   1G1ZD5ST3JF225892   GM           CRUZE                Englewood                CO
23088   1G1ZD5ST3JF227061   GM           CRUZE                CHICAGO                  IL
23089   1G1ZD5ST3JF227934   GM           CRUZE                Hayward                  CA
23090   1G1ZD5ST3JF227965   GM           CRUZE                Davie                    FL
23091   1G1ZD5ST3JF227982   GM           CRUZE                Ft. Myers                FL
23092   1G1ZD5ST3JF232292   GM           CRUZE                Cleveland                OH
23093   1G1ZD5ST3JF232387   GM           CRUZE                OAKLAND                  CA
23094   1G1ZD5ST3JF232695   GM           CRUZE                CHICAGO                  IL
23095   1G1ZD5ST3JF232857   GM           CRUZE                FT LAUDERDALE            FL
23096   1G1ZD5ST3JF233295   GM           CRUZE                WEST PALM BEACH          FL
23097   1G1ZD5ST3JF233331   GM           CRUZE                MIAMI                    FL
23098   1G1ZD5ST3JF234253   GM           CRUZE                STERLING                 VA
23099   1G1ZD5ST3JF234642   GM           CRUZE                Elkridge                 MD
23100   1G1ZD5ST3JF234818   GM           CRUZE                DES MOINES               IA
23101   1G1ZD5ST3JF235029   GM           CRUZE                TAMPA                    US
23102   1G1ZD5ST3JF235225   GM           CRUZE                Atlanta                  GA
23103   1G1ZD5ST3JF236276   GM           CRUZE                LAS VEGAS                NV
23104   1G1ZD5ST3JF236357   GM           CRUZE                Riverside                CA
23105   1G1ZD5ST3JF236701   GM           CRUZE                NORTH PAC                CA
23106   1G1ZD5ST3JF236892   GM           CRUZE                LOS ANGELES              CA
23107   1G1ZD5ST3JF237444   GM           CRUZE                BURBANK                  CA
23108   1G1ZD5ST3JF237458   GM           CRUZE                BURBANK                  CA
23109   1G1ZD5ST3JF237640   GM           CRUZE                SAN LEANDRO              CA
23110   1G1ZD5ST3JF237721   GM           CRUZE                LOS ANGELES              CA
23111   1G1ZD5ST3JF237847   GM           CRUZE                PHOENIX                  AZ
23112   1G1ZD5ST3JF237900   GM           CRUZE                BURBANK                  CA
23113   1G1ZD5ST3JF237928   GM           CRUZE                HANOVER                  MD
23114   1G1ZD5ST3JF238092   GM           CRUZE                Santa Clara              CA
23115   1G1ZD5ST3JF238318   GM           CRUZE                BURBANK                  CA
23116   1G1ZD5ST3JF238402   GM           CRUZE                BURBANK                  CA
23117   1G1ZD5ST3JF238450   GM           CRUZE                PHILADELPHIA             US
23118   1G1ZD5ST3JF238528   GM           CRUZE                Santa Clara              CA
23119   1G1ZD5ST3JF238691   GM           CRUZE                SACRAMENTO               CA
23120   1G1ZD5ST3JF238898   GM           CRUZE                Charlotte                NC
23121   1G1ZD5ST3JF239078   GM           CRUZE                CHICAGO                  IL
23122   1G1ZD5ST3JF239193   GM           CRUZE                BURBANK                  CA
23123   1G1ZD5ST3JF239260   GM           CRUZE                SAN DIEGO                CA
23124   1G1ZD5ST3JF239307   GM           CRUZE                NORTH PAC                CA
23125   1G1ZD5ST3JF239369   GM           CRUZE                Statesville              NC
23126   1G1ZD5ST3JF239419   GM           CRUZE                FORT LAUDERDALE          FL
23127   1G1ZD5ST3JF239582   GM           CRUZE                BURBANK                  CA
23128   1G1ZD5ST3JF239730   GM           CRUZE                BURBANK                  CA
23129   1G1ZD5ST3JF239985   GM           CRUZE                STERLING                 VA
23130   1G1ZD5ST3JF240019   GM           CRUZE                BURBANK                  CA
23131   1G1ZD5ST3JF240764   GM           CRUZE                DETROIT                  MI
23132   1G1ZD5ST3JF240909   GM           CRUZE                BLOOMINGTON              IL
23133   1G1ZD5ST3JF241011   GM           CRUZE                SPRINGFIELD              VA
23134   1G1ZD5ST3JF241235   GM           CRUZE                NEW ENGLAND DEALER       MA
23135   1G1ZD5ST3JF241574   GM           CRUZE                TAMPA                    FL
23136   1G1ZD5ST3JF241641   GM           CRUZE                Baltimore                MD
23137   1G1ZD5ST3JF241672   GM           CRUZE                HANOVER                  MD
23138   1G1ZD5ST3JF241817   GM           CRUZE                PHOENIX                  AZ
23139   1G1ZD5ST3JF242725   GM           CRUZE                ST Paul                  MN
23140   1G1ZD5ST3JF243471   GM           CRUZE                DETROIT                  MI
23141   1G1ZD5ST3JF243566   GM           CRUZE                JACKSONVILLE             FL
23142   1G1ZD5ST3JF243664   GM           CRUZE                NORTH PAC                CA
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23143   1G1ZD5ST3JF243759   GM           CRUZE                WEST PALM BEACH          FL
23144   1G1ZD5ST3JF243793   GM           CRUZE                Hayward                  CA
23145   1G1ZD5ST3JF243826   GM           CRUZE                PHILADELPHIA             PA
23146   1G1ZD5ST3JF244135   GM           CRUZE                SAN DIEGO                CA
23147   1G1ZD5ST3JF244197   GM           CRUZE                Phoenix                  AZ
23148   1G1ZD5ST3JF244233   GM           CRUZE                BURBANK                  CA
23149   1G1ZD5ST3JF244247   GM           CRUZE                SANTA ANA                CA
23150   1G1ZD5ST3JF244295   GM           CRUZE                DOWNEY                   CA
23151   1G1ZD5ST3JF244328   GM           CRUZE                NORTH PAC                CA
23152   1G1ZD5ST3JF244359   GM           CRUZE                SACRAMENTO               CA
23153   1G1ZD5ST3JF244491   GM           CRUZE                BURBANK                  CA
23154   1G1ZD5ST3JF244524   GM           CRUZE                Miami                    FL
23155   1G1ZD5ST3JF244667   GM           CRUZE                BURBANK                  CA
23156   1G1ZD5ST3JF244751   GM           CRUZE                Matteson                 IL
23157   1G1ZD5ST3JF244832   GM           CRUZE                BOSTON                   MA
23158   1G1ZD5ST3JF245043   GM           CRUZE                CENTRAL DIST OFFC        OK
23159   1G1ZD5ST3JF245074   GM           CRUZE                Ft. Myers                FL
23160   1G1ZD5ST3JF245107   GM           CRUZE                ORLANDO                  FL
23161   1G1ZD5ST3JF245236   GM           CRUZE                MEDINA                   OH
23162   1G1ZD5ST3JF245317   GM           CRUZE                Hamilton                 OH
23163   1G1ZD5ST3JF245396   GM           CRUZE                anchorage,               ak
23164   1G1ZD5ST3JF245432   GM           CRUZE                San Diego                CA
23165   1G1ZD5ST3JF245446   GM           CRUZE                SOUTHEAST DST OFFC       OK
23166   1G1ZD5ST3JF245513   GM           CRUZE                DES PLAINES              IL
23167   1G1ZD5ST3JF245589   GM           CRUZE                SAN FRANCISCO            CA
23168   1G1ZD5ST3JF245642   GM           CRUZE                ORANGE COUNTY            CA
23169   1G1ZD5ST3JF245690   GM           CRUZE                North Las Vegas          NV
23170   1G1ZD5ST3JF245740   GM           CRUZE                Philadelphia             PA
23171   1G1ZD5ST3JF245897   GM           CRUZE                Manheim                  PA
23172   1G1ZD5ST3JF245947   GM           CRUZE                DAYTONA BEACH            FL
23173   1G1ZD5ST3JF245978   GM           CRUZE                ORLANDO                  FL
23174   1G1ZD5ST3JF246418   GM           CRUZE                FAYETTEVILLE             GA
23175   1G1ZD5ST3JF246516   GM           CRUZE                SAN FRANCISCO            CA
23176   1G1ZD5ST3JF246595   GM           CRUZE                Santa Clara              CA
23177   1G1ZD5ST3JF246631   GM           CRUZE                HANOVER                  MD
23178   1G1ZD5ST3JF246645   GM           CRUZE                SANTA ANA                CA
23179   1G1ZD5ST3JF246726   GM           CRUZE                PALM SPRINGS             CA
23180   1G1ZD5ST3JF246757   GM           CRUZE                SAN DIEGO                CA
23181   1G1ZD5ST3JF246841   GM           CRUZE                FORT MYERS               FL
23182   1G1ZD5ST3JF246936   GM           CRUZE                CHICAGO                  IL
23183   1G1ZD5ST3JF246984   GM           CRUZE                NORTH PAC                CA
23184   1G1ZD5ST3JF247018   GM           CRUZE                Phoenix                  AZ
23185   1G1ZD5ST3JF247245   GM           CRUZE                Portland                 OR
23186   1G1ZD5ST3JF247343   GM           CRUZE                FORT MYERS               FL
23187   1G1ZD5ST3JF247357   GM           CRUZE                ORLANDO                  FL
23188   1G1ZD5ST3JF247388   GM           CRUZE                Winston‐Salem            NC
23189   1G1ZD5ST3JF247407   GM           CRUZE                ROSEVILLE                CA
23190   1G1ZD5ST3JF247536   GM           CRUZE                KENNER                   LA
23191   1G1ZD5ST3JF247598   GM           CRUZE                NORTH PAC                CA
23192   1G1ZD5ST3JF247634   GM           CRUZE                NEW BERN                 NC
23193   1G1ZD5ST3JF247651   GM           CRUZE                Riverside                CA
23194   1G1ZD5ST3JF247732   GM           CRUZE                S. San Francisc          CA
23195   1G1ZD5ST3JF247827   GM           CRUZE                BURBANK                  CA
23196   1G1ZD5ST3JF247844   GM           CRUZE                Manheim                  PA
23197   1G1ZD5ST3JF247861   GM           CRUZE                CHICAGO                  IL
23198   1G1ZD5ST3JF247987   GM           CRUZE                BURBANK                  CA
23199   1G1ZD5ST3JF248007   GM           CRUZE                South San Franc          CA
23200   1G1ZD5ST3JF248086   GM           CRUZE                Greensboro               NC
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23201   1G1ZD5ST3JF248248   GM           CRUZE                Hamilton                 OH
23202   1G1ZD5ST3JF248265   GM           CRUZE                BURBANK                  CA
23203   1G1ZD5ST3JF248279   GM           CRUZE                BURBANK                  CA
23204   1G1ZD5ST3JF248296   GM           CRUZE                DETROIT                  MI
23205   1G1ZD5ST3JF248430   GM           CRUZE                Estero                   FL
23206   1G1ZD5ST3JF248444   GM           CRUZE                Portland                 ME
23207   1G1ZD5ST3JF248590   GM           CRUZE                Schaumburg               IL
23208   1G1ZD5ST3JF248637   GM           CRUZE                PHOENIX                  AZ
23209   1G1ZD5ST3JF248654   GM           CRUZE                Indianapolis             IN
23210   1G1ZD5ST3JF248718   GM           CRUZE                MATTHEWS                 NC
23211   1G1ZD5ST3JF248721   GM           CRUZE                NORTH PAC                CA
23212   1G1ZD5ST3JF248797   GM           CRUZE                CHARLOTTE                NC
23213   1G1ZD5ST3JF248802   GM           CRUZE                BOSTON                   MA
23214   1G1ZD5ST3JF248850   GM           CRUZE                JACKSONVILLE             FL
23215   1G1ZD5ST3JF248878   GM           CRUZE                Kansas City              MO
23216   1G1ZD5ST3JF248900   GM           CRUZE                SAN JOSE                 CA
23217   1G1ZD5ST3JF248931   GM           CRUZE                Windsor Locks            CT
23218   1G1ZD5ST3JF248976   GM           CRUZE                CHICAGO                  IL
23219   1G1ZD5ST3JF249013   GM           CRUZE                WARWICK                  RI
23220   1G1ZD5ST3JF249058   GM           CRUZE                JACKSONVILLE             FL
23221   1G1ZD5ST3JF249092   GM           CRUZE                EL PASO                  TX
23222   1G1ZD5ST3JF249139   GM           CRUZE                Elkridge                 MD
23223   1G1ZD5ST3JF249383   GM           CRUZE                SAN JOSE                 CA
23224   1G1ZD5ST3JF249545   GM           CRUZE                WEST COLUMBIA            SC
23225   1G1ZD5ST3JF249593   GM           CRUZE                Burien                   WA
23226   1G1ZD5ST3JF249674   GM           CRUZE                RICHMOND                 VA
23227   1G1ZD5ST3JF249710   GM           CRUZE                Lynn                     MA
23228   1G1ZD5ST3JF249738   GM           CRUZE                CHARLOTTE                NC
23229   1G1ZD5ST3JF249755   GM           CRUZE                TAMPA                    FL
23230   1G1ZD5ST3JF249769   GM           CRUZE                Hebron                   KY
23231   1G1ZD5ST3JF249996   GM           CRUZE                Manheim                  PA
23232   1G1ZD5ST3JF250033   GM           CRUZE                Tolleson                 AZ
23233   1G1ZD5ST3JF250100   GM           CRUZE                CLEVELAND                OH
23234   1G1ZD5ST3JF250114   GM           CRUZE                BOSTON                   MA
23235   1G1ZD5ST3JF250209   GM           CRUZE                SOUTH SAN FRANC          CA
23236   1G1ZD5ST3JF250288   GM           CRUZE                SAN JOSE                 CA
23237   1G1ZD5ST3JF250310   GM           CRUZE                MILWAUKEE                WI
23238   1G1ZD5ST3JF250369   GM           CRUZE                SOUTHEAST DST OFFC       OK
23239   1G1ZD5ST3JF250386   GM           CRUZE                CLEVELAND                OH
23240   1G1ZD5ST3JF250467   GM           CRUZE                Fredericksburg           VA
23241   1G1ZD5ST3JF250498   GM           CRUZE                Santa Clara              CA
23242   1G1ZD5ST3JF250534   GM           CRUZE                MEBANE                   NC
23243   1G1ZD5ST3JF250582   GM           CRUZE                LOS ANGELES              CA
23244   1G1ZD5ST3JF250680   GM           CRUZE                AMARILLO                 TX
23245   1G1ZD5ST3JF250890   GM           CRUZE                ROSEVILLE                CA
23246   1G1ZD5ST3JF251005   GM           CRUZE                Fontana                  CA
23247   1G1ZD5ST3JF251313   GM           CRUZE                NORTH PAC                CA
23248   1G1ZD5ST3JF251750   GM           CRUZE                PHOENIX                  AZ
23249   1G1ZD5ST3JF251845   GM           CRUZE                Maple Grove              MN
23250   1G1ZD5ST3JF251909   GM           CRUZE                LAS VEGAS                NV
23251   1G1ZD5ST3JF251960   GM           CRUZE                CHICAGO                  IL
23252   1G1ZD5ST3JF252168   GM           CRUZE                SAN FRANCISCO            CA
23253   1G1ZD5ST3JF252199   GM           CRUZE                Coraopolis               PA
23254   1G1ZD5ST3JF252607   GM           CRUZE                DALLAS                   TX
23255   1G1ZD5ST3JF252638   GM           CRUZE                FORT LAUDERDALE          FL
23256   1G1ZD5ST3JF252669   GM           CRUZE                Slidell                  LA
23257   1G1ZD5ST3JF252834   GM           CRUZE                DAYTONA BEACH            FL
23258   1G1ZD5ST3JF252932   GM           CRUZE                Salt Lake City           UT
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23259   1G1ZD5ST3JF252980   GM           CRUZE                Los Angeles              CA
23260   1G1ZD5ST3JF253062   GM           CRUZE                Los Angeles              CA
23261   1G1ZD5ST3JF253160   GM           CRUZE                SAINT PAUL               MN
23262   1G1ZD5ST3JF253255   GM           CRUZE                LAS VEGAS                NV
23263   1G1ZD5ST3JF253286   GM           CRUZE                FORT MYERS               FL
23264   1G1ZD5ST3JF253336   GM           CRUZE                Torrance                 CA
23265   1G1ZD5ST3JF253451   GM           CRUZE                Denver                   CO
23266   1G1ZD5ST3JF253465   GM           CRUZE                DALLAS                   TX
23267   1G1ZD5ST3JF253837   GM           CRUZE                Maple Grove              MN
23268   1G1ZD5ST3JF253854   GM           CRUZE                LOS ANGELES              CA
23269   1G1ZD5ST3JF254065   GM           CRUZE                LAS VEGAS                NV
23270   1G1ZD5ST3JF254194   GM           CRUZE                INGLEWOOD                CA
23271   1G1ZD5ST3JF254339   GM           CRUZE                SOUTHEAST DST OFFC       OK
23272   1G1ZD5ST3JF254356   GM           CRUZE                STERLING                 VA
23273   1G1ZD5ST3JF254373   GM           CRUZE                CHARLOTTE                NC
23274   1G1ZD5ST3JF254423   GM           CRUZE                San Diego                CA
23275   1G1ZD5ST3JF254468   GM           CRUZE                SAN DIEGO                US
23276   1G1ZD5ST3JF254597   GM           CRUZE                BURBANK                  CA
23277   1G1ZD5ST3JF254616   GM           CRUZE                HARVEY                   LA
23278   1G1ZD5ST3JF254812   GM           CRUZE                RALEIGH                  NC
23279   1G1ZD5ST3JF255006   GM           CRUZE                Detroit                  MI
23280   1G1ZD5ST3JF255538   GM           CRUZE                BURBANK                  CA
23281   1G1ZD5ST3JF255572   GM           CRUZE                BURBANK                  CA
23282   1G1ZD5ST3JF255720   GM           CRUZE                Nashville                TN
23283   1G1ZD5ST3JF255765   GM           CRUZE                Salt Lake City           UT
23284   1G1ZD5ST3JF255779   GM           CRUZE                WOODSON TERRACE          MO
23285   1G1ZD5ST3JF255801   GM           CRUZE                CHARLOTTE                NC
23286   1G1ZD5ST3JF255944   GM           CRUZE                Hamilton                 OH
23287   1G1ZD5ST3JF256205   GM           CRUZE                Kansas City              MO
23288   1G1ZD5ST3JF256561   GM           CRUZE                NEW ORLEANS              LA
23289   1G1ZD5ST3JF256785   GM           CRUZE                Tolleson                 AZ
23290   1G1ZD5ST3JF257032   GM           CRUZE                SAN ANTONIO              TX
23291   1G1ZD5ST3JF257208   GM           CRUZE                Kansas City              MO
23292   1G1ZD5ST3JF257211   GM           CRUZE                Hendersonville           TN
23293   1G1ZD5ST3JF257497   GM           CRUZE                SEATAC                   WA
23294   1G1ZD5ST3JF257659   GM           CRUZE                LOS ANGELES              CA
23295   1G1ZD5ST3JF257774   GM           CRUZE                PETALUMA                 CA
23296   1G1ZD5ST3JF257788   GM           CRUZE                CLEVELAND                OH
23297   1G1ZD5ST3JF257919   GM           CRUZE                Richmond                 VA
23298   1G1ZD5ST3JF257922   GM           CRUZE                Elkridge                 MD
23299   1G1ZD5ST3JF258035   GM           CRUZE                BURBANK                  CA
23300   1G1ZD5ST3JF258116   GM           CRUZE                Manheim                  PA
23301   1G1ZD5ST3JF258469   GM           CRUZE                SAN DIEGO                CA
23302   1G1ZD5ST3JF258665   GM           CRUZE                SAN LEANDRO              CA
23303   1G1ZD5ST3JF259945   GM           CRUZE                HANOVER                  MD
23304   1G1ZD5ST3JF260061   GM           CRUZE                PORTLAND                 OR
23305   1G1ZD5ST3JF260335   GM           CRUZE                Torrance                 CA
23306   1G1ZD5ST3JF260397   GM           CRUZE                BURBANK                  CA
23307   1G1ZD5ST3JF260884   GM           CRUZE                NORTH PAC                CA
23308   1G1ZD5ST3JF261307   GM           CRUZE                SEATAC                   WA
23309   1G1ZD5ST3JF261629   GM           CRUZE                LAS VEGAS                NV
23310   1G1ZD5ST3JF261694   GM           CRUZE                Fontana                  CA
23311   1G1ZD5ST3JF261873   GM           CRUZE                FORT MYERS               FL
23312   1G1ZD5ST3JF262456   GM           CRUZE                BURBANK                  CA
23313   1G1ZD5ST3JF262621   GM           CRUZE                KNOXVILLE                TN
23314   1G1ZD5ST3JF263574   GM           CRUZE                TAMPA                    FL
23315   1G1ZD5ST3JF263638   GM           CRUZE                SAINT LOUIS              MO
23316   1G1ZD5ST3JF263655   GM           CRUZE                MILWAUKEE                WI
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23317   1G1ZD5ST3JF263848   GM           CRUZE                Philadelphia             PA
23318   1G1ZD5ST3JF263915   GM           CRUZE                BURBANK                  CA
23319   1G1ZD5ST3JF264143   GM           CRUZE                SANFORD                  FL
23320   1G1ZD5ST3JF264286   GM           CRUZE                BOSTON                   MA
23321   1G1ZD5ST3JF264398   GM           CRUZE                PHOENIX                  AZ
23322   1G1ZD5ST3JF264563   GM           CRUZE                Irving                   TX
23323   1G1ZD5ST3JF264644   GM           CRUZE                DANIA BEACH              FL
23324   1G1ZD5ST3JF264711   GM           CRUZE                MILWAUKEE                WI
23325   1G1ZD5ST3JF264725   GM           CRUZE                RENO                     NV
23326   1G1ZD5ST3JF264854   GM           CRUZE                ORLANDO                  FL
23327   1G1ZD5ST3JF265115   GM           CRUZE                Tolleson                 AZ
23328   1G1ZD5ST3JF265776   GM           CRUZE                COLLEGE PARK             GA
23329   1G1ZD5ST3JF266264   GM           CRUZE                Pheonix                  AZ
23330   1G1ZD5ST3JF266281   GM           CRUZE                Kent                     WA
23331   1G1ZD5ST3JF266295   GM           CRUZE                Oceanside                CA
23332   1G1ZD5ST3JF266376   GM           CRUZE                FORT LAUDERDALE          FL
23333   1G1ZD5ST3JF266457   GM           CRUZE                CHICAGO                  IL
23334   1G1ZD5ST3JF266538   GM           CRUZE                TAMPA                    FL
23335   1G1ZD5ST3JF266717   GM           CRUZE                WEST PALM BEACH          FL
23336   1G1ZD5ST3JF266751   GM           CRUZE                Warr Acres               OK
23337   1G1ZD5ST3JF266832   GM           CRUZE                Lake in the Hil          IL
23338   1G1ZD5ST3JF266930   GM           CRUZE                SCHILLER PARK            IL
23339   1G1ZD5ST3JF267723   GM           CRUZE                WHITE PLAINS             NY
23340   1G1ZD5ST3JF267771   GM           CRUZE                SAINT LOUIS              MO
23341   1G1ZD5ST3JF267933   GM           CRUZE                ATLANTA                  GA
23342   1G1ZD5ST3JF268130   GM           CRUZE                RALEIGH                  NC
23343   1G1ZD5ST3JF268144   GM           CRUZE                Union City               GA
23344   1G1ZD5ST3JF268256   GM           CRUZE                Santa Clara              CA
23345   1G1ZD5ST3JF268290   GM           CRUZE                NEW BERN                 NC
23346   1G1ZD5ST3JF268368   GM           CRUZE                Stockton                 CA
23347   1G1ZD5ST3JF268774   GM           CRUZE                Tolleson                 AZ
23348   1G1ZD5ST3JF268788   GM           CRUZE                PALM SPRINGS             CA
23349   1G1ZD5ST3JF268791   GM           CRUZE                SAINT PAUL               MN
23350   1G1ZD5ST3JF268841   GM           CRUZE                FORT MYERS               FL
23351   1G1ZD5ST3JF268855   GM           CRUZE                FORT LAUDERDALE          FL
23352   1G1ZD5ST3JF269603   GM           CRUZE                BURBANK                  CA
23353   1G1ZD5ST3JF269617   GM           CRUZE                OAKLAND                  CA
23354   1G1ZD5ST3JF269634   GM           CRUZE                FORT LAUDERDALE          FL
23355   1G1ZD5ST3JF270167   GM           CRUZE                BURBANK                  CA
23356   1G1ZD5ST3JF270184   GM           CRUZE                San Antonio              TX
23357   1G1ZD5ST3JF270198   GM           CRUZE                FRESNO                   CA
23358   1G1ZD5ST3JF270413   GM           CRUZE                HOUSTON                  TX
23359   1G1ZD5ST3JF270458   GM           CRUZE                CHANDLER                 AZ
23360   1G1ZD5ST3JF270539   GM           CRUZE                ORANGE COUNTY            CA
23361   1G1ZD5ST3JF270606   GM           CRUZE                Cranberry Towns          PA
23362   1G1ZD5ST3JF270623   GM           CRUZE                BURBANK                  CA
23363   1G1ZD5ST3JF270668   GM           CRUZE                LAS VEGAS                NV
23364   1G1ZD5ST3JF270704   GM           CRUZE                Tolleson                 AZ
23365   1G1ZD5ST3JF270735   GM           CRUZE                BURBANK                  CA
23366   1G1ZD5ST3JF270797   GM           CRUZE                Riverside                CA
23367   1G1ZD5ST3JF270959   GM           CRUZE                LOS ANGELES              CA
23368   1G1ZD5ST3JF271173   GM           CRUZE                Slidell                  LA
23369   1G1ZD5ST3JF271254   GM           CRUZE                PORTLAND                 OR
23370   1G1ZD5ST3JF271271   GM           CRUZE                FRESNO                   CA
23371   1G1ZD5ST3JF271304   GM           CRUZE                Charlotte                NC
23372   1G1ZD5ST3JF271318   GM           CRUZE                LOUISVILLE               KY
23373   1G1ZD5ST3JF271447   GM           CRUZE                DETROIT                  MI
23374   1G1ZD5ST3JF271674   GM           CRUZE                LOS ANGELES              CA
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23375   1G1ZD5ST3JF271786   GM           CRUZE                CHICAGO                  IL
23376   1G1ZD5ST3JF272128   GM           CRUZE                DENVER                   CO
23377   1G1ZD5ST3JF272159   GM           CRUZE                TULSA                    OK
23378   1G1ZD5ST3JF272291   GM           CRUZE                North Dighton            MA
23379   1G1ZD5ST3JF272419   GM           CRUZE                GREENSBORO               NC
23380   1G1ZD5ST3JF272422   GM           CRUZE                BURBANK                  CA
23381   1G1ZD5ST3JF272436   GM           CRUZE                WEST COLUMBIA            SC
23382   1G1ZD5ST3JF272677   GM           CRUZE                LOS ANGELES              CA
23383   1G1ZD5ST3JF272730   GM           CRUZE                PHILADELPHIA             PA
23384   1G1ZD5ST3JF274090   GM           CRUZE                KANSAS CITY              MO
23385   1G1ZD5ST3JF274171   GM           CRUZE                Hamilton                 OH
23386   1G1ZD5ST3JF274204   GM           CRUZE                Davie                    FL
23387   1G1ZD5ST3JF274560   GM           CRUZE                CHICAGO                  IL
23388   1G1ZD5ST3JF274574   GM           CRUZE                HARVEY                   LA
23389   1G1ZD5ST3JF274641   GM           CRUZE                Irving                   TX
23390   1G1ZD5ST3JF274719   GM           CRUZE                MIAMI                    FL
23391   1G1ZD5ST3JF274753   GM           CRUZE                SAN JOSE                 CA
23392   1G1ZD5ST3JF274767   GM           CRUZE                KENNER                   LA
23393   1G1ZD5ST3JF274798   GM           CRUZE                Florissant               MO
23394   1G1ZD5ST3JF274834   GM           CRUZE                DETROIT                  MI
23395   1G1ZD5ST3JF275112   GM           CRUZE                DALLAS                   TX
23396   1G1ZD5ST3JF275210   GM           CRUZE                Indianapolis             IN
23397   1G1ZD5ST3JF275241   GM           CRUZE                San Diego                CA
23398   1G1ZD5ST3JF275353   GM           CRUZE                Statesville              NC
23399   1G1ZD5ST3JF275370   GM           CRUZE                LOS ANGELES              CA
23400   1G1ZD5ST3JF275384   GM           CRUZE                OMAHA                    NE
23401   1G1ZD5ST3JF275577   GM           CRUZE                Costa Mesa               CA
23402   1G1ZD5ST3JF275594   GM           CRUZE                SACRAMENTO               CA
23403   1G1ZD5ST3JF275627   GM           CRUZE                STERLING                 VA
23404   1G1ZD5ST3JF275658   GM           CRUZE                DALLAS                   TX
23405   1G1ZD5ST3JF275854   GM           CRUZE                Davie                    FL
23406   1G1ZD5ST3JF275935   GM           CRUZE                BOSTON                   MA
23407   1G1ZD5ST3JF276096   GM           CRUZE                Irving                   TX
23408   1G1ZD5ST3JF276129   GM           CRUZE                ORLANDO                  FL
23409   1G1ZD5ST3JF276177   GM           CRUZE                TAMPA                    FL
23410   1G1ZD5ST3JF276258   GM           CRUZE                Fontana                  CA
23411   1G1ZD5ST3JF276289   GM           CRUZE                FRESNO                   CA
23412   1G1ZD5ST3JF276292   GM           CRUZE                Elkridge                 MD
23413   1G1ZD5ST3JF276339   GM           CRUZE                BLOOMINGTON              IL
23414   1G1ZD5ST3JF276471   GM           CRUZE                WOODLAND HILLS           CA
23415   1G1ZD5ST3JF276518   GM           CRUZE                North Las Vegas          NV
23416   1G1ZD5ST3JF276549   GM           CRUZE                ALBANY                   GA
23417   1G1ZD5ST3JF276602   GM           CRUZE                FORT LAUDERDALE          FL
23418   1G1ZD5ST3JF276616   GM           CRUZE                ORLANDO                  FL
23419   1G1ZD5ST3JF277278   GM           CRUZE                ALBANY                   NY
23420   1G1ZD5ST3KF104099   GM           MALIBU               Jacksonville             FL
23421   1G1ZD5ST3KF104216   GM           MALIBU               ALLENTOWN                US
23422   1G1ZD5ST3KF104264   GM           MALIBU               ORLANDO                  FL
23423   1G1ZD5ST3KF104300   GM           MALIBU               WEST COLUMBIA            SC
23424   1G1ZD5ST3KF104426   GM           MALIBU               TAMPA                    US
23425   1G1ZD5ST3KF104491   GM           MALIBU               Charleston               SC
23426   1G1ZD5ST3KF104958   GM           MALIBU               ORLANDO                  FL
23427   1G1ZD5ST3KF105026   GM           MALIBU               ORLANDO                  FL
23428   1G1ZD5ST3KF105172   GM           MALIBU               Tolleson                 AZ
23429   1G1ZD5ST3KF105334   GM           MALIBU               TAMPA                    FL
23430   1G1ZD5ST3KF105365   GM           MALIBU               SAN FRANCISCO            CA
23431   1G1ZD5ST3KF105396   GM           MALIBU               SHREVEPORT               LA
23432   1G1ZD5ST3KF105754   GM           MALIBU               FT. LAUDERDALE           FL
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23433   1G1ZD5ST3KF105821   GM           MALIBU               FORT MYERS               FL
23434   1G1ZD5ST3KF105950   GM           MALIBU               Florissant               MO
23435   1G1ZD5ST3KF105964   GM           MALIBU               WEST PALM BEACH          FL
23436   1G1ZD5ST3KF106015   GM           MALIBU               ORLANDO                  FL
23437   1G1ZD5ST3KF106175   GM           MALIBU               OAKLAND                  CA
23438   1G1ZD5ST3KF106256   GM           MALIBU               Killeen                  TX
23439   1G1ZD5ST3KF106483   GM           MALIBU               WEST PALM BEACH          FL
23440   1G1ZD5ST3KF106497   GM           MALIBU               Atlanta                  GA
23441   1G1ZD5ST3KF106581   GM           MALIBU               Austell                  GA
23442   1G1ZD5ST3KF106998   GM           MALIBU               Teterboro                NJ
23443   1G1ZD5ST3KF107634   GM           MALIBU               PLEASANTON               CA
23444   1G1ZD5ST3KF107679   GM           MALIBU               GUNNISON                 CO
23445   1G1ZD5ST3KF107763   GM           MALIBU               INGLEWOOD                CA
23446   1G1ZD5ST3KF107925   GM           MALIBU               BURBANK                  CA
23447   1G1ZD5ST3KF108038   GM           MALIBU               Miami                    FL
23448   1G1ZD5ST3KF108170   GM           MALIBU               S. San Francisc          CA
23449   1G1ZD5ST3KF108234   GM           MALIBU               FRESNO                   CA
23450   1G1ZD5ST3KF108542   GM           MALIBU               NORTH PAC                CA
23451   1G1ZD5ST3KF108718   GM           MALIBU               ONTARIO                  CA
23452   1G1ZD5ST3KF108914   GM           MALIBU               SAN JOSE                 CA
23453   1G1ZD5ST3KF108945   GM           MALIBU               Phoenix                  AZ
23454   1G1ZD5ST3KF109187   GM           MALIBU               Windsor Locks            CT
23455   1G1ZD5ST3KF109366   GM           MALIBU               TAMPA                    FL
23456   1G1ZD5ST3KF109450   GM           MALIBU               Tampa                    FL
23457   1G1ZD5ST3KF110226   GM           MALIBU               Atlanta                  GA
23458   1G1ZD5ST3KF110324   GM           MALIBU               TAMPA                    FL
23459   1G1ZD5ST3KF111327   GM           MALIBU               FORT LAUDERDALE          FL
23460   1G1ZD5ST3KF111425   GM           MALIBU               Atlanta                  GA
23461   1G1ZD5ST3KF111473   GM           MALIBU               BLOOMINGTON              IL
23462   1G1ZD5ST3KF111585   GM           MALIBU               MIAMI                    FL
23463   1G1ZD5ST3KF111683   GM           MALIBU               Atlanta                  GA
23464   1G1ZD5ST3KF111960   GM           MALIBU               WEST PALM BEACH          FL
23465   1G1ZD5ST3KF112333   GM           MALIBU               Ft. Myers                FL
23466   1G1ZD5ST3KF112381   GM           MALIBU               Atlanta                  GA
23467   1G1ZD5ST3KF112445   GM           MALIBU               FORT LAUDERDALE          FL
23468   1G1ZD5ST3KF112543   GM           MALIBU               BIRMINGHAM               AL
23469   1G1ZD5ST3KF112591   GM           MALIBU               Bordentown               NJ
23470   1G1ZD5ST3KF112722   GM           MALIBU               Miami                    FL
23471   1G1ZD5ST3KF112865   GM           MALIBU               ORLANDO                  FL
23472   1G1ZD5ST3KF112980   GM           MALIBU               ORLANDO                  FL
23473   1G1ZD5ST3KF112994   GM           MALIBU               TAMPA                    FL
23474   1G1ZD5ST3KF113210   GM           MALIBU               Miami                    FL
23475   1G1ZD5ST3KF113255   GM           MALIBU               KNOXVILLE                TN
23476   1G1ZD5ST3KF113367   GM           MALIBU               Warwick                  RI
23477   1G1ZD5ST3KF113451   GM           MALIBU               WEST PALM BEACH          FL
23478   1G1ZD5ST3KF113773   GM           MALIBU               TAMPA                    FL
23479   1G1ZD5ST3KF113837   GM           MALIBU               ORLANDO                  FL
23480   1G1ZD5ST3KF114180   GM           MALIBU               NEWARK                   NJ
23481   1G1ZD5ST3KF114390   GM           MALIBU               LUBBOCK                  TX
23482   1G1ZD5ST3KF114468   GM           MALIBU               Fresno                   CA
23483   1G1ZD5ST3KF114597   GM           MALIBU               SAN DIEGO                CA
23484   1G1ZD5ST3KF114633   GM           MALIBU               TAMPA                    FL
23485   1G1ZD5ST3KF114857   GM           MALIBU               Davie                    FL
23486   1G1ZD5ST3KF114972   GM           MALIBU               WEST PALM BEACH          FL
23487   1G1ZD5ST3KF115880   GM           MALIBU               HOUSTON                  TX
23488   1G1ZD5ST3KF116088   GM           MALIBU               PHOENIX                  AZ
23489   1G1ZD5ST3KF116186   GM           MALIBU               Las Vegas                NV
23490   1G1ZD5ST3KF116236   GM           MALIBU               SAN DIEGO                CA
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23491   1G1ZD5ST3KF116365   GM           MALIBU               Clearwater               FL
23492   1G1ZD5ST3KF116396   GM           MALIBU               KENNER                   LA
23493   1G1ZD5ST3KF116401   GM           MALIBU               Dallas                   TX
23494   1G1ZD5ST3KF116558   GM           MALIBU               ORLANDO                  FL
23495   1G1ZD5ST3KF116723   GM           MALIBU               Manheim                  PA
23496   1G1ZD5ST3KF116964   GM           MALIBU               FORT LAUDERDALE          FL
23497   1G1ZD5ST3KF117371   GM           MALIBU               PENSACOLA                FL
23498   1G1ZD5ST3KF117466   GM           MALIBU               HANOVER                  MD
23499   1G1ZD5ST3KF118164   GM           MALIBU               TAMPA                    FL
23500   1G1ZD5ST3KF118312   GM           MALIBU               Fredericksburg           VA
23501   1G1ZD5ST3KF118374   GM           MALIBU               Dallas                   TX
23502   1G1ZD5ST3KF118794   GM           MALIBU               ORLANDO                  FL
23503   1G1ZD5ST3KF119198   GM           MALIBU               SAN ANTONIO              TX
23504   1G1ZD5ST3KF119203   GM           MALIBU               MIAMI                    FL
23505   1G1ZD5ST3KF119668   GM           MALIBU               DES MOINES               IA
23506   1G1ZD5ST3KF119671   GM           MALIBU               LAS VEGAS                NV
23507   1G1ZD5ST3KF120190   GM           MALIBU               Norwalk                  CA
23508   1G1ZD5ST3KF120271   GM           MALIBU               SARASOTA                 FL
23509   1G1ZD5ST3KF120965   GM           MALIBU               LOS ANGELES              CA
23510   1G1ZD5ST3KF121078   GM           MALIBU               SOUTHEAST DST OFFC       OK
23511   1G1ZD5ST3KF121369   GM           MALIBU               LOS ANGELES              CA
23512   1G1ZD5ST3KF122537   GM           MALIBU               SANTA ANA                CA
23513   1G1ZD5ST3KF122800   GM           MALIBU               LOS ANGELES              CA
23514   1G1ZD5ST3KF123204   GM           MALIBU               ORLANDO                  FL
23515   1G1ZD5ST3KF123543   GM           MALIBU               FORT MYERS               FL
23516   1G1ZD5ST3KF123574   GM           MALIBU               WEST PALM BEACH          FL
23517   1G1ZD5ST3KF123588   GM           MALIBU               SANTA ANA                CA
23518   1G1ZD5ST3KF123834   GM           MALIBU               Miami                    FL
23519   1G1ZD5ST3KF124112   GM           MALIBU               WARWICK                  RI
23520   1G1ZD5ST3KF124143   GM           MALIBU               Stockton                 CA
23521   1G1ZD5ST3KF124370   GM           MALIBU               San Diego                CA
23522   1G1ZD5ST3KF124434   GM           MALIBU               Cleveland                OH
23523   1G1ZD5ST3KF124644   GM           MALIBU               EL PASO                  TX
23524   1G1ZD5ST3KF124806   GM           MALIBU               ORANGE COUNTY            CA
23525   1G1ZD5ST3KF124904   GM           MALIBU               TAMPA                    FL
23526   1G1ZD5ST3KF124997   GM           MALIBU               CHARLOTTE                NC
23527   1G1ZD5ST3KF125485   GM           MALIBU               TAMPA                    FL
23528   1G1ZD5ST3KF125499   GM           MALIBU               DETROIT                  MI
23529   1G1ZD5ST3KF125521   GM           MALIBU               LOS ANGELES              CA
23530   1G1ZD5ST3KF125535   GM           MALIBU               SAN DIEGO                CA
23531   1G1ZD5ST3KF125759   GM           MALIBU               Atlanta                  GA
23532   1G1ZD5ST3KF126085   GM           MALIBU               BOSTON                   MA
23533   1G1ZD5ST3KF126121   GM           MALIBU               PHILADELPHIA             PA
23534   1G1ZD5ST3KF126264   GM           MALIBU               ORLANDO                  FL
23535   1G1ZD5ST3KF126765   GM           MALIBU               ORLANDO                  FL
23536   1G1ZD5ST3KF133196   GM           MALIBU               MIAMI INT'L AP           FL
23537   1G1ZD5ST3KF133263   GM           MALIBU               CHICAGO                  IL
23538   1G1ZD5ST3KF133456   GM           MALIBU               Atlanta                  GA
23539   1G1ZD5ST3KF133585   GM           MALIBU               DETROIT                  MI
23540   1G1ZD5ST3KF134008   GM           MALIBU               FORT MYERS               FL
23541   1G1ZD5ST3KF134073   GM           MALIBU               CHICAGO                  IL
23542   1G1ZD5ST3KF134090   GM           MALIBU               Tampa                    FL
23543   1G1ZD5ST3KF134316   GM           MALIBU               WEST PALM BEACH          FL
23544   1G1ZD5ST3KF134381   GM           MALIBU               SARASOTA                 FL
23545   1G1ZD5ST3KF134509   GM           MALIBU               ORLANDO                  FL
23546   1G1ZD5ST3KF134638   GM           MALIBU               SAVANNAH                 GA
23547   1G1ZD5ST3KF134722   GM           MALIBU               ATLANTA                  GA
23548   1G1ZD5ST3KF134767   GM           MALIBU               Ft. Myers                FL
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23549   1G1ZD5ST3KF134784   GM           MALIBU               Detroit                  MI
23550   1G1ZD5ST3KF134798   GM           MALIBU               LAS VEGAS                NV
23551   1G1ZD5ST3KF134817   GM           MALIBU               Elgin                    IL
23552   1G1ZD5ST3KF134896   GM           MALIBU               SARASOTA                 FL
23553   1G1ZD5ST3KF134994   GM           MALIBU               DALLAS                   TX
23554   1G1ZD5ST3KF135062   GM           MALIBU               Atlanta                  GA
23555   1G1ZD5ST3KF135417   GM           MALIBU               Atlanta                  GA
23556   1G1ZD5ST3KF135658   GM           MALIBU               ORLANDO                  FL
23557   1G1ZD5ST3KF136499   GM           MALIBU               Atlanta                  GA
23558   1G1ZD5ST3KF137233   GM           MALIBU               WEST PALM BEACH          FL
23559   1G1ZD5ST3KF137491   GM           MALIBU               STERLING                 VA
23560   1G1ZD5ST3KF137605   GM           MALIBU               FORT LAUDERDALE          FL
23561   1G1ZD5ST3KF137832   GM           MALIBU               HOUSTON                  TX
23562   1G1ZD5ST3KF137894   GM           MALIBU               Davie                    FL
23563   1G1ZD5ST3KF137992   GM           MALIBU               TAMPA                    FL
23564   1G1ZD5ST3KF138169   GM           MALIBU               Manheim                  PA
23565   1G1ZD5ST3KF138835   GM           MALIBU               Statesville              NC
23566   1G1ZD5ST3KF138995   GM           MALIBU               STERLING                 VA
23567   1G1ZD5ST3KF139323   GM           MALIBU               ORLANDO                  FL
23568   1G1ZD5ST3KF139340   GM           MALIBU               Atlanta                  GA
23569   1G1ZD5ST3KF139385   GM           MALIBU               WEST PALM BEACH          FL
23570   1G1ZD5ST3KF139502   GM           MALIBU               Manheim                  PA
23571   1G1ZD5ST3KF153917   GM           MALIBU               Nashville                TN
23572   1G1ZD5ST3KF154145   GM           MALIBU               FORT MYERS               FL
23573   1G1ZD5ST3KF154680   GM           MALIBU               FORT LAUDERDALE          FL
23574   1G1ZD5ST3KF154789   GM           MALIBU               Hapeville                GA
23575   1G1ZD5ST3KF155022   GM           MALIBU               TAMPA                    FL
23576   1G1ZD5ST3KF155229   GM           MALIBU               St. Louis                MO
23577   1G1ZD5ST3KF155828   GM           MALIBU               FORT MYERS               FL
23578   1G1ZD5ST3KF156011   GM           MALIBU               Tulsa                    OK
23579   1G1ZD5ST3KF156414   GM           MALIBU               JACKSON                  MS
23580   1G1ZD5ST3KF156526   GM           MALIBU               TAMPA                    FL
23581   1G1ZD5ST3KF156557   GM           MALIBU               San Diego                CA
23582   1G1ZD5ST3KF157028   GM           MALIBU               CHARLOTTE                NC
23583   1G1ZD5ST3KF157627   GM           MALIBU               ORLANDO                  FL
23584   1G1ZD5ST3KF158096   GM           MALIBU               DANIA BEACH              FL
23585   1G1ZD5ST3KF158132   GM           MALIBU               Atlanta                  GA
23586   1G1ZD5ST3KF158261   GM           MALIBU               DANIA BEACH              FL
23587   1G1ZD5ST3KF158311   GM           MALIBU               FT LAUDERDALE            FL
23588   1G1ZD5ST3KF158387   GM           MALIBU               LOS ANGELES              CA
23589   1G1ZD5ST3KF158440   GM           MALIBU               Atlanta                  GA
23590   1G1ZD5ST3KF158485   GM           MALIBU               ORLANDO                  FL
23591   1G1ZD5ST3KF158521   GM           MALIBU               Salt Lake City           UT
23592   1G1ZD5ST3KF159121   GM           MALIBU               TAMPA                    US
23593   1G1ZD5ST3KF159202   GM           MALIBU               MIAMI                    FL
23594   1G1ZD5ST3KF159281   GM           MALIBU               FORT LAUDERDALE          FL
23595   1G1ZD5ST3KF159359   GM           MALIBU               St. Louis                MO
23596   1G1ZD5ST3KF159412   GM           MALIBU               Warr Acres               OK
23597   1G1ZD5ST3KF159491   GM           MALIBU               Fontana                  CA
23598   1G1ZD5ST3KF159555   GM           MALIBU               Ft. Myers                FL
23599   1G1ZD5ST3KF159569   GM           MALIBU               Killeen                  TX
23600   1G1ZD5ST3KF159782   GM           MALIBU               Caledonia                WI
23601   1G1ZD5ST3KF159846   GM           MALIBU               TAMPA                    FL
23602   1G1ZD5ST3KF160026   GM           MALIBU               FORT MYERS               FL
23603   1G1ZD5ST3KF160205   GM           MALIBU               FORT LAUDERDALE          FL
23604   1G1ZD5ST3KF160222   GM           MALIBU               Tampa                    FL
23605   1G1ZD5ST3KF160236   GM           MALIBU               Atlanta                  GA
23606   1G1ZD5ST3KF160463   GM           MALIBU               Estero                   FL
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23607   1G1ZD5ST3KF160768   GM           MALIBU               JACKSONVILLE             FL
23608   1G1ZD5ST3KF160835   GM           MALIBU               Sacramento               CA
23609   1G1ZD5ST3KF160897   GM           MALIBU               FORT LAUDERDALE          FL
23610   1G1ZD5ST3KF160950   GM           MALIBU               SACRAMENTO               CA
23611   1G1ZD5ST3KF161029   GM           MALIBU               FORT MYERS               FL
23612   1G1ZD5ST3KF161094   GM           MALIBU               PLEASANTON               CA
23613   1G1ZD5ST3KF161354   GM           MALIBU               INGLEWOOD                CA
23614   1G1ZD5ST3KF161385   GM           MALIBU               JACKSONVILLE             FL
23615   1G1ZD5ST3KF161418   GM           MALIBU               WEST PALM BEACH          FL
23616   1G1ZD5ST3KF161435   GM           MALIBU               KNOXVILLE                TN
23617   1G1ZD5ST3KF161449   GM           MALIBU               DANIA BEACH              FL
23618   1G1ZD5ST3KF161595   GM           MALIBU               Rockville Centr          NY
23619   1G1ZD5ST3KF161628   GM           MALIBU               FORT MYERS               FL
23620   1G1ZD5ST3KF161788   GM           MALIBU               Miami                    FL
23621   1G1ZD5ST3KF161855   GM           MALIBU               JACKSONVILLE             FL
23622   1G1ZD5ST3KF161872   GM           MALIBU               MIDWAY                   FL
23623   1G1ZD5ST3KF161886   GM           MALIBU               WEST PALM BEACH          FL
23624   1G1ZD5ST3KF161936   GM           MALIBU               Tampa                    FL
23625   1G1ZD5ST3KF162035   GM           MALIBU               TAMPA                    US
23626   1G1ZD5ST3KF162049   GM           MALIBU               FORT MYERS               FL
23627   1G1ZD5ST3KF162052   GM           MALIBU               ALBUQUERQUE              NM
23628   1G1ZD5ST3KF162066   GM           MALIBU               ORLANDO                  FL
23629   1G1ZD5ST3KF162147   GM           MALIBU               MIAMI                    FL
23630   1G1ZD5ST3KF162326   GM           MALIBU               SAVANNAH                 GA
23631   1G1ZD5ST3KF162374   GM           MALIBU               ORLANDO                  FL
23632   1G1ZD5ST3KF162603   GM           MALIBU               NEW BERN                 NC
23633   1G1ZD5ST3KF162620   GM           MALIBU               MIAMI                    FL
23634   1G1ZD5ST3KF162651   GM           MALIBU               Atlanta                  GA
23635   1G1ZD5ST3KF162732   GM           MALIBU               Springfield              MO
23636   1G1ZD5ST3KF162827   GM           MALIBU               ORLANDO                  FL
23637   1G1ZD5ST3KF162908   GM           MALIBU               San Antonio              TX
23638   1G1ZD5ST3KF162939   GM           MALIBU               FORT MYERS               FL
23639   1G1ZD5ST3KF162956   GM           MALIBU               KNOXVILLE                TN
23640   1G1ZD5ST3KF162987   GM           MALIBU               TAMPA                    FL
23641   1G1ZD5ST3KF163038   GM           MALIBU               WEST PALM BEACH          FL
23642   1G1ZD5ST3KF163055   GM           MALIBU               FORT MYERS               FL
23643   1G1ZD5ST3KF163119   GM           MALIBU               FORT MYERS               FL
23644   1G1ZD5ST3KF163184   GM           MALIBU               ORLANDO                  FL
23645   1G1ZD5ST3KF163394   GM           MALIBU               TAMPA                    FL
23646   1G1ZD5ST3KF163475   GM           MALIBU               FORT LAUDERDALE          FL
23647   1G1ZD5ST3KF163637   GM           MALIBU               Tampa                    FL
23648   1G1ZD5ST3KF163654   GM           MALIBU               St. Louis                MO
23649   1G1ZD5ST3KF163816   GM           MALIBU               ORLANDO                  FL
23650   1G1ZD5ST3KF163850   GM           MALIBU               FORT LAUDERDALE          FL
23651   1G1ZD5ST3KF163864   GM           MALIBU               TAMPA                    FL
23652   1G1ZD5ST3KF163976   GM           MALIBU               WEST PALM BEACH          FL
23653   1G1ZD5ST3KF164092   GM           MALIBU               WEST PALM BEACH          FL
23654   1G1ZD5ST3KF164206   GM           MALIBU               TAMPA                    FL
23655   1G1ZD5ST3KF164240   GM           MALIBU               ORLANDO                  FL
23656   1G1ZD5ST3KF164285   GM           MALIBU               FORT LAUDERDALE          FL
23657   1G1ZD5ST3KF164304   GM           MALIBU               JACKSONVILLE             FL
23658   1G1ZD5ST3KF164335   GM           MALIBU               FORT LAUDERDALE          FL
23659   1G1ZD5ST3KF164349   GM           MALIBU               Warminster               PA
23660   1G1ZD5ST3KF164433   GM           MALIBU               Miami                    FL
23661   1G1ZD5ST3KF164478   GM           MALIBU               Dallas                   TX
23662   1G1ZD5ST3KF164481   GM           MALIBU               Des Moines               IA
23663   1G1ZD5ST3KF164495   GM           MALIBU               ORLANDO                  FL
23664   1G1ZD5ST3KF164500   GM           MALIBU               TAMPA                    FL
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23665   1G1ZD5ST3KF164576   GM           MALIBU               ORLANDO                  FL
23666   1G1ZD5ST3KF164609   GM           MALIBU               FORT MYERS               FL
23667   1G1ZD5ST3KF164626   GM           MALIBU               FORT MYERS               FL
23668   1G1ZD5ST3KF164707   GM           MALIBU               TAMPA                    FL
23669   1G1ZD5ST3KF164738   GM           MALIBU               DANIA BEACH              FL
23670   1G1ZD5ST3KF165162   GM           MALIBU               Slidell                  LA
23671   1G1ZD5ST3KF165212   GM           MALIBU               TAMPA                    FL
23672   1G1ZD5ST3KF165436   GM           MALIBU               FORT MYERS               FL
23673   1G1ZD5ST3KF165534   GM           MALIBU               PHOENIX                  AZ
23674   1G1ZD5ST3KF165629   GM           MALIBU               FORT MYERS               FL
23675   1G1ZD5ST3KF165758   GM           MALIBU               AUSTIN                   TX
23676   1G1ZD5ST3KF165842   GM           MALIBU               MIAMI                    FL
23677   1G1ZD5ST3KF165890   GM           MALIBU               BIRMINGHAM               AL
23678   1G1ZD5ST3KF165923   GM           MALIBU               ORLANDO                  FL
23679   1G1ZD5ST3KF166134   GM           MALIBU               TAMPA                    FL
23680   1G1ZD5ST3KF166280   GM           MALIBU               ORLANDO                  FL
23681   1G1ZD5ST3KF166392   GM           MALIBU               FORT MYERS               FL
23682   1G1ZD5ST3KF166439   GM           MALIBU
23683   1G1ZD5ST3KF166442   GM           MALIBU               MIAMI                    FL
23684   1G1ZD5ST3KF166750   GM           MALIBU               FORT MYERS               FL
23685   1G1ZD5ST3KF166778   GM           MALIBU               ATLANTA                  GA
23686   1G1ZD5ST3KF166862   GM           MALIBU               MIAMI                    FL
23687   1G1ZD5ST3KF166943   GM           MALIBU               KANSAS CITY              MO
23688   1G1ZD5ST3KF166960   GM           MALIBU               MIAMI                    FL
23689   1G1ZD5ST3KF167042   GM           MALIBU               NASHVILLE                TN
23690   1G1ZD5ST3KF167056   GM           MALIBU               LOS ANGELES              CA
23691   1G1ZD5ST3KF167090   GM           MALIBU               Slidell                  LA
23692   1G1ZD5ST3KF167588   GM           MALIBU               JACKSONVILLE             FL
23693   1G1ZD5ST3KF167624   GM           MALIBU               FORT LAUDERDALE          FL
23694   1G1ZD5ST3KF167803   GM           MALIBU               ORLANDO                  FL
23695   1G1ZD5ST3KF168174   GM           MALIBU               SAN DIEGO                CA
23696   1G1ZD5ST3KF169261   GM           MALIBU               HANOVER                  MD
23697   1G1ZD5ST3KF169714   GM           MALIBU               Fontana                  CA
23698   1G1ZD5ST3KF169812   GM           MALIBU               TAMPA                    FL
23699   1G1ZD5ST3KF170278   GM           MALIBU               ORLANDO                  FL
23700   1G1ZD5ST3KF170281   GM           MALIBU               JACKSONVILLE             FL
23701   1G1ZD5ST3KF170457   GM           MALIBU               ST Paul                  MN
23702   1G1ZD5ST3KF170880   GM           MALIBU               WEST COLUMBIA            SC
23703   1G1ZD5ST3KF170894   GM           MALIBU               ORLANDO                  FL
23704   1G1ZD5ST3KF171060   GM           MALIBU               Lexington                KY
23705   1G1ZD5ST3KF171365   GM           MALIBU               ONTARIO                  CA
23706   1G1ZD5ST3KF171463   GM           MALIBU               S. San Francisc          CA
23707   1G1ZD5ST3KF171723   GM           MALIBU               MILWAUKEE                WI
23708   1G1ZD5ST3KF171818   GM           MALIBU               SYRACUSE                 NY
23709   1G1ZD5ST3KF171849   GM           MALIBU               ORLANDO                  FL
23710   1G1ZD5ST3KF174458   GM           MALIBU               GLASSBORO                NJ
23711   1G1ZD5ST3KF175688   GM           MALIBU               TAMPA                    FL
23712   1G1ZD5ST3KF175772   GM           MALIBU               NASHVILLE                TN
23713   1G1ZD5ST3KF176226   GM           MALIBU               Atlanta                  GA
23714   1G1ZD5ST3KF176467   GM           MALIBU               MEMPHIS                  TN
23715   1G1ZD5ST3KF176470   GM           MALIBU               CHICAGO                  IL
23716   1G1ZD5ST3KF176517   GM           MALIBU               Austell                  GA
23717   1G1ZD5ST3KF177067   GM           MALIBU               Miami                    FL
23718   1G1ZD5ST3KF177246   GM           MALIBU               CLEVELAND                OH
23719   1G1ZD5ST3KF178087   GM           MALIBU               Dallas                   TX
23720   1G1ZD5ST3KF178705   GM           MALIBU               MIAMI                    FL
23721   1G1ZD5ST3KF178722   GM           MALIBU               Winston‐Salem            NC
23722   1G1ZD5ST3KF180874   GM           MALIBU               TAMPA                    FL
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23723   1G1ZD5ST3KF181250   GM           MALIBU               St. Louis                MO
23724   1G1ZD5ST3KF181300   GM           MALIBU               FORT MYERS               FL
23725   1G1ZD5ST3KF181474   GM           MALIBU               KNOXVILLE                TN
23726   1G1ZD5ST3KF182589   GM           MALIBU               WEST PALM BEACH          FL
23727   1G1ZD5ST3KF182639   GM           MALIBU               Davie                    FL
23728   1G1ZD5ST3KF182785   GM           MALIBU               FAYETTEVILLE             GA
23729   1G1ZD5ST3KF183029   GM           MALIBU               ORLANDO                  FL
23730   1G1ZD5ST3KF183211   GM           MALIBU               BALTIMORE                MD
23731   1G1ZD5ST3KF183404   GM           MALIBU               Kansas City              MO
23732   1G1ZD5ST3KF183726   GM           MALIBU               Atlanta                  GA
23733   1G1ZD5ST3KF183922   GM           MALIBU               Orlando                  FL
23734   1G1ZD5ST3KF184004   GM           MALIBU               JACKSONVILLE             FL
23735   1G1ZD5ST3KF184262   GM           MALIBU               TAMPA                    FL
23736   1G1ZD5ST3KF184813   GM           MALIBU               Hebron                   KY
23737   1G1ZD5ST3KF186075   GM           MALIBU               SARASOTA                 FL
23738   1G1ZD5ST3KF186447   GM           MALIBU               ORLANDO                  FL
23739   1G1ZD5ST3KF186772   GM           MALIBU               SAINT LOUIS              MO
23740   1G1ZD5ST3KF186805   GM           MALIBU               Chicago                  IL
23741   1G1ZD5ST3KF186822   GM           MALIBU               ELKRIDGE                 MD
23742   1G1ZD5ST3KF186836   GM           MALIBU               ATLANTA                  GA
23743   1G1ZD5ST3KF191146   GM           MALIBU               WEST PALM BEACH          FL
23744   1G1ZD5ST3KF206504   GM           MALIBU               ORANGE COUNTY            CA
23745   1G1ZD5ST3KF216966   GM           MALIBU               Sacramento               CA
23746   1G1ZD5ST3LF018602   GM           MALIBU               FORT MYERS               FL
23747   1G1ZD5ST3LF033813   GM           MALIBU               Tulsa                    OK
23748   1G1ZD5ST3LF054743   GM           MALIBU               FORT MYERS               FL
23749   1G1ZD5ST3LF054970   GM           MALIBU               FORT MYERS               FL
23750   1G1ZD5ST3LF084521   GM           MALIBU               EIGHT MILE               AL
23751   1G1ZD5ST3LF088505   GM           MALIBU               Medford                  NY
23752   1G1ZD5ST3LF094482   GM           MALIBU               Tulsa                    OK
23753   1G1ZD5ST3LF097060   GM           MALIBU               FORT MYERS               FL
23754   1G1ZD5ST3LF100913   GM           MALIBU               FORT MYERS               FL
23755   1G1ZD5ST3LF102192   GM           MALIBU               Tulsa                    OK
23756   1G1ZD5ST3LF102533   GM           MALIBU               FORT MYERS               FL
23757   1G1ZD5ST3LF104251   GM           MALIBU               FORT MYERS               FL
23758   1G1ZD5ST4JF123761   GM           CRUZE                BOSTON                   MA
23759   1G1ZD5ST4JF128734   GM           CRUZE                CLEVELAND                OH
23760   1G1ZD5ST4JF130502   GM           CRUZE                Rio Linda                CA
23761   1G1ZD5ST4JF131049   GM           CRUZE                DAYTONA BEACH            FL
23762   1G1ZD5ST4JF131486   GM           CRUZE                FAYETTEVILLE             GA
23763   1G1ZD5ST4JF132296   GM           CRUZE                DES MOINES               IA
23764   1G1ZD5ST4JF132427   GM           CRUZE                Hanover                  MD
23765   1G1ZD5ST4JF132749   GM           CRUZE                BOSTON                   MA
23766   1G1ZD5ST4JF132878   GM           CRUZE                SAN JOSE                 CA
23767   1G1ZD5ST4JF133366   GM           CRUZE                SAN JOSE                 CA
23768   1G1ZD5ST4JF133853   GM           CRUZE                SAN JOSE                 CA
23769   1G1ZD5ST4JF134078   GM           CRUZE                Las Vegas                NV
23770   1G1ZD5ST4JF134131   GM           CRUZE                SAN JOSE                 CA
23771   1G1ZD5ST4JF134355   GM           CRUZE                PICO RIVERA              CA
23772   1G1ZD5ST4JF134419   GM           CRUZE                Rio Linda                CA
23773   1G1ZD5ST4JF135215   GM           CRUZE                Charlotte                NC
23774   1G1ZD5ST4JF135232   GM           CRUZE                South San Franc          CA
23775   1G1ZD5ST4JF136574   GM           CRUZE                Rio Linda                CA
23776   1G1ZD5ST4JF137420   GM           CRUZE                MORROW                   GA
23777   1G1ZD5ST4JF137644   GM           CRUZE                MORROW                   GA
23778   1G1ZD5ST4JF138017   GM           CRUZE                NORTH PAC                CA
23779   1G1ZD5ST4JF139197   GM           CRUZE                CHICAGO                  IL
23780   1G1ZD5ST4JF139992   GM           CRUZE                ATLANTA AP               GA
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23781   1G1ZD5ST4JF140009   GM           CRUZE                Grove City               OH
23782   1G1ZD5ST4JF140172   GM           CRUZE                SACRAMENTO               CA
23783   1G1ZD5ST4JF140236   GM           CRUZE                ST Paul                  MN
23784   1G1ZD5ST4JF140947   GM           CRUZE                Los Angeles              CA
23785   1G1ZD5ST4JF141015   GM           CRUZE                Denver                   CO
23786   1G1ZD5ST4JF141354   GM           CRUZE
23787   1G1ZD5ST4JF141712   GM           CRUZE                CHICAGO                  IL
23788   1G1ZD5ST4JF142410   GM           CRUZE                NEW ENGLAND DEALER       MA
23789   1G1ZD5ST4JF142553   GM           CRUZE                Lake Elsinore            CA
23790   1G1ZD5ST4JF142570   GM           CRUZE                DAYTONA BEACH            FL
23791   1G1ZD5ST4JF142648   GM           CRUZE                FORT MYERS               FL
23792   1G1ZD5ST4JF143086   GM           CRUZE                CHICAGO                  IL
23793   1G1ZD5ST4JF144691   GM           CRUZE                CHARLOTTE                NC
23794   1G1ZD5ST4JF144772   GM           CRUZE                CLEVELAND                OH
23795   1G1ZD5ST4JF145954   GM           CRUZE                Chicago                  IL
23796   1G1ZD5ST4JF146764   GM           CRUZE                HANOVER                  MD
23797   1G1ZD5ST4JF149261   GM           CRUZE                STERLING                 VA
23798   1G1ZD5ST4JF149468   GM           CRUZE                Salt Lake City           UT
23799   1G1ZD5ST4JF149549   GM           CRUZE                NEW ENGLAND DEALER       MA
23800   1G1ZD5ST4JF149597   GM           CRUZE                COLLEGE PARK             GA
23801   1G1ZD5ST4JF150121   GM           CRUZE                Miami                    FL
23802   1G1ZD5ST4JF150264   GM           CRUZE                Davie                    FL
23803   1G1ZD5ST4JF150622   GM           CRUZE                DANIA BEACH              FL
23804   1G1ZD5ST4JF150927   GM           CRUZE                CHICAGO                  IL
23805   1G1ZD5ST4JF150930   GM           CRUZE                HARVEY                   LA
23806   1G1ZD5ST4JF151012   GM           CRUZE                MORROW                   GA
23807   1G1ZD5ST4JF151141   GM           CRUZE                TAMPA                    US
23808   1G1ZD5ST4JF151219   GM           CRUZE                WEST PALM BEACH          FL
23809   1G1ZD5ST4JF151267   GM           CRUZE                SALT LAKE CITY           UT
23810   1G1ZD5ST4JF151365   GM           CRUZE                OMAHA                    NE
23811   1G1ZD5ST4JF151544   GM           CRUZE                Atlanta                  GA
23812   1G1ZD5ST4JF151589   GM           CRUZE                North Dighton            MA
23813   1G1ZD5ST4JF151611   GM           CRUZE                Davie                    FL
23814   1G1ZD5ST4JF151785   GM           CRUZE                Rock Hill                SC
23815   1G1ZD5ST4JF151821   GM           MALIBU               Tampa                    FL
23816   1G1ZD5ST4JF151866   GM           CRUZE                Phoenix                  AZ
23817   1G1ZD5ST4JF152502   GM           CRUZE                ORLANDO                  FL
23818   1G1ZD5ST4JF154332   GM           CRUZE                Anaheim                  CA
23819   1G1ZD5ST4JF154721   GM           CRUZE                SACRAMENTO               CA
23820   1G1ZD5ST4JF155237   GM           CRUZE                North Dighton            MA
23821   1G1ZD5ST4JF155271   GM           CRUZE                Roseville                CA
23822   1G1ZD5ST4JF155321   GM           CRUZE                SANTA ANA                CA
23823   1G1ZD5ST4JF156131   GM           CRUZE                DANIA BEACH              FL
23824   1G1ZD5ST4JF156176   GM           CRUZE                Riverside                CA
23825   1G1ZD5ST4JF156582   GM           CRUZE                DANIA BEACH              FL
23826   1G1ZD5ST4JF157571   GM           CRUZE                WEST CENTRAL DEALE       CO
23827   1G1ZD5ST4JF157800   GM           CRUZE                Anaheim                  CA
23828   1G1ZD5ST4JF158090   GM           CRUZE                DES PLAINES              IL
23829   1G1ZD5ST4JF158123   GM           CRUZE                Elkridge                 MD
23830   1G1ZD5ST4JF158154   GM           CRUZE                TRACY                    CA
23831   1G1ZD5ST4JF158204   GM           CRUZE                Hanover                  MD
23832   1G1ZD5ST4JF158591   GM           CRUZE                CHARLOTTE                NC
23833   1G1ZD5ST4JF158686   GM           CRUZE                JACKSONVILLE             FL
23834   1G1ZD5ST4JF159322   GM           CRUZE                HANOVER                  MD
23835   1G1ZD5ST4JF159532   GM           CRUZE                Salt Lake City           UT
23836   1G1ZD5ST4JF159773   GM           CRUZE                FLORIDA DEALER DIR       FL
23837   1G1ZD5ST4JF160325   GM           CRUZE                Sterling                 VA
23838   1G1ZD5ST4JF160406   GM           CRUZE                FORT LAUDERDALE          FL
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23839   1G1ZD5ST4JF160440   GM           CRUZE                Tampa                    FL
23840   1G1ZD5ST4JF160812   GM           CRUZE                N MIAMI BEACH            FL
23841   1G1ZD5ST4JF169896   GM           CRUZE                MORROW                   GA
23842   1G1ZD5ST4JF170773   GM           CRUZE                NOTTINGHAM               MD
23843   1G1ZD5ST4JF171096   GM           CRUZE                DANIA BEACH              FL
23844   1G1ZD5ST4JF173379   GM           CRUZE                MARIETTA                 GA
23845   1G1ZD5ST4JF180350   GM           CRUZE                Harvey                   LA
23846   1G1ZD5ST4JF180848   GM           CRUZE                CHARLOTTE                NC
23847   1G1ZD5ST4JF181840   GM           CRUZE                BURBANK                  CA
23848   1G1ZD5ST4JF182891   GM           CRUZE                LAS VEGAS                NV
23849   1G1ZD5ST4JF183894   GM           CRUZE                Hamilton                 OH
23850   1G1ZD5ST4JF185001   GM           CRUZE                TRACY                    CA
23851   1G1ZD5ST4JF186665   GM           CRUZE                RICHMOND                 VA
23852   1G1ZD5ST4JF186696   GM           CRUZE                SAN DIEGO                CA
23853   1G1ZD5ST4JF189937   GM           CRUZE                SAN DIEGO                CA
23854   1G1ZD5ST4JF191204   GM           CRUZE                CENTRAL DIST OFFC        OK
23855   1G1ZD5ST4JF191431   GM           CRUZE                SANTA ANA                CA
23856   1G1ZD5ST4JF195544   GM           MALIBU               BURIEN                   WA
23857   1G1ZD5ST4JF195897   GM           MALIBU               BURBANK                  CA
23858   1G1ZD5ST4JF196239   GM           CRUZE                NORTH PAC                CA
23859   1G1ZD5ST4JF198802   GM           CRUZE                BURBANK                  CA
23860   1G1ZD5ST4JF202427   GM           CRUZE                Portland                 OR
23861   1G1ZD5ST4JF206266   GM           CRUZE                Colorado Spring          CO
23862   1G1ZD5ST4JF211712   GM           CRUZE                FLORIDA DEALER DIR       FL
23863   1G1ZD5ST4JF213170   GM           CRUZE                South San Franc          CA
23864   1G1ZD5ST4JF216344   GM           CRUZE                RICHMOND                 VA
23865   1G1ZD5ST4JF217249   GM           CRUZE                BURBANK                  CA
23866   1G1ZD5ST4JF217798   GM           CRUZE                SAN FRANCISCO            CA
23867   1G1ZD5ST4JF217963   GM           CRUZE                ROSEVILLE                CA
23868   1G1ZD5ST4JF218787   GM           CRUZE                CHICAGO                  IL
23869   1G1ZD5ST4JF219406   GM           CRUZE                DAYTONA BEACH            FL
23870   1G1ZD5ST4JF219664   GM           CRUZE                Elkridge                 MD
23871   1G1ZD5ST4JF220748   GM           CRUZE                Portland                 OR
23872   1G1ZD5ST4JF220877   GM           CRUZE                LOS ANGELES              CA
23873   1G1ZD5ST4JF222211   GM           CRUZE                Phoenix                  AZ
23874   1G1ZD5ST4JF222368   GM           CRUZE                SEATAC                   WA
23875   1G1ZD5ST4JF223343   GM           CRUZE                HANOVER                  MD
23876   1G1ZD5ST4JF224007   GM           CRUZE                WEST COLUMBIA            SC
23877   1G1ZD5ST4JF225061   GM           CRUZE                HOLLY HILL               FL
23878   1G1ZD5ST4JF225481   GM           CRUZE                Dallas                   TX
23879   1G1ZD5ST4JF225741   GM           CRUZE                BURBANK                  CA
23880   1G1ZD5ST4JF225917   GM           CRUZE                SAN DIEGO                CA
23881   1G1ZD5ST4JF227134   GM           CRUZE                SAN JOSE                 CA
23882   1G1ZD5ST4JF227280   GM           CRUZE                Pasadena                 CA
23883   1G1ZD5ST4JF227781   GM           CRUZE                DARLINGTON               SC
23884   1G1ZD5ST4JF232219   GM           CRUZE                Atlanta                  GA
23885   1G1ZD5ST4JF232771   GM           CRUZE                Atlanta                  GA
23886   1G1ZD5ST4JF233399   GM           CRUZE                MIAMI                    FL
23887   1G1ZD5ST4JF234178   GM           CRUZE                Orlando                  FL
23888   1G1ZD5ST4JF235671   GM           CRUZE                PHILADELPHIA             PA
23889   1G1ZD5ST4JF235878   GM           CRUZE                PITTSBURGH               PA
23890   1G1ZD5ST4JF236027   GM           CRUZE                Lake Elsinore            CA
23891   1G1ZD5ST4JF236089   GM           CRUZE                Detroit                  MI
23892   1G1ZD5ST4JF236142   GM           CRUZE                CHICAGO                  IL
23893   1G1ZD5ST4JF236593   GM           CRUZE                NORTH PAC                CA
23894   1G1ZD5ST4JF236772   GM           CRUZE                Anaheim                  CA
23895   1G1ZD5ST4JF237193   GM           CRUZE                SAN JOSE                 CA
23896   1G1ZD5ST4JF237310   GM           CRUZE                Florissant               MO
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23897   1G1ZD5ST4JF237579   GM           CRUZE                KNOXVILLE                TN
23898   1G1ZD5ST4JF237601   GM           CRUZE                Slidell                  LA
23899   1G1ZD5ST4JF237775   GM           CRUZE                DETROIT                  MI
23900   1G1ZD5ST4JF237808   GM           CRUZE                LOS ANGELES              CA
23901   1G1ZD5ST4JF238280   GM           CRUZE                SAN DIEGO                CA
23902   1G1ZD5ST4JF238442   GM           CRUZE                FRESNO                   CA
23903   1G1ZD5ST4JF238456   GM           CRUZE                BURBANK                  CA
23904   1G1ZD5ST4JF238537   GM           CRUZE                ROSEVILLE                CA
23905   1G1ZD5ST4JF238568   GM           CRUZE                BURBANK                  CA
23906   1G1ZD5ST4JF238814   GM           CRUZE                BURBANK                  CA
23907   1G1ZD5ST4JF238831   GM           CRUZE                AUSTIN                   TX
23908   1G1ZD5ST4JF238974   GM           CRUZE                Atlanta                  GA
23909   1G1ZD5ST4JF239011   GM           CRUZE                ROSEVILLE                CA
23910   1G1ZD5ST4JF239073   GM           CRUZE                CENTRAL DIST OFFC        OK
23911   1G1ZD5ST4JF239137   GM           CRUZE                TUCSON                   AZ
23912   1G1ZD5ST4JF239428   GM           CRUZE                Hamilton                 OH
23913   1G1ZD5ST4JF239574   GM           CRUZE                OAKLAND                  CA
23914   1G1ZD5ST4JF239817   GM           CRUZE                Sterling                 VA
23915   1G1ZD5ST4JF239834   GM           CRUZE                SAN JOSE                 CA
23916   1G1ZD5ST4JF239915   GM           CRUZE                Morrisville              NC
23917   1G1ZD5ST4JF240045   GM           CRUZE                BURBANK                  CA
23918   1G1ZD5ST4JF240238   GM           CRUZE                ROSEVILLE                CA
23919   1G1ZD5ST4JF240501   GM           CRUZE                SANTA ANA                CA
23920   1G1ZD5ST4JF240630   GM           CRUZE                NORTH PAC                CA
23921   1G1ZD5ST4JF240644   GM           CRUZE                CHICAGO                  IL
23922   1G1ZD5ST4JF241809   GM           CRUZE                Richmond                 VA
23923   1G1ZD5ST4JF241969   GM           CRUZE                Tucson                   AZ
23924   1G1ZD5ST4JF242121   GM           CRUZE                TALLAHASSEE              US
23925   1G1ZD5ST4JF242202   GM           CRUZE                SEATAC                   WA
23926   1G1ZD5ST4JF242250   GM           CRUZE                TAMPA                    FL
23927   1G1ZD5ST4JF242376   GM           CRUZE                ST PAUL                  MN
23928   1G1ZD5ST4JF242393   GM           CRUZE                SAN FRANCISCO            CA
23929   1G1ZD5ST4JF242412   GM           CRUZE                Charlotte                NC
23930   1G1ZD5ST4JF242605   GM           CRUZE                Charlotte                NC
23931   1G1ZD5ST4JF242992   GM           CRUZE                Chicago                  IL
23932   1G1ZD5ST4JF243060   GM           CRUZE                BURBANK                  CA
23933   1G1ZD5ST4JF243236   GM           CRUZE                BURBANK                  CA
23934   1G1ZD5ST4JF243396   GM           CRUZE                LOS ANGELES              CA
23935   1G1ZD5ST4JF243480   GM           CRUZE                Chicago                  IL
23936   1G1ZD5ST4JF243589   GM           CRUZE                Hanover                  MD
23937   1G1ZD5ST4JF243687   GM           CRUZE                SAINT PAUL               MN
23938   1G1ZD5ST4JF243737   GM           CRUZE                Portland                 OR
23939   1G1ZD5ST4JF243740   GM           CRUZE                WEST PALM BEACH          FL
23940   1G1ZD5ST4JF243821   GM           CRUZE                Manheim                  PA
23941   1G1ZD5ST4JF244063   GM           CRUZE                SAN ANTONIO              TX
23942   1G1ZD5ST4JF244130   GM           CRUZE                DES MOINES               IA
23943   1G1ZD5ST4JF244144   GM           CRUZE                NEWARK                   NJ
23944   1G1ZD5ST4JF244175   GM           CRUZE                BURBANK                  CA
23945   1G1ZD5ST4JF244189   GM           CRUZE                SACRAMENTO               CA
23946   1G1ZD5ST4JF244242   GM           CRUZE                Winston‐Salem            NC
23947   1G1ZD5ST4JF244421   GM           CRUZE                STERLING                 VA
23948   1G1ZD5ST4JF244466   GM           CRUZE                CHICAGO                  IL
23949   1G1ZD5ST4JF244502   GM           CRUZE                Fredericksburg           VA
23950   1G1ZD5ST4JF244631   GM           CRUZE                HOUSTON                  TX
23951   1G1ZD5ST4JF244743   GM           CRUZE                Hamilton                 OH
23952   1G1ZD5ST4JF244760   GM           CRUZE                Beaverton                OR
23953   1G1ZD5ST4JF244788   GM           CRUZE                FORT MYERS               FL
23954   1G1ZD5ST4JF244791   GM           CRUZE                Burien                   WA
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23955   1G1ZD5ST4JF244810   GM           CRUZE                DETROIT                  MI
23956   1G1ZD5ST4JF245021   GM           CRUZE                CHICAGO                  IL
23957   1G1ZD5ST4JF245049   GM           CRUZE                ST Paul                  MN
23958   1G1ZD5ST4JF245214   GM           CRUZE                OKLAHOMA CITY            OK
23959   1G1ZD5ST4JF245309   GM           CRUZE                Raleigh                  NC
23960   1G1ZD5ST4JF245360   GM           CRUZE                WARWICK                  RI
23961   1G1ZD5ST4JF245519   GM           CRUZE                TAMPA                    FL
23962   1G1ZD5ST4JF245522   GM           CRUZE                Cincinnati               OH
23963   1G1ZD5ST4JF245570   GM           CRUZE                HANOVER                  MD
23964   1G1ZD5ST4JF245584   GM           CRUZE                BURBANK                  CA
23965   1G1ZD5ST4JF245648   GM           CRUZE                TAMPA                    US
23966   1G1ZD5ST4JF245679   GM           CRUZE                Manheim                  PA
23967   1G1ZD5ST4JF245892   GM           CRUZE                Los Angeles              CA
23968   1G1ZD5ST4JF245987   GM           CRUZE                ROCHESTER                NY
23969   1G1ZD5ST4JF246024   GM           CRUZE                BURBANK                  CA
23970   1G1ZD5ST4JF246055   GM           CRUZE                PORTLAND                 OR
23971   1G1ZD5ST4JF246069   GM           CRUZE                Caledonia                WI
23972   1G1ZD5ST4JF246153   GM           CRUZE                FORT LAUDERDALE          FL
23973   1G1ZD5ST4JF246251   GM           CRUZE                CHICAGO                  IL
23974   1G1ZD5ST4JF246315   GM           CRUZE                Maple Grove              MN
23975   1G1ZD5ST4JF246377   GM           CRUZE                SAN FRANCISCO            CA
23976   1G1ZD5ST4JF246380   GM           CRUZE                Elkridge                 MD
23977   1G1ZD5ST4JF246413   GM           CRUZE                Beaverton                OR
23978   1G1ZD5ST4JF246427   GM           CRUZE                SAN FRANCISCO            CA
23979   1G1ZD5ST4JF246444   GM           CRUZE                DALLAS                   TX
23980   1G1ZD5ST4JF246458   GM           CRUZE                DES MOINES               IA
23981   1G1ZD5ST4JF246461   GM           CRUZE                GLEN BURNIE              MD
23982   1G1ZD5ST4JF246508   GM           CRUZE                CHICAGO                  IL
23983   1G1ZD5ST4JF246671   GM           CRUZE                Marietta                 GA
23984   1G1ZD5ST4JF246797   GM           CRUZE                Anaheim                  CA
23985   1G1ZD5ST4JF246847   GM           CRUZE                INDIANAPOLIS             IN
23986   1G1ZD5ST4JF247044   GM           CRUZE                Hamilton                 OH
23987   1G1ZD5ST4JF247089   GM           CRUZE                ORLANDO                  FL
23988   1G1ZD5ST4JF247092   GM           CRUZE                Atlanta                  GA
23989   1G1ZD5ST4JF247142   GM           CRUZE                Statesville              NC
23990   1G1ZD5ST4JF247156   GM           CRUZE                Phoenix                  AZ
23991   1G1ZD5ST4JF247187   GM           CRUZE                PHOENIX                  AZ
23992   1G1ZD5ST4JF247206   GM           CRUZE                Hanover                  MD
23993   1G1ZD5ST4JF247254   GM           CRUZE                Detroit                  MI
23994   1G1ZD5ST4JF247299   GM           CRUZE                FORT MYERS               FL
23995   1G1ZD5ST4JF247416   GM           CRUZE                Euless                   TX
23996   1G1ZD5ST4JF247433   GM           CRUZE                DETROIT                  MI
23997   1G1ZD5ST4JF247447   GM           CRUZE                Sacramento               CA
23998   1G1ZD5ST4JF247545   GM           CRUZE                STERLING                 VA
23999   1G1ZD5ST4JF247562   GM           CRUZE                CHARLOTTE                NC
24000   1G1ZD5ST4JF247612   GM           CRUZE                SOUTHEAST DST OFFC       OK
24001   1G1ZD5ST4JF247688   GM           CRUZE                Winston‐Salem            NC
24002   1G1ZD5ST4JF247772   GM           CRUZE                Costa Mesa               CA
24003   1G1ZD5ST4JF247836   GM           CRUZE                SEATAC                   WA
24004   1G1ZD5ST4JF247934   GM           CRUZE                FORT LAUDERDALE          FL
24005   1G1ZD5ST4JF248016   GM           CRUZE                NORTH PAC                CA
24006   1G1ZD5ST4JF248033   GM           CRUZE                NORTH PAC                CA
24007   1G1ZD5ST4JF248050   GM           CRUZE                Slidell                  LA
24008   1G1ZD5ST4JF248064   GM           CRUZE                JACKSONVILLE             FL
24009   1G1ZD5ST4JF248078   GM           CRUZE                SAINT PAUL               MN
24010   1G1ZD5ST4JF248288   GM           CRUZE                FORT MYERS               FL
24011   1G1ZD5ST4JF248291   GM           CRUZE                WEST CENTRAL DEALE       CO
24012   1G1ZD5ST4JF248324   GM           CRUZE                SAINT PAUL               MN
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24013   1G1ZD5ST4JF248551   GM           CRUZE                SACRAMENTO               CA
24014   1G1ZD5ST4JF248629   GM           CRUZE                Manheim                  PA
24015   1G1ZD5ST4JF248694   GM           CRUZE                STOCKTON                 CA
24016   1G1ZD5ST4JF248808   GM           CRUZE                DAYTONA BEACH            FL
24017   1G1ZD5ST4JF249019   GM           CRUZE                WEST PALM BEACH          FL
24018   1G1ZD5ST4JF249036   GM           CRUZE                S. San Francisc          CA
24019   1G1ZD5ST4JF249084   GM           CRUZE                Cedar Rapids             IA
24020   1G1ZD5ST4JF249165   GM           CRUZE                Hartford                 CT
24021   1G1ZD5ST4JF249179   GM           CRUZE                Hayward                  CA
24022   1G1ZD5ST4JF249201   GM           CRUZE                BURBANK                  CA
24023   1G1ZD5ST4JF249246   GM           CRUZE                Pasadena                 CA
24024   1G1ZD5ST4JF249263   GM           CRUZE                LOS ANGELES              CA
24025   1G1ZD5ST4JF249392   GM           CRUZE                Baltimore                MD
24026   1G1ZD5ST4JF249425   GM           CRUZE                WEST PALM BEACH          FL
24027   1G1ZD5ST4JF249537   GM           CRUZE                SACRAMENTO               CA
24028   1G1ZD5ST4JF249568   GM           CRUZE                DETROIT                  MI
24029   1G1ZD5ST4JF249571   GM           CRUZE                Fresno                   CA
24030   1G1ZD5ST4JF249683   GM           CRUZE                FT. LAUDERDALE           FL
24031   1G1ZD5ST4JF249697   GM           CRUZE                CHICAGO                  IL
24032   1G1ZD5ST4JF249747   GM           CRUZE                Fredericksburg           VA
24033   1G1ZD5ST4JF249859   GM           CRUZE                CHICAGO                  IL
24034   1G1ZD5ST4JF249974   GM           CRUZE                Indianapolis             IN
24035   1G1ZD5ST4JF249991   GM           CRUZE                Fontana                  CA
24036   1G1ZD5ST4JF250025   GM           CRUZE                Warminster               PA
24037   1G1ZD5ST4JF250039   GM           CRUZE                FORT MYERS               FL
24038   1G1ZD5ST4JF250042   GM           CRUZE                Tolleson                 AZ
24039   1G1ZD5ST4JF250073   GM           CRUZE                Manheim                  PA
24040   1G1ZD5ST4JF250137   GM           CRUZE                SANTA ANA                CA
24041   1G1ZD5ST4JF250154   GM           CRUZE                PHOENIX                  AZ
24042   1G1ZD5ST4JF250235   GM           CRUZE                Sanford                  FL
24043   1G1ZD5ST4JF250252   GM           CRUZE                HANOVER                  MD
24044   1G1ZD5ST4JF250350   GM           CRUZE                WEST PALM BEACH          FL
24045   1G1ZD5ST4JF250395   GM           CRUZE                Hebron                   KY
24046   1G1ZD5ST4JF250400   GM           CRUZE                Burien                   WA
24047   1G1ZD5ST4JF250414   GM           CRUZE                BALDWIN                  NY
24048   1G1ZD5ST4JF250445   GM           CRUZE                BURBANK                  CA
24049   1G1ZD5ST4JF250459   GM           CRUZE                BURBANK                  CA
24050   1G1ZD5ST4JF250669   GM           CRUZE                SAN FRANCISCO            CA
24051   1G1ZD5ST4JF250834   GM           CRUZE                SACRAMENTO               CA
24052   1G1ZD5ST4JF250879   GM           CRUZE                NEW BERN                 NC
24053   1G1ZD5ST4JF250882   GM           CRUZE                BOSTON                   MA
24054   1G1ZD5ST4JF251305   GM           CRUZE                Riverside                CA
24055   1G1ZD5ST4JF251370   GM           CRUZE                CHARLOTTE                NC
24056   1G1ZD5ST4JF251482   GM           CRUZE                BISMARCK                 ND
24057   1G1ZD5ST4JF251711   GM           CRUZE                FORT MYERS               FL
24058   1G1ZD5ST4JF251935   GM           CRUZE                SOUTHWEST DEALER D       TX
24059   1G1ZD5ST4JF252308   GM           CRUZE                GLEN BURNIE              MD
24060   1G1ZD5ST4JF252471   GM           CRUZE                FORT LAUDERDALE          FL
24061   1G1ZD5ST4JF252678   GM           CRUZE                DURYEA                   PA
24062   1G1ZD5ST4JF252969   GM           CRUZE                Atlanta                  GA
24063   1G1ZD5ST4JF253054   GM           CRUZE                Statesville              NC
24064   1G1ZD5ST4JF253118   GM           CRUZE                DES PLAINES              IL
24065   1G1ZD5ST4JF253197   GM           CRUZE                ORLANDO                  FL
24066   1G1ZD5ST4JF253233   GM           CRUZE                CLEVELAND                OH
24067   1G1ZD5ST4JF253457   GM           CRUZE                SARASOTA                 FL
24068   1G1ZD5ST4JF253569   GM           CRUZE                Hamilton                 OH
24069   1G1ZD5ST4JF253717   GM           CRUZE                SAN DIEGO                CA
24070   1G1ZD5ST4JF253877   GM           CRUZE                NEW ENGLAND DEALER       MA
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24071   1G1ZD5ST4JF253944   GM           CRUZE                PHOENIX                  AZ
24072   1G1ZD5ST4JF254110   GM           CRUZE                LOS ANGELES              CA
24073   1G1ZD5ST4JF254415   GM           CRUZE                AUSTIN                   TX
24074   1G1ZD5ST4JF254706   GM           CRUZE                FRESNO                   CA
24075   1G1ZD5ST4JF254737   GM           CRUZE                San Antonio              TX
24076   1G1ZD5ST4JF254771   GM           CRUZE                SAN DIEGO                CA
24077   1G1ZD5ST4JF254818   GM           CRUZE                CHICAGO                  IL
24078   1G1ZD5ST4JF254981   GM           CRUZE                Hebron                   KY
24079   1G1ZD5ST4JF255046   GM           CRUZE                SACRAMENTO               CA
24080   1G1ZD5ST4JF255130   GM           CRUZE                Portland                 OR
24081   1G1ZD5ST4JF255287   GM           CRUZE                North Las Vegas          NV
24082   1G1ZD5ST4JF255449   GM           CRUZE                BURBANK                  CA
24083   1G1ZD5ST4JF255483   GM           CRUZE                STERLING                 VA
24084   1G1ZD5ST4JF255578   GM           CRUZE                BOSTON                   MA
24085   1G1ZD5ST4JF255743   GM           CRUZE                Burien                   WA
24086   1G1ZD5ST4JF256004   GM           CRUZE                Miami                    FL
24087   1G1ZD5ST4JF256102   GM           CRUZE                SAN JOSE                 CA
24088   1G1ZD5ST4JF256312   GM           CRUZE                Elkridge                 MD
24089   1G1ZD5ST4JF256410   GM           CRUZE                BURBANK                  CA
24090   1G1ZD5ST4JF256570   GM           CRUZE                TAMPA                    FL
24091   1G1ZD5ST4JF256617   GM           CRUZE                DENVER                   CO
24092   1G1ZD5ST4JF257041   GM           CRUZE                NORTH PAC                CA
24093   1G1ZD5ST4JF257198   GM           CRUZE                TAMPA                    FL
24094   1G1ZD5ST4JF257279   GM           CRUZE                Winter Park              FL
24095   1G1ZD5ST4JF257413   GM           CRUZE                Caledonia                WI
24096   1G1ZD5ST4JF257508   GM           CRUZE                SAN JOSE                 CA
24097   1G1ZD5ST4JF257590   GM           CRUZE                DENVER                   CO
24098   1G1ZD5ST4JF257640   GM           CRUZE                NEW ENGLAND DEALER       MA
24099   1G1ZD5ST4JF257671   GM           CRUZE                SOUTHEAST DST OFFC       OK
24100   1G1ZD5ST4JF257699   GM           CRUZE                BURBANK                  CA
24101   1G1ZD5ST4JF257864   GM           CRUZE                PHOENIX                  AZ
24102   1G1ZD5ST4JF258044   GM           CRUZE                SACRAMENTO               CA
24103   1G1ZD5ST4JF258139   GM           CRUZE                LOS ANGELES              CA
24104   1G1ZD5ST4JF258190   GM           CRUZE                DAYTONA BEACH            FL
24105   1G1ZD5ST4JF258657   GM           CRUZE                Phoenix                  AZ
24106   1G1ZD5ST4JF258710   GM           CRUZE                Santa Clara              CA
24107   1G1ZD5ST4JF258836   GM           CRUZE                Sacramento               CA
24108   1G1ZD5ST4JF259162   GM           CRUZE                NORTH PAC                CA
24109   1G1ZD5ST4JF259419   GM           CRUZE                North Las Vegas          NV
24110   1G1ZD5ST4JF259422   GM           CRUZE                NORTH PAC                CA
24111   1G1ZD5ST4JF259503   GM           CRUZE                PHOENIX                  AZ
24112   1G1ZD5ST4JF259792   GM           CRUZE                SAN DIEGO                CA
24113   1G1ZD5ST4JF259839   GM           CRUZE                OKLAHOMA CITY            OK
24114   1G1ZD5ST4JF260070   GM           CRUZE                SAN FRANCISCO            CA
24115   1G1ZD5ST4JF260151   GM           CRUZE                BURBANK                  CA
24116   1G1ZD5ST4JF260277   GM           CRUZE                PHOENIX                  AZ
24117   1G1ZD5ST4JF261087   GM           CRUZE                LOS ANGELES              CA
24118   1G1ZD5ST4JF261817   GM           CRUZE                EL PASO                  TX
24119   1G1ZD5ST4JF262515   GM           CRUZE                Euless                   TX
24120   1G1ZD5ST4JF262577   GM           CRUZE                SARASOTA                 FL
24121   1G1ZD5ST4JF262627   GM           CRUZE                ALBANY                   NY
24122   1G1ZD5ST4JF262871   GM           CRUZE                Scottsdale               AZ
24123   1G1ZD5ST4JF263034   GM           CRUZE                JAMAICA                  NY
24124   1G1ZD5ST4JF263244   GM           CRUZE                SAN FRANCISCO            CA
24125   1G1ZD5ST4JF263342   GM           CRUZE                STERLING                 VA
24126   1G1ZD5ST4JF263518   GM           CRUZE                NORTH PAC                CA
24127   1G1ZD5ST4JF263695   GM           CRUZE                DES MOINES               IA
24128   1G1ZD5ST4JF263700   GM           CRUZE                Santa Clara              CA
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24129   1G1ZD5ST4JF263759   GM           CRUZE                CHICAGO                  IL
24130   1G1ZD5ST4JF263972   GM           CRUZE                SEATAC                   WA
24131   1G1ZD5ST4JF264104   GM           CRUZE                Portland                 OR
24132   1G1ZD5ST4JF264264   GM           CRUZE                ST Paul                  MN
24133   1G1ZD5ST4JF264569   GM           CRUZE                Nashville                TN
24134   1G1ZD5ST4JF264667   GM           CRUZE                Ft. Myers                FL
24135   1G1ZD5ST4JF264829   GM           CRUZE                CHICAGO                  IL
24136   1G1ZD5ST4JF264877   GM           CRUZE                NOTTINGHAM               MD
24137   1G1ZD5ST4JF264930   GM           CRUZE                Hebron                   KY
24138   1G1ZD5ST4JF265494   GM           CRUZE                Phoenix                  AZ
24139   1G1ZD5ST4JF265558   GM           CRUZE                Newark                   NJ
24140   1G1ZD5ST4JF265589   GM           CRUZE                Chandler                 AZ
24141   1G1ZD5ST4JF265947   GM           CRUZE                Maple Grove              MN
24142   1G1ZD5ST4JF266273   GM           CRUZE                WEST PALM BEACH          FL
24143   1G1ZD5ST4JF266645   GM           CRUZE                Slidell                  LA
24144   1G1ZD5ST4JF266841   GM           CRUZE                Atlanta                  GA
24145   1G1ZD5ST4JF266984   GM           CRUZE                San Antonio              TX
24146   1G1ZD5ST4JF267357   GM           CRUZE                HANOVER                  MD
24147   1G1ZD5ST4JF267472   GM           CRUZE                LOS ANGELES              CA
24148   1G1ZD5ST4JF267682   GM           CRUZE                ORLANDO                  FL
24149   1G1ZD5ST4JF267780   GM           CRUZE                LAS VEGAS                NV
24150   1G1ZD5ST4JF268220   GM           CRUZE                Plainfield               IN
24151   1G1ZD5ST4JF268413   GM           CRUZE                MINNEAPOLIS              MN
24152   1G1ZD5ST4JF268797   GM           CRUZE                Atlanta                  GA
24153   1G1ZD5ST4JF268802   GM           CRUZE                Bridgeton                MO
24154   1G1ZD5ST4JF268881   GM           CRUZE                BOSTON                   MA
24155   1G1ZD5ST4JF268962   GM           CRUZE                NORTH PAC                CA
24156   1G1ZD5ST4JF269688   GM           CRUZE                MIAMI                    FL
24157   1G1ZD5ST4JF269710   GM           CRUZE                SAN ANTONIO              TX
24158   1G1ZD5ST4JF269805   GM           CRUZE                CLEVELAND                OH
24159   1G1ZD5ST4JF270260   GM           CRUZE                RICHMOND                 VA
24160   1G1ZD5ST4JF270792   GM           CRUZE                Burien                   WA
24161   1G1ZD5ST4JF270808   GM           CRUZE                SOUTHEAST DST OFFC       OK
24162   1G1ZD5ST4JF270825   GM           CRUZE                SAN FRANCISCO            CA
24163   1G1ZD5ST4JF271263   GM           CRUZE                CHARLOTTE                NC
24164   1G1ZD5ST4JF271456   GM           CRUZE                OKLAHOMA CITY            OK
24165   1G1ZD5ST4JF271473   GM           CRUZE                WARWICK                  RI
24166   1G1ZD5ST4JF271828   GM           CRUZE                BURBANK                  CA
24167   1G1ZD5ST4JF271988   GM           CRUZE                SAN JOSE                 CA
24168   1G1ZD5ST4JF271991   GM           CRUZE                Hanover                  MD
24169   1G1ZD5ST4JF272008   GM           CRUZE                Riverside                CA
24170   1G1ZD5ST4JF272042   GM           CRUZE                Sanford                  FL
24171   1G1ZD5ST4JF272283   GM           CRUZE                NORTH HOLLYWOOD          CA
24172   1G1ZD5ST4JF272347   GM           CRUZE                TAMPA                    FL
24173   1G1ZD5ST4JF272610   GM           CRUZE                LOS ANGELES              CA
24174   1G1ZD5ST4JF272655   GM           CRUZE                SALT LAKE CITY           UT
24175   1G1ZD5ST4JF272686   GM           CRUZE                Davie                    FL
24176   1G1ZD5ST4JF272719   GM           CRUZE                NASHVILLE                TN
24177   1G1ZD5ST4JF273885   GM           CRUZE                Miami                    FL
24178   1G1ZD5ST4JF273952   GM           CRUZE                Salt Lake City           UT
24179   1G1ZD5ST4JF274096   GM           CRUZE                Portland                 OR
24180   1G1ZD5ST4JF274423   GM           CRUZE                RALEIGH                  NC
24181   1G1ZD5ST4JF274437   GM           CRUZE                Windsor Locks            CT
24182   1G1ZD5ST4JF274647   GM           CRUZE                Austell                  GA
24183   1G1ZD5ST4JF274731   GM           CRUZE                Bensalem                 PA
24184   1G1ZD5ST4JF274874   GM           CRUZE                CHICAGO                  IL
24185   1G1ZD5ST4JF275166   GM           CRUZE                LOS ANGELES              CA
24186   1G1ZD5ST4JF275281   GM           CRUZE                Albuquerque              NM
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24187   1G1ZD5ST4JF275331   GM           CRUZE                NOTTINGHAM               MD
24188   1G1ZD5ST4JF275409   GM           CRUZE                SAN DIEGO                CA
24189   1G1ZD5ST4JF275412   GM           CRUZE                PALM SPRINGS             CA
24190   1G1ZD5ST4JF275541   GM           CRUZE                TAMPA                    FL
24191   1G1ZD5ST4JF275720   GM           CRUZE                DES MOINES               IA
24192   1G1ZD5ST4JF275877   GM           CRUZE                FORT MYERS               FL
24193   1G1ZD5ST4JF275880   GM           CRUZE                Alexandria               VA
24194   1G1ZD5ST4JF275894   GM           CRUZE                Detroit                  MI
24195   1G1ZD5ST4JF275927   GM           CRUZE                LAS VEGAS                NV
24196   1G1ZD5ST4JF276043   GM           CRUZE                HOUSTON                  TX
24197   1G1ZD5ST4KF104127   GM           MALIBU               DALLAS                   TX
24198   1G1ZD5ST4KF104144   GM           MALIBU               COLLEGE PARK             GA
24199   1G1ZD5ST4KF104225   GM           MALIBU               Memphis                  TN
24200   1G1ZD5ST4KF104323   GM           MALIBU               DETROIT                  MI
24201   1G1ZD5ST4KF104368   GM           MALIBU               SAN DIEGO                US
24202   1G1ZD5ST4KF104452   GM           MALIBU               Atlanta                  GA
24203   1G1ZD5ST4KF104497   GM           MALIBU               Statesville              NC
24204   1G1ZD5ST4KF104693   GM           MALIBU               PHILADELPHIA             PA
24205   1G1ZD5ST4KF104712   GM           MALIBU               FORT MYERS               FL
24206   1G1ZD5ST4KF104760   GM           MALIBU               DALLAS                   TX
24207   1G1ZD5ST4KF105021   GM           MALIBU               Santa Clara              CA
24208   1G1ZD5ST4KF105102   GM           MALIBU               COLUMBUS                 OH
24209   1G1ZD5ST4KF105195   GM           MALIBU               STATESBORO               GA
24210   1G1ZD5ST4KF105200   GM           MALIBU               RALEIGH                  NC
24211   1G1ZD5ST4KF105259   GM           MALIBU               STERLING                 VA
24212   1G1ZD5ST4KF105262   GM           MALIBU               TAMPA                    FL
24213   1G1ZD5ST4KF105357   GM           MALIBU               GREENVILLE               NC
24214   1G1ZD5ST4KF105455   GM           MALIBU               Cleveland                OH
24215   1G1ZD5ST4KF105505   GM           MALIBU               LITTLE ROCK              AR
24216   1G1ZD5ST4KF105746   GM           MALIBU               MIAMI                    FL
24217   1G1ZD5ST4KF105763   GM           MALIBU               MIAMI                    FL
24218   1G1ZD5ST4KF105780   GM           MALIBU               Tampa                    FL
24219   1G1ZD5ST4KF106279   GM           MALIBU               TAMPA                    FL
24220   1G1ZD5ST4KF106492   GM           MALIBU               GRAND RAPIDS             MI
24221   1G1ZD5ST4KF106542   GM           MALIBU               Warr Acres               OK
24222   1G1ZD5ST4KF106590   GM           MALIBU               North Dighton            MA
24223   1G1ZD5ST4KF106752   GM           MALIBU               ORLANDO                  FL
24224   1G1ZD5ST4KF107156   GM           MALIBU               MIAMI                    FL
24225   1G1ZD5ST4KF107223   GM           MALIBU               WARWICK                  RI
24226   1G1ZD5ST4KF107240   GM           MALIBU               ROSEVILLE                CA
24227   1G1ZD5ST4KF107495   GM           MALIBU               TAMPA                    FL
24228   1G1ZD5ST4KF107724   GM           MALIBU               SANTA ANA                CA
24229   1G1ZD5ST4KF107772   GM           MALIBU               Hayward                  CA
24230   1G1ZD5ST4KF107898   GM           MALIBU               CLEVELAND                OH
24231   1G1ZD5ST4KF108517   GM           MALIBU               PHOENIX                  AZ
24232   1G1ZD5ST4KF108565   GM           MALIBU               PALM SPRINGS             CA
24233   1G1ZD5ST4KF108646   GM           MALIBU               LAS VEGAS                NV
24234   1G1ZD5ST4KF108680   GM           MALIBU               DENVER                   CO
24235   1G1ZD5ST4KF108775   GM           MALIBU               Arlington                WA
24236   1G1ZD5ST4KF109179   GM           MALIBU               Santa Clara              CA
24237   1G1ZD5ST4KF110073   GM           MALIBU               ORLANDO                  FL
24238   1G1ZD5ST4KF110252   GM           MALIBU               SANTA ANA                CA
24239   1G1ZD5ST4KF111028   GM           MALIBU               DALLAS                   TX
24240   1G1ZD5ST4KF111241   GM           MALIBU               WEST PALM BEACH          FL
24241   1G1ZD5ST4KF111353   GM           MALIBU               WEST PALM BEACH          FL
24242   1G1ZD5ST4KF111563   GM           MALIBU               CHICAGO                  IL
24243   1G1ZD5ST4KF111630   GM           MALIBU               Omaha                    NE
24244   1G1ZD5ST4KF111644   GM           MALIBU               ATLANTA                  GA
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24245   1G1ZD5ST4KF111935   GM           MALIBU               CLEVELAND                    OH
24246   1G1ZD5ST4KF111997   GM           MALIBU               FORT MYERS                   FL
24247   1G1ZD5ST4KF112082   GM           MALIBU               CHICAGO                      IL
24248   1G1ZD5ST4KF112325   GM           MALIBU               Fredericksburg               VA
24249   1G1ZD5ST4KF112695   GM           MALIBU               TAMPA                        US
24250   1G1ZD5ST4KF112843   GM           MALIBU               KENNER                       LA
24251   1G1ZD5ST4KF112969   GM           MALIBU               CORAL SPRINGS                FL
24252   1G1ZD5ST4KF113166   GM           MALIBU               KANSAS CITY                  MO
24253   1G1ZD5ST4KF113328   GM           MALIBU               ORLANDO                      FL
24254   1G1ZD5ST4KF113426   GM           MALIBU               Houston                      TX
24255   1G1ZD5ST4KF113717   GM           MALIBU               SAINT LOUIS                  MO
24256   1G1ZD5ST4KF113796   GM           MALIBU               Phoenix                      AZ
24257   1G1ZD5ST4KF113944   GM           MALIBU               WEST COLUMBIA                SC
24258   1G1ZD5ST4KF114124   GM           MALIBU               Miami                        FL
24259   1G1ZD5ST4KF114365   GM           MALIBU               FORT MYERS                   FL
24260   1G1ZD5ST4KF114396   GM           MALIBU               COLUMBIA                     SC
24261   1G1ZD5ST4KF114589   GM           MALIBU               ORLANDO                      FL
24262   1G1ZD5ST4KF114673   GM           MALIBU               SAINT LOUIS                  MO
24263   1G1ZD5ST4KF114950   GM           MALIBU               SANTA ANA                    CA
24264   1G1ZD5ST4KF115063   GM           MALIBU               WASHINGTON DC, NATIONAL AP   DC
24265   1G1ZD5ST4KF115273   GM           MALIBU               KNOXVILLE                    TN
24266   1G1ZD5ST4KF115791   GM           MALIBU               SANTA ANA                    CA
24267   1G1ZD5ST4KF115953   GM           MALIBU               DALLAS                       TX
24268   1G1ZD5ST4KF115970   GM           MALIBU               SEATTLE                      WA
24269   1G1ZD5ST4KF116259   GM           MALIBU               KNOXVILLE                    TN
24270   1G1ZD5ST4KF116357   GM           MALIBU               CLEVELAND                    OH
24271   1G1ZD5ST4KF116505   GM           MALIBU               Atlanta                      GA
24272   1G1ZD5ST4KF116942   GM           MALIBU               ORLANDO                      FL
24273   1G1ZD5ST4KF116956   GM           MALIBU               BIRMINGHAM                   AL
24274   1G1ZD5ST4KF116990   GM           MALIBU               Teterboro                    NJ
24275   1G1ZD5ST4KF117430   GM           MALIBU               TAMPA                        US
24276   1G1ZD5ST4KF117475   GM           MALIBU               NEW BERN                     NC
24277   1G1ZD5ST4KF117508   GM           MALIBU               CLEVELAND                    OH
24278   1G1ZD5ST4KF117587   GM           MALIBU               FORT LAUDERDALE              FL
24279   1G1ZD5ST4KF118089   GM           MALIBU               TAMPA                        FL
24280   1G1ZD5ST4KF118321   GM           MALIBU               DALLAS                       TX
24281   1G1ZD5ST4KF118481   GM           MALIBU               ORLANDO                      FL
24282   1G1ZD5ST4KF118660   GM           MALIBU               ATLANTA                      GA
24283   1G1ZD5ST4KF119257   GM           MALIBU               AUSTIN                       TX
24284   1G1ZD5ST4KF119811   GM           MALIBU               Manheim                      PA
24285   1G1ZD5ST4KF120621   GM           MALIBU               Stockton                     CA
24286   1G1ZD5ST4KF120862   GM           MALIBU               LAS VEGAS                    NV
24287   1G1ZD5ST4KF122689   GM           MALIBU               FORT MYERS                   FL
24288   1G1ZD5ST4KF123793   GM           MALIBU               ORLANDO                      FL
24289   1G1ZD5ST4KF124054   GM           MALIBU               Maple Grove                  MN
24290   1G1ZD5ST4KF124099   GM           MALIBU               LOUISVILLE                   KY
24291   1G1ZD5ST4KF124135   GM           MALIBU               MIAMI                        FL
24292   1G1ZD5ST4KF124152   GM           MALIBU               COLUMBUS                     OH
24293   1G1ZD5ST4KF124765   GM           MALIBU               TAMPA                        FL
24294   1G1ZD5ST4KF125236   GM           MALIBU               WEST PALM BEACH              FL
24295   1G1ZD5ST4KF125334   GM           MALIBU               GREENVILLE                   NC
24296   1G1ZD5ST4KF125446   GM           MALIBU               SARASOTA                     FL
24297   1G1ZD5ST4KF125544   GM           MALIBU               Atlanta                      GA
24298   1G1ZD5ST4KF125608   GM           MALIBU               Riverside                    CA
24299   1G1ZD5ST4KF125981   GM           MALIBU               TULSA                        OK
24300   1G1ZD5ST4KF126158   GM           MALIBU               TAMPA                        FL
24301   1G1ZD5ST4KF126337   GM           MALIBU               LOS ANGELES                  CA
24302   1G1ZD5ST4KF126340   GM           MALIBU               ORLANDO                      FL
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24303   1G1ZD5ST4KF126502   GM           MALIBU               FORT MYERS               FL
24304   1G1ZD5ST4KF126550   GM           MALIBU               JACKSONVILLE             FL
24305   1G1ZD5ST4KF126709   GM           MALIBU               ORLANDO                  FL
24306   1G1ZD5ST4KF133482   GM           MALIBU               BURBANK                  CA
24307   1G1ZD5ST4KF133644   GM           MALIBU               SEATTLE                  WA
24308   1G1ZD5ST4KF133711   GM           MALIBU               TAMPA                    FL
24309   1G1ZD5ST4KF133806   GM           MALIBU               WEST PALM BEACH          FL
24310   1G1ZD5ST4KF134406   GM           MALIBU               DALLAS                   TX
24311   1G1ZD5ST4KF134437   GM           MALIBU               Tolleson                 AZ
24312   1G1ZD5ST4KF134597   GM           MALIBU               SANTA ANA                CA
24313   1G1ZD5ST4KF134664   GM           MALIBU               SOUTHEAST DST OFFC       OK
24314   1G1ZD5ST4KF134762   GM           MALIBU               Manheim                  PA
24315   1G1ZD5ST4KF134809   GM           MALIBU               WHITE PLAINS             NY
24316   1G1ZD5ST4KF134969   GM           MALIBU               ATLANTA                  GA
24317   1G1ZD5ST4KF135085   GM           MALIBU               ONTARIO                  CA
24318   1G1ZD5ST4KF135152   GM           MALIBU               WEST PALM BEACH          FL
24319   1G1ZD5ST4KF135250   GM           MALIBU               LOS ANGELES              CA
24320   1G1ZD5ST4KF135863   GM           MALIBU               Florissant               MO
24321   1G1ZD5ST4KF136155   GM           MALIBU               JACKSONVILLE             FL
24322   1G1ZD5ST4KF136284   GM           MALIBU               ORLANDO                  FL
24323   1G1ZD5ST4KF136334   GM           MALIBU               Houston                  TX
24324   1G1ZD5ST4KF136544   GM           MALIBU               Harvey                   LA
24325   1G1ZD5ST4KF137032   GM           MALIBU               FORT LAUDERDALE          FL
24326   1G1ZD5ST4KF137080   GM           MALIBU               TAMPA                    FL
24327   1G1ZD5ST4KF137127   GM           MALIBU               ORLANDO                  FL
24328   1G1ZD5ST4KF137595   GM           MALIBU               MIAMI                    FL
24329   1G1ZD5ST4KF137676   GM           MALIBU               TAMPA                    FL
24330   1G1ZD5ST4KF137712   GM           MALIBU               Jacksonville             FL
24331   1G1ZD5ST4KF137998   GM           MALIBU               JACKSONVILLE             FL
24332   1G1ZD5ST4KF138388   GM           MALIBU               Fredericksburg           VA
24333   1G1ZD5ST4KF138651   GM           MALIBU               Tampa                    FL
24334   1G1ZD5ST4KF138875   GM           MALIBU               TAMPA                    FL
24335   1G1ZD5ST4KF139198   GM           MALIBU               PHILADELPHIA             PA
24336   1G1ZD5ST4KF139220   GM           MALIBU               SCOTRUN                  US
24337   1G1ZD5ST4KF139413   GM           MALIBU               HOUSTON                  TX
24338   1G1ZD5ST4KF139542   GM           MALIBU               SAVANNAH                 GA
24339   1G1ZD5ST4KF154025   GM           MALIBU               FORT LAUDERDALE          FL
24340   1G1ZD5ST4KF154669   GM           MALIBU               CLEVELAND                OH
24341   1G1ZD5ST4KF155580   GM           MALIBU               Des Moines               IA
24342   1G1ZD5ST4KF155644   GM           MALIBU               TUCSON                   AZ
24343   1G1ZD5ST4KF155806   GM           MALIBU               FORT LAUDERDALE          FL
24344   1G1ZD5ST4KF155885   GM           MALIBU               TAMPA                    FL
24345   1G1ZD5ST4KF155921   GM           MALIBU               FORT MYERS               FL
24346   1G1ZD5ST4KF156454   GM           MALIBU               COLLEGE PARK             GA
24347   1G1ZD5ST4KF156602   GM           MALIBU               FORT MYERS               FL
24348   1G1ZD5ST4KF156907   GM           MALIBU               Austin                   TX
24349   1G1ZD5ST4KF157040   GM           MALIBU               Chicago                  IL
24350   1G1ZD5ST4KF157135   GM           MALIBU               Atlanta                  GA
24351   1G1ZD5ST4KF157474   GM           MALIBU               FORT MYERS               FL
24352   1G1ZD5ST4KF157684   GM           MALIBU               Hattiesburg              MS
24353   1G1ZD5ST4KF157877   GM           MALIBU               WEST PALM BEACH          FL
24354   1G1ZD5ST4KF158026   GM           MALIBU               Caledonia                WI
24355   1G1ZD5ST4KF158057   GM           MALIBU               WEST PALM BEACH          FL
24356   1G1ZD5ST4KF158110   GM           MALIBU               TALLASSEE                FL
24357   1G1ZD5ST4KF158236   GM           MALIBU               JACKSONVILLE             FL
24358   1G1ZD5ST4KF158494   GM           MALIBU               TAMPA                    FL
24359   1G1ZD5ST4KF158527   GM           MALIBU               Atlanta                  GA
24360   1G1ZD5ST4KF158608   GM           MALIBU               ORLANDO                  FL
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24361   1G1ZD5ST4KF158883   GM           MALIBU               WEST PALM BEACH          FL
24362   1G1ZD5ST4KF158995   GM           MALIBU               ORLANDO                  FL
24363   1G1ZD5ST4KF159001   GM           MALIBU               ORLANDO                  FL
24364   1G1ZD5ST4KF159029   GM           MALIBU               TAMPA                    FL
24365   1G1ZD5ST4KF159032   GM           MALIBU               Tolleson                 AZ
24366   1G1ZD5ST4KF159080   GM           MALIBU               Riverside                CA
24367   1G1ZD5ST4KF159211   GM           MALIBU               BURBANK                  CA
24368   1G1ZD5ST4KF159256   GM           MALIBU               ATLANTA                  GA
24369   1G1ZD5ST4KF159287   GM           MALIBU               ORLANDO                  FL
24370   1G1ZD5ST4KF159404   GM           MALIBU               FORT LAUDERDALE          FL
24371   1G1ZD5ST4KF159421   GM           MALIBU               WEST PALM BEACH          FL
24372   1G1ZD5ST4KF159497   GM           MALIBU               Stockton                 CA
24373   1G1ZD5ST4KF159578   GM           MALIBU               ORLANDO                  FL
24374   1G1ZD5ST4KF159595   GM           MALIBU               TAMPA                    FL
24375   1G1ZD5ST4KF159693   GM           MALIBU               Florissant               MO
24376   1G1ZD5ST4KF159757   GM           MALIBU               JACKSONVILLE             FL
24377   1G1ZD5ST4KF159760   GM           MALIBU               NEW BERN                 NC
24378   1G1ZD5ST4KF159970   GM           MALIBU               North Las Vegas          NV
24379   1G1ZD5ST4KF160083   GM           MALIBU               TAMPA                    FL
24380   1G1ZD5ST4KF160164   GM           MALIBU               ORLANDO                  FL
24381   1G1ZD5ST4KF160441   GM           MALIBU               WEST PALM BEACH          FL
24382   1G1ZD5ST4KF160505   GM           MALIBU               TAMPA                    US
24383   1G1ZD5ST4KF160598   GM           MALIBU               ORLANDO                  FL
24384   1G1ZD5ST4KF160858   GM           MALIBU               SCRANTON                 PA
24385   1G1ZD5ST4KF161069   GM           MALIBU               MIAMI                    FL
24386   1G1ZD5ST4KF161279   GM           MALIBU               Newark                   NJ
24387   1G1ZD5ST4KF161315   GM           MALIBU               FORT MYERS               FL
24388   1G1ZD5ST4KF161556   GM           MALIBU               TAMPA                    FL
24389   1G1ZD5ST4KF161637   GM           MALIBU               FORT MYERS               FL
24390   1G1ZD5ST4KF161704   GM           MALIBU               SANFORD                  FL
24391   1G1ZD5ST4KF161900   GM           MALIBU               ORLANDO                  FL
24392   1G1ZD5ST4KF162030   GM           MALIBU               MIAMI                    FL
24393   1G1ZD5ST4KF162108   GM           MALIBU               JACKSONVILLE             FL
24394   1G1ZD5ST4KF162139   GM           MALIBU               FORT MYERS               FL
24395   1G1ZD5ST4KF162271   GM           MALIBU               Ft Pierce                FL
24396   1G1ZD5ST4KF162481   GM           MALIBU               MIAMI                    FL
24397   1G1ZD5ST4KF162500   GM           MALIBU               MILWAUKEE                WI
24398   1G1ZD5ST4KF162545   GM           MALIBU               ORLANDO                  FL
24399   1G1ZD5ST4KF162562   GM           MALIBU               MIAMI                    FL
24400   1G1ZD5ST4KF162576   GM           MALIBU               ORLANDO                  FL
24401   1G1ZD5ST4KF162609   GM           MALIBU               JACKSONVILLE             FL
24402   1G1ZD5ST4KF162660   GM           MALIBU               ORLANDO                  FL
24403   1G1ZD5ST4KF162724   GM           MALIBU               JACKSONVILLE             FL
24404   1G1ZD5ST4KF162738   GM           MALIBU               FORT MYERS               FL
24405   1G1ZD5ST4KF162741   GM           MALIBU               FORT MYERS               FL
24406   1G1ZD5ST4KF162786   GM           MALIBU               SARASOTA                 FL
24407   1G1ZD5ST4KF162965   GM           MALIBU               ORLANDO                  FL
24408   1G1ZD5ST4KF163002   GM           MALIBU               SOUTHEAST DST OFFC       OK
24409   1G1ZD5ST4KF163016   GM           MALIBU               JACKSONVILLE             FL
24410   1G1ZD5ST4KF163047   GM           MALIBU               ORLANDO                  FL
24411   1G1ZD5ST4KF163176   GM           MALIBU               ORLANDO                  FL
24412   1G1ZD5ST4KF163226   GM           MALIBU               WEST PALM BEACH          FL
24413   1G1ZD5ST4KF163260   GM           MALIBU               Miami                    FL
24414   1G1ZD5ST4KF163341   GM           MALIBU               TAMPA                    FL
24415   1G1ZD5ST4KF163372   GM           MALIBU               TAMPA                    FL
24416   1G1ZD5ST4KF163498   GM           MALIBU               PHOENIX                  AZ
24417   1G1ZD5ST4KF163713   GM           MALIBU               Atlanta                  GA
24418   1G1ZD5ST4KF163758   GM           MALIBU               Hamilton                 OH
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24419   1G1ZD5ST4KF163761   GM           MALIBU               MEDINA                   OH
24420   1G1ZD5ST4KF163775   GM           MALIBU               WEST PALM BEACH          FL
24421   1G1ZD5ST4KF163789   GM           MALIBU               DANIA BEACH              FL
24422   1G1ZD5ST4KF163842   GM           MALIBU               ORLANDO                  FL
24423   1G1ZD5ST4KF163856   GM           MALIBU               Estero                   FL
24424   1G1ZD5ST4KF163890   GM           MALIBU               TAMPA                    FL
24425   1G1ZD5ST4KF163999   GM           MALIBU               ORLANDO                  FL
24426   1G1ZD5ST4KF164067   GM           MALIBU               TAMPA                    FL
24427   1G1ZD5ST4KF164070   GM           MALIBU               MIAMI                    FL
24428   1G1ZD5ST4KF164151   GM           MALIBU               TAMPA                    FL
24429   1G1ZD5ST4KF164246   GM           MALIBU               Jacksonville             FL
24430   1G1ZD5ST4KF164506   GM           MALIBU               ORLANDO                  FL
24431   1G1ZD5ST4KF164540   GM           MALIBU               Harvey                   LA
24432   1G1ZD5ST4KF164635   GM           MALIBU               Atlanta                  GA
24433   1G1ZD5ST4KF164666   GM           MALIBU               WEST PALM BEACH          FL
24434   1G1ZD5ST4KF164716   GM           MALIBU               TAMPA                    US
24435   1G1ZD5ST4KF164750   GM           MALIBU               Slidell                  LA
24436   1G1ZD5ST4KF164828   GM           MALIBU               Hanover                  MD
24437   1G1ZD5ST4KF164893   GM           MALIBU               ORLANDO                  FL
24438   1G1ZD5ST4KF165185   GM           MALIBU               Hamilton                 OH
24439   1G1ZD5ST4KF165235   GM           MALIBU               Maple Grove              MN
24440   1G1ZD5ST4KF165364   GM           MALIBU               FORT LAUDERDALE          FL
24441   1G1ZD5ST4KF165557   GM           MALIBU               CLARKSVILLE              IN
24442   1G1ZD5ST4KF165560   GM           MALIBU               TAMPA                    FL
24443   1G1ZD5ST4KF165669   GM           MALIBU               TAMPA                    FL
24444   1G1ZD5ST4KF165803   GM           MALIBU               TAMPA                    FL
24445   1G1ZD5ST4KF165882   GM           MALIBU               Hebron                   KY
24446   1G1ZD5ST4KF165915   GM           MALIBU               MIAMI                    FL
24447   1G1ZD5ST4KF166336   GM           MALIBU               St. Louis                MO
24448   1G1ZD5ST4KF166482   GM           MALIBU               Brighton                 CO
24449   1G1ZD5ST4KF166577   GM           MALIBU               JACKSONVILLE             FL
24450   1G1ZD5ST4KF166658   GM           MALIBU               Houston                  TX
24451   1G1ZD5ST4KF166661   GM           MALIBU               FORT LAUDERDALE          FL
24452   1G1ZD5ST4KF166756   GM           MALIBU               MIAMI                    FL
24453   1G1ZD5ST4KF166823   GM           MALIBU               TAMPA                    FL
24454   1G1ZD5ST4KF167194   GM           MALIBU               ORLANDO                  FL
24455   1G1ZD5ST4KF167549   GM           MALIBU               ORLANDO                  FL
24456   1G1ZD5ST4KF167552   GM           MALIBU               DENVER                   CO
24457   1G1ZD5ST4KF167583   GM           MALIBU               CHICAGO                  IL
24458   1G1ZD5ST4KF167616   GM           MALIBU               Portland                 OR
24459   1G1ZD5ST4KF167843   GM           MALIBU               Hayward                  CA
24460   1G1ZD5ST4KF167857   GM           MALIBU               FORT MYERS               FL
24461   1G1ZD5ST4KF168572   GM           MALIBU               ORLANDO                  FL
24462   1G1ZD5ST4KF168796   GM           MALIBU               ATLANTA                  GA
24463   1G1ZD5ST4KF168894   GM           MALIBU               JACKSON                  MS
24464   1G1ZD5ST4KF168927   GM           MALIBU               MIAMI                    FL
24465   1G1ZD5ST4KF169575   GM           MALIBU               ORLANDO                  FL
24466   1G1ZD5ST4KF170564   GM           MALIBU               TAMPA                    FL
24467   1G1ZD5ST4KF171584   GM           MALIBU               TAMPA                    FL
24468   1G1ZD5ST4KF171746   GM           MALIBU               MIAMI                    FL
24469   1G1ZD5ST4KF171813   GM           MALIBU               ORLANDO                  FL
24470   1G1ZD5ST4KF173500   GM           MALIBU               HOUSTON                  TX
24471   1G1ZD5ST4KF174064   GM           MALIBU               JACKSONVILLE             FL
24472   1G1ZD5ST4KF174579   GM           MALIBU               FORT LAUDERDALE          FL
24473   1G1ZD5ST4KF177059   GM           MALIBU               Austell                  GA
24474   1G1ZD5ST4KF177210   GM           MALIBU               PALM SPRINGS             CA
24475   1G1ZD5ST4KF178311   GM           MALIBU               Kansas City              MO
24476   1G1ZD5ST4KF178759   GM           MALIBU               SAN LEANDRO              CA
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24477   1G1ZD5ST4KF178907   GM           MALIBU               Atlanta                  GA
24478   1G1ZD5ST4KF179121   GM           MALIBU               Lebanon                  TN
24479   1G1ZD5ST4KF179863   GM           MALIBU               FORT LAUDERDALE          FL
24480   1G1ZD5ST4KF180219   GM           MALIBU               Little Rock              AR
24481   1G1ZD5ST4KF180558   GM           MALIBU               MEMPHIS                  TN
24482   1G1ZD5ST4KF182942   GM           MALIBU               SHREVEPORT               LA
24483   1G1ZD5ST4KF183248   GM           MALIBU               DAYTONA BEACH            FL
24484   1G1ZD5ST4KF183380   GM           MALIBU               Austin                   TX
24485   1G1ZD5ST4KF183508   GM           MALIBU               FORT LAUDERDALE          FL
24486   1G1ZD5ST4KF184125   GM           MALIBU               FAYETTEVILLE             GA
24487   1G1ZD5ST4KF185243   GM           MALIBU               ORLANDO                  FL
24488   1G1ZD5ST4KF186196   GM           MALIBU               Indianapolis             IN
24489   1G1ZD5ST4KF186280   GM           MALIBU               TAMPA                    FL
24490   1G1ZD5ST4KF186604   GM           MALIBU               DES MOINES               IA
24491   1G1ZD5ST4KF186845   GM           MALIBU               RALIEGH                  NC
24492   1G1ZD5ST4LF054668   GM           MALIBU               Jacksonville             FL
24493   1G1ZD5ST4LF057859   GM           MALIBU               LIHUE                    HI
24494   1G1ZD5ST4LF078176   GM           MALIBU               Tulsa                    OK
24495   1G1ZD5ST4LF094412   GM           MALIBU               Tulsa                    OK
24496   1G1ZD5ST4LF094426   GM           MALIBU               Tulsa                    OK
24497   1G1ZD5ST4LF094801   GM           MALIBU               Hurricane                WV
24498   1G1ZD5ST5JF121632   GM           CRUZE                Philadelphia             PA
24499   1G1ZD5ST5JF125342   GM           CRUZE                Richmond                 VA
24500   1G1ZD5ST5JF129262   GM           CRUZE                SANTA CLARA              CA
24501   1G1ZD5ST5JF131223   GM           CRUZE                N MIAMI BEACH            FL
24502   1G1ZD5ST5JF131321   GM           CRUZE                FT. LAUDERDALE           FL
24503   1G1ZD5ST5JF131559   GM           CRUZE                Fontana                  CA
24504   1G1ZD5ST5JF132906   GM           CRUZE                Tampa                    FL
24505   1G1ZD5ST5JF133456   GM           CRUZE                Tampa                    FL
24506   1G1ZD5ST5JF133571   GM           CRUZE                Rio Linda                CA
24507   1G1ZD5ST5JF133702   GM           CRUZE                NEW ORLEANS              LA
24508   1G1ZD5ST5JF133912   GM           CRUZE                NORTH PAC                CA
24509   1G1ZD5ST5JF134171   GM           CRUZE                Ventura                  CA
24510   1G1ZD5ST5JF134364   GM           CRUZE                CHICAGO                  IL
24511   1G1ZD5ST5JF134543   GM           CRUZE                SANTA ANA                CA
24512   1G1ZD5ST5JF135272   GM           CRUZE                OAKLAND                  CA
24513   1G1ZD5ST5JF135546   GM           CRUZE                NORTH PAC                CA
24514   1G1ZD5ST5JF135997   GM           CRUZE                BURBANK                  CA
24515   1G1ZD5ST5JF136129   GM           CRUZE                Ontario                  CA
24516   1G1ZD5ST5JF138060   GM           CRUZE                Mira Loma                CA
24517   1G1ZD5ST5JF138091   GM           CRUZE                CHICAGO                  IL
24518   1G1ZD5ST5JF138141   GM           CRUZE                BURBANK                  CA
24519   1G1ZD5ST5JF138396   GM           CRUZE                CHARLOTTE                NC
24520   1G1ZD5ST5JF138415   GM           CRUZE                SOUTH SAN FRANC          CA
24521   1G1ZD5ST5JF138673   GM           CRUZE                DALLAS                   TX
24522   1G1ZD5ST5JF138768   GM           CRUZE                BURBANK                  CA
24523   1G1ZD5ST5JF138821   GM           CRUZE                NORTH PAC                CA
24524   1G1ZD5ST5JF139063   GM           CRUZE                Kent                     WA
24525   1G1ZD5ST5JF139175   GM           CRUZE                HANOVER                  MD
24526   1G1ZD5ST5JF139354   GM           CRUZE                TRACY                    CA
24527   1G1ZD5ST5JF139516   GM           CRUZE                SOUTH SAN FRANCISO       CA
24528   1G1ZD5ST5JF139564   GM           CRUZE                SAN DIEGO                CA
24529   1G1ZD5ST5JF139631   GM           CRUZE                Dallas                   TX
24530   1G1ZD5ST5JF139886   GM           CRUZE                MIDDLE RIVER             MD
24531   1G1ZD5ST5JF140326   GM           CRUZE                Cleveland                OH
24532   1G1ZD5ST5JF140570   GM           CRUZE                FORT MYERS               FL
24533   1G1ZD5ST5JF140634   GM           CRUZE                Portland                 OR
24534   1G1ZD5ST5JF141024   GM           CRUZE                SACRAMENTO               CA
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24535   1G1ZD5ST5JF141217   GM           CRUZE                SAN JOSE                 CA
24536   1G1ZD5ST5JF141377   GM           CRUZE                Mira Loma                CA
24537   1G1ZD5ST5JF141590   GM           CRUZE                DAYTONA BEACH            FL
24538   1G1ZD5ST5JF142531   GM           CRUZE                HUMBLE                   TX
24539   1G1ZD5ST5JF142688   GM           CRUZE                Statesville              NC
24540   1G1ZD5ST5JF142853   GM           CRUZE                SAN DIEGO                CA
24541   1G1ZD5ST5JF143176   GM           CRUZE                HANOVER                  MD
24542   1G1ZD5ST5JF144053   GM           CRUZE                DES MOINES               IA
24543   1G1ZD5ST5JF144408   GM           CRUZE                Atlanta                  GA
24544   1G1ZD5ST5JF145977   GM           CRUZE                San Diego                CA
24545   1G1ZD5ST5JF146210   GM           CRUZE                Elkridge                 MD
24546   1G1ZD5ST5JF146546   GM           CRUZE                MARIETTA                 GA
24547   1G1ZD5ST5JF146711   GM           MALIBU               Davie                    FL
24548   1G1ZD5ST5JF147986   GM           CRUZE                DAYTONA BEACH            FL
24549   1G1ZD5ST5JF148331   GM           CRUZE                Hanover                  MD
24550   1G1ZD5ST5JF149060   GM           CRUZE                Manheim                  PA
24551   1G1ZD5ST5JF149527   GM           CRUZE                CHARLOTTE                NC
24552   1G1ZD5ST5JF149849   GM           CRUZE                Statesville              NC
24553   1G1ZD5ST5JF150029   GM           CRUZE                GLEN BURNIE              MD
24554   1G1ZD5ST5JF150371   GM           CRUZE                Caledonia                WI
24555   1G1ZD5ST5JF150547   GM           CRUZE                Pasadena                 CA
24556   1G1ZD5ST5JF150757   GM           CRUZE                Davie                    FL
24557   1G1ZD5ST5JF151018   GM           CRUZE                North Las Vegas          NV
24558   1G1ZD5ST5JF151312   GM           CRUZE                SALT LAKE CITY           UT
24559   1G1ZD5ST5JF151360   GM           CRUZE                NORTH PAC                CA
24560   1G1ZD5ST5JF153559   GM           CRUZE                PORTLAND                 OR
24561   1G1ZD5ST5JF153688   GM           CRUZE                ORLANDO                  FL
24562   1G1ZD5ST5JF154002   GM           CRUZE                CHICAGO                  IL
24563   1G1ZD5ST5JF154355   GM           CRUZE                Slidell                  LA
24564   1G1ZD5ST5JF154730   GM           CRUZE                CHICAGO                  IL
24565   1G1ZD5ST5JF155182   GM           CRUZE                BURBANK                  CA
24566   1G1ZD5ST5JF156140   GM           CRUZE                Los Angeles              CA
24567   1G1ZD5ST5JF156350   GM           CRUZE                NORTH PAC                CA
24568   1G1ZD5ST5JF156719   GM           CRUZE                CHICAGO                  IL
24569   1G1ZD5ST5JF157059   GM           CRUZE                NORTH PAC                CA
24570   1G1ZD5ST5JF157434   GM           CRUZE                LAS VEGAS                NV
24571   1G1ZD5ST5JF157742   GM           CRUZE                LAS VEGAS                NV
24572   1G1ZD5ST5JF157790   GM           CRUZE                BURBANK                  CA
24573   1G1ZD5ST5JF158082   GM           CRUZE                NEW ENGLAND DEALER       MA
24574   1G1ZD5ST5JF158275   GM           CRUZE                CHICAGO                  IL
24575   1G1ZD5ST5JF158809   GM           CRUZE                Aurora                   CO
24576   1G1ZD5ST5JF159653   GM           CRUZE                Warwick                  RI
24577   1G1ZD5ST5JF159670   GM           CRUZE                FAYETTEVILLE             GA
24578   1G1ZD5ST5JF159684   GM           CRUZE                Denver                   CO
24579   1G1ZD5ST5JF160477   GM           CRUZE                ORLANDO                  FL
24580   1G1ZD5ST5JF160608   GM           CRUZE                SARASOTA                 FL
24581   1G1ZD5ST5JF160611   GM           CRUZE                BURBANK                  CA
24582   1G1ZD5ST5JF161094   GM           CRUZE                FORT LAUDERDALE          FL
24583   1G1ZD5ST5JF167820   GM           CRUZE                Matteson                 IL
24584   1G1ZD5ST5JF168238   GM           CRUZE                Philadelphia             PA
24585   1G1ZD5ST5JF168708   GM           MALIBU               Tampa                    FL
24586   1G1ZD5ST5JF169034   GM           CRUZE                Portland                 OR
24587   1G1ZD5ST5JF170877   GM           MALIBU               WEST PALM BEACH          FL
24588   1G1ZD5ST5JF172094   GM           CRUZE                ORLANDO                  FL
24589   1G1ZD5ST5JF177859   GM           CRUZE                NOTTINGHAM               MD
24590   1G1ZD5ST5JF178011   GM           MALIBU               NEW ENGLAND DEALER       MA
24591   1G1ZD5ST5JF180728   GM           CRUZE                Charlotte                NC
24592   1G1ZD5ST5JF182477   GM           CRUZE                SEATAC                   WA
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24593   1G1ZD5ST5JF182575   GM           CRUZE                BURBANK                  CA
24594   1G1ZD5ST5JF183063   GM           CRUZE                North Dighton            MA
24595   1G1ZD5ST5JF183368   GM           CRUZE                Grove City               OH
24596   1G1ZD5ST5JF184083   GM           CRUZE                SAN LEANDRO              CA
24597   1G1ZD5ST5JF184097   GM           CRUZE                CLEVELAND                OH
24598   1G1ZD5ST5JF184875   GM           CRUZE                LOS ANGELES              CA
24599   1G1ZD5ST5JF185413   GM           CRUZE                SAN FRANCISCO            CA
24600   1G1ZD5ST5JF186934   GM           CRUZE                SANTA ANA                CA
24601   1G1ZD5ST5JF187436   GM           CRUZE                HILO                     HI
24602   1G1ZD5ST5JF200525   GM           CRUZE                BURBANK                  CA
24603   1G1ZD5ST5JF202887   GM           CRUZE                Hayward                  CA
24604   1G1ZD5ST5JF204123   GM           CRUZE                WEST PALM BEACH          FL
24605   1G1ZD5ST5JF207202   GM           MALIBU               NORTH PAC                CA
24606   1G1ZD5ST5JF212352   GM           CRUZE                BURBANK                  CA
24607   1G1ZD5ST5JF215364   GM           CRUZE                LOS ANGELES AP           CA
24608   1G1ZD5ST5JF217874   GM           CRUZE                CHICAGO                  IL
24609   1G1ZD5ST5JF218264   GM           CRUZE                DAYTONA BEACH            FL
24610   1G1ZD5ST5JF219298   GM           CRUZE                Torrance                 CA
24611   1G1ZD5ST5JF219740   GM           CRUZE                MORROW                   GA
24612   1G1ZD5ST5JF220726   GM           CRUZE                Manheim                  PA
24613   1G1ZD5ST5JF221195   GM           CRUZE                Kent                     WA
24614   1G1ZD5ST5JF221245   GM           CRUZE                NEW ENGLAND DEALER       MA
24615   1G1ZD5ST5JF221861   GM           CRUZE                SOUTH BEND               IN
24616   1G1ZD5ST5JF222167   GM           CRUZE                Los Angeles              CA
24617   1G1ZD5ST5JF222623   GM           CRUZE                Baltimore                MD
24618   1G1ZD5ST5JF222895   GM           CRUZE                Warwick                  RI
24619   1G1ZD5ST5JF223495   GM           CRUZE                RICHMOND                 VA
24620   1G1ZD5ST5JF224372   GM           CRUZE                SAN DIEGO                CA
24621   1G1ZD5ST5JF224548   GM           CRUZE                ONTARIO                  CA
24622   1G1ZD5ST5JF224677   GM           CRUZE                Atlanta                  GA
24623   1G1ZD5ST5JF225036   GM           CRUZE                PHILADELPHIA             PA
24624   1G1ZD5ST5JF225330   GM           CRUZE                SHAKOPEE                 MN
24625   1G1ZD5ST5JF225473   GM           CRUZE                HANOVER                  MD
24626   1G1ZD5ST5JF226932   GM           CRUZE                COLLEGE PARK             GA
24627   1G1ZD5ST5JF227076   GM           CRUZE                SACRAMENTO               CA
24628   1G1ZD5ST5JF227546   GM           CRUZE                Tolleson                 AZ
24629   1G1ZD5ST5JF233153   GM           CRUZE                DES MOINES               IA
24630   1G1ZD5ST5JF233329   GM           CRUZE                Kent                     WA
24631   1G1ZD5ST5JF233606   GM           CRUZE                CLARKSVILLE              IN
24632   1G1ZD5ST5JF234836   GM           CRUZE                CLEVELAND                OH
24633   1G1ZD5ST5JF234996   GM           CRUZE                Massapequa               NY
24634   1G1ZD5ST5JF235064   GM           CRUZE                CHARLOTTE                NC
24635   1G1ZD5ST5JF236232   GM           CRUZE                Burien                   WA
24636   1G1ZD5ST5JF236327   GM           CRUZE                Santa Clara              CA
24637   1G1ZD5ST5JF236439   GM           CRUZE                San Diego                CA
24638   1G1ZD5ST5JF236599   GM           CRUZE                PHOENIX                  AZ
24639   1G1ZD5ST5JF236618   GM           CRUZE                Tampa                    FL
24640   1G1ZD5ST5JF236814   GM           CRUZE                BURBANK                  CA
24641   1G1ZD5ST5JF236876   GM           CRUZE                SAN FRANCISCO            CA
24642   1G1ZD5ST5JF237087   GM           CRUZE                Oakland                  CA
24643   1G1ZD5ST5JF237347   GM           CRUZE                COLUMBIA                 SC
24644   1G1ZD5ST5JF237350   GM           CRUZE                BURBANK                  CA
24645   1G1ZD5ST5JF237395   GM           CRUZE                SAN FRANCISCO            CA
24646   1G1ZD5ST5JF237414   GM           CRUZE                Norwalk                  CA
24647   1G1ZD5ST5JF237431   GM           CRUZE                LOS ANGELES              CA
24648   1G1ZD5ST5JF237476   GM           CRUZE                LOS ANGELES              CA
24649   1G1ZD5ST5JF237607   GM           CRUZE                NEW YORK CITY            NY
24650   1G1ZD5ST5JF237672   GM           CRUZE                Salt Lake City           UT
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24651   1G1ZD5ST5JF237798   GM           CRUZE                Ft. Myers                FL
24652   1G1ZD5ST5JF237803   GM           CRUZE                BURBANK                  CA
24653   1G1ZD5ST5JF237929   GM           CRUZE                SAN JOSE                 CA
24654   1G1ZD5ST5JF238174   GM           CRUZE                ROSEVILLE                CA
24655   1G1ZD5ST5JF238210   GM           CRUZE                Burien                   WA
24656   1G1ZD5ST5JF238336   GM           CRUZE                Warminster               PA
24657   1G1ZD5ST5JF238417   GM           CRUZE                Rio Linda                CA
24658   1G1ZD5ST5JF238420   GM           CRUZE                Hayward                  CA
24659   1G1ZD5ST5JF238451   GM           CRUZE                San Diego                CA
24660   1G1ZD5ST5JF238532   GM           CRUZE                PHOENIX                  AZ
24661   1G1ZD5ST5JF238725   GM           CRUZE                Parkville                MD
24662   1G1ZD5ST5JF238739   GM           CRUZE                Coraopolis               PA
24663   1G1ZD5ST5JF239177   GM           CRUZE                DES PLAINES              IL
24664   1G1ZD5ST5JF239342   GM           CRUZE                Fresno                   CA
24665   1G1ZD5ST5JF239373   GM           CRUZE                BURBANK                  CA
24666   1G1ZD5ST5JF239678   GM           CRUZE                CHICAGO                  IL
24667   1G1ZD5ST5JF239938   GM           CRUZE                SAN DIEGO                CA
24668   1G1ZD5ST5JF240037   GM           CRUZE                BURBANK                  CA
24669   1G1ZD5ST5JF240118   GM           CRUZE                Statesville              NC
24670   1G1ZD5ST5JF240135   GM           CRUZE                KNOXVILLE                TN
24671   1G1ZD5ST5JF240183   GM           CRUZE                LOS ANGELES AP           CA
24672   1G1ZD5ST5JF240717   GM           CRUZE                BURBANK                  CA
24673   1G1ZD5ST5JF240863   GM           CRUZE                MIAMI                    FL
24674   1G1ZD5ST5JF241107   GM           CRUZE                FLORIDA DEALER DIR       FL
24675   1G1ZD5ST5JF241348   GM           CRUZE                NORTH PAC                CA
24676   1G1ZD5ST5JF241463   GM           CRUZE                FORT MYERS               FL
24677   1G1ZD5ST5JF241706   GM           CRUZE                INDIANAPOLIS             IN
24678   1G1ZD5ST5JF241799   GM           CRUZE                Atlanta                  GA
24679   1G1ZD5ST5JF242029   GM           CRUZE                BALTIMORE                MD
24680   1G1ZD5ST5JF242242   GM           CRUZE                DETROIT                  MI
24681   1G1ZD5ST5JF242452   GM           CRUZE                Austell                  GA
24682   1G1ZD5ST5JF242497   GM           CRUZE                Atlanta                  GA
24683   1G1ZD5ST5JF242600   GM           CRUZE                BOSTON                   MA
24684   1G1ZD5ST5JF242838   GM           CRUZE                CLEVELAND                OH
24685   1G1ZD5ST5JF242936   GM           CRUZE                PHILADELPHIA             PA
24686   1G1ZD5ST5JF243066   GM           CRUZE                Cleveland                OH
24687   1G1ZD5ST5JF243410   GM           CRUZE                NEW BERN                 NC
24688   1G1ZD5ST5JF243486   GM           CRUZE                INDIANAPOLIS             IN
24689   1G1ZD5ST5JF243519   GM           CRUZE                WARWICK                  RI
24690   1G1ZD5ST5JF243522   GM           CRUZE                Newark                   NJ
24691   1G1ZD5ST5JF243648   GM           CRUZE                SAN FRANCISCO            CA
24692   1G1ZD5ST5JF243777   GM           CRUZE                ORLANDO                  FL
24693   1G1ZD5ST5JF243780   GM           CRUZE                SAN JOSE                 CA
24694   1G1ZD5ST5JF244007   GM           CRUZE                SPRINGFIELD              VA
24695   1G1ZD5ST5JF244170   GM           CRUZE                BURBANK                  CA
24696   1G1ZD5ST5JF244346   GM           CRUZE                REDDING                  CA
24697   1G1ZD5ST5JF244413   GM           CRUZE                Ft. Myers                FL
24698   1G1ZD5ST5JF244671   GM           CRUZE                FT. LAUDERDALE           FL
24699   1G1ZD5ST5JF244704   GM           CRUZE                PHILADELPHIA             PA
24700   1G1ZD5ST5JF244878   GM           CRUZE                CHARLOTTE                US
24701   1G1ZD5ST5JF244928   GM           CRUZE                CHICAGO                  IL
24702   1G1ZD5ST5JF245111   GM           CRUZE                Florissant               MO
24703   1G1ZD5ST5JF245125   GM           CRUZE                LAS VEGAS                NV
24704   1G1ZD5ST5JF245206   GM           CRUZE                NEW ENGLAND DEALER       MA
24705   1G1ZD5ST5JF245223   GM           CRUZE                DETROIT                  MI
24706   1G1ZD5ST5JF245271   GM           CRUZE                ORLANDO                  FL
24707   1G1ZD5ST5JF245285   GM           CRUZE                ORLANDO                  FL
24708   1G1ZD5ST5JF245447   GM           CRUZE                ONTARIO, RIVERSIDE       CA
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24709   1G1ZD5ST5JF245464   GM           CRUZE                CHARLOTTE                NC
24710   1G1ZD5ST5JF245500   GM           CRUZE                Cedar Rapids             IA
24711   1G1ZD5ST5JF245528   GM           CRUZE                Ventura                  CA
24712   1G1ZD5ST5JF245609   GM           CRUZE                LAS VEGAS                NV
24713   1G1ZD5ST5JF245612   GM           CRUZE                North Las Vegas          NV
24714   1G1ZD5ST5JF245674   GM           CRUZE                Riverside                CA
24715   1G1ZD5ST5JF245724   GM           CRUZE                North Dighton            MA
24716   1G1ZD5ST5JF245870   GM           CRUZE                ST PAUL                  MN
24717   1G1ZD5ST5JF246050   GM           CRUZE                RICHMOND                 VA
24718   1G1ZD5ST5JF246162   GM           CRUZE                SAN LEANDRO              CA
24719   1G1ZD5ST5JF246243   GM           CRUZE                PHILADELPHIA             PA
24720   1G1ZD5ST5JF246257   GM           CRUZE                CHICAGO                  IL
24721   1G1ZD5ST5JF246372   GM           CRUZE                Detroit                  MI
24722   1G1ZD5ST5JF246422   GM           CRUZE                Maple Grove              MN
24723   1G1ZD5ST5JF246467   GM           CRUZE                LOS ANGELES              CA
24724   1G1ZD5ST5JF246503   GM           CRUZE                Hebron                   KY
24725   1G1ZD5ST5JF246520   GM           CRUZE                ROSEVILLE                CA
24726   1G1ZD5ST5JF246551   GM           CRUZE                BALDWIN                  NY
24727   1G1ZD5ST5JF246677   GM           CRUZE                GREENSBORO               NC
24728   1G1ZD5ST5JF246680   GM           CRUZE                FAYETTEVILLE             GA
24729   1G1ZD5ST5JF246727   GM           CRUZE                CLEVELAND                OH
24730   1G1ZD5ST5JF246856   GM           CRUZE                FORT LAUDERDALE          FL
24731   1G1ZD5ST5JF246940   GM           CRUZE                FORT LAUDERDALE          FL
24732   1G1ZD5ST5JF247022   GM           CRUZE                Richmond                 VA
24733   1G1ZD5ST5JF247084   GM           CRUZE                CHICAGO                  IL
24734   1G1ZD5ST5JF247120   GM           CRUZE                FORT MYERS               FL
24735   1G1ZD5ST5JF247554   GM           CRUZE                ORLANDO                  FL
24736   1G1ZD5ST5JF247585   GM           CRUZE                Orlando                  FL
24737   1G1ZD5ST5JF247618   GM           CRUZE                BURBANK                  CA
24738   1G1ZD5ST5JF247697   GM           CRUZE                Springfield              MO
24739   1G1ZD5ST5JF247747   GM           CRUZE                Manheim                  PA
24740   1G1ZD5ST5JF247781   GM           CRUZE                MELROSE PARK             IL
24741   1G1ZD5ST5JF247876   GM           CRUZE                SAN JOSE                 CA
24742   1G1ZD5ST5JF247893   GM           CRUZE                Ft. Myers                FL
24743   1G1ZD5ST5JF247909   GM           CRUZE                Atlanta                  GA
24744   1G1ZD5ST5JF248008   GM           CRUZE                Tucson                   AZ
24745   1G1ZD5ST5JF248011   GM           CRUZE                Tolleson                 AZ
24746   1G1ZD5ST5JF248056   GM           CRUZE                CHICAGO                  IL
24747   1G1ZD5ST5JF248087   GM           CRUZE                Las Vegas                NV
24748   1G1ZD5ST5JF248171   GM           CRUZE                BURBANK                  CA
24749   1G1ZD5ST5JF248204   GM           CRUZE                NEW ENGLAND DEALER       MA
24750   1G1ZD5ST5JF248347   GM           CRUZE                Riverside                CA
24751   1G1ZD5ST5JF248445   GM           CRUZE                Burlingame               CA
24752   1G1ZD5ST5JF248512   GM           CRUZE                Caledonia                WI
24753   1G1ZD5ST5JF248705   GM           CRUZE                North Billerica          MA
24754   1G1ZD5ST5JF248753   GM           CRUZE                Tolleson                 AZ
24755   1G1ZD5ST5JF248798   GM           CRUZE                Manheim                  PA
24756   1G1ZD5ST5JF248817   GM           CRUZE                SANTA ANA                CA
24757   1G1ZD5ST5JF248915   GM           CRUZE                FORT MYERS               FL
24758   1G1ZD5ST5JF248932   GM           CRUZE                Miami                    FL
24759   1G1ZD5ST5JF248994   GM           CRUZE                SEATAC                   WA
24760   1G1ZD5ST5JF249093   GM           CRUZE                BURBANK                  CA
24761   1G1ZD5ST5JF249207   GM           CRUZE                Fredericksburg           VA
24762   1G1ZD5ST5JF249241   GM           CRUZE                CHICAGO                  IL
24763   1G1ZD5ST5JF249403   GM           CRUZE                Hamilton                 OH
24764   1G1ZD5ST5JF249448   GM           CRUZE                CHANDLER                 AZ
24765   1G1ZD5ST5JF249577   GM           CRUZE                NEWARK                   NJ
24766   1G1ZD5ST5JF249627   GM           CRUZE                TAMPA                    FL
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24767   1G1ZD5ST5JF249644   GM           CRUZE                PHOENIX                  AZ
24768   1G1ZD5ST5JF249787   GM           CRUZE                WEST PALM BEACH          FL
24769   1G1ZD5ST5JF249854   GM           CRUZE                BURBANK                  CA
24770   1G1ZD5ST5JF249899   GM           CRUZE                SAN JOSE                 CA
24771   1G1ZD5ST5JF249904   GM           CRUZE                Florissant               MO
24772   1G1ZD5ST5JF249918   GM           CRUZE                WEST PALM BEACH          FL
24773   1G1ZD5ST5JF249921   GM           CRUZE                Matteson                 IL
24774   1G1ZD5ST5JF250101   GM           CRUZE                Des Moines               IA
24775   1G1ZD5ST5JF250177   GM           CRUZE                ORLANDO                  FL
24776   1G1ZD5ST5JF250194   GM           CRUZE                GRAND RAPIDS             MI
24777   1G1ZD5ST5JF250258   GM           CRUZE                FORT LAUDERDALE          FL
24778   1G1ZD5ST5JF250289   GM           CRUZE                BURBANK                  CA
24779   1G1ZD5ST5JF250292   GM           CRUZE                ORLANDO                  FL
24780   1G1ZD5ST5JF250325   GM           CRUZE                Hebron                   KY
24781   1G1ZD5ST5JF250356   GM           CRUZE                LOS ANGELES              CA
24782   1G1ZD5ST5JF250387   GM           CRUZE                ORLANDO                  FL
24783   1G1ZD5ST5JF250437   GM           CRUZE                Phoenix                  AZ
24784   1G1ZD5ST5JF250549   GM           CRUZE                Tolleson                 AZ
24785   1G1ZD5ST5JF250633   GM           CRUZE                ST Paul                  MN
24786   1G1ZD5ST5JF250650   GM           CRUZE                BOSTON                   MA
24787   1G1ZD5ST5JF250762   GM           CRUZE                DENVER                   CO
24788   1G1ZD5ST5JF250776   GM           CRUZE                BURBANK                  CA
24789   1G1ZD5ST5JF250924   GM           CRUZE                Elkridge                 MD
24790   1G1ZD5ST5JF251023   GM           CRUZE                Santa Clara              CA
24791   1G1ZD5ST5JF251068   GM           CRUZE                DENVER                   CO
24792   1G1ZD5ST5JF251183   GM           CRUZE                OAKLAND                  CA
24793   1G1ZD5ST5JF251569   GM           CRUZE                Hendersonville           TN
24794   1G1ZD5ST5JF251586   GM           CRUZE                Manheim                  PA
24795   1G1ZD5ST5JF251734   GM           CRUZE                Ocoee                    FL
24796   1G1ZD5ST5JF251796   GM           CRUZE                BURBANK                  CA
24797   1G1ZD5ST5JF251832   GM           CRUZE                TAMPA                    FL
24798   1G1ZD5ST5JF252009   GM           CRUZE                SAINT PAUL               MN
24799   1G1ZD5ST5JF252351   GM           CRUZE                Denver                   CO
24800   1G1ZD5ST5JF252415   GM           CRUZE                SACRAMENTO               CA
24801   1G1ZD5ST5JF252706   GM           CRUZE                Scottsdale               AZ
24802   1G1ZD5ST5JF252768   GM           CRUZE                AUSTIN                   TX
24803   1G1ZD5ST5JF252866   GM           CRUZE                North Dighton            MA
24804   1G1ZD5ST5JF252947   GM           CRUZE                Austin                   TX
24805   1G1ZD5ST5JF253080   GM           CRUZE                CHICAGO                  IL
24806   1G1ZD5ST5JF253113   GM           CRUZE                BOSTON                   MA
24807   1G1ZD5ST5JF253127   GM           CRUZE                TALLAHASSEE              FL
24808   1G1ZD5ST5JF253290   GM           CRUZE                SPRINGFIELD              VA
24809   1G1ZD5ST5JF253306   GM           CRUZE                Tampa                    FL
24810   1G1ZD5ST5JF253662   GM           CRUZE                NORTH PAC                CA
24811   1G1ZD5ST5JF253810   GM           CRUZE                Saint Paul               MN
24812   1G1ZD5ST5JF254102   GM           CRUZE                MIAMI                    FL
24813   1G1ZD5ST5JF254133   GM           CRUZE                INGLEWOOD                CA
24814   1G1ZD5ST5JF254214   GM           CRUZE                NEW ENGLAND DEALER       MA
24815   1G1ZD5ST5JF254262   GM           CRUZE                NEW ORLEANS              LA
24816   1G1ZD5ST5JF254505   GM           CRUZE                North Las Vegas          NV
24817   1G1ZD5ST5JF254522   GM           CRUZE                AURORA                   CO
24818   1G1ZD5ST5JF254570   GM           CRUZE                SAN JOSE                 CA
24819   1G1ZD5ST5JF254598   GM           CRUZE                SANTA ANA                CA
24820   1G1ZD5ST5JF254634   GM           CRUZE                SOUTHEAST DST OFFC       OK
24821   1G1ZD5ST5JF254701   GM           CRUZE                CHICAGO                  IL
24822   1G1ZD5ST5JF254889   GM           CRUZE                STERLING                 VA
24823   1G1ZD5ST5JF254939   GM           CRUZE                BURBANK                  CA
24824   1G1ZD5ST5JF254956   GM           CRUZE                ORLANDO                  FL
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24825   1G1ZD5ST5JF255136   GM           CRUZE                SAN DIEGO                US
24826   1G1ZD5ST5JF255332   GM           CRUZE                Salt Lake City           UT
24827   1G1ZD5ST5JF255590   GM           CRUZE                TAMPA                    FL
24828   1G1ZD5ST5JF255699   GM           CRUZE                Rio Linda                CA
24829   1G1ZD5ST5JF256058   GM           CRUZE                BURBANK                  CA
24830   1G1ZD5ST5JF256190   GM           CRUZE                DALLAS                   TX
24831   1G1ZD5ST5JF256271   GM           CRUZE                COLLEGE PARK             GA
24832   1G1ZD5ST5JF256416   GM           CRUZE                SAN BRUNO                CA
24833   1G1ZD5ST5JF256612   GM           CRUZE                PALM SPRINGS             CA
24834   1G1ZD5ST5JF256626   GM           CRUZE                Elkridge                 MD
24835   1G1ZD5ST5JF256674   GM           CRUZE                ORLANDO                  FL
24836   1G1ZD5ST5JF256741   GM           CRUZE                ONTARIO                  CA
24837   1G1ZD5ST5JF256819   GM           CRUZE                ORLANDO                  FL
24838   1G1ZD5ST5JF257260   GM           CRUZE                Birmingham               AL
24839   1G1ZD5ST5JF257288   GM           CRUZE                Denver                   CO
24840   1G1ZD5ST5JF257341   GM           CRUZE                Atlanta                  GA
24841   1G1ZD5ST5JF257369   GM           CRUZE                SMITHFIELD               NC
24842   1G1ZD5ST5JF257372   GM           CRUZE                SOUTHWEST DEALER D       TX
24843   1G1ZD5ST5JF257517   GM           CRUZE                BURBANK                  CA
24844   1G1ZD5ST5JF257579   GM           CRUZE                Phoenix                  AZ
24845   1G1ZD5ST5JF257601   GM           CRUZE                LAS VEGAS                NV
24846   1G1ZD5ST5JF257646   GM           CRUZE                CLEVELAND                OH
24847   1G1ZD5ST5JF257758   GM           CRUZE                Norwalk                  CA
24848   1G1ZD5ST5JF257890   GM           CRUZE                Burien                   WA
24849   1G1ZD5ST5JF257923   GM           CRUZE                Smithtown                NY
24850   1G1ZD5ST5JF259011   GM           CRUZE                Lake Elsinore            CA
24851   1G1ZD5ST5JF259509   GM           CRUZE                INGLEWOOD                CA
24852   1G1ZD5ST5JF259526   GM           CRUZE                Lake Elsinore            CA
24853   1G1ZD5ST5JF259784   GM           CRUZE                Lake Elsinore            CA
24854   1G1ZD5ST5JF260532   GM           CRUZE                Salt Lake City           UT
24855   1G1ZD5ST5JF260630   GM           CRUZE                NORTH HOLLYWOOD          CA
24856   1G1ZD5ST5JF260935   GM           CRUZE                SEATAC                   WA
24857   1G1ZD5ST5JF260997   GM           CRUZE                LOS ANGELES              CA
24858   1G1ZD5ST5JF261373   GM           CRUZE                BURBANK                  CA
24859   1G1ZD5ST5JF262491   GM           CRUZE                NORTH PAC                CA
24860   1G1ZD5ST5JF262541   GM           CRUZE                KENNER                   LA
24861   1G1ZD5ST5JF262703   GM           CRUZE                Rio Linda                CA
24862   1G1ZD5ST5JF263124   GM           CRUZE                BURBANK                  CA
24863   1G1ZD5ST5JF263303   GM           CRUZE                GREENSBORO               NC
24864   1G1ZD5ST5JF263480   GM           CRUZE                SAN JOSE                 CA
24865   1G1ZD5ST5JF263513   GM           CRUZE                ROSEVILLE                CA
24866   1G1ZD5ST5JF263527   GM           CRUZE                Santa Clara              CA
24867   1G1ZD5ST5JF263740   GM           CRUZE                PHOENIX                  AZ
24868   1G1ZD5ST5JF263771   GM           CRUZE                Tampa                    FL
24869   1G1ZD5ST5JF263978   GM           CRUZE                BOSTON                   MA
24870   1G1ZD5ST5JF263981   GM           CRUZE                PHILADELPHIA             PA
24871   1G1ZD5ST5JF264158   GM           CRUZE                Hayward                  CA
24872   1G1ZD5ST5JF264161   GM           CRUZE                Memphis                  TN
24873   1G1ZD5ST5JF264273   GM           CRUZE                TAMPA                    FL
24874   1G1ZD5ST5JF264354   GM           CRUZE                SAN ANTONIO              TX
24875   1G1ZD5ST5JF264418   GM           CRUZE                PLEASANTON               CA
24876   1G1ZD5ST5JF264614   GM           CRUZE                Las Vegas                NV
24877   1G1ZD5ST5JF264628   GM           CRUZE                Detroit                  MI
24878   1G1ZD5ST5JF264676   GM           CRUZE                Indianapolis             IN
24879   1G1ZD5ST5JF265049   GM           CRUZE                Beaverton                OR
24880   1G1ZD5ST5JF265276   GM           CRUZE                NORTH PAC                CA
24881   1G1ZD5ST5JF265486   GM           CRUZE                SAN JOSE                 CA
24882   1G1ZD5ST5JF265553   GM           CRUZE                SAN JOSE                 CA
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24883   1G1ZD5ST5JF265780   GM           CRUZE                Atlanta                  GA
24884   1G1ZD5ST5JF266279   GM           CRUZE                CHARLOTTE                NC
24885   1G1ZD5ST5JF266489   GM           CRUZE                Manheim                  PA
24886   1G1ZD5ST5JF266749   GM           CRUZE                BURBANK                  CA
24887   1G1ZD5ST5JF266816   GM           CRUZE                LAS VEGAS                NV
24888   1G1ZD5ST5JF267223   GM           CRUZE                PORTLAND                 ME
24889   1G1ZD5ST5JF267397   GM           CRUZE                Detroit                  MI
24890   1G1ZD5ST5JF267433   GM           CRUZE                Smithtown                NY
24891   1G1ZD5ST5JF267738   GM           CRUZE                Smithtown                NY
24892   1G1ZD5ST5JF267951   GM           CRUZE                Berwyn                   IL
24893   1G1ZD5ST5JF268033   GM           CRUZE                MONTCLAIR                CA
24894   1G1ZD5ST5JF268047   GM           CRUZE                Portland                 OR
24895   1G1ZD5ST5JF268114   GM           CRUZE                Florissant               MO
24896   1G1ZD5ST5JF268176   GM           CRUZE                CHARLOTTE                NC
24897   1G1ZD5ST5JF268243   GM           CRUZE                Cranberry Towns          PA
24898   1G1ZD5ST5JF268470   GM           CRUZE                Avoca                    PA
24899   1G1ZD5ST5JF268694   GM           CRUZE                Massapequa               NY
24900   1G1ZD5ST5JF268730   GM           CRUZE                Florissant               MO
24901   1G1ZD5ST5JF268792   GM           CRUZE                Fredericksburg           VA
24902   1G1ZD5ST5JF268856   GM           CRUZE                FORT MYERS               FL
24903   1G1ZD5ST5JF268887   GM           CRUZE                SAN JOSE                 CA
24904   1G1ZD5ST5JF269392   GM           CRUZE                LOS ANGELES              CA
24905   1G1ZD5ST5JF269439   GM           CRUZE                PHOENIX                  AZ
24906   1G1ZD5ST5JF269702   GM           CRUZE                SAN DIEGO                CA
24907   1G1ZD5ST5JF270056   GM           CRUZE                FRESNO                   CA
24908   1G1ZD5ST5JF270252   GM           CRUZE                Slidell                  LA
24909   1G1ZD5ST5JF270333   GM           CRUZE                BURBANK                  CA
24910   1G1ZD5ST5JF270560   GM           CRUZE                MEMPHIS                  TN
24911   1G1ZD5ST5JF270610   GM           CRUZE                ORANGE COUNTY            CA
24912   1G1ZD5ST5JF270669   GM           CRUZE                DALLAS                   TX
24913   1G1ZD5ST5JF271000   GM           CRUZE                EL PASO                  TX
24914   1G1ZD5ST5JF271028   GM           CRUZE                Manheim                  PA
24915   1G1ZD5ST5JF271062   GM           CRUZE                Slidell                  LA
24916   1G1ZD5ST5JF271255   GM           CRUZE                Charlotte                NC
24917   1G1ZD5ST5JF271367   GM           CRUZE                Fredericksburg           VA
24918   1G1ZD5ST5JF271398   GM           CRUZE                SAINT LOUIS              MO
24919   1G1ZD5ST5JF271904   GM           CRUZE                BURBANK                  CA
24920   1G1ZD5ST5JF271966   GM           CRUZE                Smithtown                NY
24921   1G1ZD5ST5JF272020   GM           CRUZE                KENNER                   LA
24922   1G1ZD5ST5JF272034   GM           CRUZE                Costa Mesa               CA
24923   1G1ZD5ST5JF272471   GM           CRUZE                Tucson                   AZ
24924   1G1ZD5ST5JF272647   GM           CRUZE                Hamilton                 OH
24925   1G1ZD5ST5JF272793   GM           CRUZE                CHICAGO                  IL
24926   1G1ZD5ST5JF272874   GM           CRUZE                CLARKSVILLE              IN
24927   1G1ZD5ST5JF272907   GM           CRUZE                ORLANDO                  FL
24928   1G1ZD5ST5JF273278   GM           CRUZE                SANTA CLARA              CA
24929   1G1ZD5ST5JF273622   GM           CRUZE                Chicago                  IL
24930   1G1ZD5ST5JF274155   GM           CRUZE                SAINT PAUL               MN
24931   1G1ZD5ST5JF274284   GM           CRUZE                ORLANDO                  FL
24932   1G1ZD5ST5JF274415   GM           CRUZE                Hamilton                 OH
24933   1G1ZD5ST5JF274687   GM           CRUZE                HEBRON                   KY
24934   1G1ZD5ST5JF274849   GM           CRUZE                CHICAGO                  IL
24935   1G1ZD5ST5JF274852   GM           CRUZE                Winston‐Salem            NC
24936   1G1ZD5ST5JF274883   GM           CRUZE                DALLAS                   TX
24937   1G1ZD5ST5JF274897   GM           CRUZE                LAS VEGAS                NV
24938   1G1ZD5ST5JF274981   GM           CRUZE                St. Louis                MO
24939   1G1ZD5ST5JF275189   GM           CRUZE                MEMPHIS                  TN
24940   1G1ZD5ST5JF275211   GM           CRUZE                Kansas City              MO
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24941   1G1ZD5ST5JF275645   GM           CRUZE                NEW YORK CITY            NY
24942   1G1ZD5ST5JF275757   GM           CRUZE                Atlanta                  GA
24943   1G1ZD5ST5JF275970   GM           CRUZE                Charlotte                NC
24944   1G1ZD5ST5JF276293   GM           CRUZE                CHARLOTTE                NC
24945   1G1ZD5ST5JF276357   GM           CRUZE                North Las Vegas          NV
24946   1G1ZD5ST5JF276388   GM           CRUZE                HANOVER                  MD
24947   1G1ZD5ST5JF276391   GM           CRUZE                ORLANDO                  FL
24948   1G1ZD5ST5JF276441   GM           CRUZE                Rockville Centr          NY
24949   1G1ZD5ST5JF276696   GM           CRUZE                Chicago                  IL
24950   1G1ZD5ST5KF104072   GM           MALIBU               ALBUQERQUE               NM
24951   1G1ZD5ST5KF104315   GM           MALIBU               UNION CITY               GA
24952   1G1ZD5ST5KF104721   GM           MALIBU               LOS ANGELES              CA
24953   1G1ZD5ST5KF104864   GM           MALIBU               TAMPA                    FL
24954   1G1ZD5ST5KF104895   GM           MALIBU               ORLANDO                  FL
24955   1G1ZD5ST5KF105089   GM           MALIBU               TAMPA                    FL
24956   1G1ZD5ST5KF105268   GM           MALIBU               Atlanta                  GA
24957   1G1ZD5ST5KF105304   GM           MALIBU               ALBUQUERQUE              NM
24958   1G1ZD5ST5KF105321   GM           MALIBU               SANTA ANA                CA
24959   1G1ZD5ST5KF105397   GM           MALIBU               STERLING                 VA
24960   1G1ZD5ST5KF105612   GM           MALIBU               MIAMI                    FL
24961   1G1ZD5ST5KF105691   GM           MALIBU               HOUSTON                  TX
24962   1G1ZD5ST5KF105741   GM           MALIBU               FORT MYERS               FL
24963   1G1ZD5ST5KF105769   GM           MALIBU               WHITE PLAINS             NY
24964   1G1ZD5ST5KF105772   GM           MALIBU               Newark                   NJ
24965   1G1ZD5ST5KF106226   GM           MALIBU               ORLANDO                  FL
24966   1G1ZD5ST5KF106288   GM           MALIBU               ORLANDO                  FL
24967   1G1ZD5ST5KF106369   GM           MALIBU               TUCSON                   AZ
24968   1G1ZD5ST5KF106484   GM           MALIBU               North Canton             OH
24969   1G1ZD5ST5KF106517   GM           MALIBU               INDIANAPOLIS             IN
24970   1G1ZD5ST5KF106534   GM           MALIBU               FORT MYERS               FL
24971   1G1ZD5ST5KF107652   GM           MALIBU               LOS ANGELES              CA
24972   1G1ZD5ST5KF108333   GM           MALIBU               SAN FRANCISCO            CA
24973   1G1ZD5ST5KF108509   GM           MALIBU               NORTH PAC                CA
24974   1G1ZD5ST5KF109434   GM           MALIBU               LOS ANGELES              CA
24975   1G1ZD5ST5KF109949   GM           MALIBU               Santa Clara              CA
24976   1G1ZD5ST5KF110308   GM           MALIBU               ORLANDO                  FL
24977   1G1ZD5ST5KF110356   GM           MALIBU               FORT LAUDERDALE          FL
24978   1G1ZD5ST5KF110552   GM           MALIBU               INDIANAPOLIS             IN
24979   1G1ZD5ST5KF110664   GM           MALIBU               ROCK HILL                SC
24980   1G1ZD5ST5KF110728   GM           MALIBU               Miami                    FL
24981   1G1ZD5ST5KF110860   GM           MALIBU               TAMPA                    US
24982   1G1ZD5ST5KF111135   GM           MALIBU               JACKSONVILLE             FL
24983   1G1ZD5ST5KF111460   GM           MALIBU               Annapolis                MD
24984   1G1ZD5ST5KF111572   GM           MALIBU               ORLANDO                  FL
24985   1G1ZD5ST5KF111989   GM           MALIBU               FORT LAUDERDALE          FL
24986   1G1ZD5ST5KF112141   GM           MALIBU               Elkridge                 MD
24987   1G1ZD5ST5KF112396   GM           MALIBU               Atlanta                  GA
24988   1G1ZD5ST5KF112494   GM           MALIBU               ORLANDO                  FL
24989   1G1ZD5ST5KF112513   GM           MALIBU               RICHMOND                 VA
24990   1G1ZD5ST5KF112558   GM           MALIBU               BOSTON                   MA
24991   1G1ZD5ST5KF112589   GM           MALIBU               Elkridge                 MD
24992   1G1ZD5ST5KF112673   GM           MALIBU               WEST PALM BEACH          FL
24993   1G1ZD5ST5KF112821   GM           MALIBU               FORT LAUDERDALE          FL
24994   1G1ZD5ST5KF112897   GM           MALIBU               TAMPA                    FL
24995   1G1ZD5ST5KF112981   GM           MALIBU               CLEVELAND                OH
24996   1G1ZD5ST5KF113080   GM           MALIBU               ATLANTA                  GA
24997   1G1ZD5ST5KF113760   GM           MALIBU               WARWICK                  RI
24998   1G1ZD5ST5KF114178   GM           MALIBU               FORT MYERS               FL
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24999   1G1ZD5ST5KF114360   GM           MALIBU               Plainfield               IN
25000   1G1ZD5ST5KF114553   GM           MALIBU               KENNER                   LA
25001   1G1ZD5ST5KF114567   GM           MALIBU               Greensboro               NC
25002   1G1ZD5ST5KF114777   GM           MALIBU               OKLAHOMA CITY            OK
25003   1G1ZD5ST5KF114925   GM           MALIBU               LOS ANGELES              CA
25004   1G1ZD5ST5KF115055   GM           MALIBU               TAMPA                    FL
25005   1G1ZD5ST5KF115167   GM           MALIBU               TAMPA                    FL
25006   1G1ZD5ST5KF115301   GM           MALIBU               Clarksville              IN
25007   1G1ZD5ST5KF115458   GM           MALIBU               ORLANDO                  FL
25008   1G1ZD5ST5KF115573   GM           MALIBU               SAVANNAH                 GA
25009   1G1ZD5ST5KF115637   GM           MALIBU               COLLEGE PARK             GA
25010   1G1ZD5ST5KF115685   GM           MALIBU               Miami                    FL
25011   1G1ZD5ST5KF116464   GM           MALIBU               ORLANDO                  FL
25012   1G1ZD5ST5KF116688   GM           MALIBU               Hayward                  CA
25013   1G1ZD5ST5KF116710   GM           MALIBU               MIAMI                    FL
25014   1G1ZD5ST5KF116917   GM           MALIBU               NORFOLK                  VA
25015   1G1ZD5ST5KF116965   GM           MALIBU               MIAMI                    FL
25016   1G1ZD5ST5KF117114   GM           MALIBU               MIAMI                    FL
25017   1G1ZD5ST5KF117145   GM           MALIBU               TAMPA                    US
25018   1G1ZD5ST5KF117548   GM           MALIBU               KNOXVILLE                TN
25019   1G1ZD5ST5KF117565   GM           MALIBU               Miami                    FL
25020   1G1ZD5ST5KF117730   GM           MALIBU               WEST PALM BEACH          FL
25021   1G1ZD5ST5KF117873   GM           MALIBU               Slidell                  LA
25022   1G1ZD5ST5KF117887   GM           MALIBU               WEST PALM BEACH          FL
25023   1G1ZD5ST5KF117985   GM           MALIBU               SANTA ANA                CA
25024   1G1ZD5ST5KF118179   GM           MALIBU               CHICAGO                  IL
25025   1G1ZD5ST5KF118277   GM           MALIBU               Atlanta                  GA
25026   1G1ZD5ST5KF118344   GM           MALIBU               CHICAGO                  IL
25027   1G1ZD5ST5KF118585   GM           MALIBU               SARASOTA                 FL
25028   1G1ZD5ST5KF118604   GM           MALIBU               TAMPA                    FL
25029   1G1ZD5ST5KF118747   GM           MALIBU               SAN DIEGO                CA
25030   1G1ZD5ST5KF118764   GM           MALIBU               WEST PALM BEACH          FL
25031   1G1ZD5ST5KF118778   GM           MALIBU               FORT LAUDERDALE          FL
25032   1G1ZD5ST5KF118862   GM           MALIBU               TAMPA                    FL
25033   1G1ZD5ST5KF118893   GM           MALIBU               SAINT LOUIS              MO
25034   1G1ZD5ST5KF119154   GM           MALIBU               ORLANDO                  FL
25035   1G1ZD5ST5KF119168   GM           MALIBU               CLEVELAND                OH
25036   1G1ZD5ST5KF119204   GM           MALIBU               Nashville                TN
25037   1G1ZD5ST5KF119350   GM           MALIBU               FORT LAUDERDALE          FL
25038   1G1ZD5ST5KF119719   GM           MALIBU               ATLANTA                  GA
25039   1G1ZD5ST5KF119848   GM           MALIBU               Harvey                   LA
25040   1G1ZD5ST5KF120031   GM           MALIBU               RALEIGH                  NC
25041   1G1ZD5ST5KF120157   GM           MALIBU               MIAMI                    FL
25042   1G1ZD5ST5KF120627   GM           MALIBU               FORT LAUDERDALE          FL
25043   1G1ZD5ST5KF120773   GM           MALIBU               PLEASANTON               CA
25044   1G1ZD5ST5KF120787   GM           MALIBU               FORT MYERS               FL
25045   1G1ZD5ST5KF121535   GM           MALIBU               PHOENIX                  AZ
25046   1G1ZD5ST5KF122023   GM           MALIBU               Tampa                    FL
25047   1G1ZD5ST5KF122703   GM           MALIBU               SOUTHEAST DST OFFC       OK
25048   1G1ZD5ST5KF123303   GM           MALIBU               ORLANDO                  FL
25049   1G1ZD5ST5KF123351   GM           MALIBU               ORLANDO                  FL
25050   1G1ZD5ST5KF123382   GM           MALIBU               BURBANK                  CA
25051   1G1ZD5ST5KF123690   GM           MALIBU               SARASOTA                 FL
25052   1G1ZD5ST5KF123771   GM           MALIBU               ORLANDO                  FL
25053   1G1ZD5ST5KF123818   GM           MALIBU               DALLAS                   TX
25054   1G1ZD5ST5KF124015   GM           MALIBU               WEST PALM BEACH          FL
25055   1G1ZD5ST5KF124287   GM           MALIBU               FORT LAUDERDALE          FL
25056   1G1ZD5ST5KF124418   GM           MALIBU               TAMPA                    FL
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25057   1G1ZD5ST5KF124662   GM           MALIBU               North Dighton            MA
25058   1G1ZD5ST5KF125374   GM           MALIBU               ORLANDO                  FL
25059   1G1ZD5ST5KF125410   GM           MALIBU               FORT MYERS               FL
25060   1G1ZD5ST5KF125472   GM           MALIBU               TAMPA                    FL
25061   1G1ZD5ST5KF125505   GM           MALIBU               FAYETTEVILLE             US
25062   1G1ZD5ST5KF125665   GM           MALIBU               FORT MYERS               FL
25063   1G1ZD5ST5KF125925   GM           MALIBU               Phoenix                  AZ
25064   1G1ZD5ST5KF125987   GM           MALIBU               WEST PALM BEACH          FL
25065   1G1ZD5ST5KF126279   GM           MALIBU               COCOA                    FL
25066   1G1ZD5ST5KF126444   GM           MALIBU               HOUSTON                  TX
25067   1G1ZD5ST5KF126525   GM           MALIBU               SYRACUSE                 NY
25068   1G1ZD5ST5KF126671   GM           MALIBU               Atlanta                  GA
25069   1G1ZD5ST5KF126752   GM           MALIBU               ORLANDO                  FL
25070   1G1ZD5ST5KF127075   GM           MALIBU               JACKSONVILLE             FL
25071   1G1ZD5ST5KF133314   GM           MALIBU               Coraopolis               PA
25072   1G1ZD5ST5KF133393   GM           MALIBU               FRESNO                   CA
25073   1G1ZD5ST5KF133524   GM           MALIBU               WEST PALM BEACH          FL
25074   1G1ZD5ST5KF133619   GM           MALIBU               North Canton             OH
25075   1G1ZD5ST5KF133636   GM           MALIBU               North Dighton            MA
25076   1G1ZD5ST5KF133720   GM           MALIBU               Austin                   TX
25077   1G1ZD5ST5KF133751   GM           MALIBU               BIRMINGHAM               AL
25078   1G1ZD5ST5KF133779   GM           MALIBU               ORLANDO                  FL
25079   1G1ZD5ST5KF134186   GM           MALIBU               ALBANY                   N
25080   1G1ZD5ST5KF134480   GM           MALIBU               TAMPA                    FL
25081   1G1ZD5ST5KF134575   GM           MALIBU               FORT MYERS               FL
25082   1G1ZD5ST5KF134706   GM           MALIBU               ORLANDO                  FL
25083   1G1ZD5ST5KF134768   GM           MALIBU               ORLANDO                  FL
25084   1G1ZD5ST5KF134981   GM           MALIBU               KENNER                   LA
25085   1G1ZD5ST5KF135290   GM           MALIBU               SANTA ANA                CA
25086   1G1ZD5ST5KF135337   GM           MALIBU               SACRAMENTO               CA
25087   1G1ZD5ST5KF135449   GM           MALIBU               MIAMI                    FL
25088   1G1ZD5ST5KF135497   GM           MALIBU               TAMPA                    FL
25089   1G1ZD5ST5KF135631   GM           MALIBU               ATLANTA                  GA
25090   1G1ZD5ST5KF135743   GM           MALIBU               ORLANDO                  FL
25091   1G1ZD5ST5KF135760   GM           MALIBU               FORT MYERS               FL
25092   1G1ZD5ST5KF135807   GM           MALIBU               Atlanta                  GA
25093   1G1ZD5ST5KF135810   GM           MALIBU               DANIA                    FL
25094   1G1ZD5ST5KF135967   GM           MALIBU               WEST PALM BEACH          FL
25095   1G1ZD5ST5KF136147   GM           MALIBU               Atlanta                  GA
25096   1G1ZD5ST5KF136391   GM           MALIBU               SARASOTA                 FL
25097   1G1ZD5ST5KF136424   GM           MALIBU               WEST PALM BEACH          FL
25098   1G1ZD5ST5KF136861   GM           MALIBU               Indianapolis             IN
25099   1G1ZD5ST5KF137041   GM           MALIBU               ORLANDO                  FL
25100   1G1ZD5ST5KF137721   GM           MALIBU               UNION CITY               GA
25101   1G1ZD5ST5KF137833   GM           MALIBU               ORLANDO                  FL
25102   1G1ZD5ST5KF137850   GM           MALIBU               FORT MYERS               FL
25103   1G1ZD5ST5KF137962   GM           MALIBU               SAINT LOUIS              MO
25104   1G1ZD5ST5KF138092   GM           MALIBU               HOUSTON                  TX
25105   1G1ZD5ST5KF138206   GM           MALIBU               DAYTONA BEACH            FL
25106   1G1ZD5ST5KF138223   GM           MALIBU               ORLANDO                  FL
25107   1G1ZD5ST5KF138318   GM           MALIBU               Atlanta                  GA
25108   1G1ZD5ST5KF138495   GM           MALIBU               SAINT LOUIS              MO
25109   1G1ZD5ST5KF138559   GM           MALIBU               Fairburn                 GA
25110   1G1ZD5ST5KF138593   GM           MALIBU               FORT LAUDERDALE          FL
25111   1G1ZD5ST5KF138786   GM           MALIBU               PHILADELPHIA             PA
25112   1G1ZD5ST5KF138853   GM           MALIBU               ORLANDO                  FL
25113   1G1ZD5ST5KF138979   GM           MALIBU               RICHMOND                 VA
25114   1G1ZD5ST5KF139016   GM           MALIBU               Miami                    FL
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25115   1G1ZD5ST5KF139503   GM           MALIBU               RALEIGH                  NC
25116   1G1ZD5ST5KF139727   GM           MALIBU               TAMPA                    US
25117   1G1ZD5ST5KF140182   GM           MALIBU               BIRMINGHAM               AL
25118   1G1ZD5ST5KF141705   GM           MALIBU               Miami                    FL
25119   1G1ZD5ST5KF153773   GM           MALIBU               Slidell                  LA
25120   1G1ZD5ST5KF154132   GM           MALIBU               TAMPA                    FL
25121   1G1ZD5ST5KF154244   GM           MALIBU               FORT MYERS               FL
25122   1G1ZD5ST5KF154891   GM           MALIBU               SOUTHEAST DST OFFC       OK
25123   1G1ZD5ST5KF155068   GM           MALIBU               HOLLY HILL               FL
25124   1G1ZD5ST5KF155331   GM           MALIBU               ORLANDO                  FL
25125   1G1ZD5ST5KF155880   GM           MALIBU               ONTARIO                  CA
25126   1G1ZD5ST5KF155927   GM           MALIBU               West Bountiful           UT
25127   1G1ZD5ST5KF156141   GM           MALIBU               TAMPA                    FL
25128   1G1ZD5ST5KF156222   GM           MALIBU               SARASOTA                 FL
25129   1G1ZD5ST5KF156396   GM           MALIBU               WEST PALM BEACH          FL
25130   1G1ZD5ST5KF156673   GM           MALIBU               Indianapolis             IN
25131   1G1ZD5ST5KF156785   GM           MALIBU               RALEIGH                  NC
25132   1G1ZD5ST5KF156866   GM           MALIBU               MIAMI                    FL
25133   1G1ZD5ST5KF156947   GM           MALIBU               NEW BERN                 NC
25134   1G1ZD5ST5KF157161   GM           MALIBU               Warr Acres               OK
25135   1G1ZD5ST5KF157242   GM           MALIBU               FORT MYERS               FL
25136   1G1ZD5ST5KF157306   GM           MALIBU               TAMPA                    FL
25137   1G1ZD5ST5KF157502   GM           MALIBU               MIAMI                    FL
25138   1G1ZD5ST5KF157676   GM           MALIBU               CHICAGO                  IL
25139   1G1ZD5ST5KF157709   GM           MALIBU               MIAMI                    FL
25140   1G1ZD5ST5KF157872   GM           MALIBU               CLARKSVILLE              IN
25141   1G1ZD5ST5KF158262   GM           MALIBU               KANSAS CITY              MO
25142   1G1ZD5ST5KF158312   GM           MALIBU               NEWARK                   NJ
25143   1G1ZD5ST5KF158391   GM           MALIBU               ORLANDO                  FL
25144   1G1ZD5ST5KF158472   GM           MALIBU               TAMPA                    FL
25145   1G1ZD5ST5KF158682   GM           MALIBU               ORLANDO                  FL
25146   1G1ZD5ST5KF158763   GM           MALIBU               FORT MYERS               FL
25147   1G1ZD5ST5KF158889   GM           MALIBU               Tucson                   AZ
25148   1G1ZD5ST5KF158892   GM           MALIBU               LAS VEGAS                NV
25149   1G1ZD5ST5KF159038   GM           MALIBU               MIAMI                    FL
25150   1G1ZD5ST5KF159184   GM           MALIBU               SAVANNAH                 GA
25151   1G1ZD5ST5KF159296   GM           MALIBU               SAN DIEGO                CA
25152   1G1ZD5ST5KF159301   GM           MALIBU               TAMPA                    FL
25153   1G1ZD5ST5KF159380   GM           MALIBU               FORT MYERS               FL
25154   1G1ZD5ST5KF159430   GM           MALIBU               ORLANDO                  FL
25155   1G1ZD5ST5KF159816   GM           MALIBU               Dallas                   TX
25156   1G1ZD5ST5KF159993   GM           MALIBU               FORT MYERS               FL
25157   1G1ZD5ST5KF160383   GM           MALIBU               DAYTONA BEACH            FL
25158   1G1ZD5ST5KF160402   GM           MALIBU               LAS VEGAS                NV
25159   1G1ZD5ST5KF160738   GM           MALIBU               Atlanta                  GA
25160   1G1ZD5ST5KF160853   GM           MALIBU               TAMPA                    FL
25161   1G1ZD5ST5KF160982   GM           MALIBU               Jacksonville             FL
25162   1G1ZD5ST5KF161355   GM           MALIBU               SOUTHEAST DST OFFC       OK
25163   1G1ZD5ST5KF161405   GM           MALIBU               TAMPA                    FL
25164   1G1ZD5ST5KF161422   GM           MALIBU               KNOXVILLE                TN
25165   1G1ZD5ST5KF161503   GM           MALIBU               FORT MYERS               FL
25166   1G1ZD5ST5KF161677   GM           MALIBU               TAMPA                    FL
25167   1G1ZD5ST5KF161730   GM           MALIBU               KANSAS CITY              MO
25168   1G1ZD5ST5KF161744   GM           MALIBU               COLLEGE PARK             GA
25169   1G1ZD5ST5KF161792   GM           MALIBU               TAMPA                    US
25170   1G1ZD5ST5KF161873   GM           MALIBU               FORT MYERS               FL
25171   1G1ZD5ST5KF161906   GM           MALIBU               WEST PALM BEACH          FL
25172   1G1ZD5ST5KF161954   GM           MALIBU               ATLANTA                  GA
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25173   1G1ZD5ST5KF161971   GM           MALIBU               MIAMI                    FL
25174   1G1ZD5ST5KF162022   GM           MALIBU               CASTLE ROCK              CO
25175   1G1ZD5ST5KF162120   GM           MALIBU               CHICAGO O'HARE AP        IL
25176   1G1ZD5ST5KF162151   GM           MALIBU               SAINT LOUIS              MO
25177   1G1ZD5ST5KF162196   GM           MALIBU               FORT MYERS               FL
25178   1G1ZD5ST5KF162280   GM           MALIBU               FORT MYERS               FL
25179   1G1ZD5ST5KF162294   GM           MALIBU               Tampa                    FL
25180   1G1ZD5ST5KF162344   GM           MALIBU               PHILADELPHIA             PA
25181   1G1ZD5ST5KF162375   GM           MALIBU               TAMPA                    FL
25182   1G1ZD5ST5KF162389   GM           MALIBU               Miami                    FL
25183   1G1ZD5ST5KF162411   GM           MALIBU               ORLANDO                  FL
25184   1G1ZD5ST5KF162442   GM           MALIBU               MIAMI                    FL
25185   1G1ZD5ST5KF162554   GM           MALIBU               JACKSONVILLE             FL
25186   1G1ZD5ST5KF162585   GM           MALIBU               Orlando                  FL
25187   1G1ZD5ST5KF162599   GM           MALIBU               FORT LAUDERDALE          FL
25188   1G1ZD5ST5KF162764   GM           MALIBU               FORT MYERS               FL
25189   1G1ZD5ST5KF162778   GM           MALIBU               CLEVELAND                OH
25190   1G1ZD5ST5KF162831   GM           MALIBU               FORT LAUDERDALE          FL
25191   1G1ZD5ST5KF162876   GM           MALIBU               WEST PALM BEACH          FL
25192   1G1ZD5ST5KF162960   GM           MALIBU               FORT MYERS               FL
25193   1G1ZD5ST5KF163011   GM           MALIBU               Omaha                    NE
25194   1G1ZD5ST5KF163073   GM           MALIBU               FORT LAUDERDALE          FL
25195   1G1ZD5ST5KF163154   GM           MALIBU               ORLANDO                  FL
25196   1G1ZD5ST5KF163221   GM           MALIBU               Irving                   TX
25197   1G1ZD5ST5KF163350   GM           MALIBU               Bel Air                  MD
25198   1G1ZD5ST5KF163588   GM           MALIBU               JACKSONVILLE             FL
25199   1G1ZD5ST5KF163591   GM           MALIBU               CLEVELAND                OH
25200   1G1ZD5ST5KF163767   GM           MALIBU               ALBANY                   GA
25201   1G1ZD5ST5KF163784   GM           MALIBU               MIAMI                    FL
25202   1G1ZD5ST5KF164045   GM           MALIBU               TAMPA                    FL
25203   1G1ZD5ST5KF164157   GM           MALIBU               TAMPA                    FL
25204   1G1ZD5ST5KF164160   GM           MALIBU               ST Paul                  MN
25205   1G1ZD5ST5KF164269   GM           MALIBU               WEST PALM BEACH          FL
25206   1G1ZD5ST5KF164448   GM           MALIBU               INDIANAPOLIS             IN
25207   1G1ZD5ST5KF164451   GM           MALIBU               WEST PALM BEACH          FL
25208   1G1ZD5ST5KF164465   GM           MALIBU               KENNER                   LA
25209   1G1ZD5ST5KF164546   GM           MALIBU               ORLANDO                  FL
25210   1G1ZD5ST5KF164689   GM           MALIBU               Killeen                  TX
25211   1G1ZD5ST5KF164854   GM           MALIBU               Florissant               MO
25212   1G1ZD5ST5KF164868   GM           MALIBU               RICHMOND                 VA
25213   1G1ZD5ST5KF164949   GM           MALIBU               ORLANDO                  FL
25214   1G1ZD5ST5KF165129   GM           MALIBU               SARASOTA                 FL
25215   1G1ZD5ST5KF165230   GM           MALIBU               FORT MYERS               FL
25216   1G1ZD5ST5KF165308   GM           MALIBU               MIAMI                    FL
25217   1G1ZD5ST5KF165454   GM           MALIBU               TAMPA                    FL
25218   1G1ZD5ST5KF165485   GM           MALIBU               Slidell                  LA
25219   1G1ZD5ST5KF165521   GM           MALIBU               WEST PALM BEACH          FL
25220   1G1ZD5ST5KF165566   GM           MALIBU               NORFOLK                  VA
25221   1G1ZD5ST5KF165714   GM           MALIBU               Houston                  TX
25222   1G1ZD5ST5KF165759   GM           MALIBU               KANSAS CITY              MO
25223   1G1ZD5ST5KF165874   GM           MALIBU               TAMPA                    FL
25224   1G1ZD5ST5KF166121   GM           MALIBU               WEST PALM BEACH          FL
25225   1G1ZD5ST5KF166152   GM           MALIBU               WEST PALM BEACH          FL
25226   1G1ZD5ST5KF166247   GM           MALIBU               Houston                  TX
25227   1G1ZD5ST5KF166281   GM           MALIBU               Maple Grove              MN
25228   1G1ZD5ST5KF166393   GM           MALIBU               ORLANDO                  FL
25229   1G1ZD5ST5KF166572   GM           MALIBU               KENNER                   LA
25230   1G1ZD5ST5KF166622   GM           MALIBU               ORLANDO                  FL
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25231   1G1ZD5ST5KF166698   GM           MALIBU               El Paso                  TX
25232   1G1ZD5ST5KF167057   GM           MALIBU               GRAND RAPIDS             MI
25233   1G1ZD5ST5KF167107   GM           MALIBU               WEST PALM BEACH          FL
25234   1G1ZD5ST5KF167334   GM           MALIBU               MEMPHIS                  TN
25235   1G1ZD5ST5KF167396   GM           MALIBU               Kansas City              MO
25236   1G1ZD5ST5KF167446   GM           MALIBU               TAMPA                    US
25237   1G1ZD5ST5KF167513   GM           MALIBU               Bridgeton                MO
25238   1G1ZD5ST5KF167592   GM           MALIBU               DETROIT                  MI
25239   1G1ZD5ST5KF167706   GM           MALIBU               KNOXVILLE                TN
25240   1G1ZD5ST5KF167804   GM           MALIBU               TAMPA                    FL
25241   1G1ZD5ST5KF167978   GM           MALIBU               Miami                    FL
25242   1G1ZD5ST5KF168550   GM           MALIBU               ORLANDO                  FL
25243   1G1ZD5ST5KF168564   GM           MALIBU               WEST PALM BEACH          FL
25244   1G1ZD5ST5KF168662   GM           MALIBU               SANTA ANA                CA
25245   1G1ZD5ST5KF168791   GM           MALIBU               ORLANDO                  FL
25246   1G1ZD5ST5KF168872   GM           MALIBU               STERLING                 VA
25247   1G1ZD5ST5KF168953   GM           MALIBU               ATLANTA                  GA
25248   1G1ZD5ST5KF169116   GM           MALIBU               ORLANDO                  FL
25249   1G1ZD5ST5KF169553   GM           MALIBU               FORT MYERS               FL
25250   1G1ZD5ST5KF169827   GM           MALIBU               TAMPA                    FL
25251   1G1ZD5ST5KF170055   GM           MALIBU               Houston                  TX
25252   1G1ZD5ST5KF170301   GM           MALIBU               ORLANDO                  FL
25253   1G1ZD5ST5KF170458   GM           MALIBU               ORLANDO                  FL
25254   1G1ZD5ST5KF170606   GM           MALIBU               ORLANDO                  FL
25255   1G1ZD5ST5KF170721   GM           MALIBU               Atlanta                  GA
25256   1G1ZD5ST5KF170752   GM           MALIBU               SAVANNAH                 GA
25257   1G1ZD5ST5KF170895   GM           MALIBU               Atlanta                  GA
25258   1G1ZD5ST5KF171139   GM           MALIBU               Tolleson                 AZ
25259   1G1ZD5ST5KF171237   GM           MALIBU               MIAMI                    FL
25260   1G1ZD5ST5KF171643   GM           MALIBU               FORT MYERS               FL
25261   1G1ZD5ST5KF171822   GM           MALIBU               TAMPA                    FL
25262   1G1ZD5ST5KF172114   GM           MALIBU               LOUISVILLE               KY
25263   1G1ZD5ST5KF173540   GM           MALIBU               ORLANDO                  FL
25264   1G1ZD5ST5KF175899   GM           MALIBU               Kent                     WA
25265   1G1ZD5ST5KF176079   GM           MALIBU               ORLANDO                  FL
25266   1G1ZD5ST5KF176387   GM           MALIBU               Atlanta                  GA
25267   1G1ZD5ST5KF177085   GM           MALIBU               CHATTANOOGA              TN
25268   1G1ZD5ST5KF177426   GM           MALIBU               Atlanta                  GA
25269   1G1ZD5ST5KF177961   GM           MALIBU               Riverside                CA
25270   1G1ZD5ST5KF178995   GM           MALIBU               TAMPA                    US
25271   1G1ZD5ST5KF179046   GM           MALIBU               FORT LAUDERDALE          FL
25272   1G1ZD5ST5KF179211   GM           MALIBU               PHILADELPHIA             PA
25273   1G1ZD5ST5KF180830   GM           MALIBU               KNOXVILLE                TN
25274   1G1ZD5ST5KF181363   GM           MALIBU               ORLANDO                  FL
25275   1G1ZD5ST5KF182206   GM           MALIBU               BALTIMORE                MD
25276   1G1ZD5ST5KF184425   GM           MALIBU               NASHVILLE                TN
25277   1G1ZD5ST5KF184554   GM           MALIBU               MEMPHIS                  TN
25278   1G1ZD5ST5KF184974   GM           MALIBU               WEST PALM BEACH          FL
25279   1G1ZD5ST5KF186028   GM           MALIBU               OKLAHOMA CITY            OK
25280   1G1ZD5ST5KF186482   GM           MALIBU               Indianapolis             IN
25281   1G1ZD5ST5KF195375   GM           MALIBU               Burien                   WA
25282   1G1ZD5ST5KF223109   GM           MALIBU               Fontana                  CA
25283   1G1ZD5ST5LF085198   GM           MALIBU               Lebanon                  TN
25284   1G1ZD5ST5LF090109   GM           MALIBU               LOS ANGELES              CA
25285   1G1ZD5ST5LF097075   GM           MALIBU               FORT MYERS               FL
25286   1G1ZD5ST5LF097092   GM           MALIBU               FORT MYERS               FL
25287   1G1ZD5ST6JF125284   GM           CRUZE                Atlanta                  GA
25288   1G1ZD5ST6JF125592   GM           CRUZE                CHICAGO                  IL
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25289   1G1ZD5ST6JF127262   GM           CRUZE                HOUSTON                  TX
25290   1G1ZD5ST6JF128508   GM           CRUZE                LAS VEGAS                NV
25291   1G1ZD5ST6JF128671   GM           CRUZE                Kent                     WA
25292   1G1ZD5ST6JF129125   GM           CRUZE                North Dighton            MA
25293   1G1ZD5ST6JF130498   GM           CRUZE                CHICAGO                  IL
25294   1G1ZD5ST6JF131957   GM           CRUZE                ONTARIO                  CA
25295   1G1ZD5ST6JF133112   GM           CRUZE                CHANDLER                 AZ
25296   1G1ZD5ST6JF133160   GM           CRUZE                Miami                    FL
25297   1G1ZD5ST6JF133837   GM           CRUZE                Rio Linda                CA
25298   1G1ZD5ST6JF136334   GM           CRUZE                WEST CENTRAL DEALE       CO
25299   1G1ZD5ST6JF136625   GM           CRUZE                ROSEVILLE                CA
25300   1G1ZD5ST6JF136740   GM           CRUZE
25301   1G1ZD5ST6JF137547   GM           CRUZE                ENGLEWOOD                CO
25302   1G1ZD5ST6JF137824   GM           CRUZE                Richmond                 VA
25303   1G1ZD5ST6JF138486   GM           CRUZE                Revere                   MA
25304   1G1ZD5ST6JF138567   GM           MALIBU               SAN JOSE                 CA
25305   1G1ZD5ST6JF138861   GM           CRUZE                Stone Mountain           GA
25306   1G1ZD5ST6JF139217   GM           CRUZE                Anaheim                  CA
25307   1G1ZD5ST6JF139315   GM           CRUZE                SEATAC                   WA
25308   1G1ZD5ST6JF139752   GM           CRUZE                TRACY                    CA
25309   1G1ZD5ST6JF139993   GM           CRUZE                Roseville                CA
25310   1G1ZD5ST6JF140190   GM           CRUZE                CHICAGO                  IL
25311   1G1ZD5ST6JF140478   GM           CRUZE                BURBANK                  CA
25312   1G1ZD5ST6JF141033   GM           CRUZE                PITTSBURGH               PA
25313   1G1ZD5ST6JF141288   GM           CRUZE                DES MOINES               IA
25314   1G1ZD5ST6JF141310   GM           CRUZE                North Las Vegas          NV
25315   1G1ZD5ST6JF141355   GM           CRUZE                Hanover                  MD
25316   1G1ZD5ST6JF142828   GM           CRUZE                STERLING                 VA
25317   1G1ZD5ST6JF143039   GM           CRUZE                BURBANK                  CA
25318   1G1ZD5ST6JF143090   GM           CRUZE                DAYTONA BEACH            FL
25319   1G1ZD5ST6JF144000   GM           CRUZE                Stone Mountain           GA
25320   1G1ZD5ST6JF144112   GM           CRUZE                RICHMOND                 VA
25321   1G1ZD5ST6JF144885   GM           CRUZE                North Dighton            MA
25322   1G1ZD5ST6JF145261   GM           CRUZE                Fort Lauderdale          FL
25323   1G1ZD5ST6JF148015   GM           CRUZE                ORLANDO                  FL
25324   1G1ZD5ST6JF148354   GM           CRUZE                Hanover                  MD
25325   1G1ZD5ST6JF149567   GM           CRUZE                Manheim                  PA
25326   1G1ZD5ST6JF149603   GM           CRUZE                Hanover                  MD
25327   1G1ZD5ST6JF149634   GM           CRUZE                Elkridge                 MD
25328   1G1ZD5ST6JF150007   GM           CRUZE                DANIA BEACH              FL
25329   1G1ZD5ST6JF150203   GM           CRUZE                Fredericksburg           VA
25330   1G1ZD5ST6JF150217   GM           CRUZE                CHICAGO                  IL
25331   1G1ZD5ST6JF150962   GM           CRUZE                NEW YORK DEALER DI       NJ
25332   1G1ZD5ST6JF151416   GM           CRUZE                PHILA                    PA
25333   1G1ZD5ST6JF151528   GM           CRUZE                North Dighton            MA
25334   1G1ZD5ST6JF151531   GM           CRUZE                CHARLOTTE                NC
25335   1G1ZD5ST6JF151545   GM           CRUZE                FT LAUDERDALE            FL
25336   1G1ZD5ST6JF151643   GM           CRUZE                MEDINA                   OH
25337   1G1ZD5ST6JF151674   GM           CRUZE                Kent                     WA
25338   1G1ZD5ST6JF153103   GM           CRUZE                BURBANK                  CA
25339   1G1ZD5ST6JF153358   GM           CRUZE                BURBANK                  CA
25340   1G1ZD5ST6JF154963   GM           CRUZE                Elkridge                 MD
25341   1G1ZD5ST6JF155630   GM           CRUZE                ONTARIO                  CA
25342   1G1ZD5ST6JF155787   GM           CRUZE                Norwalk                  CA
25343   1G1ZD5ST6JF156292   GM           CRUZE                Euless                   TX
25344   1G1ZD5ST6JF156356   GM           CRUZE                BURBANK                  CA
25345   1G1ZD5ST6JF156776   GM           CRUZE                PICO RIVERA              CA
25346   1G1ZD5ST6JF157149   GM           CRUZE                BURBANK                  CA
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25347   1G1ZD5ST6JF157295   GM           CRUZE                BURBANK                  CA
25348   1G1ZD5ST6JF157474   GM           CRUZE                SAN FRANCISCO            CA
25349   1G1ZD5ST6JF157961   GM           CRUZE                STERLING                 VA
25350   1G1ZD5ST6JF157989   GM           CRUZE                Hamilton                 OH
25351   1G1ZD5ST6JF158396   GM           CRUZE                Hanover                  MD
25352   1G1ZD5ST6JF158561   GM           CRUZE                DAYTONA BEACH            FL
25353   1G1ZD5ST6JF158642   GM           CRUZE                Hamilton                 OH
25354   1G1ZD5ST6JF158947   GM           CRUZE                DFW AIRPORT              TX
25355   1G1ZD5ST6JF159029   GM           CRUZE                HANOVER                  MD
25356   1G1ZD5ST6JF159192   GM           CRUZE                CHICAGO                  IL
25357   1G1ZD5ST6JF159743   GM           CRUZE                ORLANDO                  FL
25358   1G1ZD5ST6JF160004   GM           CRUZE                Miami                    FL
25359   1G1ZD5ST6JF160214   GM           MALIBU               CHICAGO                  IL
25360   1G1ZD5ST6JF160357   GM           CRUZE                Elkridge                 MD
25361   1G1ZD5ST6JF160505   GM           CRUZE                NOTTINGHAM               MD
25362   1G1ZD5ST6JF160570   GM           CRUZE                HARVEY                   LA
25363   1G1ZD5ST6JF160584   GM           CRUZE                HOUSTON                  TX
25364   1G1ZD5ST6JF160603   GM           CRUZE                N MIAMI BEACH            FL
25365   1G1ZD5ST6JF160665   GM           CRUZE                COLLEGE PARK             GA
25366   1G1ZD5ST6JF160942   GM           CRUZE                NORTH PAC                CA
25367   1G1ZD5ST6JF167714   GM           CRUZE                Dallas                   TX
25368   1G1ZD5ST6JF167826   GM           CRUZE                DALLAS                   TX
25369   1G1ZD5ST6JF168345   GM           CRUZE                SOUTHEAST DST OFFC       OK
25370   1G1ZD5ST6JF168376   GM           CRUZE                Denver                   CO
25371   1G1ZD5ST6JF169172   GM           CRUZE                MORROW                   GA
25372   1G1ZD5ST6JF169205   GM           CRUZE                Cleveland                OH
25373   1G1ZD5ST6JF169222   GM           CRUZE                TAMPA                    FL
25374   1G1ZD5ST6JF170239   GM           CRUZE                Euless                   TX
25375   1G1ZD5ST6JF170581   GM           CRUZE                JACKSONVILLE             FL
25376   1G1ZD5ST6JF171052   GM           CRUZE                CHICAGO                  IL
25377   1G1ZD5ST6JF173156   GM           CRUZE                ORLANDO                  FL
25378   1G1ZD5ST6JF175585   GM           MALIBU               Revere                   MA
25379   1G1ZD5ST6JF175649   GM           CRUZE                SAN JOSE                 CA
25380   1G1ZD5ST6JF176493   GM           CRUZE                CHICAGO                  IL
25381   1G1ZD5ST6JF176879   GM           CRUZE                MEDINA                   OH
25382   1G1ZD5ST6JF178325   GM           CRUZE                Phoenix                  AZ
25383   1G1ZD5ST6JF178549   GM           CRUZE                SANTA ANA                CA
25384   1G1ZD5ST6JF179250   GM           CRUZE                FT LAUDERDALE            FL
25385   1G1ZD5ST6JF179734   GM           CRUZE                Atlanta                  GA
25386   1G1ZD5ST6JF179877   GM           CRUZE                Hamilton                 OH
25387   1G1ZD5ST6JF180334   GM           CRUZE                Harvey                   LA
25388   1G1ZD5ST6JF180379   GM           CRUZE                Baltimore                MD
25389   1G1ZD5ST6JF181760   GM           CRUZE                Portland                 OR
25390   1G1ZD5ST6JF182844   GM           CRUZE                Fontana                  CA
25391   1G1ZD5ST6JF183413   GM           CRUZE                Charlotte                NC
25392   1G1ZD5ST6JF183928   GM           CRUZE                DENVER                   CO
25393   1G1ZD5ST6JF184982   GM           CRUZE                Hilo                     HI
25394   1G1ZD5ST6JF186750   GM           CRUZE                WAIMEA                   HI
25395   1G1ZD5ST6JF186814   GM           CRUZE                Hayward                  CA
25396   1G1ZD5ST6JF188126   GM           CRUZE                NORTH PAC                CA
25397   1G1ZD5ST6JF195674   GM           CRUZE                NORTH HOLLYWOOD          CA
25398   1G1ZD5ST6JF199160   GM           CRUZE                NORTH PAC                CA
25399   1G1ZD5ST6JF200193   GM           CRUZE                Riverside                CA
25400   1G1ZD5ST6JF203000   GM           CRUZE                BURBANK                  CA
25401   1G1ZD5ST6JF205720   GM           MALIBU               Elkridge                 MD
25402   1G1ZD5ST6JF205782   GM           CRUZE                BURBANK                  CA
25403   1G1ZD5ST6JF211789   GM           CRUZE                SACRAMENTO               CA
25404   1G1ZD5ST6JF213056   GM           CRUZE                LOS ANGELES              CA
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25405   1G1ZD5ST6JF214319   GM           CRUZE                CHICAGO                  IL
25406   1G1ZD5ST6JF215972   GM           CRUZE                MATTHEWS                 NC
25407   1G1ZD5ST6JF217334   GM           CRUZE                Tampa                    FL
25408   1G1ZD5ST6JF218130   GM           CRUZE                LOS ANGELES              CA
25409   1G1ZD5ST6JF219505   GM           CRUZE                MILWAUKEE                WI
25410   1G1ZD5ST6JF219584   GM           CRUZE                Beaverton                OR
25411   1G1ZD5ST6JF219889   GM           CRUZE                PORTLAND                 OR
25412   1G1ZD5ST6JF219908   GM           CRUZE                LOS ANGELES              CA
25413   1G1ZD5ST6JF219911   GM           CRUZE                BURBANK                  CA
25414   1G1ZD5ST6JF220640   GM           CRUZE                Sacramento               CA
25415   1G1ZD5ST6JF221402   GM           CRUZE                NORTH PAC                CA
25416   1G1ZD5ST6JF222596   GM           CRUZE                LAS VEGAS                NV
25417   1G1ZD5ST6JF223019   GM           CRUZE                Tolleson                 AZ
25418   1G1ZD5ST6JF223425   GM           CRUZE                FORT MYERS               FL
25419   1G1ZD5ST6JF223795   GM           CRUZE                SEATAC                   WA
25420   1G1ZD5ST6JF224364   GM           CRUZE                Las Vegas                NV
25421   1G1ZD5ST6JF226115   GM           CRUZE                Tampa                    FL
25422   1G1ZD5ST6JF226647   GM           CRUZE                STERLING                 VA
25423   1G1ZD5ST6JF227801   GM           CRUZE                ORLANDO                  FL
25424   1G1ZD5ST6JF232013   GM           CRUZE                BALTIMORE                MD
25425   1G1ZD5ST6JF232111   GM           CRUZE                North Dighton            MA
25426   1G1ZD5ST6JF232447   GM           CRUZE                Detroit                  MI
25427   1G1ZD5ST6JF232626   GM           CRUZE                Elkridge                 MD
25428   1G1ZD5ST6JF233016   GM           CRUZE                HANOVER                  MD
25429   1G1ZD5ST6JF233162   GM           CRUZE                STERLING                 VA
25430   1G1ZD5ST6JF233484   GM           CRUZE                FLORIDA DEALER DIR       FL
25431   1G1ZD5ST6JF233517   GM           CRUZE                KENOSHA                  US
25432   1G1ZD5ST6JF233694   GM           CRUZE                OAKLAND                  CA
25433   1G1ZD5ST6JF233811   GM           CRUZE                DENVER                   CO
25434   1G1ZD5ST6JF233999   GM           CRUZE                FORT LAUDERDALE          FL
25435   1G1ZD5ST6JF234053   GM           CRUZE                Manheim                  PA
25436   1G1ZD5ST6JF234067   GM           CRUZE                MIDDLE RIVER             MD
25437   1G1ZD5ST6JF234294   GM           CRUZE                ORLANDO                  FL
25438   1G1ZD5ST6JF235123   GM           CRUZE                CHARLOTTE                NC
25439   1G1ZD5ST6JF235655   GM           CRUZE                PHILADELPHIA             PA
25440   1G1ZD5ST6JF236109   GM           CRUZE                Lake Elsinore            CA
25441   1G1ZD5ST6JF236160   GM           CRUZE                FORT LAUDERDALE          FL
25442   1G1ZD5ST6JF236319   GM           CRUZE                NORTH PAC                CA
25443   1G1ZD5ST6JF236370   GM           CRUZE                LOS ANGELES              CA
25444   1G1ZD5ST6JF236725   GM           CRUZE                BURBANK                  CA
25445   1G1ZD5ST6JF236918   GM           CRUZE                SANTA ANA                CA
25446   1G1ZD5ST6JF237079   GM           CRUZE                SAN FRANCISCO            CA
25447   1G1ZD5ST6JF237325   GM           CRUZE                PENSACOLA                FL
25448   1G1ZD5ST6JF237700   GM           CRUZE                ROSEVILLE                CA
25449   1G1ZD5ST6JF237812   GM           CRUZE                SARASOTA                 FL
25450   1G1ZD5ST6JF237874   GM           CRUZE                BURBANK                  CA
25451   1G1ZD5ST6JF238006   GM           CRUZE                Norwalk                  CA
25452   1G1ZD5ST6JF238216   GM           CRUZE                Ft. Myers                FL
25453   1G1ZD5ST6JF238250   GM           CRUZE                Stockton                 CA
25454   1G1ZD5ST6JF238393   GM           CRUZE                SAN DIEGO                CA
25455   1G1ZD5ST6JF238443   GM           CRUZE                SANTA CLARA              CA
25456   1G1ZD5ST6JF238569   GM           CRUZE                COLLEGE PARK             GA
25457   1G1ZD5ST6JF238734   GM           CRUZE                CHICAGO                  IL
25458   1G1ZD5ST6JF238846   GM           CRUZE                LAS VEGAS                NV
25459   1G1ZD5ST6JF238944   GM           CRUZE                Indianapolis             IN
25460   1G1ZD5ST6JF238975   GM           CRUZE                SAN JOSE                 CA
25461   1G1ZD5ST6JF239009   GM           CRUZE                SARASOTA                 FL
25462   1G1ZD5ST6JF239222   GM           CRUZE                SEATAC                   WA
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25463   1G1ZD5ST6JF239298   GM           CRUZE                Tampa                    FL
25464   1G1ZD5ST6JF239415   GM           CRUZE                Orlando                  FL
25465   1G1ZD5ST6JF240290   GM           CRUZE                ORLANDO                  FL
25466   1G1ZD5ST6JF240466   GM           CRUZE                BURBANK                  CA
25467   1G1ZD5ST6JF240578   GM           CRUZE                DES PLAINES              IL
25468   1G1ZD5ST6JF240581   GM           CRUZE                Cedar Rapids             IA
25469   1G1ZD5ST6JF240600   GM           CRUZE                LOS ANGELES              CA
25470   1G1ZD5ST6JF240869   GM           CRUZE                Framingham               MA
25471   1G1ZD5ST6JF241360   GM           CRUZE                Atlanta                  GA
25472   1G1ZD5ST6JF241486   GM           CRUZE                CHICAGO                  IL
25473   1G1ZD5ST6JF241780   GM           CRUZE                LAS VEGAS                NV
25474   1G1ZD5ST6JF241794   GM           CRUZE                ORLANDO                  FL
25475   1G1ZD5ST6JF242346   GM           CRUZE                SAN DIEGO                CA
25476   1G1ZD5ST6JF242394   GM           CRUZE                BURBANK                  CA
25477   1G1ZD5ST6JF242430   GM           CRUZE                DETROIT                  MI
25478   1G1ZD5ST6JF242461   GM           CRUZE                Ventura                  CA
25479   1G1ZD5ST6JF242475   GM           CRUZE                SAN DIEGO                CA
25480   1G1ZD5ST6JF242492   GM           CRUZE                ROCHESTER                NY
25481   1G1ZD5ST6JF242637   GM           CRUZE                SOUTHEAST DST OFFC       OK
25482   1G1ZD5ST6JF243237   GM           CRUZE                DALLAS                   TX
25483   1G1ZD5ST6JF243318   GM           CRUZE                CHICAGO                  IL
25484   1G1ZD5ST6JF243660   GM           CRUZE                Hendersonville           TN
25485   1G1ZD5ST6JF243741   GM           CRUZE                SAN DIEGO                CA
25486   1G1ZD5ST6JF243836   GM           CRUZE                SAN DIEGO                CA
25487   1G1ZD5ST6JF243870   GM           CRUZE                PHOENIX                  AZ
25488   1G1ZD5ST6JF243884   GM           CRUZE                Elkridge                 MD
25489   1G1ZD5ST6JF243948   GM           CRUZE                Irving                   TX
25490   1G1ZD5ST6JF243982   GM           CRUZE                Miami                    FL
25491   1G1ZD5ST6JF244145   GM           CRUZE                SAN JOSE                 CA
25492   1G1ZD5ST6JF244176   GM           CRUZE                BOSTON                   MA
25493   1G1ZD5ST6JF244372   GM           CRUZE                AUSTIN                   TX
25494   1G1ZD5ST6JF244453   GM           CRUZE                BURBANK                  CA
25495   1G1ZD5ST6JF244470   GM           CRUZE                Riverside                CA
25496   1G1ZD5ST6JF244517   GM           CRUZE                WARWICK                  RI
25497   1G1ZD5ST6JF244520   GM           CRUZE                NORTH PAC                CA
25498   1G1ZD5ST6JF244551   GM           CRUZE                TAMPA                    US
25499   1G1ZD5ST6JF244713   GM           CRUZE                Elgin                    IL
25500   1G1ZD5ST6JF244808   GM           CRUZE                NORTH PAC                CA
25501   1G1ZD5ST6JF244811   GM           CRUZE                RALEIGH                  NC
25502   1G1ZD5ST6JF244887   GM           CRUZE                SAVANNAH                 GA
25503   1G1ZD5ST6JF244906   GM           CRUZE                Chicago                  IL
25504   1G1ZD5ST6JF244940   GM           CRUZE                NORTH PAC                CA
25505   1G1ZD5ST6JF244985   GM           CRUZE                Tolleson                 AZ
25506   1G1ZD5ST6JF245019   GM           CRUZE                Atlanta                  GA
25507   1G1ZD5ST6JF245103   GM           CRUZE                CHARLOTTE                NC
25508   1G1ZD5ST6JF245196   GM           CRUZE                SANTA ANA                CA
25509   1G1ZD5ST6JF245263   GM           CRUZE                SAN ANTONIO              TX
25510   1G1ZD5ST6JF245473   GM           CRUZE                SEATAC                   WA
25511   1G1ZD5ST6JF245487   GM           CRUZE                MIAMI                    FL
25512   1G1ZD5ST6JF245523   GM           CRUZE                BURBANK                  CA
25513   1G1ZD5ST6JF245540   GM           CRUZE                CHICAGO                  IL
25514   1G1ZD5ST6JF245568   GM           CRUZE                BURBANK                  CA
25515   1G1ZD5ST6JF245635   GM           CRUZE                Stockton                 CA
25516   1G1ZD5ST6JF245666   GM           CRUZE                PALM SPRINGS             CA
25517   1G1ZD5ST6JF245702   GM           CRUZE                Austin                   TX
25518   1G1ZD5ST6JF245778   GM           CRUZE                Tampa                    FL
25519   1G1ZD5ST6JF245828   GM           CRUZE                Winston‐Salem            NC
25520   1G1ZD5ST6JF245876   GM           CRUZE                Kent                     WA
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25521   1G1ZD5ST6JF245974   GM           CRUZE                SACRAMENTO               CA
25522   1G1ZD5ST6JF246025   GM           CRUZE                KENNER                   LA
25523   1G1ZD5ST6JF246056   GM           CRUZE                Fresno                   CA
25524   1G1ZD5ST6JF246168   GM           CRUZE                LOS ANGELES              CA
25525   1G1ZD5ST6JF246266   GM           CRUZE                Costa Mesa               CA
25526   1G1ZD5ST6JF246333   GM           CRUZE                KENNER                   LA
25527   1G1ZD5ST6JF246347   GM           CRUZE                ORLANDO                  FL
25528   1G1ZD5ST6JF246364   GM           CRUZE                SAN DIEGO                CA
25529   1G1ZD5ST6JF246395   GM           CRUZE                DENVER                   CO
25530   1G1ZD5ST6JF246428   GM           CRUZE                NORTH PAC                CA
25531   1G1ZD5ST6JF246459   GM           CRUZE                FORT MYERS               FL
25532   1G1ZD5ST6JF246672   GM           CRUZE                FORT LAUDERDALE          FL
25533   1G1ZD5ST6JF246736   GM           CRUZE                TAMPA                    FL
25534   1G1ZD5ST6JF246770   GM           CRUZE                Elkridge                 MD
25535   1G1ZD5ST6JF246879   GM           CRUZE                FORT LAUDERDALE          FL
25536   1G1ZD5ST6JF246896   GM           CRUZE                TUCKER                   GA
25537   1G1ZD5ST6JF246977   GM           CRUZE                GLEN BURNIE              MD
25538   1G1ZD5ST6JF246980   GM           CRUZE                SEATAC                   WA
25539   1G1ZD5ST6JF247000   GM           CRUZE                Philadelphia             PA
25540   1G1ZD5ST6JF247076   GM           CRUZE                SHAKOPEE                 MN
25541   1G1ZD5ST6JF247157   GM           CRUZE                San Antonio              TX
25542   1G1ZD5ST6JF247207   GM           CRUZE                Omaha                    NE
25543   1G1ZD5ST6JF247210   GM           CRUZE                Norwalk                  CA
25544   1G1ZD5ST6JF247269   GM           CRUZE                NORFOLK                  US
25545   1G1ZD5ST6JF247272   GM           CRUZE                SAINT PAUL               MN
25546   1G1ZD5ST6JF247305   GM           CRUZE                PHOENIX                  AZ
25547   1G1ZD5ST6JF247496   GM           CRUZE                WHITE PLAINS             NY
25548   1G1ZD5ST6JF247577   GM           CRUZE                LOS ANGELES AP           CA
25549   1G1ZD5ST6JF247627   GM           CRUZE                Elkridge                 MD
25550   1G1ZD5ST6JF247773   GM           CRUZE                Newark                   NJ
25551   1G1ZD5ST6JF247787   GM           CRUZE                Hartford                 CT
25552   1G1ZD5ST6JF247885   GM           CRUZE                Costa Mesa               CA
25553   1G1ZD5ST6JF247935   GM           CRUZE                Newark                   NJ
25554   1G1ZD5ST6JF247949   GM           CRUZE                Atlanta                  GA
25555   1G1ZD5ST6JF248003   GM           CRUZE                RIVERSIDE                CA
25556   1G1ZD5ST6JF248048   GM           CRUZE                OAKLAND                  CA
25557   1G1ZD5ST6JF248065   GM           CRUZE                ORLANDO                  FL
25558   1G1ZD5ST6JF248082   GM           CRUZE                NEW ENGLAND DEALER       MA
25559   1G1ZD5ST6JF248101   GM           CRUZE                PHOENIX                  AZ
25560   1G1ZD5ST6JF248132   GM           CRUZE                LAS VEGAS                NV
25561   1G1ZD5ST6JF248146   GM           CRUZE                BIRMINGHAM               AL
25562   1G1ZD5ST6JF248163   GM           CRUZE                SANTA ANA                CA
25563   1G1ZD5ST6JF248213   GM           CRUZE                Chandler                 AZ
25564   1G1ZD5ST6JF248230   GM           CRUZE                NORTH HOLLYWOOD          CA
25565   1G1ZD5ST6JF248275   GM           CRUZE                Las Vegas                NV
25566   1G1ZD5ST6JF248342   GM           CRUZE                SAN DIEGO                CA
25567   1G1ZD5ST6JF248437   GM           CRUZE                Philadelphia             PA
25568   1G1ZD5ST6JF248518   GM           CRUZE                WEST COLUMBIA            SC
25569   1G1ZD5ST6JF248597   GM           CRUZE                Clarksville              IN
25570   1G1ZD5ST6JF248602   GM           CRUZE                MEDINA                   OH
25571   1G1ZD5ST6JF248664   GM           CRUZE                Tampa                    FL
25572   1G1ZD5ST6JF248678   GM           CRUZE                Roseville                CA
25573   1G1ZD5ST6JF248972   GM           CRUZE                DES MOINES               IA
25574   1G1ZD5ST6JF248986   GM           CRUZE                Manheim                  PA
25575   1G1ZD5ST6JF249121   GM           CRUZE                HARTFORD                 CT
25576   1G1ZD5ST6JF249135   GM           CRUZE                DOWNEY                   CA
25577   1G1ZD5ST6JF249149   GM           CRUZE                SAN DIEGO                CA
25578   1G1ZD5ST6JF249264   GM           CRUZE                SAVANNAH                 GA
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25579   1G1ZD5ST6JF249314   GM           CRUZE                OAKLAND                  CA
25580   1G1ZD5ST6JF249510   GM           CRUZE                Riverside                CA
25581   1G1ZD5ST6JF249572   GM           CRUZE                CHICAGO                  IL
25582   1G1ZD5ST6JF249667   GM           CRUZE                DFW AIRPORT              TX
25583   1G1ZD5ST6JF249670   GM           CRUZE                Slidell                  LA
25584   1G1ZD5ST6JF249703   GM           CRUZE                NOTTINGHAM               MD
25585   1G1ZD5ST6JF249801   GM           CRUZE                Fort Lauderdale          FL
25586   1G1ZD5ST6JF249863   GM           CRUZE                BOISE                    US
25587   1G1ZD5ST6JF249992   GM           CRUZE                Davie                    FL
25588   1G1ZD5ST6JF250091   GM           MALIBU               FAYETTEVILLE             GA
25589   1G1ZD5ST6JF250186   GM           CRUZE                Kent                     WA
25590   1G1ZD5ST6JF250219   GM           CRUZE                N. Palm Beach            FL
25591   1G1ZD5ST6JF250267   GM           CRUZE                Scottsdale               AZ
25592   1G1ZD5ST6JF250298   GM           CRUZE                STERLING                 VA
25593   1G1ZD5ST6JF250365   GM           CRUZE                TAMPA                    FL
25594   1G1ZD5ST6JF250379   GM           CRUZE                Hendersonville           TN
25595   1G1ZD5ST6JF250480   GM           CRUZE                FORT LAUDERDALE          FL
25596   1G1ZD5ST6JF250656   GM           CRUZE                MIAMI                    FL
25597   1G1ZD5ST6JF250690   GM           CRUZE                SAN JOSE                 CA
25598   1G1ZD5ST6JF250883   GM           CRUZE                Manheim                  PA
25599   1G1ZD5ST6JF251449   GM           CRUZE                S. San Francisc          CA
25600   1G1ZD5ST6JF251483   GM           CRUZE                LOS ANGELES              CA
25601   1G1ZD5ST6JF251502   GM           CRUZE                INDIANAPOLIS             IN
25602   1G1ZD5ST6JF251967   GM           CRUZE                Manheim                  PA
25603   1G1ZD5ST6JF251998   GM           CRUZE                SEATAC                   WA
25604   1G1ZD5ST6JF252083   GM           CRUZE                LAS VEGAS                NV
25605   1G1ZD5ST6JF252293   GM           CRUZE                HANOVER                  MD
25606   1G1ZD5ST6JF252357   GM           CRUZE                ORLANDO                  FL
25607   1G1ZD5ST6JF252438   GM           CRUZE                Bensalem                 PA
25608   1G1ZD5ST6JF252603   GM           CRUZE                PHOENIX                  AZ
25609   1G1ZD5ST6JF253086   GM           CRUZE                Fredericksburg           VA
25610   1G1ZD5ST6JF253119   GM           CRUZE                LAS VEGAS                NV
25611   1G1ZD5ST6JF253248   GM           CRUZE                Roseville                CA
25612   1G1ZD5ST6JF253363   GM           CRUZE                CHICAGO                  IL
25613   1G1ZD5ST6JF253511   GM           CRUZE                LOUISVILLE               KY
25614   1G1ZD5ST6JF253704   GM           CRUZE                SEATTLE                  WA
25615   1G1ZD5ST6JF253783   GM           CRUZE                RALIEGH                  NC
25616   1G1ZD5ST6JF254030   GM           CRUZE                Framingham               MA
25617   1G1ZD5ST6JF254044   GM           CRUZE                Kansas City              MO
25618   1G1ZD5ST6JF254142   GM           CRUZE                PHILADELPHIA             PA
25619   1G1ZD5ST6JF254304   GM           CRUZE                WEST PALM BEACH          FL
25620   1G1ZD5ST6JF254447   GM           CRUZE                San Diego                CA
25621   1G1ZD5ST6JF254593   GM           CRUZE                Elkridge                 MD
25622   1G1ZD5ST6JF254710   GM           CRUZE                ST PAUL                  MN
25623   1G1ZD5ST6JF254920   GM           CRUZE                FULLERTON                CA
25624   1G1ZD5ST6JF255226   GM           CRUZE                LOS ANGELES              CA
25625   1G1ZD5ST6JF255243   GM           CRUZE                SANTA BARBARA            CA
25626   1G1ZD5ST6JF255310   GM           CRUZE                MILWAUKEE                WI
25627   1G1ZD5ST6JF255730   GM           CRUZE                CHICAGO                  IL
25628   1G1ZD5ST6JF255954   GM           CRUZE                MEBANE                   NC
25629   1G1ZD5ST6JF256053   GM           CRUZE                West Bountiful           UT
25630   1G1ZD5ST6JF256103   GM           CRUZE                Atlanta                  GA
25631   1G1ZD5ST6JF256148   GM           CRUZE                TAMPA                    US
25632   1G1ZD5ST6JF256330   GM           CRUZE                SAN JOSE                 CA
25633   1G1ZD5ST6JF256344   GM           CRUZE                South San Franc          CA
25634   1G1ZD5ST6JF256389   GM           CRUZE                Tampa                    FL
25635   1G1ZD5ST6JF256425   GM           CRUZE                Irving                   TX
25636   1G1ZD5ST6JF256506   GM           CRUZE                SPRINGFIELD              VA
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25637   1G1ZD5ST6JF256716   GM           CRUZE                NEW ENGLAND DEALER       MA
25638   1G1ZD5ST6JF256733   GM           CRUZE                Torrance                 CA
25639   1G1ZD5ST6JF256814   GM           CRUZE                ROSEVILLE                CA
25640   1G1ZD5ST6JF256974   GM           CRUZE                OAKLAND                  CA
25641   1G1ZD5ST6JF257252   GM           CRUZE                TUCSON                   AZ
25642   1G1ZD5ST6JF257428   GM           CRUZE                Manheim                  PA
25643   1G1ZD5ST6JF257431   GM           CRUZE                Mira Loma                CA
25644   1G1ZD5ST6JF257543   GM           CRUZE                Tampa                    FL
25645   1G1ZD5ST6JF257557   GM           CRUZE                Bordentown               NJ
25646   1G1ZD5ST6JF257638   GM           CRUZE                PHILADELPHIA             PA
25647   1G1ZD5ST6JF257686   GM           CRUZE                SANTA ANA                CA
25648   1G1ZD5ST6JF257705   GM           CRUZE                ATLANTA                  GA
25649   1G1ZD5ST6JF257736   GM           CRUZE                Honolulu                 HI
25650   1G1ZD5ST6JF257817   GM           CRUZE                TAMPA                    FL
25651   1G1ZD5ST6JF257820   GM           CRUZE                BURBANK                  CA
25652   1G1ZD5ST6JF257915   GM           CRUZE                LAS VEGAS                NV
25653   1G1ZD5ST6JF258885   GM           CRUZE                PHILADELPHIA             PA
25654   1G1ZD5ST6JF258983   GM           CRUZE                NORTH PAC                CA
25655   1G1ZD5ST6JF259020   GM           CRUZE                BURBANK                  CA
25656   1G1ZD5ST6JF259311   GM           CRUZE                BURBANK                  CA
25657   1G1ZD5ST6JF259731   GM           CRUZE                Los Angeles              CA
25658   1G1ZD5ST6JF259969   GM           CRUZE                Dallas                   TX
25659   1G1ZD5ST6JF259986   GM           CRUZE                Roseville                CA
25660   1G1ZD5ST6JF261544   GM           CRUZE                PORTLAND                 OR
25661   1G1ZD5ST6JF261673   GM           CRUZE                NORTH PAC                CA
25662   1G1ZD5ST6JF261768   GM           CRUZE                MARIETTA                 GA
25663   1G1ZD5ST6JF261947   GM           CRUZE                Rio Linda                CA
25664   1G1ZD5ST6JF262371   GM           CRUZE                Detroit                  MI
25665   1G1ZD5ST6JF262452   GM           CRUZE                Tampa                    FL
25666   1G1ZD5ST6JF262855   GM           CRUZE                Atlanta                  GA
25667   1G1ZD5ST6JF262970   GM           CRUZE                Hanover                  MD
25668   1G1ZD5ST6JF263116   GM           CRUZE                Austell                  GA
25669   1G1ZD5ST6JF263536   GM           CRUZE                SYRACUSE                 NY
25670   1G1ZD5ST6JF263553   GM           CRUZE                Statesville              NC
25671   1G1ZD5ST6JF263651   GM           CRUZE                Rockville Centr          NY
25672   1G1ZD5ST6JF263861   GM           CRUZE                BURBANK                  CA
25673   1G1ZD5ST6JF263987   GM           CRUZE                IRVING                   TX
25674   1G1ZD5ST6JF264153   GM           CRUZE                MIAMI                    FL
25675   1G1ZD5ST6JF264167   GM           CRUZE                Portland                 OR
25676   1G1ZD5ST6JF264198   GM           CRUZE                SAN FRANCISCO            CA
25677   1G1ZD5ST6JF264217   GM           CRUZE                SAN JOSE                 CA
25678   1G1ZD5ST6JF264279   GM           CRUZE                TAMPA                    FL
25679   1G1ZD5ST6JF264511   GM           CRUZE                Bridgeton                MO
25680   1G1ZD5ST6JF264637   GM           CRUZE                Hamilton                 OH
25681   1G1ZD5ST6JF264766   GM           CRUZE                St. Louis                MO
25682   1G1ZD5ST6JF265058   GM           CRUZE                Jacksonville             FL
25683   1G1ZD5ST6JF265481   GM           CRUZE                LOS ANGELES              CA
25684   1G1ZD5ST6JF265593   GM           CRUZE                ORLANDO                  FL
25685   1G1ZD5ST6JF265609   GM           CRUZE                St. Louis                MO
25686   1G1ZD5ST6JF265660   GM           CRUZE                CHICAGO                  IL
25687   1G1ZD5ST6JF265710   GM           CRUZE                ORLANDO                  FL
25688   1G1ZD5ST6JF266114   GM           CRUZE                Rio Linda                CA
25689   1G1ZD5ST6JF266145   GM           CRUZE                Tolleson                 AZ
25690   1G1ZD5ST6JF266288   GM           CRUZE                WEST PALM BEACH          FL
25691   1G1ZD5ST6JF266727   GM           CRUZE                CENTRAL DIST OFFC        OK
25692   1G1ZD5ST6JF267344   GM           CRUZE                SANTA ANA                CA
25693   1G1ZD5ST6JF267392   GM           CRUZE                Manheim                  PA
25694   1G1ZD5ST6JF267408   GM           CRUZE                JACKSONVILLE             FL
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25695   1G1ZD5ST6JF267683   GM           CRUZE                Detroit                  MI
25696   1G1ZD5ST6JF268039   GM           CRUZE                LAS VEGAS                NV
25697   1G1ZD5ST6JF268591   GM           CRUZE                PITTSBURGH               PA
25698   1G1ZD5ST6JF268770   GM           CRUZE                PALM SPRINGS             CA
25699   1G1ZD5ST6JF268798   GM           CRUZE                ORLANDO                  FL
25700   1G1ZD5ST6JF269479   GM           CRUZE                Las Vegas                NV
25701   1G1ZD5ST6JF269918   GM           CRUZE                HOUSTON                  TX
25702   1G1ZD5ST6JF269997   GM           CRUZE                Winston‐Salem            NC
25703   1G1ZD5ST6JF270325   GM           CRUZE                PHOENIX                  AZ
25704   1G1ZD5ST6JF270356   GM           CRUZE                BURBANK                  CA
25705   1G1ZD5ST6JF270471   GM           CRUZE                CLEVELAND                OH
25706   1G1ZD5ST6JF270535   GM           CRUZE                ROSEVILLE                CA
25707   1G1ZD5ST6JF270745   GM           CRUZE                SAN JOSE                 CA
25708   1G1ZD5ST6JF270776   GM           CRUZE                Hamilton                 OH
25709   1G1ZD5ST6JF270891   GM           CRUZE                KENNER                   LA
25710   1G1ZD5ST6JF270907   GM           CRUZE                MEMPHIS                  TN
25711   1G1ZD5ST6JF271071   GM           CRUZE                LOS ANGELES              CA
25712   1G1ZD5ST6JF271281   GM           CRUZE                BURBANK                  CA
25713   1G1ZD5ST6JF271569   GM           CRUZE                DALLAS                   TX
25714   1G1ZD5ST6JF271653   GM           CRUZE                SAN ANTONIO              TX
25715   1G1ZD5ST6JF271975   GM           CRUZE                JACKSONVILLE             FL
25716   1G1ZD5ST6JF271992   GM           CRUZE                DENVER                   CO
25717   1G1ZD5ST6JF272009   GM           CRUZE                CHARLOTTE                NC
25718   1G1ZD5ST6JF272026   GM           CRUZE                ORLANDO                  FL
25719   1G1ZD5ST6JF272155   GM           CRUZE                Dallas                   TX
25720   1G1ZD5ST6JF272236   GM           CRUZE                CHARLESTON               WV
25721   1G1ZD5ST6JF272253   GM           CRUZE                Las Vegas                NV
25722   1G1ZD5ST6JF272303   GM           CRUZE                HOUSTON                  TX
25723   1G1ZD5ST6JF272463   GM           CRUZE                FRESNO                   CA
25724   1G1ZD5ST6JF272933   GM           CRUZE                Nashville                TN
25725   1G1ZD5ST6JF274214   GM           CRUZE                PHILADELPHIA             PA
25726   1G1ZD5ST6JF274357   GM           CRUZE                DALLAS                   TX
25727   1G1ZD5ST6JF274455   GM           CRUZE                Rio Linda                CA
25728   1G1ZD5ST6JF274553   GM           CRUZE                TAMPA                    FL
25729   1G1ZD5ST6JF274729   GM           CRUZE                LAS VEGAS                NV
25730   1G1ZD5ST6JF274827   GM           CRUZE                BALTIMORE                MD
25731   1G1ZD5ST6JF274875   GM           CRUZE                Teterboro                NJ
25732   1G1ZD5ST6JF275122   GM           CRUZE                TUCSON                   AZ
25733   1G1ZD5ST6JF275170   GM           CRUZE                KENNER                   LA
25734   1G1ZD5ST6JF275251   GM           CRUZE                Austin                   TX
25735   1G1ZD5ST6JF275265   GM           CRUZE                BOSTON                   MA
25736   1G1ZD5ST6JF275475   GM           CRUZE                Birmingham               AL
25737   1G1ZD5ST6JF275525   GM           CRUZE                Torrance                 CA
25738   1G1ZD5ST6JF275573   GM           CRUZE                WOODLAND HILLS           CA
25739   1G1ZD5ST6JF275685   GM           CRUZE                ATLANTA                  GA
25740   1G1ZD5ST6JF275704   GM           CRUZE                DFW AIRPORT              TX
25741   1G1ZD5ST6JF275914   GM           CRUZE                Richmond                 VA
25742   1G1ZD5ST6JF275993   GM           CRUZE                TAMPA                    FL
25743   1G1ZD5ST6JF276156   GM           CRUZE                TAMPA                    FL
25744   1G1ZD5ST6JF276240   GM           CRUZE                Atlanta                  GA
25745   1G1ZD5ST6JF276349   GM           CRUZE                CORPUS CHRISTI           TX
25746   1G1ZD5ST6JF276478   GM           CRUZE                MIAMI                    FL
25747   1G1ZD5ST6JF276500   GM           CRUZE                CHARLOTTE                NC
25748   1G1ZD5ST6JF276805   GM           CRUZE                LOUISVILLE               KY
25749   1G1ZD5ST6KF104081   GM           MALIBU               FORT LAUDERDALE          FL
25750   1G1ZD5ST6KF104114   GM           MALIBU               Manheim                  PA
25751   1G1ZD5ST6KF104338   GM           MALIBU               FORT LAUDERDALE          FL
25752   1G1ZD5ST6KF104341   GM           MALIBU               WEST PALM BEACH          FL
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25753   1G1ZD5ST6KF104369   GM           MALIBU               ORLANDO                  FL
25754   1G1ZD5ST6KF104422   GM           MALIBU               MIAMI                    FL
25755   1G1ZD5ST6KF104582   GM           MALIBU               NORFOLK                  VA
25756   1G1ZD5ST6KF104615   GM           MALIBU               TAMPA                    US
25757   1G1ZD5ST6KF104727   GM           MALIBU               ROSEVILLE                CA
25758   1G1ZD5ST6KF104789   GM           MALIBU               FORT MYERS               FL
25759   1G1ZD5ST6KF105005   GM           MALIBU               ORLANDO                  FL
25760   1G1ZD5ST6KF105277   GM           MALIBU               RONKONKOMA               NY
25761   1G1ZD5ST6KF105361   GM           MALIBU               TAMPA                    FL
25762   1G1ZD5ST6KF105439   GM           MALIBU               CLEVELAND                OH
25763   1G1ZD5ST6KF105442   GM           MALIBU               Hamilton                 OH
25764   1G1ZD5ST6KF105490   GM           MALIBU               DALLAS                   TX
25765   1G1ZD5ST6KF105568   GM           MALIBU               BALTIMORE                MD
25766   1G1ZD5ST6KF105571   GM           MALIBU               MIAMI                    FL
25767   1G1ZD5ST6KF105621   GM           MALIBU               STERLING                 VA
25768   1G1ZD5ST6KF105649   GM           MALIBU               BIRMINGHAM               AL
25769   1G1ZD5ST6KF105781   GM           MALIBU               NORTH PAC                CA
25770   1G1ZD5ST6KF105814   GM           MALIBU               MIAMI                    FL
25771   1G1ZD5ST6KF105926   GM           MALIBU               PHOENIX                  AZ
25772   1G1ZD5ST6KF105943   GM           MALIBU               DALLAS                   TX
25773   1G1ZD5ST6KF106106   GM           MALIBU               CATONSVILLE              MD
25774   1G1ZD5ST6KF106378   GM           MALIBU               NEWARK                   NY
25775   1G1ZD5ST6KF106509   GM           MALIBU               TAMPA                    FL
25776   1G1ZD5ST6KF106655   GM           MALIBU               Winston‐Salem            NC
25777   1G1ZD5ST6KF106686   GM           MALIBU               LOS ANGELES              CA
25778   1G1ZD5ST6KF106798   GM           MALIBU               FORT MYERS               FL
25779   1G1ZD5ST6KF107336   GM           MALIBU               SEATTLE                  WA
25780   1G1ZD5ST6KF107904   GM           MALIBU               Kent                     WA
25781   1G1ZD5ST6KF108096   GM           MALIBU               NOTTINGHAM               MD
25782   1G1ZD5ST6KF108132   GM           MALIBU               Denver                   CO
25783   1G1ZD5ST6KF108485   GM           MALIBU               SAN ANTONIO              TX
25784   1G1ZD5ST6KF108535   GM           MALIBU               SAN DIEGO                CA
25785   1G1ZD5ST6KF108700   GM           MALIBU               Ft. Myers                FL
25786   1G1ZD5ST6KF108745   GM           MALIBU               HARVEY                   LA
25787   1G1ZD5ST6KF108812   GM           MALIBU               TUCSON                   AZ
25788   1G1ZD5ST6KF108924   GM           MALIBU               Manheim                  PA
25789   1G1ZD5ST6KF110186   GM           MALIBU               Warwick                  RI
25790   1G1ZD5ST6KF110625   GM           MALIBU               Atlanta                  GA
25791   1G1ZD5ST6KF110673   GM           MALIBU               SAN DIEGO                CA
25792   1G1ZD5ST6KF110785   GM           MALIBU               INDIANAPOLIS             IN
25793   1G1ZD5ST6KF110981   GM           MALIBU               Tulsa                    OK
25794   1G1ZD5ST6KF111094   GM           MALIBU               TAMPA                    FL
25795   1G1ZD5ST6KF111340   GM           MALIBU               ATLANTA                  GA
25796   1G1ZD5ST6KF111371   GM           MALIBU               TAMPA                    FL
25797   1G1ZD5ST6KF111466   GM           MALIBU               Memphis                  TN
25798   1G1ZD5ST6KF111581   GM           MALIBU               Detroit                  MI
25799   1G1ZD5ST6KF111869   GM           MALIBU               Windsor Locks            CT
25800   1G1ZD5ST6KF112116   GM           MALIBU               SAN JOSE                 CA
25801   1G1ZD5ST6KF112469   GM           MALIBU               Memphis                  TN
25802   1G1ZD5ST6KF112522   GM           MALIBU               WEST PALM BEACH          FL
25803   1G1ZD5ST6KF112889   GM           MALIBU               Chicago                  IL
25804   1G1ZD5ST6KF113010   GM           MALIBU               Orlando                  FL
25805   1G1ZD5ST6KF113721   GM           MALIBU               ORLANDO                  FL
25806   1G1ZD5ST6KF114058   GM           MALIBU               INDIANAPOLIS             IN
25807   1G1ZD5ST6KF114061   GM           MALIBU               DENVER                   CO
25808   1G1ZD5ST6KF114335   GM           MALIBU               Kansas City              MO
25809   1G1ZD5ST6KF114402   GM           MALIBU               ORLANDO                  FL
25810   1G1ZD5ST6KF114836   GM           MALIBU               TAMPA                    FL
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25811   1G1ZD5ST6KF114867   GM           MALIBU               BURBANK                  CA
25812   1G1ZD5ST6KF115016   GM           MALIBU               KNOXVILLE                TN
25813   1G1ZD5ST6KF115176   GM           MALIBU               FORT MYERS               FL
25814   1G1ZD5ST6KF115212   GM           MALIBU               ORLANDO                  FL
25815   1G1ZD5ST6KF115369   GM           MALIBU               ALBANY                   NY
25816   1G1ZD5ST6KF115629   GM           MALIBU               Miami                    FL
25817   1G1ZD5ST6KF115680   GM           MALIBU               LOUISVILLE               KY
25818   1G1ZD5ST6KF116425   GM           MALIBU               FORT LAUDERDALE          FL
25819   1G1ZD5ST6KF116487   GM           MALIBU               NEW BERN                 NC
25820   1G1ZD5ST6KF116859   GM           MALIBU               Atlanta                  GA
25821   1G1ZD5ST6KF116926   GM           MALIBU               FORT MYERS               FL
25822   1G1ZD5ST6KF117297   GM           MALIBU               Des Moines               IA
25823   1G1ZD5ST6KF117302   GM           MALIBU               TAMPA                    FL
25824   1G1ZD5ST6KF117316   GM           MALIBU               Hebron                   KY
25825   1G1ZD5ST6KF117462   GM           MALIBU               Atlanta                  GA
25826   1G1ZD5ST6KF117591   GM           MALIBU               Atlanta                  GA
25827   1G1ZD5ST6KF117705   GM           MALIBU               Albuquerque              NM
25828   1G1ZD5ST6KF117896   GM           MALIBU               MIAMI                    FL
25829   1G1ZD5ST6KF118188   GM           MALIBU               MIAMI                    FL
25830   1G1ZD5ST6KF118238   GM           MALIBU               Atlanta                  GA
25831   1G1ZD5ST6KF118465   GM           MALIBU               SACRAMENTO               CA
25832   1G1ZD5ST6KF118823   GM           MALIBU               Charlotte                NC
25833   1G1ZD5ST6KF118871   GM           MALIBU               LAS VEGAS                NV
25834   1G1ZD5ST6KF118899   GM           MALIBU               Hebron                   KY
25835   1G1ZD5ST6KF118949   GM           MALIBU               NEW BERN                 NC
25836   1G1ZD5ST6KF119132   GM           MALIBU               LOS ANGELES              CA
25837   1G1ZD5ST6KF119390   GM           MALIBU               FORT LAUDERDALE          FL
25838   1G1ZD5ST6KF121284   GM           MALIBU               Las Vegas                NV
25839   1G1ZD5ST6KF121642   GM           MALIBU               TAMPA                    FL
25840   1G1ZD5ST6KF122323   GM           MALIBU               UNION CITY               GA
25841   1G1ZD5ST6KF122368   GM           MALIBU               Denver                   CO
25842   1G1ZD5ST6KF122452   GM           MALIBU               Phoenix                  AZ
25843   1G1ZD5ST6KF122645   GM           MALIBU               Hartford                 CT
25844   1G1ZD5ST6KF122998   GM           MALIBU               WEST PALM BEACH          FL
25845   1G1ZD5ST6KF123245   GM           MALIBU               BALTIMORE                MD
25846   1G1ZD5ST6KF123326   GM           MALIBU               TALLAHASSEE              F
25847   1G1ZD5ST6KF123388   GM           MALIBU               Atlanta                  GA
25848   1G1ZD5ST6KF123391   GM           MALIBU               FRESNO                   CA
25849   1G1ZD5ST6KF123424   GM           MALIBU               TAMPA                    FL
25850   1G1ZD5ST6KF123486   GM           MALIBU               TAMPA                    FL
25851   1G1ZD5ST6KF123732   GM           MALIBU               TAMPA                    FL
25852   1G1ZD5ST6KF124346   GM           MALIBU               JACKSONVILLE             FL
25853   1G1ZD5ST6KF124508   GM           MALIBU               SAINT PAUL               MN
25854   1G1ZD5ST6KF124539   GM           MALIBU               SANTA ANA                CA
25855   1G1ZD5ST6KF125108   GM           MALIBU               MIAMI                    FL
25856   1G1ZD5ST6KF125173   GM           MALIBU               MIAMI                    FL
25857   1G1ZD5ST6KF125383   GM           MALIBU               KNOXVILLE                TN
25858   1G1ZD5ST6KF125416   GM           MALIBU               WEST PALM BEACH          FL
25859   1G1ZD5ST6KF125688   GM           MALIBU               WEST PALM BEACH          FL
25860   1G1ZD5ST6KF126291   GM           MALIBU               ORLANDO                  FL
25861   1G1ZD5ST6KF126727   GM           MALIBU               Atlanta                  GA
25862   1G1ZD5ST6KF126985   GM           MALIBU               ATLANTA                  GA
25863   1G1ZD5ST6KF127019   GM           MALIBU               Atlanta                  GA
25864   1G1ZD5ST6KF128302   GM           MALIBU               Los Angeles              CA
25865   1G1ZD5ST6KF133497   GM           MALIBU               Pheonix                  AZ
25866   1G1ZD5ST6KF133502   GM           MALIBU               FORT LAUDERDALE          FL
25867   1G1ZD5ST6KF133628   GM           MALIBU               SARASOTA                 FL
25868   1G1ZD5ST6KF133631   GM           MALIBU               SAINT LOUIS              MO
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25869   1G1ZD5ST6KF133693   GM           MALIBU               TAMPA                    FL
25870   1G1ZD5ST6KF134021   GM           MALIBU               ATLANTA                  GA
25871   1G1ZD5ST6KF134097   GM           MALIBU               CHARLESTON               WV
25872   1G1ZD5ST6KF134133   GM           MALIBU               Atlanta                  GA
25873   1G1ZD5ST6KF134245   GM           MALIBU               PHILADELPHIA             PA
25874   1G1ZD5ST6KF134262   GM           MALIBU               Detroit                  MI
25875   1G1ZD5ST6KF134357   GM           MALIBU               ORLANDO                  FL
25876   1G1ZD5ST6KF134360   GM           MALIBU               INDIANAPOLIS             IN
25877   1G1ZD5ST6KF134486   GM           MALIBU               Houston                  TX
25878   1G1ZD5ST6KF134584   GM           MALIBU               Atlanta                  GA
25879   1G1ZD5ST6KF134715   GM           MALIBU               ATLANTA                  GA
25880   1G1ZD5ST6KF134990   GM           MALIBU               FORT LAUDERDALE          FL
25881   1G1ZD5ST6KF135072   GM           MALIBU               Tolleson                 AZ
25882   1G1ZD5ST6KF135153   GM           MALIBU               FORT LAUDERDALE          FL
25883   1G1ZD5ST6KF135167   GM           MALIBU               Hebron                   KY
25884   1G1ZD5ST6KF135170   GM           MALIBU               FORT MYERS               FL
25885   1G1ZD5ST6KF135184   GM           MALIBU               CHICAGO                  IL
25886   1G1ZD5ST6KF135492   GM           MALIBU               Nashville                TN
25887   1G1ZD5ST6KF135539   GM           MALIBU               Hamilton                 OH
25888   1G1ZD5ST6KF135685   GM           MALIBU               Manheim                  PA
25889   1G1ZD5ST6KF135878   GM           MALIBU               PITTSBURGH               PA
25890   1G1ZD5ST6KF135928   GM           MALIBU               ORLANDO                  FL
25891   1G1ZD5ST6KF135959   GM           MALIBU               NEW BERN                 NC
25892   1G1ZD5ST6KF136156   GM           MALIBU               WEST PALM BEACH          FL
25893   1G1ZD5ST6KF136299   GM           MALIBU               ORLANDO                  FL
25894   1G1ZD5ST6KF136352   GM           MALIBU               Hayward                  CA
25895   1G1ZD5ST6KF136903   GM           MALIBU               AUSTIN                   TX
25896   1G1ZD5ST6KF136917   GM           MALIBU               Elkridge                 MD
25897   1G1ZD5ST6KF136965   GM           MALIBU               MIAMI                    FL
25898   1G1ZD5ST6KF137002   GM           MALIBU               FORT LAUDERDALE          FL
25899   1G1ZD5ST6KF137260   GM           MALIBU               TAMPA                    FL
25900   1G1ZD5ST6KF137274   GM           MALIBU               DANIA BEACH              FL
25901   1G1ZD5ST6KF138098   GM           MALIBU               CHARLOTTE                NC
25902   1G1ZD5ST6KF138229   GM           MALIBU               ORLANDO                  FL
25903   1G1ZD5ST6KF138733   GM           MALIBU               Des Moines               IA
25904   1G1ZD5ST6KF138814   GM           MALIBU               MIAMI                    FL
25905   1G1ZD5ST6KF139168   GM           MALIBU               TAMPA                    FL
25906   1G1ZD5ST6KF139350   GM           MALIBU               JACKSONVILLE             FL
25907   1G1ZD5ST6KF139896   GM           MALIBU               BIRMINGHAM               AL
25908   1G1ZD5ST6KF153894   GM           MALIBU               ORLANDO                  FL
25909   1G1ZD5ST6KF153989   GM           MALIBU               BIRMINGHAM               AL
25910   1G1ZD5ST6KF154723   GM           MALIBU               Atlanta                  GA
25911   1G1ZD5ST6KF154849   GM           MALIBU               ORLANDO                  FL
25912   1G1ZD5ST6KF155077   GM           MALIBU               KENNER                   LA
25913   1G1ZD5ST6KF155189   GM           MALIBU               FORT LAUDERDALE          FL
25914   1G1ZD5ST6KF155922   GM           MALIBU               FORT LAUDERDALE          FL
25915   1G1ZD5ST6KF156035   GM           MALIBU               WEST PALM BEACH          FL
25916   1G1ZD5ST6KF156147   GM           MALIBU               FORT MYERS               FL
25917   1G1ZD5ST6KF156214   GM           MALIBU               ORLANDO                  FL
25918   1G1ZD5ST6KF156682   GM           MALIBU               FORT MYERS               FL
25919   1G1ZD5ST6KF156911   GM           MALIBU               LOS ANGELES              CA
25920   1G1ZD5ST6KF157010   GM           MALIBU               ORLANDO                  FL
25921   1G1ZD5ST6KF157248   GM           MALIBU               FORT MYERS               FL
25922   1G1ZD5ST6KF157346   GM           MALIBU               DAYTONA BEACH            FL
25923   1G1ZD5ST6KF157637   GM           MALIBU               FORT MYERS               FL
25924   1G1ZD5ST6KF157914   GM           MALIBU               NOTTINGHAM               MD
25925   1G1ZD5ST6KF157931   GM           MALIBU               ORLANDO                  FL
25926   1G1ZD5ST6KF158173   GM           MALIBU               WEST PALM BEACH          FL
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25927   1G1ZD5ST6KF158318   GM           MALIBU               FORT MYERS               FL
25928   1G1ZD5ST6KF158626   GM           MALIBU               FORT MYERS               FL
25929   1G1ZD5ST6KF158707   GM           MALIBU               BURBANK                  CA
25930   1G1ZD5ST6KF158917   GM           MALIBU               FORT LAUDERDALE          FL
25931   1G1ZD5ST6KF158948   GM           MALIBU               ORLANDO                  FL
25932   1G1ZD5ST6KF159002   GM           MALIBU               TALLAHASSEE              F
25933   1G1ZD5ST6KF159064   GM           MALIBU               Santa Clara              CA
25934   1G1ZD5ST6KF159128   GM           MALIBU               LAS VEGAS                NV
25935   1G1ZD5ST6KF159436   GM           MALIBU               SAN DIEGO                CA
25936   1G1ZD5ST6KF159646   GM           MALIBU               LAS VEGAS                NV
25937   1G1ZD5ST6KF159825   GM           MALIBU               ORLANDO                  FL
25938   1G1ZD5ST6KF159999   GM           MALIBU               SYRACUSE                 NY
25939   1G1ZD5ST6KF160084   GM           MALIBU               FORT LAUDERDALE          FL
25940   1G1ZD5ST6KF160148   GM           MALIBU               ORLANDO                  FL
25941   1G1ZD5ST6KF160439   GM           MALIBU               SANTA CLARA              CA
25942   1G1ZD5ST6KF160442   GM           MALIBU               ST Paul                  MN
25943   1G1ZD5ST6KF160490   GM           MALIBU               MIAMI                    FL
25944   1G1ZD5ST6KF160537   GM           MALIBU               SACRAMENTO               CA
25945   1G1ZD5ST6KF160540   GM           MALIBU               FORT MYERS               FL
25946   1G1ZD5ST6KF160621   GM           MALIBU               ORLANDO                  FL
25947   1G1ZD5ST6KF160716   GM           MALIBU               ORLANDO                  FL
25948   1G1ZD5ST6KF160814   GM           MALIBU               ORLANDO                  FL
25949   1G1ZD5ST6KF160974   GM           MALIBU               Oakland                  CA
25950   1G1ZD5ST6KF161235   GM           MALIBU               FORT MYERS               FL
25951   1G1ZD5ST6KF161445   GM           MALIBU               TAMPA                    FL
25952   1G1ZD5ST6KF161459   GM           MALIBU               FORT MYERS               FL
25953   1G1ZD5ST6KF161686   GM           MALIBU               MIAMI                    FL
25954   1G1ZD5ST6KF161719   GM           MALIBU               WEST PALM BEACH          FL
25955   1G1ZD5ST6KF161929   GM           MALIBU               ORLANDO                  FL
25956   1G1ZD5ST6KF162014   GM           MALIBU               INDIANAPOLIS             IN
25957   1G1ZD5ST6KF162255   GM           MALIBU               Fontana                  CA
25958   1G1ZD5ST6KF162353   GM           MALIBU               FORT LAUDERDALE          FL
25959   1G1ZD5ST6KF162417   GM           MALIBU               TAMPA                    FL
25960   1G1ZD5ST6KF162451   GM           MALIBU               Des Plaines              IL
25961   1G1ZD5ST6KF162479   GM           MALIBU               Coraopolis               PA
25962   1G1ZD5ST6KF162496   GM           MALIBU               WEST PALM BEACH          FL
25963   1G1ZD5ST6KF162529   GM           MALIBU               MIAMI                    FL
25964   1G1ZD5ST6KF162577   GM           MALIBU               FORT LAUDERDALE          FL
25965   1G1ZD5ST6KF162594   GM           MALIBU               Tampa                    FL
25966   1G1ZD5ST6KF162773   GM           MALIBU               TAMPA                    FL
25967   1G1ZD5ST6KF162823   GM           MALIBU               WEST PALM BEACH          FL
25968   1G1ZD5ST6KF162935   GM           MALIBU               FORT LAUDERDALE          FL
25969   1G1ZD5ST6KF162966   GM           MALIBU               TAMPA                    FL
25970   1G1ZD5ST6KF163129   GM           MALIBU               SARASOTA                 FL
25971   1G1ZD5ST6KF163132   GM           MALIBU               SARASOTA                 FL
25972   1G1ZD5ST6KF163146   GM           MALIBU               Oklahoma City            OK
25973   1G1ZD5ST6KF163227   GM           MALIBU               JACKSONVILLE             FL
25974   1G1ZD5ST6KF163289   GM           MALIBU               WEST PALM BEACH          FL
25975   1G1ZD5ST6KF163292   GM           MALIBU               FORT LAUDERDALE          FL
25976   1G1ZD5ST6KF163311   GM           MALIBU               SARASOTA                 FL
25977   1G1ZD5ST6KF163390   GM           MALIBU               FORT MYERS               FL
25978   1G1ZD5ST6KF163406   GM           MALIBU               SOUTHEAST DST OFFC       OK
25979   1G1ZD5ST6KF163423   GM           MALIBU               SAN DIEGO                CA
25980   1G1ZD5ST6KF163454   GM           MALIBU               ORLANDO                  FL
25981   1G1ZD5ST6KF163597   GM           MALIBU               NEW YORK CITY            NY
25982   1G1ZD5ST6KF163616   GM           MALIBU               TAMPA                    FL
25983   1G1ZD5ST6KF163681   GM           MALIBU               Slidell                  LA
25984   1G1ZD5ST6KF163762   GM           MALIBU               Windsor Locks            CT
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25985   1G1ZD5ST6KF163776   GM           MALIBU               MIAMI                    FL
25986   1G1ZD5ST6KF163907   GM           MALIBU               FORT LAUDERDALE          FL
25987   1G1ZD5ST6KF164006   GM           MALIBU               SARASOTA                 FL
25988   1G1ZD5ST6KF164054   GM           MALIBU               SARASOTA                 FL
25989   1G1ZD5ST6KF164068   GM           MALIBU               FORT MYERS               FL
25990   1G1ZD5ST6KF164085   GM           MALIBU               WEST PALM BEACH          FL
25991   1G1ZD5ST6KF164099   GM           MALIBU               Atlanta                  GA
25992   1G1ZD5ST6KF164166   GM           MALIBU               ORLANDO                  FL
25993   1G1ZD5ST6KF164295   GM           MALIBU               JACKSONVILLE             FL
25994   1G1ZD5ST6KF164913   GM           MALIBU               TAMPA                    FL
25995   1G1ZD5ST6KF164989   GM           MALIBU               Tampa                    FL
25996   1G1ZD5ST6KF165026   GM           MALIBU               ST Paul                  MN
25997   1G1ZD5ST6KF165091   GM           MALIBU               SAN JOSE                 CA
25998   1G1ZD5ST6KF165172   GM           MALIBU               WEST COLUMBIA            SC
25999   1G1ZD5ST6KF165205   GM           MALIBU               JACKSONVILLE             FL
26000   1G1ZD5ST6KF165298   GM           MALIBU               Burien                   WA
26001   1G1ZD5ST6KF165317   GM           MALIBU               CLARKSVILLE              IN
26002   1G1ZD5ST6KF165463   GM           MALIBU               Maple Grove              MN
26003   1G1ZD5ST6KF165494   GM           MALIBU               WEST PALM BEACH          FL
26004   1G1ZD5ST6KF165561   GM           MALIBU               Tulsa                    OK
26005   1G1ZD5ST6KF165625   GM           MALIBU               DANIA BEACH              FL
26006   1G1ZD5ST6KF165639   GM           MALIBU               CHICAGO                  IL
26007   1G1ZD5ST6KF165737   GM           MALIBU               Austell                  GA
26008   1G1ZD5ST6KF165771   GM           MALIBU               MIAMI                    FL
26009   1G1ZD5ST6KF165981   GM           MALIBU               FORT LAUDERDALE          FL
26010   1G1ZD5ST6KF166032   GM           MALIBU               CHICAGO                  IL
26011   1G1ZD5ST6KF166175   GM           MALIBU               Florissant               MO
26012   1G1ZD5ST6KF166287   GM           MALIBU               DANIA                    FL
26013   1G1ZD5ST6KF166452   GM           MALIBU               FORT MYERS               FL
26014   1G1ZD5ST6KF166578   GM           MALIBU               JACKSONVILLE             FL
26015   1G1ZD5ST6KF166869   GM           MALIBU               SEATTLE                  WA
26016   1G1ZD5ST6KF166886   GM           MALIBU               FORT MYERS               FL
26017   1G1ZD5ST6KF167021   GM           MALIBU               MIAMI                    FL
26018   1G1ZD5ST6KF167164   GM           MALIBU               Rockville Centr          NY
26019   1G1ZD5ST6KF167407   GM           MALIBU               WEST PALM BEACH          FL
26020   1G1ZD5ST6KF167553   GM           MALIBU               ORLANDO                  FL
26021   1G1ZD5ST6KF167598   GM           MALIBU               Houston                  TX
26022   1G1ZD5ST6KF167746   GM           MALIBU               DETROIT                  MI
26023   1G1ZD5ST6KF167830   GM           MALIBU               SAVANNAH                 GA
26024   1G1ZD5ST6KF167889   GM           MALIBU               DES MOINES               IA
26025   1G1ZD5ST6KF167956   GM           MALIBU               MIAMI                    FL
26026   1G1ZD5ST6KF168010   GM           MALIBU               RICHMOND                 VA
26027   1G1ZD5ST6KF168055   GM           MALIBU               PHILADELPHIA             PA
26028   1G1ZD5ST6KF168881   GM           MALIBU               Nashville                TN
26029   1G1ZD5ST6KF169206   GM           MALIBU               SOUTHEAST DST OFFC       OK
26030   1G1ZD5ST6KF169223   GM           MALIBU               ATLANTA                  GA
26031   1G1ZD5ST6KF169237   GM           MALIBU               Santa Clara              CA
26032   1G1ZD5ST6KF169268   GM           MALIBU               NEWARK                   NJ
26033   1G1ZD5ST6KF169321   GM           MALIBU               SAN FRANCISCO            CA
26034   1G1ZD5ST6KF169383   GM           MALIBU               WEST PALM BEACH          FL
26035   1G1ZD5ST6KF169688   GM           MALIBU               SANTA ANA                CA
26036   1G1ZD5ST6KF169853   GM           MALIBU               FLORIDA DEALER DIR       FL
26037   1G1ZD5ST6KF169903   GM           MALIBU               TAMPA                    FL
26038   1G1ZD5ST6KF170114   GM           MALIBU               SARASOTA                 FL
26039   1G1ZD5ST6KF170159   GM           MALIBU               MIAMI                    FL
26040   1G1ZD5ST6KF170260   GM           MALIBU               WEST PALM BEACH          FL
26041   1G1ZD5ST6KF170694   GM           MALIBU               SAINT LOUIS              MO
26042   1G1ZD5ST6KF170873   GM           MALIBU               ATLANTA                  GA
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26043   1G1ZD5ST6KF170923   GM           MALIBU               KNOXVILLE                TN
26044   1G1ZD5ST6KF170954   GM           MALIBU               Hattiesburg              MS
26045   1G1ZD5ST6KF170985   GM           MALIBU               TAMPA                    FL
26046   1G1ZD5ST6KF171134   GM           MALIBU               Houston                  TX
26047   1G1ZD5ST6KF171277   GM           MALIBU               PITTSBURGH               PA
26048   1G1ZD5ST6KF173837   GM           MALIBU               TAMPA                    FL
26049   1G1ZD5ST6KF175507   GM           MALIBU               ANGOLA                   NY
26050   1G1ZD5ST6KF175572   GM           MALIBU               ORLANDO                  FL
26051   1G1ZD5ST6KF176432   GM           MALIBU               ORLANDO                  FL
26052   1G1ZD5ST6KF176687   GM           MALIBU               ROCHESTER                NY
26053   1G1ZD5ST6KF176897   GM           MALIBU               HOUSTON                  TX
26054   1G1ZD5ST6KF176981   GM           MALIBU               SOUTHEAST DST OFFC       OK
26055   1G1ZD5ST6KF177421   GM           MALIBU               SARASOTA                 FL
26056   1G1ZD5ST6KF177435   GM           MALIBU               Philadelphia             PA
26057   1G1ZD5ST6KF177726   GM           MALIBU               JACKSONVILLE             FL
26058   1G1ZD5ST6KF177886   GM           MALIBU               CHICAGO                  IL
26059   1G1ZD5ST6KF177970   GM           MALIBU               CHATHAM                  VA
26060   1G1ZD5ST6KF178696   GM           MALIBU               STERLING                 VA
26061   1G1ZD5ST6KF179105   GM           MALIBU               MONTGOMERY               AL
26062   1G1ZD5ST6KF180481   GM           MALIBU               Atlanta                  GA
26063   1G1ZD5ST6KF181775   GM           MALIBU               FORT MYERS               FL
26064   1G1ZD5ST6KF182067   GM           MALIBU               Medford                  NY
26065   1G1ZD5ST6KF183526   GM           MALIBU               Bridgeton                MO
26066   1G1ZD5ST6KF184336   GM           MALIBU               Elkridge                 MD
26067   1G1ZD5ST6KF184370   GM           MALIBU               Hebron                   KY
26068   1G1ZD5ST6KF184580   GM           MALIBU               ORLANDO                  FL
26069   1G1ZD5ST6KF184675   GM           MALIBU               TULSA                    OK
26070   1G1ZD5ST6KF184790   GM           MALIBU               JACKSONVILLE             FL
26071   1G1ZD5ST6KF185471   GM           MALIBU               ALBANY                   NY
26072   1G1ZD5ST6KF185793   GM           MALIBU               PHILADELPHIA             PA
26073   1G1ZD5ST6KF186149   GM           MALIBU               St. Louis                MO
26074   1G1ZD5ST6KF208876   GM           MALIBU               Portland                 OR
26075   1G1ZD5ST6KF218193   GM           MALIBU               San Diego                CA
26076   1G1ZD5ST6KF225368   GM           MALIBU               Burien                   WA
26077   1G1ZD5ST6LF026466   GM           MALIBU               WEST PALM BEACH          FL
26078   1G1ZD5ST6LF027004   GM           MALIBU               FORT MYERS               FL
26079   1G1ZD5ST6LF054252   GM           MALIBU               Miami                    FL
26080   1G1ZD5ST6LF061847   GM           MALIBU               FORT MYERS               FL
26081   1G1ZD5ST6LF080821   GM           MALIBU               North Billerica          MA
26082   1G1ZD5ST6LF088109   GM           MALIBU               Medford                  NY
26083   1G1ZD5ST6LF092287   GM           MALIBU               Tulsa                    OK
26084   1G1ZD5ST6LF094007   GM           MALIBU               Tulsa                    OK
26085   1G1ZD5ST6LF095223   GM           MALIBU               NEWARK                   NY
26086   1G1ZD5ST6LF097103   GM           MALIBU               FORT MYERS               FL
26087   1G1ZD5ST6LF099210   GM           MALIBU               Tampa                    FL
26088   1G1ZD5ST7JF122278   GM           CRUZE                NORTH PAC                CA
26089   1G1ZD5ST7JF122815   GM           CRUZE                BOSTON                   MA
26090   1G1ZD5ST7JF123057   GM           CRUZE                DAYTONA BEACH            FL
26091   1G1ZD5ST7JF124838   GM           CRUZE                San Diego                CA
26092   1G1ZD5ST7JF126444   GM           CRUZE                PHOENIX                  AZ
26093   1G1ZD5ST7JF127450   GM           CRUZE                SEATAC                   WA
26094   1G1ZD5ST7JF129232   GM           CRUZE                Fairburn                 GA
26095   1G1ZD5ST7JF130302   GM           CRUZE                Portland                 OR
26096   1G1ZD5ST7JF130915   GM           CRUZE                TRACY                    CA
26097   1G1ZD5ST7JF131305   GM           CRUZE                Davie                    FL
26098   1G1ZD5ST7JF131630   GM           CRUZE                PORTLAND                 OR
26099   1G1ZD5ST7JF132342   GM           CRUZE                LOS ANGELES              CA
26100   1G1ZD5ST7JF132521   GM           CRUZE                Aurora                   CO
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26101   1G1ZD5ST7JF132728   GM           CRUZE                BOSTON                   MA
26102   1G1ZD5ST7JF132938   GM           CRUZE                Kent                     WA
26103   1G1ZD5ST7JF132969   GM           CRUZE                BURBANK                  CA
26104   1G1ZD5ST7JF134303   GM           CRUZE                BURBANK                  CA
26105   1G1ZD5ST7JF135127   GM           CRUZE                ONTARIO                  CA
26106   1G1ZD5ST7JF135242   GM           MALIBU               NORTH PAC                CA
26107   1G1ZD5ST7JF135418   GM           CRUZE                SAN FRANCISCO            CA
26108   1G1ZD5ST7JF135645   GM           CRUZE                NORTH PAC                CA
26109   1G1ZD5ST7JF136178   GM           CRUZE                DAYTONA BEACH            FL
26110   1G1ZD5ST7JF136200   GM           CRUZE                ROSEVILLE                CA
26111   1G1ZD5ST7JF136908   GM           CRUZE                SAN FRANCISCO            CA
26112   1G1ZD5ST7JF137606   GM           CRUZE                LAS VEGAS                NV
26113   1G1ZD5ST7JF137962   GM           CRUZE                BURBANK                  CA
26114   1G1ZD5ST7JF137993   GM           CRUZE                CLEVELAND                OH
26115   1G1ZD5ST7JF138626   GM           CRUZE                TRACY                    CA
26116   1G1ZD5ST7JF138660   GM           CRUZE                Austin                   TX
26117   1G1ZD5ST7JF139761   GM           CRUZE                CHARLOTTE                NC
26118   1G1ZD5ST7JF140280   GM           CRUZE                North Dighton            MA
26119   1G1ZD5ST7JF140621   GM           CRUZE                SEATTLE                  WA
26120   1G1ZD5ST7JF141056   GM           CRUZE                North Dighton            MA
26121   1G1ZD5ST7JF141252   GM           CRUZE                NORTH PAC                CA
26122   1G1ZD5ST7JF141297   GM           CRUZE                BOSTON                   MA
26123   1G1ZD5ST7JF141803   GM           CRUZE                Atlanta                  GA
26124   1G1ZD5ST7JF142935   GM           CRUZE                NEW YORK DEALER DI       NJ
26125   1G1ZD5ST7JF143857   GM           CRUZE                Hanover                  MD
26126   1G1ZD5ST7JF144149   GM           CRUZE                SAN ANTONIO              TX
26127   1G1ZD5ST7JF144331   GM           CRUZE                Cleveland                OH
26128   1G1ZD5ST7JF144362   GM           CRUZE                Fredericksburg           VA
26129   1G1ZD5ST7JF149500   GM           CRUZE                PHILADELPHIA             PA
26130   1G1ZD5ST7JF149593   GM           CRUZE                ENGLEWOOD                CO
26131   1G1ZD5ST7JF150114   GM           CRUZE                BOSTON                   MA
26132   1G1ZD5ST7JF150369   GM           CRUZE                DAYTONA BEACH            FL
26133   1G1ZD5ST7JF150405   GM           CRUZE                BOSTON                   MA
26134   1G1ZD5ST7JF150629   GM           CRUZE                ANNANDALE                VA
26135   1G1ZD5ST7JF150842   GM           CRUZE                Rock Hill                SC
26136   1G1ZD5ST7JF151330   GM           CRUZE                DENVER                   CO
26137   1G1ZD5ST7JF151599   GM           CRUZE                Miami                    FL
26138   1G1ZD5ST7JF151781   GM           CRUZE                ANNANDALE                VA
26139   1G1ZD5ST7JF152428   GM           CRUZE                Fredericksburg           VA
26140   1G1ZD5ST7JF153269   GM           CRUZE                Chicago                  IL
26141   1G1ZD5ST7JF153367   GM           CRUZE                Las Vegas                NV
26142   1G1ZD5ST7JF153725   GM           CRUZE                Riverside                CA
26143   1G1ZD5ST7JF153871   GM           CRUZE                Torrance                 CA
26144   1G1ZD5ST7JF154583   GM           CRUZE                DES MOINES               IA
26145   1G1ZD5ST7JF155152   GM           CRUZE                NORTH PAC                CA
26146   1G1ZD5ST7JF156303   GM           CRUZE                LOS ANGELES              CA
26147   1G1ZD5ST7JF156401   GM           CRUZE                SAN DIEGO                CA
26148   1G1ZD5ST7JF156558   GM           CRUZE                SOUTHWEST DEALER D       TX
26149   1G1ZD5ST7JF156950   GM           CRUZE                NOTTINGHAM               MD
26150   1G1ZD5ST7JF156995   GM           CRUZE                DANIA BEACH              FL
26151   1G1ZD5ST7JF157273   GM           CRUZE                Fontana                  CA
26152   1G1ZD5ST7JF157466   GM           CRUZE                BURBANK                  CA
26153   1G1ZD5ST7JF157709   GM           CRUZE                Norwalk                  CA
26154   1G1ZD5ST7JF157743   GM           CRUZE                NORTH PAC                CA
26155   1G1ZD5ST7JF158200   GM           CRUZE                DAYTONA BEACH            FL
26156   1G1ZD5ST7JF158293   GM           CRUZE                Greensboro               NC
26157   1G1ZD5ST7JF158570   GM           CRUZE                DALLAS                   TX
26158   1G1ZD5ST7JF158634   GM           CRUZE                Elkridge                 MD
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26159   1G1ZD5ST7JF158892   GM           CRUZE                HANOVER                  MD
26160   1G1ZD5ST7JF159508   GM           CRUZE                DALLAS                   TX
26161   1G1ZD5ST7JF159542   GM           CRUZE                Marietta                 GA
26162   1G1ZD5ST7JF159668   GM           CRUZE                Aurora                   CO
26163   1G1ZD5ST7JF159833   GM           CRUZE                Rockville Centr          NY
26164   1G1ZD5ST7JF159895   GM           CRUZE                ORLANDO                  FL
26165   1G1ZD5ST7JF160075   GM           CRUZE                WEST CENTRAL DEALE       CO
26166   1G1ZD5ST7JF160187   GM           CRUZE                Davie                    FL
26167   1G1ZD5ST7JF160321   GM           CRUZE                Winter Park              FL
26168   1G1ZD5ST7JF160741   GM           CRUZE                TAMPA                    FL
26169   1G1ZD5ST7JF160917   GM           CRUZE                PITTSBURGH               PA
26170   1G1ZD5ST7JF160996   GM           CRUZE                Roseville                CA
26171   1G1ZD5ST7JF167172   GM           CRUZE                HANOVER                  MD
26172   1G1ZD5ST7JF169181   GM           CRUZE                Dallas                   TX
26173   1G1ZD5ST7JF169553   GM           CRUZE                WEST PALM BEACH          FL
26174   1G1ZD5ST7JF169990   GM           CRUZE                DAYTONA BEACH            FL
26175   1G1ZD5ST7JF170542   GM           CRUZE                HANOVER                  MD
26176   1G1ZD5ST7JF172937   GM           CRUZE                STERLING                 VA
26177   1G1ZD5ST7JF173165   GM           CRUZE                DAYTONA BEACH            FL
26178   1G1ZD5ST7JF177040   GM           CRUZE                LOS ANGELES              CA
26179   1G1ZD5ST7JF178091   GM           CRUZE                SANTA ANA                CA
26180   1G1ZD5ST7JF178608   GM           CRUZE                SAN FRANCISCO            CA
26181   1G1ZD5ST7JF180049   GM           CRUZE                NEW YORK DEALER DI       NJ
26182   1G1ZD5ST7JF181007   GM           CRUZE                RALEIGH                  NC
26183   1G1ZD5ST7JF181010   GM           CRUZE                ORLANDO                  FL
26184   1G1ZD5ST7JF181363   GM           CRUZE                North Las Vegas          NV
26185   1G1ZD5ST7JF181573   GM           CRUZE                Chicago                  IL
26186   1G1ZD5ST7JF181850   GM           MALIBU               Roseville                CA
26187   1G1ZD5ST7JF182576   GM           CRUZE                CHICAGO                  IL
26188   1G1ZD5ST7JF183808   GM           CRUZE                CHICAGO                  IL
26189   1G1ZD5ST7JF184165   GM           CRUZE                N. Las Vegas             NV
26190   1G1ZD5ST7JF184327   GM           CRUZE                AIEA                     HI
26191   1G1ZD5ST7JF184425   GM           CRUZE                EULESS                   TX
26192   1G1ZD5ST7JF187535   GM           CRUZE                TRACY                    CA
26193   1G1ZD5ST7JF187938   GM           CRUZE                Rio Linda                CA
26194   1G1ZD5ST7JF188507   GM           CRUZE                BURBANK                  CA
26195   1G1ZD5ST7JF191763   GM           CRUZE                Miami                    FL
26196   1G1ZD5ST7JF198339   GM           CRUZE                burbank                  CA
26197   1G1ZD5ST7JF200333   GM           CRUZE                San Diego                CA
26198   1G1ZD5ST7JF202776   GM           CRUZE                BURBANK                  CA
26199   1G1ZD5ST7JF206844   GM           CRUZE                SAN FRANCISCO            CA
26200   1G1ZD5ST7JF212269   GM           CRUZE                BURBANK                  CA
26201   1G1ZD5ST7JF216001   GM           CRUZE                ATLANTA                  GA
26202   1G1ZD5ST7JF217715   GM           CRUZE                NORTH PAC                CA
26203   1G1ZD5ST7JF218640   GM           CRUZE                CHICAGO                  IL
26204   1G1ZD5ST7JF219884   GM           CRUZE                Hayward                  CA
26205   1G1ZD5ST7JF220131   GM           CRUZE                Baltimore                MD
26206   1G1ZD5ST7JF220663   GM           CRUZE                BURBANK                  CA
26207   1G1ZD5ST7JF220937   GM           CRUZE                Atlanta                  GA
26208   1G1ZD5ST7JF221330   GM           CRUZE                TAMPA                    FL
26209   1G1ZD5ST7JF222168   GM           CRUZE                DES MOINES               IA
26210   1G1ZD5ST7JF223479   GM           CRUZE                HOBOKEN                  NJ
26211   1G1ZD5ST7JF223952   GM           CRUZE                SAN ANTONIO              TX
26212   1G1ZD5ST7JF224065   GM           CRUZE                Fontana                  CA
26213   1G1ZD5ST7JF224275   GM           CRUZE                SAN FRANCISCO            CA
26214   1G1ZD5ST7JF224521   GM           CRUZE                BURBANK                  CA
26215   1G1ZD5ST7JF224616   GM           CRUZE                NEW ENGLAND DEALER       MA
26216   1G1ZD5ST7JF224941   GM           CRUZE                TAMPA                    US
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26217   1G1ZD5ST7JF226060   GM           CRUZE                Rock Hill                SC
26218   1G1ZD5ST7JF226401   GM           CRUZE                Denver                   CO
26219   1G1ZD5ST7JF227113   GM           CRUZE                DALLAS                   TX
26220   1G1ZD5ST7JF227421   GM           CRUZE                NEW ENGLAND DEALER       MA
26221   1G1ZD5ST7JF232067   GM           CRUZE                Tampa                    FL
26222   1G1ZD5ST7JF232070   GM           CRUZE                Davie                    FL
26223   1G1ZD5ST7JF232585   GM           CRUZE                PHILADELPHIA             PA
26224   1G1ZD5ST7JF232635   GM           CRUZE                PENSACOLA                FL
26225   1G1ZD5ST7JF232697   GM           CRUZE                HOUSTON                  TX
26226   1G1ZD5ST7JF232781   GM           CRUZE                DAYTONA BEACH            FL
26227   1G1ZD5ST7JF233543   GM           CRUZE                Charlotte                NC
26228   1G1ZD5ST7JF233848   GM           CRUZE                NEW BERN                 NC
26229   1G1ZD5ST7JF235017   GM           CRUZE                CHICAGO                  IL
26230   1G1ZD5ST7JF235261   GM           CRUZE                Omaha                    NE
26231   1G1ZD5ST7JF235955   GM           CRUZE                SAN DIEGO                CA
26232   1G1ZD5ST7JF236071   GM           CRUZE                CENTRAL DIST OFFC        OK
26233   1G1ZD5ST7JF236278   GM           CRUZE                BURBANK                  CA
26234   1G1ZD5ST7JF236376   GM           CRUZE                NORTH PAC                CA
26235   1G1ZD5ST7JF236457   GM           CRUZE                SANTA ANA                CA
26236   1G1ZD5ST7JF236572   GM           CRUZE                SAN JOSE                 CA
26237   1G1ZD5ST7JF236619   GM           CRUZE                Palm Springs             CA
26238   1G1ZD5ST7JF236717   GM           CRUZE                Las Vegas                NV
26239   1G1ZD5ST7JF236720   GM           CRUZE                FORT MYERS               FL
26240   1G1ZD5ST7JF236779   GM           CRUZE                SAN FRANCISCO            CA
26241   1G1ZD5ST7JF236829   GM           CRUZE                Las Vegas                NV
26242   1G1ZD5ST7JF237141   GM           CRUZE                SAN JOSE                 CA
26243   1G1ZD5ST7JF237284   GM           CRUZE                FORT LAUDERDALE          FL
26244   1G1ZD5ST7JF237365   GM           CRUZE                Stockton                 CA
26245   1G1ZD5ST7JF237513   GM           CRUZE                Stockton                 CA
26246   1G1ZD5ST7JF237527   GM           CRUZE                Hanover                  MD
26247   1G1ZD5ST7JF237589   GM           CRUZE                BURBANK                  CA
26248   1G1ZD5ST7JF237656   GM           CRUZE                BURBANK                  CA
26249   1G1ZD5ST7JF237706   GM           CRUZE                LOS ANGELES              CA
26250   1G1ZD5ST7JF237723   GM           CRUZE                Norwalk                  CA
26251   1G1ZD5ST7JF237883   GM           CRUZE                PHILADELPHIA             PA
26252   1G1ZD5ST7JF237897   GM           CRUZE                Massapequa               NY
26253   1G1ZD5ST7JF238015   GM           CRUZE                BURBANK                  CA
26254   1G1ZD5ST7JF238144   GM           CRUZE                ONTARIO                  CA
26255   1G1ZD5ST7JF238211   GM           CRUZE                NORTH PAC                CA
26256   1G1ZD5ST7JF238581   GM           CRUZE                SAN LEANDRO              CA
26257   1G1ZD5ST7JF238743   GM           CRUZE                Salt Lake City           UT
26258   1G1ZD5ST7JF239018   GM           CRUZE                JACKSONVILLE             FL
26259   1G1ZD5ST7JF239133   GM           CRUZE                Burien                   WA
26260   1G1ZD5ST7JF239195   GM           CRUZE                ORLANDO                  FL
26261   1G1ZD5ST7JF239326   GM           CRUZE                SANTA ANA                CA
26262   1G1ZD5ST7JF239360   GM           CRUZE                BURBANK                  CA
26263   1G1ZD5ST7JF239374   GM           CRUZE                SAN JOSE                 CA
26264   1G1ZD5ST7JF239682   GM           CRUZE                DES MOINES               IA
26265   1G1ZD5ST7JF239794   GM           CRUZE                LOS ANGELES              CA
26266   1G1ZD5ST7JF239827   GM           CRUZE                CHICAGO                  IL
26267   1G1ZD5ST7JF240007   GM           CRUZE                DETROIT                  MI
26268   1G1ZD5ST7JF240489   GM           CRUZE                KNOXVILLE                TN
26269   1G1ZD5ST7JF240850   GM           CRUZE                N. Las Vegas             NV
26270   1G1ZD5ST7JF240976   GM           CRUZE                GRAND RAPIDS             MI
26271   1G1ZD5ST7JF241240   GM           CRUZE                NORTH PAC                CA
26272   1G1ZD5ST7JF241383   GM           CRUZE                HEBRON                   KY
26273   1G1ZD5ST7JF241416   GM           CRUZE                COLUMBIA                 SC
26274   1G1ZD5ST7JF241478   GM           CRUZE                Tampa                    FL
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26275   1G1ZD5ST7JF241495   GM           CRUZE                ROANOKE                  VA
26276   1G1ZD5ST7JF241738   GM           CRUZE                Miami                    FL
26277   1G1ZD5ST7JF242078   GM           CRUZE                Newark                   NJ
26278   1G1ZD5ST7JF242310   GM           CRUZE                SANTA ANA                CA
26279   1G1ZD5ST7JF243117   GM           CRUZE                SAN JOSE                 CA
26280   1G1ZD5ST7JF243330   GM           CRUZE                ALBUQUERQUE              NM
26281   1G1ZD5ST7JF243358   GM           CRUZE                BURBANK                  CA
26282   1G1ZD5ST7JF243540   GM           CRUZE                Atlanta                  GA
26283   1G1ZD5ST7JF243764   GM           CRUZE                .                        GA
26284   1G1ZD5ST7JF243912   GM           CRUZE                BURBANK                  CA
26285   1G1ZD5ST7JF244011   GM           CRUZE                PHOENIX                  AZ
26286   1G1ZD5ST7JF244039   GM           CRUZE                CHICAGO                  IL
26287   1G1ZD5ST7JF244042   GM           CRUZE                BIRMINGHAM               AL
26288   1G1ZD5ST7JF244056   GM           CRUZE                PHILADELPHIA             PA
26289   1G1ZD5ST7JF244266   GM           CRUZE                DANIA BEACH              FL
26290   1G1ZD5ST7JF244302   GM           CRUZE                BURBANK                  CA
26291   1G1ZD5ST7JF244350   GM           CRUZE                LOS ANGELES              CA
26292   1G1ZD5ST7JF244493   GM           CRUZE                WEST PALM BEACH          FL
26293   1G1ZD5ST7JF244543   GM           CRUZE                MIAMI                    FL
26294   1G1ZD5ST7JF244767   GM           CRUZE                SAINT LOUIS              MO
26295   1G1ZD5ST7JF244784   GM           CRUZE                CENTRAL DIST OFFC        OK
26296   1G1ZD5ST7JF244929   GM           CRUZE                RALIEGH                  NC
26297   1G1ZD5ST7JF244932   GM           CRUZE                Tolleson                 AZ
26298   1G1ZD5ST7JF245093   GM           CRUZE                Las Vegas                NV
26299   1G1ZD5ST7JF245210   GM           CRUZE                INDIANAPOLIS             IN
26300   1G1ZD5ST7JF245353   GM           CRUZE                Euless                   TX
26301   1G1ZD5ST7JF245367   GM           CRUZE                DES PLAINES              US
26302   1G1ZD5ST7JF245465   GM           CRUZE                SACRAMENTO               CA
26303   1G1ZD5ST7JF245479   GM           CRUZE                CHICAGO                  US
26304   1G1ZD5ST7JF245529   GM           CRUZE                CHICAGO                  IL
26305   1G1ZD5ST7JF245580   GM           CRUZE                WEST PALM BEACH          FL
26306   1G1ZD5ST7JF245630   GM           CRUZE                Columbia                 MD
26307   1G1ZD5ST7JF245689   GM           CRUZE                HAM LAKE                 MN
26308   1G1ZD5ST7JF245773   GM           CRUZE                LOS ANGELES              CA
26309   1G1ZD5ST7JF245823   GM           CRUZE                BURBANK                  CA
26310   1G1ZD5ST7JF245966   GM           CRUZE                Maple Grove              MN
26311   1G1ZD5ST7JF245997   GM           CRUZE                PHILADELPHIA             PA
26312   1G1ZD5ST7JF246017   GM           CRUZE                FT LAUDERDALE            FL
26313   1G1ZD5ST7JF246146   GM           CRUZE                SOUTHWEST DEALER D       TX
26314   1G1ZD5ST7JF246261   GM           CRUZE                Florissant               MO
26315   1G1ZD5ST7JF246275   GM           CRUZE                Norwalk                  CA
26316   1G1ZD5ST7JF246289   GM           CRUZE                Charlotte                NC
26317   1G1ZD5ST7JF246339   GM           CRUZE                NEW ENGLAND DEALER       MA
26318   1G1ZD5ST7JF246440   GM           CRUZE                Burlingame               CA
26319   1G1ZD5ST7JF246468   GM           CRUZE                Dallas                   TX
26320   1G1ZD5ST7JF246518   GM           CRUZE                DETROIT                  MI
26321   1G1ZD5ST7JF246552   GM           CRUZE                Torrance                 CA
26322   1G1ZD5ST7JF246602   GM           CRUZE                CHICAGO                  IL
26323   1G1ZD5ST7JF246664   GM           CRUZE                ST Paul                  MN
26324   1G1ZD5ST7JF246759   GM           CRUZE                SAN DIEGO                CA
26325   1G1ZD5ST7JF246776   GM           CRUZE                JACKSONVILLE             FL
26326   1G1ZD5ST7JF246812   GM           CRUZE                BURBANK                  CA
26327   1G1ZD5ST7JF246843   GM           CRUZE                BURBANK                  CA
26328   1G1ZD5ST7JF246891   GM           CRUZE                BURBANK                  CA
26329   1G1ZD5ST7JF246969   GM           CRUZE                SOUTHEAST DST OFFC       OK
26330   1G1ZD5ST7JF246972   GM           CRUZE                NEW ENGLAND DEALER       MA
26331   1G1ZD5ST7JF247006   GM           CRUZE                LOS ANGELES              CA
26332   1G1ZD5ST7JF247099   GM           CRUZE                Hamilton                 OH
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26333   1G1ZD5ST7JF247183   GM           CRUZE                PENSACOLA                FL
26334   1G1ZD5ST7JF247233   GM           CRUZE                BURBANK                  CA
26335   1G1ZD5ST7JF247278   GM           CRUZE                Warwick                  RI
26336   1G1ZD5ST7JF247314   GM           CRUZE                DENVER                   CO
26337   1G1ZD5ST7JF247345   GM           CRUZE                Lake Elsinore            CA
26338   1G1ZD5ST7JF247460   GM           CRUZE                DETROIT                  MI
26339   1G1ZD5ST7JF247524   GM           CRUZE                RALEIGH                  NC
26340   1G1ZD5ST7JF247605   GM           CRUZE                CLEVELAND                OH
26341   1G1ZD5ST7JF247720   GM           CRUZE                SANTA ANA                CA
26342   1G1ZD5ST7JF247751   GM           CRUZE                LITTLE ROCK              AR
26343   1G1ZD5ST7JF247779   GM           CRUZE                Los Angeles              CA
26344   1G1ZD5ST7JF247913   GM           CRUZE                LOS ANGELES              CA
26345   1G1ZD5ST7JF247958   GM           CRUZE                OKLAHOMA CITY            OK
26346   1G1ZD5ST7JF247961   GM           CRUZE                LOS ANGELES AP           CA
26347   1G1ZD5ST7JF247989   GM           CRUZE                South San Franc          CA
26348   1G1ZD5ST7JF248043   GM           CRUZE                Maple Grove              MN
26349   1G1ZD5ST7JF248074   GM           CRUZE                CHICAGO                  IL
26350   1G1ZD5ST7JF248527   GM           CRUZE                Maple Grove              MN
26351   1G1ZD5ST7JF248558   GM           CRUZE                Denver                   CO
26352   1G1ZD5ST7JF248625   GM           CRUZE                MEDINA                   OH
26353   1G1ZD5ST7JF248656   GM           CRUZE                Salt Lake City           UT
26354   1G1ZD5ST7JF248852   GM           CRUZE                Tampa                    FL
26355   1G1ZD5ST7JF248978   GM           CRUZE                FORT MYERS               FL
26356   1G1ZD5ST7JF248995   GM           CRUZE                BURBANK                  CA
26357   1G1ZD5ST7JF249113   GM           CRUZE                BOSTON                   MA
26358   1G1ZD5ST7JF249158   GM           CRUZE                CHICAGO                  IL
26359   1G1ZD5ST7JF249175   GM           CRUZE                DETROIT                  MI
26360   1G1ZD5ST7JF249189   GM           CRUZE                CHICAGO                  IL
26361   1G1ZD5ST7JF249211   GM           CRUZE                WEST COLUMBIA            SC
26362   1G1ZD5ST7JF249242   GM           CRUZE                Charlotte                NC
26363   1G1ZD5ST7JF249371   GM           CRUZE                BURBANK                  CA
26364   1G1ZD5ST7JF249399   GM           CRUZE                Florissant               MO
26365   1G1ZD5ST7JF249404   GM           CRUZE                RICHMOND                 VA
26366   1G1ZD5ST7JF249421   GM           CRUZE                BURBANK                  CA
26367   1G1ZD5ST7JF249435   GM           CRUZE                Warr Acres               OK
26368   1G1ZD5ST7JF249712   GM           CRUZE                BURBANK                  CA
26369   1G1ZD5ST7JF249726   GM           CRUZE                Baltimore                MD
26370   1G1ZD5ST7JF249743   GM           CRUZE                CORPUS CHRISTI           TX
26371   1G1ZD5ST7JF249760   GM           CRUZE                Atlanta                  GA
26372   1G1ZD5ST7JF249791   GM           CRUZE                DES MOINES               IA
26373   1G1ZD5ST7JF249810   GM           CRUZE                HANOVER                  MD
26374   1G1ZD5ST7JF249855   GM           CRUZE                Norwalk                  CA
26375   1G1ZD5ST7JF249919   GM           CRUZE                BURBANK                  CA
26376   1G1ZD5ST7JF249936   GM           CRUZE                FORT MYERS               FL
26377   1G1ZD5ST7JF249984   GM           CRUZE                BLOOMINGTON              IL
26378   1G1ZD5ST7JF250035   GM           CRUZE                NEW YORK DEALER DI       NJ
26379   1G1ZD5ST7JF250083   GM           CRUZE                Philadelphia             PA
26380   1G1ZD5ST7JF250097   GM           CRUZE                DETROIT                  MI
26381   1G1ZD5ST7JF250102   GM           CRUZE                MIAMI                    FL
26382   1G1ZD5ST7JF250116   GM           CRUZE                DANIA BEACH              FL
26383   1G1ZD5ST7JF250181   GM           CRUZE                Santa Clara              CA
26384   1G1ZD5ST7JF250228   GM           CRUZE                ATLANTA                  GA
26385   1G1ZD5ST7JF250262   GM           CRUZE                CHICAGO                  IL
26386   1G1ZD5ST7JF250276   GM           CRUZE                ST Paul                  MN
26387   1G1ZD5ST7JF250293   GM           CRUZE                Miami                    FL
26388   1G1ZD5ST7JF250326   GM           CRUZE                Killeen                  TX
26389   1G1ZD5ST7JF250343   GM           CRUZE                RENO                     NV
26390   1G1ZD5ST7JF250441   GM           CRUZE                SEATAC                   WA
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26391   1G1ZD5ST7JF250455   GM           CRUZE                BURBANK                  CA
26392   1G1ZD5ST7JF250505   GM           CRUZE                DARLINGTON               SC
26393   1G1ZD5ST7JF250567   GM           CRUZE                LAS VEGAS                NV
26394   1G1ZD5ST7JF250584   GM           CRUZE                HANOVER                  MD
26395   1G1ZD5ST7JF251167   GM           CRUZE                LAS VEGAS                NV
26396   1G1ZD5ST7JF251444   GM           CRUZE                Denver                   CO
26397   1G1ZD5ST7JF251587   GM           CRUZE                SACRAMENTO               CA
26398   1G1ZD5ST7JF251590   GM           CRUZE                Tampa                    FL
26399   1G1ZD5ST7JF251752   GM           CRUZE                BURBANK                  CA
26400   1G1ZD5ST7JF252061   GM           CRUZE                ENGLEWOOD                CO
26401   1G1ZD5ST7JF252089   GM           CRUZE                HOUSTON                  TX
26402   1G1ZD5ST7JF252108   GM           CRUZE                SANTA CLARA              CA
26403   1G1ZD5ST7JF252495   GM           CRUZE                Oklahoma City            OK
26404   1G1ZD5ST7JF252576   GM           CRUZE                ROSEVILLE                CA
26405   1G1ZD5ST7JF252870   GM           CRUZE                SAN FRANCISCO            CA
26406   1G1ZD5ST7JF252948   GM           CRUZE                Cleveland                OH
26407   1G1ZD5ST7JF253047   GM           CRUZE                HOUSTON                  TX
26408   1G1ZD5ST7JF253100   GM           CRUZE                Springfield              MO
26409   1G1ZD5ST7JF253291   GM           CRUZE                SAN JOSE                 CA
26410   1G1ZD5ST7JF253467   GM           CRUZE                Detroit                  MI
26411   1G1ZD5ST7JF253551   GM           CRUZE                ST Paul                  MN
26412   1G1ZD5ST7JF253730   GM           CRUZE                PHOENIX                  AZ
26413   1G1ZD5ST7JF253808   GM           CRUZE                ST Paul                  MN
26414   1G1ZD5ST7JF253811   GM           CRUZE                North Dighton            MA
26415   1G1ZD5ST7JF253937   GM           CRUZE                SAN ANTONIO              TX
26416   1G1ZD5ST7JF253985   GM           CRUZE                BURBANK                  CA
26417   1G1ZD5ST7JF254098   GM           CRUZE                SANFORD                  FL
26418   1G1ZD5ST7JF254165   GM           CRUZE                Atlanta                  GA
26419   1G1ZD5ST7JF254554   GM           CRUZE                PHILADELPHIA             US
26420   1G1ZD5ST7JF254585   GM           CRUZE                CHICAGO                  IL
26421   1G1ZD5ST7JF254618   GM           CRUZE                DETROIT                  MI
26422   1G1ZD5ST7JF254702   GM           CRUZE                SAN ANTONIO              TX
26423   1G1ZD5ST7JF254778   GM           CRUZE                NORTH PAC                CA
26424   1G1ZD5ST7JF255056   GM           CRUZE                SAN ANTONIO              TX
26425   1G1ZD5ST7JF255347   GM           CRUZE                Norwalk                  CA
26426   1G1ZD5ST7JF255350   GM           CRUZE                MEMPHIS                  TN
26427   1G1ZD5ST7JF255395   GM           CRUZE                PLEASANTON               CA
26428   1G1ZD5ST7JF255459   GM           CRUZE                Lake Elsinore            CA
26429   1G1ZD5ST7JF255493   GM           CRUZE                S. San Francisc          CA
26430   1G1ZD5ST7JF255722   GM           CRUZE                LOS ANGELES              CA
26431   1G1ZD5ST7JF255803   GM           CRUZE                St. Louis                MO
26432   1G1ZD5ST7JF255901   GM           CRUZE                Denver                   CO
26433   1G1ZD5ST7JF255915   GM           CRUZE                Atlanta                  GA
26434   1G1ZD5ST7JF256255   GM           CRUZE                FT. LAUDERDALE           FL
26435   1G1ZD5ST7JF256384   GM           CRUZE                CLEVELAND                OH
26436   1G1ZD5ST7JF256532   GM           CRUZE                DENVER                   CO
26437   1G1ZD5ST7JF256577   GM           CRUZE                Atlanta                  GA
26438   1G1ZD5ST7JF256692   GM           CRUZE                Raleigh                  NC
26439   1G1ZD5ST7JF256854   GM           CRUZE                SAN ANTONIO              TX
26440   1G1ZD5ST7JF256983   GM           CRUZE                NEW YORK DEALER DI       NJ
26441   1G1ZD5ST7JF257129   GM           CRUZE                Atlanta                  GA
26442   1G1ZD5ST7JF257423   GM           CRUZE                MIAMI                    FL
26443   1G1ZD5ST7JF257504   GM           CRUZE                Tampa                    FL
26444   1G1ZD5ST7JF257535   GM           CRUZE                FORT MYERS               FL
26445   1G1ZD5ST7JF257678   GM           CRUZE                PHOENIX                  AZ
26446   1G1ZD5ST7JF257695   GM           CRUZE                Dallas                   TX
26447   1G1ZD5ST7JF257731   GM           CRUZE                LOS ANGELES              CA
26448   1G1ZD5ST7JF257762   GM           CRUZE                Las Vegas                NV
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26449   1G1ZD5ST7JF257857   GM           CRUZE                Aurora                   CO
26450   1G1ZD5ST7JF257860   GM           CRUZE                Atlanta                  GA
26451   1G1ZD5ST7JF257941   GM           CRUZE                RALEIGH                  NC
26452   1G1ZD5ST7JF258832   GM           CRUZE                Salt Lake City           UT
26453   1G1ZD5ST7JF259026   GM           CRUZE                MORROW                   GA
26454   1G1ZD5ST7JF259379   GM           CRUZE                BURBANK                  CA
26455   1G1ZD5ST7JF259382   GM           CRUZE                North Las Vegas          NV
26456   1G1ZD5ST7JF259432   GM           CRUZE                NEW YORK DEALER DI       NJ
26457   1G1ZD5ST7JF259625   GM           CRUZE                LOS ANGELES              CA
26458   1G1ZD5ST7JF259818   GM           CRUZE                PHOENIX                  AZ
26459   1G1ZD5ST7JF259916   GM           CRUZE                OAKLAND                  CA
26460   1G1ZD5ST7JF260063   GM           CRUZE                BURBANK                  CA
26461   1G1ZD5ST7JF260130   GM           CRUZE                FRESNO                   CA
26462   1G1ZD5ST7JF260189   GM           CRUZE                SEATAC                   WA
26463   1G1ZD5ST7JF260242   GM           CRUZE                SAN JOSE                 CA
26464   1G1ZD5ST7JF260659   GM           CRUZE                SACRAMENTO               CA
26465   1G1ZD5ST7JF261293   GM           CRUZE                SANTA ANA                CA
26466   1G1ZD5ST7JF261424   GM           CRUZE                West Bountiful           UT
26467   1G1ZD5ST7JF261486   GM           CRUZE                ROSEVILLE                CA
26468   1G1ZD5ST7JF261522   GM           CRUZE                PHOENIX                  AZ
26469   1G1ZD5ST7JF261973   GM           CRUZE                SAINT PAUL               MN
26470   1G1ZD5ST7JF262105   GM           CRUZE                ORLANDO                  FL
26471   1G1ZD5ST7JF262248   GM           CRUZE                BURBANK                  CA
26472   1G1ZD5ST7JF262265   GM           CRUZE                NORTH PAC                CA
26473   1G1ZD5ST7JF262492   GM           CRUZE                Tucson                   AZ
26474   1G1ZD5ST7JF262802   GM           CRUZE                SANTA ANA                CA
26475   1G1ZD5ST7JF262816   GM           CRUZE                TAMPA                    FL
26476   1G1ZD5ST7JF262931   GM           CRUZE                West Bountiful           UT
26477   1G1ZD5ST7JF263092   GM           CRUZE                ORANGE COUNTY            CA
26478   1G1ZD5ST7JF263108   GM           CRUZE                LAS VEGAS                NV
26479   1G1ZD5ST7JF263237   GM           CRUZE                Santa Clara              CA
26480   1G1ZD5ST7JF263254   GM           CRUZE                ORLANDO                  FL
26481   1G1ZD5ST7JF263268   GM           CRUZE                N. Las Vegas             NV
26482   1G1ZD5ST7JF263397   GM           CRUZE                NEW ENGLAND DEALER       MA
26483   1G1ZD5ST7JF263562   GM           CRUZE                PHILADELPHIA             PA
26484   1G1ZD5ST7JF263626   GM           CRUZE                BURBANK                  CA
26485   1G1ZD5ST7JF263643   GM           CRUZE                BURBANK                  CA
26486   1G1ZD5ST7JF263710   GM           CRUZE                WEST PALM BEACH          FL
26487   1G1ZD5ST7JF263819   GM           CRUZE                NORTH PAC                CA
26488   1G1ZD5ST7JF263822   GM           CRUZE                LOS ANGELES              CA
26489   1G1ZD5ST7JF264016   GM           CRUZE                LAS VEGAS                NV
26490   1G1ZD5ST7JF264100   GM           CRUZE                Richmond                 VA
26491   1G1ZD5ST7JF264162   GM           CRUZE                Lynn                     MA
26492   1G1ZD5ST7JF264257   GM           CRUZE                WEST PALM BEACH          FL
26493   1G1ZD5ST7JF264338   GM           CRUZE                Maple Grove              MN
26494   1G1ZD5ST7JF264422   GM           CRUZE                LOS ANGELES              CA
26495   1G1ZD5ST7JF264467   GM           CRUZE                ORLANDO                  FL
26496   1G1ZD5ST7JF264596   GM           CRUZE                CLEVELAND                OH
26497   1G1ZD5ST7JF264775   GM           CRUZE                BURBANK                  CA
26498   1G1ZD5ST7JF264808   GM           CRUZE                Beaverton                OR
26499   1G1ZD5ST7JF265828   GM           CRUZE                KINSTON                  NC
26500   1G1ZD5ST7JF266221   GM           CRUZE                DAYTONA BEACH            FL
26501   1G1ZD5ST7JF266834   GM           CRUZE                Elkridge                 MD
26502   1G1ZD5ST7JF266879   GM           CRUZE                Indianapolis             IN
26503   1G1ZD5ST7JF267112   GM           CRUZE                ORANGE COUNTY            CA
26504   1G1ZD5ST7JF267417   GM           CRUZE                PORTLAND                 OR
26505   1G1ZD5ST7JF267448   GM           CRUZE                DENVER                   CO
26506   1G1ZD5ST7JF267465   GM           CRUZE                WEST PALM BEACH          FL
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26507   1G1ZD5ST7JF267515   GM           CRUZE                FORT LAUDERDALE          FL
26508   1G1ZD5ST7JF267661   GM           CRUZE                KANSAS CITY              MO
26509   1G1ZD5ST7JF268079   GM           CRUZE                SHREVEPORT               LA
26510   1G1ZD5ST7JF268101   GM           CRUZE                BLOOMINGTON              IL
26511   1G1ZD5ST7JF268129   GM           CRUZE                DETROIT                  MI
26512   1G1ZD5ST7JF268227   GM           CRUZE                Austell                  GA
26513   1G1ZD5ST7JF268518   GM           CRUZE                Hartford                 CT
26514   1G1ZD5ST7JF268549   GM           CRUZE                Caledonia                WI
26515   1G1ZD5ST7JF268647   GM           CRUZE                BURBANK                  CA
26516   1G1ZD5ST7JF268759   GM           CRUZE                FORT LAUDERDALE          FL
26517   1G1ZD5ST7JF268776   GM           CRUZE                SAN DIEGO                CA
26518   1G1ZD5ST7JF269023   GM           CRUZE                SAN FRANCISCO            CA
26519   1G1ZD5ST7JF269863   GM           CRUZE                SAN FRANCISCO            CA
26520   1G1ZD5ST7JF269927   GM           CRUZE                ROSEVILLE                CA
26521   1G1ZD5ST7JF270091   GM           CRUZE                North Dighton            MA
26522   1G1ZD5ST7JF270446   GM           CRUZE                BURBANK                  CA
26523   1G1ZD5ST7JF270513   GM           CRUZE                BURBANK                  CA
26524   1G1ZD5ST7JF270575   GM           CRUZE                SACRAMENTO               CA
26525   1G1ZD5ST7JF270639   GM           CRUZE                San Antonio              TX
26526   1G1ZD5ST7JF270737   GM           CRUZE                ROSEVILLE                CA
26527   1G1ZD5ST7JF270933   GM           CRUZE                NORTH PAC                CA
26528   1G1ZD5ST7JF270995   GM           CRUZE                Denver                   CO
26529   1G1ZD5ST7JF271189   GM           CRUZE                BOSTON                   MA
26530   1G1ZD5ST7JF271354   GM           CRUZE                Bridgeton                MO
26531   1G1ZD5ST7JF271368   GM           CRUZE                OAKLAND                  CA
26532   1G1ZD5ST7JF271371   GM           CRUZE                North Las Vegas          NV
26533   1G1ZD5ST7JF271628   GM           CRUZE                WEST PALM BEACH          FL
26534   1G1ZD5ST7JF272164   GM           CRUZE                BUFFALO                  NY
26535   1G1ZD5ST7JF272293   GM           CRUZE                SACRAMENTO               CA
26536   1G1ZD5ST7JF272312   GM           CRUZE                PHOENIX                  AZ
26537   1G1ZD5ST7JF272388   GM           CRUZE                Indianapolis             IN
26538   1G1ZD5ST7JF272391   GM           CRUZE                SAN JOSE                 CA
26539   1G1ZD5ST7JF272424   GM           CRUZE                BURBANK                  CA
26540   1G1ZD5ST7JF272584   GM           CRUZE                DALLAS                   TX
26541   1G1ZD5ST7JF272665   GM           CRUZE                LOS ANGELES              CA
26542   1G1ZD5ST7JF273038   GM           CRUZE                Tolleson                 AZ
26543   1G1ZD5ST7JF273606   GM           CRUZE                SOUTHEAST DST OFFC       OK
26544   1G1ZD5ST7JF273962   GM           CRUZE                OKLAHOMA CITY            OK
26545   1G1ZD5ST7JF274013   GM           CRUZE                SALT LAKE CITY           UT
26546   1G1ZD5ST7JF274206   GM           CRUZE                JACKSONVILLE             US
26547   1G1ZD5ST7JF274495   GM           CRUZE                Costa Mesa               CA
26548   1G1ZD5ST7JF274707   GM           CRUZE                San Antonio              TX
26549   1G1ZD5ST7JF274772   GM           CRUZE                SYRACUSE                 NY
26550   1G1ZD5ST7JF274805   GM           CRUZE                ALBUQUERQUE              NM
26551   1G1ZD5ST7JF274884   GM           CRUZE                FRESNO                   CA
26552   1G1ZD5ST7JF275128   GM           CRUZE
26553   1G1ZD5ST7JF275212   GM           CRUZE                Anaheim                  CA
26554   1G1ZD5ST7JF275291   GM           CRUZE                CHATTANOOGA              TN
26555   1G1ZD5ST7JF275307   GM           CRUZE                SALT LAKE CITY           US
26556   1G1ZD5ST7JF275775   GM           CRUZE                KANSAS CITY              MO
26557   1G1ZD5ST7JF275906   GM           CRUZE                FORT MYERS               FL
26558   1G1ZD5ST7JF276019   GM           CRUZE                CHICAGO                  IL
26559   1G1ZD5ST7JF276067   GM           CRUZE                NEW ORLEANS              LA
26560   1G1ZD5ST7JF276389   GM           CRUZE                Matteson                 IL
26561   1G1ZD5ST7JF276411   GM           CRUZE                CHANDLER                 AZ
26562   1G1ZD5ST7JF276506   GM           CRUZE                BURBANK                  CA
26563   1G1ZD5ST7KF104350   GM           MALIBU               FORT MYERS               FL
26564   1G1ZD5ST7KF104395   GM           MALIBU               STERLING                 VA
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26565   1G1ZD5ST7KF104476   GM           MALIBU               WASHINGTON DC            MD
26566   1G1ZD5ST7KF104669   GM           MALIBU               Nashville                TN
26567   1G1ZD5ST7KF104817   GM           MALIBU               KENNER                   LA
26568   1G1ZD5ST7KF105269   GM           MALIBU               PHILADELPHIA             PA
26569   1G1ZD5ST7KF105322   GM           MALIBU               TAMPA                    FL
26570   1G1ZD5ST7KF105482   GM           MALIBU               FORT LAUDERDALE          FL
26571   1G1ZD5ST7KF105529   GM           MALIBU               TAMPA                    FL
26572   1G1ZD5ST7KF105546   GM           MALIBU               JACKSONVILLE             FL
26573   1G1ZD5ST7KF105997   GM           MALIBU               SARASOTA                 FL
26574   1G1ZD5ST7KF106101   GM           MALIBU               TUCKER                   GA
26575   1G1ZD5ST7KF106471   GM           MALIBU               DAYTONA BEACH            FL
26576   1G1ZD5ST7KF107166   GM           MALIBU               Elkridge                 MD
26577   1G1ZD5ST7KF107300   GM           MALIBU               CLEVELAND                OH
26578   1G1ZD5ST7KF107362   GM           MALIBU               Lake Elsinore            CA
26579   1G1ZD5ST7KF107622   GM           MALIBU               TUCSON                   AZ
26580   1G1ZD5ST7KF107748   GM           MALIBU               TAMPA                    FL
26581   1G1ZD5ST7KF108009   GM           MALIBU               Denver                   CO
26582   1G1ZD5ST7KF108141   GM           MALIBU               PHOENIX                  AZ
26583   1G1ZD5ST7KF108737   GM           MALIBU               CHARLESTON               WV
26584   1G1ZD5ST7KF108818   GM           MALIBU               Dallas                   TX
26585   1G1ZD5ST7KF109046   GM           MALIBU               Grove City               OH
26586   1G1ZD5ST7KF109600   GM           MALIBU               SAN JOSE                 CA
26587   1G1ZD5ST7KF109872   GM           MALIBU               Warwick                  RI
26588   1G1ZD5ST7KF109998   GM           MALIBU               SAN DIEGO                CA
26589   1G1ZD5ST7KF110259   GM           MALIBU               PHILADELPHIA             PA
26590   1G1ZD5ST7KF110312   GM           MALIBU               DULUTH                   GA
26591   1G1ZD5ST7KF110360   GM           MALIBU               BALTIMORE                MD
26592   1G1ZD5ST7KF110777   GM           MALIBU               WEST PALM BEACH          FL
26593   1G1ZD5ST7KF110987   GM           MALIBU               Hebron                   KY
26594   1G1ZD5ST7KF111038   GM           MALIBU               JACKSONVILLE             FL
26595   1G1ZD5ST7KF111184   GM           MALIBU               PROVIDENCE               RI
26596   1G1ZD5ST7KF111508   GM           MALIBU               SAINT PAUL               MN
26597   1G1ZD5ST7KF111525   GM           MALIBU               SARASOTA                 FL
26598   1G1ZD5ST7KF111749   GM           MALIBU               ATLANTA                  GA
26599   1G1ZD5ST7KF112027   GM           MALIBU               GRAND RAPIDS             MI
26600   1G1ZD5ST7KF112223   GM           MALIBU               STERLING                 VA
26601   1G1ZD5ST7KF112481   GM           MALIBU               ATLANTA                  GA
26602   1G1ZD5ST7KF112707   GM           MALIBU               ORLANDO                  FL
26603   1G1ZD5ST7KF112786   GM           MALIBU               Fredericksburg           VA
26604   1G1ZD5ST7KF112965   GM           MALIBU               NEW BERN                 NC
26605   1G1ZD5ST7KF113050   GM           MALIBU               Warr Acres               OK
26606   1G1ZD5ST7KF113193   GM           MALIBU               Jacksonville             FL
26607   1G1ZD5ST7KF113291   GM           MALIBU               TAMPA                    FL
26608   1G1ZD5ST7KF113470   GM           MALIBU               ORLANDO                  FL
26609   1G1ZD5ST7KF113713   GM           MALIBU               Detroit                  MI
26610   1G1ZD5ST7KF113856   GM           MALIBU               PHOENIX                  AZ
26611   1G1ZD5ST7KF114019   GM           MALIBU               Manheim                  PA
26612   1G1ZD5ST7KF114098   GM           MALIBU               SAVANNAH                 GA
26613   1G1ZD5ST7KF114313   GM           MALIBU               albuquerque              nm
26614   1G1ZD5ST7KF114408   GM           MALIBU               ORLANDO                  FL
26615   1G1ZD5ST7KF114442   GM           MALIBU               SEATAC                   WA
26616   1G1ZD5ST7KF114540   GM           MALIBU               SAVANNAH                 GA
26617   1G1ZD5ST7KF114716   GM           MALIBU               ORLANDO                  FL
26618   1G1ZD5ST7KF114876   GM           MALIBU               JACKSONVILLE             FL
26619   1G1ZD5ST7KF115364   GM           MALIBU               FRESNO                   CA
26620   1G1ZD5ST7KF115445   GM           MALIBU               JACKSONVILLE             FL
26621   1G1ZD5ST7KF115462   GM           MALIBU               Harvey                   LA
26622   1G1ZD5ST7KF115574   GM           MALIBU               PHILADELPHIA             PA
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26623   1G1ZD5ST7KF115655   GM           MALIBU               CHARLOTTE                NC
26624   1G1ZD5ST7KF115770   GM           MALIBU               SARASOTA                 FL
26625   1G1ZD5ST7KF115932   GM           MALIBU               CHARLOTTE                NC
26626   1G1ZD5ST7KF116109   GM           MALIBU               Atlanta                  GA
26627   1G1ZD5ST7KF116210   GM           MALIBU               FORT LAUDERDALE          FL
26628   1G1ZD5ST7KF116269   GM           MALIBU               LOS ANGELES              CA
26629   1G1ZD5ST7KF116272   GM           MALIBU               LOS ANGELES              CA
26630   1G1ZD5ST7KF116594   GM           MALIBU               SAN FRANCISCO            CA
26631   1G1ZD5ST7KF116627   GM           MALIBU               Houston                  TX
26632   1G1ZD5ST7KF116661   GM           MALIBU               FORT LAUDERDALE          FL
26633   1G1ZD5ST7KF116692   GM           MALIBU               MIAMI                    FL
26634   1G1ZD5ST7KF116899   GM           MALIBU               EULESS                   TX
26635   1G1ZD5ST7KF117230   GM           MALIBU               BURBANK                  CA
26636   1G1ZD5ST7KF117311   GM           MALIBU               BOSTON                   MA
26637   1G1ZD5ST7KF117387   GM           MALIBU               ORLANDO                  FL
26638   1G1ZD5ST7KF117566   GM           MALIBU               DENVER                   CO
26639   1G1ZD5ST7KF117597   GM           MALIBU               ORLANDO                  FL
26640   1G1ZD5ST7KF117681   GM           MALIBU               FORT MYERS               FL
26641   1G1ZD5ST7KF117762   GM           MALIBU               WARWICK                  RI
26642   1G1ZD5ST7KF117941   GM           MALIBU               FORT MYERS               FL
26643   1G1ZD5ST7KF117972   GM           MALIBU               TAMPA                    FL
26644   1G1ZD5ST7KF118040   GM           MALIBU               ATLANTA                  GA
26645   1G1ZD5ST7KF118264   GM           MALIBU               Fredericksburg           VA
26646   1G1ZD5ST7KF118300   GM           MALIBU               OKLAHOMA CITY            OK
26647   1G1ZD5ST7KF119396   GM           MALIBU               FORT LAUDERDALE          FL
26648   1G1ZD5ST7KF119902   GM           MALIBU               TAMPA                    FL
26649   1G1ZD5ST7KF119933   GM           MALIBU               LOS ANGELES              CA
26650   1G1ZD5ST7KF120466   GM           MALIBU               DENVER                   CO
26651   1G1ZD5ST7KF121147   GM           MALIBU               BURBANK                  CA
26652   1G1ZD5ST7KF121195   GM           MALIBU               NEW BERN                 NC
26653   1G1ZD5ST7KF121472   GM           MALIBU               Sacramento               CA
26654   1G1ZD5ST7KF121696   GM           MALIBU               Hanover                  MD
26655   1G1ZD5ST7KF122105   GM           MALIBU               Denver                   CO
26656   1G1ZD5ST7KF122458   GM           MALIBU               PHOENIX                  AZ
26657   1G1ZD5ST7KF122976   GM           MALIBU               SPRINGFIELD              VA
26658   1G1ZD5ST7KF123299   GM           MALIBU               KENNER                   LA
26659   1G1ZD5ST7KF123559   GM           MALIBU               BURBANK                  CA
26660   1G1ZD5ST7KF123710   GM           MALIBU               TAMPA                    FL
26661   1G1ZD5ST7KF124162   GM           MALIBU               KNOXVILLE                TN
26662   1G1ZD5ST7KF124243   GM           MALIBU               ORLANDO                  FL
26663   1G1ZD5ST7KF124579   GM           MALIBU               WEST PALM BEACH          FL
26664   1G1ZD5ST7KF125084   GM           MALIBU               Austin                   TX
26665   1G1ZD5ST7KF125179   GM           MALIBU               DETROIT                  MI
26666   1G1ZD5ST7KF125215   GM           MALIBU               Caledonia                WI
26667   1G1ZD5ST7KF125554   GM           MALIBU               MIAMI                    FL
26668   1G1ZD5ST7KF125862   GM           MALIBU               MONTEREY                 CA
26669   1G1ZD5ST7KF126252   GM           MALIBU               Detroit                  MI
26670   1G1ZD5ST7KF126509   GM           MALIBU               TAMPA                    FL
26671   1G1ZD5ST7KF126591   GM           MALIBU               MIAMI                    FL
26672   1G1ZD5ST7KF126686   GM           MALIBU               NEW YORK CITY            NY
26673   1G1ZD5ST7KF133332   GM           MALIBU               AUSTIN                   TX
26674   1G1ZD5ST7KF133413   GM           MALIBU               Houston                  TX
26675   1G1ZD5ST7KF133556   GM           MALIBU               Omaha                    NE
26676   1G1ZD5ST7KF133671   GM           MALIBU               SACRAMENTO               CA
26677   1G1ZD5ST7KF133847   GM           MALIBU               CLARKSVILLE              IN
26678   1G1ZD5ST7KF133881   GM           MALIBU               CHICAGO                  IL
26679   1G1ZD5ST7KF133959   GM           MALIBU               DETROIT                  MI
26680   1G1ZD5ST7KF134061   GM           MALIBU               Anaheim                  CA
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26681   1G1ZD5ST7KF134111   GM           MALIBU               Manheim                  PA
26682   1G1ZD5ST7KF134321   GM           MALIBU               SARASOTA                 FL
26683   1G1ZD5ST7KF134383   GM           MALIBU               LAUREL                   MD
26684   1G1ZD5ST7KF134397   GM           MALIBU               Atlanta                  GA
26685   1G1ZD5ST7KF134593   GM           MALIBU               ORLANDO                  FL
26686   1G1ZD5ST7KF134707   GM           MALIBU               ORLANDO                  FL
26687   1G1ZD5ST7KF134772   GM           MALIBU               TAMPA                    FL
26688   1G1ZD5ST7KF134948   GM           MALIBU               ATLANTA                  GA
26689   1G1ZD5ST7KF135002   GM           MALIBU               FORT LAUDERDALE          FL
26690   1G1ZD5ST7KF135114   GM           MALIBU               TAMPA                    FL
26691   1G1ZD5ST7KF135128   GM           MALIBU               SARASOTA                 FL
26692   1G1ZD5ST7KF135162   GM           MALIBU               MIAMI                    FL
26693   1G1ZD5ST7KF135338   GM           MALIBU               NEW BERN                 NC
26694   1G1ZD5ST7KF135355   GM           MALIBU               OAKLAND                  CA
26695   1G1ZD5ST7KF135419   GM           MALIBU               Tolleson                 AZ
26696   1G1ZD5ST7KF135520   GM           MALIBU               ORLANDO                  FL
26697   1G1ZD5ST7KF135596   GM           MALIBU               FORT LAUDERDALE          FL
26698   1G1ZD5ST7KF135694   GM           MALIBU               NORFOLK                  VA
26699   1G1ZD5ST7KF135954   GM           MALIBU               FORT MYERS               FL
26700   1G1ZD5ST7KF136182   GM           MALIBU               Tampa                    FL
26701   1G1ZD5ST7KF136733   GM           MALIBU               FORT LAUDERDALE          FL
26702   1G1ZD5ST7KF136957   GM           MALIBU               ORLANDO                  FL
26703   1G1ZD5ST7KF137381   GM           MALIBU               ORLANDO                  FL
26704   1G1ZD5ST7KF137431   GM           MALIBU               Clarksville              IN
26705   1G1ZD5ST7KF137512   GM           MALIBU               LOUISVILLE               KY
26706   1G1ZD5ST7KF137980   GM           MALIBU               RICHMOND                 VA
26707   1G1ZD5ST7KF138157   GM           MALIBU               TAMPA                    FL
26708   1G1ZD5ST7KF138885   GM           MALIBU               CHARLOTTE                NC
26709   1G1ZD5ST7KF138918   GM           MALIBU               WEST PALM BEACH          FL
26710   1G1ZD5ST7KF139048   GM           MALIBU               Chicago                  IL
26711   1G1ZD5ST7KF139468   GM           MALIBU               Indianapolis             IN
26712   1G1ZD5ST7KF139664   GM           MALIBU               WEST PALM BEACH          FL
26713   1G1ZD5ST7KF154455   GM           MALIBU               Fontana                  CA
26714   1G1ZD5ST7KF154567   GM           MALIBU               TAMPA                    FL
26715   1G1ZD5ST7KF154620   GM           MALIBU               BUFFALO                  NY
26716   1G1ZD5ST7KF154858   GM           MALIBU               Fredericksburg           VA
26717   1G1ZD5ST7KF154990   GM           MALIBU               TAMPA                    FL
26718   1G1ZD5ST7KF155055   GM           MALIBU               HOUSTON                  TX
26719   1G1ZD5ST7KF155220   GM           MALIBU               Birmingham               AL
26720   1G1ZD5ST7KF156321   GM           MALIBU               MIAMI                    FL
26721   1G1ZD5ST7KF156447   GM           MALIBU               SARASOTA                 FL
26722   1G1ZD5ST7KF156755   GM           MALIBU               STERLING                 VA
26723   1G1ZD5ST7KF157548   GM           MALIBU               ORLANDO                  FL
26724   1G1ZD5ST7KF158005   GM           MALIBU               SARASOTA                 FL
26725   1G1ZD5ST7KF158098   GM           MALIBU               Hayward                  CA
26726   1G1ZD5ST7KF158232   GM           MALIBU               KNOXVILLE                TN
26727   1G1ZD5ST7KF158358   GM           MALIBU               Houston                  TX
26728   1G1ZD5ST7KF158652   GM           MALIBU               SARASOTA                 FL
26729   1G1ZD5ST7KF158778   GM           MALIBU               FORT MYERS               FL
26730   1G1ZD5ST7KF158862   GM           MALIBU               JACKSONVILLE             FL
26731   1G1ZD5ST7KF159316   GM           MALIBU               SARASOTA                 FL
26732   1G1ZD5ST7KF159591   GM           MALIBU               COLLEGE PARK             GA
26733   1G1ZD5ST7KF159705   GM           MALIBU               Portland                 OR
26734   1G1ZD5ST7KF159803   GM           MALIBU               ORLANDO                  FL
26735   1G1ZD5ST7KF159915   GM           MALIBU               FORT MYERS               FL
26736   1G1ZD5ST7KF160188   GM           MALIBU               FORT MYERS               FL
26737   1G1ZD5ST7KF160465   GM           MALIBU               TAMPA                    FL
26738   1G1ZD5ST7KF160577   GM           MALIBU               Riverside                CA
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26739   1G1ZD5ST7KF160594   GM           MALIBU               TAMPA                    FL
26740   1G1ZD5ST7KF160675   GM           MALIBU               FORT MYERS               FL
26741   1G1ZD5ST7KF160689   GM           MALIBU               SEATTLE                  WA
26742   1G1ZD5ST7KF160692   GM           MALIBU               JACKSONVILLE             FL
26743   1G1ZD5ST7KF161065   GM           MALIBU               ORLANDO                  FL
26744   1G1ZD5ST7KF161079   GM           MALIBU               Omaha                    NE
26745   1G1ZD5ST7KF161082   GM           MALIBU               Santa Clara              CA
26746   1G1ZD5ST7KF161213   GM           MALIBU               TAMPA                    FL
26747   1G1ZD5ST7KF161258   GM           MALIBU               FORT LAUDERDALE          FL
26748   1G1ZD5ST7KF161437   GM           MALIBU               ORLANDO                  FL
26749   1G1ZD5ST7KF161468   GM           MALIBU               FORT MYERS               FL
26750   1G1ZD5ST7KF161535   GM           MALIBU               albuquerque              nm
26751   1G1ZD5ST7KF161583   GM           MALIBU               ORLANDO                  FL
26752   1G1ZD5ST7KF161650   GM           MALIBU               TAMPA                    FL
26753   1G1ZD5ST7KF161728   GM           MALIBU               ORLANDO                  FL
26754   1G1ZD5ST7KF161762   GM           MALIBU               MIAMI                    FL
26755   1G1ZD5ST7KF161826   GM           MALIBU               FORT MYERS               FL
26756   1G1ZD5ST7KF161907   GM           MALIBU               MIAMI                    FL
26757   1G1ZD5ST7KF162037   GM           MALIBU               ORLANDO                  FL
26758   1G1ZD5ST7KF162068   GM           MALIBU               POOLER                   GA
26759   1G1ZD5ST7KF162216   GM           MALIBU               MIAMI                    FL
26760   1G1ZD5ST7KF162460   GM           MALIBU               MIAMI                    FL
26761   1G1ZD5ST7KF162474   GM           MALIBU               FORT LAUDERDALE          FL
26762   1G1ZD5ST7KF162524   GM           MALIBU               JACKSONVILLE             FL
26763   1G1ZD5ST7KF162684   GM           MALIBU               ORLANDO                  FL
26764   1G1ZD5ST7KF162846   GM           MALIBU               SARASOTA                 FL
26765   1G1ZD5ST7KF162930   GM           MALIBU               MIAMI                    FL
26766   1G1ZD5ST7KF162989   GM           MALIBU               MIAMI                    FL
26767   1G1ZD5ST7KF162992   GM           MALIBU               ORLANDO                  FL
26768   1G1ZD5ST7KF163043   GM           MALIBU               SAVANNAH                 GA
26769   1G1ZD5ST7KF163110   GM           MALIBU               MIAMI                    FL
26770   1G1ZD5ST7KF163169   GM           MALIBU               TAMPA                    FL
26771   1G1ZD5ST7KF163236   GM           MALIBU               Massapequa               NY
26772   1G1ZD5ST7KF163396   GM           MALIBU               TAMPA                    FL
26773   1G1ZD5ST7KF163429   GM           MALIBU               SAVANNAH                 GA
26774   1G1ZD5ST7KF163558   GM           MALIBU               Tampa                    FL
26775   1G1ZD5ST7KF163639   GM           MALIBU               FORT MYERS               FL
26776   1G1ZD5ST7KF163785   GM           MALIBU               JACKSONVILLE             FL
26777   1G1ZD5ST7KF163852   GM           MALIBU               JACKSONVILLE             FL
26778   1G1ZD5ST7KF163933   GM           MALIBU               Dallas                   TX
26779   1G1ZD5ST7KF164192   GM           MALIBU               ORLANDO                  FL
26780   1G1ZD5ST7KF164340   GM           MALIBU               CHICAGO                  IL
26781   1G1ZD5ST7KF164371   GM           MALIBU               FORT LAUDERDALE          FL
26782   1G1ZD5ST7KF164418   GM           MALIBU               WEST PALM BEACH          FL
26783   1G1ZD5ST7KF164449   GM           MALIBU               ORLANDO                  FL
26784   1G1ZD5ST7KF164712   GM           MALIBU               KNOXVILLE                TN
26785   1G1ZD5ST7KF164869   GM           MALIBU               Detroit                  MI
26786   1G1ZD5ST7KF164919   GM           MALIBU               Atlanta                  GA
26787   1G1ZD5ST7KF165178   GM           MALIBU               PHILADELPHIA             PA
26788   1G1ZD5ST7KF165245   GM           MALIBU               SAN FRANCISCO            CA
26789   1G1ZD5ST7KF165262   GM           MALIBU               Jacksonville             FL
26790   1G1ZD5ST7KF165861   GM           MALIBU               North Dighton            MA
26791   1G1ZD5ST7KF166086   GM           MALIBU               WEST PALM BEACH          FL
26792   1G1ZD5ST7KF166170   GM           MALIBU               Nashville                TN
26793   1G1ZD5ST7KF166184   GM           MALIBU               Houston                  TX
26794   1G1ZD5ST7KF166279   GM           MALIBU               Detroit                  MI
26795   1G1ZD5ST7KF166606   GM           MALIBU               WEST PALM BEACH          FL
26796   1G1ZD5ST7KF166637   GM           MALIBU               SAINT PAUL               MN
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26797   1G1ZD5ST7KF166654   GM           MALIBU               FORT MYERS               FL
26798   1G1ZD5ST7KF166752   GM           MALIBU               Clarksville              IN
26799   1G1ZD5ST7KF166766   GM           MALIBU               Anaheim                  CA
26800   1G1ZD5ST7KF166878   GM           MALIBU               WEST PALM BEACH          FL
26801   1G1ZD5ST7KF167030   GM           MALIBU               JACKSONVILLE             FL
26802   1G1ZD5ST7KF167237   GM           MALIBU               FORT LAUDERDALE          FL
26803   1G1ZD5ST7KF167321   GM           MALIBU               KENNER                   LA
26804   1G1ZD5ST7KF167559   GM           MALIBU               Coraopolis               PA
26805   1G1ZD5ST7KF167576   GM           MALIBU               ORLANDO                  FL
26806   1G1ZD5ST7KF167660   GM           MALIBU               ORLANDO                  FL
26807   1G1ZD5ST7KF168016   GM           MALIBU               ORLANDO                  FL
26808   1G1ZD5ST7KF168257   GM           MALIBU               TAMPA                    FL
26809   1G1ZD5ST7KF168422   GM           MALIBU               Omaha                    NE
26810   1G1ZD5ST7KF168453   GM           MALIBU               FORT LAUDERDALE          FL
26811   1G1ZD5ST7KF168601   GM           MALIBU               College Park             GA
26812   1G1ZD5ST7KF168839   GM           MALIBU               ST Paul                  MN
26813   1G1ZD5ST7KF168906   GM           MALIBU               Wichita                  KS
26814   1G1ZD5ST7KF169554   GM           MALIBU               WEST PALM BEACH          FL
26815   1G1ZD5ST7KF169621   GM           MALIBU               Portland                 OR
26816   1G1ZD5ST7KF169697   GM           MALIBU               Kansas City              MO
26817   1G1ZD5ST7KF169957   GM           MALIBU               ORLANDO                  FL
26818   1G1ZD5ST7KF170266   GM           MALIBU               ORLANDO                  FL
26819   1G1ZD5ST7KF170557   GM           MALIBU               Atlanta                  GA
26820   1G1ZD5ST7KF170672   GM           MALIBU               Miami                    FL
26821   1G1ZD5ST7KF170851   GM           MALIBU               Cudahy                   WI
26822   1G1ZD5ST7KF171059   GM           MALIBU               ORLANDO                  FL
26823   1G1ZD5ST7KF171420   GM           MALIBU               ORLANDO                  FL
26824   1G1ZD5ST7KF174138   GM           MALIBU               Chicago                  IL
26825   1G1ZD5ST7KF175516   GM           MALIBU               Austin                   TX
26826   1G1ZD5ST7KF176522   GM           MALIBU               CHICAGO                  IL
26827   1G1ZD5ST7KF176908   GM           MALIBU               Grove City               OH
26828   1G1ZD5ST7KF178190   GM           MALIBU               GLASSBORO                NJ
26829   1G1ZD5ST7KF180263   GM           MALIBU               Kansas City              MO
26830   1G1ZD5ST7KF180442   GM           MALIBU               WEST PALM BEACH          FL
26831   1G1ZD5ST7KF180781   GM           MALIBU               Nashville                TN
26832   1G1ZD5ST7KF181137   GM           MALIBU               FORT MYERS               FL
26833   1G1ZD5ST7KF182109   GM           MALIBU               KNOXVILLE                TN
26834   1G1ZD5ST7KF183826   GM           MALIBU               JACKSON                  MS
26835   1G1ZD5ST7KF186032   GM           MALIBU               SHREVEPORT               LA
26836   1G1ZD5ST7KF194910   GM           MALIBU               San Diego                CA
26837   1G1ZD5ST7KF196351   GM           MALIBU               Riverside                CA
26838   1G1ZD5ST7LF032034   GM           MALIBU               FORT MYERS               FL
26839   1G1ZD5ST7LF033233   GM           MALIBU               Memphis                  TN
26840   1G1ZD5ST7LF034804   GM           MALIBU               Phoenix                  AZ
26841   1G1ZD5ST7LF035371   GM           MALIBU               JACKSONVILLE             FL
26842   1G1ZD5ST7LF036150   GM           MALIBU               Statesville              NC
26843   1G1ZD5ST7LF078169   GM           MALIBU               Tulsa                    OK
26844   1G1ZD5ST7LF080827   GM           MALIBU               North Billerica          MA
26845   1G1ZD5ST7LF088703   GM           MALIBU               MYRTLE BEACH             SC
26846   1G1ZD5ST7LF092220   GM           MALIBU               Oklahoma City            OK
26847   1G1ZD5ST7LF095473   GM           MALIBU               GLASSBORO                NJ
26848   1G1ZD5ST7LF096963   GM           MALIBU               Orlando                  FL
26849   1G1ZD5ST7LF097224   GM           MALIBU               FORT MYERS               FL
26850   1G1ZD5ST7LF099121   GM           MALIBU               Davie                    FL
26851   1G1ZD5ST7LF108822   GM           MALIBU               FORT MYERS               FL
26852   1G1ZD5ST8JF122841   GM           CRUZE                Oakland                  CA
26853   1G1ZD5ST8JF122984   GM           CRUZE                DENVER                   CO
26854   1G1ZD5ST8JF129739   GM           CRUZE                CHICAGO                  IL
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26855   1G1ZD5ST8JF130051   GM           CRUZE                DES PLAINES              IL
26856   1G1ZD5ST8JF132575   GM           CRUZE                Honolulu                 HI
26857   1G1ZD5ST8JF132611   GM           CRUZE                Tampa                    FL
26858   1G1ZD5ST8JF132821   GM           CRUZE                SANTA ANA                CA
26859   1G1ZD5ST8JF133788   GM           CRUZE                PHILADELPHIA             PA
26860   1G1ZD5ST8JF135489   GM           CRUZE                BURBANK                  CA
26861   1G1ZD5ST8JF135685   GM           CRUZE                Hanover                  MD
26862   1G1ZD5ST8JF135802   GM           CRUZE                SPRINGFIELD              VA
26863   1G1ZD5ST8JF135993   GM           CRUZE                NORTH PAC                CA
26864   1G1ZD5ST8JF137856   GM           CRUZE                Mira Loma                CA
26865   1G1ZD5ST8JF137887   GM           CRUZE                Las Vegas                NV
26866   1G1ZD5ST8JF138120   GM           CRUZE                Elkridge                 MD
26867   1G1ZD5ST8JF138313   GM           CRUZE                PHILADELPHIA             PA
26868   1G1ZD5ST8JF139428   GM           CRUZE                Riverside                CA
26869   1G1ZD5ST8JF140188   GM           CRUZE                SAN FRANCISCO            CA
26870   1G1ZD5ST8JF140238   GM           CRUZE                NORTH PAC                CA
26871   1G1ZD5ST8JF140417   GM           CRUZE                NORTH PAC                CA
26872   1G1ZD5ST8JF140532   GM           CRUZE                DES PLAINES              IL
26873   1G1ZD5ST8JF140773   GM           CRUZE                LAS VEGAS                NV
26874   1G1ZD5ST8JF141101   GM           CRUZE                North Dighton            MA
26875   1G1ZD5ST8JF141115   GM           CRUZE                Denver                   CO
26876   1G1ZD5ST8JF142118   GM           CRUZE                SAN DIEGO                CA
26877   1G1ZD5ST8JF142894   GM           CRUZE                Atlanta                  GA
26878   1G1ZD5ST8JF143740   GM           CRUZE                Slidell                  LA
26879   1G1ZD5ST8JF144547   GM           CRUZE                DANIA BEACH              FL
26880   1G1ZD5ST8JF144869   GM           CRUZE                Fort Worth               TX
26881   1G1ZD5ST8JF145519   GM           CRUZE                DAYTONA BEACH            FL
26882   1G1ZD5ST8JF146394   GM           CRUZE                KNOXVILLE                TN
26883   1G1ZD5ST8JF146525   GM           CRUZE                PHOENIX                  AZ
26884   1G1ZD5ST8JF146587   GM           CRUZE                SAN DIEGO                CA
26885   1G1ZD5ST8JF147674   GM           CRUZE                DAYTONA BEACH            FL
26886   1G1ZD5ST8JF148730   GM           MALIBU               DANIA BEACH              FL
26887   1G1ZD5ST8JF149683   GM           CRUZE                Hanover                  MD
26888   1G1ZD5ST8JF149733   GM           CRUZE                MORROW                   GA
26889   1G1ZD5ST8JF149926   GM           CRUZE                Statesville              NC
26890   1G1ZD5ST8JF149991   GM           CRUZE                North Dighton            MA
26891   1G1ZD5ST8JF150218   GM           CRUZE                STERLING                 VA
26892   1G1ZD5ST8JF150462   GM           CRUZE                Tampa                    FL
26893   1G1ZD5ST8JF150543   GM           CRUZE                PHILADELPHIA             PA
26894   1G1ZD5ST8JF150655   GM           CRUZE                TAMPA                    FL
26895   1G1ZD5ST8JF150722   GM           CRUZE                Fort Lauderdale          FL
26896   1G1ZD5ST8JF150770   GM           CRUZE                BOSTON                   MA
26897   1G1ZD5ST8JF150803   GM           CRUZE                PHOENIX                  AZ
26898   1G1ZD5ST8JF150820   GM           MALIBU               SOUTHEAST DST OFFC       OK
26899   1G1ZD5ST8JF150848   GM           CRUZE                Miami                    FL
26900   1G1ZD5ST8JF150963   GM           CRUZE                EAST BOSTON              MA
26901   1G1ZD5ST8JF151160   GM           CRUZE                DAYTONA BEACH            FL
26902   1G1ZD5ST8JF151403   GM           CRUZE                Plainfield               IN
26903   1G1ZD5ST8JF151465   GM           CRUZE                Atlanta                  GA
26904   1G1ZD5ST8JF151563   GM           CRUZE                Tampa                    FL
26905   1G1ZD5ST8JF151644   GM           CRUZE                ENGLEWOOD                CO
26906   1G1ZD5ST8JF151787   GM           CRUZE                Marietta                 GA
26907   1G1ZD5ST8JF152003   GM           CRUZE                DALLAS                   TX
26908   1G1ZD5ST8JF152454   GM           CRUZE                BOSTON                   MA
26909   1G1ZD5ST8JF152891   GM           CRUZE                BURBANK                  CA
26910   1G1ZD5ST8JF153586   GM           CRUZE                Norwalk                  CA
26911   1G1ZD5ST8JF154186   GM           CRUZE                Elkridge                 MD
26912   1G1ZD5ST8JF154382   GM           CRUZE                Grove City               OH
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26913   1G1ZD5ST8JF154415   GM           CRUZE                SANTA ANA                CA
26914   1G1ZD5ST8JF154981   GM           CRUZE                BURBANK                  CA
26915   1G1ZD5ST8JF155449   GM           CRUZE                SAN FRANCISCO            CA
26916   1G1ZD5ST8JF155614   GM           CRUZE                BURBANK                  CA
26917   1G1ZD5ST8JF156732   GM           CRUZE                Anaheim                  CA
26918   1G1ZD5ST8JF156746   GM           CRUZE                SANTA ANA                CA
26919   1G1ZD5ST8JF157492   GM           CRUZE                BURBANK                  CA
26920   1G1ZD5ST8JF158271   GM           CRUZE                Tampa                    FL
26921   1G1ZD5ST8JF158514   GM           CRUZE                CHICAGO                  IL
26922   1G1ZD5ST8JF158612   GM           CRUZE                Tampa                    FL
26923   1G1ZD5ST8JF158674   GM           CRUZE                TAMPA                    FL
26924   1G1ZD5ST8JF158772   GM           CRUZE                Manheim                  PA
26925   1G1ZD5ST8JF158965   GM           CRUZE                Las Vegas                NV
26926   1G1ZD5ST8JF159498   GM           CRUZE                LOS ANGELES              CA
26927   1G1ZD5ST8JF159887   GM           CRUZE                Woodhaven                MI
26928   1G1ZD5ST8JF160067   GM           CRUZE                NEW ORLEANS              LA
26929   1G1ZD5ST8JF160750   GM           CRUZE                ORLANDO                  FL
26930   1G1ZD5ST8JF160800   GM           CRUZE                Denver                   CO
26931   1G1ZD5ST8JF160828   GM           CRUZE                BOSTON                   MA
26932   1G1ZD5ST8JF160974   GM           CRUZE                SAN JOSE                 CA
26933   1G1ZD5ST8JF168055   GM           CRUZE                FLORIDA DEALER DIR       FL
26934   1G1ZD5ST8JF168489   GM           CRUZE                TAMPA                    FL
26935   1G1ZD5ST8JF169464   GM           CRUZE                ORLANDO                  FL
26936   1G1ZD5ST8JF169917   GM           CRUZE                ORLANDO                  FL
26937   1G1ZD5ST8JF171862   GM           CRUZE                Hanover                  MD
26938   1G1ZD5ST8JF171943   GM           MALIBU               ATLANTA                  GA
26939   1G1ZD5ST8JF172512   GM           CRUZE                ORLANDO                  FL
26940   1G1ZD5ST8JF173336   GM           MALIBU               Chicago                  IL
26941   1G1ZD5ST8JF173529   GM           CRUZE                DARLINGTON               SC
26942   1G1ZD5ST8JF176401   GM           MALIBU               Phoenix                  AZ
26943   1G1ZD5ST8JF177614   GM           MALIBU               DES MOINES               IA
26944   1G1ZD5ST8JF178696   GM           CRUZE                N. Las Vegas             NV
26945   1G1ZD5ST8JF178925   GM           CRUZE                Hendersonville           TN
26946   1G1ZD5ST8JF180089   GM           CRUZE                Atlanta                  GA
26947   1G1ZD5ST8JF180187   GM           CRUZE                Statesville              NC
26948   1G1ZD5ST8JF180318   GM           CRUZE                SOUTHEAST DST OFFC       OK
26949   1G1ZD5ST8JF180450   GM           CRUZE                Slidell                  LA
26950   1G1ZD5ST8JF181467   GM           CRUZE                DES PLAINES              IL
26951   1G1ZD5ST8JF181484   GM           CRUZE                CENTRAL DIST OFFC        OK
26952   1G1ZD5ST8JF182490   GM           CRUZE                Chicago                  IL
26953   1G1ZD5ST8JF183252   GM           CRUZE                IRVING                   TX
26954   1G1ZD5ST8JF183350   GM           CRUZE                NEW ORLEANS              LA
26955   1G1ZD5ST8JF183798   GM           CRUZE                Newport Beach            CA
26956   1G1ZD5ST8JF184059   GM           CRUZE                CHICAGO                  IL
26957   1G1ZD5ST8JF186362   GM           CRUZE                SAN FRANCISCO            CA
26958   1G1ZD5ST8JF186636   GM           CRUZE                LOS ANGELES              CA
26959   1G1ZD5ST8JF187611   GM           CRUZE                Torrance                 CA
26960   1G1ZD5ST8JF188757   GM           CRUZE                PORTLAND                 OR
26961   1G1ZD5ST8JF190749   GM           CRUZE                CHICAGO                  IL
26962   1G1ZD5ST8JF195210   GM           MALIBU               Kent                     WA
26963   1G1ZD5ST8JF199242   GM           CRUZE                San Diego                CA
26964   1G1ZD5ST8JF201846   GM           CRUZE                BURBANK                  CA
26965   1G1ZD5ST8JF205668   GM           CRUZE                Atlanta                  GA
26966   1G1ZD5ST8JF206092   GM           CRUZE                TRACY                    CA
26967   1G1ZD5ST8JF206710   GM           CRUZE                Costa Mesa               CA
26968   1G1ZD5ST8JF213950   GM           MALIBU               FEDERAL WAY              WA
26969   1G1ZD5ST8JF215522   GM           CRUZE                Atlanta                  GA
26970   1G1ZD5ST8JF216587   GM           CRUZE                RALEIGH                  NC
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26971   1G1ZD5ST8JF218565   GM           CRUZE                Las Vegas                NV
26972   1G1ZD5ST8JF219067   GM           CRUZE                BURBANK                  CA
26973   1G1ZD5ST8JF219392   GM           CRUZE                Ventura                  CA
26974   1G1ZD5ST8JF220509   GM           CRUZE                CHICAGO                  IL
26975   1G1ZD5ST8JF221238   GM           CRUZE                BURBANK                  CA
26976   1G1ZD5ST8JF221403   GM           CRUZE                Sacramento               CA
26977   1G1ZD5ST8JF221417   GM           CRUZE                TAMPA                    FL
26978   1G1ZD5ST8JF222003   GM           CRUZE                DENVER                   CO
26979   1G1ZD5ST8JF222213   GM           CRUZE                North Dighton            MA
26980   1G1ZD5ST8JF223975   GM           CRUZE                CLEVELAND                OH
26981   1G1ZD5ST8JF224091   GM           CRUZE                FORT MYERS               FL
26982   1G1ZD5ST8JF225757   GM           CRUZE                NEW ENGLAND DEALER       MA
26983   1G1ZD5ST8JF226035   GM           CRUZE                South San Franc          CA
26984   1G1ZD5ST8JF227122   GM           MALIBU               KEY WEST                 FL
26985   1G1ZD5ST8JF227332   GM           CRUZE                BURBANK                  CA
26986   1G1ZD5ST8JF227847   GM           CRUZE                Louisville               KY
26987   1G1ZD5ST8JF232479   GM           CRUZE                Dallas                   TX
26988   1G1ZD5ST8JF232630   GM           CRUZE                HANOVER                  MD
26989   1G1ZD5ST8JF233132   GM           CRUZE                Johnston                 RI
26990   1G1ZD5ST8JF233468   GM           CRUZE                CLEVELAND                OH
26991   1G1ZD5ST8JF233602   GM           CRUZE                Elkridge                 MD
26992   1G1ZD5ST8JF234636   GM           CRUZE                North Dighton            MA
26993   1G1ZD5ST8JF235141   GM           CRUZE                TAMPA                    US
26994   1G1ZD5ST8JF235205   GM           CRUZE                NOTTINGHAM               MD
26995   1G1ZD5ST8JF235379   GM           CRUZE                SACRAMENTO               CA
26996   1G1ZD5ST8JF236340   GM           CRUZE                FORT MYERS               FL
26997   1G1ZD5ST8JF236645   GM           CRUZE                DES MOINES               IA
26998   1G1ZD5ST8JF236774   GM           CRUZE                Burien                   WA
26999   1G1ZD5ST8JF236855   GM           CRUZE                DENVER                   CO
27000   1G1ZD5ST8JF236869   GM           CRUZE                Kent                     WA
27001   1G1ZD5ST8JF236872   GM           CRUZE                Houston                  TX
27002   1G1ZD5ST8JF237083   GM           CRUZE                Dallas                   TX
27003   1G1ZD5ST8JF237097   GM           CRUZE                LAS VEGAS                NV
27004   1G1ZD5ST8JF237424   GM           CRUZE                WEST CENTRAL DEALE       CO
27005   1G1ZD5ST8JF237648   GM           CRUZE                SAN FRANCISCO            CA
27006   1G1ZD5ST8JF237830   GM           CRUZE                SAN FRANCISCO            CA
27007   1G1ZD5ST8JF237908   GM           CRUZE                BURBANK                  CA
27008   1G1ZD5ST8JF238203   GM           CRUZE                BOSTON                   MA
27009   1G1ZD5ST8JF238315   GM           CRUZE                Charlotte                NC
27010   1G1ZD5ST8JF238413   GM           CRUZE                TAMPA                    FL
27011   1G1ZD5ST8JF238590   GM           CRUZE                BURBANK                  CA
27012   1G1ZD5ST8JF238752   GM           CRUZE                BURBANK                  CA
27013   1G1ZD5ST8JF239027   GM           CRUZE                BURBANK                  CA
27014   1G1ZD5ST8JF239092   GM           CRUZE                SAN FRANCISCO            CA
27015   1G1ZD5ST8JF239139   GM           CRUZE                SANTA ANA                CA
27016   1G1ZD5ST8JF239383   GM           CRUZE                Manheim                  PA
27017   1G1ZD5ST8JF239402   GM           CRUZE                ONTARIO                  CA
27018   1G1ZD5ST8JF239433   GM           CRUZE                SACRAMENTO               CA
27019   1G1ZD5ST8JF239769   GM           CRUZE                FT LAUDERDALE            FL
27020   1G1ZD5ST8JF240162   GM           CRUZE                Bridgeton                MO
27021   1G1ZD5ST8JF240193   GM           CRUZE                NEW ENGLAND DEALER       MA
27022   1G1ZD5ST8JF240260   GM           CRUZE                BURBANK                  CA
27023   1G1ZD5ST8JF240338   GM           CRUZE                BOSTON                   MA
27024   1G1ZD5ST8JF240422   GM           CRUZE                MILWAUKEE                WI
27025   1G1ZD5ST8JF240680   GM           CRUZE                N. Las Vegas             NV
27026   1G1ZD5ST8JF241098   GM           CRUZE                Rockville Centr          NY
27027   1G1ZD5ST8JF241392   GM           CRUZE                BALDWIN                  NY
27028   1G1ZD5ST8JF241733   GM           CRUZE                CHARLOTTE                NC
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27029   1G1ZD5ST8JF241778   GM           CRUZE                Chandler                 AZ
27030   1G1ZD5ST8JF242171   GM           CRUZE                SAN JOSE                 CA
27031   1G1ZD5ST8JF242252   GM           CRUZE                SEATAC                   WA
27032   1G1ZD5ST8JF242378   GM           CRUZE                Rio Linda                CA
27033   1G1ZD5ST8JF242607   GM           CRUZE                DES MOINES               IA
27034   1G1ZD5ST8JF243546   GM           CRUZE                FORT LAUDERDALE          FL
27035   1G1ZD5ST8JF243577   GM           CRUZE                PHILADELPHIA             PA
27036   1G1ZD5ST8JF243644   GM           CRUZE                Las Vegas                NV
27037   1G1ZD5ST8JF243773   GM           CRUZE                MILWAUKEE                WI
27038   1G1ZD5ST8JF243823   GM           CRUZE                SAN FRANCISCO            CA
27039   1G1ZD5ST8JF243840   GM           CRUZE                CHICAGO                  IL
27040   1G1ZD5ST8JF244065   GM           CRUZE                Davie                    FL
27041   1G1ZD5ST8JF244082   GM           CRUZE                DES PLAINES              IL
27042   1G1ZD5ST8JF244146   GM           CRUZE                St. Louis                MO
27043   1G1ZD5ST8JF244180   GM           CRUZE                PHILADELPHIA             PA
27044   1G1ZD5ST8JF244292   GM           CRUZE                Davie                    FL
27045   1G1ZD5ST8JF244387   GM           CRUZE                ONTARIO                  CA
27046   1G1ZD5ST8JF244423   GM           CRUZE                Hanover                  MD
27047   1G1ZD5ST8JF244499   GM           CRUZE                Torrance                 CA
27048   1G1ZD5ST8JF244597   GM           CRUZE                BURBANK                  CA
27049   1G1ZD5ST8JF244714   GM           CRUZE                ORLANDO                  FL
27050   1G1ZD5ST8JF244969   GM           CRUZE                BURBANK                  CA
27051   1G1ZD5ST8JF245071   GM           CRUZE                LAS VEGAS                NV
27052   1G1ZD5ST8JF245149   GM           CRUZE                CHICAGO                  IL
27053   1G1ZD5ST8JF245314   GM           CRUZE                Las Vegas                NV
27054   1G1ZD5ST8JF245362   GM           CRUZE                MIAMI                    FL
27055   1G1ZD5ST8JF245376   GM           CRUZE                ORLANDO                  FL
27056   1G1ZD5ST8JF245457   GM           CRUZE                SOUTHEAST DST OFFC       OK
27057   1G1ZD5ST8JF245507   GM           CRUZE                BURBANK                  CA
27058   1G1ZD5ST8JF245765   GM           CRUZE                CLEVELAND                OH
27059   1G1ZD5ST8JF245801   GM           CRUZE                OAKLAND                  CA
27060   1G1ZD5ST8JF245989   GM           CRUZE                DENVER                   CO
27061   1G1ZD5ST8JF246088   GM           CRUZE                Norwalk                  CA
27062   1G1ZD5ST8JF246124   GM           CRUZE                Denver                   CO
27063   1G1ZD5ST8JF246172   GM           CRUZE                TAMPA                    US
27064   1G1ZD5ST8JF246186   GM           CRUZE                Elkridge                 MD
27065   1G1ZD5ST8JF246219   GM           CRUZE                CHARLOTTE                NC
27066   1G1ZD5ST8JF246222   GM           CRUZE                BURBANK                  CA
27067   1G1ZD5ST8JF246267   GM           CRUZE                SOUTHEAST DST OFFC       OK
27068   1G1ZD5ST8JF246284   GM           CRUZE                Kansas City              MO
27069   1G1ZD5ST8JF246320   GM           CRUZE                HARTFORD                 CT
27070   1G1ZD5ST8JF246379   GM           CRUZE                PHILADELPHIA             PA
27071   1G1ZD5ST8JF246396   GM           CRUZE                Roseville                CA
27072   1G1ZD5ST8JF246432   GM           CRUZE                ORLANDO                  FL
27073   1G1ZD5ST8JF246575   GM           CRUZE                CHICAGO                  IL
27074   1G1ZD5ST8JF246589   GM           CRUZE                SAN DIEGO                CA
27075   1G1ZD5ST8JF246737   GM           CRUZE                INGLEWOOD                CA
27076   1G1ZD5ST8JF246771   GM           CRUZE                TAMPA                    FL
27077   1G1ZD5ST8JF246821   GM           CRUZE                Orlando                  FL
27078   1G1ZD5ST8JF247029   GM           CRUZE                Roseville                CA
27079   1G1ZD5ST8JF247032   GM           CRUZE                Roseville                CA
27080   1G1ZD5ST8JF247077   GM           CRUZE                SAN DIEGO                CA
27081   1G1ZD5ST8JF247080   GM           CRUZE                Birmingham               AL
27082   1G1ZD5ST8JF247127   GM           CRUZE                CHEEKTOWAGA              NY
27083   1G1ZD5ST8JF247208   GM           CRUZE                Tampa                    FL
27084   1G1ZD5ST8JF247306   GM           CRUZE                Fredericksburg           VA
27085   1G1ZD5ST8JF247323   GM           CRUZE                STERLING                 VA
27086   1G1ZD5ST8JF247371   GM           CRUZE                BURBANK                  CA
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27087   1G1ZD5ST8JF247435   GM           CRUZE                Detroit                  MI
27088   1G1ZD5ST8JF247497   GM           CRUZE                Elkridge                 MD
27089   1G1ZD5ST8JF247533   GM           CRUZE                Atlanta                  GA
27090   1G1ZD5ST8JF247757   GM           CRUZE                Warwick                  RI
27091   1G1ZD5ST8JF247841   GM           CRUZE                CHARLOTTE                NC
27092   1G1ZD5ST8JF247872   GM           CRUZE                NEW BERN                 NC
27093   1G1ZD5ST8JF247919   GM           CRUZE                SAN DIEGO                CA
27094   1G1ZD5ST8JF247936   GM           CRUZE                CHICAGO                  IL
27095   1G1ZD5ST8JF247984   GM           CRUZE                Roseville                CA
27096   1G1ZD5ST8JF247998   GM           CRUZE                HANOVER                  MD
27097   1G1ZD5ST8JF248052   GM           CRUZE                Slidell                  LA
27098   1G1ZD5ST8JF248178   GM           CRUZE                ROSEVILLE                CA
27099   1G1ZD5ST8JF248181   GM           CRUZE                DENVER                   CO
27100   1G1ZD5ST8JF248228   GM           CRUZE                GLEN BURNIE              MD
27101   1G1ZD5ST8JF248231   GM           CRUZE                Ventura                  CA
27102   1G1ZD5ST8JF248259   GM           CRUZE                AUSTIN                   TX
27103   1G1ZD5ST8JF248309   GM           CRUZE                Omaha                    NE
27104   1G1ZD5ST8JF248424   GM           CRUZE                NEWNAN                   GA
27105   1G1ZD5ST8JF248472   GM           CRUZE                Charlotte                NC
27106   1G1ZD5ST8JF248553   GM           CRUZE                NEW ENGLAND DEALER       MA
27107   1G1ZD5ST8JF248570   GM           CRUZE                Burien                   WA
27108   1G1ZD5ST8JF248634   GM           CRUZE                SAN JOSE                 CA
27109   1G1ZD5ST8JF248665   GM           CRUZE                LAS VEGAS                NV
27110   1G1ZD5ST8JF248696   GM           CRUZE                BURBANK                  CA
27111   1G1ZD5ST8JF248777   GM           CRUZE                MATTHEWS                 NC
27112   1G1ZD5ST8JF248813   GM           CRUZE                TUCSON                   AZ
27113   1G1ZD5ST8JF248827   GM           CRUZE                SAN JOSE                 CA
27114   1G1ZD5ST8JF248861   GM           CRUZE                PITTSBURGH               PA
27115   1G1ZD5ST8JF248908   GM           CRUZE                SARASOTA                 FL
27116   1G1ZD5ST8JF248956   GM           CRUZE                SEATAC                   WA
27117   1G1ZD5ST8JF248990   GM           CRUZE                Morrisville              NC
27118   1G1ZD5ST8JF249086   GM           CRUZE                COLUMBUS                 OH
27119   1G1ZD5ST8JF249122   GM           CRUZE                SAN FRANCISCO            CA
27120   1G1ZD5ST8JF249136   GM           CRUZE                Bridgeton                MO
27121   1G1ZD5ST8JF249234   GM           CRUZE                SAN JOSE                 CA
27122   1G1ZD5ST8JF249282   GM           CRUZE                SANTA ANA                CA
27123   1G1ZD5ST8JF249301   GM           CRUZE                FLORIDA DEALER DIR       FL
27124   1G1ZD5ST8JF249329   GM           CRUZE                DES MOINES               IA
27125   1G1ZD5ST8JF249525   GM           CRUZE                Manheim                  PA
27126   1G1ZD5ST8JF249556   GM           CRUZE                Morrisville              NC
27127   1G1ZD5ST8JF249640   GM           CRUZE                SANTA ANA                CA
27128   1G1ZD5ST8JF249668   GM           CRUZE                NORTH HOLLYWOOD          CA
27129   1G1ZD5ST8JF249685   GM           CRUZE                Los Angeles              CA
27130   1G1ZD5ST8JF249699   GM           CRUZE                TAMPA                    FL
27131   1G1ZD5ST8JF249752   GM           CRUZE                TAMPA                    FL
27132   1G1ZD5ST8JF249797   GM           CRUZE                Miami                    FL
27133   1G1ZD5ST8JF249802   GM           CRUZE                SAN JOSE                 CA
27134   1G1ZD5ST8JF249878   GM           CRUZE                MIAMI                    FL
27135   1G1ZD5ST8JF249928   GM           CRUZE                CHARLOTTE                NC
27136   1G1ZD5ST8JF250013   GM           CRUZE                PHILADELPHIA             PA
27137   1G1ZD5ST8JF250044   GM           CRUZE                TAMPA                    US
27138   1G1ZD5ST8JF250089   GM           CRUZE                FORT MYERS               FL
27139   1G1ZD5ST8JF250187   GM           CRUZE                Atlanta                  GA
27140   1G1ZD5ST8JF250190   GM           CRUZE                MEDINA                   OH
27141   1G1ZD5ST8JF250206   GM           CRUZE                LOS ANGELES              CA
27142   1G1ZD5ST8JF250397   GM           CRUZE                NORTH PAC                CA
27143   1G1ZD5ST8JF250433   GM           CRUZE                CHICAGO                  IL
27144   1G1ZD5ST8JF250464   GM           CRUZE                BURBANK                  CA
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27145   1G1ZD5ST8JF250531   GM           CRUZE                LAS VEGAS                NV
27146   1G1ZD5ST8JF250612   GM           CRUZE                RICHMOND                 VA
27147   1G1ZD5ST8JF250819   GM           CRUZE                NORTH PAC                CA
27148   1G1ZD5ST8JF250822   GM           CRUZE                DALLAS                   TX
27149   1G1ZD5ST8JF250867   GM           CRUZE                Atlanta                  GA
27150   1G1ZD5ST8JF251310   GM           CRUZE                LAS VEGAS                NV
27151   1G1ZD5ST8JF251405   GM           CRUZE                Chicago                  IL
27152   1G1ZD5ST8JF251758   GM           CRUZE                Norwalk                  CA
27153   1G1ZD5ST8JF251811   GM           CRUZE                Norwalk                  CA
27154   1G1ZD5ST8JF251906   GM           CRUZE                FORT LAUDERDALE          FL
27155   1G1ZD5ST8JF251971   GM           CRUZE                Tampa                    FL
27156   1G1ZD5ST8JF252053   GM           CRUZE                ORLANDO                  FL
27157   1G1ZD5ST8JF252117   GM           CRUZE                RALEIGH                  NC
27158   1G1ZD5ST8JF252134   GM           CRUZE                NOTTINGHAM               MD
27159   1G1ZD5ST8JF252618   GM           CRUZE                ORLANDO                  FL
27160   1G1ZD5ST8JF252683   GM           CRUZE                NEW YORK DEALER DI       NJ
27161   1G1ZD5ST8JF252733   GM           CRUZE                CHICAGO                  IL
27162   1G1ZD5ST8JF252764   GM           CRUZE                MATTHEWS                 NC
27163   1G1ZD5ST8JF252831   GM           CRUZE                BURBANK                  CA
27164   1G1ZD5ST8JF252893   GM           CRUZE                Manheim                  PA
27165   1G1ZD5ST8JF252960   GM           CRUZE                DENVER                   CO
27166   1G1ZD5ST8JF252988   GM           CRUZE                PALM SPRINGS             CA
27167   1G1ZD5ST8JF253056   GM           CRUZE                CHICAGO O'HARE AP        IL
27168   1G1ZD5ST8JF253168   GM           CRUZE                NORTH PAC                CA
27169   1G1ZD5ST8JF253218   GM           CRUZE                STERLING                 VA
27170   1G1ZD5ST8JF253266   GM           CRUZE                BLOOMINGTON              IL
27171   1G1ZD5ST8JF253736   GM           CRUZE                NEW ENGLAND DEALER       MA
27172   1G1ZD5ST8JF253882   GM           CRUZE                DETROIT                  MI
27173   1G1ZD5ST8JF253915   GM           CRUZE                ORLANDO                  FL
27174   1G1ZD5ST8JF254157   GM           CRUZE                Detroit                  MI
27175   1G1ZD5ST8JF254501   GM           CRUZE                BLOOMINGTON              IL
27176   1G1ZD5ST8JF254773   GM           CRUZE                SANTA ANA                CA
27177   1G1ZD5ST8JF254997   GM           CRUZE                BURBANK                  CA
27178   1G1ZD5ST8JF255129   GM           CRUZE                TAMPA                    FL
27179   1G1ZD5ST8JF255227   GM           CRUZE                NEW ORLEANS              LA
27180   1G1ZD5ST8JF255325   GM           CRUZE                BURBANK                  CA
27181   1G1ZD5ST8JF255339   GM           CRUZE                Davie                    FL
27182   1G1ZD5ST8JF255387   GM           CRUZE                SAN JOSE                 CA
27183   1G1ZD5ST8JF255440   GM           CRUZE                ALBUQERQUE               NM
27184   1G1ZD5ST8JF255485   GM           CRUZE                DES PLAINES              IL
27185   1G1ZD5ST8JF255888   GM           CRUZE                Chandler                 AZ
27186   1G1ZD5ST8JF255938   GM           CRUZE                Kansas City              MO
27187   1G1ZD5ST8JF256054   GM           CRUZE                FORT MYERS               FL
27188   1G1ZD5ST8JF256099   GM           CRUZE                Atlanta                  GA
27189   1G1ZD5ST8JF256250   GM           CRUZE                CHARLOTTE                NC
27190   1G1ZD5ST8JF256300   GM           CRUZE                SPRINGFIELD              VA
27191   1G1ZD5ST8JF256409   GM           CRUZE                HANOVER                  MD
27192   1G1ZD5ST8JF256426   GM           CRUZE                MARIETTA                 GA
27193   1G1ZD5ST8JF256555   GM           CRUZE                MIAMI                    FL
27194   1G1ZD5ST8JF256720   GM           CRUZE                NORTH PAC                CA
27195   1G1ZD5ST8JF256765   GM           CRUZE                LAS VEGAS                NV
27196   1G1ZD5ST8JF256992   GM           CRUZE                NORTH PAC                CA
27197   1G1ZD5ST8JF257110   GM           CRUZE                Anaheim                  CA
27198   1G1ZD5ST8JF257494   GM           CRUZE                PHILADELPHIA             PA
27199   1G1ZD5ST8JF257690   GM           CRUZE                Manheim                  PA
27200   1G1ZD5ST8JF257799   GM           CRUZE                CHICAGO                  IL
27201   1G1ZD5ST8JF257818   GM           CRUZE                Santa Clara              CA
27202   1G1ZD5ST8JF257964   GM           CRUZE                DES MOINES               IA
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27203   1G1ZD5ST8JF258421   GM           CRUZE                Albuquerque              NM
27204   1G1ZD5ST8JF258712   GM           CRUZE                BURBANK                  CA
27205   1G1ZD5ST8JF259861   GM           CRUZE                BURBANK                  CA
27206   1G1ZD5ST8JF260072   GM           CRUZE                LOS ANGELES              CA
27207   1G1ZD5ST8JF260136   GM           CRUZE                Portland                 OR
27208   1G1ZD5ST8JF260685   GM           CRUZE                HOUSTON                  TX
27209   1G1ZD5ST8JF260752   GM           CRUZE                LAS VEGAS                NV
27210   1G1ZD5ST8JF261772   GM           CRUZE                SAN JOSE                 CA
27211   1G1ZD5ST8JF261948   GM           CRUZE                CHARLOTTE                NC
27212   1G1ZD5ST8JF261965   GM           CRUZE                BURBANK                  CA
27213   1G1ZD5ST8JF262050   GM           CRUZE                MEDINA                   OH
27214   1G1ZD5ST8JF262565   GM           CRUZE                CHARLOTTE                NC
27215   1G1ZD5ST8JF262596   GM           CRUZE                PLEASANTON               CA
27216   1G1ZD5ST8JF262808   GM           CRUZE                Fort Worth               TX
27217   1G1ZD5ST8JF262954   GM           CRUZE                NORTH PAC                CA
27218   1G1ZD5ST8JF263022   GM           CRUZE                Bordentown               NJ
27219   1G1ZD5ST8JF263053   GM           CRUZE                ST Paul                  MN
27220   1G1ZD5ST8JF263179   GM           CRUZE                CHICAGO                  IL
27221   1G1ZD5ST8JF263215   GM           CRUZE                SACRAMENTO               CA
27222   1G1ZD5ST8JF263540   GM           CRUZE                Pittsburgh               PA
27223   1G1ZD5ST8JF263649   GM           CRUZE                FORT LAUDERDALE          FL
27224   1G1ZD5ST8JF263778   GM           CRUZE                NEW BERN                 NC
27225   1G1ZD5ST8JF263795   GM           CRUZE                FALMOUTH                 MA
27226   1G1ZD5ST8JF264168   GM           CRUZE                SAN FRANCISCO            CA
27227   1G1ZD5ST8JF264252   GM           CRUZE                LAS VEGAS                NV
27228   1G1ZD5ST8JF264378   GM           CRUZE                SAN LEANDRO              CA
27229   1G1ZD5ST8JF264719   GM           CRUZE                NORTH PAC                CA
27230   1G1ZD5ST8JF265014   GM           CRUZE                Hamilton                 OH
27231   1G1ZD5ST8JF266096   GM           CRUZE                NORTH PAC                CA
27232   1G1ZD5ST8JF266227   GM           CRUZE                JACKSONVILLE             FL
27233   1G1ZD5ST8JF266258   GM           CRUZE                BURBANK                  CA
27234   1G1ZD5ST8JF267216   GM           CRUZE                WARWICK                  RI
27235   1G1ZD5ST8JF267426   GM           CRUZE                Lafayette                LA
27236   1G1ZD5ST8JF267457   GM           CRUZE                SALT LAKE CITY           US
27237   1G1ZD5ST8JF267684   GM           CRUZE                HEBRON                   KY
27238   1G1ZD5ST8JF267944   GM           CRUZE                SAN JOSE                 CA
27239   1G1ZD5ST8JF268172   GM           CRUZE                Richmond                 VA
27240   1G1ZD5ST8JF268771   GM           CRUZE                Grove City               OH
27241   1G1ZD5ST8JF268799   GM           CRUZE                NORTH PAC                CA
27242   1G1ZD5ST8JF269368   GM           CRUZE                NEW BERN                 NC
27243   1G1ZD5ST8JF269435   GM           CRUZE                Lake Elsinore            CA
27244   1G1ZD5ST8JF269497   GM           CRUZE                SAN FRANCISCO            CA
27245   1G1ZD5ST8JF269516   GM           CRUZE                SAN FRANCISCO            CA
27246   1G1ZD5ST8JF269578   GM           CRUZE                Tampa                    FL
27247   1G1ZD5ST8JF269659   GM           CRUZE                SAN JOSE                 CA
27248   1G1ZD5ST8JF270147   GM           CRUZE                BURBANK                  CA
27249   1G1ZD5ST8JF270570   GM           CRUZE                Corpus Christi           TX
27250   1G1ZD5ST8JF270584   GM           CRUZE                SAN FRANCISCO            CA
27251   1G1ZD5ST8JF270617   GM           CRUZE                FORT LAUDERDALE          FL
27252   1G1ZD5ST8JF270620   GM           CRUZE                CHICAGO                  IL
27253   1G1ZD5ST8JF270911   GM           CRUZE                BOSTON                   MA
27254   1G1ZD5ST8JF271069   GM           CRUZE                BURBANK                  CA
27255   1G1ZD5ST8JF271573   GM           CRUZE                Riverside                CA
27256   1G1ZD5ST8JF271587   GM           CRUZE                DAYTONA BEACH            FL
27257   1G1ZD5ST8JF271654   GM           CRUZE                Dallas                   TX
27258   1G1ZD5ST8JF271704   GM           CRUZE                Dallas                   TX
27259   1G1ZD5ST8JF271945   GM           CRUZE                KNOXVILLE                TN
27260   1G1ZD5ST8JF272030   GM           CRUZE                Kansas City              MO
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27261   1G1ZD5ST8JF272139   GM           CRUZE                Irving                   TX
27262   1G1ZD5ST8JF272187   GM           CRUZE                NORTH PAC                CA
27263   1G1ZD5ST8JF272223   GM           CRUZE                Portland                 OR
27264   1G1ZD5ST8JF272254   GM           CRUZE                ALLENTOWN                US
27265   1G1ZD5ST8JF272271   GM           CRUZE                LAS VEGAS                NV
27266   1G1ZD5ST8JF272545   GM           CRUZE                LOS ANGELES              CA
27267   1G1ZD5ST8JF272660   GM           CRUZE                Albuquerque              NM
27268   1G1ZD5ST8JF272772   GM           CRUZE                ROSEVILLE                CA
27269   1G1ZD5ST8JF273288   GM           CRUZE                PORTLAND                 ME
27270   1G1ZD5ST8JF273629   GM           CRUZE                FORT MYERS               FL
27271   1G1ZD5ST8JF274103   GM           CRUZE                SEATAC                   WA
27272   1G1ZD5ST8JF274201   GM           CRUZE                DETROIT                  MI
27273   1G1ZD5ST8JF274490   GM           CRUZE                HOUSTON                  TX
27274   1G1ZD5ST8JF274523   GM           CRUZE                CHICAGO                  IL
27275   1G1ZD5ST8JF274568   GM           CRUZE                MCALLEN                  TX
27276   1G1ZD5ST8JF274585   GM           CRUZE                Phoenix                  AZ
27277   1G1ZD5ST8JF274618   GM           CRUZE                TAMPA                    FL
27278   1G1ZD5ST8JF274733   GM           CRUZE                PHILADELPHIA             PA
27279   1G1ZD5ST8JF274750   GM           CRUZE                DALLAS                   TX
27280   1G1ZD5ST8JF275171   GM           CRUZE                ONTARIO                  CA
27281   1G1ZD5ST8JF275302   GM           CRUZE                Tolleson                 AZ
27282   1G1ZD5ST8JF275316   GM           CRUZE                Kent                     WA
27283   1G1ZD5ST8JF275364   GM           CRUZE                SALT LAKE CITY           UT
27284   1G1ZD5ST8JF275395   GM           CRUZE                COLLEGE PARK             GA
27285   1G1ZD5ST8JF275512   GM           CRUZE                Oceanside                CA
27286   1G1ZD5ST8JF275722   GM           CRUZE                WEST COLUMBIA            SC
27287   1G1ZD5ST8JF275882   GM           CRUZE                INDIANAPOLIS             IN
27288   1G1ZD5ST8JF275980   GM           CRUZE                PHILADELPHIA             PA
27289   1G1ZD5ST8JF276000   GM           CRUZE                Matteson                 IL
27290   1G1ZD5ST8JF276031   GM           CRUZE                CATONSVILLE              MD
27291   1G1ZD5ST8JF276062   GM           CRUZE                LAS VEGAS                NV
27292   1G1ZD5ST8JF276143   GM           CRUZE                WEST PALM BEACH          FL
27293   1G1ZD5ST8JF276501   GM           CRUZE                ONTARIO                  CA
27294   1G1ZD5ST8JF276627   GM           CRUZE                GRAND RAPIDS             MI
27295   1G1ZD5ST8KF104020   GM           MALIBU               TAMPA                    FL
27296   1G1ZD5ST8KF104048   GM           MALIBU               FORT LAUDERDALE          FL
27297   1G1ZD5ST8KF104390   GM           MALIBU               PHILADELPHIA             PA
27298   1G1ZD5ST8KF104549   GM           MALIBU               CLEVELAND                OH
27299   1G1ZD5ST8KF104597   GM           MALIBU               Newark                   NJ
27300   1G1ZD5ST8KF104843   GM           MALIBU               Atlanta                  GA
27301   1G1ZD5ST8KF104874   GM           MALIBU               SAN ANTONIO              TX
27302   1G1ZD5ST8KF105071   GM           MALIBU               CHARLOTTE                NC
27303   1G1ZD5ST8KF105135   GM           MALIBU               FORT MYERS               FL
27304   1G1ZD5ST8KF105331   GM           MALIBU               RICHMOND                 VA
27305   1G1ZD5ST8KF105376   GM           MALIBU               BOSTON                   MA
27306   1G1ZD5ST8KF105412   GM           MALIBU               TAMPA                    FL
27307   1G1ZD5ST8KF105541   GM           MALIBU               WARWICK                  RI
27308   1G1ZD5ST8KF105636   GM           MALIBU               FT LAUDERDALE            FL
27309   1G1ZD5ST8KF105670   GM           MALIBU               TAMPA                    FL
27310   1G1ZD5ST8KF105748   GM           MALIBU               JACKSONVILLE             FL
27311   1G1ZD5ST8KF105751   GM           MALIBU               WEST COLUMBIA            SC
27312   1G1ZD5ST8KF105779   GM           MALIBU               CHICAGO                  IL
27313   1G1ZD5ST8KF105880   GM           MALIBU               WEST PALM BEACH          FL
27314   1G1ZD5ST8KF106107   GM           MALIBU               TAMPA                    US
27315   1G1ZD5ST8KF106110   GM           MALIBU               Atlanta                  GA
27316   1G1ZD5ST8KF106303   GM           MALIBU               LOS ANGELES              CA
27317   1G1ZD5ST8KF106432   GM           MALIBU               Atlanta                  GA
27318   1G1ZD5ST8KF106561   GM           MALIBU               WEST PALM BEACH          FL
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27319   1G1ZD5ST8KF107595   GM           MALIBU               MIAMI                    FL
27320   1G1ZD5ST8KF108164   GM           MALIBU               LAS VEGAS                NV
27321   1G1ZD5ST8KF108195   GM           MALIBU               NORTH PAC                CA
27322   1G1ZD5ST8KF108715   GM           MALIBU               PHOENIX                  AZ
27323   1G1ZD5ST8KF108861   GM           MALIBU               SAN DIEGO                CA
27324   1G1ZD5ST8KF108939   GM           MALIBU               BURBANK                  CA
27325   1G1ZD5ST8KF109072   GM           MALIBU               BOSTON                   MA
27326   1G1ZD5ST8KF109363   GM           MALIBU               ONTARIO                  CA
27327   1G1ZD5ST8KF109380   GM           MALIBU               LOS ANGELES              CA
27328   1G1ZD5ST8KF109508   GM           MALIBU               SAN FRANCISCO            CA
27329   1G1ZD5ST8KF110058   GM           MALIBU               WOODSTOCK                GA
27330   1G1ZD5ST8KF110139   GM           MALIBU               Indianapolis             IN
27331   1G1ZD5ST8KF110190   GM           MALIBU               SALT LAKE CITY           US
27332   1G1ZD5ST8KF110268   GM           MALIBU               JACKSONVILLE             FL
27333   1G1ZD5ST8KF110402   GM           MALIBU               JACKSONVILLE             FL
27334   1G1ZD5ST8KF110562   GM           MALIBU               MILWAUKEE                WI
27335   1G1ZD5ST8KF110593   GM           MALIBU               SAN DIEGO                CA
27336   1G1ZD5ST8KF110612   GM           MALIBU               ORLANDO                  FL
27337   1G1ZD5ST8KF110643   GM           MALIBU               FORT MYERS               FL
27338   1G1ZD5ST8KF111212   GM           MALIBU               Orlando                  FL
27339   1G1ZD5ST8KF111257   GM           MALIBU               Rockville Centr          NY
27340   1G1ZD5ST8KF111615   GM           MALIBU               WHITE PLAINS             NY
27341   1G1ZD5ST8KF111730   GM           MALIBU               Manheim                  PA
27342   1G1ZD5ST8KF111839   GM           MALIBU               JACKSONVILLE             FL
27343   1G1ZD5ST8KF111856   GM           MALIBU               DETROIT                  MI
27344   1G1ZD5ST8KF111985   GM           MALIBU               DENVER                   CO
27345   1G1ZD5ST8KF112201   GM           MALIBU               JACKSONVILLE             FL
27346   1G1ZD5ST8KF112229   GM           MALIBU               SAN ANTONIO              TX
27347   1G1ZD5ST8KF112263   GM           MALIBU               ORLANDO                  FL
27348   1G1ZD5ST8KF112411   GM           MALIBU               TAMPA                    FL
27349   1G1ZD5ST8KF112439   GM           MALIBU               ORLANDO                  FL
27350   1G1ZD5ST8KF112618   GM           MALIBU               TAMPA                    FL
27351   1G1ZD5ST8KF112733   GM           MALIBU               TAMPA                    FL
27352   1G1ZD5ST8KF112800   GM           MALIBU               DALLAS                   TX
27353   1G1ZD5ST8KF112909   GM           MALIBU               Manheim                  PA
27354   1G1ZD5ST8KF112926   GM           MALIBU               Newark                   NJ
27355   1G1ZD5ST8KF113025   GM           MALIBU               FORT MYERS               FL
27356   1G1ZD5ST8KF113199   GM           MALIBU               MEMPHIS                  TN
27357   1G1ZD5ST8KF113235   GM           MALIBU               GRAND RAPIDS             MI
27358   1G1ZD5ST8KF113526   GM           MALIBU               Ft. Myers                FL
27359   1G1ZD5ST8KF113557   GM           MALIBU               MIAMI                    FL
27360   1G1ZD5ST8KF113865   GM           MALIBU               Tampa                    FL
27361   1G1ZD5ST8KF114157   GM           MALIBU               WEST PALM BEACH          FL
27362   1G1ZD5ST8KF114353   GM           MALIBU               STERLING                 VA
27363   1G1ZD5ST8KF114448   GM           MALIBU               SOUTHEAST DST OFFC       OK
27364   1G1ZD5ST8KF114627   GM           MALIBU               Tulsa                    OK
27365   1G1ZD5ST8KF114725   GM           MALIBU               HANOVER                  MD
27366   1G1ZD5ST8KF114739   GM           MALIBU               WINDER                   GA
27367   1G1ZD5ST8KF115132   GM           MALIBU               JACKSONVILLE             FL
27368   1G1ZD5ST8KF115373   GM           MALIBU               FORT LAUDERDALE          FL
27369   1G1ZD5ST8KF116135   GM           MALIBU               DALLAS                   TX
27370   1G1ZD5ST8KF116216   GM           MALIBU               North Dighton            MA
27371   1G1ZD5ST8KF116233   GM           MALIBU               FORT MYERS               FL
27372   1G1ZD5ST8KF117107   GM           MALIBU               ORLANDO                  FL
27373   1G1ZD5ST8KF117284   GM           MALIBU               Fontana                  CA
27374   1G1ZD5ST8KF117415   GM           MALIBU               KNOXVILLE                TN
27375   1G1ZD5ST8KF117558   GM           MALIBU               BIRMINGHAM               AL
27376   1G1ZD5ST8KF117656   GM           MALIBU               WEST PALM BEACH          FL
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27377   1G1ZD5ST8KF117737   GM           MALIBU               FORT MYERS               FL
27378   1G1ZD5ST8KF117883   GM           MALIBU               FORT LAUDERDALE          FL
27379   1G1ZD5ST8KF118080   GM           MALIBU               Memphis                  TN
27380   1G1ZD5ST8KF118161   GM           MALIBU               FORT LAUDERDALE          FL
27381   1G1ZD5ST8KF118290   GM           MALIBU               NEWARK                   NJ
27382   1G1ZD5ST8KF118743   GM           MALIBU               Indianapolis             IN
27383   1G1ZD5ST8KF119231   GM           MALIBU               Atlanta                  GA
27384   1G1ZD5ST8KF119326   GM           MALIBU               FORT LAUDERDALE          FL
27385   1G1ZD5ST8KF119374   GM           MALIBU               FORT LAUDERDALE          FL
27386   1G1ZD5ST8KF120749   GM           MALIBU               SAN DIEGO                CA
27387   1G1ZD5ST8KF121237   GM           MALIBU               Manheim                  PA
27388   1G1ZD5ST8KF121660   GM           MALIBU               Atlanta                  GA
27389   1G1ZD5ST8KF122274   GM           MALIBU               ROSEVILLE                CA
27390   1G1ZD5ST8KF122288   GM           MALIBU               TAMPA                    FL
27391   1G1ZD5ST8KF122940   GM           MALIBU               ALBANY                   GA
27392   1G1ZD5ST8KF123635   GM           MALIBU               Portland                 OR
27393   1G1ZD5ST8KF123666   GM           MALIBU               KNOXVILLE                TN
27394   1G1ZD5ST8KF123747   GM           MALIBU               TAMPA                    FL
27395   1G1ZD5ST8KF123750   GM           MALIBU               ST Paul                  MN
27396   1G1ZD5ST8KF123781   GM           MALIBU               WEST PALM BEACH          FL
27397   1G1ZD5ST8KF123957   GM           MALIBU               Atlanta                  GA
27398   1G1ZD5ST8KF124431   GM           MALIBU               NORTH PAC                CA
27399   1G1ZD5ST8KF124476   GM           MALIBU               SARASOTA                 FL
27400   1G1ZD5ST8KF124784   GM           MALIBU               ORLANDO                  FL
27401   1G1ZD5ST8KF125093   GM           MALIBU               TAMPA                    FL
27402   1G1ZD5ST8KF125398   GM           MALIBU               WEST PALM BEACH          FL
27403   1G1ZD5ST8KF126082   GM           MALIBU               SAN JOSE                 CA
27404   1G1ZD5ST8KF126132   GM           MALIBU               FORT LAUDERDALE          FL
27405   1G1ZD5ST8KF126387   GM           MALIBU               PITTSBURGH               PA
27406   1G1ZD5ST8KF126437   GM           MALIBU               FORT MYERS               FL
27407   1G1ZD5ST8KF126762   GM           MALIBU               BIRMINGHAM               AL
27408   1G1ZD5ST8KF126826   GM           MALIBU               ORLANDO                  FL
27409   1G1ZD5ST8KF126938   GM           MALIBU               FORT MYERS               FL
27410   1G1ZD5ST8KF126969   GM           MALIBU               WEST PALM BEACH          FL
27411   1G1ZD5ST8KF126972   GM           MALIBU               FORT LAUDERDALE          FL
27412   1G1ZD5ST8KF133274   GM           MALIBU               Kenner                   LA
27413   1G1ZD5ST8KF133291   GM           MALIBU               FORT MYERS               FL
27414   1G1ZD5ST8KF133436   GM           MALIBU               Detroit                  MI
27415   1G1ZD5ST8KF133453   GM           MALIBU               TULSA                    OK
27416   1G1ZD5ST8KF133548   GM           MALIBU               SAN DIEGO                CA
27417   1G1ZD5ST8KF133551   GM           MALIBU               SHREVEPORT               LA
27418   1G1ZD5ST8KF133677   GM           MALIBU               CHICAGO                  IL
27419   1G1ZD5ST8KF133999   GM           MALIBU               ATLANTA                  GA
27420   1G1ZD5ST8KF134103   GM           MALIBU               Kansas City              MO
27421   1G1ZD5ST8KF134148   GM           MALIBU               BIRMINGHAN               AL
27422   1G1ZD5ST8KF134179   GM           MALIBU               SOUTHEAST DST OFFC       OK
27423   1G1ZD5ST8KF134358   GM           MALIBU               ORLANDO                  FL
27424   1G1ZD5ST8KF134473   GM           MALIBU               KANSAS CITY              MO
27425   1G1ZD5ST8KF134523   GM           MALIBU               TAMPA                    FL
27426   1G1ZD5ST8KF134554   GM           MALIBU               SAN FRANCISCO            CA
27427   1G1ZD5ST8KF134604   GM           MALIBU               ORLANDO                  FL
27428   1G1ZD5ST8KF134957   GM           MALIBU               SARASOTA                 FL
27429   1G1ZD5ST8KF134960   GM           MALIBU               Torrance                 CA
27430   1G1ZD5ST8KF135512   GM           MALIBU               HOUSTON                  TX
27431   1G1ZD5ST8KF135641   GM           MALIBU               FORT MYERS               FL
27432   1G1ZD5ST8KF136143   GM           MALIBU               TAMPA                    US
27433   1G1ZD5ST8KF136224   GM           MALIBU               Miami                    FL
27434   1G1ZD5ST8KF136319   GM           MALIBU               ORLANDO                  FL
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27435   1G1ZD5ST8KF136580   GM           MALIBU               ORLANDO                  FL
27436   1G1ZD5ST8KF136661   GM           MALIBU               Nashville                TN
27437   1G1ZD5ST8KF136739   GM           MALIBU               Winston‐Salem            NC
27438   1G1ZD5ST8KF136949   GM           MALIBU               FORT MYERS               FL
27439   1G1ZD5ST8KF137258   GM           MALIBU               BIRMINGHAM               AL
27440   1G1ZD5ST8KF137275   GM           MALIBU               ORLANDO                  FL
27441   1G1ZD5ST8KF137339   GM           MALIBU               Miami                    FL
27442   1G1ZD5ST8KF138037   GM           MALIBU               Atlanta                  GA
27443   1G1ZD5ST8KF138071   GM           MALIBU               CLARKSVILLE              IN
27444   1G1ZD5ST8KF138197   GM           MALIBU               MCALLEN                  TX
27445   1G1ZD5ST8KF138507   GM           MALIBU               HOUSTON                  TX
27446   1G1ZD5ST8KF138829   GM           MALIBU               FORT MYERS               FL
27447   1G1ZD5ST8KF139477   GM           MALIBU               TAMPA                    FL
27448   1G1ZD5ST8KF153797   GM           MALIBU               PALM SPRINGS             CA
27449   1G1ZD5ST8KF153945   GM           MALIBU               SAVANNAH                 GA
27450   1G1ZD5ST8KF154402   GM           MALIBU               FORT MYERS               FL
27451   1G1ZD5ST8KF154738   GM           MALIBU               ORLANDO                  FL
27452   1G1ZD5ST8KF154920   GM           MALIBU               TAMPA                    FL
27453   1G1ZD5ST8KF155114   GM           MALIBU               TAMPA                    US
27454   1G1ZD5ST8KF155324   GM           MALIBU               KNOXVILLE                TN
27455   1G1ZD5ST8KF156411   GM           MALIBU               TAMPA                    FL
27456   1G1ZD5ST8KF156442   GM           MALIBU               SAN FRANCISCO            CA
27457   1G1ZD5ST8KF156523   GM           MALIBU               FORT LAUDERDALE          FL
27458   1G1ZD5ST8KF156814   GM           MALIBU               Fontana                  CA
27459   1G1ZD5ST8KF156893   GM           MALIBU               ORLANDO                  FL
27460   1G1ZD5ST8KF157333   GM           MALIBU               ORLANDO                  FL
27461   1G1ZD5ST8KF157848   GM           MALIBU               JACKSONVILLE             FL
27462   1G1ZD5ST8KF158014   GM           MALIBU               Roseville                CA
27463   1G1ZD5ST8KF158028   GM           MALIBU               Miami                    FL
27464   1G1ZD5ST8KF158059   GM           MALIBU               FORT MYERS               FL
27465   1G1ZD5ST8KF158076   GM           MALIBU               KEY WEST                 FL
27466   1G1ZD5ST8KF158143   GM           MALIBU               ORLANDO                  FL
27467   1G1ZD5ST8KF158210   GM           MALIBU               MIAMI                    FL
27468   1G1ZD5ST8KF158238   GM           MALIBU               CLOVIS                   CA
27469   1G1ZD5ST8KF158398   GM           MALIBU               TAMPA                    FL
27470   1G1ZD5ST8KF158675   GM           MALIBU               Manheim                  PA
27471   1G1ZD5ST8KF158773   GM           MALIBU               SANFORD                  FL
27472   1G1ZD5ST8KF158823   GM           MALIBU               ORLANDO                  FL
27473   1G1ZD5ST8KF159051   GM           MALIBU               Slidell                  LA
27474   1G1ZD5ST8KF159227   GM           MALIBU               Memphis                  TN
27475   1G1ZD5ST8KF159244   GM           MALIBU               FORT MYERS               FL
27476   1G1ZD5ST8KF159373   GM           MALIBU               PENSACOLA                FL
27477   1G1ZD5ST8KF159440   GM           MALIBU               Newark                   NJ
27478   1G1ZD5ST8KF159468   GM           MALIBU               Phoenix                  AZ
27479   1G1ZD5ST8KF159504   GM           MALIBU               ATLANTA                  GA
27480   1G1ZD5ST8KF159566   GM           MALIBU               Orlando                  FL
27481   1G1ZD5ST8KF159809   GM           MALIBU               TAMPA                    US
27482   1G1ZD5ST8KF159888   GM           MALIBU               JACKSONVILLE             FL
27483   1G1ZD5ST8KF159924   GM           MALIBU               Las Vegas                NV
27484   1G1ZD5ST8KF160068   GM           MALIBU               Manheim                  PA
27485   1G1ZD5ST8KF160216   GM           MALIBU               MIAMI                    FL
27486   1G1ZD5ST8KF160247   GM           MALIBU               TAMPA                    FL
27487   1G1ZD5ST8KF160409   GM           MALIBU               FORT MYERS               FL
27488   1G1ZD5ST8KF160541   GM           MALIBU               BURBANK                  CA
27489   1G1ZD5ST8KF160569   GM           MALIBU               Miami                    FL
27490   1G1ZD5ST8KF160734   GM           MALIBU               BURBANK                  CA
27491   1G1ZD5ST8KF160832   GM           MALIBU               Norwalk                  CA
27492   1G1ZD5ST8KF160877   GM           MALIBU               Atlanta                  GA
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27493   1G1ZD5ST8KF160880   GM           MALIBU               TAMPA                    US
27494   1G1ZD5ST8KF160958   GM           MALIBU               SARASOTA                 FL
27495   1G1ZD5ST8KF160961   GM           MALIBU               ORLANDO                  FL
27496   1G1ZD5ST8KF161205   GM           MALIBU               TAMPA                    US
27497   1G1ZD5ST8KF161382   GM           MALIBU               Las Vegas                NV
27498   1G1ZD5ST8KF161463   GM           MALIBU               FORT LAUDERDALE          FL
27499   1G1ZD5ST8KF161480   GM           MALIBU               CHICAGO                  IL
27500   1G1ZD5ST8KF161513   GM           MALIBU               WEST PALM BEACH          FL
27501   1G1ZD5ST8KF161592   GM           MALIBU               WEST PALM BEACH          FL
27502   1G1ZD5ST8KF161639   GM           MALIBU               FORT MYERS               FL
27503   1G1ZD5ST8KF161687   GM           MALIBU               ORLANDO                  FL
27504   1G1ZD5ST8KF161723   GM           MALIBU               JACKSON                  MS
27505   1G1ZD5ST8KF161785   GM           MALIBU               ORLANDO                  FL
27506   1G1ZD5ST8KF161897   GM           MALIBU               TAMPA                    FL
27507   1G1ZD5ST8KF162001   GM           MALIBU               FORT MYERS               FL
27508   1G1ZD5ST8KF162032   GM           MALIBU               ORLANDO                  FL
27509   1G1ZD5ST8KF162046   GM           MALIBU               ORLANDO                  FL
27510   1G1ZD5ST8KF162127   GM           MALIBU               Roseville                CA
27511   1G1ZD5ST8KF162161   GM           MALIBU               FORT MYERS               FL
27512   1G1ZD5ST8KF162371   GM           MALIBU               ORLANDO                  FL
27513   1G1ZD5ST8KF162399   GM           MALIBU               St. Louis                MO
27514   1G1ZD5ST8KF162564   GM           MALIBU               TAMPA                    FL
27515   1G1ZD5ST8KF162578   GM           MALIBU               ORLANDO                  FL
27516   1G1ZD5ST8KF162614   GM           MALIBU               SAVANNAH                 GA
27517   1G1ZD5ST8KF162676   GM           MALIBU               FORT LAUDERDALE          FL
27518   1G1ZD5ST8KF162693   GM           MALIBU               FORT MYERS               FL
27519   1G1ZD5ST8KF162757   GM           MALIBU               WEST PALM BEACH          FL
27520   1G1ZD5ST8KF162791   GM           MALIBU               TAMPA                    FL
27521   1G1ZD5ST8KF162872   GM           MALIBU               COLLEGE PARK             GA
27522   1G1ZD5ST8KF163083   GM           MALIBU               Miami                    FL
27523   1G1ZD5ST8KF163245   GM           MALIBU               TAMPA                    FL
27524   1G1ZD5ST8KF163553   GM           MALIBU               TAMPA                    FL
27525   1G1ZD5ST8KF163679   GM           MALIBU               WEST PALM BEACH          FL
27526   1G1ZD5ST8KF163696   GM           MALIBU               SARASOTA                 FL
27527   1G1ZD5ST8KF163827   GM           MALIBU               Dallas                   TX
27528   1G1ZD5ST8KF163830   GM           MALIBU               FORT MYERS               FL
27529   1G1ZD5ST8KF163892   GM           MALIBU               TAMPA                    FL
27530   1G1ZD5ST8KF163973   GM           MALIBU               TAMPA                    FL
27531   1G1ZD5ST8KF164024   GM           MALIBU               BOSTON                   MA
27532   1G1ZD5ST8KF164041   GM           MALIBU               FORT MYERS               FL
27533   1G1ZD5ST8KF164203   GM           MALIBU               FORT LAUDERDALE          FL
27534   1G1ZD5ST8KF164279   GM           MALIBU               Leroy                    NY
27535   1G1ZD5ST8KF164332   GM           MALIBU               MIAMI                    FL
27536   1G1ZD5ST8KF164623   GM           MALIBU               SEATTLE                  WA
27537   1G1ZD5ST8KF164671   GM           MALIBU               Grove City               OH
27538   1G1ZD5ST8KF164931   GM           MALIBU               WEST PALM BEACH          FL
27539   1G1ZD5ST8KF165075   GM           MALIBU               Tulsa                    OK
27540   1G1ZD5ST8KF165688   GM           MALIBU               ORLANDO                  FL
27541   1G1ZD5ST8KF165805   GM           MALIBU               Harvey                   LA
27542   1G1ZD5ST8KF165870   GM           MALIBU               DES MOINES               IA
27543   1G1ZD5ST8KF165898   GM           MALIBU               DFW AIRPORT              TX
27544   1G1ZD5ST8KF165920   GM           MALIBU               SARASOTA                 FL
27545   1G1ZD5ST8KF166016   GM           MALIBU               Maple Grove              MN
27546   1G1ZD5ST8KF166193   GM           MALIBU               KNOXVILLE                TN
27547   1G1ZD5ST8KF166503   GM           MALIBU               WEST PALM BEACH          FL
27548   1G1ZD5ST8KF166565   GM           MALIBU               SHREVEPORT               LA
27549   1G1ZD5ST8KF166694   GM           MALIBU               ELKRIDGE                 MD
27550   1G1ZD5ST8KF166744   GM           MALIBU               Slidell                  LA
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27551   1G1ZD5ST8KF166775   GM           MALIBU               JACKSONVILLE             FL
27552   1G1ZD5ST8KF166811   GM           MALIBU               KNOXVILLE                TN
27553   1G1ZD5ST8KF166890   GM           MALIBU               Hamilton                 OH
27554   1G1ZD5ST8KF166985   GM           MALIBU               FORT MYERS               FL
27555   1G1ZD5ST8KF167005   GM           MALIBU               Indianapolis             IN
27556   1G1ZD5ST8KF167036   GM           MALIBU               Anaheim                  CA
27557   1G1ZD5ST8KF167103   GM           MALIBU               NEW BERN                 NC
27558   1G1ZD5ST8KF167117   GM           MALIBU               FORT MYERS               FL
27559   1G1ZD5ST8KF167232   GM           MALIBU               Houston                  TX
27560   1G1ZD5ST8KF167313   GM           MALIBU               ORLANDO                  FL
27561   1G1ZD5ST8KF167442   GM           MALIBU               Hamilton                 OH
27562   1G1ZD5ST8KF167537   GM           MALIBU               TAMPA                    FL
27563   1G1ZD5ST8KF167621   GM           MALIBU               SAINT LOUIS              MO
27564   1G1ZD5ST8KF167795   GM           MALIBU               ORLANDO                  FL
27565   1G1ZD5ST8KF167800   GM           MALIBU               FORT MYERS               FL
27566   1G1ZD5ST8KF167974   GM           MALIBU               MIAMI                    FL
27567   1G1ZD5ST8KF168459   GM           MALIBU               COCOA                    FL
27568   1G1ZD5ST8KF168574   GM           MALIBU               Omaha                    NE
27569   1G1ZD5ST8KF168803   GM           MALIBU               Caledonia                WI
27570   1G1ZD5ST8KF169157   GM           MALIBU               Hebron                   KY
27571   1G1ZD5ST8KF169630   GM           MALIBU               Denver                   CO
27572   1G1ZD5ST8KF169661   GM           MALIBU               Fresno                   CA
27573   1G1ZD5ST8KF170082   GM           MALIBU               FORT MYERS               FL
27574   1G1ZD5ST8KF170275   GM           MALIBU               Smithtown                NY
27575   1G1ZD5ST8KF170468   GM           MALIBU               FORT LAUDERDALE          FL
27576   1G1ZD5ST8KF170597   GM           MALIBU               SAINT LOUIS              MO
27577   1G1ZD5ST8KF171443   GM           MALIBU               SEATAC                   WA
27578   1G1ZD5ST8KF173533   GM           MALIBU               KNOXVILLE                TN
27579   1G1ZD5ST8KF174469   GM           MALIBU               Stone Mountain           GA
27580   1G1ZD5ST8KF175721   GM           MALIBU               SACRAMENTO               CA
27581   1G1ZD5ST8KF175816   GM           MALIBU               ORLANDO                  FL
27582   1G1ZD5ST8KF176576   GM           MALIBU               Hebron                   KY
27583   1G1ZD5ST8KF178148   GM           MALIBU               Atlanta                  GA
27584   1G1ZD5ST8KF178988   GM           MALIBU               KENNER                   LA
27585   1G1ZD5ST8KF180854   GM           MALIBU               KENNER                   LA
27586   1G1ZD5ST8KF181230   GM           MALIBU               Hamilton                 OH
27587   1G1ZD5ST8KF181695   GM           MALIBU               SARASOTA                 FL
27588   1G1ZD5ST8KF183284   GM           MALIBU               FORT LAUDERDALE          FL
27589   1G1ZD5ST8KF183432   GM           MALIBU               Florissant               MO
27590   1G1ZD5ST8KF184273   GM           MALIBU               LAS VEGAS                NV
27591   1G1ZD5ST8KF185617   GM           MALIBU               DETROIT                  MI
27592   1G1ZD5ST8KF186055   GM           MALIBU               SAVANNAH                 GA
27593   1G1ZD5ST8KF186556   GM           MALIBU               Vandalia                 OH
27594   1G1ZD5ST8KF189294   GM           MALIBU               ORLANDO                  FL
27595   1G1ZD5ST8KF190297   GM           MALIBU               SOUTHEAST DST OFFC       OK
27596   1G1ZD5ST8KF206546   GM           MALIBU               Riverside                CA
27597   1G1ZD5ST8KF215165   GM           MALIBU               MILWAUKEE                WI
27598   1G1ZD5ST8LF054706   GM           MALIBU               Stone Mountain           GA
27599   1G1ZD5ST8LF078164   GM           MALIBU               Tulsa                    OK
27600   1G1ZD5ST8LF086457   GM           MALIBU               ELLWOOD CITY             PA
27601   1G1ZD5ST8LF092307   GM           MALIBU               OKLAHOMA CITY            OK
27602   1G1ZD5ST8LF092498   GM           MALIBU               GLASSBORO                NJ
27603   1G1ZD5ST8LF094042   GM           MALIBU               Tulsa                    OK
27604   1G1ZD5ST8LF099497   GM           MALIBU               FORT MYERS               FL
27605   1G1ZD5ST8LF109316   GM           MALIBU               WILMINGTON               CA
27606   1G1ZD5ST9JF131290   GM           CRUZE                LAUREL                   MD
27607   1G1ZD5ST9JF131774   GM           CRUZE                Sacramento               CA
27608   1G1ZD5ST9JF132195   GM           CRUZE                Portland                 OR
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27609   1G1ZD5ST9JF132570   GM           CRUZE                Manheim                  PA
27610   1G1ZD5ST9JF132990   GM           CRUZE                Euless                   TX
27611   1G1ZD5ST9JF133671   GM           CRUZE                Stone Mountain           GA
27612   1G1ZD5ST9JF134450   GM           CRUZE                SAN DIEGO                CA
27613   1G1ZD5ST9JF135341   GM           CRUZE                SAN JOSE                 CA
27614   1G1ZD5ST9JF135422   GM           CRUZE                NORTH PAC                CA
27615   1G1ZD5ST9JF135730   GM           CRUZE                LOS ANGELES AP           CA
27616   1G1ZD5ST9JF135744   GM           CRUZE                SAN DIEGO                CA
27617   1G1ZD5ST9JF135758   GM           CRUZE                TRACY                    CA
27618   1G1ZD5ST9JF135856   GM           CRUZE                Tampa                    FL
27619   1G1ZD5ST9JF136828   GM           CRUZE                SANTA ANA                CA
27620   1G1ZD5ST9JF137395   GM           CRUZE                PLEASANTON               CA
27621   1G1ZD5ST9JF137882   GM           CRUZE                TRACY                    CA
27622   1G1ZD5ST9JF137901   GM           CRUZE                Dallas                   TX
27623   1G1ZD5ST9JF138594   GM           CRUZE                SANTA ANA                CA
27624   1G1ZD5ST9JF138692   GM           CRUZE                Riverside                CA
27625   1G1ZD5ST9JF138854   GM           CRUZE                NORTH PAC                CA
27626   1G1ZD5ST9JF139549   GM           CRUZE                COLLEGE PARK             GA
27627   1G1ZD5ST9JF139695   GM           CRUZE                Portland                 OR
27628   1G1ZD5ST9JF139793   GM           CRUZE                SALT LAKE CITY           UT
27629   1G1ZD5ST9JF139969   GM           CRUZE                SANTA ANA                CA
27630   1G1ZD5ST9JF139972   GM           CRUZE                SANTA ANA                CA
27631   1G1ZD5ST9JF140099   GM           CRUZE                NORTH PAC                CA
27632   1G1ZD5ST9JF140605   GM           CRUZE                MARIETTA                 GA
27633   1G1ZD5ST9JF140765   GM           CRUZE                Greensboro               NC
27634   1G1ZD5ST9JF140958   GM           CRUZE                BOSTON                   MA
27635   1G1ZD5ST9JF141107   GM           CRUZE                HANOVER                  MD
27636   1G1ZD5ST9JF141253   GM           CRUZE                NOTTINGHAM               MD
27637   1G1ZD5ST9JF142550   GM           CRUZE                FT. LAUDERDALE           FL
27638   1G1ZD5ST9JF142788   GM           CRUZE                CHICAGO                  IL
27639   1G1ZD5ST9JF145237   GM           CRUZE                Tampa                    FL
27640   1G1ZD5ST9JF146324   GM           CRUZE                PHILA                    PA
27641   1G1ZD5ST9JF146548   GM           CRUZE                HARVEY                   LA
27642   1G1ZD5ST9JF146680   GM           CRUZE                Atlanta                  GA
27643   1G1ZD5ST9JF146727   GM           CRUZE                FT. LAUDERDALE           FL
27644   1G1ZD5ST9JF146730   GM           CRUZE                DALLAS                   TX
27645   1G1ZD5ST9JF147540   GM           CRUZE                NEW ENGLAND DEALER       MA
27646   1G1ZD5ST9JF148297   GM           CRUZE                Fort Lauderdale          FL
27647   1G1ZD5ST9JF149255   GM           CRUZE                ORLANDO                  FL
27648   1G1ZD5ST9JF149269   GM           CRUZE                Stone Mountain           GA
27649   1G1ZD5ST9JF149305   GM           CRUZE                DAYTONA BEACH            FL
27650   1G1ZD5ST9JF149725   GM           CRUZE                Statesville              NC
27651   1G1ZD5ST9JF149790   GM           CRUZE                ORLANDO                  FL
27652   1G1ZD5ST9JF149949   GM           CRUZE                Mira Loma                CA
27653   1G1ZD5ST9JF149952   GM           CRUZE                Fort Lauderdale          FL
27654   1G1ZD5ST9JF150390   GM           CRUZE                Charlotte                NC
27655   1G1ZD5ST9JF150552   GM           CRUZE                Atlanta                  GA
27656   1G1ZD5ST9JF150793   GM           CRUZE                Lynn                     MA
27657   1G1ZD5ST9JF150891   GM           CRUZE                SYRACUSE                 NY
27658   1G1ZD5ST9JF151006   GM           CRUZE                SOUTHEAST DST OFFC       OK
27659   1G1ZD5ST9JF151314   GM           CRUZE                MARIETTA                 GA
27660   1G1ZD5ST9JF153242   GM           CRUZE                HANOVER                  MD
27661   1G1ZD5ST9JF153774   GM           CRUZE                BOSTON                   MA
27662   1G1ZD5ST9JF154245   GM           CRUZE                SAN FRANCISCO            CA
27663   1G1ZD5ST9JF154908   GM           CRUZE                Lake Elsinore            CA
27664   1G1ZD5ST9JF155797   GM           CRUZE                BOSTON                   MA
27665   1G1ZD5ST9JF155816   GM           CRUZE                ROSEVILLE                CA
27666   1G1ZD5ST9JF156044   GM           CRUZE                WEST HARTFORD            CT
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27667   1G1ZD5ST9JF156383   GM           CRUZE                BURBANK                  CA
27668   1G1ZD5ST9JF156612   GM           CRUZE                Tolleson                 AZ
27669   1G1ZD5ST9JF156643   GM           CRUZE                LOS ANGELES              CA
27670   1G1ZD5ST9JF157260   GM           CRUZE                San Diego                CA
27671   1G1ZD5ST9JF157338   GM           CRUZE                NORTH PAC                CA
27672   1G1ZD5ST9JF157372   GM           CRUZE                BURBANK                  CA
27673   1G1ZD5ST9JF157579   GM           CRUZE                SANTA ANA                CA
27674   1G1ZD5ST9JF157713   GM           CRUZE                SANTA ANA                CA
27675   1G1ZD5ST9JF157727   GM           CRUZE                BURBANK                  CA
27676   1G1ZD5ST9JF157808   GM           CRUZE                DARLINGTON               SC
27677   1G1ZD5ST9JF158098   GM           CRUZE                ORLANDO                  FL
27678   1G1ZD5ST9JF158456   GM           CRUZE                Elkridge                 MD
27679   1G1ZD5ST9JF158585   GM           CRUZE                Richmond                 VA
27680   1G1ZD5ST9JF158893   GM           CRUZE                MIAMI                    FL
27681   1G1ZD5ST9JF158974   GM           CRUZE                Hayward                  CA
27682   1G1ZD5ST9JF160126   GM           CRUZE                Kent                     WA
27683   1G1ZD5ST9JF160188   GM           CRUZE                CHICAGO                  IL
27684   1G1ZD5ST9JF160286   GM           CRUZE                JAMAICA                  NY
27685   1G1ZD5ST9JF160580   GM           CRUZE                Salt Lake City           UT
27686   1G1ZD5ST9JF160675   GM           CRUZE                Phoenix                  AZ
27687   1G1ZD5ST9JF167156   GM           CRUZE                CHICAGO                  IL
27688   1G1ZD5ST9JF167514   GM           CRUZE                Tampa                    FL
27689   1G1ZD5ST9JF167769   GM           CRUZE                Manheim                  PA
27690   1G1ZD5ST9JF168341   GM           CRUZE                Elkridge                 MD
27691   1G1ZD5ST9JF168551   GM           CRUZE                CHARLOTTE                NC
27692   1G1ZD5ST9JF168887   GM           CRUZE                STERLING                 VA
27693   1G1ZD5ST9JF168923   GM           CRUZE                ENGLEWOOD                CO
27694   1G1ZD5ST9JF168999   GM           CRUZE                ORLANDO                  FL
27695   1G1ZD5ST9JF169280   GM           CRUZE                Miami                    FL
27696   1G1ZD5ST9JF169392   GM           CRUZE                ORLANDO                  FL
27697   1G1ZD5ST9JF172146   GM           CRUZE                Pittsburgh               PA
27698   1G1ZD5ST9JF174589   GM           CRUZE                Newark                   NJ
27699   1G1ZD5ST9JF174849   GM           CRUZE                Davie                    FL
27700   1G1ZD5ST9JF177380   GM           CRUZE                TRACY                    CA
27701   1G1ZD5ST9JF179002   GM           CRUZE                Dania                    FL
27702   1G1ZD5ST9JF179405   GM           CRUZE                Statesville              NC
27703   1G1ZD5ST9JF180795   GM           CRUZE                TAMPA                    FL
27704   1G1ZD5ST9JF180957   GM           CRUZE                GLASSBORO                NJ
27705   1G1ZD5ST9JF181333   GM           CRUZE                Riverside                CA
27706   1G1ZD5ST9JF181574   GM           CRUZE                BURBANK                  CA
27707   1G1ZD5ST9JF181736   GM           CRUZE                BURBANK                  CA
27708   1G1ZD5ST9JF182885   GM           CRUZE                Hayward                  CA
27709   1G1ZD5ST9JF183566   GM           CRUZE                Roseville                CA
27710   1G1ZD5ST9JF184166   GM           CRUZE                SOUTH SAN FRANC          CA
27711   1G1ZD5ST9JF185690   GM           CRUZE                ONTARIO                  CA
27712   1G1ZD5ST9JF187620   GM           CRUZE                KALAOA                   HI
27713   1G1ZD5ST9JF188119   GM           CRUZE                BURBANK                  CA
27714   1G1ZD5ST9JF188718   GM           CRUZE                PHOENIX                  AZ
27715   1G1ZD5ST9JF190386   GM           CRUZE                ROSEVILLE                CA
27716   1G1ZD5ST9JF198066   GM           CRUZE                SEATAC                   WA
27717   1G1ZD5ST9JF199301   GM           CRUZE                BURBANK                  CA
27718   1G1ZD5ST9JF199475   GM           CRUZE                BURBANK                  CA
27719   1G1ZD5ST9JF199735   GM           CRUZE                ROSEVILLE                CA
27720   1G1ZD5ST9JF199945   GM           CRUZE                Manheim                  PA
27721   1G1ZD5ST9JF200513   GM           CRUZE                BURBANK                  CA
27722   1G1ZD5ST9JF202276   GM           CRUZE                NORTH PAC                CA
27723   1G1ZD5ST9JF202990   GM           CRUZE                BURBANK                  CA
27724   1G1ZD5ST9JF203234   GM           CRUZE                Hayward                  CA
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27725   1G1ZD5ST9JF203640   GM           CRUZE                BURBANK                  CA
27726   1G1ZD5ST9JF203914   GM           CRUZE                LOS ANGELES              CA
27727   1G1ZD5ST9JF205758   GM           CRUZE                NORTH PAC                CA
27728   1G1ZD5ST9JF205789   GM           CRUZE                Tolleson                 AZ
27729   1G1ZD5ST9JF211009   GM           CRUZE                LOS ANGELES              CA
27730   1G1ZD5ST9JF214296   GM           CRUZE                COLLEGE PARK             GA
27731   1G1ZD5ST9JF215920   GM           CRUZE                Woodhaven                MI
27732   1G1ZD5ST9JF216176   GM           CRUZE                Baltimore                MD
27733   1G1ZD5ST9JF216453   GM           CRUZE                BOSTON                   MA
27734   1G1ZD5ST9JF216937   GM           CRUZE                GRAND RAPIDS             MI
27735   1G1ZD5ST9JF217375   GM           CRUZE                Chicago                  IL
27736   1G1ZD5ST9JF218431   GM           CRUZE                SANTA ANA                CA
27737   1G1ZD5ST9JF219711   GM           CRUZE                Riverside                CA
27738   1G1ZD5ST9JF222026   GM           CRUZE                NEW YORK CITY            NY
27739   1G1ZD5ST9JF222267   GM           CRUZE                DETROIT                  MI
27740   1G1ZD5ST9JF222429   GM           CRUZE                DENVER                   CO
27741   1G1ZD5ST9JF222754   GM           CRUZE                NORTH PAC                CA
27742   1G1ZD5ST9JF223239   GM           CRUZE                SAN FRANCISCO            CA
27743   1G1ZD5ST9JF223340   GM           CRUZE                North Las Vegas          NV
27744   1G1ZD5ST9JF224133   GM           CRUZE                Fredericksburg           VA
27745   1G1ZD5ST9JF224407   GM           CRUZE                Torrance                 CA
27746   1G1ZD5ST9JF224682   GM           CRUZE                DALLAS                   TX
27747   1G1ZD5ST9JF225668   GM           CRUZE                LAS VEGAS                NV
27748   1G1ZD5ST9JF225928   GM           CRUZE                BURBANK                  CA
27749   1G1ZD5ST9JF226139   GM           CRUZE                PHOENIX                  AZ
27750   1G1ZD5ST9JF226187   GM           CRUZE                CHICAGO                  IL
27751   1G1ZD5ST9JF226285   GM           CRUZE                WEST PALM BEACH          FL
27752   1G1ZD5ST9JF226397   GM           CRUZE                BURBANK                  CA
27753   1G1ZD5ST9JF226917   GM           CRUZE                STERLING                 VA
27754   1G1ZD5ST9JF227355   GM           CRUZE                NEW ENGLAND DEALER       MA
27755   1G1ZD5ST9JF227484   GM           CRUZE                North Dighton            MA
27756   1G1ZD5ST9JF227498   GM           CRUZE                SAN LEANDRO              CA
27757   1G1ZD5ST9JF232135   GM           CRUZE                SARASOTA                 FL
27758   1G1ZD5ST9JF232524   GM           CRUZE                ATLANTA                  GA
27759   1G1ZD5ST9JF232653   GM           CRUZE                NOTTINGHAM               MD
27760   1G1ZD5ST9JF232877   GM           CRUZE                TAMPA                    FL
27761   1G1ZD5ST9JF233639   GM           CRUZE                SOUTHEAST DST OFFC       OK
27762   1G1ZD5ST9JF233690   GM           CRUZE                TAMPA                    FL
27763   1G1ZD5ST9JF233916   GM           CRUZE                Hebron                   KY
27764   1G1ZD5ST9JF234726   GM           CRUZE                Elkridge                 MD
27765   1G1ZD5ST9JF234760   GM           CRUZE                CHICAGO                  IL
27766   1G1ZD5ST9JF235679   GM           CRUZE                LAS VEGAS                NV
27767   1G1ZD5ST9JF236007   GM           CRUZE                ORLANDO                  FL
27768   1G1ZD5ST9JF236363   GM           CRUZE                BIRMINGHAM               AL
27769   1G1ZD5ST9JF236489   GM           CRUZE                BURBANK                  CA
27770   1G1ZD5ST9JF236492   GM           CRUZE                Kansas City              MO
27771   1G1ZD5ST9JF236573   GM           CRUZE                Chandler                 AZ
27772   1G1ZD5ST9JF236783   GM           CRUZE                NORTH HOLLYWOOD          CA
27773   1G1ZD5ST9JF236864   GM           CRUZE                FAYETTEVILLE             GA
27774   1G1ZD5ST9JF236962   GM           CRUZE                LAS VEGAS                NV
27775   1G1ZD5ST9JF237206   GM           CRUZE                NORTH PAC                CA
27776   1G1ZD5ST9JF237383   GM           CRUZE                DETROIT                  MI
27777   1G1ZD5ST9JF237433   GM           CRUZE                Tampa                    FL
27778   1G1ZD5ST9JF237514   GM           CRUZE                BURBANK                  CA
27779   1G1ZD5ST9JF237531   GM           CRUZE                Santa Clara              CA
27780   1G1ZD5ST9JF237626   GM           CRUZE                LOS ANGELES              CA
27781   1G1ZD5ST9JF237867   GM           CRUZE                NOTTINGHAM               MD
27782   1G1ZD5ST9JF237903   GM           CRUZE                LOS ANGELES              CA
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27783   1G1ZD5ST9JF237996   GM           CRUZE                PHILADELPHIA             PA
27784   1G1ZD5ST9JF238016   GM           CRUZE                BURBANK                  CA
27785   1G1ZD5ST9JF238128   GM           CRUZE                SAN FRANCISCO            CA
27786   1G1ZD5ST9JF238209   GM           CRUZE                SAINT PAUL               MN
27787   1G1ZD5ST9JF238324   GM           CRUZE                LAS VEGAS                NV
27788   1G1ZD5ST9JF238601   GM           CRUZE                CHICAGO                  IL
27789   1G1ZD5ST9JF239246   GM           CRUZE                Hartford                 CT
27790   1G1ZD5ST9JF239490   GM           CRUZE                DETROIT                  MI
27791   1G1ZD5ST9JF239649   GM           CRUZE                Coraopolis               PA
27792   1G1ZD5ST9JF239991   GM           CRUZE                SAN FRANCISCO            CA
27793   1G1ZD5ST9JF240333   GM           CRUZE                CHICAGO                  IL
27794   1G1ZD5ST9JF240350   GM           CRUZE                PHOENIX                  AZ
27795   1G1ZD5ST9JF241398   GM           CRUZE                Costa Mesa               CA
27796   1G1ZD5ST9JF241725   GM           CRUZE                Philadelphia             PA
27797   1G1ZD5ST9JF241837   GM           CRUZE                NORTH PAC                CA
27798   1G1ZD5ST9JF241854   GM           CRUZE                ORLANDO                  FL
27799   1G1ZD5ST9JF242115   GM           CRUZE                SACRAMENTO               CA
27800   1G1ZD5ST9JF242843   GM           CRUZE                Atlanta                  GA
27801   1G1ZD5ST9JF242938   GM           CRUZE                FARMINGTON               NM
27802   1G1ZD5ST9JF243247   GM           CRUZE                Jacksonville             FL
27803   1G1ZD5ST9JF243443   GM           CRUZE                WARWICK                  US
27804   1G1ZD5ST9JF243572   GM           CRUZE                LAS VEGAS                NV
27805   1G1ZD5ST9JF243605   GM           CRUZE                Hebron                   KY
27806   1G1ZD5ST9JF243636   GM           CRUZE                INDIANAPOLIS             IN
27807   1G1ZD5ST9JF243748   GM           CRUZE                Slidell                  LA
27808   1G1ZD5ST9JF243927   GM           CRUZE                BURBANK                  CA
27809   1G1ZD5ST9JF243961   GM           CRUZE                FORT LAUDERDALE          FL
27810   1G1ZD5ST9JF244060   GM           CRUZE                Burien                   WA
27811   1G1ZD5ST9JF244074   GM           CRUZE                SAN JOSE                 CA
27812   1G1ZD5ST9JF244091   GM           CRUZE                SAINT PAUL               MN
27813   1G1ZD5ST9JF244141   GM           CRUZE                PHILADELPHIA             PA
27814   1G1ZD5ST9JF244155   GM           CRUZE                SEATAC                   WA
27815   1G1ZD5ST9JF244723   GM           CRUZE                ORLANDO                  FL
27816   1G1ZD5ST9JF245015   GM           CRUZE                Phoenix                  AZ
27817   1G1ZD5ST9JF245063   GM           CRUZE                Statesville              NC
27818   1G1ZD5ST9JF245158   GM           CRUZE                INDIANAPOLIS             IN
27819   1G1ZD5ST9JF245242   GM           CRUZE                Pasadena                 CA
27820   1G1ZD5ST9JF245256   GM           CRUZE                FORT MYERS               FL
27821   1G1ZD5ST9JF245273   GM           CRUZE                PHOENIX                  AZ
27822   1G1ZD5ST9JF245337   GM           CRUZE                Florissant               MO
27823   1G1ZD5ST9JF245368   GM           CRUZE                DES MOINES               IA
27824   1G1ZD5ST9JF245466   GM           CRUZE                FORT LAUDERDALE          FL
27825   1G1ZD5ST9JF245533   GM           CRUZE                HANOVER                  MD
27826   1G1ZD5ST9JF245709   GM           CRUZE                DANIA BEACH              FL
27827   1G1ZD5ST9JF245841   GM           CRUZE                GLASSBORO                NJ
27828   1G1ZD5ST9JF245872   GM           CRUZE                MELROSE PARK             IL
27829   1G1ZD5ST9JF245905   GM           CRUZE                DETROIT                  MI
27830   1G1ZD5ST9JF245922   GM           CRUZE                SAN FRANCISCO            CA
27831   1G1ZD5ST9JF245984   GM           CRUZE                ORLANDO                  FL
27832   1G1ZD5ST9JF246021   GM           CRUZE                KENNER                   LA
27833   1G1ZD5ST9JF246116   GM           CRUZE                LAS VEGAS                NV
27834   1G1ZD5ST9JF246293   GM           CRUZE                MEDINA                   OH
27835   1G1ZD5ST9JF246343   GM           CRUZE                CHICAGO                  IL
27836   1G1ZD5ST9JF246357   GM           CRUZE                DES MOINES               IA
27837   1G1ZD5ST9JF246388   GM           CRUZE                Bensalem                 PA
27838   1G1ZD5ST9JF246424   GM           CRUZE                Warwick                  RI
27839   1G1ZD5ST9JF246455   GM           CRUZE                Costa Mesa               CA
27840   1G1ZD5ST9JF246469   GM           CRUZE                PHOENIX                  AZ
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27841   1G1ZD5ST9JF246472   GM           CRUZE                Cleveland                OH
27842   1G1ZD5ST9JF246505   GM           CRUZE                LOS ANGELES              CA
27843   1G1ZD5ST9JF246567   GM           CRUZE                LAS VEGAS                NV
27844   1G1ZD5ST9JF246682   GM           CRUZE                CHARLOTTE                NC
27845   1G1ZD5ST9JF246858   GM           CRUZE                SAN JOSE                 CA
27846   1G1ZD5ST9JF246973   GM           CRUZE                CHICAGO                  US
27847   1G1ZD5ST9JF247072   GM           CRUZE                HANOVER                  MD
27848   1G1ZD5ST9JF247086   GM           CRUZE                ONTARIO                  CA
27849   1G1ZD5ST9JF247122   GM           CRUZE                Plainfield               IN
27850   1G1ZD5ST9JF247198   GM           CRUZE                Manheim                  PA
27851   1G1ZD5ST9JF247203   GM           CRUZE                Des Moines               IA
27852   1G1ZD5ST9JF247217   GM           CRUZE                ORLANDO                  FL
27853   1G1ZD5ST9JF247363   GM           CRUZE                RICHMOND                 VA
27854   1G1ZD5ST9JF247492   GM           CRUZE                MILWAUKEE                WI
27855   1G1ZD5ST9JF247511   GM           CRUZE                TULSA                    OK
27856   1G1ZD5ST9JF247542   GM           CRUZE                Kent                     WA
27857   1G1ZD5ST9JF247590   GM           CRUZE                NEWPORT BEACH            CA
27858   1G1ZD5ST9JF247685   GM           CRUZE                SYRACUSE                 NY
27859   1G1ZD5ST9JF247797   GM           CRUZE                NORTH PAC                CA
27860   1G1ZD5ST9JF247881   GM           CRUZE                FORT LAUDERDALE          FL
27861   1G1ZD5ST9JF248092   GM           CRUZE                BOSTON                   MA
27862   1G1ZD5ST9JF248142   GM           CRUZE                Santa Clara              CA
27863   1G1ZD5ST9JF248254   GM           CRUZE                CLEVELAND                OH
27864   1G1ZD5ST9JF248335   GM           CRUZE                FT. LAUDERDALE           FL
27865   1G1ZD5ST9JF248416   GM           CRUZE                EAST BOSTON              MA
27866   1G1ZD5ST9JF248495   GM           CRUZE                Chicago                  IL
27867   1G1ZD5ST9JF248545   GM           CRUZE                MIAMI                    FL
27868   1G1ZD5ST9JF248626   GM           CRUZE                Dallas                   TX
27869   1G1ZD5ST9JF248674   GM           CRUZE                KANSAS CITY              MO
27870   1G1ZD5ST9JF248691   GM           CRUZE                BURBANK                  CA
27871   1G1ZD5ST9JF248710   GM           CRUZE                MIAMI                    FL
27872   1G1ZD5ST9JF248738   GM           CRUZE                Kent                     WA
27873   1G1ZD5ST9JF248741   GM           CRUZE                BURBANK                  CA
27874   1G1ZD5ST9JF248755   GM           CRUZE                DALLAS                   TX
27875   1G1ZD5ST9JF248836   GM           CRUZE                SAINT PAUL               MN
27876   1G1ZD5ST9JF248867   GM           CRUZE                PITTSBURGH               PA
27877   1G1ZD5ST9JF248884   GM           CRUZE                Ventura                  CA
27878   1G1ZD5ST9JF248898   GM           CRUZE                Woodhaven                MI
27879   1G1ZD5ST9JF249081   GM           CRUZE                OAKLAND                  CA
27880   1G1ZD5ST9JF249114   GM           CRUZE                ST Paul                  MN
27881   1G1ZD5ST9JF249131   GM           CRUZE                Aurora                   CO
27882   1G1ZD5ST9JF249159   GM           CRUZE                HANOVER                  MD
27883   1G1ZD5ST9JF249260   GM           CRUZE                Warr Acres               OK
27884   1G1ZD5ST9JF249288   GM           CRUZE                Hebron                   KY
27885   1G1ZD5ST9JF249436   GM           CRUZE                ALEXANDRIA               VA
27886   1G1ZD5ST9JF249453   GM           CRUZE                PHOENIX                  AZ
27887   1G1ZD5ST9JF249503   GM           CRUZE                BIRMINGHAM               AL
27888   1G1ZD5ST9JF249615   GM           CRUZE                TUCSON                   AZ
27889   1G1ZD5ST9JF249727   GM           CRUZE                ORLANDO                  FL
27890   1G1ZD5ST9JF249730   GM           CRUZE                BURBANK                  CA
27891   1G1ZD5ST9JF249808   GM           CRUZE                Smithtown                NY
27892   1G1ZD5ST9JF249811   GM           CRUZE                BURBANK                  CA
27893   1G1ZD5ST9JF249923   GM           CRUZE                ORLANDO                  FL
27894   1G1ZD5ST9JF249999   GM           CRUZE                BURBANK                  CA
27895   1G1ZD5ST9JF250005   GM           CRUZE                Medford                  NY
27896   1G1ZD5ST9JF250036   GM           CRUZE                AUSTIN                   TX
27897   1G1ZD5ST9JF250084   GM           CRUZE                ST Paul                  MN
27898   1G1ZD5ST9JF250151   GM           CRUZE                DETROIT                  MI
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27899   1G1ZD5ST9JF250196   GM           CRUZE                Chicago                  IL
27900   1G1ZD5ST9JF250201   GM           CRUZE                San Antonio              TX
27901   1G1ZD5ST9JF250344   GM           CRUZE                PENSACOLA                FL
27902   1G1ZD5ST9JF250439   GM           CRUZE                Warwick                  RI
27903   1G1ZD5ST9JF250554   GM           CRUZE                SOUTHEAST DST OFFC       OK
27904   1G1ZD5ST9JF250604   GM           CRUZE                NORTH PAC                CA
27905   1G1ZD5ST9JF250635   GM           CRUZE                Elkridge                 MD
27906   1G1ZD5ST9JF251008   GM           CRUZE                SAN FRANCISCO            CA
27907   1G1ZD5ST9JF251042   GM           CRUZE                STERLING                 VA
27908   1G1ZD5ST9JF251249   GM           CRUZE                ORLANDO                  FL
27909   1G1ZD5ST9JF251266   GM           CRUZE                BURBANK                  CA
27910   1G1ZD5ST9JF251297   GM           CRUZE                Hamilton                 OH
27911   1G1ZD5ST9JF251557   GM           CRUZE                BOSTON                   MA
27912   1G1ZD5ST9JF251669   GM           CRUZE                San Antonio              TX
27913   1G1ZD5ST9JF251820   GM           CRUZE                Estero                   FL
27914   1G1ZD5ST9JF251851   GM           CRUZE                LOS ANGELES              CA
27915   1G1ZD5ST9JF252322   GM           CRUZE                Phoenix                  AZ
27916   1G1ZD5ST9JF252398   GM           CRUZE                TAMPA                    FL
27917   1G1ZD5ST9JF252630   GM           CRUZE                Chandler                 AZ
27918   1G1ZD5ST9JF252756   GM           CRUZE                STERLING                 VA
27919   1G1ZD5ST9JF252773   GM           CRUZE                LOUISVILLE               KY
27920   1G1ZD5ST9JF252823   GM           CRUZE                Orlando                  FL
27921   1G1ZD5ST9JF253132   GM           CRUZE                PHILADELPHIA             PA
27922   1G1ZD5ST9JF253373   GM           CRUZE                CLARKSVILLE              IN
27923   1G1ZD5ST9JF253714   GM           CRUZE                Los Angeles              CA
27924   1G1ZD5ST9JF253860   GM           CRUZE                PORTLAND                 OR
27925   1G1ZD5ST9JF253888   GM           CRUZE                Colorado Spring          CO
27926   1G1ZD5ST9JF254040   GM           CRUZE                BURBANK                  CA
27927   1G1ZD5ST9JF254135   GM           CRUZE                CHICAGO                  IL
27928   1G1ZD5ST9JF254250   GM           CRUZE                Chicago                  IL
27929   1G1ZD5ST9JF254409   GM           CRUZE                Charlotte                NC
27930   1G1ZD5ST9JF254443   GM           CRUZE                SAN DIEGO                CA
27931   1G1ZD5ST9JF254569   GM           CRUZE                Tustin                   CA
27932   1G1ZD5ST9JF254586   GM           CRUZE                Kent                     WA
27933   1G1ZD5ST9JF254796   GM           CRUZE                Harvey                   LA
27934   1G1ZD5ST9JF255057   GM           CRUZE                PHILADELPHIA             PA
27935   1G1ZD5ST9JF255124   GM           CRUZE                CHICAGO                  IL
27936   1G1ZD5ST9JF255379   GM           CRUZE                Hamilton                 OH
27937   1G1ZD5ST9JF255978   GM           CRUZE                Tolleson                 AZ
27938   1G1ZD5ST9JF256094   GM           CRUZE                Norwalk                  CA
27939   1G1ZD5ST9JF256290   GM           CRUZE                BURBANK                  CA
27940   1G1ZD5ST9JF256466   GM           CRUZE                BURBANK                  CA
27941   1G1ZD5ST9JF256628   GM           CRUZE                Jacksonville             FL
27942   1G1ZD5ST9JF257049   GM           CRUZE                Fresno                   CA
27943   1G1ZD5ST9JF257312   GM           CRUZE                BUFFALO                  NY
27944   1G1ZD5ST9JF257374   GM           CRUZE                KENNER                   LA
27945   1G1ZD5ST9JF257455   GM           CRUZE                PITTSBURGH               PA
27946   1G1ZD5ST9JF257648   GM           CRUZE                CLEVELAND                OH
27947   1G1ZD5ST9JF257732   GM           CRUZE                DALLAS                   TX
27948   1G1ZD5ST9JF257746   GM           CRUZE                SANTA ANA                CA
27949   1G1ZD5ST9JF257780   GM           CRUZE                Schaumburg               IL
27950   1G1ZD5ST9JF257827   GM           CRUZE                SAN FRANCISCO            CA
27951   1G1ZD5ST9JF257830   GM           CRUZE                Norwalk                  CA
27952   1G1ZD5ST9JF258010   GM           CRUZE                TRACY                    CA
27953   1G1ZD5ST9JF258220   GM           CRUZE                Torrance                 CA
27954   1G1ZD5ST9JF258332   GM           CRUZE                SACRAMENTO               CA
27955   1G1ZD5ST9JF258654   GM           CRUZE                SEATAC                   WA
27956   1G1ZD5ST9JF258850   GM           CRUZE                LAS VEGAS                NV
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27957   1G1ZD5ST9JF258976   GM           CRUZE                TUCSON                   AZ
27958   1G1ZD5ST9JF259819   GM           CRUZE                LOS ANGELES              CA
27959   1G1ZD5ST9JF259853   GM           CRUZE                FORT LAUDERDALE          FL
27960   1G1ZD5ST9JF259903   GM           CRUZE                SEATAC                   WA
27961   1G1ZD5ST9JF260016   GM           CRUZE                Winston‐Salem            NC
27962   1G1ZD5ST9JF260436   GM           CRUZE                Anaheim                  CA
27963   1G1ZD5ST9JF260761   GM           CRUZE                Salt Lake City           UT
27964   1G1ZD5ST9JF261750   GM           CRUZE                Roseville                CA
27965   1G1ZD5ST9JF261814   GM           CRUZE                SEATAC                   WA
27966   1G1ZD5ST9JF262610   GM           CRUZE                BURBANK                  CA
27967   1G1ZD5ST9JF262767   GM           CRUZE                SAN JOSE                 CA
27968   1G1ZD5ST9JF262820   GM           CRUZE                BURBANK                  CA
27969   1G1ZD5ST9JF262946   GM           CRUZE                Coraopolis               PA
27970   1G1ZD5ST9JF262963   GM           CRUZE                NEWARK                   NJ
27971   1G1ZD5ST9JF262977   GM           CRUZE                SEATAC                   WA
27972   1G1ZD5ST9JF263076   GM           CRUZE                Tolleson                 AZ
27973   1G1ZD5ST9JF263157   GM           CRUZE                BURBANK                  CA
27974   1G1ZD5ST9JF263403   GM           CRUZE                HANOVER                  MD
27975   1G1ZD5ST9JF263482   GM           CRUZE                Statesville              NC
27976   1G1ZD5ST9JF263661   GM           CRUZE                Marietta                 GA
27977   1G1ZD5ST9JF263885   GM           CRUZE                MILWAUKEE                WI
27978   1G1ZD5ST9JF264034   GM           CRUZE                Las Vegas                NV
27979   1G1ZD5ST9JF264048   GM           CRUZE                FORT LAUDERDALE          FL
27980   1G1ZD5ST9JF264342   GM           CRUZE                SHAKOPEE                 MN
27981   1G1ZD5ST9JF264566   GM           CRUZE                COLUMBIA                 SC
27982   1G1ZD5ST9JF264809   GM           CRUZE                CHICAGO                  IL
27983   1G1ZD5ST9JF264860   GM           CRUZE                FORT MYERS               FL
27984   1G1ZD5ST9JF265197   GM           CRUZE                ROSEVILLE                CA
27985   1G1ZD5ST9JF265524   GM           CRUZE                Manheim                  PA
27986   1G1ZD5ST9JF266267   GM           CRUZE                SOUTH SAN FRANC          CA
27987   1G1ZD5ST9JF266513   GM           CRUZE                TAMPA                    FL
27988   1G1ZD5ST9JF266981   GM           CRUZE                MIAMI                    FL
27989   1G1ZD5ST9JF267077   GM           CRUZE                ORLANDO                  FL
27990   1G1ZD5ST9JF267080   GM           CRUZE                LOS ANGELES              CA
27991   1G1ZD5ST9JF267175   GM           CRUZE                CHARLOTTE                NC
27992   1G1ZD5ST9JF267497   GM           CRUZE                WEST PALM BEACH          FL
27993   1G1ZD5ST9JF267628   GM           CRUZE                SAN JOSE                 CA
27994   1G1ZD5ST9JF268438   GM           CRUZE                Detroit                  MI
27995   1G1ZD5ST9JF268469   GM           CRUZE                TRACY                    CA
27996   1G1ZD5ST9JF268780   GM           CRUZE                FRESNO                   CA
27997   1G1ZD5ST9JF269380   GM           CRUZE                Schaumburg               IL
27998   1G1ZD5ST9JF270061   GM           CRUZE                ROSEVILLE                CA
27999   1G1ZD5ST9JF270349   GM           CRUZE                PHOENIX                  AZ
28000   1G1ZD5ST9JF270500   GM           CRUZE                Florissant               MO
28001   1G1ZD5ST9JF270626   GM           CRUZE                LAS VEGAS                NV
28002   1G1ZD5ST9JF270710   GM           CRUZE                SACRAMENTO               CA
28003   1G1ZD5ST9JF270755   GM           CRUZE                LOS ANGELES AP           CA
28004   1G1ZD5ST9JF271047   GM           CRUZE                BURBANK                  CA
28005   1G1ZD5ST9JF271243   GM           CRUZE                BURBANK                  CA
28006   1G1ZD5ST9JF271405   GM           CRUZE                SAN JOSE                 CA
28007   1G1ZD5ST9JF271498   GM           CRUZE                LAS VEGAS                NV
28008   1G1ZD5ST9JF272036   GM           CRUZE                Kansas City              MO
28009   1G1ZD5ST9JF272103   GM           CRUZE                CHARLOTTE                NC
28010   1G1ZD5ST9JF272179   GM           CRUZE                LAS VEGAS                NV
28011   1G1ZD5ST9JF272473   GM           CRUZE                FORT LAUDERDALE          FL
28012   1G1ZD5ST9JF272506   GM           CRUZE                SAN JOSE                 CA
28013   1G1ZD5ST9JF272554   GM           CRUZE                Hamilton                 OH
28014   1G1ZD5ST9JF272716   GM           CRUZE                Richmond                 VA
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28015   1G1ZD5ST9JF272814   GM           CRUZE                LOUISVILLE               KY
28016   1G1ZD5ST9JF273882   GM           CRUZE                FORT LAUDERDALE          FL
28017   1G1ZD5ST9JF274045   GM           CRUZE                DANIA BEACH              FL
28018   1G1ZD5ST9JF274112   GM           CRUZE                Greensboro               NC
28019   1G1ZD5ST9JF274434   GM           CRUZE                PHOENIX                  AZ
28020   1G1ZD5ST9JF274465   GM           CRUZE                TUCSON                   AZ
28021   1G1ZD5ST9JF274594   GM           CRUZE                Atlanta                  GA
28022   1G1ZD5ST9JF274661   GM           CRUZE                MELROSE PARK             IL
28023   1G1ZD5ST9JF274823   GM           CRUZE                NORTH PAC                CA
28024   1G1ZD5ST9JF274837   GM           CRUZE                Phoenix                  AZ
28025   1G1ZD5ST9JF274854   GM           CRUZE                MELROSE PARK             IL
28026   1G1ZD5ST9JF274885   GM           CRUZE                FORT MYERS               FL
28027   1G1ZD5ST9JF275258   GM           CRUZE                TAMPA                    FL
28028   1G1ZD5ST9JF275440   GM           CRUZE                HOUSTON                  TX
28029   1G1ZD5ST9JF275468   GM           CRUZE                MONTEREY                 CA
28030   1G1ZD5ST9JF275616   GM           CRUZE                North Las Vegas          NV
28031   1G1ZD5ST9JF275650   GM           CRUZE                MIDLAND                  TX
28032   1G1ZD5ST9JF275955   GM           CRUZE                SAN JOSE                 CA
28033   1G1ZD5ST9JF276071   GM           CRUZE                ORLANDO                  FL
28034   1G1ZD5ST9JF276202   GM           CRUZE                NEWPORT BEACH            CA
28035   1G1ZD5ST9JF276300   GM           CRUZE                OAKLAND                  CA
28036   1G1ZD5ST9JF276328   GM           CRUZE                DETROIT                  MI
28037   1G1ZD5ST9JF276345   GM           CRUZE                SAN DIEGO                CA
28038   1G1ZD5ST9JF276474   GM           CRUZE                Jacksonville             FL
28039   1G1ZD5ST9JF276488   GM           CRUZE                SACRAMENTO               CA
28040   1G1ZD5ST9JF276510   GM           CRUZE                TAMPA                    FL
28041   1G1ZD5ST9JF276538   GM           CRUZE                PHOENIX                  AZ
28042   1G1ZD5ST9JF277060   GM           CRUZE                ORLANDO                  FL
28043   1G1ZD5ST9JF277298   GM           CRUZE                SEATTLE                  CA
28044   1G1ZD5ST9KF104267   GM           MALIBU               Atlanta                  GA
28045   1G1ZD5ST9KF104401   GM           MALIBU               SANTA ANA                CA
28046   1G1ZD5ST9KF104849   GM           MALIBU               GRAND RAPIDS             MI
28047   1G1ZD5ST9KF105175   GM           MALIBU               FORT LAUDERDALE          FL
28048   1G1ZD5ST9KF105189   GM           MALIBU               FORT MYERS               FL
28049   1G1ZD5ST9KF105192   GM           MALIBU               BUFFALO                  NY
28050   1G1ZD5ST9KF105368   GM           MALIBU               DFW AIRPORT              TX
28051   1G1ZD5ST9KF105435   GM           MALIBU               Burien                   WA
28052   1G1ZD5ST9KF105516   GM           MALIBU               JACKSON                  MS
28053   1G1ZD5ST9KF105712   GM           MALIBU               GRAND RAPIDS             MI
28054   1G1ZD5ST9KF105726   GM           MALIBU               NOTTINGHAM               MD
28055   1G1ZD5ST9KF105788   GM           MALIBU               NEW ORLEANS              LA
28056   1G1ZD5ST9KF106102   GM           MALIBU               PITTSBURGH               PA
28057   1G1ZD5ST9KF106391   GM           MALIBU               ORANGE COUNTY            CA
28058   1G1ZD5ST9KF106603   GM           MALIBU               ALEXANDRIA               VA
28059   1G1ZD5ST9KF106617   GM           MALIBU               Riverview                MI
28060   1G1ZD5ST9KF106634   GM           MALIBU               Burien                   WA
28061   1G1ZD5ST9KF106648   GM           MALIBU               SAN DIEGO                US
28062   1G1ZD5ST9KF106732   GM           MALIBU               EL PASO                  TX
28063   1G1ZD5ST9KF107010   GM           MALIBU               SANTA ANA                CA
28064   1G1ZD5ST9KF107055   GM           MALIBU               BURBANK                  CA
28065   1G1ZD5ST9KF107606   GM           MALIBU               Irving                   TX
28066   1G1ZD5ST9KF107816   GM           MALIBU               Tampa                    FL
28067   1G1ZD5ST9KF107895   GM           MALIBU               Tolleson                 AZ
28068   1G1ZD5ST9KF107931   GM           MALIBU               RENO                     NV
28069   1G1ZD5ST9KF107945   GM           MALIBU               Richmond                 VA
28070   1G1ZD5ST9KF108285   GM           MALIBU               LOS ANGELES              CA
28071   1G1ZD5ST9KF108366   GM           MALIBU               TAMPA                    FL
28072   1G1ZD5ST9KF108402   GM           MALIBU               BOSTON                   MA
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28073   1G1ZD5ST9KF108609   GM           MALIBU               ATLANTA                  GA
28074   1G1ZD5ST9KF109730   GM           MALIBU               LOS ANGELES              CA
28075   1G1ZD5ST9KF109839   GM           MALIBU               Atlanta                  GA
28076   1G1ZD5ST9KF110232   GM           MALIBU               SANTA ANA                CA
28077   1G1ZD5ST9KF110327   GM           MALIBU               ORLANDO                  FL
28078   1G1ZD5ST9KF110344   GM           MALIBU               MIAMI                    FL
28079   1G1ZD5ST9KF110425   GM           MALIBU               Orlando                  FL
28080   1G1ZD5ST9KF110456   GM           MALIBU               Houston                  TX
28081   1G1ZD5ST9KF110764   GM           MALIBU               Dallas                   TX
28082   1G1ZD5ST9KF110876   GM           MALIBU               TAMPA                    FL
28083   1G1ZD5ST9KF111266   GM           MALIBU               Smithtown                NY
28084   1G1ZD5ST9KF111316   GM           MALIBU               MIAMI                    FL
28085   1G1ZD5ST9KF111378   GM           MALIBU               FORT MYERS               FL
28086   1G1ZD5ST9KF111414   GM           MALIBU               BOSTON                   MA
28087   1G1ZD5ST9KF111493   GM           MALIBU               INDIANAPOLIS             IN
28088   1G1ZD5ST9KF111817   GM           MALIBU               Atlanta                  GA
28089   1G1ZD5ST9KF111865   GM           MALIBU               Union City               GA
28090   1G1ZD5ST9KF111994   GM           MALIBU               WEST PALM BEACH          FL
28091   1G1ZD5ST9KF112059   GM           MALIBU               JACKSONVILLE             FL
28092   1G1ZD5ST9KF112160   GM           MALIBU               DAYTONA BEACH            FL
28093   1G1ZD5ST9KF112501   GM           MALIBU               FORT MYERS               FL
28094   1G1ZD5ST9KF112515   GM           MALIBU               ORLANDO                  FL
28095   1G1ZD5ST9KF112739   GM           MALIBU               ALBANY                   GA
28096   1G1ZD5ST9KF112840   GM           MALIBU               JACKSONVILLE             FL
28097   1G1ZD5ST9KF113079   GM           MALIBU               STERLING                 VA
28098   1G1ZD5ST9KF113681   GM           MALIBU               FORT LAUDERDALE          FL
28099   1G1ZD5ST9KF113910   GM           MALIBU               TAMPA                    FL
28100   1G1ZD5ST9KF114328   GM           MALIBU               TAMPA                    FL
28101   1G1ZD5ST9KF114961   GM           MALIBU               WEST PALM BEACH          FL
28102   1G1ZD5ST9KF115267   GM           MALIBU               TAMPA                    FL
28103   1G1ZD5ST9KF115348   GM           MALIBU               BURBANK                  CA
28104   1G1ZD5ST9KF115382   GM           MALIBU               FORT LAUDERDALE          FL
28105   1G1ZD5ST9KF115852   GM           MALIBU               OAKLAND                  CA
28106   1G1ZD5ST9KF115866   GM           MALIBU               PHOENIX                  AZ
28107   1G1ZD5ST9KF115883   GM           MALIBU               S. San Francisc          CA
28108   1G1ZD5ST9KF115950   GM           MALIBU               TAMPA                    FL
28109   1G1ZD5ST9KF116015   GM           MALIBU               STATESBORO               GA
28110   1G1ZD5ST9KF116094   GM           MALIBU               ORLANDO                  FL
28111   1G1ZD5ST9KF116399   GM           MALIBU               DANIA BEACH              FL
28112   1G1ZD5ST9KF116452   GM           MALIBU               PHOENIX                  AZ
28113   1G1ZD5ST9KF116984   GM           MALIBU               TAMPA                    FL
28114   1G1ZD5ST9KF117052   GM           MALIBU               FORT LAUDERDALE          FL
28115   1G1ZD5ST9KF117066   GM           MALIBU               ORLANDO                  FL
28116   1G1ZD5ST9KF117357   GM           MALIBU               MATTHEWS                 NC
28117   1G1ZD5ST9KF117861   GM           MALIBU               CHARLOTTESVILLE          VA
28118   1G1ZD5ST9KF117942   GM           MALIBU               HOUSTON                  TX
28119   1G1ZD5ST9KF117987   GM           MALIBU               WEST PALM BEACH          FL
28120   1G1ZD5ST9KF118086   GM           MALIBU               FORT MYERS               FL
28121   1G1ZD5ST9KF118511   GM           MALIBU               BLOOMINGTON              IL
28122   1G1ZD5ST9KF118542   GM           MALIBU               ORLANDO                  FL
28123   1G1ZD5ST9KF119111   GM           MALIBU               WEST PALM BEACH          FL
28124   1G1ZD5ST9KF119240   GM           MALIBU               Atlanta                  GA
28125   1G1ZD5ST9KF119402   GM           MALIBU               SAVANNAH                 GA
28126   1G1ZD5ST9KF119982   GM           MALIBU               KENNER                   LA
28127   1G1ZD5ST9KF120002   GM           MALIBU               Atlanta                  GA
28128   1G1ZD5ST9KF120369   GM           MALIBU               LAS VEGAS                NV
28129   1G1ZD5ST9KF121537   GM           MALIBU               PHOENIX                  AZ
28130   1G1ZD5ST9KF121554   GM           MALIBU               EULESS                   TX
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28131   1G1ZD5ST9KF122316   GM           MALIBU               SAN DIEGO                CA
28132   1G1ZD5ST9KF122770   GM           MALIBU               ORLANDO                  FL
28133   1G1ZD5ST9KF122851   GM           MALIBU               MIAMI                    FL
28134   1G1ZD5ST9KF122915   GM           MALIBU               Chandler                 AZ
28135   1G1ZD5ST9KF122946   GM           MALIBU               FORT LAUDERDALE          FL
28136   1G1ZD5ST9KF123126   GM           MALIBU               Rio Linda                CA
28137   1G1ZD5ST9KF123420   GM           MALIBU               TAMPA                    FL
28138   1G1ZD5ST9KF123501   GM           MALIBU               BURBANK                  CA
28139   1G1ZD5ST9KF123532   GM           MALIBU               FORT LAUDERDALE          FL
28140   1G1ZD5ST9KF123546   GM           MALIBU               Atlanta                  GA
28141   1G1ZD5ST9KF123661   GM           MALIBU               TAMPA                    FL
28142   1G1ZD5ST9KF123756   GM           MALIBU               GAINESVILLE              FL
28143   1G1ZD5ST9KF124194   GM           MALIBU               ATLANTA                  GA
28144   1G1ZD5ST9KF124275   GM           MALIBU               FORT LAUDERDALE          FL
28145   1G1ZD5ST9KF124342   GM           MALIBU               BOSTON                   MA
28146   1G1ZD5ST9KF124518   GM           MALIBU               TAMPA                    US
28147   1G1ZD5ST9KF124650   GM           MALIBU               ORLANDO                  FL
28148   1G1ZD5ST9KF124664   GM           MALIBU               ALBANY                   GA
28149   1G1ZD5ST9KF124762   GM           MALIBU               MIAMI                    FL
28150   1G1ZD5ST9KF124809   GM           MALIBU               KENNER                   LA
28151   1G1ZD5ST9KF124910   GM           MALIBU               JACKSONVILLE             FL
28152   1G1ZD5ST9KF124969   GM           MALIBU               SARASOTA                 FL
28153   1G1ZD5ST9KF125104   GM           MALIBU               ORLANDO                  FL
28154   1G1ZD5ST9KF125135   GM           MALIBU               ORLANDO                  FL
28155   1G1ZD5ST9KF125314   GM           MALIBU               BURBANK                  CA
28156   1G1ZD5ST9KF125605   GM           MALIBU               Los Angeles              CA
28157   1G1ZD5ST9KF125894   GM           MALIBU               FORT MYERS               FL
28158   1G1ZD5ST9KF126172   GM           MALIBU               DETROIT                  MI
28159   1G1ZD5ST9KF126317   GM           MALIBU               FORT LAUDERDALE          FL
28160   1G1ZD5ST9KF126768   GM           MALIBU               ORLANDO                  FL
28161   1G1ZD5ST9KF126981   GM           MALIBU               MIAMI                    FL
28162   1G1ZD5ST9KF127080   GM           MALIBU               TAMPA                    US
28163   1G1ZD5ST9KF127211   GM           MALIBU               FORT LAUDERDALE          FL
28164   1G1ZD5ST9KF133316   GM           MALIBU               Hamilton                 OH
28165   1G1ZD5ST9KF133445   GM           MALIBU               TAMPA                    US
28166   1G1ZD5ST9KF133462   GM           MALIBU               ORLANDO                  FL
28167   1G1ZD5ST9KF133476   GM           MALIBU               Atlanta                  GA
28168   1G1ZD5ST9KF133607   GM           MALIBU               Lake Elsinore            CA
28169   1G1ZD5ST9KF133736   GM           MALIBU               ORLANDO                  FL
28170   1G1ZD5ST9KF133817   GM           MALIBU               Hayward                  CA
28171   1G1ZD5ST9KF133851   GM           MALIBU               CLARKSVILLE              IN
28172   1G1ZD5ST9KF133929   GM           MALIBU               MIAMI                    FL
28173   1G1ZD5ST9KF134062   GM           MALIBU               TAMPA                    FL
28174   1G1ZD5ST9KF134076   GM           MALIBU               CHICAGO                  IL
28175   1G1ZD5ST9KF134188   GM           MALIBU               CHICAGO                  IL
28176   1G1ZD5ST9KF134336   GM           MALIBU               Santa Clara              CA
28177   1G1ZD5ST9KF134420   GM           MALIBU               ORLANDO                  FL
28178   1G1ZD5ST9KF134451   GM           MALIBU               Atlanta                  GA
28179   1G1ZD5ST9KF134546   GM           MALIBU               WEST PALM BEACH          FL
28180   1G1ZD5ST9KF134773   GM           MALIBU               HOUSTON                  TX
28181   1G1ZD5ST9KF134868   GM           MALIBU               Miami                    FL
28182   1G1ZD5ST9KF134904   GM           MALIBU               Clearwater               FL
28183   1G1ZD5ST9KF135017   GM           MALIBU               Davie                    FL
28184   1G1ZD5ST9KF135020   GM           MALIBU               Hendersonville           TN
28185   1G1ZD5ST9KF135065   GM           MALIBU               MEMPHIS                  TN
28186   1G1ZD5ST9KF135180   GM           MALIBU               JACKSON                  MS
28187   1G1ZD5ST9KF135308   GM           MALIBU               ORLANDO                  FL
28188   1G1ZD5ST9KF135373   GM           MALIBU               ORLANDO                  FL
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28189   1G1ZD5ST9KF135406   GM           MALIBU               Atlanta                  GA
28190   1G1ZD5ST9KF135695   GM           MALIBU               TAMPA                    FL
28191   1G1ZD5ST9KF135700   GM           MALIBU               FORT MYERS               FL
28192   1G1ZD5ST9KF136295   GM           MALIBU               FORT MYERS               FL
28193   1G1ZD5ST9KF136443   GM           MALIBU               ORLANDO                  FL
28194   1G1ZD5ST9KF136541   GM           MALIBU               Hebron                   KY
28195   1G1ZD5ST9KF136765   GM           MALIBU               CHARLESTON               SC
28196   1G1ZD5ST9KF136829   GM           MALIBU               Atlanta                  GA
28197   1G1ZD5ST9KF137690   GM           MALIBU               LUBBOCK                  TX
28198   1G1ZD5ST9KF137799   GM           MALIBU               WEST PALM BEACH          FL
28199   1G1ZD5ST9KF137821   GM           MALIBU               KNOXVILLE                TN
28200   1G1ZD5ST9KF137897   GM           MALIBU               Landover Hills           MD
28201   1G1ZD5ST9KF137964   GM           MALIBU               SAVANNAH                 GA
28202   1G1ZD5ST9KF137981   GM           MALIBU               PHILADELPHIA             PA
28203   1G1ZD5ST9KF138094   GM           MALIBU               MIAMI                    FL
28204   1G1ZD5ST9KF138127   GM           MALIBU               STERLING                 VA
28205   1G1ZD5ST9KF138273   GM           MALIBU               WEST PALM BEACH          FL
28206   1G1ZD5ST9KF139262   GM           MALIBU               DALLAS                   TX
28207   1G1ZD5ST9KF139357   GM           MALIBU               FORT LAUDERDALE          FL
28208   1G1ZD5ST9KF139374   GM           MALIBU               Slidell                  LA
28209   1G1ZD5ST9KF139553   GM           MALIBU               FORT MYERS               FL
28210   1G1ZD5ST9KF153789   GM           MALIBU               TAMPA                    FL
28211   1G1ZD5ST9KF154053   GM           MALIBU               TAMPA                    FL
28212   1G1ZD5ST9KF154361   GM           MALIBU               ORLANDO                  FL
28213   1G1ZD5ST9KF154425   GM           MALIBU               Fontana                  CA
28214   1G1ZD5ST9KF154473   GM           MALIBU               SARASOTA                 FL
28215   1G1ZD5ST9KF154683   GM           MALIBU               MIAMI                    FL
28216   1G1ZD5ST9KF154750   GM           MALIBU               COCOA                    FL
28217   1G1ZD5ST9KF155073   GM           MALIBU               JACKSONVILLE             FL
28218   1G1ZD5ST9KF155445   GM           MALIBU               JACKSONVILLE             FL
28219   1G1ZD5ST9KF155719   GM           MALIBU               TAMPA                    FL
28220   1G1ZD5ST9KF156501   GM           MALIBU               TAMPA                    FL
28221   1G1ZD5ST9KF156594   GM           MALIBU               FORT MYERS               FL
28222   1G1ZD5ST9KF156790   GM           MALIBU               Torrance                 CA
28223   1G1ZD5ST9KF156854   GM           MALIBU               SAVANNAH                 GA
28224   1G1ZD5ST9KF156983   GM           MALIBU               LITTLE ROCK              AR
28225   1G1ZD5ST9KF157065   GM           MALIBU               MIAMI                    FL
28226   1G1ZD5ST9KF157230   GM           MALIBU               FORT MYERS               FL
28227   1G1ZD5ST9KF157535   GM           MALIBU               ST Paul                  MN
28228   1G1ZD5ST9KF157681   GM           MALIBU               Albuquerque              NM
28229   1G1ZD5ST9KF157700   GM           MALIBU               ORLANDO                  FL
28230   1G1ZD5ST9KF157969   GM           MALIBU               FORT LAUDERDALE          FL
28231   1G1ZD5ST9KF157986   GM           MALIBU               SOUTHEAST DST OFFC       OK
28232   1G1ZD5ST9KF158216   GM           MALIBU               MIAMI                    FL
28233   1G1ZD5ST9KF158233   GM           MALIBU               SAN DIEGO                CA
28234   1G1ZD5ST9KF158250   GM           MALIBU               Elgin                    IL
28235   1G1ZD5ST9KF158278   GM           MALIBU               MIAMI                    FL
28236   1G1ZD5ST9KF158524   GM           MALIBU               LOUISVILLE               KY
28237   1G1ZD5ST9KF158541   GM           MALIBU               Fontana                  CA
28238   1G1ZD5ST9KF158619   GM           MALIBU               Fresno                   CA
28239   1G1ZD5ST9KF158894   GM           MALIBU               TAMPA                    US
28240   1G1ZD5ST9KF158913   GM           MALIBU               SARASOTA                 FL
28241   1G1ZD5ST9KF159026   GM           MALIBU               ORLANDO                  FL
28242   1G1ZD5ST9KF159091   GM           MALIBU               FORT MYERS               FL
28243   1G1ZD5ST9KF159270   GM           MALIBU               NAPLES                   FL
28244   1G1ZD5ST9KF159429   GM           MALIBU               Rio Linda                CA
28245   1G1ZD5ST9KF159480   GM           MALIBU               Florissant               MO
28246   1G1ZD5ST9KF159530   GM           MALIBU               Portland                 OR
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28247   1G1ZD5ST9KF159639   GM           MALIBU               FORT MYERS               FL
28248   1G1ZD5ST9KF159785   GM           MALIBU               Phoenix                  AZ
28249   1G1ZD5ST9KF159933   GM           MALIBU               PHOENIX                  AZ
28250   1G1ZD5ST9KF160161   GM           MALIBU               MIAMI                    FL
28251   1G1ZD5ST9KF160211   GM           MALIBU               TAMPA                    FL
28252   1G1ZD5ST9KF160242   GM           MALIBU               Coraopolis               PA
28253   1G1ZD5ST9KF160290   GM           MALIBU               MIAMI                    FL
28254   1G1ZD5ST9KF160323   GM           MALIBU               TAMPA                    FL
28255   1G1ZD5ST9KF160368   GM           MALIBU               Indianapolis             IN
28256   1G1ZD5ST9KF160578   GM           MALIBU               WEST PALM BEACH          FL
28257   1G1ZD5ST9KF160726   GM           MALIBU               DANIA BEACH              FL
28258   1G1ZD5ST9KF160886   GM           MALIBU               FORT LAUDERDALE          FL
28259   1G1ZD5ST9KF161097   GM           MALIBU               TAMPA                    FL
28260   1G1ZD5ST9KF161181   GM           MALIBU               TAMPA                    US
28261   1G1ZD5ST9KF161262   GM           MALIBU               FORT MYERS               FL
28262   1G1ZD5ST9KF161407   GM           MALIBU               ORLANDO                  FL
28263   1G1ZD5ST9KF161438   GM           MALIBU               TALLAHASSEE              FL
28264   1G1ZD5ST9KF161441   GM           MALIBU               ORLANDO                  FL
28265   1G1ZD5ST9KF161584   GM           MALIBU               FORT MYERS               FL
28266   1G1ZD5ST9KF161598   GM           MALIBU               Atlanta                  GA
28267   1G1ZD5ST9KF161617   GM           MALIBU               MIAMI                    FL
28268   1G1ZD5ST9KF161634   GM           MALIBU               MIAMI                    FL
28269   1G1ZD5ST9KF161701   GM           MALIBU               MIAMI                    FL
28270   1G1ZD5ST9KF161827   GM           MALIBU               TAMPA                    FL
28271   1G1ZD5ST9KF161830   GM           MALIBU               SARASOTA                 FL
28272   1G1ZD5ST9KF161889   GM           MALIBU               FT LAUDERDALE            FL
28273   1G1ZD5ST9KF161939   GM           MALIBU               BOSTON                   MA
28274   1G1ZD5ST9KF162069   GM           MALIBU               MIAMI                    FL
28275   1G1ZD5ST9KF162072   GM           MALIBU               Miami                    FL
28276   1G1ZD5ST9KF162136   GM           MALIBU               Houston                  TX
28277   1G1ZD5ST9KF162153   GM           MALIBU               JACKSONVILLE             FL
28278   1G1ZD5ST9KF162184   GM           MALIBU               MIAMI                    FL
28279   1G1ZD5ST9KF162217   GM           MALIBU               SOUTH BEND               IN
28280   1G1ZD5ST9KF162220   GM           MALIBU               TAMPA                    FL
28281   1G1ZD5ST9KF162251   GM           MALIBU               MIAMI                    FL
28282   1G1ZD5ST9KF162265   GM           MALIBU               FORT LAUDERDALE          FL
28283   1G1ZD5ST9KF162315   GM           MALIBU               ORLANDO                  FL
28284   1G1ZD5ST9KF162508   GM           MALIBU               FORT MYERS               FL
28285   1G1ZD5ST9KF162668   GM           MALIBU               TAMPA                    FL
28286   1G1ZD5ST9KF162735   GM           MALIBU               FORT MYERS               FL
28287   1G1ZD5ST9KF163013   GM           MALIBU               WEST PALM BEACH          FL
28288   1G1ZD5ST9KF163139   GM           MALIBU               FORT MYERS               FL
28289   1G1ZD5ST9KF163142   GM           MALIBU               Burien                   WA
28290   1G1ZD5ST9KF163190   GM           MALIBU               Albuquerque              NM
28291   1G1ZD5ST9KF163299   GM           MALIBU               ORLANDO                  FL
28292   1G1ZD5ST9KF163397   GM           MALIBU               FORT LAUDERDALE          FL
28293   1G1ZD5ST9KF163481   GM           MALIBU               TAMPA                    FL
28294   1G1ZD5ST9KF163495   GM           MALIBU               ORLANDO                  FL
28295   1G1ZD5ST9KF163562   GM           MALIBU               Dallas                   TX
28296   1G1ZD5ST9KF163741   GM           MALIBU               FORT MYERS               FL
28297   1G1ZD5ST9KF163769   GM           MALIBU               FORT MYERS               FL
28298   1G1ZD5ST9KF163822   GM           MALIBU               SARASOTA                 FL
28299   1G1ZD5ST9KF164002   GM           MALIBU               ORLANDO                  FL
28300   1G1ZD5ST9KF164047   GM           MALIBU               FORT MYERS               FL
28301   1G1ZD5ST9KF164095   GM           MALIBU               TAMPA                    FL
28302   1G1ZD5ST9KF164114   GM           MALIBU               RONKONKOMA               NY
28303   1G1ZD5ST9KF164212   GM           MALIBU               ORLANDO                  FL
28304   1G1ZD5ST9KF164274   GM           MALIBU               TAMPA                    FL
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28305   1G1ZD5ST9KF164288   GM           MALIBU               SOUTHEAST DST OFFC       OK
28306   1G1ZD5ST9KF164307   GM           MALIBU               FORT MYERS               FL
28307   1G1ZD5ST9KF164338   GM           MALIBU               FORT LAUDERDALE          FL
28308   1G1ZD5ST9KF164551   GM           MALIBU               KNOXVILLE                TN
28309   1G1ZD5ST9KF164579   GM           MALIBU               Bridgeton                MO
28310   1G1ZD5ST9KF164694   GM           MALIBU               PHOENIX                  AZ
28311   1G1ZD5ST9KF164923   GM           MALIBU               Detroit                  MI
28312   1G1ZD5ST9KF164940   GM           MALIBU               Omaha                    NE
28313   1G1ZD5ST9KF165117   GM           MALIBU               Wichita                  KS
28314   1G1ZD5ST9KF165361   GM           MALIBU               FORT MYERS               FL
28315   1G1ZD5ST9KF165389   GM           MALIBU               Chicago                  IL
28316   1G1ZD5ST9KF165473   GM           MALIBU               San Diego                CA
28317   1G1ZD5ST9KF165537   GM           MALIBU               HOUSTON                  TX
28318   1G1ZD5ST9KF165778   GM           MALIBU               SAVANNAH                 GA
28319   1G1ZD5ST9KF165845   GM           MALIBU               EULESS                   TX
28320   1G1ZD5ST9KF165862   GM           MALIBU               CLEVELAND                OH
28321   1G1ZD5ST9KF166154   GM           MALIBU               Florissant               MO
28322   1G1ZD5ST9KF166185   GM           MALIBU               Dallas                   TX
28323   1G1ZD5ST9KF166218   GM           MALIBU               WEST PALM BEACH          FL
28324   1G1ZD5ST9KF166221   GM           MALIBU               FORT LAUDERDALE          FL
28325   1G1ZD5ST9KF166235   GM           MALIBU               KENNER                   LA
28326   1G1ZD5ST9KF166252   GM           MALIBU               FORT LAUDERDALE          FL
28327   1G1ZD5ST9KF166557   GM           MALIBU               ORLANDO                  FL
28328   1G1ZD5ST9KF166560   GM           MALIBU               MIAMI                    FL
28329   1G1ZD5ST9KF166638   GM           MALIBU               Winston‐Salem            NC
28330   1G1ZD5ST9KF166705   GM           MALIBU               Tulsa                    OK
28331   1G1ZD5ST9KF166896   GM           MALIBU               FORT MYERS               FL
28332   1G1ZD5ST9KF166963   GM           MALIBU               CHICAGO                  IL
28333   1G1ZD5ST9KF167093   GM           MALIBU               DAYTONA BEACH            FL
28334   1G1ZD5ST9KF167112   GM           MALIBU               Killeen                  TX
28335   1G1ZD5ST9KF167384   GM           MALIBU               TAMPA                    US
28336   1G1ZD5ST9KF167496   GM           MALIBU               ATLANTA AP               GA
28337   1G1ZD5ST9KF167532   GM           MALIBU               Dallas                   TX
28338   1G1ZD5ST9KF167580   GM           MALIBU               ORLANDO                  FL
28339   1G1ZD5ST9KF167630   GM           MALIBU               SOUTHEAST DST OFFC       OK
28340   1G1ZD5ST9KF167806   GM           MALIBU               FORT MYERS               FL
28341   1G1ZD5ST9KF168048   GM           MALIBU               SARASOTA                 FL
28342   1G1ZD5ST9KF168082   GM           MALIBU               MEMPHIS                  TN
28343   1G1ZD5ST9KF168213   GM           MALIBU               ORLANDO                  FL
28344   1G1ZD5ST9KF168292   GM           MALIBU               WEST PALM BEACH          FL
28345   1G1ZD5ST9KF168910   GM           MALIBU               Kansas City              MO
28346   1G1ZD5ST9KF168938   GM           MALIBU               ORLANDO                  FL
28347   1G1ZD5ST9KF169233   GM           MALIBU               COLUMBUS                 OH
28348   1G1ZD5ST9KF169507   GM           MALIBU               Slidell                  LA
28349   1G1ZD5ST9KF169653   GM           MALIBU               JACKSONVILLE             FL
28350   1G1ZD5ST9KF169667   GM           MALIBU               ORLANDO                  FL
28351   1G1ZD5ST9KF170172   GM           MALIBU               TAMPA                    US
28352   1G1ZD5ST9KF170186   GM           MALIBU               TAMPA                    FL
28353   1G1ZD5ST9KF170236   GM           MALIBU               Sacramento               CA
28354   1G1ZD5ST9KF170382   GM           MALIBU               MIAMI                    FL
28355   1G1ZD5ST9KF170446   GM           MALIBU               Nashville                TN
28356   1G1ZD5ST9KF170866   GM           MALIBU               Atlanta                  GA
28357   1G1ZD5ST9KF170916   GM           MALIBU               Austell                  GA
28358   1G1ZD5ST9KF171144   GM           MALIBU               WEST PALM BEACH          FL
28359   1G1ZD5ST9KF171161   GM           MALIBU               SAVANNAH                 GA
28360   1G1ZD5ST9KF171290   GM           MALIBU               TAMPA                    FL
28361   1G1ZD5ST9KF171516   GM           MALIBU               LAS VEGAS                NV
28362   1G1ZD5ST9KF171659   GM           MALIBU               Austell                  GA
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28363   1G1ZD5ST9KF171869   GM           MALIBU               TAMPA                    FL
28364   1G1ZD5ST9KF173394   GM           MALIBU               KNOXVILLE                TN
28365   1G1ZD5ST9KF173623   GM           MALIBU               FORT MYERS               FL
28366   1G1ZD5ST9KF174691   GM           MALIBU               FORT MYERS               FL
28367   1G1ZD5ST9KF175131   GM           MALIBU               NEW BERN                 NC
28368   1G1ZD5ST9KF175503   GM           MALIBU               FORT MYERS               FL
28369   1G1ZD5ST9KF175775   GM           MALIBU               St. Louis                MO
28370   1G1ZD5ST9KF175792   GM           MALIBU               ORLANDO                  FL
28371   1G1ZD5ST9KF175825   GM           MALIBU               Omaha                    NE
28372   1G1ZD5ST9KF175954   GM           MALIBU               FORT MYERS               FL
28373   1G1ZD5ST9KF176036   GM           MALIBU               JACKSONVILLE             FL
28374   1G1ZD5ST9KF176229   GM           MALIBU               FORT MYERS               FL
28375   1G1ZD5ST9KF176294   GM           MALIBU               FORT LAUDERDALE          FL
28376   1G1ZD5ST9KF176778   GM           MALIBU               TAMPA                    FL
28377   1G1ZD5ST9KF176845   GM           MALIBU               San Antonio              TX
28378   1G1ZD5ST9KF176957   GM           MALIBU               MEMPHIS                  TN
28379   1G1ZD5ST9KF177025   GM           MALIBU               SALT LAKE CITY           US
28380   1G1ZD5ST9KF177154   GM           MALIBU               MOBILE                   A
28381   1G1ZD5ST9KF177316   GM           MALIBU               STERLING                 VA
28382   1G1ZD5ST9KF177851   GM           MALIBU               SYRACUSE                 NY
28383   1G1ZD5ST9KF178045   GM           MALIBU               Medford                  NY
28384   1G1ZD5ST9KF178479   GM           MALIBU               KNOXVILLE                TN
28385   1G1ZD5ST9KF178532   GM           MALIBU               DULUTH                   GA
28386   1G1ZD5ST9KF179261   GM           MALIBU               SARASOTA                 FL
28387   1G1ZD5ST9KF180460   GM           MALIBU               COLUMBUS                 OH
28388   1G1ZD5ST9KF180653   GM           MALIBU               JACKSONVILLE             FL
28389   1G1ZD5ST9KF180801   GM           MALIBU               Richmond                 VA
28390   1G1ZD5ST9KF180944   GM           MALIBU               SARASOTA                 FL
28391   1G1ZD5ST9KF182192   GM           MALIBU               Greensboro               NC
28392   1G1ZD5ST9KF182340   GM           MALIBU               SAVANNAH                 GA
28393   1G1ZD5ST9KF182354   GM           MALIBU               Hebron                   KY
28394   1G1ZD5ST9KF182600   GM           MALIBU               DECATUR                  IL
28395   1G1ZD5ST9KF182712   GM           MALIBU               KNOXVILLE                TN
28396   1G1ZD5ST9KF182788   GM           MALIBU               Kansas City              MO
28397   1G1ZD5ST9KF184427   GM           MALIBU               WEST PALM BEACH          FL
28398   1G1ZD5ST9KF184654   GM           MALIBU               Portland                 OR
28399   1G1ZD5ST9KF184864   GM           MALIBU               Miami                    FL
28400   1G1ZD5ST9KF185044   GM           MALIBU               Atlanta                  GA
28401   1G1ZD5ST9KF185271   GM           MALIBU               TAMPA                    FL
28402   1G1ZD5ST9KF185593   GM           MALIBU               FORT MYERS               FL
28403   1G1ZD5ST9KF186128   GM           MALIBU               KNOXVILLE                TN
28404   1G1ZD5ST9KF186923   GM           MALIBU               TAMPA                    US
28405   1G1ZD5ST9KF189143   GM           MALIBU               Kansas City              MO
28406   1G1ZD5ST9KF208838   GM           MALIBU               PHOENIX                  AZ
28407   1G1ZD5ST9KF215515   GM           MALIBU               SAN DIEGO                CA
28408   1G1ZD5ST9KF222531   GM           MALIBU               ORLANDO                  FL
28409   1G1ZD5ST9KF224408   GM           MALIBU               San Diego                CA
28410   1G1ZD5ST9LF036022   GM           MALIBU               York Haven               PA
28411   1G1ZD5ST9LF062443   GM           MALIBU               SAVANNAH                 GA
28412   1G1ZD5ST9LF092347   GM           MALIBU               COLUMBIA STATIO          OH
28413   1G1ZD5ST9LF092400   GM           MALIBU               GLASSBORO                NJ
28414   1G1ZD5ST9LF093854   GM           MALIBU               Jacksonville             FL
28415   1G1ZD5ST9LF094082   GM           MALIBU               Hamilton                 OH
28416   1G1ZD5ST9LF094650   GM           MALIBU               Fort Worth               TX
28417   1G1ZD5STXJF122873   GM           CRUZE                Elkridge                 MD
28418   1G1ZD5STXJF124560   GM           CRUZE                HANOVER                  MD
28419   1G1ZD5STXJF124882   GM           MALIBU               San Antonio              TX
28420   1G1ZD5STXJF125305   GM           CRUZE                Irving                   TX
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28421   1G1ZD5STXJF125322   GM           CRUZE                MORROW                   GA
28422   1G1ZD5STXJF129693   GM           CRUZE                OAKLAND                  CA
28423   1G1ZD5STXJF130066   GM           CRUZE                Stone Mountain           GA
28424   1G1ZD5STXJF130102   GM           CRUZE                Matteson                 IL
28425   1G1ZD5STXJF130259   GM           CRUZE                Hanover                  MD
28426   1G1ZD5STXJF131489   GM           CRUZE                Elkridge                 MD
28427   1G1ZD5STXJF132366   GM           CRUZE                Torrance                 CA
28428   1G1ZD5STXJF132433   GM           CRUZE                Atlanta                  GA
28429   1G1ZD5STXJF132559   GM           CRUZE                LOS ANGELES              CA
28430   1G1ZD5STXJF133047   GM           CRUZE                Fort Lauderdale          FL
28431   1G1ZD5STXJF133193   GM           CRUZE                ROSEVILLE                CA
28432   1G1ZD5STXJF133212   GM           CRUZE                Portland                 OR
28433   1G1ZD5STXJF133808   GM           CRUZE                LOS ANGELES              CA
28434   1G1ZD5STXJF134392   GM           CRUZE                Davie                    FL
28435   1G1ZD5STXJF134649   GM           CRUZE                CHICAGO                  IL
28436   1G1ZD5STXJF134697   GM           CRUZE                DES MOINES               IA
28437   1G1ZD5STXJF135333   GM           CRUZE                LOS ANGELES              CA
28438   1G1ZD5STXJF135400   GM           CRUZE                CHICAGO                  IL
28439   1G1ZD5STXJF136109   GM           CRUZE                BURBANK                  CA
28440   1G1ZD5STXJF136773   GM           CRUZE                BURBANK                  CA
28441   1G1ZD5STXJF136806   GM           CRUZE                NORTH PAC                CA
28442   1G1ZD5STXJF137650   GM           CRUZE                SAN FRANCISCO            CA
28443   1G1ZD5STXJF138037   GM           CRUZE                Portland                 OR
28444   1G1ZD5STXJF138247   GM           CRUZE                DALLAS FORT WORTH AP     TX
28445   1G1ZD5STXJF138524   GM           CRUZE                Riverside                CA
28446   1G1ZD5STXJF139057   GM           CRUZE                TRACY                    CA
28447   1G1ZD5STXJF139172   GM           CRUZE                CHICAGO                  IL
28448   1G1ZD5STXJF139723   GM           CRUZE                Stockton                 CA
28449   1G1ZD5STXJF140497   GM           CRUZE                Stone Mountain           GA
28450   1G1ZD5STXJF140600   GM           CRUZE                TRACY                    CA
28451   1G1ZD5STXJF140953   GM           CRUZE                FAYETTEVILLE             GA
28452   1G1ZD5STXJF142170   GM           CRUZE                Austell                  GA
28453   1G1ZD5STXJF142363   GM           CRUZE                OAKLAND                  CA
28454   1G1ZD5STXJF143366   GM           CRUZE                LAKEWOOD                 OH
28455   1G1ZD5STXJF143481   GM           CRUZE                Atlanta                  GA
28456   1G1ZD5STXJF145036   GM           CRUZE                DAYTONA BEACH            FL
28457   1G1ZD5STXJF145277   GM           CRUZE                NASHVILLE                TN
28458   1G1ZD5STXJF145439   GM           CRUZE                DARLINGTON               SC
28459   1G1ZD5STXJF146168   GM           CRUZE                DARLINGTON               SC
28460   1G1ZD5STXJF146395   GM           CRUZE                DAYTONA BEACH            FL
28461   1G1ZD5STXJF146879   GM           CRUZE                ORLANDO                  FL
28462   1G1ZD5STXJF147109   GM           CRUZE                STERLING                 VA
28463   1G1ZD5STXJF149331   GM           CRUZE                Fort Lauderdale          FL
28464   1G1ZD5STXJF149443   GM           CRUZE                CLEARWATER               FL
28465   1G1ZD5STXJF149751   GM           CRUZE                SAVANNAH                 GA
28466   1G1ZD5STXJF149913   GM           CRUZE                GLEN BURNIE              MD
28467   1G1ZD5STXJF150043   GM           CRUZE                FT LAUDERDALE            FL
28468   1G1ZD5STXJF150205   GM           CRUZE                HANOVER                  MD
28469   1G1ZD5STXJF150401   GM           CRUZE                CHICAGO                  IL
28470   1G1ZD5STXJF150706   GM           CRUZE                PHILADELPHIA             PA
28471   1G1ZD5STXJF150866   GM           CRUZE                Manheim                  PA
28472   1G1ZD5STXJF150916   GM           CRUZE                Elkridge                 MD
28473   1G1ZD5STXJF150933   GM           CRUZE                North Dighton            MA
28474   1G1ZD5STXJF151063   GM           CRUZE                DENVER                   CO
28475   1G1ZD5STXJF151077   GM           CRUZE                TAMPA                    FL
28476   1G1ZD5STXJF151080   GM           CRUZE                Tolleson                 AZ
28477   1G1ZD5STXJF151287   GM           CRUZE                SOUTHEAST DST OFFC       OK
28478   1G1ZD5STXJF151659   GM           CRUZE                HANOVER                  MD
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28479   1G1ZD5STXJF151905   GM           CRUZE                KNOXVILLE                TN
28480   1G1ZD5STXJF152049   GM           CRUZE                LOS ANGELES              CA
28481   1G1ZD5STXJF152052   GM           CRUZE                Riverside                CA
28482   1G1ZD5STXJF152682   GM           CRUZE                PHOENIX                  AZ
28483   1G1ZD5STXJF153024   GM           CRUZE                Hanover                  MD
28484   1G1ZD5STXJF153136   GM           CRUZE                TRACY                    CA
28485   1G1ZD5STXJF153251   GM           CRUZE                SANTA CLARA              CA
28486   1G1ZD5STXJF153489   GM           CRUZE                DALLAS                   TX
28487   1G1ZD5STXJF154402   GM           CRUZE                NORTH PAC                CA
28488   1G1ZD5STXJF155145   GM           CRUZE                LOS ANGELES              CA
28489   1G1ZD5STXJF155260   GM           CRUZE                SAN JOSE                 CA
28490   1G1ZD5STXJF155338   GM           CRUZE                ONTARIO                  CA
28491   1G1ZD5STXJF155405   GM           CRUZE                ONTARIO                  CA
28492   1G1ZD5STXJF156683   GM           CRUZE                BURBANK                  CA
28493   1G1ZD5STXJF156750   GM           CRUZE                NORTH HOLLYWOOD          CA
28494   1G1ZD5STXJF156795   GM           CRUZE                NORTH PAC                CA
28495   1G1ZD5STXJF157090   GM           CRUZE                LOS ANGELES              CA
28496   1G1ZD5STXJF157316   GM           CRUZE                BURBANK                  CA
28497   1G1ZD5STXJF157526   GM           CRUZE                BURBANK                  CA
28498   1G1ZD5STXJF157624   GM           CRUZE                North Las Vegas          NV
28499   1G1ZD5STXJF157817   GM           CRUZE                Atlanta                  GA
28500   1G1ZD5STXJF157865   GM           CRUZE                Hartford                 CT
28501   1G1ZD5STXJF159194   GM           CRUZE                HANOVER                  MD
28502   1G1ZD5STXJF159518   GM           CRUZE                SEATAC                   WA
28503   1G1ZD5STXJF159664   GM           CRUZE                Tampa                    FL
28504   1G1ZD5STXJF159910   GM           CRUZE                DENVER                   CO
28505   1G1ZD5STXJF159986   GM           CRUZE                Denver                   CO
28506   1G1ZD5STXJF160555   GM           CRUZE                DENVER                   CO
28507   1G1ZD5STXJF160636   GM           CRUZE                Fort Lauderdale          FL
28508   1G1ZD5STXJF166873   GM           MALIBU               FORT LAUDERDALE          FL
28509   1G1ZD5STXJF167781   GM           CRUZE                Statesville              NC
28510   1G1ZD5STXJF168395   GM           CRUZE                CLEVELAND                OH
28511   1G1ZD5STXJF168817   GM           CRUZE                HANOVER                  MD
28512   1G1ZD5STXJF169045   GM           CRUZE                PORTLAND                 OR
28513   1G1ZD5STXJF169076   GM           CRUZE                San Diego                CA
28514   1G1ZD5STXJF169577   GM           CRUZE                Hanover                  MD
28515   1G1ZD5STXJF171247   GM           CRUZE                Portland                 OR
28516   1G1ZD5STXJF172303   GM           CRUZE                SOUTHEAST DST OFFC       OK
28517   1G1ZD5STXJF175203   GM           CRUZE                BURBANK                  CA
28518   1G1ZD5STXJF176139   GM           CRUZE                HANOVER                  MD
28519   1G1ZD5STXJF176612   GM           CRUZE                BURBANK                  CA
28520   1G1ZD5STXJF179168   GM           CRUZE                Denver                   CO
28521   1G1ZD5STXJF179865   GM           CRUZE                RALEIGH                  NC
28522   1G1ZD5STXJF179915   GM           CRUZE                Miami                    FL
28523   1G1ZD5STXJF179932   GM           CRUZE                Miami                    FL
28524   1G1ZD5STXJF182250   GM           CRUZE                ONTARIO                  CA
28525   1G1ZD5STXJF182913   GM           CRUZE                San Diego                CA
28526   1G1ZD5STXJF183592   GM           CRUZE                CHICAGO                  IL
28527   1G1ZD5STXJF184130   GM           CRUZE                NORTH PAC                CA
28528   1G1ZD5STXJF184600   GM           CRUZE                BURBANK                  CA
28529   1G1ZD5STXJF185925   GM           CRUZE                SAN FRANCISCO            CA
28530   1G1ZD5STXJF185973   GM           CRUZE                HILO                     HI
28531   1G1ZD5STXJF186685   GM           CRUZE                NORTH PAC                CA
28532   1G1ZD5STXJF198688   GM           CRUZE                BURBANK                  CA
28533   1G1ZD5STXJF199405   GM           CRUZE                ROSEVILLE                CA
28534   1G1ZD5STXJF199713   GM           CRUZE                LOS ANGELES              CA
28535   1G1ZD5STXJF202545   GM           CRUZE                FULLERTON                CA
28536   1G1ZD5STXJF202660   GM           CRUZE                BURBANK                  CA
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28537   1G1ZD5STXJF203436   GM           CRUZE                North Dighton            MA
28538   1G1ZD5STXJF203906   GM           CRUZE                STERLING                 VA
28539   1G1ZD5STXJF205848   GM           MALIBU               CHICAGO                  IL
28540   1G1ZD5STXJF206448   GM           CRUZE                BURBANK                  CA
28541   1G1ZD5STXJF211763   GM           CRUZE                SAN JOSE                 CA
28542   1G1ZD5STXJF213349   GM           CRUZE                BURBANK                  CA
28543   1G1ZD5STXJF213660   GM           CRUZE                SAN JOSE                 CA
28544   1G1ZD5STXJF214579   GM           CRUZE                Atlanta                  GA
28545   1G1ZD5STXJF215473   GM           CRUZE                Manheim                  PA
28546   1G1ZD5STXJF216381   GM           CRUZE                CHICAGO                  IL
28547   1G1ZD5STXJF216834   GM           CRUZE                ONTARIO                  CA
28548   1G1ZD5STXJF216980   GM           CRUZE                KENNER                   LA
28549   1G1ZD5STXJF217417   GM           CRUZE                ROSEVILLE                CA
28550   1G1ZD5STXJF217658   GM           CRUZE                LAS VEGAS                NV
28551   1G1ZD5STXJF218440   GM           CRUZE                Denver                   CO
28552   1G1ZD5STXJF218910   GM           CRUZE                BURBANK                  CA
28553   1G1ZD5STXJF219412   GM           CRUZE                WEST CENTRAL DEALE       CO
28554   1G1ZD5STXJF219748   GM           CRUZE                PHOENIX                  AZ
28555   1G1ZD5STXJF221063   GM           CRUZE                Elgin                    IL
28556   1G1ZD5STXJF221273   GM           CRUZE                SAN DIEGO                CA
28557   1G1ZD5STXJF221287   GM           CRUZE                NORTH PAC                CA
28558   1G1ZD5STXJF223217   GM           CRUZE                BURBANK                  CA
28559   1G1ZD5STXJF223444   GM           CRUZE                HANOVER                  MD
28560   1G1ZD5STXJF223685   GM           CRUZE                San Diego                CA
28561   1G1ZD5STXJF224478   GM           CRUZE                BURBANK                  CA
28562   1G1ZD5STXJF225002   GM           CRUZE                SAN DIEGO                CA
28563   1G1ZD5STXJF226697   GM           CRUZE                MIAMI                    FL
28564   1G1ZD5STXJF226960   GM           CRUZE                LOS ANGELES              CA
28565   1G1ZD5STXJF227705   GM           CRUZE                PHOENIX                  AZ
28566   1G1ZD5STXJF227865   GM           CRUZE                Warminster               PA
28567   1G1ZD5STXJF232242   GM           CRUZE                Philadelphia             PA
28568   1G1ZD5STXJF233164   GM           CRUZE                Bridgeton                MO
28569   1G1ZD5STXJF233892   GM           CRUZE                Elkridge                 MD
28570   1G1ZD5STXJF234332   GM           CRUZE                Rockville Centr          NY
28571   1G1ZD5STXJF234444   GM           CRUZE                Denver                   CO
28572   1G1ZD5STXJF234993   GM           CRUZE                Plainfield               IN
28573   1G1ZD5STXJF235318   GM           CRUZE                Charlotte                NC
28574   1G1ZD5STXJF236100   GM           CRUZE                CHICAGO                  IL
28575   1G1ZD5STXJF236341   GM           CRUZE                Sacramento               CA
28576   1G1ZD5STXJF236369   GM           CRUZE                RALEIGH                  NC
28577   1G1ZD5STXJF236386   GM           CRUZE                Newark                   NJ
28578   1G1ZD5STXJF236792   GM           CRUZE                FORT MYERS               FL
28579   1G1ZD5STXJF236873   GM           CRUZE                Scottsdale               AZ
28580   1G1ZD5STXJF237070   GM           CRUZE                BURBANK                  CA
28581   1G1ZD5STXJF237358   GM           CRUZE                NEW ENGLAND DEALER       MA
28582   1G1ZD5STXJF237361   GM           CRUZE                BURBANK                  CA
28583   1G1ZD5STXJF237585   GM           CRUZE                Atlanta                  GA
28584   1G1ZD5STXJF237649   GM           CRUZE                SAN JOSE                 CA
28585   1G1ZD5STXJF237702   GM           CRUZE                CLEVELAND                OH
28586   1G1ZD5STXJF237974   GM           CRUZE                BURBANK                  CA
28587   1G1ZD5STXJF238087   GM           CRUZE                SAN JOSE                 CA
28588   1G1ZD5STXJF238140   GM           CRUZE                BURBANK                  CA
28589   1G1ZD5STXJF238168   GM           CRUZE                NORTH PAC                CA
28590   1G1ZD5STXJF238333   GM           CRUZE                LAS VEGAS                NV
28591   1G1ZD5STXJF238588   GM           CRUZE                Philadelphia             PA
28592   1G1ZD5STXJF238638   GM           CRUZE                Louisville               KY
28593   1G1ZD5STXJF238770   GM           CRUZE                LAS VEGAS                NV
28594   1G1ZD5STXJF239255   GM           CRUZE                SAN DIEGO                CA
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28595   1G1ZD5STXJF239398   GM           CRUZE                BURBANK                  CA
28596   1G1ZD5STXJF239577   GM           CRUZE                OAKLAND                  CA
28597   1G1ZD5STXJF239787   GM           CRUZE                CHARLOTTE                NC
28598   1G1ZD5STXJF239997   GM           CRUZE                NEWPORT BEACH            CA
28599   1G1ZD5STXJF240924   GM           CRUZE                BURBANK                  CA
28600   1G1ZD5STXJF241183   GM           CRUZE                Manheim                  PA
28601   1G1ZD5STXJF241782   GM           CRUZE                Fredericksburg           VA
28602   1G1ZD5STXJF241801   GM           CRUZE                COLUMBIA STATIO          OH
28603   1G1ZD5STXJF242088   GM           CRUZE                BURBANK                  CA
28604   1G1ZD5STXJF242107   GM           CRUZE                DES MOINES               IA
28605   1G1ZD5STXJF242530   GM           CRUZE                SARASOTA                 FL
28606   1G1ZD5STXJF242611   GM           CRUZE                Matteson                 IL
28607   1G1ZD5STXJF242754   GM           CRUZE                SEATAC                   WA
28608   1G1ZD5STXJF242849   GM           CRUZE                MIDDLE RIVER             MD
28609   1G1ZD5STXJF243046   GM           CRUZE                BLOOMINGTON              IL
28610   1G1ZD5STXJF243113   GM           CRUZE                Atlanta                  GA
28611   1G1ZD5STXJF243192   GM           CRUZE                ROSEVILLE                CA
28612   1G1ZD5STXJF243239   GM           CRUZE                RICHMOND                 VA
28613   1G1ZD5STXJF243368   GM           CRUZE                CHICAGO                  IL
28614   1G1ZD5STXJF243418   GM           CRUZE                Newark                   NJ
28615   1G1ZD5STXJF243578   GM           CRUZE                Marietta                 GA
28616   1G1ZD5STXJF243600   GM           CRUZE                CHAMBERSBURG             PA
28617   1G1ZD5STXJF243760   GM           CRUZE                DANIA BEACH              FL
28618   1G1ZD5STXJF243824   GM           CRUZE                SAN JOSE                 CA
28619   1G1ZD5STXJF243838   GM           CRUZE                BLOOMINGTON              IL
28620   1G1ZD5STXJF243841   GM           CRUZE                SANTA ANA                CA
28621   1G1ZD5STXJF243922   GM           CRUZE                HANOVER                  MD
28622   1G1ZD5STXJF243953   GM           CRUZE                SMYRNA                   GA
28623   1G1ZD5STXJF243967   GM           CRUZE                Ocoee                    FL
28624   1G1ZD5STXJF244066   GM           CRUZE                SAN DIEGO                CA
28625   1G1ZD5STXJF244083   GM           CRUZE                Ocoee                    FL
28626   1G1ZD5STXJF244097   GM           CRUZE                Elkridge                 MD
28627   1G1ZD5STXJF244178   GM           CRUZE                DETROIT                  MI
28628   1G1ZD5STXJF244200   GM           CRUZE                FORT MYERS               FL
28629   1G1ZD5STXJF244343   GM           CRUZE                HOUSTON                  TX
28630   1G1ZD5STXJF244472   GM           CRUZE                Rockville Centr          NY
28631   1G1ZD5STXJF244598   GM           CRUZE                Maple Grove              MN
28632   1G1ZD5STXJF244701   GM           CRUZE                Elkridge                 MD
28633   1G1ZD5STXJF244813   GM           CRUZE                Fredericksburg           VA
28634   1G1ZD5STXJF244990   GM           CRUZE                Santa Clara              CA
28635   1G1ZD5STXJF245055   GM           CRUZE                SPRINGFIELD              VA
28636   1G1ZD5STXJF245265   GM           CRUZE                BURBANK                  CA
28637   1G1ZD5STXJF245492   GM           CRUZE                TAMPA                    FL
28638   1G1ZD5STXJF245735   GM           CRUZE                San Diego                CA
28639   1G1ZD5STXJF245878   GM           CRUZE                EAST BOSTON              MA
28640   1G1ZD5STXJF245976   GM           CRUZE                Tolleson                 AZ
28641   1G1ZD5STXJF246190   GM           CRUZE                GYPSUM                   CO
28642   1G1ZD5STXJF246352   GM           CRUZE                KENNER                   LA
28643   1G1ZD5STXJF246397   GM           CRUZE                STERLING                 VA
28644   1G1ZD5STXJF246464   GM           CRUZE                Winston‐Salem            NC
28645   1G1ZD5STXJF246657   GM           CRUZE                Tampa                    FL
28646   1G1ZD5STXJF246688   GM           CRUZE                FORT MYERS               FL
28647   1G1ZD5STXJF246710   GM           CRUZE                SOUTHEAST DST OFFC       OK
28648   1G1ZD5STXJF246724   GM           CRUZE                SOUTH BEND               IN
28649   1G1ZD5STXJF246738   GM           CRUZE                Bordentown               NJ
28650   1G1ZD5STXJF246741   GM           CRUZE                NEW BERN                 NC
28651   1G1ZD5STXJF246786   GM           CRUZE                WHITE PLAINS             NY
28652   1G1ZD5STXJF246819   GM           CRUZE                TAMPA                    FL
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28653   1G1ZD5STXJF246836   GM           CRUZE                Dallas                   TX
28654   1G1ZD5STXJF246867   GM           CRUZE                PHOENIX                  AZ
28655   1G1ZD5STXJF246884   GM           CRUZE                LOS ANGELES              CA
28656   1G1ZD5STXJF246934   GM           CRUZE                South San Franc          CA
28657   1G1ZD5STXJF247016   GM           CRUZE                Atlanta                  GA
28658   1G1ZD5STXJF247100   GM           CRUZE                Portland                 OR
28659   1G1ZD5STXJF247128   GM           CRUZE                ALEXANDRIA               VA
28660   1G1ZD5STXJF247243   GM           CRUZE                Atlanta                  GA
28661   1G1ZD5STXJF247355   GM           CRUZE                ORLANDO                  FL
28662   1G1ZD5STXJF247386   GM           CRUZE                Kansas City              MO
28663   1G1ZD5STXJF247470   GM           CRUZE                BOSTON                   MA
28664   1G1ZD5STXJF247484   GM           CRUZE                BURBANK                  CA
28665   1G1ZD5STXJF247520   GM           CRUZE                Stone Mountain           GA
28666   1G1ZD5STXJF247565   GM           CRUZE                WEST PALM BEACH          FL
28667   1G1ZD5STXJF247579   GM           CRUZE                SARASOTA                 FL
28668   1G1ZD5STXJF247677   GM           CRUZE                TAMPA                    US
28669   1G1ZD5STXJF247744   GM           CRUZE                BURBANK                  CA
28670   1G1ZD5STXJF247808   GM           CRUZE                PALM SPRINGS             CA
28671   1G1ZD5STXJF247825   GM           CRUZE                BURBANK                  CA
28672   1G1ZD5STXJF247839   GM           CRUZE                DETROIT                  MI
28673   1G1ZD5STXJF247842   GM           CRUZE                North Las Vegas          NV
28674   1G1ZD5STXJF247856   GM           CRUZE                Chandler                 AZ
28675   1G1ZD5STXJF247923   GM           CRUZE                ONTARIO                  CA
28676   1G1ZD5STXJF247937   GM           CRUZE                Houston                  TX
28677   1G1ZD5STXJF248005   GM           CRUZE                SAN DIEGO                CA
28678   1G1ZD5STXJF248117   GM           CRUZE                Leesburg                 VA
28679   1G1ZD5STXJF248120   GM           CRUZE                ROSEVILLE                CA
28680   1G1ZD5STXJF248165   GM           CRUZE                TAMPA                    FL
28681   1G1ZD5STXJF248182   GM           CRUZE                CHICAGO                  IL
28682   1G1ZD5STXJF248215   GM           CRUZE                MIAMI                    FL
28683   1G1ZD5STXJF248246   GM           CRUZE                BOSTON                   MA
28684   1G1ZD5STXJF248277   GM           CRUZE                NORTH PAC                CA
28685   1G1ZD5STXJF248313   GM           CRUZE                Revere                   MA
28686   1G1ZD5STXJF248389   GM           CRUZE                Manheim                  PA
28687   1G1ZD5STXJF248411   GM           CRUZE                ORLANDO                  FL
28688   1G1ZD5STXJF248439   GM           CRUZE                Charlotte                NC
28689   1G1ZD5STXJF248442   GM           CRUZE                DES MOINES               IA
28690   1G1ZD5STXJF248456   GM           CRUZE                WESTLAKE                 OH
28691   1G1ZD5STXJF248571   GM           CRUZE                BURBANK                  CA
28692   1G1ZD5STXJF248585   GM           CRUZE                LOS ANGELES              CA
28693   1G1ZD5STXJF248604   GM           CRUZE                SEA TAC                  WA
28694   1G1ZD5STXJF248652   GM           CRUZE                Ventura                  CA
28695   1G1ZD5STXJF248683   GM           CRUZE                MILWAUKEE                WI
28696   1G1ZD5STXJF248750   GM           CRUZE                Louisville               KY
28697   1G1ZD5STXJF248795   GM           CRUZE                BURBANK                  CA
28698   1G1ZD5STXJF248831   GM           CRUZE                Kansas City              MO
28699   1G1ZD5STXJF248909   GM           CRUZE                Denver                   CO
28700   1G1ZD5STXJF249056   GM           CRUZE                TAMPA                    US
28701   1G1ZD5STXJF249137   GM           CRUZE                Detroit                  MI
28702   1G1ZD5STXJF249185   GM           CRUZE                Tampa                    FL
28703   1G1ZD5STXJF249204   GM           CRUZE                Columbus                 OH
28704   1G1ZD5STXJF249266   GM           CRUZE                Rockville Centr          NY
28705   1G1ZD5STXJF249316   GM           CRUZE                LOS ANGELES              CA
28706   1G1ZD5STXJF249378   GM           CRUZE                ORLANDO                  FL
28707   1G1ZD5STXJF249459   GM           CRUZE                Hayward                  CA
28708   1G1ZD5STXJF249591   GM           CRUZE                Statesville              NC
28709   1G1ZD5STXJF249607   GM           CRUZE                SAN DIEGO                CA
28710   1G1ZD5STXJF249624   GM           CRUZE                BURBANK                  CA
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28711   1G1ZD5STXJF249722   GM           CRUZE                TAMPA                    US
28712   1G1ZD5STXJF249767   GM           CRUZE                Phoenix                  AZ
28713   1G1ZD5STXJF249770   GM           CRUZE                ATLANTA                  GA
28714   1G1ZD5STXJF249798   GM           CRUZE                RICHMOND                 VA
28715   1G1ZD5STXJF249803   GM           CRUZE                ROSEVILLE                CA
28716   1G1ZD5STXJF249851   GM           CRUZE                BURBANK                  CA
28717   1G1ZD5STXJF249932   GM           CRUZE                NORTH PAC                CA
28718   1G1ZD5STXJF249946   GM           CRUZE                ORLANDO                  FL
28719   1G1ZD5STXJF250093   GM           CRUZE                Manheim                  PA
28720   1G1ZD5STXJF250143   GM           CRUZE                BIRMINGHAM               AL
28721   1G1ZD5STXJF250157   GM           CRUZE                SHREVEPORT               LA
28722   1G1ZD5STXJF250160   GM           CRUZE                SAN FRANCISCO            CA
28723   1G1ZD5STXJF250224   GM           CRUZE                Seattle                  WA
28724   1G1ZD5STXJF250272   GM           CRUZE                NASHVILLE                TN
28725   1G1ZD5STXJF250319   GM           CRUZE                BURBANK                  CA
28726   1G1ZD5STXJF250322   GM           CRUZE                Jacksonville             FL
28727   1G1ZD5STXJF250479   GM           CRUZE                CHARLOTTE                NC
28728   1G1ZD5STXJF250563   GM           CRUZE                Anaheim                  CA
28729   1G1ZD5STXJF250613   GM           CRUZE                MARIETTA                 GA
28730   1G1ZD5STXJF251017   GM           CRUZE                PHOENIX                  AZ
28731   1G1ZD5STXJF251034   GM           CRUZE                DETROIT                  MI
28732   1G1ZD5STXJF251065   GM           CRUZE                BURBANK                  CA
28733   1G1ZD5STXJF251261   GM           CRUZE                PHILADELPHIA             PA
28734   1G1ZD5STXJF251356   GM           CRUZE                Columbus                 OH
28735   1G1ZD5STXJF251549   GM           CRUZE                Manheim                  PA
28736   1G1ZD5STXJF251616   GM           CRUZE                SAN JOSE                 CA
28737   1G1ZD5STXJF251650   GM           CRUZE                Charlotte                NC
28738   1G1ZD5STXJF251843   GM           CRUZE                Atlanta                  GA
28739   1G1ZD5STXJF252281   GM           CRUZE                STOCKTON                 CA
28740   1G1ZD5STXJF252460   GM           CRUZE                Dallas                   TX
28741   1G1ZD5STXJF252653   GM           CRUZE                Denver                   CO
28742   1G1ZD5STXJF252734   GM           CRUZE                SAN JOSE                 CA
28743   1G1ZD5STXJF252877   GM           CRUZE                Statesville              NC
28744   1G1ZD5STXJF252975   GM           CRUZE                OAKLAND                  CA
28745   1G1ZD5STXJF253088   GM           CRUZE                North Las Vegas          NV
28746   1G1ZD5STXJF253222   GM           CRUZE                SAINT PAUL               MN
28747   1G1ZD5STXJF253236   GM           CRUZE                SANTA ANA                CA
28748   1G1ZD5STXJF253303   GM           CRUZE                ST Paul                  MN
28749   1G1ZD5STXJF253334   GM           CRUZE                TAMPA                    FL
28750   1G1ZD5STXJF253348   GM           CRUZE                BURBANK                  CA
28751   1G1ZD5STXJF253544   GM           CRUZE                North Dighton            MA
28752   1G1ZD5STXJF253561   GM           CRUZE                ATLANTA                  GA
28753   1G1ZD5STXJF253933   GM           CRUZE                BOSTON                   MA
28754   1G1ZD5STXJF253964   GM           CRUZE                Plainfield               IN
28755   1G1ZD5STXJF253978   GM           CRUZE                BLOOMINGTON              IL
28756   1G1ZD5STXJF254094   GM           CRUZE                Riverside                CA
28757   1G1ZD5STXJF254709   GM           CRUZE                TUCSON                   AZ
28758   1G1ZD5STXJF254788   GM           CRUZE                BURBANK                  CA
28759   1G1ZD5STXJF254841   GM           CRUZE                ROSEVILLE                CA
28760   1G1ZD5STXJF254886   GM           CRUZE                SALT LAKE CITY           US
28761   1G1ZD5STXJF254905   GM           CRUZE                Salt Lake City           UT
28762   1G1ZD5STXJF255004   GM           CRUZE                Springfield              MO
28763   1G1ZD5STXJF255097   GM           CRUZE                CHICAGO                  IL
28764   1G1ZD5STXJF255407   GM           CRUZE                CHICAGO                  IL
28765   1G1ZD5STXJF255536   GM           CRUZE                Chicago                  IL
28766   1G1ZD5STXJF255620   GM           CRUZE                Anaheim                  CA
28767   1G1ZD5STXJF255794   GM           CRUZE                LOS ANGELES              CA
28768   1G1ZD5STXJF256122   GM           CRUZE                SAN DIEGO                CA
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28769   1G1ZD5STXJF256234   GM           CRUZE                Manheim                  PA
28770   1G1ZD5STXJF256279   GM           CRUZE                NORTH PAC                CA
28771   1G1ZD5STXJF256296   GM           CRUZE                ORLANDO                  FL
28772   1G1ZD5STXJF256489   GM           CRUZE                Aurora                   CO
28773   1G1ZD5STXJF256492   GM           CRUZE                DETROIT                  MI
28774   1G1ZD5STXJF256573   GM           CRUZE                SALT LAKE CITY           US
28775   1G1ZD5STXJF256685   GM           CRUZE                North Dighton            MA
28776   1G1ZD5STXJF257075   GM           CRUZE                SAN JOSE                 CA
28777   1G1ZD5STXJF257223   GM           CRUZE                SAN FRANCISCO            CA
28778   1G1ZD5STXJF257268   GM           CRUZE                ORLANDO                  FL
28779   1G1ZD5STXJF257304   GM           CRUZE                SAN FRANCISCO            CA
28780   1G1ZD5STXJF257383   GM           CRUZE                Greensboro               NC
28781   1G1ZD5STXJF257464   GM           CRUZE                ATLANTA                  GA
28782   1G1ZD5STXJF257481   GM           CRUZE                Maple Grove              MN
28783   1G1ZD5STXJF257531   GM           CRUZE                WEST PALM BEACH          FL
28784   1G1ZD5STXJF257657   GM           CRUZE                DAYTONA BEACH            FL
28785   1G1ZD5STXJF257707   GM           CRUZE                SAINT PAUL               MN
28786   1G1ZD5STXJF257836   GM           CRUZE                SANFORD                  FL
28787   1G1ZD5STXJF257870   GM           CRUZE                BURBANK                  CA
28788   1G1ZD5STXJF257884   GM           CRUZE                Chicago                  IL
28789   1G1ZD5STXJF257996   GM           CRUZE                CHICAGO                  IL
28790   1G1ZD5STXJF258386   GM           CRUZE                SEATAC                   WA
28791   1G1ZD5STXJF259425   GM           CRUZE                STERLING                 VA
28792   1G1ZD5STXJF259568   GM           MALIBU               Burien                   WA
28793   1G1ZD5STXJF259795   GM           CRUZE                TULSA                    OK
28794   1G1ZD5STXJF260610   GM           CRUZE                Tolleson                 AZ
28795   1G1ZD5STXJF260901   GM           CRUZE                LOS ANGELES              CA
28796   1G1ZD5STXJF261031   GM           CRUZE                BURBANK                  CA
28797   1G1ZD5STXJF261157   GM           CRUZE                Portland                 OR
28798   1G1ZD5STXJF262115   GM           CRUZE                NORTH PAC                CA
28799   1G1ZD5STXJF262356   GM           CRUZE                North Dighton            MA
28800   1G1ZD5STXJF262597   GM           CRUZE                BURBANK                  CA
28801   1G1ZD5STXJF262714   GM           CRUZE                Los Angeles              CA
28802   1G1ZD5STXJF262874   GM           CRUZE                CHARLESTON               SC
28803   1G1ZD5STXJF262924   GM           CRUZE                LAS VEGAS                NV
28804   1G1ZD5STXJF263068   GM           CRUZE                NORTH PAC                CA
28805   1G1ZD5STXJF263247   GM           CRUZE                SACRAMENTO               CA
28806   1G1ZD5STXJF263264   GM           CRUZE                PLEASANTON               CA
28807   1G1ZD5STXJF263426   GM           CRUZE                PHILADELPHIA             PA
28808   1G1ZD5STXJF263619   GM           CRUZE                NORTH PAC                CA
28809   1G1ZD5STXJF263636   GM           CRUZE                Norwalk                  CA
28810   1G1ZD5STXJF264088   GM           CRUZE                PENSACOLA                FL
28811   1G1ZD5STXJF264155   GM           CRUZE                Atlanta                  GA
28812   1G1ZD5STXJF264298   GM           CRUZE                Longmont                 CO
28813   1G1ZD5STXJF264320   GM           CRUZE                LAS VEGAS                NV
28814   1G1ZD5STXJF264575   GM           CRUZE                SAN DIEGO                CA
28815   1G1ZD5STXJF264589   GM           CRUZE                WARWICK                  RI
28816   1G1ZD5STXJF264799   GM           CRUZE                SEATAC                   WA
28817   1G1ZD5STXJF265161   GM           CRUZE                Santa Clara              CA
28818   1G1ZD5STXJF265712   GM           CRUZE                Caledonia                WI
28819   1G1ZD5STXJF266293   GM           CRUZE                Woodhaven                MI
28820   1G1ZD5STXJF266715   GM           CRUZE                Salt Lake City           UT
28821   1G1ZD5STXJF266875   GM           CRUZE                SAN DIEGO                CA
28822   1G1ZD5STXJF267122   GM           CRUZE                Los Angeles              CA
28823   1G1ZD5STXJF267315   GM           CRUZE                Tampa                    FL
28824   1G1ZD5STXJF267380   GM           CRUZE                COLLEGE PARK             GA
28825   1G1ZD5STXJF267444   GM           CRUZE                WEST PALM BEACH          FL
28826   1G1ZD5STXJF267508   GM           CRUZE                WARWICK                  RI
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28827   1G1ZD5STXJF267735   GM           CRUZE                Hamilton                 OH
28828   1G1ZD5STXJF268030   GM           CRUZE                DENVER                   CO
28829   1G1ZD5STXJF268299   GM           CRUZE                Charlotte                NC
28830   1G1ZD5STXJF268481   GM           CRUZE                ORLANDO                  FL
28831   1G1ZD5STXJF268786   GM           CRUZE                Ocoee                    FL
28832   1G1ZD5STXJF269517   GM           CRUZE                ASHEVILLE                NC
28833   1G1ZD5STXJF269551   GM           CRUZE                WEST COLUMBIA            SC
28834   1G1ZD5STXJF269579   GM           CRUZE                Fairburn                 GA
28835   1G1ZD5STXJF270098   GM           CRUZE                Maple Grove              MN
28836   1G1ZD5STXJF270263   GM           CRUZE                BURBANK                  CA
28837   1G1ZD5STXJF270585   GM           CRUZE                ALBUQUERQUE              NM
28838   1G1ZD5STXJF270599   GM           CRUZE                PALM SPRINGS             CA
28839   1G1ZD5STXJF270733   GM           CRUZE                NEW ENGLAND DEALER       MA
28840   1G1ZD5STXJF270814   GM           CRUZE                SANTA ANA                CA
28841   1G1ZD5STXJF270943   GM           CRUZE                Salt Lake City           UT
28842   1G1ZD5STXJF270991   GM           CRUZE                Statesville              NC
28843   1G1ZD5STXJF271039   GM           CRUZE                BURBANK                  CA
28844   1G1ZD5STXJF271106   GM           CRUZE                PALM SPRINGS             CA
28845   1G1ZD5STXJF271316   GM           CRUZE                Roseville                CA
28846   1G1ZD5STXJF271350   GM           CRUZE                SAN DIEGO                CA
28847   1G1ZD5STXJF271364   GM           CRUZE                NORTH PAC                CA
28848   1G1ZD5STXJF271588   GM           CRUZE                Tolleson                 AZ
28849   1G1ZD5STXJF271607   GM           CRUZE                COLUMBIA                 SC
28850   1G1ZD5STXJF271610   GM           CRUZE                Matteson                 IL
28851   1G1ZD5STXJF271705   GM           CRUZE                BALTIMORE                MD
28852   1G1ZD5STXJF271770   GM           CRUZE                OAKLAND                  CA
28853   1G1ZD5STXJF272336   GM           CRUZE                SAN DIEGO                CA
28854   1G1ZD5STXJF272417   GM           CRUZE                DALLAS                   TX
28855   1G1ZD5STXJF272658   GM           CRUZE                Wilmington               NC
28856   1G1ZD5STXJF274135   GM           CRUZE                Houston                  TX
28857   1G1ZD5STXJF274510   GM           CRUZE                PORTLAND                 OR
28858   1G1ZD5STXJF274569   GM           CRUZE                SALT LAKE CITY           UT
28859   1G1ZD5STXJF274605   GM           CRUZE                KANSAS CITY              MO
28860   1G1ZD5STXJF274717   GM           CRUZE                Grove City               OH
28861   1G1ZD5STXJF274734   GM           CRUZE                WEST PALM BEACH          FL
28862   1G1ZD5STXJF274782   GM           CRUZE                OCEANSIDE                CA
28863   1G1ZD5STXJF274796   GM           CRUZE                Fontana                  CA
28864   1G1ZD5STXJF274961   GM           CRUZE                Euless                   TX
28865   1G1ZD5STXJF275141   GM           CRUZE                SARASOTA                 FL
28866   1G1ZD5STXJF275219   GM           CRUZE                SALT LAKE CITY           US
28867   1G1ZD5STXJF275379   GM           CRUZE                WEST PALM BEACH          FL
28868   1G1ZD5STXJF275429   GM           CRUZE                SAN DIEGO                CA
28869   1G1ZD5STXJF275513   GM           CRUZE                SAINT PAUL               MN
28870   1G1ZD5STXJF275530   GM           CRUZE                CHICAGO                  IL
28871   1G1ZD5STXJF275687   GM           CRUZE                SAN JOSE                 CA
28872   1G1ZD5STXJF275723   GM           CRUZE                Anaheim                  CA
28873   1G1ZD5STXJF275818   GM           CRUZE                CHICAGO                  IL
28874   1G1ZD5STXJF275947   GM           CRUZE                CLEVELAND                OH
28875   1G1ZD5STXJF275981   GM           CRUZE                Denver                   CO
28876   1G1ZD5STXJF276127   GM           CRUZE                Florissant               MO
28877   1G1ZD5STXJF276158   GM           CRUZE                TAMPA                    FL
28878   1G1ZD5STXJF276175   GM           CRUZE                SAN DIEGO                CA
28879   1G1ZD5STXJF276192   GM           CRUZE                MILWAUKEE                WI
28880   1G1ZD5STXJF276208   GM           CRUZE                OKLAHOMA CITY            OK
28881   1G1ZD5STXJF276323   GM           CRUZE                Hayward                  CA
28882   1G1ZD5STXJF276354   GM           CRUZE                ALBUQUERQUE              NM
28883   1G1ZD5STXJF276550   GM           CRUZE                BURBANK                  CA
28884   1G1ZD5STXJF279464   GM           CRUZE                SAN JOSE                 CA
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28885   1G1ZD5STXKF104097   GM           MALIBU               WEST PALM BEACH          FL
28886   1G1ZD5STXKF104195   GM           MALIBU               LOS ANGELES              CA
28887   1G1ZD5STXKF104620   GM           MALIBU               FORT MYERS               FL
28888   1G1ZD5STXKF104777   GM           MALIBU               Irving                   TX
28889   1G1ZD5STXKF104813   GM           MALIBU               MORRISVILLE              NC
28890   1G1ZD5STXKF104844   GM           MALIBU               TAMPA                    FL
28891   1G1ZD5STXKF105105   GM           MALIBU               WEST PALM BEACH          FL
28892   1G1ZD5STXKF105136   GM           MALIBU               MIAMI                    FL
28893   1G1ZD5STXKF105170   GM           MALIBU               NEW BERN                 NC
28894   1G1ZD5STXKF105198   GM           MALIBU               TULSA                    OK
28895   1G1ZD5STXKF105203   GM           MALIBU               NORFOLK                  VA
28896   1G1ZD5STXKF105217   GM           MALIBU               Winter Park              FL
28897   1G1ZD5STXKF105296   GM           MALIBU               FORT MYERS               FL
28898   1G1ZD5STXKF105301   GM           MALIBU               PROVIDENCE               RI
28899   1G1ZD5STXKF105492   GM           MALIBU               KENNER                   LA
28900   1G1ZD5STXKF105508   GM           MALIBU               STERLING                 VA
28901   1G1ZD5STXKF105637   GM           MALIBU               Woodhaven                MI
28902   1G1ZD5STXKF105685   GM           MALIBU               FORT MYERS               FL
28903   1G1ZD5STXKF105766   GM           MALIBU               HARVEY                   LA
28904   1G1ZD5STXKF105847   GM           MALIBU               Ventura                  CA
28905   1G1ZD5STXKF105878   GM           MALIBU               ORLANDO                  FL
28906   1G1ZD5STXKF105895   GM           MALIBU               BALTIMORE                MD
28907   1G1ZD5STXKF106125   GM           MALIBU               FORT MYERS               FL
28908   1G1ZD5STXKF106187   GM           MALIBU               WEST PALM BEACH          FL
28909   1G1ZD5STXKF106237   GM           MALIBU               WEST PALM BEACH          FL
28910   1G1ZD5STXKF106576   GM           MALIBU               ATLANTA                  GA
28911   1G1ZD5STXKF106609   GM           MALIBU               DALLAS                   TX
28912   1G1ZD5STXKF106612   GM           MALIBU               BOSTON                   MA
28913   1G1ZD5STXKF106626   GM           MALIBU               MIAMI                    FL
28914   1G1ZD5STXKF106674   GM           MALIBU               Webster                  NY
28915   1G1ZD5STXKF106691   GM           MALIBU               Atlanta                  GA
28916   1G1ZD5STXKF106710   GM           MALIBU               UNION CITY               GA
28917   1G1ZD5STXKF107064   GM           MALIBU               Oakland                  CA
28918   1G1ZD5STXKF107405   GM           MALIBU               Tolleson                 AZ
28919   1G1ZD5STXKF108246   GM           MALIBU               LOS ANGELES              CA
28920   1G1ZD5STXKF108294   GM           MALIBU               LOS ANGELES              CA
28921   1G1ZD5STXKF109199   GM           MALIBU               BURBANK                  CA
28922   1G1ZD5STXKF109266   GM           MALIBU               BOISE                    US
28923   1G1ZD5STXKF110336   GM           MALIBU               North Billerica          MA
28924   1G1ZD5STXKF110417   GM           MALIBU               DETROIT                  MI
28925   1G1ZD5STXKF110482   GM           MALIBU               TAMPA                    FL
28926   1G1ZD5STXKF110644   GM           MALIBU               BOSTON                   MA
28927   1G1ZD5STXKF110756   GM           MALIBU               CLEVELAND                OH
28928   1G1ZD5STXKF110854   GM           MALIBU               North Dighton            MA
28929   1G1ZD5STXKF111129   GM           MALIBU               ATLANTA                  GA
28930   1G1ZD5STXKF111163   GM           MALIBU               SANFORD                  FL
28931   1G1ZD5STXKF111213   GM           MALIBU               Statesville              NC
28932   1G1ZD5STXKF111423   GM           MALIBU               Florissant               MO
28933   1G1ZD5STXKF111471   GM           MALIBU               ORLANDO                  FL
28934   1G1ZD5STXKF111549   GM           MALIBU               WEST PALM BEACH          FL
28935   1G1ZD5STXKF111714   GM           MALIBU               FORT MYERS               FL
28936   1G1ZD5STXKF111776   GM           MALIBU               ORLANDO                  FL
28937   1G1ZD5STXKF111857   GM           MALIBU               TAMPA                    US
28938   1G1ZD5STXKF112099   GM           MALIBU               KNOXVILLE                TN
28939   1G1ZD5STXKF112250   GM           MALIBU               Miami                    FL
28940   1G1ZD5STXKF112331   GM           MALIBU               CLEVELAND                OH
28941   1G1ZD5STXKF112393   GM           MALIBU               RICHMOND                 VA
28942   1G1ZD5STXKF112636   GM           MALIBU               Des Moines               IA
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28943   1G1ZD5STXKF112667   GM           MALIBU               Jacksonville             FL
28944   1G1ZD5STXKF112815   GM           MALIBU               Atlanta                  GA
28945   1G1ZD5STXKF112832   GM           MALIBU               ATLANTA                  GA
28946   1G1ZD5STXKF112930   GM           MALIBU               ALEXANDRIA               VA
28947   1G1ZD5STXKF112944   GM           MALIBU               Atlanta                  GA
28948   1G1ZD5STXKF113303   GM           MALIBU               Ft. Myers                FL
28949   1G1ZD5STXKF113396   GM           MALIBU               BOSTON                   MA
28950   1G1ZD5STXKF113432   GM           MALIBU               FORT LAUDERDALE          FL
28951   1G1ZD5STXKF113687   GM           MALIBU               FORT LAUDERDALE          FL
28952   1G1ZD5STXKF113690   GM           MALIBU               RICHMOND                 VA
28953   1G1ZD5STXKF113995   GM           MALIBU               KNOXVILLE                TN
28954   1G1ZD5STXKF114113   GM           MALIBU               ORLANDO                  FL
28955   1G1ZD5STXKF114919   GM           MALIBU               STERLING                 US
28956   1G1ZD5STXKF115147   GM           MALIBU               SAN JOSE                 CA
28957   1G1ZD5STXKF115343   GM           MALIBU               TAMPA                    FL
28958   1G1ZD5STXKF115441   GM           MALIBU               TRACY                    CA
28959   1G1ZD5STXKF115553   GM           MALIBU               PHILADELPHIA             PA
28960   1G1ZD5STXKF115617   GM           MALIBU               Warwick                  RI
28961   1G1ZD5STXKF116220   GM           MALIBU               TUCSON                   AZ
28962   1G1ZD5STXKF116315   GM           MALIBU               FORT LAUDERDALE          FL
28963   1G1ZD5STXKF116377   GM           MALIBU               TAMPA                    FL
28964   1G1ZD5STXKF116721   GM           MALIBU               ORLANDO                  FL
28965   1G1ZD5STXKF116766   GM           MALIBU               ORLANDO                  FL
28966   1G1ZD5STXKF117030   GM           MALIBU               TAMPA                    US
28967   1G1ZD5STXKF117125   GM           MALIBU               SAN JOSE                 CA
28968   1G1ZD5STXKF117402   GM           MALIBU               TAMPA                    FL
28969   1G1ZD5STXKF117500   GM           MALIBU               TAMPA                    US
28970   1G1ZD5STXKF117531   GM           MALIBU               STERLING                 VA
28971   1G1ZD5STXKF117643   GM           MALIBU               Statesville              NC
28972   1G1ZD5STXKF117853   GM           MALIBU               FORT MYERS               FL
28973   1G1ZD5STXKF117867   GM           MALIBU               Florissant               MO
28974   1G1ZD5STXKF118145   GM           MALIBU               CLEVELAND                OH
28975   1G1ZD5STXKF118193   GM           MALIBU               Slidell                  LA
28976   1G1ZD5STXKF118517   GM           MALIBU               Atlanta                  GA
28977   1G1ZD5STXKF118632   GM           MALIBU               Tolleson                 AZ
28978   1G1ZD5STXKF118940   GM           MALIBU               FORT MYERS               FL
28979   1G1ZD5STXKF119067   GM           MALIBU               Atlanta                  GA
28980   1G1ZD5STXKF119134   GM           MALIBU               Ft. Myers                FL
28981   1G1ZD5STXKF119151   GM           MALIBU               WEST PALM BEACH          FL
28982   1G1ZD5STXKF119733   GM           MALIBU               LOS ANGELES              CA
28983   1G1ZD5STXKF120798   GM           MALIBU               Burien                   WA
28984   1G1ZD5STXKF121580   GM           MALIBU               Kent                     WA
28985   1G1ZD5STXKF121725   GM           MALIBU               WILMINGTON               NC
28986   1G1ZD5STXKF121885   GM           MALIBU               SAN DIEGO                CA
28987   1G1ZD5STXKF122177   GM           MALIBU               ATLANTA                  GA
28988   1G1ZD5STXKF122454   GM           MALIBU               DAYTONA BEACH            FL
28989   1G1ZD5STXKF122938   GM           MALIBU               Slidell                  LA
28990   1G1ZD5STXKF123295   GM           MALIBU               Manheim                  PA
28991   1G1ZD5STXKF123555   GM           MALIBU               MIAMI                    FL
28992   1G1ZD5STXKF123605   GM           MALIBU               WEST COLUMBIA            SC
28993   1G1ZD5STXKF123698   GM           MALIBU               TAMPA                    FL
28994   1G1ZD5STXKF124060   GM           MALIBU               TAMPA                    US
28995   1G1ZD5STXKF124186   GM           MALIBU               ORLANDO                  FL
28996   1G1ZD5STXKF124219   GM           MALIBU               ORLANDO                  FL
28997   1G1ZD5STXKF124270   GM           MALIBU               FORT LAUDERDALE          FL
28998   1G1ZD5STXKF124494   GM           MALIBU               FT. LAUDERDALE           FL
28999   1G1ZD5STXKF125015   GM           MALIBU               Columbus                 OH
29000   1G1ZD5STXKF125192   GM           MALIBU               ORLANDO                  FL
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29001   1G1ZD5STXKF125323   GM           MALIBU               TAMPA                    FL
29002   1G1ZD5STXKF125578   GM           MALIBU               PHILADELPHIA             PA
29003   1G1ZD5STXKF125614   GM           MALIBU               SARASOTA                 FL
29004   1G1ZD5STXKF125659   GM           MALIBU               Dallas                   TX
29005   1G1ZD5STXKF125774   GM           MALIBU               WEST PALM BEACH          FL
29006   1G1ZD5STXKF125984   GM           MALIBU               SANTA ANA                CA
29007   1G1ZD5STXKF126343   GM           MALIBU               Atlanta                  GA
29008   1G1ZD5STXKF126360   GM           MALIBU               Tampa                    FL
29009   1G1ZD5STXKF126407   GM           MALIBU               FORT MYERS               FL
29010   1G1ZD5STXKF126729   GM           MALIBU               ORLANDO                  FL
29011   1G1ZD5STXKF127069   GM           MALIBU               TAMPA                    FL
29012   1G1ZD5STXKF133308   GM           MALIBU               FORT LAUDERDALE          FL
29013   1G1ZD5STXKF133602   GM           MALIBU               ORLANDO                  FL
29014   1G1ZD5STXKF133616   GM           MALIBU               Sacramento               CA
29015   1G1ZD5STXKF133700   GM           MALIBU               CHICAGO                  IL
29016   1G1ZD5STXKF133759   GM           MALIBU               Los Angeles              CA
29017   1G1ZD5STXKF133812   GM           MALIBU               WEST PALM BEACH          FL
29018   1G1ZD5STXKF133972   GM           MALIBU               Atlanta                  GA
29019   1G1ZD5STXKF134068   GM           MALIBU               Riverside                CA
29020   1G1ZD5STXKF134488   GM           MALIBU               FORT MYERS               FL
29021   1G1ZD5STXKF134815   GM           MALIBU               Chicago                  IL
29022   1G1ZD5STXKF134829   GM           MALIBU               HOUSTON                  TX
29023   1G1ZD5STXKF134846   GM           MALIBU               PHOENIX                  AZ
29024   1G1ZD5STXKF134927   GM           MALIBU               MIAMI                    FL
29025   1G1ZD5STXKF134930   GM           MALIBU               CHARLOTTE                NC
29026   1G1ZD5STXKF134975   GM           MALIBU               Burien                   WA
29027   1G1ZD5STXKF135169   GM           MALIBU               MIAMI                    FL
29028   1G1ZD5STXKF135379   GM           MALIBU               ORLANDO                  FL
29029   1G1ZD5STXKF135477   GM           MALIBU               CLARKSVILLE              IN
29030   1G1ZD5STXKF135530   GM           MALIBU               Atlanta                  GA
29031   1G1ZD5STXKF136077   GM           MALIBU               FORT LAUDERDALE          FL
29032   1G1ZD5STXKF136192   GM           MALIBU               DALLAS                   TX
29033   1G1ZD5STXKF136581   GM           MALIBU               FORT MYERS               FL
29034   1G1ZD5STXKF136600   GM           MALIBU               Atlanta                  GA
29035   1G1ZD5STXKF137164   GM           MALIBU               North Billerica          MA
29036   1G1ZD5STXKF137617   GM           MALIBU               ELKRIDGE                 MD
29037   1G1ZD5STXKF137679   GM           MALIBU               North Dighton            MA
29038   1G1ZD5STXKF137732   GM           MALIBU               LOS ANGELES              CA
29039   1G1ZD5STXKF137763   GM           MALIBU               Atlanta                  GA
29040   1G1ZD5STXKF137875   GM           MALIBU               Hamilton                 OH
29041   1G1ZD5STXKF137911   GM           MALIBU               COLLEGE PARK             GA
29042   1G1ZD5STXKF138086   GM           MALIBU               DES PLAINES              IL
29043   1G1ZD5STXKF138119   GM           MALIBU               DANIA BEACH              FL
29044   1G1ZD5STXKF138217   GM           MALIBU               Chicago                  IL
29045   1G1ZD5STXKF138556   GM           MALIBU               NASHVILLE                TN
29046   1G1ZD5STXKF138587   GM           MALIBU               FORT MYERS               FL
29047   1G1ZD5STXKF138718   GM           MALIBU               MIAMI                    FL
29048   1G1ZD5STXKF138766   GM           MALIBU               ORLANDO                  FL
29049   1G1ZD5STXKF138895   GM           MALIBU               Fredericksburg           VA
29050   1G1ZD5STXKF139061   GM           MALIBU               MEMPHIS                  TN
29051   1G1ZD5STXKF139108   GM           MALIBU               SAINT PAUL               MN
29052   1G1ZD5STXKF139402   GM           MALIBU               Atlanta                  GA
29053   1G1ZD5STXKF139531   GM           MALIBU               FORT MYERS               FL
29054   1G1ZD5STXKF154529   GM           MALIBU               ORLANDO                  FL
29055   1G1ZD5STXKF154885   GM           MALIBU               Austell                  GA
29056   1G1ZD5STXKF155065   GM           MALIBU               SAVANNAH                 GA
29057   1G1ZD5STXKF155843   GM           MALIBU               ORLANDO                  FL
29058   1G1ZD5STXKF156409   GM           MALIBU               JACKSONVILLE             FL
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29059   1G1ZD5STXKF156507   GM           MALIBU               ORLANDO                  FL
29060   1G1ZD5STXKF156913   GM           MALIBU               MIAMI                    FL
29061   1G1ZD5STXKF157284   GM           MALIBU               Columbus                 OH
29062   1G1ZD5STXKF157298   GM           MALIBU               Manheim                  PA
29063   1G1ZD5STXKF157382   GM           MALIBU               FORT LAUDERDALE          FL
29064   1G1ZD5STXKF157477   GM           MALIBU               Harvey                   LA
29065   1G1ZD5STXKF157642   GM           MALIBU               Slidell                  LA
29066   1G1ZD5STXKF157723   GM           MALIBU               KENNER                   LA
29067   1G1ZD5STXKF158144   GM           MALIBU               Atlanta                  GA
29068   1G1ZD5STXKF158287   GM           MALIBU               SAN JOSE                 CA
29069   1G1ZD5STXKF158564   GM           MALIBU               SARASOTA                 FL
29070   1G1ZD5STXKF158600   GM           MALIBU               FORT MYERS               FL
29071   1G1ZD5STXKF158693   GM           MALIBU               SAN FRANCISCO            CA
29072   1G1ZD5STXKF158757   GM           MALIBU               BIRMINGHAN               AL
29073   1G1ZD5STXKF158760   GM           MALIBU               TAMPA                    FL
29074   1G1ZD5STXKF158936   GM           MALIBU               Anaheim                  CA
29075   1G1ZD5STXKF159021   GM           MALIBU               ORLANDO                  FL
29076   1G1ZD5STXKF159035   GM           MALIBU               FORT LAUDERDALE          FL
29077   1G1ZD5STXKF159228   GM           MALIBU               FORT MYERS               FL
29078   1G1ZD5STXKF159570   GM           MALIBU               TAMPA                    FL
29079   1G1ZD5STXKF159603   GM           MALIBU               MIAMI                    FL
29080   1G1ZD5STXKF159665   GM           MALIBU               WEST PALM BEACH          FL
29081   1G1ZD5STXKF159911   GM           MALIBU               MIAMI                    FL
29082   1G1ZD5STXKF159973   GM           MALIBU               ROANOKE                  VA
29083   1G1ZD5STXKF160038   GM           MALIBU               DAYTONA BEACH            FL
29084   1G1ZD5STXKF160170   GM           MALIBU               ORLANDO                  FL
29085   1G1ZD5STXKF160363   GM           MALIBU               Stockton                 CA
29086   1G1ZD5STXKF160394   GM           MALIBU               TAMPA                    FL
29087   1G1ZD5STXKF160427   GM           MALIBU               FORT LAUDERDALE          FL
29088   1G1ZD5STXKF160976   GM           MALIBU               Riverside                CA
29089   1G1ZD5STXKF161125   GM           MALIBU               Alcoa                    TN
29090   1G1ZD5STXKF161271   GM           MALIBU               MIAMI                    FL
29091   1G1ZD5STXKF161318   GM           MALIBU               SAVANNAH                 GA
29092   1G1ZD5STXKF161352   GM           MALIBU               FORT LAUDERDALE          FL
29093   1G1ZD5STXKF161366   GM           MALIBU               ATLANTA                  GA
29094   1G1ZD5STXKF161416   GM           MALIBU               ORLANDO                  FL
29095   1G1ZD5STXKF161447   GM           MALIBU               FORT MYERS               FL
29096   1G1ZD5STXKF161478   GM           MALIBU               SARASOTA                 FL
29097   1G1ZD5STXKF161500   GM           MALIBU               FORT MYERS               FL
29098   1G1ZD5STXKF161559   GM           MALIBU               DETROIT                  MI
29099   1G1ZD5STXKF161593   GM           MALIBU               SAVANNAH                 GA
29100   1G1ZD5STXKF161643   GM           MALIBU               PASADENA                 MD
29101   1G1ZD5STXKF161707   GM           MALIBU               MIAMI                    FL
29102   1G1ZD5STXKF161710   GM           MALIBU               FT. LAUDERDALE           FL
29103   1G1ZD5STXKF161738   GM           MALIBU               FORT MYERS               FL
29104   1G1ZD5STXKF161982   GM           MALIBU               ORLANDO                  FL
29105   1G1ZD5STXKF161996   GM           MALIBU               Elkridge                 MD
29106   1G1ZD5STXKF162016   GM           MALIBU               ORLANDO                  FL
29107   1G1ZD5STXKF162050   GM           MALIBU               TAMPA                    FL
29108   1G1ZD5STXKF162078   GM           MALIBU               FORT LAUDERDALE          FL
29109   1G1ZD5STXKF162145   GM           MALIBU               TAMPA                    FL
29110   1G1ZD5STXKF162243   GM           MALIBU               KENNER                   LA
29111   1G1ZD5STXKF162291   GM           MALIBU               FORT LAUDERDALE          FL
29112   1G1ZD5STXKF162369   GM           MALIBU               MIAMI                    FL
29113   1G1ZD5STXKF162436   GM           MALIBU               ORLANDO                  FL
29114   1G1ZD5STXKF162629   GM           MALIBU               FORT LAUDERDALE          FL
29115   1G1ZD5STXKF162663   GM           MALIBU               MIAMI                    FL
29116   1G1ZD5STXKF162789   GM           MALIBU               SAINT PAUL               MN
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29117   1G1ZD5STXKF162890   GM           MALIBU               ORLANDO                  FL
29118   1G1ZD5STXKF163019   GM           MALIBU               FORT LAUDERDALE          FL
29119   1G1ZD5STXKF163022   GM           MALIBU               FORT LAUDERDALE          FL
29120   1G1ZD5STXKF163070   GM           MALIBU               ORLANDO                  FL
29121   1G1ZD5STXKF163196   GM           MALIBU               TAMPA                    FL
29122   1G1ZD5STXKF163215   GM           MALIBU               Albuquerque              NM
29123   1G1ZD5STXKF163232   GM           MALIBU               MIAMI                    FL
29124   1G1ZD5STXKF163263   GM           MALIBU               ORLANDO                  FL
29125   1G1ZD5STXKF163408   GM           MALIBU               FORT MYERS               FL
29126   1G1ZD5STXKF163411   GM           MALIBU               WEST PALM BEACH          FL
29127   1G1ZD5STXKF163442   GM           MALIBU               FORT LAUDERDALE          FL
29128   1G1ZD5STXKF163487   GM           MALIBU               TAMPA                    FL
29129   1G1ZD5STXKF163506   GM           MALIBU               Hebron                   KY
29130   1G1ZD5STXKF163537   GM           MALIBU               ORLANDO                  FL
29131   1G1ZD5STXKF163540   GM           MALIBU               WEST PALM BEACH          FL
29132   1G1ZD5STXKF163585   GM           MALIBU               TAMPA                    US
29133   1G1ZD5STXKF163618   GM           MALIBU               DES MOINES               IA
29134   1G1ZD5STXKF163652   GM           MALIBU               FORT LAUDERDALE          FL
29135   1G1ZD5STXKF163702   GM           MALIBU               FORT LAUDERDALE          FL
29136   1G1ZD5STXKF163747   GM           MALIBU               FORT MYERS               FL
29137   1G1ZD5STXKF163845   GM           MALIBU               Albuquerque              NM
29138   1G1ZD5STXKF163859   GM           MALIBU               ORLANDO                  FL
29139   1G1ZD5STXKF163893   GM           MALIBU               RICHMOND                 VA
29140   1G1ZD5STXKF164011   GM           MALIBU               SARASOTA                 FL
29141   1G1ZD5STXKF164039   GM           MALIBU               TAMPA                    FL
29142   1G1ZD5STXKF164073   GM           MALIBU               JACKSONVILLE             FL
29143   1G1ZD5STXKF164154   GM           MALIBU               WEST PALM BEACH          FL
29144   1G1ZD5STXKF164171   GM           MALIBU               FORT MYERS               FL
29145   1G1ZD5STXKF164252   GM           MALIBU               WEST PALM BEACH          FL
29146   1G1ZD5STXKF164297   GM           MALIBU               SARASOTA                 FL
29147   1G1ZD5STXKF164400   GM           MALIBU               TAMPA                    FL
29148   1G1ZD5STXKF164431   GM           MALIBU               JACKSONVILLE             FL
29149   1G1ZD5STXKF164638   GM           MALIBU               Ft. Myers                FL
29150   1G1ZD5STXKF165126   GM           MALIBU               KENNER                   LA
29151   1G1ZD5STXKF165353   GM           MALIBU               TAMPA                    FL
29152   1G1ZD5STXKF165448   GM           MALIBU               JACKSONVILLE             FL
29153   1G1ZD5STXKF165482   GM           MALIBU               ORLANDO                  FL
29154   1G1ZD5STXKF165496   GM           MALIBU               ORLANDO                  FL
29155   1G1ZD5STXKF165529   GM           MALIBU               NORFOLK                  US
29156   1G1ZD5STXKF165532   GM           MALIBU               Atlanta                  GA
29157   1G1ZD5STXKF165658   GM           MALIBU               JACKSONVILLE             FL
29158   1G1ZD5STXKF166079   GM           MALIBU               KENNER                   LA
29159   1G1ZD5STXKF166339   GM           MALIBU               JACKSONVILLE             FL
29160   1G1ZD5STXKF166437   GM           MALIBU               TAMPA                    FL
29161   1G1ZD5STXKF166535   GM           MALIBU               WEST PALM BEACH          FL
29162   1G1ZD5STXKF166731   GM           MALIBU               DFW AIRPORT              TX
29163   1G1ZD5STXKF166759   GM           MALIBU               Medford                  NY
29164   1G1ZD5STXKF166809   GM           MALIBU               MIAMI                    FL
29165   1G1ZD5STXKF166857   GM           MALIBU               MIAMI                    FL
29166   1G1ZD5STXKF166907   GM           MALIBU               Houston                  TX
29167   1G1ZD5STXKF167023   GM           MALIBU               FORT LAUDERDALE          FL
29168   1G1ZD5STXKF167202   GM           MALIBU               WEST PALM BEACH          FL
29169   1G1ZD5STXKF167216   GM           MALIBU               MIAMI                    FL
29170   1G1ZD5STXKF167376   GM           MALIBU               ORLANDO                  FL
29171   1G1ZD5STXKF167393   GM           MALIBU               COCOA                    FL
29172   1G1ZD5STXKF167670   GM           MALIBU               Hattiesburg              MS
29173   1G1ZD5STXKF167815   GM           MALIBU               TAMPA                    US
29174   1G1ZD5STXKF167877   GM           MALIBU               MEMPHIS                  TN
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29175   1G1ZD5STXKF168110   GM           MALIBU               ORLANDO                  FL
29176   1G1ZD5STXKF169127   GM           MALIBU               West Palm Beach          FL
29177   1G1ZD5STXKF169404   GM           MALIBU               ORLANDO                  FL
29178   1G1ZD5STXKF169712   GM           MALIBU               Miami                    FL
29179   1G1ZD5STXKF169953   GM           MALIBU               TAMPA                    FL
29180   1G1ZD5STXKF170214   GM           MALIBU               Milwaukee                WI
29181   1G1ZD5STXKF170360   GM           MALIBU               TAMPA                    FL
29182   1G1ZD5STXKF170388   GM           MALIBU               STERLING                 VA
29183   1G1ZD5STXKF170939   GM           MALIBU               LAKE ELSINORE            CA
29184   1G1ZD5STXKF171489   GM           MALIBU               SARASOTA                 FL
29185   1G1ZD5STXKF171492   GM           MALIBU               KNOXVILLE                TN
29186   1G1ZD5STXKF171525   GM           MALIBU               Atlanta                  GA
29187   1G1ZD5STXKF171623   GM           MALIBU               West Mifflin             PA
29188   1G1ZD5STXKF171637   GM           MALIBU               PHILADELPHIA             PA
29189   1G1ZD5STXKF172030   GM           MALIBU               DALLAS                   TX
29190   1G1ZD5STXKF172173   GM           MALIBU               ORLANDO                  FL
29191   1G1ZD5STXKF173131   GM           MALIBU               Atlanta                  GA
29192   1G1ZD5STXKF174120   GM           MALIBU               Tulsa                    OK
29193   1G1ZD5STXKF174537   GM           MALIBU               CHICAGO                  IL
29194   1G1ZD5STXKF174845   GM           MALIBU               MEMPHIS                  TN
29195   1G1ZD5STXKF176045   GM           MALIBU               Stockton                 CA
29196   1G1ZD5STXKF176157   GM           MALIBU               FORT LAUDERDALE          FL
29197   1G1ZD5STXKF176658   GM           MALIBU               PENSACOLA                FL
29198   1G1ZD5STXKF176921   GM           MALIBU               NASHVILLE                TN
29199   1G1ZD5STXKF177521   GM           MALIBU               GRAND RAPIDS             MI
29200   1G1ZD5STXKF177728   GM           MALIBU               KENNER                   LA
29201   1G1ZD5STXKF179592   GM           MALIBU               NASHVILLE                TN
29202   1G1ZD5STXKF179799   GM           MALIBU               Austin                   TX
29203   1G1ZD5STXKF179866   GM           MALIBU               Dania                    FL
29204   1G1ZD5STXKF179916   GM           MALIBU               Medford                  NY
29205   1G1ZD5STXKF180015   GM           MALIBU               Bridgeton                MO
29206   1G1ZD5STXKF180533   GM           MALIBU               Atlanta                  GA
29207   1G1ZD5STXKF182816   GM           MALIBU               STERLING                 VA
29208   1G1ZD5STXKF183531   GM           MALIBU               FORT MYERS               FL
29209   1G1ZD5STXKF183657   GM           MALIBU               Medford                  NY
29210   1G1ZD5STXKF184677   GM           MALIBU               St. Louis                MO
29211   1G1ZD5STXKF185652   GM           MALIBU               INDIANAPOLIS             IN
29212   1G1ZD5STXKF185960   GM           MALIBU               TAMPA                    FL
29213   1G1ZD5STXKF186140   GM           MALIBU               DANIA BEACH              FL
29214   1G1ZD5STXLF022999   GM           MALIBU               ORLANDO                  FL
29215   1G1ZD5STXLF033114   GM           MALIBU               FORT MYERS               FL
29216   1G1ZD5STXLF037602   GM           MALIBU               FORT MYERS               FL
29217   1G1ZD5STXLF038085   GM           MALIBU               FORT MYERS               FL
29218   1G1ZD5STXLF055050   GM           MALIBU               FORT MYERS               FL
29219   1G1ZD5STXLF055422   GM           MALIBU               KAILUA KONA              HI
29220   1G1ZD5STXLF061589   GM           MALIBU               FORT MYERS               FL
29221   1G1ZD5STXLF062046   GM           MALIBU               FORT MYERS               FL
29222   1G1ZD5STXLF082863   GM           MALIBU               Tulsa                    OK
29223   1G1ZD5STXLF089554   GM           MALIBU               ONTARIO                  CA
29224   1G1ZD5STXLF094897   GM           MALIBU               Tulsa                    OK
29225   1G1ZD5STXLF096956   GM           MALIBU               FORT MYERS               FL
29226   1G1ZD5STXLF097394   GM           MALIBU               FORT MYERS               FL
29227   1G1ZD5STXLF098903   GM           MALIBU               TAMPA                    FL
29228   1G1ZD5STXLF099243   GM           MALIBU               Orlando                  FL
29229   1G1ZE5ST0GF210935   GM           MALIBU               BURBANK                  CA
29230   1G1ZE5ST0GF342092   GM           MALIBU               Los Angeles              CA
29231   1G1ZE5ST0HF154593   GM           MALIBU               BURBANK                  CA
29232   1G1ZE5ST0HF185861   GM           MALIBU               Hayward                  CA
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29233   1G1ZE5ST1GF185687   GM          MALIBU               NORTH PAC                CA
29234   1G1ZE5ST1HF110621   GM          MALIBU               SAN DIEGO                US
29235   1G1ZE5ST1HF116211   GM          MALIBU               Lake Elsinore            CA
29236   1G1ZE5ST1HF119058   GM          MALIBU               SAN DIEGO                CA
29237   1G1ZE5ST1HF173783   GM          MALIBU               Portland                 OR
29238   1G1ZE5ST2GF192065   GM          MALIBU               FORT LAUDERDALE          FL
29239   1G1ZE5ST2GF226554   GM          MALIBU               ANNANDALE                VA
29240   1G1ZE5ST2GF244651   GM          MALIBU               SANTA ANA                CA
29241   1G1ZE5ST2HF153946   GM          MALIBU               Fontana                  CA
29242   1G1ZE5ST2HF188177   GM          MALIBU               Kent                     WA
29243   1G1ZE5ST2HF259099   GM          MALIBU               BURBANK                  CA
29244   1G1ZE5ST3GF263760   GM          MALIBU               ALBANY                   N
29245   1G1ZE5ST3HF109342   GM          MALIBU               EULESS                   TX
29246   1G1ZE5ST3HF114962   GM          MALIBU               CULVER CITY              CA
29247   1G1ZE5ST3HF149484   GM          MALIBU               SAN DIEGO                US
29248   1G1ZE5ST3HF152644   GM          MALIBU               NORTH HOLLYWOOD          CA
29249   1G1ZE5ST3HF193159   GM          MALIBU               CHICAGO                  IL
29250   1G1ZE5ST4GF170956   GM          MALIBU               STERLING                 VA
29251   1G1ZE5ST4GF223025   GM          MALIBU               Windsor Locks            CT
29252   1G1ZE5ST4GF334223   GM          MALIBU               CHICAGO                  IL
29253   1G1ZE5ST4HF104599   GM          MALIBU               LOS ANGELES              CA
29254   1G1ZE5ST4HF174278   GM          MALIBU               Sacramento               CA
29255   1G1ZE5ST5GF225625   GM          CRUZE                ORLANDO                  FL
29256   1G1ZE5ST5GF270743   GM          MALIBU               DALLAS                   TX
29257   1G1ZE5ST5GF278454   GM          MALIBU               NORTH PAC                CA
29258   1G1ZE5ST5HF122450   GM          MALIBU               SAN DIEGO                US
29259   1G1ZE5ST5HF130533   GM          MALIBU               FAYETTEVILLE             GA
29260   1G1ZE5ST5HF133707   GM          MALIBU               HANOVER                  MD
29261   1G1ZE5ST5HF147607   GM          MALIBU               LOS ANGELES              CA
29262   1G1ZE5ST5HF151995   GM          MALIBU               Fontana                  CA
29263   1G1ZE5ST5HF183636   GM          MALIBU               DAYTONA BEACH            FL
29264   1G1ZE5ST5HF203691   GM          MALIBU               SACRAMENTO               CA
29265   1G1ZE5ST6GF175429   GM          MALIBU               Elkridge                 MD
29266   1G1ZE5ST6GF237296   GM          MALIBU               MELROSE PARK             IL
29267   1G1ZE5ST6HF151052   GM          MALIBU               NORTH HOLLYWOOD          CA
29268   1G1ZE5ST6HF151276   GM          MALIBU               BURBANK                  CA
29269   1G1ZE5ST6HF153397   GM          MALIBU               BURBANK                  CA
29270   1G1ZE5ST7GF292744   GM          MALIBU               PHOENIX                  AZ
29271   1G1ZE5ST7GF296289   GM          MALIBU               NEW YORK CITY            NY
29272   1G1ZE5ST7HF207225   GM          MALIBU               Kent                     WA
29273   1G1ZE5ST8GF310393   GM          MALIBU               Memphis                  TN
29274   1G1ZE5ST8HF187860   GM          MALIBU               TRACY                    CA
29275   1G1ZE5ST9HF150669   GM          MALIBU               SAN DIEGO                US
29276   1G1ZE5STXGF177443   GM          MALIBU               BURBANK                  CA
29277   1G1ZE5STXGF177815   GM          MALIBU               LOS ANGELES              CA
29278   1G1ZE5STXGF199359   GM          MALIBU               Indianapolis             IN
29279   1G1ZE5STXGF338731   GM          MALIBU               FORT MYERS               FL
29280   1G1ZE5STXHF105918   GM          MALIBU               CHANDLER                 AZ
29281   1G1ZE5STXHF173491   GM          MALIBU               Rio Linda                CA
29282   1G1ZE5STXHF201967   GM          MALIBU               Elkridge                 MD
29283   1G1ZF5SX0GF182229   GM          MALIBU               NORTH HOLLYWOOD          CA
29284   1G1ZF5SX3GF319180   GM          MALIBU               Davie                    FL
29285   1G1ZH5SX4HF109098   GM          MALIBU               DAYTONA BEACH            FL
29286   1G4GB5GR2GF177470   GM          LACROSSE             LOS ANGELES              CA
29287   1G4PP5SK0F4175478   GM          VERANO               North Las Vegas          NV
29288   1G4PP5SK2G4110889   GM          VERANO               PORTLAND                 OR
29289   1G4PP5SK6G4127128   GM          VERANO               FORT MYERS               FL
29290   1G4PP5SK7G4156492   GM          VERANO               NORTH PAC                CA
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29291   1G4PP5SK9F4143550   GM          VERANO               DES MOINES               IA
29292   1G4PR5SK6F4157142   GM          VERANO               ORLANDO                  FL
29293   1G4PW5SK1G4125404   GM          VERANO               Orlando                  FL
29294   1G4PW5SK9G4170770   GM          VERANO               BURBANK                  CA
29295   1G4ZP5SZ0JU133875   GM          LACROSSE             Fontana                  CA
29296   1G4ZP5SZ2JU124322   GM          LACROSSE             Kansas City              MO
29297   1G4ZP5SZ6JU123531   GM          LACROSSE             Hayward                  CA
29298   1G4ZP5SZ8JU136345   GM          LACROSSE             Bridgeton                MO
29299   1G4ZP5SZ8JU139178   GM          LACROSSE             Fredericksburg           VA
29300   1G4ZP5SZXJU133057   GM          LACROSSE             LAS VEGAS                NV
29301   1G4ZR5SZ9JU129611   GM          LACROSSE             COLUMBUS                 OH
29302   1G6AB5RX8J0120029   GM          ATS                  Hayward                  CA
29303   1G6AB5RX8J0128518   GM          ATS                  Slidell                  LA
29304   1G6AR5SS0K0120800   GM          CTS                  Davie                    FL
29305   1G6AR5SS0K0121204   GM          CTS                  Atlanta                  GA
29306   1G6AR5SS0K0124815   GM          CTS                  SARASOTA                 FL
29307   1G6AR5SS0K0131764   GM          CTS                  NEWARK                   NJ
29308   1G6AR5SS0K0131831   GM          CTS                  FORT LAUDERDALE          FL
29309   1G6AR5SS0K0131845   GM          CTS                  CHARLOTTE                NC
29310   1G6AR5SS0K0131859   GM          CTS                  RONKONKOMA               NY
29311   1G6AR5SS0K0132347   GM          CTS                  CHARLOTTE                NC
29312   1G6AR5SS0K0133322   GM          CTS                  GRAND RAPIDS             MI
29313   1G6AR5SS1K0109773   GM          CTS                  FT. LAUDERDALE           FL
29314   1G6AR5SS1K0124791   GM          CTS                  FORT MYERS               FL
29315   1G6AR5SS1K0131126   GM          CTS                  SARASOTA                 FL
29316   1G6AR5SS1K0132373   GM          CTS                  STERLING                 VA
29317   1G6AR5SS1K0133586   GM          CTS                  Nashville                TN
29318   1G6AR5SS1K0133930   GM          CTS                  STERLING                 VA
29319   1G6AR5SS1K0139386   GM          CTS                  HOUSTON                  TX
29320   1G6AR5SS1K0140327   GM          CTS                  PHOENIX                  AZ
29321   1G6AR5SS2K0108194   GM          CTS
29322   1G6AR5SS2K0123875   GM          CTS                  ORLANDO                  FL
29323   1G6AR5SS2K0125237   GM          CTS                  WEST COLUMBIA            SC
29324   1G6AR5SS2K0131880   GM          CTS                  DETROIT                  MI
29325   1G6AR5SS2K0131894   GM          CTS                  PITTSBURGH               PA
29326   1G6AR5SS2K0131992   GM          CTS                  FORT MYERS               FL
29327   1G6AR5SS2K0132513   GM          CTS                  BALTIMORE                MD
29328   1G6AR5SS2K0132544   GM          CTS                  MANHATTAN                NY
29329   1G6AR5SS2K0133029   GM          CTS                  HANOVER                  MD
29330   1G6AR5SS2K0133144   GM          CTS                  PHILADELPHIA             PA
29331   1G6AR5SS2K0133371   GM          CTS                  RENO                     NV
29332   1G6AR5SS2K0133807   GM          CTS                  PASCO                    WA
29333   1G6AR5SS2K0133967   GM          CTS                  MEMPHIS                  TN
29334   1G6AR5SS2K0134374   GM          CTS                  PORTLAND                 OR
29335   1G6AR5SS2K0141230   GM          CTS                  SAN DIEGO                CA
29336   1G6AR5SS3K0107488   GM          CTS                  ORLANDO                  FL
29337   1G6AR5SS3K0110424   GM          CTS                  SALT LAKE CITY           UT
29338   1G6AR5SS3K0124520   GM          CTS                  NEW ORLEANS              LA
29339   1G6AR5SS3K0130267   GM          CTS                  MYRTLE BEACH             SC
29340   1G6AR5SS3K0130463   GM          CTS                  ELLWOOD CITY             PA
29341   1G6AR5SS3K0130527   GM          CTS                  CHATHAM                  VA
29342   1G6AR5SS3K0130933   GM          CTS                  STERLING                 VA
29343   1G6AR5SS3K0131063   GM          CTS                  MALDEN                   MA
29344   1G6AR5SS3K0131113   GM          CTS                  HUNTSVILLE               AL
29345   1G6AR5SS3K0131774   GM          CTS                  NEW BERN                 NC
29346   1G6AR5SS3K0131824   GM          CTS                  Parkville                MD
29347   1G6AR5SS3K0132066   GM          CTS                  MANCHESTER               US
29348   1G6AR5SS3K0132133   GM          CTS                  Atlanta                  GA
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29349   1G6AR5SS3K0132293   GM           CTS                  DETROIT                  MI
29350   1G6AR5SS3K0132407   GM           CTS                  FAYETTEVILLE             GA
29351   1G6AR5SS3K0132746   GM           CTS                  DANIA BEACH              FL
29352   1G6AR5SS3K0133914   GM           CTS                  NEWARK                   NJ
29353   1G6AR5SS3K0134366   GM           CTS                  NASHVILLE                TN
29354   1G6AR5SS3K0138921   GM           CTS                  HOUSTON                  TX
29355   1G6AR5SS3K0139471   GM           CTS                  Houston                  TX
29356   1G6AR5SS4K0106432   GM           CTS                  SOUTHEAST DST OFFC       OK
29357   1G6AR5SS4K0131380   GM           CTS                  CHICAGO                  IL
29358   1G6AR5SS4K0132304   GM           CTS                  JAMAICA                  NY
29359   1G6AR5SS4K0132318   GM           CTS                  Atlanta                  GA
29360   1G6AR5SS4K0133906   GM           CTS                  FORT LAUDERDALE          FL
29361   1G6AR5SS4K0134280   GM           CTS                  PHILADELPHIA             PA
29362   1G6AR5SS4K0140306   GM           CTS                  LOS ANGELES              CA
29363   1G6AR5SS5K0109212   GM           CTS                  STERLING                 VA
29364   1G6AR5SS5K0109758   GM           CTS                  CHICAGO                  IL
29365   1G6AR5SS5K0111025   GM           CTS                  Chicago                  IL
29366   1G6AR5SS5K0120940   GM           CTS                  OAKLAND                  CA
29367   1G6AR5SS5K0121439   GM           CTS                  Las Vegas                NV
29368   1G6AR5SS5K0124440   GM           CTS                  FORT LAUDERDALE          FL
29369   1G6AR5SS5K0130836   GM           CTS                  Bordentown               NJ
29370   1G6AR5SS5K0131324   GM           CTS                  Jacksonville             FL
29371   1G6AR5SS5K0131355   GM           CTS                  CHICAGO                  IL
29372   1G6AR5SS5K0131565   GM           CTS                  COLUMBIA                 SC
29373   1G6AR5SS5K0131601   GM           CTS                  WARWICK                  RI
29374   1G6AR5SS5K0131923   GM           CTS                  Greensboro               NC
29375   1G6AR5SS5K0132036   GM           CTS                  WARWICK                  RI
29376   1G6AR5SS5K0132456   GM           CTS                  SEATAC                   WA
29377   1G6AR5SS5K0132540   GM           CTS                  Dallas                   TX
29378   1G6AR5SS5K0132814   GM           CTS                  LOUISVILLE               KY
29379   1G6AR5SS5K0134112   GM           CTS                  Manheim                  PA
29380   1G6AR5SS5K0134188   GM           CTS                  LAS VEGAS                NV
29381   1G6AR5SS5K0135082   GM           CTS                  BIRMINGHAN               AL
29382   1G6AR5SS5K0139651   GM           CTS                  DALLAS                   TX
29383   1G6AR5SS5K0140086   GM           CTS                  Houston                  TX
29384   1G6AR5SS6K0106447   GM           CTS                  ORANGE COUNTY            CA
29385   1G6AR5SS6K0107274   GM           CTS                  SACRAMENTO               CA
29386   1G6AR5SS6K0110756   GM           CTS                  JACKSONVILLE             FL
29387   1G6AR5SS6K0120221   GM           CTS                  WEST PALM BEACH          FL
29388   1G6AR5SS6K0121384   GM           CTS                  ORLANDO                  FL
29389   1G6AR5SS6K0129985   GM           CTS                  OMAHA                    NE
29390   1G6AR5SS6K0130327   GM           CTS                  Nashville                TN
29391   1G6AR5SS6K0130523   GM           CTS                  NEWARK                   NJ
29392   1G6AR5SS6K0131672   GM           CTS                  MIAMI                    FL
29393   1G6AR5SS6K0131820   GM           CTS                  CLEVELAND                OH
29394   1G6AR5SS6K0131929   GM           CTS                  BOSTON                   MA
29395   1G6AR5SS6K0132224   GM           CTS                  Atlanta                  GA
29396   1G6AR5SS6K0132370   GM           CTS                  Hebron                   KY
29397   1G6AR5SS6K0133910   GM           CTS                  S. San Francisc          CA
29398   1G6AR5SS6K0139853   GM           CTS                  HOUSTON                  TX
29399   1G6AR5SS7K0105940   GM           CTS                  SARASOTA                 FL
29400   1G6AR5SS7K0106005   GM           CTS                  FORT MYERS               FL
29401   1G6AR5SS7K0119854   GM           CTS                  FORT LAUDERDALE          FL
29402   1G6AR5SS7K0121006   GM           CTS                  BURBANK                  CA
29403   1G6AR5SS7K0125198   GM           CTS                  KENNER                   LA
29404   1G6AR5SS7K0130840   GM           CTS                  DAYTONA BEACH            FL
29405   1G6AR5SS7K0131504   GM           CTS                  PITTSBURGH               PA
29406   1G6AR5SS7K0131793   GM           CTS                  Hebron                   KY
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29407   1G6AR5SS7K0131972   GM           CTS                  LOUISVILLE               KY
29408   1G6AR5SS7K0132846   GM           CTS                  PHILADELPHIA             PA
29409   1G6AR5SS7K0133415   GM           CTS                  LOS ANGELES              CA
29410   1G6AR5SS7K0133480   GM           CTS                  Caledonia                WI
29411   1G6AR5SS7K0133642   GM           CTS                  RONKONKOMA               NY
29412   1G6AR5SS7K0140249   GM           CTS                  LOS ANGELES              CA
29413   1G6AR5SS7K0140252   GM           CTS                  SACRAMENTO               CA
29414   1G6AR5SS7K0140672   GM           CTS                  SOUTH SAN FRANC          CA
29415   1G6AR5SS8K0109429   GM           CTS                  Alcoa                    TN
29416   1G6AR5SS8K0109768   GM           CTS                  DENVER                   CO
29417   1G6AR5SS8K0120561   GM           CTS                  FORT MYERS               FL
29418   1G6AR5SS8K0130278   GM           CTS                  PHILADELPHIA             US
29419   1G6AR5SS8K0130989   GM           CTS                  STATESBORO               GA
29420   1G6AR5SS8K0131320   GM           CTS                  PHILADELPHIA             PA
29421   1G6AR5SS8K0131334   GM           CTS                  NEW BERN                 NC
29422   1G6AR5SS8K0131754   GM           CTS                  DETROIT                  MI
29423   1G6AR5SS8K0131799   GM           CTS                  FLORENCE                 SC
29424   1G6AR5SS8K0131835   GM           CTS                  EGG HARBOR TOWN          NJ
29425   1G6AR5SS8K0132239   GM           CTS                  NEW YORK CITY            NY
29426   1G6AR5SS8K0132287   GM           CTS                  ALBANY                   N
29427   1G6AR5SS8K0133780   GM           CTS                  COLUMBUS                 OH
29428   1G6AR5SS8K0134220   GM           CTS                  FORT MYERS               FL
29429   1G6AR5SS8K0139658   GM           CTS                  HOUSTON                  TX
29430   1G6AR5SS8K0140261   GM           CTS                  Fresno                   CA
29431   1G6AR5SS8K0140342   GM           CTS                  OAKLAND                  CA
29432   1G6AR5SS8K0141233   GM           CTS                  LOS ANGELES              CA
29433   1G6AR5SS9K0110721   GM           CTS                  Detroit                  MI
29434   1G6AR5SS9K0120648   GM           CTS                  Salt Lake City           UT
29435   1G6AR5SS9K0130533   GM           CTS                  GRAND RAPIDS             MI
29436   1G6AR5SS9K0131293   GM           CTS                  RALIEGH                  NC
29437   1G6AR5SS9K0132086   GM           CTS                  NEW YORK CITY            NY
29438   1G6AR5SS9K0132380   GM           CTS                  PHILADELPHIA             PA
29439   1G6AR5SS9K0132654   GM           CTS                  CLEVELAND                OH
29440   1G6AR5SS9K0133545   GM           CTS                  Jersey City              NJ
29441   1G6AR5SS9K0133710   GM           CTS                  DETROIT                  MI
29442   1G6AR5SS9K0135327   GM           CTS                  RONKONKOMA               NY
29443   1G6AR5SS9K0141578   GM           CTS                  SEATAC                   WA
29444   1G6AR5SSXK0120996   GM           CTS                  LOS ANGELES              CA
29445   1G6AR5SSXK0121470   GM           CTS                  GARDENA                  CA
29446   1G6AR5SSXK0131660   GM           CTS                  PHOENIX                  AZ
29447   1G6AR5SSXK0131772   GM           CTS                  HAMMONTON                NJ
29448   1G6AR5SSXK0132257   GM           CTS                  SAINT LOUIS              MO
29449   1G6AR5SSXK0132386   GM           CTS                  ORLANDO                  FL
29450   1G6AR5SSXK0132436   GM           CTS                  STERLING                 VA
29451   1G6AR5SSXK0132453   GM           CTS                  HOUSTON                  TX
29452   1G6AR5SSXK0132775   GM           CTS                  PITTSBURGH               PA
29453   1G6AR5SSXK0133361   GM           CTS                  NEW YORK CITY            NY
29454   1G6AR5SSXK0139967   GM           CTS                  DALLAS                   TX
29455   1G6AR5SSXK0141329   GM           CTS                  EL SEGUNDO               CA
29456   1G6AR5SX0K0119996   GM           CTS                  GREENSBORO               NC
29457   1G6AR5SX0K0124390   GM           CTS                  ORLANDO                  FL
29458   1G6AR5SX0K0130240   GM           CTS                  NEWARK                   NJ
29459   1G6AR5SX0K0130321   GM           CTS                  Warminster               PA
29460   1G6AR5SX0K0130481   GM           CTS                  HARTFORD                 CT
29461   1G6AR5SX0K0130724   GM           CTS                  RALIEGH                  NC
29462   1G6AR5SX0K0131260   GM           CTS                  SANTA ANA                CA
29463   1G6AR5SX0K0132201   GM           CTS                  ATLANTA                  GA
29464   1G6AR5SX0K0132263   GM           CTS                  STERLING                 VA
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29465   1G6AR5SX0K0132585   GM           CTS                  CLEVELAND                OH
29466   1G6AR5SX0K0133381   GM           CTS                  SEATAC                   WA
29467   1G6AR5SX0K0139195   GM           CTS                  ROANOKE                  VA
29468   1G6AR5SX0K0139889   GM           CTS                  CHARLOTTE                NC
29469   1G6AR5SX1J0113056   GM           CTS                  LIHUE                    HI
29470   1G6AR5SX1K0107257   GM           CTS                  BURBANK                  CA
29471   1G6AR5SX1K0120817   GM           CTS                  SAN DIEGO                CA
29472   1G6AR5SX1K0130229   GM           CTS                  PENSACOLA                FL
29473   1G6AR5SX1K0131073   GM           CTS                  CLEVELAND                OH
29474   1G6AR5SX1K0132403   GM           CTS                  ATLANTA                  GA
29475   1G6AR5SX1K0138976   GM           CTS                  DETROIT                  MI
29476   1G6AR5SX1K0139108   GM           CTS                  CHATTANOOGA              TN
29477   1G6AR5SX1K0139707   GM           CTS                  FORT MYERS               FL
29478   1G6AR5SX2J0112966   GM           CTS                  KAHULUI                  HI
29479   1G6AR5SX2K0107347   GM           CTS                  WEST PALM BEACH          FL
29480   1G6AR5SX2K0130272   GM           CTS                  NEWARK                   NJ
29481   1G6AR5SX2K0130451   GM           CTS                  NEW YORK CITY            NY
29482   1G6AR5SX2K0131051   GM           CTS                  MIAMI                    FL
29483   1G6AR5SX2K0131079   GM           CTS                  NEWARK                   NJ
29484   1G6AR5SX2K0131616   GM           CTS                  WARWICK                  RI
29485   1G6AR5SX2K0131941   GM           CTS                  ATLANTA                  GA
29486   1G6AR5SX2K0132071   GM           CTS                  CHICAGO                  IL
29487   1G6AR5SX2K0132572   GM           CTS                  WHITE PLAINS             NY
29488   1G6AR5SX2K0132619   GM           CTS                  GRAND RAPIDS             MI
29489   1G6AR5SX2K0138811   GM           CTS                  FT. LAUDERDALE           FL
29490   1G6AR5SX2K0139747   GM           CTS                  SAINT LOUIS              MO
29491   1G6AR5SX2K0139943   GM           CTS                  DFW AIRPORT              TX
29492   1G6AR5SX3K0109088   GM           CTS                  Atlanta                  GA
29493   1G6AR5SX3K0109284   GM           CTS                  DANIA                    FL
29494   1G6AR5SX3K0109818   GM           CTS                  DENVER                   CO
29495   1G6AR5SX3K0120446   GM           CTS                  Florissant               MO
29496   1G6AR5SX3K0130457   GM           CTS                  TAMPA                    FL
29497   1G6AR5SX3K0132242   GM           CTS                  Jacksonville             FL
29498   1G6AR5SX3K0132290   GM           CTS                  Elkridge                 MD
29499   1G6AR5SX3K0132449   GM           CTS                  PITTSBURGH               PA
29500   1G6AR5SX3K0134069   GM           CTS                  NEW YORK CITY            NY
29501   1G6AR5SX3K0134184   GM           CTS                  CLEVELAND                OH
29502   1G6AR5SX3K0139675   GM           CTS                  SARASOTA                 FL
29503   1G6AR5SX3K0139904   GM           CTS                  WEST PALM BEACH          FL
29504   1G6AR5SX4J0111978   GM           CTS                  KAHULUI MAUI             HI
29505   1G6AR5SX4J0112273   GM           CTS                  KAUAI                    HI
29506   1G6AR5SX4J0112855   GM           CTS                  LIHUE AP KAUAI           HI
29507   1G6AR5SX4K0107611   GM           CTS                  FORT LAUDERDALE          FL
29508   1G6AR5SX4K0130354   GM           CTS                  Bensalem                 PA
29509   1G6AR5SX4K0130595   GM           CTS                  SAVANNAH                 GA
29510   1G6AR5SX4K0130774   GM           CTS                  DETROIT                  MI
29511   1G6AR5SX4K0130886   GM           CTS                  NORFOLK                  VA
29512   1G6AR5SX4K0131004   GM           CTS                  WHITE PLAINS             NY
29513   1G6AR5SX4K0131097   GM           CTS                  ROANOKE                  VA
29514   1G6AR5SX4K0131360   GM           CTS                  CLEVELAND                OH
29515   1G6AR5SX4K0131553   GM           CTS                  MIAMI                    FL
29516   1G6AR5SX4K0132282   GM           CTS                  NEWARK                   NJ
29517   1G6AR5SX4K0133139   GM           CTS                  NEW BERN                 NC
29518   1G6AR5SX4K0138888   GM           CTS                  ORLANDO                  FL
29519   1G6AR5SX4K0139328   GM           CTS                  WEST PALM BEACH          FL
29520   1G6AR5SX5J0111682   GM           CTS                  KAHULUI                  HI
29521   1G6AR5SX5J0112296   GM           CTS                  KAILUA KONA              HI
29522   1G6AR5SX5K0106645   GM           CTS                  Lake Elsinore            CA
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29523   1G6AR5SX5K0107732   GM           CTS                  Tampa                    FL
29524   1G6AR5SX5K0110016   GM           CTS                  ATLANTA                  GA
29525   1G6AR5SX5K0124238   GM           CTS                  ORLANDO                  FL
29526   1G6AR5SX5K0130475   GM           CTS                  BUFFALO                  NY
29527   1G6AR5SX5K0130721   GM           CTS                  PHILADELPHIA             PA
29528   1G6AR5SX5K0130931   GM           CTS                  DES PLAINES              US
29529   1G6AR5SX5K0131268   GM           CTS                  CHARLOTTE                NC
29530   1G6AR5SX5K0131724   GM           CTS                  BALTIMORE                MD
29531   1G6AR5SX5K0132212   GM           CTS                  Florissant               MO
29532   1G6AR5SX5K0132422   GM           CTS                  NEW YORK CITY            NY
29533   1G6AR5SX5K0132467   GM           CTS                  NEWARK                   NJ
29534   1G6AR5SX5K0138933   GM           CTS                  INDIANAPOLIS             IN
29535   1G6AR5SX6J0113120   GM           CTS                  LIHUE                    HI
29536   1G6AR5SX6J0113652   GM           CTS                  KAHULUI                  HI
29537   1G6AR5SX6K0110350   GM           CTS                  NEW YORK CITY            NY
29538   1G6AR5SX6K0130257   GM           CTS                  York Haven               PA
29539   1G6AR5SX6K0132204   GM           CTS                  Portland                 ME
29540   1G6AR5SX6K0132221   GM           CTS                  FRESNO                   CA
29541   1G6AR5SX6K0132395   GM           CTS                  BALTIMORE                MD
29542   1G6AR5SX6K0132476   GM           CTS                  NEW BERN                 NC
29543   1G6AR5SX6K0139489   GM           CTS                  Tampa                    FL
29544   1G6AR5SX6K0139802   GM           CTS                  ORLANDO                  FL
29545   1G6AR5SX6K0139847   GM           CTS                  TAMPA                    FL
29546   1G6AR5SX7K0110874   GM           CTS                  SAINT PAUL               MN
29547   1G6AR5SX7K0111295   GM           CTS                  ORLANDO                  FL
29548   1G6AR5SX7K0120305   GM           CTS                  TUCSON                   AZ
29549   1G6AR5SX7K0130218   GM           CTS                  NEWARK                   NY
29550   1G6AR5SX7K0130414   GM           CTS                  Detroit                  MI
29551   1G6AR5SX7K0130557   GM           CTS                  ROCHESTER                NY
29552   1G6AR5SX7K0130722   GM           CTS                  MILWAUKEE                WI
29553   1G6AR5SX7K0131370   GM           CTS                  WEST PALM BEACH          FL
29554   1G6AR5SX7K0131577   GM           CTS                  North Dighton            MA
29555   1G6AR5SX7K0131708   GM           CTS                  NEW YORK CITY            NY
29556   1G6AR5SX7K0132051   GM           CTS                  PHILADELPHIA             PA
29557   1G6AR5SX7K0132471   GM           CTS                  NEWARK                   NJ
29558   1G6AR5SX7K0132518   GM           CTS                  COLLEGE PARK             GA
29559   1G6AR5SX7K0132549   GM           CTS                  COLUMBUS                 OH
29560   1G6AR5SX7K0139498   GM           CTS                  Harvey                   LA
29561   1G6AR5SX7K0139534   GM           CTS                  ORLANDO                  FL
29562   1G6AR5SX7K0139985   GM           CTS                  HOUSTON                  TX
29563   1G6AR5SX8K0120734   GM           CTS                  MIAMI                    FL
29564   1G6AR5SX8K0121527   GM           CTS                  MIAMI                    FL
29565   1G6AR5SX8K0131572   GM           CTS                  GOLDSBORO                NC
29566   1G6AR5SX8K0132253   GM           CTS                  NEW ORLEANS              LA
29567   1G6AR5SX8K0132270   GM           CTS                  Teterboro                NJ
29568   1G6AR5SX8K0132432   GM           CTS                  LOUISVILLE               KY
29569   1G6AR5SX8K0138943   GM           CTS                  SARASOTA                 FL
29570   1G6AR5SX9J0111331   GM           CTS                  LIHUE                    HI
29571   1G6AR5SX9K0130303   GM           CTS                  NEWARK                   NJ
29572   1G6AR5SX9K0130446   GM           CTS                  SYRACUSE                 NY
29573   1G6AR5SX9K0130723   GM           CTS                  N. Palm Beach            FL
29574   1G6AR5SX9K0130771   GM           CTS                  DES MOINES               IA
29575   1G6AR5SX9K0131855   GM           CTS                  ALBANY                   NY
29576   1G6AR5SX9K0132553   GM           CTS                  COLLEGE PARK             GA
29577   1G6AR5SX9K0132567   GM           CTS                  ORLANDO                  FL
29578   1G6AR5SX9K0139874   GM           CTS                  SAN ANTONIO              TX
29579   1G6AR5SX9K0139955   GM           CTS                  TAMPA                    FL
29580   1G6AR5SXXJ0113637   GM           CTS                  KAUAI                    HI
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29581   1G6AR5SXXK0129967   GM          CTS                  NEW BERN                 NC
29582   1G6AR5SXXK0130469   GM          CTS                  SYRACUSE                 NY
29583   1G6AR5SXXK0131329   GM          CTS                  PITTSBURGH               PA
29584   1G6AR5SXXK0131962   GM          CTS                  ORLANDO                  FL
29585   1G6AR5SXXK0132111   GM          CTS                  PORTLAND                 ME
29586   1G6AR5SXXK0132142   GM          CTS                  HOUSTON                  TX
29587   1G6AR5SXXK0132481   GM          CTS                  PLAINFIELD               IN
29588   1G6AY5SS7H0177510   GM          CTS                  Raleigh                  NC
29589   1G6KC5RK1KU114167   GM          CT6                  CHARLOTTE                NC
29590   1G6KC5RK1KU121121   GM          CT6                  ATLANTA                  GA
29591   1G6KC5RK1KU126142   GM          CT6                  ATLANTA                  GA
29592   1G6KC5RK2KU112718   GM          CT6                  LAS VEGAS                NV
29593   1G6KC5RK6KU121714   GM          CT6                  MIAMI                    FL
29594   1G6KC5RK8KU116191   GM          CT6                  Ocoee                    FL
29595   1G6KC5RK9KU124977   GM          CT6                  FAYETTEVILLE             GA
29596   1G6KD5RS0KU124203   GM          CT6                  MIAMI                    FL
29597   1G6KD5RS0KU124234   GM          CT6                  PALM SPRINGS             CA
29598   1G6KD5RS0KU124265   GM          CT6                  WEST PALM BEACH          FL
29599   1G6KD5RS0KU124363   GM          CT6                  KENNER                   LA
29600   1G6KD5RS0KU124444   GM          CT6                  KENNER                   LA
29601   1G6KD5RS0KU124458   GM          CT6                  LOS ANGELES              CA
29602   1G6KD5RS0KU124704   GM          CT6                  DALLAS                   TX
29603   1G6KD5RS1KU124226   GM          CT6                  FORT MYERS               FL
29604   1G6KD5RS1KU124307   GM          CT6                  Teterboro                NJ
29605   1G6KD5RS1KU124386   GM          CT6                  FORT LAUDERDALE          FL
29606   1G6KD5RS1KU124677   GM          CT6                  SAN JOSE                 CA
29607   1G6KD5RS1KU124792   GM          CT6                  PHOENIX                  AZ
29608   1G6KD5RS1KU125005   GM          CT6                  LOS ANGELES              CA
29609   1G6KD5RS1KU125019   GM          CT6                  ROANOKE                  VA
29610   1G6KD5RS1KU125103   GM          CT6                  BOSTON                   MA
29611   1G6KD5RS1KU125120   GM          CT6                  SAN JOSE                 CA
29612   1G6KD5RS1KU125165   GM          CT6                  HOUSTON                  TX
29613   1G6KD5RS1KU125232   GM          CT6                  WEST PALM BEACH          FL
29614   1G6KD5RS2KU124395   GM          CT6                  SARASOTA                 FL
29615   1G6KD5RS2KU124638   GM          CT6                  Fontana                  CA
29616   1G6KD5RS2KU124848   GM          CT6                  ATLANTA                  GA
29617   1G6KD5RS3KU124339   GM          CT6                  Atlanta                  GA
29618   1G6KD5RS3KU124647   GM          CT6                  SAN JOSE                 CA
29619   1G6KD5RS3KU124745   GM          CT6                  LOS ANGELES              CA
29620   1G6KD5RS3KU124938   GM          CT6                  FORT MYERS               FL
29621   1G6KD5RS4KU124334   GM          CT6                  TAMPA                    FL
29622   1G6KD5RS4KU124527   GM          CT6                  Atlanta                  GA
29623   1G6KD5RS4KU124575   GM          CT6                  BOISE                    US
29624   1G6KD5RS4KU124818   GM          CT6                  FORT LAUDERDALE          FL
29625   1G6KD5RS5KU124276   GM          CT6                  BUFFALO                  NY
29626   1G6KD5RS5KU124407   GM          CT6                  FORT MYERS               FL
29627   1G6KD5RS5KU124715   GM          CT6                  ATLANTA                  GA
29628   1G6KD5RS5KU125069   GM          CT6                  Atlanta                  GA
29629   1G6KD5RS6KU124531   GM          CT6                  DETROIT                  MI
29630   1G6KD5RS6KU124612   GM          CT6                  BURBANK                  CA
29631   1G6KD5RS6KU124657   GM          CT6                  FORT MYERS               FL
29632   1G6KD5RS6KU124688   GM          CT6                  BURBANK                  CA
29633   1G6KD5RS6KU124710   GM          CT6                  LAS VEGAS                NV
29634   1G6KD5RS6KU124884   GM          CT6                  SAN JOSE                 CA
29635   1G6KD5RS6KU125002   GM          CT6                  FORT MYERS               FL
29636   1G6KD5RS7KU124523   GM          CT6                  SAN FRANCISCO            CA
29637   1G6KD5RS7KU124540   GM          CT6                  SAN FRANCISCO            CA
29638   1G6KD5RS7KU124683   GM          CT6                  FORT MYERS               FL
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29639   1G6KD5RS7KU124909   GM          CT6                  FORT LAUDERDALE          FL
29640   1G6KD5RS7KU125302   GM          CT6                  Manheim                  PA
29641   1G6KD5RS7KU125512   GM          CT6                  KNOXVILLE                TN
29642   1G6KD5RS8KU124403   GM          CT6                  TAMPA                    FL
29643   1G6KD5RS8KU124563   GM          CT6                  FAYETTEVILLE             GA
29644   1G6KD5RS8KU124627   GM          CT6                  BURBANK                  CA
29645   1G6KD5RS8KU124725   GM          CT6                  LAS VEGAS                NV
29646   1G6KD5RS8KU125115   GM          CT6                  SAN FRANCISCO            CA
29647   1G6KD5RS8KU125129   GM          CT6                  ATLANTA                  GA
29648   1G6KD5RS8KU127284   GM          CT6                  MIAMI                    FL
29649   1G6KD5RS9KU124281   GM          CT6                  FORT LAUDERDALE          FL
29650   1G6KD5RS9KU124376   GM          CT6                  GREENSBORO               NC
29651   1G6KD5RS9KU124720   GM          CT6                  PHOENIX                  AZ
29652   1G6KD5RS9KU125009   GM          CT6                  KNOXVILLE                TN
29653   1G6KD5RS9KU125110   GM          CT6                  ATLANTA                  GA
29654   1G6KD5RSXKU124466   GM          CT6                  LAS VEGAS                NV
29655   1G6KD5RSXKU124810   GM          CT6                  LOS ANGELES AP           CA
29656   1G6KD5RSXKU124922   GM          CT6                  FORT MYERS               FL
29657   1G6KD5RSXKU125049   GM          CT6                  CLEVELAND                OH
29658   1G6KD5RSXKU125326   GM          CT6                  San Antonio              TX
29659   1G6KE5RS2KU142053   GM          CT6                  BLOOMINGTON              IL
29660   1GAZGMFG0L1122959   GM          EXPRESS              BURBANK                  CA
29661   1GAZGMFG2L1123062   GM          EXPRESS              PHOENIX                  AZ
29662   1GAZGMFG2L1123997   GM          EXPRESS              SAN DIEGO                CA
29663   1GAZGMFG8L1145437   GM          EXPRESS              FORT LAUDERDALE          FL
29664   1GAZGMFG8L1146393   GM          EXPRESS              ORLANDO                  FL
29665   1GAZGMFG9L1125620   GM          EXPRESS              LAS VEGAS                NV
29666   1GAZGMFP0J1277492   GM          EXPRESS              Miami                    FL
29667   1GAZGMFP0K1202762   GM          SUBURBAN             Atlanta                  GA
29668   1GAZGMFP0K1356761   GM          SUBURBAN             ORLANDO                  FL
29669   1GAZGMFP0K1360972   GM          SUBURBAN             SAVANNAH                 GA
29670   1GAZGMFP0K1361121   GM          SUBURBAN             TAMPA                    FL
29671   1GAZGMFP0K1365377   GM          SUBURBAN             ORLANDO                  FL
29672   1GAZGMFP0K1365685   GM          SUBURBAN             FORT MYERS               FL
29673   1GAZGMFP0K1369607   GM          SUBURBAN             FORT MYERS               FL
29674   1GAZGMFP0K1369798   GM          SUBURBAN             LAS VEGAS                NV
29675   1GAZGMFP0K1370675   GM          SUBURBAN             TAMPA                    FL
29676   1GAZGMFP1J1201702   GM          EXPRESS              LAS VEGAS                NV
29677   1GAZGMFP1J1320561   GM          EXPRESS              LOS ANGELES              CA
29678   1GAZGMFP1K1306919   GM          SUBURBAN             STERLING                 VA
29679   1GAZGMFP1K1357921   GM          SUBURBAN             TAMPA                    US
29680   1GAZGMFP1K1369079   GM          SUBURBAN             LAS VEGAS                NV
29681   1GAZGMFP1K1369454   GM          SUBURBAN             LAS VEGAS                NV
29682   1GAZGMFP2J1202972   GM          EXPRESS              SHAKOPEE                 MN
29683   1GAZGMFP2J1324439   GM          EXPRESS              TAMPA                    FL
29684   1GAZGMFP2K1203525   GM          SUBURBAN             Charlotte                NC
29685   1GAZGMFP2K1206263   GM          SUBURBAN             ATLANTA                  GA
29686   1GAZGMFP2K1309604   GM          SUBURBAN             SAVANNAH                 GA
29687   1GAZGMFP2K1312163   GM          SUBURBAN             Palm Springs             CA
29688   1GAZGMFP2K1315371   GM          SUBURBAN             FT LAUDERDALE            FL
29689   1GAZGMFP2K1360245   GM          SUBURBAN             KNOXVILLE                TN
29690   1GAZGMFP2K1361167   GM          SUBURBAN             BIRMINGHAM               AL
29691   1GAZGMFP2K1361895   GM          SUBURBAN             TAMPA                    US
29692   1GAZGMFP2K1369138   GM          SUBURBAN             MIAMI                    FL
29693   1GAZGMFP2K1369446   GM          SUBURBAN             LAS VEGAS                NV
29694   1GAZGMFP2K1369754   GM          SUBURBAN             Atlanta                  GA
29695   1GAZGMFP2K1370905   GM          SUBURBAN             ORLANDO                  FL
29696   1GAZGMFP3J1321100   GM          EXPRESS              Woodhaven                MI
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29697   1GAZGMFP3J1321677   GM          EXPRESS              BIRMINGHAN               AL
29698   1GAZGMFP3J1324143   GM          EXPRESS              DARLINGTON               SC
29699   1GAZGMFP3K1315198   GM          SUBURBAN             ORLANDO                  FL
29700   1GAZGMFP3K1317209   GM          SUBURBAN             PORTLAND                 ME
29701   1GAZGMFP3K1351120   GM          SUBURBAN             Dallas                   TX
29702   1GAZGMFP3K1364661   GM          SUBURBAN             MIAMI                    FL
29703   1GAZGMFP4J1232491   GM          EXPRESS              Jacksonville             FL
29704   1GAZGMFP4K1200710   GM          SUBURBAN             Matteson                 IL
29705   1GAZGMFP4K1202117   GM          SUBURBAN             Springfield              MO
29706   1GAZGMFP4K1303173   GM          SUBURBAN             KNOXVILLE                TN
29707   1GAZGMFP4K1356441   GM          SUBURBAN             Atlanta                  GA
29708   1GAZGMFP4K1359324   GM          SUBURBAN             Atlanta                  GA
29709   1GAZGMFP4K1368721   GM          SUBURBAN             SAN DIEGO                CA
29710   1GAZGMFP4K1368900   GM          SUBURBAN             LAS VEGAS                NV
29711   1GAZGMFP4K1369030   GM          SUBURBAN             ORLANDO                  FL
29712   1GAZGMFP5J1204683   GM          EXPRESS              Pasadena                 CA
29713   1GAZGMFP5J1322135   GM          EXPRESS              KNOXVILLE                TN
29714   1GAZGMFP5K1200909   GM          SUBURBAN             Houston                  TX
29715   1GAZGMFP5K1202997   GM          SUBURBAN             KNOXVILLE                TN
29716   1GAZGMFP5K1314795   GM          SUBURBAN             MIAMI                    FL
29717   1GAZGMFP5K1356514   GM          SUBURBAN             BURBANK                  CA
29718   1GAZGMFP5K1360837   GM          SUBURBAN             MIAMI                    FL
29719   1GAZGMFP6K1193324   GM          SUBURBAN             FAYETTEVILLE             GA
29720   1GAZGMFP6K1203298   GM          SUBURBAN             KNOXVILLE                TN
29721   1GAZGMFP6K1206332   GM          SUBURBAN             COLLEGE PARK             GA
29722   1GAZGMFP6K1303062   GM          SUBURBAN             PHOENIX                  AZ
29723   1GAZGMFP6K1316734   GM          SUBURBAN             FORT LAUDERDALE          FL
29724   1GAZGMFP6K1359955   GM          SUBURBAN             KENNER                   LA
29725   1GAZGMFP6K1360295   GM          SUBURBAN             INGLEWOOD                CA
29726   1GAZGMFP6K1365674   GM          SUBURBAN             LOS ANGELES              CA
29727   1GAZGMFP6K1369174   GM          SUBURBAN             ORLANDO                  FL
29728   1GAZGMFP6K1369367   GM          SUBURBAN             BURBANK                  CA
29729   1GAZGMFP7K1192554   GM          SUBURBAN             KENNER                   LA
29730   1GAZGMFP7K1350469   GM          SUBURBAN             Massapequa               NY
29731   1GAZGMFP7K1369331   GM          SUBURBAN             WEST PALM BEACH          FL
29732   1GAZGMFP7K1369846   GM          SUBURBAN             MIAMI                    FL
29733   1GAZGMFP7K1370267   GM          SUBURBAN             PANAMA CITY              FL
29734   1GAZGMFP7K1370446   GM          SUBURBAN             BURBANK                  CA
29735   1GAZGMFP7K1370852   GM          SUBURBAN             LOS ANGELES              CA
29736   1GAZGMFP8J1225737   GM          EXPRESS              MARIETTA                 GA
29737   1GAZGMFP8K1198606   GM          SUBURBAN             Hamilton                 OH
29738   1GAZGMFP8K1202234   GM          SUBURBAN             Atlanta                  GA
29739   1GAZGMFP8K1313155   GM          SUBURBAN             ORLANDO                  FL
29740   1GAZGMFP8K1358760   GM          SUBURBAN             ORLANDO                  FL
29741   1GAZGMFP8K1359018   GM          SUBURBAN             Atlanta                  GA
29742   1GAZGMFP8K1370231   GM          SUBURBAN             LAS VEGAS                NV
29743   1GAZGMFP8K1370567   GM          SUBURBAN             MIAMI                    FL
29744   1GAZGMFP9K1197187   GM          SUBURBAN             Woodhaven                MI
29745   1GAZGMFP9K1199537   GM          SUBURBAN             Schaumburg               IL
29746   1GAZGMFP9K1202582   GM          SUBURBAN             BIRMINGHAM               AL
29747   1GAZGMFP9K1312192   GM          SUBURBAN             Atlanta                  GA
29748   1GAZGMFP9K1317554   GM          SUBURBAN             FORT MYERS               FL
29749   1GAZGMFP9K1365328   GM          SUBURBAN             LOS ANGELES              CA
29750   1GAZGMFP9K1368732   GM          SUBURBAN             FORT LAUDERDALE          FL
29751   1GAZGMFP9K1369055   GM          SUBURBAN             ORLANDO                  FL
29752   1GAZGMFP9K1369248   GM          SUBURBAN             MIAMI                    FL
29753   1GAZGMFP9K1369296   GM          SUBURBAN             MIAMI                    FL
29754   1GAZGMFP9K1369749   GM          SUBURBAN             LAS VEGAS                NV
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29755   1GAZGMFP9K1371016   GM          SUBURBAN             STERLING                 VA
29756   1GAZGMFPXJ1321949   GM          EXPRESS              Miami                    FL
29757   1GAZGMFPXK1197263   GM          SUBURBAN             Atlanta                  GA
29758   1GAZGMFPXK1202042   GM          SUBURBAN             Union City               GA
29759   1GAZGMFPXK1303713   GM          SUBURBAN             ORLANDO                  FL
29760   1GAZGMFPXK1308393   GM          SUBURBAN             NEW BERN                 NC
29761   1GAZGMFPXK1310094   GM          SUBURBAN             KNOXVILLE                TN
29762   1GAZGMFPXK1310127   GM          SUBURBAN             Ventura                  CA
29763   1GAZGMFPXK1314274   GM          SUBURBAN             SAN JOSE                 CA
29764   1GAZGMFPXK1314579   GM          SUBURBAN             ORLANDO                  FL
29765   1GAZGMFPXK1352149   GM          SUBURBAN             ATLANTA                  GA
29766   1GAZGMFPXK1358212   GM          SUBURBAN             Atlanta                  GA
29767   1GAZGMFPXK1359084   GM          SUBURBAN             BIRMINGHAM               AL
29768   1GAZGMFPXK1359733   GM          SUBURBAN             ONTARIO                  CA
29769   1GAZGMFPXK1364463   GM          SUBURBAN             Warminster               PA
29770   1GAZGMFPXK1364592   GM          SUBURBAN             LOS ANGELES              CA
29771   1GAZGMFPXK1369114   GM          SUBURBAN             Miami                    FL
29772   1GAZGMFPXK1370182   GM          SUBURBAN             LAS VEGAS                NV
29773   1GAZGMFPXK1370974   GM          SUBURBAN             Houston                  TX
29774   1GAZGPFF1H1260574   GM          EXPRESS              Fontana                  CA
29775   1GAZGPFF2H1149371   GM          EXPRESS              HILO                     HI
29776   1GAZGPFF2H1263418   GM          EXPRESS              ATLANTA                  GA
29777   1GAZGPFF4H1151252   GM          EXPRESS              HILO                     HI
29778   1GAZGPFF4H1259905   GM          EXPRESS              SANTA ANA                CA
29779   1GAZGPFF4H1279183   GM          EXPRESS              Houston                  TX
29780   1GAZGPFF8H1148211   GM          EXPRESS              Lihue                    HI
29781   1GAZGPFF8H1150136   GM          EXPRESS              Fontana                  CA
29782   1GAZGPFF9H1151621   GM          EXPRESS              HILO                     HI
29783   1GAZGPFFXH1262890   GM          EXPRESS              HILO                     HI
29784   1GAZGPFP0J1183615   GM          EXPRESS              ORLANDO                  FL
29785   1GAZGPFP0K1369205   GM          EXPRESS              LAS VEGAS                NV
29786   1GAZGPFP1J1197152   GM          EXPRESS              Las Vegas                NV
29787   1GAZGPFP2J1183390   GM          EXPRESS              RONKONKOMA               NY
29788   1GAZGPFP4J1179793   GM          EXPRESS              ORLANDO                  FL
29789   1GAZGPFP6K1367491   GM          EXPRESS              Lake Elsinore            CA
29790   1GAZGPFPXK1368840   GM          EXPRESS              LOS ANGELES              CA
29791   1GCGSCEN0K1218399   GM          COLORADO             LAS VEGAS                NV
29792   1GCGSCEN0K1218600   GM          COLORADO             Portland                 OR
29793   1GCGSCEN0K1219200   GM          COLORADO             Tampa                    FL
29794   1GCGSCEN0K1219598   GM          COLORADO             ORLANDO                  FL
29795   1GCGSCEN0K1220928   GM          COLORADO             Phoenix                  AZ
29796   1GCGSCEN0K1221903   GM          COLORADO             Houston                  TX
29797   1GCGSCEN0K1240130   GM          COLORADO             ORLANDO                  FL
29798   1GCGSCEN0K1242444   GM          COLORADO             DALLAS                   TX
29799   1GCGSCEN0K1242606   GM          COLORADO             Kansas City              MO
29800   1GCGSCEN0K1243108   GM          COLORADO             San Antonio              TX
29801   1GCGSCEN0K1262483   GM          COLORADO             Memphis                  TN
29802   1GCGSCEN0K1268459   GM          COLORADO             Austin                   TX
29803   1GCGSCEN0K1269319   GM          COLORADO             Houston                  TX
29804   1GCGSCEN0K1270518   GM          COLORADO             ORLANDO                  FL
29805   1GCGSCEN0K1271409   GM          COLORADO             BIRMINGHAM               AL
29806   1GCGSCEN0K1273757   GM          COLORADO             KENNER                   LA
29807   1GCGSCEN0K1275072   GM          COLORADO             Philadelphia             PA
29808   1GCGSCEN0K1275119   GM          COLORADO             OKLAHOMA CITY            OK
29809   1GCGSCEN0K1278263   GM          COLORADO             PHOENIX                  AZ
29810   1GCGSCEN0K1278537   GM          COLORADO             Warr Acres               OK
29811   1GCGSCEN0L1125531   GM          COLORADO             AUSTIN                   TX
29812   1GCGSCEN0L1125643   GM          COLORADO             PHOENIX                  AZ
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29813   1GCGSCEN0L1127439   GM          COLORADO             Charlotte                NC
29814   1GCGSCEN0L1167567   GM          COLORADO             Tulsa                    OK
29815   1GCGSCEN1J1161175   GM          COLORADO             FORT MYERS               FL
29816   1GCGSCEN1K1217357   GM          COLORADO             Sacramento               CA
29817   1GCGSCEN1K1218119   GM          COLORADO             LAS VEGAS                NV
29818   1GCGSCEN1K1219254   GM          COLORADO             Orlando                  FL
29819   1GCGSCEN1K1220520   GM          COLORADO             San Diego                CA
29820   1GCGSCEN1K1241268   GM          COLORADO             EL PASO                  TX
29821   1GCGSCEN1K1263853   GM          COLORADO             Killeen                  TX
29822   1GCGSCEN1K1268339   GM          COLORADO             NEWARK                   NJ
29823   1GCGSCEN1K1268695   GM          COLORADO             Atlanta                  GA
29824   1GCGSCEN1K1269023   GM          COLORADO             Harlingen                TX
29825   1GCGSCEN1K1270205   GM          COLORADO             Slidell                  LA
29826   1GCGSCEN1K1272195   GM          COLORADO             TULSA                    OK
29827   1GCGSCEN1K1275761   GM          COLORADO             DALLAS                   TX
29828   1GCGSCEN1K1277056   GM          COLORADO             MELROSE PARK             IL
29829   1GCGSCEN1L1116823   GM          COLORADO             Davie                    FL
29830   1GCGSCEN1L1127238   GM          COLORADO             Austin                   TX
29831   1GCGSCEN1L1127322   GM          COLORADO             Harvey                   LA
29832   1GCGSCEN1L1127398   GM          COLORADO             Austin                   TX
29833   1GCGSCEN2J1317210   GM          COLORADO             Manheim                  PA
29834   1GCGSCEN2J1326487   GM          COLORADO             FRESNO                   CA
29835   1GCGSCEN2K1217321   GM          COLORADO             KENNER                   LA
29836   1GCGSCEN2K1217626   GM          COLORADO             SANTA ANA                CA
29837   1GCGSCEN2K1217691   GM          COLORADO             N. Palm Beach            FL
29838   1GCGSCEN2K1218162   GM          COLORADO             HARTFORD                 CT
29839   1GCGSCEN2K1218825   GM          COLORADO             Bensalem                 PA
29840   1GCGSCEN2K1219439   GM          COLORADO             HOLLY HILL               FL
29841   1GCGSCEN2K1222311   GM          COLORADO             Tolleson                 AZ
29842   1GCGSCEN2K1239531   GM          COLORADO             PHOENIX                  AZ
29843   1GCGSCEN2K1239609   GM          COLORADO             SAN JOSE                 CA
29844   1GCGSCEN2K1240551   GM          COLORADO             EULESS                   TX
29845   1GCGSCEN2K1240601   GM          COLORADO             SAN ANTONIO              TX
29846   1GCGSCEN2K1241280   GM          COLORADO             HOUSTON                  TX
29847   1GCGSCEN2K1243014   GM          COLORADO             Hamilton                 OH
29848   1GCGSCEN2K1244373   GM          COLORADO             Hendersonville           TN
29849   1GCGSCEN2K1244700   GM          COLORADO             Houston                  TX
29850   1GCGSCEN2K1244907   GM          COLORADO             HOUSTON                  TX
29851   1GCGSCEN2K1268771   GM          COLORADO             SAN ANTONIO              TX
29852   1GCGSCEN2K1270102   GM          COLORADO             Hamilton                 OH
29853   1GCGSCEN2K1272240   GM          COLORADO             LUBBOCK                  TX
29854   1GCGSCEN2K1274201   GM          COLORADO             Denver                   CO
29855   1GCGSCEN2L1117897   GM          COLORADO             ORLANDO                  FL
29856   1GCGSCEN2L1121528   GM          COLORADO             Tampa                    FL
29857   1GCGSCEN2L1127670   GM          COLORADO             TUCSON                   AZ
29858   1GCGSCEN2L1127684   GM          COLORADO             TAMPA                    FL
29859   1GCGSCEN3K1217084   GM          COLORADO             SAN DIEGO                CA
29860   1GCGSCEN3K1217215   GM          COLORADO             SANTA ANA                CA
29861   1GCGSCEN3K1217389   GM          COLORADO             ORLANDO                  FL
29862   1GCGSCEN3K1218302   GM          COLORADO             ORLANDO                  FL
29863   1GCGSCEN3K1219577   GM          COLORADO             Miami                    FL
29864   1GCGSCEN3K1239747   GM          COLORADO             DALLAS                   TX
29865   1GCGSCEN3K1241935   GM          COLORADO             Houston                  TX
29866   1GCGSCEN3K1242003   GM          COLORADO             FRESNO                   CA
29867   1GCGSCEN3K1242146   GM          COLORADO             HOUSTON                  TX
29868   1GCGSCEN3K1242227   GM          COLORADO             SANFORD                  FL
29869   1GCGSCEN3K1242826   GM          COLORADO             DALLAS                   TX
29870   1GCGSCEN3K1262929   GM          COLORADO             SAN ANTONIO              TX
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29871   1GCGSCEN3K1263966   GM          COLORADO             LOS ANGELES              CA
29872   1GCGSCEN3K1266169   GM          COLORADO             HOUSTON                  TX
29873   1GCGSCEN3K1268472   GM          COLORADO             HOUSTON                  TX
29874   1GCGSCEN3K1269525   GM          COLORADO             BOISE                    US
29875   1GCGSCEN3K1274935   GM          COLORADO             SOUTHEAST DST OFFC       OK
29876   1GCGSCEN3K1275096   GM          COLORADO             Birmingham               AL
29877   1GCGSCEN3K1276670   GM          COLORADO             Greer                    SC
29878   1GCGSCEN3L1121988   GM          COLORADO             CHICAGO                  IL
29879   1GCGSCEN3L1123918   GM          COLORADO             SAINT PAUL               MN
29880   1GCGSCEN3L1126690   GM          COLORADO             ORLANDO                  FL
29881   1GCGSCEN3L1213005   GM          COLORADO             Tulsa                    OK
29882   1GCGSCEN4J1329083   GM          COLORADO             SAN DIEGO                CA
29883   1GCGSCEN4K1218857   GM          COLORADO             PASADENA                 CA
29884   1GCGSCEN4K1219135   GM          COLORADO             Riverside                CA
29885   1GCGSCEN4K1220091   GM          COLORADO             Denver                   CO
29886   1GCGSCEN4K1222018   GM          COLORADO             Dallas                   TX
29887   1GCGSCEN4K1239711   GM          COLORADO             Slidell                  LA
29888   1GCGSCEN4K1240793   GM          COLORADO             Morrisville              NC
29889   1GCGSCEN4K1241491   GM          COLORADO             HOUSTON                  TX
29890   1GCGSCEN4K1241698   GM          COLORADO             Houston                  TX
29891   1GCGSCEN4K1243273   GM          COLORADO             Irving                   TX
29892   1GCGSCEN4K1244763   GM          COLORADO             Dallas                   TX
29893   1GCGSCEN4K1260123   GM          COLORADO             Houston                  TX
29894   1GCGSCEN4K1262664   GM          COLORADO             SANFORD                  FL
29895   1GCGSCEN4K1264107   GM          COLORADO             Hendersonville           TN
29896   1GCGSCEN4K1264348   GM          COLORADO             AUSTIN                   TX
29897   1GCGSCEN4K1271171   GM          COLORADO             Live Oak                 TX
29898   1GCGSCEN4K1272773   GM          COLORADO             Killeen                  TX
29899   1GCGSCEN4K1273843   GM          COLORADO             Salt Lake City           UT
29900   1GCGSCEN4K1274801   GM          COLORADO             KENNER                   LA
29901   1GCGSCEN4L1121949   GM          COLORADO             MILWAUKEE                WI
29902   1GCGSCEN4L1122177   GM          COLORADO             Houston                  TX
29903   1GCGSCEN4L1125872   GM          COLORADO             WICHITA FALLS            TX
29904   1GCGSCEN4L1182461   GM          COLORADO             Austin                   TX
29905   1GCGSCEN5J1165486   GM          COLORADO             Bridgeton                MO
29906   1GCGSCEN5J1314558   GM          COLORADO             North Dighton            MA
29907   1GCGSCEN5J1328640   GM          COLORADO             MERRIVILLE               IN
29908   1GCGSCEN5K1216860   GM          COLORADO             Ventura                  CA
29909   1GCGSCEN5K1221069   GM          COLORADO             FT. LAUDERDALE           FL
29910   1GCGSCEN5K1222092   GM          COLORADO             Tampa                    FL
29911   1GCGSCEN5K1240205   GM          COLORADO             Atlanta                  GA
29912   1GCGSCEN5K1240270   GM          COLORADO             HOUSTON                  TX
29913   1GCGSCEN5K1240947   GM          COLORADO             LOUISVILLE               KY
29914   1GCGSCEN5K1241628   GM          COLORADO             DALLAS                   TX
29915   1GCGSCEN5K1242827   GM          COLORADO             SANFORD                  FL
29916   1GCGSCEN5K1244223   GM          COLORADO             Houston                  TX
29917   1GCGSCEN5K1244996   GM          COLORADO             DENVER                   CO
29918   1GCGSCEN5K1245176   GM          COLORADO             SAN ANTONIO              TX
29919   1GCGSCEN5K1257828   GM          COLORADO             Warr Acres               OK
29920   1GCGSCEN5K1262804   GM          COLORADO             SOUTHEAST DST OFFC       OK
29921   1GCGSCEN5K1269171   GM          COLORADO             San Antonio              TX
29922   1GCGSCEN5K1271468   GM          COLORADO             Dallas                   TX
29923   1GCGSCEN5K1272491   GM          COLORADO             TAMPA                    FL
29924   1GCGSCEN5K1273589   GM          COLORADO             Killeen                  TX
29925   1GCGSCEN5K1275049   GM          COLORADO             Live Oak                 TX
29926   1GCGSCEN5K1275259   GM          COLORADO             Atlanta                  GA
29927   1GCGSCEN5K1275374   GM          COLORADO             DALLAS                   TX
29928   1GCGSCEN5K1275441   GM          COLORADO             ORLANDO                  FL
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29929   1GCGSCEN5K1278369   GM          COLORADO             Irving                   TX
29930   1GCGSCEN5L1118834   GM          COLORADO             KANSAS CITY              MO
29931   1GCGSCEN5L1122754   GM          COLORADO             Orlando                  FL
29932   1GCGSCEN6J1317341   GM          COLORADO             Harlingen                TX
29933   1GCGSCEN6K1217063   GM          COLORADO             OKLAHOMA CITY            OK
29934   1GCGSCEN6K1217712   GM          COLORADO             ORLANDO                  FL
29935   1GCGSCEN6K1217841   GM          COLORADO             SALT LAKE CITY           UT
29936   1GCGSCEN6K1218942   GM          COLORADO             Riverside                CA
29937   1GCGSCEN6K1220187   GM          COLORADO             Tampa                    FL
29938   1GCGSCEN6K1222280   GM          COLORADO             FORT LAUDERDALE          FL
29939   1GCGSCEN6K1222375   GM          COLORADO             LAS VEGAS                NV
29940   1GCGSCEN6K1239502   GM          COLORADO             MCALLEN                  TX
29941   1GCGSCEN6K1240424   GM          COLORADO             EULESS                   TX
29942   1GCGSCEN6K1242044   GM          COLORADO             HOUSTON                  TX
29943   1GCGSCEN6K1244957   GM          COLORADO             Harvey                   LA
29944   1GCGSCEN6K1269440   GM          COLORADO             Irving                   TX
29945   1GCGSCEN6K1273889   GM          COLORADO             Salt Lake City           UT
29946   1GCGSCEN6K1274685   GM          COLORADO             San Antonio              TX
29947   1GCGSCEN6L1116736   GM          COLORADO             SAN ANTONIO              TX
29948   1GCGSCEN6L1127655   GM          COLORADO             Dallas                   TX
29949   1GCGSCEN6L1188911   GM          COLORADO             PORTLAND                 OR
29950   1GCGSCEN7K1219307   GM          COLORADO             SANFORD                  FL
29951   1GCGSCEN7K1220134   GM          COLORADO             ATLANTA                  GA
29952   1GCGSCEN7K1239864   GM          COLORADO             Aurora                   CO
29953   1GCGSCEN7K1240660   GM          COLORADO             Beaverton                OR
29954   1GCGSCEN7K1242490   GM          COLORADO             TAMPA                    FL
29955   1GCGSCEN7K1243610   GM          COLORADO             BIRMINGHAN               AL
29956   1GCGSCEN7K1267230   GM          COLORADO             OKLAHOMA CITY            OK
29957   1GCGSCEN7K1274663   GM          COLORADO             Phoenix                  AZ
29958   1GCGSCEN7K1274890   GM          COLORADO             SOUTHEAST DST OFFC       OK
29959   1GCGSCEN7L1116731   GM          COLORADO             CHICAGO                  IL
29960   1GCGSCEN7L1118883   GM          COLORADO             Tampa                    FL
29961   1GCGSCEN7L1126112   GM          COLORADO             HOUSTON                  TX
29962   1GCGSCEN8K1217128   GM          COLORADO             ONTARIO                  CA
29963   1GCGSCEN8K1219221   GM          COLORADO             Tampa                    FL
29964   1GCGSCEN8K1219834   GM          COLORADO             Tampa                    FL
29965   1GCGSCEN8K1221132   GM          COLORADO             Clearwater               FL
29966   1GCGSCEN8K1221793   GM          COLORADO             FORT MYERS               FL
29967   1GCGSCEN8K1240988   GM          COLORADO             CHICAGO                  IL
29968   1GCGSCEN8K1244510   GM          COLORADO             Hattiesburg              MS
29969   1GCGSCEN8K1263316   GM          COLORADO             SOUTHWEST DEALER D       TX
29970   1GCGSCEN8K1268354   GM          COLORADO             SAN ANTONIO              TX
29971   1GCGSCEN8K1269570   GM          COLORADO             Orlando                  FL
29972   1GCGSCEN8K1269925   GM          COLORADO             HOUSTON                  TX
29973   1GCGSCEN8K1275899   GM          COLORADO             ORLANDO                  FL
29974   1GCGSCEN8K1276194   GM          COLORADO             Kansas City              MO
29975   1GCGSCEN8K1276423   GM          COLORADO             SOUTHEAST DST OFFC       OK
29976   1GCGSCEN8K1277829   GM          COLORADO             Live Oak                 TX
29977   1GCGSCEN8K1278284   GM          COLORADO             LAS VEGAS                NV
29978   1GCGSCEN8L1117581   GM          COLORADO             ORLANDO                  FL
29979   1GCGSCEN8L1126961   GM          COLORADO             Leesburg                 VA
29980   1GCGSCEN9J1326311   GM          COLORADO             LOS ANGELES              CA
29981   1GCGSCEN9J1328768   GM          COLORADO             Sacramento               CA
29982   1GCGSCEN9K1218675   GM          COLORADO             WEST PALM BEACH          FL
29983   1GCGSCEN9K1221656   GM          COLORADO             Irving                   TX
29984   1GCGSCEN9K1239915   GM          COLORADO             Beaverton                OR
29985   1GCGSCEN9K1241020   GM          COLORADO             MEDINA                   OH
29986   1GCGSCEN9K1241566   GM          COLORADO             Live Oak                 TX
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29987   1GCGSCEN9K1241910   GM          COLORADO             Atlanta                  GA
29988   1GCGSCEN9K1243415   GM          COLORADO             Hapeville                GA
29989   1GCGSCEN9K1244774   GM          COLORADO             Webster                  NY
29990   1GCGSCEN9K1263616   GM          COLORADO             Killeen                  TX
29991   1GCGSCEN9K1266080   GM          COLORADO             ORLANDO                  FL
29992   1GCGSCEN9K1267178   GM          COLORADO             CLARKSVILLE              IN
29993   1GCGSCEN9K1273689   GM          COLORADO             HOUSTON                  TX
29994   1GCGSCEN9K1274549   GM          COLORADO             COLUMBIA                 SC
29995   1GCGSCEN9K1274776   GM          COLORADO             DALLAS                   TX
29996   1GCGSCEN9K1275166   GM          COLORADO             BURBANK                  CA
29997   1GCGSCEN9L1116259   GM          COLORADO             Dallas                   TX
29998   1GCGSCEN9L1124328   GM          COLORADO             Hendersonville           TN
29999   1GCGSCEN9L1124488   GM          COLORADO             BOSTON                   MA
30000   1GCGSCEN9L1127181   GM          COLORADO             ONTARIO                  CA
30001   1GCGSCEN9L1128086   GM          COLORADO             Killeen                  TX
30002   1GCGSCEN9L1187915   GM          COLORADO             San Antonio              TX
30003   1GCGSCENXJ1326723   GM          COLORADO             Tampa                    FL
30004   1GCGSCENXK1220208   GM          COLORADO             Las Vegas                NV
30005   1GCGSCENXK1221004   GM          COLORADO             Houston                  TX
30006   1GCGSCENXK1222279   GM          COLORADO             Atlanta                  GA
30007   1GCGSCENXK1239339   GM          COLORADO             DALLAS                   TX
30008   1GCGSCENXK1240412   GM          COLORADO             PHOENIX                  AZ
30009   1GCGSCENXK1243083   GM          COLORADO             Austin                   TX
30010   1GCGSCENXK1263334   GM          COLORADO             Florissant               MO
30011   1GCGSCENXK1271899   GM          COLORADO             Tulsa                    OK
30012   1GCGSCENXK1272597   GM          COLORADO             SAN ANTONIO              TX
30013   1GCGSCENXK1274219   GM          COLORADO             ATLANTA                  GA
30014   1GCGSCENXK1275922   GM          COLORADO             DALLAS                   TX
30015   1GCGSCENXL1126315   GM          COLORADO             SAN ANTONIO              TX
30016   1GCGTCEN7J1329107   GM          COLORADO             FRESNO                   CA
30017   1GCGTCEN8J1180853   GM          COLORADO             LOS ANGELES              CA
30018   1GCGTCEN9J1328475   GM          COLORADO             Tolleson                 AZ
30019   1GCRYDED0LZ131979   GM          SILVERADO            ORLANDO                  FL
30020   1GCRYDED0LZ144036   GM          SILVERADO            Des Moines               IA
30021   1GCRYDED0LZ144554   GM          SILVERADO            ORLANDO                  FL
30022   1GCRYDED0LZ145137   GM          SILVERADO            WINDER                   GA
30023   1GCRYDED0LZ145753   GM          SILVERADO            KENNER                   LA
30024   1GCRYDED0LZ146269   GM          SILVERADO            SEATAC                   WA
30025   1GCRYDED0LZ147180   GM          SILVERADO            Tampa                    FL
30026   1GCRYDED0LZ147597   GM          SILVERADO            Atlanta                  GA
30027   1GCRYDED0LZ148118   GM          SILVERADO            ORLANDO                  FL
30028   1GCRYDED0LZ148300   GM          SILVERADO            HOUSTON                  TX
30029   1GCRYDED0LZ149530   GM          SILVERADO            DENVER                   CO
30030   1GCRYDED0LZ149558   GM          SILVERADO            EULESS                   TX
30031   1GCRYDED0LZ149687   GM          SILVERADO            MIDLAND                  TX
30032   1GCRYDED0LZ149690   GM          SILVERADO            Oklahoma City            OK
30033   1GCRYDED0LZ149883   GM          SILVERADO            LAS VEGAS                NV
30034   1GCRYDED0LZ149933   GM          SILVERADO            El Paso                  TX
30035   1GCRYDED0LZ150161   GM          SILVERADO            EL PASO                  TX
30036   1GCRYDED0LZ150502   GM          SILVERADO            HOUSTON                  TX
30037   1GCRYDED0LZ150550   GM          SILVERADO            Tulsa                    OK
30038   1GCRYDED0LZ150726   GM          SILVERADO            HOUSTON                  TX
30039   1GCRYDED0LZ150838   GM          SILVERADO            PHOENIX                  AZ
30040   1GCRYDED0LZ151147   GM          SILVERADO            TULSA                    OK
30041   1GCRYDED0LZ151293   GM          SILVERADO            Houston                  TX
30042   1GCRYDED0LZ151343   GM          SILVERADO            SAN ANTONIO              TX
30043   1GCRYDED0LZ151424   GM          SILVERADO            San Antonio              TX
30044   1GCRYDED0LZ151634   GM          SILVERADO            HOUSTON                  TX
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30045   1GCRYDED0LZ151861   GM          SILVERADO            LOS ANGELES              CA
30046   1GCRYDED0LZ152105   GM          SILVERADO            HOUSTON                  TX
30047   1GCRYDED0LZ152122   GM          SILVERADO            EL PASO                  TX
30048   1GCRYDED0LZ152184   GM          SILVERADO            DALLAS                   TX
30049   1GCRYDED0LZ152394   GM          SILVERADO            EULESS                   TX
30050   1GCRYDED0LZ152797   GM          SILVERADO            EL PASO                  TX
30051   1GCRYDED0LZ153545   GM          SILVERADO            Amarillo                 TX
30052   1GCRYDED0LZ153562   GM          SILVERADO            LAS VEGAS                NV
30053   1GCRYDED0LZ154050   GM          SILVERADO            HOUSTON                  TX
30054   1GCRYDED0LZ154209   GM          SILVERADO            EL PASO                  TX
30055   1GCRYDED0LZ154324   GM          SILVERADO            AUSTIN                   TX
30056   1GCRYDED0LZ154467   GM          SILVERADO            LUBBOCK                  TX
30057   1GCRYDED0LZ154758   GM          SILVERADO            HOUSTON                  TX
30058   1GCRYDED0LZ154825   GM          SILVERADO            Tulsa                    OK
30059   1GCRYDED0LZ155215   GM          SILVERADO            LUBBOCK                  TX
30060   1GCRYDED0LZ155330   GM          SILVERADO            DALLAS                   TX
30061   1GCRYDED0LZ155537   GM          SILVERADO            Salt Lake City           UT
30062   1GCRYDED0LZ155702   GM          SILVERADO            Denver                   CO
30063   1GCRYDED0LZ155862   GM          SILVERADO            CHARLOTTE                NC
30064   1GCRYDED0LZ156025   GM          SILVERADO            SANTA ANA                CA
30065   1GCRYDED0LZ156073   GM          SILVERADO            LAS VEGAS                NV
30066   1GCRYDED0LZ156137   GM          SILVERADO            DALLAS                   TX
30067   1GCRYDED0LZ156221   GM          SILVERADO            Dallas                   TX
30068   1GCRYDED0LZ156347   GM          SILVERADO            DALLAS                   TX
30069   1GCRYDED0LZ156509   GM          SILVERADO            EL PASO                  TX
30070   1GCRYDED0LZ157059   GM          SILVERADO            EL PASO                  TX
30071   1GCRYDED0LZ158793   GM          SILVERADO            CHARLESTON               WV
30072   1GCRYDED0LZ158907   GM          SILVERADO            WEST PALM BEACH          FL
30073   1GCRYDED0LZ160060   GM          SILVERADO            Denver                   CO
30074   1GCRYDED0LZ160141   GM          SILVERADO            WHITE PLAINS             NY
30075   1GCRYDED0LZ160219   GM          SILVERADO            SAN DIEGO                CA
30076   1GCRYDED0LZ160561   GM          SILVERADO            PORTLAND                 OR
30077   1GCRYDED0LZ160737   GM          SILVERADO            Portland                 ME
30078   1GCRYDED0LZ160883   GM          SILVERADO            Dallas                   TX
30079   1GCRYDED0LZ160947   GM          SILVERADO            NEW BERN                 NC
30080   1GCRYDED0LZ161077   GM          SILVERADO            WEST PALM BEACH          FL
30081   1GCRYDED0LZ161483   GM          SILVERADO            albuquerque              nm
30082   1GCRYDED0LZ162343   GM          SILVERADO            LAS VEGAS                NV
30083   1GCRYDED0LZ162388   GM          SILVERADO            EAST BOSTON              MA
30084   1GCRYDED0LZ162620   GM          SILVERADO            DENVER                   CO
30085   1GCRYDED0LZ162729   GM          SILVERADO            RONKONKOMA               NY
30086   1GCRYDED0LZ164108   GM          SILVERADO            DENVER                   CO
30087   1GCRYDED0LZ164271   GM          SILVERADO            SALT LAKE CITY           UT
30088   1GCRYDED0LZ164917   GM          SILVERADO            DALLAS                   TX
30089   1GCRYDED0LZ165727   GM          SILVERADO            HOUSTON                  TX
30090   1GCRYDED0LZ165808   GM          SILVERADO            PLAINFIELD               NJ
30091   1GCRYDED0LZ165839   GM          SILVERADO            Dallas                   TX
30092   1GCRYDED0LZ166201   GM          SILVERADO            Dallas                   TX
30093   1GCRYDED0LZ166571   GM          SILVERADO            DALLAS                   TX
30094   1GCRYDED0LZ166831   GM          SILVERADO            HOUSTON                  TX
30095   1GCRYDED0LZ167350   GM          SILVERADO            SEATAC                   WA
30096   1GCRYDED0LZ167526   GM          SILVERADO            DENVER                   CO
30097   1GCRYDED0LZ168028   GM          SILVERADO            DALLAS                   TX
30098   1GCRYDED0LZ168045   GM          SILVERADO            DALLAS                   TX
30099   1GCRYDED0LZ168224   GM          SILVERADO            Des Moines               IA
30100   1GCRYDED0LZ168384   GM          SILVERADO            EULESS                   TX
30101   1GCRYDED0LZ168773   GM          SILVERADO            FRESNO                   CA
30102   1GCRYDED0LZ168790   GM          SILVERADO            Slidell                  LA
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30103   1GCRYDED0LZ169423   GM          SILVERADO            EGG HARBOR TOWN          NJ
30104   1GCRYDED0LZ170037   GM          SILVERADO            HOUSTON                  TX
30105   1GCRYDED0LZ170149   GM          SILVERADO            Parkville                MD
30106   1GCRYDED0LZ170684   GM          SILVERADO            EULESS                   TX
30107   1GCRYDED0LZ172015   GM          SILVERADO            Portland                 OR
30108   1GCRYDED0LZ172192   GM          SILVERADO            PORTLAND                 OR
30109   1GCRYDED0LZ172211   GM          SILVERADO            FRESNO                   CA
30110   1GCRYDED0LZ173908   GM          SILVERADO            PORTLAND                 OR
30111   1GCRYDED0LZ174007   GM          SILVERADO            RENO                     NV
30112   1GCRYDED0LZ174072   GM          SILVERADO            LAS VEGAS                NV
30113   1GCRYDED0LZ174489   GM          SILVERADO            LAS VEGAS                NV
30114   1GCRYDED0LZ174492   GM          SILVERADO            PORTLAND                 OR
30115   1GCRYDED0LZ174637   GM          SILVERADO            PORTLAND                 OR
30116   1GCRYDED0LZ174699   GM          SILVERADO            PORTLAND                 OR
30117   1GCRYDED0LZ197027   GM          SILVERADO            WEST COLUMBIA            SC
30118   1GCRYDED0LZ197268   GM          SILVERADO            SOUTH BEND               IN
30119   1GCRYDED0LZ197688   GM          SILVERADO            PHILADELPHIA             PA
30120   1GCRYDED0LZ197724   GM          SILVERADO            INDIANAPOLIS             IN
30121   1GCRYDED0LZ198291   GM          SILVERADO            OKLAHOMA CITY            OK
30122   1GCRYDED0LZ198551   GM          SILVERADO            Myrtle Beach             SC
30123   1GCRYDED0LZ198596   GM          SILVERADO            LANCASTER                PA
30124   1GCRYDED0LZ198680   GM          SILVERADO            SYRACUSE                 NY
30125   1GCRYDED0LZ198825   GM          SILVERADO            Schaumburg               IL
30126   1GCRYDED0LZ199067   GM          SILVERADO            Richmond                 VA
30127   1GCRYDED0LZ199165   GM          SILVERADO            Latham                   NY
30128   1GCRYDED0LZ199263   GM          SILVERADO            Jamaica                  NY
30129   1GCRYDED0LZ199280   GM          SILVERADO            Cleveland                OH
30130   1GCRYDED0LZ199750   GM          SILVERADO            STERLING                 VA
30131   1GCRYDED0LZ199781   GM          SILVERADO            BUFFALO                  NY
30132   1GCRYDED0LZ200010   GM          SILVERADO            Teterboro                NJ
30133   1GCRYDED0LZ200069   GM          SILVERADO            WHITE PLAINS             NY
30134   1GCRYDED0LZ200072   GM          SILVERADO            TAMPA                    US
30135   1GCRYDED0LZ200119   GM          SILVERADO            Leroy                    NY
30136   1GCRYDED0LZ200198   GM          SILVERADO            HARTFORD                 CT
30137   1GCRYDED0LZ200265   GM          SILVERADO            Tampa                    FL
30138   1GCRYDED0LZ200301   GM          SILVERADO            BRUNSWICK                GA
30139   1GCRYDED0LZ200377   GM          SILVERADO            STERLING                 VA
30140   1GCRYDED0LZ200413   GM          SILVERADO            Nashville                TN
30141   1GCRYDED0LZ200511   GM          SILVERADO            NEW BERN                 NC
30142   1GCRYDED0LZ200895   GM          SILVERADO            Kansas City              MO
30143   1GCRYDED0LZ201111   GM          SILVERADO            CLEVELAND                OH
30144   1GCRYDED0LZ201402   GM          SILVERADO            HAWTHORNE                NJ
30145   1GCRYDED0LZ202274   GM          SILVERADO            LOS ANGELES              CA
30146   1GCRYDED0LZ202341   GM          SILVERADO            PHOENIX                  AZ
30147   1GCRYDED0LZ202355   GM          SILVERADO            PORTLAND                 OR
30148   1GCRYDED0LZ204428   GM          SILVERADO            NEW BERN                 NC
30149   1GCRYDED0LZ204462   GM          SILVERADO            BROOKLYN                 NY
30150   1GCRYDED0LZ205675   GM          SILVERADO            PHOENIX                  AZ
30151   1GCRYDED0LZ206017   GM          SILVERADO            BALTIMORE                MD
30152   1GCRYDED0LZ207412   GM          SILVERADO            HAMMONTON                NJ
30153   1GCRYDED0LZ207622   GM          SILVERADO            STERLING                 VA
30154   1GCRYDED0LZ207684   GM          SILVERADO            Latham                   NY
30155   1GCRYDED0LZ207734   GM          SILVERADO            PHOENIX                  AZ
30156   1GCRYDED0LZ208611   GM          SILVERADO            DAYTONA BEACH            FL
30157   1GCRYDED0LZ216305   GM          SILVERADO            ALBANY                   NY
30158   1GCRYDED0LZ216353   GM          SILVERADO            HARTFORD                 CT
30159   1GCRYDED0LZ218250   GM          SILVERADO            BOSTON                   MA
30160   1GCRYDED0LZ219026   GM          SILVERADO            HARTFORD                 CT
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30161   1GCRYDED0LZ219513   GM          SILVERADO            BOSTON                   MA
30162   1GCRYDED0LZ220077   GM          SILVERADO            HARTFORD                 CT
30163   1GCRYDED0LZ220371   GM          SILVERADO            BUFFALO                  NY
30164   1GCRYDED0LZ221021   GM          SILVERADO            ROCHESTER                NY
30165   1GCRYDED0LZ221889   GM          SILVERADO            RONKONKOMA               NY
30166   1GCRYDED0LZ222251   GM          SILVERADO            WARWICK                  RI
30167   1GCRYDED0LZ222489   GM          SILVERADO            ROCHESTER                NY
30168   1GCRYDED0LZ223206   GM          SILVERADO            WARWICK                  RI
30169   1GCRYDED0LZ227336   GM          SILVERADO            Tulsa                    OK
30170   1GCRYDED0LZ229426   GM          SILVERADO            Tulsa                    OK
30171   1GCRYDED0LZ232181   GM          SILVERADO            Houston                  TX
30172   1GCRYDED0LZ236294   GM          SILVERADO            PORTLAND                 ME
30173   1GCRYDED0LZ242872   GM          SILVERADO            SYRACUSE                 NY
30174   1GCRYDED0LZ244184   GM          SILVERADO            WARWICK                  RI
30175   1GCRYDED0LZ245321   GM          SILVERADO            CLEVELAND                OH
30176   1GCRYDED0LZ247473   GM          SILVERADO            LOUISVILLE               KY
30177   1GCRYDED0LZ250468   GM          SILVERADO            BURLINGAME               CA
30178   1GCRYDED0LZ252768   GM          SILVERADO            OAKLAND                  CA
30179   1GCRYDED1LZ133840   GM          SILVERADO            MIAMI                    FL
30180   1GCRYDED1LZ134230   GM          SILVERADO            PHOENIX                  AZ
30181   1GCRYDED1LZ141078   GM          SILVERADO            Atlanta                  GA
30182   1GCRYDED1LZ143574   GM          SILVERADO            ORLANDO                  FL
30183   1GCRYDED1LZ144160   GM          SILVERADO            WEST PALM BEACH          FL
30184   1GCRYDED1LZ144885   GM          SILVERADO            PHILADELPHIA             PA
30185   1GCRYDED1LZ144997   GM          SILVERADO            WEST PALM BEACH          FL
30186   1GCRYDED1LZ145115   GM          SILVERADO            FORT MYERS               FL
30187   1GCRYDED1LZ145454   GM          SILVERADO            Atlanta                  GA
30188   1GCRYDED1LZ147950   GM          SILVERADO            TAMPA                    US
30189   1GCRYDED1LZ148578   GM          SILVERADO            ORLANDO                  FL
30190   1GCRYDED1LZ148693   GM          SILVERADO            Jacksonville             FL
30191   1GCRYDED1LZ148905   GM          SILVERADO            ORLANDO                  FL
30192   1GCRYDED1LZ149360   GM          SILVERADO            OKLAHOMA CITY            OK
30193   1GCRYDED1LZ150444   GM          SILVERADO            Amarillo                 TX
30194   1GCRYDED1LZ150556   GM          SILVERADO            LOS ANGELES              CA
30195   1GCRYDED1LZ150590   GM          SILVERADO            Tulsa                    OK
30196   1GCRYDED1LZ150718   GM          SILVERADO            HOUSTON                  TX
30197   1GCRYDED1LZ151531   GM          SILVERADO            SAN ANTONIO              TX
30198   1GCRYDED1LZ151576   GM          SILVERADO            DALLAS                   TX
30199   1GCRYDED1LZ151853   GM          SILVERADO            LAFAYETTE                LA
30200   1GCRYDED1LZ153361   GM          SILVERADO            DALLAS                   TX
30201   1GCRYDED1LZ153487   GM          SILVERADO            SAN ANTONIO              TX
30202   1GCRYDED1LZ153652   GM          SILVERADO            Warr Acres               OK
30203   1GCRYDED1LZ153862   GM          SILVERADO            LUBBOCK                  TX
30204   1GCRYDED1LZ153988   GM          SILVERADO            Norfolk                  VA
30205   1GCRYDED1LZ154025   GM          SILVERADO            Slidell                  LA
30206   1GCRYDED1LZ154171   GM          SILVERADO            PHOENIX                  AZ
30207   1GCRYDED1LZ154333   GM          SILVERADO            Dallas                   TX
30208   1GCRYDED1LZ154381   GM          SILVERADO            Atlanta                  GA
30209   1GCRYDED1LZ154624   GM          SILVERADO            Roanoke                  VA
30210   1GCRYDED1LZ155451   GM          SILVERADO            Los Angeles              CA
30211   1GCRYDED1LZ155840   GM          SILVERADO            SAN ANTONIO              TX
30212   1GCRYDED1LZ156339   GM          SILVERADO            DALLAS                   TX
30213   1GCRYDED1LZ156342   GM          SILVERADO            AUSTIN                   TX
30214   1GCRYDED1LZ156504   GM          SILVERADO            Nashville                TN
30215   1GCRYDED1LZ157216   GM          SILVERADO            Dallas                   TX
30216   1GCRYDED1LZ157443   GM          SILVERADO            PALM SPRINGS             CA
30217   1GCRYDED1LZ158320   GM          SILVERADO            Denver                   CO
30218   1GCRYDED1LZ158379   GM          SILVERADO            Denver                   CO
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30219   1GCRYDED1LZ160035   GM          SILVERADO            NEW BERN                 NC
30220   1GCRYDED1LZ160309   GM          SILVERADO            PHILADELPHIA             PA
30221   1GCRYDED1LZ161394   GM          SILVERADO            SAN JOSE                 CA
30222   1GCRYDED1LZ162190   GM          SILVERADO            BOSTON                   MA
30223   1GCRYDED1LZ162478   GM          SILVERADO            LAS VEGAS                NV
30224   1GCRYDED1LZ162870   GM          SILVERADO            Salt Lake City           UT
30225   1GCRYDED1LZ163971   GM          SILVERADO            SOUTHWEST DEALER D       TX
30226   1GCRYDED1LZ164716   GM          SILVERADO            DENVER                   CO
30227   1GCRYDED1LZ164778   GM          SILVERADO            HOUSTON                  TX
30228   1GCRYDED1LZ164845   GM          SILVERADO            HOUSTON                  TX
30229   1GCRYDED1LZ165199   GM          SILVERADO            KENNER                   LA
30230   1GCRYDED1LZ165588   GM          SILVERADO            SAN ANTONIO              TX
30231   1GCRYDED1LZ165784   GM          SILVERADO            HOUSTON                  TX
30232   1GCRYDED1LZ166207   GM          SILVERADO            HOUSTON                  TX
30233   1GCRYDED1LZ166577   GM          SILVERADO            DALLAS                   TX
30234   1GCRYDED1LZ166692   GM          SILVERADO            FRESNO                   CA
30235   1GCRYDED1LZ167079   GM          SILVERADO            Atlanta                  GA
30236   1GCRYDED1LZ167132   GM          SILVERADO            DALLAS                   TX
30237   1GCRYDED1LZ167373   GM          SILVERADO            HOUSTON                  TX
30238   1GCRYDED1LZ167714   GM          SILVERADO            Des Moines               IA
30239   1GCRYDED1LZ167888   GM          SILVERADO            PORTLAND                 OR
30240   1GCRYDED1LZ167938   GM          SILVERADO            HOUSTON                  TX
30241   1GCRYDED1LZ168281   GM          SILVERADO            DALLAS                   TX
30242   1GCRYDED1LZ168362   GM          SILVERADO            DALLAS                   TX
30243   1GCRYDED1LZ168720   GM          SILVERADO            HOUSTON                  TX
30244   1GCRYDED1LZ168829   GM          SILVERADO            EULESS                   TX
30245   1GCRYDED1LZ168975   GM          SILVERADO            Dallas                   TX
30246   1GCRYDED1LZ169141   GM          SILVERADO            HOUSTON                  TX
30247   1GCRYDED1LZ169303   GM          SILVERADO            Tulsa                    OK
30248   1GCRYDED1LZ169561   GM          SILVERADO            HOUSTON                  TX
30249   1GCRYDED1LZ169656   GM          SILVERADO            Slidell                  LA
30250   1GCRYDED1LZ169706   GM          SILVERADO            SAN ANTONIO              TX
30251   1GCRYDED1LZ169821   GM          SILVERADO            KENNER                   LA
30252   1GCRYDED1LZ170368   GM          SILVERADO            EULESS                   TX
30253   1GCRYDED1LZ170371   GM          SILVERADO            NEWARK                   NJ
30254   1GCRYDED1LZ170970   GM          SILVERADO            SAN ANTONIO              TX
30255   1GCRYDED1LZ171259   GM          SILVERADO            CORPUS CHRISTI           TX
30256   1GCRYDED1LZ171360   GM          SILVERADO            SEATAC                   WA
30257   1GCRYDED1LZ172122   GM          SILVERADO            Las Vegas                NV
30258   1GCRYDED1LZ172170   GM          SILVERADO            SACRAMENTO               CA
30259   1GCRYDED1LZ172282   GM          SILVERADO            SANTA ANA                CA
30260   1GCRYDED1LZ172458   GM          SILVERADO            SEATAC                   WA
30261   1GCRYDED1LZ172928   GM          SILVERADO            PALM SPRINGS             CA
30262   1GCRYDED1LZ173707   GM          SILVERADO            Salt Lake City           UT
30263   1GCRYDED1LZ174078   GM          SILVERADO            OAKLAND                  CA
30264   1GCRYDED1LZ174288   GM          SILVERADO            SACRAMENTO               CA
30265   1GCRYDED1LZ175134   GM          SILVERADO            Phoenix                  AZ
30266   1GCRYDED1LZ196940   GM          SILVERADO            Teterboro                NJ
30267   1GCRYDED1LZ197196   GM          SILVERADO            NORFOLK                  VA
30268   1GCRYDED1LZ197215   GM          SILVERADO            Louisville               KY
30269   1GCRYDED1LZ197229   GM          SILVERADO            BALTIMORE                MD
30270   1GCRYDED1LZ197358   GM          SILVERADO            WEST COLUMBIA            SC
30271   1GCRYDED1LZ197361   GM          SILVERADO            BOSTON                   MA
30272   1GCRYDED1LZ197392   GM          SILVERADO            STERLING                 VA
30273   1GCRYDED1LZ197439   GM          SILVERADO            NEW BERN                 NC
30274   1GCRYDED1LZ197506   GM          SILVERADO            STERLING                 VA
30275   1GCRYDED1LZ197537   GM          SILVERADO            Newark                   NJ
30276   1GCRYDED1LZ197540   GM          SILVERADO            WEST COLUMBIA            SC
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30277   1GCRYDED1LZ197893   GM          SILVERADO            Atlanta                  GA
30278   1GCRYDED1LZ198753   GM          SILVERADO            NORFOLK                  VA
30279   1GCRYDED1LZ198784   GM          SILVERADO            DETROIT                  MI
30280   1GCRYDED1LZ198817   GM          SILVERADO            Lexington                KY
30281   1GCRYDED1LZ198820   GM          SILVERADO            SAN ANTONIO              TX
30282   1GCRYDED1LZ199143   GM          SILVERADO            NORFOLK                  VA
30283   1GCRYDED1LZ199210   GM          SILVERADO            S BURLINGTON             VT
30284   1GCRYDED1LZ199319   GM          SILVERADO            NORFOLK                  VA
30285   1GCRYDED1LZ199496   GM          SILVERADO            HARRISBURG               PA
30286   1GCRYDED1LZ199501   GM          SILVERADO            Syracuse                 NY
30287   1GCRYDED1LZ199711   GM          SILVERADO            BLOOMINGTON              IL
30288   1GCRYDED1LZ199837   GM          SILVERADO            Latham                   NY
30289   1GCRYDED1LZ199871   GM          SILVERADO            Latham                   NY
30290   1GCRYDED1LZ200064   GM          SILVERADO            ALBANY                   NY
30291   1GCRYDED1LZ200081   GM          SILVERADO            EAST BOSTON              MA
30292   1GCRYDED1LZ200100   GM          SILVERADO            GRAND RAPIDS             MI
30293   1GCRYDED1LZ200131   GM          SILVERADO            WHITE PLAINS             NY
30294   1GCRYDED1LZ200145   GM          SILVERADO            Syracuse                 NY
30295   1GCRYDED1LZ200162   GM          SILVERADO            CHICAGO                  IL
30296   1GCRYDED1LZ200209   GM          SILVERADO            SYRACUSE                 NY
30297   1GCRYDED1LZ200596   GM          SILVERADO            SAINT LOUIS              MO
30298   1GCRYDED1LZ200677   GM          SILVERADO            WOODSON TERRACE          MO
30299   1GCRYDED1LZ200744   GM          SILVERADO            PHOENIX                  AZ
30300   1GCRYDED1LZ200761   GM          SILVERADO            SARASOTA                 FL
30301   1GCRYDED1LZ200839   GM          SILVERADO            WHITE PLAINS             NY
30302   1GCRYDED1LZ200937   GM          SILVERADO            North Dighton            MA
30303   1GCRYDED1LZ201117   GM          SILVERADO            ATLANTA                  GA
30304   1GCRYDED1LZ201313   GM          SILVERADO            STERLING                 VA
30305   1GCRYDED1LZ202199   GM          SILVERADO            CLEVELAND                OH
30306   1GCRYDED1LZ202297   GM          SILVERADO            STERLING                 VA
30307   1GCRYDED1LZ202512   GM          SILVERADO            Atlanta                  GA
30308   1GCRYDED1LZ202591   GM          SILVERADO            CHICAGO                  IL
30309   1GCRYDED1LZ204406   GM          SILVERADO            Austell                  GA
30310   1GCRYDED1LZ204423   GM          SILVERADO            STERLING                 VA
30311   1GCRYDED1LZ205507   GM          SILVERADO            STERLING                 VA
30312   1GCRYDED1LZ205698   GM          SILVERADO            SAINT LOUIS              MO
30313   1GCRYDED1LZ205992   GM          SILVERADO            BOSTON                   MA
30314   1GCRYDED1LZ207239   GM          SILVERADO            RALEIGH                  NC
30315   1GCRYDED1LZ207385   GM          SILVERADO            North Dighton            MA
30316   1GCRYDED1LZ207547   GM          SILVERADO            SAINT LOUIS              MO
30317   1GCRYDED1LZ208102   GM          SILVERADO            LOS ANGELES              CA
30318   1GCRYDED1LZ208777   GM          SILVERADO            ORLANDO                  FL
30319   1GCRYDED1LZ209489   GM          SILVERADO            ORLANDO                  FL
30320   1GCRYDED1LZ209704   GM          SILVERADO            WEST PALM BEACH          FL
30321   1GCRYDED1LZ214563   GM          SILVERADO            BURLINGTON               VT
30322   1GCRYDED1LZ215048   GM          SILVERADO            BUFFALO                  NY
30323   1GCRYDED1LZ215261   GM          SILVERADO            HARTFORD                 CT
30324   1GCRYDED1LZ215454   GM          SILVERADO            ALBANY                   NY
30325   1GCRYDED1LZ217852   GM          SILVERADO            BUFFALO                  NY
30326   1GCRYDED1LZ221089   GM          SILVERADO            ROCHESTER                NY
30327   1GCRYDED1LZ221383   GM          SILVERADO            HILTON                   NY
30328   1GCRYDED1LZ226129   GM          SILVERADO            PROVIDENCE               RI
30329   1GCRYDED1LZ226518   GM          SILVERADO            HARTFORD                 CT
30330   1GCRYDED1LZ227507   GM          SILVERADO            ROCHESTER                NY
30331   1GCRYDED1LZ233856   GM          SILVERADO            SEATAC                   WA
30332   1GCRYDED1LZ242105   GM          SILVERADO            PORTLAND                 ME
30333   1GCRYDED1LZ242380   GM          SILVERADO            DETROIT                  MI
30334   1GCRYDED1LZ244467   GM          SILVERADO            CLEVELAND                OH
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30335   1GCRYDED1LZ249975   GM          SILVERADO            FRESNO                   CA
30336   1GCRYDED1LZ250396   GM          SILVERADO            SAN FRANCISCO            CA
30337   1GCRYDED1LZ255968   GM          SILVERADO            FRESNO                   CA
30338   1GCRYDED2LZ130512   GM          SILVERADO            Fort Myers               FL
30339   1GCRYDED2LZ131255   GM          SILVERADO            TAMPA                    FL
30340   1GCRYDED2LZ145835   GM          SILVERADO            AUSTIN                   TX
30341   1GCRYDED2LZ146032   GM          SILVERADO            MIAMI                    FL
30342   1GCRYDED2LZ146158   GM          SILVERADO            KNOXVILLE                TN
30343   1GCRYDED2LZ146208   GM          SILVERADO            CHICAGO                  IL
30344   1GCRYDED2LZ147620   GM          SILVERADO            Atlanta                  GA
30345   1GCRYDED2LZ147911   GM          SILVERADO            WEST PALM BEACH          FL
30346   1GCRYDED2LZ148041   GM          SILVERADO            TAMPA                    FL
30347   1GCRYDED2LZ148573   GM          SILVERADO            TITUSVILLE               FL
30348   1GCRYDED2LZ148864   GM          SILVERADO            FORT MYERS               FL
30349   1GCRYDED2LZ149268   GM          SILVERADO            Jacksonville             FL
30350   1GCRYDED2LZ149898   GM          SILVERADO            HOUSTON                  TX
30351   1GCRYDED2LZ150095   GM          SILVERADO            SAN ANTONIO              TX
30352   1GCRYDED2LZ150680   GM          SILVERADO            HOUSTON                  TX
30353   1GCRYDED2LZ151408   GM          SILVERADO            EULESS                   TX
30354   1GCRYDED2LZ151764   GM          SILVERADO            SALT LAKE CITY           US
30355   1GCRYDED2LZ151828   GM          SILVERADO            BEAUMONT                 TX
30356   1GCRYDED2LZ151960   GM          SILVERADO            AUSTIN                   TX
30357   1GCRYDED2LZ151988   GM          SILVERADO            DALLAS                   TX
30358   1GCRYDED2LZ152915   GM          SILVERADO            Dallas                   TX
30359   1GCRYDED2LZ153255   GM          SILVERADO            BEAUMONT                 TX
30360   1GCRYDED2LZ153580   GM          SILVERADO            HOUSTON                  TX
30361   1GCRYDED2LZ153692   GM          SILVERADO            HOUSTON                  TX
30362   1GCRYDED2LZ153868   GM          SILVERADO            Tulsa                    OK
30363   1GCRYDED2LZ154325   GM          SILVERADO            EL PASO                  TX
30364   1GCRYDED2LZ154468   GM          SILVERADO            TUCSON                   AZ
30365   1GCRYDED2LZ154583   GM          SILVERADO            Midland                  TX
30366   1GCRYDED2LZ154700   GM          SILVERADO            HOUSTON                  TX
30367   1GCRYDED2LZ154860   GM          SILVERADO            EL PASO                  TX
30368   1GCRYDED2LZ155068   GM          SILVERADO            EULESS                   TX
30369   1GCRYDED2LZ155149   GM          SILVERADO            Midland                  TX
30370   1GCRYDED2LZ155250   GM          SILVERADO            Dallas                   TX
30371   1GCRYDED2LZ155412   GM          SILVERADO            AUSTIN                   TX
30372   1GCRYDED2LZ155541   GM          SILVERADO            ALBUQUERQUE              NM
30373   1GCRYDED2LZ155619   GM          SILVERADO            DALLAS                   TX
30374   1GCRYDED2LZ155832   GM          SILVERADO            MIDLAND                  TX
30375   1GCRYDED2LZ156124   GM          SILVERADO            Hanover                  MD
30376   1GCRYDED2LZ156589   GM          SILVERADO            Richmond                 VA
30377   1GCRYDED2LZ156706   GM          SILVERADO            ALBUQUERQUE              NM
30378   1GCRYDED2LZ156981   GM          SILVERADO            Denver                   CO
30379   1GCRYDED2LZ157001   GM          SILVERADO            EULESS                   TX
30380   1GCRYDED2LZ157192   GM          SILVERADO            SAN DIEGO                CA
30381   1GCRYDED2LZ157323   GM          SILVERADO            RONKONKOMA               NY
30382   1GCRYDED2LZ157371   GM          SILVERADO            DENVER                   CO
30383   1GCRYDED2LZ157600   GM          SILVERADO            Denver                   CO
30384   1GCRYDED2LZ157757   GM          SILVERADO            DENVER                   CO
30385   1GCRYDED2LZ158875   GM          SILVERADO            DALLAS                   TX
30386   1GCRYDED2LZ158911   GM          SILVERADO            CORPUS CHRISTI           TX
30387   1GCRYDED2LZ159685   GM          SILVERADO            SOUTHEAST DST OFFC       OK
30388   1GCRYDED2LZ160092   GM          SILVERADO            DENVER                   CO
30389   1GCRYDED2LZ160691   GM          SILVERADO            Denver                   CO
30390   1GCRYDED2LZ160772   GM          SILVERADO            DALLAS                   TX
30391   1GCRYDED2LZ161016   GM          SILVERADO            NEW BERN                 NC
30392   1GCRYDED2LZ161050   GM          SILVERADO            Salt Lake City           UT
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30393   1GCRYDED2LZ161095   GM          SILVERADO            NEW BERN                 NC
30394   1GCRYDED2LZ161128   GM          SILVERADO            HOUSTON                  TX
30395   1GCRYDED2LZ161145   GM          SILVERADO            DES PLAINES              US
30396   1GCRYDED2LZ161176   GM          SILVERADO            LAS VEGAS                NV
30397   1GCRYDED2LZ161288   GM          SILVERADO            GRAND JUNCTION           C
30398   1GCRYDED2LZ161324   GM          SILVERADO            DENVER                   CO
30399   1GCRYDED2LZ161632   GM          SILVERADO            EULESS                   TX
30400   1GCRYDED2LZ161968   GM          SILVERADO            NEW BERN                 NC
30401   1GCRYDED2LZ163039   GM          SILVERADO            DALLAS                   TX
30402   1GCRYDED2LZ163493   GM          SILVERADO            DENVER                   CO
30403   1GCRYDED2LZ163557   GM          SILVERADO            DENVER                   CO
30404   1GCRYDED2LZ163610   GM          SILVERADO            DENVER                   CO
30405   1GCRYDED2LZ163669   GM          SILVERADO            Las Vegas                NV
30406   1GCRYDED2LZ163946   GM          SILVERADO            DENVER                   CO
30407   1GCRYDED2LZ164367   GM          SILVERADO            ROANOKE                  VA
30408   1GCRYDED2LZ164546   GM          SILVERADO            Newark                   NJ
30409   1GCRYDED2LZ165180   GM          SILVERADO            ONTARIO                  CA
30410   1GCRYDED2LZ165356   GM          SILVERADO            EULESS                   TX
30411   1GCRYDED2LZ165471   GM          SILVERADO            Grove City               OH
30412   1GCRYDED2LZ165499   GM          SILVERADO            RONKONKOMA               NY
30413   1GCRYDED2LZ165566   GM          SILVERADO            DALLAS                   TX
30414   1GCRYDED2LZ165633   GM          SILVERADO            LAS VEGAS                NV
30415   1GCRYDED2LZ165941   GM          SILVERADO            DENVER                   CO
30416   1GCRYDED2LZ166734   GM          SILVERADO            HOUSTON                  TX
30417   1GCRYDED2LZ167060   GM          SILVERADO            SEATAC                   WA
30418   1GCRYDED2LZ167267   GM          SILVERADO            HOUSTON                  TX
30419   1GCRYDED2LZ167415   GM          SILVERADO            Oklahoma City            OK
30420   1GCRYDED2LZ167799   GM          SILVERADO            KENNER                   LA
30421   1GCRYDED2LZ167995   GM          SILVERADO            FULLERTON                CA
30422   1GCRYDED2LZ168404   GM          SILVERADO            AUSTIN                   TX
30423   1GCRYDED2LZ168516   GM          SILVERADO            TULSA                    OK
30424   1GCRYDED2LZ168645   GM          SILVERADO            DFW AIRPORT              TX
30425   1GCRYDED2LZ168807   GM          SILVERADO            Las Vegas                NV
30426   1GCRYDED2LZ169326   GM          SILVERADO            DALLAS                   TX
30427   1GCRYDED2LZ169570   GM          SILVERADO            AUSTIN                   TX
30428   1GCRYDED2LZ169651   GM          SILVERADO            Dallas                   TX
30429   1GCRYDED2LZ169889   GM          SILVERADO            HOUSTON                  TX
30430   1GCRYDED2LZ169939   GM          SILVERADO            LUBBOCK                  TX
30431   1GCRYDED2LZ170377   GM          SILVERADO            HOUSTON                  TX
30432   1GCRYDED2LZ170895   GM          SILVERADO            HOUSTON                  TX
30433   1GCRYDED2LZ170945   GM          SILVERADO            DALLAS                   TX
30434   1GCRYDED2LZ170976   GM          SILVERADO            HOUSTON                  TX
30435   1GCRYDED2LZ171044   GM          SILVERADO            DFW AIRPORT              TX
30436   1GCRYDED2LZ171268   GM          SILVERADO            Houston                  TX
30437   1GCRYDED2LZ171304   GM          SILVERADO            MIDLAND                  TX
30438   1GCRYDED2LZ171335   GM          SILVERADO            HOUSTON                  TX
30439   1GCRYDED2LZ171545   GM          SILVERADO            LAS VEGAS                NV
30440   1GCRYDED2LZ172369   GM          SILVERADO            SANTA CLARA              CA
30441   1GCRYDED2LZ172503   GM          SILVERADO            SAN DIEGO                US
30442   1GCRYDED2LZ172808   GM          SILVERADO            SACRAMENTO               CA
30443   1GCRYDED2LZ173604   GM          SILVERADO            LAS VEGAS                NV
30444   1GCRYDED2LZ173862   GM          SILVERADO            BULLHEAD CITY            AZ
30445   1GCRYDED2LZ173909   GM          SILVERADO            SEATAC                   WA
30446   1GCRYDED2LZ174252   GM          SILVERADO            SEATAC                   WA
30447   1GCRYDED2LZ174381   GM          SILVERADO            PHOENIX                  AZ
30448   1GCRYDED2LZ174560   GM          SILVERADO            SEATAC                   WA
30449   1GCRYDED2LZ174719   GM          SILVERADO            SEATAC                   WA
30450   1GCRYDED2LZ174753   GM          SILVERADO            PORTLAND                 OR
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30451   1GCRYDED2LZ185736   GM          SILVERADO            LOS ANGELES              CA
30452   1GCRYDED2LZ187020   GM          SILVERADO            SAN ANTONIO              TX
30453   1GCRYDED2LZ196896   GM          SILVERADO            CHARLESTON               SC
30454   1GCRYDED2LZ197062   GM          SILVERADO            Hebron                   KY
30455   1GCRYDED2LZ197143   GM          SILVERADO            Latham                   NY
30456   1GCRYDED2LZ197174   GM          SILVERADO            CHARLOTTE                NC
30457   1GCRYDED2LZ197417   GM          SILVERADO            SAINT PAUL               MN
30458   1GCRYDED2LZ197708   GM          SILVERADO            NEW BERN                 NC
30459   1GCRYDED2LZ197711   GM          SILVERADO            JACKSONVILLE             FL
30460   1GCRYDED2LZ198518   GM          SILVERADO            JAMAICA                  NY
30461   1GCRYDED2LZ198566   GM          SILVERADO            CHAMBERSBURG             PA
30462   1GCRYDED2LZ198809   GM          SILVERADO            MOBILE                   A
30463   1GCRYDED2LZ198860   GM          SILVERADO            CHICAGO                  IL
30464   1GCRYDED2LZ198910   GM          SILVERADO            Hapeville                GA
30465   1GCRYDED2LZ198955   GM          SILVERADO            Hebron                   KY
30466   1GCRYDED2LZ198972   GM          SILVERADO            PITTSBURGH               PA
30467   1GCRYDED2LZ199149   GM          SILVERADO            Norfolk                  VA
30468   1GCRYDED2LZ199328   GM          SILVERADO            CHARLOTTE                NC
30469   1GCRYDED2LZ199362   GM          SILVERADO            GRAND RAPIDS             MI
30470   1GCRYDED2LZ199426   GM          SILVERADO            Latham                   NY
30471   1GCRYDED2LZ199474   GM          SILVERADO            Atlanta                  GA
30472   1GCRYDED2LZ199779   GM          SILVERADO            HOUSTON                  TX
30473   1GCRYDED2LZ199801   GM          SILVERADO            CHICAGO                  IL
30474   1GCRYDED2LZ199975   GM          SILVERADO            DETROIT                  MI
30475   1GCRYDED2LZ200154   GM          SILVERADO            Latham                   NY
30476   1GCRYDED2LZ200445   GM          SILVERADO            WARWICK                  RI
30477   1GCRYDED2LZ200526   GM          SILVERADO            STERLING                 VA
30478   1GCRYDED2LZ200963   GM          SILVERADO            PHILADELPHIA             PA
30479   1GCRYDED2LZ201269   GM          SILVERADO            Albany                   NY
30480   1GCRYDED2LZ201885   GM          SILVERADO            NORFOLK                  VA
30481   1GCRYDED2LZ201935   GM          SILVERADO            Phoenix                  AZ
30482   1GCRYDED2LZ201952   GM          SILVERADO            BUFFALO                  NY
30483   1GCRYDED2LZ202017   GM          SILVERADO            PHILADELPHIA             PA
30484   1GCRYDED2LZ202518   GM          SILVERADO            DETROIT                  MI
30485   1GCRYDED2LZ202616   GM          SILVERADO            NEWARK                   NY
30486   1GCRYDED2LZ202714   GM          SILVERADO            Newark                   NJ
30487   1GCRYDED2LZ202812   GM          SILVERADO            Greer                    SC
30488   1GCRYDED2LZ205712   GM          SILVERADO            PORTLAND                 OR
30489   1GCRYDED2LZ206116   GM          SILVERADO            KANSAS CITY              MO
30490   1GCRYDED2LZ207282   GM          SILVERADO            PHOENIX                  AZ
30491   1GCRYDED2LZ209324   GM          SILVERADO            WEST PALM BEACH          FL
30492   1GCRYDED2LZ216015   GM          SILVERADO            WARWICK                  RI
30493   1GCRYDED2LZ217892   GM          SILVERADO            ALBANY                   NY
30494   1GCRYDED2LZ219500   GM          SILVERADO            BUFFALO                  NY
30495   1GCRYDED2LZ223336   GM          SILVERADO            ROCHESTER                NY
30496   1GCRYDED2LZ224065   GM          SILVERADO            Syracuse                 NY
30497   1GCRYDED2LZ228259   GM          SILVERADO            Tulsa                    OK
30498   1GCRYDED2LZ233784   GM          SILVERADO            INDIANAPOLIS             IN
30499   1GCRYDED2LZ237446   GM          SILVERADO            SAINT PAUL               MN
30500   1GCRYDED2LZ241674   GM          SILVERADO            ROCHESTER                NY
30501   1GCRYDED2LZ242291   GM          SILVERADO            SAINT LOUIS              MO
30502   1GCRYDED2LZ243330   GM          SILVERADO            SYRACUSE                 NY
30503   1GCRYDED2LZ245045   GM          SILVERADO            INDIANAPOLIS             IN
30504   1GCRYDED2LZ254893   GM          SILVERADO            FRESNO                   CA
30505   1GCRYDED2LZ259432   GM          SILVERADO            SACRAMENTO               CA
30506   1GCRYDED3LZ131149   GM          SILVERADO            Davie                    FL
30507   1GCRYDED3LZ131510   GM          SILVERADO            NEW BERN                 NC
30508   1GCRYDED3LZ134701   GM          SILVERADO            Detroit                  MI
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30509   1GCRYDED3LZ141938   GM          SILVERADO            AUSTIN                   TX
30510   1GCRYDED3LZ143186   GM          SILVERADO            PHOENIX                  AZ
30511   1GCRYDED3LZ143298   GM          SILVERADO            COLLEGE PARK             GA
30512   1GCRYDED3LZ143527   GM          SILVERADO            NEW ORLEANS              LA
30513   1GCRYDED3LZ144919   GM          SILVERADO            BIRMINGHAM               AL
30514   1GCRYDED3LZ145908   GM          SILVERADO            SUMTER                   SC
30515   1GCRYDED3LZ148288   GM          SILVERADO            SAVANNAH                 GA
30516   1GCRYDED3LZ149313   GM          SILVERADO            MIDLAND                  TX
30517   1GCRYDED3LZ149764   GM          SILVERADO            WEST CENTRAL DEALE       CO
30518   1GCRYDED3LZ150218   GM          SILVERADO            EL PASO                  TX
30519   1GCRYDED3LZ150283   GM          SILVERADO            HOUSTON                  TX
30520   1GCRYDED3LZ150333   GM          SILVERADO            Dallas                   TX
30521   1GCRYDED3LZ150381   GM          SILVERADO            Las Vegas                NV
30522   1GCRYDED3LZ150493   GM          SILVERADO            NORFOLK                  VA
30523   1GCRYDED3LZ150641   GM          SILVERADO            EL PASO                  TX
30524   1GCRYDED3LZ150669   GM          SILVERADO            HOUSTON                  TX
30525   1GCRYDED3LZ150817   GM          SILVERADO            EL PASO                  TX
30526   1GCRYDED3LZ151398   GM          SILVERADO            NEW BERN                 NC
30527   1GCRYDED3LZ151630   GM          SILVERADO            Atlanta                  GA
30528   1GCRYDED3LZ152034   GM          SILVERADO            EL PASO                  TX
30529   1GCRYDED3LZ152065   GM          SILVERADO            LOS ANGELES              CA
30530   1GCRYDED3LZ152700   GM          SILVERADO            DALLAS                   TX
30531   1GCRYDED3LZ152759   GM          SILVERADO            HOUSTON                  TX
30532   1GCRYDED3LZ152972   GM          SILVERADO            EL PASO                  TX
30533   1GCRYDED3LZ153202   GM          SILVERADO            SANTA ANA                CA
30534   1GCRYDED3LZ153491   GM          SILVERADO            EULESS                   TX
30535   1GCRYDED3LZ153975   GM          SILVERADO            KENNER                   LA
30536   1GCRYDED3LZ154043   GM          SILVERADO            HOUSTON                  TX
30537   1GCRYDED3LZ154446   GM          SILVERADO            EULESS                   TX
30538   1GCRYDED3LZ154608   GM          SILVERADO            COLLEGE PARK             GA
30539   1GCRYDED3LZ154642   GM          SILVERADO            SAN ANTONIO              TX
30540   1GCRYDED3LZ155029   GM          SILVERADO            SAN ANTONIO              TX
30541   1GCRYDED3LZ155211   GM          SILVERADO            LAS VEGAS                NV
30542   1GCRYDED3LZ155449   GM          SILVERADO            Austin                   TX
30543   1GCRYDED3LZ155578   GM          SILVERADO            EL PASO                  TX
30544   1GCRYDED3LZ155905   GM          SILVERADO            SAN ANTONIO              TX
30545   1GCRYDED3LZ156200   GM          SILVERADO            HOUSTON                  TX
30546   1GCRYDED3LZ156309   GM          SILVERADO            SANTA FE                 NM
30547   1GCRYDED3LZ156407   GM          SILVERADO            Dallas                   TX
30548   1GCRYDED3LZ156696   GM          SILVERADO            Dallas                   TX
30549   1GCRYDED3LZ156956   GM          SILVERADO            Atlanta                  GA
30550   1GCRYDED3LZ156973   GM          SILVERADO            Charleston               SC
30551   1GCRYDED3LZ157007   GM          SILVERADO            RALEIGH                  NC
30552   1GCRYDED3LZ158450   GM          SILVERADO            SOUTHEAST DST OFFC       OK
30553   1GCRYDED3LZ158495   GM          SILVERADO            Denver                   CO
30554   1GCRYDED3LZ159386   GM          SILVERADO            Richmond                 VA
30555   1GCRYDED3LZ160036   GM          SILVERADO            Detroit                  MI
30556   1GCRYDED3LZ160294   GM          SILVERADO            Detroit                  MI
30557   1GCRYDED3LZ160652   GM          SILVERADO            BUTLER                   PA
30558   1GCRYDED3LZ161154   GM          SILVERADO            DENVER                   CO
30559   1GCRYDED3LZ161221   GM          SILVERADO            Dallas                   TX
30560   1GCRYDED3LZ161624   GM          SILVERADO            OKLAHOMA CITY            OK
30561   1GCRYDED3LZ161669   GM          SILVERADO            LAS VEGAS                NV
30562   1GCRYDED3LZ161848   GM          SILVERADO            LAS VEGAS                NV
30563   1GCRYDED3LZ162062   GM          SILVERADO            DENVER                   CO
30564   1GCRYDED3LZ162577   GM          SILVERADO            Denver                   CO
30565   1GCRYDED3LZ163969   GM          SILVERADO            Salt Lake City           UT
30566   1GCRYDED3LZ165107   GM          SILVERADO            HOUSTON                  TX
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30567   1GCRYDED3LZ165415   GM          SILVERADO            EULESS                   TX
30568   1GCRYDED3LZ165494   GM          SILVERADO            HOUSTON                  TX
30569   1GCRYDED3LZ165799   GM          SILVERADO            FRESNO                   CA
30570   1GCRYDED3LZ166063   GM          SILVERADO            HOUSTON                  TX
30571   1GCRYDED3LZ166838   GM          SILVERADO            HOUSTON                  TX
30572   1GCRYDED3LZ167911   GM          SILVERADO            HOUSTON                  TX
30573   1GCRYDED3LZ168301   GM          SILVERADO            FRESNO                   CA
30574   1GCRYDED3LZ168573   GM          SILVERADO            DETROIT                  MI
30575   1GCRYDED3LZ169058   GM          SILVERADO            Dallas                   TX
30576   1GCRYDED3LZ169397   GM          SILVERADO            EULESS                   TX
30577   1GCRYDED3LZ169559   GM          SILVERADO            EGG HARBOR TOWN          NJ
30578   1GCRYDED3LZ169609   GM          SILVERADO            DALLAS                   TX
30579   1GCRYDED3LZ169996   GM          SILVERADO            Teterboro                NJ
30580   1GCRYDED3LZ170047   GM          SILVERADO            DALLAS                   TX
30581   1GCRYDED3LZ170307   GM          SILVERADO            Fresno                   CA
30582   1GCRYDED3LZ170517   GM          SILVERADO            Dallas                   TX
30583   1GCRYDED3LZ170520   GM          SILVERADO            HOUSTON                  TX
30584   1GCRYDED3LZ170582   GM          SILVERADO            AUSTIN                   TX
30585   1GCRYDED3LZ170663   GM          SILVERADO            DFW AIRPORT              TX
30586   1GCRYDED3LZ170677   GM          SILVERADO            Slidell                  LA
30587   1GCRYDED3LZ170694   GM          SILVERADO            Dallas                   TX
30588   1GCRYDED3LZ170999   GM          SILVERADO            Austin                   TX
30589   1GCRYDED3LZ171005   GM          SILVERADO            Warr Acres               OK
30590   1GCRYDED3LZ171019   GM          SILVERADO            DALLAS                   TX
30591   1GCRYDED3LZ171053   GM          SILVERADO            SAN ANTONIO              TX
30592   1GCRYDED3LZ171103   GM          SILVERADO            SAN ANTONIO              TX
30593   1GCRYDED3LZ171232   GM          SILVERADO            EULESS                   TX
30594   1GCRYDED3LZ171277   GM          SILVERADO            HOUSTON                  TX
30595   1GCRYDED3LZ171392   GM          SILVERADO            HOUSTON                  TX
30596   1GCRYDED3LZ171425   GM          SILVERADO            LAS VEGAS                NV
30597   1GCRYDED3LZ171635   GM          SILVERADO            SEATAC                   WA
30598   1GCRYDED3LZ172042   GM          SILVERADO            ONTARIO                  CA
30599   1GCRYDED3LZ172137   GM          SILVERADO            FRESNO                   CA
30600   1GCRYDED3LZ172753   GM          SILVERADO            SEATAC                   WA
30601   1GCRYDED3LZ173711   GM          SILVERADO            SEATAC                   WA
30602   1GCRYDED3LZ174034   GM          SILVERADO            Las Vegas                NV
30603   1GCRYDED3LZ174194   GM          SILVERADO            SEATAC                   WA
30604   1GCRYDED3LZ174342   GM          SILVERADO            Sacramento               CA
30605   1GCRYDED3LZ174454   GM          SILVERADO            DALLAS                   TX
30606   1GCRYDED3LZ196888   GM          SILVERADO            Chicago                  IL
30607   1GCRYDED3LZ197071   GM          SILVERADO            NORFOLK                  VA
30608   1GCRYDED3LZ197152   GM          SILVERADO            Nashville                TN
30609   1GCRYDED3LZ197202   GM          SILVERADO            HARTFORD                 CT
30610   1GCRYDED3LZ197278   GM          SILVERADO            DES MOINES               IA
30611   1GCRYDED3LZ197362   GM          SILVERADO            ROCHESTER                NY
30612   1GCRYDED3LZ197698   GM          SILVERADO            CHICAGO                  IL
30613   1GCRYDED3LZ197961   GM          SILVERADO            HOUSTON                  TX
30614   1GCRYDED3LZ198172   GM          SILVERADO            Alcoa                    TN
30615   1GCRYDED3LZ198267   GM          SILVERADO            BOSTON                   MA
30616   1GCRYDED3LZ198494   GM          SILVERADO            WHITE PLAINS             NY
30617   1GCRYDED3LZ199029   GM          SILVERADO            Honolulu                 HI
30618   1GCRYDED3LZ199113   GM          SILVERADO            PHILADELPHIA             PA
30619   1GCRYDED3LZ199158   GM          SILVERADO            NEW BERN                 NC
30620   1GCRYDED3LZ199189   GM          SILVERADO            NEW BERN                 NC
30621   1GCRYDED3LZ199354   GM          SILVERADO            ATLANTA                  GA
30622   1GCRYDED3LZ199385   GM          SILVERADO            LOUISVILLE               KY
30623   1GCRYDED3LZ199483   GM          SILVERADO            COLUMBIA                 SC
30624   1GCRYDED3LZ199502   GM          SILVERADO            NEW BERN                 NC
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30625   1GCRYDED3LZ199631   GM          SILVERADO            ALBANY                   NY
30626   1GCRYDED3LZ199807   GM          SILVERADO            BOSTON                   MA
30627   1GCRYDED3LZ200079   GM          SILVERADO            Chicago                  IL
30628   1GCRYDED3LZ200082   GM          SILVERADO            CHICAGO                  IL
30629   1GCRYDED3LZ200177   GM          SILVERADO            Atlanta                  GA
30630   1GCRYDED3LZ200227   GM          SILVERADO            Des Moines               IA
30631   1GCRYDED3LZ200437   GM          SILVERADO            Windsor Locks            CT
30632   1GCRYDED3LZ200616   GM          SILVERADO            WHITE PLAINS             NY
30633   1GCRYDED3LZ200647   GM          SILVERADO            Framingham               MA
30634   1GCRYDED3LZ201121   GM          SILVERADO            BOSTON                   MA
30635   1GCRYDED3LZ201958   GM          SILVERADO            DETROIT                  MI
30636   1GCRYDED3LZ202026   GM          SILVERADO            PHILADELPHIA             PA
30637   1GCRYDED3LZ202060   GM          SILVERADO            Des Moines               IA
30638   1GCRYDED3LZ202270   GM          SILVERADO            STRATFORD                CT
30639   1GCRYDED3LZ202320   GM          SILVERADO            NEW BERN                 NC
30640   1GCRYDED3LZ202589   GM          SILVERADO            TUCSON                   AZ
30641   1GCRYDED3LZ205671   GM          SILVERADO            SAINT LOUIS              MO
30642   1GCRYDED3LZ205718   GM          SILVERADO            Latham                   NY
30643   1GCRYDED3LZ206013   GM          SILVERADO            WEST COLUMBIA            SC
30644   1GCRYDED3LZ207341   GM          SILVERADO            PHOENIX                  AZ
30645   1GCRYDED3LZ207498   GM          SILVERADO            SAINT LOUIS              MO
30646   1GCRYDED3LZ207520   GM          SILVERADO            HANOVER                  MD
30647   1GCRYDED3LZ207548   GM          SILVERADO            TUCSON                   AZ
30648   1GCRYDED3LZ208179   GM          SILVERADO            DENVER                   CO
30649   1GCRYDED3LZ212166   GM          SILVERADO            CLEVELAND                OH
30650   1GCRYDED3LZ212281   GM          SILVERADO            Miami                    FL
30651   1GCRYDED3LZ212359   GM          SILVERADO            Miami                    FL
30652   1GCRYDED3LZ213320   GM          SILVERADO            Fresno                   CA
30653   1GCRYDED3LZ215066   GM          SILVERADO            ALBANY                   NY
30654   1GCRYDED3LZ215424   GM          SILVERADO            ALBANY                   NY
30655   1GCRYDED3LZ215438   GM          SILVERADO            SOUTH BURLINGTO          VT
30656   1GCRYDED3LZ216377   GM          SILVERADO            LANCASTER                PA
30657   1GCRYDED3LZ216640   GM          SILVERADO            BUFFALO                  NY
30658   1GCRYDED3LZ217464   GM          SILVERADO            CHARLESTON               WV
30659   1GCRYDED3LZ218212   GM          SILVERADO            ALBANY                   NY
30660   1GCRYDED3LZ218498   GM          SILVERADO            PHOENIX                  AZ
30661   1GCRYDED3LZ218520   GM          SILVERADO            Latham                   NY
30662   1GCRYDED3LZ218789   GM          SILVERADO            WHITE PLAINS             NY
30663   1GCRYDED3LZ220333   GM          SILVERADO            BUFFALO                  NY
30664   1GCRYDED3LZ222518   GM          SILVERADO            ROCHESTER                NY
30665   1GCRYDED3LZ223314   GM          SILVERADO            ROCHESTER                NY
30666   1GCRYDED3LZ223846   GM          SILVERADO            WARWICK                  RI
30667   1GCRYDED3LZ223975   GM          SILVERADO            MILWAUKEE                WI
30668   1GCRYDED3LZ227332   GM          SILVERADO            ROCHESTER                NY
30669   1GCRYDED3LZ244115   GM          SILVERADO            New Britain              CT
30670   1GCRYDED3LZ248648   GM          SILVERADO            LOUISVILLE               KY
30671   1GCRYDED3LZ250805   GM          SILVERADO            Tulsa                    OK
30672   1GCRYDED3LZ253705   GM          SILVERADO            BURLINGAME               CA
30673   1GCRYDED3LZ254935   GM          SILVERADO            MILWAUKEE AIRPORT        WI
30674   1GCRYDED3LZ255664   GM          SILVERADO            FRESNO                   CA
30675   1GCRYDED3LZ257978   GM          SILVERADO            FRESNO                   CA
30676   1GCRYDED4LZ132522   GM          SILVERADO            Tampa                    FL
30677   1GCRYDED4LZ133668   GM          SILVERADO            FORT MYERS               FL
30678   1GCRYDED4LZ144590   GM          SILVERADO            CHARLESTON               WV
30679   1GCRYDED4LZ144671   GM          SILVERADO            WEST PALM BEACH          FL
30680   1GCRYDED4LZ145738   GM          SILVERADO            KNOXVILLE                TN
30681   1GCRYDED4LZ147148   GM          SILVERADO            SAVANNAH                 GA
30682   1GCRYDED4LZ149238   GM          SILVERADO            HOUSTON                  TX
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30683   1GCRYDED4LZ149479   GM          SILVERADO            LOS ANGELES              CA
30684   1GCRYDED4LZ149580   GM          SILVERADO            LAS VEGAS                NV
30685   1GCRYDED4LZ149675   GM          SILVERADO            HOUSTON                  TX
30686   1GCRYDED4LZ149854   GM          SILVERADO            Denver                   CO
30687   1GCRYDED4LZ149885   GM          SILVERADO            LAS VEGAS                NV
30688   1GCRYDED4LZ149966   GM          SILVERADO            BURBANK                  CA
30689   1GCRYDED4LZ150082   GM          SILVERADO            ONTARIO                  CA
30690   1GCRYDED4LZ150647   GM          SILVERADO            WINDER                   GA
30691   1GCRYDED4LZ150678   GM          SILVERADO            DALLAS                   TX
30692   1GCRYDED4LZ151040   GM          SILVERADO            Atlanta                  GA
30693   1GCRYDED4LZ151393   GM          SILVERADO            EL PASO                  TX
30694   1GCRYDED4LZ151605   GM          SILVERADO            CORPUS CHRISTI           TX
30695   1GCRYDED4LZ151636   GM          SILVERADO            LOS ANGELES              CA
30696   1GCRYDED4LZ151765   GM          SILVERADO            DALLAS                   TX
30697   1GCRYDED4LZ151801   GM          SILVERADO            DALLAS                   TX
30698   1GCRYDED4LZ152270   GM          SILVERADO            Atlanta                  GA
30699   1GCRYDED4LZ152446   GM          SILVERADO            San Antonio              TX
30700   1GCRYDED4LZ153080   GM          SILVERADO            EL PASO                  TX
30701   1GCRYDED4LZ153094   GM          SILVERADO            EULESS                   TX
30702   1GCRYDED4LZ153113   GM          SILVERADO            ROY                      UT
30703   1GCRYDED4LZ153161   GM          SILVERADO            LUBBOCK                  TX
30704   1GCRYDED4LZ153547   GM          SILVERADO            HOUSTON                  TX
30705   1GCRYDED4LZ154083   GM          SILVERADO            Tulsa                    OK
30706   1GCRYDED4LZ154648   GM          SILVERADO            DALLAS                   TX
30707   1GCRYDED4LZ154858   GM          SILVERADO            HOUSTON                  TX
30708   1GCRYDED4LZ155122   GM          SILVERADO            DALLAS                   TX
30709   1GCRYDED4LZ155623   GM          SILVERADO            KILLEEN                  US
30710   1GCRYDED4LZ155749   GM          SILVERADO            LAS VEGAS                NV
30711   1GCRYDED4LZ156027   GM          SILVERADO            Des Moines               IA
30712   1GCRYDED4LZ156268   GM          SILVERADO            HOUSTON                  TX
30713   1GCRYDED4LZ156321   GM          SILVERADO            SAN ANTONIO              TX
30714   1GCRYDED4LZ156562   GM          SILVERADO            HOUSTON                  TX
30715   1GCRYDED4LZ156576   GM          SILVERADO            TULSA                    OK
30716   1GCRYDED4LZ156612   GM          SILVERADO            DALLAS                   TX
30717   1GCRYDED4LZ156903   GM          SILVERADO            ALBUQUERQUE              NM
30718   1GCRYDED4LZ157355   GM          SILVERADO            BURBANK                  CA
30719   1GCRYDED4LZ157811   GM          SILVERADO            Denver                   CO
30720   1GCRYDED4LZ157985   GM          SILVERADO            DENVER                   CO
30721   1GCRYDED4LZ158117   GM          SILVERADO            DENVER                   CO
30722   1GCRYDED4LZ158389   GM          SILVERADO            Denver                   CO
30723   1GCRYDED4LZ159249   GM          SILVERADO            DENVER                   CO
30724   1GCRYDED4LZ159333   GM          SILVERADO            GOLDSBORO                NC
30725   1GCRYDED4LZ159638   GM          SILVERADO            DENVER                   CO
30726   1GCRYDED4LZ159767   GM          SILVERADO            DENVER                   CO
30727   1GCRYDED4LZ161437   GM          SILVERADO            Teterboro                NJ
30728   1GCRYDED4LZ161468   GM          SILVERADO            DENVER                   CO
30729   1GCRYDED4LZ161924   GM          SILVERADO            DALLAS                   TX
30730   1GCRYDED4LZ162667   GM          SILVERADO            MEMPHIS                  TN
30731   1GCRYDED4LZ163074   GM          SILVERADO            Phoenix                  AZ
30732   1GCRYDED4LZ163642   GM          SILVERADO            DALLAS                   TX
30733   1GCRYDED4LZ163723   GM          SILVERADO            DENVER                   CO
30734   1GCRYDED4LZ164015   GM          SILVERADO            Charleston               SC
30735   1GCRYDED4LZ164225   GM          SILVERADO            Denver                   CO
30736   1GCRYDED4LZ164287   GM          SILVERADO            DALLAS                   TX
30737   1GCRYDED4LZ164368   GM          SILVERADO            Morrisville              NC
30738   1GCRYDED4LZ164399   GM          SILVERADO            DALLAS                   TX
30739   1GCRYDED4LZ164466   GM          SILVERADO            ALBUQUERQUE              NM
30740   1GCRYDED4LZ164595   GM          SILVERADO            LAS VEGAS                NV
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30741   1GCRYDED4LZ164693   GM          SILVERADO            LAS VEGAS                NV
30742   1GCRYDED4LZ164760   GM          SILVERADO            DALLAS                   TX
30743   1GCRYDED4LZ165083   GM          SILVERADO            FRESNO                   CA
30744   1GCRYDED4LZ165438   GM          SILVERADO            Teterboro                NJ
30745   1GCRYDED4LZ165763   GM          SILVERADO            SAN ANTONIO              TX
30746   1GCRYDED4LZ165889   GM          SILVERADO            DALLAS                   TX
30747   1GCRYDED4LZ166153   GM          SILVERADO            DFW AIRPORT              TX
30748   1GCRYDED4LZ166475   GM          SILVERADO            LUBBOCK                  TX
30749   1GCRYDED4LZ167657   GM          SILVERADO            SAN ANTONIO              TX
30750   1GCRYDED4LZ167934   GM          SILVERADO            DALLAS                   TX
30751   1GCRYDED4LZ168100   GM          SILVERADO            Hapeville                GA
30752   1GCRYDED4LZ168372   GM          SILVERADO            FRESNO                   CA
30753   1GCRYDED4LZ168436   GM          SILVERADO            WARWICK                  RI
30754   1GCRYDED4LZ168663   GM          SILVERADO            Jacksonville             FL
30755   1GCRYDED4LZ169019   GM          SILVERADO            DALLAS                   TX
30756   1GCRYDED4LZ169389   GM          SILVERADO            HOUSTON                  TX
30757   1GCRYDED4LZ169733   GM          SILVERADO            Dallas                   TX
30758   1GCRYDED4LZ169859   GM          SILVERADO            Des Moines               IA
30759   1GCRYDED4LZ170266   GM          SILVERADO            Dallas                   TX
30760   1GCRYDED4LZ170526   GM          SILVERADO            DALLAS                   TX
30761   1GCRYDED4LZ170722   GM          SILVERADO            FRESNO                   CA
30762   1GCRYDED4LZ170798   GM          SILVERADO            KENNER                   LA
30763   1GCRYDED4LZ170817   GM          SILVERADO            TAMPA                    FL
30764   1GCRYDED4LZ171062   GM          SILVERADO            SANTA ANA                CA
30765   1GCRYDED4LZ171093   GM          SILVERADO            SHREVEPORT               LA
30766   1GCRYDED4LZ171353   GM          SILVERADO            HOUSTON                  TX
30767   1GCRYDED4LZ171384   GM          SILVERADO            DALLAS                   TX
30768   1GCRYDED4LZ171479   GM          SILVERADO            Phoenix                  AZ
30769   1GCRYDED4LZ171837   GM          SILVERADO            LAS VEGAS                NV
30770   1GCRYDED4LZ172311   GM          SILVERADO            San Antonio              TX
30771   1GCRYDED4LZ172812   GM          SILVERADO            SEATAC                   WA
30772   1GCRYDED4LZ173071   GM          SILVERADO            Portland                 OR
30773   1GCRYDED4LZ173829   GM          SILVERADO            SAN FRANCISCO            CA
30774   1GCRYDED4LZ173846   GM          SILVERADO            PORTLAND                 OR
30775   1GCRYDED4LZ173894   GM          SILVERADO            seatac                   wa
30776   1GCRYDED4LZ174897   GM          SILVERADO            OKLAHOMA CITY            OK
30777   1GCRYDED4LZ175001   GM          SILVERADO            SALT LAKE CITY           UT
30778   1GCRYDED4LZ175192   GM          SILVERADO            SALT LAKE CITY           UT
30779   1GCRYDED4LZ175385   GM          SILVERADO            SANTA ANA                CA
30780   1GCRYDED4LZ184927   GM          SILVERADO            DENVER                   CO
30781   1GCRYDED4LZ185253   GM          SILVERADO            SACRAMENTO               CA
30782   1GCRYDED4LZ186340   GM          SILVERADO            Midland                  TX
30783   1GCRYDED4LZ197080   GM          SILVERADO            Teterboro                NJ
30784   1GCRYDED4LZ197192   GM          SILVERADO            Syracuse                 NY
30785   1GCRYDED4LZ198276   GM          SILVERADO            RALEIGH                  NC
30786   1GCRYDED4LZ198374   GM          SILVERADO            COLUMBUS                 OH
30787   1GCRYDED4LZ198472   GM          SILVERADO            Austell                  GA
30788   1GCRYDED4LZ198598   GM          SILVERADO            NORFOLK                  VA
30789   1GCRYDED4LZ198682   GM          SILVERADO            WEST COLUMBIA            SC
30790   1GCRYDED4LZ198892   GM          SILVERADO            Indianapolis             IN
30791   1GCRYDED4LZ198908   GM          SILVERADO            Latham                   NY
30792   1GCRYDED4LZ198987   GM          SILVERADO            PHILADELPHIA             PA
30793   1GCRYDED4LZ199010   GM          SILVERADO            Latham                   NY
30794   1GCRYDED4LZ199346   GM          SILVERADO            ROCHESTER                NY
30795   1GCRYDED4LZ199458   GM          SILVERADO            Hapeville                GA
30796   1GCRYDED4LZ199489   GM          SILVERADO            PITTSBURGH               PA
30797   1GCRYDED4LZ199928   GM          SILVERADO            HARTFORD                 CT
30798   1GCRYDED4LZ200172   GM          SILVERADO            WEST COLUMBIA            SC
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30799   1GCRYDED4LZ200284   GM          SILVERADO            PROVIDENCE               RI
30800   1GCRYDED4LZ200317   GM          SILVERADO            Warwick                  RI
30801   1GCRYDED4LZ200415   GM          SILVERADO            NEW BERN                 NC
30802   1GCRYDED4LZ200690   GM          SILVERADO            PORTLAND                 ME
30803   1GCRYDED4LZ200723   GM          SILVERADO            STERLING                 VA
30804   1GCRYDED4LZ200866   GM          SILVERADO            DETROIT                  MI
30805   1GCRYDED4LZ201578   GM          SILVERADO            PHOENIX                  AZ
30806   1GCRYDED4LZ201810   GM          SILVERADO            SAN FRANCISCO            CA
30807   1GCRYDED4LZ201998   GM          SILVERADO            PHOENIX                  AZ
30808   1GCRYDED4LZ202052   GM          SILVERADO            DETROIT                  MI
30809   1GCRYDED4LZ202164   GM          SILVERADO            ONTARIO                  CA
30810   1GCRYDED4LZ202231   GM          SILVERADO            Atlanta                  GA
30811   1GCRYDED4LZ202245   GM          SILVERADO            PHOENIX                  AZ
30812   1GCRYDED4LZ202276   GM          SILVERADO            NEW BERN                 NC
30813   1GCRYDED4LZ202293   GM          SILVERADO            PHILADELPHIA             PA
30814   1GCRYDED4LZ202472   GM          SILVERADO            Teterboro                NJ
30815   1GCRYDED4LZ202505   GM          SILVERADO            CLEVELAND                OH
30816   1GCRYDED4LZ204156   GM          SILVERADO            Charlotte                NC
30817   1GCRYDED4LZ204433   GM          SILVERADO            North Dighton            MA
30818   1GCRYDED4LZ204464   GM          SILVERADO            NORFOLK                  VA
30819   1GCRYDED4LZ205453   GM          SILVERADO            Denver                   CO
30820   1GCRYDED4LZ205551   GM          SILVERADO            Atlanta                  GA
30821   1GCRYDED4LZ205694   GM          SILVERADO            PHOENIX                  AZ
30822   1GCRYDED4LZ205758   GM          SILVERADO            PHOENIX                  AZ
30823   1GCRYDED4LZ205775   GM          SILVERADO            STERLING                 VA
30824   1GCRYDED4LZ205825   GM          SILVERADO            NEW BERN                 NC
30825   1GCRYDED4LZ205856   GM          SILVERADO            NEW BERN                 NC
30826   1GCRYDED4LZ207400   GM          SILVERADO            NEW BERN                 NC
30827   1GCRYDED4LZ207462   GM          SILVERADO            FRESNO                   CA
30828   1GCRYDED4LZ207607   GM          SILVERADO            ERIE                     PA
30829   1GCRYDED4LZ208112   GM          SILVERADO            GRAND RAPIDS             MI
30830   1GCRYDED4LZ208529   GM          SILVERADO            FORT LAUDERDALE          FL
30831   1GCRYDED4LZ209776   GM          SILVERADO            ORLANDO                  FL
30832   1GCRYDED4LZ212516   GM          SILVERADO            FORT LAUDERDALE          FL
30833   1GCRYDED4LZ216906   GM          SILVERADO            BUFFALO                  NY
30834   1GCRYDED4LZ217201   GM          SILVERADO            BOSTON                   MA
30835   1GCRYDED4LZ217537   GM          SILVERADO            Portland                 ME
30836   1GCRYDED4LZ217747   GM          SILVERADO            WHITE PLAINS             NY
30837   1GCRYDED4LZ219143   GM          SILVERADO            BUFFALO                  NY
30838   1GCRYDED4LZ219174   GM          SILVERADO            CHARLOTTE                NC
30839   1GCRYDED4LZ219384   GM          SILVERADO            Pensacola                FL
30840   1GCRYDED4LZ219613   GM          SILVERADO            HANOVER                  MD
30841   1GCRYDED4LZ221510   GM          SILVERADO            PROVIDENCE               RI
30842   1GCRYDED4LZ225184   GM          SILVERADO            ROCHESTER                NY
30843   1GCRYDED4LZ225847   GM          SILVERADO            Grove City               OH
30844   1GCRYDED4LZ227288   GM          SILVERADO            SYRACUSE                 NY
30845   1GCRYDED4LZ228330   GM          SILVERADO            SEA TAC                  WA
30846   1GCRYDED4LZ235004   GM          SILVERADO            Hebron                   KY
30847   1GCRYDED4LZ238923   GM          SILVERADO            INDIANAPOLIS             IN
30848   1GCRYDED4LZ239358   GM          SILVERADO            PHOENIX                  AZ
30849   1GCRYDED4LZ242728   GM          SILVERADO            PROVIDENCE               RI
30850   1GCRYDED4LZ244561   GM          SILVERADO            DETROIT                  MI
30851   1GCRYDED4LZ248089   GM          SILVERADO            SAINT LOUIS              MO
30852   1GCRYDED4LZ248870   GM          SILVERADO            SYRACUSE                 NY
30853   1GCRYDED4LZ258153   GM          SILVERADO            BURLINGAME               CA
30854   1GCRYDED5LZ130827   GM          SILVERADO            Orlando                  FL
30855   1GCRYDED5LZ132982   GM          SILVERADO            FORT LAUDERDALE          FL
30856   1GCRYDED5LZ134604   GM          SILVERADO            FORT MYERS               FL
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30857   1GCRYDED5LZ143027   GM          SILVERADO            NEWPORT BEACH            CA
30858   1GCRYDED5LZ143657   GM          SILVERADO            Savannah                 GA
30859   1GCRYDED5LZ145859   GM          SILVERADO            Pensacola                FL
30860   1GCRYDED5LZ147613   GM          SILVERADO            PHOENIX                  AZ
30861   1GCRYDED5LZ149619   GM          SILVERADO            Harlingen                TX
30862   1GCRYDED5LZ149636   GM          SILVERADO            SAN ANTONIO              TX
30863   1GCRYDED5LZ149958   GM          SILVERADO            HOUSTON                  TX
30864   1GCRYDED5LZ150267   GM          SILVERADO            DALLAS                   TX
30865   1GCRYDED5LZ150317   GM          SILVERADO            Wichita                  KS
30866   1GCRYDED5LZ150348   GM          SILVERADO            Warr Acres               OK
30867   1GCRYDED5LZ150494   GM          SILVERADO            SAN ANTONIO              TX
30868   1GCRYDED5LZ150544   GM          SILVERADO            HOUSTON                  TX
30869   1GCRYDED5LZ151113   GM          SILVERADO            ONTARIO                  CA
30870   1GCRYDED5LZ151256   GM          SILVERADO            SAINT LOUIS              MO
30871   1GCRYDED5LZ151368   GM          SILVERADO            KENNER                   LA
30872   1GCRYDED5LZ151726   GM          SILVERADO            TULSA                    OK
30873   1GCRYDED5LZ151791   GM          SILVERADO            OKLAHOMA CITY            OK
30874   1GCRYDED5LZ151922   GM          SILVERADO            Lubbock                  TX
30875   1GCRYDED5LZ152181   GM          SILVERADO            OKLAHOMA CITY            OK
30876   1GCRYDED5LZ152410   GM          SILVERADO            DFW AIRPORT              TX
30877   1GCRYDED5LZ152634   GM          SILVERADO            EL PASO                  TX
30878   1GCRYDED5LZ153119   GM          SILVERADO            SANTA ANA                CA
30879   1GCRYDED5LZ153394   GM          SILVERADO            SAN ANTONIO              TX
30880   1GCRYDED5LZ153606   GM          SILVERADO            DALLAS                   TX
30881   1GCRYDED5LZ153783   GM          SILVERADO            BIRMINGHAN               AL
30882   1GCRYDED5LZ153833   GM          SILVERADO            DALLAS                   TX
30883   1GCRYDED5LZ154108   GM          SILVERADO            DALLAS                   TX
30884   1GCRYDED5LZ154660   GM          SILVERADO            HOUSTON                  TX
30885   1GCRYDED5LZ155257   GM          SILVERADO            Amarillo                 TX
30886   1GCRYDED5LZ155422   GM          SILVERADO            KILLEEN                  US
30887   1GCRYDED5LZ155503   GM          SILVERADO            COLLEGE PARK             GA
30888   1GCRYDED5LZ155758   GM          SILVERADO            Dallas                   TX
30889   1GCRYDED5LZ155887   GM          SILVERADO            DALLAS                   TX
30890   1GCRYDED5LZ155937   GM          SILVERADO            EL PASO                  TX
30891   1GCRYDED5LZ156067   GM          SILVERADO            EL PASO                  TX
30892   1GCRYDED5LZ156196   GM          SILVERADO            OKLAHOMA CITY            OK
30893   1GCRYDED5LZ156277   GM          SILVERADO            HOUSTON                  TX
30894   1GCRYDED5LZ156375   GM          SILVERADO            MIDLAND                  TX
30895   1GCRYDED5LZ156442   GM          SILVERADO            PHOENIX                  AZ
30896   1GCRYDED5LZ156652   GM          SILVERADO            EL PASO                  TX
30897   1GCRYDED5LZ156831   GM          SILVERADO            KENNER                   LA
30898   1GCRYDED5LZ157199   GM          SILVERADO            EGG HARBOR TOWN          NJ
30899   1GCRYDED5LZ157669   GM          SILVERADO            Hapeville                GA
30900   1GCRYDED5LZ158756   GM          SILVERADO            SACRAMENTO               CA
30901   1GCRYDED5LZ159213   GM          SILVERADO            ONTARIO                  CA
30902   1GCRYDED5LZ159440   GM          SILVERADO            NEW BERN                 NC
30903   1GCRYDED5LZ159602   GM          SILVERADO            DENVER                   CO
30904   1GCRYDED5LZ160331   GM          SILVERADO            NEW BERN                 NC
30905   1GCRYDED5LZ161124   GM          SILVERADO            DENVER                   CO
30906   1GCRYDED5LZ161821   GM          SILVERADO            DENVER                   CO
30907   1GCRYDED5LZ161852   GM          SILVERADO            Chicago                  IL
30908   1GCRYDED5LZ161978   GM          SILVERADO            CHARLESTON               WV
30909   1GCRYDED5LZ162385   GM          SILVERADO            DENVER                   CO
30910   1GCRYDED5LZ162502   GM          SILVERADO            DENVER                   CO
30911   1GCRYDED5LZ162628   GM          SILVERADO            Tulsa                    OK
30912   1GCRYDED5LZ162810   GM          SILVERADO            DENVER                   CO
30913   1GCRYDED5LZ163178   GM          SILVERADO            Denver                   CO
30914   1GCRYDED5LZ163407   GM          SILVERADO            SAN ANTONIO              TX
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30915   1GCRYDED5LZ163858   GM          SILVERADO            Las Vegas                NV
30916   1GCRYDED5LZ163892   GM          SILVERADO            LAS VEGAS                NV
30917   1GCRYDED5LZ164105   GM          SILVERADO            CHARLOTTE                NC
30918   1GCRYDED5LZ164962   GM          SILVERADO            DENVER                   CO
30919   1GCRYDED5LZ165156   GM          SILVERADO            HOUSTON                  TX
30920   1GCRYDED5LZ165206   GM          SILVERADO            SHREVEPORT               LA
30921   1GCRYDED5LZ165674   GM          SILVERADO            HOUSTON                  TX
30922   1GCRYDED5LZ165691   GM          SILVERADO            Teterboro                NJ
30923   1GCRYDED5LZ165786   GM          SILVERADO            HOUSTON                  TX
30924   1GCRYDED5LZ166341   GM          SILVERADO            SAN ANTONIO              TX
30925   1GCRYDED5LZ166808   GM          SILVERADO            SAN ANTONIO              TX
30926   1GCRYDED5LZ166873   GM          SILVERADO            HOUSTON                  TX
30927   1GCRYDED5LZ167232   GM          SILVERADO            Harvey                   LA
30928   1GCRYDED5LZ167490   GM          SILVERADO            GLASSBORO                NJ
30929   1GCRYDED5LZ167621   GM          SILVERADO            DALLAS                   TX
30930   1GCRYDED5LZ167814   GM          SILVERADO            Salt Lake City           UT
30931   1GCRYDED5LZ167991   GM          SILVERADO            KENNER                   LA
30932   1GCRYDED5LZ168042   GM          SILVERADO            SARASOTA                 FL
30933   1GCRYDED5LZ168476   GM          SILVERADO            DALLAS                   TX
30934   1GCRYDED5LZ168493   GM          SILVERADO            EULESS                   TX
30935   1GCRYDED5LZ169384   GM          SILVERADO            KENNER                   LA
30936   1GCRYDED5LZ169823   GM          SILVERADO            Nashville                TN
30937   1GCRYDED5LZ170082   GM          SILVERADO            NEW ORLEANS              LA
30938   1GCRYDED5LZ170194   GM          SILVERADO            EULESS                   TX
30939   1GCRYDED5LZ170308   GM          SILVERADO            ONTARIO                  CA
30940   1GCRYDED5LZ170339   GM          SILVERADO            DALLAS                   TX
30941   1GCRYDED5LZ170406   GM          SILVERADO            DALLAS                   TX
30942   1GCRYDED5LZ170566   GM          SILVERADO            JACKSONVILLE             FL
30943   1GCRYDED5LZ170616   GM          SILVERADO            DALLAS                   TX
30944   1GCRYDED5LZ170678   GM          SILVERADO            DALLAS                   TX
30945   1GCRYDED5LZ170745   GM          SILVERADO            PHILADELPHIA             US
30946   1GCRYDED5LZ170762   GM          SILVERADO            DALLAS                   TX
30947   1GCRYDED5LZ170826   GM          SILVERADO            Houston                  TX
30948   1GCRYDED5LZ170907   GM          SILVERADO            DALLAS                   TX
30949   1GCRYDED5LZ170969   GM          SILVERADO            MORENO VALLEY            CA
30950   1GCRYDED5LZ171023   GM          SILVERADO            DALLAS                   TX
30951   1GCRYDED5LZ171281   GM          SILVERADO            Dallas                   TX
30952   1GCRYDED5LZ171992   GM          SILVERADO            SEATAC                   WA
30953   1GCRYDED5LZ172351   GM          SILVERADO            LAS VEGAS                NV
30954   1GCRYDED5LZ172382   GM          SILVERADO            Las Vegas                NV
30955   1GCRYDED5LZ172513   GM          SILVERADO            Santa Clara              CA
30956   1GCRYDED5LZ173211   GM          SILVERADO            Phoenix                  AZ
30957   1GCRYDED5LZ173323   GM          SILVERADO            LOS ANGELES              CA
30958   1GCRYDED5LZ174200   GM          SILVERADO            SEATAC                   WA
30959   1GCRYDED5LZ174567   GM          SILVERADO            PORTLAND                 OR
30960   1GCRYDED5LZ174794   GM          SILVERADO            PORTLAND                 OR
30961   1GCRYDED5LZ174830   GM          SILVERADO            TUCSON                   AZ
30962   1GCRYDED5LZ175184   GM          SILVERADO            SEATAC                   WA
30963   1GCRYDED5LZ175282   GM          SILVERADO            PORTLAND                 OR
30964   1GCRYDED5LZ175363   GM          SILVERADO            FRESNO                   CA
30965   1GCRYDED5LZ196987   GM          SILVERADO            LOUISVILLE               KY
30966   1GCRYDED5LZ197119   GM          SILVERADO            WEST COLUMBIA            SC
30967   1GCRYDED5LZ197122   GM          SILVERADO            Hebron                   KY
30968   1GCRYDED5LZ197704   GM          SILVERADO            Latham                   NY
30969   1GCRYDED5LZ198206   GM          SILVERADO            Avoca                    PA
30970   1GCRYDED5LZ198352   GM          SILVERADO            EAST BOSTON              MA
30971   1GCRYDED5LZ198433   GM          SILVERADO            DETROIT                  MI
30972   1GCRYDED5LZ198531   GM          SILVERADO            INDIANAPOLIS             IN
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30973   1GCRYDED5LZ198643   GM          SILVERADO            BOSTON                   MA
30974   1GCRYDED5LZ199047   GM          SILVERADO            Pensacola                FL
30975   1GCRYDED5LZ199050   GM          SILVERADO            NEW BERN                 NC
30976   1GCRYDED5LZ199078   GM          SILVERADO            CHICAGO                  IL
30977   1GCRYDED5LZ199095   GM          SILVERADO            INDIANAPOLIS             IN
30978   1GCRYDED5LZ199517   GM          SILVERADO            Caledonia                WI
30979   1GCRYDED5LZ199548   GM          SILVERADO            Myrtle Beach             SC
30980   1GCRYDED5LZ199615   GM          SILVERADO            SOUTHEAST DST OFFC       OK
30981   1GCRYDED5LZ199646   GM          SILVERADO            NORFOLK                  VA
30982   1GCRYDED5LZ199677   GM          SILVERADO            WARWICK                  RI
30983   1GCRYDED5LZ199775   GM          SILVERADO            Teterboro                NJ
30984   1GCRYDED5LZ199789   GM          SILVERADO            PHILADELPHIA             PA
30985   1GCRYDED5LZ199811   GM          SILVERADO            BUFFALO                  NY
30986   1GCRYDED5LZ199825   GM          SILVERADO            Philadelphia             PA
30987   1GCRYDED5LZ199873   GM          SILVERADO            MALDEN                   MA
30988   1GCRYDED5LZ199923   GM          SILVERADO            NEWARK                   NY
30989   1GCRYDED5LZ200066   GM          SILVERADO            White Plains             NY
30990   1GCRYDED5LZ200133   GM          SILVERADO            HARTFORD                 CT
30991   1GCRYDED5LZ200147   GM          SILVERADO            Buffalo                  NY
30992   1GCRYDED5LZ200391   GM          SILVERADO            SAVANNAH                 GA
30993   1GCRYDED5LZ200567   GM          SILVERADO            BOISE                    ID
30994   1GCRYDED5LZ200570   GM          SILVERADO            CHARLESTON               WV
30995   1GCRYDED5LZ200679   GM          SILVERADO            JACKSONVILLE             FL
30996   1GCRYDED5LZ200701   GM          SILVERADO            NEWARK                   NJ
30997   1GCRYDED5LZ201900   GM          SILVERADO            NEW BERN                 NC
30998   1GCRYDED5LZ201914   GM          SILVERADO            Teterboro                NJ
30999   1GCRYDED5LZ201959   GM          SILVERADO            SAINT LOUIS              MO
31000   1GCRYDED5LZ202237   GM          SILVERADO            PHOENIX                  AZ
31001   1GCRYDED5LZ202254   GM          SILVERADO            HOUSTON                  TX
31002   1GCRYDED5LZ202626   GM          SILVERADO            DES MOINES               IA
31003   1GCRYDED5LZ204439   GM          SILVERADO            LOUISVILLE               KY
31004   1GCRYDED5LZ205820   GM          SILVERADO            Norfolk                  VA
31005   1GCRYDED5LZ207342   GM          SILVERADO            CLEVELAND                OH
31006   1GCRYDED5LZ207468   GM          SILVERADO            Kansas City              MO
31007   1GCRYDED5LZ207597   GM          SILVERADO            PHILADELPHIA             PA
31008   1GCRYDED5LZ207650   GM          SILVERADO            RALEIGH, DURHAM          NC
31009   1GCRYDED5LZ209799   GM          SILVERADO            LOS ANGELES              CA
31010   1GCRYDED5LZ212119   GM          SILVERADO            JACKSONVILLE             FL
31011   1GCRYDED5LZ212380   GM          SILVERADO            MIAMI                    FL
31012   1GCRYDED5LZ217577   GM          SILVERADO            PHILADELPHIA             PA
31013   1GCRYDED5LZ218843   GM          SILVERADO            SOUTH BURLINGTO          VT
31014   1GCRYDED5LZ218888   GM          SILVERADO            NORFOLK                  VA
31015   1GCRYDED5LZ221791   GM          SILVERADO            Philadelphia             PA
31016   1GCRYDED5LZ221984   GM          SILVERADO            WARWICK                  RI
31017   1GCRYDED5LZ222164   GM          SILVERADO            OAKLAND                  CA
31018   1GCRYDED5LZ222794   GM          SILVERADO            Atlanta                  GA
31019   1GCRYDED5LZ223086   GM          SILVERADO            PROVIDENCE               RI
31020   1GCRYDED5LZ238610   GM          SILVERADO            INDIANAPOLIS             IN
31021   1GCRYDED5LZ238722   GM          SILVERADO            Hebron                   KY
31022   1GCRYDED5LZ238865   GM          SILVERADO            INDIANAPOLIS             IN
31023   1GCRYDED5LZ240678   GM          SILVERADO            FRESNO                   CA
31024   1GCRYDED5LZ244844   GM          SILVERADO            CLEVELAND                OH
31025   1GCRYDED5LZ246755   GM          SILVERADO            CLEVELAND                OH
31026   1GCRYDED5LZ247730   GM          SILVERADO            WARWICK                  RI
31027   1GCRYDED5LZ249204   GM          SILVERADO            WARWICK                  RI
31028   1GCRYDED5LZ249865   GM          SILVERADO            FRESNO                   CA
31029   1GCRYDED5LZ251017   GM          SILVERADO            SEATAC                   WA
31030   1GCRYDED5LZ253155   GM          SILVERADO            SAN FRANCISCO            CA
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31031   1GCRYDED5LZ256489   GM          SILVERADO            FRESNO                   CA
31032   1GCRYDED5LZ257383   GM          SILVERADO            LAS VEGAS                NV
31033   1GCRYDED6LZ131419   GM          SILVERADO            FORT LAUDERDALE          FL
31034   1GCRYDED6LZ142095   GM          SILVERADO            SOUTHEAST DST OFFC       OK
31035   1GCRYDED6LZ145546   GM          SILVERADO            SOUTHEAST DST OFFC       OK
31036   1GCRYDED6LZ147541   GM          SILVERADO            WEST PALM BEACH          FL
31037   1GCRYDED6LZ147846   GM          SILVERADO            Atlanta                  GA
31038   1GCRYDED6LZ148303   GM          SILVERADO            ORLANDO                  FL
31039   1GCRYDED6LZ150083   GM          SILVERADO            HOUSTON                  TX
31040   1GCRYDED6LZ150178   GM          SILVERADO            Austin                   TX
31041   1GCRYDED6LZ150231   GM          SILVERADO            AUSTIN                   TX
31042   1GCRYDED6LZ150245   GM          SILVERADO            HOUSTON                  TX
31043   1GCRYDED6LZ150522   GM          SILVERADO            SANTA CLARA              CA
31044   1GCRYDED6LZ150942   GM          SILVERADO            ATLANTA                  GA
31045   1GCRYDED6LZ151007   GM          SILVERADO            Oklahoma City            OK
31046   1GCRYDED6LZ151055   GM          SILVERADO            EULESS                   TX
31047   1GCRYDED6LZ151167   GM          SILVERADO            KENNER                   LA
31048   1GCRYDED6LZ151301   GM          SILVERADO            KENNER                   LA
31049   1GCRYDED6LZ151542   GM          SILVERADO            OKLAHOMA CITY            OK
31050   1GCRYDED6LZ151573   GM          SILVERADO            SAN ANTONIO              TX
31051   1GCRYDED6LZ152657   GM          SILVERADO            TULSA                    OK
31052   1GCRYDED6LZ152691   GM          SILVERADO            SAN ANTONIO              TX
31053   1GCRYDED6LZ152769   GM          SILVERADO            ORLANDO                  FL
31054   1GCRYDED6LZ152867   GM          SILVERADO            Houston                  TX
31055   1GCRYDED6LZ152917   GM          SILVERADO            DALLAS FORT WORTH AP     TX
31056   1GCRYDED6LZ153291   GM          SILVERADO            Lubbock                  TX
31057   1GCRYDED6LZ153310   GM          SILVERADO            HOUSTON                  TX
31058   1GCRYDED6LZ153341   GM          SILVERADO            EL PASO                  TX
31059   1GCRYDED6LZ153744   GM          SILVERADO            EL PASO                  TX
31060   1GCRYDED6LZ153789   GM          SILVERADO            Oklahoma City            OK
31061   1GCRYDED6LZ154019   GM          SILVERADO            HOUSTON                  TX
31062   1GCRYDED6LZ154120   GM          SILVERADO            AUSTIN                   TX
31063   1GCRYDED6LZ154585   GM          SILVERADO            OKLAHOMA CITY            OK
31064   1GCRYDED6LZ155106   GM          SILVERADO            North Dighton            MA
31065   1GCRYDED6LZ155123   GM          SILVERADO            LUBBOCK                  TX
31066   1GCRYDED6LZ155185   GM          SILVERADO            EL PASO                  TX
31067   1GCRYDED6LZ155297   GM          SILVERADO            HOUSTON                  TX
31068   1GCRYDED6LZ155428   GM          SILVERADO            SAN ANTONIO              TX
31069   1GCRYDED6LZ155610   GM          SILVERADO            LUBBOCK                  TX
31070   1GCRYDED6LZ155770   GM          SILVERADO            DALLAS                   TX
31071   1GCRYDED6LZ156028   GM          SILVERADO            HOUSTON                  TX
31072   1GCRYDED6LZ156210   GM          SILVERADO            SOUTHWEST DEALER D       TX
31073   1GCRYDED6LZ156465   GM          SILVERADO            Dallas                   TX
31074   1GCRYDED6LZ156496   GM          SILVERADO            PHOENIX                  AZ
31075   1GCRYDED6LZ156532   GM          SILVERADO            ONTARIO                  CA
31076   1GCRYDED6LZ156644   GM          SILVERADO            EL PASO                  TX
31077   1GCRYDED6LZ156952   GM          SILVERADO            ALBANY                   NY
31078   1GCRYDED6LZ157096   GM          SILVERADO            NEW BERN                 NC
31079   1GCRYDED6LZ157115   GM          SILVERADO            Ventura                  CA
31080   1GCRYDED6LZ157146   GM          SILVERADO            Morrisville              NC
31081   1GCRYDED6LZ157406   GM          SILVERADO            Hendersonville           TN
31082   1GCRYDED6LZ157695   GM          SILVERADO            CHARLESTON               WV
31083   1GCRYDED6LZ158264   GM          SILVERADO            DENVER                   CO
31084   1GCRYDED6LZ159057   GM          SILVERADO            DENVER                   CO
31085   1GCRYDED6LZ160063   GM          SILVERADO            FAIRFIELD                CA
31086   1GCRYDED6LZ160273   GM          SILVERADO            Teterboro                NJ
31087   1GCRYDED6LZ161021   GM          SILVERADO            Denver                   CO
31088   1GCRYDED6LZ161052   GM          SILVERADO            RONKONKOMA               NY
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31089   1GCRYDED6LZ161228   GM          SILVERADO            SAN DIEGO                CA
31090   1GCRYDED6LZ161357   GM          SILVERADO            DENVER                   CO
31091   1GCRYDED6LZ161567   GM          SILVERADO            DENVER                   CO
31092   1GCRYDED6LZ162136   GM          SILVERADO            PHOENIX                  AZ
31093   1GCRYDED6LZ162153   GM          SILVERADO            NEW BERN                 NC
31094   1GCRYDED6LZ163951   GM          SILVERADO            DENVER                   CO
31095   1GCRYDED6LZ164033   GM          SILVERADO            JACKSONVILLE             FL
31096   1GCRYDED6LZ164548   GM          SILVERADO            NEW BERN                 NC
31097   1GCRYDED6LZ164615   GM          SILVERADO            WEST DUNDEE              IL
31098   1GCRYDED6LZ164839   GM          SILVERADO            RENO                     NV
31099   1GCRYDED6LZ165358   GM          SILVERADO            Slidell                  LA
31100   1GCRYDED6LZ165568   GM          SILVERADO            ONTARIO                  CA
31101   1GCRYDED6LZ165697   GM          SILVERADO            ORLANDO                  FL
31102   1GCRYDED6LZ165862   GM          SILVERADO            Des Moines               IA
31103   1GCRYDED6LZ166056   GM          SILVERADO            BURBANK                  CA
31104   1GCRYDED6LZ166297   GM          SILVERADO            SOUTHWEST DEALER D       TX
31105   1GCRYDED6LZ166381   GM          SILVERADO            SAN ANTONIO              TX
31106   1GCRYDED6LZ166557   GM          SILVERADO            DALLAS                   TX
31107   1GCRYDED6LZ166574   GM          SILVERADO            HUNTSVILLE               AL
31108   1GCRYDED6LZ166834   GM          SILVERADO            HOUSTON                  TX
31109   1GCRYDED6LZ166929   GM          SILVERADO            SAN ANTONIO              TX
31110   1GCRYDED6LZ167255   GM          SILVERADO            SAN ANTONIO              TX
31111   1GCRYDED6LZ167532   GM          SILVERADO            Houston                  TX
31112   1GCRYDED6LZ167594   GM          SILVERADO            AUSTIN                   TX
31113   1GCRYDED6LZ167756   GM          SILVERADO            Sacramento               CA
31114   1GCRYDED6LZ167787   GM          SILVERADO            DALLAS                   TX
31115   1GCRYDED6LZ167904   GM          SILVERADO            STERLING                 VA
31116   1GCRYDED6LZ168325   GM          SILVERADO            DALLAS                   TX
31117   1GCRYDED6LZ168423   GM          SILVERADO            Dallas                   TX
31118   1GCRYDED6LZ168504   GM          SILVERADO            DALLAS                   TX
31119   1GCRYDED6LZ168535   GM          SILVERADO            HOUSTON                  TX
31120   1GCRYDED6LZ168700   GM          SILVERADO            KENNER                   LA
31121   1GCRYDED6LZ168888   GM          SILVERADO            DALLAS                   TX
31122   1GCRYDED6LZ169068   GM          SILVERADO            DALLAS                   TX
31123   1GCRYDED6LZ169152   GM          SILVERADO            ONTARIO                  CA
31124   1GCRYDED6LZ169426   GM          SILVERADO            Dallas                   TX
31125   1GCRYDED6LZ169636   GM          SILVERADO            SAN ANTONIO              TX
31126   1GCRYDED6LZ170317   GM          SILVERADO            GUNNISON                 CO
31127   1GCRYDED6LZ170365   GM          SILVERADO            KANSAS CITY              MO
31128   1GCRYDED6LZ170401   GM          SILVERADO            LOS ANGELES              CA
31129   1GCRYDED6LZ170592   GM          SILVERADO            HOUSTON                  TX
31130   1GCRYDED6LZ170785   GM          SILVERADO            DALLAS                   TX
31131   1GCRYDED6LZ170964   GM          SILVERADO            DALLAS                   TX
31132   1GCRYDED6LZ170981   GM          SILVERADO            DALLAS                   TX
31133   1GCRYDED6LZ171127   GM          SILVERADO            HOUSTON                  TX
31134   1GCRYDED6LZ171158   GM          SILVERADO            FRESNO                   CA
31135   1GCRYDED6LZ171273   GM          SILVERADO            HOUSTON                  TX
31136   1GCRYDED6LZ171323   GM          SILVERADO            Houston                  TX
31137   1GCRYDED6LZ171404   GM          SILVERADO            SAN FRANCISCO            CA
31138   1GCRYDED6LZ171614   GM          SILVERADO            SEATAC                   WA
31139   1GCRYDED6LZ171788   GM          SILVERADO            PORTLAND                 OR
31140   1GCRYDED6LZ171807   GM          SILVERADO            PALM SPRINGS             CA
31141   1GCRYDED6LZ171919   GM          SILVERADO            SEATAC                   WA
31142   1GCRYDED6LZ172035   GM          SILVERADO            SALT LAKE CITY           US
31143   1GCRYDED6LZ172052   GM          SILVERADO            SALT LAKE CITY           US
31144   1GCRYDED6LZ172343   GM          SILVERADO            SAN FRANCISCO            CA
31145   1GCRYDED6LZ172973   GM          SILVERADO            DENVER                   CO
31146   1GCRYDED6LZ173962   GM          SILVERADO            LOS ANGELES              CA
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31147   1GCRYDED6LZ173976   GM          SILVERADO            Hayward                  CA
31148   1GCRYDED6LZ174514   GM          SILVERADO            Dallas                   TX
31149   1GCRYDED6LZ174917   GM          SILVERADO            Reno                     NV
31150   1GCRYDED6LZ175050   GM          SILVERADO            PALM SPRINGS             CA
31151   1GCRYDED6LZ175484   GM          SILVERADO            SEATAC                   WA
31152   1GCRYDED6LZ196870   GM          SILVERADO            GRAND RAPIDS             MI
31153   1GCRYDED6LZ196948   GM          SILVERADO            ATLANTA                  GA
31154   1GCRYDED6LZ197694   GM          SILVERADO            JACKSON                  MS
31155   1GCRYDED6LZ197727   GM          SILVERADO            Schaumburg               IL
31156   1GCRYDED6LZ197954   GM          SILVERADO            Roanoke                  VA
31157   1GCRYDED6LZ198358   GM          SILVERADO            West Columbia            SC
31158   1GCRYDED6LZ198652   GM          SILVERADO            NEW BERN                 NC
31159   1GCRYDED6LZ198991   GM          SILVERADO            PHILADELPHIA             PA
31160   1GCRYDED6LZ199087   GM          SILVERADO            Latham                   NY
31161   1GCRYDED6LZ199509   GM          SILVERADO            Newark                   NJ
31162   1GCRYDED6LZ199736   GM          SILVERADO            INDIANAPOLIS             IN
31163   1GCRYDED6LZ200058   GM          SILVERADO            SAVANNAH                 GA
31164   1GCRYDED6LZ200125   GM          SILVERADO            BUFFALO                  NY
31165   1GCRYDED6LZ200190   GM          SILVERADO            BOSTON                   MA
31166   1GCRYDED6LZ200240   GM          SILVERADO            SUMTER                   SC
31167   1GCRYDED6LZ200318   GM          SILVERADO            LOUISVILLE               KY
31168   1GCRYDED6LZ200805   GM          SILVERADO            SALT LAKE CITY           US
31169   1GCRYDED6LZ202019   GM          SILVERADO            NEW BERN                 NC
31170   1GCRYDED6LZ202361   GM          SILVERADO            Kansas City              MO
31171   1GCRYDED6LZ202408   GM          SILVERADO            GRAND RAPIDS             MI
31172   1GCRYDED6LZ202702   GM          SILVERADO            Jamaica                  NY
31173   1GCRYDED6LZ204398   GM          SILVERADO            BOSTON                   MA
31174   1GCRYDED6LZ205941   GM          SILVERADO            DETROIT                  MI
31175   1GCRYDED6LZ207429   GM          SILVERADO            BOSTON                   MA
31176   1GCRYDED6LZ207530   GM          SILVERADO            SOUTH BURLINGTO          VT
31177   1GCRYDED6LZ207558   GM          SILVERADO            RICHMOND                 VA
31178   1GCRYDED6LZ207625   GM          SILVERADO            LAS VEGAS                NV
31179   1GCRYDED6LZ209990   GM          SILVERADO            PHOENIX                  AZ
31180   1GCRYDED6LZ217779   GM          SILVERADO            HARTFORD                 CT
31181   1GCRYDED6LZ219483   GM          SILVERADO            WHITE PLAINS             NY
31182   1GCRYDED6LZ220861   GM          SILVERADO            WARWICK                  RI
31183   1GCRYDED6LZ222240   GM          SILVERADO            WARWICK                  RI
31184   1GCRYDED6LZ224375   GM          SILVERADO            MILWAUKEE                WI
31185   1GCRYDED6LZ225980   GM          SILVERADO            ROCHESTER                NY
31186   1GCRYDED6LZ241662   GM          SILVERADO            SAINT LOUIS              MO
31187   1GCRYDED6LZ242116   GM          SILVERADO            WARWICK                  RI
31188   1GCRYDED6LZ246022   GM          SILVERADO            WESTLAKE                 OH
31189   1GCRYDED6LZ253164   GM          SILVERADO            SAN FRANCISCO            CA
31190   1GCRYDED6LZ256436   GM          SILVERADO            BURLINGAME               CA
31191   1GCRYDED6LZ258624   GM          SILVERADO            SACRAMENTO               CA
31192   1GCRYDED7LZ133860   GM          SILVERADO            FORT LAUDERDALE          FL
31193   1GCRYDED7LZ135754   GM          SILVERADO            MIAMI                    FL
31194   1GCRYDED7LZ143059   GM          SILVERADO            Atlanta                  GA
31195   1GCRYDED7LZ145040   GM          SILVERADO            Austell                  GA
31196   1GCRYDED7LZ145250   GM          SILVERADO            TAMPA                    FL
31197   1GCRYDED7LZ145376   GM          SILVERADO            TAMPA                    FL
31198   1GCRYDED7LZ145569   GM          SILVERADO            WEST PALM BEACH          FL
31199   1GCRYDED7LZ147855   GM          SILVERADO            ORLANDO                  FL
31200   1GCRYDED7LZ148200   GM          SILVERADO            Atlanta                  GA
31201   1GCRYDED7LZ148987   GM          SILVERADO            Nashville                TN
31202   1GCRYDED7LZ149038   GM          SILVERADO            TITUSVILLE               FL
31203   1GCRYDED7LZ149203   GM          SILVERADO            PHOENIX                  AZ
31204   1GCRYDED7LZ149668   GM          SILVERADO            TULSA                    OK
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31205   1GCRYDED7LZ149850   GM          SILVERADO            Dallas                   TX
31206   1GCRYDED7LZ150206   GM          SILVERADO            EL PASO                  TX
31207   1GCRYDED7LZ150223   GM          SILVERADO            Irving                   TX
31208   1GCRYDED7LZ150898   GM          SILVERADO            MIDLAND                  TX
31209   1GCRYDED7LZ151128   GM          SILVERADO            EL PASO                  TX
31210   1GCRYDED7LZ151629   GM          SILVERADO            Albuquerque              NM
31211   1GCRYDED7LZ151680   GM          SILVERADO            EL PASO                  TX
31212   1GCRYDED7LZ151842   GM          SILVERADO            ONTARIO                  CA
31213   1GCRYDED7LZ152019   GM          SILVERADO            NORFOLK                  VA
31214   1GCRYDED7LZ152201   GM          SILVERADO            EL PASO                  TX
31215   1GCRYDED7LZ152215   GM          SILVERADO            DALLAS                   TX
31216   1GCRYDED7LZ152263   GM          SILVERADO            SAN ANTONIO              TX
31217   1GCRYDED7LZ152456   GM          SILVERADO            EL PASO                  TX
31218   1GCRYDED7LZ152490   GM          SILVERADO            Cleveland                OH
31219   1GCRYDED7LZ152618   GM          SILVERADO            Warr Acres               OK
31220   1GCRYDED7LZ152683   GM          SILVERADO            San Antonio              TX
31221   1GCRYDED7LZ152702   GM          SILVERADO            DALLAS                   TX
31222   1GCRYDED7LZ152943   GM          SILVERADO            HOUSTON                  TX
31223   1GCRYDED7LZ152960   GM          SILVERADO            EULESS                   TX
31224   1GCRYDED7LZ153106   GM          SILVERADO            DALLAS                   TX
31225   1GCRYDED7LZ153333   GM          SILVERADO            EL PASO                  TX
31226   1GCRYDED7LZ153509   GM          SILVERADO            Atlanta                  GA
31227   1GCRYDED7LZ153915   GM          SILVERADO            NORFOLK                  VA
31228   1GCRYDED7LZ154062   GM          SILVERADO            EL PASO                  TX
31229   1GCRYDED7LZ154305   GM          SILVERADO            ATLANTA                  GA
31230   1GCRYDED7LZ154451   GM          SILVERADO            MIDLAND                  TX
31231   1GCRYDED7LZ154515   GM          SILVERADO            HOUSTON                  TX
31232   1GCRYDED7LZ154739   GM          SILVERADO            Dallas                   TX
31233   1GCRYDED7LZ154790   GM          SILVERADO            NORFOLK                  VA
31234   1GCRYDED7LZ155017   GM          SILVERADO            DALLAS                   TX
31235   1GCRYDED7LZ155096   GM          SILVERADO            EL PASO                  TX
31236   1GCRYDED7LZ155213   GM          SILVERADO            HOUSTON                  TX
31237   1GCRYDED7LZ155440   GM          SILVERADO            Dallas                   TX
31238   1GCRYDED7LZ155695   GM          SILVERADO            LUBBOCK                  TX
31239   1GCRYDED7LZ155812   GM          SILVERADO            LUBBOCK                  TX
31240   1GCRYDED7LZ156250   GM          SILVERADO            LOS ANGELES              CA
31241   1GCRYDED7LZ156409   GM          SILVERADO            HOUSTON                  TX
31242   1GCRYDED7LZ156488   GM          SILVERADO            EL PASO                  TX
31243   1GCRYDED7LZ156815   GM          SILVERADO            DALLAS                   TX
31244   1GCRYDED7LZ157012   GM          SILVERADO            KENNER                   LA
31245   1GCRYDED7LZ157558   GM          SILVERADO            PITTSBURGH               PA
31246   1GCRYDED7LZ158306   GM          SILVERADO            COLORADO SPRING          CO
31247   1GCRYDED7LZ158466   GM          SILVERADO            PHOENIX                  AZ
31248   1GCRYDED7LZ158631   GM          SILVERADO            Hapeville                GA
31249   1GCRYDED7LZ159259   GM          SILVERADO            DENVER                   CO
31250   1GCRYDED7LZ160170   GM          SILVERADO            LAS VEGAS                NV
31251   1GCRYDED7LZ161786   GM          SILVERADO            Charlotte                NC
31252   1GCRYDED7LZ163599   GM          SILVERADO            WHITE PLAINS             NY
31253   1GCRYDED7LZ164283   GM          SILVERADO            Charlotte                NC
31254   1GCRYDED7LZ164381   GM          SILVERADO            Teterboro                NJ
31255   1GCRYDED7LZ164624   GM          SILVERADO            DENVER                   CO
31256   1GCRYDED7LZ164932   GM          SILVERADO            ORLANDO                  FL
31257   1GCRYDED7LZ165725   GM          SILVERADO            Des Moines               IA
31258   1GCRYDED7LZ166597   GM          SILVERADO            DALLAS                   TX
31259   1GCRYDED7LZ166647   GM          SILVERADO            Atlanta                  GA
31260   1GCRYDED7LZ166924   GM          SILVERADO            HOUSTON                  TX
31261   1GCRYDED7LZ167054   GM          SILVERADO            Los Angeles              CA
31262   1GCRYDED7LZ167345   GM          SILVERADO            Des Moines               IA
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31263   1GCRYDED7LZ168334   GM          SILVERADO            DALLAS                   TX
31264   1GCRYDED7LZ168415   GM          SILVERADO            SAN ANTONIO              TX
31265   1GCRYDED7LZ168771   GM          SILVERADO            DALLAS                   TX
31266   1GCRYDED7LZ168799   GM          SILVERADO            CHICAGO                  IL
31267   1GCRYDED7LZ168978   GM          SILVERADO            Dallas                   TX
31268   1GCRYDED7LZ169192   GM          SILVERADO            Dallas                   TX
31269   1GCRYDED7LZ169225   GM          SILVERADO            Detroit                  MI
31270   1GCRYDED7LZ169256   GM          SILVERADO            CHICAGO                  IL
31271   1GCRYDED7LZ169340   GM          SILVERADO            EULESS                   TX
31272   1GCRYDED7LZ169385   GM          SILVERADO            DFW AIRPORT              TX
31273   1GCRYDED7LZ169743   GM          SILVERADO            DALLAS                   TX
31274   1GCRYDED7LZ169998   GM          SILVERADO            DALLAS FORT WORTH AP     TX
31275   1GCRYDED7LZ170276   GM          SILVERADO            BEAUMONT                 TX
31276   1GCRYDED7LZ170326   GM          SILVERADO            Ocoee                    FL
31277   1GCRYDED7LZ170536   GM          SILVERADO            HOUSTON                  TX
31278   1GCRYDED7LZ170777   GM          SILVERADO            HOUSTON                  TX
31279   1GCRYDED7LZ170911   GM          SILVERADO            Dallas                   TX
31280   1GCRYDED7LZ171007   GM          SILVERADO            EULESS                   TX
31281   1GCRYDED7LZ171041   GM          SILVERADO            ONTARIO                  CA
31282   1GCRYDED7LZ171895   GM          SILVERADO            PORTLAND                 OR
31283   1GCRYDED7LZ172173   GM          SILVERADO            Los Angeles              CA
31284   1GCRYDED7LZ172447   GM          SILVERADO            SACRAMENTO               CA
31285   1GCRYDED7LZ172464   GM          SILVERADO            LOS ANGELES              CA
31286   1GCRYDED7LZ173131   GM          SILVERADO            Salt Lake City           UT
31287   1GCRYDED7LZ173405   GM          SILVERADO            BURBANK                  CA
31288   1GCRYDED7LZ173579   GM          SILVERADO            LAS VEGAS                NV
31289   1GCRYDED7LZ173713   GM          SILVERADO            Portland                 OR
31290   1GCRYDED7LZ174456   GM          SILVERADO            PORTLAND                 OR
31291   1GCRYDED7LZ174540   GM          SILVERADO            LAKEWOOD                 WA
31292   1GCRYDED7LZ175526   GM          SILVERADO            Alexandria               VA
31293   1GCRYDED7LZ196876   GM          SILVERADO            CHARLESTON               SC
31294   1GCRYDED7LZ197154   GM          SILVERADO            PHILADELPHIA             PA
31295   1GCRYDED7LZ197185   GM          SILVERADO            BOSTON                   MA
31296   1GCRYDED7LZ197221   GM          SILVERADO            WEST PALM BEACH          FL
31297   1GCRYDED7LZ197297   GM          SILVERADO            INDIANAPOLIS             IN
31298   1GCRYDED7LZ197302   GM          SILVERADO            ROCHESTER                NY
31299   1GCRYDED7LZ197722   GM          SILVERADO            INDIANAPOLIS             IN
31300   1GCRYDED7LZ197753   GM          SILVERADO            CHICAGO                  IL
31301   1GCRYDED7LZ197946   GM          SILVERADO            LOUISVILLE               KY
31302   1GCRYDED7LZ197977   GM          SILVERADO            RICHMOND                 VA
31303   1GCRYDED7LZ198174   GM          SILVERADO            BOSTON                   MA
31304   1GCRYDED7LZ198224   GM          SILVERADO            HARRISBURG               PA
31305   1GCRYDED7LZ198403   GM          SILVERADO            Newark                   NJ
31306   1GCRYDED7LZ198515   GM          SILVERADO            WARWICK                  RI
31307   1GCRYDED7LZ198885   GM          SILVERADO            PHILADELPHIA             PA
31308   1GCRYDED7LZ198918   GM          SILVERADO            BOSTON                   MA
31309   1GCRYDED7LZ198997   GM          SILVERADO            WICHITA FALLS            TX
31310   1GCRYDED7LZ199017   GM          SILVERADO            WEST PALM BEACH          FL
31311   1GCRYDED7LZ199082   GM          SILVERADO            PROVIDENCE               RI
31312   1GCRYDED7LZ199292   GM          SILVERADO            Huntington Stat          NY
31313   1GCRYDED7LZ199356   GM          SILVERADO            SAINT PAUL               MN
31314   1GCRYDED7LZ199390   GM          SILVERADO            CHARLESTON               WV
31315   1GCRYDED7LZ199549   GM          SILVERADO            Newark                   NJ
31316   1GCRYDED7LZ199566   GM          SILVERADO            WEST COLUMBIA            SC
31317   1GCRYDED7LZ199602   GM          SILVERADO            WHITE PLAINS             NY
31318   1GCRYDED7LZ199650   GM          SILVERADO            Latham                   NY
31319   1GCRYDED7LZ199759   GM          SILVERADO            BOSTON                   MA
31320   1GCRYDED7LZ200036   GM          SILVERADO            ALBANY                   NY
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31321   1GCRYDED7LZ200070   GM          SILVERADO            Syracuse                 NY
31322   1GCRYDED7LZ200148   GM          SILVERADO            LOUISVILLE               KY
31323   1GCRYDED7LZ200182   GM          SILVERADO            Ocoee                    FL
31324   1GCRYDED7LZ200313   GM          SILVERADO            HARTFORD                 CT
31325   1GCRYDED7LZ200358   GM          SILVERADO            PHOENIX                  AZ
31326   1GCRYDED7LZ200604   GM          SILVERADO            WHITE PLAINS             NY
31327   1GCRYDED7LZ200652   GM          SILVERADO            Latham                   NY
31328   1GCRYDED7LZ200733   GM          SILVERADO            FRESNO                   CA
31329   1GCRYDED7LZ201042   GM          SILVERADO            STERLING                 VA
31330   1GCRYDED7LZ201333   GM          SILVERADO            Phoenix                  AZ
31331   1GCRYDED7LZ201543   GM          SILVERADO            Denver                   CO
31332   1GCRYDED7LZ201610   GM          SILVERADO            PHOENIX                  AZ
31333   1GCRYDED7LZ202126   GM          SILVERADO            Kansas City              MO
31334   1GCRYDED7LZ202630   GM          SILVERADO            PHILADELPHIA             PA
31335   1GCRYDED7LZ202725   GM          SILVERADO            PHILADELPHIA             PA
31336   1GCRYDED7LZ204376   GM          SILVERADO            LOS ANGELES              CA
31337   1GCRYDED7LZ205527   GM          SILVERADO            BLOOMINGTON              IL
31338   1GCRYDED7LZ205608   GM          SILVERADO            Newark                   NJ
31339   1GCRYDED7LZ205866   GM          SILVERADO            PHILADELPHIA             PA
31340   1GCRYDED7LZ206192   GM          SILVERADO            DETROIT                  MI
31341   1GCRYDED7LZ207293   GM          SILVERADO            Atlanta                  GA
31342   1GCRYDED7LZ207360   GM          SILVERADO            SAINT LOUIS              MO
31343   1GCRYDED7LZ207410   GM          SILVERADO            SAINT LOUIS              MO
31344   1GCRYDED7LZ207424   GM          SILVERADO            DETROIT                  MI
31345   1GCRYDED7LZ207455   GM          SILVERADO            SACRAMENTO               CA
31346   1GCRYDED7LZ207584   GM          SILVERADO            Warwick                  RI
31347   1GCRYDED7LZ208122   GM          SILVERADO            DETROIT                  MI
31348   1GCRYDED7LZ210680   GM          SILVERADO            ORLANDO                  FL
31349   1GCRYDED7LZ211568   GM          SILVERADO            Miami                    FL
31350   1GCRYDED7LZ217175   GM          SILVERADO            BUFFALO                  NY
31351   1GCRYDED7LZ217337   GM          SILVERADO            Wilmington               NC
31352   1GCRYDED7LZ218696   GM          SILVERADO            BUFFALO                  NY
31353   1GCRYDED7LZ219055   GM          SILVERADO            Detroit                  MI
31354   1GCRYDED7LZ220478   GM          SILVERADO            BOSTON                   MA
31355   1GCRYDED7LZ220867   GM          SILVERADO            CHICAGO                  IL
31356   1GCRYDED7LZ224675   GM          SILVERADO            MILWAUKEE                WI
31357   1GCRYDED7LZ226541   GM          SILVERADO            WARWICK                  RI
31358   1GCRYDED7LZ237880   GM          SILVERADO            Hebron                   KY
31359   1GCRYDED7LZ239967   GM          SILVERADO            KNOXVILLE                TN
31360   1GCRYDED7LZ241900   GM          SILVERADO            CLEVELAND                OH
31361   1GCRYDED7LZ245011   GM          SILVERADO            DETROIT                  MI
31362   1GCRYDED7LZ245705   GM          SILVERADO            LOUISVILLE               KY
31363   1GCRYDED7LZ249981   GM          SILVERADO            FRESNO                   CA
31364   1GCRYDED7LZ255019   GM          SILVERADO            SAN FRANCISCO            CA
31365   1GCRYDED7LZ255411   GM          SILVERADO            SAN FRANCISCO            CA
31366   1GCRYDED7LZ256882   GM          SILVERADO            BURLINGAME               CA
31367   1GCRYDED7LZ257191   GM          SILVERADO            BURLINGAME               CA
31368   1GCRYDED7LZ258454   GM          SILVERADO            SACRAMENTO               CA
31369   1GCRYDED7LZ258941   GM          SILVERADO            WEST PALM BEACH          FL
31370   1GCRYDED8LZ132264   GM          SILVERADO            Greensboro               NC
31371   1GCRYDED8LZ132510   GM          SILVERADO            MIAMI                    FL
31372   1GCRYDED8LZ133303   GM          SILVERADO            Hapeville                GA
31373   1GCRYDED8LZ133995   GM          SILVERADO            MIAMI                    FL
31374   1GCRYDED8LZ135102   GM          SILVERADO            PHOENIX                  AZ
31375   1GCRYDED8LZ146696   GM          SILVERADO            ORLANDO                  FL
31376   1GCRYDED8LZ148450   GM          SILVERADO            JACKSONVILLE             FL
31377   1GCRYDED8LZ148917   GM          SILVERADO            Atlanta                  GA
31378   1GCRYDED8LZ149209   GM          SILVERADO            Houston                  TX
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31379   1GCRYDED8LZ149372   GM          SILVERADO            SOUTHEAST DST OFFC       OK
31380   1GCRYDED8LZ149517   GM          SILVERADO            HOUSTON                  TX
31381   1GCRYDED8LZ149548   GM          SILVERADO            DALLAS                   TX
31382   1GCRYDED8LZ149632   GM          SILVERADO            EL PASO                  TX
31383   1GCRYDED8LZ149789   GM          SILVERADO            Phoenix                  AZ
31384   1GCRYDED8LZ150313   GM          SILVERADO            WOODSON TERRACE          MO
31385   1GCRYDED8LZ150926   GM          SILVERADO            Windsor Locks            CT
31386   1GCRYDED8LZ151543   GM          SILVERADO            EL PASO                  TX
31387   1GCRYDED8LZ151719   GM          SILVERADO            HOUSTON                  TX
31388   1GCRYDED8LZ151963   GM          SILVERADO            MIDLAND                  TX
31389   1GCRYDED8LZ152028   GM          SILVERADO            Cincinnati               OH
31390   1GCRYDED8LZ152224   GM          SILVERADO            HOUSTON                  TX
31391   1GCRYDED8LZ152613   GM          SILVERADO            HOUSTON                  TX
31392   1GCRYDED8LZ152854   GM          SILVERADO            HOUSTON                  TX
31393   1GCRYDED8LZ152997   GM          SILVERADO            STERLING                 VA
31394   1GCRYDED8LZ153003   GM          SILVERADO            SALT LAKE CITY           US
31395   1GCRYDED8LZ153289   GM          SILVERADO            EL PASO                  TX
31396   1GCRYDED8LZ153485   GM          SILVERADO            AUSTIN                   TX
31397   1GCRYDED8LZ153504   GM          SILVERADO            Midland                  TX
31398   1GCRYDED8LZ153941   GM          SILVERADO            Albuquerque              NM
31399   1GCRYDED8LZ153969   GM          SILVERADO            Lubbock                  TX
31400   1GCRYDED8LZ154054   GM          SILVERADO            EL PASO                  TX
31401   1GCRYDED8LZ154166   GM          SILVERADO            SAN DIEGO                CA
31402   1GCRYDED8LZ154202   GM          SILVERADO            HANOVER                  MD
31403   1GCRYDED8LZ154278   GM          SILVERADO            EL PASO                  TX
31404   1GCRYDED8LZ154393   GM          SILVERADO            HOUSTON                  TX
31405   1GCRYDED8LZ154457   GM          SILVERADO            Norfolk                  VA
31406   1GCRYDED8LZ154667   GM          SILVERADO            Phoenix                  AZ
31407   1GCRYDED8LZ154734   GM          SILVERADO            SANTA ANA                CA
31408   1GCRYDED8LZ154748   GM          SILVERADO            San Antonio              TX
31409   1GCRYDED8LZ154958   GM          SILVERADO            OKLAHOMA CITY            OK
31410   1GCRYDED8LZ155124   GM          SILVERADO            DALLAS                   TX
31411   1GCRYDED8LZ155334   GM          SILVERADO            BISMARCK                 ND
31412   1GCRYDED8LZ155625   GM          SILVERADO            TAMPA                    FL
31413   1GCRYDED8LZ155687   GM          SILVERADO            SOUTHEAST DST OFFC       OK
31414   1GCRYDED8LZ155852   GM          SILVERADO            EL PASO                  TX
31415   1GCRYDED8LZ155897   GM          SILVERADO            Dallas                   TX
31416   1GCRYDED8LZ156046   GM          SILVERADO            EL PASO                  TX
31417   1GCRYDED8LZ156287   GM          SILVERADO            HOUSTON                  TX
31418   1GCRYDED8LZ156399   GM          SILVERADO            Boise                    ID
31419   1GCRYDED8LZ156449   GM          SILVERADO            CLEVELAND                OH
31420   1GCRYDED8LZ156709   GM          SILVERADO            DALLAS                   TX
31421   1GCRYDED8LZ157052   GM          SILVERADO            CHEEKTOWAGA              NY
31422   1GCRYDED8LZ157648   GM          SILVERADO            Denver                   CO
31423   1GCRYDED8LZ158024   GM          SILVERADO            EGG HARBOR TOWN          NJ
31424   1GCRYDED8LZ158072   GM          SILVERADO            DENVER                   CO
31425   1GCRYDED8LZ158086   GM          SILVERADO            DENVER                   CO
31426   1GCRYDED8LZ158217   GM          SILVERADO            SALT LAKE CITY           US
31427   1GCRYDED8LZ159450   GM          SILVERADO            DENVER                   CO
31428   1GCRYDED8LZ160078   GM          SILVERADO            BURBANK                  CA
31429   1GCRYDED8LZ160162   GM          SILVERADO            GUNNISON                 CO
31430   1GCRYDED8LZ160470   GM          SILVERADO            DFW AIRPORT              TX
31431   1GCRYDED8LZ160971   GM          SILVERADO            Denver                   CO
31432   1GCRYDED8LZ161182   GM          SILVERADO            KENNER                   LA
31433   1GCRYDED8LZ161344   GM          SILVERADO            LAS VEGAS                NV
31434   1GCRYDED8LZ161988   GM          SILVERADO            NEW ORLEANS              LA
31435   1GCRYDED8LZ162400   GM          SILVERADO            DENVER                   CO
31436   1GCRYDED8LZ162736   GM          SILVERADO            DENVER                   CO
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31437   1GCRYDED8LZ163563   GM          SILVERADO            Miami                    FL
31438   1GCRYDED8LZ163613   GM          SILVERADO            Salt Lake City           UT
31439   1GCRYDED8LZ164048   GM          SILVERADO            Charlotte                NC
31440   1GCRYDED8LZ164681   GM          SILVERADO            DENVER                   CO
31441   1GCRYDED8LZ164843   GM          SILVERADO            HOUSTON                  TX
31442   1GCRYDED8LZ165216   GM          SILVERADO            DALLAS                   TX
31443   1GCRYDED8LZ165345   GM          SILVERADO            LAFAYETTE                LA
31444   1GCRYDED8LZ165412   GM          SILVERADO            HOUSTON                  TX
31445   1GCRYDED8LZ165510   GM          SILVERADO            DALLAS                   TX
31446   1GCRYDED8LZ165636   GM          SILVERADO            SAINT PAUL               MN
31447   1GCRYDED8LZ165877   GM          SILVERADO            HOUSTON                  TX
31448   1GCRYDED8LZ166026   GM          SILVERADO            HOUSTON                  TX
31449   1GCRYDED8LZ166057   GM          SILVERADO            DALLAS                   TX
31450   1GCRYDED8LZ166317   GM          SILVERADO            PHOENIX                  AZ
31451   1GCRYDED8LZ166608   GM          SILVERADO            Dallas                   TX
31452   1GCRYDED8LZ166995   GM          SILVERADO            HOUSTON                  TX
31453   1GCRYDED8LZ167399   GM          SILVERADO            Dallas                   TX
31454   1GCRYDED8LZ167547   GM          SILVERADO            HOUSTON                  TX
31455   1GCRYDED8LZ167550   GM          SILVERADO            COLORADO SPRING          CO
31456   1GCRYDED8LZ168195   GM          SILVERADO            ONTARIO                  CA
31457   1GCRYDED8LZ168827   GM          SILVERADO            Midland                  TX
31458   1GCRYDED8LZ168990   GM          SILVERADO            EULESS                   TX
31459   1GCRYDED8LZ169069   GM          SILVERADO            WEST PALM BEACH          FL
31460   1GCRYDED8LZ169105   GM          SILVERADO            HOUSTON                  TX
31461   1GCRYDED8LZ169363   GM          SILVERADO            San Antonio              TX
31462   1GCRYDED8LZ169914   GM          SILVERADO            HOUSTON                  TX
31463   1GCRYDED8LZ170237   GM          SILVERADO            Dallas                   TX
31464   1GCRYDED8LZ170609   GM          SILVERADO            HOUSTON                  TX
31465   1GCRYDED8LZ170898   GM          SILVERADO            Dallas                   TX
31466   1GCRYDED8LZ170965   GM          SILVERADO            DALLAS                   TX
31467   1GCRYDED8LZ171145   GM          SILVERADO            Dallas                   TX
31468   1GCRYDED8LZ171159   GM          SILVERADO            DALLAS                   TX
31469   1GCRYDED8LZ171193   GM          SILVERADO            DALLAS                   TX
31470   1GCRYDED8LZ171291   GM          SILVERADO            HOUSTON                  TX
31471   1GCRYDED8LZ171341   GM          SILVERADO            HOUSTON                  TX
31472   1GCRYDED8LZ171436   GM          SILVERADO            LAS VEGAS                NV
31473   1GCRYDED8LZ171503   GM          SILVERADO            LAS VEGAS                NV
31474   1GCRYDED8LZ171646   GM          SILVERADO            Portland                 OR
31475   1GCRYDED8LZ171937   GM          SILVERADO            PORTLAND                 OR
31476   1GCRYDED8LZ171940   GM          SILVERADO            LAS VEGAS                NV
31477   1GCRYDED8LZ172893   GM          SILVERADO            Hayward                  CA
31478   1GCRYDED8LZ173834   GM          SILVERADO            PHOENIX                  AZ
31479   1GCRYDED8LZ174627   GM          SILVERADO            SAN FRANCISCO            CA
31480   1GCRYDED8LZ174692   GM          SILVERADO            LAS VEGAS                NV
31481   1GCRYDED8LZ174725   GM          SILVERADO            Oakland                  CA
31482   1GCRYDED8LZ174773   GM          SILVERADO            albuquerque              nm
31483   1GCRYDED8LZ185501   GM          SILVERADO            BURBANK                  CA
31484   1GCRYDED8LZ196904   GM          SILVERADO            KANSAS CITY              MO
31485   1GCRYDED8LZ197311   GM          SILVERADO            KNOXVILLE                TN
31486   1GCRYDED8LZ197504   GM          SILVERADO            ROCHESTER                NY
31487   1GCRYDED8LZ197647   GM          SILVERADO            NEW BERN                 NC
31488   1GCRYDED8LZ197812   GM          SILVERADO            CLEVELAND                OH
31489   1GCRYDED8LZ197986   GM          SILVERADO            WEST COLUMBIA            SC
31490   1GCRYDED8LZ198233   GM          SILVERADO            HARRISBURG               PA
31491   1GCRYDED8LZ198510   GM          SILVERADO            Richmond                 VA
31492   1GCRYDED8LZ198524   GM          SILVERADO            Tallahassee              FL
31493   1GCRYDED8LZ198541   GM          SILVERADO            RONKONKOMA               NY
31494   1GCRYDED8LZ198555   GM          SILVERADO            CLEVELAND                OH
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31495   1GCRYDED8LZ198796   GM          SILVERADO            WEST COLUMBIA            SC
31496   1GCRYDED8LZ198927   GM          SILVERADO            CHICAGO                  IL
31497   1GCRYDED8LZ199012   GM          SILVERADO            NORFOLK                  VA
31498   1GCRYDED8LZ199091   GM          SILVERADO            COLUMBUS                 OH
31499   1GCRYDED8LZ199169   GM          SILVERADO            WEST COLUMBIA            SC
31500   1GCRYDED8LZ199379   GM          SILVERADO            NORFOLK                  VA
31501   1GCRYDED8LZ199480   GM          SILVERADO            NORFOLK                  VA
31502   1GCRYDED8LZ199639   GM          SILVERADO            NEW BERN                 NC
31503   1GCRYDED8LZ199768   GM          SILVERADO            COLUMBUS                 OH
31504   1GCRYDED8LZ200174   GM          SILVERADO            Latham                   NY
31505   1GCRYDED8LZ200207   GM          SILVERADO            St. Louis                MO
31506   1GCRYDED8LZ200756   GM          SILVERADO            KANSAS CITY              MO
31507   1GCRYDED8LZ200997   GM          SILVERADO            CLEVELAND                OH
31508   1GCRYDED8LZ201017   GM          SILVERADO            PHOENIX                  AZ
31509   1GCRYDED8LZ201034   GM          SILVERADO            KANSAS CITY              MO
31510   1GCRYDED8LZ201177   GM          SILVERADO            SACRAMENTO               CA
31511   1GCRYDED8LZ201406   GM          SILVERADO            St. Louis                MO
31512   1GCRYDED8LZ201499   GM          SILVERADO            PHILADELPHIA             PA
31513   1GCRYDED8LZ201910   GM          SILVERADO            LAS VEGAS                NV
31514   1GCRYDED8LZ202118   GM          SILVERADO            Kansas City              MO
31515   1GCRYDED8LZ202474   GM          SILVERADO            PHILADELPHIA             PA
31516   1GCRYDED8LZ205553   GM          SILVERADO            LAUREL                   MD
31517   1GCRYDED8LZ205861   GM          SILVERADO            LAS VEGAS                NV
31518   1GCRYDED8LZ207335   GM          SILVERADO            PENSACOLA                FL
31519   1GCRYDED8LZ207402   GM          SILVERADO            STERLING                 VA
31520   1GCRYDED8LZ209649   GM          SILVERADO            WEST PALM BEACH          FL
31521   1GCRYDED8LZ217346   GM          SILVERADO            HARTFORD                 CT
31522   1GCRYDED8LZ218559   GM          SILVERADO            BUFFALO                  NY
31523   1GCRYDED8LZ224541   GM          SILVERADO            STERLING                 VA
31524   1GCRYDED8LZ227150   GM          SILVERADO            San Diego                CA
31525   1GCRYDED8LZ235801   GM          SILVERADO            CLEVELAND                OH
31526   1GCRYDED8LZ236852   GM          SILVERADO            Tulsa                    OK
31527   1GCRYDED8LZ243574   GM          SILVERADO            Bridgeton                MO
31528   1GCRYDED8LZ250752   GM          SILVERADO            SAN FRANCISCO            CA
31529   1GCRYDED8LZ251383   GM          SILVERADO            SEATAC                   WA
31530   1GCRYDED8LZ252565   GM          SILVERADO            SAINT LOUIS              MO
31531   1GCRYDED8LZ254400   GM          SILVERADO            FRESNO                   CA
31532   1GCRYDED8LZ256776   GM          SILVERADO            BURLINGAME               CA
31533   1GCRYDED8LZ258771   GM          SILVERADO            FRESNO                   CA
31534   1GCRYDED9LZ129048   GM          SILVERADO            MIAMI                    FL
31535   1GCRYDED9LZ129972   GM          SILVERADO            FORT MYERS               FL
31536   1GCRYDED9LZ130927   GM          SILVERADO            MIAMI                    FL
31537   1GCRYDED9LZ135481   GM          SILVERADO            Davie                    FL
31538   1GCRYDED9LZ143497   GM          SILVERADO            JACKSONVILLE             FL
31539   1GCRYDED9LZ143824   GM          SILVERADO            Atlanta                  GA
31540   1GCRYDED9LZ144360   GM          SILVERADO            FORT MYERS               FL
31541   1GCRYDED9LZ144519   GM          SILVERADO            SAVANNAH                 GA
31542   1GCRYDED9LZ145203   GM          SILVERADO            Louisville               KY
31543   1GCRYDED9LZ147081   GM          SILVERADO            ORLANDO                  FL
31544   1GCRYDED9LZ147517   GM          SILVERADO            PHOENIX                  AZ
31545   1GCRYDED9LZ147789   GM          SILVERADO            ORLANDO                  FL
31546   1GCRYDED9LZ147954   GM          SILVERADO            Atlanta                  GA
31547   1GCRYDED9LZ148120   GM          SILVERADO            Atlanta                  GA
31548   1GCRYDED9LZ148618   GM          SILVERADO            WEST PALM BEACH          FL
31549   1GCRYDED9LZ148781   GM          SILVERADO            WEST COLUMBIA            SC
31550   1GCRYDED9LZ149638   GM          SILVERADO            LAS VEGAS                NV
31551   1GCRYDED9LZ149817   GM          SILVERADO            HOUSTON                  TX
31552   1GCRYDED9LZ150529   GM          SILVERADO            San Antonio              TX
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31553   1GCRYDED9LZ150613   GM          SILVERADO            BURBANK                  CA
31554   1GCRYDED9LZ150711   GM          SILVERADO            EULESS                   TX
31555   1GCRYDED9LZ151177   GM          SILVERADO            HOUSTON                  TX
31556   1GCRYDED9LZ151339   GM          SILVERADO            EULESS                   TX
31557   1GCRYDED9LZ151793   GM          SILVERADO            San Antonio              TX
31558   1GCRYDED9LZ152183   GM          SILVERADO            SAN ANTONIO              TX
31559   1GCRYDED9LZ152863   GM          SILVERADO            EL PASO                  TX
31560   1GCRYDED9LZ152958   GM          SILVERADO            Dallas                   TX
31561   1GCRYDED9LZ153155   GM          SILVERADO            AUSTIN                   TX
31562   1GCRYDED9LZ153186   GM          SILVERADO            SAN DIEGO                CA
31563   1GCRYDED9LZ153558   GM          SILVERADO            EULESS                   TX
31564   1GCRYDED9LZ153883   GM          SILVERADO            SAN ANTONIO              TX
31565   1GCRYDED9LZ154841   GM          SILVERADO            Midland                  TX
31566   1GCRYDED9LZ154886   GM          SILVERADO            FRESNO                   CA
31567   1GCRYDED9LZ155052   GM          SILVERADO            HOUSTON                  TX
31568   1GCRYDED9LZ155567   GM          SILVERADO            PENSACOLA                FL
31569   1GCRYDED9LZ155780   GM          SILVERADO            KILLEEN                  US
31570   1GCRYDED9LZ155813   GM          SILVERADO            Dallas                   TX
31571   1GCRYDED9LZ155956   GM          SILVERADO            OAKLAND                  CA
31572   1GCRYDED9LZ156105   GM          SILVERADO            DALLAS                   TX
31573   1GCRYDED9LZ156170   GM          SILVERADO            KNOXVILLE                TN
31574   1GCRYDED9LZ156346   GM          SILVERADO            DALLAS                   TX
31575   1GCRYDED9LZ156802   GM          SILVERADO            AUSTIN                   TX
31576   1GCRYDED9LZ157397   GM          SILVERADO            Miami                    FL
31577   1GCRYDED9LZ157528   GM          SILVERADO            DENVER                   CO
31578   1GCRYDED9LZ157836   GM          SILVERADO            AUSTIN                   TX
31579   1GCRYDED9LZ157965   GM          SILVERADO            DENVER                   CO
31580   1GCRYDED9LZ158064   GM          SILVERADO            Morrisville              NC
31581   1GCRYDED9LZ158324   GM          SILVERADO            SEATTLE                  WA
31582   1GCRYDED9LZ159389   GM          SILVERADO            DENVER                   CO
31583   1GCRYDED9LZ159683   GM          SILVERADO            LAS VEGAS                NV
31584   1GCRYDED9LZ159988   GM          SILVERADO            DENVER                   CO
31585   1GCRYDED9LZ160154   GM          SILVERADO            DENVER                   CO
31586   1GCRYDED9LZ160509   GM          SILVERADO            Teterboro                NJ
31587   1GCRYDED9LZ161854   GM          SILVERADO            Las Vegas                NV
31588   1GCRYDED9LZ162048   GM          SILVERADO            PHOENIX                  AZ
31589   1GCRYDED9LZ162213   GM          SILVERADO            CLEVELAND                OH
31590   1GCRYDED9LZ163488   GM          SILVERADO            TAMPA                    FL
31591   1GCRYDED9LZ163751   GM          SILVERADO            DENVER                   CO
31592   1GCRYDED9LZ164222   GM          SILVERADO            GYPSUM                   CO
31593   1GCRYDED9LZ164382   GM          SILVERADO            WEST PALM BEACH          FL
31594   1GCRYDED9LZ164754   GM          SILVERADO            BUFFALO                  NY
31595   1GCRYDED9LZ165077   GM          SILVERADO            Dallas                   TX
31596   1GCRYDED9LZ165368   GM          SILVERADO            Dallas                   TX
31597   1GCRYDED9LZ165791   GM          SILVERADO            Dallas                   TX
31598   1GCRYDED9LZ165838   GM          SILVERADO            HOUSTON                  TX
31599   1GCRYDED9LZ165841   GM          SILVERADO            SHREVEPORT               LA
31600   1GCRYDED9LZ166231   GM          SILVERADO            OKLAHOMA CITY            OK
31601   1GCRYDED9LZ166293   GM          SILVERADO            DALLAS                   TX
31602   1GCRYDED9LZ166391   GM          SILVERADO            RENO                     NV
31603   1GCRYDED9LZ166908   GM          SILVERADO            AUSTIN                   TX
31604   1GCRYDED9LZ167007   GM          SILVERADO            Dallas                   TX
31605   1GCRYDED9LZ167153   GM          SILVERADO            DALLAS                   TX
31606   1GCRYDED9LZ167346   GM          SILVERADO            DALLAS                   TX
31607   1GCRYDED9LZ167458   GM          SILVERADO            SAN ANTONIO              TX
31608   1GCRYDED9LZ167718   GM          SILVERADO            AUSTIN                   TX
31609   1GCRYDED9LZ167850   GM          SILVERADO            DENVER                   CO
31610   1GCRYDED9LZ168285   GM          SILVERADO            BALTIMORE                MD
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31611   1GCRYDED9LZ168318   GM          SILVERADO            Des Moines               IA
31612   1GCRYDED9LZ168397   GM          SILVERADO            Hebron                   KY
31613   1GCRYDED9LZ168478   GM          SILVERADO            DES MOINES               IA
31614   1GCRYDED9LZ168562   GM          SILVERADO            Dallas                   TX
31615   1GCRYDED9LZ168707   GM          SILVERADO            ONTARIO                  CA
31616   1GCRYDED9LZ168934   GM          SILVERADO            HOUSTON                  TX
31617   1GCRYDED9LZ169064   GM          SILVERADO            Slidell                  LA
31618   1GCRYDED9LZ169517   GM          SILVERADO            FRESNO                   CA
31619   1GCRYDED9LZ169582   GM          SILVERADO            LITTLE ROCK              AR
31620   1GCRYDED9LZ169954   GM          SILVERADO            Atlanta                  GA
31621   1GCRYDED9LZ170327   GM          SILVERADO            KANSAS CITY              MO
31622   1GCRYDED9LZ170764   GM          SILVERADO            HOUSTON                  TX
31623   1GCRYDED9LZ170845   GM          SILVERADO            BURBANK                  CA
31624   1GCRYDED9LZ170862   GM          SILVERADO            SALT LAKE CITY           UT
31625   1GCRYDED9LZ170957   GM          SILVERADO            Houston                  TX
31626   1GCRYDED9LZ171154   GM          SILVERADO            HOUSTON                  TX
31627   1GCRYDED9LZ171171   GM          SILVERADO            SAN ANTONIO              TX
31628   1GCRYDED9LZ171302   GM          SILVERADO            Dallas                   TX
31629   1GCRYDED9LZ171350   GM          SILVERADO            FRESNO                   CA
31630   1GCRYDED9LZ171686   GM          SILVERADO            SAN JOSE                 CA
31631   1GCRYDED9LZ171879   GM          SILVERADO            Reno                     NV
31632   1GCRYDED9LZ173213   GM          SILVERADO            LAS VEGAS                NV
31633   1GCRYDED9LZ173521   GM          SILVERADO            Salt Lake City           UT
31634   1GCRYDED9LZ173647   GM          SILVERADO            Arlington                WA
31635   1GCRYDED9LZ174099   GM          SILVERADO            BOISE                    US
31636   1GCRYDED9LZ186690   GM          SILVERADO            DALLAS                   TX
31637   1GCRYDED9LZ196975   GM          SILVERADO            NORFOLK                  VA
31638   1GCRYDED9LZ197043   GM          SILVERADO            KENNER                   LA
31639   1GCRYDED9LZ197284   GM          SILVERADO            Schaumburg               IL
31640   1GCRYDED9LZ197513   GM          SILVERADO            WEST COLUMBIA            SC
31641   1GCRYDED9LZ197625   GM          SILVERADO            HARTFORD                 CT
31642   1GCRYDED9LZ197740   GM          SILVERADO            Massapequa               NY
31643   1GCRYDED9LZ198063   GM          SILVERADO            BUFFALO                  NY
31644   1GCRYDED9LZ198127   GM          SILVERADO            Rochester                NY
31645   1GCRYDED9LZ198452   GM          SILVERADO            Portland                 ME
31646   1GCRYDED9LZ198547   GM          SILVERADO            Teterboro                NJ
31647   1GCRYDED9LZ198967   GM          SILVERADO            Landover Hills           MD
31648   1GCRYDED9LZ198984   GM          SILVERADO            PHILADELPHIA             PA
31649   1GCRYDED9LZ199083   GM          SILVERADO            Charlotte                NC
31650   1GCRYDED9LZ199097   GM          SILVERADO            WINDSOR LOCKS            CT
31651   1GCRYDED9LZ199181   GM          SILVERADO            KERNERSVILLE             NC
31652   1GCRYDED9LZ199360   GM          SILVERADO            NEWARK                   NJ
31653   1GCRYDED9LZ199391   GM          SILVERADO            WHITE PLAINS             NY
31654   1GCRYDED9LZ199472   GM          SILVERADO            MILWAUKEE                WI
31655   1GCRYDED9LZ199519   GM          SILVERADO            ALBANY                   N
31656   1GCRYDED9LZ199651   GM          SILVERADO            Windsor Locks            CT
31657   1GCRYDED9LZ199701   GM          SILVERADO            Hebron                   KY
31658   1GCRYDED9LZ199794   GM          SILVERADO            HARTFORD                 CT
31659   1GCRYDED9LZ199813   GM          SILVERADO            COLUMBIA                 SC
31660   1GCRYDED9LZ199861   GM          SILVERADO            CLEVELAND                OH
31661   1GCRYDED9LZ199925   GM          SILVERADO            NORFOLK                  VA
31662   1GCRYDED9LZ200104   GM          SILVERADO            WEST COLUMBIA            SC
31663   1GCRYDED9LZ200152   GM          SILVERADO            NEW BERN                 NC
31664   1GCRYDED9LZ200166   GM          SILVERADO            LOUISVILLE               KY
31665   1GCRYDED9LZ200295   GM          SILVERADO            LOUISVILLE               KY
31666   1GCRYDED9LZ200328   GM          SILVERADO            Louisville               KY
31667   1GCRYDED9LZ200345   GM          SILVERADO            CHICAGO                  IL
31668   1GCRYDED9LZ200362   GM          SILVERADO            LAS VEGAS                NV
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31669   1GCRYDED9LZ200426   GM          SILVERADO            WICHITA FALLS            TX
31670   1GCRYDED9LZ200488   GM          SILVERADO            CLEVELAND                OH
31671   1GCRYDED9LZ200622   GM          SILVERADO            St. Louis                MO
31672   1GCRYDED9LZ200636   GM          SILVERADO            CLEVELAND                OH
31673   1GCRYDED9LZ200667   GM          SILVERADO            DES MOINES               IA
31674   1GCRYDED9LZ200989   GM          SILVERADO            BALTIMORE                MD
31675   1GCRYDED9LZ201348   GM          SILVERADO            FORT LAUDERDALE          FL
31676   1GCRYDED9LZ201592   GM          SILVERADO            PHOENIX                  AZ
31677   1GCRYDED9LZ201821   GM          SILVERADO            HANOVER                  MD
31678   1GCRYDED9LZ201902   GM          SILVERADO            SACRAMENTO               CA
31679   1GCRYDED9LZ201947   GM          SILVERADO            PHILADELPHIA             PA
31680   1GCRYDED9LZ202032   GM          SILVERADO            GRAND RAPIDS             MI
31681   1GCRYDED9LZ202189   GM          SILVERADO            DETROIT                  MI
31682   1GCRYDED9LZ202502   GM          SILVERADO            PHOENIX                  AZ
31683   1GCRYDED9LZ202516   GM          SILVERADO            LAS VEGAS                NV
31684   1GCRYDED9LZ202676   GM          SILVERADO            NEWPORT BEACH            CA
31685   1GCRYDED9LZ203097   GM          SILVERADO            Jamaica                  NY
31686   1GCRYDED9LZ205481   GM          SILVERADO            RALEIGH                  NC
31687   1GCRYDED9LZ205724   GM          SILVERADO            Des Moines               IA
31688   1GCRYDED9LZ205738   GM          SILVERADO            DALLAS                   TX
31689   1GCRYDED9LZ207649   GM          SILVERADO            NEW BERN                 NC
31690   1GCRYDED9LZ211989   GM          SILVERADO            Tampa                    FL
31691   1GCRYDED9LZ212947   GM          SILVERADO            WEST PALM BEACH          FL
31692   1GCRYDED9LZ214486   GM          SILVERADO            HARTFORD                 CT
31693   1GCRYDED9LZ221289   GM          SILVERADO            PAWTUCKET                RI
31694   1GCRYDED9LZ223544   GM          SILVERADO            BUFFALO                  NY
31695   1GCRYDED9LZ225410   GM          SILVERADO            SYRACUSE                 NY
31696   1GCRYDED9LZ228632   GM          SILVERADO            Tulsa                    OK
31697   1GCRYDED9LZ234902   GM          SILVERADO            LOUISVILLE               KY
31698   1GCRYDED9LZ236729   GM          SILVERADO            INDIANAPOLIS             IN
31699   1GCRYDED9LZ243034   GM          SILVERADO            LOUISVILLE               KY
31700   1GCRYDED9LZ248332   GM          SILVERADO            DETROIT                  MI
31701   1GCRYDED9LZ249366   GM          SILVERADO            WARWICK                  RI
31702   1GCRYDED9LZ251652   GM          SILVERADO            SACRAMENTO               CA
31703   1GCRYDED9LZ252462   GM          SILVERADO            LOUISVILLE               KY
31704   1GCRYDED9LZ257063   GM          SILVERADO            FRESNO                   CA
31705   1GCRYDED9LZ259511   GM          SILVERADO            SACRAMENTO               CA
31706   1GCRYDEDXLZ130614   GM          SILVERADO            WEST PALM BEACH          FL
31707   1GCRYDEDXLZ135246   GM          SILVERADO            MIAMI                    FL
31708   1GCRYDEDXLZ135554   GM          SILVERADO            DALLAS                   TX
31709   1GCRYDEDXLZ143895   GM          SILVERADO            MEMPHIS                  TN
31710   1GCRYDEDXLZ145632   GM          SILVERADO            Jacksonville             FL
31711   1GCRYDEDXLZ146408   GM          SILVERADO            Atlanta                  GA
31712   1GCRYDEDXLZ146862   GM          SILVERADO            FORT MYERS               FL
31713   1GCRYDEDXLZ147686   GM          SILVERADO            Atlanta                  GA
31714   1GCRYDEDXLZ148515   GM          SILVERADO            SANTA ANA                CA
31715   1GCRYDEDXLZ149213   GM          SILVERADO            SOUTHEAST DST OFFC       OK
31716   1GCRYDEDXLZ149339   GM          SILVERADO            HOUSTON                  TX
31717   1GCRYDEDXLZ149597   GM          SILVERADO            Indianapolis             IN
31718   1GCRYDEDXLZ150247   GM          SILVERADO            Syracuse                 NY
31719   1GCRYDEDXLZ150328   GM          SILVERADO            DETROIT                  MI
31720   1GCRYDEDXLZ150362   GM          SILVERADO            San Antonio              TX
31721   1GCRYDEDXLZ150748   GM          SILVERADO            Dallas                   TX
31722   1GCRYDEDXLZ152080   GM          SILVERADO            Morrisville              NC
31723   1GCRYDEDXLZ152273   GM          SILVERADO            Norfolk                  VA
31724   1GCRYDEDXLZ152466   GM          SILVERADO            Middletown               PA
31725   1GCRYDEDXLZ152774   GM          SILVERADO            DALLAS                   TX
31726   1GCRYDEDXLZ152791   GM          SILVERADO            Amarillo                 TX
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31727   1GCRYDEDXLZ153035   GM          SILVERADO            ORLANDO                  FL
31728   1GCRYDEDXLZ153293   GM          SILVERADO            EULESS                   TX
31729   1GCRYDEDXLZ153648   GM          SILVERADO            DALLAS                   TX
31730   1GCRYDEDXLZ154010   GM          SILVERADO            SAN ANTONIO              TX
31731   1GCRYDEDXLZ154038   GM          SILVERADO            CHATTANOOGA              TN
31732   1GCRYDEDXLZ154203   GM          SILVERADO            MIDLAND                  TX
31733   1GCRYDEDXLZ154492   GM          SILVERADO            EULESS                   TX
31734   1GCRYDEDXLZ154783   GM          SILVERADO            DALLAS                   TX
31735   1GCRYDEDXLZ154802   GM          SILVERADO            DALLAS                   TX
31736   1GCRYDEDXLZ155139   GM          SILVERADO            AUSTIN                   TX
31737   1GCRYDEDXLZ155240   GM          SILVERADO            DFW AIRPORT              TX
31738   1GCRYDEDXLZ155688   GM          SILVERADO            Houston                  TX
31739   1GCRYDEDXLZ155819   GM          SILVERADO            Nashville                TN
31740   1GCRYDEDXLZ155917   GM          SILVERADO            SAN ANTONIO              TX
31741   1GCRYDEDXLZ156341   GM          SILVERADO            Midland                  TX
31742   1GCRYDEDXLZ156730   GM          SILVERADO            DENVER                   CO
31743   1GCRYDEDXLZ156758   GM          SILVERADO            DALLAS                   TX
31744   1GCRYDEDXLZ156792   GM          SILVERADO            HOUSTON                  TX
31745   1GCRYDEDXLZ156808   GM          SILVERADO            EL PASO                  TX
31746   1GCRYDEDXLZ157795   GM          SILVERADO            SEATTLE                  WA
31747   1GCRYDEDXLZ157876   GM          SILVERADO            Denver                   CO
31748   1GCRYDEDXLZ158512   GM          SILVERADO            INDIANAPOLIS             IN
31749   1GCRYDEDXLZ158624   GM          SILVERADO            DALLAS                   TX
31750   1GCRYDEDXLZ160003   GM          SILVERADO            LAS VEGAS                NV
31751   1GCRYDEDXLZ160437   GM          SILVERADO            STERLING                 VA
31752   1GCRYDEDXLZ160695   GM          SILVERADO            DENVER                   CO
31753   1GCRYDEDXLZ160759   GM          SILVERADO            North Dighton            MA
31754   1GCRYDEDXLZ160812   GM          SILVERADO            NEW BERN                 NC
31755   1GCRYDEDXLZ161555   GM          SILVERADO            Teterboro                NJ
31756   1GCRYDEDXLZ162141   GM          SILVERADO            PELHAM MANOR             NY
31757   1GCRYDEDXLZ162270   GM          SILVERADO            CHATTANOOGA              TN
31758   1GCRYDEDXLZ162284   GM          SILVERADO            Dallas                   TX
31759   1GCRYDEDXLZ162396   GM          SILVERADO            PHOENIX                  AZ
31760   1GCRYDEDXLZ162639   GM          SILVERADO            KAILUA KONA              HI
31761   1GCRYDEDXLZ163497   GM          SILVERADO            DENVER                   CO
31762   1GCRYDEDXLZ163712   GM          SILVERADO            DENVER                   CO
31763   1GCRYDEDXLZ163824   GM          SILVERADO            DENVER                   CO
31764   1GCRYDEDXLZ163841   GM          SILVERADO            SANTA ANA                CA
31765   1GCRYDEDXLZ163953   GM          SILVERADO            RALEIGH                  NC
31766   1GCRYDEDXLZ164102   GM          SILVERADO            MIAMI                    FL
31767   1GCRYDEDXLZ164567   GM          SILVERADO            TUCSON                   AZ
31768   1GCRYDEDXLZ165122   GM          SILVERADO            DENVER                   CO
31769   1GCRYDEDXLZ165251   GM          SILVERADO            Fresno                   CA
31770   1GCRYDEDXLZ165461   GM          SILVERADO            HOUSTON                  TX
31771   1GCRYDEDXLZ165511   GM          SILVERADO            PHOENIX                  AZ
31772   1GCRYDEDXLZ165654   GM          SILVERADO            HOUSTON                  TX
31773   1GCRYDEDXLZ166013   GM          SILVERADO            DALLAS                   TX
31774   1GCRYDEDXLZ166075   GM          SILVERADO            DALLAS                   TX
31775   1GCRYDEDXLZ166268   GM          SILVERADO            EL PASO                  TX
31776   1GCRYDEDXLZ166271   GM          SILVERADO            Miami                    FL
31777   1GCRYDEDXLZ166643   GM          SILVERADO            HOUSTON                  TX
31778   1GCRYDEDXLZ167260   GM          SILVERADO            Nashville                TN
31779   1GCRYDEDXLZ167288   GM          SILVERADO            Denver                   CO
31780   1GCRYDEDXLZ167307   GM          SILVERADO            HOUSTON                  TX
31781   1GCRYDEDXLZ167498   GM          SILVERADO            San Antonio              TX
31782   1GCRYDEDXLZ168263   GM          SILVERADO            SAN ANTONIO              TX
31783   1GCRYDEDXLZ168313   GM          SILVERADO            DALLAS                   TX
31784   1GCRYDEDXLZ168358   GM          SILVERADO            Harvey                   LA
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31785   1GCRYDEDXLZ168716   GM          SILVERADO            EULESS                   TX
31786   1GCRYDEDXLZ168909   GM          SILVERADO            FRESNO                   CA
31787   1GCRYDEDXLZ169039   GM          SILVERADO            HOUSTON                  TX
31788   1GCRYDEDXLZ169087   GM          SILVERADO            Dallas                   TX
31789   1GCRYDEDXLZ169672   GM          SILVERADO            HAWTHORNE                NJ
31790   1GCRYDEDXLZ169705   GM          SILVERADO            DALLAS                   TX
31791   1GCRYDEDXLZ169915   GM          SILVERADO            DALLAS                   TX
31792   1GCRYDEDXLZ169929   GM          SILVERADO            DALLAS                   TX
31793   1GCRYDEDXLZ170157   GM          SILVERADO            Dallas                   TX
31794   1GCRYDEDXLZ170174   GM          SILVERADO            DALLAS                   TX
31795   1GCRYDEDXLZ170546   GM          SILVERADO            HOUSTON                  TX
31796   1GCRYDEDXLZ170594   GM          SILVERADO            SYRACUSE                 NY
31797   1GCRYDEDXLZ170854   GM          SILVERADO            Austin                   TX
31798   1GCRYDEDXLZ170899   GM          SILVERADO            DALLAS                   TX
31799   1GCRYDEDXLZ170983   GM          SILVERADO            EL PASO                  TX
31800   1GCRYDEDXLZ171146   GM          SILVERADO            TULSA                    OK
31801   1GCRYDEDXLZ171504   GM          SILVERADO            DENVER                   CO
31802   1GCRYDEDXLZ171986   GM          SILVERADO            SAN FRANCISCO            CA
31803   1GCRYDEDXLZ172023   GM          SILVERADO            LAS VEGAS                NV
31804   1GCRYDEDXLZ172846   GM          SILVERADO            LAS VEGAS                NV
31805   1GCRYDEDXLZ174581   GM          SILVERADO            SEATAC                   WA
31806   1GCRYDEDXLZ174614   GM          SILVERADO            PORTLAND                 OR
31807   1GCRYDEDXLZ174709   GM          SILVERADO            SANTA ANA                CA
31808   1GCRYDEDXLZ174757   GM          SILVERADO            LAS VEGAS                NV
31809   1GCRYDEDXLZ174905   GM          SILVERADO            EL PASO                  TX
31810   1GCRYDEDXLZ174922   GM          SILVERADO            SEATAC                   WA
31811   1GCRYDEDXLZ196807   GM          SILVERADO            COLUMBIA                 SC
31812   1GCRYDEDXLZ196872   GM          SILVERADO            WARWICK                  RI
31813   1GCRYDEDXLZ197049   GM          SILVERADO            CHARLESTON               SC
31814   1GCRYDEDXLZ197178   GM          SILVERADO            RICHMOND                 VA
31815   1GCRYDEDXLZ197651   GM          SILVERADO            ROCHESTER                NY
31816   1GCRYDEDXLZ198699   GM          SILVERADO            Latham                   NY
31817   1GCRYDEDXLZ198881   GM          SILVERADO            LOUISVILLE               KY
31818   1GCRYDEDXLZ199125   GM          SILVERADO            Nashville                TN
31819   1GCRYDEDXLZ199156   GM          SILVERADO            Chicago                  IL
31820   1GCRYDEDXLZ199366   GM          SILVERADO            North Dighton            MA
31821   1GCRYDEDXLZ199531   GM          SILVERADO            NEW BERN                 NC
31822   1GCRYDEDXLZ199657   GM          SILVERADO            NORFOLK                  VA
31823   1GCRYDEDXLZ200094   GM          SILVERADO            NEW BERN                 NC
31824   1GCRYDEDXLZ200127   GM          SILVERADO            Latham                   NY
31825   1GCRYDEDXLZ200192   GM          SILVERADO            SYRACUSE                 NY
31826   1GCRYDEDXLZ200225   GM          SILVERADO            McHenry                  IL
31827   1GCRYDEDXLZ200287   GM          SILVERADO            Hanover                  MD
31828   1GCRYDEDXLZ200628   GM          SILVERADO            PHOENIX                  AZ
31829   1GCRYDEDXLZ201181   GM          SILVERADO            PHILADELPHIA             PA
31830   1GCRYDEDXLZ201228   GM          SILVERADO            Phoenix                  AZ
31831   1GCRYDEDXLZ201598   GM          SILVERADO            CLEVELAND                OH
31832   1GCRYDEDXLZ201620   GM          SILVERADO            RICHMOND                 VA
31833   1GCRYDEDXLZ202363   GM          SILVERADO            St. Louis                MO
31834   1GCRYDEDXLZ202458   GM          SILVERADO            LOS ANGELES              CA
31835   1GCRYDEDXLZ202539   GM          SILVERADO            WHITE PLAINS             NY
31836   1GCRYDEDXLZ202668   GM          SILVERADO            Avoca                    PA
31837   1GCRYDEDXLZ202704   GM          SILVERADO            COLUMBUS                 OH
31838   1GCRYDEDXLZ202802   GM          SILVERADO            PHOENIX                  AZ
31839   1GCRYDEDXLZ202833   GM          SILVERADO            Newark                   NJ
31840   1GCRYDEDXLZ205473   GM          SILVERADO            STERLING                 VA
31841   1GCRYDEDXLZ205540   GM          SILVERADO            CLEVELAND                OH
31842   1GCRYDEDXLZ205702   GM          SILVERADO            GRAND RAPIDS             MI
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31843   1GCRYDEDXLZ205778   GM          SILVERADO            LOUISVILLE               KY
31844   1GCRYDEDXLZ205795   GM          SILVERADO            PHOENIX                  AZ
31845   1GCRYDEDXLZ207269   GM          SILVERADO            CLEVELAND                OH
31846   1GCRYDEDXLZ207420   GM          SILVERADO            Latham                   NY
31847   1GCRYDEDXLZ209555   GM          SILVERADO            Phoenix                  AZ
31848   1GCRYDEDXLZ210429   GM          SILVERADO            ORLANDO                  FL
31849   1GCRYDEDXLZ211936   GM          SILVERADO            TAMPA                    FL
31850   1GCRYDEDXLZ215033   GM          SILVERADO            Latham                   NY
31851   1GCRYDEDXLZ215078   GM          SILVERADO            WHITE PLAINS             NY
31852   1GCRYDEDXLZ215341   GM          SILVERADO            Portland                 ME
31853   1GCRYDEDXLZ217994   GM          SILVERADO            HARTFORD                 CT
31854   1GCRYDEDXLZ219969   GM          SILVERADO            CHARLESTON               WV
31855   1GCRYDEDXLZ220460   GM          SILVERADO            PORTLAND                 ME
31856   1GCRYDEDXLZ221608   GM          SILVERADO            PORTLAND                 ME
31857   1GCRYDEDXLZ222774   GM          SILVERADO            SYRACUSE                 NY
31858   1GCRYDEDXLZ236433   GM          SILVERADO            GRAND RAPIDS             MI
31859   1GCRYDEDXLZ238473   GM          SILVERADO            Nashville                TN
31860   1GCRYDEDXLZ245682   GM          SILVERADO            SYRACUSE                 NY
31861   1GCRYDEDXLZ248047   GM          SILVERADO            LOUISVILLE               KY
31862   1GCRYDEDXLZ249019   GM          SILVERADO            CLEVELAND                OH
31863   1GCRYDEDXLZ249201   GM          SILVERADO            WARWICK                  RI
31864   1GCRYDEDXLZ249618   GM          SILVERADO            SAN FRANCISCO            CA
31865   1GCRYDEDXLZ257248   GM          SILVERADO            Tulsa                    OK
31866   1GCUKREC4JF249452   GM          SILVERADO            Kent                     WA
31867   1GCUKREC6JF229185   GM          SILVERADO            TRACY                    CA
31868   1GCUKREC7JF249817   GM          SILVERADO            Fontana                  CA
31869   1GCUKREC8JF227938   GM          SILVERADO            OAKLAND                  CA
31870   1GCUKREC9JF248927   GM          SILVERADO            TRACY                    CA
31871   1GCVKREH0FZ313735   GM          SILVERADO            Denver                   CO
31872   1GCVKREH0JZ258034   GM          SILVERADO            SACRAMENTO               CA
31873   1GCVKREH0JZ267381   GM          SILVERADO            SEATAC                   WA
31874   1GCVKREH0JZ353791   GM          SILVERADO            FRESNO                   CA
31875   1GCVKREH1JZ372883   GM          SILVERADO            NORTH PAC                CA
31876   1GCVKREH2JZ245284   GM          SILVERADO            North Las Vegas          NV
31877   1GCVKREH2JZ257614   GM          SILVERADO            SAN FRANCISCO            CA
31878   1GCVKREH2JZ261968   GM          SILVERADO            FRESNO                   CA
31879   1GCVKREH2JZ294274   GM          SILVERADO            LAS VEGAS                NV
31880   1GCVKREH2JZ297143   GM          SILVERADO            Kenner                   LA
31881   1GCVKREH2JZ309081   GM          SILVERADO            North Dighton            MA
31882   1GCVKREH2JZ358782   GM          SILVERADO            Riverside                CA
31883   1GCVKREH3JZ292565   GM          SILVERADO            EULESS                   TX
31884   1GCVKREH3JZ346625   GM          SILVERADO            TAMPA                    FL
31885   1GCVKREH3JZ364347   GM          SILVERADO            SAN FRANCISCO            CA
31886   1GCVKREH4JZ261437   GM          SILVERADO            SEATAC                   WA
31887   1GCVKREH4JZ281302   GM          SILVERADO            North Dighton            MA
31888   1GCVKREH4JZ282403   GM          SILVERADO            SACRAMENTO               CA
31889   1GCVKREH4JZ307641   GM          SILVERADO            Teterboro                NJ
31890   1GCVKREH4JZ341630   GM          SILVERADO            FRESNO                   CA
31891   1GCVKREH5FZ302844   GM          SILVERADO            MINNEAPOLIS              US
31892   1GCVKREH5JZ283995   GM          SILVERADO            HOUSTON                  TX
31893   1GCVKREH5JZ309558   GM          SILVERADO            CHARLESTON               WV
31894   1GCVKREH5JZ346450   GM          SILVERADO            Kent                     WA
31895   1GCVKREH5JZ352071   GM          SILVERADO            FRESNO                   CA
31896   1GCVKREH7JZ258239   GM          SILVERADO            Newport Beach            CA
31897   1GCVKREH7JZ265823   GM          SILVERADO            SEATAC                   WA
31898   1GCVKREH7JZ293654   GM          SILVERADO            Grove City               OH
31899   1GCVKREH7JZ349611   GM          SILVERADO            SACRAMENTO               CA
31900   1GCVKREH8JZ288382   GM          SILVERADO            NORTH PAC                CA
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31901   1GCVKREH8JZ296756   GM          SILVERADO            Fresno                   CA
31902   1GCVKREH9JZ277133   GM          SILVERADO            LAS VEGAS                NV
31903   1GCVKREH9JZ282218   GM          SILVERADO            ONTARIO                  CA
31904   1GCVKREHXJZ289257   GM          SILVERADO            Cranberry Towns          PA
31905   1GCVKREHXJZ303478   GM          SILVERADO            FORT LAUDERDALE          FL
31906   1GCVKREHXJZ371148   GM          SILVERADO            Live Oak                 TX
31907   1GCVKREHXJZ371800   GM          SILVERADO            LOS ANGELES              CA
31908   1GCVKREHXJZ376172   GM          SILVERADO            STONEHAM                 MA
31909   1GKKNLLA0KZ250437   GM          ACADIA               DULUTH                   GA
31910   1GKKNLLA3JZ225594   GM          ACADIA               West Palm Beach          FL
31911   1GKKNLLA3KZ210420   GM          ACADIA               DALLAS                   TX
31912   1GKKNLLA3KZ251887   GM          ACADIA               ATLANTA                  GA
31913   1GKKNLLA3KZ271069   GM          ACADIA               WARWICK                  RI
31914   1GKKNLLA3KZ274585   GM          ACADIA               LOUISVILLE               KY
31915   1GKKNLLA4KZ206019   GM          ACADIA               SACRAMENTO               CA
31916   1GKKNLLA4KZ273669   GM          ACADIA               ATLANTA                  GA
31917   1GKKNLLA5KZ251972   GM          ACADIA               SHREVEPORT               LA
31918   1GKKNLLA5KZ271137   GM          ACADIA               OMAHA                    NE
31919   1GKKNLLA7KZ249768   GM          ACADIA               KENNER                   LA
31920   1GKKNLLA7KZ251584   GM          ACADIA               SHREVEPORT               LA
31921   1GKKNLLA7KZ263184   GM          ACADIA               Atlanta                  GA
31922   1GKKNLLA8KZ205648   GM          ACADIA               SACRAMENTO               CA
31923   1GKKNLLA9KZ272162   GM          ACADIA               Hebron                   KY
31924   1GKKNLLA9KZ273182   GM          ACADIA               WHITE PLAINS             NY
31925   1GKKNLLA9KZ274302   GM          ACADIA               Hebron                   KY
31926   1GKKNLLAXKZ202895   GM          ACADIA               LOS ANGELES              CA
31927   1GKKNML40LZ168306   GM          ACADIA               LOS ANGELES              CA
31928   1GKKNML40LZ169116   GM          ACADIA               LOS ANGELES              CA
31929   1GKKNML40LZ177216   GM          ACADIA               SAN FRANCISCO            CA
31930   1GKKNML40LZ190211   GM          ACADIA               ROANOKE                  VA
31931   1GKKNML41LZ169691   GM          ACADIA               BURBANK                  CA
31932   1GKKNML41LZ171697   GM          ACADIA               SACRAMENTO               CA
31933   1GKKNML41LZ172638   GM          ACADIA               RENO                     NV
31934   1GKKNML41LZ172929   GM          ACADIA               DENVER                   CO
31935   1GKKNML42LZ177332   GM          ACADIA               GRAND RAPIDS             MI
31936   1GKKNML43LZ169952   GM          ACADIA               LAS VEGAS                NV
31937   1GKKNML43LZ172012   GM          ACADIA               SACRAMENTO               CA
31938   1GKKNML44LZ170303   GM          ACADIA               LOS ANGELES              CA
31939   1GKKNML44LZ171967   GM          ACADIA               PORTLAND                 OR
31940   1GKKNML44LZ172584   GM          ACADIA               FRESNO                   CA
31941   1GKKNML46LZ169217   GM          ACADIA               LAS VEGAS                NV
31942   1GKKNML46LZ169802   GM          ACADIA               FRESNO                   CA
31943   1GKKNML46LZ169945   GM          ACADIA               LAS VEGAS                NV
31944   1GKKNML47LZ171753   GM          ACADIA               SEATAC                   WA
31945   1GKKNML49LZ166036   GM          ACADIA               LOS ANGELES              CA
31946   1GKKNML49LZ169499   GM          ACADIA               SAN DIEGO                CA
31947   1GKKNML49LZ169826   GM          ACADIA               LOS ANGELES              CA
31948   1GKKNML49LZ180731   GM          ACADIA               PHOENIX                  AZ
31949   1GKKNML4XLZ169625   GM          ACADIA               LOS ANGELES              CA
31950   1GKKNML4XLZ170354   GM          ACADIA               PALM SPRINGS             CA
31951   1GKKNMLS0KZ271593   GM          ACADIA               NEW ORLEANS              LA
31952   1GKKNMLS1KZ219955   GM          ACADIA               LAS VEGAS                NV
31953   1GKKNMLS1KZ272946   GM          ACADIA               DALLAS                   TX
31954   1GKKNMLS2KZ202789   GM          ACADIA               Los Angeles              CA
31955   1GKKNMLS2KZ264077   GM          ACADIA               OMAHA                    NE
31956   1GKKNMLS2KZ275130   GM          ACADIA               SHREVEPORT               LA
31957   1GKKNMLS3KZ263956   GM          ACADIA               HOUSTON                  TX
31958   1GKKNMLS3KZ265318   GM          ACADIA               HOUSTON                  TX
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31959   1GKKNMLS4KZ204818   GM          ACADIA               PALM SPRINGS             CA
31960   1GKKNMLS5KZ203399   GM          ACADIA               HOUSTON IAH AP           TX
31961   1GKKNMLS5KZ265689   GM          ACADIA               PITTSBURGH               PA
31962   1GKKNMLS5KZ271797   GM          ACADIA               OAKLAND                  CA
31963   1GKKNMLS5KZ272996   GM          ACADIA               DETROIT                  MI
31964   1GKKNMLS6KZ264678   GM          ACADIA               KNOXVILLE                TN
31965   1GKKNMLS8JZ223886   GM          ACADIA               Miami                    FL
31966   1GKKNMLS8KZ204840   GM          ACADIA               SAN JOSE                 CA
31967   1GKKNMLS9KZ209433   GM          ACADIA               LAS VEGAS                NV
31968   1GKKNSLA2JZ195367   GM          ACADIA               Slidell                  LA
31969   1GKKNSLA2KZ262552   GM          ACADIA               LOUISVILLE               KY
31970   1GKKNSLA3KZ262320   GM          ACADIA               SAINT LOUIS              MO
31971   1GKKNSLA4KZ213062   GM          ACADIA               SAN DIEGO                CA
31972   1GKKNSLA8JZ219817   GM          ACADIA               Manheim                  PA
31973   1GKKNSLA8JZ249352   GM          ACADIA               PHILADELPHIA             PA
31974   1GKKNSLA8KZ268405   GM          ACADIA               DFW AIRPORT              TX
31975   1GKKNSLA9KZ285567   GM          ACADIA               LAS VEGAS                NV
31976   1GKKNSLAXKZ243540   GM          ACADIA               LAS VEGAS                NV
31977   1GKKNSLAXKZ268972   GM          ACADIA               DALLAS                   TX
31978   1GKKNULS0KZ210583   GM          ACADIA               CANTON                   T
31979   1GKKNULS0KZ269407   GM          ACADIA               LAS VEGAS                NV
31980   1GKKNULS0KZ269911   GM          ACADIA               PITTSBURGH               PA
31981   1GKKNULS3HZ187695   GM          ACADIA               FORT LAUDERDALE          FL
31982   1GKKNULS4KZ284430   GM          ACADIA               CHICAGO                  IL
31983   1GKKNULS5JZ246848   GM          ACADIA               Tampa                    FL
31984   1GKKNULS7JZ206867   GM          ACADIA               ORLANDO                  FL
31985   1GKKNULS9JZ195807   GM          ACADIA               North Dighton            MA
31986   1GKKNULSXKZ265087   GM          ACADIA               BEAVERCREEK              OH
31987   1GKS2BKC0HR135884   GM          YUKON                PLEASANTON               CA
31988   1GKS2BKC0JR306266   GM          YUKON                SALT LAKE CITY           US
31989   1GKS2BKC0JR375622   GM          YUKON                Fredericksburg           VA
31990   1GKS2BKC0KR158217   GM          YUKON                TAMPA                    US
31991   1GKS2BKC0KR158623   GM          YUKON                Wilmington               NC
31992   1GKS2BKC0KR158962   GM          YUKON                LAS VEGAS                NV
31993   1GKS2BKC0KR159304   GM          YUKON                SOUTHEAST DST OFFC       OK
31994   1GKS2BKC0KR159416   GM          YUKON                Salt Lake City           UT
31995   1GKS2BKC0KR159500   GM          YUKON                North Dighton            MA
31996   1GKS2BKC0KR159657   GM          YUKON                Ocoee                    FL
31997   1GKS2BKC0KR159965   GM          YUKON                Philadelphia             PA
31998   1GKS2BKC0KR160551   GM          YUKON                Atlanta                  GA
31999   1GKS2BKC0KR163028   GM          YUKON                Maple Grove              MN
32000   1GKS2BKC0KR164891   GM          YUKON                Manheim                  PA
32001   1GKS2BKC0KR165118   GM          YUKON                DENVER                   CO
32002   1GKS2BKC0KR165961   GM          YUKON                FRESNO                   CA
32003   1GKS2BKC0KR166009   GM          YUKON                Manheim                  PA
32004   1GKS2BKC0KR166480   GM          YUKON                Newark                   NJ
32005   1GKS2BKC0KR166785   GM          YUKON                CLEVELAND                OH
32006   1GKS2BKC0KR167290   GM          YUKON                Atlanta                  GA
32007   1GKS2BKC0KR167306   GM          YUKON                HOUSTON                  TX
32008   1GKS2BKC0KR167757   GM          YUKON                Los Angeles              CA
32009   1GKS2BKC0KR169086   GM          YUKON                DENVER                   CO
32010   1GKS2BKC0KR169363   GM          YUKON                COLUMBUS                 OH
32011   1GKS2BKC0KR169413   GM          YUKON                CHICAGO                  IL
32012   1GKS2BKC0KR169508   GM          YUKON                Burlingame               CA
32013   1GKS2BKC0KR170223   GM          YUKON                LAS VEGAS                NV
32014   1GKS2BKC0KR170299   GM          YUKON                HOUSTON                  TX
32015   1GKS2BKC0KR170917   GM          YUKON                DENVER                   CO
32016   1GKS2BKC0KR171503   GM          YUKON                BURBANK                  CA
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32017   1GKS2BKC0KR172604   GM           YUKON                CHICAGO                  IL
32018   1GKS2BKC0KR172716   GM           YUKON                Aurora                   CO
32019   1GKS2BKC0KR173168   GM           YUKON                LAS VEGAS                NV
32020   1GKS2BKC0KR173221   GM           YUKON                ORLANDO                  FL
32021   1GKS2BKC0KR173350   GM           YUKON                Tolleson                 AZ
32022   1GKS2BKC0KR174983   GM           YUKON                WEST COLUMBIA            SC
32023   1GKS2BKC0KR180024   GM           YUKON                N. Palm Beach            FL
32024   1GKS2BKC0KR182324   GM           YUKON                SAINT PAUL               MN
32025   1GKS2BKC0KR183294   GM           YUKON                Woodhaven                MI
32026   1GKS2BKC0KR184140   GM           YUKON                Jacksonville             FL
32027   1GKS2BKC0KR184297   GM           YUKON                Miami                    FL
32028   1GKS2BKC0KR273402   GM           YUKON                North Dighton            MA
32029   1GKS2BKC0LR149258   GM           YUKON                TAMPA                    FL
32030   1GKS2BKC0LR152497   GM           YUKON                Miami                    FL
32031   1GKS2BKC0LR152502   GM           YUKON                CHARLESTON               WV
32032   1GKS2BKC0LR153150   GM           YUKON                Atlanta                  GA
32033   1GKS2BKC0LR153374   GM           YUKON                CHARLOTTE                NC
32034   1GKS2BKC0LR153732   GM           YUKON                KNOXVILLE                TN
32035   1GKS2BKC0LR153794   GM           YUKON                JACKSON                  MS
32036   1GKS2BKC0LR153990   GM           YUKON                Atlanta                  GA
32037   1GKS2BKC0LR154055   GM           YUKON                FORT LAUDERDALE          FL
32038   1GKS2BKC0LR155237   GM           YUKON                SAVANNAH                 GA
32039   1GKS2BKC0LR155240   GM           YUKON                NORFOLK                  VA
32040   1GKS2BKC0LR155447   GM           YUKON                DALLAS FORT WORTH AP     TX
32041   1GKS2BKC0LR155478   GM           YUKON                STERLING                 VA
32042   1GKS2BKC0LR155528   GM           YUKON                MIAMI                    FL
32043   1GKS2BKC0LR155934   GM           YUKON                TAMPA                    FL
32044   1GKS2BKC0LR156372   GM           YUKON                FAYETTEVILLE             GA
32045   1GKS2BKC0LR156548   GM           YUKON                JACKSONVILLE             FL
32046   1GKS2BKC0LR156985   GM           YUKON                KANSAS CITY              MO
32047   1GKS2BKC0LR157425   GM           YUKON                PHOENIX                  AZ
32048   1GKS2BKC0LR157747   GM           YUKON                CHICAGO                  IL
32049   1GKS2BKC0LR157909   GM           YUKON                Atlanta                  GA
32050   1GKS2BKC0LR158946   GM           YUKON                BIRMINGHAM               AL
32051   1GKS2BKC0LR159207   GM           YUKON                PHOENIX                  AZ
32052   1GKS2BKC0LR159269   GM           YUKON                Miami                    FL
32053   1GKS2BKC0LR159319   GM           YUKON                ROCHESTER                NY
32054   1GKS2BKC0LR160857   GM           YUKON                FORT MYERS               FL
32055   1GKS2BKC0LR161331   GM           YUKON                BOSTON                   MA
32056   1GKS2BKC0LR161751   GM           YUKON                DANIA BEACH              FL
32057   1GKS2BKC0LR161779   GM           YUKON                HOUSTON                  TX
32058   1GKS2BKC0LR161961   GM           YUKON                WHITE PLAINS             NY
32059   1GKS2BKC0LR162060   GM           YUKON                HOUSTON                  TX
32060   1GKS2BKC0LR162334   GM           YUKON                SAVANNAH                 GA
32061   1GKS2BKC0LR162513   GM           YUKON                DALLAS                   TX
32062   1GKS2BKC0LR162558   GM           YUKON                MIAMI                    FL
32063   1GKS2BKC0LR162561   GM           YUKON                ATLANTA                  GA
32064   1GKS2BKC0LR163340   GM           YUKON                NEW BERN                 NC
32065   1GKS2BKC0LR163841   GM           YUKON                WARWICK                  RI
32066   1GKS2BKC0LR164004   GM           YUKON                FORT LAUDERDALE          FL
32067   1GKS2BKC0LR164035   GM           YUKON                GRAND RAPIDS             MI
32068   1GKS2BKC0LR164696   GM           YUKON                BOSTON                   MA
32069   1GKS2BKC0LR164925   GM           YUKON                Atlanta                  GA
32070   1GKS2BKC0LR165170   GM           YUKON                JAMAICA                  NY
32071   1GKS2BKC0LR165797   GM           YUKON                MIAMI                    FL
32072   1GKS2BKC0LR166254   GM           YUKON                HOUSTON                  TX
32073   1GKS2BKC0LR166738   GM           YUKON                PORTLAND                 OR
32074   1GKS2BKC0LR168389   GM           YUKON                OKLAHOMA CITY            OK
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32075   1GKS2BKC0LR169154   GM           YUKON                SAVANNAH                 GA
32076   1GKS2BKC0LR169929   GM           YUKON                CHARLESTON               SC
32077   1GKS2BKC0LR170711   GM           YUKON                STERLING                 VA
32078   1GKS2BKC0LR171535   GM           YUKON                ORANGE COUNTY            CA
32079   1GKS2BKC0LR172748   GM           YUKON                SANTA ANA                CA
32080   1GKS2BKC0LR172815   GM           YUKON                EL PASO                  TX
32081   1GKS2BKC0LR173687   GM           YUKON                LAS VEGAS                NV
32082   1GKS2BKC0LR174614   GM           YUKON                PORTLAND                 OR
32083   1GKS2BKC0LR175021   GM           YUKON                PALM SPRINGS             CA
32084   1GKS2BKC0LR175228   GM           YUKON                CHATTANOOGA              TN
32085   1GKS2BKC0LR175682   GM           YUKON                PHOENIX                  AZ
32086   1GKS2BKC0LR175696   GM           YUKON                SAN JOSE                 CA
32087   1GKS2BKC0LR176265   GM           YUKON                PORTLAND                 OR
32088   1GKS2BKC0LR176525   GM           YUKON                LAS VEGAS                NV
32089   1GKS2BKC0LR177576   GM           YUKON                LOS ANGELES              CA
32090   1GKS2BKC0LR177612   GM           YUKON                SANTA ANA                CA
32091   1GKS2BKC0LR177738   GM           YUKON                SAN JOSE                 CA
32092   1GKS2BKC0LR178131   GM           YUKON                WEST PALM BEACH          FL
32093   1GKS2BKC0LR178534   GM           YUKON                MIAMI                    FL
32094   1GKS2BKC0LR180168   GM           YUKON                Miami                    FL
32095   1GKS2BKC0LR180428   GM           YUKON                ORLANDO                  FL
32096   1GKS2BKC0LR181210   GM           YUKON                LOS ANGELES              CA
32097   1GKS2BKC0LR181501   GM           YUKON                LOS ANGELES              CA
32098   1GKS2BKC0LR181515   GM           YUKON                CHARLESTON               WV
32099   1GKS2BKC0LR182115   GM           YUKON                SAN FRANCISCO            CA
32100   1GKS2BKC0LR182468   GM           YUKON                KNOXVILLE                TN
32101   1GKS2BKC0LR182762   GM           YUKON                OAKLAND                  CA
32102   1GKS2BKC0LR182924   GM           YUKON                SAINT PAUL               MN
32103   1GKS2BKC0LR183457   GM           YUKON                LAS VEGAS                NV
32104   1GKS2BKC0LR183653   GM           YUKON                Hebron                   KY
32105   1GKS2BKC0LR184074   GM           YUKON                TAMPA                    US
32106   1GKS2BKC0LR184091   GM           YUKON                CHICAGO                  IL
32107   1GKS2BKC0LR184169   GM           YUKON                FORT MYERS               FL
32108   1GKS2BKC0LR185175   GM           YUKON                FORT LAUDERDALE          FL
32109   1GKS2BKC0LR185564   GM           YUKON                TAMPA                    FL
32110   1GKS2BKC0LR187508   GM           YUKON                SEATAC                   WA
32111   1GKS2BKC0LR187623   GM           YUKON                KNOXVILLE                TN
32112   1GKS2BKC0LR187749   GM           YUKON                LAS VEGAS                NV
32113   1GKS2BKC0LR188996   GM           YUKON                SAN FRANCISCO            CA
32114   1GKS2BKC0LR189923   GM           YUKON                FORT LAUDERDALE          FL
32115   1GKS2BKC0LR190313   GM           YUKON                PHILADELPHIA             PA
32116   1GKS2BKC0LR190778   GM           YUKON                SAN JOSE                 CA
32117   1GKS2BKC0LR191459   GM           YUKON                MIAMI                    FL
32118   1GKS2BKC0LR191509   GM           YUKON                DENVER                   CO
32119   1GKS2BKC0LR191557   GM           YUKON                JAMAICA                  NY
32120   1GKS2BKC0LR193194   GM           YUKON                LOS ANGELES              CA
32121   1GKS2BKC0LR194636   GM           YUKON                BURBANK                  CA
32122   1GKS2BKC0LR194667   GM           YUKON                HOUSTON                  TX
32123   1GKS2BKC0LR194703   GM           YUKON                ORLANDO                  FL
32124   1GKS2BKC0LR202136   GM           YUKON                ORLANDO                  FL
32125   1GKS2BKC0LR205506   GM           YUKON                WEST PALM BEACH          FL
32126   1GKS2BKC0LR205893   GM           YUKON                WEST PALM BEACH          FL
32127   1GKS2BKC0LR205912   GM           YUKON                BURBANK                  CA
32128   1GKS2BKC0LR205988   GM           YUKON                ORLANDO                  FL
32129   1GKS2BKC0LR206848   GM           YUKON                KNOXVILLE                TN
32130   1GKS2BKC0LR207482   GM           YUKON                Atlanta                  GA
32131   1GKS2BKC0LR207739   GM           YUKON                DETROIT                  MI
32132   1GKS2BKC0LR207756   GM           YUKON                SAINT PAUL               MN
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32133   1GKS2BKC0LR207773   GM           YUKON                TAMPA                    FL
32134   1GKS2BKC0LR207823   GM           YUKON                HOUSTON                  TX
32135   1GKS2BKC0LR207840   GM           YUKON                HOUSTON                  TX
32136   1GKS2BKC0LR208034   GM           YUKON                HOUSTON                  TX
32137   1GKS2BKC0LR212259   GM           YUKON                ORLANDO                  FL
32138   1GKS2BKC0LR214724   GM           YUKON                CLEVELAND                OH
32139   1GKS2BKC0LR214769   GM           YUKON                LOS ANGELES              CA
32140   1GKS2BKC0LR215145   GM           YUKON                INDIANAPOLIS             IN
32141   1GKS2BKC0LR215288   GM           YUKON                PORTLAND                 OR
32142   1GKS2BKC0LR215467   GM           YUKON                SAN DIEGO                CA
32143   1GKS2BKC0LR215565   GM           YUKON                LAS VEGAS                NV
32144   1GKS2BKC0LR215856   GM           YUKON                LOS ANGELES              CA
32145   1GKS2BKC0LR216411   GM           YUKON                SAN FRANCISCO            CA
32146   1GKS2BKC0LR216909   GM           YUKON                CHICAGO                  IL
32147   1GKS2BKC0LR217073   GM           YUKON                TAMPA                    FL
32148   1GKS2BKC0LR217137   GM           YUKON                SAN JOSE                 CA
32149   1GKS2BKC0LR217154   GM           YUKON                FORT MYERS               FL
32150   1GKS2BKC0LR217199   GM           YUKON                NORFOLK                  VA
32151   1GKS2BKC0LR235301   GM           YUKON                LOS ANGELES              CA
32152   1GKS2BKC0LR236397   GM           YUKON                LAS VEGAS                NV
32153   1GKS2BKC0LR236755   GM           YUKON                ANCHORAGE                AK
32154   1GKS2BKC0LR236979   GM           YUKON                LAS VEGAS                NV
32155   1GKS2BKC0LR239509   GM           YUKON                SARASOTA                 FL
32156   1GKS2BKC0LR240109   GM           YUKON                PORTLAND                 OR
32157   1GKS2BKC0LR240241   GM           YUKON                OAKLAND                  CA
32158   1GKS2BKC0LR242717   GM           YUKON                KNOXVILLE                TN
32159   1GKS2BKC0LR242796   GM           YUKON                LAS VEGAS                NV
32160   1GKS2BKC0LR242846   GM           YUKON                FORT LAUDERDALE          FL
32161   1GKS2BKC0LR242958   GM           YUKON                MIAMI                    FL
32162   1GKS2BKC0LR243429   GM           YUKON                ORLANDO                  FL
32163   1GKS2BKC0LR243642   GM           YUKON                MIAMI                    FL
32164   1GKS2BKC0LR243690   GM           YUKON                WEST COLUMBIA            SC
32165   1GKS2BKC0LR244158   GM           YUKON                SALT LAKE CITY           US
32166   1GKS2BKC0LR244192   GM           YUKON                CHARLOTTE                NC
32167   1GKS2BKC0LR244760   GM           YUKON                MIAMI                    FL
32168   1GKS2BKC0LR245309   GM           YUKON                INDIANAPOLIS             IN
32169   1GKS2BKC0LR245682   GM           YUKON                PORTLAND                 ME
32170   1GKS2BKC0LR246007   GM           YUKON                DAYTON                   OH
32171   1GKS2BKC0LR248369   GM           YUKON                DALLAS                   TX
32172   1GKS2BKC0LR248744   GM           YUKON                HEBRON                   KY
32173   1GKS2BKC0LR248808   GM           YUKON                DES PLAINES              US
32174   1GKS2BKC0LR250445   GM           YUKON                ORLANDO                  FL
32175   1GKS2BKC0LR250784   GM           YUKON                KNOXVILLE                TN
32176   1GKS2BKC0LR250820   GM           YUKON                KNOXVILLE                TN
32177   1GKS2BKC0LR250834   GM           YUKON                SAINT LOUIS              MO
32178   1GKS2BKC0LR251367   GM           YUKON                NEWARK                   NJ
32179   1GKS2BKC0LR251630   GM           YUKON                DETROIT                  MI
32180   1GKS2BKC0LR251689   GM           YUKON                DETROIT                  MI
32181   1GKS2BKC0LR252390   GM           YUKON                INDIANAPOLIS             IN
32182   1GKS2BKC0LR252910   GM           YUKON                CHICAGO                  IL
32183   1GKS2BKC0LR255788   GM           YUKON                ATLANTA                  GA
32184   1GKS2BKC0LR256195   GM           YUKON                ATLANTA                  GA
32185   1GKS2BKC0LR262241   GM           YUKON                BOSTON                   MA
32186   1GKS2BKC0LR262871   GM           YUKON                NEWARK                   NJ
32187   1GKS2BKC0LR262952   GM           YUKON                BOSTON                   MA
32188   1GKS2BKC0LR265303   GM           YUKON                HARTFORD                 CT
32189   1GKS2BKC0LR265415   GM           YUKON                SOUTH BURLINGTO          VT
32190   1GKS2BKC0LR268525   GM           YUKON                BOSTON                   MA
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32191   1GKS2BKC0LR269464   GM          YUKON                PROVIDENCE               RI
32192   1GKS2BKC0LR270517   GM          YUKON                KENNER                   LA
32193   1GKS2BKC0LR270677   GM          YUKON                RALIEGH                  NC
32194   1GKS2BKC0LR270730   GM          YUKON                HANOVER                  MD
32195   1GKS2BKC0LR270808   GM          YUKON                SALT LAKE CITY           UT
32196   1GKS2BKC0LR271277   GM          YUKON                PENSACOLA                FL
32197   1GKS2BKC0LR271294   GM          YUKON                PENSACOLA                FL
32198   1GKS2BKC0LR271697   GM          YUKON                STERLING                 VA
32199   1GKS2BKC0LR272946   GM          YUKON                BUFFALO                  NY
32200   1GKS2BKC0LR272977   GM          YUKON                SHREVEPORT               LA
32201   1GKS2BKC0LR273398   GM          YUKON                PHILADELPHIA             PA
32202   1GKS2BKC0LR274955   GM          YUKON                DETROIT                  MI
32203   1GKS2BKC0LR276382   GM          YUKON                DETROIT                  MI
32204   1GKS2BKC0LR276821   GM          YUKON                RENO                     NV
32205   1GKS2BKC0LR277399   GM          YUKON                PHILADELPHIA             PA
32206   1GKS2BKC0LR279184   GM          YUKON                KANSAS CITY              MO
32207   1GKS2BKC0LR279895   GM          YUKON                DETROIT                  MI
32208   1GKS2BKC0LR280965   GM          YUKON                DENVER                   CO
32209   1GKS2BKC0LR281145   GM          YUKON                PORTLAND                 ME
32210   1GKS2BKC0LR282084   GM          YUKON                DENVER                   CO
32211   1GKS2BKC0LR283476   GM          YUKON                DENVER                   CO
32212   1GKS2BKC0LR283512   GM          YUKON                DENVER                   CO
32213   1GKS2BKC0LR283977   GM          YUKON                Des Moines               IA
32214   1GKS2BKC0LR284420   GM          YUKON                CHICAGO                  IL
32215   1GKS2BKC0LR284725   GM          YUKON                HOUSTON                  TX
32216   1GKS2BKC0LR285468   GM          YUKON                SAVANNAH                 GA
32217   1GKS2BKC0LR285535   GM          YUKON                CHICAGO                  IL
32218   1GKS2BKC1HR133383   GM          YUKON                Fresno                   CA
32219   1GKS2BKC1JR378643   GM          YUKON                Fontana                  CA
32220   1GKS2BKC1JR387651   GM          YUKON                JAMAICA                  NY
32221   1GKS2BKC1KR158761   GM          YUKON                Manheim                  PA
32222   1GKS2BKC1KR158825   GM          YUKON                Fontana                  CA
32223   1GKS2BKC1KR159442   GM          YUKON                Union City               GA
32224   1GKS2BKC1KR159506   GM          YUKON                Hayward                  CA
32225   1GKS2BKC1KR159831   GM          YUKON                DENVER                   CO
32226   1GKS2BKC1KR160218   GM          YUKON                Houston                  TX
32227   1GKS2BKC1KR160431   GM          YUKON                Woodhaven                MI
32228   1GKS2BKC1KR161031   GM          YUKON                PITTSBURGH               PA
32229   1GKS2BKC1KR161711   GM          YUKON                KANSAS CITY              MO
32230   1GKS2BKC1KR162096   GM          YUKON                Euless                   TX
32231   1GKS2BKC1KR162258   GM          YUKON                Manheim                  PA
32232   1GKS2BKC1KR162681   GM          YUKON                North Dighton            MA
32233   1GKS2BKC1KR162695   GM          YUKON                HARTFORD                 CT
32234   1GKS2BKC1KR162714   GM          YUKON                DENVER                   CO
32235   1GKS2BKC1KR162731   GM          YUKON                Atlanta                  GA
32236   1GKS2BKC1KR163250   GM          YUKON                Bordentown               NJ
32237   1GKS2BKC1KR163278   GM          YUKON                Manheim                  PA
32238   1GKS2BKC1KR163751   GM          YUKON                DENVER                   CO
32239   1GKS2BKC1KR163958   GM          YUKON                Dallas                   TX
32240   1GKS2BKC1KR163989   GM          YUKON                Ventura                  CA
32241   1GKS2BKC1KR164351   GM          YUKON                OAKLAND                  CA
32242   1GKS2BKC1KR164933   GM          YUKON                Statesville              NC
32243   1GKS2BKC1KR165452   GM          YUKON                Kent                     WA
32244   1GKS2BKC1KR165760   GM          YUKON                Manheim                  PA
32245   1GKS2BKC1KR165967   GM          YUKON                SAN ANTONIO              TX
32246   1GKS2BKC1KR166763   GM          YUKON                Manheim                  PA
32247   1GKS2BKC1KR167475   GM          YUKON                Hartford                 CT
32248   1GKS2BKC1KR168819   GM          YUKON                Manheim                  PA
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32249   1GKS2BKC1KR169386   GM           YUKON                Manheim                  PA
32250   1GKS2BKC1KR170313   GM           YUKON                Santa Clara              CA
32251   1GKS2BKC1KR170747   GM           YUKON                Manheim                  PA
32252   1GKS2BKC1KR171218   GM           YUKON                Philadelphia             PA
32253   1GKS2BKC1KR172546   GM           YUKON                Davie                    FL
32254   1GKS2BKC1KR173549   GM           YUKON                Cincinnati               OH
32255   1GKS2BKC1KR174717   GM           YUKON                Smithtown                NY
32256   1GKS2BKC1KR176127   GM           YUKON                Albuquerque              NM
32257   1GKS2BKC1KR176533   GM           YUKON                GRAND RAPIDS             MI
32258   1GKS2BKC1KR176841   GM           YUKON                KANSAS CITY              MO
32259   1GKS2BKC1KR177925   GM           YUKON                Manheim                  PA
32260   1GKS2BKC1KR179898   GM           YUKON                TAMPA                    FL
32261   1GKS2BKC1KR180341   GM           YUKON                AUSTIN                   TX
32262   1GKS2BKC1KR181974   GM           YUKON                STERLING                 VA
32263   1GKS2BKC1KR182087   GM           YUKON                PORTLAND                 OR
32264   1GKS2BKC1KR182851   GM           YUKON                EULESS                   TX
32265   1GKS2BKC1KR182879   GM           YUKON                DALLAS                   TX
32266   1GKS2BKC1KR184146   GM           YUKON                SOUTHEAST DST OFFC       OK
32267   1GKS2BKC1KR184261   GM           YUKON                Philadelphia             PA
32268   1GKS2BKC1KR185359   GM           YUKON                Euless                   TX
32269   1GKS2BKC1KR277099   GM           YUKON                Lynn                     MA
32270   1GKS2BKC1KR277183   GM           YUKON                FAYETTEVILLE             GA
32271   1GKS2BKC1KR277863   GM           YUKON                Elkridge                 MD
32272   1GKS2BKC1LR150760   GM           YUKON                JAMAICA                  NY
32273   1GKS2BKC1LR152251   GM           YUKON                BIRMINGHAM               AL
32274   1GKS2BKC1LR152346   GM           YUKON                FORT LAUDERDALE          FL
32275   1GKS2BKC1LR152475   GM           YUKON                SAINT LOUIS              MO
32276   1GKS2BKC1LR152699   GM           YUKON                Atlanta                  GA
32277   1GKS2BKC1LR152928   GM           YUKON                ORLANDO                  FL
32278   1GKS2BKC1LR153013   GM           YUKON                JACKSONVILLE             FL
32279   1GKS2BKC1LR153674   GM           YUKON                ATLANTA                  GA
32280   1GKS2BKC1LR153805   GM           YUKON                TALLAHASSEE              F
32281   1GKS2BKC1LR153836   GM           YUKON                SARASOTA                 FL
32282   1GKS2BKC1LR153982   GM           YUKON                PHILADELPHIA             PA
32283   1GKS2BKC1LR154808   GM           YUKON                STERLING                 VA
32284   1GKS2BKC1LR154811   GM           YUKON                JACKSONVILLE             FL
32285   1GKS2BKC1LR155165   GM           YUKON                WARWICK                  RI
32286   1GKS2BKC1LR155487   GM           YUKON                FORT LAUDERDALE          FL
32287   1GKS2BKC1LR155778   GM           YUKON                COLLEGE PARK             GA
32288   1GKS2BKC1LR155926   GM           YUKON                Atlanta                  GA
32289   1GKS2BKC1LR156154   GM           YUKON                KENNER                   LA
32290   1GKS2BKC1LR156171   GM           YUKON                Atlanta                  GA
32291   1GKS2BKC1LR156252   GM           YUKON                ST PAUL                  MN
32292   1GKS2BKC1LR156395   GM           YUKON                FORT MYERS               FL
32293   1GKS2BKC1LR156977   GM           YUKON                ATLANTA                  GA
32294   1GKS2BKC1LR156980   GM           YUKON                Atlanta                  GA
32295   1GKS2BKC1LR157224   GM           YUKON                COLLEGE PARK             GA
32296   1GKS2BKC1LR157286   GM           YUKON                BIRMINGHAM               AL
32297   1GKS2BKC1LR157742   GM           YUKON                TAMPA                    FL
32298   1GKS2BKC1LR158034   GM           YUKON                NEWARK                   NJ
32299   1GKS2BKC1LR158146   GM           YUKON                Atlanta                  GA
32300   1GKS2BKC1LR158356   GM           YUKON                LEXINGTON                KY
32301   1GKS2BKC1LR158664   GM           YUKON                PHOENIX                  AZ
32302   1GKS2BKC1LR158714   GM           YUKON                DALLAS                   TX
32303   1GKS2BKC1LR158731   GM           YUKON                FORT MYERS               FL
32304   1GKS2BKC1LR158762   GM           YUKON                LAS VEGAS                NV
32305   1GKS2BKC1LR159006   GM           YUKON                FORT LAUDERDALE          FL
32306   1GKS2BKC1LR159054   GM           YUKON                ATLANTA                  GA
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32307   1GKS2BKC1LR159071   GM           YUKON                DETROIT                  MI
32308   1GKS2BKC1LR159149   GM           YUKON                NORFOLK                  VA
32309   1GKS2BKC1LR159457   GM           YUKON                KANSAS CITY              MO
32310   1GKS2BKC1LR160883   GM           YUKON                Omaha                    NE
32311   1GKS2BKC1LR161757   GM           YUKON                STERLING                 VA
32312   1GKS2BKC1LR161970   GM           YUKON                ATLANTA                  GA
32313   1GKS2BKC1LR164402   GM           YUKON                ORLANDO                  FL
32314   1GKS2BKC1LR165131   GM           YUKON                FORT MYERS               FL
32315   1GKS2BKC1LR166733   GM           YUKON                SAN JOSE                 CA
32316   1GKS2BKC1LR168370   GM           YUKON                SAN ANTONIO              TX
32317   1GKS2BKC1LR169969   GM           YUKON                INGLEWOOD                CA
32318   1GKS2BKC1LR170538   GM           YUKON                PHOENIX                  AZ
32319   1GKS2BKC1LR171527   GM           YUKON                SAN DIEGO                CA
32320   1GKS2BKC1LR171768   GM           YUKON                BOISE                    US
32321   1GKS2BKC1LR172841   GM           YUKON                FRESNO                   CA
32322   1GKS2BKC1LR172855   GM           YUKON                SACRAMENTO               CA
32323   1GKS2BKC1LR174069   GM           YUKON                BURBANK                  CA
32324   1GKS2BKC1LR174072   GM           YUKON                SANTA ANA                CA
32325   1GKS2BKC1LR174086   GM           YUKON                PHOENIX                  AZ
32326   1GKS2BKC1LR174637   GM           YUKON                LOS ANGELES              CA
32327   1GKS2BKC1LR175254   GM           YUKON                ONTARIO, RIVERSIDE       CA
32328   1GKS2BKC1LR175657   GM           YUKON                SAN FRANCISCO            CA
32329   1GKS2BKC1LR175724   GM           YUKON                SANTA ANA                CA
32330   1GKS2BKC1LR175979   GM           YUKON                LOS ANGELES              CA
32331   1GKS2BKC1LR176307   GM           YUKON                GYPSUM                   CO
32332   1GKS2BKC1LR176596   GM           YUKON                SANTA ANA                CA
32333   1GKS2BKC1LR176906   GM           YUKON                SAN DIEGO                CA
32334   1GKS2BKC1LR177005   GM           YUKON                OAKLAND                  CA
32335   1GKS2BKC1LR177506   GM           YUKON                SALT LAKE CITY           UT
32336   1GKS2BKC1LR177554   GM           YUKON                SALT LAKE CITY           US
32337   1GKS2BKC1LR177599   GM           YUKON                DENVER                   CO
32338   1GKS2BKC1LR178817   GM           YUKON                RENO                     NV
32339   1GKS2BKC1LR179241   GM           YUKON                PALM SPRINGS             CA
32340   1GKS2BKC1LR179854   GM           YUKON                ORLANDO                  FL
32341   1GKS2BKC1LR179871   GM           YUKON                SCRANTON                 PA
32342   1GKS2BKC1LR180020   GM           YUKON                SAN ANTONIO              TX
32343   1GKS2BKC1LR182611   GM           YUKON                FRESNO                   CA
32344   1GKS2BKC1LR182673   GM           YUKON                LAS VEGAS                NV
32345   1GKS2BKC1LR183421   GM           YUKON                MONTEREY                 CA
32346   1GKS2BKC1LR184097   GM           YUKON                KNOXVILLE                TN
32347   1GKS2BKC1LR184102   GM           YUKON                MIAMI                    FL
32348   1GKS2BKC1LR185010   GM           YUKON                TAMPA                    FL
32349   1GKS2BKC1LR185038   GM           YUKON                ORLANDO                  FL
32350   1GKS2BKC1LR185041   GM           YUKON                TAMPA                    FL
32351   1GKS2BKC1LR185072   GM           YUKON                JACKSONVILLE             FL
32352   1GKS2BKC1LR185105   GM           YUKON                WEST PALM BEACH          FL
32353   1GKS2BKC1LR185122   GM           YUKON                FORT MYERS               FL
32354   1GKS2BKC1LR185525   GM           YUKON                TAMPA                    FL
32355   1GKS2BKC1LR185590   GM           YUKON                TAMPA                    FL
32356   1GKS2BKC1LR186299   GM           YUKON                FORT MYERS               FL
32357   1GKS2BKC1LR186366   GM           YUKON                ATLANTA                  GA
32358   1GKS2BKC1LR187520   GM           YUKON                COLLEGE PARK             GA
32359   1GKS2BKC1LR187565   GM           YUKON                NEWARK                   NJ
32360   1GKS2BKC1LR188442   GM           YUKON                HOUSTON                  TX
32361   1GKS2BKC1LR189476   GM           YUKON                NORFOLK                  VA
32362   1GKS2BKC1LR189638   GM           YUKON                RALIEGH                  NC
32363   1GKS2BKC1LR189803   GM           YUKON                SAN DIEGO                CA
32364   1GKS2BKC1LR190014   GM           YUKON                CHARLOTTE                NC
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32365   1GKS2BKC1LR190305   GM           YUKON                RICHMOND                 VA
32366   1GKS2BKC1LR190661   GM           YUKON                MINNEAPOLIS              MN
32367   1GKS2BKC1LR190725   GM           YUKON                BURBANK                  CA
32368   1GKS2BKC1LR190921   GM           YUKON                PALM SPRINGS             CA
32369   1GKS2BKC1LR191275   GM           YUKON                OAKLAND                  CA
32370   1GKS2BKC1LR191485   GM           YUKON                KANSAS CITY              MO
32371   1GKS2BKC1LR192068   GM           YUKON                DENVER                   CO
32372   1GKS2BKC1LR193348   GM           YUKON                HOUSTON                  TX
32373   1GKS2BKC1LR194046   GM           YUKON                San Diego                CA
32374   1GKS2BKC1LR195388   GM           YUKON                FORT LAUDERDALE          FL
32375   1GKS2BKC1LR203330   GM           YUKON                FORT LAUDERDALE          FL
32376   1GKS2BKC1LR204008   GM           YUKON                CHICAGO                  IL
32377   1GKS2BKC1LR205529   GM           YUKON                OAKLAND                  CA
32378   1GKS2BKC1LR205935   GM           YUKON                KENNER                   LA
32379   1GKS2BKC1LR206826   GM           YUKON                STERLING                 VA
32380   1GKS2BKC1LR207412   GM           YUKON                Atlanta                  GA
32381   1GKS2BKC1LR207460   GM           YUKON                COLLEGE PARK             GA
32382   1GKS2BKC1LR207510   GM           YUKON                DETROIT                  MI
32383   1GKS2BKC1LR207751   GM           YUKON                DETROIT                  MI
32384   1GKS2BKC1LR207829   GM           YUKON                HOUSTON                  TX
32385   1GKS2BKC1LR207863   GM           YUKON                ALBUQUERQUE              NM
32386   1GKS2BKC1LR207880   GM           YUKON                HOUSTON                  TX
32387   1GKS2BKC1LR208026   GM           YUKON                DFW AIRPORT              TX
32388   1GKS2BKC1LR208074   GM           YUKON                Tulsa                    OK
32389   1GKS2BKC1LR209631   GM           YUKON                SAN JOSE                 CA
32390   1GKS2BKC1LR209693   GM           YUKON                LOS ANGELES              CA
32391   1GKS2BKC1LR210245   GM           YUKON                Cicero                   NY
32392   1GKS2BKC1LR211718   GM           YUKON                SACRAMENTO               CA
32393   1GKS2BKC1LR212206   GM           YUKON                NEW YORK CITY            NY
32394   1GKS2BKC1LR213033   GM           YUKON                BURBANK                  CA
32395   1GKS2BKC1LR214733   GM           YUKON                LOS ANGELES              CA
32396   1GKS2BKC1LR214778   GM           YUKON                OAKLAND                  CA
32397   1GKS2BKC1LR215493   GM           YUKON                SAN FRANCISCO            CA
32398   1GKS2BKC1LR215770   GM           YUKON                SAN FRANCISCO            CA
32399   1GKS2BKC1LR215848   GM           YUKON                PORTLAND                 OR
32400   1GKS2BKC1LR216403   GM           YUKON                SEATAC                   WA
32401   1GKS2BKC1LR216661   GM           YUKON                JACKSONVILLE             FL
32402   1GKS2BKC1LR216739   GM           YUKON                PORTLAND                 ME
32403   1GKS2BKC1LR217129   GM           YUKON                TAMPA                    FL
32404   1GKS2BKC1LR217647   GM           YUKON                PHOENIX                  AZ
32405   1GKS2BKC1LR235825   GM           YUKON                MEMPHIS                  TN
32406   1GKS2BKC1LR236442   GM           YUKON                LOS ANGELES              CA
32407   1GKS2BKC1LR236764   GM           YUKON                SACRAMENTO               CA
32408   1GKS2BKC1LR237493   GM           YUKON                LAS VEGAS                NV
32409   1GKS2BKC1LR237994   GM           YUKON                SAN DIEGO                CA
32410   1GKS2BKC1LR238031   GM           YUKON                INGLEWOOD                CA
32411   1GKS2BKC1LR239163   GM           YUKON                LOS ANGELES              CA
32412   1GKS2BKC1LR239194   GM           YUKON                BURBANK                  CA
32413   1GKS2BKC1LR243018   GM           YUKON                STERLING                 VA
32414   1GKS2BKC1LR245304   GM           YUKON                Atlanta                  GA
32415   1GKS2BKC1LR246047   GM           YUKON                TAMPA                    FL
32416   1GKS2BKC1LR248686   GM           YUKON                CLEVELAND                OH
32417   1GKS2BKC1LR249367   GM           YUKON                SAINT LOUIS              MO
32418   1GKS2BKC1LR250230   GM           YUKON                MEMPHIS                  TN
32419   1GKS2BKC1LR250860   GM           YUKON                CHICAGO                  IL
32420   1GKS2BKC1LR251166   GM           YUKON                BIRMINGHAM               AL
32421   1GKS2BKC1LR251684   GM           YUKON                DETROIT                  MI
32422   1GKS2BKC1LR252074   GM           YUKON                SAINT LOUIS              MO
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32423   1GKS2BKC1LR252107   GM           YUKON                SAINT LOUIS              MO
32424   1GKS2BKC1LR252348   GM           YUKON                CHICAGO                  IL
32425   1GKS2BKC1LR253922   GM           YUKON                SHREVEPORT               LA
32426   1GKS2BKC1LR254780   GM           YUKON                BIRMINGHAM               AL
32427   1GKS2BKC1LR254827   GM           YUKON                WETUMPKA                 AL
32428   1GKS2BKC1LR255752   GM           YUKON                Atlanta                  GA
32429   1GKS2BKC1LR256657   GM           YUKON                Atlanta                  GA
32430   1GKS2BKC1LR257288   GM           YUKON                DALLAS                   TX
32431   1GKS2BKC1LR258618   GM           YUKON                FORT MYERS               FL
32432   1GKS2BKC1LR261115   GM           YUKON                Atlanta                  GA
32433   1GKS2BKC1LR262197   GM           YUKON                Los Angeles              CA
32434   1GKS2BKC1LR262247   GM           YUKON                SARASOTA                 FL
32435   1GKS2BKC1LR262829   GM           YUKON                SOUTH BURLINGTO          VT
32436   1GKS2BKC1LR263821   GM           YUKON                SAINT PAUL               MN
32437   1GKS2BKC1LR263933   GM           YUKON                SANTA ANA                CA
32438   1GKS2BKC1LR265889   GM           YUKON                WARWICK                  RI
32439   1GKS2BKC1LR265911   GM           YUKON                WHITE PLAINS             NY
32440   1GKS2BKC1LR265942   GM           YUKON                BOSTON                   MA
32441   1GKS2BKC1LR267948   GM           YUKON                SAN JOSE                 CA
32442   1GKS2BKC1LR268078   GM           YUKON                SEATAC                   WA
32443   1GKS2BKC1LR268131   GM           YUKON                GRAND RAPIDS             MI
32444   1GKS2BKC1LR269103   GM           YUKON                MIAMI                    FL
32445   1GKS2BKC1LR269523   GM           YUKON                ROCHESTER                NY
32446   1GKS2BKC1LR269795   GM           YUKON                ROCHESTER                NY
32447   1GKS2BKC1LR270476   GM           YUKON                STERLING                 VA
32448   1GKS2BKC1LR270493   GM           YUKON                CHATTANOOGA              TN
32449   1GKS2BKC1LR270574   GM           YUKON                DICKINSON                ND
32450   1GKS2BKC1LR270588   GM           YUKON                MEMPHIS                  TN
32451   1GKS2BKC1LR270929   GM           YUKON                STERLING                 VA
32452   1GKS2BKC1LR270932   GM           YUKON                COLUMBUS                 OH
32453   1GKS2BKC1LR271658   GM           YUKON                STERLING                 VA
32454   1GKS2BKC1LR271756   GM           YUKON                Tulsa                    OK
32455   1GKS2BKC1LR271868   GM           YUKON                Raleigh                  NC
32456   1GKS2BKC1LR271899   GM           YUKON                MONROE                   NC
32457   1GKS2BKC1LR271949   GM           YUKON                RALEIGH                  NC
32458   1GKS2BKC1LR272454   GM           YUKON                CHICAGO                  IL
32459   1GKS2BKC1LR273054   GM           YUKON                ORLANDO                  FL
32460   1GKS2BKC1LR273104   GM           YUKON                CHARLOTTE                NC
32461   1GKS2BKC1LR273233   GM           YUKON                ORLANDO                  FL
32462   1GKS2BKC1LR273362   GM           YUKON                AUGUSTA                  GA
32463   1GKS2BKC1LR273667   GM           YUKON                KENNER                   LA
32464   1GKS2BKC1LR273782   GM           YUKON                MILWAUKEE                WI
32465   1GKS2BKC1LR274124   GM           YUKON                DETROIT                  MI
32466   1GKS2BKC1LR274141   GM           YUKON                NEW ORLEANS              LA
32467   1GKS2BKC1LR274401   GM           YUKON                RONKONKOMA               NY
32468   1GKS2BKC1LR274415   GM           YUKON                NEW YORK CITY            NY
32469   1GKS2BKC1LR274589   GM           YUKON                DETROIT                  MI
32470   1GKS2BKC1LR275113   GM           YUKON                DETROIT                  MI
32471   1GKS2BKC1LR275323   GM           YUKON                CHICAGO O'HARE AP        IL
32472   1GKS2BKC1LR275404   GM           YUKON                DETROIT                  MI
32473   1GKS2BKC1LR275886   GM           YUKON                DETROIT                  MI
32474   1GKS2BKC1LR276441   GM           YUKON                DETROIT                  MI
32475   1GKS2BKC1LR276861   GM           YUKON                GRAND RAPIDS             MI
32476   1GKS2BKC1LR277900   GM           YUKON                CLEVELAND                OH
32477   1GKS2BKC1LR280490   GM           YUKON                DENVER                   CO
32478   1GKS2BKC1LR282806   GM           YUKON                DENVER                   CO
32479   1GKS2BKC1LR283678   GM           YUKON                DENVER                   CO
32480   1GKS2BKC1LR283793   GM           YUKON                CHICAGO                  IL
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32481   1GKS2BKC1LR283891   GM           YUKON                DENVER                   CO
32482   1GKS2BKC1LR283938   GM           YUKON                MILWAUKEE                WI
32483   1GKS2BKC1LR284426   GM           YUKON                SAVANNAH                 GA
32484   1GKS2BKC1LR284720   GM           YUKON                ATLANTA                  GA
32485   1GKS2BKC1LR284846   GM           YUKON                SAVANNAH                 GA
32486   1GKS2BKC1LR285074   GM           YUKON                Des Moines               IA
32487   1GKS2BKC1LR285303   GM           YUKON                BOSTON                   MA
32488   1GKS2BKC2JR376318   GM           YUKON                North Dighton            MA
32489   1GKS2BKC2KR158588   GM           YUKON                CLEARWATER               FL
32490   1GKS2BKC2KR158591   GM           YUKON                BOSTON                   MA
32491   1GKS2BKC2KR158767   GM           YUKON                DENVER                   CO
32492   1GKS2BKC2KR158803   GM           YUKON                Fontana                  CA
32493   1GKS2BKC2KR159109   GM           YUKON                BOSTON                   MA
32494   1GKS2BKC2KR159367   GM           YUKON                OKLAHOMA CITY            OK
32495   1GKS2BKC2KR159773   GM           YUKON                Tampa                    FL
32496   1GKS2BKC2KR160986   GM           YUKON                DENVER                   CO
32497   1GKS2BKC2KR161264   GM           YUKON                SHAKOPEE                 MN
32498   1GKS2BKC2KR161328   GM           YUKON                Davie                    FL
32499   1GKS2BKC2KR161717   GM           YUKON                Bordentown               NJ
32500   1GKS2BKC2KR162737   GM           YUKON                CHICAGO                  IL
32501   1GKS2BKC2KR162785   GM           YUKON                DANIA BEACH              FL
32502   1GKS2BKC2KR162799   GM           YUKON                ORLANDO                  FL
32503   1GKS2BKC2KR162933   GM           YUKON                Florissant               MO
32504   1GKS2BKC2KR164990   GM           YUKON                Las Vegas                NV
32505   1GKS2BKC2KR165492   GM           YUKON                KENNER                   LA
32506   1GKS2BKC2KR166044   GM           YUKON                ROANOKE                  VA
32507   1GKS2BKC2KR166383   GM           YUKON                Fontana                  CA
32508   1GKS2BKC2KR166464   GM           YUKON                North Dighton            MA
32509   1GKS2BKC2KR166562   GM           YUKON                DAYTONA BEACH            FL
32510   1GKS2BKC2KR167341   GM           YUKON                Roseville                CA
32511   1GKS2BKC2KR167498   GM           YUKON                NEW YORK CITY            NY
32512   1GKS2BKC2KR169154   GM           YUKON                OAKLAND                  CA
32513   1GKS2BKC2KR170076   GM           YUKON                PLEASANTON               CA
32514   1GKS2BKC2KR170367   GM           YUKON                Tolleson                 AZ
32515   1GKS2BKC2KR171633   GM           YUKON                Fontana                  CA
32516   1GKS2BKC2KR172524   GM           YUKON                CHEEKTOWAGA              NY
32517   1GKS2BKC2KR173303   GM           YUKON                Houston                  TX
32518   1GKS2BKC2KR174273   GM           YUKON                Jersey City              NJ
32519   1GKS2BKC2KR178145   GM           YUKON                Houston                  TX
32520   1GKS2BKC2KR179537   GM           YUKON                Estero                   FL
32521   1GKS2BKC2KR180753   GM           YUKON                Aurora                   CO
32522   1GKS2BKC2KR181935   GM           YUKON                SACRAMENTO               CA
32523   1GKS2BKC2KR183264   GM           YUKON                PHILADELPHIA             PA
32524   1GKS2BKC2KR184334   GM           YUKON                TAMPA                    FL
32525   1GKS2BKC2KR185645   GM           YUKON                Fontana                  CA
32526   1GKS2BKC2KR273773   GM           YUKON                SOUTHEAST DST OFFC       OK
32527   1GKS2BKC2LR151500   GM           YUKON                TAMPA                    FL
32528   1GKS2BKC2LR152629   GM           YUKON                TUCSON                   AZ
32529   1GKS2BKC2LR152677   GM           YUKON                Atlanta                  GA
32530   1GKS2BKC2LR152937   GM           YUKON                KANSAS CITY              MO
32531   1GKS2BKC2LR152968   GM           YUKON                BLOOMINGTON              IL
32532   1GKS2BKC2LR153246   GM           YUKON                HOLLY HILL               FL
32533   1GKS2BKC2LR153554   GM           YUKON                WEST PALM BEACH          FL
32534   1GKS2BKC2LR153778   GM           YUKON                Miami                    FL
32535   1GKS2BKC2LR153991   GM           YUKON                CLEVELAND                OH
32536   1GKS2BKC2LR154168   GM           YUKON                Atlanta                  GA
32537   1GKS2BKC2LR154302   GM           YUKON                BALTIMORE                MD
32538   1GKS2BKC2LR154428   GM           YUKON                WARWICK                  RI
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32539   1GKS2BKC2LR155465   GM           YUKON                ORLANDO                  FL
32540   1GKS2BKC2LR155479   GM           YUKON                WEST COLUMBIA            SC
32541   1GKS2BKC2LR155532   GM           YUKON                TAMPA                    FL
32542   1GKS2BKC2LR156020   GM           YUKON                LAS VEGAS                NV
32543   1GKS2BKC2LR156342   GM           YUKON                TAMPA                    FL
32544   1GKS2BKC2LR157247   GM           YUKON                ORLANDO                  FL
32545   1GKS2BKC2LR157295   GM           YUKON                STERLING                 VA
32546   1GKS2BKC2LR157331   GM           YUKON                Dallas                   TX
32547   1GKS2BKC2LR157507   GM           YUKON                CHICAGO                  IL
32548   1GKS2BKC2LR157541   GM           YUKON                TUCSON                   AZ
32549   1GKS2BKC2LR157569   GM           YUKON                MIAMI                    FL
32550   1GKS2BKC2LR158074   GM           YUKON                Dallas                   TX
32551   1GKS2BKC2LR158110   GM           YUKON                ORLANDO                  FL
32552   1GKS2BKC2LR158205   GM           YUKON                MIAMI                    FL
32553   1GKS2BKC2LR158513   GM           YUKON                Atlanta                  GA
32554   1GKS2BKC2LR158706   GM           YUKON                ORLANDO                  FL
32555   1GKS2BKC2LR158950   GM           YUKON                ORLANDO                  FL
32556   1GKS2BKC2LR158978   GM           YUKON                LAS VEGAS                NV
32557   1GKS2BKC2LR159273   GM           YUKON                WEST COLUMBIA            SC
32558   1GKS2BKC2LR159290   GM           YUKON                Miami                    FL
32559   1GKS2BKC2LR159306   GM           YUKON                Atlanta                  GA
32560   1GKS2BKC2LR159421   GM           YUKON                FORT MYERS               FL
32561   1GKS2BKC2LR160309   GM           YUKON                Atlanta                  GA
32562   1GKS2BKC2LR160679   GM           YUKON                DALLAS                   TX
32563   1GKS2BKC2LR161041   GM           YUKON                DFW AIRPORT              TX
32564   1GKS2BKC2LR161332   GM           YUKON                AUSTIN                   TX
32565   1GKS2BKC2LR161525   GM           YUKON                Raleigh                  NC
32566   1GKS2BKC2LR162903   GM           YUKON                DALLAS                   TX
32567   1GKS2BKC2LR163047   GM           YUKON                FORT LAUDERDALE          FL
32568   1GKS2BKC2LR163131   GM           YUKON                SAN ANTONIO              TX
32569   1GKS2BKC2LR163484   GM           YUKON                Hebron                   KY
32570   1GKS2BKC2LR164229   GM           YUKON                SANTA ANA                CA
32571   1GKS2BKC2LR165042   GM           YUKON                DENVER                   CO
32572   1GKS2BKC2LR165090   GM           YUKON                DALLAS                   TX
32573   1GKS2BKC2LR165736   GM           YUKON                OKLAHOMA CITY            OK
32574   1GKS2BKC2LR167549   GM           YUKON                LEXINGTON                KY
32575   1GKS2BKC2LR168362   GM           YUKON                SAN FRANCISCO            CA
32576   1GKS2BKC2LR170032   GM           YUKON                LA HABRA                 CA
32577   1GKS2BKC2LR171732   GM           YUKON                SAN DIEGO                CA
32578   1GKS2BKC2LR172122   GM           YUKON                SACRAMENTO               CA
32579   1GKS2BKC2LR173111   GM           YUKON                PHOENIX                  AZ
32580   1GKS2BKC2LR175800   GM           YUKON                ONTARIO                  CA
32581   1GKS2BKC2LR176221   GM           YUKON                DENVER                   CO
32582   1GKS2BKC2LR176283   GM           YUKON                PHOENIX                  AZ
32583   1GKS2BKC2LR176512   GM           YUKON                LAS VEGAS                NV
32584   1GKS2BKC2LR176901   GM           YUKON                ONTARIO                  CA
32585   1GKS2BKC2LR177532   GM           YUKON                INGLEWOOD                CA
32586   1GKS2BKC2LR177563   GM           YUKON                BURBANK                  CA
32587   1GKS2BKC2LR177711   GM           YUKON                PALM SPRINGS             CA
32588   1GKS2BKC2LR177837   GM           YUKON                COCOA                    FL
32589   1GKS2BKC2LR177868   GM           YUKON                Atlanta                  GA
32590   1GKS2BKC2LR178454   GM           YUKON                MIAMI                    FL
32591   1GKS2BKC2LR178938   GM           YUKON                SARASOTA                 FL
32592   1GKS2BKC2LR180382   GM           YUKON                SACRAMENTO               CA
32593   1GKS2BKC2LR181533   GM           YUKON                BURBANK                  CA
32594   1GKS2BKC2LR182598   GM           YUKON                SAN FRANCISCO            CA
32595   1GKS2BKC2LR182634   GM           YUKON                OAKLAND                  CA
32596   1GKS2BKC2LR182729   GM           YUKON                SANTA ANA                CA
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32597   1GKS2BKC2LR183749   GM           YUKON                LOS ANGELES              CA
32598   1GKS2BKC2LR183914   GM           YUKON                NEWPORT BEACH            CA
32599   1GKS2BKC2LR184271   GM           YUKON                ORLANDO                  FL
32600   1GKS2BKC2LR184304   GM           YUKON                FORT LAUDERDALE          FL
32601   1GKS2BKC2LR184321   GM           YUKON                TAMPA                    FL
32602   1GKS2BKC2LR184951   GM           YUKON                ORLANDO                  FL
32603   1GKS2BKC2LR185033   GM           YUKON                MIAMI                    FL
32604   1GKS2BKC2LR185128   GM           YUKON                ORLANDO                  FL
32605   1GKS2BKC2LR185517   GM           YUKON                ORLANDO                  FL
32606   1GKS2BKC2LR185520   GM           YUKON                KNOXVILLE                TN
32607   1GKS2BKC2LR185596   GM           YUKON                TAMPA                    FL
32608   1GKS2BKC2LR185954   GM           YUKON                SARASOTA                 FL
32609   1GKS2BKC2LR186408   GM           YUKON                LAS VEGAS                NV
32610   1GKS2BKC2LR187025   GM           YUKON                LOS ANGELES              CA
32611   1GKS2BKC2LR187039   GM           YUKON                SAN DIEGO                CA
32612   1GKS2BKC2LR187428   GM           YUKON                NEW BERN                 NC
32613   1GKS2BKC2LR188126   GM           YUKON                SALT LAKE CITY           UT
32614   1GKS2BKC2LR188238   GM           YUKON                WEST PALM BEACH          FL
32615   1GKS2BKC2LR189146   GM           YUKON                PALM SPRINGS             CA
32616   1GKS2BKC2LR189874   GM           YUKON                SACRAMENTO               CA
32617   1GKS2BKC2LR190202   GM           YUKON                LAS VEGAS                NV
32618   1GKS2BKC2LR190328   GM           YUKON                NEW BERN                 NC
32619   1GKS2BKC2LR191799   GM           YUKON                GUNNISON                 CO
32620   1GKS2BKC2LR192032   GM           YUKON                DETROIT                  MI
32621   1GKS2BKC2LR193987   GM           YUKON                KANSAS CITY              MO
32622   1GKS2BKC2LR194654   GM           YUKON                MIAMI                    FL
32623   1GKS2BKC2LR194668   GM           YUKON                FORT LAUDERDALE          FL
32624   1GKS2BKC2LR194704   GM           YUKON                KANSAS CITY              MO
32625   1GKS2BKC2LR195013   GM           YUKON                ORLANDO                  FL
32626   1GKS2BKC2LR195447   GM           YUKON                FORT MYERS               FL
32627   1GKS2BKC2LR202980   GM           YUKON                Atlanta                  GA
32628   1GKS2BKC2LR203983   GM           YUKON                SAVANNAH                 GA
32629   1GKS2BKC2LR206835   GM           YUKON                Hebron                   KY
32630   1GKS2BKC2LR207421   GM           YUKON                MIAMI                    FL
32631   1GKS2BKC2LR207497   GM           YUKON                DALLAS                   TX
32632   1GKS2BKC2LR207810   GM           YUKON                JACKSONVILLE             FL
32633   1GKS2BKC2LR207869   GM           YUKON                LOUISVILLE               KY
32634   1GKS2BKC2LR207919   GM           YUKON                CHARLESTON               WV
32635   1GKS2BKC2LR207970   GM           YUKON                STERLING                 VA
32636   1GKS2BKC2LR208021   GM           YUKON                JACKSON                  MS
32637   1GKS2BKC2LR210920   GM           YUKON                DANIA BEACH              FL
32638   1GKS2BKC2LR212201   GM           YUKON                HARTFORD                 CT
32639   1GKS2BKC2LR212215   GM           YUKON                HAILEY SUN VALLEY        ID
32640   1GKS2BKC2LR212330   GM           YUKON                Teterboro                NJ
32641   1GKS2BKC2LR213798   GM           YUKON                SAN JOSE                 CA
32642   1GKS2BKC2LR213803   GM           YUKON                DFW AIRPORT              TX
32643   1GKS2BKC2LR214059   GM           YUKON                LAS VEGAS                NV
32644   1GKS2BKC2LR214367   GM           YUKON                SAN JOSE                 CA
32645   1GKS2BKC2LR215406   GM           YUKON                PENSACOLA                FL
32646   1GKS2BKC2LR215440   GM           YUKON                LAS VEGAS                NV
32647   1GKS2BKC2LR216684   GM           YUKON                FORT MYERS               FL
32648   1GKS2BKC2LR216779   GM           YUKON                DALLAS                   TX
32649   1GKS2BKC2LR232593   GM           YUKON                PHOENIX                  AZ
32650   1GKS2BKC2LR236255   GM           YUKON                LAS VEGAS                NV
32651   1GKS2BKC2LR236420   GM           YUKON                PALM SPRINGS             CA
32652   1GKS2BKC2LR236580   GM           YUKON                LAS VEGAS                NV
32653   1GKS2BKC2LR236739   GM           YUKON                ONTARIO                  CA
32654   1GKS2BKC2LR237468   GM           YUKON                DETROIT                  MI
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32655   1GKS2BKC2LR237521   GM           YUKON                PHILADELPHIA             PA
32656   1GKS2BKC2LR237602   GM           YUKON                SACRAMENTO               CA
32657   1GKS2BKC2LR238507   GM           YUKON                SACRAMENTO               CA
32658   1GKS2BKC2LR239155   GM           YUKON                LOS ANGELES              CA
32659   1GKS2BKC2LR239799   GM           YUKON                BURBANK                  CA
32660   1GKS2BKC2LR240094   GM           YUKON                LOS ANGELES              CA
32661   1GKS2BKC2LR240113   GM           YUKON                SEATAC                   WA
32662   1GKS2BKC2LR240824   GM           YUKON                LOS ANGELES              CA
32663   1GKS2BKC2LR240869   GM           YUKON                SAN FRANCISCO            CA
32664   1GKS2BKC2LR243013   GM           YUKON                WEST PALM BEACH          FL
32665   1GKS2BKC2LR243075   GM           YUKON                PHILADELPHIA             PA
32666   1GKS2BKC2LR243352   GM           YUKON                MIAMI                    FL
32667   1GKS2BKC2LR244176   GM           YUKON                TAMPA                    US
32668   1GKS2BKC2LR244906   GM           YUKON                DETROIT                  MI
32669   1GKS2BKC2LR245280   GM           YUKON                JACKSONVILLE             FL
32670   1GKS2BKC2LR247840   GM           YUKON                BURBANK                  CA
32671   1GKS2BKC2LR248129   GM           YUKON                KENNER                   LA
32672   1GKS2BKC2LR248132   GM           YUKON                KENNER                   LA
32673   1GKS2BKC2LR248339   GM           YUKON                KENNER                   LA
32674   1GKS2BKC2LR248342   GM           YUKON                KENNER                   LA
32675   1GKS2BKC2LR248390   GM           YUKON                RONKONKOMA               NY
32676   1GKS2BKC2LR248714   GM           YUKON                DALLAS                   TX
32677   1GKS2BKC2LR248728   GM           YUKON                SAINT LOUIS              MO
32678   1GKS2BKC2LR248731   GM           YUKON                CORPUS CHRISTI           TX
32679   1GKS2BKC2LR250009   GM           YUKON                MEMPHIS                  TN
32680   1GKS2BKC2LR250494   GM           YUKON                NEW ORLEANS              LA
32681   1GKS2BKC2LR250625   GM           YUKON                KNOXVILLE                TN
32682   1GKS2BKC2LR250785   GM           YUKON                CHICAGO                  IL
32683   1GKS2BKC2LR250799   GM           YUKON                SAINT LOUIS              MO
32684   1GKS2BKC2LR250804   GM           YUKON                DETROIT                  MI
32685   1GKS2BKC2LR250950   GM           YUKON                GRAND RAPIDS             MI
32686   1GKS2BKC2LR251435   GM           YUKON                DETROIT                  MI
32687   1GKS2BKC2LR251659   GM           YUKON                CHICAGO                  IL
32688   1GKS2BKC2LR251936   GM           YUKON                DETROIT                  MI
32689   1GKS2BKC2LR252035   GM           YUKON                DETROIT                  MI
32690   1GKS2BKC2LR252388   GM           YUKON                SAINT LOUIS              MO
32691   1GKS2BKC2LR252424   GM           YUKON                CHICAGO                  IL
32692   1GKS2BKC2LR252536   GM           YUKON                SAINT LOUIS              MO
32693   1GKS2BKC2LR252584   GM           YUKON                CHICAGO                  IL
32694   1GKS2BKC2LR252701   GM           YUKON                CHICAGO                  IL
32695   1GKS2BKC2LR252925   GM           YUKON                INDIANAPOLIS             IN
32696   1GKS2BKC2LR254478   GM           YUKON                Atlanta                  GA
32697   1GKS2BKC2LR254822   GM           YUKON                ATLANTA                  GA
32698   1GKS2BKC2LR254898   GM           YUKON                ATLANTA                  GA
32699   1GKS2BKC2LR255842   GM           YUKON                ATLANTA                  GA
32700   1GKS2BKC2LR257168   GM           YUKON                DALLAS                   TX
32701   1GKS2BKC2LR257347   GM           YUKON                SAN ANTONIO              TX
32702   1GKS2BKC2LR261530   GM           YUKON                CHICAGO                  IL
32703   1GKS2BKC2LR262225   GM           YUKON                RONKONKOMA               NY
32704   1GKS2BKC2LR262306   GM           YUKON                BOSTON                   MA
32705   1GKS2BKC2LR262838   GM           YUKON                BOSTON                   MA
32706   1GKS2BKC2LR265691   GM           YUKON                BURLINGTON               VT
32707   1GKS2BKC2LR265917   GM           YUKON                WARWICK                  RI
32708   1GKS2BKC2LR268526   GM           YUKON                SAN FRANCISCO            CA
32709   1GKS2BKC2LR268686   GM           YUKON                SAN FRANCISCO            CA
32710   1GKS2BKC2LR269174   GM           YUKON                WARWICK                  RI
32711   1GKS2BKC2LR269322   GM           YUKON                ORLANDO                  FL
32712   1GKS2BKC2LR270454   GM           YUKON                PENSACOLA                FL
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32713   1GKS2BKC2LR270468   GM          YUKON                NASHVILLE                TN
32714   1GKS2BKC2LR270485   GM          YUKON                STERLING                 VA
32715   1GKS2BKC2LR270826   GM          YUKON                PALM SPRINGS             CA
32716   1GKS2BKC2LR271622   GM          YUKON                KENNER                   LA
32717   1GKS2BKC2LR271717   GM          YUKON                KNOXVILLE                TN
32718   1GKS2BKC2LR271801   GM          YUKON                KNOXVILLE                TN
32719   1GKS2BKC2LR271832   GM          YUKON                SHREVEPORT               LA
32720   1GKS2BKC2LR271894   GM          YUKON                STERLING                 VA
32721   1GKS2BKC2LR272303   GM          YUKON                SAINT PAUL               MN
32722   1GKS2BKC2LR272558   GM          YUKON                SANDPOINT                ID
32723   1GKS2BKC2LR272754   GM          YUKON                PHILADELPHIA             PA
32724   1GKS2BKC2LR272818   GM          YUKON                Atlanta                  GA
32725   1GKS2BKC2LR272866   GM          YUKON                SAN DIEGO                CA
32726   1GKS2BKC2LR273371   GM          YUKON                RALEIGH                  NC
32727   1GKS2BKC2LR274097   GM          YUKON                SAN JOSE                 CA
32728   1GKS2BKC2LR275072   GM          YUKON                DETROIT                  MI
32729   1GKS2BKC2LR276013   GM          YUKON                HARRISBURG               PA
32730   1GKS2BKC2LR277128   GM          YUKON                DETROIT                  MI
32731   1GKS2BKC2LR278120   GM          YUKON                KANSAS CITY              MO
32732   1GKS2BKC2LR279929   GM          YUKON                FORT LAUDERDALE          FL
32733   1GKS2BKC2LR280255   GM          YUKON                ATLANTA                  GA
32734   1GKS2BKC2LR280725   GM          YUKON                SACRAMENTO               CA
32735   1GKS2BKC2LR280899   GM          YUKON                DENVER                   CO
32736   1GKS2BKC2LR284001   GM          YUKON                CLEVELAND                OH
32737   1GKS2BKC2LR284323   GM          YUKON                CHICAGO                  IL
32738   1GKS2BKC2LR284337   GM          YUKON                SAINT LOUIS              MO
32739   1GKS2BKC2LR285035   GM          YUKON                Des Moines               IA
32740   1GKS2BKC2LR285620   GM          YUKON                MILWAUKEE                WI
32741   1GKS2BKC3HR130940   GM          YUKON                Riverside                CA
32742   1GKS2BKC3JR281184   GM          YUKON                Tolleson                 AZ
32743   1GKS2BKC3JR362492   GM          YUKON                Norwalk                  CA
32744   1GKS2BKC3JR366543   GM          YUKON                Statesville              NC
32745   1GKS2BKC3JR369569   GM          YUKON                Winter Park              FL
32746   1GKS2BKC3JR373346   GM          YUKON                Hamilton                 OH
32747   1GKS2BKC3JR378739   GM          YUKON                Statesville              NC
32748   1GKS2BKC3JR394374   GM          YUKON                WEST PALM BEACH          FL
32749   1GKS2BKC3JR396982   GM          YUKON                Hattiesburg              MS
32750   1GKS2BKC3JR399266   GM          YUKON                HINGHAMN                 MA
32751   1GKS2BKC3JR403610   GM          YUKON                Manheim                  PA
32752   1GKS2BKC3KR158891   GM          YUKON                CHICAGO                  IL
32753   1GKS2BKC3KR160074   GM          YUKON                DETROIT                  MI
32754   1GKS2BKC3KR160222   GM          YUKON                North Dighton            MA
32755   1GKS2BKC3KR160981   GM          YUKON                Davie                    FL
32756   1GKS2BKC3KR161161   GM          YUKON                SANTA ANA                CA
32757   1GKS2BKC3KR161175   GM          YUKON                DAYTONA BEACH            FL
32758   1GKS2BKC3KR162066   GM          YUKON                FORT MYERS               FL
32759   1GKS2BKC3KR162116   GM          YUKON                Aurora                   CO
32760   1GKS2BKC3KR162312   GM          YUKON                NEWARK                   NJ
32761   1GKS2BKC3KR162732   GM          YUKON                Manheim                  PA
32762   1GKS2BKC3KR163122   GM          YUKON                Manheim                  PA
32763   1GKS2BKC3KR166361   GM          YUKON                PHOENIX                  AZ
32764   1GKS2BKC3KR167008   GM          YUKON                PORTLAND                 OR
32765   1GKS2BKC3KR168210   GM          YUKON                Riverside                CA
32766   1GKS2BKC3KR168790   GM          YUKON                Fontana                  CA
32767   1GKS2BKC3KR168899   GM          YUKON                Fontana                  CA
32768   1GKS2BKC3KR169034   GM          YUKON                LAS VEGAS                NV
32769   1GKS2BKC3KR169728   GM          YUKON                WARWICK                  RI
32770   1GKS2BKC3KR170765   GM          YUKON                Oakland                  CA
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32771   1GKS2BKC3KR173729   GM           YUKON                CHICAGO                  IL
32772   1GKS2BKC3KR176307   GM           YUKON                Carleton                 MI
32773   1GKS2BKC3KR176873   GM           YUKON                Tolleson                 AZ
32774   1GKS2BKC3KR177084   GM           YUKON                BURIEN                   WA
32775   1GKS2BKC3KR179479   GM           YUKON                Sarasota                 FL
32776   1GKS2BKC3KR182141   GM           YUKON                MIAMI                    FL
32777   1GKS2BKC3KR184486   GM           YUKON                North Dighton            MA
32778   1GKS2BKC3KR185525   GM           YUKON                Newark                   NJ
32779   1GKS2BKC3KR199621   GM           YUKON                Hattiesburg              MS
32780   1GKS2BKC3LR148783   GM           YUKON                Ft. Myers                FL
32781   1GKS2BKC3LR152493   GM           YUKON                STERLING                 VA
32782   1GKS2BKC3LR152512   GM           YUKON                WEST PALM BEACH          FL
32783   1GKS2BKC3LR152557   GM           YUKON                JACKSONVILLE             FL
32784   1GKS2BKC3LR152641   GM           YUKON                Atlanta                  GA
32785   1GKS2BKC3LR152686   GM           YUKON                INDIANAPOLIS             IN
32786   1GKS2BKC3LR152722   GM           YUKON                DALLAS                   TX
32787   1GKS2BKC3LR154003   GM           YUKON                HOUSTON                  TX
32788   1GKS2BKC3LR154227   GM           YUKON                FAYETTEVILLE             US
32789   1GKS2BKC3LR154292   GM           YUKON                ORLANDO                  FL
32790   1GKS2BKC3LR154860   GM           YUKON                JACKSONVILLE             FL
32791   1GKS2BKC3LR154924   GM           YUKON                MIAMI                    FL
32792   1GKS2BKC3LR155474   GM           YUKON                Alexandria               VA
32793   1GKS2BKC3LR155491   GM           YUKON                ALLENTOWN                US
32794   1GKS2BKC3LR155751   GM           YUKON                Atlanta                  GA
32795   1GKS2BKC3LR155779   GM           YUKON                Atlanta                  GA
32796   1GKS2BKC3LR155832   GM           YUKON                TAMPA                    FL
32797   1GKS2BKC3LR155880   GM           YUKON                PHOENIX                  AZ
32798   1GKS2BKC3LR156821   GM           YUKON                ORLANDO                  FL
32799   1GKS2BKC3LR156849   GM           YUKON                NEW ORLEANS              LA
32800   1GKS2BKC3LR156947   GM           YUKON                WEST PALM BEACH          FL
32801   1GKS2BKC3LR157144   GM           YUKON                LOS ANGELES              CA
32802   1GKS2BKC3LR157161   GM           YUKON                BALTIMORE                MD
32803   1GKS2BKC3LR157502   GM           YUKON                ORLANDO                  FL
32804   1GKS2BKC3LR157564   GM           YUKON                TAMPA                    FL
32805   1GKS2BKC3LR158214   GM           YUKON                NORFOLK                  VA
32806   1GKS2BKC3LR158987   GM           YUKON                SAVANNAH                 GA
32807   1GKS2BKC3LR159251   GM           YUKON                ORLANDO                  FL
32808   1GKS2BKC3LR159363   GM           YUKON                WEST COLUMBIA            SC
32809   1GKS2BKC3LR159850   GM           YUKON                GRAND RAPIDS             MI
32810   1GKS2BKC3LR160268   GM           YUKON                WEST PALM BEACH          FL
32811   1GKS2BKC3LR160920   GM           YUKON                TAMPA                    FL
32812   1GKS2BKC3LR161016   GM           YUKON                ORLANDO                  FL
32813   1GKS2BKC3LR162523   GM           YUKON                PHOENIX                  AZ
32814   1GKS2BKC3LR162537   GM           YUKON                BIRMINGHAM               AL
32815   1GKS2BKC3LR162540   GM           YUKON                MIAMI                    FL
32816   1GKS2BKC3LR162733   GM           YUKON                AUSTIN                   TX
32817   1GKS2BKC3LR163848   GM           YUKON                DALLAS                   TX
32818   1GKS2BKC3LR164319   GM           YUKON                Miami                    FL
32819   1GKS2BKC3LR164482   GM           YUKON                MORRISVILLE              NC
32820   1GKS2BKC3LR169052   GM           YUKON                JACKSON                  MS
32821   1GKS2BKC3LR169794   GM           YUKON                LOS ANGELES              CA
32822   1GKS2BKC3LR171383   GM           YUKON                INDIANAPOLIS             IN
32823   1GKS2BKC3LR171447   GM           YUKON                SACRAMENTO               CA
32824   1GKS2BKC3LR171996   GM           YUKON                SANTA ANA                CA
32825   1GKS2BKC3LR172839   GM           YUKON                Teterboro                NJ
32826   1GKS2BKC3LR173117   GM           YUKON                PHOENIX                  AZ
32827   1GKS2BKC3LR174588   GM           YUKON                SAN JOSE                 CA
32828   1GKS2BKC3LR174591   GM           YUKON                SACRAMENTO               CA
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32829   1GKS2BKC3LR175739   GM           YUKON                FRESNO                   CA
32830   1GKS2BKC3LR176518   GM           YUKON                LAS VEGAS                NV
32831   1GKS2BKC3LR176566   GM           YUKON                SANTA ANA                CA
32832   1GKS2BKC3LR176874   GM           YUKON                SAN JOSE                 CA
32833   1GKS2BKC3LR177488   GM           YUKON                CHICAGO                  IL
32834   1GKS2BKC3LR177684   GM           YUKON                LOS ANGELES              CA
32835   1GKS2BKC3LR177782   GM           YUKON                SAN RAFAEL               CA
32836   1GKS2BKC3LR177863   GM           YUKON                OMAHA                    NE
32837   1GKS2BKC3LR178768   GM           YUKON                BOSTON                   MA
32838   1GKS2BKC3LR179516   GM           YUKON                OAKLAND                  CA
32839   1GKS2BKC3LR179645   GM           YUKON                ALBANY                   NY
32840   1GKS2BKC3LR179709   GM           YUKON                NEWARK                   NJ
32841   1GKS2BKC3LR179824   GM           YUKON                RONKONKOMA               NY
32842   1GKS2BKC3LR179970   GM           YUKON                BURBANK                  CA
32843   1GKS2BKC3LR180522   GM           YUKON                SANTA ANA                CA
32844   1GKS2BKC3LR180598   GM           YUKON                OMAHA                    NE
32845   1GKS2BKC3LR181802   GM           YUKON                ONTARIO                  CA
32846   1GKS2BKC3LR182612   GM           YUKON                NEW YORK CITY            NY
32847   1GKS2BKC3LR184098   GM           YUKON                MIAMI                    FL
32848   1GKS2BKC3LR184103   GM           YUKON                FORT MYERS               FL
32849   1GKS2BKC3LR184117   GM           YUKON                FORT MYERS               FL
32850   1GKS2BKC3LR184120   GM           YUKON                WARWICK                  RI
32851   1GKS2BKC3LR184148   GM           YUKON                Miami                    FL
32852   1GKS2BKC3LR184182   GM           YUKON                MIAMI                    FL
32853   1GKS2BKC3LR185560   GM           YUKON                TAMPA                    FL
32854   1GKS2BKC3LR185753   GM           YUKON                KENNER                   LA
32855   1GKS2BKC3LR186448   GM           YUKON                SAN DIEGO                CA
32856   1GKS2BKC3LR186689   GM           YUKON                BIRMINGHAM               AL
32857   1GKS2BKC3LR187440   GM           YUKON                ATLANTA                  GA
32858   1GKS2BKC3LR188328   GM           YUKON                PHILADELPHIA             PA
32859   1GKS2BKC3LR188412   GM           YUKON                JACKSONVILLE             FL
32860   1GKS2BKC3LR189432   GM           YUKON                SALT LAKE CITY           US
32861   1GKS2BKC3LR189706   GM           YUKON                WHITE PLAINS             NY
32862   1GKS2BKC3LR190340   GM           YUKON                PHOENIX                  AZ
32863   1GKS2BKC3LR191519   GM           YUKON                DENVER                   CO
32864   1GKS2BKC3LR191553   GM           YUKON                DENVER                   CO
32865   1GKS2BKC3LR191777   GM           YUKON                DENVER                   CO
32866   1GKS2BKC3LR191780   GM           YUKON                Brighton                 CO
32867   1GKS2BKC3LR191813   GM           YUKON                DENVER                   CO
32868   1GKS2BKC3LR191827   GM           YUKON                DENVER                   CO
32869   1GKS2BKC3LR192041   GM           YUKON                GYPSUM                   CO
32870   1GKS2BKC3LR193657   GM           YUKON                ALBUQUERQUE              NM
32871   1GKS2BKC3LR193772   GM           YUKON                Las Vegas                NV
32872   1GKS2BKC3LR194078   GM           YUKON                LOS ANGELES              CA
32873   1GKS2BKC3LR194081   GM           YUKON                SAN JOSE                 CA
32874   1GKS2BKC3LR195019   GM           YUKON                MIAMI                    FL
32875   1GKS2BKC3LR195649   GM           YUKON                FORT LAUDERDALE          FL
32876   1GKS2BKC3LR195652   GM           YUKON                DETROIT                  MI
32877   1GKS2BKC3LR195697   GM           YUKON                ORLANDO                  FL
32878   1GKS2BKC3LR196087   GM           YUKON                CHEEKTOWAGA              NY
32879   1GKS2BKC3LR203944   GM           YUKON                MIAMI                    FL
32880   1GKS2BKC3LR203992   GM           YUKON                NEW BERN                 NC
32881   1GKS2BKC3LR204057   GM           YUKON                PHILADELPHIA             US
32882   1GKS2BKC3LR207394   GM           YUKON                RALIEGH                  NC
32883   1GKS2BKC3LR207413   GM           YUKON                DETROIT                  MI
32884   1GKS2BKC3LR207766   GM           YUKON                HOUSTON                  TX
32885   1GKS2BKC3LR207783   GM           YUKON                WHITE PLAINS             NY
32886   1GKS2BKC3LR207797   GM           YUKON                HOUSTON                  TX
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32887   1GKS2BKC3LR207802   GM           YUKON                HOUSTON                  TX
32888   1GKS2BKC3LR207816   GM           YUKON                HOUSTON                  TX
32889   1GKS2BKC3LR207864   GM           YUKON                DALLAS                   TX
32890   1GKS2BKC3LR207881   GM           YUKON                COLLEGE PARK             GA
32891   1GKS2BKC3LR208013   GM           YUKON                HOUSTON                  TX
32892   1GKS2BKC3LR213597   GM           YUKON                PALM SPRINGS             CA
32893   1GKS2BKC3LR214331   GM           YUKON                DALLAS                   TX
32894   1GKS2BKC3LR214412   GM           YUKON                SAN FRANCISCO            CA
32895   1GKS2BKC3LR214443   GM           YUKON                WICHITA FALLS            TX
32896   1GKS2BKC3LR214748   GM           YUKON                DALLAS                   TX
32897   1GKS2BKC3LR215172   GM           YUKON                LOS ANGELES              CA
32898   1GKS2BKC3LR215379   GM           YUKON                ORLANDO                  FL
32899   1GKS2BKC3LR215415   GM           YUKON                Reno                     NV
32900   1GKS2BKC3LR215558   GM           YUKON                SEATAC                   WA
32901   1GKS2BKC3LR216533   GM           YUKON                San Francisco            CA
32902   1GKS2BKC3LR216791   GM           YUKON                TAMPA                    FL
32903   1GKS2BKC3LR217147   GM           YUKON                WEST PALM BEACH          FL
32904   1GKS2BKC3LR236264   GM           YUKON                LAS VEGAS                NV
32905   1GKS2BKC3LR236345   GM           YUKON                STERLING                 VA
32906   1GKS2BKC3LR236362   GM           YUKON                LOS ANGELES              CA
32907   1GKS2BKC3LR236460   GM           YUKON                LOS ANGELES              CA
32908   1GKS2BKC3LR236782   GM           YUKON                PALM SPRINGS             CA
32909   1GKS2BKC3LR238032   GM           YUKON                Los Angeles              CA
32910   1GKS2BKC3LR239780   GM           YUKON                SACRAMENTO               CA
32911   1GKS2BKC3LR243215   GM           YUKON                Atlanta                  GA
32912   1GKS2BKC3LR247829   GM           YUKON                BURBANK                  CA
32913   1GKS2BKC3LR248141   GM           YUKON                ROANOKE                  VA
32914   1GKS2BKC3LR248690   GM           YUKON                KNOXVILLE                TN
32915   1GKS2BKC3LR248821   GM           YUKON                DETROIT                  MI
32916   1GKS2BKC3LR249290   GM           YUKON                MOBILE                   A
32917   1GKS2BKC3LR249581   GM           YUKON                MEMPHIS                  TN
32918   1GKS2BKC3LR250486   GM           YUKON                KNOXVILLE                TN
32919   1GKS2BKC3LR250617   GM           YUKON                DETROIT                  MI
32920   1GKS2BKC3LR250648   GM           YUKON                CHATTANOOGA              TN
32921   1GKS2BKC3LR250780   GM           YUKON                BIRMINGHAM               AL
32922   1GKS2BKC3LR250813   GM           YUKON                PENSACOLA                FL
32923   1GKS2BKC3LR251797   GM           YUKON                PHILADELPHIA             PA
32924   1GKS2BKC3LR252044   GM           YUKON                SAINT LOUIS              MO
32925   1GKS2BKC3LR252075   GM           YUKON                SAINT LOUIS              MO
32926   1GKS2BKC3LR252206   GM           YUKON                NEW BERN                 NC
32927   1GKS2BKC3LR252304   GM           YUKON                SAINT LOUIS              MO
32928   1GKS2BKC3LR252318   GM           YUKON                SAINT LOUIS              MO
32929   1GKS2BKC3LR252349   GM           YUKON                CHICAGO                  IL
32930   1GKS2BKC3LR252352   GM           YUKON                CHICAGO                  IL
32931   1GKS2BKC3LR253789   GM           YUKON                LAS VEGAS                NV
32932   1GKS2BKC3LR253808   GM           YUKON                LOS ANGELES              CA
32933   1GKS2BKC3LR254635   GM           YUKON                SHREVEPORT               LA
32934   1GKS2BKC3LR254960   GM           YUKON                AUSTIN                   TX
32935   1GKS2BKC3LR255185   GM           YUKON                ATLANTA                  GA
32936   1GKS2BKC3LR255252   GM           YUKON                PALM SPRINGS             CA
32937   1GKS2BKC3LR256188   GM           YUKON                Union City               GA
32938   1GKS2BKC3LR262198   GM           YUKON                ATLANTA                  GA
32939   1GKS2BKC3LR265182   GM           YUKON                FRESNO                   CA
32940   1GKS2BKC3LR265277   GM           YUKON                TAMPA                    FL
32941   1GKS2BKC3LR265456   GM           YUKON                BOSTON                   MA
32942   1GKS2BKC3LR265747   GM           YUKON                SOUTH BURLINGTO          VT
32943   1GKS2BKC3LR266025   GM           YUKON                MANCHESTER               US
32944   1GKS2BKC3LR266168   GM           YUKON                PORTLAND                 ME
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32945   1GKS2BKC3LR267725   GM          YUKON                SANTA CLARA              CA
32946   1GKS2BKC3LR268888   GM          YUKON                HIALEAH GARDENS          FL
32947   1GKS2BKC3LR268907   GM          YUKON                WHITE PLAINS             NY
32948   1GKS2BKC3LR269099   GM          YUKON                Miami                    FL
32949   1GKS2BKC3LR269569   GM          YUKON                INDIANAPOLIS             IN
32950   1GKS2BKC3LR270463   GM          YUKON                MINNEAPOLIS              MN
32951   1GKS2BKC3LR271645   GM          YUKON                OKLAHOMA CITY            OK
32952   1GKS2BKC3LR271712   GM          YUKON                NASHVILLE                TN
32953   1GKS2BKC3LR271936   GM          YUKON                STERLING                 VA
32954   1GKS2BKC3LR271998   GM          YUKON                RALIEGH                  NC
32955   1GKS2BKC3LR272102   GM          YUKON                CHARLOTTE                NC
32956   1GKS2BKC3LR272116   GM          YUKON                PHILADELPHIA             PA
32957   1GKS2BKC3LR272133   GM          YUKON                Teterboro                NJ
32958   1GKS2BKC3LR272620   GM          YUKON                KNOXVILLE                TN
32959   1GKS2BKC3LR272827   GM          YUKON                ORLANDO                  FL
32960   1GKS2BKC3LR273072   GM          YUKON                JACKSONVILLE             FL
32961   1GKS2BKC3LR273105   GM          YUKON                ORLANDO                  FL
32962   1GKS2BKC3LR273279   GM          YUKON                ORLANDO                  FL
32963   1GKS2BKC3LR273699   GM          YUKON                SAN FRANCISCO            CA
32964   1GKS2BKC3LR275064   GM          YUKON                GRAND RAPIDS             MI
32965   1GKS2BKC3LR275534   GM          YUKON                DETROIT                  MI
32966   1GKS2BKC3LR275873   GM          YUKON                SCRANTON                 PA
32967   1GKS2BKC3LR276117   GM          YUKON                DETROIT                  MI
32968   1GKS2BKC3LR276246   GM          YUKON                DETROIT                  MI
32969   1GKS2BKC3LR279051   GM          YUKON                TAMPA                    FL
32970   1GKS2BKC3LR279972   GM          YUKON                WEST PALM BEACH          FL
32971   1GKS2BKC3LR280314   GM          YUKON                DES MOINES               IA
32972   1GKS2BKC3LR280782   GM          YUKON                GRAND RAPIDS             MI
32973   1GKS2BKC3LR282239   GM          YUKON                SAN ANTONIO              TX
32974   1GKS2BKC3LR283777   GM          YUKON                CHICAGO                  IL
32975   1GKS2BKC3LR284038   GM          YUKON                CHICAGO O'HARE AP        IL
32976   1GKS2BKC3LR284296   GM          YUKON                CHICAGO                  IL
32977   1GKS2BKC3LR284329   GM          YUKON                BLOOMINGTON              IL
32978   1GKS2BKC3LR285416   GM          YUKON                SAINT PAUL               US
32979   1GKS2BKC3LR286159   GM          YUKON                SAINT PAUL               MN
32980   1GKS2BKC4HR134253   GM          YUKON                Fontana                  CA
32981   1GKS2BKC4JR179814   GM          YUKON                Springfield              MO
32982   1GKS2BKC4JR287916   GM          YUKON                ORLANDO                  FL
32983   1GKS2BKC4JR303774   GM          YUKON                Greensboro               NC
32984   1GKS2BKC4JR372089   GM          YUKON                STERLING                 VA
32985   1GKS2BKC4JR375235   GM          YUKON                FT. LAUDERDALE           FL
32986   1GKS2BKC4JR376126   GM          YUKON                WEST PALM BEACH          FL
32987   1GKS2BKC4JR396828   GM          YUKON                Orlando                  FL
32988   1GKS2BKC4KR158043   GM          YUKON                Fontana                  CA
32989   1GKS2BKC4KR158107   GM          YUKON                Denver                   CO
32990   1GKS2BKC4KR158463   GM          YUKON                WESTERN DIST OFFC        OK
32991   1GKS2BKC4KR159290   GM          YUKON                Riverside                CA
32992   1GKS2BKC4KR159385   GM          YUKON                Rockville Centr          NY
32993   1GKS2BKC4KR159578   GM          YUKON                Costa Mesa               CA
32994   1GKS2BKC4KR159595   GM          YUKON                Pasadena                 CA
32995   1GKS2BKC4KR159662   GM          YUKON                Houston                  TX
32996   1GKS2BKC4KR159869   GM          YUKON                Manheim                  PA
32997   1GKS2BKC4KR160004   GM          YUKON                SAN ANTONIO              TX
32998   1GKS2BKC4KR160018   GM          YUKON                BLOOMINGTON              IL
32999   1GKS2BKC4KR160035   GM          YUKON                Oklahoma City            OK
33000   1GKS2BKC4KR160147   GM          YUKON                Fontana                  CA
33001   1GKS2BKC4KR160648   GM          YUKON                Fairburn                 GA
33002   1GKS2BKC4KR160813   GM          YUKON                SAINT PAUL               MN
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33003   1GKS2BKC4KR161377   GM           YUKON                MIAMI                    FL
33004   1GKS2BKC4KR161430   GM           YUKON                DAYTONA BEACH            FL
33005   1GKS2BKC4KR161878   GM           YUKON                EL PASO                  TX
33006   1GKS2BKC4KR162139   GM           YUKON                Manheim                  PA
33007   1GKS2BKC4KR162190   GM           YUKON                Plainfield               IN
33008   1GKS2BKC4KR162738   GM           YUKON                ORLANDO                  FL
33009   1GKS2BKC4KR163016   GM           YUKON                WARWICK                  RI
33010   1GKS2BKC4KR163808   GM           YUKON                Detroit                  MI
33011   1GKS2BKC4KR164831   GM           YUKON                N. Palm Beach            FL
33012   1GKS2BKC4KR164893   GM           YUKON                Pasadena                 CA
33013   1GKS2BKC4KR165641   GM           YUKON                TRACY                    CA
33014   1GKS2BKC4KR165767   GM           YUKON                Cedar Rapids             IA
33015   1GKS2BKC4KR166319   GM           YUKON                Pensacola                FL
33016   1GKS2BKC4KR166420   GM           YUKON                Los Angeles              CA
33017   1GKS2BKC4KR166482   GM           YUKON                Warminster               PA
33018   1GKS2BKC4KR167017   GM           YUKON                North Dighton            MA
33019   1GKS2BKC4KR167325   GM           YUKON                Dallas                   TX
33020   1GKS2BKC4KR167700   GM           YUKON                Sarasota                 FL
33021   1GKS2BKC4KR169060   GM           YUKON                PALM SPRINGS             CA
33022   1GKS2BKC4KR169382   GM           YUKON                SEATAC                   WA
33023   1GKS2BKC4KR170550   GM           YUKON                Manheim                  PA
33024   1GKS2BKC4KR170564   GM           YUKON                GRAND JUNCTION           C
33025   1GKS2BKC4KR170578   GM           YUKON                PHILADELPHIA             PA
33026   1GKS2BKC4KR170659   GM           YUKON                MIAMI                    FL
33027   1GKS2BKC4KR170791   GM           YUKON                North Dighton            MA
33028   1GKS2BKC4KR171780   GM           YUKON                DENVER                   CO
33029   1GKS2BKC4KR172279   GM           YUKON                PHOENIX                  AZ
33030   1GKS2BKC4KR172296   GM           YUKON                Salt Lake City           UT
33031   1GKS2BKC4KR172346   GM           YUKON                Ventura                  CA
33032   1GKS2BKC4KR173626   GM           YUKON                Kansas City              KS
33033   1GKS2BKC4KR173836   GM           YUKON                ALBUQUERQUE              NM
33034   1GKS2BKC4KR174808   GM           YUKON                Atlanta                  GA
33035   1GKS2BKC4KR174968   GM           YUKON                Los Angeles              CA
33036   1GKS2BKC4KR175747   GM           YUKON                DENVER                   CO
33037   1GKS2BKC4KR177207   GM           YUKON                DENVER                   CO
33038   1GKS2BKC4KR180074   GM           YUKON                DAYTONA BEACH            FL
33039   1GKS2BKC4KR180141   GM           YUKON                MIAMI                    FL
33040   1GKS2BKC4KR180608   GM           YUKON                Hamilton                 OH
33041   1GKS2BKC4KR180916   GM           YUKON                DAYTONA BEACH            FL
33042   1GKS2BKC4KR182262   GM           YUKON                Manheim                  PA
33043   1GKS2BKC4KR182987   GM           YUKON                North Dighton            MA
33044   1GKS2BKC4KR274651   GM           YUKON                WARWICK                  RI
33045   1GKS2BKC4KR276061   GM           YUKON                LOS ANGELES              CA
33046   1GKS2BKC4LR149215   GM           YUKON                CHICAGO                  IL
33047   1GKS2BKC4LR150235   GM           YUKON                ATLANTA                  GA
33048   1GKS2BKC4LR151434   GM           YUKON                JAMAICA                  NY
33049   1GKS2BKC4LR152485   GM           YUKON                TUCSON                   AZ
33050   1GKS2BKC4LR152518   GM           YUKON                ORLANDO                  FL
33051   1GKS2BKC4LR152535   GM           YUKON                Atlanta                  GA
33052   1GKS2BKC4LR152857   GM           YUKON                GREENVILLE               NC
33053   1GKS2BKC4LR152907   GM           YUKON                BLOOMINGTON              IL
33054   1GKS2BKC4LR152972   GM           YUKON                CHARLESTON               WV
33055   1GKS2BKC4LR153314   GM           YUKON                SAINT PAUL               MN
33056   1GKS2BKC4LR154009   GM           YUKON                WHITE PLAINS             NY
33057   1GKS2BKC4LR154043   GM           YUKON                TAMPA                    FL
33058   1GKS2BKC4LR154382   GM           YUKON                HOUSTON                  TX
33059   1GKS2BKC4LR154690   GM           YUKON                FORT LAUDERDALE          FL
33060   1GKS2BKC4LR155449   GM           YUKON                FORT MYERS               FL
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33061   1GKS2BKC4LR155452   GM           YUKON                CHARLESTON               SC
33062   1GKS2BKC4LR155483   GM           YUKON                KANSAS CITY              MO
33063   1GKS2BKC4LR155497   GM           YUKON                OMAHA                    NE
33064   1GKS2BKC4LR156259   GM           YUKON                PHOENIX                  AZ
33065   1GKS2BKC4LR156777   GM           YUKON                ATLANTA                  GA
33066   1GKS2BKC4LR156956   GM           YUKON                MIAMI                    FL
33067   1GKS2BKC4LR156990   GM           YUKON                DALLAS                   TX
33068   1GKS2BKC4LR157234   GM           YUKON                ORLANDO                  FL
33069   1GKS2BKC4LR157556   GM           YUKON                MILWAUKEE                WI
33070   1GKS2BKC4LR157587   GM           YUKON                KNOXVILLE                TN
33071   1GKS2BKC4LR157864   GM           YUKON                Atlanta                  GA
33072   1GKS2BKC4LR158089   GM           YUKON                LEXINGTON                KY
33073   1GKS2BKC4LR158500   GM           YUKON                ATLANTA                  GA
33074   1GKS2BKC4LR158741   GM           YUKON                ORLANDO                  FL
33075   1GKS2BKC4LR158951   GM           YUKON                SEATAC                   WA
33076   1GKS2BKC4LR159176   GM           YUKON                DENVER                   CO
33077   1GKS2BKC4LR160411   GM           YUKON                NEW BERN                 NC
33078   1GKS2BKC4LR160926   GM           YUKON                GRAND RAPIDS             MI
33079   1GKS2BKC4LR161137   GM           YUKON                SAN ANTONIO              TX
33080   1GKS2BKC4LR161154   GM           YUKON                DES MOINES               IA
33081   1GKS2BKC4LR161994   GM           YUKON                MIAMI                    FL
33082   1GKS2BKC4LR162191   GM           YUKON                Atlanta                  GA
33083   1GKS2BKC4LR162529   GM           YUKON                ATLANTA                  GA
33084   1GKS2BKC4LR162577   GM           YUKON                SHREVEPORT               LA
33085   1GKS2BKC4LR163311   GM           YUKON                AUSTIN                   TX
33086   1GKS2BKC4LR163373   GM           YUKON                MIAMI                    FL
33087   1GKS2BKC4LR163972   GM           YUKON                ELMHURST                 IL
33088   1GKS2BKC4LR164877   GM           YUKON                NEW BERN                 NC
33089   1GKS2BKC4LR164913   GM           YUKON                SAN ANTONIO              TX
33090   1GKS2BKC4LR165141   GM           YUKON                MIAMI                    FL
33091   1GKS2BKC4LR166192   GM           YUKON                Atlanta                  GA
33092   1GKS2BKC4LR167441   GM           YUKON                LOS ANGELES              CA
33093   1GKS2BKC4LR171487   GM           YUKON                PHOENIX                  AZ
33094   1GKS2BKC4LR171540   GM           YUKON                RENO                     NV
33095   1GKS2BKC4LR171814   GM           YUKON                KNOXVILLE                TN
33096   1GKS2BKC4LR172347   GM           YUKON                PHILADELPHIA             PA
33097   1GKS2BKC4LR172896   GM           YUKON                GWINN                    MI
33098   1GKS2BKC4LR173644   GM           YUKON                CHICAGO                  IL
33099   1GKS2BKC4LR173739   GM           YUKON                LAS VEGAS                NV
33100   1GKS2BKC4LR174969   GM           YUKON                PHOENIX                  AZ
33101   1GKS2BKC4LR175362   GM           YUKON                PHOENIX                  AZ
33102   1GKS2BKC4LR175765   GM           YUKON                N HOLLYWOOD              CA
33103   1GKS2BKC4LR176074   GM           YUKON                LAS VEGAS                NV
33104   1GKS2BKC4LR176527   GM           YUKON                LOS ANGELES              CA
33105   1GKS2BKC4LR176530   GM           YUKON                SALT LAKE CITY           UT
33106   1GKS2BKC4LR176883   GM           YUKON                LOS ANGELES              CA
33107   1GKS2BKC4LR177550   GM           YUKON                SAN DIEGO                CA
33108   1GKS2BKC4LR178455   GM           YUKON                RALEIGH                  NC
33109   1GKS2BKC4LR178875   GM           YUKON                SANTA ANA                CA
33110   1GKS2BKC4LR180304   GM           YUKON                PHOENIX                  AZ
33111   1GKS2BKC4LR180898   GM           YUKON                SAN FRANCISCO            CA
33112   1GKS2BKC4LR181680   GM           YUKON                LOS ANGELES              CA
33113   1GKS2BKC4LR181758   GM           YUKON                SACRAMENTO               CA
33114   1GKS2BKC4LR181808   GM           YUKON                FRESNO                   CA
33115   1GKS2BKC4LR182800   GM           YUKON                LOS ANGELES              CA
33116   1GKS2BKC4LR182960   GM           YUKON                PORTLAND                 OR
33117   1GKS2BKC4LR183462   GM           YUKON                SAN JOSE                 CA
33118   1GKS2BKC4LR184000   GM           YUKON                LOS ANGELES              CA
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33119   1GKS2BKC4LR184076   GM           YUKON                HOUSTON                  TX
33120   1GKS2BKC4LR184126   GM           YUKON                ORLANDO                  FL
33121   1GKS2BKC4LR185003   GM           YUKON                NEW YORK CITY            NY
33122   1GKS2BKC4LR185051   GM           YUKON                SAVANNAH                 GA
33123   1GKS2BKC4LR185518   GM           YUKON                NEW YORK CITY            NY
33124   1GKS2BKC4LR186040   GM           YUKON                KENNER                   LA
33125   1GKS2BKC4LR186698   GM           YUKON                BIRMINGHAM               AL
33126   1GKS2BKC4LR187012   GM           YUKON                Reno                     NV
33127   1GKS2BKC4LR188015   GM           YUKON                ATLANTA                  GA
33128   1GKS2BKC4LR188452   GM           YUKON                Longmont                 CO
33129   1GKS2BKC4LR188872   GM           YUKON                PITTSBURGH               PA
33130   1GKS2BKC4LR191478   GM           YUKON                DENVER                   CO
33131   1GKS2BKC4LR191481   GM           YUKON                DENVER                   CO
33132   1GKS2BKC4LR191805   GM           YUKON                PANHANDLE                FL
33133   1GKS2BKC4LR191982   GM           YUKON                DENVER                   CO
33134   1GKS2BKC4LR192047   GM           YUKON                SAINT LOUIS              MO
33135   1GKS2BKC4LR192419   GM           YUKON                DENVER                   CO
33136   1GKS2BKC4LR194106   GM           YUKON                PALM SPRINGS             CA
33137   1GKS2BKC4LR194672   GM           YUKON                WEST PALM BEACH          FL
33138   1GKS2BKC4LR201930   GM           YUKON                ATLANTA                  GA
33139   1GKS2BKC4LR202463   GM           YUKON                Hebron                   KY
33140   1GKS2BKC4LR204309   GM           YUKON                TAMPA                    FL
33141   1GKS2BKC4LR206822   GM           YUKON                NEWARK                   NJ
33142   1GKS2BKC4LR207405   GM           YUKON                ATLANTA                  GA
33143   1GKS2BKC4LR207517   GM           YUKON                DETROIT                  MI
33144   1GKS2BKC4LR207520   GM           YUKON                LAS VEGAS                NV
33145   1GKS2BKC4LR207727   GM           YUKON                DETROIT                  MI
33146   1GKS2BKC4LR207792   GM           YUKON                FORT LAUDERDALE          FL
33147   1GKS2BKC4LR207808   GM           YUKON                CHICAGO                  IL
33148   1GKS2BKC4LR207825   GM           YUKON                MEMPHIS                  TN
33149   1GKS2BKC4LR207839   GM           YUKON                JACKSON                  MS
33150   1GKS2BKC4LR208005   GM           YUKON                AUSTIN                   TX
33151   1GKS2BKC4LR208022   GM           YUKON                Atlanta                  GA
33152   1GKS2BKC4LR208067   GM           YUKON                CLEVELAND                OH
33153   1GKS2BKC4LR210143   GM           YUKON                LOS ANGELES              CA
33154   1GKS2BKC4LR210742   GM           YUKON                Los Angeles              CA
33155   1GKS2BKC4LR212300   GM           YUKON                WEST PALM BEACH          FL
33156   1GKS2BKC4LR214337   GM           YUKON                KNOXVILLE                TN
33157   1GKS2BKC4LR214371   GM           YUKON                LAS VEGAS                NV
33158   1GKS2BKC4LR214953   GM           YUKON                LOS ANGELES              CA
33159   1GKS2BKC4LR215150   GM           YUKON                SAN DIEGO                CA
33160   1GKS2BKC4LR215164   GM           YUKON                LAS VEGAS                NV
33161   1GKS2BKC4LR215326   GM           YUKON                LOS ANGELES              CA
33162   1GKS2BKC4LR215469   GM           YUKON                MILWAUKEE                WI
33163   1GKS2BKC4LR215889   GM           YUKON                LAS VEGAS                NV
33164   1GKS2BKC4LR216668   GM           YUKON                ORLANDO                  FL
33165   1GKS2BKC4LR216749   GM           YUKON                ATLANTA                  GA
33166   1GKS2BKC4LR217187   GM           YUKON                Teterboro                NJ
33167   1GKS2BKC4LR234538   GM           YUKON                LOS ANGELES              CA
33168   1GKS2BKC4LR235740   GM           YUKON                LAS VEGAS                NV
33169   1GKS2BKC4LR235852   GM           YUKON                ONTARIO                  CA
33170   1GKS2BKC4LR236662   GM           YUKON                OAKLAND                  CA
33171   1GKS2BKC4LR236757   GM           YUKON                SACRAMENTO               CA
33172   1GKS2BKC4LR236936   GM           YUKON                SAN DIEGO                CA
33173   1GKS2BKC4LR237083   GM           YUKON                ORANGE COUNTY            CA
33174   1GKS2BKC4LR237245   GM           YUKON                BURBANK                  CA
33175   1GKS2BKC4LR237567   GM           YUKON                MIAMI                    FL
33176   1GKS2BKC4LR237780   GM           YUKON                NEWARK                   NJ
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33177   1GKS2BKC4LR238007   GM           YUKON                SAN DIEGO                CA
33178   1GKS2BKC4LR238248   GM           YUKON                SAN DIEGO                US
33179   1GKS2BKC4LR239108   GM           YUKON                BURBANK                  CA
33180   1GKS2BKC4LR240419   GM           YUKON                SEATAC                   WA
33181   1GKS2BKC4LR241148   GM           YUKON                SARASOTA                 FL
33182   1GKS2BKC4LR241263   GM           YUKON                TAMPA                    FL
33183   1GKS2BKC4LR242879   GM           YUKON                WEST PALM BEACH          FL
33184   1GKS2BKC4LR243126   GM           YUKON                STERLING                 VA
33185   1GKS2BKC4LR243482   GM           YUKON                SAINT PAUL               MN
33186   1GKS2BKC4LR244440   GM           YUKON                WEST PALM BEACH          FL
33187   1GKS2BKC4LR247936   GM           YUKON                PENSACOLA                FL
33188   1GKS2BKC4LR248357   GM           YUKON                NEWARK                   NJ
33189   1GKS2BKC4LR248567   GM           YUKON                FARMINGTON               NM
33190   1GKS2BKC4LR248682   GM           YUKON                SALT LAKE CITY           US
33191   1GKS2BKC4LR249976   GM           YUKON                ATLANTA                  GA
33192   1GKS2BKC4LR250481   GM           YUKON                KNOXVILLE                TN
33193   1GKS2BKC4LR250822   GM           YUKON                SAINT LOUIS              MO
33194   1GKS2BKC4LR250979   GM           YUKON                SAINT LOUIS              MO
33195   1GKS2BKC4LR251307   GM           YUKON                DETROIT                  MI
33196   1GKS2BKC4LR251629   GM           YUKON                GRAND RAPIDS             MI
33197   1GKS2BKC4LR252344   GM           YUKON                JACKSONVILLE             FL
33198   1GKS2BKC4LR252358   GM           YUKON                ST. SIMONS ISLAND        GA
33199   1GKS2BKC4LR252361   GM           YUKON                DES MOINES               IA
33200   1GKS2BKC4LR252585   GM           YUKON                CHICAGO O'HARE AP        IL
33201   1GKS2BKC4LR253588   GM           YUKON                MIAMI                    FL
33202   1GKS2BKC4LR254174   GM           YUKON                TAMPA                    FL
33203   1GKS2BKC4LR255440   GM           YUKON                Atlanta                  GA
33204   1GKS2BKC4LR255521   GM           YUKON                COLLEGE PARK             GA
33205   1GKS2BKC4LR255941   GM           YUKON                BIRMINGHAM               AL
33206   1GKS2BKC4LR257477   GM           YUKON                WICHITA FALLS            TX
33207   1GKS2BKC4LR262209   GM           YUKON                SOUTH BURLINGTO          VT
33208   1GKS2BKC4LR265594   GM           YUKON                NEW YORK CITY            NY
33209   1GKS2BKC4LR265899   GM           YUKON                NEWARK                   NJ
33210   1GKS2BKC4LR265904   GM           YUKON                BOSTON                   MA
33211   1GKS2BKC4LR267457   GM           YUKON                SAN FRANCISCO            CA
33212   1GKS2BKC4LR267474   GM           YUKON                SALT LAKE CITY           US
33213   1GKS2BKC4LR268415   GM           YUKON                SEA TAC                  WA
33214   1GKS2BKC4LR268494   GM           YUKON                PORTLAND                 OR
33215   1GKS2BKC4LR268561   GM           YUKON                BURLINGAME               CA
33216   1GKS2BKC4LR269127   GM           YUKON                ROCHESTER                NY
33217   1GKS2BKC4LR269273   GM           YUKON                SACRAMENTO               CA
33218   1GKS2BKC4LR269578   GM           YUKON                NEWARK                   NJ
33219   1GKS2BKC4LR270455   GM           YUKON                SHREVEPORT               LA
33220   1GKS2BKC4LR270469   GM           YUKON                TUCSON                   AZ
33221   1GKS2BKC4LR270472   GM           YUKON                BIRMINGHAM               AL
33222   1GKS2BKC4LR270682   GM           YUKON                SEATTLE                  WA
33223   1GKS2BKC4LR270990   GM           YUKON                Teterboro                NJ
33224   1GKS2BKC4LR271251   GM           YUKON                ANCHORAGE                AK
33225   1GKS2BKC4LR271671   GM           YUKON                SHREVEPORT               LA
33226   1GKS2BKC4LR271976   GM           YUKON                WARWICK                  RI
33227   1GKS2BKC4LR272111   GM           YUKON                STERLING                 VA
33228   1GKS2BKC4LR272898   GM           YUKON                PITTSBURGH               PA
33229   1GKS2BKC4LR272965   GM           YUKON                NEW ORLEANS              LA
33230   1GKS2BKC4LR273002   GM           YUKON                ORLANDO                  FL
33231   1GKS2BKC4LR273131   GM           YUKON                BIRMINGHAM               AL
33232   1GKS2BKC4LR273355   GM           YUKON                MEMPHIS                  TN
33233   1GKS2BKC4LR273744   GM           YUKON                TULSA                    OK
33234   1GKS2BKC4LR273839   GM           YUKON                SACRAMENTO               CA
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33235   1GKS2BKC4LR273887   GM          YUKON                DETROIT                  MI
33236   1GKS2BKC4LR274134   GM          YUKON                DETROIT                  MI
33237   1GKS2BKC4LR274229   GM          YUKON                NEWARK                   NJ
33238   1GKS2BKC4LR274232   GM          YUKON                SACRAMENTO               CA
33239   1GKS2BKC4LR274389   GM          YUKON                DETROIT                  MI
33240   1GKS2BKC4LR274568   GM          YUKON                RONKONKOMA               NY
33241   1GKS2BKC4LR274750   GM          YUKON                LOS ANGELES              CA
33242   1GKS2BKC4LR274795   GM          YUKON                SACRAMENTO               CA
33243   1GKS2BKC4LR276479   GM          YUKON                DETROIT                  MI
33244   1GKS2BKC4LR276515   GM          YUKON                LOS ANGELES              CA
33245   1GKS2BKC4LR277308   GM          YUKON                KANSAS CITY              MO
33246   1GKS2BKC4LR280497   GM          YUKON                ATLANTA                  GA
33247   1GKS2BKC4LR282573   GM          YUKON                DENVER                   CO
33248   1GKS2BKC4LR283786   GM          YUKON                CHICAGO                  IL
33249   1GKS2BKC4LR283903   GM          YUKON                CHICAGO                  IL
33250   1GKS2BKC4LR283934   GM          YUKON                CHICAGO                  IL
33251   1GKS2BKC4LR285120   GM          YUKON                SAINT PAUL               MN
33252   1GKS2BKC4LR285358   GM          YUKON                HOUSTON                  TX
33253   1GKS2BKC5HR131717   GM          YUKON                Riverside                CA
33254   1GKS2BKC5JR183645   GM          YUKON                Albuquerque              NM
33255   1GKS2BKC5JR191289   GM          YUKON                Fontana                  CA
33256   1GKS2BKC5JR194676   GM          YUKON                Fontana                  CA
33257   1GKS2BKC5JR274897   GM          YUKON                Bordentown               NJ
33258   1GKS2BKC5JR396434   GM          YUKON                Hayward                  CA
33259   1GKS2BKC5KR158617   GM          YUKON                Manheim                  PA
33260   1GKS2BKC5KR158746   GM          YUKON                Detroit                  MI
33261   1GKS2BKC5KR159914   GM          YUKON                DAYTONA BEACH            FL
33262   1GKS2BKC5KR159976   GM          YUKON                Charlotte                NC
33263   1GKS2BKC5KR160142   GM          YUKON                Ocoee                    FL
33264   1GKS2BKC5KR160268   GM          YUKON                Fayetteville             NC
33265   1GKS2BKC5KR160612   GM          YUKON                Davie                    FL
33266   1GKS2BKC5KR160772   GM          YUKON                PHOENIX                  AZ
33267   1GKS2BKC5KR161257   GM          YUKON                MIAMI                    FL
33268   1GKS2BKC5KR161419   GM          YUKON                Bordentown               NJ
33269   1GKS2BKC5KR161503   GM          YUKON                Riverside                CA
33270   1GKS2BKC5KR161792   GM          YUKON                Bordentown               NJ
33271   1GKS2BKC5KR162019   GM          YUKON                Teterboro                NJ
33272   1GKS2BKC5KR162084   GM          YUKON                Elkridge                 MD
33273   1GKS2BKC5KR162120   GM          YUKON                Statesville              NC
33274   1GKS2BKC5KR162716   GM          YUKON                CHICAGO                  IL
33275   1GKS2BKC5KR163008   GM          YUKON                Davie                    FL
33276   1GKS2BKC5KR163350   GM          YUKON                SAVANNAH                 GA
33277   1GKS2BKC5KR163428   GM          YUKON                Kansas City              MO
33278   1GKS2BKC5KR164045   GM          YUKON                North Dighton            MA
33279   1GKS2BKC5KR164305   GM          YUKON                North Dighton            MA
33280   1GKS2BKC5KR164336   GM          YUKON                SAN DIEGO                CA
33281   1GKS2BKC5KR164448   GM          YUKON                LOS ANGELES              CA
33282   1GKS2BKC5KR164627   GM          YUKON                BOSTON                   MA
33283   1GKS2BKC5KR164854   GM          YUKON                BOISE                    ID
33284   1GKS2BKC5KR166412   GM          YUKON                FRESNO                   CA
33285   1GKS2BKC5KR166510   GM          YUKON                FORT LAUDERDALE          FL
33286   1GKS2BKC5KR167401   GM          YUKON                WEST PALM BEACH          FL
33287   1GKS2BKC5KR168564   GM          YUKON                OAKLAND                  CA
33288   1GKS2BKC5KR168886   GM          YUKON                Manheim                  PA
33289   1GKS2BKC5KR170203   GM          YUKON                LOS ANGELES              CA
33290   1GKS2BKC5KR172629   GM          YUKON                North Dighton            MA
33291   1GKS2BKC5KR173568   GM          YUKON                Fredericksburg           VA
33292   1GKS2BKC5KR174087   GM          YUKON                Denver                   CO
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33293   1GKS2BKC5KR174493   GM           YUKON                TAMPA                    FL
33294   1GKS2BKC5KR174803   GM           YUKON                Tolleson                 AZ
33295   1GKS2BKC5KR174932   GM           YUKON                North Dighton            MA
33296   1GKS2BKC5KR175031   GM           YUKON                ORLANDO                  FL
33297   1GKS2BKC5KR177202   GM           YUKON                Greensboro               NC
33298   1GKS2BKC5KR178852   GM           YUKON                Caledonia                WI
33299   1GKS2BKC5KR179466   GM           YUKON                Aurora                   CO
33300   1GKS2BKC5KR180164   GM           YUKON                Manheim                  PA
33301   1GKS2BKC5KR180665   GM           YUKON                Aurora                   CO
33302   1GKS2BKC5KR182349   GM           YUKON                Greensboro               NC
33303   1GKS2BKC5KR182724   GM           YUKON                Manheim                  PA
33304   1GKS2BKC5KR183601   GM           YUKON                N. Palm Beach            FL
33305   1GKS2BKC5KR183842   GM           YUKON                DENVER                   CO
33306   1GKS2BKC5KR184215   GM           YUKON                Fontana                  CA
33307   1GKS2BKC5KR185414   GM           YUKON                DAYTONA BEACH            FL
33308   1GKS2BKC5KR273623   GM           YUKON                SYRACUSE                 NY
33309   1GKS2BKC5KR276828   GM           YUKON                ORLANDO                  FL
33310   1GKS2BKC5LR152415   GM           YUKON                WHITE PLAINS             NY
33311   1GKS2BKC5LR152611   GM           YUKON                FORT MYERS               FL
33312   1GKS2BKC5LR152978   GM           YUKON                Atlanta                  GA
33313   1GKS2BKC5LR153905   GM           YUKON                HOUSTON                  TX
33314   1GKS2BKC5LR154097   GM           YUKON                LINDEN                   NJ
33315   1GKS2BKC5LR154147   GM           YUKON                COLLEGE PARK             GA
33316   1GKS2BKC5LR154262   GM           YUKON                ORLANDO                  FL
33317   1GKS2BKC5LR154388   GM           YUKON                ATLANTA                  GA
33318   1GKS2BKC5LR154780   GM           YUKON                SAN ANTONIO              TX
33319   1GKS2BKC5LR154794   GM           YUKON                NEW BERN                 NC
33320   1GKS2BKC5LR155444   GM           YUKON                EL PASO                  TX
33321   1GKS2BKC5LR155525   GM           YUKON                PHOENIX                  AZ
33322   1GKS2BKC5LR155718   GM           YUKON                BIRMINGHAM               AL
33323   1GKS2BKC5LR156240   GM           YUKON                AUSTIN                   TX
33324   1GKS2BKC5LR157114   GM           YUKON                KANSAS CITY              MO
33325   1GKS2BKC5LR157176   GM           YUKON                TALLAHASSEE              US
33326   1GKS2BKC5LR157520   GM           YUKON                BIRMINGHAM               AL
33327   1GKS2BKC5LR158103   GM           YUKON                HOLLY HILL               FL
33328   1GKS2BKC5LR158165   GM           YUKON                JACKSONVILLE             FL
33329   1GKS2BKC5LR158540   GM           YUKON                TAMPA                    FL
33330   1GKS2BKC5LR158618   GM           YUKON                Atlanta                  GA
33331   1GKS2BKC5LR158697   GM           YUKON                Miami                    FL
33332   1GKS2BKC5LR159252   GM           YUKON                ROCHESTER                NY
33333   1GKS2BKC5LR159333   GM           YUKON                JACKSONVILLE             FL
33334   1GKS2BKC5LR160952   GM           YUKON                SAN ANTONIO              TX
33335   1GKS2BKC5LR161812   GM           YUKON                SAN ANTONIO              TX
33336   1GKS2BKC5LR163463   GM           YUKON                Miami                    FL
33337   1GKS2BKC5LR164127   GM           YUKON                Dallas                   TX
33338   1GKS2BKC5LR165150   GM           YUKON                DANIA BEACH              FL
33339   1GKS2BKC5LR165360   GM           YUKON                HOUSTON                  TX
33340   1GKS2BKC5LR166234   GM           YUKON                MIAMI                    FL
33341   1GKS2BKC5LR168615   GM           YUKON                SAN DIEGO                CA
33342   1GKS2BKC5LR169182   GM           YUKON                AUSTIN                   TX
33343   1GKS2BKC5LR171482   GM           YUKON                SALT LAKE CITY           UT
33344   1GKS2BKC5LR171773   GM           YUKON                Lake Elsinore            CA
33345   1GKS2BKC5LR171790   GM           YUKON                LOS ANGELES              CA
33346   1GKS2BKC5LR171840   GM           YUKON                SAN DIEGO                CA
33347   1GKS2BKC5LR172387   GM           YUKON                DES MOINES               IA
33348   1GKS2BKC5LR172728   GM           YUKON                SAN FRANCISCO            CA
33349   1GKS2BKC5LR173796   GM           YUKON                Reno                     NV
33350   1GKS2BKC5LR174088   GM           YUKON                GRAND RAPIDS             MI
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33351   1GKS2BKC5LR174155   GM           YUKON                PHOENIX                  AZ
33352   1GKS2BKC5LR174575   GM           YUKON                PORTLAND                 OR
33353   1GKS2BKC5LR176519   GM           YUKON                Reno                     NV
33354   1GKS2BKC5LR176987   GM           YUKON                LOS ANGELES              CA
33355   1GKS2BKC5LR176990   GM           YUKON                DENVER                   CO
33356   1GKS2BKC5LR177508   GM           YUKON                SANTA ANA                CA
33357   1GKS2BKC5LR177590   GM           YUKON                INDIANAPOLIS             IN
33358   1GKS2BKC5LR180568   GM           YUKON                SYRACUSE                 NY
33359   1GKS2BKC5LR181333   GM           YUKON                SAINT PAUL               MN
33360   1GKS2BKC5LR182613   GM           YUKON                SAN DIEGO                CA
33361   1GKS2BKC5LR182627   GM           YUKON                TAMPA                    FL
33362   1GKS2BKC5LR183194   GM           YUKON                PHOENIX                  AZ
33363   1GKS2BKC5LR184085   GM           YUKON                KENNER                   LA
33364   1GKS2BKC5LR184104   GM           YUKON                WEST PALM BEACH          FL
33365   1GKS2BKC5LR184183   GM           YUKON                WEST COLUMBIA            SC
33366   1GKS2BKC5LR185107   GM           YUKON                FORT LAUDERDALE          FL
33367   1GKS2BKC5LR185592   GM           YUKON                FORT LAUDERDALE          FL
33368   1GKS2BKC5LR186015   GM           YUKON                NEW ORLEANS              LA
33369   1GKS2BKC5LR186063   GM           YUKON                STERLING                 VA
33370   1GKS2BKC5LR187472   GM           YUKON                OAKLAND                  CA
33371   1GKS2BKC5LR187732   GM           YUKON                DANIA BEACH              FL
33372   1GKS2BKC5LR188346   GM           YUKON                SAN JOSE                 CA
33373   1GKS2BKC5LR188878   GM           YUKON                CHARLOTTE                NC
33374   1GKS2BKC5LR189819   GM           YUKON                SAN FRANCISCO            CA
33375   1GKS2BKC5LR190629   GM           YUKON                PITTSBURGH               PA
33376   1GKS2BKC5LR191182   GM           YUKON                ALBANY                   NY
33377   1GKS2BKC5LR191389   GM           YUKON                WARWICK                  RI
33378   1GKS2BKC5LR191456   GM           YUKON                NEW ORLEANS              LA
33379   1GKS2BKC5LR191473   GM           YUKON                DENVER                   CO
33380   1GKS2BKC5LR191487   GM           YUKON                DENVER                   CO
33381   1GKS2BKC5LR193773   GM           YUKON                SAN DIEGO                CA
33382   1GKS2BKC5LR194647   GM           YUKON                ATLANTA                  GA
33383   1GKS2BKC5LR194759   GM           YUKON                LOS ANGELES              CA
33384   1GKS2BKC5LR195393   GM           YUKON                ATLANTA                  GA
33385   1GKS2BKC5LR204206   GM           YUKON                NORFOLK                  VA
33386   1GKS2BKC5LR204285   GM           YUKON                FORT MYERS               FL
33387   1GKS2BKC5LR205887   GM           YUKON                Des Moines               IA
33388   1GKS2BKC5LR205999   GM           YUKON                SARASOTA                 FL
33389   1GKS2BKC5LR206201   GM           YUKON                FORT MYERS               FL
33390   1GKS2BKC5LR206859   GM           YUKON                STERLING                 VA
33391   1GKS2BKC5LR206862   GM           YUKON                Atlanta                  GA
33392   1GKS2BKC5LR207378   GM           YUKON                TAMPA                    FL
33393   1GKS2BKC5LR207476   GM           YUKON                UNION CITY               GA
33394   1GKS2BKC5LR207865   GM           YUKON                Slidell                  LA
33395   1GKS2BKC5LR207879   GM           YUKON                KENNER                   LA
33396   1GKS2BKC5LR207882   GM           YUKON                DALLAS                   TX
33397   1GKS2BKC5LR208031   GM           YUKON                SAN ANTONIO              TX
33398   1GKS2BKC5LR208059   GM           YUKON                PHOENIX                  AZ
33399   1GKS2BKC5LR208062   GM           YUKON                CHARLESTON               WV
33400   1GKS2BKC5LR209650   GM           YUKON                GYPSUM                   CO
33401   1GKS2BKC5LR209714   GM           YUKON                DENVER                   CO
33402   1GKS2BKC5LR210393   GM           YUKON                WEST PALM BEACH          FL
33403   1GKS2BKC5LR211205   GM           YUKON                CHICAGO                  IL
33404   1GKS2BKC5LR211768   GM           YUKON                SAN DIEGO                CA
33405   1GKS2BKC5LR213035   GM           YUKON                LOS ANGELES              CA
33406   1GKS2BKC5LR213407   GM           YUKON                PHOENIX                  AZ
33407   1GKS2BKC5LR213827   GM           YUKON                PHOENIX                  AZ
33408   1GKS2BKC5LR214380   GM           YUKON                LOS ANGELES              CA
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33409   1GKS2BKC5LR214735   GM           YUKON                LOS ANGELES              CA
33410   1GKS2BKC5LR215156   GM           YUKON                NEWPORT BEACH            CA
33411   1GKS2BKC5LR216629   GM           YUKON                FORT LAUDERDALE          FL
33412   1GKS2BKC5LR216663   GM           YUKON                BOSTON                   MA
33413   1GKS2BKC5LR216730   GM           YUKON                MIAMI                    FL
33414   1GKS2BKC5LR216761   GM           YUKON                BUFFALO                  NY
33415   1GKS2BKC5LR216792   GM           YUKON                PHILA                    PA
33416   1GKS2BKC5LR217134   GM           YUKON                SARASOTA                 FL
33417   1GKS2BKC5LR217179   GM           YUKON                WHITE PLAINS             NY
33418   1GKS2BKC5LR217456   GM           YUKON                AUSTIN                   TX
33419   1GKS2BKC5LR236802   GM           YUKON                LAS VEGAS                NV
33420   1GKS2BKC5LR236864   GM           YUKON                SANTA ANA                CA
33421   1GKS2BKC5LR237285   GM           YUKON                SAN DIEGO                CA
33422   1GKS2BKC5LR237688   GM           YUKON                STERLING                 VA
33423   1GKS2BKC5LR238548   GM           YUKON                LOS ANGELES              CA
33424   1GKS2BKC5LR239148   GM           YUKON                MIAMI                    FL
33425   1GKS2BKC5LR239182   GM           YUKON                LOS ANGELES              CA
33426   1GKS2BKC5LR240087   GM           YUKON                SACRAMENTO               CA
33427   1GKS2BKC5LR240090   GM           YUKON                PALM SPRINGS             CA
33428   1GKS2BKC5LR242857   GM           YUKON                CHARLOTTE                NC
33429   1GKS2BKC5LR243099   GM           YUKON                West Palm Beach          FL
33430   1GKS2BKC5LR243264   GM           YUKON                MIAMI                    FL
33431   1GKS2BKC5LR243927   GM           YUKON                JACKSONVILLE             FL
33432   1GKS2BKC5LR244706   GM           YUKON                MIAMI                    FL
33433   1GKS2BKC5LR244771   GM           YUKON                WEST PALM BEACH          FL
33434   1GKS2BKC5LR248531   GM           YUKON                WARWICK                  RI
33435   1GKS2BKC5LR249002   GM           YUKON                SACRAMENTO               CA
33436   1GKS2BKC5LR249291   GM           YUKON                WHITE PLAINS             NY
33437   1GKS2BKC5LR249341   GM           YUKON                DES MOINES               IA
33438   1GKS2BKC5LR249369   GM           YUKON                SAINT LOUIS              MO
33439   1GKS2BKC5LR249372   GM           YUKON                SACRAMENTO               CA
33440   1GKS2BKC5LR250442   GM           YUKON                DALLAS                   TX
33441   1GKS2BKC5LR250554   GM           YUKON                CHATTANOOGA              TN
33442   1GKS2BKC5LR250621   GM           YUKON                NEW ORLEANS              LA
33443   1GKS2BKC5LR250778   GM           YUKON                SAINT PAUL               MN
33444   1GKS2BKC5LR250800   GM           YUKON                DETROIT                  MI
33445   1GKS2BKC5LR251154   GM           YUKON                DETROIT                  MI
33446   1GKS2BKC5LR251350   GM           YUKON                DETROIT                  MI
33447   1GKS2BKC5LR252191   GM           YUKON                DETROIT                  MI
33448   1GKS2BKC5LR252367   GM           YUKON                CHICAGO                  IL
33449   1GKS2BKC5LR252949   GM           YUKON                CHICAGO                  IL
33450   1GKS2BKC5LR253034   GM           YUKON                CHICAGO                  IL
33451   1GKS2BKC5LR254653   GM           YUKON                Atlanta                  GA
33452   1GKS2BKC5LR255267   GM           YUKON                AUSTIN                   TX
33453   1GKS2BKC5LR256547   GM           YUKON                DALLAS                   TX
33454   1GKS2BKC5LR262199   GM           YUKON                SAINT PAUL               MN
33455   1GKS2BKC5LR262316   GM           YUKON                BUFFALO                  NY
33456   1GKS2BKC5LR262817   GM           YUKON                DETROIT                  MI
33457   1GKS2BKC5LR263272   GM           YUKON                KENNER                   LA
33458   1GKS2BKC5LR263708   GM           YUKON                PENSACOLA                FL
33459   1GKS2BKC5LR265247   GM           YUKON                SYRACUSE                 NY
33460   1GKS2BKC5LR265443   GM           YUKON                BOSTON                   MA
33461   1GKS2BKC5LR265927   GM           YUKON                BOSTON                   MA
33462   1GKS2BKC5LR267421   GM           YUKON                SALT LAKE CITY           UT
33463   1GKS2BKC5LR268360   GM           YUKON                SEA TAC                  WA
33464   1GKS2BKC5LR269637   GM           YUKON                BOSTON                   MA
33465   1GKS2BKC5LR271047   GM           YUKON                CHARLOTTE                NC
33466   1GKS2BKC5LR271212   GM           YUKON                DALLAS FORT WORTH AP     TX
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33467   1GKS2BKC5LR271419   GM          YUKON                RONKONKOMA               NY
33468   1GKS2BKC5LR271632   GM          YUKON                MEMPHIS                  TN
33469   1GKS2BKC5LR271663   GM          YUKON                SHREVEPORT               LA
33470   1GKS2BKC5LR271808   GM          YUKON                ORLANDO                  FL
33471   1GKS2BKC5LR271923   GM          YUKON                PITTSBURGH               PA
33472   1GKS2BKC5LR272473   GM          YUKON                MIAMI                    FL
33473   1GKS2BKC5LR273087   GM          YUKON                NEW BERN                 NC
33474   1GKS2BKC5LR273266   GM          YUKON                ORLANDO                  FL
33475   1GKS2BKC5LR273817   GM          YUKON                DETROIT                  MI
33476   1GKS2BKC5LR274319   GM          YUKON                BURBANK                  CA
33477   1GKS2BKC5LR274515   GM          YUKON                LOUISVILLE               KY
33478   1GKS2BKC5LR274627   GM          YUKON                AUSTIN                   TX
33479   1GKS2BKC5LR275034   GM          YUKON                SAINT PAUL               MN
33480   1GKS2BKC5LR276202   GM          YUKON                GRAND RAPIDS             MI
33481   1GKS2BKC5LR276507   GM          YUKON                DETROIT                  MI
33482   1GKS2BKC5LR276961   GM          YUKON                DETROIT                  MI
33483   1GKS2BKC5LR277303   GM          YUKON                DETROIT                  MI
33484   1GKS2BKC5LR277317   GM          YUKON                DETROIT                  MI
33485   1GKS2BKC5LR277365   GM          YUKON                DETROIT                  MI
33486   1GKS2BKC5LR279035   GM          YUKON                NEW ORLEANS              LA
33487   1GKS2BKC5LR279987   GM          YUKON                WEST PALM BEACH          FL
33488   1GKS2BKC5LR281352   GM          YUKON                LAS VEGAS                NV
33489   1GKS2BKC5LR284364   GM          YUKON                BLOOMINGTON              IL
33490   1GKS2BKC5LR284414   GM          YUKON                Atlanta                  GA
33491   1GKS2BKC5LR284655   GM          YUKON                GRAND RAPIDS             MI
33492   1GKS2BKC5LR285031   GM          YUKON                CHICAGO                  IL
33493   1GKS2BKC5LR285059   GM          YUKON                Des Moines               IA
33494   1GKS2BKC5LR285109   GM          YUKON                HOUSTON                  TX
33495   1GKS2BKC5LR285594   GM          YUKON                Des Moines               IA
33496   1GKS2BKC5LR285644   GM          YUKON                STERLING                 VA
33497   1GKS2BKC6HR134450   GM          YUKON                Hayward                  CA
33498   1GKS2BKC6HR135498   GM          YUKON                TRACY                    CA
33499   1GKS2BKC6HR136280   GM          YUKON                Hayward                  CA
33500   1GKS2BKC6JR308944   GM          YUKON                Davie                    FL
33501   1GKS2BKC6JR355858   GM          YUKON                Fontana                  CA
33502   1GKS2BKC6JR398385   GM          YUKON                Florissant               MO
33503   1GKS2BKC6JR401088   GM          YUKON                Davie                    FL
33504   1GKS2BKC6KR158173   GM          YUKON                TAMPA                    FL
33505   1GKS2BKC6KR158450   GM          YUKON                Denver                   CO
33506   1GKS2BKC6KR158948   GM          YUKON                Maple Grove              MN
33507   1GKS2BKC6KR159307   GM          YUKON                Statesville              NC
33508   1GKS2BKC6KR159503   GM          YUKON                FT. LAUDERDALE           FL
33509   1GKS2BKC6KR159601   GM          YUKON                DENVER                   CO
33510   1GKS2BKC6KR159789   GM          YUKON                Wilmington               NC
33511   1GKS2BKC6KR160022   GM          YUKON                DENVER                   CO
33512   1GKS2BKC6KR160313   GM          YUKON                North Dighton            MA
33513   1GKS2BKC6KR160585   GM          YUKON                Fairburn                 GA
33514   1GKS2BKC6KR160831   GM          YUKON                WHITE PLAINS             NY
33515   1GKS2BKC6KR161008   GM          YUKON                AMHERST                  MA
33516   1GKS2BKC6KR161445   GM          YUKON                Davie                    FL
33517   1GKS2BKC6KR161669   GM          YUKON                Maple Grove              MN
33518   1GKS2BKC6KR162210   GM          YUKON                SAINT PAUL               MN
33519   1GKS2BKC6KR162305   GM          YUKON                Roseville                CA
33520   1GKS2BKC6KR162403   GM          YUKON                WINDSOR LOCKS            CT
33521   1GKS2BKC6KR163115   GM          YUKON                MIAMI                    FL
33522   1GKS2BKC6KR163213   GM          YUKON                Rockville Centr          NY
33523   1GKS2BKC6KR163230   GM          YUKON                Charlotte                NC
33524   1GKS2BKC6KR163759   GM          YUKON                Denver                   CO
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33525   1GKS2BKC6KR164197   GM           YUKON                STERLING                 VA
33526   1GKS2BKC6KR164832   GM           YUKON                N. Palm Beach            FL
33527   1GKS2BKC6KR164913   GM           YUKON                DENVER                   CO
33528   1GKS2BKC6KR165379   GM           YUKON                BURBANK                  CA
33529   1GKS2BKC6KR166080   GM           YUKON                LOS ANGELES              CA
33530   1GKS2BKC6KR166872   GM           YUKON                OAKLAND                  CA
33531   1GKS2BKC6KR168234   GM           YUKON                LAS VEGAS                NV
33532   1GKS2BKC6KR168539   GM           YUKON                Myrtle Beach             SC
33533   1GKS2BKC6KR168640   GM           YUKON                PORTLAND                 OR
33534   1GKS2BKC6KR168704   GM           YUKON                Warwick                  RI
33535   1GKS2BKC6KR168847   GM           YUKON                Atlanta                  GA
33536   1GKS2BKC6KR168895   GM           YUKON                Statesville              NC
33537   1GKS2BKC6KR168976   GM           YUKON                DENVER                   CO
33538   1GKS2BKC6KR169111   GM           YUKON                BIRMINGHAM               AL
33539   1GKS2BKC6KR169710   GM           YUKON                OAKLAND                  CA
33540   1GKS2BKC6KR170131   GM           YUKON                BURBANK                  CA
33541   1GKS2BKC6KR170730   GM           YUKON                ORLANDO                  FL
33542   1GKS2BKC6KR170968   GM           YUKON                Plainfield               IN
33543   1GKS2BKC6KR171831   GM           YUKON                Miami                    FL
33544   1GKS2BKC6KR172056   GM           YUKON                DES MOINES               IA
33545   1GKS2BKC6KR172266   GM           YUKON                FRESNO                   CA
33546   1GKS2BKC6KR172512   GM           YUKON                WESTERN DIST OFFC        OK
33547   1GKS2BKC6KR172834   GM           YUKON                CHICAGO                  IL
33548   1GKS2BKC6KR173949   GM           YUKON                Cedar Rapids             IA
33549   1GKS2BKC6KR175278   GM           YUKON                Atlanta                  GA
33550   1GKS2BKC6KR176785   GM           YUKON                Baltimore                MD
33551   1GKS2BKC6KR177242   GM           YUKON                Plainfield               IN
33552   1GKS2BKC6KR177712   GM           YUKON                Statesville              NC
33553   1GKS2BKC6KR180593   GM           YUKON                Detroit                  MI
33554   1GKS2BKC6KR181940   GM           YUKON                DALLAS                   TX
33555   1GKS2BKC6KR184756   GM           YUKON                Memphis                  TN
33556   1GKS2BKC6LR152133   GM           YUKON                Portland                 ME
33557   1GKS2BKC6LR152505   GM           YUKON                PITTSBURGH               PA
33558   1GKS2BKC6LR153203   GM           YUKON                SALT LAKE CITY           US
33559   1GKS2BKC6LR153329   GM           YUKON                PENSACOLA                FL
33560   1GKS2BKC6LR153511   GM           YUKON                ORLANDO                  FL
33561   1GKS2BKC6LR154030   GM           YUKON                CHARLOTTE                NC
33562   1GKS2BKC6LR154304   GM           YUKON                Hayward                  CA
33563   1GKS2BKC6LR154321   GM           YUKON                FORT LAUDERDALE          FL
33564   1GKS2BKC6LR154528   GM           YUKON                MEMPHIS                  TN
33565   1GKS2BKC6LR155372   GM           YUKON                Teterboro                NJ
33566   1GKS2BKC6LR155453   GM           YUKON                ORLANDO                  FL
33567   1GKS2BKC6LR155470   GM           YUKON                HANOVER                  MD
33568   1GKS2BKC6LR155579   GM           YUKON                PHOENIX                  AZ
33569   1GKS2BKC6LR155713   GM           YUKON                WEST PALM BEACH          FL
33570   1GKS2BKC6LR156036   GM           YUKON                SACRAMENTO               CA
33571   1GKS2BKC6LR156165   GM           YUKON                Miami                    FL
33572   1GKS2BKC6LR156232   GM           YUKON                FORT LAUDERDALE          FL
33573   1GKS2BKC6LR156571   GM           YUKON                TAMPA                    FL
33574   1GKS2BKC6LR156585   GM           YUKON                PHOENIX                  AZ
33575   1GKS2BKC6LR156599   GM           YUKON                WEST PALM BEACH          FL
33576   1GKS2BKC6LR156716   GM           YUKON                SAVANNAH                 GA
33577   1GKS2BKC6LR156960   GM           YUKON                NEW YORK CITY            NY
33578   1GKS2BKC6LR156988   GM           YUKON                SARASOTA                 FL
33579   1GKS2BKC6LR156991   GM           YUKON                CHARLOTTE                NC
33580   1GKS2BKC6LR157686   GM           YUKON                DENVER                   CO
33581   1GKS2BKC6LR158000   GM           YUKON                MIAMI                    FL
33582   1GKS2BKC6LR158496   GM           YUKON                FLORENCE                 SC
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33583   1GKS2BKC6LR158630   GM           YUKON                MIAMI                    FL
33584   1GKS2BKC6LR158739   GM           YUKON                SAN ANTONIO              TX
33585   1GKS2BKC6LR158966   GM           YUKON                DICKINSON AP             ND
33586   1GKS2BKC6LR158983   GM           YUKON                PHOENIX                  AZ
33587   1GKS2BKC6LR159020   GM           YUKON                COLLEGE PARK             GA
33588   1GKS2BKC6LR159065   GM           YUKON                LOS ANGELES              CA
33589   1GKS2BKC6LR159325   GM           YUKON                PHOENIX                  AZ
33590   1GKS2BKC6LR159342   GM           YUKON                MIAMI                    FL
33591   1GKS2BKC6LR160264   GM           YUKON                DENVER                   CO
33592   1GKS2BKC6LR160846   GM           YUKON                ATLANTA                  GA
33593   1GKS2BKC6LR161625   GM           YUKON                SAN ANTONIO              TX
33594   1GKS2BKC6LR162550   GM           YUKON                DANIA BEACH              FL
33595   1GKS2BKC6LR163309   GM           YUKON                PALM SPRINGS             CA
33596   1GKS2BKC6LR163942   GM           YUKON                HOUSTON                  TX
33597   1GKS2BKC6LR164721   GM           YUKON                SANTA ANA                CA
33598   1GKS2BKC6LR165299   GM           YUKON                HOUSTON                  TX
33599   1GKS2BKC6LR166212   GM           YUKON                FORT LAUDERDALE          FL
33600   1GKS2BKC6LR166825   GM           YUKON                SHREVEPORT               LA
33601   1GKS2BKC6LR172429   GM           YUKON                OAKLAND                  CA
33602   1GKS2BKC6LR174116   GM           YUKON                PALM SPRINGS             CA
33603   1GKS2BKC6LR176903   GM           YUKON                FRESNO                   CA
33604   1GKS2BKC6LR177498   GM           YUKON                GYPSUM                   CO
33605   1GKS2BKC6LR177520   GM           YUKON                LOS ANGELES              CA
33606   1GKS2BKC6LR177548   GM           YUKON                SALT LAKE CITY           US
33607   1GKS2BKC6LR177565   GM           YUKON                LOS ANGELES              CA
33608   1GKS2BKC6LR180241   GM           YUKON                SACRAMENTO               CA
33609   1GKS2BKC6LR180269   GM           YUKON                OAKLAND                  CA
33610   1GKS2BKC6LR181146   GM           YUKON                DETROIT                  MI
33611   1GKS2BKC6LR181180   GM           YUKON                NEWARK                   NJ
33612   1GKS2BKC6LR181647   GM           YUKON                RENO                     NV
33613   1GKS2BKC6LR182636   GM           YUKON                RENO                     NV
33614   1GKS2BKC6LR182927   GM           YUKON                RENO                     NV
33615   1GKS2BKC6LR182975   GM           YUKON                SAN JOSE                 CA
33616   1GKS2BKC6LR183415   GM           YUKON                SALT LAKE CITY           US
33617   1GKS2BKC6LR184063   GM           YUKON                MIAMI                    FL
33618   1GKS2BKC6LR184094   GM           YUKON                ORLANDO                  FL
33619   1GKS2BKC6LR184130   GM           YUKON                MIAMI                    FL
33620   1GKS2BKC6LR184144   GM           YUKON                NEW YORK CITY            NY
33621   1GKS2BKC6LR184158   GM           YUKON                TAMPA                    FL
33622   1GKS2BKC6LR184323   GM           YUKON                Detroit                  MI
33623   1GKS2BKC6LR185505   GM           YUKON                HARTFORD                 CT
33624   1GKS2BKC6LR185522   GM           YUKON                TAMPA                    FL
33625   1GKS2BKC6LR185536   GM           YUKON                CHARLOTTE                NC
33626   1GKS2BKC6LR185553   GM           YUKON                FORT MYERS               FL
33627   1GKS2BKC6LR185861   GM           YUKON                BURBANK                  CA
33628   1GKS2BKC6LR187786   GM           YUKON                SACRAMENTO               CA
33629   1GKS2BKC6LR189179   GM           YUKON                FRESNO                   CA
33630   1GKS2BKC6LR190008   GM           YUKON                WEST COLUMBIA            SC
33631   1GKS2BKC6LR190705   GM           YUKON                SAN DIEGO                CA
33632   1GKS2BKC6LR190719   GM           YUKON                TAMPA                    FL
33633   1GKS2BKC6LR193779   GM           YUKON                LOS ANGELES              CA
33634   1GKS2BKC6LR193832   GM           YUKON                SAN DIEGO                CA
33635   1GKS2BKC6LR194088   GM           YUKON                LOS ANGELES              CA
33636   1GKS2BKC6LR194091   GM           YUKON                SAN FRANCISCO            CA
33637   1GKS2BKC6LR194642   GM           YUKON                DETROIT                  MI
33638   1GKS2BKC6LR194978   GM           YUKON                FORT MYERS               FL
33639   1GKS2BKC6LR195354   GM           YUKON                SALT LAKE CITY           US
33640   1GKS2BKC6LR202156   GM           YUKON                SAINT PAUL               MN
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33641   1GKS2BKC6LR203257   GM           YUKON                FORT LAUDERDALE          FL
33642   1GKS2BKC6LR203307   GM           YUKON                TAMPA                    FL
33643   1GKS2BKC6LR203615   GM           YUKON                Tampa                    FL
33644   1GKS2BKC6LR203999   GM           YUKON                KNOXVILLE                TN
33645   1GKS2BKC6LR204070   GM           YUKON                BALTIMORE                MD
33646   1GKS2BKC6LR204280   GM           YUKON                SACRAMENTO               CA
33647   1GKS2BKC6LR205493   GM           YUKON                Tampa                    FL
33648   1GKS2BKC6LR206756   GM           YUKON                TAMPA                    FL
33649   1GKS2BKC6LR206837   GM           YUKON                WEST PALM BEACH          FL
33650   1GKS2BKC6LR207390   GM           YUKON                Union City               GA
33651   1GKS2BKC6LR207597   GM           YUKON                ORLANDO                  FL
33652   1GKS2BKC6LR207762   GM           YUKON                HOUSTON                  TX
33653   1GKS2BKC6LR207843   GM           YUKON                HOUSTON                  TX
33654   1GKS2BKC6LR207857   GM           YUKON                KANSAS CITY              MO
33655   1GKS2BKC6LR207874   GM           YUKON                Atlanta                  GA
33656   1GKS2BKC6LR208040   GM           YUKON                AUSTIN                   TX
33657   1GKS2BKC6LR208782   GM           YUKON                SAINT PAUL               MN
33658   1GKS2BKC6LR212444   GM           YUKON                NEW YORK CITY            NY
33659   1GKS2BKC6LR213318   GM           YUKON                ONTARIO                  CA
33660   1GKS2BKC6LR213352   GM           YUKON                BOISE                    US
33661   1GKS2BKC6LR213738   GM           YUKON                Reno                     NV
33662   1GKS2BKC6LR214386   GM           YUKON                San Bruno                CA
33663   1GKS2BKC6LR215148   GM           YUKON                LOS ANGELES AP           CA
33664   1GKS2BKC6LR215490   GM           YUKON                SAN DIEGO                CA
33665   1GKS2BKC6LR216686   GM           YUKON                JACKSONVILLE             FL
33666   1GKS2BKC6LR216820   GM           YUKON                DETROIT                  MI
33667   1GKS2BKC6LR217174   GM           YUKON                CHICAGO                  IL
33668   1GKS2BKC6LR235867   GM           YUKON                LOS ANGELES              CA
33669   1GKS2BKC6LR236940   GM           YUKON                OAKLAND                  CA
33670   1GKS2BKC6LR237196   GM           YUKON                SAN DIEGO                CA
33671   1GKS2BKC6LR237361   GM           YUKON                SAN DIEGO                CA
33672   1GKS2BKC6LR237750   GM           YUKON                TAMPA                    FL
33673   1GKS2BKC6LR239157   GM           YUKON                SAN FRANCISCO            CA
33674   1GKS2BKC6LR239238   GM           YUKON                CHICAGO                  IL
33675   1GKS2BKC6LR239272   GM           YUKON                LOS ANGELES              CA
33676   1GKS2BKC6LR240809   GM           YUKON                SAN FRANCISCO            CA
33677   1GKS2BKC6LR241054   GM           YUKON                TAMPA                    FL
33678   1GKS2BKC6LR241152   GM           YUKON                BOSTON                   MA
33679   1GKS2BKC6LR242575   GM           YUKON                MIAMI                    FL
33680   1GKS2BKC6LR242818   GM           YUKON                MIAMI                    FL
33681   1GKS2BKC6LR242849   GM           YUKON                FORT LAUDERDALE          FL
33682   1GKS2BKC6LR242883   GM           YUKON                Hebron                   KY
33683   1GKS2BKC6LR243578   GM           YUKON                BALTIMORE                MD
33684   1GKS2BKC6LR244813   GM           YUKON                West Palm Beach          FL
33685   1GKS2BKC6LR245038   GM           YUKON                FORT LAUDERDALE          FL
33686   1GKS2BKC6LR248652   GM           YUKON                SEATAC                   WA
33687   1GKS2BKC6LR248845   GM           YUKON                KNOXVILLE                TN
33688   1GKS2BKC6LR249011   GM           YUKON                RONKONKOMA               NY
33689   1GKS2BKC6LR250448   GM           YUKON                BIRMINGHAM               AL
33690   1GKS2BKC6LR250823   GM           YUKON                SAINT LOUIS              MO
33691   1GKS2BKC6LR250840   GM           YUKON                MILWAUKEE                WI
33692   1GKS2BKC6LR251311   GM           YUKON                DETROIT                  MI
33693   1GKS2BKC6LR251647   GM           YUKON                GRAND RAPIDS             MI
33694   1GKS2BKC6LR251938   GM           YUKON                WHITE PLAINS             NY
33695   1GKS2BKC6LR251969   GM           YUKON                CLEVELAND                OH
33696   1GKS2BKC6LR252054   GM           YUKON                DETROIT                  MI
33697   1GKS2BKC6LR252314   GM           YUKON                SAINT PAUL               MN
33698   1GKS2BKC6LR252359   GM           YUKON                INDIANAPOLIS             IN
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33699   1GKS2BKC6LR252538   GM          YUKON                SAINT LOUIS              MO
33700   1GKS2BKC6LR254175   GM          YUKON                KNOXVILLE                TN
33701   1GKS2BKC6LR254869   GM          YUKON                HOUSTON                  TX
33702   1GKS2BKC6LR255052   GM          YUKON                DALLAS                   TX
33703   1GKS2BKC6LR255746   GM          YUKON                GRAND RAPIDS             MI
33704   1GKS2BKC6LR255777   GM          YUKON                ATLANTA                  GA
33705   1GKS2BKC6LR255973   GM          YUKON                BIRMINGHAM               AL
33706   1GKS2BKC6LR258906   GM          YUKON                MOBILE                   A
33707   1GKS2BKC6LR262194   GM          YUKON                FRESNO                   CA
33708   1GKS2BKC6LR263796   GM          YUKON                CHICAGO                  IL
33709   1GKS2BKC6LR265791   GM          YUKON                WHITE PLAINS             NY
33710   1GKS2BKC6LR265886   GM          YUKON                WARWICK                  RI
33711   1GKS2BKC6LR265905   GM          YUKON                ROCHESTER                NY
33712   1GKS2BKC6LR266004   GM          YUKON                WARWICK                  RI
33713   1GKS2BKC6LR268612   GM          YUKON                PHOENIX                  AZ
33714   1GKS2BKC6LR268965   GM          YUKON                Reno                     NV
33715   1GKS2BKC6LR269016   GM          YUKON                SAN FRANCISCO            CA
33716   1GKS2BKC6LR269534   GM          YUKON                WARWICK                  RI
33717   1GKS2BKC6LR270473   GM          YUKON                PENSACOLA                FL
33718   1GKS2BKC6LR270568   GM          YUKON                CHARLOTTE                NC
33719   1GKS2BKC6LR271266   GM          YUKON                PENSACOLA                FL
33720   1GKS2BKC6LR271512   GM          YUKON                SYRACUSE                 NY
33721   1GKS2BKC6LR271526   GM          YUKON                KENNER                   LA
33722   1GKS2BKC6LR271655   GM          YUKON                BIRMINGHAM               AL
33723   1GKS2BKC6LR271722   GM          YUKON                Shreveport               LA
33724   1GKS2BKC6LR271901   GM          YUKON                KANSAS CITY              MO
33725   1GKS2BKC6LR271946   GM          YUKON                BROOKLYN                 NY
33726   1GKS2BKC6LR272420   GM          YUKON                STERLING                 US
33727   1GKS2BKC6LR273051   GM          YUKON                MIAMI                    FL
33728   1GKS2BKC6LR275270   GM          YUKON                KNOXVILLE                TN
33729   1GKS2BKC6LR276015   GM          YUKON                CLEVELAND                OH
33730   1GKS2BKC6LR276130   GM          YUKON                DETROIT                  MI
33731   1GKS2BKC6LR276323   GM          YUKON                DETROIT                  MI
33732   1GKS2BKC6LR276399   GM          YUKON                GRAND RAPIDS             MI
33733   1GKS2BKC6LR277892   GM          YUKON                JACKSONVILLE             FL
33734   1GKS2BKC6LR280274   GM          YUKON                NEW BERN                 NC
33735   1GKS2BKC6LR280324   GM          YUKON                Atlanta                  GA
33736   1GKS2BKC6LR282199   GM          YUKON                SALT LAKE CITY           UT
33737   1GKS2BKC6LR284308   GM          YUKON                CHICAGO                  IL
33738   1GKS2BKC6LR284700   GM          YUKON                CHICAGO                  IL
33739   1GKS2BKC6LR285068   GM          YUKON                FORT MYERS               FL
33740   1GKS2BKC7HR131069   GM          YUKON                TRACY                    CA
33741   1GKS2BKC7HR133811   GM          YUKON                Hayward                  CA
33742   1GKS2BKC7JR269653   GM          YUKON                Hattiesburg              MS
33743   1GKS2BKC7JR287456   GM          YUKON                TAMPA                    FL
33744   1GKS2BKC7JR294245   GM          YUKON                SAN DIEGO                CA
33745   1GKS2BKC7JR304286   GM          YUKON                Fontana                  CA
33746   1GKS2BKC7JR319760   GM          YUKON                Aurora                   CO
33747   1GKS2BKC7JR368893   GM          YUKON                NEWARK                   NY
33748   1GKS2BKC7JR374256   GM          YUKON                OAKLAND                  CA
33749   1GKS2BKC7JR376606   GM          YUKON                FORT LAUDERDALE          FL
33750   1GKS2BKC7KR158036   GM          YUKON                Fairburn                 GA
33751   1GKS2BKC7KR158926   GM          YUKON                Tampa                    FL
33752   1GKS2BKC7KR159283   GM          YUKON                LAS VEGAS                NV
33753   1GKS2BKC7KR159834   GM          YUKON                Rockville Centr          NY
33754   1GKS2BKC7KR160174   GM          YUKON                CHICAGO                  IL
33755   1GKS2BKC7KR160210   GM          YUKON                PHOENIX                  AZ
33756   1GKS2BKC7KR160739   GM          YUKON                BOISE                    US
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33757   1GKS2BKC7KR161390   GM           YUKON                MEDINA                   OH
33758   1GKS2BKC7KR162216   GM           YUKON                Chicago                  IL
33759   1GKS2BKC7KR162278   GM           YUKON                NORFOLK                  VA
33760   1GKS2BKC7KR162619   GM           YUKON                San Antonio              TX
33761   1GKS2BKC7KR163270   GM           YUKON                Salt Lake City           UT
33762   1GKS2BKC7KR163818   GM           YUKON                SEATTLE                  WA
33763   1GKS2BKC7KR164242   GM           YUKON                San Antonio              TX
33764   1GKS2BKC7KR166038   GM           YUKON                Riverside                CA
33765   1GKS2BKC7KR166735   GM           YUKON                Fontana                  CA
33766   1GKS2BKC7KR167142   GM           YUKON                Ft. Myers                FL
33767   1GKS2BKC7KR168114   GM           YUKON                Pensacola                FL
33768   1GKS2BKC7KR168212   GM           YUKON                PLEASANTON               CA
33769   1GKS2BKC7KR168260   GM           YUKON                Salt Lake City           UT
33770   1GKS2BKC7KR168517   GM           YUKON                LOS ANGELES              CA
33771   1GKS2BKC7KR168999   GM           YUKON                DETROIT                  MI
33772   1GKS2BKC7KR169778   GM           YUKON                North Dighton            MA
33773   1GKS2BKC7KR170218   GM           YUKON                Atlanta                  GA
33774   1GKS2BKC7KR170705   GM           YUKON                Elkridge                 MD
33775   1GKS2BKC7KR170977   GM           YUKON                LAS VEGAS                NV
33776   1GKS2BKC7KR171269   GM           YUKON                Harvey                   LA
33777   1GKS2BKC7KR173944   GM           YUKON                Hayward                  CA
33778   1GKS2BKC7KR173961   GM           YUKON                DENVER                   CO
33779   1GKS2BKC7KR174592   GM           YUKON                GYPSUM                   CO
33780   1GKS2BKC7KR177623   GM           YUKON                Philadelphia             PA
33781   1GKS2BKC7KR179906   GM           YUKON                Manheim                  PA
33782   1GKS2BKC7KR180294   GM           YUKON                Atlanta                  GA
33783   1GKS2BKC7KR180702   GM           YUKON                CLEVELAND                OH
33784   1GKS2BKC7KR181445   GM           YUKON                Caledonia                WI
33785   1GKS2BKC7KR183289   GM           YUKON                Jacksonville             FL
33786   1GKS2BKC7KR274708   GM           YUKON                WHITE PLAINS             NY
33787   1GKS2BKC7KR276197   GM           YUKON                Pensacola                FL
33788   1GKS2BKC7LR146891   GM           YUKON                STERLING                 VA
33789   1GKS2BKC7LR151931   GM           YUKON                ORLANDO                  FL
33790   1GKS2BKC7LR152707   GM           YUKON                FORT LAUDERDALE          FL
33791   1GKS2BKC7LR152710   GM           YUKON                LAS VEGAS                NV
33792   1GKS2BKC7LR152898   GM           YUKON                KNOXVILLE                TN
33793   1GKS2BKC7LR153260   GM           YUKON                PHOENIX                  AZ
33794   1GKS2BKC7LR153288   GM           YUKON                MIAMI                    FL
33795   1GKS2BKC7LR153677   GM           YUKON                WHITE PLAINS             NY
33796   1GKS2BKC7LR153808   GM           YUKON                ATLANTA                  GA
33797   1GKS2BKC7LR153985   GM           YUKON                Teterboro                NJ
33798   1GKS2BKC7LR154084   GM           YUKON                SACRAMENTO               CA
33799   1GKS2BKC7LR154425   GM           YUKON                HOUSTON                  TX
33800   1GKS2BKC7LR154490   GM           YUKON                ORLANDO                  FL
33801   1GKS2BKC7LR154621   GM           YUKON                SAINT PAUL               MN
33802   1GKS2BKC7LR154697   GM           YUKON                WEST COLUMBIA            SC
33803   1GKS2BKC7LR154747   GM           YUKON                TAMPA                    FL
33804   1GKS2BKC7LR155073   GM           YUKON                MIAMI                    FL
33805   1GKS2BKC7LR155607   GM           YUKON                JACKSONVILLE             FL
33806   1GKS2BKC7LR155638   GM           YUKON                STERLING                 VA
33807   1GKS2BKC7LR155641   GM           YUKON                FORT MYERS               FL
33808   1GKS2BKC7LR155672   GM           YUKON                ATLANTA                  GA
33809   1GKS2BKC7LR156286   GM           YUKON                Portland                 ME
33810   1GKS2BKC7LR156367   GM           YUKON                Atlanta                  GA
33811   1GKS2BKC7LR156630   GM           YUKON                SALT LAKE CITY           UT
33812   1GKS2BKC7LR156997   GM           YUKON                ORLANDO                  FL
33813   1GKS2BKC7LR157020   GM           YUKON                CHARLESTON               SC
33814   1GKS2BKC7LR157096   GM           YUKON                WEST COLUMBIA            SC
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33815   1GKS2BKC7LR157311   GM           YUKON                FORT MYERS               FL
33816   1GKS2BKC7LR157325   GM           YUKON                MIAMI                    FL
33817   1GKS2BKC7LR157521   GM           YUKON                LAS VEGAS                NV
33818   1GKS2BKC7LR157535   GM           YUKON                Dallas                   TX
33819   1GKS2BKC7LR157793   GM           YUKON                EGG HARBOR TOWN          NJ
33820   1GKS2BKC7LR158037   GM           YUKON                WEST PALM BEACH          FL
33821   1GKS2BKC7LR158099   GM           YUKON                Dallas                   TX
33822   1GKS2BKC7LR158135   GM           YUKON                GRAND RAPIDS             MI
33823   1GKS2BKC7LR158197   GM           YUKON                SAN DIEGO                CA
33824   1GKS2BKC7LR158216   GM           YUKON                WEST COLUMBIA            SC
33825   1GKS2BKC7LR158510   GM           YUKON                ATLANTA                  GA
33826   1GKS2BKC7LR158720   GM           YUKON                ORLANDO                  FL
33827   1GKS2BKC7LR159088   GM           YUKON                FORT LAUDERDALE          FL
33828   1GKS2BKC7LR159284   GM           YUKON                WEST COLUMBIA            SC
33829   1GKS2BKC7LR159687   GM           YUKON                WEST PALM BEACH          FL
33830   1GKS2BKC7LR159821   GM           YUKON                DALLAS                   TX
33831   1GKS2BKC7LR160063   GM           YUKON                FORT LAUDERDALE          FL
33832   1GKS2BKC7LR161715   GM           YUKON                DALLAS                   TX
33833   1GKS2BKC7LR161973   GM           YUKON                Ft. Myers                FL
33834   1GKS2BKC7LR162847   GM           YUKON                AUSTIN                   TX
33835   1GKS2BKC7LR163481   GM           YUKON                MIAMI                    FL
33836   1GKS2BKC7LR163822   GM           YUKON                ATLANTA                  GA
33837   1GKS2BKC7LR163951   GM           YUKON                ORLANDO                  FL
33838   1GKS2BKC7LR163996   GM           YUKON                HOUSTON                  TX
33839   1GKS2BKC7LR164680   GM           YUKON                Atlanta                  GA
33840   1GKS2BKC7LR164873   GM           YUKON                SAVANNAH                 GA
33841   1GKS2BKC7LR168955   GM           YUKON                SHREVEPORT               LA
33842   1GKS2BKC7LR169359   GM           YUKON                MIAMI                    FL
33843   1GKS2BKC7LR171984   GM           YUKON                SAN FRANCISCO            CA
33844   1GKS2BKC7LR172780   GM           YUKON                PHOENIX                  AZ
33845   1GKS2BKC7LR174108   GM           YUKON                LOS ANGELES AP           CA
33846   1GKS2BKC7LR174982   GM           YUKON                SAN DIEGO                CA
33847   1GKS2BKC7LR176165   GM           YUKON                PHOENIX                  AZ
33848   1GKS2BKC7LR176182   GM           YUKON                BURBANK                  CA
33849   1GKS2BKC7LR176506   GM           YUKON                DENVER                   CO
33850   1GKS2BKC7LR176893   GM           YUKON                HOUSTON                  TX
33851   1GKS2BKC7LR176912   GM           YUKON                LOS ANGELES              CA
33852   1GKS2BKC7LR177624   GM           YUKON                LOS ANGELES              CA
33853   1GKS2BKC7LR177655   GM           YUKON                PALM SPRINGS             CA
33854   1GKS2BKC7LR178238   GM           YUKON                PHOENIX                  AZ
33855   1GKS2BKC7LR179552   GM           YUKON                LOS ANGELES              CA
33856   1GKS2BKC7LR179695   GM           YUKON                BALTIMORE                MD
33857   1GKS2BKC7LR180085   GM           YUKON                SAN DIEGO                CA
33858   1GKS2BKC7LR181589   GM           YUKON                SAN JOSE                 CA
33859   1GKS2BKC7LR182385   GM           YUKON                LOS ANGELES              CA
33860   1GKS2BKC7LR182614   GM           YUKON                SALT LAKE CITY           UT
33861   1GKS2BKC7LR182953   GM           YUKON                LOS ANGELES              CA
33862   1GKS2BKC7LR183097   GM           YUKON                SAN DIEGO                CA
33863   1GKS2BKC7LR183388   GM           YUKON                SACRAMENTO               CA
33864   1GKS2BKC7LR183438   GM           YUKON                SALT LAKE CITY           UT
33865   1GKS2BKC7LR183469   GM           YUKON                HOUSTON                  TX
33866   1GKS2BKC7LR183522   GM           YUKON                SANTA ANA                CA
33867   1GKS2BKC7LR184136   GM           YUKON                FORT MYERS               FL
33868   1GKS2BKC7LR184153   GM           YUKON                TAMPA                    FL
33869   1GKS2BKC7LR184167   GM           YUKON                WEST PALM BEACH          FL
33870   1GKS2BKC7LR185545   GM           YUKON                JACKSONVILLE             FL
33871   1GKS2BKC7LR185576   GM           YUKON                ORLANDO                  FL
33872   1GKS2BKC7LR185805   GM           YUKON                LOS ANGELES              CA
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33873   1GKS2BKC7LR186159   GM           YUKON                CHICAGO                  IL
33874   1GKS2BKC7LR187330   GM           YUKON                ALBUQUERQUE              NM
33875   1GKS2BKC7LR187425   GM           YUKON                COLLEGE PARK             GA
33876   1GKS2BKC7LR187473   GM           YUKON                ORLANDO                  FL
33877   1GKS2BKC7LR190650   GM           YUKON                ONTARIO                  CA
33878   1GKS2BKC7LR190695   GM           YUKON                SAN JOSE                 CA
33879   1GKS2BKC7LR190745   GM           YUKON                LAS VEGAS                NV
33880   1GKS2BKC7LR190888   GM           YUKON                SAN FRANCISCO            CA
33881   1GKS2BKC7LR191362   GM           YUKON                NEWARK                   NJ
33882   1GKS2BKC7LR191636   GM           YUKON                EL PASO                  TX
33883   1GKS2BKC7LR192219   GM           YUKON                DENVER                   CO
33884   1GKS2BKC7LR193824   GM           YUKON                EL PASO                  TX
33885   1GKS2BKC7LR194634   GM           YUKON                ORLANDO                  FL
33886   1GKS2BKC7LR195685   GM           YUKON                MIAMI                    FL
33887   1GKS2BKC7LR201890   GM           YUKON                FORT LAUDERDALE          FL
33888   1GKS2BKC7LR202196   GM           YUKON                MIAMI                    FL
33889   1GKS2BKC7LR204515   GM           YUKON                ORLANDO                  FL
33890   1GKS2BKC7LR205888   GM           YUKON                WEST PALM BEACH          FL
33891   1GKS2BKC7LR205924   GM           YUKON                JACKSONVILLE             FL
33892   1GKS2BKC7LR207432   GM           YUKON                KNOXVILLE                TN
33893   1GKS2BKC7LR207625   GM           YUKON                Union City               GA
33894   1GKS2BKC7LR207771   GM           YUKON                HOUSTON                  TX
33895   1GKS2BKC7LR207785   GM           YUKON                HOUSTON                  TX
33896   1GKS2BKC7LR207799   GM           YUKON                HOUSTON                  TX
33897   1GKS2BKC7LR207835   GM           YUKON                HOUSTON                  TX
33898   1GKS2BKC7LR207866   GM           YUKON                HOUSTON                  TX
33899   1GKS2BKC7LR208113   GM           YUKON                DALLAS                   TX
33900   1GKS2BKC7LR208144   GM           YUKON                AUSTIN                   TX
33901   1GKS2BKC7LR210640   GM           YUKON                SACRAMENTO               CA
33902   1GKS2BKC7LR211030   GM           YUKON                BURBANK                  CA
33903   1GKS2BKC7LR211643   GM           YUKON                MILWAUKEE                WI
33904   1GKS2BKC7LR212291   GM           YUKON                PALM SPRINGS             CA
33905   1GKS2BKC7LR213053   GM           YUKON                ONTARIO                  CA
33906   1GKS2BKC7LR213389   GM           YUKON                RONKONKOMA               NY
33907   1GKS2BKC7LR213604   GM           YUKON                Downey                   CA
33908   1GKS2BKC7LR213781   GM           YUKON                SEATTLE                  WA
33909   1GKS2BKC7LR214591   GM           YUKON                ONTARIO                  CA
33910   1GKS2BKC7LR214719   GM           YUKON                LOS ANGELES              CA
33911   1GKS2BKC7LR215448   GM           YUKON                SANTA ANA                CA
33912   1GKS2BKC7LR215501   GM           YUKON                SEATAC                   WA
33913   1GKS2BKC7LR215773   GM           YUKON                RALEIGH                  NC
33914   1GKS2BKC7LR215787   GM           YUKON                MIAMI                    FL
33915   1GKS2BKC7LR216650   GM           YUKON                FORT LAUDERDALE          FL
33916   1GKS2BKC7LR233917   GM           YUKON                SACRAMENTO               CA
33917   1GKS2BKC7LR234582   GM           YUKON                LAS VEGAS                NV
33918   1GKS2BKC7LR234615   GM           YUKON                LOS ANGELES              CA
33919   1GKS2BKC7LR235733   GM           YUKON                OAKLAND                  CA
33920   1GKS2BKC7LR236509   GM           YUKON                COLLEGE PARK             GA
33921   1GKS2BKC7LR236560   GM           YUKON                LAS VEGAS                NV
33922   1GKS2BKC7LR236736   GM           YUKON                LAS VEGAS                NV
33923   1GKS2BKC7LR237465   GM           YUKON                PHOENIX                  AZ
33924   1GKS2BKC7LR239121   GM           YUKON                INGLEWOOD                CA
33925   1GKS2BKC7LR239247   GM           YUKON                BURBANK                  CA
33926   1GKS2BKC7LR239278   GM           YUKON                LOS ANGELES              CA
33927   1GKS2BKC7LR239930   GM           YUKON                MONTEREY                 CA
33928   1GKS2BKC7LR240060   GM           YUKON                LAS VEGAS                NV
33929   1GKS2BKC7LR240074   GM           YUKON                SAINT PAUL               MN
33930   1GKS2BKC7LR241158   GM           YUKON                JACKSONVILLE             FL
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33931   1GKS2BKC7LR242164   GM           YUKON                TAMPA                    FL
33932   1GKS2BKC7LR242990   GM           YUKON                SAVANNAH                 GA
33933   1GKS2BKC7LR244464   GM           YUKON                RALEIGH                  NC
33934   1GKS2BKC7LR244710   GM           YUKON                ORLANDO                  FL
33935   1GKS2BKC7LR244836   GM           YUKON                HARTFORD                 CT
33936   1GKS2BKC7LR249356   GM           YUKON                SAINT LOUIS              MO
33937   1GKS2BKC7LR250216   GM           YUKON                SAINT LOUIS              MO
33938   1GKS2BKC7LR250359   GM           YUKON                KNOXVILLE                TN
33939   1GKS2BKC7LR250524   GM           YUKON                MEMPHIS                  TN
33940   1GKS2BKC7LR250765   GM           YUKON                DETROIT                  MI
33941   1GKS2BKC7LR250829   GM           YUKON                WOODSON TERRACE          MO
33942   1GKS2BKC7LR251303   GM           YUKON                DETROIT                  MI
33943   1GKS2BKC7LR252077   GM           YUKON                CHARLOTTE                NC
33944   1GKS2BKC7LR252578   GM           YUKON                Hebron                   KY
33945   1GKS2BKC7LR254444   GM           YUKON                FAYETTEVILLE             GA
33946   1GKS2BKC7LR254590   GM           YUKON                Hebron                   KY
33947   1GKS2BKC7LR254623   GM           YUKON                SHREVEPORT               LA
33948   1GKS2BKC7LR255013   GM           YUKON                Atlanta                  GA
33949   1GKS2BKC7LR257182   GM           YUKON                HOUSTON                  TX
33950   1GKS2BKC7LR258588   GM           YUKON                Atlanta                  GA
33951   1GKS2BKC7LR260051   GM           YUKON                NORFOLK                  VA
33952   1GKS2BKC7LR261426   GM           YUKON                SACRAMENTO               CA
33953   1GKS2BKC7LR262222   GM           YUKON                LITTLE ROCK              AR
33954   1GKS2BKC7LR262737   GM           YUKON                SAN JOSE                 CA
33955   1GKS2BKC7LR263029   GM           YUKON                BOSTON                   MA
33956   1GKS2BKC7LR264889   GM           YUKON                DENVER                   CO
33957   1GKS2BKC7LR265699   GM           YUKON                BOSTON                   MA
33958   1GKS2BKC7LR265895   GM           YUKON                ALBANY                   N
33959   1GKS2BKC7LR266111   GM           YUKON                BOSTON                   MA
33960   1GKS2BKC7LR266206   GM           YUKON                BUFFALO                  NY
33961   1GKS2BKC7LR268442   GM           YUKON                SACRAMENTO               CA
33962   1GKS2BKC7LR268487   GM           YUKON                SAN FRANCISCO            CA
33963   1GKS2BKC7LR268618   GM           YUKON                PORTLAND                 OR
33964   1GKS2BKC7LR268988   GM           YUKON                MIAMI                    FL
33965   1GKS2BKC7LR269056   GM           YUKON                SACRAMENTO               CA
33966   1GKS2BKC7LR269333   GM           YUKON                MAHOPAC                  NY
33967   1GKS2BKC7LR270997   GM           YUKON                ONTARIO                  CA
33968   1GKS2BKC7LR271728   GM           YUKON                PANAMA CITY              FL
33969   1GKS2BKC7LR271874   GM           YUKON                STERLING                 VA
33970   1GKS2BKC7LR271888   GM           YUKON                MEMPHIS                  TN
33971   1GKS2BKC7LR271907   GM           YUKON                ATLANTA                  GA
33972   1GKS2BKC7LR271910   GM           YUKON                CHARLOTTE                NC
33973   1GKS2BKC7LR272801   GM           YUKON                ORLANDO                  FL
33974   1GKS2BKC7LR272880   GM           YUKON                SHREVEPORT               LA
33975   1GKS2BKC7LR273172   GM           YUKON                ORLANDO                  FL
33976   1GKS2BKC7LR273348   GM           YUKON                STERLING                 VA
33977   1GKS2BKC7LR273351   GM           YUKON                ATLANTA                  GA
33978   1GKS2BKC7LR273818   GM           YUKON                ORLANDO                  FL
33979   1GKS2BKC7LR274239   GM           YUKON                SACRAMENTO               CA
33980   1GKS2BKC7LR275553   GM           YUKON                LOS ANGELES              CA
33981   1GKS2BKC7LR276136   GM           YUKON                DETROIT                  MI
33982   1GKS2BKC7LR276461   GM           YUKON                DETROIT                  MI
33983   1GKS2BKC7LR276623   GM           YUKON                MOBILE                   A
33984   1GKS2BKC7LR277383   GM           YUKON                DETROIT                  MI
33985   1GKS2BKC7LR278033   GM           YUKON                KANSAS CITY              MO
33986   1GKS2BKC7LR279019   GM           YUKON                TAMPA                    FL
33987   1GKS2BKC7LR279053   GM           YUKON                TAMPA                    FL
33988   1GKS2BKC7LR283474   GM           YUKON                CHICAGO                  IL
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33989   1GKS2BKC7LR283930   GM          YUKON                CHICAGO                  IL
33990   1GKS2BKC7LR284298   GM          YUKON                CHICAGO                  IL
33991   1GKS2BKC7LR284334   GM          YUKON                CHICAGO                  IL
33992   1GKS2BKC7LR284690   GM          YUKON                Des Moines               IA
33993   1GKS2BKC7LR285581   GM          YUKON                CHICAGO                  IL
33994   1GKS2BKC7LR285659   GM          YUKON                FORT MYERS               FL
33995   1GKS2BKC8HR134904   GM          YUKON                Riverside                CA
33996   1GKS2BKC8HR194567   GM          YUKON                Juneau                   AK
33997   1GKS2BKC8JR360009   GM          YUKON                SANTA ANA                CA
33998   1GKS2BKC8JR365632   GM          YUKON                Davie                    FL
33999   1GKS2BKC8JR376601   GM          YUKON                Rockville Centr          NY
34000   1GKS2BKC8JR386352   GM          YUKON                Matteson                 IL
34001   1GKS2BKC8KR158711   GM          YUKON                DETROIT                  MI
34002   1GKS2BKC8KR158739   GM          YUKON                Ventura                  CA
34003   1GKS2BKC8KR159244   GM          YUKON                MIAMI                    FL
34004   1GKS2BKC8KR159342   GM          YUKON                CLEVELAND                OH
34005   1GKS2BKC8KR159776   GM          YUKON                Elkridge                 MD
34006   1GKS2BKC8KR159857   GM          YUKON                Manheim                  PA
34007   1GKS2BKC8KR160507   GM          YUKON                North Dighton            MA
34008   1GKS2BKC8KR160779   GM          YUKON                Estero                   FL
34009   1GKS2BKC8KR161382   GM          YUKON                WEST PALM BEACH          FL
34010   1GKS2BKC8KR161768   GM          YUKON                FORT MYERS               FL
34011   1GKS2BKC8KR161947   GM          YUKON                Tampa                    FL
34012   1GKS2BKC8KR162080   GM          YUKON                N. Palm Beach            FL
34013   1GKS2BKC8KR162158   GM          YUKON                Tampa                    FL
34014   1GKS2BKC8KR162452   GM          YUKON                DES MOINES               IA
34015   1GKS2BKC8KR162662   GM          YUKON                Morrisville              NC
34016   1GKS2BKC8KR162838   GM          YUKON                Fairburn                 GA
34017   1GKS2BKC8KR162984   GM          YUKON                Dallas                   TX
34018   1GKS2BKC8KR163679   GM          YUKON                Ocoee                    FL
34019   1GKS2BKC8KR163715   GM          YUKON                SOUTHEAST DST OFFC       OK
34020   1GKS2BKC8KR164041   GM          YUKON                Las Vegas                NV
34021   1GKS2BKC8KR164427   GM          YUKON                DAYTONA BEACH            FL
34022   1GKS2BKC8KR165027   GM          YUKON                Fresno                   CA
34023   1GKS2BKC8KR165318   GM          YUKON                DENVER                   CO
34024   1GKS2BKC8KR165464   GM          YUKON                Fontana                  CA
34025   1GKS2BKC8KR166193   GM          YUKON                Torrance                 CA
34026   1GKS2BKC8KR166422   GM          YUKON                DENVER                   CO
34027   1GKS2BKC8KR166498   GM          YUKON                North Las Vegas          NV
34028   1GKS2BKC8KR166517   GM          YUKON                Manheim                  PA
34029   1GKS2BKC8KR167148   GM          YUKON                Manheim                  PA
34030   1GKS2BKC8KR167358   GM          YUKON                Burien                   WA
34031   1GKS2BKC8KR167456   GM          YUKON                SAN DIEGO                CA
34032   1GKS2BKC8KR168106   GM          YUKON                Seattle                  WA
34033   1GKS2BKC8KR168414   GM          YUKON                North Dighton            MA
34034   1GKS2BKC8KR168560   GM          YUKON                Slidell                  LA
34035   1GKS2BKC8KR168929   GM          YUKON                SOUTHEAST DST OFFC       OK
34036   1GKS2BKC8KR169840   GM          YUKON                LOS ANGELES              CA
34037   1GKS2BKC8KR170065   GM          YUKON                ORLANDO                  FL
34038   1GKS2BKC8KR170504   GM          YUKON                Chicago                  IL
34039   1GKS2BKC8KR171216   GM          YUKON                North Dighton            MA
34040   1GKS2BKC8KR173239   GM          YUKON                Slidell                  LA
34041   1GKS2BKC8KR173340   GM          YUKON                Hebron                   KY
34042   1GKS2BKC8KR175895   GM          YUKON                Davie                    FL
34043   1GKS2BKC8KR177078   GM          YUKON                Tolleson                 AZ
34044   1GKS2BKC8KR177310   GM          YUKON                Aurora                   CO
34045   1GKS2BKC8KR178473   GM          YUKON                TAMPA                    US
34046   1GKS2BKC8KR180515   GM          YUKON                MIAMI                    FL
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34047   1GKS2BKC8KR180532   GM           YUKON                LAS VEGAS                NV
34048   1GKS2BKC8KR183141   GM           YUKON                MIAMI                    FL
34049   1GKS2BKC8KR185424   GM           YUKON                St. Louis                MO
34050   1GKS2BKC8KR185973   GM           YUKON                Ronkonkoma               NY
34051   1GKS2BKC8LR147290   GM           YUKON                JACKSONVILLE             FL
34052   1GKS2BKC8LR149900   GM           YUKON                MONTEREY                 CA
34053   1GKS2BKC8LR149928   GM           YUKON                DENVER                   CO
34054   1GKS2BKC8LR152568   GM           YUKON                KNOXVILLE                TN
34055   1GKS2BKC8LR152974   GM           YUKON                LOS ANGELES              CA
34056   1GKS2BKC8LR153526   GM           YUKON                Louisville               KY
34057   1GKS2BKC8LR153834   GM           YUKON                WEST PALM BEACH          FL
34058   1GKS2BKC8LR154238   GM           YUKON                KNOXVILLE                TN
34059   1GKS2BKC8LR154448   GM           YUKON                PITTSBURGH               PA
34060   1GKS2BKC8LR155390   GM           YUKON                CLEVELAND                OH
34061   1GKS2BKC8LR155471   GM           YUKON                Atlanta                  GA
34062   1GKS2BKC8LR155678   GM           YUKON                TAMPA                    FL
34063   1GKS2BKC8LR155728   GM           YUKON                ORLANDO                  FL
34064   1GKS2BKC8LR156023   GM           YUKON                TAMPA                    FL
34065   1GKS2BKC8LR156247   GM           YUKON                MIAMI                    FL
34066   1GKS2BKC8LR156524   GM           YUKON                FORT MYERS               FL
34067   1GKS2BKC8LR156622   GM           YUKON                ATLANTA                  GA
34068   1GKS2BKC8LR156992   GM           YUKON                MIAMI                    FL
34069   1GKS2BKC8LR157141   GM           YUKON                LAS VEGAS                NV
34070   1GKS2BKC8LR157513   GM           YUKON                Portland                 ME
34071   1GKS2BKC8LR157527   GM           YUKON                OAKLAND                  CA
34072   1GKS2BKC8LR157687   GM           YUKON                DANIA BEACH              FL
34073   1GKS2BKC8LR157852   GM           YUKON                Atlanta                  GA
34074   1GKS2BKC8LR157883   GM           YUKON                FORT LAUDERDALE          FL
34075   1GKS2BKC8LR158077   GM           YUKON                AUSTIN                   TX
34076   1GKS2BKC8LR158161   GM           YUKON                DANIA BEACH              FL
34077   1GKS2BKC8LR158192   GM           YUKON                ORLANDO                  FL
34078   1GKS2BKC8LR158208   GM           YUKON                FORT LAUDERDALE          FL
34079   1GKS2BKC8LR158726   GM           YUKON                FORT MYERS               FL
34080   1GKS2BKC8LR159049   GM           YUKON                TAMPA                    FL
34081   1GKS2BKC8LR159195   GM           YUKON                LAS VEGAS                NV
34082   1GKS2BKC8LR159262   GM           YUKON                Teterboro                NJ
34083   1GKS2BKC8LR159293   GM           YUKON                FORT MYERS               FL
34084   1GKS2BKC8LR159469   GM           YUKON                PHOENIX                  AZ
34085   1GKS2BKC8LR159763   GM           YUKON                BALTIMORE                MD
34086   1GKS2BKC8LR161464   GM           YUKON                NORFOLK                  US
34087   1GKS2BKC8LR162548   GM           YUKON                SACRAMENTO               CA
34088   1GKS2BKC8LR163456   GM           YUKON                GRAND RAPIDS             MI
34089   1GKS2BKC8LR163666   GM           YUKON                MIAMI                    FL
34090   1GKS2BKC8LR163957   GM           YUKON                Atlanta                  GA
34091   1GKS2BKC8LR163988   GM           YUKON                MOBILE                   A
34092   1GKS2BKC8LR164090   GM           YUKON                SAN ANTONIO              TX
34093   1GKS2BKC8LR164266   GM           YUKON                BOISE                    ID
34094   1GKS2BKC8LR164722   GM           YUKON                ORLANDO                  FL
34095   1GKS2BKC8LR165207   GM           YUKON                ORLANDO                  FL
34096   1GKS2BKC8LR167281   GM           YUKON                SAN JOSE                 CA
34097   1GKS2BKC8LR171962   GM           YUKON                SAN DIEGO                CA
34098   1GKS2BKC8LR172383   GM           YUKON                LAS VEGAS                NV
34099   1GKS2BKC8LR172805   GM           YUKON                EL PASO                  TX
34100   1GKS2BKC8LR173775   GM           YUKON                CHARLESTON               SC
34101   1GKS2BKC8LR175185   GM           YUKON                LOS ANGELES              CA
34102   1GKS2BKC8LR175655   GM           YUKON                SACRAMENTO               CA
34103   1GKS2BKC8LR175798   GM           YUKON                LAS VEGAS                NV
34104   1GKS2BKC8LR175977   GM           YUKON                PHOENIX                  AZ
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34105   1GKS2BKC8LR176546   GM           YUKON                SALT LAKE CITY           UT
34106   1GKS2BKC8LR176868   GM           YUKON                LOS ANGELES              CA
34107   1GKS2BKC8LR176885   GM           YUKON                Garden Grove             CA
34108   1GKS2BKC8LR176899   GM           YUKON                OAKLAND                  CA
34109   1GKS2BKC8LR177518   GM           YUKON                SEATAC                   WA
34110   1GKS2BKC8LR177597   GM           YUKON                SALT LAKE CITY           UT
34111   1GKS2BKC8LR177843   GM           YUKON                ORLANDO                  FL
34112   1GKS2BKC8LR178460   GM           YUKON                FORT MYERS               FL
34113   1GKS2BKC8LR179642   GM           YUKON                ALBUQUERQUE              NM
34114   1GKS2BKC8LR180211   GM           YUKON                NEWARK                   NJ
34115   1GKS2BKC8LR180256   GM           YUKON                SAN DIEGO                CA
34116   1GKS2BKC8LR181780   GM           YUKON                SACRAMENTO               CA
34117   1GKS2BKC8LR182167   GM           YUKON                LOS ANGELES              CA
34118   1GKS2BKC8LR182914   GM           YUKON                SAN FRANCISCO            CA
34119   1GKS2BKC8LR183321   GM           YUKON                LOS ANGELES              CA
34120   1GKS2BKC8LR183464   GM           YUKON                ORANGE COUNTY            CA
34121   1GKS2BKC8LR183528   GM           YUKON                LAS VEGAS                NV
34122   1GKS2BKC8LR183559   GM           YUKON                SAN FRANCISCO            CA
34123   1GKS2BKC8LR183738   GM           YUKON                Hayward                  CA
34124   1GKS2BKC8LR184100   GM           YUKON                COLUMBIA                 SC
34125   1GKS2BKC8LR184145   GM           YUKON                ORLANDO                  FL
34126   1GKS2BKC8LR184310   GM           YUKON                MIAMI                    FL
34127   1GKS2BKC8LR184937   GM           YUKON                MIAMI                    FL
34128   1GKS2BKC8LR188292   GM           YUKON                Atlanta                  GA
34129   1GKS2BKC8LR189619   GM           YUKON                ALBANY                   NY
34130   1GKS2BKC8LR190298   GM           YUKON                SEATAC                   WA
34131   1GKS2BKC8LR190351   GM           YUKON                PITTSBURGH               PA
34132   1GKS2BKC8LR190625   GM           YUKON                RONKONKOMA               NY
34133   1GKS2BKC8LR191757   GM           YUKON                HOUSTON                  TX
34134   1GKS2BKC8LR191760   GM           YUKON                DENVER                   CO
34135   1GKS2BKC8LR191774   GM           YUKON                DENVER                   CO
34136   1GKS2BKC8LR191788   GM           YUKON                DENVER                   CO
34137   1GKS2BKC8LR191810   GM           YUKON                INGLEWOOD                CA
34138   1GKS2BKC8LR193654   GM           YUKON                ALBUQERQUE               NM
34139   1GKS2BKC8LR193668   GM           YUKON                ALBUQUERQUE              NM
34140   1GKS2BKC8LR195436   GM           YUKON                ORLANDO                  FL
34141   1GKS2BKC8LR195663   GM           YUKON                Teterboro                NJ
34142   1GKS2BKC8LR202997   GM           YUKON                DETROIT                  MI
34143   1GKS2BKC8LR204300   GM           YUKON                TAMPA                    FL
34144   1GKS2BKC8LR205558   GM           YUKON                PORTLAND                 ME
34145   1GKS2BKC8LR206158   GM           YUKON                MIAMI                    FL
34146   1GKS2BKC8LR207391   GM           YUKON                Atlanta                  GA
34147   1GKS2BKC8LR207438   GM           YUKON                NEW YORK CITY            NY
34148   1GKS2BKC8LR207763   GM           YUKON                SAN ANTONIO              TX
34149   1GKS2BKC8LR207777   GM           YUKON                HOUSTON                  TX
34150   1GKS2BKC8LR207830   GM           YUKON                WEST COLUMBIA            SC
34151   1GKS2BKC8LR207844   GM           YUKON                LITTLE ROCK              AR
34152   1GKS2BKC8LR207875   GM           YUKON                HOUSTON                  TX
34153   1GKS2BKC8LR208024   GM           YUKON                Dallas                   TX
34154   1GKS2BKC8LR208105   GM           YUKON                FAYETTEVILLE             GA
34155   1GKS2BKC8LR208167   GM           YUKON                MIDLAND                  TX
34156   1GKS2BKC8LR211408   GM           YUKON                Los Angeles              CA
34157   1GKS2BKC8LR211697   GM           YUKON                CHARLOTTE                NC
34158   1GKS2BKC8LR212302   GM           YUKON                MAHOPAC                  NY
34159   1GKS2BKC8LR213367   GM           YUKON                DETROIT                  MI
34160   1GKS2BKC8LR213370   GM           YUKON                SAN DIEGO                CA
34161   1GKS2BKC8LR213398   GM           YUKON                FRESNO                   CA
34162   1GKS2BKC8LR213787   GM           YUKON                SALT LAKE CITY           UT
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34163   1GKS2BKC8LR214390   GM           YUKON                DENVER                   CO
34164   1GKS2BKC8LR214406   GM           YUKON                LAS VEGAS                NV
34165   1GKS2BKC8LR214423   GM           YUKON                DENVER                   CO
34166   1GKS2BKC8LR214731   GM           YUKON                LOS ANGELES              CA
34167   1GKS2BKC8LR214745   GM           YUKON                BURBANK                  CA
34168   1GKS2BKC8LR215068   GM           YUKON                LOS ANGELES              CA
34169   1GKS2BKC8LR215250   GM           YUKON                LOS ANGELES              CA
34170   1GKS2BKC8LR215457   GM           YUKON                ORLANDO                  FL
34171   1GKS2BKC8LR215491   GM           YUKON                INGLEWOOD                CA
34172   1GKS2BKC8LR215510   GM           YUKON                BUFFALO                  NY
34173   1GKS2BKC8LR216639   GM           YUKON                JACKSONVILLE             FL
34174   1GKS2BKC8LR216771   GM           YUKON                WEST PALM BEACH          FL
34175   1GKS2BKC8LR216821   GM           YUKON                LOUISVILLE               KY
34176   1GKS2BKC8LR217161   GM           YUKON                ORLANDO                  FL
34177   1GKS2BKC8LR233828   GM           YUKON                ORANGE COUNTY            CA
34178   1GKS2BKC8LR234591   GM           YUKON                Los Angeles              CA
34179   1GKS2BKC8LR235899   GM           YUKON                CLEVELAND                OH
34180   1GKS2BKC8LR236440   GM           YUKON                LOS ANGELES              CA
34181   1GKS2BKC8LR236762   GM           YUKON                LOS ANGELES              CA
34182   1GKS2BKC8LR237278   GM           YUKON                SANTA ANA                CA
34183   1GKS2BKC8LR239516   GM           YUKON                SACRAMENTO               CA
34184   1GKS2BKC8LR240844   GM           YUKON                SAN FRANCISCO            CA
34185   1GKS2BKC8LR242805   GM           YUKON                LAS VEGAS                NV
34186   1GKS2BKC8LR242917   GM           YUKON                ORLANDO                  FL
34187   1GKS2BKC8LR242979   GM           YUKON                ORLANDO                  FL
34188   1GKS2BKC8LR243680   GM           YUKON                MIAMI                    FL
34189   1GKS2BKC8LR244943   GM           YUKON                MIAMI INT'L AP           FL
34190   1GKS2BKC8LR245123   GM           YUKON                FORT LAUDERDALE          FL
34191   1GKS2BKC8LR245963   GM           YUKON                ORLANDO                  FL
34192   1GKS2BKC8LR248345   GM           YUKON                ROCHESTER                NY
34193   1GKS2BKC8LR248717   GM           YUKON                BIRMINGHAM               AL
34194   1GKS2BKC8LR248751   GM           YUKON                MEMPHIS                  TN
34195   1GKS2BKC8LR248782   GM           YUKON                DETROIT                  MI
34196   1GKS2BKC8LR248832   GM           YUKON                SAINT LOUIS              MO
34197   1GKS2BKC8LR248880   GM           YUKON                CHICAGO                  IL
34198   1GKS2BKC8LR248927   GM           YUKON                Atlanta                  GA
34199   1GKS2BKC8LR249379   GM           YUKON                DES MOINES               IA
34200   1GKS2BKC8LR249446   GM           YUKON                LANSING                  MI
34201   1GKS2BKC8LR250516   GM           YUKON                MEMPHIS                  TN
34202   1GKS2BKC8LR250855   GM           YUKON                KNOXVILLE                TN
34203   1GKS2BKC8LR250886   GM           YUKON                MILWAUKEE                WI
34204   1GKS2BKC8LR251312   GM           YUKON                DETROIT                  MI
34205   1GKS2BKC8LR251617   GM           YUKON                DETROIT                  MI
34206   1GKS2BKC8LR251634   GM           YUKON                GRAND RAPIDS             MI
34207   1GKS2BKC8LR251648   GM           YUKON                GRAND RAPIDS             MI
34208   1GKS2BKC8LR251942   GM           YUKON                DETROIT                  MI
34209   1GKS2BKC8LR252010   GM           YUKON                DETROIT                  MI
34210   1GKS2BKC8LR252072   GM           YUKON                Des Moines               IA
34211   1GKS2BKC8LR252394   GM           YUKON                CHICAGO                  IL
34212   1GKS2BKC8LR252704   GM           YUKON                SAINT LOUIS              MO
34213   1GKS2BKC8LR253111   GM           YUKON                SAINT PAUL               MN
34214   1GKS2BKC8LR254694   GM           YUKON                NEW ORLEANS              LA
34215   1GKS2BKC8LR255408   GM           YUKON                ATLANTA                  GA
34216   1GKS2BKC8LR256140   GM           YUKON                UNION CITY               GA
34217   1GKS2BKC8LR257417   GM           YUKON                DALLAS                   TX
34218   1GKS2BKC8LR257501   GM           YUKON                DALLAS                   TX
34219   1GKS2BKC8LR265310   GM           YUKON                BUFFALO                  NY
34220   1GKS2BKC8LR265923   GM           YUKON                BOSTON, LOGAN AP         MA
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34221   1GKS2BKC8LR267848   GM          YUKON                SEA TAC                  WA
34222   1GKS2BKC8LR270538   GM          YUKON                PHILADELPHIA             PA
34223   1GKS2BKC8LR271642   GM          YUKON                NEWARK                   NJ
34224   1GKS2BKC8LR271687   GM          YUKON                NEW BERN                 NC
34225   1GKS2BKC8LR271771   GM          YUKON                FORT MYERS               FL
34226   1GKS2BKC8LR272063   GM          YUKON                CHARLOTTE                NC
34227   1GKS2BKC8LR272550   GM          YUKON                ORLANDO                  FL
34228   1GKS2BKC8LR272905   GM          YUKON                ORLANDO                  FL
34229   1GKS2BKC8LR272922   GM          YUKON                STERLING                 VA
34230   1GKS2BKC8LR273374   GM          YUKON                CHARLOTTE                NC
34231   1GKS2BKC8LR273441   GM          YUKON                RALEIGH                  NC
34232   1GKS2BKC8LR274069   GM          YUKON                DETROIT                  MI
34233   1GKS2BKC8LR274301   GM          YUKON                ROCHESTER                NY
34234   1GKS2BKC8LR274895   GM          YUKON                SACRAMENTO               CA
34235   1GKS2BKC8LR274993   GM          YUKON                NEW ORLEANS              LA
34236   1GKS2BKC8LR275643   GM          YUKON                DETROIT                  MI
34237   1GKS2BKC8LR279031   GM          YUKON                PHILADELPHIA             PA
34238   1GKS2BKC8LR282365   GM          YUKON                SAN FRANCISCO            CA
34239   1GKS2BKC8LR283824   GM          YUKON                CHICAGO                  IL
34240   1GKS2BKC8LR283936   GM          YUKON                DETROIT                  MI
34241   1GKS2BKC8LR283967   GM          YUKON                CHICAGO                  IL
34242   1GKS2BKC8LR284083   GM          YUKON                DENVER                   CO
34243   1GKS2BKC8LR284357   GM          YUKON                FORT MYERS               FL
34244   1GKS2BKC8LR284424   GM          YUKON                SAVANNAH                 GA
34245   1GKS2BKC8LR285010   GM          YUKON                MILWAUKEE                WI
34246   1GKS2BKC8LR285024   GM          YUKON                Saint Paul               MN
34247   1GKS2BKC8LR285122   GM          YUKON                DALLAS                   TX
34248   1GKS2BKC8LR285380   GM          YUKON                CHICAGO                  IL
34249   1GKS2BKC8LR285539   GM          YUKON                GREENVILLE               NC
34250   1GKS2BKC8LR286657   GM          YUKON                SAN DIEGO                CA
34251   1GKS2BKC9HR136113   GM          YUKON                Santa Clara              CA
34252   1GKS2BKC9JR294635   GM          YUKON                San Diego                CA
34253   1GKS2BKC9KR158653   GM          YUKON                Davie                    FL
34254   1GKS2BKC9KR158930   GM          YUKON                DENVER                   CO
34255   1GKS2BKC9KR159124   GM          YUKON                Riverside                CA
34256   1GKS2BKC9KR159902   GM          YUKON                Norfolk                  VA
34257   1GKS2BKC9KR160273   GM          YUKON                WHITE PLAINS             NY
34258   1GKS2BKC9KR160595   GM          YUKON                SALT LAKE CITY           US
34259   1GKS2BKC9KR160600   GM          YUKON                SYRACUSE                 NY
34260   1GKS2BKC9KR160998   GM          YUKON                CHICAGO                  IL
34261   1GKS2BKC9KR161066   GM          YUKON                Smithtown                NY
34262   1GKS2BKC9KR161388   GM          YUKON                SALT LAKE CITY           US
34263   1GKS2BKC9KR161391   GM          YUKON                PHILADELPHIA             PA
34264   1GKS2BKC9KR161438   GM          YUKON                MIAMI                    FL
34265   1GKS2BKC9KR162086   GM          YUKON                Denver                   CO
34266   1GKS2BKC9KR162167   GM          YUKON                Fairburn                 GA
34267   1GKS2BKC9KR163853   GM          YUKON                Milwaukee                WI
34268   1GKS2BKC9KR164288   GM          YUKON                North Las Vegas          NV
34269   1GKS2BKC9KR164808   GM          YUKON                Fontana                  CA
34270   1GKS2BKC9KR164937   GM          YUKON                North Las Vegas          NV
34271   1GKS2BKC9KR165585   GM          YUKON                Aurora                   CO
34272   1GKS2BKC9KR165893   GM          YUKON                Atlanta                  GA
34273   1GKS2BKC9KR166042   GM          YUKON                Elkridge                 MD
34274   1GKS2BKC9KR166221   GM          YUKON                TUCSON                   AZ
34275   1GKS2BKC9KR166235   GM          YUKON                Lake Elsinore            CA
34276   1GKS2BKC9KR166493   GM          YUKON                Sacramento               CA
34277   1GKS2BKC9KR166557   GM          YUKON                Fontana                  CA
34278   1GKS2BKC9KR166896   GM          YUKON                MIAMI                    FL
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34279   1GKS2BKC9KR167840   GM           YUKON                TRACY                    CA
34280   1GKS2BKC9KR168065   GM           YUKON                North Dighton            MA
34281   1GKS2BKC9KR168177   GM           YUKON                Ocoee                    FL
34282   1GKS2BKC9KR168261   GM           YUKON                SOUTHEAST DST OFFC       OK
34283   1GKS2BKC9KR168468   GM           YUKON                Manheim                  PA
34284   1GKS2BKC9KR168812   GM           YUKON                El Paso                  TX
34285   1GKS2BKC9KR169006   GM           YUKON                Manheim                  PA
34286   1GKS2BKC9KR169040   GM           YUKON                PITTSBURGH               PA
34287   1GKS2BKC9KR169300   GM           YUKON                MIAMI                    FL
34288   1GKS2BKC9KR169863   GM           YUKON                Riverside                CA
34289   1GKS2BKC9KR170284   GM           YUKON                Greensboro               NC
34290   1GKS2BKC9KR170589   GM           YUKON                Riverside                CA
34291   1GKS2BKC9KR170642   GM           YUKON                Fontana                  CA
34292   1GKS2BKC9KR170754   GM           YUKON                CHICAGO                  IL
34293   1GKS2BKC9KR170933   GM           YUKON                WEST PALM BEACH          FL
34294   1GKS2BKC9KR170950   GM           YUKON                Davie                    FL
34295   1GKS2BKC9KR171418   GM           YUKON                DENVER                   CO
34296   1GKS2BKC9KR172133   GM           YUKON                Fontana                  CA
34297   1GKS2BKC9KR172875   GM           YUKON                SOUTHEAST DST OFFC       OK
34298   1GKS2BKC9KR173301   GM           YUKON                North Las Vegas          NV
34299   1GKS2BKC9KR173945   GM           YUKON                BURBANK                  CA
34300   1GKS2BKC9KR174593   GM           YUKON                Statesville              NC
34301   1GKS2BKC9KR174626   GM           YUKON                DENVER                   CO
34302   1GKS2BKC9KR175209   GM           YUKON                SALT LAKE CITY           US
34303   1GKS2BKC9KR177557   GM           YUKON                Jacksonville             FL
34304   1GKS2BKC9KR177848   GM           YUKON                Greensboro               NC
34305   1GKS2BKC9KR178787   GM           YUKON                PHOENIX                  AZ
34306   1GKS2BKC9KR181981   GM           YUKON                DENVER                   CO
34307   1GKS2BKC9KR182192   GM           YUKON                Statesville              NC
34308   1GKS2BKC9KR185559   GM           YUKON                JACKSON                  MS
34309   1GKS2BKC9KR185609   GM           YUKON                GRAND RAPIDS             MI
34310   1GKS2BKC9KR185660   GM           YUKON                Ocoee                    FL
34311   1GKS2BKC9KR185982   GM           YUKON                Dallas                   TX
34312   1GKS2BKC9LR148920   GM           YUKON                ORLANDO                  FL
34313   1GKS2BKC9LR151283   GM           YUKON                ORLANDO                  FL
34314   1GKS2BKC9LR152529   GM           YUKON                ATLANTA                  GA
34315   1GKS2BKC9LR154183   GM           YUKON                FORT MYERS               FL
34316   1GKS2BKC9LR154202   GM           YUKON                PHOENIX                  AZ
34317   1GKS2BKC9LR154216   GM           YUKON                LOS ANGELES              CA
34318   1GKS2BKC9LR154667   GM           YUKON                BOSTON                   MA
34319   1GKS2BKC9LR154782   GM           YUKON                SOUTH SAN FRANC          CA
34320   1GKS2BKC9LR155172   GM           YUKON                MIAMI                    FL
34321   1GKS2BKC9LR155463   GM           YUKON                TAMPA                    FL
34322   1GKS2BKC9LR155673   GM           YUKON                TAMPA                    FL
34323   1GKS2BKC9LR155821   GM           YUKON                SARASOTA                 FL
34324   1GKS2BKC9LR155849   GM           YUKON                ORLANDO                  FL
34325   1GKS2BKC9LR155902   GM           YUKON                DFW AIRPORT              TX
34326   1GKS2BKC9LR155978   GM           YUKON                COLUMBUS                 OH
34327   1GKS2BKC9LR156029   GM           YUKON                PHOENIX                  AZ
34328   1GKS2BKC9LR156421   GM           YUKON                STERLING                 VA
34329   1GKS2BKC9LR156547   GM           YUKON                WEST PALM BEACH          FL
34330   1GKS2BKC9LR156676   GM           YUKON                PHOENIX                  AZ
34331   1GKS2BKC9LR156967   GM           YUKON                RALIEGH                  NC
34332   1GKS2BKC9LR156970   GM           YUKON                SANTA ANA                CA
34333   1GKS2BKC9LR156998   GM           YUKON                ORLANDO                  FL
34334   1GKS2BKC9LR157004   GM           YUKON                BOSTON                   MA
34335   1GKS2BKC9LR157097   GM           YUKON                SAVANNAH                 GA
34336   1GKS2BKC9LR157293   GM           YUKON                CHICAGO                  IL
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34337   1GKS2BKC9LR157861   GM           YUKON                PHOENIX                  AZ
34338   1GKS2BKC9LR159027   GM           YUKON                WEST PALM BEACH          FL
34339   1GKS2BKC9LR159030   GM           YUKON                FORT LAUDERDALE          FL
34340   1GKS2BKC9LR159285   GM           YUKON                KNOXVILLE                TN
34341   1GKS2BKC9LR160789   GM           YUKON                DENVER                   CO
34342   1GKS2BKC9LR161943   GM           YUKON                Atlanta                  GA
34343   1GKS2BKC9LR162770   GM           YUKON                WEST PALM BEACH          FL
34344   1GKS2BKC9LR163627   GM           YUKON                CLEVELAND                OH
34345   1GKS2BKC9LR164308   GM           YUKON                JACKSONVILLE             FL
34346   1GKS2BKC9LR164423   GM           YUKON                CHARLOTTE                NC
34347   1GKS2BKC9LR164888   GM           YUKON                CHICAGO                  IL
34348   1GKS2BKC9LR164907   GM           YUKON                WEST PALM BEACH          FL
34349   1GKS2BKC9LR165569   GM           YUKON                HOUSTON                  TX
34350   1GKS2BKC9LR170268   GM           YUKON                NEWPORT BEACH            CA
34351   1GKS2BKC9LR172280   GM           YUKON                SANTA ANA                CA
34352   1GKS2BKC9LR173171   GM           YUKON                EL PASO                  TX
34353   1GKS2BKC9LR173283   GM           YUKON                PALM S                   CA
34354   1GKS2BKC9LR174742   GM           YUKON                PHOENIX                  AZ
34355   1GKS2BKC9LR174952   GM           YUKON                FRESNO                   CA
34356   1GKS2BKC9LR175731   GM           YUKON                CHARLESTON               WV
34357   1GKS2BKC9LR176166   GM           YUKON                LOS ANGELES              CA
34358   1GKS2BKC9LR176930   GM           YUKON                SEATAC                   WA
34359   1GKS2BKC9LR177544   GM           YUKON                Lake Elsinore            CA
34360   1GKS2BKC9LR177561   GM           YUKON                ONTARIO                  CA
34361   1GKS2BKC9LR177740   GM           YUKON                DENVER                   CO
34362   1GKS2BKC9LR179309   GM           YUKON                NEWTOWN                  CT
34363   1GKS2BKC9LR179326   GM           YUKON                BOSTON                   MA
34364   1GKS2BKC9LR182162   GM           YUKON                ORANGE COUNTY            CA
34365   1GKS2BKC9LR182677   GM           YUKON                SAN FRANCISCO            CA
34366   1GKS2BKC9LR183229   GM           YUKON                DENVER                   CO
34367   1GKS2BKC9LR183425   GM           YUKON                LAS VEGAS                NV
34368   1GKS2BKC9LR184087   GM           YUKON                MIAMI                    FL
34369   1GKS2BKC9LR184140   GM           YUKON                WEST PALM BEACH          FL
34370   1GKS2BKC9LR184977   GM           YUKON                HOUSTON                  TX
34371   1GKS2BKC9LR184980   GM           YUKON                Des Moines               IA
34372   1GKS2BKC9LR185059   GM           YUKON                TAMPA                    US
34373   1GKS2BKC9LR185238   GM           YUKON                KEY WEST                 FL
34374   1GKS2BKC9LR187815   GM           YUKON                DENVER                   CO
34375   1GKS2BKC9LR189824   GM           YUKON                PITTSBURGH               PA
34376   1GKS2BKC9LR190293   GM           YUKON                WEST COLUMBIA            SC
34377   1GKS2BKC9LR190536   GM           YUKON                ROANOKE                  VA
34378   1GKS2BKC9LR190682   GM           YUKON                SACRAMENTO               CA
34379   1GKS2BKC9LR190939   GM           YUKON                SAN JOSE                 CA
34380   1GKS2BKC9LR191329   GM           YUKON                BURBANK                  CA
34381   1GKS2BKC9LR191606   GM           YUKON                KENNER                   LA
34382   1GKS2BKC9LR191671   GM           YUKON                DENVER                   CO
34383   1GKS2BKC9LR191802   GM           YUKON                DENVER                   CO
34384   1GKS2BKC9LR191816   GM           YUKON                WILMINGTON               NC
34385   1GKS2BKC9LR194084   GM           YUKON                SAN DIEGO                CA
34386   1GKS2BKC9LR195462   GM           YUKON                ORLANDO                  FL
34387   1GKS2BKC9LR195901   GM           YUKON                MIAMI                    FL
34388   1GKS2BKC9LR196109   GM           YUKON                ORLANDO                  FL
34389   1GKS2BKC9LR204208   GM           YUKON                Hebron                   KY
34390   1GKS2BKC9LR206251   GM           YUKON                FORT MYERS               FL
34391   1GKS2BKC9LR206766   GM           YUKON                MIAMI                    FL
34392   1GKS2BKC9LR207206   GM           YUKON                Atlanta                  GA
34393   1GKS2BKC9LR207383   GM           YUKON                ATLANTA                  GA
34394   1GKS2BKC9LR207464   GM           YUKON                RICHMOND                 VA
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34395   1GKS2BKC9LR207528   GM           YUKON                CLEVELAND                OH
34396   1GKS2BKC9LR207643   GM           YUKON                DETROIT                  MI
34397   1GKS2BKC9LR207769   GM           YUKON                HOUSTON                  TX
34398   1GKS2BKC9LR207772   GM           YUKON                KNOXVILLE                TN
34399   1GKS2BKC9LR207786   GM           YUKON                EL PASO                  TX
34400   1GKS2BKC9LR207805   GM           YUKON                HOUSTON                  TX
34401   1GKS2BKC9LR207819   GM           YUKON                Dallas                   TX
34402   1GKS2BKC9LR207822   GM           YUKON                PLATTSBURGH              NY
34403   1GKS2BKC9LR207867   GM           YUKON                PHOENIX                  AZ
34404   1GKS2BKC9LR207870   GM           YUKON                HOUSTON                  TX
34405   1GKS2BKC9LR207979   GM           YUKON                DETROIT                  MI
34406   1GKS2BKC9LR208078   GM           YUKON                BURBANK                  CA
34407   1GKS2BKC9LR208632   GM           YUKON                DALLAS                   TX
34408   1GKS2BKC9LR210896   GM           YUKON                SAN FRANCISCO            CA
34409   1GKS2BKC9LR213345   GM           YUKON                HOUSTON                  TX
34410   1GKS2BKC9LR213717   GM           YUKON                Atlanta                  GA
34411   1GKS2BKC9LR213846   GM           YUKON                LOS ANGELES              CA
34412   1GKS2BKC9LR214723   GM           YUKON                ORANGE COUNTY            CA
34413   1GKS2BKC9LR215208   GM           YUKON                SAN FRANCISCO            CA
34414   1GKS2BKC9LR215886   GM           YUKON                SACRAMENTO               CA
34415   1GKS2BKC9LR216648   GM           YUKON                MIAMI                    FL
34416   1GKS2BKC9LR216794   GM           YUKON                DETROIT                  MI
34417   1GKS2BKC9LR217329   GM           YUKON                WEST PALM BEACH          FL
34418   1GKS2BKC9LR236267   GM           YUKON                LAS VEGAS                NV
34419   1GKS2BKC9LR236365   GM           YUKON                ONTARIO                  CA
34420   1GKS2BKC9LR237984   GM           YUKON                SAN DIEGO                CA
34421   1GKS2BKC9LR239170   GM           YUKON                PHOENIX                  AZ
34422   1GKS2BKC9LR239752   GM           YUKON                BURBANK                  CA
34423   1GKS2BKC9LR239766   GM           YUKON                OAKLAND                  CA
34424   1GKS2BKC9LR240108   GM           YUKON                SEATAC                   WA
34425   1GKS2BKC9LR242134   GM           YUKON                MIAMI                    FL
34426   1GKS2BKC9LR242179   GM           YUKON                ORLANDO                  FL
34427   1GKS2BKC9LR242215   GM           YUKON                PALM SPRINGS             CA
34428   1GKS2BKC9LR242571   GM           YUKON                LOS ANGELES              CA
34429   1GKS2BKC9LR242585   GM           YUKON                WEST PALM BEACH          FL
34430   1GKS2BKC9LR242862   GM           YUKON                GREENVILLE               NC
34431   1GKS2BKC9LR243140   GM           YUKON                Tampa                    FL
34432   1GKS2BKC9LR243266   GM           YUKON                MIAMI                    FL
34433   1GKS2BKC9LR244174   GM           YUKON                NEW BERN                 NC
34434   1GKS2BKC9LR244210   GM           YUKON                COLUMBUS                 OH
34435   1GKS2BKC9LR244580   GM           YUKON                BIRMINGHAM               AL
34436   1GKS2BKC9LR244773   GM           YUKON                STERLING                 VA
34437   1GKS2BKC9LR244787   GM           YUKON                Miami                    FL
34438   1GKS2BKC9LR245258   GM           YUKON                TAMPA                    FL
34439   1GKS2BKC9LR248659   GM           YUKON                LOUISVILLE               KY
34440   1GKS2BKC9LR248712   GM           YUKON                MEMPHIS                  TN
34441   1GKS2BKC9LR248855   GM           YUKON                EL PASO                  TX
34442   1GKS2BKC9LR248872   GM           YUKON                CHARLESTON               WV
34443   1GKS2BKC9LR249293   GM           YUKON                SAINT LOUIS              MO
34444   1GKS2BKC9LR249942   GM           YUKON                SAN FRANCISCO            CA
34445   1GKS2BKC9LR250377   GM           YUKON                FAYETTEVILLE             GA
34446   1GKS2BKC9LR250489   GM           YUKON                NEW ORLEANS              LA
34447   1GKS2BKC9LR250508   GM           YUKON                MEMPHIS                  TN
34448   1GKS2BKC9LR250637   GM           YUKON                MEMPHIS                  TN
34449   1GKS2BKC9LR250699   GM           YUKON                DETROIT                  MI
34450   1GKS2BKC9LR250783   GM           YUKON                MEMPHIS                  TN
34451   1GKS2BKC9LR250900   GM           YUKON                DETROIT                  MI
34452   1GKS2BKC9LR251013   GM           YUKON                DETROIT                  MI
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34453   1GKS2BKC9LR251156   GM          YUKON                MEMPHIS                  TN
34454   1GKS2BKC9LR251321   GM          YUKON                NEW BERN                 NC
34455   1GKS2BKC9LR251562   GM          YUKON                CLEVELAND                OH
34456   1GKS2BKC9LR251657   GM          YUKON                DETROIT                  MI
34457   1GKS2BKC9LR252100   GM          YUKON                NEWARK                   NJ
34458   1GKS2BKC9LR252310   GM          YUKON                KNOXVILLE                TN
34459   1GKS2BKC9LR252422   GM          YUKON                CHICAGO                  IL
34460   1GKS2BKC9LR254669   GM          YUKON                KENNER                   LA
34461   1GKS2BKC9LR255238   GM          YUKON                STERLING                 VA
34462   1GKS2BKC9LR257183   GM          YUKON                Dallas                   TX
34463   1GKS2BKC9LR257815   GM          YUKON                DALLAS                   TX
34464   1GKS2BKC9LR262819   GM          YUKON                Portland                 ME
34465   1GKS2BKC9LR264666   GM          YUKON                BOSTON                   MA
34466   1GKS2BKC9LR265235   GM          YUKON                BUFFALO                  NY
34467   1GKS2BKC9LR266126   GM          YUKON                PHILADELPHIA             PA
34468   1GKS2BKC9LR266904   GM          YUKON                KANSAS CITY              MO
34469   1GKS2BKC9LR267003   GM          YUKON                JACKSON                  MS
34470   1GKS2BKC9LR268975   GM          YUKON                BURLINGAME               CA
34471   1GKS2BKC9LR269124   GM          YUKON                SYRACUSE                 NY
34472   1GKS2BKC9LR269513   GM          YUKON                MIAMI                    FL
34473   1GKS2BKC9LR270810   GM          YUKON                INDIANAPOLIS             IN
34474   1GKS2BKC9LR271164   GM          YUKON                SAN DIEGO                CA
34475   1GKS2BKC9LR271228   GM          YUKON                KENNER                   LA
34476   1GKS2BKC9LR271665   GM          YUKON                SHREVEPORT               LA
34477   1GKS2BKC9LR271746   GM          YUKON                KENNER                   LA
34478   1GKS2BKC9LR271780   GM          YUKON                KNOXVILLE                TN
34479   1GKS2BKC9LR272394   GM          YUKON                STERLING                 VA
34480   1GKS2BKC9LR273240   GM          YUKON                ATLANTA                  GA
34481   1GKS2BKC9LR273254   GM          YUKON                ORLANDO                  FL
34482   1GKS2BKC9LR273402   GM          YUKON                PHILADELPHIA             PA
34483   1GKS2BKC9LR273867   GM          YUKON                DETROIT                  MI
34484   1GKS2BKC9LR274033   GM          YUKON                NEWARK                   NJ
34485   1GKS2BKC9LR274520   GM          YUKON                LOS ANGELES              CA
34486   1GKS2BKC9LR274663   GM          YUKON                CHICAGO                  IL
34487   1GKS2BKC9LR276073   GM          YUKON                DETROIT                  MI
34488   1GKS2BKC9LR276400   GM          YUKON                DETROIT                  MI
34489   1GKS2BKC9LR276512   GM          YUKON                GRAND RAPIDS             MI
34490   1GKS2BKC9LR276722   GM          YUKON                GRAND RAPIDS             MI
34491   1GKS2BKC9LR277529   GM          YUKON                KANSAS CITY              MO
34492   1GKS2BKC9LR278079   GM          YUKON                KANSAS CITY              MO
34493   1GKS2BKC9LR278115   GM          YUKON                KANSAS CITY              MO
34494   1GKS2BKC9LR281709   GM          YUKON                ATLANTA                  GA
34495   1GKS2BKC9LR281872   GM          YUKON                SALT LAKE CITY           US
34496   1GKS2BKC9LR284710   GM          YUKON                Saint Paul               MN
34497   1GKS2BKC9LR285226   GM          YUKON                FORT MYERS               FL
34498   1GKS2BKC9LR285422   GM          YUKON                FORT MYERS               FL
34499   1GKS2BKCXHR131910   GM          YUKON                Hayward                  CA
34500   1GKS2BKCXHR132586   GM          YUKON                TRACY                    CA
34501   1GKS2BKCXJR201959   GM          YUKON                Tolleson                 AZ
34502   1GKS2BKCXJR240843   GM          YUKON                Oceanside                CA
34503   1GKS2BKCXJR355765   GM          YUKON                Aurora                   CO
34504   1GKS2BKCXJR375613   GM          YUKON                Norwalk                  CA
34505   1GKS2BKCXJR389690   GM          YUKON                WHITE PLAINS             NY
34506   1GKS2BKCXJR403376   GM          YUKON                North Dighton            MA
34507   1GKS2BKCXJR404155   GM          YUKON                Fairburn                 GA
34508   1GKS2BKCXKR158659   GM          YUKON                Oklahoma City            OK
34509   1GKS2BKCXKR158709   GM          YUKON                Newark                   NJ
34510   1GKS2BKCXKR159374   GM          YUKON                EAST BOSTON              MA
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34511   1GKS2BKCXKR159617   GM          YUKON                LOS ANGELES              CA
34512   1GKS2BKCXKR160847   GM          YUKON                Plainfield               IN
34513   1GKS2BKCXKR161271   GM          YUKON                Fontana                  CA
34514   1GKS2BKCXKR161738   GM          YUKON                Greensboro               NC
34515   1GKS2BKCXKR161822   GM          YUKON                BOSTON                   MA
34516   1GKS2BKCXKR161979   GM          YUKON                North Dighton            MA
34517   1GKS2BKCXKR162145   GM          YUKON                Albuquerque              NM
34518   1GKS2BKCXKR162257   GM          YUKON                Houston                  TX
34519   1GKS2BKCXKR162274   GM          YUKON                Salt Lake City           UT
34520   1GKS2BKCXKR162369   GM          YUKON                WARWICK                  RI
34521   1GKS2BKCXKR163053   GM          YUKON                North Dighton            MA
34522   1GKS2BKCXKR163196   GM          YUKON                Riverside                CA
34523   1GKS2BKCXKR163232   GM          YUKON                CASTLE ROCK              CO
34524   1GKS2BKCXKR163408   GM          YUKON                Hanover                  MD
34525   1GKS2BKCXKR163697   GM          YUKON                SALT LAKE CITY           US
34526   1GKS2BKCXKR164199   GM          YUKON                DENVER                   CO
34527   1GKS2BKCXKR164252   GM          YUKON                Caledonia                WI
34528   1GKS2BKCXKR164431   GM          YUKON                Pittsburgh               PA
34529   1GKS2BKCXKR164624   GM          YUKON                Portland                 OR
34530   1GKS2BKCXKR164977   GM          YUKON                Estero                   FL
34531   1GKS2BKCXKR165238   GM          YUKON                North Las Vegas          NV
34532   1GKS2BKCXKR165935   GM          YUKON                GRAND RAPIDS             MI
34533   1GKS2BKCXKR166003   GM          YUKON                PHILADELPHIA             PA
34534   1GKS2BKCXKR166423   GM          YUKON                SALT LAKE CITY           US
34535   1GKS2BKCXKR166504   GM          YUKON                MEDINA                   OH
34536   1GKS2BKCXKR166857   GM          YUKON                Roseville                CA
34537   1GKS2BKCXKR167054   GM          YUKON                SAINT PAUL               MN
34538   1GKS2BKCXKR167331   GM          YUKON                SAN FRANCISCO            CA
34539   1GKS2BKCXKR167409   GM          YUKON                Salt Lake City           UT
34540   1GKS2BKCXKR167751   GM          YUKON                North Dighton            MA
34541   1GKS2BKCXKR167765   GM          YUKON                Hamilton                 OH
34542   1GKS2BKCXKR168026   GM          YUKON                Cranberry Towns          PA
34543   1GKS2BKCXKR168253   GM          YUKON                Fontana                  CA
34544   1GKS2BKCXKR168978   GM          YUKON                Grove City               OH
34545   1GKS2BKCXKR169323   GM          YUKON                Sacramento               CA
34546   1GKS2BKCXKR170875   GM          YUKON                Maple Grove              MN
34547   1GKS2BKCXKR172223   GM          YUKON                Statesville              NC
34548   1GKS2BKCXKR173484   GM          YUKON                North Dighton            MA
34549   1GKS2BKCXKR174151   GM          YUKON                MILWAUKEE                WI
34550   1GKS2BKCXKR174568   GM          YUKON                Davie                    FL
34551   1GKS2BKCXKR175929   GM          YUKON                Tampa                    FL
34552   1GKS2BKCXKR176093   GM          YUKON                Davie                    FL
34553   1GKS2BKCXKR176255   GM          YUKON                WEST COLUMBIA            SC
34554   1GKS2BKCXKR176840   GM          YUKON                NEW YORK CITY            NY
34555   1GKS2BKCXKR176904   GM          YUKON                KENNER                   LA
34556   1GKS2BKCXKR177180   GM          YUKON                Philadelphia             PA
34557   1GKS2BKCXKR183240   GM          YUKON                Manheim                  PA
34558   1GKS2BKCXKR183920   GM          YUKON                San Antonio              TX
34559   1GKS2BKCXLR147243   GM          YUKON                FORT MYERS               FL
34560   1GKS2BKCXLR152166   GM          YUKON                FORT MYERS               FL
34561   1GKS2BKCXLR152233   GM          YUKON                INDIANAPOLIS             IN
34562   1GKS2BKCXLR152541   GM          YUKON                MEMPHIS                  TN
34563   1GKS2BKCXLR152622   GM          YUKON                TAMPA                    FL
34564   1GKS2BKCXLR152765   GM          YUKON                WARWICK                  RI
34565   1GKS2BKCXLR152961   GM          YUKON                FORT MYERS               FL
34566   1GKS2BKCXLR153351   GM          YUKON                MIAMI                    FL
34567   1GKS2BKCXLR153575   GM          YUKON                TALLAHASSEE              FL
34568   1GKS2BKCXLR153737   GM          YUKON                FORT LAUDERDALE          FL
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34569   1GKS2BKCXLR153866   GM           YUKON                Miami                    FL
34570   1GKS2BKCXLR153981   GM           YUKON                ONTARIO                  CA
34571   1GKS2BKCXLR153995   GM           YUKON                Atlanta                  GA
34572   1GKS2BKCXLR154001   GM           YUKON                MIAMI                    FL
34573   1GKS2BKCXLR154032   GM           YUKON                BALTIMORE                MD
34574   1GKS2BKCXLR154046   GM           YUKON                FORT MYERS               FL
34575   1GKS2BKCXLR154158   GM           YUKON                MIAMI                    FL
34576   1GKS2BKCXLR154757   GM           YUKON                Atlanta                  GA
34577   1GKS2BKCXLR154967   GM           YUKON                ATLANTA                  GA
34578   1GKS2BKCXLR155116   GM           YUKON                SAN JOSE                 CA
34579   1GKS2BKCXLR155441   GM           YUKON                Atlanta                  GA
34580   1GKS2BKCXLR155682   GM           YUKON                TUCSON                   AZ
34581   1GKS2BKCXLR156153   GM           YUKON                PHOENIX                  AZ
34582   1GKS2BKCXLR156217   GM           YUKON                FORT LAUDERDALE          FL
34583   1GKS2BKCXLR156251   GM           YUKON                CHARLESTON               WV
34584   1GKS2BKCXLR156542   GM           YUKON                FORT MYERS               FL
34585   1GKS2BKCXLR156640   GM           YUKON                Atlanta                  GA
34586   1GKS2BKCXLR156959   GM           YUKON                NEW BERN                 NC
34587   1GKS2BKCXLR157092   GM           YUKON                SALT LAKE CITY           UT
34588   1GKS2BKCXLR157173   GM           YUKON                EGG HARBOR TOWN          NJ
34589   1GKS2BKCXLR157190   GM           YUKON                NEW BERN                 NC
34590   1GKS2BKCXLR157514   GM           YUKON                Marietta                 GA
34591   1GKS2BKCXLR158520   GM           YUKON                WEST PALM BEACH          FL
34592   1GKS2BKCXLR159196   GM           YUKON                FORT MYERS               FL
34593   1GKS2BKCXLR159232   GM           YUKON                PHOENIX                  AZ
34594   1GKS2BKCXLR159621   GM           YUKON                KNOXVILLE                TN
34595   1GKS2BKCXLR160025   GM           YUKON                DALLAS                   TX
34596   1GKS2BKCXLR161711   GM           YUKON                MEMPHIS                  TN
34597   1GKS2BKCXLR161952   GM           YUKON                HANOVER                  MD
34598   1GKS2BKCXLR162776   GM           YUKON                DFW AIRPORT              TX
34599   1GKS2BKCXLR163250   GM           YUKON                HOUSTON                  TX
34600   1GKS2BKCXLR164690   GM           YUKON                NORFOLK                  VA
34601   1GKS2BKCXLR165127   GM           YUKON                COLUMBUS                 OH
34602   1GKS2BKCXLR165600   GM           YUKON                DFW AIRPORT              TX
34603   1GKS2BKCXLR166777   GM           YUKON                DALLAS                   TX
34604   1GKS2BKCXLR168934   GM           YUKON                Tulsa                    OK
34605   1GKS2BKCXLR168951   GM           YUKON                DALLAS                   TX
34606   1GKS2BKCXLR172076   GM           YUKON                ONTARIO                  CA
34607   1GKS2BKCXLR172109   GM           YUKON                SAN DIEGO                CA
34608   1GKS2BKCXLR173311   GM           YUKON                SAN FRANCISCO            CA
34609   1GKS2BKCXLR173793   GM           YUKON                LAS VEGAS                NV
34610   1GKS2BKCXLR176225   GM           YUKON                SANTA ANA                CA
34611   1GKS2BKCXLR176967   GM           YUKON                OKLAHOMA CITY            OK
34612   1GKS2BKCXLR177861   GM           YUKON                MIAMI                    FL
34613   1GKS2BKCXLR179643   GM           YUKON                WARWICK                  RI
34614   1GKS2BKCXLR179786   GM           YUKON                EGG HARBOR TOWN          NJ
34615   1GKS2BKCXLR179903   GM           YUKON                INDIANAPOLIS             IN
34616   1GKS2BKCXLR180078   GM           YUKON                ORLANDO                  FL
34617   1GKS2BKCXLR181666   GM           YUKON                OAKLAND                  CA
34618   1GKS2BKCXLR182610   GM           YUKON                LOS ANGELES              CA
34619   1GKS2BKCXLR183496   GM           YUKON                COLUMBIA                 SC
34620   1GKS2BKCXLR184101   GM           YUKON                TAMPA                    FL
34621   1GKS2BKCXLR184146   GM           YUKON                SACRAMENTO               CA
34622   1GKS2BKCXLR184230   GM           YUKON                DAYTONA BEACH            FL
34623   1GKS2BKCXLR184244   GM           YUKON                MIAMI                    FL
34624   1GKS2BKCXLR184258   GM           YUKON                TAMPA                    FL
34625   1GKS2BKCXLR184955   GM           YUKON                Atlanta                  GA
34626   1GKS2BKCXLR185393   GM           YUKON                MIAMI INT'L AP           FL
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34627   1GKS2BKCXLR185538   GM           YUKON                FORT MYERS               FL
34628   1GKS2BKCXLR185555   GM           YUKON                ORLANDO                  FL
34629   1GKS2BKCXLR185569   GM           YUKON                DETROIT                  MI
34630   1GKS2BKCXLR188486   GM           YUKON                KNOXVILLE                TN
34631   1GKS2BKCXLR188701   GM           YUKON                RICHMOND                 VA
34632   1GKS2BKCXLR188729   GM           YUKON                SAN FRANCISCO            CA
34633   1GKS2BKCXLR188763   GM           YUKON                JACKSONVILLE             FL
34634   1GKS2BKCXLR188858   GM           YUKON                WEST COLUMBIA            SC
34635   1GKS2BKCXLR189220   GM           YUKON                ONTARIO                  CA
34636   1GKS2BKCXLR190853   GM           YUKON                BUFFALO                  NY
34637   1GKS2BKCXLR191193   GM           YUKON                LOS ANGELES AP           CA
34638   1GKS2BKCXLR191467   GM           YUKON                NEWARK                   NJ
34639   1GKS2BKCXLR191792   GM           YUKON                DENVER                   CO
34640   1GKS2BKCXLR194272   GM           YUKON                LOS ANGELES              CA
34641   1GKS2BKCXLR194658   GM           YUKON                FORT MYERS               FL
34642   1GKS2BKCXLR194661   GM           YUKON                El Segundo               CA
34643   1GKS2BKCXLR195664   GM           YUKON                MIAMI                    FL
34644   1GKS2BKCXLR203651   GM           YUKON                Teterboro                NJ
34645   1GKS2BKCXLR205884   GM           YUKON                KNOXVILLE                TN
34646   1GKS2BKCXLR206193   GM           YUKON                ORLANDO                  FL
34647   1GKS2BKCXLR206453   GM           YUKON                Teterboro                NJ
34648   1GKS2BKCXLR206842   GM           YUKON                Atlanta                  GA
34649   1GKS2BKCXLR207392   GM           YUKON                KNOXVILLE                TN
34650   1GKS2BKCXLR207411   GM           YUKON                Atlanta                  GA
34651   1GKS2BKCXLR207750   GM           YUKON                KENNER                   LA
34652   1GKS2BKCXLR207778   GM           YUKON                MEMPHIS                  TN
34653   1GKS2BKCXLR207781   GM           YUKON                GRAND RAPIDS             MI
34654   1GKS2BKCXLR207814   GM           YUKON                HOUSTON                  TX
34655   1GKS2BKCXLR207831   GM           YUKON                DANIA BEACH              FL
34656   1GKS2BKCXLR207909   GM           YUKON                AUSTIN                   TX
34657   1GKS2BKCXLR208896   GM           YUKON                TAMPA                    FL
34658   1GKS2BKCXLR211104   GM           YUKON                OAKLAND                  CA
34659   1GKS2BKCXLR212561   GM           YUKON                ORLANDO                  FL
34660   1GKS2BKCXLR213712   GM           YUKON                LAS VEGAS                NV
34661   1GKS2BKCXLR214388   GM           YUKON                SAN FRANCISCO            CA
34662   1GKS2BKCXLR214424   GM           YUKON                JACKSON                  MS
34663   1GKS2BKCXLR214679   GM           YUKON                ORLANDO                  FL
34664   1GKS2BKCXLR214746   GM           YUKON                PHOENIX                  AZ
34665   1GKS2BKCXLR214763   GM           YUKON                BURBANK                  CA
34666   1GKS2BKCXLR215198   GM           YUKON                BURBANK                  CA
34667   1GKS2BKCXLR215461   GM           YUKON                LOS ANGELES              CA
34668   1GKS2BKCXLR215475   GM           YUKON                CLEVELAND                OH
34669   1GKS2BKCXLR215847   GM           YUKON                SAN DIEGO                CA
34670   1GKS2BKCXLR215850   GM           YUKON                LOS ANGELES              CA
34671   1GKS2BKCXLR216688   GM           YUKON                ORLANDO                  FL
34672   1GKS2BKCXLR216707   GM           YUKON                TAMPA                    FL
34673   1GKS2BKCXLR216772   GM           YUKON                TAMPA                    FL
34674   1GKS2BKCXLR216786   GM           YUKON                CHARLESTON               WV
34675   1GKS2BKCXLR216819   GM           YUKON                SAN DIEGO                CA
34676   1GKS2BKCXLR216917   GM           YUKON                SYRACUSE                 NY
34677   1GKS2BKCXLR217145   GM           YUKON                TAMPA                    FL
34678   1GKS2BKCXLR217162   GM           YUKON                ORLANDO                  FL
34679   1GKS2BKCXLR217176   GM           YUKON                FORT MYERS               FL
34680   1GKS2BKCXLR234611   GM           YUKON                Atlanta                  GA
34681   1GKS2BKCXLR235886   GM           YUKON                DENVER                   CO
34682   1GKS2BKCXLR236309   GM           YUKON                SAN JOSE                 CA
34683   1GKS2BKCXLR236312   GM           YUKON                BURBANK                  CA
34684   1GKS2BKCXLR236438   GM           YUKON                MANCHESTER               US
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34685   1GKS2BKCXLR236715   GM           YUKON                SANTA ANA                CA
34686   1GKS2BKCXLR236729   GM           YUKON                LOS ANGELES              CA
34687   1GKS2BKCXLR236780   GM           YUKON                PHOENIX                  AZ
34688   1GKS2BKCXLR236925   GM           YUKON                BURBANK                  CA
34689   1GKS2BKCXLR238514   GM           YUKON                LOS ANGELES              CA
34690   1GKS2BKCXLR238805   GM           YUKON                BIRMINGHAM               AL
34691   1GKS2BKCXLR239193   GM           YUKON                LOS ANGELES              CA
34692   1GKS2BKCXLR239209   GM           YUKON                PHOENIX                  AZ
34693   1GKS2BKCXLR240828   GM           YUKON                NEWARK                   NJ
34694   1GKS2BKCXLR241140   GM           YUKON                TAMPA                    FL
34695   1GKS2BKCXLR241154   GM           YUKON                FORT LAUDERDALE          FL
34696   1GKS2BKCXLR242899   GM           YUKON                LAS VEGAS                NV
34697   1GKS2BKCXLR243082   GM           YUKON                ATLANTA                  GA
34698   1GKS2BKCXLR244412   GM           YUKON                Atlanta                  GA
34699   1GKS2BKCXLR246838   GM           YUKON                LAS VEGAS                NV
34700   1GKS2BKCXLR246841   GM           YUKON                SEATAC                   WA
34701   1GKS2BKCXLR248945   GM           YUKON                CHICAGO                  IL
34702   1GKS2BKCXLR249318   GM           YUKON                INDIANAPOLIS             IN
34703   1GKS2BKCXLR249366   GM           YUKON                BLOOMINGTON              IL
34704   1GKS2BKCXLR250226   GM           YUKON                JACKSON                  MS
34705   1GKS2BKCXLR250355   GM           YUKON                NASHVILLE                TN
34706   1GKS2BKCXLR250386   GM           YUKON                KNOXVILLE                TN
34707   1GKS2BKCXLR250453   GM           YUKON                SAN FRANCISCO            CA
34708   1GKS2BKCXLR250520   GM           YUKON                KNOXVILLE                TN
34709   1GKS2BKCXLR250632   GM           YUKON                KNOXVILLE                TN
34710   1GKS2BKCXLR250646   GM           YUKON                PENSACOLA                FL
34711   1GKS2BKCXLR250680   GM           YUKON                NASHVILLE                TN
34712   1GKS2BKCXLR250825   GM           YUKON                SYRACUSE                 NY
34713   1GKS2BKCXLR251103   GM           YUKON                NEWARK                   NJ
34714   1GKS2BKCXLR251344   GM           YUKON                DETROIT                  MI
34715   1GKS2BKCXLR252106   GM           YUKON                DETROIT                  MI
34716   1GKS2BKCXLR252364   GM           YUKON                DES MOINES               IA
34717   1GKS2BKCXLR253952   GM           YUKON                Atlanta                  GA
34718   1GKS2BKCXLR254504   GM           YUKON                KENNER                   LA
34719   1GKS2BKCXLR254647   GM           YUKON                ATLANTA                  GA
34720   1GKS2BKCXLR254759   GM           YUKON                Atlanta                  GA
34721   1GKS2BKCXLR254910   GM           YUKON                SAN ANTONIO              TX
34722   1GKS2BKCXLR257676   GM           YUKON                DALLAS                   TX
34723   1GKS2BKCXLR258603   GM           YUKON                BIRMINGHAM               AL
34724   1GKS2BKCXLR260528   GM           YUKON                SAN ANTONIO              TX
34725   1GKS2BKCXLR261663   GM           YUKON                LAS VEGAS                NV
34726   1GKS2BKCXLR262716   GM           YUKON                RONKONKOMA               NY
34727   1GKS2BKCXLR264031   GM           YUKON                NEW YORK CITY            NY
34728   1GKS2BKCXLR265213   GM           YUKON                NEW BERN                 NC
34729   1GKS2BKCXLR268449   GM           YUKON                SEATAC                   WA
34730   1GKS2BKCXLR268516   GM           YUKON                ROCHESTER                NY
34731   1GKS2BKCXLR268550   GM           YUKON                SACRAMENTO               CA
34732   1GKS2BKCXLR268581   GM           YUKON                SAN FRANCISCO            CA
34733   1GKS2BKCXLR268595   GM           YUKON                SEA TAC                  WA
34734   1GKS2BKCXLR268984   GM           YUKON                HARTFORD                 CT
34735   1GKS2BKCXLR269049   GM           YUKON                ATLANTA                  GA
34736   1GKS2BKCXLR271206   GM           YUKON                PENSACOLA                FL
34737   1GKS2BKCXLR271478   GM           YUKON                SHREVEPORT               LA
34738   1GKS2BKCXLR271710   GM           YUKON                STERLING                 VA
34739   1GKS2BKCXLR271724   GM           YUKON                SUMMERVILLE              SC
34740   1GKS2BKCXLR271755   GM           YUKON                KNOXVILLE                TN
34741   1GKS2BKCXLR271870   GM           YUKON                STERLING                 VA
34742   1GKS2BKCXLR271884   GM           YUKON                RALIEGH                  NC
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34743   1GKS2BKCXLR271903   GM          YUKON                KNOXVILLE                TN
34744   1GKS2BKCXLR271920   GM          YUKON                MILWAUKEE                WI
34745   1GKS2BKCXLR271948   GM          YUKON                STERLING                 VA
34746   1GKS2BKCXLR272100   GM          YUKON                CHICAGO                  IL
34747   1GKS2BKCXLR272615   GM          YUKON                SARASOTA                 FL
34748   1GKS2BKCXLR272663   GM          YUKON                HARRISBURG               PA
34749   1GKS2BKCXLR273277   GM          YUKON                ORLANDO                  FL
34750   1GKS2BKCXLR273361   GM          YUKON                NEW BERN                 NC
34751   1GKS2BKCXLR274042   GM          YUKON                NEWARK                   NJ
34752   1GKS2BKCXLR274204   GM          YUKON                WARWICK                  RI
34753   1GKS2BKCXLR274378   GM          YUKON                BALTIMORE                MD
34754   1GKS2BKCXLR274641   GM          YUKON                DETROIT                  MI
34755   1GKS2BKCXLR274736   GM          YUKON                DETROIT                  MI
34756   1GKS2BKCXLR274770   GM          YUKON                FORT LAUDERDALE          FL
34757   1GKS2BKCXLR275028   GM          YUKON                DETROIT                  MI
34758   1GKS2BKCXLR275532   GM          YUKON                DETROIT                  MI
34759   1GKS2BKCXLR277362   GM          YUKON                ROCHESTER                NY
34760   1GKS2BKCXLR279077   GM          YUKON                TAMPA                    FL
34761   1GKS2BKCXLR279208   GM          YUKON                KANSAS CITY              MO
34762   1GKS2BKCXLR280441   GM          YUKON                TAMPA                    FL
34763   1GKS2BKCXLR283582   GM          YUKON                STERLING                 VA
34764   1GKS2BKCXLR284330   GM          YUKON                CHICAGO                  IL
34765   1GKS2BKCXLR284733   GM          YUKON                SAVANNAH                 GA
34766   1GKS2GKC0HR130701   GM          YUKON                Riverside                CA
34767   1GKS2GKC0HR130942   GM          YUKON                TRACY                    CA
34768   1GKS2GKC0HR132237   GM          YUKON                Hayward                  CA
34769   1GKS2GKC0HR132478   GM          YUKON                Fontana                  CA
34770   1GKS2GKC0HR132819   GM          YUKON                PLEASANTON               CA
34771   1GKS2GKC0HR134442   GM          YUKON                Fontana                  CA
34772   1GKS2GKC0HR135199   GM          YUKON                TRACY                    CA
34773   1GKS2GKC0HR136692   GM          YUKON                Hayward                  CA
34774   1GKS2GKC0HR319476   GM          YUKON                Hayward                  CA
34775   1GKS2GKC0HR322264   GM          YUKON                Fontana                  CA
34776   1GKS2GKC0HR322507   GM          YUKON                TRACY                    CA
34777   1GKS2GKC0HR322541   GM          YUKON                TRACY                    CA
34778   1GKS2GKC0HR323057   GM          YUKON                Riverside                CA
34779   1GKS2GKC0HR323625   GM          YUKON                Hayward                  CA
34780   1GKS2GKC0HR324435   GM          YUKON                Riverside                CA
34781   1GKS2GKC0HR327772   GM          YUKON                Hayward                  CA
34782   1GKS2GKC0HR327920   GM          YUKON                TRACY                    CA
34783   1GKS2GKC0HR329165   GM          YUKON                Fontana                  CA
34784   1GKS2GKC0KR158165   GM          YUKON                Salt Lake City           UT
34785   1GKS2GKC0KR158456   GM          YUKON                DAYTONA BEACH            FL
34786   1GKS2GKC0KR158909   GM          YUKON                Ontario                  CA
34787   1GKS2GKC0KR159297   GM          YUKON                NEWARK                   NJ
34788   1GKS2GKC0KR159770   GM          YUKON                Davie                    FL
34789   1GKS2GKC0KR160109   GM          YUKON                SAN DIEGO                CA
34790   1GKS2GKC0KR160241   GM          YUKON                Miami                    FL
34791   1GKS2GKC0KR161342   GM          YUKON                Mira Loma                CA
34792   1GKS2GKC0KR161910   GM          YUKON                FORT LAUDERDALE          FL
34793   1GKS2GKC0KR162295   GM          YUKON                SALT LAKE CITY           UT
34794   1GKS2GKC0KR163169   GM          YUKON                ORLANDO                  FL
34795   1GKS2GKC0KR163253   GM          YUKON                OKLAHOMA CITY            OK
34796   1GKS2GKC0KR163575   GM          YUKON                Davie                    FL
34797   1GKS2GKC0KR163754   GM          YUKON                Nashville                TN
34798   1GKS2GKC0KR164340   GM          YUKON                Norwalk                  CA
34799   1GKS2GKC0KR164435   GM          YUKON                SEATAC                   WA
34800   1GKS2GKC0KR164922   GM          YUKON                ATLANTA                  GA
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34801   1GKS2GKC0KR167223   GM          YUKON                SOUTHEAST DST OFFC       OK
34802   1GKS2GKC0KR167318   GM          YUKON                Fresno                   CA
34803   1GKS2GKC0KR167965   GM          YUKON                MIAMI                    FL
34804   1GKS2GKC0KR168002   GM          YUKON                Miami                    FL
34805   1GKS2GKC0KR168985   GM          YUKON                N. Palm Beach            FL
34806   1GKS2GKC0KR169862   GM          YUKON                TRACY                    CA
34807   1GKS2GKC0KR170431   GM          YUKON                Estero                   FL
34808   1GKS2GKC0KR170493   GM          YUKON                Stockton                 CA
34809   1GKS2GKC0KR170994   GM          YUKON                FORT LAUDERDALE          FL
34810   1GKS2GKC0KR171093   GM          YUKON                Fontana                  CA
34811   1GKS2GKC0KR171112   GM          YUKON                DAYTONA BEACH            FL
34812   1GKS2GKC0KR171403   GM          YUKON                PHOENIX                  AZ
34813   1GKS2GKC0KR173930   GM          YUKON                HILO                     HI
34814   1GKS2GKC0KR177668   GM          YUKON                Costa Mesa               CA
34815   1GKS2GKC0KR178075   GM          YUKON                HOUSTON                  TX
34816   1GKS2GKC0KR179436   GM          YUKON                Fontana                  CA
34817   1GKS2GKC0KR180070   GM          YUKON                Tampa                    FL
34818   1GKS2GKC0KR181395   GM          YUKON                DENVER                   CO
34819   1GKS2GKC0KR182031   GM          YUKON                NORTH HILLS              CA
34820   1GKS2GKC0KR182272   GM          YUKON                Atlanta                  GA
34821   1GKS2GKC0KR182661   GM          YUKON                Torrance                 CA
34822   1GKS2GKC0KR182742   GM          YUKON                FORT MYERS               FL
34823   1GKS2GKC0KR183468   GM          YUKON                Denver                   CO
34824   1GKS2GKC0KR183518   GM          YUKON                Ocoee                    FL
34825   1GKS2GKC0KR185429   GM          YUKON                Hayward                  CA
34826   1GKS2GKC0KR185477   GM          YUKON                Ft. Myers                FL
34827   1GKS2GKC0KR185494   GM          YUKON                Roseville                CA
34828   1GKS2GKC0KR185530   GM          YUKON                Aurora                   CO
34829   1GKS2GKC0KR185785   GM          YUKON                LOS ANGELES              CA
34830   1GKS2GKC0KR185981   GM          YUKON                Kent                     WA
34831   1GKS2GKC0KR196267   GM          YUKON                NEW YORK CITY            NY
34832   1GKS2GKC0KR205064   GM          YUKON                SAINT PAUL               MN
34833   1GKS2GKC0KR234113   GM          YUKON                DENVER                   CO
34834   1GKS2GKC0KR247038   GM          YUKON                Atlanta                  GA
34835   1GKS2GKC0KR382438   GM          YUKON                NEWARK                   NJ
34836   1GKS2GKC0LR152626   GM          YUKON                FORT LAUDERDALE          FL
34837   1GKS2GKC0LR152979   GM          YUKON                ORLANDO                  FL
34838   1GKS2GKC0LR153162   GM          YUKON                PHOENIX                  AZ
34839   1GKS2GKC0LR153212   GM          YUKON                SANTA ANA                CA
34840   1GKS2GKC0LR153291   GM          YUKON                PHOENIX                  AZ
34841   1GKS2GKC0LR153517   GM          YUKON                TAMPA                    FL
34842   1GKS2GKC0LR153565   GM          YUKON                PHOENIX                  AZ
34843   1GKS2GKC0LR153999   GM          YUKON                PHILADELPHIA             PA
34844   1GKS2GKC0LR156028   GM          YUKON                HOUSTON                  TX
34845   1GKS2GKC0LR156160   GM          YUKON                WEST PALM BEACH          FL
34846   1GKS2GKC0LR156269   GM          YUKON                PALM SPRINGS             CA
34847   1GKS2GKC0LR156689   GM          YUKON                CHARLESTON               SC
34848   1GKS2GKC0LR156966   GM          YUKON                TAMPA                    FL
34849   1GKS2GKC0LR157213   GM          YUKON                PHOENIX                  AZ
34850   1GKS2GKC0LR157275   GM          YUKON                PORTLAND                 ME
34851   1GKS2GKC0LR157549   GM          YUKON                WARWICK                  RI
34852   1GKS2GKC0LR157762   GM          YUKON                NEW BERN                 NC
34853   1GKS2GKC0LR157888   GM          YUKON                LOS ANGELES              CA
34854   1GKS2GKC0LR158751   GM          YUKON                JACKSONVILLE             FL
34855   1GKS2GKC0LR158927   GM          YUKON                PHILADELPHIA             PA
34856   1GKS2GKC0LR158989   GM          YUKON                ATLANTA                  GA
34857   1GKS2GKC0LR159026   GM          YUKON                SAN DIEGO                CA
34858   1GKS2GKC0LR159480   GM          YUKON                TAMPA                    FL
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34859   1GKS2GKC0LR159513   GM           YUKON                WEST PALM BEACH          FL
34860   1GKS2GKC0LR160094   GM           YUKON                SALT LAKE CITY           US
34861   1GKS2GKC0LR160354   GM           YUKON                KNOXVILLE                TN
34862   1GKS2GKC0LR160595   GM           YUKON                ORLANDO                  FL
34863   1GKS2GKC0LR160791   GM           YUKON                FORT MYERS               FL
34864   1GKS2GKC0LR160922   GM           YUKON                Dallas                   TX
34865   1GKS2GKC0LR161682   GM           YUKON                PANAMA CITY              FL
34866   1GKS2GKC0LR161844   GM           YUKON                FORT LAUDERDALE          FL
34867   1GKS2GKC0LR162010   GM           YUKON                FORT MYERS               FL
34868   1GKS2GKC0LR162606   GM           YUKON                Los Angeles              CA
34869   1GKS2GKC0LR162749   GM           YUKON                TAMPA                    FL
34870   1GKS2GKC0LR162833   GM           YUKON                ORLANDO                  FL
34871   1GKS2GKC0LR163433   GM           YUKON                DALLAS                   TX
34872   1GKS2GKC0LR163688   GM           YUKON                GRAND RAPIDS             MI
34873   1GKS2GKC0LR163691   GM           YUKON                ORLANDO                  FL
34874   1GKS2GKC0LR163755   GM           YUKON                AUSTIN                   TX
34875   1GKS2GKC0LR164713   GM           YUKON                WHITE PLAINS             NY
34876   1GKS2GKC0LR164839   GM           YUKON                ORLANDO                  FL
34877   1GKS2GKC0LR165327   GM           YUKON                HOUSTON                  TX
34878   1GKS2GKC0LR165568   GM           YUKON                ORLANDO                  FL
34879   1GKS2GKC0LR165604   GM           YUKON                Miami                    FL
34880   1GKS2GKC0LR165778   GM           YUKON                STERLING                 VA
34881   1GKS2GKC0LR165926   GM           YUKON                WHITE PLAINS             NY
34882   1GKS2GKC0LR166221   GM           YUKON                ORLANDO                  FL
34883   1GKS2GKC0LR168017   GM           YUKON                OKLAHOMA CITY            OK
34884   1GKS2GKC0LR168096   GM           YUKON                RONKONKOMA               NY
34885   1GKS2GKC0LR169474   GM           YUKON                CHARLESTON               WV
34886   1GKS2GKC0LR169619   GM           YUKON                RICHMOND                 VA
34887   1GKS2GKC0LR170060   GM           YUKON                PENSACOLA                FL
34888   1GKS2GKC0LR170351   GM           YUKON                SARASOTA                 FL
34889   1GKS2GKC0LR170365   GM           YUKON                MIAMI                    FL
34890   1GKS2GKC0LR172875   GM           YUKON                SACRAMENTO               CA
34891   1GKS2GKC0LR173444   GM           YUKON                LOS ANGELES              CA
34892   1GKS2GKC0LR173878   GM           YUKON                INGLEWOOD                CA
34893   1GKS2GKC0LR174898   GM           YUKON                LOUISVILLE               KY
34894   1GKS2GKC0LR175839   GM           YUKON                LOS ANGELES              CA
34895   1GKS2GKC0LR175999   GM           YUKON                SALT LAKE CITY           UT
34896   1GKS2GKC0LR176585   GM           YUKON                SANTA ANA                CA
34897   1GKS2GKC0LR177798   GM           YUKON                LAS VEGAS                NV
34898   1GKS2GKC0LR177820   GM           YUKON                PHOENIX                  AZ
34899   1GKS2GKC0LR177834   GM           YUKON                LOS ANGELES              CA
34900   1GKS2GKC0LR177851   GM           YUKON                TUCSON                   AZ
34901   1GKS2GKC0LR177865   GM           YUKON                SAN DIEGO                CA
34902   1GKS2GKC0LR178501   GM           YUKON                ATLANTA                  GA
34903   1GKS2GKC0LR190129   GM           YUKON                CHICAGO                  IL
34904   1GKS2GKC0LR199624   GM           YUKON                PHOENIX                  AZ
34905   1GKS2GKC0LR203445   GM           YUKON                PORTLAND                 OR
34906   1GKS2GKC0LR203994   GM           YUKON                SALT LAKE CITY           UT
34907   1GKS2GKC0LR204112   GM           YUKON                LYNCHBURG                VA
34908   1GKS2GKC0LR204272   GM           YUKON                NEW YORK CITY            NY
34909   1GKS2GKC0LR204286   GM           YUKON                NEW BERN                 NC
34910   1GKS2GKC0LR204997   GM           YUKON                STERLING                 VA
34911   1GKS2GKC0LR205003   GM           YUKON                ATLANTA                  GA
34912   1GKS2GKC0LR205129   GM           YUKON                CLEVELAND                OH
34913   1GKS2GKC0LR205146   GM           YUKON                CHARLOTTE                NC
34914   1GKS2GKC0LR205406   GM           YUKON                ALEXANDRIA               VA
34915   1GKS2GKC0LR205552   GM           YUKON                BUFFALO                  NY
34916   1GKS2GKC0LR206734   GM           YUKON                LOS ANGELES              CA
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34917   1GKS2GKC0LR206765   GM          YUKON                EL PASO                  TX
34918   1GKS2GKC0LR206779   GM          YUKON                SALT LAKE CITY           UT
34919   1GKS2GKC0LR206894   GM          YUKON                ONTARIO                  CA
34920   1GKS2GKC0LR207107   GM          YUKON                SALT LAKE CITY           UT
34921   1GKS2GKC0LR207401   GM          YUKON                SHREVEPORT               LA
34922   1GKS2GKC0LR207463   GM          YUKON                STERLING                 VA
34923   1GKS2GKC0LR207611   GM          YUKON                ORLANDO                  FL
34924   1GKS2GKC0LR208080   GM          YUKON                DENVER                   CO
34925   1GKS2GKC0LR208161   GM          YUKON                SALT LAKE CITY           UT
34926   1GKS2GKC0LR209181   GM          YUKON                DENVER                   CO
34927   1GKS2GKC0LR209424   GM          YUKON                AUSTIN                   TX
34928   1GKS2GKC0LR210959   GM          YUKON                LAS VEGAS                NV
34929   1GKS2GKC0LR211187   GM          YUKON                DALLAS                   TX
34930   1GKS2GKC0LR211206   GM          YUKON                HOUSTON                  TX
34931   1GKS2GKC0LR234047   GM          YUKON                BURBANK                  CA
34932   1GKS2GKC0LR237224   GM          YUKON                AUSTIN                   TX
34933   1GKS2GKC0LR239345   GM          YUKON                ORLANDO                  FL
34934   1GKS2GKC0LR239393   GM          YUKON                WEST PALM BEACH          FL
34935   1GKS2GKC0LR243654   GM          YUKON                HARTFORD                 CT
34936   1GKS2GKC0LR244285   GM          YUKON                FORT LAUDERDALE          FL
34937   1GKS2GKC0LR244819   GM          YUKON                STERLING                 US
34938   1GKS2GKC0LR245081   GM          YUKON                MIAMI                    FL
34939   1GKS2GKC0LR248689   GM          YUKON                CHICAGO                  IL
34940   1GKS2GKC0LR249261   GM          YUKON                MILWAUKEE                WI
34941   1GKS2GKC0LR253066   GM          YUKON                DETROIT                  MI
34942   1GKS2GKC0LR262415   GM          YUKON                TAMPA                    FL
34943   1GKS2GKC0LR262964   GM          YUKON                WEST PALM BEACH          FL
34944   1GKS2GKC0LR265444   GM          YUKON                NEWPORT BEACH            CA
34945   1GKS2GKC0LR268408   GM          YUKON                MIAMI                    FL
34946   1GKS2GKC0LR268974   GM          YUKON                Portland                 ME
34947   1GKS2GKC0LR274077   GM          YUKON                SAN FRANCISCO            CA
34948   1GKS2GKC0LR282471   GM          YUKON                Dallas                   TX
34949   1GKS2GKC0LR285967   GM          YUKON                Irving                   TX
34950   1GKS2GKC1HR116659   GM          YUKON                Riverside                CA
34951   1GKS2GKC1HR116919   GM          YUKON                TRACY                    CA
34952   1GKS2GKC1HR116998   GM          YUKON                Stockton                 CA
34953   1GKS2GKC1HR118251   GM          YUKON                TRACY                    CA
34954   1GKS2GKC1HR132196   GM          YUKON                TRACY                    CA
34955   1GKS2GKC1HR135549   GM          YUKON                TRACY                    CA
34956   1GKS2GKC1HR185416   GM          YUKON                El Paso                  TX
34957   1GKS2GKC1HR318286   GM          YUKON                Portland                 OR
34958   1GKS2GKC1HR318496   GM          YUKON                Fontana                  CA
34959   1GKS2GKC1HR320992   GM          YUKON                Fontana                  CA
34960   1GKS2GKC1HR324167   GM          YUKON                Fontana                  CA
34961   1GKS2GKC1HR325352   GM          YUKON                Santa Clara              CA
34962   1GKS2GKC1HR326324   GM          YUKON                Rio Linda                CA
34963   1GKS2GKC1HR326839   GM          YUKON                Roseville                CA
34964   1GKS2GKC1KR158515   GM          YUKON                RICHMOND                 VA
34965   1GKS2GKC1KR158773   GM          YUKON                FORT LAUDERDALE          FL
34966   1GKS2GKC1KR158899   GM          YUKON                NEW YORK CITY            NY
34967   1GKS2GKC1KR159454   GM          YUKON                BALTIMORE                MD
34968   1GKS2GKC1KR159793   GM          YUKON                GYPSUM                   CO
34969   1GKS2GKC1KR160040   GM          YUKON                SALT LAKE CITY           UT
34970   1GKS2GKC1KR160166   GM          YUKON                MIAMI                    FL
34971   1GKS2GKC1KR160183   GM          YUKON                Jacksonville             FL
34972   1GKS2GKC1KR161267   GM          YUKON                San Diego                CA
34973   1GKS2GKC1KR161298   GM          YUKON                Fontana                  CA
34974   1GKS2GKC1KR161334   GM          YUKON                FORT LAUDERDALE          FL
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34975   1GKS2GKC1KR161981   GM          YUKON                PHOENIX                  AZ
34976   1GKS2GKC1KR162273   GM          YUKON                Ocoee                    FL
34977   1GKS2GKC1KR163360   GM          YUKON                DENVER                   CO
34978   1GKS2GKC1KR163441   GM          YUKON                Stockton                 CA
34979   1GKS2GKC1KR163990   GM          YUKON                N. Palm Beach            FL
34980   1GKS2GKC1KR164217   GM          YUKON                Tampa                    FL
34981   1GKS2GKC1KR164573   GM          YUKON                Detroit                  MI
34982   1GKS2GKC1KR165920   GM          YUKON                WEST PALM BEACH          FL
34983   1GKS2GKC1KR166078   GM          YUKON                PHILADELPHIA             PA
34984   1GKS2GKC1KR166534   GM          YUKON                Salt Lake City           UT
34985   1GKS2GKC1KR167179   GM          YUKON                TAMPA                    FL
34986   1GKS2GKC1KR167747   GM          YUKON                SAN ANTONIO              TX
34987   1GKS2GKC1KR167974   GM          YUKON                SALT LAKE CITY           US
34988   1GKS2GKC1KR168011   GM          YUKON                BALTIMORE                MD
34989   1GKS2GKC1KR169269   GM          YUKON                Fresno                   CA
34990   1GKS2GKC1KR169546   GM          YUKON                ORLANDO                  FL
34991   1GKS2GKC1KR171006   GM          YUKON                FORT MYERS               FL
34992   1GKS2GKC1KR171703   GM          YUKON                TAMPA                    US
34993   1GKS2GKC1KR172141   GM          YUKON                NEWARK                   NJ
34994   1GKS2GKC1KR176318   GM          YUKON                HANOVER                  MD
34995   1GKS2GKC1KR177176   GM          YUKON                DENVER                   CO
34996   1GKS2GKC1KR177808   GM          YUKON                Atlanta                  GA
34997   1GKS2GKC1KR177856   GM          YUKON                BURLINGAME               CA
34998   1GKS2GKC1KR180742   GM          YUKON                Norfolk                  VA
34999   1GKS2GKC1KR185438   GM          YUKON                CHICAGO                  IL
35000   1GKS2GKC1KR185472   GM          YUKON                Fontana                  CA
35001   1GKS2GKC1KR185486   GM          YUKON                DENVER                   CO
35002   1GKS2GKC1KR185858   GM          YUKON                Schaumburg               IL
35003   1GKS2GKC1KR186122   GM          YUKON                Houston                  TX
35004   1GKS2GKC1KR192972   GM          YUKON                GRAND JUNCTION           C
35005   1GKS2GKC1KR207860   GM          YUKON                KENNER                   LA
35006   1GKS2GKC1KR229521   GM          YUKON                Pittsburgh               PA
35007   1GKS2GKC1KR233827   GM          YUKON                SAN DIEGO                CA
35008   1GKS2GKC1KR289931   GM          YUKON                TAMPA                    FL
35009   1GKS2GKC1LR152487   GM          YUKON                MIAMI                    FL
35010   1GKS2GKC1LR152988   GM          YUKON                ALBUQUERQUE              NM
35011   1GKS2GKC1LR153218   GM          YUKON                DFW AIRPORT              TX
35012   1GKS2GKC1LR153980   GM          YUKON                PHILADELPHIA             PA
35013   1GKS2GKC1LR154031   GM          YUKON                WEST PALM BEACH          FL
35014   1GKS2GKC1LR154045   GM          YUKON                JACKSONVILLE             FL
35015   1GKS2GKC1LR154241   GM          YUKON                PHOENIX                  AZ
35016   1GKS2GKC1LR154837   GM          YUKON                FORT LAUDERDALE          FL
35017   1GKS2GKC1LR154983   GM          YUKON                BOISE                    US
35018   1GKS2GKC1LR154997   GM          YUKON                DES MOINES               IA
35019   1GKS2GKC1LR155017   GM          YUKON                BOSTON                   MA
35020   1GKS2GKC1LR155986   GM          YUKON                Miami                    FL
35021   1GKS2GKC1LR156264   GM          YUKON                SALT LAKE CITY           UT
35022   1GKS2GKC1LR156832   GM          YUKON                PALM SPRINGS             CA
35023   1GKS2GKC1LR157124   GM          YUKON                FORT LAUDERDALE          FL
35024   1GKS2GKC1LR158130   GM          YUKON                SANTA FE                 NM
35025   1GKS2GKC1LR158872   GM          YUKON                Alexandria               VA
35026   1GKS2GKC1LR159312   GM          YUKON                PHOENIX                  AZ
35027   1GKS2GKC1LR159908   GM          YUKON                MEMPHIS                  TN
35028   1GKS2GKC1LR160301   GM          YUKON                HOUSTON                  TX
35029   1GKS2GKC1LR162467   GM          YUKON                HOUSTON                  TX
35030   1GKS2GKC1LR162811   GM          YUKON                ORLANDO                  FL
35031   1GKS2GKC1LR163232   GM          YUKON                ORLANDO                  FL
35032   1GKS2GKC1LR163831   GM          YUKON                ORLANDO                  FL
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35033   1GKS2GKC1LR164946   GM           YUKON                SYRACUSE                 NY
35034   1GKS2GKC1LR165059   GM           YUKON                CHICAGO                  IL
35035   1GKS2GKC1LR165112   GM           YUKON                TAMPA                    FL
35036   1GKS2GKC1LR165191   GM           YUKON                MIAMI                    FL
35037   1GKS2GKC1LR165238   GM           YUKON                PHOENIX                  AZ
35038   1GKS2GKC1LR165398   GM           YUKON                FORT MYERS               FL
35039   1GKS2GKC1LR165871   GM           YUKON                WEST PALM BEACH          FL
35040   1GKS2GKC1LR166311   GM           YUKON                DALLAS                   TX
35041   1GKS2GKC1LR167569   GM           YUKON                CHARLOTTE                US
35042   1GKS2GKC1LR167619   GM           YUKON                KENNER                   LA
35043   1GKS2GKC1LR169306   GM           YUKON                Miami                    FL
35044   1GKS2GKC1LR169743   GM           YUKON                Hayward                  CA
35045   1GKS2GKC1LR170505   GM           YUKON                ORLANDO                  FL
35046   1GKS2GKC1LR170522   GM           YUKON                MILWAUKEE                WI
35047   1GKS2GKC1LR171749   GM           YUKON                SACRAMENTO               CA
35048   1GKS2GKC1LR173291   GM           YUKON                LOS ANGELES              CA
35049   1GKS2GKC1LR176529   GM           YUKON                SANTA ANA                CA
35050   1GKS2GKC1LR176580   GM           YUKON                PHOENIX                  AZ
35051   1GKS2GKC1LR176921   GM           YUKON                LOS ANGELES              CA
35052   1GKS2GKC1LR176935   GM           YUKON                LAS VEGAS                NV
35053   1GKS2GKC1LR176949   GM           YUKON                INGLEWOOD                CA
35054   1GKS2GKC1LR177034   GM           YUKON                LAS VEGAS                NV
35055   1GKS2GKC1LR177566   GM           YUKON                LUBBOCK                  TX
35056   1GKS2GKC1LR177812   GM           YUKON                BURBANK                  CA
35057   1GKS2GKC1LR177860   GM           YUKON                TUCSON                   AZ
35058   1GKS2GKC1LR178183   GM           YUKON                SACRAMENTO               CA
35059   1GKS2GKC1LR178216   GM           YUKON                SAINT PAUL               MN
35060   1GKS2GKC1LR178426   GM           YUKON                BURBANK                  CA
35061   1GKS2GKC1LR178491   GM           YUKON                AUSTIN                   TX
35062   1GKS2GKC1LR178507   GM           YUKON                SAINT LOUIS              MO
35063   1GKS2GKC1LR190432   GM           YUKON                UNION CITY               GA
35064   1GKS2GKC1LR190706   GM           YUKON                RINCON                   GA
35065   1GKS2GKC1LR196067   GM           YUKON                SAN DIEGO                CA
35066   1GKS2GKC1LR201302   GM           YUKON                SALT LAKE CITY           UT
35067   1GKS2GKC1LR201333   GM           YUKON                DENVER                   CO
35068   1GKS2GKC1LR201350   GM           YUKON                SALT LAKE CITY           US
35069   1GKS2GKC1LR202725   GM           YUKON                STERLING                 VA
35070   1GKS2GKC1LR202952   GM           YUKON                LOS ANGELES              CA
35071   1GKS2GKC1LR203194   GM           YUKON                NEWARK                   NJ
35072   1GKS2GKC1LR203924   GM           YUKON                SARASOTA                 FL
35073   1GKS2GKC1LR203955   GM           YUKON                RONKONKOMA               NY
35074   1GKS2GKC1LR204233   GM           YUKON                NEWARK                   NJ
35075   1GKS2GKC1LR204460   GM           YUKON                CHEEKTOWAGA              NY
35076   1GKS2GKC1LR204698   GM           YUKON                GYPSUM                   CO
35077   1GKS2GKC1LR205026   GM           YUKON                WEST PALM BEACH          FL
35078   1GKS2GKC1LR205060   GM           YUKON                HAGERSTOWN               MD
35079   1GKS2GKC1LR205785   GM           YUKON                NORFOLK                  VA
35080   1GKS2GKC1LR205981   GM           YUKON                SALT LAKE CITY           UT
35081   1GKS2GKC1LR205995   GM           YUKON                SALT LAKE CITY           UT
35082   1GKS2GKC1LR206192   GM           YUKON                PORTLAND                 OR
35083   1GKS2GKC1LR206242   GM           YUKON                SALT LAKE CITY           US
35084   1GKS2GKC1LR206886   GM           YUKON                BURBANK                  CA
35085   1GKS2GKC1LR206967   GM           YUKON                SAN FRANCISCO            CA
35086   1GKS2GKC1LR208962   GM           YUKON                GYPSUM                   CO
35087   1GKS2GKC1LR209111   GM           YUKON                DENVER                   CO
35088   1GKS2GKC1LR210288   GM           YUKON                HOUSTON                  TX
35089   1GKS2GKC1LR213529   GM           YUKON                HOUSTON                  TX
35090   1GKS2GKC1LR213739   GM           YUKON                DALLAS                   TX
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35091   1GKS2GKC1LR237541   GM          YUKON                MEMPHIS                  TN
35092   1GKS2GKC1LR237877   GM          YUKON                TITUSVILLE               FL
35093   1GKS2GKC1LR239757   GM          YUKON                ORLANDO                  FL
35094   1GKS2GKC1LR243646   GM          YUKON                Miami                    FL
35095   1GKS2GKC1LR248989   GM          YUKON                CHICAGO O'HARE AP        IL
35096   1GKS2GKC1LR249799   GM          YUKON                CHICAGO O'HARE AP        IL
35097   1GKS2GKC1LR265453   GM          YUKON                ORLANDO                  FL
35098   1GKS2GKC1LR265775   GM          YUKON                ORLANDO                  FL
35099   1GKS2GKC1LR271849   GM          YUKON                Miami                    FL
35100   1GKS2GKC2HR118842   GM          YUKON                Hayward                  CA
35101   1GKS2GKC2HR121773   GM          YUKON                TRACY                    CA
35102   1GKS2GKC2HR132238   GM          YUKON                Hayward                  CA
35103   1GKS2GKC2HR133969   GM          YUKON                TRACY                    CA
35104   1GKS2GKC2HR135589   GM          YUKON                Santa Clara              CA
35105   1GKS2GKC2HR315025   GM          YUKON                LIHUE                    HI
35106   1GKS2GKC2HR323593   GM          YUKON                Portland                 OR
35107   1GKS2GKC2HR324730   GM          YUKON                Fontana                  CA
35108   1GKS2GKC2HR325103   GM          YUKON                Portland                 OR
35109   1GKS2GKC2HR326042   GM          YUKON                Fontana                  CA
35110   1GKS2GKC2HR327918   GM          YUKON                Hayward                  CA
35111   1GKS2GKC2HR328793   GM          YUKON                Hayward                  CA
35112   1GKS2GKC2JR149143   GM          YUKON                SEA TAC                  WA
35113   1GKS2GKC2KR157891   GM          YUKON                MINNEAPOLIS              MN
35114   1GKS2GKC2KR157941   GM          YUKON                Manheim                  PA
35115   1GKS2GKC2KR158264   GM          YUKON                NEWARK                   NJ
35116   1GKS2GKC2KR160838   GM          YUKON                Lynn                     MA
35117   1GKS2GKC2KR161004   GM          YUKON                Jacksonville             FL
35118   1GKS2GKC2KR161018   GM          YUKON                PANAMA CITY              FL
35119   1GKS2GKC2KR161259   GM          YUKON                TRACY                    CA
35120   1GKS2GKC2KR161374   GM          YUKON                Greensboro               NC
35121   1GKS2GKC2KR161424   GM          YUKON                DENVER                   CO
35122   1GKS2GKC2KR161570   GM          YUKON                PHOENIX                  AZ
35123   1GKS2GKC2KR163657   GM          YUKON                ORLANDO                  FL
35124   1GKS2GKC2KR163884   GM          YUKON                North Dighton            MA
35125   1GKS2GKC2KR164324   GM          YUKON                Jacksonville             FL
35126   1GKS2GKC2KR164856   GM          YUKON                ORLANDO                  FL
35127   1GKS2GKC2KR165411   GM          YUKON                Cranberry Towns          PA
35128   1GKS2GKC2KR165537   GM          YUKON                HOLLY HILL               FL
35129   1GKS2GKC2KR165540   GM          YUKON                Fontana                  CA
35130   1GKS2GKC2KR166509   GM          YUKON                DENVER                   CO
35131   1GKS2GKC2KR167112   GM          YUKON                PITTSBURGH               PA
35132   1GKS2GKC2KR168616   GM          YUKON                ALEXANDRIA               VA
35133   1GKS2GKC2KR168888   GM          YUKON                TAMPA                    FL
35134   1GKS2GKC2KR169412   GM          YUKON                CHICAGO                  IL
35135   1GKS2GKC2KR170379   GM          YUKON                Atlanta                  GA
35136   1GKS2GKC2KR170673   GM          YUKON                Stockton                 CA
35137   1GKS2GKC2KR170916   GM          YUKON                LAS VEGAS                NV
35138   1GKS2GKC2KR172861   GM          YUKON                DAYTONA BEACH            FL
35139   1GKS2GKC2KR172939   GM          YUKON                Miami                    FL
35140   1GKS2GKC2KR173430   GM          YUKON                Pasadena                 CA
35141   1GKS2GKC2KR174268   GM          YUKON                DENVER                   CO
35142   1GKS2GKC2KR176053   GM          YUKON                Miami                    FL
35143   1GKS2GKC2KR176392   GM          YUKON                SEATTLE                  WA
35144   1GKS2GKC2KR176859   GM          YUKON                Clearwater               FL
35145   1GKS2GKC2KR177154   GM          YUKON                BURBANK                  CA
35146   1GKS2GKC2KR177770   GM          YUKON                PHOENIX                  AZ
35147   1GKS2GKC2KR178630   GM          YUKON                MIAMI                    FL
35148   1GKS2GKC2KR179308   GM          YUKON                Fontana                  CA
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35149   1GKS2GKC2KR179342   GM          YUKON                ORLANDO                  FL
35150   1GKS2GKC2KR181611   GM          YUKON                Riverside                CA
35151   1GKS2GKC2KR182452   GM          YUKON                Los Angeles              CA
35152   1GKS2GKC2KR182693   GM          YUKON                PENSACOLA                FL
35153   1GKS2GKC2KR182709   GM          YUKON                Manheim                  PA
35154   1GKS2GKC2KR184721   GM          YUKON                ORLANDO                  FL
35155   1GKS2GKC2KR184749   GM          YUKON                SOUTHEAST DST OFFC       OK
35156   1GKS2GKC2KR184797   GM          YUKON                TALLAHASSEE              FL
35157   1GKS2GKC2KR185707   GM          YUKON                Burlingame               CA
35158   1GKS2GKC2KR185710   GM          YUKON                DENVER                   CO
35159   1GKS2GKC2KR191202   GM          YUKON                DENVER                   CO
35160   1GKS2GKC2KR207141   GM          YUKON                PENSACOLA                FL
35161   1GKS2GKC2KR238325   GM          YUKON                SALT LAKE CITY           US
35162   1GKS2GKC2KR350171   GM          YUKON                COLLEGE PARK             GA
35163   1GKS2GKC2KR387561   GM          YUKON                SAINT PAUL               MN
35164   1GKS2GKC2LR152188   GM          YUKON                AUSTIN                   TX
35165   1GKS2GKC2LR152465   GM          YUKON                SAVANNAH                 GA
35166   1GKS2GKC2LR152479   GM          YUKON                WEST PALM BEACH          FL
35167   1GKS2GKC2LR152496   GM          YUKON                LOS ANGELES              CA
35168   1GKS2GKC2LR152840   GM          YUKON                FORT MYERS               FL
35169   1GKS2GKC2LR152952   GM          YUKON                Atlanta                  GA
35170   1GKS2GKC2LR153194   GM          YUKON                ORLANDO                  FL
35171   1GKS2GKC2LR154314   GM          YUKON                TAMPA                    FL
35172   1GKS2GKC2LR154409   GM          YUKON                PHOENIX                  AZ
35173   1GKS2GKC2LR154474   GM          YUKON                JACKSONVILLE             FL
35174   1GKS2GKC2LR155494   GM          YUKON                LAS VEGAS                NV
35175   1GKS2GKC2LR155639   GM          YUKON                WHITE PLAINS             NY
35176   1GKS2GKC2LR155656   GM          YUKON                PHOENIX                  AZ
35177   1GKS2GKC2LR155690   GM          YUKON                SALT LAKE CITY           UT
35178   1GKS2GKC2LR157262   GM          YUKON                PHILADELPHIA             PA
35179   1GKS2GKC2LR157813   GM          YUKON                WEST PALM BEACH          FL
35180   1GKS2GKC2LR157990   GM          YUKON                MIAMI                    FL
35181   1GKS2GKC2LR158069   GM          YUKON                SANTA ANA                CA
35182   1GKS2GKC2LR158606   GM          YUKON                WARWICK                  RI
35183   1GKS2GKC2LR159318   GM          YUKON                COLLEGE PARK             GA
35184   1GKS2GKC2LR159352   GM          YUKON                LAS VEGAS                NV
35185   1GKS2GKC2LR159495   GM          YUKON                Miami                    FL
35186   1GKS2GKC2LR159531   GM          YUKON                DALLAS                   TX
35187   1GKS2GKC2LR159898   GM          YUKON                BIRMINGHAM               AL
35188   1GKS2GKC2LR160761   GM          YUKON                Irving                   TX
35189   1GKS2GKC2LR160890   GM          YUKON                TAMPA                    FL
35190   1GKS2GKC2LR161036   GM          YUKON                FORT LAUDERDALE          FL
35191   1GKS2GKC2LR161358   GM          YUKON                BIRMINGHAM               AL
35192   1GKS2GKC2LR161408   GM          YUKON                SACRAMENTO               CA
35193   1GKS2GKC2LR161599   GM          YUKON                FORT LAUDERDALE          FL
35194   1GKS2GKC2LR162817   GM          YUKON                DAYTONA BEACH            FL
35195   1GKS2GKC2LR162848   GM          YUKON                FORT MYERS               FL
35196   1GKS2GKC2LR162901   GM          YUKON                FORT LAUDERDALE          FL
35197   1GKS2GKC2LR163238   GM          YUKON                ORLANDO                  FL
35198   1GKS2GKC2LR163353   GM          YUKON                DALLAS                   TX
35199   1GKS2GKC2LR163840   GM          YUKON                TAMPA                    FL
35200   1GKS2GKC2LR163921   GM          YUKON                ORLANDO                  FL
35201   1GKS2GKC2LR163966   GM          YUKON                MIAMI                    FL
35202   1GKS2GKC2LR164261   GM          YUKON                NORFOLK                  VA
35203   1GKS2GKC2LR164910   GM          YUKON                BOSTON                   MA
35204   1GKS2GKC2LR165099   GM          YUKON                DALLAS                   TX
35205   1GKS2GKC2LR165541   GM          YUKON                SAN ANTONIO              TX
35206   1GKS2GKC2LR165586   GM          YUKON                SAINT LOUIS              MO
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35207   1GKS2GKC2LR165748   GM          YUKON                FORT LAUDERDALE          FL
35208   1GKS2GKC2LR167483   GM          YUKON                ORLANDO                  FL
35209   1GKS2GKC2LR167810   GM          YUKON                WEST PALM BEACH          FL
35210   1GKS2GKC2LR168911   GM          YUKON                KENNER                   LA
35211   1GKS2GKC2LR169606   GM          YUKON                WHITE PLAINS             NY
35212   1GKS2GKC2LR171999   GM          YUKON                Los Angeles              CA
35213   1GKS2GKC2LR172781   GM          YUKON                BURBANK                  CA
35214   1GKS2GKC2LR174112   GM          YUKON                LOS ANGELES              CA
35215   1GKS2GKC2LR176202   GM          YUKON                LOS ANGELES              CA
35216   1GKS2GKC2LR176233   GM          YUKON                LOS ANGELES              CA
35217   1GKS2GKC2LR176538   GM          YUKON                PALM SPRINGS             CA
35218   1GKS2GKC2LR176927   GM          YUKON                SANTA ANA                CA
35219   1GKS2GKC2LR177107   GM          YUKON                Hayward                  CA
35220   1GKS2GKC2LR177818   GM          YUKON                NEW YORK CITY            NY
35221   1GKS2GKC2LR177916   GM          YUKON                LOS ANGELES              CA
35222   1GKS2GKC2LR178046   GM          YUKON                LOS ANGELES              CA
35223   1GKS2GKC2LR178435   GM          YUKON                STERLING                 VA
35224   1GKS2GKC2LR178452   GM          YUKON                SAN DIEGO                CA
35225   1GKS2GKC2LR178466   GM          YUKON                TAMPA                    US
35226   1GKS2GKC2LR178483   GM          YUKON                SACRAMENTO               CA
35227   1GKS2GKC2LR178497   GM          YUKON                ORLANDO                  FL
35228   1GKS2GKC2LR202149   GM          YUKON                BOSTON                   MA
35229   1GKS2GKC2LR202877   GM          YUKON                GLASSBORO                NJ
35230   1GKS2GKC2LR203849   GM          YUKON                ATLANTA                  GA
35231   1GKS2GKC2LR204094   GM          YUKON                EL PASO                  TX
35232   1GKS2GKC2LR205049   GM          YUKON                MEMPHIS                  TN
35233   1GKS2GKC2LR205939   GM          YUKON                SALT LAKE CITY           UT
35234   1GKS2GKC2LR206234   GM          YUKON                SALT LAKE CITY           UT
35235   1GKS2GKC2LR206976   GM          YUKON                RICHMOND                 VA
35236   1GKS2GKC2LR207402   GM          YUKON                DENVER                   CO
35237   1GKS2GKC2LR208274   GM          YUKON                DENVER                   CO
35238   1GKS2GKC2LR212552   GM          YUKON                PHOENIX                  AZ
35239   1GKS2GKC2LR237371   GM          YUKON                SAN DIEGO                CA
35240   1GKS2GKC2LR237533   GM          YUKON                SACRAMENTO               CA
35241   1GKS2GKC2LR239654   GM          YUKON                CHARLOTTE                NC
35242   1GKS2GKC2LR240335   GM          YUKON                SAN DIEGO                CA
35243   1GKS2GKC2LR241856   GM          YUKON                WHITE PLAINS             NY
35244   1GKS2GKC2LR241873   GM          YUKON                LOS ANGELES              CA
35245   1GKS2GKC2LR242487   GM          YUKON                DETROIT                  MI
35246   1GKS2GKC2LR251304   GM          YUKON                LOS ANGELES              CA
35247   1GKS2GKC2LR253182   GM          YUKON                CHICAGO                  IL
35248   1GKS2GKC2LR267597   GM          YUKON                GRAND JUNCTION           C
35249   1GKS2GKC2LR267857   GM          YUKON                Hayward                  CA
35250   1GKS2GKC3HR118977   GM          YUKON                Santa Clara              CA
35251   1GKS2GKC3HR120079   GM          YUKON                Fontana                  CA
35252   1GKS2GKC3HR121393   GM          YUKON                Hayward                  CA
35253   1GKS2GKC3HR130563   GM          YUKON                Fontana                  CA
35254   1GKS2GKC3HR132748   GM          YUKON                Riverside                CA
35255   1GKS2GKC3HR133690   GM          YUKON                Hayward                  CA
35256   1GKS2GKC3HR135794   GM          YUKON                Hayward                  CA
35257   1GKS2GKC3HR136458   GM          YUKON                TRACY                    CA
35258   1GKS2GKC3HR136878   GM          YUKON                Hayward                  CA
35259   1GKS2GKC3HR186325   GM          YUKON                DANIA                    US
35260   1GKS2GKC3HR315020   GM          YUKON                Fontana                  CA
35261   1GKS2GKC3HR319424   GM          YUKON                Hayward                  CA
35262   1GKS2GKC3HR324333   GM          YUKON                Hayward                  CA
35263   1GKS2GKC3HR324803   GM          YUKON                Hayward                  CA
35264   1GKS2GKC3HR326101   GM          YUKON                Riverside                CA
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35265   1GKS2GKC3HR326387   GM          YUKON                Riverside                CA
35266   1GKS2GKC3HR327250   GM          YUKON                Riverside                CA
35267   1GKS2GKC3HR327328   GM          YUKON                TRACY                    CA
35268   1GKS2GKC3KR158385   GM          YUKON                Teterboro                NJ
35269   1GKS2GKC3KR159777   GM          YUKON                Hapeville                GA
35270   1GKS2GKC3KR160010   GM          YUKON                DENVER                   CO
35271   1GKS2GKC3KR160167   GM          YUKON                Warwick                  RI
35272   1GKS2GKC3KR161030   GM          YUKON                SAINT PAUL               MN
35273   1GKS2GKC3KR161321   GM          YUKON                SACRAMENTO               CA
35274   1GKS2GKC3KR161397   GM          YUKON                ORLANDO                  FL
35275   1GKS2GKC3KR161755   GM          YUKON                Elkridge                 MD
35276   1GKS2GKC3KR161867   GM          YUKON                GRAND RAPIDS             MI
35277   1GKS2GKC3KR161951   GM          YUKON                WEST COLUMBIA            SC
35278   1GKS2GKC3KR162159   GM          YUKON                FORT MYERS               FL
35279   1GKS2GKC3KR162694   GM          YUKON                CHICAGO                  IL
35280   1GKS2GKC3KR163098   GM          YUKON                MEMPHIS                  TN
35281   1GKS2GKC3KR163425   GM          YUKON                Aurora                   CO
35282   1GKS2GKC3KR163571   GM          YUKON                LITTLE ROCK              AR
35283   1GKS2GKC3KR164056   GM          YUKON                MIAMI                    FL
35284   1GKS2GKC3KR164137   GM          YUKON                San Diego                CA
35285   1GKS2GKC3KR164249   GM          YUKON                ORLANDO                  FL
35286   1GKS2GKC3KR164509   GM          YUKON                MIAMI                    FL
35287   1GKS2GKC3KR165191   GM          YUKON                San Diego                CA
35288   1GKS2GKC3KR165692   GM          YUKON                Fontana                  CA
35289   1GKS2GKC3KR167068   GM          YUKON                KANSAS CITY              MO
35290   1GKS2GKC3KR167376   GM          YUKON                North Dighton            MA
35291   1GKS2GKC3KR167717   GM          YUKON                FRESNO                   CA
35292   1GKS2GKC3KR167913   GM          YUKON                Lake Elsinore            CA
35293   1GKS2GKC3KR167992   GM          YUKON                SEATTLE                  WA
35294   1GKS2GKC3KR169354   GM          YUKON                JACKSON                  MS
35295   1GKS2GKC3KR169533   GM          YUKON                Miami                    FL
35296   1GKS2GKC3KR170438   GM          YUKON                SAN DIEGO                CA
35297   1GKS2GKC3KR170701   GM          YUKON                PLEASANTON               CA
35298   1GKS2GKC3KR170746   GM          YUKON                Miami                    FL
35299   1GKS2GKC3KR170990   GM          YUKON                CHARLESTON               WV
35300   1GKS2GKC3KR171928   GM          YUKON                ATLANTA                  GA
35301   1GKS2GKC3KR172982   GM          YUKON                ORLANDO                  FL
35302   1GKS2GKC3KR174179   GM          YUKON                Tampa                    FL
35303   1GKS2GKC3KR174330   GM          YUKON                FORT LAUDERDALE          FL
35304   1GKS2GKC3KR174750   GM          YUKON                West Palm Beach          FL
35305   1GKS2GKC3KR175056   GM          YUKON                Davie                    FL
35306   1GKS2GKC3KR175154   GM          YUKON                FORT LAUDERDALE          FL
35307   1GKS2GKC3KR175168   GM          YUKON                LAKEWOOD                 WA
35308   1GKS2GKC3KR175686   GM          YUKON                Davie                    FL
35309   1GKS2GKC3KR178278   GM          YUKON                SALT LAKE CITY           US
35310   1GKS2GKC3KR179947   GM          YUKON                WINDER                   GA
35311   1GKS2GKC3KR180371   GM          YUKON                Manheim                  PA
35312   1GKS2GKC3KR180595   GM          YUKON                Denver                   CO
35313   1GKS2GKC3KR180659   GM          YUKON                Austin                   TX
35314   1GKS2GKC3KR180676   GM          YUKON                Estero                   FL
35315   1GKS2GKC3KR181987   GM          YUKON                DENVER                   CO
35316   1GKS2GKC3KR182122   GM          YUKON                DENVER                   CO
35317   1GKS2GKC3KR182394   GM          YUKON                Euless                   TX
35318   1GKS2GKC3KR183464   GM          YUKON                Aurora                   CO
35319   1GKS2GKC3KR184386   GM          YUKON                CASTLE ROCK              CO
35320   1GKS2GKC3KR184419   GM          YUKON                BURLINGTON               VT
35321   1GKS2GKC3KR186025   GM          YUKON                Fresno                   CA
35322   1GKS2GKC3KR186753   GM          YUKON                Riverside                CA
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35323   1GKS2GKC3KR192746   GM          YUKON                Charlotte                NC
35324   1GKS2GKC3KR193377   GM          YUKON                Tolleson                 AZ
35325   1GKS2GKC3KR196988   GM          YUKON                Miami                    FL
35326   1GKS2GKC3KR233912   GM          YUKON                Riverside                CA
35327   1GKS2GKC3KR284844   GM          YUKON                Cranberry Towns          PA
35328   1GKS2GKC3KR321259   GM          YUKON                BURBANK                  CA
35329   1GKS2GKC3KR345934   GM          YUKON                HOUSTON                  TX
35330   1GKS2GKC3KR349997   GM          YUKON                ALBANY                   NY
35331   1GKS2GKC3KR352141   GM          YUKON                PORTLAND                 ME
35332   1GKS2GKC3LR152202   GM          YUKON                ONTARIO                  CA
35333   1GKS2GKC3LR152491   GM          YUKON                SAINT LOUIS              MO
35334   1GKS2GKC3LR152510   GM          YUKON                Atlanta                  GA
35335   1GKS2GKC3LR152605   GM          YUKON                DETROIT                  MI
35336   1GKS2GKC3LR152958   GM          YUKON                NEW BERN                 NC
35337   1GKS2GKC3LR153253   GM          YUKON                PHOENIX                  AZ
35338   1GKS2GKC3LR153334   GM          YUKON                PENSACOLA                FL
35339   1GKS2GKC3LR153494   GM          YUKON                DALLAS                   TX
35340   1GKS2GKC3LR154189   GM          YUKON                MIAMI                    FL
35341   1GKS2GKC3LR154340   GM          YUKON                ALBUQUERQUE              NM
35342   1GKS2GKC3LR154452   GM          YUKON                Hebron                   KY
35343   1GKS2GKC3LR154855   GM          YUKON                PHOENIX                  AZ
35344   1GKS2GKC3LR155956   GM          YUKON                LAS VEGAS                NV
35345   1GKS2GKC3LR156041   GM          YUKON                ORLANDO                  FL
35346   1GKS2GKC3LR156069   GM          YUKON                Stone Mountain           GA
35347   1GKS2GKC3LR156962   GM          YUKON                MIAMI                    FL
35348   1GKS2GKC3LR157125   GM          YUKON                Pheonix                  AZ
35349   1GKS2GKC3LR157464   GM          YUKON                Los Angeles              CA
35350   1GKS2GKC3LR157920   GM          YUKON                EAST BOSTON              MA
35351   1GKS2GKC3LR158596   GM          YUKON                ATLANTA                  GA
35352   1GKS2GKC3LR158663   GM          YUKON                Los Angeles              CA
35353   1GKS2GKC3LR158937   GM          YUKON                ORLANDO                  FL
35354   1GKS2GKC3LR159313   GM          YUKON                Atlanta                  GA
35355   1GKS2GKC3LR159859   GM          YUKON                ORLANDO                  FL
35356   1GKS2GKC3LR160283   GM          YUKON                NEW BERN                 NC
35357   1GKS2GKC3LR160719   GM          YUKON                Los Angeles              CA
35358   1GKS2GKC3LR160803   GM          YUKON                SARASOTA                 FL
35359   1GKS2GKC3LR160963   GM          YUKON                SEATAC                   WA
35360   1GKS2GKC3LR161126   GM          YUKON                FAYETTEVILLE             GA
35361   1GKS2GKC3LR161434   GM          YUKON                JACKSONVILLE             FL
35362   1GKS2GKC3LR161725   GM          YUKON                SARASOTA                 FL
35363   1GKS2GKC3LR162342   GM          YUKON                MIAMI                    FL
35364   1GKS2GKC3LR163460   GM          YUKON                WILSON                   NC
35365   1GKS2GKC3LR163524   GM          YUKON                BIRMINGHAM               AL
35366   1GKS2GKC3LR163703   GM          YUKON                MIAMI                    FL
35367   1GKS2GKC3LR163894   GM          YUKON                MIAMI                    FL
35368   1GKS2GKC3LR163961   GM          YUKON                PENSACOLA                FL
35369   1GKS2GKC3LR164009   GM          YUKON                ORLANDO                  FL
35370   1GKS2GKC3LR164494   GM          YUKON                AUGUSTA                  GA
35371   1GKS2GKC3LR164592   GM          YUKON                LOUISVILLE               KY
35372   1GKS2GKC3LR164902   GM          YUKON                HOUSTON                  TX
35373   1GKS2GKC3LR165001   GM          YUKON                TAMPA                    FL
35374   1GKS2GKC3LR165564   GM          YUKON                ORLANDO                  FL
35375   1GKS2GKC3LR165824   GM          YUKON                MIAMI                    FL
35376   1GKS2GKC3LR166052   GM          YUKON                HOUSTON                  TX
35377   1GKS2GKC3LR166388   GM          YUKON                TAMPA                    FL
35378   1GKS2GKC3LR166651   GM          YUKON                ORLANDO                  FL
35379   1GKS2GKC3LR167475   GM          YUKON                DALLAS                   TX
35380   1GKS2GKC3LR167623   GM          YUKON                CHARLOTTE                NC
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35381   1GKS2GKC3LR167668   GM          YUKON                Miami                    FL
35382   1GKS2GKC3LR169467   GM          YUKON                ORLANDO                  FL
35383   1GKS2GKC3LR171932   GM          YUKON                ORLANDO                  FL
35384   1GKS2GKC3LR173700   GM          YUKON                LOS ANGELES              CA
35385   1GKS2GKC3LR174524   GM          YUKON                SANTA ANA                CA
35386   1GKS2GKC3LR176208   GM          YUKON                ALBUQUERQUE              NM
35387   1GKS2GKC3LR176497   GM          YUKON                ONTARIO                  CA
35388   1GKS2GKC3LR177522   GM          YUKON                Tulsa                    OK
35389   1GKS2GKC3LR177536   GM          YUKON                AMARILLO                 TX
35390   1GKS2GKC3LR177858   GM          YUKON                SANTA ANA                CA
35391   1GKS2GKC3LR177892   GM          YUKON                PALM SPRINGS             CA
35392   1GKS2GKC3LR178458   GM          YUKON                LOS ANGELES              CA
35393   1GKS2GKC3LR178461   GM          YUKON                OAKLAND                  CA
35394   1GKS2GKC3LR178475   GM          YUKON                RENO                     NV
35395   1GKS2GKC3LR178489   GM          YUKON                ORLANDO                  FL
35396   1GKS2GKC3LR178511   GM          YUKON                PHOENIX                  AZ
35397   1GKS2GKC3LR196796   GM          YUKON                SALT LAKE CITY           UT
35398   1GKS2GKC3LR202838   GM          YUKON                AUSTIN                   TX
35399   1GKS2GKC3LR203200   GM          YUKON                WARWICK                  RI
35400   1GKS2GKC3LR203617   GM          YUKON                SAN FRANCISCO            CA
35401   1GKS2GKC3LR203875   GM          YUKON                SAVANNAH                 GA
35402   1GKS2GKC3LR204248   GM          YUKON                BIRMINGHAM               AL
35403   1GKS2GKC3LR204329   GM          YUKON                PORTLAND                 ME
35404   1GKS2GKC3LR204556   GM          YUKON                Teterboro                NJ
35405   1GKS2GKC3LR204962   GM          YUKON                WEST PALM BEACH          FL
35406   1GKS2GKC3LR204993   GM          YUKON                SOUTH BURLINGTO          VT
35407   1GKS2GKC3LR206811   GM          YUKON                DENVER                   CO
35408   1GKS2GKC3LR207151   GM          YUKON                DFW AIRPORT              TX
35409   1GKS2GKC3LR209191   GM          YUKON                WEST PALM BEACH          FL
35410   1GKS2GKC3LR209207   GM          YUKON                WHITE PLAINS             NY
35411   1GKS2GKC3LR209269   GM          YUKON                DENVER                   CO
35412   1GKS2GKC3LR209790   GM          YUKON                HOUSTON                  TX
35413   1GKS2GKC3LR210518   GM          YUKON                TULSA                    OK
35414   1GKS2GKC3LR210583   GM          YUKON                Dallas                   TX
35415   1GKS2GKC3LR210616   GM          YUKON                SAN ANTONIO              TX
35416   1GKS2GKC3LR212379   GM          YUKON                HOUSTON                  TX
35417   1GKS2GKC3LR213256   GM          YUKON                PORTLAND                 ME
35418   1GKS2GKC3LR237220   GM          YUKON                SAN ANTONIO              TX
35419   1GKS2GKC3LR239548   GM          YUKON                MIAMI                    FL
35420   1GKS2GKC3LR239792   GM          YUKON                BOSTON                   MA
35421   1GKS2GKC3LR240313   GM          YUKON                HARTFORD                 CT
35422   1GKS2GKC3LR240327   GM          YUKON                SAN JOSE                 CA
35423   1GKS2GKC3LR241526   GM          YUKON                PORTLAND                 ME
35424   1GKS2GKC3LR242501   GM          YUKON                DALLAS                   TX
35425   1GKS2GKC3LR244877   GM          YUKON                MIAMI                    FL
35426   1GKS2GKC3LR247889   GM          YUKON                HOUSTON                  TX
35427   1GKS2GKC3LR249397   GM          YUKON                GRAND RAPIDS             MI
35428   1GKS2GKC3LR250257   GM          YUKON                PORTLAND                 ME
35429   1GKS2GKC3LR253112   GM          YUKON                Teterboro                NJ
35430   1GKS2GKC3LR259945   GM          YUKON                TAMPA                    FL
35431   1GKS2GKC3LR262652   GM          YUKON                ORLANDO                  FL
35432   1GKS2GKC3LR266314   GM          YUKON                NEWARK                   NJ
35433   1GKS2GKC3LR274056   GM          YUKON                BOSTON                   MA
35434   1GKS2GKC3LR286286   GM          YUKON                DALLAS                   TX
35435   1GKS2GKC3LR286305   GM          YUKON                GYPSUM                   CO
35436   1GKS2GKC3LR289348   GM          YUKON                HOUSTON                  TX
35437   1GKS2GKC4HR130801   GM          YUKON                TRACY                    CA
35438   1GKS2GKC4HR130894   GM          YUKON                Hayward                  CA
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35439   1GKS2GKC4HR131172   GM          YUKON                Hayward                  CA
35440   1GKS2GKC4HR132662   GM          YUKON                Sacramento               CA
35441   1GKS2GKC4HR133195   GM          YUKON                Hayward                  CA
35442   1GKS2GKC4HR133715   GM          YUKON                Hayward                  CA
35443   1GKS2GKC4HR134248   GM          YUKON                Riverside                CA
35444   1GKS2GKC4HR134654   GM          YUKON                TRACY                    CA
35445   1GKS2GKC4HR134976   GM          YUKON                Riverside                CA
35446   1GKS2GKC4HR135061   GM          YUKON                TRACY                    CA
35447   1GKS2GKC4HR136467   GM          YUKON                Fontana                  CA
35448   1GKS2GKC4HR142351   GM          YUKON                RALEIGH                  NC
35449   1GKS2GKC4HR314989   GM          YUKON                Fontana                  CA
35450   1GKS2GKC4HR317696   GM          YUKON                Hayward                  CA
35451   1GKS2GKC4HR320260   GM          YUKON                Santa Clara              CA
35452   1GKS2GKC4HR329069   GM          YUKON                TRACY                    CA
35453   1GKS2GKC4HR329329   GM          YUKON                TRACY                    CA
35454   1GKS2GKC4JR399094   GM          YUKON                Union City               GA
35455   1GKS2GKC4KR158010   GM          YUKON                Grove City               OH
35456   1GKS2GKC4KR158234   GM          YUKON                ORLANDO                  FL
35457   1GKS2GKC4KR158430   GM          YUKON                PHOENIX                  AZ
35458   1GKS2GKC4KR158640   GM          YUKON                Anaheim                  CA
35459   1GKS2GKC4KR159044   GM          YUKON                Riverside                CA
35460   1GKS2GKC4KR159870   GM          YUKON                Sacramento               CA
35461   1GKS2GKC4KR159884   GM          YUKON                Salt Lake City           UT
35462   1GKS2GKC4KR160002   GM          YUKON                COLLEGE PARK             GA
35463   1GKS2GKC4KR160162   GM          YUKON                DENVER                   CO
35464   1GKS2GKC4KR160646   GM          YUKON                Hayward                  CA
35465   1GKS2GKC4KR160775   GM          YUKON                PENSACOLA                FL
35466   1GKS2GKC4KR161473   GM          YUKON                DAYTONA BEACH            FL
35467   1GKS2GKC4KR161490   GM          YUKON                Davie                    FL
35468   1GKS2GKC4KR161893   GM          YUKON                SANTA BARBARA            CA
35469   1GKS2GKC4KR162140   GM          YUKON                Orlando                  FL
35470   1GKS2GKC4KR162221   GM          YUKON                SALT LAKE CITY           UT
35471   1GKS2GKC4KR162574   GM          YUKON                Fontana                  CA
35472   1GKS2GKC4KR162655   GM          YUKON                JACKSONVILLE             FL
35473   1GKS2GKC4KR162817   GM          YUKON                Miami                    FL
35474   1GKS2GKC4KR163563   GM          YUKON                Detroit                  MI
35475   1GKS2GKC4KR163806   GM          YUKON                SANTA CLARA              CA
35476   1GKS2GKC4KR164647   GM          YUKON                Miami                    FL
35477   1GKS2GKC4KR164812   GM          YUKON                DENVER                   CO
35478   1GKS2GKC4KR165247   GM          YUKON                PHOENIX                  AZ
35479   1GKS2GKC4KR165426   GM          YUKON                PLEASANTON               CA
35480   1GKS2GKC4KR165670   GM          YUKON                Ocoee                    FL
35481   1GKS2GKC4KR165703   GM          YUKON                SAN JOSE                 CA
35482   1GKS2GKC4KR166253   GM          YUKON                ORLANDO                  FL
35483   1GKS2GKC4KR166351   GM          YUKON                Hayward                  CA
35484   1GKS2GKC4KR166964   GM          YUKON                ATLANTA                  GA
35485   1GKS2GKC4KR167645   GM          YUKON                NASHVILLE                TN
35486   1GKS2GKC4KR168102   GM          YUKON                WEST COLUMBIA            SC
35487   1GKS2GKC4KR169962   GM          YUKON                DENVER                   CO
35488   1GKS2GKC4KR170481   GM          YUKON                Davie                    FL
35489   1GKS2GKC4KR170576   GM          YUKON                SOUTHEAST DST OFFC       OK
35490   1GKS2GKC4KR171405   GM          YUKON                Fredericksburg           VA
35491   1GKS2GKC4KR173347   GM          YUKON                ORLANDO                  FL
35492   1GKS2GKC4KR177124   GM          YUKON                DANIA                    FL
35493   1GKS2GKC4KR177950   GM          YUKON                MARIETTA                 GA
35494   1GKS2GKC4KR180055   GM          YUKON                KENNER                   LA
35495   1GKS2GKC4KR180234   GM          YUKON                ORLANDO                  FL
35496   1GKS2GKC4KR180640   GM          YUKON                NEW BERN                 NC
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35497   1GKS2GKC4KR180654   GM          YUKON                ORLANDO                  FL
35498   1GKS2GKC4KR182503   GM          YUKON                Albuquerque              NM
35499   1GKS2GKC4KR184171   GM          YUKON                LOS ANGELES AP           CA
35500   1GKS2GKC4KR184655   GM          YUKON                DENVER                   CO
35501   1GKS2GKC4KR190830   GM          YUKON                DENVER                   CO
35502   1GKS2GKC4KR199575   GM          YUKON                LAS VEGAS                NV
35503   1GKS2GKC4KR286814   GM          YUKON                NEWARK                   NJ
35504   1GKS2GKC4LR152287   GM          YUKON                PHOENIX                  AZ
35505   1GKS2GKC4LR152337   GM          YUKON                LAS VEGAS                NV
35506   1GKS2GKC4LR152709   GM          YUKON                MIAMI                    FL
35507   1GKS2GKC4LR152757   GM          YUKON                LAS VEGAS                NV
35508   1GKS2GKC4LR153178   GM          YUKON                PHOENIX                  AZ
35509   1GKS2GKC4LR153469   GM          YUKON                FORT MYERS               FL
35510   1GKS2GKC4LR154007   GM          YUKON                PHOENIX                  AZ
35511   1GKS2GKC4LR154170   GM          YUKON                NORFOLK                  VA
35512   1GKS2GKC4LR154198   GM          YUKON                MIAMI                    FL
35513   1GKS2GKC4LR156906   GM          YUKON                PHOENIX                  AZ
35514   1GKS2GKC4LR157487   GM          YUKON                ORLANDO                  FL
35515   1GKS2GKC4LR157831   GM          YUKON                Cedar Rapids             IA
35516   1GKS2GKC4LR158056   GM          YUKON                Atlanta                  GA
35517   1GKS2GKC4LR158090   GM          YUKON                PHOENIX                  AZ
35518   1GKS2GKC4LR159059   GM          YUKON                LOS ANGELES              CA
35519   1GKS2GKC4LR159398   GM          YUKON                DALLAS                   TX
35520   1GKS2GKC4LR160146   GM          YUKON                DALLAS                   TX
35521   1GKS2GKC4LR161099   GM          YUKON                NEW BERN                 NC
35522   1GKS2GKC4LR161703   GM          YUKON                PORTLAND                 OR
35523   1GKS2GKC4LR162074   GM          YUKON                ORLANDO                  FL
35524   1GKS2GKC4LR162219   GM          YUKON                Detroit                  MI
35525   1GKS2GKC4LR162303   GM          YUKON                PORTLAND                 OR
35526   1GKS2GKC4LR162866   GM          YUKON                MYRTLE BEACH             SC
35527   1GKS2GKC4LR163239   GM          YUKON                DANIA                    FL
35528   1GKS2GKC4LR163693   GM          YUKON                FORT LAUDERDALE          FL
35529   1GKS2GKC4LR163855   GM          YUKON                DALLAS                   TX
35530   1GKS2GKC4LR164214   GM          YUKON                ORLANDO                  FL
35531   1GKS2GKC4LR164245   GM          YUKON                Dallas                   TX
35532   1GKS2GKC4LR164326   GM          YUKON                NASHVILLE                TN
35533   1GKS2GKC4LR164603   GM          YUKON                ORLANDO                  FL
35534   1GKS2GKC4LR164827   GM          YUKON                FRISCO HLE               CO
35535   1GKS2GKC4LR165363   GM          YUKON                PHILADELPHIA             PA
35536   1GKS2GKC4LR165542   GM          YUKON                HOUSTON                  TX
35537   1GKS2GKC4LR165556   GM          YUKON                NEW ORLEANS              LA
35538   1GKS2GKC4LR165699   GM          YUKON                KANSAS CITY              MO
35539   1GKS2GKC4LR165718   GM          YUKON                MIAMI                    FL
35540   1GKS2GKC4LR167632   GM          YUKON                ORLANDO                  FL
35541   1GKS2GKC4LR167646   GM          YUKON                NEW BERN                 NC
35542   1GKS2GKC4LR168831   GM          YUKON                LOS ANGELES              CA
35543   1GKS2GKC4LR170384   GM          YUKON                TAMPA                    FL
35544   1GKS2GKC4LR170501   GM          YUKON                MIAMI                    FL
35545   1GKS2GKC4LR173799   GM          YUKON                KANSAS CITY              MO
35546   1GKS2GKC4LR176024   GM          YUKON                SANTA ANA                CA
35547   1GKS2GKC4LR176539   GM          YUKON                ALBUQUERQUE              NM
35548   1GKS2GKC4LR176945   GM          YUKON                LUBBOCK                  TX
35549   1GKS2GKC4LR176959   GM          YUKON                LAS VEGAS                NV
35550   1GKS2GKC4LR177013   GM          YUKON                INGLEWOOD                CA
35551   1GKS2GKC4LR177092   GM          YUKON                OAKLAND                  CA
35552   1GKS2GKC4LR177822   GM          YUKON                LOS ANGELES              CA
35553   1GKS2GKC4LR177853   GM          YUKON                SALT LAKE CITY           UT
35554   1GKS2GKC4LR177870   GM          YUKON                DENVER                   CO
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35555   1GKS2GKC4LR177898   GM          YUKON                LAS VEGAS                NV
35556   1GKS2GKC4LR177920   GM          YUKON                BOZEMAN                  MT
35557   1GKS2GKC4LR177951   GM          YUKON                GUNNISON                 CO
35558   1GKS2GKC4LR178212   GM          YUKON                SARASOTA                 FL
35559   1GKS2GKC4LR178422   GM          YUKON                SACRAMENTO               CA
35560   1GKS2GKC4LR178503   GM          YUKON                LOS ANGELES              CA
35561   1GKS2GKC4LR178548   GM          YUKON                INGLEWOOD                CA
35562   1GKS2GKC4LR199626   GM          YUKON                ONTARIO                  CA
35563   1GKS2GKC4LR199643   GM          YUKON                HOUSTON                  TX
35564   1GKS2GKC4LR201326   GM          YUKON                SALT LAKE CITY           US
35565   1GKS2GKC4LR201908   GM          YUKON                LOS ANGELES              CA
35566   1GKS2GKC4LR204131   GM          YUKON                PITTSBURGH               PA
35567   1GKS2GKC4LR204226   GM          YUKON                STERLING                 VA
35568   1GKS2GKC4LR205408   GM          YUKON                GYPSUM                   CO
35569   1GKS2GKC4LR205456   GM          YUKON                DENVER                   CO
35570   1GKS2GKC4LR205960   GM          YUKON                SALT LAKE CITY           US
35571   1GKS2GKC4LR206221   GM          YUKON                ONTARIO                  CA
35572   1GKS2GKC4LR206476   GM          YUKON                DALLAS                   TX
35573   1GKS2GKC4LR207868   GM          YUKON                SAN DIEGO                CA
35574   1GKS2GKC4LR208079   GM          YUKON                ONTARIO                  CA
35575   1GKS2GKC4LR208096   GM          YUKON                GYPSUM                   CO
35576   1GKS2GKC4LR208597   GM          YUKON                DENVER                   CO
35577   1GKS2GKC4LR210608   GM          YUKON                HOUSTON                  TX
35578   1GKS2GKC4LR211192   GM          YUKON                HOUSTON                  TX
35579   1GKS2GKC4LR211340   GM          YUKON                SARASOTA                 FL
35580   1GKS2GKC4LR211435   GM          YUKON                OKLAHOMA CITY            OK
35581   1GKS2GKC4LR216246   GM          YUKON                DENVER                   CO
35582   1GKS2GKC4LR235878   GM          YUKON                JACKSONVILLE             FL
35583   1GKS2GKC4LR237260   GM          YUKON                BURBANK                  CA
35584   1GKS2GKC4LR240479   GM          YUKON                KNOXVILLE                TN
35585   1GKS2GKC4LR242698   GM          YUKON                MIAMI                    FL
35586   1GKS2GKC4LR244435   GM          YUKON                Miami                    FL
35587   1GKS2GKC4LR249831   GM          YUKON                CHICAGO                  IL
35588   1GKS2GKC4LR259954   GM          YUKON                PHILADELPHIA             PA
35589   1GKS2GKC4LR260313   GM          YUKON                SAN JOSE                 CA
35590   1GKS2GKC4LR260361   GM          YUKON                PHOENIX                  AZ
35591   1GKS2GKC4LR262966   GM          YUKON                NEW BERN                 NC
35592   1GKS2GKC4LR267777   GM          YUKON                Portland                 ME
35593   1GKS2GKC4LR269612   GM          YUKON                ORLANDO                  FL
35594   1GKS2GKC4LR272025   GM          YUKON                ALBANY                   NY
35595   1GKS2GKC4LR285308   GM          YUKON                DENVER                   CO
35596   1GKS2GKC4LR285776   GM          YUKON                SAN JOSE                 CA
35597   1GKS2GKC5HR131648   GM          YUKON                TRACY                    CA
35598   1GKS2GKC5HR131892   GM          YUKON                Hayward                  CA
35599   1GKS2GKC5HR135215   GM          YUKON                Fontana                  CA
35600   1GKS2GKC5HR135313   GM          YUKON                Hayward                  CA
35601   1GKS2GKC5HR135523   GM          YUKON                Riverside                CA
35602   1GKS2GKC5HR135733   GM          YUKON                Stockton                 CA
35603   1GKS2GKC5HR136333   GM          YUKON                Hayward                  CA
35604   1GKS2GKC5HR317061   GM          YUKON                Fontana                  CA
35605   1GKS2GKC5HR318579   GM          YUKON                KAUAI                    HI
35606   1GKS2GKC5HR319814   GM          YUKON                Portland                 OR
35607   1GKS2GKC5HR321806   GM          YUKON                Hayward                  CA
35608   1GKS2GKC5HR322485   GM          YUKON                Hayward                  CA
35609   1GKS2GKC5HR325001   GM          YUKON                PLEASANTON               CA
35610   1GKS2GKC5KR158324   GM          YUKON                STERLING                 VA
35611   1GKS2GKC5KR159621   GM          YUKON                Bensalem                 PA
35612   1GKS2GKC5KR160624   GM          YUKON                Manheim                  PA
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35613   1GKS2GKC5KR160932   GM          YUKON                Davie                    FL
35614   1GKS2GKC5KR160977   GM          YUKON                TUCSON                   AZ
35615   1GKS2GKC5KR161322   GM          YUKON                GUNNISON                 CO
35616   1GKS2GKC5KR161434   GM          YUKON                SAN DIEGO                CA
35617   1GKS2GKC5KR162261   GM          YUKON                INDIANAPOLIS             IN
35618   1GKS2GKC5KR163264   GM          YUKON                North Las Vegas          NV
35619   1GKS2GKC5KR163586   GM          YUKON                BOISE                    US
35620   1GKS2GKC5KR163698   GM          YUKON                TAMPA                    FL
35621   1GKS2GKC5KR163703   GM          YUKON                NEWARK                   NJ
35622   1GKS2GKC5KR165600   GM          YUKON                Newark                   NJ
35623   1GKS2GKC5KR165841   GM          YUKON                FORT LAUDERDALE          FL
35624   1GKS2GKC5KR166908   GM          YUKON                GYPSUM                   CO
35625   1GKS2GKC5KR167248   GM          YUKON                Tampa                    FL
35626   1GKS2GKC5KR167346   GM          YUKON                Rio Linda                CA
35627   1GKS2GKC5KR168061   GM          YUKON                SAN DIEGO                CA
35628   1GKS2GKC5KR168240   GM          YUKON                COLLEGE PARK             GA
35629   1GKS2GKC5KR170649   GM          YUKON                North Dighton            MA
35630   1GKS2GKC5KR171090   GM          YUKON                Davie                    FL
35631   1GKS2GKC5KR175303   GM          YUKON                Fontana                  CA
35632   1GKS2GKC5KR177892   GM          YUKON                SACRAMENTO               CA
35633   1GKS2GKC5KR179335   GM          YUKON                DENVER                   CO
35634   1GKS2GKC5KR179397   GM          YUKON                SARASOTA                 FL
35635   1GKS2GKC5KR180520   GM          YUKON                Fontana                  CA
35636   1GKS2GKC5KR180811   GM          YUKON                CHICAGO                  IL
35637   1GKS2GKC5KR181439   GM          YUKON                WEST COLUMBIA            SC
35638   1GKS2GKC5KR181828   GM          YUKON                BOSTON                   MA
35639   1GKS2GKC5KR181845   GM          YUKON                Hayward                  CA
35640   1GKS2GKC5KR182767   GM          YUKON                AUGUSTA                  GA
35641   1GKS2GKC5KR182915   GM          YUKON                HAPEVILLE                GA
35642   1GKS2GKC5KR183353   GM          YUKON                Rio Linda                CA
35643   1GKS2GKC5KR183479   GM          YUKON                HOUSTON                  TX
35644   1GKS2GKC5KR183806   GM          YUKON                Miami                    FL
35645   1GKS2GKC5KR183966   GM          YUKON                SAN JOSE                 CA
35646   1GKS2GKC5KR184096   GM          YUKON                Norfolk                  VA
35647   1GKS2GKC5KR185104   GM          YUKON                Florissant               MO
35648   1GKS2GKC5KR185460   GM          YUKON                SAN DIEGO                CA
35649   1GKS2GKC5KR186026   GM          YUKON                GWINN                    MI
35650   1GKS2GKC5KR190240   GM          YUKON                DENVER                   CO
35651   1GKS2GKC5KR192019   GM          YUKON                Fontana                  CA
35652   1GKS2GKC5KR197009   GM          YUKON                DENVER                   CO
35653   1GKS2GKC5KR231756   GM          YUKON                Columbus                 OH
35654   1GKS2GKC5KR238514   GM          YUKON                MILWAUKEE                WI
35655   1GKS2GKC5KR253336   GM          YUKON                FORT LAUDERDALE          FL
35656   1GKS2GKC5LR152279   GM          YUKON                SOUTH BEND               IN
35657   1GKS2GKC5LR152489   GM          YUKON                LAS VEGAS                NV
35658   1GKS2GKC5LR152492   GM          YUKON                NEW BERN                 NC
35659   1GKS2GKC5LR153996   GM          YUKON                WEST COLUMBIA            SC
35660   1GKS2GKC5LR154243   GM          YUKON                ORLANDO                  FL
35661   1GKS2GKC5LR154761   GM          YUKON                PALM SPRINGS             CA
35662   1GKS2GKC5LR154775   GM          YUKON                ORLANDO                  FL
35663   1GKS2GKC5LR155635   GM          YUKON                SAN FRANCISCO            CA
35664   1GKS2GKC5LR156073   GM          YUKON                INGLEWOOD                CA
35665   1GKS2GKC5LR156140   GM          YUKON                Atlanta                  GA
35666   1GKS2GKC5LR156283   GM          YUKON                Teterboro                NJ
35667   1GKS2GKC5LR156557   GM          YUKON                TUCSON                   AZ
35668   1GKS2GKC5LR157594   GM          YUKON                FORT LAUDERDALE          FL
35669   1GKS2GKC5LR158485   GM          YUKON                JAMAICA                  NY
35670   1GKS2GKC5LR159507   GM          YUKON                WEST PALM BEACH          FL
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35671   1GKS2GKC5LR159717   GM           YUKON                MIAMI                    FL
35672   1GKS2GKC5LR160365   GM           YUKON                SAN ANTONIO              TX
35673   1GKS2GKC5LR160396   GM           YUKON                FORT MYERS               FL
35674   1GKS2GKC5LR160642   GM           YUKON                ORLANDO                  FL
35675   1GKS2GKC5LR160768   GM           YUKON                HOUSTON                  TX
35676   1GKS2GKC5LR161225   GM           YUKON                MIAMI                    FL
35677   1GKS2GKC5LR161368   GM           YUKON                Irving                   TX
35678   1GKS2GKC5LR161578   GM           YUKON                LEXINGTON                KY
35679   1GKS2GKC5LR161967   GM           YUKON                INDIANAPOLIS             IN
35680   1GKS2GKC5LR162326   GM           YUKON                PENSACOLA                FL
35681   1GKS2GKC5LR163606   GM           YUKON                KNOXVILLE                TN
35682   1GKS2GKC5LR163847   GM           YUKON                MIAMI                    FL
35683   1GKS2GKC5LR163878   GM           YUKON                Tampa                    FL
35684   1GKS2GKC5LR164996   GM           YUKON                ORLANDO                  FL
35685   1GKS2GKC5LR165243   GM           YUKON                NEW BERN                 NC
35686   1GKS2GKC5LR165288   GM           YUKON                SAN JOSE                 CA
35687   1GKS2GKC5LR165730   GM           YUKON                SAN DIEGO                CA
35688   1GKS2GKC5LR165761   GM           YUKON                FORT MYERS               FL
35689   1GKS2GKC5LR166442   GM           YUKON                TAMPA                    FL
35690   1GKS2GKC5LR168966   GM           YUKON                LAS VEGAS                NV
35691   1GKS2GKC5LR169115   GM           YUKON                HOUSTON                  TX
35692   1GKS2GKC5LR170376   GM           YUKON                DALLAS                   TX
35693   1GKS2GKC5LR170698   GM           YUKON                BALTIMORE                MD
35694   1GKS2GKC5LR170782   GM           YUKON                DALLAS                   TX
35695   1GKS2GKC5LR172435   GM           YUKON                MONTEREY                 CA
35696   1GKS2GKC5LR172466   GM           YUKON                PORTLAND                 OR
35697   1GKS2GKC5LR173651   GM           YUKON                LOS ANGELES              CA
35698   1GKS2GKC5LR173679   GM           YUKON                SAN DIEGO                CA
35699   1GKS2GKC5LR173715   GM           YUKON                SANTA ANA                CA
35700   1GKS2GKC5LR175996   GM           YUKON                SANTA ANA                CA
35701   1GKS2GKC5LR176923   GM           YUKON                LAS VEGAS                NV
35702   1GKS2GKC5LR176937   GM           YUKON                PHOENIX                  AZ
35703   1GKS2GKC5LR176999   GM           YUKON                DAYTON                   OH
35704   1GKS2GKC5LR177103   GM           YUKON                LOS ANGELES              CA
35705   1GKS2GKC5LR177182   GM           YUKON                HAILEY SUN VALLEY        ID
35706   1GKS2GKC5LR177828   GM           YUKON                INGLEWOOD                CA
35707   1GKS2GKC5LR177909   GM           YUKON                PHOENIX                  AZ
35708   1GKS2GKC5LR177912   GM           YUKON                LOS ANGELES              CA
35709   1GKS2GKC5LR177988   GM           YUKON                LAS VEGAS                NV
35710   1GKS2GKC5LR178493   GM           YUKON                SAN FRANCISCO            CA
35711   1GKS2GKC5LR178509   GM           YUKON                PHOENIX                  AZ
35712   1GKS2GKC5LR190742   GM           YUKON                AUSTIN                   TX
35713   1GKS2GKC5LR199070   GM           YUKON                SALT LAKE CITY           UT
35714   1GKS2GKC5LR199778   GM           YUKON                SALT LAKE CITY           US
35715   1GKS2GKC5LR199876   GM           YUKON                SALT LAKE CITY           UT
35716   1GKS2GKC5LR200055   GM           YUKON                NASHVILLE                TN
35717   1GKS2GKC5LR202937   GM           YUKON                LAS VEGAS                NV
35718   1GKS2GKC5LR203831   GM           YUKON                Atlanta                  GA
35719   1GKS2GKC5LR204252   GM           YUKON                DETROIT                  MI
35720   1GKS2GKC5LR204509   GM           YUKON                RONKONKOMA               NY
35721   1GKS2GKC5LR204820   GM           YUKON                DENVER                   CO
35722   1GKS2GKC5LR204977   GM           YUKON                SYRACUSE                 NY
35723   1GKS2GKC5LR205000   GM           YUKON                SAINT PAUL               MN
35724   1GKS2GKC5LR205546   GM           YUKON                AUSTIN                   TX
35725   1GKS2GKC5LR206230   GM           YUKON                SALT LAKE CITY           US
35726   1GKS2GKC5LR206793   GM           YUKON                LUBBOCK                  TX
35727   1GKS2GKC5LR206857   GM           YUKON                FRESNO                   CA
35728   1GKS2GKC5LR207006   GM           YUKON                APPLETON                 WI
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35729   1GKS2GKC5LR207426   GM          YUKON                SAN ANTONIO              TX
35730   1GKS2GKC5LR209175   GM          YUKON                PHILADELPHIA             US
35731   1GKS2GKC5LR209242   GM          YUKON                ROANOKE                  VA
35732   1GKS2GKC5LR209273   GM          YUKON                DENVER                   CO
35733   1GKS2GKC5LR209371   GM          YUKON                AUSTIN                   TX
35734   1GKS2GKC5LR209418   GM          YUKON                DENVER                   CO
35735   1GKS2GKC5LR213355   GM          YUKON                DALLAS                   TX
35736   1GKS2GKC5LR213842   GM          YUKON                SAINT LOUIS              MO
35737   1GKS2GKC5LR238689   GM          YUKON                LOS ANGELES              CA
35738   1GKS2GKC5LR239373   GM          YUKON                DETROIT                  MI
35739   1GKS2GKC5LR240216   GM          YUKON                HANOVER                  MD
35740   1GKS2GKC5LR240457   GM          YUKON                KEY WEST                 FL
35741   1GKS2GKC5LR241608   GM          YUKON                MIAMI                    FL
35742   1GKS2GKC5LR241785   GM          YUKON                FORT LAUDERDALE          FL
35743   1GKS2GKC5LR242273   GM          YUKON                WEST PALM BEACH          FL
35744   1GKS2GKC5LR242600   GM          YUKON                ATLANTA                  GA
35745   1GKS2GKC5LR244217   GM          YUKON                Miami                    FL
35746   1GKS2GKC5LR245089   GM          YUKON                WEST PALM BEACH          FL
35747   1GKS2GKC5LR250194   GM          YUKON                GRAND RAPIDS             MI
35748   1GKS2GKC5LR250227   GM          YUKON                CHICAGO O'HARE AP        IL
35749   1GKS2GKC5LR250261   GM          YUKON                BLOOMINGTON              IL
35750   1GKS2GKC5LR250292   GM          YUKON                SPRINGFIELD              VA
35751   1GKS2GKC5LR260997   GM          YUKON                Ft. Myers                FL
35752   1GKS2GKC5LR261700   GM          YUKON                WEST PALM BEACH          FL
35753   1GKS2GKC5LR263656   GM          YUKON                SARASOTA                 FL
35754   1GKS2GKC5LR269571   GM          YUKON                PHILADELPHIA             PA
35755   1GKS2GKC5LR276388   GM          YUKON                LAS VEGAS                NV
35756   1GKS2GKC6HR131416   GM          YUKON                Fontana                  CA
35757   1GKS2GKC6HR132601   GM          YUKON                TRACY                    CA
35758   1GKS2GKC6HR133747   GM          YUKON                Hayward                  CA
35759   1GKS2GKC6HR136373   GM          YUKON                Riverside                CA
35760   1GKS2GKC6HR315867   GM          YUKON                SAN FRANCISCO            CA
35761   1GKS2GKC6HR316193   GM          YUKON                LIHUE                    HI
35762   1GKS2GKC6HR320616   GM          YUKON                Hayward                  CA
35763   1GKS2GKC6HR322334   GM          YUKON                Honolulu                 HI
35764   1GKS2GKC6HR323077   GM          YUKON                Portland                 OR
35765   1GKS2GKC6HR325461   GM          YUKON                Hayward                  CA
35766   1GKS2GKC6HR326335   GM          YUKON                Hayward                  CA
35767   1GKS2GKC6HR327663   GM          YUKON                Fontana                  CA
35768   1GKS2GKC6HR327937   GM          YUKON                Hayward                  CA
35769   1GKS2GKC6HR328389   GM          YUKON                Hayward                  CA
35770   1GKS2GKC6KR158316   GM          YUKON                MIAMI                    FL
35771   1GKS2GKC6KR158462   GM          YUKON                Fontana                  CA
35772   1GKS2GKC6KR158736   GM          YUKON                ORLANDO                  FL
35773   1GKS2GKC6KR159207   GM          YUKON                TAMPA                    US
35774   1GKS2GKC6KR159806   GM          YUKON                ORLANDO                  FL
35775   1GKS2GKC6KR159823   GM          YUKON                MIAMI                    FL
35776   1GKS2GKC6KR160017   GM          YUKON                Teterboro                NJ
35777   1GKS2GKC6KR160325   GM          YUKON                DAYTONA BEACH            FL
35778   1GKS2GKC6KR161300   GM          YUKON                TAMPA                    US
35779   1GKS2GKC6KR161412   GM          YUKON                Davie                    FL
35780   1GKS2GKC6KR162303   GM          YUKON                WEST PALM BEACH          FL
35781   1GKS2GKC6KR162706   GM          YUKON                GYPSUM                   CO
35782   1GKS2GKC6KR163175   GM          YUKON                Riverside                CA
35783   1GKS2GKC6KR163287   GM          YUKON                ALBANY                   NY
35784   1GKS2GKC6KR163306   GM          YUKON                Manheim                  PA
35785   1GKS2GKC6KR163760   GM          YUKON                Manheim                  PA
35786   1GKS2GKC6KR164178   GM          YUKON                DAYTONA BEACH            FL
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35787   1GKS2GKC6KR164262   GM          YUKON                Fontana                  CA
35788   1GKS2GKC6KR164777   GM          YUKON                Charlotte                NC
35789   1GKS2GKC6KR165346   GM          YUKON                Greensboro               NC
35790   1GKS2GKC6KR166903   GM          YUKON                HOUSTON                  TX
35791   1GKS2GKC6KR167257   GM          YUKON                North Dighton            MA
35792   1GKS2GKC6KR167355   GM          YUKON                Aurora                   CO
35793   1GKS2GKC6KR168179   GM          YUKON                Riverside                CA
35794   1GKS2GKC6KR168487   GM          YUKON                WEST PALM BEACH          FL
35795   1GKS2GKC6KR169199   GM          YUKON                San Diego                CA
35796   1GKS2GKC6KR169462   GM          YUKON                MIAMI                    FL
35797   1GKS2GKC6KR170109   GM          YUKON                West Palm Beach          FL
35798   1GKS2GKC6KR170448   GM          YUKON                DALLAS                   TX
35799   1GKS2GKC6KR171079   GM          YUKON                Bordentown               NJ
35800   1GKS2GKC6KR171180   GM          YUKON                Massapequa               NY
35801   1GKS2GKC6KR171647   GM          YUKON                San Diego                CA
35802   1GKS2GKC6KR173947   GM          YUKON                GYPSUM                   CO
35803   1GKS2GKC6KR174127   GM          YUKON                S. San Francisc          CA
35804   1GKS2GKC6KR175195   GM          YUKON                STERLING                 VA
35805   1GKS2GKC6KR176654   GM          YUKON                DENVER                   CO
35806   1GKS2GKC6KR177285   GM          YUKON                DARLINGTON               SC
35807   1GKS2GKC6KR178050   GM          YUKON                PHOENIX                  AZ
35808   1GKS2GKC6KR179327   GM          YUKON                Davie                    FL
35809   1GKS2GKC6KR181725   GM          YUKON                Fontana                  CA
35810   1GKS2GKC6KR181787   GM          YUKON                Reno                     NV
35811   1GKS2GKC6KR182177   GM          YUKON                ORLANDO                  FL
35812   1GKS2GKC6KR182437   GM          YUKON                LEXINGTON                KY
35813   1GKS2GKC6KR182633   GM          YUKON                Fontana                  CA
35814   1GKS2GKC6KR184169   GM          YUKON                SOUTH SAN FRANC          CA
35815   1GKS2GKC6KR185693   GM          YUKON                TRACY                    CA
35816   1GKS2GKC6KR186035   GM          YUKON                SANTA FE                 NM
35817   1GKS2GKC6KR186049   GM          YUKON                PANAMA CITY              FL
35818   1GKS2GKC6KR188500   GM          YUKON                DETROIT                  MI
35819   1GKS2GKC6KR191199   GM          YUKON                Aurora                   CO
35820   1GKS2GKC6KR236335   GM          YUKON                OMAHA                    NE
35821   1GKS2GKC6KR246105   GM          YUKON                PALM SPRINGS             CA
35822   1GKS2GKC6LR152517   GM          YUKON                Phoenix                  AZ
35823   1GKS2GKC6LR152596   GM          YUKON                LOS ANGELES              CA
35824   1GKS2GKC6LR152971   GM          YUKON                NORFOLK                  VA
35825   1GKS2GKC6LR153263   GM          YUKON                CHICAGO                  IL
35826   1GKS2GKC6LR153781   GM          YUKON                TAMPA                    FL
35827   1GKS2GKC6LR154283   GM          YUKON                KANSAS CITY              MO
35828   1GKS2GKC6LR154588   GM          YUKON                Phoenix                  AZ
35829   1GKS2GKC6LR155482   GM          YUKON                FORT MYERS               FL
35830   1GKS2GKC6LR155515   GM          YUKON                SALT LAKE CITY           UT
35831   1GKS2GKC6LR156244   GM          YUKON                MIAMI                    FL
35832   1GKS2GKC6LR156275   GM          YUKON                ORLANDO                  FL
35833   1GKS2GKC6LR156955   GM          YUKON                Cicero                   NY
35834   1GKS2GKC6LR156969   GM          YUKON                PENSACOLA                FL
35835   1GKS2GKC6LR157278   GM          YUKON                Centreville              IL
35836   1GKS2GKC6LR158138   GM          YUKON                PHILADELPHIA             PA
35837   1GKS2GKC6LR158639   GM          YUKON                DENVER                   CO
35838   1GKS2GKC6LR158754   GM          YUKON                JACKSONVILLE             FL
35839   1GKS2GKC6LR158995   GM          YUKON                DENVER                   CO
35840   1GKS2GKC6LR159595   GM          YUKON                ORLANDO                  FL
35841   1GKS2GKC6LR159919   GM          YUKON                TAMPA                    FL
35842   1GKS2GKC6LR160102   GM          YUKON                Houston                  TX
35843   1GKS2GKC6LR160245   GM          YUKON                WARWICK                  RI
35844   1GKS2GKC6LR161797   GM          YUKON                SALT LAKE CITY           US
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35845   1GKS2GKC6LR162268   GM           YUKON                ORLANDO                  FL
35846   1GKS2GKC6LR162299   GM           YUKON                MIAMI                    FL
35847   1GKS2GKC6LR163968   GM           YUKON                SAN ANTONIO              TX
35848   1GKS2GKC6LR164330   GM           YUKON                HOUSTON                  TX
35849   1GKS2GKC6LR164389   GM           YUKON                FORT MYERS               FL
35850   1GKS2GKC6LR164537   GM           YUKON                GRAND RAPIDS             MI
35851   1GKS2GKC6LR164862   GM           YUKON                MIAMI                    FL
35852   1GKS2GKC6LR164912   GM           YUKON                SAN ANTONIO              TX
35853   1GKS2GKC6LR165073   GM           YUKON                ORLANDO                  FL
35854   1GKS2GKC6LR165557   GM           YUKON                BOSTON                   MA
35855   1GKS2GKC6LR165686   GM           YUKON                PHOENIX                  AZ
35856   1GKS2GKC6LR165722   GM           YUKON                MIAMI                    FL
35857   1GKS2GKC6LR165767   GM           YUKON                ALBUQUERQUE              NM
35858   1GKS2GKC6LR165865   GM           YUKON                PHILADELPHIA             PA
35859   1GKS2GKC6LR166000   GM           YUKON                FRESNO                   CA
35860   1GKS2GKC6LR166207   GM           YUKON                ORLANDO                  FL
35861   1GKS2GKC6LR166255   GM           YUKON                FORT LAUDERDALE          FL
35862   1GKS2GKC6LR166319   GM           YUKON                DALLAS                   TX
35863   1GKS2GKC6LR167471   GM           YUKON                KEY WEST                 FL
35864   1GKS2GKC6LR167521   GM           YUKON                STERLING                 VA
35865   1GKS2GKC6LR168197   GM           YUKON                FRESNO                   CA
35866   1GKS2GKC6LR170094   GM           YUKON                Hebron                   KY
35867   1GKS2GKC6LR170354   GM           YUKON                MIAMI                    FL
35868   1GKS2GKC6LR170516   GM           YUKON                MIAMI                    FL
35869   1GKS2GKC6LR173920   GM           YUKON                BURBANK                  CA
35870   1GKS2GKC6LR176557   GM           YUKON                FRESNO                   CA
35871   1GKS2GKC6LR176574   GM           YUKON                LAS VEGAS                NV
35872   1GKS2GKC6LR176915   GM           YUKON                INGLEWOOD                CA
35873   1GKS2GKC6LR177076   GM           YUKON                SALT LAKE CITY           UT
35874   1GKS2GKC6LR177546   GM           YUKON                LOS ANGELES              CA
35875   1GKS2GKC6LR177918   GM           YUKON                San Diego                CA
35876   1GKS2GKC6LR177966   GM           YUKON                SANTA ANA                CA
35877   1GKS2GKC6LR177983   GM           YUKON                LOS ANGELES              CA
35878   1GKS2GKC6LR178230   GM           YUKON                DENVER                   CO
35879   1GKS2GKC6LR178437   GM           YUKON                SEATTLE                  WA
35880   1GKS2GKC6LR178471   GM           YUKON                KANSAS CITY              MO
35881   1GKS2GKC6LR178499   GM           YUKON                DALLAS                   TX
35882   1GKS2GKC6LR190653   GM           YUKON                PORTLAND                 OR
35883   1GKS2GKC6LR190703   GM           YUKON                COLLEGE PARK             GA
35884   1GKS2GKC6LR199496   GM           YUKON                LAS VEGAS                NV
35885   1GKS2GKC6LR202817   GM           YUKON                NEW BERN                 NC
35886   1GKS2GKC6LR202882   GM           YUKON                LOUISVILLE               KY
35887   1GKS2GKC6LR203336   GM           YUKON                PORTLAND                 ME
35888   1GKS2GKC6LR203966   GM           YUKON                SYRACUSE                 NY
35889   1GKS2GKC6LR204180   GM           YUKON                NEWARK                   NJ
35890   1GKS2GKC6LR204289   GM           YUKON                Teterboro                NJ
35891   1GKS2GKC6LR204566   GM           YUKON                BIRMINGHAM               AL
35892   1GKS2GKC6LR205054   GM           YUKON                WHITE PLAINS             NY
35893   1GKS2GKC6LR206804   GM           YUKON                DENVER                   CO
35894   1GKS2GKC6LR207130   GM           YUKON                SALT LAKE CITY           UT
35895   1GKS2GKC6LR207449   GM           YUKON                ASHEVILLE                NC
35896   1GKS2GKC6LR208083   GM           YUKON                DENVER                   CO
35897   1GKS2GKC6LR209380   GM           YUKON                LAS VEGAS                NV
35898   1GKS2GKC6LR210321   GM           YUKON                SALT LAKE CITY           UT
35899   1GKS2GKC6LR213266   GM           YUKON                DALLAS                   TX
35900   1GKS2GKC6LR214000   GM           YUKON                CHICAGO                  IL
35901   1GKS2GKC6LR236658   GM           YUKON                LAS VEGAS                NV
35902   1GKS2GKC6LR238152   GM           YUKON                LOS ANGELES              CA
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35903   1GKS2GKC6LR239804   GM          YUKON                PHILADELPHIA             PA
35904   1GKS2GKC6LR241746   GM          YUKON                MIAMI                    FL
35905   1GKS2GKC6LR243948   GM          YUKON                WHITE PLAINS             NY
35906   1GKS2GKC6LR244260   GM          YUKON                JACKSONVILLE             FL
35907   1GKS2GKC6LR244324   GM          YUKON                PHOENIX                  AZ
35908   1GKS2GKC6LR247935   GM          YUKON                INDIANAPOLIS             IN
35909   1GKS2GKC6LR248521   GM          YUKON                OMAHA                    NE
35910   1GKS2GKC6LR249393   GM          YUKON                UNION CITY               GA
35911   1GKS2GKC6LR250446   GM          YUKON                SYRACUSE                 NY
35912   1GKS2GKC6LR252228   GM          YUKON                McHenry                  IL
35913   1GKS2GKC6LR262791   GM          YUKON                FORT LAUDERDALE          FL
35914   1GKS2GKC6LR263164   GM          YUKON                ORLANDO                  FL
35915   1GKS2GKC6LR265951   GM          YUKON                MIAMI                    FL
35916   1GKS2GKC6LR268476   GM          YUKON                ORLANDO                  FL
35917   1GKS2GKC6LR268963   GM          YUKON                JAMAICA                  NY
35918   1GKS2GKC6LR285696   GM          YUKON                DALLAS                   TX
35919   1GKS2GKC7HR117220   GM          YUKON                Fontana                  CA
35920   1GKS2GKC7HR118433   GM          YUKON                Hayward                  CA
35921   1GKS2GKC7HR121896   GM          YUKON                TRACY                    CA
35922   1GKS2GKC7HR130436   GM          YUKON                TRACY                    CA
35923   1GKS2GKC7HR131389   GM          YUKON                TRACY                    CA
35924   1GKS2GKC7HR131750   GM          YUKON                Riverside                CA
35925   1GKS2GKC7HR132588   GM          YUKON                Hayward                  CA
35926   1GKS2GKC7HR132994   GM          YUKON                Santa Clara              CA
35927   1GKS2GKC7HR134311   GM          YUKON                TRACY                    CA
35928   1GKS2GKC7HR134504   GM          YUKON                Riverside                CA
35929   1GKS2GKC7HR136589   GM          YUKON                Fontana                  CA
35930   1GKS2GKC7HR136866   GM          YUKON                Riverside                CA
35931   1GKS2GKC7HR220119   GM          YUKON                INDIANAPOLIS             IN
35932   1GKS2GKC7HR321306   GM          YUKON                Hayward                  CA
35933   1GKS2GKC7HR323735   GM          YUKON                Stockton                 CA
35934   1GKS2GKC7HR324917   GM          YUKON                Riverside                CA
35935   1GKS2GKC7HR328482   GM          YUKON                Hayward                  CA
35936   1GKS2GKC7KR157949   GM          YUKON                DAYTONA BEACH            FL
35937   1GKS2GKC7KR158213   GM          YUKON                Norwalk                  CA
35938   1GKS2GKC7KR158809   GM          YUKON                North Dighton            MA
35939   1GKS2GKC7KR159362   GM          YUKON                SAN FRANCISCO            CA
35940   1GKS2GKC7KR160365   GM          YUKON                Davie                    FL
35941   1GKS2GKC7KR160415   GM          YUKON                SANTA BARBARA            CA
35942   1GKS2GKC7KR160429   GM          YUKON                DENVER                   CO
35943   1GKS2GKC7KR160527   GM          YUKON                FORT LAUDERDALE          FL
35944   1GKS2GKC7KR160639   GM          YUKON                PHOENIX                  AZ
35945   1GKS2GKC7KR160706   GM          YUKON                Davie                    FL
35946   1GKS2GKC7KR160799   GM          YUKON                JACKSONVILLE             FL
35947   1GKS2GKC7KR160852   GM          YUKON                Roseville                CA
35948   1GKS2GKC7KR160883   GM          YUKON                NEW BERN                 NC
35949   1GKS2GKC7KR161077   GM          YUKON                BOSTON                   MA
35950   1GKS2GKC7KR161239   GM          YUKON                LOS ANGELES              CA
35951   1GKS2GKC7KR161290   GM          YUKON                SOUTHEAST DST OFFC       OK
35952   1GKS2GKC7KR161399   GM          YUKON                MIAMI                    FL
35953   1GKS2GKC7KR161533   GM          YUKON                LAS VEGAS                NV
35954   1GKS2GKC7KR161712   GM          YUKON                BOSTON                   MA
35955   1GKS2GKC7KR161872   GM          YUKON                Miami                    FL
35956   1GKS2GKC7KR161936   GM          YUKON                Ocoee                    FL
35957   1GKS2GKC7KR162259   GM          YUKON                SALT LAKE CITY           US
35958   1GKS2GKC7KR162729   GM          YUKON                WEST COLUMBIA            SC
35959   1GKS2GKC7KR163167   GM          YUKON                Statesville              NC
35960   1GKS2GKC7KR163573   GM          YUKON                GUNNISON                 CO
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35961   1GKS2GKC7KR163864   GM          YUKON                Davie                    FL
35962   1GKS2GKC7KR164240   GM          YUKON                Union City               GA
35963   1GKS2GKC7KR165162   GM          YUKON                MIAMI                    FL
35964   1GKS2GKC7KR165405   GM          YUKON                Londonderry              NH
35965   1GKS2GKC7KR165419   GM          YUKON                ATLANTA                  GA
35966   1GKS2GKC7KR166344   GM          YUKON                WEST PALM BEACH          FL
35967   1GKS2GKC7KR166487   GM          YUKON                WEST PALM BEACH          FL
35968   1GKS2GKC7KR166859   GM          YUKON                Des Plaines              IL
35969   1GKS2GKC7KR167378   GM          YUKON                MARQUETTE AP             MI
35970   1GKS2GKC7KR168451   GM          YUKON                SACRAMENTO               CA
35971   1GKS2GKC7KR168529   GM          YUKON                North Las Vegas          NV
35972   1GKS2GKC7KR169048   GM          YUKON                SAN DIEGO                CA
35973   1GKS2GKC7KR169325   GM          YUKON                SAN DIEGO                CA
35974   1GKS2GKC7KR169454   GM          YUKON                Tampa                    FL
35975   1GKS2GKC7KR169471   GM          YUKON                Bridgeton                MO
35976   1GKS2GKC7KR169793   GM          YUKON                DALLAS                   TX
35977   1GKS2GKC7KR179868   GM          YUKON                Davie                    FL
35978   1GKS2GKC7KR180972   GM          YUKON                PENSACOLA                FL
35979   1GKS2GKC7KR181507   GM          YUKON                BOSTON                   MA
35980   1GKS2GKC7KR181572   GM          YUKON                COLUMBUS                 OH
35981   1GKS2GKC7KR182172   GM          YUKON                Union City               GA
35982   1GKS2GKC7KR182446   GM          YUKON                Los Angeles              CA
35983   1GKS2GKC7KR182463   GM          YUKON                FORT LAUDERDALE          FL
35984   1GKS2GKC7KR184715   GM          YUKON                Portland                 ME
35985   1GKS2GKC7KR185668   GM          YUKON                Fontana                  CA
35986   1GKS2GKC7KR185721   GM          YUKON                Allentown                PA
35987   1GKS2GKC7KR185797   GM          YUKON                NEWARK                   NJ
35988   1GKS2GKC7KR189199   GM          YUKON                DENVER                   CO
35989   1GKS2GKC7KR191101   GM          YUKON                Philadelphia             PA
35990   1GKS2GKC7KR192801   GM          YUKON                DENVER                   CO
35991   1GKS2GKC7KR192863   GM          YUKON                PORTLAND                 OR
35992   1GKS2GKC7KR229555   GM          YUKON                GYPSUM                   CO
35993   1GKS2GKC7KR318509   GM          YUKON                Atlanta                  GA
35994   1GKS2GKC7LR152459   GM          YUKON                LAS VEGAS                NV
35995   1GKS2GKC7LR152882   GM          YUKON                PHOENIX                  AZ
35996   1GKS2GKC7LR152963   GM          YUKON                ROANOKE                  VA
35997   1GKS2GKC7LR153059   GM          YUKON                ORLANDO                  FL
35998   1GKS2GKC7LR153157   GM          YUKON                BUFFALO                  NY
35999   1GKS2GKC7LR153546   GM          YUKON                PORTLAND                 ME
36000   1GKS2GKC7LR154048   GM          YUKON                PHOENIX                  AZ
36001   1GKS2GKC7LR154647   GM          YUKON                FORT LAUDERDALE          FL
36002   1GKS2GKC7LR154843   GM          YUKON                KNOXVILLE                TN
36003   1GKS2GKC7LR155183   GM          YUKON                MIAMI                    FL
36004   1GKS2GKC7LR155734   GM          YUKON                ATLANTA METRO            GA
36005   1GKS2GKC7LR155992   GM          YUKON                Phoenix                  AZ
36006   1GKS2GKC7LR156379   GM          YUKON                PHOENIX                  AZ
36007   1GKS2GKC7LR157273   GM          YUKON                FORT LAUDERDALE          FL
36008   1GKS2GKC7LR157855   GM          YUKON                STERLING                 VA
36009   1GKS2GKC7LR158083   GM          YUKON                PHOENIX                  AZ
36010   1GKS2GKC7LR158598   GM          YUKON                DENVER                   CO
36011   1GKS2GKC7LR159797   GM          YUKON                HOUSTON                  TX
36012   1GKS2GKC7LR159962   GM          YUKON                FORT LAUDERDALE          FL
36013   1GKS2GKC7LR160285   GM          YUKON                CORPUS CHRISTI           TX
36014   1GKS2GKC7LR160318   GM          YUKON                HOUSTON                  TX
36015   1GKS2GKC7LR161565   GM          YUKON                HANOVER                  MD
36016   1GKS2GKC7LR161761   GM          YUKON                WEST PALM BEACH          FL
36017   1GKS2GKC7LR161775   GM          YUKON                ORLANDO                  FL
36018   1GKS2GKC7LR161954   GM          YUKON                DALLAS                   TX
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36019   1GKS2GKC7LR161999   GM           YUKON                TAMPA                    FL
36020   1GKS2GKC7LR162375   GM           YUKON                MIAMI                    FL
36021   1GKS2GKC7LR162456   GM           YUKON                BUFFALO                  NY
36022   1GKS2GKC7LR162845   GM           YUKON                FORT MYERS               FL
36023   1GKS2GKC7LR163378   GM           YUKON                KENNER                   LA
36024   1GKS2GKC7LR163803   GM           YUKON                SAVANNAH                 GA
36025   1GKS2GKC7LR164286   GM           YUKON                MIAMI                    FL
36026   1GKS2GKC7LR164787   GM           YUKON                KNOXVILLE                TN
36027   1GKS2GKC7LR165101   GM           YUKON                SAN ANTONIO              TX
36028   1GKS2GKC7LR165129   GM           YUKON                DFW AIRPORT              TX
36029   1GKS2GKC7LR165258   GM           YUKON                MIAMI                    FL
36030   1GKS2GKC7LR166409   GM           YUKON                FORT MYERS               FL
36031   1GKS2GKC7LR169469   GM           YUKON                MIAMI                    FL
36032   1GKS2GKC7LR169570   GM           YUKON                FORT LAUDERDALE          FL
36033   1GKS2GKC7LR171576   GM           YUKON                LOS ANGELES              CA
36034   1GKS2GKC7LR172016   GM           YUKON                LAS VEGAS                NV
36035   1GKS2GKC7LR175675   GM           YUKON                SACRAMENTO               CA
36036   1GKS2GKC7LR176700   GM           YUKON                MIAMI                    FL
36037   1GKS2GKC7LR176955   GM           YUKON                HAILEY SUN VALLEY        ID
36038   1GKS2GKC7LR177538   GM           YUKON                SAN FRANCISCO            CA
36039   1GKS2GKC7LR177796   GM           YUKON                SAN DIEGO                CA
36040   1GKS2GKC7LR177832   GM           YUKON                LOS ANGELES              CA
36041   1GKS2GKC7LR177846   GM           YUKON                Phoenix                  AZ
36042   1GKS2GKC7LR178477   GM           YUKON                WEST PALM BEACH          FL
36043   1GKS2GKC7LR178608   GM           YUKON                BURBANK                  CA
36044   1GKS2GKC7LR190175   GM           YUKON                COLLEGE PARK             GA
36045   1GKS2GKC7LR199670   GM           YUKON                OAKLAND                  CA
36046   1GKS2GKC7LR201305   GM           YUKON                CHARLOTTE                NC
36047   1GKS2GKC7LR204110   GM           YUKON                CHICAGO                  IL
36048   1GKS2GKC7LR204169   GM           YUKON                Atlanta                  GA
36049   1GKS2GKC7LR204253   GM           YUKON                ORLANDO                  FL
36050   1GKS2GKC7LR204270   GM           YUKON                WEST PALM BEACH          FL
36051   1GKS2GKC7LR204902   GM           YUKON                LOS ANGELES              CA
36052   1GKS2GKC7LR204933   GM           YUKON                Teterboro                NJ
36053   1GKS2GKC7LR205970   GM           YUKON                SALT LAKE CITY           US
36054   1GKS2GKC7LR205984   GM           YUKON                DENVER                   CO
36055   1GKS2GKC7LR206438   GM           YUKON                NEWARK                   NJ
36056   1GKS2GKC7LR207850   GM           YUKON                DES MOINES               IA
36057   1GKS2GKC7LR208075   GM           YUKON                DENVER                   CO
36058   1GKS2GKC7LR208089   GM           YUKON                DENVER                   CO
36059   1GKS2GKC7LR209114   GM           YUKON                DENVER                   CO
36060   1GKS2GKC7LR210327   GM           YUKON                NORFOLK                  US
36061   1GKS2GKC7LR211221   GM           YUKON                CORPUS CHRISTI           TX
36062   1GKS2GKC7LR213213   GM           YUKON                Tulsa                    OK
36063   1GKS2GKC7LR236250   GM           YUKON                SAN DIEGO                CA
36064   1GKS2GKC7LR237902   GM           YUKON                SACRAMENTO               CA
36065   1GKS2GKC7LR239374   GM           YUKON                ORLANDO                  FL
36066   1GKS2GKC7LR239617   GM           YUKON                KEY WEST                 FL
36067   1GKS2GKC7LR239620   GM           YUKON                WEST PALM BEACH          FL
36068   1GKS2GKC7LR240556   GM           YUKON                ORLANDO                  FL
36069   1GKS2GKC7LR243036   GM           YUKON                TAMPA                    FL
36070   1GKS2GKC7LR244526   GM           YUKON                PITTSBURGH               PA
36071   1GKS2GKC7LR249547   GM           YUKON                GRAND RAPIDS             MI
36072   1GKS2GKC7LR249841   GM           YUKON                INDIANAPOLIS             IN
36073   1GKS2GKC7LR250214   GM           YUKON                RONKONKOMA               NY
36074   1GKS2GKC7LR251248   GM           YUKON                NEWARK                   NJ
36075   1GKS2GKC7LR252870   GM           YUKON                CHICAGO                  IL
36076   1GKS2GKC7LR252884   GM           YUKON                CHICAGO                  IL
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36077   1GKS2GKC7LR260869   GM          YUKON                NEW YORK CITY            NY
36078   1GKS2GKC7LR261584   GM          YUKON                Miami                    FL
36079   1GKS2GKC7LR274254   GM          YUKON                COLUMBUS                 OH
36080   1GKS2GKC7LR282659   GM          YUKON                Los Angeles              CA
36081   1GKS2GKC8HR113659   GM          YUKON                Atlanta                  GA
36082   1GKS2GKC8HR119851   GM          YUKON                TRACY                    CA
36083   1GKS2GKC8HR131174   GM          YUKON                Riverside                CA
36084   1GKS2GKC8HR133717   GM          YUKON                Rio Linda                CA
36085   1GKS2GKC8HR134155   GM          YUKON                Sacramento               CA
36086   1GKS2GKC8HR135547   GM          YUKON                Fontana                  CA
36087   1GKS2GKC8HR318673   GM          YUKON                Hayward                  CA
36088   1GKS2GKC8HR323355   GM          YUKON                PLEASANTON               CA
36089   1GKS2GKC8HR323484   GM          YUKON                Hayward                  CA
36090   1GKS2GKC8HR327227   GM          YUKON                Hayward                  CA
36091   1GKS2GKC8JR201004   GM          YUKON                Tampa                    FL
36092   1GKS2GKC8KR159418   GM          YUKON                SALT LAKE CITY           UT
36093   1GKS2GKC8KR159564   GM          YUKON                Atlanta                  GA
36094   1GKS2GKC8KR160780   GM          YUKON                SAN DIEGO                CA
36095   1GKS2GKC8KR160827   GM          YUKON                WEST PALM BEACH          FL
36096   1GKS2GKC8KR161363   GM          YUKON                MIAMI                    FL
36097   1GKS2GKC8KR161721   GM          YUKON                INDIANAPOLIS             IN
36098   1GKS2GKC8KR161931   GM          YUKON                FORT MYERS               FL
36099   1GKS2GKC8KR162884   GM          YUKON                Tampa                    FL
36100   1GKS2GKC8KR163131   GM          YUKON                Savannah                 GA
36101   1GKS2GKC8KR163260   GM          YUKON                OAKLAND                  CA
36102   1GKS2GKC8KR163310   GM          YUKON                MARIETTA                 GA
36103   1GKS2GKC8KR163372   GM          YUKON                NEW BERN                 NC
36104   1GKS2GKC8KR163517   GM          YUKON                ORLANDO                  FL
36105   1GKS2GKC8KR163730   GM          YUKON                RONKONKOMA               NY
36106   1GKS2GKC8KR163811   GM          YUKON                DENVER                   CO
36107   1GKS2GKC8KR164358   GM          YUKON                SALT LAKE CITY           UT
36108   1GKS2GKC8KR164375   GM          YUKON                Rock Hill                SC
36109   1GKS2GKC8KR164568   GM          YUKON                North Dighton            MA
36110   1GKS2GKC8KR164571   GM          YUKON                Smithtown                NY
36111   1GKS2GKC8KR165560   GM          YUKON                Hartford                 CT
36112   1GKS2GKC8KR166059   GM          YUKON                PHOENIX                  AZ
36113   1GKS2GKC8KR166532   GM          YUKON                Hayward                  CA
36114   1GKS2GKC8KR166997   GM          YUKON                San Diego                CA
36115   1GKS2GKC8KR167728   GM          YUKON                Miami                    FL
36116   1GKS2GKC8KR167745   GM          YUKON                MIAMI                    FL
36117   1GKS2GKC8KR168118   GM          YUKON                LAS VEGAS                NV
36118   1GKS2GKC8KR169138   GM          YUKON                SAN DIEGO                CA
36119   1GKS2GKC8KR169866   GM          YUKON                TAMPA                    FL
36120   1GKS2GKC8KR170161   GM          YUKON                Atlanta                  GA
36121   1GKS2GKC8KR170712   GM          YUKON                SAN FRANCISCO            CA
36122   1GKS2GKC8KR170810   GM          YUKON                LAS VEGAS                NV
36123   1GKS2GKC8KR170886   GM          YUKON                Ventura                  CA
36124   1GKS2GKC8KR171178   GM          YUKON                Fresno                   CA
36125   1GKS2GKC8KR174615   GM          YUKON                DAYTONA BEACH            FL
36126   1GKS2GKC8KR175182   GM          YUKON                Davie                    FL
36127   1GKS2GKC8KR178387   GM          YUKON                North Dighton            MA
36128   1GKS2GKC8KR180933   GM          YUKON                Roseville                CA
36129   1GKS2GKC8KR181855   GM          YUKON                Riverside                CA
36130   1GKS2GKC8KR182598   GM          YUKON                San Antonio              TX
36131   1GKS2GKC8KR183217   GM          YUKON                Salt Lake City           UT
36132   1GKS2GKC8KR183864   GM          YUKON                Detroit                  MI
36133   1GKS2GKC8KR185369   GM          YUKON                Sacramento               CA
36134   1GKS2GKC8KR185694   GM          YUKON                SANTA CLARA              CA
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36135   1GKS2GKC8KR185890   GM          YUKON                LOS ANGELES              CA
36136   1GKS2GKC8KR192841   GM          YUKON                Sacramento               CA
36137   1GKS2GKC8KR215180   GM          YUKON                DALLAS                   TX
36138   1GKS2GKC8KR215423   GM          YUKON                Atlanta                  GA
36139   1GKS2GKC8KR297041   GM          YUKON                KENNER                   LA
36140   1GKS2GKC8LR152499   GM          YUKON                LAS VEGAS                NV
36141   1GKS2GKC8LR152762   GM          YUKON                PHOENIX                  AZ
36142   1GKS2GKC8LR152938   GM          YUKON                ORLANDO                  FL
36143   1GKS2GKC8LR154236   GM          YUKON                WEST PALM BEACH          FL
36144   1GKS2GKC8LR154723   GM          YUKON                CLEVELAND                OH
36145   1GKS2GKC8LR154916   GM          YUKON                BUFFALO                  NY
36146   1GKS2GKC8LR155984   GM          YUKON                COLLEGE PARK             GA
36147   1GKS2GKC8LR157282   GM          YUKON                Miami                    FL
36148   1GKS2GKC8LR157475   GM          YUKON                ORLANDO                  FL
36149   1GKS2GKC8LR157797   GM          YUKON                Greer                    SC
36150   1GKS2GKC8LR157833   GM          YUKON                PHOENIX                  AZ
36151   1GKS2GKC8LR158190   GM          YUKON                SEATAC                   WA
36152   1GKS2GKC8LR158495   GM          YUKON                FRESNO                   CA
36153   1GKS2GKC8LR159310   GM          YUKON                SAN FRANCISCO            CA
36154   1GKS2GKC8LR159601   GM          YUKON                PHILADELPHIA             PA
36155   1GKS2GKC8LR159825   GM          YUKON                Teterboro                NJ
36156   1GKS2GKC8LR160005   GM          YUKON                SALT LAKE CITY           US
36157   1GKS2GKC8LR160084   GM          YUKON                MIAMI                    FL
36158   1GKS2GKC8LR160148   GM          YUKON                TAMPA                    FL
36159   1GKS2GKC8LR160912   GM          YUKON                JACKSONVILLE             FL
36160   1GKS2GKC8LR161235   GM          YUKON                ORLANDO                  FL
36161   1GKS2GKC8LR161302   GM          YUKON                ALBANY                   NY
36162   1GKS2GKC8LR162224   GM          YUKON                CHICAGO O'HARE AP        IL
36163   1GKS2GKC8LR162384   GM          YUKON                SAINT LOUIS              MO
36164   1GKS2GKC8LR162790   GM          YUKON                TULSA                    OK
36165   1GKS2GKC8LR163194   GM          YUKON                HOUSTON                  TX
36166   1GKS2GKC8LR163308   GM          YUKON                ORLANDO                  FL
36167   1GKS2GKC8LR163437   GM          YUKON                MIAMI                    FL
36168   1GKS2GKC8LR163907   GM          YUKON                Pheonix                  AZ
36169   1GKS2GKC8LR164247   GM          YUKON                Miami                    FL
36170   1GKS2GKC8LR164636   GM          YUKON                DANIA BEACH              FL
36171   1GKS2GKC8LR164670   GM          YUKON                MIAMI                    FL
36172   1GKS2GKC8LR164961   GM          YUKON                DALLAS                   TX
36173   1GKS2GKC8LR165690   GM          YUKON                KNOXVILLE                TN
36174   1GKS2GKC8LR166225   GM          YUKON                BOSTON                   MA
36175   1GKS2GKC8LR167567   GM          YUKON                DALLAS                   TX
36176   1GKS2GKC8LR167956   GM          YUKON                JAMAICA                  NY
36177   1GKS2GKC8LR168959   GM          YUKON                HOUSTON                  TX
36178   1GKS2GKC8LR170338   GM          YUKON                Dallas                   TX
36179   1GKS2GKC8LR170372   GM          YUKON                MIAMI                    FL
36180   1GKS2GKC8LR171182   GM          YUKON                LAS VEGAS                NV
36181   1GKS2GKC8LR171988   GM          YUKON                LOS ANGELES              CA
36182   1GKS2GKC8LR173661   GM          YUKON                LOS ANGELES              CA
36183   1GKS2GKC8LR176561   GM          YUKON                NEW BERN                 NC
36184   1GKS2GKC8LR176933   GM          YUKON                ONTARIO                  CA
36185   1GKS2GKC8LR177564   GM          YUKON                SALT LAKE CITY           UT
36186   1GKS2GKC8LR177824   GM          YUKON                PHOENIX                  AZ
36187   1GKS2GKC8LR177841   GM          YUKON                SALT LAKE CITY           US
36188   1GKS2GKC8LR177855   GM          YUKON                Reno                     NV
36189   1GKS2GKC8LR177886   GM          YUKON                Atlanta                  GA
36190   1GKS2GKC8LR178049   GM          YUKON                OAKLAND                  CA
36191   1GKS2GKC8LR178214   GM          YUKON                PORTLAND                 OR
36192   1GKS2GKC8LR178228   GM          YUKON                SALT LAKE CITY           US
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36193   1GKS2GKC8LR178469   GM          YUKON                ORLANDO                  FL
36194   1GKS2GKC8LR178505   GM          YUKON                ALBUQUERQUE              NM
36195   1GKS2GKC8LR178519   GM          YUKON                SANTA ANA                CA
36196   1GKS2GKC8LR198298   GM          YUKON                CLEVELAND                OH
36197   1GKS2GKC8LR201300   GM          YUKON                SALT LAKE CITY           UT
36198   1GKS2GKC8LR203581   GM          YUKON                LAS VEGAS                NV
36199   1GKS2GKC8LR203905   GM          YUKON                JAMAICA                  NY
36200   1GKS2GKC8LR204956   GM          YUKON                FARGO                    ND
36201   1GKS2GKC8LR205024   GM          YUKON                Revere                   MA
36202   1GKS2GKC8LR205539   GM          YUKON                NEWARK                   NJ
36203   1GKS2GKC8LR205606   GM          YUKON                Miami                    FL
36204   1GKS2GKC8LR205993   GM          YUKON                Atlanta                  GA
36205   1GKS2GKC8LR206934   GM          YUKON                MIAMI                    FL
36206   1GKS2GKC8LR207016   GM          YUKON                SAN DIEGO                CA
36207   1GKS2GKC8LR207453   GM          YUKON                AUSTIN                   TX
36208   1GKS2GKC8LR209185   GM          YUKON                LEXINGTON                KY
36209   1GKS2GKC8LR210255   GM          YUKON                HOUSTON                  TX
36210   1GKS2GKC8LR210319   GM          YUKON                DENVER                   CO
36211   1GKS2GKC8LR210899   GM          YUKON                KENNER                   LA
36212   1GKS2GKC8LR212216   GM          YUKON                CHICAGO                  IL
36213   1GKS2GKC8LR213320   GM          YUKON                MIDLAND                  TX
36214   1GKS2GKC8LR213690   GM          YUKON                HOUSTON                  TX
36215   1GKS2GKC8LR233938   GM          YUKON                LOS ANGELES              CA
36216   1GKS2GKC8LR235799   GM          YUKON                MILWAUKEE                WI
36217   1GKS2GKC8LR236189   GM          YUKON                HOUSTON                  TX
36218   1GKS2GKC8LR237410   GM          YUKON                SACRAMENTO               CA
36219   1GKS2GKC8LR237794   GM          YUKON                Lake Elsinore            CA
36220   1GKS2GKC8LR239349   GM          YUKON                INDIANAPOLIS             IN
36221   1GKS2GKC8LR239948   GM          YUKON                INDIANAPOLIS             IN
36222   1GKS2GKC8LR240310   GM          YUKON                SAN JOSE                 CA
36223   1GKS2GKC8LR242736   GM          YUKON                FORT MYERS               FL
36224   1GKS2GKC8LR244485   GM          YUKON                SAINT PAUL               MN
36225   1GKS2GKC8LR244745   GM          YUKON                FORT LAUDERDALE          FL
36226   1GKS2GKC8LR244891   GM          YUKON                TAMPA                    FL
36227   1GKS2GKC8LR245751   GM          YUKON                NEW BERN                 NC
36228   1GKS2GKC8LR250352   GM          YUKON                DALLAS                   TX
36229   1GKS2GKC8LR250397   GM          YUKON                CHICAGO                  IL
36230   1GKS2GKC8LR250593   GM          YUKON                DES MOINES               IA
36231   1GKS2GKC8LR251503   GM          YUKON                CHARLESTON               SC
36232   1GKS2GKC8LR253137   GM          YUKON                CHICAGO                  IL
36233   1GKS2GKC8LR259942   GM          YUKON                WILMINGTON               NC
36234   1GKS2GKC8LR260346   GM          YUKON                LAS VEGAS                NV
36235   1GKS2GKC8LR262646   GM          YUKON                STERLING                 VA
36236   1GKS2GKC8LR262730   GM          YUKON                ORLANDO                  FL
36237   1GKS2GKC8LR268768   GM          YUKON                NEWARK                   NJ
36238   1GKS2GKC8LR274361   GM          YUKON                SAN FRANCISCO            CA
36239   1GKS2GKC8LR274408   GM          YUKON                SOUTH SAN FRANC          CA
36240   1GKS2GKC8LR276451   GM          YUKON                RICHMOND                 VA
36241   1GKS2GKC9HR116456   GM          YUKON                Fontana                  CA
36242   1GKS2GKC9HR119857   GM          YUKON                Riverside                CA
36243   1GKS2GKC9HR120149   GM          YUKON                Hayward                  CA
36244   1GKS2GKC9HR120541   GM          YUKON                TRACY                    CA
36245   1GKS2GKC9HR120863   GM          YUKON                PLEASANTON               CA
36246   1GKS2GKC9HR131913   GM          YUKON                Santa Clara              CA
36247   1GKS2GKC9HR133015   GM          YUKON                Riverside                CA
36248   1GKS2GKC9HR133967   GM          YUKON                Fontana                  CA
36249   1GKS2GKC9HR135587   GM          YUKON                Riverside                CA
36250   1GKS2GKC9HR135668   GM          YUKON                Fontana                  CA
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36251   1GKS2GKC9HR317564   GM          YUKON                Hayward                  CA
36252   1GKS2GKC9HR321064   GM          YUKON                TRACY                    CA
36253   1GKS2GKC9HR321470   GM          YUKON                LIHUE                    HI
36254   1GKS2GKC9HR322280   GM          YUKON                Hayward                  CA
36255   1GKS2GKC9HR322974   GM          YUKON                Stockton                 CA
36256   1GKS2GKC9HR322991   GM          YUKON                Honolulu                 HI
36257   1GKS2GKC9HR323543   GM          YUKON                Fontana                  CA
36258   1GKS2GKC9HR323915   GM          YUKON                Riverside                CA
36259   1GKS2GKC9HR325101   GM          YUKON                Hayward                  CA
36260   1GKS2GKC9HR328208   GM          YUKON                Portland                 OR
36261   1GKS2GKC9HR329052   GM          YUKON                Honolulu                 HI
36262   1GKS2GKC9JR113126   GM          YUKON                DANIA BEACH              FL
36263   1GKS2GKC9KR158424   GM          YUKON                MARIETTA                 GA
36264   1GKS2GKC9KR159251   GM          YUKON                DENVER                   CO
36265   1GKS2GKC9KR159296   GM          YUKON                Denver                   CO
36266   1GKS2GKC9KR159315   GM          YUKON                ORLANDO                  FL
36267   1GKS2GKC9KR159475   GM          YUKON                ALBUQERQUE               NM
36268   1GKS2GKC9KR160075   GM          YUKON                Morrisville              NC
36269   1GKS2GKC9KR160481   GM          YUKON                Burbank                  CA
36270   1GKS2GKC9KR161484   GM          YUKON                DETROIT                  MI
36271   1GKS2GKC9KR161727   GM          YUKON                Fontana                  CA
36272   1GKS2GKC9KR161906   GM          YUKON                Sarasota                 FL
36273   1GKS2GKC9KR161923   GM          YUKON                KENNER                   LA
36274   1GKS2GKC9KR162215   GM          YUKON                SOUTHEAST DST OFFC       OK
36275   1GKS2GKC9KR162800   GM          YUKON                Fontana                  CA
36276   1GKS2GKC9KR163011   GM          YUKON                Miami                    FL
36277   1GKS2GKC9KR163056   GM          YUKON                Ft. Myers                FL
36278   1GKS2GKC9KR163090   GM          YUKON                DENVER                   CO
36279   1GKS2GKC9KR163218   GM          YUKON                Anaheim                  CA
36280   1GKS2GKC9KR163364   GM          YUKON                Torrance                 CA
36281   1GKS2GKC9KR163848   GM          YUKON                Detroit                  MI
36282   1GKS2GKC9KR163879   GM          YUKON                WEST PALM BEACH          FL
36283   1GKS2GKC9KR164319   GM          YUKON                KENNER                   LA
36284   1GKS2GKC9KR166197   GM          YUKON                MIAMI                    FL
36285   1GKS2GKC9KR166734   GM          YUKON                DENVER                   CO
36286   1GKS2GKC9KR167396   GM          YUKON                CHARLESTON               WV
36287   1GKS2GKC9KR168029   GM          YUKON                Miami                    FL
36288   1GKS2GKC9KR168323   GM          YUKON                ORLANDO                  FL
36289   1GKS2GKC9KR169245   GM          YUKON                GRAND RAPIDS             MI
36290   1GKS2GKC9KR169505   GM          YUKON                DENVER                   CO
36291   1GKS2GKC9KR170721   GM          YUKON                KANSAS CITY              MO
36292   1GKS2GKC9KR170833   GM          YUKON                San Diego                CA
36293   1GKS2GKC9KR171884   GM          YUKON                Ventura                  CA
36294   1GKS2GKC9KR172257   GM          YUKON                LAKE ELSINORE            ca
36295   1GKS2GKC9KR172274   GM          YUKON                Tampa                    FL
36296   1GKS2GKC9KR175319   GM          YUKON                Torrance                 CA
36297   1GKS2GKC9KR176857   GM          YUKON                PLEASANTON               CA
36298   1GKS2GKC9KR177314   GM          YUKON                DENVER                   CO
36299   1GKS2GKC9KR179712   GM          YUKON                LAS VEGAS                NV
36300   1GKS2GKC9KR180813   GM          YUKON                Riverside                CA
36301   1GKS2GKC9KR180911   GM          YUKON                Charleston               SC
36302   1GKS2GKC9KR182691   GM          YUKON                FORT LAUDERDALE          FL
36303   1GKS2GKC9KR182979   GM          YUKON                ATLANTA                  GA
36304   1GKS2GKC9KR183274   GM          YUKON                JAMAICA                  NY
36305   1GKS2GKC9KR184361   GM          YUKON                Aurora                   CO
36306   1GKS2GKC9KR185901   GM          YUKON                Sacramento               CA
36307   1GKS2GKC9KR187583   GM          YUKON                Fontana                  CA
36308   1GKS2GKC9KR187597   GM          YUKON                PORTLAND                 ME
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36309   1GKS2GKC9KR190936   GM          YUKON                SAN FRANCISCO            CA
36310   1GKS2GKC9KR200106   GM          YUKON                West Bountiful           UT
36311   1GKS2GKC9KR235938   GM          YUKON                West Bountiful           UT
36312   1GKS2GKC9KR343718   GM          YUKON                NEWARK                   NJ
36313   1GKS2GKC9LR152205   GM          YUKON                DETROIT                  MI
36314   1GKS2GKC9LR152608   GM          YUKON                SAN JOSE                 CA
36315   1GKS2GKC9LR154021   GM          YUKON                SAN JOSE                 CA
36316   1GKS2GKC9LR154214   GM          YUKON                OKLAHOMA CITY            OK
36317   1GKS2GKC9LR154732   GM          YUKON                FORT LAUDERDALE          FL
36318   1GKS2GKC9LR155489   GM          YUKON                Atlanta                  GA
36319   1GKS2GKC9LR155590   GM          YUKON                ORLANDO                  FL
36320   1GKS2GKC9LR155637   GM          YUKON                JACKSONVILLE             FL
36321   1GKS2GKC9LR156674   GM          YUKON                GRAND RAPIDS             MI
36322   1GKS2GKC9LR156917   GM          YUKON                TAMPA                    FL
36323   1GKS2GKC9LR157033   GM          YUKON                PHOENIX                  AZ
36324   1GKS2GKC9LR157159   GM          YUKON                JACKSONVILLE             FL
36325   1GKS2GKC9LR158117   GM          YUKON                TUCSON                   AZ
36326   1GKS2GKC9LR158991   GM          YUKON                Miami                    FL
36327   1GKS2GKC9LR159638   GM          YUKON                JACKSONVILLE             FL
36328   1GKS2GKC9LR160014   GM          YUKON                LOUISVILLE               KY
36329   1GKS2GKC9LR160367   GM          YUKON                Tampa                    FL
36330   1GKS2GKC9LR160563   GM          YUKON                HOUSTON                  TX
36331   1GKS2GKC9LR160692   GM          YUKON                MIAMI                    FL
36332   1GKS2GKC9LR160711   GM          YUKON                WEST PALM BEACH          FL
36333   1GKS2GKC9LR161194   GM          YUKON                PORTLAND                 ME
36334   1GKS2GKC9LR161230   GM          YUKON                ORLANDO                  FL
36335   1GKS2GKC9LR161969   GM          YUKON                PHOENIX                  AZ
36336   1GKS2GKC9LR161986   GM          YUKON                MIAMI                    FL
36337   1GKS2GKC9LR162068   GM          YUKON                BLOOMINGTON              IL
36338   1GKS2GKC9LR162359   GM          YUKON                MIAMI                    FL
36339   1GKS2GKC9LR162460   GM          YUKON                MIAMI                    FL
36340   1GKS2GKC9LR163219   GM          YUKON                NORFOLK                  VA
36341   1GKS2GKC9LR163236   GM          YUKON                SAN ANTONIO              TX
36342   1GKS2GKC9LR163477   GM          YUKON                DANIA                    FL
36343   1GKS2GKC9LR163821   GM          YUKON                PHOENIX                  AZ
36344   1GKS2GKC9LR163849   GM          YUKON                Miami                    FL
36345   1GKS2GKC9LR163883   GM          YUKON                ORLANDO                  FL
36346   1GKS2GKC9LR164337   GM          YUKON                AUSTIN                   TX
36347   1GKS2GKC9LR164466   GM          YUKON                ORLANDO                  FL
36348   1GKS2GKC9LR164659   GM          YUKON                FORT MYERS               FL
36349   1GKS2GKC9LR164676   GM          YUKON                AUSTIN                   TX
36350   1GKS2GKC9LR165004   GM          YUKON                TAMPA                    FL
36351   1GKS2GKC9LR165746   GM          YUKON                SALT LAKE CITY           UT
36352   1GKS2GKC9LR165763   GM          YUKON                RENO                     NV
36353   1GKS2GKC9LR165942   GM          YUKON                PORTLAND                 OR
36354   1GKS2GKC9LR166248   GM          YUKON                HOUSTON                  TX
36355   1GKS2GKC9LR166279   GM          YUKON                TALLAHASSEE              FL
36356   1GKS2GKC9LR166282   GM          YUKON                ORLANDO                  FL
36357   1GKS2GKC9LR166315   GM          YUKON                KENNER                   LA
36358   1GKS2GKC9LR166363   GM          YUKON                HOUSTON                  TX
36359   1GKS2GKC9LR166654   GM          YUKON                SAN ANTONIO              TX
36360   1GKS2GKC9LR167478   GM          YUKON                SAN ANTONIO              TX
36361   1GKS2GKC9LR167609   GM          YUKON                WEST COLUMBIA            SC
36362   1GKS2GKC9LR167903   GM          YUKON                BIRMINGHAM               AL
36363   1GKS2GKC9LR169750   GM          YUKON                OMAHA                    NE
36364   1GKS2GKC9LR170395   GM          YUKON                DANIA BEACH              FL
36365   1GKS2GKC9LR173720   GM          YUKON                BILLINGS                 MT
36366   1GKS2GKC9LR174012   GM          YUKON                SAN DIEGO                CA
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36367   1GKS2GKC9LR175662   GM          YUKON                DENVER                   CO
36368   1GKS2GKC9LR175788   GM          YUKON                BOSTON                   MA
36369   1GKS2GKC9LR176004   GM          YUKON                NEWNAN                   GA
36370   1GKS2GKC9LR176326   GM          YUKON                ONTARIO                  CA
36371   1GKS2GKC9LR176505   GM          YUKON                PHOENIX                  AZ
36372   1GKS2GKC9LR176570   GM          YUKON                FULLERTON                CA
36373   1GKS2GKC9LR176861   GM          YUKON                LOS ANGELES              CA
36374   1GKS2GKC9LR176925   GM          YUKON                BURBANK                  CA
36375   1GKS2GKC9LR176939   GM          YUKON                LAS VEGAS                NV
36376   1GKS2GKC9LR177489   GM          YUKON                SACRAMENTO               CA
36377   1GKS2GKC9LR177542   GM          YUKON                LAS VEGAS                NV
36378   1GKS2GKC9LR177802   GM          YUKON                PICO RIVERA              CA
36379   1GKS2GKC9LR177816   GM          YUKON                EL PASO                  TX
36380   1GKS2GKC9LR177914   GM          YUKON                BURBANK                  CA
36381   1GKS2GKC9LR178206   GM          YUKON                LOS ANGELES              CA
36382   1GKS2GKC9LR178447   GM          YUKON                DENVER                   CO
36383   1GKS2GKC9LR178450   GM          YUKON                SANTA ANA                CA
36384   1GKS2GKC9LR178464   GM          YUKON                Atlanta                  GA
36385   1GKS2GKC9LR178495   GM          YUKON                LOS ANGELES              CA
36386   1GKS2GKC9LR178514   GM          YUKON                NEWARK                   NJ
36387   1GKS2GKC9LR195409   GM          YUKON                PHOENIX                  AZ
36388   1GKS2GKC9LR201483   GM          YUKON                GYPSUM                   CO
36389   1GKS2GKC9LR202522   GM          YUKON                BOISE                    ID
36390   1GKS2GKC9LR203251   GM          YUKON                OKLAHOMA CITY            OK
36391   1GKS2GKC9LR203508   GM          YUKON                RONKONKOMA               NY
36392   1GKS2GKC9LR203637   GM          YUKON                ONTARIO                  CA
36393   1GKS2GKC9LR203959   GM          YUKON                PORTLAND                 ME
36394   1GKS2GKC9LR204058   GM          YUKON                RONKONKOMA               NY
36395   1GKS2GKC9LR204173   GM          YUKON                RONKONKOMA               NY
36396   1GKS2GKC9LR204190   GM          YUKON                INDIANAPOLIS             IN
36397   1GKS2GKC9LR204318   GM          YUKON                MEMPHIS                  TN
36398   1GKS2GKC9LR204707   GM          YUKON                ALBUQUERQUE              NM
36399   1GKS2GKC9LR205419   GM          YUKON                LAS VEGAS                NV
36400   1GKS2GKC9LR206456   GM          YUKON                ORLANDO                  FL
36401   1GKS2GKC9LR206795   GM          YUKON                SALT LAKE CITY           UT
36402   1GKS2GKC9LR207090   GM          YUKON                LAS VEGAS                NV
36403   1GKS2GKC9LR208157   GM          YUKON                DENVER                   CO
36404   1GKS2GKC9LR208224   GM          YUKON                LAS VEGAS                NV
36405   1GKS2GKC9LR208336   GM          YUKON                RONKONKOMA               NY
36406   1GKS2GKC9LR208790   GM          YUKON                MIAMI                    FL
36407   1GKS2GKC9LR209387   GM          YUKON                HOUSTON                  TX
36408   1GKS2GKC9LR210264   GM          YUKON                HOUSTON                  TX
36409   1GKS2GKC9LR237237   GM          YUKON                SANTA ANA                CA
36410   1GKS2GKC9LR239389   GM          YUKON                Miami                    FL
36411   1GKS2GKC9LR239411   GM          YUKON                MIAMI                    FL
36412   1GKS2GKC9LR242776   GM          YUKON                Miami                    FL
36413   1GKS2GKC9LR248125   GM          YUKON                PENSACOLA                FL
36414   1GKS2GKC9LR248772   GM          YUKON                CHICAGO                  IL
36415   1GKS2GKC9LR254121   GM          YUKON                TAMPA                    FL
36416   1GKS2GKC9LR267726   GM          YUKON                SACRAMENTO               CA
36417   1GKS2GKC9LR267841   GM          YUKON                LOS ANGELES              CA
36418   1GKS2GKC9LR274739   GM          YUKON                SAN FRANCISCO            CA
36419   1GKS2GKC9LR286292   GM          YUKON                DFW AIRPORT              TX
36420   1GKS2GKCXHR120399   GM          YUKON                SACRAMENTO               CA
36421   1GKS2GKCXHR120550   GM          YUKON                Hayward                  CA
36422   1GKS2GKCXHR133962   GM          YUKON                TRACY                    CA
36423   1GKS2GKCXHR134061   GM          YUKON                Fontana                  CA
36424   1GKS2GKCXHR135744   GM          YUKON                Fontana                  CA
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36425   1GKS2GKCXHR315869   GM          YUKON                KAUAI                    HI
36426   1GKS2GKCXHR317038   GM          YUKON                SAN FRANCISCO            CA
36427   1GKS2GKCXHR317735   GM          YUKON                LIHUE AP KAUAI           HI
36428   1GKS2GKCXHR317847   GM          YUKON                Hayward                  CA
36429   1GKS2GKCXHR319307   GM          YUKON                Lihue                    HI
36430   1GKS2GKCXHR321588   GM          YUKON                Fontana                  CA
36431   1GKS2GKCXHR321848   GM          YUKON                Santa Clara              CA
36432   1GKS2GKCXHR323969   GM          YUKON                Hayward                  CA
36433   1GKS2GKCXHR324555   GM          YUKON                Hayward                  CA
36434   1GKS2GKCXHR326497   GM          YUKON                Hayward                  CA
36435   1GKS2GKCXHR328380   GM          YUKON                Hayward                  CA
36436   1GKS2GKCXHR328718   GM          YUKON                Hayward                  CA
36437   1GKS2GKCXKR158464   GM          YUKON                ORLANDO                  FL
36438   1GKS2GKCXKR158741   GM          YUKON                SOUTHEAST DST OFFC       OK
36439   1GKS2GKCXKR159324   GM          YUKON                WEST DUNDEE              IL
36440   1GKS2GKCXKR159890   GM          YUKON                CHARLOTTESVILLE          VA
36441   1GKS2GKCXKR160005   GM          YUKON                DES MOINES               IA
36442   1GKS2GKCXKR160294   GM          YUKON                DENVER                   CO
36443   1GKS2GKCXKR161638   GM          YUKON                Columbus                 OH
36444   1GKS2GKCXKR162014   GM          YUKON                Salt Lake City           UT
36445   1GKS2GKCXKR162191   GM          YUKON                WEST COLUMBIA            SC
36446   1GKS2GKCXKR162451   GM          YUKON                SAN DIEGO                CA
36447   1GKS2GKCXKR162563   GM          YUKON                Salt Lake City           UT
36448   1GKS2GKCXKR162692   GM          YUKON                North Dighton            MA
36449   1GKS2GKCXKR162711   GM          YUKON                North Dighton            MA
36450   1GKS2GKCXKR162742   GM          YUKON                DENVER                   CO
36451   1GKS2GKCXKR162983   GM          YUKON                Matteson                 IL
36452   1GKS2GKCXKR163308   GM          YUKON                LAS VEGAS                NV
36453   1GKS2GKCXKR163521   GM          YUKON                Jacksonville             FL
36454   1GKS2GKCXKR163647   GM          YUKON                SALT LAKE CITY           UT
36455   1GKS2GKCXKR163972   GM          YUKON                San Diego                CA
36456   1GKS2GKCXKR165334   GM          YUKON                Fredericksburg           VA
36457   1GKS2GKCXKR167195   GM          YUKON                STERLING                 VA
36458   1GKS2GKCXKR167679   GM          YUKON                Aurora                   CO
36459   1GKS2GKCXKR167715   GM          YUKON                ORLANDO                  FL
36460   1GKS2GKCXKR168122   GM          YUKON                MIAMI                    FL
36461   1GKS2GKCXKR169559   GM          YUKON                Riverside                CA
36462   1GKS2GKCXKR170985   GM          YUKON                Estero                   FL
36463   1GKS2GKCXKR171103   GM          YUKON                ORLANDO                  FL
36464   1GKS2GKCXKR171151   GM          YUKON                Anaheim                  CA
36465   1GKS2GKCXKR172574   GM          YUKON                Kailua‐Kona              HI
36466   1GKS2GKCXKR174311   GM          YUKON                Orlando                  FL
36467   1GKS2GKCXKR174325   GM          YUKON                GROVE CITY               PA
36468   1GKS2GKCXKR175684   GM          YUKON                RONKONKOMA               NY
36469   1GKS2GKCXKR176978   GM          YUKON                Pasadena                 CA
36470   1GKS2GKCXKR177662   GM          YUKON                Hartford                 CT
36471   1GKS2GKCXKR177774   GM          YUKON                KENNER                   LA
36472   1GKS2GKCXKR177841   GM          YUKON                SAN JOSE                 CA
36473   1GKS2GKCXKR178732   GM          YUKON                Tolleson                 AZ
36474   1GKS2GKCXKR179914   GM          YUKON                Fontana                  CA
36475   1GKS2GKCXKR180318   GM          YUKON                LOS ANGELES              CA
36476   1GKS2GKCXKR181498   GM          YUKON                FRESNO                   CA
36477   1GKS2GKCXKR181503   GM          YUKON                Riverside                CA
36478   1GKS2GKCXKR181646   GM          YUKON                Riverside                CA
36479   1GKS2GKCXKR181713   GM          YUKON                PORTLAND                 OR
36480   1GKS2GKCXKR182098   GM          YUKON                CHARLESTON               SC
36481   1GKS2GKCXKR183199   GM          YUKON                GUNNISON                 CO
36482   1GKS2GKCXKR183428   GM          YUKON                Ft. Myers                FL
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36483   1GKS2GKCXKR183848   GM          YUKON                Davie                    FL
36484   1GKS2GKCXKR184210   GM          YUKON                ORLANDO                  FL
36485   1GKS2GKCXKR184238   GM          YUKON                MOBILE                   A
36486   1GKS2GKCXKR184322   GM          YUKON                Las Vegas                NV
36487   1GKS2GKCXKR184613   GM          YUKON                Salt Lake City           UT
36488   1GKS2GKCXKR185549   GM          YUKON                TAMPA                    FL
36489   1GKS2GKCXKR188841   GM          YUKON                PHOENIX                  AZ
36490   1GKS2GKCXKR198866   GM          YUKON                San Diego                CA
36491   1GKS2GKCXKR297803   GM          YUKON                TAMPA                    FL
36492   1GKS2GKCXKR318682   GM          YUKON                ATLANTA                  GA
36493   1GKS2GKCXLR152245   GM          YUKON                MEMPHIS                  TN
36494   1GKS2GKCXLR152469   GM          YUKON                MIAMI                    FL
36495   1GKS2GKCXLR153007   GM          YUKON                PHOENIX                  AZ
36496   1GKS2GKCXLR153556   GM          YUKON                Atlanta                  GA
36497   1GKS2GKCXLR154027   GM          YUKON                Atlanta                  GA
36498   1GKS2GKCXLR154349   GM          YUKON                SAINT LOUIS              MO
36499   1GKS2GKCXLR154867   GM          YUKON                WEST PALM BEACH          FL
36500   1GKS2GKCXLR155128   GM          YUKON                PHILADELPHIA             PA
36501   1GKS2GKCXLR156957   GM          YUKON                SAINT LOUIS              MO
36502   1GKS2GKCXLR158692   GM          YUKON                SAN FRANCISCO            CA
36503   1GKS2GKCXLR159406   GM          YUKON                BOSTON                   MA
36504   1GKS2GKCXLR159972   GM          YUKON                MILWAUKEE                WI
36505   1GKS2GKCXLR160121   GM          YUKON                FORT MYERS               FL
36506   1GKS2GKCXLR161026   GM          YUKON                PHOENIX                  AZ
36507   1GKS2GKCXLR161365   GM          YUKON                ORLANDO                  FL
36508   1GKS2GKCXLR161706   GM          YUKON                ORLANDO                  FL
36509   1GKS2GKCXLR161740   GM          YUKON                Miami                    FL
36510   1GKS2GKCXLR162337   GM          YUKON                KANSAS CITY              MO
36511   1GKS2GKCXLR162340   GM          YUKON                GRAND RAPIDS             MI
36512   1GKS2GKCXLR163293   GM          YUKON                ORLANDO                  FL
36513   1GKS2GKCXLR163732   GM          YUKON                ORLANDO                  FL
36514   1GKS2GKCXLR163892   GM          YUKON                DENVER                   CO
36515   1GKS2GKCXLR164069   GM          YUKON                FORT LAUDERDALE          FL
36516   1GKS2GKCXLR164380   GM          YUKON                DENVER                   CO
36517   1GKS2GKCXLR164802   GM          YUKON                HOUSTON                  TX
36518   1GKS2GKCXLR165271   GM          YUKON                OKLAHOMA CITY            OK
36519   1GKS2GKCXLR165528   GM          YUKON                TITUSVILLE               FL
36520   1GKS2GKCXLR165724   GM          YUKON                SAINT LOUIS              MO
36521   1GKS2GKCXLR165996   GM          YUKON                HARTFORD                 CT
36522   1GKS2GKCXLR169210   GM          YUKON                MIAMI                    FL
36523   1GKS2GKCXLR170583   GM          YUKON                Florissant               MO
36524   1GKS2GKCXLR171524   GM          YUKON                BURBANK                  CA
36525   1GKS2GKCXLR173452   GM          YUKON                SAN DIEGO                CA
36526   1GKS2GKCXLR174360   GM          YUKON                Lake Elsinore            CA
36527   1GKS2GKCXLR174486   GM          YUKON                PHOENIX                  AZ
36528   1GKS2GKCXLR174617   GM          YUKON                PHOENIX                  AZ
36529   1GKS2GKCXLR175704   GM          YUKON                SALT LAKE CITY           US
36530   1GKS2GKCXLR176531   GM          YUKON                DALLAS                   TX
36531   1GKS2GKCXLR176917   GM          YUKON                PHOENIX                  AZ
36532   1GKS2GKCXLR176951   GM          YUKON                LAS VEGAS                NV
36533   1GKS2GKCXLR176982   GM          YUKON                SAN JOSE                 CA
36534   1GKS2GKCXLR177095   GM          YUKON                WOODSON TERRACE          MO
36535   1GKS2GKCXLR177808   GM          YUKON                LOS ANGELES              CA
36536   1GKS2GKCXLR177839   GM          YUKON                HOUSTON                  TX
36537   1GKS2GKCXLR178134   GM          YUKON                PALM SPRINGS             CA
36538   1GKS2GKCXLR178408   GM          YUKON                PORTLAND                 OR
36539   1GKS2GKCXLR178442   GM          YUKON                SAN JOSE                 CA
36540   1GKS2GKCXLR178473   GM          YUKON                CORPUS CHRISTI           TX
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36541   1GKS2GKCXLR178523   GM          YUKON                SALT LAKE CITY           UT
36542   1GKS2GKCXLR185018   GM          YUKON                CHICAGO                  IL
36543   1GKS2GKCXLR190073   GM          YUKON                TAMPA                    FL
36544   1GKS2GKCXLR190414   GM          YUKON                ATLANTA                  GA
36545   1GKS2GKCXLR198786   GM          YUKON                DFW AIRPORT              TX
36546   1GKS2GKCXLR203064   GM          YUKON                WICHITA FALLS            TX
36547   1GKS2GKCXLR203517   GM          YUKON                RONKONKOMA               NY
36548   1GKS2GKCXLR204232   GM          YUKON                BOSTON                   MA
36549   1GKS2GKCXLR204246   GM          YUKON                NEWARK                   NJ
36550   1GKS2GKCXLR204294   GM          YUKON                NEW BERN                 NC
36551   1GKS2GKCXLR204540   GM          YUKON                DALLAS                   TX
36552   1GKS2GKCXLR204988   GM          YUKON                NEWARK                   NJ
36553   1GKS2GKCXLR205011   GM          YUKON                BOSTON                   MA
36554   1GKS2GKCXLR205171   GM          YUKON                RONKONKOMA               NY
36555   1GKS2GKCXLR205963   GM          YUKON                DENVER                   CO
36556   1GKS2GKCXLR206451   GM          YUKON                SALT LAKE CITY           UT
36557   1GKS2GKCXLR208037   GM          YUKON                DENVER                   CO
36558   1GKS2GKCXLR208068   GM          YUKON                GYPSUM                   CO
36559   1GKS2GKCXLR209057   GM          YUKON                DENVER                   CO
36560   1GKS2GKCXLR209267   GM          YUKON                MILWAUKEE                WI
36561   1GKS2GKCXLR209804   GM          YUKON                DALLAS                   TX
36562   1GKS2GKCXLR211357   GM          YUKON                Houston                  TX
36563   1GKS2GKCXLR211567   GM          YUKON                HOUSTON                  TX
36564   1GKS2GKCXLR212377   GM          YUKON                AUSTIN                   TX
36565   1GKS2GKCXLR237215   GM          YUKON                Los Angeles              CA
36566   1GKS2GKCXLR239384   GM          YUKON                Miami                    FL
36567   1GKS2GKCXLR239742   GM          YUKON                MIAMI                    FL
36568   1GKS2GKCXLR242091   GM          YUKON                MIAMI                    FL
36569   1GKS2GKCXLR243063   GM          YUKON                MIAMI                    FL
36570   1GKS2GKCXLR243435   GM          YUKON                FORT LAUDERDALE          FL
36571   1GKS2GKCXLR244455   GM          YUKON                MIAMI                    FL
36572   1GKS2GKCXLR248523   GM          YUKON                CHICAGO                  IL
36573   1GKS2GKCXLR254029   GM          YUKON                ROCHESTER                NY
36574   1GKS2GKCXLR265077   GM          YUKON                ALBANY                   NY
36575   1GKS2GKCXLR265435   GM          YUKON                ROANOKE                  VA
36576   1GKS2GKCXLR268416   GM          YUKON                BIRMINGHAM               AL
36577   1GKS2GKCXLR268593   GM          YUKON                Miami                    FL
36578   1GKS2GKCXLR273857   GM          YUKON                SACRAMENTO               CA
36579   1GKS2GKCXLR285877   GM          YUKON                DALLAS                   TX
36580   1GKS2HKJ1GR301460   GM          YUKON                ATLANTA                  GA
36581   1GNERGKW0KJ274549   GM          TRAVERSE             LOUISVILLE               KY
36582   1GNERGKW1KJ274379   GM          TRAVERSE             SHREVEPORT               LA
36583   1GNERGKW5KJ274904   GM          TRAVERSE             SACRAMENTO               CA
36584   1GNERGKW5KJ296045   GM          TRAVERSE             NEW YORK CITY            NY
36585   1GNERGKW7LJ175146   GM          TRAVERSE             GLASSBORO                NJ
36586   1GNERGKW8KJ273200   GM          TRAVERSE             SANTA ANA                CA
36587   1GNERGKW8KJ289848   GM          TRAVERSE             SAN JOSE                 CA
36588   1GNERGKWXLJ220886   GM          TRAVERSE             NEW ORLEANS              LA
36589   1GNERHKW0KJ275142   GM          TRAVERSE             SACRAMENTO               CA
36590   1GNERHKW0LJ141068   GM          TRAVERSE             DALLAS                   TX
36591   1GNERHKW0LJ141099   GM          TRAVERSE             HOUSTON                  TX
36592   1GNERHKW0LJ141457   GM          TRAVERSE             DALLAS                   TX
36593   1GNERHKW0LJ141832   GM          TRAVERSE             AUSTIN                   TX
36594   1GNERHKW0LJ141863   GM          TRAVERSE             PHOENIX                  AZ
36595   1GNERHKW0LJ142382   GM          TRAVERSE             SAN ANTONIO              TX
36596   1GNERHKW0LJ142608   GM          TRAVERSE             HOUSTON                  TX
36597   1GNERHKW0LJ142737   GM          TRAVERSE             LAS VEGAS                NV
36598   1GNERHKW0LJ142933   GM          TRAVERSE             Saint Paul               MN
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36599   1GNERHKW0LJ143368   GM          TRAVERSE             LOS ANGELES              CA
36600   1GNERHKW0LJ143550   GM          TRAVERSE             DALLAS                   TX
36601   1GNERHKW0LJ143953   GM          TRAVERSE             HOUSTON                  TX
36602   1GNERHKW0LJ144262   GM          TRAVERSE             FAYETTEVILLE             US
36603   1GNERHKW0LJ144861   GM          TRAVERSE             DALLAS                   TX
36604   1GNERHKW0LJ145332   GM          TRAVERSE             SHREVEPORT               LA
36605   1GNERHKW0LJ145556   GM          TRAVERSE             SAN ANTONIO              TX
36606   1GNERHKW0LJ146447   GM          TRAVERSE             STERLING                 VA
36607   1GNERHKW0LJ146609   GM          TRAVERSE             COCOA                    FL
36608   1GNERHKW0LJ146738   GM          TRAVERSE             NEW BERN                 NC
36609   1GNERHKW0LJ146819   GM          TRAVERSE             WHITE PLAINS             NY
36610   1GNERHKW0LJ147159   GM          TRAVERSE             MIAMI                    FL
36611   1GNERHKW0LJ148215   GM          TRAVERSE             ATLANTA                  GA
36612   1GNERHKW0LJ148523   GM          TRAVERSE             FORT MYERS               FL
36613   1GNERHKW0LJ148859   GM          TRAVERSE             ORLANDO                  FL
36614   1GNERHKW0LJ149591   GM          TRAVERSE             TAMPA                    FL
36615   1GNERHKW0LJ149882   GM          TRAVERSE             AUSTIN                   TX
36616   1GNERHKW0LJ163412   GM          TRAVERSE             AUSTIN                   TX
36617   1GNERHKW0LJ163460   GM          TRAVERSE             DALLAS                   TX
36618   1GNERHKW0LJ164141   GM          TRAVERSE             HOUSTON                  TX
36619   1GNERHKW0LJ164981   GM          TRAVERSE             NEW ORLEANS              LA
36620   1GNERHKW0LJ165418   GM          TRAVERSE             DALLAS                   TX
36621   1GNERHKW0LJ165659   GM          TRAVERSE             DALLAS                   TX
36622   1GNERHKW0LJ165662   GM          TRAVERSE             HOUSTON                  TX
36623   1GNERHKW0LJ166035   GM          TRAVERSE             DALLAS                   TX
36624   1GNERHKW0LJ174622   GM          TRAVERSE             WEST PALM BEACH          FL
36625   1GNERHKW0LJ177679   GM          TRAVERSE             ATLANTA                  GA
36626   1GNERHKW0LJ178413   GM          TRAVERSE             ORLANDO                  FL
36627   1GNERHKW0LJ193803   GM          TRAVERSE             FORT LAUDERDALE          FL
36628   1GNERHKW0LJ193896   GM          TRAVERSE             MIAMI                    FL
36629   1GNERHKW0LJ193915   GM          TRAVERSE             DETROIT                  MI
36630   1GNERHKW0LJ194191   GM          TRAVERSE             Louisville               KY
36631   1GNERHKW0LJ196426   GM          TRAVERSE             PALM SPRINGS             CA
36632   1GNERHKW0LJ196443   GM          TRAVERSE             LOS ANGELES              CA
36633   1GNERHKW0LJ196488   GM          TRAVERSE             DALLAS                   TX
36634   1GNERHKW0LJ196653   GM          TRAVERSE             FRESNO                   CA
36635   1GNERHKW0LJ201012   GM          TRAVERSE             LOS ANGELES              CA
36636   1GNERHKW0LJ201026   GM          TRAVERSE             LOS ANGELES              CA
36637   1GNERHKW0LJ201110   GM          TRAVERSE             SANTA ANA                CA
36638   1GNERHKW0LJ201186   GM          TRAVERSE             BURBANK                  CA
36639   1GNERHKW0LJ204959   GM          TRAVERSE             Alcoa                    TN
36640   1GNERHKW0LJ209692   GM          TRAVERSE             TAMPA                    FL
36641   1GNERHKW0LJ209711   GM          TRAVERSE             NEW ORLEANS              LA
36642   1GNERHKW0LJ209899   GM          TRAVERSE             ORLANDO                  FL
36643   1GNERHKW0LJ214858   GM          TRAVERSE             ORLANDO                  FL
36644   1GNERHKW0LJ214861   GM          TRAVERSE             KNOXVILLE                TN
36645   1GNERHKW0LJ214925   GM          TRAVERSE             ORLANDO                  FL
36646   1GNERHKW0LJ214973   GM          TRAVERSE             JACKSONVILLE             FL
36647   1GNERHKW0LJ214990   GM          TRAVERSE             MIAMI                    FL
36648   1GNERHKW0LJ215122   GM          TRAVERSE             DANIA BEACH              FL
36649   1GNERHKW0LJ215248   GM          TRAVERSE             TAMPA                    FL
36650   1GNERHKW0LJ215279   GM          TRAVERSE             MIAMI                    FL
36651   1GNERHKW0LJ215315   GM          TRAVERSE             BOSTON                   MA
36652   1GNERHKW0LJ215380   GM          TRAVERSE             ORLANDO                  FL
36653   1GNERHKW0LJ215511   GM          TRAVERSE             WEST PALM BEACH          FL
36654   1GNERHKW0LJ215752   GM          TRAVERSE             PHILADELPHIA             PA
36655   1GNERHKW0LJ215783   GM          TRAVERSE             WEST PALM BEACH          FL
36656   1GNERHKW0LJ215993   GM          TRAVERSE             FORT MYERS               FL
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36657   1GNERHKW0LJ216013   GM          TRAVERSE             JACKSONVILLE             FL
36658   1GNERHKW0LJ219672   GM          TRAVERSE             FORT LAUDERDALE          FL
36659   1GNERHKW0LJ219817   GM          TRAVERSE             JACKSONVILLE             FL
36660   1GNERHKW0LJ220059   GM          TRAVERSE             FORT LAUDERDALE          FL
36661   1GNERHKW0LJ220157   GM          TRAVERSE             MIAMI                    FL
36662   1GNERHKW0LJ220191   GM          TRAVERSE             SARASOTA                 FL
36663   1GNERHKW0LJ220272   GM          TRAVERSE             Miami                    FL
36664   1GNERHKW0LJ220319   GM          TRAVERSE             CHICAGO                  IL
36665   1GNERHKW0LJ220501   GM          TRAVERSE             FORT LAUDERDALE          FL
36666   1GNERHKW0LJ220546   GM          TRAVERSE             FORT LAUDERDALE          FL
36667   1GNERHKW0LJ220580   GM          TRAVERSE             FORT LAUDERDALE          FL
36668   1GNERHKW0LJ220630   GM          TRAVERSE             WEST PALM BEACH          FL
36669   1GNERHKW0LJ220689   GM          TRAVERSE             ORLANDO                  FL
36670   1GNERHKW0LJ220787   GM          TRAVERSE             TAMPA                    FL
36671   1GNERHKW0LJ221700   GM          TRAVERSE             ORLANDO                  FL
36672   1GNERHKW0LJ225052   GM          TRAVERSE             JACKSONVILLE             FL
36673   1GNERHKW0LJ225133   GM          TRAVERSE             ORLANDO                  FL
36674   1GNERHKW0LJ225178   GM          TRAVERSE             FORT LAUDERDALE          FL
36675   1GNERHKW0LJ226007   GM          TRAVERSE             FORT MYERS               FL
36676   1GNERHKW0LJ231014   GM          TRAVERSE             TAMPA                    FL
36677   1GNERHKW0LJ231353   GM          TRAVERSE             TAMPA                    FL
36678   1GNERHKW1LJ141287   GM          TRAVERSE             MIDLAND                  TX
36679   1GNERHKW1LJ141337   GM          TRAVERSE             SEATAC                   WA
36680   1GNERHKW1LJ143007   GM          TRAVERSE             HOUSTON                  TX
36681   1GNERHKW1LJ143136   GM          TRAVERSE             COLUMBIA                 SC
36682   1GNERHKW1LJ143962   GM          TRAVERSE             HOUSTON                  TX
36683   1GNERHKW1LJ144268   GM          TRAVERSE             PHOENIX                  AZ
36684   1GNERHKW1LJ144366   GM          TRAVERSE             OKLAHOMA CITY            OK
36685   1GNERHKW1LJ144528   GM          TRAVERSE             ORLANDO                  FL
36686   1GNERHKW1LJ144710   GM          TRAVERSE             DALLAS                   TX
36687   1GNERHKW1LJ145016   GM          TRAVERSE             HOUSTON                  TX
36688   1GNERHKW1LJ145260   GM          TRAVERSE             Dallas                   TX
36689   1GNERHKW1LJ145422   GM          TRAVERSE             PHOENIX                  AZ
36690   1GNERHKW1LJ145551   GM          TRAVERSE             PHOENIX                  AZ
36691   1GNERHKW1LJ145808   GM          TRAVERSE             AUSTIN                   TX
36692   1GNERHKW1LJ146375   GM          TRAVERSE             FORT LAUDERDALE          FL
36693   1GNERHKW1LJ147185   GM          TRAVERSE             HOUSTON                  TX
36694   1GNERHKW1LJ147865   GM          TRAVERSE             FORT LAUDERDALE          FL
36695   1GNERHKW1LJ148076   GM          TRAVERSE             ORLANDO                  FL
36696   1GNERHKW1LJ148191   GM          TRAVERSE             LEXINGTON                KY
36697   1GNERHKW1LJ148482   GM          TRAVERSE             ORLANDO                  FL
36698   1GNERHKW1LJ148532   GM          TRAVERSE             Miami                    FL
36699   1GNERHKW1LJ148630   GM          TRAVERSE             FLORIDA DEALER DIR       FL
36700   1GNERHKW1LJ148725   GM          TRAVERSE             FORT MYERS               FL
36701   1GNERHKW1LJ148871   GM          TRAVERSE             WHITE PLAINS             NY
36702   1GNERHKW1LJ149728   GM          TRAVERSE             Atlanta                  GA
36703   1GNERHKW1LJ149776   GM          TRAVERSE             PENSACOLA                FL
36704   1GNERHKW1LJ165038   GM          TRAVERSE             DALLAS                   TX
36705   1GNERHKW1LJ165301   GM          TRAVERSE             NORFOLK                  VA
36706   1GNERHKW1LJ166254   GM          TRAVERSE             HOUSTON                  TX
36707   1GNERHKW1LJ167209   GM          TRAVERSE             OKLAHOMA CITY            OK
36708   1GNERHKW1LJ167467   GM          TRAVERSE             SAN ANTONIO              TX
36709   1GNERHKW1LJ167744   GM          TRAVERSE             DALLAS                   TX
36710   1GNERHKW1LJ175312   GM          TRAVERSE             WEST PALM BEACH          FL
36711   1GNERHKW1LJ176802   GM          TRAVERSE             ORLANDO                  FL
36712   1GNERHKW1LJ177111   GM          TRAVERSE             Bel Air                  MD
36713   1GNERHKW1LJ178064   GM          TRAVERSE             ORLANDO                  FL
36714   1GNERHKW1LJ178100   GM          TRAVERSE             WEST PALM BEACH          FL
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36715   1GNERHKW1LJ193969   GM          TRAVERSE             WEST PALM BEACH          FL
36716   1GNERHKW1LJ193972   GM          TRAVERSE             BOSTON                   MA
36717   1GNERHKW1LJ194040   GM          TRAVERSE             ORLANDO                  FL
36718   1GNERHKW1LJ196550   GM          TRAVERSE             LOS ANGELES              CA
36719   1GNERHKW1LJ196595   GM          TRAVERSE             LAS VEGAS                NV
36720   1GNERHKW1LJ196659   GM          TRAVERSE             DALLAS                   TX
36721   1GNERHKW1LJ200919   GM          TRAVERSE             LOS ANGELES              CA
36722   1GNERHKW1LJ200984   GM          TRAVERSE             PORTLAND                 OR
36723   1GNERHKW1LJ201004   GM          TRAVERSE             NEWARK                   NJ
36724   1GNERHKW1LJ201018   GM          TRAVERSE             Lake Elsinore            CA
36725   1GNERHKW1LJ201052   GM          TRAVERSE             SAN FRANCISCO            CA
36726   1GNERHKW1LJ201309   GM          TRAVERSE             LAS VEGAS                NV
36727   1GNERHKW1LJ205196   GM          TRAVERSE             KNOXVILLE                TN
36728   1GNERHKW1LJ205201   GM          TRAVERSE             ATLANTA                  GA
36729   1GNERHKW1LJ205215   GM          TRAVERSE             CHARLOTTE                NC
36730   1GNERHKW1LJ209362   GM          TRAVERSE             KENNER                   LA
36731   1GNERHKW1LJ209510   GM          TRAVERSE             SHREVEPORT               LA
36732   1GNERHKW1LJ214626   GM          TRAVERSE             Atlanta                  GA
36733   1GNERHKW1LJ214657   GM          TRAVERSE             MIAMI                    FL
36734   1GNERHKW1LJ214660   GM          TRAVERSE             WEST PALM BEACH          FL
36735   1GNERHKW1LJ214691   GM          TRAVERSE             TAMPA                    FL
36736   1GNERHKW1LJ214786   GM          TRAVERSE             ATLANTA                  GA
36737   1GNERHKW1LJ214934   GM          TRAVERSE             FORT MYERS               FL
36738   1GNERHKW1LJ215033   GM          TRAVERSE             ORLANDO                  FL
36739   1GNERHKW1LJ215212   GM          TRAVERSE             ORLANDO                  FL
36740   1GNERHKW1LJ215260   GM          TRAVERSE             ORLANDO                  FL
36741   1GNERHKW1LJ215520   GM          TRAVERSE             Tampa                    FL
36742   1GNERHKW1LJ215579   GM          TRAVERSE             ORLANDO                  FL
36743   1GNERHKW1LJ215680   GM          TRAVERSE             Atlanta                  GA
36744   1GNERHKW1LJ215727   GM          TRAVERSE             JACKSONVILLE             FL
36745   1GNERHKW1LJ215730   GM          TRAVERSE             MILWAUKEE                WI
36746   1GNERHKW1LJ215887   GM          TRAVERSE             SARASOTA                 FL
36747   1GNERHKW1LJ215940   GM          TRAVERSE             ORLANDO                  FL
36748   1GNERHKW1LJ216005   GM          TRAVERSE             ORLANDO                  FL
36749   1GNERHKW1LJ216036   GM          TRAVERSE             JACKSONVILLE             FL
36750   1GNERHKW1LJ216134   GM          TRAVERSE             ORLANDO                  FL
36751   1GNERHKW1LJ216280   GM          TRAVERSE             FORT MYERS               FL
36752   1GNERHKW1LJ219681   GM          TRAVERSE             MIAMI                    FL
36753   1GNERHKW1LJ219809   GM          TRAVERSE             Miami                    FL
36754   1GNERHKW1LJ219857   GM          TRAVERSE             MIAMI                    FL
36755   1GNERHKW1LJ219938   GM          TRAVERSE             MIAMI                    FL
36756   1GNERHKW1LJ220099   GM          TRAVERSE             WEST PALM BEACH          FL
36757   1GNERHKW1LJ220197   GM          TRAVERSE             PENSACOLA                FL
36758   1GNERHKW1LJ220295   GM          TRAVERSE             TAMPA                    FL
36759   1GNERHKW1LJ220362   GM          TRAVERSE             SARASOTA                 FL
36760   1GNERHKW1LJ220510   GM          TRAVERSE             FORT LAUDERDALE          FL
36761   1GNERHKW1LJ220538   GM          TRAVERSE             BOSTON                   MA
36762   1GNERHKW1LJ220541   GM          TRAVERSE             FORT MYERS               FL
36763   1GNERHKW1LJ220667   GM          TRAVERSE             TAMPA                    FL
36764   1GNERHKW1LJ220779   GM          TRAVERSE             FORT LAUDERDALE          FL
36765   1GNERHKW1LJ220801   GM          TRAVERSE             SARASOTA                 FL
36766   1GNERHKW1LJ220832   GM          TRAVERSE             FORT LAUDERDALE          FL
36767   1GNERHKW1LJ220992   GM          TRAVERSE             WEST PALM BEACH          FL
36768   1GNERHKW1LJ225321   GM          TRAVERSE             ORLANDO                  FL
36769   1GNERHKW1LJ231314   GM          TRAVERSE             LOUISVILLE               KY
36770   1GNERHKW2KJ289916   GM          TRAVERSE             HOUSTON                  TX
36771   1GNERHKW2LJ141010   GM          TRAVERSE             HOUSTON                  TX
36772   1GNERHKW2LJ141556   GM          TRAVERSE             TUCSON                   AZ
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36773   1GNERHKW2LJ142349   GM          TRAVERSE             TUCSON                   AZ
36774   1GNERHKW2LJ143419   GM          TRAVERSE             PHOENIX                  AZ
36775   1GNERHKW2LJ144022   GM          TRAVERSE             MIAMI                    FL
36776   1GNERHKW2LJ144277   GM          TRAVERSE             SAN DIEGO                CA
36777   1GNERHKW2LJ144375   GM          TRAVERSE             HOUSTON                  TX
36778   1GNERHKW2LJ144473   GM          TRAVERSE             PHOENIX                  AZ
36779   1GNERHKW2LJ144716   GM          TRAVERSE             DALLAS                   TX
36780   1GNERHKW2LJ145316   GM          TRAVERSE             DALLAS                   TX
36781   1GNERHKW2LJ145963   GM          TRAVERSE             PHOENIX                  AZ
36782   1GNERHKW2LJ146367   GM          TRAVERSE             CHARLOTTE                NC
36783   1GNERHKW2LJ146370   GM          TRAVERSE             NEWARK                   NJ
36784   1GNERHKW2LJ146790   GM          TRAVERSE             ORLANDO                  FL
36785   1GNERHKW2LJ147762   GM          TRAVERSE             COLLEGE PARK             GA
36786   1GNERHKW2LJ147910   GM          TRAVERSE             CHICAGO                  IL
36787   1GNERHKW2LJ148488   GM          TRAVERSE             Tampa                    FL
36788   1GNERHKW2LJ149771   GM          TRAVERSE             ORLANDO                  FL
36789   1GNERHKW2LJ164044   GM          TRAVERSE             HOUSTON                  TX
36790   1GNERHKW2LJ164058   GM          TRAVERSE             SAINT PAUL               MN
36791   1GNERHKW2LJ164206   GM          TRAVERSE             WHITE PLAINS             NY
36792   1GNERHKW2LJ164237   GM          TRAVERSE             HOUSTON                  TX
36793   1GNERHKW2LJ164528   GM          TRAVERSE             PENSACOLA                FL
36794   1GNERHKW2LJ165811   GM          TRAVERSE             WICHITA FALLS            TX
36795   1GNERHKW2LJ165999   GM          TRAVERSE             TULSA                    OK
36796   1GNERHKW2LJ166344   GM          TRAVERSE             SHREVEPORT               LA
36797   1GNERHKW2LJ167350   GM          TRAVERSE             SHREVEPORT               LA
36798   1GNERHKW2LJ167624   GM          TRAVERSE             OKLAHOMA CITY            OK
36799   1GNERHKW2LJ175898   GM          TRAVERSE             MIAMI INT'L AP           FL
36800   1GNERHKW2LJ193902   GM          TRAVERSE             TAMPA                    FL
36801   1GNERHKW2LJ193950   GM          TRAVERSE             MIAMI                    FL
36802   1GNERHKW2LJ194029   GM          TRAVERSE             NEW BERN                 NC
36803   1GNERHKW2LJ196539   GM          TRAVERSE             LOS ANGELES              CA
36804   1GNERHKW2LJ196671   GM          TRAVERSE             CHICAGO                  IL
36805   1GNERHKW2LJ200802   GM          TRAVERSE             Los Angeles              CA
36806   1GNERHKW2LJ200878   GM          TRAVERSE             LOS ANGELES AP           CA
36807   1GNERHKW2LJ205028   GM          TRAVERSE             NASHVILLE                TN
36808   1GNERHKW2LJ205076   GM          TRAVERSE             NASHVILLE                TN
36809   1GNERHKW2LJ205109   GM          TRAVERSE             Nashville                TN
36810   1GNERHKW2LJ205188   GM          TRAVERSE             Southaven                MS
36811   1GNERHKW2LJ209323   GM          TRAVERSE             NEW ORLEANS              LA
36812   1GNERHKW2LJ209533   GM          TRAVERSE             ORLANDO                  FL
36813   1GNERHKW2LJ209824   GM          TRAVERSE             KENNER                   LA
36814   1GNERHKW2LJ209922   GM          TRAVERSE             LOUISVILLE               KY
36815   1GNERHKW2LJ214652   GM          TRAVERSE             MIAMI                    FL
36816   1GNERHKW2LJ214876   GM          TRAVERSE             ORLANDO                  FL
36817   1GNERHKW2LJ214926   GM          TRAVERSE             ORLANDO                  FL
36818   1GNERHKW2LJ215221   GM          TRAVERSE             ORLANDO                  FL
36819   1GNERHKW2LJ215266   GM          TRAVERSE             ORLANDO                  FL
36820   1GNERHKW2LJ215283   GM          TRAVERSE             ORLANDO                  FL
36821   1GNERHKW2LJ215350   GM          TRAVERSE             NEW BERN                 NC
36822   1GNERHKW2LJ215557   GM          TRAVERSE             FORT LAUDERDALE          FL
36823   1GNERHKW2LJ215574   GM          TRAVERSE             ORLANDO                  FL
36824   1GNERHKW2LJ215588   GM          TRAVERSE             ORLANDO                  FL
36825   1GNERHKW2LJ215591   GM          TRAVERSE             ORLANDO                  FL
36826   1GNERHKW2LJ215686   GM          TRAVERSE             MIAMI                    FL
36827   1GNERHKW2LJ215705   GM          TRAVERSE             WEST PALM BEACH          FL
36828   1GNERHKW2LJ215803   GM          TRAVERSE             ORLANDO                  FL
36829   1GNERHKW2LJ215834   GM          TRAVERSE             FORT MYERS               FL
36830   1GNERHKW2LJ215865   GM          TRAVERSE             JACKSONVILLE             FL
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36831   1GNERHKW2LJ215879   GM          TRAVERSE             ORLANDO                  FL
36832   1GNERHKW2LJ215977   GM          TRAVERSE             FORT MYERS               FL
36833   1GNERHKW2LJ216028   GM          TRAVERSE             SHREVEPORT               US
36834   1GNERHKW2LJ216210   GM          TRAVERSE             SAVANNAH                 GA
36835   1GNERHKW2LJ219723   GM          TRAVERSE             MIAMI                    FL
36836   1GNERHKW2LJ219902   GM          TRAVERSE             GRAND RAPIDS             MI
36837   1GNERHKW2LJ219916   GM          TRAVERSE             MIAMI                    FL
36838   1GNERHKW2LJ219933   GM          TRAVERSE             DAYTONA BEACH            FL
36839   1GNERHKW2LJ219995   GM          TRAVERSE             PITTSBURGH               PA
36840   1GNERHKW2LJ220001   GM          TRAVERSE             MIAMI                    FL
36841   1GNERHKW2LJ220063   GM          TRAVERSE             WARWICK                  RI
36842   1GNERHKW2LJ220239   GM          TRAVERSE             FORT LAUDERDALE          FL
36843   1GNERHKW2LJ220516   GM          TRAVERSE             PORTLAND                 ME
36844   1GNERHKW2LJ220547   GM          TRAVERSE             KNOXVILLE                TN
36845   1GNERHKW2LJ220550   GM          TRAVERSE             BOSTON                   MA
36846   1GNERHKW2LJ220676   GM          TRAVERSE             MIAMI                    FL
36847   1GNERHKW2LJ220709   GM          TRAVERSE             WEST PALM BEACH          FL
36848   1GNERHKW2LJ220872   GM          TRAVERSE             BALTIMORE                MD
36849   1GNERHKW2LJ220905   GM          TRAVERSE             BOSTON                   MA
36850   1GNERHKW2LJ225084   GM          TRAVERSE             Miami                    FL
36851   1GNERHKW2LJ225330   GM          TRAVERSE             FORT LAUDERDALE          FL
36852   1GNERHKW2LJ225540   GM          TRAVERSE             WOODSON TERRACE          MO
36853   1GNERHKW2LJ225943   GM          TRAVERSE             WEST PALM BEACH          FL
36854   1GNERHKW2LJ226039   GM          TRAVERSE             FORT MYERS               FL
36855   1GNERHKW3LJ142294   GM          TRAVERSE             LOS ANGELES              CA
36856   1GNERHKW3LJ142697   GM          TRAVERSE             PHOENIX                  AZ
36857   1GNERHKW3LJ143008   GM          TRAVERSE             MCALLEN                  TX
36858   1GNERHKW3LJ143221   GM          TRAVERSE             PITTSBURGH               PA
36859   1GNERHKW3LJ143512   GM          TRAVERSE             Omaha                    NE
36860   1GNERHKW3LJ144191   GM          TRAVERSE             HOUSTON                  TX
36861   1GNERHKW3LJ146975   GM          TRAVERSE             ORLANDO                  FL
36862   1GNERHKW3LJ147284   GM          TRAVERSE             RALIEGH                  NC
36863   1GNERHKW3LJ147639   GM          TRAVERSE             Springfield              MO
36864   1GNERHKW3LJ148323   GM          TRAVERSE             VANDALIA                 OH
36865   1GNERHKW3LJ148547   GM          TRAVERSE             KENNER                   LA
36866   1GNERHKW3LJ148869   GM          TRAVERSE             ORLANDO                  FL
36867   1GNERHKW3LJ148872   GM          TRAVERSE             CHATTANOOGA              TN
36868   1GNERHKW3LJ163498   GM          TRAVERSE             Houston                  TX
36869   1GNERHKW3LJ165235   GM          TRAVERSE             SAINT LOUIS              MO
36870   1GNERHKW3LJ165333   GM          TRAVERSE             HOUSTON                  TX
36871   1GNERHKW3LJ165932   GM          TRAVERSE             HOUSTON                  TX
36872   1GNERHKW3LJ166109   GM          TRAVERSE             KENNER                   LA
36873   1GNERHKW3LJ166319   GM          TRAVERSE             DALLAS                   TX
36874   1GNERHKW3LJ166384   GM          TRAVERSE             DFW AIRPORT              TX
36875   1GNERHKW3LJ166479   GM          TRAVERSE             OKLAHOMA CITY            OK
36876   1GNERHKW3LJ167146   GM          TRAVERSE             DALLAS                   TX
36877   1GNERHKW3LJ167485   GM          TRAVERSE             DALLAS                   TX
36878   1GNERHKW3LJ172606   GM          TRAVERSE             FORT MYERS               FL
36879   1GNERHKW3LJ174646   GM          TRAVERSE             FORT MYERS               FL
36880   1GNERHKW3LJ176784   GM          TRAVERSE             ORLANDO                  FL
36881   1GNERHKW3LJ178258   GM          TRAVERSE             NEWARK                   NJ
36882   1GNERHKW3LJ178597   GM          TRAVERSE             Miami                    FL
36883   1GNERHKW3LJ193813   GM          TRAVERSE             FORT MYERS               FL
36884   1GNERHKW3LJ193844   GM          TRAVERSE             PHILADELPHIA             PA
36885   1GNERHKW3LJ193861   GM          TRAVERSE             FORT LAUDERDALE          FL
36886   1GNERHKW3LJ193889   GM          TRAVERSE             FORT LAUDERDALE          FL
36887   1GNERHKW3LJ194038   GM          TRAVERSE             FORT MYERS               FL
36888   1GNERHKW3LJ196498   GM          TRAVERSE             SAN DIEGO                CA
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36889   1GNERHKW3LJ196517   GM          TRAVERSE             SANTA ANA                CA
36890   1GNERHKW3LJ196601   GM          TRAVERSE             LOS ANGELES AP           CA
36891   1GNERHKW3LJ196632   GM          TRAVERSE             LOS ANGELES              CA
36892   1GNERHKW3LJ196677   GM          TRAVERSE             SAINT PAUL               MN
36893   1GNERHKW3LJ200839   GM          TRAVERSE             LOS ANGELES              CA
36894   1GNERHKW3LJ201019   GM          TRAVERSE             LOS ANGELES              CA
36895   1GNERHKW3LJ205068   GM          TRAVERSE             MEMPHIS                  TN
36896   1GNERHKW3LJ205121   GM          TRAVERSE             KNOXVILLE                TN
36897   1GNERHKW3LJ205183   GM          TRAVERSE             KNOXVILLE                TN
36898   1GNERHKW3LJ209234   GM          TRAVERSE             KENNER                   LA
36899   1GNERHKW3LJ209251   GM          TRAVERSE             JACKSON                  MS
36900   1GNERHKW3LJ209301   GM          TRAVERSE             NEW ORLEANS              LA
36901   1GNERHKW3LJ209802   GM          TRAVERSE             KENNER                   LA
36902   1GNERHKW3LJ210237   GM          TRAVERSE             Atlanta                  GA
36903   1GNERHKW3LJ214949   GM          TRAVERSE             SYRACUSE                 NY
36904   1GNERHKW3LJ215132   GM          TRAVERSE             ORLANDO                  FL
36905   1GNERHKW3LJ215325   GM          TRAVERSE             PITTSBURGH               PA
36906   1GNERHKW3LJ215356   GM          TRAVERSE             LAS VEGAS                NV
36907   1GNERHKW3LJ215390   GM          TRAVERSE             WEST PALM BEACH          FL
36908   1GNERHKW3LJ215468   GM          TRAVERSE             ORLANDO                  FL
36909   1GNERHKW3LJ215499   GM          TRAVERSE             ORLANDO                  FL
36910   1GNERHKW3LJ215504   GM          TRAVERSE             ORLANDO                  FL
36911   1GNERHKW3LJ215602   GM          TRAVERSE             ORLANDO                  FL
36912   1GNERHKW3LJ215678   GM          TRAVERSE             ORLANDO                  FL
36913   1GNERHKW3LJ215762   GM          TRAVERSE             FORT LAUDERDALE          FL
36914   1GNERHKW3LJ215860   GM          TRAVERSE             ORLANDO                  FL
36915   1GNERHKW3LJ216183   GM          TRAVERSE             JACKSONVILLE             FL
36916   1GNERHKW3LJ219746   GM          TRAVERSE             FORT LAUDERDALE          FL
36917   1GNERHKW3LJ219780   GM          TRAVERSE             Miami                    FL
36918   1GNERHKW3LJ219956   GM          TRAVERSE             WHITE PLAINS             NY
36919   1GNERHKW3LJ219973   GM          TRAVERSE             Atlanta                  GA
36920   1GNERHKW3LJ220072   GM          TRAVERSE             TAMPA                    FL
36921   1GNERHKW3LJ220086   GM          TRAVERSE             TAMPA                    FL
36922   1GNERHKW3LJ220105   GM          TRAVERSE             LOUISVILLE               KY
36923   1GNERHKW3LJ220136   GM          TRAVERSE             PENSACOLA                FL
36924   1GNERHKW3LJ220170   GM          TRAVERSE             WEST PALM BEACH          FL
36925   1GNERHKW3LJ220184   GM          TRAVERSE             FORT LAUDERDALE          FL
36926   1GNERHKW3LJ220203   GM          TRAVERSE             WEST PALM BEACH          FL
36927   1GNERHKW3LJ220332   GM          TRAVERSE             TAMPA                    FL
36928   1GNERHKW3LJ220346   GM          TRAVERSE             ORLANDO                  FL
36929   1GNERHKW3LJ220413   GM          TRAVERSE             MIAMI                    FL
36930   1GNERHKW3LJ220458   GM          TRAVERSE             TAMPA                    FL
36931   1GNERHKW3LJ220489   GM          TRAVERSE             TAMPA                    FL
36932   1GNERHKW3LJ220508   GM          TRAVERSE             MIAMI                    FL
36933   1GNERHKW3LJ220685   GM          TRAVERSE             FORT LAUDERDALE          FL
36934   1GNERHKW3LJ220752   GM          TRAVERSE             FORT LAUDERDALE          FL
36935   1GNERHKW3LJ225109   GM          TRAVERSE             ORLANDO                  FL
36936   1GNERHKW3LJ225174   GM          TRAVERSE             FORT LAUDERDALE          FL
36937   1GNERHKW3LJ225224   GM          TRAVERSE             TAMPA                    FL
36938   1GNERHKW3LJ225370   GM          TRAVERSE             GRAND RAPIDS             MI
36939   1GNERHKW4LJ141056   GM          TRAVERSE             Portland                 OR
36940   1GNERHKW4LJ141123   GM          TRAVERSE             Buena Park               CA
36941   1GNERHKW4LJ141297   GM          TRAVERSE             YUKON                    OK
36942   1GNERHKW4LJ141672   GM          TRAVERSE             AUSTIN                   TX
36943   1GNERHKW4LJ142112   GM          TRAVERSE             PHOENIX                  AZ
36944   1GNERHKW4LJ142286   GM          TRAVERSE             PHOENIX                  AZ
36945   1GNERHKW4LJ142465   GM          TRAVERSE             EL PASO                  US
36946   1GNERHKW4LJ142529   GM          TRAVERSE             PHOENIX                  AZ
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36947   1GNERHKW4LJ143115   GM          TRAVERSE             DALLAS                   TX
36948   1GNERHKW4LJ143132   GM          TRAVERSE             HOUSTON                  TX
36949   1GNERHKW4LJ144703   GM          TRAVERSE             HOUSTON                  TX
36950   1GNERHKW4LJ144779   GM          TRAVERSE             HOUSTON                  TX
36951   1GNERHKW4LJ145463   GM          TRAVERSE             Kansas City              MO
36952   1GNERHKW4LJ145799   GM          TRAVERSE             Denver                   CO
36953   1GNERHKW4LJ145897   GM          TRAVERSE             AUSTIN                   TX
36954   1GNERHKW4LJ146029   GM          TRAVERSE             Teterboro                NJ
36955   1GNERHKW4LJ146242   GM          TRAVERSE             ATLANTA                  GA
36956   1GNERHKW4LJ146516   GM          TRAVERSE             FORT MYERS               FL
36957   1GNERHKW4LJ146807   GM          TRAVERSE             WEST COLUMBIA            SC
36958   1GNERHKW4LJ147584   GM          TRAVERSE             TAMPA                    FL
36959   1GNERHKW4LJ147908   GM          TRAVERSE             SAN ANTONIO              TX
36960   1GNERHKW4LJ148203   GM          TRAVERSE             ORLANDO                  FL
36961   1GNERHKW4LJ148590   GM          TRAVERSE             Atlanta                  GA
36962   1GNERHKW4LJ148606   GM          TRAVERSE             ORLANDO                  FL
36963   1GNERHKW4LJ148959   GM          TRAVERSE             EUGENE                   OR
36964   1GNERHKW4LJ149447   GM          TRAVERSE             Schaumburg               IL
36965   1GNERHKW4LJ149481   GM          TRAVERSE             FORT MYERS               FL
36966   1GNERHKW4LJ164577   GM          TRAVERSE             DALLAS                   TX
36967   1GNERHKW4LJ164594   GM          TRAVERSE             Parkville                MD
36968   1GNERHKW4LJ165597   GM          TRAVERSE             HOUSTON                  TX
36969   1GNERHKW4LJ166703   GM          TRAVERSE             WICHITA FALLS            TX
36970   1GNERHKW4LJ176597   GM          TRAVERSE             Riverview                MI
36971   1GNERHKW4LJ177703   GM          TRAVERSE             TAMPA                    FL
36972   1GNERHKW4LJ177832   GM          TRAVERSE             TAMPA                    US
36973   1GNERHKW4LJ193903   GM          TRAVERSE             FORT LAUDERDALE          FL
36974   1GNERHKW4LJ196364   GM          TRAVERSE             BURBANK                  CA
36975   1GNERHKW4LJ196459   GM          TRAVERSE             FRESNO                   CA
36976   1GNERHKW4LJ196509   GM          TRAVERSE             SACRAMENTO               CA
36977   1GNERHKW4LJ196543   GM          TRAVERSE             BURBANK                  CA
36978   1GNERHKW4LJ196557   GM          TRAVERSE             PALM SPRINGS             CA
36979   1GNERHKW4LJ196641   GM          TRAVERSE             ONTARIO                  CA
36980   1GNERHKW4LJ200865   GM          TRAVERSE             Downey                   CA
36981   1GNERHKW4LJ200882   GM          TRAVERSE             LOS ANGELES              CA
36982   1GNERHKW4LJ201126   GM          TRAVERSE             INGLEWOOD                CA
36983   1GNERHKW4LJ205127   GM          TRAVERSE             CHICAGO                  IL
36984   1GNERHKW4LJ205144   GM          TRAVERSE             KNOXVILLE                TN
36985   1GNERHKW4LJ205192   GM          TRAVERSE             KNOXVILLE                TN
36986   1GNERHKW4LJ209341   GM          TRAVERSE             JACKSON                  MS
36987   1GNERHKW4LJ209579   GM          TRAVERSE             AUSTIN                   TX
36988   1GNERHKW4LJ214734   GM          TRAVERSE             KNOXVILLE                TN
36989   1GNERHKW4LJ214782   GM          TRAVERSE             ORLANDO                  FL
36990   1GNERHKW4LJ214880   GM          TRAVERSE             DES MOINES               IA
36991   1GNERHKW4LJ214913   GM          TRAVERSE             PENSACOLA                FL
36992   1GNERHKW4LJ214930   GM          TRAVERSE             KNOXVILLE                TN
36993   1GNERHKW4LJ214958   GM          TRAVERSE             Miami                    FL
36994   1GNERHKW4LJ214989   GM          TRAVERSE             FORT LAUDERDALE          FL
36995   1GNERHKW4LJ215172   GM          TRAVERSE             CLEVELAND                OH
36996   1GNERHKW4LJ215298   GM          TRAVERSE             FORT LAUDERDALE          FL
36997   1GNERHKW4LJ215334   GM          TRAVERSE             ORLANDO                  FL
36998   1GNERHKW4LJ215415   GM          TRAVERSE             DAYTONA BEACH            FL
36999   1GNERHKW4LJ215611   GM          TRAVERSE             ORLANDO                  FL
37000   1GNERHKW4LJ215690   GM          TRAVERSE             ORLANDO                  FL
37001   1GNERHKW4LJ215723   GM          TRAVERSE             WOODSON TERRACE          MO
37002   1GNERHKW4LJ215771   GM          TRAVERSE             TAMPA                    FL
37003   1GNERHKW4LJ215818   GM          TRAVERSE             ORLANDO                  FL
37004   1GNERHKW4LJ216063   GM          TRAVERSE             Syracuse                 NY
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37005   1GNERHKW4LJ216399   GM          TRAVERSE             ORLANDO                  FL
37006   1GNERHKW4LJ219707   GM          TRAVERSE             ORLANDO                  FL
37007   1GNERHKW4LJ219738   GM          TRAVERSE             ORLANDO                  FL
37008   1GNERHKW4LJ219819   GM          TRAVERSE             UNION CITY               GA
37009   1GNERHKW4LJ219884   GM          TRAVERSE             MIAMI                    FL
37010   1GNERHKW4LJ219898   GM          TRAVERSE             FORT LAUDERDALE          FL
37011   1GNERHKW4LJ219979   GM          TRAVERSE             ORLANDO                  FL
37012   1GNERHKW4LJ219982   GM          TRAVERSE             WEST PALM BEACH          FL
37013   1GNERHKW4LJ220016   GM          TRAVERSE             FORT MYERS               FL
37014   1GNERHKW4LJ220078   GM          TRAVERSE             MIAMI                    FL
37015   1GNERHKW4LJ220159   GM          TRAVERSE             STERLING                 VA
37016   1GNERHKW4LJ220176   GM          TRAVERSE             KENNER                   LA
37017   1GNERHKW4LJ220274   GM          TRAVERSE             TAMPA                    FL
37018   1GNERHKW4LJ220355   GM          TRAVERSE             ROANOKE                  VA
37019   1GNERHKW4LJ220386   GM          TRAVERSE             ATLANTA                  GA
37020   1GNERHKW4LJ220517   GM          TRAVERSE             ORLANDO                  FL
37021   1GNERHKW4LJ220520   GM          TRAVERSE             FORT LAUDERDALE          FL
37022   1GNERHKW4LJ220534   GM          TRAVERSE             TAMPA                    FL
37023   1GNERHKW4LJ220596   GM          TRAVERSE             FORT LAUDERDALE          FL
37024   1GNERHKW4LJ220632   GM          TRAVERSE             FORT LAUDERDALE          FL
37025   1GNERHKW4LJ220713   GM          TRAVERSE             FORT LAUDERDALE          FL
37026   1GNERHKW4LJ220758   GM          TRAVERSE             MIAMI                    FL
37027   1GNERHKW4LJ225054   GM          TRAVERSE             FORT LAUDERDALE          FL
37028   1GNERHKW4LJ225071   GM          TRAVERSE             FORT LAUDERDALE          FL
37029   1GNERHKW4LJ225166   GM          TRAVERSE             Miami                    FL
37030   1GNERHKW4LJ225183   GM          TRAVERSE             FORT LAUDERDALE          FL
37031   1GNERHKW4LJ225233   GM          TRAVERSE             FORT MYERS               FL
37032   1GNERHKW4LJ225281   GM          TRAVERSE             ORLANDO                  FL
37033   1GNERHKW4LJ231310   GM          TRAVERSE             TAMPA                    FL
37034   1GNERHKW5LJ141776   GM          TRAVERSE             SHREVEPORT               LA
37035   1GNERHKW5LJ142538   GM          TRAVERSE             PALM SPRINGS             CA
37036   1GNERHKW5LJ142684   GM          TRAVERSE             AUSTIN                   TX
37037   1GNERHKW5LJ143088   GM          TRAVERSE             SHREVEPORT               LA
37038   1GNERHKW5LJ143866   GM          TRAVERSE             PHOENIX                  AZ
37039   1GNERHKW5LJ144189   GM          TRAVERSE             BRONX                    NY
37040   1GNERHKW5LJ144502   GM          TRAVERSE             HOUSTON                  TX
37041   1GNERHKW5LJ144547   GM          TRAVERSE             FORT MYERS               FL
37042   1GNERHKW5LJ144693   GM          TRAVERSE             Dallas                   TX
37043   1GNERHKW5LJ145584   GM          TRAVERSE             SAN ANTONIO              TX
37044   1GNERHKW5LJ145827   GM          TRAVERSE             HOUSTON                  TX
37045   1GNERHKW5LJ146170   GM          TRAVERSE             DFW AIRPORT              TX
37046   1GNERHKW5LJ147335   GM          TRAVERSE             JACKSONVILLE             FL
37047   1GNERHKW5LJ147691   GM          TRAVERSE             ORLANDO                  FL
37048   1GNERHKW5LJ164409   GM          TRAVERSE             AUSTIN                   TX
37049   1GNERHKW5LJ165091   GM          TRAVERSE             SAN ANTONIO              TX
37050   1GNERHKW5LJ165981   GM          TRAVERSE             DALLAS                   TX
37051   1GNERHKW5LJ166144   GM          TRAVERSE             HOUSTON                  TX
37052   1GNERHKW5LJ166743   GM          TRAVERSE             DALLAS                   TX
37053   1GNERHKW5LJ166905   GM          TRAVERSE             DALLAS                   TX
37054   1GNERHKW5LJ167021   GM          TRAVERSE             HOUSTON                  TX
37055   1GNERHKW5LJ171828   GM          TRAVERSE             WEST PALM BEACH          FL
37056   1GNERHKW5LJ172221   GM          TRAVERSE             ORLANDO                  FL
37057   1GNERHKW5LJ174079   GM          TRAVERSE             ORLANDO                  FL
37058   1GNERHKW5LJ178374   GM          TRAVERSE             ORLANDO                  FL
37059   1GNERHKW5LJ178844   GM          TRAVERSE             Miami                    FL
37060   1GNERHKW5LJ179055   GM          TRAVERSE             Miami                    FL
37061   1GNERHKW5LJ193859   GM          TRAVERSE             SAINT LOUIS              MO
37062   1GNERHKW5LJ194090   GM          TRAVERSE             WEST PALM BEACH          FL
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37063   1GNERHKW5LJ196535   GM          TRAVERSE             SAN DIEGO                CA
37064   1GNERHKW5LJ196616   GM          TRAVERSE             SAN DIEGO                CA
37065   1GNERHKW5LJ196700   GM          TRAVERSE             LAS VEGAS                NV
37066   1GNERHKW5LJ196728   GM          TRAVERSE             SAN DIEGO                CA
37067   1GNERHKW5LJ200874   GM          TRAVERSE             SAN FRANCISCO            CA
37068   1GNERHKW5LJ201054   GM          TRAVERSE             LOS ANGELES              CA
37069   1GNERHKW5LJ201085   GM          TRAVERSE             LAS VEGAS                NV
37070   1GNERHKW5LJ201247   GM          TRAVERSE             LOS ANGELES              CA
37071   1GNERHKW5LJ205010   GM          TRAVERSE             BIRMINGHAN               AL
37072   1GNERHKW5LJ205198   GM          TRAVERSE             DALLAS                   TX
37073   1GNERHKW5LJ205217   GM          TRAVERSE             CHARLESTON               WV
37074   1GNERHKW5LJ209297   GM          TRAVERSE             KENNER                   LA
37075   1GNERHKW5LJ209333   GM          TRAVERSE             HARTFORD                 CT
37076   1GNERHKW5LJ209347   GM          TRAVERSE             ORLANDO                  FL
37077   1GNERHKW5LJ209414   GM          TRAVERSE             KNOXVILLE                TN
37078   1GNERHKW5LJ209557   GM          TRAVERSE             ORLANDO                  FL
37079   1GNERHKW5LJ209753   GM          TRAVERSE             ORLANDO                  FL
37080   1GNERHKW5LJ209896   GM          TRAVERSE             KENNER                   LA
37081   1GNERHKW5LJ214659   GM          TRAVERSE             ORLANDO                  FL
37082   1GNERHKW5LJ214760   GM          TRAVERSE             KNOXVILLE                TN
37083   1GNERHKW5LJ214886   GM          TRAVERSE             ORLANDO                  FL
37084   1GNERHKW5LJ214919   GM          TRAVERSE             ORLANDO                  FL
37085   1GNERHKW5LJ214922   GM          TRAVERSE             ORLANDO                  FL
37086   1GNERHKW5LJ214953   GM          TRAVERSE             ORLANDO                  FL
37087   1GNERHKW5LJ215097   GM          TRAVERSE             ORLANDO                  FL
37088   1GNERHKW5LJ215147   GM          TRAVERSE             ORLANDO                  FL
37089   1GNERHKW5LJ215200   GM          TRAVERSE             ORLANDO                  FL
37090   1GNERHKW5LJ215374   GM          TRAVERSE             WEST PALM BEACH          FL
37091   1GNERHKW5LJ215536   GM          TRAVERSE             ORLANDO                  FL
37092   1GNERHKW5LJ215617   GM          TRAVERSE             TAMPA                    FL
37093   1GNERHKW5LJ215648   GM          TRAVERSE             ORLANDO                  FL
37094   1GNERHKW5LJ215889   GM          TRAVERSE             FORT MYERS               FL
37095   1GNERHKW5LJ215942   GM          TRAVERSE             TAMPA                    FL
37096   1GNERHKW5LJ216637   GM          TRAVERSE             TALLAHASSEE              FL
37097   1GNERHKW5LJ216685   GM          TRAVERSE             ORLANDO                  FL
37098   1GNERHKW5LJ219652   GM          TRAVERSE             FORT LAUDERDALE          FL
37099   1GNERHKW5LJ219702   GM          TRAVERSE             ALBANY                   NY
37100   1GNERHKW5LJ219764   GM          TRAVERSE             FORT LAUDERDALE          FL
37101   1GNERHKW5LJ219795   GM          TRAVERSE             SOUTH BEND               IN
37102   1GNERHKW5LJ219831   GM          TRAVERSE             MIAMI                    FL
37103   1GNERHKW5LJ219991   GM          TRAVERSE             ORLANDO                  FL
37104   1GNERHKW5LJ220123   GM          TRAVERSE             ORLANDO                  FL
37105   1GNERHKW5LJ220185   GM          TRAVERSE             WEST PALM BEACH          FL
37106   1GNERHKW5LJ220199   GM          TRAVERSE             Miami                    FL
37107   1GNERHKW5LJ220266   GM          TRAVERSE             DETROIT                  MI
37108   1GNERHKW5LJ220350   GM          TRAVERSE             FORT MYERS               FL
37109   1GNERHKW5LJ220462   GM          TRAVERSE             ORLANDO                  FL
37110   1GNERHKW5LJ220543   GM          TRAVERSE             SAINT PAUL               MN
37111   1GNERHKW5LJ220588   GM          TRAVERSE             ORLANDO                  FL
37112   1GNERHKW5LJ220610   GM          TRAVERSE             TAMPA                    FL
37113   1GNERHKW5LJ220767   GM          TRAVERSE             FORT LAUDERDALE          FL
37114   1GNERHKW5LJ221823   GM          TRAVERSE             MIAMI                    FL
37115   1GNERHKW5LJ225046   GM          TRAVERSE             PENSACOLA                FL
37116   1GNERHKW5LJ225080   GM          TRAVERSE             ORLANDO                  FL
37117   1GNERHKW5LJ225273   GM          TRAVERSE             SARASOTA                 FL
37118   1GNERHKW5LJ225824   GM          TRAVERSE             FORT MYERS               FL
37119   1GNERHKW5LJ226312   GM          TRAVERSE             FORT MYERS               FL
37120   1GNERHKW6LJ141592   GM          TRAVERSE             Austin                   TX
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37121   1GNERHKW6LJ142449   GM          TRAVERSE             ONTARIO                  CA
37122   1GNERHKW6LJ142788   GM          TRAVERSE             KENNER                   LA
37123   1GNERHKW6LJ143035   GM          TRAVERSE             LOS ANGELES              CA
37124   1GNERHKW6LJ143455   GM          TRAVERSE             SAN ANTONIO              TX
37125   1GNERHKW6LJ143908   GM          TRAVERSE             HOUSTON                  TX
37126   1GNERHKW6LJ144007   GM          TRAVERSE             HOUSTON                  TX
37127   1GNERHKW6LJ144220   GM          TRAVERSE             SAINT PAUL               MN
37128   1GNERHKW6LJ144332   GM          TRAVERSE             AUSTIN                   TX
37129   1GNERHKW6LJ144573   GM          TRAVERSE             ONTARIO                  CA
37130   1GNERHKW6LJ145108   GM          TRAVERSE             PHOENIX                  AZ
37131   1GNERHKW6LJ145934   GM          TRAVERSE             Killeen                  TX
37132   1GNERHKW6LJ145996   GM          TRAVERSE             PHOENIX                  AZ
37133   1GNERHKW6LJ146338   GM          TRAVERSE             ATLANTA                  GA
37134   1GNERHKW6LJ146503   GM          TRAVERSE             ORLANDO                  FL
37135   1GNERHKW6LJ147912   GM          TRAVERSE             ORLANDO                  FL
37136   1GNERHKW6LJ148168   GM          TRAVERSE             TAMPA                    FL
37137   1GNERHKW6LJ148199   GM          TRAVERSE             RALIEGH                  NC
37138   1GNERHKW6LJ148283   GM          TRAVERSE             BURLINGTON               VT
37139   1GNERHKW6LJ148624   GM          TRAVERSE             TAMPA                    FL
37140   1GNERHKW6LJ149191   GM          TRAVERSE             JACKSONVILLE             FL
37141   1GNERHKW6LJ149305   GM          TRAVERSE             ATLANTA                  GA
37142   1GNERHKW6LJ149336   GM          TRAVERSE             WHITE PLAINS             NY
37143   1GNERHKW6LJ163740   GM          TRAVERSE             JOLIET                   IL
37144   1GNERHKW6LJ164337   GM          TRAVERSE             AUSTIN                   TX
37145   1GNERHKW6LJ167366   GM          TRAVERSE             KENNER                   LA
37146   1GNERHKW6LJ167576   GM          TRAVERSE             HOUSTON                  TX
37147   1GNERHKW6LJ173796   GM          TRAVERSE             Atlanta                  GA
37148   1GNERHKW6LJ175094   GM          TRAVERSE             MIAMI                    FL
37149   1GNERHKW6LJ176794   GM          TRAVERSE             STERLING                 VA
37150   1GNERHKW6LJ178271   GM          TRAVERSE             ORLANDO                  FL
37151   1GNERHKW6LJ193952   GM          TRAVERSE             ORLANDO                  FL
37152   1GNERHKW6LJ196480   GM          TRAVERSE             SAN DIEGO                CA
37153   1GNERHKW6LJ196527   GM          TRAVERSE             PALM SPRINGS             CA
37154   1GNERHKW6LJ196575   GM          TRAVERSE             PALM SPRINGS             CA
37155   1GNERHKW6LJ201001   GM          TRAVERSE             ONTARIO                  CA
37156   1GNERHKW6LJ201032   GM          TRAVERSE             LAS VEGAS                NV
37157   1GNERHKW6LJ205050   GM          TRAVERSE             SOUTHEAST DST OFFC       OK
37158   1GNERHKW6LJ205064   GM          TRAVERSE             NASHVILLE                TN
37159   1GNERHKW6LJ205159   GM          TRAVERSE             HOUSTON                  TX
37160   1GNERHKW6LJ205226   GM          TRAVERSE             BOSTON                   MA
37161   1GNERHKW6LJ209230   GM          TRAVERSE             KENNER                   LA
37162   1GNERHKW6LJ209468   GM          TRAVERSE             KENNER                   LA
37163   1GNERHKW6LJ209499   GM          TRAVERSE             BIRMINGHAM               AL
37164   1GNERHKW6LJ209566   GM          TRAVERSE             KENNER                   LA
37165   1GNERHKW6LJ209681   GM          TRAVERSE             MEMPHIS                  TN
37166   1GNERHKW6LJ214671   GM          TRAVERSE             Miami                    FL
37167   1GNERHKW6LJ214895   GM          TRAVERSE             ORLANDO                  FL
37168   1GNERHKW6LJ215061   GM          TRAVERSE             ORLANDO                  FL
37169   1GNERHKW6LJ215075   GM          TRAVERSE             Atlanta                  GA
37170   1GNERHKW6LJ215206   GM          TRAVERSE             MIAMI                    FL
37171   1GNERHKW6LJ215223   GM          TRAVERSE             CHARLESTON               SC
37172   1GNERHKW6LJ215304   GM          TRAVERSE             GRAND RAPIDS             MI
37173   1GNERHKW6LJ215321   GM          TRAVERSE             NEW BERN                 NC
37174   1GNERHKW6LJ215643   GM          TRAVERSE             ORLANDO                  FL
37175   1GNERHKW6LJ215657   GM          TRAVERSE             ORLANDO                  FL
37176   1GNERHKW6LJ215786   GM          TRAVERSE             ORLANDO                  FL
37177   1GNERHKW6LJ215948   GM          TRAVERSE             WEST PALM BEACH          FL
37178   1GNERHKW6LJ216260   GM          TRAVERSE             FORT MYERS               FL
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37179   1GNERHKW6LJ216372   GM          TRAVERSE             WEST COLUMBIA            SC
37180   1GNERHKW6LJ219675   GM          TRAVERSE             MIAMI                    FL
37181   1GNERHKW6LJ219742   GM          TRAVERSE             MIAMI                    FL
37182   1GNERHKW6LJ219952   GM          TRAVERSE             Miami                    FL
37183   1GNERHKW6LJ220003   GM          TRAVERSE             ORLANDO                  FL
37184   1GNERHKW6LJ220115   GM          TRAVERSE             INDIANAPOLIS             IN
37185   1GNERHKW6LJ220163   GM          TRAVERSE             JACKSONVILLE             FL
37186   1GNERHKW6LJ220289   GM          TRAVERSE             CHARLOTTE                NC
37187   1GNERHKW6LJ220325   GM          TRAVERSE             KNOXVILLE                TN
37188   1GNERHKW6LJ220485   GM          TRAVERSE             WEST PALM BEACH          FL
37189   1GNERHKW6LJ220602   GM          TRAVERSE             WEST PALM BEACH          FL
37190   1GNERHKW6LJ220700   GM          TRAVERSE             FT. LAUDERDALE           FL
37191   1GNERHKW6LJ220714   GM          TRAVERSE             FORT LAUDERDALE          FL
37192   1GNERHKW6LJ220728   GM          TRAVERSE             WEST PALM BEACH          FL
37193   1GNERHKW6LJ220731   GM          TRAVERSE             MIAMI                    FL
37194   1GNERHKW6LJ220776   GM          TRAVERSE             PITTSBURGH               PA
37195   1GNERHKW6LJ221913   GM          TRAVERSE             Miami                    FL
37196   1GNERHKW6LJ225119   GM          TRAVERSE             FORT LAUDERDALE          FL
37197   1GNERHKW6LJ225332   GM          TRAVERSE             FORT MYERS               FL
37198   1GNERHKW6LJ225556   GM          TRAVERSE             FORT LAUDERDALE          FL
37199   1GNERHKW6LJ225850   GM          TRAVERSE             FORT MYERS               FL
37200   1GNERHKW7JJ153666   GM          TRAVERSE             Manheim                  PA
37201   1GNERHKW7LJ141309   GM          TRAVERSE             CORPUS CHRISTI           TX
37202   1GNERHKW7LJ141441   GM          TRAVERSE             HOUSTON                  TX
37203   1GNERHKW7LJ142993   GM          TRAVERSE             BEAUMONT                 TX
37204   1GNERHKW7LJ143187   GM          TRAVERSE             OKLAHOMA CITY            OK
37205   1GNERHKW7LJ143884   GM          TRAVERSE             HOUSTON                  TX
37206   1GNERHKW7LJ143917   GM          TRAVERSE             PHOENIX                  AZ
37207   1GNERHKW7LJ144324   GM          TRAVERSE             PHOENIX                  AZ
37208   1GNERHKW7LJ145246   GM          TRAVERSE             SHREVEPORT               LA
37209   1GNERHKW7LJ145666   GM          TRAVERSE             MCALLEN                  TX
37210   1GNERHKW7LJ145764   GM          TRAVERSE             Dallas                   TX
37211   1GNERHKW7LJ146123   GM          TRAVERSE             DALLAS                   TX
37212   1GNERHKW7LJ146977   GM          TRAVERSE             ORLANDO                  FL
37213   1GNERHKW7LJ147272   GM          TRAVERSE             MIAMI                    FL
37214   1GNERHKW7LJ147370   GM          TRAVERSE             TAMPA                    FL
37215   1GNERHKW7LJ147644   GM          TRAVERSE             LOS ANGELES              CA
37216   1GNERHKW7LJ148499   GM          TRAVERSE             Miami                    FL
37217   1GNERHKW7LJ148924   GM          TRAVERSE             ROCHESTER                NY
37218   1GNERHKW7LJ149801   GM          TRAVERSE             FORT LAUDERDALE          FL
37219   1GNERHKW7LJ149832   GM          TRAVERSE             FORT MYERS               FL
37220   1GNERHKW7LJ149944   GM          TRAVERSE             STERLING                 VA
37221   1GNERHKW7LJ163567   GM          TRAVERSE             SAN ANTONIO              TX
37222   1GNERHKW7LJ165304   GM          TRAVERSE             HOUSTON                  TX
37223   1GNERHKW7LJ165593   GM          TRAVERSE             CHARLESTON               SC
37224   1GNERHKW7LJ166453   GM          TRAVERSE             Atlanta                  GA
37225   1GNERHKW7LJ166985   GM          TRAVERSE             HOUSTON                  TX
37226   1GNERHKW7LJ166999   GM          TRAVERSE             SHREVEPORT               LA
37227   1GNERHKW7LJ167568   GM          TRAVERSE             COLLEGE PARK             GA
37228   1GNERHKW7LJ167716   GM          TRAVERSE             HOUSTON                  TX
37229   1GNERHKW7LJ178912   GM          TRAVERSE             Miami                    FL
37230   1GNERHKW7LJ193779   GM          TRAVERSE             STERLING                 VA
37231   1GNERHKW7LJ193975   GM          TRAVERSE             SAVANNAH                 GA
37232   1GNERHKW7LJ194074   GM          TRAVERSE             TAMPA                    FL
37233   1GNERHKW7LJ196486   GM          TRAVERSE             SAN DIEGO                CA
37234   1GNERHKW7LJ196598   GM          TRAVERSE             PALM SPRINGS             CA
37235   1GNERHKW7LJ196634   GM          TRAVERSE             LAS VEGAS                NV
37236   1GNERHKW7LJ200780   GM          TRAVERSE             SOUTH SAN FRANC          CA
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37237   1GNERHKW7LJ200858   GM          TRAVERSE             SANTA ANA                CA
37238   1GNERHKW7LJ200861   GM          TRAVERSE             PALM SPRINGS             CA
37239   1GNERHKW7LJ200908   GM          TRAVERSE             LOS ANGELES              CA
37240   1GNERHKW7LJ201069   GM          TRAVERSE             SAN DIEGO                CA
37241   1GNERHKW7LJ201265   GM          TRAVERSE             PALM SPRINGS             CA
37242   1GNERHKW7LJ205221   GM          TRAVERSE             NASHVILLE                TN
37243   1GNERHKW7LJ209284   GM          TRAVERSE             NEW ORLEANS              LA
37244   1GNERHKW7LJ209382   GM          TRAVERSE             KENNER                   LA
37245   1GNERHKW7LJ214629   GM          TRAVERSE             MIAMI                    FL
37246   1GNERHKW7LJ214923   GM          TRAVERSE             ORLANDO                  FL
37247   1GNERHKW7LJ214937   GM          TRAVERSE             Tampa                    FL
37248   1GNERHKW7LJ214999   GM          TRAVERSE             ORLANDO                  FL
37249   1GNERHKW7LJ215022   GM          TRAVERSE             ORLANDO                  FL
37250   1GNERHKW7LJ215067   GM          TRAVERSE             BOSTON                   MA
37251   1GNERHKW7LJ215358   GM          TRAVERSE             MILWAUKEE AIRPORT        WI
37252   1GNERHKW7LJ215392   GM          TRAVERSE             TAMPA                    US
37253   1GNERHKW7LJ215411   GM          TRAVERSE             ORLANDO                  FL
37254   1GNERHKW7LJ215828   GM          TRAVERSE             PHILADELPHIA             PA
37255   1GNERHKW7LJ216056   GM          TRAVERSE             JACKSONVILLE             FL
37256   1GNERHKW7LJ216073   GM          TRAVERSE             ORLANDO                  FL
37257   1GNERHKW7LJ216218   GM          TRAVERSE             NEW BERN                 NC
37258   1GNERHKW7LJ216395   GM          TRAVERSE             FORT LAUDERDALE          FL
37259   1GNERHKW7LJ219684   GM          TRAVERSE             MIAMI                    FL
37260   1GNERHKW7LJ219801   GM          TRAVERSE             MIAMI                    FL
37261   1GNERHKW7LJ219877   GM          TRAVERSE             Miami                    FL
37262   1GNERHKW7LJ219944   GM          TRAVERSE             MIAMI                    FL
37263   1GNERHKW7LJ220012   GM          TRAVERSE             ORLANDO                  FL
37264   1GNERHKW7LJ220138   GM          TRAVERSE             CLEVELAND                OH
37265   1GNERHKW7LJ220236   GM          TRAVERSE             TAMPA                    FL
37266   1GNERHKW7LJ220379   GM          TRAVERSE             TAMPA                    FL
37267   1GNERHKW7LJ220513   GM          TRAVERSE             WEST PALM BEACH          FL
37268   1GNERHKW7LJ220608   GM          TRAVERSE             PROVIDENCE               RI
37269   1GNERHKW7LJ220611   GM          TRAVERSE             FORT LAUDERDALE          FL
37270   1GNERHKW7LJ220818   GM          TRAVERSE             FORT LAUDERDALE          FL
37271   1GNERHKW7LJ225338   GM          TRAVERSE             MIAMI                    FL
37272   1GNERHKW7LJ225405   GM          TRAVERSE             FORT LAUDERDALE          FL
37273   1GNERHKW7LJ225498   GM          TRAVERSE             NEW BERN                 NC
37274   1GNERHKW7LJ225579   GM          TRAVERSE             MIAMI                    FL
37275   1GNERHKW7LJ231060   GM          TRAVERSE             TAMPA                    FL
37276   1GNERHKW8KJ287653   GM          TRAVERSE             BIRMINGHAM               AL
37277   1GNERHKW8KJ296398   GM          TRAVERSE             NEWARK                   NJ
37278   1GNERHKW8LJ141044   GM          TRAVERSE             DALLAS                   TX
37279   1GNERHKW8LJ141545   GM          TRAVERSE             MIAMI                    FL
37280   1GNERHKW8LJ142047   GM          TRAVERSE             LOS ANGELES              CA
37281   1GNERHKW8LJ142551   GM          TRAVERSE             Houston                  TX
37282   1GNERHKW8LJ142890   GM          TRAVERSE             DALLAS FORT WORTH AP     TX
37283   1GNERHKW8LJ143182   GM          TRAVERSE             Beaverton                OR
37284   1GNERHKW8LJ143246   GM          TRAVERSE             CORPUS CHRISTI           TX
37285   1GNERHKW8LJ144283   GM          TRAVERSE             DALLAS                   TX
37286   1GNERHKW8LJ144588   GM          TRAVERSE             DALLAS                   TX
37287   1GNERHKW8LJ145708   GM          TRAVERSE             NEW ORLEANS              LA
37288   1GNERHKW8LJ146082   GM          TRAVERSE             Dallas                   TX
37289   1GNERHKW8LJ146938   GM          TRAVERSE             FORT LAUDERDALE          FL
37290   1GNERHKW8LJ147474   GM          TRAVERSE             ORLANDO                  FL
37291   1GNERHKW8LJ148043   GM          TRAVERSE             MIAMI                    FL
37292   1GNERHKW8LJ148477   GM          TRAVERSE             FORT LAUDERDALE          FL
37293   1GNERHKW8LJ149497   GM          TRAVERSE             MIAMI                    FL
37294   1GNERHKW8LJ163609   GM          TRAVERSE             OKLAHOMA CITY            OK
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37295   1GNERHKW8LJ164050   GM          TRAVERSE             OKLAHOMA CITY            OK
37296   1GNERHKW8LJ164498   GM          TRAVERSE             SAN ANTONIO              TX
37297   1GNERHKW8LJ165148   GM          TRAVERSE             SAN ANTONIO              TX
37298   1GNERHKW8LJ165506   GM          TRAVERSE             OKLAHOMA CITY            OK
37299   1GNERHKW8LJ165814   GM          TRAVERSE             Dallas                   TX
37300   1GNERHKW8LJ166204   GM          TRAVERSE             DALLAS                   TX
37301   1GNERHKW8LJ166624   GM          TRAVERSE             LIBERAL                  KS
37302   1GNERHKW8LJ166669   GM          TRAVERSE             HOUSTON                  TX
37303   1GNERHKW8LJ167546   GM          TRAVERSE             HOUSTON                  TX
37304   1GNERHKW8LJ177008   GM          TRAVERSE             MIAMI                    FL
37305   1GNERHKW8LJ193841   GM          TRAVERSE             NEW ORLEANS              LA
37306   1GNERHKW8LJ193886   GM          TRAVERSE             FORT MYERS               FL
37307   1GNERHKW8LJ196190   GM          TRAVERSE             SAN DIEGO                CA
37308   1GNERHKW8LJ196643   GM          TRAVERSE             LAS VEGAS                NV
37309   1GNERHKW8LJ200903   GM          TRAVERSE             LOS ANGELES              CA
37310   1GNERHKW8LJ200979   GM          TRAVERSE             LOS ANGELES              CA
37311   1GNERHKW8LJ201016   GM          TRAVERSE             LOS ANGELES              CA
37312   1GNERHKW8LJ201081   GM          TRAVERSE             SAN FRANCISCO            CA
37313   1GNERHKW8LJ205115   GM          TRAVERSE             KNOXVILLE                TN
37314   1GNERHKW8LJ205213   GM          TRAVERSE             MEMPHIS                  TN
37315   1GNERHKW8LJ209407   GM          TRAVERSE             BOSTON                   MA
37316   1GNERHKW8LJ214655   GM          TRAVERSE             DANIA BEACH              FL
37317   1GNERHKW8LJ214669   GM          TRAVERSE             WEST PALM BEACH          FL
37318   1GNERHKW8LJ214686   GM          TRAVERSE             MIAMI                    FL
37319   1GNERHKW8LJ214798   GM          TRAVERSE             ORLANDO                  FL
37320   1GNERHKW8LJ214929   GM          TRAVERSE             ORLANDO                  FL
37321   1GNERHKW8LJ214946   GM          TRAVERSE             BOSTON                   MA
37322   1GNERHKW8LJ214994   GM          TRAVERSE             ORLANDO                  FL
37323   1GNERHKW8LJ215045   GM          TRAVERSE             CHARLESTON               SC
37324   1GNERHKW8LJ215093   GM          TRAVERSE             FORT MYERS               FL
37325   1GNERHKW8LJ215353   GM          TRAVERSE             FORT MYERS               FL
37326   1GNERHKW8LJ215577   GM          TRAVERSE             COLUMBUS                 OH
37327   1GNERHKW8LJ215613   GM          TRAVERSE             JACKSONVILLE             FL
37328   1GNERHKW8LJ215711   GM          TRAVERSE             ORLANDO                  FL
37329   1GNERHKW8LJ216115   GM          TRAVERSE             FORT MYERS               FL
37330   1GNERHKW8LJ216146   GM          TRAVERSE             FORT MYERS               FL
37331   1GNERHKW8LJ219693   GM          TRAVERSE             MIAMI                    FL
37332   1GNERHKW8LJ219970   GM          TRAVERSE             Miami                    FL
37333   1GNERHKW8LJ220097   GM          TRAVERSE             TAMPA                    FL
37334   1GNERHKW8LJ220245   GM          TRAVERSE             TAMPA                    FL
37335   1GNERHKW8LJ220388   GM          TRAVERSE             MIAMI                    FL
37336   1GNERHKW8LJ220438   GM          TRAVERSE             TAMPA                    US
37337   1GNERHKW8LJ220519   GM          TRAVERSE             FLORENCE                 SC
37338   1GNERHKW8LJ220598   GM          TRAVERSE             FORT LAUDERDALE          FL
37339   1GNERHKW8LJ220696   GM          TRAVERSE             FORT LAUDERDALE          FL
37340   1GNERHKW8LJ220729   GM          TRAVERSE             Miami                    FL
37341   1GNERHKW8LJ220763   GM          TRAVERSE             ORLANDO                  FL
37342   1GNERHKW8LJ221671   GM          TRAVERSE             Miami                    FL
37343   1GNERHKW8LJ225042   GM          TRAVERSE             WEST PALM BEACH          FL
37344   1GNERHKW8LJ225218   GM          TRAVERSE             FORT LAUDERDALE          FL
37345   1GNERHKW8LJ225221   GM          TRAVERSE             RALEIGH                  NC
37346   1GNERHKW9KJ270604   GM          TRAVERSE             SAN FRANCISCO            CA
37347   1GNERHKW9LJ141134   GM          TRAVERSE             KINGSPORT‐TRI CITY       TN
37348   1GNERHKW9LJ141148   GM          TRAVERSE             HOUSTON                  TX
37349   1GNERHKW9LJ141697   GM          TRAVERSE             Live Oak                 TX
37350   1GNERHKW9LJ142879   GM          TRAVERSE             HOUSTON                  TX
37351   1GNERHKW9LJ143160   GM          TRAVERSE             DALLAS                   TX
37352   1GNERHKW9LJ143269   GM          TRAVERSE             BURBANK                  CA
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37353   1GNERHKW9LJ143594   GM          TRAVERSE             KENNER                   LA
37354   1GNERHKW9LJ144003   GM          TRAVERSE             PHOENIX                  AZ
37355   1GNERHKW9LJ144034   GM          TRAVERSE             PHILADELPHIA             PA
37356   1GNERHKW9LJ144051   GM          TRAVERSE             CORPUS CHRISTI           TX
37357   1GNERHKW9LJ144227   GM          TRAVERSE             HOUSTON                  TX
37358   1GNERHKW9LJ144759   GM          TRAVERSE             DALLAS                   TX
37359   1GNERHKW9LJ144826   GM          TRAVERSE             DALLAS                   TX
37360   1GNERHKW9LJ145295   GM          TRAVERSE             SAN ANTONIO              TX
37361   1GNERHKW9LJ145507   GM          TRAVERSE             SAN DIEGO                CA
37362   1GNERHKW9LJ145717   GM          TRAVERSE             PHOENIX                  AZ
37363   1GNERHKW9LJ145782   GM          TRAVERSE             DALLAS                   TX
37364   1GNERHKW9LJ146284   GM          TRAVERSE             JACKSONVILLE             FL
37365   1GNERHKW9LJ146561   GM          TRAVERSE             ORLANDO                  FL
37366   1GNERHKW9LJ147242   GM          TRAVERSE             HOUSTON                  TX
37367   1GNERHKW9LJ147581   GM          TRAVERSE             TAMPA                    FL
37368   1GNERHKW9LJ149251   GM          TRAVERSE             LOS ANGELES AP           CA
37369   1GNERHKW9LJ149265   GM          TRAVERSE             SAVANNAH                 GA
37370   1GNERHKW9LJ149590   GM          TRAVERSE             FORT LAUDERDALE          FL
37371   1GNERHKW9LJ149962   GM          TRAVERSE             WEST PALM BEACH          FL
37372   1GNERHKW9LJ164347   GM          TRAVERSE             HOUSTON                  TX
37373   1GNERHKW9LJ174733   GM          TRAVERSE             Miami                    FL
37374   1GNERHKW9LJ176868   GM          TRAVERSE             ORLANDO                  FL
37375   1GNERHKW9LJ176949   GM          TRAVERSE             WEST PALM BEACH          FL
37376   1GNERHKW9LJ177339   GM          TRAVERSE             WILMINGTON               NC
37377   1GNERHKW9LJ178927   GM          TRAVERSE             MIAMI                    FL
37378   1GNERHKW9LJ193833   GM          TRAVERSE             Atlanta                  GA
37379   1GNERHKW9LJ196604   GM          TRAVERSE             SANTA ANA                CA
37380   1GNERHKW9LJ196747   GM          TRAVERSE             SAN JOSE                 CA
37381   1GNERHKW9LJ196781   GM          TRAVERSE             LAS VEGAS                NV
37382   1GNERHKW9LJ196909   GM          TRAVERSE             LAS VEGAS                NV
37383   1GNERHKW9LJ200912   GM          TRAVERSE             SAN DIEGO                CA
37384   1GNERHKW9LJ200943   GM          TRAVERSE             ORANGE COUNTY            CA
37385   1GNERHKW9LJ200974   GM          TRAVERSE             ORANGE COUNTY            CA
37386   1GNERHKW9LJ200991   GM          TRAVERSE             BURBANK                  CA
37387   1GNERHKW9LJ201025   GM          TRAVERSE             SAN DIEGO                CA
37388   1GNERHKW9LJ201073   GM          TRAVERSE             BURBANK                  CA
37389   1GNERHKW9LJ201204   GM          TRAVERSE             INGLEWOOD                CA
37390   1GNERHKW9LJ201333   GM          TRAVERSE             LOS ANGELES              CA
37391   1GNERHKW9LJ205088   GM          TRAVERSE             KNOXVILLE                TN
37392   1GNERHKW9LJ205205   GM          TRAVERSE             KNOXVILLE                TN
37393   1GNERHKW9LJ209321   GM          TRAVERSE             KENNER                   LA
37394   1GNERHKW9LJ209335   GM          TRAVERSE             KENNER                   LA
37395   1GNERHKW9LJ209366   GM          TRAVERSE             KENNER                   LA
37396   1GNERHKW9LJ214471   GM          TRAVERSE             INDIANAPOLIS             IN
37397   1GNERHKW9LJ214521   GM          TRAVERSE             ORLANDO                  FL
37398   1GNERHKW9LJ214650   GM          TRAVERSE             MIAMI                    FL
37399   1GNERHKW9LJ214860   GM          TRAVERSE             West Palm Beach          FL
37400   1GNERHKW9LJ215166   GM          TRAVERSE             KNOXVILLE                TN
37401   1GNERHKW9LJ215345   GM          TRAVERSE             FORT MYERS               FL
37402   1GNERHKW9LJ215409   GM          TRAVERSE             BOSTON                   MA
37403   1GNERHKW9LJ215426   GM          TRAVERSE             NEW BERN                 NC
37404   1GNERHKW9LJ215474   GM          TRAVERSE             TAMPA                    FL
37405   1GNERHKW9LJ215569   GM          TRAVERSE             ATLANTA                  GA
37406   1GNERHKW9LJ215572   GM          TRAVERSE             ORLANDO                  FL
37407   1GNERHKW9LJ215653   GM          TRAVERSE             ORLANDO                  FL
37408   1GNERHKW9LJ215717   GM          TRAVERSE             PHILADELPHIA             PA
37409   1GNERHKW9LJ215832   GM          TRAVERSE             FORT LAUDERDALE          FL
37410   1GNERHKW9LJ215958   GM          TRAVERSE             ORLANDO                  FL
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37411   1GNERHKW9LJ217175   GM          TRAVERSE             ORLANDO                  FL
37412   1GNERHKW9LJ219797   GM          TRAVERSE             ATLANTA                  GA
37413   1GNERHKW9LJ219895   GM          TRAVERSE             Miami                    FL
37414   1GNERHKW9LJ219976   GM          TRAVERSE             MIAMI                    FL
37415   1GNERHKW9LJ220030   GM          TRAVERSE             ORLANDO                  FL
37416   1GNERHKW9LJ220108   GM          TRAVERSE             Miami                    FL
37417   1GNERHKW9LJ220111   GM          TRAVERSE             MIAMI                    FL
37418   1GNERHKW9LJ220142   GM          TRAVERSE             ROANOKE                  VA
37419   1GNERHKW9LJ220173   GM          TRAVERSE             FORT MYERS               FL
37420   1GNERHKW9LJ220450   GM          TRAVERSE             ORLANDO                  FL
37421   1GNERHKW9LJ220464   GM          TRAVERSE             FORT LAUDERDALE          FL
37422   1GNERHKW9LJ220514   GM          TRAVERSE             MIAMI                    FL
37423   1GNERHKW9LJ220531   GM          TRAVERSE             FORT LAUDERDALE          FL
37424   1GNERHKW9LJ220559   GM          TRAVERSE             TAMPA                    FL
37425   1GNERHKW9LJ220626   GM          TRAVERSE             MIAMI                    FL
37426   1GNERHKW9LJ220660   GM          TRAVERSE             FORT MYERS               FL
37427   1GNERHKW9LJ220741   GM          TRAVERSE             EAST BOSTON              MA
37428   1GNERHKW9LJ220951   GM          TRAVERSE             ORLANDO                  FL
37429   1GNERHKW9LJ221002   GM          TRAVERSE             DES MOINES               IA
37430   1GNERHKW9LJ221940   GM          TRAVERSE             FORT LAUDERDALE          FL
37431   1GNERHKW9LJ225079   GM          TRAVERSE             TAMPA                    FL
37432   1GNERHKW9LJ225146   GM          TRAVERSE             FORT LAUDERDALE          FL
37433   1GNERHKW9LJ225342   GM          TRAVERSE             FORT LAUDERDALE          FL
37434   1GNERHKW9LJ225423   GM          TRAVERSE             FORT LAUDERDALE          FL
37435   1GNERHKWXLJ141272   GM          TRAVERSE             STERLING                 VA
37436   1GNERHKWXLJ141434   GM          TRAVERSE             MIDLAND                  TX
37437   1GNERHKWXLJ141448   GM          TRAVERSE             Houston                  TX
37438   1GNERHKWXLJ141515   GM          TRAVERSE             AUSTIN                   TX
37439   1GNERHKWXLJ141837   GM          TRAVERSE             AUSTIN                   TX
37440   1GNERHKWXLJ141854   GM          TRAVERSE             DALLAS                   TX
37441   1GNERHKWXLJ142065   GM          TRAVERSE             PHOENIX                  AZ
37442   1GNERHKWXLJ142468   GM          TRAVERSE             DALLAS                   TX
37443   1GNERHKWXLJ142566   GM          TRAVERSE             PHOENIX                  AZ
37444   1GNERHKWXLJ142776   GM          TRAVERSE             HOUSTON                  TX
37445   1GNERHKWXLJ142938   GM          TRAVERSE             Houston                  TX
37446   1GNERHKWXLJ143748   GM          TRAVERSE             DALLAS                   TX
37447   1GNERHKWXLJ143913   GM          TRAVERSE             PHOENIX                  AZ
37448   1GNERHKWXLJ143992   GM          TRAVERSE             LOUISVILLE               KY
37449   1GNERHKWXLJ144074   GM          TRAVERSE             COLUMBIA                 SC
37450   1GNERHKWXLJ144883   GM          TRAVERSE             BALTIMORE                MD
37451   1GNERHKWXLJ145001   GM          TRAVERSE             ONTARIO                  CA
37452   1GNERHKWXLJ145841   GM          TRAVERSE             AUSTIN                   TX
37453   1GNERHKWXLJ146262   GM          TRAVERSE             TAMPA                    FL
37454   1GNERHKWXLJ146519   GM          TRAVERSE             TAMPA                    FL
37455   1GNERHKWXLJ149906   GM          TRAVERSE             FORT MYERS               FL
37456   1GNERHKWXLJ149923   GM          TRAVERSE             CHARLOTTE                NC
37457   1GNERHKWXLJ164650   GM          TRAVERSE             San Antonio              TX
37458   1GNERHKWXLJ166298   GM          TRAVERSE             DALLAS                   TX
37459   1GNERHKWXLJ167032   GM          TRAVERSE             HOUSTON                  TX
37460   1GNERHKWXLJ167063   GM          TRAVERSE             AUSTIN                   TX
37461   1GNERHKWXLJ173803   GM          TRAVERSE             ORLANDO                  FL
37462   1GNERHKWXLJ175695   GM          TRAVERSE             TAMPA                    FL
37463   1GNERHKWXLJ178371   GM          TRAVERSE             DES PLAINES              US
37464   1GNERHKWXLJ178886   GM          TRAVERSE             ORLANDO                  FL
37465   1GNERHKWXLJ179178   GM          TRAVERSE             KENNER                   LA
37466   1GNERHKWXLJ193954   GM          TRAVERSE             ORLANDO                  FL
37467   1GNERHKWXLJ196322   GM          TRAVERSE             SAN DIEGO                CA
37468   1GNERHKWXLJ196515   GM          TRAVERSE             JACKSONVILLE             FL
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37469   1GNERHKWXLJ196613   GM          TRAVERSE             LAS VEGAS                NV
37470   1GNERHKWXLJ196806   GM          TRAVERSE             SAN JOSE                 CA
37471   1GNERHKWXLJ196871   GM          TRAVERSE             ONTARIO, RIVERSIDE       CA
37472   1GNERHKWXLJ200885   GM          TRAVERSE             INGLEWOOD                CA
37473   1GNERHKWXLJ201034   GM          TRAVERSE             LOS ANGELES              CA
37474   1GNERHKWXLJ201180   GM          TRAVERSE             LOS ANGELES              CA
37475   1GNERHKWXLJ204841   GM          TRAVERSE             MEMPHIS                  TN
37476   1GNERHKWXLJ209263   GM          TRAVERSE             KENNER                   LA
37477   1GNERHKWXLJ209327   GM          TRAVERSE             KENNER                   LA
37478   1GNERHKWXLJ209604   GM          TRAVERSE             ORLANDO                  FL
37479   1GNERHKWXLJ209764   GM          TRAVERSE             ORLANDO                  FL
37480   1GNERHKWXLJ214429   GM          TRAVERSE             Miami                    FL
37481   1GNERHKWXLJ214687   GM          TRAVERSE             JACKSONVILLE             FL
37482   1GNERHKWXLJ214706   GM          TRAVERSE             MIAMI                    FL
37483   1GNERHKWXLJ215029   GM          TRAVERSE             TAMPA                    FL
37484   1GNERHKWXLJ215242   GM          TRAVERSE             FORT MYERS               FL
37485   1GNERHKWXLJ215273   GM          TRAVERSE             ORLANDO                  FL
37486   1GNERHKWXLJ215287   GM          TRAVERSE             NAPLES                   FL
37487   1GNERHKWXLJ215421   GM          TRAVERSE             ORLANDO                  FL
37488   1GNERHKWXLJ215435   GM          TRAVERSE             CHICAGO                  IL
37489   1GNERHKWXLJ215791   GM          TRAVERSE             ORLANDO                  FL
37490   1GNERHKWXLJ215905   GM          TRAVERSE             ORLANDO                  FL
37491   1GNERHKWXLJ215984   GM          TRAVERSE             JACKSONVILLE             FL
37492   1GNERHKWXLJ216715   GM          TRAVERSE             TAMPA                    FL
37493   1GNERHKWXLJ219677   GM          TRAVERSE             KEY WEST                 FL
37494   1GNERHKWXLJ219842   GM          TRAVERSE             ORLANDO                  FL
37495   1GNERHKWXLJ219856   GM          TRAVERSE             WEST PALM BEACH          FL
37496   1GNERHKWXLJ219873   GM          TRAVERSE             TAMPA                    FL
37497   1GNERHKWXLJ219937   GM          TRAVERSE             Miami                    FL
37498   1GNERHKWXLJ220120   GM          TRAVERSE             WEST PALM BEACH          FL
37499   1GNERHKWXLJ220277   GM          TRAVERSE             WILMINGTON               NC
37500   1GNERHKWXLJ220358   GM          TRAVERSE             SARASOTA                 FL
37501   1GNERHKWXLJ220392   GM          TRAVERSE             TAMPA                    FL
37502   1GNERHKWXLJ220473   GM          TRAVERSE             FORT LAUDERDALE          FL
37503   1GNERHKWXLJ220487   GM          TRAVERSE             WEST PALM BEACH          FL
37504   1GNERHKWXLJ220523   GM          TRAVERSE             FORT MYERS               FL
37505   1GNERHKWXLJ220568   GM          TRAVERSE             TAMPA                    FL
37506   1GNERHKWXLJ220683   GM          TRAVERSE             WEST PALM BEACH          FL
37507   1GNERHKWXLJ221560   GM          TRAVERSE             PENSACOLA                FL
37508   1GNERHKWXLJ225205   GM          TRAVERSE             ORLANDO                  FL
37509   1GNERHKWXLJ225740   GM          TRAVERSE             ORLANDO                  FL
37510   1GNEVGKW0KJ303379   GM          TRAVERSE             WEST PALM BEACH          FL
37511   1GNEVGKW0LJ220553   GM          TRAVERSE             Medford                  NY
37512   1GNEVGKW1KJ304248   GM          TRAVERSE             PORTLAND                 ME
37513   1GNEVGKW2KJ298783   GM          TRAVERSE             SEATAC                   WA
37514   1GNEVGKW3KJ274931   GM          TRAVERSE             BOSTON                   MA
37515   1GNEVGKW3KJ302064   GM          TRAVERSE             PHILADELPHIA             PA
37516   1GNEVGKW3KJ305157   GM          TRAVERSE             OAKLAND                  CA
37517   1GNEVGKW4KJ271262   GM          TRAVERSE             PROVIDENCE               RI
37518   1GNEVGKW5KJ301255   GM          TRAVERSE             KENNER                   LA
37519   1GNEVGKW8JJ219065   GM          TRAVERSE             DAYTONA BEACH            FL
37520   1GNEVGKW9KJ300190   GM          TRAVERSE             DETROIT                  MI
37521   1GNEVGKW9KJ304496   GM          TRAVERSE             CLEVELAND                OH
37522   1GNEVHKW0KJ273399   GM          TRAVERSE             ORLANDO                  FL
37523   1GNEVHKW0KJ300181   GM          TRAVERSE             OMAHA                    NE
37524   1GNEVHKW0KJ304280   GM          TRAVERSE             BOSTON                   MA
37525   1GNEVHKW0KJ304831   GM          TRAVERSE             CHICAGO                  IL
37526   1GNEVHKW0LJ141163   GM          TRAVERSE             AUSTIN                   TX
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37527   1GNEVHKW0LJ141793   GM          TRAVERSE             PHOENIX                  AZ
37528   1GNEVHKW0LJ142295   GM          TRAVERSE             HOUSTON                  TX
37529   1GNEVHKW0LJ143320   GM          TRAVERSE             CLEVELAND                OH
37530   1GNEVHKW0LJ143351   GM          TRAVERSE             HOUSTON                  TX
37531   1GNEVHKW0LJ143673   GM          TRAVERSE             SACRAMENTO               CA
37532   1GNEVHKW0LJ143690   GM          TRAVERSE             Austin                   TX
37533   1GNEVHKW0LJ144595   GM          TRAVERSE             FORT MYERS               FL
37534   1GNEVHKW0LJ145066   GM          TRAVERSE             PHOENIX                  AZ
37535   1GNEVHKW0LJ145620   GM          TRAVERSE             BIRMINGHAM               AL
37536   1GNEVHKW0LJ146041   GM          TRAVERSE             LOS ANGELES              CA
37537   1GNEVHKW0LJ147027   GM          TRAVERSE             DANIA                    FL
37538   1GNEVHKW0LJ147805   GM          TRAVERSE             TUCSON                   AZ
37539   1GNEVHKW0LJ148047   GM          TRAVERSE             Atlanta                  GA
37540   1GNEVHKW0LJ148128   GM          TRAVERSE             KEY WEST                 FL
37541   1GNEVHKW0LJ148842   GM          TRAVERSE             ORLANDO                  FL
37542   1GNEVHKW0LJ177774   GM          TRAVERSE             ST Paul                  MN
37543   1GNEVHKW0LJ193893   GM          TRAVERSE             SALT LAKE CITY           US
37544   1GNEVHKW0LJ196342   GM          TRAVERSE             MEMPHIS                  TN
37545   1GNEVHKW0LJ196387   GM          TRAVERSE             SAN FRANCISCO            CA
37546   1GNEVHKW0LJ196406   GM          TRAVERSE             BURBANK                  CA
37547   1GNEVHKW0LJ196678   GM          TRAVERSE             LOS ANGELES              CA
37548   1GNEVHKW0LJ215343   GM          TRAVERSE             HARTFORD                 CT
37549   1GNEVHKW0LJ220218   GM          TRAVERSE             STERLING                 VA
37550   1GNEVHKW0LJ220316   GM          TRAVERSE             PHILADELPHIA             PA
37551   1GNEVHKW0LJ225399   GM          TRAVERSE             HARTFORD                 CT
37552   1GNEVHKW0LJ225693   GM          TRAVERSE             PHILADELPHIA             US
37553   1GNEVHKW0LJ225774   GM          TRAVERSE             ALBANY                   N
37554   1GNEVHKW0LJ230960   GM          TRAVERSE             WARWICK                  RI
37555   1GNEVHKW1KJ271189   GM          TRAVERSE             RENO                     NV
37556   1GNEVHKW1LJ141656   GM          TRAVERSE             HOUSTON                  TX
37557   1GNEVHKW1LJ142256   GM          TRAVERSE             KENNER                   LA
37558   1GNEVHKW1LJ142516   GM          TRAVERSE             HOUSTON                  TX
37559   1GNEVHKW1LJ143407   GM          TRAVERSE             DALLAS                   TX
37560   1GNEVHKW1LJ143438   GM          TRAVERSE             PHOENIX                  AZ
37561   1GNEVHKW1LJ143973   GM          TRAVERSE             MIAMI                    FL
37562   1GNEVHKW1LJ144167   GM          TRAVERSE             DALLAS                   TX
37563   1GNEVHKW1LJ144606   GM          TRAVERSE             ROANOKE                  VA
37564   1GNEVHKW1LJ144895   GM          TRAVERSE             KENNER                   LA
37565   1GNEVHKW1LJ145285   GM          TRAVERSE             HOUSTON                  TX
37566   1GNEVHKW1LJ145304   GM          TRAVERSE             HOUSTON                  TX
37567   1GNEVHKW1LJ145478   GM          TRAVERSE             Tulsa                    OK
37568   1GNEVHKW1LJ145660   GM          TRAVERSE             Live Oak                 TX
37569   1GNEVHKW1LJ145738   GM          TRAVERSE             DALLAS                   TX
37570   1GNEVHKW1LJ145769   GM          TRAVERSE             INGLEWOOD                CA
37571   1GNEVHKW1LJ146095   GM          TRAVERSE             FORT MYERS               FL
37572   1GNEVHKW1LJ146937   GM          TRAVERSE             Tampa                    FL
37573   1GNEVHKW1LJ148249   GM          TRAVERSE             TAMPA                    FL
37574   1GNEVHKW1LJ148512   GM          TRAVERSE             DETROIT                  MI
37575   1GNEVHKW1LJ148770   GM          TRAVERSE             ATLANTA                  GA
37576   1GNEVHKW1LJ148784   GM          TRAVERSE             FORT MYERS               FL
37577   1GNEVHKW1LJ149613   GM          TRAVERSE             WEST COLUMBIA            SC
37578   1GNEVHKW1LJ149966   GM          TRAVERSE             FORT LAUDERDALE          FL
37579   1GNEVHKW1LJ177749   GM          TRAVERSE             Houston                  TX
37580   1GNEVHKW1LJ196379   GM          TRAVERSE             LAS VEGAS                NV
37581   1GNEVHKW1LJ196723   GM          TRAVERSE             SAN DIEGO                CA
37582   1GNEVHKW1LJ196771   GM          TRAVERSE             LAS VEGAS                NV
37583   1GNEVHKW1LJ196883   GM          TRAVERSE             OAKLAND                  CA
37584   1GNEVHKW1LJ214489   GM          TRAVERSE             CHICAGO                  IL
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37585   1GNEVHKW1LJ214993   GM          TRAVERSE             TAYLOR                   MI
37586   1GNEVHKW1LJ230613   GM          TRAVERSE             CLEVELAND                OH
37587   1GNEVHKW1LJ230630   GM          TRAVERSE             SANTA ANA                CA
37588   1GNEVHKW2LJ141293   GM          TRAVERSE             Houston                  TX
37589   1GNEVHKW2LJ141410   GM          TRAVERSE             AUSTIN                   TX
37590   1GNEVHKW2LJ141973   GM          TRAVERSE             PHOENIX                  AZ
37591   1GNEVHKW2LJ142136   GM          TRAVERSE             HOUSTON                  TX
37592   1GNEVHKW2LJ143089   GM          TRAVERSE             HUMBLE                   TX
37593   1GNEVHKW2LJ143318   GM          TRAVERSE             NEW ORLEANS              LA
37594   1GNEVHKW2LJ143626   GM          TRAVERSE             PHOENIX                  AZ
37595   1GNEVHKW2LJ143660   GM          TRAVERSE             SAN DIEGO                US
37596   1GNEVHKW2LJ144579   GM          TRAVERSE             PHOENIX                  AZ
37597   1GNEVHKW2LJ144615   GM          TRAVERSE             PHOENIX                  AZ
37598   1GNEVHKW2LJ144792   GM          TRAVERSE             PHOENIX                  AZ
37599   1GNEVHKW2LJ145005   GM          TRAVERSE             AUSTIN                   TX
37600   1GNEVHKW2LJ146140   GM          TRAVERSE             Leesburg                 VA
37601   1GNEVHKW2LJ146302   GM          TRAVERSE             MIAMI                    FL
37602   1GNEVHKW2LJ146753   GM          TRAVERSE             DAYTONA BEACH            FL
37603   1GNEVHKW2LJ146896   GM          TRAVERSE             WEST PALM BEACH          FL
37604   1GNEVHKW2LJ146932   GM          TRAVERSE             SARASOTA                 FL
37605   1GNEVHKW2LJ147823   GM          TRAVERSE             MIAMI                    FL
37606   1GNEVHKW2LJ149524   GM          TRAVERSE             WILMINGTON               NC
37607   1GNEVHKW2LJ149555   GM          TRAVERSE             ORLANDO                  FL
37608   1GNEVHKW2LJ193961   GM          TRAVERSE             DALLAS                   TX
37609   1GNEVHKW2LJ196228   GM          TRAVERSE             ONTARIO                  CA
37610   1GNEVHKW2LJ196505   GM          TRAVERSE             SAN DIEGO                CA
37611   1GNEVHKW2LJ196553   GM          TRAVERSE             SAN FRANCISCO            CA
37612   1GNEVHKW2LJ196567   GM          TRAVERSE             SAN FRANCISCO            CA
37613   1GNEVHKW2LJ196620   GM          TRAVERSE             SEATAC                   WA
37614   1GNEVHKW2LJ215070   GM          TRAVERSE             ALBANY                   N
37615   1GNEVHKW2LJ215165   GM          TRAVERSE             ROCHESTER                NY
37616   1GNEVHKW2LJ230636   GM          TRAVERSE             ALBANY                   N
37617   1GNEVHKW2LJ230751   GM          TRAVERSE             BOSTON                   MA
37618   1GNEVHKW2LJ231091   GM          TRAVERSE             INDIANAPOLIS             IN
37619   1GNEVHKW3LJ141464   GM          TRAVERSE             KENNER                   LA
37620   1GNEVHKW3LJ142839   GM          TRAVERSE             SAN DIEGO                CA
37621   1GNEVHKW3LJ143165   GM          TRAVERSE             NEW ORLEANS              LA
37622   1GNEVHKW3LJ143540   GM          TRAVERSE             ORLANDO                  FL
37623   1GNEVHKW3LJ144090   GM          TRAVERSE             DALLAS                   TX
37624   1GNEVHKW3LJ144218   GM          TRAVERSE             DALLAS                   TX
37625   1GNEVHKW3LJ144221   GM          TRAVERSE             HOUSTON                  TX
37626   1GNEVHKW3LJ144249   GM          TRAVERSE             CORPUS CHRISTI           TX
37627   1GNEVHKW3LJ144414   GM          TRAVERSE             KENNER                   LA
37628   1GNEVHKW3LJ144767   GM          TRAVERSE             AUSTIN                   TX
37629   1GNEVHKW3LJ144901   GM          TRAVERSE             Phoenix                  AZ
37630   1GNEVHKW3LJ145014   GM          TRAVERSE             TUCSON                   AZ
37631   1GNEVHKW3LJ145952   GM          TRAVERSE             ONTARIO                  CA
37632   1GNEVHKW3LJ145966   GM          TRAVERSE             Lake Elsinore            CA
37633   1GNEVHKW3LJ146177   GM          TRAVERSE             Atlanta                  GA
37634   1GNEVHKW3LJ146308   GM          TRAVERSE             TAMPA                    FL
37635   1GNEVHKW3LJ146468   GM          TRAVERSE             FORT MYERS               FL
37636   1GNEVHKW3LJ147376   GM          TRAVERSE             MOBILE                   AL
37637   1GNEVHKW3LJ147507   GM          TRAVERSE             FORT MYERS               FL
37638   1GNEVHKW3LJ147717   GM          TRAVERSE             FORT LAUDERDALE          FL
37639   1GNEVHKW3LJ147801   GM          TRAVERSE             DES PLAINES              US
37640   1GNEVHKW3LJ147927   GM          TRAVERSE             FORT MYERS               FL
37641   1GNEVHKW3LJ148219   GM          TRAVERSE             FORT MYERS               FL
37642   1GNEVHKW3LJ148303   GM          TRAVERSE             ORLANDO                  FL
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37643   1GNEVHKW3LJ148446   GM          TRAVERSE             TAMPA                    FL
37644   1GNEVHKW3LJ148897   GM          TRAVERSE             FORT MYERS               FL
37645   1GNEVHKW3LJ149077   GM          TRAVERSE             ORLANDO                  FL
37646   1GNEVHKW3LJ149824   GM          TRAVERSE             TAMPA                    FL
37647   1GNEVHKW3LJ193922   GM          TRAVERSE             SALT LAKE CITY           US
37648   1GNEVHKW3LJ219788   GM          TRAVERSE             STERLING                 VA
37649   1GNEVHKW3LJ220133   GM          TRAVERSE             BOSTON                   MA
37650   1GNEVHKW4KJ300278   GM          TRAVERSE             KANSAS CITY              MO
37651   1GNEVHKW4LJ141196   GM          TRAVERSE             DALLAS                   TX
37652   1GNEVHKW4LJ141375   GM          TRAVERSE             HOUSTON                  TX
37653   1GNEVHKW4LJ142221   GM          TRAVERSE             OKLAHOMA CITY            OK
37654   1GNEVHKW4LJ142252   GM          TRAVERSE             HOUSTON                  TX
37655   1GNEVHKW4LJ142493   GM          TRAVERSE             AUSTIN                   TX
37656   1GNEVHKW4LJ142557   GM          TRAVERSE             HOUSTON                  TX
37657   1GNEVHKW4LJ142591   GM          TRAVERSE             INGLEWOOD                CA
37658   1GNEVHKW4LJ142655   GM          TRAVERSE             FORT LAUDERDALE          FL
37659   1GNEVHKW4LJ143577   GM          TRAVERSE             EL PASO                  TX
37660   1GNEVHKW4LJ143756   GM          TRAVERSE             DALLAS                   TX
37661   1GNEVHKW4LJ145023   GM          TRAVERSE             BEAUMONT                 TX
37662   1GNEVHKW4LJ145670   GM          TRAVERSE             PORTLAND                 OR
37663   1GNEVHKW4LJ145846   GM          TRAVERSE             SAN ANTONIO              TX
37664   1GNEVHKW4LJ145930   GM          TRAVERSE             DALLAS FORT WORTH AP     TX
37665   1GNEVHKW4LJ147760   GM          TRAVERSE             ORLANDO                  FL
37666   1GNEVHKW4LJ148410   GM          TRAVERSE             Miami                    FL
37667   1GNEVHKW4LJ148780   GM          TRAVERSE             CHARLOTTE                NC
37668   1GNEVHKW4LJ149492   GM          TRAVERSE             Jacksonville             FL
37669   1GNEVHKW4LJ149511   GM          TRAVERSE             TAMPA                    FL
37670   1GNEVHKW4LJ178880   GM          TRAVERSE             Denver                   CO
37671   1GNEVHKW4LJ178958   GM          TRAVERSE             SACRAMENTO               CA
37672   1GNEVHKW4LJ179012   GM          TRAVERSE             AUSTIN                   TX
37673   1GNEVHKW4LJ193878   GM          TRAVERSE             SAINT PAUL               MN
37674   1GNEVHKW4LJ194089   GM          TRAVERSE             SALT LAKE CITY           UT
37675   1GNEVHKW4LJ196313   GM          TRAVERSE             ONTARIO                  CA
37676   1GNEVHKW4LJ196540   GM          TRAVERSE             LOS ANGELES AP           CA
37677   1GNEVHKW4LJ196697   GM          TRAVERSE             SAN DIEGO                CA
37678   1GNEVHKW4LJ196795   GM          TRAVERSE             LOS ANGELES              CA
37679   1GNEVHKW4LJ214762   GM          TRAVERSE             BUFFALO                  NY
37680   1GNEVHKW4LJ214986   GM          TRAVERSE             ROCHESTER                NY
37681   1GNEVHKW4LJ215295   GM          TRAVERSE             GRAND RAPIDS             MI
37682   1GNEVHKW4LJ215328   GM          TRAVERSE             KNOXVILLE                TN
37683   1GNEVHKW4LJ215541   GM          TRAVERSE             WARWICK                  RI
37684   1GNEVHKW4LJ219850   GM          TRAVERSE             BOSTON                   MA
37685   1GNEVHKW4LJ219914   GM          TRAVERSE             KENNER                   LA
37686   1GNEVHKW4LJ220044   GM          TRAVERSE             MILWAUKEE                WI
37687   1GNEVHKW4LJ220092   GM          TRAVERSE             MILWAUKEE                WI
37688   1GNEVHKW4LJ230878   GM          TRAVERSE             Portland                 ME
37689   1GNEVHKW4LJ231299   GM          TRAVERSE             NEW YORK CITY            NY
37690   1GNEVHKW5LJ141241   GM          TRAVERSE             DALLAS                   TX
37691   1GNEVHKW5LJ141482   GM          TRAVERSE             Albuquerque              NM
37692   1GNEVHKW5LJ142583   GM          TRAVERSE             KENNER                   LA
37693   1GNEVHKW5LJ142650   GM          TRAVERSE             TUCSON                   AZ
37694   1GNEVHKW5LJ142762   GM          TRAVERSE             SAN ANTONIO              TX
37695   1GNEVHKW5LJ143183   GM          TRAVERSE             PHOENIX                  AZ
37696   1GNEVHKW5LJ143975   GM          TRAVERSE             LAS VEGAS                NV
37697   1GNEVHKW5LJ144253   GM          TRAVERSE             DALLAS                   TX
37698   1GNEVHKW5LJ144687   GM          TRAVERSE             CEDAR RAPIDS             IA
37699   1GNEVHKW5LJ144690   GM          TRAVERSE             SAN ANTONIO              TX
37700   1GNEVHKW5LJ144804   GM          TRAVERSE             DALLAS                   TX
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37701   1GNEVHKW5LJ144866   GM          TRAVERSE             KENNER                   LA
37702   1GNEVHKW5LJ145063   GM          TRAVERSE             PHOENIX                  AZ
37703   1GNEVHKW5LJ145192   GM          TRAVERSE             ATLANTA                  GA
37704   1GNEVHKW5LJ145208   GM          TRAVERSE             CORPUS CHRISTI           TX
37705   1GNEVHKW5LJ146357   GM          TRAVERSE             Miami                    FL
37706   1GNEVHKW5LJ146455   GM          TRAVERSE             FORT MYERS               FL
37707   1GNEVHKW5LJ148741   GM          TRAVERSE             MIAMI                    FL
37708   1GNEVHKW5LJ193887   GM          TRAVERSE             NEWPORT BEACH            CA
37709   1GNEVHKW5LJ193968   GM          TRAVERSE             SALT LAKE CITY           UT
37710   1GNEVHKW5LJ196417   GM          TRAVERSE             SANTA ANA                CA
37711   1GNEVHKW5LJ196868   GM          TRAVERSE             LOS ANGELES              CA
37712   1GNEVHKW5LJ215371   GM          TRAVERSE             Atlanta                  GA
37713   1GNEVHKW5LJ215547   GM          TRAVERSE             CLEVELAND                OH
37714   1GNEVHKW5LJ219744   GM          TRAVERSE             SYRACUSE                 NY
37715   1GNEVHKW5LJ219906   GM          TRAVERSE             LOUISVILLE               KY
37716   1GNEVHKW5LJ220361   GM          TRAVERSE             STERLING                 VA
37717   1GNEVHKW6KJ272046   GM          TRAVERSE             MILWAUKEE                WI
37718   1GNEVHKW6KJ272810   GM          TRAVERSE             WEST PALM BEACH          FL
37719   1GNEVHKW6LJ140986   GM          TRAVERSE             PHOENIX                  AZ
37720   1GNEVHKW6LJ141037   GM          TRAVERSE             TAMPA                    FL
37721   1GNEVHKW6LJ141426   GM          TRAVERSE             INDIANAPOLIS             IN
37722   1GNEVHKW6LJ141877   GM          TRAVERSE             KENNER                   LA
37723   1GNEVHKW6LJ142835   GM          TRAVERSE             SOUTHEAST DST OFFC       OK
37724   1GNEVHKW6LJ143273   GM          TRAVERSE             PHOENIX                  AZ
37725   1GNEVHKW6LJ143614   GM          TRAVERSE             AUSTIN                   TX
37726   1GNEVHKW6LJ143810   GM          TRAVERSE             HOUSTON                  TX
37727   1GNEVHKW6LJ144049   GM          TRAVERSE             HOUSTON                  TX
37728   1GNEVHKW6LJ144178   GM          TRAVERSE             DALLAS                   TX
37729   1GNEVHKW6LJ144309   GM          TRAVERSE             PHOENIX                  AZ
37730   1GNEVHKW6LJ144407   GM          TRAVERSE             Phoenix                  AZ
37731   1GNEVHKW6LJ144648   GM          TRAVERSE             AUSTIN                   TX
37732   1GNEVHKW6LJ144889   GM          TRAVERSE             PHILADELPHIA             PA
37733   1GNEVHKW6LJ144925   GM          TRAVERSE             Maple Grove              MN
37734   1GNEVHKW6LJ145136   GM          TRAVERSE             FORT MYERS               FL
37735   1GNEVHKW6LJ145850   GM          TRAVERSE             HOUSTON                  TX
37736   1GNEVHKW6LJ146531   GM          TRAVERSE             JACKSONVILLE             FL
37737   1GNEVHKW6LJ146772   GM          TRAVERSE             Atlanta                  GA
37738   1GNEVHKW6LJ147548   GM          TRAVERSE             MIAMI                    FL
37739   1GNEVHKW6LJ147744   GM          TRAVERSE             TAMPA                    US
37740   1GNEVHKW6LJ148389   GM          TRAVERSE             DANIA BEACH              FL
37741   1GNEVHKW6LJ148666   GM          TRAVERSE             TAMPA                    FL
37742   1GNEVHKW6LJ148943   GM          TRAVERSE             RALIEGH                  NC
37743   1GNEVHKW6LJ149008   GM          TRAVERSE             ATLANTA                  GA
37744   1GNEVHKW6LJ193865   GM          TRAVERSE             SALT LAKE CITY           UT
37745   1GNEVHKW6LJ193977   GM          TRAVERSE             SALT LAKE CITY           UT
37746   1GNEVHKW6LJ196409   GM          TRAVERSE             PALM SPRINGS             CA
37747   1GNEVHKW6LJ196474   GM          TRAVERSE             ORANGE COUNTY            CA
37748   1GNEVHKW6LJ196510   GM          TRAVERSE             LOS ANGELES              CA
37749   1GNEVHKW6LJ196703   GM          TRAVERSE             LAS VEGAS                NV
37750   1GNEVHKW6LJ214424   GM          TRAVERSE             HARTFORD                 CT
37751   1GNEVHKW6LJ214438   GM          TRAVERSE             CHARLOTTE                NC
37752   1GNEVHKW6LJ214746   GM          TRAVERSE             HARTFORD                 CT
37753   1GNEVHKW6LJ215038   GM          TRAVERSE             STERLING                 VA
37754   1GNEVHKW6LJ219896   GM          TRAVERSE             ORLANDO                  FL
37755   1GNEVHKW6LJ225309   GM          TRAVERSE             WARWICK                  RI
37756   1GNEVHKW6LJ225987   GM          TRAVERSE             GRAND RAPIDS             MI
37757   1GNEVHKW6LJ230493   GM          TRAVERSE             INDIANAPOLIS             IN
37758   1GNEVHKW6LJ230641   GM          TRAVERSE             PORTLAND                 ME
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37759   1GNEVHKW7KJ271004   GM          TRAVERSE             LOS ANGELES AP           CA
37760   1GNEVHKW7LJ141841   GM          TRAVERSE             KENNER                   LA
37761   1GNEVHKW7LJ141855   GM          TRAVERSE             NEW ORLEANS              LA
37762   1GNEVHKW7LJ141998   GM          TRAVERSE             WOODSON TERRACE          MO
37763   1GNEVHKW7LJ142701   GM          TRAVERSE             AUSTIN                   TX
37764   1GNEVHKW7LJ143055   GM          TRAVERSE             PHOENIX                  AZ
37765   1GNEVHKW7LJ143198   GM          TRAVERSE             TUCSON                   AZ
37766   1GNEVHKW7LJ143735   GM          TRAVERSE             DALLAS                   TX
37767   1GNEVHKW7LJ144027   GM          TRAVERSE             PALM SPRINGS             CA
37768   1GNEVHKW7LJ144139   GM          TRAVERSE             MIAMI                    FL
37769   1GNEVHKW7LJ144156   GM          TRAVERSE             LOS ANGELES AP           CA
37770   1GNEVHKW7LJ144500   GM          TRAVERSE             SAN ANTONIO              TX
37771   1GNEVHKW7LJ144786   GM          TRAVERSE             NEWARK                   NJ
37772   1GNEVHKW7LJ145212   GM          TRAVERSE             KILLEEN                  US
37773   1GNEVHKW7LJ145582   GM          TRAVERSE             ORLANDO                  FL
37774   1GNEVHKW7LJ145761   GM          TRAVERSE             DALLAS                   TX
37775   1GNEVHKW7LJ145999   GM          TRAVERSE             DALLAS                   TX
37776   1GNEVHKW7LJ146280   GM          TRAVERSE             Atlanta                  GA
37777   1GNEVHKW7LJ147168   GM          TRAVERSE             NEW ORLEANS              LA
37778   1GNEVHKW7LJ147753   GM          TRAVERSE             FORT LAUDERDALE          FL
37779   1GNEVHKW7LJ148255   GM          TRAVERSE             SARASOTA                 FL
37780   1GNEVHKW7LJ148448   GM          TRAVERSE             MIAMI                    FL
37781   1GNEVHKW7LJ148465   GM          TRAVERSE             ORLANDO                  FL
37782   1GNEVHKW7LJ148577   GM          TRAVERSE             ORLANDO                  FL
37783   1GNEVHKW7LJ149275   GM          TRAVERSE             Stone Mountain           GA
37784   1GNEVHKW7LJ149955   GM          TRAVERSE             TITUSVILLE               FL
37785   1GNEVHKW7LJ196337   GM          TRAVERSE             SAN ANTONIO              TX
37786   1GNEVHKW7LJ196483   GM          TRAVERSE             OAKLAND                  CA
37787   1GNEVHKW7LJ196676   GM          TRAVERSE             SAN JOSE                 CA
37788   1GNEVHKW7LJ215100   GM          TRAVERSE             Gaston                   SC
37789   1GNEVHKW7LJ215209   GM          TRAVERSE             ROCHESTER                NY
37790   1GNEVHKW7LJ215453   GM          TRAVERSE             COLLEGE PARK             GA
37791   1GNEVHKW7LJ220054   GM          TRAVERSE             PORTLAND                 ME
37792   1GNEVHKW7LJ225335   GM          TRAVERSE             PORTLAND                 ME
37793   1GNEVHKW8LJ141363   GM          TRAVERSE             PHOENIX                  AZ
37794   1GNEVHKW8LJ142237   GM          TRAVERSE             MIDLAND                  TX
37795   1GNEVHKW8LJ142240   GM          TRAVERSE             Las Vegas                NV
37796   1GNEVHKW8LJ142528   GM          TRAVERSE             HOUSTON                  TX
37797   1GNEVHKW8LJ142609   GM          TRAVERSE             DALLAS                   TX
37798   1GNEVHKW8LJ143002   GM          TRAVERSE             ORLANDO                  FL
37799   1GNEVHKW8LJ143579   GM          TRAVERSE             PHILADELPHIA             PA
37800   1GNEVHKW8LJ143713   GM          TRAVERSE             PENSACOLA                FL
37801   1GNEVHKW8LJ143890   GM          TRAVERSE             AUSTIN                   TX
37802   1GNEVHKW8LJ144599   GM          TRAVERSE             WEST PALM BEACH          FL
37803   1GNEVHKW8LJ145333   GM          TRAVERSE             FEDERAL WAY              WA
37804   1GNEVHKW8LJ145347   GM          TRAVERSE             PHOENIX                  AZ
37805   1GNEVHKW8LJ145705   GM          TRAVERSE             SAN ANTONIO              TX
37806   1GNEVHKW8LJ145994   GM          TRAVERSE             GRAND PRAIRIE            TX
37807   1GNEVHKW8LJ146935   GM          TRAVERSE             FORT LAUDERDALE          FL
37808   1GNEVHKW8LJ147499   GM          TRAVERSE             WEST PALM BEACH          FL
37809   1GNEVHKW8LJ148734   GM          TRAVERSE             TAMPA                    FL
37810   1GNEVHKW8LJ148829   GM          TRAVERSE             MIAMI INT'L AP           FL
37811   1GNEVHKW8LJ149348   GM          TRAVERSE             MIAMI                    FL
37812   1GNEVHKW8LJ149625   GM          TRAVERSE             FORT MYERS               FL
37813   1GNEVHKW8LJ149933   GM          TRAVERSE             CHICAGO O'HARE AP        IL
37814   1GNEVHKW8LJ193835   GM          TRAVERSE             SALT LAKE CITY           US
37815   1GNEVHKW8LJ193849   GM          TRAVERSE             SALT LAKE CITY           US
37816   1GNEVHKW8LJ193883   GM          TRAVERSE             SALT LAKE CITY           UT
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37817   1GNEVHKW8LJ214568   GM          TRAVERSE             SOUTH BURLINGTO          VT
37818   1GNEVHKW8LJ214778   GM          TRAVERSE             ALBANY                   N
37819   1GNEVHKW8LJ214991   GM          TRAVERSE             ALBANY                   N
37820   1GNEVHKW8LJ219690   GM          TRAVERSE             WARWICK                  RI
37821   1GNEVHKW8LJ230723   GM          TRAVERSE             DES MOINES               IA
37822   1GNEVHKW8LJ230737   GM          TRAVERSE             LOUISVILLE               KY
37823   1GNEVHKW9KJ299855   GM          TRAVERSE             INGLEWOOD                CA
37824   1GNEVHKW9LJ141484   GM          TRAVERSE             ORLANDO                  FL
37825   1GNEVHKW9LJ141601   GM          TRAVERSE             EL SEGUNDO               CA
37826   1GNEVHKW9LJ141677   GM          TRAVERSE             Springfield              MO
37827   1GNEVHKW9LJ141825   GM          TRAVERSE             Warwick                  RI
37828   1GNEVHKW9LJ142781   GM          TRAVERSE             SANTA FE                 NM
37829   1GNEVHKW9LJ143137   GM          TRAVERSE             SAN ANTONIO              TX
37830   1GNEVHKW9LJ144272   GM          TRAVERSE             PHOENIX                  AZ
37831   1GNEVHKW9LJ145681   GM          TRAVERSE             KENNER                   LA
37832   1GNEVHKW9LJ146023   GM          TRAVERSE             BOSTON                   MA
37833   1GNEVHKW9LJ146362   GM          TRAVERSE             Atlanta                  GA
37834   1GNEVHKW9LJ148290   GM          TRAVERSE             ORLANDO                  FL
37835   1GNEVHKW9LJ148404   GM          TRAVERSE             Atlanta                  GA
37836   1GNEVHKW9LJ148743   GM          TRAVERSE             Hebron                   KY
37837   1GNEVHKW9LJ149097   GM          TRAVERSE             SAN DIEGO                CA
37838   1GNEVHKW9LJ149231   GM          TRAVERSE             MIAMI                    FL
37839   1GNEVHKW9LJ149892   GM          TRAVERSE             WEST PALM BEACH          FL
37840   1GNEVHKW9LJ194069   GM          TRAVERSE             Teterboro                NJ
37841   1GNEVHKW9LJ196288   GM          TRAVERSE             SAN FRANCISCO            CA
37842   1GNEVHKW9LJ214515   GM          TRAVERSE             Hebron                   KY
37843   1GNEVHKW9LJ214594   GM          TRAVERSE             BUFFALO                  NY
37844   1GNEVHKW9LJ215017   GM          TRAVERSE             BUFFALO                  NY
37845   1GNEVHKW9LJ219889   GM          TRAVERSE             BOSTON                   MA
37846   1GNEVHKW9LJ225725   GM          TRAVERSE             PORTLAND                 ME
37847   1GNEVHKW9LJ230665   GM          TRAVERSE             GRAND RAPIDS             MI
37848   1GNEVHKWXKJ304108   GM          TRAVERSE             OMAHA                    NE
37849   1GNEVHKWXLJ141302   GM          TRAVERSE             LAS VEGAS                NV
37850   1GNEVHKWXLJ143082   GM          TRAVERSE             PHOENIX                  AZ
37851   1GNEVHKWXLJ143552   GM          TRAVERSE             CORPUS CHRISTI           TX
37852   1GNEVHKWXLJ144684   GM          TRAVERSE             DALLAS                   TX
37853   1GNEVHKWXLJ145026   GM          TRAVERSE             DALLAS                   TX
37854   1GNEVHKWXLJ145155   GM          TRAVERSE             SAN DIEGO                CA
37855   1GNEVHKWXLJ145513   GM          TRAVERSE             Hebron                   KY
37856   1GNEVHKWXLJ145866   GM          TRAVERSE             KENNER                   LA
37857   1GNEVHKWXLJ146354   GM          TRAVERSE             ORLANDO                  FL
37858   1GNEVHKWXLJ146628   GM          TRAVERSE             Atlanta                  GA
37859   1GNEVHKWXLJ147035   GM          TRAVERSE             ORLANDO                  FL
37860   1GNEVHKWXLJ147360   GM          TRAVERSE             ORLANDO                  FL
37861   1GNEVHKWXLJ149237   GM          TRAVERSE             Atlanta                  GA
37862   1GNEVHKWXLJ149450   GM          TRAVERSE             ORLANDO                  FL
37863   1GNEVHKWXLJ149500   GM          TRAVERSE             ORLANDO                  FL
37864   1GNEVHKWXLJ149769   GM          TRAVERSE             SHREVEPORT               LA
37865   1GNEVHKWXLJ178107   GM          TRAVERSE             DENVER                   CO
37866   1GNEVHKWXLJ196381   GM          TRAVERSE             SAN DIEGO                CA
37867   1GNEVHKWXLJ196476   GM          TRAVERSE             LOS ANGELES              CA
37868   1GNEVHKWXLJ196512   GM          TRAVERSE             FRESNO                   CA
37869   1GNEVHKWXLJ196767   GM          TRAVERSE             SAN FRANCISCO            CA
37870   1GNEVHKWXLJ197188   GM          TRAVERSE             CHICAGO                  IL
37871   1GNEVHKWXLJ214829   GM          TRAVERSE             NEW BERN                 NC
37872   1GNEVHKWXLJ215026   GM          TRAVERSE             ROCHESTER                NY
37873   1GNEVHKWXLJ225359   GM          TRAVERSE             BIRMINGHAN               AL
37874   1GNEVHKWXLJ230643   GM          TRAVERSE             CLEVELAND                OH
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37875   1GNEVJKW0JJ189542   GM          TRAVERSE             Aurora                   CO
37876   1GNEVJKW1JJ246234   GM          TRAVERSE             Manheim                  PA
37877   1GNEVJKW6JJ235410   GM          TRAVERSE             Hanover                  MD
37878   1GNEVJKW7JJ218518   GM          TRAVERSE             Manheim                  PA
37879   1GNEVKKW0KJ275313   GM          TRAVERSE             RALEIGH                  NC
37880   1GNEVKKW0KJ300775   GM          TRAVERSE             East Boston              MA
37881   1GNEVKKW1JJ185151   GM          TRAVERSE             Atlanta                  GA
37882   1GNEVKKW1LJ155392   GM          TRAVERSE             ORLANDO                  FL
37883   1GNEVKKW2KJ301345   GM          TRAVERSE             ALBANY                   N
37884   1GNEVKKW3JJ183305   GM          TRAVERSE             Davie                    FL
37885   1GNEVKKW7JJ182576   GM          TRAVERSE             North Dighton            MA
37886   1GNEVKKW7KJ271646   GM          TRAVERSE             RICHMOND                 VA
37887   1GNEVKKW9KJ296600   GM          TRAVERSE             EGG HARBOR TOWN          NJ
37888   1GNEVKKW9KJ296760   GM          TRAVERSE             KANSAS CITY              MO
37889   1GNEVKKW9KJ301617   GM          TRAVERSE             WARWICK                  RI
37890   1GNEVKKWXKJ272032   GM          TRAVERSE             ALBANY                   NY
37891   1GNEVKKWXKJ273259   GM          TRAVERSE             SARASOTA                 FL
37892   1GNSKBKC0JR108158   GM          TAHOE                Riverside                CA
37893   1GNSKBKC0JR111030   GM          TAHOE                Santa Clara              CA
37894   1GNSKBKC0JR196323   GM          TAHOE                HILO                     HI
37895   1GNSKBKC0JR196497   GM          TAHOE                Hayward                  CA
37896   1GNSKBKC0JR355910   GM          TAHOE                North Dighton            MA
37897   1GNSKBKC0JR368186   GM          TAHOE                Tucson                   AZ
37898   1GNSKBKC0JR374408   GM          TAHOE                LOS ANGELES              CA
37899   1GNSKBKC0JR383089   GM          TAHOE                DARLINGTON               SC
37900   1GNSKBKC0JR384632   GM          TAHOE                SAINT PAUL               MN
37901   1GNSKBKC0JR387174   GM          TAHOE                Fontana                  CA
37902   1GNSKBKC0JR388129   GM          TAHOE                ORANGE COUNTY            CA
37903   1GNSKBKC0JR391645   GM          TAHOE                Philadelphia             PA
37904   1GNSKBKC0JR393928   GM          TAHOE                Fontana                  CA
37905   1GNSKBKC0JR397980   GM          TAHOE                JACKSON                  MS
37906   1GNSKBKC0KR159161   GM          TAHOE                Bordentown               NJ
37907   1GNSKBKC0KR159743   GM          TAHOE                WEST PALM BEACH          FL
37908   1GNSKBKC0KR161492   GM          TAHOE                COLUMBUS                 OH
37909   1GNSKBKC0KR162304   GM          TAHOE                WARWICK                  RI
37910   1GNSKBKC0KR163470   GM          TAHOE                St. Louis                MO
37911   1GNSKBKC0KR163582   GM          TAHOE                Manheim                  PA
37912   1GNSKBKC0KR164098   GM          TAHOE                Ft. Myers                FL
37913   1GNSKBKC0KR165039   GM          TAHOE                NEWPORT BEACH            CA
37914   1GNSKBKC0KR165459   GM          TAHOE                PHILADELPHIA             PA
37915   1GNSKBKC0KR165977   GM          TAHOE                TAMPA                    FL
37916   1GNSKBKC0KR166031   GM          TAHOE                Ocoee                    FL
37917   1GNSKBKC0KR168653   GM          TAHOE                MIAMI                    FL
37918   1GNSKBKC0KR169480   GM          TAHOE                TAMPA                    FL
37919   1GNSKBKC0KR169933   GM          TAHOE                Fontana                  CA
37920   1GNSKBKC0KR173447   GM          TAHOE                Atlanta                  GA
37921   1GNSKBKC0KR174372   GM          TAHOE                Plainfield               IN
37922   1GNSKBKC0KR174856   GM          TAHOE                BUFFALO                  NY
37923   1GNSKBKC0KR177000   GM          TAHOE                Fredericksburg           VA
37924   1GNSKBKC0KR197263   GM          TAHOE                S. San Francisc          CA
37925   1GNSKBKC0KR197568   GM          TAHOE                Plainfield               IN
37926   1GNSKBKC0KR200646   GM          TAHOE                North Las Vegas          NV
37927   1GNSKBKC0KR273306   GM          TAHOE                DETROIT                  MI
37928   1GNSKBKC0KR274827   GM          TAHOE                SOUTHEAST DST OFFC       OK
37929   1GNSKBKC0KR275556   GM          TAHOE                SAN JOSE                 CA
37930   1GNSKBKC0KR276528   GM          TAHOE                TAMPA                    FL
37931   1GNSKBKC0KR278425   GM          TAHOE                BOSTON                   MA
37932   1GNSKBKC0KR278862   GM          TAHOE                KANSAS CITY              MO
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37933   1GNSKBKC0KR281258   GM          TAHOE                ORLANDO                  FL
37934   1GNSKBKC0KR281731   GM          TAHOE                Fontana                  CA
37935   1GNSKBKC0KR284113   GM          TAHOE                North Dighton            MA
37936   1GNSKBKC0KR286220   GM          TAHOE                NEW ORLEANS              LA
37937   1GNSKBKC0KR286556   GM          TAHOE                DETROIT                  MI
37938   1GNSKBKC0KR291742   GM          TAHOE                ALBANY                   NY
37939   1GNSKBKC0KR299405   GM          TAHOE                Houston                  TX
37940   1GNSKBKC0KR299646   GM          TAHOE                LOS ANGELES              CA
37941   1GNSKBKC0KR301833   GM          TAHOE                KENNER                   LA
37942   1GNSKBKC0KR305039   GM          TAHOE                MIAMI                    FL
37943   1GNSKBKC0KR305994   GM          TAHOE                Schaumburg               IL
37944   1GNSKBKC0KR306546   GM          TAHOE                Sarasota                 FL
37945   1GNSKBKC0KR306840   GM          TAHOE                PANAMA CITY              FL
37946   1GNSKBKC0KR308586   GM          TAHOE                KENNER                   LA
37947   1GNSKBKC0KR310712   GM          TAHOE                HARTFORD                 CT
37948   1GNSKBKC0KR312024   GM          TAHOE                Lexington                KY
37949   1GNSKBKC0KR312461   GM          TAHOE                HARTFORD                 CT
37950   1GNSKBKC0KR312525   GM          TAHOE                CHICAGO                  IL
37951   1GNSKBKC0KR313285   GM          TAHOE                KANSAS CITY              MO
37952   1GNSKBKC0KR332192   GM          TAHOE                Cicero                   NY
37953   1GNSKBKC0KR332533   GM          TAHOE                GYPSUM                   CO
37954   1GNSKBKC0KR332578   GM          TAHOE                DENVER                   CO
37955   1GNSKBKC0KR333181   GM          TAHOE                Riverside                CA
37956   1GNSKBKC0KR333228   GM          TAHOE                DENVER                   CO
37957   1GNSKBKC0KR333357   GM          TAHOE                DENVER                   CO
37958   1GNSKBKC0KR334542   GM          TAHOE                DENVER                   CO
37959   1GNSKBKC0KR335190   GM          TAHOE                OKLAHOMA CITY            OK
37960   1GNSKBKC0KR336274   GM          TAHOE                PHOENIX                  AZ
37961   1GNSKBKC0KR340843   GM          TAHOE                WARWICK                  RI
37962   1GNSKBKC0KR341586   GM          TAHOE                Cicero                   NY
37963   1GNSKBKC0KR341944   GM          TAHOE                N. Palm Beach            FL
37964   1GNSKBKC0KR345198   GM          TAHOE                SALT LAKE CITY           US
37965   1GNSKBKC0KR345234   GM          TAHOE                PLEASANTON               CA
37966   1GNSKBKC0KR346822   GM          TAHOE                Santa Clara              CA
37967   1GNSKBKC0KR347033   GM          TAHOE                SEATAC                   WA
37968   1GNSKBKC0KR347811   GM          TAHOE                SALT LAKE CITY           UT
37969   1GNSKBKC0KR361367   GM          TAHOE                PORTLAND                 ME
37970   1GNSKBKC0KR363376   GM          TAHOE                UNION CITY               GA
37971   1GNSKBKC0KR363703   GM          TAHOE                MEMPHIS                  TN
37972   1GNSKBKC0KR364009   GM          TAHOE                DENVER                   CO
37973   1GNSKBKC0KR365435   GM          TAHOE                DENVER                   CO
37974   1GNSKBKC0KR367508   GM          TAHOE                ALBANY                   NY
37975   1GNSKBKC0KR368545   GM          TAHOE                SAINT PAUL               MN
37976   1GNSKBKC0KR373342   GM          TAHOE                PALM SPRINGS             CA
37977   1GNSKBKC0KR375348   GM          TAHOE                BOISE                    US
37978   1GNSKBKC0KR375530   GM          TAHOE                MILWAUKEE                WI
37979   1GNSKBKC0KR376709   GM          TAHOE                SALT LAKE CITY           UT
37980   1GNSKBKC0KR380050   GM          TAHOE                WICHITA FALLS            TX
37981   1GNSKBKC0KR385829   GM          TAHOE                Des Moines               IA
37982   1GNSKBKC0KR386415   GM          TAHOE                SALT LAKE CITY           US
37983   1GNSKBKC0LR145617   GM          TAHOE                MIAMI                    FL
37984   1GNSKBKC0LR146086   GM          TAHOE                HOUSTON                  TX
37985   1GNSKBKC0LR146153   GM          TAHOE                LOS ANGELES              CA
37986   1GNSKBKC0LR146380   GM          TAHOE                WEST PALM BEACH          FL
37987   1GNSKBKC0LR146573   GM          TAHOE                ORLANDO                  FL
37988   1GNSKBKC0LR146718   GM          TAHOE                MIAMI                    FL
37989   1GNSKBKC0LR146878   GM          TAHOE                DANIA                    FL
37990   1GNSKBKC0LR147514   GM          TAHOE                JACKSONVILLE             FL
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37991   1GNSKBKC0LR147576   GM          TAHOE                TULSA                    OK
37992   1GNSKBKC0LR147724   GM          TAHOE                DALLAS                   TX
37993   1GNSKBKC0LR148341   GM          TAHOE                Miami                    FL
37994   1GNSKBKC0LR148419   GM          TAHOE                WHITE PLAINS             NY
37995   1GNSKBKC0LR148520   GM          TAHOE                AUSTIN                   TX
37996   1GNSKBKC0LR148890   GM          TAHOE                JACKSONVILLE             FL
37997   1GNSKBKC0LR148954   GM          TAHOE                WEST PALM BEACH          FL
37998   1GNSKBKC0LR149280   GM          TAHOE                FORT LAUDERDALE          FL
37999   1GNSKBKC0LR149408   GM          TAHOE                OKLAHOMA CITY            OK
38000   1GNSKBKC0LR149778   GM          TAHOE                MIAMI                    FL
38001   1GNSKBKC0LR149781   GM          TAHOE                KANSAS CITY              MO
38002   1GNSKBKC0LR150137   GM          TAHOE                FAYETTEVILLE             GA
38003   1GNSKBKC0LR150543   GM          TAHOE                WEST PALM BEACH          FL
38004   1GNSKBKC0LR150624   GM          TAHOE                MIAMI                    FL
38005   1GNSKBKC0LR151093   GM          TAHOE                Sarasota                 FL
38006   1GNSKBKC0LR151627   GM          TAHOE                LOUISVILLE               KY
38007   1GNSKBKC0LR151675   GM          TAHOE                FORT LAUDERDALE          FL
38008   1GNSKBKC0LR152048   GM          TAHOE                PHOENIX                  AZ
38009   1GNSKBKC0LR152132   GM          TAHOE                SALT LAKE CITY           UT
38010   1GNSKBKC0LR152566   GM          TAHOE                TUCSON                   AZ
38011   1GNSKBKC0LR153037   GM          TAHOE                OMAHA                    NE
38012   1GNSKBKC0LR153278   GM          TAHOE                ASHEVILLE                NC
38013   1GNSKBKC0LR153717   GM          TAHOE                PENSACOLA                FL
38014   1GNSKBKC0LR153782   GM          TAHOE                TAMPA                    FL
38015   1GNSKBKC0LR153796   GM          TAHOE                BIRMINGHAM               AL
38016   1GNSKBKC0LR153815   GM          TAHOE                Ft. Myers                FL
38017   1GNSKBKC0LR153832   GM          TAHOE                DENVER                   CO
38018   1GNSKBKC0LR154673   GM          TAHOE                HOUSTON                  TX
38019   1GNSKBKC0LR154821   GM          TAHOE                MEMPHIS                  TN
38020   1GNSKBKC0LR154866   GM          TAHOE                SAN DIEGO                CA
38021   1GNSKBKC0LR154981   GM          TAHOE                Dallas                   TX
38022   1GNSKBKC0LR155578   GM          TAHOE                PHOENIX                  AZ
38023   1GNSKBKC0LR155631   GM          TAHOE                LAS VEGAS                NV
38024   1GNSKBKC0LR155967   GM          TAHOE                AMARILLO                 TX
38025   1GNSKBKC0LR156360   GM          TAHOE                GYPSUM                   CO
38026   1GNSKBKC0LR156391   GM          TAHOE                LUBBOCK                  TX
38027   1GNSKBKC0LR156424   GM          TAHOE                JACKSON                  MS
38028   1GNSKBKC0LR156522   GM          TAHOE                HOUSTON                  TX
38029   1GNSKBKC0LR156536   GM          TAHOE                PHOENIX                  AZ
38030   1GNSKBKC0LR156584   GM          TAHOE                HOUSTON                  TX
38031   1GNSKBKC0LR156620   GM          TAHOE                SALT LAKE CITY           US
38032   1GNSKBKC0LR156830   GM          TAHOE                ROCHESTER                NY
38033   1GNSKBKC0LR157041   GM          TAHOE                TUCSON                   AZ
38034   1GNSKBKC0LR157444   GM          TAHOE                PHOENIX                  AZ
38035   1GNSKBKC0LR157749   GM          TAHOE                NEW BERN                 NC
38036   1GNSKBKC0LR157881   GM          TAHOE                CHICAGO                  IL
38037   1GNSKBKC0LR158030   GM          TAHOE                PHOENIX                  AZ
38038   1GNSKBKC0LR158254   GM          TAHOE                SAINT LOUIS              MO
38039   1GNSKBKC0LR158321   GM          TAHOE                AUSTIN                   TX
38040   1GNSKBKC0LR158707   GM          TAHOE                BURBANK                  CA
38041   1GNSKBKC0LR158822   GM          TAHOE                Portland                 ME
38042   1GNSKBKC0LR158853   GM          TAHOE                PALM SPRINGS             CA
38043   1GNSKBKC0LR158948   GM          TAHOE                NEW BERN                 NC
38044   1GNSKBKC0LR158982   GM          TAHOE                HOUSTON                  TX
38045   1GNSKBKC0LR159257   GM          TAHOE                TUCSON                   AZ
38046   1GNSKBKC0LR159369   GM          TAHOE                SAN DIEGO                CA
38047   1GNSKBKC0LR232708   GM          TAHOE                SYRACUSE                 NY
38048   1GNSKBKC0LR232949   GM          TAHOE                KENNER                   LA
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38049   1GNSKBKC0LR234653   GM          TAHOE                JACKSONVILLE             FL
38050   1GNSKBKC0LR246091   GM          TAHOE                INDIANAPOLIS             IN
38051   1GNSKBKC0LR246270   GM          TAHOE                CHICAGO                  IL
38052   1GNSKBKC0LR248665   GM          TAHOE                WICHITA FALLS            TX
38053   1GNSKBKC0LR253008   GM          TAHOE                ATLANTA                  GA
38054   1GNSKBKC0LR253932   GM          TAHOE                HOUSTON                  TX
38055   1GNSKBKC0LR253946   GM          TAHOE                Dallas                   TX
38056   1GNSKBKC0LR254448   GM          TAHOE                MILWAUKEE                WI
38057   1GNSKBKC0LR254739   GM          TAHOE                DALLAS                   TX
38058   1GNSKBKC0LR255325   GM          TAHOE                OMAHA                    NE
38059   1GNSKBKC0LR255468   GM          TAHOE                MANCHESTER               US
38060   1GNSKBKC0LR255955   GM          TAHOE                DALLAS                   TX
38061   1GNSKBKC0LR257186   GM          TAHOE                SAINT PAUL               MN
38062   1GNSKBKC0LR257382   GM          TAHOE                DALLAS                   TX
38063   1GNSKBKC0LR257561   GM          TAHOE                KENNER                   LA
38064   1GNSKBKC0LR259018   GM          TAHOE                SAN ANTONIO              TX
38065   1GNSKBKC0LR263652   GM          TAHOE                CHICAGO                  IL
38066   1GNSKBKC0LR267412   GM          TAHOE                GRAND RAPIDS             MI
38067   1GNSKBKC0LR273758   GM          TAHOE                SEA TAC                  WA
38068   1GNSKBKC0LR273842   GM          TAHOE                SEATAC                   WA
38069   1GNSKBKC0LR273999   GM          TAHOE                SEA TAC                  WA
38070   1GNSKBKC0LR274067   GM          TAHOE                BURLINGTON               VT
38071   1GNSKBKC0LR274344   GM          TAHOE                SEA TAC                  WA
38072   1GNSKBKC0LR274439   GM          TAHOE                Reno                     NV
38073   1GNSKBKC0LR276112   GM          TAHOE                BOSTON                   MA
38074   1GNSKBKC0LR289958   GM          TAHOE                SAN ANTONIO              TX
38075   1GNSKBKC1JR242435   GM          TAHOE                Orlando                  FL
38076   1GNSKBKC1JR322480   GM          TAHOE                Ocoee                    FL
38077   1GNSKBKC1JR367631   GM          TAHOE                Riverside                CA
38078   1GNSKBKC1JR369847   GM          TAHOE                WEST PALM BEACH          FL
38079   1GNSKBKC1JR370285   GM          TAHOE                North Las Vegas          NV
38080   1GNSKBKC1JR375857   GM          TAHOE                Fontana                  CA
38081   1GNSKBKC1JR377124   GM          TAHOE                Fresno                   CA
38082   1GNSKBKC1JR379276   GM          TAHOE                Atlanta                  GA
38083   1GNSKBKC1JR379388   GM          TAHOE                DES PLAINES              US
38084   1GNSKBKC1JR382470   GM          TAHOE                Ocoee                    FL
38085   1GNSKBKC1JR390150   GM          TAHOE                SEATTLE                  WA
38086   1GNSKBKC1JR391069   GM          TAHOE                North Dighton            MA
38087   1GNSKBKC1JR392609   GM          TAHOE                Hayward                  CA
38088   1GNSKBKC1JR394229   GM          TAHOE                DAYTONA BEACH            FL
38089   1GNSKBKC1JR395896   GM          TAHOE                Dallas                   TX
38090   1GNSKBKC1JR396949   GM          TAHOE                WEST PALM BEACH          FL
38091   1GNSKBKC1JR397938   GM          TAHOE                ORLANDO                  FL
38092   1GNSKBKC1JR399088   GM          TAHOE                SAN FRANCISCO            CA
38093   1GNSKBKC1JR399091   GM          TAHOE                SALT LAKE CITY           US
38094   1GNSKBKC1JR404872   GM          TAHOE                Aurora                   CO
38095   1GNSKBKC1KR158360   GM          TAHOE                DETROIT                  MI
38096   1GNSKBKC1KR160853   GM          TAHOE                DENVER                   CO
38097   1GNSKBKC1KR162232   GM          TAHOE                Denver                   CO
38098   1GNSKBKC1KR163106   GM          TAHOE                Manheim                  PA
38099   1GNSKBKC1KR163753   GM          TAHOE                DALLAS                   TX
38100   1GNSKBKC1KR164434   GM          TAHOE                Manheim                  PA
38101   1GNSKBKC1KR165776   GM          TAHOE                Davie                    FL
38102   1GNSKBKC1KR165891   GM          TAHOE                CHICAGO                  IL
38103   1GNSKBKC1KR165955   GM          TAHOE                ORLANDO                  FL
38104   1GNSKBKC1KR167608   GM          TAHOE                TAMPA                    FL
38105   1GNSKBKC1KR168256   GM          TAHOE                Fontana                  CA
38106   1GNSKBKC1KR168273   GM          TAHOE                DENVER                   CO
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38107   1GNSKBKC1KR170167   GM          TAHOE                WEST PALM BEACH          FL
38108   1GNSKBKC1KR170749   GM          TAHOE                DAYTONA BEACH            FL
38109   1GNSKBKC1KR172730   GM          TAHOE                Manheim                  PA
38110   1GNSKBKC1KR173442   GM          TAHOE                NEW BERN                 NC
38111   1GNSKBKC1KR173490   GM          TAHOE                Louisville               KY
38112   1GNSKBKC1KR174316   GM          TAHOE                Kent                     WA
38113   1GNSKBKC1KR174669   GM          TAHOE                CHICAGO                  IL
38114   1GNSKBKC1KR175174   GM          TAHOE                SAN DIEGO                CA
38115   1GNSKBKC1KR175546   GM          TAHOE                CLOVIS                   CA
38116   1GNSKBKC1KR175899   GM          TAHOE                BIRMINGHAM               AL
38117   1GNSKBKC1KR195859   GM          TAHOE                SAINT PAUL               MN
38118   1GNSKBKC1KR198759   GM          TAHOE                TAMPA                    FL
38119   1GNSKBKC1KR199961   GM          TAHOE                Fontana                  CA
38120   1GNSKBKC1KR200476   GM          TAHOE                FLORIDA DEALER DIR       FL
38121   1GNSKBKC1KR275310   GM          TAHOE                Atlanta                  GA
38122   1GNSKBKC1KR276263   GM          TAHOE                Atlanta                  GA
38123   1GNSKBKC1KR276876   GM          TAHOE                ASHEVILLE                NC
38124   1GNSKBKC1KR277834   GM          TAHOE                Wilmington               NC
38125   1GNSKBKC1KR282306   GM          TAHOE                CHICAGO                  IL
38126   1GNSKBKC1KR282399   GM          TAHOE                Fontana                  CA
38127   1GNSKBKC1KR286985   GM          TAHOE                KANSAS CITY              MO
38128   1GNSKBKC1KR287361   GM          TAHOE                Oklahoma City            OK
38129   1GNSKBKC1KR288056   GM          TAHOE                Omaha                    NE
38130   1GNSKBKC1KR288980   GM          TAHOE                HARTFORD                 CT
38131   1GNSKBKC1KR289238   GM          TAHOE                ORLANDO                  FL
38132   1GNSKBKC1KR291734   GM          TAHOE                Carleton                 MI
38133   1GNSKBKC1KR298991   GM          TAHOE                TAMPA                    FL
38134   1GNSKBKC1KR304143   GM          TAHOE                SAN DIEGO                CA
38135   1GNSKBKC1KR306619   GM          TAHOE                Atlanta                  GA
38136   1GNSKBKC1KR309195   GM          TAHOE                Baltimore                MD
38137   1GNSKBKC1KR310394   GM          TAHOE                PHOENIX                  AZ
38138   1GNSKBKC1KR310802   GM          TAHOE                Warr Acres               OK
38139   1GNSKBKC1KR311688   GM          TAHOE                SALT LAKE CITY           US
38140   1GNSKBKC1KR311769   GM          TAHOE                NEW YORK CITY            NY
38141   1GNSKBKC1KR312047   GM          TAHOE                ATLANTA                  GA
38142   1GNSKBKC1KR313053   GM          TAHOE                Middletown               PA
38143   1GNSKBKC1KR313098   GM          TAHOE                BOSTON                   MA
38144   1GNSKBKC1KR314056   GM          TAHOE                Elkridge                 MD
38145   1GNSKBKC1KR331018   GM          TAHOE                SAINT PAUL               MN
38146   1GNSKBKC1KR332685   GM          TAHOE                Cincinnati               OH
38147   1GNSKBKC1KR334257   GM          TAHOE                Kansas City              MO
38148   1GNSKBKC1KR338924   GM          TAHOE                CHICAGO                  IL
38149   1GNSKBKC1KR339054   GM          TAHOE                Cedar Rapids             IA
38150   1GNSKBKC1KR342732   GM          TAHOE                MILWAUKEE                WI
38151   1GNSKBKC1KR343833   GM          TAHOE                SALT LAKE CITY           UT
38152   1GNSKBKC1KR344111   GM          TAHOE                SALT LAKE CITY           UT
38153   1GNSKBKC1KR345680   GM          TAHOE                SALT LAKE CITY           UT
38154   1GNSKBKC1KR347557   GM          TAHOE                Los Angeles              CA
38155   1GNSKBKC1KR364214   GM          TAHOE                WARWICK                  RI
38156   1GNSKBKC1KR364231   GM          TAHOE                SALT LAKE CITY           US
38157   1GNSKBKC1KR366366   GM          TAHOE                BOSTON                   MA
38158   1GNSKBKC1KR368585   GM          TAHOE                Latham                   NY
38159   1GNSKBKC1KR370353   GM          TAHOE                DENVER                   CO
38160   1GNSKBKC1KR371731   GM          TAHOE                Kansas City              MO
38161   1GNSKBKC1KR371941   GM          TAHOE                Jacksonville             FL
38162   1GNSKBKC1KR373656   GM          TAHOE                TAMPA                    FL
38163   1GNSKBKC1KR373933   GM          TAHOE                DETROIT                  MI
38164   1GNSKBKC1KR373950   GM          TAHOE                SAINT PAUL               MN
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38165   1GNSKBKC1KR375519   GM          TAHOE                SAN FRANCISCO            CA
38166   1GNSKBKC1KR379411   GM          TAHOE                DENVER                   CO
38167   1GNSKBKC1KR379778   GM          TAHOE                SEATAC                   WA
38168   1GNSKBKC1KR380185   GM          TAHOE                BOSTON                   MA
38169   1GNSKBKC1KR387332   GM          TAHOE                TAMPA                    FL
38170   1GNSKBKC1LR145478   GM          TAHOE                JACKSONVILLE             FL
38171   1GNSKBKC1LR145559   GM          TAHOE                BIRMINGHAM               AL
38172   1GNSKBKC1LR145626   GM          TAHOE                DENVER                   CO
38173   1GNSKBKC1LR145772   GM          TAHOE                Atlanta                  GA
38174   1GNSKBKC1LR146078   GM          TAHOE                FORT MYERS               FL
38175   1GNSKBKC1LR146601   GM          TAHOE                ORLANDO                  FL
38176   1GNSKBKC1LR147277   GM          TAHOE                DETROIT                  MI
38177   1GNSKBKC1LR147456   GM          TAHOE                DULUTH                   GA
38178   1GNSKBKC1LR147585   GM          TAHOE                ORLANDO                  FL
38179   1GNSKBKC1LR147618   GM          TAHOE                HOUSTON                  TX
38180   1GNSKBKC1LR148008   GM          TAHOE                AUSTIN                   TX
38181   1GNSKBKC1LR148428   GM          TAHOE                ORLANDO                  FL
38182   1GNSKBKC1LR148459   GM          TAHOE                Teterboro                NJ
38183   1GNSKBKC1LR148896   GM          TAHOE                FORT MYERS               FL
38184   1GNSKBKC1LR148932   GM          TAHOE                INDIANAPOLIS             IN
38185   1GNSKBKC1LR149014   GM          TAHOE                HOUSTON                  TX
38186   1GNSKBKC1LR149157   GM          TAHOE                Miami                    FL
38187   1GNSKBKC1LR149420   GM          TAHOE                ORLANDO                  FL
38188   1GNSKBKC1LR149787   GM          TAHOE                Harvey                   LA
38189   1GNSKBKC1LR149790   GM          TAHOE                HOUSTON                  TX
38190   1GNSKBKC1LR149854   GM          TAHOE                CORPUS CHRISTI           TX
38191   1GNSKBKC1LR149904   GM          TAHOE                FORT LAUDERDALE          FL
38192   1GNSKBKC1LR149935   GM          TAHOE                ORLANDO                  FL
38193   1GNSKBKC1LR149949   GM          TAHOE                MILWAUKEE                WI
38194   1GNSKBKC1LR149952   GM          TAHOE                SAN ANTONIO              TX
38195   1GNSKBKC1LR150132   GM          TAHOE                FT LAUDERDALE            FL
38196   1GNSKBKC1LR150261   GM          TAHOE                DFW AIRPORT              TX
38197   1GNSKBKC1LR150521   GM          TAHOE                ORLANDO                  FL
38198   1GNSKBKC1LR150602   GM          TAHOE                TAMPA                    FL
38199   1GNSKBKC1LR150793   GM          TAHOE                FORT LAUDERDALE          FL
38200   1GNSKBKC1LR151085   GM          TAHOE                MORRISVILLE              NC
38201   1GNSKBKC1LR151104   GM          TAHOE                CHATTANOOGA              TN
38202   1GNSKBKC1LR151166   GM          TAHOE                AUSTIN                   TX
38203   1GNSKBKC1LR151264   GM          TAHOE                FORT MYERS               FL
38204   1GNSKBKC1LR151572   GM          TAHOE                SAN ANTONIO              TX
38205   1GNSKBKC1LR151586   GM          TAHOE                MIAMI                    FL
38206   1GNSKBKC1LR151670   GM          TAHOE                MIAMI                    FL
38207   1GNSKBKC1LR152172   GM          TAHOE                SEA TAC                  WA
38208   1GNSKBKC1LR152317   GM          TAHOE                PHOENIX                  AZ
38209   1GNSKBKC1LR152818   GM          TAHOE                PHOENIX                  AZ
38210   1GNSKBKC1LR153189   GM          TAHOE                PHOENIX                  AZ
38211   1GNSKBKC1LR153242   GM          TAHOE                DENVER                   CO
38212   1GNSKBKC1LR153337   GM          TAHOE                PHOENIX                  AZ
38213   1GNSKBKC1LR153385   GM          TAHOE                DALLAS                   TX
38214   1GNSKBKC1LR153712   GM          TAHOE                DES MOINES               IA
38215   1GNSKBKC1LR154102   GM          TAHOE                MONTEREY                 CA
38216   1GNSKBKC1LR154164   GM          TAHOE                AUSTIN                   TX
38217   1GNSKBKC1LR154410   GM          TAHOE                TAMPA                    FL
38218   1GNSKBKC1LR154505   GM          TAHOE                CHICAGO                  IL
38219   1GNSKBKC1LR154813   GM          TAHOE                DFW AIRPORT              TX
38220   1GNSKBKC1LR154844   GM          TAHOE                Phoenix                  AZ
38221   1GNSKBKC1LR154889   GM          TAHOE                TAMPA                    FL
38222   1GNSKBKC1LR155301   GM          TAHOE                PHOENIX                  AZ
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38223   1GNSKBKC1LR155394   GM          TAHOE                SAINT PAUL               MN
38224   1GNSKBKC1LR155685   GM          TAHOE                NEW BERN                 NC
38225   1GNSKBKC1LR155962   GM          TAHOE                DENVER                   CO
38226   1GNSKBKC1LR156237   GM          TAHOE                GRAND RAPIDS             MI
38227   1GNSKBKC1LR156397   GM          TAHOE                ONTARIO                  CA
38228   1GNSKBKC1LR156416   GM          TAHOE                KNOXVILLE                TN
38229   1GNSKBKC1LR156545   GM          TAHOE                PHOENIX                  AZ
38230   1GNSKBKC1LR156612   GM          TAHOE                AUSTIN                   TX
38231   1GNSKBKC1LR157291   GM          TAHOE                Seattle                  WA
38232   1GNSKBKC1LR157856   GM          TAHOE                PHOENIX                  AZ
38233   1GNSKBKC1LR157923   GM          TAHOE                LAS VEGAS                NV
38234   1GNSKBKC1LR158232   GM          TAHOE                KENNER                   LA
38235   1GNSKBKC1LR158652   GM          TAHOE                INDIANAPOLIS             IN
38236   1GNSKBKC1LR158893   GM          TAHOE                SAINT LOUIS              MO
38237   1GNSKBKC1LR159171   GM          TAHOE                LAS VEGAS                NV
38238   1GNSKBKC1LR159199   GM          TAHOE                HOUSTON                  TX
38239   1GNSKBKC1LR159204   GM          TAHOE                INDIANAPOLIS             IN
38240   1GNSKBKC1LR159347   GM          TAHOE                CLEVELAND                OH
38241   1GNSKBKC1LR159381   GM          TAHOE                SEATAC                   WA
38242   1GNSKBKC1LR193062   GM          TAHOE                HOUSTON                  TX
38243   1GNSKBKC1LR232538   GM          TAHOE                ATLANTA                  GA
38244   1GNSKBKC1LR232541   GM          TAHOE                TAMPA                    FL
38245   1GNSKBKC1LR232605   GM          TAHOE                WARWICK                  RI
38246   1GNSKBKC1LR232989   GM          TAHOE                HOUSTON                  TX
38247   1GNSKBKC1LR233284   GM          TAHOE                MCALLEN                  TX
38248   1GNSKBKC1LR243684   GM          TAHOE                GRAND RAPIDS             MI
38249   1GNSKBKC1LR246035   GM          TAHOE                DETROIT                  MI
38250   1GNSKBKC1LR252997   GM          TAHOE                DETROIT                  MI
38251   1GNSKBKC1LR253812   GM          TAHOE                DALLAS                   TX
38252   1GNSKBKC1LR253874   GM          TAHOE                KANSAS CITY              MO
38253   1GNSKBKC1LR254006   GM          TAHOE                KANSAS CITY              MO
38254   1GNSKBKC1LR254815   GM          TAHOE                BLOOMINGTON              IL
38255   1GNSKBKC1LR255236   GM          TAHOE                CHICAGO                  IL
38256   1GNSKBKC1LR255947   GM          TAHOE                MEMPHIS                  TN
38257   1GNSKBKC1LR256113   GM          TAHOE                HOUSTON                  TX
38258   1GNSKBKC1LR257245   GM          TAHOE                KENNER                   LA
38259   1GNSKBKC1LR258136   GM          TAHOE                PENSACOLA                FL
38260   1GNSKBKC1LR258525   GM          TAHOE                Atlanta                  GA
38261   1GNSKBKC1LR268312   GM          TAHOE                PORTLAND                 ME
38262   1GNSKBKC1LR272196   GM          TAHOE                SAINT PAUL               MN
38263   1GNSKBKC1LR274241   GM          TAHOE                SEA TAC                  WA
38264   1GNSKBKC1LR274336   GM          TAHOE                SEA TAC                  WA
38265   1GNSKBKC1LR274823   GM          TAHOE                SEA TAC                  WA
38266   1GNSKBKC2HR129023   GM          TAHOE                Atlanta                  GA
38267   1GNSKBKC2JR245425   GM          TAHOE                SAN FRANCISCO            CA
38268   1GNSKBKC2JR250849   GM          TAHOE                Hilo                     HI
38269   1GNSKBKC2JR351874   GM          TAHOE                DENVER                   CO
38270   1GNSKBKC2JR355035   GM          TAHOE                Mt. Juliet               TN
38271   1GNSKBKC2JR372143   GM          TAHOE                Davie                    FL
38272   1GNSKBKC2JR373664   GM          TAHOE                WARWICK                  RI
38273   1GNSKBKC2JR375088   GM          TAHOE                North Las Vegas          NV
38274   1GNSKBKC2JR375656   GM          TAHOE                DENVER                   CO
38275   1GNSKBKC2JR378508   GM          TAHOE                ORLANDO                  FL
38276   1GNSKBKC2JR379979   GM          TAHOE                Las Vegas                NV
38277   1GNSKBKC2JR382509   GM          TAHOE                Fontana                  CA
38278   1GNSKBKC2JR383417   GM          TAHOE                Riverside                CA
38279   1GNSKBKC2JR388651   GM          TAHOE                DENVER                   CO
38280   1GNSKBKC2JR391677   GM          TAHOE                Ocoee                    FL
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38281   1GNSKBKC2JR394479   GM          TAHOE                North Las Vegas          NV
38282   1GNSKBKC2JR394787   GM          TAHOE                SAN DIEGO                CA
38283   1GNSKBKC2JR398242   GM          TAHOE                Fresno                   CA
38284   1GNSKBKC2JR399553   GM          TAHOE                Manheim                  PA
38285   1GNSKBKC2JR399617   GM          TAHOE                DENVER                   CO
38286   1GNSKBKC2JR403102   GM          TAHOE                MIAMI                    FL
38287   1GNSKBKC2KR158271   GM          TAHOE                Lake in the Hil          IL
38288   1GNSKBKC2KR161560   GM          TAHOE                Salt Lake City           UT
38289   1GNSKBKC2KR161848   GM          TAHOE                SOUTHEAST DST OFFC       OK
38290   1GNSKBKC2KR162482   GM          TAHOE                Davie                    FL
38291   1GNSKBKC2KR163082   GM          TAHOE                Ronkonkoma               NY
38292   1GNSKBKC2KR165320   GM          TAHOE                Ocoee                    FL
38293   1GNSKBKC2KR165933   GM          TAHOE                VALLEJO                  CA
38294   1GNSKBKC2KR166953   GM          TAHOE                Fredericksburg           VA
38295   1GNSKBKC2KR168332   GM          TAHOE                Atlanta                  GA
38296   1GNSKBKC2KR169397   GM          TAHOE                Salt Lake City           UT
38297   1GNSKBKC2KR169500   GM          TAHOE                GRAND RAPIDS             MI
38298   1GNSKBKC2KR170629   GM          TAHOE                San Diego                CA
38299   1GNSKBKC2KR172963   GM          TAHOE                Oklahoma City            OK
38300   1GNSKBKC2KR174650   GM          TAHOE                Fontana                  CA
38301   1GNSKBKC2KR174700   GM          TAHOE                Hapeville                GA
38302   1GNSKBKC2KR175099   GM          TAHOE                Ocoee                    FL
38303   1GNSKBKC2KR177838   GM          TAHOE                Grove City               OH
38304   1GNSKBKC2KR197314   GM          TAHOE                Davie                    FL
38305   1GNSKBKC2KR199161   GM          TAHOE                CHARLOTTE                NC
38306   1GNSKBKC2KR199743   GM          TAHOE                Carleton                 MI
38307   1GNSKBKC2KR279687   GM          TAHOE                S. San Francisc          CA
38308   1GNSKBKC2KR280256   GM          TAHOE                WICHITA FALLS            TX
38309   1GNSKBKC2KR280631   GM          TAHOE                FORT MYERS               FL
38310   1GNSKBKC2KR284422   GM          TAHOE                HARTFORD                 CT
38311   1GNSKBKC2KR285344   GM          TAHOE                Des Moines               IA
38312   1GNSKBKC2KR286266   GM          TAHOE                KNOXVILLE                TN
38313   1GNSKBKC2KR287756   GM          TAHOE                KNOXVILLE                TN
38314   1GNSKBKC2KR292097   GM          TAHOE                Manheim                  PA
38315   1GNSKBKC2KR302563   GM          TAHOE                Riverside                CA
38316   1GNSKBKC2KR304409   GM          TAHOE                ST PAUL                  MN
38317   1GNSKBKC2KR306922   GM          TAHOE                BOSTON                   MA
38318   1GNSKBKC2KR308881   GM          TAHOE                Caledonia                WI
38319   1GNSKBKC2KR309142   GM          TAHOE                HOUSTON                  TX
38320   1GNSKBKC2KR311201   GM          TAHOE                Mt. Juliet               TN
38321   1GNSKBKC2KR329343   GM          TAHOE                DENVER                   CO
38322   1GNSKBKC2KR329584   GM          TAHOE                North Dighton            MA
38323   1GNSKBKC2KR330766   GM          TAHOE                Portland                 OR
38324   1GNSKBKC2KR331819   GM          TAHOE                SALT LAKE CITY           US
38325   1GNSKBKC2KR332291   GM          TAHOE                SALT LAKE CITY           US
38326   1GNSKBKC2KR333246   GM          TAHOE                DFW AIRPORT              TX
38327   1GNSKBKC2KR333957   GM          TAHOE                HOUSTON                  TX
38328   1GNSKBKC2KR334042   GM          TAHOE                DENVER                   CO
38329   1GNSKBKC2KR334574   GM          TAHOE                DENVER                   CO
38330   1GNSKBKC2KR335210   GM          TAHOE                OMAHA                    NE
38331   1GNSKBKC2KR335580   GM          TAHOE                Denver                   CO
38332   1GNSKBKC2KR335997   GM          TAHOE                GYPSUM                   CO
38333   1GNSKBKC2KR336227   GM          TAHOE                CHICAGO                  IL
38334   1GNSKBKC2KR337698   GM          TAHOE                ATHENS                   GA
38335   1GNSKBKC2KR342741   GM          TAHOE                PHILADELPHIA             PA
38336   1GNSKBKC2KR346241   GM          TAHOE                Riverside                CA
38337   1GNSKBKC2KR346885   GM          TAHOE                DENVER                   CO
38338   1GNSKBKC2KR370877   GM          TAHOE                SAINT PAUL               MN
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38339   1GNSKBKC2KR370989   GM          TAHOE                ATLANTA                  GA
38340   1GNSKBKC2KR376470   GM          TAHOE                Denver                   CO
38341   1GNSKBKC2KR378882   GM          TAHOE                PORTLAND                 ME
38342   1GNSKBKC2KR379207   GM          TAHOE                St. Louis                MO
38343   1GNSKBKC2KR380664   GM          TAHOE                DENVER                   CO
38344   1GNSKBKC2KR381099   GM          TAHOE                MEMPHIS                  TN
38345   1GNSKBKC2KR381751   GM          TAHOE                RENO                     NV
38346   1GNSKBKC2KR381975   GM          TAHOE                PALM SPRINGS             CA
38347   1GNSKBKC2KR384651   GM          TAHOE                PHOENIX                  AZ
38348   1GNSKBKC2KR385380   GM          TAHOE                SAN FRANCISCO            CA
38349   1GNSKBKC2LR144971   GM          TAHOE                NORFOLK                  VA
38350   1GNSKBKC2LR145408   GM          TAHOE                DALLAS                   TX
38351   1GNSKBKC2LR145585   GM          TAHOE                HANOVER                  MD
38352   1GNSKBKC2LR146008   GM          TAHOE                AUSTIN                   TX
38353   1GNSKBKC2LR147191   GM          TAHOE                WEST PALM BEACH          FL
38354   1GNSKBKC2LR147322   GM          TAHOE                HOUSTON                  TX
38355   1GNSKBKC2LR148132   GM          TAHOE                ORLANDO                  FL
38356   1GNSKBKC2LR148423   GM          TAHOE                ORLANDO                  FL
38357   1GNSKBKC2LR148759   GM          TAHOE                MIAMI                    FL
38358   1GNSKBKC2LR148938   GM          TAHOE                FORT LAUDERDALE          FL
38359   1GNSKBKC2LR149006   GM          TAHOE                WEST PALM BEACH          FL
38360   1GNSKBKC2LR149118   GM          TAHOE                FORT LAUDERDALE          FL
38361   1GNSKBKC2LR149412   GM          TAHOE                ORLANDO                  FL
38362   1GNSKBKC2LR149829   GM          TAHOE                PHOENIX                  AZ
38363   1GNSKBKC2LR149846   GM          TAHOE                TAMPA                    FL
38364   1GNSKBKC2LR149961   GM          TAHOE                HOUSTON                  TX
38365   1GNSKBKC2LR150138   GM          TAHOE                FAYETTEVILLE             US
38366   1GNSKBKC2LR150219   GM          TAHOE                WOODSON TERRACE          MO
38367   1GNSKBKC2LR150222   GM          TAHOE                Ft. Myers                FL
38368   1GNSKBKC2LR150785   GM          TAHOE                Ft. Myers                FL
38369   1GNSKBKC2LR150835   GM          TAHOE                SAN ANTONIO              TX
38370   1GNSKBKC2LR151127   GM          TAHOE                FORT LAUDERDALE          FL
38371   1GNSKBKC2LR151225   GM          TAHOE                FORT LAUDERDALE          FL
38372   1GNSKBKC2LR151466   GM          TAHOE                ORLANDO                  FL
38373   1GNSKBKC2LR151564   GM          TAHOE                BIRMINGHAM               AL
38374   1GNSKBKC2LR152231   GM          TAHOE                AUSTIN                   TX
38375   1GNSKBKC2LR152262   GM          TAHOE                LAS VEGAS                NV
38376   1GNSKBKC2LR152309   GM          TAHOE                PHOENIX                  AZ
38377   1GNSKBKC2LR152455   GM          TAHOE                GYPSUM                   CO
38378   1GNSKBKC2LR152570   GM          TAHOE                INDIANAPOLIS             IN
38379   1GNSKBKC2LR152830   GM          TAHOE                KANSAS CITY              MO
38380   1GNSKBKC2LR152844   GM          TAHOE                GRAND RAPIDS             MI
38381   1GNSKBKC2LR153136   GM          TAHOE                PHOENIX                  AZ
38382   1GNSKBKC2LR153184   GM          TAHOE                CHICAGO                  IL
38383   1GNSKBKC2LR153265   GM          TAHOE                SANTA ANA                CA
38384   1GNSKBKC2LR153363   GM          TAHOE                TUCSON                   AZ
38385   1GNSKBKC2LR153413   GM          TAHOE                PHOENIX                  AZ
38386   1GNSKBKC2LR153573   GM          TAHOE                SAINT LOUIS              MO
38387   1GNSKBKC2LR153590   GM          TAHOE                SANTA CLARA              CA
38388   1GNSKBKC2LR153752   GM          TAHOE                PALM SPRINGS             CA
38389   1GNSKBKC2LR153976   GM          TAHOE                SAN FRANCISCO            CA
38390   1GNSKBKC2LR154237   GM          TAHOE                CHICAGO                  IL
38391   1GNSKBKC2LR154271   GM          TAHOE                SAN DIEGO                CA
38392   1GNSKBKC2LR155016   GM          TAHOE                PHOENIX                  AZ
38393   1GNSKBKC2LR155601   GM          TAHOE                CHICAGO                  IL
38394   1GNSKBKC2LR155663   GM          TAHOE                PHOENIX                  AZ
38395   1GNSKBKC2LR155730   GM          TAHOE                BLOOMINGTON              IL
38396   1GNSKBKC2LR155761   GM          TAHOE                KANSAS CITY              MO
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38397   1GNSKBKC2LR156389   GM          TAHOE                DETROIT                  MI
38398   1GNSKBKC2LR156683   GM          TAHOE                BIRMINGHAM               AL
38399   1GNSKBKC2LR157199   GM          TAHOE                PHOENIX                  AZ
38400   1GNSKBKC2LR157428   GM          TAHOE                RENO                     NV
38401   1GNSKBKC2LR157557   GM          TAHOE                KENNER                   LA
38402   1GNSKBKC2LR157672   GM          TAHOE                TUCSON                   AZ
38403   1GNSKBKC2LR158076   GM          TAHOE                ATLANTA                  GA
38404   1GNSKBKC2LR158126   GM          TAHOE                INGLEWOOD                CA
38405   1GNSKBKC2LR158188   GM          TAHOE                ROANOKE                  VA
38406   1GNSKBKC2LR158854   GM          TAHOE                TUCSON                   AZ
38407   1GNSKBKC2LR158918   GM          TAHOE                NEW BERN                 NC
38408   1GNSKBKC2LR159163   GM          TAHOE                PHOENIX                  AZ
38409   1GNSKBKC2LR159177   GM          TAHOE                RENO                     NV
38410   1GNSKBKC2LR159356   GM          TAHOE                PHILADELPHIA             PA
38411   1GNSKBKC2LR160555   GM          TAHOE                PHILADELPHIA             PA
38412   1GNSKBKC2LR193023   GM          TAHOE                DETROIT                  MI
38413   1GNSKBKC2LR232600   GM          TAHOE                CHATTANOOGA              TN
38414   1GNSKBKC2LR232936   GM          TAHOE                JACKSON                  MS
38415   1GNSKBKC2LR233262   GM          TAHOE                HOUSTON                  TX
38416   1GNSKBKC2LR234671   GM          TAHOE                SAVANNAH                 GA
38417   1GNSKBKC2LR243967   GM          TAHOE                BALTIMORE                MD
38418   1GNSKBKC2LR253706   GM          TAHOE                KANSAS CITY              MO
38419   1GNSKBKC2LR253818   GM          TAHOE                Dallas                   TX
38420   1GNSKBKC2LR254094   GM          TAHOE                CHICAGO                  IL
38421   1GNSKBKC2LR254225   GM          TAHOE                SAN ANTONIO              TX
38422   1GNSKBKC2LR254449   GM          TAHOE                SAINT LOUIS              MO
38423   1GNSKBKC2LR254807   GM          TAHOE                CHICAGO                  IL
38424   1GNSKBKC2LR255245   GM          TAHOE                DETROIT                  MI
38425   1GNSKBKC2LR255911   GM          TAHOE                HOUSTON                  TX
38426   1GNSKBKC2LR256119   GM          TAHOE                KENNER                   LA
38427   1GNSKBKC2LR257500   GM          TAHOE                MEMPHIS                  TN
38428   1GNSKBKC2LR259201   GM          TAHOE                HOUSTON                  TX
38429   1GNSKBKC2LR260817   GM          TAHOE                SAN ANTONIO              TX
38430   1GNSKBKC2LR273891   GM          TAHOE                Reno                     NV
38431   1GNSKBKC2LR274216   GM          TAHOE                SEA TAC                  WA
38432   1GNSKBKC2LR274300   GM          TAHOE                CHEEKTOWAGA              NY
38433   1GNSKBKC2LR274362   GM          TAHOE                DFW AIRPORT              TX
38434   1GNSKBKC2LR274524   GM          TAHOE                BUFFALO                  NY
38435   1GNSKBKC2LR274541   GM          TAHOE                ROCHESTER                NY
38436   1GNSKBKC2LR274703   GM          TAHOE                SEA TAC                  WA
38437   1GNSKBKC2LR277181   GM          TAHOE                HOUSTON                  TX
38438   1GNSKBKC2LR279108   GM          TAHOE                BLOOMINGTON              IL
38439   1GNSKBKC3JR194968   GM          TAHOE                Fontana                  CA
38440   1GNSKBKC3JR268972   GM          TAHOE                BURBANK                  CA
38441   1GNSKBKC3JR317216   GM          TAHOE                Davie                    FL
38442   1GNSKBKC3JR352371   GM          TAHOE                Riverside                CA
38443   1GNSKBKC3JR372121   GM          TAHOE                North Dighton            MA
38444   1GNSKBKC3JR372460   GM          TAHOE                MERRIVILLE               IN
38445   1GNSKBKC3JR373009   GM          TAHOE                BURBANK                  CA
38446   1GNSKBKC3JR377237   GM          TAHOE                EGG HARBOR TOWN          NJ
38447   1GNSKBKC3JR377836   GM          TAHOE                Davie                    FL
38448   1GNSKBKC3JR377867   GM          TAHOE                DAYTONA BEACH            FL
38449   1GNSKBKC3JR383488   GM          TAHOE                Oceanside                CA
38450   1GNSKBKC3JR383829   GM          TAHOE                Santa Clara              CA
38451   1GNSKBKC3JR385175   GM          TAHOE                Houston                  TX
38452   1GNSKBKC3JR385645   GM          TAHOE                PHOENIX                  AZ
38453   1GNSKBKC3JR389940   GM          TAHOE                BURBANK                  CA
38454   1GNSKBKC3JR396922   GM          TAHOE                Hayward                  CA
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38455   1GNSKBKC3JR400371   GM          TAHOE                MIAMI                    FL
38456   1GNSKBKC3JR401102   GM          TAHOE                WARWICK                  RI
38457   1GNSKBKC3KR161194   GM          TAHOE                Stockton                 CA
38458   1GNSKBKC3KR162314   GM          TAHOE                Manheim                  PA
38459   1GNSKBKC3KR162443   GM          TAHOE                MIAMI                    FL
38460   1GNSKBKC3KR165567   GM          TAHOE                SAN DIEGO                CA
38461   1GNSKBKC3KR165844   GM          TAHOE                Davie                    FL
38462   1GNSKBKC3KR166122   GM          TAHOE                Morrisville              NC
38463   1GNSKBKC3KR166931   GM          TAHOE                Grove City               OH
38464   1GNSKBKC3KR169733   GM          TAHOE                Bordentown               NJ
38465   1GNSKBKC3KR169747   GM          TAHOE                MIAMI                    FL
38466   1GNSKBKC3KR175502   GM          TAHOE                Tampa                    FL
38467   1GNSKBKC3KR177251   GM          TAHOE                MILWAUKEE                WI
38468   1GNSKBKC3KR197743   GM          TAHOE                Windsor Locks            CT
38469   1GNSKBKC3KR199458   GM          TAHOE                RICHMOND                 VA
38470   1GNSKBKC3KR212483   GM          TAHOE                KENNER                   LA
38471   1GNSKBKC3KR275342   GM          TAHOE                KNOXVILLE                TN
38472   1GNSKBKC3KR276006   GM          TAHOE                Detroit                  MI
38473   1GNSKBKC3KR277009   GM          TAHOE                ORLANDO                  FL
38474   1GNSKBKC3KR279164   GM          TAHOE                SEATTLE                  WA
38475   1GNSKBKC3KR279682   GM          TAHOE                ROCHESTER                NY
38476   1GNSKBKC3KR279729   GM          TAHOE                East Boston              MA
38477   1GNSKBKC3KR280752   GM          TAHOE                CHICAGO                  IL
38478   1GNSKBKC3KR282288   GM          TAHOE                Scottsdale               AZ
38479   1GNSKBKC3KR284039   GM          TAHOE                Dallas                   TX
38480   1GNSKBKC3KR284509   GM          TAHOE                Bordentown               NJ
38481   1GNSKBKC3KR284672   GM          TAHOE                Ventura                  CA
38482   1GNSKBKC3KR287751   GM          TAHOE                CHICAGO                  IL
38483   1GNSKBKC3KR289290   GM          TAHOE                LOS ANGELES              CA
38484   1GNSKBKC3KR289886   GM          TAHOE                Atlanta                  GA
38485   1GNSKBKC3KR291024   GM          TAHOE                CHICAGO O'HARE AP        IL
38486   1GNSKBKC3KR292092   GM          TAHOE                KENNER                   LA
38487   1GNSKBKC3KR307206   GM          TAHOE                Manheim                  PA
38488   1GNSKBKC3KR308128   GM          TAHOE                Maple Grove              MN
38489   1GNSKBKC3KR308324   GM          TAHOE                HOUSTON                  TX
38490   1GNSKBKC3KR308419   GM          TAHOE                Hamilton                 OH
38491   1GNSKBKC3KR311109   GM          TAHOE                North Dighton            MA
38492   1GNSKBKC3KR311191   GM          TAHOE                KENNER                   LA
38493   1GNSKBKC3KR311496   GM          TAHOE                Manheim                  PA
38494   1GNSKBKC3KR313104   GM          TAHOE                HOUSTON                  TX
38495   1GNSKBKC3KR330758   GM          TAHOE                DENVER                   CO
38496   1GNSKBKC3KR332137   GM          TAHOE                FLORIDA DEALER DIR       FL
38497   1GNSKBKC3KR332395   GM          TAHOE                MILWAUKEE                WI
38498   1GNSKBKC3KR335569   GM          TAHOE                LOS ANGELES              CA
38499   1GNSKBKC3KR335779   GM          TAHOE                Chicago                  IL
38500   1GNSKBKC3KR336253   GM          TAHOE                SANTA ANA                CA
38501   1GNSKBKC3KR336768   GM          TAHOE                Statesville              NC
38502   1GNSKBKC3KR340917   GM          TAHOE                CLEVELAND                OH
38503   1GNSKBKC3KR341226   GM          TAHOE                WARWICK                  RI
38504   1GNSKBKC3KR342036   GM          TAHOE                SYRACUSE                 NY
38505   1GNSKBKC3KR342859   GM          TAHOE                DES PLAINES              US
38506   1GNSKBKC3KR343297   GM          TAHOE                LOUISVILLE               KY
38507   1GNSKBKC3KR345891   GM          TAHOE                Santa Clara              CA
38508   1GNSKBKC3KR345955   GM          TAHOE                SALT LAKE CITY           US
38509   1GNSKBKC3KR346216   GM          TAHOE                Riverside                CA
38510   1GNSKBKC3KR363405   GM          TAHOE                Los Angeles              CA
38511   1GNSKBKC3KR364974   GM          TAHOE                Houston                  TX
38512   1GNSKBKC3KR367065   GM          TAHOE                Tolleson                 AZ
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38513   1GNSKBKC3KR367731   GM          TAHOE                DENVER                   CO
38514   1GNSKBKC3KR368555   GM          TAHOE                DENVER                   CO
38515   1GNSKBKC3KR369835   GM          TAHOE                SAINT PAUL               MN
38516   1GNSKBKC3KR370905   GM          TAHOE                DETROIT                  MI
38517   1GNSKBKC3KR373271   GM          TAHOE                Indianapolis             IN
38518   1GNSKBKC3KR374257   GM          TAHOE                PHOENIX                  AZ
38519   1GNSKBKC3KR374341   GM          TAHOE                DES MOINES               IA
38520   1GNSKBKC3KR376204   GM          TAHOE                FRESNO                   CA
38521   1GNSKBKC3KR378227   GM          TAHOE                SALT LAKE CITY           UT
38522   1GNSKBKC3KR386974   GM          TAHOE                Tolleson                 AZ
38523   1GNSKBKC3KR387686   GM          TAHOE                CHICAGO                  IL
38524   1GNSKBKC3KR397702   GM          TAHOE                Dallas                   TX
38525   1GNSKBKC3LR146051   GM          TAHOE                MIAMI                    FL
38526   1GNSKBKC3LR146213   GM          TAHOE                WEST COLUMBIA            SC
38527   1GNSKBKC3LR146695   GM          TAHOE                ORLANDO                  FL
38528   1GNSKBKC3LR147054   GM          TAHOE                FORT LAUDERDALE          FL
38529   1GNSKBKC3LR147295   GM          TAHOE                ORLANDO                  FL
38530   1GNSKBKC3LR147314   GM          TAHOE                AUSTIN                   TX
38531   1GNSKBKC3LR147331   GM          TAHOE                AUSTIN                   TX
38532   1GNSKBKC3LR148009   GM          TAHOE                HOUSTON                  TX
38533   1GNSKBKC3LR148043   GM          TAHOE                NEW BERN                 NC
38534   1GNSKBKC3LR149127   GM          TAHOE                INDIANAPOLIS             IN
38535   1GNSKBKC3LR149208   GM          TAHOE                BOSTON                   MA
38536   1GNSKBKC3LR149256   GM          TAHOE                WEST PALM BEACH          FL
38537   1GNSKBKC3LR149466   GM          TAHOE                SAINT LOUIS              MO
38538   1GNSKBKC3LR149502   GM          TAHOE                MIAMI                    FL
38539   1GNSKBKC3LR150178   GM          TAHOE                PENSACOLA                FL
38540   1GNSKBKC3LR150584   GM          TAHOE                ORLANDO                  FL
38541   1GNSKBKC3LR150892   GM          TAHOE                FORT MYERS               FL
38542   1GNSKBKC3LR151105   GM          TAHOE                ORLANDO                  FL
38543   1GNSKBKC3LR151461   GM          TAHOE                RONKONKOMA               NY
38544   1GNSKBKC3LR151606   GM          TAHOE                DALLAS                   TX
38545   1GNSKBKC3LR151671   GM          TAHOE                JACKSONVILLE             FL
38546   1GNSKBKC3LR151802   GM          TAHOE                Ft. Myers                FL
38547   1GNSKBKC3LR151945   GM          TAHOE                WARWICK                  RI
38548   1GNSKBKC3LR152058   GM          TAHOE                DENVER                   CO
38549   1GNSKBKC3LR152223   GM          TAHOE                TAMPA                    FL
38550   1GNSKBKC3LR152609   GM          TAHOE                LOS ANGELES              CA
38551   1GNSKBKC3LR153159   GM          TAHOE                NEW BERN                 NC
38552   1GNSKBKC3LR153193   GM          TAHOE                HOUSTON                  TX
38553   1GNSKBKC3LR153307   GM          TAHOE                INDIANAPOLIS             IN
38554   1GNSKBKC3LR153338   GM          TAHOE                HOUSTON                  TX
38555   1GNSKBKC3LR153419   GM          TAHOE                PHOENIX                  AZ
38556   1GNSKBKC3LR153484   GM          TAHOE                BOISE                    US
38557   1GNSKBKC3LR153601   GM          TAHOE                SHREVEPORT               LA
38558   1GNSKBKC3LR153761   GM          TAHOE                ORLANDO                  FL
38559   1GNSKBKC3LR154232   GM          TAHOE                PHOENIX                  AZ
38560   1GNSKBKC3LR154358   GM          TAHOE                PHOENIX                  AZ
38561   1GNSKBKC3LR154764   GM          TAHOE                DALLAS                   TX
38562   1GNSKBKC3LR154778   GM          TAHOE                KANSAS CITY              MO
38563   1GNSKBKC3LR154831   GM          TAHOE                PHOENIX                  AZ
38564   1GNSKBKC3LR155154   GM          TAHOE                LOS ANGELES              CA
38565   1GNSKBKC3LR155199   GM          TAHOE                PHOENIX                  AZ
38566   1GNSKBKC3LR155302   GM          TAHOE                STERLING                 VA
38567   1GNSKBKC3LR155459   GM          TAHOE                Louisville               KY
38568   1GNSKBKC3LR155591   GM          TAHOE                ELKRIDGE                 MD
38569   1GNSKBKC3LR155848   GM          TAHOE                CHARLESTON               WV
38570   1GNSKBKC3LR155946   GM          TAHOE                MEMPHIS                  TN
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38571   1GNSKBKC3LR156353   GM          TAHOE                HOUSTON                  TX
38572   1GNSKBKC3LR156532   GM          TAHOE                HARTFORD                 CT
38573   1GNSKBKC3LR157034   GM          TAHOE                DENVER                   CO
38574   1GNSKBKC3LR157115   GM          TAHOE                CHATTANOOGA              TN
38575   1GNSKBKC3LR157129   GM          TAHOE                PHOENIX                  AZ
38576   1GNSKBKC3LR157292   GM          TAHOE                TUCSON                   AZ
38577   1GNSKBKC3LR157342   GM          TAHOE                DALLAS                   TX
38578   1GNSKBKC3LR157874   GM          TAHOE                DES PLAINES              US
38579   1GNSKBKC3LR158006   GM          TAHOE                OMAHA                    NE
38580   1GNSKBKC3LR158085   GM          TAHOE                DES MOINES               IA
38581   1GNSKBKC3LR158149   GM          TAHOE                TUCSON                   AZ
38582   1GNSKBKC3LR158622   GM          TAHOE                SALT LAKE CITY           US
38583   1GNSKBKC3LR158846   GM          TAHOE                RICHMOND                 VA
38584   1GNSKBKC3LR159186   GM          TAHOE                TUCSON                   AZ
38585   1GNSKBKC3LR159611   GM          TAHOE                SEA TAC                  WA
38586   1GNSKBKC3LR171371   GM          TAHOE                OKLAHOMA CITY            OK
38587   1GNSKBKC3LR233223   GM          TAHOE                SAN ANTONIO              TX
38588   1GNSKBKC3LR233268   GM          TAHOE                CHARLESTON               SC
38589   1GNSKBKC3LR234890   GM          TAHOE                ATLANTA                  GA
38590   1GNSKBKC3LR234923   GM          TAHOE                PHILADELPHIA             PA
38591   1GNSKBKC3LR243055   GM          TAHOE                DETROIT                  MI
38592   1GNSKBKC3LR243556   GM          TAHOE                DETROIT                  MI
38593   1GNSKBKC3LR247624   GM          TAHOE                CLEVELAND                OH
38594   1GNSKBKC3LR250054   GM          TAHOE                WARWICK                  RI
38595   1GNSKBKC3LR253732   GM          TAHOE                OMAHA                    NE
38596   1GNSKBKC3LR253942   GM          TAHOE                HOUSTON                  TX
38597   1GNSKBKC3LR254184   GM          TAHOE                CHICAGO O'HARE AP        IL
38598   1GNSKBKC3LR254461   GM          TAHOE                KANSAS CITY              MO
38599   1GNSKBKC3LR254766   GM          TAHOE                HOUSTON                  TX
38600   1GNSKBKC3LR255951   GM          TAHOE                Dallas                   TX
38601   1GNSKBKC3LR256226   GM          TAHOE                ORLANDO                  FL
38602   1GNSKBKC3LR257585   GM          TAHOE                Irving                   TX
38603   1GNSKBKC3LR258221   GM          TAHOE                SAINT PAUL               MN
38604   1GNSKBKC3LR267470   GM          TAHOE                HARTFORD                 CT
38605   1GNSKBKC3LR273835   GM          TAHOE                SEATAC                   WA
38606   1GNSKBKC3LR274001   GM          TAHOE                SEA TAC                  WA
38607   1GNSKBKC3LR274029   GM          TAHOE                SEA TAC                  WA
38608   1GNSKBKC3LR274046   GM          TAHOE                SEA TAC                  WA
38609   1GNSKBKC3LR274368   GM          TAHOE                SEA TAC                  WA
38610   1GNSKBKC3LR275326   GM          TAHOE                Richmond                 VA
38611   1GNSKBKC3LR275603   GM          TAHOE                SYRACUSE                 NY
38612   1GNSKBKC3LR275651   GM          TAHOE                PHILADELPHIA             PA
38613   1GNSKBKC3LR277819   GM          TAHOE                OKLAHOMA CITY            OK
38614   1GNSKBKC3LR280252   GM          TAHOE                HANOVER                  MD
38615   1GNSKBKC3LR281823   GM          TAHOE                ATLANTA                  GA
38616   1GNSKBKC3LR289954   GM          TAHOE                SAN ANTONIO              TX
38617   1GNSKBKC4JR194610   GM          TAHOE                SAN FRANCISCO            CA
38618   1GNSKBKC4JR195367   GM          TAHOE                Portland                 OR
38619   1GNSKBKC4JR196731   GM          TAHOE                Hayward                  CA
38620   1GNSKBKC4JR204813   GM          TAHOE                Hayward                  CA
38621   1GNSKBKC4JR214161   GM          TAHOE                Salt Lake City           UT
38622   1GNSKBKC4JR248066   GM          TAHOE                Fontana                  CA
38623   1GNSKBKC4JR272240   GM          TAHOE                WAIMEA                   HI
38624   1GNSKBKC4JR372757   GM          TAHOE                IDAHO FALLS              ID
38625   1GNSKBKC4JR375609   GM          TAHOE                Manheim                  PA
38626   1GNSKBKC4JR376209   GM          TAHOE                Manheim                  PA
38627   1GNSKBKC4JR378588   GM          TAHOE                Houston                  TX
38628   1GNSKBKC4JR378946   GM          TAHOE                LAS VEGAS                NV
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38629   1GNSKBKC4JR379188   GM          TAHOE                CHARLESTON               WV
38630   1GNSKBKC4JR379644   GM          TAHOE                Rio Linda                CA
38631   1GNSKBKC4JR382267   GM          TAHOE                WEST PALM BEACH          FL
38632   1GNSKBKC4JR383452   GM          TAHOE                CLEVELAND                OH
38633   1GNSKBKC4JR387176   GM          TAHOE                Albuquerque              NM
38634   1GNSKBKC4JR388750   GM          TAHOE                Tampa                    FL
38635   1GNSKBKC4JR389008   GM          TAHOE                Sterling                 VA
38636   1GNSKBKC4JR394810   GM          TAHOE                Fontana                  CA
38637   1GNSKBKC4JR396282   GM          TAHOE                WHITE PLAINS             NY
38638   1GNSKBKC4JR397982   GM          TAHOE                ATLANTA                  GA
38639   1GNSKBKC4JR400007   GM          TAHOE                San Antonio              TX
38640   1GNSKBKC4JR402713   GM          TAHOE                North Dighton            MA
38641   1GNSKBKC4JR402985   GM          TAHOE                LAS VEGAS                NV
38642   1GNSKBKC4JR403098   GM          TAHOE                BALTIMORE                MD
38643   1GNSKBKC4KR160393   GM          TAHOE                BOSTON                   MA
38644   1GNSKBKC4KR160796   GM          TAHOE                DENVER                   CO
38645   1GNSKBKC4KR160815   GM          TAHOE                SAINT PAUL               MN
38646   1GNSKBKC4KR161530   GM          TAHOE                Hamilton                 OH
38647   1GNSKBKC4KR162161   GM          TAHOE                Philadelphia             PA
38648   1GNSKBKC4KR163147   GM          TAHOE                DENVER                   CO
38649   1GNSKBKC4KR164850   GM          TAHOE                ALBUQUERQUE              NM
38650   1GNSKBKC4KR173631   GM          TAHOE                Hapeville                GA
38651   1GNSKBKC4KR176755   GM          TAHOE                Chicago                  IL
38652   1GNSKBKC4KR193846   GM          TAHOE                ORLANDO                  FL
38653   1GNSKBKC4KR199193   GM          TAHOE                Elkridge                 MD
38654   1GNSKBKC4KR274829   GM          TAHOE                Rio Linda                CA
38655   1GNSKBKC4KR275611   GM          TAHOE                Hayward                  CA
38656   1GNSKBKC4KR275849   GM          TAHOE                ORLANDO                  FL
38657   1GNSKBKC4KR279321   GM          TAHOE                DES MOINES               IA
38658   1GNSKBKC4KR279609   GM          TAHOE                CHICAGO O'HARE AP        IL
38659   1GNSKBKC4KR280047   GM          TAHOE                Richmond                 VA
38660   1GNSKBKC4KR280243   GM          TAHOE                SALT LAKE CITY           US
38661   1GNSKBKC4KR280775   GM          TAHOE                LAS VEGAS                NV
38662   1GNSKBKC4KR281344   GM          TAHOE                OMAHA                    NE
38663   1GNSKBKC4KR282865   GM          TAHOE                Riverside                CA
38664   1GNSKBKC4KR284289   GM          TAHOE                SALT LAKE CITY           US
38665   1GNSKBKC4KR284924   GM          TAHOE                ST PAUL                  MN
38666   1GNSKBKC4KR285474   GM          TAHOE                PHILADELPHIA             PA
38667   1GNSKBKC4KR286124   GM          TAHOE                SAINT PAUL               MN
38668   1GNSKBKC4KR286270   GM          TAHOE                MILWAUKEE                WI
38669   1GNSKBKC4KR299939   GM          TAHOE                Tolleson                 AZ
38670   1GNSKBKC4KR302810   GM          TAHOE                JACKSON                  MS
38671   1GNSKBKC4KR303679   GM          TAHOE                PHILADELPHIA             PA
38672   1GNSKBKC4KR306775   GM          TAHOE
38673   1GNSKBKC4KR308803   GM          TAHOE                NEWARK                   NJ
38674   1GNSKBKC4KR308896   GM          TAHOE                SAINT PAUL               MN
38675   1GNSKBKC4KR308932   GM          TAHOE                SYRACUSE                 NY
38676   1GNSKBKC4KR311569   GM          TAHOE                PENSACOLA                FL
38677   1GNSKBKC4KR312401   GM          TAHOE                SAN ANTONIO              TX
38678   1GNSKBKC4KR329232   GM          TAHOE                BLOOMINGTON              IL
38679   1GNSKBKC4KR330588   GM          TAHOE                Fontana                  CA
38680   1GNSKBKC4KR331109   GM          TAHOE                WICHITA FALLS            TX
38681   1GNSKBKC4KR332423   GM          TAHOE                DENVER                   CO
38682   1GNSKBKC4KR333121   GM          TAHOE                KNOXVILLE                TN
38683   1GNSKBKC4KR333829   GM          TAHOE                Denver                   CO
38684   1GNSKBKC4KR335466   GM          TAHOE                North Dighton            MA
38685   1GNSKBKC4KR336021   GM          TAHOE                Austin                   TX
38686   1GNSKBKC4KR337198   GM          TAHOE                Detroit                  MI
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38687   1GNSKBKC4KR337914   GM          TAHOE                SALT LAKE CITY           US
38688   1GNSKBKC4KR339811   GM          TAHOE                MIAMI                    FL
38689   1GNSKBKC4KR341414   GM          TAHOE                Warminster               PA
38690   1GNSKBKC4KR342692   GM          TAHOE                Pensacola                FL
38691   1GNSKBKC4KR343681   GM          TAHOE                SALT LAKE CITY           US
38692   1GNSKBKC4KR347813   GM          TAHOE                DENVER                   CO
38693   1GNSKBKC4KR362490   GM          TAHOE                WOODSON TERRACE          MO
38694   1GNSKBKC4KR364143   GM          TAHOE                ST Paul                  MN
38695   1GNSKBKC4KR366927   GM          TAHOE                Webster                  NY
38696   1GNSKBKC4KR367690   GM          TAHOE                Fontana                  CA
38697   1GNSKBKC4KR368659   GM          TAHOE                Lynn                     MA
38698   1GNSKBKC4KR371903   GM          TAHOE                DENVER                   CO
38699   1GNSKBKC4KR381458   GM          TAHOE                Phoenix                  AZ
38700   1GNSKBKC4LR145569   GM          TAHOE                DALLAS                   TX
38701   1GNSKBKC4LR147323   GM          TAHOE                FORT MYERS               FL
38702   1GNSKBKC4LR147371   GM          TAHOE                SARASOTA                 FL
38703   1GNSKBKC4LR147600   GM          TAHOE                Tampa                    FL
38704   1GNSKBKC4LR147726   GM          TAHOE                SAN ANTONIO              TX
38705   1GNSKBKC4LR148147   GM          TAHOE                PHOENIX                  AZ
38706   1GNSKBKC4LR149136   GM          TAHOE                Atlanta                  GA
38707   1GNSKBKC4LR149153   GM          TAHOE                Atlanta                  GA
38708   1GNSKBKC4LR149315   GM          TAHOE                HOUSTON                  TX
38709   1GNSKBKC4LR149492   GM          TAHOE                Atlanta                  GA
38710   1GNSKBKC4LR149511   GM          TAHOE                WEST PALM BEACH          FL
38711   1GNSKBKC4LR150903   GM          TAHOE                FORT LAUDERDALE          FL
38712   1GNSKBKC4LR151128   GM          TAHOE                ORLANDO                  FL
38713   1GNSKBKC4LR151405   GM          TAHOE                WHITE PLAINS             NY
38714   1GNSKBKC4LR151419   GM          TAHOE                WEST COLUMBIA            SC
38715   1GNSKBKC4LR151422   GM          TAHOE                FORT MYERS               FL
38716   1GNSKBKC4LR151470   GM          TAHOE                SALT LAKE CITY           US
38717   1GNSKBKC4LR151534   GM          TAHOE                ORLANDO                  FL
38718   1GNSKBKC4LR151761   GM          TAHOE                TAMPA                    FL
38719   1GNSKBKC4LR151940   GM          TAHOE                HARTFORD                 CT
38720   1GNSKBKC4LR152215   GM          TAHOE                ORLANDO                  FL
38721   1GNSKBKC4LR152585   GM          TAHOE                MILWAUKEE                WI
38722   1GNSKBKC4LR152859   GM          TAHOE                CHARLOTTE                NC
38723   1GNSKBKC4LR153154   GM          TAHOE                KANSAS CITY              MO
38724   1GNSKBKC4LR153168   GM          TAHOE                KANSAS CITY              MO
38725   1GNSKBKC4LR153171   GM          TAHOE                LOS ANGELES              CA
38726   1GNSKBKC4LR153302   GM          TAHOE                HOUSTON                  TX
38727   1GNSKBKC4LR153638   GM          TAHOE                DFW AIRPORT              TX
38728   1GNSKBKC4LR153705   GM          TAHOE                DALLAS                   TX
38729   1GNSKBKC4LR153851   GM          TAHOE                AUSTIN                   TX
38730   1GNSKBKC4LR154028   GM          TAHOE                SAINT PAUL               MN
38731   1GNSKBKC4LR154143   GM          TAHOE                HOUSTON                  TX
38732   1GNSKBKC4LR154384   GM          TAHOE                DENVER                   CO
38733   1GNSKBKC4LR154496   GM          TAHOE                PHOENIX                  AZ
38734   1GNSKBKC4LR154675   GM          TAHOE                Warminster               PA
38735   1GNSKBKC4LR154885   GM          TAHOE                BOISE                    US
38736   1GNSKBKC4LR155289   GM          TAHOE                OAKLAND                  CA
38737   1GNSKBKC4LR155342   GM          TAHOE                CHATTANOOGA              TN
38738   1GNSKBKC4LR155647   GM          TAHOE                TUCSON                   AZ
38739   1GNSKBKC4LR155874   GM          TAHOE                COLORADO SPRING          CO
38740   1GNSKBKC4LR156376   GM          TAHOE                TUCSON                   AZ
38741   1GNSKBKC4LR156393   GM          TAHOE                CLEVELAND                OH
38742   1GNSKBKC4LR156510   GM          TAHOE                Phoenix                  AZ
38743   1GNSKBKC4LR156541   GM          TAHOE                Los Angeles              CA
38744   1GNSKBKC4LR157558   GM          TAHOE                SANTA BARBARA            CA
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38745   1GNSKBKC4LR157625   GM          TAHOE                Los Angeles              CA
38746   1GNSKBKC4LR158189   GM          TAHOE                DALLAS                   TX
38747   1GNSKBKC4LR158239   GM          TAHOE                Phoenix                  AZ
38748   1GNSKBKC4LR158600   GM          TAHOE                SAINT LOUIS              MO
38749   1GNSKBKC4LR158919   GM          TAHOE                PHOENIX                  AZ
38750   1GNSKBKC4LR158970   GM          TAHOE                STERLING                 VA
38751   1GNSKBKC4LR159357   GM          TAHOE                PALM SPRINGS             CA
38752   1GNSKBKC4LR159388   GM          TAHOE                PORTLAND                 OR
38753   1GNSKBKC4LR167331   GM          TAHOE                Dallas                   TX
38754   1GNSKBKC4LR168513   GM          TAHOE                DALLAS                   TX
38755   1GNSKBKC4LR168625   GM          TAHOE                MIDLAND                  TX
38756   1GNSKBKC4LR193119   GM          TAHOE                Atlanta                  GA
38757   1GNSKBKC4LR243307   GM          TAHOE                GRAND RAPIDS             MI
38758   1GNSKBKC4LR243811   GM          TAHOE                GRAND RAPIDS             MI
38759   1GNSKBKC4LR246031   GM          TAHOE                NEW YORK CITY            NY
38760   1GNSKBKC4LR246045   GM          TAHOE                PITTSBURGH               PA
38761   1GNSKBKC4LR246367   GM          TAHOE                ALBUQUERQUE              NM
38762   1GNSKBKC4LR253979   GM          TAHOE                HOUSTON                  TX
38763   1GNSKBKC4LR255943   GM          TAHOE                LOUISVILLE               KY
38764   1GNSKBKC4LR256199   GM          TAHOE                CHICAGO                  IL
38765   1GNSKBKC4LR257479   GM          TAHOE                HOUSTON                  TX
38766   1GNSKBKC4LR257935   GM          TAHOE                INDIANAPOLIS             IN
38767   1GNSKBKC4LR258812   GM          TAHOE                KENNER                   LA
38768   1GNSKBKC4LR259457   GM          TAHOE                BOSTON                   MA
38769   1GNSKBKC4LR260222   GM          TAHOE                Tulsa                    OK
38770   1GNSKBKC4LR261127   GM          TAHOE                SAINT LOUIS              MO
38771   1GNSKBKC4LR274265   GM          TAHOE                SEA TAC                  WA
38772   1GNSKBKC4LR274282   GM          TAHOE                SEA TAC                  WA
38773   1GNSKBKC4LR274296   GM          TAHOE                SEA TAC                  WA
38774   1GNSKBKC4LR274699   GM          TAHOE                SEA TAC                  WA
38775   1GNSKBKC4LR279921   GM          TAHOE                DETROIT                  MI
38776   1GNSKBKC5JR185463   GM          TAHOE                ORLANDO                  FL
38777   1GNSKBKC5JR195085   GM          TAHOE                Hayward                  CA
38778   1GNSKBKC5JR195636   GM          TAHOE                North Las Vegas          NV
38779   1GNSKBKC5JR197001   GM          TAHOE                Hayward                  CA
38780   1GNSKBKC5JR249209   GM          TAHOE                Detroit                  MI
38781   1GNSKBKC5JR273249   GM          TAHOE                Fontana                  CA
38782   1GNSKBKC5JR374713   GM          TAHOE                Fontana                  CA
38783   1GNSKBKC5JR378695   GM          TAHOE                DENVER                   CO
38784   1GNSKBKC5JR379622   GM          TAHOE                DENVER                   CO
38785   1GNSKBKC5JR380267   GM          TAHOE                DAYTONA BEACH            FL
38786   1GNSKBKC5JR390961   GM          TAHOE                DENVER                   CO
38787   1GNSKBKC5JR392547   GM          TAHOE                Ocoee                    FL
38788   1GNSKBKC5JR394993   GM          TAHOE                Louisville               KY
38789   1GNSKBKC5JR401103   GM          TAHOE                Fontana                  CA
38790   1GNSKBKC5JR401909   GM          TAHOE                Detroit                  MI
38791   1GNSKBKC5JR402056   GM          TAHOE                EULESS                   TX
38792   1GNSKBKC5JR403269   GM          TAHOE                DENVER                   CO
38793   1GNSKBKC5JR403384   GM          TAHOE                Cincinnati               OH
38794   1GNSKBKC5KR158068   GM          TAHOE                Miami                    FL
38795   1GNSKBKC5KR158233   GM          TAHOE                NEW BERN                 NC
38796   1GNSKBKC5KR158586   GM          TAHOE                KANSAS CITY              MO
38797   1GNSKBKC5KR159642   GM          TAHOE                ORLANDO                  FL
38798   1GNSKBKC5KR161133   GM          TAHOE                BOSTON                   MA
38799   1GNSKBKC5KR161648   GM          TAHOE                DAYTONA BEACH            FL
38800   1GNSKBKC5KR161679   GM          TAHOE                Aurora                   CO
38801   1GNSKBKC5KR162542   GM          TAHOE                Davie                    FL
38802   1GNSKBKC5KR163321   GM          TAHOE                TAMPA                    FL
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38803   1GNSKBKC5KR163786   GM          TAHOE                DENVER                   CO
38804   1GNSKBKC5KR163979   GM          TAHOE                NEW BERN                 NC
38805   1GNSKBKC5KR164730   GM          TAHOE                ORLANDO                  FL
38806   1GNSKBKC5KR165067   GM          TAHOE                PLEASANTON               CA
38807   1GNSKBKC5KR167529   GM          TAHOE                DENVER                   CO
38808   1GNSKBKC5KR168339   GM          TAHOE                Las Vegas                NV
38809   1GNSKBKC5KR170012   GM          TAHOE                WEST PALM BEACH          FL
38810   1GNSKBKC5KR173122   GM          TAHOE                AUGUSTA                  GA
38811   1GNSKBKC5KR173153   GM          TAHOE                Davie                    FL
38812   1GNSKBKC5KR173718   GM          TAHOE                Davie                    FL
38813   1GNSKBKC5KR176957   GM          TAHOE                FRESNO                   CA
38814   1GNSKBKC5KR177218   GM          TAHOE                CHICAGO O'HARE AP        IL
38815   1GNSKBKC5KR206989   GM          TAHOE                CHARLOTTE                NC
38816   1GNSKBKC5KR273270   GM          TAHOE                LEXINGTON                KY
38817   1GNSKBKC5KR273589   GM          TAHOE                Fontana                  CA
38818   1GNSKBKC5KR273690   GM          TAHOE                MOBILE                   A
38819   1GNSKBKC5KR275102   GM          TAHOE                Norfolk                  VA
38820   1GNSKBKC5KR275617   GM          TAHOE                PHOENIX                  AZ
38821   1GNSKBKC5KR276279   GM          TAHOE                SEATTLE                  WA
38822   1GNSKBKC5KR276718   GM          TAHOE                Denver                   CO
38823   1GNSKBKC5KR278288   GM          TAHOE                Rio Linda                CA
38824   1GNSKBKC5KR279781   GM          TAHOE                CHICAGO O'HARE AP        IL
38825   1GNSKBKC5KR280106   GM          TAHOE                MELROSE PARK             IL
38826   1GNSKBKC5KR281191   GM          TAHOE                WARWICK                  RI
38827   1GNSKBKC5KR281563   GM          TAHOE                Chicago                  IL
38828   1GNSKBKC5KR281692   GM          TAHOE                DES PLAINES              US
38829   1GNSKBKC5KR281854   GM          TAHOE                Miami                    FL
38830   1GNSKBKC5KR282227   GM          TAHOE                San Diego                CA
38831   1GNSKBKC5KR283152   GM          TAHOE                PORTLAND                 ME
38832   1GNSKBKC5KR283183   GM          TAHOE                ORLANDO                  FL
38833   1GNSKBKC5KR283880   GM          TAHOE                Lynn                     MA
38834   1GNSKBKC5KR286424   GM          TAHOE                COLUMBIA                 SC
38835   1GNSKBKC5KR286987   GM          TAHOE                BUFFALO                  NY
38836   1GNSKBKC5KR287136   GM          TAHOE                DES MOINES               IA
38837   1GNSKBKC5KR287976   GM          TAHOE                Atlanta                  GA
38838   1GNSKBKC5KR288402   GM          TAHOE                HOUSTON                  TX
38839   1GNSKBKC5KR288416   GM          TAHOE                MILWAUKEE                WI
38840   1GNSKBKC5KR290635   GM          TAHOE                SAINT PAUL               MN
38841   1GNSKBKC5KR291378   GM          TAHOE                Leesburg                 VA
38842   1GNSKBKC5KR291428   GM          TAHOE                PLEASANTON               CA
38843   1GNSKBKC5KR291977   GM          TAHOE                PHILADELPHIA             PA
38844   1GNSKBKC5KR304792   GM          TAHOE                Manheim                  PA
38845   1GNSKBKC5KR307904   GM          TAHOE                Kansas City              MO
38846   1GNSKBKC5KR309488   GM          TAHOE                MARIETTA                 GA
38847   1GNSKBKC5KR309670   GM          TAHOE                CHICAGO                  IL
38848   1GNSKBKC5KR312293   GM          TAHOE                WHITE PLAINS             NY
38849   1GNSKBKC5KR313752   GM          TAHOE                MINNEAPOLIS              MN
38850   1GNSKBKC5KR329997   GM          TAHOE                WHITE PLAINS             NY
38851   1GNSKBKC5KR330616   GM          TAHOE                BOSTON                   MA
38852   1GNSKBKC5KR331233   GM          TAHOE                DENVER                   CO
38853   1GNSKBKC5KR332365   GM          TAHOE                SALT LAKE CITY           US
38854   1GNSKBKC5KR338098   GM          TAHOE                CHICAGO                  IL
38855   1GNSKBKC5KR339770   GM          TAHOE                SAINT PAUL               MN
38856   1GNSKBKC5KR341406   GM          TAHOE                DETROIT                  MI
38857   1GNSKBKC5KR341583   GM          TAHOE                Morrisville              NC
38858   1GNSKBKC5KR342216   GM          TAHOE                Hapeville                GA
38859   1GNSKBKC5KR343530   GM          TAHOE                BOISE                    ID
38860   1GNSKBKC5KR344547   GM          TAHOE                Albuquerque              NM
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38861   1GNSKBKC5KR346718   GM          TAHOE                Santa Clara              CA
38862   1GNSKBKC5KR362627   GM          TAHOE                CHICAGO                  IL
38863   1GNSKBKC5KR364507   GM          TAHOE                Manheim                  PA
38864   1GNSKBKC5KR365401   GM          TAHOE                SALT LAKE CITY           UT
38865   1GNSKBKC5KR366516   GM          TAHOE                Hebron                   KY
38866   1GNSKBKC5KR370386   GM          TAHOE                FT WAYNE                 IN
38867   1GNSKBKC5KR371280   GM          TAHOE                Florissant               MO
38868   1GNSKBKC5KR372378   GM          TAHOE                Carleton                 MI
38869   1GNSKBKC5KR372672   GM          TAHOE                DES MOINES               IA
38870   1GNSKBKC5KR375474   GM          TAHOE                Webster                  NY
38871   1GNSKBKC5KR375975   GM          TAHOE                FAYETTEVILLE             US
38872   1GNSKBKC5KR377032   GM          TAHOE                SANTA CLARA              CA
38873   1GNSKBKC5LR145189   GM          TAHOE                Atlanta                  GA
38874   1GNSKBKC5LR146147   GM          TAHOE                Sarasota                 FL
38875   1GNSKBKC5LR147265   GM          TAHOE                BOSTON, LOGAN AP         MA
38876   1GNSKBKC5LR148142   GM          TAHOE                DALLAS                   TX
38877   1GNSKBKC5LR148366   GM          TAHOE                RICHMOND                 VA
38878   1GNSKBKC5LR148478   GM          TAHOE                FORT MYERS               FL
38879   1GNSKBKC5LR148481   GM          TAHOE                TAMPA                    FL
38880   1GNSKBKC5LR148531   GM          TAHOE                MIAMI                    FL
38881   1GNSKBKC5LR149002   GM          TAHOE                MILWAUKEE                WI
38882   1GNSKBKC5LR149016   GM          TAHOE                PHOENIX                  AZ
38883   1GNSKBKC5LR149209   GM          TAHOE                DETROIT                  MI
38884   1GNSKBKC5LR149212   GM          TAHOE                LUBBOCK                  TX
38885   1GNSKBKC5LR149324   GM          TAHOE                KENNER                   LA
38886   1GNSKBKC5LR149517   GM          TAHOE                MIAMI                    FL
38887   1GNSKBKC5LR150540   GM          TAHOE                WICHITA FALLS            TX
38888   1GNSKBKC5LR150778   GM          TAHOE                CORPUS CHRISTI           TX
38889   1GNSKBKC5LR150859   GM          TAHOE                SAN ANTONIO              TX
38890   1GNSKBKC5LR150957   GM          TAHOE                HOUSTON                  TX
38891   1GNSKBKC5LR151204   GM          TAHOE                DENVER                   CO
38892   1GNSKBKC5LR151249   GM          TAHOE                DALLAS                   TX
38893   1GNSKBKC5LR152045   GM          TAHOE                ORLANDO                  FL
38894   1GNSKBKC5LR152370   GM          TAHOE                PHOENIX                  AZ
38895   1GNSKBKC5LR152661   GM          TAHOE                Atlanta                  GA
38896   1GNSKBKC5LR152868   GM          TAHOE                GRAND RAPIDS             MI
38897   1GNSKBKC5LR152871   GM          TAHOE                AUSTIN                   TX
38898   1GNSKBKC5LR153230   GM          TAHOE                CHICAGO                  IL
38899   1GNSKBKC5LR153258   GM          TAHOE                TAMPA                    FL
38900   1GNSKBKC5LR153292   GM          TAHOE                LOS ANGELES              CA
38901   1GNSKBKC5LR153390   GM          TAHOE                PHOENIX                  AZ
38902   1GNSKBKC5LR153678   GM          TAHOE                HOUSTON                  TX
38903   1GNSKBKC5LR153681   GM          TAHOE                CHICAGO                  IL
38904   1GNSKBKC5LR154054   GM          TAHOE                WICHITA FALLS            TX
38905   1GNSKBKC5LR154362   GM          TAHOE                LOS ANGELES              CA
38906   1GNSKBKC5LR154751   GM          TAHOE                FORT MYERS               FL
38907   1GNSKBKC5LR154832   GM          TAHOE                SANTA ANA                CA
38908   1GNSKBKC5LR155060   GM          TAHOE                SAN ANTONIO              TX
38909   1GNSKBKC5LR155575   GM          TAHOE                KENNER                   LA
38910   1GNSKBKC5LR155592   GM          TAHOE                ALBUQUERQUE              NM
38911   1GNSKBKC5LR155642   GM          TAHOE                PHOENIX                  AZ
38912   1GNSKBKC5LR155883   GM          TAHOE                KANSAS CITY              MO
38913   1GNSKBKC5LR156208   GM          TAHOE                TUCSON                   AZ
38914   1GNSKBKC5LR156211   GM          TAHOE                SAN ANTONIO              TX
38915   1GNSKBKC5LR156516   GM          TAHOE                SALT LAKE CITY           US
38916   1GNSKBKC5LR156564   GM          TAHOE                LAS VEGAS                NV
38917   1GNSKBKC5LR156712   GM          TAHOE                PHOENIX                  AZ
38918   1GNSKBKC5LR157035   GM          TAHOE                PHOENIX                  AZ
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38919   1GNSKBKC5LR157066   GM          TAHOE                FT. LAUDERDALE           FL
38920   1GNSKBKC5LR157083   GM          TAHOE                BLOOMINGTON              IL
38921   1GNSKBKC5LR157178   GM          TAHOE                PHOENIX                  AZ
38922   1GNSKBKC5LR157200   GM          TAHOE                PALM SPRINGS             CA
38923   1GNSKBKC5LR157441   GM          TAHOE                PHOENIX                  AZ
38924   1GNSKBKC5LR157570   GM          TAHOE                PHOENIX                  AZ
38925   1GNSKBKC5LR157729   GM          TAHOE                SOUTH BEND               IN
38926   1GNSKBKC5LR157777   GM          TAHOE                MILWAUKEE                WI
38927   1GNSKBKC5LR158086   GM          TAHOE                DALLAS                   TX
38928   1GNSKBKC5LR158220   GM          TAHOE                PHOENIX                  AZ
38929   1GNSKBKC5LR158623   GM          TAHOE                CHARLOTTE                NC
38930   1GNSKBKC5LR158671   GM          TAHOE                DALLAS                   TX
38931   1GNSKBKC5LR158928   GM          TAHOE                LOS ANGELES              CA
38932   1GNSKBKC5LR159223   GM          TAHOE                LOS ANGELES              CA
38933   1GNSKBKC5LR159271   GM          TAHOE                ALBUQUERQUE              NM
38934   1GNSKBKC5LR159299   GM          TAHOE                TAMPA                    FL
38935   1GNSKBKC5LR159349   GM          TAHOE                PHOENIX                  AZ
38936   1GNSKBKC5LR160386   GM          TAHOE                ORLANDO                  FL
38937   1GNSKBKC5LR166401   GM          TAHOE                SAN DIEGO                CA
38938   1GNSKBKC5LR238536   GM          TAHOE                Cicero                   NY
38939   1GNSKBKC5LR242005   GM          TAHOE                PHOENIX                  AZ
38940   1GNSKBKC5LR243641   GM          TAHOE                GRAND RAPIDS             MI
38941   1GNSKBKC5LR243686   GM          TAHOE                ROCHESTER                NY
38942   1GNSKBKC5LR246300   GM          TAHOE                BOSTON                   MA
38943   1GNSKBKC5LR247611   GM          TAHOE                DETROIT                  MI
38944   1GNSKBKC5LR247690   GM          TAHOE                DETROIT                  MI
38945   1GNSKBKC5LR247950   GM          TAHOE                BALTIMORE                MD
38946   1GNSKBKC5LR248208   GM          TAHOE                DETROIT                  MI
38947   1GNSKBKC5LR248693   GM          TAHOE                PHILADELPHIA             PA
38948   1GNSKBKC5LR249794   GM          TAHOE                CHATTANOOGA              TN
38949   1GNSKBKC5LR255384   GM          TAHOE                FORT MYERS               FL
38950   1GNSKBKC5LR255613   GM          TAHOE                JACKSON                  MS
38951   1GNSKBKC5LR255966   GM          TAHOE                DALLAS                   TX
38952   1GNSKBKC5LR258060   GM          TAHOE                FORT MYERS               FL
38953   1GNSKBKC5LR260942   GM          TAHOE                NEW BERN                 NC
38954   1GNSKBKC5LR261282   GM          TAHOE                SAN JOSE                 CA
38955   1GNSKBKC5LR272038   GM          TAHOE                DETROIT                  MI
38956   1GNSKBKC5LR274095   GM          TAHOE                STERLING                 VA
38957   1GNSKBKC5LR275389   GM          TAHOE                SEA TAC                  WA
38958   1GNSKBKC5LR276249   GM          TAHOE                SOUTH BURLINGTO          VT
38959   1GNSKBKC5LR280396   GM          TAHOE                HANOVER                  MD
38960   1GNSKBKC5LR280446   GM          TAHOE                BALTIMORE                MD
38961   1GNSKBKC6JR195029   GM          TAHOE                HILO                     HI
38962   1GNSKBKC6JR195404   GM          TAHOE                Hayward                  CA
38963   1GNSKBKC6JR195452   GM          TAHOE                SAN FRANCISCO            CA
38964   1GNSKBKC6JR195760   GM          TAHOE                SAN FRANCISCO            CA
38965   1GNSKBKC6JR196990   GM          TAHOE                Hayward                  CA
38966   1GNSKBKC6JR278721   GM          TAHOE                Manheim                  PA
38967   1GNSKBKC6JR314312   GM          TAHOE                Manheim                  PA
38968   1GNSKBKC6JR341171   GM          TAHOE                Chicago                  IL
38969   1GNSKBKC6JR342563   GM          TAHOE                Statesville              NC
38970   1GNSKBKC6JR352946   GM          TAHOE                LEXINGTON                KY
38971   1GNSKBKC6JR354356   GM          TAHOE                Aurora                   CO
38972   1GNSKBKC6JR357421   GM          TAHOE                College Park             GA
38973   1GNSKBKC6JR366121   GM          TAHOE                ALBUQERQUE               NM
38974   1GNSKBKC6JR376907   GM          TAHOE                BUFFALO                  NY
38975   1GNSKBKC6JR377796   GM          TAHOE                ORLANDO                  FL
38976   1GNSKBKC6JR378964   GM          TAHOE                Estero                   FL
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38977   1GNSKBKC6JR380102   GM          TAHOE                WEST PALM BEACH          FL
38978   1GNSKBKC6JR389219   GM          TAHOE                Rockville Centr          NY
38979   1GNSKBKC6JR389298   GM          TAHOE                Hayward                  CA
38980   1GNSKBKC6JR394565   GM          TAHOE                Manheim                  PA
38981   1GNSKBKC6JR394937   GM          TAHOE                Rockville Centr          NY
38982   1GNSKBKC6JR396400   GM          TAHOE                DENVER                   CO
38983   1GNSKBKC6JR398390   GM          TAHOE                BLOOMINGTON              IL
38984   1GNSKBKC6JR399295   GM          TAHOE                Wichita                  KS
38985   1GNSKBKC6JR400249   GM          TAHOE                DAYTONA BEACH            FL
38986   1GNSKBKC6JR400526   GM          TAHOE                ORLANDO                  FL
38987   1GNSKBKC6KR158273   GM          TAHOE                North Dighton            MA
38988   1GNSKBKC6KR160363   GM          TAHOE                WEST PALM BEACH          FL
38989   1GNSKBKC6KR163716   GM          TAHOE                Rio Linda                CA
38990   1GNSKBKC6KR167927   GM          TAHOE                Pensacola                FL
38991   1GNSKBKC6KR169161   GM          TAHOE                WEST PALM BEACH          FL
38992   1GNSKBKC6KR169502   GM          TAHOE                GRAND RAPIDS             MI
38993   1GNSKBKC6KR171847   GM          TAHOE                Live Oak                 TX
38994   1GNSKBKC6KR172898   GM          TAHOE                DENVER                   CO
38995   1GNSKBKC6KR173162   GM          TAHOE                WHITE PLAINS             NY
38996   1GNSKBKC6KR174120   GM          TAHOE                Savannah                 GA
38997   1GNSKBKC6KR176806   GM          TAHOE                North Dighton            MA
38998   1GNSKBKC6KR274928   GM          TAHOE                DALLAS                   TX
38999   1GNSKBKC6KR276615   GM          TAHOE                Fontana                  CA
39000   1GNSKBKC6KR277005   GM          TAHOE                Phoenix                  AZ
39001   1GNSKBKC6KR277747   GM          TAHOE                WEST PALM BEACH          FL
39002   1GNSKBKC6KR280745   GM          TAHOE                LAS VEGAS                NV
39003   1GNSKBKC6KR281636   GM          TAHOE                DENVER                   CO
39004   1GNSKBKC6KR281751   GM          TAHOE                SAN FRANCISCO            CA
39005   1GNSKBKC6KR283130   GM          TAHOE                SEATAC                   WA
39006   1GNSKBKC6KR287341   GM          TAHOE                Tampa                    FL
39007   1GNSKBKC6KR287467   GM          TAHOE                CHICAGO                  IL
39008   1GNSKBKC6KR292233   GM          TAHOE                PHILADELPHIA             US
39009   1GNSKBKC6KR298436   GM          TAHOE                TAMPA                    FL
39010   1GNSKBKC6KR300525   GM          TAHOE                Manheim                  PA
39011   1GNSKBKC6KR304526   GM          TAHOE                PHILADELPHIA             PA
39012   1GNSKBKC6KR305014   GM          TAHOE                S. San Francisc          CA
39013   1GNSKBKC6KR305191   GM          TAHOE                San Diego                CA
39014   1GNSKBKC6KR306616   GM          TAHOE                Hartford                 CT
39015   1GNSKBKC6KR306955   GM          TAHOE                BIRMINGHAN               AL
39016   1GNSKBKC6KR307121   GM          TAHOE                ORLANDO                  FL
39017   1GNSKBKC6KR307524   GM          TAHOE                Teterboro                NJ
39018   1GNSKBKC6KR310231   GM          TAHOE                GRAND RAPIDS             MI
39019   1GNSKBKC6KR311136   GM          TAHOE                Riverside                CA
39020   1GNSKBKC6KR311590   GM          TAHOE                Dallas                   TX
39021   1GNSKBKC6KR314134   GM          TAHOE                BOSTON                   MA
39022   1GNSKBKC6KR314229   GM          TAHOE                Fredericksburg           VA
39023   1GNSKBKC6KR314506   GM          TAHOE                NEWARK                   NY
39024   1GNSKBKC6KR329488   GM          TAHOE                DENVER                   CO
39025   1GNSKBKC6KR329653   GM          TAHOE                DENVER                   CO
39026   1GNSKBKC6KR330074   GM          TAHOE                Tolleson                 AZ
39027   1GNSKBKC6KR332620   GM          TAHOE                KANSAS CITY              MO
39028   1GNSKBKC6KR332665   GM          TAHOE                CASTLE ROCK              CO
39029   1GNSKBKC6KR333184   GM          TAHOE                KANSAS CITY              MO
39030   1GNSKBKC6KR333976   GM          TAHOE                Scottsdale               AZ
39031   1GNSKBKC6KR334304   GM          TAHOE                SALT LAKE CITY           US
39032   1GNSKBKC6KR334562   GM          TAHOE                DENVER                   CO
39033   1GNSKBKC6KR335579   GM          TAHOE                DENVER                   CO
39034   1GNSKBKC6KR335680   GM          TAHOE                CHICAGO                  IL
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39035   1GNSKBKC6KR338787   GM          TAHOE                KANSAS CITY              MO
39036   1GNSKBKC6KR339700   GM          TAHOE                Denver                   CO
39037   1GNSKBKC6KR339955   GM          TAHOE                BOSTON                   MA
39038   1GNSKBKC6KR340359   GM          TAHOE                Louisville               KY
39039   1GNSKBKC6KR341933   GM          TAHOE                CHICAGO                  IL
39040   1GNSKBKC6KR343200   GM          TAHOE                SALT LAKE CITY           UT
39041   1GNSKBKC6KR346677   GM          TAHOE                Tolleson                 AZ
39042   1GNSKBKC6KR346808   GM          TAHOE                Bordentown               NJ
39043   1GNSKBKC6KR365438   GM          TAHOE                San Diego                CA
39044   1GNSKBKC6KR368940   GM          TAHOE                SAINT PAUL               MN
39045   1GNSKBKC6KR371420   GM          TAHOE                WEST PALM BEACH          FL
39046   1GNSKBKC6KR373958   GM          TAHOE                LEXINGTON                KY
39047   1GNSKBKC6KR375550   GM          TAHOE                DES MOINES               IA
39048   1GNSKBKC6KR376634   GM          TAHOE                SAN JOSE                 CA
39049   1GNSKBKC6KR376892   GM          TAHOE                Houston                  TX
39050   1GNSKBKC6KR378772   GM          TAHOE                MIAMI                    FL
39051   1GNSKBKC6KR379467   GM          TAHOE                DENVER                   CO
39052   1GNSKBKC6KR385947   GM          TAHOE                Phoenix                  AZ
39053   1GNSKBKC6LR145704   GM          TAHOE                ORLANDO                  FL
39054   1GNSKBKC6LR145749   GM          TAHOE                PHOENIX                  AZ
39055   1GNSKBKC6LR145752   GM          TAHOE                Tulsa                    OK
39056   1GNSKBKC6LR146657   GM          TAHOE                FORT MYERS               FL
39057   1GNSKBKC6LR147968   GM          TAHOE                HOUSTON                  TX
39058   1GNSKBKC6LR148148   GM          TAHOE                JACKSON                  MS
39059   1GNSKBKC6LR148523   GM          TAHOE                SAN ANTONIO              TX
39060   1GNSKBKC6LR148750   GM          TAHOE                RICHMOND                 VA
39061   1GNSKBKC6LR148795   GM          TAHOE                MIAMI                    FL
39062   1GNSKBKC6LR149140   GM          TAHOE                MIAMI                    FL
39063   1GNSKBKC6LR149154   GM          TAHOE                KNOXVILLE AP             TN
39064   1GNSKBKC6LR149428   GM          TAHOE                NEW BERN                 NC
39065   1GNSKBKC6LR149753   GM          TAHOE                DANIA BEACH              FL
39066   1GNSKBKC6LR149803   GM          TAHOE                FORT LAUDERDALE          FL
39067   1GNSKBKC6LR149929   GM          TAHOE                MIAMI                    FL
39068   1GNSKBKC6LR149963   GM          TAHOE                SHREVEPORT               LA
39069   1GNSKBKC6LR150529   GM          TAHOE                ORLANDO                  FL
39070   1GNSKBKC6LR150742   GM          TAHOE                DALLAS                   TX
39071   1GNSKBKC6LR150840   GM          TAHOE                HANOVER                  MD
39072   1GNSKBKC6LR151146   GM          TAHOE                TULSA                    OK
39073   1GNSKBKC6LR151924   GM          TAHOE                DETROIT                  MI
39074   1GNSKBKC6LR152085   GM          TAHOE                KANSAS CITY              MO
39075   1GNSKBKC6LR152104   GM          TAHOE                Caledonia                WI
39076   1GNSKBKC6LR152121   GM          TAHOE                ROUND ROCK               TX
39077   1GNSKBKC6LR152359   GM          TAHOE                PHOENIX                  AZ
39078   1GNSKBKC6LR152507   GM          TAHOE                PENSACOLA                FL
39079   1GNSKBKC6LR152734   GM          TAHOE                LOS ANGELES              CA
39080   1GNSKBKC6LR152877   GM          TAHOE                LOS ANGELES              CA
39081   1GNSKBKC6LR153205   GM          TAHOE                DALLAS                   TX
39082   1GNSKBKC6LR153219   GM          TAHOE                CHICAGO                  IL
39083   1GNSKBKC6LR153267   GM          TAHOE                PHOENIX                  AZ
39084   1GNSKBKC6LR153396   GM          TAHOE                ORLANDO                  FL
39085   1GNSKBKC6LR153446   GM          TAHOE                PHOENIX                  AZ
39086   1GNSKBKC6LR153561   GM          TAHOE                PHOENIX                  AZ
39087   1GNSKBKC6LR154080   GM          TAHOE                MILWAUKEE                WI
39088   1GNSKBKC6LR154287   GM          TAHOE                FRESNO                   CA
39089   1GNSKBKC6LR154421   GM          TAHOE                BURBANK                  CA
39090   1GNSKBKC6LR154614   GM          TAHOE                MILWAUKEE                WI
39091   1GNSKBKC6LR154788   GM          TAHOE                KANSAS CITY              MO
39092   1GNSKBKC6LR154807   GM          TAHOE                TUCSON                   AZ
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39093   1GNSKBKC6LR154936   GM          TAHOE                FORT MYERS               FL
39094   1GNSKBKC6LR155147   GM          TAHOE                ORLANDO                  FL
39095   1GNSKBKC6LR155312   GM          TAHOE                HOUSTON                  TX
39096   1GNSKBKC6LR155553   GM          TAHOE                DENVER                   CO
39097   1GNSKBKC6LR155570   GM          TAHOE                PHOENIX                  AZ
39098   1GNSKBKC6LR155696   GM          TAHOE                INGLEWOOD                CA
39099   1GNSKBKC6LR155777   GM          TAHOE                DENVER                   CO
39100   1GNSKBKC6LR156038   GM          TAHOE                WEST PALM BEACH          FL
39101   1GNSKBKC6LR156220   GM          TAHOE                DALLAS                   TX
39102   1GNSKBKC6LR156329   GM          TAHOE                SANTA ANA                CA
39103   1GNSKBKC6LR156363   GM          TAHOE                HOUSTON                  TX
39104   1GNSKBKC6LR156511   GM          TAHOE                SAINT LOUIS              MO
39105   1GNSKBKC6LR157142   GM          TAHOE                SALT LAKE CITY           UT
39106   1GNSKBKC6LR157917   GM          TAHOE                Atlanta                  GA
39107   1GNSKBKC6LR158095   GM          TAHOE                BOSTON                   MA
39108   1GNSKBKC6LR158601   GM          TAHOE                SACRAMENTO               CA
39109   1GNSKBKC6LR158680   GM          TAHOE                Dallas                   TX
39110   1GNSKBKC6LR158694   GM          TAHOE                Middletown               PA
39111   1GNSKBKC6LR158775   GM          TAHOE                OMAHA                    NE
39112   1GNSKBKC6LR159098   GM          TAHOE                ALBUQUERQUE              NM
39113   1GNSKBKC6LR159263   GM          TAHOE                Parkville                MD
39114   1GNSKBKC6LR159327   GM          TAHOE                SACRAMENTO               CA
39115   1GNSKBKC6LR159344   GM          TAHOE                PHOENIX                  AZ
39116   1GNSKBKC6LR159361   GM          TAHOE                Atlanta                  GA
39117   1GNSKBKC6LR159604   GM          TAHOE                DENVER                   CO
39118   1GNSKBKC6LR238528   GM          TAHOE                FLORENCE                 SC
39119   1GNSKBKC6LR243325   GM          TAHOE                DETROIT                  MI
39120   1GNSKBKC6LR243678   GM          TAHOE                STERLING                 US
39121   1GNSKBKC6LR249500   GM          TAHOE                OMAHA                    NE
39122   1GNSKBKC6LR253871   GM          TAHOE                WHITE PLAINS             NY
39123   1GNSKBKC6LR254194   GM          TAHOE                SALT LAKE CITY           US
39124   1GNSKBKC6LR255149   GM          TAHOE                HARTFORD                 CT
39125   1GNSKBKC6LR255314   GM          TAHOE                CHICAGO                  IL
39126   1GNSKBKC6LR255927   GM          TAHOE                NEWARK                   NJ
39127   1GNSKBKC6LR255975   GM          TAHOE                Atlanta                  GA
39128   1GNSKBKC6LR259444   GM          TAHOE                BUFFALO                  NY
39129   1GNSKBKC6LR261520   GM          TAHOE                SYRACUSE                 NY
39130   1GNSKBKC6LR274218   GM          TAHOE                SEA TAC                  WA
39131   1GNSKBKC6LR274283   GM          TAHOE                ONTARIO                  CA
39132   1GNSKBKC6LR274333   GM          TAHOE                SEA TAC                  WA
39133   1GNSKBKC6LR274526   GM          TAHOE                SEA TAC                  WA
39134   1GNSKBKC6LR274543   GM          TAHOE                SEA TAC                  WA
39135   1GNSKBKC6LR274896   GM          TAHOE                SEA TAC                  WA
39136   1GNSKBKC6LR275126   GM          TAHOE                CORPUS CHRISTI           TX
39137   1GNSKBKC7HR192425   GM          TAHOE                PHOENIX                  AZ
39138   1GNSKBKC7JR196447   GM          TAHOE                Fresno                   CA
39139   1GNSKBKC7JR204725   GM          TAHOE                Mira Loma                CA
39140   1GNSKBKC7JR212744   GM          TAHOE                SACRAMENTO               CA
39141   1GNSKBKC7JR245355   GM          TAHOE                HILO                     HI
39142   1GNSKBKC7JR272619   GM          TAHOE                BURBANK                  CA
39143   1GNSKBKC7JR361039   GM          TAHOE                KENNER                   LA
39144   1GNSKBKC7JR371179   GM          TAHOE                EULESS                   TX
39145   1GNSKBKC7JR371408   GM          TAHOE                Greensboro               NC
39146   1GNSKBKC7JR372915   GM          TAHOE                HOUSTON                  TX
39147   1GNSKBKC7JR374499   GM          TAHOE                FRESNO                   CA
39148   1GNSKBKC7JR375829   GM          TAHOE                Davie                    FL
39149   1GNSKBKC7JR377323   GM          TAHOE                Bordentown               NJ
39150   1GNSKBKC7JR378195   GM          TAHOE                Vandalia                 OH
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39151   1GNSKBKC7JR379198   GM          TAHOE                SAN DIEGO                CA
39152   1GNSKBKC7JR379279   GM          TAHOE                Salt Lake City           UT
39153   1GNSKBKC7JR379590   GM          TAHOE                ROSEVILLE                MN
39154   1GNSKBKC7JR387799   GM          TAHOE                LAS VEGAS                NV
39155   1GNSKBKC7JR390038   GM          TAHOE                Ocoee                    FL
39156   1GNSKBKC7JR392193   GM          TAHOE                Smithtown                NY
39157   1GNSKBKC7JR392677   GM          TAHOE                Chicago                  IL
39158   1GNSKBKC7JR396406   GM          TAHOE                Rio Linda                CA
39159   1GNSKBKC7JR397927   GM          TAHOE                Sarasota                 FL
39160   1GNSKBKC7JR402706   GM          TAHOE                North Dighton            MA
39161   1GNSKBKC7KR159237   GM          TAHOE                DAYTONA BEACH            FL
39162   1GNSKBKC7KR159710   GM          TAHOE                TAMPA                    US
39163   1GNSKBKC7KR162851   GM          TAHOE                SALT LAKE CITY           US
39164   1GNSKBKC7KR163014   GM          TAHOE                LOS ANGELES              CA
39165   1GNSKBKC7KR166950   GM          TAHOE                College Park             GA
39166   1GNSKBKC7KR166978   GM          TAHOE                Ocoee                    FL
39167   1GNSKBKC7KR169444   GM          TAHOE                FORT LAUDERDALE          FL
39168   1GNSKBKC7KR169492   GM          TAHOE                WARWICK                  RI
39169   1GNSKBKC7KR169590   GM          TAHOE                Atlanta                  GA
39170   1GNSKBKC7KR170058   GM          TAHOE                Kent                     WA
39171   1GNSKBKC7KR170738   GM          TAHOE                Bordentown               NJ
39172   1GNSKBKC7KR171842   GM          TAHOE                Pasadena                 CA
39173   1GNSKBKC7KR173137   GM          TAHOE                KENNER                   LA
39174   1GNSKBKC7KR174997   GM          TAHOE                PITTSBURGH               PA
39175   1GNSKBKC7KR175213   GM          TAHOE                ST PAUL                  MN
39176   1GNSKBKC7KR175938   GM          TAHOE                ORLANDO                  FL
39177   1GNSKBKC7KR176877   GM          TAHOE                MEMPHIS                  TN
39178   1GNSKBKC7KR177172   GM          TAHOE                Davie                    FL
39179   1GNSKBKC7KR177446   GM          TAHOE                Des Moines               IA
39180   1GNSKBKC7KR198460   GM          TAHOE                MIAMI                    FL
39181   1GNSKBKC7KR200630   GM          TAHOE                WARWICK                  RI
39182   1GNSKBKC7KR273187   GM          TAHOE                SANTA ANA                CA
39183   1GNSKBKC7KR275652   GM          TAHOE                WEST COLUMBIA            SC
39184   1GNSKBKC7KR277109   GM          TAHOE                PHOENIX                  AZ
39185   1GNSKBKC7KR277773   GM          TAHOE                KANSAS CITY              MO
39186   1GNSKBKC7KR279877   GM          TAHOE                LOS ANGELES              CA
39187   1GNSKBKC7KR281225   GM          TAHOE                SANTA ANA                CA
39188   1GNSKBKC7KR281886   GM          TAHOE                Las Vegas                NV
39189   1GNSKBKC7KR283301   GM          TAHOE                KNOXVILLE                TN
39190   1GNSKBKC7KR283735   GM          TAHOE                Charleston               SC
39191   1GNSKBKC7KR283900   GM          TAHOE                Atlanta                  GA
39192   1GNSKBKC7KR289888   GM          TAHOE                CHICAGO                  IL
39193   1GNSKBKC7KR291303   GM          TAHOE                CLARKSVILLE              IN
39194   1GNSKBKC7KR302199   GM          TAHOE                SAINT PAUL               MN
39195   1GNSKBKC7KR303594   GM          TAHOE                Fontana                  CA
39196   1GNSKBKC7KR305250   GM          TAHOE                Fontana                  CA
39197   1GNSKBKC7KR307788   GM          TAHOE                KENNER                   LA
39198   1GNSKBKC7KR308598   GM          TAHOE                RONKONKOMA               NY
39199   1GNSKBKC7KR309752   GM          TAHOE                MEMPHIS                  TN
39200   1GNSKBKC7KR310013   GM          TAHOE                PHOENIX                  AZ
39201   1GNSKBKC7KR310724   GM          TAHOE                Atlanta                  GA
39202   1GNSKBKC7KR312926   GM          TAHOE                WARWICK                  RI
39203   1GNSKBKC7KR329998   GM          TAHOE                DENVER                   CO
39204   1GNSKBKC7KR330066   GM          TAHOE                BOSTON                   MA
39205   1GNSKBKC7KR330147   GM          TAHOE                DENVER                   CO
39206   1GNSKBKC7KR330312   GM          TAHOE                GRAND RAPIDS             MI
39207   1GNSKBKC7KR331704   GM          TAHOE                DENVER                   CO
39208   1GNSKBKC7KR332173   GM          TAHOE                Fresno                   CA
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39209   1GNSKBKC7KR332190   GM          TAHOE                DENVER                   CO
39210   1GNSKBKC7KR332643   GM          TAHOE                DENVER                   CO
39211   1GNSKBKC7KR332657   GM          TAHOE                Dallas                   TX
39212   1GNSKBKC7KR333131   GM          TAHOE                GYPSUM                   CO
39213   1GNSKBKC7KR333548   GM          TAHOE                DENVER                   CO
39214   1GNSKBKC7KR334165   GM          TAHOE                HOUSTON                  TX
39215   1GNSKBKC7KR335056   GM          TAHOE                SALT LAKE CITY           UT
39216   1GNSKBKC7KR335557   GM          TAHOE                DENVER                   CO
39217   1GNSKBKC7KR336918   GM          TAHOE                CHICAGO                  IL
39218   1GNSKBKC7KR340547   GM          TAHOE                Des Moines               IA
39219   1GNSKBKC7KR342475   GM          TAHOE                DETROIT                  MI
39220   1GNSKBKC7KR343173   GM          TAHOE                Fontana                  CA
39221   1GNSKBKC7KR369398   GM          TAHOE                LAKEWOOD                 WA
39222   1GNSKBKC7KR370938   GM          TAHOE                Philadelphia             PA
39223   1GNSKBKC7KR371569   GM          TAHOE                Louisville               KY
39224   1GNSKBKC7KR378912   GM          TAHOE                Smithtown                NY
39225   1GNSKBKC7KR378974   GM          TAHOE                Warr Acres               OK
39226   1GNSKBKC7KR381552   GM          TAHOE                DENVER                   CO
39227   1GNSKBKC7KR381700   GM          TAHOE                DENVER                   CO
39228   1GNSKBKC7KR382281   GM          TAHOE                SANTA CLARA              CA
39229   1GNSKBKC7KR382992   GM          TAHOE                Hebron                   KY
39230   1GNSKBKC7LR145517   GM          TAHOE                TAMPA                    US
39231   1GNSKBKC7LR145999   GM          TAHOE                CLEARWATER               FL
39232   1GNSKBKC7LR146084   GM          TAHOE                Hanover                  MD
39233   1GNSKBKC7LR146327   GM          TAHOE                RONKONKOMA               NY
39234   1GNSKBKC7LR146442   GM          TAHOE                CHARLOTTE                US
39235   1GNSKBKC7LR146571   GM          TAHOE                HOUSTON                  TX
39236   1GNSKBKC7LR146683   GM          TAHOE                WEST PALM BEACH          FL
39237   1GNSKBKC7LR147056   GM          TAHOE                CHARLOTTE                NC
39238   1GNSKBKC7LR147073   GM          TAHOE                DES MOINES               IA
39239   1GNSKBKC7LR147090   GM          TAHOE                SAN ANTONIO              TX
39240   1GNSKBKC7LR147106   GM          TAHOE                PHILADELPHIA             PA
39241   1GNSKBKC7LR147297   GM          TAHOE                Manheim                  PA
39242   1GNSKBKC7LR147414   GM          TAHOE                INGLEWOOD                CA
39243   1GNSKBKC7LR147994   GM          TAHOE                ORLANDO                  FL
39244   1GNSKBKC7LR148126   GM          TAHOE                SAINT LOUIS              MO
39245   1GNSKBKC7LR148479   GM          TAHOE                INDIANAPOLIS             IN
39246   1GNSKBKC7LR148806   GM          TAHOE                BURBANK                  CA
39247   1GNSKBKC7LR149020   GM          TAHOE                BOSTON                   MA
39248   1GNSKBKC7LR149129   GM          TAHOE                TAMPA                    US
39249   1GNSKBKC7LR149230   GM          TAHOE                WEST PALM BEACH          FL
39250   1GNSKBKC7LR149468   GM          TAHOE                FORT MYERS               FL
39251   1GNSKBKC7LR149759   GM          TAHOE                West Palm Beach          FL
39252   1GNSKBKC7LR149793   GM          TAHOE                FORT LAUDERDALE          FL
39253   1GNSKBKC7LR150149   GM          TAHOE                TAMPA                    FL
39254   1GNSKBKC7LR150815   GM          TAHOE                SAN ANTONIO              TX
39255   1GNSKBKC7LR151124   GM          TAHOE                HOUSTON                  TX
39256   1GNSKBKC7LR151172   GM          TAHOE                JACKSONVILLE             FL
39257   1GNSKBKC7LR151429   GM          TAHOE                SAN ANTONIO              TX
39258   1GNSKBKC7LR151480   GM          TAHOE                STERLING                 VA
39259   1GNSKBKC7LR151897   GM          TAHOE                NORFOLK                  VA
39260   1GNSKBKC7LR152127   GM          TAHOE                PHOENIX                  AZ
39261   1GNSKBKC7LR153424   GM          TAHOE                DALLAS                   TX
39262   1GNSKBKC7LR153701   GM          TAHOE                HOUSTON                  TX
39263   1GNSKBKC7LR153827   GM          TAHOE                PHOENIX                  AZ
39264   1GNSKBKC7LR153861   GM          TAHOE                HOUSTON                  TX
39265   1GNSKBKC7LR154072   GM          TAHOE                NORFOLK                  VA
39266   1GNSKBKC7LR154119   GM          TAHOE                PHOENIX                  AZ
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39267   1GNSKBKC7LR154542   GM          TAHOE                SAN DIEGO                CA
39268   1GNSKBKC7LR154783   GM          TAHOE                DALLAS                   TX
39269   1GNSKBKC7LR154802   GM          TAHOE                HOUSTON                  TX
39270   1GNSKBKC7LR154928   GM          TAHOE                SAINT LOUIS              MO
39271   1GNSKBKC7LR154993   GM          TAHOE                KANSAS CITY              MO
39272   1GNSKBKC7LR155903   GM          TAHOE                PHOENIX                  AZ
39273   1GNSKBKC7LR156002   GM          TAHOE                JACKSON                  MS
39274   1GNSKBKC7LR156047   GM          TAHOE                TUCSON                   AZ
39275   1GNSKBKC7LR156145   GM          TAHOE                LAS VEGAS                NV
39276   1GNSKBKC7LR156405   GM          TAHOE                PHOENIX                  AZ
39277   1GNSKBKC7LR156520   GM          TAHOE                LOUISVILLE               KY
39278   1GNSKBKC7LR157084   GM          TAHOE                SALT LAKE CITY           US
39279   1GNSKBKC7LR157313   GM          TAHOE                LAS VEGAS                NV
39280   1GNSKBKC7LR157652   GM          TAHOE                Reno                     NV
39281   1GNSKBKC7LR157845   GM          TAHOE                HOUSTON                  TX
39282   1GNSKBKC7LR158266   GM          TAHOE                GYPSUM                   CO
39283   1GNSKBKC7LR158560   GM          TAHOE                KANSAS CITY              MO
39284   1GNSKBKC7LR158705   GM          TAHOE                PHOENIX                  AZ
39285   1GNSKBKC7LR158719   GM          TAHOE                AUSTIN                   TX
39286   1GNSKBKC7LR159286   GM          TAHOE                LOS ANGELES              CA
39287   1GNSKBKC7LR159370   GM          TAHOE                DALLAS                   TX
39288   1GNSKBKC7LR169199   GM          TAHOE                HOUSTON                  TX
39289   1GNSKBKC7LR203416   GM          TAHOE                LAS VEGAS                NV
39290   1GNSKBKC7LR243205   GM          TAHOE                DETROIT                  MI
39291   1GNSKBKC7LR243656   GM          TAHOE                DETROIT                  MI
39292   1GNSKBKC7LR247657   GM          TAHOE                DETROIT                  MI
39293   1GNSKBKC7LR247688   GM          TAHOE                DETROIT                  MI
39294   1GNSKBKC7LR252972   GM          TAHOE                INDIANAPOLIS             IN
39295   1GNSKBKC7LR253829   GM          TAHOE                Des Moines               IA
39296   1GNSKBKC7LR254978   GM          TAHOE                KANSAS CITY              MO
39297   1GNSKBKC7LR254995   GM          TAHOE                Atlanta                  GA
39298   1GNSKBKC7LR255192   GM          TAHOE                ATLANTA                  GA
39299   1GNSKBKC7LR255662   GM          TAHOE                MOBILE                   A
39300   1GNSKBKC7LR256133   GM          TAHOE                SYRACUSE                 NY
39301   1GNSKBKC7LR256326   GM          TAHOE                BOSTON                   MA
39302   1GNSKBKC7LR257380   GM          TAHOE                Dallas                   TX
39303   1GNSKBKC7LR258920   GM          TAHOE                ATLANTA                  GA
39304   1GNSKBKC7LR259260   GM          TAHOE                CHICAGO                  IL
39305   1GNSKBKC7LR266919   GM          TAHOE                PROVIDENCE               RI
39306   1GNSKBKC7LR272882   GM          TAHOE                BURLINGAME               CA
39307   1GNSKBKC7LR273904   GM          TAHOE                SEATAC                   WA
39308   1GNSKBKC7LR274051   GM          TAHOE                SACRAMENTO               CA
39309   1GNSKBKC7LR274289   GM          TAHOE                SEA TAC                  WA
39310   1GNSKBKC7LR280335   GM          TAHOE                Parkville                MD
39311   1GNSKBKC7LR289973   GM          TAHOE                Irving                   TX
39312   1GNSKBKC8JR194495   GM          TAHOE                Hayward                  CA
39313   1GNSKBKC8JR196120   GM          TAHOE                Kahului                  HI
39314   1GNSKBKC8JR247731   GM          TAHOE                HILO                     HI
39315   1GNSKBKC8JR270541   GM          TAHOE                SAN FRANCISCO            CA
39316   1GNSKBKC8JR274380   GM          TAHOE                NEW YORK CITY            NY
39317   1GNSKBKC8JR364130   GM          TAHOE                SAN DIEGO                CA
39318   1GNSKBKC8JR370414   GM          TAHOE                Portland                 ME
39319   1GNSKBKC8JR370476   GM          TAHOE                Albuquerque              NM
39320   1GNSKBKC8JR376732   GM          TAHOE                North Las Vegas          NV
39321   1GNSKBKC8JR378657   GM          TAHOE                DENVER                   CO
39322   1GNSKBKC8JR379310   GM          TAHOE                DENVER                   CO
39323   1GNSKBKC8JR382658   GM          TAHOE                FORT LAUDERDALE          FL
39324   1GNSKBKC8JR382868   GM          TAHOE                Riverside                CA
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39325   1GNSKBKC8JR383566   GM          TAHOE                Riverside                CA
39326   1GNSKBKC8JR385639   GM          TAHOE                Elkridge                 MD
39327   1GNSKBKC8JR387634   GM          TAHOE                Fontana                  CA
39328   1GNSKBKC8JR395930   GM          TAHOE                North Dighton            MA
39329   1GNSKBKC8JR399346   GM          TAHOE                DALLAS                   TX
39330   1GNSKBKC8JR400365   GM          TAHOE                North Las Vegas          NV
39331   1GNSKBKC8JR403847   GM          TAHOE                SANTA ANA                CA
39332   1GNSKBKC8JR404660   GM          TAHOE                SAINT PAUL               MN
39333   1GNSKBKC8JR404724   GM          TAHOE                Davie                    FL
39334   1GNSKBKC8JR404805   GM          TAHOE                MILWAUKEE                WI
39335   1GNSKBKC8KR160851   GM          TAHOE                MEDINA                   OH
39336   1GNSKBKC8KR163118   GM          TAHOE                Norfolk                  VA
39337   1GNSKBKC8KR163443   GM          TAHOE                Florissant               MO
39338   1GNSKBKC8KR164463   GM          TAHOE                Ft. Myers                FL
39339   1GNSKBKC8KR164799   GM          TAHOE                Ronkonkoma               NY
39340   1GNSKBKC8KR164804   GM          TAHOE                Buffalo                  NY
39341   1GNSKBKC8KR166245   GM          TAHOE                Manheim                  PA
39342   1GNSKBKC8KR166892   GM          TAHOE                Manheim                  PA
39343   1GNSKBKC8KR167587   GM          TAHOE                JACKSON                  MS
39344   1GNSKBKC8KR168075   GM          TAHOE                PHOENIX                  AZ
39345   1GNSKBKC8KR171736   GM          TAHOE                Statesville              NC
39346   1GNSKBKC8KR273487   GM          TAHOE                North Dighton            MA
39347   1GNSKBKC8KR273490   GM          TAHOE                Jacksonville             FL
39348   1GNSKBKC8KR274204   GM          TAHOE                PALM SPRINGS             CA
39349   1GNSKBKC8KR276728   GM          TAHOE                ATHENS                   GA
39350   1GNSKBKC8KR276826   GM          TAHOE                ORLANDO                  FL
39351   1GNSKBKC8KR277314   GM          TAHOE                ORLANDO                  FL
39352   1GNSKBKC8KR278947   GM          TAHOE                Los Angeles              CA
39353   1GNSKBKC8KR279659   GM          TAHOE                BOSTON                   MA
39354   1GNSKBKC8KR280049   GM          TAHOE                KANSAS CITY              MO
39355   1GNSKBKC8KR280200   GM          TAHOE                WARWICK                  RI
39356   1GNSKBKC8KR281508   GM          TAHOE                LOS ANGELES              CA
39357   1GNSKBKC8KR282108   GM          TAHOE                ST Paul                  MN
39358   1GNSKBKC8KR284098   GM          TAHOE                Omaha                    NE
39359   1GNSKBKC8KR284294   GM          TAHOE                TAMPA                    FL
39360   1GNSKBKC8KR284487   GM          TAHOE                CHICAGO                  IL
39361   1GNSKBKC8KR287342   GM          TAHOE                MIAMI                    FL
39362   1GNSKBKC8KR289236   GM          TAHOE                BOSTON                   MA
39363   1GNSKBKC8KR290127   GM          TAHOE                Columbia                 MD
39364   1GNSKBKC8KR300039   GM          TAHOE                OAKLAND                  CA
39365   1GNSKBKC8KR302972   GM          TAHOE                Carleton                 MI
39366   1GNSKBKC8KR305208   GM          TAHOE                BURLINGAME               CA
39367   1GNSKBKC8KR305953   GM          TAHOE                Aurora                   CO
39368   1GNSKBKC8KR306844   GM          TAHOE                JACKSON                  MS
39369   1GNSKBKC8KR308741   GM          TAHOE                OKLAHOMA CITY            OK
39370   1GNSKBKC8KR308884   GM          TAHOE                KENNER                   LA
39371   1GNSKBKC8KR309176   GM          TAHOE                PHILADELPHIA             US
39372   1GNSKBKC8KR309727   GM          TAHOE                Manheim                  PA
39373   1GNSKBKC8KR309744   GM          TAHOE                PHOENIX                  AZ
39374   1GNSKBKC8KR314006   GM          TAHOE                BIRMINGHAM               AL
39375   1GNSKBKC8KR329587   GM          TAHOE                Brighton                 CO
39376   1GNSKBKC8KR329704   GM          TAHOE                PHOENIX                  AZ
39377   1GNSKBKC8KR331257   GM          TAHOE                DENVER                   CO
39378   1GNSKBKC8KR331274   GM          TAHOE                GRAND RAPIDS             MI
39379   1GNSKBKC8KR331405   GM          TAHOE                Wichita                  KS
39380   1GNSKBKC8KR332148   GM          TAHOE                Warr Acres               OK
39381   1GNSKBKC8KR332327   GM          TAHOE                DALLAS                   TX
39382   1GNSKBKC8KR332926   GM          TAHOE                STERLING                 VA
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39383   1GNSKBKC8KR333526   GM          TAHOE                DENVER                   CO
39384   1GNSKBKC8KR334658   GM          TAHOE                SALT LAKE CITY           US
39385   1GNSKBKC8KR335423   GM          TAHOE                DENVER                   CO
39386   1GNSKBKC8KR335633   GM          TAHOE                DENVER                   CO
39387   1GNSKBKC8KR339696   GM          TAHOE                WARWICK                  RI
39388   1GNSKBKC8KR341111   GM          TAHOE                Elkridge                 MD
39389   1GNSKBKC8KR342422   GM          TAHOE                North Dighton            MA
39390   1GNSKBKC8KR343649   GM          TAHOE                SALT LAKE CITY           US
39391   1GNSKBKC8KR344882   GM          TAHOE                SALT LAKE CITY           UT
39392   1GNSKBKC8KR345823   GM          TAHOE                Fontana                  CA
39393   1GNSKBKC8KR361987   GM          TAHOE                PORTLAND                 ME
39394   1GNSKBKC8KR367353   GM          TAHOE                PORTLAND                 ME
39395   1GNSKBKC8KR373458   GM          TAHOE                Denver                   CO
39396   1GNSKBKC8KR373802   GM          TAHOE                DES MOINES               IA
39397   1GNSKBKC8KR375713   GM          TAHOE                CHICAGO                  IL
39398   1GNSKBKC8KR379258   GM          TAHOE                KANSAS CITY              MO
39399   1GNSKBKC8KR391815   GM          TAHOE                DETROIT                  MI
39400   1GNSKBKC8LR145641   GM          TAHOE                TAMPA                    FL
39401   1GNSKBKC8LR145977   GM          TAHOE                Miami                    FL
39402   1GNSKBKC8LR146692   GM          TAHOE                Tampa                    FL
39403   1GNSKBKC8LR147065   GM          TAHOE                TAMPA                    FL
39404   1GNSKBKC8LR147079   GM          TAHOE                MILWAUKEE                WI
39405   1GNSKBKC8LR147292   GM          TAHOE                ORLANDO                  FL
39406   1GNSKBKC8LR147308   GM          TAHOE                Miami                    FL
39407   1GNSKBKC8LR147485   GM          TAHOE                WEST PALM BEACH          FL
39408   1GNSKBKC8LR148149   GM          TAHOE                FORT MYERS               FL
39409   1GNSKBKC8LR148202   GM          TAHOE                HOUSTON                  TX
39410   1GNSKBKC8LR148457   GM          TAHOE                NEW BERN                 NC
39411   1GNSKBKC8LR148488   GM          TAHOE                FORT LAUDERDALE          FL
39412   1GNSKBKC8LR149124   GM          TAHOE                FORT MYERS               FL
39413   1GNSKBKC8LR149138   GM          TAHOE                GYPSUM                   CO
39414   1GNSKBKC8LR149155   GM          TAHOE                HOUSTON IAH AP           TX
39415   1GNSKBKC8LR149219   GM          TAHOE                DALLAS                   TX
39416   1GNSKBKC8LR149494   GM          TAHOE                WEST PALM BEACH          FL
39417   1GNSKBKC8LR149768   GM          TAHOE                TAMPA                    FL
39418   1GNSKBKC8LR149785   GM          TAHOE                MIAMI                    FL
39419   1GNSKBKC8LR150287   GM          TAHOE                DENVER                   CO
39420   1GNSKBKC8LR150547   GM          TAHOE                FORT MYERS               FL
39421   1GNSKBKC8LR150550   GM          TAHOE                MIAMI                    FL
39422   1GNSKBKC8LR150788   GM          TAHOE                MIAMI                    FL
39423   1GNSKBKC8LR151259   GM          TAHOE                FORT LAUDERDALE          FL
39424   1GNSKBKC8LR151357   GM          TAHOE                TUCSON                   AZ
39425   1GNSKBKC8LR151438   GM          TAHOE                SAN ANTONIO              TX
39426   1GNSKBKC8LR151455   GM          TAHOE                TALLAHASSEE              F
39427   1GNSKBKC8LR151763   GM          TAHOE                JAMAICA                  NY
39428   1GNSKBKC8LR151942   GM          TAHOE                EL PASO                  TX
39429   1GNSKBKC8LR152041   GM          TAHOE                PHOENIX                  AZ
39430   1GNSKBKC8LR152704   GM          TAHOE                STERLING                 VA
39431   1GNSKBKC8LR152878   GM          TAHOE                DENVER                   CO
39432   1GNSKBKC8LR152962   GM          TAHOE                FORT LAUDERDALE          FL
39433   1GNSKBKC8LR152993   GM          TAHOE                INDIANAPOLIS             IN
39434   1GNSKBKC8LR153139   GM          TAHOE                DENVER                   CO
39435   1GNSKBKC8LR153190   GM          TAHOE                NEW BERN                 NC
39436   1GNSKBKC8LR153786   GM          TAHOE                SAINT LOUIS              MO
39437   1GNSKBKC8LR153948   GM          TAHOE                SAN FRANCISCO            CA
39438   1GNSKBKC8LR154078   GM          TAHOE                Hebron                   KY
39439   1GNSKBKC8LR154193   GM          TAHOE                HOUSTON                  TX
39440   1GNSKBKC8LR154209   GM          TAHOE                STOCKTON                 CA
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39441   1GNSKBKC8LR154338   GM          TAHOE                PHOENIX                  AZ
39442   1GNSKBKC8LR154422   GM          TAHOE                PHOENIX                  AZ
39443   1GNSKBKC8LR154470   GM          TAHOE                RALIEGH                  NC
39444   1GNSKBKC8LR154484   GM          TAHOE                Irving                   TX
39445   1GNSKBKC8LR154758   GM          TAHOE                PHOENIX                  AZ
39446   1GNSKBKC8LR154792   GM          TAHOE                COLLEGE PARK             GA
39447   1GNSKBKC8LR154856   GM          TAHOE                SANTA FE                 NM
39448   1GNSKBKC8LR154906   GM          TAHOE                BURBANK                  CA
39449   1GNSKBKC8LR154999   GM          TAHOE                LOS ANGELES              CA
39450   1GNSKBKC8LR155585   GM          TAHOE                TUCSON                   AZ
39451   1GNSKBKC8LR155733   GM          TAHOE                PHOENIX                  AZ
39452   1GNSKBKC8LR156235   GM          TAHOE                PHOENIX                  AZ
39453   1GNSKBKC8LR156347   GM          TAHOE                ROSWELL                  NM
39454   1GNSKBKC8LR156476   GM          TAHOE                JACKSON                  MS
39455   1GNSKBKC8LR157045   GM          TAHOE                PHOENIX                  AZ
39456   1GNSKBKC8LR157093   GM          TAHOE                ROY                      UT
39457   1GNSKBKC8LR157370   GM          TAHOE                PALM SPRINGS             CA
39458   1GNSKBKC8LR157871   GM          TAHOE                TUCSON                   AZ
39459   1GNSKBKC8LR157921   GM          TAHOE                SEATAC                   WA
39460   1GNSKBKC8LR158079   GM          TAHOE                TUCSON                   AZ
39461   1GNSKBKC8LR158227   GM          TAHOE                SAVANNAH                 GA
39462   1GNSKBKC8LR158258   GM          TAHOE                SAINT LOUIS              MO
39463   1GNSKBKC8LR158583   GM          TAHOE                CHICAGO                  IL
39464   1GNSKBKC8LR158597   GM          TAHOE                PHOENIX                  AZ
39465   1GNSKBKC8LR158809   GM          TAHOE                LAS VEGAS                NV
39466   1GNSKBKC8LR158860   GM          TAHOE                PHOENIX                  AZ
39467   1GNSKBKC8LR159166   GM          TAHOE                PHOENIX                  AZ
39468   1GNSKBKC8LR159183   GM          TAHOE                INDIANAPOLIS             IN
39469   1GNSKBKC8LR159345   GM          TAHOE                SACRAMENTO               CA
39470   1GNSKBKC8LR167784   GM          TAHOE                HOUSTON                  TX
39471   1GNSKBKC8LR170183   GM          TAHOE                PHILADELPHIA             PA
39472   1GNSKBKC8LR232584   GM          TAHOE                BOSTON                   MA
39473   1GNSKBKC8LR234903   GM          TAHOE                PHILA                    PA
39474   1GNSKBKC8LR242791   GM          TAHOE                DETROIT                  MI
39475   1GNSKBKC8LR243729   GM          TAHOE                STERLING                 VA
39476   1GNSKBKC8LR246050   GM          TAHOE                DETROIT                  MI
39477   1GNSKBKC8LR247683   GM          TAHOE                HOUSTON                  TX
39478   1GNSKBKC8LR253838   GM          TAHOE                CHICAGO                  IL
39479   1GNSKBKC8LR253841   GM          TAHOE                ORLANDO                  FL
39480   1GNSKBKC8LR254245   GM          TAHOE                INDIANAPOLIS             IN
39481   1GNSKBKC8LR254939   GM          TAHOE                HOUSTON                  TX
39482   1GNSKBKC8LR255041   GM          TAHOE                KANSAS CITY              MO
39483   1GNSKBKC8LR255489   GM          TAHOE                KENNER                   LA
39484   1GNSKBKC8LR256254   GM          TAHOE                DALLAS                   TX
39485   1GNSKBKC8LR257484   GM          TAHOE                OMAHA                    NE
39486   1GNSKBKC8LR259591   GM          TAHOE                DFW AIRPORT              TX
39487   1GNSKBKC8LR261017   GM          TAHOE                OKLAHOMA CITY            OK
39488   1GNSKBKC8LR262619   GM          TAHOE                GLASSBORO                NJ
39489   1GNSKBKC8LR267593   GM          TAHOE                WARWICK                  RI
39490   1GNSKBKC8LR268338   GM          TAHOE                BOSTON                   MA
39491   1GNSKBKC8LR268386   GM          TAHOE                SAN FRANCISCO            CA
39492   1GNSKBKC8LR273765   GM          TAHOE                SEA TAC                  WA
39493   1GNSKBKC8LR273796   GM          TAHOE                SEA TAC                  WA
39494   1GNSKBKC8LR274043   GM          TAHOE                SEA TAC                  WA
39495   1GNSKBKC8LR275340   GM          TAHOE                CHARLOTTE                NC
39496   1GNSKBKC8LR275645   GM          TAHOE                PROVIDENCE               RI
39497   1GNSKBKC9JR195347   GM          TAHOE                Hayward                  CA
39498   1GNSKBKC9JR196787   GM          TAHOE                HILO                     HI
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39499   1GNSKBKC9JR196806   GM          TAHOE                HILO                     HI
39500   1GNSKBKC9JR196952   GM          TAHOE                HILO                     HI
39501   1GNSKBKC9JR271407   GM          TAHOE                SAN FRANCISCO            CA
39502   1GNSKBKC9JR272069   GM          TAHOE                HILO                     HI
39503   1GNSKBKC9JR377789   GM          TAHOE                BOSTON                   MA
39504   1GNSKBKC9JR377811   GM          TAHOE                Coraopolis               PA
39505   1GNSKBKC9JR378005   GM          TAHOE                Detroit                  MI
39506   1GNSKBKC9JR379266   GM          TAHOE                SHREVEPORT               LA
39507   1GNSKBKC9JR379798   GM          TAHOE                BIRMINGHAM               AL
39508   1GNSKBKC9JR390073   GM          TAHOE                Hayward                  CA
39509   1GNSKBKC9JR391627   GM          TAHOE                ONTARIO                  CA
39510   1GNSKBKC9JR392549   GM          TAHOE                Ft. Myers                FL
39511   1GNSKBKC9JR394303   GM          TAHOE                SALT LAKE CITY           UT
39512   1GNSKBKC9JR395936   GM          TAHOE                ORLANDO                  FL
39513   1GNSKBKC9JR399386   GM          TAHOE                DENVER                   CO
39514   1GNSKBKC9JR399579   GM          TAHOE                FRESNO                   CA
39515   1GNSKBKC9JR402559   GM          TAHOE                North Dighton            MA
39516   1GNSKBKC9KR158669   GM          TAHOE                LAS VEGAS                NV
39517   1GNSKBKC9KR158977   GM          TAHOE                ORLANDO                  FL
39518   1GNSKBKC9KR163077   GM          TAHOE                MIAMI                    FL
39519   1GNSKBKC9KR163192   GM          TAHOE                NEW BERN                 NC
39520   1GNSKBKC9KR164679   GM          TAHOE                Riverside                CA
39521   1GNSKBKC9KR164911   GM          TAHOE                Woodhaven                MI
39522   1GNSKBKC9KR166478   GM          TAHOE                Denver                   CO
39523   1GNSKBKC9KR167615   GM          TAHOE                DAYTONA BEACH            FL
39524   1GNSKBKC9KR169882   GM          TAHOE                Memphis                  TN
39525   1GNSKBKC9KR170613   GM          TAHOE                Estero                   FL
39526   1GNSKBKC9KR176508   GM          TAHOE                WICHITA FALLS            TX
39527   1GNSKBKC9KR178257   GM          TAHOE                Manheim                  PA
39528   1GNSKBKC9KR194653   GM          TAHOE                DENVER                   CO
39529   1GNSKBKC9KR215324   GM          TAHOE                COLUMBUS                 OH
39530   1GNSKBKC9KR276723   GM          TAHOE                WEST PALM BEACH          FL
39531   1GNSKBKC9KR278391   GM          TAHOE                Bordentown               NJ
39532   1GNSKBKC9KR279296   GM          TAHOE                PHOENIX                  AZ
39533   1GNSKBKC9KR280688   GM          TAHOE                Clarksville              IN
39534   1GNSKBKC9KR280738   GM          TAHOE                West Bountiful           UT
39535   1GNSKBKC9KR281419   GM          TAHOE                SAINT PAUL               MN
39536   1GNSKBKC9KR282764   GM          TAHOE                RICHMOND                 VA
39537   1GNSKBKC9KR283493   GM          TAHOE                COLLEGE PARK             GA
39538   1GNSKBKC9KR285373   GM          TAHOE                Costa Mesa               CA
39539   1GNSKBKC9KR285664   GM          TAHOE                SAINT LOUIS              MO
39540   1GNSKBKC9KR286006   GM          TAHOE                BOSTON                   MA
39541   1GNSKBKC9KR286314   GM          TAHOE                PENSACOLA                FL
39542   1GNSKBKC9KR287592   GM          TAHOE                ALBANY                   NY
39543   1GNSKBKC9KR287818   GM          TAHOE                DETROIT                  MI
39544   1GNSKBKC9KR289715   GM          TAHOE                HOUSTON                  TX
39545   1GNSKBKC9KR291402   GM          TAHOE                Wilmington               NC
39546   1GNSKBKC9KR291917   GM          TAHOE                PHILADELPHIA             PA
39547   1GNSKBKC9KR291979   GM          TAHOE                BOSTON                   MA
39548   1GNSKBKC9KR292128   GM          TAHOE                Newport Beach            CA
39549   1GNSKBKC9KR299225   GM          TAHOE                SYRACUSE                 NY
39550   1GNSKBKC9KR299662   GM          TAHOE                LOS ANGELES              CA
39551   1GNSKBKC9KR304312   GM          TAHOE                Manheim                  PA
39552   1GNSKBKC9KR305220   GM          TAHOE                SAN DIEGO                CA
39553   1GNSKBKC9KR306089   GM          TAHOE                DALLAS                   TX
39554   1GNSKBKC9KR306657   GM          TAHOE                Charleston               SC
39555   1GNSKBKC9KR307582   GM          TAHOE                KNOXVILLE                TN
39556   1GNSKBKC9KR308487   GM          TAHOE                Manheim                  PA
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39557   1GNSKBKC9KR308750   GM          TAHOE                SAINT PAUL               MN
39558   1GNSKBKC9KR308909   GM          TAHOE                BALTIMORE                MD
39559   1GNSKBKC9KR308926   GM          TAHOE                Chicago                  IL
39560   1GNSKBKC9KR309137   GM          TAHOE                DES MOINES               IA
39561   1GNSKBKC9KR309834   GM          TAHOE                Ronkonkoma               NY
39562   1GNSKBKC9KR310739   GM          TAHOE                MILWAUKEE                WI
39563   1GNSKBKC9KR311020   GM          TAHOE                SAINT PAUL               MN
39564   1GNSKBKC9KR313057   GM          TAHOE                Hapeville                GA
39565   1GNSKBKC9KR313530   GM          TAHOE                Louisville               KY
39566   1GNSKBKC9KR314516   GM          TAHOE                SAINT LOUIS              MO
39567   1GNSKBKC9KR329050   GM          TAHOE                SAN JOSE                 CA
39568   1GNSKBKC9KR329193   GM          TAHOE                SAINT PAUL               MN
39569   1GNSKBKC9KR331767   GM          TAHOE                SALT LAKE CITY           UT
39570   1GNSKBKC9KR332708   GM          TAHOE                PHOENIX                  AZ
39571   1GNSKBKC9KR333034   GM          TAHOE                GYPSUM                   CO
39572   1GNSKBKC9KR333535   GM          TAHOE                DENVER                   CO
39573   1GNSKBKC9KR333714   GM          TAHOE                GYPSUM                   CO
39574   1GNSKBKC9KR334197   GM          TAHOE                DENVER                   CO
39575   1GNSKBKC9KR334958   GM          TAHOE                DENVER                   CO
39576   1GNSKBKC9KR336239   GM          TAHOE                ROCHESTER                NY
39577   1GNSKBKC9KR339657   GM          TAHOE                GRAND RAPIDS             MI
39578   1GNSKBKC9KR340243   GM          TAHOE                BIRMINGHAN               AL
39579   1GNSKBKC9KR341425   GM          TAHOE                Cranberry Towns          PA
39580   1GNSKBKC9KR343627   GM          TAHOE                Houston                  TX
39581   1GNSKBKC9KR345135   GM          TAHOE                Jamaica                  NY
39582   1GNSKBKC9KR345300   GM          TAHOE                Kent                     WA
39583   1GNSKBKC9KR345667   GM          TAHOE                WICHITA FALLS            TX
39584   1GNSKBKC9KR347421   GM          TAHOE                Live Oak                 TX
39585   1GNSKBKC9KR360993   GM          TAHOE                Newark                   NJ
39586   1GNSKBKC9KR363022   GM          TAHOE                SHREVEPORT               LA
39587   1GNSKBKC9KR364980   GM          TAHOE                Rio Linda                CA
39588   1GNSKBKC9KR367684   GM          TAHOE                GRAND RAPIDS             MI
39589   1GNSKBKC9KR371881   GM          TAHOE                CLEVELAND                OH
39590   1GNSKBKC9KR373386   GM          TAHOE                MILWAUKEE                WI
39591   1GNSKBKC9KR373873   GM          TAHOE                Jamaica                  NY
39592   1GNSKBKC9KR374263   GM          TAHOE                DALLAS                   TX
39593   1GNSKBKC9KR374344   GM          TAHOE                Tampa                    FL
39594   1GNSKBKC9KR378474   GM          TAHOE                Houston                  TX
39595   1GNSKBKC9KR378720   GM          TAHOE                Scottsdale               AZ
39596   1GNSKBKC9KR379818   GM          TAHOE                DENVER                   CO
39597   1GNSKBKC9KR386493   GM          TAHOE                SAN FRANCISCO            CA
39598   1GNSKBKC9LR145034   GM          TAHOE                MIAMI                    FL
39599   1GNSKBKC9LR145938   GM          TAHOE                FORT MYERS               FL
39600   1GNSKBKC9LR147124   GM          TAHOE                HOUSTON                  TX
39601   1GNSKBKC9LR147592   GM          TAHOE                DALLAS                   TX
39602   1GNSKBKC9LR148354   GM          TAHOE                TAMPA                    FL
39603   1GNSKBKC9LR148533   GM          TAHOE                WEST PALM BEACH          FL
39604   1GNSKBKC9LR148774   GM          TAHOE                HOUSTON                  TX
39605   1GNSKBKC9LR148791   GM          TAHOE                DALLAS                   TX
39606   1GNSKBKC9LR148824   GM          TAHOE                ORLANDO                  FL
39607   1GNSKBKC9LR148841   GM          TAHOE                FORT LAUDERDALE          FL
39608   1GNSKBKC9LR148905   GM          TAHOE                HOUSTON                  TX
39609   1GNSKBKC9LR149908   GM          TAHOE                HOUSTON                  TX
39610   1GNSKBKC9LR150220   GM          TAHOE                SALT LAKE CITY           UT
39611   1GNSKBKC9LR150427   GM          TAHOE                SAN ANTONIO              TX
39612   1GNSKBKC9LR150749   GM          TAHOE                FORT MYERS               FL
39613   1GNSKBKC9LR150766   GM          TAHOE                MIAMI                    FL
39614   1GNSKBKC9LR150797   GM          TAHOE                GREENVILLE               NC
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39615   1GNSKBKC9LR151089   GM          TAHOE                FORT LAUDERDALE          FL
39616   1GNSKBKC9LR151156   GM          TAHOE                ROCHESTER                NY
39617   1GNSKBKC9LR151187   GM          TAHOE                WEST COLUMBIA            SC
39618   1GNSKBKC9LR151738   GM          TAHOE                SARASOTA                 FL
39619   1GNSKBKC9LR152212   GM          TAHOE                PHOENIX                  AZ
39620   1GNSKBKC9LR152582   GM          TAHOE                LOS ANGELES              CA
39621   1GNSKBKC9LR152646   GM          TAHOE                TUCSON                   AZ
39622   1GNSKBKC9LR153053   GM          TAHOE                HOUSTON                  TX
39623   1GNSKBKC9LR153117   GM          TAHOE                PHOENIX                  AZ
39624   1GNSKBKC9LR153683   GM          TAHOE                PHOENIX                  AZ
39625   1GNSKBKC9LR154106   GM          TAHOE                PALM SPRINGS             CA
39626   1GNSKBKC9LR154140   GM          TAHOE                CHICAGO                  IL
39627   1GNSKBKC9LR154381   GM          TAHOE                DALLAS                   TX
39628   1GNSKBKC9LR154431   GM          TAHOE                SALT LAKE CITY           UT
39629   1GNSKBKC9LR154669   GM          TAHOE                PHOENIX                  AZ
39630   1GNSKBKC9LR155191   GM          TAHOE                Miami                    FL
39631   1GNSKBKC9LR155353   GM          TAHOE                HOUSTON                  TX
39632   1GNSKBKC9LR156230   GM          TAHOE                MIAMI                    FL
39633   1GNSKBKC9LR156325   GM          TAHOE                WEST PALM BEACH          FL
39634   1GNSKBKC9LR156597   GM          TAHOE                HOUSTON                  TX
39635   1GNSKBKC9LR157085   GM          TAHOE                Phoenix                  AZ
39636   1GNSKBKC9LR157359   GM          TAHOE                PHOENIX                  AZ
39637   1GNSKBKC9LR157409   GM          TAHOE                TUCSON                   AZ
39638   1GNSKBKC9LR157510   GM          TAHOE                Reno                     NV
39639   1GNSKBKC9LR157751   GM          TAHOE                TAMPA                    FL
39640   1GNSKBKC9LR157894   GM          TAHOE                FRESNO                   CA
39641   1GNSKBKC9LR157927   GM          TAHOE                DENVER                   CO
39642   1GNSKBKC9LR158222   GM          TAHOE                TAMPA                    FL
39643   1GNSKBKC9LR158561   GM          TAHOE                PORTLAND                 ME
39644   1GNSKBKC9LR158611   GM          TAHOE                CHICAGO                  IL
39645   1GNSKBKC9LR158656   GM          TAHOE                TUCSON                   AZ
39646   1GNSKBKC9LR159340   GM          TAHOE                DALLAS                   TX
39647   1GNSKBKC9LR234862   GM          TAHOE                LOUISVILLE               KY
39648   1GNSKBKC9LR238569   GM          TAHOE                RICHMOND                 VA
39649   1GNSKBKC9LR238832   GM          TAHOE                SALT LAKE CITY           UT
39650   1GNSKBKC9LR243707   GM          TAHOE                DETROIT                  MI
39651   1GNSKBKC9LR244226   GM          TAHOE                DETROIT                  MI
39652   1GNSKBKC9LR246025   GM          TAHOE                DETROIT                  MI
39653   1GNSKBKC9LR246073   GM          TAHOE                CHICAGO                  IL
39654   1GNSKBKC9LR254397   GM          TAHOE                CHICAGO                  IL
39655   1GNSKBKC9LR255226   GM          TAHOE                FORT MYERS               FL
39656   1GNSKBKC9LR256098   GM          TAHOE                DALLAS                   TX
39657   1GNSKBKC9LR257171   GM          TAHOE                CHICAGO                  IL
39658   1GNSKBKC9LR257204   GM          TAHOE                Atlanta                  GA
39659   1GNSKBKC9LR257493   GM          TAHOE                SAINT LOUIS              MO
39660   1GNSKBKC9LR258191   GM          TAHOE                KENNER                   LA
39661   1GNSKBKC9LR258286   GM          TAHOE                Des Moines               IA
39662   1GNSKBKC9LR262693   GM          TAHOE                ALBANY                   NY
39663   1GNSKBKC9LR267425   GM          TAHOE                SAINT PAUL               MN
39664   1GNSKBKC9LR274407   GM          TAHOE                SEA TAC                  WA
39665   1GNSKBKC9LR274553   GM          TAHOE                BOSTON                   MA
39666   1GNSKBKC9LR274617   GM          TAHOE                SEA TAC                  WA
39667   1GNSKBKC9LR274634   GM          TAHOE                SEA TAC                  WA
39668   1GNSKBKCXJR195518   GM          TAHOE                BURBANK                  CA
39669   1GNSKBKCXJR195549   GM          TAHOE                SAN FRANCISCO            CA
39670   1GNSKBKCXJR269052   GM          TAHOE                HILO                     HI
39671   1GNSKBKCXJR312580   GM          TAHOE                Fontana                  CA
39672   1GNSKBKCXJR316032   GM          TAHOE                Stockton                 CA
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39673   1GNSKBKCXJR321196   GM          TAHOE                Fontana                  CA
39674   1GNSKBKCXJR378322   GM          TAHOE                Rio Linda                CA
39675   1GNSKBKCXJR379731   GM          TAHOE                Greensboro               NC
39676   1GNSKBKCXJR383116   GM          TAHOE                Fontana                  CA
39677   1GNSKBKCXJR383729   GM          TAHOE                Manheim                  PA
39678   1GNSKBKCXJR383939   GM          TAHOE                DENVER                   CO
39679   1GNSKBKCXJR383973   GM          TAHOE                Albuquerque              NM
39680   1GNSKBKCXJR384265   GM          TAHOE                PASADENA                 MD
39681   1GNSKBKCXJR385772   GM          TAHOE                Salt Lake City           UT
39682   1GNSKBKCXJR396948   GM          TAHOE                Fontana                  CA
39683   1GNSKBKCXJR402697   GM          TAHOE                Fontana                  CA
39684   1GNSKBKCXJR403803   GM          TAHOE                DAYTONA BEACH            FL
39685   1GNSKBKCXJR404000   GM          TAHOE                Torrance                 CA
39686   1GNSKBKCXJR404286   GM          TAHOE                Roseville                CA
39687   1GNSKBKCXKR158616   GM          TAHOE                North Dighton            MA
39688   1GNSKBKCXKR158843   GM          TAHOE                Los Angeles              CA
39689   1GNSKBKCXKR159264   GM          TAHOE                FORT MYERS               FL
39690   1GNSKBKCXKR160544   GM          TAHOE                NORFOLK                  VA
39691   1GNSKBKCXKR164576   GM          TAHOE                Davie                    FL
39692   1GNSKBKCXKR164805   GM          TAHOE                Davie                    FL
39693   1GNSKBKCXKR165078   GM          TAHOE                Ocoee                    FL
39694   1GNSKBKCXKR165176   GM          TAHOE                Ocoee                    FL
39695   1GNSKBKCXKR166912   GM          TAHOE                STERLING                 VA
39696   1GNSKBKCXKR167168   GM          TAHOE                Tolleson                 AZ
39697   1GNSKBKCXKR167655   GM          TAHOE                Bordentown               NJ
39698   1GNSKBKCXKR167672   GM          TAHOE                Davie                    FL
39699   1GNSKBKCXKR169003   GM          TAHOE                DAYTONA BEACH            FL
39700   1GNSKBKCXKR169969   GM          TAHOE                Manheim                  PA
39701   1GNSKBKCXKR175755   GM          TAHOE                Fontana                  CA
39702   1GNSKBKCXKR178266   GM          TAHOE                BALTIMORE                MD
39703   1GNSKBKCXKR194452   GM          TAHOE                North Las Vegas          NV
39704   1GNSKBKCXKR195441   GM          TAHOE                SOUTH BEND               IN
39705   1GNSKBKCXKR195603   GM          TAHOE                WICHITA FALLS            TX
39706   1GNSKBKCXKR197481   GM          TAHOE                Plainfield               IN
39707   1GNSKBKCXKR204283   GM          TAHOE                CHICAGO                  IL
39708   1GNSKBKCXKR206616   GM          TAHOE                CHICAGO                  IL
39709   1GNSKBKCXKR275550   GM          TAHOE                JACKSON                  MS
39710   1GNSKBKCXKR275760   GM          TAHOE                Atlanta                  GA
39711   1GNSKBKCXKR276035   GM          TAHOE                Rockville Centr          NY
39712   1GNSKBKCXKR277329   GM          TAHOE                WHITE PLAINS             NY
39713   1GNSKBKCXKR278352   GM          TAHOE                LAS VEGAS                NV
39714   1GNSKBKCXKR278920   GM          TAHOE                WHITE PLAINS             NY
39715   1GNSKBKCXKR279159   GM          TAHOE                Las Vegas                NV
39716   1GNSKBKCXKR279775   GM          TAHOE                LOS ANGELES              CA
39717   1GNSKBKCXKR281610   GM          TAHOE                Atlanta                  GA
39718   1GNSKBKCXKR282773   GM          TAHOE                COCOA                    FL
39719   1GNSKBKCXKR284376   GM          TAHOE                LAS VEGAS                NV
39720   1GNSKBKCXKR287049   GM          TAHOE                SAINT PAUL               MN
39721   1GNSKBKCXKR289447   GM          TAHOE                HANOVER                  MD
39722   1GNSKBKCXKR290257   GM          TAHOE                Jamaica                  NY
39723   1GNSKBKCXKR291585   GM          TAHOE                ALBANY                   NY
39724   1GNSKBKCXKR292056   GM          TAHOE                Bordentown               NJ
39725   1GNSKBKCXKR301189   GM          TAHOE                BURBANK                  CA
39726   1GNSKBKCXKR306487   GM          TAHOE                HOUSTON                  TX
39727   1GNSKBKCXKR307624   GM          TAHOE                ALBANY                   NY
39728   1GNSKBKCXKR307932   GM          TAHOE                DES MOINES               IA
39729   1GNSKBKCXKR310054   GM          TAHOE                NASHVILLE                TN
39730   1GNSKBKCXKR310944   GM          TAHOE                Portland                 ME
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39731   1GNSKBKCXKR311009   GM          TAHOE                Manheim                  PA
39732   1GNSKBKCXKR311379   GM          TAHOE                Richmond                 VA
39733   1GNSKBKCXKR312726   GM          TAHOE                Houston                  TX
39734   1GNSKBKCXKR314041   GM          TAHOE                FORT MYERS               FL
39735   1GNSKBKCXKR330935   GM          TAHOE                Orlando                  FL
39736   1GNSKBKCXKR332863   GM          TAHOE                HOUSTON                  TX
39737   1GNSKBKCXKR333477   GM          TAHOE                Colorado Spring          CO
39738   1GNSKBKCXKR335925   GM          TAHOE                DENVER                   CO
39739   1GNSKBKCXKR336671   GM          TAHOE                CHICAGO                  IL
39740   1GNSKBKCXKR336797   GM          TAHOE                DENVER                   CO
39741   1GNSKBKCXKR338744   GM          TAHOE                SAN ANTONIO              TX
39742   1GNSKBKCXKR340199   GM          TAHOE                SOUTHEAST DST OFFC       OK
39743   1GNSKBKCXKR341496   GM          TAHOE                Chicago                  IL
39744   1GNSKBKCXKR342079   GM          TAHOE                Manheim                  PA
39745   1GNSKBKCXKR345306   GM          TAHOE                Fontana                  CA
39746   1GNSKBKCXKR360968   GM          TAHOE                Scottsdale               AZ
39747   1GNSKBKCXKR361764   GM          TAHOE                NEW BERN                 NC
39748   1GNSKBKCXKR362042   GM          TAHOE                PHOENIX                  AZ
39749   1GNSKBKCXKR365149   GM          TAHOE                Grove City               OH
39750   1GNSKBKCXKR367645   GM          TAHOE                DALLAS                   TX
39751   1GNSKBKCXKR367693   GM          TAHOE                Scottsdale               AZ
39752   1GNSKBKCXKR367709   GM          TAHOE                DENVER                   CO
39753   1GNSKBKCXKR368133   GM          TAHOE                CLEVELAND                OH
39754   1GNSKBKCXKR368567   GM          TAHOE                GRAND RAPIDS             MI
39755   1GNSKBKCXKR372358   GM          TAHOE                CHICAGO                  IL
39756   1GNSKBKCXKR373784   GM          TAHOE                Chicago                  IL
39757   1GNSKBKCXKR375745   GM          TAHOE                Riverside                CA
39758   1GNSKBKCXKR377303   GM          TAHOE                DENVER                   CO
39759   1GNSKBKCXKR379827   GM          TAHOE                DES PLAINES              US
39760   1GNSKBKCXKR381173   GM          TAHOE                DENVER                   CO
39761   1GNSKBKCXKR383389   GM          TAHOE                SANTA CLARA              CA
39762   1GNSKBKCXKR384624   GM          TAHOE                OAKLAND                  CA
39763   1GNSKBKCXKR385188   GM          TAHOE                West Bountiful           UT
39764   1GNSKBKCXKR385787   GM          TAHOE                Fontana                  CA
39765   1GNSKBKCXKR386809   GM          TAHOE                SEATAC                   WA
39766   1GNSKBKCXLR145141   GM          TAHOE                JACKSONVILLE             FL
39767   1GNSKBKCXLR146063   GM          TAHOE                FORT LAUDERDALE          FL
39768   1GNSKBKCXLR146516   GM          TAHOE                SAN ANTONIO              TX
39769   1GNSKBKCXLR146791   GM          TAHOE                ORLANDO                  FL
39770   1GNSKBKCXLR146872   GM          TAHOE                HOUSTON                  TX
39771   1GNSKBKCXLR147021   GM          TAHOE                LUBBOCK                  TX
39772   1GNSKBKCXLR147925   GM          TAHOE                KNOXVILLE                TN
39773   1GNSKBKCXLR148055   GM          TAHOE                FORT MYERS               FL
39774   1GNSKBKCXLR148069   GM          TAHOE                Miami                    FL
39775   1GNSKBKCXLR148363   GM          TAHOE                DALLAS                   TX
39776   1GNSKBKCXLR148458   GM          TAHOE                FORT MYERS               FL
39777   1GNSKBKCXLR148508   GM          TAHOE                FORT LAUDERDALE          FL
39778   1GNSKBKCXLR148900   GM          TAHOE                PHILADELPHIA             PA
39779   1GNSKBKCXLR149223   GM          TAHOE                ORLANDO                  FL
39780   1GNSKBKCXLR149299   GM          TAHOE                AMARILLO                 US
39781   1GNSKBKCXLR149433   GM          TAHOE                FORT LAUDERDALE          FL
39782   1GNSKBKCXLR149772   GM          TAHOE                MEMPHIS                  TN
39783   1GNSKBKCXLR149836   GM          TAHOE                Miami                    FL
39784   1GNSKBKCXLR149870   GM          TAHOE                Ft. Myers                FL
39785   1GNSKBKCXLR150176   GM          TAHOE                WEST PALM BEACH          FL
39786   1GNSKBKCXLR150212   GM          TAHOE                LEXINGTON                KY
39787   1GNSKBKCXLR150906   GM          TAHOE                KNOXVILLE                TN
39788   1GNSKBKCXLR151179   GM          TAHOE                NEW BERN                 NC
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39789   1GNSKBKCXLR151554   GM          TAHOE                HOUSTON                  TX
39790   1GNSKBKCXLR152087   GM          TAHOE                PHOENIX                  AZ
39791   1GNSKBKCXLR152090   GM          TAHOE                FT. SMITH                AR
39792   1GNSKBKCXLR152526   GM          TAHOE                Houston                  TX
39793   1GNSKBKCXLR152543   GM          TAHOE                INDIANAPOLIS             IN
39794   1GNSKBKCXLR153031   GM          TAHOE                DFW AIRPORT              TX
39795   1GNSKBKCXLR153160   GM          TAHOE                PHOENIX                  AZ
39796   1GNSKBKCXLR153496   GM          TAHOE                GYPSUM                   CO
39797   1GNSKBKCXLR153577   GM          TAHOE                DALLAS                   TX
39798   1GNSKBKCXLR153661   GM          TAHOE                PHOENIX                  AZ
39799   1GNSKBKCXLR153790   GM          TAHOE                TUCSON                   AZ
39800   1GNSKBKCXLR153806   GM          TAHOE                LOS ANGELES              CA
39801   1GNSKBKCXLR154132   GM          TAHOE                SAINT LOUIS              MO
39802   1GNSKBKCXLR154390   GM          TAHOE                DENVER                   CO
39803   1GNSKBKCXLR154616   GM          TAHOE                CHARLESTON               WV
39804   1GNSKBKCXLR154745   GM          TAHOE                PHOENIX                  AZ
39805   1GNSKBKCXLR154762   GM          TAHOE                PHOENIX                  AZ
39806   1GNSKBKCXLR154826   GM          TAHOE                SAINT PAUL               MN
39807   1GNSKBKCXLR155278   GM          TAHOE                JOLIET                   IL
39808   1GNSKBKCXLR155653   GM          TAHOE                Springfield              MO
39809   1GNSKBKCXLR155815   GM          TAHOE                LAS VEGAS                NV
39810   1GNSKBKCXLR155927   GM          TAHOE                HOUSTON                  TX
39811   1GNSKBKCXLR155930   GM          TAHOE                PHOENIX                  AZ
39812   1GNSKBKCXLR156088   GM          TAHOE                HOUSTON                  TX
39813   1GNSKBKCXLR156351   GM          TAHOE                LUBBOCK                  TX
39814   1GNSKBKCXLR156527   GM          TAHOE                DALLAS                   TX
39815   1GNSKBKCXLR156981   GM          TAHOE                CHICAGO                  IL
39816   1GNSKBKCXLR157032   GM          TAHOE                PHOENIX                  AZ
39817   1GNSKBKCXLR157080   GM          TAHOE                DENVER                   CO
39818   1GNSKBKCXLR157239   GM          TAHOE                DALLAS                   TX
39819   1GNSKBKCXLR157872   GM          TAHOE                DALLAS                   TX
39820   1GNSKBKCXLR158097   GM          TAHOE                SALT LAKE CITY           UT
39821   1GNSKBKCXLR158178   GM          TAHOE                FORT LAUDERDALE          FL
39822   1GNSKBKCXLR158262   GM          TAHOE                SARASOTA                 FL
39823   1GNSKBKCXLR158326   GM          TAHOE                AUSTIN                   TX
39824   1GNSKBKCXLR158553   GM          TAHOE                PITTSBURGH               PA
39825   1GNSKBKCXLR158682   GM          TAHOE                HOUSTON                  TX
39826   1GNSKBKCXLR158701   GM          TAHOE                PHOENIX                  AZ
39827   1GNSKBKCXLR159198   GM          TAHOE                LAS VEGAS                NV
39828   1GNSKBKCXLR159282   GM          TAHOE                Los Angeles              CA
39829   1GNSKBKCXLR159315   GM          TAHOE                LAS VEGAS                NV
39830   1GNSKBKCXLR159346   GM          TAHOE                JACKSONVILLE             FL
39831   1GNSKBKCXLR159749   GM          TAHOE                HOUSTON                  TX
39832   1GNSKBKCXLR165387   GM          TAHOE                PHOENIX                  AZ
39833   1GNSKBKCXLR235082   GM          TAHOE                FORT MYERS               FL
39834   1GNSKBKCXLR237978   GM          TAHOE                KNOXVILLE                TN
39835   1GNSKBKCXLR238712   GM          TAHOE                HARTFORD                 CT
39836   1GNSKBKCXLR246356   GM          TAHOE                GRAND RAPIDS             MI
39837   1GNSKBKCXLR253033   GM          TAHOE                PENSACOLA                FL
39838   1GNSKBKCXLR253095   GM          TAHOE                OMAHA                    NE
39839   1GNSKBKCXLR253727   GM          TAHOE                KANSAS CITY              MO
39840   1GNSKBKCXLR254294   GM          TAHOE                CHARLOTTE                NC
39841   1GNSKBKCXLR255820   GM          TAHOE                SAN ANTONIO              TX
39842   1GNSKBKCXLR255946   GM          TAHOE                AUSTIN                   TX
39843   1GNSKBKCXLR256143   GM          TAHOE                KNOXVILLE                TN
39844   1GNSKBKCXLR256305   GM          TAHOE                DES MOINES               IA
39845   1GNSKBKCXLR257521   GM          TAHOE                KENNER                   LA
39846   1GNSKBKCXLR265313   GM          TAHOE                INDIANAPOLIS             IN
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39847   1GNSKBKCXLR268096   GM          TAHOE                SAINT PAUL               MN
39848   1GNSKBKCXLR268762   GM          TAHOE                ALBANY                   NY
39849   1GNSKBKCXLR273735   GM          TAHOE                SEA TAC                  WA
39850   1GNSKBKCXLR274061   GM          TAHOE                Atlanta                  GA
39851   1GNSKBKCXLR274884   GM          TAHOE                SEA TAC                  WA
39852   1GNSKBKCXLR282211   GM          TAHOE                GYPSUM                   CO
39853   1GNSKBKCXLR289935   GM          TAHOE                DALLAS                   TX
39854   1GNSKBKCXLR289997   GM          TAHOE                SAN ANTONIO              TX
39855   1GNSKHKC0HR251897   GM          SUBURBAN             Smithtown                NY
39856   1GNSKHKC0HR324413   GM          SUBURBAN             TRACY                    CA
39857   1GNSKHKC0HR326856   GM          SUBURBAN             Riverside                CA
39858   1GNSKHKC0JR123648   GM          SUBURBAN             DAYTONA BEACH            FL
39859   1GNSKHKC0JR213091   GM          SUBURBAN             Fontana                  CA
39860   1GNSKHKC0JR233258   GM          SUBURBAN             HILO                     HI
39861   1GNSKHKC0JR273808   GM          SUBURBAN             Fontana                  CA
39862   1GNSKHKC0JR274490   GM          SUBURBAN             Tolleson                 AZ
39863   1GNSKHKC0JR276238   GM          SUBURBAN             Fontana                  CA
39864   1GNSKHKC0JR368837   GM          SUBURBAN             CHARLOTTE                NC
39865   1GNSKHKC0JR380518   GM          SUBURBAN             Fontana                  CA
39866   1GNSKHKC0JR383757   GM          SUBURBAN             St. Louis                MO
39867   1GNSKHKC0JR386903   GM          SUBURBAN             DENVER                   CO
39868   1GNSKHKC0JR387159   GM          SUBURBAN             Clarksville              IN
39869   1GNSKHKC0JR403280   GM          SUBURBAN             DENVER                   CO
39870   1GNSKHKC0JR404753   GM          SUBURBAN             Hayward                  CA
39871   1GNSKHKC0KR186413   GM          SUBURBAN             NORFOLK                  VA
39872   1GNSKHKC0KR188825   GM          SUBURBAN             ORLANDO                  FL
39873   1GNSKHKC0KR189019   GM          SUBURBAN             TAMPA                    FL
39874   1GNSKHKC0KR189053   GM          SUBURBAN             Aurora                   CO
39875   1GNSKHKC0KR190154   GM          SUBURBAN             DAYTONA BEACH            FL
39876   1GNSKHKC0KR190252   GM          SUBURBAN             DAYTONA BEACH            FL
39877   1GNSKHKC0KR191076   GM          SUBURBAN             Fresno                   CA
39878   1GNSKHKC0KR191482   GM          SUBURBAN             MIAMI                    FL
39879   1GNSKHKC0KR191563   GM          SUBURBAN
39880   1GNSKHKC0KR191627   GM          SUBURBAN             Warwick                  RI
39881   1GNSKHKC0KR193541   GM          SUBURBAN             DENVER                   CO
39882   1GNSKHKC0KR197606   GM          SUBURBAN             PENSACOLA                FL
39883   1GNSKHKC0KR198786   GM          SUBURBAN             Tampa                    FL
39884   1GNSKHKC0KR199226   GM          SUBURBAN             North Dighton            MA
39885   1GNSKHKC0KR199436   GM          SUBURBAN             MIAMI                    FL
39886   1GNSKHKC0KR200424   GM          SUBURBAN             LOS ANGELES              CA
39887   1GNSKHKC0KR211374   GM          SUBURBAN             DENVER                   CO
39888   1GNSKHKC0KR273700   GM          SUBURBAN             Longmont                 CO
39889   1GNSKHKC0KR274930   GM          SUBURBAN             Fresno                   CA
39890   1GNSKHKC0KR275513   GM          SUBURBAN             Fresno                   CA
39891   1GNSKHKC0KR276273   GM          SUBURBAN             SAN JOSE                 CA
39892   1GNSKHKC0KR277729   GM          SUBURBAN             DENVER                   CO
39893   1GNSKHKC0KR280422   GM          SUBURBAN             Columbus                 OH
39894   1GNSKHKC0KR281859   GM          SUBURBAN             ST Paul                  MN
39895   1GNSKHKC0KR283708   GM          SUBURBAN             SOUTHEAST DST OFFC       OK
39896   1GNSKHKC0KR287807   GM          SUBURBAN             Costa Mesa               CA
39897   1GNSKHKC0KR289766   GM          SUBURBAN             Warminster               PA
39898   1GNSKHKC0KR289976   GM          SUBURBAN             HOUSTON                  TX
39899   1GNSKHKC0KR291310   GM          SUBURBAN             Indianapolis             IN
39900   1GNSKHKC0KR302449   GM          SUBURBAN             Stockton                 CA
39901   1GNSKHKC0KR305836   GM          SUBURBAN             Kansas City              MO
39902   1GNSKHKC0KR307988   GM          SUBURBAN             Pittsburgh               PA
39903   1GNSKHKC0KR313466   GM          SUBURBAN             Atlanta                  GA
39904   1GNSKHKC0KR313614   GM          SUBURBAN             MIAMI                    FL
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39905   1GNSKHKC0KR328890   GM          SUBURBAN             Fontana                  CA
39906   1GNSKHKC0KR331322   GM          SUBURBAN             N. Palm Beach            FL
39907   1GNSKHKC0KR332261   GM          SUBURBAN             Portland                 ME
39908   1GNSKHKC0KR332809   GM          SUBURBAN             Morrisville              NC
39909   1GNSKHKC0KR333037   GM          SUBURBAN             SHREVEPORT               LA
39910   1GNSKHKC0KR333975   GM          SUBURBAN             North Dighton            MA
39911   1GNSKHKC0KR335239   GM          SUBURBAN             Salt Lake City           UT
39912   1GNSKHKC0KR336875   GM          SUBURBAN             SALT LAKE CITY           US
39913   1GNSKHKC0KR338478   GM          SUBURBAN             SALT LAKE CITY           UT
39914   1GNSKHKC0KR341624   GM          SUBURBAN             Hayward                  CA
39915   1GNSKHKC0KR342000   GM          SUBURBAN             WICHITA FALLS            TX
39916   1GNSKHKC0KR342076   GM          SUBURBAN             ONTARIO                  CA
39917   1GNSKHKC0KR345348   GM          SUBURBAN             RENO                     NV
39918   1GNSKHKC0KR345852   GM          SUBURBAN             SANTA ANA                CA
39919   1GNSKHKC0KR346662   GM          SUBURBAN             DENVER                   CO
39920   1GNSKHKC0KR362358   GM          SUBURBAN             SACRAMENTO               CA
39921   1GNSKHKC0KR363638   GM          SUBURBAN             SANTA ANA                CA
39922   1GNSKHKC0KR364935   GM          SUBURBAN             NASHVILLE                TN
39923   1GNSKHKC0KR366538   GM          SUBURBAN             LOS ANGELES              CA
39924   1GNSKHKC0KR367561   GM          SUBURBAN             SAN JOSE                 CA
39925   1GNSKHKC0KR368385   GM          SUBURBAN             SAN DIEGO                CA
39926   1GNSKHKC0KR379080   GM          SUBURBAN             FORT LAUDERDALE          FL
39927   1GNSKHKC0KR380746   GM          SUBURBAN             PENSACOLA                FL
39928   1GNSKHKC0KR381699   GM          SUBURBAN             MEMPHIS                  TN
39929   1GNSKHKC0KR388944   GM          SUBURBAN             ORLANDO                  FL
39930   1GNSKHKC0KR395084   GM          SUBURBAN             FORT LAUDERDALE          FL
39931   1GNSKHKC0KR396493   GM          SUBURBAN             FRESNO                   CA
39932   1GNSKHKC0KR396753   GM          SUBURBAN             Sarasota                 FL
39933   1GNSKHKC0KR397790   GM          SUBURBAN             PROVIDENCE               RI
39934   1GNSKHKC0KR398759   GM          SUBURBAN             STERLING                 VA
39935   1GNSKHKC0LR152103   GM          SUBURBAN             DANIA BEACH              FL
39936   1GNSKHKC0LR152134   GM          SUBURBAN             HOUSTON                  TX
39937   1GNSKHKC0LR152148   GM          SUBURBAN             BURBANK                  CA
39938   1GNSKHKC0LR152571   GM          SUBURBAN             SALT LAKE CITY           US
39939   1GNSKHKC0LR152814   GM          SUBURBAN             HOUSTON                  TX
39940   1GNSKHKC0LR152831   GM          SUBURBAN             Miami                    FL
39941   1GNSKHKC0LR152862   GM          SUBURBAN             TAMPA                    FL
39942   1GNSKHKC0LR152960   GM          SUBURBAN             MIAMI                    FL
39943   1GNSKHKC0LR153073   GM          SUBURBAN             LOUISVILLE               KY
39944   1GNSKHKC0LR153395   GM          SUBURBAN             Riverview                MI
39945   1GNSKHKC0LR153400   GM          SUBURBAN             SARASOTA                 FL
39946   1GNSKHKC0LR153509   GM          SUBURBAN             Jacksonville             FL
39947   1GNSKHKC0LR153610   GM          SUBURBAN             ORLANDO                  FL
39948   1GNSKHKC0LR153669   GM          SUBURBAN             AUSTIN                   TX
39949   1GNSKHKC0LR153672   GM          SUBURBAN             KNOXVILLE                TN
39950   1GNSKHKC0LR153798   GM          SUBURBAN             WILMINGTON               DE
39951   1GNSKHKC0LR154353   GM          SUBURBAN             TAMPA                    FL
39952   1GNSKHKC0LR154479   GM          SUBURBAN             WILMINGTON               NC
39953   1GNSKHKC0LR154708   GM          SUBURBAN             FORT LAUDERDALE          FL
39954   1GNSKHKC0LR154725   GM          SUBURBAN             FORT MYERS               FL
39955   1GNSKHKC0LR154790   GM          SUBURBAN             HOUSTON                  TX
39956   1GNSKHKC0LR154904   GM          SUBURBAN             ONTARIO                  CA
39957   1GNSKHKC0LR155003   GM          SUBURBAN             DALLAS                   TX
39958   1GNSKHKC0LR155065   GM          SUBURBAN             HOUSTON                  TX
39959   1GNSKHKC0LR155227   GM          SUBURBAN             FORT MYERS               FL
39960   1GNSKHKC0LR155664   GM          SUBURBAN             ORLANDO                  FL
39961   1GNSKHKC0LR155695   GM          SUBURBAN             MIAMI                    FL
39962   1GNSKHKC0LR155700   GM          SUBURBAN             MIAMI                    FL
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39963   1GNSKHKC0LR155762   GM          SUBURBAN             Warminster               PA
39964   1GNSKHKC0LR156197   GM          SUBURBAN             WHITE PLAINS             NY
39965   1GNSKHKC0LR156278   GM          SUBURBAN             COCOA                    FL
39966   1GNSKHKC0LR156555   GM          SUBURBAN             DANIA BEACH              FL
39967   1GNSKHKC0LR156572   GM          SUBURBAN             SAINT PAUL               MN
39968   1GNSKHKC0LR157169   GM          SUBURBAN             WEST PALM BEACH          FL
39969   1GNSKHKC0LR157270   GM          SUBURBAN             LAS VEGAS                NV
39970   1GNSKHKC0LR157348   GM          SUBURBAN             MIAMI                    FL
39971   1GNSKHKC0LR157396   GM          SUBURBAN             MCALLEN                  TX
39972   1GNSKHKC0LR157401   GM          SUBURBAN             CLEVELAND                OH
39973   1GNSKHKC0LR157463   GM          SUBURBAN             FORT MYERS               FL
39974   1GNSKHKC0LR157737   GM          SUBURBAN             ORLANDO                  FL
39975   1GNSKHKC0LR157768   GM          SUBURBAN             HOUSTON                  TX
39976   1GNSKHKC0LR157799   GM          SUBURBAN             KENNER                   LA
39977   1GNSKHKC0LR157835   GM          SUBURBAN             TUCSON                   AZ
39978   1GNSKHKC0LR158029   GM          SUBURBAN             JACKSONVILLE             FL
39979   1GNSKHKC0LR158063   GM          SUBURBAN             TAMPA                    FL
39980   1GNSKHKC0LR158175   GM          SUBURBAN             Ft. Myers                FL
39981   1GNSKHKC0LR158368   GM          SUBURBAN             BURBANK                  CA
39982   1GNSKHKC0LR158564   GM          SUBURBAN             SAVANNAH                 GA
39983   1GNSKHKC0LR158631   GM          SUBURBAN             DALLAS                   TX
39984   1GNSKHKC0LR158659   GM          SUBURBAN             MIAMI                    FL
39985   1GNSKHKC0LR158662   GM          SUBURBAN             KNOXVILLE                TN
39986   1GNSKHKC0LR158788   GM          SUBURBAN             Miami                    FL
39987   1GNSKHKC0LR158810   GM          SUBURBAN             DALLAS                   TX
39988   1GNSKHKC0LR158886   GM          SUBURBAN             WEST COLUMBIA            SC
39989   1GNSKHKC0LR158936   GM          SUBURBAN             PHILADELPHIA             PA
39990   1GNSKHKC0LR158967   GM          SUBURBAN             Miami                    FL
39991   1GNSKHKC0LR159407   GM          SUBURBAN             NASHVILLE                TN
39992   1GNSKHKC0LR159665   GM          SUBURBAN             OKLAHOMA CITY            OK
39993   1GNSKHKC0LR166891   GM          SUBURBAN             KANSAS CITY              MO
39994   1GNSKHKC0LR167149   GM          SUBURBAN             DETROIT                  MI
39995   1GNSKHKC0LR168009   GM          SUBURBAN             PITTSBURGH               PA
39996   1GNSKHKC0LR168379   GM          SUBURBAN             SAN ANTONIO              TX
39997   1GNSKHKC0LR169662   GM          SUBURBAN             CLEVELAND                OH
39998   1GNSKHKC0LR169726   GM          SUBURBAN             SAINT PAUL               MN
39999   1GNSKHKC0LR169967   GM          SUBURBAN             GREEN BAY                WI
40000   1GNSKHKC0LR232727   GM          SUBURBAN             LOS ANGELES AP           CA
40001   1GNSKHKC0LR236454   GM          SUBURBAN             WARWICK                  RI
40002   1GNSKHKC0LR236535   GM          SUBURBAN             BOSTON                   MA
40003   1GNSKHKC0LR236910   GM          SUBURBAN             AUSTIN                   TX
40004   1GNSKHKC0LR237328   GM          SUBURBAN             KANSAS CITY              MO
40005   1GNSKHKC0LR240889   GM          SUBURBAN             Hayward                  CA
40006   1GNSKHKC0LR240942   GM          SUBURBAN             ALBANY                   N
40007   1GNSKHKC0LR242545   GM          SUBURBAN             LOS ANGELES              CA
40008   1GNSKHKC0LR242920   GM          SUBURBAN             VAN NUYS                 CA
40009   1GNSKHKC0LR243050   GM          SUBURBAN             BURBANK                  CA
40010   1GNSKHKC0LR243971   GM          SUBURBAN             SAINT LOUIS              MO
40011   1GNSKHKC0LR244697   GM          SUBURBAN             HARTFORD                 CT
40012   1GNSKHKC0LR244909   GM          SUBURBAN             GYPSUM                   CO
40013   1GNSKHKC0LR244991   GM          SUBURBAN             ORLANDO                  FL
40014   1GNSKHKC0LR245025   GM          SUBURBAN             BOSTON                   MA
40015   1GNSKHKC0LR246448   GM          SUBURBAN             PHILADELPHIA             PA
40016   1GNSKHKC0LR246496   GM          SUBURBAN             NEW ORLEANS              LA
40017   1GNSKHKC0LR246630   GM          SUBURBAN             KNOXVILLE                TN
40018   1GNSKHKC0LR249401   GM          SUBURBAN             JACKSON                  MS
40019   1GNSKHKC0LR250368   GM          SUBURBAN             LOS ANGELES              CA
40020   1GNSKHKC0LR250502   GM          SUBURBAN             Atlanta                  GA
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40021   1GNSKHKC0LR251357   GM          SUBURBAN             KNOXVILLE                TN
40022   1GNSKHKC0LR251455   GM          SUBURBAN             MEMPHIS                  TN
40023   1GNSKHKC0LR252203   GM          SUBURBAN             KANSAS CITY              MO
40024   1GNSKHKC0LR256249   GM          SUBURBAN             Los Angeles              CA
40025   1GNSKHKC0LR256297   GM          SUBURBAN             CHICAGO                  IL
40026   1GNSKHKC0LR256607   GM          SUBURBAN             KENNER                   LA
40027   1GNSKHKC0LR257126   GM          SUBURBAN             DALLAS                   TX
40028   1GNSKHKC0LR257370   GM          SUBURBAN             WICHITA FALLS            TX
40029   1GNSKHKC0LR258115   GM          SUBURBAN             DALLAS                   TX
40030   1GNSKHKC0LR263928   GM          SUBURBAN             BOSTON                   MA
40031   1GNSKHKC0LR264089   GM          SUBURBAN             SOUTH BURLINGTO          VT
40032   1GNSKHKC0LR264271   GM          SUBURBAN             BUFFALO                  NY
40033   1GNSKHKC0LR264979   GM          SUBURBAN             MIAMI                    FL
40034   1GNSKHKC0LR265128   GM          SUBURBAN             Saint Paul               MN
40035   1GNSKHKC0LR265856   GM          SUBURBAN             WARWICK                  RI
40036   1GNSKHKC0LR268126   GM          SUBURBAN             NEW BERN                 NC
40037   1GNSKHKC0LR268448   GM          SUBURBAN             RONKONKOMA               NY
40038   1GNSKHKC0LR269664   GM          SUBURBAN             NEW BERN                 NC
40039   1GNSKHKC0LR271074   GM          SUBURBAN             BOSTON                   MA
40040   1GNSKHKC0LR274458   GM          SUBURBAN             BIRMINGHAM               AL
40041   1GNSKHKC0LR276033   GM          SUBURBAN             HOUSTON                  TX
40042   1GNSKHKC0LR281037   GM          SUBURBAN             SEATAC                   WA
40043   1GNSKHKC0LR281510   GM          SUBURBAN             ATLANTA                  GA
40044   1GNSKHKC0LR282222   GM          SUBURBAN             TULSA                    OK
40045   1GNSKHKC0LR282284   GM          SUBURBAN             NASHVILLE                TN
40046   1GNSKHKC0LR282527   GM          SUBURBAN             MEMPHIS                  TN
40047   1GNSKHKC0LR282561   GM          SUBURBAN             ATLANTA                  GA
40048   1GNSKHKC0LR282608   GM          SUBURBAN             ATLANTA                  GA
40049   1GNSKHKC0LR282799   GM          SUBURBAN             KNOXVILLE                TN
40050   1GNSKHKC0LR282818   GM          SUBURBAN             KNOXVILLE                TN
40051   1GNSKHKC0LR282821   GM          SUBURBAN             NEWARK                   NJ
40052   1GNSKHKC0LR284178   GM          SUBURBAN             KNOXVILLE                TN
40053   1GNSKHKC0LR284908   GM          SUBURBAN             HANOVER                  MD
40054   1GNSKHKC0LR285573   GM          SUBURBAN             Oak Lawn                 IL
40055   1GNSKHKC0LR285668   GM          SUBURBAN             CHICAGO                  IL
40056   1GNSKHKC0LR286240   GM          SUBURBAN             NEW BERN                 NC
40057   1GNSKHKC1HR327532   GM          SUBURBAN             Hayward                  CA
40058   1GNSKHKC1JR191179   GM          SUBURBAN             Hapeville                GA
40059   1GNSKHKC1JR244947   GM          SUBURBAN             Manheim                  PA
40060   1GNSKHKC1JR245046   GM          SUBURBAN             DALLAS                   TX
40061   1GNSKHKC1JR279424   GM          SUBURBAN             Manheim                  PA
40062   1GNSKHKC1JR357765   GM          SUBURBAN             DAYTONA BEACH            FL
40063   1GNSKHKC1JR358396   GM          SUBURBAN             Aurora                   CO
40064   1GNSKHKC1JR378664   GM          SUBURBAN             BURLINGAME               CA
40065   1GNSKHKC1JR396338   GM          SUBURBAN             Las Vegas                NV
40066   1GNSKHKC1JR396940   GM          SUBURBAN             Riverside                CA
40067   1GNSKHKC1JR396985   GM          SUBURBAN             SAN FRANCISCO            CA
40068   1GNSKHKC1JR400453   GM          SUBURBAN             Winter Park              FL
40069   1GNSKHKC1JR401957   GM          SUBURBAN             TRACY                    CA
40070   1GNSKHKC1KR188154   GM          SUBURBAN             Hartford                 CT
40071   1GNSKHKC1KR188820   GM          SUBURBAN             TAMPA                    FL
40072   1GNSKHKC1KR190034   GM          SUBURBAN             Manheim                  PA
40073   1GNSKHKC1KR192897   GM          SUBURBAN             Davie                    FL
40074   1GNSKHKC1KR192916   GM          SUBURBAN             Avoca                    PA
40075   1GNSKHKC1KR193628   GM          SUBURBAN             Manheim                  PA
40076   1GNSKHKC1KR195847   GM          SUBURBAN             DAYTONA BEACH            FL
40077   1GNSKHKC1KR196206   GM          SUBURBAN             MILWAUKEE                WI
40078   1GNSKHKC1KR197856   GM          SUBURBAN             Anaheim                  CA
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40079   1GNSKHKC1KR198702   GM          SUBURBAN             Riverside                CA
40080   1GNSKHKC1KR199428   GM          SUBURBAN             WEST PALM BEACH          FL
40081   1GNSKHKC1KR203624   GM          SUBURBAN             Aurora                   CO
40082   1GNSKHKC1KR206216   GM          SUBURBAN             FORT LAUDERDALE          FL
40083   1GNSKHKC1KR208113   GM          SUBURBAN             MIAMI                    FL
40084   1GNSKHKC1KR208354   GM          SUBURBAN             ORLANDO                  FL
40085   1GNSKHKC1KR209004   GM          SUBURBAN             SAN JOSE                 CA
40086   1GNSKHKC1KR274452   GM          SUBURBAN             SANTA CLARA              CA
40087   1GNSKHKC1KR275116   GM          SUBURBAN             MIAMI                    FL
40088   1GNSKHKC1KR275861   GM          SUBURBAN             DENVER                   CO
40089   1GNSKHKC1KR278016   GM          SUBURBAN             DFW AIRPORT              TX
40090   1GNSKHKC1KR278923   GM          SUBURBAN             SAN JOSE                 CA
40091   1GNSKHKC1KR279053   GM          SUBURBAN             Houston                  TX
40092   1GNSKHKC1KR279330   GM          SUBURBAN             Atlanta                  GA
40093   1GNSKHKC1KR279828   GM          SUBURBAN             Manheim                  PA
40094   1GNSKHKC1KR280591   GM          SUBURBAN             Windsor Locks            CT
40095   1GNSKHKC1KR280901   GM          SUBURBAN             Pasadena                 CA
40096   1GNSKHKC1KR282115   GM          SUBURBAN             DALLAS                   TX
40097   1GNSKHKC1KR283233   GM          SUBURBAN             Memphis                  TN
40098   1GNSKHKC1KR283751   GM          SUBURBAN             Hayward                  CA
40099   1GNSKHKC1KR284494   GM          SUBURBAN             Leesburg                 VA
40100   1GNSKHKC1KR284995   GM          SUBURBAN             WEST PALM BEACH          FL
40101   1GNSKHKC1KR290330   GM          SUBURBAN             SANTA ANA                CA
40102   1GNSKHKC1KR290411   GM          SUBURBAN             SALT LAKE CITY           US
40103   1GNSKHKC1KR329854   GM          SUBURBAN             LAS VEGAS                NV
40104   1GNSKHKC1KR331667   GM          SUBURBAN             Kansas City              MO
40105   1GNSKHKC1KR332673   GM          SUBURBAN             DENVER                   CO
40106   1GNSKHKC1KR340384   GM          SUBURBAN             DAYTONA BEACH            FL
40107   1GNSKHKC1KR347383   GM          SUBURBAN             DENVER                   CO
40108   1GNSKHKC1KR362711   GM          SUBURBAN             RENO                     NV
40109   1GNSKHKC1KR363485   GM          SUBURBAN             Phoenix                  AZ
40110   1GNSKHKC1KR364409   GM          SUBURBAN             North Dighton            MA
40111   1GNSKHKC1KR366810   GM          SUBURBAN             Louisville               KY
40112   1GNSKHKC1KR368878   GM          SUBURBAN             Plainfield               IN
40113   1GNSKHKC1KR370064   GM          SUBURBAN             Lexington                KY
40114   1GNSKHKC1KR375488   GM          SUBURBAN             SALT LAKE CITY           US
40115   1GNSKHKC1KR376723   GM          SUBURBAN             SALT LAKE CITY           UT
40116   1GNSKHKC1KR377449   GM          SUBURBAN             PALM S                   CA
40117   1GNSKHKC1KR378231   GM          SUBURBAN             SALT LAKE CITY           UT
40118   1GNSKHKC1KR378844   GM          SUBURBAN             SAN FRANCISCO            CA
40119   1GNSKHKC1KR380254   GM          SUBURBAN             LOS ANGELES              CA
40120   1GNSKHKC1KR395739   GM          SUBURBAN             FRESNO                   CA
40121   1GNSKHKC1KR395756   GM          SUBURBAN             N HOLLYWOOD              CA
40122   1GNSKHKC1KR397068   GM          SUBURBAN             SAN JOSE                 CA
40123   1GNSKHKC1KR397233   GM          SUBURBAN             WINDSOR LOCKS            CT
40124   1GNSKHKC1KR398009   GM          SUBURBAN             DENVER                   CO
40125   1GNSKHKC1KR400616   GM          SUBURBAN             LAS VEGAS                NV
40126   1GNSKHKC1LR152174   GM          SUBURBAN             PHOENIX                  AZ
40127   1GNSKHKC1LR152238   GM          SUBURBAN             Teterboro                NJ
40128   1GNSKHKC1LR152255   GM          SUBURBAN             FORT MYERS               FL
40129   1GNSKHKC1LR152269   GM          SUBURBAN             ORLANDO                  FL
40130   1GNSKHKC1LR152305   GM          SUBURBAN             LAS VEGAS                NV
40131   1GNSKHKC1LR152353   GM          SUBURBAN             PHOENIX                  AZ
40132   1GNSKHKC1LR152384   GM          SUBURBAN             SAINT PAUL               MN
40133   1GNSKHKC1LR152580   GM          SUBURBAN             ORLANDO                  FL
40134   1GNSKHKC1LR152658   GM          SUBURBAN             SAN ANTONIO              TX
40135   1GNSKHKC1LR152725   GM          SUBURBAN             LAS VEGAS                NV
40136   1GNSKHKC1LR152921   GM          SUBURBAN             LAS VEGAS                NV
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40137   1GNSKHKC1LR153034   GM          SUBURBAN             KNOXVILLE                TN
40138   1GNSKHKC1LR153082   GM          SUBURBAN             FORT LAUDERDALE          FL
40139   1GNSKHKC1LR153096   GM          SUBURBAN             HOUSTON                  TX
40140   1GNSKHKC1LR153227   GM          SUBURBAN             ORLANDO                  FL
40141   1GNSKHKC1LR153289   GM          SUBURBAN             FORT MYERS               FL
40142   1GNSKHKC1LR153308   GM          SUBURBAN             LAS VEGAS                NV
40143   1GNSKHKC1LR153373   GM          SUBURBAN             Atlanta                  GA
40144   1GNSKHKC1LR153695   GM          SUBURBAN             KANSAS CITY              MO
40145   1GNSKHKC1LR153700   GM          SUBURBAN             ATLANTA                  GA
40146   1GNSKHKC1LR153762   GM          SUBURBAN             SALT LAKE CITY           UT
40147   1GNSKHKC1LR153826   GM          SUBURBAN             STERLING                 VA
40148   1GNSKHKC1LR154037   GM          SUBURBAN             DALLAS                   TX
40149   1GNSKHKC1LR154152   GM          SUBURBAN             NEWARK                   NJ
40150   1GNSKHKC1LR154412   GM          SUBURBAN             FORT LAUDERDALE          FL
40151   1GNSKHKC1LR154457   GM          SUBURBAN             Miami                    FL
40152   1GNSKHKC1LR154748   GM          SUBURBAN             DENVER                   CO
40153   1GNSKHKC1LR154796   GM          SUBURBAN             DALLAS                   TX
40154   1GNSKHKC1LR155074   GM          SUBURBAN             BURBANK                  CA
40155   1GNSKHKC1LR155088   GM          SUBURBAN             INDIANAPOLIS             IN
40156   1GNSKHKC1LR155138   GM          SUBURBAN             ATLANTA                  GA
40157   1GNSKHKC1LR155236   GM          SUBURBAN             LAS VEGAS                NV
40158   1GNSKHKC1LR155530   GM          SUBURBAN             ORLANDO                  FL
40159   1GNSKHKC1LR155608   GM          SUBURBAN             DETROIT                  MI
40160   1GNSKHKC1LR155625   GM          SUBURBAN             ORLANDO                  FL
40161   1GNSKHKC1LR155687   GM          SUBURBAN             LOS ANGELES              CA
40162   1GNSKHKC1LR155706   GM          SUBURBAN             WARWICK                  RI
40163   1GNSKHKC1LR155737   GM          SUBURBAN             CHICAGO                  IL
40164   1GNSKHKC1LR155785   GM          SUBURBAN             FORT MYERS               FL
40165   1GNSKHKC1LR155799   GM          SUBURBAN             Miami                    FL
40166   1GNSKHKC1LR155866   GM          SUBURBAN             Hebron                   KY
40167   1GNSKHKC1LR156158   GM          SUBURBAN             ORLANDO                  FL
40168   1GNSKHKC1LR156161   GM          SUBURBAN             Miami                    FL
40169   1GNSKHKC1LR156175   GM          SUBURBAN             HOUSTON                  TX
40170   1GNSKHKC1LR156192   GM          SUBURBAN             DETROIT                  MI
40171   1GNSKHKC1LR156273   GM          SUBURBAN             WEST PALM BEACH          FL
40172   1GNSKHKC1LR156323   GM          SUBURBAN             Des Plaines              IL
40173   1GNSKHKC1LR156418   GM          SUBURBAN             RONKONKOMA               NY
40174   1GNSKHKC1LR156435   GM          SUBURBAN             PORTLAND                 ME
40175   1GNSKHKC1LR156662   GM          SUBURBAN             Phoenix                  AZ
40176   1GNSKHKC1LR157021   GM          SUBURBAN             SALT LAKE CITY           UT
40177   1GNSKHKC1LR157133   GM          SUBURBAN             SANTA BARBARA            CA
40178   1GNSKHKC1LR157147   GM          SUBURBAN             ORLANDO                  FL
40179   1GNSKHKC1LR157150   GM          SUBURBAN             CORPUS CHRISTI           TX
40180   1GNSKHKC1LR157164   GM          SUBURBAN             SAN JOSE                 CA
40181   1GNSKHKC1LR157892   GM          SUBURBAN             NEW BERN                 NC
40182   1GNSKHKC1LR158072   GM          SUBURBAN             Irving                   TX
40183   1GNSKHKC1LR158301   GM          SUBURBAN             SAINT PAUL               MN
40184   1GNSKHKC1LR158329   GM          SUBURBAN             CHICAGO                  IL
40185   1GNSKHKC1LR158461   GM          SUBURBAN             Phoenix                  AZ
40186   1GNSKHKC1LR158525   GM          SUBURBAN             SHREVEPORT               LA
40187   1GNSKHKC1LR158685   GM          SUBURBAN             OMAHA                    NE
40188   1GNSKHKC1LR158721   GM          SUBURBAN             NASHVILLE                TN
40189   1GNSKHKC1LR159089   GM          SUBURBAN             DALLAS                   TX
40190   1GNSKHKC1LR159111   GM          SUBURBAN             MIDLAND                  TX
40191   1GNSKHKC1LR159237   GM          SUBURBAN             ORLANDO                  FL
40192   1GNSKHKC1LR159240   GM          SUBURBAN             ORLANDO                  FL
40193   1GNSKHKC1LR159366   GM          SUBURBAN             HOUSTON                  TX
40194   1GNSKHKC1LR159660   GM          SUBURBAN             ATLANTA                  GA
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40195   1GNSKHKC1LR159741   GM          SUBURBAN             JACKSONVILLE             FL
40196   1GNSKHKC1LR161134   GM          SUBURBAN             Lake Elsinore            CA
40197   1GNSKHKC1LR166284   GM          SUBURBAN             KANSAS CITY              MO
40198   1GNSKHKC1LR170030   GM          SUBURBAN             CHARLESTON               WV
40199   1GNSKHKC1LR171209   GM          SUBURBAN             Des Moines               IA
40200   1GNSKHKC1LR236012   GM          SUBURBAN             MANCHESTER               US
40201   1GNSKHKC1LR236169   GM          SUBURBAN             LOUISVILLE               KY
40202   1GNSKHKC1LR236270   GM          SUBURBAN             BOSTON                   MA
40203   1GNSKHKC1LR236379   GM          SUBURBAN             BOSTON                   MA
40204   1GNSKHKC1LR236687   GM          SUBURBAN             WARWICK                  RI
40205   1GNSKHKC1LR237421   GM          SUBURBAN             KENNER                   LA
40206   1GNSKHKC1LR237435   GM          SUBURBAN             HOUSTON                  TX
40207   1GNSKHKC1LR239489   GM          SUBURBAN             NEWARK                   NJ
40208   1GNSKHKC1LR242652   GM          SUBURBAN             LOS ANGELES              CA
40209   1GNSKHKC1LR242702   GM          SUBURBAN             LOS ANGELES AP           CA
40210   1GNSKHKC1LR242828   GM          SUBURBAN             LAS VEGAS                NV
40211   1GNSKHKC1LR243977   GM          SUBURBAN             KEY WEST                 FL
40212   1GNSKHKC1LR244790   GM          SUBURBAN             HANOVER                  MD
40213   1GNSKHKC1LR245163   GM          SUBURBAN             NEW BERN                 NC
40214   1GNSKHKC1LR246572   GM          SUBURBAN             NEW BERN                 NC
40215   1GNSKHKC1LR248662   GM          SUBURBAN             Atlanta                  GA
40216   1GNSKHKC1LR248757   GM          SUBURBAN             MEMPHIS                  TN
40217   1GNSKHKC1LR249455   GM          SUBURBAN             BALTIMORE                MD
40218   1GNSKHKC1LR251366   GM          SUBURBAN             INDIANAPOLIS             IN
40219   1GNSKHKC1LR252016   GM          SUBURBAN             SANTA ANA                CA
40220   1GNSKHKC1LR256213   GM          SUBURBAN             DALLAS                   TX
40221   1GNSKHKC1LR256227   GM          SUBURBAN             CHICAGO                  IL
40222   1GNSKHKC1LR256406   GM          SUBURBAN             HOUSTON                  TX
40223   1GNSKHKC1LR256695   GM          SUBURBAN             NEW ORLEANS              LA
40224   1GNSKHKC1LR256714   GM          SUBURBAN             AUSTIN                   TX
40225   1GNSKHKC1LR258303   GM          SUBURBAN             DES PLAINES              US
40226   1GNSKHKC1LR262920   GM          SUBURBAN             SYRACUSE                 NY
40227   1GNSKHKC1LR263548   GM          SUBURBAN             FORT LAUDERDALE          FL
40228   1GNSKHKC1LR264036   GM          SUBURBAN             PORTLAND                 ME
40229   1GNSKHKC1LR264313   GM          SUBURBAN             ROCHESTER                NY
40230   1GNSKHKC1LR264568   GM          SUBURBAN             SOUTH BURLINGTO          VT
40231   1GNSKHKC1LR265137   GM          SUBURBAN             FORT LAUDERDALE          FL
40232   1GNSKHKC1LR265266   GM          SUBURBAN             WEST PALM BEACH          FL
40233   1GNSKHKC1LR268412   GM          SUBURBAN             NORFOLK                  VA
40234   1GNSKHKC1LR269351   GM          SUBURBAN             BALTIMORE                MD
40235   1GNSKHKC1LR269382   GM          SUBURBAN             CHEEKTOWAGA              NY
40236   1GNSKHKC1LR272136   GM          SUBURBAN             WEST COLUMBIA            SC
40237   1GNSKHKC1LR272167   GM          SUBURBAN             RALEIGH                  NC
40238   1GNSKHKC1LR274243   GM          SUBURBAN             PORTLAND                 ME
40239   1GNSKHKC1LR276087   GM          SUBURBAN             LOS ANGELES              CA
40240   1GNSKHKC1LR280589   GM          SUBURBAN             NEW ORLEANS              LA
40241   1GNSKHKC1LR281399   GM          SUBURBAN             WHITE PLAINS             NY
40242   1GNSKHKC1LR281497   GM          SUBURBAN             Atlanta                  GA
40243   1GNSKHKC1LR281628   GM          SUBURBAN             ATLANTA                  GA
40244   1GNSKHKC1LR281838   GM          SUBURBAN             JACKSONVILLE             FL
40245   1GNSKHKC1LR282519   GM          SUBURBAN             Atlanta                  GA
40246   1GNSKHKC1LR282617   GM          SUBURBAN             Atlanta                  GA
40247   1GNSKHKC1LR282634   GM          SUBURBAN             KNOXVILLE                TN
40248   1GNSKHKC1LR282830   GM          SUBURBAN             APPLETON                 WI
40249   1GNSKHKC1LR282875   GM          SUBURBAN             KNOXVILLE                TN
40250   1GNSKHKC1LR283153   GM          SUBURBAN             SAINT PAUL               MN
40251   1GNSKHKC1LR283976   GM          SUBURBAN             MEMPHIS                  TN
40252   1GNSKHKC1LR285386   GM          SUBURBAN             NASHVILLE                TN
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40253   1GNSKHKC1LR285565   GM          SUBURBAN             DALLAS                   TX
40254   1GNSKHKC1LR286053   GM          SUBURBAN             CHICAGO                  IL
40255   1GNSKHKC2HR328401   GM          SUBURBAN             Portland                 OR
40256   1GNSKHKC2JR239014   GM          SUBURBAN             Fontana                  CA
40257   1GNSKHKC2JR260090   GM          SUBURBAN             Hayward                  CA
40258   1GNSKHKC2JR273003   GM          SUBURBAN             Clearwater               FL
40259   1GNSKHKC2JR354101   GM          SUBURBAN             Statesville              NC
40260   1GNSKHKC2JR358407   GM          SUBURBAN             BURBANK                  CA
40261   1GNSKHKC2JR366216   GM          SUBURBAN             Warminster               PA
40262   1GNSKHKC2JR368869   GM          SUBURBAN             PHOENIX                  AZ
40263   1GNSKHKC2JR374834   GM          SUBURBAN             ANCHORAGE                AK
40264   1GNSKHKC2JR377961   GM          SUBURBAN             HARTFORD                 CT
40265   1GNSKHKC2JR381024   GM          SUBURBAN             Statesville              NC
40266   1GNSKHKC2JR381086   GM          SUBURBAN             Fontana                  CA
40267   1GNSKHKC2JR384795   GM          SUBURBAN             Ventura                  CA
40268   1GNSKHKC2JR384926   GM          SUBURBAN             Fontana                  CA
40269   1GNSKHKC2JR384943   GM          SUBURBAN             Englewood                CO
40270   1GNSKHKC2JR386563   GM          SUBURBAN             Tampa                    FL
40271   1GNSKHKC2JR399748   GM          SUBURBAN             Fontana                  CA
40272   1GNSKHKC2JR400039   GM          SUBURBAN             Fresno                   CA
40273   1GNSKHKC2JR400574   GM          SUBURBAN             WEST PALM BEACH          FL
40274   1GNSKHKC2JR401062   GM          SUBURBAN             PENSACOLA                FL
40275   1GNSKHKC2JR401871   GM          SUBURBAN             North Dighton            MA
40276   1GNSKHKC2KR186462   GM          SUBURBAN             Statesville              NC
40277   1GNSKHKC2KR187921   GM          SUBURBAN             Richmond                 VA
40278   1GNSKHKC2KR190155   GM          SUBURBAN             LAS VEGAS                NV
40279   1GNSKHKC2KR190950   GM          SUBURBAN             BIRMINGHAN               AL
40280   1GNSKHKC2KR196411   GM          SUBURBAN             DAYTONA BEACH            FL
40281   1GNSKHKC2KR200151   GM          SUBURBAN             Atlanta                  GA
40282   1GNSKHKC2KR201462   GM          SUBURBAN             Costa Mesa               CA
40283   1GNSKHKC2KR201879   GM          SUBURBAN             ORLANDO                  FL
40284   1GNSKHKC2KR205124   GM          SUBURBAN             FORT LAUDERDALE          FL
40285   1GNSKHKC2KR213160   GM          SUBURBAN             Atlanta                  GA
40286   1GNSKHKC2KR216981   GM          SUBURBAN             BOISE                    US
40287   1GNSKHKC2KR274461   GM          SUBURBAN             Carleton                 MI
40288   1GNSKHKC2KR274881   GM          SUBURBAN             Oceanside                CA
40289   1GNSKHKC2KR277442   GM          SUBURBAN             LOS ANGELES AP           CA
40290   1GNSKHKC2KR277960   GM          SUBURBAN             TRACY                    CA
40291   1GNSKHKC2KR278056   GM          SUBURBAN             AUSTIN                   TX
40292   1GNSKHKC2KR278591   GM          SUBURBAN             DENVER                   CO
40293   1GNSKHKC2KR279126   GM          SUBURBAN             JACKSONVILLE             FL
40294   1GNSKHKC2KR279241   GM          SUBURBAN             SOUTHEAST DST OFFC       OK
40295   1GNSKHKC2KR279286   GM          SUBURBAN             Bensalem                 PA
40296   1GNSKHKC2KR280485   GM          SUBURBAN             KNOXVILLE                TN
40297   1GNSKHKC2KR282107   GM          SUBURBAN             Miami                    FL
40298   1GNSKHKC2KR283015   GM          SUBURBAN             SAN ANTONIO              TX
40299   1GNSKHKC2KR283581   GM          SUBURBAN             Miami                    FL
40300   1GNSKHKC2KR283788   GM          SUBURBAN             FORT MYERS               FL
40301   1GNSKHKC2KR286609   GM          SUBURBAN             SAINT PAUL               MN
40302   1GNSKHKC2KR287291   GM          SUBURBAN             Houston                  TX
40303   1GNSKHKC2KR288778   GM          SUBURBAN             Atlanta                  GA
40304   1GNSKHKC2KR290188   GM          SUBURBAN             Greensboro               NC
40305   1GNSKHKC2KR290983   GM          SUBURBAN             SALT LAKE CITY           US
40306   1GNSKHKC2KR291275   GM          SUBURBAN             DENVER                   CO
40307   1GNSKHKC2KR300914   GM          SUBURBAN             Tolleson                 AZ
40308   1GNSKHKC2KR332715   GM          SUBURBAN             WILMINGTON               NC
40309   1GNSKHKC2KR334285   GM          SUBURBAN             Plainfield               IN
40310   1GNSKHKC2KR334576   GM          SUBURBAN             Marietta                 GA
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40311   1GNSKHKC2KR335596   GM          SUBURBAN             DALLAS                   TX
40312   1GNSKHKC2KR336909   GM          SUBURBAN             Denver                   CO
40313   1GNSKHKC2KR339079   GM          SUBURBAN             SOUTH SAN FRANC          CA
40314   1GNSKHKC2KR363415   GM          SUBURBAN             LOS ANGELES              CA
40315   1GNSKHKC2KR364953   GM          SUBURBAN             FRESNO                   CA
40316   1GNSKHKC2KR365293   GM          SUBURBAN             SALT LAKE CITY           US
40317   1GNSKHKC2KR366315   GM          SUBURBAN             ORLANDO                  FL
40318   1GNSKHKC2KR366654   GM          SUBURBAN             BURBANK                  CA
40319   1GNSKHKC2KR375712   GM          SUBURBAN             SAN FRANCISCO            CA
40320   1GNSKHKC2KR376018   GM          SUBURBAN             DENVER                   CO
40321   1GNSKHKC2KR376830   GM          SUBURBAN             DENVER                   CO
40322   1GNSKHKC2KR377816   GM          SUBURBAN             SOUTH SAN FRANC          CA
40323   1GNSKHKC2KR378609   GM          SUBURBAN             GYPSUM                   CO
40324   1GNSKHKC2KR380957   GM          SUBURBAN             OAKLAND                  CA
40325   1GNSKHKC2KR381669   GM          SUBURBAN             ORLANDO                  FL
40326   1GNSKHKC2KR391764   GM          SUBURBAN             CHARLOTTE                NC
40327   1GNSKHKC2KR394261   GM          SUBURBAN             ORLANDO                  FL
40328   1GNSKHKC2KR396558   GM          SUBURBAN             ORLANDO                  FL
40329   1GNSKHKC2KR396625   GM          SUBURBAN             FRESNO                   CA
40330   1GNSKHKC2KR396852   GM          SUBURBAN             BOSTON                   MA
40331   1GNSKHKC2KR402617   GM          SUBURBAN             Torrance                 CA
40332   1GNSKHKC2KR403038   GM          SUBURBAN             SAN DIEGO                CA
40333   1GNSKHKC2KR406408   GM          SUBURBAN             BURBANK                  CA
40334   1GNSKHKC2KR409471   GM          SUBURBAN             LOS ANGELES              CA
40335   1GNSKHKC2LR152183   GM          SUBURBAN             PHOENIX                  AZ
40336   1GNSKHKC2LR152197   GM          SUBURBAN             ORLANDO                  FL
40337   1GNSKHKC2LR152328   GM          SUBURBAN             LOS ANGELES              CA
40338   1GNSKHKC2LR152748   GM          SUBURBAN             Miami                    FL
40339   1GNSKHKC2LR153124   GM          SUBURBAN             WEST PALM BEACH          FL
40340   1GNSKHKC2LR153222   GM          SUBURBAN             PHOENIX                  AZ
40341   1GNSKHKC2LR153317   GM          SUBURBAN             TAMPA                    FL
40342   1GNSKHKC2LR153608   GM          SUBURBAN             TAMPA                    US
40343   1GNSKHKC2LR153639   GM          SUBURBAN             SARASOTA                 FL
40344   1GNSKHKC2LR153883   GM          SUBURBAN             Leesburg                 VA
40345   1GNSKHKC2LR154192   GM          SUBURBAN             DALLAS                   TX
40346   1GNSKHKC2LR154824   GM          SUBURBAN             STERLING                 VA
40347   1GNSKHKC2LR155245   GM          SUBURBAN             NEW ORLEANS              LA
40348   1GNSKHKC2LR155536   GM          SUBURBAN             PHOENIX                  AZ
40349   1GNSKHKC2LR155732   GM          SUBURBAN             UNION CITY               GA
40350   1GNSKHKC2LR155780   GM          SUBURBAN             PHOENIX                  AZ
40351   1GNSKHKC2LR155861   GM          SUBURBAN             Stone Mountain           GA
40352   1GNSKHKC2LR155892   GM          SUBURBAN             BALTIMORE                MD
40353   1GNSKHKC2LR155925   GM          SUBURBAN             NEW BERN                 NC
40354   1GNSKHKC2LR155990   GM          SUBURBAN             SHREVEPORT               LA
40355   1GNSKHKC2LR156007   GM          SUBURBAN             SAN ANTONIO              TX
40356   1GNSKHKC2LR156136   GM          SUBURBAN             TAMPA                    FL
40357   1GNSKHKC2LR156265   GM          SUBURBAN             PHOENIX                  AZ
40358   1GNSKHKC2LR156282   GM          SUBURBAN             Atlanta                  GA
40359   1GNSKHKC2LR156430   GM          SUBURBAN             AUSTIN                   TX
40360   1GNSKHKC2LR156556   GM          SUBURBAN             BUTLER                   PA
40361   1GNSKHKC2LR156931   GM          SUBURBAN             ORLANDO                  FL
40362   1GNSKHKC2LR157030   GM          SUBURBAN             HOUSTON                  TX
40363   1GNSKHKC2LR157111   GM          SUBURBAN             HOUSTON                  TX
40364   1GNSKHKC2LR157156   GM          SUBURBAN             PENSACOLA                FL
40365   1GNSKHKC2LR157304   GM          SUBURBAN             ORLANDO                  FL
40366   1GNSKHKC2LR157349   GM          SUBURBAN             COLUMBIA                 SC
40367   1GNSKHKC2LR157397   GM          SUBURBAN             TUCSON                   AZ
40368   1GNSKHKC2LR157402   GM          SUBURBAN             FORT MYERS               FL
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40369   1GNSKHKC2LR157450   GM          SUBURBAN             DETROIT                  MI
40370   1GNSKHKC2LR157688   GM          SUBURBAN             ORLANDO                  FL
40371   1GNSKHKC2LR157691   GM          SUBURBAN             Norfolk                  VA
40372   1GNSKHKC2LR157710   GM          SUBURBAN             TAMPA                    FL
40373   1GNSKHKC2LR157755   GM          SUBURBAN             BURBANK                  CA
40374   1GNSKHKC2LR157822   GM          SUBURBAN             HOUSTON                  TX
40375   1GNSKHKC2LR157836   GM          SUBURBAN             PHOENIX                  AZ
40376   1GNSKHKC2LR157853   GM          SUBURBAN             KENNER                   LA
40377   1GNSKHKC2LR157898   GM          SUBURBAN             DALLAS                   TX
40378   1GNSKHKC2LR158047   GM          SUBURBAN             TAMPA                    FL
40379   1GNSKHKC2LR158050   GM          SUBURBAN             JACKSONVILLE             FL
40380   1GNSKHKC2LR158260   GM          SUBURBAN             DES MOINES               IA
40381   1GNSKHKC2LR158307   GM          SUBURBAN             PHOENIX                  AZ
40382   1GNSKHKC2LR158551   GM          SUBURBAN             LOS ANGELES              CA
40383   1GNSKHKC2LR158646   GM          SUBURBAN             CHARLESTON               WV
40384   1GNSKHKC2LR158839   GM          SUBURBAN             DENVER                   CO
40385   1GNSKHKC2LR158856   GM          SUBURBAN             Atlanta                  GA
40386   1GNSKHKC2LR158890   GM          SUBURBAN             Teterboro                NJ
40387   1GNSKHKC2LR158999   GM          SUBURBAN             HOUSTON                  TX
40388   1GNSKHKC2LR159019   GM          SUBURBAN             HOUSTON                  TX
40389   1GNSKHKC2LR159148   GM          SUBURBAN             BIRMINGHAM               AL
40390   1GNSKHKC2LR159165   GM          SUBURBAN             HOUSTON                  TX
40391   1GNSKHKC2LR159358   GM          SUBURBAN             Downey                   CA
40392   1GNSKHKC2LR161028   GM          SUBURBAN             BUFFALO                  NY
40393   1GNSKHKC2LR167041   GM          SUBURBAN             KANSAS CITY              MO
40394   1GNSKHKC2LR169064   GM          SUBURBAN             Kansas City              MO
40395   1GNSKHKC2LR169730   GM          SUBURBAN             WICHITA FALLS            TX
40396   1GNSKHKC2LR234785   GM          SUBURBAN             SANTA ANA                CA
40397   1GNSKHKC2LR235001   GM          SUBURBAN             ONTARIO                  CA
40398   1GNSKHKC2LR235581   GM          SUBURBAN             ROCHESTER                NY
40399   1GNSKHKC2LR236195   GM          SUBURBAN             HARTFORD                 CT
40400   1GNSKHKC2LR236410   GM          SUBURBAN             WHITE PLAINS             NY
40401   1GNSKHKC2LR236889   GM          SUBURBAN             BOSTON                   MA
40402   1GNSKHKC2LR237475   GM          SUBURBAN             PENSACOLA                FL
40403   1GNSKHKC2LR238142   GM          SUBURBAN             PHILADELPHIA             PA
40404   1GNSKHKC2LR239534   GM          SUBURBAN             BOSTON                   MA
40405   1GNSKHKC2LR240909   GM          SUBURBAN             ALBANY                   N
40406   1GNSKHKC2LR240943   GM          SUBURBAN             PENSACOLA                FL
40407   1GNSKHKC2LR243146   GM          SUBURBAN             LOS ANGELES              CA
40408   1GNSKHKC2LR243969   GM          SUBURBAN             Teterboro                NJ
40409   1GNSKHKC2LR244183   GM          SUBURBAN             PORTLAND                 OR
40410   1GNSKHKC2LR244247   GM          SUBURBAN             KNOXVILLE                TN
40411   1GNSKHKC2LR244457   GM          SUBURBAN             BOSTON                   MA
40412   1GNSKHKC2LR244569   GM          SUBURBAN             Atlanta                  GA
40413   1GNSKHKC2LR244667   GM          SUBURBAN             PENSACOLA                FL
40414   1GNSKHKC2LR244734   GM          SUBURBAN             NORFOLK                  VA
40415   1GNSKHKC2LR244880   GM          SUBURBAN             WEST PALM BEACH          FL
40416   1GNSKHKC2LR244958   GM          SUBURBAN             HOUSTON                  TX
40417   1GNSKHKC2LR244992   GM          SUBURBAN             NEW BERN                 NC
40418   1GNSKHKC2LR248105   GM          SUBURBAN             BURBANK                  CA
40419   1GNSKHKC2LR248119   GM          SUBURBAN             BURBANK                  CA
40420   1GNSKHKC2LR249349   GM          SUBURBAN             BOSTON                   MA
40421   1GNSKHKC2LR249755   GM          SUBURBAN             KENNER                   LA
40422   1GNSKHKC2LR250713   GM          SUBURBAN             MIAMI                    FL
40423   1GNSKHKC2LR250890   GM          SUBURBAN             FORT LAUDERDALE          FL
40424   1GNSKHKC2LR251442   GM          SUBURBAN             HANOVER                  MD
40425   1GNSKHKC2LR251456   GM          SUBURBAN             ATLANTA                  GA
40426   1GNSKHKC2LR251909   GM          SUBURBAN             ROANOKE                  VA
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40427   1GNSKHKC2LR257368   GM          SUBURBAN             CHARLESTON               WV
40428   1GNSKHKC2LR257791   GM          SUBURBAN             PITTSBURGH               PA
40429   1GNSKHKC2LR262747   GM          SUBURBAN             SEATAC                   WA
40430   1GNSKHKC2LR263011   GM          SUBURBAN             PROVIDENCE               RI
40431   1GNSKHKC2LR264403   GM          SUBURBAN             BOSTON                   MA
40432   1GNSKHKC2LR264434   GM          SUBURBAN             ROCHESTER                NY
40433   1GNSKHKC2LR264689   GM          SUBURBAN             ALBANY                   NY
40434   1GNSKHKC2LR266782   GM          SUBURBAN             NEW YORK CITY            NY
40435   1GNSKHKC2LR268189   GM          SUBURBAN             WARWICK                  RI
40436   1GNSKHKC2LR268323   GM          SUBURBAN             NEW BERN                 NC
40437   1GNSKHKC2LR269875   GM          SUBURBAN             NEWARK                   NJ
40438   1GNSKHKC2LR270685   GM          SUBURBAN             PHILADELPHIA             PA
40439   1GNSKHKC2LR271187   GM          SUBURBAN             WHITE PLAINS             NY
40440   1GNSKHKC2LR272176   GM          SUBURBAN             RALEIGH                  NC
40441   1GNSKHKC2LR272288   GM          SUBURBAN             FORT MYERS               FL
40442   1GNSKHKC2LR273571   GM          SUBURBAN             SAN DIEGO                CA
40443   1GNSKHKC2LR277037   GM          SUBURBAN             DALLAS                   TX
40444   1GNSKHKC2LR280729   GM          SUBURBAN             ATLANTA                  GA
40445   1GNSKHKC2LR281119   GM          SUBURBAN             PENSACOLA                FL
40446   1GNSKHKC2LR281511   GM          SUBURBAN             ATLANTA                  GA
40447   1GNSKHKC2LR281802   GM          SUBURBAN             Atlanta                  GA
40448   1GNSKHKC2LR282187   GM          SUBURBAN             ATLANTA                  GA
40449   1GNSKHKC2LR282206   GM          SUBURBAN             MEMPHIS                  TN
40450   1GNSKHKC2LR282268   GM          SUBURBAN             BIRMINGHAM               AL
40451   1GNSKHKC2LR282559   GM          SUBURBAN             COLLEGE PARK             GA
40452   1GNSKHKC2LR282657   GM          SUBURBAN             MEMPHIS                  TN
40453   1GNSKHKC2LR282738   GM          SUBURBAN             UNION CITY               GA
40454   1GNSKHKC2LR282769   GM          SUBURBAN             MEMPHIS                  TN
40455   1GNSKHKC2LR283159   GM          SUBURBAN             COLLEGE PARK             GA
40456   1GNSKHKC2LR283808   GM          SUBURBAN             HOUSTON                  TX
40457   1GNSKHKC2LR283968   GM          SUBURBAN             CHICAGO                  IL
40458   1GNSKHKC2LR284019   GM          SUBURBAN             MIAMI                    FL
40459   1GNSKHKC2LR284425   GM          SUBURBAN             STERLING                 VA
40460   1GNSKHKC2LR284828   GM          SUBURBAN             DALLAS                   TX
40461   1GNSKHKC2LR284957   GM          SUBURBAN             CHICAGO                  IL
40462   1GNSKHKC2LR285168   GM          SUBURBAN             DALLAS                   TX
40463   1GNSKHKC2LR285641   GM          SUBURBAN             CHICAGO                  IL
40464   1GNSKHKC3JR259790   GM          SUBURBAN             Fontana                  CA
40465   1GNSKHKC3JR276265   GM          SUBURBAN             Fontana                  CA
40466   1GNSKHKC3JR365625   GM          SUBURBAN             North Dighton            MA
40467   1GNSKHKC3JR371778   GM          SUBURBAN             NORFOLK                  VA
40468   1GNSKHKC3JR372476   GM          SUBURBAN             ANCHORAGE                AK
40469   1GNSKHKC3JR373238   GM          SUBURBAN             DENVER                   CO
40470   1GNSKHKC3JR375085   GM          SUBURBAN             KENNER                   LA
40471   1GNSKHKC3JR377743   GM          SUBURBAN             ORLANDO                  FL
40472   1GNSKHKC3JR378035   GM          SUBURBAN             Salt Lake City           UT
40473   1GNSKHKC3JR378150   GM          SUBURBAN             Pasadena                 CA
40474   1GNSKHKC3JR378942   GM          SUBURBAN             Riverside                CA
40475   1GNSKHKC3JR381226   GM          SUBURBAN             Teterboro                NJ
40476   1GNSKHKC3JR384191   GM          SUBURBAN             WEST PALM BEACH          FL
40477   1GNSKHKC3KR188480   GM          SUBURBAN             NEW BERN                 NC
40478   1GNSKHKC3KR188978   GM          SUBURBAN             Fontana                  CA
40479   1GNSKHKC3KR190701   GM          SUBURBAN             TAMPA                    FL
40480   1GNSKHKC3KR194568   GM          SUBURBAN             North Dighton            MA
40481   1GNSKHKC3KR197504   GM          SUBURBAN             JAMAICA                  NY
40482   1GNSKHKC3KR199026   GM          SUBURBAN             ORLANDO                  FL
40483   1GNSKHKC3KR199298   GM          SUBURBAN             Statesville              NC
40484   1GNSKHKC3KR202023   GM          SUBURBAN             Manheim                  PA
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40485   1GNSKHKC3KR223471   GM          SUBURBAN             ORLANDO                  FL
40486   1GNSKHKC3KR273304   GM          SUBURBAN             DENVER                   CO
40487   1GNSKHKC3KR274016   GM          SUBURBAN             Ventura                  CA
40488   1GNSKHKC3KR274033   GM          SUBURBAN             LAS VEGAS                NV
40489   1GNSKHKC3KR280222   GM          SUBURBAN             Atlanta                  GA
40490   1GNSKHKC3KR280706   GM          SUBURBAN             Nashville                TN
40491   1GNSKHKC3KR282522   GM          SUBURBAN             PITTSBURGH               PA
40492   1GNSKHKC3KR282620   GM          SUBURBAN             ORLANDO                  FL
40493   1GNSKHKC3KR284304   GM          SUBURBAN             SARASOTA                 FL
40494   1GNSKHKC3KR286375   GM          SUBURBAN             West Bountiful           UT
40495   1GNSKHKC3KR286408   GM          SUBURBAN             Davie                    FL
40496   1GNSKHKC3KR287087   GM          SUBURBAN             CHICAGO                  IL
40497   1GNSKHKC3KR287302   GM          SUBURBAN             HOUSTON                  TX
40498   1GNSKHKC3KR287929   GM          SUBURBAN             ATLANTA                  GA
40499   1GNSKHKC3KR288059   GM          SUBURBAN             PROVIDENCE               RI
40500   1GNSKHKC3KR290541   GM          SUBURBAN             PENSACOLA                FL
40501   1GNSKHKC3KR291317   GM          SUBURBAN             ORLANDO                  FL
40502   1GNSKHKC3KR291723   GM          SUBURBAN             ORLANDO                  FL
40503   1GNSKHKC3KR308701   GM          SUBURBAN             SAN ANTONIO              TX
40504   1GNSKHKC3KR311016   GM          SUBURBAN             MONTGOMERY               AL
40505   1GNSKHKC3KR331024   GM          SUBURBAN             SACRAMENTO               CA
40506   1GNSKHKC3KR331332   GM          SUBURBAN             DENVER                   CO
40507   1GNSKHKC3KR332125   GM          SUBURBAN             DENVER                   CO
40508   1GNSKHKC3KR335798   GM          SUBURBAN             BOISE                    US
40509   1GNSKHKC3KR337888   GM          SUBURBAN             SALT LAKE CITY           US
40510   1GNSKHKC3KR339950   GM          SUBURBAN             DENVER                   CO
40511   1GNSKHKC3KR342069   GM          SUBURBAN             DENVER                   CO
40512   1GNSKHKC3KR361267   GM          SUBURBAN             Miami                    FL
40513   1GNSKHKC3KR362936   GM          SUBURBAN             HOUSTON                  TX
40514   1GNSKHKC3KR364931   GM          SUBURBAN             SAN FRANCISCO            CA
40515   1GNSKHKC3KR367120   GM          SUBURBAN             SACRAMENTO               CA
40516   1GNSKHKC3KR373936   GM          SUBURBAN             DENVER                   CO
40517   1GNSKHKC3KR375413   GM          SUBURBAN             TULSA                    OK
40518   1GNSKHKC3KR375993   GM          SUBURBAN             CHARLESTON               WV
40519   1GNSKHKC3KR380661   GM          SUBURBAN             Woodhaven                MI
40520   1GNSKHKC3KR381440   GM          SUBURBAN             BURBANK                  CA
40521   1GNSKHKC3KR396066   GM          SUBURBAN             Lake Elsinore            CA
40522   1GNSKHKC3KR396083   GM          SUBURBAN             North Dighton            MA
40523   1GNSKHKC3KR396181   GM          SUBURBAN             CHICAGO                  IL
40524   1GNSKHKC3KR398237   GM          SUBURBAN             DENVER                   CO
40525   1GNSKHKC3KR401945   GM          SUBURBAN             LAS VEGAS                NV
40526   1GNSKHKC3KR406742   GM          SUBURBAN             LAS VEGAS                NV
40527   1GNSKHKC3KR407857   GM          SUBURBAN             KNOXVILLE                TN
40528   1GNSKHKC3KR408846   GM          SUBURBAN             SAN DIEGO                CA
40529   1GNSKHKC3LR152192   GM          SUBURBAN             RICHMOND                 VA
40530   1GNSKHKC3LR152600   GM          SUBURBAN             DALLAS                   TX
40531   1GNSKHKC3LR152645   GM          SUBURBAN             SAINT PAUL               MN
40532   1GNSKHKC3LR152712   GM          SUBURBAN             ORLANDO                  FL
40533   1GNSKHKC3LR152936   GM          SUBURBAN             Albuquerque              NM
40534   1GNSKHKC3LR153200   GM          SUBURBAN             SAN ANTONIO              TX
40535   1GNSKHKC3LR153214   GM          SUBURBAN             CHICAGO                  IL
40536   1GNSKHKC3LR153245   GM          SUBURBAN             DENVER                   CO
40537   1GNSKHKC3LR153410   GM          SUBURBAN             KENNER                   LA
40538   1GNSKHKC3LR153522   GM          SUBURBAN             TAMPA                    FL
40539   1GNSKHKC3LR153729   GM          SUBURBAN             JACKSON                  MS
40540   1GNSKHKC3LR153875   GM          SUBURBAN             PHOENIX                  AZ
40541   1GNSKHKC3LR153908   GM          SUBURBAN             ORLANDO                  FL
40542   1GNSKHKC3LR153973   GM          SUBURBAN             HOUSTON                  TX
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40543   1GNSKHKC3LR154234   GM          SUBURBAN             JACKSONVILLE             FL
40544   1GNSKHKC3LR154248   GM          SUBURBAN             PHOENIX                  AZ
40545   1GNSKHKC3LR154363   GM          SUBURBAN             BLOOMINGTON              IL
40546   1GNSKHKC3LR154430   GM          SUBURBAN             KNOXVILLE                TN
40547   1GNSKHKC3LR154461   GM          SUBURBAN             PHOENIX                  AZ
40548   1GNSKHKC3LR154556   GM          SUBURBAN             HOUSTON                  TX
40549   1GNSKHKC3LR154833   GM          SUBURBAN             MEMPHIS                  TN
40550   1GNSKHKC3LR154881   GM          SUBURBAN             MIAMI                    FL
40551   1GNSKHKC3LR154931   GM          SUBURBAN             DENVER                   CO
40552   1GNSKHKC3LR155139   GM          SUBURBAN             FORT MYERS               FL
40553   1GNSKHKC3LR155268   GM          SUBURBAN             Miami                    FL
40554   1GNSKHKC3LR155299   GM          SUBURBAN             FORT LAUDERDALE          FL
40555   1GNSKHKC3LR155321   GM          SUBURBAN             JACKSONVILLE             FL
40556   1GNSKHKC3LR155755   GM          SUBURBAN             ORLANDO                  FL
40557   1GNSKHKC3LR156016   GM          SUBURBAN             MIAMI                    FL
40558   1GNSKHKC3LR156288   GM          SUBURBAN             STERLING                 VA
40559   1GNSKHKC3LR156307   GM          SUBURBAN             BURLINGTON               VT
40560   1GNSKHKC3LR156369   GM          SUBURBAN             SANTA ANA                CA
40561   1GNSKHKC3LR156422   GM          SUBURBAN             DALLAS                   TX
40562   1GNSKHKC3LR156467   GM          SUBURBAN             SAN FRANCISCO            CA
40563   1GNSKHKC3LR156999   GM          SUBURBAN             Houston                  TX
40564   1GNSKHKC3LR157022   GM          SUBURBAN             PALM SPRINGS             CA
40565   1GNSKHKC3LR157036   GM          SUBURBAN             DALLAS                   TX
40566   1GNSKHKC3LR157103   GM          SUBURBAN             BURBANK                  CA
40567   1GNSKHKC3LR157148   GM          SUBURBAN             LAS VEGAS                NV
40568   1GNSKHKC3LR157165   GM          SUBURBAN             DALLAS                   TX
40569   1GNSKHKC3LR157277   GM          SUBURBAN             TULSA                    OK
40570   1GNSKHKC3LR157392   GM          SUBURBAN             WEST COLUMBIA            SC
40571   1GNSKHKC3LR157439   GM          SUBURBAN             LOS ANGELES              CA
40572   1GNSKHKC3LR157456   GM          SUBURBAN             ORLANDO                  FL
40573   1GNSKHKC3LR157764   GM          SUBURBAN             BUFFALO                  NY
40574   1GNSKHKC3LR157781   GM          SUBURBAN             MIAMI                    FL
40575   1GNSKHKC3LR157876   GM          SUBURBAN             NEWARK                   NJ
40576   1GNSKHKC3LR157893   GM          SUBURBAN             ORLANDO                  FL
40577   1GNSKHKC3LR158087   GM          SUBURBAN             WINTER PARK              FL
40578   1GNSKHKC3LR158543   GM          SUBURBAN             DENVER                   CO
40579   1GNSKHKC3LR158588   GM          SUBURBAN             DALLAS                   TX
40580   1GNSKHKC3LR158591   GM          SUBURBAN             HOUSTON                  TX
40581   1GNSKHKC3LR158624   GM          SUBURBAN             WEST PALM BEACH          FL
40582   1GNSKHKC3LR158641   GM          SUBURBAN             TAMPA                    FL
40583   1GNSKHKC3LR158784   GM          SUBURBAN             ATLANTA                  GA
40584   1GNSKHKC3LR158977   GM          SUBURBAN             DALLAS                   TX
40585   1GNSKHKC3LR158980   GM          SUBURBAN             Miami                    FL
40586   1GNSKHKC3LR159031   GM          SUBURBAN             GRAND RAPIDS             MI
40587   1GNSKHKC3LR159045   GM          SUBURBAN             MCALLEN                  TX
40588   1GNSKHKC3LR159238   GM          SUBURBAN             SAN ANTONIO              TX
40589   1GNSKHKC3LR159305   GM          SUBURBAN             HOUSTON                  TX
40590   1GNSKHKC3LR159417   GM          SUBURBAN             PENSACOLA                FL
40591   1GNSKHKC3LR160597   GM          SUBURBAN             WEST PALM BEACH          FL
40592   1GNSKHKC3LR171681   GM          SUBURBAN             KANSAS CITY              MO
40593   1GNSKHKC3LR234813   GM          SUBURBAN             ROANOKE                  VA
40594   1GNSKHKC3LR235721   GM          SUBURBAN             WARWICK                  RI
40595   1GNSKHKC3LR235847   GM          SUBURBAN             PHILADELPHIA             PA
40596   1GNSKHKC3LR236206   GM          SUBURBAN             STERLING                 VA
40597   1GNSKHKC3LR236951   GM          SUBURBAN             WHITE PLAINS             NY
40598   1GNSKHKC3LR237095   GM          SUBURBAN             Newark                   NJ
40599   1GNSKHKC3LR237811   GM          SUBURBAN             BOSTON                   MA
40600   1GNSKHKC3LR238991   GM          SUBURBAN             BOSTON                   MA
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40601   1GNSKHKC3LR239784   GM          SUBURBAN             LOS ANGELES              CA
40602   1GNSKHKC3LR242636   GM          SUBURBAN             BOSTON                   MA
40603   1GNSKHKC3LR242782   GM          SUBURBAN             SACRAMENTO               CA
40604   1GNSKHKC3LR242930   GM          SUBURBAN             SAINT LOUIS              MO
40605   1GNSKHKC3LR243818   GM          SUBURBAN             KANSAS CITY              MO
40606   1GNSKHKC3LR244354   GM          SUBURBAN             DENVER                   CO
40607   1GNSKHKC3LR244449   GM          SUBURBAN             PHILADELPHIA             PA
40608   1GNSKHKC3LR244497   GM          SUBURBAN             PHILADELPHIA             PA
40609   1GNSKHKC3LR244693   GM          SUBURBAN             BALTIMORE                MD
40610   1GNSKHKC3LR244712   GM          SUBURBAN             NEW BERN                 NC
40611   1GNSKHKC3LR246444   GM          SUBURBAN             ALBANY                   NY
40612   1GNSKHKC3LR247061   GM          SUBURBAN             NEW BERN                 NC
40613   1GNSKHKC3LR250316   GM          SUBURBAN             ORLANDO                  FL
40614   1GNSKHKC3LR250719   GM          SUBURBAN             OXFORD                   MS
40615   1GNSKHKC3LR252261   GM          SUBURBAN             SAINT PAUL               MN
40616   1GNSKHKC3LR256617   GM          SUBURBAN             SANTA ANA                CA
40617   1GNSKHKC3LR256911   GM          SUBURBAN             ATLANTA                  GA
40618   1GNSKHKC3LR257301   GM          SUBURBAN             GYPSUM                   CO
40619   1GNSKHKC3LR258089   GM          SUBURBAN             ALBANY                   NY
40620   1GNSKHKC3LR263454   GM          SUBURBAN             SOUTH BURLINGTO          VT
40621   1GNSKHKC3LR263597   GM          SUBURBAN             East Granby              CT
40622   1GNSKHKC3LR263714   GM          SUBURBAN             SOUTH BURLINGTO          VT
40623   1GNSKHKC3LR263776   GM          SUBURBAN             SOUTH BURLINGTO          VT
40624   1GNSKHKC3LR265110   GM          SUBURBAN             BOSTON                   MA
40625   1GNSKHKC3LR265298   GM          SUBURBAN             SYRACUSE                 NY
40626   1GNSKHKC3LR267522   GM          SUBURBAN             Tulsa                    OK
40627   1GNSKHKC3LR268041   GM          SUBURBAN             SANTA ANA                CA
40628   1GNSKHKC3LR268251   GM          SUBURBAN             STERLING                 VA
40629   1GNSKHKC3LR270744   GM          SUBURBAN             TAMPA                    FL
40630   1GNSKHKC3LR273918   GM          SUBURBAN             Atlanta                  GA
40631   1GNSKHKC3LR273935   GM          SUBURBAN             High Point               NC
40632   1GNSKHKC3LR274664   GM          SUBURBAN             SEATAC                   WA
40633   1GNSKHKC3LR274681   GM          SUBURBAN             BIRMINGHAM               AL
40634   1GNSKHKC3LR274972   GM          SUBURBAN             BIRMINGHAM               AL
40635   1GNSKHKC3LR275927   GM          SUBURBAN             BIRMINGHAM               AL
40636   1GNSKHKC3LR280786   GM          SUBURBAN             MEMPHIS                  TN
40637   1GNSKHKC3LR280822   GM          SUBURBAN             ORLANDO                  FL
40638   1GNSKHKC3LR281176   GM          SUBURBAN             ATLANTA                  GA
40639   1GNSKHKC3LR281341   GM          SUBURBAN             JACKSON                  MS
40640   1GNSKHKC3LR281999   GM          SUBURBAN             ATLANTA                  GA
40641   1GNSKHKC3LR282165   GM          SUBURBAN             ATLANTA                  GA
40642   1GNSKHKC3LR282277   GM          SUBURBAN             KNOXVILLE                TN
40643   1GNSKHKC3LR282733   GM          SUBURBAN             COLLEGE PARK             GA
40644   1GNSKHKC3LR283008   GM          SUBURBAN             KNOXVILLE                TN
40645   1GNSKHKC3LR283364   GM          SUBURBAN             MEMPHIS                  TN
40646   1GNSKHKC3LR283445   GM          SUBURBAN             Atlanta                  GA
40647   1GNSKHKC3LR283543   GM          SUBURBAN             KNOXVILLE                TN
40648   1GNSKHKC3LR284367   GM          SUBURBAN             FORT LAUDERDALE          FL
40649   1GNSKHKC3LR284773   GM          SUBURBAN             JAMAICA                  NY
40650   1GNSKHKC3LR285079   GM          SUBURBAN             CHICAGO                  IL
40651   1GNSKHKC3LR285504   GM          SUBURBAN             SAINT PAUL               MN
40652   1GNSKHKC4JR241976   GM          SUBURBAN             Fontana                  CA
40653   1GNSKHKC4JR244635   GM          SUBURBAN             Kailua‐Kona              HI
40654   1GNSKHKC4JR249866   GM          SUBURBAN             Bordentown               NJ
40655   1GNSKHKC4JR264402   GM          SUBURBAN             Riverside                CA
40656   1GNSKHKC4JR273701   GM          SUBURBAN             Fontana                  CA
40657   1GNSKHKC4JR276386   GM          SUBURBAN             Aurora                   CO
40658   1GNSKHKC4JR383034   GM          SUBURBAN             PANAMA CITY              FL
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40659   1GNSKHKC4JR384653   GM          SUBURBAN             Santa Clara              CA
40660   1GNSKHKC4JR392168   GM          SUBURBAN             North Dighton            MA
40661   1GNSKHKC4JR403671   GM          SUBURBAN             Las Vegas                NV
40662   1GNSKHKC4JR405050   GM          SUBURBAN             Albuquerque              NM
40663   1GNSKHKC4KR188357   GM          SUBURBAN             SALT LAKE CITY           UT
40664   1GNSKHKC4KR193591   GM          SUBURBAN             DETROIT                  MI
40665   1GNSKHKC4KR194305   GM          SUBURBAN             SAN ANTONIO              TX
40666   1GNSKHKC4KR194465   GM          SUBURBAN             Manheim                  PA
40667   1GNSKHKC4KR196006   GM          SUBURBAN             Davie                    FL
40668   1GNSKHKC4KR196247   GM          SUBURBAN             Miami                    FL
40669   1GNSKHKC4KR196345   GM          SUBURBAN             Ventura                  CA
40670   1GNSKHKC4KR196474   GM          SUBURBAN             North Dighton            MA
40671   1GNSKHKC4KR199276   GM          SUBURBAN             DAYTONA BEACH            FL
40672   1GNSKHKC4KR199603   GM          SUBURBAN             SAVANNAH                 GA
40673   1GNSKHKC4KR202614   GM          SUBURBAN             Warminster               PA
40674   1GNSKHKC4KR203875   GM          SUBURBAN             Statesville              NC
40675   1GNSKHKC4KR205187   GM          SUBURBAN             SOUTHEAST DST OFFC       OK
40676   1GNSKHKC4KR212916   GM          SUBURBAN             Denver                   CO
40677   1GNSKHKC4KR224063   GM          SUBURBAN             ATLANTA AP               GA
40678   1GNSKHKC4KR273831   GM          SUBURBAN             SCOTTSBLUFF              NE
40679   1GNSKHKC4KR275899   GM          SUBURBAN             Manheim                  PA
40680   1GNSKHKC4KR277037   GM          SUBURBAN             Elkridge                 MD
40681   1GNSKHKC4KR277460   GM          SUBURBAN             MIAMI                    FL
40682   1GNSKHKC4KR278205   GM          SUBURBAN             TULSA                    OK
40683   1GNSKHKC4KR281329   GM          SUBURBAN             PENSACOLA                FL
40684   1GNSKHKC4KR282030   GM          SUBURBAN             HOUSTON                  TX
40685   1GNSKHKC4KR282142   GM          SUBURBAN             DAYTONA BEACH            FL
40686   1GNSKHKC4KR283730   GM          SUBURBAN             SANTA ANA                CA
40687   1GNSKHKC4KR283906   GM          SUBURBAN             Manheim                  PA
40688   1GNSKHKC4KR286806   GM          SUBURBAN             Oklahoma City            OK
40689   1GNSKHKC4KR287003   GM          SUBURBAN             KENNER                   LA
40690   1GNSKHKC4KR287275   GM          SUBURBAN             Austin                   TX
40691   1GNSKHKC4KR289026   GM          SUBURBAN             NEWARK                   NJ
40692   1GNSKHKC4KR290726   GM          SUBURBAN             STERLING                 VA
40693   1GNSKHKC4KR290774   GM          SUBURBAN             TULSA                    OK
40694   1GNSKHKC4KR290922   GM          SUBURBAN             Salt Lake City           UT
40695   1GNSKHKC4KR301191   GM          SUBURBAN             JACKSON                  WY
40696   1GNSKHKC4KR330402   GM          SUBURBAN             Fontana                  CA
40697   1GNSKHKC4KR334854   GM          SUBURBAN             Greensboro               NC
40698   1GNSKHKC4KR337978   GM          SUBURBAN             KNOXVILLE                TN
40699   1GNSKHKC4KR341528   GM          SUBURBAN             NEWARK                   NJ
40700   1GNSKHKC4KR362914   GM          SUBURBAN             FORT LAUDERDALE          FL
40701   1GNSKHKC4KR363724   GM          SUBURBAN             LOS ANGELES              CA
40702   1GNSKHKC4KR364940   GM          SUBURBAN             SAN DIEGO                CA
40703   1GNSKHKC4KR366851   GM          SUBURBAN             LAS VEGAS                NV
40704   1GNSKHKC4KR367210   GM          SUBURBAN             LOS ANGELES AP           CA
40705   1GNSKHKC4KR368096   GM          SUBURBAN             LOS ANGELES              CA
40706   1GNSKHKC4KR370799   GM          SUBURBAN             WEST COLUMBIA            SC
40707   1GNSKHKC4KR371614   GM          SUBURBAN             Manheim                  PA
40708   1GNSKHKC4KR373900   GM          SUBURBAN             Phoenix                  AZ
40709   1GNSKHKC4KR374898   GM          SUBURBAN             JACKSONVILLE             FL
40710   1GNSKHKC4KR376926   GM          SUBURBAN             Newark                   NJ
40711   1GNSKHKC4KR377333   GM          SUBURBAN             ATLANTA                  GA
40712   1GNSKHKC4KR377445   GM          SUBURBAN             TULSA                    OK
40713   1GNSKHKC4KR378238   GM          SUBURBAN             SAN FRANCISCO            CA
40714   1GNSKHKC4KR378630   GM          SUBURBAN             BOISE                    ID
40715   1GNSKHKC4KR395962   GM          SUBURBAN             SANTA CLARA              CA
40716   1GNSKHKC4KR396092   GM          SUBURBAN             ONTARIO                  CA
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40717   1GNSKHKC4KR396710   GM          SUBURBAN             SALT LAKE CITY           US
40718   1GNSKHKC4KR399364   GM          SUBURBAN             WINDER                   GA
40719   1GNSKHKC4KR399865   GM          SUBURBAN             SANTA ANA                CA
40720   1GNSKHKC4KR402392   GM          SUBURBAN             CHARLOTTE                NC
40721   1GNSKHKC4KR407057   GM          SUBURBAN             BURBANK                  CA
40722   1GNSKHKC4KR408323   GM          SUBURBAN             SANTA ANA                CA
40723   1GNSKHKC4KR408760   GM          SUBURBAN             Albuquerque              NM
40724   1GNSKHKC4LR152184   GM          SUBURBAN             MIAMI                    FL
40725   1GNSKHKC4LR152220   GM          SUBURBAN             AUSTIN                   TX
40726   1GNSKHKC4LR152234   GM          SUBURBAN             ORLANDO                  FL
40727   1GNSKHKC4LR152329   GM          SUBURBAN             SHREVEPORT               LA
40728   1GNSKHKC4LR152931   GM          SUBURBAN             FORT MYERS               FL
40729   1GNSKHKC4LR153321   GM          SUBURBAN             DETROIT                  MI
40730   1GNSKHKC4LR153707   GM          SUBURBAN             NORFOLK                  VA
40731   1GNSKHKC4LR153755   GM          SUBURBAN             MIAMI                    FL
40732   1GNSKHKC4LR154114   GM          SUBURBAN             DALLAS                   TX
40733   1GNSKHKC4LR154145   GM          SUBURBAN             ONTARIO                  CA
40734   1GNSKHKC4LR154212   GM          SUBURBAN             ORLANDO                  FL
40735   1GNSKHKC4LR154534   GM          SUBURBAN             CHARLESTON               SC
40736   1GNSKHKC4LR154632   GM          SUBURBAN             NORTH HILLS              CA
40737   1GNSKHKC4LR154677   GM          SUBURBAN             HOUSTON                  TX
40738   1GNSKHKC4LR154873   GM          SUBURBAN             JACKSON                  MS
40739   1GNSKHKC4LR155084   GM          SUBURBAN             FORT LAUDERDALE          FL
40740   1GNSKHKC4LR155523   GM          SUBURBAN             HOUSTON                  TX
40741   1GNSKHKC4LR155697   GM          SUBURBAN             PHOENIX                  AZ
40742   1GNSKHKC4LR155859   GM          SUBURBAN             FT. LAUDERDALE           FL
40743   1GNSKHKC4LR156381   GM          SUBURBAN             SAN DIEGO                CA
40744   1GNSKHKC4LR156459   GM          SUBURBAN             JACKSONVILLE             FL
40745   1GNSKHKC4LR156560   GM          SUBURBAN             Kansas City              MO
40746   1GNSKHKC4LR156591   GM          SUBURBAN             MIAMI                    FL
40747   1GNSKHKC4LR157031   GM          SUBURBAN             STERLING                 VA
40748   1GNSKHKC4LR157126   GM          SUBURBAN             MIAMI                    FL
40749   1GNSKHKC4LR157353   GM          SUBURBAN             PHOENIX                  AZ
40750   1GNSKHKC4LR157532   GM          SUBURBAN             ORLANDO                  FL
40751   1GNSKHKC4LR157613   GM          SUBURBAN             PHOENIX                  AZ
40752   1GNSKHKC4LR157806   GM          SUBURBAN             ORLANDO                  FL
40753   1GNSKHKC4LR157899   GM          SUBURBAN             MIAMI                    FL
40754   1GNSKHKC4LR158969   GM          SUBURBAN             HOUSTON                  TX
40755   1GNSKHKC4LR158986   GM          SUBURBAN             PHOENIX                  AZ
40756   1GNSKHKC4LR159233   GM          SUBURBAN             GRAND RAPIDS             MI
40757   1GNSKHKC4LR159247   GM          SUBURBAN             Atlanta                  GA
40758   1GNSKHKC4LR159314   GM          SUBURBAN             LOS ANGELES              CA
40759   1GNSKHKC4LR159412   GM          SUBURBAN             ORLANDO                  FL
40760   1GNSKHKC4LR167915   GM          SUBURBAN             HARTFORD                 CT
40761   1GNSKHKC4LR169728   GM          SUBURBAN             TUCSON                   AZ
40762   1GNSKHKC4LR169857   GM          SUBURBAN             CHICAGO                  IL
40763   1GNSKHKC4LR236425   GM          SUBURBAN             MIAMI                    FL
40764   1GNSKHKC4LR236649   GM          SUBURBAN             DALLAS                   TX
40765   1GNSKHKC4LR238482   GM          SUBURBAN             JACKSONVILLE             FL
40766   1GNSKHKC4LR238496   GM          SUBURBAN             BOSTON                   MA
40767   1GNSKHKC4LR239535   GM          SUBURBAN             CLEVELAND                OH
40768   1GNSKHKC4LR241107   GM          SUBURBAN             TAMPA                    FL
40769   1GNSKHKC4LR242774   GM          SUBURBAN             SACRAMENTO               CA
40770   1GNSKHKC4LR243956   GM          SUBURBAN             PHILADELPHIA             PA
40771   1GNSKHKC4LR243973   GM          SUBURBAN             BIRMINGHAM               AL
40772   1GNSKHKC4LR244010   GM          SUBURBAN             PHILADELPHIA             US
40773   1GNSKHKC4LR244329   GM          SUBURBAN             HOUSTON                  TX
40774   1GNSKHKC4LR244430   GM          SUBURBAN             CHARLOTTESVILLE          VA
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40775   1GNSKHKC4LR245075   GM          SUBURBAN             NASHVILLE                TN
40776   1GNSKHKC4LR245108   GM          SUBURBAN             LOS ANGELES              CA
40777   1GNSKHKC4LR249224   GM          SUBURBAN             PITTSBURGH               PA
40778   1GNSKHKC4LR250731   GM          SUBURBAN             TAMPA                    FL
40779   1GNSKHKC4LR253578   GM          SUBURBAN             SAINT PAUL               MN
40780   1GNSKHKC4LR258005   GM          SUBURBAN             CHICAGO O'HARE AP        IL
40781   1GNSKHKC4LR258277   GM          SUBURBAN             FORT MYERS               FL
40782   1GNSKHKC4LR258778   GM          SUBURBAN             PENSACOLA                FL
40783   1GNSKHKC4LR260868   GM          SUBURBAN             ONTARIO                  CA
40784   1GNSKHKC4LR260871   GM          SUBURBAN             PANAMA CITY              FL
40785   1GNSKHKC4LR261079   GM          SUBURBAN             SACRAMENTO               CA
40786   1GNSKHKC4LR262961   GM          SUBURBAN             BOSTON                   MA
40787   1GNSKHKC4LR264144   GM          SUBURBAN             BOSTON                   MA
40788   1GNSKHKC4LR264483   GM          SUBURBAN             BOSTON                   MA
40789   1GNSKHKC4LR264922   GM          SUBURBAN             MIAMI                    FL
40790   1GNSKHKC4LR265343   GM          SUBURBAN             BOSTON                   MA
40791   1GNSKHKC4LR266962   GM          SUBURBAN             SAINT PAUL               MN
40792   1GNSKHKC4LR268100   GM          SUBURBAN             Atlanta                  GA
40793   1GNSKHKC4LR273717   GM          SUBURBAN             SARASOTA                 FL
40794   1GNSKHKC4LR273779   GM          SUBURBAN             CHARLOTTE                NC
40795   1GNSKHKC4LR274186   GM          SUBURBAN             BIRMINGHAM               AL
40796   1GNSKHKC4LR276455   GM          SUBURBAN             NORFOLK                  VA
40797   1GNSKHKC4LR278111   GM          SUBURBAN             Atlanta                  GA
40798   1GNSKHKC4LR280912   GM          SUBURBAN             KENNER                   LA
40799   1GNSKHKC4LR281154   GM          SUBURBAN             NEW ORLEANS              LA
40800   1GNSKHKC4LR281171   GM          SUBURBAN             Atlanta                  GA
40801   1GNSKHKC4LR281414   GM          SUBURBAN             KNOXVILLE                TN
40802   1GNSKHKC4LR282045   GM          SUBURBAN             COLLEGE PARK             GA
40803   1GNSKHKC4LR282059   GM          SUBURBAN             Atlanta                  GA
40804   1GNSKHKC4LR282109   GM          SUBURBAN             BURBANK                  CA
40805   1GNSKHKC4LR282210   GM          SUBURBAN             ATLANTA                  GA
40806   1GNSKHKC4LR282224   GM          SUBURBAN             TAMPA                    FL
40807   1GNSKHKC4LR282451   GM          SUBURBAN             KENNESAW                 GA
40808   1GNSKHKC4LR282546   GM          SUBURBAN             UNION CITY               GA
40809   1GNSKHKC4LR282661   GM          SUBURBAN             MEMPHIS                  TN
40810   1GNSKHKC4LR282823   GM          SUBURBAN             COLLEGE PARK             GA
40811   1GNSKHKC4LR283230   GM          SUBURBAN             KNOXVILLE                TN
40812   1GNSKHKC4LR283664   GM          SUBURBAN             KNOXVILLE                TN
40813   1GNSKHKC4LR284491   GM          SUBURBAN             CHICAGO                  IL
40814   1GNSKHKC4LR284586   GM          SUBURBAN             NASHVILLE                TN
40815   1GNSKHKC4LR284801   GM          SUBURBAN             CORPUS CHRISTI           TX
40816   1GNSKHKC4LR285561   GM          SUBURBAN             CHICAGO MIDWAY           IL
40817   1GNSKHKC4LR286080   GM          SUBURBAN             SAINT PAUL               MN
40818   1GNSKHKC4LR286192   GM          SUBURBAN             CHICAGO                  IL
40819   1GNSKHKC5JR305944   GM          SUBURBAN             ANCHORAGE                AK
40820   1GNSKHKC5JR373242   GM          SUBURBAN             North Dighton            MA
40821   1GNSKHKC5JR374472   GM          SUBURBAN             Riverside                CA
40822   1GNSKHKC5JR381079   GM          SUBURBAN             SAN DIEGO                CA
40823   1GNSKHKC5JR386685   GM          SUBURBAN             Riverside                CA
40824   1GNSKHKC5JR395922   GM          SUBURBAN             Riverside                CA
40825   1GNSKHKC5JR396116   GM          SUBURBAN             Tampa                    FL
40826   1GNSKHKC5JR397363   GM          SUBURBAN             DAYTONA BEACH            FL
40827   1GNSKHKC5JR398867   GM          SUBURBAN             El Paso                  TX
40828   1GNSKHKC5JR400973   GM          SUBURBAN             NASHVILLE                TN
40829   1GNSKHKC5JR403713   GM          SUBURBAN             North Las Vegas          NV
40830   1GNSKHKC5KR186567   GM          SUBURBAN             FORT MYERS               FL
40831   1GNSKHKC5KR187931   GM          SUBURBAN             Miami                    FL
40832   1GNSKHKC5KR188366   GM          SUBURBAN             MIAMI                    FL
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40833   1GNSKHKC5KR189839   GM          SUBURBAN             N. Palm Beach            FL
40834   1GNSKHKC5KR194605   GM          SUBURBAN             SOUTH SAN FRANC          CA
40835   1GNSKHKC5KR195396   GM          SUBURBAN             DENVER                   CO
40836   1GNSKHKC5KR196192   GM          SUBURBAN             ORLANDO                  FL
40837   1GNSKHKC5KR199738   GM          SUBURBAN             FORT LAUDERDALE          FL
40838   1GNSKHKC5KR200290   GM          SUBURBAN             Tolleson                 AZ
40839   1GNSKHKC5KR203593   GM          SUBURBAN             BOZEMAN                  MT
40840   1GNSKHKC5KR206008   GM          SUBURBAN             Atlanta                  GA
40841   1GNSKHKC5KR274082   GM          SUBURBAN             Salt Lake City           UT
40842   1GNSKHKC5KR274499   GM          SUBURBAN             North Las Vegas          NV
40843   1GNSKHKC5KR275359   GM          SUBURBAN             CHARLESTON               SC
40844   1GNSKHKC5KR276088   GM          SUBURBAN             Riverside                CA
40845   1GNSKHKC5KR276544   GM          SUBURBAN             St. Louis                MO
40846   1GNSKHKC5KR276642   GM          SUBURBAN             BURBANK                  CA
40847   1GNSKHKC5KR277970   GM          SUBURBAN             BIRMINGHAM               AL
40848   1GNSKHKC5KR279122   GM          SUBURBAN             North Dighton            MA
40849   1GNSKHKC5KR279363   GM          SUBURBAN             PHILADELPHIA             PA
40850   1GNSKHKC5KR280190   GM          SUBURBAN             North Dighton            MA
40851   1GNSKHKC5KR280593   GM          SUBURBAN             Slidell                  LA
40852   1GNSKHKC5KR282604   GM          SUBURBAN             HOUSTON                  TX
40853   1GNSKHKC5KR282747   GM          SUBURBAN             Atlanta                  GA
40854   1GNSKHKC5KR284899   GM          SUBURBAN             PHILADELPHIA             PA
40855   1GNSKHKC5KR285213   GM          SUBURBAN             Chicago                  IL
40856   1GNSKHKC5KR287110   GM          SUBURBAN             North Canton             OH
40857   1GNSKHKC5KR287477   GM          SUBURBAN             Atlanta                  GA
40858   1GNSKHKC5KR288645   GM          SUBURBAN             SHREVEPORT               LA
40859   1GNSKHKC5KR289519   GM          SUBURBAN             DANIA BEACH              FL
40860   1GNSKHKC5KR290086   GM          SUBURBAN             Teterboro                NJ
40861   1GNSKHKC5KR331266   GM          SUBURBAN             LAS VEGAS                NV
40862   1GNSKHKC5KR332563   GM          SUBURBAN             ORLANDO                  FL
40863   1GNSKHKC5KR332787   GM          SUBURBAN             Riverside                CA
40864   1GNSKHKC5KR334264   GM          SUBURBAN             LAS VEGAS                NV
40865   1GNSKHKC5KR334474   GM          SUBURBAN             Riverside                CA
40866   1GNSKHKC5KR334720   GM          SUBURBAN             San Diego                CA
40867   1GNSKHKC5KR336872   GM          SUBURBAN             DENVER                   CO
40868   1GNSKHKC5KR344101   GM          SUBURBAN             SEATAC                   WA
40869   1GNSKHKC5KR362503   GM          SUBURBAN             SALT LAKE CITY           US
40870   1GNSKHKC5KR369242   GM          SUBURBAN             NEWARK                   NJ
40871   1GNSKHKC5KR369998   GM          SUBURBAN             Honolulu                 HI
40872   1GNSKHKC5KR370021   GM          SUBURBAN             BRONX                    NY
40873   1GNSKHKC5KR370262   GM          SUBURBAN             PITTSBURGH               PA
40874   1GNSKHKC5KR370472   GM          SUBURBAN             PORTLAND                 OR
40875   1GNSKHKC5KR372934   GM          SUBURBAN             MIAMI                    FL
40876   1GNSKHKC5KR373825   GM          SUBURBAN             KANSAS CITY              MO
40877   1GNSKHKC5KR375011   GM          SUBURBAN             PITTSBURGH               PA
40878   1GNSKHKC5KR375512   GM          SUBURBAN             Kent                     WA
40879   1GNSKHKC5KR375588   GM          SUBURBAN             KENNER                   LA
40880   1GNSKHKC5KR376577   GM          SUBURBAN             LAS VEGAS                NV
40881   1GNSKHKC5KR378054   GM          SUBURBAN             SALT LAKE CITY           UT
40882   1GNSKHKC5KR378149   GM          SUBURBAN             OAKLAND                  CA
40883   1GNSKHKC5KR378247   GM          SUBURBAN             SALT LAKE CITY           US
40884   1GNSKHKC5KR378944   GM          SUBURBAN             SAN JOSE                 CA
40885   1GNSKHKC5KR379088   GM          SUBURBAN             Albuquerque              NM
40886   1GNSKHKC5KR380192   GM          SUBURBAN             Ft. Myers                FL
40887   1GNSKHKC5KR380564   GM          SUBURBAN             LOS ANGELES              CA
40888   1GNSKHKC5KR381391   GM          SUBURBAN             PHOENIX                  AZ
40889   1GNSKHKC5KR390351   GM          SUBURBAN             STERLING                 VA
40890   1GNSKHKC5KR391368   GM          SUBURBAN             WEST PALM BEACH          FL
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40891   1GNSKHKC5KR392472   GM          SUBURBAN             NEW BERN                 NC
40892   1GNSKHKC5KR393671   GM          SUBURBAN             MIAMI                    FL
40893   1GNSKHKC5KR396327   GM          SUBURBAN             LOS ANGELES              CA
40894   1GNSKHKC5KR396487   GM          SUBURBAN             SEATAC                   WA
40895   1GNSKHKC5KR396490   GM          SUBURBAN             BURBANK                  CA
40896   1GNSKHKC5KR399342   GM          SUBURBAN             North Dighton            MA
40897   1GNSKHKC5KR400733   GM          SUBURBAN             DENVER                   CO
40898   1GNSKHKC5KR401557   GM          SUBURBAN             Honolulu                 HI
40899   1GNSKHKC5KR402921   GM          SUBURBAN             SEATAC                   WA
40900   1GNSKHKC5KR403289   GM          SUBURBAN             GWINN                    MI
40901   1GNSKHKC5KR403339   GM          SUBURBAN             DALLAS                   TX
40902   1GNSKHKC5KR404118   GM          SUBURBAN             PORTLAND                 OR
40903   1GNSKHKC5KR407066   GM          SUBURBAN             LAS VEGAS                NV
40904   1GNSKHKC5KR407231   GM          SUBURBAN             FRESNO                   CA
40905   1GNSKHKC5LR152176   GM          SUBURBAN             WEST PALM BEACH          FL
40906   1GNSKHKC5LR152565   GM          SUBURBAN             HOUSTON                  TX
40907   1GNSKHKC5LR152663   GM          SUBURBAN             BOSTON                   MA
40908   1GNSKHKC5LR152842   GM          SUBURBAN             LAS VEGAS                NV
40909   1GNSKHKC5LR152856   GM          SUBURBAN             HOUSTON                  TX
40910   1GNSKHKC5LR153148   GM          SUBURBAN             PHOENIX                  AZ
40911   1GNSKHKC5LR153151   GM          SUBURBAN             ORLANDO                  FL
40912   1GNSKHKC5LR153165   GM          SUBURBAN             JACKSONVILLE             FL
40913   1GNSKHKC5LR153229   GM          SUBURBAN             LOS ANGELES              CA
40914   1GNSKHKC5LR153280   GM          SUBURBAN             CHARLESTON               WV
40915   1GNSKHKC5LR153313   GM          SUBURBAN             ATLANTA                  GA
40916   1GNSKHKC5LR153473   GM          SUBURBAN             STERLING                 VA
40917   1GNSKHKC5LR153621   GM          SUBURBAN             SAINT LOUIS              MO
40918   1GNSKHKC5LR153764   GM          SUBURBAN             NEW BERN                 NC
40919   1GNSKHKC5LR153859   GM          SUBURBAN             PHOENIX                  AZ
40920   1GNSKHKC5LR154039   GM          SUBURBAN             PHOENIX                  AZ
40921   1GNSKHKC5LR154185   GM          SUBURBAN             HOUSTON                  TX
40922   1GNSKHKC5LR154543   GM          SUBURBAN             MIAMI                    FL
40923   1GNSKHKC5LR154736   GM          SUBURBAN             HOUSTON                  TX
40924   1GNSKHKC5LR154817   GM          SUBURBAN             PHOENIX                  AZ
40925   1GNSKHKC5LR154820   GM          SUBURBAN             DALLAS                   TX
40926   1GNSKHKC5LR154896   GM          SUBURBAN             HARTFORD                 CT
40927   1GNSKHKC5LR155028   GM          SUBURBAN             LAS VEGAS                NV
40928   1GNSKHKC5LR155059   GM          SUBURBAN             WHITE PLAINS             NY
40929   1GNSKHKC5LR155188   GM          SUBURBAN             ORLANDO                  FL
40930   1GNSKHKC5LR155529   GM          SUBURBAN             TUCSON                   AZ
40931   1GNSKHKC5LR155658   GM          SUBURBAN             Teterboro                NJ
40932   1GNSKHKC5LR155689   GM          SUBURBAN             FORT LAUDERDALE          FL
40933   1GNSKHKC5LR155790   GM          SUBURBAN             SARASOTA                 FL
40934   1GNSKHKC5LR155921   GM          SUBURBAN             SAN ANTONIO              TX
40935   1GNSKHKC5LR155935   GM          SUBURBAN             Dallas                   TX
40936   1GNSKHKC5LR155983   GM          SUBURBAN             WEST PALM BEACH          FL
40937   1GNSKHKC5LR156163   GM          SUBURBAN             TUCSON                   AZ
40938   1GNSKHKC5LR156292   GM          SUBURBAN             GREENVILLE               NC
40939   1GNSKHKC5LR156387   GM          SUBURBAN             SAINT LOUIS              MO
40940   1GNSKHKC5LR156423   GM          SUBURBAN             PHOENIX                  AZ
40941   1GNSKHKC5LR156437   GM          SUBURBAN             TAMPA                    FL
40942   1GNSKHKC5LR156549   GM          SUBURBAN             FORT MYERS               FL
40943   1GNSKHKC5LR156602   GM          SUBURBAN             SAN ANTONIO              TX
40944   1GNSKHKC5LR156647   GM          SUBURBAN             MIAMI                    FL
40945   1GNSKHKC5LR157006   GM          SUBURBAN             LOS ANGELES              CA
40946   1GNSKHKC5LR157040   GM          SUBURBAN             SALT LAKE CITY           UT
40947   1GNSKHKC5LR157135   GM          SUBURBAN             MIAMI                    FL
40948   1GNSKHKC5LR157362   GM          SUBURBAN             SAVANNAH                 GA
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40949   1GNSKHKC5LR157393   GM          SUBURBAN             OKLAHOMA CITY            OK
40950   1GNSKHKC5LR157474   GM          SUBURBAN             SALT LAKE CITY           UT
40951   1GNSKHKC5LR157491   GM          SUBURBAN             ORLANDO                  FL
40952   1GNSKHKC5LR157684   GM          SUBURBAN             RONKONKOMA               NY
40953   1GNSKHKC5LR157815   GM          SUBURBAN             PHOENIX                  AZ
40954   1GNSKHKC5LR157832   GM          SUBURBAN             DES MOINES               IA
40955   1GNSKHKC5LR158060   GM          SUBURBAN             ORLANDO                  FL
40956   1GNSKHKC5LR158463   GM          SUBURBAN             PHOENIX                  AZ
40957   1GNSKHKC5LR158592   GM          SUBURBAN             AUSTIN                   TX
40958   1GNSKHKC5LR158687   GM          SUBURBAN             TULSA                    OK
40959   1GNSKHKC5LR158740   GM          SUBURBAN             HOUSTON                  TX
40960   1GNSKHKC5LR158771   GM          SUBURBAN             Miami                    FL
40961   1GNSKHKC5LR158883   GM          SUBURBAN             KENNER                   LA
40962   1GNSKHKC5LR158981   GM          SUBURBAN             Dallas                   TX
40963   1GNSKHKC5LR159189   GM          SUBURBAN             ATLANTA                  GA
40964   1GNSKHKC5LR159225   GM          SUBURBAN             ORLANDO                  FL
40965   1GNSKHKC5LR159743   GM          SUBURBAN             SEATAC                   WA
40966   1GNSKHKC5LR168023   GM          SUBURBAN             DALLAS                   TX
40967   1GNSKHKC5LR168247   GM          SUBURBAN             CHICAGO                  IL
40968   1GNSKHKC5LR170953   GM          SUBURBAN             GYPSUM                   CO
40969   1GNSKHKC5LR171276   GM          SUBURBAN             SOUTH BEND               IN
40970   1GNSKHKC5LR234747   GM          SUBURBAN             LAS VEGAS                NV
40971   1GNSKHKC5LR235090   GM          SUBURBAN             OMAHA                    NE
40972   1GNSKHKC5LR236112   GM          SUBURBAN             HARTFORD                 CT
40973   1GNSKHKC5LR236837   GM          SUBURBAN             CHARLOTTE                NC
40974   1GNSKHKC5LR236871   GM          SUBURBAN             SAN DIEGO                CA
40975   1GNSKHKC5LR237406   GM          SUBURBAN             KENNER                   LA
40976   1GNSKHKC5LR237437   GM          SUBURBAN             KENNER                   LA
40977   1GNSKHKC5LR237440   GM          SUBURBAN             BOSTON                   MA
40978   1GNSKHKC5LR238412   GM          SUBURBAN             CHARLOTTE                NC
40979   1GNSKHKC5LR238801   GM          SUBURBAN             CHICAGO                  IL
40980   1GNSKHKC5LR240936   GM          SUBURBAN             BOSTON                   MA
40981   1GNSKHKC5LR242119   GM          SUBURBAN             NORFOLK                  VA
40982   1GNSKHKC5LR242203   GM          SUBURBAN             Buena Park               CA
40983   1GNSKHKC5LR243285   GM          SUBURBAN             BOISE                    ID
40984   1GNSKHKC5LR244453   GM          SUBURBAN             RALEIGH                  NC
40985   1GNSKHKC5LR244758   GM          SUBURBAN             DETROIT                  MI
40986   1GNSKHKC5LR245134   GM          SUBURBAN             ALLENTOWN                US
40987   1GNSKHKC5LR245196   GM          SUBURBAN             PHILADELPHIA             PA
40988   1GNSKHKC5LR248034   GM          SUBURBAN             BURBANK                  CA
40989   1GNSKHKC5LR248759   GM          SUBURBAN             KNOXVILLE                TN
40990   1GNSKHKC5LR248776   GM          SUBURBAN             SAINT LOUIS              MO
40991   1GNSKHKC5LR248793   GM          SUBURBAN             MEMPHIS                  TN
40992   1GNSKHKC5LR249037   GM          SUBURBAN             SAVANNAH                 GA
40993   1GNSKHKC5LR249796   GM          SUBURBAN             Atlanta                  GA
40994   1GNSKHKC5LR250673   GM          SUBURBAN             DALLAS                   TX
40995   1GNSKHKC5LR250737   GM          SUBURBAN             MEMPHIS                  TN
40996   1GNSKHKC5LR251371   GM          SUBURBAN             WARWICK                  RI
40997   1GNSKHKC5LR251709   GM          SUBURBAN             KNOXVILLE                TN
40998   1GNSKHKC5LR252245   GM          SUBURBAN             SAINT PAUL               MN
40999   1GNSKHKC5LR254819   GM          SUBURBAN             ATLANTA                  GA
41000   1GNSKHKC5LR255419   GM          SUBURBAN             PROVIDENCE               RI
41001   1GNSKHKC5LR258143   GM          SUBURBAN             LAS VEGAS                NV
41002   1GNSKHKC5LR258272   GM          SUBURBAN             NEWARK                   NJ
41003   1GNSKHKC5LR259972   GM          SUBURBAN             MIAMI                    FL
41004   1GNSKHKC5LR261110   GM          SUBURBAN             SANTA ANA                CA
41005   1GNSKHKC5LR261897   GM          SUBURBAN             KEY WEST                 FL
41006   1GNSKHKC5LR263133   GM          SUBURBAN             SOUTH BURLINGTO          VT
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41007   1GNSKHKC5LR264346   GM          SUBURBAN             SYRACUSE                 NY
41008   1GNSKHKC5LR264637   GM          SUBURBAN             Atlanta                  GA
41009   1GNSKHKC5LR265724   GM          SUBURBAN             BOSTON                   MA
41010   1GNSKHKC5LR266260   GM          SUBURBAN             BOSTON                   MA
41011   1GNSKHKC5LR266730   GM          SUBURBAN             MIAMI                    FL
41012   1GNSKHKC5LR267313   GM          SUBURBAN             PORTLAND                 ME
41013   1GNSKHKC5LR268560   GM          SUBURBAN             HOUSTON                  TX
41014   1GNSKHKC5LR269367   GM          SUBURBAN             RALIEGH                  NC
41015   1GNSKHKC5LR270373   GM          SUBURBAN             SARASOTA                 FL
41016   1GNSKHKC5LR274763   GM          SUBURBAN             LAS VEGAS                NV
41017   1GNSKHKC5LR275055   GM          SUBURBAN             BIRMINGHAM               AL
41018   1GNSKHKC5LR275542   GM          SUBURBAN             LOS ANGELES              CA
41019   1GNSKHKC5LR276500   GM          SUBURBAN             HOUSTON                  TX
41020   1GNSKHKC5LR280515   GM          SUBURBAN             JACKSON                  WY
41021   1GNSKHKC5LR280711   GM          SUBURBAN             KNOXVILLE                TN
41022   1GNSKHKC5LR281180   GM          SUBURBAN             COLLEGE PARK             GA
41023   1GNSKHKC5LR281194   GM          SUBURBAN             PENSACOLA                FL
41024   1GNSKHKC5LR281471   GM          SUBURBAN             FAYETTEVILLE             GA
41025   1GNSKHKC5LR281955   GM          SUBURBAN             ATLANTA                  GA
41026   1GNSKHKC5LR282037   GM          SUBURBAN             FAYETTEVILLE             GA
41027   1GNSKHKC5LR282104   GM          SUBURBAN             COLLEGE PARK             GA
41028   1GNSKHKC5LR282328   GM          SUBURBAN             MEMPHIS                  TN
41029   1GNSKHKC5LR282524   GM          SUBURBAN             ATLANTA                  GA
41030   1GNSKHKC5LR282538   GM          SUBURBAN             NEW ORLEANS              LA
41031   1GNSKHKC5LR282670   GM          SUBURBAN             MEMPHIS                  TN
41032   1GNSKHKC5LR282832   GM          SUBURBAN             WEST PALM BEACH          FL
41033   1GNSKHKC5LR283527   GM          SUBURBAN             PASSAIC                  NJ
41034   1GNSKHKC5LR284175   GM          SUBURBAN             KNOXVILLE                TN
41035   1GNSKHKC5LR287013   GM          SUBURBAN             SAINT PAUL               MN
41036   1GNSKHKC6JR246502   GM          SUBURBAN             Kailua‐Kona              HI
41037   1GNSKHKC6JR260691   GM          SUBURBAN             WEST PALM BEACH          FL
41038   1GNSKHKC6JR263817   GM          SUBURBAN             Davie                    FL
41039   1GNSKHKC6JR381091   GM          SUBURBAN             Fresno                   CA
41040   1GNSKHKC6JR381799   GM          SUBURBAN             DANIA BEACH              FL
41041   1GNSKHKC6JR383147   GM          SUBURBAN             Norwalk                  CA
41042   1GNSKHKC6JR384217   GM          SUBURBAN             DAYTONA BEACH            FL
41043   1GNSKHKC6JR399395   GM          SUBURBAN             Atlanta                  GA
41044   1GNSKHKC6KR190367   GM          SUBURBAN             Miami                    FL
41045   1GNSKHKC6KR193303   GM          SUBURBAN             Euless                   TX
41046   1GNSKHKC6KR194824   GM          SUBURBAN             MIAMI                    FL
41047   1GNSKHKC6KR197500   GM          SUBURBAN             North Dighton            MA
41048   1GNSKHKC6KR204137   GM          SUBURBAN             ORLANDO                  FL
41049   1GNSKHKC6KR205112   GM          SUBURBAN             Mt. Juliet               TN
41050   1GNSKHKC6KR206101   GM          SUBURBAN             DFW AIRPORT              TX
41051   1GNSKHKC6KR207717   GM          SUBURBAN             Atlanta                  GA
41052   1GNSKHKC6KR216904   GM          SUBURBAN             NEW BERN                 NC
41053   1GNSKHKC6KR274785   GM          SUBURBAN             ATLANTA                  GA
41054   1GNSKHKC6KR276648   GM          SUBURBAN             SALT LAKE CITY           UT
41055   1GNSKHKC6KR276827   GM          SUBURBAN             Fontana                  CA
41056   1GNSKHKC6KR276861   GM          SUBURBAN             Fontana                  CA
41057   1GNSKHKC6KR277850   GM          SUBURBAN             Atlanta                  GA
41058   1GNSKHKC6KR278318   GM          SUBURBAN             EGG HARBOR TOWN          NJ
41059   1GNSKHKC6KR278755   GM          SUBURBAN             DANIA BEACH              FL
41060   1GNSKHKC6KR279176   GM          SUBURBAN             PORTLAND                 OR
41061   1GNSKHKC6KR279243   GM          SUBURBAN             DENVER                   CO
41062   1GNSKHKC6KR279730   GM          SUBURBAN             Greensboro               NC
41063   1GNSKHKC6KR281042   GM          SUBURBAN             Richmond                 VA
41064   1GNSKHKC6KR281140   GM          SUBURBAN             SALT LAKE CITY           US
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41065   1GNSKHKC6KR281252   GM          SUBURBAN             Marietta                 GA
41066   1GNSKHKC6KR282403   GM          SUBURBAN             Detroit                  MI
41067   1GNSKHKC6KR283096   GM          SUBURBAN             TAMPA                    FL
41068   1GNSKHKC6KR283583   GM          SUBURBAN             Hanover                  MD
41069   1GNSKHKC6KR284197   GM          SUBURBAN             Woodhaven                MI
41070   1GNSKHKC6KR284569   GM          SUBURBAN             Davie                    FL
41071   1GNSKHKC6KR285804   GM          SUBURBAN             MEDINA                   OH
41072   1GNSKHKC6KR286984   GM          SUBURBAN             Houston                  TX
41073   1GNSKHKC6KR287360   GM          SUBURBAN             LAS VEGAS                NV
41074   1GNSKHKC6KR290792   GM          SUBURBAN             TAMPA                    US
41075   1GNSKHKC6KR306604   GM          SUBURBAN             STERLING                 VA
41076   1GNSKHKC6KR331535   GM          SUBURBAN             Phoenix                  AZ
41077   1GNSKHKC6KR335620   GM          SUBURBAN             DENVER                   CO
41078   1GNSKHKC6KR336427   GM          SUBURBAN             Los Angeles              CA
41079   1GNSKHKC6KR341188   GM          SUBURBAN             TRACY                    CA
41080   1GNSKHKC6KR341255   GM          SUBURBAN             SALT LAKE CITY           US
41081   1GNSKHKC6KR363384   GM          SUBURBAN             SACRAMENTO               CA
41082   1GNSKHKC6KR364308   GM          SUBURBAN             PLEASANTON               CA
41083   1GNSKHKC6KR365846   GM          SUBURBAN             FULLERTON                CA
41084   1GNSKHKC6KR365992   GM          SUBURBAN             San Diego                CA
41085   1GNSKHKC6KR368200   GM          SUBURBAN             SANTA ANA                CA
41086   1GNSKHKC6KR370402   GM          SUBURBAN             Aurora                   CO
41087   1GNSKHKC6KR376412   GM          SUBURBAN             SAN FRANCISCO            CA
41088   1GNSKHKC6KR378032   GM          SUBURBAN             SAN FRANCISCO            CA
41089   1GNSKHKC6KR378466   GM          SUBURBAN             TRACY                    CA
41090   1GNSKHKC6KR379004   GM          SUBURBAN             San Diego                CA
41091   1GNSKHKC6KR380959   GM          SUBURBAN             WEST COLUMBIA            SC
41092   1GNSKHKC6KR381058   GM          SUBURBAN             OAKLAND                  CA
41093   1GNSKHKC6KR381691   GM          SUBURBAN             HARRISBURG               PA
41094   1GNSKHKC6KR390083   GM          SUBURBAN             DETROIT                  MI
41095   1GNSKHKC6KR390651   GM          SUBURBAN             GRAND RAPIDS             MI
41096   1GNSKHKC6KR391735   GM          SUBURBAN             ORLANDO                  FL
41097   1GNSKHKC6KR391833   GM          SUBURBAN             TAMPA                    FL
41098   1GNSKHKC6KR395929   GM          SUBURBAN             REDMOND                  OR
41099   1GNSKHKC6KR396188   GM          SUBURBAN             LOS ANGELES              CA
41100   1GNSKHKC6KR396529   GM          SUBURBAN             PHILADELPHIA             PA
41101   1GNSKHKC6KR396904   GM          SUBURBAN             TAMPA                    FL
41102   1GNSKHKC6KR398023   GM          SUBURBAN             LOS ANGELES              CA
41103   1GNSKHKC6KR400238   GM          SUBURBAN             RENO                     NV
41104   1GNSKHKC6KR407996   GM          SUBURBAN             SAN DIEGO                US
41105   1GNSKHKC6KR408310   GM          SUBURBAN             LOS ANGELES              CA
41106   1GNSKHKC6LR152705   GM          SUBURBAN             LAS VEGAS                NV
41107   1GNSKHKC6LR153045   GM          SUBURBAN             Phoenix                  AZ
41108   1GNSKHKC6LR153174   GM          SUBURBAN             MIAMI                    FL
41109   1GNSKHKC6LR153224   GM          SUBURBAN             FORT MYERS               FL
41110   1GNSKHKC6LR153241   GM          SUBURBAN             LOS ANGELES              CA
41111   1GNSKHKC6LR153286   GM          SUBURBAN             JACKSONVILLE             FL
41112   1GNSKHKC6LR153367   GM          SUBURBAN             SAN ANTONIO              TX
41113   1GNSKHKC6LR153434   GM          SUBURBAN             DALLAS                   TX
41114   1GNSKHKC6LR153515   GM          SUBURBAN             FORT MYERS               FL
41115   1GNSKHKC6LR153532   GM          SUBURBAN             WEST PALM BEACH          FL
41116   1GNSKHKC6LR153630   GM          SUBURBAN             ORLANDO                  FL
41117   1GNSKHKC6LR153742   GM          SUBURBAN             WEST PALM BEACH          FL
41118   1GNSKHKC6LR153773   GM          SUBURBAN             Irving                   TX
41119   1GNSKHKC6LR153840   GM          SUBURBAN             HOUSTON                  TX
41120   1GNSKHKC6LR154163   GM          SUBURBAN             FORT LAUDERDALE          FL
41121   1GNSKHKC6LR154177   GM          SUBURBAN             TAMPA                    FL
41122   1GNSKHKC6LR154423   GM          SUBURBAN             RALEIGH                  NC
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41123   1GNSKHKC6LR154549   GM          SUBURBAN             PHOENIX                  AZ
41124   1GNSKHKC6LR154566   GM          SUBURBAN             HOUSTON                  TX
41125   1GNSKHKC6LR154728   GM          SUBURBAN             WEST COLUMBIA            SC
41126   1GNSKHKC6LR155037   GM          SUBURBAN             TALLAHASSEE              F
41127   1GNSKHKC6LR155054   GM          SUBURBAN             AUSTIN                   TX
41128   1GNSKHKC6LR155345   GM          SUBURBAN             MEMPHIS                  TN
41129   1GNSKHKC6LR155636   GM          SUBURBAN             SAN ANTONIO              TX
41130   1GNSKHKC6LR155703   GM          SUBURBAN             KNOXVILLE                TN
41131   1GNSKHKC6LR155748   GM          SUBURBAN             FORT LAUDERDALE          FL
41132   1GNSKHKC6LR155796   GM          SUBURBAN             HOUSTON                  TX
41133   1GNSKHKC6LR156026   GM          SUBURBAN             Phoenix                  AZ
41134   1GNSKHKC6LR156057   GM          SUBURBAN             INDIANAPOLIS             IN
41135   1GNSKHKC6LR156138   GM          SUBURBAN             KANSAS CITY              MO
41136   1GNSKHKC6LR156172   GM          SUBURBAN             HOUSTON                  TX
41137   1GNSKHKC6LR156253   GM          SUBURBAN             SAN ANTONIO              TX
41138   1GNSKHKC6LR156639   GM          SUBURBAN             ORLANDO                  FL
41139   1GNSKHKC6LR156768   GM          SUBURBAN             COLUMBUS                 OH
41140   1GNSKHKC6LR157211   GM          SUBURBAN             ORLANDO                  FL
41141   1GNSKHKC6LR157256   GM          SUBURBAN             PHOENIX                  AZ
41142   1GNSKHKC6LR157340   GM          SUBURBAN             MIAMI                    FL
41143   1GNSKHKC6LR157435   GM          SUBURBAN             SAINT LOUIS              MO
41144   1GNSKHKC6LR157693   GM          SUBURBAN             CORPUS CHRISTI           TX
41145   1GNSKHKC6LR157726   GM          SUBURBAN             DALLAS                   TX
41146   1GNSKHKC6LR157757   GM          SUBURBAN             LOS ANGELES              CA
41147   1GNSKHKC6LR157774   GM          SUBURBAN             MIAMI                    FL
41148   1GNSKHKC6LR157919   GM          SUBURBAN             TAMPA                    FL
41149   1GNSKHKC6LR158021   GM          SUBURBAN             ORLANDO                  FL
41150   1GNSKHKC6LR158049   GM          SUBURBAN             DENVER                   CO
41151   1GNSKHKC6LR158150   GM          SUBURBAN             TAMPA                    FL
41152   1GNSKHKC6LR158522   GM          SUBURBAN             COLORADO SPRING          CO
41153   1GNSKHKC6LR158570   GM          SUBURBAN             PHOENIX                  AZ
41154   1GNSKHKC6LR158648   GM          SUBURBAN             MIAMI                    FL
41155   1GNSKHKC6LR158858   GM          SUBURBAN             ORLANDO                  FL
41156   1GNSKHKC6LR158939   GM          SUBURBAN             PHOENIX                  AZ
41157   1GNSKHKC6LR158942   GM          SUBURBAN             LAS VEGAS                NV
41158   1GNSKHKC6LR159069   GM          SUBURBAN             PHOENIX                  AZ
41159   1GNSKHKC6LR159265   GM          SUBURBAN             PHOENIX                  AZ
41160   1GNSKHKC6LR159332   GM          SUBURBAN             NEW BERN                 NC
41161   1GNSKHKC6LR159458   GM          SUBURBAN             MIAMI                    FL
41162   1GNSKHKC6LR159671   GM          SUBURBAN             ORLANDO                  FL
41163   1GNSKHKC6LR167205   GM          SUBURBAN             Stone Mountain           GA
41164   1GNSKHKC6LR167897   GM          SUBURBAN             SARASOTA                 FL
41165   1GNSKHKC6LR169102   GM          SUBURBAN             CLEVELAND                OH
41166   1GNSKHKC6LR195294   GM          SUBURBAN             LOS ANGELES              CA
41167   1GNSKHKC6LR203202   GM          SUBURBAN             ORLANDO                  FL
41168   1GNSKHKC6LR233820   GM          SUBURBAN             BURBANK                  CA
41169   1GNSKHKC6LR235759   GM          SUBURBAN             PHILADELPHIA             PA
41170   1GNSKHKC6LR236717   GM          SUBURBAN             CHATTANOOGA              TN
41171   1GNSKHKC6LR236829   GM          SUBURBAN             ALBANY                   N
41172   1GNSKHKC6LR236927   GM          SUBURBAN             Amarillo                 TX
41173   1GNSKHKC6LR238502   GM          SUBURBAN             SYRACUSE                 NY
41174   1GNSKHKC6LR239472   GM          SUBURBAN             WHITE PLAINS             NY
41175   1GNSKHKC6LR240931   GM          SUBURBAN             CLEVELAND                OH
41176   1GNSKHKC6LR242758   GM          SUBURBAN             LAS VEGAS                NV
41177   1GNSKHKC6LR242839   GM          SUBURBAN             JACKSON                  MS
41178   1GNSKHKC6LR244090   GM          SUBURBAN             Atlanta                  GA
41179   1GNSKHKC6LR244445   GM          SUBURBAN             LOS ANGELES              CA
41180   1GNSKHKC6LR244462   GM          SUBURBAN             CHARLOTTESVILLE          VA
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41181   1GNSKHKC6LR244509   GM          SUBURBAN             BOSTON                   MA
41182   1GNSKHKC6LR244591   GM          SUBURBAN             HARTFORD                 CT
41183   1GNSKHKC6LR245028   GM          SUBURBAN             NEW BERN                 NC
41184   1GNSKHKC6LR245093   GM          SUBURBAN             JAMAICA                  NY
41185   1GNSKHKC6LR246471   GM          SUBURBAN             PHILADELPHIA             PA
41186   1GNSKHKC6LR246518   GM          SUBURBAN             NEW BERN                 NC
41187   1GNSKHKC6LR246521   GM          SUBURBAN             PHILADELPHIA             PA
41188   1GNSKHKC6LR248818   GM          SUBURBAN             NEW YORK CITY            NY
41189   1GNSKHKC6LR250777   GM          SUBURBAN             LAS VEGAS                NV
41190   1GNSKHKC6LR251072   GM          SUBURBAN             CHARLESTON               WV
41191   1GNSKHKC6LR251203   GM          SUBURBAN             DENVER                   CO
41192   1GNSKHKC6LR252271   GM          SUBURBAN             KANSAS CITY              MO
41193   1GNSKHKC6LR252531   GM          SUBURBAN             SYRACUSE                 NY
41194   1GNSKHKC6LR253596   GM          SUBURBAN             PHILADELPHIA             PA
41195   1GNSKHKC6LR256224   GM          SUBURBAN             HOUSTON                  TX
41196   1GNSKHKC6LR261939   GM          SUBURBAN             BUFFALO                  NY
41197   1GNSKHKC6LR262721   GM          SUBURBAN             BOSTON                   MA
41198   1GNSKHKC6LR262928   GM          SUBURBAN             SOUTH BURLINGTO          VT
41199   1GNSKHKC6LR262945   GM          SUBURBAN             BUFFALO                  NY
41200   1GNSKHKC6LR263013   GM          SUBURBAN             BURLINGTON               VT
41201   1GNSKHKC6LR263223   GM          SUBURBAN             PORTLAND                 ME
41202   1GNSKHKC6LR263707   GM          SUBURBAN             BUFFALO                  NY
41203   1GNSKHKC6LR264162   GM          SUBURBAN             PORTLAND                 ME
41204   1GNSKHKC6LR264551   GM          SUBURBAN             BOSTON                   MA
41205   1GNSKHKC6LR264582   GM          SUBURBAN             NEWARK                   NJ
41206   1GNSKHKC6LR264601   GM          SUBURBAN             Miami                    FL
41207   1GNSKHKC6LR265280   GM          SUBURBAN             Portland                 ME
41208   1GNSKHKC6LR265621   GM          SUBURBAN             ROCHESTER                NY
41209   1GNSKHKC6LR266140   GM          SUBURBAN             BURLINGTON               VT
41210   1GNSKHKC6LR268003   GM          SUBURBAN             MIAMI                    FL
41211   1GNSKHKC6LR268325   GM          SUBURBAN             NEW BERN                 NC
41212   1GNSKHKC6LR269331   GM          SUBURBAN             BLOOMINGTON              IL
41213   1GNSKHKC6LR269345   GM          SUBURBAN             RONKONKOMA               NY
41214   1GNSKHKC6LR270558   GM          SUBURBAN             FORT MYERS               FL
41215   1GNSKHKC6LR271077   GM          SUBURBAN             CHARLOTTE                NC
41216   1GNSKHKC6LR273556   GM          SUBURBAN             STERLING                 VA
41217   1GNSKHKC6LR273864   GM          SUBURBAN             CHARLOTTE                NC
41218   1GNSKHKC6LR274335   GM          SUBURBAN             LOS ANGELES              CA
41219   1GNSKHKC6LR276912   GM          SUBURBAN             BIRMINGHAM               AL
41220   1GNSKHKC6LR277879   GM          SUBURBAN             SALT LAKE CITY           UT
41221   1GNSKHKC6LR280734   GM          SUBURBAN             PORTLAND                 ME
41222   1GNSKHKC6LR281107   GM          SUBURBAN             KENNER                   LA
41223   1GNSKHKC6LR281625   GM          SUBURBAN             BIRMINGHAM               AL
41224   1GNSKHKC6LR281981   GM          SUBURBAN             ATLANTA                  GA
41225   1GNSKHKC6LR282337   GM          SUBURBAN             ATLANTA                  GA
41226   1GNSKHKC6LR282371   GM          SUBURBAN             Atlanta                  GA
41227   1GNSKHKC6LR282807   GM          SUBURBAN             KNOXVILLE                TN
41228   1GNSKHKC6LR282872   GM          SUBURBAN             KNOXVILLE                TN
41229   1GNSKHKC6LR283455   GM          SUBURBAN             KNOXVILLE                TN
41230   1GNSKHKC6LR284279   GM          SUBURBAN             Atlanta                  GA
41231   1GNSKHKC6LR284427   GM          SUBURBAN             NASHVILLE                TN
41232   1GNSKHKC6LR284492   GM          SUBURBAN             KNOXVILLE                TN
41233   1GNSKHKC6LR284766   GM          SUBURBAN             CHICAGO                  IL
41234   1GNSKHKC6LR284878   GM          SUBURBAN             KANSAS CITY              MO
41235   1GNSKHKC6LR284895   GM          SUBURBAN             KNOXVILLE                TN
41236   1GNSKHKC6LR285108   GM          SUBURBAN             SAINT PAUL               MN
41237   1GNSKHKC6LR285206   GM          SUBURBAN             KANSAS CITY              MO
41238   1GNSKHKC7JR235959   GM          SUBURBAN             HILO                     HI
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41239   1GNSKHKC7JR245424   GM          SUBURBAN             SAN FRANCISCO            CA
41240   1GNSKHKC7JR270341   GM          SUBURBAN             Fontana                  CA
41241   1GNSKHKC7JR277578   GM          SUBURBAN             Stockton                 CA
41242   1GNSKHKC7JR376935   GM          SUBURBAN             Anaheim                  CA
41243   1GNSKHKC7JR377972   GM          SUBURBAN             Riverside                CA
41244   1GNSKHKC7JR379284   GM          SUBURBAN             SALT LAKE CITY           US
41245   1GNSKHKC7JR384002   GM          SUBURBAN             Houston                  TX
41246   1GNSKHKC7JR398790   GM          SUBURBAN             CHICAGO                  IL
41247   1GNSKHKC7KR187753   GM          SUBURBAN             Warminster               PA
41248   1GNSKHKC7KR189762   GM          SUBURBAN             ALBUQERQUE               NM
41249   1GNSKHKC7KR191589   GM          SUBURBAN             Aurora                   CO
41250   1GNSKHKC7KR192466   GM          SUBURBAN             ORLANDO                  FL
41251   1GNSKHKC7KR193102   GM          SUBURBAN             FORT MYERS               FL
41252   1GNSKHKC7KR193312   GM          SUBURBAN             SAVANNAH                 GA
41253   1GNSKHKC7KR195271   GM          SUBURBAN             FORT LAUDERDALE          FL
41254   1GNSKHKC7KR197442   GM          SUBURBAN             SAN DIEGO                CA
41255   1GNSKHKC7KR197845   GM          SUBURBAN             Pasadena                 CA
41256   1GNSKHKC7KR198199   GM          SUBURBAN             North Dighton            MA
41257   1GNSKHKC7KR199451   GM          SUBURBAN             FORT LAUDERDALE          FL
41258   1GNSKHKC7KR199997   GM          SUBURBAN             DAYTONA BEACH            FL
41259   1GNSKHKC7KR200145   GM          SUBURBAN             GRAND RAPIDS             MI
41260   1GNSKHKC7KR201439   GM          SUBURBAN             N. Palm Beach            FL
41261   1GNSKHKC7KR208049   GM          SUBURBAN             Pasadena                 CA
41262   1GNSKHKC7KR273838   GM          SUBURBAN             North Dighton            MA
41263   1GNSKHKC7KR274410   GM          SUBURBAN             Oceanside                CA
41264   1GNSKHKC7KR275041   GM          SUBURBAN             SEATAC                   WA
41265   1GNSKHKC7KR275542   GM          SUBURBAN             Hartford                 CT
41266   1GNSKHKC7KR275587   GM          SUBURBAN             ORLANDO                  FL
41267   1GNSKHKC7KR276321   GM          SUBURBAN             WEST PALM BEACH          FL
41268   1GNSKHKC7KR277162   GM          SUBURBAN             Tolleson                 AZ
41269   1GNSKHKC7KR277453   GM          SUBURBAN             DENVER                   CO
41270   1GNSKHKC7KR277632   GM          SUBURBAN             Hartford                 CT
41271   1GNSKHKC7KR277677   GM          SUBURBAN             HOUSTON                  TX
41272   1GNSKHKC7KR278179   GM          SUBURBAN             Downey                   CA
41273   1GNSKHKC7KR278635   GM          SUBURBAN             North Dighton            MA
41274   1GNSKHKC7KR279719   GM          SUBURBAN             Denver                   CO
41275   1GNSKHKC7KR281812   GM          SUBURBAN             Charleston               WV
41276   1GNSKHKC7KR283107   GM          SUBURBAN             MIAMI                    FL
41277   1GNSKHKC7KR283527   GM          SUBURBAN             Davie                    FL
41278   1GNSKHKC7KR283835   GM          SUBURBAN             Atlanta                  GA
41279   1GNSKHKC7KR286184   GM          SUBURBAN             TAMPA                    FL
41280   1GNSKHKC7KR287075   GM          SUBURBAN             BURBANK                  CA
41281   1GNSKHKC7KR287755   GM          SUBURBAN             SALT LAKE CITY           US
41282   1GNSKHKC7KR287853   GM          SUBURBAN             HOUSTON                  TX
41283   1GNSKHKC7KR289084   GM          SUBURBAN             KNOXVILLE                TN
41284   1GNSKHKC7KR289389   GM          SUBURBAN             DENVER                   CO
41285   1GNSKHKC7KR291045   GM          SUBURBAN             TULSA                    OK
41286   1GNSKHKC7KR291546   GM          SUBURBAN             PENSACOLA                FL
41287   1GNSKHKC7KR304747   GM          SUBURBAN             Hanover                  MD
41288   1GNSKHKC7KR307373   GM          SUBURBAN             N. Palm Beach            FL
41289   1GNSKHKC7KR309821   GM          SUBURBAN
41290   1GNSKHKC7KR312542   GM          SUBURBAN             Newark                   NJ
41291   1GNSKHKC7KR316994   GM          SUBURBAN             NASHVILLE                TN
41292   1GNSKHKC7KR330216   GM          SUBURBAN             DENVER                   CO
41293   1GNSKHKC7KR331477   GM          SUBURBAN             Springfield              MO
41294   1GNSKHKC7KR333195   GM          SUBURBAN             OAKLAND                  CA
41295   1GNSKHKC7KR333987   GM          SUBURBAN             PHILADELPHIA             PA
41296   1GNSKHKC7KR335402   GM          SUBURBAN             Atlanta                  GA
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41297   1GNSKHKC7KR336310   GM          SUBURBAN             SALT LAKE CITY           UT
41298   1GNSKHKC7KR337389   GM          SUBURBAN             LAS VEGAS                NV
41299   1GNSKHKC7KR340132   GM          SUBURBAN             RENO                     NV
41300   1GNSKHKC7KR345623   GM          SUBURBAN             DENVER                   CO
41301   1GNSKHKC7KR361806   GM          SUBURBAN             MIAMI                    FL
41302   1GNSKHKC7KR362082   GM          SUBURBAN             DENVER                   CO
41303   1GNSKHKC7KR364530   GM          SUBURBAN             Newark                   NJ
41304   1GNSKHKC7KR364656   GM          SUBURBAN             TUCSON                   AZ
41305   1GNSKHKC7KR366391   GM          SUBURBAN             LOS ANGELES              CA
41306   1GNSKHKC7KR367010   GM          SUBURBAN             MIAMI                    FL
41307   1GNSKHKC7KR367850   GM          SUBURBAN             St. Louis                MO
41308   1GNSKHKC7KR368805   GM          SUBURBAN             SARASOTA                 FL
41309   1GNSKHKC7KR370568   GM          SUBURBAN             STERLING                 VA
41310   1GNSKHKC7KR376497   GM          SUBURBAN             SAN JOSE                 CA
41311   1GNSKHKC7KR377553   GM          SUBURBAN             Hebron                   KY
41312   1GNSKHKC7KR379447   GM          SUBURBAN             NEWPORT BEACH            CA
41313   1GNSKHKC7KR381361   GM          SUBURBAN             ONTARIO                  CA
41314   1GNSKHKC7KR381652   GM          SUBURBAN             ORLANDO                  FL
41315   1GNSKHKC7KR389069   GM          SUBURBAN             Miami                    FL
41316   1GNSKHKC7KR395552   GM          SUBURBAN             LAS VEGAS                NV
41317   1GNSKHKC7KR395924   GM          SUBURBAN             BURBANK                  CA
41318   1GNSKHKC7KR396507   GM          SUBURBAN             Reno                     NV
41319   1GNSKHKC7KR399567   GM          SUBURBAN             LOS ANGELES              CA
41320   1GNSKHKC7KR401401   GM          SUBURBAN             LOS ANGELES              CA
41321   1GNSKHKC7KR401575   GM          SUBURBAN             Houston                  TX
41322   1GNSKHKC7KR402130   GM          SUBURBAN             SAN DIEGO                CA
41323   1GNSKHKC7KR403178   GM          SUBURBAN             PALM SPRINGS             CA
41324   1GNSKHKC7KR403830   GM          SUBURBAN             Las Vegas                NV
41325   1GNSKHKC7KR405738   GM          SUBURBAN             Downey                   CA
41326   1GNSKHKC7KR408753   GM          SUBURBAN             ONTARIO                  CA
41327   1GNSKHKC7KR409370   GM          SUBURBAN             PALM SPRINGS             CA
41328   1GNSKHKC7LR152289   GM          SUBURBAN             MIAMI                    FL
41329   1GNSKHKC7LR152583   GM          SUBURBAN             ORLANDO                  FL
41330   1GNSKHKC7LR152731   GM          SUBURBAN             PHOENIX                  AZ
41331   1GNSKHKC7LR152809   GM          SUBURBAN             DENVER                   CO
41332   1GNSKHKC7LR153233   GM          SUBURBAN             DALLAS                   TX
41333   1GNSKHKC7LR153359   GM          SUBURBAN             KANSAS CITY              MO
41334   1GNSKHKC7LR153443   GM          SUBURBAN             FORT LAUDERDALE          FL
41335   1GNSKHKC7LR153507   GM          SUBURBAN             Des Plaines              IL
41336   1GNSKHKC7LR153684   GM          SUBURBAN             TAMPA                    FL
41337   1GNSKHKC7LR153748   GM          SUBURBAN             DES MOINES               IA
41338   1GNSKHKC7LR153846   GM          SUBURBAN             OAKLAND                  CA
41339   1GNSKHKC7LR153877   GM          SUBURBAN             SAINT LOUIS              MO
41340   1GNSKHKC7LR154219   GM          SUBURBAN             SALT LAKE CITY           UT
41341   1GNSKHKC7LR154351   GM          SUBURBAN             CHICAGO                  IL
41342   1GNSKHKC7LR154365   GM          SUBURBAN             HOBE SOUND               FL
41343   1GNSKHKC7LR154446   GM          SUBURBAN             RALEIGH, DURHAM          NC
41344   1GNSKHKC7LR154463   GM          SUBURBAN             HOUSTON                  TX
41345   1GNSKHKC7LR154608   GM          SUBURBAN             SEATAC                   WA
41346   1GNSKHKC7LR154639   GM          SUBURBAN             OKLAHOMA CITY            OK
41347   1GNSKHKC7LR154687   GM          SUBURBAN             PHOENIX                  AZ
41348   1GNSKHKC7LR154902   GM          SUBURBAN             WEST COLUMBIA            SC
41349   1GNSKHKC7LR154950   GM          SUBURBAN             SALT LAKE CITY           UT
41350   1GNSKHKC7LR155080   GM          SUBURBAN             INGLEWOOD                CA
41351   1GNSKHKC7LR155239   GM          SUBURBAN             HOUSTON                  TX
41352   1GNSKHKC7LR155290   GM          SUBURBAN             FORT MYERS               FL
41353   1GNSKHKC7LR155323   GM          SUBURBAN             HOUSTON                  TX
41354   1GNSKHKC7LR155421   GM          SUBURBAN             DENVER                   CO
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41355   1GNSKHKC7LR155516   GM          SUBURBAN             Miami                    FL
41356   1GNSKHKC7LR155676   GM          SUBURBAN             PENSACOLA                FL
41357   1GNSKHKC7LR155693   GM          SUBURBAN             Seattle                  WA
41358   1GNSKHKC7LR155807   GM          SUBURBAN             LOS ANGELES              CA
41359   1GNSKHKC7LR155872   GM          SUBURBAN             BLOOMINGTON              IL
41360   1GNSKHKC7LR155998   GM          SUBURBAN             PANAMA CITY              FL
41361   1GNSKHKC7LR156066   GM          SUBURBAN             PHOENIX                  AZ
41362   1GNSKHKC7LR156276   GM          SUBURBAN             ORLANDO                  FL
41363   1GNSKHKC7LR156343   GM          SUBURBAN             PHOENIX                  AZ
41364   1GNSKHKC7LR156567   GM          SUBURBAN             ORLANDO                  FL
41365   1GNSKHKC7LR156696   GM          SUBURBAN             DETROIT                  MI
41366   1GNSKHKC7LR156715   GM          SUBURBAN             AUSTIN                   TX
41367   1GNSKHKC7LR156780   GM          SUBURBAN             MIAMI                    FL
41368   1GNSKHKC7LR156794   GM          SUBURBAN             Irving                   TX
41369   1GNSKHKC7LR157167   GM          SUBURBAN             RALEIGH                  NC
41370   1GNSKHKC7LR157184   GM          SUBURBAN             ORLANDO                  FL
41371   1GNSKHKC7LR157413   GM          SUBURBAN             CHICAGO O'HARE AP        IL
41372   1GNSKHKC7LR157492   GM          SUBURBAN             FT. LAUDERDALE           FL
41373   1GNSKHKC7LR157735   GM          SUBURBAN             TAMPA                    FL
41374   1GNSKHKC7LR157766   GM          SUBURBAN             LOUISVILLE               KY
41375   1GNSKHKC7LR157783   GM          SUBURBAN             TAMPA                    FL
41376   1GNSKHKC7LR158545   GM          SUBURBAN             SALT LAKE CITY           US
41377   1GNSKHKC7LR158660   GM          SUBURBAN             BURBANK                  CA
41378   1GNSKHKC7LR158674   GM          SUBURBAN             COLORADO SPRING          CO
41379   1GNSKHKC7LR158903   GM          SUBURBAN             CHATTANOOGA              TN
41380   1GNSKHKC7LR158917   GM          SUBURBAN             DENVER                   CO
41381   1GNSKHKC7LR159078   GM          SUBURBAN             DENVER                   CO
41382   1GNSKHKC7LR159081   GM          SUBURBAN             DETROIT                  MI
41383   1GNSKHKC7LR159307   GM          SUBURBAN             CHICAGO                  IL
41384   1GNSKHKC7LR159341   GM          SUBURBAN             AUSTIN                   TX
41385   1GNSKHKC7LR168265   GM          SUBURBAN             KANSAS CITY              MO
41386   1GNSKHKC7LR168346   GM          SUBURBAN             WEST PALM BEACH          FL
41387   1GNSKHKC7LR170632   GM          SUBURBAN             PALM SPRINGS             CA
41388   1GNSKHKC7LR194493   GM          SUBURBAN             HOUSTON                  TX
41389   1GNSKHKC7LR233826   GM          SUBURBAN             SEATAC                   WA
41390   1GNSKHKC7LR235429   GM          SUBURBAN             KNOXVILLE                TN
41391   1GNSKHKC7LR235737   GM          SUBURBAN             KANSAS CITY              MO
41392   1GNSKHKC7LR236158   GM          SUBURBAN             HANOVER                  MD
41393   1GNSKHKC7LR236483   GM          SUBURBAN             SOUTH BURLINGTO          VT
41394   1GNSKHKC7LR236550   GM          SUBURBAN             ALBANY                   NY
41395   1GNSKHKC7LR236886   GM          SUBURBAN             SAN DIEGO                CA
41396   1GNSKHKC7LR237200   GM          SUBURBAN             SAN DIEGO                CA
41397   1GNSKHKC7LR237472   GM          SUBURBAN             CHICAGO                  IL
41398   1GNSKHKC7LR238122   GM          SUBURBAN             BOSTON                   MA
41399   1GNSKHKC7LR238685   GM          SUBURBAN             WHITE PLAINS             NY
41400   1GNSKHKC7LR242915   GM          SUBURBAN             SAN DIEGO                CA
41401   1GNSKHKC7LR243028   GM          SUBURBAN             PHILADELPHIA             US
41402   1GNSKHKC7LR243823   GM          SUBURBAN             LOS ANGELES              CA
41403   1GNSKHKC7LR243966   GM          SUBURBAN             STERLING                 VA
41404   1GNSKHKC7LR244194   GM          SUBURBAN             PHILADELPHIA             PA
41405   1GNSKHKC7LR244227   GM          SUBURBAN             STERLING                 VA
41406   1GNSKHKC7LR244244   GM          SUBURBAN             NEW YORK CITY            NY
41407   1GNSKHKC7LR244258   GM          SUBURBAN             NEW BERN                 NC
41408   1GNSKHKC7LR244289   GM          SUBURBAN             CLEVELAND                OH
41409   1GNSKHKC7LR246642   GM          SUBURBAN             MIAMI                    FL
41410   1GNSKHKC7LR246706   GM          SUBURBAN             GRAND RAPIDS             MI
41411   1GNSKHKC7LR248715   GM          SUBURBAN             SANTA ANA                CA
41412   1GNSKHKC7LR248830   GM          SUBURBAN             MILWAUKEE                WI
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41413   1GNSKHKC7LR249749   GM          SUBURBAN             STERLING                 US
41414   1GNSKHKC7LR252098   GM          SUBURBAN             DENVER                   CO
41415   1GNSKHKC7LR256197   GM          SUBURBAN             HOUSTON                  TX
41416   1GNSKHKC7LR256720   GM          SUBURBAN             CHARLESTON               WV
41417   1GNSKHKC7LR257351   GM          SUBURBAN             SAN ANTONIO              TX
41418   1GNSKHKC7LR257589   GM          SUBURBAN             NEW ORLEANS              LA
41419   1GNSKHKC7LR258113   GM          SUBURBAN             MILWAUKEE                WI
41420   1GNSKHKC7LR258208   GM          SUBURBAN             CHICAGO O'HARE AP        IL
41421   1GNSKHKC7LR258595   GM          SUBURBAN             CHICAGO O'HARE AP        IL
41422   1GNSKHKC7LR260024   GM          SUBURBAN             CHICAGO                  IL
41423   1GNSKHKC7LR263036   GM          SUBURBAN             CHEEKTOWAGA              NY
41424   1GNSKHKC7LR263358   GM          SUBURBAN             STERLING                 VA
41425   1GNSKHKC7LR263490   GM          SUBURBAN             ORLANDO                  FL
41426   1GNSKHKC7LR263859   GM          SUBURBAN             BUFFALO                  NY
41427   1GNSKHKC7LR264610   GM          SUBURBAN             BILLINGS                 MT
41428   1GNSKHKC7LR265112   GM          SUBURBAN             ORLANDO                  FL
41429   1GNSKHKC7LR266177   GM          SUBURBAN             PHILADELPHIA             PA
41430   1GNSKHKC7LR268141   GM          SUBURBAN             STERLING                 VA
41431   1GNSKHKC7LR269192   GM          SUBURBAN             CHARLOTTE                NC
41432   1GNSKHKC7LR269581   GM          SUBURBAN             NEW BERN                 NC
41433   1GNSKHKC7LR272660   GM          SUBURBAN             NEW BERN                 NC
41434   1GNSKHKC7LR272948   GM          SUBURBAN             WHITE PLAINS             NY
41435   1GNSKHKC7LR273565   GM          SUBURBAN             NEW BERN                 NC
41436   1GNSKHKC7LR274571   GM          SUBURBAN             BIRMINGHAM               AL
41437   1GNSKHKC7LR275669   GM          SUBURBAN             WHITE PLAINS             NY
41438   1GNSKHKC7LR275994   GM          SUBURBAN             SEATAC                   WA
41439   1GNSKHKC7LR277163   GM          SUBURBAN             BIRMINGHAM               AL
41440   1GNSKHKC7LR277177   GM          SUBURBAN             BIRMINGHAM               AL
41441   1GNSKHKC7LR280743   GM          SUBURBAN             ATLANTA                  GA
41442   1GNSKHKC7LR280970   GM          SUBURBAN             ATLANTA                  GA
41443   1GNSKHKC7LR281357   GM          SUBURBAN             JACKSON                  MS
41444   1GNSKHKC7LR281388   GM          SUBURBAN             NEW ORLEANS              LA
41445   1GNSKHKC7LR281469   GM          SUBURBAN             ATLANTA                  GA
41446   1GNSKHKC7LR281617   GM          SUBURBAN             COLLEGE PARK             GA
41447   1GNSKHKC7LR282220   GM          SUBURBAN             KNOXVILLE                TN
41448   1GNSKHKC7LR282251   GM          SUBURBAN             KNOXVILLE                TN
41449   1GNSKHKC7LR282282   GM          SUBURBAN             ATLANTA                  GA
41450   1GNSKHKC7LR282640   GM          SUBURBAN             Atlanta                  GA
41451   1GNSKHKC7LR282721   GM          SUBURBAN             COLLEGE PARK             GA
41452   1GNSKHKC7LR283092   GM          SUBURBAN             MEMPHIS                  TN
41453   1GNSKHKC7LR283867   GM          SUBURBAN             SAN ANTONIO              TX
41454   1GNSKHKC7LR284033   GM          SUBURBAN             NASHVILLE                TN
41455   1GNSKHKC7LR284906   GM          SUBURBAN             NASHVILLE                TN
41456   1GNSKHKC7LR285036   GM          SUBURBAN             CHICAGO                  IL
41457   1GNSKHKC8HR167732   GM          SUBURBAN             MIAMI                    FL
41458   1GNSKHKC8JR234514   GM          SUBURBAN             Oceanside                CA
41459   1GNSKHKC8JR248011   GM          SUBURBAN             HILO                     HI
41460   1GNSKHKC8JR272096   GM          SUBURBAN
41461   1GNSKHKC8JR278402   GM          SUBURBAN             Roseville                CA
41462   1GNSKHKC8JR361649   GM          SUBURBAN             Davie                    FL
41463   1GNSKHKC8JR372392   GM          SUBURBAN             Detroit                  MI
41464   1GNSKHKC8JR373445   GM          SUBURBAN             DAYTONA BEACH            FL
41465   1GNSKHKC8JR380184   GM          SUBURBAN             North Las Vegas          NV
41466   1GNSKHKC8JR383229   GM          SUBURBAN             Stockton                 CA
41467   1GNSKHKC8JR384722   GM          SUBURBAN             PANAMA CITY              FL
41468   1GNSKHKC8JR386499   GM          SUBURBAN             Roseville                CA
41469   1GNSKHKC8JR398202   GM          SUBURBAN             SAN FRANCISCO            CA
41470   1GNSKHKC8JR403141   GM          SUBURBAN             DENVER                   CO
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41471   1GNSKHKC8KR186479   GM          SUBURBAN             DETROIT                  MI
41472   1GNSKHKC8KR189012   GM          SUBURBAN             PANAMA CITY              FL
41473   1GNSKHKC8KR190905   GM          SUBURBAN             ATLANTA                  GA
41474   1GNSKHKC8KR191214   GM          SUBURBAN             WEST PALM BEACH          FL
41475   1GNSKHKC8KR191536   GM          SUBURBAN             ORLANDO                  FL
41476   1GNSKHKC8KR192850   GM          SUBURBAN             PITTSBURGH               PA
41477   1GNSKHKC8KR194601   GM          SUBURBAN             DENVER                   CO
41478   1GNSKHKC8KR195313   GM          SUBURBAN             MIAMI                    FL
41479   1GNSKHKC8KR197563   GM          SUBURBAN             HILLSBOROUGH             NJ
41480   1GNSKHKC8KR204849   GM          SUBURBAN             DAYTONA BEACH            FL
41481   1GNSKHKC8KR205127   GM          SUBURBAN             Davie                    FL
41482   1GNSKHKC8KR207816   GM          SUBURBAN             Miami                    FL
41483   1GNSKHKC8KR252030   GM          SUBURBAN             HEMPSTEAD                NY
41484   1GNSKHKC8KR273525   GM          SUBURBAN             Riverside                CA
41485   1GNSKHKC8KR276084   GM          SUBURBAN             Tampa                    FL
41486   1GNSKHKC8KR277994   GM          SUBURBAN             OGDEN                    UT
41487   1GNSKHKC8KR279356   GM          SUBURBAN             Greensboro               NC
41488   1GNSKHKC8KR279924   GM          SUBURBAN             Tolleson                 AZ
41489   1GNSKHKC8KR280670   GM          SUBURBAN             BIRMINGHAM               AL
41490   1GNSKHKC8KR280863   GM          SUBURBAN             North Canton             OH
41491   1GNSKHKC8KR281396   GM          SUBURBAN             LEXINGTON                KY
41492   1GNSKHKC8KR281480   GM          SUBURBAN             Columbus                 OH
41493   1GNSKHKC8KR281530   GM          SUBURBAN             ORLANDO                  FL
41494   1GNSKHKC8KR284248   GM          SUBURBAN             ATHENS                   GA
41495   1GNSKHKC8KR285495   GM          SUBURBAN             HOUSTON                  TX
41496   1GNSKHKC8KR286274   GM          SUBURBAN             PENSACOLA                FL
41497   1GNSKHKC8KR286307   GM          SUBURBAN             Fontana                  CA
41498   1GNSKHKC8KR287814   GM          SUBURBAN             DALLAS                   TX
41499   1GNSKHKC8KR288302   GM          SUBURBAN             Miami                    FL
41500   1GNSKHKC8KR290602   GM          SUBURBAN             TULSA                    OK
41501   1GNSKHKC8KR290664   GM          SUBURBAN             PHOENIX                  AZ
41502   1GNSKHKC8KR291491   GM          SUBURBAN             Los Angeles              CA
41503   1GNSKHKC8KR309780   GM          SUBURBAN             Dallas                   TX
41504   1GNSKHKC8KR313022   GM          SUBURBAN             EGG HARBOR TOWN          NJ
41505   1GNSKHKC8KR334291   GM          SUBURBAN             BLOOMINGTON              IL
41506   1GNSKHKC8KR336896   GM          SUBURBAN             Salt Lake City           UT
41507   1GNSKHKC8KR341242   GM          SUBURBAN             DENVER                   CO
41508   1GNSKHKC8KR366478   GM          SUBURBAN             DENVER                   CO
41509   1GNSKHKC8KR366500   GM          SUBURBAN             SAN JOSE                 CA
41510   1GNSKHKC8KR367985   GM          SUBURBAN             DALLAS                   TX
41511   1GNSKHKC8KR368327   GM          SUBURBAN             OAKLAND                  CA
41512   1GNSKHKC8KR368344   GM          SUBURBAN             SANTA ANA                CA
41513   1GNSKHKC8KR368697   GM          SUBURBAN             LOS ANGELES              CA
41514   1GNSKHKC8KR372796   GM          SUBURBAN             Londonderry              NH
41515   1GNSKHKC8KR372829   GM          SUBURBAN             NEW YORK CITY            NY
41516   1GNSKHKC8KR376105   GM          SUBURBAN             LOS ANGELES              CA
41517   1GNSKHKC8KR378937   GM          SUBURBAN             MIAMI                    FL
41518   1GNSKHKC8KR380901   GM          SUBURBAN             SALT LAKE CITY           US
41519   1GNSKHKC8KR380977   GM          SUBURBAN             FRESNO                   CA
41520   1GNSKHKC8KR381045   GM          SUBURBAN             SALT LAKE CITY           US
41521   1GNSKHKC8KR391848   GM          SUBURBAN             MIAMI                    FL
41522   1GNSKHKC8KR392871   GM          SUBURBAN             MIAMI                    FL
41523   1GNSKHKC8KR395351   GM          SUBURBAN             SALT LAKE CITY           US
41524   1GNSKHKC8KR396578   GM          SUBURBAN             LOS ANGELES              CA
41525   1GNSKHKC8KR396743   GM          SUBURBAN             OAKLAND                  CA
41526   1GNSKHKC8KR399352   GM          SUBURBAN             LOS ANGELES              CA
41527   1GNSKHKC8KR399870   GM          SUBURBAN             DENVER                   CO
41528   1GNSKHKC8KR399934   GM          SUBURBAN             LOS ANGELES AP           CA
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41529   1GNSKHKC8KR407238   GM          SUBURBAN             LOS ANGELES              CA
41530   1GNSKHKC8KR407305   GM          SUBURBAN             LAS VEGAS                NV
41531   1GNSKHKC8KR407692   GM          SUBURBAN             TRACY                    CA
41532   1GNSKHKC8KR409748   GM          SUBURBAN             TRACY                    CA
41533   1GNSKHKC8LR152124   GM          SUBURBAN             KEY WEST                 FL
41534   1GNSKHKC8LR152169   GM          SUBURBAN             HOUSTON                  TX
41535   1GNSKHKC8LR152379   GM          SUBURBAN             Miami                    FL
41536   1GNSKHKC8LR152396   GM          SUBURBAN             Atlanta                  GA
41537   1GNSKHKC8LR152544   GM          SUBURBAN             ORLANDO                  FL
41538   1GNSKHKC8LR152561   GM          SUBURBAN             HOUSTON                  TX
41539   1GNSKHKC8LR153015   GM          SUBURBAN             HOUSTON                  TX
41540   1GNSKHKC8LR153208   GM          SUBURBAN             FORT LAUDERDALE          FL
41541   1GNSKHKC8LR153273   GM          SUBURBAN             NEW ORLEANS              LA
41542   1GNSKHKC8LR153323   GM          SUBURBAN             AUSTIN                   TX
41543   1GNSKHKC8LR153371   GM          SUBURBAN             INDIANAPOLIS             IN
41544   1GNSKHKC8LR153449   GM          SUBURBAN             AUSTIN                   TX
41545   1GNSKHKC8LR153614   GM          SUBURBAN             MIDLAND                  TX
41546   1GNSKHKC8LR153807   GM          SUBURBAN             LAS VEGAS                NV
41547   1GNSKHKC8LR153869   GM          SUBURBAN             LOS ANGELES              CA
41548   1GNSKHKC8LR154357   GM          SUBURBAN             SALT LAKE CITY           UT
41549   1GNSKHKC8LR154441   GM          SUBURBAN             Tulsa                    OK
41550   1GNSKHKC8LR154679   GM          SUBURBAN             KNOXVILLE                TN
41551   1GNSKHKC8LR155086   GM          SUBURBAN             PHOENIX                  AZ
41552   1GNSKHKC8LR155122   GM          SUBURBAN             MIAMI                    FL
41553   1GNSKHKC8LR155153   GM          SUBURBAN             FORT MYERS               FL
41554   1GNSKHKC8LR155430   GM          SUBURBAN             KALISPELL                MT
41555   1GNSKHKC8LR155721   GM          SUBURBAN             FORT LAUDERDALE          FL
41556   1GNSKHKC8LR155797   GM          SUBURBAN             LUBBOCK                  TX
41557   1GNSKHKC8LR155878   GM          SUBURBAN             NASHVILLE                TN
41558   1GNSKHKC8LR156058   GM          SUBURBAN             DFW AIRPORT              TX
41559   1GNSKHKC8LR156173   GM          SUBURBAN             PHOENIX                  AZ
41560   1GNSKHKC8LR156304   GM          SUBURBAN             DANIA BEACH              FL
41561   1GNSKHKC8LR156383   GM          SUBURBAN             SAN ANTONIO              TX
41562   1GNSKHKC8LR156559   GM          SUBURBAN             Seattle                  WA
41563   1GNSKHKC8LR156691   GM          SUBURBAN             SAINT PAUL               MN
41564   1GNSKHKC8LR157016   GM          SUBURBAN             ORLANDO                  FL
41565   1GNSKHKC8LR157209   GM          SUBURBAN             GYPSUM                   CO
41566   1GNSKHKC8LR157212   GM          SUBURBAN             Stone Mountain           GA
41567   1GNSKHKC8LR157260   GM          SUBURBAN             WEST PALM BEACH          FL
41568   1GNSKHKC8LR157324   GM          SUBURBAN             AUSTIN                   TX
41569   1GNSKHKC8LR157646   GM          SUBURBAN             FORT MYERS               FL
41570   1GNSKHKC8LR157677   GM          SUBURBAN             DALLAS                   TX
41571   1GNSKHKC8LR157744   GM          SUBURBAN             Miami                    FL
41572   1GNSKHKC8LR157887   GM          SUBURBAN             OKLAHOMA CITY            OK
41573   1GNSKHKC8LR158067   GM          SUBURBAN             DFW AIRPORT              TX
41574   1GNSKHKC8LR158179   GM          SUBURBAN             FORT LAUDERDALE          FL
41575   1GNSKHKC8LR158537   GM          SUBURBAN             EL PASO                  TX
41576   1GNSKHKC8LR158795   GM          SUBURBAN             LAS VEGAS                NV
41577   1GNSKHKC8LR158876   GM          SUBURBAN             SALT LAKE CITY           US
41578   1GNSKHKC8LR158912   GM          SUBURBAN             SAN DIEGO                CA
41579   1GNSKHKC8LR158957   GM          SUBURBAN             FT. LAUDERDALE           FL
41580   1GNSKHKC8LR158960   GM          SUBURBAN             ORLANDO                  FL
41581   1GNSKHKC8LR159140   GM          SUBURBAN             Miami                    FL
41582   1GNSKHKC8LR159185   GM          SUBURBAN             DANIA BEACH              FL
41583   1GNSKHKC8LR159302   GM          SUBURBAN             CHICAGO                  IL
41584   1GNSKHKC8LR159462   GM          SUBURBAN             TAMPA                    FL
41585   1GNSKHKC8LR160627   GM          SUBURBAN             OKLAHOMA CITY            OK
41586   1GNSKHKC8LR160661   GM          SUBURBAN             KNOXVILLE                TN
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41587   1GNSKHKC8LR168033   GM          SUBURBAN             PHILA                    PA
41588   1GNSKHKC8LR169117   GM          SUBURBAN             URBANDALE                IA
41589   1GNSKHKC8LR236198   GM          SUBURBAN             EAST BOSTON              MA
41590   1GNSKHKC8LR236816   GM          SUBURBAN             SOUTH BURLINGTO          VT
41591   1GNSKHKC8LR237416   GM          SUBURBAN             WARWICK                  RI
41592   1GNSKHKC8LR237447   GM          SUBURBAN             NEW YORK CITY            NY
41593   1GNSKHKC8LR238131   GM          SUBURBAN             EAST BOSTON              MA
41594   1GNSKHKC8LR238193   GM          SUBURBAN             WHITE PLAINS             NY
41595   1GNSKHKC8LR238422   GM          SUBURBAN             COLLEGE PARK             GA
41596   1GNSKHKC8LR239487   GM          SUBURBAN             CHARLOTTE                NC
41597   1GNSKHKC8LR242888   GM          SUBURBAN             BURBANK                  CA
41598   1GNSKHKC8LR242941   GM          SUBURBAN             SYRACUSE                 NY
41599   1GNSKHKC8LR243362   GM          SUBURBAN             LOUISVILLE               KY
41600   1GNSKHKC8LR243829   GM          SUBURBAN             STERLING                 VA
41601   1GNSKHKC8LR243975   GM          SUBURBAN             DENVER                   CO
41602   1GNSKHKC8LR244298   GM          SUBURBAN             LAS VEGAS                NV
41603   1GNSKHKC8LR244494   GM          SUBURBAN             GYPSUM                   CO
41604   1GNSKHKC8LR244740   GM          SUBURBAN             MYRTLE BEACH             SC
41605   1GNSKHKC8LR245211   GM          SUBURBAN             RONKONKOMA               NY
41606   1GNSKHKC8LR248383   GM          SUBURBAN             PHOENIX                  AZ
41607   1GNSKHKC8LR250893   GM          SUBURBAN             LOUISVILLE               KY
41608   1GNSKHKC8LR252112   GM          SUBURBAN             MYRTLE BEACH             SC
41609   1GNSKHKC8LR252255   GM          SUBURBAN             DES MOINES               IA
41610   1GNSKHKC8LR253597   GM          SUBURBAN             SAINT PAUL               MN
41611   1GNSKHKC8LR255463   GM          SUBURBAN             JACKSONVILLE             FL
41612   1GNSKHKC8LR257116   GM          SUBURBAN             WARWICK                  RI
41613   1GNSKHKC8LR257620   GM          SUBURBAN             ATLANTA                  GA
41614   1GNSKHKC8LR258119   GM          SUBURBAN             GREENSBORO               NC
41615   1GNSKHKC8LR260842   GM          SUBURBAN             SAN DIEGO                CA
41616   1GNSKHKC8LR262543   GM          SUBURBAN             BOSTON                   MA
41617   1GNSKHKC8LR263806   GM          SUBURBAN             CHICAGO                  IL
41618   1GNSKHKC8LR263918   GM          SUBURBAN             BOSTON                   MA
41619   1GNSKHKC8LR263921   GM          SUBURBAN             ROCHESTER                NY
41620   1GNSKHKC8LR264065   GM          SUBURBAN             LAS VEGAS                NV
41621   1GNSKHKC8LR264079   GM          SUBURBAN             PORTLAND                 ME
41622   1GNSKHKC8LR264258   GM          SUBURBAN             SYRACUSE                 NY
41623   1GNSKHKC8LR264566   GM          SUBURBAN             BOSTON                   MA
41624   1GNSKHKC8LR265264   GM          SUBURBAN             ROCHESTER                NY
41625   1GNSKHKC8LR266902   GM          SUBURBAN             Atlanta                  GA
41626   1GNSKHKC8LR267662   GM          SUBURBAN             WICHITA FALLS            TX
41627   1GNSKHKC8LR267855   GM          SUBURBAN             BOSTON                   MA
41628   1GNSKHKC8LR269699   GM          SUBURBAN             WICHITA FALLS            TX
41629   1GNSKHKC8LR271095   GM          SUBURBAN             HARRISBURG               PA
41630   1GNSKHKC8LR273719   GM          SUBURBAN             MYRTLE BEACH             SC
41631   1GNSKHKC8LR273770   GM          SUBURBAN             WEST PALM BEACH          FL
41632   1GNSKHKC8LR274708   GM          SUBURBAN             BUFFALO                  NY
41633   1GNSKHKC8LR275079   GM          SUBURBAN             LOS ANGELES              CA
41634   1GNSKHKC8LR281500   GM          SUBURBAN             KENNER                   LA
41635   1GNSKHKC8LR282081   GM          SUBURBAN             Union City               GA
41636   1GNSKHKC8LR282355   GM          SUBURBAN             MEMPHIS                  TN
41637   1GNSKHKC8LR282369   GM          SUBURBAN             ATLANTA                  GA
41638   1GNSKHKC8LR282646   GM          SUBURBAN             ATLANTA                  GA
41639   1GNSKHKC8LR283103   GM          SUBURBAN             KNOXVILLE                TN
41640   1GNSKHKC8LR283179   GM          SUBURBAN             PANAMA CITY              FL
41641   1GNSKHKC8LR283814   GM          SUBURBAN             CHICAGO                  IL
41642   1GNSKHKC8LR284395   GM          SUBURBAN             KNOXVILLE                TN
41643   1GNSKHKC8LR284901   GM          SUBURBAN             ATLANTA                  GA
41644   1GNSKHKC8LR284915   GM          SUBURBAN             COLUMBIA                 SC
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41645   1GNSKHKC8LR285613   GM          SUBURBAN             CHICAGO                  IL
41646   1GNSKHKC9JR190474   GM          SUBURBAN             Atlanta                  GA
41647   1GNSKHKC9JR236188   GM          SUBURBAN             Fontana                  CA
41648   1GNSKHKC9JR269367   GM          SUBURBAN             Pasadena                 CA
41649   1GNSKHKC9JR366746   GM          SUBURBAN             DFW AIRPORT              TX
41650   1GNSKHKC9JR377648   GM          SUBURBAN             Manheim                  PA
41651   1GNSKHKC9JR381523   GM          SUBURBAN             Fontana                  CA
41652   1GNSKHKC9JR382204   GM          SUBURBAN             NEW ORLEANS              LA
41653   1GNSKHKC9JR390500   GM          SUBURBAN             SAN JOSE                 CA
41654   1GNSKHKC9JR398516   GM          SUBURBAN             Anaheim                  CA
41655   1GNSKHKC9JR399374   GM          SUBURBAN             North Dighton            MA
41656   1GNSKHKC9JR401530   GM          SUBURBAN             DENVER                   CO
41657   1GNSKHKC9KR187589   GM          SUBURBAN             MEMPHIS                  TN
41658   1GNSKHKC9KR188032   GM          SUBURBAN             ALBANY                   NY
41659   1GNSKHKC9KR188404   GM          SUBURBAN             Atlanta                  GA
41660   1GNSKHKC9KR194008   GM          SUBURBAN             PHOENIX                  AZ
41661   1GNSKHKC9KR195417   GM          SUBURBAN             HOUSTON                  TX
41662   1GNSKHKC9KR197216   GM          SUBURBAN             PHOENIX                  AZ
41663   1GNSKHKC9KR198978   GM          SUBURBAN             DENVER                   CO
41664   1GNSKHKC9KR199077   GM          SUBURBAN             TAMPA                    FL
41665   1GNSKHKC9KR199791   GM          SUBURBAN             BOSTON                   MA
41666   1GNSKHKC9KR201183   GM          SUBURBAN             SAVANNAH                 GA
41667   1GNSKHKC9KR201426   GM          SUBURBAN             Davie                    FL
41668   1GNSKHKC9KR203757   GM          SUBURBAN             TAMPA                    US
41669   1GNSKHKC9KR208201   GM          SUBURBAN             MIAMI                    FL
41670   1GNSKHKC9KR214113   GM          SUBURBAN             SANTA ANA                CA
41671   1GNSKHKC9KR274246   GM          SUBURBAN             Denver                   CO
41672   1GNSKHKC9KR274814   GM          SUBURBAN             Kansas City              MO
41673   1GNSKHKC9KR275123   GM          SUBURBAN             Framingham               MA
41674   1GNSKHKC9KR276823   GM          SUBURBAN             Greensboro               NC
41675   1GNSKHKC9KR276840   GM          SUBURBAN             Fontana                  CA
41676   1GNSKHKC9KR278233   GM          SUBURBAN             KENNER                   LA
41677   1GNSKHKC9KR280385   GM          SUBURBAN             KENNER                   LA
41678   1GNSKHKC9KR281021   GM          SUBURBAN             DARLINGTON               SC
41679   1GNSKHKC9KR281326   GM          SUBURBAN             RICHMOND                 VA
41680   1GNSKHKC9KR283237   GM          SUBURBAN             FORT MYERS               FL
41681   1GNSKHKC9KR284291   GM          SUBURBAN             Miami                    FL
41682   1GNSKHKC9KR288616   GM          SUBURBAN             WEST PALM BEACH          FL
41683   1GNSKHKC9KR289331   GM          SUBURBAN             SOUTH SAN FRANC          CA
41684   1GNSKHKC9KR290852   GM          SUBURBAN             Miami                    FL
41685   1GNSKHKC9KR291676   GM          SUBURBAN             SALT LAKE CITY           US
41686   1GNSKHKC9KR299342   GM          SUBURBAN             Fontana                  CA
41687   1GNSKHKC9KR300313   GM          SUBURBAN             KENNER                   LA
41688   1GNSKHKC9KR300411   GM          SUBURBAN             Rio Linda                CA
41689   1GNSKHKC9KR304426   GM          SUBURBAN             LOS ANGELES              CA
41690   1GNSKHKC9KR309285   GM          SUBURBAN             Sterling                 VA
41691   1GNSKHKC9KR332176   GM          SUBURBAN             FRESNO                   CA
41692   1GNSKHKC9KR333439   GM          SUBURBAN             SAN DIEGO                CA
41693   1GNSKHKC9KR337538   GM          SUBURBAN             PHOENIX                  AZ
41694   1GNSKHKC9KR339225   GM          SUBURBAN             GRAND RAPIDS             MI
41695   1GNSKHKC9KR341802   GM          SUBURBAN             STERLING                 VA
41696   1GNSKHKC9KR361242   GM          SUBURBAN             San Francisco            CA
41697   1GNSKHKC9KR363458   GM          SUBURBAN             FRESNO                   CA
41698   1GNSKHKC9KR363864   GM          SUBURBAN             SACRAMENTO               CA
41699   1GNSKHKC9KR365064   GM          SUBURBAN             SANTA ANA                CA
41700   1GNSKHKC9KR365095   GM          SUBURBAN             WEST PALM BEACH          FL
41701   1GNSKHKC9KR366313   GM          SUBURBAN             LOS ANGELES              CA
41702   1GNSKHKC9KR369664   GM          SUBURBAN             ROANOKE                  VA
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41703   1GNSKHKC9KR371902   GM          SUBURBAN             Detroit                  MI
41704   1GNSKHKC9KR372872   GM          SUBURBAN             MIAMI                    FL
41705   1GNSKHKC9KR374511   GM          SUBURBAN             Teterboro                NJ
41706   1GNSKHKC9KR377876   GM          SUBURBAN             PENSACOLA                FL
41707   1GNSKHKC9KR380793   GM          SUBURBAN             Los Angeles              CA
41708   1GNSKHKC9KR381586   GM          SUBURBAN             N HOLLYWOOD              CA
41709   1GNSKHKC9KR381961   GM          SUBURBAN             FRESNO                   CA
41710   1GNSKHKC9KR395911   GM          SUBURBAN             TAMPA                    FL
41711   1GNSKHKC9KR396217   GM          SUBURBAN             Las Vegas                NV
41712   1GNSKHKC9KR396220   GM          SUBURBAN             SAN FRANCISCO            CA
41713   1GNSKHKC9KR396704   GM          SUBURBAN             DALLAS                   TX
41714   1GNSKHKC9KR396914   GM          SUBURBAN             SALT LAKE CITY           US
41715   1GNSKHKC9KR396945   GM          SUBURBAN             LOS ANGELES              CA
41716   1GNSKHKC9KR399411   GM          SUBURBAN             TAMPA                    FL
41717   1GNSKHKC9KR400721   GM          SUBURBAN             SAN DIEGO                CA
41718   1GNSKHKC9KR404557   GM          SUBURBAN             SEATAC                   WA
41719   1GNSKHKC9KR405725   GM          SUBURBAN             Rio Linda                CA
41720   1GNSKHKC9KR406373   GM          SUBURBAN             SOUTH SAN FRANC          CA
41721   1GNSKHKC9KR407460   GM          SUBURBAN             RENO                     NV
41722   1GNSKHKC9KR408088   GM          SUBURBAN             FRESNO                   CA
41723   1GNSKHKC9LR152052   GM          SUBURBAN             TULSA                    OK
41724   1GNSKHKC9LR152102   GM          SUBURBAN             KENNER                   LA
41725   1GNSKHKC9LR152164   GM          SUBURBAN             SAN ANTONIO              TX
41726   1GNSKHKC9LR152178   GM          SUBURBAN             LOS ANGELES              CA
41727   1GNSKHKC9LR152195   GM          SUBURBAN             ORLANDO                  FL
41728   1GNSKHKC9LR152293   GM          SUBURBAN             ORLANDO                  FL
41729   1GNSKHKC9LR152486   GM          SUBURBAN             MIAMI                    FL
41730   1GNSKHKC9LR152598   GM          SUBURBAN             PHILADELPHIA             PA
41731   1GNSKHKC9LR152617   GM          SUBURBAN             FORT LAUDERDALE          FL
41732   1GNSKHKC9LR152780   GM          SUBURBAN             JACKSONVILLE             FL
41733   1GNSKHKC9LR153041   GM          SUBURBAN             FORT LAUDERDALE          FL
41734   1GNSKHKC9LR153198   GM          SUBURBAN             CORPUS CHRISTI           TX
41735   1GNSKHKC9LR153220   GM          SUBURBAN             ORLANDO                  FL
41736   1GNSKHKC9LR153315   GM          SUBURBAN             DALLAS                   TX
41737   1GNSKHKC9LR153380   GM          SUBURBAN             JACKSONVILLE             FL
41738   1GNSKHKC9LR153430   GM          SUBURBAN             MIDLAND                  TX
41739   1GNSKHKC9LR153606   GM          SUBURBAN             ORLANDO                  FL
41740   1GNSKHKC9LR153945   GM          SUBURBAN             EL PASO                  TX
41741   1GNSKHKC9LR154061   GM          SUBURBAN             ORLANDO                  FL
41742   1GNSKHKC9LR154156   GM          SUBURBAN             DALLAS                   TX
41743   1GNSKHKC9LR154383   GM          SUBURBAN             ORLANDO                  FL
41744   1GNSKHKC9LR154481   GM          SUBURBAN             Hebron                   KY
41745   1GNSKHKC9LR154626   GM          SUBURBAN             ORLANDO                  FL
41746   1GNSKHKC9LR154657   GM          SUBURBAN             FORT LAUDERDALE          FL
41747   1GNSKHKC9LR154738   GM          SUBURBAN             RICHMOND                 VA
41748   1GNSKHKC9LR154979   GM          SUBURBAN             PHOENIX                  AZ
41749   1GNSKHKC9LR155078   GM          SUBURBAN             ALBUQUERQUE              NM
41750   1GNSKHKC9LR155114   GM          SUBURBAN             MIAMI                    FL
41751   1GNSKHKC9LR155517   GM          SUBURBAN             SEATAC                   WA
41752   1GNSKHKC9LR155646   GM          SUBURBAN             CLEVELAND                OH
41753   1GNSKHKC9LR155680   GM          SUBURBAN             PHOENIX                  AZ
41754   1GNSKHKC9LR155694   GM          SUBURBAN             PHOENIX                  AZ
41755   1GNSKHKC9LR155727   GM          SUBURBAN             HOUSTON                  TX
41756   1GNSKHKC9LR155775   GM          SUBURBAN             HOUSTON                  TX
41757   1GNSKHKC9LR155887   GM          SUBURBAN             HOUSTON                  TX
41758   1GNSKHKC9LR155923   GM          SUBURBAN             SAN FRANCISCO            CA
41759   1GNSKHKC9LR156151   GM          SUBURBAN             PHILADELPHIA             PA
41760   1GNSKHKC9LR156277   GM          SUBURBAN             CHICAGO                  IL
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41761   1GNSKHKC9LR156294   GM          SUBURBAN             DENVER                   CO
41762   1GNSKHKC9LR156764   GM          SUBURBAN             TAMPA                    FL
41763   1GNSKHKC9LR157090   GM          SUBURBAN             GYPSUM                   CO
41764   1GNSKHKC9LR157171   GM          SUBURBAN             MIAMI                    FL
41765   1GNSKHKC9LR157185   GM          SUBURBAN             LOS ANGELES              CA
41766   1GNSKHKC9LR157235   GM          SUBURBAN             NEW YORK CITY            NY
41767   1GNSKHKC9LR157297   GM          SUBURBAN             Teterboro                NJ
41768   1GNSKHKC9LR157400   GM          SUBURBAN             HOUSTON                  TX
41769   1GNSKHKC9LR157431   GM          SUBURBAN             Mandeville               LA
41770   1GNSKHKC9LR157638   GM          SUBURBAN             BILLINGS                 MT
41771   1GNSKHKC9LR157834   GM          SUBURBAN             NORFOLK                  VA
41772   1GNSKHKC9LR158062   GM          SUBURBAN             SAN ANTONIO              TX
41773   1GNSKHKC9LR158143   GM          SUBURBAN             PITTSBURGH               PA
41774   1GNSKHKC9LR158286   GM          SUBURBAN             SAN DIEGO                CA
41775   1GNSKHKC9LR158577   GM          SUBURBAN             Salt Lake City           UT
41776   1GNSKHKC9LR158613   GM          SUBURBAN             MIAMI                    FL
41777   1GNSKHKC9LR158756   GM          SUBURBAN             FORT MYERS               FL
41778   1GNSKHKC9LR158871   GM          SUBURBAN             SAN ANTONIO              TX
41779   1GNSKHKC9LR159129   GM          SUBURBAN             ORLANDO                  FL
41780   1GNSKHKC9LR159227   GM          SUBURBAN             KENNER                   LA
41781   1GNSKHKC9LR159244   GM          SUBURBAN             ORLANDO                  FL
41782   1GNSKHKC9LR159258   GM          SUBURBAN             Atlanta                  GA
41783   1GNSKHKC9LR159566   GM          SUBURBAN             ATLANTA                  GA
41784   1GNSKHKC9LR160829   GM          SUBURBAN             PHOENIX                  AZ
41785   1GNSKHKC9LR166629   GM          SUBURBAN             SARASOTA                 FL
41786   1GNSKHKC9LR167747   GM          SUBURBAN             KENNER                   LA
41787   1GNSKHKC9LR168767   GM          SUBURBAN             DES MOINES               IA
41788   1GNSKHKC9LR171278   GM          SUBURBAN             KANSAS CITY              MO
41789   1GNSKHKC9LR232614   GM          SUBURBAN             LOS ANGELES              CA
41790   1GNSKHKC9LR234086   GM          SUBURBAN             PORTLAND                 OR
41791   1GNSKHKC9LR236906   GM          SUBURBAN             NEW YORK CITY            NY
41792   1GNSKHKC9LR237005   GM          SUBURBAN             WARWICK                  RI
41793   1GNSKHKC9LR237442   GM          SUBURBAN             NEW BERN                 NC
41794   1GNSKHKC9LR237456   GM          SUBURBAN             WEST COLUMBIA            SC
41795   1GNSKHKC9LR239482   GM          SUBURBAN             HOUSTON                  TX
41796   1GNSKHKC9LR240891   GM          SUBURBAN             BOSTON                   MA
41797   1GNSKHKC9LR242110   GM          SUBURBAN             LOS ANGELES              CA
41798   1GNSKHKC9LR242589   GM          SUBURBAN             FAYETTEVILLE             US
41799   1GNSKHKC9LR243953   GM          SUBURBAN             COLUMBUS                 OH
41800   1GNSKHKC9LR244391   GM          SUBURBAN             DALLAS                   TX
41801   1GNSKHKC9LR244505   GM          SUBURBAN             PHILADELPHIA             US
41802   1GNSKHKC9LR244519   GM          SUBURBAN             ROCHESTER                NY
41803   1GNSKHKC9LR245055   GM          SUBURBAN             ALEXANDRIA               VA
41804   1GNSKHKC9LR246416   GM          SUBURBAN             PALM SPRINGS             CA
41805   1GNSKHKC9LR246593   GM          SUBURBAN             JAMAICA                  NY
41806   1GNSKHKC9LR247081   GM          SUBURBAN             CHARLOTTE                NC
41807   1GNSKHKC9LR249221   GM          SUBURBAN             KENNER                   LA
41808   1GNSKHKC9LR250739   GM          SUBURBAN             HOUSTON                  TX
41809   1GNSKHKC9LR251437   GM          SUBURBAN             KNOXVILLE                TN
41810   1GNSKHKC9LR251471   GM          SUBURBAN             KNOXVILLE                TN
41811   1GNSKHKC9LR254922   GM          SUBURBAN             Atlanta                  GA
41812   1GNSKHKC9LR255620   GM          SUBURBAN             OKLAHOMA CITY            OK
41813   1GNSKHKC9LR256136   GM          SUBURBAN             WARWICK                  RI
41814   1GNSKHKC9LR256668   GM          SUBURBAN             SAINT PAUL               MN
41815   1GNSKHKC9LR256881   GM          SUBURBAN             FORT MYERS               FL
41816   1GNSKHKC9LR258159   GM          SUBURBAN             HOUSTON                  TX
41817   1GNSKHKC9LR258310   GM          SUBURBAN             CHICAGO                  IL
41818   1GNSKHKC9LR258775   GM          SUBURBAN             JACKSONVILLE             FL
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41819   1GNSKHKC9LR258792   GM          SUBURBAN             DES MOINES               IA
41820   1GNSKHKC9LR261594   GM          SUBURBAN             SAINT PAUL               MN
41821   1GNSKHKC9LR261952   GM          SUBURBAN             WHITE PLAINS             NY
41822   1GNSKHKC9LR262132   GM          SUBURBAN             JACKSONVILLE             FL
41823   1GNSKHKC9LR262566   GM          SUBURBAN             LOS ANGELES              CA
41824   1GNSKHKC9LR262888   GM          SUBURBAN             HARTFORD                 CT
41825   1GNSKHKC9LR262907   GM          SUBURBAN             ALBANY                   N
41826   1GNSKHKC9LR263152   GM          SUBURBAN             SYRACUSE                 NY
41827   1GNSKHKC9LR264172   GM          SUBURBAN             BOSTON                   MA
41828   1GNSKHKC9LR264219   GM          SUBURBAN             SOUTH BURLINGTO          VT
41829   1GNSKHKC9LR264303   GM          SUBURBAN             ORLANDO                  FL
41830   1GNSKHKC9LR265287   GM          SUBURBAN             SYRACUSE                 NY
41831   1GNSKHKC9LR265368   GM          SUBURBAN             North Billerica          MA
41832   1GNSKHKC9LR267525   GM          SUBURBAN             CHICAGO                  IL
41833   1GNSKHKC9LR267864   GM          SUBURBAN             STERLING                 VA
41834   1GNSKHKC9LR268450   GM          SUBURBAN             KNOXVILLE                TN
41835   1GNSKHKC9LR268903   GM          SUBURBAN             NEW BERN                 NC
41836   1GNSKHKC9LR270523   GM          SUBURBAN             STERLING                 US
41837   1GNSKHKC9LR272031   GM          SUBURBAN             FORT MYERS               FL
41838   1GNSKHKC9LR273986   GM          SUBURBAN             PHILADELPHIA             PA
41839   1GNSKHKC9LR274474   GM          SUBURBAN             SANTA ANA                CA
41840   1GNSKHKC9LR274863   GM          SUBURBAN             SAN ANTONIO              TX
41841   1GNSKHKC9LR275219   GM          SUBURBAN             LOS ANGELES              CA
41842   1GNSKHKC9LR276595   GM          SUBURBAN             BIRMINGHAM               AL
41843   1GNSKHKC9LR280954   GM          SUBURBAN             ATLANTA                  GA
41844   1GNSKHKC9LR281215   GM          SUBURBAN             Atlanta                  GA
41845   1GNSKHKC9LR281683   GM          SUBURBAN             ATLANTA                  GA
41846   1GNSKHKC9LR281778   GM          SUBURBAN             ATLANTA                  GA
41847   1GNSKHKC9LR281800   GM          SUBURBAN             STERLING                 VA
41848   1GNSKHKC9LR282025   GM          SUBURBAN             SARASOTA                 FL
41849   1GNSKHKC9LR282154   GM          SUBURBAN             UNION CITY               GA
41850   1GNSKHKC9LR282171   GM          SUBURBAN             FAYETTEVILLE             GA
41851   1GNSKHKC9LR282493   GM          SUBURBAN             KNOXVILLE                TN
41852   1GNSKHKC9LR282512   GM          SUBURBAN             ATLANTA                  GA
41853   1GNSKHKC9LR282624   GM          SUBURBAN             Atlanta                  GA
41854   1GNSKHKC9LR282719   GM          SUBURBAN             KNOXVILLE                TN
41855   1GNSKHKC9LR282736   GM          SUBURBAN             CHATTANOOGA              TN
41856   1GNSKHKC9LR282767   GM          SUBURBAN             Atlanta                  GA
41857   1GNSKHKC9LR283210   GM          SUBURBAN             MEMPHIS                  TN
41858   1GNSKHKC9LR283854   GM          SUBURBAN             KNOXVILLE                TN
41859   1GNSKHKC9LR284194   GM          SUBURBAN             MEMPHIS                  TN
41860   1GNSKHKC9LR284258   GM          SUBURBAN             KNOXVILLE                TN
41861   1GNSKHKC9LR284891   GM          SUBURBAN             KNOXVILLE                TN
41862   1GNSKHKC9LR285300   GM          SUBURBAN             PANAMA CITY              FL
41863   1GNSKHKC9LR285555   GM          SUBURBAN             TAMPA                    US
41864   1GNSKHKCXHR179266   GM          SUBURBAN             CHICAGO                  IL
41865   1GNSKHKCXJR201367   GM          SUBURBAN             Fontana                  CA
41866   1GNSKHKCXJR230478   GM          SUBURBAN             MARIETTA                 GA
41867   1GNSKHKCXJR236121   GM          SUBURBAN             SAN DIEGO                CA
41868   1GNSKHKCXJR278868   GM          SUBURBAN             WEST PALM BEACH          FL
41869   1GNSKHKCXJR338390   GM          SUBURBAN             Fontana                  CA
41870   1GNSKHKCXJR376881   GM          SUBURBAN             Euless                   TX
41871   1GNSKHKCXJR379702   GM          SUBURBAN             Fontana                  CA
41872   1GNSKHKCXJR388139   GM          SUBURBAN             Riverside                CA
41873   1GNSKHKCXJR388643   GM          SUBURBAN             Hayward                  CA
41874   1GNSKHKCXJR400046   GM          SUBURBAN             North Dighton            MA
41875   1GNSKHKCXJR401830   GM          SUBURBAN             Statesville              NC
41876   1GNSKHKCXJR404825   GM          SUBURBAN             Ft. Myers                FL
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41877   1GNSKHKCXKR186371   GM          SUBURBAN             ATLANTA                  GA
41878   1GNSKHKCXKR186466   GM          SUBURBAN             Tampa                    FL
41879   1GNSKHKCXKR187326   GM          SUBURBAN             DENVER                   CO
41880   1GNSKHKCXKR188184   GM          SUBURBAN             DAYTONA BEACH            FL
41881   1GNSKHKCXKR190792   GM          SUBURBAN             NEWARK                   NJ
41882   1GNSKHKCXKR191540   GM          SUBURBAN             SAINT PAUL               MN
41883   1GNSKHKCXKR195118   GM          SUBURBAN             WHITE PLAINS             NY
41884   1GNSKHKCXKR195376   GM          SUBURBAN             WARWICK                  RI
41885   1GNSKHKCXKR196723   GM          SUBURBAN             Manheim                  PA
41886   1GNSKHKCXKR197466   GM          SUBURBAN             Torrance                 CA
41887   1GNSKHKCXKR199556   GM          SUBURBAN             Riverside                CA
41888   1GNSKHKCXKR200348   GM          SUBURBAN             Miami                    FL
41889   1GNSKHKCXKR204853   GM          SUBURBAN             Manheim                  PA
41890   1GNSKHKCXKR210409   GM          SUBURBAN             Atlanta                  GA
41891   1GNSKHKCXKR216694   GM          SUBURBAN             WEST PALM BEACH          FL
41892   1GNSKHKCXKR249632   GM          SUBURBAN             Pensacola                FL
41893   1GNSKHKCXKR277334   GM          SUBURBAN             Manheim                  PA
41894   1GNSKHKCXKR278208   GM          SUBURBAN             Fontana                  CA
41895   1GNSKHKCXKR278936   GM          SUBURBAN             DFW AIRPORT              TX
41896   1GNSKHKCXKR279701   GM          SUBURBAN             St. Louis                MO
41897   1GNSKHKCXKR279813   GM          SUBURBAN             Schaumburg               IL
41898   1GNSKHKCXKR282985   GM          SUBURBAN             North Dighton            MA
41899   1GNSKHKCXKR283456   GM          SUBURBAN             DAYTONA BEACH            FL
41900   1GNSKHKCXKR283490   GM          SUBURBAN             DENVER                   CO
41901   1GNSKHKCXKR283618   GM          SUBURBAN             RONKONKOMA               NY
41902   1GNSKHKCXKR284512   GM          SUBURBAN             Atlanta                  GA
41903   1GNSKHKCXKR285000   GM          SUBURBAN             OKLAHOMA CITY            OK
41904   1GNSKHKCXKR287135   GM          SUBURBAN             Hapeville                GA
41905   1GNSKHKCXKR288981   GM          SUBURBAN             WEST PALM BEACH          FL
41906   1GNSKHKCXKR289192   GM          SUBURBAN             San Antonio              TX
41907   1GNSKHKCXKR289547   GM          SUBURBAN             SALT LAKE CITY           US
41908   1GNSKHKCXKR309683   GM          SUBURBAN             Atlanta                  GA
41909   1GNSKHKCXKR313300   GM          SUBURBAN             LAS VEGAS                NV
41910   1GNSKHKCXKR315774   GM          SUBURBAN             STERLING                 VA
41911   1GNSKHKCXKR331120   GM          SUBURBAN             MONTEREY                 CA
41912   1GNSKHKCXKR335443   GM          SUBURBAN             Oklahoma City            OK
41913   1GNSKHKCXKR335555   GM          SUBURBAN             DETROIT                  MI
41914   1GNSKHKCXKR335989   GM          SUBURBAN             HANOVER                  MD
41915   1GNSKHKCXKR338567   GM          SUBURBAN             Riverside                CA
41916   1GNSKHKCXKR341405   GM          SUBURBAN             TRACY                    CA
41917   1GNSKHKCXKR342313   GM          SUBURBAN             DENVER                   CO
41918   1GNSKHKCXKR342408   GM          SUBURBAN             Reno                     NV
41919   1GNSKHKCXKR347463   GM          SUBURBAN             Riverside                CA
41920   1GNSKHKCXKR361282   GM          SUBURBAN             SACRAMENTO               CA
41921   1GNSKHKCXKR367180   GM          SUBURBAN             CLEVELAND                OH
41922   1GNSKHKCXKR367955   GM          SUBURBAN             SANTA ANA                CA
41923   1GNSKHKCXKR374274   GM          SUBURBAN             SAVANNAH                 GA
41924   1GNSKHKCXKR377515   GM          SUBURBAN             SEATAC                   WA
41925   1GNSKHKCXKR377711   GM          SUBURBAN             LAS VEGAS                NV
41926   1GNSKHKCXKR379667   GM          SUBURBAN             SACRAMENTO               CA
41927   1GNSKHKCXKR380110   GM          SUBURBAN             BOSTON                   MA
41928   1GNSKHKCXKR380141   GM          SUBURBAN             Oceanside                CA
41929   1GNSKHKCXKR381452   GM          SUBURBAN             ONTARIO                  CA
41930   1GNSKHKCXKR392127   GM          SUBURBAN             JACKSONVILLE             FL
41931   1GNSKHKCXKR394539   GM          SUBURBAN             MIAMI                    FL
41932   1GNSKHKCXKR396162   GM          SUBURBAN             ONTARIO                  CA
41933   1GNSKHKCXKR396842   GM          SUBURBAN             SACRAMENTO               CA
41934   1GNSKHKCXKR396887   GM          SUBURBAN             SAN JOSE                 CA
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41935   1GNSKHKCXKR396923   GM          SUBURBAN             SACRAMENTO               CA
41936   1GNSKHKCXKR398221   GM          SUBURBAN             LAS VEGAS                NV
41937   1GNSKHKCXKR400565   GM          SUBURBAN             SAN FRANCISCO            CA
41938   1GNSKHKCXKR403272   GM          SUBURBAN             LOS ANGELES              CA
41939   1GNSKHKCXKR404552   GM          SUBURBAN             SANTA ANA                CA
41940   1GNSKHKCXKR405054   GM          SUBURBAN             PALM SPRINGS             CA
41941   1GNSKHKCXLR152254   GM          SUBURBAN             Miami                    FL
41942   1GNSKHKCXLR152335   GM          SUBURBAN             FORT LAUDERDALE          FL
41943   1GNSKHKCXLR152352   GM          SUBURBAN             TAMPA                    FL
41944   1GNSKHKCXLR152643   GM          SUBURBAN             AUSTIN                   TX
41945   1GNSKHKCXLR152660   GM          SUBURBAN             Irving                   TX
41946   1GNSKHKCXLR152691   GM          SUBURBAN             Tampa                    FL
41947   1GNSKHKCXLR152755   GM          SUBURBAN             JACKSONVILLE             FL
41948   1GNSKHKCXLR152769   GM          SUBURBAN             PITTSBURGH               PA
41949   1GNSKHKCXLR152805   GM          SUBURBAN             BOSTON, LOGAN AP         MA
41950   1GNSKHKCXLR153131   GM          SUBURBAN             KENNER                   LA
41951   1GNSKHKCXLR153176   GM          SUBURBAN             CHARLOTTE                NC
41952   1GNSKHKCXLR153386   GM          SUBURBAN             SAINT PAUL               MN
41953   1GNSKHKCXLR153436   GM          SUBURBAN             JACKSON                  MS
41954   1GNSKHKCXLR153534   GM          SUBURBAN             SARASOTA                 FL
41955   1GNSKHKCXLR153548   GM          SUBURBAN             NEW YORK CITY            NY
41956   1GNSKHKCXLR153744   GM          SUBURBAN             DENVER                   CO
41957   1GNSKHKCXLR153811   GM          SUBURBAN             DALLAS                   TX
41958   1GNSKHKCXLR153842   GM          SUBURBAN             NEWARK                   NJ
41959   1GNSKHKCXLR154179   GM          SUBURBAN             CLEVELAND                OH
41960   1GNSKHKCXLR154280   GM          SUBURBAN             TAMPA                    FL
41961   1GNSKHKCXLR154294   GM          SUBURBAN             DALLAS                   TX
41962   1GNSKHKCXLR154327   GM          SUBURBAN             SAN ANTONIO              TX
41963   1GNSKHKCXLR154344   GM          SUBURBAN             ORLANDO                  FL
41964   1GNSKHKCXLR154585   GM          SUBURBAN             TAMPA                    FL
41965   1GNSKHKCXLR154604   GM          SUBURBAN             SAN FRANCISCO            CA
41966   1GNSKHKCXLR154683   GM          SUBURBAN             Atlanta                  GA
41967   1GNSKHKCXLR154800   GM          SUBURBAN             FORT LAUDERDALE          FL
41968   1GNSKHKCXLR154862   GM          SUBURBAN             HOUSTON                  TX
41969   1GNSKHKCXLR154926   GM          SUBURBAN             COCOA                    FL
41970   1GNSKHKCXLR155025   GM          SUBURBAN             CHICAGO                  IL
41971   1GNSKHKCXLR155218   GM          SUBURBAN             OAKLAND                  CA
41972   1GNSKHKCXLR155249   GM          SUBURBAN             BLOOMINGTON              IL
41973   1GNSKHKCXLR155543   GM          SUBURBAN             ORLANDO                  FL
41974   1GNSKHKCXLR155705   GM          SUBURBAN             PHOENIX                  AZ
41975   1GNSKHKCXLR155753   GM          SUBURBAN             TAMPA                    FL
41976   1GNSKHKCXLR155784   GM          SUBURBAN             FORT LAUDERDALE          FL
41977   1GNSKHKCXLR155851   GM          SUBURBAN             KNOXVILLE                TN
41978   1GNSKHKCXLR155865   GM          SUBURBAN             DALLAS                   TX
41979   1GNSKHKCXLR155994   GM          SUBURBAN             MIAMI                    FL
41980   1GNSKHKCXLR156000   GM          SUBURBAN             LOS ANGELES              CA
41981   1GNSKHKCXLR156238   GM          SUBURBAN             PHOENIX                  AZ
41982   1GNSKHKCXLR156319   GM          SUBURBAN             HOUSTON                  TX
41983   1GNSKHKCXLR156613   GM          SUBURBAN             LAS VEGAS                NV
41984   1GNSKHKCXLR157017   GM          SUBURBAN             MCALLEN                  TX
41985   1GNSKHKCXLR157132   GM          SUBURBAN             MIAMI                    FL
41986   1GNSKHKCXLR157163   GM          SUBURBAN             CHICAGO                  IL
41987   1GNSKHKCXLR157177   GM          SUBURBAN             ORLANDO                  FL
41988   1GNSKHKCXLR157261   GM          SUBURBAN             WEST PALM BEACH          FL
41989   1GNSKHKCXLR157390   GM          SUBURBAN             ORLANDO                  FL
41990   1GNSKHKCXLR157695   GM          SUBURBAN             KNOXVILLE                TN
41991   1GNSKHKCXLR157714   GM          SUBURBAN             CHICAGO                  IL
41992   1GNSKHKCXLR157728   GM          SUBURBAN             CHICAGO                  IL
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41993   1GNSKHKCXLR157969   GM          SUBURBAN             LAS VEGAS                NV
41994   1GNSKHKCXLR158202   GM          SUBURBAN             EL PASO                  TX
41995   1GNSKHKCXLR158409   GM          SUBURBAN             HOUSTON                  TX
41996   1GNSKHKCXLR158684   GM          SUBURBAN             Miami                    FL
41997   1GNSKHKCXLR158779   GM          SUBURBAN             ORLANDO                  FL
41998   1GNSKHKCXLR158815   GM          SUBURBAN             MIAMI                    FL
41999   1GNSKHKCXLR159012   GM          SUBURBAN             COLUMBUS                 OH
42000   1GNSKHKCXLR159222   GM          SUBURBAN             Teterboro                NJ
42001   1GNSKHKCXLR159253   GM          SUBURBAN             ORLANDO                  FL
42002   1GNSKHKCXLR159334   GM          SUBURBAN             SOUTH BEND               IN
42003   1GNSKHKCXLR167207   GM          SUBURBAN             WICHITA FALLS            TX
42004   1GNSKHKCXLR167756   GM          SUBURBAN             KANSAS CITY              MO
42005   1GNSKHKCXLR233819   GM          SUBURBAN             LAS VEGAS                NV
42006   1GNSKHKCXLR234470   GM          SUBURBAN             SAN FRANCISCO            CA
42007   1GNSKHKCXLR234985   GM          SUBURBAN             ONTARIO                  CA
42008   1GNSKHKCXLR236204   GM          SUBURBAN             PORTLAND                 OR
42009   1GNSKHKCXLR236347   GM          SUBURBAN             LOS ANGELES              CA
42010   1GNSKHKCXLR236445   GM          SUBURBAN             TAMPA                    FL
42011   1GNSKHKCXLR236669   GM          SUBURBAN             Newark                   NJ
42012   1GNSKHKCXLR239488   GM          SUBURBAN             SAVANNAH                 GA
42013   1GNSKHKCXLR242374   GM          SUBURBAN             SAN DIEGO                CA
42014   1GNSKHKCXLR242519   GM          SUBURBAN             SANTA ANA                CA
42015   1GNSKHKCXLR243394   GM          SUBURBAN             LOS ANGELES              CA
42016   1GNSKHKCXLR243864   GM          SUBURBAN             CHICAGO                  IL
42017   1GNSKHKCXLR243945   GM          SUBURBAN             BOSTON                   MA
42018   1GNSKHKCXLR243993   GM          SUBURBAN             PHILADELPHIA             PA
42019   1GNSKHKCXLR244500   GM          SUBURBAN             PHILADELPHIA             PA
42020   1GNSKHKCXLR244724   GM          SUBURBAN             NEW BERN                 NC
42021   1GNSKHKCXLR244917   GM          SUBURBAN             ONTARIO                  CA
42022   1GNSKHKCXLR246540   GM          SUBURBAN             HARRISBURG               PA
42023   1GNSKHKCXLR248790   GM          SUBURBAN             KNOXVILLE                TN
42024   1GNSKHKCXLR249437   GM          SUBURBAN             MEMPHIS                  TN
42025   1GNSKHKCXLR250183   GM          SUBURBAN             KANSAS CITY              MO
42026   1GNSKHKCXLR252242   GM          SUBURBAN             DULUTH                   MN
42027   1GNSKHKCXLR252371   GM          SUBURBAN             SYRACUSE                 NY
42028   1GNSKHKCXLR255660   GM          SUBURBAN             CHEEKTOWAGA              NY
42029   1GNSKHKCXLR256615   GM          SUBURBAN             DFW AIRPORT              TX
42030   1GNSKHKCXLR256940   GM          SUBURBAN             MILWAUKEE                WI
42031   1GNSKHKCXLR256985   GM          SUBURBAN             PROVIDENCE               RI
42032   1GNSKHKCXLR257540   GM          SUBURBAN             CHARLOTTE                NC
42033   1GNSKHKCXLR261006   GM          SUBURBAN             SANTA ANA                CA
42034   1GNSKHKCXLR261409   GM          SUBURBAN             SANTA ANA                CA
42035   1GNSKHKCXLR262513   GM          SUBURBAN             ONTARIO                  CA
42036   1GNSKHKCXLR262916   GM          SUBURBAN             BOSTON                   MA
42037   1GNSKHKCXLR265282   GM          SUBURBAN             SYRACUSE                 NY
42038   1GNSKHKCXLR269347   GM          SUBURBAN             JACKSON                  WY
42039   1GNSKHKCXLR269364   GM          SUBURBAN             RALIEGH                  NC
42040   1GNSKHKCXLR269977   GM          SUBURBAN             CHARLOTTE                NC
42041   1GNSKHKCXLR269994   GM          SUBURBAN             CHARLOTTE                NC
42042   1GNSKHKCXLR273429   GM          SUBURBAN             STERLING                 VA
42043   1GNSKHKCXLR273642   GM          SUBURBAN             Atlanta                  GA
42044   1GNSKHKCXLR274919   GM          SUBURBAN             BIRMINGHAM               AL
42045   1GNSKHKCXLR276833   GM          SUBURBAN             LOS ANGELES              CA
42046   1GNSKHKCXLR280753   GM          SUBURBAN             ATLANTA                  GA
42047   1GNSKHKCXLR280770   GM          SUBURBAN             KNOXVILLE                TN
42048   1GNSKHKCXLR280929   GM          SUBURBAN             NEW ORLEANS              LA
42049   1GNSKHKCXLR281160   GM          SUBURBAN             HOUSTON                  TX
42050   1GNSKHKCXLR281983   GM          SUBURBAN             ATLANTA                  GA
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42051   1GNSKHKCXLR281997   GM          SUBURBAN             ATLANTA                  GA
42052   1GNSKHKCXLR282048   GM          SUBURBAN             UNION CITY               GA
42053   1GNSKHKCXLR282552   GM          SUBURBAN             NASHVILLE                TN
42054   1GNSKHKCXLR282602   GM          SUBURBAN             ATLANTA                  GA
42055   1GNSKHKCXLR282812   GM          SUBURBAN             KNOXVILLE                TN
42056   1GNSKHKCXLR282860   GM          SUBURBAN             ATLANTA                  GA
42057   1GNSKHKCXLR283233   GM          SUBURBAN             NASHVILLE                TN
42058   1GNSKHKCXLR283250   GM          SUBURBAN             ASHEVILLE                NC
42059   1GNSKHKCXLR283491   GM          SUBURBAN             PHILADELPHIA             PA
42060   1GNSKHKCXLR284401   GM          SUBURBAN             KNOXVILLE                TN
42061   1GNSKHKCXLR285211   GM          SUBURBAN             ORLANDO                  FL
42062   1GNSKHKCXLR285631   GM          SUBURBAN             CHICAGO                  IL
42063   1GNSKHKCXLR285788   GM          SUBURBAN             CHICAGO                  IL
42064   1GTG5CEN0J1328665   GM          CANYON               Bridgeton                MO
42065   1GTG5CEN0K1127785   GM          CANYON               LAS VEGAS                NV
42066   1GTG5CEN0K1128449   GM          CANYON               Hartford                 CT
42067   1GTG5CEN0K1130394   GM          CANYON               Kent                     WA
42068   1GTG5CEN0K1131352   GM          CANYON               Harvey                   LA
42069   1GTG5CEN0K1133005   GM          CANYON               PHOENIX                  AZ
42070   1GTG5CEN0K1147941   GM          CANYON               SOUTHEAST DST OFFC       OK
42071   1GTG5CEN0L1117548   GM          CANYON               CHICAGO                  IL
42072   1GTG5CEN1K1128122   GM          CANYON               SACRAMENTO               CA
42073   1GTG5CEN1K1131182   GM          CANYON               PHILADELPHIA             PA
42074   1GTG5CEN1K1135135   GM          CANYON               ORLANDO                  FL
42075   1GTG5CEN1L1116635   GM          CANYON               ST PAUL                  MN
42076   1GTG5CEN2J1328716   GM          CANYON               HOUSTON                  TX
42077   1GTG5CEN2K1127531   GM          CANYON               Statesville              NC
42078   1GTG5CEN2K1242663   GM          CANYON               Hamilton                 OH
42079   1GTG5CEN2K1256398   GM          CANYON               EL PASO                  TX
42080   1GTG5CEN2L1121391   GM          CANYON               Birmingham               AL
42081   1GTG5CEN3K1134486   GM          CANYON               HOUSTON                  TX
42082   1GTG5CEN3K1219070   GM          CANYON               DARLINGTON               SC
42083   1GTG5CEN3K1260721   GM          CANYON               Louisville               KY
42084   1GTG5CEN3L1117432   GM          CANYON               DENVER                   CO
42085   1GTG5CEN4K1132195   GM          CANYON               CHICAGO                  IL
42086   1GTG5CEN4K1133427   GM          CANYON               WEST PALM BEACH          FL
42087   1GTG5CEN4K1220048   GM          CANYON               Orlando                  FL
42088   1GTG5CEN5K1131721   GM          CANYON               FORT LAUDERDALE          FL
42089   1GTG5CEN5K1133288   GM          CANYON               WEST PALM BEACH          FL
42090   1GTG5CEN5K1148003   GM          CANYON               Hamilton                 OH
42091   1GTG5CEN6K1127810   GM          CANYON               BIRMINGHAM               AL
42092   1GTG5CEN6K1245047   GM          CANYON               Houston                  TX
42093   1GTG5CEN6L1120390   GM          CANYON               WICHITA FALLS            TX
42094   1GTG5CEN7J1329179   GM          CANYON               Pompano Beach            FL
42095   1GTG5CEN7K1131784   GM          CANYON               Ocoee                    FL
42096   1GTG5CEN7L1118194   GM          CANYON               KANSAS CITY              MO
42097   1GTG5CEN7L1122066   GM          CANYON               Houston                  TX
42098   1GTG5CEN8K1127906   GM          CANYON               FRESNO                   CA
42099   1GTG5CEN8K1128280   GM          CANYON               Rockville Centr          NY
42100   1GTG5CEN8K1128425   GM          CANYON               Salt Lake City           UT
42101   1GTG5CEN8K1129297   GM          CANYON               GYPSUM                   CO
42102   1GTG5CEN8K1133625   GM          CANYON               LOS ANGELES              CA
42103   1GTG5CEN8K1136900   GM          CANYON               Winter Park              FL
42104   1GTG5CEN8K1218173   GM          CANYON               Miami                    FL
42105   1GTG5CEN8K1257006   GM          CANYON               Tampa                    FL
42106   1GTG5CEN9K1128207   GM          CANYON               Charleston               SC
42107   1GTG5CEN9K1135772   GM          CANYON               KANSAS CITY              MO
42108   1GTG5CEN9K1219350   GM          CANYON               Orlando                  FL
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42109   1GTG5CEN9K1242160   GM          CANYON               Albuquerque              NM
42110   1GTG5CEN9K1257130   GM          CANYON               KANSAS CITY              MO
42111   1GTG5CEN9L1182379   GM          CANYON               Phoenix                  AZ
42112   1GTG5CENXK1136879   GM          CANYON               Los Angeles              CA
42113   1GTG5CENXK1147977   GM          CANYON               Florissant               MO
42114   1GTG5CENXK1243964   GM          CANYON               Manheim                  PA
42115   1GTG5CENXK1243981   GM          CANYON               Dallas                   TX
42116   1GTG5CENXK1244872   GM          CANYON               Houston                  TX
42117   1GTG5CENXK1260537   GM          CANYON               Memphis                  TN
42118   1GTG5CENXL1121848   GM          CANYON               San Antonio              TX
42119   1GTG5CENXL1180687   GM          CANYON               Torrance                 CA
42120   1GTG5CENXL1180978   GM          CANYON               Phoenix                  AZ
42121   1GTG5CENXL1181029   GM          CANYON               Colorado Spring          CO
42122   1GTG6CEN0J1318621   GM          CANYON               HOUSTON                  TX
42123   1GTG6CEN0J1324385   GM          CANYON               ALBUQUERQUE              NM
42124   1GTG6CEN0J1327321   GM          CANYON               Florissant               MO
42125   1GTG6CEN3J1191234   GM          CANYON               Tolleson                 AZ
42126   1GTG6CEN3J1328933   GM          CANYON               Orlando                  FL
42127   1GTG6CEN4J1319755   GM          CANYON               KANSAS CITY              MO
42128   1GTG6CEN4J1323627   GM          CANYON               SANTA ANA                CA
42129   1GTG6CEN5H1167494   GM          CANYON               DES PLAINES              IL
42130   1GTG6CEN7J1319622   GM          CANYON               ATLANTA                  GA
42131   1GTG6CEN8J1320973   GM          CANYON               COLUMBIA                 SC
42132   1GTG6CEN8J1326935   GM          CANYON               Ft. Myers                FL
42133   1GTG6CEN9J1318150   GM          CANYON               North Dighton            MA
42134   1GTG6CEN9J1325812   GM          CANYON               DARLINGTON               SC
42135   1GYFZCR45LF030873   GM          XT4                  HOUSTON                  TX
42136   1GYFZDR40LF030091   GM          XT4                  SANTA ANA                CA
42137   1GYFZDR49LF097160   GM          XT4                  LOS ANGELES              CA
42138   1GYFZFR45LF043138   GM          XT4                  NEW BERN                 NC
42139   1GYKNCRS1LZ121470   GM          XT5                  BUFFALO                  NY
42140   1GYKNCRS1LZ122327   GM          XT5                  SALT LAKE CITY           US
42141   1GYKNCRS1LZ123705   GM          XT5                  WHITE PLAINS             NY
42142   1GYKNCRS1LZ124532   GM          XT5                  SYRACUSE                 NY
42143   1GYKNCRS2LZ122028   GM          XT5                  SALT LAKE CITY           US
42144   1GYKNCRS2LZ127228   GM          XT5                  Houston                  TX
42145   1GYKNCRS2LZ187123   GM          XT5                  Tulsa                    OK
42146   1GYKNCRS6LZ122016   GM          XT5                  ALBANY                   N
42147   1GYKNCRS6LZ123215   GM          XT5                  PHILADELPHIA             PA
42148   1GYKNCRS6LZ124591   GM          XT5                  DENVER                   CO
42149   1GYKNCRS7LZ122283   GM          XT5                  BOSTON                   MA
42150   1GYKNCRS7LZ124647   GM          XT5                  SACRAMENTO               CA
42151   1GYKNCRS8LZ121837   GM          XT5                  ROCHESTER                NY
42152   1GYKNCRS8LZ123510   GM          XT5                  ATLANTA                  GA
42153   1GYKNCRS9LZ122415   GM          XT5                  SARASOTA                 FL
42154   1GYKNCRSXLZ122729   GM          XT5                  Philadelphia             PA
42155   1GYKNCRSXLZ124268   GM          XT5                  Costa Mesa               CA
42156   1GYKNDRS1HZ183187   GM          XT5                  NORFOLK                  VA
42157   1GYKNDRS1LZ122513   GM          XT5                  CHEEKTOWAGA              NY
42158   1GYKNDRS2LZ122326   GM          XT5                  SAINT PAUL               MN
42159   1GYKNDRS3LZ122660   GM          XT5                  Bensalem                 PA
42160   1GYKNDRSXLZ131498   GM          XT5                  New Britain              CT
42161   1GYKNDRSXLZ186954   GM          XT5                  Tulsa                    OK
42162   1GYKNERS0KZ141509   GM          XT5                  Scottsdale               AZ
42163   1GYKNERS0KZ144698   GM          XT5                  MORRISVILLE              NC
42164   1GYKNERS0KZ170542   GM          XT5                  FLORENCE                 MS
42165   1GYKNERS0KZ174364   GM          XT5                  PHILADELPHIA             PA
42166   1GYKNERS0KZ175675   GM          XT5                  LOS ANGELES AP           CA
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42167   1GYKNERS0KZ176390   GM           XT5                  MIAMI                    FL
42168   1GYKNERS0KZ207153   GM           XT5                  FORT LAUDERDALE          FL
42169   1GYKNERS0KZ207735   GM           XT5                  FORT MYERS               FL
42170   1GYKNERS0KZ215415   GM           XT5                  ORLANDO                  FL
42171   1GYKNERS0KZ216225   GM           XT5                  PHILADELPHIA             PA
42172   1GYKNERS0KZ216497   GM           XT5                  LOUISVILLE               KY
42173   1GYKNERS0KZ216662   GM           XT5                  BOSTON                   MA
42174   1GYKNERS0KZ217827   GM           XT5                  MYRTLE BEACH             SC
42175   1GYKNERS0KZ217830   GM           XT5                  DES MOINES               IA
42176   1GYKNERS0KZ218153   GM           XT5                  MIAMI                    FL
42177   1GYKNERS0KZ227600   GM           XT5                  BOSTON                   MA
42178   1GYKNERS0KZ227905   GM           XT5                  Brooklyn                 NY
42179   1GYKNERS0KZ228021   GM           XT5                  New York                 NY
42180   1GYKNERS0KZ228052   GM           XT5                  SAN ANTONIO              TX
42181   1GYKNERS0KZ228505   GM           XT5                  Detroit                  MI
42182   1GYKNERS0KZ228598   GM           XT5                  SAN FRANCISCO            CA
42183   1GYKNERS0KZ229508   GM           XT5                  DENVER                   CO
42184   1GYKNERS0KZ230013   GM           XT5                  FRESNO                   CA
42185   1GYKNERS0KZ231405   GM           XT5                  BUFFALO                  NY
42186   1GYKNERS0KZ238712   GM           XT5                  BALTIMORE                MD
42187   1GYKNERS0KZ240167   GM           XT5                  DES MOINES               IA
42188   1GYKNERS0KZ240234   GM           XT5                  HARTFORD                 CT
42189   1GYKNERS1KZ143382   GM           XT5                  MIAMI                    FL
42190   1GYKNERS1KZ160554   GM           XT5                  Dania                    FL
42191   1GYKNERS1KZ173367   GM           XT5                  TAMPA                    FL
42192   1GYKNERS1KZ176589   GM           XT5                  TAMPA                    FL
42193   1GYKNERS1KZ207274   GM           XT5                  ORLANDO                  FL
42194   1GYKNERS1KZ208313   GM           XT5                  TAMPA                    FL
42195   1GYKNERS1KZ208859   GM           XT5                  TAMPA                    FL
42196   1GYKNERS1KZ209199   GM           XT5                  TAMPA                    US
42197   1GYKNERS1KZ210191   GM           XT5                  MIAMI                    FL
42198   1GYKNERS1KZ211261   GM           XT5                  PHILADELPHIA             PA
42199   1GYKNERS1KZ213611   GM           XT5                  PHILADELPHIA             PA
42200   1GYKNERS1KZ214371   GM           XT5                  STERLING                 VA
42201   1GYKNERS1KZ215018   GM           XT5                  PHILADELPHIA             US
42202   1GYKNERS1KZ215469   GM           XT5                  STERLING                 VA
42203   1GYKNERS1KZ215620   GM           XT5                  CLEVELAND                OH
42204   1GYKNERS1KZ216444   GM           XT5                  RONKONKOMA               NY
42205   1GYKNERS1KZ216539   GM           XT5                  Pompano Beach            FL
42206   1GYKNERS1KZ216704   GM           XT5                  NEW YORK CITY            NY
42207   1GYKNERS1KZ217660   GM           XT5                  WARWICK                  RI
42208   1GYKNERS1KZ218310   GM           XT5                  KNOXVILLE                TN
42209   1GYKNERS1KZ228044   GM           XT5                  RICHMOND                 VA
42210   1GYKNERS1KZ228626   GM           XT5                  Denver                   CO
42211   1GYKNERS1KZ228710   GM           XT5                  CHATTANOOGA              TN
42212   1GYKNERS1KZ229372   GM           XT5                  CHARLOTTE                NC
42213   1GYKNERS1KZ229758   GM           XT5                  DENVER                   CO
42214   1GYKNERS1KZ230456   GM           XT5                  EGG HARBOR TOWN          NJ
42215   1GYKNERS1KZ231283   GM           XT5                  PORTLAND                 OR
42216   1GYKNERS1KZ231395   GM           XT5                  PORTLAND                 OR
42217   1GYKNERS1KZ231459   GM           XT5                  SAN JOSE                 CA
42218   1GYKNERS1KZ237228   GM           XT5                  NEW BERN                 NC
42219   1GYKNERS1KZ238377   GM           XT5                  JAMAICA                  NY
42220   1GYKNERS1KZ252750   GM           XT5                  NEWARK                   NJ
42221   1GYKNERS2KZ175032   GM           XT5                  FORT MYERS               FL
42222   1GYKNERS2KZ175225   GM           XT5                  CHARLOTTE                NC
42223   1GYKNERS2KZ206666   GM           XT5                  ORLANDO                  FL
42224   1GYKNERS2KZ206862   GM           XT5                  ORLANDO                  FL
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42225   1GYKNERS2KZ207445   GM           XT5                  TAMPA                    FL
42226   1GYKNERS2KZ207767   GM           XT5                  Greensboro               NC
42227   1GYKNERS2KZ209003   GM           XT5                  JACKSONVILLE             FL
42228   1GYKNERS2KZ209115   GM           XT5                  FORT MYERS               FL
42229   1GYKNERS2KZ210037   GM           XT5                  TAMPA                    FL
42230   1GYKNERS2KZ210541   GM           XT5                  FORT MYERS               FL
42231   1GYKNERS2KZ211298   GM           XT5                  DAVIE                    FL
42232   1GYKNERS2KZ213049   GM           XT5                  DAYTONA BEACH            FL
42233   1GYKNERS2KZ215139   GM           XT5                  CHICAGO                  IL
42234   1GYKNERS2KZ215240   GM           XT5                  PORTLAND                 ME
42235   1GYKNERS2KZ215626   GM           XT5                  BOSTON                   MA
42236   1GYKNERS2KZ215786   GM           XT5                  Smithtown                NY
42237   1GYKNERS2KZ216596   GM           XT5                  SEATAC                   WA
42238   1GYKNERS2KZ216954   GM           XT5                  DETROIT                  MI
42239   1GYKNERS2KZ217067   GM           XT5                  CHARLOTTE                NC
42240   1GYKNERS2KZ217179   GM           XT5                  Hebron                   KY
42241   1GYKNERS2KZ217585   GM           XT5                  NEW YORK CITY            NY
42242   1GYKNERS2KZ217781   GM           XT5                  NEWARK                   NJ
42243   1GYKNERS2KZ227694   GM           XT5                  FORT MYERS               FL
42244   1GYKNERS2KZ228067   GM           XT5                  El Paso                  TX
42245   1GYKNERS2KZ228280   GM           XT5                  COLLEGE PARK             GA
42246   1GYKNERS2KZ228392   GM           XT5                  SAN JOSE                 CA
42247   1GYKNERS2KZ228439   GM           XT5                  PORTLAND                 OR
42248   1GYKNERS2KZ228442   GM           XT5                  seatac                   wa
42249   1GYKNERS2KZ228909   GM           XT5                  SEATAC                   WA
42250   1GYKNERS2KZ228960   GM           XT5                  WHITE PLAINS             NY
42251   1GYKNERS2KZ229607   GM           XT5                  STERLING                 VA
42252   1GYKNERS2KZ229851   GM           XT5                  PORTLAND                 OR
42253   1GYKNERS2KZ229896   GM           XT5                  North Dighton            MA
42254   1GYKNERS2KZ230417   GM           XT5                  GYPSUM                   CO
42255   1GYKNERS2KZ230594   GM           XT5                  LOS ANGELES              CA
42256   1GYKNERS2KZ230854   GM           XT5                  PHILADELPHIA             PA
42257   1GYKNERS2KZ231020   GM           XT5                  GYPSUM                   CO
42258   1GYKNERS2KZ231289   GM           XT5                  PORTLAND                 OR
42259   1GYKNERS2KZ231454   GM           XT5                  BIRMINGHAN               AL
42260   1GYKNERS2KZ236458   GM           XT5                  CHEEKTOWAGA              NY
42261   1GYKNERS2KZ236556   GM           XT5                  PITTSBURGH               PA
42262   1GYKNERS2KZ237769   GM           XT5                  ROANOKE                  VA
42263   1GYKNERS2KZ240459   GM           XT5                  BOSTON                   MA
42264   1GYKNERS2KZ252322   GM           XT5                  STERLING                 US
42265   1GYKNERS3KZ206448   GM           XT5                  Jacksonville             FL
42266   1GYKNERS3KZ211925   GM           XT5                  KEY WEST                 FL
42267   1GYKNERS3KZ214632   GM           XT5                  DETROIT                  MI
42268   1GYKNERS3KZ215070   GM           XT5                  SAVANNAH                 GA
42269   1GYKNERS3KZ215490   GM           XT5                  Matteson                 IL
42270   1GYKNERS3KZ216008   GM           XT5                  CHICAGO                  IL
42271   1GYKNERS3KZ216073   GM           XT5                  PHILADELPHIA             PA
42272   1GYKNERS3KZ216719   GM           XT5                  NEW BERN                 NC
42273   1GYKNERS3KZ216963   GM           XT5                  STERLING                 VA
42274   1GYKNERS3KZ217935   GM           XT5                  NEWARK                   NJ
42275   1GYKNERS3KZ217966   GM           XT5                  RICHMOND                 VA
42276   1GYKNERS3KZ218261   GM           XT5                  DETROIT                  MI
42277   1GYKNERS3KZ218499   GM           XT5                  Plainfield               IN
42278   1GYKNERS3KZ218700   GM           XT5                  NEWARK                   NJ
42279   1GYKNERS3KZ227591   GM           XT5                  SAN FRANCISCO            CA
42280   1GYKNERS3KZ227669   GM           XT5                  OZONE PARK               NY
42281   1GYKNERS3KZ228773   GM           XT5                  DETROIT                  MI
42282   1GYKNERS3KZ229003   GM           XT5                  Winter Park              FL
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42283   1GYKNERS3KZ230507   GM           XT5                  PORTLAND                 ME
42284   1GYKNERS3KZ230863   GM           XT5                  Pasadena                 CA
42285   1GYKNERS3KZ231219   GM           XT5                  LOS ANGELES              CA
42286   1GYKNERS3KZ231611   GM           XT5                  Houston                  TX
42287   1GYKNERS3KZ231804   GM           XT5                  BLOOMINGTON              IL
42288   1GYKNERS3KZ231883   GM           XT5                  LOS ANGELES              CA
42289   1GYKNERS3KZ231964   GM           XT5                  SEATAC                   WA
42290   1GYKNERS3KZ249090   GM           XT5                  BOSTON                   MA
42291   1GYKNERS3KZ249185   GM           XT5                  WHITE PLAINS             NY
42292   1GYKNERS3KZ251230   GM           XT5                  INGLEWOOD                CA
42293   1GYKNERS3KZ251924   GM           XT5                  NORFOLK                  VA
42294   1GYKNERS4KZ142498   GM           XT5                  Woodhaven                MI
42295   1GYKNERS4KZ142744   GM           XT5                  FORT LAUDERDALE          FL
42296   1GYKNERS4KZ158698   GM           XT5                  Stone Mountain           GA
42297   1GYKNERS4KZ174349   GM           XT5                  LOS ANGELES              CA
42298   1GYKNERS4KZ174674   GM           XT5                  Orlando                  FL
42299   1GYKNERS4KZ176912   GM           XT5                  GREENVILLE               NC
42300   1GYKNERS4KZ207382   GM           XT5                  FORT MYERS               FL
42301   1GYKNERS4KZ213215   GM           XT5                  KNOXVILLE                TN
42302   1GYKNERS4KZ213733   GM           XT5                  Winston‐Salem            NC
42303   1GYKNERS4KZ214848   GM           XT5                  PHILADELPHIA             PA
42304   1GYKNERS4KZ215076   GM           XT5                  NORFOLK                  VA
42305   1GYKNERS4KZ215191   GM           XT5                  AUSTIN                   TX
42306   1GYKNERS4KZ215370   GM           XT5                  CLEVELAND                OH
42307   1GYKNERS4KZ215868   GM           XT5                  FORT LAUDERDALE          FL
42308   1GYKNERS4KZ216289   GM           XT5                  EGG HARBOR TOWN          NJ
42309   1GYKNERS4KZ216843   GM           XT5                  NEWARK                   NJ
42310   1GYKNERS4KZ217958   GM           XT5                  Warminster               PA
42311   1GYKNERS4KZ227504   GM           XT5                  NEW YORK CITY            NY
42312   1GYKNERS4KZ228815   GM           XT5                  North Dighton            MA
42313   1GYKNERS4KZ229141   GM           XT5                  BOSTON                   MA
42314   1GYKNERS4KZ229544   GM           XT5                  DES MOINES               IA
42315   1GYKNERS4KZ229849   GM           XT5                  NEW BERN                 NC
42316   1GYKNERS4KZ231634   GM           XT5                  SEATAC                   WA
42317   1GYKNERS4KZ231696   GM           XT5                  Scottsdale               AZ
42318   1GYKNERS4KZ231780   GM           XT5                  Fresno                   CA
42319   1GYKNERS4KZ232105   GM           XT5                  DENVER                   CO
42320   1GYKNERS4KZ249972   GM           XT5                  NEWARK                   NJ
42321   1GYKNERS5KZ160055   GM           XT5                  NORFOLK                  VA
42322   1GYKNERS5KZ206872   GM           XT5                  FORT MYERS               FL
42323   1GYKNERS5KZ207715   GM           XT5                  BURBANK                  CA
42324   1GYKNERS5KZ208203   GM           XT5                  NORFOLK                  VA
42325   1GYKNERS5KZ208458   GM           XT5                  Nashville                TN
42326   1GYKNERS5KZ208900   GM           XT5                  MORROW                   GA
42327   1GYKNERS5KZ211392   GM           XT5                  Greensboro               NC
42328   1GYKNERS5KZ211716   GM           XT5                  BOSTON                   MA
42329   1GYKNERS5KZ211960   GM           XT5                  Coraopolis               PA
42330   1GYKNERS5KZ212011   GM           XT5                  MORROW                   GA
42331   1GYKNERS5KZ212705   GM           XT5                  Manheim                  PA
42332   1GYKNERS5KZ212722   GM           XT5                  St. Louis                MO
42333   1GYKNERS5KZ212946   GM           XT5                  ALEXANDRIA               VA
42334   1GYKNERS5KZ213563   GM           XT5                  DENVER                   CO
42335   1GYKNERS5KZ214602   GM           XT5                  SARASOTA                 FL
42336   1GYKNERS5KZ214843   GM           XT5                  ORLANDO                  FL
42337   1GYKNERS5KZ215166   GM           XT5                  NEWARK                   NJ
42338   1GYKNERS5KZ215331   GM           XT5                  BOSTON                   MA
42339   1GYKNERS5KZ215412   GM           XT5                  Dallas                   TX
42340   1GYKNERS5KZ215555   GM           XT5                  Johnston                 RI
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42341   1GYKNERS5KZ216432   GM           XT5                  HANOVER                  MD
42342   1GYKNERS5KZ217273   GM           XT5                  SOUTH BEND               IN
42343   1GYKNERS5KZ217483   GM           XT5                  Fredericksburg           VA
42344   1GYKNERS5KZ217953   GM           XT5                  Greensboro               NC
42345   1GYKNERS5KZ218567   GM           XT5                  PHILADELPHIA             PA
42346   1GYKNERS5KZ227687   GM           XT5                  SAN FRANCISCO            CA
42347   1GYKNERS5KZ227740   GM           XT5                  PORTLAND                 OR
42348   1GYKNERS5KZ229228   GM           XT5                  HOUSTON                  TX
42349   1GYKNERS5KZ229794   GM           XT5                  BURBANK                  CA
42350   1GYKNERS5KZ230184   GM           XT5                  STATE COLLEGE            PA
42351   1GYKNERS5KZ230315   GM           XT5                  Ventura                  CA
42352   1GYKNERS5KZ230881   GM           XT5                  RALIEGH                  NC
42353   1GYKNERS5KZ230928   GM           XT5                  CHICAGO                  IL
42354   1GYKNERS5KZ231464   GM           XT5                  BOSTON                   MA
42355   1GYKNERS5KZ232047   GM           XT5                  SAN FRANCISCO            CA
42356   1GYKNERS6KZ145483   GM           XT5                  RALEIGH                  NC
42357   1GYKNERS6KZ207061   GM           XT5                  PENSACOLA                FL
42358   1GYKNERS6KZ209960   GM           XT5                  FORT LAUDERDALE          FL
42359   1GYKNERS6KZ210431   GM           XT5                  HANOVER                  MD
42360   1GYKNERS6KZ210476   GM           XT5                  FORT LAUDERDALE          FL
42361   1GYKNERS6KZ210638   GM           XT5                  FORT MYERS               FL
42362   1GYKNERS6KZ210798   GM           XT5                  LOS ANGELES              CA
42363   1GYKNERS6KZ211840   GM           XT5                  Manheim                  PA
42364   1GYKNERS6KZ212728   GM           XT5                  RALIEGH                  NC
42365   1GYKNERS6KZ213605   GM           XT5                  TAMPA                    FL
42366   1GYKNERS6KZ214561   GM           XT5                  WARWICK                  RI
42367   1GYKNERS6KZ214575   GM           XT5                  NEWARK                   NJ
42368   1GYKNERS6KZ214611   GM           XT5                  STERLING                 VA
42369   1GYKNERS6KZ215368   GM           XT5                  Elkridge                 MD
42370   1GYKNERS6KZ215600   GM           XT5                  PROVIDENCE               RI
42371   1GYKNERS6KZ215743   GM           XT5                  PORTLAND                 ME
42372   1GYKNERS6KZ215838   GM           XT5                  MIAMI                    FL
42373   1GYKNERS6KZ215886   GM           XT5                  CHARLOTTESVILLE          VA
42374   1GYKNERS6KZ216438   GM           XT5                  NEWARK                   NJ
42375   1GYKNERS6KZ217041   GM           XT5                  STERLING                 VA
42376   1GYKNERS6KZ217797   GM           XT5                  CORONA                   NY
42377   1GYKNERS6KZ218125   GM           XT5                  MIAMI                    FL
42378   1GYKNERS6KZ218366   GM           XT5                  WARWICK                  RI
42379   1GYKNERS6KZ227438   GM           XT5                  LOUISVILLE               KY
42380   1GYKNERS6KZ228640   GM           XT5                  DALLAS                   TX
42381   1GYKNERS6KZ229402   GM           XT5                  SAINT PAUL               MN
42382   1GYKNERS6KZ229464   GM           XT5                  Atlanta                  GA
42383   1GYKNERS6KZ230291   GM           XT5                  Denver                   CO
42384   1GYKNERS6KZ230839   GM           XT5                  KANSAS CITY              MO
42385   1GYKNERS6KZ231277   GM           XT5                  PITTSBURGH               PA
42386   1GYKNERS6KZ237466   GM           XT5                  BOSTON                   MA
42387   1GYKNERS6KZ239072   GM           XT5                  NEWARK                   NJ
42388   1GYKNERS6KZ249116   GM           XT5                  WILMINGTON               NC
42389   1GYKNERS6KZ250914   GM           XT5                  NEWARK                   NJ
42390   1GYKNERS7KZ156492   GM           XT5                  ORLANDO                  FL
42391   1GYKNERS7KZ158856   GM           XT5                  JACKSONVILLE             FL
42392   1GYKNERS7KZ160042   GM           XT5                  MIAMI                    FL
42393   1GYKNERS7KZ175611   GM           XT5                  Phoenix                  AZ
42394   1GYKNERS7KZ176483   GM           XT5                  CHARLOTTE                NC
42395   1GYKNERS7KZ176984   GM           XT5                  Statesville              NC
42396   1GYKNERS7KZ206646   GM           XT5                  FORT LAUDERDALE          FL
42397   1GYKNERS7KZ206789   GM           XT5                  MIAMI                    FL
42398   1GYKNERS7KZ207392   GM           XT5                  FORT MYERS               FL
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42399   1GYKNERS7KZ209739   GM           XT5                  FORT LAUDERDALE          FL
42400   1GYKNERS7KZ210101   GM           XT5                  ORLANDO                  FL
42401   1GYKNERS7KZ210518   GM           XT5                  NORFOLK                  VA
42402   1GYKNERS7KZ212589   GM           XT5                  NEWARK                   NJ
42403   1GYKNERS7KZ214620   GM           XT5                  MANHATTAN                NY
42404   1GYKNERS7KZ214729   GM           XT5                  BURLINGTON               VT
42405   1GYKNERS7KZ215198   GM           XT5                  ORLANDO                  FL
42406   1GYKNERS7KZ215380   GM           XT5                  Norwalk                  CA
42407   1GYKNERS7KZ215573   GM           XT5                  Charlotte                NC
42408   1GYKNERS7KZ216657   GM           XT5                  CLEVELAND                OH
42409   1GYKNERS7KZ216867   GM           XT5                  CHICAGO                  IL
42410   1GYKNERS7KZ216965   GM           XT5                  NEWARK                   NJ
42411   1GYKNERS7KZ217114   GM           XT5                  albuquerque              nm
42412   1GYKNERS7KZ217808   GM           XT5                  WHITE PLAINS             NY
42413   1GYKNERS7KZ217873   GM           XT5                  Charlotte                NC
42414   1GYKNERS7KZ218313   GM           XT5                  GREEN BAY                WI
42415   1GYKNERS7KZ228128   GM           XT5                  DES MOINES               IA
42416   1GYKNERS7KZ228646   GM           XT5                  Teterboro                NJ
42417   1GYKNERS7KZ228713   GM           XT5                  Portland                 OR
42418   1GYKNERS7KZ229327   GM           XT5                  SAINT PAUL               MN
42419   1GYKNERS7KZ229747   GM           XT5                  DETROIT                  MI
42420   1GYKNERS7KZ229764   GM           XT5                  URBANDALE                IA
42421   1GYKNERS7KZ229926   GM           XT5                  BOSTON                   MA
42422   1GYKNERS7KZ229991   GM           XT5                  PORTLAND                 OR
42423   1GYKNERS7KZ230025   GM           XT5                  BURBANK                  CA
42424   1GYKNERS7KZ230302   GM           XT5                  SAINT PAUL               MN
42425   1GYKNERS7KZ230851   GM           XT5                  PALM SPRINGS             CA
42426   1GYKNERS7KZ231238   GM           XT5                  PORTLAND                 OR
42427   1GYKNERS7KZ231286   GM           XT5                  NEW YORK CITY            NY
42428   1GYKNERS7KZ231403   GM           XT5                  SACRAMENTO               CA
42429   1GYKNERS7KZ231739   GM           XT5                  SAINT LOUIS              MO
42430   1GYKNERS7KZ231885   GM           XT5                  CLEVELAND                OH
42431   1GYKNERS7KZ233913   GM           XT5                  SACRAMENTO               CA
42432   1GYKNERS7KZ251425   GM           XT5                  STERLING                 VA
42433   1GYKNERS8KZ141922   GM           XT5                  STERLING                 VA
42434   1GYKNERS8KZ174967   GM           XT5                  DAYTONA BEACH            FL
42435   1GYKNERS8KZ176654   GM           XT5                  MIAMI                    FL
42436   1GYKNERS8KZ209376   GM           XT5                  FORT MYERS               FL
42437   1GYKNERS8KZ209765   GM           XT5                  JACKSONVILLE             FL
42438   1GYKNERS8KZ210995   GM           XT5                  PHILADELPHIA             PA
42439   1GYKNERS8KZ212245   GM           XT5                  DAYTONA BEACH            FL
42440   1GYKNERS8KZ214710   GM           XT5                  Hebron                   KY
42441   1GYKNERS8KZ214772   GM           XT5                  PHILADELPHIA             PA
42442   1GYKNERS8KZ214982   GM           XT5                  FORT LAUDERDALE          FL
42443   1GYKNERS8KZ215517   GM           XT5                  SAVANNAH                 GA
42444   1GYKNERS8KZ215811   GM           XT5                  RICHMOND                 VA
42445   1GYKNERS8KZ215999   GM           XT5                  NEWARK                   NJ
42446   1GYKNERS8KZ216120   GM           XT5                  DANIA BEACH              FL
42447   1GYKNERS8KZ217543   GM           XT5                  HARTFORD                 CT
42448   1GYKNERS8KZ218286   GM           XT5                  LITTLE ROCK              AR
42449   1GYKNERS8KZ227988   GM           XT5                  Raleigh                  NC
42450   1GYKNERS8KZ229529   GM           XT5                  Atlanta                  GA
42451   1GYKNERS8KZ229806   GM           XT5                  STERLING                 VA
42452   1GYKNERS8KZ230051   GM           XT5                  LAWNDALE                 CA
42453   1GYKNERS8KZ230731   GM           XT5                  ORLANDO                  FL
42454   1GYKNERS8KZ231247   GM           XT5                  ALBANY                   NY
42455   1GYKNERS8KZ237114   GM           XT5                  BOSTON                   MA
42456   1GYKNERS8KZ237288   GM           XT5                  ALBANY                   NY
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42457   1GYKNERS8KZ239171   GM           XT5                  ALBANY                   N
42458   1GYKNERS9KZ142075   GM           XT5                  Tampa                    FL
42459   1GYKNERS9KZ143582   GM           XT5                  Davie                    FL
42460   1GYKNERS9KZ176842   GM           XT5                  WEST PALM BEACH          FL
42461   1GYKNERS9KZ207118   GM           XT5                  PITTSBURGH               PA
42462   1GYKNERS9KZ208219   GM           XT5                  AUGUSTA                  GA
42463   1GYKNERS9KZ208236   GM           XT5                  TAMPA                    FL
42464   1GYKNERS9KZ208866   GM           XT5                  WEST COLUMBIA            SC
42465   1GYKNERS9KZ209273   GM           XT5                  FORT LAUDERDALE          FL
42466   1GYKNERS9KZ213128   GM           XT5                  ORLANDO                  FL
42467   1GYKNERS9KZ214800   GM           XT5                  DAYTONA BEACH            FL
42468   1GYKNERS9KZ214926   GM           XT5                  Des Plaines              IL
42469   1GYKNERS9KZ215087   GM           XT5                  AUSTIN                   TX
42470   1GYKNERS9KZ215252   GM           XT5                  TUCSON                   AZ
42471   1GYKNERS9KZ215817   GM           XT5                  Tampa                    FL
42472   1GYKNERS9KZ216353   GM           XT5                  Atlanta                  GA
42473   1GYKNERS9KZ217518   GM           XT5                  WEST PALM BEACH          FL
42474   1GYKNERS9KZ217566   GM           XT5                  SARASOTA                 FL
42475   1GYKNERS9KZ217728   GM           XT5                  CHARLESTON               WV
42476   1GYKNERS9KZ227837   GM           XT5                  NEW BERN                 NC
42477   1GYKNERS9KZ227966   GM           XT5                  Irving                   TX
42478   1GYKNERS9KZ228163   GM           XT5                  ROCHESTER                NY
42479   1GYKNERS9KZ228499   GM           XT5                  MIAMI                    FL
42480   1GYKNERS9KZ228695   GM           XT5                  HOUSTON                  TX
42481   1GYKNERS9KZ229703   GM           XT5                  SALT LAKE CITY           US
42482   1GYKNERS9KZ230351   GM           XT5                  BUFFALO                  NY
42483   1GYKNERS9KZ230429   GM           XT5                  Winter Park              FL
42484   1GYKNERS9KZ231192   GM           XT5                  Hebron                   KY
42485   1GYKNERS9KZ231760   GM           XT5                  DETROIT                  MI
42486   1GYKNERS9KZ237459   GM           XT5                  NEWARK                   NJ
42487   1GYKNERSXKZ142859   GM           XT5                  West Palm Beach          FL
42488   1GYKNERSXKZ156521   GM           XT5                  TAMPA                    FL
42489   1GYKNERSXKZ157684   GM           XT5                  Austin                   TX
42490   1GYKNERSXKZ175330   GM           XT5                  Matteson                 IL
42491   1GYKNERSXKZ175909   GM           XT5                  CHICAGO                  IL
42492   1GYKNERSXKZ206690   GM           XT5                  Atlanta                  GA
42493   1GYKNERSXKZ209167   GM           XT5                  WEST PALM BEACH          FL
42494   1GYKNERSXKZ209329   GM           XT5                  DAYTONA BEACH            FL
42495   1GYKNERSXKZ210643   GM           XT5                  Des Moines               IA
42496   1GYKNERSXKZ211369   GM           XT5                  FORT MYERS               FL
42497   1GYKNERSXKZ211534   GM           XT5                  Pompano Beach            FL
42498   1GYKNERSXKZ211954   GM           XT5                  Greensboro               NC
42499   1GYKNERSXKZ212098   GM           XT5                  LOS ANGELES              CA
42500   1GYKNERSXKZ213462   GM           XT5                  Houston                  TX
42501   1GYKNERSXKZ214899   GM           XT5                  WARWICK                  RI
42502   1GYKNERSXKZ214997   GM           XT5                  BOSTON                   MA
42503   1GYKNERSXKZ216409   GM           XT5                  HARRISBURG               PA
42504   1GYKNERSXKZ217186   GM           XT5                  STERLING                 VA
42505   1GYKNERSXKZ217348   GM           XT5                  Teterboro                NJ
42506   1GYKNERSXKZ217351   GM           XT5                  Atlanta                  GA
42507   1GYKNERSXKZ217396   GM           XT5                  NEW YORK CITY            NY
42508   1GYKNERSXKZ217947   GM           XT5                  SAINT PAUL               MN
42509   1GYKNERSXKZ228155   GM           XT5                  BOSTON                   MA
42510   1GYKNERSXKZ228169   GM           XT5                  PHOENIX                  AZ
42511   1GYKNERSXKZ229192   GM           XT5                  INDIANAPOLIS             IN
42512   1GYKNERSXKZ229418   GM           XT5                  STERLING                 VA
42513   1GYKNERSXKZ229872   GM           XT5                  LAS VEGAS                NV
42514   1GYKNERSXKZ229953   GM           XT5                  Houston                  TX
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42515   1GYKNERSXKZ230603   GM           XT5                  SAINT PAUL               MN
42516   1GYKNERSXKZ231198   GM           XT5                  Atlanta                  GA
42517   1GYKNERSXKZ231427   GM           XT5                  CLEVELAND                OH
42518   1GYKNERSXKZ231587   GM           XT5                  PORTLAND                 OR
42519   1GYKNERSXKZ231654   GM           XT5                  Hebron                   KY
42520   1GYKNERSXKZ237518   GM           XT5                  BOSTON                   MA
42521   1GYKNFRS0KZ141838   GM           XT5                  DAVIE                    FL
42522   1GYKNFRS0KZ158011   GM           XT5                  PHILADELPHIA             PA
42523   1GYKNFRS0KZ159899   GM           XT5                  JACKSONVILLE             FL
42524   1GYKNFRS0KZ174953   GM           XT5                  ORLANDO                  FL
42525   1GYKNFRS0KZ207725   GM           XT5                  JACKSONVILLE             FL
42526   1GYKNFRS0KZ207739   GM           XT5                  RALEIGH                  NC
42527   1GYKNFRS0KZ208440   GM           XT5                  MIAMI                    FL
42528   1GYKNFRS0KZ211046   GM           XT5                  FORT MYERS               FL
42529   1GYKNFRS0KZ211130   GM           XT5                  Medford                  NY
42530   1GYKNFRS0KZ212021   GM           XT5                  Raleigh                  NC
42531   1GYKNFRS0KZ214545   GM           XT5                  DURHAM                   NC
42532   1GYKNFRS0KZ214626   GM           XT5                  Riverside                CA
42533   1GYKNFRS0KZ215193   GM           XT5                  PANAMA CITY              FL
42534   1GYKNFRS0KZ215680   GM           XT5                  SAN FRANCISCO            CA
42535   1GYKNFRS0KZ215985   GM           XT5                  DENVER                   CO
42536   1GYKNFRS0KZ218062   GM           XT5                  NEW BERN                 NC
42537   1GYKNFRS0KZ218143   GM           XT5                  FORT MYERS               FL
42538   1GYKNFRS0KZ218191   GM           XT5                  PITTSBURGH               PA
42539   1GYKNFRS0KZ218241   GM           XT5                  Massapequa               NY
42540   1GYKNFRS0KZ223343   GM           XT5                  DETROIT                  MI
42541   1GYKNFRS0KZ223519   GM           XT5                  SEATAC                   WA
42542   1GYKNFRS0KZ223715   GM           XT5                  CHARLOTTE                NC
42543   1GYKNFRS0KZ224668   GM           XT5                  FORT MYERS               FL
42544   1GYKNFRS0KZ224928   GM           XT5                  Portland                 OR
42545   1GYKNFRS0KZ225108   GM           XT5                  Teterboro                NJ
42546   1GYKNFRS0KZ225240   GM           XT5                  PHILADELPHIA             PA
42547   1GYKNFRS0KZ225299   GM           XT5                  NASHVILLE                TN
42548   1GYKNFRS0KZ225996   GM           XT5                  Dallas                   TX
42549   1GYKNFRS0KZ226372   GM           XT5                  CLEVELAND                OH
42550   1GYKNFRS0KZ227103   GM           XT5                  ATLANTA                  GA
42551   1GYKNFRS0KZ238098   GM           XT5                  SALT LAKE CITY           UT
42552   1GYKNFRS0KZ239204   GM           XT5                  DETROIT                  MI
42553   1GYKNFRS0KZ252258   GM           XT5                  NEWARK                   NJ
42554   1GYKNFRS1KZ144120   GM           XT5                  KNOXVILLE                TN
42555   1GYKNFRS1KZ206339   GM           XT5                  TAMPA                    FL
42556   1GYKNFRS1KZ206454   GM           XT5                  FORT LAUDERDALE          FL
42557   1GYKNFRS1KZ209614   GM           XT5                  ORLANDO                  FL
42558   1GYKNFRS1KZ210357   GM           XT5                  WEST PALM BEACH          FL
42559   1GYKNFRS1KZ210732   GM           XT5                  FORT MYERS               FL
42560   1GYKNFRS1KZ212867   GM           XT5                  FORT MYERS               FL
42561   1GYKNFRS1KZ213954   GM           XT5                  Woodhaven                MI
42562   1GYKNFRS1KZ215056   GM           XT5                  BOSTON                   MA
42563   1GYKNFRS1KZ215803   GM           XT5                  LAS VEGAS                NV
42564   1GYKNFRS1KZ217468   GM           XT5                  PHILADELPHIA             PA
42565   1GYKNFRS1KZ218233   GM           XT5                  NEWARK                   NJ
42566   1GYKNFRS1KZ218703   GM           XT5                  Cicero                   NY
42567   1GYKNFRS1KZ225179   GM           XT5                  DENVER                   CO
42568   1GYKNFRS1KZ225263   GM           XT5                  LOS ANGELES              CA
42569   1GYKNFRS1KZ225778   GM           XT5                  TAMPA                    FL
42570   1GYKNFRS1KZ225859   GM           XT5                  NEWARK                   NJ
42571   1GYKNFRS1KZ226199   GM           XT5                  LOUISVILLE               KY
42572   1GYKNFRS1KZ226431   GM           XT5                  KNOXVILLE                TN
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42573   1GYKNFRS1KZ237557   GM           XT5                  Lake Elsinore            CA
42574   1GYKNFRS1KZ240555   GM           XT5                  LAS VEGAS                NV
42575   1GYKNFRS2KZ142604   GM           XT5                  WEST PALM BEACH          FL
42576   1GYKNFRS2KZ206558   GM           XT5                  CHICAGO                  IL
42577   1GYKNFRS2KZ207743   GM           XT5                  KNOXVILLE                TN
42578   1GYKNFRS2KZ207922   GM           XT5                  FORT LAUDERDALE          FL
42579   1GYKNFRS2KZ207953   GM           XT5                  Davie                    FL
42580   1GYKNFRS2KZ207998   GM           XT5                  NEW BERN                 NC
42581   1GYKNFRS2KZ209170   GM           XT5                  FORT MYERS               FL
42582   1GYKNFRS2KZ209802   GM           XT5                  ATLANTA                  GA
42583   1GYKNFRS2KZ210674   GM           XT5                  MIAMI                    FL
42584   1GYKNFRS2KZ211811   GM           XT5                  ROANOKE                  VA
42585   1GYKNFRS2KZ211985   GM           XT5                  ATLANTA                  GA
42586   1GYKNFRS2KZ212764   GM           XT5                  ORLANDO                  FL
42587   1GYKNFRS2KZ214918   GM           XT5                  FORT MYERS               FL
42588   1GYKNFRS2KZ216040   GM           XT5                  KANSAS CITY              MO
42589   1GYKNFRS2KZ216698   GM           XT5                  PORTLAND                 ME
42590   1GYKNFRS2KZ217141   GM           XT5                  KNOXVILLE                TN
42591   1GYKNFRS2KZ218032   GM           XT5                  NEW YORK CITY            NY
42592   1GYKNFRS2KZ223943   GM           XT5                  CHICAGO                  IL
42593   1GYKNFRS2KZ225174   GM           XT5                  MONTREAL AP (QU)         QU
42594   1GYKNFRS2KZ225904   GM           XT5                  FORT LAUDERDALE          FL
42595   1GYKNFRS2KZ227166   GM           XT5                  NEWARK                   NJ
42596   1GYKNFRS2KZ229547   GM           XT5                  ATLANTA                  GA
42597   1GYKNFRS2KZ239186   GM           XT5                  DETROIT                  MI
42598   1GYKNFRS2KZ250026   GM           XT5                  BOSTON                   MA
42599   1GYKNFRS3KZ172209   GM           XT5                  MIAMI                    FL
42600   1GYKNFRS3KZ174056   GM           XT5                  Estero                   FL
42601   1GYKNFRS3KZ174560   GM           XT5                  CHICAGO                  IL
42602   1GYKNFRS3KZ207623   GM           XT5                  MIAMI                    FL
42603   1GYKNFRS3KZ208416   GM           XT5                  WEST PALM BEACH          FL
42604   1GYKNFRS3KZ208481   GM           XT5                  SAINT LOUIS              MO
42605   1GYKNFRS3KZ209145   GM           XT5                  KNOXVILLE                TN
42606   1GYKNFRS3KZ210456   GM           XT5                  CHARLESTON               WV
42607   1GYKNFRS3KZ210554   GM           XT5                  SAN ANTONIO              TX
42608   1GYKNFRS3KZ210568   GM           XT5                  ROANOKE                  VA
42609   1GYKNFRS3KZ211820   GM           XT5                  Teterboro                NJ
42610   1GYKNFRS3KZ212059   GM           XT5                  DENVER                   CO
42611   1GYKNFRS3KZ212823   GM           XT5                  HANOVER                  MD
42612   1GYKNFRS3KZ214653   GM           XT5                  MIAMI                    FL
42613   1GYKNFRS3KZ216323   GM           XT5                  WEST PALM BEACH          FL
42614   1GYKNFRS3KZ216547   GM           XT5                  BOSTON                   MA
42615   1GYKNFRS3KZ216564   GM           XT5                  PENSACOLA                FL
42616   1GYKNFRS3KZ217679   GM           XT5                  NEWARK                   NJ
42617   1GYKNFRS3KZ217696   GM           XT5                  WHITE PLAINS             NY
42618   1GYKNFRS3KZ218346   GM           XT5                  PHILADELPHIA             PA
42619   1GYKNFRS3KZ223109   GM           XT5                  AUSTIN                   TX
42620   1GYKNFRS3KZ223868   GM           XT5                  WEST PALM BEACH          FL
42621   1GYKNFRS3KZ224146   GM           XT5                  WARWICK                  RI
42622   1GYKNFRS3KZ224194   GM           XT5                  North Dighton            MA
42623   1GYKNFRS3KZ224213   GM           XT5                  GREENVILLE               NC
42624   1GYKNFRS3KZ224504   GM           XT5                  Hayward                  CA
42625   1GYKNFRS3KZ224549   GM           XT5                  TAMPA                    FL
42626   1GYKNFRS3KZ224552   GM           XT5                  LOUISVILLE               KY
42627   1GYKNFRS3KZ224678   GM           XT5                  Hamilton                 OH
42628   1GYKNFRS3KZ224826   GM           XT5                  CLEVELAND                OH
42629   1GYKNFRS3KZ225068   GM           XT5                  FORT LAUDERDALE          FL
42630   1GYKNFRS3KZ225507   GM           XT5                  KENNER                   LA
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42631   1GYKNFRS3KZ225829   GM           XT5                  LAS VEGAS                NV
42632   1GYKNFRS3KZ230982   GM           XT5                  ORLANDO                  FL
42633   1GYKNFRS3KZ237575   GM           XT5                  INDIANAPOLIS             IN
42634   1GYKNFRS3KZ237897   GM           XT5                  SEATAC                   WA
42635   1GYKNFRS3KZ251783   GM           XT5                  DALLAS                   TX
42636   1GYKNFRS4KZ156486   GM           XT5                  FORT LAUDERDALE          FL
42637   1GYKNFRS4KZ173918   GM           XT5                  FORT LAUDERDALE          FL
42638   1GYKNFRS4KZ206688   GM           XT5                  MIAMI                    FL
42639   1GYKNFRS4KZ207372   GM           XT5                  ORLANDO                  FL
42640   1GYKNFRS4KZ209428   GM           XT5                  CHICAGO                  IL
42641   1GYKNFRS4KZ209431   GM           XT5                  TAMPA                    FL
42642   1GYKNFRS4KZ209509   GM           XT5                  PENSACOLA                FL
42643   1GYKNFRS4KZ211406   GM           XT5                  Stone Mountain           GA
42644   1GYKNFRS4KZ212264   GM           XT5                  FORT MYERS               FL
42645   1GYKNFRS4KZ212331   GM           XT5                  ORLANDO                  FL
42646   1GYKNFRS4KZ213754   GM           XT5                  PENSACOLA                FL
42647   1GYKNFRS4KZ215827   GM           XT5                  HARTFORD                 CT
42648   1GYKNFRS4KZ215911   GM           XT5                  INDIANAPOLIS             IN
42649   1GYKNFRS4KZ216802   GM           XT5                  WHITE PLAINS             NY
42650   1GYKNFRS4KZ217366   GM           XT5                  NEWARK                   NJ
42651   1GYKNFRS4KZ217657   GM           XT5                  ALBUQERQUE               NM
42652   1GYKNFRS4KZ218386   GM           XT5                  DALLAS                   TX
42653   1GYKNFRS4KZ223541   GM           XT5                  BURBANK                  CA
42654   1GYKNFRS4KZ223555   GM           XT5                  ORLANDO                  FL
42655   1GYKNFRS4KZ224477   GM           XT5                  HARRISBURG               PA
42656   1GYKNFRS4KZ224690   GM           XT5                  ORLANDO                  FL
42657   1GYKNFRS4KZ224768   GM           XT5                  CHICAGO                  IL
42658   1GYKNFRS4KZ224821   GM           XT5                  JACKSONVILLE             FL
42659   1GYKNFRS4KZ224866   GM           XT5                  SAVANNAH                 GA
42660   1GYKNFRS4KZ225290   GM           XT5                  FORT LAUDERDALE          FL
42661   1GYKNFRS4KZ225841   GM           XT5                  PORTLAND                 OR
42662   1GYKNFRS4KZ225936   GM           XT5                  FRESNO                   CA
42663   1GYKNFRS4KZ225953   GM           XT5                  Elmhurst                 IL
42664   1GYKNFRS4KZ225967   GM           XT5                  CHICAGO                  IL
42665   1GYKNFRS4KZ226293   GM           XT5                  CHARLOTTE                NC
42666   1GYKNFRS4KZ226598   GM           XT5                  WEST PALM BEACH          FL
42667   1GYKNFRS4KZ226603   GM           XT5                  LAS VEGAS                NV
42668   1GYKNFRS4KZ227041   GM           XT5                  Clearwater               FL
42669   1GYKNFRS4KZ227086   GM           XT5                  PHILADELPHIA             PA
42670   1GYKNFRS4KZ227282   GM           XT5                  ROANOKE                  VA
42671   1GYKNFRS4KZ236385   GM           XT5                  DALLAS                   TX
42672   1GYKNFRS4KZ240064   GM           XT5                  SAN FRANCISCO            CA
42673   1GYKNFRS5KZ142273   GM           XT5                  SARASOTA                 FL
42674   1GYKNFRS5KZ157663   GM           XT5                  MIAMI                    FL
42675   1GYKNFRS5KZ176603   GM           XT5                  ORLANDO                  FL
42676   1GYKNFRS5KZ207980   GM           XT5                  GREENVILLE               NC
42677   1GYKNFRS5KZ208045   GM           XT5                  MIAMI                    FL
42678   1GYKNFRS5KZ212385   GM           XT5                  EAST BOSTON              MA
42679   1GYKNFRS5KZ212791   GM           XT5                  Cicero                   NY
42680   1GYKNFRS5KZ213519   GM           XT5                  ORLANDO                  FL
42681   1GYKNFRS5KZ214265   GM           XT5                  Davie                    FL
42682   1GYKNFRS5KZ215268   GM           XT5                  North Dighton            MA
42683   1GYKNFRS5KZ215674   GM           XT5                  Manheim                  PA
42684   1GYKNFRS5KZ215755   GM           XT5                  PITTSBURGH               PA
42685   1GYKNFRS5KZ216890   GM           XT5                  WARWICK                  RI
42686   1GYKNFRS5KZ216971   GM           XT5                  Ventura                  CA
42687   1GYKNFRS5KZ222995   GM           XT5                  ORLANDO                  FL
42688   1GYKNFRS5KZ223550   GM           XT5                  BURBANK                  CA
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42689   1GYKNFRS5KZ223712   GM           XT5                  DENVER                   CO
42690   1GYKNFRS5KZ223967   GM           XT5                  Harvey                   LA
42691   1GYKNFRS5KZ224097   GM           XT5                  Clearwater               FL
42692   1GYKNFRS5KZ224133   GM           XT5                  BOSTON                   MA
42693   1GYKNFRS5KZ225539   GM           XT5                  Atlanta                  GA
42694   1GYKNFRS5KZ226108   GM           XT5                  INDIANAPOLIS             IN
42695   1GYKNFRS5KZ226156   GM           XT5                  SAN FRANCISCO            CA
42696   1GYKNFRS5KZ226190   GM           XT5                  Lake in the Hil          IL
42697   1GYKNFRS5KZ226674   GM           XT5                  PORTLAND                 ME
42698   1GYKNFRS5KZ236721   GM           XT5                  SAINT PAUL               MN
42699   1GYKNFRS5KZ236878   GM           XT5                  AMARILLO                 US
42700   1GYKNFRS5KZ239330   GM           XT5                  LOS ANGELES              CA
42701   1GYKNFRS6KZ157459   GM           XT5                  FORT LAUDERDALE          FL
42702   1GYKNFRS6KZ158949   GM           XT5                  ORLANDO                  FL
42703   1GYKNFRS6KZ160085   GM           XT5                  ASHEVILLE                NC
42704   1GYKNFRS6KZ174875   GM           XT5                  ORLANDO                  FL
42705   1GYKNFRS6KZ174911   GM           XT5                  Davie                    FL
42706   1GYKNFRS6KZ176576   GM           XT5                  ORLANDO                  FL
42707   1GYKNFRS6KZ176674   GM           XT5                  San Diego                CA
42708   1GYKNFRS6KZ206692   GM           XT5                  FORT MYERS               FL
42709   1GYKNFRS6KZ207874   GM           XT5                  MIAMI                    FL
42710   1GYKNFRS6KZ207969   GM           XT5                  GRAND RAPIDS             MI
42711   1GYKNFRS6KZ208717   GM           XT5                  WINTER PARK              FL
42712   1GYKNFRS6KZ210113   GM           XT5                  PENSACOLA                FL
42713   1GYKNFRS6KZ211178   GM           XT5                  Dallas                   TX
42714   1GYKNFRS6KZ211228   GM           XT5                  BOSTON                   MA
42715   1GYKNFRS6KZ212900   GM           XT5                  Manheim                  PA
42716   1GYKNFRS6KZ213075   GM           XT5                  STERLING                 VA
42717   1GYKNFRS6KZ213187   GM           XT5                  Irving                   TX
42718   1GYKNFRS6KZ213951   GM           XT5                  GREENSBORO               NC
42719   1GYKNFRS6KZ214890   GM           XT5                  HARRISBURG               PA
42720   1GYKNFRS6KZ215389   GM           XT5                  JAMAICA                  NY
42721   1GYKNFRS6KZ216526   GM           XT5                  CHARLOTTE                NC
42722   1GYKNFRS6KZ216641   GM           XT5                  SAVANNAH                 GA
42723   1GYKNFRS6KZ216722   GM           XT5                  NEWARK                   NJ
42724   1GYKNFRS6KZ216820   GM           XT5                  BOSTON                   MA
42725   1GYKNFRS6KZ217059   GM           XT5                  FORT LAUDERDALE          FL
42726   1GYKNFRS6KZ218034   GM           XT5                  Fredericksburg           VA
42727   1GYKNFRS6KZ223346   GM           XT5                  BUFFALO                  NY
42728   1GYKNFRS6KZ223718   GM           XT5                  TAMPA                    US
42729   1GYKNFRS6KZ223802   GM           XT5                  KNOXVILLE                TN
42730   1GYKNFRS6KZ224044   GM           XT5                  FORT LAUDERDALE          FL
42731   1GYKNFRS6KZ224271   GM           XT5                  SAN FRANCISCO            CA
42732   1GYKNFRS6KZ224612   GM           XT5                  Hebron                   KY
42733   1GYKNFRS6KZ224982   GM           XT5                  SAN DIEGO                CA
42734   1GYKNFRS6KZ225548   GM           XT5                  PHILADELPHIA             PA
42735   1GYKNFRS6KZ225808   GM           XT5                  SACRAMENTO               CA
42736   1GYKNFRS6KZ226084   GM           XT5                  PORTLAND                 OR
42737   1GYKNFRS6KZ226568   GM           XT5                  Woodhaven                MI
42738   1GYKNFRS6KZ226571   GM           XT5                  CLEVELAND                OH
42739   1GYKNFRS6KZ226635   GM           XT5                  BOSTON                   MA
42740   1GYKNFRS6KZ226778   GM           XT5                  PITTSBURGH               PA
42741   1GYKNFRS6KZ226960   GM           XT5                  SALT LAKE CITY           US
42742   1GYKNFRS6KZ228871   GM           XT5                  DENVER                   CO
42743   1GYKNFRS6KZ239739   GM           XT5                  LAS VEGAS                NV
42744   1GYKNFRS6KZ252572   GM           XT5                  RALIEGH                  NC
42745   1GYKNFRS7KZ143358   GM           XT5                  WEST PALM BEACH          FL
42746   1GYKNFRS7KZ174092   GM           XT5                  SARASOTA                 FL
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42747   1GYKNFRS7KZ175405   GM           XT5                  JACKSONVILLE             FL
42748   1GYKNFRS7KZ206703   GM           XT5                  FORT LAUDERDALE          FL
42749   1GYKNFRS7KZ207088   GM           XT5                  Sarasota                 FL
42750   1GYKNFRS7KZ207334   GM           XT5                  Kent                     WA
42751   1GYKNFRS7KZ208208   GM           XT5                  INDIANAPOLIS             IN
42752   1GYKNFRS7KZ211173   GM           XT5                  RONKONKOMA               NY
42753   1GYKNFRS7KZ214896   GM           XT5                  BIRMINGHAN               AL
42754   1GYKNFRS7KZ215000   GM           XT5                  CLEVELAND                OH
42755   1GYKNFRS7KZ216034   GM           XT5                  DFW AIRPORT              TX
42756   1GYKNFRS7KZ216728   GM           XT5                  WHITE PLAINS             NY
42757   1GYKNFRS7KZ217393   GM           XT5                  DENVER                   CO
42758   1GYKNFRS7KZ217474   GM           XT5                  Phoenix                  AZ
42759   1GYKNFRS7KZ223341   GM           XT5                  Hamilton                 OH
42760   1GYKNFRS7KZ223534   GM           XT5                  DETROIT                  MI
42761   1GYKNFRS7KZ223579   GM           XT5                  North Dighton            MA
42762   1GYKNFRS7KZ223663   GM           XT5                  FAYETTEVILLE             GA
42763   1GYKNFRS7KZ223775   GM           XT5                  FORT MYERS               FL
42764   1GYKNFRS7KZ224022   GM           XT5                  ROCHESTER                NY
42765   1GYKNFRS7KZ224585   GM           XT5                  NEW YORK CITY            NY
42766   1GYKNFRS7KZ224702   GM           XT5                  BOSTON, LOGAN AP         MA
42767   1GYKNFRS7KZ225820   GM           XT5                  SANTA BARBARA            CA
42768   1GYKNFRS7KZ226093   GM           XT5                  SEATAC                   WA
42769   1GYKNFRS7KZ226479   GM           XT5                  SAVANNAH                 GA
42770   1GYKNFRS7KZ226689   GM           XT5                  SOUTHEAST DST OFFC       OK
42771   1GYKNFRS7KZ229902   GM           XT5                  Teterboro                NJ
42772   1GYKNFRS8KZ170004   GM           XT5                  FORT MYERS               FL
42773   1GYKNFRS8KZ174442   GM           XT5                  FORT MYERS               FL
42774   1GYKNFRS8KZ175378   GM           XT5                  SANTA CLARA              CA
42775   1GYKNFRS8KZ208234   GM           XT5                  CONYERS                  GA
42776   1GYKNFRS8KZ208797   GM           XT5                  Des Moines               IA
42777   1GYKNFRS8KZ208850   GM           XT5                  ORLANDO                  FL
42778   1GYKNFRS8KZ209030   GM           XT5                  MIAMI                    FL
42779   1GYKNFRS8KZ209142   GM           XT5                  DES MOINES               IA
42780   1GYKNFRS8KZ210016   GM           XT5                  ATLANTA                  GA
42781   1GYKNFRS8KZ211831   GM           XT5                  FORT MYERS               FL
42782   1GYKNFRS8KZ212574   GM           XT5                  TAMPA                    US
42783   1GYKNFRS8KZ214518   GM           XT5                  RICHMOND                 VA
42784   1GYKNFRS8KZ215877   GM           XT5                  DANIA BEACH              FL
42785   1GYKNFRS8KZ216267   GM           XT5                  TAMPA                    FL
42786   1GYKNFRS8KZ216883   GM           XT5                  PITTSBURGH               PA
42787   1GYKNFRS8KZ217015   GM           XT5                  CHARLOTTE                NC
42788   1GYKNFRS8KZ217094   GM           XT5                  PHOENIX                  AZ
42789   1GYKNFRS8KZ218200   GM           XT5                  SEATAC                   WA
42790   1GYKNFRS8KZ218424   GM           XT5                  NORFOLK                  VA
42791   1GYKNFRS8KZ223283   GM           XT5                  HARRISBURG               PA
42792   1GYKNFRS8KZ223350   GM           XT5                  SEATAC                   WA
42793   1GYKNFRS8KZ224269   GM           XT5                  PORTLAND                 OR
42794   1GYKNFRS8KZ224319   GM           XT5                  KENNER                   LA
42795   1GYKNFRS8KZ224384   GM           XT5                  FORT MYERS               FL
42796   1GYKNFRS8KZ224630   GM           XT5                  DES PLAINES              US
42797   1GYKNFRS8KZ224787   GM           XT5                  FORT LAUDERDALE          FL
42798   1GYKNFRS8KZ226006   GM           XT5                  WARWICK                  RI
42799   1GYKNFRS8KZ226751   GM           XT5                  CLEVELAND                OH
42800   1GYKNFRS8KZ227169   GM           XT5                  NEW ORLEANS              LA
42801   1GYKNFRS8KZ227270   GM           XT5                  BURBANK                  CA
42802   1GYKNFRS8KZ227432   GM           XT5                  Detroit                  MI
42803   1GYKNFRS9KZ141742   GM           XT5                  ATLANTA                  GA
42804   1GYKNFRS9KZ142163   GM           XT5                  Davie                    FL
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42805   1GYKNFRS9KZ142390   GM           XT5                  Hanover                  MD
42806   1GYKNFRS9KZ156483   GM           XT5                  TAMPA                    FL
42807   1GYKNFRS9KZ175499   GM           XT5                  Matteson                 IL
42808   1GYKNFRS9KZ206864   GM           XT5                  Houston                  TX
42809   1GYKNFRS9KZ207206   GM           XT5                  ATLANTA                  GA
42810   1GYKNFRS9KZ207304   GM           XT5                  FORT LAUDERDALE          FL
42811   1GYKNFRS9KZ207576   GM           XT5                  MIAMI                    FL
42812   1GYKNFRS9KZ208324   GM           XT5                  ORLANDO                  FL
42813   1GYKNFRS9KZ212776   GM           XT5                  STERLING                 VA
42814   1GYKNFRS9KZ214219   GM           XT5                  Manheim                  PA
42815   1GYKNFRS9KZ216164   GM           XT5                  NEWARK                   NJ
42816   1GYKNFRS9KZ218447   GM           XT5                  GRAND RAPIDS             MI
42817   1GYKNFRS9KZ223390   GM           XT5                  FORT MYERS               FL
42818   1GYKNFRS9KZ224622   GM           XT5                  DURHAM                   NC
42819   1GYKNFRS9KZ224944   GM           XT5                  NEWARK                   NJ
42820   1GYKNFRS9KZ225138   GM           XT5                  CLEVELAND                OH
42821   1GYKNFRS9KZ225530   GM           XT5                  CLEARWATER               FL
42822   1GYKNFRS9KZ225754   GM           XT5                  Euless                   TX
42823   1GYKNFRS9KZ226614   GM           XT5                  ATLANTA                  GA
42824   1GYKNFRS9KZ226757   GM           XT5                  CHARLOTTE                NC
42825   1GYKNFRS9KZ226760   GM           XT5                  CHARLOTTE                NC
42826   1GYKNFRS9KZ226919   GM           XT5                  BOSTON                   MA
42827   1GYKNFRS9KZ226922   GM           XT5                  INDIANAPOLIS             IN
42828   1GYKNFRS9KZ230405   GM           XT5                  SAINT PAUL               MN
42829   1GYKNFRS9KZ238679   GM           XT5                  CLEVELAND                OH
42830   1GYKNFRS9KZ239816   GM           XT5                  PORTLAND                 OR
42831   1GYKNFRS9KZ250492   GM           XT5                  BUFFALO                  NY
42832   1GYKNFRSXKZ142639   GM           XT5                  FT LAUDERDALE            FL
42833   1GYKNFRSXKZ142690   GM           XT5                  FORT LAUDERDALE          FL
42834   1GYKNFRSXKZ157674   GM           XT5                  MIAMI                    FL
42835   1GYKNFRSXKZ158730   GM           XT5                  NEWARK                   NJ
42836   1GYKNFRSXKZ159036   GM           XT5                  MONTGOMERY               AL
42837   1GYKNFRSXKZ174054   GM           XT5                  ORLANDO                  FL
42838   1GYKNFRSXKZ174376   GM           XT5                  SALT LAKE CITY           UT
42839   1GYKNFRSXKZ175222   GM           XT5                  FORT MYERS               FL
42840   1GYKNFRSXKZ177004   GM           XT5                  BOSTON                   MA
42841   1GYKNFRSXKZ206842   GM           XT5                  ORLANDO                  FL
42842   1GYKNFRSXKZ207540   GM           XT5                  SOUTHEAST DST OFFC       OK
42843   1GYKNFRSXKZ207828   GM           XT5                  SACRAMENTO               CA
42844   1GYKNFRSXKZ207912   GM           XT5                  FORT LAUDERDALE          FL
42845   1GYKNFRSXKZ208381   GM           XT5                  WEST PALM BEACH          FL
42846   1GYKNFRSXKZ209000   GM           XT5                  FORT LAUDERDALE          FL
42847   1GYKNFRSXKZ209109   GM           XT5                  FORT LAUDERDALE          FL
42848   1GYKNFRSXKZ209482   GM           XT5                  MIAMI                    FL
42849   1GYKNFRSXKZ210339   GM           XT5                  ORLANDO                  FL
42850   1GYKNFRSXKZ213399   GM           XT5                  ORLANDO                  FL
42851   1GYKNFRSXKZ214360   GM           XT5                  SAN ANTONIO              TX
42852   1GYKNFRSXKZ214522   GM           XT5                  BOSTON                   MA
42853   1GYKNFRSXKZ214665   GM           XT5                  PHILADELPHIA             US
42854   1GYKNFRSXKZ214939   GM           XT5                  SAINT PAUL               MN
42855   1GYKNFRSXKZ215024   GM           XT5                  PHILADELPHIA             PA
42856   1GYKNFRSXKZ217839   GM           XT5                  PITTSBURGH               PA
42857   1GYKNFRSXKZ217906   GM           XT5                  STERLING                 VA
42858   1GYKNFRSXKZ218022   GM           XT5                  INDIANAPOLIS             IN
42859   1GYKNFRSXKZ223849   GM           XT5                  ORLANDO                  FL
42860   1GYKNFRSXKZ223897   GM           XT5                  PENSACOLA                FL
42861   1GYKNFRSXKZ225021   GM           XT5                  SAINT LOUIS              MO
42862   1GYKNFRSXKZ225634   GM           XT5                  PORTLAND                 OR
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42863   1GYKNFRSXKZ225973   GM           XT5                  BOISE                    US
42864   1GYKNFRSXKZ226251   GM           XT5                  LAS VEGAS                NV
42865   1GYKNFRSXKZ226718   GM           XT5                  PHILADELPHIA             PA
42866   1GYKNFRSXKZ227285   GM           XT5                  SEATAC                   WA
42867   1GYKNFRSXKZ227366   GM           XT5                  INDIANAPOLIS             IN
42868   1GYKNFRSXKZ228288   GM           XT5                  CHICAGO                  IL
42869   1GYKNFRSXKZ230462   GM           XT5                  WHITE PLAINS             NY
42870   1GYKNFRSXKZ236875   GM           XT5                  SEATAC                   WA
42871   1GYKNFRSXKZ249917   GM           XT5                  CHARLOTTE                NC
42872   1GYS4BKJ0HR201851   GM           ESCALADE             Miami                    FL
42873   1GYS4BKJ0JR105109   GM           ESCALADE             LIHUE                    HI
42874   1GYS4BKJ0JR107507   GM           ESCALADE             Kahului                  HI
42875   1GYS4BKJ0JR125392   GM           ESCALADE             MIAMI                    FL
42876   1GYS4BKJ0JR196818   GM           ESCALADE             KAHULUI                  HI
42877   1GYS4BKJ0JR300112   GM           ESCALADE             North Dighton            MA
42878   1GYS4BKJ0JR355899   GM           ESCALADE             ORLANDO                  FL
42879   1GYS4BKJ0JR358785   GM           ESCALADE             DENVER                   CO
42880   1GYS4BKJ0JR377286   GM           ESCALADE             Tolleson                 AZ
42881   1GYS4BKJ0JR382648   GM           ESCALADE             Houston                  TX
42882   1GYS4BKJ0JR399627   GM           ESCALADE             FT LAUDERDALE            FL
42883   1GYS4BKJ0JR402784   GM           ESCALADE             Manheim                  PA
42884   1GYS4BKJ0KR186677   GM           ESCALADE             Salt Lake City           UT
42885   1GYS4BKJ0KR192530   GM           ESCALADE             MIAMI                    FL
42886   1GYS4BKJ0KR218088   GM           ESCALADE             ALBUQUERQUE              NM
42887   1GYS4BKJ0KR219306   GM           ESCALADE             Hayward                  CA
42888   1GYS4BKJ0KR253116   GM           ESCALADE             PHILADELPHIA             US
42889   1GYS4BKJ0KR268117   GM           ESCALADE             Pasadena                 CA
42890   1GYS4BKJ0KR269865   GM           ESCALADE             ORLANDO                  FL
42891   1GYS4BKJ0KR272457   GM           ESCALADE             Fontana                  CA
42892   1GYS4BKJ0KR272961   GM           ESCALADE             West Bountiful           UT
42893   1GYS4BKJ0KR273561   GM           ESCALADE             Houston                  TX
42894   1GYS4BKJ0KR274046   GM           ESCALADE             OKLAHOMA CITY            OK
42895   1GYS4BKJ0KR274211   GM           ESCALADE             HOUSTON                  TX
42896   1GYS4BKJ0KR275097   GM           ESCALADE             Hayward                  CA
42897   1GYS4BKJ0KR275312   GM           ESCALADE             NEW ORLEANS              LA
42898   1GYS4BKJ0KR275732   GM           ESCALADE             LOS ANGELES              CA
42899   1GYS4BKJ0KR276721   GM           ESCALADE             BOSTON                   MA
42900   1GYS4BKJ0KR302573   GM           ESCALADE             DALLAS                   TX
42901   1GYS4BKJ0KR303058   GM           ESCALADE             CHICAGO                  IL
42902   1GYS4BKJ0KR303996   GM           ESCALADE             Atlanta                  GA
42903   1GYS4BKJ0KR304355   GM           ESCALADE             COLUMBIA                 SC
42904   1GYS4BKJ0KR331846   GM           ESCALADE             DETROIT                  MI
42905   1GYS4BKJ0KR332088   GM           ESCALADE             STERLING                 VA
42906   1GYS4BKJ0KR332267   GM           ESCALADE             NEWARK                   NJ
42907   1GYS4BKJ0KR333757   GM           ESCALADE             RALEIGH                  NC
42908   1GYS4BKJ0KR333841   GM           ESCALADE             MYRTLE BEACH             SC
42909   1GYS4BKJ0KR334309   GM           ESCALADE             ATLANTA                  GA
42910   1GYS4BKJ0KR334925   GM           ESCALADE             HARTFORD                 CT
42911   1GYS4BKJ0KR339963   GM           ESCALADE             LOS ANGELES              CA
42912   1GYS4BKJ0KR340949   GM           ESCALADE             CHICAGO                  IL
42913   1GYS4BKJ0KR377516   GM           ESCALADE             BOSTON                   MA
42914   1GYS4BKJ1JR202285   GM           ESCALADE             LIHUE                    HI
42915   1GYS4BKJ1JR362389   GM           ESCALADE             Fontana                  CA
42916   1GYS4BKJ1JR369620   GM           ESCALADE             SANFORD                  FL
42917   1GYS4BKJ1JR373201   GM           ESCALADE             TUCSON                   AZ
42918   1GYS4BKJ1JR380682   GM           ESCALADE             SANTA ANA                CA
42919   1GYS4BKJ1JR383419   GM           ESCALADE             Aurora                   CO
42920   1GYS4BKJ1JR388779   GM           ESCALADE             Riverside                CA
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42921   1GYS4BKJ1JR389155   GM           ESCALADE             LAS VEGAS                NV
42922   1GYS4BKJ1JR396476   GM           ESCALADE             Ft. Myers                FL
42923   1GYS4BKJ1JR402518   GM           ESCALADE             Manheim                  PA
42924   1GYS4BKJ1KR189135   GM           ESCALADE             Omaha                    NE
42925   1GYS4BKJ1KR190513   GM           ESCALADE             MIAMI                    FL
42926   1GYS4BKJ1KR190883   GM           ESCALADE             LIHUE                    HI
42927   1GYS4BKJ1KR199339   GM           ESCALADE             Coraopolis               PA
42928   1GYS4BKJ1KR217046   GM           ESCALADE             HANOVER                  MD
42929   1GYS4BKJ1KR217550   GM           ESCALADE             OMAHA                    NE
42930   1GYS4BKJ1KR219234   GM           ESCALADE             Caledonia                WI
42931   1GYS4BKJ1KR219282   GM           ESCALADE             FORT LAUDERDALE          FL
42932   1GYS4BKJ1KR219654   GM           ESCALADE             PORTLAND                 OR
42933   1GYS4BKJ1KR219878   GM           ESCALADE             SAN DIEGO                CA
42934   1GYS4BKJ1KR267462   GM           ESCALADE             KENNER                   LA
42935   1GYS4BKJ1KR267784   GM           ESCALADE             SOUTH SAN FRANC          CA
42936   1GYS4BKJ1KR268997   GM           ESCALADE             SAN JOSE                 CA
42937   1GYS4BKJ1KR270426   GM           ESCALADE             ONTARIO                  CA
42938   1GYS4BKJ1KR270815   GM           ESCALADE             TAMPA                    FL
42939   1GYS4BKJ1KR271950   GM           ESCALADE             HOUSTON                  TX
42940   1GYS4BKJ1KR274542   GM           ESCALADE             CLEVELAND                OH
42941   1GYS4BKJ1KR274587   GM           ESCALADE             Clearwater               FL
42942   1GYS4BKJ1KR275478   GM           ESCALADE             PHILADELPHIA             PA
42943   1GYS4BKJ1KR275657   GM           ESCALADE             DENVER                   CO
42944   1GYS4BKJ1KR276694   GM           ESCALADE             RALEIGH                  NC
42945   1GYS4BKJ1KR301545   GM           ESCALADE             SACRAMENTO               CA
42946   1GYS4BKJ1KR302114   GM           ESCALADE             Revere                   MA
42947   1GYS4BKJ1KR331449   GM           ESCALADE             DAYTONA BEACH            FL
42948   1GYS4BKJ1KR331550   GM           ESCALADE             CHARLOTTE                NC
42949   1GYS4BKJ1KR332410   GM           ESCALADE             Hebron                   KY
42950   1GYS4BKJ1KR333752   GM           ESCALADE             KNOXVILLE                TN
42951   1GYS4BKJ1KR334075   GM           ESCALADE             BIRMINGHAM               AL
42952   1GYS4BKJ1KR335923   GM           ESCALADE             ATLANTA                  GA
42953   1GYS4BKJ1KR336232   GM           ESCALADE             ROCHESTER                NY
42954   1GYS4BKJ1KR339597   GM           ESCALADE             PORTLAND                 OR
42955   1GYS4BKJ1KR339891   GM           ESCALADE             SEATAC                   WA
42956   1GYS4BKJ1KR340152   GM           ESCALADE             SEATAC                   WA
42957   1GYS4BKJ1KR372048   GM           ESCALADE             SEATAC                   WA
42958   1GYS4BKJ1KR377590   GM           ESCALADE             LOS ANGELES              CA
42959   1GYS4BKJ1KR381607   GM           ESCALADE             WILMINGTON               NC
42960   1GYS4BKJ2JR123546   GM           ESCALADE             Orlando                  FL
42961   1GYS4BKJ2JR214994   GM           ESCALADE
42962   1GYS4BKJ2JR310401   GM           ESCALADE             CHICAGO O'HARE AP        IL
42963   1GYS4BKJ2JR331362   GM           ESCALADE             COLUMBUS                 OH
42964   1GYS4BKJ2JR377192   GM           ESCALADE             Elkridge                 MD
42965   1GYS4BKJ2JR378729   GM           ESCALADE             SAN JOSE                 CA
42966   1GYS4BKJ2JR378844   GM           ESCALADE             San Diego                CA
42967   1GYS4BKJ2JR379668   GM           ESCALADE             Houston                  TX
42968   1GYS4BKJ2JR386524   GM           ESCALADE             DENVER                   CO
42969   1GYS4BKJ2JR390816   GM           ESCALADE             Riverside                CA
42970   1GYS4BKJ2JR400101   GM           ESCALADE             DAYTONA BEACH            FL
42971   1GYS4BKJ2JR402494   GM           ESCALADE             PHOENIX                  AZ
42972   1GYS4BKJ2KR186888   GM           ESCALADE             FORT LAUDERDALE          FL
42973   1GYS4BKJ2KR187149   GM           ESCALADE             TAMPA                    FL
42974   1GYS4BKJ2KR190861   GM           ESCALADE             MIAMI                    FL
42975   1GYS4BKJ2KR218772   GM           ESCALADE             MIAMI                    FL
42976   1GYS4BKJ2KR219033   GM           ESCALADE             ORLANDO                  FL
42977   1GYS4BKJ2KR219601   GM           ESCALADE             Aurora                   CO
42978   1GYS4BKJ2KR220764   GM           ESCALADE             BOSTON                   MA
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42979   1GYS4BKJ2KR221171   GM           ESCALADE             FORT LAUDERDALE          FL
42980   1GYS4BKJ2KR221574   GM           ESCALADE             LAS VEGAS                NV
42981   1GYS4BKJ2KR239296   GM           ESCALADE             NEW ORLEANS              LA
42982   1GYS4BKJ2KR249164   GM           ESCALADE             DALLAS                   TX
42983   1GYS4BKJ2KR267776   GM           ESCALADE             ALBUQERQUE               NM
42984   1GYS4BKJ2KR268183   GM           ESCALADE             Riverside                CA
42985   1GYS4BKJ2KR268359   GM           ESCALADE             SANTA ANA                CA
42986   1GYS4BKJ2KR268927   GM           ESCALADE             PHOENIX                  AZ
42987   1GYS4BKJ2KR273819   GM           ESCALADE             Euless                   TX
42988   1GYS4BKJ2KR275697   GM           ESCALADE             Hattiesburg              MS
42989   1GYS4BKJ2KR276087   GM           ESCALADE             DENVER                   CO
42990   1GYS4BKJ2KR276221   GM           ESCALADE             Elkridge                 MD
42991   1GYS4BKJ2KR289731   GM           ESCALADE             KNOXVILLE                TN
42992   1GYS4BKJ2KR301232   GM           ESCALADE             PITTSBURGH               PA
42993   1GYS4BKJ2KR303689   GM           ESCALADE             CLEVELAND                OH
42994   1GYS4BKJ2KR304762   GM           ESCALADE             PHILADELPHIA             PA
42995   1GYS4BKJ2KR305023   GM           ESCALADE             LAKEWOOD                 WA
42996   1GYS4BKJ2KR305796   GM           ESCALADE             PHOENIX                  AZ
42997   1GYS4BKJ2KR329614   GM           ESCALADE             Des Plaines              IL
42998   1GYS4BKJ2KR329919   GM           ESCALADE             BOSTON                   MA
42999   1GYS4BKJ2KR330505   GM           ESCALADE             CHICAGO                  IL
43000   1GYS4BKJ2KR333744   GM           ESCALADE             NEWARK                   NJ
43001   1GYS4BKJ2KR336076   GM           ESCALADE             CHARLESTON               WV
43002   1GYS4BKJ2KR336109   GM           ESCALADE             ALBANY                   N
43003   1GYS4BKJ2KR339687   GM           ESCALADE             BIRMINGHAM               AL
43004   1GYS4BKJ2KR340225   GM           ESCALADE             PITTSBURGH               PA
43005   1GYS4BKJ2KR340936   GM           ESCALADE             SEATAC                   WA
43006   1GYS4BKJ2KR342122   GM           ESCALADE             SAN JOSE                 CA
43007   1GYS4BKJ2KR344369   GM           ESCALADE             NEW YORK CITY            NY
43008   1GYS4BKJ2KR361656   GM           ESCALADE             ORLANDO                  FL
43009   1GYS4BKJ3JR113074   GM           ESCALADE             HONOLULU                 HI
43010   1GYS4BKJ3JR194819   GM           ESCALADE             Kahului                  HI
43011   1GYS4BKJ3JR250192   GM           ESCALADE             LEXINGTON                KY
43012   1GYS4BKJ3JR330012   GM           ESCALADE             CHARLOTTE                NC
43013   1GYS4BKJ3JR395135   GM           ESCALADE             Salt Lake City           UT
43014   1GYS4BKJ3JR395829   GM           ESCALADE             MIAMI                    FL
43015   1GYS4BKJ3JR400978   GM           ESCALADE             North Dighton            MA
43016   1GYS4BKJ3KR189492   GM           ESCALADE             Statesville              NC
43017   1GYS4BKJ3KR189623   GM           ESCALADE             BIRMINGHAM               AL
43018   1GYS4BKJ3KR191808   GM           ESCALADE             FORT LAUDERDALE          FL
43019   1GYS4BKJ3KR192263   GM           ESCALADE             Greensboro               NC
43020   1GYS4BKJ3KR192523   GM           ESCALADE             FORT LAUDERDALE          FL
43021   1GYS4BKJ3KR193218   GM           ESCALADE             MIAMI                    FL
43022   1GYS4BKJ3KR217243   GM           ESCALADE             OMAHA                    NE
43023   1GYS4BKJ3KR217792   GM           ESCALADE             HANOVER                  MD
43024   1GYS4BKJ3KR218411   GM           ESCALADE             OMAHA                    NE
43025   1GYS4BKJ3KR218974   GM           ESCALADE             CHARLOTTE                NC
43026   1GYS4BKJ3KR220871   GM           ESCALADE             MEDINA                   OH
43027   1GYS4BKJ3KR221194   GM           ESCALADE             CHARLOTTE                NC
43028   1GYS4BKJ3KR221390   GM           ESCALADE             ORLANDO                  FL
43029   1GYS4BKJ3KR221647   GM           ESCALADE             DENVER                   CO
43030   1GYS4BKJ3KR229022   GM           ESCALADE             ATLANTA                  GA
43031   1GYS4BKJ3KR267155   GM           ESCALADE             SANTA ANA                CA
43032   1GYS4BKJ3KR267401   GM           ESCALADE             SAN FRANCISCO            CA
43033   1GYS4BKJ3KR267477   GM           ESCALADE             SAN FRANCISCO            CA
43034   1GYS4BKJ3KR268483   GM           ESCALADE             SOUTH SAN FRANC          CA
43035   1GYS4BKJ3KR269388   GM           ESCALADE             SAN JOSE                 CA
43036   1GYS4BKJ3KR271111   GM           ESCALADE             Las Vegas                NV
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43037   1GYS4BKJ3KR271285   GM           ESCALADE             Reno                     NV
43038   1GYS4BKJ3KR272274   GM           ESCALADE             PORTLAND                 OR
43039   1GYS4BKJ3KR273716   GM           ESCALADE             PORTLAND                 ME
43040   1GYS4BKJ3KR274879   GM           ESCALADE             CHICAGO                  IL
43041   1GYS4BKJ3KR275644   GM           ESCALADE             MIAMI                    FL
43042   1GYS4BKJ3KR276812   GM           ESCALADE             KNOXVILLE                TN
43043   1GYS4BKJ3KR277894   GM           ESCALADE             HOUSTON                  TX
43044   1GYS4BKJ3KR294128   GM           ESCALADE             KENNER                   LA
43045   1GYS4BKJ3KR301577   GM           ESCALADE             BIRMINGHAM               AL
43046   1GYS4BKJ3KR302034   GM           ESCALADE             East Boston              MA
43047   1GYS4BKJ3KR302812   GM           ESCALADE             Bensalem                 PA
43048   1GYS4BKJ3KR303765   GM           ESCALADE             STERLING                 VA
43049   1GYS4BKJ3KR303782   GM           ESCALADE             NEW YORK CITY            NY
43050   1GYS4BKJ3KR306553   GM           ESCALADE             PITTSBURGH               PA
43051   1GYS4BKJ3KR306617   GM           ESCALADE             BOSTON                   MA
43052   1GYS4BKJ3KR329217   GM           ESCALADE             NEW YORK CITY            NY
43053   1GYS4BKJ3KR329220   GM           ESCALADE             BOSTON                   MA
43054   1GYS4BKJ3KR329282   GM           ESCALADE             RALEIGH                  NC
43055   1GYS4BKJ3KR330982   GM           ESCALADE             GREENSBORO               NC
43056   1GYS4BKJ3KR334188   GM           ESCALADE             RALEIGH                  NC
43057   1GYS4BKJ3KR394570   GM           ESCALADE             Lebanon                  TN
43058   1GYS4BKJ4JR276283   GM           ESCALADE             ATLANTA                  GA
43059   1GYS4BKJ4JR367201   GM           ESCALADE             Chicago                  IL
43060   1GYS4BKJ4JR367540   GM           ESCALADE             NEW ORLEANS              LA
43061   1GYS4BKJ4JR371569   GM           ESCALADE             RICHMOND                 VA
43062   1GYS4BKJ4JR375265   GM           ESCALADE             North Dighton            MA
43063   1GYS4BKJ4JR394883   GM           ESCALADE             ORLANDO                  FL
43064   1GYS4BKJ4JR397749   GM           ESCALADE             SOUTHEAST DST OFFC       OK
43065   1GYS4BKJ4JR398013   GM           ESCALADE             OAKLAND                  CA
43066   1GYS4BKJ4JR398657   GM           ESCALADE             FORT LAUDERDALE          FL
43067   1GYS4BKJ4JR402514   GM           ESCALADE             Port Newark              NJ
43068   1GYS4BKJ4KR191106   GM           ESCALADE             Jacksonville             FL
43069   1GYS4BKJ4KR191882   GM           ESCALADE             WILMINGTON               NC
43070   1GYS4BKJ4KR217669   GM           ESCALADE             Fresno                   CA
43071   1GYS4BKJ4KR219566   GM           ESCALADE             ONTARIO                  CA
43072   1GYS4BKJ4KR271246   GM           ESCALADE             LAS VEGAS                NV
43073   1GYS4BKJ4KR271344   GM           ESCALADE             KNOXVILLE                TN
43074   1GYS4BKJ4KR274065   GM           ESCALADE             STERLING                 VA
43075   1GYS4BKJ4KR274339   GM           ESCALADE             Manheim                  PA
43076   1GYS4BKJ4KR274566   GM           ESCALADE             ATLANTA                  GA
43077   1GYS4BKJ4KR277239   GM           ESCALADE             ALBANY                   N
43078   1GYS4BKJ4KR277810   GM           ESCALADE             LAS VEGAS                NV
43079   1GYS4BKJ4KR301541   GM           ESCALADE             JAMAICA                  NY
43080   1GYS4BKJ4KR302866   GM           ESCALADE             PITTSBURGH               PA
43081   1GYS4BKJ4KR306562   GM           ESCALADE             MEDINA                   OH
43082   1GYS4BKJ4KR330568   GM           ESCALADE             Cranberry Towns          PA
43083   1GYS4BKJ4KR331199   GM           ESCALADE             LOS ANGELES              CA
43084   1GYS4BKJ4KR331347   GM           ESCALADE             STERLING                 VA
43085   1GYS4BKJ4KR332353   GM           ESCALADE             CHICAGO                  IL
43086   1GYS4BKJ4KR334832   GM           ESCALADE             San Diego                CA
43087   1GYS4BKJ4KR338072   GM           ESCALADE             DENVER                   CO
43088   1GYS4BKJ4KR339996   GM           ESCALADE             DENVER                   CO
43089   1GYS4BKJ4KR345331   GM           ESCALADE             KNOXVILLE                TN
43090   1GYS4BKJ4KR368768   GM           ESCALADE             PORTLAND                 OR
43091   1GYS4BKJ4KR368902   GM           ESCALADE             SEATAC                   WA
43092   1GYS4BKJ4KR371167   GM           ESCALADE             SEATAC                   WA
43093   1GYS4BKJ4KR377325   GM           ESCALADE             LOS ANGELES              CA
43094   1GYS4BKJ4KR380130   GM           ESCALADE             LAS VEGAS                NV
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43095   1GYS4BKJ4KR381553   GM           ESCALADE             ALBUQERQUE               NM
43096   1GYS4BKJ5JR112752   GM           ESCALADE             North Las Vegas          NV
43097   1GYS4BKJ5JR274039   GM           ESCALADE             FAYETTEVILLE             GA
43098   1GYS4BKJ5JR373959   GM           ESCALADE             Kent                     WA
43099   1GYS4BKJ5JR375260   GM           ESCALADE             LAS VEGAS                NV
43100   1GYS4BKJ5JR377803   GM           ESCALADE             SANTA ANA                CA
43101   1GYS4BKJ5JR377977   GM           ESCALADE             FORT MYERS               FL
43102   1GYS4BKJ5JR386730   GM           ESCALADE             Fontana                  CA
43103   1GYS4BKJ5JR402862   GM           ESCALADE             Jacksonville             FL
43104   1GYS4BKJ5JR403946   GM           ESCALADE             FORT LAUDERDALE          FL
43105   1GYS4BKJ5KR191986   GM           ESCALADE             Denver                   CO
43106   1GYS4BKJ5KR217194   GM           ESCALADE             FORT MYERS               FL
43107   1GYS4BKJ5KR218751   GM           ESCALADE             Riverside                CA
43108   1GYS4BKJ5KR219527   GM           ESCALADE             ATLANTA                  GA
43109   1GYS4BKJ5KR219558   GM           ESCALADE             ROCHESTER                NY
43110   1GYS4BKJ5KR219995   GM           ESCALADE             Davie                    FL
43111   1GYS4BKJ5KR220015   GM           ESCALADE             SAN JOSE                 CA
43112   1GYS4BKJ5KR220838   GM           ESCALADE             FORT LAUDERDALE          FL
43113   1GYS4BKJ5KR226865   GM           ESCALADE             STERLING                 VA
43114   1GYS4BKJ5KR227398   GM           ESCALADE             SANTA BARBARA            CA
43115   1GYS4BKJ5KR229295   GM           ESCALADE             DENVER                   CO
43116   1GYS4BKJ5KR267528   GM           ESCALADE             LOS ANGELES              CA
43117   1GYS4BKJ5KR270753   GM           ESCALADE             MONTEREY                 CA
43118   1GYS4BKJ5KR270848   GM           ESCALADE             Riverside                CA
43119   1GYS4BKJ5KR270915   GM           ESCALADE             ALBUQUERQUE              NM
43120   1GYS4BKJ5KR272583   GM           ESCALADE             FRESNO                   CA
43121   1GYS4BKJ5KR273992   GM           ESCALADE             PHOENIX                  AZ
43122   1GYS4BKJ5KR274592   GM           ESCALADE             DENVER                   CO
43123   1GYS4BKJ5KR275578   GM           ESCALADE             SANTA ANA                CA
43124   1GYS4BKJ5KR277198   GM           ESCALADE             ORLANDO                  FL
43125   1GYS4BKJ5KR287374   GM           ESCALADE             BOSTON                   MA
43126   1GYS4BKJ5KR299637   GM           ESCALADE             HOUSTON                  TX
43127   1GYS4BKJ5KR329199   GM           ESCALADE             CHARLESTON               SC
43128   1GYS4BKJ5KR329901   GM           ESCALADE             FAYETTEVILLE             GA
43129   1GYS4BKJ5KR330224   GM           ESCALADE             CHICAGO                  IL
43130   1GYS4BKJ5KR331213   GM           ESCALADE             PORTLAND                 OR
43131   1GYS4BKJ5KR331471   GM           ESCALADE             SAN DIEGO                CA
43132   1GYS4BKJ5KR333267   GM           ESCALADE             CHARLOTTE                NC
43133   1GYS4BKJ5KR333270   GM           ESCALADE             PROVIDENCE               RI
43134   1GYS4BKJ5KR333379   GM           ESCALADE             Myrtle Beach             SC
43135   1GYS4BKJ5KR333849   GM           ESCALADE             Detroit                  MI
43136   1GYS4BKJ5KR334600   GM           ESCALADE             PITTSBURGH               PA
43137   1GYS4BKJ5KR340669   GM           ESCALADE             SAN JOSE                 CA
43138   1GYS4BKJ5KR363627   GM           ESCALADE             ATLANTA                  GA
43139   1GYS4BKJ5KR371436   GM           ESCALADE             PORTLAND                 OR
43140   1GYS4BKJ5KR376684   GM           ESCALADE             LAS VEGAS                NV
43141   1GYS4BKJ6JR110590   GM           ESCALADE             Riverside                CA
43142   1GYS4BKJ6JR111805   GM           ESCALADE             Honolulu                 HI
43143   1GYS4BKJ6JR196807   GM           ESCALADE             KAHULUI                  HI
43144   1GYS4BKJ6JR249439   GM           ESCALADE             Maple Grove              MN
43145   1GYS4BKJ6JR306867   GM           ESCALADE             Warminster               PA
43146   1GYS4BKJ6JR354742   GM           ESCALADE             COLUMBUS                 OH
43147   1GYS4BKJ6JR363974   GM           ESCALADE             Matteson                 IL
43148   1GYS4BKJ6JR372013   GM           ESCALADE             Roseville                CA
43149   1GYS4BKJ6JR376448   GM           ESCALADE             CLEVELAND                OH
43150   1GYS4BKJ6JR382637   GM           ESCALADE             LAS VEGAS                NV
43151   1GYS4BKJ6JR397915   GM           ESCALADE             GYPSUM                   CO
43152   1GYS4BKJ6JR401039   GM           ESCALADE             CHICAGO                  IL
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43153   1GYS4BKJ6JR402398   GM           ESCALADE             Statesville              NC
43154   1GYS4BKJ6JR404345   GM           ESCALADE             Davie                    FL
43155   1GYS4BKJ6KR173707   GM           ESCALADE             KENNER                   LA
43156   1GYS4BKJ6KR192600   GM           ESCALADE             FORT LAUDERDALE          FL
43157   1GYS4BKJ6KR240628   GM           ESCALADE             KENNER                   LA
43158   1GYS4BKJ6KR270907   GM           ESCALADE             CHICAGO                  IL
43159   1GYS4BKJ6KR270972   GM           ESCALADE             SALT LAKE CITY           US
43160   1GYS4BKJ6KR274195   GM           ESCALADE             Atlanta                  GA
43161   1GYS4BKJ6KR275119   GM           ESCALADE             Houston                  TX
43162   1GYS4BKJ6KR275329   GM           ESCALADE             DENVER                   CO
43163   1GYS4BKJ6KR276027   GM           ESCALADE             North Dighton            MA
43164   1GYS4BKJ6KR300004   GM           ESCALADE             PITTSBURGH               PA
43165   1GYS4BKJ6KR302318   GM           ESCALADE             HOUSTON                  TX
43166   1GYS4BKJ6KR304991   GM           ESCALADE             MYRTLE BEACH             SC
43167   1GYS4BKJ6KR316199   GM           ESCALADE             SEATAC                   WA
43168   1GYS4BKJ6KR329292   GM           ESCALADE             RICHMOND                 VA
43169   1GYS4BKJ6KR329485   GM           ESCALADE             RALEIGH                  NC
43170   1GYS4BKJ6KR329650   GM           ESCALADE             EAST BOSTON              MA
43171   1GYS4BKJ6KR332452   GM           ESCALADE             HANOVER                  MD
43172   1GYS4BKJ6KR332788   GM           ESCALADE             North Dighton            MA
43173   1GYS4BKJ6KR335058   GM           ESCALADE             Warminster               PA
43174   1GYS4BKJ6KR341636   GM           ESCALADE             LOUISVILLE               KY
43175   1GYS4BKJ6KR347758   GM           ESCALADE             STERLING                 VA
43176   1GYS4BKJ6KR364995   GM           ESCALADE             LOS ANGELES              CA
43177   1GYS4BKJ6KR373163   GM           ESCALADE             Orlando                  FL
43178   1GYS4BKJ6KR378184   GM           ESCALADE             St. Louis                MO
43179   1GYS4BKJ6KR380226   GM           ESCALADE             Denver                   CO
43180   1GYS4BKJ7JR101056   GM           ESCALADE             HILO‐KONA                HI
43181   1GYS4BKJ7JR104622   GM           ESCALADE             LIHUE AP KAUAI           HI
43182   1GYS4BKJ7JR111117   GM           ESCALADE             Kahului                  HI
43183   1GYS4BKJ7JR195942   GM           ESCALADE             Kahului                  HI
43184   1GYS4BKJ7JR218796   GM           ESCALADE             HONOLULU                 HI
43185   1GYS4BKJ7JR374143   GM           ESCALADE             MORRISVILLE              NC
43186   1GYS4BKJ7JR379634   GM           ESCALADE             Arlington                WA
43187   1GYS4BKJ7JR380685   GM           ESCALADE             Fontana                  CA
43188   1GYS4BKJ7JR381142   GM           ESCALADE             North Las Vegas          NV
43189   1GYS4BKJ7JR402099   GM           ESCALADE             North Dighton            MA
43190   1GYS4BKJ7KR186871   GM           ESCALADE             FORT MYERS               FL
43191   1GYS4BKJ7KR187759   GM           ESCALADE             Davie                    FL
43192   1GYS4BKJ7KR215804   GM           ESCALADE             MIAMI                    FL
43193   1GYS4BKJ7KR218945   GM           ESCALADE             LAS VEGAS                NV
43194   1GYS4BKJ7KR220565   GM           ESCALADE             Winston‐Salem            NC
43195   1GYS4BKJ7KR221098   GM           ESCALADE             MIAMI                    FL
43196   1GYS4BKJ7KR221358   GM           ESCALADE             SAN DIEGO                CA
43197   1GYS4BKJ7KR229718   GM           ESCALADE             DES PLAINES              US
43198   1GYS4BKJ7KR267742   GM           ESCALADE             LOS ANGELES              CA
43199   1GYS4BKJ7KR268342   GM           ESCALADE             SAN DIEGO                CA
43200   1GYS4BKJ7KR269913   GM           ESCALADE             SAN DIEGO                CA
43201   1GYS4BKJ7KR270690   GM           ESCALADE             ALBUQUERQUE              NM
43202   1GYS4BKJ7KR271323   GM           ESCALADE             LOS ANGELES              CA
43203   1GYS4BKJ7KR274822   GM           ESCALADE             PROVIDENCE               RI
43204   1GYS4BKJ7KR275694   GM           ESCALADE             FORT LAUDERDALE          FL
43205   1GYS4BKJ7KR275873   GM           ESCALADE             Sacramento               CA
43206   1GYS4BKJ7KR300822   GM           ESCALADE             NEW YORK CITY            NY
43207   1GYS4BKJ7KR305907   GM           ESCALADE             Detroit                  MI
43208   1GYS4BKJ7KR330502   GM           ESCALADE             HANOVER                  MD
43209   1GYS4BKJ7KR331374   GM           ESCALADE             PITTSBURGH               PA
43210   1GYS4BKJ7KR332363   GM           ESCALADE             Teterboro                NJ
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43211   1GYS4BKJ7KR332377   GM           ESCALADE             CHARLOTTE                NC
43212   1GYS4BKJ7KR333612   GM           ESCALADE             RALEIGH                  NC
43213   1GYS4BKJ7KR333836   GM           ESCALADE             STERLING                 VA
43214   1GYS4BKJ7KR335408   GM           ESCALADE             Fredericksburg           VA
43215   1GYS4BKJ7KR336980   GM           ESCALADE             RENO                     NV
43216   1GYS4BKJ7KR338373   GM           ESCALADE             BLOOMINGTON              IL
43217   1GYS4BKJ7KR340639   GM           ESCALADE             PANAMA CITY              FL
43218   1GYS4BKJ7KR381594   GM           ESCALADE             SAN DIEGO                CA
43219   1GYS4BKJ8JR109957   GM           ESCALADE             North Las Vegas          NV
43220   1GYS4BKJ8JR111787   GM           ESCALADE             Honolulu                 HI
43221   1GYS4BKJ8JR313481   GM           ESCALADE             LOS ANGELES              CA
43222   1GYS4BKJ8JR369405   GM           ESCALADE             RALEIGH                  NC
43223   1GYS4BKJ8JR379612   GM           ESCALADE             OAKLAND                  CA
43224   1GYS4BKJ8JR396510   GM           ESCALADE             MORROW                   GA
43225   1GYS4BKJ8JR400040   GM           ESCALADE             BOSTON                   MA
43226   1GYS4BKJ8JR400992   GM           ESCALADE             PORTLAND                 OR
43227   1GYS4BKJ8JR402158   GM           ESCALADE             North Dighton            MA
43228   1GYS4BKJ8KR188774   GM           ESCALADE             ALBANY                   N
43229   1GYS4BKJ8KR189858   GM           ESCALADE             NEWARK                   NJ
43230   1GYS4BKJ8KR217867   GM           ESCALADE             Manheim                  PA
43231   1GYS4BKJ8KR219358   GM           ESCALADE             DANIA                    FL
43232   1GYS4BKJ8KR227475   GM           ESCALADE             DENVER                   CO
43233   1GYS4BKJ8KR269872   GM           ESCALADE             LOS ANGELES              CA
43234   1GYS4BKJ8KR273923   GM           ESCALADE             LAS VEGAS                NV
43235   1GYS4BKJ8KR274070   GM           ESCALADE             ORLANDO                  FL
43236   1GYS4BKJ8KR275574   GM           ESCALADE             North Las Vegas          NV
43237   1GYS4BKJ8KR277275   GM           ESCALADE             DENVER                   CO
43238   1GYS4BKJ8KR278426   GM           ESCALADE             FORT LAUDERDALE          FL
43239   1GYS4BKJ8KR300196   GM           ESCALADE             RICHMOND                 VA
43240   1GYS4BKJ8KR305723   GM           ESCALADE             HARTFORD                 CT
43241   1GYS4BKJ8KR306550   GM           ESCALADE             BALTIMORE                MD
43242   1GYS4BKJ8KR334204   GM           ESCALADE             CLEVELAND                OH
43243   1GYS4BKJ8KR334848   GM           ESCALADE             LAS VEGAS                NV
43244   1GYS4BKJ8KR335417   GM           ESCALADE             Teterboro                NJ
43245   1GYS4BKJ9JR219318   GM           ESCALADE             HONOLULU                 HI
43246   1GYS4BKJ9JR361829   GM           ESCALADE             Aurora                   CO
43247   1GYS4BKJ9JR374757   GM           ESCALADE             LOS ANGELES              CA
43248   1GYS4BKJ9JR384270   GM           ESCALADE             Rio Linda                CA
43249   1GYS4BKJ9JR385001   GM           ESCALADE             Las Vegas                NV
43250   1GYS4BKJ9JR388724   GM           ESCALADE             Fontana                  CA
43251   1GYS4BKJ9JR395527   GM           ESCALADE             ORLANDO                  FL
43252   1GYS4BKJ9JR404064   GM           ESCALADE             DANIA                    FL
43253   1GYS4BKJ9KR172311   GM           ESCALADE             PANAMA CITY              FL
43254   1GYS4BKJ9KR187925   GM           ESCALADE             MIAMI                    FL
43255   1GYS4BKJ9KR189285   GM           ESCALADE             FORT MYERS               FL
43256   1GYS4BKJ9KR190145   GM           ESCALADE             WHITE PLAINS             NY
43257   1GYS4BKJ9KR191022   GM           ESCALADE             KINGSPORT‐TRI CITY       TN
43258   1GYS4BKJ9KR218266   GM           ESCALADE             Fresno                   CA
43259   1GYS4BKJ9KR218459   GM           ESCALADE             Bordentown               NJ
43260   1GYS4BKJ9KR219840   GM           ESCALADE             CHICAGO                  IL
43261   1GYS4BKJ9KR220390   GM           ESCALADE             PALM SPRINGS             CA
43262   1GYS4BKJ9KR220714   GM           ESCALADE             ORLANDO                  FL
43263   1GYS4BKJ9KR221068   GM           ESCALADE             Denver                   CO
43264   1GYS4BKJ9KR221538   GM           ESCALADE             ORLANDO                  FL
43265   1GYS4BKJ9KR267693   GM           ESCALADE             SAINT LOUIS              MO
43266   1GYS4BKJ9KR268830   GM           ESCALADE             Houston                  TX
43267   1GYS4BKJ9KR270027   GM           ESCALADE             SANTA ANA                CA
43268   1GYS4BKJ9KR273008   GM           ESCALADE             Fredericksburg           VA
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43269   1GYS4BKJ9KR274062   GM           ESCALADE             GYPSUM                   CO
43270   1GYS4BKJ9KR274613   GM           ESCALADE             Aurora                   CO
43271   1GYS4BKJ9KR277480   GM           ESCALADE             DENVER                   CO
43272   1GYS4BKJ9KR299656   GM           ESCALADE             PORTLAND                 OR
43273   1GYS4BKJ9KR302846   GM           ESCALADE             HARTFORD                 CT
43274   1GYS4BKJ9KR303172   GM           ESCALADE             NEW YORK CITY            NY
43275   1GYS4BKJ9KR331425   GM           ESCALADE             Atlanta                  GA
43276   1GYS4BKJ9KR333417   GM           ESCALADE             PITTSBURGH               PA
43277   1GYS4BKJ9KR334437   GM           ESCALADE             PHILADELPHIA             US
43278   1GYS4BKJ9KR335975   GM           ESCALADE             HANOVER                  MD
43279   1GYS4BKJ9KR338147   GM           ESCALADE             DALLAS                   TX
43280   1GYS4BKJ9KR338701   GM           ESCALADE             DES PLAINES              IL
43281   1GYS4BKJ9KR376770   GM           ESCALADE             DALLAS                   TX
43282   1GYS4BKJ9KR377496   GM           ESCALADE             SAN DIEGO                CA
43283   1GYS4BKJ9KR380978   GM           ESCALADE             KANSAS CITY              MO
43284   1GYS4BKJXHR197114   GM           ESCALADE             DANIA                    FL
43285   1GYS4BKJXJR100676   GM           ESCALADE             Kailua‐Kona              HI
43286   1GYS4BKJXJR210854   GM           ESCALADE             Aurora                   CO
43287   1GYS4BKJXJR313837   GM           ESCALADE             Kent                     WA
43288   1GYS4BKJXJR374377   GM           ESCALADE             Kent                     WA
43289   1GYS4BKJXJR375304   GM           ESCALADE             Rio Linda                CA
43290   1GYS4BKJXJR399621   GM           ESCALADE             SANTA ANA                CA
43291   1GYS4BKJXJR400346   GM           ESCALADE             Fredericksburg           VA
43292   1GYS4BKJXJR400430   GM           ESCALADE             BOSTON                   MA
43293   1GYS4BKJXJR401187   GM           ESCALADE             Manheim                  PA
43294   1GYS4BKJXJR402856   GM           ESCALADE             Houston                  TX
43295   1GYS4BKJXKR190543   GM           ESCALADE             Matteson                 IL
43296   1GYS4BKJXKR217823   GM           ESCALADE             Sacramento               CA
43297   1GYS4BKJXKR218504   GM           ESCALADE             Roanoke                  VA
43298   1GYS4BKJXKR219670   GM           ESCALADE             Sacramento               CA
43299   1GYS4BKJXKR221290   GM           ESCALADE             NEW YORK CITY            NY
43300   1GYS4BKJXKR222178   GM           ESCALADE             CHICAGO                  IL
43301   1GYS4BKJXKR228014   GM           ESCALADE             North Dighton            MA
43302   1GYS4BKJXKR268349   GM           ESCALADE             SAN DIEGO                CA
43303   1GYS4BKJXKR268626   GM           ESCALADE             Las Vegas                NV
43304   1GYS4BKJXKR270960   GM           ESCALADE             BOSTON                   MA
43305   1GYS4BKJXKR272403   GM           ESCALADE             SALT LAKE CITY           UT
43306   1GYS4BKJXKR273728   GM           ESCALADE             San Antonio              TX
43307   1GYS4BKJXKR274183   GM           ESCALADE             DENVER                   CO
43308   1GYS4BKJXKR274815   GM           ESCALADE             LOS ANGELES              CA
43309   1GYS4BKJXKR305769   GM           ESCALADE             WILMINGTON               NC
43310   1GYS4BKJXKR306582   GM           ESCALADE             MYRTLE BEACH             SC
43311   1GYS4BKJXKR330364   GM           ESCALADE             RALEIGH                  NC
43312   1GYS4BKJXKR331904   GM           ESCALADE             BOSTON                   MA
43313   1GYS4BKJXKR334267   GM           ESCALADE             CHARLOTTE                NC
43314   1GYS4BKJXKR335595   GM           ESCALADE             MILWAUKEE                WI
43315   1GYS4BKJXKR336732   GM           ESCALADE             PORTLAND                 OR
43316   1GYS4BKJXKR336794   GM           ESCALADE             BALTIMORE                MD
43317   1GYS4BKJXKR338206   GM           ESCALADE             CHICAGO                  IL
43318   1GYS4BKJXKR341610   GM           ESCALADE             LOS ANGELES              CA
43319   1GYS4BKJXKR341669   GM           ESCALADE             SAINT PAUL               MN
43320   1GYS4BKJXKR378205   GM           ESCALADE             NEW ORLEANS              LA
43321   1GYS4HKJ0JR385553   GM           ESCALADE             Atlanta                  GA
43322   1GYS4HKJ0KR159790   GM           ESCALADE             DAYTONA BEACH            FL
43323   1GYS4HKJ0KR161474   GM           ESCALADE             MIAMI                    FL
43324   1GYS4HKJ0KR189582   GM           ESCALADE             MIAMI                    FL
43325   1GYS4HKJ0KR272719   GM           ESCALADE             KNOXVILLE                TN
43326   1GYS4HKJ1JR158873   GM           ESCALADE             ORLANDO                  FL
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43327   1GYS4HKJ1JR389370   GM           ESCALADE             Raleigh                  NC
43328   1GYS4HKJ1KR159507   GM           ESCALADE             Ft. Myers                FL
43329   1GYS4HKJ1KR162522   GM           ESCALADE             DANIA BEACH              FL
43330   1GYS4HKJ1KR169986   GM           ESCALADE             RICHMOND                 VA
43331   1GYS4HKJ1KR188859   GM           ESCALADE             Detroit                  MI
43332   1GYS4HKJ1KR268422   GM           ESCALADE             KENNER                   LA
43333   1GYS4HKJ2JR308232   GM           ESCALADE             Portland                 OR
43334   1GYS4HKJ2JR312331   GM           ESCALADE             Port Newark              NJ
43335   1GYS4HKJ2JR386736   GM           ESCALADE             PHILADELPHIA             PA
43336   1GYS4HKJ2KR164389   GM           ESCALADE             Elkridge                 MD
43337   1GYS4HKJ2KR192385   GM           ESCALADE             Aurora                   CO
43338   1GYS4HKJ2KR228625   GM           ESCALADE             Miami                    FL
43339   1GYS4HKJ3KR160822   GM           ESCALADE             MIAMI                    FL
43340   1GYS4HKJ3KR166796   GM           ESCALADE             Warwick                  RI
43341   1GYS4HKJ3KR168497   GM           ESCALADE             NEW YORK CITY            NY
43342   1GYS4HKJ3KR175532   GM           ESCALADE             Newark                   NJ
43343   1GYS4HKJ3KR179256   GM           ESCALADE             JACKSONVILLE             FL
43344   1GYS4HKJ3KR182688   GM           ESCALADE             STERLING                 US
43345   1GYS4HKJ3KR223921   GM           ESCALADE             KNOXVILLE                TN
43346   1GYS4HKJ3KR228407   GM           ESCALADE             MIAMI                    FL
43347   1GYS4HKJ3KR386343   GM           ESCALADE             STERLING                 VA
43348   1GYS4HKJ4KR289104   GM           ESCALADE             NEWARK                   NJ
43349   1GYS4HKJ5JR230805   GM           ESCALADE             WOODLAND HILLS           CA
43350   1GYS4HKJ5KR159915   GM           ESCALADE             MIAMI                    FL
43351   1GYS4HKJ5KR161471   GM           ESCALADE             FORT LAUDERDALE          FL
43352   1GYS4HKJ5KR189884   GM           ESCALADE             Las Vegas                NV
43353   1GYS4HKJ5KR227792   GM           ESCALADE             Tampa                    FL
43354   1GYS4HKJ5KR268455   GM           ESCALADE             Atlanta                  GA
43355   1GYS4HKJ5KR271999   GM           ESCALADE             PHOENIX                  AZ
43356   1GYS4HKJ6JR373374   GM           ESCALADE             ORLANDO                  FL
43357   1GYS4HKJ6KR169823   GM           ESCALADE             PHILADELPHIA             PA
43358   1GYS4HKJ6KR171961   GM           ESCALADE             CLEVELAND                OH
43359   1GYS4HKJ6KR174052   GM           ESCALADE             KANSAS CITY              MO
43360   1GYS4HKJ6KR329179   GM           ESCALADE             WILMINGTON               NC
43361   1GYS4HKJ7JR130138   GM           ESCALADE             HONOLULU                 HI
43362   1GYS4HKJ7KR158782   GM           ESCALADE             MIAMI                    FL
43363   1GYS4HKJ7KR163013   GM           ESCALADE             Davie                    FL
43364   1GYS4HKJ7KR166414   GM           ESCALADE             Houston                  TX
43365   1GYS4HKJ7KR167823   GM           ESCALADE             WEST PALM BEACH          FL
43366   1GYS4HKJ7KR192267   GM           ESCALADE             DENVER                   CO
43367   1GYS4HKJ7KR267193   GM           ESCALADE             HOUSTON                  TX
43368   1GYS4HKJ7KR286178   GM           ESCALADE             NEWARK                   NJ
43369   1GYS4HKJ8JR129239   GM           ESCALADE             Honolulu                 HI
43370   1GYS4HKJ8JR307649   GM           ESCALADE             SOUTHEAST DST OFFC       OK
43371   1GYS4HKJ8JR340747   GM           ESCALADE             Kahului                  HI
43372   1GYS4HKJ8KR159780   GM           ESCALADE             Detroit                  MI
43373   1GYS4HKJ8KR166406   GM           ESCALADE             GRAND RAPIDS             MI
43374   1GYS4HKJ8KR167278   GM           ESCALADE             HAWTHORNE                NJ
43375   1GYS4HKJ8KR168074   GM           ESCALADE             ORLANDO                  FL
43376   1GYS4HKJ8KR168317   GM           ESCALADE             DANIA BEACH              FL
43377   1GYS4HKJ8KR168379   GM           ESCALADE             Houston                  TX
43378   1GYS4HKJ8KR190866   GM           ESCALADE             DENVER                   CO
43379   1GYS4HKJ8KR224904   GM           ESCALADE             Fayetteville             NC
43380   1GYS4HKJ8KR226491   GM           ESCALADE             BIRMINGHAM               AL
43381   1GYS4HKJ9JR307112   GM           ESCALADE             MIAMI                    FL
43382   1GYS4HKJ9KR162588   GM           ESCALADE             Ocoee                    FL
43383   1GYS4HKJ9KR184512   GM           ESCALADE             MIAMI                    FL
43384   1GYS4HKJ9KR186549   GM           ESCALADE             Denver                   CO
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43385   1GYS4HKJ9KR228217   GM          ESCALADE             SAINT LOUIS              MO
43386   1GYS4HKJXJR130862   GM          ESCALADE             HONOLULU                 HI
43387   1GYS4HKJXJR146527   GM          ESCALADE             HANOVER                  MD
43388   1GYS4HKJXJR308897   GM          ESCALADE             FT. LAUDERDALE           FL
43389   1GYS4HKJXJR314893   GM          ESCALADE             MEMPHIS                  TN
43390   1GYS4HKJXKR167055   GM          ESCALADE             SANTA BARBARA            CA
43391   1GYS4JKJ5LR205803   GM          ESCALADE             MIAMI                    FL
43392   1GYS4JKJ9KR224000   GM          ESCALADE             PHOENIX                  AZ
43393   1HGCR2F01GA007213   Honda       ACCORD               NORTH PAC                CA
43394   1HGCR2F30GA041900   Honda       ACCORD               PHILADELPHIA             PA
43395   1HGCR2F32GA008168   Honda       ACCORD               Cranberry Towns          PA
43396   1HGCR2F32GA164940   Honda       ACCORD               LOS ANGELES              CA
43397   1HGCR2F35GA136081   Honda       ACCORD               Manheim                  PA
43398   1HGCR2F36GA219261   Honda       ACCORD               CHICAGO                  IL
43399   1HGCR2F37GA055843   Honda       ACCORD               ORLANDO                  FL
43400   1HGCR2F38GA179409   Honda       ACCORD               Johnston                 RI
43401   1HGCR2F53GA225813   Honda       ACCORD               SAN ANTONIO              TX
43402   1HGCR2F54HA083361   Honda       ACCORD               Davie                    FL
43403   1HGCR2F56GA077768   Honda       ACCORD               PHILADELPHIA             PA
43404   1HGCR2F5XGA199534   Honda       ACCORD               BOSTON                   MA
43405   1HGCR2F69GA175573   Honda       ACCORD               PHILADELPHIA             PA
43406   1HGCV1F10JA015549   Honda       ACCORD               NEW BERN                 NC
43407   1HGCV1F10JA033453   Honda       ACCORD               LAKEWOOD                 WA
43408   1HGCV1F10JA035090   Honda       ACCORD               North Canton             OH
43409   1HGCV1F10JA232292   Honda       ACCORD               Hapeville                GA
43410   1HGCV1F10KA023426   Honda       ACCORD               Salt Lake City           UT
43411   1HGCV1F11JA009601   Honda       ACCORD               ORLANDO                  FL
43412   1HGCV1F11JA053422   Honda       ACCORD               MIAMI                    FL
43413   1HGCV1F11JA061584   Honda       ACCORD               Euless                   TX
43414   1HGCV1F11JA166416   Honda       ACCORD               Lynn                     MA
43415   1HGCV1F11JA201004   Honda       ACCORD               JACKSON                  MS
43416   1HGCV1F11JA230437   Honda       ACCORD               FORT MYERS               FL
43417   1HGCV1F12JA088891   Honda       ACCORD               WEST PALM BEACH          FL
43418   1HGCV1F12JA167722   Honda       ACCORD               Clearwater               FL
43419   1HGCV1F12JA208138   Honda       ACCORD               Rockville Centr          NY
43420   1HGCV1F12JA253211   Honda       ACCORD               JACKSON                  MS
43421   1HGCV1F13JA012399   Honda       ACCORD               NEWARK                   NJ
43422   1HGCV1F13JA019739   Honda       ACCORD               Estero                   FL
43423   1HGCV1F13JA036086   Honda       ACCORD               Rockville Centr          NY
43424   1HGCV1F13JA059951   Honda       ACCORD               Sacramento               CA
43425   1HGCV1F13JA150993   Honda       ACCORD               PHILADELPHIA             US
43426   1HGCV1F13JA171164   Honda       ACCORD               JACKSON                  MS
43427   1HGCV1F13JA221058   Honda       ACCORD               Dallas                   TX
43428   1HGCV1F13JA224946   Honda       ACCORD               Davie                    FL
43429   1HGCV1F13KA001940   Honda       ACCORD               FORT LAUDERDALE          FL
43430   1HGCV1F13KA014946   Honda       ACCORD               Birmingham               AL
43431   1HGCV1F14JA030099   Honda       ACCORD               WEST PALM BEACH          FL
43432   1HGCV1F14JA035769   Honda       ACCORD               Dallas                   TX
43433   1HGCV1F14JA079934   Honda       ACCORD               Newark                   NJ
43434   1HGCV1F14JA253775   Honda       ACCORD               Slidell                  LA
43435   1HGCV1F14KA014258   Honda       ACCORD               Estero                   FL
43436   1HGCV1F15JA005504   Honda       ACCORD               ORLANDO                  FL
43437   1HGCV1F15JA024375   Honda       ACCORD               Elkridge                 MD
43438   1HGCV1F15JA039572   Honda       ACCORD               Lynn                     MA
43439   1HGCV1F15JA184160   Honda       ACCORD               ORLANDO                  FL
43440   1HGCV1F16JA030072   Honda       ACCORD               CHICAGO                  IL
43441   1HGCV1F16JA052654   Honda       ACCORD               Medford                  NY
43442   1HGCV1F16JA096833   Honda       ACCORD               FT LAUDERDALE            FL
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43443   1HGCV1F16JA098520   Honda       ACCORD               Winston‐Salem            NC
43444   1HGCV1F17JA007156   Honda       ACCORD               Houston                  TX
43445   1HGCV1F17JA056664   Honda       ACCORD               Smithtown                NY
43446   1HGCV1F17JA075649   Honda       ACCORD               Carleton                 MI
43447   1HGCV1F17JA102705   Honda       ACCORD               Tampa                    FL
43448   1HGCV1F17JA124784   Honda       ACCORD               Tampa                    FL
43449   1HGCV1F17JA130794   Honda       ACCORD               FT LAUDERDALE            FL
43450   1HGCV1F17JA144694   Honda       ACCORD               Cleveland                OH
43451   1HGCV1F17JA216297   Honda       ACCORD               SOUTHEAST DST OFFC       OK
43452   1HGCV1F17JA250644   Honda       ACCORD               LAS VEGAS                NV
43453   1HGCV1F17KA069013   Honda       ACCORD               Portland                 OR
43454   1HGCV1F18JA006646   Honda       ACCORD               WEST PALM BEACH          FL
43455   1HGCV1F18JA044541   Honda       ACCORD               ORLANDO                  FL
43456   1HGCV1F18JA180815   Honda       ACCORD               PHOENIX                  AZ
43457   1HGCV1F18JA216518   Honda       ACCORD               PENSACOLA                FL
43458   1HGCV1F18KA001920   Honda       ACCORD               Orlando                  FL
43459   1HGCV1F19JA001763   Honda       ACCORD               WEST PALM BEACH          FL
43460   1HGCV1F19JA143109   Honda       ACCORD               NEW BERN                 NC
43461   1HGCV1F19JA144664   Honda       ACCORD               Hebron                   KY
43462   1HGCV1F19JA159066   Honda       ACCORD               FORT MYERS               FL
43463   1HGCV1F19JA179642   Honda       ACCORD               PHOENIX                  AZ
43464   1HGCV1F19KA006138   Honda       ACCORD               N. Palm Beach            FL
43465   1HGCV1F19KA008892   Honda       ACCORD               Estero                   FL
43466   1HGCV1F19KA172921   Honda       ACCORD               SAN FRANCISCO            CA
43467   1HGCV1F1XJA012349   Honda       ACCORD               ORLANDO                  FL
43468   1HGCV1F1XJA196613   Honda       ACCORD               Johnston                 RI
43469   1HGCV1F1XJA221137   Honda       ACCORD               Phoenix                  AZ
43470   1HGCV1F32JA207962   Honda       ACCORD               ALEXANDRIA               LA
43471   1HGCV1F34JA207820   Honda       ACCORD               SHREVEPORT               LA
43472   1LN6L9PK0J5603429   Ford        CONTINENTAL          Pasadena                 CA
43473   1LN6L9PK0K5602573   Ford        CONTINENTAL          Hebron                   KY
43474   1LN6L9PK0K5602623   Ford        CONTINENTAL          Elkridge                 MD
43475   1LN6L9PK0K5602637   Ford        CONTINENTAL          LAS VEGAS                NV
43476   1LN6L9PK0K5602640   Ford        CONTINENTAL          SACRAMENTO               CA
43477   1LN6L9PK0K5606591   Ford        CONTINENTAL          ORLANDO                  FL
43478   1LN6L9PK0K5607093   Ford        CONTINENTAL          MILWAUKEE                WI
43479   1LN6L9PK1J5603388   Ford        CONTINENTAL          Schaumburg               IL
43480   1LN6L9PK1J5605917   Ford        CONTINENTAL          SAN ANTONIO              TX
43481   1LN6L9PK1K5602579   Ford        CONTINENTAL          SAINT PAUL               MN
43482   1LN6L9PK1K5602582   Ford        CONTINENTAL          PHOENIX                  AZ
43483   1LN6L9PK1K5602596   Ford        CONTINENTAL          HANOVER                  MD
43484   1LN6L9PK1K5602601   Ford        CONTINENTAL          SAN ANTONIO              TX
43485   1LN6L9PK1K5602629   Ford        CONTINENTAL          LOS ANGELES AP           CA
43486   1LN6L9PK1K5606597   Ford        CONTINENTAL          Warminster               PA
43487   1LN6L9PK2K5602588   Ford        CONTINENTAL          LOS ANGELES              CA
43488   1LN6L9PK2K5602591   Ford        CONTINENTAL          PHILADELPHIA             PA
43489   1LN6L9PK2K5602638   Ford        CONTINENTAL          LAS VEGAS                NV
43490   1LN6L9PK2K5602641   Ford        CONTINENTAL          SAN FRANCISCO            CA
43491   1LN6L9PK2K5606589   Ford        CONTINENTAL          Slidell                  LA
43492   1LN6L9PK2K5606592   Ford        CONTINENTAL          Elkridge                 MD
43493   1LN6L9PK3J5602324   Ford        CONTINENTAL          SAN ANTONIO              TX
43494   1LN6L9PK3J5603358   Ford        CONTINENTAL          LAS VEGAS                NV
43495   1LN6L9PK3J5603361   Ford        CONTINENTAL          ONTARIO                  CA
43496   1LN6L9PK3J5605918   Ford        CONTINENTAL          SAN ANTONIO              TX
43497   1LN6L9PK3K5602549   Ford        CONTINENTAL          BALTIMORE                MD
43498   1LN6L9PK3K5602552   Ford        CONTINENTAL          FORT LAUDERDALE          FL
43499   1LN6L9PK3K5602583   Ford        CONTINENTAL          SANTA ANA                CA
43500   1LN6L9PK3K5602602   Ford        CONTINENTAL          SAN ANTONIO              TX
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43501   1LN6L9PK3K5602616   Ford         CONTINENTAL          SAN JOSE                 CA
43502   1LN6L9PK3K5602650   Ford         CONTINENTAL          BUFFALO                  NY
43503   1LN6L9PK3K5606598   Ford         CONTINENTAL          BUFFALO                  NY
43504   1LN6L9PK4K5602558   Ford         CONTINENTAL          JACKSONVILLE             FL
43505   1LN6L9PK4K5602575   Ford         CONTINENTAL          LOS ANGELES              CA
43506   1LN6L9PK4K5602608   Ford         CONTINENTAL          SAN ANTONIO              TX
43507   1LN6L9PK4K5602642   Ford         CONTINENTAL          LOS ANGELES              CA
43508   1LN6L9PK4K5606593   Ford         CONTINENTAL          BOSTON                   MA
43509   1LN6L9PK5J5605922   Ford         CONTINENTAL          SAN ANTONIO              TX
43510   1LN6L9PK5K5602584   Ford         CONTINENTAL          PHOENIX                  AZ
43511   1LN6L9PK5K5602598   Ford         CONTINENTAL          PORTLAND                 OR
43512   1LN6L9PK5K5602603   Ford         CONTINENTAL          SAN ANTONIO              TX
43513   1LN6L9PK5K5602617   Ford         CONTINENTAL          LOS ANGELES              CA
43514   1LN6L9PK5K5602651   Ford         CONTINENTAL          STERLING                 VA
43515   1LN6L9PK5K5607090   Ford         CONTINENTAL          NEW BERN                 NC
43516   1LN6L9PK6J5603368   Ford         CONTINENTAL          SANTA ANA                CA
43517   1LN6L9PK6J5605914   Ford         CONTINENTAL          Fresno                   CA
43518   1LN6L9PK6K5602559   Ford         CONTINENTAL          Raleigh                  NC
43519   1LN6L9PK6K5602593   Ford         CONTINENTAL          RICHMOND                 VA
43520   1LN6L9PK6K5602609   Ford         CONTINENTAL          SAN ANTONIO              TX
43521   1LN6L9PK6K5602612   Ford         CONTINENTAL          ORLANDO                  FL
43522   1LN6L9PK6K5602626   Ford         CONTINENTAL          LOS ANGELES              CA
43523   1LN6L9PK6K5602643   Ford         CONTINENTAL          JACKSONVILLE             FL
43524   1LN6L9PK6K5606594   Ford         CONTINENTAL          PHILADELPHIA             PA
43525   1LN6L9PK7J5602343   Ford         CONTINENTAL          El Paso                  TX
43526   1LN6L9PK7J5603427   Ford         CONTINENTAL          LOS ANGELES              CA
43527   1LN6L9PK7J5605923   Ford         CONTINENTAL          SAN ANTONIO              TX
43528   1LN6L9PK7K5602604   Ford         CONTINENTAL          PHOENIX                  AZ
43529   1LN6L9PK7K5602621   Ford         CONTINENTAL          WARWICK                  RI
43530   1LN6L9PK7K5602635   Ford         CONTINENTAL          LOS ANGELES              CA
43531   1LN6L9PK7K5602649   Ford         CONTINENTAL          MIAMI                    FL
43532   1LN6L9PK7K5607091   Ford         CONTINENTAL          CLEVELAND                OH
43533   1LN6L9PK8J5603419   Ford         CONTINENTAL          Seattle                  WA
43534   1LN6L9PK8K5602563   Ford         CONTINENTAL          FORT LAUDERDALE          FL
43535   1LN6L9PK8K5602577   Ford         CONTINENTAL          LOS ANGELES              CA
43536   1LN6L9PK8K5602580   Ford         CONTINENTAL          LOS ANGELES AP           CA
43537   1LN6L9PK8K5602613   Ford         CONTINENTAL          SAN ANTONIO              TX
43538   1LN6L9PK8K5602627   Ford         CONTINENTAL          SAN JOSE                 CA
43539   1LN6L9PK8K5602630   Ford         CONTINENTAL          ONTARIO                  CA
43540   1LN6L9PK8K5602644   Ford         CONTINENTAL          FORT MYERS               FL
43541   1LN6L9PK9J5602344   Ford         CONTINENTAL          WOODLAND HILLS           CA
43542   1LN6L9PK9K5602569   Ford         CONTINENTAL          SAN ANTONIO              TX
43543   1LN6L9PK9K5602586   Ford         CONTINENTAL          SEATAC                   WA
43544   1LN6L9PK9K5602605   Ford         CONTINENTAL          SAN ANTONIO              TX
43545   1LN6L9PK9K5602619   Ford         CONTINENTAL          MIAMI                    FL
43546   1LN6L9PK9K5602636   Ford         CONTINENTAL          LAS VEGAS                NV
43547   1LN6L9PK9K5606590   Ford         CONTINENTAL          STERLING                 VA
43548   1LN6L9PKXJ5603437   Ford         CONTINENTAL          ORLANDO                  FL
43549   1LN6L9PKXJ5603440   Ford         CONTINENTAL          TAMPA                    FL
43550   1LN6L9PKXK5602547   Ford         CONTINENTAL          NEWARK                   NJ
43551   1LN6L9PKXK5602564   Ford         CONTINENTAL          SAN ANTONIO              TX
43552   1LN6L9PKXK5602578   Ford         CONTINENTAL          LAS VEGAS                NV
43553   1LN6L9PKXK5602595   Ford         CONTINENTAL          BIRMINGHAN               AL
43554   1LN6L9PKXK5602600   Ford         CONTINENTAL          SAN ANTONIO              TX
43555   1LN6L9PKXK5602628   Ford         CONTINENTAL          Riverside                CA
43556   1LN6L9PKXK5602631   Ford         CONTINENTAL          SANTA ANA                CA
43557   1LN6L9PKXK5602645   Ford         CONTINENTAL          DALLAS                   TX
43558   1LN6L9PKXK5606596   Ford         CONTINENTAL          BOSTON                   MA
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43559   1LN6L9VKXJ5606521   Ford        CONTINENTAL          BUFFALO                  NY
43560   1N4AA6AP0JC369592   Nissan      MAXIMA               WEST PALM BEACH          FL
43561   1N4AA6AP0JC373433   Nissan      MAXIMA               North Las Vegas          NV
43562   1N4AA6AP0JC374968   Nissan      MAXIMA               LOS ANGELES              CA
43563   1N4AA6AP0JC375733   Nissan      MAXIMA               LAS VEGAS                NV
43564   1N4AA6AP0JC376221   Nissan      MAXIMA               TRACY                    CA
43565   1N4AA6AP0JC376543   Nissan      MAXIMA               West Palm Beach          FL
43566   1N4AA6AP0JC377112   Nissan      MAXIMA               KAUAI                    HI
43567   1N4AA6AP0JC377224   Nissan      MAXIMA               MIAMI                    FL
43568   1N4AA6AP0JC378468   Nissan      MAXIMA               PALM SPRINGS             CA
43569   1N4AA6AP0JC378857   Nissan      MAXIMA               WOODLAND HILLS           CA
43570   1N4AA6AP0JC378986   Nissan      MAXIMA               SAN JOSE                 CA
43571   1N4AA6AP0JC381435   Nissan      MAXIMA               BIRMINGHAM               AL
43572   1N4AA6AP0JC382701   Nissan      MAXIMA               Reno                     NV
43573   1N4AA6AP0JC382942   Nissan      MAXIMA               FRESNO                   CA
43574   1N4AA6AP0JC383380   Nissan      MAXIMA               Kent                     WA
43575   1N4AA6AP0JC384660   Nissan      MAXIMA               Carleton                 MI
43576   1N4AA6AP0JC385503   Nissan      MAXIMA               Hilo                     HI
43577   1N4AA6AP0JC385663   Nissan      MAXIMA               DENVER                   CO
43578   1N4AA6AP0JC385680   Nissan      MAXIMA               TRACY                    CA
43579   1N4AA6AP0JC386103   Nissan      MAXIMA               LAS VEGAS                NV
43580   1N4AA6AP0JC386148   Nissan      MAXIMA               SALT LAKE CITY           UT
43581   1N4AA6AP0JC386182   Nissan      MAXIMA               PORTLAND                 OR
43582   1N4AA6AP0JC386392   Nissan      MAXIMA               Houston                  TX
43583   1N4AA6AP0JC386599   Nissan      MAXIMA               KALAOA                   HI
43584   1N4AA6AP0JC386697   Nissan      MAXIMA               KAILUA‐KONA              HI
43585   1N4AA6AP0JC387543   Nissan      MAXIMA               HANOVER                  MD
43586   1N4AA6AP0JC387722   Nissan      MAXIMA               LOS ANGELES              CA
43587   1N4AA6AP0JC387803   Nissan      MAXIMA               SAN DIEGO                CA
43588   1N4AA6AP0JC387820   Nissan      MAXIMA               MIAMI                    FL
43589   1N4AA6AP0JC387932   Nissan      MAXIMA               TUCSON                   AZ
43590   1N4AA6AP0JC388112   Nissan      MAXIMA               SACRAMENTO               CA
43591   1N4AA6AP0JC388224   Nissan      MAXIMA               LAS VEGAS                NV
43592   1N4AA6AP0JC388255   Nissan      MAXIMA               SEATTLE                  WA
43593   1N4AA6AP0JC388594   Nissan      MAXIMA               LAS VEGAS                NV
43594   1N4AA6AP0JC388739   Nissan      MAXIMA               LAS VEGAS                NV
43595   1N4AA6AP0JC388790   Nissan      MAXIMA               HILO                     HI
43596   1N4AA6AP0JC389499   Nissan      MAXIMA               ORANGE COUNTY            CA
43597   1N4AA6AP0JC391527   Nissan      MAXIMA               SALT LAKE CITY           US
43598   1N4AA6AP0JC391592   Nissan      MAXIMA               SALT LAKE CITY           US
43599   1N4AA6AP0JC391740   Nissan      MAXIMA               PALM SPRINGS             CA
43600   1N4AA6AP0JC392029   Nissan      MAXIMA               SALT LAKE CITY           US
43601   1N4AA6AP0JC392435   Nissan      MAXIMA               SEATAC                   WA
43602   1N4AA6AP0JC392757   Nissan      MAXIMA               PHOENIX                  AZ
43603   1N4AA6AP0JC392936   Nissan      MAXIMA               FRESNO                   CA
43604   1N4AA6AP0JC394217   Nissan      MAXIMA
43605   1N4AA6AP0JC394234   Nissan      MAXIMA               SAN JOSE                 CA
43606   1N4AA6AP0JC394301   Nissan      MAXIMA               COLUMBIA                 SC
43607   1N4AA6AP0JC394363   Nissan      MAXIMA               Ft. Myers                FL
43608   1N4AA6AP0JC394377   Nissan      MAXIMA               ONTARIO                  CA
43609   1N4AA6AP0JC394380   Nissan      MAXIMA               NEWPORT BEACH            CA
43610   1N4AA6AP0JC394573   Nissan      MAXIMA               PHOENIX                  AZ
43611   1N4AA6AP1JC373781   Nissan      MAXIMA               SANTA BARBARA            CA
43612   1N4AA6AP1JC375837   Nissan      MAXIMA               Phoenix                  AZ
43613   1N4AA6AP1JC377684   Nissan      MAXIMA               ONTARIO, RIVERSIDE       CA
43614   1N4AA6AP1JC378172   Nissan      MAXIMA               MIAMI                    FL
43615   1N4AA6AP1JC378429   Nissan      MAXIMA               ATLANTA                  GA
43616   1N4AA6AP1JC378835   Nissan      MAXIMA               Fredericksburg           VA
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43617   1N4AA6AP1JC382349   Nissan      MAXIMA               Santa Clara              CA
43618   1N4AA6AP1JC382352   Nissan      MAXIMA               SAN DIEGO                CA
43619   1N4AA6AP1JC382691   Nissan      MAXIMA               LOS ANGELES              CA
43620   1N4AA6AP1JC382755   Nissan      MAXIMA               PALM SPRINGS             CA
43621   1N4AA6AP1JC385476   Nissan      MAXIMA               SAN FRANCISCO            CA
43622   1N4AA6AP1JC385560   Nissan      MAXIMA               HILO                     HI
43623   1N4AA6AP1JC385655   Nissan      MAXIMA               LOS ANGELES              CA
43624   1N4AA6AP1JC385669   Nissan      MAXIMA               Chicago                  IL
43625   1N4AA6AP1JC385686   Nissan      MAXIMA               Norwalk                  CA
43626   1N4AA6AP1JC385705   Nissan      MAXIMA               Hilo                     HI
43627   1N4AA6AP1JC386434   Nissan      MAXIMA               Hilo                     HI
43628   1N4AA6AP1JC386448   Nissan      MAXIMA               BURBANK                  CA
43629   1N4AA6AP1JC386711   Nissan      MAXIMA               LOS ANGELES              CA
43630   1N4AA6AP1JC386773   Nissan      MAXIMA               SOUTH SAN FRANC          CA
43631   1N4AA6AP1JC387308   Nissan      MAXIMA               BIRMINGHAM               AL
43632   1N4AA6AP1JC387597   Nissan      MAXIMA               Fontana                  CA
43633   1N4AA6AP1JC387728   Nissan      MAXIMA               BOSTON                   MA
43634   1N4AA6AP1JC388166   Nissan      MAXIMA               LAS VEGAS                NV
43635   1N4AA6AP1JC388233   Nissan      MAXIMA               Maple Grove              MN
43636   1N4AA6AP1JC389396   Nissan      MAXIMA               SEATAC                   WA
43637   1N4AA6AP1JC389494   Nissan      MAXIMA               Sacramento               CA
43638   1N4AA6AP1JC389723   Nissan      MAXIMA               LOS ANGELES              CA
43639   1N4AA6AP1JC391732   Nissan      MAXIMA               HAYWARD                  CA
43640   1N4AA6AP1JC391844   Nissan      MAXIMA               PALM SPRINGS             CA
43641   1N4AA6AP1JC392525   Nissan      MAXIMA               LOS ANGELES              CA
43642   1N4AA6AP1JC392900   Nissan      MAXIMA               LOS ANGELES              CA
43643   1N4AA6AP1JC392928   Nissan      MAXIMA               LOS ANGELES AP           CA
43644   1N4AA6AP1JC393934   Nissan      MAXIMA               SAN DIEGO                CA
43645   1N4AA6AP1JC394212   Nissan      MAXIMA               PHOENIX                  AZ
43646   1N4AA6AP2HC431536   Nissan      MAXIMA               Fontana                  CA
43647   1N4AA6AP2JC368895   Nissan      MAXIMA               Miami                    FL
43648   1N4AA6AP2JC369027   Nissan      MAXIMA               BOSTON                   MA
43649   1N4AA6AP2JC374745   Nissan      MAXIMA               Scottsdale               AZ
43650   1N4AA6AP2JC374793   Nissan      MAXIMA               KAILUA‐KONA              HI
43651   1N4AA6AP2JC374891   Nissan      MAXIMA               PORTLAND                 OR
43652   1N4AA6AP2JC377368   Nissan      MAXIMA               KAHULUI                  HI
43653   1N4AA6AP2JC378312   Nissan      MAXIMA               FOREST PARK              GA
43654   1N4AA6AP2JC378455   Nissan      MAXIMA               LIHUE AP KAUAI           HI
43655   1N4AA6AP2JC378665   Nissan      MAXIMA               KAUAI                    HI
43656   1N4AA6AP2JC378990   Nissan      MAXIMA               Aurora                   CO
43657   1N4AA6AP2JC382540   Nissan      MAXIMA               LOS ANGELES              CA
43658   1N4AA6AP2JC382621   Nissan      MAXIMA               FRESNO                   CA
43659   1N4AA6AP2JC385423   Nissan      MAXIMA               WAIMEA                   HI
43660   1N4AA6AP2JC385440   Nissan      MAXIMA               Hilo                     HI
43661   1N4AA6AP2JC385888   Nissan      MAXIMA               HILO                     HI
43662   1N4AA6AP2JC385891   Nissan      MAXIMA               Seattle                  WA
43663   1N4AA6AP2JC386264   Nissan      MAXIMA               LAS VEGAS                NV
43664   1N4AA6AP2JC386314   Nissan      MAXIMA               SAN FRANCISCO            CA
43665   1N4AA6AP2JC386359   Nissan      MAXIMA               Hilo                     HI
43666   1N4AA6AP2JC386362   Nissan      MAXIMA               HILO                     HI
43667   1N4AA6AP2JC386460   Nissan      MAXIMA               Hilo                     HI
43668   1N4AA6AP2JC386538   Nissan      MAXIMA               Hilo                     HI
43669   1N4AA6AP2JC386555   Nissan      MAXIMA               GARDENA                  CA
43670   1N4AA6AP2JC387303   Nissan      MAXIMA               PALM SPRINGS             CA
43671   1N4AA6AP2JC387401   Nissan      MAXIMA               LOS ANGELES              CA
43672   1N4AA6AP2JC387513   Nissan      MAXIMA               TRACY                    CA
43673   1N4AA6AP2JC387592   Nissan      MAXIMA               ONTARIO                  CA
43674   1N4AA6AP2JC387687   Nissan      MAXIMA               ST Paul                  MN
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43675   1N4AA6AP2JC387995   Nissan      MAXIMA               LOS ANGELES AP           CA
43676   1N4AA6AP2JC388001   Nissan      MAXIMA               Los Angeles              CA
43677   1N4AA6AP2JC388063   Nissan      MAXIMA               Palm Springs             CA
43678   1N4AA6AP2JC388127   Nissan      MAXIMA               INDIANAPOLIS             IN
43679   1N4AA6AP2JC388533   Nissan      MAXIMA               ONTARIO                  CA
43680   1N4AA6AP2JC388614   Nissan      MAXIMA               Hayward                  CA
43681   1N4AA6AP2JC388788   Nissan      MAXIMA               Sacramento               CA
43682   1N4AA6AP2JC388886   Nissan      MAXIMA               Lake Elsinore            CA
43683   1N4AA6AP2JC389536   Nissan      MAXIMA               SACRAMENTO               CA
43684   1N4AA6AP2JC391643   Nissan      MAXIMA               SALT LAKE CITY           US
43685   1N4AA6AP2JC391688   Nissan      MAXIMA               LOS ANGELES              CA
43686   1N4AA6AP2JC391805   Nissan      MAXIMA               Tolleson                 AZ
43687   1N4AA6AP2JC392260   Nissan      MAXIMA               PHOENIX                  AZ
43688   1N4AA6AP2JC392372   Nissan      MAXIMA               SAN JOSE                 CA
43689   1N4AA6AP2JC392534   Nissan      MAXIMA               MARIETTA                 GA
43690   1N4AA6AP2JC392632   Nissan      MAXIMA               SALT LAKE CITY           UT
43691   1N4AA6AP2JC392906   Nissan      MAXIMA               Omaha                    NE
43692   1N4AA6AP2JC393005   Nissan      MAXIMA               LOS ANGELES              CA
43693   1N4AA6AP2JC393103   Nissan      MAXIMA               BURBANK                  CA
43694   1N4AA6AP2JC394087   Nissan      MAXIMA               LOS ANGELES              CA
43695   1N4AA6AP2JC394333   Nissan      MAXIMA               Anaheim                  CA
43696   1N4AA6AP2JC394378   Nissan      MAXIMA               Roseville                CA
43697   1N4AA6AP2JC394400   Nissan      MAXIMA               PHOENIX                  AZ
43698   1N4AA6AP3HC430332   Nissan      MAXIMA               CHICAGO                  IL
43699   1N4AA6AP3JC373491   Nissan      MAXIMA               Hayward                  CA
43700   1N4AA6AP3JC373569   Nissan      MAXIMA               OAKLAND                  CA
43701   1N4AA6AP3JC374785   Nissan      MAXIMA               Burien                   WA
43702   1N4AA6AP3JC377038   Nissan      MAXIMA               Anaheim                  CA
43703   1N4AA6AP3JC377203   Nissan      MAXIMA               KAHULUI                  HI
43704   1N4AA6AP3JC377489   Nissan      MAXIMA               North Dighton            MA
43705   1N4AA6AP3JC378920   Nissan      MAXIMA               KAHULUI                  HI
43706   1N4AA6AP3JC382031   Nissan      MAXIMA               PALM SPRINGS             CA
43707   1N4AA6AP3JC383017   Nissan      MAXIMA               SAN DIEGO                CA
43708   1N4AA6AP3JC383311   Nissan      MAXIMA               KANSAS CITY              MO
43709   1N4AA6AP3JC384183   Nissan      MAXIMA               SALT LAKE CITY           US
43710   1N4AA6AP3JC385415   Nissan      MAXIMA               KALAOA                   HI
43711   1N4AA6AP3JC386032   Nissan      MAXIMA               Hilo                     HI
43712   1N4AA6AP3JC386063   Nissan      MAXIMA               WAIMEA                   HI
43713   1N4AA6AP3JC386712   Nissan      MAXIMA               PHOENIX                  AZ
43714   1N4AA6AP3JC387052   Nissan      MAXIMA               ONTARIO                  CA
43715   1N4AA6AP3JC387116   Nissan      MAXIMA               SEATAC                   WA
43716   1N4AA6AP3JC387522   Nissan      MAXIMA               LOS ANGELES              CA
43717   1N4AA6AP3JC388072   Nissan      MAXIMA               SACRAMENTO               CA
43718   1N4AA6AP3JC388086   Nissan      MAXIMA               BURBANK                  CA
43719   1N4AA6AP3JC388184   Nissan      MAXIMA               Union City               GA
43720   1N4AA6AP3JC391537   Nissan      MAXIMA               SOUTH SAN FRANC          CA
43721   1N4AA6AP3JC391635   Nissan      MAXIMA               PHOENIX                  AZ
43722   1N4AA6AP3JC391652   Nissan      MAXIMA               SEATAC                   WA
43723   1N4AA6AP3JC392073   Nissan      MAXIMA               FRESNO                   CA
43724   1N4AA6AP3JC392798   Nissan      MAXIMA               SEATTLE                  WA
43725   1N4AA6AP3JC392817   Nissan      MAXIMA               Pasadena                 CA
43726   1N4AA6AP3JC392896   Nissan      MAXIMA               LAS VEGAS                NV
43727   1N4AA6AP3JC394406   Nissan      MAXIMA               Reno                     NV
43728   1N4AA6AP4HC425141   Nissan      MAXIMA               DES PLAINES              US
43729   1N4AA6AP4HC432025   Nissan      MAXIMA               Portland                 OR
43730   1N4AA6AP4JC373547   Nissan      MAXIMA               OAKLAND                  CA
43731   1N4AA6AP4JC376643   Nissan      MAXIMA               LOS ANGELES              CA
43732   1N4AA6AP4JC376772   Nissan      MAXIMA               Detroit                  MI
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43733   1N4AA6AP4JC377596   Nissan      MAXIMA               WARWICK                  RI
43734   1N4AA6AP4JC379039   Nissan      MAXIMA               KAHULUI                  HI
43735   1N4AA6AP4JC382409   Nissan      MAXIMA               SAN DIEGO                CA
43736   1N4AA6AP4JC385505   Nissan      MAXIMA               BURBANK                  CA
43737   1N4AA6AP4JC385939   Nissan      MAXIMA               Hayward                  CA
43738   1N4AA6AP4JC386508   Nissan      MAXIMA               S. San Francisc          CA
43739   1N4AA6AP4JC386704   Nissan      MAXIMA               SACRAMENTO               CA
43740   1N4AA6AP4JC386816   Nissan      MAXIMA               SAN DIEGO                CA
43741   1N4AA6AP4JC387495   Nissan      MAXIMA               SAN DIEGO                CA
43742   1N4AA6AP4JC387884   Nissan      MAXIMA               Rio Linda                CA
43743   1N4AA6AP4JC388100   Nissan      MAXIMA               ORANGE COUNTY            CA
43744   1N4AA6AP4JC388114   Nissan      MAXIMA               SACRAMENTO               CA
43745   1N4AA6AP4JC388131   Nissan      MAXIMA               SACRAMENTO               CA
43746   1N4AA6AP4JC388145   Nissan      MAXIMA               HANOVER                  MD
43747   1N4AA6AP4JC388176   Nissan      MAXIMA               SAN FRANCISCO            CA
43748   1N4AA6AP4JC389084   Nissan      MAXIMA               ONTARIO                  CA
43749   1N4AA6AP4JC391546   Nissan      MAXIMA               SANTA ANA                CA
43750   1N4AA6AP4JC391675   Nissan      MAXIMA               BURBANK                  CA
43751   1N4AA6AP4JC391725   Nissan      MAXIMA               SAN DIEGO                CA
43752   1N4AA6AP4JC391885   Nissan      MAXIMA               MONTEREY                 CA
43753   1N4AA6AP4JC392096   Nissan      MAXIMA               BURBANK                  CA
43754   1N4AA6AP4JC392230   Nissan      MAXIMA               SAN FRANCISCO            CA
43755   1N4AA6AP4JC392244   Nissan      MAXIMA               LOS ANGELES              CA
43756   1N4AA6AP4JC392356   Nissan      MAXIMA               SAN JOSE                 CA
43757   1N4AA6AP4JC392938   Nissan      MAXIMA               Lake Elsinore            CA
43758   1N4AA6AP4JC392955   Nissan      MAXIMA               SAN DIEGO                CA
43759   1N4AA6AP4JC393068   Nissan      MAXIMA               Hayward                  CA
43760   1N4AA6AP4JC394415   Nissan      MAXIMA               WOODLAND HILLS           CA
43761   1N4AA6AP5HC426816   Nissan      MAXIMA               SYRACUSE                 NY
43762   1N4AA6AP5JC373489   Nissan      MAXIMA               SAN JOSE                 CA
43763   1N4AA6AP5JC374786   Nissan      MAXIMA               Kent                     WA
43764   1N4AA6AP5JC374805   Nissan      MAXIMA               LAS VEGAS                NV
43765   1N4AA6AP5JC377705   Nissan      MAXIMA               PLEASANTON               CA
43766   1N4AA6AP5JC378210   Nissan      MAXIMA               Manheim                  PA
43767   1N4AA6AP5JC378367   Nissan      MAXIMA               BURLINGAME               CA
43768   1N4AA6AP5JC378451   Nissan      MAXIMA               Anaheim                  CA
43769   1N4AA6AP5JC380023   Nissan      MAXIMA               ORLANDO                  FL
43770   1N4AA6AP5JC380703   Nissan      MAXIMA               Dallas                   TX
43771   1N4AA6AP5JC381169   Nissan      MAXIMA               North Las Vegas          NV
43772   1N4AA6AP5JC382516   Nissan      MAXIMA               BURBANK                  CA
43773   1N4AA6AP5JC386632   Nissan      MAXIMA               WAIMEA                   HI
43774   1N4AA6AP5JC386744   Nissan      MAXIMA               HILO                     HI
43775   1N4AA6AP5JC386968   Nissan      MAXIMA               SAN JOSE                 CA
43776   1N4AA6AP5JC387201   Nissan      MAXIMA               OAKLAND                  CA
43777   1N4AA6AP5JC387358   Nissan      MAXIMA               Ontario                  CA
43778   1N4AA6AP5JC387800   Nissan      MAXIMA               LAS VEGAS                NV
43779   1N4AA6AP5JC387876   Nissan      MAXIMA               FAYETTEVILLE             GA
43780   1N4AA6AP5JC388168   Nissan      MAXIMA               SACRAMENTO               CA
43781   1N4AA6AP5JC388266   Nissan      MAXIMA               SANTA CLARA              CA
43782   1N4AA6AP5JC388445   Nissan      MAXIMA               PHILADELPHIA             US
43783   1N4AA6AP5JC388476   Nissan      MAXIMA               LOS ANGELES              CA
43784   1N4AA6AP5JC388736   Nissan      MAXIMA               Fresno                   CA
43785   1N4AA6AP5JC388915   Nissan      MAXIMA               SAC                      CA
43786   1N4AA6AP5JC389093   Nissan      MAXIMA               LOS ANGELES              CA
43787   1N4AA6AP5JC391507   Nissan      MAXIMA               ORANGE COUNTY            CA
43788   1N4AA6AP5JC391555   Nissan      MAXIMA               LAS VEGAS                NV
43789   1N4AA6AP5JC391569   Nissan      MAXIMA               PALM SPRINGS             CA
43790   1N4AA6AP5JC391782   Nissan      MAXIMA               PHOENIX                  AZ
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43791   1N4AA6AP5JC392009   Nissan      MAXIMA               LAS VEGAS                NV
43792   1N4AA6AP5JC392334   Nissan      MAXIMA               SAN FRANCISCO            CA
43793   1N4AA6AP5JC392379   Nissan      MAXIMA               ONTARIO, RIVERSIDE       CA
43794   1N4AA6AP5JC392463   Nissan      MAXIMA               Kent                     WA
43795   1N4AA6AP5JC392849   Nissan      MAXIMA               ORLANDO                  FL
43796   1N4AA6AP5JC392947   Nissan      MAXIMA               PHOENIX                  AZ
43797   1N4AA6AP5JC393189   Nissan      MAXIMA               Ontario                  CA
43798   1N4AA6AP5JC394049   Nissan      MAXIMA               SAN JOSE                 CA
43799   1N4AA6AP5JC394133   Nissan      MAXIMA               LOS ANGELES              CA
43800   1N4AA6AP5JC394147   Nissan      MAXIMA               DENVER                   CO
43801   1N4AA6AP5JC394150   Nissan      MAXIMA               Seattle                  WA
43802   1N4AA6AP5JC394181   Nissan      MAXIMA               Lake Elsinore            CA
43803   1N4AA6AP5JC394200   Nissan      MAXIMA               Riverside                CA
43804   1N4AA6AP5JC394214   Nissan      MAXIMA               OAKLAND                  CA
43805   1N4AA6AP5JC394651   Nissan      MAXIMA               Stockton                 CA
43806   1N4AA6AP6HC425092   Nissan      MAXIMA               NEWARK                   NJ
43807   1N4AA6AP6JC374750   Nissan      MAXIMA               Burien                   WA
43808   1N4AA6AP6JC375204   Nissan      MAXIMA               KANSAS CITY              MO
43809   1N4AA6AP6JC378412   Nissan      MAXIMA               Fontana                  CA
43810   1N4AA6AP6JC378930   Nissan      MAXIMA               FORT MYERS               FL
43811   1N4AA6AP6JC380709   Nissan      MAXIMA               LOS ANGELES              CA
43812   1N4AA6AP6JC381469   Nissan      MAXIMA               Smithtown                NY
43813   1N4AA6AP6JC383285   Nissan      MAXIMA               Los Angeles              CA
43814   1N4AA6AP6JC385750   Nissan      MAXIMA               Hilo                     HI
43815   1N4AA6AP6JC386025   Nissan      MAXIMA               Portland                 OR
43816   1N4AA6AP6JC386199   Nissan      MAXIMA               HILO                     HI
43817   1N4AA6AP6JC386641   Nissan      MAXIMA               SEATAC                   WA
43818   1N4AA6AP6JC386848   Nissan      MAXIMA               Ventura                  CA
43819   1N4AA6AP6JC386851   Nissan      MAXIMA               Salt Lake City           UT
43820   1N4AA6AP6JC387031   Nissan      MAXIMA               BURBANK                  CA
43821   1N4AA6AP6JC387174   Nissan      MAXIMA               Newark                   NJ
43822   1N4AA6AP6JC387255   Nissan      MAXIMA               LOS ANGELES              CA
43823   1N4AA6AP6JC387434   Nissan      MAXIMA               TRACY                    CA
43824   1N4AA6AP6JC387935   Nissan      MAXIMA               PHOENIX                  AZ
43825   1N4AA6AP6JC388003   Nissan      MAXIMA               NEW YORK CITY            NY
43826   1N4AA6AP6JC388020   Nissan      MAXIMA               Atlanta                  GA
43827   1N4AA6AP6JC388048   Nissan      MAXIMA               North Las Vegas          NV
43828   1N4AA6AP6JC388311   Nissan      MAXIMA               PHOENIX                  AZ
43829   1N4AA6AP6JC388339   Nissan      MAXIMA               MIAMI                    FL
43830   1N4AA6AP6JC388454   Nissan      MAXIMA               SAN JOSE                 CA
43831   1N4AA6AP6JC388535   Nissan      MAXIMA               LOS ANGELES              CA
43832   1N4AA6AP6JC388759   Nissan      MAXIMA               MONTEREY                 CA
43833   1N4AA6AP6JC388891   Nissan      MAXIMA               ROSWELL                  NM
43834   1N4AA6AP6JC389068   Nissan      MAXIMA               SANTA CLARA              CA
43835   1N4AA6AP6JC389636   Nissan      MAXIMA               PHOENIX                  AZ
43836   1N4AA6AP6JC391631   Nissan      MAXIMA               SAN FRANCISCO            CA
43837   1N4AA6AP6JC391824   Nissan      MAXIMA               SAINT PAUL               MN
43838   1N4AA6AP6JC391841   Nissan      MAXIMA               LAS VEGAS                NV
43839   1N4AA6AP6JC392116   Nissan      MAXIMA               SEATAC                   WA
43840   1N4AA6AP6JC392262   Nissan      MAXIMA               SEATAC                   WA
43841   1N4AA6AP6JC392312   Nissan      MAXIMA               PHOENIX                  AZ
43842   1N4AA6AP6JC392374   Nissan      MAXIMA               LOS ANGELES              CA
43843   1N4AA6AP6JC392472   Nissan      MAXIMA               Portland                 OR
43844   1N4AA6AP6JC392648   Nissan      MAXIMA               PHOENIX                  AZ
43845   1N4AA6AP6JC392794   Nissan      MAXIMA               ONTARIO                  CA
43846   1N4AA6AP6JC392987   Nissan      MAXIMA               FRESNO                   CA
43847   1N4AA6AP6JC393038   Nissan      MAXIMA               PHOENIX                  AZ
43848   1N4AA6AP6JC394478   Nissan      MAXIMA               Portland                 OR
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43849   1N4AA6AP7JC367581   Nissan      MAXIMA
43850   1N4AA6AP7JC373588   Nissan      MAXIMA               LAS VEGAS                NV
43851   1N4AA6AP7JC375325   Nissan      MAXIMA               Fresno                   CA
43852   1N4AA6AP7JC375633   Nissan      MAXIMA               Torrance                 CA
43853   1N4AA6AP7JC377446   Nissan      MAXIMA               College Park             GA
43854   1N4AA6AP7JC377785   Nissan      MAXIMA               LOS ANGELES              CA
43855   1N4AA6AP7JC377981   Nissan      MAXIMA               KAHULUI                  HI
43856   1N4AA6AP7JC378158   Nissan      MAXIMA               Fontana                  CA
43857   1N4AA6AP7JC378502   Nissan      MAXIMA               Kahului                  HI
43858   1N4AA6AP7JC378838   Nissan      MAXIMA               KAHULUI                  HI
43859   1N4AA6AP7JC382971   Nissan      MAXIMA               PALM SPRINGS             CA
43860   1N4AA6AP7JC383327   Nissan      MAXIMA               SAN JOSE                 CA
43861   1N4AA6AP7JC384686   Nissan      MAXIMA               Hilo                     HI
43862   1N4AA6AP7JC385501   Nissan      MAXIMA               HILO                     HI
43863   1N4AA6AP7JC385840   Nissan      MAXIMA               HILO                     HI
43864   1N4AA6AP7JC386079   Nissan      MAXIMA               LOS ANGELES              CA
43865   1N4AA6AP7JC386096   Nissan      MAXIMA               SEA TAC                  WA
43866   1N4AA6AP7JC386146   Nissan      MAXIMA               Los Angeles              CA
43867   1N4AA6AP7JC386289   Nissan      MAXIMA               LAS VEGAS                NV
43868   1N4AA6AP7JC386583   Nissan      MAXIMA               FRESNO                   CA
43869   1N4AA6AP7JC386602   Nissan      MAXIMA               PORTLAND                 OR
43870   1N4AA6AP7JC386616   Nissan      MAXIMA               LOS ANGELES              CA
43871   1N4AA6AP7JC386681   Nissan      MAXIMA               Lake Elsinore            CA
43872   1N4AA6AP7JC386907   Nissan      MAXIMA               SAN JOSE                 CA
43873   1N4AA6AP7JC387362   Nissan      MAXIMA               Phoenix                  AZ
43874   1N4AA6AP7JC387412   Nissan      MAXIMA               SALT LAKE CITY           US
43875   1N4AA6AP7JC387619   Nissan      MAXIMA               Carleton                 MI
43876   1N4AA6AP7JC388074   Nissan      MAXIMA               SAN DIEGO                CA
43877   1N4AA6AP7JC388172   Nissan      MAXIMA               LOS ANGELES              CA
43878   1N4AA6AP7JC388513   Nissan      MAXIMA               PHOENIX                  AZ
43879   1N4AA6AP7JC388589   Nissan      MAXIMA               UNION CITY               GA
43880   1N4AA6AP7JC388625   Nissan      MAXIMA               BURBANK                  CA
43881   1N4AA6AP7JC388799   Nissan      MAXIMA               Kent                     WA
43882   1N4AA6AP7JC389161   Nissan      MAXIMA               GOLETA                   CA
43883   1N4AA6AP7JC391704   Nissan      MAXIMA               OAKLAND                  CA
43884   1N4AA6AP7JC391802   Nissan      MAXIMA               Sacramento               CA
43885   1N4AA6AP7JC392562   Nissan      MAXIMA               SACRAMENTO               CA
43886   1N4AA6AP7JC392755   Nissan      MAXIMA               DES PLAINES              IL
43887   1N4AA6AP7JC392769   Nissan      MAXIMA               LOS ANGELES              CA
43888   1N4AA6AP7JC392920   Nissan      MAXIMA               PALM SPRINGS             CA
43889   1N4AA6AP7JC393940   Nissan      MAXIMA               SAN JOSE                 CA
43890   1N4AA6AP7JC394103   Nissan      MAXIMA               Costa Mesa               CA
43891   1N4AA6AP7JC394179   Nissan      MAXIMA               LOS ANGELES              CA
43892   1N4AA6AP8JC373695   Nissan      MAXIMA               LAKEWOOD                 WA
43893   1N4AA6AP8JC374748   Nissan      MAXIMA               Fontana                  CA
43894   1N4AA6AP8JC377391   Nissan      MAXIMA               KAHULUI                  HI
43895   1N4AA6AP8JC377858   Nissan      MAXIMA               Stone Mountain           GA
43896   1N4AA6AP8JC378234   Nissan      MAXIMA               Santa Clara              CA
43897   1N4AA6AP8JC378430   Nissan      MAXIMA               Slidell                  LA
43898   1N4AA6AP8JC378511   Nissan      MAXIMA               LOS ANGELES              CA
43899   1N4AA6AP8JC378671   Nissan      MAXIMA               KAHULUI                  HI
43900   1N4AA6AP8JC380212   Nissan      MAXIMA               Fontana                  CA
43901   1N4AA6AP8JC382056   Nissan      MAXIMA               SAN DIEGO                CA
43902   1N4AA6AP8JC382431   Nissan      MAXIMA               FRESNO                   CA
43903   1N4AA6AP8JC382624   Nissan      MAXIMA               LOS ANGELES              CA
43904   1N4AA6AP8JC382669   Nissan      MAXIMA               SAN JOSE                 CA
43905   1N4AA6AP8JC382672   Nissan      MAXIMA               SAN DIEGO                CA
43906   1N4AA6AP8JC385314   Nissan      MAXIMA               LOS ANGELES              CA
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43907   1N4AA6AP8JC385412   Nissan      MAXIMA               KALAOA                   HI
43908   1N4AA6AP8JC386088   Nissan      MAXIMA               LOS ANGELES              CA
43909   1N4AA6AP8JC387158   Nissan      MAXIMA               Fontana                  CA
43910   1N4AA6AP8JC387306   Nissan      MAXIMA               LOS ANGELES              CA
43911   1N4AA6AP8JC387726   Nissan      MAXIMA               PALM SPRINGS             CA
43912   1N4AA6AP8JC388018   Nissan      MAXIMA               Elkridge                 MD
43913   1N4AA6AP8JC388147   Nissan      MAXIMA               SOUTH SAN FRANC          CA
43914   1N4AA6AP8JC388200   Nissan      MAXIMA               PALM SPRINGS             CA
43915   1N4AA6AP8JC388228   Nissan      MAXIMA               Hayward                  CA
43916   1N4AA6AP8JC388262   Nissan      MAXIMA               PALM SPRINGS             CA
43917   1N4AA6AP8JC389055   Nissan      MAXIMA               OAKLAND                  CA
43918   1N4AA6AP8JC391632   Nissan      MAXIMA               LAS VEGAS                NV
43919   1N4AA6AP8JC391680   Nissan      MAXIMA               OAKLAND                  CA
43920   1N4AA6AP8JC392036   Nissan      MAXIMA               SAN DIEGO                CA
43921   1N4AA6AP8JC392084   Nissan      MAXIMA               LAS VEGAS                NV
43922   1N4AA6AP8JC392120   Nissan      MAXIMA               SEATAC                   WA
43923   1N4AA6AP8JC392246   Nissan      MAXIMA               LOS ANGELES              CA
43924   1N4AA6AP8JC392442   Nissan      MAXIMA               LOS ANGELES              CA
43925   1N4AA6AP8JC392540   Nissan      MAXIMA               LOS ANGELES              CA
43926   1N4AA6AP8JC392554   Nissan      MAXIMA               Fresno                   CA
43927   1N4AA6AP8JC392828   Nissan      MAXIMA               SALT LAKE CITY           US
43928   1N4AA6AP8JC392912   Nissan      MAXIMA               LAS VEGAS                NV
43929   1N4AA6AP8JC392943   Nissan      MAXIMA               LOS ANGELES              CA
43930   1N4AA6AP8JC393073   Nissan      MAXIMA               ONTARIO                  CA
43931   1N4AA6AP8JC394031   Nissan      MAXIMA               SAN JOSE                 CA
43932   1N4AA6AP8JC394093   Nissan      MAXIMA               LOS ANGELES AP           CA
43933   1N4AA6AP8JC394398   Nissan      MAXIMA               LOS ANGELES              CA
43934   1N4AA6AP8JC394403   Nissan      MAXIMA               OAKLAND                  CA
43935   1N4AA6AP8JC394627   Nissan      MAXIMA               NEW ORLEANS              LA
43936   1N4AA6AP9JC369137   Nissan      MAXIMA               Miami                    FL
43937   1N4AA6AP9JC373690   Nissan      MAXIMA               ROCHESTER                NY
43938   1N4AA6AP9JC376007   Nissan      MAXIMA               SAN FRANCISCO            CA
43939   1N4AA6AP9JC376539   Nissan      MAXIMA               Rockville Centr          NY
43940   1N4AA6AP9JC377397   Nissan      MAXIMA               WEST PALM BEACH          FL
43941   1N4AA6AP9JC378226   Nissan      MAXIMA               Hayward                  CA
43942   1N4AA6AP9JC379568   Nissan      MAXIMA               SACRAMENTO               CA
43943   1N4AA6AP9JC379912   Nissan      MAXIMA               ONTARIO                  CA
43944   1N4AA6AP9JC380249   Nissan      MAXIMA               Smithtown                NY
43945   1N4AA6AP9JC382955   Nissan      MAXIMA               LOS ANGELES              CA
43946   1N4AA6AP9JC384964   Nissan      MAXIMA               INDIANAPOLIS             IN
43947   1N4AA6AP9JC385449   Nissan      MAXIMA               Hilo                     HI
43948   1N4AA6AP9JC385452   Nissan      MAXIMA               Hayward                  CA
43949   1N4AA6AP9JC385600   Nissan      MAXIMA               SEATAC                   WA
43950   1N4AA6AP9JC386360   Nissan      MAXIMA               PHOENIX                  AZ
43951   1N4AA6AP9JC386469   Nissan      MAXIMA               KAILUA‐KONA              HI
43952   1N4AA6AP9JC387055   Nissan      MAXIMA               INGLEWOOD                CA
43953   1N4AA6AP9JC387296   Nissan      MAXIMA               PHOENIX                  AZ
43954   1N4AA6AP9JC387606   Nissan      MAXIMA               RICHMOND                 VA
43955   1N4AA6AP9JC388061   Nissan      MAXIMA               Orlando                  FL
43956   1N4AA6AP9JC388609   Nissan      MAXIMA               CLEVELAND                OH
43957   1N4AA6AP9JC388769   Nissan      MAXIMA               LOS ANGELES              CA
43958   1N4AA6AP9JC388772   Nissan      MAXIMA               LOS ANGELES              CA
43959   1N4AA6AP9JC388867   Nissan      MAXIMA               FRESNO                   CA
43960   1N4AA6AP9JC388982   Nissan      MAXIMA               OAKLAND                  CA
43961   1N4AA6AP9JC391722   Nissan      MAXIMA               LOS ANGELES              CA
43962   1N4AA6AP9JC391767   Nissan      MAXIMA               OAKLAND                  CA
43963   1N4AA6AP9JC391820   Nissan      MAXIMA               OAKLAND                  CA
43964   1N4AA6AP9JC392126   Nissan      MAXIMA               BOISE                    US
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43965   1N4AA6AP9JC392627   Nissan      MAXIMA               LOS ANGELES              CA
43966   1N4AA6AP9JC392630   Nissan      MAXIMA               LOS ANGELES              CA
43967   1N4AA6AP9JC392904   Nissan      MAXIMA               LOS ANGELES              CA
43968   1N4AA6AP9JC393003   Nissan      MAXIMA               SAN FRANCISCO            CA
43969   1N4AA6AP9JC394135   Nissan      MAXIMA               SEATAC                   WA
43970   1N4AA6AP9JC394166   Nissan      MAXIMA               Detroit                  MI
43971   1N4AA6AP9JC394278   Nissan      MAXIMA               SEATAC                   WA
43972   1N4AA6AP9JC394328   Nissan      MAXIMA               SAN FRANCISCO            CA
43973   1N4AA6AP9JC394412   Nissan      MAXIMA               TUCSON                   AZ
43974   1N4AA6APXJC374797   Nissan      MAXIMA               SEATAC                   WA
43975   1N4AA6APXJC374976   Nissan      MAXIMA               MIAMI                    FL
43976   1N4AA6APXJC375271   Nissan      MAXIMA               SAN FRANCISCO            CA
43977   1N4AA6APXJC375769   Nissan      MAXIMA               SAN JOSE                 CA
43978   1N4AA6APXJC377103   Nissan      MAXIMA               SAN DIEGO                CA
43979   1N4AA6APXJC378087   Nissan      MAXIMA               Rio Linda                CA
43980   1N4AA6APXJC378865   Nissan      MAXIMA               Las Vegas                NV
43981   1N4AA6APXJC382558   Nissan      MAXIMA               FRESNO                   CA
43982   1N4AA6APXJC385539   Nissan      MAXIMA               Hayward                  CA
43983   1N4AA6APXJC385752   Nissan      MAXIMA               Hilo                     HI
43984   1N4AA6APXJC385783   Nissan      MAXIMA               Hilo                     HI
43985   1N4AA6APXJC385802   Nissan      MAXIMA               Portland                 OR
43986   1N4AA6APXJC385914   Nissan      MAXIMA               LIHUE                    HI
43987   1N4AA6APXJC386660   Nissan      MAXIMA               PORTLAND                 OR
43988   1N4AA6APXJC386917   Nissan      MAXIMA               NEWPORT BEACH            CA
43989   1N4AA6APXJC387520   Nissan      MAXIMA               OAKLAND                  CA
43990   1N4AA6APXJC388487   Nissan      MAXIMA               SAN DIEGO                CA
43991   1N4AA6APXJC388568   Nissan      MAXIMA               ORANGE COUNTY            CA
43992   1N4AA6APXJC388618   Nissan      MAXIMA               FRESNO                   CA
43993   1N4AA6APXJC388862   Nissan      MAXIMA               Riverside                CA
43994   1N4AA6APXJC391552   Nissan      MAXIMA               LOS ANGELES              CA
43995   1N4AA6APXJC391647   Nissan      MAXIMA               Fontana                  CA
43996   1N4AA6APXJC391678   Nissan      MAXIMA               ONTARIO                  CA
43997   1N4AA6APXJC391681   Nissan      MAXIMA               FULLERTON                CA
43998   1N4AA6APXJC391809   Nissan      MAXIMA               PORTLAND                 OR
43999   1N4AA6APXJC392040   Nissan      MAXIMA               SEA TAC                  WA
44000   1N4AA6APXJC392488   Nissan      MAXIMA               SEATAC                   WA
44001   1N4AA6APXJC392538   Nissan      MAXIMA               LOS ANGELES              CA
44002   1N4AA6APXJC392619   Nissan      MAXIMA               LAS VEGAS                NV
44003   1N4AA6APXJC392765   Nissan      MAXIMA               MONTEREY                 CA
44004   1N4AA6APXJC392782   Nissan      MAXIMA               SANTA ANA                CA
44005   1N4AA6APXJC392877   Nissan      MAXIMA               Fresno                   CA
44006   1N4AA6APXJC392961   Nissan      MAXIMA               SAN JOSE                 CA
44007   1N4AA6APXJC393060   Nissan      MAXIMA               LOS ANGELES              CA
44008   1N4AA6APXJC393303   Nissan      MAXIMA               SACRAMENTO               CA
44009   1N4AA6APXJC394113   Nissan      MAXIMA               LOS ANGELES              CA
44010   1N4AA6APXJC394273   Nissan      MAXIMA               OAKLAND                  CA
44011   1N4AA6APXJC394354   Nissan      MAXIMA               LAS VEGAS                NV
44012   1N4AL3AP0FC591338   Nissan      ALTIMA               Schaumburg               IL
44013   1N4AL3AP0GC225042   Nissan      ALTIMA               Hayward                  CA
44014   1N4AL3AP0GC238499   Nissan      ALTIMA               Brighton                 CO
44015   1N4AL3AP0GC252449   Nissan      ALTIMA               CHICAGO                  IL
44016   1N4AL3AP0HC136802   Nissan      ALTIMA               Houston                  TX
44017   1N4AL3AP0HC167029   Nissan      ALTIMA               Warminster               PA
44018   1N4AL3AP0HC175079   Nissan      ALTIMA               Denver                   CO
44019   1N4AL3AP0HC189189   Nissan      ALTIMA               Elkridge                 MD
44020   1N4AL3AP0HC207108   Nissan      ALTIMA               Darlington               SC
44021   1N4AL3AP0HC229643   Nissan      ALTIMA               HANOVER                  MD
44022   1N4AL3AP0HC233515   Nissan      ALTIMA               VIENNA                   VA
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44023   1N4AL3AP0HC239265   Nissan      ALTIMA               Burien                   WA
44024   1N4AL3AP0HC256275   Nissan      ALTIMA               SANTA ANA                CA
44025   1N4AL3AP0HC256356   Nissan      ALTIMA               North Las Vegas          NV
44026   1N4AL3AP0HC265199   Nissan      ALTIMA               SAN ANTONIO              TX
44027   1N4AL3AP0HC290345   Nissan      ALTIMA               Stockton                 CA
44028   1N4AL3AP0HC292290   Nissan      ALTIMA               SANTA ANA                CA
44029   1N4AL3AP0HC292998   Nissan      ALTIMA               BURBANK                  CA
44030   1N4AL3AP0HC293343   Nissan      ALTIMA               Englewood                CO
44031   1N4AL3AP0HC293701   Nissan      ALTIMA               ONTARIO                  CA
44032   1N4AL3AP0HC294461   Nissan      ALTIMA               Riverside                CA
44033   1N4AL3AP0HN344215   Nissan      ALTIMA               SOUTHEAST DST OFFC       OK
44034   1N4AL3AP0HN349382   Nissan      ALTIMA               DENVER                   CO
44035   1N4AL3AP0HN350886   Nissan      ALTIMA               DES PLAINES              IL
44036   1N4AL3AP0HN351486   Nissan      ALTIMA               Kent                     WA
44037   1N4AL3AP0HN352525   Nissan      ALTIMA               LOS ANGELES              CA
44038   1N4AL3AP0HN358891   Nissan      ALTIMA               DES PLAINES              IL
44039   1N4AL3AP0HN360723   Nissan      ALTIMA               HANOVER                  MD
44040   1N4AL3AP0HN362892   Nissan      ALTIMA               SAN DIEGO                CA
44041   1N4AL3AP0HN364707   Nissan      ALTIMA               FORT MYERS               FL
44042   1N4AL3AP0HN364724   Nissan      ALTIMA               BOSTON                   MA
44043   1N4AL3AP0HN364805   Nissan      ALTIMA               Tampa                    FL
44044   1N4AL3AP0HN365095   Nissan      ALTIMA               SEATAC                   WA
44045   1N4AL3AP0HN365114   Nissan      ALTIMA               AUSTIN                   TX
44046   1N4AL3AP0HN366876   Nissan      ALTIMA               LOS ANGELES              CA
44047   1N4AL3AP0JC116023   Nissan      ALTIMA               SANTA ANA                CA
44048   1N4AL3AP0JC116068   Nissan      ALTIMA               HANOVER                  MD
44049   1N4AL3AP0JC116300   Nissan      ALTIMA               KENNER                   LA
44050   1N4AL3AP0JC116720   Nissan      ALTIMA               Chicago                  IL
44051   1N4AL3AP0JC117091   Nissan      ALTIMA               SEATAC                   WA
44052   1N4AL3AP0JC117267   Nissan      ALTIMA               Miami                    FL
44053   1N4AL3AP0JC117706   Nissan      ALTIMA               NEW YORK DEALER DI       NJ
44054   1N4AL3AP0JC118502   Nissan      ALTIMA               DAYTONA BEACH            FL
44055   1N4AL3AP0JC118872   Nissan      ALTIMA               Chicago                  IL
44056   1N4AL3AP0JC119052   Nissan      ALTIMA               Davie                    FL
44057   1N4AL3AP0JC122128   Nissan      ALTIMA               BALTIMORE                MD
44058   1N4AL3AP0JC127538   Nissan      ALTIMA               DAYTONA BEACH            FL
44059   1N4AL3AP0JC127765   Nissan      ALTIMA               Stone Mountain           GA
44060   1N4AL3AP0JC128088   Nissan      ALTIMA               CLEVELAND                OH
44061   1N4AL3AP0JC128110   Nissan      ALTIMA               Statesville              NC
44062   1N4AL3AP0JC129239   Nissan      ALTIMA               PITTSBURGH               PA
44063   1N4AL3AP0JC129256   Nissan      ALTIMA               GLASSBORO                NJ
44064   1N4AL3AP0JC130391   Nissan      ALTIMA               CHICAGO                  IL
44065   1N4AL3AP0JC131167   Nissan      ALTIMA               Hanover                  MD
44066   1N4AL3AP0JC131217   Nissan      ALTIMA               Sterling                 VA
44067   1N4AL3AP0JC134408   Nissan      ALTIMA               WEST PALM BEACH          FL
44068   1N4AL3AP0JC135607   Nissan      ALTIMA               Bordentown               NJ
44069   1N4AL3AP0JC135896   Nissan      ALTIMA               CHICAGO                  IL
44070   1N4AL3AP0JC136286   Nissan      ALTIMA               Rock Hill                SC
44071   1N4AL3AP0JC138636   Nissan      ALTIMA               WEST PALM BEACH          FL
44072   1N4AL3AP0JC139110   Nissan      ALTIMA               STERLING                 VA
44073   1N4AL3AP0JC139141   Nissan      ALTIMA               Tampa                    FL
44074   1N4AL3AP0JC144095   Nissan      ALTIMA               Seattle                  WA
44075   1N4AL3AP0JC145859   Nissan      ALTIMA               KANSAS CITY              MO
44076   1N4AL3AP0JC153668   Nissan      ALTIMA               HANOVER                  MD
44077   1N4AL3AP0JC154884   Nissan      ALTIMA               DALLAS                   TX
44078   1N4AL3AP0JC155341   Nissan      ALTIMA               STERLING                 VA
44079   1N4AL3AP0JC160720   Nissan      ALTIMA               Manheim                  PA
44080   1N4AL3AP0JC163018   Nissan      ALTIMA               LOUISVILLE               KY
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44081   1N4AL3AP0JC163536   Nissan       ALTIMA               WASHINGTON DC            MD
44082   1N4AL3AP0JC163813   Nissan       ALTIMA               Elkridge                 MD
44083   1N4AL3AP0JC164170   Nissan       ALTIMA               TAMPA                    FL
44084   1N4AL3AP0JC164377   Nissan       ALTIMA               Houston                  TX
44085   1N4AL3AP0JC164802   Nissan       ALTIMA               North Dighton            MA
44086   1N4AL3AP0JC165223   Nissan       ALTIMA               Atlanta                  GA
44087   1N4AL3AP0JC165271   Nissan       ALTIMA               Winston‐Salem            NC
44088   1N4AL3AP0JC166341   Nissan       ALTIMA               Atlanta                  GA
44089   1N4AL3AP0JC169868   Nissan       ALTIMA               Cleveland                OH
44090   1N4AL3AP0JC169921   Nissan       ALTIMA               Manheim                  PA
44091   1N4AL3AP0JC170468   Nissan       ALTIMA               KENNER                   LA
44092   1N4AL3AP0JC170969   Nissan       ALTIMA               Newark                   NJ
44093   1N4AL3AP0JC171152   Nissan       ALTIMA               CHARLOTTE                NC
44094   1N4AL3AP0JC171250   Nissan       ALTIMA               CHARLOTTE                NC
44095   1N4AL3AP0JC171295   Nissan       ALTIMA               Fredericksburg           VA
44096   1N4AL3AP0JC171457   Nissan       ALTIMA               RICHMOND                 VA
44097   1N4AL3AP0JC171491   Nissan       ALTIMA               NEW YORK DEALER DI       NJ
44098   1N4AL3AP0JC171717   Nissan       ALTIMA               TAMPA                    FL
44099   1N4AL3AP0JC171751   Nissan       ALTIMA               Fort Lauderdale          FL
44100   1N4AL3AP0JC171779   Nissan       ALTIMA               ROSEVILLE                CA
44101   1N4AL3AP0JC172074   Nissan       ALTIMA               Cleveland                OH
44102   1N4AL3AP0JC172205   Nissan       ALTIMA               MIDDLE RIVER             MD
44103   1N4AL3AP0JC172298   Nissan       ALTIMA               Teterboro                NJ
44104   1N4AL3AP0JC172351   Nissan       ALTIMA               HANOVER                  MD
44105   1N4AL3AP0JC173287   Nissan       ALTIMA               NORFOLK                  VA
44106   1N4AL3AP0JC173354   Nissan       ALTIMA               SAN JOSE                 CA
44107   1N4AL3AP0JC173502   Nissan       ALTIMA               Oakland                  CA
44108   1N4AL3AP0JC173614   Nissan       ALTIMA               HANOVER                  MD
44109   1N4AL3AP0JC174035   Nissan       ALTIMA               NORTH PAC                CA
44110   1N4AL3AP0JC174231   Nissan       ALTIMA               Tampa                    FL
44111   1N4AL3AP0JC174438   Nissan       ALTIMA               Stockton                 CA
44112   1N4AL3AP0JC175072   Nissan       ALTIMA               Oceanside                CA
44113   1N4AL3AP0JC175296   Nissan       ALTIMA               Philadelphia             PA
44114   1N4AL3AP0JC176030   Nissan       ALTIMA               SOUTH SAN FRANC          CA
44115   1N4AL3AP0JC176383   Nissan       ALTIMA               Tolleson                 AZ
44116   1N4AL3AP0JC176691   Nissan       ALTIMA               Tolleson                 AZ
44117   1N4AL3AP0JC177081   Nissan       ALTIMA               BOSTON                   MA
44118   1N4AL3AP0JC183950   Nissan       ALTIMA               DENVER                   CO
44119   1N4AL3AP0JC187481   Nissan       ALTIMA               SAN DIEGO                CA
44120   1N4AL3AP0JC187710   Nissan       ALTIMA               Elkridge                 MD
44121   1N4AL3AP0JC188176   Nissan       ALTIMA               Manheim                  PA
44122   1N4AL3AP0JC188212   Nissan       ALTIMA               PHILADELPHIA             US
44123   1N4AL3AP0JC188291   Nissan       ALTIMA               CHICAGO                  IL
44124   1N4AL3AP0JC188310   Nissan       ALTIMA               SAN ANTONIO              TX
44125   1N4AL3AP0JC189425   Nissan       ALTIMA               LAS VEGAS                NV
44126   1N4AL3AP0JC189571   Nissan       ALTIMA               San Antonio              TX
44127   1N4AL3AP0JC190302   Nissan       ALTIMA               MEDINA                   OH
44128   1N4AL3AP0JC191031   Nissan       ALTIMA               North Las Vegas          NV
44129   1N4AL3AP0JC191269   Nissan       ALTIMA               Greer                    SC
44130   1N4AL3AP0JC192034   Nissan       ALTIMA               STERLING                 VA
44131   1N4AL3AP0JC192101   Nissan       ALTIMA               STERLING                 VA
44132   1N4AL3AP0JC192664   Nissan       ALTIMA               Bensalem                 PA
44133   1N4AL3AP0JC193104   Nissan       ALTIMA               San Diego                CA
44134   1N4AL3AP0JC193880   Nissan       ALTIMA               STERLING                 VA
44135   1N4AL3AP0JC194396   Nissan       ALTIMA               BOSTON                   MA
44136   1N4AL3AP0JC195628   Nissan       ALTIMA               STERLING                 VA
44137   1N4AL3AP0JC196181   Nissan       ALTIMA               SOUTHEAST DST OFFC       OK
44138   1N4AL3AP0JC196388   Nissan       ALTIMA               Massapequa               NY
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44139   1N4AL3AP0JC196584   Nissan       ALTIMA               HANOVER                  MD
44140   1N4AL3AP0JC197895   Nissan       ALTIMA               CHICAGO                  IL
44141   1N4AL3AP0JC197900   Nissan       ALTIMA               SAN FRANCISCO            CA
44142   1N4AL3AP0JC197914   Nissan       ALTIMA               Elkridge                 MD
44143   1N4AL3AP0JC198836   Nissan       ALTIMA               Elkridge                 MD
44144   1N4AL3AP0JC199307   Nissan       ALTIMA               LAS VEGAS                NV
44145   1N4AL3AP0JC201525   Nissan       ALTIMA               AUSTIN                   TX
44146   1N4AL3AP0JC201685   Nissan       ALTIMA               CHARLOTTE                NC
44147   1N4AL3AP0JC202853   Nissan       ALTIMA               TAMPA                    FL
44148   1N4AL3AP0JC203128   Nissan       ALTIMA               RICHMOND                 VA
44149   1N4AL3AP0JC204280   Nissan       ALTIMA               Davie                    FL
44150   1N4AL3AP0JC204599   Nissan       ALTIMA               ORLANDO                  FL
44151   1N4AL3AP0JC205722   Nissan       ALTIMA               ONTARIO                  CA
44152   1N4AL3AP0JC205798   Nissan       ALTIMA               PHILADELPHIA             PA
44153   1N4AL3AP0JC206708   Nissan       ALTIMA               Riverside                CA
44154   1N4AL3AP0JC207910   Nissan       ALTIMA               SAN DIEGO                CA
44155   1N4AL3AP0JC207924   Nissan       ALTIMA               N. Las Vegas             NV
44156   1N4AL3AP0JC208121   Nissan       ALTIMA               Anaheim                  CA
44157   1N4AL3AP0JC208555   Nissan       ALTIMA               LOS ANGELES              CA
44158   1N4AL3AP0JC208734   Nissan       ALTIMA               BURBANK                  CA
44159   1N4AL3AP0JC209236   Nissan       ALTIMA               Omaha                    NE
44160   1N4AL3AP0JC209463   Nissan       ALTIMA               HANOVER                  MD
44161   1N4AL3AP0JC210435   Nissan       ALTIMA               LAS VEGAS                NV
44162   1N4AL3AP0JC210693   Nissan       ALTIMA
44163   1N4AL3AP0JC210970   Nissan       ALTIMA               Norwalk                  CA
44164   1N4AL3AP0JC212878   Nissan       ALTIMA               Davie                    FL
44165   1N4AL3AP0JC212900   Nissan       ALTIMA               ORLANDO                  FL
44166   1N4AL3AP0JC213092   Nissan       ALTIMA               Burien                   WA
44167   1N4AL3AP0JC213948   Nissan       ALTIMA               BURBANK                  CA
44168   1N4AL3AP0JC215120   Nissan       ALTIMA               BURBANK                  CA
44169   1N4AL3AP0JC215148   Nissan       ALTIMA               BOSTON                   MA
44170   1N4AL3AP0JC215666   Nissan       ALTIMA               LOS ANGELES              CA
44171   1N4AL3AP0JC215831   Nissan       ALTIMA               LOS ANGELES              CA
44172   1N4AL3AP0JC216073   Nissan       ALTIMA               PHILADELPHIA             PA
44173   1N4AL3AP0JC216221   Nissan       ALTIMA               SAN FRANCISCO            CA
44174   1N4AL3AP0JC216364   Nissan       ALTIMA               Phoenix                  AZ
44175   1N4AL3AP0JC216509   Nissan       ALTIMA               SANTA ANA                CA
44176   1N4AL3AP0JC216526   Nissan       ALTIMA               SAN JOSE                 CA
44177   1N4AL3AP0JC216672   Nissan       ALTIMA               SAN JOSE                 CA
44178   1N4AL3AP0JC217322   Nissan       ALTIMA               SAN FRANCISCO            CA
44179   1N4AL3AP0JC217434   Nissan       ALTIMA               SAN DIEGO                CA
44180   1N4AL3AP0JC227039   Nissan       ALTIMA               North Las Vegas          NV
44181   1N4AL3AP0JC227106   Nissan       ALTIMA               ONTARIO                  CA
44182   1N4AL3AP0JC229406   Nissan       ALTIMA               Atlanta                  GA
44183   1N4AL3AP0JC229440   Nissan       ALTIMA               SAN FRANCISCO            CA
44184   1N4AL3AP0JC229471   Nissan       ALTIMA               SOUTH SAN FRANC          CA
44185   1N4AL3AP0JC231723   Nissan       ALTIMA               BURBANK                  CA
44186   1N4AL3AP0JC231785   Nissan       ALTIMA               SAN DIEGO                CA
44187   1N4AL3AP0JC233133   Nissan       ALTIMA               Elkridge                 MD
44188   1N4AL3AP0JC233312   Nissan       ALTIMA               Las Vegas                NV
44189   1N4AL3AP0JC233634   Nissan       ALTIMA               Torrance                 CA
44190   1N4AL3AP0JC238607   Nissan       ALTIMA               Riverside                CA
44191   1N4AL3AP0JC238848   Nissan       ALTIMA               SAN JOSE                 CA
44192   1N4AL3AP0JC239840   Nissan       ALTIMA               Los Angeles              CA
44193   1N4AL3AP0JC240552   Nissan       ALTIMA               Tolleson                 AZ
44194   1N4AL3AP0JC240681   Nissan       ALTIMA               LOS ANGELES              CA
44195   1N4AL3AP0JC240812   Nissan       ALTIMA               Hayward                  CA
44196   1N4AL3AP0JC240857   Nissan       ALTIMA               Riverside                CA
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44197   1N4AL3AP0JC240860   Nissan      ALTIMA               Phoenix                  AZ
44198   1N4AL3AP0JC243015   Nissan      ALTIMA               CLOVIS                   CA
44199   1N4AL3AP0JC243113   Nissan      ALTIMA               Los Angeles              CA
44200   1N4AL3AP0JC243497   Nissan      ALTIMA               LOS ANGELES AP           CA
44201   1N4AL3AP0JC243810   Nissan      ALTIMA               Riverside                CA
44202   1N4AL3AP0JC243869   Nissan      ALTIMA               LAS VEGAS                NV
44203   1N4AL3AP0JC243936   Nissan      ALTIMA               SAN FRANCISCO            CA
44204   1N4AL3AP0JC244150   Nissan      ALTIMA               BURBANK                  CA
44205   1N4AL3AP0JC244181   Nissan      ALTIMA               CENTRAL DIST OFFC        OK
44206   1N4AL3AP0JC244682   Nissan      ALTIMA               SANTA ANA                CA
44207   1N4AL3AP0JC244908   Nissan      ALTIMA               TRACY                    CA
44208   1N4AL3AP0JC245699   Nissan      ALTIMA               HARVEY                   LA
44209   1N4AL3AP0JC245718   Nissan      ALTIMA               N. Las Vegas             NV
44210   1N4AL3AP0JC246500   Nissan      ALTIMA               Riverside                CA
44211   1N4AL3AP0JC247081   Nissan      ALTIMA               OAKLAND                  CA
44212   1N4AL3AP0JC247498   Nissan      ALTIMA               Cleveland                OH
44213   1N4AL3AP0JC247971   Nissan      ALTIMA               JACKSONVILLE             FL
44214   1N4AL3AP0JC248439   Nissan      ALTIMA               SANTA ANA                CA
44215   1N4AL3AP0JC248618   Nissan      ALTIMA               CENTRAL DIST OFFC        OK
44216   1N4AL3AP0JC249378   Nissan      ALTIMA               SAN DIEGO                CA
44217   1N4AL3AP0JC249381   Nissan      ALTIMA               LOS ANGELES              CA
44218   1N4AL3AP0JC250112   Nissan      ALTIMA               LOS ANGELES              CA
44219   1N4AL3AP0JC250580   Nissan      ALTIMA               SAN JOSE                 CA
44220   1N4AL3AP0JC250594   Nissan      ALTIMA               SAN FRANCISCO            CA
44221   1N4AL3AP0JC250949   Nissan      ALTIMA               Richmond                 VA
44222   1N4AL3AP0JC251681   Nissan      ALTIMA               North Las Vegas          NV
44223   1N4AL3AP0JC253656   Nissan      ALTIMA               SANTA ANA                CA
44224   1N4AL3AP0JC253835   Nissan      ALTIMA               BURBANK                  CA
44225   1N4AL3AP0JC262812   Nissan      ALTIMA               Los Angeles              CA
44226   1N4AL3AP0JC262826   Nissan      ALTIMA               LOS ANGELES              CA
44227   1N4AL3AP0JC265886   Nissan      ALTIMA               SANTA ANA                CA
44228   1N4AL3AP0JC267461   Nissan      ALTIMA               LOS ANGELES              CA
44229   1N4AL3AP0JC273468   Nissan      ALTIMA               SAN DIEGO                CA
44230   1N4AL3AP0JC274247   Nissan      ALTIMA               SAN FRANCISCO            CA
44231   1N4AL3AP0JC280209   Nissan      ALTIMA               PALM SPRINGS             CA
44232   1N4AL3AP0JC280680   Nissan      ALTIMA               LAS VEGAS                NV
44233   1N4AL3AP0JC280940   Nissan      ALTIMA               Tolleson                 AZ
44234   1N4AL3AP0JC282090   Nissan      ALTIMA               Fontana                  CA
44235   1N4AL3AP0JC282722   Nissan      ALTIMA               Ventura                  CA
44236   1N4AL3AP0JC282848   Nissan      ALTIMA               PALM SPRINGS             CA
44237   1N4AL3AP0JC283479   Nissan      ALTIMA               Pheonix                  AZ
44238   1N4AL3AP0JC283529   Nissan      ALTIMA               BURBANK                  CA
44239   1N4AL3AP0JC283823   Nissan      ALTIMA               SAN DIEGO                US
44240   1N4AL3AP0JC284051   Nissan      ALTIMA               LAS VEGAS                NV
44241   1N4AL3AP1FC146641   Nissan      ALTIMA               Mira Loma                CA
44242   1N4AL3AP1FC475405   Nissan      ALTIMA               PITTSBURGH               PA
44243   1N4AL3AP1GC122440   Nissan      ALTIMA               CHICAGO                  IL
44244   1N4AL3AP1GN370224   Nissan      ALTIMA               LAKEWOOD                 WA
44245   1N4AL3AP1GN375195   Nissan      ALTIMA               Los Angeles              CA
44246   1N4AL3AP1GN385113   Nissan      ALTIMA               LOS ANGELES              CA
44247   1N4AL3AP1HC190447   Nissan      ALTIMA               Davie                    FL
44248   1N4AL3AP1HC199651   Nissan      ALTIMA               HANOVER                  MD
44249   1N4AL3AP1HC214536   Nissan      ALTIMA               BOSTON                   MA
44250   1N4AL3AP1HC246967   Nissan      ALTIMA               Arlington                WA
44251   1N4AL3AP1HC251411   Nissan      ALTIMA               DALLAS                   TX
44252   1N4AL3AP1HC281279   Nissan      ALTIMA               GLEN BURNIE              MD
44253   1N4AL3AP1HC282240   Nissan      ALTIMA               STERLING                 VA
44254   1N4AL3AP1HC287079   Nissan      ALTIMA               Riverside                CA
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44255   1N4AL3AP1HC292900   Nissan      ALTIMA               SANTA ANA                CA
44256   1N4AL3AP1HC293531   Nissan      ALTIMA               Rio Linda                CA
44257   1N4AL3AP1HC485905   Nissan      ALTIMA               LOS ANGELES              CA
44258   1N4AL3AP1HN303625   Nissan      ALTIMA               PHOENIX                  AZ
44259   1N4AL3AP1HN336219   Nissan      ALTIMA               LOS ANGELES              CA
44260   1N4AL3AP1HN349942   Nissan      ALTIMA               HANOVER                  MD
44261   1N4AL3AP1HN351612   Nissan      ALTIMA               HANOVER                  MD
44262   1N4AL3AP1HN351755   Nissan      ALTIMA               Kent                     WA
44263   1N4AL3AP1HN352162   Nissan      ALTIMA               ROSEVILLE                CA
44264   1N4AL3AP1HN352842   Nissan      ALTIMA               GRAHAM                   WA
44265   1N4AL3AP1HN353229   Nissan      ALTIMA               FAYETTEVILLE             GA
44266   1N4AL3AP1HN353375   Nissan      ALTIMA               Tolleson                 AZ
44267   1N4AL3AP1HN353991   Nissan      ALTIMA               Sacramento               CA
44268   1N4AL3AP1HN354297   Nissan      ALTIMA               Union City               GA
44269   1N4AL3AP1HN357054   Nissan      ALTIMA               SANTA ANA                CA
44270   1N4AL3AP1HN361587   Nissan      ALTIMA               SAN FRANCISCO            CA
44271   1N4AL3AP1HN366255   Nissan      ALTIMA               HANOVER                  MD
44272   1N4AL3AP1JC113504   Nissan      ALTIMA               PHILADELPHIA             PA
44273   1N4AL3AP1JC115365   Nissan      ALTIMA               KNOXVILLE                TN
44274   1N4AL3AP1JC116211   Nissan      ALTIMA               Smithtown                NY
44275   1N4AL3AP1JC116547   Nissan      ALTIMA               Tampa                    FL
44276   1N4AL3AP1JC119027   Nissan      ALTIMA               HANOVER                  MD
44277   1N4AL3AP1JC119724   Nissan      ALTIMA               Charlotte                NC
44278   1N4AL3AP1JC120176   Nissan      ALTIMA               LAS VEGAS                NV
44279   1N4AL3AP1JC120890   Nissan      ALTIMA               RICHMOND                 VA
44280   1N4AL3AP1JC125989   Nissan      ALTIMA               DALLAS                   TX
44281   1N4AL3AP1JC126026   Nissan      ALTIMA               BOSTON                   MA
44282   1N4AL3AP1JC126110   Nissan      ALTIMA               Matteson                 IL
44283   1N4AL3AP1JC127323   Nissan      ALTIMA               Miami                    FL
44284   1N4AL3AP1JC127824   Nissan      ALTIMA               Elkridge                 MD
44285   1N4AL3AP1JC127922   Nissan      ALTIMA               CHICAGO                  IL
44286   1N4AL3AP1JC128973   Nissan      ALTIMA               Hanover                  MD
44287   1N4AL3AP1JC129038   Nissan      ALTIMA               STERLING                 VA
44288   1N4AL3AP1JC131663   Nissan      ALTIMA               Elkridge                 MD
44289   1N4AL3AP1JC132991   Nissan      ALTIMA               SANTA ANA                CA
44290   1N4AL3AP1JC134370   Nissan      ALTIMA               Charlotte                NC
44291   1N4AL3AP1JC134949   Nissan      ALTIMA               BURBANK                  CA
44292   1N4AL3AP1JC140914   Nissan      ALTIMA               ANNANDALE                VA
44293   1N4AL3AP1JC141447   Nissan      ALTIMA               CHICAGO                  IL
44294   1N4AL3AP1JC143652   Nissan      ALTIMA               Elkridge                 MD
44295   1N4AL3AP1JC152237   Nissan      ALTIMA               Elgin                    IL
44296   1N4AL3AP1JC154408   Nissan      ALTIMA               FORT MYERS               FL
44297   1N4AL3AP1JC161424   Nissan      ALTIMA               Davie                    FL
44298   1N4AL3AP1JC162797   Nissan      ALTIMA               NEW ORLEANS              LA
44299   1N4AL3AP1JC162976   Nissan      ALTIMA               BALTIMORE                MD
44300   1N4AL3AP1JC163254   Nissan      ALTIMA               RALEIGH                  NC
44301   1N4AL3AP1JC163495   Nissan      ALTIMA               ORLANDO                  FL
44302   1N4AL3AP1JC164498   Nissan      ALTIMA               HANOVER                  MD
44303   1N4AL3AP1JC165943   Nissan      ALTIMA               North Dighton            MA
44304   1N4AL3AP1JC168762   Nissan      ALTIMA               Miami                    FL
44305   1N4AL3AP1JC169474   Nissan      ALTIMA               Slidell                  LA
44306   1N4AL3AP1JC169846   Nissan      ALTIMA               WEST PALM BEACH          FL
44307   1N4AL3AP1JC170060   Nissan      ALTIMA               NOTTINGHAM               MD
44308   1N4AL3AP1JC170625   Nissan      ALTIMA               SAN FRANCISCO            CA
44309   1N4AL3AP1JC171578   Nissan      ALTIMA               PHOENIX                  AZ
44310   1N4AL3AP1JC171726   Nissan      ALTIMA               MARIETTA                 GA
44311   1N4AL3AP1JC172519   Nissan      ALTIMA               ATLANTA                  GA
44312   1N4AL3AP1JC172696   Nissan      ALTIMA               SAN FRANCISCO            CA
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44313   1N4AL3AP1JC172942   Nissan       ALTIMA               SANTA BARBARA            CA
44314   1N4AL3AP1JC173265   Nissan       ALTIMA               SAN JOSE                 CA
44315   1N4AL3AP1JC173346   Nissan       ALTIMA               SAN FRANCISCO            CA
44316   1N4AL3AP1JC173363   Nissan       ALTIMA               Elkridge                 MD
44317   1N4AL3AP1JC173637   Nissan       ALTIMA               SANTA ANA                CA
44318   1N4AL3AP1JC174528   Nissan       ALTIMA               Tampa                    FL
44319   1N4AL3AP1JC175226   Nissan       ALTIMA               SAN FRANCISCO            CA
44320   1N4AL3AP1JC175324   Nissan       ALTIMA               GLEN BURNIE              MD
44321   1N4AL3AP1JC175470   Nissan       ALTIMA               SEATAC                   WA
44322   1N4AL3AP1JC175825   Nissan       ALTIMA               BURBANK                  CA
44323   1N4AL3AP1JC176991   Nissan       ALTIMA               Winter Park              FL
44324   1N4AL3AP1JC177283   Nissan       ALTIMA               PHOENIX                  AZ
44325   1N4AL3AP1JC177400   Nissan       ALTIMA               SAN JOSE                 CA
44326   1N4AL3AP1JC177526   Nissan       ALTIMA               Rockville Centr          NY
44327   1N4AL3AP1JC177798   Nissan       ALTIMA               LOS ANGELES              CA
44328   1N4AL3AP1JC180832   Nissan       ALTIMA               CHICAGO                  IL
44329   1N4AL3AP1JC180863   Nissan       ALTIMA               SAN JOSE                 CA
44330   1N4AL3AP1JC183472   Nissan       ALTIMA               SEATAC                   WA
44331   1N4AL3AP1JC183634   Nissan       ALTIMA               Rock Hill                SC
44332   1N4AL3AP1JC183763   Nissan       ALTIMA               SAN DIEGO                CA
44333   1N4AL3AP1JC187022   Nissan       ALTIMA               North Las Vegas          NV
44334   1N4AL3AP1JC188915   Nissan       ALTIMA               Kent                     WA
44335   1N4AL3AP1JC189112   Nissan       ALTIMA               STERLING                 VA
44336   1N4AL3AP1JC192415   Nissan       ALTIMA               DENVER                   CO
44337   1N4AL3AP1JC194455   Nissan       ALTIMA               Sterling                 VA
44338   1N4AL3AP1JC195332   Nissan       ALTIMA               North Dighton            MA
44339   1N4AL3AP1JC195640   Nissan       ALTIMA               Hattiesburg              MS
44340   1N4AL3AP1JC197453   Nissan       ALTIMA               COLLEGE PARK             GA
44341   1N4AL3AP1JC198893   Nissan       ALTIMA               UNION CITY               GA
44342   1N4AL3AP1JC200108   Nissan       ALTIMA               CATONSVILLE              MD
44343   1N4AL3AP1JC202277   Nissan       ALTIMA               HANOVER                  MD
44344   1N4AL3AP1JC206846   Nissan       ALTIMA               Englewood                CO
44345   1N4AL3AP1JC207530   Nissan       ALTIMA               Tolleson                 AZ
44346   1N4AL3AP1JC208435   Nissan       ALTIMA               Phoenix                  AZ
44347   1N4AL3AP1JC208760   Nissan       ALTIMA               Portland                 OR
44348   1N4AL3AP1JC209486   Nissan       ALTIMA               SAN JOSE                 CA
44349   1N4AL3AP1JC209682   Nissan       ALTIMA               LOS ANGELES              CA
44350   1N4AL3AP1JC209973   Nissan       ALTIMA               Las Vegas                NV
44351   1N4AL3AP1JC210010   Nissan       ALTIMA               SAN JOSE                 CA
44352   1N4AL3AP1JC210959   Nissan       ALTIMA               CHICAGO                  IL
44353   1N4AL3AP1JC211156   Nissan       ALTIMA               SANTA ANA                CA
44354   1N4AL3AP1JC211285   Nissan       ALTIMA               LOS ANGELES              CA
44355   1N4AL3AP1JC211710   Nissan       ALTIMA               BURBANK                  CA
44356   1N4AL3AP1JC211884   Nissan       ALTIMA               SAN JOSE                 CA
44357   1N4AL3AP1JC212243   Nissan       ALTIMA               Atlanta                  GA
44358   1N4AL3AP1JC212419   Nissan       ALTIMA               Warminster               PA
44359   1N4AL3AP1JC212565   Nissan       ALTIMA               Fontana                  CA
44360   1N4AL3AP1JC214025   Nissan       ALTIMA               Norwalk                  CA
44361   1N4AL3AP1JC214316   Nissan       ALTIMA               BURBANK                  CA
44362   1N4AL3AP1JC214624   Nissan       ALTIMA               BURBANK                  CA
44363   1N4AL3AP1JC214705   Nissan       ALTIMA               LOS ANGELES              CA
44364   1N4AL3AP1JC215062   Nissan       ALTIMA               N. Las Vegas             NV
44365   1N4AL3AP1JC215658   Nissan       ALTIMA               SACRAMENTO               CA
44366   1N4AL3AP1JC216065   Nissan       ALTIMA               SAN FRANCISCO            CA
44367   1N4AL3AP1JC216888   Nissan       ALTIMA               SAN JOSE                 CA
44368   1N4AL3AP1JC217006   Nissan       ALTIMA               LOS ANGELES              CA
44369   1N4AL3AP1JC217037   Nissan       ALTIMA               SEATAC                   WA
44370   1N4AL3AP1JC217426   Nissan       ALTIMA               Newport Beach            CA
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44371   1N4AL3AP1JC217491   Nissan       ALTIMA               BURBANK                  CA
44372   1N4AL3AP1JC219855   Nissan       ALTIMA               MIAMI                    FL
44373   1N4AL3AP1JC226675   Nissan       ALTIMA               PALM SPRINGS             CA
44374   1N4AL3AP1JC226806   Nissan       ALTIMA               Atlanta                  GA
44375   1N4AL3AP1JC227096   Nissan       ALTIMA               OAKLAND                  CA
44376   1N4AL3AP1JC227115   Nissan       ALTIMA               Los Angeles              CA
44377   1N4AL3AP1JC227437   Nissan       ALTIMA               OAKLAND                  CA
44378   1N4AL3AP1JC229091   Nissan       ALTIMA               SAN DIEGO                CA
44379   1N4AL3AP1JC230290   Nissan       ALTIMA               Newark                   NJ
44380   1N4AL3AP1JC233139   Nissan       ALTIMA               PHOENIX                  AZ
44381   1N4AL3AP1JC233318   Nissan       ALTIMA               N. Las Vegas             NV
44382   1N4AL3AP1JC233612   Nissan       ALTIMA               LOS ANGELES              CA
44383   1N4AL3AP1JC234727   Nissan       ALTIMA               Warwick                  RI
44384   1N4AL3AP1JC235523   Nissan       ALTIMA               BALTIMORE                MD
44385   1N4AL3AP1JC238857   Nissan       ALTIMA               KANSAS CITY              MO
44386   1N4AL3AP1JC240009   Nissan       ALTIMA               LOS ANGELES              CA
44387   1N4AL3AP1JC240303   Nissan       ALTIMA               SANTA ANA                CA
44388   1N4AL3AP1JC242102   Nissan       ALTIMA               BURBANK                  CA
44389   1N4AL3AP1JC242276   Nissan       ALTIMA               MONTCLAIR                CA
44390   1N4AL3AP1JC242410   Nissan       ALTIMA               SAN FRANCISCO            CA
44391   1N4AL3AP1JC242603   Nissan       ALTIMA               ONTARIO                  CA
44392   1N4AL3AP1JC242620   Nissan       ALTIMA               BOISE                    US
44393   1N4AL3AP1JC243136   Nissan       ALTIMA               LAS VEGAS                NV
44394   1N4AL3AP1JC243623   Nissan       ALTIMA               Anaheim                  CA
44395   1N4AL3AP1JC243640   Nissan       ALTIMA               SANTA ANA                CA
44396   1N4AL3AP1JC243797   Nissan       ALTIMA               SAN DIEGO                CA
44397   1N4AL3AP1JC243816   Nissan       ALTIMA               PETALUMA                 CA
44398   1N4AL3AP1JC244075   Nissan       ALTIMA               PICO RIVERA              CA
44399   1N4AL3AP1JC244092   Nissan       ALTIMA               ROSEVILLE                CA
44400   1N4AL3AP1JC244500   Nissan       ALTIMA               Phoenix                  AZ
44401   1N4AL3AP1JC244576   Nissan       ALTIMA               CHANDLER                 AZ
44402   1N4AL3AP1JC244741   Nissan       ALTIMA               Roseville                CA
44403   1N4AL3AP1JC244772   Nissan       ALTIMA               SALT LAKE CITY           UT
44404   1N4AL3AP1JC245243   Nissan       ALTIMA               SAN FRANCISCO            CA
44405   1N4AL3AP1JC245856   Nissan       ALTIMA               Sacramento               CA
44406   1N4AL3AP1JC246506   Nissan       ALTIMA               SAN JOSE                 CA
44407   1N4AL3AP1JC246599   Nissan       ALTIMA               LOS ANGELES              CA
44408   1N4AL3AP1JC246859   Nissan       ALTIMA               INGLEWOOD                CA
44409   1N4AL3AP1JC246926   Nissan       ALTIMA               PLEASANTON               CA
44410   1N4AL3AP1JC247347   Nissan       ALTIMA               BURBANK                  CA
44411   1N4AL3AP1JC248031   Nissan       ALTIMA               LOS ANGELES              CA
44412   1N4AL3AP1JC248322   Nissan       ALTIMA               SEATAC                   WA
44413   1N4AL3AP1JC248787   Nissan       ALTIMA               Pasadena                 CA
44414   1N4AL3AP1JC249065   Nissan       ALTIMA               CHICAGO                  IL
44415   1N4AL3AP1JC250975   Nissan       ALTIMA               LOS ANGELES              CA
44416   1N4AL3AP1JC251060   Nissan       ALTIMA               LOS ANGELES              CA
44417   1N4AL3AP1JC254363   Nissan       ALTIMA               LAS VEGAS                NV
44418   1N4AL3AP1JC255366   Nissan       ALTIMA               Denver                   CO
44419   1N4AL3AP1JC262964   Nissan       ALTIMA               CHICAGO                  IL
44420   1N4AL3AP1JC267307   Nissan       ALTIMA               LOS ANGELES              CA
44421   1N4AL3AP1JC268750   Nissan       ALTIMA               Anaheim                  CA
44422   1N4AL3AP1JC272085   Nissan       ALTIMA               SALT LAKE CITY           US
44423   1N4AL3AP1JC274919   Nissan       ALTIMA               Matteson                 IL
44424   1N4AL3AP1JC280204   Nissan       ALTIMA               N. Palm Beach            FL
44425   1N4AL3AP1JC280803   Nissan       ALTIMA               PALM SPRINGS             CA
44426   1N4AL3AP1JC283538   Nissan       ALTIMA               Reno                     NV
44427   1N4AL3AP1JC284494   Nissan       ALTIMA               PHOENIX                  AZ
44428   1N4AL3AP2FC499440   Nissan       ALTIMA               Elkridge                 MD
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44429   1N4AL3AP2FN917502   Nissan      ALTIMA               SPRINGFIELD              VA
44430   1N4AL3AP2GN337376   Nissan      ALTIMA               Phoenix                  AZ
44431   1N4AL3AP2HC244595   Nissan      ALTIMA               LOS ANGELES              CA
44432   1N4AL3AP2HC248422   Nissan      ALTIMA               Portland                 OR
44433   1N4AL3AP2HC248632   Nissan      ALTIMA               Burien                   WA
44434   1N4AL3AP2HC251028   Nissan      ALTIMA               LOS ANGELES              CA
44435   1N4AL3AP2HC268752   Nissan      ALTIMA               PITTSBURGH               PA
44436   1N4AL3AP2HC286247   Nissan      ALTIMA               Riverside                CA
44437   1N4AL3AP2HC286362   Nissan      ALTIMA               Hayward                  CA
44438   1N4AL3AP2HC287768   Nissan      ALTIMA               Riverside                CA
44439   1N4AL3AP2HC289049   Nissan      ALTIMA               Stockton                 CA
44440   1N4AL3AP2HC290637   Nissan      ALTIMA               LOS ANGELES              CA
44441   1N4AL3AP2HC291674   Nissan      ALTIMA               LOS ANGELES              CA
44442   1N4AL3AP2HC292341   Nissan      ALTIMA               Kahului                  HI
44443   1N4AL3AP2HC292923   Nissan      ALTIMA               ONTARIO                  CA
44444   1N4AL3AP2HC294218   Nissan      ALTIMA               TRACY                    CA
44445   1N4AL3AP2HN326542   Nissan      ALTIMA               CHICAGO                  IL
44446   1N4AL3AP2HN342708   Nissan      ALTIMA               HANOVER                  MD
44447   1N4AL3AP2HN344331   Nissan      ALTIMA               SPRINGFIELD              VA
44448   1N4AL3AP2HN345849   Nissan      ALTIMA               Elkridge                 MD
44449   1N4AL3AP2HN346757   Nissan      ALTIMA               LAS VEGAS                NV
44450   1N4AL3AP2HN355488   Nissan      ALTIMA               LOS ANGELES              CA
44451   1N4AL3AP2HN355572   Nissan      ALTIMA               Kent                     WA
44452   1N4AL3AP2HN357970   Nissan      ALTIMA               Matteson                 IL
44453   1N4AL3AP2HN362165   Nissan      ALTIMA               HANOVER                  MD
44454   1N4AL3AP2HN363090   Nissan      ALTIMA               HANOVER                  MD
44455   1N4AL3AP2HN363316   Nissan      ALTIMA               Hanover                  MD
44456   1N4AL3AP2HN363686   Nissan      ALTIMA               Elkridge                 MD
44457   1N4AL3AP2HN365499   Nissan      ALTIMA               Tampa                    FL
44458   1N4AL3AP2JC108179   Nissan      ALTIMA               WEST PALM BEACH          FL
44459   1N4AL3AP2JC116363   Nissan      ALTIMA               SAN FRANCISCO            CA
44460   1N4AL3AP2JC117593   Nissan      ALTIMA               Fontana                  CA
44461   1N4AL3AP2JC118114   Nissan      ALTIMA               Atlanta                  GA
44462   1N4AL3AP2JC118503   Nissan      ALTIMA               Baltimore                MD
44463   1N4AL3AP2JC119912   Nissan      ALTIMA               Atlanta                  GA
44464   1N4AL3AP2JC120297   Nissan      ALTIMA               North Las Vegas          NV
44465   1N4AL3AP2JC120557   Nissan      ALTIMA               Cleveland                OH
44466   1N4AL3AP2JC121613   Nissan      ALTIMA               ORLANDO                  FL
44467   1N4AL3AP2JC121658   Nissan      ALTIMA               ROSEVILLE                CA
44468   1N4AL3AP2JC126827   Nissan      ALTIMA               Atlanta                  GA
44469   1N4AL3AP2JC130764   Nissan      ALTIMA               Tulsa                    OK
44470   1N4AL3AP2JC131090   Nissan      ALTIMA               Bensalem                 PA
44471   1N4AL3AP2JC132045   Nissan      ALTIMA               HANOVER                  MD
44472   1N4AL3AP2JC132644   Nissan      ALTIMA               TRACY                    CA
44473   1N4AL3AP2JC133003   Nissan      ALTIMA               Tampa                    FL
44474   1N4AL3AP2JC134166   Nissan      ALTIMA               Baltimore                MD
44475   1N4AL3AP2JC134443   Nissan      ALTIMA               Davie                    FL
44476   1N4AL3AP2JC134510   Nissan      ALTIMA               TAMPA                    FL
44477   1N4AL3AP2JC134927   Nissan      ALTIMA               Rock Hill                SC
44478   1N4AL3AP2JC134992   Nissan      ALTIMA               ATLANTA                  GA
44479   1N4AL3AP2JC135592   Nissan      ALTIMA               ATLANTA                  GA
44480   1N4AL3AP2JC136080   Nissan      ALTIMA               Rock Hill                SC
44481   1N4AL3AP2JC139108   Nissan      ALTIMA               Estero                   FL
44482   1N4AL3AP2JC140047   Nissan      ALTIMA               PHILADELPHIA             PA
44483   1N4AL3AP2JC140839   Nissan      ALTIMA               Davie                    FL
44484   1N4AL3AP2JC141487   Nissan      ALTIMA               Elkridge                 MD
44485   1N4AL3AP2JC153302   Nissan      ALTIMA               Tampa                    FL
44486   1N4AL3AP2JC153400   Nissan      ALTIMA               BURBANK                  CA
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44487   1N4AL3AP2JC154613   Nissan       ALTIMA               NASHVILLE                TN
44488   1N4AL3AP2JC162582   Nissan       ALTIMA               STERLING                 VA
44489   1N4AL3AP2JC162694   Nissan       ALTIMA               Elkridge                 MD
44490   1N4AL3AP2JC162856   Nissan       ALTIMA               MORROW                   GA
44491   1N4AL3AP2JC163280   Nissan       ALTIMA               North Dighton            MA
44492   1N4AL3AP2JC163327   Nissan       ALTIMA               Matteson                 IL
44493   1N4AL3AP2JC163456   Nissan       ALTIMA               PHILADELPHIA             PA
44494   1N4AL3AP2JC163702   Nissan       ALTIMA               North Billerica          MA
44495   1N4AL3AP2JC164011   Nissan       ALTIMA               SPRINGFIELD              VA
44496   1N4AL3AP2JC164025   Nissan       ALTIMA               RICHMOND                 VA
44497   1N4AL3AP2JC164414   Nissan       ALTIMA               North Dighton            MA
44498   1N4AL3AP2JC165353   Nissan       ALTIMA               DALLAS                   TX
44499   1N4AL3AP2JC166874   Nissan       ALTIMA               HANOVER                  MD
44500   1N4AL3AP2JC167085   Nissan       ALTIMA               FULLERTON                CA
44501   1N4AL3AP2JC167328   Nissan       ALTIMA               North Dighton            MA
44502   1N4AL3AP2JC168270   Nissan       ALTIMA               Coraopolis               PA
44503   1N4AL3AP2JC168379   Nissan       ALTIMA               DANIA BEACH              FL
44504   1N4AL3AP2JC168575   Nissan       ALTIMA               Tampa                    FL
44505   1N4AL3AP2JC168690   Nissan       ALTIMA               Fontana                  CA
44506   1N4AL3AP2JC169886   Nissan       ALTIMA               Bordentown               NJ
44507   1N4AL3AP2JC170097   Nissan       ALTIMA               Fredericksburg           VA
44508   1N4AL3AP2JC170584   Nissan       ALTIMA               DAYTONA BEACH            FL
44509   1N4AL3AP2JC170634   Nissan       ALTIMA               SEATAC                   WA
44510   1N4AL3AP2JC170861   Nissan       ALTIMA               Elkridge                 MD
44511   1N4AL3AP2JC171525   Nissan       ALTIMA               PHILADELPHIA             PA
44512   1N4AL3AP2JC171878   Nissan       ALTIMA               MIDDLE RIVER             MD
44513   1N4AL3AP2JC172299   Nissan       ALTIMA               FORT LAUDERDALE          FL
44514   1N4AL3AP2JC172741   Nissan       ALTIMA               Elkridge                 MD
44515   1N4AL3AP2JC173338   Nissan       ALTIMA               Tolleson                 AZ
44516   1N4AL3AP2JC173369   Nissan       ALTIMA               OAKLAND                  CA
44517   1N4AL3AP2JC173730   Nissan       ALTIMA               SANTA ANA                CA
44518   1N4AL3AP2JC173758   Nissan       ALTIMA               Slidell                  LA
44519   1N4AL3AP2JC173808   Nissan       ALTIMA               LOS ANGELES              CA
44520   1N4AL3AP2JC173825   Nissan       ALTIMA               BURBANK                  CA
44521   1N4AL3AP2JC173923   Nissan       ALTIMA               SAN DIEGO                CA
44522   1N4AL3AP2JC174053   Nissan       ALTIMA               SACRAMENTO               CA
44523   1N4AL3AP2JC174411   Nissan       ALTIMA               LAS VEGAS                NV
44524   1N4AL3AP2JC174800   Nissan       ALTIMA               Detroit                  MI
44525   1N4AL3AP2JC175316   Nissan       ALTIMA               Burien                   WA
44526   1N4AL3AP2JC175431   Nissan       ALTIMA               Sacramento               CA
44527   1N4AL3AP2JC175509   Nissan       ALTIMA               Rochester                NY
44528   1N4AL3AP2JC176482   Nissan       ALTIMA               PHILADELPHIA             PA
44529   1N4AL3AP2JC176613   Nissan       ALTIMA               Winter Park              FL
44530   1N4AL3AP2JC176885   Nissan       ALTIMA               MIAMI                    FL
44531   1N4AL3AP2JC177339   Nissan       ALTIMA               STERLING                 VA
44532   1N4AL3AP2JC177518   Nissan       ALTIMA               FT LAUDERDALE            FL
44533   1N4AL3AP2JC177728   Nissan       ALTIMA               KENNER                   LA
44534   1N4AL3AP2JC177857   Nissan       ALTIMA               SANTA ANA                CA
44535   1N4AL3AP2JC177969   Nissan       ALTIMA               ROSEVILLE                CA
44536   1N4AL3AP2JC180841   Nissan       ALTIMA               ENGLEWOOD                CO
44537   1N4AL3AP2JC181939   Nissan       ALTIMA               Dallas                   TX
44538   1N4AL3AP2JC183075   Nissan       ALTIMA               Riverside                CA
44539   1N4AL3AP2JC186168   Nissan       ALTIMA               TAMPA                    FL
44540   1N4AL3AP2JC186557   Nissan       ALTIMA               NEWPORT BEACH            CA
44541   1N4AL3AP2JC188695   Nissan       ALTIMA               WHITE PLAINS             NY
44542   1N4AL3AP2JC190110   Nissan       ALTIMA               SAN JOSE                 CA
44543   1N4AL3AP2JC191712   Nissan       ALTIMA               Fort Worth               TX
44544   1N4AL3AP2JC192651   Nissan       ALTIMA               North Dighton            MA
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44545   1N4AL3AP2JC194092   Nissan       ALTIMA               Phoenix                  AZ
44546   1N4AL3AP2JC194674   Nissan       ALTIMA               Smithtown                NY
44547   1N4AL3AP2JC195050   Nissan       ALTIMA               Elkridge                 MD
44548   1N4AL3AP2JC196165   Nissan       ALTIMA               CLEVELAND                OH
44549   1N4AL3AP2JC197624   Nissan       ALTIMA               SPRINGFIELD              VA
44550   1N4AL3AP2JC199034   Nissan       ALTIMA               North Dighton            MA
44551   1N4AL3AP2JC199051   Nissan       ALTIMA               Grove City               OH
44552   1N4AL3AP2JC199311   Nissan       ALTIMA               SOUTHEAST DST OFFC       OK
44553   1N4AL3AP2JC199406   Nissan       ALTIMA               PHILADELPHIA             PA
44554   1N4AL3AP2JC199549   Nissan       ALTIMA               Honolulu                 HI
44555   1N4AL3AP2JC199888   Nissan       ALTIMA               STERLING                 VA
44556   1N4AL3AP2JC200117   Nissan       ALTIMA               BALDWIN                  NY
44557   1N4AL3AP2JC204832   Nissan       ALTIMA               SAN ANTONIO              TX
44558   1N4AL3AP2JC205723   Nissan       ALTIMA               LAS VEGAS                NV
44559   1N4AL3AP2JC208122   Nissan       ALTIMA               Dallas                   TX
44560   1N4AL3AP2JC209092   Nissan       ALTIMA               LOS ANGELES              CA
44561   1N4AL3AP2JC209271   Nissan       ALTIMA               LOS ANGELES              CA
44562   1N4AL3AP2JC209657   Nissan       ALTIMA               SANTA ANA                CA
44563   1N4AL3AP2JC209688   Nissan       ALTIMA               LAS VEGAS                NV
44564   1N4AL3AP2JC209951   Nissan       ALTIMA               SAN JOSE                 CA
44565   1N4AL3AP2JC210355   Nissan       ALTIMA               ONTARIO                  CA
44566   1N4AL3AP2JC210808   Nissan       ALTIMA               Tolleson                 AZ
44567   1N4AL3AP2JC210954   Nissan       ALTIMA               LOS ANGELES              CA
44568   1N4AL3AP2JC211098   Nissan       ALTIMA               LOS ANGELES              CA
44569   1N4AL3AP2JC211618   Nissan       ALTIMA               NORTH PAC                CA
44570   1N4AL3AP2JC213305   Nissan       ALTIMA               LOS ANGELES              CA
44571   1N4AL3AP2JC213739   Nissan       ALTIMA               Jacksonville             FL
44572   1N4AL3AP2JC213840   Nissan       ALTIMA               N. Las Vegas             NV
44573   1N4AL3AP2JC213868   Nissan       ALTIMA               BOSTON                   MA
44574   1N4AL3AP2JC213966   Nissan       ALTIMA               BURBANK                  CA
44575   1N4AL3AP2JC214289   Nissan       ALTIMA               ONTARIO                  CA
44576   1N4AL3AP2JC214308   Nissan       ALTIMA               PORTLAND                 OR
44577   1N4AL3AP2JC214633   Nissan       ALTIMA               COSTA MESA               CA
44578   1N4AL3AP2JC214972   Nissan       ALTIMA               BURBANK                  CA
44579   1N4AL3AP2JC215555   Nissan       ALTIMA               SAN JOSE                 CA
44580   1N4AL3AP2JC215796   Nissan       ALTIMA               LOS ANGELES              CA
44581   1N4AL3AP2JC217189   Nissan       ALTIMA               SAN JOSE                 CA
44582   1N4AL3AP2JC217418   Nissan       ALTIMA               Hayward                  CA
44583   1N4AL3AP2JC217581   Nissan       ALTIMA               LOS ANGELES              CA
44584   1N4AL3AP2JC221064   Nissan       ALTIMA               PHOENIX                  AZ
44585   1N4AL3AP2JC224675   Nissan       ALTIMA               MCALLEN                  TX
44586   1N4AL3AP2JC226667   Nissan       ALTIMA               SAN DIEGO                CA
44587   1N4AL3AP2JC226717   Nissan       ALTIMA               LAS VEGAS                NV
44588   1N4AL3AP2JC231688   Nissan       ALTIMA               San Diego                CA
44589   1N4AL3AP2JC231707   Nissan       ALTIMA               PICO RIVERA              CA
44590   1N4AL3AP2JC231836   Nissan       ALTIMA               SAN FRANCISCO            CA
44591   1N4AL3AP2JC231870   Nissan       ALTIMA               SANTA ANA                CA
44592   1N4AL3AP2JC232422   Nissan       ALTIMA               LOS ANGELES              CA
44593   1N4AL3AP2JC232436   Nissan       ALTIMA               SANTA ANA                CA
44594   1N4AL3AP2JC241024   Nissan       ALTIMA               BURBANK                  CA
44595   1N4AL3AP2JC242240   Nissan       ALTIMA               SAN FRANCISCO            CA
44596   1N4AL3AP2JC242318   Nissan       ALTIMA               SANTA ANA                CA
44597   1N4AL3AP2JC242626   Nissan       ALTIMA               FRESNO                   CA
44598   1N4AL3AP2JC242707   Nissan       ALTIMA               Mira Loma                CA
44599   1N4AL3AP2JC243095   Nissan       ALTIMA               Costa Mesa               CA
44600   1N4AL3AP2JC243145   Nissan       ALTIMA               OAKLAND                  CA
44601   1N4AL3AP2JC243226   Nissan       ALTIMA               Fontana                  CA
44602   1N4AL3AP2JC243355   Nissan       ALTIMA               SAN DIEGO                CA
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44603   1N4AL3AP2JC243520   Nissan      ALTIMA               SANTA CLARA              CA
44604   1N4AL3AP2JC243811   Nissan      ALTIMA               SAN JOSE                 CA
44605   1N4AL3AP2JC244571   Nissan      ALTIMA               SAN JOSE                 CA
44606   1N4AL3AP2JC244926   Nissan      ALTIMA               DENVER                   CO
44607   1N4AL3AP2JC244960   Nissan      ALTIMA               Tustin                   CA
44608   1N4AL3AP2JC245056   Nissan      ALTIMA               SAN FRANCISCO            CA
44609   1N4AL3AP2JC245073   Nissan      ALTIMA               SAN FRANCISCO            CA
44610   1N4AL3AP2JC245266   Nissan      ALTIMA               BURBANK                  CA
44611   1N4AL3AP2JC245817   Nissan      ALTIMA               SAN FRANCISCO            CA
44612   1N4AL3AP2JC245851   Nissan      ALTIMA               LOS ANGELES              CA
44613   1N4AL3AP2JC246322   Nissan      ALTIMA               LOS ANGELES              CA
44614   1N4AL3AP2JC246370   Nissan      ALTIMA               LOS ANGELES              CA
44615   1N4AL3AP2JC246627   Nissan      ALTIMA               SALT LAKE CITY           US
44616   1N4AL3AP2JC246868   Nissan      ALTIMA               PLEASANTON               CA
44617   1N4AL3AP2JC246904   Nissan      ALTIMA               SAN JOSE                 CA
44618   1N4AL3AP2JC248118   Nissan      ALTIMA               Portland                 OR
44619   1N4AL3AP2JC248362   Nissan      ALTIMA               Downey                   CA
44620   1N4AL3AP2JC248832   Nissan      ALTIMA               SAN FRANCISCO            CA
44621   1N4AL3AP2JC249124   Nissan      ALTIMA               HANOVER                  MD
44622   1N4AL3AP2JC250080   Nissan      ALTIMA               SANTA ANA                CA
44623   1N4AL3AP2JC250306   Nissan      ALTIMA               Riverside                CA
44624   1N4AL3AP2JC250399   Nissan      ALTIMA               PLEASANTON               CA
44625   1N4AL3AP2JC250404   Nissan      ALTIMA               Smithtown                NY
44626   1N4AL3AP2JC251469   Nissan      ALTIMA               SANTA ANA                CA
44627   1N4AL3AP2JC251651   Nissan      ALTIMA               SEATAC                   WA
44628   1N4AL3AP2JC251701   Nissan      ALTIMA               Hayward                  CA
44629   1N4AL3AP2JC254162   Nissan      ALTIMA               LAKEWOOD                 WA
44630   1N4AL3AP2JC254288   Nissan      ALTIMA               CHICAGO                  IL
44631   1N4AL3AP2JC261208   Nissan      ALTIMA               CHICAGO                  IL
44632   1N4AL3AP2JC264528   Nissan      ALTIMA               ONTARIO                  CA
44633   1N4AL3AP2JC266263   Nissan      ALTIMA               Oceanside                CA
44634   1N4AL3AP2JC267283   Nissan      ALTIMA               Torrance                 CA
44635   1N4AL3AP2JC268238   Nissan      ALTIMA               CHICAGO                  IL
44636   1N4AL3AP2JC268739   Nissan      ALTIMA               ORANGE COUNTY            CA
44637   1N4AL3AP2JC269616   Nissan      ALTIMA               CHICAGO                  IL
44638   1N4AL3AP2JC280177   Nissan      ALTIMA               SAN FRANCISCO            CA
44639   1N4AL3AP2JC280678   Nissan      ALTIMA               SALT LAKE CITY           UT
44640   1N4AL3AP2JC280986   Nissan      ALTIMA               BURBANK                  CA
44641   1N4AL3AP2JC281751   Nissan      ALTIMA               LOS ANGELES              CA
44642   1N4AL3AP2JC282494   Nissan      ALTIMA               LAS VEGAS                NV
44643   1N4AL3AP3FC581662   Nissan      ALTIMA               Elkridge                 MD
44644   1N4AL3AP3GC119930   Nissan      ALTIMA               Kent                     WA
44645   1N4AL3AP3HC143050   Nissan      ALTIMA               BURBANK                  CA
44646   1N4AL3AP3HC186805   Nissan      ALTIMA               WEST COLUMBIA            SC
44647   1N4AL3AP3HC206163   Nissan      ALTIMA               SPRINGFIELD              MO
44648   1N4AL3AP3HC211508   Nissan      ALTIMA               MORROW                   GA
44649   1N4AL3AP3HC213839   Nissan      ALTIMA               Fredericksburg           VA
44650   1N4AL3AP3HC241754   Nissan      ALTIMA               McHenry                  IL
44651   1N4AL3AP3HC245027   Nissan      ALTIMA               SAN FRANCISCO            CA
44652   1N4AL3AP3HC248302   Nissan      ALTIMA               SAN JOSE                 CA
44653   1N4AL3AP3HC248588   Nissan      ALTIMA               NORTH PAC                CA
44654   1N4AL3AP3HC251216   Nissan      ALTIMA               PLEASANTON               CA
44655   1N4AL3AP3HC252642   Nissan      ALTIMA               Mira Loma                CA
44656   1N4AL3AP3HC254536   Nissan      ALTIMA               DES PLAINES              US
44657   1N4AL3AP3HC281297   Nissan      ALTIMA               DANIA BEACH              FL
44658   1N4AL3AP3HC285818   Nissan      ALTIMA               Hayward                  CA
44659   1N4AL3AP3HC286841   Nissan      ALTIMA               HANOVER                  MD
44660   1N4AL3AP3HC290582   Nissan      ALTIMA               PICO RIVERA              CA
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44661   1N4AL3AP3HC290694   Nissan      ALTIMA               Kent                     WA
44662   1N4AL3AP3HC290842   Nissan      ALTIMA               BURBANK                  CA
44663   1N4AL3AP3HC291361   Nissan      ALTIMA               LOS ANGELES              CA
44664   1N4AL3AP3HC292283   Nissan      ALTIMA               SAN JOSE                 CA
44665   1N4AL3AP3HC292879   Nissan      ALTIMA               Roseville                CA
44666   1N4AL3AP3HC293255   Nissan      ALTIMA               LAS VEGAS                NV
44667   1N4AL3AP3HC294504   Nissan      ALTIMA               Davie                    FL
44668   1N4AL3AP3HN315839   Nissan      ALTIMA               Mt. Juliet               TN
44669   1N4AL3AP3HN350266   Nissan      ALTIMA               CHICAGO O'HARE AP        IL
44670   1N4AL3AP3HN350767   Nissan      ALTIMA               DES PLAINES              IL
44671   1N4AL3AP3HN352762   Nissan      ALTIMA               LOS ANGELES              CA
44672   1N4AL3AP3HN353796   Nissan      ALTIMA               BURBANK                  CA
44673   1N4AL3AP3HN353894   Nissan      ALTIMA               Mira Loma                CA
44674   1N4AL3AP3HN355726   Nissan      ALTIMA               CHICAGO                  IL
44675   1N4AL3AP3HN355919   Nissan      ALTIMA               Burien                   WA
44676   1N4AL3AP3HN363065   Nissan      ALTIMA               ORLANDO                  FL
44677   1N4AL3AP3HN363387   Nissan      ALTIMA               Austell                  GA
44678   1N4AL3AP3HN363728   Nissan      ALTIMA               RICHMOND                 VA
44679   1N4AL3AP3JC113441   Nissan      ALTIMA               MIAMI                    FL
44680   1N4AL3AP3JC115951   Nissan      ALTIMA               DANIA BEACH              FL
44681   1N4AL3AP3JC117179   Nissan      ALTIMA               STERLING                 VA
44682   1N4AL3AP3JC117991   Nissan      ALTIMA               STERLING                 VA
44683   1N4AL3AP3JC119188   Nissan      ALTIMA               Tampa                    FL
44684   1N4AL3AP3JC119224   Nissan      ALTIMA               CHICAGO                  IL
44685   1N4AL3AP3JC119479   Nissan      ALTIMA               PHILADELPHIA             PA
44686   1N4AL3AP3JC120793   Nissan      ALTIMA               Tampa                    FL
44687   1N4AL3AP3JC122429   Nissan      ALTIMA               FT LAUDERDALE            FL
44688   1N4AL3AP3JC125525   Nissan      ALTIMA               WEST PALM BEACH          FL
44689   1N4AL3AP3JC126044   Nissan      ALTIMA               North Dighton            MA
44690   1N4AL3AP3JC127565   Nissan      ALTIMA               CHICAGO                  IL
44691   1N4AL3AP3JC127596   Nissan      ALTIMA               Slidell                  LA
44692   1N4AL3AP3JC127730   Nissan      ALTIMA               FORT LAUDERDALE          FL
44693   1N4AL3AP3JC128568   Nissan      ALTIMA               TAMPA                    FL
44694   1N4AL3AP3JC129302   Nissan      ALTIMA               PHILADELPHIA             PA
44695   1N4AL3AP3JC131101   Nissan      ALTIMA               HANOVER                  MD
44696   1N4AL3AP3JC131292   Nissan      ALTIMA               Detroit                  MI
44697   1N4AL3AP3JC131390   Nissan      ALTIMA               PHILADELPHIA             PA
44698   1N4AL3AP3JC132233   Nissan      ALTIMA               LOS ANGELES              CA
44699   1N4AL3AP3JC132927   Nissan      ALTIMA               SEATAC                   WA
44700   1N4AL3AP3JC138632   Nissan      ALTIMA               Baltimore                MD
44701   1N4AL3AP3JC140123   Nissan      ALTIMA               N. Palm Beach            FL
44702   1N4AL3AP3JC145774   Nissan      ALTIMA               NOTTINGHAM               MD
44703   1N4AL3AP3JC146021   Nissan      ALTIMA               Warwick                  RI
44704   1N4AL3AP3JC153454   Nissan      ALTIMA               Sanford                  FL
44705   1N4AL3AP3JC162610   Nissan      ALTIMA               Elkridge                 MD
44706   1N4AL3AP3JC163286   Nissan      ALTIMA               FORT MYERS               FL
44707   1N4AL3AP3JC163448   Nissan      ALTIMA               NOTTINGHAM               MD
44708   1N4AL3AP3JC164826   Nissan      ALTIMA               PHOENIX                  AZ
44709   1N4AL3AP3JC164857   Nissan      ALTIMA               Memphis                  TN
44710   1N4AL3AP3JC165197   Nissan      ALTIMA               Chicago                  IL
44711   1N4AL3AP3JC165216   Nissan      ALTIMA               N. Palm Beach            FL
44712   1N4AL3AP3JC165250   Nissan      ALTIMA               RALEIGH                  NC
44713   1N4AL3AP3JC165295   Nissan      ALTIMA               BOSTON                   MA
44714   1N4AL3AP3JC165975   Nissan      ALTIMA               Charlotte                NC
44715   1N4AL3AP3JC166494   Nissan      ALTIMA               PHILADELPHIA             PA
44716   1N4AL3AP3JC167631   Nissan      ALTIMA               STERLING                 VA
44717   1N4AL3AP3JC168407   Nissan      ALTIMA               Dallas                   TX
44718   1N4AL3AP3JC168729   Nissan      ALTIMA               HANOVER                  MD
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44719   1N4AL3AP3JC169055   Nissan       ALTIMA               Woodhaven                MI
44720   1N4AL3AP3JC169282   Nissan       ALTIMA               PHILADELPHIA             PA
44721   1N4AL3AP3JC169430   Nissan       ALTIMA               HANOVER                  MD
44722   1N4AL3AP3JC169752   Nissan       ALTIMA               N. Palm Beach            FL
44723   1N4AL3AP3JC170061   Nissan       ALTIMA               Ocoee                    FL
44724   1N4AL3AP3JC170285   Nissan       ALTIMA               Tampa                    FL
44725   1N4AL3AP3JC170416   Nissan       ALTIMA               Elkridge                 MD
44726   1N4AL3AP3JC170884   Nissan       ALTIMA               Rock Hill                SC
44727   1N4AL3AP3JC171629   Nissan       ALTIMA               BALDWIN                  NY
44728   1N4AL3AP3JC171727   Nissan       ALTIMA               MALDEN                   MA
44729   1N4AL3AP3JC171758   Nissan       ALTIMA               North Dighton            MA
44730   1N4AL3AP3JC171811   Nissan       ALTIMA               LOS ANGELES              CA
44731   1N4AL3AP3JC172389   Nissan       ALTIMA               WILMINGTON               CA
44732   1N4AL3AP3JC172523   Nissan       ALTIMA               Smithtown                NY
44733   1N4AL3AP3JC172618   Nissan       ALTIMA               LOS ANGELES              CA
44734   1N4AL3AP3JC172764   Nissan       ALTIMA               Riverside                CA
44735   1N4AL3AP3JC172831   Nissan       ALTIMA               WAIMEA                   HI
44736   1N4AL3AP3JC172876   Nissan       ALTIMA               STERLING                 VA
44737   1N4AL3AP3JC172912   Nissan       ALTIMA               Elkridge                 MD
44738   1N4AL3AP3JC173056   Nissan       ALTIMA               Bridgeton                MO
44739   1N4AL3AP3JC173512   Nissan       ALTIMA               Honolulu                 HI
44740   1N4AL3AP3JC174062   Nissan       ALTIMA               ONTARIO                  CA
44741   1N4AL3AP3JC174319   Nissan       ALTIMA               SAN JOSE                 CA
44742   1N4AL3AP3JC174871   Nissan       ALTIMA               Culpeper                 VA
44743   1N4AL3AP3JC174918   Nissan       ALTIMA               SAN FRANCISCO            CA
44744   1N4AL3AP3JC175471   Nissan       ALTIMA               Los Angeles              CA
44745   1N4AL3AP3JC175499   Nissan       ALTIMA               MELROSE PARK             IL
44746   1N4AL3AP3JC176362   Nissan       ALTIMA               SALT LAKE CITY           UT
44747   1N4AL3AP3JC176569   Nissan       ALTIMA               Hayward                  CA
44748   1N4AL3AP3JC177267   Nissan       ALTIMA               SAN DIEGO                CA
44749   1N4AL3AP3JC177382   Nissan       ALTIMA               NEWARK                   NJ
44750   1N4AL3AP3JC177432   Nissan       ALTIMA               TRACY                    CA
44751   1N4AL3AP3JC178127   Nissan       ALTIMA               North Las Vegas          NV
44752   1N4AL3AP3JC181142   Nissan       ALTIMA               Riverside                CA
44753   1N4AL3AP3JC183067   Nissan       ALTIMA               SANTA ANA                CA
44754   1N4AL3AP3JC185403   Nissan       ALTIMA               Scottsdale               AZ
44755   1N4AL3AP3JC185420   Nissan       ALTIMA               Harvey                   LA
44756   1N4AL3AP3JC185823   Nissan       ALTIMA               Brighton                 CO
44757   1N4AL3AP3JC185918   Nissan       ALTIMA               SAN JOSE                 CA
44758   1N4AL3AP3JC186292   Nissan       ALTIMA               Elgin                    IL
44759   1N4AL3AP3JC187779   Nissan       ALTIMA               CHICAGO                  IL
44760   1N4AL3AP3JC190018   Nissan       ALTIMA               BALTIMORE                MD
44761   1N4AL3AP3JC190410   Nissan       ALTIMA               Atlanta                  GA
44762   1N4AL3AP3JC191976   Nissan       ALTIMA               PHOENIX                  AZ
44763   1N4AL3AP3JC192691   Nissan       ALTIMA               Leesburg                 VA
44764   1N4AL3AP3JC192920   Nissan       ALTIMA               North Las Vegas          NV
44765   1N4AL3AP3JC193579   Nissan       ALTIMA               CLAIRTON                 PA
44766   1N4AL3AP3JC194103   Nissan       ALTIMA               CLEVELAND                OH
44767   1N4AL3AP3JC195722   Nissan       ALTIMA               DAYTONA BEACH            FL
44768   1N4AL3AP3JC195784   Nissan       ALTIMA               SANTA ANA                CA
44769   1N4AL3AP3JC197261   Nissan       ALTIMA               Ventura                  CA
44770   1N4AL3AP3JC197793   Nissan       ALTIMA               Manheim                  PA
44771   1N4AL3AP3JC198426   Nissan       ALTIMA               PHILADELPHIA             PA
44772   1N4AL3AP3JC199205   Nissan       ALTIMA               PHILADELPHIA             PA
44773   1N4AL3AP3JC201339   Nissan       ALTIMA               Roseville                CA
44774   1N4AL3AP3JC204015   Nissan       ALTIMA               PHOENIX                  AZ
44775   1N4AL3AP3JC205861   Nissan       ALTIMA               CLEVELAND                OH
44776   1N4AL3AP3JC206623   Nissan       ALTIMA               LOS ANGELES              CA
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44777   1N4AL3AP3JC207528   Nissan       ALTIMA               MEDINA                   OH
44778   1N4AL3AP3JC208078   Nissan       ALTIMA               Anaheim                  CA
44779   1N4AL3AP3JC208856   Nissan       ALTIMA               PHOENIX                  AZ
44780   1N4AL3AP3JC209487   Nissan       ALTIMA               LOS ANGELES              CA
44781   1N4AL3AP3JC209893   Nissan       ALTIMA               SAN DIEGO                CA
44782   1N4AL3AP3JC210106   Nissan       ALTIMA               LOS ANGELES              CA
44783   1N4AL3AP3JC210574   Nissan       ALTIMA               Norwalk                  CA
44784   1N4AL3AP3JC211837   Nissan       ALTIMA               LOS ANGELES              CA
44785   1N4AL3AP3JC213636   Nissan       ALTIMA               LOS ANGELES              CA
44786   1N4AL3AP3JC213958   Nissan       ALTIMA               Tolleson                 AZ
44787   1N4AL3AP3JC213992   Nissan       ALTIMA               TUCSON                   AZ
44788   1N4AL3AP3JC214026   Nissan       ALTIMA               INGLEWOOD                CA
44789   1N4AL3AP3JC214334   Nissan       ALTIMA               SAN JOSE                 CA
44790   1N4AL3AP3JC214737   Nissan       ALTIMA               NORTH PAC                CA
44791   1N4AL3AP3JC216164   Nissan       ALTIMA               TRACY                    CA
44792   1N4AL3AP3JC216178   Nissan       ALTIMA               LOS ANGELES              CA
44793   1N4AL3AP3JC216505   Nissan       ALTIMA               PHOENIX                  AZ
44794   1N4AL3AP3JC216892   Nissan       ALTIMA               LOS ANGELES              CA
44795   1N4AL3AP3JC217136   Nissan       ALTIMA               WILMINGTON               CA
44796   1N4AL3AP3JC217198   Nissan       ALTIMA               Tolleson                 AZ
44797   1N4AL3AP3JC217203   Nissan       ALTIMA               SANTA ANA                CA
44798   1N4AL3AP3JC217394   Nissan       ALTIMA               CHICAGO                  IL
44799   1N4AL3AP3JC217587   Nissan       ALTIMA               LOS ANGELES              CA
44800   1N4AL3AP3JC217671   Nissan       ALTIMA               SHREVEPORT               LA
44801   1N4AL3AP3JC226693   Nissan       ALTIMA               SAN DIEGO                CA
44802   1N4AL3AP3JC227519   Nissan       ALTIMA               LOUISVILLE               KY
44803   1N4AL3AP3JC229481   Nissan       ALTIMA               Rio Linda                CA
44804   1N4AL3AP3JC230663   Nissan       ALTIMA               SAN FRANCISCO            CA
44805   1N4AL3AP3JC232770   Nissan       ALTIMA               LAS VEGAS                NV
44806   1N4AL3AP3JC233191   Nissan       ALTIMA               SAN DIEGO                CA
44807   1N4AL3AP3JC238620   Nissan       ALTIMA               Matteson                 IL
44808   1N4AL3AP3JC238892   Nissan       ALTIMA               SAN FRANCISCO            CA
44809   1N4AL3AP3JC239928   Nissan       ALTIMA               LOS ANGELES              CA
44810   1N4AL3AP3JC240089   Nissan       ALTIMA               San Diego                CA
44811   1N4AL3AP3JC240190   Nissan       ALTIMA               BURBANK                  CA
44812   1N4AL3AP3JC240416   Nissan       ALTIMA               Costa Mesa               CA
44813   1N4AL3AP3JC240593   Nissan       ALTIMA               SANTA ANA                CA
44814   1N4AL3AP3JC240626   Nissan       ALTIMA               Kent                     WA
44815   1N4AL3AP3JC240819   Nissan       ALTIMA               SANTA ANA                CA
44816   1N4AL3AP3JC240982   Nissan       ALTIMA               BURBANK                  CA
44817   1N4AL3AP3JC241176   Nissan       ALTIMA               PHOENIX                  AZ
44818   1N4AL3AP3JC242862   Nissan       ALTIMA               Las Vegas                NV
44819   1N4AL3AP3JC242991   Nissan       ALTIMA               CHICAGO                  IL
44820   1N4AL3AP3JC243235   Nissan       ALTIMA               Tolleson                 AZ
44821   1N4AL3AP3JC243350   Nissan       ALTIMA               SAN DIEGO                CA
44822   1N4AL3AP3JC243364   Nissan       ALTIMA               Anaheim                  CA
44823   1N4AL3AP3JC243767   Nissan       ALTIMA               DENVER                   CO
44824   1N4AL3AP3JC243901   Nissan       ALTIMA               LOS ANGELES              CA
44825   1N4AL3AP3JC243963   Nissan       ALTIMA               FRESNO                   CA
44826   1N4AL3AP3JC244210   Nissan       ALTIMA               PITTSBURGH               PA
44827   1N4AL3AP3JC244322   Nissan       ALTIMA               SACRAMENTO               CA
44828   1N4AL3AP3JC244594   Nissan       ALTIMA               LAS VEGAS                NV
44829   1N4AL3AP3JC244921   Nissan       ALTIMA               SAN FRANCISCO            CA
44830   1N4AL3AP3JC245258   Nissan       ALTIMA               SAN JOSE                 CA
44831   1N4AL3AP3JC245275   Nissan       ALTIMA               SAN JOSE                 CA
44832   1N4AL3AP3JC246295   Nissan       ALTIMA               SAN DIEGO                CA
44833   1N4AL3AP3JC246300   Nissan       ALTIMA               SAN FRANCISCO            CA
44834   1N4AL3AP3JC246488   Nissan       ALTIMA               SANTA ANA                CA
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44835   1N4AL3AP3JC246524   Nissan      ALTIMA               SAN FRANCISCO            CA
44836   1N4AL3AP3JC246555   Nissan      ALTIMA               TAMPA                    FL
44837   1N4AL3AP3JC246667   Nissan      ALTIMA               N. Las Vegas             NV
44838   1N4AL3AP3JC246684   Nissan      ALTIMA               LOS ANGELES              CA
44839   1N4AL3AP3JC246913   Nissan      ALTIMA               ONTARIO                  CA
44840   1N4AL3AP3JC247057   Nissan      ALTIMA               Tolleson                 AZ
44841   1N4AL3AP3JC247611   Nissan      ALTIMA               SAN FRANCISCO            CA
44842   1N4AL3AP3JC247656   Nissan      ALTIMA               ONTARIO                  CA
44843   1N4AL3AP3JC248189   Nissan      ALTIMA               LOS ANGELES              CA
44844   1N4AL3AP3JC249083   Nissan      ALTIMA               LOS ANGELES              CA
44845   1N4AL3AP3JC249665   Nissan      ALTIMA               Riverside                CA
44846   1N4AL3AP3JC249875   Nissan      ALTIMA               Rio Linda                CA
44847   1N4AL3AP3JC249990   Nissan      ALTIMA               SANTA ANA                CA
44848   1N4AL3AP3JC250332   Nissan      ALTIMA               MONTCLAIR                CA
44849   1N4AL3AP3JC250377   Nissan      ALTIMA               ORLANDO                  FL
44850   1N4AL3AP3JC250749   Nissan      ALTIMA               Fresno                   CA
44851   1N4AL3AP3JC250962   Nissan      ALTIMA               Norwalk                  CA
44852   1N4AL3AP3JC251447   Nissan      ALTIMA               NORTH PAC                CA
44853   1N4AL3AP3JC251478   Nissan      ALTIMA               OAKLAND                  CA
44854   1N4AL3AP3JC251576   Nissan      ALTIMA               Burien                   WA
44855   1N4AL3AP3JC254378   Nissan      ALTIMA               LOS ANGELES              CA
44856   1N4AL3AP3JC255014   Nissan      ALTIMA               Anaheim                  CA
44857   1N4AL3AP3JC255904   Nissan      ALTIMA               SEATAC                   WA
44858   1N4AL3AP3JC256096   Nissan      ALTIMA               PICO RIVERA              CA
44859   1N4AL3AP3JC263081   Nissan      ALTIMA               LAS VEGAS                NV
44860   1N4AL3AP3JC266272   Nissan      ALTIMA               LAS VEGAS                NV
44861   1N4AL3AP3JC269608   Nissan      ALTIMA               SANTA ANA                CA
44862   1N4AL3AP3JC275375   Nissan      ALTIMA               LOS ANGELES              CA
44863   1N4AL3AP3JC275828   Nissan      ALTIMA               CHICAGO                  IL
44864   1N4AL3AP3JC281063   Nissan      ALTIMA               BURBANK                  CA
44865   1N4AL3AP3JC282374   Nissan      ALTIMA               ORLANDO                  FL
44866   1N4AL3AP3JC282391   Nissan      ALTIMA               ROSEVILLE                CA
44867   1N4AL3AP3JC283380   Nissan      ALTIMA               SEATAC                   WA
44868   1N4AL3AP3JC284626   Nissan      ALTIMA               ONTARIO                  CA
44869   1N4AL3AP3JC284934   Nissan      ALTIMA               DENVER                   CO
44870   1N4AL3AP4GC219759   Nissan      ALTIMA               CHICAGO                  IL
44871   1N4AL3AP4GN369987   Nissan      ALTIMA               Kent                     WA
44872   1N4AL3AP4HC177207   Nissan      ALTIMA               Kent                     WA
44873   1N4AL3AP4HC202526   Nissan      ALTIMA               Chicago                  IL
44874   1N4AL3AP4HC248258   Nissan      ALTIMA               Kent                     WA
44875   1N4AL3AP4HC248440   Nissan      ALTIMA               SANTA ANA                CA
44876   1N4AL3AP4HC253881   Nissan      ALTIMA               Elkridge                 MD
44877   1N4AL3AP4HC258126   Nissan      ALTIMA               CHICAGO                  IL
44878   1N4AL3AP4HC267005   Nissan      ALTIMA               HANOVER                  MD
44879   1N4AL3AP4HC278277   Nissan      ALTIMA               CHICAGO                  IL
44880   1N4AL3AP4HC286833   Nissan      ALTIMA               Hayward                  CA
44881   1N4AL3AP4HC288680   Nissan      ALTIMA
44882   1N4AL3AP4HC288825   Nissan      ALTIMA               HANOVER                  MD
44883   1N4AL3AP4HC290302   Nissan      ALTIMA               Davie                    FL
44884   1N4AL3AP4HC291417   Nissan      ALTIMA               Slidell                  LA
44885   1N4AL3AP4HC292101   Nissan      ALTIMA               Kent                     WA
44886   1N4AL3AP4HC292129   Nissan      ALTIMA               LOS ANGELES              CA
44887   1N4AL3AP4HC293460   Nissan      ALTIMA               Los Angeles              CA
44888   1N4AL3AP4HN317227   Nissan      ALTIMA               MARIETTA                 GA
44889   1N4AL3AP4HN332956   Nissan      ALTIMA               LOS ANGELES              CA
44890   1N4AL3AP4HN345206   Nissan      ALTIMA               Tolleson                 AZ
44891   1N4AL3AP4HN345349   Nissan      ALTIMA               SANTA ANA                CA
44892   1N4AL3AP4HN350048   Nissan      ALTIMA               STERLING                 VA
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44893   1N4AL3AP4HN351538   Nissan      ALTIMA               Matteson                 IL
44894   1N4AL3AP4HN352348   Nissan      ALTIMA               LAS VEGAS                NV
44895   1N4AL3AP4HN361342   Nissan      ALTIMA               CHICAGO O'HARE AP        IL
44896   1N4AL3AP4HN363737   Nissan      ALTIMA               BALTIMORE                MD
44897   1N4AL3AP4HN364628   Nissan      ALTIMA               Fontana                  CA
44898   1N4AL3AP4HN365164   Nissan      ALTIMA               DAYTONA BEACH            FL
44899   1N4AL3AP4JC113481   Nissan      ALTIMA               Riverside                CA
44900   1N4AL3AP4JC116106   Nissan      ALTIMA               GLEN BURNIE              MD
44901   1N4AL3AP4JC117854   Nissan      ALTIMA               DAYTONA BEACH            FL
44902   1N4AL3AP4JC118261   Nissan      ALTIMA               CHICAGO                  IL
44903   1N4AL3AP4JC119362   Nissan      ALTIMA               CHICAGO                  IL
44904   1N4AL3AP4JC119801   Nissan      ALTIMA               RALEIGH                  NC
44905   1N4AL3AP4JC120544   Nissan      ALTIMA               Rockville Centr          NY
44906   1N4AL3AP4JC126327   Nissan      ALTIMA               Matteson                 IL
44907   1N4AL3AP4JC126831   Nissan      ALTIMA               Portland                 OR
44908   1N4AL3AP4JC127431   Nissan      ALTIMA               NOTTINGHAM               MD
44909   1N4AL3AP4JC127655   Nissan      ALTIMA               HANOVER                  MD
44910   1N4AL3AP4JC128336   Nissan      ALTIMA               EAST BOSTON              MA
44911   1N4AL3AP4JC128434   Nissan      ALTIMA               MIDDLE RIVER             MD
44912   1N4AL3AP4JC128515   Nissan      ALTIMA               TAMPA                    FL
44913   1N4AL3AP4JC129955   Nissan      ALTIMA               Lynn                     MA
44914   1N4AL3AP4JC132094   Nissan      ALTIMA               Tampa                    FL
44915   1N4AL3AP4JC133410   Nissan      ALTIMA               STERLING                 VA
44916   1N4AL3AP4JC134704   Nissan      ALTIMA               BURBANK                  CA
44917   1N4AL3AP4JC135206   Nissan      ALTIMA               Austell                  GA
44918   1N4AL3AP4JC135237   Nissan      ALTIMA               Maple Grove              MN
44919   1N4AL3AP4JC138719   Nissan      ALTIMA               Harvey                   LA
44920   1N4AL3AP4JC140812   Nissan      ALTIMA               DALLAS                   TX
44921   1N4AL3AP4JC148909   Nissan      ALTIMA               FT LAUDERDALE            FL
44922   1N4AL3AP4JC151163   Nissan      ALTIMA               Cleveland                OH
44923   1N4AL3AP4JC153897   Nissan      ALTIMA               Elkridge                 MD
44924   1N4AL3AP4JC155309   Nissan      ALTIMA               WEST PALM BEACH          FL
44925   1N4AL3AP4JC155505   Nissan      ALTIMA               Manheim                  PA
44926   1N4AL3AP4JC158386   Nissan      ALTIMA               SAN BRUNO                CA
44927   1N4AL3AP4JC159439   Nissan      ALTIMA               FT LAUDERDALE            FL
44928   1N4AL3AP4JC162874   Nissan      ALTIMA               SPRINGFIELD              VA
44929   1N4AL3AP4JC164141   Nissan      ALTIMA               SAN BRUNO                CA
44930   1N4AL3AP4JC164446   Nissan      ALTIMA               SOUTH BEND               IN
44931   1N4AL3AP4JC164933   Nissan      ALTIMA               North Dighton            MA
44932   1N4AL3AP4JC165029   Nissan      ALTIMA               Anaheim                  CA
44933   1N4AL3AP4JC165273   Nissan      ALTIMA               Charlotte                NC
44934   1N4AL3AP4JC165922   Nissan      ALTIMA               North Dighton            MA
44935   1N4AL3AP4JC166584   Nissan      ALTIMA               SAN DIEGO                CA
44936   1N4AL3AP4JC167007   Nissan      ALTIMA               HANOVER                  MD
44937   1N4AL3AP4JC167055   Nissan      ALTIMA               Mira Loma                CA
44938   1N4AL3AP4JC167668   Nissan      ALTIMA               WARWICK                  RI
44939   1N4AL3AP4JC167928   Nissan      ALTIMA               Irving                   TX
44940   1N4AL3AP4JC168013   Nissan      ALTIMA               Windsor Locks            CT
44941   1N4AL3AP4JC168318   Nissan      ALTIMA               HANOVER                  MD
44942   1N4AL3AP4JC169050   Nissan      ALTIMA               RICHMOND                 VA
44943   1N4AL3AP4JC169274   Nissan      ALTIMA               NOTTINGHAM               MD
44944   1N4AL3AP4JC169341   Nissan      ALTIMA               Parkville                MD
44945   1N4AL3AP4JC169369   Nissan      ALTIMA               SAN ANTONIO              TX
44946   1N4AL3AP4JC170084   Nissan      ALTIMA               Atlanta                  GA
44947   1N4AL3AP4JC170814   Nissan      ALTIMA               Orlando                  FL
44948   1N4AL3AP4JC170988   Nissan      ALTIMA               BURNSVILLE               MN
44949   1N4AL3AP4JC171431   Nissan      ALTIMA               Cleveland                OH
44950   1N4AL3AP4JC172644   Nissan      ALTIMA               SAN JOSE                 CA
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44951   1N4AL3AP4JC172790   Nissan       ALTIMA               ONTARIO                  CA
44952   1N4AL3AP4JC172949   Nissan       ALTIMA               South San Franc          CA
44953   1N4AL3AP4JC173258   Nissan       ALTIMA               SANTA CLARA              CA
44954   1N4AL3AP4JC173373   Nissan       ALTIMA               CERRITOS                 CA
44955   1N4AL3AP4JC173468   Nissan       ALTIMA               LOS ANGELES              CA
44956   1N4AL3AP4JC173552   Nissan       ALTIMA               HANOVER                  MD
44957   1N4AL3AP4JC174443   Nissan       ALTIMA               Stockton                 CA
44958   1N4AL3AP4JC174491   Nissan       ALTIMA               BURBANK                  CA
44959   1N4AL3AP4JC174572   Nissan       ALTIMA               Hilo                     HI
44960   1N4AL3AP4JC174653   Nissan       ALTIMA               SAN ANTONIO              TX
44961   1N4AL3AP4JC174782   Nissan       ALTIMA               SAN JOSE                 CA
44962   1N4AL3AP4JC174863   Nissan       ALTIMA               Smithtown                NY
44963   1N4AL3AP4JC175060   Nissan       ALTIMA               ORLANDO                  FL
44964   1N4AL3AP4JC175074   Nissan       ALTIMA               LOS ANGELES              CA
44965   1N4AL3AP4JC175575   Nissan       ALTIMA               SANTA ANA                CA
44966   1N4AL3AP4JC175995   Nissan       ALTIMA               FT LAUDERDALE            FL
44967   1N4AL3AP4JC176113   Nissan       ALTIMA               CHANDLER                 AZ
44968   1N4AL3AP4JC177102   Nissan       ALTIMA               Statesville              NC
44969   1N4AL3AP4JC181795   Nissan       ALTIMA               DENVER                   CO
44970   1N4AL3AP4JC182445   Nissan       ALTIMA               SOUTH SAN FRANC          CA
44971   1N4AL3AP4JC184096   Nissan       ALTIMA               Maple Grove              MN
44972   1N4AL3AP4JC185250   Nissan       ALTIMA               SALT LAKE CITY           UT
44973   1N4AL3AP4JC186575   Nissan       ALTIMA               FT LAUDERDALE            FL
44974   1N4AL3AP4JC187581   Nissan       ALTIMA               DALLAS FORT WORTH AP     TX
44975   1N4AL3AP4JC188133   Nissan       ALTIMA               DAYTONA BEACH            FL
44976   1N4AL3AP4JC188407   Nissan       ALTIMA               DES PLAINES              US
44977   1N4AL3AP4JC192652   Nissan       ALTIMA               Anaheim                  CA
44978   1N4AL3AP4JC193607   Nissan       ALTIMA               NOTTINGHAM               MD
44979   1N4AL3AP4JC195132   Nissan       ALTIMA               SACRAMENTO               CA
44980   1N4AL3AP4JC197561   Nissan       ALTIMA               STERLING                 VA
44981   1N4AL3AP4JC197639   Nissan       ALTIMA               Estero                   FL
44982   1N4AL3AP4JC198600   Nissan       ALTIMA               Live Oak                 TX
44983   1N4AL3AP4JC203407   Nissan       ALTIMA               ROCHESTER                NY
44984   1N4AL3AP4JC208364   Nissan       ALTIMA               ONTARIO                  CA
44985   1N4AL3AP4JC208896   Nissan       ALTIMA               SAN JOSE                 CA
44986   1N4AL3AP4JC208929   Nissan       ALTIMA               Englewood                CO
44987   1N4AL3AP4JC209739   Nissan       ALTIMA               LAS VEGAS                NV
44988   1N4AL3AP4JC210440   Nissan       ALTIMA               Norwalk                  CA
44989   1N4AL3AP4JC210566   Nissan       ALTIMA               Anaheim                  CA
44990   1N4AL3AP4JC210583   Nissan       ALTIMA               Rockville Centr          NY
44991   1N4AL3AP4JC210616   Nissan       ALTIMA               SAN JOSE                 CA
44992   1N4AL3AP4JC211152   Nissan       ALTIMA               SAN FRANCISCO            CA
44993   1N4AL3AP4JC211619   Nissan       ALTIMA               Rio Linda                CA
44994   1N4AL3AP4JC212494   Nissan       ALTIMA               WEST PALM BEACH          FL
44995   1N4AL3AP4JC213614   Nissan       ALTIMA               LAS VEGAS                NV
44996   1N4AL3AP4JC215007   Nissan       ALTIMA               SAN FRANCISCO            CA
44997   1N4AL3AP4JC215699   Nissan       ALTIMA               Los Angeles              CA
44998   1N4AL3AP4JC216027   Nissan       ALTIMA               LOS ANGELES              CA
44999   1N4AL3AP4JC216187   Nissan       ALTIMA               SANTA ANA                CA
45000   1N4AL3AP4JC217467   Nissan       ALTIMA               SACRAMENTO               CA
45001   1N4AL3AP4JC217534   Nissan       ALTIMA               LOS ANGELES              CA
45002   1N4AL3AP4JC217601   Nissan       ALTIMA               Mira Loma                CA
45003   1N4AL3AP4JC217646   Nissan       ALTIMA               North Las Vegas          NV
45004   1N4AL3AP4JC222197   Nissan       ALTIMA               ORLANDO                  FL
45005   1N4AL3AP4JC223530   Nissan       ALTIMA               Philadelphia             PA
45006   1N4AL3AP4JC227030   Nissan       ALTIMA               Fresno                   CA
45007   1N4AL3AP4JC227058   Nissan       ALTIMA               SANTA ANA                CA
45008   1N4AL3AP4JC229067   Nissan       ALTIMA               SAN FRANCISCO            CA
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45009   1N4AL3AP4JC229103   Nissan       ALTIMA               Burien                   WA
45010   1N4AL3AP4JC229425   Nissan       ALTIMA               LAS VEGAS                NV
45011   1N4AL3AP4JC229473   Nissan       ALTIMA               FORT MYERS               FL
45012   1N4AL3AP4JC229814   Nissan       ALTIMA               Carleton                 MI
45013   1N4AL3AP4JC230185   Nissan       ALTIMA               SAN JOSE                 CA
45014   1N4AL3AP4JC230266   Nissan       ALTIMA               BURBANK                  CA
45015   1N4AL3AP4JC230283   Nissan       ALTIMA               LOS ANGELES              CA
45016   1N4AL3AP4JC231353   Nissan       ALTIMA               LOS ANGELES              CA
45017   1N4AL3AP4JC231661   Nissan       ALTIMA               Phoenix                  AZ
45018   1N4AL3AP4JC231806   Nissan       ALTIMA               LAS VEGAS                NV
45019   1N4AL3AP4JC232437   Nissan       ALTIMA               Stockton                 CA
45020   1N4AL3AP4JC232793   Nissan       ALTIMA               Hayward                  CA
45021   1N4AL3AP4JC233426   Nissan       ALTIMA               LOS ANGELES              CA
45022   1N4AL3AP4JC233488   Nissan       ALTIMA               SANTA ANA                CA
45023   1N4AL3AP4JC238576   Nissan       ALTIMA               SANTA ANA                CA
45024   1N4AL3AP4JC238741   Nissan       ALTIMA               SANTA ANA                CA
45025   1N4AL3AP4JC238920   Nissan       ALTIMA               SANTA CLARA              CA
45026   1N4AL3AP4JC239789   Nissan       ALTIMA               RIVERSIDE                CA
45027   1N4AL3AP4JC242210   Nissan       ALTIMA               Santa Clara              CA
45028   1N4AL3AP4JC242613   Nissan       ALTIMA               SAN DIEGO                CA
45029   1N4AL3AP4JC243065   Nissan       ALTIMA               San Diego                CA
45030   1N4AL3AP4JC243082   Nissan       ALTIMA               SAN LEANDRO              CA
45031   1N4AL3AP4JC243132   Nissan       ALTIMA               TRACY                    CA
45032   1N4AL3AP4JC243227   Nissan       ALTIMA               SAN DIEGO                CA
45033   1N4AL3AP4JC243664   Nissan       ALTIMA               ORANGE COUNTY            CA
45034   1N4AL3AP4JC243793   Nissan       ALTIMA               LOS ANGELES              CA
45035   1N4AL3AP4JC244474   Nissan       ALTIMA               N. Las Vegas             NV
45036   1N4AL3AP4JC244605   Nissan       ALTIMA               SANTA ANA                CA
45037   1N4AL3AP4JC244698   Nissan       ALTIMA               Stockton                 CA
45038   1N4AL3AP4JC245088   Nissan       ALTIMA               SAN DIEGO                US
45039   1N4AL3AP4JC245091   Nissan       ALTIMA               INGLEWOOD                CA
45040   1N4AL3AP4JC245379   Nissan       ALTIMA               LOS ANGELES              CA
45041   1N4AL3AP4JC245589   Nissan       ALTIMA               HOUSTON                  TX
45042   1N4AL3AP4JC247830   Nissan       ALTIMA               LOS ANGELES              CA
45043   1N4AL3AP4JC247973   Nissan       ALTIMA               SAN JOSE                 CA
45044   1N4AL3AP4JC248492   Nissan       ALTIMA               Bridgeton                MO
45045   1N4AL3AP4JC248525   Nissan       ALTIMA               TRACY                    CA
45046   1N4AL3AP4JC248783   Nissan       ALTIMA               Hayward                  CA
45047   1N4AL3AP4JC248962   Nissan       ALTIMA               Fresno                   CA
45048   1N4AL3AP4JC249092   Nissan       ALTIMA               LAS VEGAS                NV
45049   1N4AL3AP4JC249299   Nissan       ALTIMA               LAS VEGAS                NV
45050   1N4AL3AP4JC249349   Nissan       ALTIMA               SANTA ANA                CA
45051   1N4AL3AP4JC250226   Nissan       ALTIMA               ORANGE COUNTY            CA
45052   1N4AL3AP4JC250386   Nissan       ALTIMA               Tolleson                 AZ
45053   1N4AL3AP4JC250596   Nissan       ALTIMA               Norwalk                  CA
45054   1N4AL3AP4JC250758   Nissan       ALTIMA               Stockton                 CA
45055   1N4AL3AP4JC250792   Nissan       ALTIMA               PHOENIX                  AZ
45056   1N4AL3AP4JC251148   Nissan       ALTIMA               SAN DIEGO                CA
45057   1N4AL3AP4JC251151   Nissan       ALTIMA               Rio Linda                CA
45058   1N4AL3AP4JC251232   Nissan       ALTIMA               ONTARIO                  CA
45059   1N4AL3AP4JC251599   Nissan       ALTIMA               SAN JOSE                 CA
45060   1N4AL3AP4JC251733   Nissan       ALTIMA               Scottsdale               AZ
45061   1N4AL3AP4JC267298   Nissan       ALTIMA               SEATAC                   WA
45062   1N4AL3AP4JC267317   Nissan       ALTIMA               BURBANK                  CA
45063   1N4AL3AP4JC269195   Nissan       ALTIMA               SAN FRANCISCO            CA
45064   1N4AL3AP4JC270525   Nissan       ALTIMA               SAN DIEGO                CA
45065   1N4AL3AP4JC276762   Nissan       ALTIMA               ROSEVILLE                CA
45066   1N4AL3AP4JC278625   Nissan       ALTIMA               LOS ANGELES              CA
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45067   1N4AL3AP4JC283422   Nissan      ALTIMA               SANTA ANA                CA
45068   1N4AL3AP5FC206291   Nissan      ALTIMA               DARLINGTON               SC
45069   1N4AL3AP5FC251716   Nissan      ALTIMA               Raleigh                  NC
45070   1N4AL3AP5FC585230   Nissan      ALTIMA               Elkridge                 MD
45071   1N4AL3AP5FC593800   Nissan      ALTIMA               MIDDLE RIVER             MD
45072   1N4AL3AP5GC133988   Nissan      ALTIMA               DES PLAINES              IL
45073   1N4AL3AP5GC192510   Nissan      ALTIMA               Miami                    FL
45074   1N4AL3AP5GC204297   Nissan      ALTIMA               Kansas City              MO
45075   1N4AL3AP5GC256111   Nissan      ALTIMA               CHICAGO                  IL
45076   1N4AL3AP5HC224907   Nissan      ALTIMA               Austin                   TX
45077   1N4AL3AP5HC248446   Nissan      ALTIMA               Burien                   WA
45078   1N4AL3AP5HC250388   Nissan      ALTIMA               Kent                     WA
45079   1N4AL3AP5HC283150   Nissan      ALTIMA               NOTTINGHAM               MD
45080   1N4AL3AP5HC284041   Nissan      ALTIMA               HANOVER                  MD
45081   1N4AL3AP5HC288476   Nissan      ALTIMA               Austin                   TX
45082   1N4AL3AP5HC289515   Nissan      ALTIMA               ENGLEWOOD                CO
45083   1N4AL3AP5HC290339   Nissan      ALTIMA               Santa Clara              CA
45084   1N4AL3AP5HC290535   Nissan      ALTIMA               Sacramento               CA
45085   1N4AL3AP5HC290664   Nissan      ALTIMA               Baltimore                MD
45086   1N4AL3AP5HC290874   Nissan      ALTIMA               NEWPORT BEACH            CA
45087   1N4AL3AP5HC292138   Nissan      ALTIMA               Harvey                   LA
45088   1N4AL3AP5HC293192   Nissan      ALTIMA               Riverside                CA
45089   1N4AL3AP5HC294231   Nissan      ALTIMA               LOS ANGELES              CA
45090   1N4AL3AP5HN316586   Nissan      ALTIMA
45091   1N4AL3AP5HN347742   Nissan      ALTIMA               Matteson                 IL
45092   1N4AL3AP5HN351399   Nissan      ALTIMA               ROSEVILLE                CA
45093   1N4AL3AP5HN352651   Nissan      ALTIMA               Santa Clara              CA
45094   1N4AL3AP5HN355873   Nissan      ALTIMA               Elkridge                 MD
45095   1N4AL3AP5HN357283   Nissan      ALTIMA               DENVER                   CO
45096   1N4AL3AP5HN357848   Nissan      ALTIMA               CHICAGO                  IL
45097   1N4AL3AP5HN358756   Nissan      ALTIMA               Phoenix                  AZ
45098   1N4AL3AP5HN363052   Nissan      ALTIMA               Elkridge                 MD
45099   1N4AL3AP5HN364010   Nissan      ALTIMA               EVERETT                  MA
45100   1N4AL3AP5HN364055   Nissan      ALTIMA               RICHMOND                 VA
45101   1N4AL3AP5HN364072   Nissan      ALTIMA               HANOVER                  MD
45102   1N4AL3AP5HN364458   Nissan      ALTIMA               Chicago                  IL
45103   1N4AL3AP5JC116051   Nissan      ALTIMA               Manheim                  PA
45104   1N4AL3AP5JC116924   Nissan      ALTIMA               SAINT LOUIS              MO
45105   1N4AL3AP5JC119340   Nissan      ALTIMA               Coraopolis               PA
45106   1N4AL3AP5JC119404   Nissan      ALTIMA               WOODSTOCK                GA
45107   1N4AL3AP5JC119970   Nissan      ALTIMA               BOSTON                   MA
45108   1N4AL3AP5JC120326   Nissan      ALTIMA               Austell                  GA
45109   1N4AL3AP5JC120598   Nissan      ALTIMA               Englewood                CO
45110   1N4AL3AP5JC122321   Nissan      ALTIMA               Tampa                    FL
45111   1N4AL3AP5JC122402   Nissan      ALTIMA               Denver                   CO
45112   1N4AL3AP5JC124196   Nissan      ALTIMA               Matteson                 IL
45113   1N4AL3AP5JC127938   Nissan      ALTIMA               Elkridge                 MD
45114   1N4AL3AP5JC129026   Nissan      ALTIMA               Smithtown                NY
45115   1N4AL3AP5JC129351   Nissan      ALTIMA               PHILADELPHIA             PA
45116   1N4AL3AP5JC129480   Nissan      ALTIMA               RICHMOND                 VA
45117   1N4AL3AP5JC130029   Nissan      ALTIMA               North Dighton            MA
45118   1N4AL3AP5JC130239   Nissan      ALTIMA               WEST PALM BEACH          FL
45119   1N4AL3AP5JC130662   Nissan      ALTIMA               ORLANDO                  FL
45120   1N4AL3AP5JC131147   Nissan      ALTIMA               STERLING                 VA
45121   1N4AL3AP5JC138874   Nissan      ALTIMA               Winston‐Salem            NC
45122   1N4AL3AP5JC139331   Nissan      ALTIMA               STERLING                 VA
45123   1N4AL3AP5JC141063   Nissan      ALTIMA               Cleveland                OH
45124   1N4AL3AP5JC144156   Nissan      ALTIMA               Plainfield               IN
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45125   1N4AL3AP5JC145680   Nissan       ALTIMA               STERLING                 VA
45126   1N4AL3AP5JC152242   Nissan       ALTIMA               GLEN BURNIE              MD
45127   1N4AL3AP5JC161006   Nissan       ALTIMA               Hartford                 CT
45128   1N4AL3AP5JC162608   Nissan       ALTIMA               GLEN BURNIE              MD
45129   1N4AL3AP5JC162690   Nissan       ALTIMA               DALLAS                   TX
45130   1N4AL3AP5JC162723   Nissan       ALTIMA               Fredericksburg           VA
45131   1N4AL3AP5JC162981   Nissan       ALTIMA               TAMPA                    FL
45132   1N4AL3AP5JC163922   Nissan       ALTIMA               Manheim                  PA
45133   1N4AL3AP5JC164066   Nissan       ALTIMA               RICHMOND                 VA
45134   1N4AL3AP5JC165251   Nissan       ALTIMA               HANOVER                  MD
45135   1N4AL3AP5JC165962   Nissan       ALTIMA               DALLAS                   TX
45136   1N4AL3AP5JC167145   Nissan       ALTIMA               SAN JOSE                 CA
45137   1N4AL3AP5JC168022   Nissan       ALTIMA               WEST PALM BEACH          FL
45138   1N4AL3AP5JC168361   Nissan       ALTIMA               ENGLEWOOD                CO
45139   1N4AL3AP5JC168683   Nissan       ALTIMA               NOTTINGHAM               MD
45140   1N4AL3AP5JC169090   Nissan       ALTIMA               WEST PALM BEACH          FL
45141   1N4AL3AP5JC169171   Nissan       ALTIMA               LOS ANGELES              CA
45142   1N4AL3AP5JC169722   Nissan       ALTIMA               DAYTONA BEACH            FL
45143   1N4AL3AP5JC169817   Nissan       ALTIMA               SOUTHEAST DST OFFC       OK
45144   1N4AL3AP5JC171101   Nissan       ALTIMA               STERLING                 VA
45145   1N4AL3AP5JC171244   Nissan       ALTIMA               Elkridge                 MD
45146   1N4AL3AP5JC171437   Nissan       ALTIMA               HANOVER                  MD
45147   1N4AL3AP5JC171468   Nissan       ALTIMA               North Dighton            MA
45148   1N4AL3AP5JC171521   Nissan       ALTIMA               Caledonia                WI
45149   1N4AL3AP5JC171793   Nissan       ALTIMA               Elkridge                 MD
45150   1N4AL3AP5JC172023   Nissan       ALTIMA               WEST PALM BEACH          FL
45151   1N4AL3AP5JC172409   Nissan       ALTIMA               LOS ANGELES              CA
45152   1N4AL3AP5JC173138   Nissan       ALTIMA               LOS ANGELES              CA
45153   1N4AL3AP5JC173186   Nissan       ALTIMA               CHARLOTTE                US
45154   1N4AL3AP5JC173382   Nissan       ALTIMA               N. Palm Beach            FL
45155   1N4AL3AP5JC173527   Nissan       ALTIMA               FORT MYERS               FL
45156   1N4AL3AP5JC174032   Nissan       ALTIMA               FORT LAUDERDALE          FL
45157   1N4AL3AP5JC174077   Nissan       ALTIMA               Bensalem                 PA
45158   1N4AL3AP5JC174368   Nissan       ALTIMA               Hamilton                 OH
45159   1N4AL3AP5JC174452   Nissan       ALTIMA               SANTA ANA                CA
45160   1N4AL3AP5JC174614   Nissan       ALTIMA               SAN DIEGO                CA
45161   1N4AL3AP5JC175097   Nissan       ALTIMA               BALDWIN                  NY
45162   1N4AL3AP5JC175133   Nissan       ALTIMA               FORT LAUDERDALE          FL
45163   1N4AL3AP5JC175536   Nissan       ALTIMA               SANTA ANA                CA
45164   1N4AL3AP5JC176721   Nissan       ALTIMA               Atlanta                  GA
45165   1N4AL3AP5JC177254   Nissan       ALTIMA               Riverside                CA
45166   1N4AL3AP5JC177450   Nissan       ALTIMA               LOS ANGELES              CA
45167   1N4AL3AP5JC177674   Nissan       ALTIMA               BALDWIN                  NY
45168   1N4AL3AP5JC178081   Nissan       ALTIMA               SAN DIEGO                CA
45169   1N4AL3AP5JC181739   Nissan       ALTIMA               Elkridge                 MD
45170   1N4AL3AP5JC183037   Nissan       ALTIMA               LAS VEGAS                NV
45171   1N4AL3AP5JC183913   Nissan       ALTIMA               Dallas                   TX
45172   1N4AL3AP5JC184480   Nissan       ALTIMA               N. Las Vegas             NV
45173   1N4AL3AP5JC186276   Nissan       ALTIMA               LAS VEGAS                NV
45174   1N4AL3AP5JC187007   Nissan       ALTIMA               DES PLAINES              IL
45175   1N4AL3AP5JC188447   Nissan       ALTIMA               Aurora                   CO
45176   1N4AL3AP5JC193423   Nissan       ALTIMA               HANOVER                  MD
45177   1N4AL3AP5JC193616   Nissan       ALTIMA               Tolleson                 AZ
45178   1N4AL3AP5JC194278   Nissan       ALTIMA               HANOVER                  MD
45179   1N4AL3AP5JC195155   Nissan       ALTIMA               CHARLOTTE                NC
45180   1N4AL3AP5JC195527   Nissan       ALTIMA               Orlando                  FL
45181   1N4AL3AP5JC195835   Nissan       ALTIMA               Bensalem                 PA
45182   1N4AL3AP5JC198993   Nissan       ALTIMA               DALLAS                   TX
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45183   1N4AL3AP5JC199187   Nissan       ALTIMA               Elkridge                 MD
45184   1N4AL3AP5JC199285   Nissan       ALTIMA               STERLING                 VA
45185   1N4AL3AP5JC200550   Nissan       ALTIMA               Winston‐Salem            NC
45186   1N4AL3AP5JC201505   Nissan       ALTIMA               Dallas                   TX
45187   1N4AL3AP5JC202976   Nissan       ALTIMA               RICHMOND                 VA
45188   1N4AL3AP5JC203917   Nissan       ALTIMA               SAN LEANDRO              CA
45189   1N4AL3AP5JC204288   Nissan       ALTIMA               Atlanta                  GA
45190   1N4AL3AP5JC204470   Nissan       ALTIMA               Fredericksburg           VA
45191   1N4AL3AP5JC206414   Nissan       ALTIMA               Atlanta                  GA
45192   1N4AL3AP5JC206719   Nissan       ALTIMA               Hayward                  CA
45193   1N4AL3AP5JC207532   Nissan       ALTIMA               LOS ANGELES              CA
45194   1N4AL3AP5JC208566   Nissan       ALTIMA               MONTEBELLO               ca
45195   1N4AL3AP5JC209183   Nissan       ALTIMA               Salt Lake City           UT
45196   1N4AL3AP5JC209314   Nissan       ALTIMA               Phoenix                  AZ
45197   1N4AL3AP5JC209944   Nissan       ALTIMA               BURBANK                  CA
45198   1N4AL3AP5JC210303   Nissan       ALTIMA               CHARLOTTE                NC
45199   1N4AL3AP5JC211600   Nissan       ALTIMA               Kent                     WA
45200   1N4AL3AP5JC212097   Nissan       ALTIMA               Albuquerque              NM
45201   1N4AL3AP5JC213587   Nissan       ALTIMA               LOS ANGELES              CA
45202   1N4AL3AP5JC213945   Nissan       ALTIMA               DENVER                   CO
45203   1N4AL3AP5JC214061   Nissan       ALTIMA               BURBANK                  CA
45204   1N4AL3AP5JC214433   Nissan       ALTIMA               SAN FRANCISCO            CA
45205   1N4AL3AP5JC215517   Nissan       ALTIMA               SAN JOSE                 CA
45206   1N4AL3AP5JC215615   Nissan       ALTIMA               NORTH PAC                CA
45207   1N4AL3AP5JC215694   Nissan       ALTIMA               Phoenix                  AZ
45208   1N4AL3AP5JC215789   Nissan       ALTIMA               LOS ANGELES              CA
45209   1N4AL3AP5JC216229   Nissan       ALTIMA               LOS ANGELES              CA
45210   1N4AL3AP5JC216330   Nissan       ALTIMA               Riverside                CA
45211   1N4AL3AP5JC217042   Nissan       ALTIMA               OAKLAND                  CA
45212   1N4AL3AP5JC217445   Nissan       ALTIMA               SAN JOSE                 CA
45213   1N4AL3AP5JC217557   Nissan       ALTIMA               Stockton                 CA
45214   1N4AL3AP5JC221866   Nissan       ALTIMA               GLEN BURNIE              MD
45215   1N4AL3AP5JC225223   Nissan       ALTIMA               NEWARK                   NJ
45216   1N4AL3AP5JC230468   Nissan       ALTIMA               Manheim                  PA
45217   1N4AL3AP5JC231653   Nissan       ALTIMA               ONTARIO                  CA
45218   1N4AL3AP5JC231667   Nissan       ALTIMA               OAKLAND                  CA
45219   1N4AL3AP5JC233161   Nissan       ALTIMA               BALDWIN                  NY
45220   1N4AL3AP5JC233189   Nissan       ALTIMA               Los Angeles              CA
45221   1N4AL3AP5JC233368   Nissan       ALTIMA               SANTA ANA                CA
45222   1N4AL3AP5JC234665   Nissan       ALTIMA               LOS ANGELES              CA
45223   1N4AL3AP5JC239848   Nissan       ALTIMA               CENTRAL DIST OFFC        OK
45224   1N4AL3AP5JC241437   Nissan       ALTIMA               LAS VEGAS                NV
45225   1N4AL3AP5JC242961   Nissan       ALTIMA               SAN ANTONIO              TX
45226   1N4AL3AP5JC243219   Nissan       ALTIMA               Rio Linda                CA
45227   1N4AL3AP5JC243253   Nissan       ALTIMA               SAN JOSE                 CA
45228   1N4AL3AP5JC243494   Nissan       ALTIMA               SANTA ANA                CA
45229   1N4AL3AP5JC243513   Nissan       ALTIMA               Riverside                CA
45230   1N4AL3AP5JC243799   Nissan       ALTIMA               Roseville                CA
45231   1N4AL3AP5JC244001   Nissan       ALTIMA               CHICAGO                  IL
45232   1N4AL3AP5JC244371   Nissan       ALTIMA               SAN DIEGO                CA
45233   1N4AL3AP5JC244564   Nissan       ALTIMA               PHOENIX                  AZ
45234   1N4AL3AP5JC244712   Nissan       ALTIMA               SAN JOSE                 CA
45235   1N4AL3AP5JC245391   Nissan       ALTIMA               San Diego                CA
45236   1N4AL3AP5JC245407   Nissan       ALTIMA               FAIRFIELD                CA
45237   1N4AL3AP5JC246671   Nissan       ALTIMA               Burlingame               CA
45238   1N4AL3AP5JC247092   Nissan       ALTIMA               SAN DIEGO                CA
45239   1N4AL3AP5JC247240   Nissan       ALTIMA               SANTA ANA                CA
45240   1N4AL3AP5JC248484   Nissan       ALTIMA               Salt Lake City           UT
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45241   1N4AL3AP5JC248971   Nissan      ALTIMA               SAN JOSE                 CA
45242   1N4AL3AP5JC249134   Nissan      ALTIMA
45243   1N4AL3AP5JC249439   Nissan      ALTIMA               Riverside                CA
45244   1N4AL3AP5JC249537   Nissan      ALTIMA               SAN FRANCISCO            CA
45245   1N4AL3AP5JC249554   Nissan      ALTIMA               SAN DIEGO                CA
45246   1N4AL3AP5JC249974   Nissan      ALTIMA               PALM SPRINGS             CA
45247   1N4AL3AP5JC250364   Nissan      ALTIMA               DENVER                   CO
45248   1N4AL3AP5JC250526   Nissan      ALTIMA               SANTA ANA                CA
45249   1N4AL3AP5JC250624   Nissan      ALTIMA               San Diego                CA
45250   1N4AL3AP5JC250784   Nissan      ALTIMA               SANTA BARBARA            CA
45251   1N4AL3AP5JC253300   Nissan      ALTIMA               CHICAGO                  IL
45252   1N4AL3AP5JC255435   Nissan      ALTIMA               PHOENIX                  AZ
45253   1N4AL3AP5JC255564   Nissan      ALTIMA               SEATAC                   WA
45254   1N4AL3AP5JC260831   Nissan      ALTIMA               CHICAGO                  IL
45255   1N4AL3AP5JC266337   Nissan      ALTIMA               NEW YORK CITY            NY
45256   1N4AL3AP5JC267598   Nissan      ALTIMA               RENO                     NV
45257   1N4AL3AP5JC269691   Nissan      ALTIMA               Elgin                    IL
45258   1N4AL3AP5JC270033   Nissan      ALTIMA               BURBANK                  CA
45259   1N4AL3AP5JC276057   Nissan      ALTIMA               SANTA ANA                CA
45260   1N4AL3AP5JC280772   Nissan      ALTIMA               Fontana                  CA
45261   1N4AL3AP5JC281694   Nissan      ALTIMA               SAN ANTONIO              TX
45262   1N4AL3AP5JC281758   Nissan      ALTIMA               SAN DIEGO                CA
45263   1N4AL3AP5JC281940   Nissan      ALTIMA               SACRAMENTO               CA
45264   1N4AL3AP5JC282067   Nissan      ALTIMA               SAN DIEGO                CA
45265   1N4AL3AP5JC283123   Nissan      ALTIMA               Cerritos                 CA
45266   1N4AL3AP5JC283204   Nissan      ALTIMA               LOS ANGELES              CA
45267   1N4AL3AP6GC122269   Nissan      ALTIMA               DES MOINES               IA
45268   1N4AL3AP6GC204325   Nissan      ALTIMA               Ft. Myers                FL
45269   1N4AL3AP6GC231332   Nissan      ALTIMA               SEATTLE                  WA
45270   1N4AL3AP6GC256666   Nissan      ALTIMA               Denver                   CO
45271   1N4AL3AP6HC195319   Nissan      ALTIMA               Lynn                     MA
45272   1N4AL3AP6HC242428   Nissan      ALTIMA               Kent                     WA
45273   1N4AL3AP6HC253817   Nissan      ALTIMA               Elkridge                 MD
45274   1N4AL3AP6HC266910   Nissan      ALTIMA               CHICAGO                  IL
45275   1N4AL3AP6HC282170   Nissan      ALTIMA               Charlotte                NC
45276   1N4AL3AP6HC282752   Nissan      ALTIMA               Austell                  GA
45277   1N4AL3AP6HC286817   Nissan      ALTIMA               North Las Vegas          NV
45278   1N4AL3AP6HC286820   Nissan      ALTIMA               BALTIMORE                MD
45279   1N4AL3AP6HC287966   Nissan      ALTIMA               LIHUE                    HI
45280   1N4AL3AP6HC289538   Nissan      ALTIMA               SAN FRANCISCO            CA
45281   1N4AL3AP6HC290284   Nissan      ALTIMA               ROSEVILLE                CA
45282   1N4AL3AP6HC290575   Nissan      ALTIMA               LOS ANGELES              CA
45283   1N4AL3AP6HC291452   Nissan      ALTIMA               DENVER                   CO
45284   1N4AL3AP6HC291614   Nissan      ALTIMA               SANTA ANA                CA
45285   1N4AL3AP6HC291984   Nissan      ALTIMA               SAN FRANCISCO            CA
45286   1N4AL3AP6HC292827   Nissan      ALTIMA               Riverside                CA
45287   1N4AL3AP6HC292908   Nissan      ALTIMA               LAS VEGAS                NV
45288   1N4AL3AP6HC292942   Nissan      ALTIMA               SAN DIEGO                CA
45289   1N4AL3AP6HN351802   Nissan      ALTIMA               LOS ANGELES              CA
45290   1N4AL3AP6HN352402   Nissan      ALTIMA               PORTLAND                 OR
45291   1N4AL3AP6HN352707   Nissan      ALTIMA               Portland                 OR
45292   1N4AL3AP6HN353727   Nissan      ALTIMA               PORTLAND                 OR
45293   1N4AL3AP6HN353873   Nissan      ALTIMA               LOS ANGELES              CA
45294   1N4AL3AP6HN354361   Nissan      ALTIMA               SAN FRANCISCO            CA
45295   1N4AL3AP6HN356854   Nissan      ALTIMA               Elgin                    IL
45296   1N4AL3AP6HN357566   Nissan      ALTIMA               RICHMOND                 VA
45297   1N4AL3AP6HN357759   Nissan      ALTIMA               Elgin                    IL
45298   1N4AL3AP6HN363349   Nissan      ALTIMA               HANOVER                  MD
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45299   1N4AL3AP6HN363402   Nissan      ALTIMA               HARVEY                   LA
45300   1N4AL3AP6HN364310   Nissan      ALTIMA               Elkridge                 MD
45301   1N4AL3AP6HN364369   Nissan      ALTIMA               Elkridge                 MD
45302   1N4AL3AP6JC116950   Nissan      ALTIMA               CLEVELAND                OH
45303   1N4AL3AP6JC119573   Nissan      ALTIMA               STERLING                 VA
45304   1N4AL3AP6JC119962   Nissan      ALTIMA               Miami                    FL
45305   1N4AL3AP6JC120576   Nissan      ALTIMA               Denver                   CO
45306   1N4AL3AP6JC121260   Nissan      ALTIMA               FORT MYERS               FL
45307   1N4AL3AP6JC122473   Nissan      ALTIMA               WEST PALM BEACH          FL
45308   1N4AL3AP6JC123641   Nissan      ALTIMA               HANOVER                  MD
45309   1N4AL3AP6JC126135   Nissan      ALTIMA               RALEIGH                  NC
45310   1N4AL3AP6JC127334   Nissan      ALTIMA               GLEN BURNIE              MD
45311   1N4AL3AP6JC127592   Nissan      ALTIMA               STERLING                 VA
45312   1N4AL3AP6JC128547   Nissan      ALTIMA               Elkridge                 MD
45313   1N4AL3AP6JC129357   Nissan      ALTIMA               TRACY                    CA
45314   1N4AL3AP6JC129830   Nissan      ALTIMA               Downey                   CA
45315   1N4AL3AP6JC129911   Nissan      ALTIMA               BOSTON                   MA
45316   1N4AL3AP6JC130086   Nissan      ALTIMA               Sterling                 VA
45317   1N4AL3AP6JC130976   Nissan      ALTIMA               ORLANDO                  FL
45318   1N4AL3AP6JC131304   Nissan      ALTIMA               STERLING                 VA
45319   1N4AL3AP6JC131366   Nissan      ALTIMA               Hanover                  MD
45320   1N4AL3AP6JC131965   Nissan      ALTIMA               ENGLEWOOD                CO
45321   1N4AL3AP6JC132808   Nissan      ALTIMA               TUCSON                   AZ
45322   1N4AL3AP6JC133117   Nissan      ALTIMA               PHILADELPHIA             PA
45323   1N4AL3AP6JC136227   Nissan      ALTIMA               NEW ENGLAND DEALER       MA
45324   1N4AL3AP6JC136356   Nissan      ALTIMA               LAS VEGAS                NV
45325   1N4AL3AP6JC145851   Nissan      ALTIMA               Winston‐Salem            NC
45326   1N4AL3AP6JC146028   Nissan      ALTIMA               Miami                    FL
45327   1N4AL3AP6JC152363   Nissan      ALTIMA               NOTTINGHAM               MD
45328   1N4AL3AP6JC153268   Nissan      ALTIMA               FORT MYERS               FL
45329   1N4AL3AP6JC154081   Nissan      ALTIMA               Elkridge                 MD
45330   1N4AL3AP6JC155098   Nissan      ALTIMA               MIAMI                    FL
45331   1N4AL3AP6JC162701   Nissan      ALTIMA               North Dighton            MA
45332   1N4AL3AP6JC162763   Nissan      ALTIMA               Elkridge                 MD
45333   1N4AL3AP6JC162830   Nissan      ALTIMA               HOUSTON                  TX
45334   1N4AL3AP6JC163024   Nissan      ALTIMA               WEST PALM BEACH          FL
45335   1N4AL3AP6JC163038   Nissan      ALTIMA               NOTTINGHAM               MD
45336   1N4AL3AP6JC163346   Nissan      ALTIMA               Warwick                  RI
45337   1N4AL3AP6JC163766   Nissan      ALTIMA               GLEN BURNIE              MD
45338   1N4AL3AP6JC164562   Nissan      ALTIMA               HANOVER                  MD
45339   1N4AL3AP6JC164724   Nissan      ALTIMA               Irving                   TX
45340   1N4AL3AP6JC165131   Nissan      ALTIMA               Cranberry Towns          PA
45341   1N4AL3AP6JC166988   Nissan      ALTIMA               Portland                 OR
45342   1N4AL3AP6JC167073   Nissan      ALTIMA               Warminster               PA
45343   1N4AL3AP6JC167655   Nissan      ALTIMA               NORTH PAC                CA
45344   1N4AL3AP6JC167719   Nissan      ALTIMA               SOUTHWEST DEALER D       TX
45345   1N4AL3AP6JC168482   Nissan      ALTIMA               STERLING                 VA
45346   1N4AL3AP6JC169549   Nissan      ALTIMA               Atlanta                  GA
45347   1N4AL3AP6JC169552   Nissan      ALTIMA               PHOENIX                  AZ
45348   1N4AL3AP6JC169745   Nissan      ALTIMA               CLEVELAND                OH
45349   1N4AL3AP6JC170202   Nissan      ALTIMA               SOUTHEAST DST OFFC       OK
45350   1N4AL3AP6JC170491   Nissan      ALTIMA               RICHMOND                 CA
45351   1N4AL3AP6JC170782   Nissan      ALTIMA               ORLANDO                  FL
45352   1N4AL3AP6JC171141   Nissan      ALTIMA               BOSTON                   MA
45353   1N4AL3AP6JC171463   Nissan      ALTIMA               SAN LEANDRO              CA
45354   1N4AL3AP6JC171740   Nissan      ALTIMA               Sterling                 VA
45355   1N4AL3AP6JC171978   Nissan      ALTIMA               Richmond                 VA
45356   1N4AL3AP6JC172659   Nissan      ALTIMA               Hanover                  MD
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45357   1N4AL3AP6JC172838   Nissan       ALTIMA               Newark                   NJ
45358   1N4AL3AP6JC173150   Nissan       ALTIMA               LAS VEGAS                NV
45359   1N4AL3AP6JC173844   Nissan       ALTIMA               LAS VEGAS                NV
45360   1N4AL3AP6JC174055   Nissan       ALTIMA               LOS ANGELES              CA
45361   1N4AL3AP6JC174220   Nissan       ALTIMA               SAN JOSE                 CA
45362   1N4AL3AP6JC174413   Nissan       ALTIMA               Elkridge                 MD
45363   1N4AL3AP6JC174508   Nissan       ALTIMA               BLOOMINGTON              IL
45364   1N4AL3AP6JC174704   Nissan       ALTIMA               CLEVELAND                OH
45365   1N4AL3AP6JC174718   Nissan       ALTIMA               STERLING                 VA
45366   1N4AL3AP6JC175724   Nissan       ALTIMA               Pasadena                 CA
45367   1N4AL3AP6JC175822   Nissan       ALTIMA               LOS ANGELES              CA
45368   1N4AL3AP6JC175948   Nissan       ALTIMA               MIDDLE RIVER             MD
45369   1N4AL3AP6JC176453   Nissan       ALTIMA               NEWARK                   NJ
45370   1N4AL3AP6JC176582   Nissan       ALTIMA               Estero                   FL
45371   1N4AL3AP6JC176887   Nissan       ALTIMA               Hayward                  CA
45372   1N4AL3AP6JC177456   Nissan       ALTIMA               Mira Loma                CA
45373   1N4AL3AP6JC177652   Nissan       ALTIMA               SAN JOSE                 CA
45374   1N4AL3AP6JC177814   Nissan       ALTIMA               SAN JOSE                 CA
45375   1N4AL3AP6JC177859   Nissan       ALTIMA               Slidell                  LA
45376   1N4AL3AP6JC178090   Nissan       ALTIMA               Miami                    FL
45377   1N4AL3AP6JC181278   Nissan       ALTIMA               Tampa                    FL
45378   1N4AL3AP6JC185945   Nissan       ALTIMA               Atlanta                  GA
45379   1N4AL3AP6JC186075   Nissan       ALTIMA               PLEASANTON               CA
45380   1N4AL3AP6JC187629   Nissan       ALTIMA               DENVER                   CO
45381   1N4AL3AP6JC189168   Nissan       ALTIMA               LAS VEGAS                NV
45382   1N4AL3AP6JC189204   Nissan       ALTIMA               CHARLOTTE                NC
45383   1N4AL3AP6JC190448   Nissan       ALTIMA               FORT LAUDERDALE          FL
45384   1N4AL3AP6JC190465   Nissan       ALTIMA               Rockville Centr          NY
45385   1N4AL3AP6JC191101   Nissan       ALTIMA               CHICAGO                  IL
45386   1N4AL3AP6JC192443   Nissan       ALTIMA               Phoenix                  AZ
45387   1N4AL3AP6JC192510   Nissan       ALTIMA               DES MOINES               IA
45388   1N4AL3AP6JC192894   Nissan       ALTIMA               SOUTHEAST DST OFFC       OK
45389   1N4AL3AP6JC197707   Nissan       ALTIMA               WEST PALM BEACH          FL
45390   1N4AL3AP6JC197772   Nissan       ALTIMA               HANOVER                  MD
45391   1N4AL3AP6JC198775   Nissan       ALTIMA               DALLAS                   TX
45392   1N4AL3AP6JC198808   Nissan       ALTIMA               STERLING                 VA
45393   1N4AL3AP6JC201528   Nissan       ALTIMA               Slidell                  LA
45394   1N4AL3AP6JC203618   Nissan       ALTIMA               Elkridge                 MD
45395   1N4AL3AP6JC203764   Nissan       ALTIMA               Alcoa                    TN
45396   1N4AL3AP6JC204011   Nissan       ALTIMA               Costa Mesa               CA
45397   1N4AL3AP6JC204851   Nissan       ALTIMA               SACRAMENTO               CA
45398   1N4AL3AP6JC204896   Nissan       ALTIMA               LOS ANGELES              CA
45399   1N4AL3AP6JC205529   Nissan       ALTIMA               FLORIDA DEALER DIR       FL
45400   1N4AL3AP6JC205630   Nissan       ALTIMA               SAN JOSE                 CA
45401   1N4AL3AP6JC206132   Nissan       ALTIMA               CHICAGO                  IL
45402   1N4AL3AP6JC206535   Nissan       ALTIMA               DALLAS                   TX
45403   1N4AL3AP6JC208382   Nissan       ALTIMA               SAN FRANCISCO            CA
45404   1N4AL3AP6JC208561   Nissan       ALTIMA               GOLD RIVER               CA
45405   1N4AL3AP6JC208737   Nissan       ALTIMA               OAKLAND                  CA
45406   1N4AL3AP6JC208740   Nissan       ALTIMA               ROSEVILLE                CA
45407   1N4AL3AP6JC209094   Nissan       ALTIMA
45408   1N4AL3AP6JC209497   Nissan       ALTIMA               GLASSBORO                NJ
45409   1N4AL3AP6JC210360   Nissan       ALTIMA               SAN JOSE                 CA
45410   1N4AL3AP6JC210438   Nissan       ALTIMA               Norwalk                  CA
45411   1N4AL3AP6JC210827   Nissan       ALTIMA               ORANGE COUNTY            CA
45412   1N4AL3AP6JC212206   Nissan       ALTIMA               Dallas                   TX
45413   1N4AL3AP6JC212870   Nissan       ALTIMA               FORT MYERS               FL
45414   1N4AL3AP6JC213162   Nissan       ALTIMA               HANOVER                  MD
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45415   1N4AL3AP6JC214540   Nissan       ALTIMA               SAN JOSE                 CA
45416   1N4AL3AP6JC214702   Nissan       ALTIMA               LOS ANGELES              CA
45417   1N4AL3AP6JC215803   Nissan       ALTIMA               GOLD RIVER               CA
45418   1N4AL3AP6JC216160   Nissan       ALTIMA               OAKLAND                  CA
45419   1N4AL3AP6JC216207   Nissan       ALTIMA               SANTA ANA                CA
45420   1N4AL3AP6JC216305   Nissan       ALTIMA               INGLEWOOD                CA
45421   1N4AL3AP6JC216367   Nissan       ALTIMA               SAN JOSE                 CA
45422   1N4AL3AP6JC216384   Nissan       ALTIMA               Phoenix                  AZ
45423   1N4AL3AP6JC216644   Nissan       ALTIMA               ONTARIO                  CA
45424   1N4AL3AP6JC223755   Nissan       ALTIMA               ORLANDO                  FL
45425   1N4AL3AP6JC226672   Nissan       ALTIMA               SANTA ANA                CA
45426   1N4AL3AP6JC228020   Nissan       ALTIMA               DES MOINES               IA
45427   1N4AL3AP6JC229054   Nissan       ALTIMA               SANTA ANA                CA
45428   1N4AL3AP6JC229460   Nissan       ALTIMA               SAN FRANCISCO            CA
45429   1N4AL3AP6JC231807   Nissan       ALTIMA               Fresno                   CA
45430   1N4AL3AP6JC231872   Nissan       ALTIMA               SANTA ANA                CA
45431   1N4AL3AP6JC232830   Nissan       ALTIMA               LOS ANGELES              CA
45432   1N4AL3AP6JC233217   Nissan       ALTIMA               SAN FRANCISCO            CA
45433   1N4AL3AP6JC233542   Nissan       ALTIMA               SAN DIEGO                CA
45434   1N4AL3AP6JC233654   Nissan       ALTIMA               PORTLAND                 OR
45435   1N4AL3AP6JC235906   Nissan       ALTIMA               SANTA ANA                CA
45436   1N4AL3AP6JC239955   Nissan       ALTIMA               Torrance                 CA
45437   1N4AL3AP6JC240023   Nissan       ALTIMA               BURBANK                  CA
45438   1N4AL3AP6JC240720   Nissan       ALTIMA               Lake Elsinore            CA
45439   1N4AL3AP6JC240829   Nissan       ALTIMA               SAN JOSE                 CA
45440   1N4AL3AP6JC242094   Nissan       ALTIMA               PALM SPRINGS             CA
45441   1N4AL3AP6JC242256   Nissan       ALTIMA               BURBANK                  CA
45442   1N4AL3AP6JC242497   Nissan       ALTIMA               SAN FRANCISCO            CA
45443   1N4AL3AP6JC243374   Nissan       ALTIMA               LOS ANGELES              CA
45444   1N4AL3AP6JC243861   Nissan       ALTIMA               Kent                     WA
45445   1N4AL3AP6JC244234   Nissan       ALTIMA               N. Las Vegas             NV
45446   1N4AL3AP6JC244637   Nissan       ALTIMA               North Las Vegas          NV
45447   1N4AL3AP6JC244671   Nissan       ALTIMA               PHOENIX                  AZ
45448   1N4AL3AP6JC244718   Nissan       ALTIMA               Anaheim                  CA
45449   1N4AL3AP6JC245870   Nissan       ALTIMA               Maple Grove              MN
45450   1N4AL3AP6JC246341   Nissan       ALTIMA               COSTA MESA               CA
45451   1N4AL3AP6JC246727   Nissan       ALTIMA               Pasadena                 CA
45452   1N4AL3AP6JC246923   Nissan       ALTIMA               LAS VEGAS                NV
45453   1N4AL3AP6JC247392   Nissan       ALTIMA               BURBANK                  CA
45454   1N4AL3AP6JC247991   Nissan       ALTIMA               SAN DIEGO                CA
45455   1N4AL3AP6JC248011   Nissan       ALTIMA               SAN FRANCISCO            CA
45456   1N4AL3AP6JC248414   Nissan       ALTIMA               SAN DIEGO                US
45457   1N4AL3AP6JC248719   Nissan       ALTIMA               HANOVER                  MD
45458   1N4AL3AP6JC249742   Nissan       ALTIMA               SEATAC                   WA
45459   1N4AL3AP6JC250180   Nissan       ALTIMA               ORLANDO                  FL
45460   1N4AL3AP6JC250745   Nissan       ALTIMA               SAN DIEGO                CA
45461   1N4AL3AP6JC250972   Nissan       ALTIMA               BURBANK                  CA
45462   1N4AL3AP6JC255556   Nissan       ALTIMA               PALM SPRINGS             CA
45463   1N4AL3AP6JC261194   Nissan       ALTIMA               DENVER                   CO
45464   1N4AL3AP6JC261454   Nissan       ALTIMA               GLEN BURNIE              MD
45465   1N4AL3AP6JC263690   Nissan       ALTIMA               Phoenix                  AZ
45466   1N4AL3AP6JC265326   Nissan       ALTIMA               CHICAGO                  IL
45467   1N4AL3AP6JC268792   Nissan       ALTIMA               NORTH PAC                CA
45468   1N4AL3AP6JC269599   Nissan       ALTIMA               SEATAC                   WA
45469   1N4AL3AP6JC276021   Nissan       ALTIMA               SANTA ANA                CA
45470   1N4AL3AP6JC279615   Nissan       ALTIMA               DENVER SOUTH             CO
45471   1N4AL3AP6JC280988   Nissan       ALTIMA               LOS ANGELES              CA
45472   1N4AL3AP6JC282286   Nissan       ALTIMA               PHOENIX                  AZ
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45473   1N4AL3AP6JC282319   Nissan      ALTIMA               LOS ANGELES              CA
45474   1N4AL3AP6JC282384   Nissan      ALTIMA               SAN DIEGO                CA
45475   1N4AL3AP6JC282479   Nissan      ALTIMA               SANTA ANA                CA
45476   1N4AL3AP6JC282868   Nissan      ALTIMA               BURBANK                  CA
45477   1N4AL3AP6JC283776   Nissan      ALTIMA               Anaheim                  CA
45478   1N4AL3AP6JC284023   Nissan      ALTIMA               KENNER                   LA
45479   1N4AL3AP6JC291361   Nissan      ALTIMA               TAMPA                    FL
45480   1N4AL3AP7FC181894   Nissan      ALTIMA               Matteson                 IL
45481   1N4AL3AP7GC191133   Nissan      ALTIMA               Union City               GA
45482   1N4AL3AP7GC293872   Nissan      ALTIMA               Elkridge                 MD
45483   1N4AL3AP7HC134240   Nissan      ALTIMA               Elkridge                 MD
45484   1N4AL3AP7HC179775   Nissan      ALTIMA               South San Franc          CA
45485   1N4AL3AP7HC244172   Nissan      ALTIMA               Kent                     WA
45486   1N4AL3AP7HC250277   Nissan      ALTIMA               PICO RIVERA              CA
45487   1N4AL3AP7HC251347   Nissan      ALTIMA               ONTARIO                  CA
45488   1N4AL3AP7HC268438   Nissan      ALTIMA               HANOVER                  MD
45489   1N4AL3AP7HC271226   Nissan      ALTIMA               Fort Lauderdale          FL
45490   1N4AL3AP7HC276958   Nissan      ALTIMA               GLEN BURNIE              MD
45491   1N4AL3AP7HC285112   Nissan      ALTIMA
45492   1N4AL3AP7HC288396   Nissan      ALTIMA               Stockton                 CA
45493   1N4AL3AP7HC288687   Nissan      ALTIMA               Hayward                  CA
45494   1N4AL3AP7HC289354   Nissan      ALTIMA               Hayward                  CA
45495   1N4AL3AP7HC290293   Nissan      ALTIMA               SANTA ANA                CA
45496   1N4AL3AP7HC290519   Nissan      ALTIMA               SANTA CLARA              C
45497   1N4AL3AP7HC291671   Nissan      ALTIMA               LOS ANGELES              CA
45498   1N4AL3AP7HC291914   Nissan      ALTIMA               LAS VEGAS                NV
45499   1N4AL3AP7HC292366   Nissan      ALTIMA               SAN DIEGO                CA
45500   1N4AL3AP7HC292898   Nissan      ALTIMA               MEDINA                   OH
45501   1N4AL3AP7HC292920   Nissan      ALTIMA               DAYTONA BEACH            FL
45502   1N4AL3AP7HN344406   Nissan      ALTIMA               Dallas                   TX
45503   1N4AL3AP7HN349167   Nissan      ALTIMA               KENNER                   LA
45504   1N4AL3AP7HN351310   Nissan      ALTIMA               Kent                     WA
45505   1N4AL3AP7HN353347   Nissan      ALTIMA               LOS ANGELES              CA
45506   1N4AL3AP7HN353722   Nissan      ALTIMA
45507   1N4AL3AP7HN354384   Nissan      ALTIMA               SAN FRANCISCO            CA
45508   1N4AL3AP7HN355311   Nissan      ALTIMA               Hayward                  CA
45509   1N4AL3AP7HN358032   Nissan      ALTIMA               AUSTIN                   TX
45510   1N4AL3AP7HN358922   Nissan      ALTIMA               DENVER                   CO
45511   1N4AL3AP7HN363716   Nissan      ALTIMA               CHICAGO                  IL
45512   1N4AL3AP7HN364476   Nissan      ALTIMA               Elkridge                 MD
45513   1N4AL3AP7JC102474   Nissan      ALTIMA               DANIA BEACH              FL
45514   1N4AL3AP7JC108520   Nissan      ALTIMA               GLEN BURNIE              MD
45515   1N4AL3AP7JC116567   Nissan      ALTIMA               BALTIMORE                MD
45516   1N4AL3AP7JC116939   Nissan      ALTIMA               Fort Lauderdale          FL
45517   1N4AL3AP7JC117590   Nissan      ALTIMA               DAYTONA BEACH            FL
45518   1N4AL3AP7JC117606   Nissan      ALTIMA               SAN FRANCISCO            CA
45519   1N4AL3AP7JC117833   Nissan      ALTIMA               DALLAS                   TX
45520   1N4AL3AP7JC118125   Nissan      ALTIMA               Tampa                    FL
45521   1N4AL3AP7JC118156   Nissan      ALTIMA               PHILADELPHIA             PA
45522   1N4AL3AP7JC119307   Nissan      ALTIMA               CHICAGO                  IL
45523   1N4AL3AP7JC119744   Nissan      ALTIMA               LOMBARD                  IL
45524   1N4AL3AP7JC120974   Nissan      ALTIMA               Baltimore                MD
45525   1N4AL3AP7JC126001   Nissan      ALTIMA               Fort Lauderdale          FL
45526   1N4AL3AP7JC126841   Nissan      ALTIMA               CHICAGO                  IL
45527   1N4AL3AP7JC127276   Nissan      ALTIMA               TRACY                    CA
45528   1N4AL3AP7JC127987   Nissan      ALTIMA               CHICAGO                  IL
45529   1N4AL3AP7JC130016   Nissan      ALTIMA               HANOVER                  MD
45530   1N4AL3AP7JC130212   Nissan      ALTIMA               Ft. Myers                FL
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45531   1N4AL3AP7JC130422   Nissan       ALTIMA               FT LAUDERDALE            FL
45532   1N4AL3AP7JC130632   Nissan       ALTIMA               Richmond                 VA
45533   1N4AL3AP7JC130758   Nissan       ALTIMA               TAMPA                    FL
45534   1N4AL3AP7JC131005   Nissan       ALTIMA               Elkridge                 MD
45535   1N4AL3AP7JC131134   Nissan       ALTIMA               PHILADELPHIA             PA
45536   1N4AL3AP7JC131523   Nissan       ALTIMA               NOTTINGHAM               MD
45537   1N4AL3AP7JC133322   Nissan       ALTIMA               HANOVER                  MD
45538   1N4AL3AP7JC134356   Nissan       ALTIMA               Winston‐Salem            NC
45539   1N4AL3AP7JC138407   Nissan       ALTIMA               SPRINGFIELD              VA
45540   1N4AL3AP7JC141436   Nissan       ALTIMA               CHICAGO                  IL
45541   1N4AL3AP7JC141694   Nissan       ALTIMA               Elkridge                 MD
45542   1N4AL3AP7JC144028   Nissan       ALTIMA               Kent                     WA
45543   1N4AL3AP7JC144935   Nissan       ALTIMA               GLEN BURNIE              MD
45544   1N4AL3AP7JC151237   Nissan       ALTIMA               HANOVER                  MD
45545   1N4AL3AP7JC152713   Nissan       ALTIMA               PHILADELPHIA             PA
45546   1N4AL3AP7JC153070   Nissan       ALTIMA               PHILADELPHIA             PA
45547   1N4AL3AP7JC153294   Nissan       ALTIMA               MEDINA                   OH
45548   1N4AL3AP7JC155448   Nissan       ALTIMA               CHICAGO                  IL
45549   1N4AL3AP7JC156017   Nissan       ALTIMA               FAYETTEVILLE             GA
45550   1N4AL3AP7JC162724   Nissan       ALTIMA               North Dighton            MA
45551   1N4AL3AP7JC162769   Nissan       ALTIMA               North Dighton            MA
45552   1N4AL3AP7JC163372   Nissan       ALTIMA               STERLING                 US
45553   1N4AL3AP7JC163906   Nissan       ALTIMA               Newark                   NJ
45554   1N4AL3AP7JC163940   Nissan       ALTIMA               PITTSBURGH               PA
45555   1N4AL3AP7JC164795   Nissan       ALTIMA               Ft. Myers                FL
45556   1N4AL3AP7JC165011   Nissan       ALTIMA               WHITE PLAINS             NY
45557   1N4AL3AP7JC165123   Nissan       ALTIMA               WEST PALM BEACH          FL
45558   1N4AL3AP7JC167096   Nissan       ALTIMA               Irving                   TX
45559   1N4AL3AP7JC167129   Nissan       ALTIMA               Davie                    FL
45560   1N4AL3AP7JC167549   Nissan       ALTIMA               MEDINA                   OH
45561   1N4AL3AP7JC167678   Nissan       ALTIMA               Bordentown               NJ
45562   1N4AL3AP7JC167695   Nissan       ALTIMA               TAMPA                    FL
45563   1N4AL3AP7JC167728   Nissan       ALTIMA               Sterling                 VA
45564   1N4AL3AP7JC167843   Nissan       ALTIMA               EAST BOSTON              MA
45565   1N4AL3AP7JC167857   Nissan       ALTIMA               San Antonio              TX
45566   1N4AL3AP7JC167891   Nissan       ALTIMA               HANOVER                  MD
45567   1N4AL3AP7JC167910   Nissan       ALTIMA               ELKRIDGE                 MD
45568   1N4AL3AP7JC167972   Nissan       ALTIMA               North Dighton            MA
45569   1N4AL3AP7JC169155   Nissan       ALTIMA               Bridgeton                MO
45570   1N4AL3AP7JC169172   Nissan       ALTIMA               RICHMOND                 VA
45571   1N4AL3AP7JC169575   Nissan       ALTIMA               San Diego                CA
45572   1N4AL3AP7JC169706   Nissan       ALTIMA               CLEVELAND                OH
45573   1N4AL3AP7JC170516   Nissan       ALTIMA               Matteson                 IL
45574   1N4AL3AP7JC171343   Nissan       ALTIMA               NOTTINGHAM               MD
45575   1N4AL3AP7JC171388   Nissan       ALTIMA               AUSTIN                   TX
45576   1N4AL3AP7JC171536   Nissan       ALTIMA               NASHVILLE                TN
45577   1N4AL3AP7JC171553   Nissan       ALTIMA               CHICAGO                  IL
45578   1N4AL3AP7JC171620   Nissan       ALTIMA               North Dighton            MA
45579   1N4AL3AP7JC171830   Nissan       ALTIMA               PANAMA CITY              FL
45580   1N4AL3AP7JC172203   Nissan       ALTIMA               STERLING                 VA
45581   1N4AL3AP7JC172394   Nissan       ALTIMA               San Diego                CA
45582   1N4AL3AP7JC172900   Nissan       ALTIMA               WEST PALM BEACH          FL
45583   1N4AL3AP7JC173271   Nissan       ALTIMA               BOSTON                   MA
45584   1N4AL3AP7JC173691   Nissan       ALTIMA               CHICAGO                  IL
45585   1N4AL3AP7JC174050   Nissan       ALTIMA               PHILADELPHIA             PA
45586   1N4AL3AP7JC174498   Nissan       ALTIMA               ROSEVILLE                CA
45587   1N4AL3AP7JC174517   Nissan       ALTIMA               Stockton                 CA
45588   1N4AL3AP7JC175182   Nissan       ALTIMA               Burien                   WA
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45589   1N4AL3AP7JC175313   Nissan       ALTIMA               PITTSBURGH               PA
45590   1N4AL3AP7JC175375   Nissan       ALTIMA               SACRAMENTO               CA
45591   1N4AL3AP7JC175425   Nissan       ALTIMA               LOS ANGELES              CA
45592   1N4AL3AP7JC176087   Nissan       ALTIMA               SAN FRANCISCO            CA
45593   1N4AL3AP7JC176848   Nissan       ALTIMA               BURBANK                  CA
45594   1N4AL3AP7JC177935   Nissan       ALTIMA               ONTARIO                  CA
45595   1N4AL3AP7JC180902   Nissan       ALTIMA               Phoenix                  AZ
45596   1N4AL3AP7JC181869   Nissan       ALTIMA               FAYETTEVILLE             GA
45597   1N4AL3AP7JC187641   Nissan       ALTIMA               Smithtown                NY
45598   1N4AL3AP7JC188076   Nissan       ALTIMA               LAS VEGAS                NV
45599   1N4AL3AP7JC188661   Nissan       ALTIMA               Hanover                  MD
45600   1N4AL3AP7JC188675   Nissan       ALTIMA               PORTLAND                 OR
45601   1N4AL3AP7JC190457   Nissan       ALTIMA               Dania Beach              FL
45602   1N4AL3AP7JC190782   Nissan       ALTIMA               GLEN BURNIE              MD
45603   1N4AL3AP7JC192094   Nissan       ALTIMA               STERLING                 VA
45604   1N4AL3AP7JC194136   Nissan       ALTIMA               Smithtown                NY
45605   1N4AL3AP7JC194296   Nissan       ALTIMA               LOS ANGELES              CA
45606   1N4AL3AP7JC195562   Nissan       ALTIMA               BOSTON                   MA
45607   1N4AL3AP7JC195805   Nissan       ALTIMA               Grove City               OH
45608   1N4AL3AP7JC195965   Nissan       ALTIMA               TAMPA                    FL
45609   1N4AL3AP7JC196212   Nissan       ALTIMA               HARVEY                   LA
45610   1N4AL3AP7JC196713   Nissan       ALTIMA               PITTSBURGH               PA
45611   1N4AL3AP7JC196856   Nissan       ALTIMA               BLOOMINGTON              IL
45612   1N4AL3AP7JC197084   Nissan       ALTIMA               FLORIDA DEALER DIR       FL
45613   1N4AL3AP7JC198025   Nissan       ALTIMA               Coraopolis               PA
45614   1N4AL3AP7JC198414   Nissan       ALTIMA
45615   1N4AL3AP7JC199157   Nissan       ALTIMA               Grove City               OH
45616   1N4AL3AP7JC199921   Nissan       ALTIMA               CLEVELAND                OH
45617   1N4AL3AP7JC200615   Nissan       ALTIMA               CHICAGO                  IL
45618   1N4AL3AP7JC201313   Nissan       ALTIMA               Dallas                   TX
45619   1N4AL3AP7JC203675   Nissan       ALTIMA               HANOVER                  MD
45620   1N4AL3AP7JC204275   Nissan       ALTIMA               WEST PALM BEACH          FL
45621   1N4AL3AP7JC204566   Nissan       ALTIMA               DES MOINES               IA
45622   1N4AL3AP7JC205748   Nissan       ALTIMA               LOS ANGELES              CA
45623   1N4AL3AP7JC205796   Nissan       ALTIMA               DALLAS                   TX
45624   1N4AL3AP7JC208262   Nissan       ALTIMA               WEST CENTRAL DEALE       CO
45625   1N4AL3AP7JC208407   Nissan       ALTIMA               SANTA ANA                CA
45626   1N4AL3AP7JC208536   Nissan       ALTIMA               BURBANK                  CA
45627   1N4AL3AP7JC208567   Nissan       ALTIMA               STERLING                 VA
45628   1N4AL3AP7JC208570   Nissan       ALTIMA               Anaheim                  CA
45629   1N4AL3AP7JC209086   Nissan       ALTIMA               SAN DIEGO                CA
45630   1N4AL3AP7JC209668   Nissan       ALTIMA               ROSEVILLE                CA
45631   1N4AL3AP7JC209833   Nissan       ALTIMA               BURBANK                  CA
45632   1N4AL3AP7JC210559   Nissan       ALTIMA               SAN FRANCISCO            CA
45633   1N4AL3AP7JC210691   Nissan       ALTIMA               BURBANK                  CA
45634   1N4AL3AP7JC210884   Nissan       ALTIMA               CHICAGO                  IL
45635   1N4AL3AP7JC211596   Nissan       ALTIMA               Costa Mesa               CA
45636   1N4AL3AP7JC211887   Nissan       ALTIMA               LOS ANGELES              CA
45637   1N4AL3AP7JC212036   Nissan       ALTIMA               FT. LAUDERDALE           FL
45638   1N4AL3AP7JC212117   Nissan       ALTIMA               Atlanta                  GA
45639   1N4AL3AP7JC212599   Nissan       ALTIMA               ROSEVILLE                CA
45640   1N4AL3AP7JC213249   Nissan       ALTIMA               SEATAC                   WA
45641   1N4AL3AP7JC213932   Nissan       ALTIMA               LOS ANGELES              CA
45642   1N4AL3AP7JC214675   Nissan       ALTIMA               ONTARIO                  CA
45643   1N4AL3AP7JC215082   Nissan       ALTIMA               SANTA ANA                CA
45644   1N4AL3AP7JC215132   Nissan       ALTIMA               CHARLOTTE                NC
45645   1N4AL3AP7JC215230   Nissan       ALTIMA               LAS VEGAS                NV
45646   1N4AL3AP7JC216183   Nissan       ALTIMA               Ventura                  CA
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45647   1N4AL3AP7JC216491   Nissan       ALTIMA               LOS ANGELES              CA
45648   1N4AL3AP7JC216507   Nissan       ALTIMA               Dallas                   TX
45649   1N4AL3AP7JC217060   Nissan       ALTIMA               Phoenix                  AZ
45650   1N4AL3AP7JC217401   Nissan       ALTIMA               PORTLAND                 OR
45651   1N4AL3AP7JC224218   Nissan       ALTIMA               PITTSBURGH               PA
45652   1N4AL3AP7JC226163   Nissan       ALTIMA               MEDINA                   OH
45653   1N4AL3AP7JC226681   Nissan       ALTIMA               Anaheim                  CA
45654   1N4AL3AP7JC229094   Nissan       ALTIMA               San Diego                CA
45655   1N4AL3AP7JC229130   Nissan       ALTIMA               Atlanta                  GA
45656   1N4AL3AP7JC231475   Nissan       ALTIMA               BURBANK                  CA
45657   1N4AL3AP7JC231847   Nissan       ALTIMA               SACRAMENTO               CA
45658   1N4AL3AP7JC233243   Nissan       ALTIMA               SANTA ANA                CA
45659   1N4AL3AP7JC240189   Nissan       ALTIMA               Riverside                CA
45660   1N4AL3AP7JC240726   Nissan       ALTIMA               SAN DIEGO                CA
45661   1N4AL3AP7JC242220   Nissan       ALTIMA               CHICAGO                  IL
45662   1N4AL3AP7JC242542   Nissan       ALTIMA               Fresno                   CA
45663   1N4AL3AP7JC242847   Nissan       ALTIMA               LOS ANGELES              CA
45664   1N4AL3AP7JC243660   Nissan       ALTIMA               LOS ANGELES              CA
45665   1N4AL3AP7JC243805   Nissan       ALTIMA               SAN JOSE                 CA
45666   1N4AL3AP7JC243819   Nissan       ALTIMA               SALT LAKE CITY           US
45667   1N4AL3AP7JC243982   Nissan       ALTIMA               Slidell                  LA
45668   1N4AL3AP7JC244226   Nissan       ALTIMA               LOS ANGELES              CA
45669   1N4AL3AP7JC244243   Nissan       ALTIMA               BURBANK                  CA
45670   1N4AL3AP7JC245408   Nissan       ALTIMA               Los Angeles              CA
45671   1N4AL3AP7JC245859   Nissan       ALTIMA               ROSEVILLE                CA
45672   1N4AL3AP7JC246106   Nissan       ALTIMA               BURBANK                  CA
45673   1N4AL3AP7JC246137   Nissan       ALTIMA               Phoenix                  AZ
45674   1N4AL3AP7JC246297   Nissan       ALTIMA               LOS ANGELES              CA
45675   1N4AL3AP7JC246865   Nissan       ALTIMA               LOS ANGELES              CA
45676   1N4AL3AP7JC247045   Nissan       ALTIMA               ALBUQUERQUE              NM
45677   1N4AL3AP7JC247062   Nissan       ALTIMA               SALT LAKE CITY           UT
45678   1N4AL3AP7JC247093   Nissan       ALTIMA               BURBANK                  CA
45679   1N4AL3AP7JC247207   Nissan       ALTIMA               CHICAGO                  IL
45680   1N4AL3AP7JC247255   Nissan       ALTIMA               Rockville Centr          NY
45681   1N4AL3AP7JC247532   Nissan       ALTIMA               LOS ANGELES              CA
45682   1N4AL3AP7JC248163   Nissan       ALTIMA               LAS VEGAS                NV
45683   1N4AL3AP7JC248762   Nissan       ALTIMA               SAN FRANCISCO            CA
45684   1N4AL3AP7JC248955   Nissan       ALTIMA               Pasadena                 CA
45685   1N4AL3AP7JC249183   Nissan       ALTIMA               Riverside                CA
45686   1N4AL3AP7JC249300   Nissan       ALTIMA               WEST HARTFORD            CT
45687   1N4AL3AP7JC249832   Nissan       ALTIMA               SAN FRANCISCO            CA
45688   1N4AL3AP7JC249877   Nissan       ALTIMA               LOS ANGELES              CA
45689   1N4AL3AP7JC249930   Nissan       ALTIMA               SANTA ANA                CA
45690   1N4AL3AP7JC250415   Nissan       ALTIMA               LOS ANGELES              CA
45691   1N4AL3AP7JC250429   Nissan       ALTIMA               Rio Linda                CA
45692   1N4AL3AP7JC251113   Nissan       ALTIMA               Fresno                   CA
45693   1N4AL3AP7JC251130   Nissan       ALTIMA               SANTA ANA                CA
45694   1N4AL3AP7JC251614   Nissan       ALTIMA               LOS ANGELES AP           CA
45695   1N4AL3AP7JC251662   Nissan       ALTIMA               BURBANK                  CA
45696   1N4AL3AP7JC252343   Nissan       ALTIMA               CHICAGO                  IL
45697   1N4AL3AP7JC253752   Nissan       ALTIMA               TUCSON                   AZ
45698   1N4AL3AP7JC263648   Nissan       ALTIMA               SALT LAKE CITY           US
45699   1N4AL3AP7JC264959   Nissan       ALTIMA               Anaheim                  CA
45700   1N4AL3AP7JC265657   Nissan       ALTIMA               Newark                   NJ
45701   1N4AL3AP7JC266176   Nissan       ALTIMA               LAS VEGAS                NV
45702   1N4AL3AP7JC267280   Nissan       ALTIMA               LAS VEGAS                NV
45703   1N4AL3AP7JC268803   Nissan       ALTIMA               SAN JOSE                 CA
45704   1N4AL3AP7JC269305   Nissan       ALTIMA               LAS VEGAS                NV
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45705   1N4AL3AP7JC269952   Nissan      ALTIMA               LAS VEGAS                NV
45706   1N4AL3AP7JC270969   Nissan      ALTIMA               LOS ANGELES              CA
45707   1N4AL3AP7JC273788   Nissan      ALTIMA               ROY                      UT
45708   1N4AL3AP7JC278926   Nissan      ALTIMA               Albuquerque              NM
45709   1N4AL3AP7JC279459   Nissan      ALTIMA               LOS ANGELES              CA
45710   1N4AL3AP7JC279526   Nissan      ALTIMA               LOS ANGELES              CA
45711   1N4AL3AP7JC281132   Nissan      ALTIMA               SAN JOSE                 CA
45712   1N4AL3AP7JC281776   Nissan      ALTIMA               SANTA ANA                CA
45713   1N4AL3AP7JC282040   Nissan      ALTIMA               SAN DIEGO                CA
45714   1N4AL3AP7JC282636   Nissan      ALTIMA               Costa Mesa               CA
45715   1N4AL3AP7JC283110   Nissan      ALTIMA               SAN JOSE                 CA
45716   1N4AL3AP8FC209489   Nissan      ALTIMA               BOSTON                   MA
45717   1N4AL3AP8GC128607   Nissan      ALTIMA               Elkridge                 MD
45718   1N4AL3AP8GC132320   Nissan      ALTIMA               OAKLAND                  CA
45719   1N4AL3AP8GC215729   Nissan      ALTIMA               DES PLAINES              IL
45720   1N4AL3AP8GC233793   Nissan      ALTIMA               Burien                   WA
45721   1N4AL3AP8GN377249   Nissan      ALTIMA               Portland                 OR
45722   1N4AL3AP8HC201900   Nissan      ALTIMA               HANOVER                  MD
45723   1N4AL3AP8HC202707   Nissan      ALTIMA               North Dighton            MA
45724   1N4AL3AP8HC265970   Nissan      ALTIMA               OAKLAND                  CA
45725   1N4AL3AP8HC276242   Nissan      ALTIMA               HANOVER                  MD
45726   1N4AL3AP8HC287063   Nissan      ALTIMA               Fontana                  CA
45727   1N4AL3AP8HC288875   Nissan      ALTIMA               Atlanta                  GA
45728   1N4AL3AP8HC290271   Nissan      ALTIMA               Stockton                 CA
45729   1N4AL3AP8HC290593   Nissan      ALTIMA               LOS ANGELES              CA
45730   1N4AL3AP8HC290979   Nissan      ALTIMA               SAN BRUNO                CA
45731   1N4AL3AP8HC291419   Nissan      ALTIMA               ROSEVILLE                CA
45732   1N4AL3AP8HC291551   Nissan      ALTIMA               BURBANK                  CA
45733   1N4AL3AP8HC293137   Nissan      ALTIMA               OAKLAND                  CA
45734   1N4AL3AP8HC293199   Nissan      ALTIMA               LOS ANGELES              CA
45735   1N4AL3AP8HC293204   Nissan      ALTIMA               Hayward                  CA
45736   1N4AL3AP8HC293235   Nissan      ALTIMA               BURBANK                  CA
45737   1N4AL3AP8HC293249   Nissan      ALTIMA               Fontana                  CA
45738   1N4AL3AP8HC294269   Nissan      ALTIMA               NORTH HOLLYWOOD          CA
45739   1N4AL3AP8HN322026   Nissan      ALTIMA               DAYTONA BEACH            FL
45740   1N4AL3AP8HN346374   Nissan      ALTIMA               Union City               GA
45741   1N4AL3AP8HN349954   Nissan      ALTIMA               SAN BRUNO                CA
45742   1N4AL3AP8HN350232   Nissan      ALTIMA               Lynn                     MA
45743   1N4AL3AP8HN353065   Nissan      ALTIMA               North Las Vegas          NV
45744   1N4AL3AP8HN363062   Nissan      ALTIMA               RALEIGH                  NC
45745   1N4AL3AP8HN365040   Nissan      ALTIMA               VAN NUYS                 CA
45746   1N4AL3AP8HN366236   Nissan      ALTIMA               DES PLAINES              IL
45747   1N4AL3AP8JC115606   Nissan      ALTIMA               PHILADELPHIA             PA
45748   1N4AL3AP8JC117551   Nissan      ALTIMA               Cleveland                OH
45749   1N4AL3AP8JC118697   Nissan      ALTIMA               DANIA BEACH              FL
45750   1N4AL3AP8JC119851   Nissan      ALTIMA               CICERO                   IL
45751   1N4AL3AP8JC119915   Nissan      ALTIMA               DAYTONA BEACH            FL
45752   1N4AL3AP8JC120448   Nissan      ALTIMA
45753   1N4AL3AP8JC121177   Nissan      ALTIMA               Warminster               PA
45754   1N4AL3AP8JC126895   Nissan      ALTIMA               GLEN BURNIE              MD
45755   1N4AL3AP8JC126928   Nissan      ALTIMA               DAYTONA BEACH            FL
45756   1N4AL3AP8JC127769   Nissan      ALTIMA               Tampa                    FL
45757   1N4AL3AP8JC128257   Nissan      ALTIMA               HANOVER                  MD
45758   1N4AL3AP8JC128565   Nissan      ALTIMA               HANOVER                  MD
45759   1N4AL3AP8JC129229   Nissan      ALTIMA               SPRINGFIELD              VA
45760   1N4AL3AP8JC129960   Nissan      ALTIMA               Elkridge                 MD
45761   1N4AL3AP8JC131112   Nissan      ALTIMA               STERLING                 VA
45762   1N4AL3AP8JC131756   Nissan      ALTIMA               Stockton                 CA
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45763   1N4AL3AP8JC132194   Nissan       ALTIMA               FORT LAUDERDALE          FL
45764   1N4AL3AP8JC132812   Nissan       ALTIMA               BURBANK                  CA
45765   1N4AL3AP8JC134933   Nissan       ALTIMA               Estero                   FL
45766   1N4AL3AP8JC140781   Nissan       ALTIMA               Atlanta                  GA
45767   1N4AL3AP8JC141140   Nissan       ALTIMA               MIDDLE RIVER             MD
45768   1N4AL3AP8JC144930   Nissan       ALTIMA               North Dighton            MA
45769   1N4AL3AP8JC145091   Nissan       ALTIMA               MEDINA                   OH
45770   1N4AL3AP8JC145558   Nissan       ALTIMA               Austell                  GA
45771   1N4AL3AP8JC145981   Nissan       ALTIMA               Charlotte                NC
45772   1N4AL3AP8JC152235   Nissan       ALTIMA               FT LAUDERDALE            FL
45773   1N4AL3AP8JC153904   Nissan       ALTIMA               Fort Lauderdale          FL
45774   1N4AL3AP8JC154986   Nissan       ALTIMA               Tampa                    FL
45775   1N4AL3AP8JC155846   Nissan       ALTIMA               STERLING                 VA
45776   1N4AL3AP8JC156916   Nissan       ALTIMA               FORT LAUDERDALE          FL
45777   1N4AL3AP8JC157841   Nissan       ALTIMA               NOTTINGHAM               MD
45778   1N4AL3AP8JC162683   Nissan       ALTIMA               STERLING                 VA
45779   1N4AL3AP8JC163624   Nissan       ALTIMA               North Dighton            MA
45780   1N4AL3AP8JC163848   Nissan       ALTIMA               CHARLOTTE                NC
45781   1N4AL3AP8JC163932   Nissan       ALTIMA               North Dighton            MA
45782   1N4AL3AP8JC164546   Nissan       ALTIMA               LAS VEGAS                NV
45783   1N4AL3AP8JC164630   Nissan       ALTIMA               COLUMBIA                 SC
45784   1N4AL3AP8JC165924   Nissan       ALTIMA               Elkridge                 MD
45785   1N4AL3AP8JC166815   Nissan       ALTIMA               HAYWARD                  CA
45786   1N4AL3AP8JC167107   Nissan       ALTIMA               Jacksonville             FL
45787   1N4AL3AP8JC167110   Nissan       ALTIMA               Estero                   FL
45788   1N4AL3AP8JC168306   Nissan       ALTIMA               Irving                   TX
45789   1N4AL3AP8JC168869   Nissan       ALTIMA               DALLAS                   TX
45790   1N4AL3AP8JC169195   Nissan       ALTIMA               DALLAS                   TX
45791   1N4AL3AP8JC169231   Nissan       ALTIMA               Atlanta                  GA
45792   1N4AL3AP8JC169245   Nissan       ALTIMA               Warminster               PA
45793   1N4AL3AP8JC170265   Nissan       ALTIMA               Dallas                   TX
45794   1N4AL3AP8JC171805   Nissan       ALTIMA               North Las Vegas          NV
45795   1N4AL3AP8JC171836   Nissan       ALTIMA               STERLING                 VA
45796   1N4AL3AP8JC171867   Nissan       ALTIMA               SAN FRANCISCO            CA
45797   1N4AL3AP8JC172162   Nissan       ALTIMA               STERLING                 VA
45798   1N4AL3AP8JC172310   Nissan       ALTIMA               Honolulu                 HI
45799   1N4AL3AP8JC172601   Nissan       ALTIMA               Costa Mesa               CA
45800   1N4AL3AP8JC172727   Nissan       ALTIMA               North Las Vegas          NV
45801   1N4AL3AP8JC172890   Nissan       ALTIMA               Slidell                  LA
45802   1N4AL3AP8JC173117   Nissan       ALTIMA               LOS ANGELES              CA
45803   1N4AL3AP8JC173506   Nissan       ALTIMA               Orlando                  FL
45804   1N4AL3AP8JC173666   Nissan       ALTIMA               LOS ANGELES              CA
45805   1N4AL3AP8JC173697   Nissan       ALTIMA               Sanford                  FL
45806   1N4AL3AP8JC174042   Nissan       ALTIMA               NEW YORK DEALER DI       NJ
45807   1N4AL3AP8JC174316   Nissan       ALTIMA               Kent                     WA
45808   1N4AL3AP8JC174459   Nissan       ALTIMA               Richmond                 VA
45809   1N4AL3AP8JC174493   Nissan       ALTIMA               HANOVER                  MD
45810   1N4AL3AP8JC175093   Nissan       ALTIMA               Warr Acres               OK
45811   1N4AL3AP8JC176020   Nissan       ALTIMA               Alexandria               VA
45812   1N4AL3AP8JC176390   Nissan       ALTIMA               MIAMI                    FL
45813   1N4AL3AP8JC176454   Nissan       ALTIMA               Baltimore                MD
45814   1N4AL3AP8JC176566   Nissan       ALTIMA               Johnston                 RI
45815   1N4AL3AP8JC177426   Nissan       ALTIMA               North Dighton            MA
45816   1N4AL3AP8JC180584   Nissan       ALTIMA               Matteson                 IL
45817   1N4AL3AP8JC182531   Nissan       ALTIMA               Rio Linda                CA
45818   1N4AL3AP8JC183226   Nissan       ALTIMA               SALT LAKE CITY           UT
45819   1N4AL3AP8JC183825   Nissan       ALTIMA               Framingham               MA
45820   1N4AL3AP8JC184523   Nissan       ALTIMA               CHICAGO                  IL
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45821   1N4AL3AP8JC187079   Nissan       ALTIMA               Harvey                   LA
45822   1N4AL3AP8JC187356   Nissan       ALTIMA               LAS VEGAS                NV
45823   1N4AL3AP8JC189107   Nissan       ALTIMA               WOODLAND HILLS           CA
45824   1N4AL3AP8JC189432   Nissan       ALTIMA               PITTSBURGH               PA
45825   1N4AL3AP8JC189530   Nissan       ALTIMA               STERLING                 VA
45826   1N4AL3AP8JC190743   Nissan       ALTIMA               INGLEWOOD                CA
45827   1N4AL3AP8JC191357   Nissan       ALTIMA               CHICAGO                  IL
45828   1N4AL3AP8JC191455   Nissan       ALTIMA               Smithtown                NY
45829   1N4AL3AP8JC192010   Nissan       ALTIMA               Dallas                   TX
45830   1N4AL3AP8JC192105   Nissan       ALTIMA               North Dighton            MA
45831   1N4AL3AP8JC193917   Nissan       ALTIMA               WEST DUNDEE              IL
45832   1N4AL3AP8JC194324   Nissan       ALTIMA               JAMAICA                  NY
45833   1N4AL3AP8JC194954   Nissan       ALTIMA               NOTTINGHAM               MD
45834   1N4AL3AP8JC194968   Nissan       ALTIMA               CHICAGO                  IL
45835   1N4AL3AP8JC196946   Nissan       ALTIMA               CLEVELAND                OH
45836   1N4AL3AP8JC197319   Nissan       ALTIMA               NOTTINGHAM               MD
45837   1N4AL3AP8JC197322   Nissan       ALTIMA               BOSTON                   MA
45838   1N4AL3AP8JC197661   Nissan       ALTIMA               NEW ENGLAND DEALER       MA
45839   1N4AL3AP8JC197904   Nissan       ALTIMA               Newark                   NJ
45840   1N4AL3AP8JC197918   Nissan       ALTIMA               SANTA BARBARA            CA
45841   1N4AL3AP8JC198373   Nissan       ALTIMA               Cleveland                OH
45842   1N4AL3AP8JC198602   Nissan       ALTIMA               PHOENIX                  AZ
45843   1N4AL3AP8JC198910   Nissan       ALTIMA               Fredericksburg           VA
45844   1N4AL3AP8JC199927   Nissan       ALTIMA               PHOENIX                  AZ
45845   1N4AL3AP8JC200980   Nissan       ALTIMA               PHILADELPHIA             PA
45846   1N4AL3AP8JC201000   Nissan       ALTIMA               Bensalem                 PA
45847   1N4AL3AP8JC201501   Nissan       ALTIMA               KENNER                   LA
45848   1N4AL3AP8JC201725   Nissan       ALTIMA               Irving                   TX
45849   1N4AL3AP8JC204009   Nissan       ALTIMA               SANTA ANA                CA
45850   1N4AL3AP8JC205628   Nissan       ALTIMA               BRONX                    NY
45851   1N4AL3AP8JC205824   Nissan       ALTIMA               STERLING                 VA
45852   1N4AL3AP8JC206035   Nissan       ALTIMA               GAINESVILLE              GA
45853   1N4AL3AP8JC206858   Nissan       ALTIMA               Manheim                  PA
45854   1N4AL3AP8JC207136   Nissan       ALTIMA               LOS ANGELES              CA
45855   1N4AL3AP8JC208562   Nissan       ALTIMA               ROSEVILLE                CA
45856   1N4AL3AP8JC208707   Nissan       ALTIMA               SEATAC                   WA
45857   1N4AL3AP8JC209663   Nissan       ALTIMA               LOS ANGELES              CA
45858   1N4AL3AP8JC209775   Nissan       ALTIMA               PICO RIVERA              CA
45859   1N4AL3AP8JC209825   Nissan       ALTIMA               SAN JOSE                 CA
45860   1N4AL3AP8JC210568   Nissan       ALTIMA               ROSEVILLE                CA
45861   1N4AL3AP8JC210828   Nissan       ALTIMA               LOS ANGELES              CA
45862   1N4AL3AP8JC210943   Nissan       ALTIMA               SANTA ANA                CA
45863   1N4AL3AP8JC211011   Nissan       ALTIMA               SANTA ANA                CA
45864   1N4AL3AP8JC212305   Nissan       ALTIMA               Smithtown                NY
45865   1N4AL3AP8JC214054   Nissan       ALTIMA               ENGLEWOOD                CO
45866   1N4AL3AP8JC214149   Nissan       ALTIMA               LOS ANGELES              CA
45867   1N4AL3AP8JC215172   Nissan       ALTIMA               Atlanta                  GA
45868   1N4AL3AP8JC215866   Nissan       ALTIMA               TAMPA                    FL
45869   1N4AL3AP8JC216385   Nissan       ALTIMA               ONTARIO, RIVERSIDE       CA
45870   1N4AL3AP8JC216452   Nissan       ALTIMA               Lake Elsinore            CA
45871   1N4AL3AP8JC216659   Nissan       ALTIMA               LOS ANGELES              CA
45872   1N4AL3AP8JC216998   Nissan       ALTIMA               LOS ANGELES              CA
45873   1N4AL3AP8JC217066   Nissan       ALTIMA               SAN DIEGO                CA
45874   1N4AL3AP8JC217195   Nissan       ALTIMA               BOSTON                   MA
45875   1N4AL3AP8JC217455   Nissan       ALTIMA               LOS ANGELES              CA
45876   1N4AL3AP8JC217715   Nissan       ALTIMA               WESTLAKE                 OH
45877   1N4AL3AP8JC222459   Nissan       ALTIMA               FORT MYERS               FL
45878   1N4AL3AP8JC224969   Nissan       ALTIMA               DENVER                   CO
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45879   1N4AL3AP8JC226690   Nissan       ALTIMA               SANTA ANA                CA
45880   1N4AL3AP8JC227077   Nissan       ALTIMA               Manheim                  PA
45881   1N4AL3AP8JC227094   Nissan       ALTIMA               Las Vegas                NV
45882   1N4AL3AP8JC227144   Nissan       ALTIMA               LOS ANGELES              CA
45883   1N4AL3AP8JC229041   Nissan       ALTIMA               MIAMI                    FL
45884   1N4AL3AP8JC231338   Nissan       ALTIMA               LOS ANGELES              CA
45885   1N4AL3AP8JC231856   Nissan       ALTIMA               Warminster               PA
45886   1N4AL3AP8JC231873   Nissan       ALTIMA               North Dighton            MA
45887   1N4AL3AP8JC232487   Nissan       ALTIMA               LOS ANGELES              CA
45888   1N4AL3AP8JC232814   Nissan       ALTIMA               Hayward                  CA
45889   1N4AL3AP8JC233199   Nissan       ALTIMA               ROSEVILLE                CA
45890   1N4AL3AP8JC233347   Nissan       ALTIMA               LOS ANGELES              CA
45891   1N4AL3AP8JC234255   Nissan       ALTIMA               LOS ANGELES              CA
45892   1N4AL3AP8JC235700   Nissan       ALTIMA               SAN FRANCISCO            CA
45893   1N4AL3AP8JC240010   Nissan       ALTIMA               SANTA ANA                CA
45894   1N4AL3AP8JC240346   Nissan       ALTIMA               Anaheim                  CA
45895   1N4AL3AP8JC240525   Nissan       ALTIMA               LOS ANGELES              CA
45896   1N4AL3AP8JC241478   Nissan       ALTIMA               CHICAGO                  IL
45897   1N4AL3AP8JC242422   Nissan       ALTIMA               SANTA ANA                CA
45898   1N4AL3AP8JC242453   Nissan       ALTIMA               BURBANK                  CA
45899   1N4AL3AP8JC243179   Nissan       ALTIMA               ORANGE COUNTY            CA
45900   1N4AL3AP8JC243358   Nissan       ALTIMA               Matteson                 IL
45901   1N4AL3AP8JC244073   Nissan       ALTIMA               PALM SPRINGS             CA
45902   1N4AL3AP8JC244140   Nissan       ALTIMA               SAN FRANCISCO            CA
45903   1N4AL3AP8JC244283   Nissan       ALTIMA               SACRAMENTO               CA
45904   1N4AL3AP8JC244395   Nissan       ALTIMA               DENVER                   CO
45905   1N4AL3AP8JC244610   Nissan       ALTIMA               SAINT PAUL               MN
45906   1N4AL3AP8JC244753   Nissan       ALTIMA               LAS VEGAS                NV
45907   1N4AL3AP8JC244896   Nissan       ALTIMA               Norwalk                  CA
45908   1N4AL3AP8JC245109   Nissan       ALTIMA               Anaheim                  CA
45909   1N4AL3AP8JC245126   Nissan       ALTIMA               LAS VEGAS                NV
45910   1N4AL3AP8JC245661   Nissan       ALTIMA               Anaheim                  CA
45911   1N4AL3AP8JC245675   Nissan       ALTIMA               SANTA ANA                CA
45912   1N4AL3AP8JC245725   Nissan       ALTIMA               PALM SPRINGS             CA
45913   1N4AL3AP8JC246258   Nissan       ALTIMA               CHICAGO                  IL
45914   1N4AL3AP8JC246535   Nissan       ALTIMA               BURBANK                  CA
45915   1N4AL3AP8JC246633   Nissan       ALTIMA               SANTA ANA                CA
45916   1N4AL3AP8JC246678   Nissan       ALTIMA               SAN FRANCISCO            CA
45917   1N4AL3AP8JC246891   Nissan       ALTIMA               Kent                     WA
45918   1N4AL3AP8JC247393   Nissan       ALTIMA               PHOENIX                  AZ
45919   1N4AL3AP8JC247779   Nissan       ALTIMA               SAN LEANDRO              CA
45920   1N4AL3AP8JC248110   Nissan       ALTIMA               BURBANK                  CA
45921   1N4AL3AP8JC248303   Nissan       ALTIMA               SAN DIEGO                US
45922   1N4AL3AP8JC248768   Nissan       ALTIMA               LOS ANGELES              CA
45923   1N4AL3AP8JC249144   Nissan       ALTIMA               SANTA ANA                CA
45924   1N4AL3AP8JC249368   Nissan       ALTIMA               SAN JOSE                 CA
45925   1N4AL3AP8JC249838   Nissan       ALTIMA               Hayward                  CA
45926   1N4AL3AP8JC249886   Nissan       ALTIMA               Costa Mesa               CA
45927   1N4AL3AP8JC250472   Nissan       ALTIMA               SAN JOSE                 CA
45928   1N4AL3AP8JC250794   Nissan       ALTIMA               SANTA ANA                CA
45929   1N4AL3AP8JC251119   Nissan       ALTIMA               BURBANK                  CA
45930   1N4AL3AP8JC251122   Nissan       ALTIMA               SANTA ANA                CA
45931   1N4AL3AP8JC251153   Nissan       ALTIMA               SEATAC                   WA
45932   1N4AL3AP8JC251282   Nissan       ALTIMA               Sacramento               CA
45933   1N4AL3AP8JC251623   Nissan       ALTIMA               LOS ANGELES              CA
45934   1N4AL3AP8JC251685   Nissan       ALTIMA               Fontana                  CA
45935   1N4AL3AP8JC251704   Nissan       ALTIMA               Burien                   WA
45936   1N4AL3AP8JC253615   Nissan       ALTIMA               LAS VEGAS                NV
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45937   1N4AL3AP8JC254165   Nissan      ALTIMA               MARIETTA                 GA
45938   1N4AL3AP8JC255011   Nissan      ALTIMA               Portland                 OR
45939   1N4AL3AP8JC262637   Nissan      ALTIMA               SEATAC                   WA
45940   1N4AL3AP8JC262993   Nissan      ALTIMA               BURBANK                  CA
45941   1N4AL3AP8JC265392   Nissan      ALTIMA               Portland                 OR
45942   1N4AL3AP8JC279163   Nissan      ALTIMA               SAN DIEGO                CA
45943   1N4AL3AP8JC279809   Nissan      ALTIMA               LAS VEGAS                NV
45944   1N4AL3AP8JC280586   Nissan      ALTIMA               Mira Loma                CA
45945   1N4AL3AP8JC280961   Nissan      ALTIMA               Warminster               PA
45946   1N4AL3AP8JC281706   Nissan      ALTIMA               LOS ANGELES              CA
45947   1N4AL3AP8JC282581   Nissan      ALTIMA               TUCSON                   AZ
45948   1N4AL3AP8JC282726   Nissan      ALTIMA               SAN DIEGO                CA
45949   1N4AL3AP8JC283505   Nissan      ALTIMA               ONTARIO                  CA
45950   1N4AL3AP9FN909672   Nissan      ALTIMA               PITTSBURGH               PA
45951   1N4AL3AP9GC201547   Nissan      ALTIMA               Brighton                 CO
45952   1N4AL3AP9GC255981   Nissan      ALTIMA               Kansas City              MO
45953   1N4AL3AP9GN369578   Nissan      ALTIMA               Arlington                WA
45954   1N4AL3AP9HC195704   Nissan      ALTIMA               Fort Lauderdale          FL
45955   1N4AL3AP9HC207141   Nissan      ALTIMA               DANIA BEACH              FL
45956   1N4AL3AP9HC228135   Nissan      ALTIMA               Elkridge                 MD
45957   1N4AL3AP9HC241807   Nissan      ALTIMA               SAN DIEGO                CA
45958   1N4AL3AP9HC245887   Nissan      ALTIMA               North Dighton            MA
45959   1N4AL3AP9HC245954   Nissan      ALTIMA               SAN DIEGO                CA
45960   1N4AL3AP9HC246604   Nissan      ALTIMA               NOTTINGHAM               MD
45961   1N4AL3AP9HC248322   Nissan      ALTIMA               TRACY                    CA
45962   1N4AL3AP9HC250278   Nissan      ALTIMA               SEATAC                   WA
45963   1N4AL3AP9HC267985   Nissan      ALTIMA               STERLING                 VA
45964   1N4AL3AP9HC280915   Nissan      ALTIMA               CENTRAL DIST OFFC        OK
45965   1N4AL3AP9HC287878   Nissan      ALTIMA               Riverside                CA
45966   1N4AL3AP9HC289923   Nissan      ALTIMA               HANOVER                  MD
45967   1N4AL3AP9HC290618   Nissan      ALTIMA               Stockton                 CA
45968   1N4AL3AP9HC291994   Nissan      ALTIMA               Hayward                  CA
45969   1N4AL3AP9HC292269   Nissan      ALTIMA               ONTARIO                  CA
45970   1N4AL3AP9HC292482   Nissan      ALTIMA               n hollywood              ca
45971   1N4AL3AP9HC292742   Nissan      ALTIMA               MORROW                   GA
45972   1N4AL3AP9HC292921   Nissan      ALTIMA               LOS ANGELES              CA
45973   1N4AL3AP9HC293406   Nissan      ALTIMA               Lynn                     MA
45974   1N4AL3AP9HN314825   Nissan      ALTIMA               CHARLOTTE                NC
45975   1N4AL3AP9HN346691   Nissan      ALTIMA               Elkridge                 MD
45976   1N4AL3AP9HN347954   Nissan      ALTIMA               Mandeville               LA
45977   1N4AL3AP9HN351535   Nissan      ALTIMA               FAYETTEVILLE             GA
45978   1N4AL3AP9HN353088   Nissan      ALTIMA               Burien                   WA
45979   1N4AL3AP9HN354483   Nissan      ALTIMA               Portland                 OR
45980   1N4AL3AP9HN354516   Nissan      ALTIMA               Kent                     WA
45981   1N4AL3AP9HN358775   Nissan      ALTIMA               Philadelphia             PA
45982   1N4AL3AP9HN360641   Nissan      ALTIMA               GLASSBORO                NJ
45983   1N4AL3AP9HN363717   Nissan      ALTIMA               Atlanta                  GA
45984   1N4AL3AP9JC103187   Nissan      ALTIMA               FORT LAUDERDALE          FL
45985   1N4AL3AP9JC117008   Nissan      ALTIMA               Miami                    FL
45986   1N4AL3AP9JC117218   Nissan      ALTIMA               DAYTONA BEACH            FL
45987   1N4AL3AP9JC120068   Nissan      ALTIMA               Matteson                 IL
45988   1N4AL3AP9JC120426   Nissan      ALTIMA               CLEVELAND                OH
45989   1N4AL3AP9JC126095   Nissan      ALTIMA               HARTFORD                 CT
45990   1N4AL3AP9JC128896   Nissan      ALTIMA               PHILADELPHIA             PA
45991   1N4AL3AP9JC131586   Nissan      ALTIMA               KENNER                   LA
45992   1N4AL3AP9JC131832   Nissan      ALTIMA               STERLING                 VA
45993   1N4AL3AP9JC131958   Nissan      ALTIMA               BURBANK                  CA
45994   1N4AL3AP9JC133029   Nissan      ALTIMA               WEST PALM BEACH          FL
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45995   1N4AL3AP9JC135007   Nissan       ALTIMA               Hanover                  MD
45996   1N4AL3AP9JC135945   Nissan       ALTIMA               DAYTONA BEACH            FL
45997   1N4AL3AP9JC138957   Nissan       ALTIMA               BOSTON                   MA
45998   1N4AL3AP9JC139896   Nissan       ALTIMA               HANOVER                  MD
45999   1N4AL3AP9JC140076   Nissan       ALTIMA               Hanover                  MD
46000   1N4AL3AP9JC140949   Nissan       ALTIMA               Hanover                  MD
46001   1N4AL3AP9JC146914   Nissan       ALTIMA               SAN BRUNO                CA
46002   1N4AL3AP9JC153099   Nissan       ALTIMA               Rock Hill                SC
46003   1N4AL3AP9JC153393   Nissan       ALTIMA               STERLING                 VA
46004   1N4AL3AP9JC154043   Nissan       ALTIMA               MIAMI                    FL
46005   1N4AL3AP9JC162627   Nissan       ALTIMA               Philadelphia             PA
46006   1N4AL3AP9JC162837   Nissan       ALTIMA               SOUTHEAST DST OFFC       OK
46007   1N4AL3AP9JC162854   Nissan       ALTIMA               LAS VEGAS                NV
46008   1N4AL3AP9JC163308   Nissan       ALTIMA               Bensalem                 PA
46009   1N4AL3AP9JC163423   Nissan       ALTIMA               Elkridge                 MD
46010   1N4AL3AP9JC163468   Nissan       ALTIMA               Smithtown                NY
46011   1N4AL3AP9JC164703   Nissan       ALTIMA               NEW YORK DEALER DI       NJ
46012   1N4AL3AP9JC164944   Nissan       ALTIMA               HANOVER                  MD
46013   1N4AL3AP9JC165303   Nissan       ALTIMA               STERLING                 VA
46014   1N4AL3AP9JC165771   Nissan       ALTIMA               Smithtown                NY
46015   1N4AL3AP9JC166449   Nissan       ALTIMA               SPRINGFIELD              VA
46016   1N4AL3AP9JC166645   Nissan       ALTIMA               SAN JOSE                 CA
46017   1N4AL3AP9JC166709   Nissan       ALTIMA               SAN FRANCISCO            CA
46018   1N4AL3AP9JC166936   Nissan       ALTIMA               Estero                   FL
46019   1N4AL3AP9JC167052   Nissan       ALTIMA               STERLING                 VA
46020   1N4AL3AP9JC167097   Nissan       ALTIMA               SPRINGFIELD              VA
46021   1N4AL3AP9JC167553   Nissan       ALTIMA               Smithtown                NY
46022   1N4AL3AP9JC167651   Nissan       ALTIMA               Elkridge                 MD
46023   1N4AL3AP9JC168198   Nissan       ALTIMA               BOSTON                   MA
46024   1N4AL3AP9JC168623   Nissan       ALTIMA               HANOVER                  MD
46025   1N4AL3AP9JC168699   Nissan       ALTIMA               WEST PALM BEACH          FL
46026   1N4AL3AP9JC168914   Nissan       ALTIMA               LOS ANGELES              CA
46027   1N4AL3AP9JC170369   Nissan       ALTIMA               DAYTONA BEACH            FL
46028   1N4AL3AP9JC170498   Nissan       ALTIMA               SANTA ANA                CA
46029   1N4AL3AP9JC171473   Nissan       ALTIMA               Rio Linda                CA
46030   1N4AL3AP9JC171800   Nissan       ALTIMA               PORTLAND                 OR
46031   1N4AL3AP9JC172204   Nissan       ALTIMA               Manheim                  PA
46032   1N4AL3AP9JC172428   Nissan       ALTIMA               SPRINGFIELD              VA
46033   1N4AL3AP9JC172607   Nissan       ALTIMA               SEATAC                   WA
46034   1N4AL3AP9JC172719   Nissan       ALTIMA               Greensboro               NC
46035   1N4AL3AP9JC173238   Nissan       ALTIMA               LOS ANGELES              CA
46036   1N4AL3AP9JC174082   Nissan       ALTIMA               GLEN BURNIE              MD
46037   1N4AL3AP9JC174115   Nissan       ALTIMA               North Dighton            MA
46038   1N4AL3AP9JC174907   Nissan       ALTIMA               LOS ANGELES              CA
46039   1N4AL3AP9JC175006   Nissan       ALTIMA               MEDINA                   OH
46040   1N4AL3AP9JC175152   Nissan       ALTIMA               LOS ANGELES              CA
46041   1N4AL3AP9JC175510   Nissan       ALTIMA               MIDDLE RIVER             MD
46042   1N4AL3AP9JC176026   Nissan       ALTIMA               FLORIDA DEALER DIR       FL
46043   1N4AL3AP9JC176768   Nissan       ALTIMA               HANOVER                  MD
46044   1N4AL3AP9JC176866   Nissan       ALTIMA               WEST PALM BEACH          FL
46045   1N4AL3AP9JC176947   Nissan       ALTIMA               SAN FRANCISCO            CA
46046   1N4AL3AP9JC176981   Nissan       ALTIMA               Fredericksburg           VA
46047   1N4AL3AP9JC177631   Nissan       ALTIMA               Florissant               MO
46048   1N4AL3AP9JC177869   Nissan       ALTIMA               PICO RIVERA              CA
46049   1N4AL3AP9JC177967   Nissan       ALTIMA               SANTA ANA                CA
46050   1N4AL3AP9JC179914   Nissan       ALTIMA               Chicago                  IL
46051   1N4AL3AP9JC184580   Nissan       ALTIMA               NEW BERN                 NC
46052   1N4AL3AP9JC185390   Nissan       ALTIMA               Elkridge                 MD
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46053   1N4AL3AP9JC186572   Nissan       ALTIMA               CHICAGO                  IL
46054   1N4AL3AP9JC188032   Nissan       ALTIMA               Costa Mesa               CA
46055   1N4AL3AP9JC188404   Nissan       ALTIMA               Hapeville                GA
46056   1N4AL3AP9JC188421   Nissan       ALTIMA               Newark                   NJ
46057   1N4AL3AP9JC188662   Nissan       ALTIMA               Riverside                CA
46058   1N4AL3AP9JC189438   Nissan       ALTIMA               CHICAGO                  IL
46059   1N4AL3AP9JC190072   Nissan       ALTIMA               North Las Vegas          NV
46060   1N4AL3AP9JC190394   Nissan       ALTIMA               LAS VEGAS                NV
46061   1N4AL3AP9JC192288   Nissan       ALTIMA               CHICAGO                  IL
46062   1N4AL3AP9JC193439   Nissan       ALTIMA               LOS ANGELES              CA
46063   1N4AL3AP9JC193702   Nissan       ALTIMA               MIAMI                    FL
46064   1N4AL3AP9JC194980   Nissan       ALTIMA               COLLEGE PARK             GA
46065   1N4AL3AP9JC195661   Nissan       ALTIMA               Smithtown                NY
46066   1N4AL3AP9JC196325   Nissan       ALTIMA               PHILADELPHIA             PA
46067   1N4AL3AP9JC196552   Nissan       ALTIMA               Winston‐Salem            NC
46068   1N4AL3AP9JC196731   Nissan       ALTIMA               Elkridge                 MD
46069   1N4AL3AP9JC197698   Nissan       ALTIMA               North Dighton            MA
46070   1N4AL3AP9JC197765   Nissan       ALTIMA               Hanover                  MD
46071   1N4AL3AP9JC199080   Nissan       ALTIMA               HANOVER                  MD
46072   1N4AL3AP9JC200535   Nissan       ALTIMA               NASHVILLE                TN
46073   1N4AL3AP9JC201202   Nissan       ALTIMA               MIAMI                    FL
46074   1N4AL3AP9JC201233   Nissan       ALTIMA               Fredericksburg           VA
46075   1N4AL3AP9JC201667   Nissan       ALTIMA               NORTHEAST DISTRICT       NJ
46076   1N4AL3AP9JC202267   Nissan       ALTIMA               IRVING                   TX
46077   1N4AL3AP9JC205590   Nissan       ALTIMA               DALLAS                   TX
46078   1N4AL3AP9JC206397   Nissan       ALTIMA               BOSTON                   MA
46079   1N4AL3AP9JC206545   Nissan       ALTIMA               ORLANDO                  FL
46080   1N4AL3AP9JC207226   Nissan       ALTIMA               Bensalem                 PA
46081   1N4AL3AP9JC207582   Nissan       ALTIMA               NORTH PAC                CA
46082   1N4AL3AP9JC207999   Nissan       ALTIMA               SAN ANTONIO              TX
46083   1N4AL3AP9JC208506   Nissan       ALTIMA               South San Franc          CA
46084   1N4AL3AP9JC208571   Nissan       ALTIMA               SAN FRANCISCO            CA
46085   1N4AL3AP9JC208750   Nissan       ALTIMA               STERLING                 VA
46086   1N4AL3AP9JC209140   Nissan       ALTIMA               SANTA ANA                CA
46087   1N4AL3AP9JC210563   Nissan       ALTIMA               SAN FRANCISCO            CA
46088   1N4AL3AP9JC210580   Nissan       ALTIMA               Los Angeles              CA
46089   1N4AL3AP9JC210921   Nissan       ALTIMA               LOS ANGELES              CA
46090   1N4AL3AP9JC210966   Nissan       ALTIMA               Tolleson                 AZ
46091   1N4AL3AP9JC211129   Nissan       ALTIMA               PLEASANTON               CA
46092   1N4AL3AP9JC211681   Nissan       ALTIMA               LOS ANGELES              CA
46093   1N4AL3AP9JC211969   Nissan       ALTIMA               Atlanta                  GA
46094   1N4AL3AP9JC212376   Nissan       ALTIMA               Atlanta                  GA
46095   1N4AL3AP9JC212510   Nissan       ALTIMA               LAFAYETTE                LA
46096   1N4AL3AP9JC213074   Nissan       ALTIMA               LAS VEGAS                NV
46097   1N4AL3AP9JC213172   Nissan       ALTIMA               HANOVER                  MD
46098   1N4AL3AP9JC213298   Nissan       ALTIMA               Mira Loma                CA
46099   1N4AL3AP9JC214449   Nissan       ALTIMA               Hayward                  CA
46100   1N4AL3AP9JC214631   Nissan       ALTIMA               ROSEVILLE                CA
46101   1N4AL3AP9JC214760   Nissan       ALTIMA               Tolleson                 AZ
46102   1N4AL3AP9JC214886   Nissan       ALTIMA               DALLAS                   TX
46103   1N4AL3AP9JC214984   Nissan       ALTIMA               Burien                   WA
46104   1N4AL3AP9JC215116   Nissan       ALTIMA               Anaheim                  CA
46105   1N4AL3AP9JC215195   Nissan       ALTIMA               LOS ANGELES              CA
46106   1N4AL3AP9JC215343   Nissan       ALTIMA               Mira Loma                CA
46107   1N4AL3AP9JC227198   Nissan       ALTIMA               SAN FRANCISCO            CA
46108   1N4AL3AP9JC227394   Nissan       ALTIMA               Baltimore                MD
46109   1N4AL3AP9JC229100   Nissan       ALTIMA               LAS VEGAS                NV
46110   1N4AL3AP9JC229114   Nissan       ALTIMA               Tolleson                 AZ
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46111   1N4AL3AP9JC229534   Nissan      ALTIMA               SAN JOSE                 CA
46112   1N4AL3AP9JC230649   Nissan      ALTIMA               Santa Clara              CA
46113   1N4AL3AP9JC231445   Nissan      ALTIMA               STERLING                 VA
46114   1N4AL3AP9JC233146   Nissan      ALTIMA               LOS ANGELES              CA
46115   1N4AL3AP9JC233485   Nissan      ALTIMA               DALLAS                   TX
46116   1N4AL3AP9JC234670   Nissan      ALTIMA               LOS ANGELES AP           CA
46117   1N4AL3AP9JC234801   Nissan      ALTIMA               North Las Vegas          NV
46118   1N4AL3AP9JC238573   Nissan      ALTIMA               San Diego                CA
46119   1N4AL3AP9JC238671   Nissan      ALTIMA               SAN JOSE                 CA
46120   1N4AL3AP9JC238900   Nissan      ALTIMA               ROSEVILLE                CA
46121   1N4AL3AP9JC239836   Nissan      ALTIMA               LOS ANGELES              CA
46122   1N4AL3AP9JC240338   Nissan      ALTIMA               LOS ANGELES              CA
46123   1N4AL3AP9JC241778   Nissan      ALTIMA               PHOENIX                  AZ
46124   1N4AL3AP9JC243188   Nissan      ALTIMA               SAN JOSE                 CA
46125   1N4AL3AP9JC243191   Nissan      ALTIMA               Matteson                 IL
46126   1N4AL3AP9JC243630   Nissan      ALTIMA               BURBANK                  CA
46127   1N4AL3AP9JC243658   Nissan      ALTIMA               DENVER                   CO
46128   1N4AL3AP9JC243773   Nissan      ALTIMA               PALM SPRINGS             CA
46129   1N4AL3AP9JC243868   Nissan      ALTIMA               LOS ANGELES              CA
46130   1N4AL3AP9JC244485   Nissan      ALTIMA               PICO RIVERA              CA
46131   1N4AL3AP9JC244907   Nissan      ALTIMA               LOS ANGELES              CA
46132   1N4AL3AP9JC245104   Nissan      ALTIMA               Tolleson                 AZ
46133   1N4AL3AP9JC245250   Nissan      ALTIMA               SANTA ANA                CA
46134   1N4AL3AP9JC245541   Nissan      ALTIMA               SPRINGFIELD              VA
46135   1N4AL3AP9JC245989   Nissan      ALTIMA               Mira Loma                CA
46136   1N4AL3AP9JC246222   Nissan      ALTIMA               SANTA CLARA              CA
46137   1N4AL3AP9JC246902   Nissan      ALTIMA               Lake Elsinore            CA
46138   1N4AL3AP9JC247368   Nissan      ALTIMA               PALM SPRINGS             CA
46139   1N4AL3AP9JC247595   Nissan      ALTIMA               Las Vegas                NV
46140   1N4AL3AP9JC247757   Nissan      ALTIMA               SANTA ANA                CA
46141   1N4AL3AP9JC247905   Nissan      ALTIMA               Las Vegas                NV
46142   1N4AL3AP9JC250612   Nissan      ALTIMA               Riverside                CA
46143   1N4AL3AP9JC250772   Nissan      ALTIMA               Burien                   WA
46144   1N4AL3AP9JC251131   Nissan      ALTIMA               ROSEVILLE                CA
46145   1N4AL3AP9JC251548   Nissan      ALTIMA               PHOENIX                  AZ
46146   1N4AL3AP9JC251596   Nissan      ALTIMA               FRESNO                   CA
46147   1N4AL3AP9JC253834   Nissan      ALTIMA               NEWPORT BEACH            CA
46148   1N4AL3AP9JC253963   Nissan      ALTIMA               WARWICK                  RI
46149   1N4AL3AP9JC255616   Nissan      ALTIMA               SEATAC                   WA
46150   1N4AL3AP9JC262534   Nissan      ALTIMA               SEATAC                   WA
46151   1N4AL3AP9JC264901   Nissan      ALTIMA               SEATAC                   WA
46152   1N4AL3AP9JC266132   Nissan      ALTIMA               Burien                   WA
46153   1N4AL3AP9JC267765   Nissan      ALTIMA               FRESNO                   CA
46154   1N4AL3AP9JC268771   Nissan      ALTIMA               Burien                   WA
46155   1N4AL3AP9JC269936   Nissan      ALTIMA               PHOENIX                  AZ
46156   1N4AL3AP9JC272156   Nissan      ALTIMA               Stockton                 CA
46157   1N4AL3AP9JC274232   Nissan      ALTIMA               CHICAGO                  IL
46158   1N4AL3AP9JC275431   Nissan      ALTIMA               Roseville                CA
46159   1N4AL3AP9JC279530   Nissan      ALTIMA               SANTA ANA                CA
46160   1N4AL3AP9JC279785   Nissan      ALTIMA               LOS ANGELES              CA
46161   1N4AL3AP9JC280824   Nissan      ALTIMA               SANTA BARBARA            CA
46162   1N4AL3AP9JC280905   Nissan      ALTIMA               LOS ANGELES              CA
46163   1N4AL3AP9JC283075   Nissan      ALTIMA               ORANGE COUNTY            CA
46164   1N4AL3AP9JC283447   Nissan      ALTIMA               Las Vegas                NV
46165   1N4AL3APXFN900494   Nissan      ALTIMA               Hayward                  CA
46166   1N4AL3APXGC217742   Nissan      ALTIMA               Miami                    FL
46167   1N4AL3APXGC264916   Nissan      ALTIMA               CHICAGO                  IL
46168   1N4AL3APXGC287080   Nissan      ALTIMA               PITTSBURGH               PA
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46169   1N4AL3APXGN320714   Nissan      ALTIMA               Burien                   WA
46170   1N4AL3APXGN377110   Nissan      ALTIMA               Riverside                CA
46171   1N4AL3APXHC209514   Nissan      ALTIMA               Atlanta                  GA
46172   1N4AL3APXHC223994   Nissan      ALTIMA               Union City               GA
46173   1N4AL3APXHC228449   Nissan      ALTIMA               ELKRIDGE                 MD
46174   1N4AL3APXHC248412   Nissan      ALTIMA               Kent                     WA
46175   1N4AL3APXHC251410   Nissan      ALTIMA               TRACY                    CA
46176   1N4AL3APXHC251651   Nissan      ALTIMA               Fontana                  CA
46177   1N4AL3APXHC255599   Nissan      ALTIMA               North Las Vegas          NV
46178   1N4AL3APXHC257210   Nissan      ALTIMA               SAN JOSE                 CA
46179   1N4AL3APXHC286836   Nissan      ALTIMA               Hayward                  CA
46180   1N4AL3APXHC287551   Nissan      ALTIMA               Stockton                 CA
46181   1N4AL3APXHC287890   Nissan      ALTIMA               Riverside                CA
46182   1N4AL3APXHC289557   Nissan      ALTIMA               SAN FRANCISCO            CA
46183   1N4AL3APXHC290577   Nissan      ALTIMA               Las Vegas                NV
46184   1N4AL3APXHC290868   Nissan      ALTIMA               SAN DIEGO                CA
46185   1N4AL3APXHC292054   Nissan      ALTIMA               Norwalk                  CA
46186   1N4AL3APXHC292605   Nissan      ALTIMA               Fontana                  CA
46187   1N4AL3APXHC292975   Nissan      ALTIMA               PORTLAND                 OR
46188   1N4AL3APXHC293253   Nissan      ALTIMA               LOS ANGELES              CA
46189   1N4AL3APXHC293446   Nissan      ALTIMA               Norwalk                  CA
46190   1N4AL3APXHC293754   Nissan      ALTIMA               KAUAI                    HI
46191   1N4AL3APXHN316275   Nissan      ALTIMA               STERLING                 VA
46192   1N4AL3APXHN324148   Nissan      ALTIMA               College Park             GA
46193   1N4AL3APXHN347333   Nissan      ALTIMA               BOSTON                   MA
46194   1N4AL3APXHN354928   Nissan      ALTIMA               LAS VEGAS                NV
46195   1N4AL3APXHN355058   Nissan      ALTIMA               CHICAGO                  IL
46196   1N4AL3APXHN355447   Nissan      ALTIMA               ROSEVILLE                CA
46197   1N4AL3APXHN361202   Nissan      ALTIMA               GLEN BURNIE              MD
46198   1N4AL3APXHN362284   Nissan      ALTIMA               CHICAGO                  IL
46199   1N4AL3APXHN363340   Nissan      ALTIMA               STERLING                 VA
46200   1N4AL3APXHN364388   Nissan      ALTIMA               DES MOINES               IA
46201   1N4AL3APXHN365847   Nissan      ALTIMA               HANOVER                  MD
46202   1N4AL3APXJC106244   Nissan      ALTIMA               Miami                    FL
46203   1N4AL3APXJC116207   Nissan      ALTIMA               Portland                 OR
46204   1N4AL3APXJC117101   Nissan      ALTIMA               DANIA BEACH              FL
46205   1N4AL3APXJC120130   Nissan      ALTIMA               Matteson                 IL
46206   1N4AL3APXJC121620   Nissan      ALTIMA               PHILADELPHIA             PA
46207   1N4AL3APXJC126140   Nissan      ALTIMA               Elkridge                 MD
46208   1N4AL3APXJC126882   Nissan      ALTIMA               Warwick                  RI
46209   1N4AL3APXJC127210   Nissan      ALTIMA               STERLING                 VA
46210   1N4AL3APXJC127482   Nissan      ALTIMA               Elkridge                 MD
46211   1N4AL3APXJC128356   Nissan      ALTIMA               HANOVER                  MD
46212   1N4AL3APXJC128597   Nissan      ALTIMA               Harvey                   LA
46213   1N4AL3APXJC129345   Nissan      ALTIMA               HANOVER                  MD
46214   1N4AL3APXJC130978   Nissan      ALTIMA               VAN NUYS                 CA
46215   1N4AL3APXJC131127   Nissan      ALTIMA               Tampa                    FL
46216   1N4AL3APXJC136179   Nissan      ALTIMA               SPRINGFIELD              VA
46217   1N4AL3APXJC136263   Nissan      ALTIMA               RALEIGH                  NC
46218   1N4AL3APXJC137767   Nissan      ALTIMA               LOS ANGELES              CA
46219   1N4AL3APXJC138689   Nissan      ALTIMA               TAMPA                    US
46220   1N4AL3APXJC139387   Nissan      ALTIMA               JACKSONVILLE             FL
46221   1N4AL3APXJC139907   Nissan      ALTIMA               MORROW                   GA
46222   1N4AL3APXJC140216   Nissan      ALTIMA               BALDWIN                  NY
46223   1N4AL3APXJC141267   Nissan      ALTIMA               PHILADELPHIA             PA
46224   1N4AL3APXJC141673   Nissan      ALTIMA               NOTTINGHAM               MD
46225   1N4AL3APXJC146999   Nissan      ALTIMA               Carleton                 MI
46226   1N4AL3APXJC149661   Nissan      ALTIMA               MIAMI                    FL
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46227   1N4AL3APXJC150129   Nissan       ALTIMA               Colorado Spring          CO
46228   1N4AL3APXJC150745   Nissan       ALTIMA               UNION CITY               GA
46229   1N4AL3APXJC154004   Nissan       ALTIMA               STERLING                 VA
46230   1N4AL3APXJC155296   Nissan       ALTIMA               Sanford                  FL
46231   1N4AL3APXJC160210   Nissan       ALTIMA               Tampa                    FL
46232   1N4AL3APXJC162653   Nissan       ALTIMA               Pasadena                 CA
46233   1N4AL3APXJC163043   Nissan       ALTIMA               DAYTONA BEACH            FL
46234   1N4AL3APXJC163348   Nissan       ALTIMA               North Dighton            MA
46235   1N4AL3APXJC163446   Nissan       ALTIMA               North Dighton            MA
46236   1N4AL3APXJC164435   Nissan       ALTIMA               PHILADELPHIA             PA
46237   1N4AL3APXJC166332   Nissan       ALTIMA               HANOVER                  MD
46238   1N4AL3APXJC166802   Nissan       ALTIMA               BURBANK                  CA
46239   1N4AL3APXJC166900   Nissan       ALTIMA               Winston‐Salem            NC
46240   1N4AL3APXJC167691   Nissan       ALTIMA               Smithtown                NY
46241   1N4AL3APXJC167867   Nissan       ALTIMA               RALEIGH, DURHAM          NC
46242   1N4AL3APXJC168145   Nissan       ALTIMA               LAS VEGAS                NV
46243   1N4AL3APXJC168341   Nissan       ALTIMA               Phoenix                  AZ
46244   1N4AL3APXJC168369   Nissan       ALTIMA               PHILADELPHIA             PA
46245   1N4AL3APXJC168727   Nissan       ALTIMA               Manheim                  PA
46246   1N4AL3APXJC169375   Nissan       ALTIMA               WEST PALM BEACH          FL
46247   1N4AL3APXJC169439   Nissan       ALTIMA               HANOVER                  MD
46248   1N4AL3APXJC169800   Nissan       ALTIMA               HARVEY                   LA
46249   1N4AL3APXJC169974   Nissan       ALTIMA               Davie                    FL
46250   1N4AL3APXJC171000   Nissan       ALTIMA               Harvey                   LA
46251   1N4AL3APXJC171577   Nissan       ALTIMA               Matteson                 IL
46252   1N4AL3APXJC172650   Nissan       ALTIMA               LOS ANGELES              CA
46253   1N4AL3APXJC172826   Nissan       ALTIMA               SALT LAKE CITY           US
46254   1N4AL3APXJC172860   Nissan       ALTIMA               NEW ENGLAND DEALER       MA
46255   1N4AL3APXJC173040   Nissan       ALTIMA               SPRINGFIELD              VA
46256   1N4AL3APXJC173457   Nissan       ALTIMA               PHILADELPHIA             PA
46257   1N4AL3APXJC173734   Nissan       ALTIMA               SAN JOSE                 CA
46258   1N4AL3APXJC174186   Nissan       ALTIMA               LOS ANGELES              CA
46259   1N4AL3APXJC174804   Nissan       ALTIMA               CLEVELAND                OH
46260   1N4AL3APXJC176116   Nissan       ALTIMA               LAS VEGAS                NV
46261   1N4AL3APXJC176360   Nissan       ALTIMA               LOS ANGELES              CA
46262   1N4AL3APXJC177086   Nissan       ALTIMA               SAN LEANDRO              CA
46263   1N4AL3APXJC177234   Nissan       ALTIMA               Las Vegas                NV
46264   1N4AL3APXJC177332   Nissan       ALTIMA               LOS ANGELES              CA
46265   1N4AL3APXJC177993   Nissan       ALTIMA               LOS ANGELES              CA
46266   1N4AL3APXJC180800   Nissan       ALTIMA               SAN JOSE                 CA
46267   1N4AL3APXJC181915   Nissan       ALTIMA               Tolleson                 AZ
46268   1N4AL3APXJC182904   Nissan       ALTIMA               SEATTLE                  WA
46269   1N4AL3APXJC183602   Nissan       ALTIMA               LAS VEGAS                NV
46270   1N4AL3APXJC184250   Nissan       ALTIMA               STERLING                 VA
46271   1N4AL3APXJC184278   Nissan       ALTIMA               NEW YORK CITY            NY
46272   1N4AL3APXJC186421   Nissan       ALTIMA
46273   1N4AL3APXJC186824   Nissan       ALTIMA               MIDDLE RIVER             MD
46274   1N4AL3APXJC188881   Nissan       ALTIMA               HANOVER                  MD
46275   1N4AL3APXJC189416   Nissan       ALTIMA               Englewood                CO
46276   1N4AL3APXJC192638   Nissan       ALTIMA               HANOVER                  MD
46277   1N4AL3APXJC194129   Nissan       ALTIMA               AUSTIN                   TX
46278   1N4AL3APXJC194390   Nissan       ALTIMA               HANOVER                  MD
46279   1N4AL3APXJC196883   Nissan       ALTIMA               HARVEY                   LA
46280   1N4AL3APXJC196897   Nissan       ALTIMA               MALDEN                   MA
46281   1N4AL3APXJC197340   Nissan       ALTIMA               FORT MYERS               FL
46282   1N4AL3APXJC197595   Nissan       ALTIMA               MIAMI                    FL
46283   1N4AL3APXJC197743   Nissan       ALTIMA               RICHMOND                 VA
46284   1N4AL3APXJC199234   Nissan       ALTIMA               Smithtown                NY
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46285   1N4AL3APXJC199413   Nissan       ALTIMA               Elkridge                 MD
46286   1N4AL3APXJC201242   Nissan       ALTIMA               DALLAS                   TX
46287   1N4AL3APXJC201404   Nissan       ALTIMA               AUSTIN                   TX
46288   1N4AL3APXJC201516   Nissan       ALTIMA               SAN JOSE                 CA
46289   1N4AL3APXJC206621   Nissan       ALTIMA               Fontana                  CA
46290   1N4AL3APXJC208370   Nissan       ALTIMA               PICO RIVERA              CA
46291   1N4AL3APXJC208398   Nissan       ALTIMA               LOS ANGELES              CA
46292   1N4AL3APXJC208546   Nissan       ALTIMA               OAKLAND                  CA
46293   1N4AL3APXJC208854   Nissan       ALTIMA               BALTIMORE                MD
46294   1N4AL3APXJC209891   Nissan       ALTIMA               Englewood                CO
46295   1N4AL3APXJC210278   Nissan       ALTIMA               TRACY                    CA
46296   1N4AL3APXJC210930   Nissan       ALTIMA               Roseville                CA
46297   1N4AL3APXJC210989   Nissan       ALTIMA               BUBANK                   CA
46298   1N4AL3APXJC211107   Nissan       ALTIMA               Fontana                  CA
46299   1N4AL3APXJC211897   Nissan       ALTIMA               ROSEVILLE                CA
46300   1N4AL3APXJC211995   Nissan       ALTIMA               HANOVER                  MD
46301   1N4AL3APXJC212905   Nissan       ALTIMA               HARVEY                   LA
46302   1N4AL3APXJC213097   Nissan       ALTIMA               RALEIGH                  NC
46303   1N4AL3APXJC213312   Nissan       ALTIMA               Chicago                  IL
46304   1N4AL3APXJC213889   Nissan       ALTIMA               Ft. Myers                FL
46305   1N4AL3APXJC213973   Nissan       ALTIMA               Miami                    FL
46306   1N4AL3APXJC214041   Nissan       ALTIMA               HARVEY                   LA
46307   1N4AL3APXJC214363   Nissan       ALTIMA               SAN JOSE                 CA
46308   1N4AL3APXJC214749   Nissan       ALTIMA               SANTA ANA                CA
46309   1N4AL3APXJC214914   Nissan       ALTIMA               LOS ANGELES              CA
46310   1N4AL3APXJC214931   Nissan       ALTIMA               LOS ANGELES              CA
46311   1N4AL3APXJC215433   Nissan       ALTIMA               Tolleson                 AZ
46312   1N4AL3APXJC215674   Nissan       ALTIMA               LAS VEGAS                NV
46313   1N4AL3APXJC217053   Nissan       ALTIMA               SAN FRANCISCO            CA
46314   1N4AL3APXJC226934   Nissan       ALTIMA               North Dighton            MA
46315   1N4AL3APXJC227128   Nissan       ALTIMA               BURBANK                  CA
46316   1N4AL3APXJC229459   Nissan       ALTIMA               ONTARIO                  CA
46317   1N4AL3APXJC230661   Nissan       ALTIMA               LOS ANGELES              CA
46318   1N4AL3APXJC231373   Nissan       ALTIMA               SAN JOSE                 CA
46319   1N4AL3APXJC233138   Nissan       ALTIMA               SAN JOSE                 CA
46320   1N4AL3APXJC233611   Nissan       ALTIMA               STERLING                 VA
46321   1N4AL3APXJC234323   Nissan       ALTIMA               South San Franc          CA
46322   1N4AL3APXJC234693   Nissan       ALTIMA               North Las Vegas          NV
46323   1N4AL3APXJC238419   Nissan       ALTIMA               SANTA ANA                CA
46324   1N4AL3APXJC238775   Nissan       ALTIMA               ST PAUL                  MN
46325   1N4AL3APXJC238923   Nissan       ALTIMA               SEATAC                   WA
46326   1N4AL3APXJC239781   Nissan       ALTIMA               ONTARIO                  CA
46327   1N4AL3APXJC239957   Nissan       ALTIMA               Lake Elsinore            CA
46328   1N4AL3APXJC240011   Nissan       ALTIMA               SANTA ANA                CA
46329   1N4AL3APXJC240090   Nissan       ALTIMA               BURBANK                  CA
46330   1N4AL3APXJC240574   Nissan       ALTIMA               SANTA ANA                CA
46331   1N4AL3APXJC242275   Nissan       ALTIMA               Santa Clara              CA
46332   1N4AL3APXJC242762   Nissan       ALTIMA               BURBANK                  CA
46333   1N4AL3APXJC242860   Nissan       ALTIMA               BURBANK                  CA
46334   1N4AL3APXJC243961   Nissan       ALTIMA               SEATAC                   WA
46335   1N4AL3APXJC244091   Nissan       ALTIMA               ONTARIO                  CA
46336   1N4AL3APXJC244253   Nissan       ALTIMA               LAS VEGAS                NV
46337   1N4AL3APXJC244351   Nissan       ALTIMA               LOS ANGELES              CA
46338   1N4AL3APXJC244530   Nissan       ALTIMA               SANTA ANA                CA
46339   1N4AL3APXJC244916   Nissan       ALTIMA               MONTCLAIR                CA
46340   1N4AL3APXJC244947   Nissan       ALTIMA               BURBANK                  CA
46341   1N4AL3APXJC245077   Nissan       ALTIMA               PORTLAND                 OR
46342   1N4AL3APXJC245130   Nissan       ALTIMA               LAS VEGAS                NV
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46343   1N4AL3APXJC245578   Nissan      ALTIMA               PALM SPRINGS             CA
46344   1N4AL3APXJC245693   Nissan      ALTIMA               SEATAC                   WA
46345   1N4AL3APXJC245743   Nissan      ALTIMA               North Las Vegas          NV
46346   1N4AL3APXJC245807   Nissan      ALTIMA               Riverside                CA
46347   1N4AL3APXJC246018   Nissan      ALTIMA               LAS VEGAS                NV
46348   1N4AL3APXJC246035   Nissan      ALTIMA               Tolleson                 AZ
46349   1N4AL3APXJC246178   Nissan      ALTIMA               BURBANK                  CA
46350   1N4AL3APXJC246438   Nissan      ALTIMA               SACRAMENTO               CA
46351   1N4AL3APXJC246634   Nissan      ALTIMA               Anaheim                  CA
46352   1N4AL3APXJC246732   Nissan      ALTIMA               LOS ANGELES              CA
46353   1N4AL3APXJC248481   Nissan      ALTIMA               ORLANDO                  FL
46354   1N4AL3APXJC248948   Nissan      ALTIMA               Roseville                CA
46355   1N4AL3APXJC248996   Nissan      ALTIMA               SANTA ANA                CA
46356   1N4AL3APXJC249338   Nissan      ALTIMA               SAN JOSE                 CA
46357   1N4AL3APXJC249341   Nissan      ALTIMA               SAN FRANCISCO            CA
46358   1N4AL3APXJC249551   Nissan      ALTIMA               Hayward                  CA
46359   1N4AL3APXJC250361   Nissan      ALTIMA               PORTLAND                 OR
46360   1N4AL3APXJC250389   Nissan      ALTIMA               Jacksonville             FL
46361   1N4AL3APXJC250425   Nissan      ALTIMA               WOODLAND HILLS           CA
46362   1N4AL3APXJC250960   Nissan      ALTIMA               FRESNO                   CA
46363   1N4AL3APXJC251123   Nissan      ALTIMA               SAN JOSE                 CA
46364   1N4AL3APXJC251395   Nissan      ALTIMA               LOS ANGELES              CA
46365   1N4AL3APXJC251493   Nissan      ALTIMA               Fontana                  CA
46366   1N4AL3APXJC251722   Nissan      ALTIMA               BURBANK                  CA
46367   1N4AL3APXJC255222   Nissan      ALTIMA               Fresno                   CA
46368   1N4AL3APXJC261456   Nissan      ALTIMA               Portland                 OR
46369   1N4AL3APXJC264261   Nissan      ALTIMA               Burien                   WA
46370   1N4AL3APXJC264311   Nissan      ALTIMA               LOS ANGELES              CA
46371   1N4AL3APXJC270528   Nissan      ALTIMA               SAN ANTONIO              TX
46372   1N4AL3APXJC271906   Nissan      ALTIMA               INDIANAPOLIS             IN
46373   1N4AL3APXJC279181   Nissan      ALTIMA               Reno                     NV
46374   1N4AL3APXJC281089   Nissan      ALTIMA               Dallas                   TX
46375   1N4AL3APXJC281836   Nissan      ALTIMA               LOS ANGELES              CA
46376   1N4AL3APXJC281979   Nissan      ALTIMA               PHOENIX                  AZ
46377   1N4AL3APXJC282355   Nissan      ALTIMA               SANTA ANA                CA
46378   1N4AL3APXJC282887   Nissan      ALTIMA               Sacramento               CA
46379   1N4AL3APXJC283005   Nissan      ALTIMA               PALM SPRINGS             CA
46380   1N4AL3APXJC283330   Nissan      ALTIMA               SAN DIEGO                CA
46381   1N4AL3APXJC283408   Nissan      ALTIMA               SANTA ANA                CA
46382   1N4AL3APXJC284347   Nissan      ALTIMA               LOS ANGELES              CA
46383   1N4AL3APXJC284980   Nissan      ALTIMA               Anaheim                  CA
46384   1N4BL4BV0KC211254   Nissan      ALTIMA               LAS VEGAS                NV
46385   1N4BL4BV0KC213067   Nissan      ALTIMA               PHOENIX                  AZ
46386   1N4BL4BV0KC257389   Nissan      ALTIMA               CHICAGO                  IL
46387   1N4BL4BV0KC258140   Nissan      ALTIMA               GRAND RAPIDS             MI
46388   1N4BL4BV0KN323153   Nissan      ALTIMA               Austell                  GA
46389   1N4BL4BV0KN324917   Nissan      ALTIMA               Hanover                  MD
46390   1N4BL4BV0LC218822   Nissan      ALTIMA               ELLWOOD CITY             PA
46391   1N4BL4BV0LC226113   Nissan      ALTIMA               ANGOLA                   NY
46392   1N4BL4BV0LC233210   Nissan      ALTIMA               FORT MYERS               FL
46393   1N4BL4BV1KC230654   Nissan      ALTIMA               Palm Springs             CA
46394   1N4BL4BV1KC233327   Nissan      ALTIMA               CHARLESTON               WV
46395   1N4BL4BV1KC237586   Nissan      ALTIMA               BURBANK                  CA
46396   1N4BL4BV1KC259071   Nissan      ALTIMA               LOS ANGELES              CA
46397   1N4BL4BV1KN322531   Nissan      ALTIMA               SEATAC                   WA
46398   1N4BL4BV1LC231613   Nissan      ALTIMA               Memphis                  TN
46399   1N4BL4BV1LN316486   Nissan      ALTIMA               Fresno                   CA
46400   1N4BL4BV2KC200188   Nissan      ALTIMA               SALT LAKE CITY           US
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46401   1N4BL4BV2KC208646   Nissan      ALTIMA               ATLANTA                  GA
46402   1N4BL4BV2KC213331   Nissan      ALTIMA               SOUTHWEST DEALER D       TX
46403   1N4BL4BV2KC237774   Nissan      ALTIMA               WEST PALM BEACH          FL
46404   1N4BL4BV2KC237970   Nissan      ALTIMA               Hayward                  CA
46405   1N4BL4BV2KC239525   Nissan      ALTIMA               Portland                 OR
46406   1N4BL4BV2KC246913   Nissan      ALTIMA               LOS ANGELES              CA
46407   1N4BL4BV2KC258799   Nissan      ALTIMA               SACRAMENTO               CA
46408   1N4BL4BV2KN322506   Nissan      ALTIMA               SAN FRANCISCO            CA
46409   1N4BL4BV2KN322540   Nissan      ALTIMA               DALLAS                   TX
46410   1N4BL4BV2LC207160   Nissan      ALTIMA               SHREVEPORT               LA
46411   1N4BL4BV2LC208874   Nissan      ALTIMA               Leesburg                 VA
46412   1N4BL4BV2LC210706   Nissan      ALTIMA               Houston                  TX
46413   1N4BL4BV2LC217624   Nissan      ALTIMA               FORT MYERS               FL
46414   1N4BL4BV2LC218076   Nissan      ALTIMA               COLUMBIA STATIO          OH
46415   1N4BL4BV2LC220426   Nissan      ALTIMA               Elkridge                 MD
46416   1N4BL4BV2LC225562   Nissan      ALTIMA               Statesville              NC
46417   1N4BL4BV2LC226131   Nissan      ALTIMA               Davie                    FL
46418   1N4BL4BV3KC210101   Nissan      ALTIMA               HANOVER                  MD
46419   1N4BL4BV3KC215203   Nissan      ALTIMA               Portland                 OR
46420   1N4BL4BV3KC218134   Nissan      ALTIMA               Portland                 OR
46421   1N4BL4BV3KC227402   Nissan      ALTIMA               PHOENIX                  AZ
46422   1N4BL4BV3KC228985   Nissan      ALTIMA               LINDEN                   NJ
46423   1N4BL4BV3KC237332   Nissan      ALTIMA               LOS ANGELES              CA
46424   1N4BL4BV3KC255068   Nissan      ALTIMA               Atlanta                  GA
46425   1N4BL4BV3KC257158   Nissan      ALTIMA               PORTLAND                 OR
46426   1N4BL4BV3KN322546   Nissan      ALTIMA               CHICAGO                  IL
46427   1N4BL4BV3KN323146   Nissan      ALTIMA               SEATAC                   WA
46428   1N4BL4BV3LC218149   Nissan      ALTIMA               Woodhaven                MI
46429   1N4BL4BV3LC224923   Nissan      ALTIMA               Tulsa                    OK
46430   1N4BL4BV4KC199402   Nissan      ALTIMA               Leesburg                 VA
46431   1N4BL4BV4KC208549   Nissan      ALTIMA               Beaverton                OR
46432   1N4BL4BV4KC210009   Nissan      ALTIMA               LAS VEGAS                NV
46433   1N4BL4BV4KC232074   Nissan      ALTIMA               Phoenix                  AZ
46434   1N4BL4BV4KC249537   Nissan      ALTIMA               SALT LAKE CITY           UT
46435   1N4BL4BV4KC251059   Nissan      ALTIMA               Sacramento               CA
46436   1N4BL4BV4KC259114   Nissan      ALTIMA               Portland                 OR
46437   1N4BL4BV4KN323110   Nissan      ALTIMA               LAS VEGAS                NV
46438   1N4BL4BV4KN323463   Nissan      ALTIMA               PHOENIX                  AZ
46439   1N4BL4BV4LC218600   Nissan      ALTIMA               Oklahoma City            OK
46440   1N4BL4BV4LC226213   Nissan      ALTIMA               Hayward                  CA
46441   1N4BL4BV5KC197187   Nissan      ALTIMA               OAKLAND                  CA
46442   1N4BL4BV5KC206809   Nissan      ALTIMA               Fresno                   CA
46443   1N4BL4BV5KC218295   Nissan      ALTIMA               Salt Lake City           UT
46444   1N4BL4BV5KC237543   Nissan      ALTIMA               ORLANDO                  FL
46445   1N4BL4BV5KC242581   Nissan      ALTIMA               PHOENIX                  AZ
46446   1N4BL4BV5KC246758   Nissan      ALTIMA               LOS ANGELES              CA
46447   1N4BL4BV5KC246811   Nissan      ALTIMA               SALT LAKE CITY           UT
46448   1N4BL4BV5KC257212   Nissan      ALTIMA               SAN JOSE                 CA
46449   1N4BL4BV5KC259736   Nissan      ALTIMA               Newport Beach            CA
46450   1N4BL4BV5LC218055   Nissan      ALTIMA               FORT MYERS               FL
46451   1N4BL4BV5LC218461   Nissan      ALTIMA               FORT MYERS               FL
46452   1N4BL4BV5LC221568   Nissan      ALTIMA               GLASSBORO                NJ
46453   1N4BL4BV5LC226334   Nissan      ALTIMA               HUEYTOWN                 AL
46454   1N4BL4BV6KC210576   Nissan      ALTIMA               MIAMI                    FL
46455   1N4BL4BV6KC210867   Nissan      ALTIMA               LAKEWOOD                 WA
46456   1N4BL4BV6KC216166   Nissan      ALTIMA               ROY                      UT
46457   1N4BL4BV6KC242749   Nissan      ALTIMA               ONTARIO                  CA
46458   1N4BL4BV6KC246865   Nissan      ALTIMA               LAS VEGAS                NV
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46459   1N4BL4BV6KC251094   Nissan      ALTIMA               SALT LAKE CITY           UT
46460   1N4BL4BV6KC255081   Nissan      ALTIMA               Portland                 OR
46461   1N4BL4BV6KC257705   Nissan      ALTIMA               Stockton                 CA
46462   1N4BL4BV6KN323481   Nissan      ALTIMA               OAKLAND                  CA
46463   1N4BL4BV6LC218002   Nissan      ALTIMA               Davie                    FL
46464   1N4BL4BV6LC236662   Nissan      ALTIMA               Indianapolis             IN
46465   1N4BL4BV7KC203538   Nissan      ALTIMA               MONTEREY                 CA
46466   1N4BL4BV7KC215625   Nissan      ALTIMA               Salt Lake City           UT
46467   1N4BL4BV7KC216449   Nissan      ALTIMA               Seattle                  WA
46468   1N4BL4BV7KC217620   Nissan      ALTIMA               Salt Lake City           UT
46469   1N4BL4BV7KC228908   Nissan      ALTIMA               KANSAS CITY              MO
46470   1N4BL4BV7KC231906   Nissan      ALTIMA               LAS VEGAS                NV
46471   1N4BL4BV7KC241674   Nissan      ALTIMA               TAMPA                    FL
46472   1N4BL4BV7KC242601   Nissan      ALTIMA               Detroit                  MI
46473   1N4BL4BV7KC246793   Nissan      ALTIMA               BURBANK                  CA
46474   1N4BL4BV7KC258815   Nissan      ALTIMA               Portland                 OR
46475   1N4BL4BV7KN322372   Nissan      ALTIMA               PHOENIX                  AZ
46476   1N4BL4BV7KN322713   Nissan      ALTIMA               LAS VEGAS                NV
46477   1N4BL4BV7LC217859   Nissan      ALTIMA               FORT MYERS               FL
46478   1N4BL4BV7LC218610   Nissan      ALTIMA               FORT MYERS               FL
46479   1N4BL4BV7LC219725   Nissan      ALTIMA               Kansas City              KS
46480   1N4BL4BV7LC231468   Nissan      ALTIMA               Sacramento               CA
46481   1N4BL4BV7LN317335   Nissan      ALTIMA               DALLAS                   TX
46482   1N4BL4BV8KC197877   Nissan      ALTIMA               Salt Lake City           UT
46483   1N4BL4BV8KC211406   Nissan      ALTIMA               EULESS                   TX
46484   1N4BL4BV8KC244969   Nissan      ALTIMA               PITTSBURGH               PA
46485   1N4BL4BV8KC247872   Nissan      ALTIMA               EUGENE                   OR
46486   1N4BL4BV8KC250528   Nissan      ALTIMA               S. San Francisc          CA
46487   1N4BL4BV8LC231723   Nissan      ALTIMA               Sacramento               CA
46488   1N4BL4BV8LC242771   Nissan      ALTIMA               New Britain              CT
46489   1N4BL4BV8LN316193   Nissan      ALTIMA               Dallas                   TX
46490   1N4BL4BV9KC203525   Nissan      ALTIMA               HARTFORD                 CT
46491   1N4BL4BV9KC206604   Nissan      ALTIMA               Sacramento               CA
46492   1N4BL4BV9KC212323   Nissan      ALTIMA               SANTA ANA                CA
46493   1N4BL4BV9KC214444   Nissan      ALTIMA               Oklahoma City            OK
46494   1N4BL4BV9KC214508   Nissan      ALTIMA               Detroit                  MI
46495   1N4BL4BV9KC214699   Nissan      ALTIMA               OAKLAND                  CA
46496   1N4BL4BV9KC215366   Nissan      ALTIMA               SEATAC                   WA
46497   1N4BL4BV9KC217098   Nissan      ALTIMA               BURBANK                  CA
46498   1N4BL4BV9KC228439   Nissan      ALTIMA               FRESNO                   CA
46499   1N4BL4BV9KC230899   Nissan      ALTIMA               Portland                 OR
46500   1N4BL4BV9KC233513   Nissan      ALTIMA               Phoenix                  AZ
46501   1N4BL4BV9KC258976   Nissan      ALTIMA               OAKLAND                  CA
46502   1N4BL4BV9KN324365   Nissan      ALTIMA               Fresno                   CA
46503   1N4BL4BV9KN326634   Nissan      ALTIMA               Dallas                   TX
46504   1N4BL4BV9LC206961   Nissan      ALTIMA               HOUSTON                  TX
46505   1N4BL4BVXKC197492   Nissan      ALTIMA               West Bountiful           UT
46506   1N4BL4BVXKC197945   Nissan      ALTIMA               SALT LAKE CITY           US
46507   1N4BL4BVXKC201220   Nissan      ALTIMA               SALT LAKE CITY           US
46508   1N4BL4BVXKC206286   Nissan      ALTIMA               Atlanta                  GA
46509   1N4BL4BVXKC207891   Nissan      ALTIMA               Davie                    FL
46510   1N4BL4BVXKC216686   Nissan      ALTIMA               LOS ANGELES              CA
46511   1N4BL4BVXKC228420   Nissan      ALTIMA               PLEASANTON               CA
46512   1N4BL4BVXKC237859   Nissan      ALTIMA               ANCHORAGE                AK
46513   1N4BL4BVXKC241071   Nissan      ALTIMA               DES MOINES               IA
46514   1N4BL4BVXKC243094   Nissan      ALTIMA               Newport Beach            CA
46515   1N4BL4BVXKC258078   Nissan      ALTIMA               Salt Lake City           UT
46516   1N4BL4BVXKN322513   Nissan      ALTIMA               WEST PALM BEACH          FL
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46517   1N4BL4BVXKN323340   Nissan      ALTIMA                LAS VEGAS               NV
46518   1N4BL4BVXKN324584   Nissan      ALTIMA                Hayward                 CA
46519   1N4BL4BVXLC217872   Nissan      ALTIMA                FORT MYERS              FL
46520   1N4BL4BVXLC231965   Nissan      ALTIMA                North Billerica         MA
46521   1N4BL4CV0LC207740   Nissan      ALTIMA                Des Moines              IA
46522   1N4BL4CV1LC208668   Nissan      ALTIMA                Brighton                CO
46523   1N4BL4CV3LN316228   Nissan      ALTIMA                Dallas                  TX
46524   1N4BL4CV4LC221639   Nissan      ALTIMA                Dallas                  TX
46525   1N4BL4CV4LN316125   Nissan      ALTIMA                Tulsa                   OK
46526   1N4BL4CV5LC208897   Nissan      ALTIMA                Sterling                VA
46527   1N4BL4CV6LC209654   Nissan      ALTIMA                KNOXVILLE               TN
46528   1N4BL4CV6LC222940   Nissan      ALTIMA                GREENWOOD               NE
46529   1N4BL4CV7LC227385   Nissan      ALTIMA                ELLWOOD CITY            PA
46530   1N4BL4CV7LC234174   Nissan      ALTIMA                Cudahy                  WI
46531   1N4BL4CV8LC225838   Nissan      ALTIMA                Elgin                   IL
46532   1N4BL4CV8LN316094   Nissan      ALTIMA                Tulsa                   OK
46533   1N4BL4CV9LC216937   Nissan      ALTIMA                Oklahoma City           OK
46534   1N4BL4CV9LC222897   Nissan      ALTIMA                Tulsa                   OK
46535   1N4BL4CV9LN315956   Nissan      ALTIMA                SAN ANTONIO             TX
46536   1N4BL4EV0KC188845   Nissan                        2.5 Oklahoma City           OK
46537   1N6AA1EJ0JN500394   Nissan      TITAN                 North Las Vegas         NV
46538   1N6AA1EJ0JN500928   Nissan      TITAN                 LOS ANGELES             CA
46539   1N6AA1EJ0JN517390   Nissan      TITAN                 SAN FRANCISCO           CA
46540   1N6AA1EJ0JN527546   Nissan      TITAN                 BOSTON                  MA
46541   1N6AA1EJ0JN541317   Nissan      TITAN                 Mira Loma               CA
46542   1N6AA1EJ1JN500436   Nissan      TITAN                 North Dighton           MA
46543   1N6AA1EJ1JN500534   Nissan      TITAN                 DENVER                  CO
46544   1N6AA1EJ1JN517379   Nissan      TITAN                 Rio Linda               CA
46545   1N6AA1EJ1JN517530   Nissan      TITAN                 Slidell                 LA
46546   1N6AA1EJ1JN518497   Nissan      TITAN                 FRESNO                  CA
46547   1N6AA1EJ1JN526597   Nissan      TITAN                 FORT MYERS              FL
46548   1N6AA1EJ1JN531833   Nissan      TITAN                 FRESNO                  CA
46549   1N6AA1EJ1JN534389   Nissan      TITAN                 Las Vegas               NV
46550   1N6AA1EJ1JN534652   Nissan      TITAN                 HILO                    HI
46551   1N6AA1EJ1JN534666   Nissan      TITAN                 Mt. Juliet              TN
46552   1N6AA1EJ1JN543836   Nissan      TITAN                 BOSTON                  MA
46553   1N6AA1EJ2JN500350   Nissan      TITAN                 North Las Vegas         NV
46554   1N6AA1EJ2JN500946   Nissan      TITAN                 Fontana                 CA
46555   1N6AA1EJ2JN501143   Nissan      TITAN                 FRESNO                  CA
46556   1N6AA1EJ2JN526902   Nissan      TITAN                 Manheim                 PA
46557   1N6AA1EJ2JN534711   Nissan      TITAN                 KENNER                  LA
46558   1N6AA1EJ2JN536054   Nissan      TITAN                 LOS ANGELES             CA
46559   1N6AA1EJ2JN541108   Nissan      TITAN                 Oklahoma City           OK
46560   1N6AA1EJ2JN545434   Nissan      TITAN                 SALT LAKE CITY          UT
46561   1N6AA1EJ3JN519666   Nissan      TITAN                 Hayward                 CA
46562   1N6AA1EJ3JN529825   Nissan      TITAN                 HOUSTON                 TX
46563   1N6AA1EJ3JN533728   Nissan      TITAN                 San Diego               CA
46564   1N6AA1EJ3JN534247   Nissan      TITAN                 Norwalk                 CA
46565   1N6AA1EJ3JN540369   Nissan      TITAN                 San Antonio             TX
46566   1N6AA1EJ4JN518851   Nissan      TITAN                 Mira Loma               CA
46567   1N6AA1EJ4JN521605   Nissan      TITAN                 North Dighton           MA
46568   1N6AA1EJ4JN534161   Nissan      TITAN                 WARWICK                 RI
46569   1N6AA1EJ4JN534256   Nissan      TITAN                 Atlanta                 GA
46570   1N6AA1EJ4JN534323   Nissan      TITAN                 Riverside               CA
46571   1N6AA1EJ4JN534919   Nissan      TITAN                 Las Vegas               NV
46572   1N6AA1EJ5HN521381   Nissan      TITAN                 PLEASANTON              CA
46573   1N6AA1EJ5JN500844   Nissan      TITAN                 TRACY                   CA
46574   1N6AA1EJ5JN500889   Nissan      TITAN                 HONOLULU                HI
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46575   1N6AA1EJ5JN526053   Nissan          TITAN                WINDSOR LOCKS            CT
46576   1N6AA1EJ5JN529499   Nissan          TITAN                Slidell                  LA
46577   1N6AA1EJ5JN531818   Nissan          TITAN                HOUSTON                  TX
46578   1N6AA1EJ5JN532547   Nissan          TITAN                Ventura                  CA
46579   1N6AA1EJ5JN533617   Nissan          TITAN                WARWICK                  RI
46580   1N6AA1EJ5JN534590   Nissan          TITAN                LAS VEGAS                NV
46581   1N6AA1EJ6JN500447   Nissan          TITAN                North Las Vegas          NV
46582   1N6AA1EJ6JN500478   Nissan          TITAN                Fontana                  CA
46583   1N6AA1EJ6JN515904   Nissan          TITAN                FRESNO                   CA
46584   1N6AA1EJ6JN527552   Nissan          TITAN                WARWICK                  RI
46585   1N6AA1EJ6JN530077   Nissan          TITAN                Santa Clara              CA
46586   1N6AA1EJ6JN534663   Nissan          TITAN                Hartford                 CT
46587   1N6AA1EJ6JN534954   Nissan          TITAN                TAMPA                    FL
46588   1N6AA1EJ6JN541810   Nissan          TITAN                ORLANDO                  FL
46589   1N6AA1EJ7HN546055   Nissan          TITAN                JONESBORO                AR
46590   1N6AA1EJ7JN500182   Nissan          TITAN                Kahului                  HI
46591   1N6AA1EJ7JN526264   Nissan          TITAN                MEDINA                   OH
46592   1N6AA1EJ7JN527267   Nissan          TITAN                Davie                    FL
46593   1N6AA1EJ8HN540300   Nissan          TITAN                SAN ANTONIO              TX
46594   1N6AA1EJ8JN500210   Nissan          TITAN                Portland                 OR
46595   1N6AA1EJ8JN520201   Nissan          TITAN                Austell                  GA
46596   1N6AA1EJ8JN523437   Nissan          TITAN                Atlanta                  GA
46597   1N6AA1EJ8JN523745   Nissan          TITAN                HARTFORD                 CT
46598   1N6AA1EJ9JN518991   Nissan          TITAN                SAN DIEGO                CA
46599   1N6AA1EJ9JN542241   Nissan          TITAN                North Dighton            MA
46600   1N6AA1EJ9JN542353   Nissan          TITAN                SHREVEPORT               LA
46601   1N6AA1EJXJN500838   Nissan          TITAN                Fontana                  CA
46602   1N6AA1EJXJN515310   Nissan          TITAN                CHICAGO                  IL
46603   1N6AA1EJXJN515999   Nissan          TITAN                Riverside                CA
46604   1N6AA1EJXJN534651   Nissan          TITAN                Detroit                  MI
46605   1N6AA1EJXJN535198   Nissan          TITAN                LOS ANGELES              CA
46606   1N6AA1EJXJN541793   Nissan          TITAN                KENNER                   LA
46607   1N6AA1EJXJN541955   Nissan          TITAN                Live Oak                 TX
46608   1N6AA1EJXJN543902   Nissan          TITAN                Atlanta                  GA
46609   1N6AD0EV0JN769192   Nissan          FRONTIER             Austin                   TX
46610   1N6AD0EV2JN747551   Nissan          FRONTIER             San Antonio              TX
46611   1N6AD0EV2JN765502   Nissan          FRONTIER             CLEARWATER               FL
46612   1N6AD0EV3JN737739   Nissan          FRONTIER             EL PASO                  TX
46613   1N6AD0EV4JN738303   Nissan          FRONTIER             AUSTIN                   TX
46614   1N6AD0EV4JN763072   Nissan          FRONTIER             Fontana                  CA
46615   1N6AD0EV5JN761251   Nissan          FRONTIER             Torrance                 CA
46616   1N6AD0EV7JN761865   Nissan          FRONTIER             SACRAMENTO               CA
46617   1N6AD0EV9JN765240   Nissan          FRONTIER             Kent                     WA
46618   1N6AD0EV9JN765447   Nissan          FRONTIER             Kent                     WA
46619   1N6AD0EV9JN767750   Nissan          FRONTIER             Stockton                 CA
46620   1N6AD0EVXJN751508   Nissan          FRONTIER             Houston                  TX
46621   1N6AD0EVXJN766378   Nissan          FRONTIER             FRESNO                   CA
46622   1V2UR2CA0KC579630   Volkswagen      ATLAS                Salt Lake City           UT
46623   1V2UR2CA0KC579658   Volkswagen      ATLAS                KANSAS CITY              MO
46624   1V2UR2CA0KC580454   Volkswagen      ATLAS                SACRAMENTO               CA
46625   1V2UR2CA0KC581121   Volkswagen      ATLAS                FRESNO                   CA
46626   1V2UR2CA1KC578986   Volkswagen      ATLAS                EL PASO                  TX
46627   1V2UR2CA1KC579748   Volkswagen      ATLAS                Salt Lake City           UT
46628   1V2UR2CA1KC580544   Volkswagen      ATLAS                OAKLAND                  CA
46629   1V2UR2CA1KC581919   Volkswagen      ATLAS                FRESNO                   CA
46630   1V2UR2CA2KC578981   Volkswagen      ATLAS                Portland                 OR
46631   1V2UR2CA2KC580231   Volkswagen      ATLAS                OAKLAND                  CA
46632   1V2UR2CA2KC580648   Volkswagen      ATLAS                SALT LAKE CITY           UT
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46633   1V2UR2CA3KC579752   Volkswagen      ATLAS                Salt Lake City           UT
46634   1V2UR2CA3KC580156   Volkswagen      ATLAS                SAN FRANCISCO            CA
46635   1V2UR2CA3KC580254   Volkswagen      ATLAS                LAS VEGAS                NV
46636   1V2UR2CA4KC578884   Volkswagen      ATLAS                OAKLAND                  CA
46637   1V2UR2CA4KC578920   Volkswagen      ATLAS                RENO                     NV
46638   1V2UR2CA4KC579209   Volkswagen      ATLAS                FRESNO                   CA
46639   1V2UR2CA4KC579467   Volkswagen      ATLAS                SEATAC                   WA
46640   1V2UR2CA4KC579680   Volkswagen      ATLAS                Houston                  TX
46641   1V2UR2CA4KC580019   Volkswagen      ATLAS                HOUSTON                  TX
46642   1V2UR2CA4KC580411   Volkswagen      ATLAS                OKLAHOMA CITY            OK
46643   1V2UR2CA4KC582577   Volkswagen      ATLAS                SAN FRANCISCO            CA
46644   1V2UR2CA5KC579056   Volkswagen      ATLAS                Portland                 OR
46645   1V2UR2CA6KC579339   Volkswagen      ATLAS                SACRAMENTO               CA
46646   1V2UR2CA6KC581530   Volkswagen      ATLAS                CHICAGO                  IL
46647   1V2UR2CA7KC579124   Volkswagen      ATLAS                EULESS                   TX
46648   1V2UR2CA8KC579794   Volkswagen      ATLAS                SEATAC                   WA
46649   1V2UR2CA8KC580153   Volkswagen      ATLAS                Portland                 OR
46650   1V2UR2CA8KC580301   Volkswagen      ATLAS                SACRAMENTO               CA
46651   1V2UR2CA8KC581223   Volkswagen      ATLAS                PLEASANTON               CA
46652   1V2UR2CA8KC581674   Volkswagen      ATLAS                FRESNO                   CA
46653   1V2UR2CA8KC582579   Volkswagen      ATLAS                OAKLAND                  CA
46654   1V2UR2CA9KC579433   Volkswagen      ATLAS                Atlanta                  GA
46655   1V2UR2CA9KC579660   Volkswagen      ATLAS                FRESNO                   CA
46656   1V2UR2CA9KC579920   Volkswagen      ATLAS                Portland                 OR
46657   1V2UR2CA9KC580100   Volkswagen      ATLAS                Salt Lake City           UT
46658   1V2UR2CA9KC580551   Volkswagen      ATLAS                Buffalo                  NY
46659   1V2UR2CAXKC579652   Volkswagen      ATLAS                WEST PALM BEACH          FL
46660   1V2UR2CAXKC580414   Volkswagen      ATLAS                SAN FRANCISCO            CA
46661   1V2UR2CAXKC580476   Volkswagen      ATLAS                Portland                 OR
46662   1V2UR2CAXKC581014   Volkswagen      ATLAS                FRESNO                   CA
46663   1V2WR2CA0KC558270   Volkswagen      ATLAS                Atlanta                  GA
46664   1V2WR2CA0KC558298   Volkswagen      ATLAS                HOUSTON                  TX
46665   1V2WR2CA0KC558446   Volkswagen      ATLAS                MYRTLE BEACH             SC
46666   1V2WR2CA0KC558737   Volkswagen      ATLAS                KENNER                   LA
46667   1V2WR2CA0KC558804   Volkswagen      ATLAS                DFW AIRPORT              TX
46668   1V2WR2CA0KC559032   Volkswagen      ATLAS                DFW AIRPORT              TX
46669   1V2WR2CA0KC559175   Volkswagen      ATLAS                COLUMBIA                 SC
46670   1V2WR2CA0KC559211   Volkswagen      ATLAS                NASHVILLE                TN
46671   1V2WR2CA0KC559578   Volkswagen      ATLAS                KNOXVILLE                TN
46672   1V2WR2CA0KC559824   Volkswagen      ATLAS                DALLAS                   TX
46673   1V2WR2CA0KC560021   Volkswagen      ATLAS                Irving                   TX
46674   1V2WR2CA0KC560133   Volkswagen      ATLAS                Dallas                   TX
46675   1V2WR2CA0KC560195   Volkswagen      ATLAS                AUSTIN                   TX
46676   1V2WR2CA0KC560424   Volkswagen      ATLAS                LOUISVILLE               KY
46677   1V2WR2CA0KC560553   Volkswagen      ATLAS                CHICAGO                  IL
46678   1V2WR2CA0KC560567   Volkswagen      ATLAS                BOSTON                   MA
46679   1V2WR2CA0KC560603   Volkswagen      ATLAS                SAINT LOUIS              MO
46680   1V2WR2CA0KC560777   Volkswagen      ATLAS                DALLAS                   TX
46681   1V2WR2CA0KC561069   Volkswagen      ATLAS                FORT LAUDERDALE          FL
46682   1V2WR2CA0KC564733   Volkswagen      ATLAS                PITTSBURGH               PA
46683   1V2WR2CA0KC565235   Volkswagen      ATLAS                PHOENIX                  AZ
46684   1V2WR2CA0KC565350   Volkswagen      ATLAS                DALLAS                   TX
46685   1V2WR2CA0KC565381   Volkswagen      ATLAS                KENNER                   LA
46686   1V2WR2CA0KC565705   Volkswagen      ATLAS                DALLAS                   TX
46687   1V2WR2CA0KC565798   Volkswagen      ATLAS                Houston                  TX
46688   1V2WR2CA0KC565865   Volkswagen      ATLAS                DALLAS                   TX
46689   1V2WR2CA0KC566319   Volkswagen      ATLAS                SOUTH SAN FRANC          CA
46690   1V2WR2CA0KC567776   Volkswagen      ATLAS                MONTCLAIR                CA
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46691   1V2WR2CA0KC568121   Volkswagen      ATLAS                AUSTIN                   TX
46692   1V2WR2CA0KC569222   Volkswagen      ATLAS                FRESNO                   CA
46693   1V2WR2CA0KC569480   Volkswagen      ATLAS                SAN FRANCISCO            CA
46694   1V2WR2CA0KC569673   Volkswagen      ATLAS                DALLAS                   TX
46695   1V2WR2CA0KC577532   Volkswagen      ATLAS                SAN FRANCISCO            CA
46696   1V2WR2CA1KC558214   Volkswagen      ATLAS                MARY ESTHER              FL
46697   1V2WR2CA1KC558357   Volkswagen      ATLAS                ALBANY                   NY
46698   1V2WR2CA1KC558407   Volkswagen      ATLAS                OMAHA                    NE
46699   1V2WR2CA1KC558875   Volkswagen      ATLAS                HOUSTON                  TX
46700   1V2WR2CA1KC558889   Volkswagen      ATLAS                DALLAS                   TX
46701   1V2WR2CA1KC559055   Volkswagen      ATLAS                SHREVEPORT               LA
46702   1V2WR2CA1KC559203   Volkswagen      ATLAS                JACKSONVILLE             FL
46703   1V2WR2CA1KC559251   Volkswagen      ATLAS                ROCHESTER                NY
46704   1V2WR2CA1KC559654   Volkswagen      ATLAS                WHITE PLAINS             NY
46705   1V2WR2CA1KC559704   Volkswagen      ATLAS                HOUSTON                  TX
46706   1V2WR2CA1KC559914   Volkswagen      ATLAS                KANSAS CITY              MO
46707   1V2WR2CA1KC560187   Volkswagen      ATLAS                FORT MYERS               FL
46708   1V2WR2CA1KC560223   Volkswagen      ATLAS                Hebron                   KY
46709   1V2WR2CA1KC560237   Volkswagen      ATLAS                Las Vegas                NV
46710   1V2WR2CA1KC560254   Volkswagen      ATLAS                SAN ANTONIO              TX
46711   1V2WR2CA1KC560352   Volkswagen      ATLAS                Pheonix                  AZ
46712   1V2WR2CA1KC560481   Volkswagen      ATLAS                COLUMBUS                 OH
46713   1V2WR2CA1KC560495   Volkswagen      ATLAS                HOUSTON                  TX
46714   1V2WR2CA1KC561016   Volkswagen      ATLAS                HOUSTON                  TX
46715   1V2WR2CA1KC561095   Volkswagen      ATLAS                STERLING                 VA
46716   1V2WR2CA1KC561341   Volkswagen      ATLAS                HANOVER                  MD
46717   1V2WR2CA1KC565163   Volkswagen      ATLAS                SAINT LOUIS              MO
46718   1V2WR2CA1KC565275   Volkswagen      ATLAS                LOS ANGELES              CA
46719   1V2WR2CA1KC565440   Volkswagen      ATLAS                PALM SPRINGS             CA
46720   1V2WR2CA1KC568158   Volkswagen      ATLAS                OAKLAND                  CA
46721   1V2WR2CA1KC568239   Volkswagen      ATLAS                PORTLAND                 OR
46722   1V2WR2CA1KC569570   Volkswagen      ATLAS                NORFOLK                  VA
46723   1V2WR2CA1KC569617   Volkswagen      ATLAS                REDDING                  CA
46724   1V2WR2CA1KC569911   Volkswagen      ATLAS                Hebron                   KY
46725   1V2WR2CA1KC574932   Volkswagen      ATLAS                FRESNO                   CA
46726   1V2WR2CA2KC558240   Volkswagen      ATLAS                ROANOKE                  VA
46727   1V2WR2CA2KC558495   Volkswagen      ATLAS                ALEXANDRIA               VA
46728   1V2WR2CA2KC558528   Volkswagen      ATLAS                WEST COLUMBIA            SC
46729   1V2WR2CA2KC559016   Volkswagen      ATLAS                JACKSON                  MS
46730   1V2WR2CA2KC559159   Volkswagen      ATLAS                HOUSTON                  TX
46731   1V2WR2CA2KC559596   Volkswagen      ATLAS                PHILADELPHIA             PA
46732   1V2WR2CA2KC559730   Volkswagen      ATLAS                KENNER                   LA
46733   1V2WR2CA2KC560019   Volkswagen      ATLAS                HOUSTON                  TX
46734   1V2WR2CA2KC560036   Volkswagen      ATLAS                SAN FRANCISCO            CA
46735   1V2WR2CA2KC560294   Volkswagen      ATLAS                Winston‐Salem            NC
46736   1V2WR2CA2KC560392   Volkswagen      ATLAS                HOUSTON IAH AP           TX
46737   1V2WR2CA2KC560537   Volkswagen      ATLAS                LOUISVILLE               KY
46738   1V2WR2CA2KC560571   Volkswagen      ATLAS                NORFOLK                  VA
46739   1V2WR2CA2KC561025   Volkswagen      ATLAS                ALEXANDRIA               LA
46740   1V2WR2CA2KC561168   Volkswagen      ATLAS                Atlanta                  GA
46741   1V2WR2CA2KC561333   Volkswagen      ATLAS                KENNER                   LA
46742   1V2WR2CA2KC564166   Volkswagen      ATLAS                DALLAS                   TX
46743   1V2WR2CA2KC564183   Volkswagen      ATLAS                PALM SPRINGS             CA
46744   1V2WR2CA2KC564720   Volkswagen      ATLAS                EL PASO                  TX
46745   1V2WR2CA2KC564815   Volkswagen      ATLAS                WEST COLUMBIA            SC
46746   1V2WR2CA2KC565026   Volkswagen      ATLAS                Atlanta                  GA
46747   1V2WR2CA2KC565155   Volkswagen      ATLAS                MCALLEN                  TX
46748   1V2WR2CA2KC565365   Volkswagen      ATLAS                DALLAS                   TX
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46749   1V2WR2CA2KC566015   Volkswagen      ATLAS                LITTLE ROCK              AR
46750   1V2WR2CA2KC568086   Volkswagen      ATLAS                Atlanta                  GA
46751   1V2WR2CA2KC568279   Volkswagen      ATLAS                SAN FRANCISCO            CA
46752   1V2WR2CA2KC568945   Volkswagen      ATLAS                EL PASO                  TX
46753   1V2WR2CA2KC574003   Volkswagen      ATLAS                SANTA CLARA              CA
46754   1V2WR2CA2KC574681   Volkswagen      ATLAS                SACRAMENTO               CA
46755   1V2WR2CA3KC557825   Volkswagen      ATLAS                KNOXVILLE                TN
46756   1V2WR2CA3KC558375   Volkswagen      ATLAS                NEW YORK CITY            NY
46757   1V2WR2CA3KC558389   Volkswagen      ATLAS                DALLAS                   TX
46758   1V2WR2CA3KC558473   Volkswagen      ATLAS                UNION CITY               GA
46759   1V2WR2CA3KC558635   Volkswagen      ATLAS                DALLAS                   TX
46760   1V2WR2CA3KC559008   Volkswagen      ATLAS                SEATTLE                  WA
46761   1V2WR2CA3KC559798   Volkswagen      ATLAS                MEMPHIS                  TN
46762   1V2WR2CA3KC560207   Volkswagen      ATLAS                WARWICK                  RI
46763   1V2WR2CA3KC560241   Volkswagen      ATLAS                CHARLOTTE                NC
46764   1V2WR2CA3KC560272   Volkswagen      ATLAS                CHARLOTTE                NC
46765   1V2WR2CA3KC560823   Volkswagen      ATLAS                CHICAGO                  IL
46766   1V2WR2CA3KC561258   Volkswagen      ATLAS                MILWAUKEE                WI
46767   1V2WR2CA3KC564760   Volkswagen      ATLAS                ONTARIO                  CA
46768   1V2WR2CA3KC564838   Volkswagen      ATLAS                OAKLAND                  CA
46769   1V2WR2CA3KC564855   Volkswagen      ATLAS                PHOENIX                  AZ
46770   1V2WR2CA3KC565388   Volkswagen      ATLAS                PORTLAND                 OR
46771   1V2WR2CA3KC565519   Volkswagen      ATLAS                CHICAGO                  IL
46772   1V2WR2CA3KC565827   Volkswagen      ATLAS                STERLING                 VA
46773   1V2WR2CA3KC566184   Volkswagen      ATLAS                SAN ANTONIO              TX
46774   1V2WR2CA3KC566198   Volkswagen      ATLAS                SACRAMENTO               CA
46775   1V2WR2CA3KC567769   Volkswagen      ATLAS                SACRAMENTO               CA
46776   1V2WR2CA3KC568131   Volkswagen      ATLAS                SEATAC                   WA
46777   1V2WR2CA3KC569117   Volkswagen      ATLAS                SACRAMENTO               CA
46778   1V2WR2CA3KC569327   Volkswagen      ATLAS                SAN FRANCISCO            CA
46779   1V2WR2CA3KC569389   Volkswagen      ATLAS                Beaverton                OR
46780   1V2WR2CA3KC573572   Volkswagen      ATLAS                OKLAHOMA CITY            OK
46781   1V2WR2CA3KC574270   Volkswagen      ATLAS                Stockton                 CA
46782   1V2WR2CA4KC557543   Volkswagen      ATLAS                Atlanta                  GA
46783   1V2WR2CA4KC557879   Volkswagen      ATLAS                DALLAS                   TX
46784   1V2WR2CA4KC558420   Volkswagen      ATLAS                HOUSTON                  TX
46785   1V2WR2CA4KC558546   Volkswagen      ATLAS                MEMPHIS                  TN
46786   1V2WR2CA4KC558692   Volkswagen      ATLAS                SAN ANTONIO              TX
46787   1V2WR2CA4KC558725   Volkswagen      ATLAS                PHILADELPHIA             PA
46788   1V2WR2CA4KC558871   Volkswagen      ATLAS                Atlanta                  GA
46789   1V2WR2CA4KC558921   Volkswagen      ATLAS                PANAMA CITY              FL
46790   1V2WR2CA4KC559826   Volkswagen      ATLAS                AUSTIN                   TX
46791   1V2WR2CA4KC559860   Volkswagen      ATLAS                STERLING                 VA
46792   1V2WR2CA4KC560183   Volkswagen      ATLAS                SAN ANTONIO              TX
46793   1V2WR2CA4KC560197   Volkswagen      ATLAS                WHITE PLAINS             NY
46794   1V2WR2CA4KC560300   Volkswagen      ATLAS                WEST COLUMBIA            SC
46795   1V2WR2CA4KC560376   Volkswagen      ATLAS                NEW ORLEANS              LA
46796   1V2WR2CA4KC560426   Volkswagen      ATLAS                JACKSON                  MS
46797   1V2WR2CA4KC560555   Volkswagen      ATLAS                JACKSONVILLE             FL
46798   1V2WR2CA4KC560569   Volkswagen      ATLAS                JACKSONVILLE             FL
46799   1V2WR2CA4KC560832   Volkswagen      ATLAS                Irving                   TX
46800   1V2WR2CA4KC561043   Volkswagen      ATLAS                SYRACUSE                 NY
46801   1V2WR2CA4KC561303   Volkswagen      ATLAS                ATLANTA                  GA
46802   1V2WR2CA4KC561365   Volkswagen      ATLAS                PENSACOLA                FL
46803   1V2WR2CA4KC564248   Volkswagen      ATLAS                WARWICK                  RI
46804   1V2WR2CA4KC564590   Volkswagen      ATLAS                HOUSTON                  TX
46805   1V2WR2CA4KC567716   Volkswagen      ATLAS                OAKLAND                  CA
46806   1V2WR2CA4KC568560   Volkswagen      ATLAS                Dallas                   TX
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46807   1V2WR2CA4KC568607   Volkswagen      ATLAS                Pompano Beach            FL
46808   1V2WR2CA4KC569000   Volkswagen      ATLAS                SACRAMENTO               CA
46809   1V2WR2CA4KC569224   Volkswagen      ATLAS                FRESNO                   CA
46810   1V2WR2CA4KC569272   Volkswagen      ATLAS                SAN FRANCISCO            CA
46811   1V2WR2CA4KC569532   Volkswagen      ATLAS                Jacksonville             FL
46812   1V2WR2CA4KC576397   Volkswagen      ATLAS                OAKLAND                  CA
46813   1V2WR2CA4KC576951   Volkswagen      ATLAS                OAKLAND                  CA
46814   1V2WR2CA5KC558331   Volkswagen      ATLAS                NEW BERN                 NC
46815   1V2WR2CA5KC558491   Volkswagen      ATLAS                HOUSTON                  TX
46816   1V2WR2CA5KC558510   Volkswagen      ATLAS                DFW AIRPORT              TX
46817   1V2WR2CA5KC558569   Volkswagen      ATLAS                DALLAS                   TX
46818   1V2WR2CA5KC558619   Volkswagen      ATLAS                GREENSBORO               NC
46819   1V2WR2CA5KC558913   Volkswagen      ATLAS                Killeen                  TX
46820   1V2WR2CA5KC558992   Volkswagen      ATLAS                WEST COLUMBIA            SC
46821   1V2WR2CA5KC559091   Volkswagen      ATLAS                HOUSTON                  TX
46822   1V2WR2CA5KC559141   Volkswagen      ATLAS                COCOA                    FL
46823   1V2WR2CA5KC559155   Volkswagen      ATLAS                PENSACOLA                FL
46824   1V2WR2CA5KC560242   Volkswagen      ATLAS                CLEVELAND                OH
46825   1V2WR2CA5KC560256   Volkswagen      ATLAS                BOSTON                   MA
46826   1V2WR2CA5KC560404   Volkswagen      ATLAS                FAYETTEVILLE             GA
46827   1V2WR2CA5KC561052   Volkswagen      ATLAS                SAINT LOUIS              MO
46828   1V2WR2CA5KC564730   Volkswagen      ATLAS                HOUSTON                  TX
46829   1V2WR2CA5KC565683   Volkswagen      ATLAS                NEW YORK CITY            NY
46830   1V2WR2CA5KC566171   Volkswagen      ATLAS                HOUSTON                  TX
46831   1V2WR2CA5KC568552   Volkswagen      ATLAS                PORTLAND                 OR
46832   1V2WR2CA5KC568812   Volkswagen      ATLAS                SAN FRANCISCO            CA
46833   1V2WR2CA5KC569040   Volkswagen      ATLAS                SACRAMENTO               CA
46834   1V2WR2CA5KC569099   Volkswagen      ATLAS                SEATAC                   WA
46835   1V2WR2CA5KC569104   Volkswagen      ATLAS                FRESNO                   CA
46836   1V2WR2CA5KC570530   Volkswagen      ATLAS                BURBANK                  CA
46837   1V2WR2CA5KC574612   Volkswagen      ATLAS                SACRAMENTO               CA
46838   1V2WR2CA6KC558337   Volkswagen      ATLAS                SAN ANTONIO              TX
46839   1V2WR2CA6KC558497   Volkswagen      ATLAS                RALEIGH                  NC
46840   1V2WR2CA6KC558600   Volkswagen      ATLAS                LOUISVILLE               KY
46841   1V2WR2CA6KC558760   Volkswagen      ATLAS                DALLAS                   TX
46842   1V2WR2CA6KC558905   Volkswagen      ATLAS                MARY ESTHER              FL
46843   1V2WR2CA6KC559097   Volkswagen      ATLAS                CHARLOTTE                NC
46844   1V2WR2CA6KC559598   Volkswagen      ATLAS                NEW BERN                 NC
46845   1V2WR2CA6KC560010   Volkswagen      ATLAS                UNION CITY               GA
46846   1V2WR2CA6KC560038   Volkswagen      ATLAS                HOUSTON                  TX
46847   1V2WR2CA6KC560167   Volkswagen      ATLAS                SAN ANTONIO              TX
46848   1V2WR2CA6KC560394   Volkswagen      ATLAS                DANIA BEACH              FL
46849   1V2WR2CA6KC560430   Volkswagen      ATLAS                Florissant               MO
46850   1V2WR2CA6KC560525   Volkswagen      ATLAS                DALLAS                   TX
46851   1V2WR2CA6KC560539   Volkswagen      ATLAS                NEW ORLEANS              LA
46852   1V2WR2CA6KC560573   Volkswagen      ATLAS                SAN JOSE                 CA
46853   1V2WR2CA6KC560797   Volkswagen      ATLAS                MOBILE                   A
46854   1V2WR2CA6KC560895   Volkswagen      ATLAS                SAN DIEGO                CA
46855   1V2WR2CA6KC561058   Volkswagen      ATLAS                AUSTIN                   TX
46856   1V2WR2CA6KC564428   Volkswagen      ATLAS                KENNER                   LA
46857   1V2WR2CA6KC564445   Volkswagen      ATLAS                LUBBOCK                  TX
46858   1V2WR2CA6KC564753   Volkswagen      ATLAS                SAN DIEGO                CA
46859   1V2WR2CA6KC564848   Volkswagen      ATLAS                HOUSTON                  TX
46860   1V2WR2CA6KC564896   Volkswagen      ATLAS                AUSTIN                   TX
46861   1V2WR2CA6KC565014   Volkswagen      ATLAS                HOUSTON                  TX
46862   1V2WR2CA6KC565143   Volkswagen      ATLAS                OAKLAND                  CA
46863   1V2WR2CA6KC565188   Volkswagen      ATLAS                ORLANDO                  FL
46864   1V2WR2CA6KC565501   Volkswagen      ATLAS                DALLAS                   TX
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46865   1V2WR2CA6KC565529   Volkswagen      ATLAS                KANSAS CITY              MO
46866   1V2WR2CA6KC565823   Volkswagen      ATLAS                KENNER                   LA
46867   1V2WR2CA6KC566101   Volkswagen      ATLAS                HOUSTON                  TX
46868   1V2WR2CA6KC567863   Volkswagen      ATLAS                TULSA                    OK
46869   1V2WR2CA6KC568527   Volkswagen      ATLAS                ORLANDO                  FL
46870   1V2WR2CA6KC569144   Volkswagen      ATLAS                LAS VEGAS                NV
46871   1V2WR2CA6KC569466   Volkswagen      ATLAS                ATLANTA                  GA
46872   1V2WR2CA6KC569497   Volkswagen      ATLAS                ONTARIO                  CA
46873   1V2WR2CA6KC575087   Volkswagen      ATLAS                OAKLAND                  CA
46874   1V2WR2CA7KC558377   Volkswagen      ATLAS                DALLAS                   TX
46875   1V2WR2CA7KC558444   Volkswagen      ATLAS                Atlanta                  GA
46876   1V2WR2CA7KC558606   Volkswagen      ATLAS                Teterboro                NJ
46877   1V2WR2CA7KC558623   Volkswagen      ATLAS                PHILADELPHIA             US
46878   1V2WR2CA7KC558749   Volkswagen      ATLAS                ROCHESTER                NY
46879   1V2WR2CA7KC558847   Volkswagen      ATLAS                BURBANK                  CA
46880   1V2WR2CA7KC558976   Volkswagen      ATLAS                Slidell                  LA
46881   1V2WR2CA7KC559061   Volkswagen      ATLAS                Portland                 OR
46882   1V2WR2CA7KC559139   Volkswagen      ATLAS                SAINT PAUL               MN
46883   1V2WR2CA7KC559237   Volkswagen      ATLAS                HOUSTON                  TX
46884   1V2WR2CA7KC559576   Volkswagen      ATLAS                ORLANDO                  FL
46885   1V2WR2CA7KC559674   Volkswagen      ATLAS                LITTLE ROCK              AR
46886   1V2WR2CA7KC559786   Volkswagen      ATLAS                HOUSTON                  TX
46887   1V2WR2CA7KC559870   Volkswagen      ATLAS                HOUSTON                  TX
46888   1V2WR2CA7KC559884   Volkswagen      ATLAS                NEW BERN                 NC
46889   1V2WR2CA7KC559920   Volkswagen      ATLAS                SEATAC                   WA
46890   1V2WR2CA7KC559982   Volkswagen      ATLAS                HOUSTON                  TX
46891   1V2WR2CA7KC560050   Volkswagen      ATLAS                KENNER                   LA
46892   1V2WR2CA7KC560159   Volkswagen      ATLAS                PHILADELPHIA             PA
46893   1V2WR2CA7KC560209   Volkswagen      ATLAS                PORTLAND                 OR
46894   1V2WR2CA7KC560338   Volkswagen      ATLAS                Kansas City              MO
46895   1V2WR2CA7KC561182   Volkswagen      ATLAS                HOUSTON                  TX
46896   1V2WR2CA7KC564843   Volkswagen      ATLAS                HOUSTON                  TX
46897   1V2WR2CA7KC564888   Volkswagen      ATLAS                DALLAS                   TX
46898   1V2WR2CA7KC565006   Volkswagen      ATLAS                SAN JOSE                 CA
46899   1V2WR2CA7KC565071   Volkswagen      ATLAS                LAS VEGAS                NV
46900   1V2WR2CA7KC565250   Volkswagen      ATLAS                SAN FRANCISCO            CA
46901   1V2WR2CA7KC565331   Volkswagen      ATLAS                HOUSTON                  TX
46902   1V2WR2CA7KC566611   Volkswagen      ATLAS                SEATAC                   WA
46903   1V2WR2CA7KC568083   Volkswagen      ATLAS                ONTARIO                  CA
46904   1V2WR2CA7KC569282   Volkswagen      ATLAS                BURLINGAME               CA
46905   1V2WR2CA8KC558453   Volkswagen      ATLAS                GREENVILLE               NC
46906   1V2WR2CA8KC558534   Volkswagen      ATLAS                WINTER PARK              FL
46907   1V2WR2CA8KC559229   Volkswagen      ATLAS                Matteson                 IL
46908   1V2WR2CA8KC559618   Volkswagen      ATLAS                JACKSON                  MS
46909   1V2WR2CA8KC559750   Volkswagen      ATLAS                COLUMBIA                 SC
46910   1V2WR2CA8KC559862   Volkswagen      ATLAS                DALLAS                   TX
46911   1V2WR2CA8KC560171   Volkswagen      ATLAS                SAINT PAUL               MN
46912   1V2WR2CA8KC560235   Volkswagen      ATLAS                HOUSTON                  TX
46913   1V2WR2CA8KC560350   Volkswagen      ATLAS                CHARLOTTE                NC
46914   1V2WR2CA8KC560414   Volkswagen      ATLAS                LOUISVILLE               KY
46915   1V2WR2CA8KC560994   Volkswagen      ATLAS                DALLAS                   TX
46916   1V2WR2CA8KC561014   Volkswagen      ATLAS                INDIANAPOLIS             IN
46917   1V2WR2CA8KC561028   Volkswagen      ATLAS                HOUSTON                  TX
46918   1V2WR2CA8KC561160   Volkswagen      ATLAS                Memphis                  TN
46919   1V2WR2CA8KC564818   Volkswagen      ATLAS                SACRAMENTO               CA
46920   1V2WR2CA8KC565421   Volkswagen      ATLAS                DALLAS                   TX
46921   1V2WR2CA8KC569002   Volkswagen      ATLAS                SAN JOSE                 CA
46922   1V2WR2CA8KC569419   Volkswagen      ATLAS                SAN JOSE                 CA
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46923   1V2WR2CA8KC569632   Volkswagen      ATLAS                SAN FRANCISCO            CA
46924   1V2WR2CA8KC569694   Volkswagen      ATLAS                PHILADELPHIA             PA
46925   1V2WR2CA8KC569811   Volkswagen      ATLAS                PHOENIX                  AZ
46926   1V2WR2CA9KC558123   Volkswagen      ATLAS                GLASSBORO                NJ
46927   1V2WR2CA9KC558493   Volkswagen      ATLAS                STERLING                 VA
46928   1V2WR2CA9KC558574   Volkswagen      ATLAS                PROVIDENCE               RI
46929   1V2WR2CA9KC559000   Volkswagen      ATLAS                WHITE PLAINS             NY
46930   1V2WR2CA9KC559014   Volkswagen      ATLAS                KENNER                   LA
46931   1V2WR2CA9KC559093   Volkswagen      ATLAS                TAMPA                    FL
46932   1V2WR2CA9KC559255   Volkswagen      ATLAS                BIRMINGHAM               AL
46933   1V2WR2CA9KC559501   Volkswagen      ATLAS                MIDLAND                  TX
46934   1V2WR2CA9KC559868   Volkswagen      ATLAS                PENSACOLA                FL
46935   1V2WR2CA9KC559918   Volkswagen      ATLAS                SAN DIEGO                CA
46936   1V2WR2CA9KC559952   Volkswagen      ATLAS                Dallas                   TX
46937   1V2WR2CA9KC560048   Volkswagen      ATLAS                Tampa                    FL
46938   1V2WR2CA9KC560079   Volkswagen      ATLAS                RALEIGH                  NC
46939   1V2WR2CA9KC560115   Volkswagen      ATLAS                SAINT PAUL               MN
46940   1V2WR2CA9KC560163   Volkswagen      ATLAS                DALLAS                   TX
46941   1V2WR2CA9KC560227   Volkswagen      ATLAS                HOUSTON                  TX
46942   1V2WR2CA9KC560342   Volkswagen      ATLAS                MILWAUKEE                WI
46943   1V2WR2CA9KC560390   Volkswagen      ATLAS                STERLING                 VA
46944   1V2WR2CA9KC560406   Volkswagen      ATLAS                MIAMI                    FL
46945   1V2WR2CA9KC560955   Volkswagen      ATLAS                DALLAS                   TX
46946   1V2WR2CA9KC561037   Volkswagen      ATLAS                WEST COLUMBIA            SC
46947   1V2WR2CA9KC561054   Volkswagen      ATLAS                ELMHURST                 IL
46948   1V2WR2CA9KC561071   Volkswagen      ATLAS                LITTLE ROCK              AR
46949   1V2WR2CA9KC561278   Volkswagen      ATLAS                DETROIT                  MI
46950   1V2WR2CA9KC564696   Volkswagen      ATLAS                Atlanta                  GA
46951   1V2WR2CA9KC565069   Volkswagen      ATLAS                HOUSTON                  TX
46952   1V2WR2CA9KC565105   Volkswagen      ATLAS                TAMPA                    US
46953   1V2WR2CA9KC565203   Volkswagen      ATLAS                PHILADELPHIA             PA
46954   1V2WR2CA9KC565220   Volkswagen      ATLAS                DALLAS                   TX
46955   1V2WR2CA9KC565301   Volkswagen      ATLAS                LUBBOCK                  TX
46956   1V2WR2CA9KC565363   Volkswagen      ATLAS                STERLING                 VA
46957   1V2WR2CA9KC565489   Volkswagen      ATLAS                HOUSTON                  TX
46958   1V2WR2CA9KC565508   Volkswagen      ATLAS                BURLINGAME               CA
46959   1V2WR2CA9KC566500   Volkswagen      ATLAS                SAN JOSE                 CA
46960   1V2WR2CA9KC568537   Volkswagen      ATLAS                SEATAC                   WA
46961   1V2WR2CA9KC569560   Volkswagen      ATLAS                HOUSTON                  TX
46962   1V2WR2CA9KC570675   Volkswagen      ATLAS                ONTARIO                  CA
46963   1V2WR2CA9KC576962   Volkswagen      ATLAS                SAN FRANCISCO            CA
46964   1V2WR2CAXKC558440   Volkswagen      ATLAS                HANOVER                  MD
46965   1V2WR2CAXKC558499   Volkswagen      ATLAS                PENSACOLA                FL
46966   1V2WR2CAXKC558518   Volkswagen      ATLAS                HOUSTON                  TX
46967   1V2WR2CAXKC558549   Volkswagen      ATLAS                SAN RAFAEL               CA
46968   1V2WR2CAXKC558616   Volkswagen      ATLAS                DANIA BEACH              FL
46969   1V2WR2CAXKC558812   Volkswagen      ATLAS                FORT LAUDERDALE          FL
46970   1V2WR2CAXKC558941   Volkswagen      ATLAS                Atlanta                  GA
46971   1V2WR2CAXKC559135   Volkswagen      ATLAS                Charlotte                NC
46972   1V2WR2CAXKC559684   Volkswagen      ATLAS                DFW AIRPORT              TX
46973   1V2WR2CAXKC559930   Volkswagen      ATLAS                Atlanta                  GA
46974   1V2WR2CAXKC559992   Volkswagen      ATLAS                WEST COLUMBIA            SC
46975   1V2WR2CAXKC560169   Volkswagen      ATLAS                Hayward                  CA
46976   1V2WR2CAXKC560334   Volkswagen      ATLAS                DALLAS                   TX
46977   1V2WR2CAXKC560639   Volkswagen      ATLAS                ORLANDO                  FL
46978   1V2WR2CAXKC564898   Volkswagen      ATLAS                HOUSTON                  TX
46979   1V2WR2CAXKC564951   Volkswagen      ATLAS                Dallas                   TX
46980   1V2WR2CAXKC564979   Volkswagen      ATLAS                JACKSON                  WY
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46981   1V2WR2CAXKC564996   Volkswagen      ATLAS                HOUSTON                  TX
46982   1V2WR2CAXKC565338   Volkswagen      ATLAS                Dallas                   TX
46983   1V2WR2CAXKC565372   Volkswagen      ATLAS                JAMAICA                  NY
46984   1V2WR2CAXKC565405   Volkswagen      ATLAS                SACRAMENTO               CA
46985   1V2WR2CAXKC565811   Volkswagen      ATLAS                WHITE PLAINS             NY
46986   1V2WR2CAXKC568577   Volkswagen      ATLAS                HOUSTON                  TX
46987   1V2WR2CAXKC568840   Volkswagen      ATLAS                NEWPORT BEACH            CA
46988   1V2WR2CAXKC569342   Volkswagen      ATLAS                VALLEJO                  CA
46989   1V2WR2CAXKC569843   Volkswagen      ATLAS                BURBANK                  CA
46990   1V2WR2CAXKC570068   Volkswagen      ATLAS                Oakland                  CA
46991   1V2WR2CAXKC571110   Volkswagen      ATLAS                OAKLAND                  CA
46992   1V2WR2CAXKC576601   Volkswagen      ATLAS                SAN JOSE                 CA
46993   1V2WR2CAXKC576758   Volkswagen      ATLAS                DALLAS                   TX
46994   1V2WR2CAXKC576906   Volkswagen      ATLAS                OAKLAND                  CA
46995   1VWAA7A32JC003207   Volkswagen      PASSAT               Marietta                 GA
46996   1VWAA7A32JC021433   Volkswagen      PASSAT               North Las Vegas          NV
46997   1VWAA7A33JC021103   Volkswagen      PASSAT               LAS VEGAS                NV
46998   1VWAA7A34JC022504   Volkswagen      PASSAT               Las Vegas                NV
46999   1VWAA7A36JC021077   Volkswagen      PASSAT               LAS VEGAS                NV
47000   1VWAA7A36JC027235   Volkswagen      PASSAT               PHILADELPHIA             PA
47001   1VWAH7A30DC077144   Volkswagen      PASSAT               SPRINGFIELD              VA
47002   1VWAH7A32EC007467   Volkswagen      PASSAT               Las Vegas                NV
47003   1VWAH7A33DC150829   Volkswagen      PASSAT               Elkridge                 MD
47004   1VWAH7A35DC008014   Volkswagen      PASSAT               SOUTHEAST DST OFFC       OK
47005   1VWAH7A37DC142510   Volkswagen      PASSAT               LOS ANGELES              CA
47006   1VWAH7A39DC096453   Volkswagen      PASSAT               Hattiesburg              MS
47007   1VWAH7A3XDC096784   Volkswagen      PASSAT               Mira Loma                CA
47008   1VWAP7A30DC057379   Volkswagen      PASSAT               CHICAGO                  IL
47009   1VWAP7A30DC114129   Volkswagen      PASSAT               CHICAGO                  IL
47010   1VWAP7A30EC016185   Volkswagen      PASSAT               Fredericksburg           VA
47011   1VWAP7A30EC017692   Volkswagen      PASSAT               SPRINGFIELD              VA
47012   1VWAP7A31DC114933   Volkswagen      PASSAT               Elkridge                 MD
47013   1VWAP7A31EC009522   Volkswagen      PASSAT               Hanover                  MD
47014   1VWAP7A34DC093933   Volkswagen      PASSAT               BURBANK                  CA
47015   1VWAP7A34EC008140   Volkswagen      PASSAT               STERLING                 VA
47016   1VWAP7A35DC125482   Volkswagen      PASSAT               CHICAGO                  IL
47017   1VWAP7A35EC006283   Volkswagen      PASSAT               Elkridge                 MD
47018   1VWAP7A36DC059170   Volkswagen      PASSAT               HANOVER                  MD
47019   1VWAP7A36DC098969   Volkswagen      PASSAT               CHICAGO                  IL
47020   1VWAP7A36EC007085   Volkswagen      PASSAT               Lynn                     MA
47021   1VWAP7A36EC019267   Volkswagen      PASSAT               Elkridge                 MD
47022   1VWAP7A37DC138203   Volkswagen      PASSAT               Hayward                  CA
47023   1VWAP7A37DC140971   Volkswagen      PASSAT               BURIEN                   WA
47024   1VWAP7A37EC023120   Volkswagen      PASSAT               Hayward                  CA
47025   1VWAP7A38DC129591   Volkswagen      PASSAT               BALTIMORE                MD
47026   1VWAP7A38EC019190   Volkswagen      PASSAT               CHICAGO                  IL
47027   1VWAP7A39EC016153   Volkswagen      PASSAT               Elkridge                 MD
47028   1VWAP7A3XEC014458   Volkswagen      PASSAT               North Las Vegas          NV
47029   1VWAS7A38EC108711   Volkswagen      PASSAT               MEMPHIS                  TN
47030   1VWAT7A30EC022483   Volkswagen      PASSAT               ELKRIDGE                 MD
47031   1VWAT7A30EC059002   Volkswagen      PASSAT               HANOVER                  MD
47032   1VWAT7A31GC055303   Volkswagen      PASSAT               ONTARIO                  CA
47033   1VWAT7A32EC067750   Volkswagen      PASSAT               CHICAGO                  IL
47034   1VWAT7A33GC048773   Volkswagen      PASSAT               Reno                     NV
47035   1VWAT7A34EC029209   Volkswagen      PASSAT               Elkridge                 MD
47036   1VWAT7A34EC040551   Volkswagen      PASSAT               MIDDLE RIVER             MD
47037   1VWAT7A35EC034127   Volkswagen      PASSAT               CHICAGO                  IL
47038   1VWAT7A35EC042289   Volkswagen      PASSAT               Baltimore                MD
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47039   1VWAT7A35EC110302   Volkswagen      PASSAT               MORROW                   GA
47040   1VWAT7A36EC090433   Volkswagen      PASSAT               Elkridge                 MD
47041   1VWAT7A36EC103911   Volkswagen      PASSAT               SOUTHEAST DST OFFC       OK
47042   1VWAT7A37GC041549   Volkswagen      PASSAT               LOS ANGELES              CA
47043   1VWAT7A39EC108990   Volkswagen      PASSAT               LOS ANGELES AP           CA
47044   1VWAT7A3XEC090841   Volkswagen      PASSAT               COSTA MESA               CA
47045   1VWAT7A3XFC115075   Volkswagen      PASSAT               HANOVER                  MD
47046   1VWBH7A31DC013182   Volkswagen      PASSAT               HANOVER                  MD
47047   1VWBH7A31DC022156   Volkswagen      PASSAT
47048   1VWBH7A34EC002680   Volkswagen      PASSAT               MORROW                   GA
47049   1VWBH7A35EC015745   Volkswagen      PASSAT               Matteson                 IL
47050   1VWBH7A3XDC013777   Volkswagen      PASSAT               Elkridge                 MD
47051   1VWBP7A30DC072386   Volkswagen      PASSAT               LAS VEGAS                NV
47052   1VWBP7A30DC100302   Volkswagen      PASSAT               Chicago                  IL
47053   1VWBP7A32DC044573   Volkswagen      PASSAT               Baltimore                MD
47054   1VWBP7A32DC063690   Volkswagen      PASSAT               BURBANK                  CA
47055   1VWBP7A32DC102987   Volkswagen      PASSAT               Riverside                CA
47056   1VWBP7A32DC110703   Volkswagen      PASSAT               COLLEGE PARK             GA
47057   1VWBP7A32DC150439   Volkswagen      PASSAT               HANOVER                  MD
47058   1VWBP7A34DC061617   Volkswagen      PASSAT               Fontana                  CA
47059   1VWBP7A35DC102269   Volkswagen      PASSAT               SPRINGFIELD              VA
47060   1VWBP7A36DC113510   Volkswagen      PASSAT
47061   1VWBP7A37DC033987   Volkswagen      PASSAT               Mira Loma                CA
47062   1VWBP7A37DC044035   Volkswagen      PASSAT               SEATAC                   WA
47063   1VWBP7A37DC051857   Volkswagen      PASSAT               Torrance                 CA
47064   1VWBP7A38DC050877   Volkswagen      PASSAT               Elkridge                 MD
47065   1VWBP7A38DC112102   Volkswagen      PASSAT               Ventura                  CA
47066   1VWBP7A39DC062696   Volkswagen      PASSAT               LOS ANGELES              CA
47067   1VWBP7A3XDC027424   Volkswagen      PASSAT               STERLING                 VA
47068   1VWBP7A3XDC042280   Volkswagen      PASSAT               CENTRAL DIST OFFC        OK
47069   1VWBP7A3XDC090605   Volkswagen      PASSAT               DES PLAINES              IL
47070   1VWBP7A3XEC002394   Volkswagen      PASSAT               HANOVER                  MD
47071   1VWBS7A31EC112975   Volkswagen      PASSAT               ALEXANDRIA               VA
47072   1VWBS7A33EC046297   Volkswagen      PASSAT               HANOVER                  MD
47073   1VWBS7A35EC116480   Volkswagen      PASSAT               Elkridge                 MD
47074   1VWBS7A38EC110446   Volkswagen      PASSAT               Matteson                 IL
47075   1VWBT7A30EC102628   Volkswagen      PASSAT               North Dighton            MA
47076   1VWBT7A34EC059458   Volkswagen      PASSAT               Baltimore                MD
47077   1VWBT7A34EC108027   Volkswagen      PASSAT               Fontana                  CA
47078   1VWBT7A34EC112661   Volkswagen      PASSAT               Burien                   WA
47079   1VWBT7A35EC037940   Volkswagen      PASSAT               Elkridge                 MD
47080   1VWBT7A35EC059386   Volkswagen      PASSAT               ELKRIDGE                 MD
47081   1VWBT7A38EC030366   Volkswagen      PASSAT               North Dighton            MA
47082   1VWCH7A34DC028263   Volkswagen      PASSAT               Elkridge                 MD
47083   1VWCM7A30EC015944   Volkswagen      PASSAT               Matteson                 IL
47084   1VWCM7A38DC088347   Volkswagen      PASSAT               New Stanton              PA
47085   1VWCP7A31DC057514   Volkswagen      PASSAT               Fontana                  CA
47086   1VWCP7A37DC089058   Volkswagen      PASSAT               North Dighton            MA
47087   1VWCP7A37DC101547   Volkswagen      PASSAT               Elkridge                 MD
47088   1VWCP7A39DC058801   Volkswagen      PASSAT               Matteson                 IL
47089   1VWCP7A39DC078630   Volkswagen      PASSAT               Hanover                  MD
47090   1VWCP7A3XDC090799   Volkswagen      PASSAT               Chicago                  IL
47091   1VWCS7A32EC066321   Volkswagen      PASSAT               STERLING                 VA
47092   1VWCS7A36EC072235   Volkswagen      PASSAT               Pasadena                 CA
47093   1VWCT7A35EC028322   Volkswagen      PASSAT               Burien                   WA
47094   1VWCT7A37EC065565   Volkswagen      PASSAT               North Dighton            MA
47095   1VWCT7A37EC068787   Volkswagen      PASSAT               BURBANK                  CA
47096   1VWDT7A30HC049975   Volkswagen      PASSAT               KENNER                   LA
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47097   1VWDT7A30HC056148   Volkswagen      PASSAT                  PITTSBURGH                PA
47098   1VWDT7A33HC052997   Volkswagen      PASSAT                  BURBANK                   CA
47099   1VWDT7A35HC060843   Volkswagen      PASSAT                  Cleveland                 OH
47100   1VWDT7A37HC040156   Volkswagen      PASSAT                  RICHMOND                  VA
47101   1VWDT7A38HC050761   Volkswagen      PASSAT                  CHICAGO                   IL
47102   1VWDT7A38HC059878   Volkswagen      PASSAT                  Atlanta                   GA
47103   231BURHE0HC867837   Toyota          CAMRY                   PHILADELPHIA              PA
47104   231BURHE1HC883951   Toyota          CAMRY                   MIAMI                     FL
47105   231BURHE3HC867329   Toyota          CAMRY                   Miami                     FL
47106   231BURHE4HC883667   Toyota          CAMRY                   MANASSAS                  VA
47107   231BURHE4HC885337   Toyota          CAMRY                   HANOVER                   MD
47108   231BURHE4JC087359   Toyota          COROLLA                 BURBANK                   CA
47109   231BURHE5JC066102   Toyota          COROLLA                 RIVERSIDE LOCAL EDITION   CA
47110   231BURHE5JC071378   Toyota          COROLLA                 PHOENIX                   AZ
47111   231BURHE7HC839565   Toyota          CAMRY                   HANOVER                   MD
47112   231BURHE7HC862232   Toyota          CAMRY                   HANOVER                   MD
47113   231BURHE8HC884675   Toyota          CAMRY                   HANOVER                   MD
47114   231BURHE8JC068510   Toyota          COROLLA                 KENNER                    LA
47115   2C3CCABG0JH214217   Chrysler                          300   HILO                      HI
47116   2C3CCABG0JH214220   Chrysler                          300   HILO                      HI
47117   2C3CCABG0JH227467   Chrysler                          300   North Las Vegas           NV
47118   2C3CCABG0KH515068   Chrysler                          300   BURBANK                   CA
47119   2C3CCABG0KH515104   Chrysler                          300   LOS ANGELES               CA
47120   2C3CCABG0KH515118   Chrysler                          300   LOS ANGELES               CA
47121   2C3CCABG0KH515121   Chrysler                          300   ORLANDO                   FL
47122   2C3CCABG0KH515152   Chrysler                          300   LOS ANGELES               CA
47123   2C3CCABG0KH515166   Chrysler                          300   LOS ANGELES               CA
47124   2C3CCABG0KH515197   Chrysler                          300   SAN FRANCISCO             CA
47125   2C3CCABG0KH515202   Chrysler                          300   BURBANK                   CA
47126   2C3CCABG0KH515216   Chrysler                          300   SAN DIEGO                 CA
47127   2C3CCABG0KH515233   Chrysler                          300   LAS VEGAS                 NV
47128   2C3CCABG0KH515247   Chrysler                          300   INGLEWOOD                 CA
47129   2C3CCABG0KH515264   Chrysler                          300   Manheim                   PA
47130   2C3CCABG0KH515278   Chrysler                          300   SAN FRANCISCO             CA
47131   2C3CCABG0KH515281   Chrysler                          300   LOS ANGELES               CA
47132   2C3CCABG0KH515314   Chrysler                          300   SAN JOSE                  CA
47133   2C3CCABG0KH515328   Chrysler                          300   FORT MYERS                FL
47134   2C3CCABG0KH515345   Chrysler                          300   ATLANTA                   GA
47135   2C3CCABG0KH515362   Chrysler                          300   Atlanta                   GA
47136   2C3CCABG0KH515376   Chrysler                          300   PANAMA CITY               FL
47137   2C3CCABG0KH515393   Chrysler                          300   BIRMINGHAM                AL
47138   2C3CCABG0KH515412   Chrysler                          300   CHARLOTTE                 NC
47139   2C3CCABG0KH515443   Chrysler                          300   Davie                     FL
47140   2C3CCABG0KH515474   Chrysler                          300   FORT LAUDERDALE           FL
47141   2C3CCABG0KH515488   Chrysler                          300   Warwick                   RI
47142   2C3CCABG0KH515491   Chrysler                          300   MIAMI                     FL
47143   2C3CCABG0KH515507   Chrysler                          300   FORT LAUDERDALE           FL
47144   2C3CCABG0KH515524   Chrysler                          300   Ocoee                     FL
47145   2C3CCABG0KH515538   Chrysler                          300   ORLANDO                   FL
47146   2C3CCABG0KH515555   Chrysler                          300   FORT MYERS                FL
47147   2C3CCABG0KH515569   Chrysler                          300   Clearwater                FL
47148   2C3CCABG0KH515586   Chrysler                          300   Memphis                   TN
47149   2C3CCABG0KH515605   Chrysler                          300   TAMPA                     FL
47150   2C3CCABG0KH515636   Chrysler                          300   ORLANDO                   FL
47151   2C3CCABG0KH515667   Chrysler                          300   WEST PALM BEACH           FL
47152   2C3CCABG0KH515670   Chrysler                          300   FORT MYERS                FL
47153   2C3CCABG0KH515698   Chrysler                          300   ATLANTA                   GA
47154   2C3CCABG0KH515720   Chrysler                          300   WEST PALM BEACH           FL
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47155   2C3CCABG0KH515734   Chrysler                        300   TAMPA                 FL
47156   2C3CCABG0KH515748   Chrysler                        300   KNOXVILLE             TN
47157   2C3CCABG0KH515751   Chrysler                        300   Tampa                 FL
47158   2C3CCABG0KH515765   Chrysler                        300   JACKSONVILLE          FL
47159   2C3CCABG0KH515779   Chrysler                        300   TAMPA                 FL
47160   2C3CCABG0KH515782   Chrysler                        300   TAMPA                 FL
47161   2C3CCABG0KH515796   Chrysler                        300   SARASOTA              FL
47162   2C3CCABG0KH515801   Chrysler                        300   FORT MYERS            FL
47163   2C3CCABG0KH515829   Chrysler                        300   FORT MYERS            FL
47164   2C3CCABG0KH515832   Chrysler                        300   STERLING              VA
47165   2C3CCABG0KH515863   Chrysler                        300   Florissant            MO
47166   2C3CCABG0KH515894   Chrysler                        300   MIAMI                 FL
47167   2C3CCABG0KH515930   Chrysler                        300   Atlanta               GA
47168   2C3CCABG0KH515944   Chrysler                        300   FORT MYERS            FL
47169   2C3CCABG0KH515975   Chrysler                        300   WEST PALM BEACH       FL
47170   2C3CCABG0KH515989   Chrysler                        300   TAMPA                 US
47171   2C3CCABG0KH516012   Chrysler                        300   Miami                 FL
47172   2C3CCABG0KH516026   Chrysler                        300   Estero                FL
47173   2C3CCABG0KH516057   Chrysler                        300   NEW BERN              NC
47174   2C3CCABG0KH516060   Chrysler                        300   FORT MYERS            FL
47175   2C3CCABG0KH516074   Chrysler                        300   ORLANDO               FL
47176   2C3CCABG0KH516088   Chrysler                        300   SACRAMENTO            CA
47177   2C3CCABG0KH516124   Chrysler                        300   RALIEGH               NC
47178   2C3CCABG0KH516155   Chrysler                        300   BIRMINGHAM            AL
47179   2C3CCABG0KH516169   Chrysler                        300   Statesville           NC
47180   2C3CCABG0KH516172   Chrysler                        300   BIRMINGHAM            AL
47181   2C3CCABG0KH516219   Chrysler                        300   Ocoee                 FL
47182   2C3CCABG0KH516253   Chrysler                        300   JACKSONVILLE          FL
47183   2C3CCABG0KH516303   Chrysler                        300   Orlando               FL
47184   2C3CCABG0KH516334   Chrysler                        300   ORLANDO               FL
47185   2C3CCABG0KH516348   Chrysler                        300   Manheim               PA
47186   2C3CCABG0KH516382   Chrysler                        300   Manheim               PA
47187   2C3CCABG0KH516432   Chrysler                        300   FORT MYERS            FL
47188   2C3CCABG0KH516463   Chrysler                        300   LOS ANGELES           CA
47189   2C3CCABG0KH516527   Chrysler                        300   Rio Linda             CA
47190   2C3CCABG0KH516592   Chrysler                        300   KENNER                LA
47191   2C3CCABG0KH516639   Chrysler                        300   LOS ANGELES           CA
47192   2C3CCABG0KH516673   Chrysler                        300   CHARLESTON            WV
47193   2C3CCABG0KH516690   Chrysler                        300   DAVIE                 FL
47194   2C3CCABG0KH516706   Chrysler                        300   DALLAS                TX
47195   2C3CCABG0KH516768   Chrysler                        300   Fort Worth            TX
47196   2C3CCABG0KH533439   Chrysler                        300   Wilmington            NC
47197   2C3CCABG0KH533473   Chrysler                        300   MIAMI                 FL
47198   2C3CCABG0KH533487   Chrysler                        300   WEST PALM BEACH       FL
47199   2C3CCABG0KH536048   Chrysler                        300   SANTA ANA             CA
47200   2C3CCABG0KH536051   Chrysler                        300   Slidell               LA
47201   2C3CCABG0KH537832   Chrysler                        300   FORT MYERS            FL
47202   2C3CCABG0KH537877   Chrysler                        300   NEW BERN              NC
47203   2C3CCABG0KH537894   Chrysler                        300   FORT LAUDERDALE       FL
47204   2C3CCABG0KH537913   Chrysler                        300   WARWICK               RI
47205   2C3CCABG0KH537927   Chrysler                        300   TAMPA                 FL
47206   2C3CCABG0KH537930   Chrysler                        300   FORT MYERS            FL
47207   2C3CCABG0KH538687   Chrysler                        300   ATLANTA               GA
47208   2C3CCABG0KH538690   Chrysler                        300   RICHMOND              VA
47209   2C3CCABG0KH538737   Chrysler                        300   NASHVILLE             TN
47210   2C3CCABG0KH538740   Chrysler                        300   Jacksonville          FL
47211   2C3CCABG0KH539404   Chrysler                        300   Euless                TX
47212   2C3CCABG0KH539418   Chrysler                        300   ORLANDO               FL
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47213   2C3CCABG0KH539435   Chrysler                        300   Harvey                LA
47214   2C3CCABG0KH539533   Chrysler                        300   Dallas                TX
47215   2C3CCABG0KH539581   Chrysler                        300   LOS ANGELES           CA
47216   2C3CCABG0KH539595   Chrysler                        300   PALM SPRINGS          CA
47217   2C3CCABG0KH539600   Chrysler                        300   LAS VEGAS             NV
47218   2C3CCABG0KH539614   Chrysler                        300   Fontana               CA
47219   2C3CCABG0KH539628   Chrysler                        300   Riverside             CA
47220   2C3CCABG0KH539631   Chrysler                        300   LOS ANGELES           CA
47221   2C3CCABG0KH542366   Chrysler                        300   Wichita               KS
47222   2C3CCABG0KH542383   Chrysler                        300   Slidell               LA
47223   2C3CCABG0KH542397   Chrysler                        300   Winston‐Salem         NC
47224   2C3CCABG0KH542402   Chrysler                        300   Los Angeles           CA
47225   2C3CCABG0KH547907   Chrysler                        300   Las Vegas             NV
47226   2C3CCABG0KH548801   Chrysler                        300   WEST PALM BEACH       FL
47227   2C3CCABG0KH548815   Chrysler                        300   Atlanta               GA
47228   2C3CCABG0KH548832   Chrysler                        300   MIAMI                 FL
47229   2C3CCABG0KH548846   Chrysler                        300   WHITE PLAINS          NY
47230   2C3CCABG0KH548863   Chrysler                        300   WEST PALM BEACH       FL
47231   2C3CCABG0KH555439   Chrysler                        300   CLEVELAND             OH
47232   2C3CCABG0KH555456   Chrysler                        300   SARASOTA              FL
47233   2C3CCABG0KH555473   Chrysler                        300   MIAMI                 FL
47234   2C3CCABG0KH555487   Chrysler                        300   Florissant            MO
47235   2C3CCABG0KH555490   Chrysler                        300   ORLANDO               FL
47236   2C3CCABG0KH555506   Chrysler                        300   ALBANY                GA
47237   2C3CCABG0KH555537   Chrysler                        300   JACKSONVILLE          FL
47238   2C3CCABG0KH559409   Chrysler                        300   PENSACOLA             FL
47239   2C3CCABG0KH559457   Chrysler                        300   COLLEGE PARK          GA
47240   2C3CCABG0KH559507   Chrysler                        300   SHREVEPORT            LA
47241   2C3CCABG0KH559524   Chrysler                        300   Warr Acres            OK
47242   2C3CCABG0KH559538   Chrysler                        300   KENNER                LA
47243   2C3CCABG0KH559569   Chrysler                        300   FAYETTEVILLE          GA
47244   2C3CCABG0KH559667   Chrysler                        300   WEST PALM BEACH       FL
47245   2C3CCABG0KH559670   Chrysler                        300   CLEVELAND             OH
47246   2C3CCABG0KH559748   Chrysler                        300   LAS VEGAS             NV
47247   2C3CCABG0KH559779   Chrysler                        300   DUBLIN                CA
47248   2C3CCABG0KH559782   Chrysler                        300   Tampa                 FL
47249   2C3CCABG0KH559796   Chrysler                        300   LOS ANGELES           CA
47250   2C3CCABG0KH559815   Chrysler                        300   SACRAMENTO            CA
47251   2C3CCABG0KH559829   Chrysler                        300   SOUTH SAN FRANC       CA
47252   2C3CCABG0KH559846   Chrysler                        300   LOS ANGELES           CA
47253   2C3CCABG0KH559863   Chrysler                        300   TRACY                 CA
47254   2C3CCABG0KH561368   Chrysler                        300   PHILADELPHIA          PA
47255   2C3CCABG0KH561385   Chrysler                        300   PORTLAND              OR
47256   2C3CCABG0KH561399   Chrysler                        300   MONTEREY              CA
47257   2C3CCABG0KH561404   Chrysler                        300   PALM SPRINGS          CA
47258   2C3CCABG0KH562567   Chrysler                        300   KENNER                LA
47259   2C3CCABG0KH562584   Chrysler                        300   NORFOLK               VA
47260   2C3CCABG0KH562598   Chrysler                        300   NASHVILLE             TN
47261   2C3CCABG0KH562603   Chrysler                        300   HOUSTON               TX
47262   2C3CCABG0KH562620   Chrysler                        300   HOUSTON               TX
47263   2C3CCABG0KH562696   Chrysler                        300   DALLAS                TX
47264   2C3CCABG0KH562701   Chrysler                        300   HOUSTON               TX
47265   2C3CCABG0KH562732   Chrysler                        300   TAMPA                 FL
47266   2C3CCABG0KH562746   Chrysler                        300   Estero                FL
47267   2C3CCABG0KH562763   Chrysler                        300   DETROIT               MI
47268   2C3CCABG0KH562780   Chrysler                        300   HANOVER               MD
47269   2C3CCABG0KH562794   Chrysler                        300   LAS VEGAS             NV
47270   2C3CCABG0KH562827   Chrysler                        300   Atlanta               GA
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47271   2C3CCABG0KH562830   Chrysler                        300   SANTA ANA             CA
47272   2C3CCABG0KH562844   Chrysler                        300   San Diego             CA
47273   2C3CCABG0KH562858   Chrysler                        300   TRACY                 CA
47274   2C3CCABG0KH565971   Chrysler                        300   TAMPA                 FL
47275   2C3CCABG0KH566005   Chrysler                        300   SARASOTA              FL
47276   2C3CCABG0KH566019   Chrysler                        300   North Dighton         MA
47277   2C3CCABG0KH566036   Chrysler                        300   COLUMBIA              SC
47278   2C3CCABG0KH566053   Chrysler                        300   FORT MYERS            FL
47279   2C3CCABG0KH569485   Chrysler                        300   TAMPA                 FL
47280   2C3CCABG0KH569504   Chrysler                        300   FORT LAUDERDALE       FL
47281   2C3CCABG0KH569521   Chrysler                        300   CHARLOTTE             NC
47282   2C3CCABG0KH569535   Chrysler                        300   NEW BERN              NC
47283   2C3CCABG0KH569549   Chrysler                        300   Hayward               CA
47284   2C3CCABG0KH569552   Chrysler                        300   GREENSBORO            NC
47285   2C3CCABG0KH585427   Chrysler                        300   PALM SPRINGS          CA
47286   2C3CCABG0KH585430   Chrysler                        300   LOS ANGELES           CA
47287   2C3CCABG0KH585458   Chrysler                        300   SAN FRANCISCO         CA
47288   2C3CCABG0KH585475   Chrysler                        300   SAVANNAH              GA
47289   2C3CCABG0KH585489   Chrysler                        300   DAYTONA BEACH         FL
47290   2C3CCABG0KH585492   Chrysler                        300   SARASOTA              FL
47291   2C3CCABG0KH585508   Chrysler                        300   FORT LAUDERDALE       FL
47292   2C3CCABG0KH585511   Chrysler                        300   FORT MYERS            FL
47293   2C3CCABG0KH585539   Chrysler                        300   RICHMOND              VA
47294   2C3CCABG0KH589705   Chrysler                        300   MOBILE                A
47295   2C3CCABG0KH589719   Chrysler                        300   CHAMBERSBURG          PA
47296   2C3CCABG0KH589736   Chrysler                        300   JACKSONVILLE          FL
47297   2C3CCABG0KH589770   Chrysler                        300   ATLANTA               GA
47298   2C3CCABG0KH589784   Chrysler                        300   FORT MYERS            FL
47299   2C3CCABG0KH601027   Chrysler                        300   CHARLOTTE             NC
47300   2C3CCABG0KH601044   Chrysler                        300   LOS ANGELES           CA
47301   2C3CCABG0KH601058   Chrysler                        300   SANTA ANA             CA
47302   2C3CCABG0KH601061   Chrysler                        300   BURBANK               CA
47303   2C3CCABG0KH601075   Chrysler                        300   BOSTON                MA
47304   2C3CCABG0KH601089   Chrysler                        300   SAN FRANCISCO         CA
47305   2C3CCABG0KH601108   Chrysler                        300   LAS VEGAS             NV
47306   2C3CCABG0KH601111   Chrysler                        300   KENNER                LA
47307   2C3CCABG0KH601125   Chrysler                        300   SAN DIEGO             CA
47308   2C3CCABG0KH601139   Chrysler                        300   LOS ANGELES           CA
47309   2C3CCABG0KH601156   Chrysler                        300   ONTARIO               CA
47310   2C3CCABG0KH601206   Chrysler                        300   ATLANTA               GA
47311   2C3CCABG0KH609340   Chrysler                        300   BALTIMORE             MD
47312   2C3CCABG0KH609368   Chrysler                        300   CHARLOTTE             NC
47313   2C3CCABG0KH609371   Chrysler                        300   CHARLOTTE             NC
47314   2C3CCABG0KH609385   Chrysler                        300   MIAMI                 FL
47315   2C3CCABG0KH609399   Chrysler                        300   ORLANDO               FL
47316   2C3CCABG0KH609404   Chrysler                        300   HARRISBURG            PA
47317   2C3CCABG0KH609418   Chrysler                        300   CHARLOTTE             NC
47318   2C3CCABG0KH609421   Chrysler                        300   FORT MYERS            FL
47319   2C3CCABG0KH609449   Chrysler                        300   PENSACOLA             FL
47320   2C3CCABG0KH609452   Chrysler                        300   LAS VEGAS             NV
47321   2C3CCABG0KH609497   Chrysler                        300   LOS ANGELES           CA
47322   2C3CCABG0KH609502   Chrysler                        300   LOS ANGELES           CA
47323   2C3CCABG0KH617874   Chrysler                        300   PORTLAND              OR
47324   2C3CCABG0KH617888   Chrysler                        300   INGLEWOOD             CA
47325   2C3CCABG0KH617907   Chrysler                        300   LAS VEGAS             NV
47326   2C3CCABG0KH617924   Chrysler                        300   WOODSON TERRACE       MO
47327   2C3CCABG0KH617938   Chrysler                        300   JACKSONVILLE          FL
47328   2C3CCABG0KH617941   Chrysler                        300   JACKSONVILLE          FL
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47329   2C3CCABG0KH617955   Chrysler                        300   DETROIT               MI
47330   2C3CCABG0KH617969   Chrysler                        300   DETROIT               MI
47331   2C3CCABG0KH617972   Chrysler                        300   NEWARK                NY
47332   2C3CCABG0KH617986   Chrysler                        300   CHICAGO               IL
47333   2C3CCABG0KH618006   Chrysler                        300   INDIANAPOLIS          IN
47334   2C3CCABG0KH618068   Chrysler                        300   DETROIT               MI
47335   2C3CCABG0KH618085   Chrysler                        300   DETROIT               MI
47336   2C3CCABG0KH618099   Chrysler                        300   Jacksonville          FL
47337   2C3CCABG0KH618104   Chrysler                        300   Orlando               FL
47338   2C3CCABG0KH618121   Chrysler                        300   STERLING              VA
47339   2C3CCABG0KH618135   Chrysler                        300   MILWAUKEE             WI
47340   2C3CCABG0KH618152   Chrysler                        300   NEW BERN              NC
47341   2C3CCABG0KH618183   Chrysler                        300   DETROIT               MI
47342   2C3CCABG0KH625909   Chrysler                        300   NEW BERN              NC
47343   2C3CCABG0KH625912   Chrysler                        300   PALM SPRINGS          CA
47344   2C3CCABG0KH625943   Chrysler                        300   JACKSONVILLE          FL
47345   2C3CCABG0KH625957   Chrysler                        300   CLEVELAND             OH
47346   2C3CCABG0KH625960   Chrysler                        300   STERLING              VA
47347   2C3CCABG0KH625974   Chrysler                        300   INDIANAPOLIS          IN
47348   2C3CCABG0KH628583   Chrysler                        300   CHICAGO               IL
47349   2C3CCABG0KH628597   Chrysler                        300   NEWARK                NJ
47350   2C3CCABG0KH628602   Chrysler                        300   WHITE PLAINS          NY
47351   2C3CCABG0KH628616   Chrysler                        300   Hamilton              OH
47352   2C3CCABG0KH628633   Chrysler                        300   Teterboro             NJ
47353   2C3CCABG0KH628647   Chrysler                        300   BOSTON                MA
47354   2C3CCABG0KH628650   Chrysler                        300   RICHMOND              VA
47355   2C3CCABG0KH628664   Chrysler                        300   WHITE PLAINS          NY
47356   2C3CCABG0KH628681   Chrysler                        300   CHICAGO               IL
47357   2C3CCABG0KH628695   Chrysler                        300   PHILADELPHIA          PA
47358   2C3CCABG0KH628714   Chrysler                        300   Manheim               PA
47359   2C3CCABG0KH628731   Chrysler                        300   Detroit               MI
47360   2C3CCABG0KH628745   Chrysler                        300   NORFOLK               VA
47361   2C3CCABG0KH628759   Chrysler                        300   BOSTON                MA
47362   2C3CCABG0KH628762   Chrysler                        300   DETROIT               MI
47363   2C3CCABG0KH628776   Chrysler                        300   DETROIT               MI
47364   2C3CCABG0KH628793   Chrysler                        300   KANSAS CITY           MO
47365   2C3CCABG0KH628809   Chrysler                        300   SACRAMENTO            CA
47366   2C3CCABG0KH628826   Chrysler                        300   PHILADELPHIA          PA
47367   2C3CCABG0KH628860   Chrysler                        300   WEST PALM BEACH       FL
47368   2C3CCABG0KH633993   Chrysler                        300   INGLEWOOD             CA
47369   2C3CCABG0KH634013   Chrysler                        300   SHREVEPORT            LA
47370   2C3CCABG0KH634027   Chrysler                        300   SOUTH SAN FRANC       CA
47371   2C3CCABG0KH634030   Chrysler                        300   LAS VEGAS             NV
47372   2C3CCABG0KH634044   Chrysler                        300   PHOENIX               AZ
47373   2C3CCABG0KH634058   Chrysler                        300   BURBANK               CA
47374   2C3CCABG0KH634061   Chrysler                        300   PHOENIX               AZ
47375   2C3CCABG0KH634089   Chrysler                        300   RALEIGH               NC
47376   2C3CCABG0KH634092   Chrysler                        300   NORFOLK               VA
47377   2C3CCABG0KH635016   Chrysler                        300   ALLENTOWN             US
47378   2C3CCABG0KH635033   Chrysler                        300   CHARLESTON            SC
47379   2C3CCABG0KH635047   Chrysler                        300   NEWARK                NJ
47380   2C3CCABG0KH635050   Chrysler                        300   CHARLESTON            SC
47381   2C3CCABG0KH635064   Chrysler                        300   WEST COLUMBIA         SC
47382   2C3CCABG0KH635078   Chrysler                        300   CHARLOTTESVILLE       VA
47383   2C3CCABG0KH635095   Chrysler                        300   BALTIMORE             MD
47384   2C3CCABG0KH635100   Chrysler                        300   NEW BERN              NC
47385   2C3CCABG0KH635114   Chrysler                        300   ORLANDO               FL
47386   2C3CCABG0KH637249   Chrysler                        300   NORFOLK               VA
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47387   2C3CCABG0KH637266   Chrysler                        300   WEST COLUMBIA         SC
47388   2C3CCABG0KH637283   Chrysler                        300   DETROIT               MI
47389   2C3CCABG0KH637722   Chrysler                        300   CHARLOTTESVILLE       VA
47390   2C3CCABG0KH637753   Chrysler                        300   CHICAGO               IL
47391   2C3CCABG0KH637946   Chrysler                        300   Raleigh               NC
47392   2C3CCABG0KH637977   Chrysler                        300   TAMPA                 US
47393   2C3CCABG0KH638093   Chrysler                        300   PHILADELPHIA          PA
47394   2C3CCABG0KH638109   Chrysler                        300   BOSTON                MA
47395   2C3CCABG0KH638112   Chrysler                        300   BOSTON                MA
47396   2C3CCABG0KH639096   Chrysler                        300   SAVANNAH              GA
47397   2C3CCABG0KH639101   Chrysler                        300   HARTFORD              CT
47398   2C3CCABG0KH639115   Chrysler                        300   PHILADELPHIA          PA
47399   2C3CCABG0KH639809   Chrysler                        300   SARASOTA              FL
47400   2C3CCABG0KH639812   Chrysler                        300   JACKSON               MS
47401   2C3CCABG0KH639826   Chrysler                        300   Tulsa                 OK
47402   2C3CCABG0KH639843   Chrysler                        300   DALLAS                TX
47403   2C3CCABG0KH639860   Chrysler                        300   COLORADO SPRING       CO
47404   2C3CCABG0KH639874   Chrysler                        300   KENNER                LA
47405   2C3CCABG0KH640488   Chrysler                        300   OKLAHOMA CITY         OK
47406   2C3CCABG0KH648039   Chrysler                        300   DETROIT               MI
47407   2C3CCABG0KH648042   Chrysler                        300   FORT MYERS            FL
47408   2C3CCABG0KH651216   Chrysler                        300   SHREVEPORT            LA
47409   2C3CCABG0KH654018   Chrysler                        300   WILMINGTON            NC
47410   2C3CCABG0KH654035   Chrysler                        300   WEST PALM BEACH       FL
47411   2C3CCABG0KH654049   Chrysler                        300   STERLING              VA
47412   2C3CCABG0KH654052   Chrysler                        300   Austell               GA
47413   2C3CCABG0KH654066   Chrysler                        300   PITTSBURGH            PA
47414   2C3CCABG0KH654083   Chrysler                        300   LOUISVILLE            KY
47415   2C3CCABG0KH654097   Chrysler                        300   MIAMI                 FL
47416   2C3CCABG0KH654102   Chrysler                        300   FORT LAUDERDALE       FL
47417   2C3CCABG0KH654116   Chrysler                        300   FORT LAUDERDALE       FL
47418   2C3CCABG0KH654133   Chrysler                        300   ATLANTA               GA
47419   2C3CCABG0KH654150   Chrysler                        300   DETROIT               MI
47420   2C3CCABG0KH654164   Chrysler                        300   TAMPA                 FL
47421   2C3CCABG0KH654178   Chrysler                        300   STERLING              VA
47422   2C3CCABG0KH654195   Chrysler                        300   Davie                 FL
47423   2C3CCABG0KH654200   Chrysler                        300   PHILADELPHIA          PA
47424   2C3CCABG0KH654231   Chrysler                        300   BIRMINGHAM            AL
47425   2C3CCABG0KH654245   Chrysler                        300   COLUMBUS              OH
47426   2C3CCABG0KH654259   Chrysler                        300   Teterboro             NJ
47427   2C3CCABG0KH654262   Chrysler                        300   WEST COLUMBIA         SC
47428   2C3CCABG0KH654276   Chrysler                        300   PHILADELPHIA          PA
47429   2C3CCABG0KH654293   Chrysler                        300   CHARLESTON            WV
47430   2C3CCABG0KH654309   Chrysler                        300   PHILADELPHIA          PA
47431   2C3CCABG0KH654343   Chrysler                        300   LAS VEGAS             NV
47432   2C3CCABG0KH654374   Chrysler                        300   PHOENIX               AZ
47433   2C3CCABG0KH654391   Chrysler                        300   LOS ANGELES           CA
47434   2C3CCABG0KH654407   Chrysler                        300   LOS ANGELES           CA
47435   2C3CCABG0KH654410   Chrysler                        300   DETROIT               MI
47436   2C3CCABG0KH659106   Chrysler                        300   PITTSBURGH            PA
47437   2C3CCABG0KH660286   Chrysler                        300   PHILADELPHIA          PA
47438   2C3CCABG0KH660708   Chrysler                        300   MONTGOMERY            AL
47439   2C3CCABG0KH660711   Chrysler                        300   JACKSONVILLE          FL
47440   2C3CCABG0KH661101   Chrysler                        300   WILMINGTON            NC
47441   2C3CCABG0KH661129   Chrysler                        300   MYRTLE BEACH          SC
47442   2C3CCABG0LH141725   Chrysler                        300   Slidell               LA
47443   2C3CCABG0LH145788   Chrysler                        300   KNOXVILLE             TN
47444   2C3CCABG1HH661603   Chrysler                        300   Harvey                LA
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47445   2C3CCABG1JH214081   Chrysler                        300   San Diego             CA
47446   2C3CCABG1JH214159   Chrysler                        300   Las Vegas             NV
47447   2C3CCABG1JH214226   Chrysler                        300   HILO                  HI
47448   2C3CCABG1JH227218   Chrysler                        300   Mira Loma             CA
47449   2C3CCABG1JH274684   Chrysler                        300   NORTH HILLS           CA
47450   2C3CCABG1JH285538   Chrysler                        300   Portland              OR
47451   2C3CCABG1KH515063   Chrysler                        300   SAN DIEGO             CA
47452   2C3CCABG1KH515144   Chrysler                        300   SACRAMENTO            CA
47453   2C3CCABG1KH515175   Chrysler                        300   LOS ANGELES           CA
47454   2C3CCABG1KH515211   Chrysler                        300   LAS VEGAS             NV
47455   2C3CCABG1KH515225   Chrysler                        300   ONTARIO               CA
47456   2C3CCABG1KH515273   Chrysler                        300   LAS VEGAS             NV
47457   2C3CCABG1KH515287   Chrysler                        300   SAN DIEGO             CA
47458   2C3CCABG1KH515290   Chrysler                        300   LOS ANGELES           CA
47459   2C3CCABG1KH515306   Chrysler                        300   LOS ANGELES           CA
47460   2C3CCABG1KH515337   Chrysler                        300   FORT MYERS            FL
47461   2C3CCABG1KH515354   Chrysler                        300   SANFORD               FL
47462   2C3CCABG1KH515399   Chrysler                        300   TAMPA                 US
47463   2C3CCABG1KH515404   Chrysler                        300   Greensboro            NC
47464   2C3CCABG1KH515435   Chrysler                        300   FORT LAUDERDALE       FL
47465   2C3CCABG1KH515449   Chrysler                        300   MIAMI                 FL
47466   2C3CCABG1KH515452   Chrysler                        300   WEST PALM BEACH       FL
47467   2C3CCABG1KH515466   Chrysler                        300   FORT LAUDERDALE       FL
47468   2C3CCABG1KH515483   Chrysler                        300   WEST PALM BEACH       FL
47469   2C3CCABG1KH515497   Chrysler                        300   LOS ANGELES           CA
47470   2C3CCABG1KH515516   Chrysler                        300   WESTLAKE              OH
47471   2C3CCABG1KH515533   Chrysler                        300   JACKSONVILLE          FL
47472   2C3CCABG1KH515564   Chrysler                        300   COLLEGE PARK          GA
47473   2C3CCABG1KH515578   Chrysler                        300   ORLANDO               FL
47474   2C3CCABG1KH515581   Chrysler                        300   NEW BERN              NC
47475   2C3CCABG1KH515595   Chrysler                        300   MIAMI                 FL
47476   2C3CCABG1KH515600   Chrysler                        300   KNOXVILLE             TN
47477   2C3CCABG1KH515645   Chrysler                        300   BALTIMORE             MD
47478   2C3CCABG1KH515659   Chrysler                        300   FORT LAUDERDALE       FL
47479   2C3CCABG1KH515693   Chrysler                        300   WEST PALM BEACH       FL
47480   2C3CCABG1KH515709   Chrysler                        300   TAMPA                 FL
47481   2C3CCABG1KH515712   Chrysler                        300   Atlanta               GA
47482   2C3CCABG1KH515743   Chrysler                        300   FORT LAUDERDALE       FL
47483   2C3CCABG1KH515757   Chrysler                        300   INDIANAPOLIS          IN
47484   2C3CCABG1KH515774   Chrysler                        300   Tampa                 FL
47485   2C3CCABG1KH515788   Chrysler                        300   FORT LAUDERDALE       FL
47486   2C3CCABG1KH515807   Chrysler                        300   WEST PALM BEACH       FL
47487   2C3CCABG1KH515810   Chrysler                        300   WEST PALM BEACH       FL
47488   2C3CCABG1KH515824   Chrysler                        300   MIAMI                 FL
47489   2C3CCABG1KH515838   Chrysler                        300   Dania                 FL
47490   2C3CCABG1KH515841   Chrysler                        300   SARASOTA              FL
47491   2C3CCABG1KH515855   Chrysler                        300   BALTIMORE             MD
47492   2C3CCABG1KH515869   Chrysler                        300   Atlanta               GA
47493   2C3CCABG1KH515872   Chrysler                        300   ORLANDO               FL
47494   2C3CCABG1KH515967   Chrysler                        300   Grove City            OH
47495   2C3CCABG1KH515970   Chrysler                        300   MIAMI                 FL
47496   2C3CCABG1KH515984   Chrysler                        300   ORLANDO               FL
47497   2C3CCABG1KH515998   Chrysler                        300   TAMPA                 FL
47498   2C3CCABG1KH516004   Chrysler                        300   FORT LAUDERDALE       FL
47499   2C3CCABG1KH516018   Chrysler                        300   FORT MYERS            FL
47500   2C3CCABG1KH516066   Chrysler                        300   SARASOTA              FL
47501   2C3CCABG1KH516083   Chrysler                        300   ORLANDO               FL
47502   2C3CCABG1KH516097   Chrysler                        300   Plainfield            IN
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47503   2C3CCABG1KH516214   Chrysler                        300   JACKSONVILLE          FL
47504   2C3CCABG1KH516231   Chrysler                        300   FAYETTEVILLE          GA
47505   2C3CCABG1KH516259   Chrysler                        300   Medford               NY
47506   2C3CCABG1KH516262   Chrysler                        300   Manheim               PA
47507   2C3CCABG1KH516293   Chrysler                        300   FORT MYERS            FL
47508   2C3CCABG1KH516309   Chrysler                        300   CHARLOTTE             NC
47509   2C3CCABG1KH516391   Chrysler                        300   JACKSON               MS
47510   2C3CCABG1KH516407   Chrysler                        300   Matteson              IL
47511   2C3CCABG1KH516410   Chrysler                        300   Slidell               LA
47512   2C3CCABG1KH516424   Chrysler                        300   ATLANTA               GA
47513   2C3CCABG1KH516441   Chrysler                        300   SARASOTA              FL
47514   2C3CCABG1KH516455   Chrysler                        300   DENVER                CO
47515   2C3CCABG1KH516469   Chrysler                        300   SANTA ANA             CA
47516   2C3CCABG1KH516486   Chrysler                        300   LAS VEGAS             NV
47517   2C3CCABG1KH516522   Chrysler                        300   SAN JOSE              CA
47518   2C3CCABG1KH516553   Chrysler                        300   SAN FRANCISCO         CA
47519   2C3CCABG1KH516570   Chrysler                        300   KENNER                LA
47520   2C3CCABG1KH516584   Chrysler                        300   Atlanta               GA
47521   2C3CCABG1KH516603   Chrysler                        300   Live Oak              TX
47522   2C3CCABG1KH516617   Chrysler                        300   DALLAS                TX
47523   2C3CCABG1KH516665   Chrysler                        300   JACKSONVILLE          FL
47524   2C3CCABG1KH516696   Chrysler                        300   RALEIGH               NC
47525   2C3CCABG1KH516701   Chrysler                        300   ROANOKE               VA
47526   2C3CCABG1KH516715   Chrysler                        300   Lake Elsinore         CA
47527   2C3CCABG1KH516729   Chrysler                        300   PENSACOLA             FL
47528   2C3CCABG1KH516763   Chrysler                        300   Atlanta               GA
47529   2C3CCABG1KH533482   Chrysler                        300   TAMPA                 FL
47530   2C3CCABG1KH535989   Chrysler                        300   FORT MYERS            FL
47531   2C3CCABG1KH535992   Chrysler                        300   Kansas City           MO
47532   2C3CCABG1KH536026   Chrysler                        300   KNOXVILLE             TN
47533   2C3CCABG1KH536043   Chrysler                        300   Riverside             CA
47534   2C3CCABG1KH536060   Chrysler                        300   ONTARIO               CA
47535   2C3CCABG1KH537838   Chrysler                        300   FORT LAUDERDALE       FL
47536   2C3CCABG1KH537841   Chrysler                        300   CLEVELAND             OH
47537   2C3CCABG1KH537855   Chrysler                        300   ORLANDO               FL
47538   2C3CCABG1KH537869   Chrysler                        300   RALEIGH               NC
47539   2C3CCABG1KH537886   Chrysler                        300   FT. LAUDERDALE        FL
47540   2C3CCABG1KH537919   Chrysler                        300   SARASOTA              FL
47541   2C3CCABG1KH538701   Chrysler                        300   Orlando               FL
47542   2C3CCABG1KH538715   Chrysler                        300   FORT LAUDERDALE       FL
47543   2C3CCABG1KH538729   Chrysler                        300   ORLANDO               FL
47544   2C3CCABG1KH539394   Chrysler                        300   NASHVILLE             TN
47545   2C3CCABG1KH539427   Chrysler                        300   DALLAS                TX
47546   2C3CCABG1KH539444   Chrysler                        300   ORLANDO               FL
47547   2C3CCABG1KH539573   Chrysler                        300   SAN DIEGO             CA
47548   2C3CCABG1KH539637   Chrysler                        300   LOS ANGELES           CA
47549   2C3CCABG1KH539640   Chrysler                        300   BURBANK               CA
47550   2C3CCABG1KH542392   Chrysler                        300   MIAMI                 FL
47551   2C3CCABG1KH542411   Chrysler                        300   TAMPA                 FL
47552   2C3CCABG1KH548807   Chrysler                        300   DFW AIRPORT           TX
47553   2C3CCABG1KH548824   Chrysler                        300   St. Louis             MO
47554   2C3CCABG1KH548841   Chrysler                        300   Atlanta               GA
47555   2C3CCABG1KH548869   Chrysler                        300   INDIANAPOLIS          IN
47556   2C3CCABG1KH555465   Chrysler                        300   SAN RAFAEL            CA
47557   2C3CCABG1KH555479   Chrysler                        300   SARASOTA              FL
47558   2C3CCABG1KH555482   Chrysler                        300   WEST PALM BEACH       FL
47559   2C3CCABG1KH555496   Chrysler                        300   KNOXVILLE             TN
47560   2C3CCABG1KH555501   Chrysler                        300   WEST PALM BEACH       FL
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47561   2C3CCABG1KH555515   Chrysler                        300   Kansas City           MO
47562   2C3CCABG1KH555529   Chrysler                        300   Londonderry           NH
47563   2C3CCABG1KH559399   Chrysler                        300   DETROIT               MI
47564   2C3CCABG1KH559497   Chrysler                        300   CLEVELAND             OH
47565   2C3CCABG1KH559547   Chrysler                        300   NEW ORLEANS           LA
47566   2C3CCABG1KH559578   Chrysler                        300   Kansas City           MO
47567   2C3CCABG1KH559659   Chrysler                        300   STERLING              VA
47568   2C3CCABG1KH559676   Chrysler                        300   Bordentown            NJ
47569   2C3CCABG1KH559743   Chrysler                        300   LOS ANGELES           CA
47570   2C3CCABG1KH559757   Chrysler                        300   DETROIT               MI
47571   2C3CCABG1KH559774   Chrysler                        300   BURBANK               CA
47572   2C3CCABG1KH559788   Chrysler                        300   PALM SPRINGS          CA
47573   2C3CCABG1KH559791   Chrysler                        300   ONTARIO               CA
47574   2C3CCABG1KH559824   Chrysler                        300   Kent                  WA
47575   2C3CCABG1KH559855   Chrysler                        300   DENVER                CO
47576   2C3CCABG1KH559869   Chrysler                        300   LOS ANGELES           CA
47577   2C3CCABG1KH561394   Chrysler                        300   HOUSTON               TX
47578   2C3CCABG1KH562562   Chrysler                        300   San Antonio           TX
47579   2C3CCABG1KH562576   Chrysler                        300   Houston               TX
47580   2C3CCABG1KH562609   Chrysler                        300   SHREVEPORT            LA
47581   2C3CCABG1KH562688   Chrysler                        300   FORT LAUDERDALE       FL
47582   2C3CCABG1KH562691   Chrysler                        300   Dallas                TX
47583   2C3CCABG1KH562755   Chrysler                        300   MEMPHIS               TN
47584   2C3CCABG1KH562786   Chrysler                        300   Tolleson              AZ
47585   2C3CCABG1KH562822   Chrysler                        300   SACRAMENTO            CA
47586   2C3CCABG1KH562867   Chrysler                        300   SAN JOSE              CA
47587   2C3CCABG1KH565946   Chrysler                        300   TAMPA                 FL
47588   2C3CCABG1KH565963   Chrysler                        300   HOT SPRINGS           AR
47589   2C3CCABG1KH565977   Chrysler                        300   SAINT PAUL            MN
47590   2C3CCABG1KH566028   Chrysler                        300   ORLANDO               FL
47591   2C3CCABG1KH566031   Chrysler                        300   Atlanta               GA
47592   2C3CCABG1KH566045   Chrysler                        300   Davie                 FL
47593   2C3CCABG1KH569480   Chrysler                        300   HOUSTON               TX
47594   2C3CCABG1KH569494   Chrysler                        300   ORLANDO               FL
47595   2C3CCABG1KH569513   Chrysler                        300   FORT LAUDERDALE       FL
47596   2C3CCABG1KH569530   Chrysler                        300   Tampa                 FL
47597   2C3CCABG1KH569561   Chrysler                        300   Smithtown             NY
47598   2C3CCABG1KH585422   Chrysler                        300   BURBANK               CA
47599   2C3CCABG1KH585470   Chrysler                        300   TAMPA                 US
47600   2C3CCABG1KH585498   Chrysler                        300   Hattiesburg           MS
47601   2C3CCABG1KH585534   Chrysler                        300   WEST COLUMBIA         SC
47602   2C3CCABG1KH585551   Chrysler                        300   FORT LAUDERDALE       FL
47603   2C3CCABG1KH589700   Chrysler                        300   MIAMI                 FL
47604   2C3CCABG1KH589728   Chrysler                        300   TAMPA                 FL
47605   2C3CCABG1KH589745   Chrysler                        300   COLUMBIA STATIO       OH
47606   2C3CCABG1KH589759   Chrysler                        300   DETROIT               MI
47607   2C3CCABG1KH589762   Chrysler                        300   ORLANDO               FL
47608   2C3CCABG1KH589776   Chrysler                        300   Jacksonville          FL
47609   2C3CCABG1KH589793   Chrysler                        300   PENSACOLA             FL
47610   2C3CCABG1KH601036   Chrysler                        300   LOS ANGELES AP        CA
47611   2C3CCABG1KH601067   Chrysler                        300   BURBANK               CA
47612   2C3CCABG1KH601070   Chrysler                        300   SANTA ANA             CA
47613   2C3CCABG1KH601103   Chrysler                        300   LOS ANGELES           CA
47614   2C3CCABG1KH601117   Chrysler                        300   ORLANDO               FL
47615   2C3CCABG1KH601120   Chrysler                        300   LAS VEGAS             NV
47616   2C3CCABG1KH601148   Chrysler                        300   SANTA ANA             CA
47617   2C3CCABG1KH601179   Chrysler                        300   JACKSONVILLE          FL
47618   2C3CCABG1KH601182   Chrysler                        300   GREENSBORO            NC
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47619   2C3CCABG1KH601201   Chrysler                        300   Cudahy                WI
47620   2C3CCABG1KH601229   Chrysler                        300   TALLAHASSEE           F
47621   2C3CCABG1KH609329   Chrysler                        300   JAMAICA               NY
47622   2C3CCABG1KH609332   Chrysler                        300   CHARLOTTE             US
47623   2C3CCABG1KH609346   Chrysler                        300   KENNER                LA
47624   2C3CCABG1KH609363   Chrysler                        300   Maple Grove           MN
47625   2C3CCABG1KH609380   Chrysler                        300   MEMPHIS               TN
47626   2C3CCABG1KH609413   Chrysler                        300   KANSAS CITY           MO
47627   2C3CCABG1KH609430   Chrysler                        300   Hebron                KY
47628   2C3CCABG1KH609444   Chrysler                        300   GREENSBORO            NC
47629   2C3CCABG1KH609458   Chrysler                        300   CHARLOTTE             NC
47630   2C3CCABG1KH609461   Chrysler                        300   SAN JOSE              CA
47631   2C3CCABG1KH609489   Chrysler                        300   SAN DIEGO             CA
47632   2C3CCABG1KH609508   Chrysler                        300   SEATAC                WA
47633   2C3CCABG1KH609511   Chrysler                        300   SACRAMENTO            CA
47634   2C3CCABG1KH617897   Chrysler                        300   LAS VEGAS             NV
47635   2C3CCABG1KH617916   Chrysler                        300   RALIEGH               NC
47636   2C3CCABG1KH617933   Chrysler                        300   WEST PALM BEACH       FL
47637   2C3CCABG1KH617947   Chrysler                        300   Detroit               MI
47638   2C3CCABG1KH617964   Chrysler                        300   Atlanta               GA
47639   2C3CCABG1KH617978   Chrysler                        300   JAMAICA               NY
47640   2C3CCABG1KH617981   Chrysler                        300   Tampa                 FL
47641   2C3CCABG1KH617995   Chrysler                        300   WOODSON TERRACE       MO
47642   2C3CCABG1KH618046   Chrysler                        300   INDIANAPOLIS          IN
47643   2C3CCABG1KH618063   Chrysler                        300   BIRMINGHAN            AL
47644   2C3CCABG1KH618094   Chrysler                        300   HARRISBURG            PA
47645   2C3CCABG1KH618113   Chrysler                        300   CHARLOTTE             NC
47646   2C3CCABG1KH618127   Chrysler                        300   PENSACOLA             FL
47647   2C3CCABG1KH618130   Chrysler                        300   INDIANAPOLIS          IN
47648   2C3CCABG1KH618144   Chrysler                        300   SOUTH BEND            IN
47649   2C3CCABG1KH618158   Chrysler                        300   DETROIT               MI
47650   2C3CCABG1KH618161   Chrysler                        300   CHICAGO               IL
47651   2C3CCABG1KH618175   Chrysler                        300   PHILADELPHIA          PA
47652   2C3CCABG1KH625918   Chrysler                        300   INDIANAPOLIS          IN
47653   2C3CCABG1KH625921   Chrysler                        300   ATLANTA               GA
47654   2C3CCABG1KH625935   Chrysler                        300   WEST COLUMBIA         SC
47655   2C3CCABG1KH625949   Chrysler                        300   CLEVELAND             OH
47656   2C3CCABG1KH625966   Chrysler                        300   JAMAICA               NY
47657   2C3CCABG1KH628575   Chrysler                        300   KNOXVILLE             TN
47658   2C3CCABG1KH628589   Chrysler                        300   PITTSBURGH            PA
47659   2C3CCABG1KH628592   Chrysler                        300   DETROIT               MI
47660   2C3CCABG1KH628639   Chrysler                        300   CHICAGO               IL
47661   2C3CCABG1KH628642   Chrysler                        300   STERLING              VA
47662   2C3CCABG1KH628656   Chrysler                        300   JAMAICA               NY
47663   2C3CCABG1KH628673   Chrysler                        300   WHITE PLAINS          NY
47664   2C3CCABG1KH628687   Chrysler                        300   HARTFORD              CT
47665   2C3CCABG1KH628706   Chrysler                        300   NEWARK                NJ
47666   2C3CCABG1KH628723   Chrysler                        300   RALIEGH               NC
47667   2C3CCABG1KH628740   Chrysler                        300   INDIANAPOLIS          IN
47668   2C3CCABG1KH628768   Chrysler                        300   SAN FRANCISCO         CA
47669   2C3CCABG1KH628799   Chrysler                        300   OKLAHOMA CITY         OK
47670   2C3CCABG1KH628804   Chrysler                        300   DETROIT               MI
47671   2C3CCABG1KH628818   Chrysler                        300   KNOXVILLE             TN
47672   2C3CCABG1KH628821   Chrysler                        300   CHICAGO               IL
47673   2C3CCABG1KH628849   Chrysler                        300   Chicago               IL
47674   2C3CCABG1KH628866   Chrysler                        300   CHICAGO               IL
47675   2C3CCABG1KH633985   Chrysler                        300   LOS ANGELES           CA
47676   2C3CCABG1KH633999   Chrysler                        300   SAN DIEGO             CA
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47677   2C3CCABG1KH634005   Chrysler                        300   PHOENIX               AZ
47678   2C3CCABG1KH634019   Chrysler                        300   BURBANK               CA
47679   2C3CCABG1KH634022   Chrysler                        300   LOS ANGELES           CA
47680   2C3CCABG1KH634036   Chrysler                        300   BURBANK               CA
47681   2C3CCABG1KH634053   Chrysler                        300   SALT LAKE CITY        UT
47682   2C3CCABG1KH634067   Chrysler                        300   Hernando              MS
47683   2C3CCABG1KH634084   Chrysler                        300   MEMPHIS               TN
47684   2C3CCABG1KH635011   Chrysler                        300   JAMAICA               NY
47685   2C3CCABG1KH635025   Chrysler                        300   SCRANTON              PA
47686   2C3CCABG1KH635039   Chrysler                        300   CHARLESTON            SC
47687   2C3CCABG1KH635042   Chrysler                        300   CLEVELAND             OH
47688   2C3CCABG1KH635056   Chrysler                        300   WEST PALM BEACH       FL
47689   2C3CCABG1KH635073   Chrysler                        300   NORFOLK               VA
47690   2C3CCABG1KH635087   Chrysler                        300   KENNER                LA
47691   2C3CCABG1KH635090   Chrysler                        300   RICHMOND              VA
47692   2C3CCABG1KH635106   Chrysler                        300   NEWARK                NJ
47693   2C3CCABG1KH637258   Chrysler                        300   WEST COLUMBIA         SC
47694   2C3CCABG1KH637261   Chrysler                        300   SAVANNAH              GA
47695   2C3CCABG1KH637275   Chrysler                        300   SAVANNAH              GA
47696   2C3CCABG1KH637714   Chrysler                        300   CHARLOTTE             NC
47697   2C3CCABG1KH637728   Chrysler                        300   ATLANTA               GA
47698   2C3CCABG1KH637731   Chrysler                        300   DENVER                CO
47699   2C3CCABG1KH637745   Chrysler                        300   STERLING              VA
47700   2C3CCABG1KH637759   Chrysler                        300   LOS ANGELES           CA
47701   2C3CCABG1KH637762   Chrysler                        300   DETROIT               MI
47702   2C3CCABG1KH637955   Chrysler                        300   BLOOMINGTON           IL
47703   2C3CCABG1KH637969   Chrysler                        300   STERLING              VA
47704   2C3CCABG1KH637972   Chrysler                        300   CHICAGO               IL
47705   2C3CCABG1KH637986   Chrysler                        300   NEWARK                NJ
47706   2C3CCABG1KH638099   Chrysler                        300   LOUISVILLE            KY
47707   2C3CCABG1KH638104   Chrysler                        300   NEW BERN              NC
47708   2C3CCABG1KH638118   Chrysler                        300   DETROIT               MI
47709   2C3CCABG1KH638121   Chrysler                        300   INDIANAPOLIS          IN
47710   2C3CCABG1KH639088   Chrysler                        300   NEWARK                NJ
47711   2C3CCABG1KH639091   Chrysler                        300   CLEVELAND             OH
47712   2C3CCABG1KH639107   Chrysler                        300   McHenry               IL
47713   2C3CCABG1KH639110   Chrysler                        300   PITTSBURGH            PA
47714   2C3CCABG1KH639804   Chrysler                        300   LOS ANGELES           CA
47715   2C3CCABG1KH639835   Chrysler                        300   INDIANAPOLIS          IN
47716   2C3CCABG1KH639849   Chrysler                        300   HOUSTON               TX
47717   2C3CCABG1KH648034   Chrysler                        300   FORT MYERS            FL
47718   2C3CCABG1KH648051   Chrysler                        300   INDIANAPOLIS          IN
47719   2C3CCABG1KH648065   Chrysler                        300   PHILADELPHIA          US
47720   2C3CCABG1KH654013   Chrysler                        300   HANOVER               MD
47721   2C3CCABG1KH654030   Chrysler                        300   Raleigh               NC
47722   2C3CCABG1KH654044   Chrysler                        300   NEWARK                NJ
47723   2C3CCABG1KH654061   Chrysler                        300   DETROIT               MI
47724   2C3CCABG1KH654075   Chrysler                        300   WEST COLUMBIA         SC
47725   2C3CCABG1KH654089   Chrysler                        300   NORFOLK               VA
47726   2C3CCABG1KH654108   Chrysler                        300   FORT LAUDERDALE       FL
47727   2C3CCABG1KH654111   Chrysler                        300   FORT LAUDERDALE       FL
47728   2C3CCABG1KH654125   Chrysler                        300   TAMPA                 FL
47729   2C3CCABG1KH654139   Chrysler                        300   DETROIT               MI
47730   2C3CCABG1KH654156   Chrysler                        300   WILMINGTON            NC
47731   2C3CCABG1KH654190   Chrysler                        300   BOSTON                MA
47732   2C3CCABG1KH654206   Chrysler                        300   MIAMI                 FL
47733   2C3CCABG1KH654223   Chrysler                        300   ORLANDO               FL
47734   2C3CCABG1KH654237   Chrysler                        300   NASHVILLE             TN
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47735   2C3CCABG1KH654240   Chrysler                        300   PITTSBURGH            PA
47736   2C3CCABG1KH654254   Chrysler                        300   COLUMBIA              SC
47737   2C3CCABG1KH654268   Chrysler                        300   Atlanta               GA
47738   2C3CCABG1KH654271   Chrysler                        300   CHARLOTTE             NC
47739   2C3CCABG1KH654304   Chrysler                        300   PITTSBURGH            PA
47740   2C3CCABG1KH654318   Chrysler                        300   OMAHA                 NE
47741   2C3CCABG1KH654321   Chrysler                        300   BOSTON                MA
47742   2C3CCABG1KH654402   Chrysler                        300   ALBUQUERQUE           NM
47743   2C3CCABG1KH654416   Chrysler                        300   INGLEWOOD             CA
47744   2C3CCABG1KH655260   Chrysler                        300   PHILADELPHIA          PA
47745   2C3CCABG1KH655274   Chrysler                        300   MYRTLE BEACH          SC
47746   2C3CCABG1KH655999   Chrysler                        300   DETROIT               MI
47747   2C3CCABG1KH656005   Chrysler                        300   LAS VEGAS             NV
47748   2C3CCABG1KH659101   Chrysler                        300   PENSACOLA             FL
47749   2C3CCABG1KH659115   Chrysler                        300   NEW BERN              NC
47750   2C3CCABG1KH660281   Chrysler                        300   BIRMINGHAN            AL
47751   2C3CCABG1KH660698   Chrysler                        300   CLEVELAND             OH
47752   2C3CCABG1KH660703   Chrysler                        300   DETROIT               MI
47753   2C3CCABG1KH660717   Chrysler                        300   Houston               TX
47754   2C3CCABG1KH660720   Chrysler                        300   GRAND RAPIDS          MI
47755   2C3CCABG1KH661107   Chrysler                        300   SAINT LOUIS           MO
47756   2C3CCABG1KH661110   Chrysler                        300   DETROIT               MI
47757   2C3CCABG1KH661138   Chrysler                        300   KENNER                LA
47758   2C3CCABG1LH131432   Chrysler                        300   PANAMA CITY           FL
47759   2C3CCABG1LH137263   Chrysler                        300   ORLANDO               FL
47760   2C3CCABG1LH141765   Chrysler                        300   ATLANTA               GA
47761   2C3CCABG1LH145749   Chrysler                        300   COLLEGE PARK          GA
47762   2C3CCABG2JH214011   Chrysler                        300   NORTH HILLS           CA
47763   2C3CCABG2JH214106   Chrysler                        300   BURBANK               CA
47764   2C3CCABG2JH227471   Chrysler                        300   North Dighton         MA
47765   2C3CCABG2KH515055   Chrysler                        300   DETROIT               MI
47766   2C3CCABG2KH515072   Chrysler                        300   SAN JOSE              CA
47767   2C3CCABG2KH515086   Chrysler                        300   LAS VEGAS             NV
47768   2C3CCABG2KH515105   Chrysler                        300   OAKLAND               CA
47769   2C3CCABG2KH515153   Chrysler                        300   PHOENIX               AZ
47770   2C3CCABG2KH515184   Chrysler                        300   LOS ANGELES           CA
47771   2C3CCABG2KH515217   Chrysler                        300   LOS ANGELES AP        CA
47772   2C3CCABG2KH515234   Chrysler                        300   LAS VEGAS             NV
47773   2C3CCABG2KH515248   Chrysler                        300   SAN JOSE              CA
47774   2C3CCABG2KH515251   Chrysler                        300   LAS VEGAS             NV
47775   2C3CCABG2KH515279   Chrysler                        300   LOS ANGELES           CA
47776   2C3CCABG2KH515282   Chrysler                        300   LOS ANGELES           CA
47777   2C3CCABG2KH515296   Chrysler                        300   ORANGE COUNTY         CA
47778   2C3CCABG2KH515329   Chrysler                        300   WEST PALM BEACH       FL
47779   2C3CCABG2KH515346   Chrysler                        300   FORT MYERS            FL
47780   2C3CCABG2KH515377   Chrysler                        300   HANOVER               MD
47781   2C3CCABG2KH515380   Chrysler                        300   MIAMI                 FL
47782   2C3CCABG2KH515394   Chrysler                        300   Carleton              MI
47783   2C3CCABG2KH515427   Chrysler                        300   WEST PALM BEACH       FL
47784   2C3CCABG2KH515444   Chrysler                        300   TAMPA                 FL
47785   2C3CCABG2KH515461   Chrysler                        300   PITTSBURGH            PA
47786   2C3CCABG2KH515475   Chrysler                        300   CLEVELAND             OH
47787   2C3CCABG2KH515525   Chrysler                        300   MIAMI                 FL
47788   2C3CCABG2KH515539   Chrysler                        300   WEST PALM BEACH       FL
47789   2C3CCABG2KH515542   Chrysler                        300   ORLANDO               FL
47790   2C3CCABG2KH515573   Chrysler                        300   ATLANTA               GA
47791   2C3CCABG2KH515590   Chrysler                        300   Davie                 FL
47792   2C3CCABG2KH515623   Chrysler                        300   ORLANDO               FL
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47793   2C3CCABG2KH515637   Chrysler                        300   TAMPA                 FL
47794   2C3CCABG2KH515640   Chrysler                        300   FORT MYERS            FL
47795   2C3CCABG2KH515654   Chrysler                        300   Clearwater            FL
47796   2C3CCABG2KH515668   Chrysler                        300   MEDINA                OH
47797   2C3CCABG2KH515671   Chrysler                        300   ORLANDO               FL
47798   2C3CCABG2KH515685   Chrysler                        300   NEW BERN              NC
47799   2C3CCABG2KH515718   Chrysler                        300   FORT MYERS            FL
47800   2C3CCABG2KH515721   Chrysler                        300   Charlotte             NC
47801   2C3CCABG2KH515735   Chrysler                        300   Miami                 FL
47802   2C3CCABG2KH515752   Chrysler                        300   PHILADELPHIA          PA
47803   2C3CCABG2KH515766   Chrysler                        300   FORT LAUDERDALE       FL
47804   2C3CCABG2KH515783   Chrysler                        300   ORLANDO               FL
47805   2C3CCABG2KH515850   Chrysler                        300   FORT MYERS            FL
47806   2C3CCABG2KH515864   Chrysler                        300   ORLANDO               FL
47807   2C3CCABG2KH515878   Chrysler                        300   Dania                 FL
47808   2C3CCABG2KH515895   Chrysler                        300   DANIA                 FL
47809   2C3CCABG2KH515928   Chrysler                        300   WEST PALM BEACH       FL
47810   2C3CCABG2KH515931   Chrysler                        300   TAMPA                 US
47811   2C3CCABG2KH515959   Chrysler                        300   JACKSONVILLE          FL
47812   2C3CCABG2KH515976   Chrysler                        300   DETROIT               MI
47813   2C3CCABG2KH515993   Chrysler                        300   BIRMINGHAM            AL
47814   2C3CCABG2KH516013   Chrysler                        300   MIAMI                 FL
47815   2C3CCABG2KH516027   Chrysler                        300   TAMPA                 FL
47816   2C3CCABG2KH516044   Chrysler                        300   PHILADELPHIA          PA
47817   2C3CCABG2KH516058   Chrysler                        300   DAYTONA BEACH         FL
47818   2C3CCABG2KH516061   Chrysler                        300   FORT MYERS            FL
47819   2C3CCABG2KH516075   Chrysler                        300   Greensboro            NC
47820   2C3CCABG2KH516089   Chrysler                        300   INDIANAPOLIS          IN
47821   2C3CCABG2KH516092   Chrysler                        300   ORLANDO               FL
47822   2C3CCABG2KH516156   Chrysler                        300   JACKSONVILLE          FL
47823   2C3CCABG2KH516187   Chrysler                        300   PHILADELPHIA          PA
47824   2C3CCABG2KH516206   Chrysler                        300   MIAMI                 FL
47825   2C3CCABG2KH516254   Chrysler                        300   Beaverton             OR
47826   2C3CCABG2KH516271   Chrysler                        300   Kansas City           MO
47827   2C3CCABG2KH516285   Chrysler                        300   WILMINGTON            NC
47828   2C3CCABG2KH516304   Chrysler                        300   FORT LAUDERDALE       FL
47829   2C3CCABG2KH516321   Chrysler                        300   ALEXANDRIA            VA
47830   2C3CCABG2KH516349   Chrysler                        300   Lake Elsinore         CA
47831   2C3CCABG2KH516402   Chrysler                        300   BIRMINGHAM            AL
47832   2C3CCABG2KH516433   Chrysler                        300   NEW BERN              NC
47833   2C3CCABG2KH516447   Chrysler                        300   NEW BERN              NC
47834   2C3CCABG2KH516450   Chrysler                        300   NEW BERN              NC
47835   2C3CCABG2KH516464   Chrysler                        300   LAS VEGAS             NV
47836   2C3CCABG2KH516500   Chrysler                        300   SANTA ANA             CA
47837   2C3CCABG2KH516514   Chrysler                        300   BULLHEAD CITY         AZ
47838   2C3CCABG2KH516545   Chrysler                        300   SAN FRANCISCO         CA
47839   2C3CCABG2KH516559   Chrysler                        300   OAKLAND               CA
47840   2C3CCABG2KH516562   Chrysler                        300   PORTLAND              OR
47841   2C3CCABG2KH516609   Chrysler                        300   Warminster            PA
47842   2C3CCABG2KH516626   Chrysler                        300   DETROIT               MI
47843   2C3CCABG2KH516674   Chrysler                        300   SAINT LOUIS           MO
47844   2C3CCABG2KH516691   Chrysler                        300   BLOOMINGTON           IL
47845   2C3CCABG2KH516755   Chrysler                        300   ORLANDO               FL
47846   2C3CCABG2KH516772   Chrysler                        300   ORLANDO               FL
47847   2C3CCABG2KH533457   Chrysler                        300   TAMPA                 US
47848   2C3CCABG2KH533474   Chrysler                        300   GREENVILLE            NC
47849   2C3CCABG2KH533488   Chrysler                        300   Manheim               PA
47850   2C3CCABG2KH533491   Chrysler                        300   MIAMI                 FL
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47851   2C3CCABG2KH535967   Chrysler                        300   Houston               TX
47852   2C3CCABG2KH536021   Chrysler                        300   FRESNO                CA
47853   2C3CCABG2KH536035   Chrysler                        300   LOS ANGELES           CA
47854   2C3CCABG2KH536049   Chrysler                        300   SACRAMENTO            CA
47855   2C3CCABG2KH536052   Chrysler                        300   LOS ANGELES           CA
47856   2C3CCABG2KH537833   Chrysler                        300   FORT MYERS            FL
47857   2C3CCABG2KH537847   Chrysler                        300   WEST PALM BEACH       FL
47858   2C3CCABG2KH537864   Chrysler                        300   Statesville           NC
47859   2C3CCABG2KH537878   Chrysler                        300   RALEIGH               NC
47860   2C3CCABG2KH537900   Chrysler                        300   ORLANDO               FL
47861   2C3CCABG2KH537914   Chrysler                        300   Hapeville             GA
47862   2C3CCABG2KH538707   Chrysler                        300   LOS ANGELES           CA
47863   2C3CCABG2KH538710   Chrysler                        300   ORANGE COUNTY         CA
47864   2C3CCABG2KH538724   Chrysler                        300   STERLING              VA
47865   2C3CCABG2KH538738   Chrysler                        300   Miami                 FL
47866   2C3CCABG2KH538741   Chrysler                        300   WEST PALM BEACH       FL
47867   2C3CCABG2KH539422   Chrysler                        300   NEW BERN              NC
47868   2C3CCABG2KH539453   Chrysler                        300   KNOXVILLE             TN
47869   2C3CCABG2KH539534   Chrysler                        300   Warminster            PA
47870   2C3CCABG2KH539551   Chrysler                        300   CHARLOTTE             NC
47871   2C3CCABG2KH539565   Chrysler                        300   FORT MYERS            FL
47872   2C3CCABG2KH539579   Chrysler                        300   Caledonia             WI
47873   2C3CCABG2KH539582   Chrysler                        300   LAS VEGAS             NV
47874   2C3CCABG2KH539629   Chrysler                        300   LAS VEGAS             NV
47875   2C3CCABG2KH539632   Chrysler                        300   PALM SPRINGS          CA
47876   2C3CCABG2KH542370   Chrysler                        300   Manheim               PA
47877   2C3CCABG2KH542384   Chrysler                        300   KANSAS CITY           MO
47878   2C3CCABG2KH548816   Chrysler                        300   ATLANTA               GA
47879   2C3CCABG2KH548847   Chrysler                        300   FORT LAUDERDALE       FL
47880   2C3CCABG2KH548850   Chrysler                        300   FORT LAUDERDALE       FL
47881   2C3CCABG2KH548864   Chrysler                        300   Houston               TX
47882   2C3CCABG2KH555488   Chrysler                        300   Miami                 FL
47883   2C3CCABG2KH555491   Chrysler                        300   RALIEGH               NC
47884   2C3CCABG2KH555507   Chrysler                        300   MIAMI                 FL
47885   2C3CCABG2KH555510   Chrysler                        300   FORT MYERS            FL
47886   2C3CCABG2KH555524   Chrysler                        300   MIAMI                 FL
47887   2C3CCABG2KH555538   Chrysler                        300   FORT MYERS            FL
47888   2C3CCABG2KH559394   Chrysler                        300   KENNER                LA
47889   2C3CCABG2KH559444   Chrysler                        300   KENNER                LA
47890   2C3CCABG2KH559542   Chrysler                        300   NORFOLK               VA
47891   2C3CCABG2KH559556   Chrysler                        300   KENNER                LA
47892   2C3CCABG2KH559573   Chrysler                        300   Atlanta               GA
47893   2C3CCABG2KH559668   Chrysler                        300   ALEXANDRIA            VA
47894   2C3CCABG2KH559685   Chrysler                        300   FORT MYERS            FL
47895   2C3CCABG2KH559699   Chrysler                        300   Atlanta               GA
47896   2C3CCABG2KH559704   Chrysler                        300   TAMPA                 FL
47897   2C3CCABG2KH559721   Chrysler                        300   KNOXVILLE             TN
47898   2C3CCABG2KH559735   Chrysler                        300   SAN FRANCISCO         CA
47899   2C3CCABG2KH559752   Chrysler                        300   LOS ANGELES           CA
47900   2C3CCABG2KH559816   Chrysler                        300   SAN JOSE              CA
47901   2C3CCABG2KH559847   Chrysler                        300   MONTEREY              CA
47902   2C3CCABG2KH559850   Chrysler                        300   LOS ANGELES           CA
47903   2C3CCABG2KH559864   Chrysler                        300   ONTARIO               CA
47904   2C3CCABG2KH562554   Chrysler                        300   DALLAS                TX
47905   2C3CCABG2KH562585   Chrysler                        300   Houston               TX
47906   2C3CCABG2KH562649   Chrysler                        300   BIRMINGHAM            AL
47907   2C3CCABG2KH562652   Chrysler                        300   CHARLOTTE             NC
47908   2C3CCABG2KH562683   Chrysler                        300   Detroit               MI
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47909   2C3CCABG2KH562697   Chrysler                        300   SAN DIEGO             CA
47910   2C3CCABG2KH562733   Chrysler                        300   CHARLOTTE             NC
47911   2C3CCABG2KH562747   Chrysler                        300   Slidell               LA
47912   2C3CCABG2KH562764   Chrysler                        300   BIRMINGHAM            AL
47913   2C3CCABG2KH562778   Chrysler                        300   JACKSONVILLE          FL
47914   2C3CCABG2KH562781   Chrysler                        300   LAS VEGAS             NV
47915   2C3CCABG2KH562814   Chrysler                        300   SEATAC                WA
47916   2C3CCABG2KH562828   Chrysler                        300   NORTH HILLS           CA
47917   2C3CCABG2KH562831   Chrysler                        300   SANTA ANA             CA
47918   2C3CCABG2KH562859   Chrysler                        300   LAS VEGAS             NV
47919   2C3CCABG2KH562862   Chrysler                        300   SAN FRANCISCO         CA
47920   2C3CCABG2KH565955   Chrysler                        300   ORLANDO               FL
47921   2C3CCABG2KH566023   Chrysler                        300   ORLANDO               FL
47922   2C3CCABG2KH566040   Chrysler                        300   SARASOTA              FL
47923   2C3CCABG2KH566054   Chrysler                        300   RICHMOND              VA
47924   2C3CCABG2KH569505   Chrysler                        300   Statesville           NC
47925   2C3CCABG2KH569519   Chrysler                        300   SANTA BARBARA         CA
47926   2C3CCABG2KH569570   Chrysler                        300   ATLANTA               GA
47927   2C3CCABG2KH585395   Chrysler                        300   PALM SPRINGS          CA
47928   2C3CCABG2KH585400   Chrysler                        300   OAKLAND               CA
47929   2C3CCABG2KH585428   Chrysler                        300   ORANGE COUNTY         CA
47930   2C3CCABG2KH585459   Chrysler                        300   LOS ANGELES           CA
47931   2C3CCABG2KH585462   Chrysler                        300   Davie                 FL
47932   2C3CCABG2KH585509   Chrysler                        300   STATESBORO            GA
47933   2C3CCABG2KH585512   Chrysler                        300   Miami                 FL
47934   2C3CCABG2KH585526   Chrysler                        300   PHILADELPHIA          PA
47935   2C3CCABG2KH585543   Chrysler                        300   WEST PALM BEACH       FL
47936   2C3CCABG2KH589706   Chrysler                        300   STERLING              VA
47937   2C3CCABG2KH589723   Chrysler                        300   BLOOMINGTON           IL
47938   2C3CCABG2KH589737   Chrysler                        300   FT. LAUDERDALE        FL
47939   2C3CCABG2KH589740   Chrysler                        300   WEST PALM BEACH       FL
47940   2C3CCABG2KH589754   Chrysler                        300   FORT MYERS            FL
47941   2C3CCABG2KH589785   Chrysler                        300   GRAND RAPIDS          MI
47942   2C3CCABG2KH601031   Chrysler                        300   SAN FRANCISCO         CA
47943   2C3CCABG2KH601045   Chrysler                        300   FRESNO                CA
47944   2C3CCABG2KH601059   Chrysler                        300   ONTARIO, RIVERSIDE    CA
47945   2C3CCABG2KH601062   Chrysler                        300   BURBANK               CA
47946   2C3CCABG2KH601076   Chrysler                        300   LOS ANGELES           CA
47947   2C3CCABG2KH601112   Chrysler                        300   SACRAMENTO            CA
47948   2C3CCABG2KH601126   Chrysler                        300   SANTA ANA             CA
47949   2C3CCABG2KH601143   Chrysler                        300   LOS ANGELES           CA
47950   2C3CCABG2KH601157   Chrysler                        300   LOS ANGELES AP        CA
47951   2C3CCABG2KH601160   Chrysler                        300   LOS ANGELES           CA
47952   2C3CCABG2KH601174   Chrysler                        300   LOS ANGELES           CA
47953   2C3CCABG2KH601188   Chrysler                        300   ATLANTA               GA
47954   2C3CCABG2KH601191   Chrysler                        300   BIRMINGHAN            AL
47955   2C3CCABG2KH601207   Chrysler                        300   MINNEAPOLIS           MN
47956   2C3CCABG2KH601210   Chrysler                        300   TAMPA                 FL
47957   2C3CCABG2KH601224   Chrysler                        300   SAINT PAUL            MN
47958   2C3CCABG2KH601238   Chrysler                        300   ATLANTA               GA
47959   2C3CCABG2KH601241   Chrysler                        300   PITTSBURGH            PA
47960   2C3CCABG2KH609307   Chrysler                        300   seatac                wa
47961   2C3CCABG2KH609324   Chrysler                        300   Slidell               LA
47962   2C3CCABG2KH609338   Chrysler                        300   WEST PALM BEACH       FL
47963   2C3CCABG2KH609341   Chrysler                        300   DETROIT               MI
47964   2C3CCABG2KH609405   Chrysler                        300   Brighton              CO
47965   2C3CCABG2KH609419   Chrysler                        300   DETROIT               MI
47966   2C3CCABG2KH609422   Chrysler                        300   BOSTON                MA
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47967   2C3CCABG2KH609453   Chrysler                        300   FRESNO                CA
47968   2C3CCABG2KH609467   Chrysler                        300   SAN FRANCISCO         CA
47969   2C3CCABG2KH609484   Chrysler                        300   OMAHA                 NE
47970   2C3CCABG2KH609498   Chrysler                        300   DENVER                CO
47971   2C3CCABG2KH609503   Chrysler                        300   PHOENIX               AZ
47972   2C3CCABG2KH617861   Chrysler                        300   SAN FRANCISCO         CA
47973   2C3CCABG2KH617875   Chrysler                        300   PORTLAND              OR
47974   2C3CCABG2KH617889   Chrysler                        300   LAKEWOOD              WA
47975   2C3CCABG2KH617892   Chrysler                        300   SACRAMENTO            CA
47976   2C3CCABG2KH617925   Chrysler                        300   TAMPA                 US
47977   2C3CCABG2KH617956   Chrysler                        300   CLEVELAND             OH
47978   2C3CCABG2KH617973   Chrysler                        300   DETROIT               MI
47979   2C3CCABG2KH617990   Chrysler                        300   MEDINA                OH
47980   2C3CCABG2KH618007   Chrysler                        300   SAN DIEGO             CA
47981   2C3CCABG2KH618010   Chrysler                        300   LAS VEGAS             NV
47982   2C3CCABG2KH618024   Chrysler                        300   DETROIT               MI
47983   2C3CCABG2KH618038   Chrysler                        300   OMAHA                 NE
47984   2C3CCABG2KH618069   Chrysler                        300   KNOXVILLE             TN
47985   2C3CCABG2KH618086   Chrysler                        300   LOUISVILLE            KY
47986   2C3CCABG2KH618119   Chrysler                        300   Harvey                LA
47987   2C3CCABG2KH618122   Chrysler                        300   FORT MYERS            FL
47988   2C3CCABG2KH618167   Chrysler                        300   ROANOKE               VA
47989   2C3CCABG2KH618170   Chrysler                        300   DETROIT               MI
47990   2C3CCABG2KH625913   Chrysler                        300   ONTARIO               CA
47991   2C3CCABG2KH625927   Chrysler                        300   ST PAUL               MN
47992   2C3CCABG2KH625930   Chrysler                        300   INDIANAPOLIS          IN
47993   2C3CCABG2KH625961   Chrysler                        300   Houston               TX
47994   2C3CCABG2KH628584   Chrysler                        300   HANOVER               MD
47995   2C3CCABG2KH628598   Chrysler                        300   VANDALIA              OH
47996   2C3CCABG2KH628603   Chrysler                        300   MILWAUKEE             WI
47997   2C3CCABG2KH628617   Chrysler                        300   MILWAUKEE AIRPORT     WI
47998   2C3CCABG2KH628620   Chrysler                        300   LEXINGTON             KY
47999   2C3CCABG2KH628634   Chrysler                        300   NEW BERN              NC
48000   2C3CCABG2KH628648   Chrysler                        300   FORT MYERS            FL
48001   2C3CCABG2KH628679   Chrysler                        300   NEWARK                NJ
48002   2C3CCABG2KH628682   Chrysler                        300   CHICAGO               IL
48003   2C3CCABG2KH628696   Chrysler                        300   PITTSBURGH            PA
48004   2C3CCABG2KH628701   Chrysler                        300   GRAND RAPIDS          MI
48005   2C3CCABG2KH628715   Chrysler                        300   CLEVELAND             OH
48006   2C3CCABG2KH628729   Chrysler                        300   ROCHESTER             NY
48007   2C3CCABG2KH628732   Chrysler                        300   MINNEAPOLIS           MN
48008   2C3CCABG2KH628746   Chrysler                        300   Pompano Beach         FL
48009   2C3CCABG2KH628777   Chrysler                        300   MILWAUKEE             WI
48010   2C3CCABG2KH628827   Chrysler                        300   DENVER                CO
48011   2C3CCABG2KH628830   Chrysler                        300   DES MOINES            IA
48012   2C3CCABG2KH628844   Chrysler                        300   SAINT PAUL            MN
48013   2C3CCABG2KH633994   Chrysler                        300   LAS VEGAS             NV
48014   2C3CCABG2KH634014   Chrysler                        300   SAN FRANCISCO         CA
48015   2C3CCABG2KH634028   Chrysler                        300   BOISE                 US
48016   2C3CCABG2KH634045   Chrysler                        300   ONTARIO               CA
48017   2C3CCABG2KH634059   Chrysler                        300   SACRAMENTO            CA
48018   2C3CCABG2KH634062   Chrysler                        300   BIRMINGHAM            AL
48019   2C3CCABG2KH634076   Chrysler                        300   GREENSBORO            NC
48020   2C3CCABG2KH634093   Chrysler                        300   DALLAS                TX
48021   2C3CCABG2KH635017   Chrysler                        300   PITTSBURGH            PA
48022   2C3CCABG2KH635020   Chrysler                        300   COLUMBUS              OH
48023   2C3CCABG2KH635034   Chrysler                        300   RALIEGH               NC
48024   2C3CCABG2KH635048   Chrysler                        300   TAMPA                 US
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48025   2C3CCABG2KH635051   Chrysler                        300   ATLANTA               GA
48026   2C3CCABG2KH635065   Chrysler                        300   CHICAGO               IL
48027   2C3CCABG2KH635079   Chrysler                        300   WILMINGTON            NC
48028   2C3CCABG2KH635082   Chrysler                        300   TAMPA                 FL
48029   2C3CCABG2KH635096   Chrysler                        300   NEWARK                NJ
48030   2C3CCABG2KH635101   Chrysler                        300   Union City            GA
48031   2C3CCABG2KH635115   Chrysler                        300   SAN JOSE              CA
48032   2C3CCABG2KH637253   Chrysler                        300   JACKSONVILLE          FL
48033   2C3CCABG2KH637267   Chrysler                        300   HILLSBOROUGH          NJ
48034   2C3CCABG2KH637270   Chrysler                        300   PHILADELPHIA          PA
48035   2C3CCABG2KH637284   Chrysler                        300   PHILADELPHIA          US
48036   2C3CCABG2KH637723   Chrysler                        300   LOUISVILLE            KY
48037   2C3CCABG2KH637740   Chrysler                        300   CHARLESTON            WV
48038   2C3CCABG2KH637754   Chrysler                        300   DECATUR               GA
48039   2C3CCABG2KH637947   Chrysler                        300   KENNER                LA
48040   2C3CCABG2KH637950   Chrysler                        300   CLEVELAND             OH
48041   2C3CCABG2KH637964   Chrysler                        300   PORTLAND              ME
48042   2C3CCABG2KH637978   Chrysler                        300   KENNER                LA
48043   2C3CCABG2KH637981   Chrysler                        300   NEWARK                NJ
48044   2C3CCABG2KH638094   Chrysler                        300   JACKSONVILLE          FL
48045   2C3CCABG2KH638113   Chrysler                        300   PLATTSBURGH           NY
48046   2C3CCABG2KH639083   Chrysler                        300   NEWARK                NJ
48047   2C3CCABG2KH639097   Chrysler                        300   WEST PALM BEACH       FL
48048   2C3CCABG2KH639116   Chrysler                        300   CHARLESTON            WV
48049   2C3CCABG2KH639830   Chrysler                        300   HOUSTON               TX
48050   2C3CCABG2KH639858   Chrysler                        300   ATLANTA               GA
48051   2C3CCABG2KH639875   Chrysler                        300   SAN ANTONIO           TX
48052   2C3CCABG2KH640489   Chrysler                        300   CORPUS CHRISTI        TX
48053   2C3CCABG2KH648043   Chrysler                        300   FORT LAUDERDALE       FL
48054   2C3CCABG2KH648057   Chrysler                        300   FORT LAUDERDALE       FL
48055   2C3CCABG2KH654022   Chrysler                        300   PHILADELPHIA          PA
48056   2C3CCABG2KH654036   Chrysler                        300   PHILADELPHIA          PA
48057   2C3CCABG2KH654053   Chrysler                        300   HARTFORD              CT
48058   2C3CCABG2KH654067   Chrysler                        300   RONKONKOMA            NY
48059   2C3CCABG2KH654070   Chrysler                        300   ROCHESTER             NY
48060   2C3CCABG2KH654084   Chrysler                        300   Hebron                KY
48061   2C3CCABG2KH654098   Chrysler                        300   SARASOTA              FL
48062   2C3CCABG2KH654117   Chrysler                        300   FORT LAUDERDALE       FL
48063   2C3CCABG2KH654120   Chrysler                        300   EGG HARBOR TOWN       NJ
48064   2C3CCABG2KH654134   Chrysler                        300   ORLANDO               FL
48065   2C3CCABG2KH654148   Chrysler                        300   CHICAGO MIDWAY        IL
48066   2C3CCABG2KH654151   Chrysler                        300   WICHITA FALLS         TX
48067   2C3CCABG2KH654165   Chrysler                        300   JACKSONVILLE          FL
48068   2C3CCABG2KH654179   Chrysler                        300   GREENVILLE            NC
48069   2C3CCABG2KH654182   Chrysler                        300   Atlanta               GA
48070   2C3CCABG2KH654196   Chrysler                        300   MIAMI                 FL
48071   2C3CCABG2KH654229   Chrysler                        300   GREENSBORO            NC
48072   2C3CCABG2KH654232   Chrysler                        300   Teterboro             NJ
48073   2C3CCABG2KH654246   Chrysler                        300   WEST PALM BEACH       FL
48074   2C3CCABG2KH654263   Chrysler                        300   RALEIGH               NC
48075   2C3CCABG2KH654294   Chrysler                        300   FORT MYERS            FL
48076   2C3CCABG2KH654313   Chrysler                        300   Miami                 FL
48077   2C3CCABG2KH654327   Chrysler                        300   Atlanta               GA
48078   2C3CCABG2KH654330   Chrysler                        300   PORTLAND              ME
48079   2C3CCABG2KH654344   Chrysler                        300   PALM SPRINGS          CA
48080   2C3CCABG2KH654358   Chrysler                        300   SAN DIEGO             CA
48081   2C3CCABG2KH654361   Chrysler                        300   SANTA ANA             CA
48082   2C3CCABG2KH654375   Chrysler                        300   PHOENIX               AZ
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48083   2C3CCABG2KH654411   Chrysler                        300   DENVER                CO
48084   2C3CCABG2KH654425   Chrysler                        300   LAS VEGAS             NV
48085   2C3CCABG2KH655283   Chrysler                        300   PHOENIX               AZ
48086   2C3CCABG2KH655980   Chrysler                        300   FORT LAUDERDALE       FL
48087   2C3CCABG2KH655994   Chrysler                        300   BOSTON                MA
48088   2C3CCABG2KH656000   Chrysler                        300   FORT MYERS            FL
48089   2C3CCABG2KH656014   Chrysler                        300   LAS VEGAS             NV
48090   2C3CCABG2KH659107   Chrysler                        300   MEMPHIS               TN
48091   2C3CCABG2KH659110   Chrysler                        300   HANOVER               MD
48092   2C3CCABG2KH660693   Chrysler                        300   Des Moines            IA
48093   2C3CCABG2KH660709   Chrysler                        300   Atlanta               GA
48094   2C3CCABG2KH661102   Chrysler                        300   GYPSUM                CO
48095   2C3CCABG2KH661116   Chrysler                        300   CLEVELAND             OH
48096   2C3CCABG2KH661133   Chrysler                        300   STERLING              VA
48097   2C3CCABG2KH661147   Chrysler                        300   LITTLE ROCK           AR
48098   2C3CCABG2KH661150   Chrysler                        300   TUCSON                AZ
48099   2C3CCABG2LH137241   Chrysler                        300   PENSACOLA             FL
48100   2C3CCABG2LH137286   Chrysler                        300   MEMPHIS               TN
48101   2C3CCABG2LH141788   Chrysler                        300   KNOXVILLE             TN
48102   2C3CCABG2LH145713   Chrysler                        300   NEW ORLEANS           LA
48103   2C3CCABG2LH145730   Chrysler                        300   ALBUQERQUE            NM
48104   2C3CCABG2LH145744   Chrysler                        300   Atlanta               GA
48105   2C3CCABG3JH214180   Chrysler                        300   LOS ANGELES           CA
48106   2C3CCABG3JH214213   Chrysler                        300   Portland              OR
48107   2C3CCABG3JH214227   Chrysler                        300   HILO                  HI
48108   2C3CCABG3JH214230   Chrysler                        300   HILO                  HI
48109   2C3CCABG3JH214244   Chrysler                        300   LOS ANGELES           CA
48110   2C3CCABG3JH227298   Chrysler                        300   Las Vegas             NV
48111   2C3CCABG3JH227334   Chrysler                        300   FRESNO HLE            CA
48112   2C3CCABG3JH274623   Chrysler                        300   Manheim               PA
48113   2C3CCABG3JH274685   Chrysler                        300   JACKSONVILLE          FL
48114   2C3CCABG3JH295858   Chrysler                        300   North Dighton         MA
48115   2C3CCABG3JH301383   Chrysler                        300   Ft. Myers             FL
48116   2C3CCABG3KH515064   Chrysler                        300   San Diego             CA
48117   2C3CCABG3KH515081   Chrysler                        300   LOS ANGELES           CA
48118   2C3CCABG3KH515095   Chrysler                        300   LOS ANGELES           CA
48119   2C3CCABG3KH515100   Chrysler                        300   OAKLAND               CA
48120   2C3CCABG3KH515114   Chrysler                        300   LOS ANGELES           CA
48121   2C3CCABG3KH515145   Chrysler                        300   LOS ANGELES           CA
48122   2C3CCABG3KH515176   Chrysler                        300   Fairburn              GA
48123   2C3CCABG3KH515193   Chrysler                        300   Hayward               CA
48124   2C3CCABG3KH515226   Chrysler                        300   Cranberry Towns       PA
48125   2C3CCABG3KH515243   Chrysler                        300   SAN JOSE              CA
48126   2C3CCABG3KH515257   Chrysler                        300   PLEASANTON            CA
48127   2C3CCABG3KH515260   Chrysler                        300   SAN DIEGO             CA
48128   2C3CCABG3KH515274   Chrysler                        300   Tustin                CA
48129   2C3CCABG3KH515307   Chrysler                        300   SACRAMENTO            CA
48130   2C3CCABG3KH515310   Chrysler                        300   LOS ANGELES           CA
48131   2C3CCABG3KH515338   Chrysler                        300   JACKSONVILLE          FL
48132   2C3CCABG3KH515341   Chrysler                        300   DANIA BEACH           FL
48133   2C3CCABG3KH515372   Chrysler                        300   PHOENIX               AZ
48134   2C3CCABG3KH515405   Chrysler                        300   TAMPA                 US
48135   2C3CCABG3KH515422   Chrysler                        300   SARASOTA              FL
48136   2C3CCABG3KH515453   Chrysler                        300   ORLANDO               FL
48137   2C3CCABG3KH515470   Chrysler                        300   Houston               TX
48138   2C3CCABG3KH515484   Chrysler                        300   HOLLY HILL            FL
48139   2C3CCABG3KH515498   Chrysler                        300   TALLAHASSEE           FL
48140   2C3CCABG3KH515520   Chrysler                        300   HOUSTON               TX
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48141   2C3CCABG3KH515534   Chrysler                        300   WEST PALM BEACH       FL
48142   2C3CCABG3KH515551   Chrysler                        300   ORLANDO               FL
48143   2C3CCABG3KH515582   Chrysler                        300   RICHMOND              VA
48144   2C3CCABG3KH515596   Chrysler                        300   ORLANDO               FL
48145   2C3CCABG3KH515615   Chrysler                        300   MIAMI                 FL
48146   2C3CCABG3KH515632   Chrysler                        300   FORT LAUDERDALE       FL
48147   2C3CCABG3KH515646   Chrysler                        300   FORT LAUDERDALE       FL
48148   2C3CCABG3KH515677   Chrysler                        300   FORT MYERS            FL
48149   2C3CCABG3KH515694   Chrysler                        300   ORLANDO               FL
48150   2C3CCABG3KH515727   Chrysler                        300   Davie                 FL
48151   2C3CCABG3KH515730   Chrysler                        300   NASHVILLE             TN
48152   2C3CCABG3KH515744   Chrysler                        300   FORT MYERS            FL
48153   2C3CCABG3KH515792   Chrysler                        300   TAMPA                 FL
48154   2C3CCABG3KH515811   Chrysler                        300   TAMPA                 FL
48155   2C3CCABG3KH515825   Chrysler                        300   LEXINGTON             KY
48156   2C3CCABG3KH515856   Chrysler                        300   FORT LAUDERDALE       FL
48157   2C3CCABG3KH515873   Chrysler                        300   FORT LAUDERDALE       FL
48158   2C3CCABG3KH515887   Chrysler                        300   WEST PALM BEACH       FL
48159   2C3CCABG3KH515906   Chrysler                        300   FORT LAUDERDALE       FL
48160   2C3CCABG3KH515923   Chrysler                        300   Davie                 FL
48161   2C3CCABG3KH515937   Chrysler                        300   SHREVEPORT            US
48162   2C3CCABG3KH515971   Chrysler                        300   FORT MYERS            FL
48163   2C3CCABG3KH515985   Chrysler                        300   Miami                 FL
48164   2C3CCABG3KH515999   Chrysler                        300   ORLANDO               FL
48165   2C3CCABG3KH516005   Chrysler                        300   COLUMBIA              SC
48166   2C3CCABG3KH516067   Chrysler                        300   MIAMI                 FL
48167   2C3CCABG3KH516070   Chrysler                        300   Atlanta               GA
48168   2C3CCABG3KH516084   Chrysler                        300   FORT LAUDERDALE       FL
48169   2C3CCABG3KH516120   Chrysler                        300   KENNER                LA
48170   2C3CCABG3KH516148   Chrysler                        300   CHARLOTTE             NC
48171   2C3CCABG3KH516151   Chrysler                        300   MIAMI                 FL
48172   2C3CCABG3KH516165   Chrysler                        300   Clearwater            FL
48173   2C3CCABG3KH516179   Chrysler                        300   Grove City            OH
48174   2C3CCABG3KH516196   Chrysler                        300   Jacksonville          FL
48175   2C3CCABG3KH516215   Chrysler                        300   DARLINGTON            SC
48176   2C3CCABG3KH516280   Chrysler                        300   DETROIT               MI
48177   2C3CCABG3KH516330   Chrysler                        300   ROANOKE               VA
48178   2C3CCABG3KH516344   Chrysler                        300   RICHMOND              VA
48179   2C3CCABG3KH516361   Chrysler                        300   GRAND RAPIDS          MI
48180   2C3CCABG3KH516392   Chrysler                        300   ORLANDO               FL
48181   2C3CCABG3KH516425   Chrysler                        300   DETROIT               MI
48182   2C3CCABG3KH516487   Chrysler                        300   Fontana               CA
48183   2C3CCABG3KH516490   Chrysler                        300   Davie                 FL
48184   2C3CCABG3KH516523   Chrysler                        300   SEATAC                WA
48185   2C3CCABG3KH516554   Chrysler                        300   Santa Clara           CA
48186   2C3CCABG3KH516604   Chrysler                        300   HOUSTON               TX
48187   2C3CCABG3KH516702   Chrysler                        300   Riverside             CA
48188   2C3CCABG3KH516716   Chrysler                        300   JACKSON               MS
48189   2C3CCABG3KH516750   Chrysler                        300   CHARLESTON            SC
48190   2C3CCABG3KH533435   Chrysler                        300   WEST PALM BEACH       FL
48191   2C3CCABG3KH533449   Chrysler                        300   PENSACOLA             FL
48192   2C3CCABG3KH533452   Chrysler                        300   Pompano Beach         FL
48193   2C3CCABG3KH533483   Chrysler                        300   Kansas City           MO
48194   2C3CCABG3KH535993   Chrysler                        300   PENSACOLA             FL
48195   2C3CCABG3KH536044   Chrysler                        300   LOS ANGELES           CA
48196   2C3CCABG3KH536058   Chrysler                        300   LAS VEGAS             NV
48197   2C3CCABG3KH536061   Chrysler                        300   LAS VEGAS             NV
48198   2C3CCABG3KH537839   Chrysler                        300   CHARLOTTE             NC
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48199   2C3CCABG3KH537856   Chrysler                        300   CHARLESTON            WV
48200   2C3CCABG3KH537887   Chrysler                        300   FORT LAUDERDALE       FL
48201   2C3CCABG3KH537923   Chrysler                        300   Miami                 FL
48202   2C3CCABG3KH538716   Chrysler                        300   Pompano Beach         FL
48203   2C3CCABG3KH539395   Chrysler                        300   Atlanta               GA
48204   2C3CCABG3KH539400   Chrysler                        300   DALLAS                TX
48205   2C3CCABG3KH539414   Chrysler                        300   Salt Lake City        UT
48206   2C3CCABG3KH539462   Chrysler                        300   PHOENIX               AZ
48207   2C3CCABG3KH539560   Chrysler                        300   DALLAS                TX
48208   2C3CCABG3KH539588   Chrysler                        300   SAN DIEGO             CA
48209   2C3CCABG3KH539591   Chrysler                        300   LAS VEGAS             NV
48210   2C3CCABG3KH539624   Chrysler                        300   San Diego             CA
48211   2C3CCABG3KH539641   Chrysler                        300   SACRAMENTO            CA
48212   2C3CCABG3KH542412   Chrysler                        300   OAKLAND               CA
48213   2C3CCABG3KH548808   Chrysler                        300   WEST PALM BEACH       FL
48214   2C3CCABG3KH548811   Chrysler                        300   FAYETTEVILLE          US
48215   2C3CCABG3KH548825   Chrysler                        300   Atlanta               GA
48216   2C3CCABG3KH548839   Chrysler                        300   Atlanta               GA
48217   2C3CCABG3KH548856   Chrysler                        300   ORLANDO               FL
48218   2C3CCABG3KH555466   Chrysler                        300   ONTARIO               CA
48219   2C3CCABG3KH555483   Chrysler                        300   ORLANDO               FL
48220   2C3CCABG3KH555497   Chrysler                        300   FORT MYERS            FL
48221   2C3CCABG3KH559372   Chrysler                        300   MEMPHIS               TN
48222   2C3CCABG3KH559405   Chrysler                        300   San Antonio           TX
48223   2C3CCABG3KH559453   Chrysler                        300   SAINT LOUIS           MO
48224   2C3CCABG3KH559484   Chrysler                        300   CLEVELAND             OH
48225   2C3CCABG3KH559498   Chrysler                        300   WOODSON TERRACE       MO
48226   2C3CCABG3KH559517   Chrysler                        300   NEW ORLEANS           LA
48227   2C3CCABG3KH559534   Chrysler                        300   DALLAS                TX
48228   2C3CCABG3KH559551   Chrysler                        300   PHILADELPHIA          PA
48229   2C3CCABG3KH559579   Chrysler                        300   RALEIGH               NC
48230   2C3CCABG3KH559582   Chrysler                        300   PALM SPRINGS          CA
48231   2C3CCABG3KH559596   Chrysler                        300   SAN ANTONIO           TX
48232   2C3CCABG3KH559601   Chrysler                        300   MEMPHIS               TN
48233   2C3CCABG3KH559646   Chrysler                        300   Memphis               TN
48234   2C3CCABG3KH559663   Chrysler                        300   ORLANDO               FL
48235   2C3CCABG3KH559677   Chrysler                        300   Saint Paul            MN
48236   2C3CCABG3KH559713   Chrysler                        300   FORT LAUDERDALE       FL
48237   2C3CCABG3KH559730   Chrysler                        300   LAS VEGAS             NV
48238   2C3CCABG3KH559758   Chrysler                        300   SALT LAKE CITY        US
48239   2C3CCABG3KH559775   Chrysler                        300   SAN FRANCISCO         CA
48240   2C3CCABG3KH559792   Chrysler                        300   SAN JOSE              CA
48241   2C3CCABG3KH559825   Chrysler                        300   TRACY                 CA
48242   2C3CCABG3KH559842   Chrysler                        300   INGLEWOOD             CA
48243   2C3CCABG3KH561395   Chrysler                        300   FORT LAUDERDALE       FL
48244   2C3CCABG3KH562546   Chrysler                        300   Hendersonville        TN
48245   2C3CCABG3KH562563   Chrysler                        300   Hapeville             GA
48246   2C3CCABG3KH562627   Chrysler                        300   HOUSTON               TX
48247   2C3CCABG3KH562630   Chrysler                        300   Hattiesburg           MS
48248   2C3CCABG3KH562644   Chrysler                        300   San Antonio           TX
48249   2C3CCABG3KH562658   Chrysler                        300   MIAMI                 FL
48250   2C3CCABG3KH562689   Chrysler                        300   KANSAS CITY           MO
48251   2C3CCABG3KH562756   Chrysler                        300   TAMPA                 FL
48252   2C3CCABG3KH562773   Chrysler                        300   FORT MYERS            FL
48253   2C3CCABG3KH562806   Chrysler                        300   Kansas City           MO
48254   2C3CCABG3KH562854   Chrysler                        300   SANTA ANA             CA
48255   2C3CCABG3KH562868   Chrysler                        300   BURBANK               CA
48256   2C3CCABG3KH565947   Chrysler                        300   Hebron                KY
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48257   2C3CCABG3KH565950   Chrysler                        300   TAMPA                 US
48258   2C3CCABG3KH565978   Chrysler                        300   Maple Grove           MN
48259   2C3CCABG3KH565981   Chrysler                        300   FORT LAUDERDALE       FL
48260   2C3CCABG3KH565995   Chrysler                        300   ROANOKE               VA
48261   2C3CCABG3KH566001   Chrysler                        300   NEWARK                NJ
48262   2C3CCABG3KH566015   Chrysler                        300   ORLANDO               FL
48263   2C3CCABG3KH569478   Chrysler                        300   JACKSON               MS
48264   2C3CCABG3KH569495   Chrysler                        300   FORT LAUDERDALE       FL
48265   2C3CCABG3KH569514   Chrysler                        300   BLOOMINGTON           IL
48266   2C3CCABG3KH569528   Chrysler                        300   HANOVER               MD
48267   2C3CCABG3KH569531   Chrysler                        300   STERLING              VA
48268   2C3CCABG3KH569559   Chrysler                        300   GAITHERSBURG          MD
48269   2C3CCABG3KH585387   Chrysler                        300   SANTA ANA             CA
48270   2C3CCABG3KH585406   Chrysler                        300   OAKLAND               CA
48271   2C3CCABG3KH585437   Chrysler                        300   PALM SPRINGS          CA
48272   2C3CCABG3KH585440   Chrysler                        300   SAN DIEGO             CA
48273   2C3CCABG3KH585454   Chrysler                        300   SAN JOSE              CA
48274   2C3CCABG3KH585471   Chrysler                        300   SAVANNAH              GA
48275   2C3CCABG3KH585485   Chrysler                        300   PORTLAND              OR
48276   2C3CCABG3KH585518   Chrysler                        300   Fredericksburg        VA
48277   2C3CCABG3KH585535   Chrysler                        300   PHILADELPHIA          PA
48278   2C3CCABG3KH585549   Chrysler                        300   CHARLOTTE             NC
48279   2C3CCABG3KH589701   Chrysler                        300   RALEIGH               NC
48280   2C3CCABG3KH589715   Chrysler                        300   ORLANDO               FL
48281   2C3CCABG3KH589729   Chrysler                        300   FORT LAUDERDALE       FL
48282   2C3CCABG3KH589732   Chrysler                        300   ORLANDO               FL
48283   2C3CCABG3KH589746   Chrysler                        300   ORLANDO               FL
48284   2C3CCABG3KH589763   Chrysler                        300   SAN JOSE              CA
48285   2C3CCABG3KH589780   Chrysler                        300   FORT MYERS            FL
48286   2C3CCABG3KH601037   Chrysler                        300   SAN DIEGO             CA
48287   2C3CCABG3KH601040   Chrysler                        300   Kansas City           MO
48288   2C3CCABG3KH601085   Chrysler                        300   Portland              OR
48289   2C3CCABG3KH601121   Chrysler                        300   LOS ANGELES           CA
48290   2C3CCABG3KH601135   Chrysler                        300   LOS ANGELES           CA
48291   2C3CCABG3KH601149   Chrysler                        300   LAS VEGAS             NV
48292   2C3CCABG3KH601166   Chrysler                        300   LOS ANGELES           CA
48293   2C3CCABG3KH601183   Chrysler                        300   CHARLESTON            SC
48294   2C3CCABG3KH601216   Chrysler                        300   MEMPHIS               TN
48295   2C3CCABG3KH601233   Chrysler                        300   PENSACOLA             FL
48296   2C3CCABG3KH609316   Chrysler                        300   Hattiesburg           MS
48297   2C3CCABG3KH609347   Chrysler                        300   KENNER                LA
48298   2C3CCABG3KH609364   Chrysler                        300   ATLANTA               GA
48299   2C3CCABG3KH609378   Chrysler                        300   KENNER                LA
48300   2C3CCABG3KH609381   Chrysler                        300   SOUTH BEND            IN
48301   2C3CCABG3KH609395   Chrysler                        300   PALM S                CA
48302   2C3CCABG3KH609414   Chrysler                        300   PITTSBURGH            PA
48303   2C3CCABG3KH609428   Chrysler                        300   CHARLOTTE             NC
48304   2C3CCABG3KH609445   Chrysler                        300   CHARLESTON            SC
48305   2C3CCABG3KH609462   Chrysler                        300   SAN JOSE              CA
48306   2C3CCABG3KH609509   Chrysler                        300   PHOENIX               AZ
48307   2C3CCABG3KH609512   Chrysler                        300   SAINT LOUIS           MO
48308   2C3CCABG3KH617870   Chrysler                        300   INGLEWOOD             CA
48309   2C3CCABG3KH617884   Chrysler                        300   FRESNO                CA
48310   2C3CCABG3KH617903   Chrysler                        300   LOS ANGELES           CA
48311   2C3CCABG3KH617917   Chrysler                        300   LEXINGTON             KY
48312   2C3CCABG3KH617920   Chrysler                        300   Estero                FL
48313   2C3CCABG3KH617934   Chrysler                        300   SOUTHEAST DST OFFC    OK
48314   2C3CCABG3KH617951   Chrysler                        300   CLEVELAND             OH
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48315   2C3CCABG3KH617965   Chrysler                        300   Florissant            MO
48316   2C3CCABG3KH617979   Chrysler                        300   CHARLESTON            WV
48317   2C3CCABG3KH617982   Chrysler                        300   PHILADELPHIA          PA
48318   2C3CCABG3KH617996   Chrysler                        300   LOUISVILLE            KY
48319   2C3CCABG3KH618016   Chrysler                        300   Caledonia             WI
48320   2C3CCABG3KH618064   Chrysler                        300   CHICAGO               IL
48321   2C3CCABG3KH618078   Chrysler                        300   Raleigh               NC
48322   2C3CCABG3KH618081   Chrysler                        300   WEST PALM BEACH       FL
48323   2C3CCABG3KH618095   Chrysler                        300   TAMPA                 FL
48324   2C3CCABG3KH618100   Chrysler                        300   KNOXVILLE             TN
48325   2C3CCABG3KH618114   Chrysler                        300   Rockville Centr       NY
48326   2C3CCABG3KH618128   Chrysler                        300   FORT MYERS            FL
48327   2C3CCABG3KH618145   Chrysler                        300   GRAND RAPIDS          MI
48328   2C3CCABG3KH618162   Chrysler                        300   KANSAS CITY           MO
48329   2C3CCABG3KH625919   Chrysler                        300   PHOENIX               AZ
48330   2C3CCABG3KH625922   Chrysler                        300   CHARLESTON            WV
48331   2C3CCABG3KH625953   Chrysler                        300   BALTIMORE             MD
48332   2C3CCABG3KH625967   Chrysler                        300   CLEVELAND             OH
48333   2C3CCABG3KH628593   Chrysler                        300   CLEVELAND             OH
48334   2C3CCABG3KH628609   Chrysler                        300   Memphis               TN
48335   2C3CCABG3KH628612   Chrysler                        300   OMAHA                 NE
48336   2C3CCABG3KH628626   Chrysler                        300   TAMPA                 FL
48337   2C3CCABG3KH628643   Chrysler                        300   INDIANAPOLIS          IN
48338   2C3CCABG3KH628657   Chrysler                        300   ROCHESTER             NY
48339   2C3CCABG3KH628660   Chrysler                        300   SPRINGFIELD           VA
48340   2C3CCABG3KH628674   Chrysler                        300   BUFFALO               NY
48341   2C3CCABG3KH628707   Chrysler                        300   HANOVER               MD
48342   2C3CCABG3KH628724   Chrysler                        300   TAMPA                 FL
48343   2C3CCABG3KH628738   Chrysler                        300   STERLING              VA
48344   2C3CCABG3KH628741   Chrysler                        300   STERLING              VA
48345   2C3CCABG3KH628755   Chrysler                        300   MEMPHIS               TN
48346   2C3CCABG3KH628769   Chrysler                        300   KANSAS CITY           MO
48347   2C3CCABG3KH628772   Chrysler                        300   Sterling              VA
48348   2C3CCABG3KH628786   Chrysler                        300   KANSAS CITY           MO
48349   2C3CCABG3KH628819   Chrysler                        300   Wichita               KS
48350   2C3CCABG3KH628822   Chrysler                        300   Baltimore             MD
48351   2C3CCABG3KH628853   Chrysler                        300   LOS ANGELES           CA
48352   2C3CCABG3KH628867   Chrysler                        300   SAINT LOUIS           MO
48353   2C3CCABG3KH633986   Chrysler                        300   LOS ANGELES           CA
48354   2C3CCABG3KH634023   Chrysler                        300   LOS ANGELES           CA
48355   2C3CCABG3KH634037   Chrysler                        300   LOS ANGELES           CA
48356   2C3CCABG3KH634040   Chrysler                        300   SACRAMENTO            CA
48357   2C3CCABG3KH634054   Chrysler                        300   SAN DIEGO             CA
48358   2C3CCABG3KH634068   Chrysler                        300   FORT LAUDERDALE       FL
48359   2C3CCABG3KH634071   Chrysler                        300   LAS VEGAS             NV
48360   2C3CCABG3KH635012   Chrysler                        300   STERLING              VA
48361   2C3CCABG3KH635026   Chrysler                        300   TAMPA                 FL
48362   2C3CCABG3KH635043   Chrysler                        300   TUCSON                AZ
48363   2C3CCABG3KH635057   Chrysler                        300   WEST COLUMBIA         SC
48364   2C3CCABG3KH635060   Chrysler                        300   PENSACOLA             FL
48365   2C3CCABG3KH635074   Chrysler                        300   PORTLAND              ME
48366   2C3CCABG3KH635088   Chrysler                        300   NEWARK                NJ
48367   2C3CCABG3KH635091   Chrysler                        300   DETROIT               MI
48368   2C3CCABG3KH635107   Chrysler                        300   FORT LAUDERDALE       FL
48369   2C3CCABG3KH635110   Chrysler                        300   JAMAICA               NY
48370   2C3CCABG3KH637245   Chrysler                        300   ORLANDO               FL
48371   2C3CCABG3KH637259   Chrysler                        300   FORT MYERS            FL
48372   2C3CCABG3KH637262   Chrysler                        300   LOUISVILLE            KY
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48373   2C3CCABG3KH637276   Chrysler                        300   WARWICK               US
48374   2C3CCABG3KH637715   Chrysler                        300   TAMPA                 FL
48375   2C3CCABG3KH637746   Chrysler                        300   FORT MYERS            FL
48376   2C3CCABG3KH637763   Chrysler                        300   PHILADELPHIA          PA
48377   2C3CCABG3KH637939   Chrysler                        300   ROANOKE               VA
48378   2C3CCABG3KH637942   Chrysler                        300   WARWICK               RI
48379   2C3CCABG3KH637956   Chrysler                        300   CLEVELAND             OH
48380   2C3CCABG3KH637973   Chrysler                        300   COLLEGE PARK          GA
48381   2C3CCABG3KH637987   Chrysler                        300   TAMPA                 FL
48382   2C3CCABG3KH637990   Chrysler                        300   MIAMI                 FL
48383   2C3CCABG3KH638105   Chrysler                        300   CHARLOTTE             NC
48384   2C3CCABG3KH638119   Chrysler                        300   CLEVELAND             OH
48385   2C3CCABG3KH638122   Chrysler                        300   PHILADELPHIA          PA
48386   2C3CCABG3KH639089   Chrysler                        300   PROVIDENCE            RI
48387   2C3CCABG3KH639092   Chrysler                        300   CLEVELAND             OH
48388   2C3CCABG3KH639125   Chrysler                        300   BOSTON                MA
48389   2C3CCABG3KH639822   Chrysler                        300   CLARKSVILLE           IN
48390   2C3CCABG3KH639836   Chrysler                        300   KENNER                LA
48391   2C3CCABG3KH639853   Chrysler                        300   HOUSTON               TX
48392   2C3CCABG3KH639870   Chrysler                        300   EL PASO               TX
48393   2C3CCABG3KH648035   Chrysler                        300   LOUISVILLE            KY
48394   2C3CCABG3KH648049   Chrysler                        300   HOUSTON               TX
48395   2C3CCABG3KH648052   Chrysler                        300   HARRISBURG            PA
48396   2C3CCABG3KH648066   Chrysler                        300   CLEVELAND             OH
48397   2C3CCABG3KH654014   Chrysler                        300   GRAND RAPIDS          MI
48398   2C3CCABG3KH654028   Chrysler                        300   WEST PALM BEACH       FL
48399   2C3CCABG3KH654031   Chrysler                        300   ORLANDO               FL
48400   2C3CCABG3KH654045   Chrysler                        300   WHITE PLAINS          NY
48401   2C3CCABG3KH654059   Chrysler                        300   KANSAS CITY           MO
48402   2C3CCABG3KH654062   Chrysler                        300   NORFOLK               VA
48403   2C3CCABG3KH654076   Chrysler                        300   LAS VEGAS             NV
48404   2C3CCABG3KH654093   Chrysler                        300   NAPLES                FL
48405   2C3CCABG3KH654109   Chrysler                        300   LOUISVILLE            KY
48406   2C3CCABG3KH654112   Chrysler                        300   JACKSONVILLE          FL
48407   2C3CCABG3KH654126   Chrysler                        300   TAMPA                 FL
48408   2C3CCABG3KH654143   Chrysler                        300   CHEEKTOWAGA           NY
48409   2C3CCABG3KH654160   Chrysler                        300   PHOENIX               AZ
48410   2C3CCABG3KH654188   Chrysler                        300   BROOKLYN              NY
48411   2C3CCABG3KH654191   Chrysler                        300   JAMAICA               NY
48412   2C3CCABG3KH654207   Chrysler                        300   Atlanta               GA
48413   2C3CCABG3KH654210   Chrysler                        300   HARRISBURG            PA
48414   2C3CCABG3KH654238   Chrysler                        300   BUFFALO               NY
48415   2C3CCABG3KH654241   Chrysler                        300   CHARLOTTE             NC
48416   2C3CCABG3KH654255   Chrysler                        300   KENNER                LA
48417   2C3CCABG3KH654269   Chrysler                        300   FORT LAUDERDALE       FL
48418   2C3CCABG3KH654286   Chrysler                        300   Hebron                KY
48419   2C3CCABG3KH654305   Chrysler                        300   KANSAS CITY           MO
48420   2C3CCABG3KH654319   Chrysler                        300   Cicero                NY
48421   2C3CCABG3KH654322   Chrysler                        300   PANAMA CITY           FL
48422   2C3CCABG3KH654336   Chrysler                        300   GRAND RAPIDS          MI
48423   2C3CCABG3KH654370   Chrysler                        300   PHOENIX               AZ
48424   2C3CCABG3KH654403   Chrysler                        300   LAS VEGAS             NV
48425   2C3CCABG3KH654417   Chrysler                        300   PHOENIX               AZ
48426   2C3CCABG3KH655261   Chrysler                        300   Kansas City           KS
48427   2C3CCABG3KH655275   Chrysler                        300   PITTSBURGH            PA
48428   2C3CCABG3KH656006   Chrysler                        300   BULLHEAD CITY         AZ
48429   2C3CCABG3KH659102   Chrysler                        300   KENNER                LA
48430   2C3CCABG3KH659116   Chrysler                        300   PHOENIX               AZ
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48431   2C3CCABG3KH660282   Chrysler                        300   WEST COLUMBIA         SC
48432   2C3CCABG3KH660296   Chrysler                        300   SEA TAC               WA
48433   2C3CCABG3KH660699   Chrysler                        300   DENVER                CO
48434   2C3CCABG3KH660721   Chrysler                        300   Warr Acres            OK
48435   2C3CCABG3KH661111   Chrysler                        300   DES MOINES            IA
48436   2C3CCABG3KH661142   Chrysler                        300   FT. LAUDERDALE        FL
48437   2C3CCABG3LH137247   Chrysler                        300   SHREVEPORT            LA
48438   2C3CCABG3LH141718   Chrysler                        300   PENSACOLA             FL
48439   2C3CCABG3LH141721   Chrysler                        300   PENSACOLA             FL
48440   2C3CCABG4JH214222   Chrysler                        300   HILO                  HI
48441   2C3CCABG4JH214284   Chrysler                        300   OAKLAND               CA
48442   2C3CCABG4JH214611   Chrysler                        300   Hayward               CA
48443   2C3CCABG4JH227343   Chrysler                        300   Rio Linda             CA
48444   2C3CCABG4JH227410   Chrysler                        300   Fontana               CA
48445   2C3CCABG4JH243316   Chrysler                        300   LAS VEGAS             NV
48446   2C3CCABG4JH261718   Chrysler                        300   Burlingame            CA
48447   2C3CCABG4KH515056   Chrysler                        300   PHOENIX               AZ
48448   2C3CCABG4KH515073   Chrysler                        300   BURBANK               CA
48449   2C3CCABG4KH515087   Chrysler                        300   ONTARIO               CA
48450   2C3CCABG4KH515106   Chrysler                        300   LOS ANGELES AP        CA
48451   2C3CCABG4KH515123   Chrysler                        300   Matteson              IL
48452   2C3CCABG4KH515140   Chrysler                        300   Las Vegas             NV
48453   2C3CCABG4KH515154   Chrysler                        300   SACRAMENTO            CA
48454   2C3CCABG4KH515168   Chrysler                        300   LAS VEGAS             NV
48455   2C3CCABG4KH515185   Chrysler                        300   BURBANK               CA
48456   2C3CCABG4KH515218   Chrysler                        300   OAKLAND               CA
48457   2C3CCABG4KH515221   Chrysler                        300   Hayward               CA
48458   2C3CCABG4KH515235   Chrysler                        300   LAS VEGAS             NV
48459   2C3CCABG4KH515249   Chrysler                        300   Los Angeles           CA
48460   2C3CCABG4KH515297   Chrysler                        300   LAS VEGAS             NV
48461   2C3CCABG4KH515333   Chrysler                        300   TAMPA                 US
48462   2C3CCABG4KH515350   Chrysler                        300   FORT MYERS            FL
48463   2C3CCABG4KH515378   Chrysler                        300   CORAL SPRINGS         FL
48464   2C3CCABG4KH515381   Chrysler                        300   NEW BERN              NC
48465   2C3CCABG4KH515400   Chrysler                        300   ORLANDO               FL
48466   2C3CCABG4KH515414   Chrysler                        300   FT. LAUDERDALE        FL
48467   2C3CCABG4KH515428   Chrysler                        300   ORLANDO               FL
48468   2C3CCABG4KH515445   Chrysler                        300   ORLANDO               FL
48469   2C3CCABG4KH515459   Chrysler                        300   Tampa                 FL
48470   2C3CCABG4KH515493   Chrysler                        300   Miami                 FL
48471   2C3CCABG4KH515509   Chrysler                        300   MIAMI                 FL
48472   2C3CCABG4KH515512   Chrysler                        300   SARASOTA              FL
48473   2C3CCABG4KH515526   Chrysler                        300   Orlando               FL
48474   2C3CCABG4KH515543   Chrysler                        300   Smithtown             NY
48475   2C3CCABG4KH515557   Chrysler                        300   FORT MYERS            FL
48476   2C3CCABG4KH515560   Chrysler                        300   RALEIGH               NC
48477   2C3CCABG4KH515574   Chrysler                        300   RICHMOND              VA
48478   2C3CCABG4KH515610   Chrysler                        300   MIAMI                 FL
48479   2C3CCABG4KH515624   Chrysler                        300   ORLANDO               FL
48480   2C3CCABG4KH515655   Chrysler                        300   BURBANK               CA
48481   2C3CCABG4KH515669   Chrysler                        300   MIAMI                 FL
48482   2C3CCABG4KH515686   Chrysler                        300   Davie                 FL
48483   2C3CCABG4KH515705   Chrysler                        300   FORT MYERS            FL
48484   2C3CCABG4KH515722   Chrysler                        300   FORT MYERS            FL
48485   2C3CCABG4KH515753   Chrysler                        300   Sarasota              FL
48486   2C3CCABG4KH515767   Chrysler                        300   WEST PALM BEACH       FL
48487   2C3CCABG4KH515770   Chrysler                        300   ORLANDO               FL
48488   2C3CCABG4KH515784   Chrysler                        300   TAMPA                 FL
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48489   2C3CCABG4KH515817   Chrysler                        300   FORT LAUDERDALE       FL
48490   2C3CCABG4KH515834   Chrysler                        300   Tampa                 FL
48491   2C3CCABG4KH515848   Chrysler                        300   Bridgeton             MO
48492   2C3CCABG4KH515851   Chrysler                        300   DAYTONA BEACH         FL
48493   2C3CCABG4KH515865   Chrysler                        300   FAYETTEVILLE          GA
48494   2C3CCABG4KH515879   Chrysler                        300   Miami                 FL
48495   2C3CCABG4KH515882   Chrysler                        300   WEST PALM BEACH       FL
48496   2C3CCABG4KH515896   Chrysler                        300   TAMPA                 US
48497   2C3CCABG4KH515915   Chrysler                        300   Detroit               MI
48498   2C3CCABG4KH515929   Chrysler                        300   WEST PALM BEACH       FL
48499   2C3CCABG4KH515932   Chrysler                        300   KNOXVILLE             TN
48500   2C3CCABG4KH515946   Chrysler                        300   PHILADELPHIA          PA
48501   2C3CCABG4KH515963   Chrysler                        300   Davie                 FL
48502   2C3CCABG4KH516000   Chrysler                        300   FORT MYERS            FL
48503   2C3CCABG4KH516014   Chrysler                        300   ORLANDO               FL
48504   2C3CCABG4KH516045   Chrysler                        300   CHARLOTTE             NC
48505   2C3CCABG4KH516059   Chrysler                        300   CHARLOTTE             NC
48506   2C3CCABG4KH516062   Chrysler                        300   FORT LAUDERDALE       FL
48507   2C3CCABG4KH516093   Chrysler                        300   Jacksonville          FL
48508   2C3CCABG4KH516174   Chrysler                        300   HANOVER               MD
48509   2C3CCABG4KH516188   Chrysler                        300   CHARLOTTE             NC
48510   2C3CCABG4KH516207   Chrysler                        300   CHARLESTON            SC
48511   2C3CCABG4KH516224   Chrysler                        300   SARASOTA              FL
48512   2C3CCABG4KH516255   Chrysler                        300   MIAMI                 FL
48513   2C3CCABG4KH516272   Chrysler                        300   Louisville            KY
48514   2C3CCABG4KH516286   Chrysler                        300   Atlanta               GA
48515   2C3CCABG4KH516322   Chrysler                        300   Manheim               PA
48516   2C3CCABG4KH516367   Chrysler                        300   Statesville           NC
48517   2C3CCABG4KH516370   Chrysler                        300   CLEVELAND             OH
48518   2C3CCABG4KH516451   Chrysler                        300   Slidell               LA
48519   2C3CCABG4KH516501   Chrysler                        300   BURBANK               CA
48520   2C3CCABG4KH516515   Chrysler                        300   BURBANK               CA
48521   2C3CCABG4KH516529   Chrysler                        300   PALM SPRINGS          CA
48522   2C3CCABG4KH516532   Chrysler                        300   LOS ANGELES           CA
48523   2C3CCABG4KH516577   Chrysler                        300   Dallas                TX
48524   2C3CCABG4KH516675   Chrysler                        300   Los Angeles           CA
48525   2C3CCABG4KH516773   Chrysler                        300   KENNER                LA
48526   2C3CCABG4KH533430   Chrysler                        300   ORLANDO               FL
48527   2C3CCABG4KH533444   Chrysler                        300   WARWICK               RI
48528   2C3CCABG4KH533458   Chrysler                        300   FORT MYERS            FL
48529   2C3CCABG4KH533461   Chrysler                        300   Davie                 FL
48530   2C3CCABG4KH533475   Chrysler                        300   Ocoee                 FL
48531   2C3CCABG4KH533489   Chrysler                        300   FORT MYERS            FL
48532   2C3CCABG4KH536022   Chrysler                        300   Orlando               FL
48533   2C3CCABG4KH536036   Chrysler                        300   OAKLAND               CA
48534   2C3CCABG4KH536053   Chrysler                        300   LAS VEGAS             NV
48535   2C3CCABG4KH537834   Chrysler                        300   Davie                 FL
48536   2C3CCABG4KH537851   Chrysler                        300   WEST PALM BEACH       FL
48537   2C3CCABG4KH537865   Chrysler                        300   FORT LAUDERDALE       FL
48538   2C3CCABG4KH537879   Chrysler                        300   TAMPA                 FL
48539   2C3CCABG4KH537882   Chrysler                        300   WEST PALM BEACH       FL
48540   2C3CCABG4KH537896   Chrysler                        300   TAMPA                 FL
48541   2C3CCABG4KH537901   Chrysler                        300   INDIANAPOLIS          IN
48542   2C3CCABG4KH537929   Chrysler                        300   ORLANDO               FL
48543   2C3CCABG4KH538689   Chrysler                        300   ORLANDO               FL
48544   2C3CCABG4KH538708   Chrysler                        300   MIAMI                 FL
48545   2C3CCABG4KH538711   Chrysler                        300   DAYTONA BEACH         FL
48546   2C3CCABG4KH538725   Chrysler                        300   FORT MYERS            FL
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48547   2C3CCABG4KH538739   Chrysler                        300   SAVANNAH              GA
48548   2C3CCABG4KH539485   Chrysler                        300   DALLAS                TX
48549   2C3CCABG4KH539566   Chrysler                        300   MIAMI                 FL
48550   2C3CCABG4KH539583   Chrysler                        300   LAS VEGAS             NV
48551   2C3CCABG4KH539597   Chrysler                        300   Fontana               CA
48552   2C3CCABG4KH542385   Chrysler                        300   SAN FRANCISCO         CA
48553   2C3CCABG4KH548803   Chrysler                        300   FORT LAUDERDALE       FL
48554   2C3CCABG4KH548848   Chrysler                        300   MIAMI                 FL
48555   2C3CCABG4KH548851   Chrysler                        300   ORLANDO               FL
48556   2C3CCABG4KH548865   Chrysler                        300   LAS VEGAS             NV
48557   2C3CCABG4KH555458   Chrysler                        300   WILMINGTON            CA
48558   2C3CCABG4KH555492   Chrysler                        300   ATLANTA               GA
48559   2C3CCABG4KH555511   Chrysler                        300   FORT LAUDERDALE       FL
48560   2C3CCABG4KH555525   Chrysler                        300   North Dighton         MA
48561   2C3CCABG4KH559378   Chrysler                        300   SHREVEPORT            LA
48562   2C3CCABG4KH559428   Chrysler                        300   PHILADELPHIA          US
48563   2C3CCABG4KH559462   Chrysler                        300   JACKSON               MS
48564   2C3CCABG4KH559588   Chrysler                        300   MIAMI                 FL
48565   2C3CCABG4KH559641   Chrysler                        300   TAMPA                 FL
48566   2C3CCABG4KH559655   Chrysler                        300   ORLANDO               FL
48567   2C3CCABG4KH559669   Chrysler                        300   FT LAUDERDALE         US
48568   2C3CCABG4KH559672   Chrysler                        300   FAYETTEVILLE          GA
48569   2C3CCABG4KH559705   Chrysler                        300   KENNER                LA
48570   2C3CCABG4KH559719   Chrysler                        300   Fairburn              GA
48571   2C3CCABG4KH559736   Chrysler                        300   Roseville             CA
48572   2C3CCABG4KH559753   Chrysler                        300   SAN DIEGO             CA
48573   2C3CCABG4KH559770   Chrysler                        300   Kent                  WA
48574   2C3CCABG4KH559798   Chrysler                        300   ORANGE COUNTY         CA
48575   2C3CCABG4KH559834   Chrysler                        300   SAN JOSE              CA
48576   2C3CCABG4KH559848   Chrysler                        300   BURBANK               CA
48577   2C3CCABG4KH559851   Chrysler                        300   PALM SPRINGS          CA
48578   2C3CCABG4KH559865   Chrysler                        300   SAN JOSE              CA
48579   2C3CCABG4KH562541   Chrysler                        300   KENNER                LA
48580   2C3CCABG4KH562555   Chrysler                        300   Atlanta               GA
48581   2C3CCABG4KH562572   Chrysler                        300   SARASOTA              FL
48582   2C3CCABG4KH562619   Chrysler                        300   WILMINGTON            NC
48583   2C3CCABG4KH562622   Chrysler                        300   Matteson              IL
48584   2C3CCABG4KH562667   Chrysler                        300   Atlanta               GA
48585   2C3CCABG4KH562734   Chrysler                        300   Houston               TX
48586   2C3CCABG4KH562748   Chrysler                        300   Warminster            PA
48587   2C3CCABG4KH562782   Chrysler                        300   Carleton              MI
48588   2C3CCABG4KH562801   Chrysler                        300   Los Angeles           CA
48589   2C3CCABG4KH562846   Chrysler                        300   LAS VEGAS             NV
48590   2C3CCABG4KH562863   Chrysler                        300   Las Vegas             NV
48591   2C3CCABG4KH565956   Chrysler                        300   CHARLESTON            SC
48592   2C3CCABG4KH565973   Chrysler                        300   MIAMI                 FL
48593   2C3CCABG4KH565987   Chrysler                        300   MIAMI                 FL
48594   2C3CCABG4KH565990   Chrysler                        300   WEST COLUMBIA         SC
48595   2C3CCABG4KH566007   Chrysler                        300   ORLANDO               FL
48596   2C3CCABG4KH566010   Chrysler                        300   FORT MYERS            FL
48597   2C3CCABG4KH566055   Chrysler                        300   NORFOLK               VA
48598   2C3CCABG4KH569487   Chrysler                        300   LAS VEGAS             NV
48599   2C3CCABG4KH569537   Chrysler                        300   FORT MYERS            FL
48600   2C3CCABG4KH569568   Chrysler                        300   Marietta              GA
48601   2C3CCABG4KH585401   Chrysler                        300   Fontana               CA
48602   2C3CCABG4KH585415   Chrysler                        300   SAN DIEGO             CA
48603   2C3CCABG4KH585463   Chrysler                        300   MIAMI                 FL
48604   2C3CCABG4KH585477   Chrysler                        300   CHARLESTON            SC
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48605   2C3CCABG4KH585480   Chrysler                        300   MIAMI                 FL
48606   2C3CCABG4KH585494   Chrysler                        300   MIAMI                 FL
48607   2C3CCABG4KH585544   Chrysler                        300   DETROIT               MI
48608   2C3CCABG4KH589707   Chrysler                        300   CHARLESTON            SC
48609   2C3CCABG4KH589710   Chrysler                        300   Detroit               MI
48610   2C3CCABG4KH589738   Chrysler                        300   FORT LAUDERDALE       FL
48611   2C3CCABG4KH589755   Chrysler                        300   Atlanta               GA
48612   2C3CCABG4KH589769   Chrysler                        300   TAMPA                 FL
48613   2C3CCABG4KH589772   Chrysler                        300   TALLAHASSEE           FL
48614   2C3CCABG4KH589786   Chrysler                        300   KENNESAW              GA
48615   2C3CCABG4KH601032   Chrysler                        300   SAN DIEGO             CA
48616   2C3CCABG4KH601046   Chrysler                        300   LOS ANGELES           CA
48617   2C3CCABG4KH601077   Chrysler                        300   COLORADO SPRING       CO
48618   2C3CCABG4KH601080   Chrysler                        300   SAN DIEGO             CA
48619   2C3CCABG4KH601094   Chrysler                        300   LAS VEGAS             NV
48620   2C3CCABG4KH601127   Chrysler                        300   ONTARIO               CA
48621   2C3CCABG4KH601130   Chrysler                        300   BURBANK               CA
48622   2C3CCABG4KH601144   Chrysler                        300   LOS ANGELES           CA
48623   2C3CCABG4KH601158   Chrysler                        300   PORTLAND              OR
48624   2C3CCABG4KH601161   Chrysler                        300   SAINT PAUL            MN
48625   2C3CCABG4KH601189   Chrysler                        300   MIAMI                 FL
48626   2C3CCABG4KH601192   Chrysler                        300   Detroit               MI
48627   2C3CCABG4KH601208   Chrysler                        300   CLEVELAND             OH
48628   2C3CCABG4KH601211   Chrysler                        300   SARASOTA              FL
48629   2C3CCABG4KH601225   Chrysler                        300   Manheim               PA
48630   2C3CCABG4KH601239   Chrysler                        300   JACKSONVILLE          FL
48631   2C3CCABG4KH601242   Chrysler                        300   CHARLOTTE             NC
48632   2C3CCABG4KH609308   Chrysler                        300   PHILADELPHIA          PA
48633   2C3CCABG4KH609311   Chrysler                        300   FORT LAUDERDALE       FL
48634   2C3CCABG4KH609356   Chrysler                        300   MEMPHIS               TN
48635   2C3CCABG4KH609387   Chrysler                        300   St. Louis             MO
48636   2C3CCABG4KH609390   Chrysler                        300   WOODSON TERRACE       MO
48637   2C3CCABG4KH609406   Chrysler                        300   ROANOKE               VA
48638   2C3CCABG4KH609423   Chrysler                        300   Atlanta               GA
48639   2C3CCABG4KH609437   Chrysler                        300   NEW BERN              NC
48640   2C3CCABG4KH609440   Chrysler                        300   Atlanta               GA
48641   2C3CCABG4KH609454   Chrysler                        300   Riverside             CA
48642   2C3CCABG4KH609504   Chrysler                        300   KNOXVILLE             TN
48643   2C3CCABG4KH617862   Chrysler                        300   SEATAC                WA
48644   2C3CCABG4KH617876   Chrysler                        300   SEATAC                WA
48645   2C3CCABG4KH617893   Chrysler                        300   SEATAC                WA
48646   2C3CCABG4KH617926   Chrysler                        300   ORLANDO               FL
48647   2C3CCABG4KH617957   Chrysler                        300   DETROIT               MI
48648   2C3CCABG4KH617960   Chrysler                        300   CLEVELAND             OH
48649   2C3CCABG4KH617988   Chrysler                        300   BOSTON                MA
48650   2C3CCABG4KH617991   Chrysler                        300   Clarksville           IN
48651   2C3CCABG4KH618008   Chrysler                        300   CHATTANOOGA           TN
48652   2C3CCABG4KH618011   Chrysler                        300   FORT LAUDERDALE       FL
48653   2C3CCABG4KH618042   Chrysler                        300   INDIANAPOLIS          IN
48654   2C3CCABG4KH618073   Chrysler                        300   Detroit               MI
48655   2C3CCABG4KH618087   Chrysler                        300   Bordentown            NJ
48656   2C3CCABG4KH618090   Chrysler                        300   Carleton              MI
48657   2C3CCABG4KH618123   Chrysler                        300   Atlanta               GA
48658   2C3CCABG4KH618137   Chrysler                        300   Atlanta               GA
48659   2C3CCABG4KH618140   Chrysler                        300   PITTSBURGH            PA
48660   2C3CCABG4KH618168   Chrysler                        300   COLLEGE PARK          GA
48661   2C3CCABG4KH618171   Chrysler                        300   CHICAGO               IL
48662   2C3CCABG4KH618185   Chrysler                        300   SAINT PAUL            MN
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48663   2C3CCABG4KH625914   Chrysler                        300   NASHVILLE             TN
48664   2C3CCABG4KH625928   Chrysler                        300   MIAMI                 FL
48665   2C3CCABG4KH625976   Chrysler                        300   North Dighton         MA
48666   2C3CCABG4KH628568   Chrysler                        300   CHARLESTON            SC
48667   2C3CCABG4KH628599   Chrysler                        300   TAMPA                 FL
48668   2C3CCABG4KH628604   Chrysler                        300   STERLING              VA
48669   2C3CCABG4KH628635   Chrysler                        300   BALTIMORE             MD
48670   2C3CCABG4KH628649   Chrysler                        300   CLEVELAND             OH
48671   2C3CCABG4KH628652   Chrysler                        300   HANOVER               MD
48672   2C3CCABG4KH628666   Chrysler                        300   PHILADELPHIA          PA
48673   2C3CCABG4KH628683   Chrysler                        300   NEWARK                NJ
48674   2C3CCABG4KH628697   Chrysler                        300   AUSTIN                TX
48675   2C3CCABG4KH628716   Chrysler                        300   NEWARK                NJ
48676   2C3CCABG4KH628750   Chrysler                        300   Atlanta               GA
48677   2C3CCABG4KH628800   Chrysler                        300   ORLANDO               FL
48678   2C3CCABG4KH628814   Chrysler                        300   CLARKSVILLE           IN
48679   2C3CCABG4KH628828   Chrysler                        300   DAYTON                OH
48680   2C3CCABG4KH628831   Chrysler                        300   INGLEWOOD             CA
48681   2C3CCABG4KH628845   Chrysler                        300   BLOOMINGTON           IL
48682   2C3CCABG4KH628862   Chrysler                        300   ATLANTA               GA
48683   2C3CCABG4KH633981   Chrysler                        300   BURBANK               CA
48684   2C3CCABG4KH633995   Chrysler                        300   SAN DIEGO             CA
48685   2C3CCABG4KH634001   Chrysler                        300   TUCSON                AZ
48686   2C3CCABG4KH634015   Chrysler                        300   LAS VEGAS             NV
48687   2C3CCABG4KH634029   Chrysler                        300   SAN DIEGO             CA
48688   2C3CCABG4KH634032   Chrysler                        300   OAKLAND               CA
48689   2C3CCABG4KH634046   Chrysler                        300   SACRAMENTO            CA
48690   2C3CCABG4KH634063   Chrysler                        300   UNION CITY            GA
48691   2C3CCABG4KH634077   Chrysler                        300   NASHVILLE             TN
48692   2C3CCABG4KH634080   Chrysler                        300   BIRMINGHAM            AL
48693   2C3CCABG4KH635018   Chrysler                        300   STERLING              VA
48694   2C3CCABG4KH635021   Chrysler                        300   ORLANDO               FL
48695   2C3CCABG4KH635035   Chrysler                        300   Tulsa                 OK
48696   2C3CCABG4KH635049   Chrysler                        300   ORLANDO               FL
48697   2C3CCABG4KH635066   Chrysler                        300   CLEVELAND             OH
48698   2C3CCABG4KH635102   Chrysler                        300   WEST COLUMBIA         SC
48699   2C3CCABG4KH637240   Chrysler                        300   MANCHESTER            US
48700   2C3CCABG4KH637254   Chrysler                        300   WILMINGTON            NC
48701   2C3CCABG4KH637285   Chrysler                        300   NEWARK                NJ
48702   2C3CCABG4KH637724   Chrysler                        300   SAINT PAUL            MN
48703   2C3CCABG4KH637755   Chrysler                        300   TAMPA                 FL
48704   2C3CCABG4KH637948   Chrysler                        300   NEWARK                NJ
48705   2C3CCABG4KH637951   Chrysler                        300   DES MOINES            IA
48706   2C3CCABG4KH637965   Chrysler                        300   CHARLOTTE             NC
48707   2C3CCABG4KH637982   Chrysler                        300   ORLANDO               FL
48708   2C3CCABG4KH638095   Chrysler                        300   FORT MYERS            FL
48709   2C3CCABG4KH638100   Chrysler                        300   RONKONKOMA            NY
48710   2C3CCABG4KH638114   Chrysler                        300   PELHAM MANOR          NY
48711   2C3CCABG4KH639084   Chrysler                        300   OKLAHOMA CITY         OK
48712   2C3CCABG4KH639098   Chrysler                        300   DETROIT               MI
48713   2C3CCABG4KH639103   Chrysler                        300   BURBANK               CA
48714   2C3CCABG4KH639117   Chrysler                        300   NORFOLK               VA
48715   2C3CCABG4KH639120   Chrysler                        300   PITTSBURGH            PA
48716   2C3CCABG4KH639814   Chrysler                        300   KNOXVILLE             TN
48717   2C3CCABG4KH639828   Chrysler                        300   ONTARIO               CA
48718   2C3CCABG4KH639831   Chrysler                        300   ORLANDO               FL
48719   2C3CCABG4KH639862   Chrysler                        300   PHOENIX               AZ
48720   2C3CCABG4KH639876   Chrysler                        300   DALLAS                TX
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48721   2C3CCABG4KH640493   Chrysler                        300   Irving                TX
48722   2C3CCABG4KH648030   Chrysler                        300   ORLANDO               FL
48723   2C3CCABG4KH648044   Chrysler                        300   Dallas                TX
48724   2C3CCABG4KH648058   Chrysler                        300   NORFOLK               VA
48725   2C3CCABG4KH651218   Chrysler                        300   NEW YORK CITY         NY
48726   2C3CCABG4KH654023   Chrysler                        300   STERLING              VA
48727   2C3CCABG4KH654037   Chrysler                        300   HARRISBURG            PA
48728   2C3CCABG4KH654040   Chrysler                        300   HANOVER               MD
48729   2C3CCABG4KH654054   Chrysler                        300   WARWICK               RI
48730   2C3CCABG4KH654068   Chrysler                        300   DES MOINES            IA
48731   2C3CCABG4KH654071   Chrysler                        300   PHILADELPHIA          PA
48732   2C3CCABG4KH654085   Chrysler                        300   STERLING              US
48733   2C3CCABG4KH654099   Chrysler                        300   Atlanta               GA
48734   2C3CCABG4KH654104   Chrysler                        300   ORLANDO               FL
48735   2C3CCABG4KH654121   Chrysler                        300   WEST PALM BEACH       FL
48736   2C3CCABG4KH654135   Chrysler                        300   TAMPA                 US
48737   2C3CCABG4KH654149   Chrysler                        300   DETROIT               MI
48738   2C3CCABG4KH654152   Chrysler                        300   Miami                 FL
48739   2C3CCABG4KH654166   Chrysler                        300   SUWANEE               GA
48740   2C3CCABG4KH654202   Chrysler                        300   Raleigh               NC
48741   2C3CCABG4KH654216   Chrysler                        300   LOUISVILLE            KY
48742   2C3CCABG4KH654233   Chrysler                        300   WEST COLUMBIA         SC
48743   2C3CCABG4KH654247   Chrysler                        300   WHITE PLAINS          NY
48744   2C3CCABG4KH654264   Chrysler                        300   PEMBROKE              MA
48745   2C3CCABG4KH654278   Chrysler                        300   HARTFORD              CT
48746   2C3CCABG4KH654281   Chrysler                        300   BOSTON                MA
48747   2C3CCABG4KH654300   Chrysler                        300   UNION CITY            GA
48748   2C3CCABG4KH654331   Chrysler                        300   Teterboro             NJ
48749   2C3CCABG4KH654359   Chrysler                        300   LOS ANGELES           CA
48750   2C3CCABG4KH654376   Chrysler                        300   PHOENIX               AZ
48751   2C3CCABG4KH654393   Chrysler                        300   SAN FRANCISCO         CA
48752   2C3CCABG4KH654409   Chrysler                        300   LOS ANGELES           CA
48753   2C3CCABG4KH654412   Chrysler                        300   ORLANDO               FL
48754   2C3CCABG4KH655267   Chrysler                        300   FORT MYERS            FL
48755   2C3CCABG4KH655270   Chrysler                        300   DETROIT               MI
48756   2C3CCABG4KH655978   Chrysler                        300   LEXINGTON             KY
48757   2C3CCABG4KH655981   Chrysler                        300   SAN DIEGO             CA
48758   2C3CCABG4KH655995   Chrysler                        300   JACKSONVILLE          FL
48759   2C3CCABG4KH656015   Chrysler                        300   PHOENIX               AZ
48760   2C3CCABG4KH659108   Chrysler                        300   PENSACOLA             FL
48761   2C3CCABG4KH659111   Chrysler                        300   GREENSBORO            NC
48762   2C3CCABG4KH660288   Chrysler                        300   ORLANDO               FL
48763   2C3CCABG4KH660291   Chrysler                        300   KANSAS CITY           MO
48764   2C3CCABG4KH660713   Chrysler                        300   SANTA ANA             CA
48765   2C3CCABG4KH661103   Chrysler                        300   SARASOTA              FL
48766   2C3CCABG4KH661117   Chrysler                        300   FORT MYERS            FL
48767   2C3CCABG4KH661120   Chrysler                        300   Tulsa                 OK
48768   2C3CCABG4KH661134   Chrysler                        300   CHICAGO               IL
48769   2C3CCABG4LH141744   Chrysler                        300   KENNER                LA
48770   2C3CCABG5JH214214   Chrysler                        300   KAILUA‐KONA           HI
48771   2C3CCABG5JH243325   Chrysler                        300   Stockton              CA
48772   2C3CCABG5JH244863   Chrysler                        300   North Dighton         MA
48773   2C3CCABG5JH285543   Chrysler                        300   LOS ANGELES           CA
48774   2C3CCABG5KH515065   Chrysler                        300   PHOENIX               AZ
48775   2C3CCABG5KH515079   Chrysler                        300   BURBANK               CA
48776   2C3CCABG5KH515082   Chrysler                        300   LOS ANGELES           CA
48777   2C3CCABG5KH515096   Chrysler                        300   BURBANK               CA
48778   2C3CCABG5KH515101   Chrysler                        300   LOS ANGELES           CA
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48779   2C3CCABG5KH515115   Chrysler                        300   SAN DIEGO             CA
48780   2C3CCABG5KH515132   Chrysler                        300   SEATAC                WA
48781   2C3CCABG5KH515146   Chrysler                        300   LOS ANGELES           CA
48782   2C3CCABG5KH515163   Chrysler                        300   LAS VEGAS             NV
48783   2C3CCABG5KH515180   Chrysler                        300   SANTA ANA             CA
48784   2C3CCABG5KH515194   Chrysler                        300   Lake Elsinore         CA
48785   2C3CCABG5KH515213   Chrysler                        300   BURBANK               CA
48786   2C3CCABG5KH515227   Chrysler                        300   LAS VEGAS             NV
48787   2C3CCABG5KH515230   Chrysler                        300   Kent                  WA
48788   2C3CCABG5KH515244   Chrysler                        300   Lake Elsinore         CA
48789   2C3CCABG5KH515258   Chrysler                        300   LAS VEGAS             NV
48790   2C3CCABG5KH515261   Chrysler                        300   LOS ANGELES           CA
48791   2C3CCABG5KH515289   Chrysler                        300   LOS ANGELES           CA
48792   2C3CCABG5KH515292   Chrysler                        300   Tolleson              AZ
48793   2C3CCABG5KH515311   Chrysler                        300   Sacramento            CA
48794   2C3CCABG5KH515339   Chrysler                        300   DAYTONA BEACH         FL
48795   2C3CCABG5KH515342   Chrysler                        300   DALLAS                TX
48796   2C3CCABG5KH515356   Chrysler                        300   WEST COLUMBIA         SC
48797   2C3CCABG5KH515373   Chrysler                        300   FORT MYERS            FL
48798   2C3CCABG5KH515390   Chrysler                        300   Statesville           NC
48799   2C3CCABG5KH515406   Chrysler                        300   ORLANDO               FL
48800   2C3CCABG5KH515437   Chrysler                        300   DARLINGTON            SC
48801   2C3CCABG5KH515440   Chrysler                        300   FORT MYERS            FL
48802   2C3CCABG5KH515471   Chrysler                        300   GREENSBORO            NC
48803   2C3CCABG5KH515499   Chrysler                        300   MIAMI                 FL
48804   2C3CCABG5KH515504   Chrysler                        300   ORLANDO               FL
48805   2C3CCABG5KH515518   Chrysler                        300   Sanford               FL
48806   2C3CCABG5KH515549   Chrysler                        300   WEST PALM BEACH       FL
48807   2C3CCABG5KH515552   Chrysler                        300   ORLANDO               FL
48808   2C3CCABG5KH515597   Chrysler                        300   TAMPA                 FL
48809   2C3CCABG5KH515602   Chrysler                        300   DARLINGTON            SC
48810   2C3CCABG5KH515616   Chrysler                        300   BIRMINGHAM            AL
48811   2C3CCABG5KH515633   Chrysler                        300   NORFOLK               VA
48812   2C3CCABG5KH515664   Chrysler                        300   FORT MYERS            FL
48813   2C3CCABG5KH515678   Chrysler                        300   GREENVILLE            NC
48814   2C3CCABG5KH515681   Chrysler                        300   Atlanta               GA
48815   2C3CCABG5KH515695   Chrysler                        300   TAMPA                 FL
48816   2C3CCABG5KH515700   Chrysler                        300   GREENSBORO            NC
48817   2C3CCABG5KH515728   Chrysler                        300   Atlanta               GA
48818   2C3CCABG5KH515731   Chrysler                        300   Fairburn              GA
48819   2C3CCABG5KH515745   Chrysler                        300   FT LAUDERDALE         FL
48820   2C3CCABG5KH515759   Chrysler                        300   CLEVELAND             OH
48821   2C3CCABG5KH515762   Chrysler                        300   FORT MYERS            FL
48822   2C3CCABG5KH515776   Chrysler                        300   JACKSONVILLE          FL
48823   2C3CCABG5KH515793   Chrysler                        300   CHARLOTTE             NC
48824   2C3CCABG5KH515812   Chrysler                        300   ORLANDO               FL
48825   2C3CCABG5KH515843   Chrysler                        300   JACKSONVILLE          FL
48826   2C3CCABG5KH515857   Chrysler                        300   ORLANDO               FL
48827   2C3CCABG5KH515860   Chrysler                        300   PITTSBURGH            PA
48828   2C3CCABG5KH515874   Chrysler                        300   LEXINGTON             KY
48829   2C3CCABG5KH515888   Chrysler                        300   TAMPA                 FL
48830   2C3CCABG5KH515891   Chrysler                        300   Hamilton              OH
48831   2C3CCABG5KH515907   Chrysler                        300   Florissant            MO
48832   2C3CCABG5KH515924   Chrysler                        300   Detroit               MI
48833   2C3CCABG5KH515938   Chrysler                        300   FORT LAUDERDALE       FL
48834   2C3CCABG5KH515941   Chrysler                        300   RALIEGH               NC
48835   2C3CCABG5KH515955   Chrysler                        300   Davie                 FL
48836   2C3CCABG5KH515972   Chrysler                        300   ORLANDO               FL
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48837   2C3CCABG5KH515986   Chrysler                        300   MIAMI INT'L AP        FL
48838   2C3CCABG5KH516006   Chrysler                        300   MIAMI                 FL
48839   2C3CCABG5KH516037   Chrysler                        300   MIAMI                 FL
48840   2C3CCABG5KH516040   Chrysler                        300   FORT MYERS            FL
48841   2C3CCABG5KH516104   Chrysler                        300   JACKSONVILLE          FL
48842   2C3CCABG5KH516166   Chrysler                        300   Jacksonville          FL
48843   2C3CCABG5KH516183   Chrysler                        300   COLUMBIA              SC
48844   2C3CCABG5KH516197   Chrysler                        300   STERLING              US
48845   2C3CCABG5KH516202   Chrysler                        300   Tolleson              AZ
48846   2C3CCABG5KH516233   Chrysler                        300   BRONX                 NY
48847   2C3CCABG5KH516247   Chrysler                        300   North Dighton         MA
48848   2C3CCABG5KH516264   Chrysler                        300   KENNER                LA
48849   2C3CCABG5KH516281   Chrysler                        300   Ocoee                 FL
48850   2C3CCABG5KH516300   Chrysler                        300   TAMPA                 FL
48851   2C3CCABG5KH516314   Chrysler                        300   Jacksonville          FL
48852   2C3CCABG5KH516328   Chrysler                        300   NEW BERN              NC
48853   2C3CCABG5KH516345   Chrysler                        300   FORT MYERS            FL
48854   2C3CCABG5KH516359   Chrysler                        300   CHARLOTTE             NC
48855   2C3CCABG5KH516362   Chrysler                        300   Omaha                 NE
48856   2C3CCABG5KH516393   Chrysler                        300   Smithtown             NY
48857   2C3CCABG5KH516412   Chrysler                        300   HOUSTON               TX
48858   2C3CCABG5KH516426   Chrysler                        300   Hartford              CT
48859   2C3CCABG5KH516443   Chrysler                        300   MIAMI                 FL
48860   2C3CCABG5KH516460   Chrysler                        300   ATLANTA               GA
48861   2C3CCABG5KH516474   Chrysler                        300   BURLINGAME            CA
48862   2C3CCABG5KH516510   Chrysler                        300   LOS ANGELES           CA
48863   2C3CCABG5KH516524   Chrysler                        300   Hebron                KY
48864   2C3CCABG5KH516555   Chrysler                        300   SAN JOSE              CA
48865   2C3CCABG5KH516636   Chrysler                        300   Schaumburg            IL
48866   2C3CCABG5KH516667   Chrysler                        300   PENSACOLA             FL
48867   2C3CCABG5KH516670   Chrysler                        300   DAYTONA BEACH         FL
48868   2C3CCABG5KH516698   Chrysler                        300   BIRMINGHAM            AL
48869   2C3CCABG5KH516748   Chrysler                        300   Slidell               LA
48870   2C3CCABG5KH516765   Chrysler                        300   STERLING              VA
48871   2C3CCABG5KH533453   Chrysler                        300   ORLANDO               FL
48872   2C3CCABG5KH533484   Chrysler                        300   FORT LAUDERDALE       FL
48873   2C3CCABG5KH535980   Chrysler                        300   SAN FRANCISCO         CA
48874   2C3CCABG5KH536031   Chrysler                        300   Los Angeles           CA
48875   2C3CCABG5KH536045   Chrysler                        300   SANTA ANA             CA
48876   2C3CCABG5KH536059   Chrysler                        300   ATLANTA               GA
48877   2C3CCABG5KH537826   Chrysler                        300   HOLLY HILL            FL
48878   2C3CCABG5KH537843   Chrysler                        300   FORT MYERS            FL
48879   2C3CCABG5KH537857   Chrysler                        300   ORLANDO               FL
48880   2C3CCABG5KH537888   Chrysler                        300   Clearwater            FL
48881   2C3CCABG5KH537891   Chrysler                        300   Atlanta               GA
48882   2C3CCABG5KH537924   Chrysler                        300   ORLANDO               FL
48883   2C3CCABG5KH538698   Chrysler                        300   FORT LAUDERDALE       FL
48884   2C3CCABG5KH538703   Chrysler                        300   PHILADELPHIA          PA
48885   2C3CCABG5KH538720   Chrysler                        300   TAMPA                 FL
48886   2C3CCABG5KH539396   Chrysler                        300   Warr Acres            OK
48887   2C3CCABG5KH539429   Chrysler                        300   WEST PALM BEACH       FL
48888   2C3CCABG5KH539477   Chrysler                        300   DALLAS                TX
48889   2C3CCABG5KH539561   Chrysler                        300   LOUISVILLE            KY
48890   2C3CCABG5KH539589   Chrysler                        300   LOS ANGELES           CA
48891   2C3CCABG5KH539625   Chrysler                        300   INGLEWOOD             CA
48892   2C3CCABG5KH539639   Chrysler                        300   SANTA ANA             CA
48893   2C3CCABG5KH547904   Chrysler                        300   ATLANTA               GA
48894   2C3CCABG5KH548812   Chrysler                        300   RALEIGH               NC
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48895   2C3CCABG5KH548826   Chrysler                        300   JACKSONVILLE          FL
48896   2C3CCABG5KH548843   Chrysler                        300   STERLING              VA
48897   2C3CCABG5KH548860   Chrysler                        300   TAMPA                 FL
48898   2C3CCABG5KH555436   Chrysler                        300   HOUSTON               TX
48899   2C3CCABG5KH555453   Chrysler                        300   Greensboro            NC
48900   2C3CCABG5KH555470   Chrysler                        300   SANTA ANA             CA
48901   2C3CCABG5KH555484   Chrysler                        300   Statesville           NC
48902   2C3CCABG5KH555498   Chrysler                        300   KNOXVILLE             TN
48903   2C3CCABG5KH559423   Chrysler                        300   Elkridge              MD
48904   2C3CCABG5KH559437   Chrysler                        300   Austin                TX
48905   2C3CCABG5KH559454   Chrysler                        300   NEWARK                NJ
48906   2C3CCABG5KH559566   Chrysler                        300   KNOXVILLE             TN
48907   2C3CCABG5KH559597   Chrysler                        300   Davie                 FL
48908   2C3CCABG5KH559664   Chrysler                        300   BLOOMINGTON           IL
48909   2C3CCABG5KH559681   Chrysler                        300   RALEIGH               NC
48910   2C3CCABG5KH559700   Chrysler                        300   NEW ORLEANS           LA
48911   2C3CCABG5KH559745   Chrysler                        300   Palm Springs          CA
48912   2C3CCABG5KH559762   Chrysler                        300   Tolleson              AZ
48913   2C3CCABG5KH559776   Chrysler                        300   PHOENIX               AZ
48914   2C3CCABG5KH559793   Chrysler                        300   PALM SPRINGS          CA
48915   2C3CCABG5KH561379   Chrysler                        300   Dallas                TX
48916   2C3CCABG5KH561382   Chrysler                        300   Louisville            KY
48917   2C3CCABG5KH561396   Chrysler                        300   LOS ANGELES           CA
48918   2C3CCABG5KH561401   Chrysler                        300   SAN FRANCISCO         CA
48919   2C3CCABG5KH562547   Chrysler                        300   DETROIT               MI
48920   2C3CCABG5KH562595   Chrysler                        300   North Dighton         MA
48921   2C3CCABG5KH562600   Chrysler                        300   TAMPA                 FL
48922   2C3CCABG5KH562631   Chrysler                        300   DETROIT               MI
48923   2C3CCABG5KH562662   Chrysler                        300   MEMPHIS               TN
48924   2C3CCABG5KH562676   Chrysler                        300   Manheim               PA
48925   2C3CCABG5KH562760   Chrysler                        300   Nashville             TN
48926   2C3CCABG5KH562788   Chrysler                        300   LAS VEGAS             NV
48927   2C3CCABG5KH562807   Chrysler                        300   SANTA ANA             CA
48928   2C3CCABG5KH562869   Chrysler                        300   BURBANK               CA
48929   2C3CCABG5KH565948   Chrysler                        300   Teterboro             NJ
48930   2C3CCABG5KH565951   Chrysler                        300   WEST COLUMBIA         SC
48931   2C3CCABG5KH565965   Chrysler                        300   Atlanta               GA
48932   2C3CCABG5KH565979   Chrysler                        300   JACKSON               MS
48933   2C3CCABG5KH565982   Chrysler                        300   KNOXVILLE             TN
48934   2C3CCABG5KH566016   Chrysler                        300   JACKSONVILLE          FL
48935   2C3CCABG5KH566047   Chrysler                        300   STERLING              VA
48936   2C3CCABG5KH566050   Chrysler                        300   WEST PALM BEACH       FL
48937   2C3CCABG5KH569479   Chrysler                        300   Maple Grove           MN
48938   2C3CCABG5KH569482   Chrysler                        300   KENNER                LA
48939   2C3CCABG5KH569529   Chrysler                        300   NEW BERN              NC
48940   2C3CCABG5KH569532   Chrysler                        300   LAS VEGAS             NV
48941   2C3CCABG5KH569580   Chrysler                        300   PHILADELPHIA          PA
48942   2C3CCABG5KH585391   Chrysler                        300   SOUTH SAN FRANC       CA
48943   2C3CCABG5KH585410   Chrysler                        300   LOS ANGELES           CA
48944   2C3CCABG5KH585424   Chrysler                        300   INGLEWOOD             CA
48945   2C3CCABG5KH585438   Chrysler                        300   ORANGE COUNTY         CA
48946   2C3CCABG5KH585441   Chrysler                        300   NORTH HILLS           CA
48947   2C3CCABG5KH585455   Chrysler                        300   MEMPHIS               TN
48948   2C3CCABG5KH585472   Chrysler                        300   STERLING              VA
48949   2C3CCABG5KH585505   Chrysler                        300   ORLANDO               FL
48950   2C3CCABG5KH585536   Chrysler                        300   NORFOLK               VA
48951   2C3CCABG5KH585553   Chrysler                        300   DETROIT               MI
48952   2C3CCABG5KH589702   Chrysler                        300   FORT MYERS            FL
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48953   2C3CCABG5KH589716   Chrysler                        300   WEST PALM BEACH       FL
48954   2C3CCABG5KH589733   Chrysler                        300   FORT MYERS            FL
48955   2C3CCABG5KH589747   Chrysler                        300   Hattiesburg           MS
48956   2C3CCABG5KH589750   Chrysler                        300   NEW BERN              NC
48957   2C3CCABG5KH589764   Chrysler                        300   TAMPA                 FL
48958   2C3CCABG5KH589781   Chrysler                        300   FORT MYERS            FL
48959   2C3CCABG5KH601038   Chrysler                        300   SANTA ANA             CA
48960   2C3CCABG5KH601041   Chrysler                        300   LOS ANGELES           CA
48961   2C3CCABG5KH601072   Chrysler                        300   LOS ANGELES           CA
48962   2C3CCABG5KH601086   Chrysler                        300   ORANGE COUNTY         CA
48963   2C3CCABG5KH601119   Chrysler                        300   LAS VEGAS             NV
48964   2C3CCABG5KH601153   Chrysler                        300   SACRAMENTO            CA
48965   2C3CCABG5KH601170   Chrysler                        300   Culver City           CA
48966   2C3CCABG5KH601184   Chrysler                        300   DETROIT               MI
48967   2C3CCABG5KH601198   Chrysler                        300   ATLANTA               GA
48968   2C3CCABG5KH601203   Chrysler                        300   Hebron                KY
48969   2C3CCABG5KH601217   Chrysler                        300   WEST COLUMBIA         SC
48970   2C3CCABG5KH601220   Chrysler                        300   DES PLAINES           IL
48971   2C3CCABG5KH609334   Chrysler                        300   DES PLAINES           US
48972   2C3CCABG5KH609348   Chrysler                        300   KNOXVILLE             TN
48973   2C3CCABG5KH609351   Chrysler                        300   SOUTHEAST DST OFFC    OK
48974   2C3CCABG5KH609382   Chrysler                        300   NEW BERN              NC
48975   2C3CCABG5KH609396   Chrysler                        300   BLOOMINGTON           IL
48976   2C3CCABG5KH609401   Chrysler                        300   Smithtown             NY
48977   2C3CCABG5KH609415   Chrysler                        300   FORT LAUDERDALE       FL
48978   2C3CCABG5KH609429   Chrysler                        300   KNOXVILLE             TN
48979   2C3CCABG5KH609446   Chrysler                        300   INDIANAPOLIS          IN
48980   2C3CCABG5KH609477   Chrysler                        300   DENVER                CO
48981   2C3CCABG5KH609480   Chrysler                        300   LOS ANGELES           CA
48982   2C3CCABG5KH617868   Chrysler                        300   SEATAC                WA
48983   2C3CCABG5KH617871   Chrysler                        300   SAN JOSE              CA
48984   2C3CCABG5KH617885   Chrysler                        300   FEDERAL WAY           WA
48985   2C3CCABG5KH617899   Chrysler                        300   SEATAC                WA
48986   2C3CCABG5KH617904   Chrysler                        300   SEATAC                WA
48987   2C3CCABG5KH617918   Chrysler                        300   BIRMINGHAM            AL
48988   2C3CCABG5KH617935   Chrysler                        300   FORT MYERS            FL
48989   2C3CCABG5KH617949   Chrysler                        300   BLOOMINGTON           IL
48990   2C3CCABG5KH617952   Chrysler                        300   MEBANE                NC
48991   2C3CCABG5KH617983   Chrysler                        300   DETROIT               MI
48992   2C3CCABG5KH617997   Chrysler                        300   RONKONKOMA            NY
48993   2C3CCABG5KH618003   Chrysler                        300   INDIANAPOLIS          IN
48994   2C3CCABG5KH618017   Chrysler                        300   PITTSBURGH            PA
48995   2C3CCABG5KH618020   Chrysler                        300   Florissant            MO
48996   2C3CCABG5KH618034   Chrysler                        300   PITTSBURGH            PA
48997   2C3CCABG5KH618051   Chrysler                        300   Los Angeles           CA
48998   2C3CCABG5KH618065   Chrysler                        300   KANSAS CITY           MO
48999   2C3CCABG5KH618079   Chrysler                        300   Tampa                 FL
49000   2C3CCABG5KH618082   Chrysler                        300   GRAND RAPIDS          MI
49001   2C3CCABG5KH618115   Chrysler                        300   TAMPA                 FL
49002   2C3CCABG5KH618129   Chrysler                        300   CHICAGO               IL
49003   2C3CCABG5KH618163   Chrysler                        300   Atlanta               GA
49004   2C3CCABG5KH618177   Chrysler                        300   DES MOINES            IA
49005   2C3CCABG5KH625923   Chrysler                        300   LOS ANGELES           CA
49006   2C3CCABG5KH625940   Chrysler                        300   CHICAGO               IL
49007   2C3CCABG5KH625954   Chrysler                        300   JACKSON               MS
49008   2C3CCABG5KH625968   Chrysler                        300   GREENWOOD             IN
49009   2C3CCABG5KH625971   Chrysler                        300   DES MOINES            IA
49010   2C3CCABG5KH628577   Chrysler                        300   KNOXVILLE             TN
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49011   2C3CCABG5KH628580   Chrysler                        300   TAMPA                 FL
49012   2C3CCABG5KH628594   Chrysler                        300   MILWAUKEE             WI
49013   2C3CCABG5KH628613   Chrysler                        300   CLEVELAND             OH
49014   2C3CCABG5KH628627   Chrysler                        300   DARLINGTON            SC
49015   2C3CCABG5KH628644   Chrysler                        300   LOS ANGELES           CA
49016   2C3CCABG5KH628658   Chrysler                        300   ALBANY                NY
49017   2C3CCABG5KH628661   Chrysler                        300   FISHKILL              NY
49018   2C3CCABG5KH628675   Chrysler                        300   Cranberry Towns       PA
49019   2C3CCABG5KH628689   Chrysler                        300   CHARLESTON            WV
49020   2C3CCABG5KH628708   Chrysler                        300   FORT LAUDERDALE       FL
49021   2C3CCABG5KH628711   Chrysler                        300   DETROIT               MI
49022   2C3CCABG5KH628739   Chrysler                        300   PITTSBURGH            PA
49023   2C3CCABG5KH628742   Chrysler                        300   LOUISVILLE            KY
49024   2C3CCABG5KH628756   Chrysler                        300   SAINT LOUIS           MO
49025   2C3CCABG5KH628773   Chrysler                        300   EGG HARBOR TOWN       NJ
49026   2C3CCABG5KH628790   Chrysler                        300   Southaven             MS
49027   2C3CCABG5KH628806   Chrysler                        300   NORFOLK               VA
49028   2C3CCABG5KH628840   Chrysler                        300   OMAHA                 NE
49029   2C3CCABG5KH628871   Chrysler                        300   WHITE PLAINS          NY
49030   2C3CCABG5KH633987   Chrysler                        300   SAN FRANCISCO         CA
49031   2C3CCABG5KH633990   Chrysler                        300   BURBANK               CA
49032   2C3CCABG5KH634007   Chrysler                        300   ORANGE COUNTY         CA
49033   2C3CCABG5KH634010   Chrysler                        300   PALM S                CA
49034   2C3CCABG5KH634038   Chrysler                        300   LAS VEGAS             NV
49035   2C3CCABG5KH634041   Chrysler                        300   Sacramento            CA
49036   2C3CCABG5KH634055   Chrysler                        300   LOS ANGELES           CA
49037   2C3CCABG5KH634069   Chrysler                        300   FAYETTEVILLE          GA
49038   2C3CCABG5KH634072   Chrysler                        300   PITTSBURGH            PA
49039   2C3CCABG5KH635013   Chrysler                        300   KNOXVILLE             TN
49040   2C3CCABG5KH635030   Chrysler                        300   BOSTON, LOGAN AP      MA
49041   2C3CCABG5KH635044   Chrysler                        300   SYRACUSE              NY
49042   2C3CCABG5KH635058   Chrysler                        300   RALEIGH               NC
49043   2C3CCABG5KH635075   Chrysler                        300   PITTSBURGH            PA
49044   2C3CCABG5KH635089   Chrysler                        300   CHARLOTTESVILLE       VA
49045   2C3CCABG5KH635092   Chrysler                        300   MINNEAPOLIS           MN
49046   2C3CCABG5KH635108   Chrysler                        300   NEW BERN              NC
49047   2C3CCABG5KH635111   Chrysler                        300   BUFFALO               NY
49048   2C3CCABG5KH637246   Chrysler                        300   FORT LAUDERDALE       FL
49049   2C3CCABG5KH637263   Chrysler                        300   CHARLESTON            SC
49050   2C3CCABG5KH637277   Chrysler                        300   NORWALK               OH
49051   2C3CCABG5KH637716   Chrysler                        300   MIAMI                 FL
49052   2C3CCABG5KH637747   Chrysler                        300   ORLANDO               FL
49053   2C3CCABG5KH637750   Chrysler                        300   PITTSBURGH            PA
49054   2C3CCABG5KH637764   Chrysler                        300   PHILADELPHIA          PA
49055   2C3CCABG5KH637943   Chrysler                        300   Atlanta               GA
49056   2C3CCABG5KH637957   Chrysler                        300   BALTIMORE             MD
49057   2C3CCABG5KH637960   Chrysler                        300   PHILADELPHIA          PA
49058   2C3CCABG5KH637974   Chrysler                        300   WEST PALM BEACH       FL
49059   2C3CCABG5KH637988   Chrysler                        300   KENNER                LA
49060   2C3CCABG5KH637991   Chrysler                        300   ORLANDO               FL
49061   2C3CCABG5KH638106   Chrysler                        300   Hebron                KY
49062   2C3CCABG5KH639093   Chrysler                        300   CLEVELAND             OH
49063   2C3CCABG5KH639112   Chrysler                        300   BOSTON                MA
49064   2C3CCABG5KH639126   Chrysler                        300   COLLEGE PARK          GA
49065   2C3CCABG5KH639806   Chrysler                        300   LOS ANGELES           CA
49066   2C3CCABG5KH639823   Chrysler                        300   PHILADELPHIA          PA
49067   2C3CCABG5KH639837   Chrysler                        300   DALLAS                TX
49068   2C3CCABG5KH639840   Chrysler                        300   KENNER                LA
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49069   2C3CCABG5KH639854   Chrysler                        300   HOUSTON               TX
49070   2C3CCABG5KH639871   Chrysler                        300   KANSAS CITY           MO
49071   2C3CCABG5KH648053   Chrysler                        300   BALTIMORE             MD
49072   2C3CCABG5KH648067   Chrysler                        300   PITTSBURGH            PA
49073   2C3CCABG5KH654015   Chrysler                        300   WEST COLUMBIA         SC
49074   2C3CCABG5KH654029   Chrysler                        300   NEWARK                NJ
49075   2C3CCABG5KH654032   Chrysler                        300   TAMPA                 FL
49076   2C3CCABG5KH654046   Chrysler                        300   ATLANTA               GA
49077   2C3CCABG5KH654063   Chrysler                        300   GREENVILLE            NC
49078   2C3CCABG5KH654077   Chrysler                        300   PORTLAND              ME
49079   2C3CCABG5KH654080   Chrysler                        300   NEW YORK CITY         NY
49080   2C3CCABG5KH654094   Chrysler                        300   FORT MYERS            FL
49081   2C3CCABG5KH654113   Chrysler                        300   FORT LAUDERDALE       FL
49082   2C3CCABG5KH654127   Chrysler                        300   WOODSON TERRACE       MO
49083   2C3CCABG5KH654144   Chrysler                        300   CHICAGO               IL
49084   2C3CCABG5KH654175   Chrysler                        300   RICHMOND              VA
49085   2C3CCABG5KH654189   Chrysler                        300   EGG HARBOR TOWN       NJ
49086   2C3CCABG5KH654192   Chrysler                        300   BOSTON                MA
49087   2C3CCABG5KH654208   Chrysler                        300   BALTIMORE             MD
49088   2C3CCABG5KH654211   Chrysler                        300   PHILADELPHIA          PA
49089   2C3CCABG5KH654239   Chrysler                        300   CLEVELAND             OH
49090   2C3CCABG5KH654242   Chrysler                        300   CLEVELAND             OH
49091   2C3CCABG5KH654256   Chrysler                        300   MYRTLE BEACH          SC
49092   2C3CCABG5KH654273   Chrysler                        300   Atlanta               GA
49093   2C3CCABG5KH654287   Chrysler                        300   PHILADELPHIA          PA
49094   2C3CCABG5KH654323   Chrysler                        300   CLEVELAND             OH
49095   2C3CCABG5KH654340   Chrysler                        300   PHOENIX               AZ
49096   2C3CCABG5KH654368   Chrysler                        300   LAS VEGAS             NV
49097   2C3CCABG5KH654399   Chrysler                        300   LOS ANGELES           CA
49098   2C3CCABG5KH654404   Chrysler                        300   Scottsdale            AZ
49099   2C3CCABG5KH654421   Chrysler                        300   LAS VEGAS             NV
49100   2C3CCABG5KH655259   Chrysler                        300   GRAND RAPIDS          MI
49101   2C3CCABG5KH655262   Chrysler                        300   HANOVER               MD
49102   2C3CCABG5KH655987   Chrysler                        300   BURBANK               CA
49103   2C3CCABG5KH655990   Chrysler                        300   ORLANDO               FL
49104   2C3CCABG5KH659098   Chrysler                        300   PORTLAND              OR
49105   2C3CCABG5KH659117   Chrysler                        300   PHOENIX               AZ
49106   2C3CCABG5KH659120   Chrysler                        300   PHOENIX               AZ
49107   2C3CCABG5KH660283   Chrysler                        300   DES PLAINES           US
49108   2C3CCABG5KH660719   Chrysler                        300   NEW ORLEANS           LA
49109   2C3CCABG5KH661109   Chrysler                        300   MILWAUKEE             WI
49110   2C3CCABG5KH661112   Chrysler                        300   DETROIT               MI
49111   2C3CCABG5KH661126   Chrysler                        300   CHARLOTTE             NC
49112   2C3CCABG5LH137248   Chrysler                        300   JACKSON               MS
49113   2C3CCABG5LH137251   Chrysler                        300   KENNER                LA
49114   2C3CCABG5LH141753   Chrysler                        300   ATLANTA               GA
49115   2C3CCABG5LH145706   Chrysler                        300   PENSACOLA             FL
49116   2C3CCABG6HH664769   Chrysler                        300   Hayward               CA
49117   2C3CCABG6JH240143   Chrysler                        300   PORTLAND              OR
49118   2C3CCABG6JH269738   Chrysler                        300   San Diego             CA
49119   2C3CCABG6JH269741   Chrysler                        300   North Dighton         MA
49120   2C3CCABG6KH515074   Chrysler                        300   LOS ANGELES           CA
49121   2C3CCABG6KH515138   Chrysler                        300   Fontana               CA
49122   2C3CCABG6KH515172   Chrysler                        300   BURBANK               CA
49123   2C3CCABG6KH515186   Chrysler                        300   BURBANK               CA
49124   2C3CCABG6KH515205   Chrysler                        300   SANTA ANA             CA
49125   2C3CCABG6KH515219   Chrysler                        300   SACRAMENTO            CA
49126   2C3CCABG6KH515222   Chrysler                        300   SAN FRANCISCO         CA
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49127   2C3CCABG6KH515236   Chrysler                        300   Kansas City           MO
49128   2C3CCABG6KH515253   Chrysler                        300   LOS ANGELES           CA
49129   2C3CCABG6KH515270   Chrysler                        300   BURBANK               CA
49130   2C3CCABG6KH515284   Chrysler                        300   Phoenix               AZ
49131   2C3CCABG6KH515298   Chrysler                        300   LAS VEGAS             NV
49132   2C3CCABG6KH515303   Chrysler                        300   SAN FRANCISCO         CA
49133   2C3CCABG6KH515334   Chrysler                        300   TAMPA                 FL
49134   2C3CCABG6KH515348   Chrysler                        300   FORT LAUDERDALE       FL
49135   2C3CCABG6KH515382   Chrysler                        300   ORLANDO               FL
49136   2C3CCABG6KH515396   Chrysler                        300   WEST PALM BEACH       FL
49137   2C3CCABG6KH515401   Chrysler                        300   DETROIT               MI
49138   2C3CCABG6KH515415   Chrysler                        300   STERLING              US
49139   2C3CCABG6KH515429   Chrysler                        300   Greensboro            NC
49140   2C3CCABG6KH515446   Chrysler                        300   Atlanta               GA
49141   2C3CCABG6KH515477   Chrysler                        300   ORLANDO               FL
49142   2C3CCABG6KH515494   Chrysler                        300   Miami                 FL
49143   2C3CCABG6KH515527   Chrysler                        300   SARASOTA              FL
49144   2C3CCABG6KH515544   Chrysler                        300   SARASOTA              FL
49145   2C3CCABG6KH515558   Chrysler                        300   North Dighton         MA
49146   2C3CCABG6KH515561   Chrysler                        300   KENNER                LA
49147   2C3CCABG6KH515575   Chrysler                        300   TAMPA                 FL
49148   2C3CCABG6KH515592   Chrysler                        300   SOUTHEAST DST OFFC    OK
49149   2C3CCABG6KH515611   Chrysler                        300   WEST COLUMBIA         SC
49150   2C3CCABG6KH515625   Chrysler                        300   RONKONKOMA            NY
49151   2C3CCABG6KH515642   Chrysler                        300   PENSACOLA             FL
49152   2C3CCABG6KH515656   Chrysler                        300   SAVANNAH              GA
49153   2C3CCABG6KH515673   Chrysler                        300   FORT MYERS            FL
49154   2C3CCABG6KH515690   Chrysler                        300   FORT LAUDERDALE       FL
49155   2C3CCABG6KH515706   Chrysler                        300   PHILADELPHIA          PA
49156   2C3CCABG6KH515723   Chrysler                        300   NEW BERN              NC
49157   2C3CCABG6KH515737   Chrysler                        300   FORT MYERS            FL
49158   2C3CCABG6KH515740   Chrysler                        300   TAMPA                 FL
49159   2C3CCABG6KH515768   Chrysler                        300   TAMPA                 FL
49160   2C3CCABG6KH515771   Chrysler                        300   MIAMI                 FL
49161   2C3CCABG6KH515785   Chrysler                        300   ORLANDO               FL
49162   2C3CCABG6KH515799   Chrysler                        300   MIAMI                 FL
49163   2C3CCABG6KH515804   Chrysler                        300   Marietta              GA
49164   2C3CCABG6KH515818   Chrysler                        300   ORLANDO               FL
49165   2C3CCABG6KH515821   Chrysler                        300   PHILADELPHIA          PA
49166   2C3CCABG6KH515849   Chrysler                        300   FORT LAUDERDALE       FL
49167   2C3CCABG6KH515852   Chrysler                        300   WEST PALM BEACH       FL
49168   2C3CCABG6KH515866   Chrysler                        300   WEST PALM BEACH       FL
49169   2C3CCABG6KH515883   Chrysler                        300   TAMPA                 FL
49170   2C3CCABG6KH515897   Chrysler                        300   WHITE PLAINS          NY
49171   2C3CCABG6KH515916   Chrysler                        300   FORT MYERS            FL
49172   2C3CCABG6KH515947   Chrysler                        300   ORLANDO               FL
49173   2C3CCABG6KH515950   Chrysler                        300   North Dighton         MA
49174   2C3CCABG6KH515964   Chrysler                        300   FORT LAUDERDALE       FL
49175   2C3CCABG6KH515981   Chrysler                        300   ORLANDO               FL
49176   2C3CCABG6KH515995   Chrysler                        300   TAMPA                 FL
49177   2C3CCABG6KH516015   Chrysler                        300   Fayetteville          NC
49178   2C3CCABG6KH516029   Chrysler                        300   Jacksonville          FL
49179   2C3CCABG6KH516032   Chrysler                        300   CATONSVILLE           MD
49180   2C3CCABG6KH516063   Chrysler                        300   FORT MYERS            FL
49181   2C3CCABG6KH516080   Chrysler                        300   Bordentown            NJ
49182   2C3CCABG6KH516144   Chrysler                        300   RALIEGH               NC
49183   2C3CCABG6KH516158   Chrysler                        300   Atlanta               GA
49184   2C3CCABG6KH516161   Chrysler                        300   MIAMI                 FL
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49185   2C3CCABG6KH516175   Chrysler                        300   STERLING              VA
49186   2C3CCABG6KH516208   Chrysler                        300   Atlanta               GA
49187   2C3CCABG6KH516242   Chrysler                        300   WILMINGTON            NC
49188   2C3CCABG6KH516256   Chrysler                        300   PITTSBURGH            PA
49189   2C3CCABG6KH516287   Chrysler                        300   Atlanta               GA
49190   2C3CCABG6KH516306   Chrysler                        300   Atlanta               GA
49191   2C3CCABG6KH516323   Chrysler                        300   Manheim               PA
49192   2C3CCABG6KH516340   Chrysler                        300   FORT MYERS            FL
49193   2C3CCABG6KH516404   Chrysler                        300   ATLANTA               GA
49194   2C3CCABG6KH516516   Chrysler                        300   LOS ANGELES           CA
49195   2C3CCABG6KH516533   Chrysler                        300   LOS ANGELES           CA
49196   2C3CCABG6KH516550   Chrysler                        300   Reno                  NV
49197   2C3CCABG6KH516564   Chrysler                        300   LOS ANGELES           CA
49198   2C3CCABG6KH516581   Chrysler                        300   Detroit               MI
49199   2C3CCABG6KH516595   Chrysler                        300   JACKSONVILLE          FL
49200   2C3CCABG6KH516628   Chrysler                        300   BALTIMORE             MD
49201   2C3CCABG6KH516676   Chrysler                        300   Hamilton              OH
49202   2C3CCABG6KH516693   Chrysler                        300   DETROIT               MI
49203   2C3CCABG6KH516757   Chrysler                        300   TAMPA                 US
49204   2C3CCABG6KH533428   Chrysler                        300   FAYETTEVILLE          GA
49205   2C3CCABG6KH533431   Chrysler                        300   MOBILE                AL
49206   2C3CCABG6KH533445   Chrysler                        300   NEWARK                NJ
49207   2C3CCABG6KH533459   Chrysler                        300   CHICAGO               IL
49208   2C3CCABG6KH533462   Chrysler                        300   WEST PALM BEACH       FL
49209   2C3CCABG6KH535986   Chrysler                        300   KENNER                LA
49210   2C3CCABG6KH536037   Chrysler                        300   LOS ANGELES           CA
49211   2C3CCABG6KH536054   Chrysler                        300   SANTA ANA             CA
49212   2C3CCABG6KH537835   Chrysler                        300   RALIEGH               NC
49213   2C3CCABG6KH537849   Chrysler                        300   MIAMI                 FL
49214   2C3CCABG6KH537866   Chrysler                        300   NEWARK                NJ
49215   2C3CCABG6KH537883   Chrysler                        300   North Dighton         MA
49216   2C3CCABG6KH537897   Chrysler                        300   Sanford               FL
49217   2C3CCABG6KH537916   Chrysler                        300   Tampa                 FL
49218   2C3CCABG6KH538693   Chrysler                        300   Warr Acres            OK
49219   2C3CCABG6KH538709   Chrysler                        300   FORT LAUDERDALE       FL
49220   2C3CCABG6KH538726   Chrysler                        300   DAYTONA BEACH         FL
49221   2C3CCABG6KH538743   Chrysler                        300   DAYTONA BEACH         FL
49222   2C3CCABG6KH539391   Chrysler                        300   Omaha                 NE
49223   2C3CCABG6KH539469   Chrysler                        300   Kansas City           MO
49224   2C3CCABG6KH539536   Chrysler                        300   PHILADELPHIA          PA
49225   2C3CCABG6KH539570   Chrysler                        300   SACRAMENTO            CA
49226   2C3CCABG6KH539584   Chrysler                        300   LAS VEGAS             NV
49227   2C3CCABG6KH539598   Chrysler                        300   LOS ANGELES           CA
49228   2C3CCABG6KH539603   Chrysler                        300   SAN DIEGO             CA
49229   2C3CCABG6KH539617   Chrysler                        300   LOS ANGELES           CA
49230   2C3CCABG6KH542369   Chrysler                        300   SAN ANTONIO           TX
49231   2C3CCABG6KH542405   Chrysler                        300   SAN DIEGO             CA
49232   2C3CCABG6KH548818   Chrysler                        300   WEST PALM BEACH       FL
49233   2C3CCABG6KH548849   Chrysler                        300   TAMPA                 FL
49234   2C3CCABG6KH548866   Chrysler                        300   DENVER                CO
49235   2C3CCABG6KH555428   Chrysler                        300   Warr Acres            OK
49236   2C3CCABG6KH555476   Chrysler                        300   FORT MYERS            FL
49237   2C3CCABG6KH555543   Chrysler                        300   SARASOTA              FL
49238   2C3CCABG6KH559429   Chrysler                        300   BIRMINGHAM            AL
49239   2C3CCABG6KH559432   Chrysler                        300   MEMPHIS               TN
49240   2C3CCABG6KH559463   Chrysler                        300   DETROIT               MI
49241   2C3CCABG6KH559480   Chrysler                        300   DALLAS                TX
49242   2C3CCABG6KH559527   Chrysler                        300   ORLANDO               FL
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49243   2C3CCABG6KH559530   Chrysler                        300   RALEIGH               NC
49244   2C3CCABG6KH559544   Chrysler                        300   Live Oak              TX
49245   2C3CCABG6KH559575   Chrysler                        300   SEA TAC               WA
49246   2C3CCABG6KH559639   Chrysler                        300   Stone Mountain        GA
49247   2C3CCABG6KH559656   Chrysler                        300   Ft. Myers             FL
49248   2C3CCABG6KH559687   Chrysler                        300   WEST PALM BEACH       FL
49249   2C3CCABG6KH559706   Chrysler                        300   NORFOLK               VA
49250   2C3CCABG6KH559737   Chrysler                        300   ORANGE COUNTY         CA
49251   2C3CCABG6KH559740   Chrysler                        300   LOS ANGELES           CA
49252   2C3CCABG6KH559754   Chrysler                        300   SANTA ANA             CA
49253   2C3CCABG6KH559768   Chrysler                        300   LOS ANGELES           CA
49254   2C3CCABG6KH559799   Chrysler                        300   LOS ANGELES           CA
49255   2C3CCABG6KH559818   Chrysler                        300   BURBANK               CA
49256   2C3CCABG6KH559821   Chrysler                        300   SANTA ANA             CA
49257   2C3CCABG6KH559835   Chrysler                        300   Portland              OR
49258   2C3CCABG6KH559849   Chrysler                        300   SACRAMENTO            CA
49259   2C3CCABG6KH559852   Chrysler                        300   SAN JOSE              CA
49260   2C3CCABG6KH561391   Chrysler                        300   NEW BERN              NC
49261   2C3CCABG6KH562587   Chrysler                        300   KNOXVILLE             TN
49262   2C3CCABG6KH562640   Chrysler                        300   FORT MYERS            FL
49263   2C3CCABG6KH562671   Chrysler                        300   Davie                 FL
49264   2C3CCABG6KH562685   Chrysler                        300   Cincinnati            OH
49265   2C3CCABG6KH562735   Chrysler                        300   FORT MYERS            FL
49266   2C3CCABG6KH562752   Chrysler                        300   ALLENTOWN             US
49267   2C3CCABG6KH562766   Chrysler                        300   WEST PALM BEACH       FL
49268   2C3CCABG6KH562802   Chrysler                        300   PALM SPRINGS          CA
49269   2C3CCABG6KH562816   Chrysler                        300   LOS ANGELES           CA
49270   2C3CCABG6KH562833   Chrysler                        300   FRESNO                CA
49271   2C3CCABG6KH562847   Chrysler                        300   Los Angeles           CA
49272   2C3CCABG6KH562850   Chrysler                        300   LOS ANGELES           CA
49273   2C3CCABG6KH562864   Chrysler                        300   ORANGE COUNTY         CA
49274   2C3CCABG6KH565957   Chrysler                        300   WEST PALM BEACH       FL
49275   2C3CCABG6KH565974   Chrysler                        300   DAVIE                 FL
49276   2C3CCABG6KH565988   Chrysler                        300   ORLANDO               FL
49277   2C3CCABG6KH565991   Chrysler                        300   TAMPA                 FL
49278   2C3CCABG6KH566025   Chrysler                        300   Miami                 FL
49279   2C3CCABG6KH566039   Chrysler                        300   ORLANDO               FL
49280   2C3CCABG6KH566042   Chrysler                        300   WEST PALM BEACH       FL
49281   2C3CCABG6KH566056   Chrysler                        300   WEST COLUMBIA         SC
49282   2C3CCABG6KH569474   Chrysler                        300   JACKSONVILLE          FL
49283   2C3CCABG6KH569488   Chrysler                        300   TAMPA                 FL
49284   2C3CCABG6KH569491   Chrysler                        300   PENSACOLA             FL
49285   2C3CCABG6KH569510   Chrysler                        300   DETROIT               MI
49286   2C3CCABG6KH569524   Chrysler                        300   DARLINGTON            SC
49287   2C3CCABG6KH569555   Chrysler                        300   Winston‐Salem         NC
49288   2C3CCABG6KH569569   Chrysler                        300   NEW ORLEANS           LA
49289   2C3CCABG6KH585397   Chrysler                        300   SAN DIEGO             CA
49290   2C3CCABG6KH585433   Chrysler                        300   LOS ANGELES           CA
49291   2C3CCABG6KH585447   Chrysler                        300   EULESS                TX
49292   2C3CCABG6KH585450   Chrysler                        300   PALM SPRINGS          CA
49293   2C3CCABG6KH585464   Chrysler                        300   ORLANDO               FL
49294   2C3CCABG6KH585495   Chrysler                        300   MYRTLE BEACH          SC
49295   2C3CCABG6KH585514   Chrysler                        300   SAN FRANCISCO         CA
49296   2C3CCABG6KH585528   Chrysler                        300   WEST PALM BEACH       FL
49297   2C3CCABG6KH585545   Chrysler                        300   FORT MYERS            FL
49298   2C3CCABG6KH589708   Chrysler                        300   FORT MYERS            FL
49299   2C3CCABG6KH589711   Chrysler                        300   Atlanta               GA
49300   2C3CCABG6KH589725   Chrysler                        300   MEDINA                OH
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49301   2C3CCABG6KH589739   Chrysler                        300   DETROIT               MI
49302   2C3CCABG6KH589742   Chrysler                        300   MIAMI                 FL
49303   2C3CCABG6KH589756   Chrysler                        300   SARASOTA              FL
49304   2C3CCABG6KH589773   Chrysler                        300   NEW BERN              NC
49305   2C3CCABG6KH589787   Chrysler                        300   FORT LAUDERDALE       FL
49306   2C3CCABG6KH589790   Chrysler                        300   MIAMI                 FL
49307   2C3CCABG6KH601033   Chrysler                        300   LOS ANGELES           CA
49308   2C3CCABG6KH601050   Chrysler                        300   Salt Lake City        UT
49309   2C3CCABG6KH601064   Chrysler                        300   LOS ANGELES           CA
49310   2C3CCABG6KH601078   Chrysler                        300   SAN FRANCISCO         CA
49311   2C3CCABG6KH601081   Chrysler                        300   SALT LAKE CITY        UT
49312   2C3CCABG6KH601100   Chrysler                        300   LAS VEGAS             NV
49313   2C3CCABG6KH601114   Chrysler                        300   RENO                  NV
49314   2C3CCABG6KH601128   Chrysler                        300   Riverside             CA
49315   2C3CCABG6KH601159   Chrysler                        300   ONTARIO               CA
49316   2C3CCABG6KH601162   Chrysler                        300   SEATAC                WA
49317   2C3CCABG6KH601176   Chrysler                        300   ORLANDO               FL
49318   2C3CCABG6KH601193   Chrysler                        300   WEST PALM BEACH       FL
49319   2C3CCABG6KH601209   Chrysler                        300   DETROIT               MI
49320   2C3CCABG6KH609309   Chrysler                        300   CHEEKTOWAGA           NY
49321   2C3CCABG6KH609312   Chrysler                        300   NASHVILLE             TN
49322   2C3CCABG6KH609326   Chrysler                        300   ORLANDO               FL
49323   2C3CCABG6KH609343   Chrysler                        300   JACKSON               MS
49324   2C3CCABG6KH609357   Chrysler                        300   Wichita               KS
49325   2C3CCABG6KH609374   Chrysler                        300   LOS ANGELES           CA
49326   2C3CCABG6KH609388   Chrysler                        300   STERLING              VA
49327   2C3CCABG6KH609424   Chrysler                        300   PHILADELPHIA          PA
49328   2C3CCABG6KH609441   Chrysler                        300   RONKONKOMA            NY
49329   2C3CCABG6KH609455   Chrysler                        300   DENVER                CO
49330   2C3CCABG6KH609472   Chrysler                        300   PHOENIX               AZ
49331   2C3CCABG6KH609486   Chrysler                        300   PHOENIX               AZ
49332   2C3CCABG6KH609505   Chrysler                        300   LOS ANGELES           CA
49333   2C3CCABG6KH617863   Chrysler                        300   PORTLAND              OR
49334   2C3CCABG6KH617877   Chrysler                        300   Bordentown            NJ
49335   2C3CCABG6KH617880   Chrysler                        300   LAS VEGAS             NV
49336   2C3CCABG6KH617894   Chrysler                        300   SACRAMENTO            CA
49337   2C3CCABG6KH617913   Chrysler                        300   MIAMI                 FL
49338   2C3CCABG6KH617927   Chrysler                        300   Baltimore             MD
49339   2C3CCABG6KH617930   Chrysler                        300   WEST PALM BEACH       FL
49340   2C3CCABG6KH617944   Chrysler                        300   TAMPA                 FL
49341   2C3CCABG6KH617958   Chrysler                        300   CLEVELAND             OH
49342   2C3CCABG6KH617961   Chrysler                        300   Omaha                 NE
49343   2C3CCABG6KH617989   Chrysler                        300   SAINT LOUIS           MO
49344   2C3CCABG6KH617992   Chrysler                        300   DETROIT               MI
49345   2C3CCABG6KH618012   Chrysler                        300   ORLANDO               FL
49346   2C3CCABG6KH618057   Chrysler                        300   Leesburg              VA
49347   2C3CCABG6KH618060   Chrysler                        300   INDIANAPOLIS          IN
49348   2C3CCABG6KH618074   Chrysler                        300   DETROIT               MI
49349   2C3CCABG6KH618088   Chrysler                        300   WEST COLUMBIA         SC
49350   2C3CCABG6KH618091   Chrysler                        300   PHILADELPHIA          PA
49351   2C3CCABG6KH618110   Chrysler                        300   WOODSON TERRACE       MO
49352   2C3CCABG6KH618138   Chrysler                        300   Tolleson              AZ
49353   2C3CCABG6KH618169   Chrysler                        300   KANSAS CITY           MO
49354   2C3CCABG6KH625915   Chrysler                        300   MILWAUKEE             WI
49355   2C3CCABG6KH625929   Chrysler                        300   INGLEWOOD             CA
49356   2C3CCABG6KH625932   Chrysler                        300   BLOOMINGTON           IL
49357   2C3CCABG6KH625946   Chrysler                        300   Lake in the Hil       IL
49358   2C3CCABG6KH625963   Chrysler                        300   PHILADELPHIA          PA
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49359   2C3CCABG6KH625977   Chrysler                        300   Detroit               MI
49360   2C3CCABG6KH628569   Chrysler                        300   ROCHESTER             NY
49361   2C3CCABG6KH628572   Chrysler                        300   STOCKTON              CA
49362   2C3CCABG6KH628586   Chrysler                        300   WOODSON TERRACE       MO
49363   2C3CCABG6KH628622   Chrysler                        300   RALIEGH               NC
49364   2C3CCABG6KH628653   Chrysler                        300   NEWARK                NJ
49365   2C3CCABG6KH628667   Chrysler                        300   BLOOMINGTON           IL
49366   2C3CCABG6KH628670   Chrysler                        300   PORTLAND              ME
49367   2C3CCABG6KH628684   Chrysler                        300   BALTIMORE             MD
49368   2C3CCABG6KH628698   Chrysler                        300   SOUTH BEND            IN
49369   2C3CCABG6KH628720   Chrysler                        300   STERLING              VA
49370   2C3CCABG6KH628748   Chrysler                        300   WEST COLUMBIA         SC
49371   2C3CCABG6KH628751   Chrysler                        300   Springfield           MO
49372   2C3CCABG6KH628765   Chrysler                        300   STERLING              VA
49373   2C3CCABG6KH628779   Chrysler                        300   BIRMINGHAM            AL
49374   2C3CCABG6KH628782   Chrysler                        300   WICHITA FALLS         TX
49375   2C3CCABG6KH628796   Chrysler                        300   SAINT LOUIS           MO
49376   2C3CCABG6KH628815   Chrysler                        300   Springfield           MO
49377   2C3CCABG6KH628832   Chrysler                        300   INDIANAPOLIS          IN
49378   2C3CCABG6KH628846   Chrysler                        300   OMAHA                 NE
49379   2C3CCABG6KH628863   Chrysler                        300   SALT LAKE CITY        UT
49380   2C3CCABG6KH633996   Chrysler                        300   LOS ANGELES           CA
49381   2C3CCABG6KH634016   Chrysler                        300   BURBANK               CA
49382   2C3CCABG6KH634047   Chrysler                        300   LAS VEGAS             NV
49383   2C3CCABG6KH634050   Chrysler                        300   SAN DIEGO             CA
49384   2C3CCABG6KH634064   Chrysler                        300   FORT MYERS            FL
49385   2C3CCABG6KH634078   Chrysler                        300   DALLAS                TX
49386   2C3CCABG6KH634081   Chrysler                        300   ATLANTA               GA
49387   2C3CCABG6KH635019   Chrysler                        300   MANCHESTER            US
49388   2C3CCABG6KH635022   Chrysler                        300   WHITE PLAINS          NY
49389   2C3CCABG6KH635036   Chrysler                        300   FORT LAUDERDALE       FL
49390   2C3CCABG6KH635053   Chrysler                        300   WEST COLUMBIA         SC
49391   2C3CCABG6KH635067   Chrysler                        300   LOUISVILLE            KY
49392   2C3CCABG6KH635070   Chrysler                        300   COLUMBUS              OH
49393   2C3CCABG6KH635084   Chrysler                        300   ROCHESTER             NY
49394   2C3CCABG6KH635103   Chrysler                        300   BOSTON                MA
49395   2C3CCABG6KH637269   Chrysler                        300   CLEVELAND             OH
49396   2C3CCABG6KH637272   Chrysler                        300   COLUMBIA              SC
49397   2C3CCABG6KH637711   Chrysler                        300   LOS ANGELES AP        CA
49398   2C3CCABG6KH637725   Chrysler                        300   PHOENIX               AZ
49399   2C3CCABG6KH637739   Chrysler                        300   CHARLESTON            SC
49400   2C3CCABG6KH637742   Chrysler                        300   RONKONKOMA            NY
49401   2C3CCABG6KH637756   Chrysler                        300   PHILADELPHIA          PA
49402   2C3CCABG6KH637949   Chrysler                        300   LOUISVILLE            KY
49403   2C3CCABG6KH637952   Chrysler                        300   Medford               NY
49404   2C3CCABG6KH637983   Chrysler                        300   OKLAHOMA CITY         OK
49405   2C3CCABG6KH638096   Chrysler                        300   FORT LAUDERDALE       FL
49406   2C3CCABG6KH638101   Chrysler                        300   CHARLOTTE             NC
49407   2C3CCABG6KH638115   Chrysler                        300   ATLANTA               GA
49408   2C3CCABG6KH639085   Chrysler                        300   ROCHESTER             NY
49409   2C3CCABG6KH639104   Chrysler                        300   CHEEKTOWAGA           NY
49410   2C3CCABG6KH639118   Chrysler                        300   LOS ANGELES           CA
49411   2C3CCABG6KH639121   Chrysler                        300   SAINT PAUL            MN
49412   2C3CCABG6KH639815   Chrysler                        300   TAMPA                 FL
49413   2C3CCABG6KH639829   Chrysler                        300   DETROIT               MI
49414   2C3CCABG6KH639846   Chrysler                        300   JACKSON               MS
49415   2C3CCABG6KH639863   Chrysler                        300   KENNER                LA
49416   2C3CCABG6KH639877   Chrysler                        300   CHARLOTTE             NC
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49417   2C3CCABG6KH640494   Chrysler                        300   LOUISVILLE            KY
49418   2C3CCABG6KH648028   Chrysler                        300   NEWARK                NJ
49419   2C3CCABG6KH648031   Chrysler                        300   CLEVELAND             OH
49420   2C3CCABG6KH648045   Chrysler                        300   PHILADELPHIA          US
49421   2C3CCABG6KH648059   Chrysler                        300   Atlanta               GA
49422   2C3CCABG6KH651219   Chrysler                        300   INDIANAPOLIS          IN
49423   2C3CCABG6KH654010   Chrysler                        300   STERLING              VA
49424   2C3CCABG6KH654024   Chrysler                        300   PHILADELPHIA          PA
49425   2C3CCABG6KH654038   Chrysler                        300   DETROIT               MI
49426   2C3CCABG6KH654041   Chrysler                        300   PHILADELPHIA          PA
49427   2C3CCABG6KH654072   Chrysler                        300   CHICAGO               IL
49428   2C3CCABG6KH654086   Chrysler                        300   ROCHESTER             NY
49429   2C3CCABG6KH654119   Chrysler                        300   KENNER                LA
49430   2C3CCABG6KH654122   Chrysler                        300   MIAMI                 FL
49431   2C3CCABG6KH654136   Chrysler                        300   WHITE PLAINS          NY
49432   2C3CCABG6KH654153   Chrysler                        300   Hebron                KY
49433   2C3CCABG6KH654167   Chrysler                        300   CHARLESTON            WV
49434   2C3CCABG6KH654170   Chrysler                        300   BIRMINGHAM            AL
49435   2C3CCABG6KH654184   Chrysler                        300   JAMAICA               NY
49436   2C3CCABG6KH654198   Chrysler                        300   SYRACUSE              NY
49437   2C3CCABG6KH654203   Chrysler                        300   PITTSBURGH            PA
49438   2C3CCABG6KH654217   Chrysler                        300   JACKSONVILLE          FL
49439   2C3CCABG6KH654220   Chrysler                        300   COLLEGE PARK          GA
49440   2C3CCABG6KH654248   Chrysler                        300   WINTER PARK           FL
49441   2C3CCABG6KH654251   Chrysler                        300   BALTIMORE             MD
49442   2C3CCABG6KH654265   Chrysler                        300   ROCHESTER             NY
49443   2C3CCABG6KH654279   Chrysler                        300   EAST BOSTON           MA
49444   2C3CCABG6KH654301   Chrysler                        300   SYRACUSE              NY
49445   2C3CCABG6KH654315   Chrysler                        300   RALEIGH               NC
49446   2C3CCABG6KH654332   Chrysler                        300   SAINT PAUL            MN
49447   2C3CCABG6KH654380   Chrysler                        300   LAS VEGAS             NV
49448   2C3CCABG6KH654394   Chrysler                        300   TUCSON                AZ
49449   2C3CCABG6KH654413   Chrysler                        300   ONTARIO               CA
49450   2C3CCABG6KH655268   Chrysler                        300   LEXINGTON             KY
49451   2C3CCABG6KH655271   Chrysler                        300   STERLING              US
49452   2C3CCABG6KH655979   Chrysler                        300   PHILADELPHIA          PA
49453   2C3CCABG6KH655982   Chrysler                        300   SAINT PAUL            MN
49454   2C3CCABG6KH655996   Chrysler                        300   PHILADELPHIA          PA
49455   2C3CCABG6KH656002   Chrysler                        300   LOS ANGELES           CA
49456   2C3CCABG6KH659112   Chrysler                        300   LOS ANGELES           CA
49457   2C3CCABG6KH660292   Chrysler                        300   PHOENIX               AZ
49458   2C3CCABG6KH660695   Chrysler                        300   CHICAGO               IL
49459   2C3CCABG6KH660714   Chrysler                        300   LOUISVILLE            KY
49460   2C3CCABG6KH661099   Chrysler                        300   LOUISVILLE            KY
49461   2C3CCABG6KH661104   Chrysler                        300   Woodhaven             MI
49462   2C3CCABG6KH661118   Chrysler                        300   SAINT LOUIS           MO
49463   2C3CCABG6KH661121   Chrysler                        300   WICHITA FALLS         TX
49464   2C3CCABG6KH661135   Chrysler                        300   CHEEKTOWAGA           NY
49465   2C3CCABG6KH661149   Chrysler                        300   KENNER                LA
49466   2C3CCABG6LH131426   Chrysler                        300   Atlanta               GA
49467   2C3CCABG6LH137288   Chrysler                        300   ROANOKE               VA
49468   2C3CCABG6LH141731   Chrysler                        300   NEW ORLEANS           LA
49469   2C3CCABG6LH141759   Chrysler                        300   Atlanta               GA
49470   2C3CCABG7JH213968   Chrysler                        300   Fresno                CA
49471   2C3CCABG7JH214036   Chrysler                        300   Pasadena              CA
49472   2C3CCABG7JH214165   Chrysler                        300   Hayward               CA
49473   2C3CCABG7JH214182   Chrysler                        300   Riverside             CA
49474   2C3CCABG7JH214215   Chrysler                        300   HILO                  HI
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49475   2C3CCABG7JH214229   Chrysler                        300   HILO                  HI
49476   2C3CCABG7JH227238   Chrysler                        300   SAN FRANCISCO         CA
49477   2C3CCABG7JH240040   Chrysler                        300   San Diego             CA
49478   2C3CCABG7JH243326   Chrysler                        300   LOS ANGELES           CA
49479   2C3CCABG7JH261471   Chrysler                        300   Fontana               CA
49480   2C3CCABG7JH274687   Chrysler                        300   Omaha                 NE
49481   2C3CCABG7KH515083   Chrysler                        300   Newark                NJ
49482   2C3CCABG7KH515097   Chrysler                        300   PORTLAND              OR
49483   2C3CCABG7KH515102   Chrysler                        300   PALM SPRINGS          CA
49484   2C3CCABG7KH515116   Chrysler                        300   Fontana               CA
49485   2C3CCABG7KH515133   Chrysler                        300   LOS ANGELES           CA
49486   2C3CCABG7KH515200   Chrysler                        300   LAS VEGAS             NV
49487   2C3CCABG7KH515245   Chrysler                        300   SAN DIEGO             CA
49488   2C3CCABG7KH515309   Chrysler                        300   LAS VEGAS             NV
49489   2C3CCABG7KH515326   Chrysler                        300   WEST COLUMBIA         SC
49490   2C3CCABG7KH515357   Chrysler                        300   Statesville           NC
49491   2C3CCABG7KH515374   Chrysler                        300   CHARLOTTE             NC
49492   2C3CCABG7KH515391   Chrysler                        300   MIAMI                 FL
49493   2C3CCABG7KH515410   Chrysler                        300   WEST PALM BEACH       FL
49494   2C3CCABG7KH515438   Chrysler                        300   ORLANDO               FL
49495   2C3CCABG7KH515472   Chrysler                        300   ORLANDO               FL
49496   2C3CCABG7KH515486   Chrysler                        300   NASHVILLE             TN
49497   2C3CCABG7KH515505   Chrysler                        300   ORLANDO               FL
49498   2C3CCABG7KH515536   Chrysler                        300   WEST PALM BEACH       FL
49499   2C3CCABG7KH515570   Chrysler                        300   KNOXVILLE             TN
49500   2C3CCABG7KH515617   Chrysler                        300   ONTARIO               CA
49501   2C3CCABG7KH515620   Chrysler                        300   Greensboro            NC
49502   2C3CCABG7KH515634   Chrysler                        300   Atlanta               GA
49503   2C3CCABG7KH515648   Chrysler                        300   Orlando               FL
49504   2C3CCABG7KH515651   Chrysler                        300   MIAMI                 FL
49505   2C3CCABG7KH515665   Chrysler                        300   TAMPA                 FL
49506   2C3CCABG7KH515679   Chrysler                        300   ORLANDO               FL
49507   2C3CCABG7KH515682   Chrysler                        300   Cranberry Towns       PA
49508   2C3CCABG7KH515696   Chrysler                        300   Miami                 FL
49509   2C3CCABG7KH515701   Chrysler                        300   SOUTHEAST DST OFFC    OK
49510   2C3CCABG7KH515715   Chrysler                        300   Jacksonville          FL
49511   2C3CCABG7KH515729   Chrysler                        300   FORT MYERS            FL
49512   2C3CCABG7KH515746   Chrysler                        300   SARASOTA              FL
49513   2C3CCABG7KH515777   Chrysler                        300   MIAMI                 FL
49514   2C3CCABG7KH515827   Chrysler                        300   FORT MYERS            FL
49515   2C3CCABG7KH515830   Chrysler                        300   KENNER                LA
49516   2C3CCABG7KH515844   Chrysler                        300   CHARLOTTESVILLE       VA
49517   2C3CCABG7KH515861   Chrysler                        300   FORT LAUDERDALE       FL
49518   2C3CCABG7KH515875   Chrysler                        300   FORT MYERS            FL
49519   2C3CCABG7KH515892   Chrysler                        300   ORLANDO               FL
49520   2C3CCABG7KH515908   Chrysler                        300   PHILADELPHIA          PA
49521   2C3CCABG7KH515939   Chrysler                        300   FORT MYERS            FL
49522   2C3CCABG7KH515956   Chrysler                        300   UNION CITY            GA
49523   2C3CCABG7KH515987   Chrysler                        300   DETROIT               MI
49524   2C3CCABG7KH516007   Chrysler                        300   FORT MYERS            FL
49525   2C3CCABG7KH516010   Chrysler                        300   Harvey                LA
49526   2C3CCABG7KH516024   Chrysler                        300   DFW AIRPORT           TX
49527   2C3CCABG7KH516041   Chrysler                        300   RICHMOND              VA
49528   2C3CCABG7KH516055   Chrysler                        300   TAMPA                 FL
49529   2C3CCABG7KH516069   Chrysler                        300   Denver                CO
49530   2C3CCABG7KH516072   Chrysler                        300   PHOENIX               AZ
49531   2C3CCABG7KH516086   Chrysler                        300   Atlanta               GA
49532   2C3CCABG7KH516105   Chrysler                        300   Ft. Myers             FL
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49533   2C3CCABG7KH516119   Chrysler                        300   GREENSBORO            NC
49534   2C3CCABG7KH516122   Chrysler                        300   North Dighton         MA
49535   2C3CCABG7KH516136   Chrysler                        300   MIAMI                 FL
49536   2C3CCABG7KH516170   Chrysler                        300   ATLANTA               GA
49537   2C3CCABG7KH516198   Chrysler                        300   PANAMA CITY           FL
49538   2C3CCABG7KH516248   Chrysler                        300   COLLEGE PARK          GA
49539   2C3CCABG7KH516265   Chrysler                        300   ATLANTA               GA
49540   2C3CCABG7KH516279   Chrysler                        300   Tampa                 FL
49541   2C3CCABG7KH516346   Chrysler                        300   MEDINA                OH
49542   2C3CCABG7KH516394   Chrysler                        300   Fredericksburg        VA
49543   2C3CCABG7KH516413   Chrysler                        300   STERLING              VA
49544   2C3CCABG7KH516444   Chrysler                        300   Bridgeton             MO
49545   2C3CCABG7KH516458   Chrysler                        300   Plainfield            IN
49546   2C3CCABG7KH516461   Chrysler                        300   CLEVELAND             OH
49547   2C3CCABG7KH516489   Chrysler                        300   LOS ANGELES           CA
49548   2C3CCABG7KH516492   Chrysler                        300   SACRAMENTO            CA
49549   2C3CCABG7KH516511   Chrysler                        300   LOS ANGELES           CA
49550   2C3CCABG7KH516525   Chrysler                        300   SAN FRANCISCO         CA
49551   2C3CCABG7KH516542   Chrysler                        300   LOS ANGELES           CA
49552   2C3CCABG7KH516587   Chrysler                        300   Fontana               CA
49553   2C3CCABG7KH516640   Chrysler                        300   North Dighton         MA
49554   2C3CCABG7KH516721   Chrysler                        300   CHARLESTON            WV
49555   2C3CCABG7KH516735   Chrysler                        300   MARIETTA              GA
49556   2C3CCABG7KH516752   Chrysler                        300   DALLAS                TX
49557   2C3CCABG7KH533471   Chrysler                        300   KNOXVILLE             TN
49558   2C3CCABG7KH533485   Chrysler                        300   DETROIT               MI
49559   2C3CCABG7KH535978   Chrysler                        300   LAS VEGAS             NV
49560   2C3CCABG7KH535995   Chrysler                        300   Slidell               LA
49561   2C3CCABG7KH536032   Chrysler                        300   LOS ANGELES           CA
49562   2C3CCABG7KH537830   Chrysler                        300   Statesville           NC
49563   2C3CCABG7KH537844   Chrysler                        300   CHARLOTTE             NC
49564   2C3CCABG7KH537858   Chrysler                        300   INDIANAPOLIS          IN
49565   2C3CCABG7KH537875   Chrysler                        300   WEST PALM BEACH       FL
49566   2C3CCABG7KH537889   Chrysler                        300   WEST PALM BEACH       FL
49567   2C3CCABG7KH537908   Chrysler                        300   ATLANTA               GA
49568   2C3CCABG7KH537911   Chrysler                        300   DES MOINES            IA
49569   2C3CCABG7KH537925   Chrysler                        300   Florissant            MO
49570   2C3CCABG7KH539464   Chrysler                        300   PITTSBURGH            PA
49571   2C3CCABG7KH539481   Chrysler                        300   CLARKSVILLE           IN
49572   2C3CCABG7KH539531   Chrysler                        300   Teterboro             NJ
49573   2C3CCABG7KH539593   Chrysler                        300   LOS ANGELES           CA
49574   2C3CCABG7KH542395   Chrysler                        300   TAMPA                 FL
49575   2C3CCABG7KH542400   Chrysler                        300   Aurora                CO
49576   2C3CCABG7KH547905   Chrysler                        300   LOS ANGELES           CA
49577   2C3CCABG7KH548827   Chrysler                        300   SOUTH BURLINGTO       VT
49578   2C3CCABG7KH548830   Chrysler                        300   ATLANTA               GA
49579   2C3CCABG7KH548844   Chrysler                        300   TAMPA                 FL
49580   2C3CCABG7KH548858   Chrysler                        300   Atlanta               GA
49581   2C3CCABG7KH548861   Chrysler                        300   FORT MYERS            FL
49582   2C3CCABG7KH555471   Chrysler                        300   SOUTHEAST DST OFFC    OK
49583   2C3CCABG7KH555499   Chrysler                        300   Memphis               TN
49584   2C3CCABG7KH555504   Chrysler                        300   Atlanta               GA
49585   2C3CCABG7KH555518   Chrysler                        300   MIAMI                 FL
49586   2C3CCABG7KH555521   Chrysler                        300   MEMPHIS               TN
49587   2C3CCABG7KH555535   Chrysler                        300   TAMPA                 FL
49588   2C3CCABG7KH559410   Chrysler                        300   KENNER                LA
49589   2C3CCABG7KH559472   Chrysler                        300   DALLAS                TX
49590   2C3CCABG7KH559486   Chrysler                        300   DETROIT               MI
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49591   2C3CCABG7KH559584   Chrysler                        300   COLLEGE PARK          GA
49592   2C3CCABG7KH559598   Chrysler                        300   MIAMI                 FL
49593   2C3CCABG7KH559648   Chrysler                        300   WEST COLUMBIA         SC
49594   2C3CCABG7KH559715   Chrysler                        300   KENNER                LA
49595   2C3CCABG7KH559729   Chrysler                        300   LOS ANGELES           CA
49596   2C3CCABG7KH559732   Chrysler                        300   LOS ANGELES           CA
49597   2C3CCABG7KH559746   Chrysler                        300   SAN DIEGO             US
49598   2C3CCABG7KH559830   Chrysler                        300   LOS ANGELES           CA
49599   2C3CCABG7KH561397   Chrysler                        300   ONTARIO               CA
49600   2C3CCABG7KH562548   Chrysler                        300   Atlanta               GA
49601   2C3CCABG7KH562596   Chrysler                        300   Manheim               PA
49602   2C3CCABG7KH562601   Chrysler                        300   Orlando               FL
49603   2C3CCABG7KH562632   Chrysler                        300   STERLING              VA
49604   2C3CCABG7KH562646   Chrysler                        300   Manheim               PA
49605   2C3CCABG7KH562730   Chrysler                        300   DETROIT               MI
49606   2C3CCABG7KH562758   Chrysler                        300   JACKSON               MS
49607   2C3CCABG7KH562761   Chrysler                        300   CLARKSVILLE           IN
49608   2C3CCABG7KH562792   Chrysler                        300   LAS VEGAS             NV
49609   2C3CCABG7KH562808   Chrysler                        300   Kent                  WA
49610   2C3CCABG7KH562825   Chrysler                        300   SANTA ANA             CA
49611   2C3CCABG7KH562856   Chrysler                        300   Landover Hills        MD
49612   2C3CCABG7KH565949   Chrysler                        300   FORT MYERS            FL
49613   2C3CCABG7KH565952   Chrysler                        300   TAMPA                 US
49614   2C3CCABG7KH565983   Chrysler                        300   MIAMI                 FL
49615   2C3CCABG7KH566017   Chrysler                        300   MIAMI                 FL
49616   2C3CCABG7KH566020   Chrysler                        300   FORT MYERS            FL
49617   2C3CCABG7KH566048   Chrysler                        300   FORT MYERS            FL
49618   2C3CCABG7KH569483   Chrysler                        300   WEST PALM BEACH       FL
49619   2C3CCABG7KH569497   Chrysler                        300   Nashville             TN
49620   2C3CCABG7KH569516   Chrysler                        300   San Antonio           TX
49621   2C3CCABG7KH569533   Chrysler                        300   Mt. Juliet            TN
49622   2C3CCABG7KH569550   Chrysler                        300   Statesville           NC
49623   2C3CCABG7KH570438   Chrysler                        300   WEST PALM BEACH       FL
49624   2C3CCABG7KH585389   Chrysler                        300   ONTARIO               CA
49625   2C3CCABG7KH585392   Chrysler                        300   BURBANK               CA
49626   2C3CCABG7KH585408   Chrysler                        300   INDIANAPOLIS          IN
49627   2C3CCABG7KH585439   Chrysler                        300   Los Angeles           CA
49628   2C3CCABG7KH585442   Chrysler                        300   FRESNO                CA
49629   2C3CCABG7KH585456   Chrysler                        300   FRESNO                CA
49630   2C3CCABG7KH585490   Chrysler                        300   TAMPA                 FL
49631   2C3CCABG7KH585506   Chrysler                        300   SARASOTA              FL
49632   2C3CCABG7KH585523   Chrysler                        300   DETROIT               MI
49633   2C3CCABG7KH585540   Chrysler                        300   RALIEGH               NC
49634   2C3CCABG7KH585554   Chrysler                        300   Syracuse              NY
49635   2C3CCABG7KH589698   Chrysler                        300   Atlanta               GA
49636   2C3CCABG7KH589703   Chrysler                        300   CHARLESTON            SC
49637   2C3CCABG7KH589717   Chrysler                        300   FORT LAUDERDALE       FL
49638   2C3CCABG7KH589720   Chrysler                        300   PHILADELPHIA          PA
49639   2C3CCABG7KH589734   Chrysler                        300   MONROE                NC
49640   2C3CCABG7KH589748   Chrysler                        300   ORLANDO               FL
49641   2C3CCABG7KH589751   Chrysler                        300   LOUISVILLE            KY
49642   2C3CCABG7KH589765   Chrysler                        300   WEST PALM BEACH       FL
49643   2C3CCABG7KH589779   Chrysler                        300   WEST COLUMBIA         SC
49644   2C3CCABG7KH589782   Chrysler                        300   TAMPA                 FL
49645   2C3CCABG7KH601039   Chrysler                        300   ONTARIO, RIVERSIDE    CA
49646   2C3CCABG7KH601042   Chrysler                        300   LOS ANGELES           CA
49647   2C3CCABG7KH601056   Chrysler                        300   SALT LAKE CITY        UT
49648   2C3CCABG7KH601073   Chrysler                        300   Jacksonville          FL
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49649   2C3CCABG7KH601106   Chrysler                        300   INGLEWOOD             CA
49650   2C3CCABG7KH601123   Chrysler                        300   SAN DIEGO             CA
49651   2C3CCABG7KH601140   Chrysler                        300   SALT LAKE CITY        US
49652   2C3CCABG7KH601154   Chrysler                        300   LAS VEGAS             NV
49653   2C3CCABG7KH601168   Chrysler                        300   LOS ANGELES           CA
49654   2C3CCABG7KH601171   Chrysler                        300   ORANGE COUNTY         CA
49655   2C3CCABG7KH601199   Chrysler                        300   PITTSBURGH            PA
49656   2C3CCABG7KH601221   Chrysler                        300   PADUCAH               KY
49657   2C3CCABG7KH601235   Chrysler                        300   CLEVELAND             OH
49658   2C3CCABG7KH609318   Chrysler                        300   ROSEVILLE             CA
49659   2C3CCABG7KH609335   Chrysler                        300   PENSACOLA             FL
49660   2C3CCABG7KH609383   Chrysler                        300   DECATUR               GA
49661   2C3CCABG7KH609397   Chrysler                        300   TAMPA                 FL
49662   2C3CCABG7KH609402   Chrysler                        300   JACKSONVILLE          FL
49663   2C3CCABG7KH609433   Chrysler                        300   Statesville           NC
49664   2C3CCABG7KH609447   Chrysler                        300   Bensalem              PA
49665   2C3CCABG7KH609450   Chrysler                        300   ORANGE COUNTY         CA
49666   2C3CCABG7KH609464   Chrysler                        300   SAN DIEGO             US
49667   2C3CCABG7KH617869   Chrysler                        300   FEDERAL WAY           WA
49668   2C3CCABG7KH617905   Chrysler                        300   SEATAC                WA
49669   2C3CCABG7KH617919   Chrysler                        300   ORLANDO               FL
49670   2C3CCABG7KH617922   Chrysler                        300   TAMPA                 FL
49671   2C3CCABG7KH617953   Chrysler                        300   CHICAGO               IL
49672   2C3CCABG7KH617967   Chrysler                        300   DETROIT               MI
49673   2C3CCABG7KH617970   Chrysler                        300   INDIANAPOLIS          IN
49674   2C3CCABG7KH617984   Chrysler                        300   Coraopolis            PA
49675   2C3CCABG7KH618018   Chrysler                        300   DETROIT               MI
49676   2C3CCABG7KH618021   Chrysler                        300   DETROIT               MI
49677   2C3CCABG7KH618035   Chrysler                        300   RICHMOND              VA
49678   2C3CCABG7KH618049   Chrysler                        300   Hebron                KY
49679   2C3CCABG7KH618066   Chrysler                        300   Detroit               MI
49680   2C3CCABG7KH618083   Chrysler                        300   RALEIGH               NC
49681   2C3CCABG7KH618097   Chrysler                        300   INDIANAPOLIS          IN
49682   2C3CCABG7KH618116   Chrysler                        300   FAYETTEVILLE          GA
49683   2C3CCABG7KH618133   Chrysler                        300   NEW BERN              NC
49684   2C3CCABG7KH618147   Chrysler                        300   INDIANAPOLIS          IN
49685   2C3CCABG7KH618164   Chrysler                        300   SAINT PAUL            MN
49686   2C3CCABG7KH618181   Chrysler                        300   INDIANAPOLIS          IN
49687   2C3CCABG7KH625907   Chrysler                        300   GREENSBORO            NC
49688   2C3CCABG7KH625910   Chrysler                        300   KNOXVILLE             TN
49689   2C3CCABG7KH625924   Chrysler                        300   CHARLOTTE             NC
49690   2C3CCABG7KH625941   Chrysler                        300   MANCHESTER            US
49691   2C3CCABG7KH625955   Chrysler                        300   WHITE PLAINS          NY
49692   2C3CCABG7KH625969   Chrysler                        300   MELROSE PARK          IL
49693   2C3CCABG7KH625972   Chrysler                        300   DETROIT               MI
49694   2C3CCABG7KH628578   Chrysler                        300   Detroit               MI
49695   2C3CCABG7KH628595   Chrysler                        300   KNOXVILLE             TN
49696   2C3CCABG7KH628600   Chrysler                        300   Atlanta               GA
49697   2C3CCABG7KH628645   Chrysler                        300   Atlanta               GA
49698   2C3CCABG7KH628659   Chrysler                        300   Hebron                KY
49699   2C3CCABG7KH628662   Chrysler                        300   RALEIGH               NC
49700   2C3CCABG7KH628676   Chrysler                        300   WHITE PLAINS          NY
49701   2C3CCABG7KH628693   Chrysler                        300   WEST COLUMBIA         SC
49702   2C3CCABG7KH628712   Chrysler                        300   NEW YORK CITY         NY
49703   2C3CCABG7KH628726   Chrysler                        300   GREENVILLE            NC
49704   2C3CCABG7KH628757   Chrysler                        300   PALM SPRINGS          CA
49705   2C3CCABG7KH628788   Chrysler                        300   Bridgeton             MO
49706   2C3CCABG7KH628807   Chrysler                        300   DES MOINES            IA
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49707   2C3CCABG7KH628841   Chrysler                        300   SAINT LOUIS           MO
49708   2C3CCABG7KH628869   Chrysler                        300   LEXINGTON             KY
49709   2C3CCABG7KH633988   Chrysler                        300   PHOENIX               AZ
49710   2C3CCABG7KH633991   Chrysler                        300   San Francisco         CA
49711   2C3CCABG7KH634008   Chrysler                        300   SANTA ANA             CA
49712   2C3CCABG7KH634011   Chrysler                        300   SAN DIEGO             CA
49713   2C3CCABG7KH634025   Chrysler                        300   SACRAMENTO            CA
49714   2C3CCABG7KH634039   Chrysler                        300   SAN DIEGO             CA
49715   2C3CCABG7KH634042   Chrysler                        300   BURBANK               CA
49716   2C3CCABG7KH634056   Chrysler                        300   LOS ANGELES           CA
49717   2C3CCABG7KH634090   Chrysler                        300   Miami                 FL
49718   2C3CCABG7KH635014   Chrysler                        300   Hurricane             WV
49719   2C3CCABG7KH635028   Chrysler                        300   TAMPA                 FL
49720   2C3CCABG7KH635031   Chrysler                        300   KENNER                LA
49721   2C3CCABG7KH635045   Chrysler                        300   BURLINGTON            VT
49722   2C3CCABG7KH635059   Chrysler                        300   WARWICK               RI
49723   2C3CCABG7KH635062   Chrysler                        300   ATLANTA               GA
49724   2C3CCABG7KH635076   Chrysler                        300   WEST PALM BEACH       FL
49725   2C3CCABG7KH635093   Chrysler                        300   NEWARK                NJ
49726   2C3CCABG7KH635109   Chrysler                        300   NEW YORK CITY         NY
49727   2C3CCABG7KH635112   Chrysler                        300   NEWARK                NJ
49728   2C3CCABG7KH637247   Chrysler                        300   WEST PALM BEACH       FL
49729   2C3CCABG7KH637250   Chrysler                        300   AUGUSTA               GA
49730   2C3CCABG7KH637264   Chrysler                        300   CHARLOTTE             NC
49731   2C3CCABG7KH637278   Chrysler                        300   GREENSBORO            NC
49732   2C3CCABG7KH637281   Chrysler                        300   GOLDSBORO             NC
49733   2C3CCABG7KH637717   Chrysler                        300   ORLANDO               FL
49734   2C3CCABG7KH637720   Chrysler                        300   STERLING              VA
49735   2C3CCABG7KH637734   Chrysler                        300   SAN ANTONIO           TX
49736   2C3CCABG7KH637748   Chrysler                        300   CHARLOTTE             NC
49737   2C3CCABG7KH637751   Chrysler                        300   Austell               GA
49738   2C3CCABG7KH637944   Chrysler                        300   PHILADELPHIA          PA
49739   2C3CCABG7KH637958   Chrysler                        300   NEW YORK CITY         NY
49740   2C3CCABG7KH637961   Chrysler                        300   GREENVILLE            NC
49741   2C3CCABG7KH637975   Chrysler                        300   CHARLOTTE             NC
49742   2C3CCABG7KH637989   Chrysler                        300   CHARLOTTE             NC
49743   2C3CCABG7KH637992   Chrysler                        300   NEW BERN              NC
49744   2C3CCABG7KH638107   Chrysler                        300   RONKONKOMA            NY
49745   2C3CCABG7KH638110   Chrysler                        300   BIRMINGHAM            AL
49746   2C3CCABG7KH639094   Chrysler                        300   WESTLAKE              OH
49747   2C3CCABG7KH639113   Chrysler                        300   BOSTON                MA
49748   2C3CCABG7KH639807   Chrysler                        300   FORT LAUDERDALE       FL
49749   2C3CCABG7KH639810   Chrysler                        300   CLEVELAND             OH
49750   2C3CCABG7KH639838   Chrysler                        300   HOUSTON               TX
49751   2C3CCABG7KH639855   Chrysler                        300   HOUSTON               TX
49752   2C3CCABG7KH639869   Chrysler                        300   DALLAS                TX
49753   2C3CCABG7KH639872   Chrysler                        300   HOUSTON               TX
49754   2C3CCABG7KH648037   Chrysler                        300   ATLANTA               GA
49755   2C3CCABG7KH648040   Chrysler                        300   CLEVELAND             OH
49756   2C3CCABG7KH648054   Chrysler                        300   Teterboro             NJ
49757   2C3CCABG7KH648068   Chrysler                        300   HINGHAMN              MA
49758   2C3CCABG7KH654016   Chrysler                        300   CHATTANOOGA           TN
49759   2C3CCABG7KH654033   Chrysler                        300   RONKONKOMA            NY
49760   2C3CCABG7KH654047   Chrysler                        300   HARRISBURG            PA
49761   2C3CCABG7KH654050   Chrysler                        300   MIAMI                 FL
49762   2C3CCABG7KH654064   Chrysler                        300   INDIANAPOLIS          IN
49763   2C3CCABG7KH654078   Chrysler                        300   MEMPHIS               TN
49764   2C3CCABG7KH654081   Chrysler                        300   Atlanta               GA
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49765   2C3CCABG7KH654100   Chrysler                        300   SARASOTA              FL
49766   2C3CCABG7KH654114   Chrysler                        300   Statesville           NC
49767   2C3CCABG7KH654128   Chrysler                        300   West Palm Beach       FL
49768   2C3CCABG7KH654131   Chrysler                        300   Miami                 FL
49769   2C3CCABG7KH654145   Chrysler                        300   KANSAS CITY           MO
49770   2C3CCABG7KH654159   Chrysler                        300   DALLAS                TX
49771   2C3CCABG7KH654162   Chrysler                        300   WOODSON TERRACE       MO
49772   2C3CCABG7KH654176   Chrysler                        300   HARRISBURG            PA
49773   2C3CCABG7KH654193   Chrysler                        300   WEST COLUMBIA         SC
49774   2C3CCABG7KH654209   Chrysler                        300   RICHMOND              VA
49775   2C3CCABG7KH654212   Chrysler                        300   CHARLOTTE             NC
49776   2C3CCABG7KH654226   Chrysler                        300   RICHMOND              VA
49777   2C3CCABG7KH654243   Chrysler                        300   Atlanta               GA
49778   2C3CCABG7KH654257   Chrysler                        300   PITTSBURGH            PA
49779   2C3CCABG7KH654260   Chrysler                        300   WEST COLUMBIA         SC
49780   2C3CCABG7KH654274   Chrysler                        300   STERLING              VA
49781   2C3CCABG7KH654288   Chrysler                        300   PHILADELPHIA          US
49782   2C3CCABG7KH654291   Chrysler                        300   MANCHESTER            US
49783   2C3CCABG7KH654310   Chrysler                        300   WEST COLUMBIA         SC
49784   2C3CCABG7KH654324   Chrysler                        300   HOLLY HILL            FL
49785   2C3CCABG7KH654369   Chrysler                        300   SANTA FE              NM
49786   2C3CCABG7KH654386   Chrysler                        300   LAS VEGAS             NV
49787   2C3CCABG7KH654405   Chrysler                        300   FRESNO                CA
49788   2C3CCABG7KH654419   Chrysler                        300   LOS ANGELES           CA
49789   2C3CCABG7KH655263   Chrysler                        300   DETROIT               MI
49790   2C3CCABG7KH655280   Chrysler                        300   SAN FRANCISCO         CA
49791   2C3CCABG7KH655974   Chrysler                        300   NEW BERN              NC
49792   2C3CCABG7KH655988   Chrysler                        300   FORT MYERS            FL
49793   2C3CCABG7KH655991   Chrysler                        300   GRAND RAPIDS          MI
49794   2C3CCABG7KH659099   Chrysler                        300   NEW BERN              NC
49795   2C3CCABG7KH659118   Chrysler                        300   PHOENIX               AZ
49796   2C3CCABG7KH659121   Chrysler                        300   SANTA ANA             CA
49797   2C3CCABG7KH661113   Chrysler                        300   PITTSBURGH            PA
49798   2C3CCABG7KH661127   Chrysler                        300   CLEVELAND             OH
49799   2C3CCABG7KH661130   Chrysler                        300   DETROIT               MI
49800   2C3CCABG7LH137266   Chrysler                        300   ROANOKE               VA
49801   2C3CCABG7LH141737   Chrysler                        300   KENNER                LA
49802   2C3CCABG7LH141768   Chrysler                        300   Atlanta               GA
49803   2C3CCABG7LH145707   Chrysler                        300   PENSACOLA             FL
49804   2C3CCABG7LH145724   Chrysler                        300   Atlanta               GA
49805   2C3CCABG8JH240337   Chrysler                        300   Cranberry Towns       PA
49806   2C3CCABG8JH243318   Chrysler                        300   San Diego             CA
49807   2C3CCABG8JH264055   Chrysler                        300   BURBANK               CA
49808   2C3CCABG8JH274682   Chrysler                        300   Hayward               CA
49809   2C3CCABG8JH291840   Chrysler                        300   EL PASO               TX
49810   2C3CCABG8KH515058   Chrysler                        300   LOS ANGELES AP        CA
49811   2C3CCABG8KH515075   Chrysler                        300   DENVER                CO
49812   2C3CCABG8KH515089   Chrysler                        300   LAS VEGAS             NV
49813   2C3CCABG8KH515092   Chrysler                        300   FRESNO                CA
49814   2C3CCABG8KH515156   Chrysler                        300   OAKLAND               CA
49815   2C3CCABG8KH515173   Chrysler                        300   SAN FRANCISCO         CA
49816   2C3CCABG8KH515187   Chrysler                        300   LOS ANGELES           CA
49817   2C3CCABG8KH515223   Chrysler                        300   SAN JOSE              CA
49818   2C3CCABG8KH515240   Chrysler                        300   SOUTH SAN FRANC       CA
49819   2C3CCABG8KH515254   Chrysler                        300   LAS VEGAS             NV
49820   2C3CCABG8KH515268   Chrysler                        300   SACRAMENTO            CA
49821   2C3CCABG8KH515304   Chrysler                        300   LOS ANGELES           CA
49822   2C3CCABG8KH515318   Chrysler                        300   SAN FRANCISCO         CA
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49823   2C3CCABG8KH515321   Chrysler                        300   LOS ANGELES           CA
49824   2C3CCABG8KH515349   Chrysler                        300   TAMPA                 FL
49825   2C3CCABG8KH515366   Chrysler                        300   WEST PALM BEACH       FL
49826   2C3CCABG8KH515397   Chrysler                        300   FORT LAUDERDALE       FL
49827   2C3CCABG8KH515402   Chrysler                        300   TAMPA                 FL
49828   2C3CCABG8KH515450   Chrysler                        300   ORLANDO               FL
49829   2C3CCABG8KH515464   Chrysler                        300   PORTLAND              ME
49830   2C3CCABG8KH515500   Chrysler                        300   TAMPA                 FL
49831   2C3CCABG8KH515514   Chrysler                        300   NORFOLK               VA
49832   2C3CCABG8KH515528   Chrysler                        300   LOUISVILLE            KY
49833   2C3CCABG8KH515562   Chrysler                        300   WEST PALM BEACH       FL
49834   2C3CCABG8KH515609   Chrysler                        300   JACKSONVILLE          FL
49835   2C3CCABG8KH515612   Chrysler                        300   Greensboro            NC
49836   2C3CCABG8KH515657   Chrysler                        300   TAMPA                 FL
49837   2C3CCABG8KH515660   Chrysler                        300   INDIANAPOLIS          IN
49838   2C3CCABG8KH515674   Chrysler                        300   Honolulu              HI
49839   2C3CCABG8KH515688   Chrysler                        300   Davie                 FL
49840   2C3CCABG8KH515691   Chrysler                        300   GREENSBORO            NC
49841   2C3CCABG8KH515707   Chrysler                        300   ORLANDO               FL
49842   2C3CCABG8KH515710   Chrysler                        300   MIAMI                 FL
49843   2C3CCABG8KH515724   Chrysler                        300   TALLAHASSEE           US
49844   2C3CCABG8KH515738   Chrysler                        300   MIAMI                 FL
49845   2C3CCABG8KH515741   Chrysler                        300   FORT LAUDERDALE       FL
49846   2C3CCABG8KH515805   Chrysler                        300   TAMPA                 US
49847   2C3CCABG8KH515822   Chrysler                        300   TAMPA                 FL
49848   2C3CCABG8KH515836   Chrysler                        300   ORLANDO               FL
49849   2C3CCABG8KH515867   Chrysler                        300   FORT MYERS            FL
49850   2C3CCABG8KH515870   Chrysler                        300   MIAMI                 FL
49851   2C3CCABG8KH515898   Chrysler                        300   Statesville           NC
49852   2C3CCABG8KH515903   Chrysler                        300   SARASOTA              FL
49853   2C3CCABG8KH515917   Chrysler                        300   STERLING              VA
49854   2C3CCABG8KH515951   Chrysler                        300   CHARLOTTE             NC
49855   2C3CCABG8KH515979   Chrysler                        300   Euless                TX
49856   2C3CCABG8KH515982   Chrysler                        300   TAMPA                 FL
49857   2C3CCABG8KH515996   Chrysler                        300   WEST PALM BEACH       FL
49858   2C3CCABG8KH516002   Chrysler                        300   RICHMOND              VA
49859   2C3CCABG8KH516016   Chrysler                        300   FORT LAUDERDALE       FL
49860   2C3CCABG8KH516033   Chrysler                        300   ORLANDO               FL
49861   2C3CCABG8KH516047   Chrysler                        300   TAMPA                 FL
49862   2C3CCABG8KH516081   Chrysler                        300   Kansas City           MO
49863   2C3CCABG8KH516095   Chrysler                        300   Ocoee                 FL
49864   2C3CCABG8KH516114   Chrysler                        300   Hattiesburg           MS
49865   2C3CCABG8KH516176   Chrysler                        300   Hamilton              OH
49866   2C3CCABG8KH516209   Chrysler                        300   Atlanta               GA
49867   2C3CCABG8KH516212   Chrysler                        300   Chicago               IL
49868   2C3CCABG8KH516243   Chrysler                        300   Atlanta               GA
49869   2C3CCABG8KH516260   Chrysler                        300   LOUISVILLE            KY
49870   2C3CCABG8KH516288   Chrysler                        300   Slidell               LA
49871   2C3CCABG8KH516369   Chrysler                        300   ORLANDO               FL
49872   2C3CCABG8KH516386   Chrysler                        300   MONTGOMERY            AL
49873   2C3CCABG8KH516405   Chrysler                        300   Carleton              MI
49874   2C3CCABG8KH516453   Chrysler                        300   Norfolk               VA
49875   2C3CCABG8KH516467   Chrysler                        300   Fontana               CA
49876   2C3CCABG8KH516470   Chrysler                        300   Riverside             CA
49877   2C3CCABG8KH516503   Chrysler                        300   SAN FRANCISCO         CA
49878   2C3CCABG8KH516517   Chrysler                        300   SAN DIEGO             CA
49879   2C3CCABG8KH516520   Chrysler                        300   LAS VEGAS             NV
49880   2C3CCABG8KH516534   Chrysler                        300   LOS ANGELES           CA
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49881   2C3CCABG8KH516548   Chrysler                        300   Tolleson              AZ
49882   2C3CCABG8KH516565   Chrysler                        300   BIRMINGHAM            AL
49883   2C3CCABG8KH516677   Chrysler                        300   SAINT PAUL            MN
49884   2C3CCABG8KH516758   Chrysler                        300   PITTSBURGH            PA
49885   2C3CCABG8KH533429   Chrysler                        300   ORLANDO               FL
49886   2C3CCABG8KH533463   Chrysler                        300   TAMPA                 FL
49887   2C3CCABG8KH533477   Chrysler                        300   BIRMINGHAN            AL
49888   2C3CCABG8KH536024   Chrysler                        300   SAINT LOUIS           MO
49889   2C3CCABG8KH536038   Chrysler                        300   SAN JOSE              CA
49890   2C3CCABG8KH536041   Chrysler                        300   SAN DIEGO             CA
49891   2C3CCABG8KH536055   Chrysler                        300   LAS VEGAS             NV
49892   2C3CCABG8KH537836   Chrysler                        300   ORLANDO               FL
49893   2C3CCABG8KH537853   Chrysler                        300   JACKSONVILLE          FL
49894   2C3CCABG8KH537867   Chrysler                        300   LOS ANGELES           CA
49895   2C3CCABG8KH537870   Chrysler                        300   ORLANDO               FL
49896   2C3CCABG8KH537884   Chrysler                        300   TAMPA                 FL
49897   2C3CCABG8KH537903   Chrysler                        300   ORLANDO               FL
49898   2C3CCABG8KH538713   Chrysler                        300   WEST PALM BEACH       FL
49899   2C3CCABG8KH538727   Chrysler                        300   BALTIMORE             MD
49900   2C3CCABG8KH539411   Chrysler                        300   HUEYTOWN              AL
49901   2C3CCABG8KH539442   Chrysler                        300   GRAND RAPIDS          MI
49902   2C3CCABG8KH539537   Chrysler                        300   MEDINA                OH
49903   2C3CCABG8KH539554   Chrysler                        300   Atlanta               GA
49904   2C3CCABG8KH539571   Chrysler                        300   Stockton              CA
49905   2C3CCABG8KH539604   Chrysler                        300   ONTARIO               CA
49906   2C3CCABG8KH539621   Chrysler                        300   Fontana               CA
49907   2C3CCABG8KH542373   Chrysler                        300   LOS ANGELES           CA
49908   2C3CCABG8KH548822   Chrysler                        300   FORT MYERS            FL
49909   2C3CCABG8KH548836   Chrysler                        300   JACKSONVILLE          FL
49910   2C3CCABG8KH548853   Chrysler                        300   ORLANDO               FL
49911   2C3CCABG8KH548867   Chrysler                        300   TAMPA                 FL
49912   2C3CCABG8KH555463   Chrysler                        300   SACRAMENTO            CA
49913   2C3CCABG8KH555477   Chrysler                        300   PHOENIX               AZ
49914   2C3CCABG8KH555480   Chrysler                        300   NEW YORK CITY         NY
49915   2C3CCABG8KH555513   Chrysler                        300   FORT MYERS            FL
49916   2C3CCABG8KH555527   Chrysler                        300   GREENSBORO            NC
49917   2C3CCABG8KH555530   Chrysler                        300   FORT MYERS            FL
49918   2C3CCABG8KH555544   Chrysler                        300   WEST PALM BEACH       FL
49919   2C3CCABG8KH559383   Chrysler                        300   BIRMINGHAN            AL
49920   2C3CCABG8KH559402   Chrysler                        300   Dallas                TX
49921   2C3CCABG8KH559545   Chrysler                        300   TAMPA                 US
49922   2C3CCABG8KH559562   Chrysler                        300   JACKSONVILLE          FL
49923   2C3CCABG8KH559660   Chrysler                        300   Plainfield            IN
49924   2C3CCABG8KH559688   Chrysler                        300   BIRMINGHAM            AL
49925   2C3CCABG8KH559707   Chrysler                        300   TUCKER                GA
49926   2C3CCABG8KH559755   Chrysler                        300   UNION CITY            GA
49927   2C3CCABG8KH559769   Chrysler                        300   NEWPORT BEACH         CA
49928   2C3CCABG8KH559772   Chrysler                        300   SAN FRANCISCO         CA
49929   2C3CCABG8KH559786   Chrysler                        300   ORANGE COUNTY         CA
49930   2C3CCABG8KH559853   Chrysler                        300   DETROIT               MI
49931   2C3CCABG8KH559867   Chrysler                        300   ONTARIO               CA
49932   2C3CCABG8KH561375   Chrysler                        300   Atlanta               GA
49933   2C3CCABG8KH562543   Chrysler                        300   HOUSTON               TX
49934   2C3CCABG8KH562557   Chrysler                        300   Grove City            OH
49935   2C3CCABG8KH562607   Chrysler                        300   FORT MYERS            FL
49936   2C3CCABG8KH562624   Chrysler                        300   Dallas                TX
49937   2C3CCABG8KH562641   Chrysler                        300   MEMPHIS               TN
49938   2C3CCABG8KH562669   Chrysler                        300   NEW BERN              NC
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49939   2C3CCABG8KH562736   Chrysler                        300   COLLEGE PARK          GA
49940   2C3CCABG8KH562753   Chrysler                        300   BIRMINGHAN            AL
49941   2C3CCABG8KH562767   Chrysler                        300   PHILADELPHIA          US
49942   2C3CCABG8KH562784   Chrysler                        300   INGLEWOOD             CA
49943   2C3CCABG8KH562798   Chrysler                        300   LAS VEGAS             NV
49944   2C3CCABG8KH562817   Chrysler                        300   SAN DIEGO             CA
49945   2C3CCABG8KH562820   Chrysler                        300   PALM SPRINGS          CA
49946   2C3CCABG8KH562834   Chrysler                        300   FRESNO                CA
49947   2C3CCABG8KH562851   Chrysler                        300   LAS VEGAS             NV
49948   2C3CCABG8KH562865   Chrysler                        300   PALM SPRINGS          CA
49949   2C3CCABG8KH565944   Chrysler                        300   TAMPA                 FL
49950   2C3CCABG8KH565958   Chrysler                        300   WEST PALM BEACH       FL
49951   2C3CCABG8KH565961   Chrysler                        300   CLEVELAND             OH
49952   2C3CCABG8KH565975   Chrysler                        300   TAMPA                 FL
49953   2C3CCABG8KH565989   Chrysler                        300   ORLANDO               FL
49954   2C3CCABG8KH566009   Chrysler                        300   MIAMI                 FL
49955   2C3CCABG8KH566012   Chrysler                        300   TAMPA                 US
49956   2C3CCABG8KH566026   Chrysler                        300   TAMPA                 FL
49957   2C3CCABG8KH569475   Chrysler                        300   Davie                 FL
49958   2C3CCABG8KH569489   Chrysler                        300   FORT MYERS            FL
49959   2C3CCABG8KH569492   Chrysler                        300   Hanover               MD
49960   2C3CCABG8KH569508   Chrysler                        300   ATLANTA               GA
49961   2C3CCABG8KH569511   Chrysler                        300   FORT MYERS            FL
49962   2C3CCABG8KH569573   Chrysler                        300   Schaumburg            IL
49963   2C3CCABG8KH585403   Chrysler                        300   LOS ANGELES           CA
49964   2C3CCABG8KH585417   Chrysler                        300   LAS VEGAS             NV
49965   2C3CCABG8KH585434   Chrysler                        300   ORANGE COUNTY         CA
49966   2C3CCABG8KH585448   Chrysler                        300   PORTLAND              OR
49967   2C3CCABG8KH585479   Chrysler                        300   FORT LAUDERDALE       FL
49968   2C3CCABG8KH585496   Chrysler                        300   KNOXVILLE             TN
49969   2C3CCABG8KH585501   Chrysler                        300   MIAMI                 FL
49970   2C3CCABG8KH585529   Chrysler                        300   ORANGE COUNTY         CA
49971   2C3CCABG8KH585532   Chrysler                        300   Statesville           NC
49972   2C3CCABG8KH585546   Chrysler                        300   FORT LAUDERDALE       FL
49973   2C3CCABG8KH589709   Chrysler                        300   MONTGOMERY            AL
49974   2C3CCABG8KH589712   Chrysler                        300   MIAMI                 FL
49975   2C3CCABG8KH589757   Chrysler                        300   CLEVELAND             OH
49976   2C3CCABG8KH589760   Chrysler                        300   TAMPA                 FL
49977   2C3CCABG8KH589788   Chrysler                        300   JACKSONVILLE          FL
49978   2C3CCABG8KH589791   Chrysler                        300   BLOOMINGTON           IL
49979   2C3CCABG8KH601034   Chrysler                        300   LOS ANGELES           CA
49980   2C3CCABG8KH601051   Chrysler                        300   SAN JOSE              CA
49981   2C3CCABG8KH601065   Chrysler                        300   Omaha                 NE
49982   2C3CCABG8KH601079   Chrysler                        300   SACRAMENTO            CA
49983   2C3CCABG8KH601082   Chrysler                        300   LOS ANGELES           CA
49984   2C3CCABG8KH601096   Chrysler                        300   LAS VEGAS             NV
49985   2C3CCABG8KH601129   Chrysler                        300   SANTA ANA             CA
49986   2C3CCABG8KH601146   Chrysler                        300   LOS ANGELES           CA
49987   2C3CCABG8KH601177   Chrysler                        300   ORLANDO               FL
49988   2C3CCABG8KH601180   Chrysler                        300   FORT MYERS            FL
49989   2C3CCABG8KH601194   Chrysler                        300   ELKRIDGE              MD
49990   2C3CCABG8KH601213   Chrysler                        300   FORT LAUDERDALE       FL
49991   2C3CCABG8KH609313   Chrysler                        300   WEST PALM BEACH       FL
49992   2C3CCABG8KH609344   Chrysler                        300   ORLANDO               FL
49993   2C3CCABG8KH609358   Chrysler                        300   Newark                NJ
49994   2C3CCABG8KH609375   Chrysler                        300   KNOXVILLE             TN
49995   2C3CCABG8KH609392   Chrysler                        300   ATLANTA               GA
49996   2C3CCABG8KH609408   Chrysler                        300   WEST PALM BEACH       FL
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49997   2C3CCABG8KH609411   Chrysler                        300   GREENSBORO            NC
49998   2C3CCABG8KH609425   Chrysler                        300   PHILADELPHIA          PA
49999   2C3CCABG8KH609456   Chrysler                        300   LAS VEGAS             NV
50000   2C3CCABG8KH609473   Chrysler                        300   SACRAMENTO            CA
50001   2C3CCABG8KH609487   Chrysler                        300   ONTARIO               CA
50002   2C3CCABG8KH609490   Chrysler                        300   PHOENIX               AZ
50003   2C3CCABG8KH609506   Chrysler                        300   PHOENIX               AZ
50004   2C3CCABG8KH617864   Chrysler                        300   FRESNO                CA
50005   2C3CCABG8KH617881   Chrysler                        300   FRESNO                CA
50006   2C3CCABG8KH617895   Chrysler                        300   LOS ANGELES           CA
50007   2C3CCABG8KH617900   Chrysler                        300   LAS VEGAS             NV
50008   2C3CCABG8KH617914   Chrysler                        300   RALEIGH               NC
50009   2C3CCABG8KH617928   Chrysler                        300   FORT MYERS            FL
50010   2C3CCABG8KH617945   Chrysler                        300   WILMINGTON            NC
50011   2C3CCABG8KH617959   Chrysler                        300   TAYLOR                MI
50012   2C3CCABG8KH617993   Chrysler                        300   HINGHAMN              MA
50013   2C3CCABG8KH618030   Chrysler                        300   CLEVELAND             OH
50014   2C3CCABG8KH618061   Chrysler                        300   CLEVELAND             OH
50015   2C3CCABG8KH618075   Chrysler                        300   KANSAS CITY           MO
50016   2C3CCABG8KH618089   Chrysler                        300   PITTSBURGH            PA
50017   2C3CCABG8KH618092   Chrysler                        300   KNOXVILLE             TN
50018   2C3CCABG8KH618108   Chrysler                        300   PHILADELPHIA          PA
50019   2C3CCABG8KH618111   Chrysler                        300   MYRTLE BEACH          SC
50020   2C3CCABG8KH618125   Chrysler                        300   CHARLOTTE             NC
50021   2C3CCABG8KH618142   Chrysler                        300   CHARLOTTE             NC
50022   2C3CCABG8KH618156   Chrysler                        300   DES MOINES            IA
50023   2C3CCABG8KH625916   Chrysler                        300   ORLANDO               FL
50024   2C3CCABG8KH625933   Chrysler                        300   CHARLESTON            SC
50025   2C3CCABG8KH628573   Chrysler                        300   GRAND RAPIDS          MI
50026   2C3CCABG8KH628590   Chrysler                        300   DETROIT               MI
50027   2C3CCABG8KH628606   Chrysler                        300   NORFOLK               VA
50028   2C3CCABG8KH628623   Chrysler                        300   MIAMI                 FL
50029   2C3CCABG8KH628637   Chrysler                        300   CHICAGO               IL
50030   2C3CCABG8KH628640   Chrysler                        300   LOS ANGELES           CA
50031   2C3CCABG8KH628654   Chrysler                        300   HARTFORD              CT
50032   2C3CCABG8KH628668   Chrysler                        300   INDIANAPOLIS          IN
50033   2C3CCABG8KH628699   Chrysler                        300   Manheim               PA
50034   2C3CCABG8KH628718   Chrysler                        300   CLEVELAND             OH
50035   2C3CCABG8KH628721   Chrysler                        300   MIAMI                 FL
50036   2C3CCABG8KH628735   Chrysler                        300   DES PLAINES           US
50037   2C3CCABG8KH628749   Chrysler                        300   CHICAGO               IL
50038   2C3CCABG8KH628752   Chrysler                        300   SAINT LOUIS           MO
50039   2C3CCABG8KH628766   Chrysler                        300   SCOTRUN               PA
50040   2C3CCABG8KH628797   Chrysler                        300   WEST COLUMBIA         SC
50041   2C3CCABG8KH628802   Chrysler                        300   Kansas City           MO
50042   2C3CCABG8KH628816   Chrysler                        300   GRAND RAPIDS          MI
50043   2C3CCABG8KH628833   Chrysler                        300   DES PLAINES           US
50044   2C3CCABG8KH628850   Chrysler                        300   INDIANAPOLIS          IN
50045   2C3CCABG8KH628864   Chrysler                        300   OMAHA                 NE
50046   2C3CCABG8KH633983   Chrysler                        300   LAS VEGAS             NV
50047   2C3CCABG8KH633997   Chrysler                        300   ONTARIO               CA
50048   2C3CCABG8KH634017   Chrysler                        300   OAKLAND               CA
50049   2C3CCABG8KH634020   Chrysler                        300   Phoenix               AZ
50050   2C3CCABG8KH634034   Chrysler                        300   INGLEWOOD             CA
50051   2C3CCABG8KH634048   Chrysler                        300   LAS VEGAS             NV
50052   2C3CCABG8KH634051   Chrysler                        300   SALT LAKE CITY        UT
50053   2C3CCABG8KH634065   Chrysler                        300   TAMPA                 FL
50054   2C3CCABG8KH634079   Chrysler                        300   LEXINGTON             KY
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50055   2C3CCABG8KH634082   Chrysler                        300   ORLANDO               FL
50056   2C3CCABG8KH635037   Chrysler                        300   DETROIT               MI
50057   2C3CCABG8KH635054   Chrysler                        300   Landover Hills        MD
50058   2C3CCABG8KH635068   Chrysler                        300   FORT MYERS            FL
50059   2C3CCABG8KH635071   Chrysler                        300   ATLANTA               GA
50060   2C3CCABG8KH635099   Chrysler                        300   ATLANTA               GA
50061   2C3CCABG8KH635104   Chrysler                        300   KNOXVILLE             TN
50062   2C3CCABG8KH637239   Chrysler                        300   STERLING              VA
50063   2C3CCABG8KH637242   Chrysler                        300   WEST COLUMBIA         SC
50064   2C3CCABG8KH637256   Chrysler                        300   Atlanta               GA
50065   2C3CCABG8KH637287   Chrysler                        300   KENNER                LA
50066   2C3CCABG8KH637712   Chrysler                        300   LOS ANGELES           CA
50067   2C3CCABG8KH637726   Chrysler                        300   TAMPA                 FL
50068   2C3CCABG8KH637743   Chrysler                        300   WARWICK               RI
50069   2C3CCABG8KH637757   Chrysler                        300   BOSTON                MA
50070   2C3CCABG8KH637760   Chrysler                        300   DALLAS                TX
50071   2C3CCABG8KH637953   Chrysler                        300   MIAMI                 FL
50072   2C3CCABG8KH637967   Chrysler                        300   PITTSBURGH            PA
50073   2C3CCABG8KH637970   Chrysler                        300   NORFOLK               VA
50074   2C3CCABG8KH637984   Chrysler                        300   RICHMOND              VA
50075   2C3CCABG8KH638097   Chrysler                        300   MILWAUKEE             WI
50076   2C3CCABG8KH638102   Chrysler                        300   Teterboro             NJ
50077   2C3CCABG8KH638116   Chrysler                        300   RICHMOND              VA
50078   2C3CCABG8KH639105   Chrysler                        300   WEST COLUMBIA         SC
50079   2C3CCABG8KH639119   Chrysler                        300   MOBILE                A
50080   2C3CCABG8KH639122   Chrysler                        300   BOSTON                MA
50081   2C3CCABG8KH639802   Chrysler                        300   BURBANK               CA
50082   2C3CCABG8KH639816   Chrysler                        300   KNOXVILLE             TN
50083   2C3CCABG8KH639847   Chrysler                        300   HOUSTON               TX
50084   2C3CCABG8KH648029   Chrysler                        300   NORFOLK               VA
50085   2C3CCABG8KH648046   Chrysler                        300   NEWARK                NJ
50086   2C3CCABG8KH648063   Chrysler                        300   NEWARK                NJ
50087   2C3CCABG8KH654008   Chrysler                        300   CHICAGO               IL
50088   2C3CCABG8KH654011   Chrysler                        300   WARWICK               RI
50089   2C3CCABG8KH654025   Chrysler                        300   NEWARK                NJ
50090   2C3CCABG8KH654039   Chrysler                        300   NASHVILLE             TN
50091   2C3CCABG8KH654042   Chrysler                        300   BALTIMORE             MD
50092   2C3CCABG8KH654056   Chrysler                        300   NEW BERN              NC
50093   2C3CCABG8KH654073   Chrysler                        300   STERLING              VA
50094   2C3CCABG8KH654087   Chrysler                        300   INDIANAPOLIS          IN
50095   2C3CCABG8KH654090   Chrysler                        300   ATLANTA               GA
50096   2C3CCABG8KH654106   Chrysler                        300   BLOOMINGTON           IL
50097   2C3CCABG8KH654123   Chrysler                        300   ORLANDO               FL
50098   2C3CCABG8KH654137   Chrysler                        300   FORT MYERS            FL
50099   2C3CCABG8KH654140   Chrysler                        300   LINDEN                NJ
50100   2C3CCABG8KH654154   Chrysler                        300   SYRACUSE              NY
50101   2C3CCABG8KH654168   Chrysler                        300   PHILADELPHIA          PA
50102   2C3CCABG8KH654204   Chrysler                        300   BLOOMINGTON           IL
50103   2C3CCABG8KH654221   Chrysler                        300   MEMPHIS               TN
50104   2C3CCABG8KH654235   Chrysler                        300   NEW BERN              NC
50105   2C3CCABG8KH654249   Chrysler                        300   CHARLESTON            WV
50106   2C3CCABG8KH654266   Chrysler                        300   CHARLOTTE             NC
50107   2C3CCABG8KH654283   Chrysler                        300   HARTFORD              CT
50108   2C3CCABG8KH654297   Chrysler                        300   HANOVER               MD
50109   2C3CCABG8KH654302   Chrysler                        300   PHILADELPHIA          PA
50110   2C3CCABG8KH654333   Chrysler                        300   STERLING              VA
50111   2C3CCABG8KH654347   Chrysler                        300   SAN DIEGO             CA
50112   2C3CCABG8KH654350   Chrysler                        300   LAS VEGAS             NV
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50113   2C3CCABG8KH654364   Chrysler                        300   DENVER                CO
50114   2C3CCABG8KH654378   Chrysler                        300   LOS ANGELES           CA
50115   2C3CCABG8KH654381   Chrysler                        300   KANSAS CITY           MO
50116   2C3CCABG8KH655272   Chrysler                        300   BUFFALO               NY
50117   2C3CCABG8KH655997   Chrysler                        300   BALTIMORE             MD
50118   2C3CCABG8KH659113   Chrysler                        300   LOS ANGELES           CA
50119   2C3CCABG8KH660293   Chrysler                        300   LOS ANGELES           CA
50120   2C3CCABG8KH660696   Chrysler                        300   SEATAC                WA
50121   2C3CCABG8KH660701   Chrysler                        300   ATLANTA               GA
50122   2C3CCABG8KH660715   Chrysler                        300   KENNER                LA
50123   2C3CCABG8KH661105   Chrysler                        300   Hebron                KY
50124   2C3CCABG8KH661119   Chrysler                        300   SAINT LOUIS           MO
50125   2C3CCABG8KH661136   Chrysler                        300   ATLANTA               GA
50126   2C3CCABG8LH141732   Chrysler                        300   KENNER                LA
50127   2C3CCABG8LH141746   Chrysler                        300   KENNER                LA
50128   2C3CCABG8LH141780   Chrysler                        300   KNOXVILLE             TN
50129   2C3CCABG8LH145733   Chrysler                        300   Atlanta               GA
50130   2C3CCABG9JH214040   Chrysler                        300   Baltimore             MD
50131   2C3CCABG9JH214104   Chrysler                        300   Anaheim               CA
50132   2C3CCABG9JH214166   Chrysler                        300   Ventura               CA
50133   2C3CCABG9JH214216   Chrysler                        300   Hayward               CA
50134   2C3CCABG9JH214281   Chrysler                        300   TRACY                 CA
50135   2C3CCABG9JH227239   Chrysler                        300   SAN DIEGO             CA
50136   2C3CCABG9JH227404   Chrysler                        300   WEST PALM BEACH       FL
50137   2C3CCABG9JH240539   Chrysler                        300   Marietta              GA
50138   2C3CCABG9JH243960   Chrysler                        300
50139   2C3CCABG9JH266333   Chrysler                        300   Fontana               CA
50140   2C3CCABG9JH266669   Chrysler                        300   ATLANTA               GA
50141   2C3CCABG9KH515070   Chrysler                        300   PORTLAND              OR
50142   2C3CCABG9KH515084   Chrysler                        300   TRACY                 CA
50143   2C3CCABG9KH515098   Chrysler                        300   Kent                  WA
50144   2C3CCABG9KH515120   Chrysler                        300   Riverside             CA
50145   2C3CCABG9KH515165   Chrysler                        300   Tolleson              AZ
50146   2C3CCABG9KH515182   Chrysler                        300   San Diego             CA
50147   2C3CCABG9KH515196   Chrysler                        300   ONTARIO               CA
50148   2C3CCABG9KH515215   Chrysler                        300   PORTLAND              OR
50149   2C3CCABG9KH515229   Chrysler                        300   LOS ANGELES           CA
50150   2C3CCABG9KH515263   Chrysler                        300   Aurora                CO
50151   2C3CCABG9KH515280   Chrysler                        300   SAN JOSE              CA
50152   2C3CCABG9KH515294   Chrysler                        300   DALLAS                TX
50153   2C3CCABG9KH515313   Chrysler                        300   SANTA ANA             CA
50154   2C3CCABG9KH515330   Chrysler                        300   Davie                 FL
50155   2C3CCABG9KH515358   Chrysler                        300   Statesville           NC
50156   2C3CCABG9KH515389   Chrysler                        300   CHARLOTTE             NC
50157   2C3CCABG9KH515392   Chrysler                        300   Tampa                 FL
50158   2C3CCABG9KH515411   Chrysler                        300   MIAMI                 FL
50159   2C3CCABG9KH515442   Chrysler                        300   STERLING              US
50160   2C3CCABG9KH515456   Chrysler                        300   MIAMI                 FL
50161   2C3CCABG9KH515487   Chrysler                        300   Ft. Myers             FL
50162   2C3CCABG9KH515490   Chrysler                        300   FORT LAUDERDALE       FL
50163   2C3CCABG9KH515523   Chrysler                        300   Atlanta               GA
50164   2C3CCABG9KH515540   Chrysler                        300   North Dighton         MA
50165   2C3CCABG9KH515571   Chrysler                        300   FORT LAUDERDALE       FL
50166   2C3CCABG9KH515585   Chrysler                        300   TAMPA                 FL
50167   2C3CCABG9KH515599   Chrysler                        300   TAMPA                 FL
50168   2C3CCABG9KH515604   Chrysler                        300   KENNER                LA
50169   2C3CCABG9KH515618   Chrysler                        300   BIRMINGHAM            AL
50170   2C3CCABG9KH515635   Chrysler                        300   RALIEGH               NC
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50171   2C3CCABG9KH515649   Chrysler                        300   Estero                FL
50172   2C3CCABG9KH515702   Chrysler                        300   FORT MYERS            FL
50173   2C3CCABG9KH515716   Chrysler                        300   ORLANDO               FL
50174   2C3CCABG9KH515733   Chrysler                        300   ORLANDO               FL
50175   2C3CCABG9KH515747   Chrysler                        300   NORFOLK               VA
50176   2C3CCABG9KH515750   Chrysler                        300   ORLANDO               FL
50177   2C3CCABG9KH515764   Chrysler                        300   SOUTHEAST DST OFFC    OK
50178   2C3CCABG9KH515781   Chrysler                        300   SAN JOSE              CA
50179   2C3CCABG9KH515795   Chrysler                        300   FORT LAUDERDALE       FL
50180   2C3CCABG9KH515800   Chrysler                        300   Warminster            PA
50181   2C3CCABG9KH515814   Chrysler                        300   WEST PALM BEACH       FL
50182   2C3CCABG9KH515828   Chrysler                        300   MIAMI                 FL
50183   2C3CCABG9KH515831   Chrysler                        300   DANIA BEACH           FL
50184   2C3CCABG9KH515845   Chrysler                        300   FORT MYERS            FL
50185   2C3CCABG9KH515859   Chrysler                        300   ATLANTA               GA
50186   2C3CCABG9KH515862   Chrysler                        300   Atlanta               GA
50187   2C3CCABG9KH515893   Chrysler                        300   MIAMI                 FL
50188   2C3CCABG9KH515912   Chrysler                        300   MIAMI                 FL
50189   2C3CCABG9KH515957   Chrysler                        300   JACKSONVILLE          FL
50190   2C3CCABG9KH515960   Chrysler                        300   FORT MYERS            FL
50191   2C3CCABG9KH515974   Chrysler                        300   FORT MYERS            FL
50192   2C3CCABG9KH515991   Chrysler                        300   CHATTANOOGA           TN
50193   2C3CCABG9KH516008   Chrysler                        300   FORT LAUDERDALE       FL
50194   2C3CCABG9KH516011   Chrysler                        300   DAYTONA BEACH         FL
50195   2C3CCABG9KH516025   Chrysler                        300   MIAMI                 FL
50196   2C3CCABG9KH516056   Chrysler                        300   ORLANDO               FL
50197   2C3CCABG9KH516087   Chrysler                        300   WEST PALM BEACH       FL
50198   2C3CCABG9KH516090   Chrysler                        300   NEW ORLEANS           LA
50199   2C3CCABG9KH516154   Chrysler                        300   North Dighton         MA
50200   2C3CCABG9KH516185   Chrysler                        300   ATLANTA               GA
50201   2C3CCABG9KH516218   Chrysler                        300   BIRMINGHAM            AL
50202   2C3CCABG9KH516252   Chrysler                        300   Pittsburgh            PA
50203   2C3CCABG9KH516302   Chrysler                        300   KNOXVILLE             TN
50204   2C3CCABG9KH516316   Chrysler                        300   Detroit               MI
50205   2C3CCABG9KH516364   Chrysler                        300   ORLANDO               FL
50206   2C3CCABG9KH516395   Chrysler                        300   BALTIMORE             MD
50207   2C3CCABG9KH516400   Chrysler                        300   DETROIT               MI
50208   2C3CCABG9KH516428   Chrysler                        300   PHILADELPHIA          PA
50209   2C3CCABG9KH516459   Chrysler                        300   Hapeville             GA
50210   2C3CCABG9KH516509   Chrysler                        300   SAN FRANCISCO         CA
50211   2C3CCABG9KH516512   Chrysler                        300   Burbank               CA
50212   2C3CCABG9KH516526   Chrysler                        300   Fontana               CA
50213   2C3CCABG9KH516543   Chrysler                        300   LAS VEGAS             NV
50214   2C3CCABG9KH516557   Chrysler                        300   CLEVELAND             OH
50215   2C3CCABG9KH516560   Chrysler                        300   LAS VEGAS             NV
50216   2C3CCABG9KH516574   Chrysler                        300   KENNER                LA
50217   2C3CCABG9KH516669   Chrysler                        300   KENNER                LA
50218   2C3CCABG9KH516736   Chrysler                        300   DENVER                CO
50219   2C3CCABG9KH533438   Chrysler                        300   ORLANDO               FL
50220   2C3CCABG9KH533441   Chrysler                        300   Landover Hills        MD
50221   2C3CCABG9KH533455   Chrysler                        300   Manheim               PA
50222   2C3CCABG9KH533472   Chrysler                        300   WEST PALM BEACH       FL
50223   2C3CCABG9KH536002   Chrysler                        300   Hebron                KY
50224   2C3CCABG9KH536016   Chrysler                        300   Jacksonville          FL
50225   2C3CCABG9KH536033   Chrysler                        300   PORTLAND              OR
50226   2C3CCABG9KH536047   Chrysler                        300   Los Angeles           CA
50227   2C3CCABG9KH537828   Chrysler                        300   EL SEGUNDO            CA
50228   2C3CCABG9KH537845   Chrysler                        300   ORLANDO               FL
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50229   2C3CCABG9KH537859   Chrysler                        300   DETROIT               MI
50230   2C3CCABG9KH537862   Chrysler                        300   SAVANNAH              GA
50231   2C3CCABG9KH537876   Chrysler                        300   TALLAHASSEE           F
50232   2C3CCABG9KH537893   Chrysler                        300   ATLANTA               GA
50233   2C3CCABG9KH537926   Chrysler                        300   FORT MYERS            FL
50234   2C3CCABG9KH538719   Chrysler                        300   Chicago               IL
50235   2C3CCABG9KH538722   Chrysler                        300   Austell               GA
50236   2C3CCABG9KH539532   Chrysler                        300   MILWAUKEE             WI
50237   2C3CCABG9KH539546   Chrysler                        300   CHARLESTON            WV
50238   2C3CCABG9KH539563   Chrysler                        300   KENNER                LA
50239   2C3CCABG9KH539577   Chrysler                        300   LOS ANGELES           CA
50240   2C3CCABG9KH539580   Chrysler                        300   LOS ANGELES           CA
50241   2C3CCABG9KH539594   Chrysler                        300   BURBANK               CA
50242   2C3CCABG9KH539630   Chrysler                        300   LOS ANGELES           CA
50243   2C3CCABG9KH542382   Chrysler                        300   HOUSTON               TX
50244   2C3CCABG9KH542396   Chrysler                        300   ROANOKE               VA
50245   2C3CCABG9KH542401   Chrysler                        300   LAS VEGAS             NV
50246   2C3CCABG9KH547906   Chrysler                        300   DETROIT               MI
50247   2C3CCABG9KH548828   Chrysler                        300   Maple Grove           MN
50248   2C3CCABG9KH548831   Chrysler                        300   TAMPA                 FL
50249   2C3CCABG9KH548862   Chrysler                        300   MIAMI                 FL
50250   2C3CCABG9KH555438   Chrysler                        300   ONTARIO               CA
50251   2C3CCABG9KH555469   Chrysler                        300   MONTEREY              CA
50252   2C3CCABG9KH555472   Chrysler                        300   Omaha                 NE
50253   2C3CCABG9KH555486   Chrysler                        300   FORT LAUDERDALE       FL
50254   2C3CCABG9KH559375   Chrysler                        300   Woodhaven             MI
50255   2C3CCABG9KH559411   Chrysler                        300   BIRMINGHAM            AL
50256   2C3CCABG9KH559473   Chrysler                        300   Fairburn              GA
50257   2C3CCABG9KH559523   Chrysler                        300   SHREVEPORT            LA
50258   2C3CCABG9KH559537   Chrysler                        300   Roseville             CA
50259   2C3CCABG9KH559554   Chrysler                        300   SAVANNAH              GA
50260   2C3CCABG9KH559568   Chrysler                        300   FORT MYERS            FL
50261   2C3CCABG9KH559666   Chrysler                        300   Albuquerque           NM
50262   2C3CCABG9KH559683   Chrysler                        300   RALEIGH               NC
50263   2C3CCABG9KH559697   Chrysler                        300   PENSACOLA             FL
50264   2C3CCABG9KH559702   Chrysler                        300   KENNER                LA
50265   2C3CCABG9KH559716   Chrysler                        300   DETROIT               MI
50266   2C3CCABG9KH559733   Chrysler                        300   LOS ANGELES           CA
50267   2C3CCABG9KH559764   Chrysler                        300   SAN FRANCISCO         CA
50268   2C3CCABG9KH559778   Chrysler                        300   SANTA ANA             CA
50269   2C3CCABG9KH559781   Chrysler                        300   BURBANK               CA
50270   2C3CCABG9KH559800   Chrysler                        300   SOUTH SAN FRANC       CA
50271   2C3CCABG9KH559814   Chrysler                        300   ORANGE COUNTY         CA
50272   2C3CCABG9KH559828   Chrysler                        300   ONTARIO               CA
50273   2C3CCABG9KH559845   Chrysler                        300   North Dighton         MA
50274   2C3CCABG9KH559859   Chrysler                        300   PORTLAND              OR
50275   2C3CCABG9KH559862   Chrysler                        300   INGLEWOOD             CA
50276   2C3CCABG9KH562602   Chrysler                        300   FORT MYERS            FL
50277   2C3CCABG9KH562700   Chrysler                        300   Kansas City           MO
50278   2C3CCABG9KH562745   Chrysler                        300   GREENVILLE            NC
50279   2C3CCABG9KH562759   Chrysler                        300   BOSTON                MA
50280   2C3CCABG9KH562809   Chrysler                        300   OAKLAND               CA
50281   2C3CCABG9KH562812   Chrysler                        300   S. San Francisc       CA
50282   2C3CCABG9KH562857   Chrysler                        300   RENO                  NV
50283   2C3CCABG9KH562860   Chrysler                        300   Los Angeles           CA
50284   2C3CCABG9KH565967   Chrysler                        300   ORLANDO               FL
50285   2C3CCABG9KH565970   Chrysler                        300   FORT LAUDERDALE       FL
50286   2C3CCABG9KH566004   Chrysler                        300   PENSACOLA             FL
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50287   2C3CCABG9KH566018   Chrysler                        300   FORT MYERS            FL
50288   2C3CCABG9KH566035   Chrysler                        300   North Dighton         MA
50289   2C3CCABG9KH569467   Chrysler                        300   ORLANDO               FL
50290   2C3CCABG9KH569470   Chrysler                        300   ORLANDO               FL
50291   2C3CCABG9KH569484   Chrysler                        300   LOS ANGELES           CA
50292   2C3CCABG9KH569498   Chrysler                        300   CLEVELAND             OH
50293   2C3CCABG9KH569503   Chrysler                        300   Davie                 FL
50294   2C3CCABG9KH569534   Chrysler                        300   TAMPA                 US
50295   2C3CCABG9KH569548   Chrysler                        300   JACKSONVILLE          FL
50296   2C3CCABG9KH569551   Chrysler                        300   Jacksonville          FL
50297   2C3CCABG9KH569565   Chrysler                        300   Orlando               FL
50298   2C3CCABG9KH585426   Chrysler                        300   LOS ANGELES           CA
50299   2C3CCABG9KH585443   Chrysler                        300   PORTLAND              OR
50300   2C3CCABG9KH585457   Chrysler                        300   LOS ANGELES           CA
50301   2C3CCABG9KH585488   Chrysler                        300   Tampa                 FL
50302   2C3CCABG9KH585491   Chrysler                        300   DAYTONA BEACH         FL
50303   2C3CCABG9KH585510   Chrysler                        300   FORT MYERS            FL
50304   2C3CCABG9KH585524   Chrysler                        300   MEMPHIS               TN
50305   2C3CCABG9KH589699   Chrysler                        300   RALIEGH               NC
50306   2C3CCABG9KH589704   Chrysler                        300   Statesville           NC
50307   2C3CCABG9KH589718   Chrysler                        300   ORLANDO               FL
50308   2C3CCABG9KH589735   Chrysler                        300   Davie                 FL
50309   2C3CCABG9KH589749   Chrysler                        300   SARASOTA              FL
50310   2C3CCABG9KH589752   Chrysler                        300   CHARLOTTE             NC
50311   2C3CCABG9KH589783   Chrysler                        300   PITTSBURGH            PA
50312   2C3CCABG9KH595180   Chrysler                        300   LOS ANGELES           CA
50313   2C3CCABG9KH601026   Chrysler                        300   LAS VEGAS             NV
50314   2C3CCABG9KH601043   Chrysler                        300   LOS ANGELES           CA
50315   2C3CCABG9KH601060   Chrysler                        300   LOS ANGELES           CA
50316   2C3CCABG9KH601074   Chrysler                        300   GYPSUM                CO
50317   2C3CCABG9KH601088   Chrysler                        300   LAS VEGAS             NV
50318   2C3CCABG9KH601110   Chrysler                        300   LOS ANGELES           CA
50319   2C3CCABG9KH601124   Chrysler                        300   LAS VEGAS             NV
50320   2C3CCABG9KH601155   Chrysler                        300   SAN DIEGO             CA
50321   2C3CCABG9KH601169   Chrysler                        300   LOS ANGELES AP        CA
50322   2C3CCABG9KH601172   Chrysler                        300   FRESNO                CA
50323   2C3CCABG9KH601186   Chrysler                        300   ORLANDO               FL
50324   2C3CCABG9KH601205   Chrysler                        300   CLEVELAND             OH
50325   2C3CCABG9KH601219   Chrysler                        300   Atlanta               GA
50326   2C3CCABG9KH601222   Chrysler                        300   WEST COLUMBIA         SC
50327   2C3CCABG9KH601236   Chrysler                        300   Atlanta               GA
50328   2C3CCABG9KH609322   Chrysler                        300   BIRMINGHAM            AL
50329   2C3CCABG9KH609353   Chrysler                        300   Des Plaines           IL
50330   2C3CCABG9KH609367   Chrysler                        300   MEMPHIS               TN
50331   2C3CCABG9KH609370   Chrysler                        300   ATLANTA               GA
50332   2C3CCABG9KH609384   Chrysler                        300   PHILADELPHIA          PA
50333   2C3CCABG9KH609398   Chrysler                        300   SAINT PAUL            MN
50334   2C3CCABG9KH609403   Chrysler                        300   ATLANTA               GA
50335   2C3CCABG9KH609417   Chrysler                        300   FORT LAUDERDALE       FL
50336   2C3CCABG9KH609420   Chrysler                        300   FORT LAUDERDALE       FL
50337   2C3CCABG9KH609434   Chrysler                        300   SAINT LOUIS           MO
50338   2C3CCABG9KH609448   Chrysler                        300   ORLANDO               FL
50339   2C3CCABG9KH609451   Chrysler                        300   SEATAC                WA
50340   2C3CCABG9KH609479   Chrysler                        300   PHOENIX               AZ
50341   2C3CCABG9KH609496   Chrysler                        300   PHOENIX               AZ
50342   2C3CCABG9KH617890   Chrysler                        300   SAN FRANCISCO         CA
50343   2C3CCABG9KH617906   Chrysler                        300   LAS VEGAS             NV
50344   2C3CCABG9KH617923   Chrysler                        300   ATLANTA               GA
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50345   2C3CCABG9KH617937   Chrysler                        300   ORLANDO               FL
50346   2C3CCABG9KH617940   Chrysler                        300   JACKSONVILLE          FL
50347   2C3CCABG9KH617968   Chrysler                        300   DETROIT               MI
50348   2C3CCABG9KH617985   Chrysler                        300   LEXINGTON             KY
50349   2C3CCABG9KH617999   Chrysler                        300   Detroit               MI
50350   2C3CCABG9KH618005   Chrysler                        300   Grove City            OH
50351   2C3CCABG9KH618019   Chrysler                        300   NEW BERN              NC
50352   2C3CCABG9KH618053   Chrysler                        300   DETROIT               MI
50353   2C3CCABG9KH618067   Chrysler                        300   Des Moines            IA
50354   2C3CCABG9KH618084   Chrysler                        300   INDIANAPOLIS          IN
50355   2C3CCABG9KH618103   Chrysler                        300   ALBANY                GA
50356   2C3CCABG9KH618117   Chrysler                        300   BUFFALO               NY
50357   2C3CCABG9KH618165   Chrysler                        300   CLEVELAND             OH
50358   2C3CCABG9KH625908   Chrysler                        300   SAINT PAUL            MN
50359   2C3CCABG9KH625911   Chrysler                        300   GLASSBORO             NJ
50360   2C3CCABG9KH625925   Chrysler                        300   Kansas City           MO
50361   2C3CCABG9KH625939   Chrysler                        300   OKLAHOMA CITY         OK
50362   2C3CCABG9KH625942   Chrysler                        300   PHILADELPHIA          PA
50363   2C3CCABG9KH625956   Chrysler                        300   CHICAGO               IL
50364   2C3CCABG9KH628579   Chrysler                        300   DAYTON                OH
50365   2C3CCABG9KH628582   Chrysler                        300   CHICAGO               IL
50366   2C3CCABG9KH628601   Chrysler                        300   FORT LAUDERDALE       FL
50367   2C3CCABG9KH628632   Chrysler                        300   Atlanta               GA
50368   2C3CCABG9KH628677   Chrysler                        300   FORT MYERS            FL
50369   2C3CCABG9KH628680   Chrysler                        300   NORFOLK               VA
50370   2C3CCABG9KH628713   Chrysler                        300   STERLING              VA
50371   2C3CCABG9KH628730   Chrysler                        300   CHICAGO               IL
50372   2C3CCABG9KH628744   Chrysler                        300   CHICAGO               IL
50373   2C3CCABG9KH628775   Chrysler                        300   Tampa                 FL
50374   2C3CCABG9KH628789   Chrysler                        300   KANSAS CITY           MO
50375   2C3CCABG9KH628792   Chrysler                        300   NASHVILLE             TN
50376   2C3CCABG9KH628808   Chrysler                        300   Kansas City           MO
50377   2C3CCABG9KH628811   Chrysler                        300   LOS ANGELES           CA
50378   2C3CCABG9KH628839   Chrysler                        300   HOUSTON               TX
50379   2C3CCABG9KH628856   Chrysler                        300   GREENWOOD             NE
50380   2C3CCABG9KH633992   Chrysler                        300   Teterboro             NJ
50381   2C3CCABG9KH634009   Chrysler                        300   PHOENIX               AZ
50382   2C3CCABG9KH634026   Chrysler                        300   PHOENIX               AZ
50383   2C3CCABG9KH634043   Chrysler                        300   LOS ANGELES           CA
50384   2C3CCABG9KH634057   Chrysler                        300   SEATAC                WA
50385   2C3CCABG9KH634060   Chrysler                        300   SAN DIEGO             CA
50386   2C3CCABG9KH634074   Chrysler                        300   WEST PALM BEACH       FL
50387   2C3CCABG9KH634088   Chrysler                        300   FORT MYERS            FL
50388   2C3CCABG9KH634091   Chrysler                        300   Philadelphia          PA
50389   2C3CCABG9KH635015   Chrysler                        300   Atlanta               GA
50390   2C3CCABG9KH635029   Chrysler                        300   STERLING              VA
50391   2C3CCABG9KH635032   Chrysler                        300   MEMPHIS               TN
50392   2C3CCABG9KH635063   Chrysler                        300   NEWARK                NJ
50393   2C3CCABG9KH635077   Chrysler                        300   ORLANDO               FL
50394   2C3CCABG9KH635080   Chrysler                        300   HAYWARD               CA
50395   2C3CCABG9KH635094   Chrysler                        300   CATONSVILLE           MD
50396   2C3CCABG9KH635113   Chrysler                        300   STERLING              VA
50397   2C3CCABG9KH637248   Chrysler                        300   COLUMBIA              SC
50398   2C3CCABG9KH637251   Chrysler                        300   WHITE PLAINS          NY
50399   2C3CCABG9KH637279   Chrysler                        300   Springfield           MO
50400   2C3CCABG9KH637282   Chrysler                        300   DETROIT               MI
50401   2C3CCABG9KH637718   Chrysler                        300   Atlanta               GA
50402   2C3CCABG9KH637721   Chrysler                        300   SAINT PAUL            MN
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50403   2C3CCABG9KH637735   Chrysler                        300   Dallas                TX
50404   2C3CCABG9KH637749   Chrysler                        300   KANSAS CITY           MO
50405   2C3CCABG9KH637752   Chrysler                        300   CHARLESTON            SC
50406   2C3CCABG9KH637945   Chrysler                        300   Atlanta               GA
50407   2C3CCABG9KH637959   Chrysler                        300   SYRACUSE              NY
50408   2C3CCABG9KH637962   Chrysler                        300   NEWARK                NJ
50409   2C3CCABG9KH637976   Chrysler                        300   CHARLOTTE             NC
50410   2C3CCABG9KH638092   Chrysler                        300   STERLING              VA
50411   2C3CCABG9KH638108   Chrysler                        300   DETROIT               MI
50412   2C3CCABG9KH638111   Chrysler                        300   DAYTON                OH
50413   2C3CCABG9KH639095   Chrysler                        300   INDIANAPOLIS          IN
50414   2C3CCABG9KH639100   Chrysler                        300   BLOOMINGTON           IL
50415   2C3CCABG9KH639114   Chrysler                        300   HARTFORD              CT
50416   2C3CCABG9KH639808   Chrysler                        300   NASHVILLE             TN
50417   2C3CCABG9KH639856   Chrysler                        300   CORPUS CHRISTI        TX
50418   2C3CCABG9KH639873   Chrysler                        300   BIRMINGHAM            AL
50419   2C3CCABG9KH640490   Chrysler                        300   CHICAGO               IL
50420   2C3CCABG9KH648041   Chrysler                        300   PHILADELPHIA          PA
50421   2C3CCABG9KH651215   Chrysler                        300   STERLING              VA
50422   2C3CCABG9KH654017   Chrysler                        300   CHARLOTTE             NC
50423   2C3CCABG9KH654020   Chrysler                        300   RALIEGH               NC
50424   2C3CCABG9KH654034   Chrysler                        300   PHILADELPHIA          PA
50425   2C3CCABG9KH654048   Chrysler                        300   WHITE PLAINS          NY
50426   2C3CCABG9KH654051   Chrysler                        300   TAMPA                 FL
50427   2C3CCABG9KH654065   Chrysler                        300   DETROIT               MI
50428   2C3CCABG9KH654079   Chrysler                        300   MILWAUKEE             WI
50429   2C3CCABG9KH654082   Chrysler                        300   WEST COLUMBIA         SC
50430   2C3CCABG9KH654096   Chrysler                        300   ORLANDO               FL
50431   2C3CCABG9KH654101   Chrysler                        300   MIAMI                 FL
50432   2C3CCABG9KH654129   Chrysler                        300   FORT MYERS            FL
50433   2C3CCABG9KH654132   Chrysler                        300   FORT MYERS            FL
50434   2C3CCABG9KH654146   Chrysler                        300   WOODSON TERRACE       MO
50435   2C3CCABG9KH654177   Chrysler                        300   RONKONKOMA            NY
50436   2C3CCABG9KH654194   Chrysler                        300   FORT MYERS            FL
50437   2C3CCABG9KH654227   Chrysler                        300   GRAND RAPIDS          MI
50438   2C3CCABG9KH654230   Chrysler                        300   RALEIGH               NC
50439   2C3CCABG9KH654258   Chrysler                        300   BALTIMORE             MD
50440   2C3CCABG9KH654261   Chrysler                        300   BLOOMINGTON           IL
50441   2C3CCABG9KH654275   Chrysler                        300   BUFFALO               NY
50442   2C3CCABG9KH654289   Chrysler                        300   PHILADELPHIA          PA
50443   2C3CCABG9KH654308   Chrysler                        300   BIRMINGHAM            AL
50444   2C3CCABG9KH654311   Chrysler                        300   DES MOINES            IA
50445   2C3CCABG9KH654325   Chrysler                        300   Atlanta               GA
50446   2C3CCABG9KH654339   Chrysler                        300   TUCSON                AZ
50447   2C3CCABG9KH654342   Chrysler                        300   DENVER                CO
50448   2C3CCABG9KH654387   Chrysler                        300   ORLANDO               FL
50449   2C3CCABG9KH654406   Chrysler                        300   BURBANK               CA
50450   2C3CCABG9KH654423   Chrysler                        300   LOS ANGELES           CA
50451   2C3CCABG9KH655264   Chrysler                        300   GRAND RAPIDS          MI
50452   2C3CCABG9KH655278   Chrysler                        300   PHILADELPHIA          PA
50453   2C3CCABG9KH655975   Chrysler                        300   MUSCLE SHOALS         AL
50454   2C3CCABG9KH655989   Chrysler                        300   JACKSONVILLE          FL
50455   2C3CCABG9KH655992   Chrysler                        300   CHEEKTOWAGA           NY
50456   2C3CCABG9KH656012   Chrysler                        300   PALM SPRINGS          CA
50457   2C3CCABG9KH659105   Chrysler                        300   NORFOLK               VA
50458   2C3CCABG9KH659119   Chrysler                        300   PHOENIX               AZ
50459   2C3CCABG9KH659122   Chrysler                        300   PHOENIX               AZ
50460   2C3CCABG9KH660285   Chrysler                        300   PHILADELPHIA          US
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50461   2C3CCABG9KH660707   Chrysler                        300   MILWAUKEE             WI
50462   2C3CCABG9KH660710   Chrysler                        300   BOSTON                MA
50463   2C3CCABG9KH661100   Chrysler                        300   BLOOMINGTON           IL
50464   2C3CCABG9KH661114   Chrysler                        300   DETROIT               MI
50465   2C3CCABG9KH661128   Chrysler                        300   LOUISVILLE            KY
50466   2C3CCABG9KH661131   Chrysler                        300   TAMPA                 FL
50467   2C3CCABG9LH131436   Chrysler                        300   Austell               GA
50468   2C3CCABG9LH137270   Chrysler                        300   ALBANY                N
50469   2C3CCABGXJH213978   Chrysler                        300   Norwalk               CA
50470   2C3CCABGXJH214225   Chrysler                        300   Hayward               CA
50471   2C3CCABGXJH227198   Chrysler                        300   Riverside             CA
50472   2C3CCABGXJH227251   Chrysler                        300   LOS ANGELES           CA
50473   2C3CCABGXJH227301   Chrysler                        300   Fontana               CA
50474   2C3CCABGXJH244504   Chrysler                        300   FLORIDA DEALER DIR    FL
50475   2C3CCABGXJH264087   Chrysler                        300   Kent                  WA
50476   2C3CCABGXJH291810   Chrysler                        300   ORLANDO               FL
50477   2C3CCABGXKH515076   Chrysler                        300   ONTARIO               CA
50478   2C3CCABGXKH515112   Chrysler                        300   LOS ANGELES           CA
50479   2C3CCABGXKH515126   Chrysler                        300   LAS VEGAS             NV
50480   2C3CCABGXKH515143   Chrysler                        300   Tolleson              AZ
50481   2C3CCABGXKH515174   Chrysler                        300   TRACY                 CA
50482   2C3CCABGXKH515188   Chrysler                        300   INGLEWOOD             CA
50483   2C3CCABGXKH515224   Chrysler                        300   PLEASANTON            CA
50484   2C3CCABGXKH515238   Chrysler                        300   Lake Elsinore         CA
50485   2C3CCABGXKH515241   Chrysler                        300   Hayward               CA
50486   2C3CCABGXKH515255   Chrysler                        300   SAN DIEGO             CA
50487   2C3CCABGXKH515269   Chrysler                        300   LAS VEGAS             NV
50488   2C3CCABGXKH515286   Chrysler                        300   SACRAMENTO            CA
50489   2C3CCABGXKH515305   Chrysler                        300   SAN FRANCISCO         CA
50490   2C3CCABGXKH515319   Chrysler                        300   LAS VEGAS             NV
50491   2C3CCABGXKH515336   Chrysler                        300   FORT LAUDERDALE       FL
50492   2C3CCABGXKH515353   Chrysler                        300   TAMPA                 FL
50493   2C3CCABGXKH515370   Chrysler                        300   TRACY                 CA
50494   2C3CCABGXKH515403   Chrysler                        300   Warminster            PA
50495   2C3CCABGXKH515420   Chrysler                        300   FORT MYERS            FL
50496   2C3CCABGXKH515448   Chrysler                        300   North Dighton         MA
50497   2C3CCABGXKH515451   Chrysler                        300   Davie                 FL
50498   2C3CCABGXKH515479   Chrysler                        300   MIAMI                 FL
50499   2C3CCABGXKH515482   Chrysler                        300   CHARLOTTE             NC
50500   2C3CCABGXKH515496   Chrysler                        300   Fredericksburg        VA
50501   2C3CCABGXKH515546   Chrysler                        300   SAVANNAH              GA
50502   2C3CCABGXKH515563   Chrysler                        300   AIKEN                 SC
50503   2C3CCABGXKH515577   Chrysler                        300   Atlanta               GA
50504   2C3CCABGXKH515594   Chrysler                        300   WEST PALM BEACH       FL
50505   2C3CCABGXKH515658   Chrysler                        300   WEST PALM BEACH       FL
50506   2C3CCABGXKH515661   Chrysler                        300   Omaha                 NE
50507   2C3CCABGXKH515689   Chrysler                        300   ORLANDO               FL
50508   2C3CCABGXKH515692   Chrysler                        300   ATLANTA               GA
50509   2C3CCABGXKH515708   Chrysler                        300   MIAMI                 FL
50510   2C3CCABGXKH515711   Chrysler                        300   FORT MYERS            FL
50511   2C3CCABGXKH515725   Chrysler                        300   JACKSONVILLE          FL
50512   2C3CCABGXKH515739   Chrysler                        300   TAMPA                 FL
50513   2C3CCABGXKH515787   Chrysler                        300   Manheim               PA
50514   2C3CCABGXKH515806   Chrysler                        300   ORLANDO               FL
50515   2C3CCABGXKH515840   Chrysler                        300   TAMPA                 FL
50516   2C3CCABGXKH515854   Chrysler                        300   NEW BERN              NC
50517   2C3CCABGXKH515871   Chrysler                        300   MIAMI                 FL
50518   2C3CCABGXKH515904   Chrysler                        300   DETROIT               MI
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50519   2C3CCABGXKH515918   Chrysler                        300   DANIA BEACH           FL
50520   2C3CCABGXKH515921   Chrysler                        300   FORT MYERS            FL
50521   2C3CCABGXKH515935   Chrysler                        300   Davie                 FL
50522   2C3CCABGXKH515949   Chrysler                        300   FORT MYERS            FL
50523   2C3CCABGXKH515952   Chrysler                        300   FORT MYERS            FL
50524   2C3CCABGXKH515983   Chrysler                        300   BIRMINGHAM            AL
50525   2C3CCABGXKH516017   Chrysler                        300   FORT LAUDERDALE       FL
50526   2C3CCABGXKH516034   Chrysler                        300   FORT LAUDERDALE       FL
50527   2C3CCABGXKH516079   Chrysler                        300   RALIEGH               NC
50528   2C3CCABGXKH516096   Chrysler                        300   PENSACOLA             FL
50529   2C3CCABGXKH516115   Chrysler                        300   FORT LAUDERDALE       FL
50530   2C3CCABGXKH516129   Chrysler                        300   LOUISVILLE            KY
50531   2C3CCABGXKH516146   Chrysler                        300   Fairburn              GA
50532   2C3CCABGXKH516180   Chrysler                        300   Slidell               LA
50533   2C3CCABGXKH516227   Chrysler                        300   ORLANDO               FL
50534   2C3CCABGXKH516230   Chrysler                        300   NAPLES                FL
50535   2C3CCABGXKH516244   Chrysler                        300   SANTA BARBARA         CA
50536   2C3CCABGXKH516258   Chrysler                        300   JACKSONVILLE          FL
50537   2C3CCABGXKH516275   Chrysler                        300   North Dighton         MA
50538   2C3CCABGXKH516311   Chrysler                        300   Roanoke               VA
50539   2C3CCABGXKH516339   Chrysler                        300   SOUTHEAST DST OFFC    OK
50540   2C3CCABGXKH516342   Chrysler                        300   COLLEGE PARK          GA
50541   2C3CCABGXKH516356   Chrysler                        300   Atlanta               GA
50542   2C3CCABGXKH516406   Chrysler                        300   Pittsburgh            PA
50543   2C3CCABGXKH516437   Chrysler                        300   PHILADELPHIA          PA
50544   2C3CCABGXKH516454   Chrysler                        300   Statesville           NC
50545   2C3CCABGXKH516471   Chrysler                        300   PALM SPRINGS          CA
50546   2C3CCABGXKH516485   Chrysler                        300   Tolleson              AZ
50547   2C3CCABGXKH516504   Chrysler                        300   ONTARIO               CA
50548   2C3CCABGXKH516518   Chrysler                        300   Los Angeles           CA
50549   2C3CCABGXKH516521   Chrysler                        300   DENVER                CO
50550   2C3CCABGXKH516535   Chrysler                        300   BURBANK               CA
50551   2C3CCABGXKH516566   Chrysler                        300   SAN FRANCISCO         CA
50552   2C3CCABGXKH516597   Chrysler                        300   LAS VEGAS             NV
50553   2C3CCABGXKH516647   Chrysler                        300   JACKSONVILLE          FL
50554   2C3CCABGXKH516650   Chrysler                        300   Euless                TX
50555   2C3CCABGXKH516678   Chrysler                        300   Clarksville           IN
50556   2C3CCABGXKH516681   Chrysler                        300   SAINT LOUIS           MO
50557   2C3CCABGXKH516700   Chrysler                        300   WOODSON TERRACE       MO
50558   2C3CCABGXKH533433   Chrysler                        300   WEST PALM BEACH       FL
50559   2C3CCABGXKH533447   Chrysler                        300   FORT MYERS            FL
50560   2C3CCABGXKH533481   Chrysler                        300   DETROIT               MI
50561   2C3CCABGXKH535974   Chrysler                        300   HOUSTON               TX
50562   2C3CCABGXKH535988   Chrysler                        300   Dallas                TX
50563   2C3CCABGXKH535991   Chrysler                        300   Ocoee                 FL
50564   2C3CCABGXKH536039   Chrysler                        300   LAS VEGAS             NV
50565   2C3CCABGXKH536042   Chrysler                        300   Fontana               CA
50566   2C3CCABGXKH536056   Chrysler                        300   SAN FRANCISCO         CA
50567   2C3CCABGXKH537837   Chrysler                        300   FORT LAUDERDALE       FL
50568   2C3CCABGXKH537840   Chrysler                        300   MIAMI                 FL
50569   2C3CCABGXKH537854   Chrysler                        300   Statesville           NC
50570   2C3CCABGXKH537871   Chrysler                        300   ROANOKE               VA
50571   2C3CCABGXKH537899   Chrysler                        300   MIAMI                 FL
50572   2C3CCABGXKH537918   Chrysler                        300   FORT MYERS            FL
50573   2C3CCABGXKH537921   Chrysler                        300   Atlanta               GA
50574   2C3CCABGXKH538728   Chrysler                        300   FORT MYERS            FL
50575   2C3CCABGXKH538731   Chrysler                        300   ATLANTA               GA
50576   2C3CCABGXKH538745   Chrysler                        300   MIAMI                 FL
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50577   2C3CCABGXKH539409   Chrysler                        300   JACKSONVILLE          FL
50578   2C3CCABGXKH539460   Chrysler                        300   RALIEGH               NC
50579   2C3CCABGXKH539488   Chrysler                        300   KENNER                LA
50580   2C3CCABGXKH539507   Chrysler                        300   Slidell               LA
50581   2C3CCABGXKH539619   Chrysler                        300   SACRAMENTO            CA
50582   2C3CCABGXKH539636   Chrysler                        300   LAS VEGAS             NV
50583   2C3CCABGXKH542374   Chrysler                        300   Atlanta               GA
50584   2C3CCABGXKH542391   Chrysler                        300   Davie                 FL
50585   2C3CCABGXKH542407   Chrysler                        300   LOS ANGELES           CA
50586   2C3CCABGXKH542410   Chrysler                        300   PLEASANTON            CA
50587   2C3CCABGXKH548823   Chrysler                        300   ORLANDO               FL
50588   2C3CCABGXKH548840   Chrysler                        300   TAMPA                 US
50589   2C3CCABGXKH548868   Chrysler                        300   SAVANNAH              GA
50590   2C3CCABGXKH555433   Chrysler                        300   Atlanta               GA
50591   2C3CCABGXKH555450   Chrysler                        300   WEST PALM BEACH       FL
50592   2C3CCABGXKH555464   Chrysler                        300   Hayward               CA
50593   2C3CCABGXKH555478   Chrysler                        300   WEST PALM BEACH       FL
50594   2C3CCABGXKH555481   Chrysler                        300   MIAMI                 FL
50595   2C3CCABGXKH555500   Chrysler                        300   ORLANDO               FL
50596   2C3CCABGXKH555514   Chrysler                        300   North Dighton         MA
50597   2C3CCABGXKH555528   Chrysler                        300   FORT LAUDERDALE       FL
50598   2C3CCABGXKH555531   Chrysler                        300   ORLANDO               FL
50599   2C3CCABGXKH559384   Chrysler                        300   Tampa                 FL
50600   2C3CCABGXKH559417   Chrysler                        300   Davie                 FL
50601   2C3CCABGXKH559434   Chrysler                        300   HOUSTON               TX
50602   2C3CCABGXKH559501   Chrysler                        300   FORT LAUDERDALE       FL
50603   2C3CCABGXKH559515   Chrysler                        300   Hamilton              OH
50604   2C3CCABGXKH559529   Chrysler                        300   SOUTH BEND            IN
50605   2C3CCABGXKH559580   Chrysler                        300   Atlanta               GA
50606   2C3CCABGXKH559675   Chrysler                        300   KANSAS CITY           MO
50607   2C3CCABGXKH559725   Chrysler                        300   SACRAMENTO            CA
50608   2C3CCABGXKH559756   Chrysler                        300   LOS ANGELES           CA
50609   2C3CCABGXKH559773   Chrysler                        300   BURBANK               CA
50610   2C3CCABGXKH559787   Chrysler                        300   LAS VEGAS             NV
50611   2C3CCABGXKH559823   Chrysler                        300   ONTARIO               CA
50612   2C3CCABGXKH559837   Chrysler                        300   LOS ANGELES           CA
50613   2C3CCABGXKH559840   Chrysler                        300   NORFOLK               VA
50614   2C3CCABGXKH559854   Chrysler                        300   BURBANK               CA
50615   2C3CCABGXKH559868   Chrysler                        300   ONTARIO               CA
50616   2C3CCABGXKH561376   Chrysler                        300   SARASOTA              FL
50617   2C3CCABGXKH562575   Chrysler                        300   SOUTHEAST DST OFFC    OK
50618   2C3CCABGXKH562592   Chrysler                        300   EULESS                TX
50619   2C3CCABGXKH562608   Chrysler                        300   Houston               TX
50620   2C3CCABGXKH562656   Chrysler                        300   TAMPA                 US
50621   2C3CCABGXKH562737   Chrysler                        300   NORFOLK               VA
50622   2C3CCABGXKH562740   Chrysler                        300   Statesville           NC
50623   2C3CCABGXKH562754   Chrysler                        300   Hanover               MD
50624   2C3CCABGXKH562785   Chrysler                        300   LAS VEGAS             NV
50625   2C3CCABGXKH562799   Chrysler                        300   ONTARIO               CA
50626   2C3CCABGXKH562804   Chrysler                        300   LOS ANGELES           CA
50627   2C3CCABGXKH562818   Chrysler                        300   SAN JOSE              CA
50628   2C3CCABGXKH562821   Chrysler                        300   INGLEWOOD             CA
50629   2C3CCABGXKH562835   Chrysler                        300   LOS ANGELES           CA
50630   2C3CCABGXKH565945   Chrysler                        300   FORT MYERS            FL
50631   2C3CCABGXKH565962   Chrysler                        300   WEST PALM BEACH       FL
50632   2C3CCABGXKH565993   Chrysler                        300   STERLING              VA
50633   2C3CCABGXKH566013   Chrysler                        300   FORT MYERS            FL
50634   2C3CCABGXKH566027   Chrysler                        300   WEST COLUMBIA         SC
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50635   2C3CCABGXKH566030   Chrysler                        300   TAMPA                 FL
50636   2C3CCABGXKH569493   Chrysler                        300   CHARLOTTE             NC
50637   2C3CCABGXKH569509   Chrysler                        300   Atlanta               GA
50638   2C3CCABGXKH569526   Chrysler                        300   Elkridge              MD
50639   2C3CCABGXKH569543   Chrysler                        300   Davie                 FL
50640   2C3CCABGXKH569574   Chrysler                        300   WEST PALM BEACH       FL
50641   2C3CCABGXKH585404   Chrysler                        300   SAN DIEGO             CA
50642   2C3CCABGXKH585435   Chrysler                        300   SAN JOSE              CA
50643   2C3CCABGXKH585483   Chrysler                        300   Memphis               TN
50644   2C3CCABGXKH585502   Chrysler                        300   DES PLAINES           IL
50645   2C3CCABGXKH585547   Chrysler                        300   TAMPA                 FL
50646   2C3CCABGXKH585550   Chrysler                        300   ATHENS                GA
50647   2C3CCABGXKH589713   Chrysler                        300   SARASOTA              FL
50648   2C3CCABGXKH589730   Chrysler                        300   FORT MYERS            FL
50649   2C3CCABGXKH589744   Chrysler                        300   FORT MYERS            FL
50650   2C3CCABGXKH589758   Chrysler                        300   ORLANDO               FL
50651   2C3CCABGXKH589775   Chrysler                        300   TAMPA                 FL
50652   2C3CCABGXKH601035   Chrysler                        300   Los Angeles           CA
50653   2C3CCABGXKH601049   Chrysler                        300   LOS ANGELES           CA
50654   2C3CCABGXKH601052   Chrysler                        300   SEATAC                WA
50655   2C3CCABGXKH601066   Chrysler                        300   SAN FRANCISCO         CA
50656   2C3CCABGXKH601083   Chrysler                        300   LOS ANGELES AP        CA
50657   2C3CCABGXKH601097   Chrysler                        300   GRAND RAPIDS          MI
50658   2C3CCABGXKH601164   Chrysler                        300   MORRISVILLE           NC
50659   2C3CCABGXKH601178   Chrysler                        300   ORLANDO               FL
50660   2C3CCABGXKH601195   Chrysler                        300   KENNER                LA
50661   2C3CCABGXKH601200   Chrysler                        300   Atlanta               GA
50662   2C3CCABGXKH601214   Chrysler                        300   DENVER                CO
50663   2C3CCABGXKH601231   Chrysler                        300   Statesville           NC
50664   2C3CCABGXKH609314   Chrysler                        300   Houston               TX
50665   2C3CCABGXKH609328   Chrysler                        300   NEW BERN              NC
50666   2C3CCABGXKH609331   Chrysler                        300   NEW BERN              NC
50667   2C3CCABGXKH609359   Chrysler                        300   NEW BERN              NC
50668   2C3CCABGXKH609362   Chrysler                        300   Orlando               FL
50669   2C3CCABGXKH609393   Chrysler                        300   PHILADELPHIA          US
50670   2C3CCABGXKH609409   Chrysler                        300   NEW BERN              NC
50671   2C3CCABGXKH609457   Chrysler                        300   LOS ANGELES           CA
50672   2C3CCABGXKH609488   Chrysler                        300   SAN DIEGO             US
50673   2C3CCABGXKH609491   Chrysler                        300   LITTLE ROCK           AR
50674   2C3CCABGXKH609507   Chrysler                        300   GRAND RAPIDS          MI
50675   2C3CCABGXKH609510   Chrysler                        300   PORTLAND              OR
50676   2C3CCABGXKH617865   Chrysler                        300   OAKLAND               CA
50677   2C3CCABGXKH617882   Chrysler                        300   TAMPA                 FL
50678   2C3CCABGXKH617896   Chrysler                        300   COLUMBIA              SC
50679   2C3CCABGXKH617901   Chrysler                        300   SEATAC                WA
50680   2C3CCABGXKH617915   Chrysler                        300   ORLANDO               FL
50681   2C3CCABGXKH617929   Chrysler                        300   FORT LAUDERDALE       FL
50682   2C3CCABGXKH617932   Chrysler                        300   ORLANDO               FL
50683   2C3CCABGXKH617946   Chrysler                        300   BOSTON, LOGAN AP      MA
50684   2C3CCABGXKH617980   Chrysler                        300   CLEVELAND             OH
50685   2C3CCABGXKH617994   Chrysler                        300   PHILADELPHIA          PA
50686   2C3CCABGXKH618000   Chrysler                        300   SAINT PAUL            MN
50687   2C3CCABGXKH618014   Chrysler                        300   EAST BOSTON           MA
50688   2C3CCABGXKH618028   Chrysler                        300   Manheim               PA
50689   2C3CCABGXKH618059   Chrysler                        300   DETROIT               MI
50690   2C3CCABGXKH618076   Chrysler                        300   ST PAUL               MN
50691   2C3CCABGXKH618112   Chrysler                        300   Detroit               MI
50692   2C3CCABGXKH618143   Chrysler                        300   Carleton              MI
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50693   2C3CCABGXKH618157   Chrysler                        300   CHICAGO               IL
50694   2C3CCABGXKH618160   Chrysler                        300   DETROIT               MI
50695   2C3CCABGXKH618174   Chrysler                        300   INDIANAPOLIS          IN
50696   2C3CCABGXKH625934   Chrysler                        300   CLEVELAND             OH
50697   2C3CCABGXKH625948   Chrysler                        300   BOSTON                MA
50698   2C3CCABGXKH625951   Chrysler                        300   ST PAUL               MN
50699   2C3CCABGXKH628574   Chrysler                        300   FAYETTEVILLE          US
50700   2C3CCABGXKH628591   Chrysler                        300   GREENWOOD             IN
50701   2C3CCABGXKH628607   Chrysler                        300   SAINT LOUIS           MO
50702   2C3CCABGXKH628610   Chrysler                        300   NEWARK                NJ
50703   2C3CCABGXKH628624   Chrysler                        300   NORFOLK               VA
50704   2C3CCABGXKH628638   Chrysler                        300   WHITE PLAINS          NY
50705   2C3CCABGXKH628641   Chrysler                        300   RALEIGH               NC
50706   2C3CCABGXKH628655   Chrysler                        300   CHEEKTOWAGA           NY
50707   2C3CCABGXKH628669   Chrysler                        300   RICHMOND              VA
50708   2C3CCABGXKH628672   Chrysler                        300   ORLANDO               FL
50709   2C3CCABGXKH628686   Chrysler                        300   ROANOKE               VA
50710   2C3CCABGXKH628705   Chrysler                        300   PHILADELPHIA          PA
50711   2C3CCABGXKH628719   Chrysler                        300   PHILADELPHIA          US
50712   2C3CCABGXKH628722   Chrysler                        300   CHARLOTTE             NC
50713   2C3CCABGXKH628736   Chrysler                        300   FORT LAUDERDALE       FL
50714   2C3CCABGXKH628753   Chrysler                        300   KNOXVILLE             TN
50715   2C3CCABGXKH628767   Chrysler                        300   CHARLESTON            WV
50716   2C3CCABGXKH628770   Chrysler                        300   JACKSON               MS
50717   2C3CCABGXKH628784   Chrysler                        300   BLOOMINGTON           IL
50718   2C3CCABGXKH628803   Chrysler                        300   Springfield           MO
50719   2C3CCABGXKH628851   Chrysler                        300   ST PAUL               MN
50720   2C3CCABGXKH633984   Chrysler                        300   ONTARIO               CA
50721   2C3CCABGXKH633998   Chrysler                        300   PHOENIX               AZ
50722   2C3CCABGXKH634004   Chrysler                        300   ORANGE COUNTY         CA
50723   2C3CCABGXKH634018   Chrysler                        300   SOUTH SAN FRANC       CA
50724   2C3CCABGXKH634021   Chrysler                        300   SAN DIEGO             CA
50725   2C3CCABGXKH634035   Chrysler                        300   SANTA ANA             CA
50726   2C3CCABGXKH634049   Chrysler                        300   SAN DIEGO             CA
50727   2C3CCABGXKH634052   Chrysler                        300   LOUISVILLE            KY
50728   2C3CCABGXKH634066   Chrysler                        300   GREENSBORO            NC
50729   2C3CCABGXKH634083   Chrysler                        300   SAVANNAH              GA
50730   2C3CCABGXKH635024   Chrysler                        300   WEST COLUMBIA         SC
50731   2C3CCABGXKH635041   Chrysler                        300   NORFOLK               VA
50732   2C3CCABGXKH635055   Chrysler                        300   NEW YORK CITY         NY
50733   2C3CCABGXKH635069   Chrysler                        300   KNOXVILLE             TN
50734   2C3CCABGXKH635072   Chrysler                        300   CHARLESTON            WV
50735   2C3CCABGXKH635086   Chrysler                        300   NEW BERN              NC
50736   2C3CCABGXKH635105   Chrysler                        300   MIAMI                 FL
50737   2C3CCABGXKH637243   Chrysler                        300   STERLING              VA
50738   2C3CCABGXKH637257   Chrysler                        300   RICHMOND              VA
50739   2C3CCABGXKH637260   Chrysler                        300   SARASOTA              FL
50740   2C3CCABGXKH637274   Chrysler                        300   NEW ORLEANS           LA
50741   2C3CCABGXKH637288   Chrysler                        300   SARASOTA              FL
50742   2C3CCABGXKH637713   Chrysler                        300   MARY ESTHER           FL
50743   2C3CCABGXKH637727   Chrysler                        300   TAMPA                 FL
50744   2C3CCABGXKH637730   Chrysler                        300   ATLANTA               GA
50745   2C3CCABGXKH637744   Chrysler                        300   ATLANTA               GA
50746   2C3CCABGXKH637758   Chrysler                        300   LAS VEGAS             NV
50747   2C3CCABGXKH637761   Chrysler                        300   Miami                 FL
50748   2C3CCABGXKH637940   Chrysler                        300   RICHMOND              VA
50749   2C3CCABGXKH637954   Chrysler                        300   INDIANAPOLIS          IN
50750   2C3CCABGXKH637968   Chrysler                        300   BUFFALO               NY
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50751   2C3CCABGXKH637971   Chrysler                        300   ATLANTA               GA
50752   2C3CCABGXKH637985   Chrysler                        300   ORLANDO               FL
50753   2C3CCABGXKH638098   Chrysler                        300   MILWAUKEE             WI
50754   2C3CCABGXKH638103   Chrysler                        300   PHILADELPHIA          PA
50755   2C3CCABGXKH638117   Chrysler                        300   DETROIT               MI
50756   2C3CCABGXKH639087   Chrysler                        300   DETROIT               MI
50757   2C3CCABGXKH639090   Chrysler                        300   CLEVELAND             OH
50758   2C3CCABGXKH639106   Chrysler                        300   ATLANTA               GA
50759   2C3CCABGXKH639123   Chrysler                        300   GRAND RAPIDS          MI
50760   2C3CCABGXKH639803   Chrysler                        300   LAS VEGAS             NV
50761   2C3CCABGXKH639817   Chrysler                        300   CHARLOTTE             NC
50762   2C3CCABGXKH639820   Chrysler                        300   KNOXVILLE             TN
50763   2C3CCABGXKH639848   Chrysler                        300   SARASOTA              FL
50764   2C3CCABGXKH639851   Chrysler                        300   Austin                TX
50765   2C3CCABGXKH639865   Chrysler                        300   HOUSTON               TX
50766   2C3CCABGXKH648033   Chrysler                        300   PHILADELPHIA          PA
50767   2C3CCABGXKH648050   Chrysler                        300   ORLANDO               FL
50768   2C3CCABGXKH648064   Chrysler                        300   SARASOTA              FL
50769   2C3CCABGXKH654009   Chrysler                        300   BIRMINGHAM            AL
50770   2C3CCABGXKH654012   Chrysler                        300   INDIANAPOLIS          IN
50771   2C3CCABGXKH654026   Chrysler                        300   ATLANTA               GA
50772   2C3CCABGXKH654043   Chrysler                        300   NASHVILLE             TN
50773   2C3CCABGXKH654057   Chrysler                        300   BOSTON                MA
50774   2C3CCABGXKH654074   Chrysler                        300   NEWARK                NJ
50775   2C3CCABGXKH654088   Chrysler                        300   MIAMI                 FL
50776   2C3CCABGXKH654091   Chrysler                        300   NEW BERN              NC
50777   2C3CCABGXKH654107   Chrysler                        300   JACKSONVILLE          FL
50778   2C3CCABGXKH654110   Chrysler                        300   ORLANDO               FL
50779   2C3CCABGXKH654124   Chrysler                        300   ORLANDO               FL
50780   2C3CCABGXKH654138   Chrysler                        300   ATLANTA               GA
50781   2C3CCABGXKH654141   Chrysler                        300   Atlanta               GA
50782   2C3CCABGXKH654155   Chrysler                        300   Atlanta               GA
50783   2C3CCABGXKH654172   Chrysler                        300   NEW BERN              NC
50784   2C3CCABGXKH654186   Chrysler                        300   Winston‐Salem         NC
50785   2C3CCABGXKH654205   Chrysler                        300   PHILADELPHIA          PA
50786   2C3CCABGXKH654222   Chrysler                        300   NORFOLK               VA
50787   2C3CCABGXKH654236   Chrysler                        300   ATLANTA               GA
50788   2C3CCABGXKH654253   Chrysler                        300   Atlanta               GA
50789   2C3CCABGXKH654267   Chrysler                        300   SAINT LOUIS           MO
50790   2C3CCABGXKH654303   Chrysler                        300   NAPLES                FL
50791   2C3CCABGXKH654317   Chrysler                        300   BRONX                 NY
50792   2C3CCABGXKH654320   Chrysler                        300   BOSTON                MA
50793   2C3CCABGXKH654334   Chrysler                        300   ROY                   UT
50794   2C3CCABGXKH654379   Chrysler                        300   Phoenix               AZ
50795   2C3CCABGXKH654382   Chrysler                        300   LAS VEGAS             NV
50796   2C3CCABGXKH654396   Chrysler                        300   PHOENIX               AZ
50797   2C3CCABGXKH654401   Chrysler                        300   SALT LAKE CITY        US
50798   2C3CCABGXKH654415   Chrysler                        300   PHOENIX               AZ
50799   2C3CCABGXKH655273   Chrysler                        300   WEST COLUMBIA         SC
50800   2C3CCABGXKH660294   Chrysler                        300   Reno                  NV
50801   2C3CCABGXKH661140   Chrysler                        300   SAINT LOUIS           MO
50802   2C3CCABGXLH137245   Chrysler                        300   PENSACOLA             FL
50803   2C3CCABGXLH141781   Chrysler                        300   KNOXVILLE             TN
50804   2C3CCAEG1HH669048   Chrysler                        300   Hayward               CA
50805   2C3CCAEG1JH263759   Chrysler                        300   Santa Clara           CA
50806   2C3CCAEG1JH301524   Chrysler                        300   SOUTH SAN FRANC       CA
50807   2C3CCAEG2HH667986   Chrysler                        300   Hayward               CA
50808   2C3CCAEG3HH667978   Chrysler                        300   Hayward               CA
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50809   2C3CCAEG3HH667981   Chrysler                        300   SAN FRANCISCO         CA
50810   2C3CCAEG4HH667987   Chrysler                        300   Santa Clara           CA
50811   2C3CCAEG5HH667982   Chrysler                        300   Hayward               CA
50812   2C3CCAEG6HH667974   Chrysler                        300   TRACY                 CA
50813   2C3CCAEG6JH262011   Chrysler                        300   Kent                  WA
50814   2C3CCAEG7HH667997   Chrysler                        300   PLEASANTON            CA
50815   2C3CCAEG7JH263846   Chrysler                        300   LOUISVILLE            KY
50816   2C3CCAEG7JH263961   Chrysler                        300   BURBANK               CA
50817   2C3CCAEG7JH269825   Chrysler                        300   Tampa                 FL
50818   2C3CCAEG8HH667975   Chrysler                        300   Portland              OR
50819   2C3CCAEG8HH668009   Chrysler                        300   Fresno                CA
50820   2C3CCAEG8HH668012   Chrysler                        300   Roseville             CA
50821   2C3CCAEG9HH579758   Chrysler                        300   MILWAUKEE             US
50822   2C3CCAEGXHH667993   Chrysler                        300   North Las Vegas       NV
50823   2C3CCAEGXHH669047   Chrysler                        300   Sacramento            CA
50824   2C3CCAGG0JH226599   Chrysler                        300   SOUTH BEND            IN
50825   2C3CCAGG0JH240776   Chrysler                        300   Tolleson              AZ
50826   2C3CCAGG0JH267234   Chrysler                        300   Fontana               CA
50827   2C3CCAGG0JH267377   Chrysler                        300   Riverside             CA
50828   2C3CCAGG0JH267525   Chrysler                        300   Chandler              AZ
50829   2C3CCAGG0JH267590   Chrysler                        300   Denver                CO
50830   2C3CCAGG0JH267797   Chrysler                        300   SAN LEANDRO           CA
50831   2C3CCAGG0JH269937   Chrysler                        300   SEATTLE               WA
50832   2C3CCAGG0KH517427   Chrysler                        300   INGLEWOOD             CA
50833   2C3CCAGG0KH517430   Chrysler                        300   LOS ANGELES           CA
50834   2C3CCAGG0KH517458   Chrysler                        300   Roseville             CA
50835   2C3CCAGG0KH517461   Chrysler                        300   PETALUMA              CA
50836   2C3CCAGG0KH517475   Chrysler                        300   SAN FRANCISCO         CA
50837   2C3CCAGG0KH517489   Chrysler                        300   Anaheim               CA
50838   2C3CCAGG0KH517508   Chrysler                        300   LOS ANGELES           CA
50839   2C3CCAGG0KH517511   Chrysler                        300   Rio Linda             CA
50840   2C3CCAGG0KH531053   Chrysler                        300   LOS ANGELES           CA
50841   2C3CCAGG0KH531067   Chrysler                        300   OMAHA                 NE
50842   2C3CCAGG0KH531070   Chrysler                        300   Pasadena              CA
50843   2C3CCAGG0KH533823   Chrysler                        300   ORANGE COUNTY         CA
50844   2C3CCAGG0KH533837   Chrysler                        300   SACRAMENTO            CA
50845   2C3CCAGG0KH533840   Chrysler                        300   MEMPHIS               TN
50846   2C3CCAGG0KH533854   Chrysler                        300   LAS VEGAS             NV
50847   2C3CCAGG0KH536804   Chrysler                        300   TUCSON                AZ
50848   2C3CCAGG0KH536821   Chrysler                        300   TUCSON                AZ
50849   2C3CCAGG0KH536849   Chrysler                        300   KNOXVILLE             TN
50850   2C3CCAGG0KH539654   Chrysler                        300   TAMPA                 FL
50851   2C3CCAGG0KH539668   Chrysler                        300   PHOENIX               AZ
50852   2C3CCAGG0KH539685   Chrysler                        300   CHARLESTON            WV
50853   2C3CCAGG0KH539699   Chrysler                        300   SANTA ANA             CA
50854   2C3CCAGG0KH539704   Chrysler                        300   LOS ANGELES           CA
50855   2C3CCAGG0KH539718   Chrysler                        300   Tolleson              AZ
50856   2C3CCAGG0KH539721   Chrysler                        300   Fontana               CA
50857   2C3CCAGG0KH539735   Chrysler                        300   Euless                TX
50858   2C3CCAGG0KH539749   Chrysler                        300   WEST PALM BEACH       FL
50859   2C3CCAGG0KH539797   Chrysler                        300   TAMPA                 FL
50860   2C3CCAGG0KH539802   Chrysler                        300   STERLING              VA
50861   2C3CCAGG0KH539816   Chrysler                        300   WEST PALM BEACH       FL
50862   2C3CCAGG0KH539850   Chrysler                        300   Davie                 FL
50863   2C3CCAGG0KH542599   Chrysler                        300   FORT LAUDERDALE       FL
50864   2C3CCAGG0KH542604   Chrysler                        300   FORT MYERS            FL
50865   2C3CCAGG0KH542618   Chrysler                        300   LOS ANGELES           CA
50866   2C3CCAGG0KH542621   Chrysler                        300   Lake Elsinore         CA
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50867   2C3CCAGG0KH542635   Chrysler                        300   BURBANK               CA
50868   2C3CCAGG0KH542649   Chrysler                        300   PHOENIX               AZ
50869   2C3CCAGG0KH542652   Chrysler                        300   SANTA ANA             CA
50870   2C3CCAGG0KH542666   Chrysler                        300   SEATAC                WA
50871   2C3CCAGG0KH542697   Chrysler                        300   LOS ANGELES           CA
50872   2C3CCAGG0KH542702   Chrysler                        300   FRESNO                CA
50873   2C3CCAGG0KH542733   Chrysler                        300   FRESNO                CA
50874   2C3CCAGG0KH542747   Chrysler                        300   Pasadena              CA
50875   2C3CCAGG0KH542764   Chrysler                        300   TUCSON                AZ
50876   2C3CCAGG0KH542778   Chrysler                        300   SACRAMENTO            CA
50877   2C3CCAGG0KH542781   Chrysler                        300   SAN DIEGO             CA
50878   2C3CCAGG0KH542814   Chrysler                        300   ORANGE COUNTY         CA
50879   2C3CCAGG0KH561489   Chrysler                        300   FORT MYERS            FL
50880   2C3CCAGG0KH561492   Chrysler                        300   WEST PALM BEACH       FL
50881   2C3CCAGG0KH569110   Chrysler                        300   LOS ANGELES           CA
50882   2C3CCAGG0KH569334   Chrysler                        300   LOS ANGELES AP        CA
50883   2C3CCAGG0KH569351   Chrysler                        300   NEW BERN              NC
50884   2C3CCAGG0KH569365   Chrysler                        300   LOS ANGELES           CA
50885   2C3CCAGG0KH569723   Chrysler                        300   OAKLAND               CA
50886   2C3CCAGG0KH569737   Chrysler                        300   MEMPHIS               TN
50887   2C3CCAGG0KH569754   Chrysler                        300   Burien                WA
50888   2C3CCAGG0KH569785   Chrysler                        300   BURBANK               CA
50889   2C3CCAGG0KH569799   Chrysler                        300   LAS VEGAS             NV
50890   2C3CCAGG0KH569818   Chrysler                        300   Fontana               CA
50891   2C3CCAGG0KH569821   Chrysler                        300   LOS ANGELES           CA
50892   2C3CCAGG0KH586036   Chrysler                        300   HOUSTON               TX
50893   2C3CCAGG0KH586053   Chrysler                        300   INDIANAPOLIS          IN
50894   2C3CCAGG0KH586067   Chrysler                        300   GRAND RAPIDS          MI
50895   2C3CCAGG0KH586070   Chrysler                        300   Florissant            MO
50896   2C3CCAGG0KH586103   Chrysler                        300   SAINT PAUL            MN
50897   2C3CCAGG0KH586117   Chrysler                        300   Warminster            PA
50898   2C3CCAGG0KH586120   Chrysler                        300   PHILADELPHIA          PA
50899   2C3CCAGG0KH586134   Chrysler                        300   DETROIT               MI
50900   2C3CCAGG0KH586151   Chrysler                        300   DENVER                CO
50901   2C3CCAGG0KH586165   Chrysler                        300   PHOENIX               AZ
50902   2C3CCAGG0KH586179   Chrysler                        300   LAS VEGAS             NV
50903   2C3CCAGG0KH586182   Chrysler                        300   LAS VEGAS             NV
50904   2C3CCAGG0KH586196   Chrysler                        300   LAS VEGAS             NV
50905   2C3CCAGG0KH586215   Chrysler                        300   LOS ANGELES           CA
50906   2C3CCAGG0KH586232   Chrysler                        300   PHOENIX               AZ
50907   2C3CCAGG0KH586246   Chrysler                        300   Albuquerque           NM
50908   2C3CCAGG0KH586277   Chrysler                        300   PHOENIX               AZ
50909   2C3CCAGG0KH586280   Chrysler                        300   SALT LAKE CITY        US
50910   2C3CCAGG0KH586330   Chrysler                        300   DETROIT               MI
50911   2C3CCAGG0KH586344   Chrysler                        300   Kansas City           MO
50912   2C3CCAGG0KH586358   Chrysler                        300   SAINT PAUL            MN
50913   2C3CCAGG0KH586361   Chrysler                        300   Matteson              IL
50914   2C3CCAGG0KH586375   Chrysler                        300   KANSAS CITY           MO
50915   2C3CCAGG0KH586389   Chrysler                        300   SACRAMENTO            CA
50916   2C3CCAGG0KH586408   Chrysler                        300   Greensboro            NC
50917   2C3CCAGG0KH586411   Chrysler                        300   MEDINA                OH
50918   2C3CCAGG0KH586425   Chrysler                        300   San Antonio           TX
50919   2C3CCAGG0KH610609   Chrysler                        300   DENVER                CO
50920   2C3CCAGG0KH610626   Chrysler                        300   SANTA ANA             CA
50921   2C3CCAGG0KH610643   Chrysler                        300   LOS ANGELES           CA
50922   2C3CCAGG0KH610660   Chrysler                        300   NASHVILLE             TN
50923   2C3CCAGG0KH610674   Chrysler                        300   GRAND RAPIDS          MI
50924   2C3CCAGG0KH610688   Chrysler                        300   INDIANAPOLIS          IN
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50925   2C3CCAGG0KH610691   Chrysler                        300   TAMPA                 FL
50926   2C3CCAGG0KH610707   Chrysler                        300   CHICAGO               IL
50927   2C3CCAGG0KH610710   Chrysler                        300   DETROIT               MI
50928   2C3CCAGG0KH610724   Chrysler                        300   Teterboro             NJ
50929   2C3CCAGG0KH610738   Chrysler                        300   BOSTON                MA
50930   2C3CCAGG0KH610741   Chrysler                        300   PHILADELPHIA          PA
50931   2C3CCAGG0KH610755   Chrysler                        300   JAMAICA               NY
50932   2C3CCAGG0KH610769   Chrysler                        300   HARTFORD              CT
50933   2C3CCAGG0KH610772   Chrysler                        300   NEWARK                NJ
50934   2C3CCAGG0KH610786   Chrysler                        300   Atlanta               GA
50935   2C3CCAGG0KH610819   Chrysler                        300   NASHVILLE             TN
50936   2C3CCAGG0KH610822   Chrysler                        300   MISSOULA              MT
50937   2C3CCAGG0KH631475   Chrysler                        300   ORANGE COUNTY         CA
50938   2C3CCAGG0KH631489   Chrysler                        300   LAS VEGAS             NV
50939   2C3CCAGG0KH631492   Chrysler                        300   LOS ANGELES           CA
50940   2C3CCAGG0KH631508   Chrysler                        300   ATLANTA               GA
50941   2C3CCAGG0KH631511   Chrysler                        300   SAVANNAH              GA
50942   2C3CCAGG0KH632075   Chrysler                        300   SACRAMENTO            CA
50943   2C3CCAGG0KH632089   Chrysler                        300   SHREVEPORT            LA
50944   2C3CCAGG0KH632092   Chrysler                        300   BLOOMINGTON           IL
50945   2C3CCAGG0KH632108   Chrysler                        300   WARWICK               RI
50946   2C3CCAGG0KH632111   Chrysler                        300   NAPLES                FL
50947   2C3CCAGG0KH632125   Chrysler                        300   Jacksonville          FL
50948   2C3CCAGG0KH632142   Chrysler                        300   SAVANNAH              GA
50949   2C3CCAGG0KH632156   Chrysler                        300   Salt Lake City        UT
50950   2C3CCAGG0KH632187   Chrysler                        300   GRAND RAPIDS          MI
50951   2C3CCAGG0KH632190   Chrysler                        300   Hamilton              OH
50952   2C3CCAGG0KH634425   Chrysler                        300   Hebron                KY
50953   2C3CCAGG0KH634439   Chrysler                        300   PHILADELPHIA          PA
50954   2C3CCAGG0KH634442   Chrysler                        300   PHILADELPHIA          PA
50955   2C3CCAGG0KH635168   Chrysler                        300   CHICAGO O'HARE AP     IL
50956   2C3CCAGG0KH635171   Chrysler                        300   KNOXVILLE             TN
50957   2C3CCAGG0KH635185   Chrysler                        300   WOODSON TERRACE       MO
50958   2C3CCAGG0KH635199   Chrysler                        300   Maple Grove           MN
50959   2C3CCAGG0KH635204   Chrysler                        300   INDIANAPOLIS          IN
50960   2C3CCAGG0KH648406   Chrysler                        300   BURBANK               CA
50961   2C3CCAGG0KH648423   Chrysler                        300   LAS VEGAS             NV
50962   2C3CCAGG0KH648440   Chrysler                        300   PORTLAND              OR
50963   2C3CCAGG0KH648454   Chrysler                        300   PHOENIX               AZ
50964   2C3CCAGG0KH648468   Chrysler                        300   SAN JOSE              CA
50965   2C3CCAGG0KH648471   Chrysler                        300   LAS VEGAS             NV
50966   2C3CCAGG0KH648485   Chrysler                        300   SAN JOSE              CA
50967   2C3CCAGG0KH648499   Chrysler                        300   RICHMOND              VA
50968   2C3CCAGG0KH648504   Chrysler                        300   NEW BERN              NC
50969   2C3CCAGG0KH648518   Chrysler                        300   INDIANAPOLIS          IN
50970   2C3CCAGG0KH648521   Chrysler                        300   WOODSON TERRACE       MO
50971   2C3CCAGG0KH648535   Chrysler                        300   CHICAGO               IL
50972   2C3CCAGG0KH648549   Chrysler                        300   CHICAGO               US
50973   2C3CCAGG0KH648552   Chrysler                        300   MILWAUKEE AIRPORT     WI
50974   2C3CCAGG0KH648566   Chrysler                        300   SALT LAKE CITY        US
50975   2C3CCAGG0KH648583   Chrysler                        300   DENVER                CO
50976   2C3CCAGG0KH648597   Chrysler                        300   PENSACOLA             FL
50977   2C3CCAGG0KH648602   Chrysler                        300   CHICAGO               IL
50978   2C3CCAGG0KH648616   Chrysler                        300   HOUSTON               TX
50979   2C3CCAGG0KH648633   Chrysler                        300   FOND DU LAC           WI
50980   2C3CCAGG0KH648647   Chrysler                        300   DALLAS                TX
50981   2C3CCAGG0KH648650   Chrysler                        300   FRESNO                CA
50982   2C3CCAGG0KH648664   Chrysler                        300   SHREVEPORT            LA
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50983   2C3CCAGG0KH648678   Chrysler                        300   BIRMINGHAM            AL
50984   2C3CCAGG0KH648681   Chrysler                        300   SOUTH BEND            IN
50985   2C3CCAGG0KH648695   Chrysler                        300   DALLAS                TX
50986   2C3CCAGG0KH648714   Chrysler                        300   Hebron                KY
50987   2C3CCAGG0KH648731   Chrysler                        300   LOUISVILLE            KY
50988   2C3CCAGG0KH648745   Chrysler                        300   CHICAGO               IL
50989   2C3CCAGG0KH648759   Chrysler                        300   CLEVELAND             OH
50990   2C3CCAGG0KH648762   Chrysler                        300   CHICAGO               IL
50991   2C3CCAGG0KH648776   Chrysler                        300   Teterboro             NJ
50992   2C3CCAGG0KH648793   Chrysler                        300   PHOENIX               AZ
50993   2C3CCAGG0KH648809   Chrysler                        300   SANTA ANA             CA
50994   2C3CCAGG0KH648812   Chrysler                        300   BURBANK               CA
50995   2C3CCAGG0KH648826   Chrysler                        300   MEMPHIS               TN
50996   2C3CCAGG0KH648843   Chrysler                        300   Atlanta               GA
50997   2C3CCAGG0KH648857   Chrysler                        300   ATLANTA               GA
50998   2C3CCAGG0KH648860   Chrysler                        300   LOUISVILLE            KY
50999   2C3CCAGG0KH648874   Chrysler                        300   FORT LAUDERDALE       FL
51000   2C3CCAGG0KH648888   Chrysler                        300   OMAHA                 NE
51001   2C3CCAGG0KH648891   Chrysler                        300   BLOOMINGTON           IL
51002   2C3CCAGG0KH648907   Chrysler                        300   CHARLOTTE             NC
51003   2C3CCAGG0KH648910   Chrysler                        300   DES PLAINES           IL
51004   2C3CCAGG0KH648924   Chrysler                        300   SAINT PAUL            MN
51005   2C3CCAGG0KH648938   Chrysler                        300   CLEVELAND             OH
51006   2C3CCAGG0KH648941   Chrysler                        300   SAINT LOUIS           MO
51007   2C3CCAGG0KH648955   Chrysler                        300   ALBANY                NY
51008   2C3CCAGG0KH648969   Chrysler                        300   STERLING              VA
51009   2C3CCAGG0KH648972   Chrysler                        300   LOUISVILLE            KY
51010   2C3CCAGG0KH648986   Chrysler                        300   Stone Mountain        GA
51011   2C3CCAGG0KH649006   Chrysler                        300   SAINT PAUL            MN
51012   2C3CCAGG0KH649023   Chrysler                        300   SHREVEPORT            LA
51013   2C3CCAGG0KH649037   Chrysler                        300   HOUSTON               TX
51014   2C3CCAGG0KH649040   Chrysler                        300   LAS VEGAS             NV
51015   2C3CCAGG0KH651483   Chrysler                        300   LOS ANGELES           CA
51016   2C3CCAGG0KH651497   Chrysler                        300   ORLANDO               FL
51017   2C3CCAGG0KH651502   Chrysler                        300   MIAMI                 FL
51018   2C3CCAGG0KH651516   Chrysler                        300   WEST PALM BEACH       FL
51019   2C3CCAGG0KH651533   Chrysler                        300   TAMPA                 US
51020   2C3CCAGG0KH651547   Chrysler                        300   GYPSUM                CO
51021   2C3CCAGG0KH651550   Chrysler                        300   DENVER                CO
51022   2C3CCAGG0KH651564   Chrysler                        300   Atlanta               GA
51023   2C3CCAGG0KH651578   Chrysler                        300   SAN FRANCISCO         CA
51024   2C3CCAGG0KH651581   Chrysler                        300   DENVER                CO
51025   2C3CCAGG0KH651595   Chrysler                        300   CLEVELAND             OH
51026   2C3CCAGG0KH654576   Chrysler                        300   CHICAGO               IL
51027   2C3CCAGG0KH654593   Chrysler                        300   RICHMOND              VA
51028   2C3CCAGG0KH654609   Chrysler                        300   SHREVEPORT            LA
51029   2C3CCAGG0KH654612   Chrysler                        300   PHOENIX               AZ
51030   2C3CCAGG0KH655307   Chrysler                        300   NEW BERN              NC
51031   2C3CCAGG0KH656036   Chrysler                        300   ORLANDO               FL
51032   2C3CCAGG0KH656053   Chrysler                        300   DALLAS                TX
51033   2C3CCAGG0KH659227   Chrysler                        300   SALT LAKE CITY        US
51034   2C3CCAGG0KH659230   Chrysler                        300   DES MOINES            IA
51035   2C3CCAGG0KH659244   Chrysler                        300   AUSTIN                TX
51036   2C3CCAGG0KH663939   Chrysler                        300   CHICAGO               IL
51037   2C3CCAGG1JH267257   Chrysler                        300   Newport Beach         CA
51038   2C3CCAGG1JH267307   Chrysler                        300   San Diego             CA
51039   2C3CCAGG1JH267680   Chrysler                        300   Norwalk               CA
51040   2C3CCAGG1JH267825   Chrysler                        300   Fontana               CA
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51041   2C3CCAGG1KH517419   Chrysler                        300   PHOENIX               AZ
51042   2C3CCAGG1KH517422   Chrysler                        300   PALM SPRINGS          CA
51043   2C3CCAGG1KH517436   Chrysler                        300   SEATAC                WA
51044   2C3CCAGG1KH517453   Chrysler                        300   SAN DIEGO             CA
51045   2C3CCAGG1KH517467   Chrysler                        300   LOS ANGELES           CA
51046   2C3CCAGG1KH517470   Chrysler                        300   LOS ANGELES           CA
51047   2C3CCAGG1KH517484   Chrysler                        300   Riverside             CA
51048   2C3CCAGG1KH517498   Chrysler                        300   SAN DIEGO             CA
51049   2C3CCAGG1KH517503   Chrysler                        300   SAN JOSE              CA
51050   2C3CCAGG1KH531045   Chrysler                        300   SAN DIEGO             CA
51051   2C3CCAGG1KH531059   Chrysler                        300   SEATAC                WA
51052   2C3CCAGG1KH531062   Chrysler                        300   Tolleson              AZ
51053   2C3CCAGG1KH531076   Chrysler                        300   INGLEWOOD             CA
51054   2C3CCAGG1KH533815   Chrysler                        300   LAS VEGAS             NV
51055   2C3CCAGG1KH533829   Chrysler                        300   Fontana               CA
51056   2C3CCAGG1KH533846   Chrysler                        300   PHOENIX               AZ
51057   2C3CCAGG1KH536827   Chrysler                        300   ORLANDO               FL
51058   2C3CCAGG1KH536861   Chrysler                        300   WEST COLUMBIA         SC
51059   2C3CCAGG1KH538884   Chrysler                        300   ORLANDO               FL
51060   2C3CCAGG1KH539663   Chrysler                        300   NORTH HILLS           CA
51061   2C3CCAGG1KH539677   Chrysler                        300   TUCSON                AZ
51062   2C3CCAGG1KH539680   Chrysler                        300   San Diego             CA
51063   2C3CCAGG1KH539694   Chrysler                        300   LAS VEGAS             NV
51064   2C3CCAGG1KH539727   Chrysler                        300   NEWARK                NJ
51065   2C3CCAGG1KH539744   Chrysler                        300   TAMPA                 FL
51066   2C3CCAGG1KH539758   Chrysler                        300   ORLANDO               FL
51067   2C3CCAGG1KH539761   Chrysler                        300   CHICAGO               IL
51068   2C3CCAGG1KH539808   Chrysler                        300   ATLANTA               GA
51069   2C3CCAGG1KH539811   Chrysler                        300   Manheim               PA
51070   2C3CCAGG1KH539825   Chrysler                        300   CHEEKTOWAGA           NY
51071   2C3CCAGG1KH539842   Chrysler                        300   Hamilton              OH
51072   2C3CCAGG1KH539856   Chrysler                        300   Fayetteville          NC
51073   2C3CCAGG1KH542613   Chrysler                        300   ORLANDO               FL
51074   2C3CCAGG1KH542627   Chrysler                        300   SALT LAKE CITY        US
51075   2C3CCAGG1KH542630   Chrysler                        300   BURBANK               CA
51076   2C3CCAGG1KH542644   Chrysler                        300   SAN JOSE              CA
51077   2C3CCAGG1KH542658   Chrysler                        300   PORTLAND              OR
51078   2C3CCAGG1KH542661   Chrysler                        300   LAS VEGAS             NV
51079   2C3CCAGG1KH542675   Chrysler                        300   SAN DIEGO             CA
51080   2C3CCAGG1KH542689   Chrysler                        300   FRESNO                CA
51081   2C3CCAGG1KH542692   Chrysler                        300   MILWAUKEE             WI
51082   2C3CCAGG1KH542708   Chrysler                        300   TUCSON                AZ
51083   2C3CCAGG1KH542711   Chrysler                        300   PALM SPRINGS          CA
51084   2C3CCAGG1KH542725   Chrysler                        300   Riverside             CA
51085   2C3CCAGG1KH542739   Chrysler                        300   PHOENIX               AZ
51086   2C3CCAGG1KH542742   Chrysler                        300   ONTARIO               CA
51087   2C3CCAGG1KH542756   Chrysler                        300   DENVER                CO
51088   2C3CCAGG1KH542773   Chrysler                        300   LAS VEGAS             NV
51089   2C3CCAGG1KH542787   Chrysler                        300   Las Vegas             NV
51090   2C3CCAGG1KH542790   Chrysler                        300   Tolleson              AZ
51091   2C3CCAGG1KH542806   Chrysler                        300   Tolleson              AZ
51092   2C3CCAGG1KH556432   Chrysler                        300   ONTARIO               CA
51093   2C3CCAGG1KH561484   Chrysler                        300   KNOXVILLE             TN
51094   2C3CCAGG1KH569102   Chrysler                        300   SEATAC                WA
51095   2C3CCAGG1KH569343   Chrysler                        300   SAN JOSE              CA
51096   2C3CCAGG1KH569360   Chrysler                        300   Santa Clara           CA
51097   2C3CCAGG1KH569729   Chrysler                        300   PORTLAND              OR
51098   2C3CCAGG1KH569732   Chrysler                        300   SEATAC                WA
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51099   2C3CCAGG1KH569746   Chrysler                        300   INGLEWOOD             CA
51100   2C3CCAGG1KH569763   Chrysler                        300   Memphis               TN
51101   2C3CCAGG1KH569780   Chrysler                        300   SACRAMENTO            CA
51102   2C3CCAGG1KH569794   Chrysler                        300   LOS ANGELES           CA
51103   2C3CCAGG1KH569813   Chrysler                        300   OKLAHOMA CITY         OK
51104   2C3CCAGG1KH569830   Chrysler                        300   LOS ANGELES           CA
51105   2C3CCAGG1KH586062   Chrysler                        300   Bensalem              PA
51106   2C3CCAGG1KH586076   Chrysler                        300   BOSTON                MA
51107   2C3CCAGG1KH586093   Chrysler                        300   NORFOLK               VA
51108   2C3CCAGG1KH586109   Chrysler                        300   FRESNO                CA
51109   2C3CCAGG1KH586126   Chrysler                        300   Atlanta               GA
51110   2C3CCAGG1KH586143   Chrysler                        300   Denver                CO
51111   2C3CCAGG1KH586157   Chrysler                        300   Phoenix               AZ
51112   2C3CCAGG1KH586160   Chrysler                        300   SAN FRANCISCO         CA
51113   2C3CCAGG1KH586174   Chrysler                        300   Atlanta               GA
51114   2C3CCAGG1KH586191   Chrysler                        300   PHOENIX               AZ
51115   2C3CCAGG1KH586207   Chrysler                        300   Hayward               CA
51116   2C3CCAGG1KH586210   Chrysler                        300   LOS ANGELES           CA
51117   2C3CCAGG1KH586224   Chrysler                        300   DALLAS                TX
51118   2C3CCAGG1KH586241   Chrysler                        300   FRESNO                CA
51119   2C3CCAGG1KH586255   Chrysler                        300   FRESNO                CA
51120   2C3CCAGG1KH586269   Chrysler                        300   LOS ANGELES           CA
51121   2C3CCAGG1KH586286   Chrysler                        300   ALBUQUERQUE           NM
51122   2C3CCAGG1KH586305   Chrysler                        300   INDIANAPOLIS          IN
51123   2C3CCAGG1KH586322   Chrysler                        300   Atlanta               GA
51124   2C3CCAGG1KH586336   Chrysler                        300   LAS VEGAS             NV
51125   2C3CCAGG1KH586367   Chrysler                        300   SAINT PAUL            MN
51126   2C3CCAGG1KH586434   Chrysler                        300   NEW BERN              NC
51127   2C3CCAGG1KH586448   Chrysler                        300   MILWAUKEE             WI
51128   2C3CCAGG1KH586451   Chrysler                        300   DETROIT               MI
51129   2C3CCAGG1KH586465   Chrysler                        300   CHICAGO               IL
51130   2C3CCAGG1KH610604   Chrysler                        300   SEATAC                WA
51131   2C3CCAGG1KH610618   Chrysler                        300   SACRAMENTO            CA
51132   2C3CCAGG1KH610635   Chrysler                        300   SAN DIEGO             CA
51133   2C3CCAGG1KH610649   Chrysler                        300   BURBANK               CA
51134   2C3CCAGG1KH610652   Chrysler                        300   SAN JOSE              CA
51135   2C3CCAGG1KH610666   Chrysler                        300   DALLAS                TX
51136   2C3CCAGG1KH610683   Chrysler                        300   Indianapolis          IN
51137   2C3CCAGG1KH610697   Chrysler                        300   CHICAGO               IL
51138   2C3CCAGG1KH610702   Chrysler                        300   STERLING              VA
51139   2C3CCAGG1KH610716   Chrysler                        300   FAYETTEVILLE          GA
51140   2C3CCAGG1KH610733   Chrysler                        300   PHILADELPHIA          PA
51141   2C3CCAGG1KH610747   Chrysler                        300   WARWICK               RI
51142   2C3CCAGG1KH610750   Chrysler                        300   JAMAICA               NY
51143   2C3CCAGG1KH610764   Chrysler                        300   MIAMI                 FL
51144   2C3CCAGG1KH610778   Chrysler                        300   PHILADELPHIA          PA
51145   2C3CCAGG1KH610781   Chrysler                        300   RICHMOND              VA
51146   2C3CCAGG1KH610814   Chrysler                        300   KANSAS CITY           MO
51147   2C3CCAGG1KH610828   Chrysler                        300   PHOENIX               AZ
51148   2C3CCAGG1KH631467   Chrysler                        300   PORTLAND              OR
51149   2C3CCAGG1KH631470   Chrysler                        300   SAN JOSE              CA
51150   2C3CCAGG1KH631484   Chrysler                        300   FRESNO                CA
51151   2C3CCAGG1KH631498   Chrysler                        300   SANTA ANA             CA
51152   2C3CCAGG1KH631503   Chrysler                        300   DETROIT               MI
51153   2C3CCAGG1KH631517   Chrysler                        300   DETROIT               MI
51154   2C3CCAGG1KH631520   Chrysler                        300   WEST PALM BEACH       FL
51155   2C3CCAGG1KH632070   Chrysler                        300   PHOENIX               AZ
51156   2C3CCAGG1KH632084   Chrysler                        300   SAN JOSE              CA
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51157   2C3CCAGG1KH632098   Chrysler                        300   RICHMOND              VA
51158   2C3CCAGG1KH632103   Chrysler                        300   CHARLOTTE             NC
51159   2C3CCAGG1KH632117   Chrysler                        300   DECATUR               GA
51160   2C3CCAGG1KH632120   Chrysler                        300   Atlanta               GA
51161   2C3CCAGG1KH632134   Chrysler                        300   HARTFORD              CT
51162   2C3CCAGG1KH632148   Chrysler                        300   STERLING              VA
51163   2C3CCAGG1KH632151   Chrysler                        300   CHARLOTTE             NC
51164   2C3CCAGG1KH632165   Chrysler                        300   Denver                CO
51165   2C3CCAGG1KH632179   Chrysler                        300   DES MOINES            IA
51166   2C3CCAGG1KH632182   Chrysler                        300   KANSAS CITY           MO
51167   2C3CCAGG1KH634417   Chrysler                        300   SAN DIEGO             CA
51168   2C3CCAGG1KH634420   Chrysler                        300   FAYETTEVILLE          US
51169   2C3CCAGG1KH634434   Chrysler                        300   EGG HARBOR TOWN       NJ
51170   2C3CCAGG1KH635177   Chrysler                        300   LAS VEGAS             NV
51171   2C3CCAGG1KH635180   Chrysler                        300   SALT LAKE CITY        UT
51172   2C3CCAGG1KH635194   Chrysler                        300   Elgin                 IL
51173   2C3CCAGG1KH648401   Chrysler                        300   LAS VEGAS             NV
51174   2C3CCAGG1KH648415   Chrysler                        300   SAN DIEGO             CA
51175   2C3CCAGG1KH648429   Chrysler                        300   ONTARIO               CA
51176   2C3CCAGG1KH648432   Chrysler                        300   LAS VEGAS             NV
51177   2C3CCAGG1KH648446   Chrysler                        300   DETROIT               MI
51178   2C3CCAGG1KH648463   Chrysler                        300   BURBANK               CA
51179   2C3CCAGG1KH648477   Chrysler                        300   BURBANK               CA
51180   2C3CCAGG1KH648480   Chrysler                        300   COLORADO SPRING       CO
51181   2C3CCAGG1KH648494   Chrysler                        300   FRESNO                CA
51182   2C3CCAGG1KH648513   Chrysler                        300   SAVANNAH              GA
51183   2C3CCAGG1KH648527   Chrysler                        300   CHICAGO               IL
51184   2C3CCAGG1KH648530   Chrysler                        300   GRAND RAPIDS          MI
51185   2C3CCAGG1KH648544   Chrysler                        300   SEA TAC               WA
51186   2C3CCAGG1KH648558   Chrysler                        300   SAN ANTONIO           TX
51187   2C3CCAGG1KH648561   Chrysler                        300   Teterboro             NJ
51188   2C3CCAGG1KH648575   Chrysler                        300   COLORADO SPRING       CO
51189   2C3CCAGG1KH648589   Chrysler                        300   AUSTIN                TX
51190   2C3CCAGG1KH648592   Chrysler                        300   PHILADELPHIA          PA
51191   2C3CCAGG1KH648608   Chrysler                        300   GRAND RAPIDS          MI
51192   2C3CCAGG1KH648611   Chrysler                        300   PHILADELPHIA          PA
51193   2C3CCAGG1KH648625   Chrysler                        300   HOUSTON               TX
51194   2C3CCAGG1KH648639   Chrysler                        300   OKLAHOMA CITY         OK
51195   2C3CCAGG1KH648642   Chrysler                        300   AUSTIN                TX
51196   2C3CCAGG1KH648656   Chrysler                        300   DALLAS                TX
51197   2C3CCAGG1KH648673   Chrysler                        300   HOUSTON               TX
51198   2C3CCAGG1KH648706   Chrysler                        300   DETROIT               MI
51199   2C3CCAGG1KH648723   Chrysler                        300   CLEVELAND             OH
51200   2C3CCAGG1KH648737   Chrysler                        300   STERLING              VA
51201   2C3CCAGG1KH648740   Chrysler                        300   PHILADELPHIA          US
51202   2C3CCAGG1KH648754   Chrysler                        300   Bridgeton             MO
51203   2C3CCAGG1KH648768   Chrysler                        300   HARRISBURG            PA
51204   2C3CCAGG1KH648771   Chrysler                        300   DES MOINES            IA
51205   2C3CCAGG1KH648785   Chrysler                        300   SAN ANTONIO           TX
51206   2C3CCAGG1KH648799   Chrysler                        300   PHOENIX               AZ
51207   2C3CCAGG1KH648804   Chrysler                        300   PHOENIX               AZ
51208   2C3CCAGG1KH648818   Chrysler                        300   PHOENIX               AZ
51209   2C3CCAGG1KH648821   Chrysler                        300   Buena Park            CA
51210   2C3CCAGG1KH648835   Chrysler                        300   MIAMI                 FL
51211   2C3CCAGG1KH648849   Chrysler                        300   FORT LAUDERDALE       FL
51212   2C3CCAGG1KH648852   Chrysler                        300   TAMPA                 FL
51213   2C3CCAGG1KH648866   Chrysler                        300   DES MOINES            IA
51214   2C3CCAGG1KH648883   Chrysler                        300   Atlanta               GA
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51215   2C3CCAGG1KH648897   Chrysler                        300   INDIANAPOLIS          IN
51216   2C3CCAGG1KH648902   Chrysler                        300   CHICAGO               IL
51217   2C3CCAGG1KH648916   Chrysler                        300   WEST COLUMBIA         SC
51218   2C3CCAGG1KH648933   Chrysler                        300   HOUSTON               TX
51219   2C3CCAGG1KH648947   Chrysler                        300   PITTSBURGH            PA
51220   2C3CCAGG1KH648950   Chrysler                        300   LOUISVILLE            KY
51221   2C3CCAGG1KH648964   Chrysler                        300   NEW YORK CITY         NY
51222   2C3CCAGG1KH648978   Chrysler                        300   DFW AIRPORT           TX
51223   2C3CCAGG1KH648981   Chrysler                        300   Irving                TX
51224   2C3CCAGG1KH648995   Chrysler                        300   SALT LAKE CITY        UT
51225   2C3CCAGG1KH649001   Chrysler                        300   SOUTH SAN FRANC       CA
51226   2C3CCAGG1KH649015   Chrysler                        300   PHOENIX               AZ
51227   2C3CCAGG1KH649029   Chrysler                        300   PHOENIX               AZ
51228   2C3CCAGG1KH649032   Chrysler                        300   OMAHA                 NE
51229   2C3CCAGG1KH651461   Chrysler                        300   LOS ANGELES           CA
51230   2C3CCAGG1KH651475   Chrysler                        300   LAS VEGAS             NV
51231   2C3CCAGG1KH651489   Chrysler                        300   ORLANDO               FL
51232   2C3CCAGG1KH651492   Chrysler                        300   PHILADELPHIA          PA
51233   2C3CCAGG1KH651508   Chrysler                        300   TAMPA                 FL
51234   2C3CCAGG1KH651511   Chrysler                        300   ORLANDO               FL
51235   2C3CCAGG1KH651525   Chrysler                        300   CHARLOTTE             NC
51236   2C3CCAGG1KH651539   Chrysler                        300   KANSAS CITY           MO
51237   2C3CCAGG1KH651556   Chrysler                        300   CASTLE ROCK           CO
51238   2C3CCAGG1KH651573   Chrysler                        300   DENVER                CO
51239   2C3CCAGG1KH651587   Chrysler                        300   PHILADELPHIA          PA
51240   2C3CCAGG1KH651590   Chrysler                        300   DENVER                CO
51241   2C3CCAGG1KH654585   Chrysler                        300   CHICAGO               IL
51242   2C3CCAGG1KH654599   Chrysler                        300   SOUTH BURLINGTO       VT
51243   2C3CCAGG1KH656045   Chrysler                        300   EL PASO               US
51244   2C3CCAGG1KH659236   Chrysler                        300   DES MOINES            IA
51245   2C3CCAGG1KH660757   Chrysler                        300   BOSTON                MA
51246   2C3CCAGG1KH665540   Chrysler                        300   CHICAGO               IL
51247   2C3CCAGG1KH679454   Chrysler                        300   OKLAHOMA CITY         OK
51248   2C3CCAGG2JH224868   Chrysler                        300   TUCSON                AZ
51249   2C3CCAGG2JH226524   Chrysler                        300   SAN DIEGO             CA
51250   2C3CCAGG2JH267204   Chrysler                        300   Houston               TX
51251   2C3CCAGG2JH267557   Chrysler                        300   Matteson              IL
51252   2C3CCAGG2JH267574   Chrysler                        300   Tolleson              AZ
51253   2C3CCAGG2KH517414   Chrysler                        300   Los Angeles           CA
51254   2C3CCAGG2KH517428   Chrysler                        300   SAN JOSE              CA
51255   2C3CCAGG2KH517431   Chrysler                        300   SAN JOSE              CA
51256   2C3CCAGG2KH517462   Chrysler                        300   Fontana               CA
51257   2C3CCAGG2KH517476   Chrysler                        300   LOS ANGELES           CA
51258   2C3CCAGG2KH517493   Chrysler                        300   Buena Park            CA
51259   2C3CCAGG2KH517509   Chrysler                        300   SAN JOSE              CA
51260   2C3CCAGG2KH531040   Chrysler                        300   LOS ANGELES AP        CA
51261   2C3CCAGG2KH531054   Chrysler                        300   Riverside             CA
51262   2C3CCAGG2KH531068   Chrysler                        300   Austin                TX
51263   2C3CCAGG2KH531071   Chrysler                        300   CHICAGO               IL
51264   2C3CCAGG2KH533824   Chrysler                        300   PHOENIX               AZ
51265   2C3CCAGG2KH533841   Chrysler                        300   PHOENIX               AZ
51266   2C3CCAGG2KH533855   Chrysler                        300   SACRAMENTO            CA
51267   2C3CCAGG2KH536819   Chrysler                        300   ORANGE COUNTY         CA
51268   2C3CCAGG2KH536822   Chrysler                        300   KNOXVILLE             TN
51269   2C3CCAGG2KH536836   Chrysler                        300   STERLING              VA
51270   2C3CCAGG2KH539655   Chrysler                        300   TUCSON                AZ
51271   2C3CCAGG2KH539669   Chrysler                        300   SALT LAKE CITY        US
51272   2C3CCAGG2KH539705   Chrysler                        300   PHOENIX               AZ
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51273   2C3CCAGG2KH539719   Chrysler                        300   SEATTLE               WA
51274   2C3CCAGG2KH539722   Chrysler                        300   Tolleson              AZ
51275   2C3CCAGG2KH539736   Chrysler                        300   FORT MYERS            FL
51276   2C3CCAGG2KH539798   Chrysler                        300   NEW BERN              NC
51277   2C3CCAGG2KH539803   Chrysler                        300   ATLANTA               GA
51278   2C3CCAGG2KH539817   Chrysler                        300   WEST PALM BEACH       FL
51279   2C3CCAGG2KH539848   Chrysler                        300   ATLANTA               GA
51280   2C3CCAGG2KH542619   Chrysler                        300   LOS ANGELES AP        CA
51281   2C3CCAGG2KH542622   Chrysler                        300   SACRAMENTO            CA
51282   2C3CCAGG2KH542636   Chrysler                        300   SANTA CLARA           CA
51283   2C3CCAGG2KH542653   Chrysler                        300   PALM SPRINGS          CA
51284   2C3CCAGG2KH542667   Chrysler                        300   LOS ANGELES           CA
51285   2C3CCAGG2KH542670   Chrysler                        300   GYPSUM                CO
51286   2C3CCAGG2KH542684   Chrysler                        300   Phoenix               AZ
51287   2C3CCAGG2KH542698   Chrysler                        300   LOS ANGELES           CA
51288   2C3CCAGG2KH542703   Chrysler                        300   SAN JOSE              CA
51289   2C3CCAGG2KH542748   Chrysler                        300   LAS VEGAS             NV
51290   2C3CCAGG2KH542751   Chrysler                        300   SALT LAKE CITY        UT
51291   2C3CCAGG2KH542765   Chrysler                        300   LAS VEGAS             NV
51292   2C3CCAGG2KH542779   Chrysler                        300   LOS ANGELES           CA
51293   2C3CCAGG2KH542796   Chrysler                        300   SAN FRANCISCO         CA
51294   2C3CCAGG2KH542815   Chrysler                        300   SAN JOSE              CA
51295   2C3CCAGG2KH556441   Chrysler                        300   GREENSBORO            NC
51296   2C3CCAGG2KH561493   Chrysler                        300   FORT MYERS            FL
51297   2C3CCAGG2KH569108   Chrysler                        300   LOS ANGELES           CA
51298   2C3CCAGG2KH569111   Chrysler                        300   Pheonix               AZ
51299   2C3CCAGG2KH569335   Chrysler                        300   FORT MYERS            FL
51300   2C3CCAGG2KH569352   Chrysler                        300   DES MOINES            IA
51301   2C3CCAGG2KH569724   Chrysler                        300   FRESNO                CA
51302   2C3CCAGG2KH569738   Chrysler                        300   SAN FRANCISCO         CA
51303   2C3CCAGG2KH569741   Chrysler                        300   Manheim               PA
51304   2C3CCAGG2KH569755   Chrysler                        300   LOS ANGELES           CA
51305   2C3CCAGG2KH569769   Chrysler                        300   PHOENIX               AZ
51306   2C3CCAGG2KH569786   Chrysler                        300   LAS VEGAS             NV
51307   2C3CCAGG2KH569805   Chrysler                        300   LOS ANGELES           CA
51308   2C3CCAGG2KH569822   Chrysler                        300   Tolleson              AZ
51309   2C3CCAGG2KH586037   Chrysler                        300   CHICAGO               IL
51310   2C3CCAGG2KH586040   Chrysler                        300   RALEIGH               NC
51311   2C3CCAGG2KH586054   Chrysler                        300   ONTARIO               CA
51312   2C3CCAGG2KH586068   Chrysler                        300   DETROIT               MI
51313   2C3CCAGG2KH586085   Chrysler                        300   FORT LAUDERDALE       FL
51314   2C3CCAGG2KH586099   Chrysler                        300   DES PLAINES           US
51315   2C3CCAGG2KH586104   Chrysler                        300   DETROIT               MI
51316   2C3CCAGG2KH586121   Chrysler                        300   ORLANDO               FL
51317   2C3CCAGG2KH586135   Chrysler                        300   EAST BOSTON           MA
51318   2C3CCAGG2KH586149   Chrysler                        300   LAS VEGAS             NV
51319   2C3CCAGG2KH586152   Chrysler                        300   DENVER                CO
51320   2C3CCAGG2KH586166   Chrysler                        300   PHOENIX               AZ
51321   2C3CCAGG2KH586183   Chrysler                        300   MILWAUKEE             WI
51322   2C3CCAGG2KH586197   Chrysler                        300   PHOENIX               AZ
51323   2C3CCAGG2KH586216   Chrysler                        300   PHOENIX               AZ
51324   2C3CCAGG2KH586233   Chrysler                        300   PHOENIX               AZ
51325   2C3CCAGG2KH586247   Chrysler                        300   ST Paul               MN
51326   2C3CCAGG2KH586250   Chrysler                        300   LOS ANGELES           CA
51327   2C3CCAGG2KH586278   Chrysler                        300   BURBANK               CA
51328   2C3CCAGG2KH586281   Chrysler                        300   PHOENIX               AZ
51329   2C3CCAGG2KH586328   Chrysler                        300   North Dighton         MA
51330   2C3CCAGG2KH586331   Chrysler                        300   DES PLAINES           US
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51331   2C3CCAGG2KH586345   Chrysler                        300   SAINT LOUIS           MO
51332   2C3CCAGG2KH586376   Chrysler                        300   Des Moines            IA
51333   2C3CCAGG2KH586393   Chrysler                        300   LOS ANGELES           CA
51334   2C3CCAGG2KH586409   Chrysler                        300   Hebron                KY
51335   2C3CCAGG2KH586426   Chrysler                        300   DES MOINES            IA
51336   2C3CCAGG2KH586443   Chrysler                        300   Raleigh               NC
51337   2C3CCAGG2KH586457   Chrysler                        300   Atlanta               GA
51338   2C3CCAGG2KH610613   Chrysler                        300   LOS ANGELES           CA
51339   2C3CCAGG2KH610627   Chrysler                        300   PHOENIX               AZ
51340   2C3CCAGG2KH610630   Chrysler                        300   LOS ANGELES           CA
51341   2C3CCAGG2KH610644   Chrysler                        300   SAN DIEGO             CA
51342   2C3CCAGG2KH610658   Chrysler                        300   ATLANTA               GA
51343   2C3CCAGG2KH610661   Chrysler                        300   COLLEGE PARK          GA
51344   2C3CCAGG2KH610675   Chrysler                        300   DES MOINES            IA
51345   2C3CCAGG2KH610689   Chrysler                        300   CLEVELAND             OH
51346   2C3CCAGG2KH610692   Chrysler                        300   CEDAR RAPIDS          IA
51347   2C3CCAGG2KH610711   Chrysler                        300   DETROIT               MI
51348   2C3CCAGG2KH610725   Chrysler                        300   VIRGINIA BEACH        US
51349   2C3CCAGG2KH610739   Chrysler                        300   NEWARK                NJ
51350   2C3CCAGG2KH610742   Chrysler                        300   LAS VEGAS             NV
51351   2C3CCAGG2KH610756   Chrysler                        300   CHICAGO               IL
51352   2C3CCAGG2KH610773   Chrysler                        300   PHILADELPHIA          PA
51353   2C3CCAGG2KH610787   Chrysler                        300   INDIANAPOLIS          IN
51354   2C3CCAGG2KH610790   Chrysler                        300   GRAND RAPIDS          MI
51355   2C3CCAGG2KH610806   Chrysler                        300   CORONA                NY
51356   2C3CCAGG2KH610823   Chrysler                        300   PHILADELPHIA          PA
51357   2C3CCAGG2KH631476   Chrysler                        300   FRESNO                CA
51358   2C3CCAGG2KH631509   Chrysler                        300   PHILADELPHIA          PA
51359   2C3CCAGG2KH631512   Chrysler                        300   SYRACUSE              NY
51360   2C3CCAGG2KH632076   Chrysler                        300   LAS VEGAS             NV
51361   2C3CCAGG2KH632093   Chrysler                        300   STERLING              VA
51362   2C3CCAGG2KH632112   Chrysler                        300   EAST BOSTON           MA
51363   2C3CCAGG2KH632126   Chrysler                        300   FORT LAUDERDALE       FL
51364   2C3CCAGG2KH632143   Chrysler                        300   PHILADELPHIA          US
51365   2C3CCAGG2KH632157   Chrysler                        300   KANSAS CITY           MO
51366   2C3CCAGG2KH632160   Chrysler                        300   LOS ANGELES           CA
51367   2C3CCAGG2KH632174   Chrysler                        300   DENVER                CO
51368   2C3CCAGG2KH632188   Chrysler                        300   KANSAS CITY           MO
51369   2C3CCAGG2KH632191   Chrysler                        300   HOUSTON               TX
51370   2C3CCAGG2KH634426   Chrysler                        300   BALTIMORE             MD
51371   2C3CCAGG2KH634443   Chrysler                        300   WHITE PLAINS          NY
51372   2C3CCAGG2KH635169   Chrysler                        300   CHATTANOOGA           TN
51373   2C3CCAGG2KH635172   Chrysler                        300   ALLENTOWN             US
51374   2C3CCAGG2KH635205   Chrysler                        300   Charleston            SC
51375   2C3CCAGG2KH648407   Chrysler                        300   SANTA ANA             CA
51376   2C3CCAGG2KH648410   Chrysler                        300   SANTA ANA             CA
51377   2C3CCAGG2KH648438   Chrysler                        300   PHOENIX               AZ
51378   2C3CCAGG2KH648441   Chrysler                        300   SAN DIEGO             CA
51379   2C3CCAGG2KH648469   Chrysler                        300   LAS VEGAS             NV
51380   2C3CCAGG2KH648472   Chrysler                        300   LOS ANGELES           CA
51381   2C3CCAGG2KH648486   Chrysler                        300   SAN JOSE              CA
51382   2C3CCAGG2KH648505   Chrysler                        300   NEW YORK CITY         NY
51383   2C3CCAGG2KH648522   Chrysler                        300   SAINT LOUIS           MO
51384   2C3CCAGG2KH648553   Chrysler                        300   BUFFALO               NY
51385   2C3CCAGG2KH648567   Chrysler                        300   DENVER                CO
51386   2C3CCAGG2KH648570   Chrysler                        300   HOUSTON               TX
51387   2C3CCAGG2KH648584   Chrysler                        300   DENVER                CO
51388   2C3CCAGG2KH648598   Chrysler                        300   Irving                TX
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51389   2C3CCAGG2KH648603   Chrysler                        300   DETROIT               MI
51390   2C3CCAGG2KH648617   Chrysler                        300   HOUSTON               TX
51391   2C3CCAGG2KH648634   Chrysler                        300   Dallas                TX
51392   2C3CCAGG2KH648648   Chrysler                        300   KENNER                LA
51393   2C3CCAGG2KH648651   Chrysler                        300   DFW AIRPORT           TX
51394   2C3CCAGG2KH648665   Chrysler                        300   HOUSTON               TX
51395   2C3CCAGG2KH648679   Chrysler                        300   BUCKNER               MO
51396   2C3CCAGG2KH648682   Chrysler                        300   AUSTIN                TX
51397   2C3CCAGG2KH648696   Chrysler                        300   ALEXANDRIA            VA
51398   2C3CCAGG2KH648701   Chrysler                        300   BURBANK               CA
51399   2C3CCAGG2KH648715   Chrysler                        300   CHICAGO               IL
51400   2C3CCAGG2KH648729   Chrysler                        300   TAMPA                 US
51401   2C3CCAGG2KH648732   Chrysler                        300   Hebron                KY
51402   2C3CCAGG2KH648746   Chrysler                        300   CHICAGO               IL
51403   2C3CCAGG2KH648763   Chrysler                        300   CHICAGO               IL
51404   2C3CCAGG2KH648777   Chrysler                        300   CHICAGO               IL
51405   2C3CCAGG2KH648780   Chrysler                        300   BOSTON                MA
51406   2C3CCAGG2KH648794   Chrysler                        300   ONTARIO               CA
51407   2C3CCAGG2KH648813   Chrysler                        300   PHOENIX               AZ
51408   2C3CCAGG2KH648827   Chrysler                        300   SACRAMENTO            CA
51409   2C3CCAGG2KH648830   Chrysler                        300   FORT LAUDERDALE       FL
51410   2C3CCAGG2KH648844   Chrysler                        300   MIAMI                 FL
51411   2C3CCAGG2KH648858   Chrysler                        300   SARASOTA              FL
51412   2C3CCAGG2KH648861   Chrysler                        300   ORLANDO               FL
51413   2C3CCAGG2KH648875   Chrysler                        300   ORLANDO               FL
51414   2C3CCAGG2KH648889   Chrysler                        300   CHICAGO               IL
51415   2C3CCAGG2KH648892   Chrysler                        300   Hebron                KY
51416   2C3CCAGG2KH648908   Chrysler                        300   CHICAGO               IL
51417   2C3CCAGG2KH648911   Chrysler                        300   BIRMINGHAN            AL
51418   2C3CCAGG2KH648925   Chrysler                        300   PITTSBURGH            PA
51419   2C3CCAGG2KH648939   Chrysler                        300   DETROIT               MI
51420   2C3CCAGG2KH648942   Chrysler                        300   DETROIT               MI
51421   2C3CCAGG2KH648956   Chrysler                        300   MILWAUKEE             WI
51422   2C3CCAGG2KH648973   Chrysler                        300   HOUSTON               TX
51423   2C3CCAGG2KH648987   Chrysler                        300   HOUSTON               TX
51424   2C3CCAGG2KH648990   Chrysler                        300   DALLAS                TX
51425   2C3CCAGG2KH649007   Chrysler                        300   LUBBOCK               TX
51426   2C3CCAGG2KH649010   Chrysler                        300   LAS VEGAS             NV
51427   2C3CCAGG2KH649024   Chrysler                        300   SEATAC                WA
51428   2C3CCAGG2KH649038   Chrysler                        300   GYPSUM                CO
51429   2C3CCAGG2KH649041   Chrysler                        300   SACRAMENTO            CA
51430   2C3CCAGG2KH651467   Chrysler                        300   PHOENIX               AZ
51431   2C3CCAGG2KH651470   Chrysler                        300   LAS VEGAS             NV
51432   2C3CCAGG2KH651484   Chrysler                        300   FORT MYERS            FL
51433   2C3CCAGG2KH651498   Chrysler                        300   ORLANDO               FL
51434   2C3CCAGG2KH651503   Chrysler                        300   FORT LAUDERDALE       FL
51435   2C3CCAGG2KH651517   Chrysler                        300   WEST PALM BEACH       FL
51436   2C3CCAGG2KH651520   Chrysler                        300   FORT LAUDERDALE       FL
51437   2C3CCAGG2KH651534   Chrysler                        300   UNION CITY            GA
51438   2C3CCAGG2KH651548   Chrysler                        300   GYPSUM                CO
51439   2C3CCAGG2KH651551   Chrysler                        300   ALBUQERQUE            NM
51440   2C3CCAGG2KH651565   Chrysler                        300   KANSAS CITY           MO
51441   2C3CCAGG2KH651579   Chrysler                        300   AMARILLO              US
51442   2C3CCAGG2KH651582   Chrysler                        300   DENVER                CO
51443   2C3CCAGG2KH651596   Chrysler                        300   DENVER                CO
51444   2C3CCAGG2KH654577   Chrysler                        300   CHICAGO               IL
51445   2C3CCAGG2KH654580   Chrysler                        300   DES MOINES            IA
51446   2C3CCAGG2KH654594   Chrysler                        300   SAN FRANCISCO         CA
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51447   2C3CCAGG2KH654613   Chrysler                        300   SAN ANTONIO           TX
51448   2C3CCAGG2KH655308   Chrysler                        300   DENVER                CO
51449   2C3CCAGG2KH656037   Chrysler                        300   KANSAS CITY           MO
51450   2C3CCAGG2KH656040   Chrysler                        300   CHICAGO               IL
51451   2C3CCAGG2KH656054   Chrysler                        300   KENNER                LA
51452   2C3CCAGG2KH659228   Chrysler                        300   CHICAGO               IL
51453   2C3CCAGG2KH659231   Chrysler                        300   DES MOINES            IA
51454   2C3CCAGG2KH659245   Chrysler                        300   JACKSONVILLE          FL
51455   2C3CCAGG2KH661187   Chrysler                        300   GRAND RAPIDS          MI
51456   2C3CCAGG2KH661190   Chrysler                        300   DALLAS                TX
51457   2C3CCAGG2LH131576   Chrysler                        300   SAN JOSE              CA
51458   2C3CCAGG3JH267180   Chrysler                        300   Fontana               CA
51459   2C3CCAGG3JH267275   Chrysler                        300   LOS ANGELES           CA
51460   2C3CCAGG3JH267356   Chrysler                        300   Hayward               CA
51461   2C3CCAGG3JH267650   Chrysler                        300   Hayward               CA
51462   2C3CCAGG3JH267714   Chrysler                        300   Lake Elsinore         CA
51463   2C3CCAGG3JH267812   Chrysler                        300   Torrance              CA
51464   2C3CCAGG3JH267843   Chrysler                        300   Fresno                CA
51465   2C3CCAGG3JH269950   Chrysler                        300   MILWAUKEE             WI
51466   2C3CCAGG3KH517423   Chrysler                        300   ONTARIO               CA
51467   2C3CCAGG3KH517437   Chrysler                        300   LAS VEGAS             NV
51468   2C3CCAGG3KH517440   Chrysler                        300   LOS ANGELES           CA
51469   2C3CCAGG3KH517454   Chrysler                        300   SAN DIEGO             CA
51470   2C3CCAGG3KH517471   Chrysler                        300   SAN JOSE              CA
51471   2C3CCAGG3KH517485   Chrysler                        300   DENVER                CO
51472   2C3CCAGG3KH517504   Chrysler                        300   Kansas City           MO
51473   2C3CCAGG3KH531046   Chrysler                        300   LOS ANGELES           CA
51474   2C3CCAGG3KH531063   Chrysler                        300   PHOENIX               AZ
51475   2C3CCAGG3KH533816   Chrysler                        300   FRESNO                CA
51476   2C3CCAGG3KH533833   Chrysler                        300   SACRAMENTO            CA
51477   2C3CCAGG3KH533847   Chrysler                        300   Stockton              CA
51478   2C3CCAGG3KH533850   Chrysler                        300   SAN DIEGO             CA
51479   2C3CCAGG3KH536795   Chrysler                        300   SEATAC                WA
51480   2C3CCAGG3KH536800   Chrysler                        300   BURBANK               CA
51481   2C3CCAGG3KH536814   Chrysler                        300   Santa Clara           CA
51482   2C3CCAGG3KH536828   Chrysler                        300   ORLANDO               FL
51483   2C3CCAGG3KH536859   Chrysler                        300   TAMPA                 FL
51484   2C3CCAGG3KH536862   Chrysler                        300   Davie                 FL
51485   2C3CCAGG3KH539664   Chrysler                        300   SAN DIEGO             CA
51486   2C3CCAGG3KH539678   Chrysler                        300   PHOENIX               AZ
51487   2C3CCAGG3KH539681   Chrysler                        300   SALT LAKE CITY        UT
51488   2C3CCAGG3KH539714   Chrysler                        300   SAN DIEGO             CA
51489   2C3CCAGG3KH539728   Chrysler                        300   SACRAMENTO            CA
51490   2C3CCAGG3KH539731   Chrysler                        300   LAS VEGAS             NV
51491   2C3CCAGG3KH539759   Chrysler                        300   Orlando               FL
51492   2C3CCAGG3KH539809   Chrysler                        300   FORT MYERS            FL
51493   2C3CCAGG3KH539812   Chrysler                        300   STERLING              VA
51494   2C3CCAGG3KH539843   Chrysler                        300   ORLANDO               FL
51495   2C3CCAGG3KH539857   Chrysler                        300   FORT MYERS            FL
51496   2C3CCAGG3KH542614   Chrysler                        300   CHARLOTTE             NC
51497   2C3CCAGG3KH542628   Chrysler                        300   LOS ANGELES           CA
51498   2C3CCAGG3KH542631   Chrysler                        300   GARDENA               CA
51499   2C3CCAGG3KH542645   Chrysler                        300   LAS VEGAS             NV
51500   2C3CCAGG3KH542659   Chrysler                        300   COLUMBUS              OH
51501   2C3CCAGG3KH542662   Chrysler                        300   LAS VEGAS             NV
51502   2C3CCAGG3KH542676   Chrysler                        300   SAN DIEGO             CA
51503   2C3CCAGG3KH542693   Chrysler                        300   Lake Elsinore         CA
51504   2C3CCAGG3KH542709   Chrysler                        300   Hayward               CA
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51505   2C3CCAGG3KH542712   Chrysler                        300   BURBANK               CA
51506   2C3CCAGG3KH542726   Chrysler                        300   San Diego             CA
51507   2C3CCAGG3KH542743   Chrysler                        300   FRESNO                CA
51508   2C3CCAGG3KH542757   Chrysler                        300   Fontana               CA
51509   2C3CCAGG3KH542760   Chrysler                        300   SAN FRANCISCO         CA
51510   2C3CCAGG3KH542774   Chrysler                        300   RENO                  NV
51511   2C3CCAGG3KH542788   Chrysler                        300   SANTA ANA             CA
51512   2C3CCAGG3KH542807   Chrysler                        300   Norwalk               CA
51513   2C3CCAGG3KH542810   Chrysler                        300   SALT LAKE CITY        US
51514   2C3CCAGG3KH561485   Chrysler                        300   WINTER PARK           FL
51515   2C3CCAGG3KH569344   Chrysler                        300   SAN FRANCISCO         CA
51516   2C3CCAGG3KH569361   Chrysler                        300   PORTLAND              OR
51517   2C3CCAGG3KH569747   Chrysler                        300   SANTA ANA             CA
51518   2C3CCAGG3KH569750   Chrysler                        300   SAN JOSE              CA
51519   2C3CCAGG3KH569764   Chrysler                        300   RONKONKOMA            NY
51520   2C3CCAGG3KH569828   Chrysler                        300   DENVER                CO
51521   2C3CCAGG3KH586046   Chrysler                        300   DETROIT               MI
51522   2C3CCAGG3KH586077   Chrysler                        300   NEWARK                NJ
51523   2C3CCAGG3KH586094   Chrysler                        300   Houston               TX
51524   2C3CCAGG3KH586144   Chrysler                        300   El Paso               TX
51525   2C3CCAGG3KH586158   Chrysler                        300   PHOENIX               AZ
51526   2C3CCAGG3KH586161   Chrysler                        300   PALM SPRINGS          CA
51527   2C3CCAGG3KH586175   Chrysler                        300   PHOENIX               AZ
51528   2C3CCAGG3KH586192   Chrysler                        300   SANTA ANA             CA
51529   2C3CCAGG3KH586208   Chrysler                        300   SACRAMENTO            CA
51530   2C3CCAGG3KH586211   Chrysler                        300   DENVER                CO
51531   2C3CCAGG3KH586225   Chrysler                        300   BURBANK               CA
51532   2C3CCAGG3KH586239   Chrysler                        300   Warr Acres            OK
51533   2C3CCAGG3KH586242   Chrysler                        300   SANTA ANA             CA
51534   2C3CCAGG3KH586256   Chrysler                        300   SAN DIEGO             US
51535   2C3CCAGG3KH586273   Chrysler                        300   BURBANK               CA
51536   2C3CCAGG3KH586287   Chrysler                        300   NORFOLK               VA
51537   2C3CCAGG3KH586290   Chrysler                        300   DENVER                CO
51538   2C3CCAGG3KH586337   Chrysler                        300   CHICAGO               IL
51539   2C3CCAGG3KH586340   Chrysler                        300   Atlanta               GA
51540   2C3CCAGG3KH586368   Chrysler                        300   Florissant            MO
51541   2C3CCAGG3KH586371   Chrysler                        300   OAKLAND               CA
51542   2C3CCAGG3KH586385   Chrysler                        300   Webster               NY
51543   2C3CCAGG3KH586404   Chrysler                        300   BALTIMORE             MD
51544   2C3CCAGG3KH586418   Chrysler                        300   PORTLAND              ME
51545   2C3CCAGG3KH586421   Chrysler                        300   MILWAUKEE             WI
51546   2C3CCAGG3KH586435   Chrysler                        300   KANSAS CITY           MO
51547   2C3CCAGG3KH586449   Chrysler                        300   Cincinnati            OH
51548   2C3CCAGG3KH586452   Chrysler                        300   CHICAGO               IL
51549   2C3CCAGG3KH586466   Chrysler                        300   Des Moines            IA
51550   2C3CCAGG3KH610605   Chrysler                        300   PHOENIX               AZ
51551   2C3CCAGG3KH610619   Chrysler                        300   BURBANK               CA
51552   2C3CCAGG3KH610636   Chrysler                        300   SAN JOSE              CA
51553   2C3CCAGG3KH610653   Chrysler                        300   Hebron                KY
51554   2C3CCAGG3KH610667   Chrysler                        300   WEST COLUMBIA         SC
51555   2C3CCAGG3KH610670   Chrysler                        300   Cincinnati            OH
51556   2C3CCAGG3KH610684   Chrysler                        300   SANTA ANA             CA
51557   2C3CCAGG3KH610703   Chrysler                        300   Houston               TX
51558   2C3CCAGG3KH610717   Chrysler                        300   Detroit               MI
51559   2C3CCAGG3KH610720   Chrysler                        300   KENNER                LA
51560   2C3CCAGG3KH610734   Chrysler                        300   FORT MYERS            FL
51561   2C3CCAGG3KH610748   Chrysler                        300   KANSAS CITY           MO
51562   2C3CCAGG3KH610751   Chrysler                        300   PHILADELPHIA          PA
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51563   2C3CCAGG3KH610765   Chrysler                        300   Medford               NY
51564   2C3CCAGG3KH610779   Chrysler                        300   SAINT LOUIS           MO
51565   2C3CCAGG3KH610796   Chrysler                        300   NASHVILLE             TN
51566   2C3CCAGG3KH610801   Chrysler                        300   DALLAS                TX
51567   2C3CCAGG3KH631468   Chrysler                        300   SAN DIEGO             CA
51568   2C3CCAGG3KH631485   Chrysler                        300   INGLEWOOD             CA
51569   2C3CCAGG3KH631499   Chrysler                        300   SACRAMENTO            CA
51570   2C3CCAGG3KH631504   Chrysler                        300   WEST COLUMBIA         SC
51571   2C3CCAGG3KH631518   Chrysler                        300   RONKONKOMA            NY
51572   2C3CCAGG3KH632071   Chrysler                        300   CHICAGO               IL
51573   2C3CCAGG3KH632085   Chrysler                        300   FAYETTEVILLE          GA
51574   2C3CCAGG3KH632099   Chrysler                        300   BIRMINGHAN            AL
51575   2C3CCAGG3KH632104   Chrysler                        300   NEW BERN              NC
51576   2C3CCAGG3KH632118   Chrysler                        300   KENNER                LA
51577   2C3CCAGG3KH632121   Chrysler                        300   KNOXVILLE             TN
51578   2C3CCAGG3KH632135   Chrysler                        300   Atlanta               GA
51579   2C3CCAGG3KH632149   Chrysler                        300   DETROIT               MI
51580   2C3CCAGG3KH632166   Chrysler                        300   RICHMOND              VA
51581   2C3CCAGG3KH632183   Chrysler                        300   DALLAS                TX
51582   2C3CCAGG3KH634418   Chrysler                        300   PHOENIX               AZ
51583   2C3CCAGG3KH634421   Chrysler                        300   ALBANY                NY
51584   2C3CCAGG3KH634435   Chrysler                        300   NEWARK                NJ
51585   2C3CCAGG3KH635178   Chrysler                        300   SALT LAKE CITY        US
51586   2C3CCAGG3KH635195   Chrysler                        300   CHICAGO               IL
51587   2C3CCAGG3KH635200   Chrysler                        300   DES MOINES            IA
51588   2C3CCAGG3KH648402   Chrysler                        300   BURBANK               CA
51589   2C3CCAGG3KH648416   Chrysler                        300   CHICAGO               IL
51590   2C3CCAGG3KH648433   Chrysler                        300   LAS VEGAS             NV
51591   2C3CCAGG3KH648450   Chrysler                        300   TUCSON                AZ
51592   2C3CCAGG3KH648464   Chrysler                        300   PORTLAND              ME
51593   2C3CCAGG3KH648478   Chrysler                        300   PHOENIX               AZ
51594   2C3CCAGG3KH648481   Chrysler                        300   ONTARIO               CA
51595   2C3CCAGG3KH648514   Chrysler                        300   LOUISVILLE            KY
51596   2C3CCAGG3KH648528   Chrysler                        300   DETROIT               MI
51597   2C3CCAGG3KH648531   Chrysler                        300   DETROIT               MI
51598   2C3CCAGG3KH648545   Chrysler                        300   CHICAGO               IL
51599   2C3CCAGG3KH648559   Chrysler                        300   GRAND RAPIDS          MI
51600   2C3CCAGG3KH648562   Chrysler                        300   AUSTIN                TX
51601   2C3CCAGG3KH648576   Chrysler                        300   PORTLAND              OR
51602   2C3CCAGG3KH648593   Chrysler                        300   SAINT LOUIS           MO
51603   2C3CCAGG3KH648609   Chrysler                        300   HOUSTON               TX
51604   2C3CCAGG3KH648612   Chrysler                        300   NORFOLK               VA
51605   2C3CCAGG3KH648657   Chrysler                        300   HOUSTON               TX
51606   2C3CCAGG3KH648660   Chrysler                        300   Dallas                TX
51607   2C3CCAGG3KH648674   Chrysler                        300   OMAHA                 NE
51608   2C3CCAGG3KH648688   Chrysler                        300   DETROIT               MI
51609   2C3CCAGG3KH648691   Chrysler                        300   DES MOINES            IA
51610   2C3CCAGG3KH648707   Chrysler                        300   OKLAHOMA CITY         OK
51611   2C3CCAGG3KH648710   Chrysler                        300   CHICAGO               IL
51612   2C3CCAGG3KH648724   Chrysler                        300   CHICAGO               IL
51613   2C3CCAGG3KH648738   Chrysler                        300   DES MOINES            IA
51614   2C3CCAGG3KH648741   Chrysler                        300   SAINT PAUL            MN
51615   2C3CCAGG3KH648755   Chrysler                        300   CHICAGO               IL
51616   2C3CCAGG3KH648772   Chrysler                        300   CHICAGO               IL
51617   2C3CCAGG3KH648786   Chrysler                        300   DES MOINES            IA
51618   2C3CCAGG3KH648805   Chrysler                        300   PHOENIX               AZ
51619   2C3CCAGG3KH648819   Chrysler                        300   PHOENIX               AZ
51620   2C3CCAGG3KH648822   Chrysler                        300   SAN FRANCISCO         CA
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51621   2C3CCAGG3KH648836   Chrysler                        300   NEWARK                NJ
51622   2C3CCAGG3KH648853   Chrysler                        300   MIAMI                 FL
51623   2C3CCAGG3KH648867   Chrysler                        300   ORLANDO               FL
51624   2C3CCAGG3KH648870   Chrysler                        300   SARASOTA              FL
51625   2C3CCAGG3KH648884   Chrysler                        300   CHARLOTTE             NC
51626   2C3CCAGG3KH648898   Chrysler                        300   SAINT PAUL            MN
51627   2C3CCAGG3KH648903   Chrysler                        300   GREEN BAY             WI
51628   2C3CCAGG3KH648917   Chrysler                        300   SCRANTON              PA
51629   2C3CCAGG3KH648920   Chrysler                        300   MYRTLE BEACH          SC
51630   2C3CCAGG3KH648934   Chrysler                        300   SAN ANTONIO           TX
51631   2C3CCAGG3KH648948   Chrysler                        300   DETROIT               MI
51632   2C3CCAGG3KH648951   Chrysler                        300   DETROIT               MI
51633   2C3CCAGG3KH648965   Chrysler                        300   CORPUS CHRISTI        TX
51634   2C3CCAGG3KH648979   Chrysler                        300   ORLANDO               FL
51635   2C3CCAGG3KH648982   Chrysler                        300   NEW BERN              NC
51636   2C3CCAGG3KH648996   Chrysler                        300   DALLAS                TX
51637   2C3CCAGG3KH649002   Chrysler                        300   DENVER                CO
51638   2C3CCAGG3KH649016   Chrysler                        300   SACRAMENTO            CA
51639   2C3CCAGG3KH649033   Chrysler                        300   ATLANTA               GA
51640   2C3CCAGG3KH651459   Chrysler                        300   LAS VEGAS             NV
51641   2C3CCAGG3KH651462   Chrysler                        300   LOS ANGELES           CA
51642   2C3CCAGG3KH651476   Chrysler                        300   WILMINGTON            CA
51643   2C3CCAGG3KH651493   Chrysler                        300   FORT MYERS            FL
51644   2C3CCAGG3KH651509   Chrysler                        300   WILMINGTON            NC
51645   2C3CCAGG3KH651512   Chrysler                        300   FORT MYERS            FL
51646   2C3CCAGG3KH651526   Chrysler                        300   WINTER PARK           FL
51647   2C3CCAGG3KH651543   Chrysler                        300   GYPSUM                CO
51648   2C3CCAGG3KH651557   Chrysler                        300   DENVER                CO
51649   2C3CCAGG3KH651560   Chrysler                        300   DALLAS                TX
51650   2C3CCAGG3KH651574   Chrysler                        300   DENVER                CO
51651   2C3CCAGG3KH651588   Chrysler                        300   FRESNO                CA
51652   2C3CCAGG3KH651591   Chrysler                        300   SALT LAKE CITY        UT
51653   2C3CCAGG3KH654586   Chrysler                        300   PITTSBURGH            PA
51654   2C3CCAGG3KH654605   Chrysler                        300   HOUSTON               TX
51655   2C3CCAGG3KH655303   Chrysler                        300   NORFOLK               VA
51656   2C3CCAGG3KH656046   Chrysler                        300   LUBBOCK               TX
51657   2C3CCAGG3KH659237   Chrysler                        300   Detroit               MI
51658   2C3CCAGG3KH659240   Chrysler                        300   FORT MYERS            FL
51659   2C3CCAGG3KH660758   Chrysler                        300   TAMPA                 US
51660   2C3CCAGG3KH665541   Chrysler                        300   NASHVILLE             TN
51661   2C3CCAGG3LH131568   Chrysler                        300   LOS ANGELES           CA
51662   2C3CCAGG3LH141985   Chrysler                        300   SAN ANTONIO           TX
51663   2C3CCAGG4JH250310   Chrysler                        300   Anaheim               CA
51664   2C3CCAGG4JH267639   Chrysler                        300   Anaheim               CA
51665   2C3CCAGG4JH267737   Chrysler                        300   Santa Clara           CA
51666   2C3CCAGG4JH267821   Chrysler                        300   SAN JOSE              CA
51667   2C3CCAGG4JH300204   Chrysler                        300   Windsor Locks         CT
51668   2C3CCAGG4KH517415   Chrysler                        300   ALBUQUERQUE           NM
51669   2C3CCAGG4KH517429   Chrysler                        300   Stockton              CA
51670   2C3CCAGG4KH517432   Chrysler                        300   BURBANK               CA
51671   2C3CCAGG4KH517446   Chrysler                        300   Fontana               CA
51672   2C3CCAGG4KH517477   Chrysler                        300   LAS VEGAS             NV
51673   2C3CCAGG4KH517480   Chrysler                        300   LAS VEGAS             NV
51674   2C3CCAGG4KH517494   Chrysler                        300   SAN FRANCISCO         CA
51675   2C3CCAGG4KH517513   Chrysler                        300   OAKLAND               CA
51676   2C3CCAGG4KH529810   Chrysler                        300   LOS ANGELES           CA
51677   2C3CCAGG4KH531055   Chrysler                        300   LOS ANGELES           CA
51678   2C3CCAGG4KH531069   Chrysler                        300   Phoenix               AZ
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51679   2C3CCAGG4KH533825   Chrysler                        300   AUSTIN                TX
51680   2C3CCAGG4KH533839   Chrysler                        300   EL PASO               US
51681   2C3CCAGG4KH533842   Chrysler                        300   PHOENIX               AZ
51682   2C3CCAGG4KH533856   Chrysler                        300   Tolleson              AZ
51683   2C3CCAGG4KH536823   Chrysler                        300   Hartford              CT
51684   2C3CCAGG4KH538877   Chrysler                        300   San Diego             CA
51685   2C3CCAGG4KH538880   Chrysler                        300   LOS ANGELES           CA
51686   2C3CCAGG4KH539656   Chrysler                        300   PHOENIX               AZ
51687   2C3CCAGG4KH539673   Chrysler                        300   WOODLAND HILLS        CA
51688   2C3CCAGG4KH539687   Chrysler                        300   INGLEWOOD             CA
51689   2C3CCAGG4KH539690   Chrysler                        300   Ontario               CA
51690   2C3CCAGG4KH539737   Chrysler                        300   MIAMI                 FL
51691   2C3CCAGG4KH539740   Chrysler                        300   SOUTHEAST DST OFFC    OK
51692   2C3CCAGG4KH539754   Chrysler                        300   SANFORD               FL
51693   2C3CCAGG4KH539804   Chrysler                        300   FORT MYERS            FL
51694   2C3CCAGG4KH539849   Chrysler                        300   ORLANDO               FL
51695   2C3CCAGG4KH539852   Chrysler                        300   Euless                TX
51696   2C3CCAGG4KH542606   Chrysler                        300   STERLING              VA
51697   2C3CCAGG4KH542623   Chrysler                        300   SAN JOSE              CA
51698   2C3CCAGG4KH542637   Chrysler                        300   TAMPA                 FL
51699   2C3CCAGG4KH542640   Chrysler                        300   PHOENIX               AZ
51700   2C3CCAGG4KH542654   Chrysler                        300   SAN DIEGO             CA
51701   2C3CCAGG4KH542668   Chrysler                        300   SAN JOSE              CA
51702   2C3CCAGG4KH542671   Chrysler                        300   TUCSON                AZ
51703   2C3CCAGG4KH542685   Chrysler                        300   PHILADELPHIA          PA
51704   2C3CCAGG4KH542699   Chrysler                        300   COSTA MESA            CA
51705   2C3CCAGG4KH542704   Chrysler                        300   Lake Elsinore         CA
51706   2C3CCAGG4KH542735   Chrysler                        300   SACRAMENTO            CA
51707   2C3CCAGG4KH542749   Chrysler                        300   SACRAMENTO            CA
51708   2C3CCAGG4KH542752   Chrysler                        300   LOS ANGELES           CA
51709   2C3CCAGG4KH542766   Chrysler                        300   BURBANK               CA
51710   2C3CCAGG4KH542783   Chrysler                        300   PORTLAND              OR
51711   2C3CCAGG4KH542816   Chrysler                        300   PHOENIX               AZ
51712   2C3CCAGG4KH561480   Chrysler                        300   FORT MYERS            FL
51713   2C3CCAGG4KH569336   Chrysler                        300   Hayward               CA
51714   2C3CCAGG4KH569367   Chrysler                        300   SALT LAKE CITY        UT
51715   2C3CCAGG4KH569370   Chrysler                        300   ONTARIO               CA
51716   2C3CCAGG4KH569725   Chrysler                        300   Fontana               CA
51717   2C3CCAGG4KH569742   Chrysler                        300   TAMPA                 FL
51718   2C3CCAGG4KH569756   Chrysler                        300   LOS ANGELES           CA
51719   2C3CCAGG4KH569787   Chrysler                        300   BURBANK               CA
51720   2C3CCAGG4KH569790   Chrysler                        300   LAS VEGAS             NV
51721   2C3CCAGG4KH569837   Chrysler                        300   LAS VEGAS             NV
51722   2C3CCAGG4KH569840   Chrysler                        300   RENO                  NV
51723   2C3CCAGG4KH586038   Chrysler                        300   Davie                 FL
51724   2C3CCAGG4KH586069   Chrysler                        300   DES PLAINES           US
51725   2C3CCAGG4KH586105   Chrysler                        300   CHEEKTOWAGA           NY
51726   2C3CCAGG4KH586136   Chrysler                        300   DAYTON                OH
51727   2C3CCAGG4KH586153   Chrysler                        300   LOS ANGELES           CA
51728   2C3CCAGG4KH586184   Chrysler                        300   BIRMINGHAM            AL
51729   2C3CCAGG4KH586220   Chrysler                        300   PORTLAND              OR
51730   2C3CCAGG4KH586234   Chrysler                        300   LOS ANGELES           CA
51731   2C3CCAGG4KH586248   Chrysler                        300   LAS VEGAS             NV
51732   2C3CCAGG4KH586279   Chrysler                        300   PHOENIX               AZ
51733   2C3CCAGG4KH586296   Chrysler                        300   LAS VEGAS             NV
51734   2C3CCAGG4KH586301   Chrysler                        300   Miami                 FL
51735   2C3CCAGG4KH586315   Chrysler                        300   Bordentown            NJ
51736   2C3CCAGG4KH586329   Chrysler                        300   CHICAGO               IL
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51737   2C3CCAGG4KH586332   Chrysler                        300   Ft. Myers             FL
51738   2C3CCAGG4KH586346   Chrysler                        300   HOUSTON               TX
51739   2C3CCAGG4KH586363   Chrysler                        300   DETROIT               MI
51740   2C3CCAGG4KH586377   Chrysler                        300   NORFOLK               VA
51741   2C3CCAGG4KH586380   Chrysler                        300   MILWAUKEE             WI
51742   2C3CCAGG4KH586430   Chrysler                        300   SALT LAKE CITY        US
51743   2C3CCAGG4KH586458   Chrysler                        300   ORLANDO               FL
51744   2C3CCAGG4KH586461   Chrysler                        300   MILWAUKEE             WI
51745   2C3CCAGG4KH610614   Chrysler                        300   Dallas                TX
51746   2C3CCAGG4KH610628   Chrysler                        300   ONTARIO, RIVERSIDE    CA
51747   2C3CCAGG4KH610631   Chrysler                        300   CHICAGO O'HARE AP     IL
51748   2C3CCAGG4KH610645   Chrysler                        300   SAN DIEGO             CA
51749   2C3CCAGG4KH610659   Chrysler                        300   CLEVELAND             OH
51750   2C3CCAGG4KH610662   Chrysler                        300   WHITE PLAINS          NY
51751   2C3CCAGG4KH610676   Chrysler                        300   Manheim               PA
51752   2C3CCAGG4KH610709   Chrysler                        300   DETROIT               MI
51753   2C3CCAGG4KH610712   Chrysler                        300   CHARLESTON            WV
51754   2C3CCAGG4KH610726   Chrysler                        300   ATLANTA               GA
51755   2C3CCAGG4KH610743   Chrysler                        300   ROCHESTER             NY
51756   2C3CCAGG4KH610757   Chrysler                        300   PHILADELPHIA          PA
51757   2C3CCAGG4KH610760   Chrysler                        300   BIRMINGHAM            AL
51758   2C3CCAGG4KH610774   Chrysler                        300   CHARLOTTESVILLE       VA
51759   2C3CCAGG4KH610788   Chrysler                        300   SAINT LOUIS           MO
51760   2C3CCAGG4KH610791   Chrysler                        300   Omaha                 NE
51761   2C3CCAGG4KH610807   Chrysler                        300   LOUISVILLE            KY
51762   2C3CCAGG4KH610824   Chrysler                        300   ORLANDO               FL
51763   2C3CCAGG4KH631477   Chrysler                        300   LAS VEGAS             NV
51764   2C3CCAGG4KH631480   Chrysler                        300   SAN JOSE              CA
51765   2C3CCAGG4KH631494   Chrysler                        300   Lake Elsinore         CA
51766   2C3CCAGG4KH631513   Chrysler                        300   NORFOLK               VA
51767   2C3CCAGG4KH632077   Chrysler                        300   ORANGE COUNTY         CA
51768   2C3CCAGG4KH632080   Chrysler                        300   ONTARIO               CA
51769   2C3CCAGG4KH632094   Chrysler                        300   HOUSTON               TX
51770   2C3CCAGG4KH632113   Chrysler                        300   SARASOTA              FL
51771   2C3CCAGG4KH632127   Chrysler                        300   Manheim               PA
51772   2C3CCAGG4KH632130   Chrysler                        300   Teterboro             NJ
51773   2C3CCAGG4KH632144   Chrysler                        300   SYRACUSE              NY
51774   2C3CCAGG4KH632158   Chrysler                        300   LOS ANGELES           CA
51775   2C3CCAGG4KH632161   Chrysler                        300   SALT LAKE CITY        UT
51776   2C3CCAGG4KH632189   Chrysler                        300   DES MOINES            IA
51777   2C3CCAGG4KH632192   Chrysler                        300   SAINT LOUIS           MO
51778   2C3CCAGG4KH634427   Chrysler                        300   BOSTON                MA
51779   2C3CCAGG4KH634444   Chrysler                        300   Webster               NY
51780   2C3CCAGG4KH635173   Chrysler                        300   Atlanta               GA
51781   2C3CCAGG4KH635187   Chrysler                        300   Omaha                 NE
51782   2C3CCAGG4KH648408   Chrysler                        300   SAN DIEGO             CA
51783   2C3CCAGG4KH648411   Chrysler                        300   PHOENIX               AZ
51784   2C3CCAGG4KH648425   Chrysler                        300   LOS ANGELES           CA
51785   2C3CCAGG4KH648439   Chrysler                        300   LOS ANGELES           CA
51786   2C3CCAGG4KH648442   Chrysler                        300   SAN DIEGO             CA
51787   2C3CCAGG4KH648456   Chrysler                        300   TUCSON                AZ
51788   2C3CCAGG4KH648473   Chrysler                        300   PHOENIX               AZ
51789   2C3CCAGG4KH648487   Chrysler                        300   INGLEWOOD             CA
51790   2C3CCAGG4KH648506   Chrysler                        300   DETROIT               MI
51791   2C3CCAGG4KH648523   Chrysler                        300   WHITE PLAINS          NY
51792   2C3CCAGG4KH648537   Chrysler                        300   DES MOINES            IA
51793   2C3CCAGG4KH648554   Chrysler                        300   Bridgeton             MO
51794   2C3CCAGG4KH648568   Chrysler                        300   Atlanta               GA
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51795   2C3CCAGG4KH648571   Chrysler                        300   SACRAMENTO            CA
51796   2C3CCAGG4KH648585   Chrysler                        300   DENVER                CO
51797   2C3CCAGG4KH648604   Chrysler                        300   CHICAGO               IL
51798   2C3CCAGG4KH648618   Chrysler                        300   BOSTON                MA
51799   2C3CCAGG4KH648621   Chrysler                        300   DENVER                CO
51800   2C3CCAGG4KH648635   Chrysler                        300   DALLAS                TX
51801   2C3CCAGG4KH648649   Chrysler                        300   DALLAS                TX
51802   2C3CCAGG4KH648652   Chrysler                        300   DALLAS                TX
51803   2C3CCAGG4KH648666   Chrysler                        300   AUSTIN                TX
51804   2C3CCAGG4KH648683   Chrysler                        300   DALLAS                TX
51805   2C3CCAGG4KH648697   Chrysler                        300   GRAND RAPIDS          MI
51806   2C3CCAGG4KH648702   Chrysler                        300   RALEIGH               NC
51807   2C3CCAGG4KH648716   Chrysler                        300   CHICAGO               IL
51808   2C3CCAGG4KH648733   Chrysler                        300   CHICAGO               IL
51809   2C3CCAGG4KH648747   Chrysler                        300   CHICAGO               IL
51810   2C3CCAGG4KH648750   Chrysler                        300   INDIANAPOLIS          IN
51811   2C3CCAGG4KH648764   Chrysler                        300   SAINT LOUIS           MO
51812   2C3CCAGG4KH648778   Chrysler                        300   CHICAGO               IL
51813   2C3CCAGG4KH648781   Chrysler                        300   RALIEGH               NC
51814   2C3CCAGG4KH648795   Chrysler                        300   COSTA MESA            CA
51815   2C3CCAGG4KH648800   Chrysler                        300   SANTA ANA             CA
51816   2C3CCAGG4KH648814   Chrysler                        300   DENVER                CO
51817   2C3CCAGG4KH648828   Chrysler                        300   WEST PALM BEACH       FL
51818   2C3CCAGG4KH648831   Chrysler                        300   FRESNO                CA
51819   2C3CCAGG4KH648845   Chrysler                        300   MIAMI                 FL
51820   2C3CCAGG4KH648859   Chrysler                        300   SARASOTA              FL
51821   2C3CCAGG4KH648862   Chrysler                        300   ORLANDO               FL
51822   2C3CCAGG4KH648876   Chrysler                        300   ORLANDO               FL
51823   2C3CCAGG4KH648893   Chrysler                        300   FRESNO                CA
51824   2C3CCAGG4KH648909   Chrysler                        300   CHICAGO               IL
51825   2C3CCAGG4KH648912   Chrysler                        300   KENNER                LA
51826   2C3CCAGG4KH648926   Chrysler                        300   EL PASO               TX
51827   2C3CCAGG4KH648943   Chrysler                        300   MEMPHIS               TN
51828   2C3CCAGG4KH648960   Chrysler                        300   HOUSTON               TX
51829   2C3CCAGG4KH648974   Chrysler                        300   RALEIGH               NC
51830   2C3CCAGG4KH648988   Chrysler                        300   HOUSTON               TX
51831   2C3CCAGG4KH648991   Chrysler                        300   HOUSTON               TX
51832   2C3CCAGG4KH649008   Chrysler                        300   DENVER                CO
51833   2C3CCAGG4KH649011   Chrysler                        300   DENVER                CO
51834   2C3CCAGG4KH649025   Chrysler                        300   ORLANDO               FL
51835   2C3CCAGG4KH649039   Chrysler                        300   DENVER                CO
51836   2C3CCAGG4KH649042   Chrysler                        300   DALLAS                TX
51837   2C3CCAGG4KH651454   Chrysler                        300   ONTARIO               CA
51838   2C3CCAGG4KH651468   Chrysler                        300   ORLANDO               FL
51839   2C3CCAGG4KH651471   Chrysler                        300   LAS VEGAS             NV
51840   2C3CCAGG4KH651485   Chrysler                        300   MYRTLE BEACH          SC
51841   2C3CCAGG4KH651499   Chrysler                        300   JACKSONVILLE          FL
51842   2C3CCAGG4KH651504   Chrysler                        300   ORLANDO               FL
51843   2C3CCAGG4KH651518   Chrysler                        300   FORT LAUDERDALE       FL
51844   2C3CCAGG4KH651521   Chrysler                        300   TAMPA                 FL
51845   2C3CCAGG4KH651535   Chrysler                        300   Atlanta               GA
51846   2C3CCAGG4KH651549   Chrysler                        300   DENVER                CO
51847   2C3CCAGG4KH651552   Chrysler                        300   DENVER                CO
51848   2C3CCAGG4KH651566   Chrysler                        300   DENVER                CO
51849   2C3CCAGG4KH651583   Chrysler                        300   GRAND JUNCTION        C
51850   2C3CCAGG4KH651597   Chrysler                        300   DENVER                CO
51851   2C3CCAGG4KH654578   Chrysler                        300   CHICAGO               IL
51852   2C3CCAGG4KH654581   Chrysler                        300   GRAND RAPIDS          MI
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51853   2C3CCAGG4KH654600   Chrysler                        300   KNOXVILLE             TN
51854   2C3CCAGG4KH656038   Chrysler                        300   DES MOINES            IA
51855   2C3CCAGG4KH656041   Chrysler                        300   LOUISVILLE            KY
51856   2C3CCAGG4KH656055   Chrysler                        300   HOUSTON               TX
51857   2C3CCAGG4KH659229   Chrysler                        300   ST PAUL               MN
51858   2C3CCAGG4KH659232   Chrysler                        300   SOUTH BEND            IN
51859   2C3CCAGG4KH661188   Chrysler                        300   CLEVELAND             OH
51860   2C3CCAGG4KH661191   Chrysler                        300   CLEVELAND             OH
51861   2C3CCAGG4KH661336   Chrysler                        300   CHICAGO               IL
51862   2C3CCAGG4KH663152   Chrysler                        300   DETROIT               MI
51863   2C3CCAGG4KH667654   Chrysler                        300   DETROIT               MI
51864   2C3CCAGG5JH267262   Chrysler                        300   Cleveland             OH
51865   2C3CCAGG5KH517410   Chrysler                        300   Tolleson              AZ
51866   2C3CCAGG5KH517424   Chrysler                        300   PALM SPRINGS          CA
51867   2C3CCAGG5KH517438   Chrysler                        300   Sterling              VA
51868   2C3CCAGG5KH517455   Chrysler                        300   Tolleson              AZ
51869   2C3CCAGG5KH517469   Chrysler                        300   SALT LAKE CITY        UT
51870   2C3CCAGG5KH517472   Chrysler                        300   San Diego             CA
51871   2C3CCAGG5KH517486   Chrysler                        300   SAN DIEGO             US
51872   2C3CCAGG5KH531047   Chrysler                        300   PHOENIX               AZ
51873   2C3CCAGG5KH531064   Chrysler                        300   SAN DIEGO             CA
51874   2C3CCAGG5KH531078   Chrysler                        300   Hayward               CA
51875   2C3CCAGG5KH533820   Chrysler                        300   INGLEWOOD             CA
51876   2C3CCAGG5KH533834   Chrysler                        300   Phoenix               AZ
51877   2C3CCAGG5KH536801   Chrysler                        300   Sacramento            CA
51878   2C3CCAGG5KH536815   Chrysler                        300   Portland              OR
51879   2C3CCAGG5KH536829   Chrysler                        300   FORT MYERS            FL
51880   2C3CCAGG5KH536832   Chrysler                        300   WEST PALM BEACH       FL
51881   2C3CCAGG5KH536863   Chrysler                        300   SAN ANTONIO           TX
51882   2C3CCAGG5KH538273   Chrysler                        300   PANAMA CITY           FL
51883   2C3CCAGG5KH538886   Chrysler                        300   HOUSTON               TX
51884   2C3CCAGG5KH539651   Chrysler                        300   BURBANK               CA
51885   2C3CCAGG5KH539665   Chrysler                        300   PHOENIX               AZ
51886   2C3CCAGG5KH539682   Chrysler                        300   TUCSON                US
51887   2C3CCAGG5KH539696   Chrysler                        300   LOS ANGELES AP        CA
51888   2C3CCAGG5KH539701   Chrysler                        300   Riverside             CA
51889   2C3CCAGG5KH539715   Chrysler                        300   SAN JOSE              CA
51890   2C3CCAGG5KH539729   Chrysler                        300   Atlanta               GA
51891   2C3CCAGG5KH539746   Chrysler                        300   CHARLOTTE             NC
51892   2C3CCAGG5KH539813   Chrysler                        300   Jacksonville          FL
51893   2C3CCAGG5KH539827   Chrysler                        300   ORLANDO               FL
51894   2C3CCAGG5KH539844   Chrysler                        300   Dallas                TX
51895   2C3CCAGG5KH539858   Chrysler                        300   WARWICK               RI
51896   2C3CCAGG5KH542601   Chrysler                        300   MIAMI                 FL
51897   2C3CCAGG5KH542615   Chrysler                        300   FORT LAUDERDALE       FL
51898   2C3CCAGG5KH542629   Chrysler                        300   LAS VEGAS             NV
51899   2C3CCAGG5KH542646   Chrysler                        300   LAS VEGAS             NV
51900   2C3CCAGG5KH542663   Chrysler                        300   OAKLAND               CA
51901   2C3CCAGG5KH542677   Chrysler                        300   SANTA ANA             CA
51902   2C3CCAGG5KH542680   Chrysler                        300   LOS ANGELES           CA
51903   2C3CCAGG5KH542694   Chrysler                        300   PALM SPRINGS          CA
51904   2C3CCAGG5KH542713   Chrysler                        300   LOS ANGELES           CA
51905   2C3CCAGG5KH542727   Chrysler                        300   SALT LAKE CITY        UT
51906   2C3CCAGG5KH542730   Chrysler                        300   OAKLAND               CA
51907   2C3CCAGG5KH542744   Chrysler                        300   SAN DIEGO             CA
51908   2C3CCAGG5KH542761   Chrysler                        300   Denver                CO
51909   2C3CCAGG5KH542775   Chrysler                        300   MILWAUKEE             WI
51910   2C3CCAGG5KH542789   Chrysler                        300   SAN DIEGO             CA
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51911   2C3CCAGG5KH542808   Chrysler                        300   BOSTON                MA
51912   2C3CCAGG5KH542811   Chrysler                        300   BURBANK               CA
51913   2C3CCAGG5KH556434   Chrysler                        300   NEW BERN              NC
51914   2C3CCAGG5KH561486   Chrysler                        300   Hebron                KY
51915   2C3CCAGG5KH569104   Chrysler                        300   Fresno                CA
51916   2C3CCAGG5KH569331   Chrysler                        300   MIDLAND               TX
51917   2C3CCAGG5KH569717   Chrysler                        300   SAN FRANCISCO         CA
51918   2C3CCAGG5KH569751   Chrysler                        300   LOS ANGELES           CA
51919   2C3CCAGG5KH569765   Chrysler                        300   BALTIMORE             MD
51920   2C3CCAGG5KH569782   Chrysler                        300   LAS VEGAS             NV
51921   2C3CCAGG5KH569796   Chrysler                        300   LAS VEGAS             NV
51922   2C3CCAGG5KH569801   Chrysler                        300   LAS VEGAS             NV
51923   2C3CCAGG5KH569815   Chrysler                        300   ONTARIO               CA
51924   2C3CCAGG5KH569829   Chrysler                        300   CORPUS CHRISTI        TX
51925   2C3CCAGG5KH569832   Chrysler                        300   BOSTON                MA
51926   2C3CCAGG5KH586047   Chrysler                        300   CHICAGO               IL
51927   2C3CCAGG5KH586050   Chrysler                        300   WEST COLUMBIA         SC
51928   2C3CCAGG5KH586064   Chrysler                        300   ALBANY                GA
51929   2C3CCAGG5KH586095   Chrysler                        300   CHATTANOOGA           TN
51930   2C3CCAGG5KH586100   Chrysler                        300   PHILADELPHIA          PA
51931   2C3CCAGG5KH586145   Chrysler                        300   DENVER                CO
51932   2C3CCAGG5KH586159   Chrysler                        300   LOS ANGELES           CA
51933   2C3CCAGG5KH586162   Chrysler                        300   NEW ORLEANS           LA
51934   2C3CCAGG5KH586176   Chrysler                        300   LAS VEGAS             NV
51935   2C3CCAGG5KH586209   Chrysler                        300   PHOENIX               AZ
51936   2C3CCAGG5KH586212   Chrysler                        300   SOUTH SAN FRANC       CA
51937   2C3CCAGG5KH586243   Chrysler                        300   ONTARIO               CA
51938   2C3CCAGG5KH586257   Chrysler                        300   PHOENIX               AZ
51939   2C3CCAGG5KH586274   Chrysler                        300   PHOENIX               AZ
51940   2C3CCAGG5KH586288   Chrysler                        300   SALT LAKE CITY        US
51941   2C3CCAGG5KH586291   Chrysler                        300   FRESNO                CA
51942   2C3CCAGG5KH586307   Chrysler                        300   CHICAGO               IL
51943   2C3CCAGG5KH586324   Chrysler                        300   INDIANAPOLIS          IN
51944   2C3CCAGG5KH586338   Chrysler                        300   MILWAUKEE             WI
51945   2C3CCAGG5KH586341   Chrysler                        300   FRESNO                CA
51946   2C3CCAGG5KH586355   Chrysler                        300   BLOOMINGTON           IL
51947   2C3CCAGG5KH586369   Chrysler                        300   BIRMINGHAN            AL
51948   2C3CCAGG5KH586372   Chrysler                        300   DETROIT               MI
51949   2C3CCAGG5KH586422   Chrysler                        300   WEST PALM BEACH       FL
51950   2C3CCAGG5KH586453   Chrysler                        300   MILWAUKEE             WI
51951   2C3CCAGG5KH586467   Chrysler                        300   WEST PALM BEACH       FL
51952   2C3CCAGG5KH586470   Chrysler                        300   CHICAGO               IL
51953   2C3CCAGG5KH610606   Chrysler                        300   SAN DIEGO             CA
51954   2C3CCAGG5KH610623   Chrysler                        300   ANCHORAGE             AK
51955   2C3CCAGG5KH610640   Chrysler                        300   SANTA ANA             CA
51956   2C3CCAGG5KH610654   Chrysler                        300   NEW BERN              NC
51957   2C3CCAGG5KH610668   Chrysler                        300   LOUISVILLE            KY
51958   2C3CCAGG5KH610671   Chrysler                        300   FORT MYERS            FL
51959   2C3CCAGG5KH610685   Chrysler                        300   GRAND RAPIDS          MI
51960   2C3CCAGG5KH610699   Chrysler                        300   PORTLAND              ME
51961   2C3CCAGG5KH610704   Chrysler                        300   CHICAGO               IL
51962   2C3CCAGG5KH610718   Chrysler                        300   CHARLOTTE             NC
51963   2C3CCAGG5KH610721   Chrysler                        300   NEWARK                NJ
51964   2C3CCAGG5KH610735   Chrysler                        300   CHICAGO               IL
51965   2C3CCAGG5KH610749   Chrysler                        300   COLLEGE PARK          GA
51966   2C3CCAGG5KH610752   Chrysler                        300   MIAMI                 FL
51967   2C3CCAGG5KH610766   Chrysler                        300   BOSTON                MA
51968   2C3CCAGG5KH610783   Chrysler                        300   Elgin                 IL
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51969   2C3CCAGG5KH610797   Chrysler                        300   Tolleson              AZ
51970   2C3CCAGG5KH610802   Chrysler                        300   DALLAS                TX
51971   2C3CCAGG5KH610816   Chrysler                        300   Matteson              IL
51972   2C3CCAGG5KH631469   Chrysler                        300   OAKLAND               CA
51973   2C3CCAGG5KH631472   Chrysler                        300   PHOENIX               AZ
51974   2C3CCAGG5KH631486   Chrysler                        300   SAN FRANCISCO         CA
51975   2C3CCAGG5KH631519   Chrysler                        300   PHILADELPHIA          PA
51976   2C3CCAGG5KH632072   Chrysler                        300   FRESNO                CA
51977   2C3CCAGG5KH632086   Chrysler                        300   INDIANAPOLIS          IN
51978   2C3CCAGG5KH632119   Chrysler                        300   NEWARK                NJ
51979   2C3CCAGG5KH632122   Chrysler                        300   Teterboro             NJ
51980   2C3CCAGG5KH632153   Chrysler                        300   SACRAMENTO            CA
51981   2C3CCAGG5KH632170   Chrysler                        300   CHICAGO               IL
51982   2C3CCAGG5KH632184   Chrysler                        300   Irving                TX
51983   2C3CCAGG5KH634419   Chrysler                        300   ONTARIO               CA
51984   2C3CCAGG5KH634422   Chrysler                        300   Rockville Centr       NY
51985   2C3CCAGG5KH634436   Chrysler                        300   NEW BERN              NC
51986   2C3CCAGG5KH635179   Chrysler                        300   SAN FRANCISCO         CA
51987   2C3CCAGG5KH635182   Chrysler                        300   Buena Park            CA
51988   2C3CCAGG5KH635196   Chrysler                        300   CLEVELAND             OH
51989   2C3CCAGG5KH635201   Chrysler                        300   SAINT LOUIS           MO
51990   2C3CCAGG5KH648403   Chrysler                        300   FRESNO                CA
51991   2C3CCAGG5KH648417   Chrysler                        300   LOS ANGELES           CA
51992   2C3CCAGG5KH648420   Chrysler                        300   SANTA ANA             CA
51993   2C3CCAGG5KH648434   Chrysler                        300   LOS ANGELES           CA
51994   2C3CCAGG5KH648448   Chrysler                        300   LOS ANGELES           CA
51995   2C3CCAGG5KH648451   Chrysler                        300   SAN FRANCISCO         CA
51996   2C3CCAGG5KH648465   Chrysler                        300   LAS VEGAS             NV
51997   2C3CCAGG5KH648479   Chrysler                        300   SAN JOSE              CA
51998   2C3CCAGG5KH648482   Chrysler                        300   Los Angeles           CA
51999   2C3CCAGG5KH648496   Chrysler                        300   CHICAGO               IL
52000   2C3CCAGG5KH648501   Chrysler                        300   DES MOINES            IA
52001   2C3CCAGG5KH648515   Chrysler                        300   Stone Mountain        GA
52002   2C3CCAGG5KH648529   Chrysler                        300   Atlanta               GA
52003   2C3CCAGG5KH648532   Chrysler                        300   DETROIT               MI
52004   2C3CCAGG5KH648546   Chrysler                        300   MIAMI                 FL
52005   2C3CCAGG5KH648563   Chrysler                        300   DENVER                CO
52006   2C3CCAGG5KH648577   Chrysler                        300   LOS ANGELES           CA
52007   2C3CCAGG5KH648580   Chrysler                        300   LAS VEGAS             NV
52008   2C3CCAGG5KH648594   Chrysler                        300   MILWAUKEE             WI
52009   2C3CCAGG5KH648613   Chrysler                        300   BLOOMINGTON           IL
52010   2C3CCAGG5KH648630   Chrysler                        300   AUSTIN                TX
52011   2C3CCAGG5KH648644   Chrysler                        300   KNOXVILLE             TN
52012   2C3CCAGG5KH648658   Chrysler                        300   SHREVEPORT            LA
52013   2C3CCAGG5KH648661   Chrysler                        300   HOUSTON               TX
52014   2C3CCAGG5KH648689   Chrysler                        300   ROANOKE               VA
52015   2C3CCAGG5KH648692   Chrysler                        300   PEORIA                IL
52016   2C3CCAGG5KH648708   Chrysler                        300   DES MOINES            IA
52017   2C3CCAGG5KH648711   Chrysler                        300   MEMPHIS               TN
52018   2C3CCAGG5KH648725   Chrysler                        300   WICHITA FALLS         TX
52019   2C3CCAGG5KH648739   Chrysler                        300   CLEVELAND             OH
52020   2C3CCAGG5KH648742   Chrysler                        300   KANSAS CITY           MO
52021   2C3CCAGG5KH648756   Chrysler                        300   DETROIT               MI
52022   2C3CCAGG5KH648773   Chrysler                        300   HANOVER               MD
52023   2C3CCAGG5KH648787   Chrysler                        300   INDIANAPOLIS          IN
52024   2C3CCAGG5KH648790   Chrysler                        300   SACRAMENTO            CA
52025   2C3CCAGG5KH648806   Chrysler                        300   LOS ANGELES           CA
52026   2C3CCAGG5KH648823   Chrysler                        300   NORTH HIGHLANDS       CA
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52027   2C3CCAGG5KH648837   Chrysler                        300   JACKSONVILLE          FL
52028   2C3CCAGG5KH648840   Chrysler                        300   PENSACOLA             FL
52029   2C3CCAGG5KH648854   Chrysler                        300   ORLANDO               FL
52030   2C3CCAGG5KH648868   Chrysler                        300   NEWARK                NJ
52031   2C3CCAGG5KH648871   Chrysler                        300   TAMPA                 FL
52032   2C3CCAGG5KH648885   Chrysler                        300   STERLING              VA
52033   2C3CCAGG5KH648899   Chrysler                        300   CHICAGO               IL
52034   2C3CCAGG5KH648904   Chrysler                        300   PHILADELPHIA          PA
52035   2C3CCAGG5KH648921   Chrysler                        300   DETROIT               MI
52036   2C3CCAGG5KH648935   Chrysler                        300   CLEVELAND             OH
52037   2C3CCAGG5KH648949   Chrysler                        300   DETROIT               MI
52038   2C3CCAGG5KH648952   Chrysler                        300   GRAND RAPIDS          MI
52039   2C3CCAGG5KH648966   Chrysler                        300   AUSTIN                TX
52040   2C3CCAGG5KH648983   Chrysler                        300   KNOXVILLE             TN
52041   2C3CCAGG5KH648997   Chrysler                        300   DENVER                CO
52042   2C3CCAGG5KH649003   Chrysler                        300   BUFFALO               NY
52043   2C3CCAGG5KH649017   Chrysler                        300   ALBUQERQUE            NM
52044   2C3CCAGG5KH649020   Chrysler                        300   DENVER                CO
52045   2C3CCAGG5KH649034   Chrysler                        300   SARASOTA              FL
52046   2C3CCAGG5KH651463   Chrysler                        300   SAN DIEGO             CA
52047   2C3CCAGG5KH651477   Chrysler                        300   LAS VEGAS             NV
52048   2C3CCAGG5KH651480   Chrysler                        300   LOS ANGELES           CA
52049   2C3CCAGG5KH651494   Chrysler                        300   BOSTON                MA
52050   2C3CCAGG5KH651513   Chrysler                        300   AUSTIN                TX
52051   2C3CCAGG5KH651527   Chrysler                        300   FORT LAUDERDALE       FL
52052   2C3CCAGG5KH651530   Chrysler                        300   MYRTLE BEACH          SC
52053   2C3CCAGG5KH651544   Chrysler                        300   KENNER                LA
52054   2C3CCAGG5KH651558   Chrysler                        300   PHOENIX               AZ
52055   2C3CCAGG5KH651561   Chrysler                        300   ALBUQUERQUE           NM
52056   2C3CCAGG5KH651575   Chrysler                        300   DENVER                CO
52057   2C3CCAGG5KH651589   Chrysler                        300   DES MOINES            IA
52058   2C3CCAGG5KH651592   Chrysler                        300   DENVER                CO
52059   2C3CCAGG5KH654587   Chrysler                        300   Grove City            OH
52060   2C3CCAGG5KH655299   Chrysler                        300   DENVER                CO
52061   2C3CCAGG5KH655304   Chrysler                        300   DENVER                CO
52062   2C3CCAGG5KH656050   Chrysler                        300   Teterboro             NJ
52063   2C3CCAGG5KH659238   Chrysler                        300   LAS VEGAS             NV
52064   2C3CCAGG5KH659241   Chrysler                        300   DENVER                CO
52065   2C3CCAGG5KH660759   Chrysler                        300   DETROIT               MI
52066   2C3CCAGG5KH665539   Chrysler                        300   CHICAGO               IL
52067   2C3CCAGG5KH665542   Chrysler                        300   DETROIT               MI
52068   2C3CCAGG5KH683989   Chrysler                        300   FRESNO                CA
52069   2C3CCAGG5LH131572   Chrysler                        300   SACRAMENTO            CA
52070   2C3CCAGG6JH240751   Chrysler                        300   FRESNO                CA
52071   2C3CCAGG6JH267397   Chrysler                        300   Ventura               CA
52072   2C3CCAGG6JH267416   Chrysler                        300   Houston               TX
52073   2C3CCAGG6KH517433   Chrysler                        300   SEATAC                WA
52074   2C3CCAGG6KH517447   Chrysler                        300   ORLANDO               FL
52075   2C3CCAGG6KH517450   Chrysler                        300   PALM SPRINGS          CA
52076   2C3CCAGG6KH517464   Chrysler                        300   Newport Beach         CA
52077   2C3CCAGG6KH517495   Chrysler                        300   SANTA ANA             CA
52078   2C3CCAGG6KH517500   Chrysler                        300   SAN FRANCISCO         CA
52079   2C3CCAGG6KH529808   Chrysler                        300   FRESNO                CA
52080   2C3CCAGG6KH531042   Chrysler                        300   ANCHORAGE             AK
52081   2C3CCAGG6KH531056   Chrysler                        300   PHOENIX               AZ
52082   2C3CCAGG6KH531073   Chrysler                        300   PALM SPRINGS          CA
52083   2C3CCAGG6KH533857   Chrysler                        300   BURBANK               CA
52084   2C3CCAGG6KH536791   Chrysler                        300   LAS VEGAS             NV
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52085   2C3CCAGG6KH536810   Chrysler                        300   LAS VEGAS             NV
52086   2C3CCAGG6KH536855   Chrysler                        300   Jacksonville          FL
52087   2C3CCAGG6KH539657   Chrysler                        300   Tolleson              AZ
52088   2C3CCAGG6KH539660   Chrysler                        300   SALT LAKE CITY        US
52089   2C3CCAGG6KH539688   Chrysler                        300   Kansas City           MO
52090   2C3CCAGG6KH539707   Chrysler                        300   Memphis               TN
52091   2C3CCAGG6KH539710   Chrysler                        300   PHOENIX               AZ
52092   2C3CCAGG6KH539738   Chrysler                        300   EL SEGUNDO            CA
52093   2C3CCAGG6KH539741   Chrysler                        300   GRAND RAPIDS          MI
52094   2C3CCAGG6KH539755   Chrysler                        300   Schaumburg            IL
52095   2C3CCAGG6KH539805   Chrysler                        300   FORT MYERS            FL
52096   2C3CCAGG6KH539819   Chrysler                        300   Harvey                LA
52097   2C3CCAGG6KH539836   Chrysler                        300   AUGUSTA               GA
52098   2C3CCAGG6KH539853   Chrysler                        300   BOSTON                MA
52099   2C3CCAGG6KH542624   Chrysler                        300   PHOENIX               AZ
52100   2C3CCAGG6KH542638   Chrysler                        300   SAN JOSE              CA
52101   2C3CCAGG6KH542641   Chrysler                        300   LOS ANGELES AP        CA
52102   2C3CCAGG6KH542669   Chrysler                        300   WEST COLUMBIA         SC
52103   2C3CCAGG6KH542672   Chrysler                        300   SAN JOSE              CA
52104   2C3CCAGG6KH542686   Chrysler                        300   Lake Elsinore         CA
52105   2C3CCAGG6KH542705   Chrysler                        300   SAN DIEGO             CA
52106   2C3CCAGG6KH542736   Chrysler                        300   BURBANK               CA
52107   2C3CCAGG6KH542753   Chrysler                        300   LOS ANGELES           CA
52108   2C3CCAGG6KH542767   Chrysler                        300   Riverside             CA
52109   2C3CCAGG6KH542770   Chrysler                        300   SAN FRANCISCO         CA
52110   2C3CCAGG6KH542784   Chrysler                        300   DENVER                CO
52111   2C3CCAGG6KH542798   Chrysler                        300   SANTA ANA             CA
52112   2C3CCAGG6KH542817   Chrysler                        300   LOS ANGELES           CA
52113   2C3CCAGG6KH561481   Chrysler                        300   Ocoee                 FL
52114   2C3CCAGG6KH561495   Chrysler                        300   SOUTHEAST DST OFFC    OK
52115   2C3CCAGG6KH569113   Chrysler                        300   Statesville           NC
52116   2C3CCAGG6KH569337   Chrysler                        300   LAS VEGAS             NV
52117   2C3CCAGG6KH569354   Chrysler                        300   LAS VEGAS             NV
52118   2C3CCAGG6KH569368   Chrysler                        300   SACRAMENTO            CA
52119   2C3CCAGG6KH569371   Chrysler                        300   PALM SPRINGS          CA
52120   2C3CCAGG6KH569760   Chrysler                        300   Fresno                CA
52121   2C3CCAGG6KH569774   Chrysler                        300   Los Angeles           CA
52122   2C3CCAGG6KH569788   Chrysler                        300   SAN DIEGO             CA
52123   2C3CCAGG6KH569791   Chrysler                        300   PHOENIX               AZ
52124   2C3CCAGG6KH569824   Chrysler                        300   LAS VEGAS             NV
52125   2C3CCAGG6KH586039   Chrysler                        300   GRAND RAPIDS          MI
52126   2C3CCAGG6KH586056   Chrysler                        300   DETROIT               MI
52127   2C3CCAGG6KH586073   Chrysler                        300   FORT LAUDERDALE       FL
52128   2C3CCAGG6KH586087   Chrysler                        300   JACKSONVILLE          FL
52129   2C3CCAGG6KH586140   Chrysler                        300   CHARLOTTE             NC
52130   2C3CCAGG6KH586154   Chrysler                        300   SAN JOSE              CA
52131   2C3CCAGG6KH586171   Chrysler                        300   LAS VEGAS             NV
52132   2C3CCAGG6KH586185   Chrysler                        300   PHOENIX               AZ
52133   2C3CCAGG6KH586199   Chrysler                        300   Tampa                 FL
52134   2C3CCAGG6KH586218   Chrysler                        300   SEATTLE               WA
52135   2C3CCAGG6KH586221   Chrysler                        300   LAS VEGAS             NV
52136   2C3CCAGG6KH586235   Chrysler                        300   KANSAS CITY           MO
52137   2C3CCAGG6KH586249   Chrysler                        300   SAN JOSE              CA
52138   2C3CCAGG6KH586252   Chrysler                        300   PHOENIX               AZ
52139   2C3CCAGG6KH586266   Chrysler                        300   Dallas                TX
52140   2C3CCAGG6KH586283   Chrysler                        300   BURBANK               CA
52141   2C3CCAGG6KH586297   Chrysler                        300   SAN FRANCISCO         CA
52142   2C3CCAGG6KH586302   Chrysler                        300   Slidell               LA
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52143   2C3CCAGG6KH586316   Chrysler                        300   Kansas City           MO
52144   2C3CCAGG6KH586333   Chrysler                        300   CHARLOTTE             NC
52145   2C3CCAGG6KH586350   Chrysler                        300   Matteson              IL
52146   2C3CCAGG6KH586364   Chrysler                        300   San Antonio           TX
52147   2C3CCAGG6KH586378   Chrysler                        300   Matteson              IL
52148   2C3CCAGG6KH586381   Chrysler                        300   WICHITA FALLS         TX
52149   2C3CCAGG6KH586395   Chrysler                        300   SAN FRANCISCO         CA
52150   2C3CCAGG6KH586428   Chrysler                        300   Atlanta               GA
52151   2C3CCAGG6KH586431   Chrysler                        300   NEW BERN              NC
52152   2C3CCAGG6KH610615   Chrysler                        300   FRESNO                CA
52153   2C3CCAGG6KH610629   Chrysler                        300   COLORADO SPRING       CO
52154   2C3CCAGG6KH610632   Chrysler                        300   NEWPORT BEACH         CA
52155   2C3CCAGG6KH610646   Chrysler                        300   Atlanta               GA
52156   2C3CCAGG6KH610663   Chrysler                        300   CLEVELAND             OH
52157   2C3CCAGG6KH610677   Chrysler                        300   OKLAHOMA CITY         OK
52158   2C3CCAGG6KH610680   Chrysler                        300   Detroit               MI
52159   2C3CCAGG6KH610694   Chrysler                        300   Union City            GA
52160   2C3CCAGG6KH610713   Chrysler                        300   PHILADELPHIA          PA
52161   2C3CCAGG6KH610727   Chrysler                        300   BOSTON                MA
52162   2C3CCAGG6KH610730   Chrysler                        300   NEW BERN              NC
52163   2C3CCAGG6KH610744   Chrysler                        300   DETROIT               MI
52164   2C3CCAGG6KH610758   Chrysler                        300   PROVIDENCE            RI
52165   2C3CCAGG6KH610761   Chrysler                        300   PHILADELPHIA          PA
52166   2C3CCAGG6KH610775   Chrysler                        300   WEST PALM BEACH       FL
52167   2C3CCAGG6KH610789   Chrysler                        300   SAINT PAUL            MN
52168   2C3CCAGG6KH610792   Chrysler                        300   GRAND RAPIDS          MI
52169   2C3CCAGG6KH610808   Chrysler                        300   DES MOINES            IA
52170   2C3CCAGG6KH610811   Chrysler                        300   INDIANAPOLIS          IN
52171   2C3CCAGG6KH610825   Chrysler                        300   SEATAC                WA
52172   2C3CCAGG6KH631478   Chrysler                        300   LAS VEGAS             NV
52173   2C3CCAGG6KH631481   Chrysler                        300   LOS ANGELES           CA
52174   2C3CCAGG6KH631495   Chrysler                        300   SACRAMENTO            CA
52175   2C3CCAGG6KH631500   Chrysler                        300   LOS ANGELES           CA
52176   2C3CCAGG6KH631514   Chrysler                        300   DETROIT               MI
52177   2C3CCAGG6KH632078   Chrysler                        300   LOS ANGELES AP        CA
52178   2C3CCAGG6KH632081   Chrysler                        300   SAN DIEGO             CA
52179   2C3CCAGG6KH632100   Chrysler                        300   BALTIMORE             MD
52180   2C3CCAGG6KH632114   Chrysler                        300   WEST COLUMBIA         SC
52181   2C3CCAGG6KH632145   Chrysler                        300   CHARLESTON            WV
52182   2C3CCAGG6KH632159   Chrysler                        300   SAN FRANCISCO         CA
52183   2C3CCAGG6KH632162   Chrysler                        300   PHILADELPHIA          PA
52184   2C3CCAGG6KH632176   Chrysler                        300   DENVER                CO
52185   2C3CCAGG6KH632193   Chrysler                        300   Des Moines            IA
52186   2C3CCAGG6KH634428   Chrysler                        300   NEWARK                NJ
52187   2C3CCAGG6KH634431   Chrysler                        300   SARASOTA              FL
52188   2C3CCAGG6KH634445   Chrysler                        300   NEW YORK CITY         NY
52189   2C3CCAGG6KH635174   Chrysler                        300   NORFOLK               VA
52190   2C3CCAGG6KH635188   Chrysler                        300   GYPSUM                CO
52191   2C3CCAGG6KH635191   Chrysler                        300   Tulsa                 OK
52192   2C3CCAGG6KH635207   Chrysler                        300   GRAND RAPIDS          MI
52193   2C3CCAGG6KH635210   Chrysler                        300   CLARKSVILLE           IN
52194   2C3CCAGG6KH648409   Chrysler                        300   LOS ANGELES           CA
52195   2C3CCAGG6KH648412   Chrysler                        300   LOS ANGELES           CA
52196   2C3CCAGG6KH648426   Chrysler                        300   PHOENIX               AZ
52197   2C3CCAGG6KH648443   Chrysler                        300   Downey                CA
52198   2C3CCAGG6KH648457   Chrysler                        300   LOS ANGELES           CA
52199   2C3CCAGG6KH648460   Chrysler                        300   SAN FRANCISCO         CA
52200   2C3CCAGG6KH648474   Chrysler                        300   LOS ANGELES           CA
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52201   2C3CCAGG6KH648488   Chrysler                        300   SAN JOSE              CA
52202   2C3CCAGG6KH648491   Chrysler                        300   SAN JOSE              CA
52203   2C3CCAGG6KH648507   Chrysler                        300   NEWARK                NJ
52204   2C3CCAGG6KH648510   Chrysler                        300   GRAND RAPIDS          MI
52205   2C3CCAGG6KH648524   Chrysler                        300   CHICAGO               IL
52206   2C3CCAGG6KH648538   Chrysler                        300   SAN ANTONIO           TX
52207   2C3CCAGG6KH648541   Chrysler                        300   Kansas City           MO
52208   2C3CCAGG6KH648555   Chrysler                        300   DFW AIRPORT           TX
52209   2C3CCAGG6KH648572   Chrysler                        300   KENNER                LA
52210   2C3CCAGG6KH648586   Chrysler                        300   DENVER                CO
52211   2C3CCAGG6KH648605   Chrysler                        300   WICHITA               KS
52212   2C3CCAGG6KH648619   Chrysler                        300   NEW BERN              NC
52213   2C3CCAGG6KH648622   Chrysler                        300   DALLAS                TX
52214   2C3CCAGG6KH648636   Chrysler                        300   AUSTIN                TX
52215   2C3CCAGG6KH648653   Chrysler                        300   TUCSON                AZ
52216   2C3CCAGG6KH648667   Chrysler                        300   SAN ANTONIO           TX
52217   2C3CCAGG6KH648670   Chrysler                        300   DALLAS                TX
52218   2C3CCAGG6KH648684   Chrysler                        300   PHOENIX               AZ
52219   2C3CCAGG6KH648703   Chrysler                        300   CLEVELAND             OH
52220   2C3CCAGG6KH648717   Chrysler                        300   BLOOMINGTON           IL
52221   2C3CCAGG6KH648720   Chrysler                        300   LOUISVILLE            KY
52222   2C3CCAGG6KH648734   Chrysler                        300   CHICAGO               IL
52223   2C3CCAGG6KH648748   Chrysler                        300   CHICAGO O'HARE AP     IL
52224   2C3CCAGG6KH648751   Chrysler                        300   SAINT LOUIS           MO
52225   2C3CCAGG6KH648765   Chrysler                        300   CHICAGO               IL
52226   2C3CCAGG6KH648779   Chrysler                        300   GRAND RAPIDS          MI
52227   2C3CCAGG6KH648782   Chrysler                        300   CHICAGO               IL
52228   2C3CCAGG6KH648796   Chrysler                        300   BURBANK               CA
52229   2C3CCAGG6KH648801   Chrysler                        300   ONTARIO               CA
52230   2C3CCAGG6KH648815   Chrysler                        300   SAN DIEGO             CA
52231   2C3CCAGG6KH648829   Chrysler                        300   FORT LAUDERDALE       FL
52232   2C3CCAGG6KH648832   Chrysler                        300   MIAMI                 FL
52233   2C3CCAGG6KH648846   Chrysler                        300   NORFOLK               VA
52234   2C3CCAGG6KH648863   Chrysler                        300   FORT MYERS            FL
52235   2C3CCAGG6KH648877   Chrysler                        300   MIAMI                 FL
52236   2C3CCAGG6KH648880   Chrysler                        300   FORT LAUDERDALE       FL
52237   2C3CCAGG6KH648894   Chrysler                        300   DETROIT               MI
52238   2C3CCAGG6KH648913   Chrysler                        300   CHICAGO               IL
52239   2C3CCAGG6KH648927   Chrysler                        300   EL PASO               TX
52240   2C3CCAGG6KH648930   Chrysler                        300   SANTA FE              NM
52241   2C3CCAGG6KH648944   Chrysler                        300   Atlanta               GA
52242   2C3CCAGG6KH648958   Chrysler                        300   Saint Paul            MN
52243   2C3CCAGG6KH648961   Chrysler                        300   CHICAGO               IL
52244   2C3CCAGG6KH648975   Chrysler                        300   SHREVEPORT            LA
52245   2C3CCAGG6KH648989   Chrysler                        300   Dallas                TX
52246   2C3CCAGG6KH648992   Chrysler                        300   DALLAS                TX
52247   2C3CCAGG6KH649009   Chrysler                        300   ALBUQUERQUE           NM
52248   2C3CCAGG6KH649012   Chrysler                        300   GYPSUM                CO
52249   2C3CCAGG6KH649026   Chrysler                        300   DENVER                CO
52250   2C3CCAGG6KH651455   Chrysler                        300   LAS VEGAS             NV
52251   2C3CCAGG6KH651469   Chrysler                        300   LOS ANGELES           CA
52252   2C3CCAGG6KH651472   Chrysler                        300   TUCSON                AZ
52253   2C3CCAGG6KH651486   Chrysler                        300   FORT MYERS            FL
52254   2C3CCAGG6KH651505   Chrysler                        300   SALT LAKE CITY        UT
52255   2C3CCAGG6KH651519   Chrysler                        300   JACKSONVILLE          FL
52256   2C3CCAGG6KH651522   Chrysler                        300   LAS VEGAS             NV
52257   2C3CCAGG6KH651553   Chrysler                        300   DENVER                CO
52258   2C3CCAGG6KH651567   Chrysler                        300   DENVER                CO
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52259   2C3CCAGG6KH651570   Chrysler                        300   DENVER                CO
52260   2C3CCAGG6KH651584   Chrysler                        300   DALLAS                TX
52261   2C3CCAGG6KH651598   Chrysler                        300   DENVER                CO
52262   2C3CCAGG6KH654579   Chrysler                        300   DETROIT               MI
52263   2C3CCAGG6KH654582   Chrysler                        300   LAS VEGAS             NV
52264   2C3CCAGG6KH654601   Chrysler                        300   CHICAGO               IL
52265   2C3CCAGG6KH656039   Chrysler                        300   SAINT LOUIS           MO
52266   2C3CCAGG6KH656042   Chrysler                        300   CHICAGO               IL
52267   2C3CCAGG6KH656056   Chrysler                        300   LOS ANGELES           CA
52268   2C3CCAGG6KH659233   Chrysler                        300   KNOXVILLE             TN
52269   2C3CCAGG6KH660754   Chrysler                        300   TAMPA                 FL
52270   2C3CCAGG6KH661189   Chrysler                        300   CLEVELAND             OH
52271   2C3CCAGG6KH661192   Chrysler                        300   STERLING              VA
52272   2C3CCAGG6KH661337   Chrysler                        300   MILWAUKEE             WI
52273   2C3CCAGG6KH663153   Chrysler                        300   CLEVELAND             OH
52274   2C3CCAGG6LH131614   Chrysler                        300   CHEEKTOWAGA           NY
52275   2C3CCAGG7JH226499   Chrysler                        300   LOS ANGELES           CA
52276   2C3CCAGG7JH240774   Chrysler                        300   Lake Elsinore         CA
52277   2C3CCAGG7JH267232   Chrysler                        300   OAKLAND               CA
52278   2C3CCAGG7JH267375   Chrysler                        300   Aurora                CO
52279   2C3CCAGG7JH267442   Chrysler                        300   ORLANDO               FL
52280   2C3CCAGG7JH267652   Chrysler                        300   LOS ANGELES           CA
52281   2C3CCAGG7JH267683   Chrysler                        300   NEWPORT BEACH         CA
52282   2C3CCAGG7JH267781   Chrysler                        300   TRACY                 CA
52283   2C3CCAGG7JH267795   Chrysler                        300   Austin                TX
52284   2C3CCAGG7JH267893   Chrysler                        300   Fontana               CA
52285   2C3CCAGG7KH517408   Chrysler                        300   LOS ANGELES           CA
52286   2C3CCAGG7KH517411   Chrysler                        300   PHOENIX               AZ
52287   2C3CCAGG7KH517439   Chrysler                        300   FRESNO                CA
52288   2C3CCAGG7KH517442   Chrysler                        300   Portland              OR
52289   2C3CCAGG7KH517456   Chrysler                        300   Riverside             CA
52290   2C3CCAGG7KH517473   Chrysler                        300   OAKLAND               CA
52291   2C3CCAGG7KH517490   Chrysler                        300   Fontana               CA
52292   2C3CCAGG7KH517506   Chrysler                        300   ANCHORAGE             AK
52293   2C3CCAGG7KH529817   Chrysler                        300   SAN DIEGO             CA
52294   2C3CCAGG7KH531048   Chrysler                        300   SALT LAKE CITY        US
52295   2C3CCAGG7KH531051   Chrysler                        300   KENNER                LA
52296   2C3CCAGG7KH533821   Chrysler                        300   SAN FRANCISCO         CA
52297   2C3CCAGG7KH533835   Chrysler                        300   SAN DIEGO             CA
52298   2C3CCAGG7KH533852   Chrysler                        300   PHOENIX               AZ
52299   2C3CCAGG7KH536797   Chrysler                        300   San Diego             CA
52300   2C3CCAGG7KH536802   Chrysler                        300   ONTARIO               CA
52301   2C3CCAGG7KH536833   Chrysler                        300   SARASOTA              FL
52302   2C3CCAGG7KH536864   Chrysler                        300   ORLANDO               FL
52303   2C3CCAGG7KH539666   Chrysler                        300   SAVANNAH              GA
52304   2C3CCAGG7KH539683   Chrysler                        300   LOS ANGELES           CA
52305   2C3CCAGG7KH539697   Chrysler                        300   SACRAMENTO            CA
52306   2C3CCAGG7KH539702   Chrysler                        300   LOS ANGELES           CA
52307   2C3CCAGG7KH539716   Chrysler                        300   PHOENIX               AZ
52308   2C3CCAGG7KH539733   Chrysler                        300   Atlanta               GA
52309   2C3CCAGG7KH539747   Chrysler                        300   MIAMI                 FL
52310   2C3CCAGG7KH539750   Chrysler                        300   Dallas                TX
52311   2C3CCAGG7KH539800   Chrysler                        300   MIAMI                 FL
52312   2C3CCAGG7KH539828   Chrysler                        300   Harvey                LA
52313   2C3CCAGG7KH539831   Chrysler                        300   SAN ANTONIO           TX
52314   2C3CCAGG7KH539845   Chrysler                        300   FORT MYERS            FL
52315   2C3CCAGG7KH539859   Chrysler                        300   ORANGE COUNTY         CA
52316   2C3CCAGG7KH542602   Chrysler                        300   MIAMI                 FL
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52317   2C3CCAGG7KH542633   Chrysler                        300   Tolleson              AZ
52318   2C3CCAGG7KH542650   Chrysler                        300   North Las Vegas       NV
52319   2C3CCAGG7KH542664   Chrysler                        300   SACRAMENTO            CA
52320   2C3CCAGG7KH542678   Chrysler                        300   BURBANK               CA
52321   2C3CCAGG7KH542681   Chrysler                        300   SACRAMENTO            CA
52322   2C3CCAGG7KH542700   Chrysler                        300   Roseville             CA
52323   2C3CCAGG7KH542714   Chrysler                        300   Fontana               CA
52324   2C3CCAGG7KH542728   Chrysler                        300   SAN FRANCISCO         CA
52325   2C3CCAGG7KH542745   Chrysler                        300   COLUMBIA              SC
52326   2C3CCAGG7KH542759   Chrysler                        300   HOUSTON               TX
52327   2C3CCAGG7KH542776   Chrysler                        300   SANTA ANA             CA
52328   2C3CCAGG7KH542793   Chrysler                        300   DENVER                CO
52329   2C3CCAGG7KH542809   Chrysler                        300   ONTARIO               CA
52330   2C3CCAGG7KH542812   Chrysler                        300   LOS ANGELES           CA
52331   2C3CCAGG7KH561490   Chrysler                        300   WEST PALM BEACH       FL
52332   2C3CCAGG7KH569105   Chrysler                        300   SAN JOSE              CA
52333   2C3CCAGG7KH569332   Chrysler                        300   LOS ANGELES           CA
52334   2C3CCAGG7KH569363   Chrysler                        300   PALM SPRINGS          CA
52335   2C3CCAGG7KH569718   Chrysler                        300   Tolleson              AZ
52336   2C3CCAGG7KH569721   Chrysler                        300   SALT LAKE CITY        UT
52337   2C3CCAGG7KH569752   Chrysler                        300   BURBANK               CA
52338   2C3CCAGG7KH569766   Chrysler                        300   NEW YORK CITY         NY
52339   2C3CCAGG7KH569797   Chrysler                        300   LOS ANGELES           CA
52340   2C3CCAGG7KH569802   Chrysler                        300   Kansas City           MO
52341   2C3CCAGG7KH569833   Chrysler                        300   LAS VEGAS             NV
52342   2C3CCAGG7KH586034   Chrysler                        300   GREENSBORO            NC
52343   2C3CCAGG7KH586048   Chrysler                        300   WOODSON TERRACE       MO
52344   2C3CCAGG7KH586051   Chrysler                        300   DES MOINES            IA
52345   2C3CCAGG7KH586065   Chrysler                        300   Grove City            OH
52346   2C3CCAGG7KH586096   Chrysler                        300   KNOXVILLE             TN
52347   2C3CCAGG7KH586101   Chrysler                        300   BOSTON                MA
52348   2C3CCAGG7KH586115   Chrysler                        300   Massapequa            NY
52349   2C3CCAGG7KH586163   Chrysler                        300   SAN FRANCISCO         CA
52350   2C3CCAGG7KH586177   Chrysler                        300   LOS ANGELES           CA
52351   2C3CCAGG7KH586180   Chrysler                        300   SAN DIEGO             CA
52352   2C3CCAGG7KH586194   Chrysler                        300   PHOENIX               AZ
52353   2C3CCAGG7KH586230   Chrysler                        300   PHOENIX               AZ
52354   2C3CCAGG7KH586244   Chrysler                        300   PORTLAND              OR
52355   2C3CCAGG7KH586258   Chrysler                        300   SAN FRANCISCO         CA
52356   2C3CCAGG7KH586275   Chrysler                        300   GRAND RAPIDS          MI
52357   2C3CCAGG7KH586289   Chrysler                        300   DALLAS                TX
52358   2C3CCAGG7KH586292   Chrysler                        300   LOS ANGELES           CA
52359   2C3CCAGG7KH586325   Chrysler                        300   LOUISVILLE            KY
52360   2C3CCAGG7KH586339   Chrysler                        300   GREENWOOD             IN
52361   2C3CCAGG7KH586342   Chrysler                        300   INDIANAPOLIS          IN
52362   2C3CCAGG7KH586356   Chrysler                        300   NORFOLK               VA
52363   2C3CCAGG7KH586387   Chrysler                        300   SACRAMENTO            CA
52364   2C3CCAGG7KH586390   Chrysler                        300   STERLING              VA
52365   2C3CCAGG7KH586406   Chrysler                        300   Nashville             TN
52366   2C3CCAGG7KH586423   Chrysler                        300   Houston               TX
52367   2C3CCAGG7KH586437   Chrysler                        300   CHICAGO               IL
52368   2C3CCAGG7KH586440   Chrysler                        300   BLOOMINGTON           IL
52369   2C3CCAGG7KH586454   Chrysler                        300   CHICAGO               IL
52370   2C3CCAGG7KH586468   Chrysler                        300   Myrtle Beach          SC
52371   2C3CCAGG7KH610607   Chrysler                        300   ALBUQERQUE            NM
52372   2C3CCAGG7KH610610   Chrysler                        300   BURBANK               CA
52373   2C3CCAGG7KH610638   Chrysler                        300   ORANGE COUNTY         CA
52374   2C3CCAGG7KH610641   Chrysler                        300   OAKLAND               CA
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52375   2C3CCAGG7KH610655   Chrysler                        300   SHREVEPORT            LA
52376   2C3CCAGG7KH610669   Chrysler                        300   DALLAS                TX
52377   2C3CCAGG7KH610672   Chrysler                        300   SHREVEPORT            LA
52378   2C3CCAGG7KH610686   Chrysler                        300   DETROIT               MI
52379   2C3CCAGG7KH610705   Chrysler                        300   MEMPHIS               TN
52380   2C3CCAGG7KH610722   Chrysler                        300   DETROIT               MI
52381   2C3CCAGG7KH610736   Chrysler                        300   NEW YORK CITY         NY
52382   2C3CCAGG7KH610753   Chrysler                        300   DENVER                CO
52383   2C3CCAGG7KH610767   Chrysler                        300   CHARLOTTE             NC
52384   2C3CCAGG7KH610770   Chrysler                        300   CHICAGO               IL
52385   2C3CCAGG7KH610784   Chrysler                        300   OMAHA                 NE
52386   2C3CCAGG7KH610798   Chrysler                        300   FORT MYERS            FL
52387   2C3CCAGG7KH610803   Chrysler                        300   CHICAGO               IL
52388   2C3CCAGG7KH610817   Chrysler                        300   CHICAGO               IL
52389   2C3CCAGG7KH610820   Chrysler                        300   Medford               NY
52390   2C3CCAGG7KH631473   Chrysler                        300   OAKLAND               CA
52391   2C3CCAGG7KH631487   Chrysler                        300   PHOENIX               AZ
52392   2C3CCAGG7KH631490   Chrysler                        300   SACRAMENTO            CA
52393   2C3CCAGG7KH632073   Chrysler                        300   SOUTH SAN FRANC       CA
52394   2C3CCAGG7KH632087   Chrysler                        300   HOUSTON               TX
52395   2C3CCAGG7KH632090   Chrysler                        300   HOUSTON               TX
52396   2C3CCAGG7KH632106   Chrysler                        300   WOODSON TERRACE       MO
52397   2C3CCAGG7KH632137   Chrysler                        300   DALLAS                TX
52398   2C3CCAGG7KH632140   Chrysler                        300   Port Newark           NJ
52399   2C3CCAGG7KH632154   Chrysler                        300   SALT LAKE CITY        US
52400   2C3CCAGG7KH632168   Chrysler                        300   SALT LAKE CITY        US
52401   2C3CCAGG7KH632171   Chrysler                        300   DENVER                CO
52402   2C3CCAGG7KH632185   Chrysler                        300   SAINT LOUIS           MO
52403   2C3CCAGG7KH634423   Chrysler                        300   PASADENA              MD
52404   2C3CCAGG7KH634437   Chrysler                        300   SNELLVILLE            GA
52405   2C3CCAGG7KH634440   Chrysler                        300   HANOVER               MD
52406   2C3CCAGG7KH635183   Chrysler                        300   PHOENIX               AZ
52407   2C3CCAGG7KH635197   Chrysler                        300   NEW BERN              NC
52408   2C3CCAGG7KH635202   Chrysler                        300   MILWAUKEE             WI
52409   2C3CCAGG7KH648404   Chrysler                        300   BURBANK               CA
52410   2C3CCAGG7KH648418   Chrysler                        300   LAS VEGAS             NV
52411   2C3CCAGG7KH648421   Chrysler                        300   LOS ANGELES           CA
52412   2C3CCAGG7KH648435   Chrysler                        300   DENVER                CO
52413   2C3CCAGG7KH648449   Chrysler                        300   LAS VEGAS             NV
52414   2C3CCAGG7KH648452   Chrysler                        300   SALT LAKE CITY        US
52415   2C3CCAGG7KH648466   Chrysler                        300   LOS ANGELES           CA
52416   2C3CCAGG7KH648483   Chrysler                        300   CHICAGO               IL
52417   2C3CCAGG7KH648497   Chrysler                        300   ROCHESTER             NY
52418   2C3CCAGG7KH648502   Chrysler                        300   HARRISBURG            PA
52419   2C3CCAGG7KH648533   Chrysler                        300   CHICAGO               IL
52420   2C3CCAGG7KH648547   Chrysler                        300   CHICAGO               IL
52421   2C3CCAGG7KH648550   Chrysler                        300   BOSTON                MA
52422   2C3CCAGG7KH648564   Chrysler                        300   MIDLAND               TX
52423   2C3CCAGG7KH648578   Chrysler                        300   DENVER                CO
52424   2C3CCAGG7KH648581   Chrysler                        300   Des Moines            IA
52425   2C3CCAGG7KH648595   Chrysler                        300   Dallas                TX
52426   2C3CCAGG7KH648600   Chrysler                        300   OKLAHOMA CITY         OK
52427   2C3CCAGG7KH648614   Chrysler                        300   GREENWOOD             IN
52428   2C3CCAGG7KH648628   Chrysler                        300   AUSTIN                TX
52429   2C3CCAGG7KH648631   Chrysler                        300   Dallas                TX
52430   2C3CCAGG7KH648645   Chrysler                        300   MIDLAND               TX
52431   2C3CCAGG7KH648659   Chrysler                        300   AUSTIN                TX
52432   2C3CCAGG7KH648662   Chrysler                        300   DALLAS                TX
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52433   2C3CCAGG7KH648676   Chrysler                        300   MCALLEN               TX
52434   2C3CCAGG7KH648693   Chrysler                        300   LOUISVILLE            KY
52435   2C3CCAGG7KH648709   Chrysler                        300   DES MOINES            IA
52436   2C3CCAGG7KH648712   Chrysler                        300   CHICAGO               IL
52437   2C3CCAGG7KH648726   Chrysler                        300   CHICAGO               IL
52438   2C3CCAGG7KH648743   Chrysler                        300   NEW YORK CITY         NY
52439   2C3CCAGG7KH648757   Chrysler                        300   MILWAUKEE             WI
52440   2C3CCAGG7KH648760   Chrysler                        300   DES MOINES            IA
52441   2C3CCAGG7KH648774   Chrysler                        300   MILWAUKEE             WI
52442   2C3CCAGG7KH648791   Chrysler                        300   SANTA CLARA           CA
52443   2C3CCAGG7KH648807   Chrysler                        300   SAN FRANCISCO         CA
52444   2C3CCAGG7KH648810   Chrysler                        300   SAN DIEGO             CA
52445   2C3CCAGG7KH648824   Chrysler                        300   SAN DIEGO             CA
52446   2C3CCAGG7KH648838   Chrysler                        300   GRAND RAPIDS          MI
52447   2C3CCAGG7KH648841   Chrysler                        300   RALEIGH               NC
52448   2C3CCAGG7KH648855   Chrysler                        300   TAMPA                 FL
52449   2C3CCAGG7KH648869   Chrysler                        300   ORLANDO               FL
52450   2C3CCAGG7KH648872   Chrysler                        300   NEW BERN              NC
52451   2C3CCAGG7KH648886   Chrysler                        300   MIAMI                 FL
52452   2C3CCAGG7KH648905   Chrysler                        300   BLOOMINGTON           IL
52453   2C3CCAGG7KH648919   Chrysler                        300   KANSAS CITY           MO
52454   2C3CCAGG7KH648922   Chrysler                        300   DETROIT               MI
52455   2C3CCAGG7KH648936   Chrysler                        300   STERLING              VA
52456   2C3CCAGG7KH648953   Chrysler                        300   PITTSBURGH            PA
52457   2C3CCAGG7KH648967   Chrysler                        300   MOBILE                A
52458   2C3CCAGG7KH648970   Chrysler                        300   WICHITA FALLS         TX
52459   2C3CCAGG7KH648984   Chrysler                        300   HOUSTON               TX
52460   2C3CCAGG7KH649004   Chrysler                        300   DENVER                CO
52461   2C3CCAGG7KH649018   Chrysler                        300   WARWICK               US
52462   2C3CCAGG7KH649021   Chrysler                        300   INDIANAPOLIS          IN
52463   2C3CCAGG7KH649035   Chrysler                        300   GUNNISON              CO
52464   2C3CCAGG7KH651464   Chrysler                        300   REDDING               CA
52465   2C3CCAGG7KH651478   Chrysler                        300   BURBANK               CA
52466   2C3CCAGG7KH651481   Chrysler                        300   LOS ANGELES           CA
52467   2C3CCAGG7KH651495   Chrysler                        300   NEWARK                NJ
52468   2C3CCAGG7KH651500   Chrysler                        300   FORT LAUDERDALE       FL
52469   2C3CCAGG7KH651514   Chrysler                        300   MIAMI                 FL
52470   2C3CCAGG7KH651528   Chrysler                        300   FORT MYERS            FL
52471   2C3CCAGG7KH651531   Chrysler                        300   WEST PALM BEACH       FL
52472   2C3CCAGG7KH651545   Chrysler                        300   DALLAS                TX
52473   2C3CCAGG7KH651559   Chrysler                        300   MILWAUKEE             WI
52474   2C3CCAGG7KH651562   Chrysler                        300   HOUSTON               TX
52475   2C3CCAGG7KH651576   Chrysler                        300   SAN JOSE              CA
52476   2C3CCAGG7KH651593   Chrysler                        300   SALT LAKE CITY        US
52477   2C3CCAGG7KH654588   Chrysler                        300   BALTIMORE             MD
52478   2C3CCAGG7KH654591   Chrysler                        300   GRAND RAPIDS          MI
52479   2C3CCAGG7KH654607   Chrysler                        300   MCALLEN               TX
52480   2C3CCAGG7KH654610   Chrysler                        300   DALLAS                TX
52481   2C3CCAGG7KH655305   Chrysler                        300   Teterboro             NJ
52482   2C3CCAGG7KH656048   Chrysler                        300   DETROIT               MI
52483   2C3CCAGG7KH656051   Chrysler                        300   PHOENIX               AZ
52484   2C3CCAGG7KH659239   Chrysler                        300   DETROIT               MI
52485   2C3CCAGG7KH659242   Chrysler                        300   Irving                TX
52486   2C3CCAGG7KH662271   Chrysler                        300   SACRAMENTO            CA
52487   2C3CCAGG7KH663937   Chrysler                        300   CHICAGO               IL
52488   2C3CCAGG7KH663940   Chrysler                        300   SAN ANTONIO           TX
52489   2C3CCAGG7KH665543   Chrysler                        300   SAN ANTONIO           TX
52490   2C3CCAGG7KH668491   Chrysler                        300   HOUSTON               TX
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52491   2C3CCAGG8JH267367   Chrysler                        300   SEATTLE               WA
52492   2C3CCAGG8JH276036   Chrysler                        300   Los Angeles           CA
52493   2C3CCAGG8KH517417   Chrysler                        300   LAS VEGAS             NV
52494   2C3CCAGG8KH517420   Chrysler                        300   SANTA ANA             CA
52495   2C3CCAGG8KH517434   Chrysler                        300   SEATAC                WA
52496   2C3CCAGG8KH517448   Chrysler                        300   Mt. Juliet            TN
52497   2C3CCAGG8KH517465   Chrysler                        300   Los Angeles           CA
52498   2C3CCAGG8KH517479   Chrysler                        300   PALM SPRINGS          CA
52499   2C3CCAGG8KH517482   Chrysler                        300   Austin                TX
52500   2C3CCAGG8KH517515   Chrysler                        300   SAN DIEGO             CA
52501   2C3CCAGG8KH529809   Chrysler                        300   LOS ANGELES           CA
52502   2C3CCAGG8KH529812   Chrysler                        300   FEDERAL WAY           WA
52503   2C3CCAGG8KH531043   Chrysler                        300   LOS ANGELES           CA
52504   2C3CCAGG8KH531074   Chrysler                        300   SALT LAKE CITY        US
52505   2C3CCAGG8KH533813   Chrysler                        300   PHOENIX               AZ
52506   2C3CCAGG8KH533827   Chrysler                        300   Phoenix               AZ
52507   2C3CCAGG8KH533830   Chrysler                        300   ONTARIO               CA
52508   2C3CCAGG8KH533844   Chrysler                        300   LOS ANGELES AP        CA
52509   2C3CCAGG8KH536792   Chrysler                        300   ONTARIO               CA
52510   2C3CCAGG8KH536856   Chrysler                        300   Manheim               PA
52511   2C3CCAGG8KH538882   Chrysler                        300   ALBANY                GA
52512   2C3CCAGG8KH539658   Chrysler                        300   Aurora                CO
52513   2C3CCAGG8KH539661   Chrysler                        300   ORANGE COUNTY         CA
52514   2C3CCAGG8KH539675   Chrysler                        300   DENVER                CO
52515   2C3CCAGG8KH539692   Chrysler                        300   PLEASANTON            CA
52516   2C3CCAGG8KH539708   Chrysler                        300   PHOENIX               AZ
52517   2C3CCAGG8KH539725   Chrysler                        300   SAN DIEGO             CA
52518   2C3CCAGG8KH539739   Chrysler                        300   FORT LAUDERDALE       FL
52519   2C3CCAGG8KH539742   Chrysler                        300   WINTER PARK           FL
52520   2C3CCAGG8KH539806   Chrysler                        300   KANSAS CITY           MO
52521   2C3CCAGG8KH539823   Chrysler                        300   TAMPA                 FL
52522   2C3CCAGG8KH539854   Chrysler                        300   FORT LAUDERDALE       FL
52523   2C3CCAGG8KH542611   Chrysler                        300   FORT MYERS            FL
52524   2C3CCAGG8KH542639   Chrysler                        300   SAN DIEGO             CA
52525   2C3CCAGG8KH542642   Chrysler                        300   LOS ANGELES           CA
52526   2C3CCAGG8KH542656   Chrysler                        300   BURBANK               CA
52527   2C3CCAGG8KH542673   Chrysler                        300   LOS ANGELES           CA
52528   2C3CCAGG8KH542687   Chrysler                        300   LAS VEGAS             NV
52529   2C3CCAGG8KH542690   Chrysler                        300   SAN FRANCISCO         CA
52530   2C3CCAGG8KH542706   Chrysler                        300   SAN DIEGO             CA
52531   2C3CCAGG8KH542737   Chrysler                        300   CHICAGO               IL
52532   2C3CCAGG8KH542740   Chrysler                        300   SOUTH SAN FRANC       CA
52533   2C3CCAGG8KH542754   Chrysler                        300   LAS VEGAS             NV
52534   2C3CCAGG8KH542768   Chrysler                        300   SAN JOSE              CA
52535   2C3CCAGG8KH542771   Chrysler                        300   SAN FRANCISCO         CA
52536   2C3CCAGG8KH542799   Chrysler                        300   Roseville             CA
52537   2C3CCAGG8KH542804   Chrysler                        300   SAN DIEGO             CA
52538   2C3CCAGG8KH556430   Chrysler                        300   JACKSONVILLE          FL
52539   2C3CCAGG8KH563295   Chrysler                        300   PHILADELPHIA          US
52540   2C3CCAGG8KH569341   Chrysler                        300   FRESNO                CA
52541   2C3CCAGG8KH569355   Chrysler                        300   SAN FRANCISCO         CA
52542   2C3CCAGG8KH569372   Chrysler                        300   LOS ANGELES           CA
52543   2C3CCAGG8KH569727   Chrysler                        300   PORTLAND              OR
52544   2C3CCAGG8KH569730   Chrysler                        300   SAN FRANCISCO         CA
52545   2C3CCAGG8KH569744   Chrysler                        300   LAS VEGAS             NV
52546   2C3CCAGG8KH569758   Chrysler                        300   Kansas City           MO
52547   2C3CCAGG8KH569792   Chrysler                        300   Santa Clara           CA
52548   2C3CCAGG8KH569808   Chrysler                        300   LAS VEGAS             NV
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52549   2C3CCAGG8KH569811   Chrysler                        300   SACRAMENTO            CA
52550   2C3CCAGG8KH569825   Chrysler                        300   North Las Vegas       NV
52551   2C3CCAGG8KH586043   Chrysler                        300   BIRMINGHAN            AL
52552   2C3CCAGG8KH586060   Chrysler                        300   Chicago               IL
52553   2C3CCAGG8KH586074   Chrysler                        300   GREENWOOD             IN
52554   2C3CCAGG8KH586088   Chrysler                        300   CHARLESTON            WV
52555   2C3CCAGG8KH586110   Chrysler                        300   PITTSBURGH            PA
52556   2C3CCAGG8KH586124   Chrysler                        300   NEW BERN              NC
52557   2C3CCAGG8KH586138   Chrysler                        300   MIAMI                 FL
52558   2C3CCAGG8KH586141   Chrysler                        300   RALIEGH               NC
52559   2C3CCAGG8KH586155   Chrysler                        300   LOS ANGELES           CA
52560   2C3CCAGG8KH586169   Chrysler                        300   TUCSON                AZ
52561   2C3CCAGG8KH586172   Chrysler                        300   Cincinnati            OH
52562   2C3CCAGG8KH586219   Chrysler                        300   WOODLAND HILLS        CA
52563   2C3CCAGG8KH586222   Chrysler                        300   SALT LAKE CITY        US
52564   2C3CCAGG8KH586236   Chrysler                        300   ONTARIO               CA
52565   2C3CCAGG8KH586267   Chrysler                        300   Tolleson              AZ
52566   2C3CCAGG8KH586284   Chrysler                        300   LOS ANGELES           CA
52567   2C3CCAGG8KH586298   Chrysler                        300   SACRAMENTO            CA
52568   2C3CCAGG8KH586303   Chrysler                        300   CLEVELAND             OH
52569   2C3CCAGG8KH586317   Chrysler                        300   CHICAGO               IL
52570   2C3CCAGG8KH586320   Chrysler                        300   Kansas City           MO
52571   2C3CCAGG8KH586348   Chrysler                        300   Des Moines            IA
52572   2C3CCAGG8KH586351   Chrysler                        300   Brighton              CO
52573   2C3CCAGG8KH586365   Chrysler                        300   SAINT PAUL            MN
52574   2C3CCAGG8KH586379   Chrysler                        300   Tulsa                 OK
52575   2C3CCAGG8KH586382   Chrysler                        300   SHREVEPORT            LA
52576   2C3CCAGG8KH586396   Chrysler                        300   Atlanta               GA
52577   2C3CCAGG8KH586401   Chrysler                        300   CLEVELAND             OH
52578   2C3CCAGG8KH586415   Chrysler                        300   ASHEVILLE             NC
52579   2C3CCAGG8KH586429   Chrysler                        300   CHICAGO               IL
52580   2C3CCAGG8KH586446   Chrysler                        300   SAINT PAUL            MN
52581   2C3CCAGG8KH586463   Chrysler                        300   Hanover               MD
52582   2C3CCAGG8KH610602   Chrysler                        300   SAN FRANCISCO         CA
52583   2C3CCAGG8KH610616   Chrysler                        300   PHOENIX               AZ
52584   2C3CCAGG8KH610633   Chrysler                        300   SANTA ANA             CA
52585   2C3CCAGG8KH610647   Chrysler                        300   PALM SPRINGS          CA
52586   2C3CCAGG8KH610650   Chrysler                        300   SAN FRANCISCO         CA
52587   2C3CCAGG8KH610664   Chrysler                        300   ATLANTA               GA
52588   2C3CCAGG8KH610678   Chrysler                        300   Hamilton              OH
52589   2C3CCAGG8KH610681   Chrysler                        300   PHILADELPHIA          PA
52590   2C3CCAGG8KH610700   Chrysler                        300   Hamilton              OH
52591   2C3CCAGG8KH610714   Chrysler                        300   PITTSBURGH            PA
52592   2C3CCAGG8KH610728   Chrysler                        300   ORLANDO               FL
52593   2C3CCAGG8KH610731   Chrysler                        300   STERLING              US
52594   2C3CCAGG8KH610745   Chrysler                        300   Atlanta               GA
52595   2C3CCAGG8KH610762   Chrysler                        300   Atlanta               GA
52596   2C3CCAGG8KH610776   Chrysler                        300   CLEVELAND             OH
52597   2C3CCAGG8KH610793   Chrysler                        300   OKLAHOMA CITY         OK
52598   2C3CCAGG8KH610809   Chrysler                        300   DENVER                CO
52599   2C3CCAGG8KH610812   Chrysler                        300   DES MOINES            IA
52600   2C3CCAGG8KH610826   Chrysler                        300   OMAHA                 NE
52601   2C3CCAGG8KH631479   Chrysler                        300   LAS VEGAS             NV
52602   2C3CCAGG8KH631482   Chrysler                        300   BURBANK               CA
52603   2C3CCAGG8KH631496   Chrysler                        300   BURBANK               CA
52604   2C3CCAGG8KH631501   Chrysler                        300   Teterboro             NJ
52605   2C3CCAGG8KH631515   Chrysler                        300   WEST PALM BEACH       FL
52606   2C3CCAGG8KH632079   Chrysler                        300   SAN DIEGO             CA
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52607   2C3CCAGG8KH632082   Chrysler                        300   SACRAMENTO            CA
52608   2C3CCAGG8KH632096   Chrysler                        300   Clearwater            FL
52609   2C3CCAGG8KH632101   Chrysler                        300   PHILADELPHIA          PA
52610   2C3CCAGG8KH632115   Chrysler                        300   PHILADELPHIA          PA
52611   2C3CCAGG8KH632129   Chrysler                        300   KEY WEST              FL
52612   2C3CCAGG8KH632132   Chrysler                        300   WEST PALM BEACH       FL
52613   2C3CCAGG8KH632146   Chrysler                        300   WARWICK               RI
52614   2C3CCAGG8KH632163   Chrysler                        300   ROCHESTER             NY
52615   2C3CCAGG8KH632177   Chrysler                        300   TULSA                 OK
52616   2C3CCAGG8KH632194   Chrysler                        300   CHICAGO               IL
52617   2C3CCAGG8KH634429   Chrysler                        300   CHICAGO               IL
52618   2C3CCAGG8KH634432   Chrysler                        300   RICHMOND              VA
52619   2C3CCAGG8KH634446   Chrysler                        300   INDIANAPOLIS          IN
52620   2C3CCAGG8KH635175   Chrysler                        300   LAS VEGAS             NV
52621   2C3CCAGG8KH635211   Chrysler                        300   Louisville            KY
52622   2C3CCAGG8KH640022   Chrysler                        300   RONKONKOMA            NY
52623   2C3CCAGG8KH648413   Chrysler                        300   OAKLAND               CA
52624   2C3CCAGG8KH648427   Chrysler                        300   ORANGE COUNTY         CA
52625   2C3CCAGG8KH648430   Chrysler                        300   SALT LAKE CITY        US
52626   2C3CCAGG8KH648444   Chrysler                        300   DETROIT               MI
52627   2C3CCAGG8KH648458   Chrysler                        300   SEATAC                WA
52628   2C3CCAGG8KH648461   Chrysler                        300   OAKLAND               CA
52629   2C3CCAGG8KH648475   Chrysler                        300   ONTARIO               CA
52630   2C3CCAGG8KH648489   Chrysler                        300   SALT LAKE CITY        US
52631   2C3CCAGG8KH648492   Chrysler                        300   SARASOTA              FL
52632   2C3CCAGG8KH648508   Chrysler                        300   CHICAGO               IL
52633   2C3CCAGG8KH648511   Chrysler                        300   CLEVELAND             OH
52634   2C3CCAGG8KH648525   Chrysler                        300   TUCSON                AZ
52635   2C3CCAGG8KH648539   Chrysler                        300   LOUISVILLE            KY
52636   2C3CCAGG8KH648542   Chrysler                        300   PEORIA                IL
52637   2C3CCAGG8KH648556   Chrysler                        300   CHICAGO               IL
52638   2C3CCAGG8KH648573   Chrysler                        300   LAS VEGAS             NV
52639   2C3CCAGG8KH648587   Chrysler                        300   CHICAGO               IL
52640   2C3CCAGG8KH648606   Chrysler                        300   INDIANAPOLIS          IN
52641   2C3CCAGG8KH648623   Chrysler                        300   DALLAS                TX
52642   2C3CCAGG8KH648637   Chrysler                        300   MILWAUKEE             WI
52643   2C3CCAGG8KH648640   Chrysler                        300   Dallas                TX
52644   2C3CCAGG8KH648654   Chrysler                        300   TAMPA                 US
52645   2C3CCAGG8KH648668   Chrysler                        300   KANSAS CITY           MO
52646   2C3CCAGG8KH648671   Chrysler                        300   DALLAS                TX
52647   2C3CCAGG8KH648685   Chrysler                        300   HOUSTON               TX
52648   2C3CCAGG8KH648699   Chrysler                        300   CHICAGO               IL
52649   2C3CCAGG8KH648704   Chrysler                        300   CLEVELAND             OH
52650   2C3CCAGG8KH648718   Chrysler                        300   TUCSON                AZ
52651   2C3CCAGG8KH648721   Chrysler                        300   INDIANAPOLIS          IN
52652   2C3CCAGG8KH648735   Chrysler                        300   KANSAS CITY           MO
52653   2C3CCAGG8KH648749   Chrysler                        300   DES PLAINES           US
52654   2C3CCAGG8KH648752   Chrysler                        300   INDIANAPOLIS          IN
52655   2C3CCAGG8KH648797   Chrysler                        300   LOS ANGELES           CA
52656   2C3CCAGG8KH648802   Chrysler                        300   ORANGE COUNTY         CA
52657   2C3CCAGG8KH648833   Chrysler                        300   PENSACOLA             FL
52658   2C3CCAGG8KH648847   Chrysler                        300   Atlanta               GA
52659   2C3CCAGG8KH648850   Chrysler                        300   CHARLOTTE             NC
52660   2C3CCAGG8KH648864   Chrysler                        300   ORLANDO               FL
52661   2C3CCAGG8KH648878   Chrysler                        300   STERLING              VA
52662   2C3CCAGG8KH648881   Chrysler                        300   ORLANDO               FL
52663   2C3CCAGG8KH648895   Chrysler                        300   BOSTON                MA
52664   2C3CCAGG8KH648900   Chrysler                        300   CLEVELAND             OH
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52665   2C3CCAGG8KH648914   Chrysler                        300   BLOOMINGTON           IL
52666   2C3CCAGG8KH648928   Chrysler                        300   EL PASO               TX
52667   2C3CCAGG8KH648931   Chrysler                        300   CHICAGO               IL
52668   2C3CCAGG8KH648959   Chrysler                        300   FRESNO                CA
52669   2C3CCAGG8KH648962   Chrysler                        300   ALBUQERQUE            NM
52670   2C3CCAGG8KH648976   Chrysler                        300   WICHITA FALLS         TX
52671   2C3CCAGG8KH648993   Chrysler                        300   FORT MYERS            FL
52672   2C3CCAGG8KH649013   Chrysler                        300   SAN DIEGO             CA
52673   2C3CCAGG8KH649027   Chrysler                        300   DALLAS                TX
52674   2C3CCAGG8KH649030   Chrysler                        300   Atlanta               GA
52675   2C3CCAGG8KH651456   Chrysler                        300   SAN DIEGO             CA
52676   2C3CCAGG8KH651473   Chrysler                        300   SAN JOSE              CA
52677   2C3CCAGG8KH651487   Chrysler                        300   ORLANDO               FL
52678   2C3CCAGG8KH651490   Chrysler                        300   ORLANDO               FL
52679   2C3CCAGG8KH651506   Chrysler                        300   MONROE                NC
52680   2C3CCAGG8KH651523   Chrysler                        300   MIAMI                 FL
52681   2C3CCAGG8KH651537   Chrysler                        300   PHILADELPHIA          PA
52682   2C3CCAGG8KH651540   Chrysler                        300   DENVER                CO
52683   2C3CCAGG8KH651554   Chrysler                        300   AUSTIN                TX
52684   2C3CCAGG8KH651568   Chrysler                        300   DENVER                CO
52685   2C3CCAGG8KH651571   Chrysler                        300   DENVER                CO
52686   2C3CCAGG8KH651585   Chrysler                        300   WEST PALM BEACH       FL
52687   2C3CCAGG8KH654583   Chrysler                        300   DES MOINES            IA
52688   2C3CCAGG8KH654602   Chrysler                        300   HOUSTON               TX
52689   2C3CCAGG8KH655300   Chrysler                        300   NEW BERN              NC
52690   2C3CCAGG8KH656043   Chrysler                        300   FORT LAUDERDALE       FL
52691   2C3CCAGG8KH656057   Chrysler                        300   ALBUQUERQUE           NM
52692   2C3CCAGG8KH659234   Chrysler                        300   NEW ORLEANS           LA
52693   2C3CCAGG8KH660755   Chrysler                        300   ORLANDO               FL
52694   2C3CCAGG8KH661193   Chrysler                        300   DETROIT               MI
52695   2C3CCAGG8KH661338   Chrysler                        300   DETROIT               MI
52696   2C3CCAGG8KH663154   Chrysler                        300   HOUSTON               TX
52697   2C3CCAGG8KH676101   Chrysler                        300   MILWAUKEE             WI
52698   2C3CCAGG8LH131596   Chrysler                        300   Sacramento            CA
52699   2C3CCAGG9JH250318   Chrysler                        300   Lake Elsinore         CA
52700   2C3CCAGG9JH267166   Chrysler                        300   Fontana               CA
52701   2C3CCAGG9JH267183   Chrysler                        300   SAN DIEGO             CA
52702   2C3CCAGG9JH267300   Chrysler                        300   LOS ANGELES           CA
52703   2C3CCAGG9JH267412   Chrysler                        300   BURBANK               CA
52704   2C3CCAGG9JH267684   Chrysler                        300   Fontana               CA
52705   2C3CCAGG9JH267815   Chrysler                        300   Norwalk               CA
52706   2C3CCAGG9JH293573   Chrysler                        300   Cleveland             OH
52707   2C3CCAGG9JH300201   Chrysler                        300   Manheim               PA
52708   2C3CCAGG9KH517412   Chrysler                        300   SACRAMENTO            CA
52709   2C3CCAGG9KH517474   Chrysler                        300   Lake Elsinore         CA
52710   2C3CCAGG9KH517488   Chrysler                        300   FULLERTON             CA
52711   2C3CCAGG9KH517491   Chrysler                        300   TRACY                 CA
52712   2C3CCAGG9KH517507   Chrysler                        300   LOS ANGELES           CA
52713   2C3CCAGG9KH529804   Chrysler                        300   SAN JOSE              CA
52714   2C3CCAGG9KH529818   Chrysler                        300   LOS ANGELES           CA
52715   2C3CCAGG9KH531049   Chrysler                        300   ONTARIO               CA
52716   2C3CCAGG9KH531052   Chrysler                        300   SAN FRANCISCO         CA
52717   2C3CCAGG9KH531066   Chrysler                        300   HOUSTON               TX
52718   2C3CCAGG9KH533819   Chrysler                        300   Pasadena              CA
52719   2C3CCAGG9KH533822   Chrysler                        300   Lake Elsinore         CA
52720   2C3CCAGG9KH533836   Chrysler                        300   Euless                TX
52721   2C3CCAGG9KH533853   Chrysler                        300   Riverside             CA
52722   2C3CCAGG9KH536803   Chrysler                        300   LOS ANGELES           CA
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52723   2C3CCAGG9KH536817   Chrysler                        300   PHOENIX               AZ
52724   2C3CCAGG9KH536820   Chrysler                        300   PHOENIX               AZ
52725   2C3CCAGG9KH536834   Chrysler                        300   Greensboro            NC
52726   2C3CCAGG9KH536851   Chrysler                        300   Little Rock           AR
52727   2C3CCAGG9KH539653   Chrysler                        300   Hayward               CA
52728   2C3CCAGG9KH539667   Chrysler                        300   DENVER                CO
52729   2C3CCAGG9KH539670   Chrysler                        300   PHOENIX               AZ
52730   2C3CCAGG9KH539684   Chrysler                        300   LOS ANGELES           CA
52731   2C3CCAGG9KH539698   Chrysler                        300   ONTARIO               CA
52732   2C3CCAGG9KH539703   Chrysler                        300   LOS ANGELES           CA
52733   2C3CCAGG9KH539717   Chrysler                        300   LAS VEGAS             NV
52734   2C3CCAGG9KH539720   Chrysler                        300   PHOENIX               AZ
52735   2C3CCAGG9KH539734   Chrysler                        300   FORT LAUDERDALE       FL
52736   2C3CCAGG9KH539748   Chrysler                        300   SCRANTON              PA
52737   2C3CCAGG9KH539751   Chrysler                        300   PITTSBURGH            PA
52738   2C3CCAGG9KH539801   Chrysler                        300   KENNER                LA
52739   2C3CCAGG9KH539829   Chrysler                        300   ALBANY                GA
52740   2C3CCAGG9KH539832   Chrysler                        300   ORLANDO               FL
52741   2C3CCAGG9KH539846   Chrysler                        300   Phoenix               AZ
52742   2C3CCAGG9KH542603   Chrysler                        300   MILWAUKEE             WI
52743   2C3CCAGG9KH542617   Chrysler                        300   Las Vegas             NV
52744   2C3CCAGG9KH542620   Chrysler                        300   SAN JOSE              CA
52745   2C3CCAGG9KH542648   Chrysler                        300   LOS ANGELES           CA
52746   2C3CCAGG9KH542679   Chrysler                        300   LAS VEGAS             NV
52747   2C3CCAGG9KH542682   Chrysler                        300   Fontana               CA
52748   2C3CCAGG9KH542696   Chrysler                        300   PORTLAND              OR
52749   2C3CCAGG9KH542701   Chrysler                        300   SAN DIEGO             CA
52750   2C3CCAGG9KH542715   Chrysler                        300   TRACY                 CA
52751   2C3CCAGG9KH542729   Chrysler                        300   SAN FRANCISCO         CA
52752   2C3CCAGG9KH542732   Chrysler                        300   KNOXVILLE             TN
52753   2C3CCAGG9KH542746   Chrysler                        300   LAS VEGAS             NV
52754   2C3CCAGG9KH542763   Chrysler                        300   LAS VEGAS             NV
52755   2C3CCAGG9KH542780   Chrysler                        300   Warminster            PA
52756   2C3CCAGG9KH542794   Chrysler                        300   ORANGE COUNTY         CA
52757   2C3CCAGG9KH542813   Chrysler                        300   SAN DIEGO             CA
52758   2C3CCAGG9KH556436   Chrysler                        300   FORT MYERS            FL
52759   2C3CCAGG9KH561488   Chrysler                        300   GROVE CITY            PA
52760   2C3CCAGG9KH569333   Chrysler                        300   OAKLAND               CA
52761   2C3CCAGG9KH569347   Chrysler                        300   DALLAS                TX
52762   2C3CCAGG9KH569350   Chrysler                        300   PHOENIX               AZ
52763   2C3CCAGG9KH569364   Chrysler                        300   LOS ANGELES           CA
52764   2C3CCAGG9KH569719   Chrysler                        300   Fontana               CA
52765   2C3CCAGG9KH569722   Chrysler                        300   SAN DIEGO             CA
52766   2C3CCAGG9KH569753   Chrysler                        300   FRESNO                CA
52767   2C3CCAGG9KH569767   Chrysler                        300   BALTIMORE             MD
52768   2C3CCAGG9KH569770   Chrysler                        300   INGLEWOOD             CA
52769   2C3CCAGG9KH569784   Chrysler                        300   PHILADELPHIA          PA
52770   2C3CCAGG9KH569798   Chrysler                        300   Phoenix               AZ
52771   2C3CCAGG9KH569803   Chrysler                        300   SAN DIEGO             CA
52772   2C3CCAGG9KH569820   Chrysler                        300   SANTA ANA             CA
52773   2C3CCAGG9KH569834   Chrysler                        300   Sacramento            CA
52774   2C3CCAGG9KH586035   Chrysler                        300   Statesville           NC
52775   2C3CCAGG9KH586049   Chrysler                        300   MEDINA                OH
52776   2C3CCAGG9KH586052   Chrysler                        300   GRAND RAPIDS          MI
52777   2C3CCAGG9KH586066   Chrysler                        300   SAINT LOUIS           MO
52778   2C3CCAGG9KH586097   Chrysler                        300   LOS ANGELES           CA
52779   2C3CCAGG9KH586102   Chrysler                        300   STERLING              VA
52780   2C3CCAGG9KH586116   Chrysler                        300   Philadelphia          PA
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52781   2C3CCAGG9KH586147   Chrysler                        300   SAN ANTONIO           TX
52782   2C3CCAGG9KH586150   Chrysler                        300   SAN JOSE              CA
52783   2C3CCAGG9KH586178   Chrysler                        300   SACRAMENTO            CA
52784   2C3CCAGG9KH586195   Chrysler                        300   EL PASO               TX
52785   2C3CCAGG9KH586200   Chrysler                        300   TUCSON                AZ
52786   2C3CCAGG9KH586214   Chrysler                        300   SALT LAKE CITY        UT
52787   2C3CCAGG9KH586245   Chrysler                        300   San Diego             CA
52788   2C3CCAGG9KH586259   Chrysler                        300   PHOENIX               AZ
52789   2C3CCAGG9KH586262   Chrysler                        300   Fresno                CA
52790   2C3CCAGG9KH586276   Chrysler                        300   OAKLAND               CA
52791   2C3CCAGG9KH586293   Chrysler                        300   OAKLAND               CA
52792   2C3CCAGG9KH586309   Chrysler                        300   STERLING              VA
52793   2C3CCAGG9KH586312   Chrysler                        300   PITTSBURGH            PA
52794   2C3CCAGG9KH586343   Chrysler                        300   ALBUQERQUE            NM
52795   2C3CCAGG9KH586357   Chrysler                        300   CHICAGO               IL
52796   2C3CCAGG9KH586360   Chrysler                        300   LITTLE ROCK           AR
52797   2C3CCAGG9KH586388   Chrysler                        300   Portland              OR
52798   2C3CCAGG9KH586391   Chrysler                        300   LAS VEGAS             NV
52799   2C3CCAGG9KH586407   Chrysler                        300   MOBILE                A
52800   2C3CCAGG9KH586410   Chrysler                        300   SAINT LOUIS           MO
52801   2C3CCAGG9KH586438   Chrysler                        300   CHICAGO               IL
52802   2C3CCAGG9KH586441   Chrysler                        300   Schaumburg            IL
52803   2C3CCAGG9KH586455   Chrysler                        300   DES MOINES            IA
52804   2C3CCAGG9KH586469   Chrysler                        300   DES MOINES            IA
52805   2C3CCAGG9KH610608   Chrysler                        300   BURLINGAME            CA
52806   2C3CCAGG9KH610611   Chrysler                        300   SALT LAKE CITY        US
52807   2C3CCAGG9KH610639   Chrysler                        300   ST PAUL               MN
52808   2C3CCAGG9KH610642   Chrysler                        300   SEATAC                WA
52809   2C3CCAGG9KH610656   Chrysler                        300   TAMPA                 FL
52810   2C3CCAGG9KH610673   Chrysler                        300   DALLAS                TX
52811   2C3CCAGG9KH610690   Chrysler                        300   CHARLOTTE             NC
52812   2C3CCAGG9KH610706   Chrysler                        300   DETROIT               MI
52813   2C3CCAGG9KH610723   Chrysler                        300   NEWARK                NJ
52814   2C3CCAGG9KH610737   Chrysler                        300   ATLANTA               GA
52815   2C3CCAGG9KH610740   Chrysler                        300   WARWICK               RI
52816   2C3CCAGG9KH610754   Chrysler                        300   STATE COLLEGE         PA
52817   2C3CCAGG9KH610768   Chrysler                        300   PHILADELPHIA          PA
52818   2C3CCAGG9KH610771   Chrysler                        300   KENNER                LA
52819   2C3CCAGG9KH610785   Chrysler                        300   KANSAS CITY           US
52820   2C3CCAGG9KH610799   Chrysler                        300   LOUISVILLE            KY
52821   2C3CCAGG9KH610804   Chrysler                        300   MILWAUKEE             WI
52822   2C3CCAGG9KH610818   Chrysler                        300   LOUISVILLE            KY
52823   2C3CCAGG9KH610821   Chrysler                        300   SAN ANTONIO           TX
52824   2C3CCAGG9KH631474   Chrysler                        300   LAS VEGAS             NV
52825   2C3CCAGG9KH631491   Chrysler                        300   BURBANK               CA
52826   2C3CCAGG9KH631507   Chrysler                        300   SAN JOSE              CA
52827   2C3CCAGG9KH631510   Chrysler                        300   DETROIT               MI
52828   2C3CCAGG9KH632074   Chrysler                        300   INGLEWOOD             CA
52829   2C3CCAGG9KH632088   Chrysler                        300   CHARLOTTE             NC
52830   2C3CCAGG9KH632091   Chrysler                        300   Slidell               LA
52831   2C3CCAGG9KH632107   Chrysler                        300   BIRMINGHAM            AL
52832   2C3CCAGG9KH632110   Chrysler                        300   Greensboro            NC
52833   2C3CCAGG9KH632124   Chrysler                        300   PHILADELPHIA          PA
52834   2C3CCAGG9KH632138   Chrysler                        300   Atlanta               GA
52835   2C3CCAGG9KH632141   Chrysler                        300   NORFOLK               VA
52836   2C3CCAGG9KH632155   Chrysler                        300   SALT LAKE CITY        UT
52837   2C3CCAGG9KH632169   Chrysler                        300   PITTSBURGH            PA
52838   2C3CCAGG9KH632172   Chrysler                        300   GYPSUM                CO
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52839   2C3CCAGG9KH632186   Chrysler                        300   INDIANAPOLIS          IN
52840   2C3CCAGG9KH634424   Chrysler                        300   WARWICK               RI
52841   2C3CCAGG9KH634438   Chrysler                        300   WEST COLUMBIA         SC
52842   2C3CCAGG9KH634441   Chrysler                        300   MECHANICSBURG         PA
52843   2C3CCAGG9KH635167   Chrysler                        300   ROCHESTER             NY
52844   2C3CCAGG9KH635170   Chrysler                        300   DETROIT               MI
52845   2C3CCAGG9KH635184   Chrysler                        300   DETROIT               MI
52846   2C3CCAGG9KH635198   Chrysler                        300   Atlanta               GA
52847   2C3CCAGG9KH635203   Chrysler                        300   DETROIT               MI
52848   2C3CCAGG9KH648405   Chrysler                        300   BURBANK               CA
52849   2C3CCAGG9KH648419   Chrysler                        300   SAN FRANCISCO         CA
52850   2C3CCAGG9KH648422   Chrysler                        300   BURBANK               CA
52851   2C3CCAGG9KH648436   Chrysler                        300   PHOENIX               AZ
52852   2C3CCAGG9KH648453   Chrysler                        300   LOS ANGELES           CA
52853   2C3CCAGG9KH648467   Chrysler                        300   LAS VEGAS             NV
52854   2C3CCAGG9KH648470   Chrysler                        300   PHOENIX               AZ
52855   2C3CCAGG9KH648484   Chrysler                        300   FRESNO                CA
52856   2C3CCAGG9KH648498   Chrysler                        300   GRAND RAPIDS          MI
52857   2C3CCAGG9KH648503   Chrysler                        300   CHICAGO               IL
52858   2C3CCAGG9KH648517   Chrysler                        300   ORLANDO               FL
52859   2C3CCAGG9KH648520   Chrysler                        300   DETROIT               MI
52860   2C3CCAGG9KH648534   Chrysler                        300   GRAND RAPIDS          MI
52861   2C3CCAGG9KH648548   Chrysler                        300   CHICAGO O'HARE AP     IL
52862   2C3CCAGG9KH648551   Chrysler                        300   PITTSBURGH            PA
52863   2C3CCAGG9KH648565   Chrysler                        300   DENVER                CO
52864   2C3CCAGG9KH648579   Chrysler                        300   DENVER                CO
52865   2C3CCAGG9KH648582   Chrysler                        300   Florissant            MO
52866   2C3CCAGG9KH648596   Chrysler                        300   HOUSTON               TX
52867   2C3CCAGG9KH648601   Chrysler                        300   Houston               TX
52868   2C3CCAGG9KH648629   Chrysler                        300   DES PLAINES           US
52869   2C3CCAGG9KH648632   Chrysler                        300   BIRMINGHAN            AL
52870   2C3CCAGG9KH648646   Chrysler                        300   HOUSTON               TX
52871   2C3CCAGG9KH648663   Chrysler                        300   PHILADELPHIA          PA
52872   2C3CCAGG9KH648677   Chrysler                        300   WILLISTON             ND
52873   2C3CCAGG9KH648680   Chrysler                        300   Irving                TX
52874   2C3CCAGG9KH648694   Chrysler                        300   CHICAGO               IL
52875   2C3CCAGG9KH648713   Chrysler                        300   FAYETTEVILLE          NC
52876   2C3CCAGG9KH648727   Chrysler                        300   HOUSTON               TX
52877   2C3CCAGG9KH648730   Chrysler                        300   NEWARK                NJ
52878   2C3CCAGG9KH648744   Chrysler                        300   DAYTON                OH
52879   2C3CCAGG9KH648758   Chrysler                        300   DETROIT               MI
52880   2C3CCAGG9KH648761   Chrysler                        300   CHICAGO               IL
52881   2C3CCAGG9KH648775   Chrysler                        300   CHICAGO               IL
52882   2C3CCAGG9KH648792   Chrysler                        300   SAN DIEGO             CA
52883   2C3CCAGG9KH648808   Chrysler                        300   SALT LAKE CITY        US
52884   2C3CCAGG9KH648811   Chrysler                        300   LAS VEGAS             NV
52885   2C3CCAGG9KH648825   Chrysler                        300   SANTA ANA             CA
52886   2C3CCAGG9KH648839   Chrysler                        300   FORT LAUDERDALE       FL
52887   2C3CCAGG9KH648842   Chrysler                        300   albuquerque           nm
52888   2C3CCAGG9KH648856   Chrysler                        300   DENVER                CO
52889   2C3CCAGG9KH648873   Chrysler                        300   JACKSONVILLE          FL
52890   2C3CCAGG9KH648887   Chrysler                        300   CHICAGO               IL
52891   2C3CCAGG9KH648890   Chrysler                        300   PHOENIX               AZ
52892   2C3CCAGG9KH648906   Chrysler                        300   NEW BERN              NC
52893   2C3CCAGG9KH648923   Chrysler                        300   DETROIT               MI
52894   2C3CCAGG9KH648937   Chrysler                        300   CHICAGO               IL
52895   2C3CCAGG9KH648940   Chrysler                        300   GRAND RAPIDS          MI
52896   2C3CCAGG9KH648954   Chrysler                        300   WEST COLUMBIA         SC
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52897   2C3CCAGG9KH648968   Chrysler                        300   Orlando               FL
52898   2C3CCAGG9KH648971   Chrysler                        300   SAN ANTONIO           TX
52899   2C3CCAGG9KH648985   Chrysler                        300   SAN ANTONIO           TX
52900   2C3CCAGG9KH648999   Chrysler                        300   DES MOINES            IA
52901   2C3CCAGG9KH649005   Chrysler                        300   ROY                   UT
52902   2C3CCAGG9KH649019   Chrysler                        300   CHICAGO               IL
52903   2C3CCAGG9KH649022   Chrysler                        300   DES MOINES            IA
52904   2C3CCAGG9KH649036   Chrysler                        300   WICHITA FALLS         TX
52905   2C3CCAGG9KH651465   Chrysler                        300   PHOENIX               AZ
52906   2C3CCAGG9KH651479   Chrysler                        300   SACRAMENTO            CA
52907   2C3CCAGG9KH651482   Chrysler                        300   PORTLAND              OR
52908   2C3CCAGG9KH651496   Chrysler                        300   SARASOTA              FL
52909   2C3CCAGG9KH651501   Chrysler                        300   FORT LAUDERDALE       FL
52910   2C3CCAGG9KH651515   Chrysler                        300   WEST PALM BEACH       FL
52911   2C3CCAGG9KH651529   Chrysler                        300   Miami                 FL
52912   2C3CCAGG9KH651532   Chrysler                        300   FORT LAUDERDALE       FL
52913   2C3CCAGG9KH651546   Chrysler                        300   SALT LAKE CITY        UT
52914   2C3CCAGG9KH651563   Chrysler                        300   DENVER                CO
52915   2C3CCAGG9KH651577   Chrysler                        300   DENVER                CO
52916   2C3CCAGG9KH651580   Chrysler                        300   DENVER                CO
52917   2C3CCAGG9KH651594   Chrysler                        300   ORLANDO               FL
52918   2C3CCAGG9KH654575   Chrysler                        300   NEWARK                NJ
52919   2C3CCAGG9KH654592   Chrysler                        300   BURBANK               CA
52920   2C3CCAGG9KH654608   Chrysler                        300   HOUSTON               TX
52921   2C3CCAGG9KH654611   Chrysler                        300   Atlanta               GA
52922   2C3CCAGG9KH655306   Chrysler                        300   DENVER                CO
52923   2C3CCAGG9KH656049   Chrysler                        300   GRAND RAPIDS          MI
52924   2C3CCAGG9KH656052   Chrysler                        300   CHAMBERSBURG          PA
52925   2C3CCAGG9KH659226   Chrysler                        300   BALTIMORE             MD
52926   2C3CCAGG9KH659243   Chrysler                        300   COSTA MESA            CA
52927   2C3CCAGG9KH663938   Chrysler                        300   SAINT PAUL            MN
52928   2C3CCAGG9KH663941   Chrysler                        300   BROOKLYN              NY
52929   2C3CCAGG9KH665544   Chrysler                        300   AUSTIN                TX
52930   2C3CCAGGXJH240798   Chrysler                        300   Anaheim               CA
52931   2C3CCAGGXJH250313   Chrysler                        300   LOS ANGELES           CA
52932   2C3CCAGGXJH250330   Chrysler                        300   Torrance              CA
52933   2C3CCAGGXJH250358   Chrysler                        300   RENO                  NV
52934   2C3CCAGGXJH267175   Chrysler                        300   Stockton              CA
52935   2C3CCAGGXJH267399   Chrysler                        300   Tolleson              AZ
52936   2C3CCAGGXJH267421   Chrysler                        300   SACRAMENTO            CA
52937   2C3CCAGGXJH267693   Chrysler                        300   SAN DIEGO             CA
52938   2C3CCAGGXJH267709   Chrysler                        300   Fontana               CA
52939   2C3CCAGGXJH267788   Chrysler                        300   BURBANK               CA
52940   2C3CCAGGXJH267869   Chrysler                        300   Hebron                KY
52941   2C3CCAGGXJH276037   Chrysler                        300   Woodhaven             MI
52942   2C3CCAGGXJH293565   Chrysler                        300   SAINT LOUIS           MO
52943   2C3CCAGGXKH517421   Chrysler                        300   FRESNO                CA
52944   2C3CCAGGXKH517435   Chrysler                        300   SAN FRANCISCO         CA
52945   2C3CCAGGXKH517449   Chrysler                        300   Bensalem              PA
52946   2C3CCAGGXKH517452   Chrysler                        300   BURBANK               CA
52947   2C3CCAGGXKH517466   Chrysler                        300   LAS VEGAS             NV
52948   2C3CCAGGXKH517497   Chrysler                        300   BURBANK               CA
52949   2C3CCAGGXKH529813   Chrysler                        300   ORANGE COUNTY         CA
52950   2C3CCAGGXKH531058   Chrysler                        300   LOS ANGELES           CA
52951   2C3CCAGGXKH531061   Chrysler                        300   Tolleson              AZ
52952   2C3CCAGGXKH533814   Chrysler                        300   Stockton              CA
52953   2C3CCAGGXKH533828   Chrysler                        300   PENSACOLA             FL
52954   2C3CCAGGXKH533831   Chrysler                        300   PHOENIX               AZ
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52955   2C3CCAGGXKH533845   Chrysler                        300   PHOENIX               AZ
52956   2C3CCAGGXKH536809   Chrysler                        300   Santa Clara           CA
52957   2C3CCAGGXKH536812   Chrysler                        300   PHOENIX               AZ
52958   2C3CCAGGXKH536857   Chrysler                        300   ATLANTA               GA
52959   2C3CCAGGXKH539659   Chrysler                        300   SEATAC                WA
52960   2C3CCAGGXKH539662   Chrysler                        300   LAS VEGAS             NV
52961   2C3CCAGGXKH539693   Chrysler                        300   KANSAS CITY           MO
52962   2C3CCAGGXKH539712   Chrysler                        300   Fontana               CA
52963   2C3CCAGGXKH539726   Chrysler                        300   INGLEWOOD             CA
52964   2C3CCAGGXKH539743   Chrysler                        300   CHARLOTTE             NC
52965   2C3CCAGGXKH539757   Chrysler                        300   FORT LAUDERDALE       FL
52966   2C3CCAGGXKH539807   Chrysler                        300   FORT LAUDERDALE       FL
52967   2C3CCAGGXKH539824   Chrysler                        300   KNOXVILLE             TN
52968   2C3CCAGGXKH539838   Chrysler                        300   MIAMI                 FL
52969   2C3CCAGGXKH539841   Chrysler                        300   Atlanta               GA
52970   2C3CCAGGXKH542609   Chrysler                        300   Davie                 FL
52971   2C3CCAGGXKH542612   Chrysler                        300   ORLANDO               FL
52972   2C3CCAGGXKH542626   Chrysler                        300   Memphis               TN
52973   2C3CCAGGXKH542643   Chrysler                        300   Phoenix               AZ
52974   2C3CCAGGXKH542657   Chrysler                        300   Fontana               CA
52975   2C3CCAGGXKH542660   Chrysler                        300   ONTARIO               CA
52976   2C3CCAGGXKH542674   Chrysler                        300   LOS ANGELES           CA
52977   2C3CCAGGXKH542688   Chrysler                        300   SANTA ANA             CA
52978   2C3CCAGGXKH542691   Chrysler                        300   PORTLAND              OR
52979   2C3CCAGGXKH542724   Chrysler                        300   FRESNO                CA
52980   2C3CCAGGXKH542738   Chrysler                        300   CLEVELAND             OH
52981   2C3CCAGGXKH542741   Chrysler                        300   Roseville             CA
52982   2C3CCAGGXKH542755   Chrysler                        300   BURBANK               CA
52983   2C3CCAGGXKH542769   Chrysler                        300   SACRAMENTO            CA
52984   2C3CCAGGXKH542772   Chrysler                        300   EL SEGUNDO            CA
52985   2C3CCAGGXKH542805   Chrysler                        300   SEATTLE               WA
52986   2C3CCAGGXKH556445   Chrysler                        300   New York              NY
52987   2C3CCAGGXKH561483   Chrysler                        300   FORT LAUDERDALE       FL
52988   2C3CCAGGXKH569339   Chrysler                        300   OMAHA                 NE
52989   2C3CCAGGXKH569342   Chrysler                        300   ONTARIO               CA
52990   2C3CCAGGXKH569731   Chrysler                        300   PORTLAND              OR
52991   2C3CCAGGXKH569759   Chrysler                        300   Sacramento            CA
52992   2C3CCAGGXKH569762   Chrysler                        300   MEDINA                OH
52993   2C3CCAGGXKH569776   Chrysler                        300   SANTA ANA             CA
52994   2C3CCAGGXKH569793   Chrysler                        300   LOS ANGELES           CA
52995   2C3CCAGGXKH569809   Chrysler                        300   Hayward               CA
52996   2C3CCAGGXKH569812   Chrysler                        300   SAN DIEGO             CA
52997   2C3CCAGGXKH569826   Chrysler                        300   LAS VEGAS             NV
52998   2C3CCAGGXKH586061   Chrysler                        300   PHILADELPHIA          PA
52999   2C3CCAGGXKH586075   Chrysler                        300   MILWAUKEE AIRPORT     WI
53000   2C3CCAGGXKH586092   Chrysler                        300   ALEXANDRIA            VA
53001   2C3CCAGGXKH586108   Chrysler                        300   Memphis               TN
53002   2C3CCAGGXKH586142   Chrysler                        300   FORT LAUDERDALE       FL
53003   2C3CCAGGXKH586156   Chrysler                        300   SALT LAKE CITY        US
53004   2C3CCAGGXKH586173   Chrysler                        300   LOS ANGELES           CA
53005   2C3CCAGGXKH586187   Chrysler                        300   PHOENIX               AZ
53006   2C3CCAGGXKH586190   Chrysler                        300   PHOENIX               AZ
53007   2C3CCAGGXKH586206   Chrysler                        300   SAN FRANCISCO         CA
53008   2C3CCAGGXKH586223   Chrysler                        300   OMAHA                 NE
53009   2C3CCAGGXKH586254   Chrysler                        300   LOS ANGELES           CA
53010   2C3CCAGGXKH586268   Chrysler                        300   RENO                  NV
53011   2C3CCAGGXKH586299   Chrysler                        300   LOS ANGELES           CA
53012   2C3CCAGGXKH586304   Chrysler                        300   Grove City            OH
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53013   2C3CCAGGXKH586318   Chrysler                        300   KENNER                LA
53014   2C3CCAGGXKH586321   Chrysler                        300   CHICAGO               IL
53015   2C3CCAGGXKH586335   Chrysler                        300   MILWAUKEE             WI
53016   2C3CCAGGXKH586352   Chrysler                        300   Hebron                KY
53017   2C3CCAGGXKH586366   Chrysler                        300   DETROIT               MI
53018   2C3CCAGGXKH586397   Chrysler                        300   KANSAS CITY           MO
53019   2C3CCAGGXKH586416   Chrysler                        300   COLUMBUS              OH
53020   2C3CCAGGXKH610603   Chrysler                        300   LOS ANGELES           CA
53021   2C3CCAGGXKH610617   Chrysler                        300   SEATAC                WA
53022   2C3CCAGGXKH610620   Chrysler                        300   LOS ANGELES           CA
53023   2C3CCAGGXKH610634   Chrysler                        300   RENO                  NV
53024   2C3CCAGGXKH610648   Chrysler                        300   LOS ANGELES           CA
53025   2C3CCAGGXKH610651   Chrysler                        300   TUCSON                AZ
53026   2C3CCAGGXKH610665   Chrysler                        300   NEWARK                NJ
53027   2C3CCAGGXKH610679   Chrysler                        300   Cedar Rapids          IA
53028   2C3CCAGGXKH610696   Chrysler                        300   CHICAGO               IL
53029   2C3CCAGGXKH610701   Chrysler                        300   Detroit               MI
53030   2C3CCAGGXKH610715   Chrysler                        300   ORLANDO               FL
53031   2C3CCAGGXKH610729   Chrysler                        300   KANSAS CITY           MO
53032   2C3CCAGGXKH610732   Chrysler                        300   PORTLAND              ME
53033   2C3CCAGGXKH610746   Chrysler                        300   WESTLAKE              OH
53034   2C3CCAGGXKH610763   Chrysler                        300   PHILADELPHIA          PA
53035   2C3CCAGGXKH610777   Chrysler                        300   NEWARK                NJ
53036   2C3CCAGGXKH610780   Chrysler                        300   DALLAS                TX
53037   2C3CCAGGXKH610794   Chrysler                        300   GRAND RAPIDS          MI
53038   2C3CCAGGXKH610813   Chrysler                        300   NEWARK                NJ
53039   2C3CCAGGXKH610827   Chrysler                        300   Des Moines            IA
53040   2C3CCAGGXKH631483   Chrysler                        300   PORTLAND              OR
53041   2C3CCAGGXKH631497   Chrysler                        300   PHOENIX               AZ
53042   2C3CCAGGXKH631502   Chrysler                        300   NEWARK                NJ
53043   2C3CCAGGXKH631516   Chrysler                        300   RONKONKOMA            NY
53044   2C3CCAGGXKH632083   Chrysler                        300   LAS VEGAS             NV
53045   2C3CCAGGXKH632097   Chrysler                        300   FORT LAUDERDALE       FL
53046   2C3CCAGGXKH632102   Chrysler                        300   BALTIMORE             MD
53047   2C3CCAGGXKH632116   Chrysler                        300   CHARLESTON            SC
53048   2C3CCAGGXKH632133   Chrysler                        300   SARASOTA              FL
53049   2C3CCAGGXKH632147   Chrysler                        300   CHICAGO               IL
53050   2C3CCAGGXKH632150   Chrysler                        300   NEW BERN              NC
53051   2C3CCAGGXKH632164   Chrysler                        300   NORTH HILLS           CA
53052   2C3CCAGGXKH632181   Chrysler                        300   DENVER                CO
53053   2C3CCAGGXKH634433   Chrysler                        300   PITTSBURGH            PA
53054   2C3CCAGGXKH634447   Chrysler                        300   STERLING              VA
53055   2C3CCAGGXKH635176   Chrysler                        300   ORANGE COUNTY         CA
53056   2C3CCAGGXKH635209   Chrysler                        300   Atlanta               GA
53057   2C3CCAGGXKH635212   Chrysler                        300   MEMPHIS               TN
53058   2C3CCAGGXKH648400   Chrysler                        300   KENNER                LA
53059   2C3CCAGGXKH648414   Chrysler                        300   LOS ANGELES           CA
53060   2C3CCAGGXKH648428   Chrysler                        300   ALBUQERQUE            NM
53061   2C3CCAGGXKH648431   Chrysler                        300   SANTA ANA             CA
53062   2C3CCAGGXKH648445   Chrysler                        300   LAS VEGAS             NV
53063   2C3CCAGGXKH648459   Chrysler                        300   PORTLAND              OR
53064   2C3CCAGGXKH648462   Chrysler                        300   TUCSON                AZ
53065   2C3CCAGGXKH648476   Chrysler                        300   BURBANK               CA
53066   2C3CCAGGXKH648493   Chrysler                        300   BURBANK               CA
53067   2C3CCAGGXKH648509   Chrysler                        300   JAMAICA               NY
53068   2C3CCAGGXKH648512   Chrysler                        300   CHICAGO               IL
53069   2C3CCAGGXKH648526   Chrysler                        300   MILWAUKEE             WI
53070   2C3CCAGGXKH648543   Chrysler                        300   HARRISBURG            PA
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53071   2C3CCAGGXKH648557   Chrysler                        300   DALLAS                TX
53072   2C3CCAGGXKH648560   Chrysler                        300   DALLAS                TX
53073   2C3CCAGGXKH648574   Chrysler                        300   AMARILLO              US
53074   2C3CCAGGXKH648588   Chrysler                        300   HOUSTON               TX
53075   2C3CCAGGXKH648591   Chrysler                        300   Hebron                KY
53076   2C3CCAGGXKH648607   Chrysler                        300   CHICAGO               IL
53077   2C3CCAGGXKH648610   Chrysler                        300   ORLANDO               FL
53078   2C3CCAGGXKH648624   Chrysler                        300   DENVER                CO
53079   2C3CCAGGXKH648638   Chrysler                        300   HOUSTON               TX
53080   2C3CCAGGXKH648641   Chrysler                        300   KENNER                LA
53081   2C3CCAGGXKH648655   Chrysler                        300   NASHVILLE             TN
53082   2C3CCAGGXKH648669   Chrysler                        300   DALLAS                TX
53083   2C3CCAGGXKH648672   Chrysler                        300   DALLAS                TX
53084   2C3CCAGGXKH648686   Chrysler                        300   DALLAS                TX
53085   2C3CCAGGXKH648705   Chrysler                        300   KNOXVILLE             TN
53086   2C3CCAGGXKH648719   Chrysler                        300   TAMPA                 FL
53087   2C3CCAGGXKH648722   Chrysler                        300   MILWAUKEE             WI
53088   2C3CCAGGXKH648736   Chrysler                        300   CINCINNATI            OH
53089   2C3CCAGGXKH648753   Chrysler                        300   MIAMI                 FL
53090   2C3CCAGGXKH648767   Chrysler                        300   CHICAGO               IL
53091   2C3CCAGGXKH648784   Chrysler                        300   MILWAUKEE             WI
53092   2C3CCAGGXKH648798   Chrysler                        300   ONTARIO               CA
53093   2C3CCAGGXKH648803   Chrysler                        300   DENVER                CO
53094   2C3CCAGGXKH648817   Chrysler                        300   ALBUQERQUE            NM
53095   2C3CCAGGXKH648820   Chrysler                        300   LOS ANGELES           CA
53096   2C3CCAGGXKH648834   Chrysler                        300   FORT MYERS            FL
53097   2C3CCAGGXKH648848   Chrysler                        300   MIAMI                 FL
53098   2C3CCAGGXKH648851   Chrysler                        300   MIAMI                 FL
53099   2C3CCAGGXKH648865   Chrysler                        300   ORLANDO               FL
53100   2C3CCAGGXKH648879   Chrysler                        300   DALLAS                TX
53101   2C3CCAGGXKH648882   Chrysler                        300   Atlanta               GA
53102   2C3CCAGGXKH648896   Chrysler                        300   DETROIT               MI
53103   2C3CCAGGXKH648901   Chrysler                        300   KANSAS CITY           MO
53104   2C3CCAGGXKH648915   Chrysler                        300   DETROIT               MI
53105   2C3CCAGGXKH648929   Chrysler                        300   PHOENIX               AZ
53106   2C3CCAGGXKH648932   Chrysler                        300   ALBUQERQUE            NM
53107   2C3CCAGGXKH648946   Chrysler                        300   HARTFORD              CT
53108   2C3CCAGGXKH648963   Chrysler                        300   HOUSTON               TX
53109   2C3CCAGGXKH648977   Chrysler                        300   HOUSTON               TX
53110   2C3CCAGGXKH648980   Chrysler                        300   SAN ANTONIO           TX
53111   2C3CCAGGXKH648994   Chrysler                        300   DENVER                CO
53112   2C3CCAGGXKH649000   Chrysler                        300   DENVER                CO
53113   2C3CCAGGXKH649028   Chrysler                        300   PORTLAND              OR
53114   2C3CCAGGXKH649031   Chrysler                        300   DENVER                CO
53115   2C3CCAGGXKH651457   Chrysler                        300   SAN FRANCISCO         CA
53116   2C3CCAGGXKH651460   Chrysler                        300   BUFFALO               NY
53117   2C3CCAGGXKH651474   Chrysler                        300   SAN DIEGO             CA
53118   2C3CCAGGXKH651488   Chrysler                        300   NEW BERN              NC
53119   2C3CCAGGXKH651491   Chrysler                        300   JACKSONVILLE          FL
53120   2C3CCAGGXKH651507   Chrysler                        300   ST PAUL               MN
53121   2C3CCAGGXKH651510   Chrysler                        300   MONROE                NC
53122   2C3CCAGGXKH651524   Chrysler                        300   ORLANDO               FL
53123   2C3CCAGGXKH651538   Chrysler                        300   DAYTON                OH
53124   2C3CCAGGXKH651541   Chrysler                        300   DES MOINES            IA
53125   2C3CCAGGXKH651555   Chrysler                        300   SAN DIEGO             CA
53126   2C3CCAGGXKH651569   Chrysler                        300   GREENVILLE            NC
53127   2C3CCAGGXKH651572   Chrysler                        300   LOS ANGELES           CA
53128   2C3CCAGGXKH651586   Chrysler                        300   DENVER                CO
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53129   2C3CCAGGXKH654584   Chrysler                        300   DES MOINES            IA
53130   2C3CCAGGXKH654598   Chrysler                        300   GRAND RAPIDS          MI
53131   2C3CCAGGXKH654603   Chrysler                        300   HOUSTON               TX
53132   2C3CCAGGXKH655301   Chrysler                        300   WICHITA FALLS         TX
53133   2C3CCAGGXKH656044   Chrysler                        300   JACKSONVILLE          FL
53134   2C3CCAGGXKH656058   Chrysler                        300   KANSAS CITY           MO
53135   2C3CCAGGXKH659235   Chrysler                        300   INDIANAPOLIS          IN
53136   2C3CCAGGXKH661194   Chrysler                        300   AUSTIN                TX
53137   2C3CCAGGXKH676102   Chrysler                        300   Portland              ME
53138   2C3CCAGGXKH679453   Chrysler                        300   BLOOMINGTON           IL
53139   2C3CCAGGXLH131566   Chrysler                        300   SAN FRANCISCO         CA
53140   2C3CCAGGXLH131583   Chrysler                        300   SACRAMENTO            CA
53141   2C3CCAGGXLH131602   Chrysler                        300   SACRAMENTO            CA
53142   2C3CCAKG1JH268108   Chrysler                        300   Atlanta               GA
53143   2C3CCAKG1JH300264   Chrysler                        300   STERLING              VA
53144   2C3CCAKG4JH300159   Chrysler                        300   SEATTLE               WA
53145   2C3CCAKG6JH304388   Chrysler                        300   CHARLOTTE             NC
53146   2C3CCAKG7JH300432   Chrysler                        300   Albuquerque           NM
53147   2C3CCAKG8JH296567   Chrysler                        300   Davie                 FL
53148   2C3CCAKG8JH300424   Chrysler                        300   Ocoee                 FL
53149   2C3CCAKG9JH300044   Chrysler                        300   DENVER                CO
53150   2C3CCAKG9JH300089   Chrysler                        300   ATLANTA               GA
53151   2C3CCAKG9JH304353   Chrysler                        300   SAN FRANCISCO         CA
53152   2C3CCAKG9JH304501   Chrysler                        300   Manheim               PA
53153   2C3CCAKGXJH300182   Chrysler                        300   Philadelphia          PA
53154   2C3CCAKGXJH300232   Chrysler                        300   Atlanta               GA
53155   2C3CDXBG0KH636392   Chrysler      CHARGER                 Pittsburgh            PA
53156   2C3CDXBG0KH636490   Chrysler      CHARGER                 CHICAGO               IL
53157   2C3CDXBG0KH636506   Chrysler      CHARGER                 Pensacola             FL
53158   2C3CDXBG0KH636599   Chrysler      CHARGER                 Elgin                 IL
53159   2C3CDXBG0KH639440   Chrysler      CHARGER                 MELROSE PARK          IL
53160   2C3CDXBG0KH643763   Chrysler      CHARGER                 AMARILLO              US
53161   2C3CDXBG0KH655606   Chrysler      CHARGER                 CLEVELAND             OH
53162   2C3CDXBG0KH655654   Chrysler      CHARGER                 Florissant            MO
53163   2C3CDXBG0KH656660   Chrysler      CHARGER                 Florissant            MO
53164   2C3CDXBG1KH636384   Chrysler      CHARGER                 CHICAGO               IL
53165   2C3CDXBG1KH636434   Chrysler      CHARGER                 Chicago               IL
53166   2C3CDXBG1KH636451   Chrysler      CHARGER                 Florissant            MO
53167   2C3CDXBG1KH636479   Chrysler      CHARGER                 CLARKSVILLE           IN
53168   2C3CDXBG1KH636532   Chrysler      CHARGER                 Schaumburg            IL
53169   2C3CDXBG1KH638507   Chrysler      CHARGER                 GRAND RAPIDS          MI
53170   2C3CDXBG1KH640127   Chrysler      CHARGER                 Indianapolis          IN
53171   2C3CDXBG1KH643402   Chrysler      CHARGER                 Ventura               CA
53172   2C3CDXBG1KH643464   Chrysler      CHARGER                 SAN FRANCISCO         CA
53173   2C3CDXBG1KH643478   Chrysler      CHARGER                 SAN JOSE              CA
53174   2C3CDXBG1KH643514   Chrysler      CHARGER                 Sacramento            CA
53175   2C3CDXBG1KH643545   Chrysler      CHARGER                 Elkridge              MD
53176   2C3CDXBG1KH655579   Chrysler      CHARGER                 Atlanta               GA
53177   2C3CDXBG1KH655601   Chrysler      CHARGER                 Elgin                 IL
53178   2C3CDXBG1KH655677   Chrysler      CHARGER                 DALLAS                TX
53179   2C3CDXBG1KH656618   Chrysler      CHARGER                 Bridgeton             MO
53180   2C3CDXBG1KH656666   Chrysler      CHARGER                 ST Paul               MN
53181   2C3CDXBG2KH636460   Chrysler      CHARGER                 INDIANAPOLIS          IN
53182   2C3CDXBG2KH643604   Chrysler      CHARGER                 GLENOLDEN             PA
53183   2C3CDXBG2KH643750   Chrysler      CHARGER                 Medford               NY
53184   2C3CDXBG2KH655591   Chrysler      CHARGER                 BULLHEAD CITY         AZ
53185   2C3CDXBG2KH655624   Chrysler      CHARGER                 San Antonio           TX
53186   2C3CDXBG2KH655655   Chrysler      CHARGER                 Florissant            MO
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53187   2C3CDXBG2KH655686   Chrysler      CHARGER              KNOXVILLE                TN
53188   2C3CDXBG3KH636399   Chrysler      CHARGER              Newark                   NJ
53189   2C3CDXBG3KH636452   Chrysler      CHARGER              BLOOMINGTON              IL
53190   2C3CDXBG3KH636502   Chrysler      CHARGER              Atlanta                  GA
53191   2C3CDXBG3KH636516   Chrysler      CHARGER              Tulsa                    OK
53192   2C3CDXBG3KH636533   Chrysler      CHARGER              Detroit                  MI
53193   2C3CDXBG3KH638492   Chrysler      CHARGER              Miami                    FL
53194   2C3CDXBG3KH643448   Chrysler      CHARGER              Las Vegas                NV
53195   2C3CDXBG3KH643465   Chrysler      CHARGER              LOS ANGELES              CA
53196   2C3CDXBG3KH643532   Chrysler      CHARGER              Ventura                  CA
53197   2C3CDXBG3KH643546   Chrysler      CHARGER              Rockville Centr          NY
53198   2C3CDXBG3KH643689   Chrysler      CHARGER              Coraopolis               PA
53199   2C3CDXBG3KH655602   Chrysler      CHARGER              LOUISVILLE               KY
53200   2C3CDXBG3KH655695   Chrysler      CHARGER              Florissant               MO
53201   2C3CDXBG3KH656684   Chrysler      CHARGER              PHOENIX                  AZ
53202   2C3CDXBG4KH636430   Chrysler      CHARGER              Baltimore                MD
53203   2C3CDXBG4KH636542   Chrysler      CHARGER              CHICAGO                  IL
53204   2C3CDXBG4KH643426   Chrysler      CHARGER              SACRAMENTO               CA
53205   2C3CDXBG4KH643569   Chrysler      CHARGER              Leesburg                 VA
53206   2C3CDXBG4KH655589   Chrysler      CHARGER              ORLANDO                  FL
53207   2C3CDXBG4KH655673   Chrysler      CHARGER              Hamilton                 OH
53208   2C3CDXBG4KH656628   Chrysler      CHARGER              Florissant               MO
53209   2C3CDXBG5KH636467   Chrysler      CHARGER              Coraopolis               PA
53210   2C3CDXBG5KH636503   Chrysler      CHARGER              Hapeville                GA
53211   2C3CDXBG5KH636551   Chrysler      CHARGER              Nashville                TN
53212   2C3CDXBG5KH636601   Chrysler      CHARGER              Columbus                 OH
53213   2C3CDXBG5KH643483   Chrysler      CHARGER              WEST DUNDEE              IL
53214   2C3CDXBG5KH643497   Chrysler      CHARGER              SACRAMENTO               CA
53215   2C3CDXBG5KH643533   Chrysler      CHARGER              Riverside                CA
53216   2C3CDXBG5KH656637   Chrysler      CHARGER              St. Louis                MO
53217   2C3CDXBG5KH656654   Chrysler      CHARGER              HOUSTON                  TX
53218   2C3CDXBG6FH880893   Chrysler      CHARGER              COSTA MESA               CA
53219   2C3CDXBG6KH636350   Chrysler      CHARGER              GRAND RAPIDS             MI
53220   2C3CDXBG6KH636400   Chrysler      CHARGER              Schaumburg               IL
53221   2C3CDXBG6KH636414   Chrysler      CHARGER              Baltimore                MD
53222   2C3CDXBG6KH636462   Chrysler      CHARGER              DETROIT                  MI
53223   2C3CDXBG6KH636512   Chrysler      CHARGER              Lake in the Hil          IL
53224   2C3CDXBG6KH636526   Chrysler      CHARGER              CHAMBLEE                 GA
53225   2C3CDXBG6KH636588   Chrysler      CHARGER              Louisville               KY
53226   2C3CDXBG6KH636607   Chrysler      CHARGER              DFW AIRPORT              TX
53227   2C3CDXBG6KH636610   Chrysler      CHARGER              Lake in the Hil          IL
53228   2C3CDXBG6KH638521   Chrysler      CHARGER              Elkridge                 MD
53229   2C3CDXBG6KH643508   Chrysler      CHARGER              Phoenix                  AZ
53230   2C3CDXBG6KH643654   Chrysler      CHARGER              PHILADELPHIA             PA
53231   2C3CDXBG6KH656680   Chrysler      CHARGER              Atlanta                  GA
53232   2C3CDXBG7KH636406   Chrysler      CHARGER              INDIANAPOLIS             IN
53233   2C3CDXBG7KH636454   Chrysler      CHARGER              Detroit                  MI
53234   2C3CDXBG7KH636468   Chrysler      CHARGER              Greensboro               NC
53235   2C3CDXBG7KH636471   Chrysler      CHARGER              MEDINA                   OH
53236   2C3CDXBG7KH636485   Chrysler      CHARGER              Chicago                  IL
53237   2C3CDXBG7KH636499   Chrysler      CHARGER              DETROIT                  MI
53238   2C3CDXBG7KH638544   Chrysler      CHARGER              FORT MYERS               FL
53239   2C3CDXBG7KH643422   Chrysler      CHARGER              Santa Clara              CA
53240   2C3CDXBG7KH643470   Chrysler      CHARGER              FRESNO                   CA
53241   2C3CDXBG7KH643484   Chrysler      CHARGER              CLOVIS                   CA
53242   2C3CDXBG7KH643498   Chrysler      CHARGER              COSTA MESA               CA
53243   2C3CDXBG7KH643517   Chrysler      CHARGER              S. San Francisc          CA
53244   2C3CDXBG7KH643534   Chrysler      CHARGER              LAS VEGAS                NV
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53245   2C3CDXBG7KH655554   Chrysler      CHARGER              Hapeville                GA
53246   2C3CDXBG7KH655571   Chrysler      CHARGER              Kansas City              KS
53247   2C3CDXBG7KH655666   Chrysler      CHARGER              SAINT PAUL               MN
53248   2C3CDXBG8FH840248   Chrysler      CHARGER              Raleigh                  NC
53249   2C3CDXBG8KH636558   Chrysler      CHARGER              ST Paul                  MN
53250   2C3CDXBG8KH638505   Chrysler      CHARGER              MELROSE PARK             IL
53251   2C3CDXBG8KH638553   Chrysler      CHARGER              Manheim                  PA
53252   2C3CDXBG8KH643414   Chrysler      CHARGER              Ventura                  CA
53253   2C3CDXBG8KH643459   Chrysler      CHARGER              WEST HARTFORD            CT
53254   2C3CDXBG8KH643509   Chrysler      CHARGER              Roseville                CA
53255   2C3CDXBG8KH643588   Chrysler      CHARGER              WEST COLUMBIA            SC
53256   2C3CDXBG8KH655630   Chrysler      CHARGER              Kansas City              MO
53257   2C3CDXBG9KH636357   Chrysler      CHARGER              Salt Lake City           UT
53258   2C3CDXBG9KH636410   Chrysler      CHARGER              Hapeville                GA
53259   2C3CDXBG9KH643468   Chrysler      CHARGER              Riverside                CA
53260   2C3CDXBG9KH643499   Chrysler      CHARGER              SAN FRANCISCO            CA
53261   2C3CDXBG9KH643504   Chrysler      CHARGER              Phoenix                  AZ
53262   2C3CDXBG9KH643521   Chrysler      CHARGER              OAKLAND                  CA
53263   2C3CDXBG9KH643731   Chrysler      CHARGER              Windsor Locks            CT
53264   2C3CDXBG9KH655619   Chrysler      CHARGER              Detroit                  MI
53265   2C3CDXBG9KH656625   Chrysler      CHARGER              Coraopolis               PA
53266   2C3CDXBGXKH636559   Chrysler      CHARGER              MELROSE PARK             IL
53267   2C3CDXBGXKH638487   Chrysler      CHARGER              Baltimore                MD
53268   2C3CDXBGXKH643513   Chrysler      CHARGER              SACRAMENTO               CA
53269   2C3CDXBGXKH643558   Chrysler      CHARGER              GLENOLDEN                PA
53270   2C3CDXBGXKH643589   Chrysler      CHARGER              Cincinnati               OH
53271   2C3CDXBGXKH656620   Chrysler      CHARGER              Tampa                    FL
53272   2C3CDXCT0GH246119   Chrysler      CHARGER              SAINT PAUL               MN
53273   2C3CDXCT0KH584256   Chrysler      CHARGER              SAN FRANCISCO            CA
53274   2C3CDXCT0KH607891   Chrysler      CHARGER              ATLANTA                  GA
53275   2C3CDXCT1KH607530   Chrysler      CHARGER              Slidell                  LA
53276   2C3CDXCT3JH225272   Chrysler      CHARGER              KENNER                   LA
53277   2C3CDXCT3JH242881   Chrysler      CHARGER              LOS ANGELES              CA
53278   2C3CDXCT3JH244310   Chrysler      CHARGER              LAKEWOOD                 WA
53279   2C3CDXCT3KH587927   Chrysler      CHARGER              Las Vegas                NV
53280   2C3CDXCT5KH607790   Chrysler      CHARGER              Kansas City              MO
53281   2C3CDXCT5KH630051   Chrysler      CHARGER              Elgin                    IL
53282   2C3CDXCT5KH652762   Chrysler      CHARGER              Elgin                    IL
53283   2C3CDXCT5KH654978   Chrysler      CHARGER              MILWAUKEE                WI
53284   2C3CDXCT6JH209714   Chrysler      CHARGER              LOS ANGELES              CA
53285   2C3CDXCT6KH643102   Chrysler      CHARGER              PHILADELPHIA             PA
53286   2C3CDXCT6KH643228   Chrysler      CHARGER              ORLANDO                  FL
53287   2C3CDXCT6KH652771   Chrysler      CHARGER              Atlanta                  GA
53288   2C3CDXCT7JH209785   Chrysler      CHARGER              Las Vegas                NV
53289   2C3CDXCT7JH211892   Chrysler      CHARGER              NEWPORT BEACH            CA
53290   2C3CDXCT7JH244343   Chrysler      CHARGER              KNOXVILLE                TN
53291   2C3CDXCT8JH209732   Chrysler      CHARGER              SAN JOSE                 CA
53292   2C3CDXCT8JH237823   Chrysler      CHARGER              Webster                  NY
53293   2C3CDXCT8JH244304   Chrysler      CHARGER              Portland                 OR
53294   2C3CDXCT9JH225308   Chrysler      CHARGER              BIRMINGHAM               AL
53295   2C3CDXCT9JH233148   Chrysler      CHARGER              College Park             GA
53296   2C3CDXCT9JH244280   Chrysler      CHARGER              SACRAMENTO               CA
53297   2C3CDXCTXJH244319   Chrysler      CHARGER              LOS ANGELES              CA
53298   2C3CDXCTXKH587956   Chrysler      CHARGER              N. Las Vegas             NV
53299   2C3CDXHG0KH512405   Chrysler      CHARGER              FORT MYERS               FL
53300   2C3CDXHG0KH512467   Chrysler      CHARGER              N. Palm Beach            FL
53301   2C3CDXHG0KH512517   Chrysler      CHARGER              CHEEKTOWAGA              NY
53302   2C3CDXHG0KH512520   Chrysler      CHARGER              WARWICK                  RI
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53303   2C3CDXHG0KH512596   Chrysler      CHARGER              FORT MYERS               FL
53304   2C3CDXHG0KH512615   Chrysler      CHARGER              Jacksonville             FL
53305   2C3CDXHG0KH512646   Chrysler      CHARGER              BURBANK                  CA
53306   2C3CDXHG0KH512663   Chrysler      CHARGER              PHILADELPHIA             PA
53307   2C3CDXHG0KH512758   Chrysler      CHARGER              ALBUQUERQUE              NM
53308   2C3CDXHG0KH512954   Chrysler      CHARGER              LAS VEGAS                NV
53309   2C3CDXHG0KH512968   Chrysler      CHARGER              Mira Loma                CA
53310   2C3CDXHG0KH512971   Chrysler      CHARGER              LAS VEGAS                NV
53311   2C3CDXHG0KH512985   Chrysler      CHARGER              PHOENIX                  AZ
53312   2C3CDXHG0KH513005   Chrysler      CHARGER              DALLAS                   TX
53313   2C3CDXHG0KH513022   Chrysler      CHARGER              PHOENIX                  AZ
53314   2C3CDXHG0KH513053   Chrysler      CHARGER              Phoenix                  AZ
53315   2C3CDXHG0KH513070   Chrysler      CHARGER              Oklahoma City            OK
53316   2C3CDXHG0KH513098   Chrysler      CHARGER              ALBUQUERQUE              NM
53317   2C3CDXHG0KH566920   Chrysler      CHARGER              CLEVELAND                OH
53318   2C3CDXHG0KH566948   Chrysler      CHARGER              Elkridge                 MD
53319   2C3CDXHG0KH567016   Chrysler      CHARGER              STERLING                 VA
53320   2C3CDXHG0KH567050   Chrysler      CHARGER              Clarksville              IN
53321   2C3CDXHG0KH567064   Chrysler      CHARGER              Smithtown                NY
53322   2C3CDXHG0KH567081   Chrysler      CHARGER              Greensboro               NC
53323   2C3CDXHG0KH567128   Chrysler      CHARGER              Portland                 OR
53324   2C3CDXHG0KH567131   Chrysler      CHARGER              TRACY                    CA
53325   2C3CDXHG0KH567145   Chrysler      CHARGER              Englewood                CO
53326   2C3CDXHG0KH567176   Chrysler      CHARGER              LAS VEGAS                NV
53327   2C3CDXHG0KH567260   Chrysler      CHARGER              SAN DIEGO                CA
53328   2C3CDXHG0KH567274   Chrysler      CHARGER              Scottsdale               AZ
53329   2C3CDXHG0KH567307   Chrysler      CHARGER              Roseville                CA
53330   2C3CDXHG0KH583846   Chrysler      CHARGER              PHILADELPHIA             PA
53331   2C3CDXHG0KH583877   Chrysler      CHARGER              WEST PALM BEACH          FL
53332   2C3CDXHG0KH583961   Chrysler      CHARGER              Winston‐Salem            NC
53333   2C3CDXHG0KH587878   Chrysler      CHARGER              Fresno                   CA
53334   2C3CDXHG0KH591168   Chrysler      CHARGER              LOS ANGELES              CA
53335   2C3CDXHG0KH592272   Chrysler      CHARGER              Detroit                  MI
53336   2C3CDXHG0KH597004   Chrysler      CHARGER              MIAMI                    FL
53337   2C3CDXHG0KH597018   Chrysler      CHARGER              WINTER PARK              FL
53338   2C3CDXHG0KH597035   Chrysler      CHARGER              FORT MYERS               FL
53339   2C3CDXHG0KH597083   Chrysler      CHARGER              JACKSONVILLE             FL
53340   2C3CDXHG0KH597097   Chrysler      CHARGER              MILWAUKEE                WI
53341   2C3CDXHG0KH597102   Chrysler      CHARGER              WEST PALM BEACH          FL
53342   2C3CDXHG0KH597116   Chrysler      CHARGER              ORLANDO                  FL
53343   2C3CDXHG0KH597133   Chrysler      CHARGER              BIRMINGHAN               AL
53344   2C3CDXHG0KH597147   Chrysler      CHARGER              BIRMINGHAM               AL
53345   2C3CDXHG0KH597164   Chrysler      CHARGER              ALBANY                   NY
53346   2C3CDXHG0KH597178   Chrysler      CHARGER              Statesville              NC
53347   2C3CDXHG0KH597181   Chrysler      CHARGER              Florissant               MO
53348   2C3CDXHG0KH597195   Chrysler      CHARGER              Marietta                 GA
53349   2C3CDXHG0KH597200   Chrysler      CHARGER              Atlanta                  GA
53350   2C3CDXHG0KH597214   Chrysler      CHARGER              Warminster               PA
53351   2C3CDXHG0KH597228   Chrysler      CHARGER              Memphis                  TN
53352   2C3CDXHG0KH597245   Chrysler      CHARGER              CHICAGO                  IL
53353   2C3CDXHG0KH597262   Chrysler      CHARGER              Davie                    FL
53354   2C3CDXHG0KH597293   Chrysler      CHARGER              JACKSONVILLE             FL
53355   2C3CDXHG0KH597309   Chrysler      CHARGER              Atlanta                  GA
53356   2C3CDXHG0KH597326   Chrysler      CHARGER              Atlanta                  GA
53357   2C3CDXHG0KH597343   Chrysler      CHARGER              OAKLAND                  CA
53358   2C3CDXHG0KH597357   Chrysler      CHARGER              JACKSON                  MS
53359   2C3CDXHG0KH597360   Chrysler      CHARGER              INDIANAPOLIS             IN
53360   2C3CDXHG0KH597374   Chrysler      CHARGER              Tampa                    FL
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53361   2C3CDXHG0KH597407   Chrysler      CHARGER              INDIANAPOLIS             IN
53362   2C3CDXHG0KH597424   Chrysler      CHARGER              BIRMINGHAM               AL
53363   2C3CDXHG0KH597441   Chrysler      CHARGER              NORFOLK                  VA
53364   2C3CDXHG0KH597455   Chrysler      CHARGER              ATLANTA                  GA
53365   2C3CDXHG0KH607384   Chrysler      CHARGER              ORLANDO                  FL
53366   2C3CDXHG0KH607451   Chrysler      CHARGER              NORFOLK                  VA
53367   2C3CDXHG0KH607921   Chrysler      CHARGER              CHARLOTTE                US
53368   2C3CDXHG1KH512459   Chrysler      CHARGER              Davie                    FL
53369   2C3CDXHG1KH512669   Chrysler      CHARGER              ORLANDO                  FL
53370   2C3CDXHG1KH512672   Chrysler      CHARGER              JACKSONVILLE             FL
53371   2C3CDXHG1KH512770   Chrysler      CHARGER              Albuquerque              NM
53372   2C3CDXHG1KH512851   Chrysler      CHARGER              SOUTHEAST DST OFFC       OK
53373   2C3CDXHG1KH512896   Chrysler      CHARGER              Houston                  TX
53374   2C3CDXHG1KH512994   Chrysler      CHARGER              FULLERTON                CA
53375   2C3CDXHG1KH513014   Chrysler      CHARGER              SAN DIEGO                CA
53376   2C3CDXHG1KH513028   Chrysler      CHARGER              SAN JOSE                 CA
53377   2C3CDXHG1KH541167   Chrysler      CHARGER              Clearwater               FL
53378   2C3CDXHG1KH566893   Chrysler      CHARGER              ATLANTA                  GA
53379   2C3CDXHG1KH566909   Chrysler      CHARGER              RICHMOND                 VA
53380   2C3CDXHG1KH566912   Chrysler      CHARGER              N. Palm Beach            FL
53381   2C3CDXHG1KH566988   Chrysler      CHARGER              Atlanta                  GA
53382   2C3CDXHG1KH567008   Chrysler      CHARGER              NEW BERN                 NC
53383   2C3CDXHG1KH567025   Chrysler      CHARGER              CHARLOTTE                NC
53384   2C3CDXHG1KH567042   Chrysler      CHARGER              CHARLESTON               WV
53385   2C3CDXHG1KH567073   Chrysler      CHARGER              BALTIMORE                MD
53386   2C3CDXHG1KH567087   Chrysler      CHARGER              Statesville              NC
53387   2C3CDXHG1KH567090   Chrysler      CHARGER              BOSTON                   MA
53388   2C3CDXHG1KH567106   Chrysler      CHARGER              Midland                  TX
53389   2C3CDXHG1KH567137   Chrysler      CHARGER              Fresno                   CA
53390   2C3CDXHG1KH567140   Chrysler      CHARGER              PHOENIX                  AZ
53391   2C3CDXHG1KH567199   Chrysler      CHARGER              Phoenix                  AZ
53392   2C3CDXHG1KH567218   Chrysler      CHARGER              ONTARIO, RIVERSIDE       CA
53393   2C3CDXHG1KH567221   Chrysler      CHARGER              Phoenix                  AZ
53394   2C3CDXHG1KH567249   Chrysler      CHARGER              ONTARIO                  CA
53395   2C3CDXHG1KH567283   Chrysler      CHARGER              PHOENIX                  AZ
53396   2C3CDXHG1KH567297   Chrysler      CHARGER              CLOVIS                   CA
53397   2C3CDXHG1KH583855   Chrysler      CHARGER              LOUISVILLE               KY
53398   2C3CDXHG1KH583967   Chrysler      CHARGER              Hendersonville           TN
53399   2C3CDXHG1KH587873   Chrysler      CHARGER              LOS ANGELES              CA
53400   2C3CDXHG1KH592247   Chrysler      CHARGER              New Britain              CT
53401   2C3CDXHG1KH592250   Chrysler      CHARGER              COLUMBUS                 OH
53402   2C3CDXHG1KH592278   Chrysler      CHARGER              Baltimore                MD
53403   2C3CDXHG1KH596976   Chrysler      CHARGER              JACKSONVILLE             FL
53404   2C3CDXHG1KH596993   Chrysler      CHARGER              MIAMI                    FL
53405   2C3CDXHG1KH597013   Chrysler      CHARGER              FORT MYERS               FL
53406   2C3CDXHG1KH597027   Chrysler      CHARGER              ORLANDO                  FL
53407   2C3CDXHG1KH597030   Chrysler      CHARGER              Richmond                 VA
53408   2C3CDXHG1KH597044   Chrysler      CHARGER              ALBANY                   NY
53409   2C3CDXHG1KH597058   Chrysler      CHARGER              SANFORD                  FL
53410   2C3CDXHG1KH597075   Chrysler      CHARGER              Tampa                    FL
53411   2C3CDXHG1KH597092   Chrysler      CHARGER              WEST PALM BEACH          FL
53412   2C3CDXHG1KH597108   Chrysler      CHARGER              WEST COLUMBIA            SC
53413   2C3CDXHG1KH597111   Chrysler      CHARGER              NEW BERN                 NC
53414   2C3CDXHG1KH597139   Chrysler      CHARGER              FAYETTEVILLE             GA
53415   2C3CDXHG1KH597206   Chrysler      CHARGER              Hendersonville           TN
53416   2C3CDXHG1KH597223   Chrysler      CHARGER              DETROIT                  MI
53417   2C3CDXHG1KH597237   Chrysler      CHARGER              JACKSONVILLE             FL
53418   2C3CDXHG1KH597240   Chrysler      CHARGER              BIRMINGHAM               AL
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53419   2C3CDXHG1KH597254   Chrysler      CHARGER              Atlanta                  GA
53420   2C3CDXHG1KH597285   Chrysler      CHARGER              Davie                    FL
53421   2C3CDXHG1KH597299   Chrysler      CHARGER              ORLANDO                  FL
53422   2C3CDXHG1KH597304   Chrysler      CHARGER              FAYETTEVILLE             GA
53423   2C3CDXHG1KH597318   Chrysler      CHARGER              DETROIT                  MI
53424   2C3CDXHG1KH597335   Chrysler      CHARGER              CHICAGO                  IL
53425   2C3CDXHG1KH597349   Chrysler      CHARGER              ATLANTA                  GA
53426   2C3CDXHG1KH597397   Chrysler      CHARGER              Greensboro               NC
53427   2C3CDXHG1KH597416   Chrysler      CHARGER              INDIANAPOLIS             IN
53428   2C3CDXHG1KH597447   Chrysler      CHARGER              BIRMINGHAM               AL
53429   2C3CDXHG1KH597450   Chrysler      CHARGER              SOUTHEAST DST OFFC       OK
53430   2C3CDXHG2KH512437   Chrysler      CHARGER              STERLING                 VA
53431   2C3CDXHG2KH512485   Chrysler      CHARGER              MIAMI                    FL
53432   2C3CDXHG2KH512518   Chrysler      CHARGER              Clearwater               FL
53433   2C3CDXHG2KH512521   Chrysler      CHARGER              PANAMA CITY              FL
53434   2C3CDXHG2KH512549   Chrysler      CHARGER              Davie                    FL
53435   2C3CDXHG2KH512583   Chrysler      CHARGER              N. Palm Beach            FL
53436   2C3CDXHG2KH512650   Chrysler      CHARGER              MIAMI                    FL
53437   2C3CDXHG2KH512714   Chrysler      CHARGER              WEST PALM BEACH          FL
53438   2C3CDXHG2KH512759   Chrysler      CHARGER              LOS ANGELES              CA
53439   2C3CDXHG2KH512776   Chrysler      CHARGER              Houston                  TX
53440   2C3CDXHG2KH512826   Chrysler      CHARGER              Slidell                  LA
53441   2C3CDXHG2KH512986   Chrysler      CHARGER              SEATTLE                  WA
53442   2C3CDXHG2KH513023   Chrysler      CHARGER              LOS ANGELES              CA
53443   2C3CDXHG2KH513037   Chrysler      CHARGER              LOS ANGELES              CA
53444   2C3CDXHG2KH513068   Chrysler      CHARGER              Albuquerque              NM
53445   2C3CDXHG2KH513071   Chrysler      CHARGER              ONTARIO                  CA
53446   2C3CDXHG2KH513085   Chrysler      CHARGER              LAS VEGAS                NV
53447   2C3CDXHG2KH546538   Chrysler      CHARGER              N. Palm Beach            FL
53448   2C3CDXHG2KH566854   Chrysler      CHARGER              DETROIT                  MI
53449   2C3CDXHG2KH566899   Chrysler      CHARGER              TAMPA                    FL
53450   2C3CDXHG2KH566921   Chrysler      CHARGER              ATLANTA                  GA
53451   2C3CDXHG2KH566949   Chrysler      CHARGER              Louisville               KY
53452   2C3CDXHG2KH566952   Chrysler      CHARGER              STERLING                 VA
53453   2C3CDXHG2KH566997   Chrysler      CHARGER              CHARLOTTE                NC
53454   2C3CDXHG2KH567003   Chrysler      CHARGER              Atlanta                  GA
53455   2C3CDXHG2KH567020   Chrysler      CHARGER              ATLANTA                  GA
53456   2C3CDXHG2KH567051   Chrysler      CHARGER              WILMINGTON               NC
53457   2C3CDXHG2KH567065   Chrysler      CHARGER              SOUTHEAST DST OFFC       OK
53458   2C3CDXHG2KH567079   Chrysler      CHARGER              CLEVELAND                OH
53459   2C3CDXHG2KH567115   Chrysler      CHARGER              BURBANK                  CA
53460   2C3CDXHG2KH567132   Chrysler      CHARGER              Riverside                CA
53461   2C3CDXHG2KH567146   Chrysler      CHARGER              Albuquerque              NM
53462   2C3CDXHG2KH567163   Chrysler      CHARGER              ORANGE COUNTY            CA
53463   2C3CDXHG2KH567180   Chrysler      CHARGER              Charlotte                NC
53464   2C3CDXHG2KH567213   Chrysler      CHARGER              Salt Lake City           UT
53465   2C3CDXHG2KH567244   Chrysler      CHARGER              BOSTON                   MA
53466   2C3CDXHG2KH567258   Chrysler      CHARGER              LAS VEGAS                NV
53467   2C3CDXHG2KH567261   Chrysler      CHARGER              San Diego                CA
53468   2C3CDXHG2KH567289   Chrysler      CHARGER              Hayward                  CA
53469   2C3CDXHG2KH583850   Chrysler      CHARGER              Jacksonville             FL
53470   2C3CDXHG2KH583945   Chrysler      CHARGER              BIRMINGHAM               AL
53471   2C3CDXHG2KH583959   Chrysler      CHARGER              Lake in the Hil          IL
53472   2C3CDXHG2KH583962   Chrysler      CHARGER              Atlanta                  GA
53473   2C3CDXHG2KH587882   Chrysler      CHARGER              KENNER                   LA
53474   2C3CDXHG2KH592256   Chrysler      CHARGER              JACKSONVILLE             FL
53475   2C3CDXHG2KH592273   Chrysler      CHARGER              BOSTON                   MA
53476   2C3CDXHG2KH596985   Chrysler      CHARGER              PHILADELPHIA             PA
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53477   2C3CDXHG2KH596999   Chrysler      CHARGER              Tampa                    FL
53478   2C3CDXHG2KH597005   Chrysler      CHARGER              CLEVELAND                OH
53479   2C3CDXHG2KH597019   Chrysler      CHARGER              ATLANTA                  GA
53480   2C3CDXHG2KH597053   Chrysler      CHARGER              WEST PALM BEACH          FL
53481   2C3CDXHG2KH597084   Chrysler      CHARGER              SAVANNAH                 GA
53482   2C3CDXHG2KH597098   Chrysler      CHARGER              BIRMINGHAM               AL
53483   2C3CDXHG2KH597120   Chrysler      CHARGER              WEST PALM BEACH          FL
53484   2C3CDXHG2KH597151   Chrysler      CHARGER              DETROIT                  MI
53485   2C3CDXHG2KH597179   Chrysler      CHARGER              PENSACOLA                FL
53486   2C3CDXHG2KH597182   Chrysler      CHARGER              MEMPHIS                  TN
53487   2C3CDXHG2KH597201   Chrysler      CHARGER              BIRMINGHAM               AL
53488   2C3CDXHG2KH597215   Chrysler      CHARGER              ATLANTA                  GA
53489   2C3CDXHG2KH597229   Chrysler      CHARGER              Jacksonville             FL
53490   2C3CDXHG2KH597232   Chrysler      CHARGER              CHARLOTTE                NC
53491   2C3CDXHG2KH597263   Chrysler      CHARGER              Atlanta                  GA
53492   2C3CDXHG2KH597277   Chrysler      CHARGER              Atlanta                  GA
53493   2C3CDXHG2KH597280   Chrysler      CHARGER              Lubbock                  TX
53494   2C3CDXHG2KH597294   Chrysler      CHARGER              DENHAM SPRINGS           LA
53495   2C3CDXHG2KH597313   Chrysler      CHARGER              CHARLOTTE                NC
53496   2C3CDXHG2KH597327   Chrysler      CHARGER              SOUTHEAST DST OFFC       OK
53497   2C3CDXHG2KH597344   Chrysler      CHARGER              MEMPHIS                  TN
53498   2C3CDXHG2KH597358   Chrysler      CHARGER              KENNER                   LA
53499   2C3CDXHG2KH597361   Chrysler      CHARGER              Morrisville              NC
53500   2C3CDXHG2KH597375   Chrysler      CHARGER              Baltimore                MD
53501   2C3CDXHG2KH597408   Chrysler      CHARGER              SAINT PAUL               MN
53502   2C3CDXHG2KH597411   Chrysler      CHARGER              CLEVELAND                OH
53503   2C3CDXHG2KH597425   Chrysler      CHARGER              Leesburg                 VA
53504   2C3CDXHG2KH597439   Chrysler      CHARGER              Hanover                  MD
53505   2C3CDXHG2KH597442   Chrysler      CHARGER              NEWARK                   NJ
53506   2C3CDXHG2KH608228   Chrysler      CHARGER              FRESNO                   CA
53507   2C3CDXHG3KH512379   Chrysler      CHARGER              ORLANDO                  FL
53508   2C3CDXHG3KH512396   Chrysler      CHARGER              Clarksville              IN
53509   2C3CDXHG3KH512401   Chrysler      CHARGER              KENNER                   LA
53510   2C3CDXHG3KH512477   Chrysler      CHARGER              Tampa                    FL
53511   2C3CDXHG3KH512480   Chrysler      CHARGER              JACKSONVILLE             FL
53512   2C3CDXHG3KH512513   Chrysler      CHARGER              ORLANDO                  FL
53513   2C3CDXHG3KH512527   Chrysler      CHARGER              DETROIT                  MI
53514   2C3CDXHG3KH512558   Chrysler      CHARGER              KENNER                   LA
53515   2C3CDXHG3KH512589   Chrysler      CHARGER              FORT MYERS               FL
53516   2C3CDXHG3KH512642   Chrysler      CHARGER              ATLANTA                  GA
53517   2C3CDXHG3KH512673   Chrysler      CHARGER              WEST PALM BEACH          FL
53518   2C3CDXHG3KH512852   Chrysler      CHARGER              Albuquerque              NM
53519   2C3CDXHG3KH512950   Chrysler      CHARGER              Midland                  TX
53520   2C3CDXHG3KH512964   Chrysler      CHARGER              EL PASO                  TX
53521   2C3CDXHG3KH512981   Chrysler      CHARGER              HANOVER                  MD
53522   2C3CDXHG3KH513029   Chrysler      CHARGER              Denver                   CO
53523   2C3CDXHG3KH513046   Chrysler      CHARGER              San Diego                CA
53524   2C3CDXHG3KH513077   Chrysler      CHARGER              LAS VEGAS                NV
53525   2C3CDXHG3KH513080   Chrysler      CHARGER              Tolleson                 AZ
53526   2C3CDXHG3KH543096   Chrysler      CHARGER              DALLAS                   TX
53527   2C3CDXHG3KH560495   Chrysler      CHARGER              JACKSONVILLE             FL
53528   2C3CDXHG3KH566863   Chrysler      CHARGER              Florissant               MO
53529   2C3CDXHG3KH566877   Chrysler      CHARGER              FORT LAUDERDALE          FL
53530   2C3CDXHG3KH566894   Chrysler      CHARGER              Montgomery               AL
53531   2C3CDXHG3KH566913   Chrysler      CHARGER              WEST PALM BEACH          FL
53532   2C3CDXHG3KH566927   Chrysler      CHARGER              Clearwater               FL
53533   2C3CDXHG3KH566944   Chrysler      CHARGER              HOLLY HILL               FL
53534   2C3CDXHG3KH566958   Chrysler      CHARGER              FORT LAUDERDALE          FL
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53535   2C3CDXHG3KH566975   Chrysler      CHARGER              ORLANDO                  FL
53536   2C3CDXHG3KH566992   Chrysler      CHARGER              BIRMINGHAM               AL
53537   2C3CDXHG3KH567009   Chrysler      CHARGER              MOBILE                   A
53538   2C3CDXHG3KH567026   Chrysler      CHARGER              ATLANTA                  GA
53539   2C3CDXHG3KH567074   Chrysler      CHARGER              BUFFALO                  NY
53540   2C3CDXHG3KH567091   Chrysler      CHARGER              JACKSON                  MS
53541   2C3CDXHG3KH567107   Chrysler      CHARGER              Phoenix                  AZ
53542   2C3CDXHG3KH567169   Chrysler      CHARGER              LAS VEGAS                NV
53543   2C3CDXHG3KH567172   Chrysler      CHARGER              ATLANTA                  GA
53544   2C3CDXHG3KH567222   Chrysler      CHARGER              Scottsdale               AZ
53545   2C3CDXHG3KH567236   Chrysler      CHARGER              Tolleson                 AZ
53546   2C3CDXHG3KH567253   Chrysler      CHARGER              Riverside                CA
53547   2C3CDXHG3KH567267   Chrysler      CHARGER              LOS ANGELES              CA
53548   2C3CDXHG3KH567284   Chrysler      CHARGER              BURBANK                  CA
53549   2C3CDXHG3KH567303   Chrysler      CHARGER              Albuquerque              NM
53550   2C3CDXHG3KH583842   Chrysler      CHARGER              FORT MYERS               FL
53551   2C3CDXHG3KH583856   Chrysler      CHARGER              HANOVER                  MD
53552   2C3CDXHG3KH583873   Chrysler      CHARGER              BIRMINGHAM               AL
53553   2C3CDXHG3KH583890   Chrysler      CHARGER              Houston                  TX
53554   2C3CDXHG3KH583906   Chrysler      CHARGER              Houston                  TX
53555   2C3CDXHG3KH583923   Chrysler      CHARGER              TAMPA                    FL
53556   2C3CDXHG3KH583937   Chrysler      CHARGER              LOUISVILLE               KY
53557   2C3CDXHG3KH583968   Chrysler      CHARGER              COLLEGE PARK             GA
53558   2C3CDXHG3KH587857   Chrysler      CHARGER              Smithtown                NY
53559   2C3CDXHG3KH587860   Chrysler      CHARGER              CARY                     NC
53560   2C3CDXHG3KH587874   Chrysler      CHARGER              Tampa                    FL
53561   2C3CDXHG3KH592248   Chrysler      CHARGER              Cranberry Towns          PA
53562   2C3CDXHG3KH592251   Chrysler      CHARGER              Greensboro               NC
53563   2C3CDXHG3KH592265   Chrysler      CHARGER              HARTFORD                 CT
53564   2C3CDXHG3KH596977   Chrysler      CHARGER              Tampa                    FL
53565   2C3CDXHG3KH596980   Chrysler      CHARGER              SARASOTA                 FL
53566   2C3CDXHG3KH596994   Chrysler      CHARGER              MIAMI                    FL
53567   2C3CDXHG3KH597000   Chrysler      CHARGER              NEWARK                   NJ
53568   2C3CDXHG3KH597014   Chrysler      CHARGER              Hamilton                 OH
53569   2C3CDXHG3KH597028   Chrysler      CHARGER              WEST PALM BEACH          FL
53570   2C3CDXHG3KH597031   Chrysler      CHARGER              STERLING                 VA
53571   2C3CDXHG3KH597045   Chrysler      CHARGER              BOSTON                   MA
53572   2C3CDXHG3KH597059   Chrysler      CHARGER              ATLANTA                  GA
53573   2C3CDXHG3KH597062   Chrysler      CHARGER              FORT LAUDERDALE          FL
53574   2C3CDXHG3KH597109   Chrysler      CHARGER              SOUTHEAST DST OFFC       OK
53575   2C3CDXHG3KH597157   Chrysler      CHARGER              Atlanta                  GA
53576   2C3CDXHG3KH597224   Chrysler      CHARGER              Fairburn                 GA
53577   2C3CDXHG3KH597255   Chrysler      CHARGER              FORT MYERS               FL
53578   2C3CDXHG3KH597269   Chrysler      CHARGER              ORLANDO                  FL
53579   2C3CDXHG3KH597272   Chrysler      CHARGER              ATLANTA                  GA
53580   2C3CDXHG3KH597319   Chrysler      CHARGER              Indianapolis             IN
53581   2C3CDXHG3KH597336   Chrysler      CHARGER              Plainfield               IN
53582   2C3CDXHG3KH597384   Chrysler      CHARGER              STERLING                 VA
53583   2C3CDXHG3KH597417   Chrysler      CHARGER              DETROIT                  MI
53584   2C3CDXHG3KH597448   Chrysler      CHARGER              STERLING                 VA
53585   2C3CDXHG3KH597465   Chrysler      CHARGER              ORLANDO                  FL
53586   2C3CDXHG3KH597823   Chrysler      CHARGER              ORLANDO                  FL
53587   2C3CDXHG3KH639343   Chrysler      CHARGER              NEWARK                   NJ
53588   2C3CDXHG4KH512410   Chrysler      CHARGER              FORT LAUDERDALE          FL
53589   2C3CDXHG4KH512424   Chrysler      CHARGER              Pompano Beach            FL
53590   2C3CDXHG4KH512455   Chrysler      CHARGER              FORT MYERS               FL
53591   2C3CDXHG4KH512469   Chrysler      CHARGER              Manheim                  PA
53592   2C3CDXHG4KH512536   Chrysler      CHARGER              WEST PALM BEACH          FL
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53593   2C3CDXHG4KH512553   Chrysler      CHARGER              FORT MYERS               FL
53594   2C3CDXHG4KH512620   Chrysler      CHARGER              JACKSONVILLE             FL
53595   2C3CDXHG4KH512634   Chrysler      CHARGER              DAYTONA BEACH            FL
53596   2C3CDXHG4KH512651   Chrysler      CHARGER              BRONX                    NY
53597   2C3CDXHG4KH512665   Chrysler      CHARGER              Orlando                  FL
53598   2C3CDXHG4KH512715   Chrysler      CHARGER              PHOENIX                  AZ
53599   2C3CDXHG4KH512889   Chrysler      CHARGER              North Dighton            MA
53600   2C3CDXHG4KH512908   Chrysler      CHARGER              DETROIT                  MI
53601   2C3CDXHG4KH512925   Chrysler      CHARGER              Houston                  TX
53602   2C3CDXHG4KH512956   Chrysler      CHARGER              SAN FRANCISCO            CA
53603   2C3CDXHG4KH512973   Chrysler      CHARGER              LOS ANGELES              CA
53604   2C3CDXHG4KH513038   Chrysler      CHARGER              PHOENIX                  AZ
53605   2C3CDXHG4KH513041   Chrysler      CHARGER              ALBUQUERQUE              NM
53606   2C3CDXHG4KH513055   Chrysler      CHARGER              PLEASANTON               CA
53607   2C3CDXHG4KH513069   Chrysler      CHARGER              Riverside                CA
53608   2C3CDXHG4KH513086   Chrysler      CHARGER              LAS VEGAS                NV
53609   2C3CDXHG4KH543091   Chrysler      CHARGER              INDIANAPOLIS             IN
53610   2C3CDXHG4KH546539   Chrysler      CHARGER              FORT LAUDERDALE          FL
53611   2C3CDXHG4KH566869   Chrysler      CHARGER              SOUTHEAST DST OFFC       OK
53612   2C3CDXHG4KH566872   Chrysler      CHARGER              Orlando                  FL
53613   2C3CDXHG4KH566936   Chrysler      CHARGER              KENNER                   LA
53614   2C3CDXHG4KH566967   Chrysler      CHARGER              ATLANTA                  GA
53615   2C3CDXHG4KH566998   Chrysler      CHARGER              Atlanta                  GA
53616   2C3CDXHG4KH567021   Chrysler      CHARGER              CHICAGO                  IL
53617   2C3CDXHG4KH567052   Chrysler      CHARGER              Warminster               PA
53618   2C3CDXHG4KH567097   Chrysler      CHARGER              SAN DIEGO                CA
53619   2C3CDXHG4KH567102   Chrysler      CHARGER              SAN DIEGO                CA
53620   2C3CDXHG4KH567116   Chrysler      CHARGER              Riverside                CA
53621   2C3CDXHG4KH567133   Chrysler      CHARGER              Colorado Spring          CO
53622   2C3CDXHG4KH567150   Chrysler      CHARGER              PALM SPRINGS             CA
53623   2C3CDXHG4KH567276   Chrysler      CHARGER              Pasadena                 CA
53624   2C3CDXHG4KH567293   Chrysler      CHARGER              Springfield              MO
53625   2C3CDXHG4KH567309   Chrysler      CHARGER              LAS VEGAS                NV
53626   2C3CDXHG4KH583851   Chrysler      CHARGER              Atlanta                  GA
53627   2C3CDXHG4KH583865   Chrysler      CHARGER              Winston‐Salem            NC
53628   2C3CDXHG4KH583882   Chrysler      CHARGER              BIRMINGHAN               AL
53629   2C3CDXHG4KH583915   Chrysler      CHARGER              FORT LAUDERDALE          FL
53630   2C3CDXHG4KH583980   Chrysler      CHARGER              TAMPA                    FL
53631   2C3CDXHG4KH583994   Chrysler      CHARGER              FAYETTEVILLE             GA
53632   2C3CDXHG4KH584000   Chrysler      CHARGER              COLUMBIA                 SC
53633   2C3CDXHG4KH592257   Chrysler      CHARGER              PHILADELPHIA             PA
53634   2C3CDXHG4KH592260   Chrysler      CHARGER              WHITE PLAINS             NY
53635   2C3CDXHG4KH592288   Chrysler      CHARGER              Plainfield               IN
53636   2C3CDXHG4KH596969   Chrysler      CHARGER              ATLANTA                  GA
53637   2C3CDXHG4KH596972   Chrysler      CHARGER              ORLANDO                  FL
53638   2C3CDXHG4KH596986   Chrysler      CHARGER              SARASOTA                 FL
53639   2C3CDXHG4KH597006   Chrysler      CHARGER              MIAMI                    FL
53640   2C3CDXHG4KH597068   Chrysler      CHARGER              ORLANDO                  FL
53641   2C3CDXHG4KH597071   Chrysler      CHARGER              Clearwater               FL
53642   2C3CDXHG4KH597118   Chrysler      CHARGER              Slidell                  LA
53643   2C3CDXHG4KH597121   Chrysler      CHARGER              Austell                  GA
53644   2C3CDXHG4KH597149   Chrysler      CHARGER              Slidell                  LA
53645   2C3CDXHG4KH597183   Chrysler      CHARGER              DETROIT                  MI
53646   2C3CDXHG4KH597202   Chrysler      CHARGER              Atlanta                  GA
53647   2C3CDXHG4KH597216   Chrysler      CHARGER              MIAMI                    FL
53648   2C3CDXHG4KH597247   Chrysler      CHARGER              Baltimore                MD
53649   2C3CDXHG4KH597250   Chrysler      CHARGER              STERLING                 VA
53650   2C3CDXHG4KH597264   Chrysler      CHARGER              SOUTHEAST DST OFFC       OK
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53651   2C3CDXHG4KH597345   Chrysler      CHARGER              Clearwater               FL
53652   2C3CDXHG4KH597362   Chrysler      CHARGER              BIRMINGHAN               AL
53653   2C3CDXHG4KH597376   Chrysler      CHARGER              LOUISVILLE               KY
53654   2C3CDXHG4KH597393   Chrysler      CHARGER              Orlando                  FL
53655   2C3CDXHG4KH597409   Chrysler      CHARGER              SOUTHEAST DST OFFC       OK
53656   2C3CDXHG4KH597426   Chrysler      CHARGER              MIAMI                    FL
53657   2C3CDXHG4KH597443   Chrysler      CHARGER              Rockville Centr          NY
53658   2C3CDXHG4KH597457   Chrysler      CHARGER              STERLING                 VA
53659   2C3CDXHG4KH597460   Chrysler      CHARGER              BOSTON                   MA
53660   2C3CDXHG4KH608067   Chrysler      CHARGER              PHILADELPHIA             PA
53661   2C3CDXHG4KH608098   Chrysler      CHARGER              PHILADELPHIA             PA
53662   2C3CDXHG5GH214262   Chrysler      CHARGER              MILWAUKEE                US
53663   2C3CDXHG5GH265471   Chrysler      CHARGER              Hayward                  CA
53664   2C3CDXHG5KH512397   Chrysler      CHARGER              RICHMOND                 VA
53665   2C3CDXHG5KH512464   Chrysler      CHARGER              Tampa                    FL
53666   2C3CDXHG5KH512495   Chrysler      CHARGER              ORLANDO                  FL
53667   2C3CDXHG5KH512545   Chrysler      CHARGER              FT LAUDERDALE            FL
53668   2C3CDXHG5KH512593   Chrysler      CHARGER              SANFORD                  FL
53669   2C3CDXHG5KH512660   Chrysler      CHARGER              Tampa                    FL
53670   2C3CDXHG5KH512738   Chrysler      CHARGER              HOUSTON                  TX
53671   2C3CDXHG5KH512755   Chrysler      CHARGER              Manheim                  PA
53672   2C3CDXHG5KH512822   Chrysler      CHARGER              TAMPA                    FL
53673   2C3CDXHG5KH512965   Chrysler      CHARGER              Sacramento               CA
53674   2C3CDXHG5KH512979   Chrysler      CHARGER              PHOENIX                  AZ
53675   2C3CDXHG5KH512982   Chrysler      CHARGER              LOS ANGELES              CA
53676   2C3CDXHG5KH512996   Chrysler      CHARGER              TUCSON                   AZ
53677   2C3CDXHG5KH513002   Chrysler      CHARGER              LAS VEGAS                NV
53678   2C3CDXHG5KH513095   Chrysler      CHARGER              SEATTLE                  WA
53679   2C3CDXHG5KH513680   Chrysler      CHARGER              FT LAUDERDALE            FL
53680   2C3CDXHG5KH541172   Chrysler      CHARGER              COSTA MESA               CA
53681   2C3CDXHG5KH566850   Chrysler      CHARGER              LOS ANGELES              CA
53682   2C3CDXHG5KH566895   Chrysler      CHARGER              TAMPA                    FL
53683   2C3CDXHG5KH566959   Chrysler      CHARGER              HANOVER                  MD
53684   2C3CDXHG5KH566962   Chrysler      CHARGER              Baltimore                MD
53685   2C3CDXHG5KH566993   Chrysler      CHARGER              Warminster               PA
53686   2C3CDXHG5KH567013   Chrysler      CHARGER              Atlanta                  GA
53687   2C3CDXHG5KH567027   Chrysler      CHARGER              CHARLOTTE                US
53688   2C3CDXHG5KH567058   Chrysler      CHARGER              LAFAYETTE                LA
53689   2C3CDXHG5KH567092   Chrysler      CHARGER              Indianapolis             IN
53690   2C3CDXHG5KH567108   Chrysler      CHARGER              LAS VEGAS                NV
53691   2C3CDXHG5KH567142   Chrysler      CHARGER              Riverside                CA
53692   2C3CDXHG5KH567173   Chrysler      CHARGER              Sacramento               CA
53693   2C3CDXHG5KH567190   Chrysler      CHARGER              Riverside                CA
53694   2C3CDXHG5KH567206   Chrysler      CHARGER              INGLEWOOD                CA
53695   2C3CDXHG5KH567268   Chrysler      CHARGER              PHOENIX                  AZ
53696   2C3CDXHG5KH583860   Chrysler      CHARGER              Austin                   TX
53697   2C3CDXHG5KH583938   Chrysler      CHARGER              KENNER                   LA
53698   2C3CDXHG5KH583941   Chrysler      CHARGER              Atlanta                  GA
53699   2C3CDXHG5KH583969   Chrysler      CHARGER              RICHMOND                 VA
53700   2C3CDXHG5KH583972   Chrysler      CHARGER              Ft. Myers                FL
53701   2C3CDXHG5KH584006   Chrysler      CHARGER              ORLANDO                  FL
53702   2C3CDXHG5KH587861   Chrysler      CHARGER              Coraopolis               PA
53703   2C3CDXHG5KH592249   Chrysler      CHARGER              WARWICK                  RI
53704   2C3CDXHG5KH592252   Chrysler      CHARGER              Roseville                CA
53705   2C3CDXHG5KH597001   Chrysler      CHARGER              Miami                    FL
53706   2C3CDXHG5KH597029   Chrysler      CHARGER              Atlanta                  GA
53707   2C3CDXHG5KH597046   Chrysler      CHARGER              NEW BERN                 NC
53708   2C3CDXHG5KH597063   Chrysler      CHARGER              Atlanta                  GA
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53709   2C3CDXHG5KH597080   Chrysler      CHARGER              FAYETTEVILLE             GA
53710   2C3CDXHG5KH597127   Chrysler      CHARGER              Warminster               PA
53711   2C3CDXHG5KH597130   Chrysler      CHARGER              Houston                  TX
53712   2C3CDXHG5KH597144   Chrysler      CHARGER              Winter Park              FL
53713   2C3CDXHG5KH597208   Chrysler      CHARGER              Atlanta                  GA
53714   2C3CDXHG5KH597211   Chrysler      CHARGER              Charlotte                NC
53715   2C3CDXHG5KH597225   Chrysler      CHARGER              BIRMINGHAM               AL
53716   2C3CDXHG5KH597239   Chrysler      CHARGER              Atlanta                  GA
53717   2C3CDXHG5KH597242   Chrysler      CHARGER              NASHVILLE                TN
53718   2C3CDXHG5KH597290   Chrysler      CHARGER              CHARLOTTE                NC
53719   2C3CDXHG5KH597306   Chrysler      CHARGER              Statesville              NC
53720   2C3CDXHG5KH597323   Chrysler      CHARGER              LAS VEGAS                NV
53721   2C3CDXHG5KH597368   Chrysler      CHARGER              CHARLOTTE                NC
53722   2C3CDXHG5KH597385   Chrysler      CHARGER              Atlanta                  GA
53723   2C3CDXHG5KH597399   Chrysler      CHARGER              FORT LAUDERDALE          FL
53724   2C3CDXHG5KH597466   Chrysler      CHARGER              DAYTONA BEACH            FL
53725   2C3CDXHG5KH597760   Chrysler      CHARGER              Oklahoma City            OK
53726   2C3CDXHG6FH843866   Chrysler      CHARGER              WINDSOR LOCKS            CT
53727   2C3CDXHG6KH512389   Chrysler      CHARGER              BOSTON                   MA
53728   2C3CDXHG6KH512411   Chrysler      CHARGER              MIAMI                    FL
53729   2C3CDXHG6KH512442   Chrysler      CHARGER              JACKSONVILLE             FL
53730   2C3CDXHG6KH512540   Chrysler      CHARGER              MIAMI                    FL
53731   2C3CDXHG6KH512585   Chrysler      CHARGER              WEST PALM BEACH          FL
53732   2C3CDXHG6KH512599   Chrysler      CHARGER              FORT WALTON              FL
53733   2C3CDXHG6KH512652   Chrysler      CHARGER              ORLANDO                  FL
53734   2C3CDXHG6KH512697   Chrysler      CHARGER              FORT MYERS               FL
53735   2C3CDXHG6KH512716   Chrysler      CHARGER              MIAMI                    FL
53736   2C3CDXHG6KH512764   Chrysler      CHARGER              PHOENIX                  AZ
53737   2C3CDXHG6KH512828   Chrysler      CHARGER              Houston                  TX
53738   2C3CDXHG6KH512893   Chrysler      CHARGER              ALBUQUERQUE              NM
53739   2C3CDXHG6KH512957   Chrysler      CHARGER              SAN DIEGO                US
53740   2C3CDXHG6KH512960   Chrysler      CHARGER              PHOENIX                  AZ
53741   2C3CDXHG6KH512974   Chrysler      CHARGER              LAS VEGAS                NV
53742   2C3CDXHG6KH512991   Chrysler      CHARGER              PHOENIX                  AZ
53743   2C3CDXHG6KH513011   Chrysler      CHARGER              Houston                  TX
53744   2C3CDXHG6KH513039   Chrysler      CHARGER              TUCSON                   AZ
53745   2C3CDXHG6KH513042   Chrysler      CHARGER              Fresno                   CA
53746   2C3CDXHG6KH513056   Chrysler      CHARGER              PHOENIX                  AZ
53747   2C3CDXHG6KH513087   Chrysler      CHARGER              SACRAMENTO               CA
53748   2C3CDXHG6KH513090   Chrysler      CHARGER              Las Vegas                NV
53749   2C3CDXHG6KH543092   Chrysler      CHARGER              SANFORD                  FL
53750   2C3CDXHG6KH566890   Chrysler      CHARGER              Tampa                    FL
53751   2C3CDXHG6KH566906   Chrysler      CHARGER              MIAMI                    FL
53752   2C3CDXHG6KH566968   Chrysler      CHARGER              RALEIGH                  NC
53753   2C3CDXHG6KH566999   Chrysler      CHARGER              Stone Mountain           GA
53754   2C3CDXHG6KH567005   Chrysler      CHARGER              Atlanta                  GA
53755   2C3CDXHG6KH567022   Chrysler      CHARGER              Manheim                  PA
53756   2C3CDXHG6KH567036   Chrysler      CHARGER              BALTIMORE                MD
53757   2C3CDXHG6KH567070   Chrysler      CHARGER              Tampa                    FL
53758   2C3CDXHG6KH567098   Chrysler      CHARGER              NORWALK                  CA
53759   2C3CDXHG6KH567165   Chrysler      CHARGER              SAN DIEGO                CA
53760   2C3CDXHG6KH567179   Chrysler      CHARGER              Phoenix                  AZ
53761   2C3CDXHG6KH567182   Chrysler      CHARGER              Scottsdale               AZ
53762   2C3CDXHG6KH567196   Chrysler      CHARGER              Hayward                  CA
53763   2C3CDXHG6KH567215   Chrysler      CHARGER              LOS ANGELES              CA
53764   2C3CDXHG6KH567229   Chrysler      CHARGER              SAN JOSE                 CA
53765   2C3CDXHG6KH567263   Chrysler      CHARGER              MOBILE                   A
53766   2C3CDXHG6KH567277   Chrysler      CHARGER              Las Vegas                NV
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53767   2C3CDXHG6KH567280   Chrysler      CHARGER              SAN DIEGO                CA
53768   2C3CDXHG6KH567294   Chrysler      CHARGER              Fontana                  CA
53769   2C3CDXHG6KH583849   Chrysler      CHARGER              JACKSONVILLE             FL
53770   2C3CDXHG6KH583852   Chrysler      CHARGER              JACKSON                  MS
53771   2C3CDXHG6KH583978   Chrysler      CHARGER              DES PLAINES              US
53772   2C3CDXHG6KH587867   Chrysler      CHARGER              Kenner                   LA
53773   2C3CDXHG6KH592258   Chrysler      CHARGER              Brooklyn                 NY
53774   2C3CDXHG6KH592261   Chrysler      CHARGER              CLARKSVILLE              IN
53775   2C3CDXHG6KH596973   Chrysler      CHARGER              DES MOINES               IA
53776   2C3CDXHG6KH596990   Chrysler      CHARGER              Sarasota                 FL
53777   2C3CDXHG6KH597007   Chrysler      CHARGER              TAMPA                    FL
53778   2C3CDXHG6KH597024   Chrysler      CHARGER              FORT LAUDERDALE          FL
53779   2C3CDXHG6KH597069   Chrysler      CHARGER              ORLANDO                  FL
53780   2C3CDXHG6KH597086   Chrysler      CHARGER              FORT MYERS               FL
53781   2C3CDXHG6KH597105   Chrysler      CHARGER              FT. LAUDERDALE           FL
53782   2C3CDXHG6KH597136   Chrysler      CHARGER              Dallas                   TX
53783   2C3CDXHG6KH597170   Chrysler      CHARGER              DETROIT                  MI
53784   2C3CDXHG6KH597184   Chrysler      CHARGER              Birmingham               AL
53785   2C3CDXHG6KH597198   Chrysler      CHARGER              PENSACOLA                FL
53786   2C3CDXHG6KH597203   Chrysler      CHARGER              Atlanta                  GA
53787   2C3CDXHG6KH597217   Chrysler      CHARGER              MARIETTA                 GA
53788   2C3CDXHG6KH597234   Chrysler      CHARGER              Davie                    FL
53789   2C3CDXHG6KH597248   Chrysler      CHARGER              FAYETTEVILLE             GA
53790   2C3CDXHG6KH597279   Chrysler      CHARGER              St. Louis                MO
53791   2C3CDXHG6KH597282   Chrysler      CHARGER              ATLANTA                  GA
53792   2C3CDXHG6KH597296   Chrysler      CHARGER              Atlanta                  GA
53793   2C3CDXHG6KH597301   Chrysler      CHARGER              SOUTHEAST DST OFFC       OK
53794   2C3CDXHG6KH597315   Chrysler      CHARGER              Winston‐Salem            NC
53795   2C3CDXHG6KH597346   Chrysler      CHARGER              Nashville                TN
53796   2C3CDXHG6KH597377   Chrysler      CHARGER              STERLING                 VA
53797   2C3CDXHG6KH597380   Chrysler      CHARGER              NASHVILLE                TN
53798   2C3CDXHG6KH597394   Chrysler      CHARGER              NASHVILLE                TN
53799   2C3CDXHG6KH597413   Chrysler      CHARGER              ORLANDO                  FL
53800   2C3CDXHG6KH597427   Chrysler      CHARGER              NEWARK                   NJ
53801   2C3CDXHG6KH597444   Chrysler      CHARGER              Hattiesburg              MS
53802   2C3CDXHG6KH597458   Chrysler      CHARGER              Richmond                 VA
53803   2C3CDXHG6KH608023   Chrysler      CHARGER              WEST PALM BEACH          FL
53804   2C3CDXHG7KH512384   Chrysler      CHARGER              LOS ANGELES              CA
53805   2C3CDXHG7KH512417   Chrysler      CHARGER              NEW BERN                 NC
53806   2C3CDXHG7KH512451   Chrysler      CHARGER              TAMPA                    FL
53807   2C3CDXHG7KH512465   Chrysler      CHARGER              Dania                    FL
53808   2C3CDXHG7KH512501   Chrysler      CHARGER              Tampa                    FL
53809   2C3CDXHG7KH512529   Chrysler      CHARGER              Orlando                  FL
53810   2C3CDXHG7KH512532   Chrysler      CHARGER              DAYTONA BEACH            FL
53811   2C3CDXHG7KH512580   Chrysler      CHARGER              MYRTLE BEACH             SC
53812   2C3CDXHG7KH512725   Chrysler      CHARGER              CHICAGO                  IL
53813   2C3CDXHG7KH512756   Chrysler      CHARGER              LONE TREE                CO
53814   2C3CDXHG7KH512806   Chrysler      CHARGER              ATLANTA                  GA
53815   2C3CDXHG7KH512983   Chrysler      CHARGER              Mira Loma                CA
53816   2C3CDXHG7KH512997   Chrysler      CHARGER              San Diego                CA
53817   2C3CDXHG7KH513017   Chrysler      CHARGER              Tolleson                 AZ
53818   2C3CDXHG7KH513051   Chrysler      CHARGER              Roseville                CA
53819   2C3CDXHG7KH566848   Chrysler      CHARGER              Bridgeton                MO
53820   2C3CDXHG7KH566865   Chrysler      CHARGER              Davie                    FL
53821   2C3CDXHG7KH566879   Chrysler      CHARGER              FT LAUDERDALE            FL
53822   2C3CDXHG7KH566896   Chrysler      CHARGER              ORLANDO                  FL
53823   2C3CDXHG7KH566901   Chrysler      CHARGER              Miami                    FL
53824   2C3CDXHG7KH566977   Chrysler      CHARGER              LOS ANGELES              CA
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53825   2C3CDXHG7KH567014   Chrysler      CHARGER              RALEIGH                  NC
53826   2C3CDXHG7KH567028   Chrysler      CHARGER              TAMPA                    FL
53827   2C3CDXHG7KH567031   Chrysler      CHARGER              Hartford                 CT
53828   2C3CDXHG7KH567045   Chrysler      CHARGER              NORFOLK                  VA
53829   2C3CDXHG7KH567062   Chrysler      CHARGER              BOSTON                   MA
53830   2C3CDXHG7KH567112   Chrysler      CHARGER              Riverside                CA
53831   2C3CDXHG7KH567143   Chrysler      CHARGER              LAS VEGAS                NV
53832   2C3CDXHG7KH567160   Chrysler      CHARGER              GRAND RAPIDS             MI
53833   2C3CDXHG7KH567174   Chrysler      CHARGER              GREEN BAY                WI
53834   2C3CDXHG7KH567188   Chrysler      CHARGER              North Dighton            MA
53835   2C3CDXHG7KH567207   Chrysler      CHARGER              Costa Mesa               CA
53836   2C3CDXHG7KH567210   Chrysler      CHARGER              Portland                 OR
53837   2C3CDXHG7KH567224   Chrysler      CHARGER              Phoenix                  AZ
53838   2C3CDXHG7KH567241   Chrysler      CHARGER              Hayward                  CA
53839   2C3CDXHG7KH567272   Chrysler      CHARGER              Scottsdale               AZ
53840   2C3CDXHG7KH567286   Chrysler      CHARGER              Tolleson                 AZ
53841   2C3CDXHG7KH583844   Chrysler      CHARGER              MEMPHIS                  TN
53842   2C3CDXHG7KH583861   Chrysler      CHARGER              FORT MYERS               FL
53843   2C3CDXHG7KH583889   Chrysler      CHARGER              HOUSTON                  TX
53844   2C3CDXHG7KH583892   Chrysler      CHARGER              Charlotte                NC
53845   2C3CDXHG7KH583908   Chrysler      CHARGER              Florissant               MO
53846   2C3CDXHG7KH583939   Chrysler      CHARGER              KENNER                   LA
53847   2C3CDXHG7KH583956   Chrysler      CHARGER              STERLING                 VA
53848   2C3CDXHG7KH584010   Chrysler      CHARGER              Elkridge                 MD
53849   2C3CDXHG7KH587859   Chrysler      CHARGER              SAVANNAH                 GA
53850   2C3CDXHG7KH587862   Chrysler      CHARGER              Coraopolis               PA
53851   2C3CDXHG7KH592267   Chrysler      CHARGER              PITTSBURGH               PA
53852   2C3CDXHG7KH596979   Chrysler      CHARGER              FORT LAUDERDALE          FL
53853   2C3CDXHG7KH596982   Chrysler      CHARGER              KNOXVILLE                TN
53854   2C3CDXHG7KH596996   Chrysler      CHARGER              SAVANNAH                 GA
53855   2C3CDXHG7KH597002   Chrysler      CHARGER              TAMPA                    FL
53856   2C3CDXHG7KH597016   Chrysler      CHARGER              FORT MYERS               FL
53857   2C3CDXHG7KH597033   Chrysler      CHARGER              Winter Park              FL
53858   2C3CDXHG7KH597047   Chrysler      CHARGER              ORLANDO                  FL
53859   2C3CDXHG7KH597064   Chrysler      CHARGER              Dallas                   TX
53860   2C3CDXHG7KH597078   Chrysler      CHARGER              WHITE PLAINS             NY
53861   2C3CDXHG7KH597081   Chrysler      CHARGER              ATLANTA                  GA
53862   2C3CDXHG7KH597095   Chrysler      CHARGER              Florence                 MS
53863   2C3CDXHG7KH597100   Chrysler      CHARGER              JACKSONVILLE             FL
53864   2C3CDXHG7KH597114   Chrysler      CHARGER              PENSACOLA                FL
53865   2C3CDXHG7KH597159   Chrysler      CHARGER              OMAHA                    NE
53866   2C3CDXHG7KH597176   Chrysler      CHARGER              Nashville                TN
53867   2C3CDXHG7KH597193   Chrysler      CHARGER              Stone Mountain           GA
53868   2C3CDXHG7KH597226   Chrysler      CHARGER              ATLANTA                  GA
53869   2C3CDXHG7KH597243   Chrysler      CHARGER              DALLAS                   TX
53870   2C3CDXHG7KH597274   Chrysler      CHARGER              Atlanta                  GA
53871   2C3CDXHG7KH597307   Chrysler      CHARGER              HANOVER                  MD
53872   2C3CDXHG7KH597324   Chrysler      CHARGER              GRAND RAPIDS             MI
53873   2C3CDXHG7KH597341   Chrysler      CHARGER              Hendersonville           TN
53874   2C3CDXHG7KH597369   Chrysler      CHARGER              WEST PALM BEACH          FL
53875   2C3CDXHG7KH597405   Chrysler      CHARGER              Statesville              NC
53876   2C3CDXHG7KH597419   Chrysler      CHARGER              CLEVELAND                OH
53877   2C3CDXHG7KH597422   Chrysler      CHARGER              Medford                  NY
53878   2C3CDXHG7KH597453   Chrysler      CHARGER              Carleton                 MI
53879   2C3CDXHG7KH597467   Chrysler      CHARGER              Atlanta                  GA
53880   2C3CDXHG7KH597727   Chrysler      CHARGER              SAN FRANCISCO            CA
53881   2C3CDXHG7KH608001   Chrysler      CHARGER              AUGUSTA                  GA
53882   2C3CDXHG7KH608029   Chrysler      CHARGER              Hartford                 CT
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53883   2C3CDXHG8KH512393   Chrysler      CHARGER              WEST PALM BEACH          FL
53884   2C3CDXHG8KH512457   Chrysler      CHARGER              Atlanta                  GA
53885   2C3CDXHG8KH512474   Chrysler      CHARGER              WEST PALM BEACH          FL
53886   2C3CDXHG8KH512491   Chrysler      CHARGER              FORT MYERS               FL
53887   2C3CDXHG8KH512507   Chrysler      CHARGER              Davie                    FL
53888   2C3CDXHG8KH512538   Chrysler      CHARGER              JACKSONVILLE             FL
53889   2C3CDXHG8KH512569   Chrysler      CHARGER              WEST PALM BEACH          FL
53890   2C3CDXHG8KH512653   Chrysler      CHARGER              ORLANDO                  FL
53891   2C3CDXHG8KH512796   Chrysler      CHARGER              LITTLE ROCK              AR
53892   2C3CDXHG8KH512846   Chrysler      CHARGER              ALBUQUERQUE              NM
53893   2C3CDXHG8KH512863   Chrysler      CHARGER              Riverside                CA
53894   2C3CDXHG8KH512975   Chrysler      CHARGER              Pheonix                  AZ
53895   2C3CDXHG8KH512989   Chrysler      CHARGER              CLEVELAND                OH
53896   2C3CDXHG8KH512992   Chrysler      CHARGER              EL PASO                  TX
53897   2C3CDXHG8KH513012   Chrysler      CHARGER              Fontana                  CA
53898   2C3CDXHG8KH513026   Chrysler      CHARGER              SOUTH SAN FRANC          CA
53899   2C3CDXHG8KH513043   Chrysler      CHARGER              Phoenix                  AZ
53900   2C3CDXHG8KH513057   Chrysler      CHARGER              LOS ANGELES AP           CA
53901   2C3CDXHG8KH513060   Chrysler      CHARGER              SAN JOSE                 CA
53902   2C3CDXHG8KH513091   Chrysler      CHARGER              BURBANK                  CA
53903   2C3CDXHG8KH566857   Chrysler      CHARGER              DAYTONA BEACH            FL
53904   2C3CDXHG8KH566888   Chrysler      CHARGER              FORT LAUDERDALE          FL
53905   2C3CDXHG8KH566891   Chrysler      CHARGER              BIRMINGHAM               AL
53906   2C3CDXHG8KH566910   Chrysler      CHARGER              JACKSONVILLE             FL
53907   2C3CDXHG8KH566938   Chrysler      CHARGER              DAYTONA BEACH            FL
53908   2C3CDXHG8KH566941   Chrysler      CHARGER              JACKSONVILLE             FL
53909   2C3CDXHG8KH566969   Chrysler      CHARGER              WHITE PLAINS             NY
53910   2C3CDXHG8KH566972   Chrysler      CHARGER              WEST PALM BEACH          FL
53911   2C3CDXHG8KH566986   Chrysler      CHARGER              STERLING                 VA
53912   2C3CDXHG8KH567023   Chrysler      CHARGER              DETROIT                  MI
53913   2C3CDXHG8KH567037   Chrysler      CHARGER              CHATTANOOGA              TN
53914   2C3CDXHG8KH567040   Chrysler      CHARGER              MEDINA                   OH
53915   2C3CDXHG8KH567068   Chrysler      CHARGER              Elkridge                 MD
53916   2C3CDXHG8KH567085   Chrysler      CHARGER              Hartford                 CT
53917   2C3CDXHG8KH567099   Chrysler      CHARGER              Tolleson                 AZ
53918   2C3CDXHG8KH567104   Chrysler      CHARGER              ONTARIO                  CA
53919   2C3CDXHG8KH567118   Chrysler      CHARGER              Costa Mesa               CA
53920   2C3CDXHG8KH567135   Chrysler      CHARGER              ONTARIO                  CA
53921   2C3CDXHG8KH567149   Chrysler      CHARGER              San Diego                CA
53922   2C3CDXHG8KH567183   Chrysler      CHARGER              Hayward                  CA
53923   2C3CDXHG8KH567216   Chrysler      CHARGER              SAN DIEGO                CA
53924   2C3CDXHG8KH567233   Chrysler      CHARGER              SAN JOSE                 CA
53925   2C3CDXHG8KH567250   Chrysler      CHARGER              DES PLAINES              US
53926   2C3CDXHG8KH567278   Chrysler      CHARGER              SACRAMENTO               CA
53927   2C3CDXHG8KH567295   Chrysler      CHARGER              SEATTLE                  WA
53928   2C3CDXHG8KH567300   Chrysler      CHARGER              LOS ANGELES              CA
53929   2C3CDXHG8KH583867   Chrysler      CHARGER              Omaha                    NE
53930   2C3CDXHG8KH583870   Chrysler      CHARGER              NEWNAN                   GA
53931   2C3CDXHG8KH583898   Chrysler      CHARGER              DAYTONA BEACH            FL
53932   2C3CDXHG8KH583965   Chrysler      CHARGER              Slidell                  LA
53933   2C3CDXHG8KH583982   Chrysler      CHARGER              Nashville                TN
53934   2C3CDXHG8KH587854   Chrysler      CHARGER              JACKSON                  MS
53935   2C3CDXHG8KH587868   Chrysler      CHARGER              Atlanta                  GA
53936   2C3CDXHG8KH592262   Chrysler      CHARGER              LOUISVILLE               KY
53937   2C3CDXHG8KH592276   Chrysler      CHARGER              DES PLAINES              US
53938   2C3CDXHG8KH596974   Chrysler      CHARGER              ORLANDO                  FL
53939   2C3CDXHG8KH596991   Chrysler      CHARGER              WEST PALM BEACH          FL
53940   2C3CDXHG8KH597011   Chrysler      CHARGER              Orlando                  FL
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53941   2C3CDXHG8KH597025   Chrysler      CHARGER              MIAMI                    FL
53942   2C3CDXHG8KH597039   Chrysler      CHARGER              Sanford                  FL
53943   2C3CDXHG8KH597042   Chrysler      CHARGER              SAVANNAH                 GA
53944   2C3CDXHG8KH597056   Chrysler      CHARGER              FORT LAUDERDALE          FL
53945   2C3CDXHG8KH597087   Chrysler      CHARGER              DETROIT                  MI
53946   2C3CDXHG8KH597090   Chrysler      CHARGER              INDIANAPOLIS             IN
53947   2C3CDXHG8KH597106   Chrysler      CHARGER              PENSACOLA                FL
53948   2C3CDXHG8KH597140   Chrysler      CHARGER              Denver                   CO
53949   2C3CDXHG8KH597168   Chrysler      CHARGER              Marietta                 GA
53950   2C3CDXHG8KH597185   Chrysler      CHARGER              Houston                  TX
53951   2C3CDXHG8KH597218   Chrysler      CHARGER              COLUMBIA                 SC
53952   2C3CDXHG8KH597235   Chrysler      CHARGER              Atlanta                  GA
53953   2C3CDXHG8KH597249   Chrysler      CHARGER              NEW BERN                 NC
53954   2C3CDXHG8KH597283   Chrysler      CHARGER              Baltimore                MD
53955   2C3CDXHG8KH597297   Chrysler      CHARGER              Stone Mountain           GA
53956   2C3CDXHG8KH597347   Chrysler      CHARGER              MEMPHIS                  TN
53957   2C3CDXHG8KH597350   Chrysler      CHARGER              PENSACOLA                FL
53958   2C3CDXHG8KH597364   Chrysler      CHARGER              STERLING                 VA
53959   2C3CDXHG8KH597395   Chrysler      CHARGER              DETROIT                  MI
53960   2C3CDXHG8KH597400   Chrysler      CHARGER              STERLING                 VA
53961   2C3CDXHG8KH597414   Chrysler      CHARGER              BIRMINGHAM               AL
53962   2C3CDXHG8KH597428   Chrysler      CHARGER              BUFFALO                  NY
53963   2C3CDXHG8KH597431   Chrysler      CHARGER              WATERTOWN                CT
53964   2C3CDXHG8KH597459   Chrysler      CHARGER              CHATTANOOGA              TN
53965   2C3CDXHG8KH597462   Chrysler      CHARGER              Atlanta                  GA
53966   2C3CDXHG8KH608105   Chrysler      CHARGER              FORT MYERS               FL
53967   2C3CDXHG9KH512418   Chrysler      CHARGER              FT LAUDERDALE            FL
53968   2C3CDXHG9KH512466   Chrysler      CHARGER              FT. LAUDERDALE           FL
53969   2C3CDXHG9KH512497   Chrysler      CHARGER              Jacksonville             FL
53970   2C3CDXHG9KH512547   Chrysler      CHARGER              WEST PALM BEACH          FL
53971   2C3CDXHG9KH512595   Chrysler      CHARGER              FORT MYERS               FL
53972   2C3CDXHG9KH512614   Chrysler      CHARGER              FORT MYERS               FL
53973   2C3CDXHG9KH512659   Chrysler      CHARGER              FT LAUDERDALE            FL
53974   2C3CDXHG9KH512693   Chrysler      CHARGER              JACKSONVILLE             FL
53975   2C3CDXHG9KH512709   Chrysler      CHARGER              INDIANAPOLIS             IN
53976   2C3CDXHG9KH512726   Chrysler      CHARGER              ORLANDO                  FL
53977   2C3CDXHG9KH512757   Chrysler      CHARGER              Atlanta                  GA
53978   2C3CDXHG9KH512810   Chrysler      CHARGER              ORLANDO                  FL
53979   2C3CDXHG9KH512905   Chrysler      CHARGER              Schaumburg               IL
53980   2C3CDXHG9KH512936   Chrysler      CHARGER              KENNER                   LA
53981   2C3CDXHG9KH512953   Chrysler      CHARGER              albuquerque              nm
53982   2C3CDXHG9KH512967   Chrysler      CHARGER              LOS ANGELES              CA
53983   2C3CDXHG9KH512970   Chrysler      CHARGER              SAINT PAUL               MN
53984   2C3CDXHG9KH512984   Chrysler      CHARGER              BURBANK                  CA
53985   2C3CDXHG9KH512998   Chrysler      CHARGER              Salt Lake City           UT
53986   2C3CDXHG9KH513018   Chrysler      CHARGER              Phoenix                  AZ
53987   2C3CDXHG9KH513021   Chrysler      CHARGER              Riverside                CA
53988   2C3CDXHG9KH513052   Chrysler      CHARGER              PHOENIX                  AZ
53989   2C3CDXHG9KH513066   Chrysler      CHARGER              Burien                   WA
53990   2C3CDXHG9KH566849   Chrysler      CHARGER              WEST PALM BEACH          FL
53991   2C3CDXHG9KH566852   Chrysler      CHARGER              Statesville              NC
53992   2C3CDXHG9KH566866   Chrysler      CHARGER              Bridgeton                MO
53993   2C3CDXHG9KH566897   Chrysler      CHARGER              Atlanta                  GA
53994   2C3CDXHG9KH566902   Chrysler      CHARGER              PHILADELPHIA             PA
53995   2C3CDXHG9KH566916   Chrysler      CHARGER              COLUMBIA                 SC
53996   2C3CDXHG9KH566964   Chrysler      CHARGER              NORFOLK                  VA
53997   2C3CDXHG9KH566981   Chrysler      CHARGER              STERLING                 US
53998   2C3CDXHG9KH566995   Chrysler      CHARGER              ORLANDO                  FL
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53999   2C3CDXHG9KH567001   Chrysler      CHARGER              Jacksonville             FL
54000   2C3CDXHG9KH567015   Chrysler      CHARGER              Detroit                  MI
54001   2C3CDXHG9KH567046   Chrysler      CHARGER              CHARLESTON               SC
54002   2C3CDXHG9KH567063   Chrysler      CHARGER              ATHENS                   GA
54003   2C3CDXHG9KH567077   Chrysler      CHARGER              BULLHEAD CITY            AZ
54004   2C3CDXHG9KH567144   Chrysler      CHARGER              LAS VEGAS                NV
54005   2C3CDXHG9KH567158   Chrysler      CHARGER              PLEASANTON               CA
54006   2C3CDXHG9KH567175   Chrysler      CHARGER              SACRAMENTO               CA
54007   2C3CDXHG9KH567208   Chrysler      CHARGER              BURBANK                  CA
54008   2C3CDXHG9KH567211   Chrysler      CHARGER              PHOENIX                  AZ
54009   2C3CDXHG9KH567225   Chrysler      CHARGER              Scottsdale               AZ
54010   2C3CDXHG9KH567256   Chrysler      CHARGER              SAN DIEGO                CA
54011   2C3CDXHG9KH583893   Chrysler      CHARGER              NEW ORLEANS              LA
54012   2C3CDXHG9KH583909   Chrysler      CHARGER              Atlanta                  GA
54013   2C3CDXHG9KH583960   Chrysler      CHARGER              Austin                   TX
54014   2C3CDXHG9KH584008   Chrysler      CHARGER              FORT LAUDERDALE          FL
54015   2C3CDXHG9KH587863   Chrysler      CHARGER              DETROIT                  MI
54016   2C3CDXHG9KH592254   Chrysler      CHARGER              Warminster               PA
54017   2C3CDXHG9KH592271   Chrysler      CHARGER              Philadelphia             PA
54018   2C3CDXHG9KH596983   Chrysler      CHARGER              Atlanta                  GA
54019   2C3CDXHG9KH597003   Chrysler      CHARGER              Atlanta                  GA
54020   2C3CDXHG9KH597017   Chrysler      CHARGER              ATLANTA AP               GA
54021   2C3CDXHG9KH597020   Chrysler      CHARGER              Estero                   FL
54022   2C3CDXHG9KH597034   Chrysler      CHARGER              WEST PALM BEACH          FL
54023   2C3CDXHG9KH597065   Chrysler      CHARGER              Atlanta                  GA
54024   2C3CDXHG9KH597079   Chrysler      CHARGER              ORLANDO                  FL
54025   2C3CDXHG9KH597082   Chrysler      CHARGER              FT LAUDERDALE            FL
54026   2C3CDXHG9KH597096   Chrysler      CHARGER              TAMPA                    FL
54027   2C3CDXHG9KH597101   Chrysler      CHARGER              JACKSON                  MS
54028   2C3CDXHG9KH597132   Chrysler      CHARGER              SAINT PAUL               MN
54029   2C3CDXHG9KH597180   Chrysler      CHARGER              CONWAY                   SC
54030   2C3CDXHG9KH597213   Chrysler      CHARGER              NEW BERN                 NC
54031   2C3CDXHG9KH597244   Chrysler      CHARGER              NEW BERN                 NC
54032   2C3CDXHG9KH597261   Chrysler      CHARGER              MIAMI                    FL
54033   2C3CDXHG9KH597275   Chrysler      CHARGER              NASHVILLE                TN
54034   2C3CDXHG9KH597308   Chrysler      CHARGER              JACKSON                  MS
54035   2C3CDXHG9KH597311   Chrysler      CHARGER              MIAMI                    FL
54036   2C3CDXHG9KH597342   Chrysler      CHARGER              DENVER                   CO
54037   2C3CDXHG9KH597356   Chrysler      CHARGER              Charlotte                NC
54038   2C3CDXHG9KH597373   Chrysler      CHARGER              OMAHA                    NE
54039   2C3CDXHG9KH597387   Chrysler      CHARGER              STERLING                 VA
54040   2C3CDXHG9KH597406   Chrysler      CHARGER              BUFFALO                  NY
54041   2C3CDXHG9KH597437   Chrysler      CHARGER              CLEVELAND                OH
54042   2C3CDXHG9KH597454   Chrysler      CHARGER              Tampa                    FL
54043   2C3CDXHG9KH597812   Chrysler      CHARGER              Teterboro                NJ
54044   2C3CDXHG9KH607349   Chrysler      CHARGER              SAINT LOUIS              MO
54045   2C3CDXHG9KH607447   Chrysler      CHARGER              North Billerica          MA
54046   2C3CDXHG9KH607870   Chrysler      CHARGER              PHILADELPHIA             PA
54047   2C3CDXHGXKH512380   Chrysler      CHARGER              SAN JOSE                 CA
54048   2C3CDXHGXKH512444   Chrysler      CHARGER              BIRMINGHAM               AL
54049   2C3CDXHGXKH512458   Chrysler      CHARGER              FORT LAUDERDALE          FL
54050   2C3CDXHGXKH512489   Chrysler      CHARGER              FORT LAUDERDALE          FL
54051   2C3CDXHGXKH512508   Chrysler      CHARGER              Davie                    FL
54052   2C3CDXHGXKH512590   Chrysler      CHARGER              NASHVILLE                TN
54053   2C3CDXHGXKH512623   Chrysler      CHARGER              Rockville Centr          NY
54054   2C3CDXHGXKH512637   Chrysler      CHARGER              ORLANDO                  FL
54055   2C3CDXHGXKH512685   Chrysler      CHARGER              Davie                    FL
54056   2C3CDXHGXKH512721   Chrysler      CHARGER              MIAMI                    FL
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54057   2C3CDXHGXKH512802   Chrysler      CHARGER              COLUMBIA                 SC
54058   2C3CDXHGXKH512816   Chrysler      CHARGER              Euless                   TX
54059   2C3CDXHGXKH512878   Chrysler      CHARGER              Austin                   TX
54060   2C3CDXHGXKH512959   Chrysler      CHARGER              Torrance                 CA
54061   2C3CDXHGXKH513027   Chrysler      CHARGER              Riverside                CA
54062   2C3CDXHGXKH513030   Chrysler      CHARGER              Phoenix                  AZ
54063   2C3CDXHGXKH513058   Chrysler      CHARGER              SAN DIEGO                CA
54064   2C3CDXHGXKH513061   Chrysler      CHARGER              Phoenix                  AZ
54065   2C3CDXHGXKH513089   Chrysler      CHARGER              LOS ANGELES              CA
54066   2C3CDXHGXKH566858   Chrysler      CHARGER              FORT MYERS               FL
54067   2C3CDXHGXKH566892   Chrysler      CHARGER              ORLANDO                  FL
54068   2C3CDXHGXKH566911   Chrysler      CHARGER              Detroit                  MI
54069   2C3CDXHGXKH567007   Chrysler      CHARGER              Coraopolis               PA
54070   2C3CDXHGXKH567024   Chrysler      CHARGER              Atlanta                  GA
54071   2C3CDXHGXKH567041   Chrysler      CHARGER              Manheim                  PA
54072   2C3CDXHGXKH567105   Chrysler      CHARGER              PALM SPRINGS             CA
54073   2C3CDXHGXKH567122   Chrysler      CHARGER              SACRAMENTO               CA
54074   2C3CDXHGXKH567136   Chrysler      CHARGER              PHOENIX                  AZ
54075   2C3CDXHGXKH567153   Chrysler      CHARGER              Scottsdale               AZ
54076   2C3CDXHGXKH567167   Chrysler      CHARGER              TUCSON                   AZ
54077   2C3CDXHGXKH567184   Chrysler      CHARGER              Albuquerque              NM
54078   2C3CDXHGXKH567217   Chrysler      CHARGER              San Diego                CA
54079   2C3CDXHGXKH567234   Chrysler      CHARGER              Denver                   CO
54080   2C3CDXHGXKH567279   Chrysler      CHARGER              Riverside                CA
54081   2C3CDXHGXKH567296   Chrysler      CHARGER              Houston                  TX
54082   2C3CDXHGXKH583899   Chrysler      CHARGER              BOSTON                   MA
54083   2C3CDXHGXKH583918   Chrysler      CHARGER              McAllen                  TX
54084   2C3CDXHGXKH583921   Chrysler      CHARGER              Live Oak                 TX
54085   2C3CDXHGXKH583952   Chrysler      CHARGER              Atlanta                  GA
54086   2C3CDXHGXKH583983   Chrysler      CHARGER              FORT MYERS               FL
54087   2C3CDXHGXKH584003   Chrysler      CHARGER              ORLANDO                  FL
54088   2C3CDXHGXKH587869   Chrysler      CHARGER              Hartford                 CT
54089   2C3CDXHGXKH587872   Chrysler      CHARGER              Pompano Beach            FL
54090   2C3CDXHGXKH592246   Chrysler      CHARGER              PHILADELPHIA             US
54091   2C3CDXHGXKH597043   Chrysler      CHARGER              Jacksonville             FL
54092   2C3CDXHGXKH597057   Chrysler      CHARGER              Bensalem                 PA
54093   2C3CDXHGXKH597060   Chrysler      CHARGER              ORLANDO                  FL
54094   2C3CDXHGXKH597074   Chrysler      CHARGER              SANFORD                  FL
54095   2C3CDXHGXKH597088   Chrysler      CHARGER              WEST PALM BEACH          FL
54096   2C3CDXHGXKH597107   Chrysler      CHARGER              PENSACOLA                FL
54097   2C3CDXHGXKH597138   Chrysler      CHARGER              Harvey                   LA
54098   2C3CDXHGXKH597155   Chrysler      CHARGER              DETROIT                  MI
54099   2C3CDXHGXKH597172   Chrysler      CHARGER              JACKSON                  MS
54100   2C3CDXHGXKH597186   Chrysler      CHARGER              ATLANTA                  GA
54101   2C3CDXHGXKH597205   Chrysler      CHARGER              BURBANK                  CA
54102   2C3CDXHGXKH597219   Chrysler      CHARGER              STERLING                 VA
54103   2C3CDXHGXKH597222   Chrysler      CHARGER              KANSAS CITY              MO
54104   2C3CDXHGXKH597253   Chrysler      CHARGER              WHITE PLAINS             NY
54105   2C3CDXHGXKH597267   Chrysler      CHARGER              ST PAUL                  MN
54106   2C3CDXHGXKH597284   Chrysler      CHARGER              BIRMINGHAM               AL
54107   2C3CDXHGXKH597298   Chrysler      CHARGER              Morrisville              NC
54108   2C3CDXHGXKH597303   Chrysler      CHARGER              SANFORD                  FL
54109   2C3CDXHGXKH597317   Chrysler      CHARGER              GRAND RAPIDS             MI
54110   2C3CDXHGXKH597320   Chrysler      CHARGER              AUGUSTA                  GA
54111   2C3CDXHGXKH597334   Chrysler      CHARGER              STERLING                 VA
54112   2C3CDXHGXKH597379   Chrysler      CHARGER              Florissant               MO
54113   2C3CDXHGXKH597382   Chrysler      CHARGER              Conway                   AR
54114   2C3CDXHGXKH597429   Chrysler      CHARGER              Greensboro               NC
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54115   2C3CDXHGXKH597446   Chrysler      CHARGER              Chicago                  IL
54116   2C3CDXJG0FH919852   Chrysler      CHARGER              Fort Lauderdale          FL
54117   2C3CDZAG0JH259185   Chrysler      CHALLENGER           SANTA ANA                CA
54118   2C3CDZAG1JH259390   Chrysler      CHALLENGER           SALT LAKE CITY           US
54119   2C3CDZAG2JH258832   Chrysler      CHALLENGER           Union City               GA
54120   2C3CDZAG3JH258791   Chrysler      CHALLENGER           Las Vegas                NV
54121   2C3CDZAG4JH258217   Chrysler      CHALLENGER           Mobile                   AL
54122   2C3CDZAG4JH258282   Chrysler      CHALLENGER           NEW BERN                 NC
54123   2C3CDZAG4JH258475   Chrysler      CHALLENGER           Davie                    FL
54124   2C3CDZAG4JH258783   Chrysler      CHALLENGER           Lake Elsinore            CA
54125   2C3CDZAG5JH241359   Chrysler      CHALLENGER           BOSTON                   MA
54126   2C3CDZAG5JH258243   Chrysler      CHALLENGER           CLEVELAND                OH
54127   2C3CDZAG5JH259389   Chrysler      CHALLENGER           SAN FRANCISCO            CA
54128   2C3CDZAG5JH259408   Chrysler      CHALLENGER           PORTLAND                 OR
54129   2C3CDZAG8JH258334   Chrysler      CHALLENGER           SAINT LOUIS              MO
54130   2C3CDZAG8JH258950   Chrysler      CHALLENGER           ONTARIO                  CA
54131   2C3CDZAG9JH258391   Chrysler      CHALLENGER           MIAMI                    FL
54132   2C3CDZAG9JH259282   Chrysler      CHALLENGER           Miami                    FL
54133   2C3CDZAG9JH259430   Chrysler      CHALLENGER           SOUTH SAN FRANC          CA
54134   2C3CDZAGXJH258447   Chrysler      CHALLENGER           ANGOLA                   NY
54135   2C3CDZAGXJH258934   Chrysler      CHALLENGER           LOS ANGELES              CA
54136   2C3CDZBT0KH641293   Chrysler      CHALLENGER           FORT MYERS               FL
54137   2C3CDZBT0KH641326   Chrysler      CHALLENGER           FORT MYERS               FL
54138   2C3CDZBT0KH641391   Chrysler      CHALLENGER           GREENVILLE               NC
54139   2C3CDZBT0KH641407   Chrysler      CHALLENGER           KNOXVILLE                TN
54140   2C3CDZBT0KH641553   Chrysler      CHALLENGER           North Dighton            MA
54141   2C3CDZBT0KH641603   Chrysler      CHALLENGER           ONTARIO                  CA
54142   2C3CDZBT0KH651869   Chrysler      CHALLENGER           DALLAS                   TX
54143   2C3CDZBT0KH651936   Chrysler      CHALLENGER           Elgin                    IL
54144   2C3CDZBT0KH656263   Chrysler      CHALLENGER           SANTA ANA                CA
54145   2C3CDZBT0KH659535   Chrysler      CHALLENGER           LOS ANGELES              CA
54146   2C3CDZBT0KH659552   Chrysler      CHALLENGER           BURBANK                  CA
54147   2C3CDZBT0KH659583   Chrysler      CHALLENGER           SAN JOSE                 CA
54148   2C3CDZBT0KH659616   Chrysler      CHALLENGER           LOS ANGELES              CA
54149   2C3CDZBT0KH660507   Chrysler      CHALLENGER           HOUSTON                  TX
54150   2C3CDZBT0KH660538   Chrysler      CHALLENGER           PHOENIX                  AZ
54151   2C3CDZBT0KH660541   Chrysler      CHALLENGER           SANTA ANA                CA
54152   2C3CDZBT0KH660846   Chrysler      CHALLENGER           LOS ANGELES AP           CA
54153   2C3CDZBT0KH660877   Chrysler      CHALLENGER           LOS ANGELES              CA
54154   2C3CDZBT0KH661270   Chrysler      CHALLENGER           Los Angeles              CA
54155   2C3CDZBT0KH661382   Chrysler      CHALLENGER           LOS ANGELES              CA
54156   2C3CDZBT1JH269302   Chrysler      CHALLENGER           Hayward                  CA
54157   2C3CDZBT1JH279456   Chrysler      CHALLENGER           BIRMINGHAM               AL
54158   2C3CDZBT1KH513290   Chrysler      CHALLENGER           WESTERN DIST OFFC        OK
54159   2C3CDZBT1KH641223   Chrysler      CHALLENGER           Seattle                  WA
54160   2C3CDZBT1KH641285   Chrysler      CHALLENGER           ORLANDO                  FL
54161   2C3CDZBT1KH641321   Chrysler      CHALLENGER           CHARLESTON               SC
54162   2C3CDZBT1KH641352   Chrysler      CHALLENGER           STERLING                 VA
54163   2C3CDZBT1KH641397   Chrysler      CHALLENGER           DALLAS                   TX
54164   2C3CDZBT1KH641433   Chrysler      CHALLENGER           GREENVILLE               NC
54165   2C3CDZBT1KH641464   Chrysler      CHALLENGER           Clearwater               FL
54166   2C3CDZBT1KH641481   Chrysler      CHALLENGER           NEW ORLEANS              LA
54167   2C3CDZBT1KH641500   Chrysler      CHALLENGER           DES MOINES               IA
54168   2C3CDZBT1KH641612   Chrysler      CHALLENGER           Los Angeles              CA
54169   2C3CDZBT1KH651816   Chrysler      CHALLENGER           LOS ANGELES              CA
54170   2C3CDZBT1KH659611   Chrysler      CHALLENGER           LOS ANGELES              CA
54171   2C3CDZBT1KH660547   Chrysler      CHALLENGER           Tolleson                 AZ
54172   2C3CDZBT1KH660855   Chrysler      CHALLENGER           OAKLAND                  CA
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54173   2C3CDZBT1KH660872   Chrysler      CHALLENGER           SAN JOSE                 CA
54174   2C3CDZBT1KH661262   Chrysler      CHALLENGER           BURLINGAME               CA
54175   2C3CDZBT2JH209383   Chrysler      CHALLENGER           FAYETTEVILLE             GA
54176   2C3CDZBT2KH629369   Chrysler      CHALLENGER           Kansas City              MO
54177   2C3CDZBT2KH641151   Chrysler      CHALLENGER           SAN DIEGO                CA
54178   2C3CDZBT2KH641182   Chrysler      CHALLENGER           PORTLAND                 OR
54179   2C3CDZBT2KH641246   Chrysler      CHALLENGER           SEATAC                   WA
54180   2C3CDZBT2KH641490   Chrysler      CHALLENGER           NORFOLK                  VA
54181   2C3CDZBT2KH641621   Chrysler      CHALLENGER           SAN FRANCISCO            CA
54182   2C3CDZBT2KH651887   Chrysler      CHALLENGER           Houston                  TX
54183   2C3CDZBT2KH655339   Chrysler      CHALLENGER           CHICAGO                  IL
54184   2C3CDZBT2KH656250   Chrysler      CHALLENGER           LOS ANGELES              CA
54185   2C3CDZBT2KH659536   Chrysler      CHALLENGER           ONTARIO                  CA
54186   2C3CDZBT2KH659567   Chrysler      CHALLENGER           OAKLAND                  CA
54187   2C3CDZBT2KH659617   Chrysler      CHALLENGER           LOS ANGELES              CA
54188   2C3CDZBT2KH660489   Chrysler      CHALLENGER           LAS VEGAS                NV
54189   2C3CDZBT2KH660542   Chrysler      CHALLENGER           Hayward                  CA
54190   2C3CDZBT2KH660847   Chrysler      CHALLENGER           LOS ANGELES              CA
54191   2C3CDZBT2KH660864   Chrysler      CHALLENGER           ONTARIO                  CA
54192   2C3CDZBT2KH660878   Chrysler      CHALLENGER           OAKLAND                  CA
54193   2C3CDZBT3JH294377   Chrysler      CHALLENGER           FT. LAUDERDALE           FL
54194   2C3CDZBT3KH512027   Chrysler      CHALLENGER           Plainfield               IN
54195   2C3CDZBT3KH512352   Chrysler      CHALLENGER           LOUISVILLE               KY
54196   2C3CDZBT3KH629154   Chrysler      CHALLENGER           LAS VEGAS                NV
54197   2C3CDZBT3KH629316   Chrysler      CHALLENGER           SHREVEPORT               LA
54198   2C3CDZBT3KH641143   Chrysler      CHALLENGER           SAN FRANCISCO            CA
54199   2C3CDZBT3KH641403   Chrysler      CHALLENGER           FAYETTEVILLE             GA
54200   2C3CDZBT3KH641417   Chrysler      CHALLENGER           Dallas                   TX
54201   2C3CDZBT3KH641501   Chrysler      CHALLENGER           Jacksonville             FL
54202   2C3CDZBT3KH641515   Chrysler      CHALLENGER           BALTIMORE                MD
54203   2C3CDZBT3KH641532   Chrysler      CHALLENGER           STERLING                 VA
54204   2C3CDZBT3KH641594   Chrysler      CHALLENGER           PITTSBURGH               PA
54205   2C3CDZBT3KH651865   Chrysler      CHALLENGER           MILWAUKEE                WI
54206   2C3CDZBT3KH655320   Chrysler      CHALLENGER           Cleveland                OH
54207   2C3CDZBT3KH655401   Chrysler      CHALLENGER           Houston                  TX
54208   2C3CDZBT3KH660520   Chrysler      CHALLENGER           EULESS                   TX
54209   2C3CDZBT3KH661246   Chrysler      CHALLENGER           Sacramento               CA
54210   2C3CDZBT4JH241185   Chrysler      CHALLENGER           Elkridge                 MD
54211   2C3CDZBT4KH654838   Chrysler      CHALLENGER           Dallas                   TX
54212   2C3CDZBT4KH654841   Chrysler      CHALLENGER           SANTA ANA                CA
54213   2C3CDZBT4KH655343   Chrysler      CHALLENGER           HOUSTON                  TX
54214   2C3CDZBT4KH659604   Chrysler      CHALLENGER           SAN FRANCISCO            CA
54215   2C3CDZBT4KH660459   Chrysler      CHALLENGER           LOS ANGELES              CA
54216   2C3CDZBT4KH660851   Chrysler      CHALLENGER           ONTARIO                  CA
54217   2C3CDZBT4KH661269   Chrysler      CHALLENGER           LOS ANGELES              CA
54218   2C3CDZBT4KH668531   Chrysler      CHALLENGER           San Diego                CA
54219   2C3CDZBT5JH300809   Chrysler      CHALLENGER           DES PLAINES              IL
54220   2C3CDZBT5JH327296   Chrysler      CHALLENGER           Jamaica                  NY
54221   2C3CDZBT5KH583231   Chrysler      CHALLENGER           CHARLESTON               SC
54222   2C3CDZBT5KH583312   Chrysler      CHALLENGER           PHILADELPHIA             US
54223   2C3CDZBT5KH641497   Chrysler      CHALLENGER           ROANOKE                  VA
54224   2C3CDZBT5KH641516   Chrysler      CHALLENGER           NORFOLK                  VA
54225   2C3CDZBT5KH651821   Chrysler      CHALLENGER           Los Angeles              CA
54226   2C3CDZBT5KH654833   Chrysler      CHALLENGER           SHREVEPORT               LA
54227   2C3CDZBT5KH655349   Chrysler      CHALLENGER           Dallas                   TX
54228   2C3CDZBT5KH655402   Chrysler      CHALLENGER           Dallas                   TX
54229   2C3CDZBT5KH659580   Chrysler      CHALLENGER           LAS VEGAS                NV
54230   2C3CDZBT5KH661278   Chrysler      CHALLENGER           OAKLAND                  CA
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54231   2C3CDZBT6KH513348   Chrysler      CHALLENGER           WEST PALM BEACH          FL
54232   2C3CDZBT6KH513396   Chrysler      CHALLENGER           DENHAM SPRINGS           LA
54233   2C3CDZBT6KH632226   Chrysler      CHALLENGER           Milwaukee                WI
54234   2C3CDZBT6KH641153   Chrysler      CHALLENGER           N. Las Vegas             NV
54235   2C3CDZBT6KH641542   Chrysler      CHALLENGER           WEST COLUMBIA            SC
54236   2C3CDZBT6KH641590   Chrysler      CHALLENGER           CHARLOTTE                NC
54237   2C3CDZBT6KH651813   Chrysler      CHALLENGER           LAS VEGAS                NV
54238   2C3CDZBT6KH651827   Chrysler      CHALLENGER           LOS ANGELES              CA
54239   2C3CDZBT6KH655392   Chrysler      CHALLENGER           Houston                  TX
54240   2C3CDZBT6KH659541   Chrysler      CHALLENGER           SAN DIEGO                CA
54241   2C3CDZBT6KH660513   Chrysler      CHALLENGER           Dallas                   TX
54242   2C3CDZBT6KH660849   Chrysler      CHALLENGER           PALM SPRINGS             CA
54243   2C3CDZBT7JH265450   Chrysler      CHALLENGER           LAS VEGAS                NV
54244   2C3CDZBT7KH511849   Chrysler      CHALLENGER           MARIETTA                 GA
54245   2C3CDZBT7KH511852   Chrysler      CHALLENGER           Chicago                  IL
54246   2C3CDZBT7KH606234   Chrysler      CHALLENGER           Manheim                  PA
54247   2C3CDZBT7KH641145   Chrysler      CHALLENGER           SAN FRANCISCO            CA
54248   2C3CDZBT7KH641212   Chrysler      CHALLENGER           SACRAMENTO               CA
54249   2C3CDZBT7KH641260   Chrysler      CHALLENGER           KENNER                   LA
54250   2C3CDZBT7KH641274   Chrysler      CHALLENGER           DES PLAINES              IL
54251   2C3CDZBT7KH641338   Chrysler      CHALLENGER           Warminster               PA
54252   2C3CDZBT7KH641484   Chrysler      CHALLENGER           Austin                   TX
54253   2C3CDZBT7KH641596   Chrysler      CHALLENGER           NEW BERN                 NC
54254   2C3CDZBT7KH651884   Chrysler      CHALLENGER           SAN FRANCISCO            CA
54255   2C3CDZBT7KH651898   Chrysler      CHALLENGER           LAS VEGAS                NV
54256   2C3CDZBT7KH651934   Chrysler      CHALLENGER           Detroit                  MI
54257   2C3CDZBT7KH654820   Chrysler      CHALLENGER           Des Moines               IA
54258   2C3CDZBT7KH655370   Chrysler      CHALLENGER           Dallas                   TX
54259   2C3CDZBT7KH656261   Chrysler      CHALLENGER           OAKLAND                  CA
54260   2C3CDZBT7KH659547   Chrysler      CHALLENGER           LAS VEGAS                NV
54261   2C3CDZBT7KH659578   Chrysler      CHALLENGER           LOS ANGELES              CA
54262   2C3CDZBT7KH659631   Chrysler      CHALLENGER           LOS ANGELES              CA
54263   2C3CDZBT7KH660438   Chrysler      CHALLENGER           SAN DIEGO                CA
54264   2C3CDZBT7KH660469   Chrysler      CHALLENGER           LOS ANGELES              CA
54265   2C3CDZBT7KH661248   Chrysler      CHALLENGER           SAN RAFAEL               CA
54266   2C3CDZBT7KH661265   Chrysler      CHALLENGER           LAS VEGAS                NV
54267   2C3CDZBT8KH511908   Chrysler      CHALLENGER           Euless                   TX
54268   2C3CDZBT8KH513500   Chrysler      CHALLENGER           SEATTLE                  WA
54269   2C3CDZBT8KH641154   Chrysler      CHALLENGER           ONTARIO                  CA
54270   2C3CDZBT8KH641218   Chrysler      CHALLENGER           Fontana                  CA
54271   2C3CDZBT8KH641350   Chrysler      CHALLENGER           MORRISVILLE              NC
54272   2C3CDZBT8KH641493   Chrysler      CHALLENGER           Florissant               MO
54273   2C3CDZBT8KH641607   Chrysler      CHALLENGER           SAN DIEGO                CA
54274   2C3CDZBT8KH651828   Chrysler      CHALLENGER           LOS ANGELES              CA
54275   2C3CDZBT8KH651831   Chrysler      CHALLENGER           Las Vegas                NV
54276   2C3CDZBT8KH651876   Chrysler      CHALLENGER           Dallas                   TX
54277   2C3CDZBT8KH655314   Chrysler      CHALLENGER           CLEVELAND                OH
54278   2C3CDZBT8KH655393   Chrysler      CHALLENGER           Irving                   TX
54279   2C3CDZBT8KH659606   Chrysler      CHALLENGER           LOS ANGELES              CA
54280   2C3CDZBT8KH660478   Chrysler      CHALLENGER           Ventura                  CA
54281   2C3CDZBT8KH660867   Chrysler      CHALLENGER           Fontana                  CA
54282   2C3CDZBT9JH300604   Chrysler      CHALLENGER           LOS ANGELES              CA
54283   2C3CDZBT9JH300716   Chrysler      CHALLENGER           Norfolk                  VA
54284   2C3CDZBT9KH511951   Chrysler      CHALLENGER           Manheim                  PA
54285   2C3CDZBT9KH641180   Chrysler      CHALLENGER           SACRAMENTO               CA
54286   2C3CDZBT9KH641213   Chrysler      CHALLENGER           LAS VEGAS                NV
54287   2C3CDZBT9KH641289   Chrysler      CHALLENGER           Tampa                    FL
54288   2C3CDZBT9KH641342   Chrysler      CHALLENGER           TAMPA                    US
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54289   2C3CDZBT9KH641521   Chrysler      CHALLENGER           MEBANE                   NC
54290   2C3CDZBT9KH641549   Chrysler      CHALLENGER           HANOVER                  MD
54291   2C3CDZBT9KH651871   Chrysler      CHALLENGER           HOUSTON                  TX
54292   2C3CDZBT9KH654687   Chrysler      CHALLENGER           Portland                 OR
54293   2C3CDZBT9KH659520   Chrysler      CHALLENGER           SANTA ANA                CA
54294   2C3CDZBT9KH659534   Chrysler      CHALLENGER           ONTARIO, RIVERSIDE       CA
54295   2C3CDZBT9KH660506   Chrysler      CHALLENGER           Killeen                  TX
54296   2C3CDZBT9KH660859   Chrysler      CHALLENGER           LOS ANGELES              CA
54297   2C3CDZBTXJH211639   Chrysler      CHALLENGER           Hapeville                GA
54298   2C3CDZBTXJH279486   Chrysler      CHALLENGER           BLOOMINGTON              IL
54299   2C3CDZBTXKH511957   Chrysler      CHALLENGER           Ocoee                    FL
54300   2C3CDZBTXKH512039   Chrysler      CHALLENGER           SOUTHEAST DST OFFC       OK
54301   2C3CDZBTXKH641530   Chrysler      CHALLENGER           PHILADELPHIA             PA
54302   2C3CDZBTXKH641544   Chrysler      CHALLENGER           STERLING                 VA
54303   2C3CDZBTXKH651829   Chrysler      CHALLENGER           SACRAMENTO               CA
54304   2C3CDZBTXKH651832   Chrysler      CHALLENGER           LAS VEGAS                NV
54305   2C3CDZBTXKH655315   Chrysler      CHALLENGER           ST Paul                  MN
54306   2C3CDZBTXKH655377   Chrysler      CHALLENGER           Houston                  TX
54307   2C3CDZBTXKH656254   Chrysler      CHALLENGER           LOS ANGELES              CA
54308   2C3CDZBTXKH659560   Chrysler      CHALLENGER           RENO                     NV
54309   2C3CDZBTXKH659588   Chrysler      CHALLENGER           SACRAMENTO               CA
54310   2C3CDZBTXKH660451   Chrysler      CHALLENGER           SAN DIEGO                CA
54311   2C3CDZBTXKH661258   Chrysler      CHALLENGER           SAN DIEGO                CA
54312   2C3CDZBTXKH661289   Chrysler      CHALLENGER           DALLAS                   TX
54313   2C3CDZFJ3JH209210   Chrysler      CHALLENGER           SACRAMENTO               CA
54314   2C3CDZFJ5JH294373   Chrysler      CHALLENGER           MIAMI                    FL
54315   2C3CDZFJ9JH265362   Chrysler      CHALLENGER           ATLANTA                  GA
54316   2C3CDZFJ9JH300823   Chrysler      CHALLENGER           MIAMI                    FL
54317   2C4RC1BG0KR537121   Chrysler      PACIFICA             SACRAMENTO               CA
54318   2C4RC1BG0KR537135   Chrysler      PACIFICA             SANTA FE                 NM
54319   2C4RC1BG0KR537149   Chrysler      PACIFICA             LAS VEGAS                NV
54320   2C4RC1BG0KR537183   Chrysler      PACIFICA             Fontana                  CA
54321   2C4RC1BG0KR537202   Chrysler      PACIFICA             Hayward                  CA
54322   2C4RC1BG0KR537233   Chrysler      PACIFICA             ORLANDO                  FL
54323   2C4RC1BG0KR537247   Chrysler      PACIFICA             KINGSPORT‐TRI CITY       TN
54324   2C4RC1BG0KR537250   Chrysler      PACIFICA             WEST PALM BEACH          FL
54325   2C4RC1BG0KR537281   Chrysler      PACIFICA             TAMPA                    FL
54326   2C4RC1BG0KR537300   Chrysler      PACIFICA             SAN ANTONIO              TX
54327   2C4RC1BG0KR537328   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
54328   2C4RC1BG0KR537362   Chrysler      PACIFICA             ORLANDO                  FL
54329   2C4RC1BG0KR537393   Chrysler      PACIFICA             Miami                    FL
54330   2C4RC1BG0KR537457   Chrysler      PACIFICA             Davie                    FL
54331   2C4RC1BG0KR537460   Chrysler      PACIFICA             DANIA BEACH              FL
54332   2C4RC1BG0KR537491   Chrysler      PACIFICA             Miami                    FL
54333   2C4RC1BG0KR537507   Chrysler      PACIFICA             Manheim                  PA
54334   2C4RC1BG0KR537510   Chrysler      PACIFICA             Lake in the Hil          IL
54335   2C4RC1BG0KR537555   Chrysler      PACIFICA             Atlanta                  GA
54336   2C4RC1BG0KR537586   Chrysler      PACIFICA             Philadelphia             PA
54337   2C4RC1BG0KR537619   Chrysler      PACIFICA             JACKSONVILLE             FL
54338   2C4RC1BG0KR537636   Chrysler      PACIFICA             KANSAS CITY              MO
54339   2C4RC1BG0KR537653   Chrysler      PACIFICA             STERLING                 US
54340   2C4RC1BG0KR537670   Chrysler      PACIFICA             SAN DIEGO                US
54341   2C4RC1BG0KR539273   Chrysler      PACIFICA             Memphis                  TN
54342   2C4RC1BG0KR539290   Chrysler      PACIFICA             ORLANDO                  FL
54343   2C4RC1BG0KR539337   Chrysler      PACIFICA             PHOENIX                  AZ
54344   2C4RC1BG0KR539368   Chrysler      PACIFICA             CHARLESTON               WV
54345   2C4RC1BG0KR539385   Chrysler      PACIFICA             BOSTON                   MA
54346   2C4RC1BG0KR539399   Chrysler      PACIFICA             NEWARK                   NJ
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54347   2C4RC1BG0KR539418   Chrysler      PACIFICA             ORLANDO                  FL
54348   2C4RC1BG0KR539421   Chrysler      PACIFICA             MIAMI                    FL
54349   2C4RC1BG0KR539435   Chrysler      PACIFICA             ORLANDO                  FL
54350   2C4RC1BG0KR539449   Chrysler      PACIFICA             FORT LAUDERDALE          FL
54351   2C4RC1BG0KR539466   Chrysler      PACIFICA             ORLANDO                  FL
54352   2C4RC1BG0KR539483   Chrysler      PACIFICA             DENVER                   CO
54353   2C4RC1BG0KR539502   Chrysler      PACIFICA             TAMPA                    FL
54354   2C4RC1BG0KR539516   Chrysler      PACIFICA             Killeen                  TX
54355   2C4RC1BG0KR539547   Chrysler      PACIFICA             ORLANDO                  FL
54356   2C4RC1BG0KR539564   Chrysler      PACIFICA             Florissant               MO
54357   2C4RC1BG0KR539581   Chrysler      PACIFICA             TAMPA                    FL
54358   2C4RC1BG0KR539595   Chrysler      PACIFICA             Manheim                  PA
54359   2C4RC1BG0KR539614   Chrysler      PACIFICA             Greensboro               NC
54360   2C4RC1BG0KR539659   Chrysler      PACIFICA             Elkridge                 MD
54361   2C4RC1BG0KR539662   Chrysler      PACIFICA             DES PLAINES              US
54362   2C4RC1BG0KR539712   Chrysler      PACIFICA             Greensboro               NC
54363   2C4RC1BG0KR539757   Chrysler      PACIFICA             EAST BOSTON              MA
54364   2C4RC1BG0KR539760   Chrysler      PACIFICA             SAN ANTONIO              TX
54365   2C4RC1BG0KR539788   Chrysler      PACIFICA             SAINT PAUL               MN
54366   2C4RC1BG0KR539810   Chrysler      PACIFICA             SAN DIEGO                CA
54367   2C4RC1BG0KR539824   Chrysler      PACIFICA             DALLAS                   TX
54368   2C4RC1BG0KR539838   Chrysler      PACIFICA             ORLANDO                  FL
54369   2C4RC1BG0KR539905   Chrysler      PACIFICA             New York                 NY
54370   2C4RC1BG0KR539953   Chrysler      PACIFICA             TAMPA                    FL
54371   2C4RC1BG0KR539967   Chrysler      PACIFICA             PITTSBURGH               PA
54372   2C4RC1BG0KR539970   Chrysler      PACIFICA             LOS ANGELES              CA
54373   2C4RC1BG0KR540021   Chrysler      PACIFICA             Ocoee                    FL
54374   2C4RC1BG0KR540035   Chrysler      PACIFICA             PHOENIX                  AZ
54375   2C4RC1BG0KR540049   Chrysler      PACIFICA             TAMPA                    FL
54376   2C4RC1BG0KR540097   Chrysler      PACIFICA             DENVER                   CO
54377   2C4RC1BG0KR540102   Chrysler      PACIFICA             SAN DIEGO                CA
54378   2C4RC1BG0KR559927   Chrysler      PACIFICA             FORT MYERS               FL
54379   2C4RC1BG0KR559944   Chrysler      PACIFICA             DANIA BEACH              FL
54380   2C4RC1BG0KR559958   Chrysler      PACIFICA             Santa Clara              CA
54381   2C4RC1BG0KR559975   Chrysler      PACIFICA             MIAMI                    FL
54382   2C4RC1BG0KR559992   Chrysler      PACIFICA             LOS ANGELES              CA
54383   2C4RC1BG0KR560009   Chrysler      PACIFICA             Orlando                  FL
54384   2C4RC1BG0KR560043   Chrysler      PACIFICA             FORT MYERS               FL
54385   2C4RC1BG0KR560060   Chrysler      PACIFICA             SAINT PAUL               MN
54386   2C4RC1BG0KR560074   Chrysler      PACIFICA             NORFOLK                  VA
54387   2C4RC1BG0KR560088   Chrysler      PACIFICA             Detroit                  MI
54388   2C4RC1BG0KR560091   Chrysler      PACIFICA             EL PASO                  TX
54389   2C4RC1BG0KR560155   Chrysler      PACIFICA             JACKSONVILLE             FL
54390   2C4RC1BG0KR560186   Chrysler      PACIFICA             Manheim                  PA
54391   2C4RC1BG0KR560883   Chrysler      PACIFICA             Norwalk                  CA
54392   2C4RC1BG0KR560897   Chrysler      PACIFICA             KNOXVILLE                TN
54393   2C4RC1BG0KR561001   Chrysler      PACIFICA             SALT LAKE CITY           UT
54394   2C4RC1BG0KR561015   Chrysler      PACIFICA             WARWICK                  RI
54395   2C4RC1BG0KR561029   Chrysler      PACIFICA             ORLANDO                  FL
54396   2C4RC1BG0KR561077   Chrysler      PACIFICA             Fredericksburg           VA
54397   2C4RC1BG0KR561130   Chrysler      PACIFICA             AUSTIN                   TX
54398   2C4RC1BG0KR561144   Chrysler      PACIFICA             Atlanta                  GA
54399   2C4RC1BG0KR561158   Chrysler      PACIFICA             Statesville              NC
54400   2C4RC1BG0KR581362   Chrysler      PACIFICA             Teterboro                NJ
54401   2C4RC1BG0KR581376   Chrysler      PACIFICA             RICHMOND                 VA
54402   2C4RC1BG0KR581426   Chrysler      PACIFICA             Atlanta                  GA
54403   2C4RC1BG0KR581443   Chrysler      PACIFICA             WEST PALM BEACH          FL
54404   2C4RC1BG0KR581460   Chrysler      PACIFICA             ORLANDO                  FL
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54405   2C4RC1BG0KR581474   Chrysler      PACIFICA             Winston‐Salem            NC
54406   2C4RC1BG0KR581488   Chrysler      PACIFICA             MIAMI                    FL
54407   2C4RC1BG0KR581538   Chrysler      PACIFICA             TAMPA                    FL
54408   2C4RC1BG0KR581541   Chrysler      PACIFICA             LAS VEGAS                NV
54409   2C4RC1BG0KR582835   Chrysler      PACIFICA             Miami                    FL
54410   2C4RC1BG0KR582866   Chrysler      PACIFICA             FORT LAUDERDALE          FL
54411   2C4RC1BG0KR582883   Chrysler      PACIFICA             SARASOTA                 FL
54412   2C4RC1BG0KR582902   Chrysler      PACIFICA             AUSTIN                   TX
54413   2C4RC1BG0KR582978   Chrysler      PACIFICA             AUSTIN                   TX
54414   2C4RC1BG0KR582981   Chrysler      PACIFICA             JACKSONVILLE             FL
54415   2C4RC1BG0KR582995   Chrysler      PACIFICA             JACKSON                  MS
54416   2C4RC1BG0KR583032   Chrysler      PACIFICA             SYRACUSE                 NY
54417   2C4RC1BG0KR583046   Chrysler      PACIFICA             JACKSONVILLE             FL
54418   2C4RC1BG0KR583063   Chrysler      PACIFICA             FORT LAUDERDALE          FL
54419   2C4RC1BG0KR596752   Chrysler      PACIFICA             LAS VEGAS                NV
54420   2C4RC1BG0KR596797   Chrysler      PACIFICA             WOODSON TERRACE          MO
54421   2C4RC1BG0KR596833   Chrysler      PACIFICA             TAMPA                    FL
54422   2C4RC1BG0KR596864   Chrysler      PACIFICA             BOISE                    US
54423   2C4RC1BG0KR596878   Chrysler      PACIFICA             Hebron                   KY
54424   2C4RC1BG0KR596881   Chrysler      PACIFICA             PITTSBURGH               PA
54425   2C4RC1BG0KR596895   Chrysler      PACIFICA             SAVANNAH                 GA
54426   2C4RC1BG0KR596914   Chrysler      PACIFICA             NEWARK                   NJ
54427   2C4RC1BG0KR596945   Chrysler      PACIFICA             FORT LAUDERDALE          FL
54428   2C4RC1BG0KR596962   Chrysler      PACIFICA             ORLANDO                  FL
54429   2C4RC1BG0KR597013   Chrysler      PACIFICA             SAN ANTONIO              TX
54430   2C4RC1BG0KR597044   Chrysler      PACIFICA             DETROIT                  MI
54431   2C4RC1BG0KR597092   Chrysler      PACIFICA             FORT LAUDERDALE          FL
54432   2C4RC1BG0KR597111   Chrysler      PACIFICA             BALTIMORE                MD
54433   2C4RC1BG0KR597142   Chrysler      PACIFICA             FORT LAUDERDALE          FL
54434   2C4RC1BG0KR597206   Chrysler      PACIFICA             GWINN                    MI
54435   2C4RC1BG0KR617129   Chrysler      PACIFICA             Woodbridge Town          NJ
54436   2C4RC1BG0KR617146   Chrysler      PACIFICA             LOS ANGELES AP           CA
54437   2C4RC1BG0KR617180   Chrysler      PACIFICA             FAYETTEVILLE             GA
54438   2C4RC1BG0KR617194   Chrysler      PACIFICA             WHITE PLAINS             NY
54439   2C4RC1BG0KR624758   Chrysler      PACIFICA             Ontario                  CA
54440   2C4RC1BG0KR624775   Chrysler      PACIFICA             COLLEGE PARK             GA
54441   2C4RC1BG0KR624937   Chrysler      PACIFICA             ORANGE COUNTY            CA
54442   2C4RC1BG0KR624954   Chrysler      PACIFICA             ONTARIO                  CA
54443   2C4RC1BG0KR625019   Chrysler      PACIFICA             ATLANTA                  GA
54444   2C4RC1BG0KR625151   Chrysler      PACIFICA             MIAMI                    FL
54445   2C4RC1BG0KR625263   Chrysler      PACIFICA             MIAMI                    FL
54446   2C4RC1BG0KR625327   Chrysler      PACIFICA             Fairburn                 GA
54447   2C4RC1BG0KR625358   Chrysler      PACIFICA             Elkridge                 MD
54448   2C4RC1BG0KR625361   Chrysler      PACIFICA             Dallas                   TX
54449   2C4RC1BG0KR625392   Chrysler      PACIFICA             Statesville              NC
54450   2C4RC1BG0KR625506   Chrysler      PACIFICA             BURBANK                  CA
54451   2C4RC1BG0KR625523   Chrysler      PACIFICA             LAS VEGAS                NV
54452   2C4RC1BG0KR625537   Chrysler      PACIFICA             PHOENIX                  AZ
54453   2C4RC1BG0KR625618   Chrysler      PACIFICA             SARASOTA                 FL
54454   2C4RC1BG0KR625621   Chrysler      PACIFICA             HOUSTON                  TX
54455   2C4RC1BG0KR625666   Chrysler      PACIFICA             NEW ORLEANS              LA
54456   2C4RC1BG0KR625683   Chrysler      PACIFICA             OMAHA                    NE
54457   2C4RC1BG0KR625702   Chrysler      PACIFICA             CHARLOTTE                NC
54458   2C4RC1BG0KR625747   Chrysler      PACIFICA             BOSTON                   MA
54459   2C4RC1BG0KR625764   Chrysler      PACIFICA             FORT MYERS               FL
54460   2C4RC1BG0KR625781   Chrysler      PACIFICA             CHICAGO                  IL
54461   2C4RC1BG0KR625859   Chrysler      PACIFICA             ORLANDO                  FL
54462   2C4RC1BG0KR625909   Chrysler      PACIFICA             CHICAGO                  IL
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54463   2C4RC1BG0KR625974   Chrysler      PACIFICA             Union City               GA
54464   2C4RC1BG0KR626025   Chrysler      PACIFICA             TAMPA                    FL
54465   2C4RC1BG0KR626039   Chrysler      PACIFICA             WEST PALM BEACH          FL
54466   2C4RC1BG0KR626221   Chrysler      PACIFICA             SAN DIEGO                CA
54467   2C4RC1BG0KR626252   Chrysler      PACIFICA             MINNEAPOLIS              MN
54468   2C4RC1BG0KR626302   Chrysler      PACIFICA             Houston                  TX
54469   2C4RC1BG0KR626316   Chrysler      PACIFICA             BURLINGTON               VT
54470   2C4RC1BG0KR626333   Chrysler      PACIFICA             AUSTIN                   TX
54471   2C4RC1BG0KR626350   Chrysler      PACIFICA             HOUSTON                  TX
54472   2C4RC1BG0KR626400   Chrysler      PACIFICA             MILWAUKEE                WI
54473   2C4RC1BG0KR626428   Chrysler      PACIFICA             ORLANDO                  FL
54474   2C4RC1BG0KR643679   Chrysler      PACIFICA             ATLANTA                  GA
54475   2C4RC1BG0KR650034   Chrysler      PACIFICA             PENSACOLA                FL
54476   2C4RC1BG0KR650048   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
54477   2C4RC1BG0KR650096   Chrysler      PACIFICA             KENNER                   LA
54478   2C4RC1BG0KR650129   Chrysler      PACIFICA             JACKSONVILLE             FL
54479   2C4RC1BG0KR650132   Chrysler      PACIFICA             PHILADELPHIA             PA
54480   2C4RC1BG0KR650146   Chrysler      PACIFICA             RONKONKOMA               NY
54481   2C4RC1BG0KR650177   Chrysler      PACIFICA             LITTLE ROCK              AR
54482   2C4RC1BG0KR650194   Chrysler      PACIFICA             Irving                   TX
54483   2C4RC1BG0KR650213   Chrysler      PACIFICA             SAN ANTONIO              TX
54484   2C4RC1BG0KR650230   Chrysler      PACIFICA             FAYETTEVILLE             US
54485   2C4RC1BG0KR650244   Chrysler      PACIFICA             CHICAGO                  IL
54486   2C4RC1BG0KR650275   Chrysler      PACIFICA             BOSTON                   MA
54487   2C4RC1BG0KR650308   Chrysler      PACIFICA             BIRMINGHAM               AL
54488   2C4RC1BG0KR650339   Chrysler      PACIFICA             SAVANNAH                 GA
54489   2C4RC1BG0KR650406   Chrysler      PACIFICA             KNOXVILLE                TN
54490   2C4RC1BG0KR650423   Chrysler      PACIFICA             WEST PALM BEACH          FL
54491   2C4RC1BG0KR650437   Chrysler      PACIFICA             DALLAS                   TX
54492   2C4RC1BG0KR650485   Chrysler      PACIFICA             ST PAUL                  MN
54493   2C4RC1BG0KR650499   Chrysler      PACIFICA             ORLANDO                  FL
54494   2C4RC1BG0KR650504   Chrysler      PACIFICA             BLOOMINGTON              IL
54495   2C4RC1BG0KR650552   Chrysler      PACIFICA             GUNNISON                 CO
54496   2C4RC1BG0KR650616   Chrysler      PACIFICA             DENVER                   CO
54497   2C4RC1BG0KR650647   Chrysler      PACIFICA             ORANGE COUNTY            CA
54498   2C4RC1BG0KR650650   Chrysler      PACIFICA             BURBANK                  CA
54499   2C4RC1BG0KR650728   Chrysler      PACIFICA             SOUTH SAN FRANC          CA
54500   2C4RC1BG0KR650731   Chrysler      PACIFICA             SAINT PAUL               MN
54501   2C4RC1BG0KR650745   Chrysler      PACIFICA             Hayward                  CA
54502   2C4RC1BG0KR650762   Chrysler      PACIFICA             KNOXVILLE                TN
54503   2C4RC1BG0KR650776   Chrysler      PACIFICA             SAN JOSE                 CA
54504   2C4RC1BG0KR650793   Chrysler      PACIFICA             OAKLAND                  CA
54505   2C4RC1BG0KR650809   Chrysler      PACIFICA             SAN JOSE                 CA
54506   2C4RC1BG0KR650843   Chrysler      PACIFICA             INDIANAPOLIS             IN
54507   2C4RC1BG0KR650857   Chrysler      PACIFICA             INDIANAPOLIS             IN
54508   2C4RC1BG0KR650874   Chrysler      PACIFICA             SAN JOSE                 CA
54509   2C4RC1BG0KR650888   Chrysler      PACIFICA             KANSAS CITY              MO
54510   2C4RC1BG0KR650891   Chrysler      PACIFICA             ORLANDO                  FL
54511   2C4RC1BG0KR650907   Chrysler      PACIFICA             SEATAC                   WA
54512   2C4RC1BG0KR650941   Chrysler      PACIFICA             SEATAC                   WA
54513   2C4RC1BG0KR650969   Chrysler      PACIFICA             OKLAHOMA CITY            OK
54514   2C4RC1BG0KR651023   Chrysler      PACIFICA             ATLANTA                  GA
54515   2C4RC1BG0KR651040   Chrysler      PACIFICA             ORLANDO                  FL
54516   2C4RC1BG0KR651054   Chrysler      PACIFICA             ATLANTA                  GA
54517   2C4RC1BG0KR651099   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
54518   2C4RC1BG0KR651135   Chrysler      PACIFICA             Reno                     NV
54519   2C4RC1BG0KR651183   Chrysler      PACIFICA             Pasadena                 CA
54520   2C4RC1BG0KR651197   Chrysler      PACIFICA             Atlanta                  GA
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54521   2C4RC1BG0KR651202   Chrysler      PACIFICA             BUFFALO                  NY
54522   2C4RC1BG0KR651216   Chrysler      PACIFICA             KENNER                   LA
54523   2C4RC1BG0KR651233   Chrysler      PACIFICA             Reno                     NV
54524   2C4RC1BG0KR651247   Chrysler      PACIFICA             COLUMBUS                 OH
54525   2C4RC1BG0KR651278   Chrysler      PACIFICA             Chicago                  IL
54526   2C4RC1BG0KR651331   Chrysler      PACIFICA             FORT LAUDERDALE          FL
54527   2C4RC1BG0KR651345   Chrysler      PACIFICA             WARWICK                  RI
54528   2C4RC1BG0KR651362   Chrysler      PACIFICA             CHARLOTTE                NC
54529   2C4RC1BG0KR651409   Chrysler      PACIFICA             DALLAS                   TX
54530   2C4RC1BG0KR651460   Chrysler      PACIFICA             DALLAS                   TX
54531   2C4RC1BG0KR651488   Chrysler      PACIFICA             Atlanta                  GA
54532   2C4RC1BG0KR651491   Chrysler      PACIFICA             BOSTON                   MA
54533   2C4RC1BG0KR651507   Chrysler      PACIFICA             DALLAS                   TX
54534   2C4RC1BG0KR651524   Chrysler      PACIFICA             KNOXVILLE                TN
54535   2C4RC1BG0KR651569   Chrysler      PACIFICA             DAVIE                    FL
54536   2C4RC1BG0KR651586   Chrysler      PACIFICA             CHICAGO                  IL
54537   2C4RC1BG0KR651605   Chrysler      PACIFICA             LOS ANGELES              CA
54538   2C4RC1BG0KR651619   Chrysler      PACIFICA             WEST PALM BEACH          FL
54539   2C4RC1BG0KR651622   Chrysler      PACIFICA             SANTA CLARA              CA
54540   2C4RC1BG0KR651670   Chrysler      PACIFICA             PHOENIX                  AZ
54541   2C4RC1BG0KR651703   Chrysler      PACIFICA             ONTARIO                  CA
54542   2C4RC1BG0KR651720   Chrysler      PACIFICA             NEW YORK CITY            NY
54543   2C4RC1BG0KR651734   Chrysler      PACIFICA             SAN ANTONIO              TX
54544   2C4RC1BG0KR651748   Chrysler      PACIFICA             MIAMI                    FL
54545   2C4RC1BG0KR651779   Chrysler      PACIFICA             SAN ANTONIO              TX
54546   2C4RC1BG0KR651782   Chrysler      PACIFICA             UNION CITY               GA
54547   2C4RC1BG0KR651796   Chrysler      PACIFICA             Albuquerque              NM
54548   2C4RC1BG0KR651829   Chrysler      PACIFICA             LAS VEGAS                NV
54549   2C4RC1BG0KR651832   Chrysler      PACIFICA             Teterboro                NJ
54550   2C4RC1BG0KR651863   Chrysler      PACIFICA             MIAMI                    FL
54551   2C4RC1BG0KR651930   Chrysler      PACIFICA             Atlanta                  GA
54552   2C4RC1BG0KR651958   Chrysler      PACIFICA             Saint Paul               MN
54553   2C4RC1BG0KR651961   Chrysler      PACIFICA             AUGUSTA                  GA
54554   2C4RC1BG0KR651989   Chrysler      PACIFICA             LOUISVILLE               KY
54555   2C4RC1BG0KR651992   Chrysler      PACIFICA             FORT LAUDERDALE          FL
54556   2C4RC1BG0KR652012   Chrysler      PACIFICA             HOUSTON                  TX
54557   2C4RC1BG0KR652026   Chrysler      PACIFICA             CHICAGO                  IL
54558   2C4RC1BG0KR652043   Chrysler      PACIFICA             DETROIT                  MI
54559   2C4RC1BG0KR652057   Chrysler      PACIFICA             JACKSONVILLE             FL
54560   2C4RC1BG0KR652060   Chrysler      PACIFICA             DETROIT                  MI
54561   2C4RC1BG0KR652074   Chrysler      PACIFICA             HOUSTON                  TX
54562   2C4RC1BG0KR652091   Chrysler      PACIFICA             DULUTH                   GA
54563   2C4RC1BG0KR655069   Chrysler      PACIFICA             BURBANK                  CA
54564   2C4RC1BG0KR655153   Chrysler      PACIFICA             PORTLAND                 OR
54565   2C4RC1BG0KR657288   Chrysler      PACIFICA             SANTA ANA                CA
54566   2C4RC1BG0KR657291   Chrysler      PACIFICA             SAINT PAUL               MN
54567   2C4RC1BG0KR657307   Chrysler      PACIFICA             LOS ANGELES              CA
54568   2C4RC1BG0KR665388   Chrysler      PACIFICA             SANTA BARBARA            CA
54569   2C4RC1BG0KR665438   Chrysler      PACIFICA             ORLANDO                  FL
54570   2C4RC1BG0KR665486   Chrysler      PACIFICA             SALT LAKE CITY           UT
54571   2C4RC1BG0KR665519   Chrysler      PACIFICA             DETROIT                  MI
54572   2C4RC1BG0KR665553   Chrysler      PACIFICA             LAS VEGAS                NV
54573   2C4RC1BG0KR665584   Chrysler      PACIFICA             SAN FRANCISCO            CA
54574   2C4RC1BG0KR665598   Chrysler      PACIFICA             LOS ANGELES              CA
54575   2C4RC1BG0KR665620   Chrysler      PACIFICA             INGLEWOOD                CA
54576   2C4RC1BG0KR665665   Chrysler      PACIFICA             BRONX                    NY
54577   2C4RC1BG0KR665679   Chrysler      PACIFICA             JONESBORO                AR
54578   2C4RC1BG0KR665682   Chrysler      PACIFICA             SAN DIEGO                CA
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54579   2C4RC1BG0KR665701   Chrysler      PACIFICA             PEORIA                   IL
54580   2C4RC1BG0KR665777   Chrysler      PACIFICA             FORT MYERS               FL
54581   2C4RC1BG0KR665780   Chrysler      PACIFICA             NORTH READING            MA
54582   2C4RC1BG0KR665794   Chrysler      PACIFICA             DANIA BEACH              FL
54583   2C4RC1BG0KR665844   Chrysler      PACIFICA             Louisville               KY
54584   2C4RC1BG0KR665889   Chrysler      PACIFICA             NEW BERN                 NC
54585   2C4RC1BG0KR665892   Chrysler      PACIFICA             ALBANY                   GA
54586   2C4RC1BG0KR665908   Chrysler      PACIFICA             JACKSONVILLE             FL
54587   2C4RC1BG0KR665939   Chrysler      PACIFICA             SAINT PAUL               MN
54588   2C4RC1BG0KR665942   Chrysler      PACIFICA             CHICAGO                  IL
54589   2C4RC1BG0KR665973   Chrysler      PACIFICA             BOSTON                   MA
54590   2C4RC1BG0KR666038   Chrysler      PACIFICA             LAS VEGAS                NV
54591   2C4RC1BG0KR666055   Chrysler      PACIFICA             CHICAGO                  IL
54592   2C4RC1BG0KR673006   Chrysler      PACIFICA             RALIEGH                  NC
54593   2C4RC1BG0KR673040   Chrysler      PACIFICA             NASHVILLE                TN
54594   2C4RC1BG0KR673054   Chrysler      PACIFICA             OKLAHOMA CITY            OK
54595   2C4RC1BG0KR673071   Chrysler      PACIFICA             WOODSON TERRACE          MO
54596   2C4RC1BG0KR673085   Chrysler      PACIFICA             KANSAS CITY              MO
54597   2C4RC1BG0KR673118   Chrysler      PACIFICA             HOUSTON IAH AP           TX
54598   2C4RC1BG0KR673135   Chrysler      PACIFICA             Austin                   TX
54599   2C4RC1BG0KR673166   Chrysler      PACIFICA             SEATAC                   WA
54600   2C4RC1BG0KR673183   Chrysler      PACIFICA             SAN ANTONIO              TX
54601   2C4RC1BG0KR673216   Chrysler      PACIFICA             STERLING                 VA
54602   2C4RC1BG0KR675662   Chrysler      PACIFICA             KENNER                   LA
54603   2C4RC1BG0KR680456   Chrysler      PACIFICA             LOS ANGELES              CA
54604   2C4RC1BG0KR680568   Chrysler      PACIFICA             Hayward                  CA
54605   2C4RC1BG0KR680599   Chrysler      PACIFICA             SAN FRANCISCO            CA
54606   2C4RC1BG0KR680618   Chrysler      PACIFICA             Riverside                CA
54607   2C4RC1BG0KR680621   Chrysler      PACIFICA             SACRAMENTO               CA
54608   2C4RC1BG0KR680635   Chrysler      PACIFICA             KEARNEY                  NE
54609   2C4RC1BG0KR680666   Chrysler      PACIFICA             PORTLAND                 OR
54610   2C4RC1BG0KR680716   Chrysler      PACIFICA             SEA TAC                  WA
54611   2C4RC1BG0KR680778   Chrysler      PACIFICA             BURBANK                  CA
54612   2C4RC1BG0KR680781   Chrysler      PACIFICA             ONTARIO                  CA
54613   2C4RC1BG0KR680795   Chrysler      PACIFICA             DENVER                   CO
54614   2C4RC1BG0KR680800   Chrysler      PACIFICA             GRAND RAPIDS             MI
54615   2C4RC1BG0KR680814   Chrysler      PACIFICA             CLEVELAND                OH
54616   2C4RC1BG0KR680909   Chrysler      PACIFICA             LAS VEGAS                NV
54617   2C4RC1BG0KR680912   Chrysler      PACIFICA             Detroit                  MI
54618   2C4RC1BG0KR680957   Chrysler      PACIFICA             Teterboro                NJ
54619   2C4RC1BG0KR680960   Chrysler      PACIFICA             SANTA ANA                CA
54620   2C4RC1BG0KR680988   Chrysler      PACIFICA             SEATAC                   WA
54621   2C4RC1BG0KR681008   Chrysler      PACIFICA             ALBUQUERQUE              NM
54622   2C4RC1BG0KR681011   Chrysler      PACIFICA             PHOENIX                  AZ
54623   2C4RC1BG0KR681025   Chrysler      PACIFICA             Atlanta                  GA
54624   2C4RC1BG0KR681607   Chrysler      PACIFICA             Atlanta                  GA
54625   2C4RC1BG0KR685270   Chrysler      PACIFICA             FORT MYERS               FL
54626   2C4RC1BG0KR685298   Chrysler      PACIFICA             ALBUQUERQUE              NM
54627   2C4RC1BG0KR685334   Chrysler      PACIFICA             CHICAGO                  IL
54628   2C4RC1BG0KR685348   Chrysler      PACIFICA             ATLANTA                  GA
54629   2C4RC1BG0KR685415   Chrysler      PACIFICA             GREENSBORO               NC
54630   2C4RC1BG0KR685432   Chrysler      PACIFICA             NASHVILLE                TN
54631   2C4RC1BG0KR685494   Chrysler      PACIFICA             PORTLAND                 OR
54632   2C4RC1BG0KR685513   Chrysler      PACIFICA             KENNER                   LA
54633   2C4RC1BG0KR685608   Chrysler      PACIFICA             DES MOINES               IA
54634   2C4RC1BG0KR685642   Chrysler      PACIFICA             WICHITA FALLS            TX
54635   2C4RC1BG0KR685690   Chrysler      PACIFICA             BOSTON                   MA
54636   2C4RC1BG0KR685737   Chrysler      PACIFICA             Grove City               OH
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54637   2C4RC1BG0KR685804   Chrysler      PACIFICA             CHICAGO                  IL
54638   2C4RC1BG0KR698245   Chrysler      PACIFICA             SAN JOSE                 CA
54639   2C4RC1BG0KR698312   Chrysler      PACIFICA             LAS VEGAS                NV
54640   2C4RC1BG0KR700530   Chrysler      PACIFICA             Saint Paul               MN
54641   2C4RC1BG0KR700544   Chrysler      PACIFICA             ROY                      UT
54642   2C4RC1BG0KR700561   Chrysler      PACIFICA             OKLAHOMA CITY            OK
54643   2C4RC1BG0KR700575   Chrysler      PACIFICA             LOS ANGELES              CA
54644   2C4RC1BG0KR700611   Chrysler      PACIFICA             Anchorage                AK
54645   2C4RC1BG0KR700673   Chrysler      PACIFICA             SAN DIEGO                CA
54646   2C4RC1BG0KR700687   Chrysler      PACIFICA             CHICAGO                  IL
54647   2C4RC1BG0KR704674   Chrysler      PACIFICA             CHATTANOOGA              TN
54648   2C4RC1BG0KR704741   Chrysler      PACIFICA             COLUMBUS                 OH
54649   2C4RC1BG0KR704772   Chrysler      PACIFICA             COLUMBUS                 OH
54650   2C4RC1BG0KR704805   Chrysler      PACIFICA             DETROIT                  MI
54651   2C4RC1BG0KR704819   Chrysler      PACIFICA             PHILADELPHIA             PA
54652   2C4RC1BG1KR537130   Chrysler      PACIFICA             NEW BERN                 NC
54653   2C4RC1BG1KR537144   Chrysler      PACIFICA             Salt Lake City           UT
54654   2C4RC1BG1KR537161   Chrysler      PACIFICA             NEW YORK CITY            NY
54655   2C4RC1BG1KR537175   Chrysler      PACIFICA             Norwalk                  CA
54656   2C4RC1BG1KR537192   Chrysler      PACIFICA             Atlanta                  GA
54657   2C4RC1BG1KR537208   Chrysler      PACIFICA             WEST PALM BEACH          FL
54658   2C4RC1BG1KR537225   Chrysler      PACIFICA             DETROIT                  MI
54659   2C4RC1BG1KR537273   Chrysler      PACIFICA             DETROIT                  MI
54660   2C4RC1BG1KR537323   Chrysler      PACIFICA             Annapolis                MD
54661   2C4RC1BG1KR537337   Chrysler      PACIFICA             DENVER                   CO
54662   2C4RC1BG1KR537354   Chrysler      PACIFICA             PENSACOLA                FL
54663   2C4RC1BG1KR537399   Chrysler      PACIFICA             ORLANDO                  FL
54664   2C4RC1BG1KR537418   Chrysler      PACIFICA             San Diego                CA
54665   2C4RC1BG1KR537435   Chrysler      PACIFICA             MILWAUKEE                WI
54666   2C4RC1BG1KR537497   Chrysler      PACIFICA             FORT LAUDERDALE          FL
54667   2C4RC1BG1KR537547   Chrysler      PACIFICA             ORLANDO                  FL
54668   2C4RC1BG1KR537550   Chrysler      PACIFICA             Ft. Myers                FL
54669   2C4RC1BG1KR537564   Chrysler      PACIFICA             PORTLAND                 OR
54670   2C4RC1BG1KR537595   Chrysler      PACIFICA             Davie                    FL
54671   2C4RC1BG1KR537614   Chrysler      PACIFICA             Manheim                  PA
54672   2C4RC1BG1KR537628   Chrysler      PACIFICA             Kent                     WA
54673   2C4RC1BG1KR537659   Chrysler      PACIFICA             Salt Lake City           UT
54674   2C4RC1BG1KR537709   Chrysler      PACIFICA             MEMPHIS                  TN
54675   2C4RC1BG1KR539282   Chrysler      PACIFICA             ORLANDO                  FL
54676   2C4RC1BG1KR539296   Chrysler      PACIFICA             Omaha                    NE
54677   2C4RC1BG1KR539301   Chrysler      PACIFICA             PHOENIX                  AZ
54678   2C4RC1BG1KR539332   Chrysler      PACIFICA             ORLANDO                  FL
54679   2C4RC1BG1KR539363   Chrysler      PACIFICA             Manheim                  PA
54680   2C4RC1BG1KR539377   Chrysler      PACIFICA             Cleveland                OH
54681   2C4RC1BG1KR539380   Chrysler      PACIFICA             WEST PALM BEACH          FL
54682   2C4RC1BG1KR539394   Chrysler      PACIFICA             NORFOLK                  VA
54683   2C4RC1BG1KR539430   Chrysler      PACIFICA             TAMPA                    FL
54684   2C4RC1BG1KR539458   Chrysler      PACIFICA             RONKONKOMA               NY
54685   2C4RC1BG1KR539525   Chrysler      PACIFICA             North Dighton            MA
54686   2C4RC1BG1KR539539   Chrysler      PACIFICA             North Dighton            MA
54687   2C4RC1BG1KR539542   Chrysler      PACIFICA             Chicago                  IL
54688   2C4RC1BG1KR539556   Chrysler      PACIFICA             Statesville              NC
54689   2C4RC1BG1KR539606   Chrysler      PACIFICA             ORLANDO                  FL
54690   2C4RC1BG1KR539668   Chrysler      PACIFICA             PHOENIX                  AZ
54691   2C4RC1BG1KR539671   Chrysler      PACIFICA             MIAMI                    FL
54692   2C4RC1BG1KR539685   Chrysler      PACIFICA             UNION CITY               GA
54693   2C4RC1BG1KR539704   Chrysler      PACIFICA             Jacksonville             FL
54694   2C4RC1BG1KR539783   Chrysler      PACIFICA             NORFOLK                  VA
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54695   2C4RC1BG1KR539797   Chrysler      PACIFICA             Atlanta                  GA
54696   2C4RC1BG1KR539847   Chrysler      PACIFICA             HOUSTON                  TX
54697   2C4RC1BG1KR539864   Chrysler      PACIFICA             ORLANDO                  FL
54698   2C4RC1BG1KR539881   Chrysler      PACIFICA             PITTSBURGH               PA
54699   2C4RC1BG1KR539900   Chrysler      PACIFICA             RAYNHAM                  MA
54700   2C4RC1BG1KR539959   Chrysler      PACIFICA             Philadelphia             PA
54701   2C4RC1BG1KR540030   Chrysler      PACIFICA             SACRAMENTO               CA
54702   2C4RC1BG1KR540089   Chrysler      PACIFICA             DENVER                   CO
54703   2C4RC1BG1KR540108   Chrysler      PACIFICA             Ventura                  CA
54704   2C4RC1BG1KR554025   Chrysler      PACIFICA             ORLANDO                  FL
54705   2C4RC1BG1KR559886   Chrysler      PACIFICA             SAN DIEGO                CA
54706   2C4RC1BG1KR559905   Chrysler      PACIFICA             MEMPHIS                  TN
54707   2C4RC1BG1KR559919   Chrysler      PACIFICA             Teterboro                NJ
54708   2C4RC1BG1KR559922   Chrysler      PACIFICA             MIAMI                    FL
54709   2C4RC1BG1KR559936   Chrysler      PACIFICA             Revere                   MA
54710   2C4RC1BG1KR559953   Chrysler      PACIFICA             TAMPA                    FL
54711   2C4RC1BG1KR559967   Chrysler      PACIFICA             NEW BERN                 NC
54712   2C4RC1BG1KR559970   Chrysler      PACIFICA             ATLANTA AP               GA
54713   2C4RC1BG1KR559984   Chrysler      PACIFICA             PHILADELPHIA             PA
54714   2C4RC1BG1KR560021   Chrysler      PACIFICA             MIAMI                    FL
54715   2C4RC1BG1KR560035   Chrysler      PACIFICA             Jacksonville             FL
54716   2C4RC1BG1KR560052   Chrysler      PACIFICA             MIAMI                    FL
54717   2C4RC1BG1KR560066   Chrysler      PACIFICA             DENVER                   CO
54718   2C4RC1BG1KR560083   Chrysler      PACIFICA             SARASOTA                 FL
54719   2C4RC1BG1KR560097   Chrysler      PACIFICA             ORLANDO                  FL
54720   2C4RC1BG1KR560116   Chrysler      PACIFICA             HOUSTON                  TX
54721   2C4RC1BG1KR560147   Chrysler      PACIFICA             DENVER                   CO
54722   2C4RC1BG1KR560150   Chrysler      PACIFICA             Denver                   CO
54723   2C4RC1BG1KR560181   Chrysler      PACIFICA             TAMPA                    FL
54724   2C4RC1BG1KR560939   Chrysler      PACIFICA             ORLANDO                  FL
54725   2C4RC1BG1KR560956   Chrysler      PACIFICA             BALTIMORE                MD
54726   2C4RC1BG1KR560987   Chrysler      PACIFICA             FORT MYERS               FL
54727   2C4RC1BG1KR560990   Chrysler      PACIFICA             Atlanta                  GA
54728   2C4RC1BG1KR561007   Chrysler      PACIFICA             CHICAGO                  IL
54729   2C4RC1BG1KR561010   Chrysler      PACIFICA             TAMPA                    FL
54730   2C4RC1BG1KR561184   Chrysler      PACIFICA             Fredericksburg           VA
54731   2C4RC1BG1KR581337   Chrysler      PACIFICA             DENVER                   CO
54732   2C4RC1BG1KR581371   Chrysler      PACIFICA             HOUSTON                  TX
54733   2C4RC1BG1KR581385   Chrysler      PACIFICA             DANIA                    FL
54734   2C4RC1BG1KR581421   Chrysler      PACIFICA             TAMPA                    FL
54735   2C4RC1BG1KR581452   Chrysler      PACIFICA             DARLINGTON               SC
54736   2C4RC1BG1KR581516   Chrysler      PACIFICA             TALLAHASSEE              US
54737   2C4RC1BG1KR581533   Chrysler      PACIFICA             PHOENIX                  AZ
54738   2C4RC1BG1KR581547   Chrysler      PACIFICA             Ocoee                    FL
54739   2C4RC1BG1KR582861   Chrysler      PACIFICA             MEMPHIS                  TN
54740   2C4RC1BG1KR582990   Chrysler      PACIFICA             NEW BERN                 NC
54741   2C4RC1BG1KR583024   Chrysler      PACIFICA             UNION CITY               GA
54742   2C4RC1BG1KR583038   Chrysler      PACIFICA             SAINT LOUIS              MO
54743   2C4RC1BG1KR592757   Chrysler      PACIFICA             TUCSON                   AZ
54744   2C4RC1BG1KR596744   Chrysler      PACIFICA             Pasadena                 CA
54745   2C4RC1BG1KR596758   Chrysler      PACIFICA             Orlando                  FL
54746   2C4RC1BG1KR596775   Chrysler      PACIFICA             LOS ANGELES              CA
54747   2C4RC1BG1KR596789   Chrysler      PACIFICA             DENVER                   CO
54748   2C4RC1BG1KR596792   Chrysler      PACIFICA             DENVER                   CO
54749   2C4RC1BG1KR596808   Chrysler      PACIFICA             Phoenix                  AZ
54750   2C4RC1BG1KR596873   Chrysler      PACIFICA             DENVER                   CO
54751   2C4RC1BG1KR596887   Chrysler      PACIFICA             WEST PALM BEACH          FL
54752   2C4RC1BG1KR596890   Chrysler      PACIFICA             SANTA ANA                CA
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54753   2C4RC1BG1KR596906   Chrysler      PACIFICA             CHICAGO                  IL
54754   2C4RC1BG1KR597005   Chrysler      PACIFICA             COLLEGE PARK             GA
54755   2C4RC1BG1KR597022   Chrysler      PACIFICA             JACKSONVILLE             FL
54756   2C4RC1BG1KR597053   Chrysler      PACIFICA             Atlanta                  GA
54757   2C4RC1BG1KR597067   Chrysler      PACIFICA             FORT MYERS               FL
54758   2C4RC1BG1KR597098   Chrysler      PACIFICA             BOSTON                   MA
54759   2C4RC1BG1KR597120   Chrysler      PACIFICA             SAVANNAH                 GA
54760   2C4RC1BG1KR597148   Chrysler      PACIFICA             LOS ANGELES              CA
54761   2C4RC1BG1KR597151   Chrysler      PACIFICA             SAN ANTONIO              TX
54762   2C4RC1BG1KR597179   Chrysler      PACIFICA             SYRACUSE                 NY
54763   2C4RC1BG1KR617155   Chrysler      PACIFICA             FORT LAUDERDALE          FL
54764   2C4RC1BG1KR617169   Chrysler      PACIFICA             TAMPA                    FL
54765   2C4RC1BG1KR624784   Chrysler      PACIFICA             LOS ANGELES              CA
54766   2C4RC1BG1KR624798   Chrysler      PACIFICA             SACRAMENTO               CA
54767   2C4RC1BG1KR624817   Chrysler      PACIFICA             LOS ANGELES              CA
54768   2C4RC1BG1KR624834   Chrysler      PACIFICA             SAN DIEGO                CA
54769   2C4RC1BG1KR624848   Chrysler      PACIFICA             LAS VEGAS                NV
54770   2C4RC1BG1KR624851   Chrysler      PACIFICA             LAS VEGAS                NV
54771   2C4RC1BG1KR624896   Chrysler      PACIFICA             LOS ANGELES AP           CA
54772   2C4RC1BG1KR624932   Chrysler      PACIFICA             FRESNO                   CA
54773   2C4RC1BG1KR624963   Chrysler      PACIFICA             PHOENIX                  AZ
54774   2C4RC1BG1KR625062   Chrysler      PACIFICA             WEST PALM BEACH          FL
54775   2C4RC1BG1KR625126   Chrysler      PACIFICA             TAMPA                    FL
54776   2C4RC1BG1KR625210   Chrysler      PACIFICA             North Dighton            MA
54777   2C4RC1BG1KR625255   Chrysler      PACIFICA             TAMPA                    FL
54778   2C4RC1BG1KR625269   Chrysler      PACIFICA             SAINT PAUL               MN
54779   2C4RC1BG1KR625322   Chrysler      PACIFICA             Fontana                  CA
54780   2C4RC1BG1KR625353   Chrysler      PACIFICA             Bordentown               NJ
54781   2C4RC1BG1KR625384   Chrysler      PACIFICA             Miami                    FL
54782   2C4RC1BG1KR625398   Chrysler      PACIFICA             Florissant               MO
54783   2C4RC1BG1KR625417   Chrysler      PACIFICA             HOUSTON                  TX
54784   2C4RC1BG1KR625482   Chrysler      PACIFICA             LOS ANGELES              CA
54785   2C4RC1BG1KR625577   Chrysler      PACIFICA             MYRTLE BEACH             SC
54786   2C4RC1BG1KR625613   Chrysler      PACIFICA             BURBANK                  CA
54787   2C4RC1BG1KR625675   Chrysler      PACIFICA             TAMPA                    FL
54788   2C4RC1BG1KR625692   Chrysler      PACIFICA             SAN FRANCISCO            CA
54789   2C4RC1BG1KR625708   Chrysler      PACIFICA             Caledonia                WI
54790   2C4RC1BG1KR625711   Chrysler      PACIFICA             FORT LAUDERDALE          FL
54791   2C4RC1BG1KR625756   Chrysler      PACIFICA             ORLANDO                  FL
54792   2C4RC1BG1KR625773   Chrysler      PACIFICA             NASHVILLE                TN
54793   2C4RC1BG1KR625823   Chrysler      PACIFICA             ORLANDO                  FL
54794   2C4RC1BG1KR625837   Chrysler      PACIFICA             ORLANDO                  FL
54795   2C4RC1BG1KR625840   Chrysler      PACIFICA             ATLANTA                  GA
54796   2C4RC1BG1KR625885   Chrysler      PACIFICA             Ventura                  CA
54797   2C4RC1BG1KR626020   Chrysler      PACIFICA             SAINT PAUL               MN
54798   2C4RC1BG1KR626101   Chrysler      PACIFICA             TAMPA                    FL
54799   2C4RC1BG1KR626129   Chrysler      PACIFICA             NEW BERN                 NC
54800   2C4RC1BG1KR626132   Chrysler      PACIFICA             WEST PALM BEACH          FL
54801   2C4RC1BG1KR626227   Chrysler      PACIFICA             FORT LAUDERDALE          FL
54802   2C4RC1BG1KR626230   Chrysler      PACIFICA             LOS ANGELES              CA
54803   2C4RC1BG1KR626261   Chrysler      PACIFICA             INGLEWOOD                CA
54804   2C4RC1BG1KR626275   Chrysler      PACIFICA             Pheonix                  AZ
54805   2C4RC1BG1KR626289   Chrysler      PACIFICA             CHICAGO                  IL
54806   2C4RC1BG1KR626311   Chrysler      PACIFICA             SAN FRANCISCO            CA
54807   2C4RC1BG1KR626356   Chrysler      PACIFICA             NEW ORLEANS              LA
54808   2C4RC1BG1KR626423   Chrysler      PACIFICA             NORTH HILLS              CA
54809   2C4RC1BG1KR626454   Chrysler      PACIFICA             PLEASANTON               CA
54810   2C4RC1BG1KR650043   Chrysler      PACIFICA             DALLAS                   TX
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54811   2C4RC1BG1KR650155   Chrysler      PACIFICA             Euless                   TX
54812   2C4RC1BG1KR650172   Chrysler      PACIFICA             SAINT PAUL               MN
54813   2C4RC1BG1KR650205   Chrysler      PACIFICA             LOUISVILLE               KY
54814   2C4RC1BG1KR650219   Chrysler      PACIFICA             INGLEWOOD                CA
54815   2C4RC1BG1KR650236   Chrysler      PACIFICA             HOUSTON                  TX
54816   2C4RC1BG1KR650253   Chrysler      PACIFICA             CHICAGO                  IL
54817   2C4RC1BG1KR650284   Chrysler      PACIFICA             HOUSTON                  TX
54818   2C4RC1BG1KR650303   Chrysler      PACIFICA             DALLAS                   TX
54819   2C4RC1BG1KR650320   Chrysler      PACIFICA             FRESNO                   CA
54820   2C4RC1BG1KR650334   Chrysler      PACIFICA             NASHVILLE                TN
54821   2C4RC1BG1KR650348   Chrysler      PACIFICA             Hebron                   KY
54822   2C4RC1BG1KR650351   Chrysler      PACIFICA             SALT LAKE CITY           UT
54823   2C4RC1BG1KR650365   Chrysler      PACIFICA             DENVER                   CO
54824   2C4RC1BG1KR650379   Chrysler      PACIFICA             HARTFORD                 CT
54825   2C4RC1BG1KR650382   Chrysler      PACIFICA             HOUSTON                  TX
54826   2C4RC1BG1KR650401   Chrysler      PACIFICA             BOSTON                   MA
54827   2C4RC1BG1KR650432   Chrysler      PACIFICA             KNOXVILLE                TN
54828   2C4RC1BG1KR650446   Chrysler      PACIFICA             HOUSTON                  TX
54829   2C4RC1BG1KR650477   Chrysler      PACIFICA             OKLAHOMA CITY            OK
54830   2C4RC1BG1KR650480   Chrysler      PACIFICA             LAS VEGAS                NV
54831   2C4RC1BG1KR650513   Chrysler      PACIFICA             KNOXVILLE                TN
54832   2C4RC1BG1KR650527   Chrysler      PACIFICA             SAN ANTONIO              TX
54833   2C4RC1BG1KR650561   Chrysler      PACIFICA             ORLANDO                  FL
54834   2C4RC1BG1KR650589   Chrysler      PACIFICA             NEW YORK CITY            NY
54835   2C4RC1BG1KR650611   Chrysler      PACIFICA             CHICAGO                  IL
54836   2C4RC1BG1KR650687   Chrysler      PACIFICA             SAN JOSE                 CA
54837   2C4RC1BG1KR650740   Chrysler      PACIFICA             HOUSTON                  TX
54838   2C4RC1BG1KR650771   Chrysler      PACIFICA             MINNEAPOLIS              MN
54839   2C4RC1BG1KR650804   Chrysler      PACIFICA             LOS ANGELES AP           CA
54840   2C4RC1BG1KR650818   Chrysler      PACIFICA             LOS ANGELES              CA
54841   2C4RC1BG1KR650883   Chrysler      PACIFICA             CHARLOTTE                NC
54842   2C4RC1BG1KR650916   Chrysler      PACIFICA             SEA TAC                  WA
54843   2C4RC1BG1KR650947   Chrysler      PACIFICA             PORTLAND                 OR
54844   2C4RC1BG1KR650950   Chrysler      PACIFICA             Hebron                   KY
54845   2C4RC1BG1KR650964   Chrysler      PACIFICA             PORTLAND                 OR
54846   2C4RC1BG1KR650978   Chrysler      PACIFICA             MEDINA                   OH
54847   2C4RC1BG1KR650981   Chrysler      PACIFICA             SEATAC                   WA
54848   2C4RC1BG1KR650995   Chrysler      PACIFICA             SAN FRANCISCO            CA
54849   2C4RC1BG1KR651029   Chrysler      PACIFICA             FORT MYERS               FL
54850   2C4RC1BG1KR651077   Chrysler      PACIFICA             Hebron                   KY
54851   2C4RC1BG1KR651144   Chrysler      PACIFICA             FORT MYERS               FL
54852   2C4RC1BG1KR651158   Chrysler      PACIFICA             WEST PALM BEACH          FL
54853   2C4RC1BG1KR651242   Chrysler      PACIFICA             SEA TAC                  WA
54854   2C4RC1BG1KR651354   Chrysler      PACIFICA             PHILADELPHIA             PA
54855   2C4RC1BG1KR651368   Chrysler      PACIFICA             HOUSTON                  TX
54856   2C4RC1BG1KR651371   Chrysler      PACIFICA             MIAMI                    FL
54857   2C4RC1BG1KR651404   Chrysler      PACIFICA             Atlanta                  GA
54858   2C4RC1BG1KR651449   Chrysler      PACIFICA             STERLING                 VA
54859   2C4RC1BG1KR651466   Chrysler      PACIFICA             NEW BERN                 NC
54860   2C4RC1BG1KR651502   Chrysler      PACIFICA             MEMPHIS                  TN
54861   2C4RC1BG1KR651516   Chrysler      PACIFICA             MILWAUKEE                WI
54862   2C4RC1BG1KR651564   Chrysler      PACIFICA             DENVER                   CO
54863   2C4RC1BG1KR651578   Chrysler      PACIFICA             Greensboro               NC
54864   2C4RC1BG1KR651600   Chrysler      PACIFICA             Atlanta                  GA
54865   2C4RC1BG1KR651659   Chrysler      PACIFICA             SAINT PAUL               MN
54866   2C4RC1BG1KR651726   Chrysler      PACIFICA             ROCHESTER                NY
54867   2C4RC1BG1KR651743   Chrysler      PACIFICA             AUSTIN                   TX
54868   2C4RC1BG1KR651774   Chrysler      PACIFICA             SACRAMENTO               CA
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54869   2C4RC1BG1KR651824   Chrysler      PACIFICA             Los Angeles              CA
54870   2C4RC1BG1KR651838   Chrysler      PACIFICA             GRAND RAPIDS             MI
54871   2C4RC1BG1KR651841   Chrysler      PACIFICA             DALLAS                   TX
54872   2C4RC1BG1KR651855   Chrysler      PACIFICA             CHICAGO                  IL
54873   2C4RC1BG1KR651919   Chrysler      PACIFICA             WARWICK                  RI
54874   2C4RC1BG1KR651922   Chrysler      PACIFICA             ORLANDO                  FL
54875   2C4RC1BG1KR651936   Chrysler      PACIFICA             Riverside                CA
54876   2C4RC1BG1KR651967   Chrysler      PACIFICA             TAMPA                    US
54877   2C4RC1BG1KR651998   Chrysler      PACIFICA             BURBANK                  CA
54878   2C4RC1BG1KR652018   Chrysler      PACIFICA             HOUSTON                  TX
54879   2C4RC1BG1KR652035   Chrysler      PACIFICA             HOUSTON                  TX
54880   2C4RC1BG1KR652049   Chrysler      PACIFICA             KENNER                   LA
54881   2C4RC1BG1KR652052   Chrysler      PACIFICA             DETROIT                  MI
54882   2C4RC1BG1KR652066   Chrysler      PACIFICA             Richmond                 VA
54883   2C4RC1BG1KR652083   Chrysler      PACIFICA             LOUISVILLE               KY
54884   2C4RC1BG1KR655033   Chrysler      PACIFICA             JACKSONVILLE             FL
54885   2C4RC1BG1KR655050   Chrysler      PACIFICA             AUSTIN                   TX
54886   2C4RC1BG1KR655114   Chrysler      PACIFICA             Sacramento               CA
54887   2C4RC1BG1KR655128   Chrysler      PACIFICA             PORTLAND                 OR
54888   2C4RC1BG1KR655131   Chrysler      PACIFICA             OAKLAND                  CA
54889   2C4RC1BG1KR657249   Chrysler      PACIFICA             SANTA ANA                CA
54890   2C4RC1BG1KR665397   Chrysler      PACIFICA             GRAND RAPIDS             MI
54891   2C4RC1BG1KR665450   Chrysler      PACIFICA             TAMPA                    FL
54892   2C4RC1BG1KR665481   Chrysler      PACIFICA             SALT LAKE CITY           US
54893   2C4RC1BG1KR665531   Chrysler      PACIFICA             Dallas                   TX
54894   2C4RC1BG1KR665545   Chrysler      PACIFICA             PORTLAND                 OR
54895   2C4RC1BG1KR665576   Chrysler      PACIFICA             Omaha                    NE
54896   2C4RC1BG1KR665593   Chrysler      PACIFICA             ORLANDO                  FL
54897   2C4RC1BG1KR665609   Chrysler      PACIFICA             SAN DIEGO                US
54898   2C4RC1BG1KR665626   Chrysler      PACIFICA             SAN ANTONIO              TX
54899   2C4RC1BG1KR665643   Chrysler      PACIFICA             FRONT ROYAL              VA
54900   2C4RC1BG1KR665657   Chrysler      PACIFICA             Salt Lake City           UT
54901   2C4RC1BG1KR665674   Chrysler      PACIFICA             SAN JOSE                 CA
54902   2C4RC1BG1KR665688   Chrysler      PACIFICA             ONTARIO                  CA
54903   2C4RC1BG1KR665707   Chrysler      PACIFICA             HOUSTON                  TX
54904   2C4RC1BG1KR665710   Chrysler      PACIFICA             PHILADELPHIA             PA
54905   2C4RC1BG1KR665724   Chrysler      PACIFICA             KANSAS CITY              MO
54906   2C4RC1BG1KR665755   Chrysler      PACIFICA             PHOENIX                  AZ
54907   2C4RC1BG1KR665853   Chrysler      PACIFICA             OMAHA                    NE
54908   2C4RC1BG1KR665867   Chrysler      PACIFICA             WARWICK                  RI
54909   2C4RC1BG1KR665898   Chrysler      PACIFICA             SEA TAC                  WA
54910   2C4RC1BG1KR665903   Chrysler      PACIFICA             Detroit                  MI
54911   2C4RC1BG1KR665917   Chrysler      PACIFICA             KNOXVILLE                TN
54912   2C4RC1BG1KR665920   Chrysler      PACIFICA             SAINT LOUIS              MO
54913   2C4RC1BG1KR665948   Chrysler      PACIFICA             PHILADELPHIA             PA
54914   2C4RC1BG1KR665951   Chrysler      PACIFICA             DETROIT                  MI
54915   2C4RC1BG1KR666002   Chrysler      PACIFICA             NASHVILLE                TN
54916   2C4RC1BG1KR666016   Chrysler      PACIFICA             BURBANK                  CA
54917   2C4RC1BG1KR672981   Chrysler      PACIFICA             KNOXVILLE                TN
54918   2C4RC1BG1KR672995   Chrysler      PACIFICA             LAS VEGAS                NV
54919   2C4RC1BG1KR673001   Chrysler      PACIFICA             Atlanta                  GA
54920   2C4RC1BG1KR673077   Chrysler      PACIFICA             PHILADELPHIA             PA
54921   2C4RC1BG1KR673113   Chrysler      PACIFICA             Los Angeles              CA
54922   2C4RC1BG1KR673161   Chrysler      PACIFICA             BIRMINGHAM               AL
54923   2C4RC1BG1KR673192   Chrysler      PACIFICA             PORTLAND                 ME
54924   2C4RC1BG1KR673211   Chrysler      PACIFICA             OAKLAND                  CA
54925   2C4RC1BG1KR673256   Chrysler      PACIFICA             LOS ANGELES              CA
54926   2C4RC1BG1KR680479   Chrysler      PACIFICA             DALLAS                   TX
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54927   2C4RC1BG1KR680501   Chrysler      PACIFICA             LOS ANGELES              CA
54928   2C4RC1BG1KR680577   Chrysler      PACIFICA             SAN JOSE                 CA
54929   2C4RC1BG1KR680630   Chrysler      PACIFICA             PORTLAND                 OR
54930   2C4RC1BG1KR680658   Chrysler      PACIFICA             SEATAC                   WA
54931   2C4RC1BG1KR680675   Chrysler      PACIFICA             SEA TAC                  WA
54932   2C4RC1BG1KR680689   Chrysler      PACIFICA             SAN JOSE                 CA
54933   2C4RC1BG1KR680806   Chrysler      PACIFICA             DALLAS                   TX
54934   2C4RC1BG1KR680899   Chrysler      PACIFICA             NEWARK                   NJ
54935   2C4RC1BG1KR680918   Chrysler      PACIFICA             Des Moines               IA
54936   2C4RC1BG1KR680952   Chrysler      PACIFICA             JACKSON                  MS
54937   2C4RC1BG1KR680983   Chrysler      PACIFICA             SALT LAKE CITY           UT
54938   2C4RC1BG1KR681003   Chrysler      PACIFICA             BIRMINGHAM               AL
54939   2C4RC1BG1KR681017   Chrysler      PACIFICA             UNION CITY               GA
54940   2C4RC1BG1KR681020   Chrysler      PACIFICA             AUSTIN                   TX
54941   2C4RC1BG1KR685259   Chrysler      PACIFICA             KENNER                   LA
54942   2C4RC1BG1KR685262   Chrysler      PACIFICA             HOUSTON                  TX
54943   2C4RC1BG1KR685326   Chrysler      PACIFICA             KANSAS CITY              MO
54944   2C4RC1BG1KR685357   Chrysler      PACIFICA             DETROIT                  MI
54945   2C4RC1BG1KR685374   Chrysler      PACIFICA             SAINT PAUL               MN
54946   2C4RC1BG1KR685388   Chrysler      PACIFICA             NEW BERN                 NC
54947   2C4RC1BG1KR685391   Chrysler      PACIFICA             SEATAC                   WA
54948   2C4RC1BG1KR685438   Chrysler      PACIFICA             DETROIT                  MI
54949   2C4RC1BG1KR685441   Chrysler      PACIFICA             WHITE PLAINS             NY
54950   2C4RC1BG1KR685472   Chrysler      PACIFICA             ATLANTA                  GA
54951   2C4RC1BG1KR685486   Chrysler      PACIFICA             LOS ANGELES              CA
54952   2C4RC1BG1KR685567   Chrysler      PACIFICA             INDIANAPOLIS             IN
54953   2C4RC1BG1KR685598   Chrysler      PACIFICA             CHICAGO                  IL
54954   2C4RC1BG1KR685648   Chrysler      PACIFICA             OMAHA                    NE
54955   2C4RC1BG1KR685665   Chrysler      PACIFICA             DENVER                   CO
54956   2C4RC1BG1KR685679   Chrysler      PACIFICA             BLOOMINGTON              IL
54957   2C4RC1BG1KR685682   Chrysler      PACIFICA             DALLAS                   TX
54958   2C4RC1BG1KR685732   Chrysler      PACIFICA             DETROIT                  MI
54959   2C4RC1BG1KR685746   Chrysler      PACIFICA             DAYTONA BEACH            FL
54960   2C4RC1BG1KR685763   Chrysler      PACIFICA             Atlanta                  GA
54961   2C4RC1BG1KR685780   Chrysler      PACIFICA             WICHITA FALLS            TX
54962   2C4RC1BG1KR698237   Chrysler      PACIFICA             HOUSTON                  TX
54963   2C4RC1BG1KR698285   Chrysler      PACIFICA             SAN JOSE                 CA
54964   2C4RC1BG1KR698304   Chrysler      PACIFICA             LAS VEGAS                NV
54965   2C4RC1BG1KR700536   Chrysler      PACIFICA             SAINT PAUL               MN
54966   2C4RC1BG1KR700567   Chrysler      PACIFICA             PORTLAND                 OR
54967   2C4RC1BG1KR700598   Chrysler      PACIFICA             SAN DIEGO                CA
54968   2C4RC1BG1KR700679   Chrysler      PACIFICA             FOLSOM                   CA
54969   2C4RC1BG1KR704697   Chrysler      PACIFICA             SAN FRANCISCO            CA
54970   2C4RC1BG1KR704747   Chrysler      PACIFICA             Manheim                  PA
54971   2C4RC1BG1KR704750   Chrysler      PACIFICA             KINGSTON                 MA
54972   2C4RC1BG1KR704781   Chrysler      PACIFICA             PHILADELPHIA             PA
54973   2C4RC1BG1KR704795   Chrysler      PACIFICA             WARWICK                  RI
54974   2C4RC1BG1KR704800   Chrysler      PACIFICA             St. Louis                MO
54975   2C4RC1BG1KR704814   Chrysler      PACIFICA             TUCSON                   AZ
54976   2C4RC1BG2JR311970   Chrysler      PACIFICA             ORLANDO                  FL
54977   2C4RC1BG2KR537119   Chrysler      PACIFICA             LOS ANGELES              CA
54978   2C4RC1BG2KR537122   Chrysler      PACIFICA             Kent                     WA
54979   2C4RC1BG2KR537153   Chrysler      PACIFICA             LAS VEGAS                NV
54980   2C4RC1BG2KR537167   Chrysler      PACIFICA             Tolleson                 AZ
54981   2C4RC1BG2KR537170   Chrysler      PACIFICA             LOS ANGELES              CA
54982   2C4RC1BG2KR537184   Chrysler      PACIFICA             DENVER                   CO
54983   2C4RC1BG2KR537198   Chrysler      PACIFICA             PENSACOLA                FL
54984   2C4RC1BG2KR537203   Chrysler      PACIFICA             SAINT PAUL               MN
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54985   2C4RC1BG2KR537234   Chrysler      PACIFICA             PITTSBURGH               PA
54986   2C4RC1BG2KR537248   Chrysler      PACIFICA             ORLANDO                  FL
54987   2C4RC1BG2KR537251   Chrysler      PACIFICA             Plainfield               IN
54988   2C4RC1BG2KR537265   Chrysler      PACIFICA             Manheim                  PA
54989   2C4RC1BG2KR537282   Chrysler      PACIFICA             WEST PALM BEACH          FL
54990   2C4RC1BG2KR537301   Chrysler      PACIFICA             ORLANDO                  FL
54991   2C4RC1BG2KR537332   Chrysler      PACIFICA             ORLANDO                  FL
54992   2C4RC1BG2KR537363   Chrysler      PACIFICA             Tolleson                 AZ
54993   2C4RC1BG2KR537377   Chrysler      PACIFICA             Davie                    FL
54994   2C4RC1BG2KR537458   Chrysler      PACIFICA             DAYTONA BEACH            FL
54995   2C4RC1BG2KR537461   Chrysler      PACIFICA             SYRACUSE                 NY
54996   2C4RC1BG2KR537489   Chrysler      PACIFICA             Fredericksburg           VA
54997   2C4RC1BG2KR537508   Chrysler      PACIFICA             TULSA                    OK
54998   2C4RC1BG2KR537511   Chrysler      PACIFICA             Tampa                    FL
54999   2C4RC1BG2KR537556   Chrysler      PACIFICA             RICHMOND                 VA
55000   2C4RC1BG2KR537573   Chrysler      PACIFICA             ORLANDO                  FL
55001   2C4RC1BG2KR537590   Chrysler      PACIFICA             Dania                    FL
55002   2C4RC1BG2KR537637   Chrysler      PACIFICA             Hayward                  CA
55003   2C4RC1BG2KR537668   Chrysler      PACIFICA             LAS VEGAS                NV
55004   2C4RC1BG2KR539288   Chrysler      PACIFICA             Ft. Myers                FL
55005   2C4RC1BG2KR539291   Chrysler      PACIFICA             Manheim                  PA
55006   2C4RC1BG2KR539324   Chrysler      PACIFICA             LOS ANGELES              CA
55007   2C4RC1BG2KR539338   Chrysler      PACIFICA             Manheim                  PA
55008   2C4RC1BG2KR539372   Chrysler      PACIFICA             MIAMI                    FL
55009   2C4RC1BG2KR539405   Chrysler      PACIFICA             Atlanta                  GA
55010   2C4RC1BG2KR539422   Chrysler      PACIFICA             SAVANNAH                 GA
55011   2C4RC1BG2KR539436   Chrysler      PACIFICA             NEW BERN                 NC
55012   2C4RC1BG2KR539484   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
55013   2C4RC1BG2KR539520   Chrysler      PACIFICA             Greensboro               NC
55014   2C4RC1BG2KR539534   Chrysler      PACIFICA             WEST COLUMBIA            SC
55015   2C4RC1BG2KR539548   Chrysler      PACIFICA             ATLANTA                  GA
55016   2C4RC1BG2KR539596   Chrysler      PACIFICA             MIAMI                    FL
55017   2C4RC1BG2KR539601   Chrysler      PACIFICA             Charlotte                NC
55018   2C4RC1BG2KR539632   Chrysler      PACIFICA             Manheim                  PA
55019   2C4RC1BG2KR539646   Chrysler      PACIFICA             KNOXVILLE                TN
55020   2C4RC1BG2KR539677   Chrysler      PACIFICA             BUFFALO                  NY
55021   2C4RC1BG2KR539680   Chrysler      PACIFICA             ORLANDO                  FL
55022   2C4RC1BG2KR539713   Chrysler      PACIFICA             BOSTON                   MA
55023   2C4RC1BG2KR539727   Chrysler      PACIFICA             KNOXVILLE                TN
55024   2C4RC1BG2KR539730   Chrysler      PACIFICA             MIAMI                    FL
55025   2C4RC1BG2KR539758   Chrysler      PACIFICA             Elkridge                 MD
55026   2C4RC1BG2KR539761   Chrysler      PACIFICA             CLEVELAND                OH
55027   2C4RC1BG2KR539825   Chrysler      PACIFICA             FORT MYERS               FL
55028   2C4RC1BG2KR539839   Chrysler      PACIFICA             Philadelphia             PA
55029   2C4RC1BG2KR539856   Chrysler      PACIFICA             SAN ANTONIO              TX
55030   2C4RC1BG2KR539873   Chrysler      PACIFICA             WILMINGTON               NC
55031   2C4RC1BG2KR539890   Chrysler      PACIFICA             DENVER                   CO
55032   2C4RC1BG2KR539940   Chrysler      PACIFICA             FORT MYERS               FL
55033   2C4RC1BG2KR539968   Chrysler      PACIFICA             ROANOKE                  VA
55034   2C4RC1BG2KR539999   Chrysler      PACIFICA             Atlanta                  GA
55035   2C4RC1BG2KR540005   Chrysler      PACIFICA             NEW BERN                 NC
55036   2C4RC1BG2KR540103   Chrysler      PACIFICA             Aurora                   CO
55037   2C4RC1BG2KR559895   Chrysler      PACIFICA             Santa Clara              CA
55038   2C4RC1BG2KR559900   Chrysler      PACIFICA             DENVER                   CO
55039   2C4RC1BG2KR559931   Chrysler      PACIFICA             MIAMI                    FL
55040   2C4RC1BG2KR559959   Chrysler      PACIFICA             LAUREL                   MD
55041   2C4RC1BG2KR559976   Chrysler      PACIFICA             NASHVILLE                TN
55042   2C4RC1BG2KR560044   Chrysler      PACIFICA             ORLANDO                  FL
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55043   2C4RC1BG2KR560075   Chrysler      PACIFICA             WEST PALM BEACH          FL
55044   2C4RC1BG2KR560092   Chrysler      PACIFICA             SARASOTA                 FL
55045   2C4RC1BG2KR560111   Chrysler      PACIFICA             SAN ANTONIO              TX
55046   2C4RC1BG2KR560142   Chrysler      PACIFICA             DFW AIRPORT              TX
55047   2C4RC1BG2KR560173   Chrysler      PACIFICA             CHARLESTON               WV
55048   2C4RC1BG2KR560898   Chrysler      PACIFICA             NEW BERN                 NC
55049   2C4RC1BG2KR560920   Chrysler      PACIFICA             MIAMI                    FL
55050   2C4RC1BG2KR560951   Chrysler      PACIFICA             Kent                     WA
55051   2C4RC1BG2KR560979   Chrysler      PACIFICA             DENVER                   CO
55052   2C4RC1BG2KR561016   Chrysler      PACIFICA             FORT MYERS               FL
55053   2C4RC1BG2KR561095   Chrysler      PACIFICA             CHICAGO                  IL
55054   2C4RC1BG2KR561100   Chrysler      PACIFICA             FORT MYERS               FL
55055   2C4RC1BG2KR561114   Chrysler      PACIFICA             HANOVER                  MD
55056   2C4RC1BG2KR561145   Chrysler      PACIFICA             Rockville Centr          NY
55057   2C4RC1BG2KR561162   Chrysler      PACIFICA             SAN ANTONIO              TX
55058   2C4RC1BG2KR581329   Chrysler      PACIFICA             HANOVER                  MD
55059   2C4RC1BG2KR581377   Chrysler      PACIFICA             ORLANDO                  FL
55060   2C4RC1BG2KR581461   Chrysler      PACIFICA             ORLANDO                  FL
55061   2C4RC1BG2KR582853   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55062   2C4RC1BG2KR582867   Chrysler      PACIFICA             COLUMBUS                 OH
55063   2C4RC1BG2KR582870   Chrysler      PACIFICA             DFW AIRPORT              TX
55064   2C4RC1BG2KR582884   Chrysler      PACIFICA             KANSAS CITY              MO
55065   2C4RC1BG2KR582898   Chrysler      PACIFICA             ORLANDO                  FL
55066   2C4RC1BG2KR582903   Chrysler      PACIFICA             SAINT LOUIS              MO
55067   2C4RC1BG2KR582917   Chrysler      PACIFICA             Detroit                  MI
55068   2C4RC1BG2KR583016   Chrysler      PACIFICA             MIAMI                    FL
55069   2C4RC1BG2KR592749   Chrysler      PACIFICA             SAINT PAUL               MN
55070   2C4RC1BG2KR592752   Chrysler      PACIFICA             Aurora                   CO
55071   2C4RC1BG2KR596753   Chrysler      PACIFICA             Rockville Centr          NY
55072   2C4RC1BG2KR596770   Chrysler      PACIFICA             SAN DIEGO                CA
55073   2C4RC1BG2KR596798   Chrysler      PACIFICA             SAN DIEGO                CA
55074   2C4RC1BG2KR596817   Chrysler      PACIFICA             Manheim                  PA
55075   2C4RC1BG2KR596820   Chrysler      PACIFICA             SAN ANTONIO              TX
55076   2C4RC1BG2KR596848   Chrysler      PACIFICA             CLEVELAND                OH
55077   2C4RC1BG2KR596851   Chrysler      PACIFICA             Manheim                  PA
55078   2C4RC1BG2KR596882   Chrysler      PACIFICA             STERLING                 VA
55079   2C4RC1BG2KR596896   Chrysler      PACIFICA             Clarksville              IN
55080   2C4RC1BG2KR596901   Chrysler      PACIFICA             CHICAGO                  IL
55081   2C4RC1BG2KR596915   Chrysler      PACIFICA             FORT MYERS               FL
55082   2C4RC1BG2KR596932   Chrysler      PACIFICA             ATLANTA                  GA
55083   2C4RC1BG2KR596963   Chrysler      PACIFICA             DAYTONA BEACH            FL
55084   2C4RC1BG2KR596980   Chrysler      PACIFICA             TAMPA                    FL
55085   2C4RC1BG2KR597028   Chrysler      PACIFICA             DETROIT                  MI
55086   2C4RC1BG2KR597031   Chrysler      PACIFICA             SARASOTA                 FL
55087   2C4RC1BG2KR597045   Chrysler      PACIFICA             JACKSONVILLE             FL
55088   2C4RC1BG2KR597062   Chrysler      PACIFICA             Pensacola                FL
55089   2C4RC1BG2KR597093   Chrysler      PACIFICA             JACKSONVILLE             FL
55090   2C4RC1BG2KR597126   Chrysler      PACIFICA             SAN DIEGO                CA
55091   2C4RC1BG2KR597157   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55092   2C4RC1BG2KR597174   Chrysler      PACIFICA             INDIANAPOLIS             IN
55093   2C4RC1BG2KR597191   Chrysler      PACIFICA             COLLEGE PARK             GA
55094   2C4RC1BG2KR617116   Chrysler      PACIFICA             Florissant               MO
55095   2C4RC1BG2KR617133   Chrysler      PACIFICA             PHOENIX                  AZ
55096   2C4RC1BG2KR617150   Chrysler      PACIFICA             ORLANDO                  FL
55097   2C4RC1BG2KR617181   Chrysler      PACIFICA             Seattle                  WA
55098   2C4RC1BG2KR624762   Chrysler      PACIFICA             HOUSTON                  TX
55099   2C4RC1BG2KR624857   Chrysler      PACIFICA             SAN DIEGO                CA
55100   2C4RC1BG2KR624969   Chrysler      PACIFICA             LOS ANGELES              CA
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55101   2C4RC1BG2KR625037   Chrysler      PACIFICA             DETROIT                  MI
55102   2C4RC1BG2KR625040   Chrysler      PACIFICA             JACKSONVILLE             FL
55103   2C4RC1BG2KR625135   Chrysler      PACIFICA             ORLANDO                  FL
55104   2C4RC1BG2KR625233   Chrysler      PACIFICA             LAS VEGAS                NV
55105   2C4RC1BG2KR625250   Chrysler      PACIFICA             Atlanta                  GA
55106   2C4RC1BG2KR625264   Chrysler      PACIFICA             NEW ALBANY               MS
55107   2C4RC1BG2KR625281   Chrysler      PACIFICA             JACKSON                  MS
55108   2C4RC1BG2KR625328   Chrysler      PACIFICA             DENVER                   CO
55109   2C4RC1BG2KR625331   Chrysler      PACIFICA             Plainfield               IN
55110   2C4RC1BG2KR625362   Chrysler      PACIFICA             Winston‐Salem            NC
55111   2C4RC1BG2KR625376   Chrysler      PACIFICA             HOUSTON                  TX
55112   2C4RC1BG2KR625393   Chrysler      PACIFICA             EL PASO                  TX
55113   2C4RC1BG2KR625409   Chrysler      PACIFICA             Union City               GA
55114   2C4RC1BG2KR625412   Chrysler      PACIFICA             LOS ANGELES              CA
55115   2C4RC1BG2KR625457   Chrysler      PACIFICA             KNOXVILLE                TN
55116   2C4RC1BG2KR625488   Chrysler      PACIFICA             LOS ANGELES              CA
55117   2C4RC1BG2KR625491   Chrysler      PACIFICA             Lebanon                  TN
55118   2C4RC1BG2KR625524   Chrysler      PACIFICA             SEATAC                   WA
55119   2C4RC1BG2KR625538   Chrysler      PACIFICA             ORLANDO                  FL
55120   2C4RC1BG2KR625569   Chrysler      PACIFICA             LOS ANGELES              CA
55121   2C4RC1BG2KR625586   Chrysler      PACIFICA             SALT LAKE CITY           US
55122   2C4RC1BG2KR625605   Chrysler      PACIFICA             TAMPA                    FL
55123   2C4RC1BG2KR625636   Chrysler      PACIFICA             SALT LAKE CITY           UT
55124   2C4RC1BG2KR625720   Chrysler      PACIFICA             MIAMI                    FL
55125   2C4RC1BG2KR625734   Chrysler      PACIFICA             Milwaukee                WI
55126   2C4RC1BG2KR625832   Chrysler      PACIFICA             Hernando                 MS
55127   2C4RC1BG2KR625913   Chrysler      PACIFICA             Atlanta                  GA
55128   2C4RC1BG2KR625989   Chrysler      PACIFICA             Atlanta                  GA
55129   2C4RC1BG2KR626026   Chrysler      PACIFICA             DALLAS                   TX
55130   2C4RC1BG2KR626091   Chrysler      PACIFICA             Tampa                    FL
55131   2C4RC1BG2KR626169   Chrysler      PACIFICA             ORLANDO                  FL
55132   2C4RC1BG2KR626219   Chrysler      PACIFICA             DETROIT                  MI
55133   2C4RC1BG2KR626236   Chrysler      PACIFICA             HOUSTON                  TX
55134   2C4RC1BG2KR626298   Chrysler      PACIFICA             HARTFORD                 CT
55135   2C4RC1BG2KR626303   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55136   2C4RC1BG2KR626334   Chrysler      PACIFICA             PHOENIX                  AZ
55137   2C4RC1BG2KR626396   Chrysler      PACIFICA             KNOXVILLE                TN
55138   2C4RC1BG2KR626415   Chrysler      PACIFICA             WEST PALM BEACH          FL
55139   2C4RC1BG2KR626463   Chrysler      PACIFICA             Atlanta                  GA
55140   2C4RC1BG2KR643666   Chrysler      PACIFICA             PALM SPRINGS             CA
55141   2C4RC1BG2KR650035   Chrysler      PACIFICA             BOSTON                   MA
55142   2C4RC1BG2KR650049   Chrysler      PACIFICA             HOUSTON                  TX
55143   2C4RC1BG2KR650102   Chrysler      PACIFICA             ORLANDO                  FL
55144   2C4RC1BG2KR650133   Chrysler      PACIFICA             Elkridge                 MD
55145   2C4RC1BG2KR650147   Chrysler      PACIFICA             NEW BERN                 NC
55146   2C4RC1BG2KR650164   Chrysler      PACIFICA             NEWARK                   NJ
55147   2C4RC1BG2KR650181   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
55148   2C4RC1BG2KR650195   Chrysler      PACIFICA             MIAMI                    FL
55149   2C4RC1BG2KR650228   Chrysler      PACIFICA             FORT MYERS               FL
55150   2C4RC1BG2KR650231   Chrysler      PACIFICA             Davie                    FL
55151   2C4RC1BG2KR650245   Chrysler      PACIFICA             Atlanta                  GA
55152   2C4RC1BG2KR650259   Chrysler      PACIFICA             SARASOTA                 FL
55153   2C4RC1BG2KR650262   Chrysler      PACIFICA             COLLEGE PARK             GA
55154   2C4RC1BG2KR650293   Chrysler      PACIFICA             MCALLEN                  TX
55155   2C4RC1BG2KR650309   Chrysler      PACIFICA             BLOOMINGTON              IL
55156   2C4RC1BG2KR650312   Chrysler      PACIFICA             LOUISVILLE               KY
55157   2C4RC1BG2KR650374   Chrysler      PACIFICA             SALT LAKE CITY           UT
55158   2C4RC1BG2KR650388   Chrysler      PACIFICA             MEMPHIS                  TN
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55159   2C4RC1BG2KR650407   Chrysler      PACIFICA             Manheim                  PA
55160   2C4RC1BG2KR650424   Chrysler      PACIFICA             DALLAS                   TX
55161   2C4RC1BG2KR650438   Chrysler      PACIFICA             MIAMI                    FL
55162   2C4RC1BG2KR650455   Chrysler      PACIFICA             NEW ORLEANS              LA
55163   2C4RC1BG2KR650522   Chrysler      PACIFICA             RALIEGH                  NC
55164   2C4RC1BG2KR650584   Chrysler      PACIFICA             SAN DIEGO                CA
55165   2C4RC1BG2KR650651   Chrysler      PACIFICA             PORTLAND                 OR
55166   2C4RC1BG2KR650665   Chrysler      PACIFICA             RENO                     NV
55167   2C4RC1BG2KR650679   Chrysler      PACIFICA             HOUSTON                  TX
55168   2C4RC1BG2KR650682   Chrysler      PACIFICA             Jacksonville             FL
55169   2C4RC1BG2KR650715   Chrysler      PACIFICA             San Diego                CA
55170   2C4RC1BG2KR650729   Chrysler      PACIFICA             TULSA                    OK
55171   2C4RC1BG2KR650777   Chrysler      PACIFICA             Stockton                 CA
55172   2C4RC1BG2KR650780   Chrysler      PACIFICA             Hayward                  CA
55173   2C4RC1BG2KR650794   Chrysler      PACIFICA             WEST PALM BEACH          FL
55174   2C4RC1BG2KR650827   Chrysler      PACIFICA             PHOENIX                  AZ
55175   2C4RC1BG2KR650844   Chrysler      PACIFICA             PHOENIX                  AZ
55176   2C4RC1BG2KR650858   Chrysler      PACIFICA             BURBANK                  CA
55177   2C4RC1BG2KR650889   Chrysler      PACIFICA             AUSTIN                   TX
55178   2C4RC1BG2KR650911   Chrysler      PACIFICA             HOUSTON                  TX
55179   2C4RC1BG2KR650939   Chrysler      PACIFICA             LAS VEGAS                NV
55180   2C4RC1BG2KR650973   Chrysler      PACIFICA             SALT LAKE CITY           UT
55181   2C4RC1BG2KR651007   Chrysler      PACIFICA             Miami                    FL
55182   2C4RC1BG2KR651055   Chrysler      PACIFICA             San Diego                CA
55183   2C4RC1BG2KR651069   Chrysler      PACIFICA             KNOXVILLE                TN
55184   2C4RC1BG2KR651086   Chrysler      PACIFICA             KNOXVILLE                TN
55185   2C4RC1BG2KR651136   Chrysler      PACIFICA             North Dighton            MA
55186   2C4RC1BG2KR651167   Chrysler      PACIFICA             ORLANDO                  FL
55187   2C4RC1BG2KR651198   Chrysler      PACIFICA             LOS ANGELES              CA
55188   2C4RC1BG2KR651203   Chrysler      PACIFICA             FAYETTEVILLE             US
55189   2C4RC1BG2KR651217   Chrysler      PACIFICA             CLEVELAND                OH
55190   2C4RC1BG2KR651251   Chrysler      PACIFICA             PHOENIX                  AZ
55191   2C4RC1BG2KR651315   Chrysler      PACIFICA             ST PAUL                  MN
55192   2C4RC1BG2KR651329   Chrysler      PACIFICA             SARASOTA                 FL
55193   2C4RC1BG2KR651332   Chrysler      PACIFICA             Roseville                CA
55194   2C4RC1BG2KR651346   Chrysler      PACIFICA             SALT LAKE CITY           UT
55195   2C4RC1BG2KR651363   Chrysler      PACIFICA             CLEVELAND                OH
55196   2C4RC1BG2KR651380   Chrysler      PACIFICA             SAINT PAUL               MN
55197   2C4RC1BG2KR651427   Chrysler      PACIFICA             MIAMI                    FL
55198   2C4RC1BG2KR651430   Chrysler      PACIFICA             HOUSTON                  TX
55199   2C4RC1BG2KR651458   Chrysler      PACIFICA             CLEVELAND                OH
55200   2C4RC1BG2KR651475   Chrysler      PACIFICA             CHARLESTON               SC
55201   2C4RC1BG2KR651489   Chrysler      PACIFICA             SOUTH BURLINGTO          VT
55202   2C4RC1BG2KR651508   Chrysler      PACIFICA             LAS VEGAS                NV
55203   2C4RC1BG2KR651511   Chrysler      PACIFICA             CHICAGO                  IL
55204   2C4RC1BG2KR651525   Chrysler      PACIFICA             COLUMBUS                 OH
55205   2C4RC1BG2KR651539   Chrysler      PACIFICA             STERLING                 VA
55206   2C4RC1BG2KR651573   Chrysler      PACIFICA             MILWAUKEE                WI
55207   2C4RC1BG2KR651587   Chrysler      PACIFICA             Davie                    FL
55208   2C4RC1BG2KR651623   Chrysler      PACIFICA             KENNER                   LA
55209   2C4RC1BG2KR651637   Chrysler      PACIFICA             Kennesaw                 GA
55210   2C4RC1BG2KR651640   Chrysler      PACIFICA             FORT MYERS               FL
55211   2C4RC1BG2KR651654   Chrysler      PACIFICA             PORTLAND                 ME
55212   2C4RC1BG2KR651699   Chrysler      PACIFICA             KNOXVILLE                TN
55213   2C4RC1BG2KR651721   Chrysler      PACIFICA             CLEVELAND                OH
55214   2C4RC1BG2KR651752   Chrysler      PACIFICA             ONTARIO                  CA
55215   2C4RC1BG2KR651783   Chrysler      PACIFICA             AUSTIN                   TX
55216   2C4RC1BG2KR651816   Chrysler      PACIFICA             ORLANDO                  FL
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55217   2C4RC1BG2KR651833   Chrysler      PACIFICA             HARTFORD                 CT
55218   2C4RC1BG2KR651864   Chrysler      PACIFICA             CHICAGO                  IL
55219   2C4RC1BG2KR651881   Chrysler      PACIFICA             DALLAS                   TX
55220   2C4RC1BG2KR651900   Chrysler      PACIFICA             Warr Acres               OK
55221   2C4RC1BG2KR651914   Chrysler      PACIFICA             DALLAS                   TX
55222   2C4RC1BG2KR651931   Chrysler      PACIFICA             MIAMI                    FL
55223   2C4RC1BG2KR651959   Chrysler      PACIFICA             CHICAGO                  IL
55224   2C4RC1BG2KR651976   Chrysler      PACIFICA             New York                 NY
55225   2C4RC1BG2KR652013   Chrysler      PACIFICA             WEST PALM BEACH          FL
55226   2C4RC1BG2KR652027   Chrysler      PACIFICA             Carleton                 MI
55227   2C4RC1BG2KR652030   Chrysler      PACIFICA             SAN FRANCISCO            CA
55228   2C4RC1BG2KR652044   Chrysler      PACIFICA             AUSTIN                   TX
55229   2C4RC1BG2KR652058   Chrysler      PACIFICA             Webster                  NY
55230   2C4RC1BG2KR652061   Chrysler      PACIFICA             SAINT PAUL               MN
55231   2C4RC1BG2KR652075   Chrysler      PACIFICA             San Antonio              TX
55232   2C4RC1BG2KR652092   Chrysler      PACIFICA             Miami                    FL
55233   2C4RC1BG2KR655039   Chrysler      PACIFICA             ORLANDO                  FL
55234   2C4RC1BG2KR655073   Chrysler      PACIFICA             NEWPORT BEACH            CA
55235   2C4RC1BG2KR655090   Chrysler      PACIFICA             LOS ANGELES              CA
55236   2C4RC1BG2KR655106   Chrysler      PACIFICA             SAN FRANCISCO            CA
55237   2C4RC1BG2KR655123   Chrysler      PACIFICA             KENNER                   LA
55238   2C4RC1BG2KR655140   Chrysler      PACIFICA             SEA TAC                  WA
55239   2C4RC1BG2KR657244   Chrysler      PACIFICA             TUCSON                   AZ
55240   2C4RC1BG2KR657258   Chrysler      PACIFICA             LOS ANGELES              CA
55241   2C4RC1BG2KR657261   Chrysler      PACIFICA             MILWAUKEE                WI
55242   2C4RC1BG2KR657308   Chrysler      PACIFICA             SEATAC                   WA
55243   2C4RC1BG2KR665375   Chrysler      PACIFICA             SAN FRANCISCO            CA
55244   2C4RC1BG2KR665442   Chrysler      PACIFICA             SACRAMENTO               CA
55245   2C4RC1BG2KR665473   Chrysler      PACIFICA             COSTA MESA               CA
55246   2C4RC1BG2KR665487   Chrysler      PACIFICA             Reno                     NV
55247   2C4RC1BG2KR665506   Chrysler      PACIFICA             DENVER                   CO
55248   2C4RC1BG2KR665537   Chrysler      PACIFICA             PORTLAND                 OR
55249   2C4RC1BG2KR665568   Chrysler      PACIFICA             LAS VEGAS                NV
55250   2C4RC1BG2KR665585   Chrysler      PACIFICA             PALM SPRINGS             CA
55251   2C4RC1BG2KR665604   Chrysler      PACIFICA             SAN JOSE                 CA
55252   2C4RC1BG2KR665618   Chrysler      PACIFICA             SEATAC                   WA
55253   2C4RC1BG2KR665635   Chrysler      PACIFICA             Downey                   CA
55254   2C4RC1BG2KR665649   Chrysler      PACIFICA             JAMAICA                  NY
55255   2C4RC1BG2KR665702   Chrysler      PACIFICA             JACKSONVILLE             FL
55256   2C4RC1BG2KR665747   Chrysler      PACIFICA             CLEVELAND                OH
55257   2C4RC1BG2KR665778   Chrysler      PACIFICA             KNOXVILLE                TN
55258   2C4RC1BG2KR665781   Chrysler      PACIFICA             FRESNO                   CA
55259   2C4RC1BG2KR665831   Chrysler      PACIFICA             Riverside                CA
55260   2C4RC1BG2KR665926   Chrysler      PACIFICA             Atlanta                  GA
55261   2C4RC1BG2KR666008   Chrysler      PACIFICA             Albuquerque              NM
55262   2C4RC1BG2KR672987   Chrysler      PACIFICA             KANSAS CITY              US
55263   2C4RC1BG2KR673038   Chrysler      PACIFICA             INDIANAPOLIS             IN
55264   2C4RC1BG2KR673055   Chrysler      PACIFICA             AUSTIN                   TX
55265   2C4RC1BG2KR673153   Chrysler      PACIFICA             MEMPHIS                  TN
55266   2C4RC1BG2KR673167   Chrysler      PACIFICA             RONKONKOMA               NY
55267   2C4RC1BG2KR673170   Chrysler      PACIFICA             RALEIGH                  NC
55268   2C4RC1BG2KR673220   Chrysler      PACIFICA             NEWARK                   NJ
55269   2C4RC1BG2KR673234   Chrysler      PACIFICA             TAMPA                    FL
55270   2C4RC1BG2KR673265   Chrysler      PACIFICA             DAYTONA BEACH            FL
55271   2C4RC1BG2KR680460   Chrysler      PACIFICA             PHOENIX                  AZ
55272   2C4RC1BG2KR680488   Chrysler      PACIFICA             SEATAC                   WA
55273   2C4RC1BG2KR680538   Chrysler      PACIFICA             LOS ANGELES AP           CA
55274   2C4RC1BG2KR680555   Chrysler      PACIFICA             Manheim                  PA
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55275   2C4RC1BG2KR680569   Chrysler      PACIFICA             LOS ANGELES              CA
55276   2C4RC1BG2KR680605   Chrysler      PACIFICA             LAS VEGAS                NV
55277   2C4RC1BG2KR680622   Chrysler      PACIFICA             LOS ANGELES              CA
55278   2C4RC1BG2KR680684   Chrysler      PACIFICA             OAKLAND                  CA
55279   2C4RC1BG2KR680698   Chrysler      PACIFICA             HARTFORD                 CT
55280   2C4RC1BG2KR680734   Chrysler      PACIFICA             ANCHORAGE                AK
55281   2C4RC1BG2KR680782   Chrysler      PACIFICA             SAN JOSE                 CA
55282   2C4RC1BG2KR680796   Chrysler      PACIFICA             SAN ANTONIO              TX
55283   2C4RC1BG2KR680832   Chrysler      PACIFICA             PHOENIX                  AZ
55284   2C4RC1BG2KR680944   Chrysler      PACIFICA             SAINT LOUIS              MO
55285   2C4RC1BG2KR680961   Chrysler      PACIFICA             HOUSTON                  TX
55286   2C4RC1BG2KR680975   Chrysler      PACIFICA             LOS ANGELES              CA
55287   2C4RC1BG2KR681009   Chrysler      PACIFICA             SAINT LOUIS              MO
55288   2C4RC1BG2KR685285   Chrysler      PACIFICA             WEST COLUMBIA            SC
55289   2C4RC1BG2KR685299   Chrysler      PACIFICA             Hebron                   KY
55290   2C4RC1BG2KR685352   Chrysler      PACIFICA             DETROIT                  MI
55291   2C4RC1BG2KR685450   Chrysler      PACIFICA             CHARLOTTE                NC
55292   2C4RC1BG2KR685464   Chrysler      PACIFICA             ALBANY                   N
55293   2C4RC1BG2KR685478   Chrysler      PACIFICA             CLEVELAND                OH
55294   2C4RC1BG2KR685481   Chrysler      PACIFICA             ROCHESTER                NY
55295   2C4RC1BG2KR685500   Chrysler      PACIFICA             ROCHESTER                NY
55296   2C4RC1BG2KR685514   Chrysler      PACIFICA             CHARLOTTE                NC
55297   2C4RC1BG2KR685528   Chrysler      PACIFICA             CHARLESTON               WV
55298   2C4RC1BG2KR685576   Chrysler      PACIFICA             TUCSON                   AZ
55299   2C4RC1BG2KR685593   Chrysler      PACIFICA             SACRAMENTO               CA
55300   2C4RC1BG2KR685707   Chrysler      PACIFICA             CHARLOTTE                NC
55301   2C4RC1BG2KR685738   Chrysler      PACIFICA             NORFOLK                  VA
55302   2C4RC1BG2KR685755   Chrysler      PACIFICA             WOODSON TERRACE          MO
55303   2C4RC1BG2KR685769   Chrysler      PACIFICA             INDIANAPOLIS             IN
55304   2C4RC1BG2KR685786   Chrysler      PACIFICA             North Dighton            MA
55305   2C4RC1BG2KR698246   Chrysler      PACIFICA             Dallas                   TX
55306   2C4RC1BG2KR698263   Chrysler      PACIFICA             SAN JOSE                 CA
55307   2C4RC1BG2KR698277   Chrysler      PACIFICA             BIRMINGHAM               AL
55308   2C4RC1BG2KR698294   Chrysler      PACIFICA             SEATAC                   WA
55309   2C4RC1BG2KR700559   Chrysler      PACIFICA             SEA TAC                  WA
55310   2C4RC1BG2KR700562   Chrysler      PACIFICA             NEW YORK CITY            NY
55311   2C4RC1BG2KR700593   Chrysler      PACIFICA             LOS ANGELES              CA
55312   2C4RC1BG2KR700674   Chrysler      PACIFICA             MILWAUKEE                WI
55313   2C4RC1BG2KR700688   Chrysler      PACIFICA             OAKLAND                  CA
55314   2C4RC1BG2KR704837   Chrysler      PACIFICA             DETROIT                  MI
55315   2C4RC1BG3KR537128   Chrysler      PACIFICA             BURBANK                  CA
55316   2C4RC1BG3KR537131   Chrysler      PACIFICA             Anaheim                  CA
55317   2C4RC1BG3KR537176   Chrysler      PACIFICA             LAS VEGAS                NV
55318   2C4RC1BG3KR537209   Chrysler      PACIFICA             Rockville Centr          NY
55319   2C4RC1BG3KR537274   Chrysler      PACIFICA             MIAMI                    FL
55320   2C4RC1BG3KR537288   Chrysler      PACIFICA             TAMPA                    FL
55321   2C4RC1BG3KR537291   Chrysler      PACIFICA             Tolleson                 AZ
55322   2C4RC1BG3KR537307   Chrysler      PACIFICA             Lake in the Hil          IL
55323   2C4RC1BG3KR537355   Chrysler      PACIFICA             ORLANDO                  FL
55324   2C4RC1BG3KR537372   Chrysler      PACIFICA             FORT MYERS               FL
55325   2C4RC1BG3KR537422   Chrysler      PACIFICA             MEMPHIS                  TN
55326   2C4RC1BG3KR537436   Chrysler      PACIFICA             Kent                     WA
55327   2C4RC1BG3KR537453   Chrysler      PACIFICA             Pasadena                 CA
55328   2C4RC1BG3KR537470   Chrysler      PACIFICA             TAMPA                    FL
55329   2C4RC1BG3KR537498   Chrysler      PACIFICA             Buffalo                  NY
55330   2C4RC1BG3KR537503   Chrysler      PACIFICA             FORT MYERS               FL
55331   2C4RC1BG3KR537548   Chrysler      PACIFICA             NEW BERN                 NC
55332   2C4RC1BG3KR537565   Chrysler      PACIFICA             Miami                    FL
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55333   2C4RC1BG3KR537579   Chrysler      PACIFICA             MIAMI                    FL
55334   2C4RC1BG3KR537582   Chrysler      PACIFICA             Greensboro               NC
55335   2C4RC1BG3KR537601   Chrysler      PACIFICA             TAMPA                    FL
55336   2C4RC1BG3KR537663   Chrysler      PACIFICA             NEW ORLEANS              LA
55337   2C4RC1BG3KR539283   Chrysler      PACIFICA             EL PASO                  TX
55338   2C4RC1BG3KR539297   Chrysler      PACIFICA             Manheim                  PA
55339   2C4RC1BG3KR539302   Chrysler      PACIFICA             DENVER                   CO
55340   2C4RC1BG3KR539316   Chrysler      PACIFICA             SAN FRANCISCO            CA
55341   2C4RC1BG3KR539333   Chrysler      PACIFICA             Albuquerque              NM
55342   2C4RC1BG3KR539364   Chrysler      PACIFICA             TAMPA                    FL
55343   2C4RC1BG3KR539395   Chrysler      PACIFICA             Hamilton                 OH
55344   2C4RC1BG3KR539400   Chrysler      PACIFICA             WEST PALM BEACH          FL
55345   2C4RC1BG3KR539445   Chrysler      PACIFICA             Davie                    FL
55346   2C4RC1BG3KR539462   Chrysler      PACIFICA             GRAND RAPIDS             MI
55347   2C4RC1BG3KR539476   Chrysler      PACIFICA             FORT MYERS               FL
55348   2C4RC1BG3KR539493   Chrysler      PACIFICA             Warminster               PA
55349   2C4RC1BG3KR539574   Chrysler      PACIFICA             ATLANTA                  GA
55350   2C4RC1BG3KR539591   Chrysler      PACIFICA             Louisville               KY
55351   2C4RC1BG3KR539624   Chrysler      PACIFICA             HANOVER                  MD
55352   2C4RC1BG3KR539669   Chrysler      PACIFICA             Elkridge                 MD
55353   2C4RC1BG3KR539672   Chrysler      PACIFICA             Manheim                  PA
55354   2C4RC1BG3KR539705   Chrysler      PACIFICA             Rio Linda                CA
55355   2C4RC1BG3KR539722   Chrysler      PACIFICA             SAVANNAH                 GA
55356   2C4RC1BG3KR539736   Chrysler      PACIFICA             NASHVILLE                TN
55357   2C4RC1BG3KR539784   Chrysler      PACIFICA             Manheim                  PA
55358   2C4RC1BG3KR539798   Chrysler      PACIFICA             MIAMI                    FL
55359   2C4RC1BG3KR539834   Chrysler      PACIFICA             JACKSONVILLE             FL
55360   2C4RC1BG3KR539851   Chrysler      PACIFICA             Atlanta                  GA
55361   2C4RC1BG3KR539879   Chrysler      PACIFICA             Manheim                  PA
55362   2C4RC1BG3KR539896   Chrysler      PACIFICA             Manheim                  PA
55363   2C4RC1BG3KR539901   Chrysler      PACIFICA             Chicago                  IL
55364   2C4RC1BG3KR539929   Chrysler      PACIFICA             CHARLESTON               WV
55365   2C4RC1BG3KR539932   Chrysler      PACIFICA             CHARLESTON               WV
55366   2C4RC1BG3KR539977   Chrysler      PACIFICA             Orlando                  FL
55367   2C4RC1BG3KR540014   Chrysler      PACIFICA             SAINT PAUL               MN
55368   2C4RC1BG3KR540028   Chrysler      PACIFICA             PHOENIX                  AZ
55369   2C4RC1BG3KR559887   Chrysler      PACIFICA             LOS ANGELES              CA
55370   2C4RC1BG3KR559906   Chrysler      PACIFICA             North Dighton            MA
55371   2C4RC1BG3KR559954   Chrysler      PACIFICA             TAMPA                    FL
55372   2C4RC1BG3KR559968   Chrysler      PACIFICA             NEWARK                   NJ
55373   2C4RC1BG3KR559985   Chrysler      PACIFICA             Miami                    FL
55374   2C4RC1BG3KR560019   Chrysler      PACIFICA             SARASOTA                 FL
55375   2C4RC1BG3KR560053   Chrysler      PACIFICA             ATLANTA                  GA
55376   2C4RC1BG3KR560070   Chrysler      PACIFICA             Coraopolis               PA
55377   2C4RC1BG3KR560117   Chrysler      PACIFICA             HOUSTON                  TX
55378   2C4RC1BG3KR560893   Chrysler      PACIFICA             Hayward                  CA
55379   2C4RC1BG3KR560909   Chrysler      PACIFICA             CHICAGO                  IL
55380   2C4RC1BG3KR560926   Chrysler      PACIFICA             HOUSTON                  TX
55381   2C4RC1BG3KR560957   Chrysler      PACIFICA             PHILADELPHIA             PA
55382   2C4RC1BG3KR560960   Chrysler      PACIFICA             FORT MYERS               FL
55383   2C4RC1BG3KR560974   Chrysler      PACIFICA             ORLANDO                  FL
55384   2C4RC1BG3KR561039   Chrysler      PACIFICA             Winter Park              FL
55385   2C4RC1BG3KR561137   Chrysler      PACIFICA             CHARLOTTE                NC
55386   2C4RC1BG3KR561154   Chrysler      PACIFICA             TALLAHASSEE              FL
55387   2C4RC1BG3KR561168   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55388   2C4RC1BG3KR581324   Chrysler      PACIFICA             MIAMI                    FL
55389   2C4RC1BG3KR581369   Chrysler      PACIFICA             TAMPA                    FL
55390   2C4RC1BG3KR581372   Chrysler      PACIFICA             ORLANDO                  FL
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55391   2C4RC1BG3KR581453   Chrysler      PACIFICA             HOUSTON                  TX
55392   2C4RC1BG3KR581484   Chrysler      PACIFICA             GROVE CITY               PA
55393   2C4RC1BG3KR581548   Chrysler      PACIFICA             Ft. Myers                FL
55394   2C4RC1BG3KR581551   Chrysler      PACIFICA             ORANGE COUNTY            CA
55395   2C4RC1BG3KR582845   Chrysler      PACIFICA             ORLANDO                  FL
55396   2C4RC1BG3KR582862   Chrysler      PACIFICA             AUSTIN                   TX
55397   2C4RC1BG3KR582926   Chrysler      PACIFICA             Philadelphia             PA
55398   2C4RC1BG3KR582943   Chrysler      PACIFICA             ORLANDO                  FL
55399   2C4RC1BG3KR582957   Chrysler      PACIFICA             MILWAUKEE                WI
55400   2C4RC1BG3KR582960   Chrysler      PACIFICA             FORT MYERS               FL
55401   2C4RC1BG3KR582974   Chrysler      PACIFICA             BIRMINGHAM               AL
55402   2C4RC1BG3KR583011   Chrysler      PACIFICA             AUGUSTA                  GA
55403   2C4RC1BG3KR583056   Chrysler      PACIFICA             ORLANDO                  FL
55404   2C4RC1BG3KR583073   Chrysler      PACIFICA             PHILADELPHIA             PA
55405   2C4RC1BG3KR592744   Chrysler      PACIFICA             PHOENIX                  AZ
55406   2C4RC1BG3KR592761   Chrysler      PACIFICA             ONTARIO, RIVERSIDE       CA
55407   2C4RC1BG3KR596776   Chrysler      PACIFICA             LAS VEGAS                NV
55408   2C4RC1BG3KR596809   Chrysler      PACIFICA             LAS VEGAS                NV
55409   2C4RC1BG3KR596826   Chrysler      PACIFICA             Fresno                   CA
55410   2C4RC1BG3KR596843   Chrysler      PACIFICA             Miami                    FL
55411   2C4RC1BG3KR596857   Chrysler      PACIFICA             CHICAGO                  IL
55412   2C4RC1BG3KR596874   Chrysler      PACIFICA             WARWICK                  RI
55413   2C4RC1BG3KR596891   Chrysler      PACIFICA             Atlanta                  GA
55414   2C4RC1BG3KR596910   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55415   2C4RC1BG3KR596938   Chrysler      PACIFICA             FORT MYERS               FL
55416   2C4RC1BG3KR596955   Chrysler      PACIFICA             LAS VEGAS                NV
55417   2C4RC1BG3KR596986   Chrysler      PACIFICA             FORT MYERS               FL
55418   2C4RC1BG3KR597023   Chrysler      PACIFICA             JACKSONVILLE             FL
55419   2C4RC1BG3KR597071   Chrysler      PACIFICA             CLEVELAND                OH
55420   2C4RC1BG3KR597085   Chrysler      PACIFICA             ORLANDO                  FL
55421   2C4RC1BG3KR597118   Chrysler      PACIFICA             MIAMI                    FL
55422   2C4RC1BG3KR597135   Chrysler      PACIFICA             WEST COLUMBIA            SC
55423   2C4RC1BG3KR597149   Chrysler      PACIFICA             AUSTIN                   TX
55424   2C4RC1BG3KR597166   Chrysler      PACIFICA             PHILADELPHIA             PA
55425   2C4RC1BG3KR597183   Chrysler      PACIFICA             SAINT LOUIS              MO
55426   2C4RC1BG3KR597202   Chrysler      PACIFICA             ATLANTA                  GA
55427   2C4RC1BG3KR617139   Chrysler      PACIFICA             Albuquerque              NM
55428   2C4RC1BG3KR617142   Chrysler      PACIFICA             Albuquerque              NM
55429   2C4RC1BG3KR617187   Chrysler      PACIFICA             SAC                      CA
55430   2C4RC1BG3KR624785   Chrysler      PACIFICA             SAN DIEGO                CA
55431   2C4RC1BG3KR624799   Chrysler      PACIFICA             Hanover                  MD
55432   2C4RC1BG3KR624804   Chrysler      PACIFICA             LOS ANGELES              CA
55433   2C4RC1BG3KR624818   Chrysler      PACIFICA             TRACY                    CA
55434   2C4RC1BG3KR624835   Chrysler      PACIFICA             Norwalk                  CA
55435   2C4RC1BG3KR624852   Chrysler      PACIFICA             ONTARIO                  CA
55436   2C4RC1BG3KR624883   Chrysler      PACIFICA             SALT LAKE CITY           UT
55437   2C4RC1BG3KR624897   Chrysler      PACIFICA             LOS ANGELES              CA
55438   2C4RC1BG3KR624981   Chrysler      PACIFICA             SEATAC                   WA
55439   2C4RC1BG3KR625113   Chrysler      PACIFICA             Miami                    FL
55440   2C4RC1BG3KR625144   Chrysler      PACIFICA             Atlanta                  GA
55441   2C4RC1BG3KR625192   Chrysler      PACIFICA             ORLANDO                  FL
55442   2C4RC1BG3KR625273   Chrysler      PACIFICA             Sterling                 VA
55443   2C4RC1BG3KR625340   Chrysler      PACIFICA             BIRMINGHAM               AL
55444   2C4RC1BG3KR625354   Chrysler      PACIFICA             Philadelphia             PA
55445   2C4RC1BG3KR625368   Chrysler      PACIFICA             TAMPA                    FL
55446   2C4RC1BG3KR625435   Chrysler      PACIFICA             HOUSTON                  TX
55447   2C4RC1BG3KR625452   Chrysler      PACIFICA             ATLANTA                  GA
55448   2C4RC1BG3KR625497   Chrysler      PACIFICA             Fontana                  CA
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55449   2C4RC1BG3KR625533   Chrysler      PACIFICA             DOTHAN                   AL
55450   2C4RC1BG3KR625550   Chrysler      PACIFICA             DES MOINES               IA
55451   2C4RC1BG3KR625578   Chrysler      PACIFICA             NEW YORK CITY            NY
55452   2C4RC1BG3KR625628   Chrysler      PACIFICA             CORPUS CHRISTI           TX
55453   2C4RC1BG3KR625645   Chrysler      PACIFICA             Riverside                CA
55454   2C4RC1BG3KR625659   Chrysler      PACIFICA             LAS VEGAS                NV
55455   2C4RC1BG3KR625760   Chrysler      PACIFICA             Manheim                  PA
55456   2C4RC1BG3KR625774   Chrysler      PACIFICA             LAS VEGAS                NV
55457   2C4RC1BG3KR625838   Chrysler      PACIFICA             BOSTON                   MA
55458   2C4RC1BG3KR625855   Chrysler      PACIFICA             BOSTON                   MA
55459   2C4RC1BG3KR625872   Chrysler      PACIFICA             BROOKLYN                 NY
55460   2C4RC1BG3KR625953   Chrysler      PACIFICA             LITTLE ROCK              AR
55461   2C4RC1BG3KR626066   Chrysler      PACIFICA             ORLANDO                  FL
55462   2C4RC1BG3KR626097   Chrysler      PACIFICA             PHILADELPHIA             PA
55463   2C4RC1BG3KR626228   Chrysler      PACIFICA             Stockton                 CA
55464   2C4RC1BG3KR626262   Chrysler      PACIFICA             CANTON                   T
55465   2C4RC1BG3KR626276   Chrysler      PACIFICA             LAS VEGAS                NV
55466   2C4RC1BG3KR626309   Chrysler      PACIFICA             ATLANTA                  GA
55467   2C4RC1BG3KR626343   Chrysler      PACIFICA             ORLANDO                  FL
55468   2C4RC1BG3KR626360   Chrysler      PACIFICA             Statesville              NC
55469   2C4RC1BG3KR626391   Chrysler      PACIFICA             LAS VEGAS                NV
55470   2C4RC1BG3KR626424   Chrysler      PACIFICA             DARLINGTON               SC
55471   2C4RC1BG3KR626472   Chrysler      PACIFICA             Manheim                  PA
55472   2C4RC1BG3KR643661   Chrysler      PACIFICA             HOUSTON                  TX
55473   2C4RC1BG3KR650030   Chrysler      PACIFICA             LOUISVILLE               KY
55474   2C4RC1BG3KR650044   Chrysler      PACIFICA             MIAMI                    FL
55475   2C4RC1BG3KR650061   Chrysler      PACIFICA             SAN ANTONIO              TX
55476   2C4RC1BG3KR650089   Chrysler      PACIFICA             WARWICK                  RI
55477   2C4RC1BG3KR650092   Chrysler      PACIFICA             Miami                    FL
55478   2C4RC1BG3KR650111   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55479   2C4RC1BG3KR650139   Chrysler      PACIFICA             PHILADELPHIA             PA
55480   2C4RC1BG3KR650156   Chrysler      PACIFICA             Atlanta                  GA
55481   2C4RC1BG3KR650223   Chrysler      PACIFICA             Atlanta                  GA
55482   2C4RC1BG3KR650237   Chrysler      PACIFICA             LOS ANGELES              CA
55483   2C4RC1BG3KR650285   Chrysler      PACIFICA             PORTLAND                 ME
55484   2C4RC1BG3KR650299   Chrysler      PACIFICA             KNOXVILLE                TN
55485   2C4RC1BG3KR650349   Chrysler      PACIFICA             DETROIT                  MI
55486   2C4RC1BG3KR650352   Chrysler      PACIFICA             Miami                    FL
55487   2C4RC1BG3KR650366   Chrysler      PACIFICA             North Dighton            MA
55488   2C4RC1BG3KR650397   Chrysler      PACIFICA             CLEVELAND                OH
55489   2C4RC1BG3KR650402   Chrysler      PACIFICA             MIDLAND                  TX
55490   2C4RC1BG3KR650416   Chrysler      PACIFICA             Los Angeles              CA
55491   2C4RC1BG3KR650433   Chrysler      PACIFICA             Atlanta                  GA
55492   2C4RC1BG3KR650481   Chrysler      PACIFICA             KNOXVILLE                TN
55493   2C4RC1BG3KR650514   Chrysler      PACIFICA             DICKINSON                ND
55494   2C4RC1BG3KR650528   Chrysler      PACIFICA             MILWAUKEE                WI
55495   2C4RC1BG3KR650531   Chrysler      PACIFICA             North Dighton            MA
55496   2C4RC1BG3KR650576   Chrysler      PACIFICA             ORLANDO                  FL
55497   2C4RC1BG3KR650609   Chrysler      PACIFICA             DFW AIRPORT              TX
55498   2C4RC1BG3KR650626   Chrysler      PACIFICA             INGLEWOOD                CA
55499   2C4RC1BG3KR650657   Chrysler      PACIFICA             MILWAUKEE                WI
55500   2C4RC1BG3KR650674   Chrysler      PACIFICA             Burien                   WA
55501   2C4RC1BG3KR650707   Chrysler      PACIFICA             BOSTON                   MA
55502   2C4RC1BG3KR650755   Chrysler      PACIFICA             RENO                     NV
55503   2C4RC1BG3KR650772   Chrysler      PACIFICA             LOS ANGELES              CA
55504   2C4RC1BG3KR650836   Chrysler      PACIFICA             SACRAMENTO               CA
55505   2C4RC1BG3KR650853   Chrysler      PACIFICA             ONTARIO                  CA
55506   2C4RC1BG3KR650867   Chrysler      PACIFICA             LAS VEGAS                NV
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55507   2C4RC1BG3KR650870   Chrysler      PACIFICA             SANTA ANA                CA
55508   2C4RC1BG3KR650903   Chrysler      PACIFICA             Atlanta                  GA
55509   2C4RC1BG3KR650951   Chrysler      PACIFICA             SALT LAKE CITY           US
55510   2C4RC1BG3KR650979   Chrysler      PACIFICA             SAN DIEGO                CA
55511   2C4RC1BG3KR650996   Chrysler      PACIFICA             SEATAC                   WA
55512   2C4RC1BG3KR651033   Chrysler      PACIFICA             Greensboro               NC
55513   2C4RC1BG3KR651047   Chrysler      PACIFICA             Atlanta                  GA
55514   2C4RC1BG3KR651050   Chrysler      PACIFICA             PANAMA CITY              FL
55515   2C4RC1BG3KR651064   Chrysler      PACIFICA             Tampa                    FL
55516   2C4RC1BG3KR651078   Chrysler      PACIFICA             LOS ANGELES              CA
55517   2C4RC1BG3KR651095   Chrysler      PACIFICA             ORLANDO                  FL
55518   2C4RC1BG3KR651114   Chrysler      PACIFICA             Atlanta                  GA
55519   2C4RC1BG3KR651145   Chrysler      PACIFICA             MILWAUKEE                WI
55520   2C4RC1BG3KR651159   Chrysler      PACIFICA             CLEVELAND                OH
55521   2C4RC1BG3KR651193   Chrysler      PACIFICA             North Dighton            MA
55522   2C4RC1BG3KR651209   Chrysler      PACIFICA             LOS ANGELES              CA
55523   2C4RC1BG3KR651212   Chrysler      PACIFICA             CHICAGO                  IL
55524   2C4RC1BG3KR651257   Chrysler      PACIFICA             NEW BERN                 NC
55525   2C4RC1BG3KR651260   Chrysler      PACIFICA             Hebron                   KY
55526   2C4RC1BG3KR651288   Chrysler      PACIFICA             SHREVEPORT               LA
55527   2C4RC1BG3KR651372   Chrysler      PACIFICA             COLUMBUS                 OH
55528   2C4RC1BG3KR651386   Chrysler      PACIFICA             LOUISVILLE               KY
55529   2C4RC1BG3KR651422   Chrysler      PACIFICA             MIAMI                    FL
55530   2C4RC1BG3KR651470   Chrysler      PACIFICA             BURBANK                  CA
55531   2C4RC1BG3KR651484   Chrysler      PACIFICA             TAMPA                    FL
55532   2C4RC1BG3KR651548   Chrysler      PACIFICA             Miami                    FL
55533   2C4RC1BG3KR651601   Chrysler      PACIFICA             CHICAGO                  IL
55534   2C4RC1BG3KR651615   Chrysler      PACIFICA             CLEVELAND                OH
55535   2C4RC1BG3KR651646   Chrysler      PACIFICA             DALLAS                   TX
55536   2C4RC1BG3KR651663   Chrysler      PACIFICA             CHICAGO                  IL
55537   2C4RC1BG3KR651680   Chrysler      PACIFICA             STERLING                 US
55538   2C4RC1BG3KR651694   Chrysler      PACIFICA             DAYTON                   OH
55539   2C4RC1BG3KR651727   Chrysler      PACIFICA             LAS VEGAS                NV
55540   2C4RC1BG3KR651730   Chrysler      PACIFICA             SACRAMENTO               CA
55541   2C4RC1BG3KR651758   Chrysler      PACIFICA             SALT LAKE CITY           US
55542   2C4RC1BG3KR651775   Chrysler      PACIFICA             NEW BERN                 NC
55543   2C4RC1BG3KR651792   Chrysler      PACIFICA             Detroit                  MI
55544   2C4RC1BG3KR651808   Chrysler      PACIFICA             DALLAS                   TX
55545   2C4RC1BG3KR651825   Chrysler      PACIFICA             AUSTIN                   TX
55546   2C4RC1BG3KR651842   Chrysler      PACIFICA             DETROIT                  MI
55547   2C4RC1BG3KR651906   Chrysler      PACIFICA             Chicago                  IL
55548   2C4RC1BG3KR651923   Chrysler      PACIFICA             ORLANDO                  FL
55549   2C4RC1BG3KR651940   Chrysler      PACIFICA             SAINT PAUL               MN
55550   2C4RC1BG3KR651968   Chrysler      PACIFICA             ORLANDO                  FL
55551   2C4RC1BG3KR651985   Chrysler      PACIFICA             WHITE PLAINS             NY
55552   2C4RC1BG3KR651999   Chrysler      PACIFICA             LOUISVILLE               KY
55553   2C4RC1BG3KR652022   Chrysler      PACIFICA             PENSACOLA                FL
55554   2C4RC1BG3KR652067   Chrysler      PACIFICA             ST PAUL                  MN
55555   2C4RC1BG3KR655079   Chrysler      PACIFICA             SAN DIEGO                CA
55556   2C4RC1BG3KR655101   Chrysler      PACIFICA             OAKLAND                  CA
55557   2C4RC1BG3KR655115   Chrysler      PACIFICA             RALEIGH                  NC
55558   2C4RC1BG3KR655129   Chrysler      PACIFICA             PORTLAND                 OR
55559   2C4RC1BG3KR665370   Chrysler      PACIFICA             WARWICK                  RI
55560   2C4RC1BG3KR665420   Chrysler      PACIFICA             DALLAS                   TX
55561   2C4RC1BG3KR665434   Chrysler      PACIFICA             SARASOTA                 FL
55562   2C4RC1BG3KR665448   Chrysler      PACIFICA             Riverside                CA
55563   2C4RC1BG3KR665515   Chrysler      PACIFICA             LOS ANGELES              CA
55564   2C4RC1BG3KR665532   Chrysler      PACIFICA             SEATAC                   WA
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55565   2C4RC1BG3KR665580   Chrysler      PACIFICA             ORLANDO                  FL
55566   2C4RC1BG3KR665594   Chrysler      PACIFICA             SANTA ANA                CA
55567   2C4RC1BG3KR665613   Chrysler      PACIFICA             WICHITA FALLS            TX
55568   2C4RC1BG3KR665627   Chrysler      PACIFICA             DENVER                   CO
55569   2C4RC1BG3KR665661   Chrysler      PACIFICA             EL PASO                  TX
55570   2C4RC1BG3KR665692   Chrysler      PACIFICA             HOUSTON                  TX
55571   2C4RC1BG3KR665711   Chrysler      PACIFICA             GRAND RAPIDS             MI
55572   2C4RC1BG3KR665806   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55573   2C4RC1BG3KR665837   Chrysler      PACIFICA             BULLHEAD CITY            AZ
55574   2C4RC1BG3KR665854   Chrysler      PACIFICA             CHICAGO                  IL
55575   2C4RC1BG3KR665868   Chrysler      PACIFICA             ORLANDO                  FL
55576   2C4RC1BG3KR665899   Chrysler      PACIFICA             HOUSTON                  TX
55577   2C4RC1BG3KR665918   Chrysler      PACIFICA             MEMPHIS                  TN
55578   2C4RC1BG3KR665966   Chrysler      PACIFICA             SARASOTA                 FL
55579   2C4RC1BG3KR665983   Chrysler      PACIFICA             WEST PALM BEACH          FL
55580   2C4RC1BG3KR665997   Chrysler      PACIFICA             CHICAGO                  IL
55581   2C4RC1BG3KR666003   Chrysler      PACIFICA             NEW BERN                 NC
55582   2C4RC1BG3KR666034   Chrysler      PACIFICA             TAMPA                    FL
55583   2C4RC1BG3KR666051   Chrysler      PACIFICA             DETROIT                  MI
55584   2C4RC1BG3KR673002   Chrysler      PACIFICA             NORFOLK                  VA
55585   2C4RC1BG3KR673047   Chrysler      PACIFICA             DALLAS                   TX
55586   2C4RC1BG3KR673131   Chrysler      PACIFICA             NEW BERN                 NC
55587   2C4RC1BG3KR673159   Chrysler      PACIFICA             STERLING                 VA
55588   2C4RC1BG3KR673162   Chrysler      PACIFICA             TAMPA                    US
55589   2C4RC1BG3KR673209   Chrysler      PACIFICA             WARWICK                  RI
55590   2C4RC1BG3KR673212   Chrysler      PACIFICA             DUNKIRK                  NY
55591   2C4RC1BG3KR680449   Chrysler      PACIFICA             BIRMINGHAM               AL
55592   2C4RC1BG3KR680483   Chrysler      PACIFICA             SAN FRANCISCO            CA
55593   2C4RC1BG3KR680502   Chrysler      PACIFICA             JACKSONVILLE             FL
55594   2C4RC1BG3KR680595   Chrysler      PACIFICA             CLEVELAND                OH
55595   2C4RC1BG3KR680628   Chrysler      PACIFICA             LAS VEGAS                NV
55596   2C4RC1BG3KR680659   Chrysler      PACIFICA             PORTLAND                 OR
55597   2C4RC1BG3KR680693   Chrysler      PACIFICA             Portland                 OR
55598   2C4RC1BG3KR680774   Chrysler      PACIFICA             SACRAMENTO               CA
55599   2C4RC1BG3KR680824   Chrysler      PACIFICA             PHOENIX                  AZ
55600   2C4RC1BG3KR680872   Chrysler      PACIFICA             DALLAS                   TX
55601   2C4RC1BG3KR680922   Chrysler      PACIFICA             DETROIT                  MI
55602   2C4RC1BG3KR680953   Chrysler      PACIFICA             SEATAC                   WA
55603   2C4RC1BG3KR680970   Chrysler      PACIFICA             DALLAS                   TX
55604   2C4RC1BG3KR681018   Chrysler      PACIFICA             HOUSTON                  TX
55605   2C4RC1BG3KR685294   Chrysler      PACIFICA             KNOXVILLE                TN
55606   2C4RC1BG3KR685313   Chrysler      PACIFICA             MILWAUKEE AIRPORT        WI
55607   2C4RC1BG3KR685327   Chrysler      PACIFICA             COLLEGE PARK             GA
55608   2C4RC1BG3KR685344   Chrysler      PACIFICA             ORLANDO                  FL
55609   2C4RC1BG3KR685375   Chrysler      PACIFICA             WARWICK                  RI
55610   2C4RC1BG3KR685392   Chrysler      PACIFICA             WHITE PLAINS             NY
55611   2C4RC1BG3KR685439   Chrysler      PACIFICA             SYRACUSE                 NY
55612   2C4RC1BG3KR685473   Chrysler      PACIFICA             BOSTON                   MA
55613   2C4RC1BG3KR685554   Chrysler      PACIFICA             MIAMI                    FL
55614   2C4RC1BG3KR685571   Chrysler      PACIFICA             RICHMOND                 VA
55615   2C4RC1BG3KR685604   Chrysler      PACIFICA             BOSTON                   MA
55616   2C4RC1BG3KR685649   Chrysler      PACIFICA             CHICAGO O'HARE AP        IL
55617   2C4RC1BG3KR685781   Chrysler      PACIFICA             OKLAHOMA CITY            OK
55618   2C4RC1BG3KR698272   Chrysler      PACIFICA             SACRAMENTO               CA
55619   2C4RC1BG3KR698286   Chrysler      PACIFICA             LOS ANGELES              CA
55620   2C4RC1BG3KR698305   Chrysler      PACIFICA             PHOENIX                  AZ
55621   2C4RC1BG3KR700554   Chrysler      PACIFICA             SAINT PAUL               MN
55622   2C4RC1BG3KR700571   Chrysler      PACIFICA             OAKLAND                  CA
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55623   2C4RC1BG3KR700649   Chrysler      PACIFICA             LAS VEGAS                NV
55624   2C4RC1BG3KR700733   Chrysler      PACIFICA             SANTA ANA                CA
55625   2C4RC1BG3KR700747   Chrysler      PACIFICA             OMAHA                    NE
55626   2C4RC1BG3KR704779   Chrysler      PACIFICA             HOUSTON                  TX
55627   2C4RC1BG3KR704796   Chrysler      PACIFICA             FORT MYERS               FL
55628   2C4RC1BG3KR704801   Chrysler      PACIFICA             CHICAGO                  IL
55629   2C4RC1BG3KR704829   Chrysler      PACIFICA             CHICAGO                  IL
55630   2C4RC1BG4KR537123   Chrysler      PACIFICA             PALM SPRINGS             CA
55631   2C4RC1BG4KR537137   Chrysler      PACIFICA             SANTA ANA                CA
55632   2C4RC1BG4KR537140   Chrysler      PACIFICA             Tolleson                 AZ
55633   2C4RC1BG4KR537154   Chrysler      PACIFICA             SAN ANTONIO              TX
55634   2C4RC1BG4KR537171   Chrysler      PACIFICA             PHOENIX                  AZ
55635   2C4RC1BG4KR537185   Chrysler      PACIFICA             GRAND RAPIDS             MI
55636   2C4RC1BG4KR537199   Chrysler      PACIFICA             West Columbia            SC
55637   2C4RC1BG4KR537218   Chrysler      PACIFICA             WEST PALM BEACH          FL
55638   2C4RC1BG4KR537221   Chrysler      PACIFICA             ORLANDO                  FL
55639   2C4RC1BG4KR537235   Chrysler      PACIFICA             WEST PALM BEACH          FL
55640   2C4RC1BG4KR537249   Chrysler      PACIFICA             DARLINGTON               SC
55641   2C4RC1BG4KR537252   Chrysler      PACIFICA             ORLANDO                  FL
55642   2C4RC1BG4KR537297   Chrysler      PACIFICA             Ocoee                    FL
55643   2C4RC1BG4KR537302   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55644   2C4RC1BG4KR537381   Chrysler      PACIFICA             TAMPA                    FL
55645   2C4RC1BG4KR537414   Chrysler      PACIFICA             COLLEGE PARK             GA
55646   2C4RC1BG4KR537445   Chrysler      PACIFICA             FORT MYERS               FL
55647   2C4RC1BG4KR537462   Chrysler      PACIFICA             Davie                    FL
55648   2C4RC1BG4KR537476   Chrysler      PACIFICA             TAMPA                    FL
55649   2C4RC1BG4KR537509   Chrysler      PACIFICA             LOS ANGELES AP           CA
55650   2C4RC1BG4KR537526   Chrysler      PACIFICA             TAMPA                    FL
55651   2C4RC1BG4KR537557   Chrysler      PACIFICA             ORLANDO                  FL
55652   2C4RC1BG4KR537574   Chrysler      PACIFICA             Parkville                MD
55653   2C4RC1BG4KR537588   Chrysler      PACIFICA             ORLANDO                  FL
55654   2C4RC1BG4KR537591   Chrysler      PACIFICA             INDIANAPOLIS             IN
55655   2C4RC1BG4KR537607   Chrysler      PACIFICA             BIRMINGHAM               AL
55656   2C4RC1BG4KR537624   Chrysler      PACIFICA             DAYTONA BEACH            FL
55657   2C4RC1BG4KR537638   Chrysler      PACIFICA             AUGUSTA                  GA
55658   2C4RC1BG4KR537641   Chrysler      PACIFICA             Fredericksburg           VA
55659   2C4RC1BG4KR537669   Chrysler      PACIFICA             FORT MYERS               FL
55660   2C4RC1BG4KR537672   Chrysler      PACIFICA             PHOENIX                  AZ
55661   2C4RC1BG4KR539275   Chrysler      PACIFICA             DENVER                   CO
55662   2C4RC1BG4KR539308   Chrysler      PACIFICA             LOS ANGELES              CA
55663   2C4RC1BG4KR539325   Chrysler      PACIFICA             TUCSON                   AZ
55664   2C4RC1BG4KR539339   Chrysler      PACIFICA             Elkridge                 MD
55665   2C4RC1BG4KR539342   Chrysler      PACIFICA             SAN DIEGO                CA
55666   2C4RC1BG4KR539373   Chrysler      PACIFICA             RALEIGH                  NC
55667   2C4RC1BG4KR539387   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55668   2C4RC1BG4KR539406   Chrysler      PACIFICA             WEST PALM BEACH          FL
55669   2C4RC1BG4KR539423   Chrysler      PACIFICA             SAVANNAH                 GA
55670   2C4RC1BG4KR539437   Chrysler      PACIFICA             AUSTIN                   TX
55671   2C4RC1BG4KR539440   Chrysler      PACIFICA             ORLANDO                  FL
55672   2C4RC1BG4KR539471   Chrysler      PACIFICA             WEST PALM BEACH          FL
55673   2C4RC1BG4KR539499   Chrysler      PACIFICA             Miami                    FL
55674   2C4RC1BG4KR539504   Chrysler      PACIFICA             FORT MYERS               FL
55675   2C4RC1BG4KR539518   Chrysler      PACIFICA             TAMPA                    FL
55676   2C4RC1BG4KR539521   Chrysler      PACIFICA             DANIA BEACH              FL
55677   2C4RC1BG4KR539535   Chrysler      PACIFICA             LAS VEGAS                NV
55678   2C4RC1BG4KR539597   Chrysler      PACIFICA             FORT MYERS               FL
55679   2C4RC1BG4KR539616   Chrysler      PACIFICA             ROANOKE                  VA
55680   2C4RC1BG4KR539647   Chrysler      PACIFICA             JACKSONVILLE             FL
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55681   2C4RC1BG4KR539650   Chrysler      PACIFICA             Manheim                  PA
55682   2C4RC1BG4KR539664   Chrysler      PACIFICA             DALLAS                   TX
55683   2C4RC1BG4KR539678   Chrysler      PACIFICA             ORLANDO                  FL
55684   2C4RC1BG4KR539700   Chrysler      PACIFICA             ORLANDO                  FL
55685   2C4RC1BG4KR539728   Chrysler      PACIFICA             Winter Park              FL
55686   2C4RC1BG4KR539731   Chrysler      PACIFICA             AUSTIN                   TX
55687   2C4RC1BG4KR539759   Chrysler      PACIFICA             Manheim                  PA
55688   2C4RC1BG4KR539826   Chrysler      PACIFICA             RALIEGH                  NC
55689   2C4RC1BG4KR539857   Chrysler      PACIFICA             HARTFORD                 CT
55690   2C4RC1BG4KR539874   Chrysler      PACIFICA             ORLANDO                  FL
55691   2C4RC1BG4KR539888   Chrysler      PACIFICA             PALM SPRINGS             CA
55692   2C4RC1BG4KR539891   Chrysler      PACIFICA             MOBILE                   A
55693   2C4RC1BG4KR539924   Chrysler      PACIFICA             LOS ANGELES              CA
55694   2C4RC1BG4KR539938   Chrysler      PACIFICA             ORANGE COUNTY            CA
55695   2C4RC1BG4KR539941   Chrysler      PACIFICA             Los Angeles              CA
55696   2C4RC1BG4KR539972   Chrysler      PACIFICA             ORLANDO                  FL
55697   2C4RC1BG4KR539986   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55698   2C4RC1BG4KR540006   Chrysler      PACIFICA             Torrance                 CA
55699   2C4RC1BG4KR540023   Chrysler      PACIFICA             PALM SPRINGS             CA
55700   2C4RC1BG4KR540040   Chrysler      PACIFICA             CHARLOTTESVILLE          VA
55701   2C4RC1BG4KR540099   Chrysler      PACIFICA             Chicago                  IL
55702   2C4RC1BG4KR559882   Chrysler      PACIFICA             LAS VEGAS                NV
55703   2C4RC1BG4KR559901   Chrysler      PACIFICA             JACKSONVILLE             FL
55704   2C4RC1BG4KR559915   Chrysler      PACIFICA             FORT MYERS               FL
55705   2C4RC1BG4KR559932   Chrysler      PACIFICA             PHILADELPHIA             PA
55706   2C4RC1BG4KR559946   Chrysler      PACIFICA             Miami                    FL
55707   2C4RC1BG4KR560014   Chrysler      PACIFICA             BURLINGAME               CA
55708   2C4RC1BG4KR560028   Chrysler      PACIFICA             ORLANDO                  FL
55709   2C4RC1BG4KR560031   Chrysler      PACIFICA             LAS VEGAS                NV
55710   2C4RC1BG4KR560045   Chrysler      PACIFICA             TAMPA                    FL
55711   2C4RC1BG4KR560062   Chrysler      PACIFICA             TAMPA                    FL
55712   2C4RC1BG4KR560076   Chrysler      PACIFICA             FORT MYERS               FL
55713   2C4RC1BG4KR560093   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55714   2C4RC1BG4KR560143   Chrysler      PACIFICA             ORLANDO                  FL
55715   2C4RC1BG4KR560157   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55716   2C4RC1BG4KR560160   Chrysler      PACIFICA             DENVER                   CO
55717   2C4RC1BG4KR560188   Chrysler      PACIFICA             HILLSBOROUGH             NJ
55718   2C4RC1BG4KR560918   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55719   2C4RC1BG4KR560935   Chrysler      PACIFICA             HOUSTON                  TX
55720   2C4RC1BG4KR560966   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55721   2C4RC1BG4KR561003   Chrysler      PACIFICA             JACKSONVILLE             FL
55722   2C4RC1BG4KR561017   Chrysler      PACIFICA             TAMPA                    US
55723   2C4RC1BG4KR561034   Chrysler      PACIFICA             SARASOTA                 FL
55724   2C4RC1BG4KR561048   Chrysler      PACIFICA             Atlanta                  GA
55725   2C4RC1BG4KR561051   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55726   2C4RC1BG4KR561065   Chrysler      PACIFICA             ORLANDO                  FL
55727   2C4RC1BG4KR561101   Chrysler      PACIFICA             FORT MYERS               FL
55728   2C4RC1BG4KR581378   Chrysler      PACIFICA             Miami                    FL
55729   2C4RC1BG4KR581395   Chrysler      PACIFICA             Tampa                    FL
55730   2C4RC1BG4KR581414   Chrysler      PACIFICA             DALLAS                   TX
55731   2C4RC1BG4KR581431   Chrysler      PACIFICA             BIRMINGHAM               AL
55732   2C4RC1BG4KR581445   Chrysler      PACIFICA             ORLANDO                  FL
55733   2C4RC1BG4KR581462   Chrysler      PACIFICA             Torrance                 CA
55734   2C4RC1BG4KR581493   Chrysler      PACIFICA             Atlanta                  GA
55735   2C4RC1BG4KR581512   Chrysler      PACIFICA             TAMPA                    FL
55736   2C4RC1BG4KR581543   Chrysler      PACIFICA             TAMPA                    FL
55737   2C4RC1BG4KR582840   Chrysler      PACIFICA             Miami                    FL
55738   2C4RC1BG4KR582868   Chrysler      PACIFICA             TAMPA                    FL
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55739   2C4RC1BG4KR582899   Chrysler      PACIFICA             MIAMI                    FL
55740   2C4RC1BG4KR582904   Chrysler      PACIFICA             SANTA ANA                CA
55741   2C4RC1BG4KR582921   Chrysler      PACIFICA             WEST PALM BEACH          FL
55742   2C4RC1BG4KR582949   Chrysler      PACIFICA             Manheim                  PA
55743   2C4RC1BG4KR582952   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55744   2C4RC1BG4KR582966   Chrysler      PACIFICA             BOSTON                   MA
55745   2C4RC1BG4KR582997   Chrysler      PACIFICA             MIAMI INT'L AP           FL
55746   2C4RC1BG4KR583003   Chrysler      PACIFICA             FORT MYERS               FL
55747   2C4RC1BG4KR583034   Chrysler      PACIFICA             TAMPA                    FL
55748   2C4RC1BG4KR583065   Chrysler      PACIFICA             RALIEGH                  NC
55749   2C4RC1BG4KR596740   Chrysler      PACIFICA             PHOENIX                  AZ
55750   2C4RC1BG4KR596785   Chrysler      PACIFICA             LAS VEGAS                NV
55751   2C4RC1BG4KR596799   Chrysler      PACIFICA             Dallas                   TX
55752   2C4RC1BG4KR596804   Chrysler      PACIFICA             LOS ANGELES              CA
55753   2C4RC1BG4KR596818   Chrysler      PACIFICA             STERLING                 VA
55754   2C4RC1BG4KR596835   Chrysler      PACIFICA             DANIA BEACH              FL
55755   2C4RC1BG4KR596849   Chrysler      PACIFICA             CLEVELAND                OH
55756   2C4RC1BG4KR596852   Chrysler      PACIFICA             Statesville              NC
55757   2C4RC1BG4KR596883   Chrysler      PACIFICA             NEW ORLEANS              LA
55758   2C4RC1BG4KR596897   Chrysler      PACIFICA             MIAMI                    FL
55759   2C4RC1BG4KR596916   Chrysler      PACIFICA             ORLANDO                  FL
55760   2C4RC1BG4KR596933   Chrysler      PACIFICA             SAINT PAUL               MN
55761   2C4RC1BG4KR596950   Chrysler      PACIFICA             OKLAHOMA CITY HLE        OK
55762   2C4RC1BG4KR596964   Chrysler      PACIFICA             ATLANTA                  GA
55763   2C4RC1BG4KR596978   Chrysler      PACIFICA             FORT MYERS               FL
55764   2C4RC1BG4KR596995   Chrysler      PACIFICA             JACKSONVILLE             FL
55765   2C4RC1BG4KR597029   Chrysler      PACIFICA             TAMPA                    FL
55766   2C4RC1BG4KR597032   Chrysler      PACIFICA             ORLANDO                  FL
55767   2C4RC1BG4KR597113   Chrysler      PACIFICA             Miami                    FL
55768   2C4RC1BG4KR597144   Chrysler      PACIFICA             KENNER                   LA
55769   2C4RC1BG4KR617179   Chrysler      PACIFICA             ALBANY                   NY
55770   2C4RC1BG4KR617182   Chrysler      PACIFICA             Detroit                  MI
55771   2C4RC1BG4KR617196   Chrysler      PACIFICA             Statesville              NC
55772   2C4RC1BG4KR624777   Chrysler      PACIFICA             ONTARIO                  CA
55773   2C4RC1BG4KR624830   Chrysler      PACIFICA             KNOXVILLE                TN
55774   2C4RC1BG4KR624844   Chrysler      PACIFICA             ORLANDO                  FL
55775   2C4RC1BG4KR624973   Chrysler      PACIFICA             LAS VEGAS                NV
55776   2C4RC1BG4KR625007   Chrysler      PACIFICA             NORFOLK                  VA
55777   2C4RC1BG4KR625119   Chrysler      PACIFICA             SAINT LOUIS              MO
55778   2C4RC1BG4KR625167   Chrysler      PACIFICA             MIAMI                    FL
55779   2C4RC1BG4KR625170   Chrysler      PACIFICA             SAN ANTONIO              TX
55780   2C4RC1BG4KR625203   Chrysler      PACIFICA             GLENOLDEN                PA
55781   2C4RC1BG4KR625220   Chrysler      PACIFICA             Tampa                    FL
55782   2C4RC1BG4KR625279   Chrysler      PACIFICA             Atlanta                  GA
55783   2C4RC1BG4KR625282   Chrysler      PACIFICA             SHREVEPORT               LA
55784   2C4RC1BG4KR625296   Chrysler      PACIFICA             HOUSTON                  TX
55785   2C4RC1BG4KR625346   Chrysler      PACIFICA             SACRAMENTO               CA
55786   2C4RC1BG4KR625394   Chrysler      PACIFICA             LAS VEGAS                NV
55787   2C4RC1BG4KR625511   Chrysler      PACIFICA             LOS ANGELES              CA
55788   2C4RC1BG4KR625525   Chrysler      PACIFICA             MIAMI                    FL
55789   2C4RC1BG4KR625556   Chrysler      PACIFICA             MINNEAPOLIS              MN
55790   2C4RC1BG4KR625587   Chrysler      PACIFICA             Phoenix                  AZ
55791   2C4RC1BG4KR625590   Chrysler      PACIFICA             Teterboro                NJ
55792   2C4RC1BG4KR625606   Chrysler      PACIFICA             SAN DIEGO                CA
55793   2C4RC1BG4KR625623   Chrysler      PACIFICA             LAS VEGAS                NV
55794   2C4RC1BG4KR625637   Chrysler      PACIFICA             LOS ANGELES              CA
55795   2C4RC1BG4KR625654   Chrysler      PACIFICA             SAN ANTONIO              TX
55796   2C4RC1BG4KR625704   Chrysler      PACIFICA             BLOOMINGTON              IL
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55797   2C4RC1BG4KR625718   Chrysler      PACIFICA             SAN DIEGO                CA
55798   2C4RC1BG4KR625752   Chrysler      PACIFICA             HOUSTON                  TX
55799   2C4RC1BG4KR625766   Chrysler      PACIFICA             PHILADELPHIA             US
55800   2C4RC1BG4KR625816   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
55801   2C4RC1BG4KR625850   Chrysler      PACIFICA             ORLANDO                  FL
55802   2C4RC1BG4KR625895   Chrysler      PACIFICA             MILWAUKEE                WI
55803   2C4RC1BG4KR625900   Chrysler      PACIFICA             DETROIT                  MI
55804   2C4RC1BG4KR625959   Chrysler      PACIFICA             SAN DIEGO                CA
55805   2C4RC1BG4KR625962   Chrysler      PACIFICA             Miami                    FL
55806   2C4RC1BG4KR626058   Chrysler      PACIFICA             MIAMI                    FL
55807   2C4RC1BG4KR626061   Chrysler      PACIFICA             North Dighton            MA
55808   2C4RC1BG4KR626089   Chrysler      PACIFICA             North Dighton            MA
55809   2C4RC1BG4KR626111   Chrysler      PACIFICA             SANTA ANA                CA
55810   2C4RC1BG4KR626139   Chrysler      PACIFICA             CHICAGO                  IL
55811   2C4RC1BG4KR626156   Chrysler      PACIFICA             North Dighton            MA
55812   2C4RC1BG4KR626206   Chrysler      PACIFICA             ORLANDO                  FL
55813   2C4RC1BG4KR626223   Chrysler      PACIFICA             BURBANK                  CA
55814   2C4RC1BG4KR626268   Chrysler      PACIFICA             WEST PALM BEACH          FL
55815   2C4RC1BG4KR626318   Chrysler      PACIFICA             PETALUMA                 CA
55816   2C4RC1BG4KR626321   Chrysler      PACIFICA             MIAMI                    FL
55817   2C4RC1BG4KR626335   Chrysler      PACIFICA             Manheim                  PA
55818   2C4RC1BG4KR626383   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
55819   2C4RC1BG4KR626433   Chrysler      PACIFICA             FT LAUDERDALE            FL
55820   2C4RC1BG4KR626478   Chrysler      PACIFICA             CHICAGO                  IL
55821   2C4RC1BG4KR633141   Chrysler      PACIFICA             LAS VEGAS                NV
55822   2C4RC1BG4KR643667   Chrysler      PACIFICA             CORPUS CHRISTI           TX
55823   2C4RC1BG4KR643670   Chrysler      PACIFICA             PORTLAND                 OR
55824   2C4RC1BG4KR645581   Chrysler      PACIFICA             Atlanta                  GA
55825   2C4RC1BG4KR650036   Chrysler      PACIFICA             BURBANK                  CA
55826   2C4RC1BG4KR650053   Chrysler      PACIFICA             KNOXVILLE                TN
55827   2C4RC1BG4KR650067   Chrysler      PACIFICA             NEW BERN                 NC
55828   2C4RC1BG4KR650070   Chrysler      PACIFICA             FORT MYERS               FL
55829   2C4RC1BG4KR650120   Chrysler      PACIFICA             MCALLEN                  TX
55830   2C4RC1BG4KR650151   Chrysler      PACIFICA             ORLANDO                  FL
55831   2C4RC1BG4KR650165   Chrysler      PACIFICA             Manheim                  PA
55832   2C4RC1BG4KR650179   Chrysler      PACIFICA             Manheim                  PA
55833   2C4RC1BG4KR650215   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55834   2C4RC1BG4KR650229   Chrysler      PACIFICA             Atlanta                  GA
55835   2C4RC1BG4KR650232   Chrysler      PACIFICA             KNOXVILLE                TN
55836   2C4RC1BG4KR650263   Chrysler      PACIFICA             PLATTSBURGH              NY
55837   2C4RC1BG4KR650277   Chrysler      PACIFICA             CHICAGO                  IL
55838   2C4RC1BG4KR650280   Chrysler      PACIFICA             Caledonia                WI
55839   2C4RC1BG4KR650294   Chrysler      PACIFICA             BLOOMINGTON              IL
55840   2C4RC1BG4KR650313   Chrysler      PACIFICA             NORFOLK                  VA
55841   2C4RC1BG4KR650344   Chrysler      PACIFICA             ATLANTA                  GA
55842   2C4RC1BG4KR650361   Chrysler      PACIFICA             INDIANAPOLIS             IN
55843   2C4RC1BG4KR650473   Chrysler      PACIFICA             KENNER                   LA
55844   2C4RC1BG4KR650490   Chrysler      PACIFICA             Killeen                  TX
55845   2C4RC1BG4KR650537   Chrysler      PACIFICA             KNOXVILLE                TN
55846   2C4RC1BG4KR650554   Chrysler      PACIFICA             CLEVELAND                OH
55847   2C4RC1BG4KR650568   Chrysler      PACIFICA             DAYTONA BEACH            FL
55848   2C4RC1BG4KR650571   Chrysler      PACIFICA             CHATTANOOGA              TN
55849   2C4RC1BG4KR650618   Chrysler      PACIFICA             HOUSTON                  TX
55850   2C4RC1BG4KR650635   Chrysler      PACIFICA             PHOENIX                  AZ
55851   2C4RC1BG4KR650649   Chrysler      PACIFICA             INGLEWOOD                CA
55852   2C4RC1BG4KR650652   Chrysler      PACIFICA             ROCHESTER                NY
55853   2C4RC1BG4KR650666   Chrysler      PACIFICA             SYRACUSE                 NY
55854   2C4RC1BG4KR650697   Chrysler      PACIFICA             Atlanta                  GA
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55855   2C4RC1BG4KR650778   Chrysler      PACIFICA             SAN FRANCISCO            CA
55856   2C4RC1BG4KR650781   Chrysler      PACIFICA             ST PAUL                  MN
55857   2C4RC1BG4KR650800   Chrysler      PACIFICA             RENO                     NV
55858   2C4RC1BG4KR650828   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55859   2C4RC1BG4KR650831   Chrysler      PACIFICA             BUFFALO                  NY
55860   2C4RC1BG4KR650862   Chrysler      PACIFICA             SACRAMENTO               CA
55861   2C4RC1BG4KR650926   Chrysler      PACIFICA             LUBBOCK                  TX
55862   2C4RC1BG4KR650960   Chrysler      PACIFICA             HOUSTON                  TX
55863   2C4RC1BG4KR650974   Chrysler      PACIFICA             PORTLAND                 OR
55864   2C4RC1BG4KR650988   Chrysler      PACIFICA             LOS ANGELES              CA
55865   2C4RC1BG4KR650991   Chrysler      PACIFICA             SAVANNAH                 GA
55866   2C4RC1BG4KR651011   Chrysler      PACIFICA             San Diego                CA
55867   2C4RC1BG4KR651039   Chrysler      PACIFICA             TAMPA                    US
55868   2C4RC1BG4KR651056   Chrysler      PACIFICA             Tampa                    FL
55869   2C4RC1BG4KR651073   Chrysler      PACIFICA             Hanover                  MD
55870   2C4RC1BG4KR651087   Chrysler      PACIFICA             WEST PALM BEACH          FL
55871   2C4RC1BG4KR651106   Chrysler      PACIFICA             SAINT LOUIS              MO
55872   2C4RC1BG4KR651123   Chrysler      PACIFICA             KEY WEST                 FL
55873   2C4RC1BG4KR651199   Chrysler      PACIFICA             SAINT PAUL               MN
55874   2C4RC1BG4KR651204   Chrysler      PACIFICA             Florissant               MO
55875   2C4RC1BG4KR651218   Chrysler      PACIFICA             PEORIA                   IL
55876   2C4RC1BG4KR651235   Chrysler      PACIFICA             KENNER                   LA
55877   2C4RC1BG4KR651266   Chrysler      PACIFICA             HOUSTON                  TX
55878   2C4RC1BG4KR651316   Chrysler      PACIFICA             PROVIDENCE               RI
55879   2C4RC1BG4KR651333   Chrysler      PACIFICA             DALLAS                   TX
55880   2C4RC1BG4KR651381   Chrysler      PACIFICA             PHILADELPHIA             PA
55881   2C4RC1BG4KR651395   Chrysler      PACIFICA             GRAND RAPIDS             MI
55882   2C4RC1BG4KR651414   Chrysler      PACIFICA             STERLING                 VA
55883   2C4RC1BG4KR651428   Chrysler      PACIFICA             KENNER                   LA
55884   2C4RC1BG4KR651431   Chrysler      PACIFICA             BURBANK                  CA
55885   2C4RC1BG4KR651543   Chrysler      PACIFICA             DENVER                   CO
55886   2C4RC1BG4KR651574   Chrysler      PACIFICA             BULLHEAD CITY            AZ
55887   2C4RC1BG4KR651607   Chrysler      PACIFICA             DES MOINES               IA
55888   2C4RC1BG4KR651669   Chrysler      PACIFICA             DALLAS                   TX
55889   2C4RC1BG4KR651719   Chrysler      PACIFICA             DALLAS                   TX
55890   2C4RC1BG4KR651784   Chrysler      PACIFICA             OMAHA                    NE
55891   2C4RC1BG4KR651817   Chrysler      PACIFICA             DES MOINES               IA
55892   2C4RC1BG4KR651834   Chrysler      PACIFICA             FEDERAL WAY              WA
55893   2C4RC1BG4KR651865   Chrysler      PACIFICA             ORLANDO                  FL
55894   2C4RC1BG4KR651929   Chrysler      PACIFICA             INDIANAPOLIS             IN
55895   2C4RC1BG4KR651932   Chrysler      PACIFICA             KNOXVILLE                TN
55896   2C4RC1BG4KR651980   Chrysler      PACIFICA             Atlanta                  GA
55897   2C4RC1BG4KR652014   Chrysler      PACIFICA             DALLAS                   TX
55898   2C4RC1BG4KR652028   Chrysler      PACIFICA             North Dighton            MA
55899   2C4RC1BG4KR652031   Chrysler      PACIFICA             Atlanta                  GA
55900   2C4RC1BG4KR652076   Chrysler      PACIFICA             MILWAUKEE                WI
55901   2C4RC1BG4KR652093   Chrysler      PACIFICA             Hebron                   KY
55902   2C4RC1BG4KR655026   Chrysler      PACIFICA             Kent                     WA
55903   2C4RC1BG4KR655043   Chrysler      PACIFICA             ONTARIO                  CA
55904   2C4RC1BG4KR655060   Chrysler      PACIFICA             SAN DIEGO                CA
55905   2C4RC1BG4KR655107   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
55906   2C4RC1BG4KR655138   Chrysler      PACIFICA             SEATAC                   WA
55907   2C4RC1BG4KR657245   Chrysler      PACIFICA             INGLEWOOD                CA
55908   2C4RC1BG4KR657293   Chrysler      PACIFICA             ORLANDO                  FL
55909   2C4RC1BG4KR657312   Chrysler      PACIFICA             PHOENIX                  AZ
55910   2C4RC1BG4KR665412   Chrysler      PACIFICA             DALLAS                   TX
55911   2C4RC1BG4KR665460   Chrysler      PACIFICA             SANTA CLARA              CA
55912   2C4RC1BG4KR665474   Chrysler      PACIFICA             SAN ANTONIO              TX
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55913   2C4RC1BG4KR665491   Chrysler      PACIFICA             ONTARIO                  CA
55914   2C4RC1BG4KR665510   Chrysler      PACIFICA             DENVER                   CO
55915   2C4RC1BG4KR665538   Chrysler      PACIFICA             SEA TAC                  WA
55916   2C4RC1BG4KR665541   Chrysler      PACIFICA             PORTLAND                 OR
55917   2C4RC1BG4KR665572   Chrysler      PACIFICA             SEA TAC                  WA
55918   2C4RC1BG4KR665605   Chrysler      PACIFICA             LOS ANGELES              CA
55919   2C4RC1BG4KR665684   Chrysler      PACIFICA             SAN DIEGO                CA
55920   2C4RC1BG4KR665720   Chrysler      PACIFICA             AUSTIN                   TX
55921   2C4RC1BG4KR665734   Chrysler      PACIFICA             WARWICK                  RI
55922   2C4RC1BG4KR665751   Chrysler      PACIFICA             HARTFORD                 CT
55923   2C4RC1BG4KR665782   Chrysler      PACIFICA             Statesville              NC
55924   2C4RC1BG4KR665796   Chrysler      PACIFICA             INGLEWOOD                CA
55925   2C4RC1BG4KR665829   Chrysler      PACIFICA             Atlanta                  GA
55926   2C4RC1BG4KR665832   Chrysler      PACIFICA             HANOVER                  MD
55927   2C4RC1BG4KR665877   Chrysler      PACIFICA             GRAND RAPIDS             MI
55928   2C4RC1BG4KR665880   Chrysler      PACIFICA             BIRMINGHAM               AL
55929   2C4RC1BG4KR665894   Chrysler      PACIFICA             LOUISVILLE               KY
55930   2C4RC1BG4KR665927   Chrysler      PACIFICA             BOSTON                   MA
55931   2C4RC1BG4KR665944   Chrysler      PACIFICA             ORLANDO                  FL
55932   2C4RC1BG4KR666009   Chrysler      PACIFICA             KANSAS CITY              MO
55933   2C4RC1BG4KR666012   Chrysler      PACIFICA             LAS VEGAS                NV
55934   2C4RC1BG4KR666043   Chrysler      PACIFICA             ATLANTA                  GA
55935   2C4RC1BG4KR666060   Chrysler      PACIFICA             DENVER                   CO
55936   2C4RC1BG4KR672991   Chrysler      PACIFICA             Fairburn                 GA
55937   2C4RC1BG4KR673008   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55938   2C4RC1BG4KR673011   Chrysler      PACIFICA             GRAND RAPIDS             MI
55939   2C4RC1BG4KR673042   Chrysler      PACIFICA             ATLANTA                  GA
55940   2C4RC1BG4KR673106   Chrysler      PACIFICA             MILWAUKEE                WI
55941   2C4RC1BG4KR673140   Chrysler      PACIFICA             CHARLESTON               WV
55942   2C4RC1BG4KR673168   Chrysler      PACIFICA             FRESNO                   CA
55943   2C4RC1BG4KR673221   Chrysler      PACIFICA             BIRMINGHAM               AL
55944   2C4RC1BG4KR673252   Chrysler      PACIFICA             Kansas City              MO
55945   2C4RC1BG4KR673266   Chrysler      PACIFICA             NEWARK                   NJ
55946   2C4RC1BG4KR675664   Chrysler      PACIFICA             PHOENIX                  AZ
55947   2C4RC1BG4KR680492   Chrysler      PACIFICA             SAN FRANCISCO            CA
55948   2C4RC1BG4KR680508   Chrysler      PACIFICA             BURBANK                  CA
55949   2C4RC1BG4KR680511   Chrysler      PACIFICA             SAN JOSE                 CA
55950   2C4RC1BG4KR680525   Chrysler      PACIFICA             PHOENIX                  AZ
55951   2C4RC1BG4KR680556   Chrysler      PACIFICA             SACRAMENTO               CA
55952   2C4RC1BG4KR680587   Chrysler      PACIFICA             DETROIT                  MI
55953   2C4RC1BG4KR680606   Chrysler      PACIFICA             CLEARWATER               FL
55954   2C4RC1BG4KR680637   Chrysler      PACIFICA             LOS ANGELES              CA
55955   2C4RC1BG4KR680640   Chrysler      PACIFICA             HOUSTON                  TX
55956   2C4RC1BG4KR680685   Chrysler      PACIFICA             SAN FRANCISCO            CA
55957   2C4RC1BG4KR680718   Chrysler      PACIFICA             SEATAC                   WA
55958   2C4RC1BG4KR680721   Chrysler      PACIFICA             PORTLAND                 OR
55959   2C4RC1BG4KR680735   Chrysler      PACIFICA             Anchorage                AK
55960   2C4RC1BG4KR680783   Chrysler      PACIFICA             GRAND RAPIDS             MI
55961   2C4RC1BG4KR680797   Chrysler      PACIFICA             HOUSTON                  TX
55962   2C4RC1BG4KR680816   Chrysler      PACIFICA             WEST COLUMBIA            SC
55963   2C4RC1BG4KR680881   Chrysler      PACIFICA             NEW BERN                 NC
55964   2C4RC1BG4KR680895   Chrysler      PACIFICA             PHILADELPHIA             PA
55965   2C4RC1BG4KR680900   Chrysler      PACIFICA             FORT LAUDERDALE          FL
55966   2C4RC1BG4KR680928   Chrysler      PACIFICA             STERLING                 US
55967   2C4RC1BG4KR680976   Chrysler      PACIFICA             SEA TAC                  WA
55968   2C4RC1BG4KR681013   Chrysler      PACIFICA             TULSA                    OK
55969   2C4RC1BG4KR685286   Chrysler      PACIFICA             COLLEGE PARK             GA
55970   2C4RC1BG4KR685322   Chrysler      PACIFICA             DETROIT                  MI
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55971   2C4RC1BG4KR685336   Chrysler      PACIFICA             NEWARK                   NJ
55972   2C4RC1BG4KR685353   Chrysler      PACIFICA             HOUSTON                  TX
55973   2C4RC1BG4KR685367   Chrysler      PACIFICA             CLEVELAND                OH
55974   2C4RC1BG4KR685420   Chrysler      PACIFICA             ALBANY                   NY
55975   2C4RC1BG4KR685451   Chrysler      PACIFICA             GRAND RAPIDS             MI
55976   2C4RC1BG4KR685496   Chrysler      PACIFICA             DES MOINES               IA
55977   2C4RC1BG4KR685532   Chrysler      PACIFICA             NEWARK                   NJ
55978   2C4RC1BG4KR685546   Chrysler      PACIFICA             RICHMOND                 VA
55979   2C4RC1BG4KR685692   Chrysler      PACIFICA             ATLANTA                  GA
55980   2C4RC1BG4KR685739   Chrysler      PACIFICA             CHICAGO                  IL
55981   2C4RC1BG4KR685756   Chrysler      PACIFICA             SAN FRANCISCO            CA
55982   2C4RC1BG4KR685773   Chrysler      PACIFICA             HARTFORD                 CT
55983   2C4RC1BG4KR685806   Chrysler      PACIFICA             BURBANK                  CA
55984   2C4RC1BG4KR698250   Chrysler      PACIFICA             SAN FRANCISCO            CA
55985   2C4RC1BG4KR698295   Chrysler      PACIFICA             SIOUX FALLS              SD
55986   2C4RC1BG4KR700529   Chrysler      PACIFICA             SAN ANTONIO              TX
55987   2C4RC1BG4KR700563   Chrysler      PACIFICA             LAS VEGAS                NV
55988   2C4RC1BG4KR700580   Chrysler      PACIFICA             HOUSTON                  TX
55989   2C4RC1BG4KR700630   Chrysler      PACIFICA             BULLHEAD CITY            AZ
55990   2C4RC1BG4KR700644   Chrysler      PACIFICA             HOUSTON                  TX
55991   2C4RC1BG4KR700658   Chrysler      PACIFICA             SAN DIEGO                CA
55992   2C4RC1BG4KR700692   Chrysler      PACIFICA             ALBANY                   NY
55993   2C4RC1BG4KR700742   Chrysler      PACIFICA             SEATAC                   WA
55994   2C4RC1BG4KR700756   Chrysler      PACIFICA             SARASOTA                 FL
55995   2C4RC1BG4KR704676   Chrysler      PACIFICA             SAN FRANCISCO            CA
55996   2C4RC1BG4KR704693   Chrysler      PACIFICA             AUSTIN                   TX
55997   2C4RC1BG4KR704726   Chrysler      PACIFICA             WEST PALM BEACH          FL
55998   2C4RC1BG4KR704757   Chrysler      PACIFICA             Fredericksburg           VA
55999   2C4RC1BG4KR704760   Chrysler      PACIFICA             DENVER                   CO
56000   2C4RC1BG4KR704810   Chrysler      PACIFICA             Hebron                   KY
56001   2C4RC1BG4KR704838   Chrysler      PACIFICA             DETROIT                  MI
56002   2C4RC1BG5KR537132   Chrysler      PACIFICA             Anaheim                  CA
56003   2C4RC1BG5KR537146   Chrysler      PACIFICA             Sacramento               CA
56004   2C4RC1BG5KR537194   Chrysler      PACIFICA             DALLAS                   TX
56005   2C4RC1BG5KR537244   Chrysler      PACIFICA             LAUREL                   MD
56006   2C4RC1BG5KR537258   Chrysler      PACIFICA             GAINESVILLE              FL
56007   2C4RC1BG5KR537289   Chrysler      PACIFICA             WEST PALM BEACH          FL
56008   2C4RC1BG5KR537342   Chrysler      PACIFICA             ORLANDO                  FL
56009   2C4RC1BG5KR537390   Chrysler      PACIFICA             LOS ANGELES              CA
56010   2C4RC1BG5KR537423   Chrysler      PACIFICA             Indianapolis             IN
56011   2C4RC1BG5KR537440   Chrysler      PACIFICA             DETROIT                  MI
56012   2C4RC1BG5KR537468   Chrysler      PACIFICA             SYRACUSE                 NY
56013   2C4RC1BG5KR537518   Chrysler      PACIFICA             Elgin                    IL
56014   2C4RC1BG5KR537535   Chrysler      PACIFICA             SANTA FE                 NM
56015   2C4RC1BG5KR537552   Chrysler      PACIFICA             MORRISVILLE              NC
56016   2C4RC1BG5KR537566   Chrysler      PACIFICA             STERLING                 VA
56017   2C4RC1BG5KR537597   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56018   2C4RC1BG5KR537616   Chrysler      PACIFICA             Jacksonville             FL
56019   2C4RC1BG5KR537647   Chrysler      PACIFICA             TAMPA                    FL
56020   2C4RC1BG5KR537650   Chrysler      PACIFICA             PALM SPRINGS             CA
56021   2C4RC1BG5KR537664   Chrysler      PACIFICA             PALM SPRINGS             CA
56022   2C4RC1BG5KR537681   Chrysler      PACIFICA             ONTARIO                  CA
56023   2C4RC1BG5KR537700   Chrysler      PACIFICA             STERLING                 VA
56024   2C4RC1BG5KR537714   Chrysler      PACIFICA             Aurora                   CO
56025   2C4RC1BG5KR539270   Chrysler      PACIFICA             LAS VEGAS                NV
56026   2C4RC1BG5KR539284   Chrysler      PACIFICA             Hayward                  CA
56027   2C4RC1BG5KR539303   Chrysler      PACIFICA             FULLERTON                CA
56028   2C4RC1BG5KR539334   Chrysler      PACIFICA             LOS ANGELES              CA
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56029   2C4RC1BG5KR539365   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56030   2C4RC1BG5KR539382   Chrysler      PACIFICA             ORLANDO                  FL
56031   2C4RC1BG5KR539396   Chrysler      PACIFICA             WEST PALM BEACH          FL
56032   2C4RC1BG5KR539401   Chrysler      PACIFICA             ORLANDO                  FL
56033   2C4RC1BG5KR539415   Chrysler      PACIFICA             Honolulu                 HI
56034   2C4RC1BG5KR539429   Chrysler      PACIFICA             Fairburn                 GA
56035   2C4RC1BG5KR539432   Chrysler      PACIFICA             ORLANDO                  FL
56036   2C4RC1BG5KR539463   Chrysler      PACIFICA             ST PAUL                  MN
56037   2C4RC1BG5KR539477   Chrysler      PACIFICA             JACKSONVILLE             FL
56038   2C4RC1BG5KR539494   Chrysler      PACIFICA             NASHVILLE                TN
56039   2C4RC1BG5KR539513   Chrysler      PACIFICA             HOUSTON                  TX
56040   2C4RC1BG5KR539527   Chrysler      PACIFICA             PALM SPRINGS             CA
56041   2C4RC1BG5KR539575   Chrysler      PACIFICA             Elkridge                 MD
56042   2C4RC1BG5KR539592   Chrysler      PACIFICA             Fairburn                 GA
56043   2C4RC1BG5KR539608   Chrysler      PACIFICA             Denver                   CO
56044   2C4RC1BG5KR539625   Chrysler      PACIFICA             FORT MYERS               FL
56045   2C4RC1BG5KR539642   Chrysler      PACIFICA             Bordentown               NJ
56046   2C4RC1BG5KR539687   Chrysler      PACIFICA             Manheim                  PA
56047   2C4RC1BG5KR539690   Chrysler      PACIFICA             Rio Linda                CA
56048   2C4RC1BG5KR539740   Chrysler      PACIFICA             Atlanta                  GA
56049   2C4RC1BG5KR539785   Chrysler      PACIFICA             ORLANDO                  FL
56050   2C4RC1BG5KR539804   Chrysler      PACIFICA             RONKONKOMA               NY
56051   2C4RC1BG5KR539821   Chrysler      PACIFICA             WHITE PLAINS             NY
56052   2C4RC1BG5KR539835   Chrysler      PACIFICA             PHOENIX                  AZ
56053   2C4RC1BG5KR539852   Chrysler      PACIFICA             Torrance                 CA
56054   2C4RC1BG5KR539866   Chrysler      PACIFICA             Warminster               PA
56055   2C4RC1BG5KR539883   Chrysler      PACIFICA             Ft. Myers                FL
56056   2C4RC1BG5KR539916   Chrysler      PACIFICA             FORT MYERS               FL
56057   2C4RC1BG5KR539950   Chrysler      PACIFICA             LAS VEGAS                NV
56058   2C4RC1BG5KR539981   Chrysler      PACIFICA             Denver                   CO
56059   2C4RC1BG5KR539995   Chrysler      PACIFICA             NEW BERN                 NC
56060   2C4RC1BG5KR540029   Chrysler      PACIFICA             SAN DIEGO                CA
56061   2C4RC1BG5KR540094   Chrysler      PACIFICA             NEW BERN                 NC
56062   2C4RC1BG5KR559888   Chrysler      PACIFICA             EL PASO                  TX
56063   2C4RC1BG5KR559907   Chrysler      PACIFICA             SARASOTA                 FL
56064   2C4RC1BG5KR559910   Chrysler      PACIFICA             ORLANDO                  FL
56065   2C4RC1BG5KR559924   Chrysler      PACIFICA             FORT MYERS               FL
56066   2C4RC1BG5KR559955   Chrysler      PACIFICA             NEWARK                   NY
56067   2C4RC1BG5KR559969   Chrysler      PACIFICA             PENSACOLA                FL
56068   2C4RC1BG5KR560006   Chrysler      PACIFICA             HARTFORD                 CT
56069   2C4RC1BG5KR560023   Chrysler      PACIFICA             Fairburn                 GA
56070   2C4RC1BG5KR560104   Chrysler      PACIFICA             PHOENIX                  AZ
56071   2C4RC1BG5KR560135   Chrysler      PACIFICA             AUSTIN                   TX
56072   2C4RC1BG5KR560152   Chrysler      PACIFICA             MCALLEN                  TX
56073   2C4RC1BG5KR560166   Chrysler      PACIFICA             JACKSONVILLE             FL
56074   2C4RC1BG5KR560183   Chrysler      PACIFICA             HOUSTON                  TX
56075   2C4RC1BG5KR560930   Chrysler      PACIFICA             ORLANDO                  FL
56076   2C4RC1BG5KR560944   Chrysler      PACIFICA             STERLING                 VA
56077   2C4RC1BG5KR560958   Chrysler      PACIFICA             Roseville                CA
56078   2C4RC1BG5KR560961   Chrysler      PACIFICA             ORLANDO                  FL
56079   2C4RC1BG5KR560992   Chrysler      PACIFICA             FORT MYERS               FL
56080   2C4RC1BG5KR561009   Chrysler      PACIFICA             ORLANDO                  FL
56081   2C4RC1BG5KR561043   Chrysler      PACIFICA             ORLANDO                  FL
56082   2C4RC1BG5KR561107   Chrysler      PACIFICA             STERLING                 VA
56083   2C4RC1BG5KR561155   Chrysler      PACIFICA             Warwick                  RI
56084   2C4RC1BG5KR581342   Chrysler      PACIFICA             ORLANDO                  FL
56085   2C4RC1BG5KR581390   Chrysler      PACIFICA             ORLANDO                  FL
56086   2C4RC1BG5KR581454   Chrysler      PACIFICA             SAVANNAH                 GA
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56087   2C4RC1BG5KR581468   Chrysler      PACIFICA             ORLANDO                  FL
56088   2C4RC1BG5KR581471   Chrysler      PACIFICA             ORLANDO                  FL
56089   2C4RC1BG5KR581499   Chrysler      PACIFICA             DANIA BEACH              FL
56090   2C4RC1BG5KR581518   Chrysler      PACIFICA             Slidell                  LA
56091   2C4RC1BG5KR581549   Chrysler      PACIFICA             SARASOTA                 FL
56092   2C4RC1BG5KR581552   Chrysler      PACIFICA             DALLAS                   TX
56093   2C4RC1BG5KR582829   Chrysler      PACIFICA             MIAMI                    FL
56094   2C4RC1BG5KR582832   Chrysler      PACIFICA             CLEVELAND                OH
56095   2C4RC1BG5KR582846   Chrysler      PACIFICA             ORLANDO                  FL
56096   2C4RC1BG5KR582863   Chrysler      PACIFICA             WEST COLUMBIA            SC
56097   2C4RC1BG5KR582877   Chrysler      PACIFICA             ORLANDO                  FL
56098   2C4RC1BG5KR582927   Chrysler      PACIFICA             Davie                    FL
56099   2C4RC1BG5KR582958   Chrysler      PACIFICA             WEST PALM BEACH          FL
56100   2C4RC1BG5KR582961   Chrysler      PACIFICA             NAPLES                   FL
56101   2C4RC1BG5KR582975   Chrysler      PACIFICA             Ventura                  CA
56102   2C4RC1BG5KR583043   Chrysler      PACIFICA             NEW ORLEANS              LA
56103   2C4RC1BG5KR592759   Chrysler      PACIFICA             LOS ANGELES              CA
56104   2C4RC1BG5KR596763   Chrysler      PACIFICA             ORLANDO                  FL
56105   2C4RC1BG5KR596777   Chrysler      PACIFICA             HOUSTON                  TX
56106   2C4RC1BG5KR596780   Chrysler      PACIFICA             LOS ANGELES              CA
56107   2C4RC1BG5KR596794   Chrysler      PACIFICA             Dallas                   TX
56108   2C4RC1BG5KR596830   Chrysler      PACIFICA             PENSACOLA                FL
56109   2C4RC1BG5KR596844   Chrysler      PACIFICA             FORT MYERS               FL
56110   2C4RC1BG5KR596858   Chrysler      PACIFICA             ORLANDO                  FL
56111   2C4RC1BG5KR596875   Chrysler      PACIFICA             LAS VEGAS                NV
56112   2C4RC1BG5KR596892   Chrysler      PACIFICA             Chicago                  IL
56113   2C4RC1BG5KR596908   Chrysler      PACIFICA             TAMPA                    FL
56114   2C4RC1BG5KR596911   Chrysler      PACIFICA             CHARLESTON               WV
56115   2C4RC1BG5KR596925   Chrysler      PACIFICA             Santa Clara              CA
56116   2C4RC1BG5KR596939   Chrysler      PACIFICA             CHARLOTTE                NC
56117   2C4RC1BG5KR596942   Chrysler      PACIFICA             Atlanta                  GA
56118   2C4RC1BG5KR596956   Chrysler      PACIFICA             North Dighton            MA
56119   2C4RC1BG5KR597010   Chrysler      PACIFICA             PORTLAND                 OR
56120   2C4RC1BG5KR597024   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56121   2C4RC1BG5KR597038   Chrysler      PACIFICA             North Dighton            MA
56122   2C4RC1BG5KR597072   Chrysler      PACIFICA             MIAMI                    FL
56123   2C4RC1BG5KR597136   Chrysler      PACIFICA             MCALLEN                  TX
56124   2C4RC1BG5KR597170   Chrysler      PACIFICA             TAMPA                    US
56125   2C4RC1BG5KR597203   Chrysler      PACIFICA             ORLANDO                  FL
56126   2C4RC1BG5KR617157   Chrysler      PACIFICA             ORLANDO                  FL
56127   2C4RC1BG5KR617191   Chrysler      PACIFICA             TRACY                    CA
56128   2C4RC1BG5KR624755   Chrysler      PACIFICA             Hayward                  CA
56129   2C4RC1BG5KR624786   Chrysler      PACIFICA             Elkridge                 MD
56130   2C4RC1BG5KR624822   Chrysler      PACIFICA             Las Vegas                NV
56131   2C4RC1BG5KR624853   Chrysler      PACIFICA             TRACY                    CA
56132   2C4RC1BG5KR624982   Chrysler      PACIFICA             LOS ANGELES              CA
56133   2C4RC1BG5KR625145   Chrysler      PACIFICA             MILWAUKEE                WI
56134   2C4RC1BG5KR625162   Chrysler      PACIFICA             Ft. Myers                FL
56135   2C4RC1BG5KR625257   Chrysler      PACIFICA             RONKONKOMA               NY
56136   2C4RC1BG5KR625260   Chrysler      PACIFICA             DES MOINES               IA
56137   2C4RC1BG5KR625288   Chrysler      PACIFICA             Lake Elsinore            CA
56138   2C4RC1BG5KR625324   Chrysler      PACIFICA             DENVER                   CO
56139   2C4RC1BG5KR625355   Chrysler      PACIFICA             ORLANDO                  FL
56140   2C4RC1BG5KR625369   Chrysler      PACIFICA             CHICAGO                  IL
56141   2C4RC1BG5KR625386   Chrysler      PACIFICA             ONTARIO                  CA
56142   2C4RC1BG5KR625405   Chrysler      PACIFICA             MILWAUKEE                WI
56143   2C4RC1BG5KR625484   Chrysler      PACIFICA             KNOXVILLE                TN
56144   2C4RC1BG5KR625579   Chrysler      PACIFICA             SACRAMENTO               CA
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56145   2C4RC1BG5KR625582   Chrysler      PACIFICA             NEWARK                   NJ
56146   2C4RC1BG5KR625596   Chrysler      PACIFICA             ORLANDO                  FL
56147   2C4RC1BG5KR625615   Chrysler      PACIFICA             SAINT PAUL               MN
56148   2C4RC1BG5KR625663   Chrysler      PACIFICA             TUCSON                   AZ
56149   2C4RC1BG5KR625677   Chrysler      PACIFICA             FORT MYERS               FL
56150   2C4RC1BG5KR625680   Chrysler      PACIFICA             SAINT LOUIS              MO
56151   2C4RC1BG5KR625694   Chrysler      PACIFICA             Oceanside                CA
56152   2C4RC1BG5KR625758   Chrysler      PACIFICA             ORLANDO                  FL
56153   2C4RC1BG5KR625792   Chrysler      PACIFICA             Davie                    FL
56154   2C4RC1BG5KR625808   Chrysler      PACIFICA             Manheim                  PA
56155   2C4RC1BG5KR625842   Chrysler      PACIFICA             WEST DUNDEE              IL
56156   2C4RC1BG5KR625937   Chrysler      PACIFICA             SAINT PAUL               MN
56157   2C4RC1BG5KR626005   Chrysler      PACIFICA             Hayward                  CA
56158   2C4RC1BG5KR626022   Chrysler      PACIFICA             LOS ANGELES              CA
56159   2C4RC1BG5KR626067   Chrysler      PACIFICA             CHICAGO                  IL
56160   2C4RC1BG5KR626134   Chrysler      PACIFICA             Des Moines               IA
56161   2C4RC1BG5KR626148   Chrysler      PACIFICA             HOUSTON                  TX
56162   2C4RC1BG5KR626229   Chrysler      PACIFICA             Manheim                  PA
56163   2C4RC1BG5KR626277   Chrysler      PACIFICA             VANDALIA                 OH
56164   2C4RC1BG5KR626313   Chrysler      PACIFICA             LOS ANGELES              CA
56165   2C4RC1BG5KR626375   Chrysler      PACIFICA             JACKSON                  MS
56166   2C4RC1BG5KR626411   Chrysler      PACIFICA             PHOENIX                  AZ
56167   2C4RC1BG5KR626439   Chrysler      PACIFICA             DALLAS                   TX
56168   2C4RC1BG5KR626490   Chrysler      PACIFICA             KNOXVILLE                TN
56169   2C4RC1BG5KR643662   Chrysler      PACIFICA             ONTARIO, RIVERSIDE       CA
56170   2C4RC1BG5KR650031   Chrysler      PACIFICA             HOUSTON                  TX
56171   2C4RC1BG5KR650045   Chrysler      PACIFICA             PORTLAND                 ME
56172   2C4RC1BG5KR650059   Chrysler      PACIFICA             DALLAS                   TX
56173   2C4RC1BG5KR650076   Chrysler      PACIFICA             DENVER                   CO
56174   2C4RC1BG5KR650112   Chrysler      PACIFICA             CHICAGO                  IL
56175   2C4RC1BG5KR650160   Chrysler      PACIFICA             DENVER                   CO
56176   2C4RC1BG5KR650188   Chrysler      PACIFICA             ATLANTA                  GA
56177   2C4RC1BG5KR650207   Chrysler      PACIFICA             KENNER                   LA
56178   2C4RC1BG5KR650210   Chrysler      PACIFICA             ORLANDO                  FL
56179   2C4RC1BG5KR650238   Chrysler      PACIFICA             NEW BERN                 NC
56180   2C4RC1BG5KR650241   Chrysler      PACIFICA             ORLANDO                  FL
56181   2C4RC1BG5KR650286   Chrysler      PACIFICA             SAN FRANCISCO            CA
56182   2C4RC1BG5KR650319   Chrysler      PACIFICA             WEST PALM BEACH          FL
56183   2C4RC1BG5KR650322   Chrysler      PACIFICA             NEWARK                   NJ
56184   2C4RC1BG5KR650367   Chrysler      PACIFICA             ALBUQERQUE               NM
56185   2C4RC1BG5KR650370   Chrysler      PACIFICA             SANTA BARBARA            CA
56186   2C4RC1BG5KR650384   Chrysler      PACIFICA             Davie                    FL
56187   2C4RC1BG5KR650398   Chrysler      PACIFICA             INDIANAPOLIS             IN
56188   2C4RC1BG5KR650403   Chrysler      PACIFICA             Woodhaven                MI
56189   2C4RC1BG5KR650417   Chrysler      PACIFICA             Ft. Myers                FL
56190   2C4RC1BG5KR650434   Chrysler      PACIFICA             Irving                   TX
56191   2C4RC1BG5KR650546   Chrysler      PACIFICA             HARTFORD                 CT
56192   2C4RC1BG5KR650563   Chrysler      PACIFICA             KENNER                   LA
56193   2C4RC1BG5KR650613   Chrysler      PACIFICA             SACRAMENTO               CA
56194   2C4RC1BG5KR650627   Chrysler      PACIFICA             HOUSTON                  TX
56195   2C4RC1BG5KR650689   Chrysler      PACIFICA             LAS VEGAS                NV
56196   2C4RC1BG5KR650708   Chrysler      PACIFICA             SEATAC                   WA
56197   2C4RC1BG5KR650739   Chrysler      PACIFICA             AUSTIN                   TX
56198   2C4RC1BG5KR650742   Chrysler      PACIFICA             SAN DIEGO                CA
56199   2C4RC1BG5KR650773   Chrysler      PACIFICA             HOUSTON                  TX
56200   2C4RC1BG5KR650806   Chrysler      PACIFICA             SAN JOSE                 CA
56201   2C4RC1BG5KR650823   Chrysler      PACIFICA             SAN DIEGO                US
56202   2C4RC1BG5KR650837   Chrysler      PACIFICA             SACRAMENTO               CA
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56203   2C4RC1BG5KR650840   Chrysler      PACIFICA             LOS ANGELES              CA
56204   2C4RC1BG5KR650854   Chrysler      PACIFICA             BURBANK                  CA
56205   2C4RC1BG5KR650871   Chrysler      PACIFICA             SEATAC                   WA
56206   2C4RC1BG5KR650904   Chrysler      PACIFICA             KENNER                   LA
56207   2C4RC1BG5KR650918   Chrysler      PACIFICA             Fontana                  CA
56208   2C4RC1BG5KR650949   Chrysler      PACIFICA             LAUREL                   MD
56209   2C4RC1BG5KR650983   Chrysler      PACIFICA             TUCSON                   AZ
56210   2C4RC1BG5KR651003   Chrysler      PACIFICA             SAINT PAUL               MN
56211   2C4RC1BG5KR651017   Chrysler      PACIFICA             Charlotte                NC
56212   2C4RC1BG5KR651034   Chrysler      PACIFICA             ATLANTA                  GA
56213   2C4RC1BG5KR651065   Chrysler      PACIFICA             STERLING                 VA
56214   2C4RC1BG5KR651082   Chrysler      PACIFICA             PHILADELPHIA             PA
56215   2C4RC1BG5KR651115   Chrysler      PACIFICA             WARWICK                  RI
56216   2C4RC1BG5KR651132   Chrysler      PACIFICA             TAMPA                    US
56217   2C4RC1BG5KR651180   Chrysler      PACIFICA             SAN DIEGO                CA
56218   2C4RC1BG5KR651194   Chrysler      PACIFICA             TRACY                    CA
56219   2C4RC1BG5KR651258   Chrysler      PACIFICA             BOSTON                   MA
56220   2C4RC1BG5KR651261   Chrysler      PACIFICA             KANSAS CITY              MO
56221   2C4RC1BG5KR651289   Chrysler      PACIFICA             SAINT PAUL               MN
56222   2C4RC1BG5KR651311   Chrysler      PACIFICA             DAYTONA BEACH            FL
56223   2C4RC1BG5KR651325   Chrysler      PACIFICA             BURBANK                  CA
56224   2C4RC1BG5KR651390   Chrysler      PACIFICA             Fontana                  CA
56225   2C4RC1BG5KR651440   Chrysler      PACIFICA             SAINT LOUIS              MO
56226   2C4RC1BG5KR651504   Chrysler      PACIFICA             ATLANTA                  GA
56227   2C4RC1BG5KR651552   Chrysler      PACIFICA             DETROIT                  MI
56228   2C4RC1BG5KR651583   Chrysler      PACIFICA             Bordentown               NJ
56229   2C4RC1BG5KR651602   Chrysler      PACIFICA             DENVER                   CO
56230   2C4RC1BG5KR651616   Chrysler      PACIFICA             PORTLAND                 ME
56231   2C4RC1BG5KR651650   Chrysler      PACIFICA             HOUSTON                  TX
56232   2C4RC1BG5KR651664   Chrysler      PACIFICA             KNOXVILLE                TN
56233   2C4RC1BG5KR651695   Chrysler      PACIFICA             JACKSONVILLE             FL
56234   2C4RC1BG5KR651731   Chrysler      PACIFICA             SALT LAKE CITY           US
56235   2C4RC1BG5KR651745   Chrysler      PACIFICA             PHOENIX                  AZ
56236   2C4RC1BG5KR651759   Chrysler      PACIFICA             DETROIT                  MI
56237   2C4RC1BG5KR651809   Chrysler      PACIFICA             SHREVEPORT               LA
56238   2C4RC1BG5KR651826   Chrysler      PACIFICA             MILWAUKEE                WI
56239   2C4RC1BG5KR651857   Chrysler      PACIFICA             REDMOND                  OR
56240   2C4RC1BG5KR651924   Chrysler      PACIFICA             Caledonia                WI
56241   2C4RC1BG5KR651986   Chrysler      PACIFICA             CHICAGO                  IL
56242   2C4RC1BG5KR652040   Chrysler      PACIFICA             CHARLESTON               WV
56243   2C4RC1BG5KR652068   Chrysler      PACIFICA             CASCADE TOWNSHI          MI
56244   2C4RC1BG5KR652071   Chrysler      PACIFICA             SACRAMENTO               CA
56245   2C4RC1BG5KR655052   Chrysler      PACIFICA             PORTLAND                 OR
56246   2C4RC1BG5KR655097   Chrysler      PACIFICA             NEW BERN                 NC
56247   2C4RC1BG5KR655133   Chrysler      PACIFICA             HOUSTON                  TX
56248   2C4RC1BG5KR655147   Chrysler      PACIFICA             DETROIT                  MI
56249   2C4RC1BG5KR657271   Chrysler      PACIFICA             PORTLAND                 OR
56250   2C4RC1BG5KR665418   Chrysler      PACIFICA             MILWAUKEE                WI
56251   2C4RC1BG5KR665449   Chrysler      PACIFICA             SAN DIEGO                CA
56252   2C4RC1BG5KR665452   Chrysler      PACIFICA             SAN DIEGO                US
56253   2C4RC1BG5KR665497   Chrysler      PACIFICA             MIAMI                    FL
56254   2C4RC1BG5KR665516   Chrysler      PACIFICA             SACRAMENTO               CA
56255   2C4RC1BG5KR665581   Chrysler      PACIFICA             LAS VEGAS                NV
56256   2C4RC1BG5KR665600   Chrysler      PACIFICA             LOS ANGELES              CA
56257   2C4RC1BG5KR665676   Chrysler      PACIFICA             NORFOLK                  VA
56258   2C4RC1BG5KR665693   Chrysler      PACIFICA             GRAND RAPIDS             MI
56259   2C4RC1BG5KR665712   Chrysler      PACIFICA             TAMPA                    FL
56260   2C4RC1BG5KR665743   Chrysler      PACIFICA             FORT LAUDERDALE          FL
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56261   2C4RC1BG5KR665774   Chrysler      PACIFICA             PENSACOLA                FL
56262   2C4RC1BG5KR665788   Chrysler      PACIFICA             WEST PALM BEACH          FL
56263   2C4RC1BG5KR665791   Chrysler      PACIFICA             TUCSON                   AZ
56264   2C4RC1BG5KR665905   Chrysler      PACIFICA             LOS ANGELES              CA
56265   2C4RC1BG5KR665922   Chrysler      PACIFICA             PHILADELPHIA             PA
56266   2C4RC1BG5KR665936   Chrysler      PACIFICA             CHICAGO                  IL
56267   2C4RC1BG5KR665953   Chrysler      PACIFICA             DAYTON                   OH
56268   2C4RC1BG5KR666018   Chrysler      PACIFICA             WOODSON TERRACE          MO
56269   2C4RC1BG5KR666035   Chrysler      PACIFICA             SANTA ANA                CA
56270   2C4RC1BG5KR672997   Chrysler      PACIFICA             FORT MYERS               FL
56271   2C4RC1BG5KR673017   Chrysler      PACIFICA             TULSA                    OK
56272   2C4RC1BG5KR673051   Chrysler      PACIFICA             SAN JOSE                 CA
56273   2C4RC1BG5KR673132   Chrysler      PACIFICA             PHILADELPHIA             US
56274   2C4RC1BG5KR673194   Chrysler      PACIFICA             NORFOLK                  VA
56275   2C4RC1BG5KR673213   Chrysler      PACIFICA             RICHMOND                 VA
56276   2C4RC1BG5KR673244   Chrysler      PACIFICA             NASHVILLE                TN
56277   2C4RC1BG5KR673258   Chrysler      PACIFICA             INDIANAPOLIS             IN
56278   2C4RC1BG5KR680484   Chrysler      PACIFICA             SANTA FE                 NM
56279   2C4RC1BG5KR680498   Chrysler      PACIFICA             SACRAMENTO               CA
56280   2C4RC1BG5KR680503   Chrysler      PACIFICA             CHATTANOOGA              TN
56281   2C4RC1BG5KR680517   Chrysler      PACIFICA             CHICAGO                  IL
56282   2C4RC1BG5KR680520   Chrysler      PACIFICA             WOODSON TERRACE          MO
56283   2C4RC1BG5KR680534   Chrysler      PACIFICA             SYRACUSE                 NY
56284   2C4RC1BG5KR680548   Chrysler      PACIFICA             LAS VEGAS                NV
56285   2C4RC1BG5KR680629   Chrysler      PACIFICA             DES MOINES               IA
56286   2C4RC1BG5KR680646   Chrysler      PACIFICA             SEATAC                   WA
56287   2C4RC1BG5KR680680   Chrysler      PACIFICA             INDIANAPOLIS             IN
56288   2C4RC1BG5KR680694   Chrysler      PACIFICA             Avoca                    PA
56289   2C4RC1BG5KR680758   Chrysler      PACIFICA             SEA TAC                  WA
56290   2C4RC1BG5KR680761   Chrysler      PACIFICA             SAN FRANCISCO            CA
56291   2C4RC1BG5KR680808   Chrysler      PACIFICA             INDIANAPOLIS             IN
56292   2C4RC1BG5KR680887   Chrysler      PACIFICA             SAN FRANCISCO            CA
56293   2C4RC1BG5KR680971   Chrysler      PACIFICA             SAINT LOUIS              MO
56294   2C4RC1BG5KR685264   Chrysler      PACIFICA             NEW ORLEANS              LA
56295   2C4RC1BG5KR685278   Chrysler      PACIFICA             SAINT PAUL               MN
56296   2C4RC1BG5KR685295   Chrysler      PACIFICA             HOUSTON                  TX
56297   2C4RC1BG5KR685314   Chrysler      PACIFICA             TAMPA                    FL
56298   2C4RC1BG5KR685359   Chrysler      PACIFICA             ORLANDO                  FL
56299   2C4RC1BG5KR685510   Chrysler      PACIFICA             BURBANK                  CA
56300   2C4RC1BG5KR685524   Chrysler      PACIFICA             MIAMI                    FL
56301   2C4RC1BG5KR685698   Chrysler      PACIFICA             TUCSON                   AZ
56302   2C4RC1BG5KR685720   Chrysler      PACIFICA             MEMPHIS                  TN
56303   2C4RC1BG5KR685796   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56304   2C4RC1BG5KR698242   Chrysler      PACIFICA             SACRAMENTO               CA
56305   2C4RC1BG5KR698256   Chrysler      PACIFICA             LOS ANGELES              CA
56306   2C4RC1BG5KR698306   Chrysler      PACIFICA             CHICAGO                  IL
56307   2C4RC1BG5KR700524   Chrysler      PACIFICA             LAS VEGAS                NV
56308   2C4RC1BG5KR700555   Chrysler      PACIFICA             PORTLAND                 OR
56309   2C4RC1BG5KR700572   Chrysler      PACIFICA             BLOOMINGTON              IL
56310   2C4RC1BG5KR700619   Chrysler      PACIFICA             ANCHORAGE                AK
56311   2C4RC1BG5KR700622   Chrysler      PACIFICA             OKLAHOMA CITY            OK
56312   2C4RC1BG5KR700670   Chrysler      PACIFICA             DALLAS                   TX
56313   2C4RC1BG5KR700703   Chrysler      PACIFICA             Atlanta                  GA
56314   2C4RC1BG5KR700734   Chrysler      PACIFICA             PHOENIX                  AZ
56315   2C4RC1BG5KR704685   Chrysler      PACIFICA             Lynn                     MA
56316   2C4RC1BG5KR704699   Chrysler      PACIFICA             FORT MYERS               FL
56317   2C4RC1BG5KR704735   Chrysler      PACIFICA             PROVIDENCE               RI
56318   2C4RC1BG5KR704752   Chrysler      PACIFICA             PLATTSBURGH              NY
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56319   2C4RC1BG5KR704783   Chrysler      PACIFICA             DALLAS                   TX
56320   2C4RC1BG5KR704797   Chrysler      PACIFICA             Teterboro                NJ
56321   2C4RC1BG5KR704802   Chrysler      PACIFICA             PHOENIX                  AZ
56322   2C4RC1BG5KR704833   Chrysler      PACIFICA             CHICAGO                  IL
56323   2C4RC1BG6KR537138   Chrysler      PACIFICA             Los Angeles              CA
56324   2C4RC1BG6KR537141   Chrysler      PACIFICA             SACRAMENTO               CA
56325   2C4RC1BG6KR537172   Chrysler      PACIFICA             INGLEWOOD                CA
56326   2C4RC1BG6KR537186   Chrysler      PACIFICA             Miami                    FL
56327   2C4RC1BG6KR537219   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56328   2C4RC1BG6KR537222   Chrysler      PACIFICA             RONKONKOMA               NY
56329   2C4RC1BG6KR537236   Chrysler      PACIFICA             ORLANDO                  FL
56330   2C4RC1BG6KR537267   Chrysler      PACIFICA             MIAMI                    FL
56331   2C4RC1BG6KR537270   Chrysler      PACIFICA             Warwick                  RI
56332   2C4RC1BG6KR537284   Chrysler      PACIFICA             WICHITA FALLS            TX
56333   2C4RC1BG6KR537298   Chrysler      PACIFICA             FORT MYERS               FL
56334   2C4RC1BG6KR537303   Chrysler      PACIFICA             MIAMI                    FL
56335   2C4RC1BG6KR537317   Chrysler      PACIFICA             JACKSON                  MS
56336   2C4RC1BG6KR537320   Chrysler      PACIFICA             CLEVELAND                OH
56337   2C4RC1BG6KR537382   Chrysler      PACIFICA             Miami                    FL
56338   2C4RC1BG6KR537513   Chrysler      PACIFICA             ORLANDO                  FL
56339   2C4RC1BG6KR537561   Chrysler      PACIFICA             Davie                    FL
56340   2C4RC1BG6KR537589   Chrysler      PACIFICA             NASHVILLE                TN
56341   2C4RC1BG6KR537608   Chrysler      PACIFICA             ST Paul                  MN
56342   2C4RC1BG6KR537611   Chrysler      PACIFICA             Atlanta                  GA
56343   2C4RC1BG6KR537639   Chrysler      PACIFICA             Harvey                   LA
56344   2C4RC1BG6KR537656   Chrysler      PACIFICA             DES PLAINES              US
56345   2C4RC1BG6KR537673   Chrysler      PACIFICA             LOS ANGELES              CA
56346   2C4RC1BG6KR539276   Chrysler      PACIFICA             ONTARIO                  CA
56347   2C4RC1BG6KR539293   Chrysler      PACIFICA             NEW BERN                 NC
56348   2C4RC1BG6KR539312   Chrysler      PACIFICA             SAN DIEGO                CA
56349   2C4RC1BG6KR539343   Chrysler      PACIFICA             SALT LAKE CITY           US
56350   2C4RC1BG6KR539360   Chrysler      PACIFICA             SARASOTA                 FL
56351   2C4RC1BG6KR539391   Chrysler      PACIFICA             Charlotte                NC
56352   2C4RC1BG6KR539407   Chrysler      PACIFICA             Buffalo                  NY
56353   2C4RC1BG6KR539424   Chrysler      PACIFICA             ORLANDO                  FL
56354   2C4RC1BG6KR539441   Chrysler      PACIFICA             DENVER                   CO
56355   2C4RC1BG6KR539455   Chrysler      PACIFICA             WHITE PLAINS             NY
56356   2C4RC1BG6KR539472   Chrysler      PACIFICA             ORLANDO                  FL
56357   2C4RC1BG6KR539505   Chrysler      PACIFICA             Ft. Myers                FL
56358   2C4RC1BG6KR539519   Chrysler      PACIFICA             JACKSONVILLE             FL
56359   2C4RC1BG6KR539522   Chrysler      PACIFICA             TAMPA                    FL
56360   2C4RC1BG6KR539553   Chrysler      PACIFICA             Fontana                  CA
56361   2C4RC1BG6KR539603   Chrysler      PACIFICA             TAMPA                    FL
56362   2C4RC1BG6KR539634   Chrysler      PACIFICA             Bordentown               NJ
56363   2C4RC1BG6KR539651   Chrysler      PACIFICA             PHILADELPHIA             PA
56364   2C4RC1BG6KR539665   Chrysler      PACIFICA             TAMPA                    FL
56365   2C4RC1BG6KR539682   Chrysler      PACIFICA             FORT MYERS               FL
56366   2C4RC1BG6KR539696   Chrysler      PACIFICA             Manheim                  PA
56367   2C4RC1BG6KR539715   Chrysler      PACIFICA             Tolleson                 AZ
56368   2C4RC1BG6KR539746   Chrysler      PACIFICA             WEST PALM BEACH          FL
56369   2C4RC1BG6KR539777   Chrysler      PACIFICA             NEW BERN                 NC
56370   2C4RC1BG6KR539813   Chrysler      PACIFICA             FORT MYERS               FL
56371   2C4RC1BG6KR539875   Chrysler      PACIFICA             Atlanta                  GA
56372   2C4RC1BG6KR539889   Chrysler      PACIFICA             Hebron                   KY
56373   2C4RC1BG6KR539892   Chrysler      PACIFICA             WEST PALM BEACH          FL
56374   2C4RC1BG6KR539911   Chrysler      PACIFICA             FORT MYERS               FL
56375   2C4RC1BG6KR539925   Chrysler      PACIFICA             Davie                    FL
56376   2C4RC1BG6KR539942   Chrysler      PACIFICA             ORLANDO                  FL
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56377   2C4RC1BG6KR539990   Chrysler      PACIFICA             Atlanta                  GA
56378   2C4RC1BG6KR540007   Chrysler      PACIFICA             Ocoee                    FL
56379   2C4RC1BG6KR540038   Chrysler      PACIFICA             PORTLAND                 OR
56380   2C4RC1BG6KR540041   Chrysler      PACIFICA             KNOXVILLE                TN
56381   2C4RC1BG6KR540086   Chrysler      PACIFICA             Chicago                  IL
56382   2C4RC1BG6KR559902   Chrysler      PACIFICA             DETROIT                  MI
56383   2C4RC1BG6KR559916   Chrysler      PACIFICA             SAN ANTONIO              TX
56384   2C4RC1BG6KR559933   Chrysler      PACIFICA             ORLANDO                  FL
56385   2C4RC1BG6KR559950   Chrysler      PACIFICA             Massapequa               NY
56386   2C4RC1BG6KR559978   Chrysler      PACIFICA             ORLANDO                  FL
56387   2C4RC1BG6KR560001   Chrysler      PACIFICA             TAMPA                    FL
56388   2C4RC1BG6KR560032   Chrysler      PACIFICA             FORT MYERS               FL
56389   2C4RC1BG6KR560046   Chrysler      PACIFICA             Bordentown               NJ
56390   2C4RC1BG6KR560063   Chrysler      PACIFICA             TAMPA                    FL
56391   2C4RC1BG6KR560144   Chrysler      PACIFICA             Salt Lake City           UT
56392   2C4RC1BG6KR560189   Chrysler      PACIFICA             Davie                    FL
56393   2C4RC1BG6KR560905   Chrysler      PACIFICA             MIAMI                    FL
56394   2C4RC1BG6KR560919   Chrysler      PACIFICA             ATLANTA                  GA
56395   2C4RC1BG6KR560953   Chrysler      PACIFICA             JACKSONVILLE             FL
56396   2C4RC1BG6KR560984   Chrysler      PACIFICA             INDIANAPOLIS             IN
56397   2C4RC1BG6KR561004   Chrysler      PACIFICA             MIAMI                    FL
56398   2C4RC1BG6KR561018   Chrysler      PACIFICA             HARRISBURG               PA
56399   2C4RC1BG6KR561133   Chrysler      PACIFICA             SAINT PAUL               MN
56400   2C4RC1BG6KR561147   Chrysler      PACIFICA             Atlanta                  GA
56401   2C4RC1BG6KR561150   Chrysler      PACIFICA             DETROIT                  MI
56402   2C4RC1BG6KR561178   Chrysler      PACIFICA             RICHMOND                 VA
56403   2C4RC1BG6KR581351   Chrysler      PACIFICA             MIAMI                    FL
56404   2C4RC1BG6KR581382   Chrysler      PACIFICA             ONTARIO                  CA
56405   2C4RC1BG6KR581432   Chrysler      PACIFICA             ORLANDO                  FL
56406   2C4RC1BG6KR582838   Chrysler      PACIFICA             ORLANDO                  FL
56407   2C4RC1BG6KR582841   Chrysler      PACIFICA             FORT MYERS               FL
56408   2C4RC1BG6KR582855   Chrysler      PACIFICA             ORLANDO                  FL
56409   2C4RC1BG6KR582922   Chrysler      PACIFICA             FT LAUDERDALE            US
56410   2C4RC1BG6KR582936   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56411   2C4RC1BG6KR582967   Chrysler      PACIFICA             Miami                    FL
56412   2C4RC1BG6KR583018   Chrysler      PACIFICA             TAMPA                    FL
56413   2C4RC1BG6KR583035   Chrysler      PACIFICA             PENSACOLA                FL
56414   2C4RC1BG6KR583052   Chrysler      PACIFICA             WEST PALM BEACH          FL
56415   2C4RC1BG6KR596738   Chrysler      PACIFICA             ONTARIO                  CA
56416   2C4RC1BG6KR596755   Chrysler      PACIFICA             MIAMI                    FL
56417   2C4RC1BG6KR596867   Chrysler      PACIFICA             Albuquerque              NM
56418   2C4RC1BG6KR596870   Chrysler      PACIFICA             KNOXVILLE                TN
56419   2C4RC1BG6KR596903   Chrysler      PACIFICA             UNION CITY               GA
56420   2C4RC1BG6KR596920   Chrysler      PACIFICA             Cedar Rapids             IA
56421   2C4RC1BG6KR597002   Chrysler      PACIFICA             ATLANTA                  GA
56422   2C4RC1BG6KR597047   Chrysler      PACIFICA             KNOXVILLE                TN
56423   2C4RC1BG6KR597050   Chrysler      PACIFICA             AUSTIN                   TX
56424   2C4RC1BG6KR597128   Chrysler      PACIFICA             NORFOLK                  VA
56425   2C4RC1BG6KR597193   Chrysler      PACIFICA             INDIANAPOLIS             IN
56426   2C4RC1BG6KR597212   Chrysler      PACIFICA             ORLANDO                  FL
56427   2C4RC1BG6KR617118   Chrysler      PACIFICA             INGLEWOOD                CA
56428   2C4RC1BG6KR617121   Chrysler      PACIFICA             WEST PALM BEACH          FL
56429   2C4RC1BG6KR617135   Chrysler      PACIFICA             DFW AIRPORT              TX
56430   2C4RC1BG6KR617183   Chrysler      PACIFICA             SAINT PAUL               MN
56431   2C4RC1BG6KR617202   Chrysler      PACIFICA             ORLANDO                  FL
56432   2C4RC1BG6KR624747   Chrysler      PACIFICA             NEW ORLEANS              LA
56433   2C4RC1BG6KR624750   Chrysler      PACIFICA             Rio Linda                CA
56434   2C4RC1BG6KR624778   Chrysler      PACIFICA             PALM SPRINGS             CA
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56435   2C4RC1BG6KR624795   Chrysler      PACIFICA             LOS ANGELES              CA
56436   2C4RC1BG6KR624800   Chrysler      PACIFICA             SAN FRANCISCO            CA
56437   2C4RC1BG6KR624893   Chrysler      PACIFICA             Memphis                  TN
56438   2C4RC1BG6KR624991   Chrysler      PACIFICA             SEA TAC                  WA
56439   2C4RC1BG6KR625137   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56440   2C4RC1BG6KR625218   Chrysler      PACIFICA             PHOENIX                  AZ
56441   2C4RC1BG6KR625221   Chrysler      PACIFICA             JACKSONVILLE             FL
56442   2C4RC1BG6KR625235   Chrysler      PACIFICA             TAMPA                    FL
56443   2C4RC1BG6KR625249   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56444   2C4RC1BG6KR625252   Chrysler      PACIFICA             DETROIT                  MI
56445   2C4RC1BG6KR625266   Chrysler      PACIFICA             TAMPA                    FL
56446   2C4RC1BG6KR625283   Chrysler      PACIFICA             Manheim                  PA
56447   2C4RC1BG6KR625297   Chrysler      PACIFICA             BURBANK                  CA
56448   2C4RC1BG6KR625316   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56449   2C4RC1BG6KR625333   Chrysler      PACIFICA             DES MOINES               IA
56450   2C4RC1BG6KR625381   Chrysler      PACIFICA             FRESNO                   CA
56451   2C4RC1BG6KR625395   Chrysler      PACIFICA             SAN ANTONIO              TX
56452   2C4RC1BG6KR625400   Chrysler      PACIFICA             Kansas City              MO
56453   2C4RC1BG6KR625428   Chrysler      PACIFICA             ORLANDO                  FL
56454   2C4RC1BG6KR625526   Chrysler      PACIFICA             KILLEEN                  US
56455   2C4RC1BG6KR625543   Chrysler      PACIFICA             TAMPA                    FL
56456   2C4RC1BG6KR625557   Chrysler      PACIFICA             ALBUQERQUE               NM
56457   2C4RC1BG6KR625638   Chrysler      PACIFICA             DALLAS                   TX
56458   2C4RC1BG6KR625686   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
56459   2C4RC1BG6KR625753   Chrysler      PACIFICA             Atlanta                  GA
56460   2C4RC1BG6KR625784   Chrysler      PACIFICA             BROOKLYN                 NY
56461   2C4RC1BG6KR625803   Chrysler      PACIFICA             GREENSBORO               NC
56462   2C4RC1BG6KR625820   Chrysler      PACIFICA             ORLANDO                  FL
56463   2C4RC1BG6KR625879   Chrysler      PACIFICA             JACKSONVILLE             FL
56464   2C4RC1BG6KR626014   Chrysler      PACIFICA             LOS ANGELES              CA
56465   2C4RC1BG6KR626045   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
56466   2C4RC1BG6KR626059   Chrysler      PACIFICA             NEW BERN                 NC
56467   2C4RC1BG6KR626157   Chrysler      PACIFICA             GYPSUM                   CO
56468   2C4RC1BG6KR626188   Chrysler      PACIFICA             PHILADELPHIA             PA
56469   2C4RC1BG6KR626224   Chrysler      PACIFICA             AUSTIN                   TX
56470   2C4RC1BG6KR626241   Chrysler      PACIFICA             Beaverton                OR
56471   2C4RC1BG6KR626269   Chrysler      PACIFICA             EAST BOSTON              MA
56472   2C4RC1BG6KR626286   Chrysler      PACIFICA             BURBANK                  CA
56473   2C4RC1BG6KR626305   Chrysler      PACIFICA             KNOXVILLE                TN
56474   2C4RC1BG6KR626322   Chrysler      PACIFICA             FRESNO                   CA
56475   2C4RC1BG6KR626353   Chrysler      PACIFICA             DENVER                   CO
56476   2C4RC1BG6KR626434   Chrysler      PACIFICA             ATLANTA                  GA
56477   2C4RC1BG6KR633139   Chrysler      PACIFICA             DENVER                   CO
56478   2C4RC1BG6KR643668   Chrysler      PACIFICA             SALT LAKE CITY           US
56479   2C4RC1BG6KR643671   Chrysler      PACIFICA             CLEVELAND                OH
56480   2C4RC1BG6KR650037   Chrysler      PACIFICA             SHREVEPORT               LA
56481   2C4RC1BG6KR650040   Chrysler      PACIFICA             INDIANAPOLIS             IN
56482   2C4RC1BG6KR650054   Chrysler      PACIFICA             KENNER                   LA
56483   2C4RC1BG6KR650068   Chrysler      PACIFICA             Atlanta                  GA
56484   2C4RC1BG6KR650071   Chrysler      PACIFICA             Reno                     NV
56485   2C4RC1BG6KR650085   Chrysler      PACIFICA             AUSTIN                   TX
56486   2C4RC1BG6KR650104   Chrysler      PACIFICA             BIRMINGHAM               AL
56487   2C4RC1BG6KR650118   Chrysler      PACIFICA             COLLEGE PARK             GA
56488   2C4RC1BG6KR650135   Chrysler      PACIFICA             Des Moines               IA
56489   2C4RC1BG6KR650152   Chrysler      PACIFICA             ROCHESTER                NY
56490   2C4RC1BG6KR650166   Chrysler      PACIFICA             GAINESVILLE              FL
56491   2C4RC1BG6KR650183   Chrysler      PACIFICA             SHREVEPORT               LA
56492   2C4RC1BG6KR650197   Chrysler      PACIFICA             PENSACOLA                FL
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56493   2C4RC1BG6KR650202   Chrysler      PACIFICA             SAN JOSE                 CA
56494   2C4RC1BG6KR650233   Chrysler      PACIFICA             PORTLAND                 OR
56495   2C4RC1BG6KR650264   Chrysler      PACIFICA             LAS VEGAS                NV
56496   2C4RC1BG6KR650278   Chrysler      PACIFICA             INDIANAPOLIS             IN
56497   2C4RC1BG6KR650295   Chrysler      PACIFICA             PALM SPRINGS             CA
56498   2C4RC1BG6KR650314   Chrysler      PACIFICA             Atlanta                  GA
56499   2C4RC1BG6KR650328   Chrysler      PACIFICA             HOUSTON                  TX
56500   2C4RC1BG6KR650345   Chrysler      PACIFICA             CHICAGO                  IL
56501   2C4RC1BG6KR650362   Chrysler      PACIFICA             BALTIMORE                MD
56502   2C4RC1BG6KR650376   Chrysler      PACIFICA             KENNER                   LA
56503   2C4RC1BG6KR650409   Chrysler      PACIFICA             SAN ANTONIO              TX
56504   2C4RC1BG6KR650412   Chrysler      PACIFICA             ORLANDO                  FL
56505   2C4RC1BG6KR650443   Chrysler      PACIFICA             SAN DIEGO                CA
56506   2C4RC1BG6KR650457   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56507   2C4RC1BG6KR650491   Chrysler      PACIFICA             KANSAS CITY              MO
56508   2C4RC1BG6KR650507   Chrysler      PACIFICA             MIAMI                    FL
56509   2C4RC1BG6KR650510   Chrysler      PACIFICA             MIAMI                    FL
56510   2C4RC1BG6KR650524   Chrysler      PACIFICA             Hamilton                 OH
56511   2C4RC1BG6KR650569   Chrysler      PACIFICA             FOLSOM                   CA
56512   2C4RC1BG6KR650653   Chrysler      PACIFICA             AUSTIN                   TX
56513   2C4RC1BG6KR650670   Chrysler      PACIFICA             AUSTIN                   TX
56514   2C4RC1BG6KR650720   Chrysler      PACIFICA             DALLAS                   TX
56515   2C4RC1BG6KR650748   Chrysler      PACIFICA             LAS VEGAS                NV
56516   2C4RC1BG6KR650751   Chrysler      PACIFICA             LAS VEGAS                NV
56517   2C4RC1BG6KR650779   Chrysler      PACIFICA             COLLEGE PARK             GA
56518   2C4RC1BG6KR650846   Chrysler      PACIFICA             SAN DIEGO                CA
56519   2C4RC1BG6KR650877   Chrysler      PACIFICA             PHOENIX                  AZ
56520   2C4RC1BG6KR650880   Chrysler      PACIFICA             SEATAC                   WA
56521   2C4RC1BG6KR650894   Chrysler      PACIFICA             AUSTIN                   TX
56522   2C4RC1BG6KR650913   Chrysler      PACIFICA             Reno                     NV
56523   2C4RC1BG6KR650958   Chrysler      PACIFICA             HOUSTON                  TX
56524   2C4RC1BG6KR650961   Chrysler      PACIFICA             Riverside                CA
56525   2C4RC1BG6KR650975   Chrysler      PACIFICA             SAN FRANCISCO            CA
56526   2C4RC1BG6KR650989   Chrysler      PACIFICA             PORTLAND                 OR
56527   2C4RC1BG6KR651009   Chrysler      PACIFICA             TAMPA                    FL
56528   2C4RC1BG6KR651012   Chrysler      PACIFICA             BLOOMINGTON              IL
56529   2C4RC1BG6KR651026   Chrysler      PACIFICA             ORLANDO                  FL
56530   2C4RC1BG6KR651043   Chrysler      PACIFICA             PHILADELPHIA             US
56531   2C4RC1BG6KR651060   Chrysler      PACIFICA             North Dighton            MA
56532   2C4RC1BG6KR651088   Chrysler      PACIFICA             CHICAGO                  IL
56533   2C4RC1BG6KR651169   Chrysler      PACIFICA             Tampa                    FL
56534   2C4RC1BG6KR651205   Chrysler      PACIFICA             HOUSTON                  TX
56535   2C4RC1BG6KR651219   Chrysler      PACIFICA             ONTARIO                  CA
56536   2C4RC1BG6KR651222   Chrysler      PACIFICA             LAS VEGAS                NV
56537   2C4RC1BG6KR651253   Chrysler      PACIFICA             AUSTIN                   TX
56538   2C4RC1BG6KR651317   Chrysler      PACIFICA             GRAND RAPIDS             MI
56539   2C4RC1BG6KR651401   Chrysler      PACIFICA             LOS ANGELES              CA
56540   2C4RC1BG6KR651415   Chrysler      PACIFICA             GRAND RAPIDS             MI
56541   2C4RC1BG6KR651432   Chrysler      PACIFICA             Charleston               SC
56542   2C4RC1BG6KR651446   Chrysler      PACIFICA             Statesville              NC
56543   2C4RC1BG6KR651477   Chrysler      PACIFICA             HARRISBURG               PA
56544   2C4RC1BG6KR651575   Chrysler      PACIFICA             LOUISVILLE               KY
56545   2C4RC1BG6KR651589   Chrysler      PACIFICA             Atlanta                  GA
56546   2C4RC1BG6KR651611   Chrysler      PACIFICA             KNOXVILLE                TN
56547   2C4RC1BG6KR651625   Chrysler      PACIFICA             WEST COLUMBIA            SC
56548   2C4RC1BG6KR651687   Chrysler      PACIFICA             KNOXVILLE                TN
56549   2C4RC1BG6KR651690   Chrysler      PACIFICA             Manville                 NJ
56550   2C4RC1BG6KR651737   Chrysler      PACIFICA             PHILADELPHIA             PA
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56551   2C4RC1BG6KR651754   Chrysler      PACIFICA             HOUSTON                  TX
56552   2C4RC1BG6KR651768   Chrysler      PACIFICA             UNION CITY               GA
56553   2C4RC1BG6KR651785   Chrysler      PACIFICA             MILWAUKEE                WI
56554   2C4RC1BG6KR651799   Chrysler      PACIFICA             MEMPHIS                  TN
56555   2C4RC1BG6KR651818   Chrysler      PACIFICA             Saint Paul               MN
56556   2C4RC1BG6KR651821   Chrysler      PACIFICA             PORTLAND                 OR
56557   2C4RC1BG6KR651849   Chrysler      PACIFICA             WARWICK                  RI
56558   2C4RC1BG6KR651852   Chrysler      PACIFICA             SACRAMENTO               CA
56559   2C4RC1BG6KR651866   Chrysler      PACIFICA             KNOXVILLE                TN
56560   2C4RC1BG6KR651897   Chrysler      PACIFICA             DES MOINES               IA
56561   2C4RC1BG6KR651902   Chrysler      PACIFICA             JACKSONVILLE             FL
56562   2C4RC1BG6KR651916   Chrysler      PACIFICA             Dallas                   TX
56563   2C4RC1BG6KR651933   Chrysler      PACIFICA             FRESNO                   CA
56564   2C4RC1BG6KR651964   Chrysler      PACIFICA             MIAMI                    FL
56565   2C4RC1BG6KR651978   Chrysler      PACIFICA             KNOXVILLE                TN
56566   2C4RC1BG6KR652029   Chrysler      PACIFICA             ONTARIO                  CA
56567   2C4RC1BG6KR652032   Chrysler      PACIFICA             KANSAS CITY              MO
56568   2C4RC1BG6KR652046   Chrysler      PACIFICA             CHICAGO                  IL
56569   2C4RC1BG6KR652063   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56570   2C4RC1BG6KR652077   Chrysler      PACIFICA             NEW YORK CITY            NY
56571   2C4RC1BG6KR652080   Chrysler      PACIFICA             Parkville                MD
56572   2C4RC1BG6KR652094   Chrysler      PACIFICA             SAN DIEGO                CA
56573   2C4RC1BG6KR655061   Chrysler      PACIFICA             SAN DIEGO                CA
56574   2C4RC1BG6KR655092   Chrysler      PACIFICA             LOS ANGELES              CA
56575   2C4RC1BG6KR655111   Chrysler      PACIFICA             ORLANDO                  FL
56576   2C4RC1BG6KR655142   Chrysler      PACIFICA             Albuquerque              NM
56577   2C4RC1BG6KR655156   Chrysler      PACIFICA             NEWARK                   NJ
56578   2C4RC1BG6KR657246   Chrysler      PACIFICA             Statesville              NC
56579   2C4RC1BG6KR657313   Chrysler      PACIFICA             BLOOMINGTON              IL
56580   2C4RC1BG6KR665430   Chrysler      PACIFICA             BOISE                    US
56581   2C4RC1BG6KR665458   Chrysler      PACIFICA             LAS VEGAS                NV
56582   2C4RC1BG6KR665606   Chrysler      PACIFICA             DALLAS                   TX
56583   2C4RC1BG6KR665623   Chrysler      PACIFICA             VALLEJO                  CA
56584   2C4RC1BG6KR665637   Chrysler      PACIFICA             BIRMINGHAM               AL
56585   2C4RC1BG6KR665640   Chrysler      PACIFICA             Bordentown               NJ
56586   2C4RC1BG6KR665654   Chrysler      PACIFICA             SALT LAKE CITY           UT
56587   2C4RC1BG6KR665699   Chrysler      PACIFICA             TAMPA                    FL
56588   2C4RC1BG6KR665749   Chrysler      PACIFICA             RICHMOND                 VA
56589   2C4RC1BG6KR665752   Chrysler      PACIFICA             DENVER                   CO
56590   2C4RC1BG6KR665766   Chrysler      PACIFICA             BUFFALO                  NY
56591   2C4RC1BG6KR665783   Chrysler      PACIFICA             NEW BERN                 NC
56592   2C4RC1BG6KR665802   Chrysler      PACIFICA             Warr Acres               OK
56593   2C4RC1BG6KR665816   Chrysler      PACIFICA             BOSTON                   MA
56594   2C4RC1BG6KR665850   Chrysler      PACIFICA             SYRACUSE                 NY
56595   2C4RC1BG6KR665878   Chrysler      PACIFICA             NEW BERN                 NC
56596   2C4RC1BG6KR665895   Chrysler      PACIFICA             BOSTON                   MA
56597   2C4RC1BG6KR665928   Chrysler      PACIFICA             RONKONKOMA               NY
56598   2C4RC1BG6KR665931   Chrysler      PACIFICA             ALBANY                   N
56599   2C4RC1BG6KR665976   Chrysler      PACIFICA             ROCHESTER                NY
56600   2C4RC1BG6KR665993   Chrysler      PACIFICA             STERLING                 VA
56601   2C4RC1BG6KR666013   Chrysler      PACIFICA             Portland                 OR
56602   2C4RC1BG6KR666058   Chrysler      PACIFICA             Irving                   TX
56603   2C4RC1BG6KR666061   Chrysler      PACIFICA             PHILADELPHIA             PA
56604   2C4RC1BG6KR673043   Chrysler      PACIFICA             Philadelphia             PA
56605   2C4RC1BG6KR673074   Chrysler      PACIFICA             CORPUS CHRISTI           TX
56606   2C4RC1BG6KR673088   Chrysler      PACIFICA             HOUSTON                  TX
56607   2C4RC1BG6KR673169   Chrysler      PACIFICA             PHOENIX                  AZ
56608   2C4RC1BG6KR673172   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
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56609   2C4RC1BG6KR673267   Chrysler      PACIFICA             HOUSTON                  TX
56610   2C4RC1BG6KR673270   Chrysler      PACIFICA             LOS ANGELES              CA
56611   2C4RC1BG6KR675665   Chrysler      PACIFICA             FORT MYERS               FL
56612   2C4RC1BG6KR680445   Chrysler      PACIFICA             GRAND RAPIDS             MI
56613   2C4RC1BG6KR680459   Chrysler      PACIFICA             SAN FRANCISCO            CA
56614   2C4RC1BG6KR680462   Chrysler      PACIFICA             SALT LAKE CITY           US
56615   2C4RC1BG6KR680509   Chrysler      PACIFICA             LOS ANGELES              CA
56616   2C4RC1BG6KR680512   Chrysler      PACIFICA             SAN JOSE                 CA
56617   2C4RC1BG6KR680543   Chrysler      PACIFICA             SAN JOSE                 CA
56618   2C4RC1BG6KR680607   Chrysler      PACIFICA             LAS VEGAS                NV
56619   2C4RC1BG6KR680669   Chrysler      PACIFICA             KENNER                   LA
56620   2C4RC1BG6KR680672   Chrysler      PACIFICA             NORFOLK                  VA
56621   2C4RC1BG6KR680719   Chrysler      PACIFICA             SEATAC                   WA
56622   2C4RC1BG6KR680767   Chrysler      PACIFICA             SACRAMENTO               CA
56623   2C4RC1BG6KR680803   Chrysler      PACIFICA             WEST COLUMBIA            SC
56624   2C4RC1BG6KR680834   Chrysler      PACIFICA             NEW BERN                 NC
56625   2C4RC1BG6KR680851   Chrysler      PACIFICA             CHICAGO                  IL
56626   2C4RC1BG6KR680865   Chrysler      PACIFICA             MINNEAPOLIS              MN
56627   2C4RC1BG6KR680896   Chrysler      PACIFICA             BOSTON                   MA
56628   2C4RC1BG6KR680932   Chrysler      PACIFICA             MIAMI                    FL
56629   2C4RC1BG6KR680946   Chrysler      PACIFICA             EGG HARBOR TOWN          NJ
56630   2C4RC1BG6KR680977   Chrysler      PACIFICA             DES MOINES               IA
56631   2C4RC1BG6KR680980   Chrysler      PACIFICA             AUSTIN                   TX
56632   2C4RC1BG6KR685323   Chrysler      PACIFICA             CHARLESTON               WV
56633   2C4RC1BG6KR685337   Chrysler      PACIFICA             JAMAICA                  NY
56634   2C4RC1BG6KR685340   Chrysler      PACIFICA             DETROIT                  MI
56635   2C4RC1BG6KR685516   Chrysler      PACIFICA             PORTLAND                 OR
56636   2C4RC1BG6KR685550   Chrysler      PACIFICA             ST PAUL                  MN
56637   2C4RC1BG6KR685578   Chrysler      PACIFICA             DETROIT                  MI
56638   2C4RC1BG6KR685693   Chrysler      PACIFICA             DALLAS                   TX
56639   2C4RC1BG6KR685709   Chrysler      PACIFICA             STERLING                 VA
56640   2C4RC1BG6KR685743   Chrysler      PACIFICA             CLEVELAND                OH
56641   2C4RC1BG6KR685774   Chrysler      PACIFICA             Hebron                   KY
56642   2C4RC1BG6KR685788   Chrysler      PACIFICA             LOS ANGELES              CA
56643   2C4RC1BG6KR685791   Chrysler      PACIFICA             DES MOINES               IA
56644   2C4RC1BG6KR685807   Chrysler      PACIFICA             DALLAS                   TX
56645   2C4RC1BG6KR685810   Chrysler      PACIFICA             CHICAGO                  IL
56646   2C4RC1BG6KR698248   Chrysler      PACIFICA             HAWTHORNE                CA
56647   2C4RC1BG6KR698251   Chrysler      PACIFICA             LAS VEGAS                NV
56648   2C4RC1BG6KR700533   Chrysler      PACIFICA             LOS ANGELES              CA
56649   2C4RC1BG6KR700631   Chrysler      PACIFICA             PHOENIX                  AZ
56650   2C4RC1BG6KR700659   Chrysler      PACIFICA             INDIANAPOLIS             IN
56651   2C4RC1BG6KR700662   Chrysler      PACIFICA             SAN ANTONIO              TX
56652   2C4RC1BG6KR700709   Chrysler      PACIFICA             ONTARIO                  CA
56653   2C4RC1BG6KR700726   Chrysler      PACIFICA             ALBUQUERQUE              NM
56654   2C4RC1BG6KR700743   Chrysler      PACIFICA             SAN DIEGO                CA
56655   2C4RC1BG6KR700757   Chrysler      PACIFICA             LAS VEGAS                NV
56656   2C4RC1BG6KR704730   Chrysler      PACIFICA             LOS ANGELES              CA
56657   2C4RC1BG6KR704789   Chrysler      PACIFICA             KNOXVILLE                TN
56658   2C4RC1BG6KR704808   Chrysler      PACIFICA             FORT MYERS               FL
56659   2C4RC1BG6KR704811   Chrysler      PACIFICA             SAN ANTONIO              TX
56660   2C4RC1BG6KR704825   Chrysler      PACIFICA             COLLEGE PARK             GA
56661   2C4RC1BG6KR704839   Chrysler      PACIFICA             MIAMI                    FL
56662   2C4RC1BG7KR537133   Chrysler      PACIFICA             Dallas                   TX
56663   2C4RC1BG7KR537164   Chrysler      PACIFICA             Clearwater               FL
56664   2C4RC1BG7KR537181   Chrysler      PACIFICA             Sanford                  FL
56665   2C4RC1BG7KR537195   Chrysler      PACIFICA             ATLANTA                  GA
56666   2C4RC1BG7KR537200   Chrysler      PACIFICA             FORT LAUDERDALE          FL
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56667   2C4RC1BG7KR537214   Chrysler      PACIFICA             Tampa                    FL
56668   2C4RC1BG7KR537228   Chrysler      PACIFICA             SEATAC                   WA
56669   2C4RC1BG7KR537231   Chrysler      PACIFICA             ORLANDO                  FL
56670   2C4RC1BG7KR537245   Chrysler      PACIFICA             TULSA                    OK
56671   2C4RC1BG7KR537259   Chrysler      PACIFICA             Miami                    FL
56672   2C4RC1BG7KR537262   Chrysler      PACIFICA             LAS VEGAS                NV
56673   2C4RC1BG7KR537276   Chrysler      PACIFICA             CLEVELAND                OH
56674   2C4RC1BG7KR537293   Chrysler      PACIFICA             Parkville                MD
56675   2C4RC1BG7KR537312   Chrysler      PACIFICA             Ocoee                    FL
56676   2C4RC1BG7KR537360   Chrysler      PACIFICA             HOUSTON                  TX
56677   2C4RC1BG7KR537374   Chrysler      PACIFICA             DETROIT                  MI
56678   2C4RC1BG7KR537388   Chrysler      PACIFICA             Syracuse                 NY
56679   2C4RC1BG7KR537391   Chrysler      PACIFICA             Cincinnati               OH
56680   2C4RC1BG7KR537407   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56681   2C4RC1BG7KR537410   Chrysler      PACIFICA             Manheim                  PA
56682   2C4RC1BG7KR537438   Chrysler      PACIFICA             WEST PALM BEACH          FL
56683   2C4RC1BG7KR537469   Chrysler      PACIFICA             Atlanta                  GA
56684   2C4RC1BG7KR537472   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
56685   2C4RC1BG7KR537536   Chrysler      PACIFICA             PORTLAND                 ME
56686   2C4RC1BG7KR537584   Chrysler      PACIFICA             NEWARK                   NJ
56687   2C4RC1BG7KR537603   Chrysler      PACIFICA             Elkridge                 MD
56688   2C4RC1BG7KR537620   Chrysler      PACIFICA             PHOENIX                  AZ
56689   2C4RC1BG7KR537634   Chrysler      PACIFICA             Davie                    FL
56690   2C4RC1BG7KR537648   Chrysler      PACIFICA             ALBANY                   NY
56691   2C4RC1BG7KR537715   Chrysler      PACIFICA             ATLANTA                  GA
56692   2C4RC1BG7KR539271   Chrysler      PACIFICA             Ocoee                    FL
56693   2C4RC1BG7KR539285   Chrysler      PACIFICA             Pittsburgh               PA
56694   2C4RC1BG7KR539299   Chrysler      PACIFICA             Pheonix                  AZ
56695   2C4RC1BG7KR539304   Chrysler      PACIFICA             LAS VEGAS                NV
56696   2C4RC1BG7KR539318   Chrysler      PACIFICA             Burien                   WA
56697   2C4RC1BG7KR539335   Chrysler      PACIFICA             ONTARIO                  CA
56698   2C4RC1BG7KR539349   Chrysler      PACIFICA             PHOENIX                  AZ
56699   2C4RC1BG7KR539352   Chrysler      PACIFICA             Ventura                  CA
56700   2C4RC1BG7KR539397   Chrysler      PACIFICA             KENNER                   LA
56701   2C4RC1BG7KR539416   Chrysler      PACIFICA             Atlanta                  GA
56702   2C4RC1BG7KR539447   Chrysler      PACIFICA             MIAMI                    FL
56703   2C4RC1BG7KR539450   Chrysler      PACIFICA             SAN DIEGO                CA
56704   2C4RC1BG7KR539481   Chrysler      PACIFICA             Estero                   FL
56705   2C4RC1BG7KR539500   Chrysler      PACIFICA             NASHVILLE                TN
56706   2C4RC1BG7KR539612   Chrysler      PACIFICA             Philadelphia             PA
56707   2C4RC1BG7KR539626   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56708   2C4RC1BG7KR539643   Chrysler      PACIFICA             JACKSONVILLE             FL
56709   2C4RC1BG7KR539660   Chrysler      PACIFICA             KNOXVILLE                TN
56710   2C4RC1BG7KR539724   Chrysler      PACIFICA             Oklahoma City            OK
56711   2C4RC1BG7KR539755   Chrysler      PACIFICA             TAMPA                    FL
56712   2C4RC1BG7KR539786   Chrysler      PACIFICA             WARWICK                  RI
56713   2C4RC1BG7KR539822   Chrysler      PACIFICA             Kent                     WA
56714   2C4RC1BG7KR539853   Chrysler      PACIFICA             ALBUQERQUE               NM
56715   2C4RC1BG7KR539867   Chrysler      PACIFICA             FORT MYERS               FL
56716   2C4RC1BG7KR539898   Chrysler      PACIFICA             CHARLOTTE                NC
56717   2C4RC1BG7KR539903   Chrysler      PACIFICA             ORLANDO                  FL
56718   2C4RC1BG7KR539917   Chrysler      PACIFICA             CHARLESTON               WV
56719   2C4RC1BG7KR539934   Chrysler      PACIFICA             FORT MYERS               FL
56720   2C4RC1BG7KR539951   Chrysler      PACIFICA             Hayward                  CA
56721   2C4RC1BG7KR539996   Chrysler      PACIFICA             Ocoee                    FL
56722   2C4RC1BG7KR540033   Chrysler      PACIFICA             DENVER                   CO
56723   2C4RC1BG7KR540100   Chrysler      PACIFICA             Euless                   TX
56724   2C4RC1BG7KR559892   Chrysler      PACIFICA             ONTARIO                  CA
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56725   2C4RC1BG7KR559908   Chrysler      PACIFICA             SALT LAKE CITY           US
56726   2C4RC1BG7KR559911   Chrysler      PACIFICA             ORLANDO                  FL
56727   2C4RC1BG7KR559925   Chrysler      PACIFICA             ORLANDO                  FL
56728   2C4RC1BG7KR559939   Chrysler      PACIFICA             Orlando                  FL
56729   2C4RC1BG7KR559956   Chrysler      PACIFICA             WEST PALM BEACH          FL
56730   2C4RC1BG7KR560007   Chrysler      PACIFICA             MIAMI                    FL
56731   2C4RC1BG7KR560024   Chrysler      PACIFICA             WEST PALM BEACH          FL
56732   2C4RC1BG7KR560055   Chrysler      PACIFICA             INDIANAPOLIS             IN
56733   2C4RC1BG7KR560069   Chrysler      PACIFICA             Woodhaven                MI
56734   2C4RC1BG7KR560072   Chrysler      PACIFICA             Norfolk                  VA
56735   2C4RC1BG7KR560119   Chrysler      PACIFICA             MEDINA                   OH
56736   2C4RC1BG7KR560122   Chrysler      PACIFICA             ORLANDO                  FL
56737   2C4RC1BG7KR560136   Chrysler      PACIFICA             MEDINA                   OH
56738   2C4RC1BG7KR560153   Chrysler      PACIFICA             Miami                    FL
56739   2C4RC1BG7KR560167   Chrysler      PACIFICA             DETROIT                  MI
56740   2C4RC1BG7KR560170   Chrysler      PACIFICA             CLEVELAND                OH
56741   2C4RC1BG7KR560881   Chrysler      PACIFICA             SAN DIEGO                CA
56742   2C4RC1BG7KR560895   Chrysler      PACIFICA             FORT MYERS               FL
56743   2C4RC1BG7KR560900   Chrysler      PACIFICA             ATLANTA                  GA
56744   2C4RC1BG7KR560914   Chrysler      PACIFICA             Charlotte                NC
56745   2C4RC1BG7KR560962   Chrysler      PACIFICA             FORT MYERS               FL
56746   2C4RC1BG7KR560976   Chrysler      PACIFICA             PITTSBURGH               PA
56747   2C4RC1BG7KR560993   Chrysler      PACIFICA             DES MOINES               IA
56748   2C4RC1BG7KR561013   Chrysler      PACIFICA             MCALLEN                  TX
56749   2C4RC1BG7KR561044   Chrysler      PACIFICA             PENSACOLA                FL
56750   2C4RC1BG7KR561061   Chrysler      PACIFICA             Massapequa               NY
56751   2C4RC1BG7KR561108   Chrysler      PACIFICA             NEW YORK CITY            NY
56752   2C4RC1BG7KR561139   Chrysler      PACIFICA             ORLANDO                  FL
56753   2C4RC1BG7KR561142   Chrysler      PACIFICA             TAMPA                    US
56754   2C4RC1BG7KR561173   Chrysler      PACIFICA             Manheim                  PA
56755   2C4RC1BG7KR581343   Chrysler      PACIFICA             NORFOLK                  VA
56756   2C4RC1BG7KR581407   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56757   2C4RC1BG7KR581424   Chrysler      PACIFICA             NEWARK                   NJ
56758   2C4RC1BG7KR581522   Chrysler      PACIFICA             GRAND RAPIDS             MI
56759   2C4RC1BG7KR581536   Chrysler      PACIFICA             KENNER                   LA
56760   2C4RC1BG7KR582833   Chrysler      PACIFICA             SAN DIEGO                CA
56761   2C4RC1BG7KR582847   Chrysler      PACIFICA             TULSA                    OK
56762   2C4RC1BG7KR582864   Chrysler      PACIFICA             FORT MYERS               FL
56763   2C4RC1BG7KR582878   Chrysler      PACIFICA             Latham                   NY
56764   2C4RC1BG7KR582900   Chrysler      PACIFICA             Oklahoma City            OK
56765   2C4RC1BG7KR582928   Chrysler      PACIFICA             PHILADELPHIA             PA
56766   2C4RC1BG7KR582945   Chrysler      PACIFICA             DAYTONA BEACH            FL
56767   2C4RC1BG7KR582976   Chrysler      PACIFICA             DENVER                   CO
56768   2C4RC1BG7KR583030   Chrysler      PACIFICA             TAMPA                    FL
56769   2C4RC1BG7KR583061   Chrysler      PACIFICA             SAC                      CA
56770   2C4RC1BG7KR596747   Chrysler      PACIFICA             SAN DIEGO                CA
56771   2C4RC1BG7KR596750   Chrysler      PACIFICA             DETROIT                  MI
56772   2C4RC1BG7KR596778   Chrysler      PACIFICA             SACRAMENTO               CA
56773   2C4RC1BG7KR596781   Chrysler      PACIFICA             Lake Elsinore            CA
56774   2C4RC1BG7KR596828   Chrysler      PACIFICA             TAMPA                    FL
56775   2C4RC1BG7KR596862   Chrysler      PACIFICA             MIAMI                    FL
56776   2C4RC1BG7KR596876   Chrysler      PACIFICA             WEST PALM BEACH          FL
56777   2C4RC1BG7KR596893   Chrysler      PACIFICA             MIAMI                    FL
56778   2C4RC1BG7KR596909   Chrysler      PACIFICA             Fredericksburg           VA
56779   2C4RC1BG7KR596926   Chrysler      PACIFICA             FORT MYERS               FL
56780   2C4RC1BG7KR596957   Chrysler      PACIFICA             LOUISVILLE               KY
56781   2C4RC1BG7KR596991   Chrysler      PACIFICA             FORT MYERS               FL
56782   2C4RC1BG7KR597008   Chrysler      PACIFICA             FULLERTON                CA
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56783   2C4RC1BG7KR597011   Chrysler      PACIFICA             FORT MYERS               FL
56784   2C4RC1BG7KR597025   Chrysler      PACIFICA             NEW YORK CITY            NY
56785   2C4RC1BG7KR597039   Chrysler      PACIFICA             ORLANDO                  FL
56786   2C4RC1BG7KR597090   Chrysler      PACIFICA             PHILADELPHIA             PA
56787   2C4RC1BG7KR597140   Chrysler      PACIFICA             WEST PALM BEACH          FL
56788   2C4RC1BG7KR597168   Chrysler      PACIFICA             NAPLES                   FL
56789   2C4RC1BG7KR597185   Chrysler      PACIFICA             INDIANAPOLIS             IN
56790   2C4RC1BG7KR617158   Chrysler      PACIFICA             Jacksonville             FL
56791   2C4RC1BG7KR617192   Chrysler      PACIFICA             JACKSONVILLE             FL
56792   2C4RC1BG7KR617306   Chrysler      PACIFICA             FORT LAUDERDALE          FL
56793   2C4RC1BG7KR624790   Chrysler      PACIFICA             LAS VEGAS                NV
56794   2C4RC1BG7KR624885   Chrysler      PACIFICA             WOODLAND HILLS           CA
56795   2C4RC1BG7KR624904   Chrysler      PACIFICA             LAS VEGAS                NV
56796   2C4RC1BG7KR624952   Chrysler      PACIFICA             Atlanta                  GA
56797   2C4RC1BG7KR624997   Chrysler      PACIFICA             ONTARIO                  CA
56798   2C4RC1BG7KR625003   Chrysler      PACIFICA             HOUSTON                  TX
56799   2C4RC1BG7KR625213   Chrysler      PACIFICA             Rio Linda                CA
56800   2C4RC1BG7KR625230   Chrysler      PACIFICA             HOUSTON                  TX
56801   2C4RC1BG7KR625258   Chrysler      PACIFICA             Nashville                TN
56802   2C4RC1BG7KR625342   Chrysler      PACIFICA             DENVER                   CO
56803   2C4RC1BG7KR625356   Chrysler      PACIFICA             Florissant               MO
56804   2C4RC1BG7KR625437   Chrysler      PACIFICA             DENVER                   CO
56805   2C4RC1BG7KR625468   Chrysler      PACIFICA             WHITE PLAINS             NY
56806   2C4RC1BG7KR625499   Chrysler      PACIFICA             AUSTIN                   TX
56807   2C4RC1BG7KR625521   Chrysler      PACIFICA             SEATAC                   WA
56808   2C4RC1BG7KR625597   Chrysler      PACIFICA             LAS VEGAS                NV
56809   2C4RC1BG7KR625633   Chrysler      PACIFICA             JACKSON                  MS
56810   2C4RC1BG7KR625650   Chrysler      PACIFICA             WHITE PLAINS             NY
56811   2C4RC1BG7KR625664   Chrysler      PACIFICA             ORLANDO                  FL
56812   2C4RC1BG7KR625714   Chrysler      PACIFICA             RALIEGH                  NC
56813   2C4RC1BG7KR625745   Chrysler      PACIFICA             DALLAS                   TX
56814   2C4RC1BG7KR625759   Chrysler      PACIFICA             Atlanta                  GA
56815   2C4RC1BG7KR625809   Chrysler      PACIFICA             Fontana                  CA
56816   2C4RC1BG7KR625812   Chrysler      PACIFICA             ONTARIO                  CA
56817   2C4RC1BG7KR625860   Chrysler      PACIFICA             LOS ANGELES              CA
56818   2C4RC1BG7KR625938   Chrysler      PACIFICA             TAMPA                    FL
56819   2C4RC1BG7KR626023   Chrysler      PACIFICA             SANTA CLARA              CA
56820   2C4RC1BG7KR626037   Chrysler      PACIFICA             PENSACOLA                FL
56821   2C4RC1BG7KR626071   Chrysler      PACIFICA             MEMPHIS                  TN
56822   2C4RC1BG7KR626104   Chrysler      PACIFICA             WARWICK                  RI
56823   2C4RC1BG7KR626118   Chrysler      PACIFICA             JACKSONVILLE             FL
56824   2C4RC1BG7KR626166   Chrysler      PACIFICA             Sacramento               CA
56825   2C4RC1BG7KR626278   Chrysler      PACIFICA             DES PLAINES              US
56826   2C4RC1BG7KR626281   Chrysler      PACIFICA             PALM SPRINGS             CA
56827   2C4RC1BG7KR626359   Chrysler      PACIFICA             SAN ANTONIO              TX
56828   2C4RC1BG7KR626376   Chrysler      PACIFICA             SAINT PAUL               MN
56829   2C4RC1BG7KR626412   Chrysler      PACIFICA             COLLEGE PARK             GA
56830   2C4RC1BG7KR626443   Chrysler      PACIFICA             Estero                   FL
56831   2C4RC1BG7KR626457   Chrysler      PACIFICA             Atlanta                  GA
56832   2C4RC1BG7KR626460   Chrysler      PACIFICA             DENVER                   CO
56833   2C4RC1BG7KR626491   Chrysler      PACIFICA             MILWAUKEE                WI
56834   2C4RC1BG7KR650029   Chrysler      PACIFICA             SAINT LOUIS              MO
56835   2C4RC1BG7KR650032   Chrysler      PACIFICA             DFW AIRPORT              TX
56836   2C4RC1BG7KR650063   Chrysler      PACIFICA             LOS ANGELES              CA
56837   2C4RC1BG7KR650080   Chrysler      PACIFICA             St. Louis                MO
56838   2C4RC1BG7KR650094   Chrysler      PACIFICA             Atlanta                  GA
56839   2C4RC1BG7KR650130   Chrysler      PACIFICA             Miami                    FL
56840   2C4RC1BG7KR650144   Chrysler      PACIFICA             SAN DIEGO                CA
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56841   2C4RC1BG7KR650175   Chrysler      PACIFICA             ALBANY                   NY
56842   2C4RC1BG7KR650211   Chrysler      PACIFICA             DALLAS                   TX
56843   2C4RC1BG7KR650239   Chrysler      PACIFICA             SAN FRANCISCO            CA
56844   2C4RC1BG7KR650273   Chrysler      PACIFICA             GRAND RAPIDS             MI
56845   2C4RC1BG7KR650290   Chrysler      PACIFICA             Nashville                TN
56846   2C4RC1BG7KR650306   Chrysler      PACIFICA             WEST PALM BEACH          FL
56847   2C4RC1BG7KR650337   Chrysler      PACIFICA             CHICAGO                  IL
56848   2C4RC1BG7KR650340   Chrysler      PACIFICA             Alcoa                    TN
56849   2C4RC1BG7KR650368   Chrysler      PACIFICA             Miami                    FL
56850   2C4RC1BG7KR650385   Chrysler      PACIFICA             CHICAGO                  IL
56851   2C4RC1BG7KR650404   Chrysler      PACIFICA             ORLANDO                  FL
56852   2C4RC1BG7KR650418   Chrysler      PACIFICA             Tulsa                    OK
56853   2C4RC1BG7KR650449   Chrysler      PACIFICA             SAN ANTONIO              TX
56854   2C4RC1BG7KR650483   Chrysler      PACIFICA             MEMPHIS                  TN
56855   2C4RC1BG7KR650564   Chrysler      PACIFICA             NEWARK                   NJ
56856   2C4RC1BG7KR650578   Chrysler      PACIFICA             FORT MYERS               FL
56857   2C4RC1BG7KR650659   Chrysler      PACIFICA             SAINT LOUIS              MO
56858   2C4RC1BG7KR650662   Chrysler      PACIFICA             HOUSTON                  TX
56859   2C4RC1BG7KR650693   Chrysler      PACIFICA             HOUSTON                  TX
56860   2C4RC1BG7KR650726   Chrysler      PACIFICA             SEA TAC                  WA
56861   2C4RC1BG7KR650743   Chrysler      PACIFICA             PORTLAND                 OR
56862   2C4RC1BG7KR650788   Chrysler      PACIFICA             Kent                     WA
56863   2C4RC1BG7KR650791   Chrysler      PACIFICA             KNOXVILLE                TN
56864   2C4RC1BG7KR650807   Chrysler      PACIFICA             HOUSTON                  TX
56865   2C4RC1BG7KR650810   Chrysler      PACIFICA             KANSAS CITY              MO
56866   2C4RC1BG7KR650824   Chrysler      PACIFICA             N. Palm Beach            FL
56867   2C4RC1BG7KR650872   Chrysler      PACIFICA             SACRAMENTO               CA
56868   2C4RC1BG7KR650886   Chrysler      PACIFICA             DENVER                   CO
56869   2C4RC1BG7KR650922   Chrysler      PACIFICA             PORTLAND                 OR
56870   2C4RC1BG7KR650936   Chrysler      PACIFICA             HOUSTON                  TX
56871   2C4RC1BG7KR650953   Chrysler      PACIFICA             PORTLAND                 OR
56872   2C4RC1BG7KR650984   Chrysler      PACIFICA             SALT LAKE CITY           US
56873   2C4RC1BG7KR651004   Chrysler      PACIFICA             KANSAS CITY              MO
56874   2C4RC1BG7KR651035   Chrysler      PACIFICA             BIRMINGHAM               AL
56875   2C4RC1BG7KR651049   Chrysler      PACIFICA             BOSTON                   MA
56876   2C4RC1BG7KR651116   Chrysler      PACIFICA             LOUISVILLE               KY
56877   2C4RC1BG7KR651181   Chrysler      PACIFICA             TAMPA                    FL
56878   2C4RC1BG7KR651200   Chrysler      PACIFICA             WHITE PLAINS             NY
56879   2C4RC1BG7KR651231   Chrysler      PACIFICA             Dania Beach              FL
56880   2C4RC1BG7KR651245   Chrysler      PACIFICA             OMAHA                    NE
56881   2C4RC1BG7KR651259   Chrysler      PACIFICA             Manheim                  PA
56882   2C4RC1BG7KR651276   Chrysler      PACIFICA             CLEVELAND                OH
56883   2C4RC1BG7KR651293   Chrysler      PACIFICA             Statesville              NC
56884   2C4RC1BG7KR651309   Chrysler      PACIFICA             BLOOMINGTON              IL
56885   2C4RC1BG7KR651326   Chrysler      PACIFICA             MIAMI                    FL
56886   2C4RC1BG7KR651343   Chrysler      PACIFICA             EL PASO                  TX
56887   2C4RC1BG7KR651360   Chrysler      PACIFICA             SAINT PAUL               MN
56888   2C4RC1BG7KR651374   Chrysler      PACIFICA             AUSTIN                   TX
56889   2C4RC1BG7KR651410   Chrysler      PACIFICA             DES MOINES               IA
56890   2C4RC1BG7KR651424   Chrysler      PACIFICA             CHICAGO                  IL
56891   2C4RC1BG7KR651438   Chrysler      PACIFICA             WARWICK                  RI
56892   2C4RC1BG7KR651469   Chrysler      PACIFICA             DETROIT                  MI
56893   2C4RC1BG7KR651519   Chrysler      PACIFICA             BIRMINGHAN               AL
56894   2C4RC1BG7KR651584   Chrysler      PACIFICA             Miami                    FL
56895   2C4RC1BG7KR651603   Chrysler      PACIFICA             PHILADELPHIA             PA
56896   2C4RC1BG7KR651634   Chrysler      PACIFICA             WHITE PLAINS             NY
56897   2C4RC1BG7KR651651   Chrysler      PACIFICA             CLEVELAND                OH
56898   2C4RC1BG7KR651665   Chrysler      PACIFICA             San Diego                CA
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56899   2C4RC1BG7KR651780   Chrysler      PACIFICA             HOUSTON                  TX
56900   2C4RC1BG7KR651794   Chrysler      PACIFICA             DALLAS                   TX
56901   2C4RC1BG7KR651827   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
56902   2C4RC1BG7KR651830   Chrysler      PACIFICA             NEWARK                   NJ
56903   2C4RC1BG7KR651844   Chrysler      PACIFICA             BLOOMINGTON              IL
56904   2C4RC1BG7KR651911   Chrysler      PACIFICA             FORT MYERS               FL
56905   2C4RC1BG7KR651925   Chrysler      PACIFICA             Dallas                   TX
56906   2C4RC1BG7KR651956   Chrysler      PACIFICA             LOS ANGELES              CA
56907   2C4RC1BG7KR651987   Chrysler      PACIFICA             STERLING                 VA
56908   2C4RC1BG7KR652024   Chrysler      PACIFICA             CHICAGO                  IL
56909   2C4RC1BG7KR652041   Chrysler      PACIFICA             DALLAS                   TX
56910   2C4RC1BG7KR652086   Chrysler      PACIFICA             Burien                   WA
56911   2C4RC1BG7KR655053   Chrysler      PACIFICA             STERLING                 VA
56912   2C4RC1BG7KR655067   Chrysler      PACIFICA             PHOENIX                  AZ
56913   2C4RC1BG7KR655070   Chrysler      PACIFICA             BOSTON                   MA
56914   2C4RC1BG7KR655084   Chrysler      PACIFICA             LAS VEGAS                NV
56915   2C4RC1BG7KR655098   Chrysler      PACIFICA             DES MOINES               IA
56916   2C4RC1BG7KR657269   Chrysler      PACIFICA             Los Angeles              CA
56917   2C4RC1BG7KR657286   Chrysler      PACIFICA             SYRACUSE                 NY
56918   2C4RC1BG7KR657305   Chrysler      PACIFICA             PORTLAND                 OR
56919   2C4RC1BG7KR665405   Chrysler      PACIFICA             MILWAUKEE                WI
56920   2C4RC1BG7KR665453   Chrysler      PACIFICA             LAS VEGAS                NV
56921   2C4RC1BG7KR665498   Chrysler      PACIFICA             LAS VEGAS                NV
56922   2C4RC1BG7KR665517   Chrysler      PACIFICA             PORTLAND                 OR
56923   2C4RC1BG7KR665534   Chrysler      PACIFICA             DALLAS                   TX
56924   2C4RC1BG7KR665579   Chrysler      PACIFICA             GRAND RAPIDS             MI
56925   2C4RC1BG7KR665596   Chrysler      PACIFICA             LOS ANGELES              CA
56926   2C4RC1BG7KR665601   Chrysler      PACIFICA             BLOOMINGTON              IL
56927   2C4RC1BG7KR665629   Chrysler      PACIFICA             NASHVILLE                TN
56928   2C4RC1BG7KR665646   Chrysler      PACIFICA             LOS ANGELES              CA
56929   2C4RC1BG7KR665663   Chrysler      PACIFICA             SAN DIEGO                CA
56930   2C4RC1BG7KR665677   Chrysler      PACIFICA             SAINT PAUL               MN
56931   2C4RC1BG7KR665727   Chrysler      PACIFICA             DALLAS                   TX
56932   2C4RC1BG7KR665730   Chrysler      PACIFICA             ATLANTA                  GA
56933   2C4RC1BG7KR665744   Chrysler      PACIFICA             ORLANDO                  FL
56934   2C4RC1BG7KR665761   Chrysler      PACIFICA             COLUMBUS                 OH
56935   2C4RC1BG7KR665775   Chrysler      PACIFICA             WOODLAND HILLS           CA
56936   2C4RC1BG7KR665789   Chrysler      PACIFICA             STERLING                 VA
56937   2C4RC1BG7KR665792   Chrysler      PACIFICA             MILWAUKEE                MI
56938   2C4RC1BG7KR665808   Chrysler      PACIFICA             HOUSTON                  TX
56939   2C4RC1BG7KR665825   Chrysler      PACIFICA             CLEVELAND                OH
56940   2C4RC1BG7KR665839   Chrysler      PACIFICA             CHARLOTTE                NC
56941   2C4RC1BG7KR665940   Chrysler      PACIFICA             AUSTIN                   TX
56942   2C4RC1BG7KR665968   Chrysler      PACIFICA             DENVER                   CO
56943   2C4RC1BG7KR665971   Chrysler      PACIFICA             ORLANDO                  FL
56944   2C4RC1BG7KR665985   Chrysler      PACIFICA             PROVIDENCE               RI
56945   2C4RC1BG7KR666022   Chrysler      PACIFICA             DALLAS                   TX
56946   2C4RC1BG7KR666036   Chrysler      PACIFICA             JACKSONVILLE             FL
56947   2C4RC1BG7KR672998   Chrysler      PACIFICA             Atlanta                  GA
56948   2C4RC1BG7KR673021   Chrysler      PACIFICA             DETROIT                  MI
56949   2C4RC1BG7KR673066   Chrysler      PACIFICA             Irving                   TX
56950   2C4RC1BG7KR673097   Chrysler      PACIFICA             INDIANAPOLIS             IN
56951   2C4RC1BG7KR673102   Chrysler      PACIFICA             ROCHESTER                NY
56952   2C4RC1BG7KR673116   Chrysler      PACIFICA             STERLING                 VA
56953   2C4RC1BG7KR673133   Chrysler      PACIFICA             Pheonix                  AZ
56954   2C4RC1BG7KR673147   Chrysler      PACIFICA             NASHVILLE                TN
56955   2C4RC1BG7KR673164   Chrysler      PACIFICA             WARWICK                  RI
56956   2C4RC1BG7KR673181   Chrysler      PACIFICA             PHOENIX                  AZ
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56957   2C4RC1BG7KR673259   Chrysler      PACIFICA             INGLEWOOD                CA
56958   2C4RC1BG7KR680499   Chrysler      PACIFICA             STERLING                 VA
56959   2C4RC1BG7KR680518   Chrysler      PACIFICA             OAKLAND                  CA
56960   2C4RC1BG7KR680535   Chrysler      PACIFICA             LAS VEGAS                NV
56961   2C4RC1BG7KR680616   Chrysler      PACIFICA             SAN DIEGO                CA
56962   2C4RC1BG7KR680664   Chrysler      PACIFICA             PHOENIX                  AZ
56963   2C4RC1BG7KR680700   Chrysler      PACIFICA             ROY                      UT
56964   2C4RC1BG7KR680728   Chrysler      PACIFICA             PITTSBURGH               PA
56965   2C4RC1BG7KR680759   Chrysler      PACIFICA             RENO                     NV
56966   2C4RC1BG7KR680809   Chrysler      PACIFICA             CHARLOTTE                NC
56967   2C4RC1BG7KR680826   Chrysler      PACIFICA             NEW BERN                 NC
56968   2C4RC1BG7KR680857   Chrysler      PACIFICA             ATLANTA                  GA
56969   2C4RC1BG7KR680860   Chrysler      PACIFICA             LAS VEGAS                NV
56970   2C4RC1BG7KR680874   Chrysler      PACIFICA             OAKLAND                  CA
56971   2C4RC1BG7KR680924   Chrysler      PACIFICA             INDIANAPOLIS             IN
56972   2C4RC1BG7KR680972   Chrysler      PACIFICA             ORLANDO                  FL
56973   2C4RC1BG7KR680986   Chrysler      PACIFICA             LAS VEGAS                NV
56974   2C4RC1BG7KR681006   Chrysler      PACIFICA             WICHITA FALLS            TX
56975   2C4RC1BG7KR685282   Chrysler      PACIFICA             Hebron                   KY
56976   2C4RC1BG7KR685296   Chrysler      PACIFICA             NASHVILLE                TN
56977   2C4RC1BG7KR685315   Chrysler      PACIFICA             CHICAGO                  IL
56978   2C4RC1BG7KR685332   Chrysler      PACIFICA             KNOXVILLE                TN
56979   2C4RC1BG7KR685346   Chrysler      PACIFICA             INDIANAPOLIS             IN
56980   2C4RC1BG7KR685394   Chrysler      PACIFICA             PROVIDENCE               RI
56981   2C4RC1BG7KR685427   Chrysler      PACIFICA             STERLING                 VA
56982   2C4RC1BG7KR685444   Chrysler      PACIFICA             GRAND RAPIDS             MI
56983   2C4RC1BG7KR685458   Chrysler      PACIFICA             SAINT PAUL               MN
56984   2C4RC1BG7KR685475   Chrysler      PACIFICA             PORTLAND                 OR
56985   2C4RC1BG7KR685525   Chrysler      PACIFICA             ST Paul                  MN
56986   2C4RC1BG7KR685573   Chrysler      PACIFICA             CHICAGO                  IL
56987   2C4RC1BG7KR685637   Chrysler      PACIFICA             HARTFORD                 CT
56988   2C4RC1BG7KR685640   Chrysler      PACIFICA             ORLANDO                  FL
56989   2C4RC1BG7KR685671   Chrysler      PACIFICA             PITTSBURGH               PA
56990   2C4RC1BG7KR685704   Chrysler      PACIFICA             Morrisville              NC
56991   2C4RC1BG7KR685718   Chrysler      PACIFICA             Newark                   NJ
56992   2C4RC1BG7KR685749   Chrysler      PACIFICA             ORLANDO                  FL
56993   2C4RC1BG7KR685766   Chrysler      PACIFICA             Miami                    FL
56994   2C4RC1BG7KR685783   Chrysler      PACIFICA             RONKONKOMA               NY
56995   2C4RC1BG7KR685797   Chrysler      PACIFICA             ROANOKE                  VA
56996   2C4RC1BG7KR685802   Chrysler      PACIFICA             PHOENIX                  AZ
56997   2C4RC1BG7KR698243   Chrysler      PACIFICA             SAN JOSE                 CA
56998   2C4RC1BG7KR698260   Chrysler      PACIFICA             SAN JOSE                 CA
56999   2C4RC1BG7KR698288   Chrysler      PACIFICA             Reno                     NV
57000   2C4RC1BG7KR698307   Chrysler      PACIFICA             BURLINGAME               CA
57001   2C4RC1BG7KR698310   Chrysler      PACIFICA             FORT MYERS               FL
57002   2C4RC1BG7KR700525   Chrysler      PACIFICA             SEATAC                   WA
57003   2C4RC1BG7KR700542   Chrysler      PACIFICA             LAS VEGAS                NV
57004   2C4RC1BG7KR700606   Chrysler      PACIFICA             ANCHORAGE                AK
57005   2C4RC1BG7KR700623   Chrysler      PACIFICA             SEATAC                   WA
57006   2C4RC1BG7KR700637   Chrysler      PACIFICA             SANTA ANA                CA
57007   2C4RC1BG7KR700668   Chrysler      PACIFICA             LAS VEGAS                NV
57008   2C4RC1BG7KR700699   Chrysler      PACIFICA             Los Angeles              CA
57009   2C4RC1BG7KR700704   Chrysler      PACIFICA             SAN JOSE                 CA
57010   2C4RC1BG7KR700718   Chrysler      PACIFICA             DETROIT                  MI
57011   2C4RC1BG7KR700735   Chrysler      PACIFICA             Leesburg                 VA
57012   2C4RC1BG7KR700752   Chrysler      PACIFICA             AUGUSTA                  GA
57013   2C4RC1BG7KR704672   Chrysler      PACIFICA             Manheim                  PA
57014   2C4RC1BG7KR704705   Chrysler      PACIFICA             AUSTIN                   TX
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57015   2C4RC1BG7KR704719   Chrysler      PACIFICA             PORTLAND                 OR
57016   2C4RC1BG7KR704803   Chrysler      PACIFICA             OMAHA                    NE
57017   2C4RC1BG7KR704820   Chrysler      PACIFICA             LAS VEGAS                NV
57018   2C4RC1BG7KR704834   Chrysler      PACIFICA             KANSAS CITY              MO
57019   2C4RC1BG8KR537125   Chrysler      PACIFICA             Clearwater               FL
57020   2C4RC1BG8KR537139   Chrysler      PACIFICA             HOUSTON                  TX
57021   2C4RC1BG8KR537156   Chrysler      PACIFICA             LOS ANGELES              CA
57022   2C4RC1BG8KR537190   Chrysler      PACIFICA             Ocoee                    FL
57023   2C4RC1BG8KR537237   Chrysler      PACIFICA             Nashville                TN
57024   2C4RC1BG8KR537240   Chrysler      PACIFICA             TAMPA                    FL
57025   2C4RC1BG8KR537254   Chrysler      PACIFICA             Manheim                  PA
57026   2C4RC1BG8KR537268   Chrysler      PACIFICA             BLOOMINGTON              IL
57027   2C4RC1BG8KR537285   Chrysler      PACIFICA             SARASOTA                 FL
57028   2C4RC1BG8KR537299   Chrysler      PACIFICA             SEATAC                   WA
57029   2C4RC1BG8KR537304   Chrysler      PACIFICA             JACKSONVILLE             FL
57030   2C4RC1BG8KR537321   Chrysler      PACIFICA             CHICAGO                  IL
57031   2C4RC1BG8KR537335   Chrysler      PACIFICA             Fredericksburg           VA
57032   2C4RC1BG8KR537349   Chrysler      PACIFICA             Fontana                  CA
57033   2C4RC1BG8KR537352   Chrysler      PACIFICA             ATLANTA                  GA
57034   2C4RC1BG8KR537366   Chrysler      PACIFICA             STERLING                 US
57035   2C4RC1BG8KR537402   Chrysler      PACIFICA             CHICAGO                  IL
57036   2C4RC1BG8KR537416   Chrysler      PACIFICA             S. San Francisc          CA
57037   2C4RC1BG8KR537447   Chrysler      PACIFICA             KNOXVILLE                TN
57038   2C4RC1BG8KR537464   Chrysler      PACIFICA             Hebron                   KY
57039   2C4RC1BG8KR537478   Chrysler      PACIFICA             Manheim                  PA
57040   2C4RC1BG8KR537481   Chrysler      PACIFICA             INDIANAPOLIS             IN
57041   2C4RC1BG8KR537531   Chrysler      PACIFICA             WEST PALM BEACH          FL
57042   2C4RC1BG8KR537545   Chrysler      PACIFICA             ALBANY                   NY
57043   2C4RC1BG8KR537559   Chrysler      PACIFICA             MCALLEN                  TX
57044   2C4RC1BG8KR537576   Chrysler      PACIFICA             WEST PALM BEACH          FL
57045   2C4RC1BG8KR537609   Chrysler      PACIFICA             Manheim                  PA
57046   2C4RC1BG8KR537657   Chrysler      PACIFICA             LAS VEGAS                NV
57047   2C4RC1BG8KR537660   Chrysler      PACIFICA             GREENSBORO               NC
57048   2C4RC1BG8KR539277   Chrysler      PACIFICA             LOS ANGELES              CA
57049   2C4RC1BG8KR539294   Chrysler      PACIFICA             Aurora                   CO
57050   2C4RC1BG8KR539330   Chrysler      PACIFICA             Ocoee                    FL
57051   2C4RC1BG8KR539344   Chrysler      PACIFICA             PHOENIX                  AZ
57052   2C4RC1BG8KR539361   Chrysler      PACIFICA             NEW BERN                 NC
57053   2C4RC1BG8KR539375   Chrysler      PACIFICA             ORLANDO                  FL
57054   2C4RC1BG8KR539389   Chrysler      PACIFICA             PHOENIX                  AZ
57055   2C4RC1BG8KR539392   Chrysler      PACIFICA             ORLANDO                  FL
57056   2C4RC1BG8KR539411   Chrysler      PACIFICA             Miami                    FL
57057   2C4RC1BG8KR539425   Chrysler      PACIFICA             BOSTON                   MA
57058   2C4RC1BG8KR539456   Chrysler      PACIFICA             STERLING                 VA
57059   2C4RC1BG8KR539473   Chrysler      PACIFICA             ORLANDO                  FL
57060   2C4RC1BG8KR539490   Chrysler      PACIFICA             CHICAGO                  IL
57061   2C4RC1BG8KR539506   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57062   2C4RC1BG8KR539523   Chrysler      PACIFICA             PHILADELPHIA             US
57063   2C4RC1BG8KR539537   Chrysler      PACIFICA             FORT MYERS               FL
57064   2C4RC1BG8KR539540   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57065   2C4RC1BG8KR539554   Chrysler      PACIFICA             NEW BERN                 NC
57066   2C4RC1BG8KR539571   Chrysler      PACIFICA             NAPLES                   FL
57067   2C4RC1BG8KR539652   Chrysler      PACIFICA             HARTFORD                 CT
57068   2C4RC1BG8KR539697   Chrysler      PACIFICA             SEATAC                   WA
57069   2C4RC1BG8KR539747   Chrysler      PACIFICA             ORLANDO                  FL
57070   2C4RC1BG8KR539750   Chrysler      PACIFICA             FORT MYERS               FL
57071   2C4RC1BG8KR539764   Chrysler      PACIFICA             Roseville                CA
57072   2C4RC1BG8KR539778   Chrysler      PACIFICA             BALTIMORE                MD
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57073   2C4RC1BG8KR539781   Chrysler      PACIFICA             WEST PALM BEACH          FL
57074   2C4RC1BG8KR539800   Chrysler      PACIFICA             SHREVEPORT               LA
57075   2C4RC1BG8KR539859   Chrysler      PACIFICA             NORFOLK                  VA
57076   2C4RC1BG8KR539876   Chrysler      PACIFICA             SALT LAKE CITY           UT
57077   2C4RC1BG8KR539943   Chrysler      PACIFICA             North Dighton            MA
57078   2C4RC1BG8KR539957   Chrysler      PACIFICA             SAN JOSE                 CA
57079   2C4RC1BG8KR539991   Chrysler      PACIFICA             PHILADELPHIA             PA
57080   2C4RC1BG8KR540008   Chrysler      PACIFICA             LOS ANGELES              CA
57081   2C4RC1BG8KR540011   Chrysler      PACIFICA             SAN DIEGO                CA
57082   2C4RC1BG8KR540025   Chrysler      PACIFICA             SANTA ANA                CA
57083   2C4RC1BG8KR540042   Chrysler      PACIFICA             Fontana                  CA
57084   2C4RC1BG8KR559898   Chrysler      PACIFICA             Rio Linda                CA
57085   2C4RC1BG8KR559917   Chrysler      PACIFICA             TAMPA                    FL
57086   2C4RC1BG8KR559934   Chrysler      PACIFICA             STERLING                 VA
57087   2C4RC1BG8KR560033   Chrysler      PACIFICA             Miami                    FL
57088   2C4RC1BG8KR560064   Chrysler      PACIFICA             Ocoee                    FL
57089   2C4RC1BG8KR560078   Chrysler      PACIFICA             CHARLESTON               WV
57090   2C4RC1BG8KR560114   Chrysler      PACIFICA             PALM SPRINGS             CA
57091   2C4RC1BG8KR560128   Chrysler      PACIFICA             SARASOTA                 FL
57092   2C4RC1BG8KR560159   Chrysler      PACIFICA             Miami                    FL
57093   2C4RC1BG8KR560176   Chrysler      PACIFICA             TAMPA                    US
57094   2C4RC1BG8KR560890   Chrysler      PACIFICA             ORLANDO                  FL
57095   2C4RC1BG8KR560923   Chrysler      PACIFICA             SARASOTA                 FL
57096   2C4RC1BG8KR560937   Chrysler      PACIFICA             ORLANDO                  FL
57097   2C4RC1BG8KR560954   Chrysler      PACIFICA             WEST PALM BEACH          FL
57098   2C4RC1BG8KR560968   Chrysler      PACIFICA             FORT MYERS               FL
57099   2C4RC1BG8KR560985   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57100   2C4RC1BG8KR560999   Chrysler      PACIFICA             PHILADELPHIA             PA
57101   2C4RC1BG8KR561022   Chrysler      PACIFICA             PLEASANTON               CA
57102   2C4RC1BG8KR561036   Chrysler      PACIFICA             FORT MYERS               FL
57103   2C4RC1BG8KR561067   Chrysler      PACIFICA             Santa Clara              CA
57104   2C4RC1BG8KR561070   Chrysler      PACIFICA             NEW YORK CITY            NY
57105   2C4RC1BG8KR561084   Chrysler      PACIFICA             TAMPA                    FL
57106   2C4RC1BG8KR561117   Chrysler      PACIFICA             DALLAS                   TX
57107   2C4RC1BG8KR561148   Chrysler      PACIFICA             Florence                 MS
57108   2C4RC1BG8KR581335   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57109   2C4RC1BG8KR581397   Chrysler      PACIFICA             ORLANDO                  FL
57110   2C4RC1BG8KR581433   Chrysler      PACIFICA             KNOXVILLE                TN
57111   2C4RC1BG8KR581464   Chrysler      PACIFICA             Atlanta                  GA
57112   2C4RC1BG8KR582825   Chrysler      PACIFICA             Fredericksburg           VA
57113   2C4RC1BG8KR582839   Chrysler      PACIFICA             NEW BERN                 NC
57114   2C4RC1BG8KR582842   Chrysler      PACIFICA             ORLANDO                  FL
57115   2C4RC1BG8KR582873   Chrysler      PACIFICA             PHILADELPHIA             PA
57116   2C4RC1BG8KR582906   Chrysler      PACIFICA             AUSTIN                   TX
57117   2C4RC1BG8KR582923   Chrysler      PACIFICA             Coraopolis               PA
57118   2C4RC1BG8KR582937   Chrysler      PACIFICA             ORLANDO                  FL
57119   2C4RC1BG8KR582954   Chrysler      PACIFICA             ORLANDO                  FL
57120   2C4RC1BG8KR582968   Chrysler      PACIFICA             MIAMI                    FL
57121   2C4RC1BG8KR583019   Chrysler      PACIFICA             Atlanta                  GA
57122   2C4RC1BG8KR583053   Chrysler      PACIFICA             STERLING                 VA
57123   2C4RC1BG8KR596742   Chrysler      PACIFICA             LAS VEGAS                NV
57124   2C4RC1BG8KR596756   Chrysler      PACIFICA             GYPSUM                   CO
57125   2C4RC1BG8KR596806   Chrysler      PACIFICA             AUSTIN                   TX
57126   2C4RC1BG8KR596823   Chrysler      PACIFICA             Stockton                 CA
57127   2C4RC1BG8KR596854   Chrysler      PACIFICA             TAMPA                    FL
57128   2C4RC1BG8KR596918   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57129   2C4RC1BG8KR596921   Chrysler      PACIFICA             WEST PALM BEACH          FL
57130   2C4RC1BG8KR596935   Chrysler      PACIFICA             MIAMI                    FL
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57131   2C4RC1BG8KR597115   Chrysler      PACIFICA             Davie                    FL
57132   2C4RC1BG8KR597129   Chrysler      PACIFICA             ORLANDO                  FL
57133   2C4RC1BG8KR597194   Chrysler      PACIFICA             NEW YORK CITY            NY
57134   2C4RC1BG8KR617136   Chrysler      PACIFICA             RENO                     NV
57135   2C4RC1BG8KR617153   Chrysler      PACIFICA             Atlanta                  GA
57136   2C4RC1BG8KR617198   Chrysler      PACIFICA             PHOENIX                  AZ
57137   2C4RC1BG8KR624765   Chrysler      PACIFICA             WOODLAND HILLS           CA
57138   2C4RC1BG8KR624782   Chrysler      PACIFICA             Santa Clara              CA
57139   2C4RC1BG8KR624796   Chrysler      PACIFICA             Stockton                 CA
57140   2C4RC1BG8KR624829   Chrysler      PACIFICA             PLEASANTON               CA
57141   2C4RC1BG8KR624832   Chrysler      PACIFICA             CHICAGO                  IL
57142   2C4RC1BG8KR624846   Chrysler      PACIFICA             TAMPA                    FL
57143   2C4RC1BG8KR624877   Chrysler      PACIFICA             Albuquerque              NM
57144   2C4RC1BG8KR624880   Chrysler      PACIFICA             ORLANDO                  FL
57145   2C4RC1BG8KR624930   Chrysler      PACIFICA             TAMPA                    FL
57146   2C4RC1BG8KR624961   Chrysler      PACIFICA             Tampa                    FL
57147   2C4RC1BG8KR625026   Chrysler      PACIFICA             ALBANY                   NY
57148   2C4RC1BG8KR625088   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57149   2C4RC1BG8KR625219   Chrysler      PACIFICA             KENNER                   LA
57150   2C4RC1BG8KR625222   Chrysler      PACIFICA             SAVANNAH                 GA
57151   2C4RC1BG8KR625236   Chrysler      PACIFICA             WEST PALM BEACH          FL
57152   2C4RC1BG8KR625298   Chrysler      PACIFICA             NEW YORK CITY            NY
57153   2C4RC1BG8KR625379   Chrysler      PACIFICA             Dallas                   TX
57154   2C4RC1BG8KR625429   Chrysler      PACIFICA             TAMPA                    FL
57155   2C4RC1BG8KR625446   Chrysler      PACIFICA             Scottsdale               AZ
57156   2C4RC1BG8KR625463   Chrysler      PACIFICA             Riverside                CA
57157   2C4RC1BG8KR625480   Chrysler      PACIFICA             DALLAS                   TX
57158   2C4RC1BG8KR625494   Chrysler      PACIFICA             GRAND RAPIDS             MI
57159   2C4RC1BG8KR625544   Chrysler      PACIFICA             ALBUQUERQUE              NM
57160   2C4RC1BG8KR625625   Chrysler      PACIFICA             Riverside                CA
57161   2C4RC1BG8KR625639   Chrysler      PACIFICA             NEWARK                   NJ
57162   2C4RC1BG8KR625687   Chrysler      PACIFICA             CHICAGO                  IL
57163   2C4RC1BG8KR625723   Chrysler      PACIFICA             PENSACOLA                FL
57164   2C4RC1BG8KR625771   Chrysler      PACIFICA             NEWARK                   NJ
57165   2C4RC1BG8KR625804   Chrysler      PACIFICA             SYRACUSE                 NY
57166   2C4RC1BG8KR625849   Chrysler      PACIFICA             ORLANDO                  FL
57167   2C4RC1BG8KR625897   Chrysler      PACIFICA             Miami                    FL
57168   2C4RC1BG8KR625978   Chrysler      PACIFICA             DAYTON                   OH
57169   2C4RC1BG8KR626029   Chrysler      PACIFICA             SALT LAKE CITY           UT
57170   2C4RC1BG8KR626063   Chrysler      PACIFICA             SAINT PAUL               MN
57171   2C4RC1BG8KR626113   Chrysler      PACIFICA             ORLANDO                  FL
57172   2C4RC1BG8KR626175   Chrysler      PACIFICA             LAS VEGAS                NV
57173   2C4RC1BG8KR626192   Chrysler      PACIFICA             SEATAC                   WA
57174   2C4RC1BG8KR626211   Chrysler      PACIFICA             Manheim                  PA
57175   2C4RC1BG8KR626273   Chrysler      PACIFICA             NASHVILLE                TN
57176   2C4RC1BG8KR626337   Chrysler      PACIFICA             DFW AIRPORT              TX
57177   2C4RC1BG8KR626340   Chrysler      PACIFICA             NEWARK                   NJ
57178   2C4RC1BG8KR626354   Chrysler      PACIFICA             LOS ANGELES              CA
57179   2C4RC1BG8KR626371   Chrysler      PACIFICA             NASHVILLE                TN
57180   2C4RC1BG8KR626385   Chrysler      PACIFICA             Atlanta                  GA
57181   2C4RC1BG8KR626404   Chrysler      PACIFICA             PALM SPRINGS             CA
57182   2C4RC1BG8KR626449   Chrysler      PACIFICA             BURBANK                  CA
57183   2C4RC1BG8KR626466   Chrysler      PACIFICA             KANSAS CITY              MO
57184   2C4RC1BG8KR626483   Chrysler      PACIFICA             LOS ANGELES              CA
57185   2C4RC1BG8KR643669   Chrysler      PACIFICA             WEST PALM BEACH          FL
57186   2C4RC1BG8KR643672   Chrysler      PACIFICA             ORANGE COUNTY            CA
57187   2C4RC1BG8KR650038   Chrysler      PACIFICA             BALTIMORE                MD
57188   2C4RC1BG8KR650041   Chrysler      PACIFICA             Birmingham               AL
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57189   2C4RC1BG8KR650055   Chrysler      PACIFICA             OKLAHOMA CITY            OK
57190   2C4RC1BG8KR650069   Chrysler      PACIFICA             DENVER                   CO
57191   2C4RC1BG8KR650072   Chrysler      PACIFICA             ORLANDO                  FL
57192   2C4RC1BG8KR650119   Chrysler      PACIFICA             HOUSTON                  TX
57193   2C4RC1BG8KR650136   Chrysler      PACIFICA             Rochester                NY
57194   2C4RC1BG8KR650153   Chrysler      PACIFICA             FORT MYERS               FL
57195   2C4RC1BG8KR650167   Chrysler      PACIFICA             SAN ANTONIO              TX
57196   2C4RC1BG8KR650203   Chrysler      PACIFICA             LOS ANGELES              CA
57197   2C4RC1BG8KR650217   Chrysler      PACIFICA             Hebron                   KY
57198   2C4RC1BG8KR650220   Chrysler      PACIFICA             STERLING                 VA
57199   2C4RC1BG8KR650248   Chrysler      PACIFICA             SAINT LOUIS              MO
57200   2C4RC1BG8KR650279   Chrysler      PACIFICA             JACKSONVILLE             FL
57201   2C4RC1BG8KR650296   Chrysler      PACIFICA             FT LAUDERDALE            US
57202   2C4RC1BG8KR650301   Chrysler      PACIFICA             PHOENIX                  AZ
57203   2C4RC1BG8KR650315   Chrysler      PACIFICA             STERLING                 VA
57204   2C4RC1BG8KR650329   Chrysler      PACIFICA             Lake Elsinore            CA
57205   2C4RC1BG8KR650346   Chrysler      PACIFICA             ORLANDO                  FL
57206   2C4RC1BG8KR650363   Chrysler      PACIFICA             Hamilton                 OH
57207   2C4RC1BG8KR650377   Chrysler      PACIFICA             Hamilton                 OH
57208   2C4RC1BG8KR650380   Chrysler      PACIFICA             DES MOINES               IA
57209   2C4RC1BG8KR650394   Chrysler      PACIFICA             CHICAGO                  IL
57210   2C4RC1BG8KR650413   Chrysler      PACIFICA             SYRACUSE                 NY
57211   2C4RC1BG8KR650430   Chrysler      PACIFICA             Fontana                  CA
57212   2C4RC1BG8KR650444   Chrysler      PACIFICA             AUSTIN                   TX
57213   2C4RC1BG8KR650461   Chrysler      PACIFICA             SAINT PAUL               MN
57214   2C4RC1BG8KR650492   Chrysler      PACIFICA             Manheim                  PA
57215   2C4RC1BG8KR650508   Chrysler      PACIFICA             SANTA ANA                CA
57216   2C4RC1BG8KR650542   Chrysler      PACIFICA             Greensboro               NC
57217   2C4RC1BG8KR650587   Chrysler      PACIFICA             SAN JOSE                 CA
57218   2C4RC1BG8KR650606   Chrysler      PACIFICA             SAN ANTONIO              TX
57219   2C4RC1BG8KR650654   Chrysler      PACIFICA             DALLAS                   TX
57220   2C4RC1BG8KR650685   Chrysler      PACIFICA             KANSAS CITY              MO
57221   2C4RC1BG8KR650699   Chrysler      PACIFICA             TAMPA                    FL
57222   2C4RC1BG8KR650718   Chrysler      PACIFICA             WEST PALM BEACH          FL
57223   2C4RC1BG8KR650721   Chrysler      PACIFICA             DALLAS                   TX
57224   2C4RC1BG8KR650749   Chrysler      PACIFICA             SANTA ANA                CA
57225   2C4RC1BG8KR650816   Chrysler      PACIFICA             AUSTIN                   TX
57226   2C4RC1BG8KR650847   Chrysler      PACIFICA             LOUISVILLE               KY
57227   2C4RC1BG8KR650864   Chrysler      PACIFICA             LAS VEGAS                NV
57228   2C4RC1BG8KR650914   Chrysler      PACIFICA             SAN FRANCISCO            CA
57229   2C4RC1BG8KR650928   Chrysler      PACIFICA             LAS VEGAS                NV
57230   2C4RC1BG8KR650931   Chrysler      PACIFICA             SEATAC                   WA
57231   2C4RC1BG8KR650959   Chrysler      PACIFICA             SANTA CLARA              CA
57232   2C4RC1BG8KR650962   Chrysler      PACIFICA             CLEVELAND                OH
57233   2C4RC1BG8KR651030   Chrysler      PACIFICA             WEST PALM BEACH          FL
57234   2C4RC1BG8KR651044   Chrysler      PACIFICA             WEST COLUMBIA            SC
57235   2C4RC1BG8KR651058   Chrysler      PACIFICA             SAINT LOUIS              MO
57236   2C4RC1BG8KR651075   Chrysler      PACIFICA             TAMPA                    FL
57237   2C4RC1BG8KR651111   Chrysler      PACIFICA             FULLERTON                CA
57238   2C4RC1BG8KR651125   Chrysler      PACIFICA             JACKSON                  MS
57239   2C4RC1BG8KR651142   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
57240   2C4RC1BG8KR651173   Chrysler      PACIFICA             Kansas City              MO
57241   2C4RC1BG8KR651187   Chrysler      PACIFICA             SANFORD                  FL
57242   2C4RC1BG8KR651190   Chrysler      PACIFICA             Atlanta                  GA
57243   2C4RC1BG8KR651206   Chrysler      PACIFICA             DENVER                   CO
57244   2C4RC1BG8KR651254   Chrysler      PACIFICA             ROANOKE                  VA
57245   2C4RC1BG8KR651285   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57246   2C4RC1BG8KR651299   Chrysler      PACIFICA             BOSTON                   MA
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57247   2C4RC1BG8KR651318   Chrysler      PACIFICA             CHICAGO                  IL
57248   2C4RC1BG8KR651402   Chrysler      PACIFICA             HARTFORD                 CT
57249   2C4RC1BG8KR651416   Chrysler      PACIFICA             HOUSTON                  TX
57250   2C4RC1BG8KR651495   Chrysler      PACIFICA             TAMPA                    FL
57251   2C4RC1BG8KR651528   Chrysler      PACIFICA             ATLANTA                  GA
57252   2C4RC1BG8KR651626   Chrysler      PACIFICA             STERLING                 VA
57253   2C4RC1BG8KR651643   Chrysler      PACIFICA             NORFOLK                  VA
57254   2C4RC1BG8KR651688   Chrysler      PACIFICA             SAN ANTONIO              TX
57255   2C4RC1BG8KR651691   Chrysler      PACIFICA             CHICAGO                  IL
57256   2C4RC1BG8KR651707   Chrysler      PACIFICA             SARASOTA                 FL
57257   2C4RC1BG8KR651724   Chrysler      PACIFICA             DETROIT                  MI
57258   2C4RC1BG8KR651755   Chrysler      PACIFICA             LAS VEGAS                NV
57259   2C4RC1BG8KR651786   Chrysler      PACIFICA             SACRAMENTO               CA
57260   2C4RC1BG8KR651822   Chrysler      PACIFICA             STERLING                 VA
57261   2C4RC1BG8KR651853   Chrysler      PACIFICA             TAMPA                    FL
57262   2C4RC1BG8KR651867   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
57263   2C4RC1BG8KR651884   Chrysler      PACIFICA             MIAMI                    FL
57264   2C4RC1BG8KR651917   Chrysler      PACIFICA             HOUSTON                  TX
57265   2C4RC1BG8KR651920   Chrysler      PACIFICA             NEW YORK CITY            NY
57266   2C4RC1BG8KR651948   Chrysler      PACIFICA             FORT MYERS               FL
57267   2C4RC1BG8KR651951   Chrysler      PACIFICA             Portland                 ME
57268   2C4RC1BG8KR651965   Chrysler      PACIFICA             OMAHA                    NE
57269   2C4RC1BG8KR651982   Chrysler      PACIFICA             ATLANTA                  GA
57270   2C4RC1BG8KR652002   Chrysler      PACIFICA             FULLERTON                CA
57271   2C4RC1BG8KR652016   Chrysler      PACIFICA             INDIANAPOLIS             IN
57272   2C4RC1BG8KR652033   Chrysler      PACIFICA             WHITE PLAINS             NY
57273   2C4RC1BG8KR652047   Chrysler      PACIFICA             RALIEGH                  NC
57274   2C4RC1BG8KR652064   Chrysler      PACIFICA             Houston                  TX
57275   2C4RC1BG8KR652078   Chrysler      PACIFICA             JACKSONVILLE             FL
57276   2C4RC1BG8KR652081   Chrysler      PACIFICA             TULSA                    OK
57277   2C4RC1BG8KR655045   Chrysler      PACIFICA             GRAND RAPIDS             MI
57278   2C4RC1BG8KR655062   Chrysler      PACIFICA             LOS ANGELES              CA
57279   2C4RC1BG8KR655093   Chrysler      PACIFICA             BUFFALO                  NY
57280   2C4RC1BG8KR655112   Chrysler      PACIFICA             DAYTONA BEACH            FL
57281   2C4RC1BG8KR655143   Chrysler      PACIFICA             CHICAGO                  IL
57282   2C4RC1BG8KR657250   Chrysler      PACIFICA             LAS VEGAS                NV
57283   2C4RC1BG8KR657281   Chrysler      PACIFICA             BURBANK                  CA
57284   2C4RC1BG8KR657300   Chrysler      PACIFICA             PANAMA CITY              FL
57285   2C4RC1BG8KR665350   Chrysler      PACIFICA             INDIANAPOLIS             IN
57286   2C4RC1BG8KR665378   Chrysler      PACIFICA             FRESNO                   CA
57287   2C4RC1BG8KR665414   Chrysler      PACIFICA             TAMPA                    FL
57288   2C4RC1BG8KR665428   Chrysler      PACIFICA             North Dighton            MA
57289   2C4RC1BG8KR665459   Chrysler      PACIFICA             AUSTIN                   TX
57290   2C4RC1BG8KR665512   Chrysler      PACIFICA             PORTLAND                 OR
57291   2C4RC1BG8KR665560   Chrysler      PACIFICA             LOS ANGELES AP           CA
57292   2C4RC1BG8KR665574   Chrysler      PACIFICA             KANSAS CITY              MO
57293   2C4RC1BG8KR665588   Chrysler      PACIFICA             SAN JOSE                 CA
57294   2C4RC1BG8KR665591   Chrysler      PACIFICA             PHOENIX                  AZ
57295   2C4RC1BG8KR665607   Chrysler      PACIFICA             LAS VEGAS                NV
57296   2C4RC1BG8KR665624   Chrysler      PACIFICA             MIAMI                    FL
57297   2C4RC1BG8KR665638   Chrysler      PACIFICA             GRAND RAPIDS             MI
57298   2C4RC1BG8KR665655   Chrysler      PACIFICA             Lake Elsinore            CA
57299   2C4RC1BG8KR665686   Chrysler      PACIFICA             Atlanta                  GA
57300   2C4RC1BG8KR665705   Chrysler      PACIFICA             INDIANAPOLIS             IN
57301   2C4RC1BG8KR665722   Chrysler      PACIFICA             CHICAGO                  IL
57302   2C4RC1BG8KR665736   Chrysler      PACIFICA             Detroit                  MI
57303   2C4RC1BG8KR665767   Chrysler      PACIFICA             PHILADELPHIA             PA
57304   2C4RC1BG8KR665798   Chrysler      PACIFICA             CHICAGO                  IL
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57305   2C4RC1BG8KR665803   Chrysler      PACIFICA             MILWAUKEE                WI
57306   2C4RC1BG8KR665865   Chrysler      PACIFICA             KANSAS CITY              MO
57307   2C4RC1BG8KR665882   Chrysler      PACIFICA             Dallas                   TX
57308   2C4RC1BG8KR665946   Chrysler      PACIFICA             KNOXVILLE                TN
57309   2C4RC1BG8KR666059   Chrysler      PACIFICA             DALLAS                   TX
57310   2C4RC1BG8KR666062   Chrysler      PACIFICA             Philadelphia             PA
57311   2C4RC1BG8KR673013   Chrysler      PACIFICA             STERLING                 VA
57312   2C4RC1BG8KR673030   Chrysler      PACIFICA             Dallas                   TX
57313   2C4RC1BG8KR673044   Chrysler      PACIFICA             CORPUS CHRISTI           TX
57314   2C4RC1BG8KR673092   Chrysler      PACIFICA             MEMPHIS                  TN
57315   2C4RC1BG8KR673111   Chrysler      PACIFICA             SHREVEPORT               LA
57316   2C4RC1BG8KR673125   Chrysler      PACIFICA             LOS ANGELES              CA
57317   2C4RC1BG8KR673139   Chrysler      PACIFICA             WICHITA FALLS            TX
57318   2C4RC1BG8KR673156   Chrysler      PACIFICA             Hebron                   KY
57319   2C4RC1BG8KR673190   Chrysler      PACIFICA             AUSTIN                   TX
57320   2C4RC1BG8KR673206   Chrysler      PACIFICA             NORFOLK                  VA
57321   2C4RC1BG8KR680480   Chrysler      PACIFICA             Teterboro                NJ
57322   2C4RC1BG8KR680513   Chrysler      PACIFICA             SAN JOSE                 CA
57323   2C4RC1BG8KR680561   Chrysler      PACIFICA             CHICAGO                  IL
57324   2C4RC1BG8KR680592   Chrysler      PACIFICA             BURBANK                  CA
57325   2C4RC1BG8KR680611   Chrysler      PACIFICA             PHOENIX                  AZ
57326   2C4RC1BG8KR680642   Chrysler      PACIFICA             SANTA ANA                CA
57327   2C4RC1BG8KR680673   Chrysler      PACIFICA             Portland                 OR
57328   2C4RC1BG8KR680687   Chrysler      PACIFICA             JAMAICA                  NY
57329   2C4RC1BG8KR680723   Chrysler      PACIFICA             Atlanta                  GA
57330   2C4RC1BG8KR680740   Chrysler      PACIFICA             Anchorage                AK
57331   2C4RC1BG8KR680866   Chrysler      PACIFICA             LEXINGTON                KY
57332   2C4RC1BG8KR680883   Chrysler      PACIFICA             CHICAGO                  IL
57333   2C4RC1BG8KR680897   Chrysler      PACIFICA             KANSAS CITY              MO
57334   2C4RC1BG8KR680978   Chrysler      PACIFICA             BURBANK                  CA
57335   2C4RC1BG8KR681015   Chrysler      PACIFICA             DALLAS                   TX
57336   2C4RC1BG8KR685257   Chrysler      PACIFICA             EL PASO                  TX
57337   2C4RC1BG8KR685260   Chrysler      PACIFICA             Hebron                   KY
57338   2C4RC1BG8KR685274   Chrysler      PACIFICA             PHOENIX                  AZ
57339   2C4RC1BG8KR685307   Chrysler      PACIFICA             LOUISVILLE               KY
57340   2C4RC1BG8KR685338   Chrysler      PACIFICA             Detroit                  MI
57341   2C4RC1BG8KR685341   Chrysler      PACIFICA             LOS ANGELES              CA
57342   2C4RC1BG8KR685355   Chrysler      PACIFICA             FORT MYERS               FL
57343   2C4RC1BG8KR685369   Chrysler      PACIFICA             LAS VEGAS                NV
57344   2C4RC1BG8KR685386   Chrysler      PACIFICA             Indianapolis             IN
57345   2C4RC1BG8KR685436   Chrysler      PACIFICA             Bordentown               NJ
57346   2C4RC1BG8KR685470   Chrysler      PACIFICA             Jamaica                  NY
57347   2C4RC1BG8KR685498   Chrysler      PACIFICA             STERLING                 VA
57348   2C4RC1BG8KR685503   Chrysler      PACIFICA             STERLING                 VA
57349   2C4RC1BG8KR685517   Chrysler      PACIFICA             NORFOLK                  VA
57350   2C4RC1BG8KR685582   Chrysler      PACIFICA             DENVER                   CO
57351   2C4RC1BG8KR685615   Chrysler      PACIFICA             ALEXANDRIA               VA
57352   2C4RC1BG8KR685632   Chrysler      PACIFICA             HARRISBURG               PA
57353   2C4RC1BG8KR685677   Chrysler      PACIFICA             DETROIT                  MI
57354   2C4RC1BG8KR685713   Chrysler      PACIFICA             HOUSTON                  TX
57355   2C4RC1BG8KR685758   Chrysler      PACIFICA             FAYETTEVILLE             GA
57356   2C4RC1BG8KR685775   Chrysler      PACIFICA             KENNER                   LA
57357   2C4RC1BG8KR685792   Chrysler      PACIFICA             ATLANTA                  GA
57358   2C4RC1BG8KR685808   Chrysler      PACIFICA             CHICAGO                  IL
57359   2C4RC1BG8KR685811   Chrysler      PACIFICA             KANSAS CITY              MO
57360   2C4RC1BG8KR698266   Chrysler      PACIFICA             OAKLAND                  CA
57361   2C4RC1BG8KR698283   Chrysler      PACIFICA             SALT LAKE CITY           UT
57362   2C4RC1BG8KR698302   Chrysler      PACIFICA             BLOOMINGTON              IL
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57363   2C4RC1BG8KR698316   Chrysler      PACIFICA             Teterboro                NJ
57364   2C4RC1BG8KR700548   Chrysler      PACIFICA             SAN JOSE                 CA
57365   2C4RC1BG8KR700565   Chrysler      PACIFICA             Marietta                 GA
57366   2C4RC1BG8KR700579   Chrysler      PACIFICA             LOS ANGELES              CA
57367   2C4RC1BG8KR700713   Chrysler      PACIFICA             SEATAC                   WA
57368   2C4RC1BG8KR700727   Chrysler      PACIFICA             SANTA ANA                CA
57369   2C4RC1BG8KR704678   Chrysler      PACIFICA             NEWARK                   NJ
57370   2C4RC1BG8KR704745   Chrysler      PACIFICA             Philadelphia             PA
57371   2C4RC1BG8KR704759   Chrysler      PACIFICA             Kansas City              MO
57372   2C4RC1BG8KR704776   Chrysler      PACIFICA             SACRAMENTO               CA
57373   2C4RC1BG8KR704793   Chrysler      PACIFICA             PROVIDENCE               RI
57374   2C4RC1BG8KR704809   Chrysler      PACIFICA             PITTSBURGH               PA
57375   2C4RC1BG8KR704812   Chrysler      PACIFICA             DES PLAINES              IL
57376   2C4RC1BG9JR311948   Chrysler      PACIFICA             UNION CITY               GA
57377   2C4RC1BG9KR537165   Chrysler      PACIFICA             Anaheim                  CA
57378   2C4RC1BG9KR537179   Chrysler      PACIFICA             SALT LAKE CITY           UT
57379   2C4RC1BG9KR537182   Chrysler      PACIFICA             Fontana                  CA
57380   2C4RC1BG9KR537215   Chrysler      PACIFICA             ORLANDO                  FL
57381   2C4RC1BG9KR537246   Chrysler      PACIFICA             SAN DIEGO                CA
57382   2C4RC1BG9KR537263   Chrysler      PACIFICA             HARRISBURG               PA
57383   2C4RC1BG9KR537327   Chrysler      PACIFICA             INGLEWOOD                CA
57384   2C4RC1BG9KR537361   Chrysler      PACIFICA             Warminster               PA
57385   2C4RC1BG9KR537425   Chrysler      PACIFICA             LAS VEGAS                NV
57386   2C4RC1BG9KR537439   Chrysler      PACIFICA             SAN ANTONIO              TX
57387   2C4RC1BG9KR537473   Chrysler      PACIFICA             NEW YORK CITY            NY
57388   2C4RC1BG9KR537490   Chrysler      PACIFICA             HANOVER                  MD
57389   2C4RC1BG9KR537523   Chrysler      PACIFICA             ATLANTA                  GA
57390   2C4RC1BG9KR537571   Chrysler      PACIFICA             ORLANDO                  FL
57391   2C4RC1BG9KR537585   Chrysler      PACIFICA             WHITE PLAINS             NY
57392   2C4RC1BG9KR537599   Chrysler      PACIFICA             WARWICK                  RI
57393   2C4RC1BG9KR537604   Chrysler      PACIFICA             North Dighton            MA
57394   2C4RC1BG9KR537666   Chrysler      PACIFICA             San Diego                CA
57395   2C4RC1BG9KR537702   Chrysler      PACIFICA             LAS VEGAS                NV
57396   2C4RC1BG9KR537716   Chrysler      PACIFICA             HOUSTON                  TX
57397   2C4RC1BG9KR539269   Chrysler      PACIFICA             LOS ANGELES              CA
57398   2C4RC1BG9KR539272   Chrysler      PACIFICA             BURBANK                  CA
57399   2C4RC1BG9KR539286   Chrysler      PACIFICA             KANSAS CITY              MO
57400   2C4RC1BG9KR539322   Chrysler      PACIFICA             PHOENIX                  AZ
57401   2C4RC1BG9KR539336   Chrysler      PACIFICA             SALT LAKE CITY           UT
57402   2C4RC1BG9KR539367   Chrysler      PACIFICA             St. Louis                MO
57403   2C4RC1BG9KR539370   Chrysler      PACIFICA             Tampa                    FL
57404   2C4RC1BG9KR539398   Chrysler      PACIFICA             MIAMI                    FL
57405   2C4RC1BG9KR539420   Chrysler      PACIFICA             HOUSTON                  TX
57406   2C4RC1BG9KR539434   Chrysler      PACIFICA             TAMPA                    FL
57407   2C4RC1BG9KR539451   Chrysler      PACIFICA             MARIETTA                 GA
57408   2C4RC1BG9KR539479   Chrysler      PACIFICA             Atlanta                  GA
57409   2C4RC1BG9KR539501   Chrysler      PACIFICA             ORLANDO                  FL
57410   2C4RC1BG9KR539529   Chrysler      PACIFICA             MIAMI                    FL
57411   2C4RC1BG9KR539563   Chrysler      PACIFICA             ORLANDO                  FL
57412   2C4RC1BG9KR539580   Chrysler      PACIFICA             Atlanta                  GA
57413   2C4RC1BG9KR539627   Chrysler      PACIFICA             TAMPA                    FL
57414   2C4RC1BG9KR539661   Chrysler      PACIFICA             DALLAS                   TX
57415   2C4RC1BG9KR539675   Chrysler      PACIFICA             Atlanta                  GA
57416   2C4RC1BG9KR539692   Chrysler      PACIFICA             Tampa                    FL
57417   2C4RC1BG9KR539742   Chrysler      PACIFICA             LIMA                     OH
57418   2C4RC1BG9KR539787   Chrysler      PACIFICA             Greensboro               NC
57419   2C4RC1BG9KR539790   Chrysler      PACIFICA             LAS VEGAS                NV
57420   2C4RC1BG9KR539806   Chrysler      PACIFICA             BOSTON                   MA
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57421   2C4RC1BG9KR539837   Chrysler      PACIFICA             PHOENIX                  AZ
57422   2C4RC1BG9KR539854   Chrysler      PACIFICA             NEWARK                   NJ
57423   2C4RC1BG9KR539885   Chrysler      PACIFICA             RONKONKOMA               NY
57424   2C4RC1BG9KR539918   Chrysler      PACIFICA             ORLANDO                  FL
57425   2C4RC1BG9KR539921   Chrysler      PACIFICA             Atlanta                  GA
57426   2C4RC1BG9KR539949   Chrysler      PACIFICA             PHILADELPHIA             PA
57427   2C4RC1BG9KR539997   Chrysler      PACIFICA             Davie                    FL
57428   2C4RC1BG9KR540017   Chrysler      PACIFICA             Atlanta                  GA
57429   2C4RC1BG9KR540048   Chrysler      PACIFICA             SEATTLE                  WA
57430   2C4RC1BG9KR540051   Chrysler      PACIFICA             NORTH HILLS              CA
57431   2C4RC1BG9KR559893   Chrysler      PACIFICA             ST PAUL                  MN
57432   2C4RC1BG9KR559909   Chrysler      PACIFICA             TAMPA                    FL
57433   2C4RC1BG9KR559943   Chrysler      PACIFICA             TAMPA                    FL
57434   2C4RC1BG9KR559960   Chrysler      PACIFICA             BUFFALO                  NY
57435   2C4RC1BG9KR559988   Chrysler      PACIFICA             FORT MYERS               FL
57436   2C4RC1BG9KR560056   Chrysler      PACIFICA             RALEIGH                  NC
57437   2C4RC1BG9KR560087   Chrysler      PACIFICA             TAMPA                    FL
57438   2C4RC1BG9KR560090   Chrysler      PACIFICA             ORLANDO                  FL
57439   2C4RC1BG9KR560106   Chrysler      PACIFICA             SACRAMENTO               CA
57440   2C4RC1BG9KR560154   Chrysler      PACIFICA             ORLANDO                  FL
57441   2C4RC1BG9KR560168   Chrysler      PACIFICA             DAYTONA BEACH            FL
57442   2C4RC1BG9KR560185   Chrysler      PACIFICA             DANIA BEACH              FL
57443   2C4RC1BG9KR560915   Chrysler      PACIFICA             PITTSBURGH               PA
57444   2C4RC1BG9KR560929   Chrysler      PACIFICA             Statesville              NC
57445   2C4RC1BG9KR560946   Chrysler      PACIFICA             Morrisville              NC
57446   2C4RC1BG9KR560963   Chrysler      PACIFICA             SAN ANTONIO              TX
57447   2C4RC1BG9KR560977   Chrysler      PACIFICA             Atlanta                  GA
57448   2C4RC1BG9KR561000   Chrysler      PACIFICA             MILWAUKEE                WI
57449   2C4RC1BG9KR561028   Chrysler      PACIFICA             MIAMI                    FL
57450   2C4RC1BG9KR561031   Chrysler      PACIFICA             Miami                    FL
57451   2C4RC1BG9KR561062   Chrysler      PACIFICA             ORLANDO                  FL
57452   2C4RC1BG9KR561109   Chrysler      PACIFICA             SAN ANTONIO              TX
57453   2C4RC1BG9KR561157   Chrysler      PACIFICA             NEW ORLEANS              LA
57454   2C4RC1BG9KR581327   Chrysler      PACIFICA             TAMPA                    US
57455   2C4RC1BG9KR581358   Chrysler      PACIFICA             Atlanta                  GA
57456   2C4RC1BG9KR581389   Chrysler      PACIFICA             LAS VEGAS                NV
57457   2C4RC1BG9KR581439   Chrysler      PACIFICA             Portland                 OR
57458   2C4RC1BG9KR582834   Chrysler      PACIFICA             ORLANDO                  FL
57459   2C4RC1BG9KR582848   Chrysler      PACIFICA             WILMINGTON               NC
57460   2C4RC1BG9KR582879   Chrysler      PACIFICA             INDIANAPOLIS             IN
57461   2C4RC1BG9KR582896   Chrysler      PACIFICA             MIAMI                    FL
57462   2C4RC1BG9KR582915   Chrysler      PACIFICA             NEWARK                   NJ
57463   2C4RC1BG9KR582929   Chrysler      PACIFICA             ORLANDO                  FL
57464   2C4RC1BG9KR582946   Chrysler      PACIFICA             JACKSONVILLE             FL
57465   2C4RC1BG9KR582963   Chrysler      PACIFICA             Coraopolis               PA
57466   2C4RC1BG9KR582980   Chrysler      PACIFICA             MIAMI                    FL
57467   2C4RC1BG9KR582994   Chrysler      PACIFICA             ORLANDO                  FL
57468   2C4RC1BG9KR583000   Chrysler      PACIFICA             CHICAGO                  IL
57469   2C4RC1BG9KR583014   Chrysler      PACIFICA             LOS ANGELES              CA
57470   2C4RC1BG9KR583028   Chrysler      PACIFICA             Atlanta                  GA
57471   2C4RC1BG9KR583059   Chrysler      PACIFICA             Miami                    FL
57472   2C4RC1BG9KR592747   Chrysler      PACIFICA             Bordentown               NJ
57473   2C4RC1BG9KR592750   Chrysler      PACIFICA             DAYTONA BEACH            FL
57474   2C4RC1BG9KR596751   Chrysler      PACIFICA             STERLING                 VA
57475   2C4RC1BG9KR596765   Chrysler      PACIFICA             STERLING                 VA
57476   2C4RC1BG9KR596801   Chrysler      PACIFICA             ST LOUIS                 MO
57477   2C4RC1BG9KR596829   Chrysler      PACIFICA             FT LAUDERDALE            FL
57478   2C4RC1BG9KR596846   Chrysler      PACIFICA             TAMPA                    FL
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57479   2C4RC1BG9KR596863   Chrysler      PACIFICA             MCALLEN                  TX
57480   2C4RC1BG9KR596877   Chrysler      PACIFICA             KNOXVILLE                TN
57481   2C4RC1BG9KR596894   Chrysler      PACIFICA             DETROIT                  MI
57482   2C4RC1BG9KR596913   Chrysler      PACIFICA             Warwick                  RI
57483   2C4RC1BG9KR596930   Chrysler      PACIFICA             Hebron                   KY
57484   2C4RC1BG9KR596961   Chrysler      PACIFICA             Maple Grove              MN
57485   2C4RC1BG9KR596989   Chrysler      PACIFICA             Rock Hill                SC
57486   2C4RC1BG9KR596992   Chrysler      PACIFICA             DANIA                    FL
57487   2C4RC1BG9KR597009   Chrysler      PACIFICA             Warwick                  RI
57488   2C4RC1BG9KR597012   Chrysler      PACIFICA             ORLANDO                  FL
57489   2C4RC1BG9KR597057   Chrysler      PACIFICA             Kent                     WA
57490   2C4RC1BG9KR597060   Chrysler      PACIFICA             Hamilton                 OH
57491   2C4RC1BG9KR597091   Chrysler      PACIFICA             CLEVELAND                OH
57492   2C4RC1BG9KR597107   Chrysler      PACIFICA             Miami                    FL
57493   2C4RC1BG9KR597124   Chrysler      PACIFICA             ORLANDO                  FL
57494   2C4RC1BG9KR597141   Chrysler      PACIFICA             FORT MYERS               FL
57495   2C4RC1BG9KR597172   Chrysler      PACIFICA             TAMPA                    FL
57496   2C4RC1BG9KR597205   Chrysler      PACIFICA             SAINT PAUL               MN
57497   2C4RC1BG9KR617128   Chrysler      PACIFICA             Pensacola                FL
57498   2C4RC1BG9KR617145   Chrysler      PACIFICA             LOS ANGELES              CA
57499   2C4RC1BG9KR617159   Chrysler      PACIFICA             ORLANDO                  FL
57500   2C4RC1BG9KR617176   Chrysler      PACIFICA             DALLAS                   TX
57501   2C4RC1BG9KR617209   Chrysler      PACIFICA             INDIANAPOLIS             IN
57502   2C4RC1BG9KR624774   Chrysler      PACIFICA             PALM SPRINGS             CA
57503   2C4RC1BG9KR624810   Chrysler      PACIFICA             LOS ANGELES              CA
57504   2C4RC1BG9KR624855   Chrysler      PACIFICA             LAS VEGAS                NV
57505   2C4RC1BG9KR624905   Chrysler      PACIFICA             LAS VEGAS                NV
57506   2C4RC1BG9KR624919   Chrysler      PACIFICA             San Diego                CA
57507   2C4RC1BG9KR624984   Chrysler      PACIFICA             WARWICK                  RI
57508   2C4RC1BG9KR625102   Chrysler      PACIFICA             FORT MYERS               FL
57509   2C4RC1BG9KR625231   Chrysler      PACIFICA             CLEVELAND                OH
57510   2C4RC1BG9KR625245   Chrysler      PACIFICA             INDIANAPOLIS             IN
57511   2C4RC1BG9KR625259   Chrysler      PACIFICA             Dallas                   TX
57512   2C4RC1BG9KR625312   Chrysler      PACIFICA             FORT MYERS               FL
57513   2C4RC1BG9KR625326   Chrysler      PACIFICA             SAN DIEGO                CA
57514   2C4RC1BG9KR625388   Chrysler      PACIFICA             SAN ANTONIO              TX
57515   2C4RC1BG9KR625455   Chrysler      PACIFICA             MCALLEN                  TX
57516   2C4RC1BG9KR625472   Chrysler      PACIFICA             AUSTIN                   TX
57517   2C4RC1BG9KR625519   Chrysler      PACIFICA             LAS VEGAS                NV
57518   2C4RC1BG9KR625536   Chrysler      PACIFICA             LAS VEGAS                NV
57519   2C4RC1BG9KR625567   Chrysler      PACIFICA             Albuquerque              NM
57520   2C4RC1BG9KR625617   Chrysler      PACIFICA             LAS VEGAS                NV
57521   2C4RC1BG9KR625696   Chrysler      PACIFICA             DENVER                   CO
57522   2C4RC1BG9KR625701   Chrysler      PACIFICA             MIAMI                    FL
57523   2C4RC1BG9KR625715   Chrysler      PACIFICA             LOUISVILLE               KY
57524   2C4RC1BG9KR625746   Chrysler      PACIFICA             Pittsburgh               PA
57525   2C4RC1BG9KR625813   Chrysler      PACIFICA             NEWARK                   NJ
57526   2C4RC1BG9KR625889   Chrysler      PACIFICA             BIRMINGHAN               AL
57527   2C4RC1BG9KR625908   Chrysler      PACIFICA             CLEVELAND                OH
57528   2C4RC1BG9KR625911   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57529   2C4RC1BG9KR625939   Chrysler      PACIFICA             COLLEGE PARK             GA
57530   2C4RC1BG9KR625942   Chrysler      PACIFICA             SCRANTON                 PA
57531   2C4RC1BG9KR625973   Chrysler      PACIFICA             LAS VEGAS                NV
57532   2C4RC1BG9KR625987   Chrysler      PACIFICA             BRONX                    NY
57533   2C4RC1BG9KR626055   Chrysler      PACIFICA             WICHITA FALLS            TX
57534   2C4RC1BG9KR626184   Chrysler      PACIFICA             ATLANTA                  GA
57535   2C4RC1BG9KR626220   Chrysler      PACIFICA             CHICAGO                  IL
57536   2C4RC1BG9KR626234   Chrysler      PACIFICA             TAMPA                    US
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57537   2C4RC1BG9KR626265   Chrysler      PACIFICA             PORTLAND                 OR
57538   2C4RC1BG9KR626296   Chrysler      PACIFICA             Albuquerque              NM
57539   2C4RC1BG9KR626301   Chrysler      PACIFICA             LITTLE ROCK              AR
57540   2C4RC1BG9KR626315   Chrysler      PACIFICA             CLARKSVILLE              IN
57541   2C4RC1BG9KR626332   Chrysler      PACIFICA             MANSFIELD                OH
57542   2C4RC1BG9KR626346   Chrysler      PACIFICA             KILLEEN                  TX
57543   2C4RC1BG9KR626363   Chrysler      PACIFICA             Ventura                  CA
57544   2C4RC1BG9KR626380   Chrysler      PACIFICA             KENNER                   LA
57545   2C4RC1BG9KR626394   Chrysler      PACIFICA             Teterboro                NJ
57546   2C4RC1BG9KR626458   Chrysler      PACIFICA             LAS VEGAS                NV
57547   2C4RC1BG9KR626492   Chrysler      PACIFICA             ORLANDO                  FL
57548   2C4RC1BG9KR643678   Chrysler      PACIFICA             MINNEAPOLIS              MN
57549   2C4RC1BG9KR650033   Chrysler      PACIFICA             LOS ANGELES              CA
57550   2C4RC1BG9KR650047   Chrysler      PACIFICA             SAINT PAUL               MN
57551   2C4RC1BG9KR650050   Chrysler      PACIFICA             Ronkonkoma               NY
57552   2C4RC1BG9KR650064   Chrysler      PACIFICA             AUSTIN                   TX
57553   2C4RC1BG9KR650100   Chrysler      PACIFICA             KANSAS CITY              MO
57554   2C4RC1BG9KR650114   Chrysler      PACIFICA             Atlanta                  GA
57555   2C4RC1BG9KR650128   Chrysler      PACIFICA             Atlanta                  GA
57556   2C4RC1BG9KR650159   Chrysler      PACIFICA             BOSTON                   MA
57557   2C4RC1BG9KR650162   Chrysler      PACIFICA             BIRMINGHAM               AL
57558   2C4RC1BG9KR650209   Chrysler      PACIFICA             SARASOTA                 FL
57559   2C4RC1BG9KR650212   Chrysler      PACIFICA             Atlanta                  GA
57560   2C4RC1BG9KR650226   Chrysler      PACIFICA             DENVER                   CO
57561   2C4RC1BG9KR650257   Chrysler      PACIFICA             CHICAGO                  IL
57562   2C4RC1BG9KR650274   Chrysler      PACIFICA             WEST COLUMBIA            SC
57563   2C4RC1BG9KR650291   Chrysler      PACIFICA             WEST PALM BEACH          FL
57564   2C4RC1BG9KR650307   Chrysler      PACIFICA             PORTLAND                 OR
57565   2C4RC1BG9KR650324   Chrysler      PACIFICA             Hebron                   KY
57566   2C4RC1BG9KR650341   Chrysler      PACIFICA             NEW BERN                 NC
57567   2C4RC1BG9KR650372   Chrysler      PACIFICA             LOUISVILLE               KY
57568   2C4RC1BG9KR650386   Chrysler      PACIFICA             PHOENIX                  AZ
57569   2C4RC1BG9KR650405   Chrysler      PACIFICA             PHOENIX                  AZ
57570   2C4RC1BG9KR650419   Chrysler      PACIFICA             Medford                  NY
57571   2C4RC1BG9KR650436   Chrysler      PACIFICA             ALBANY                   NY
57572   2C4RC1BG9KR650453   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57573   2C4RC1BG9KR650470   Chrysler      PACIFICA             ORLANDO                  FL
57574   2C4RC1BG9KR650517   Chrysler      PACIFICA             Austin                   TX
57575   2C4RC1BG9KR650534   Chrysler      PACIFICA             MILWAUKEE                WI
57576   2C4RC1BG9KR650551   Chrysler      PACIFICA             MYRTLE BEACH             SC
57577   2C4RC1BG9KR650579   Chrysler      PACIFICA             DETROIT                  MI
57578   2C4RC1BG9KR650601   Chrysler      PACIFICA             WEST PALM BEACH          FL
57579   2C4RC1BG9KR650677   Chrysler      PACIFICA             DES MOINES               IA
57580   2C4RC1BG9KR650694   Chrysler      PACIFICA             COLLEGE PARK             GA
57581   2C4RC1BG9KR650727   Chrysler      PACIFICA             ONTARIO                  CA
57582   2C4RC1BG9KR650730   Chrysler      PACIFICA             LOUISVILLE               KY
57583   2C4RC1BG9KR650758   Chrysler      PACIFICA             KNOXVILLE                TN
57584   2C4RC1BG9KR650808   Chrysler      PACIFICA             SANTA BARBARA            CA
57585   2C4RC1BG9KR650825   Chrysler      PACIFICA             OAKLAND                  CA
57586   2C4RC1BG9KR650839   Chrysler      PACIFICA             COLLEGE PARK             GA
57587   2C4RC1BG9KR650887   Chrysler      PACIFICA             BLOOMINGTON              IL
57588   2C4RC1BG9KR650890   Chrysler      PACIFICA             SAN FRANCISCO            CA
57589   2C4RC1BG9KR650906   Chrysler      PACIFICA             Rio Linda                CA
57590   2C4RC1BG9KR650923   Chrysler      PACIFICA             SEATAC                   WA
57591   2C4RC1BG9KR650937   Chrysler      PACIFICA             Hayward                  CA
57592   2C4RC1BG9KR650940   Chrysler      PACIFICA             PORTLAND                 OR
57593   2C4RC1BG9KR650954   Chrysler      PACIFICA             Carleton                 MI
57594   2C4RC1BG9KR650971   Chrysler      PACIFICA             SAN LEANDRO              CA
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57595   2C4RC1BG9KR650985   Chrysler      PACIFICA             DETROIT                  MI
57596   2C4RC1BG9KR651005   Chrysler      PACIFICA             WEST PALM BEACH          FL
57597   2C4RC1BG9KR651053   Chrysler      PACIFICA             WEST COLUMBIA            SC
57598   2C4RC1BG9KR651070   Chrysler      PACIFICA             SEATAC                   WA
57599   2C4RC1BG9KR651084   Chrysler      PACIFICA             SAINT PAUL               MN
57600   2C4RC1BG9KR651103   Chrysler      PACIFICA             Salt Lake City           UT
57601   2C4RC1BG9KR651117   Chrysler      PACIFICA             BIRMINGHAM               AL
57602   2C4RC1BG9KR651151   Chrysler      PACIFICA             SEATAC                   WA
57603   2C4RC1BG9KR651179   Chrysler      PACIFICA             Atlanta                  GA
57604   2C4RC1BG9KR651196   Chrysler      PACIFICA             NEW YORK CITY            NY
57605   2C4RC1BG9KR651201   Chrysler      PACIFICA             TALLAHASSEE              FL
57606   2C4RC1BG9KR651263   Chrysler      PACIFICA             BUFFALO                  NY
57607   2C4RC1BG9KR651280   Chrysler      PACIFICA             NEWARK                   NJ
57608   2C4RC1BG9KR651294   Chrysler      PACIFICA             BOSTON                   MA
57609   2C4RC1BG9KR651313   Chrysler      PACIFICA             Tulsa                    OK
57610   2C4RC1BG9KR651330   Chrysler      PACIFICA             SAINT LOUIS              MO
57611   2C4RC1BG9KR651361   Chrysler      PACIFICA             TAMPA                    FL
57612   2C4RC1BG9KR651408   Chrysler      PACIFICA             FORT MYERS               FL
57613   2C4RC1BG9KR651439   Chrysler      PACIFICA             LAS VEGAS                NV
57614   2C4RC1BG9KR651490   Chrysler      PACIFICA             Miami                    FL
57615   2C4RC1BG9KR651523   Chrysler      PACIFICA             Alexandria               VA
57616   2C4RC1BG9KR651537   Chrysler      PACIFICA             Warr Acres               OK
57617   2C4RC1BG9KR651571   Chrysler      PACIFICA             JACKSON                  MS
57618   2C4RC1BG9KR651585   Chrysler      PACIFICA             SAN DIEGO                CA
57619   2C4RC1BG9KR651599   Chrysler      PACIFICA             Atlanta                  GA
57620   2C4RC1BG9KR651652   Chrysler      PACIFICA             DES MOINES               IA
57621   2C4RC1BG9KR651666   Chrysler      PACIFICA             FORT MYERS               FL
57622   2C4RC1BG9KR651697   Chrysler      PACIFICA             SALT LAKE CITY           US
57623   2C4RC1BG9KR651702   Chrysler      PACIFICA             ATLANTA                  GA
57624   2C4RC1BG9KR651733   Chrysler      PACIFICA             ORLANDO                  FL
57625   2C4RC1BG9KR651764   Chrysler      PACIFICA             MEMPHIS                  TN
57626   2C4RC1BG9KR651778   Chrysler      PACIFICA             SEATAC                   WA
57627   2C4RC1BG9KR651795   Chrysler      PACIFICA             INGLEWOOD                CA
57628   2C4RC1BG9KR651814   Chrysler      PACIFICA             ORLANDO                  FL
57629   2C4RC1BG9KR651828   Chrysler      PACIFICA             TAMPA                    FL
57630   2C4RC1BG9KR651974   Chrysler      PACIFICA             ORLANDO                  FL
57631   2C4RC1BG9KR651988   Chrysler      PACIFICA             CHICAGO                  IL
57632   2C4RC1BG9KR652025   Chrysler      PACIFICA             DES MOINES               IA
57633   2C4RC1BG9KR652056   Chrysler      PACIFICA             SAINT PAUL               MN
57634   2C4RC1BG9KR652073   Chrysler      PACIFICA             SAINT PAUL               MN
57635   2C4RC1BG9KR652090   Chrysler      PACIFICA             SALT LAKE CITY           UT
57636   2C4RC1BG9KR655037   Chrysler      PACIFICA             SACRAMENTO               CA
57637   2C4RC1BG9KR655071   Chrysler      PACIFICA             PROVIDENCE               RI
57638   2C4RC1BG9KR655085   Chrysler      PACIFICA             Miami                    FL
57639   2C4RC1BG9KR655099   Chrysler      PACIFICA             Elmhurst                 IL
57640   2C4RC1BG9KR655104   Chrysler      PACIFICA             SANTA CLARA              CA
57641   2C4RC1BG9KR655118   Chrysler      PACIFICA             ATLANTA                  GA
57642   2C4RC1BG9KR655135   Chrysler      PACIFICA             SEATAC                   WA
57643   2C4RC1BG9KR655149   Chrysler      PACIFICA             SEATAC                   WA
57644   2C4RC1BG9KR655152   Chrysler      PACIFICA             PORTLAND                 CA
57645   2C4RC1BG9KR657256   Chrysler      PACIFICA             Kansas City              MO
57646   2C4RC1BG9KR657273   Chrysler      PACIFICA             LOS ANGELES              CA
57647   2C4RC1BG9KR657306   Chrysler      PACIFICA             PALM S                   CA
57648   2C4RC1BG9KR665373   Chrysler      PACIFICA             LAS VEGAS                NV
57649   2C4RC1BG9KR665423   Chrysler      PACIFICA             ORLANDO                  FL
57650   2C4RC1BG9KR665437   Chrysler      PACIFICA             LOUISVILLE               KY
57651   2C4RC1BG9KR665485   Chrysler      PACIFICA             SAN JOSE                 CA
57652   2C4RC1BG9KR665499   Chrysler      PACIFICA             SEATTLE                  WA
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57653   2C4RC1BG9KR665521   Chrysler      PACIFICA             SAN FRANCISCO            CA
57654   2C4RC1BG9KR665616   Chrysler      PACIFICA             NEW YORK CITY            NY
57655   2C4RC1BG9KR665728   Chrysler      PACIFICA             SEA TAC                  WA
57656   2C4RC1BG9KR665745   Chrysler      PACIFICA             DETROIT                  MI
57657   2C4RC1BG9KR665762   Chrysler      PACIFICA             KNOXVILLE                TN
57658   2C4RC1BG9KR665793   Chrysler      PACIFICA             NEW BERN                 NC
57659   2C4RC1BG9KR665809   Chrysler      PACIFICA             NEWARK                   NJ
57660   2C4RC1BG9KR665826   Chrysler      PACIFICA             PHILADELPHIA             PA
57661   2C4RC1BG9KR665891   Chrysler      PACIFICA             RALEIGH                  NC
57662   2C4RC1BG9KR665955   Chrysler      PACIFICA             ATLANTA                  GA
57663   2C4RC1BG9KR665969   Chrysler      PACIFICA             FT. LAUDERDALE           FL
57664   2C4RC1BG9KR666040   Chrysler      PACIFICA             Atlanta                  GA
57665   2C4RC1BG9KR666054   Chrysler      PACIFICA             DETROIT                  MI
57666   2C4RC1BG9KR673070   Chrysler      PACIFICA             ORLANDO                  FL
57667   2C4RC1BG9KR673084   Chrysler      PACIFICA             ST Paul                  MN
57668   2C4RC1BG9KR673134   Chrysler      PACIFICA             CHICAGO                  IL
57669   2C4RC1BG9KR673148   Chrysler      PACIFICA             LUBBOCK                  TX
57670   2C4RC1BG9KR673182   Chrysler      PACIFICA             ORLANDO                  FL
57671   2C4RC1BG9KR673201   Chrysler      PACIFICA             WARWICK                  RI
57672   2C4RC1BG9KR673229   Chrysler      PACIFICA             SALT LAKE CITY           UT
57673   2C4RC1BG9KR673263   Chrysler      PACIFICA             ORLANDO                  FL
57674   2C4RC1BG9KR673277   Chrysler      PACIFICA             NEW BERN                 NC
57675   2C4RC1BG9KR680455   Chrysler      PACIFICA             LOS ANGELES              CA
57676   2C4RC1BG9KR680469   Chrysler      PACIFICA             BURBANK                  CA
57677   2C4RC1BG9KR680519   Chrysler      PACIFICA             SAN ANTONIO              TX
57678   2C4RC1BG9KR680536   Chrysler      PACIFICA             Johnson City             NY
57679   2C4RC1BG9KR680567   Chrysler      PACIFICA             LOS ANGELES              CA
57680   2C4RC1BG9KR680603   Chrysler      PACIFICA             CHEEKTOWAGA              NY
57681   2C4RC1BG9KR680620   Chrysler      PACIFICA             CLEVELAND                OH
57682   2C4RC1BG9KR680682   Chrysler      PACIFICA             SEATAC                   WA
57683   2C4RC1BG9KR680780   Chrysler      PACIFICA             SEATAC                   WA
57684   2C4RC1BG9KR680875   Chrysler      PACIFICA             PHILADELPHIA             PA
57685   2C4RC1BG9KR680889   Chrysler      PACIFICA             San Francisco            CA
57686   2C4RC1BG9KR680925   Chrysler      PACIFICA             LOS ANGELES              CA
57687   2C4RC1BG9KR680942   Chrysler      PACIFICA             SAINT LOUIS              MO
57688   2C4RC1BG9KR681024   Chrysler      PACIFICA             LAS VEGAS                NV
57689   2C4RC1BG9KR685266   Chrysler      PACIFICA             WHITE PLAINS             NY
57690   2C4RC1BG9KR685283   Chrysler      PACIFICA             EGG HARBOR TOWN          NJ
57691   2C4RC1BG9KR685302   Chrysler      PACIFICA             KNOXVILLE                TN
57692   2C4RC1BG9KR685316   Chrysler      PACIFICA             PALM SPRINGS             CA
57693   2C4RC1BG9KR685347   Chrysler      PACIFICA             DES PLAINES              IL
57694   2C4RC1BG9KR685400   Chrysler      PACIFICA             AUSTIN                   TX
57695   2C4RC1BG9KR685414   Chrysler      PACIFICA             LOS ANGELES              CA
57696   2C4RC1BG9KR685428   Chrysler      PACIFICA             DETROIT                  MI
57697   2C4RC1BG9KR685431   Chrysler      PACIFICA             NEW ORLEANS              LA
57698   2C4RC1BG9KR685445   Chrysler      PACIFICA             SACRAMENTO               CA
57699   2C4RC1BG9KR685493   Chrysler      PACIFICA             INDIANAPOLIS             IN
57700   2C4RC1BG9KR685588   Chrysler      PACIFICA             HOUSTON                  TX
57701   2C4RC1BG9KR685610   Chrysler      PACIFICA             DENVER                   CO
57702   2C4RC1BG9KR685672   Chrysler      PACIFICA             KANSAS CITY              MO
57703   2C4RC1BG9KR685719   Chrysler      PACIFICA             LOS ANGELES              CA
57704   2C4RC1BG9KR685784   Chrysler      PACIFICA             DETROIT                  MI
57705   2C4RC1BG9KR685798   Chrysler      PACIFICA             GRAND RAPIDS             MI
57706   2C4RC1BG9KR685803   Chrysler      PACIFICA             DES MOINES               IA
57707   2C4RC1BG9KR698258   Chrysler      PACIFICA             LOS ANGELES              CA
57708   2C4RC1BG9KR698261   Chrysler      PACIFICA             NEWPORT BEACH            CA
57709   2C4RC1BG9KR698275   Chrysler      PACIFICA             SANTA CLARA              CA
57710   2C4RC1BG9KR698289   Chrysler      PACIFICA             BURBANK                  CA
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57711   2C4RC1BG9KR698292   Chrysler      PACIFICA             INDIANAPOLIS             IN
57712   2C4RC1BG9KR700543   Chrysler      PACIFICA             BURBANK                  CA
57713   2C4RC1BG9KR700557   Chrysler      PACIFICA             SAN DIEGO                CA
57714   2C4RC1BG9KR700624   Chrysler      PACIFICA             SALT LAKE CITY           UT
57715   2C4RC1BG9KR700641   Chrysler      PACIFICA             SAINT PAUL               MN
57716   2C4RC1BG9KR700719   Chrysler      PACIFICA             BOSTON, LOGAN AP         MA
57717   2C4RC1BG9KR700753   Chrysler      PACIFICA             Hebron                   KY
57718   2C4RC1BG9KR704768   Chrysler      PACIFICA             FRESNO                   CA
57719   2C4RC1BG9KR704771   Chrysler      PACIFICA             OKLAHOMA CITY            OK
57720   2C4RC1BG9KR704799   Chrysler      PACIFICA             DALLAS                   TX
57721   2C4RC1BG9KR704818   Chrysler      PACIFICA             CLEVELAND                OH
57722   2C4RC1BG9KR704821   Chrysler      PACIFICA             CHICAGO                  IL
57723   2C4RC1BGXKR537143   Chrysler      PACIFICA             Dallas                   TX
57724   2C4RC1BGXKR537160   Chrysler      PACIFICA             PALM SPRINGS             CA
57725   2C4RC1BGXKR537191   Chrysler      PACIFICA             SACRAMENTO               CA
57726   2C4RC1BGXKR537210   Chrysler      PACIFICA             KNOXVILLE                TN
57727   2C4RC1BGXKR537238   Chrysler      PACIFICA             JACKSONVILLE             FL
57728   2C4RC1BGXKR537241   Chrysler      PACIFICA             Greensboro               NC
57729   2C4RC1BGXKR537272   Chrysler      PACIFICA             CLEVELAND                OH
57730   2C4RC1BGXKR537286   Chrysler      PACIFICA             MIAMI                    FL
57731   2C4RC1BGXKR537319   Chrysler      PACIFICA             MCALLEN                  TX
57732   2C4RC1BGXKR537353   Chrysler      PACIFICA             ALEXANDRIA               VA
57733   2C4RC1BGXKR537384   Chrysler      PACIFICA             PHOENIX                  AZ
57734   2C4RC1BGXKR537451   Chrysler      PACIFICA             Jacksonville             FL
57735   2C4RC1BGXKR537479   Chrysler      PACIFICA             DANIA BEACH              FL
57736   2C4RC1BGXKR537482   Chrysler      PACIFICA             Fontana                  CA
57737   2C4RC1BGXKR537496   Chrysler      PACIFICA             PHOENIX                  AZ
57738   2C4RC1BGXKR537501   Chrysler      PACIFICA             TAMPA                    FL
57739   2C4RC1BGXKR537529   Chrysler      PACIFICA             ORLANDO                  FL
57740   2C4RC1BGXKR537532   Chrysler      PACIFICA             CHARLOTTESVILLE          VA
57741   2C4RC1BGXKR537563   Chrysler      PACIFICA             North Dighton            MA
57742   2C4RC1BGXKR537580   Chrysler      PACIFICA             NASHVILLE                TN
57743   2C4RC1BGXKR537594   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
57744   2C4RC1BGXKR537627   Chrysler      PACIFICA             ORLANDO                  FL
57745   2C4RC1BGXKR537630   Chrysler      PACIFICA             North Dighton            MA
57746   2C4RC1BGXKR537658   Chrysler      PACIFICA             SACRAMENTO               CA
57747   2C4RC1BGXKR537708   Chrysler      PACIFICA             SARASOTA                 FL
57748   2C4RC1BGXKR537711   Chrysler      PACIFICA             Fontana                  CA
57749   2C4RC1BGXKR539281   Chrysler      PACIFICA             SAN DIEGO                CA
57750   2C4RC1BGXKR539295   Chrysler      PACIFICA             SAN FRANCISCO            CA
57751   2C4RC1BGXKR539300   Chrysler      PACIFICA             SANTA ANA                CA
57752   2C4RC1BGXKR539314   Chrysler      PACIFICA             Ocoee                    FL
57753   2C4RC1BGXKR539328   Chrysler      PACIFICA             Atlanta                  GA
57754   2C4RC1BGXKR539331   Chrysler      PACIFICA             Tolleson                 AZ
57755   2C4RC1BGXKR539345   Chrysler      PACIFICA             TRACY                    CA
57756   2C4RC1BGXKR539359   Chrysler      PACIFICA             Miami                    FL
57757   2C4RC1BGXKR539362   Chrysler      PACIFICA             PHILADELPHIA             US
57758   2C4RC1BGXKR539376   Chrysler      PACIFICA             RALIEGH                  NC
57759   2C4RC1BGXKR539393   Chrysler      PACIFICA             Greensboro               NC
57760   2C4RC1BGXKR539409   Chrysler      PACIFICA             MIAMI                    FL
57761   2C4RC1BGXKR539412   Chrysler      PACIFICA             STERLING                 VA
57762   2C4RC1BGXKR539426   Chrysler      PACIFICA             TAMPA                    FL
57763   2C4RC1BGXKR539457   Chrysler      PACIFICA             LAS VEGAS                NV
57764   2C4RC1BGXKR539460   Chrysler      PACIFICA             APPLETON                 WI
57765   2C4RC1BGXKR539491   Chrysler      PACIFICA             San Diego                CA
57766   2C4RC1BGXKR539572   Chrysler      PACIFICA             Elkridge                 MD
57767   2C4RC1BGXKR539667   Chrysler      PACIFICA             KNOXVILLE                TN
57768   2C4RC1BGXKR539684   Chrysler      PACIFICA             Albuquerque              NM
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57769   2C4RC1BGXKR539703   Chrysler      PACIFICA             Miami                    FL
57770   2C4RC1BGXKR539717   Chrysler      PACIFICA             SHREVEPORT               LA
57771   2C4RC1BGXKR539751   Chrysler      PACIFICA             SAN ANTONIO              TX
57772   2C4RC1BGXKR539765   Chrysler      PACIFICA             HOUSTON                  TX
57773   2C4RC1BGXKR539829   Chrysler      PACIFICA             SEATAC                   WA
57774   2C4RC1BGXKR539832   Chrysler      PACIFICA             Harvey                   LA
57775   2C4RC1BGXKR539975   Chrysler      PACIFICA             BOSTON                   MA
57776   2C4RC1BGXKR539989   Chrysler      PACIFICA             GREENVILLE               NC
57777   2C4RC1BGXKR539992   Chrysler      PACIFICA             DAYTONA BEACH            FL
57778   2C4RC1BGXKR540026   Chrysler      PACIFICA             WEST COLUMBIA            SC
57779   2C4RC1BGXKR540043   Chrysler      PACIFICA             LAS VEGAS                NV
57780   2C4RC1BGXKR540091   Chrysler      PACIFICA             Philadelphia             PA
57781   2C4RC1BGXKR540107   Chrysler      PACIFICA             NEWARK                   NJ
57782   2C4RC1BGXKR559885   Chrysler      PACIFICA             PALM SPRINGS             CA
57783   2C4RC1BGXKR559904   Chrysler      PACIFICA             Orlando                  FL
57784   2C4RC1BGXKR559921   Chrysler      PACIFICA             WEST PALM BEACH          FL
57785   2C4RC1BGXKR559935   Chrysler      PACIFICA             DENVER                   CO
57786   2C4RC1BGXKR559983   Chrysler      PACIFICA             PANAMA CITY              FL
57787   2C4RC1BGXKR559997   Chrysler      PACIFICA             INDIANAPOLIS             IN
57788   2C4RC1BGXKR560017   Chrysler      PACIFICA             Fontana                  CA
57789   2C4RC1BGXKR560048   Chrysler      PACIFICA             Elkridge                 MD
57790   2C4RC1BGXKR560079   Chrysler      PACIFICA             ORLANDO                  FL
57791   2C4RC1BGXKR560163   Chrysler      PACIFICA             PHOENIX                  AZ
57792   2C4RC1BGXKR560888   Chrysler      PACIFICA             PHOENIX                  AZ
57793   2C4RC1BGXKR560907   Chrysler      PACIFICA             LAS VEGAS                NV
57794   2C4RC1BGXKR560910   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57795   2C4RC1BGXKR560938   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57796   2C4RC1BGXKR560941   Chrysler      PACIFICA             Manheim                  PA
57797   2C4RC1BGXKR560955   Chrysler      PACIFICA             Ocoee                    FL
57798   2C4RC1BGXKR560972   Chrysler      PACIFICA             Avoca                    PA
57799   2C4RC1BGXKR561006   Chrysler      PACIFICA             ORLANDO                  FL
57800   2C4RC1BGXKR561023   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57801   2C4RC1BGXKR561040   Chrysler      PACIFICA             ORLANDO                  FL
57802   2C4RC1BGXKR561071   Chrysler      PACIFICA             FORT MYERS               FL
57803   2C4RC1BGXKR561085   Chrysler      PACIFICA             FORT MYERS               FL
57804   2C4RC1BGXKR561149   Chrysler      PACIFICA             ORLANDO                  FL
57805   2C4RC1BGXKR561166   Chrysler      PACIFICA             KENNER                   LA
57806   2C4RC1BGXKR581336   Chrysler      PACIFICA             ROANOKE                  VA
57807   2C4RC1BGXKR581384   Chrysler      PACIFICA             ORLANDO                  FL
57808   2C4RC1BGXKR581448   Chrysler      PACIFICA             MIAMI                    FL
57809   2C4RC1BGXKR581482   Chrysler      PACIFICA             ORLANDO                  FL
57810   2C4RC1BGXKR581501   Chrysler      PACIFICA             TAMPA                    FL
57811   2C4RC1BGXKR582826   Chrysler      PACIFICA             ORLANDO                  FL
57812   2C4RC1BGXKR582843   Chrysler      PACIFICA             TAMPA                    FL
57813   2C4RC1BGXKR582888   Chrysler      PACIFICA             TAMPA                    FL
57814   2C4RC1BGXKR582891   Chrysler      PACIFICA             NEW YORK CITY            NY
57815   2C4RC1BGXKR582907   Chrysler      PACIFICA             SALT LAKE CITY           US
57816   2C4RC1BGXKR582972   Chrysler      PACIFICA             JACKSONVILLE             FL
57817   2C4RC1BGXKR583023   Chrysler      PACIFICA             ORLANDO                  FL
57818   2C4RC1BGXKR583037   Chrysler      PACIFICA             ORLANDO                  FL
57819   2C4RC1BGXKR583040   Chrysler      PACIFICA             ORLANDO                  FL
57820   2C4RC1BGXKR583068   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57821   2C4RC1BGXKR596757   Chrysler      PACIFICA             SANTA ANA                CA
57822   2C4RC1BGXKR596774   Chrysler      PACIFICA             Tolleson                 AZ
57823   2C4RC1BGXKR596788   Chrysler      PACIFICA             ORLANDO                  FL
57824   2C4RC1BGXKR596824   Chrysler      PACIFICA             LOS ANGELES              CA
57825   2C4RC1BGXKR596838   Chrysler      PACIFICA             ORLANDO                  FL
57826   2C4RC1BGXKR596855   Chrysler      PACIFICA             WHITE PLAINS             NY
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57827   2C4RC1BGXKR596936   Chrysler      PACIFICA             Reno                     NV
57828   2C4RC1BGXKR596967   Chrysler      PACIFICA             EGG HARBOR TOWN          NJ
57829   2C4RC1BGXKR597018   Chrysler      PACIFICA             Miami                    FL
57830   2C4RC1BGXKR597035   Chrysler      PACIFICA             KENNER                   LA
57831   2C4RC1BGXKR597052   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57832   2C4RC1BGXKR597066   Chrysler      PACIFICA             MIAMI                    FL
57833   2C4RC1BGXKR597097   Chrysler      PACIFICA             ORLANDO                  FL
57834   2C4RC1BGXKR597164   Chrysler      PACIFICA             MILWAUKEE                WI
57835   2C4RC1BGXKR597178   Chrysler      PACIFICA             CORPUS CHRISTI           TX
57836   2C4RC1BGXKR597181   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57837   2C4RC1BGXKR597195   Chrysler      PACIFICA             SALT LAKE CITY           US
57838   2C4RC1BGXKR617140   Chrysler      PACIFICA             LAS VEGAS                NV
57839   2C4RC1BGXKR617154   Chrysler      PACIFICA             LAS VEGAS                NV
57840   2C4RC1BGXKR617199   Chrysler      PACIFICA             ST PAUL                  MN
57841   2C4RC1BGXKR624797   Chrysler      PACIFICA             BURBANK                  CA
57842   2C4RC1BGXKR624833   Chrysler      PACIFICA             SAN FRANCISCO            CA
57843   2C4RC1BGXKR624850   Chrysler      PACIFICA             PHOENIX                  AZ
57844   2C4RC1BGXKR624878   Chrysler      PACIFICA             INGLEWOOD                CA
57845   2C4RC1BGXKR624881   Chrysler      PACIFICA             Atlanta                  GA
57846   2C4RC1BGXKR624928   Chrysler      PACIFICA             Warr Acres               OK
57847   2C4RC1BGXKR624945   Chrysler      PACIFICA             MIAMI                    FL
57848   2C4RC1BGXKR624959   Chrysler      PACIFICA             LAS VEGAS                NV
57849   2C4RC1BGXKR625044   Chrysler      PACIFICA             FORT MYERS               FL
57850   2C4RC1BGXKR625058   Chrysler      PACIFICA             ORLANDO                  FL
57851   2C4RC1BGXKR625075   Chrysler      PACIFICA             MIAMI                    FL
57852   2C4RC1BGXKR625092   Chrysler      PACIFICA             Detroit                  MI
57853   2C4RC1BGXKR625125   Chrysler      PACIFICA             SOUTHEAST DST OFFC       OK
57854   2C4RC1BGXKR625139   Chrysler      PACIFICA             Statesville              NC
57855   2C4RC1BGXKR625187   Chrysler      PACIFICA             NORFOLK                  VA
57856   2C4RC1BGXKR625237   Chrysler      PACIFICA             SAN DIEGO                CA
57857   2C4RC1BGXKR625299   Chrysler      PACIFICA             SAINT LOUIS              MO
57858   2C4RC1BGXKR625321   Chrysler      PACIFICA             Chicago                  IL
57859   2C4RC1BGXKR625335   Chrysler      PACIFICA             LOS ANGELES              CA
57860   2C4RC1BGXKR625366   Chrysler      PACIFICA             ORLANDO                  FL
57861   2C4RC1BGXKR625464   Chrysler      PACIFICA             MARIETTA                 GA
57862   2C4RC1BGXKR625481   Chrysler      PACIFICA             SARASOTA                 FL
57863   2C4RC1BGXKR625528   Chrysler      PACIFICA             BURBANK                  CA
57864   2C4RC1BGXKR625559   Chrysler      PACIFICA             WEST PALM BEACH          FL
57865   2C4RC1BGXKR625576   Chrysler      PACIFICA             SAINT LOUIS              MO
57866   2C4RC1BGXKR625593   Chrysler      PACIFICA             SAN DIEGO                CA
57867   2C4RC1BGXKR625609   Chrysler      PACIFICA             LOS ANGELES              CA
57868   2C4RC1BGXKR625643   Chrysler      PACIFICA             PANAMA CITY              FL
57869   2C4RC1BGXKR625657   Chrysler      PACIFICA             EGG HARBOR TOWN          NJ
57870   2C4RC1BGXKR625660   Chrysler      PACIFICA             MIAMI                    FL
57871   2C4RC1BGXKR625707   Chrysler      PACIFICA             WEST PALM BEACH          FL
57872   2C4RC1BGXKR625805   Chrysler      PACIFICA             FORT LAUDERDALE          FL
57873   2C4RC1BGXKR625836   Chrysler      PACIFICA             Rockville Centr          NY
57874   2C4RC1BGXKR625853   Chrysler      PACIFICA             Philadelphia             PA
57875   2C4RC1BGXKR625867   Chrysler      PACIFICA             FORT MYERS               FL
57876   2C4RC1BGXKR625903   Chrysler      PACIFICA             Riverside                CA
57877   2C4RC1BGXKR625920   Chrysler      PACIFICA             SAINT LOUIS              MO
57878   2C4RC1BGXKR625951   Chrysler      PACIFICA             FORT MYERS               FL
57879   2C4RC1BGXKR625965   Chrysler      PACIFICA             WEST PALM BEACH          FL
57880   2C4RC1BGXKR625982   Chrysler      PACIFICA             EAST BOSTON              MA
57881   2C4RC1BGXKR626002   Chrysler      PACIFICA             WEST COLUMBIA            SC
57882   2C4RC1BGXKR626081   Chrysler      PACIFICA             Manheim                  PA
57883   2C4RC1BGXKR626128   Chrysler      PACIFICA             Atlanta                  GA
57884   2C4RC1BGXKR626131   Chrysler      PACIFICA             North Dighton            MA
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57885   2C4RC1BGXKR626159   Chrysler       PACIFICA            KENNESAW                  GA
57886   2C4RC1BGXKR626193   Chrysler       PACIFICA            Cleveland                 OH
57887   2C4RC1BGXKR626226   Chrysler       PACIFICA            MIAMI                     FL
57888   2C4RC1BGXKR626257   Chrysler       PACIFICA            PHOENIX                   AZ
57889   2C4RC1BGXKR626291   Chrysler       PACIFICA            HOUSTON                   TX
57890   2C4RC1BGXKR626307   Chrysler       PACIFICA            SAN FRANCISCO             CA
57891   2C4RC1BGXKR626338   Chrysler       PACIFICA            AUSTIN                    TX
57892   2C4RC1BGXKR626369   Chrysler       PACIFICA            MIAMI                     FL
57893   2C4RC1BGXKR626386   Chrysler       PACIFICA            SARASOTA                  FL
57894   2C4RC1BGXKR626467   Chrysler       PACIFICA            LOS ANGELES               CA
57895   2C4RC1BGXKR643673   Chrysler       PACIFICA            SACRAMENTO                CA
57896   2C4RC1BGXKR650039   Chrysler       PACIFICA            CLEVELAND                 OH
57897   2C4RC1BGXKR650042   Chrysler       PACIFICA            DALLAS                    TX
57898   2C4RC1BGXKR650087   Chrysler       PACIFICA            LAS VEGAS                 NV
57899   2C4RC1BGXKR650090   Chrysler       PACIFICA            SYRACUSE                  NY
57900   2C4RC1BGXKR650140   Chrysler       PACIFICA            LOUISVILLE                KY
57901   2C4RC1BGXKR650154   Chrysler       PACIFICA            Atlanta                   GA
57902   2C4RC1BGXKR650221   Chrysler       PACIFICA            PORTLAND                  ME
57903   2C4RC1BGXKR650249   Chrysler       PACIFICA            Warr Acres                OK
57904   2C4RC1BGXKR650283   Chrysler       PACIFICA            Denver                    CO
57905   2C4RC1BGXKR650297   Chrysler       PACIFICA            BOSTON                    MA
57906   2C4RC1BGXKR650316   Chrysler       PACIFICA            GRAND RAPIDS              MI
57907   2C4RC1BGXKR650333   Chrysler       PACIFICA            DENVER                    CO
57908   2C4RC1BGXKR650350   Chrysler       PACIFICA            DES PLAINES               US
57909   2C4RC1BGXKR650364   Chrysler       PACIFICA            TAMPA                     FL
57910   2C4RC1BGXKR650378   Chrysler       PACIFICA            SAINT LOUIS               MO
57911   2C4RC1BGXKR650381   Chrysler       PACIFICA            HOUSTON                   TX
57912   2C4RC1BGXKR650493   Chrysler       PACIFICA            Longmont                  CO
57913   2C4RC1BGXKR650512   Chrysler       PACIFICA            BUFFALO                   NY
57914   2C4RC1BGXKR650607   Chrysler       PACIFICA            ST PAUL                   MN
57915   2C4RC1BGXKR650655   Chrysler       PACIFICA            SAINT PAUL                MN
57916   2C4RC1BGXKR650719   Chrysler       PACIFICA            WEST PALM BEACH           FL
57917   2C4RC1BGXKR650767   Chrysler       PACIFICA            Stockton                  CA
57918   2C4RC1BGXKR650770   Chrysler       PACIFICA            FORT LAUDERDALE           FL
57919   2C4RC1BGXKR650798   Chrysler       PACIFICA            SALT LAKE CITY            UT
57920   2C4RC1BGXKR650817   Chrysler       PACIFICA            BOSTON                    MA
57921   2C4RC1BGXKR650820   Chrysler       PACIFICA            EL PASO                   TX
57922   2C4RC1BGXKR650834   Chrysler       PACIFICA            STERLING                  VA
57923   2C4RC1BGXKR650879   Chrysler       PACIFICA            SAN FRANCISCO             CA
57924   2C4RC1BGXKR650882   Chrysler       PACIFICA            FULLERTON                 CA
57925   2C4RC1BGXKR650946   Chrysler       PACIFICA            GRAND RAPIDS              MI
57926   2C4RC1BGXKR650963   Chrysler       PACIFICA            TUCSON                    AZ
57927   2C4RC1BGXKR650977   Chrysler       PACIFICA            PORTLAND                  OR
57928   2C4RC1BGXKR650980   Chrysler       PACIFICA            SEATAC                    WA
57929   2C4RC1BGXKR651000   Chrysler       PACIFICA            FORT LAUDERDALE           FL
57930   2C4RC1BGXKR651014   Chrysler       PACIFICA            Atlanta                   GA
57931   2C4RC1BGXKR651045   Chrysler       PACIFICA            MEMPHIS                   TN
57932   2C4RC1BGXKR651059   Chrysler       PACIFICA            WARWICK                   RI
57933   2C4RC1BGXKR651062   Chrysler       PACIFICA            TAMPA                     FL
57934   2C4RC1BGXKR651093   Chrysler       PACIFICA            Hebron                    KY
57935   2C4RC1BGXKR651109   Chrysler       PACIFICA            LAS VEGAS                 NV
57936   2C4RC1BGXKR651188   Chrysler       PACIFICA            ONTARIO                   CA
57937   2C4RC1BGXKR651191   Chrysler       PACIFICA            LOUISVILLE                KY
57938   2C4RC1BGXKR651207   Chrysler       PACIFICA            FORT LAUDERDALE           FL
57939   2C4RC1BGXKR651305   Chrysler       PACIFICA            SAINT PAUL                MN
57940   2C4RC1BGXKR651319   Chrysler       PACIFICA            PENSACOLA                 FL
57941   2C4RC1BGXKR651322   Chrysler       PACIFICA            DANIA BEACH               FL
57942   2C4RC1BGXKR651353   Chrysler       PACIFICA            SALT LAKE CITY            UT
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57943   2C4RC1BGXKR651367   Chrysler       PACIFICA            GREENVILLE                NC
57944   2C4RC1BGXKR651384   Chrysler       PACIFICA            LAUREL                    MD
57945   2C4RC1BGXKR651398   Chrysler       PACIFICA            PROVIDENCE                RI
57946   2C4RC1BGXKR651417   Chrysler       PACIFICA            DALLAS                    TX
57947   2C4RC1BGXKR651448   Chrysler       PACIFICA            ATLANTA                   GA
57948   2C4RC1BGXKR651451   Chrysler       PACIFICA            HARTFORD                  CT
57949   2C4RC1BGXKR651482   Chrysler       PACIFICA            FAYETTEVILLE              GA
57950   2C4RC1BGXKR651515   Chrysler       PACIFICA            SARASOTA                  FL
57951   2C4RC1BGXKR651577   Chrysler       PACIFICA            Davie                     FL
57952   2C4RC1BGXKR651580   Chrysler       PACIFICA            SEATAC                    WA
57953   2C4RC1BGXKR651661   Chrysler       PACIFICA            MILWAUKEE                 WI
57954   2C4RC1BGXKR651675   Chrysler       PACIFICA            CLEVELAND                 OH
57955   2C4RC1BGXKR651692   Chrysler       PACIFICA            GRAND RAPIDS              MI
57956   2C4RC1BGXKR651711   Chrysler       PACIFICA            ORLANDO                   FL
57957   2C4RC1BGXKR651725   Chrysler       PACIFICA            CHICAGO                   IL
57958   2C4RC1BGXKR651739   Chrysler       PACIFICA            BULLHEAD CITY             AZ
57959   2C4RC1BGXKR651787   Chrysler       PACIFICA            MILWAUKEE                 WI
57960   2C4RC1BGXKR651806   Chrysler       PACIFICA            PORTLAND                  OR
57961   2C4RC1BGXKR651837   Chrysler       PACIFICA            MELROSE PARK              IL
57962   2C4RC1BGXKR651854   Chrysler       PACIFICA            HANOVER                   MD
57963   2C4RC1BGXKR651868   Chrysler       PACIFICA            Caledonia                 WI
57964   2C4RC1BGXKR651918   Chrysler       PACIFICA            SAN DIEGO                 CA
57965   2C4RC1BGXKR651983   Chrysler       PACIFICA            SOUTH BEND                IN
57966   2C4RC1BGXKR651997   Chrysler       PACIFICA            ATLANTA                   GA
57967   2C4RC1BGXKR652034   Chrysler       PACIFICA            SAINT PAUL                MN
57968   2C4RC1BGXKR652079   Chrysler       PACIFICA            Statesville               NC
57969   2C4RC1BGXKR655032   Chrysler       PACIFICA            HOUSTON                   TX
57970   2C4RC1BGXKR655080   Chrysler       PACIFICA            OMAHA                     NE
57971   2C4RC1BGXKR655094   Chrysler       PACIFICA            PORTLAND                  OR
57972   2C4RC1BGXKR655144   Chrysler       PACIFICA            PORTLAND                  OR
57973   2C4RC1BGXKR657248   Chrysler       PACIFICA            STERLING                  VA
57974   2C4RC1BGXKR657282   Chrysler       PACIFICA            PALM SPRINGS              CA
57975   2C4RC1BGXKR657301   Chrysler       PACIFICA            SAN JOSE                  CA
57976   2C4RC1BGXKR665348   Chrysler       PACIFICA            LAS VEGAS                 NV
57977   2C4RC1BGXKR665365   Chrysler       PACIFICA            LOS ANGELES               CA
57978   2C4RC1BGXKR665379   Chrysler       PACIFICA            WEST PALM BEACH           FL
57979   2C4RC1BGXKR665415   Chrysler       PACIFICA            DETROIT                   MI
57980   2C4RC1BGXKR665527   Chrysler       PACIFICA            LAS VEGAS                 NV
57981   2C4RC1BGXKR665575   Chrysler       PACIFICA            SACRAMENTO                CA
57982   2C4RC1BGXKR665589   Chrysler       PACIFICA            LAS VEGAS                 NV
57983   2C4RC1BGXKR665687   Chrysler       PACIFICA            LOS ANGELES               CA
57984   2C4RC1BGXKR665706   Chrysler       PACIFICA            CHICAGO                   IL
57985   2C4RC1BGXKR665737   Chrysler       PACIFICA            WARWICK                   RI
57986   2C4RC1BGXKR665754   Chrysler       PACIFICA            KANSAS CITY               MO
57987   2C4RC1BGXKR665768   Chrysler       PACIFICA            LAS VEGAS                 NV
57988   2C4RC1BGXKR665804   Chrysler       PACIFICA            KENNER                    LA
57989   2C4RC1BGXKR665818   Chrysler       PACIFICA            NEWARK                    NJ
57990   2C4RC1BGXKR665849   Chrysler       PACIFICA            CHARLOTTE                 NC
57991   2C4RC1BGXKR665866   Chrysler       PACIFICA            AUSTIN                    TX
57992   2C4RC1BGXKR665883   Chrysler       PACIFICA            COLLEGE PARK              GA
57993   2C4RC1BGXKR665947   Chrysler       PACIFICA            ORLANDO                   FL
57994   2C4RC1BGXKR665964   Chrysler       PACIFICA            EPHRATA                   PA
57995   2C4RC1BGXKR666029   Chrysler       PACIFICA            NEW YORK CITY             NY
57996   2C4RC1BGXKR666046   Chrysler       PACIFICA            JOLIET                    IL
57997   2C4RC1BGXKR666063   Chrysler       PACIFICA            KANSAS CITY               MO
57998   2C4RC1BGXKR672980   Chrysler       PACIFICA            HOUSTON                   TX
57999   2C4RC1BGXKR672994   Chrysler       PACIFICA            FAYETTEVILLE              GA
58000   2C4RC1BGXKR673000   Chrysler       PACIFICA            TAMPA                     FL
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58001   2C4RC1BGXKR673045   Chrysler       PACIFICA            DES PLAINES               IL
58002   2C4RC1BGXKR673059   Chrysler       PACIFICA            KANSAS CITY               MO
58003   2C4RC1BGXKR673062   Chrysler       PACIFICA            HOUSTON                   TX
58004   2C4RC1BGXKR673076   Chrysler       PACIFICA            NEW YORK CITY             NY
58005   2C4RC1BGXKR673093   Chrysler       PACIFICA            ORANGE COUNTY             CA
58006   2C4RC1BGXKR673112   Chrysler       PACIFICA            MANCHESTER                US
58007   2C4RC1BGXKR673143   Chrysler       PACIFICA            WEST PALM BEACH           FL
58008   2C4RC1BGXKR673174   Chrysler       PACIFICA            PORTLAND                  ME
58009   2C4RC1BGXKR673191   Chrysler       PACIFICA            Hebron                    KY
58010   2C4RC1BGXKR673210   Chrysler       PACIFICA            FORT MYERS                FL
58011   2C4RC1BGXKR673238   Chrysler       PACIFICA            HOUSTON                   TX
58012   2C4RC1BGXKR673241   Chrysler       PACIFICA            SAN JOSE                  CA
58013   2C4RC1BGXKR673255   Chrysler       PACIFICA            CHICAGO                   IL
58014   2C4RC1BGXKR673269   Chrysler       PACIFICA            SPOKANE                   WA
58015   2C4RC1BGXKR680478   Chrysler       PACIFICA            SEATAC                    WA
58016   2C4RC1BGXKR680576   Chrysler       PACIFICA            Ocoee                     FL
58017   2C4RC1BGXKR680593   Chrysler       PACIFICA            TAMPA                     FL
58018   2C4RC1BGXKR680609   Chrysler       PACIFICA            FORT LAUDERDALE           FL
58019   2C4RC1BGXKR680660   Chrysler       PACIFICA            RENO                      NV
58020   2C4RC1BGXKR680691   Chrysler       PACIFICA            RENO                      NV
58021   2C4RC1BGXKR680724   Chrysler       PACIFICA            SEATAC                    WA
58022   2C4RC1BGXKR680819   Chrysler       PACIFICA            ORLANDO                   FL
58023   2C4RC1BGXKR680898   Chrysler       PACIFICA            LAS VEGAS                 NV
58024   2C4RC1BGXKR680903   Chrysler       PACIFICA            NORFOLK                   VA
58025   2C4RC1BGXKR680917   Chrysler       PACIFICA            SAINT PAUL                MN
58026   2C4RC1BGXKR680920   Chrysler       PACIFICA            STERLING                  VA
58027   2C4RC1BGXKR680951   Chrysler       PACIFICA            PORTLAND                  OR
58028   2C4RC1BGXKR680979   Chrysler       PACIFICA            LOS ANGELES               CA
58029   2C4RC1BGXKR681002   Chrysler       PACIFICA            JACKSON                   MS
58030   2C4RC1BGXKR685258   Chrysler       PACIFICA            RONKONKOMA                NY
58031   2C4RC1BGXKR685275   Chrysler       PACIFICA            JACKSON                   MS
58032   2C4RC1BGXKR685289   Chrysler       PACIFICA            DETROIT                   MI
58033   2C4RC1BGXKR685308   Chrysler       PACIFICA            Hebron                    KY
58034   2C4RC1BGXKR685311   Chrysler       PACIFICA            OKLAHOMA CITY             OK
58035   2C4RC1BGXKR685339   Chrysler       PACIFICA            CHICAGO                   IL
58036   2C4RC1BGXKR685356   Chrysler       PACIFICA            HOUSTON                   TX
58037   2C4RC1BGXKR685423   Chrysler       PACIFICA            DES MOINES                IA
58038   2C4RC1BGXKR685437   Chrysler       PACIFICA            ST Paul                   MN
58039   2C4RC1BGXKR685468   Chrysler       PACIFICA            RALEIGH                   NC
58040   2C4RC1BGXKR685471   Chrysler       PACIFICA            SAN JOSE                  CA
58041   2C4RC1BGXKR685485   Chrysler       PACIFICA            LOS ANGELES               CA
58042   2C4RC1BGXKR685499   Chrysler       PACIFICA            Leesburg                  VA
58043   2C4RC1BGXKR685504   Chrysler       PACIFICA            CHICAGO                   IL
58044   2C4RC1BGXKR685549   Chrysler       PACIFICA            TAMPA                     FL
58045   2C4RC1BGXKR685566   Chrysler       PACIFICA            DAYTON                    OH
58046   2C4RC1BGXKR685583   Chrysler       PACIFICA            PHILADELPHIA              PA
58047   2C4RC1BGXKR685616   Chrysler       PACIFICA            BROOKLYN                  NY
58048   2C4RC1BGXKR685633   Chrysler       PACIFICA            MEMPHIS                   TN
58049   2C4RC1BGXKR685647   Chrysler       PACIFICA            PHILADELPHIA              PA
58050   2C4RC1BGXKR685650   Chrysler       PACIFICA            ALBUQUERQUE               NM
58051   2C4RC1BGXKR685664   Chrysler       PACIFICA            CLEVELAND                 OH
58052   2C4RC1BGXKR685700   Chrysler       PACIFICA            Milwaukee                 WI
58053   2C4RC1BGXKR685728   Chrysler       PACIFICA            SYRACUSE                  NY
58054   2C4RC1BGXKR685731   Chrysler       PACIFICA            INDIANAPOLIS              IN
58055   2C4RC1BGXKR685745   Chrysler       PACIFICA            KANSAS CITY               MO
58056   2C4RC1BGXKR685776   Chrysler       PACIFICA            NEW BERN                  NC
58057   2C4RC1BGXKR685793   Chrysler       PACIFICA            Reno                      NV
58058   2C4RC1BGXKR685809   Chrysler       PACIFICA            WOODLAND HILLS            CA
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58059   2C4RC1BGXKR698267   Chrysler       PACIFICA            DALLAS                    TX
58060   2C4RC1BGXKR698284   Chrysler       PACIFICA            PHOENIX                   AZ
58061   2C4RC1BGXKR698303   Chrysler       PACIFICA            SEATAC                    WA
58062   2C4RC1BGXKR700535   Chrysler       PACIFICA            SACRAMENTO                CA
58063   2C4RC1BGXKR700549   Chrysler       PACIFICA            PHOENIX                   AZ
58064   2C4RC1BGXKR700552   Chrysler       PACIFICA            EL PASO                   TX
58065   2C4RC1BGXKR700566   Chrysler       PACIFICA            SAN FRANCISCO             CA
58066   2C4RC1BGXKR700695   Chrysler       PACIFICA            Phoenix                   AZ
58067   2C4RC1BGXKR700714   Chrysler       PACIFICA            NEWPORT BEACH             CA
58068   2C4RC1BGXKR700731   Chrysler       PACIFICA            Salt Lake City            UT
58069   2C4RC1BGXKR704679   Chrysler       PACIFICA            Teterboro                 NJ
58070   2C4RC1BGXKR704682   Chrysler       PACIFICA            INDIANAPOLIS              IN
58071   2C4RC1BGXKR704780   Chrysler       PACIFICA            CLEVELAND                 OH
58072   2C4RC1BGXKR704813   Chrysler       PACIFICA            GRAND RAPIDS              MI
58073   2C4RC1BGXKR704827   Chrysler       PACIFICA            WEST PALM BEACH           FL
58074   2C4RC1DGXJR129978   Chrysler       PACIFICA            JAMAICA                   NY
58075   2C4RC1GG0JR141195   Chrysler       PACIFICA            North Las Vegas           NV
58076   2C4RC1GG0JR141259   Chrysler       PACIFICA            Ft. Myers                 FL
58077   2C4RC1GG0JR141262   Chrysler       PACIFICA            Tampa                     FL
58078   2C4RC1GG0JR141343   Chrysler       PACIFICA            Greensboro                NC
58079   2C4RC1GG0JR141360   Chrysler       PACIFICA            DANIA BEACH               FL
58080   2C4RC1GG0JR170762   Chrysler       PACIFICA            Manheim                   PA
58081   2C4RC1GG0JR170874   Chrysler       PACIFICA            SAN DIEGO                 CA
58082   2C4RC1GG0JR185360   Chrysler       PACIFICA            Fontana                   CA
58083   2C4RC1GG0JR185441   Chrysler       PACIFICA            DAYTONA BEACH             FL
58084   2C4RC1GG0JR185472   Chrysler       PACIFICA            MIAMI                     FL
58085   2C4RC1GG0JR233021   Chrysler       PACIFICA            Plainfield                IN
58086   2C4RC1GG0JR245900   Chrysler       PACIFICA            ANCHORAGE                 AK
58087   2C4RC1GG0JR245914   Chrysler       PACIFICA            HILO                      HI
58088   2C4RC1GG0JR245928   Chrysler       PACIFICA            HILO                      HI
58089   2C4RC1GG0JR245931   Chrysler       PACIFICA            WAIMEA                    HI
58090   2C4RC1GG0JR245945   Chrysler       PACIFICA            KAILUA KONA               HI
58091   2C4RC1GG0JR268934   Chrysler       PACIFICA            Norwalk                   CA
58092   2C4RC1GG0JR268951   Chrysler       PACIFICA            Englewood                 CO
58093   2C4RC1GG0JR268979   Chrysler       PACIFICA            MONROE                    NC
58094   2C4RC1GG0JR269033   Chrysler       PACIFICA            Manheim                   PA
58095   2C4RC1GG0JR269176   Chrysler       PACIFICA            Manheim                   PA
58096   2C4RC1GG0JR269212   Chrysler       PACIFICA            Houston                   TX
58097   2C4RC1GG0JR272160   Chrysler       PACIFICA            Manheim                   PA
58098   2C4RC1GG0JR272272   Chrysler       PACIFICA            MILWAUKEE                 WI
58099   2C4RC1GG0JR272322   Chrysler       PACIFICA            Fontana                   CA
58100   2C4RC1GG0JR272417   Chrysler       PACIFICA            Atlanta                   GA
58101   2C4RC1GG0JR272434   Chrysler       PACIFICA            Dania                     FL
58102   2C4RC1GG0JR272482   Chrysler       PACIFICA            DENVER                    CO
58103   2C4RC1GG0JR273793   Chrysler       PACIFICA            Fontana                   CA
58104   2C4RC1GG0JR273809   Chrysler       PACIFICA            Davie                     FL
58105   2C4RC1GG0JR273910   Chrysler       PACIFICA            ALBANY                    N
58106   2C4RC1GG0JR273941   Chrysler       PACIFICA            PHOENIX                   AZ
58107   2C4RC1GG0JR273986   Chrysler       PACIFICA            COLLEGE PARK              GA
58108   2C4RC1GG0JR274054   Chrysler       PACIFICA            Sarasota                  FL
58109   2C4RC1GG0JR276113   Chrysler       PACIFICA            Manheim                   PA
58110   2C4RC1GG0JR314228   Chrysler       PACIFICA            BOSTON                    MA
58111   2C4RC1GG0JR314231   Chrysler       PACIFICA            LAS VEGAS                 NV
58112   2C4RC1GG0JR314259   Chrysler       PACIFICA            Denver                    CO
58113   2C4RC1GG0JR314326   Chrysler       PACIFICA            North Dighton             MA
58114   2C4RC1GG0JR314441   Chrysler       PACIFICA            Miami                     FL
58115   2C4RC1GG0JR314486   Chrysler       PACIFICA            DENVER                    CO
58116   2C4RC1GG0JR314570   Chrysler       PACIFICA            Manheim                   PA
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58117   2C4RC1GG0JR314617   Chrysler       PACIFICA            NEW BERN                  NC
58118   2C4RC1GG0JR314634   Chrysler       PACIFICA            MARIETTA                  GA
58119   2C4RC1GG0JR314682   Chrysler       PACIFICA            ORLANDO                   FL
58120   2C4RC1GG0JR314696   Chrysler       PACIFICA            LAS VEGAS                 NV
58121   2C4RC1GG0JR320238   Chrysler       PACIFICA            ANCHORAGE                 AK
58122   2C4RC1GG0JR320241   Chrysler       PACIFICA            ANCHORAGE                 AK
58123   2C4RC1GG0JR320305   Chrysler       PACIFICA            PALM SPRINGS              CA
58124   2C4RC1GG0JR320370   Chrysler       PACIFICA            Ocoee                     FL
58125   2C4RC1GG0JR320417   Chrysler       PACIFICA            North Dighton             MA
58126   2C4RC1GG0JR320434   Chrysler       PACIFICA            Statesville               NC
58127   2C4RC1GG0JR320482   Chrysler       PACIFICA            FORT LAUDERDALE           FL
58128   2C4RC1GG0JR320496   Chrysler       PACIFICA            STERLING                  VA
58129   2C4RC1GG0JR320501   Chrysler       PACIFICA            Sarasota                  FL
58130   2C4RC1GG0JR320515   Chrysler       PACIFICA            LAS VEGAS                 NV
58131   2C4RC1GG0JR320580   Chrysler       PACIFICA            Riverside                 CA
58132   2C4RC1GG0JR320594   Chrysler       PACIFICA            AUGUSTA                   GA
58133   2C4RC1GG0JR320627   Chrysler       PACIFICA            DAYTONA BEACH             FL
58134   2C4RC1GG0JR320630   Chrysler       PACIFICA            Cranberry Towns           PA
58135   2C4RC1GG0JR320658   Chrysler       PACIFICA            INDIANAPOLIS              IN
58136   2C4RC1GG0JR320739   Chrysler       PACIFICA            TAMPA                     FL
58137   2C4RC1GG0JR320742   Chrysler       PACIFICA            Statesville               NC
58138   2C4RC1GG0JR320840   Chrysler       PACIFICA            BIRMINGHAM                AL
58139   2C4RC1GG0JR330252   Chrysler       PACIFICA            FORT MYERS                FL
58140   2C4RC1GG0JR330266   Chrysler       PACIFICA            ORLANDO                   FL
58141   2C4RC1GG0LR123900   Chrysler       PACIFICA            Atlanta                   GA
58142   2C4RC1GG0LR124593   Chrysler       PACIFICA            Atlanta                   GA
58143   2C4RC1GG0LR124609   Chrysler       PACIFICA            ALBUQUERQUE               NM
58144   2C4RC1GG0LR124612   Chrysler       PACIFICA            PHOENIX                   AZ
58145   2C4RC1GG0LR125565   Chrysler       PACIFICA            SACRAMENTO                CA
58146   2C4RC1GG0LR127705   Chrysler       PACIFICA            HOLLY HILL                FL
58147   2C4RC1GG0LR127719   Chrysler       PACIFICA            Miami                     FL
58148   2C4RC1GG0LR127722   Chrysler       PACIFICA            PROVIDENCE                RI
58149   2C4RC1GG0LR127736   Chrysler       PACIFICA            TAMPA                     FL
58150   2C4RC1GG0LR127753   Chrysler       PACIFICA            Atlanta                   GA
58151   2C4RC1GG0LR127767   Chrysler       PACIFICA            Miami                     FL
58152   2C4RC1GG0LR127770   Chrysler       PACIFICA            FORT MYERS                FL
58153   2C4RC1GG0LR127784   Chrysler       PACIFICA            FORT LAUDERDALE           FL
58154   2C4RC1GG0LR127798   Chrysler       PACIFICA            ORLANDO                   FL
58155   2C4RC1GG0LR127803   Chrysler       PACIFICA            FORT MYERS                FL
58156   2C4RC1GG0LR127817   Chrysler       PACIFICA            SAINT LOUIS               MO
58157   2C4RC1GG0LR127820   Chrysler       PACIFICA            PHILADELPHIA              PA
58158   2C4RC1GG0LR127834   Chrysler       PACIFICA            MIAMI                     FL
58159   2C4RC1GG0LR127848   Chrysler       PACIFICA            TAMPA                     FL
58160   2C4RC1GG0LR127851   Chrysler       PACIFICA            MIAMI                     FL
58161   2C4RC1GG0LR127865   Chrysler       PACIFICA            MIAMI                     FL
58162   2C4RC1GG0LR127879   Chrysler       PACIFICA            HOUSTON                   TX
58163   2C4RC1GG0LR127882   Chrysler       PACIFICA            HOUSTON                   TX
58164   2C4RC1GG0LR130071   Chrysler       PACIFICA            DALLAS                    TX
58165   2C4RC1GG0LR136548   Chrysler       PACIFICA            Dallas                    TX
58166   2C4RC1GG0LR139756   Chrysler       PACIFICA            OKLAHOMA CITY             OK
58167   2C4RC1GG0LR139773   Chrysler       PACIFICA            Dallas                    TX
58168   2C4RC1GG0LR143631   Chrysler       PACIFICA            HOUSTON                   TX
58169   2C4RC1GG0LR151308   Chrysler       PACIFICA            SAN JOSE                  CA
58170   2C4RC1GG0LR151311   Chrysler       PACIFICA            LOS ANGELES               CA
58171   2C4RC1GG0LR151325   Chrysler       PACIFICA            Phoenix                   AZ
58172   2C4RC1GG0LR151339   Chrysler       PACIFICA            SAN ANTONIO               TX
58173   2C4RC1GG0LR151342   Chrysler       PACIFICA            Dallas                    TX
58174   2C4RC1GG0LR156153   Chrysler       PACIFICA            SOUTH BURLINGTO           VT
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58175   2C4RC1GG0LR156170   Chrysler       PACIFICA            KENNER                    LA
58176   2C4RC1GG0LR156217   Chrysler       PACIFICA            Atlanta                   GA
58177   2C4RC1GG0LR156220   Chrysler       PACIFICA            KNOXVILLE                 TN
58178   2C4RC1GG0LR156234   Chrysler       PACIFICA            MEMPHIS                   TN
58179   2C4RC1GG0LR156248   Chrysler       PACIFICA            KNOXVILLE                 TN
58180   2C4RC1GG0LR156265   Chrysler       PACIFICA            SYRACUSE                  NY
58181   2C4RC1GG0LR156279   Chrysler       PACIFICA            SALT LAKE CITY            UT
58182   2C4RC1GG0LR156282   Chrysler       PACIFICA            SAN DIEGO                 CA
58183   2C4RC1GG0LR156296   Chrysler       PACIFICA            SAN DIEGO                 CA
58184   2C4RC1GG0LR156315   Chrysler       PACIFICA            SANTA ANA                 CA
58185   2C4RC1GG0LR156329   Chrysler       PACIFICA            PHOENIX                   AZ
58186   2C4RC1GG0LR156363   Chrysler       PACIFICA            OAKLAND                   CA
58187   2C4RC1GG0LR156377   Chrysler       PACIFICA            FRESNO                    CA
58188   2C4RC1GG0LR156380   Chrysler       PACIFICA            DENVER                    CO
58189   2C4RC1GG0LR156394   Chrysler       PACIFICA            PORTLAND                  OR
58190   2C4RC1GG0LR156413   Chrysler       PACIFICA            ORANGE COUNTY             CA
58191   2C4RC1GG0LR156430   Chrysler       PACIFICA            BURBANK                   CA
58192   2C4RC1GG0LR156444   Chrysler       PACIFICA            belmont                   CA
58193   2C4RC1GG0LR156475   Chrysler       PACIFICA            LOS ANGELES               CA
58194   2C4RC1GG0LR156489   Chrysler       PACIFICA            HOUSTON                   TX
58195   2C4RC1GG0LR156508   Chrysler       PACIFICA            DALLAS                    TX
58196   2C4RC1GG0LR162891   Chrysler       PACIFICA            Hebron                    KY
58197   2C4RC1GG0LR162938   Chrysler       PACIFICA            ORLANDO                   FL
58198   2C4RC1GG0LR162955   Chrysler       PACIFICA            SYRACUSE                  NY
58199   2C4RC1GG0LR162969   Chrysler       PACIFICA            RALEIGH                   NC
58200   2C4RC1GG0LR162972   Chrysler       PACIFICA            PROVIDENCE                RI
58201   2C4RC1GG0LR163037   Chrysler       PACIFICA            INDIANAPOLIS              IN
58202   2C4RC1GG0LR171428   Chrysler       PACIFICA            MYRTLE BEACH              SC
58203   2C4RC1GG0LR171445   Chrysler       PACIFICA            CLEVELAND                 OH
58204   2C4RC1GG0LR171459   Chrysler       PACIFICA            DETROIT                   MI
58205   2C4RC1GG0LR171462   Chrysler       PACIFICA            DETROIT                   MI
58206   2C4RC1GG0LR171476   Chrysler       PACIFICA            FORT MYERS                FL
58207   2C4RC1GG0LR171493   Chrysler       PACIFICA            SAINT LOUIS               MO
58208   2C4RC1GG0LR171509   Chrysler       PACIFICA            NEW BERN                  NC
58209   2C4RC1GG0LR171512   Chrysler       PACIFICA            NEW BERN                  NC
58210   2C4RC1GG0LR181313   Chrysler       PACIFICA            BOSTON                    MA
58211   2C4RC1GG0LR185233   Chrysler       PACIFICA            JACKSONVILLE              FL
58212   2C4RC1GG0LR186995   Chrysler       PACIFICA            KNOXVILLE                 TN
58213   2C4RC1GG0LR187029   Chrysler       PACIFICA            DETROIT                   MI
58214   2C4RC1GG0LR187144   Chrysler       PACIFICA            STERLING                  VA
58215   2C4RC1GG0LR190111   Chrysler       PACIFICA            MEMPHIS                   TN
58216   2C4RC1GG0LR190125   Chrysler       PACIFICA            DETROIT                   MI
58217   2C4RC1GG0LR190206   Chrysler       PACIFICA            CHICAGO O'HARE AP         IL
58218   2C4RC1GG1JR141190   Chrysler       PACIFICA            Riverside                 CA
58219   2C4RC1GG1JR141206   Chrysler       PACIFICA            BURBANK                   CA
58220   2C4RC1GG1JR141335   Chrysler       PACIFICA            Davie                     FL
58221   2C4RC1GG1JR170785   Chrysler       PACIFICA            Manheim                   PA
58222   2C4RC1GG1JR170883   Chrysler       PACIFICA            Albuquerque               NM
58223   2C4RC1GG1JR185397   Chrysler       PACIFICA            Jacksonville              FL
58224   2C4RC1GG1JR185433   Chrysler       PACIFICA            DAYTONA BEACH             FL
58225   2C4RC1GG1JR185447   Chrysler       PACIFICA            ORLANDO                   FL
58226   2C4RC1GG1JR185450   Chrysler       PACIFICA            Davie                     FL
58227   2C4RC1GG1JR185545   Chrysler       PACIFICA            Ocoee                     FL
58228   2C4RC1GG1JR185688   Chrysler       PACIFICA            LAS VEGAS                 NV
58229   2C4RC1GG1JR210525   Chrysler       PACIFICA            DAYTONA BEACH             FL
58230   2C4RC1GG1JR226434   Chrysler       PACIFICA            Manheim                   PA
58231   2C4RC1GG1JR232945   Chrysler       PACIFICA            SAVANNAH                  GA
58232   2C4RC1GG1JR245906   Chrysler       PACIFICA            HILO                      HI
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58233   2C4RC1GG1JR245923   Chrysler       PACIFICA            HILO                      HI
58234   2C4RC1GG1JR245937   Chrysler       PACIFICA            KALAOA                    HI
58235   2C4RC1GG1JR245940   Chrysler       PACIFICA            KAILUA KONA               HI
58236   2C4RC1GG1JR245968   Chrysler       PACIFICA            Statesville               NC
58237   2C4RC1GG1JR245999   Chrysler       PACIFICA            Anaheim                   CA
58238   2C4RC1GG1JR251964   Chrysler       PACIFICA            Davie                     FL
58239   2C4RC1GG1JR268943   Chrysler       PACIFICA            FORT MYERS                FL
58240   2C4RC1GG1JR269011   Chrysler       PACIFICA            SAN JOSE                  CA
58241   2C4RC1GG1JR269025   Chrysler       PACIFICA            WEST PALM BEACH           FL
58242   2C4RC1GG1JR269042   Chrysler       PACIFICA            Orlando                   FL
58243   2C4RC1GG1JR269056   Chrysler       PACIFICA            DES PLAINES               US
58244   2C4RC1GG1JR269123   Chrysler       PACIFICA            ATLANTA                   GA
58245   2C4RC1GG1JR272233   Chrysler       PACIFICA            Davie                     FL
58246   2C4RC1GG1JR272295   Chrysler       PACIFICA            LAS VEGAS                 NV
58247   2C4RC1GG1JR272376   Chrysler       PACIFICA            Manheim                   PA
58248   2C4RC1GG1JR273771   Chrysler       PACIFICA            Fontana                   CA
58249   2C4RC1GG1JR274001   Chrysler       PACIFICA            TAMPA                     FL
58250   2C4RC1GG1JR274130   Chrysler       PACIFICA            PHILADELPHIA              PA
58251   2C4RC1GG1JR276072   Chrysler       PACIFICA            SOUTHEAST DST OFFC        OK
58252   2C4RC1GG1JR276086   Chrysler       PACIFICA            Greensboro                NC
58253   2C4RC1GG1JR276105   Chrysler       PACIFICA            MIAMI                     FL
58254   2C4RC1GG1JR314335   Chrysler       PACIFICA            Manheim                   PA
58255   2C4RC1GG1JR314433   Chrysler       PACIFICA            WEST PALM BEACH           FL
58256   2C4RC1GG1JR314447   Chrysler       PACIFICA            Newark                    NJ
58257   2C4RC1GG1JR314495   Chrysler       PACIFICA            MIAMI                     FL
58258   2C4RC1GG1JR314562   Chrysler       PACIFICA            Manheim                   PA
58259   2C4RC1GG1JR314576   Chrysler       PACIFICA            North Dighton             MA
58260   2C4RC1GG1JR314688   Chrysler       PACIFICA            Statesville               NC
58261   2C4RC1GG1JR314710   Chrysler       PACIFICA            ORLANDO                   FL
58262   2C4RC1GG1JR320233   Chrysler       PACIFICA            ANCHORAGE                 AK
58263   2C4RC1GG1JR320278   Chrysler       PACIFICA            Miami                     FL
58264   2C4RC1GG1JR320281   Chrysler       PACIFICA            DENVER                    CO
58265   2C4RC1GG1JR320460   Chrysler       PACIFICA            FORT MYERS                FL
58266   2C4RC1GG1JR320507   Chrysler       PACIFICA            Bordentown                NJ
58267   2C4RC1GG1JR320524   Chrysler       PACIFICA            Statesville               NC
58268   2C4RC1GG1JR320538   Chrysler       PACIFICA            WEST COLUMBIA             SC
58269   2C4RC1GG1JR320555   Chrysler       PACIFICA            ALBUQERQUE                NM
58270   2C4RC1GG1JR320569   Chrysler       PACIFICA            KANSAS CITY               MO
58271   2C4RC1GG1JR320605   Chrysler       PACIFICA            San Antonio               TX
58272   2C4RC1GG1JR320717   Chrysler       PACIFICA            Manheim                   PA
58273   2C4RC1GG1JR320720   Chrysler       PACIFICA            Orlando                   FL
58274   2C4RC1GG1JR320748   Chrysler       PACIFICA            ORLANDO                   FL
58275   2C4RC1GG1JR320751   Chrysler       PACIFICA            MIAMI                     FL
58276   2C4RC1GG1JR320765   Chrysler       PACIFICA            FORT MYERS                FL
58277   2C4RC1GG1JR320815   Chrysler       PACIFICA            DAYTONA BEACH             FL
58278   2C4RC1GG1JR320846   Chrysler       PACIFICA            OFALLON                   MO
58279   2C4RC1GG1JR330261   Chrysler       PACIFICA            INDIANAPOLIS              IN
58280   2C4RC1GG1LR123887   Chrysler       PACIFICA            BURBANK                   CA
58281   2C4RC1GG1LR123890   Chrysler       PACIFICA            South San Franc           CA
58282   2C4RC1GG1LR123906   Chrysler       PACIFICA            Atlanta                   GA
58283   2C4RC1GG1LR124599   Chrysler       PACIFICA            KENNER                    LA
58284   2C4RC1GG1LR124604   Chrysler       PACIFICA            KENNER                    LA
58285   2C4RC1GG1LR125560   Chrysler       PACIFICA            Los Angeles               CA
58286   2C4RC1GG1LR127714   Chrysler       PACIFICA            Atlanta                   GA
58287   2C4RC1GG1LR127728   Chrysler       PACIFICA            TAMPA                     FL
58288   2C4RC1GG1LR127731   Chrysler       PACIFICA            MIAMI                     FL
58289   2C4RC1GG1LR127745   Chrysler       PACIFICA            MIAMI                     FL
58290   2C4RC1GG1LR127759   Chrysler       PACIFICA            DES PLAINES               US
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58291   2C4RC1GG1LR127762   Chrysler       PACIFICA            FORT LAUDERDALE           FL
58292   2C4RC1GG1LR127776   Chrysler       PACIFICA            MIAMI                     FL
58293   2C4RC1GG1LR127793   Chrysler       PACIFICA            TAMPA                     FL
58294   2C4RC1GG1LR127809   Chrysler       PACIFICA            CHARLOTTE                 NC
58295   2C4RC1GG1LR127812   Chrysler       PACIFICA            Stone Mountain            GA
58296   2C4RC1GG1LR127826   Chrysler       PACIFICA            RONKONKOMA                NY
58297   2C4RC1GG1LR127843   Chrysler       PACIFICA            JACKSONVILLE              FL
58298   2C4RC1GG1LR127857   Chrysler       PACIFICA            TAMPA                     FL
58299   2C4RC1GG1LR127860   Chrysler       PACIFICA            BOISE                     US
58300   2C4RC1GG1LR127874   Chrysler       PACIFICA            BEAUMONT                  TX
58301   2C4RC1GG1LR127888   Chrysler       PACIFICA            OAKLAND                   CA
58302   2C4RC1GG1LR136543   Chrysler       PACIFICA            HOUSTON                   TX
58303   2C4RC1GG1LR136557   Chrysler       PACIFICA            Tulsa                     OK
58304   2C4RC1GG1LR136560   Chrysler       PACIFICA            JACKSONVILLE              FL
58305   2C4RC1GG1LR139748   Chrysler       PACIFICA            HOUSTON                   TX
58306   2C4RC1GG1LR139751   Chrysler       PACIFICA            HOUSTON                   TX
58307   2C4RC1GG1LR139765   Chrysler       PACIFICA            Des Moines                IA
58308   2C4RC1GG1LR151317   Chrysler       PACIFICA            PALM SPRINGS              CA
58309   2C4RC1GG1LR151320   Chrysler       PACIFICA            BURBANK                   CA
58310   2C4RC1GG1LR151334   Chrysler       PACIFICA            HOUSTON                   TX
58311   2C4RC1GG1LR156159   Chrysler       PACIFICA            DETROIT                   MI
58312   2C4RC1GG1LR156162   Chrysler       PACIFICA            WARWICK                   RI
58313   2C4RC1GG1LR156226   Chrysler       PACIFICA            MIAMI                     FL
58314   2C4RC1GG1LR156243   Chrysler       PACIFICA            BIRMINGHAM                AL
58315   2C4RC1GG1LR156257   Chrysler       PACIFICA            RONKONKOMA                NY
58316   2C4RC1GG1LR156260   Chrysler       PACIFICA            DAYTON                    OH
58317   2C4RC1GG1LR156274   Chrysler       PACIFICA            NEWARK                    NJ
58318   2C4RC1GG1LR156288   Chrysler       PACIFICA            LOS ANGELES               CA
58319   2C4RC1GG1LR156324   Chrysler       PACIFICA            LOS ANGELES               CA
58320   2C4RC1GG1LR156338   Chrysler       PACIFICA            LAS VEGAS                 NV
58321   2C4RC1GG1LR156341   Chrysler       PACIFICA            SAN DIEGO                 CA
58322   2C4RC1GG1LR156369   Chrysler       PACIFICA            LAS VEGAS                 NV
58323   2C4RC1GG1LR156372   Chrysler       PACIFICA            LOS ANGELES               CA
58324   2C4RC1GG1LR156386   Chrysler       PACIFICA            NORTH HILLS               CA
58325   2C4RC1GG1LR156405   Chrysler       PACIFICA            LOS ANGELES AP            CA
58326   2C4RC1GG1LR156419   Chrysler       PACIFICA            LAS VEGAS                 NV
58327   2C4RC1GG1LR156422   Chrysler       PACIFICA            PALM SPRINGS              CA
58328   2C4RC1GG1LR156436   Chrysler       PACIFICA            INGLEWOOD                 CA
58329   2C4RC1GG1LR156470   Chrysler       PACIFICA            PHOENIX                   AZ
58330   2C4RC1GG1LR156484   Chrysler       PACIFICA            HOUSTON                   TX
58331   2C4RC1GG1LR156498   Chrysler       PACIFICA            HOUSTON                   TX
58332   2C4RC1GG1LR156503   Chrysler       PACIFICA            AUSTIN                    TX
58333   2C4RC1GG1LR156517   Chrysler       PACIFICA            Phoenix                   AZ
58334   2C4RC1GG1LR162883   Chrysler       PACIFICA            KENNER                    LA
58335   2C4RC1GG1LR162947   Chrysler       PACIFICA            STERLING                  VA
58336   2C4RC1GG1LR162950   Chrysler       PACIFICA            STERLING                  VA
58337   2C4RC1GG1LR162981   Chrysler       PACIFICA            DETROIT                   MI
58338   2C4RC1GG1LR163015   Chrysler       PACIFICA            CHARLESTON                SC
58339   2C4RC1GG1LR163032   Chrysler       PACIFICA            PITTSBURGH                PA
58340   2C4RC1GG1LR163046   Chrysler       PACIFICA            WHITE PLAINS              NY
58341   2C4RC1GG1LR171406   Chrysler       PACIFICA            TAMPA                     FL
58342   2C4RC1GG1LR171440   Chrysler       PACIFICA            JACKSON                   MS
58343   2C4RC1GG1LR171454   Chrysler       PACIFICA            INDIANAPOLIS              IN
58344   2C4RC1GG1LR171499   Chrysler       PACIFICA            SAINT LOUIS               MO
58345   2C4RC1GG1LR175827   Chrysler       PACIFICA            KANSAS CITY               MO
58346   2C4RC1GG1LR181286   Chrysler       PACIFICA            ATLANTA                   GA
58347   2C4RC1GG1LR181305   Chrysler       PACIFICA            PHILADELPHIA              PA
58348   2C4RC1GG1LR184172   Chrysler       PACIFICA            DETROIT                   MI
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58349   2C4RC1GG1LR185211   Chrysler       PACIFICA            NEW ORLEANS               LA
58350   2C4RC1GG1LR185225   Chrysler       PACIFICA            NEW YORK CITY             NY
58351   2C4RC1GG1LR185239   Chrysler       PACIFICA            NEW YORK CITY             NY
58352   2C4RC1GG1LR187038   Chrysler       PACIFICA            KENNER                    LA
58353   2C4RC1GG1LR187041   Chrysler       PACIFICA            SAINT PAUL                MN
58354   2C4RC1GG1LR187055   Chrysler       PACIFICA            WARWICK                   RI
58355   2C4RC1GG1LR187072   Chrysler       PACIFICA            ROCHESTER                 NY
58356   2C4RC1GG1LR187086   Chrysler       PACIFICA            CHARLOTTE                 NC
58357   2C4RC1GG1LR187105   Chrysler       PACIFICA            KANSAS CITY               MO
58358   2C4RC1GG1LR187136   Chrysler       PACIFICA            MILWAUKEE                 WI
58359   2C4RC1GG1LR190196   Chrysler       PACIFICA            CHICAGO                   IL
58360   2C4RC1GG2JR141280   Chrysler       PACIFICA            DAVIE                     FL
58361   2C4RC1GG2JR141389   Chrysler       PACIFICA            Statesville               NC
58362   2C4RC1GG2JR170813   Chrysler       PACIFICA            Manheim                   PA
58363   2C4RC1GG2JR185621   Chrysler       PACIFICA            Fontana                   CA
58364   2C4RC1GG2JR226359   Chrysler       PACIFICA            MIAMI                     FL
58365   2C4RC1GG2JR232842   Chrysler       PACIFICA            Manheim                   PA
58366   2C4RC1GG2JR245915   Chrysler       PACIFICA            WAIMEA                    HI
58367   2C4RC1GG2JR245929   Chrysler       PACIFICA            Anaheim                   CA
58368   2C4RC1GG2JR245932   Chrysler       PACIFICA            KALAOA                    HI
58369   2C4RC1GG2JR245946   Chrysler       PACIFICA            HILO                      HI
58370   2C4RC1GG2JR245994   Chrysler       PACIFICA            ORLANDO                   FL
58371   2C4RC1GG2JR246031   Chrysler       PACIFICA            NORFOLK                   VA
58372   2C4RC1GG2JR268966   Chrysler       PACIFICA            Fresno                    CA
58373   2C4RC1GG2JR268997   Chrysler       PACIFICA            Manheim                   PA
58374   2C4RC1GG2JR269020   Chrysler       PACIFICA            San Diego                 CA
58375   2C4RC1GG2JR269177   Chrysler       PACIFICA            North Dighton             MA
58376   2C4RC1GG2JR269180   Chrysler       PACIFICA            Albuquerque               NM
58377   2C4RC1GG2JR269194   Chrysler       PACIFICA            SAN ANTONIO               TX
58378   2C4RC1GG2JR272127   Chrysler       PACIFICA            NEWPORT BEACH             CA
58379   2C4RC1GG2JR272239   Chrysler       PACIFICA            Ocoee                     FL
58380   2C4RC1GG2JR273858   Chrysler       PACIFICA            WEST PALM BEACH           FL
58381   2C4RC1GG2JR273911   Chrysler       PACIFICA            ORLANDO                   FL
58382   2C4RC1GG2JR273987   Chrysler       PACIFICA            ORLANDO                   FL
58383   2C4RC1GG2JR274072   Chrysler       PACIFICA            FORT MYERS                FL
58384   2C4RC1GG2JR274105   Chrysler       PACIFICA            HANOVER                   MD
58385   2C4RC1GG2JR276047   Chrysler       PACIFICA            Riverside                 CA
58386   2C4RC1GG2JR314229   Chrysler       PACIFICA            Ocoee                     FL
58387   2C4RC1GG2JR314263   Chrysler       PACIFICA            Carleton                  MI
58388   2C4RC1GG2JR314330   Chrysler       PACIFICA            Tampa                     FL
58389   2C4RC1GG2JR314490   Chrysler       PACIFICA            St. Louis                 MO
58390   2C4RC1GG2JR314554   Chrysler       PACIFICA            HOUSTON                   TX
58391   2C4RC1GG2JR314571   Chrysler       PACIFICA            MIAMI                     FL
58392   2C4RC1GG2JR314652   Chrysler       PACIFICA            TRACY                     CA
58393   2C4RC1GG2JR314683   Chrysler       PACIFICA            ATLANTA                   GA
58394   2C4RC1GG2JR320242   Chrysler       PACIFICA            Fairbanks                 AK
58395   2C4RC1GG2JR320323   Chrysler       PACIFICA            ALBUQUERQUE               NM
58396   2C4RC1GG2JR320354   Chrysler       PACIFICA            Fontana                   CA
58397   2C4RC1GG2JR320404   Chrysler       PACIFICA            NORFOLK                   US
58398   2C4RC1GG2JR320452   Chrysler       PACIFICA            DARLINGTON                SC
58399   2C4RC1GG2JR320564   Chrysler       PACIFICA            TRACY                     CA
58400   2C4RC1GG2JR320645   Chrysler       PACIFICA            SAN FRANCISCO             CA
58401   2C4RC1GG2JR320693   Chrysler       PACIFICA            Manheim                   PA
58402   2C4RC1GG2JR320743   Chrysler       PACIFICA            ALEXANDRIA                VA
58403   2C4RC1GG2JR320760   Chrysler       PACIFICA            Miami                     FL
58404   2C4RC1GG2JR320774   Chrysler       PACIFICA            WEST PALM BEACH           FL
58405   2C4RC1GG2JR320788   Chrysler       PACIFICA            TAMPA                     FL
58406   2C4RC1GG2JR320791   Chrysler       PACIFICA            ORLANDO                   FL
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58407   2C4RC1GG2JR320807   Chrysler       PACIFICA            TALLAHASSEE               FL
58408   2C4RC1GG2JR330270   Chrysler       PACIFICA            Fontana                   CA
58409   2C4RC1GG2LR123896   Chrysler       PACIFICA            SOUTH SAN FRANC           CA
58410   2C4RC1GG2LR123901   Chrysler       PACIFICA            Atlanta                   GA
58411   2C4RC1GG2LR124594   Chrysler       PACIFICA            Atlanta                   GA
58412   2C4RC1GG2LR124613   Chrysler       PACIFICA            ALBUQUERQUE               NM
58413   2C4RC1GG2LR125566   Chrysler       PACIFICA            ALBUQUERQUE               NM
58414   2C4RC1GG2LR127706   Chrysler       PACIFICA            ORLANDO                   FL
58415   2C4RC1GG2LR127737   Chrysler       PACIFICA            LOUISVILLE                KY
58416   2C4RC1GG2LR127740   Chrysler       PACIFICA            TAMPA                     FL
58417   2C4RC1GG2LR127754   Chrysler       PACIFICA            ORLANDO                   FL
58418   2C4RC1GG2LR127768   Chrysler       PACIFICA            Teterboro                 NJ
58419   2C4RC1GG2LR127771   Chrysler       PACIFICA            ORLANDO                   FL
58420   2C4RC1GG2LR127785   Chrysler       PACIFICA            FORT MYERS                FL
58421   2C4RC1GG2LR127799   Chrysler       PACIFICA            FORT LAUDERDALE           FL
58422   2C4RC1GG2LR127804   Chrysler       PACIFICA            WEST PALM BEACH           FL
58423   2C4RC1GG2LR127818   Chrysler       PACIFICA            AUGUSTA                   GA
58424   2C4RC1GG2LR127821   Chrysler       PACIFICA            NEW BERN                  NC
58425   2C4RC1GG2LR127835   Chrysler       PACIFICA            ORLANDO                   FL
58426   2C4RC1GG2LR127849   Chrysler       PACIFICA            ORLANDO                   FL
58427   2C4RC1GG2LR127852   Chrysler       PACIFICA            MIAMI                     FL
58428   2C4RC1GG2LR127866   Chrysler       PACIFICA            LAS VEGAS                 NV
58429   2C4RC1GG2LR127883   Chrysler       PACIFICA            SAN ANTONIO               TX
58430   2C4RC1GG2LR136549   Chrysler       PACIFICA            DALLAS                    TX
58431   2C4RC1GG2LR136552   Chrysler       PACIFICA            HOUSTON                   TX
58432   2C4RC1GG2LR139757   Chrysler       PACIFICA            HOUSTON                   TX
58433   2C4RC1GG2LR139760   Chrysler       PACIFICA            LUBBOCK                   TX
58434   2C4RC1GG2LR151309   Chrysler       PACIFICA            SANTA ANA                 CA
58435   2C4RC1GG2LR151312   Chrysler       PACIFICA            SANTA ANA                 CA
58436   2C4RC1GG2LR151343   Chrysler       PACIFICA            DENVER                    CO
58437   2C4RC1GG2LR151357   Chrysler       PACIFICA            PHOENIX                   AZ
58438   2C4RC1GG2LR156140   Chrysler       PACIFICA            Atlanta                   GA
58439   2C4RC1GG2LR156154   Chrysler       PACIFICA            SYRACUSE                  NY
58440   2C4RC1GG2LR156218   Chrysler       PACIFICA            PROVIDENCE                RI
58441   2C4RC1GG2LR156221   Chrysler       PACIFICA            ATLANTA                   GA
58442   2C4RC1GG2LR156235   Chrysler       PACIFICA            MEMPHIS                   TN
58443   2C4RC1GG2LR156249   Chrysler       PACIFICA            KNOXVILLE                 TN
58444   2C4RC1GG2LR156252   Chrysler       PACIFICA            NASHVILLE                 TN
58445   2C4RC1GG2LR156266   Chrysler       PACIFICA            CHARLESTON                WV
58446   2C4RC1GG2LR156283   Chrysler       PACIFICA            SPRINGFIELD               OH
58447   2C4RC1GG2LR156316   Chrysler       PACIFICA            LAS VEGAS                 NV
58448   2C4RC1GG2LR156333   Chrysler       PACIFICA            LA HABRA                  CA
58449   2C4RC1GG2LR156350   Chrysler       PACIFICA            LAS VEGAS                 NV
58450   2C4RC1GG2LR156364   Chrysler       PACIFICA            LOS ANGELES AP            CA
58451   2C4RC1GG2LR156395   Chrysler       PACIFICA            LOS ANGELES               CA
58452   2C4RC1GG2LR156400   Chrysler       PACIFICA            LAS VEGAS                 NV
58453   2C4RC1GG2LR156414   Chrysler       PACIFICA            LOS ANGELES               CA
58454   2C4RC1GG2LR156428   Chrysler       PACIFICA            LOS ANGELES AP            CA
58455   2C4RC1GG2LR156431   Chrysler       PACIFICA            LOS ANGELES AP            CA
58456   2C4RC1GG2LR156445   Chrysler       PACIFICA            LOS ANGELES               CA
58457   2C4RC1GG2LR156459   Chrysler       PACIFICA            PALM SPRINGS              CA
58458   2C4RC1GG2LR156462   Chrysler       PACIFICA            LOS ANGELES               CA
58459   2C4RC1GG2LR156493   Chrysler       PACIFICA            HOUSTON                   TX
58460   2C4RC1GG2LR156512   Chrysler       PACIFICA            TUCSON                    AZ
58461   2C4RC1GG2LR162875   Chrysler       PACIFICA            KENNER                    LA
58462   2C4RC1GG2LR162889   Chrysler       PACIFICA            KENNER                    LA
58463   2C4RC1GG2LR162892   Chrysler       PACIFICA            KNOXVILLE                 TN
58464   2C4RC1GG2LR162956   Chrysler       PACIFICA            BALTIMORE                 MD
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58465   2C4RC1GG2LR162987   Chrysler       PACIFICA            CHARLESTON                WV
58466   2C4RC1GG2LR162990   Chrysler       PACIFICA            PORTLAND                  ME
58467   2C4RC1GG2LR163010   Chrysler       PACIFICA            TULSA                     OK
58468   2C4RC1GG2LR163024   Chrysler       PACIFICA            NEWARK                    NJ
58469   2C4RC1GG2LR163038   Chrysler       PACIFICA            NEW BERN                  NC
58470   2C4RC1GG2LR171401   Chrysler       PACIFICA            WEST PALM BEACH           FL
58471   2C4RC1GG2LR171446   Chrysler       PACIFICA            CLEVELAND                 OH
58472   2C4RC1GG2LR171477   Chrysler       PACIFICA            DETROIT                   MI
58473   2C4RC1GG2LR171513   Chrysler       PACIFICA            NEWARK                    NJ
58474   2C4RC1GG2LR181278   Chrysler       PACIFICA            ORLANDO                   FL
58475   2C4RC1GG2LR184231   Chrysler       PACIFICA            RONKONKOMA                NY
58476   2C4RC1GG2LR185203   Chrysler       PACIFICA            WHITE PLAINS              NY
58477   2C4RC1GG2LR185217   Chrysler       PACIFICA            MEMPHIS                   TN
58478   2C4RC1GG2LR185234   Chrysler       PACIFICA            Atlanta                   GA
58479   2C4RC1GG2LR186996   Chrysler       PACIFICA            PHILADELPHIA              PA
58480   2C4RC1GG2LR187016   Chrysler       PACIFICA            GRAND RAPIDS              MI
58481   2C4RC1GG2LR187078   Chrysler       PACIFICA            STERLING                  VA
58482   2C4RC1GG2LR187145   Chrysler       PACIFICA            INDIANAPOLIS              IN
58483   2C4RC1GG2LR187159   Chrysler       PACIFICA            Atlanta                   GA
58484   2C4RC1GG2LR190112   Chrysler       PACIFICA            MEMPHIS                   TN
58485   2C4RC1GG2LR190157   Chrysler       PACIFICA            EL PASO                   TX
58486   2C4RC1GG2LR190188   Chrysler       PACIFICA            CHICAGO                   IL
58487   2C4RC1GG3JR141191   Chrysler       PACIFICA            Denver                    CO
58488   2C4RC1GG3JR141207   Chrysler       PACIFICA            BURBANK                   CA
58489   2C4RC1GG3JR164146   Chrysler       PACIFICA            Manheim                   PA
58490   2C4RC1GG3JR185319   Chrysler       PACIFICA            SAN FRANCISCO             CA
58491   2C4RC1GG3JR185367   Chrysler       PACIFICA            CERRITOS                  CA
58492   2C4RC1GG3JR185370   Chrysler       PACIFICA            Tolleson                  AZ
58493   2C4RC1GG3JR185398   Chrysler       PACIFICA            FORT LAUDERDALE           FL
58494   2C4RC1GG3JR185711   Chrysler       PACIFICA            Hayward                   CA
58495   2C4RC1GG3JR226449   Chrysler       PACIFICA            ORLANDO                   FL
58496   2C4RC1GG3JR232977   Chrysler       PACIFICA            SAINT PAUL                MN
58497   2C4RC1GG3JR245907   Chrysler       PACIFICA            KALAOA                    HI
58498   2C4RC1GG3JR245910   Chrysler       PACIFICA            HILO                      HI
58499   2C4RC1GG3JR245924   Chrysler       PACIFICA            HILO                      HI
58500   2C4RC1GG3JR245938   Chrysler       PACIFICA            HILO                      HI
58501   2C4RC1GG3JR245969   Chrysler       PACIFICA            INDIANAPOLIS              IN
58502   2C4RC1GG3JR251772   Chrysler       PACIFICA            ORLANDO                   FL
58503   2C4RC1GG3JR268989   Chrysler       PACIFICA            FORT MYERS                FL
58504   2C4RC1GG3JR269009   Chrysler       PACIFICA            Detroit                   MI
58505   2C4RC1GG3JR269057   Chrysler       PACIFICA            OAKLAND                   CA
58506   2C4RC1GG3JR269205   Chrysler       PACIFICA            DES PLAINES               US
58507   2C4RC1GG3JR269219   Chrysler       PACIFICA            Riverside                 CA
58508   2C4RC1GG3JR272153   Chrysler       PACIFICA            PHOENIX                   AZ
58509   2C4RC1GG3JR272184   Chrysler       PACIFICA            Newport Beach             CA
58510   2C4RC1GG3JR272220   Chrysler       PACIFICA            MIAMI                     FL
58511   2C4RC1GG3JR272251   Chrysler       PACIFICA            Smithtown                 NY
58512   2C4RC1GG3JR272427   Chrysler       PACIFICA            Dania                     FL
58513   2C4RC1GG3JR273867   Chrysler       PACIFICA            INDIANAPOLIS              IN
58514   2C4RC1GG3JR273898   Chrysler       PACIFICA            Miami                     FL
58515   2C4RC1GG3JR273903   Chrysler       PACIFICA            Manheim                   PA
58516   2C4RC1GG3JR273934   Chrysler       PACIFICA            TAMPA                     FL
58517   2C4RC1GG3JR273982   Chrysler       PACIFICA            Manheim                   PA
58518   2C4RC1GG3JR314255   Chrysler       PACIFICA            Fairburn                  GA
58519   2C4RC1GG3JR314384   Chrysler       PACIFICA            PHILADELPHIA              PA
58520   2C4RC1GG3JR314465   Chrysler       PACIFICA            ORLANDO                   FL
58521   2C4RC1GG3JR314529   Chrysler       PACIFICA            Fairburn                  GA
58522   2C4RC1GG3JR314644   Chrysler       PACIFICA            ANCHORAGE                 AK
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58523   2C4RC1GG3JR314689   Chrysler       PACIFICA            Sterling                  VA
58524   2C4RC1GG3JR320234   Chrysler       PACIFICA            ANCHORAGE                 AK
58525   2C4RC1GG3JR320265   Chrysler       PACIFICA            CERRITOS                  CA
58526   2C4RC1GG3JR320279   Chrysler       PACIFICA            DENVER                    CO
58527   2C4RC1GG3JR320315   Chrysler       PACIFICA            Fontana                   CA
58528   2C4RC1GG3JR320363   Chrysler       PACIFICA            Davie                     FL
58529   2C4RC1GG3JR320413   Chrysler       PACIFICA            SAN FRANCISCO             CA
58530   2C4RC1GG3JR320427   Chrysler       PACIFICA            Manheim                   PA
58531   2C4RC1GG3JR320539   Chrysler       PACIFICA            WEST PALM BEACH           FL
58532   2C4RC1GG3JR320542   Chrysler       PACIFICA            Manheim                   PA
58533   2C4RC1GG3JR320587   Chrysler       PACIFICA            Anaheim                   CA
58534   2C4RC1GG3JR320668   Chrysler       PACIFICA            Denver                    CO
58535   2C4RC1GG3JR320718   Chrysler       PACIFICA            SAN JOSE                  CA
58536   2C4RC1GG3JR320735   Chrysler       PACIFICA            PHOENIX                   AZ
58537   2C4RC1GG3JR320749   Chrysler       PACIFICA            Tampa                     FL
58538   2C4RC1GG3JR320766   Chrysler       PACIFICA            Greensboro                NC
58539   2C4RC1GG3JR320797   Chrysler       PACIFICA            BIRMINGHAM                AL
58540   2C4RC1GG3JR320864   Chrysler       PACIFICA            HOUSTON                   TX
58541   2C4RC1GG3JR330262   Chrysler       PACIFICA            WARWICK                   RI
58542   2C4RC1GG3JR365030   Chrysler       PACIFICA            Pasadena                  CA
58543   2C4RC1GG3LR123891   Chrysler       PACIFICA            BURBANK                   CA
58544   2C4RC1GG3LR124605   Chrysler       PACIFICA            KENNER                    LA
58545   2C4RC1GG3LR125561   Chrysler       PACIFICA            KENNER                    LA
58546   2C4RC1GG3LR127715   Chrysler       PACIFICA            FORT MYERS                FL
58547   2C4RC1GG3LR127729   Chrysler       PACIFICA            TULSA                     OK
58548   2C4RC1GG3LR127732   Chrysler       PACIFICA            MIAMI                     FL
58549   2C4RC1GG3LR127746   Chrysler       PACIFICA            GRAND RAPIDS              MI
58550   2C4RC1GG3LR127763   Chrysler       PACIFICA            PHOENIX                   AZ
58551   2C4RC1GG3LR127777   Chrysler       PACIFICA            ORLANDO                   FL
58552   2C4RC1GG3LR127780   Chrysler       PACIFICA            INDIANAPOLIS              IN
58553   2C4RC1GG3LR127794   Chrysler       PACIFICA            FORT LAUDERDALE           FL
58554   2C4RC1GG3LR127813   Chrysler       PACIFICA            ORLANDO                   FL
58555   2C4RC1GG3LR127827   Chrysler       PACIFICA            ORLANDO                   FL
58556   2C4RC1GG3LR127830   Chrysler       PACIFICA            ORLANDO                   FL
58557   2C4RC1GG3LR127844   Chrysler       PACIFICA            ORLANDO                   FL
58558   2C4RC1GG3LR127858   Chrysler       PACIFICA            ORLANDO                   FL
58559   2C4RC1GG3LR127861   Chrysler       PACIFICA            FORT MYERS                FL
58560   2C4RC1GG3LR127875   Chrysler       PACIFICA            SAN DIEGO                 CA
58561   2C4RC1GG3LR136544   Chrysler       PACIFICA            HOUSTON                   TX
58562   2C4RC1GG3LR136558   Chrysler       PACIFICA            HOUSTON                   TX
58563   2C4RC1GG3LR139749   Chrysler       PACIFICA            HOUSTON                   TX
58564   2C4RC1GG3LR139752   Chrysler       PACIFICA            BEAUMONT                  TX
58565   2C4RC1GG3LR139766   Chrysler       PACIFICA            Houston                   TX
58566   2C4RC1GG3LR151318   Chrysler       PACIFICA            WESTLAKE                  OH
58567   2C4RC1GG3LR151335   Chrysler       PACIFICA            HOUSTON                   TX
58568   2C4RC1GG3LR151349   Chrysler       PACIFICA            OKLAHOMA CITY             OK
58569   2C4RC1GG3LR156146   Chrysler       PACIFICA            FAYETTEVILLE              GA
58570   2C4RC1GG3LR156213   Chrysler       PACIFICA            NEW ORLEANS               LA
58571   2C4RC1GG3LR156227   Chrysler       PACIFICA            NEW ORLEANS               LA
58572   2C4RC1GG3LR156230   Chrysler       PACIFICA            COLLEGE PARK              GA
58573   2C4RC1GG3LR156244   Chrysler       PACIFICA            BIRMINGHAM                AL
58574   2C4RC1GG3LR156258   Chrysler       PACIFICA            JAMAICA                   NY
58575   2C4RC1GG3LR156261   Chrysler       PACIFICA            STERLING                  VA
58576   2C4RC1GG3LR156275   Chrysler       PACIFICA            STERLING                  VA
58577   2C4RC1GG3LR156308   Chrysler       PACIFICA            MONTEREY                  CA
58578   2C4RC1GG3LR156325   Chrysler       PACIFICA            EL PASO                   US
58579   2C4RC1GG3LR156339   Chrysler       PACIFICA            LAS VEGAS                 NV
58580   2C4RC1GG3LR156342   Chrysler       PACIFICA            LAS VEGAS                 NV
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58581   2C4RC1GG3LR156356   Chrysler       PACIFICA            LAS VEGAS                 NV
58582   2C4RC1GG3LR156390   Chrysler       PACIFICA            FRESNO                    CA
58583   2C4RC1GG3LR156406   Chrysler       PACIFICA            SAN DIEGO                 CA
58584   2C4RC1GG3LR156423   Chrysler       PACIFICA            JACKSON                   MS
58585   2C4RC1GG3LR156437   Chrysler       PACIFICA            LAS VEGAS                 NV
58586   2C4RC1GG3LR156440   Chrysler       PACIFICA            CHICAGO                   IL
58587   2C4RC1GG3LR156454   Chrysler       PACIFICA            LOS ANGELES               CA
58588   2C4RC1GG3LR156468   Chrysler       PACIFICA            SAN JOSE                  CA
58589   2C4RC1GG3LR156485   Chrysler       PACIFICA            DALLAS                    TX
58590   2C4RC1GG3LR156499   Chrysler       PACIFICA            HOUSTON                   TX
58591   2C4RC1GG3LR156504   Chrysler       PACIFICA            HOUSTON                   TX
58592   2C4RC1GG3LR162884   Chrysler       PACIFICA            KENNER                    LA
58593   2C4RC1GG3LR162898   Chrysler       PACIFICA            NEWARK                    NJ
58594   2C4RC1GG3LR162948   Chrysler       PACIFICA            STERLING                  VA
58595   2C4RC1GG3LR162951   Chrysler       PACIFICA            WARWICK                   RI
58596   2C4RC1GG3LR162965   Chrysler       PACIFICA            ATLANTA                   GA
58597   2C4RC1GG3LR162979   Chrysler       PACIFICA            TAMPA                     FL
58598   2C4RC1GG3LR162982   Chrysler       PACIFICA            PORTLAND                  ME
58599   2C4RC1GG3LR162996   Chrysler       PACIFICA            NEW YORK CITY             NY
58600   2C4RC1GG3LR163002   Chrysler       PACIFICA            RONKONKOMA                NY
58601   2C4RC1GG3LR163016   Chrysler       PACIFICA            NEW BERN                  NC
58602   2C4RC1GG3LR171424   Chrysler       PACIFICA            Flowood                   MS
58603   2C4RC1GG3LR171455   Chrysler       PACIFICA            Hebron                    KY
58604   2C4RC1GG3LR171469   Chrysler       PACIFICA            DETROIT                   MI
58605   2C4RC1GG3LR181290   Chrysler       PACIFICA            UNION CITY                GA
58606   2C4RC1GG3LR181323   Chrysler       PACIFICA            KENNER                    LA
58607   2C4RC1GG3LR184173   Chrysler       PACIFICA            DETROIT                   MI
58608   2C4RC1GG3LR185209   Chrysler       PACIFICA            NEWARK                    NJ
58609   2C4RC1GG3LR185212   Chrysler       PACIFICA            AUSTIN                    TX
58610   2C4RC1GG3LR185226   Chrysler       PACIFICA            BOSTON                    MA
58611   2C4RC1GG3LR186988   Chrysler       PACIFICA            Atlanta                   GA
58612   2C4RC1GG3LR187042   Chrysler       PACIFICA            GRAND RAPIDS              MI
58613   2C4RC1GG3LR187087   Chrysler       PACIFICA            BALTIMORE                 MD
58614   2C4RC1GG3LR187140   Chrysler       PACIFICA            CHICAGO                   IL
58615   2C4RC1GG3LR190118   Chrysler       PACIFICA            FT. LAUDERDALE            FL
58616   2C4RC1GG3LR190121   Chrysler       PACIFICA            DETROIT                   MI
58617   2C4RC1GG3LR190152   Chrysler       PACIFICA            ROANOKE                   VA
58618   2C4RC1GG3LR190202   Chrysler       PACIFICA            ORLANDO                   FL
58619   2C4RC1GG4JR141197   Chrysler       PACIFICA            St. Louis                 MO
58620   2C4RC1GG4JR141216   Chrysler       PACIFICA            TRACY                     CA
58621   2C4RC1GG4JR141393   Chrysler       PACIFICA            Davie                     FL
58622   2C4RC1GG4JR164155   Chrysler       PACIFICA            Manheim                   PA
58623   2C4RC1GG4JR164169   Chrysler       PACIFICA            BOSTON                    MA
58624   2C4RC1GG4JR170781   Chrysler       PACIFICA            Ft. Myers                 FL
58625   2C4RC1GG4JR170800   Chrysler       PACIFICA            ORLANDO                   FL
58626   2C4RC1GG4JR185569   Chrysler       PACIFICA            LAS VEGAS                 NV
58627   2C4RC1GG4JR185586   Chrysler       PACIFICA            Manheim                   PA
58628   2C4RC1GG4JR185619   Chrysler       PACIFICA            Ocoee                     FL
58629   2C4RC1GG4JR233152   Chrysler       PACIFICA            BALTIMORE                 MD
58630   2C4RC1GG4JR245902   Chrysler       PACIFICA            HILO                      HI
58631   2C4RC1GG4JR245916   Chrysler       PACIFICA            KALAOA                    HI
58632   2C4RC1GG4JR245933   Chrysler       PACIFICA            HILO                      HI
58633   2C4RC1GG4JR245947   Chrysler       PACIFICA            KALAOA                    HI
58634   2C4RC1GG4JR245950   Chrysler       PACIFICA            KAILUA‐KONA               HI
58635   2C4RC1GG4JR269004   Chrysler       PACIFICA            DAYTONA BEACH             FL
58636   2C4RC1GG4JR269083   Chrysler       PACIFICA            Ft. Myers                 FL
58637   2C4RC1GG4JR269181   Chrysler       PACIFICA            BOSTON                    MA
58638   2C4RC1GG4JR269214   Chrysler       PACIFICA            FORT LAUDERDALE           FL
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58639   2C4RC1GG4JR272159   Chrysler       PACIFICA            SEA TAC                   WA
58640   2C4RC1GG4JR272209   Chrysler       PACIFICA
58641   2C4RC1GG4JR272212   Chrysler       PACIFICA            WEST PALM BEACH           FL
58642   2C4RC1GG4JR272579   Chrysler       PACIFICA            Manheim                   PA
58643   2C4RC1GG4JR273828   Chrysler       PACIFICA            Davie                     FL
58644   2C4RC1GG4JR273926   Chrysler       PACIFICA            FORT MYERS                FL
58645   2C4RC1GG4JR274087   Chrysler       PACIFICA            North Las Vegas           NV
58646   2C4RC1GG4JR274090   Chrysler       PACIFICA            Fontana                   CA
58647   2C4RC1GG4JR314233   Chrysler       PACIFICA            TRACY                     CA
58648   2C4RC1GG4JR314264   Chrysler       PACIFICA            Fontana                   CA
58649   2C4RC1GG4JR314345   Chrysler       PACIFICA            Hamilton                  OH
58650   2C4RC1GG4JR314507   Chrysler       PACIFICA            Ft. Myers                 FL
58651   2C4RC1GG4JR314510   Chrysler       PACIFICA            WARWICK                   RI
58652   2C4RC1GG4JR314605   Chrysler       PACIFICA            ORLANDO                   FL
58653   2C4RC1GG4JR314684   Chrysler       PACIFICA            San Antonio               TX
58654   2C4RC1GG4JR320274   Chrysler       PACIFICA            Fontana                   CA
58655   2C4RC1GG4JR320405   Chrysler       PACIFICA            Palm Springs              CA
58656   2C4RC1GG4JR320453   Chrysler       PACIFICA            WEST PALM BEACH           FL
58657   2C4RC1GG4JR320484   Chrysler       PACIFICA            WEST PALM BEACH           FL
58658   2C4RC1GG4JR320520   Chrysler       PACIFICA            Newark                    NJ
58659   2C4RC1GG4JR320551   Chrysler       PACIFICA            Winter Park               FL
58660   2C4RC1GG4JR320565   Chrysler       PACIFICA            NEWPORT BEACH             CA
58661   2C4RC1GG4JR320579   Chrysler       PACIFICA            Fontana                   CA
58662   2C4RC1GG4JR320582   Chrysler       PACIFICA            Hendersonville            TN
58663   2C4RC1GG4JR320601   Chrysler       PACIFICA            SAN DIEGO                 CA
58664   2C4RC1GG4JR320615   Chrysler       PACIFICA            ONTARIO                   CA
58665   2C4RC1GG4JR320677   Chrysler       PACIFICA            FORT LAUDERDALE           FL
58666   2C4RC1GG4JR320694   Chrysler       PACIFICA            ATLANTA                   GA
58667   2C4RC1GG4JR320713   Chrysler       PACIFICA            North Dighton             MA
58668   2C4RC1GG4JR320808   Chrysler       PACIFICA            Ocoee                     FL
58669   2C4RC1GG4JR320842   Chrysler       PACIFICA            FORT LAUDERDALE           FL
58670   2C4RC1GG4JR320856   Chrysler       PACIFICA            DAYTONA BEACH             FL
58671   2C4RC1GG4JR330268   Chrysler       PACIFICA            Little Rock               AR
58672   2C4RC1GG4JR330271   Chrysler       PACIFICA            Phoenix                   AZ
58673   2C4RC1GG4LR123902   Chrysler       PACIFICA            Atlanta                   GA
58674   2C4RC1GG4LR124595   Chrysler       PACIFICA            KNOXVILLE                 TN
58675   2C4RC1GG4LR124600   Chrysler       PACIFICA            KENNER                    LA
58676   2C4RC1GG4LR125567   Chrysler       PACIFICA            OMAHA                     NE
58677   2C4RC1GG4LR125570   Chrysler       PACIFICA            albuquerque               nm
58678   2C4RC1GG4LR127724   Chrysler       PACIFICA            TAMPA                     FL
58679   2C4RC1GG4LR127738   Chrysler       PACIFICA            WHITE PLAINS              NY
58680   2C4RC1GG4LR127741   Chrysler       PACIFICA            SACRAMENTO                CA
58681   2C4RC1GG4LR127755   Chrysler       PACIFICA            JACKSONVILLE              FL
58682   2C4RC1GG4LR127769   Chrysler       PACIFICA            GRAND RAPIDS              MI
58683   2C4RC1GG4LR127772   Chrysler       PACIFICA            FORT LAUDERDALE           FL
58684   2C4RC1GG4LR127786   Chrysler       PACIFICA            CHARLESTON                SC
58685   2C4RC1GG4LR127805   Chrysler       PACIFICA            RALIEGH                   NC
58686   2C4RC1GG4LR127819   Chrysler       PACIFICA            FORT MYERS                FL
58687   2C4RC1GG4LR127822   Chrysler       PACIFICA            FORT LAUDERDALE           FL
58688   2C4RC1GG4LR127836   Chrysler       PACIFICA            ORLANDO                   FL
58689   2C4RC1GG4LR127853   Chrysler       PACIFICA            ORLANDO                   FL
58690   2C4RC1GG4LR127867   Chrysler       PACIFICA            NEW ORLEANS               LA
58691   2C4RC1GG4LR127870   Chrysler       PACIFICA            HOUSTON                   TX
58692   2C4RC1GG4LR127884   Chrysler       PACIFICA            HOUSTON                   TX
58693   2C4RC1GG4LR136553   Chrysler       PACIFICA            DALLAS                    TX
58694   2C4RC1GG4LR139758   Chrysler       PACIFICA            HOUSTON                   TX
58695   2C4RC1GG4LR139761   Chrysler       PACIFICA            EL PASO                   US
58696   2C4RC1GG4LR151313   Chrysler       PACIFICA            SANTA ANA                 CA
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58697   2C4RC1GG4LR151330   Chrysler       PACIFICA            SAN DIEGO                 CA
58698   2C4RC1GG4LR151344   Chrysler       PACIFICA            AUSTIN                    TX
58699   2C4RC1GG4LR151358   Chrysler       PACIFICA            PHOENIX                   AZ
58700   2C4RC1GG4LR156138   Chrysler       PACIFICA            Atlanta                   GA
58701   2C4RC1GG4LR156155   Chrysler       PACIFICA            DALLAS                    TX
58702   2C4RC1GG4LR156219   Chrysler       PACIFICA            ORLANDO                   FL
58703   2C4RC1GG4LR156222   Chrysler       PACIFICA            COLLEGE PARK              GA
58704   2C4RC1GG4LR156236   Chrysler       PACIFICA            MEMPHIS                   TN
58705   2C4RC1GG4LR156253   Chrysler       PACIFICA            Nashville                 TN
58706   2C4RC1GG4LR156267   Chrysler       PACIFICA            DENVER                    CO
58707   2C4RC1GG4LR156270   Chrysler       PACIFICA            WEST PALM BEACH           FL
58708   2C4RC1GG4LR156284   Chrysler       PACIFICA            TUCSON                    AZ
58709   2C4RC1GG4LR156320   Chrysler       PACIFICA            MANCHESTER                US
58710   2C4RC1GG4LR156334   Chrysler       PACIFICA            LAS VEGAS                 NV
58711   2C4RC1GG4LR156348   Chrysler       PACIFICA            AUSTIN                    TX
58712   2C4RC1GG4LR156351   Chrysler       PACIFICA            LAS VEGAS                 NV
58713   2C4RC1GG4LR156365   Chrysler       PACIFICA            SAN DIEGO                 CA
58714   2C4RC1GG4LR156379   Chrysler       PACIFICA            BURBANK                   CA
58715   2C4RC1GG4LR156382   Chrysler       PACIFICA            SAN DIEGO                 CA
58716   2C4RC1GG4LR156396   Chrysler       PACIFICA            SAN DIEGO                 CA
58717   2C4RC1GG4LR156401   Chrysler       PACIFICA            LOS ANGELES               CA
58718   2C4RC1GG4LR156415   Chrysler       PACIFICA            LOS ANGELES               CA
58719   2C4RC1GG4LR156429   Chrysler       PACIFICA            PHOENIX                   AZ
58720   2C4RC1GG4LR156432   Chrysler       PACIFICA            LOS ANGELES               CA
58721   2C4RC1GG4LR156446   Chrysler       PACIFICA            LAS VEGAS                 NV
58722   2C4RC1GG4LR156463   Chrysler       PACIFICA            LOS ANGELES               CA
58723   2C4RC1GG4LR156477   Chrysler       PACIFICA            LAS VEGAS                 NV
58724   2C4RC1GG4LR156480   Chrysler       PACIFICA            ORANGE COUNTY             CA
58725   2C4RC1GG4LR156494   Chrysler       PACIFICA            HOUSTON                   TX
58726   2C4RC1GG4LR162876   Chrysler       PACIFICA            NEW ORLEANS               LA
58727   2C4RC1GG4LR162893   Chrysler       PACIFICA            Teterboro                 NJ
58728   2C4RC1GG4LR162974   Chrysler       PACIFICA            PHILADELPHIA              PA
58729   2C4RC1GG4LR162988   Chrysler       PACIFICA            TAMPA                     FL
58730   2C4RC1GG4LR162991   Chrysler       PACIFICA            RONKONKOMA                NY
58731   2C4RC1GG4LR163008   Chrysler       PACIFICA            RONKONKOMA                NY
58732   2C4RC1GG4LR163011   Chrysler       PACIFICA            SAN DIEGO                 CA
58733   2C4RC1GG4LR163025   Chrysler       PACIFICA            NEWARK                    NJ
58734   2C4RC1GG4LR171416   Chrysler       PACIFICA            WHITE PLAINS              NY
58735   2C4RC1GG4LR171447   Chrysler       PACIFICA            NEWARK                    NJ
58736   2C4RC1GG4LR171450   Chrysler       PACIFICA            NEW BERN                  NC
58737   2C4RC1GG4LR171464   Chrysler       PACIFICA            DETROIT                   MI
58738   2C4RC1GG4LR171478   Chrysler       PACIFICA            Hebron                    KY
58739   2C4RC1GG4LR171495   Chrysler       PACIFICA            SAINT LOUIS               MO
58740   2C4RC1GG4LR171500   Chrysler       PACIFICA            SAINT LOUIS               MO
58741   2C4RC1GG4LR171514   Chrysler       PACIFICA            MOBILE                    A
58742   2C4RC1GG4LR181296   Chrysler       PACIFICA            PHILADELPHIA              PA
58743   2C4RC1GG4LR181301   Chrysler       PACIFICA            SAINT LOUIS               MO
58744   2C4RC1GG4LR185218   Chrysler       PACIFICA            Atlanta                   GA
58745   2C4RC1GG4LR185221   Chrysler       PACIFICA            PHILADELPHIA              PA
58746   2C4RC1GG4LR187003   Chrysler       PACIFICA            NEW BERN                  NC
58747   2C4RC1GG4LR187017   Chrysler       PACIFICA            SOUTH BEND                IN
58748   2C4RC1GG4LR187020   Chrysler       PACIFICA            ONTARIO                   CA
58749   2C4RC1GG4LR187034   Chrysler       PACIFICA            GRAND RAPIDS              MI
58750   2C4RC1GG4LR187065   Chrysler       PACIFICA            HARRISBURG                PA
58751   2C4RC1GG4LR187115   Chrysler       PACIFICA            PITTSBURGH                PA
58752   2C4RC1GG4LR190113   Chrysler       PACIFICA            MEMPHIS                   TN
58753   2C4RC1GG4LR190144   Chrysler       PACIFICA            AUSTIN                    TX
58754   2C4RC1GG4LR190161   Chrysler       PACIFICA            BOSTON                    MA
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58755   2C4RC1GG4LR190189   Chrysler       PACIFICA            DES PLAINES               US
58756   2C4RC1GG5JR141256   Chrysler       PACIFICA            PORTLAND                  OR
58757   2C4RC1GG5JR141273   Chrysler       PACIFICA            Manheim                   PA
58758   2C4RC1GG5JR141290   Chrysler       PACIFICA            MIAMI                     FL
58759   2C4RC1GG5JR141371   Chrysler       PACIFICA            Sarasota                  FL
58760   2C4RC1GG5JR170790   Chrysler       PACIFICA            Ventura                   CA
58761   2C4RC1GG5JR185340   Chrysler       PACIFICA            Hayward                   CA
58762   2C4RC1GG5JR185371   Chrysler       PACIFICA            Davie                     FL
58763   2C4RC1GG5JR185466   Chrysler       PACIFICA            ORLANDO                   FL
58764   2C4RC1GG5JR226176   Chrysler       PACIFICA            Matteson                  IL
58765   2C4RC1GG5JR226338   Chrysler       PACIFICA            ORLANDO                   FL
58766   2C4RC1GG5JR226534   Chrysler       PACIFICA            WEST PALM BEACH           FL
58767   2C4RC1GG5JR232821   Chrysler       PACIFICA            Ft. Myers                 FL
58768   2C4RC1GG5JR233144   Chrysler       PACIFICA            Ocoee                     FL
58769   2C4RC1GG5JR245908   Chrysler       PACIFICA            HILO                      HI
58770   2C4RC1GG5JR245911   Chrysler       PACIFICA            KAILUA KONA               HI
58771   2C4RC1GG5JR245925   Chrysler       PACIFICA            KALAOA                    HI
58772   2C4RC1GG5JR245939   Chrysler       PACIFICA            KAILUA‐KONA               HI
58773   2C4RC1GG5JR245942   Chrysler       PACIFICA            HILO                      HI
58774   2C4RC1GG5JR269058   Chrysler       PACIFICA            ORLANDO                   FL
58775   2C4RC1GG5JR269111   Chrysler       PACIFICA            Davie                     FL
58776   2C4RC1GG5JR269190   Chrysler       PACIFICA            NEWARK                    NJ
58777   2C4RC1GG5JR269223   Chrysler       PACIFICA            DENVER                    CO
58778   2C4RC1GG5JR272140   Chrysler       PACIFICA            Fontana                   CA
58779   2C4RC1GG5JR272204   Chrysler       PACIFICA            Ocoee                     FL
58780   2C4RC1GG5JR272221   Chrysler       PACIFICA            Denver                    CO
58781   2C4RC1GG5JR272235   Chrysler       PACIFICA            Fredericksburg            VA
58782   2C4RC1GG5JR272431   Chrysler       PACIFICA            Elkridge                  MD
58783   2C4RC1GG5JR272462   Chrysler       PACIFICA            DANIA BEACH               FL
58784   2C4RC1GG5JR272574   Chrysler       PACIFICA            MIAMI                     FL
58785   2C4RC1GG5JR272588   Chrysler       PACIFICA            Roseville                 CA
58786   2C4RC1GG5JR273787   Chrysler       PACIFICA            NORTH HILLS               CA
58787   2C4RC1GG5JR273790   Chrysler       PACIFICA            TAMPA                     FL
58788   2C4RC1GG5JR273921   Chrysler       PACIFICA            North Dighton             MA
58789   2C4RC1GG5JR273966   Chrysler       PACIFICA            PHOENIX                   AZ
58790   2C4RC1GG5JR274034   Chrysler       PACIFICA            Fountain                  CO
58791   2C4RC1GG5JR274051   Chrysler       PACIFICA            Atlanta                   GA
58792   2C4RC1GG5JR274132   Chrysler       PACIFICA            Sarasota                  FL
58793   2C4RC1GG5JR274177   Chrysler       PACIFICA            Greensboro                NC
58794   2C4RC1GG5JR293781   Chrysler       PACIFICA            FORT MYERS                FL
58795   2C4RC1GG5JR314225   Chrysler       PACIFICA            Fontana                   CA
58796   2C4RC1GG5JR314256   Chrysler       PACIFICA            Bridgeton                 MO
58797   2C4RC1GG5JR314435   Chrysler       PACIFICA            Davie                     FL
58798   2C4RC1GG5JR314466   Chrysler       PACIFICA            Richmond                  VA
58799   2C4RC1GG5JR314497   Chrysler       PACIFICA            HANOVER                   MD
58800   2C4RC1GG5JR314550   Chrysler       PACIFICA            WEST PALM BEACH           FL
58801   2C4RC1GG5JR314564   Chrysler       PACIFICA            Bordentown                NJ
58802   2C4RC1GG5JR314578   Chrysler       PACIFICA            Miami                     FL
58803   2C4RC1GG5JR314581   Chrysler       PACIFICA            Philadelphia              PA
58804   2C4RC1GG5JR314645   Chrysler       PACIFICA            FAIRBANKS                 AK
58805   2C4RC1GG5JR314659   Chrysler       PACIFICA            EAST BOSTON               MA
58806   2C4RC1GG5JR314662   Chrysler       PACIFICA            Manheim                   PA
58807   2C4RC1GG5JR314676   Chrysler       PACIFICA            Greensboro                NC
58808   2C4RC1GG5JR314709   Chrysler       PACIFICA            Parkville                 MD
58809   2C4RC1GG5JR320235   Chrysler       PACIFICA            ANCHORAGE                 AK
58810   2C4RC1GG5JR320249   Chrysler       PACIFICA            Ventura                   CA
58811   2C4RC1GG5JR320252   Chrysler       PACIFICA            Norwalk                   CA
58812   2C4RC1GG5JR320316   Chrysler       PACIFICA            MCALLEN                   TX
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58813   2C4RC1GG5JR320333   Chrysler       PACIFICA            SAN FRANCISCO             CA
58814   2C4RC1GG5JR320347   Chrysler       PACIFICA            Fontana                   CA
58815   2C4RC1GG5JR320400   Chrysler       PACIFICA            Fresno                    CA
58816   2C4RC1GG5JR320414   Chrysler       PACIFICA            Manheim                   PA
58817   2C4RC1GG5JR320509   Chrysler       PACIFICA            Tucson                    AZ
58818   2C4RC1GG5JR320543   Chrysler       PACIFICA            Manheim                   PA
58819   2C4RC1GG5JR320574   Chrysler       PACIFICA            Greensboro                NC
58820   2C4RC1GG5JR320591   Chrysler       PACIFICA            Anaheim                   CA
58821   2C4RC1GG5JR320669   Chrysler       PACIFICA            DENVER                    CO
58822   2C4RC1GG5JR320722   Chrysler       PACIFICA            RICHMOND                  VA
58823   2C4RC1GG5JR320736   Chrysler       PACIFICA            KNOXVILLE                 TN
58824   2C4RC1GG5JR320798   Chrysler       PACIFICA            TAMPA                     FL
58825   2C4RC1GG5JR320803   Chrysler       PACIFICA            FORT MYERS                FL
58826   2C4RC1GG5JR320820   Chrysler       PACIFICA            TAMPA                     FL
58827   2C4RC1GG5JR320834   Chrysler       PACIFICA            STERLING                  US
58828   2C4RC1GG5JR320851   Chrysler       PACIFICA            Warr Acres                OK
58829   2C4RC1GG5JR330246   Chrysler       PACIFICA            WEST PALM BEACH           FL
58830   2C4RC1GG5LR123892   Chrysler       PACIFICA            BURBANK                   CA
58831   2C4RC1GG5LR124606   Chrysler       PACIFICA            ALBUQUERQUE               NM
58832   2C4RC1GG5LR125562   Chrysler       PACIFICA            HARTFORD                  CT
58833   2C4RC1GG5LR127571   Chrysler       PACIFICA            TAMPA                     FL
58834   2C4RC1GG5LR127716   Chrysler       PACIFICA            MIAMI                     FL
58835   2C4RC1GG5LR127733   Chrysler       PACIFICA            TAMPA                     FL
58836   2C4RC1GG5LR127747   Chrysler       PACIFICA            ORLANDO                   FL
58837   2C4RC1GG5LR127750   Chrysler       PACIFICA            DANIA                     FL
58838   2C4RC1GG5LR127764   Chrysler       PACIFICA            ATLANTA                   GA
58839   2C4RC1GG5LR127778   Chrysler       PACIFICA            TAMPA                     FL
58840   2C4RC1GG5LR127781   Chrysler       PACIFICA            ORLANDO                   FL
58841   2C4RC1GG5LR127795   Chrysler       PACIFICA            ORLANDO                   FL
58842   2C4RC1GG5LR127800   Chrysler       PACIFICA            CHARLESTON                WV
58843   2C4RC1GG5LR127814   Chrysler       PACIFICA            DANIA BEACH               FL
58844   2C4RC1GG5LR127828   Chrysler       PACIFICA            ORLANDO                   FL
58845   2C4RC1GG5LR127831   Chrysler       PACIFICA            ORLANDO                   FL
58846   2C4RC1GG5LR127845   Chrysler       PACIFICA            JACKSONVILLE              FL
58847   2C4RC1GG5LR127859   Chrysler       PACIFICA            TAMPA                     FL
58848   2C4RC1GG5LR127862   Chrysler       PACIFICA            WEST PALM BEACH           FL
58849   2C4RC1GG5LR127876   Chrysler       PACIFICA            HOUSTON                   TX
58850   2C4RC1GG5LR136545   Chrysler       PACIFICA            HOUSTON                   TX
58851   2C4RC1GG5LR136559   Chrysler       PACIFICA            HOUSTON                   TX
58852   2C4RC1GG5LR139753   Chrysler       PACIFICA            SAN ANTONIO               TX
58853   2C4RC1GG5LR139767   Chrysler       PACIFICA            SAN ANTONIO               TX
58854   2C4RC1GG5LR139770   Chrysler       PACIFICA            PENSACOLA                 FL
58855   2C4RC1GG5LR151319   Chrysler       PACIFICA            SAN DIEGO                 CA
58856   2C4RC1GG5LR151336   Chrysler       PACIFICA            HOUSTON                   TX
58857   2C4RC1GG5LR156147   Chrysler       PACIFICA            Atlanta                   GA
58858   2C4RC1GG5LR156150   Chrysler       PACIFICA            TAMPA                     FL
58859   2C4RC1GG5LR156164   Chrysler       PACIFICA            DETROIT                   MI
58860   2C4RC1GG5LR156214   Chrysler       PACIFICA            JACKSONVILLE              FL
58861   2C4RC1GG5LR156228   Chrysler       PACIFICA            WEST PALM BEACH           FL
58862   2C4RC1GG5LR156231   Chrysler       PACIFICA            ATLANTA                   GA
58863   2C4RC1GG5LR156245   Chrysler       PACIFICA            HOUSTON                   TX
58864   2C4RC1GG5LR156259   Chrysler       PACIFICA            ROCHESTER                 NY
58865   2C4RC1GG5LR156262   Chrysler       PACIFICA            Atlanta                   GA
58866   2C4RC1GG5LR156276   Chrysler       PACIFICA            SANTA ANA                 CA
58867   2C4RC1GG5LR156293   Chrysler       PACIFICA            LOS ANGELES               CA
58868   2C4RC1GG5LR156343   Chrysler       PACIFICA            PALM SPRINGS              CA
58869   2C4RC1GG5LR156357   Chrysler       PACIFICA            LAS VEGAS                 NV
58870   2C4RC1GG5LR156360   Chrysler       PACIFICA            LOS ANGELES               CA
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58871   2C4RC1GG5LR156374   Chrysler       PACIFICA            LOS ANGELES AP            CA
58872   2C4RC1GG5LR156391   Chrysler       PACIFICA            LAS VEGAS                 NV
58873   2C4RC1GG5LR156407   Chrysler       PACIFICA            INGLEWOOD                 CA
58874   2C4RC1GG5LR156410   Chrysler       PACIFICA            LAS VEGAS                 NV
58875   2C4RC1GG5LR156438   Chrysler       PACIFICA            Raleigh                   NC
58876   2C4RC1GG5LR156441   Chrysler       PACIFICA            SANTA ANA                 CA
58877   2C4RC1GG5LR156469   Chrysler       PACIFICA            LOS ANGELES               CA
58878   2C4RC1GG5LR156472   Chrysler       PACIFICA            BURBANK                   CA
58879   2C4RC1GG5LR156486   Chrysler       PACIFICA            SAINT LOUIS               MO
58880   2C4RC1GG5LR156505   Chrysler       PACIFICA            AUSTIN                    TX
58881   2C4RC1GG5LR156519   Chrysler       PACIFICA            PHOENIX                   AZ
58882   2C4RC1GG5LR162871   Chrysler       PACIFICA            Atlanta                   GA
58883   2C4RC1GG5LR162949   Chrysler       PACIFICA            RALEIGH                   NC
58884   2C4RC1GG5LR162952   Chrysler       PACIFICA            STERLING                  VA
58885   2C4RC1GG5LR162966   Chrysler       PACIFICA            COLUMBIA                  SC
58886   2C4RC1GG5LR162983   Chrysler       PACIFICA            STERLING                  VA
58887   2C4RC1GG5LR163003   Chrysler       PACIFICA            CLEVELAND                 OH
58888   2C4RC1GG5LR163017   Chrysler       PACIFICA            Portland                  ME
58889   2C4RC1GG5LR163034   Chrysler       PACIFICA            KNOXVILLE                 TN
58890   2C4RC1GG5LR163048   Chrysler       PACIFICA            NEWARK                    NJ
58891   2C4RC1GG5LR171425   Chrysler       PACIFICA            JACKSON                   MS
58892   2C4RC1GG5LR171456   Chrysler       PACIFICA            CHICAGO                   IL
58893   2C4RC1GG5LR171473   Chrysler       PACIFICA            DETROIT                   MI
58894   2C4RC1GG5LR171487   Chrysler       PACIFICA            SAINT LOUIS               MO
58895   2C4RC1GG5LR171490   Chrysler       PACIFICA            SAINT LOUIS               MO
58896   2C4RC1GG5LR181274   Chrysler       PACIFICA            BOSTON                    MA
58897   2C4RC1GG5LR181288   Chrysler       PACIFICA            SARASOTA                  FL
58898   2C4RC1GG5LR181307   Chrysler       PACIFICA            PHILADELPHIA              US
58899   2C4RC1GG5LR184174   Chrysler       PACIFICA            DETROIT                   MI
58900   2C4RC1GG5LR184191   Chrysler       PACIFICA            NEW BERN                  NC
58901   2C4RC1GG5LR185213   Chrysler       PACIFICA            Atlanta                   GA
58902   2C4RC1GG5LR185230   Chrysler       PACIFICA            PHILADELPHIA              PA
58903   2C4RC1GG5LR187009   Chrysler       PACIFICA            CHARLOTTE                 NC
58904   2C4RC1GG5LR187026   Chrysler       PACIFICA            DETROIT                   MI
58905   2C4RC1GG5LR187043   Chrysler       PACIFICA            OKLAHOMA CITY             OK
58906   2C4RC1GG5LR187060   Chrysler       PACIFICA            HANOVER                   MD
58907   2C4RC1GG5LR187110   Chrysler       PACIFICA            PITTSBURGH                PA
58908   2C4RC1GG5LR187138   Chrysler       PACIFICA            DETROIT                   MI
58909   2C4RC1GG5LR190122   Chrysler       PACIFICA            GRAND RAPIDS              MI
58910   2C4RC1GG5LR190198   Chrysler       PACIFICA            CHICAGO                   IL
58911   2C4RC1GG6JR141296   Chrysler       PACIFICA            San Antonio               TX
58912   2C4RC1GG6JR141394   Chrysler       PACIFICA            Miami                     FL
58913   2C4RC1GG6JR164156   Chrysler       PACIFICA            Ocoee                     FL
58914   2C4RC1GG6JR170779   Chrysler       PACIFICA            MIAMI                     FL
58915   2C4RC1GG6JR172807   Chrysler       PACIFICA            FORT MYERS                FL
58916   2C4RC1GG6JR185363   Chrysler       PACIFICA            FORT MYERS                FL
58917   2C4RC1GG6JR185394   Chrysler       PACIFICA            DAYTONA BEACH             FL
58918   2C4RC1GG6JR185444   Chrysler       PACIFICA            Dania                     FL
58919   2C4RC1GG6JR185489   Chrysler       PACIFICA            Atlanta                   GA
58920   2C4RC1GG6JR185573   Chrysler       PACIFICA            Ventura                   CA
58921   2C4RC1GG6JR185623   Chrysler       PACIFICA            Atlanta                   GA
58922   2C4RC1GG6JR185752   Chrysler       PACIFICA            LOS ANGELES               CA
58923   2C4RC1GG6JR185766   Chrysler       PACIFICA            BRONX                     NY
58924   2C4RC1GG6JR226347   Chrysler       PACIFICA            FORT MYERS                FL
58925   2C4RC1GG6JR232908   Chrysler       PACIFICA            Manheim                   PA
58926   2C4RC1GG6JR233217   Chrysler       PACIFICA            WEST PALM BEACH           FL
58927   2C4RC1GG6JR245903   Chrysler       PACIFICA            KAILUA‐KONA               HI
58928   2C4RC1GG6JR245917   Chrysler       PACIFICA            KALAOA                    HI
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58929   2C4RC1GG6JR245920   Chrysler       PACIFICA            KAILUA‐KONA               HI
58930   2C4RC1GG6JR245934   Chrysler       PACIFICA            HILO                      HI
58931   2C4RC1GG6JR245948   Chrysler       PACIFICA            HILO                      HI
58932   2C4RC1GG6JR245951   Chrysler       PACIFICA            KALAOA                    HI
58933   2C4RC1GG6JR245982   Chrysler       PACIFICA            Warwick                   RI
58934   2C4RC1GG6JR246002   Chrysler       PACIFICA            NORFOLK                   VA
58935   2C4RC1GG6JR246016   Chrysler       PACIFICA            Hapeville                 GA
58936   2C4RC1GG6JR268923   Chrysler       PACIFICA            Elkridge                  MD
58937   2C4RC1GG6JR268954   Chrysler       PACIFICA            Fontana                   CA
58938   2C4RC1GG6JR269019   Chrysler       PACIFICA            Manheim                   PA
58939   2C4RC1GG6JR269036   Chrysler       PACIFICA            STERLING                  VA
58940   2C4RC1GG6JR269117   Chrysler       PACIFICA            Ocoee                     FL
58941   2C4RC1GG6JR269215   Chrysler       PACIFICA            Davie                     FL
58942   2C4RC1GG6JR272163   Chrysler       PACIFICA            Ocoee                     FL
58943   2C4RC1GG6JR272227   Chrysler       PACIFICA            SARASOTA                  FL
58944   2C4RC1GG6JR272230   Chrysler       PACIFICA            COLLEGE PARK              GA
58945   2C4RC1GG6JR272275   Chrysler       PACIFICA            North Dighton             MA
58946   2C4RC1GG6JR272289   Chrysler       PACIFICA            INDIANAPOLIS              IN
58947   2C4RC1GG6JR272518   Chrysler       PACIFICA            Ft. Myers                 FL
58948   2C4RC1GG6JR273765   Chrysler       PACIFICA            SALT LAKE CITY            UT
58949   2C4RC1GG6JR273782   Chrysler       PACIFICA            Fontana                   CA
58950   2C4RC1GG6JR273796   Chrysler       PACIFICA            ONTARIO                   CA
58951   2C4RC1GG6JR273815   Chrysler       PACIFICA            SEATAC                    WA
58952   2C4RC1GG6JR273832   Chrysler       PACIFICA            Santa Clara               CA
58953   2C4RC1GG6JR273863   Chrysler       PACIFICA            NEWARK                    NJ
58954   2C4RC1GG6JR273877   Chrysler       PACIFICA            Miami                     FL
58955   2C4RC1GG6JR273927   Chrysler       PACIFICA            FORT MYERS                FL
58956   2C4RC1GG6JR273989   Chrysler       PACIFICA            Atlanta                   GA
58957   2C4RC1GG6JR274057   Chrysler       PACIFICA            Hanover                   MD
58958   2C4RC1GG6JR274110   Chrysler       PACIFICA            Davie                     FL
58959   2C4RC1GG6JR274138   Chrysler       PACIFICA            Portland                  ME
58960   2C4RC1GG6JR276052   Chrysler       PACIFICA            PORTLAND                  OR
58961   2C4RC1GG6JR276083   Chrysler       PACIFICA            DAYTONA BEACH             FL
58962   2C4RC1GG6JR276102   Chrysler       PACIFICA            DAYTONA BEACH             FL
58963   2C4RC1GG6JR314220   Chrysler       PACIFICA            SAN ANTONIO               TX
58964   2C4RC1GG6JR314296   Chrysler       PACIFICA            Statesville               NC
58965   2C4RC1GG6JR314377   Chrysler       PACIFICA            Davie                     FL
58966   2C4RC1GG6JR314511   Chrysler       PACIFICA            JACKSONVILLE              FL
58967   2C4RC1GG6JR314525   Chrysler       PACIFICA            ORLANDO                   FL
58968   2C4RC1GG6JR314590   Chrysler       PACIFICA            OAKLAND                   CA
58969   2C4RC1GG6JR314640   Chrysler       PACIFICA            ANCHORAGE                 AK
58970   2C4RC1GG6JR314654   Chrysler       PACIFICA            Hayward                   CA
58971   2C4RC1GG6JR314671   Chrysler       PACIFICA            JACKSONVILLE              FL
58972   2C4RC1GG6JR314704   Chrysler       PACIFICA            ORLANDO                   FL
58973   2C4RC1GG6JR320258   Chrysler       PACIFICA            Riverside                 CA
58974   2C4RC1GG6JR320261   Chrysler       PACIFICA            Elkridge                  MD
58975   2C4RC1GG6JR320275   Chrysler       PACIFICA            Ventura                   CA
58976   2C4RC1GG6JR320308   Chrysler       PACIFICA            LOS ANGELES               CA
58977   2C4RC1GG6JR320311   Chrysler       PACIFICA            SARASOTA                  FL
58978   2C4RC1GG6JR320325   Chrysler       PACIFICA            LOS ANGELES               CA
58979   2C4RC1GG6JR320342   Chrysler       PACIFICA            DENVER                    CO
58980   2C4RC1GG6JR320373   Chrysler       PACIFICA            West Bountiful            UT
58981   2C4RC1GG6JR320390   Chrysler       PACIFICA            DENVER                    CO
58982   2C4RC1GG6JR320406   Chrysler       PACIFICA            DES PLAINES               US
58983   2C4RC1GG6JR320454   Chrysler       PACIFICA            North Dighton             MA
58984   2C4RC1GG6JR320504   Chrysler       PACIFICA            SAINT PAUL                MN
58985   2C4RC1GG6JR320549   Chrysler       PACIFICA            Hayward                   CA
58986   2C4RC1GG6JR320552   Chrysler       PACIFICA            North Dighton             MA
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58987   2C4RC1GG6JR320566   Chrysler       PACIFICA            CHICAGO                   IL
58988   2C4RC1GG6JR320633   Chrysler       PACIFICA            TAMPA                     FL
58989   2C4RC1GG6JR320650   Chrysler       PACIFICA            DENVER                    CO
58990   2C4RC1GG6JR320728   Chrysler       PACIFICA            Mira Loma                 CA
58991   2C4RC1GG6JR320762   Chrysler       PACIFICA            Ocoee                     FL
58992   2C4RC1GG6JR320809   Chrysler       PACIFICA            WEST PALM BEACH           FL
58993   2C4RC1GG6JR320812   Chrysler       PACIFICA            KNOXVILLE                 TN
58994   2C4RC1GG6JR320826   Chrysler       PACIFICA            SOUTHEAST DST OFFC        OK
58995   2C4RC1GG6JR320843   Chrysler       PACIFICA            FORT MYERS                FL
58996   2C4RC1GG6LR123884   Chrysler       PACIFICA            BURBANK                   CA
58997   2C4RC1GG6LR123898   Chrysler       PACIFICA            Union City                GA
58998   2C4RC1GG6LR123903   Chrysler       PACIFICA            Atlanta                   GA
58999   2C4RC1GG6LR124596   Chrysler       PACIFICA            BURBANK                   CA
59000   2C4RC1GG6LR124601   Chrysler       PACIFICA            KNOXVILLE                 TN
59001   2C4RC1GG6LR125568   Chrysler       PACIFICA            DALLAS                    TX
59002   2C4RC1GG6LR127708   Chrysler       PACIFICA            PORTLAND                  ME
59003   2C4RC1GG6LR127711   Chrysler       PACIFICA            FORT MYERS                FL
59004   2C4RC1GG6LR127725   Chrysler       PACIFICA            ORLANDO                   FL
59005   2C4RC1GG6LR127739   Chrysler       PACIFICA            ORLANDO                   FL
59006   2C4RC1GG6LR127742   Chrysler       PACIFICA            BOSTON, LOGAN AP          MA
59007   2C4RC1GG6LR127756   Chrysler       PACIFICA            ORLANDO                   FL
59008   2C4RC1GG6LR127773   Chrysler       PACIFICA            FORT LAUDERDALE           FL
59009   2C4RC1GG6LR127787   Chrysler       PACIFICA            GRAND RAPIDS              MI
59010   2C4RC1GG6LR127790   Chrysler       PACIFICA            ORLANDO                   FL
59011   2C4RC1GG6LR127806   Chrysler       PACIFICA            ORLANDO                   FL
59012   2C4RC1GG6LR127823   Chrysler       PACIFICA            Miami                     FL
59013   2C4RC1GG6LR127837   Chrysler       PACIFICA            WEST COLUMBIA             SC
59014   2C4RC1GG6LR127840   Chrysler       PACIFICA            KANSAS CITY               MO
59015   2C4RC1GG6LR127854   Chrysler       PACIFICA            SARASOTA                  FL
59016   2C4RC1GG6LR127868   Chrysler       PACIFICA            FORT LAUDERDALE           FL
59017   2C4RC1GG6LR127871   Chrysler       PACIFICA            FORT LAUDERDALE           FL
59018   2C4RC1GG6LR127885   Chrysler       PACIFICA            DETROIT                   MI
59019   2C4RC1GG6LR136537   Chrysler       PACIFICA            TAMPA                     FL
59020   2C4RC1GG6LR136540   Chrysler       PACIFICA            HOUSTON                   TX
59021   2C4RC1GG6LR136554   Chrysler       PACIFICA            HOUSTON                   TX
59022   2C4RC1GG6LR139745   Chrysler       PACIFICA            FORT LAUDERDALE           FL
59023   2C4RC1GG6LR139759   Chrysler       PACIFICA            SAN ANTONIO               TX
59024   2C4RC1GG6LR139762   Chrysler       PACIFICA            KENNER                    LA
59025   2C4RC1GG6LR151314   Chrysler       PACIFICA            INGLEWOOD                 CA
59026   2C4RC1GG6LR151345   Chrysler       PACIFICA            OKLAHOMA CITY             OK
59027   2C4RC1GG6LR156139   Chrysler       PACIFICA            Atlanta                   GA
59028   2C4RC1GG6LR156142   Chrysler       PACIFICA            Atlanta                   GA
59029   2C4RC1GG6LR156156   Chrysler       PACIFICA            NEW BERN                  NC
59030   2C4RC1GG6LR156223   Chrysler       PACIFICA            PENSACOLA                 FL
59031   2C4RC1GG6LR156237   Chrysler       PACIFICA            MEMPHIS                   TN
59032   2C4RC1GG6LR156240   Chrysler       PACIFICA            LOUISVILLE                KY
59033   2C4RC1GG6LR156254   Chrysler       PACIFICA            KNOXVILLE                 TN
59034   2C4RC1GG6LR156268   Chrysler       PACIFICA            RALEIGH                   NC
59035   2C4RC1GG6LR156271   Chrysler       PACIFICA            FORT LAUDERDALE           FL
59036   2C4RC1GG6LR156285   Chrysler       PACIFICA            BURBANK                   CA
59037   2C4RC1GG6LR156318   Chrysler       PACIFICA            LAS VEGAS                 NV
59038   2C4RC1GG6LR156321   Chrysler       PACIFICA            SACRAMENTO                CA
59039   2C4RC1GG6LR156335   Chrysler       PACIFICA            DES MOINES                IA
59040   2C4RC1GG6LR156349   Chrysler       PACIFICA            CHICAGO                   IL
59041   2C4RC1GG6LR156352   Chrysler       PACIFICA            LOS ANGELES               CA
59042   2C4RC1GG6LR156366   Chrysler       PACIFICA            LOS ANGELES               CA
59043   2C4RC1GG6LR156383   Chrysler       PACIFICA            ORANGE COUNTY             CA
59044   2C4RC1GG6LR156397   Chrysler       PACIFICA            DENVER                    CO
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59045   2C4RC1GG6LR156416   Chrysler       PACIFICA            SACRAMENTO                CA
59046   2C4RC1GG6LR156447   Chrysler       PACIFICA            LOS ANGELES               CA
59047   2C4RC1GG6LR156464   Chrysler       PACIFICA            LOS ANGELES               CA
59048   2C4RC1GG6LR156478   Chrysler       PACIFICA            SAN DIEGO                 CA
59049   2C4RC1GG6LR156481   Chrysler       PACIFICA            ORANGE COUNTY             CA
59050   2C4RC1GG6LR156495   Chrysler       PACIFICA            HOUSTON                   TX
59051   2C4RC1GG6LR156500   Chrysler       PACIFICA            HOUSTON                   TX
59052   2C4RC1GG6LR156514   Chrysler       PACIFICA            KNOXVILLE                 TN
59053   2C4RC1GG6LR162877   Chrysler       PACIFICA            GYPSUM                    CO
59054   2C4RC1GG6LR162944   Chrysler       PACIFICA            DETROIT                   MI
59055   2C4RC1GG6LR162975   Chrysler       PACIFICA            CHARLESTON                SC
59056   2C4RC1GG6LR162992   Chrysler       PACIFICA            RALEIGH                   NC
59057   2C4RC1GG6LR163009   Chrysler       PACIFICA            NEWARK                    NJ
59058   2C4RC1GG6LR163026   Chrysler       PACIFICA            MIAMI                     FL
59059   2C4RC1GG6LR163043   Chrysler       PACIFICA            NEWARK                    NJ
59060   2C4RC1GG6LR171398   Chrysler       PACIFICA            OKLAHOMA CITY             OK
59061   2C4RC1GG6LR171434   Chrysler       PACIFICA            JACKSON                   MS
59062   2C4RC1GG6LR171448   Chrysler       PACIFICA            CLEVELAND                 OH
59063   2C4RC1GG6LR171451   Chrysler       PACIFICA            CLEVELAND                 OH
59064   2C4RC1GG6LR171465   Chrysler       PACIFICA            DETROIT                   MI
59065   2C4RC1GG6LR171479   Chrysler       PACIFICA            GRAND RAPIDS              MI
59066   2C4RC1GG6LR171482   Chrysler       PACIFICA            WILMINGTON                NC
59067   2C4RC1GG6LR171501   Chrysler       PACIFICA            INDIANAPOLIS              IN
59068   2C4RC1GG6LR171529   Chrysler       PACIFICA            BOSTON                    MA
59069   2C4RC1GG6LR185236   Chrysler       PACIFICA            CHICAGO                   IL
59070   2C4RC1GG6LR186998   Chrysler       PACIFICA            PORTLAND                  ME
59071   2C4RC1GG6LR187004   Chrysler       PACIFICA            PHILADELPHIA              PA
59072   2C4RC1GG6LR187021   Chrysler       PACIFICA            DETROIT                   MI
59073   2C4RC1GG6LR187035   Chrysler       PACIFICA            GRAND RAPIDS              MI
59074   2C4RC1GG6LR187049   Chrysler       PACIFICA            WARWICK                   RI
59075   2C4RC1GG6LR187052   Chrysler       PACIFICA            BOSTON                    MA
59076   2C4RC1GG6LR187066   Chrysler       PACIFICA            PITTSBURGH                PA
59077   2C4RC1GG6LR187083   Chrysler       PACIFICA            GRAND RAPIDS              MI
59078   2C4RC1GG6LR187116   Chrysler       PACIFICA            PITTSBURGH                PA
59079   2C4RC1GG6LR187147   Chrysler       PACIFICA            INDIANAPOLIS              IN
59080   2C4RC1GG6LR190162   Chrysler       PACIFICA            HANOVER                   MD
59081   2C4RC1GG6LR208966   Chrysler       PACIFICA            HANOVER                   MD
59082   2C4RC1GG7JR141288   Chrysler       PACIFICA            ORLANDO                   FL
59083   2C4RC1GG7JR170757   Chrysler       PACIFICA            MIAMI                     FL
59084   2C4RC1GG7JR185436   Chrysler       PACIFICA            WEST PALM BEACH           FL
59085   2C4RC1GG7JR185453   Chrysler       PACIFICA            WEST PALM BEACH           FL
59086   2C4RC1GG7JR185596   Chrysler       PACIFICA            Fontana                   CA
59087   2C4RC1GG7JR226213   Chrysler       PACIFICA            Miami                     FL
59088   2C4RC1GG7JR226258   Chrysler       PACIFICA            Oceanside                 CA
59089   2C4RC1GG7JR226292   Chrysler       PACIFICA            Ocoee                     FL
59090   2C4RC1GG7JR226406   Chrysler       PACIFICA            ATLANTA                   GA
59091   2C4RC1GG7JR232979   Chrysler       PACIFICA            COLLEGE PARK              GA
59092   2C4RC1GG7JR233047   Chrysler       PACIFICA            KEY WEST                  FL
59093   2C4RC1GG7JR233176   Chrysler       PACIFICA            CLEVELAND                 OH
59094   2C4RC1GG7JR245909   Chrysler       PACIFICA            KALAOA                    HI
59095   2C4RC1GG7JR245912   Chrysler       PACIFICA            KALAOA                    HI
59096   2C4RC1GG7JR245926   Chrysler       PACIFICA            HILO                      HI
59097   2C4RC1GG7JR245943   Chrysler       PACIFICA            KAILUA KONA               HI
59098   2C4RC1GG7JR269028   Chrysler       PACIFICA            MIAMI                     FL
59099   2C4RC1GG7JR269045   Chrysler       PACIFICA            North Dighton             MA
59100   2C4RC1GG7JR269210   Chrysler       PACIFICA            Greensboro                NC
59101   2C4RC1GG7JR269224   Chrysler       PACIFICA            ATLANTA                   GA
59102   2C4RC1GG7JR272219   Chrysler       PACIFICA            Denver                    CO
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59103   2C4RC1GG7JR272415   Chrysler       PACIFICA            ROANOKE                   VA
59104   2C4RC1GG7JR272432   Chrysler       PACIFICA            Estero                    FL
59105   2C4RC1GG7JR272561   Chrysler       PACIFICA            Fredericksburg            VA
59106   2C4RC1GG7JR273774   Chrysler       PACIFICA            Las Vegas                 NV
59107   2C4RC1GG7JR273807   Chrysler       PACIFICA            SAN DIEGO                 CA
59108   2C4RC1GG7JR273841   Chrysler       PACIFICA            Kent                      WA
59109   2C4RC1GG7JR276075   Chrysler       PACIFICA            Fontana                   CA
59110   2C4RC1GG7JR276111   Chrysler       PACIFICA            MANCHESTER                US
59111   2C4RC1GG7JR314484   Chrysler       PACIFICA            Manheim                   PA
59112   2C4RC1GG7JR314646   Chrysler       PACIFICA            Fairbanks                 AK
59113   2C4RC1GG7JR320284   Chrysler       PACIFICA            Fontana                   CA
59114   2C4RC1GG7JR320317   Chrysler       PACIFICA            SACRAMENTO                CA
59115   2C4RC1GG7JR320365   Chrysler       PACIFICA            Fontana                   CA
59116   2C4RC1GG7JR320379   Chrysler       PACIFICA            Fontana                   CA
59117   2C4RC1GG7JR320382   Chrysler       PACIFICA            North Las Vegas           NV
59118   2C4RC1GG7JR320429   Chrysler       PACIFICA            North Dighton             MA
59119   2C4RC1GG7JR320432   Chrysler       PACIFICA            Maple Grove               MN
59120   2C4RC1GG7JR320561   Chrysler       PACIFICA            KENNER                    LA
59121   2C4RC1GG7JR320592   Chrysler       PACIFICA            SAN FRANCISCO             CA
59122   2C4RC1GG7JR320642   Chrysler       PACIFICA            Tolleson                  AZ
59123   2C4RC1GG7JR320673   Chrysler       PACIFICA            Manheim                   PA
59124   2C4RC1GG7JR320687   Chrysler       PACIFICA            Ocoee                     FL
59125   2C4RC1GG7JR320690   Chrysler       PACIFICA            WEST PALM BEACH           FL
59126   2C4RC1GG7JR320740   Chrysler       PACIFICA            MIAMI                     FL
59127   2C4RC1GG7JR320768   Chrysler       PACIFICA            HEBRON                    KY
59128   2C4RC1GG7JR320799   Chrysler       PACIFICA            ALEXANDRIA                VA
59129   2C4RC1GG7JR320804   Chrysler       PACIFICA            FORT LAUDERDALE           FL
59130   2C4RC1GG7JR320821   Chrysler       PACIFICA            FORT MYERS                FL
59131   2C4RC1GG7JR320835   Chrysler       PACIFICA            Ft. Myers                 FL
59132   2C4RC1GG7JR320852   Chrysler       PACIFICA            LOS ANGELES               CA
59133   2C4RC1GG7JR330250   Chrysler       PACIFICA            FORT LAUDERDALE           FL
59134   2C4RC1GG7LR123893   Chrysler       PACIFICA            BURBANK                   CA
59135   2C4RC1GG7LR124607   Chrysler       PACIFICA            PHOENIX                   AZ
59136   2C4RC1GG7LR124610   Chrysler       PACIFICA            ALBUQUERQUE               NM
59137   2C4RC1GG7LR125563   Chrysler       PACIFICA            KENNER                    LA
59138   2C4RC1GG7LR127703   Chrysler       PACIFICA            TAMPA                     FL
59139   2C4RC1GG7LR127717   Chrysler       PACIFICA            Grand Prairie             TX
59140   2C4RC1GG7LR127720   Chrysler       PACIFICA            CHARLESTON                WV
59141   2C4RC1GG7LR127734   Chrysler       PACIFICA            TAMPA                     FL
59142   2C4RC1GG7LR127748   Chrysler       PACIFICA            ORLANDO                   FL
59143   2C4RC1GG7LR127751   Chrysler       PACIFICA            FORT LAUDERDALE           FL
59144   2C4RC1GG7LR127765   Chrysler       PACIFICA            ORLANDO                   FL
59145   2C4RC1GG7LR127779   Chrysler       PACIFICA            NORFOLK                   VA
59146   2C4RC1GG7LR127782   Chrysler       PACIFICA            MIAMI                     FL
59147   2C4RC1GG7LR127796   Chrysler       PACIFICA            MIAMI                     FL
59148   2C4RC1GG7LR127801   Chrysler       PACIFICA            PHILADELPHIA              PA
59149   2C4RC1GG7LR127815   Chrysler       PACIFICA            MIAMI                     FL
59150   2C4RC1GG7LR127829   Chrysler       PACIFICA            BIRMINGHAN                AL
59151   2C4RC1GG7LR127832   Chrysler       PACIFICA            MARY ESTHER               FL
59152   2C4RC1GG7LR127846   Chrysler       PACIFICA            ORLANDO                   FL
59153   2C4RC1GG7LR127863   Chrysler       PACIFICA            FORT MYERS                FL
59154   2C4RC1GG7LR127877   Chrysler       PACIFICA            HOUSTON                   TX
59155   2C4RC1GG7LR127880   Chrysler       PACIFICA            SAN ANTONIO               TX
59156   2C4RC1GG7LR136546   Chrysler       PACIFICA            SANTA ANA                 CA
59157   2C4RC1GG7LR139754   Chrysler       PACIFICA            HOUSTON                   TX
59158   2C4RC1GG7LR139768   Chrysler       PACIFICA            DFW AIRPORT               TX
59159   2C4RC1GG7LR139771   Chrysler       PACIFICA            EAGLE                     CO
59160   2C4RC1GG7LR151306   Chrysler       PACIFICA            NEWPORT BEACH             CA
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59161   2C4RC1GG7LR151337   Chrysler       PACIFICA            DETROIT                   MI
59162   2C4RC1GG7LR151340   Chrysler       PACIFICA            ALBUQUERQUE               NM
59163   2C4RC1GG7LR151354   Chrysler       PACIFICA            MONTGOMERY                AL
59164   2C4RC1GG7LR156148   Chrysler       PACIFICA            KENNER                    LA
59165   2C4RC1GG7LR156151   Chrysler       PACIFICA            KENNER                    LA
59166   2C4RC1GG7LR156215   Chrysler       PACIFICA            KENNER                    LA
59167   2C4RC1GG7LR156229   Chrysler       PACIFICA            UNION CITY                GA
59168   2C4RC1GG7LR156232   Chrysler       PACIFICA            GRAND RAPIDS              MI
59169   2C4RC1GG7LR156246   Chrysler       PACIFICA            KNOXVILLE                 TN
59170   2C4RC1GG7LR156263   Chrysler       PACIFICA            JAMAICA                   NY
59171   2C4RC1GG7LR156277   Chrysler       PACIFICA            LOS ANGELES               CA
59172   2C4RC1GG7LR156280   Chrysler       PACIFICA            LAS VEGAS                 NV
59173   2C4RC1GG7LR156327   Chrysler       PACIFICA            PORTLAND                  OR
59174   2C4RC1GG7LR156358   Chrysler       PACIFICA            PHOENIX                   AZ
59175   2C4RC1GG7LR156361   Chrysler       PACIFICA            SACRAMENTO                CA
59176   2C4RC1GG7LR156375   Chrysler       PACIFICA            LA HABRA                  CA
59177   2C4RC1GG7LR156389   Chrysler       PACIFICA            LOS ANGELES               CA
59178   2C4RC1GG7LR156392   Chrysler       PACIFICA            LAS VEGAS                 NV
59179   2C4RC1GG7LR156411   Chrysler       PACIFICA            SAN DIEGO                 CA
59180   2C4RC1GG7LR156439   Chrysler       PACIFICA            INGLEWOOD                 CA
59181   2C4RC1GG7LR156442   Chrysler       PACIFICA            SAN DIEGO                 CA
59182   2C4RC1GG7LR156456   Chrysler       PACIFICA            Reno                      NV
59183   2C4RC1GG7LR156473   Chrysler       PACIFICA            PALM SPRINGS              CA
59184   2C4RC1GG7LR156490   Chrysler       PACIFICA            DALLAS                    TX
59185   2C4RC1GG7LR156506   Chrysler       PACIFICA            BALTIMORE                 MD
59186   2C4RC1GG7LR162953   Chrysler       PACIFICA            CHARLOTTE                 NC
59187   2C4RC1GG7LR162984   Chrysler       PACIFICA            PHILADELPHIA              PA
59188   2C4RC1GG7LR162998   Chrysler       PACIFICA            BOSTON                    MA
59189   2C4RC1GG7LR163004   Chrysler       PACIFICA            COLUMBUS                  OH
59190   2C4RC1GG7LR163018   Chrysler       PACIFICA            NEWARK                    NJ
59191   2C4RC1GG7LR163021   Chrysler       PACIFICA            ORLANDO                   FL
59192   2C4RC1GG7LR163035   Chrysler       PACIFICA            PHILADELPHIA              PA
59193   2C4RC1GG7LR171412   Chrysler       PACIFICA            ORLANDO                   FL
59194   2C4RC1GG7LR171426   Chrysler       PACIFICA            JACKSON                   MS
59195   2C4RC1GG7LR171443   Chrysler       PACIFICA            JACKSON                   MS
59196   2C4RC1GG7LR171457   Chrysler       PACIFICA            DETROIT                   MI
59197   2C4RC1GG7LR171474   Chrysler       PACIFICA            GRAND RAPIDS              MI
59198   2C4RC1GG7LR171491   Chrysler       PACIFICA            SAINT LOUIS               MO
59199   2C4RC1GG7LR171510   Chrysler       PACIFICA            ALBANY                    NY
59200   2C4RC1GG7LR181275   Chrysler       PACIFICA            EGG HARBOR TOWN           NJ
59201   2C4RC1GG7LR181289   Chrysler       PACIFICA            Atlanta                   GA
59202   2C4RC1GG7LR181292   Chrysler       PACIFICA            COLLEGE PARK              GA
59203   2C4RC1GG7LR181308   Chrysler       PACIFICA            PHILADELPHIA              PA
59204   2C4RC1GG7LR181485   Chrysler       PACIFICA            WICHITA FALLS             TX
59205   2C4RC1GG7LR184175   Chrysler       PACIFICA            DETROIT                   MI
59206   2C4RC1GG7LR187013   Chrysler       PACIFICA            HARTFORD                  CT
59207   2C4RC1GG7LR187030   Chrysler       PACIFICA            ORLANDO                   FL
59208   2C4RC1GG7LR187044   Chrysler       PACIFICA            DETROIT                   MI
59209   2C4RC1GG7LR187075   Chrysler       PACIFICA            MILWAUKEE                 WI
59210   2C4RC1GG7LR187108   Chrysler       PACIFICA            PITTSBURGH                PA
59211   2C4RC1GG7LR187156   Chrysler       PACIFICA            COLLEGE PARK              GA
59212   2C4RC1GG7LR190123   Chrysler       PACIFICA            KANSAS CITY               MO
59213   2C4RC1GG7LR190199   Chrysler       PACIFICA            PENSACOLA                 FL
59214   2C4RC1GG7LR203176   Chrysler       PACIFICA            ROCHESTER                 NY
59215   2C4RC1GG8JR141204   Chrysler       PACIFICA            BURBANK                   CA
59216   2C4RC1GG8JR141395   Chrysler       PACIFICA            Davie                     FL
59217   2C4RC1GG8JR164157   Chrysler       PACIFICA            Davie                     FL
59218   2C4RC1GG8JR164160   Chrysler       PACIFICA            TAMPA                     US
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59219   2C4RC1GG8JR170797   Chrysler       PACIFICA            FORT MYERS                FL
59220   2C4RC1GG8JR170833   Chrysler       PACIFICA            ORLANDO                   FL
59221   2C4RC1GG8JR170847   Chrysler       PACIFICA            LAS VEGAS                 NV
59222   2C4RC1GG8JR185431   Chrysler       PACIFICA            DAYTONA BEACH             FL
59223   2C4RC1GG8JR185476   Chrysler       PACIFICA            SAVANNAH                  GA
59224   2C4RC1GG8JR185767   Chrysler       PACIFICA            Chicago                   IL
59225   2C4RC1GG8JR210554   Chrysler       PACIFICA            TAMPA                     FL
59226   2C4RC1GG8JR226169   Chrysler       PACIFICA            DARLINGTON                SC
59227   2C4RC1GG8JR232649   Chrysler       PACIFICA            WEST PALM BEACH           FL
59228   2C4RC1GG8JR233171   Chrysler       PACIFICA            ORLANDO                   FL
59229   2C4RC1GG8JR245918   Chrysler       PACIFICA            Hilo                      HI
59230   2C4RC1GG8JR245921   Chrysler       PACIFICA            KAILUA KONA               HI
59231   2C4RC1GG8JR245935   Chrysler       PACIFICA            HILO                      HI
59232   2C4RC1GG8JR245949   Chrysler       PACIFICA            Kailua‐Kona               HI
59233   2C4RC1GG8JR252075   Chrysler       PACIFICA            Manheim                   PA
59234   2C4RC1GG8JR252125   Chrysler       PACIFICA            STERLING                  VA
59235   2C4RC1GG8JR269023   Chrysler       PACIFICA            ORLANDO                   FL
59236   2C4RC1GG8JR269040   Chrysler       PACIFICA            FORT MYERS                FL
59237   2C4RC1GG8JR269054   Chrysler       PACIFICA            ORLANDO                   FL
59238   2C4RC1GG8JR269152   Chrysler       PACIFICA            Manheim                   PA
59239   2C4RC1GG8JR269202   Chrysler       PACIFICA            ORLANDO                   FL
59240   2C4RC1GG8JR272195   Chrysler       PACIFICA            Davie                     FL
59241   2C4RC1GG8JR272200   Chrysler       PACIFICA            WEST PALM BEACH           FL
59242   2C4RC1GG8JR272455   Chrysler       PACIFICA            SAN FRANCISCO             CA
59243   2C4RC1GG8JR272472   Chrysler       PACIFICA            Elkridge                  MD
59244   2C4RC1GG8JR272505   Chrysler       PACIFICA            NORFOLK                   VA
59245   2C4RC1GG8JR272519   Chrysler       PACIFICA            Hartford                  CT
59246   2C4RC1GG8JR272522   Chrysler       PACIFICA            ORLANDO                   FL
59247   2C4RC1GG8JR272567   Chrysler       PACIFICA            COLUMBUS                  OH
59248   2C4RC1GG8JR272570   Chrysler       PACIFICA            DAYTONA BEACH             FL
59249   2C4RC1GG8JR273847   Chrysler       PACIFICA            SOUTHEAST DST OFFC        OK
59250   2C4RC1GG8JR273864   Chrysler       PACIFICA            Winter Park               FL
59251   2C4RC1GG8JR273878   Chrysler       PACIFICA            Atlanta                   GA
59252   2C4RC1GG8JR273881   Chrysler       PACIFICA            DAYTONA BEACH             FL
59253   2C4RC1GG8JR274156   Chrysler       PACIFICA            Davie                     FL
59254   2C4RC1GG8JR314431   Chrysler       PACIFICA            DALLAS                    TX
59255   2C4RC1GG8JR314557   Chrysler       PACIFICA            Riverside                 CA
59256   2C4RC1GG8JR314588   Chrysler       PACIFICA            Jacksonville              FL
59257   2C4RC1GG8JR314638   Chrysler       PACIFICA            ANCHORAGE                 AK
59258   2C4RC1GG8JR314672   Chrysler       PACIFICA            Sarasota                  FL
59259   2C4RC1GG8JR314705   Chrysler       PACIFICA            Bensalem                  PA
59260   2C4RC1GG8JR320228   Chrysler       PACIFICA            OAKLAND                   CA
59261   2C4RC1GG8JR320245   Chrysler       PACIFICA            Statesville               NC
59262   2C4RC1GG8JR320259   Chrysler       PACIFICA            Elkridge                  MD
59263   2C4RC1GG8JR320262   Chrysler       PACIFICA            PHOENIX                   AZ
59264   2C4RC1GG8JR320343   Chrysler       PACIFICA            Aurora                    CO
59265   2C4RC1GG8JR320360   Chrysler       PACIFICA            ALBUQERQUE                NM
59266   2C4RC1GG8JR320438   Chrysler       PACIFICA            ORLANDO                   FL
59267   2C4RC1GG8JR320519   Chrysler       PACIFICA            STERLING                  VA
59268   2C4RC1GG8JR320536   Chrysler       PACIFICA            Manheim                   PA
59269   2C4RC1GG8JR320570   Chrysler       PACIFICA            CASPER                    WY
59270   2C4RC1GG8JR320598   Chrysler       PACIFICA            OMAHA                     NE
59271   2C4RC1GG8JR320620   Chrysler       PACIFICA            PHOENIX                   AZ
59272   2C4RC1GG8JR320634   Chrysler       PACIFICA            Greensboro                NC
59273   2C4RC1GG8JR320679   Chrysler       PACIFICA            Manheim                   PA
59274   2C4RC1GG8JR320746   Chrysler       PACIFICA            WEST PALM BEACH           FL
59275   2C4RC1GG8JR320763   Chrysler       PACIFICA            Miami                     FL
59276   2C4RC1GG8JR320780   Chrysler       PACIFICA            Davie                     FL
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59277   2C4RC1GG8JR320794   Chrysler       PACIFICA            MIAMI                     FL
59278   2C4RC1GG8JR320813   Chrysler       PACIFICA            TAMPA                     FL
59279   2C4RC1GG8JR320830   Chrysler       PACIFICA            ORLANDO                   FL
59280   2C4RC1GG8JR320844   Chrysler       PACIFICA            JACKSON                   MS
59281   2C4RC1GG8JR330242   Chrysler       PACIFICA            NEW BERN                  NC
59282   2C4RC1GG8LR123885   Chrysler       PACIFICA            BURBANK                   CA
59283   2C4RC1GG8LR123899   Chrysler       PACIFICA            Atlanta                   GA
59284   2C4RC1GG8LR123904   Chrysler       PACIFICA            GREENVILLE                NC
59285   2C4RC1GG8LR124597   Chrysler       PACIFICA            Atlanta                   GA
59286   2C4RC1GG8LR124602   Chrysler       PACIFICA            KENNER                    LA
59287   2C4RC1GG8LR125569   Chrysler       PACIFICA            HOUSTON                   TX
59288   2C4RC1GG8LR127709   Chrysler       PACIFICA            NASHVILLE                 TN
59289   2C4RC1GG8LR127712   Chrysler       PACIFICA            MIAMI                     FL
59290   2C4RC1GG8LR127726   Chrysler       PACIFICA            TAMPA                     FL
59291   2C4RC1GG8LR127743   Chrysler       PACIFICA            ORLANDO                   FL
59292   2C4RC1GG8LR127757   Chrysler       PACIFICA            TAMPA                     US
59293   2C4RC1GG8LR127760   Chrysler       PACIFICA            ORLANDO                   FL
59294   2C4RC1GG8LR127774   Chrysler       PACIFICA            PORTLAND                  OR
59295   2C4RC1GG8LR127788   Chrysler       PACIFICA            Miami                     FL
59296   2C4RC1GG8LR127791   Chrysler       PACIFICA            MIAMI                     FL
59297   2C4RC1GG8LR127807   Chrysler       PACIFICA            ORLANDO                   FL
59298   2C4RC1GG8LR127810   Chrysler       PACIFICA            ORLANDO                   FL
59299   2C4RC1GG8LR127824   Chrysler       PACIFICA            PHOENIX                   AZ
59300   2C4RC1GG8LR127838   Chrysler       PACIFICA            SAN JOSE                  CA
59301   2C4RC1GG8LR127841   Chrysler       PACIFICA            ORLANDO                   FL
59302   2C4RC1GG8LR127855   Chrysler       PACIFICA            WEST COLUMBIA             SC
59303   2C4RC1GG8LR127869   Chrysler       PACIFICA            HOUSTON                   TX
59304   2C4RC1GG8LR127872   Chrysler       PACIFICA            HOUSTON                   TX
59305   2C4RC1GG8LR136538   Chrysler       PACIFICA            HOUSTON                   TX
59306   2C4RC1GG8LR136541   Chrysler       PACIFICA            Dallas                    TX
59307   2C4RC1GG8LR136555   Chrysler       PACIFICA            AUSTIN                    TX
59308   2C4RC1GG8LR139746   Chrysler       PACIFICA            HOUSTON                   TX
59309   2C4RC1GG8LR139763   Chrysler       PACIFICA            GRAND RAPIDS              MI
59310   2C4RC1GG8LR151315   Chrysler       PACIFICA            SAN DIEGO                 CA
59311   2C4RC1GG8LR151329   Chrysler       PACIFICA            SAN DIEGO                 CA
59312   2C4RC1GG8LR151332   Chrysler       PACIFICA            DALLAS                    TX
59313   2C4RC1GG8LR151346   Chrysler       PACIFICA            DALLAS                    TX
59314   2C4RC1GG8LR156143   Chrysler       PACIFICA            Atlanta                   GA
59315   2C4RC1GG8LR156157   Chrysler       PACIFICA            NEWARK                    NJ
59316   2C4RC1GG8LR156160   Chrysler       PACIFICA            WHITE PLAINS              NY
59317   2C4RC1GG8LR156224   Chrysler       PACIFICA            CHEEKTOWAGA               NY
59318   2C4RC1GG8LR156238   Chrysler       PACIFICA            MEMPHIS                   TN
59319   2C4RC1GG8LR156241   Chrysler       PACIFICA            MEMPHIS                   TN
59320   2C4RC1GG8LR156269   Chrysler       PACIFICA            NEW YORK CITY             NY
59321   2C4RC1GG8LR156272   Chrysler       PACIFICA            STERLING                  VA
59322   2C4RC1GG8LR156286   Chrysler       PACIFICA            LOS ANGELES               CA
59323   2C4RC1GG8LR156319   Chrysler       PACIFICA            LOS ANGELES AP            CA
59324   2C4RC1GG8LR156322   Chrysler       PACIFICA            PHOENIX                   AZ
59325   2C4RC1GG8LR156336   Chrysler       PACIFICA            LAS VEGAS                 NV
59326   2C4RC1GG8LR156353   Chrysler       PACIFICA            PHOENIX                   AZ
59327   2C4RC1GG8LR156367   Chrysler       PACIFICA            LAS VEGAS                 NV
59328   2C4RC1GG8LR156370   Chrysler       PACIFICA            PALM SPRINGS              CA
59329   2C4RC1GG8LR156384   Chrysler       PACIFICA            LOS ANGELES               CA
59330   2C4RC1GG8LR156403   Chrysler       PACIFICA            LOS ANGELES               CA
59331   2C4RC1GG8LR156417   Chrysler       PACIFICA            Dallas                    TX
59332   2C4RC1GG8LR156420   Chrysler       PACIFICA            SAN DIEGO                 CA
59333   2C4RC1GG8LR156434   Chrysler       PACIFICA            LOS ANGELES               CA
59334   2C4RC1GG8LR156448   Chrysler       PACIFICA            LOS ANGELES               CA
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59335   2C4RC1GG8LR156451   Chrysler       PACIFICA            LOS ANGELES               CA
59336   2C4RC1GG8LR156465   Chrysler       PACIFICA            OAKLAND                   CA
59337   2C4RC1GG8LR156479   Chrysler       PACIFICA            LOS ANGELES               CA
59338   2C4RC1GG8LR156482   Chrysler       PACIFICA            CODY                      WY
59339   2C4RC1GG8LR156496   Chrysler       PACIFICA            HOUSTON                   TX
59340   2C4RC1GG8LR156501   Chrysler       PACIFICA            DALLAS                    TX
59341   2C4RC1GG8LR162895   Chrysler       PACIFICA            EGG HARBOR TOWN           NJ
59342   2C4RC1GG8LR162931   Chrysler       PACIFICA            KNOXVILLE                 TN
59343   2C4RC1GG8LR162959   Chrysler       PACIFICA            PITTSBURGH                PA
59344   2C4RC1GG8LR162976   Chrysler       PACIFICA            NASHVILLE                 TN
59345   2C4RC1GG8LR163013   Chrysler       PACIFICA            BRONX                     NY
59346   2C4RC1GG8LR163030   Chrysler       PACIFICA            Parkville                 MD
59347   2C4RC1GG8LR163044   Chrysler       PACIFICA            PHILADELPHIA              PA
59348   2C4RC1GG8LR171404   Chrysler       PACIFICA            Saint Paul                MN
59349   2C4RC1GG8LR171418   Chrysler       PACIFICA            STERLING                  VA
59350   2C4RC1GG8LR171421   Chrysler       PACIFICA            PENSACOLA                 FL
59351   2C4RC1GG8LR171449   Chrysler       PACIFICA            CLEVELAND                 OH
59352   2C4RC1GG8LR171452   Chrysler       PACIFICA            CLEVELAND                 OH
59353   2C4RC1GG8LR171466   Chrysler       PACIFICA            GRAND RAPIDS              MI
59354   2C4RC1GG8LR171516   Chrysler       PACIFICA            WHITE PLAINS              NY
59355   2C4RC1GG8LR181267   Chrysler       PACIFICA            Atlanta                   GA
59356   2C4RC1GG8LR181270   Chrysler       PACIFICA            NEWARK                    NJ
59357   2C4RC1GG8LR185237   Chrysler       PACIFICA            MIAMI                     FL
59358   2C4RC1GG8LR186999   Chrysler       PACIFICA            STERLING                  VA
59359   2C4RC1GG8LR187005   Chrysler       PACIFICA            CHICAGO                   IL
59360   2C4RC1GG8LR187036   Chrysler       PACIFICA            DETROIT                   MI
59361   2C4RC1GG8LR187084   Chrysler       PACIFICA            HANOVER                   MD
59362   2C4RC1GG8LR187098   Chrysler       PACIFICA            HANOVER                   MD
59363   2C4RC1GG8LR187120   Chrysler       PACIFICA            Hebron                    KY
59364   2C4RC1GG8LR187148   Chrysler       PACIFICA            CHICAGO                   IL
59365   2C4RC1GG8LR190163   Chrysler       PACIFICA            STERLING                  VA
59366   2C4RC1GG8LR190194   Chrysler       PACIFICA            MEMPHIS                   TN
59367   2C4RC1GG9JR141258   Chrysler       PACIFICA            TAMPA                     FL
59368   2C4RC1GG9JR141356   Chrysler       PACIFICA            SOUTHEAST DST OFFC        OK
59369   2C4RC1GG9JR164149   Chrysler       PACIFICA            Elkridge                  MD
59370   2C4RC1GG9JR170761   Chrysler       PACIFICA            WEST PALM BEACH           FL
59371   2C4RC1GG9JR170775   Chrysler       PACIFICA            Ft. Myers                 FL
59372   2C4RC1GG9JR170825   Chrysler       PACIFICA            Hayward                   CA
59373   2C4RC1GG9JR185387   Chrysler       PACIFICA            Miami                     FL
59374   2C4RC1GG9JR185423   Chrysler       PACIFICA            Ft. Myers                 FL
59375   2C4RC1GG9JR185437   Chrysler       PACIFICA            FORT MYERS                FL
59376   2C4RC1GG9JR185440   Chrysler       PACIFICA            Kent                      WA
59377   2C4RC1GG9JR185499   Chrysler       PACIFICA            FORT MYERS                FL
59378   2C4RC1GG9JR245913   Chrysler       PACIFICA            HILO                      HI
59379   2C4RC1GG9JR245927   Chrysler       PACIFICA            KAILUA‐KONA               HI
59380   2C4RC1GG9JR245930   Chrysler       PACIFICA            KALAOA                    HI
59381   2C4RC1GG9JR268933   Chrysler       PACIFICA            Teterboro                 NJ
59382   2C4RC1GG9JR269001   Chrysler       PACIFICA            WHITE PLAINS              NY
59383   2C4RC1GG9JR269029   Chrysler       PACIFICA            Charlotte                 NC
59384   2C4RC1GG9JR269063   Chrysler       PACIFICA            Atlanta                   GA
59385   2C4RC1GG9JR269077   Chrysler       PACIFICA            CHARLOTTE                 NC
59386   2C4RC1GG9JR269192   Chrysler       PACIFICA            Ocoee                     FL
59387   2C4RC1GG9JR269225   Chrysler       PACIFICA            DETROIT                   MI
59388   2C4RC1GG9JR272108   Chrysler       PACIFICA            Costa Mesa                CA
59389   2C4RC1GG9JR272142   Chrysler       PACIFICA            Hayward                   CA
59390   2C4RC1GG9JR272237   Chrysler       PACIFICA            Atlanta                   GA
59391   2C4RC1GG9JR272321   Chrysler       PACIFICA            Avoca                     PA
59392   2C4RC1GG9JR272366   Chrysler       PACIFICA            Anaheim                   CA
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59393   2C4RC1GG9JR272450   Chrysler       PACIFICA            DAYTONA BEACH             FL
59394   2C4RC1GG9JR272531   Chrysler       PACIFICA            SEATTLE                   WA
59395   2C4RC1GG9JR272545   Chrysler       PACIFICA            Philadelphia              PA
59396   2C4RC1GG9JR273775   Chrysler       PACIFICA            Costa Mesa                CA
59397   2C4RC1GG9JR273825   Chrysler       PACIFICA            DENVER                    CO
59398   2C4RC1GG9JR273873   Chrysler       PACIFICA            CLEVELAND                 OH
59399   2C4RC1GG9JR273890   Chrysler       PACIFICA            GREENSBORO                NC
59400   2C4RC1GG9JR273906   Chrysler       PACIFICA            SARASOTA                  FL
59401   2C4RC1GG9JR273940   Chrysler       PACIFICA            Manheim                   PA
59402   2C4RC1GG9JR274067   Chrysler       PACIFICA            DANIA BEACH               FL
59403   2C4RC1GG9JR276062   Chrysler       PACIFICA            Sacramento                CA
59404   2C4RC1GG9JR276076   Chrysler       PACIFICA            Detroit                   MI
59405   2C4RC1GG9JR276112   Chrysler       PACIFICA            CHARLOTTESVILLE           VA
59406   2C4RC1GG9JR314213   Chrysler       PACIFICA            San Diego                 CA
59407   2C4RC1GG9JR314244   Chrysler       PACIFICA            WEST PALM BEACH           FL
59408   2C4RC1GG9JR314258   Chrysler       PACIFICA            SARASOTA                  FL
59409   2C4RC1GG9JR314261   Chrysler       PACIFICA            SANDSTON                  VA
59410   2C4RC1GG9JR314339   Chrysler       PACIFICA            NASHVILLE                 TN
59411   2C4RC1GG9JR314468   Chrysler       PACIFICA            Elkridge                  MD
59412   2C4RC1GG9JR320237   Chrysler       PACIFICA            FAIRBANKS                 AK
59413   2C4RC1GG9JR320240   Chrysler       PACIFICA            ANCHORAGE                 AK
59414   2C4RC1GG9JR320271   Chrysler       PACIFICA            Davie                     FL
59415   2C4RC1GG9JR320304   Chrysler       PACIFICA            Fontana                   CA
59416   2C4RC1GG9JR320352   Chrysler       PACIFICA            Anaheim                   CA
59417   2C4RC1GG9JR320416   Chrysler       PACIFICA            STERLING                  VA
59418   2C4RC1GG9JR320500   Chrysler       PACIFICA            Bordentown                NJ
59419   2C4RC1GG9JR320531   Chrysler       PACIFICA            TAMPA                     FL
59420   2C4RC1GG9JR320562   Chrysler       PACIFICA            DALLAS                    TX
59421   2C4RC1GG9JR320688   Chrysler       PACIFICA            ORLANDO                   FL
59422   2C4RC1GG9JR320741   Chrysler       PACIFICA            DALLAS                    TX
59423   2C4RC1GG9JR320755   Chrysler       PACIFICA            FORT MYERS                FL
59424   2C4RC1GG9JR320772   Chrysler       PACIFICA            SAINT PAUL                MN
59425   2C4RC1GG9JR320822   Chrysler       PACIFICA            Atlanta                   GA
59426   2C4RC1GG9JR320870   Chrysler       PACIFICA            North Dighton             MA
59427   2C4RC1GG9LR123894   Chrysler       PACIFICA            BURBANK                   CA
59428   2C4RC1GG9LR124608   Chrysler       PACIFICA            DANIA BEACH               FL
59429   2C4RC1GG9LR124611   Chrysler       PACIFICA            KNOXVILLE                 TN
59430   2C4RC1GG9LR127704   Chrysler       PACIFICA            OMAHA                     NE
59431   2C4RC1GG9LR127721   Chrysler       PACIFICA            MIAMI                     FL
59432   2C4RC1GG9LR127735   Chrysler       PACIFICA            JACKSONVILLE              FL
59433   2C4RC1GG9LR127749   Chrysler       PACIFICA            JACKSONVILLE              FL
59434   2C4RC1GG9LR127752   Chrysler       PACIFICA            MIAMI                     FL
59435   2C4RC1GG9LR127766   Chrysler       PACIFICA            MIAMI                     FL
59436   2C4RC1GG9LR127783   Chrysler       PACIFICA            ORLANDO                   FL
59437   2C4RC1GG9LR127797   Chrysler       PACIFICA            FORT MYERS                FL
59438   2C4RC1GG9LR127802   Chrysler       PACIFICA            FORT MYERS                FL
59439   2C4RC1GG9LR127816   Chrysler       PACIFICA            Ft. Myers                 FL
59440   2C4RC1GG9LR127833   Chrysler       PACIFICA            FORT MYERS                FL
59441   2C4RC1GG9LR127847   Chrysler       PACIFICA            MIAMI                     FL
59442   2C4RC1GG9LR127850   Chrysler       PACIFICA            ORLANDO                   FL
59443   2C4RC1GG9LR127864   Chrysler       PACIFICA            ORLANDO                   FL
59444   2C4RC1GG9LR127878   Chrysler       PACIFICA            HOUSTON                   TX
59445   2C4RC1GG9LR127881   Chrysler       PACIFICA            HOUSTON                   TX
59446   2C4RC1GG9LR130070   Chrysler       PACIFICA            HOUSTON                   TX
59447   2C4RC1GG9LR136547   Chrysler       PACIFICA            PHOENIX                   AZ
59448   2C4RC1GG9LR139755   Chrysler       PACIFICA            AUSTIN                    TX
59449   2C4RC1GG9LR139769   Chrysler       PACIFICA            SACRAMENTO                CA
59450   2C4RC1GG9LR139772   Chrysler       PACIFICA            DALLAS                    TX
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59451   2C4RC1GG9LR151310   Chrysler       PACIFICA            SANTA ANA                 CA
59452   2C4RC1GG9LR151338   Chrysler       PACIFICA            ALBUQERQUE                NM
59453   2C4RC1GG9LR151341   Chrysler       PACIFICA            Dallas                    TX
59454   2C4RC1GG9LR156149   Chrysler       PACIFICA            KENNER                    LA
59455   2C4RC1GG9LR156152   Chrysler       PACIFICA            WEST COLUMBIA             SC
59456   2C4RC1GG9LR156216   Chrysler       PACIFICA            KENNER                    LA
59457   2C4RC1GG9LR156247   Chrysler       PACIFICA            SOUTH BEND                IN
59458   2C4RC1GG9LR156250   Chrysler       PACIFICA            KNOXVILLE                 TN
59459   2C4RC1GG9LR156278   Chrysler       PACIFICA            LOS ANGELES               CA
59460   2C4RC1GG9LR156281   Chrysler       PACIFICA            BURBANK                   CA
59461   2C4RC1GG9LR156300   Chrysler       PACIFICA            LOS ANGELES               CA
59462   2C4RC1GG9LR156314   Chrysler       PACIFICA            LOS ANGELES               CA
59463   2C4RC1GG9LR156328   Chrysler       PACIFICA            LAS VEGAS                 NV
59464   2C4RC1GG9LR156331   Chrysler       PACIFICA            PHOENIX                   AZ
59465   2C4RC1GG9LR156345   Chrysler       PACIFICA            PHOENIX                   AZ
59466   2C4RC1GG9LR156359   Chrysler       PACIFICA            BURBANK                   CA
59467   2C4RC1GG9LR156362   Chrysler       PACIFICA            LAS VEGAS                 NV
59468   2C4RC1GG9LR156393   Chrysler       PACIFICA            LOS ANGELES               CA
59469   2C4RC1GG9LR156409   Chrysler       PACIFICA            LOS ANGELES               CA
59470   2C4RC1GG9LR156412   Chrysler       PACIFICA            SAN DIEGO                 US
59471   2C4RC1GG9LR156426   Chrysler       PACIFICA            LAS VEGAS                 NV
59472   2C4RC1GG9LR156443   Chrysler       PACIFICA            KNOXVILLE                 TN
59473   2C4RC1GG9LR156457   Chrysler       PACIFICA            FRESNO                    CA
59474   2C4RC1GG9LR156474   Chrysler       PACIFICA            COSTA MESA                CA
59475   2C4RC1GG9LR156488   Chrysler       PACIFICA            CHICAGO                   IL
59476   2C4RC1GG9LR156491   Chrysler       PACIFICA            HOUSTON                   TX
59477   2C4RC1GG9LR156507   Chrysler       PACIFICA            MIAMI                     FL
59478   2C4RC1GG9LR162873   Chrysler       PACIFICA            KENNER                    LA
59479   2C4RC1GG9LR162890   Chrysler       PACIFICA            KENNER                    LA
59480   2C4RC1GG9LR162937   Chrysler       PACIFICA            TAMPA                     FL
59481   2C4RC1GG9LR162954   Chrysler       PACIFICA            JACKSONVILLE              FL
59482   2C4RC1GG9LR162985   Chrysler       PACIFICA            SAN BRUNO                 CA
59483   2C4RC1GG9LR163005   Chrysler       PACIFICA            WHITE PLAINS              NY
59484   2C4RC1GG9LR163022   Chrysler       PACIFICA            NEWARK                    NJ
59485   2C4RC1GG9LR171430   Chrysler       PACIFICA            JACKSON                   MS
59486   2C4RC1GG9LR171444   Chrysler       PACIFICA            CLEVELAND                 OH
59487   2C4RC1GG9LR171458   Chrysler       PACIFICA            SAINT LOUIS               MO
59488   2C4RC1GG9LR171475   Chrysler       PACIFICA            DETROIT                   MI
59489   2C4RC1GG9LR171492   Chrysler       PACIFICA            SAINT LOUIS               MO
59490   2C4RC1GG9LR171511   Chrysler       PACIFICA            RALEIGH                   NC
59491   2C4RC1GG9LR175851   Chrysler       PACIFICA            STERLING                  VA
59492   2C4RC1GG9LR185215   Chrysler       PACIFICA            MEMPHIS                   TN
59493   2C4RC1GG9LR185232   Chrysler       PACIFICA            CHARLESTON                SC
59494   2C4RC1GG9LR187014   Chrysler       PACIFICA            WARWICK                   RI
59495   2C4RC1GG9LR187059   Chrysler       PACIFICA            ATLANTA                   GA
59496   2C4RC1GG9LR187062   Chrysler       PACIFICA            HANOVER                   MD
59497   2C4RC1GG9LR187093   Chrysler       PACIFICA            TAMPA                     FL
59498   2C4RC1GG9LR187109   Chrysler       PACIFICA            PITTSBURGH                PA
59499   2C4RC1GG9LR187112   Chrysler       PACIFICA            ATLANTA                   GA
59500   2C4RC1GG9LR187143   Chrysler       PACIFICA            TAMPA                     FL
59501   2C4RC1GG9LR190155   Chrysler       PACIFICA            HANOVER                   MD
59502   2C4RC1GG9LR190172   Chrysler       PACIFICA            FORT MYERS                FL
59503   2C4RC1GG9LR190205   Chrysler       PACIFICA            INDIANAPOLIS              IN
59504   2C4RC1GGXJR141205   Chrysler       PACIFICA            BURBANK                   CA
59505   2C4RC1GGXJR141267   Chrysler       PACIFICA            DAYTONA BEACH             FL
59506   2C4RC1GGXJR141320   Chrysler       PACIFICA            Ocoee                     FL
59507   2C4RC1GGXJR164175   Chrysler       PACIFICA            Miami                     FL
59508   2C4RC1GGXJR170798   Chrysler       PACIFICA            Ocoee                     FL
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59509   2C4RC1GGXJR170803   Chrysler       PACIFICA            Hendersonville            TN
59510   2C4RC1GGXJR170882   Chrysler       PACIFICA            SAN DIEGO                 CA
59511   2C4RC1GGXJR170901   Chrysler       PACIFICA            NEWARK                    NJ
59512   2C4RC1GGXJR185429   Chrysler       PACIFICA            Orlando                   FL
59513   2C4RC1GGXJR185432   Chrysler       PACIFICA            BIRMINGHAM                AL
59514   2C4RC1GGXJR185446   Chrysler       PACIFICA            Ft. Myers                 FL
59515   2C4RC1GGXJR185463   Chrysler       PACIFICA            ORLANDO                   FL
59516   2C4RC1GGXJR185513   Chrysler       PACIFICA            FORT LAUDERDALE           FL
59517   2C4RC1GGXJR185611   Chrysler       PACIFICA            Pasadena                  CA
59518   2C4RC1GGXJR185625   Chrysler       PACIFICA            Irving                    TX
59519   2C4RC1GGXJR185639   Chrysler       PACIFICA            FORT MYERS                FL
59520   2C4RC1GGXJR226495   Chrysler       PACIFICA            PHILADELPHIA              US
59521   2C4RC1GGXJR245905   Chrysler       PACIFICA            WAIMEA                    HI
59522   2C4RC1GGXJR245919   Chrysler       PACIFICA            KALAOA                    HI
59523   2C4RC1GGXJR245936   Chrysler       PACIFICA            KAILUA KONA               HI
59524   2C4RC1GGXJR252000   Chrysler       PACIFICA            ORLANDO                   FL
59525   2C4RC1GGXJR268942   Chrysler       PACIFICA            Ventura                   CA
59526   2C4RC1GGXJR268956   Chrysler       PACIFICA            PORTLAND                  OR
59527   2C4RC1GGXJR269038   Chrysler       PACIFICA            Davie                     FL
59528   2C4RC1GGXJR269055   Chrysler       PACIFICA            Tampa                     FL
59529   2C4RC1GGXJR269069   Chrysler       PACIFICA            FORT MYERS                FL
59530   2C4RC1GGXJR269119   Chrysler       PACIFICA            Denver                    CO
59531   2C4RC1GGXJR269153   Chrysler       PACIFICA            Rio Linda                 CA
59532   2C4RC1GGXJR269220   Chrysler       PACIFICA            San Antonio               TX
59533   2C4RC1GGXJR272196   Chrysler       PACIFICA            SANFORD                   FL
59534   2C4RC1GGXJR272201   Chrysler       PACIFICA            TAMPA                     FL
59535   2C4RC1GGXJR272215   Chrysler       PACIFICA            BOSTON                    MA
59536   2C4RC1GGXJR272246   Chrysler       PACIFICA            DAYTONA BEACH             FL
59537   2C4RC1GGXJR272263   Chrysler       PACIFICA            COLORADO SPRING           CO
59538   2C4RC1GGXJR272330   Chrysler       PACIFICA            WEST PALM BEACH           FL
59539   2C4RC1GGXJR272375   Chrysler       PACIFICA            Fontana                   CA
59540   2C4RC1GGXJR272392   Chrysler       PACIFICA            WEST PALM BEACH           FL
59541   2C4RC1GGXJR272439   Chrysler       PACIFICA            FEDERAL WAY               WA
59542   2C4RC1GGXJR272506   Chrysler       PACIFICA            ROCHESTER                 NY
59543   2C4RC1GGXJR272571   Chrysler       PACIFICA            Pasadena                  CA
59544   2C4RC1GGXJR273803   Chrysler       PACIFICA            PHOENIX                   AZ
59545   2C4RC1GGXJR273817   Chrysler       PACIFICA            MONTGOMERY                AL
59546   2C4RC1GGXJR273851   Chrysler       PACIFICA            Atlanta                   GA
59547   2C4RC1GGXJR273865   Chrysler       PACIFICA            Carleton                  MI
59548   2C4RC1GGXJR273882   Chrysler       PACIFICA            ATLANTA                   GA
59549   2C4RC1GGXJR273896   Chrysler       PACIFICA            TAMPA                     FL
59550   2C4RC1GGXJR273929   Chrysler       PACIFICA            Fredericksburg            VA
59551   2C4RC1GGXJR273932   Chrysler       PACIFICA            Hebron                    KY
59552   2C4RC1GGXJR273946   Chrysler       PACIFICA            CHATTANOOGA               TN
59553   2C4RC1GGXJR273977   Chrysler       PACIFICA            HANOVER                   MD
59554   2C4RC1GGXJR274109   Chrysler       PACIFICA            DANIA BEACH               FL
59555   2C4RC1GGXJR274143   Chrysler       PACIFICA            FORT LAUDERDALE           FL
59556   2C4RC1GGXJR274157   Chrysler       PACIFICA            Atlanta                   GA
59557   2C4RC1GGXJR276071   Chrysler       PACIFICA            WEST PALM BEACH           FL
59558   2C4RC1GGXJR314298   Chrysler       PACIFICA            TAMPA                     FL
59559   2C4RC1GGXJR314320   Chrysler       PACIFICA            Maple Grove               MN
59560   2C4RC1GGXJR314334   Chrysler       PACIFICA            TAMPA                     FL
59561   2C4RC1GGXJR314558   Chrysler       PACIFICA            FORT MYERS                FL
59562   2C4RC1GGXJR314625   Chrysler       PACIFICA            PHOENIX                   AZ
59563   2C4RC1GGXJR320277   Chrysler       PACIFICA            Fontana                   CA
59564   2C4RC1GGXJR320280   Chrysler       PACIFICA            AURORA                    CO
59565   2C4RC1GGXJR320294   Chrysler       PACIFICA            Lake Elsinore             CA
59566   2C4RC1GGXJR320344   Chrysler       PACIFICA            SAN FRANCISCO             CA
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59567   2C4RC1GGXJR320392   Chrysler       PACIFICA            PHILADELPHIA              PA
59568   2C4RC1GGXJR320439   Chrysler       PACIFICA            TAMPA                     FL
59569   2C4RC1GGXJR320456   Chrysler       PACIFICA            DAYTONA BEACH             FL
59570   2C4RC1GGXJR320523   Chrysler       PACIFICA            ORLANDO                   FL
59571   2C4RC1GGXJR320571   Chrysler       PACIFICA            SEATAC                    WA
59572   2C4RC1GGXJR320599   Chrysler       PACIFICA            Pasadena                  CA
59573   2C4RC1GGXJR320604   Chrysler       PACIFICA            PALM SPRINGS              CA
59574   2C4RC1GGXJR320652   Chrysler       PACIFICA            NEW ORLEANS               LA
59575   2C4RC1GGXJR320733   Chrysler       PACIFICA            INGLEWOOD                 CA
59576   2C4RC1GGXJR320750   Chrysler       PACIFICA            ORLANDO                   FL
59577   2C4RC1GGXJR320764   Chrysler       PACIFICA            SARASOTA                  FL
59578   2C4RC1GGXJR320814   Chrysler       PACIFICA            Atlanta                   GA
59579   2C4RC1GGXJR320828   Chrysler       PACIFICA            HOUSTON                   TX
59580   2C4RC1GGXJR320831   Chrysler       PACIFICA            PHILADELPHIA              PA
59581   2C4RC1GGXJR320859   Chrysler       PACIFICA            Mira Loma                 CA
59582   2C4RC1GGXJR330257   Chrysler       PACIFICA            DALLAS                    TX
59583   2C4RC1GGXLR123886   Chrysler       PACIFICA            BURBANK                   CA
59584   2C4RC1GGXLR123905   Chrysler       PACIFICA            KNOXVILLE                 TN
59585   2C4RC1GGXLR124598   Chrysler       PACIFICA            RALEIGH                   NC
59586   2C4RC1GGXLR124603   Chrysler       PACIFICA            KENNER                    LA
59587   2C4RC1GGXLR127713   Chrysler       PACIFICA            ORLANDO                   FL
59588   2C4RC1GGXLR127730   Chrysler       PACIFICA            ORLANDO                   FL
59589   2C4RC1GGXLR127744   Chrysler       PACIFICA            TAMPA                     FL
59590   2C4RC1GGXLR127758   Chrysler       PACIFICA            BIRMINGHAM                AL
59591   2C4RC1GGXLR127761   Chrysler       PACIFICA            FORT LAUDERDALE           FL
59592   2C4RC1GGXLR127775   Chrysler       PACIFICA            MIAMI                     FL
59593   2C4RC1GGXLR127789   Chrysler       PACIFICA            ORLANDO                   FL
59594   2C4RC1GGXLR127792   Chrysler       PACIFICA            FORT LAUDERDALE           FL
59595   2C4RC1GGXLR127808   Chrysler       PACIFICA            TALLAHASSEE               FL
59596   2C4RC1GGXLR127811   Chrysler       PACIFICA            Des Moines                IA
59597   2C4RC1GGXLR127825   Chrysler       PACIFICA            WEST PALM BEACH           FL
59598   2C4RC1GGXLR127839   Chrysler       PACIFICA            BIRMINGHAM                AL
59599   2C4RC1GGXLR127842   Chrysler       PACIFICA            CHARLESTON                SC
59600   2C4RC1GGXLR127856   Chrysler       PACIFICA            ORLANDO                   FL
59601   2C4RC1GGXLR127873   Chrysler       PACIFICA            SAN ANTONIO               TX
59602   2C4RC1GGXLR127887   Chrysler       PACIFICA            AUSTIN                    TX
59603   2C4RC1GGXLR136539   Chrysler       PACIFICA            HOUSTON                   TX
59604   2C4RC1GGXLR136542   Chrysler       PACIFICA            INDIANAPOLIS              IN
59605   2C4RC1GGXLR136556   Chrysler       PACIFICA            SAINT LOUIS               MO
59606   2C4RC1GGXLR139750   Chrysler       PACIFICA            HOUSTON                   TX
59607   2C4RC1GGXLR139764   Chrysler       PACIFICA            SHREVEPORT                LA
59608   2C4RC1GGXLR151316   Chrysler       PACIFICA            SEATAC                    WA
59609   2C4RC1GGXLR151333   Chrysler       PACIFICA            OAKLAND                   CA
59610   2C4RC1GGXLR151347   Chrysler       PACIFICA            DALLAS                    TX
59611   2C4RC1GGXLR151350   Chrysler       PACIFICA            PHOENIX                   AZ
59612   2C4RC1GGXLR156144   Chrysler       PACIFICA            SARASOTA                  FL
59613   2C4RC1GGXLR156158   Chrysler       PACIFICA            WARWICK                   RI
59614   2C4RC1GGXLR156161   Chrysler       PACIFICA            ASTORIA                   NY
59615   2C4RC1GGXLR156225   Chrysler       PACIFICA            SAVANNAH                  GA
59616   2C4RC1GGXLR156239   Chrysler       PACIFICA            MEMPHIS                   TN
59617   2C4RC1GGXLR156242   Chrysler       PACIFICA            ATLANTA                   GA
59618   2C4RC1GGXLR156256   Chrysler       PACIFICA            HARTFORD                  CT
59619   2C4RC1GGXLR156273   Chrysler       PACIFICA            NEWARK                    NJ
59620   2C4RC1GGXLR156287   Chrysler       PACIFICA            FRESNO                    CA
59621   2C4RC1GGXLR156306   Chrysler       PACIFICA            LOS ANGELES               CA
59622   2C4RC1GGXLR156323   Chrysler       PACIFICA            DETROIT                   MI
59623   2C4RC1GGXLR156337   Chrysler       PACIFICA            LOS ANGELES               CA
59624   2C4RC1GGXLR156340   Chrysler       PACIFICA            ONTARIO                   CA
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59625   2C4RC1GGXLR156354   Chrysler       PACIFICA            LOS ANGELES               CA
59626   2C4RC1GGXLR156368   Chrysler       PACIFICA            LOS ANGELES               CA
59627   2C4RC1GGXLR156371   Chrysler       PACIFICA            LAS VEGAS                 NV
59628   2C4RC1GGXLR156385   Chrysler       PACIFICA            LOS ANGELES               CA
59629   2C4RC1GGXLR156399   Chrysler       PACIFICA            PALM SPRINGS              CA
59630   2C4RC1GGXLR156404   Chrysler       PACIFICA            SOUTH SAN FRANC           CA
59631   2C4RC1GGXLR156418   Chrysler       PACIFICA            Lake Elsinore             CA
59632   2C4RC1GGXLR156421   Chrysler       PACIFICA            SAN DIEGO                 CA
59633   2C4RC1GGXLR156435   Chrysler       PACIFICA            SAN DIEGO                 CA
59634   2C4RC1GGXLR156449   Chrysler       PACIFICA            PALM SPRINGS              CA
59635   2C4RC1GGXLR156452   Chrysler       PACIFICA            ORANGE COUNTY             CA
59636   2C4RC1GGXLR156466   Chrysler       PACIFICA            LOS ANGELES               CA
59637   2C4RC1GGXLR156483   Chrysler       PACIFICA            Atlanta                   GA
59638   2C4RC1GGXLR156497   Chrysler       PACIFICA            DALLAS                    TX
59639   2C4RC1GGXLR156502   Chrysler       PACIFICA            AUSTIN                    TX
59640   2C4RC1GGXLR156516   Chrysler       PACIFICA            PHOENIX                   AZ
59641   2C4RC1GGXLR162896   Chrysler       PACIFICA            Teterboro                 NJ
59642   2C4RC1GGXLR162929   Chrysler       PACIFICA            Miami                     FL
59643   2C4RC1GGXLR162932   Chrysler       PACIFICA            FORT LAUDERDALE           FL
59644   2C4RC1GGXLR162963   Chrysler       PACIFICA            ONTARIO                   CA
59645   2C4RC1GGXLR162980   Chrysler       PACIFICA            JAMAICA                   NY
59646   2C4RC1GGXLR162994   Chrysler       PACIFICA            NEW BERN                  NC
59647   2C4RC1GGXLR163014   Chrysler       PACIFICA            INDIANAPOLIS              IN
59648   2C4RC1GGXLR163028   Chrysler       PACIFICA            WHITE PLAINS              NY
59649   2C4RC1GGXLR163031   Chrysler       PACIFICA            NORFOLK                   VA
59650   2C4RC1GGXLR171422   Chrysler       PACIFICA            JACKSON                   MS
59651   2C4RC1GGXLR171436   Chrysler       PACIFICA            JACKSON                   MS
59652   2C4RC1GGXLR171453   Chrysler       PACIFICA            CLEVELAND                 OH
59653   2C4RC1GGXLR171467   Chrysler       PACIFICA            DETROIT                   MI
59654   2C4RC1GGXLR171470   Chrysler       PACIFICA            KANSAS CITY               MO
59655   2C4RC1GGXLR171498   Chrysler       PACIFICA            SAINT LOUIS               MO
59656   2C4RC1GGXLR181299   Chrysler       PACIFICA            EGG HARBOR TOWN           NJ
59657   2C4RC1GGXLR184204   Chrysler       PACIFICA            BIRMINGHAM                AL
59658   2C4RC1GGXLR185207   Chrysler       PACIFICA            HAMMONTON                 NJ
59659   2C4RC1GGXLR185224   Chrysler       PACIFICA            DENVER                    CO
59660   2C4RC1GGXLR187040   Chrysler       PACIFICA            DETROIT                   MI
59661   2C4RC1GGXLR187118   Chrysler       PACIFICA            WHITE PLAINS              NY
59662   2C4RC1GGXLR190147   Chrysler       PACIFICA            STERLING                  VA
59663   2C4RC1GGXLR190150   Chrysler       PACIFICA            GRAND RAPIDS              MI
59664   2C4RC1GGXLR190164   Chrysler       PACIFICA            Atlanta                   GA
59665   2C4RC1GGXLR190195   Chrysler       PACIFICA            KANSAS CITY               MO
59666   2C4RC1GGXLR190200   Chrysler       PACIFICA            CHICAGO                   IL
59667   2C4RDGCG0KR553141   Chrysler       GR                  WEST COLUMBIA             SC
59668   2C4RDGCG1KR552807   Chrysler       GR                  SAN DIEGO                 CA
59669   2C4RDGCG1KR747371   Chrysler       GR                  SAN JOSE                  CA
59670   2C4RDGCG3HR817560   Chrysler       GR                  Ventura                   CA
59671   2C4RDGCG4HR805658   Chrysler       GR                  INDIANAPOLIS              IN
59672   2C4RDGCG4HR805983   Chrysler       GR                  TRACY                     CA
59673   2C4RDGCG4HR805997   Chrysler       GR                  KAHULUI                   HI
59674   2C4RDGCG4KR583758   Chrysler       GR                  KNOXVILLE                 TN
59675   2C4RDGCG4KR723078   Chrysler       GR                  Denver                    CO
59676   2C4RDGCG5HR805961   Chrysler       GR                  SAN FRANCISCO             CA
59677   2C4RDGCG5KR723087   Chrysler       GR                  LOS ANGELES               CA
59678   2C4RDGCG6HR745818   Chrysler       GR                  DES PLAINES               US
59679   2C4RDGCG6HR805659   Chrysler       GR                  ORLANDO                   FL
59680   2C4RDGCG6HR805791   Chrysler       GR                  DES PLAINES               US
59681   2C4RDGCG7HR805962   Chrysler       GR                  Hayward                   CA
59682   2C4RDGCG8KR553081   Chrysler       GR                  CHARLOTTE                 NC
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59683   2C4RDGCG8KR553176   Chrysler       GR                  DENVER                    CO
59684   2C4RDGCG8KR556952   Chrysler       GR                  Euless                    TX
59685   2C4RDGCG9HR805994   Chrysler       GR                  SAN FRANCISCO             CA
59686   2C4RDGCGXKR552918   Chrysler       GR                  SANTA ANA                 CA
59687   2C4RDGEG0JR140793   Chrysler       GR                  Statesville               NC
59688   2C4RDGEG0JR145444   Chrysler       GR                  Atlanta                   GA
59689   2C4RDGEG0JR145458   Chrysler       GR                  Ocoee                     FL
59690   2C4RDGEG0JR145816   Chrysler       GR                  TAMPA                     FL
59691   2C4RDGEG0JR150255   Chrysler       GR                  KALAOA                    HI
59692   2C4RDGEG0JR150269   Chrysler       GR                  Hayward                   CA
59693   2C4RDGEG0JR150272   Chrysler       GR                  KALAOA                    HI
59694   2C4RDGEG0JR150286   Chrysler       GR                  LIHUE                     HI
59695   2C4RDGEG0JR150322   Chrysler       GR                  Kahului                   HI
59696   2C4RDGEG0JR168691   Chrysler       GR                  Birmingham                AL
59697   2C4RDGEG0JR172899   Chrysler       GR                  BURBANK                   CA
59698   2C4RDGEG0JR195356   Chrysler       GR                  DENVER                    CO
59699   2C4RDGEG0JR195373   Chrysler       GR                  HILO                      HI
59700   2C4RDGEG0JR195390   Chrysler       GR                  KALAOA                    HI
59701   2C4RDGEG0JR195549   Chrysler       GR                  BOISE                     US
59702   2C4RDGEG0JR195650   Chrysler       GR                  TAMPA                     FL
59703   2C4RDGEG0JR196135   Chrysler       GR                  HILO                      HI
59704   2C4RDGEG0JR196149   Chrysler       GR                  KALAOA                    HI
59705   2C4RDGEG0JR205450   Chrysler       GR                  PHOENIX                   AZ
59706   2C4RDGEG0JR213838   Chrysler       GR                  Ocoee                     FL
59707   2C4RDGEG0JR237993   Chrysler       GR                  BURBANK                   CA
59708   2C4RDGEG0JR238061   Chrysler       GR                  ORLANDO                   FL
59709   2C4RDGEG0JR238075   Chrysler       GR                  SOUTHEAST DST OFFC        OK
59710   2C4RDGEG0JR238187   Chrysler       GR                  DENVER                    CO
59711   2C4RDGEG0JR238237   Chrysler       GR                  Davie                     FL
59712   2C4RDGEG0JR254129   Chrysler       GR                  Teterboro                 NJ
59713   2C4RDGEG0JR254132   Chrysler       GR                  KNOXVILLE                 TN
59714   2C4RDGEG0JR254163   Chrysler       GR                  Kent                      WA
59715   2C4RDGEG0JR254227   Chrysler       GR                  BOSTON                    MA
59716   2C4RDGEG0JR254485   Chrysler       GR                  SANTA ANA                 CA
59717   2C4RDGEG0JR254602   Chrysler       GR                  Statesville               NC
59718   2C4RDGEG0JR271710   Chrysler       GR                  KNOXVILLE                 TN
59719   2C4RDGEG0JR280911   Chrysler       GR                  AUSTIN                    TX
59720   2C4RDGEG0JR331453   Chrysler       GR                  LOS ANGELES               CA
59721   2C4RDGEG0JR334577   Chrysler       GR                  MEMPHIS                   TN
59722   2C4RDGEG0JR334613   Chrysler       GR                  BOSTON                    MA
59723   2C4RDGEG0JR334708   Chrysler       GR                  LOS ANGELES               CA
59724   2C4RDGEG0JR334725   Chrysler       GR                  HOUSTON                   TX
59725   2C4RDGEG0JR334787   Chrysler       GR                  MORROW                    GA
59726   2C4RDGEG0KR533100   Chrysler       GR                  COLUMBUS                  OH
59727   2C4RDGEG0KR533551   Chrysler       GR                  SAN DIEGO                 CA
59728   2C4RDGEG0KR533565   Chrysler       GR                  Riverside                 CA
59729   2C4RDGEG0KR533582   Chrysler       GR                  FORT MYERS                FL
59730   2C4RDGEG0KR533601   Chrysler       GR                  LAS VEGAS                 NV
59731   2C4RDGEG0KR533646   Chrysler       GR                  LAS VEGAS                 NV
59732   2C4RDGEG0KR533680   Chrysler       GR                  SANTA ANA                 CA
59733   2C4RDGEG0KR533758   Chrysler       GR                  LOS ANGELES AP            CA
59734   2C4RDGEG0KR533789   Chrysler       GR                  FOLSOM                    CA
59735   2C4RDGEG0KR533792   Chrysler       GR                  Warminster                PA
59736   2C4RDGEG0KR533808   Chrysler       GR                  Vandalia                  OH
59737   2C4RDGEG0KR533811   Chrysler       GR                  WILMINGTON                NC
59738   2C4RDGEG0KR533839   Chrysler       GR                  HOUSTON                   TX
59739   2C4RDGEG0KR533842   Chrysler       GR                  SACRAMENTO                CA
59740   2C4RDGEG0KR533856   Chrysler       GR                  SAN ANTONIO               TX
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59741   2C4RDGEG0KR533887   Chrysler       GR                  SACRAMENTO                CA
59742   2C4RDGEG0KR533937   Chrysler       GR                  HOUSTON                   TX
59743   2C4RDGEG0KR533968   Chrysler       GR                  Costa Mesa                CA
59744   2C4RDGEG0KR533985   Chrysler       GR                  LOS ANGELES               CA
59745   2C4RDGEG0KR533999   Chrysler       GR                  LOS ANGELES               CA
59746   2C4RDGEG0KR534005   Chrysler       GR                  LOS ANGELES               CA
59747   2C4RDGEG0KR534019   Chrysler       GR                  Anaheim                   CA
59748   2C4RDGEG0KR534022   Chrysler       GR                  DENVER                    CO
59749   2C4RDGEG0KR534053   Chrysler       GR                  PHOENIX                   AZ
59750   2C4RDGEG0KR534098   Chrysler       GR                  LOS ANGELES               CA
59751   2C4RDGEG0KR534134   Chrysler       GR                  BOISE                     US
59752   2C4RDGEG0KR534148   Chrysler       GR                  LOS ANGELES               CA
59753   2C4RDGEG0KR534151   Chrysler       GR                  PHOENIX                   AZ
59754   2C4RDGEG0KR534201   Chrysler       GR                  LOS ANGELES AP            CA
59755   2C4RDGEG0KR534232   Chrysler       GR                  NORTH PAC                 CA
59756   2C4RDGEG0KR534263   Chrysler       GR                  LOS ANGELES               CA
59757   2C4RDGEG0KR534277   Chrysler       GR                  SYRACUSE                  NY
59758   2C4RDGEG0KR534313   Chrysler       GR                  BURBANK                   CA
59759   2C4RDGEG0KR534344   Chrysler       GR                  MIAMI                     FL
59760   2C4RDGEG0KR534358   Chrysler       GR                  ORLANDO                   FL
59761   2C4RDGEG0KR534361   Chrysler       GR                  Woodbridge Town           NJ
59762   2C4RDGEG0KR534439   Chrysler       GR                  CHICAGO                   IL
59763   2C4RDGEG0KR534442   Chrysler       GR                  FORT LAUDERDALE           FL
59764   2C4RDGEG0KR534473   Chrysler       GR                  ORLANDO                   FL
59765   2C4RDGEG0KR534487   Chrysler       GR                  HANOVER                   MD
59766   2C4RDGEG0KR534490   Chrysler       GR                  HOUSTON                   TX
59767   2C4RDGEG0KR534506   Chrysler       GR                  Bensalem                  PA
59768   2C4RDGEG0KR534523   Chrysler       GR                  FORT MYERS                FL
59769   2C4RDGEG0KR534537   Chrysler       GR                  TAMPA                     FL
59770   2C4RDGEG0KR534540   Chrysler       GR                  ORLANDO                   FL
59771   2C4RDGEG0KR534568   Chrysler       GR                  FORT LAUDERDALE           FL
59772   2C4RDGEG0KR534571   Chrysler       GR                  MORROW                    GA
59773   2C4RDGEG0KR534599   Chrysler       GR                  DAYTONA BEACH             FL
59774   2C4RDGEG0KR534618   Chrysler       GR                  BOSTON                    MA
59775   2C4RDGEG0KR534621   Chrysler       GR                  Leesburg                  VA
59776   2C4RDGEG0KR534635   Chrysler       GR                  Irving                    TX
59777   2C4RDGEG0KR534649   Chrysler       GR                  FORT LAUDERDALE           FL
59778   2C4RDGEG0KR534652   Chrysler       GR                  FORT LAUDERDALE           FL
59779   2C4RDGEG0KR534666   Chrysler       GR                  JACKSONVILLE              FL
59780   2C4RDGEG0KR534697   Chrysler       GR                  ATLANTA                   GA
59781   2C4RDGEG0KR534702   Chrysler       GR                  WICHITA FALLS             TX
59782   2C4RDGEG0KR534716   Chrysler       GR                  Miami                     FL
59783   2C4RDGEG0KR534750   Chrysler       GR                  Miami                     FL
59784   2C4RDGEG0KR534764   Chrysler       GR                  ALBUQUERQUE               NM
59785   2C4RDGEG0KR534800   Chrysler       GR                  Phoenix                   AZ
59786   2C4RDGEG0KR534828   Chrysler       GR                  PHOENIX                   AZ
59787   2C4RDGEG0KR534831   Chrysler       GR                  BOSTON                    MA
59788   2C4RDGEG0KR534859   Chrysler       GR                  WEST COLUMBIA             SC
59789   2C4RDGEG0KR534862   Chrysler       GR                  ORLANDO                   FL
59790   2C4RDGEG0KR534876   Chrysler       GR                  Hendersonville            TN
59791   2C4RDGEG0KR534909   Chrysler       GR                  TAMPA                     FL
59792   2C4RDGEG0KR534943   Chrysler       GR                  FORT MYERS                FL
59793   2C4RDGEG0KR534988   Chrysler       GR                  DAYTONA BEACH             FL
59794   2C4RDGEG0KR535011   Chrysler       GR                  TAMPA                     FL
59795   2C4RDGEG0KR535025   Chrysler       GR                  DES MOINES                IA
59796   2C4RDGEG0KR535039   Chrysler       GR                  KENNER                    LA
59797   2C4RDGEG0KR535056   Chrysler       GR                  Chicago                   IL
59798   2C4RDGEG0KR535140   Chrysler       GR                  DALLAS                    TX
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59799   2C4RDGEG0KR535199   Chrysler       GR                  Newark                    NJ
59800   2C4RDGEG0KR535221   Chrysler       GR                  EULESS                    TX
59801   2C4RDGEG0KR535249   Chrysler       GR                  FAYETTEVILLE              GA
59802   2C4RDGEG0KR535252   Chrysler       GR                  ORLANDO                   FL
59803   2C4RDGEG0KR535283   Chrysler       GR                  Atlanta                   GA
59804   2C4RDGEG0KR535302   Chrysler       GR                  DALLAS                    TX
59805   2C4RDGEG0KR535316   Chrysler       GR                  Rockville Centr           NY
59806   2C4RDGEG0KR535333   Chrysler       GR                  HOUSTON                   TX
59807   2C4RDGEG0KR535347   Chrysler       GR                  BLOOMINGTON               IL
59808   2C4RDGEG0KR535381   Chrysler       GR                  North Dighton             MA
59809   2C4RDGEG0KR535414   Chrysler       GR                  STERLING                  VA
59810   2C4RDGEG0KR535428   Chrysler       GR                  WEST PALM BEACH           FL
59811   2C4RDGEG0KR535431   Chrysler       GR                  JACKSON                   MS
59812   2C4RDGEG0KR535445   Chrysler       GR                  LAS VEGAS                 NV
59813   2C4RDGEG0KR535459   Chrysler       GR                  RALEIGH                   NC
59814   2C4RDGEG0KR535462   Chrysler       GR                  RONKONKOMA                NY
59815   2C4RDGEG0KR535509   Chrysler       GR                  BALTIMORE                 MD
59816   2C4RDGEG0KR535512   Chrysler       GR                  MARIETTA                  GA
59817   2C4RDGEG0KR535526   Chrysler       GR                  LOS ANGELES               CA
59818   2C4RDGEG0KR535560   Chrysler       GR                  PHOENIX                   AZ
59819   2C4RDGEG0KR535591   Chrysler       GR                  Manheim                   PA
59820   2C4RDGEG0KR535610   Chrysler       GR                  TAMPA                     FL
59821   2C4RDGEG0KR535624   Chrysler       GR                  TAMPA                     FL
59822   2C4RDGEG0KR535638   Chrysler       GR                  WEST PALM BEACH           FL
59823   2C4RDGEG0KR535641   Chrysler       GR                  Manheim                   PA
59824   2C4RDGEG0KR535655   Chrysler       GR                  Detroit                   MI
59825   2C4RDGEG0KR535669   Chrysler       GR                  LOS ANGELES               CA
59826   2C4RDGEG0KR535672   Chrysler       GR                  WEST COLUMBIA             SC
59827   2C4RDGEG0KR535686   Chrysler       GR                  WEST PALM BEACH           FL
59828   2C4RDGEG0KR535705   Chrysler       GR                  PHOENIX                   AZ
59829   2C4RDGEG0KR535753   Chrysler       GR                  QUINCY                    MA
59830   2C4RDGEG0KR535767   Chrysler       GR                  Oceanside                 CA
59831   2C4RDGEG0KR535770   Chrysler       GR                  LAS VEGAS                 NV
59832   2C4RDGEG0KR536370   Chrysler       GR                  Kapolei                   HI
59833   2C4RDGEG0KR537969   Chrysler       GR                  RALIEGH                   NC
59834   2C4RDGEG0KR537972   Chrysler       GR                  DES MOINES                IA
59835   2C4RDGEG0KR538023   Chrysler       GR                  DENVER                    CO
59836   2C4RDGEG0KR538054   Chrysler       GR                  LAS VEGAS                 NV
59837   2C4RDGEG0KR538068   Chrysler       GR                  LOS ANGELES               CA
59838   2C4RDGEG0KR538071   Chrysler       GR                  PHOENIX                   AZ
59839   2C4RDGEG0KR538099   Chrysler       GR                  DENVER                    CO
59840   2C4RDGEG0KR538118   Chrysler       GR                  PITTSBURGH                PA
59841   2C4RDGEG0KR538121   Chrysler       GR                  ORLANDO                   FL
59842   2C4RDGEG0KR538135   Chrysler       GR                  Lexington                 KY
59843   2C4RDGEG0KR538166   Chrysler       GR                  North Dighton             MA
59844   2C4RDGEG0KR538183   Chrysler       GR                  Miami                     FL
59845   2C4RDGEG0KR538197   Chrysler       GR                  ORLANDO                   FL
59846   2C4RDGEG0KR538202   Chrysler       GR                  WARWICK                   RI
59847   2C4RDGEG0KR538216   Chrysler       GR                  ORLANDO                   FL
59848   2C4RDGEG0KR538247   Chrysler       GR                  JAMAICA                   NY
59849   2C4RDGEG0KR538278   Chrysler       GR                  TUCSON                    AZ
59850   2C4RDGEG0KR538281   Chrysler       GR                  SAN ANTONIO               TX
59851   2C4RDGEG0KR538295   Chrysler       GR                  Hattiesburg               MS
59852   2C4RDGEG0KR538314   Chrysler       GR                  Stockton                  CA
59853   2C4RDGEG0KR538328   Chrysler       GR                  PHOENIX                   AZ
59854   2C4RDGEG0KR538362   Chrysler       GR                  AUSTIN                    TX
59855   2C4RDGEG0KR556358   Chrysler       GR                  Chicago                   IL
59856   2C4RDGEG0KR556361   Chrysler       GR                  TAMPA                     FL
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59857   2C4RDGEG0KR556375   Chrysler       GR                  ORLANDO                   FL
59858   2C4RDGEG0KR556389   Chrysler       GR                  MIAMI                     FL
59859   2C4RDGEG0KR556408   Chrysler       GR                  MIAMI                     FL
59860   2C4RDGEG0KR556439   Chrysler       GR                  BOSTON                    MA
59861   2C4RDGEG0KR556442   Chrysler       GR                  ORLANDO                   FL
59862   2C4RDGEG0KR556456   Chrysler       GR                  Manheim                   PA
59863   2C4RDGEG0KR556473   Chrysler       GR                  ORLANDO                   FL
59864   2C4RDGEG0KR567800   Chrysler       GR                  LOS ANGELES               CA
59865   2C4RDGEG0KR567828   Chrysler       GR                  San Diego                 CA
59866   2C4RDGEG0KR567831   Chrysler       GR                  LAS VEGAS                 NV
59867   2C4RDGEG0KR567859   Chrysler       GR                  ATLANTA                   GA
59868   2C4RDGEG0KR567862   Chrysler       GR                  Jacksonville              FL
59869   2C4RDGEG0KR567909   Chrysler       GR                  ORLANDO                   FL
59870   2C4RDGEG0KR567957   Chrysler       GR                  TUCSON                    AZ
59871   2C4RDGEG0KR567974   Chrysler       GR                  HARRISBURG                PA
59872   2C4RDGEG0KR567988   Chrysler       GR                  Dania                     FL
59873   2C4RDGEG0KR567991   Chrysler       GR                  LOS ANGELES               CA
59874   2C4RDGEG0KR568025   Chrysler       GR                  SAN JOSE                  CA
59875   2C4RDGEG0KR568042   Chrysler       GR                  SAN DIEGO                 CA
59876   2C4RDGEG0KR568090   Chrysler       GR                  LOS ANGELES               CA
59877   2C4RDGEG0KR570891   Chrysler       GR                  RALIEGH                   NC
59878   2C4RDGEG0KR570941   Chrysler       GR                  Portland                  OR
59879   2C4RDGEG0KR570955   Chrysler       GR                  SAN JOSE                  CA
59880   2C4RDGEG0KR571006   Chrysler       GR                  Atlanta                   GA
59881   2C4RDGEG0KR571037   Chrysler       GR                  RONKONKOMA                NY
59882   2C4RDGEG0KR571040   Chrysler       GR                  HARTFORD                  CT
59883   2C4RDGEG0KR571054   Chrysler       GR                  ORLANDO                   FL
59884   2C4RDGEG0KR571068   Chrysler       GR                  TAMPA                     US
59885   2C4RDGEG0KR571071   Chrysler       GR                  COCOA                     FL
59886   2C4RDGEG0KR571099   Chrysler       GR                  Aurora                    CO
59887   2C4RDGEG0KR571135   Chrysler       GR                  ORLANDO                   FL
59888   2C4RDGEG0KR571149   Chrysler       GR                  FORT MYERS                FL
59889   2C4RDGEG0KR571152   Chrysler       GR                  WEST PALM BEACH           FL
59890   2C4RDGEG0KR571166   Chrysler       GR                  Hanover                   MD
59891   2C4RDGEG0KR571183   Chrysler       GR                  Hartford                  CT
59892   2C4RDGEG0KR571197   Chrysler       GR                  ORLANDO                   FL
59893   2C4RDGEG0KR571202   Chrysler       GR                  FORT LAUDERDALE           FL
59894   2C4RDGEG0KR571233   Chrysler       GR                  HARTFORD                  CT
59895   2C4RDGEG0KR571250   Chrysler       GR                  WEST PALM BEACH           FL
59896   2C4RDGEG0KR571278   Chrysler       GR                  FORT MYERS                FL
59897   2C4RDGEG0KR571281   Chrysler       GR                  TAMPA                     US
59898   2C4RDGEG0KR571295   Chrysler       GR                  ORLANDO                   FL
59899   2C4RDGEG0KR571300   Chrysler       GR                  PENSACOLA                 FL
59900   2C4RDGEG0KR571328   Chrysler       GR                  Miami                     FL
59901   2C4RDGEG0KR571331   Chrysler       GR                  FAYETTEVILLE              GA
59902   2C4RDGEG0KR571359   Chrysler       GR                  FORT LAUDERDALE           FL
59903   2C4RDGEG0KR571393   Chrysler       GR                  NORFOLK                   VA
59904   2C4RDGEG0KR571491   Chrysler       GR                  LOS ANGELES               CA
59905   2C4RDGEG0KR571507   Chrysler       GR                  Houston                   TX
59906   2C4RDGEG0KR571524   Chrysler       GR                  Aurora                    CO
59907   2C4RDGEG0KR577906   Chrysler       GR                  STERLING                  VA
59908   2C4RDGEG0KR577923   Chrysler       GR                  FORT MYERS                FL
59909   2C4RDGEG0KR577937   Chrysler       GR                  TAMPA                     US
59910   2C4RDGEG0KR577940   Chrysler       GR                  FORT MYERS                FL
59911   2C4RDGEG0KR577971   Chrysler       GR                  LOS ANGELES AP            CA
59912   2C4RDGEG0KR578005   Chrysler       GR                  MEMPHIS                   TN
59913   2C4RDGEG0KR578022   Chrysler       GR                  ORLANDO                   FL
59914   2C4RDGEG0KR578053   Chrysler       GR                  ORLANDO                   FL
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59915   2C4RDGEG0KR591031   Chrysler       GR                  SAN ANTONIO               TX
59916   2C4RDGEG0KR594463   Chrysler       GR                  SHREVEPORT                LA
59917   2C4RDGEG0KR594608   Chrysler       GR                  ORLANDO                   FL
59918   2C4RDGEG0KR616963   Chrysler       GR                  CHICAGO                   IL
59919   2C4RDGEG0KR616977   Chrysler       GR                  MIAMI                     FL
59920   2C4RDGEG0KR617062   Chrysler       GR                  LOS ANGELES               CA
59921   2C4RDGEG0KR617790   Chrysler       GR                  BOSTON                    MA
59922   2C4RDGEG0KR617840   Chrysler       GR                  EAU CLAIRE                WI
59923   2C4RDGEG0KR617854   Chrysler       GR                  LAS VEGAS                 NV
59924   2C4RDGEG0KR617949   Chrysler       GR                  ORLANDO                   FL
59925   2C4RDGEG0KR618101   Chrysler       GR                  Fontana                   CA
59926   2C4RDGEG0KR618115   Chrysler       GR                  Schaumburg                IL
59927   2C4RDGEG0KR618146   Chrysler       GR                  Fontana                   CA
59928   2C4RDGEG0KR618258   Chrysler       GR                  Warr Acres                OK
59929   2C4RDGEG0KR630653   Chrysler       GR                  BURBANK                   CA
59930   2C4RDGEG0KR630698   Chrysler       GR                  Memphis                   TN
59931   2C4RDGEG0KR630801   Chrysler       GR                  ST Paul                   MN
59932   2C4RDGEG0KR630975   Chrysler       GR                  LAS VEGAS                 NV
59933   2C4RDGEG0KR631091   Chrysler       GR                  SACRAMENTO                CA
59934   2C4RDGEG0KR631141   Chrysler       GR                  WARWICK                   RI
59935   2C4RDGEG0KR631169   Chrysler       GR                  DALLAS                    TX
59936   2C4RDGEG0KR634010   Chrysler       GR                  Atlanta                   GA
59937   2C4RDGEG0KR634069   Chrysler       GR                  HOUSTON                   TX
59938   2C4RDGEG0KR636999   Chrysler       GR                  LAS VEGAS                 NV
59939   2C4RDGEG0KR637053   Chrysler       GR                  Detroit                   MI
59940   2C4RDGEG0KR640339   Chrysler       GR                  SARASOTA                  FL
59941   2C4RDGEG0KR640406   Chrysler       GR                  KNOXVILLE                 TN
59942   2C4RDGEG0KR640499   Chrysler       GR                  Atlanta                   GA
59943   2C4RDGEG0KR640633   Chrysler       GR                  SAN DIEGO                 CA
59944   2C4RDGEG0KR640681   Chrysler       GR                  SANTA ANA                 CA
59945   2C4RDGEG0KR640695   Chrysler       GR                  LOS ANGELES               CA
59946   2C4RDGEG0KR640759   Chrysler       GR                  ONTARIO                   CA
59947   2C4RDGEG0KR640826   Chrysler       GR                  MCALLEN                   TX
59948   2C4RDGEG0KR640891   Chrysler       GR                  ORLANDO                   FL
59949   2C4RDGEG0KR641023   Chrysler       GR                  ATLANTA                   GA
59950   2C4RDGEG0KR641068   Chrysler       GR                  BIRMINGHAM                AL
59951   2C4RDGEG0KR641121   Chrysler       GR                  Killeen                   TX
59952   2C4RDGEG0KR641197   Chrysler       GR                  KENNER                    LA
59953   2C4RDGEG0KR641233   Chrysler       GR                  GYPSUM                    CO
59954   2C4RDGEG0KR641250   Chrysler       GR                  Atlanta                   GA
59955   2C4RDGEG0KR641281   Chrysler       GR                  Fontana                   CA
59956   2C4RDGEG0KR641295   Chrysler       GR                  BIRMINGHAM                AL
59957   2C4RDGEG0KR641362   Chrysler       GR                  Detroit                   MI
59958   2C4RDGEG0KR641409   Chrysler       GR                  Rockville Centr           NY
59959   2C4RDGEG0KR641412   Chrysler       GR                  FORT MYERS                FL
59960   2C4RDGEG0KR641507   Chrysler       GR                  MEMPHIS                   TN
59961   2C4RDGEG0KR641510   Chrysler       GR                  TAMPA                     FL
59962   2C4RDGEG0KR645959   Chrysler       GR                  LOS ANGELES               CA
59963   2C4RDGEG0KR646013   Chrysler       GR                  CHICAGO                   IL
59964   2C4RDGEG0KR646044   Chrysler       GR                  JACKSON                   MS
59965   2C4RDGEG0KR646058   Chrysler       GR                  PALM SPRINGS              CA
59966   2C4RDGEG0KR646125   Chrysler       GR                  TAMPA                     FL
59967   2C4RDGEG0KR646139   Chrysler       GR                  Hartford                  CT
59968   2C4RDGEG0KR646156   Chrysler       GR                  Denver                    CO
59969   2C4RDGEG0KR646173   Chrysler       GR                  WEST PALM BEACH           FL
59970   2C4RDGEG0KR646187   Chrysler       GR                  ORLANDO                   FL
59971   2C4RDGEG0KR646190   Chrysler       GR                  TAMPA                     FL
59972   2C4RDGEG0KR646206   Chrysler       GR                  DES MOINES                IA
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59973   2C4RDGEG0KR646223   Chrysler       GR                  FORT LAUDERDALE           FL
59974   2C4RDGEG0KR646268   Chrysler       GR                  NEW BERN                  NC
59975   2C4RDGEG0KR646304   Chrysler       GR                  BURBANK                   CA
59976   2C4RDGEG0KR646321   Chrysler       GR                  BLOOMINGTON               IL
59977   2C4RDGEG0KR646366   Chrysler       GR                  PHOENIX                   AZ
59978   2C4RDGEG0KR646402   Chrysler       GR                  LAS VEGAS                 NV
59979   2C4RDGEG0KR658128   Chrysler       GR                  SANTA ANA                 CA
59980   2C4RDGEG0KR658159   Chrysler       GR                  PALM SPRINGS              CA
59981   2C4RDGEG0KR658260   Chrysler       GR                  GRAND RAPIDS              MI
59982   2C4RDGEG0KR658274   Chrysler       GR                  ATLANTA                   GA
59983   2C4RDGEG0KR658307   Chrysler       GR                  KENNER                    LA
59984   2C4RDGEG0KR658310   Chrysler       GR                  ORLANDO                   FL
59985   2C4RDGEG0KR658372   Chrysler       GR                  CHARLOTTE                 NC
59986   2C4RDGEG0KR658386   Chrysler       GR                  LOS ANGELES               CA
59987   2C4RDGEG0KR658405   Chrysler       GR                  PORTLAND                  ME
59988   2C4RDGEG0KR658470   Chrysler       GR                  AUSTIN                    TX
59989   2C4RDGEG0KR658484   Chrysler       GR                  SAINT LOUIS               MO
59990   2C4RDGEG0KR658517   Chrysler       GR                  PHOENIX                   AZ
59991   2C4RDGEG0KR658520   Chrysler       GR                  WICHITA FALLS             TX
59992   2C4RDGEG0KR658579   Chrysler       GR                  ORLANDO                   FL
59993   2C4RDGEG0KR658601   Chrysler       GR                  ROANOKE                   VA
59994   2C4RDGEG0KR658615   Chrysler       GR                  ROCHESTER                 NY
59995   2C4RDGEG0KR658694   Chrysler       GR                  INDIANAPOLIS              IN
59996   2C4RDGEG0KR658761   Chrysler       GR                  MILWAUKEE                 WI
59997   2C4RDGEG0KR670036   Chrysler       GR                  BOSTON                    MA
59998   2C4RDGEG0KR670084   Chrysler       GR                  CHICAGO                   IL
59999   2C4RDGEG0KR670134   Chrysler       GR                  LITTLE ROCK               AR
60000   2C4RDGEG0KR670148   Chrysler       GR                  FRESNO                    CA
60001   2C4RDGEG0KR670196   Chrysler       GR                  CLARKSVILLE               IN
60002   2C4RDGEG0KR670280   Chrysler       GR                  FORT LAUDERDALE           FL
60003   2C4RDGEG0KR670294   Chrysler       GR                  SAINT PAUL                MN
60004   2C4RDGEG0KR670327   Chrysler       GR                  RICHMOND                  VA
60005   2C4RDGEG0KR670408   Chrysler       GR                  MIAMI                     FL
60006   2C4RDGEG0KR670411   Chrysler       GR                  Atlanta                   GA
60007   2C4RDGEG0KR670473   Chrysler       GR                  MILWAUKEE                 WI
60008   2C4RDGEG0KR670554   Chrysler       GR                  Coraopolis                PA
60009   2C4RDGEG0KR670649   Chrysler       GR                  WEST PALM BEACH           FL
60010   2C4RDGEG0KR673776   Chrysler       GR                  NORFOLK                   VA
60011   2C4RDGEG0KR675995   Chrysler       GR                  Indianapolis              IN
60012   2C4RDGEG0KR676001   Chrysler       GR                  Salt Lake City            UT
60013   2C4RDGEG0KR676032   Chrysler       GR                  DENVER                    CO
60014   2C4RDGEG0KR676063   Chrysler       GR                  LAS VEGAS                 NV
60015   2C4RDGEG0KR676077   Chrysler       GR                  JACKSON                   MS
60016   2C4RDGEG0KR676094   Chrysler       GR                  GRAND RAPIDS              MI
60017   2C4RDGEG0KR682011   Chrysler       GR                  SOUTH BEND                IN
60018   2C4RDGEG0KR687709   Chrysler       GR                  LANCASTER                 OH
60019   2C4RDGEG0KR764773   Chrysler       GR                  Florissant                MO
60020   2C4RDGEG0KR764787   Chrysler       GR                  ST Paul                   MN
60021   2C4RDGEG0KR768810   Chrysler       GR                  PORTLAND                  OR
60022   2C4RDGEG0KR768824   Chrysler       GR                  SEATTLE                   WA
60023   2C4RDGEG0KR769679   Chrysler       GR                  Harvey                    LA
60024   2C4RDGEG0KR769715   Chrysler       GR                  Killeen                   TX
60025   2C4RDGEG1JR140477   Chrysler       GR                  Orlando                   FL
60026   2C4RDGEG1JR140527   Chrysler       GR                  Ocoee                     FL
60027   2C4RDGEG1JR140608   Chrysler       GR                  Ocoee                     FL
60028   2C4RDGEG1JR145257   Chrysler       GR                  Tampa                     FL
60029   2C4RDGEG1JR145260   Chrysler       GR                  DAYTONA BEACH             FL
60030   2C4RDGEG1JR145453   Chrysler       GR                  Albuquerque               NM
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60031   2C4RDGEG1JR150247   Chrysler       GR                  HILO                      HI
60032   2C4RDGEG1JR150264   Chrysler       GR                  TRACY                     CA
60033   2C4RDGEG1JR150278   Chrysler       GR                  LIHUE AP KAUAI            HI
60034   2C4RDGEG1JR150300   Chrysler       GR                  LIHUE AP KAUAI            HI
60035   2C4RDGEG1JR150328   Chrysler       GR                  KAHULUI                   HI
60036   2C4RDGEG1JR150345   Chrysler       GR                  KAHULUI                   HI
60037   2C4RDGEG1JR189338   Chrysler       GR                  Portland                  OR
60038   2C4RDGEG1JR195365   Chrysler       GR                  Hilo                      HI
60039   2C4RDGEG1JR195379   Chrysler       GR                  North Las Vegas           NV
60040   2C4RDGEG1JR195382   Chrysler       GR                  KALAOA                    HI
60041   2C4RDGEG1JR195396   Chrysler       GR                  HILO                      HI
60042   2C4RDGEG1JR195401   Chrysler       GR                  KALAOA                    HI
60043   2C4RDGEG1JR196144   Chrysler       GR                  HILO                      HI
60044   2C4RDGEG1JR237937   Chrysler       GR                  Portland                  OR
60045   2C4RDGEG1JR237940   Chrysler       GR                  TAMPA                     FL
60046   2C4RDGEG1JR237968   Chrysler       GR                  Roseville                 CA
60047   2C4RDGEG1JR238196   Chrysler       GR                  Manheim                   PA
60048   2C4RDGEG1JR238215   Chrysler       GR                  STERLING                  VA
60049   2C4RDGEG1JR254124   Chrysler       GR                  INGLEWOOD                 CA
60050   2C4RDGEG1JR254155   Chrysler       GR                  SAN FRANCISCO             CA
60051   2C4RDGEG1JR254169   Chrysler       GR                  Atlanta                   GA
60052   2C4RDGEG1JR254172   Chrysler       GR                  WEST PALM BEACH           FL
60053   2C4RDGEG1JR254186   Chrysler       GR                  ORLANDO                   FL
60054   2C4RDGEG1JR254222   Chrysler       GR                  Newark                    NJ
60055   2C4RDGEG1JR254284   Chrysler       GR                  ALLENTOWN                 US
60056   2C4RDGEG1JR254429   Chrysler       GR                  PITTSBURGH                PA
60057   2C4RDGEG1JR254527   Chrysler       GR                  Miami                     FL
60058   2C4RDGEG1JR254558   Chrysler       GR                  LAS VEGAS                 NV
60059   2C4RDGEG1JR254592   Chrysler       GR                  Ft. Myers                 FL
60060   2C4RDGEG1JR255516   Chrysler       GR                  Manheim                   PA
60061   2C4RDGEG1JR271747   Chrysler       GR                  Manheim                   PA
60062   2C4RDGEG1JR296051   Chrysler       GR                  DAYTONA BEACH             FL
60063   2C4RDGEG1JR334569   Chrysler       GR                  PHOENIX                   AZ
60064   2C4RDGEG1JR334572   Chrysler       GR                  Detroit                   MI
60065   2C4RDGEG1JR334636   Chrysler       GR                  Memphis                   TN
60066   2C4RDGEG1JR334667   Chrysler       GR                  Torrance                  CA
60067   2C4RDGEG1JR334734   Chrysler       GR                  LAS VEGAS                 NV
60068   2C4RDGEG1JR334748   Chrysler       GR                  LAS VEGAS                 NV
60069   2C4RDGEG1JR334765   Chrysler       GR                  SALT LAKE CITY            UT
60070   2C4RDGEG1JR334796   Chrysler       GR                  DAYTONA BEACH             FL
60071   2C4RDGEG1JR340923   Chrysler       GR                  CLEVELAND                 OH
60072   2C4RDGEG1KR533087   Chrysler       GR                  AUSTIN                    TX
60073   2C4RDGEG1KR533106   Chrysler       GR                  ONTARIO                   CA
60074   2C4RDGEG1KR533588   Chrysler       GR                  NORFOLK                   VA
60075   2C4RDGEG1KR533624   Chrysler       GR                  Detroit                   MI
60076   2C4RDGEG1KR533641   Chrysler       GR                  SEATTLE                   WA
60077   2C4RDGEG1KR533669   Chrysler       GR                  AUSTIN                    TX
60078   2C4RDGEG1KR533686   Chrysler       GR                  SANTA ANA                 CA
60079   2C4RDGEG1KR533705   Chrysler       GR                  Ventura                   CA
60080   2C4RDGEG1KR533736   Chrysler       GR                  PHOENIX                   AZ
60081   2C4RDGEG1KR533770   Chrysler       GR                  SAN JOSE                  CA
60082   2C4RDGEG1KR533803   Chrysler       GR                  DENVER                    CO
60083   2C4RDGEG1KR533817   Chrysler       GR                  LOS ANGELES AP            CA
60084   2C4RDGEG1KR533834   Chrysler       GR                  LAS VEGAS                 NV
60085   2C4RDGEG1KR533851   Chrysler       GR                  NORTH HILLS               CA
60086   2C4RDGEG1KR533865   Chrysler       GR                  Hayward                   CA
60087   2C4RDGEG1KR533879   Chrysler       GR                  MCALLEN                   TX
60088   2C4RDGEG1KR533882   Chrysler       GR                  Sacramento                CA
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60089   2C4RDGEG1KR533901   Chrysler       GR                  PALM SPRINGS              CA
60090   2C4RDGEG1KR533915   Chrysler       GR                  Denver                    CO
60091   2C4RDGEG1KR533929   Chrysler       GR                  SAN DIEGO                 CA
60092   2C4RDGEG1KR533932   Chrysler       GR                  Miami                     FL
60093   2C4RDGEG1KR533977   Chrysler       GR                  PHOENIX                   AZ
60094   2C4RDGEG1KR533980   Chrysler       GR                  TAMPA                     FL
60095   2C4RDGEG1KR534000   Chrysler       GR                  MIDLAND                   TX
60096   2C4RDGEG1KR534014   Chrysler       GR                  LAS VEGAS                 NV
60097   2C4RDGEG1KR534028   Chrysler       GR                  SAN DIEGO                 CA
60098   2C4RDGEG1KR534031   Chrysler       GR                  PHOENIX                   AZ
60099   2C4RDGEG1KR534045   Chrysler       GR                  SAN DIEGO                 CA
60100   2C4RDGEG1KR534062   Chrysler       GR                  LOS ANGELES               CA
60101   2C4RDGEG1KR534093   Chrysler       GR                  FRESNO                    CA
60102   2C4RDGEG1KR534126   Chrysler       GR                  Hayward                   CA
60103   2C4RDGEG1KR534210   Chrysler       GR                  PHOENIX                   AZ
60104   2C4RDGEG1KR534224   Chrysler       GR                  EL SEGUNDO                CA
60105   2C4RDGEG1KR534269   Chrysler       GR                  FORT LAUDERDALE           FL
60106   2C4RDGEG1KR534272   Chrysler       GR                  ORLANDO                   FL
60107   2C4RDGEG1KR534286   Chrysler       GR                  ATLANTA                   GA
60108   2C4RDGEG1KR534319   Chrysler       GR                  FORT LAUDERDALE           FL
60109   2C4RDGEG1KR534322   Chrysler       GR                  ORLANDO                   FL
60110   2C4RDGEG1KR534336   Chrysler       GR                  STERLING                  VA
60111   2C4RDGEG1KR534353   Chrysler       GR                  ORLANDO                   FL
60112   2C4RDGEG1KR534367   Chrysler       GR                  FORT LAUDERDALE           FL
60113   2C4RDGEG1KR534384   Chrysler       GR                  FORT LAUDERDALE           FL
60114   2C4RDGEG1KR534398   Chrysler       GR                  WEST PALM BEACH           FL
60115   2C4RDGEG1KR534417   Chrysler       GR                  ORLANDO                   FL
60116   2C4RDGEG1KR534434   Chrysler       GR                  HOUSTON                   TX
60117   2C4RDGEG1KR534479   Chrysler       GR                  TAMPA                     FL
60118   2C4RDGEG1KR534496   Chrysler       GR                  TAMPA                     FL
60119   2C4RDGEG1KR534501   Chrysler       GR                  CLEVELAND                 OH
60120   2C4RDGEG1KR534529   Chrysler       GR                  Atlanta                   GA
60121   2C4RDGEG1KR534532   Chrysler       GR                  FORT LAUDERDALE           FL
60122   2C4RDGEG1KR534563   Chrysler       GR                  JAMAICA                   NY
60123   2C4RDGEG1KR534577   Chrysler       GR                  HOUSTON                   TX
60124   2C4RDGEG1KR534580   Chrysler       GR                  Jacksonville              FL
60125   2C4RDGEG1KR534594   Chrysler       GR                  ORLANDO                   FL
60126   2C4RDGEG1KR534627   Chrysler       GR                  MIAMI                     FL
60127   2C4RDGEG1KR534644   Chrysler       GR                  MIAMI                     FL
60128   2C4RDGEG1KR534658   Chrysler       GR                  JACKSON                   MS
60129   2C4RDGEG1KR534661   Chrysler       GR                  GROVE CITY                PA
60130   2C4RDGEG1KR534675   Chrysler       GR                  DENVER                    CO
60131   2C4RDGEG1KR534689   Chrysler       GR                  ORLANDO                   FL
60132   2C4RDGEG1KR534692   Chrysler       GR                  DALLAS                    TX
60133   2C4RDGEG1KR534711   Chrysler       GR                  ORLANDO                   FL
60134   2C4RDGEG1KR534725   Chrysler       GR                  ORLANDO                   FL
60135   2C4RDGEG1KR534739   Chrysler       GR                  UNION CITY                GA
60136   2C4RDGEG1KR534742   Chrysler       GR                  WEST PALM BEACH           FL
60137   2C4RDGEG1KR534756   Chrysler       GR                  HARRISBURG                PA
60138   2C4RDGEG1KR534773   Chrysler       GR                  TAMPA                     FL
60139   2C4RDGEG1KR534790   Chrysler       GR                  Atlanta                   GA
60140   2C4RDGEG1KR534806   Chrysler       GR                  TAMPA                     FL
60141   2C4RDGEG1KR534854   Chrysler       GR                  AUGUSTA                   GA
60142   2C4RDGEG1KR534868   Chrysler       GR                  Bensalem                  PA
60143   2C4RDGEG1KR534871   Chrysler       GR                  WEST PALM BEACH           FL
60144   2C4RDGEG1KR534885   Chrysler       GR                  ORLANDO                   FL
60145   2C4RDGEG1KR534935   Chrysler       GR                  Orlando                   FL
60146   2C4RDGEG1KR534952   Chrysler       GR                  ORLANDO                   FL
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60147   2C4RDGEG1KR534966   Chrysler       GR                  CHARLESTON                WV
60148   2C4RDGEG1KR535017   Chrysler       GR                  FORT MYERS                FL
60149   2C4RDGEG1KR535020   Chrysler       GR                  WEST PALM BEACH           FL
60150   2C4RDGEG1KR535065   Chrysler       GR                  ORLANDO                   FL
60151   2C4RDGEG1KR535082   Chrysler       GR                  PHOENIX                   AZ
60152   2C4RDGEG1KR535096   Chrysler       GR                  Hendersonville            TN
60153   2C4RDGEG1KR535101   Chrysler       GR                  OKLAHOMA CITY             OK
60154   2C4RDGEG1KR535115   Chrysler       GR                  LAS VEGAS                 NV
60155   2C4RDGEG1KR535129   Chrysler       GR                  White Plains              NY
60156   2C4RDGEG1KR535177   Chrysler       GR                  SAN ANTONIO               TX
60157   2C4RDGEG1KR535194   Chrysler       GR                  TAMPA                     FL
60158   2C4RDGEG1KR535258   Chrysler       GR                  ORLANDO                   FL
60159   2C4RDGEG1KR535275   Chrysler       GR                  SANTA ANA                 CA
60160   2C4RDGEG1KR535289   Chrysler       GR                  SAN ANTONIO               TX
60161   2C4RDGEG1KR535292   Chrysler       GR                  HOUSTON                   TX
60162   2C4RDGEG1KR535308   Chrysler       GR                  Atlanta                   GA
60163   2C4RDGEG1KR535373   Chrysler       GR                  NORFOLK                   VA
60164   2C4RDGEG1KR535390   Chrysler       GR                  SAINT LOUIS               MO
60165   2C4RDGEG1KR535454   Chrysler       GR                  BOSTON                    MA
60166   2C4RDGEG1KR535485   Chrysler       GR                  WILMINGTON                NC
60167   2C4RDGEG1KR535521   Chrysler       GR                  PITTSBURGH                PA
60168   2C4RDGEG1KR535552   Chrysler       GR                  TAMPA                     FL
60169   2C4RDGEG1KR535583   Chrysler       GR                  HOUSTON                   TX
60170   2C4RDGEG1KR535602   Chrysler       GR                  GREENVILLE                NC
60171   2C4RDGEG1KR535681   Chrysler       GR                  ORLANDO                   FL
60172   2C4RDGEG1KR535700   Chrysler       GR                  NORFOLK                   VA
60173   2C4RDGEG1KR535714   Chrysler       GR                  WARWICK                   RI
60174   2C4RDGEG1KR535728   Chrysler       GR                  STERLING                  VA
60175   2C4RDGEG1KR535731   Chrysler       GR                  Slidell                   LA
60176   2C4RDGEG1KR535745   Chrysler       GR                  Nashville                 TN
60177   2C4RDGEG1KR535759   Chrysler       GR                  SALT LAKE CITY            UT
60178   2C4RDGEG1KR535762   Chrysler       GR                  SOUTH BEND                IN
60179   2C4RDGEG1KR535826   Chrysler       GR                  WEST PALM BEACH           FL
60180   2C4RDGEG1KR536507   Chrysler       GR                  LIHUE                     HI
60181   2C4RDGEG1KR537933   Chrysler       GR                  FORT LAUDERDALE           FL
60182   2C4RDGEG1KR537950   Chrysler       GR                  SAVANNAH                  GA
60183   2C4RDGEG1KR537981   Chrysler       GR                  TAMPA                     FL
60184   2C4RDGEG1KR538015   Chrysler       GR                  PHOENIX                   AZ
60185   2C4RDGEG1KR538032   Chrysler       GR                  PHOENIX                   AZ
60186   2C4RDGEG1KR538063   Chrysler       GR                  LOS ANGELES               CA
60187   2C4RDGEG1KR538077   Chrysler       GR                  MIAMI                     FL
60188   2C4RDGEG1KR538080   Chrysler       GR                  MIAMI                     FL
60189   2C4RDGEG1KR538127   Chrysler       GR                  Bensalem                  PA
60190   2C4RDGEG1KR538130   Chrysler       GR                  NEW BERN                  NC
60191   2C4RDGEG1KR538144   Chrysler       GR                  CORPUS CHRISTI            TX
60192   2C4RDGEG1KR538158   Chrysler       GR                  BOISE                     US
60193   2C4RDGEG1KR538161   Chrysler       GR                  Atlanta                   GA
60194   2C4RDGEG1KR538175   Chrysler       GR                  ATLANTA                   GA
60195   2C4RDGEG1KR538189   Chrysler       GR                  FORT LAUDERDALE           FL
60196   2C4RDGEG1KR538192   Chrysler       GR                  MIAMI                     FL
60197   2C4RDGEG1KR538208   Chrysler       GR                  KENNER                    LA
60198   2C4RDGEG1KR538211   Chrysler       GR                  Tampa                     FL
60199   2C4RDGEG1KR538225   Chrysler       GR                  Kansas City               MO
60200   2C4RDGEG1KR538287   Chrysler       GR                  JAMAICA                   NY
60201   2C4RDGEG1KR538306   Chrysler       GR                  NEW BERN                  NC
60202   2C4RDGEG1KR538323   Chrysler       GR                  WEST COLUMBIA             SC
60203   2C4RDGEG1KR538337   Chrysler       GR                  FORT LAUDERDALE           FL
60204   2C4RDGEG1KR538354   Chrysler       GR                  TAMPA                     FL
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60205   2C4RDGEG1KR538368   Chrysler       GR                  CHARLOTTE                 NC
60206   2C4RDGEG1KR538371   Chrysler       GR                  PHILADELPHIA              PA
60207   2C4RDGEG1KR556353   Chrysler       GR                  Ronkonkoma                NY
60208   2C4RDGEG1KR556370   Chrysler       GR                  ORLANDO                   FL
60209   2C4RDGEG1KR556384   Chrysler       GR                  BOISE                     US
60210   2C4RDGEG1KR556398   Chrysler       GR                  MIAMI                     FL
60211   2C4RDGEG1KR556403   Chrysler       GR                  ORLANDO                   FL
60212   2C4RDGEG1KR556417   Chrysler       GR                  FORT MYERS                FL
60213   2C4RDGEG1KR556420   Chrysler       GR                  ORLANDO                   FL
60214   2C4RDGEG1KR556448   Chrysler       GR                  WHITE PLAINS              NY
60215   2C4RDGEG1KR556451   Chrysler       GR                  TAMPA                     FL
60216   2C4RDGEG1KR556465   Chrysler       GR                  DENVER                    CO
60217   2C4RDGEG1KR556479   Chrysler       GR                  WEST PALM BEACH           FL
60218   2C4RDGEG1KR567790   Chrysler       GR                  CANOGA PARK               CA
60219   2C4RDGEG1KR567806   Chrysler       GR                  Fontana                   CA
60220   2C4RDGEG1KR567868   Chrysler       GR                  FORT LAUDERDALE           FL
60221   2C4RDGEG1KR567871   Chrysler       GR                  MIAMI                     FL
60222   2C4RDGEG1KR567904   Chrysler       GR                  TAMPA                     FL
60223   2C4RDGEG1KR567921   Chrysler       GR                  LOS ANGELES               CA
60224   2C4RDGEG1KR567966   Chrysler       GR                  KENNER                    LA
60225   2C4RDGEG1KR568003   Chrysler       GR                  LOS ANGELES               CA
60226   2C4RDGEG1KR568017   Chrysler       GR                  LAS VEGAS                 NV
60227   2C4RDGEG1KR568034   Chrysler       GR                  Norwalk                   CA
60228   2C4RDGEG1KR568048   Chrysler       GR                  CHICAGO                   IL
60229   2C4RDGEG1KR568051   Chrysler       GR                  RONKONKOMA                NY
60230   2C4RDGEG1KR568065   Chrysler       GR                  SANTA ANA                 CA
60231   2C4RDGEG1KR568096   Chrysler       GR                  SAN DIEGO                 CA
60232   2C4RDGEG1KR568101   Chrysler       GR                  LOS ANGELES               CA
60233   2C4RDGEG1KR570981   Chrysler       GR                  WEST PALM BEACH           FL
60234   2C4RDGEG1KR570995   Chrysler       GR                  TAMPA                     FL
60235   2C4RDGEG1KR571001   Chrysler       GR                  ORLANDO                   FL
60236   2C4RDGEG1KR571015   Chrysler       GR                  FORT MYERS                FL
60237   2C4RDGEG1KR571029   Chrysler       GR                  MIAMI                     FL
60238   2C4RDGEG1KR571046   Chrysler       GR                  Latham                    NY
60239   2C4RDGEG1KR571077   Chrysler       GR                  Miami                     FL
60240   2C4RDGEG1KR571080   Chrysler       GR                  TALLAHASSEE               F
60241   2C4RDGEG1KR571094   Chrysler       GR                  TAMPA                     FL
60242   2C4RDGEG1KR571127   Chrysler       GR                  MIAMI                     FL
60243   2C4RDGEG1KR571130   Chrysler       GR                  MYRTLE BEACH              SC
60244   2C4RDGEG1KR571144   Chrysler       GR                  ORLANDO                   FL
60245   2C4RDGEG1KR571158   Chrysler       GR                  ORLANDO                   FL
60246   2C4RDGEG1KR571161   Chrysler       GR                  FORT MYERS                FL
60247   2C4RDGEG1KR571175   Chrysler       GR                  FORT LAUDERDALE           FL
60248   2C4RDGEG1KR571189   Chrysler       GR                  TAMPA                     FL
60249   2C4RDGEG1KR571208   Chrysler       GR                  KANSAS CITY               MO
60250   2C4RDGEG1KR571211   Chrysler       GR                  ORLANDO                   FL
60251   2C4RDGEG1KR571225   Chrysler       GR                  FORT LAUDERDALE           FL
60252   2C4RDGEG1KR571239   Chrysler       GR                  STERLING                  VA
60253   2C4RDGEG1KR571242   Chrysler       GR                  FORT LAUDERDALE           FL
60254   2C4RDGEG1KR571306   Chrysler       GR                  Atlanta                   GA
60255   2C4RDGEG1KR571340   Chrysler       GR                  FORT LAUDERDALE           FL
60256   2C4RDGEG1KR571371   Chrysler       GR                  Fontana                   CA
60257   2C4RDGEG1KR571385   Chrysler       GR                  NEW YORK CITY             NY
60258   2C4RDGEG1KR571404   Chrysler       GR                  MEMPHIS                   TN
60259   2C4RDGEG1KR571466   Chrysler       GR                  Miami                     FL
60260   2C4RDGEG1KR571483   Chrysler       GR                  KENNER                    LA
60261   2C4RDGEG1KR571502   Chrysler       GR                  Harvey                    LA
60262   2C4RDGEG1KR577865   Chrysler       GR                  Atlanta                   GA
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60263   2C4RDGEG1KR577879   Chrysler       GR                  GREENSBORO                NC
60264   2C4RDGEG1KR577901   Chrysler       GR                  WEST PALM BEACH           FL
60265   2C4RDGEG1KR577932   Chrysler       GR                  FORT MYERS                FL
60266   2C4RDGEG1KR577946   Chrysler       GR                  FORT LAUDERDALE           FL
60267   2C4RDGEG1KR577963   Chrysler       GR                  ORLANDO                   FL
60268   2C4RDGEG1KR577980   Chrysler       GR                  MIAMI                     FL
60269   2C4RDGEG1KR578000   Chrysler       GR                  OKLAHOMA CITY             OK
60270   2C4RDGEG1KR578045   Chrysler       GR                  CHICAGO                   IL
60271   2C4RDGEG1KR594455   Chrysler       GR                  Atlanta                   GA
60272   2C4RDGEG1KR616924   Chrysler       GR                  KANSAS CITY               MO
60273   2C4RDGEG1KR616955   Chrysler       GR                  SAN ANTONIO               TX
60274   2C4RDGEG1KR616986   Chrysler       GR                  Dallas                    TX
60275   2C4RDGEG1KR617023   Chrysler       GR                  ST Paul                   MN
60276   2C4RDGEG1KR617068   Chrysler       GR                  Kansas City               MO
60277   2C4RDGEG1KR617796   Chrysler       GR                  SARASOTA                  FL
60278   2C4RDGEG1KR617846   Chrysler       GR                  Bridgeton                 MO
60279   2C4RDGEG1KR618057   Chrysler       GR                  ONTARIO, RIVERSIDE        CA
60280   2C4RDGEG1KR618060   Chrysler       GR                  MIAMI                     FL
60281   2C4RDGEG1KR618074   Chrysler       GR                  BURBANK                   CA
60282   2C4RDGEG1KR618110   Chrysler       GR                  ST Paul                   MN
60283   2C4RDGEG1KR630807   Chrysler       GR                  Atlanta                   GA
60284   2C4RDGEG1KR630841   Chrysler       GR                  PITTSBURGH                PA
60285   2C4RDGEG1KR630869   Chrysler       GR                  North Dighton             MA
60286   2C4RDGEG1KR630872   Chrysler       GR                  PORTLAND                  ME
60287   2C4RDGEG1KR630886   Chrysler       GR                  LAS VEGAS                 NV
60288   2C4RDGEG1KR630922   Chrysler       GR                  MEMPHIS                   TN
60289   2C4RDGEG1KR631052   Chrysler       GR                  Denver                    CO
60290   2C4RDGEG1KR631083   Chrysler       GR                  SAINT LOUIS               MO
60291   2C4RDGEG1KR631178   Chrysler       GR                  Atlanta                   GA
60292   2C4RDGEG1KR634016   Chrysler       GR                  TAMPA                     FL
60293   2C4RDGEG1KR634047   Chrysler       GR                  HOUSTON                   TX
60294   2C4RDGEG1KR636946   Chrysler       GR                  HOUSTON                   TX
60295   2C4RDGEG1KR636963   Chrysler       GR                  ORLANDO                   FL
60296   2C4RDGEG1KR637000   Chrysler       GR                  TAMPA                     FL
60297   2C4RDGEG1KR637062   Chrysler       GR                  Mount Juliet              TN
60298   2C4RDGEG1KR640317   Chrysler       GR                  SAN DIEGO                 CA
60299   2C4RDGEG1KR640320   Chrysler       GR                  LAS VEGAS                 NV
60300   2C4RDGEG1KR640396   Chrysler       GR                  SAN DIEGO                 CA
60301   2C4RDGEG1KR640608   Chrysler       GR                  LOS ANGELES               CA
60302   2C4RDGEG1KR640673   Chrysler       GR                  NEW BERN                  NC
60303   2C4RDGEG1KR640849   Chrysler       GR                  Wichita                   KS
60304   2C4RDGEG1KR640902   Chrysler       GR                  CHARLOTTE                 NC
60305   2C4RDGEG1KR640950   Chrysler       GR                  ORANGE COUNTY             CA
60306   2C4RDGEG1KR641015   Chrysler       GR                  MOBILE                    A
60307   2C4RDGEG1KR641094   Chrysler       GR                  AUSTIN                    TX
60308   2C4RDGEG1KR641127   Chrysler       GR                  San Antonio               TX
60309   2C4RDGEG1KR641144   Chrysler       GR                  CHICAGO                   IL
60310   2C4RDGEG1KR641158   Chrysler       GR                  CORPUS CHRISTI            TX
60311   2C4RDGEG1KR641161   Chrysler       GR                  SAN DIEGO                 CA
60312   2C4RDGEG1KR641211   Chrysler       GR                  ORLANDO                   FL
60313   2C4RDGEG1KR641273   Chrysler       GR                  ORLANDO                   FL
60314   2C4RDGEG1KR641290   Chrysler       GR                  Detroit                   MI
60315   2C4RDGEG1KR641340   Chrysler       GR                  ORLANDO                   FL
60316   2C4RDGEG1KR641368   Chrysler       GR                  FORT MYERS                FL
60317   2C4RDGEG1KR641371   Chrysler       GR                  SYRACUSE                  NY
60318   2C4RDGEG1KR641385   Chrysler       GR                  SAINT LOUIS               MO
60319   2C4RDGEG1KR641466   Chrysler       GR                  JAMAICA                   NY
60320   2C4RDGEG1KR646022   Chrysler       GR                  SAN DIEGO                 CA
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60321   2C4RDGEG1KR646067   Chrysler       GR                  GREENVILLE                NC
60322   2C4RDGEG1KR646070   Chrysler       GR                  Dallas                    TX
60323   2C4RDGEG1KR646084   Chrysler       GR                  RICHMOND                  VA
60324   2C4RDGEG1KR646098   Chrysler       GR                  DAYTONA BEACH             FL
60325   2C4RDGEG1KR646117   Chrysler       GR                  BLOOMINGTON               IL
60326   2C4RDGEG1KR646134   Chrysler       GR                  DENVER                    CO
60327   2C4RDGEG1KR646151   Chrysler       GR                  FORT LAUDERDALE           FL
60328   2C4RDGEG1KR646165   Chrysler       GR                  EAST BOSTON               MA
60329   2C4RDGEG1KR646182   Chrysler       GR                  RICHMOND                  VA
60330   2C4RDGEG1KR646330   Chrysler       GR                  BURBANK                   CA
60331   2C4RDGEG1KR646392   Chrysler       GR                  INDIANAPOLIS              IN
60332   2C4RDGEG1KR658154   Chrysler       GR                  DETROIT                   MI
60333   2C4RDGEG1KR658171   Chrysler       GR                  LAS VEGAS                 NV
60334   2C4RDGEG1KR658347   Chrysler       GR                  STERLING                  VA
60335   2C4RDGEG1KR658350   Chrysler       GR                  MEMPHIS                   TN
60336   2C4RDGEG1KR658476   Chrysler       GR                  ELLWOOD CITY              PA
60337   2C4RDGEG1KR658493   Chrysler       GR                  LOUISVILLE                KY
60338   2C4RDGEG1KR658509   Chrysler       GR                  KANSAS CITY               MO
60339   2C4RDGEG1KR658574   Chrysler       GR                  DETROIT                   MI
60340   2C4RDGEG1KR658607   Chrysler       GR                  MILWAUKEE                 WI
60341   2C4RDGEG1KR658719   Chrysler       GR                  Hartford                  CT
60342   2C4RDGEG1KR658767   Chrysler       GR                  ORLANDO                   FL
60343   2C4RDGEG1KR670031   Chrysler       GR                  LOUISVILLE                KY
60344   2C4RDGEG1KR670143   Chrysler       GR                  ATLANTA                   GA
60345   2C4RDGEG1KR670160   Chrysler       GR                  Charlotte                 NC
60346   2C4RDGEG1KR670188   Chrysler       GR                  Hebron                    KY
60347   2C4RDGEG1KR670210   Chrysler       GR                  ORLANDO                   FL
60348   2C4RDGEG1KR670224   Chrysler       GR                  Atlanta                   GA
60349   2C4RDGEG1KR670238   Chrysler       GR                  INDIANAPOLIS              IN
60350   2C4RDGEG1KR670269   Chrysler       GR                  Hebron                    KY
60351   2C4RDGEG1KR670272   Chrysler       GR                  HOUSTON                   TX
60352   2C4RDGEG1KR670319   Chrysler       GR                  Cleveland                 OH
60353   2C4RDGEG1KR670322   Chrysler       GR                  CHICAGO                   IL
60354   2C4RDGEG1KR670367   Chrysler       GR                  WEST PALM BEACH           FL
60355   2C4RDGEG1KR670417   Chrysler       GR                  CHICAGO                   IL
60356   2C4RDGEG1KR670448   Chrysler       GR                  ALBANY                    N
60357   2C4RDGEG1KR670465   Chrysler       GR                  CHICAGO                   IL
60358   2C4RDGEG1KR670501   Chrysler       GR                  EL PASO                   TX
60359   2C4RDGEG1KR670563   Chrysler       GR                  COLUMBUS                  OH
60360   2C4RDGEG1KR670580   Chrysler       GR                  DENVER                    CO
60361   2C4RDGEG1KR670658   Chrysler       GR                  DETROIT                   MI
60362   2C4RDGEG1KR670689   Chrysler       GR                  DETROIT                   MI
60363   2C4RDGEG1KR673754   Chrysler       GR                  LAS VEGAS                 NV
60364   2C4RDGEG1KR673821   Chrysler       GR                  KANSAS CITY               MO
60365   2C4RDGEG1KR676038   Chrysler       GR                  SAINT PAUL                MN
60366   2C4RDGEG1KR676086   Chrysler       GR                  FORT LAUDERDALE           FL
60367   2C4RDGEG1KR682020   Chrysler       GR                  LEXINGTON                 KY
60368   2C4RDGEG1KR682079   Chrysler       GR                  DETROIT                   MI
60369   2C4RDGEG1KR764684   Chrysler       GR                  FORT MYERS                FL
60370   2C4RDGEG1KR764801   Chrysler       GR                  Indianapolis              IN
60371   2C4RDGEG1KR764832   Chrysler       GR                  Fredericksburg            VA
60372   2C4RDGEG1KR765141   Chrysler       GR                  Smithtown                 NY
60373   2C4RDGEG1KR768699   Chrysler       GR                  SALT LAKE CITY            US
60374   2C4RDGEG1KR769643   Chrysler       GR                  Houston                   TX
60375   2C4RDGEG1KR769710   Chrysler       GR                  Oklahoma City             OK
60376   2C4RDGEG1KR769755   Chrysler       GR                  FORT MYERS                FL
60377   2C4RDGEG1KR770078   Chrysler       GR                  Massapequa                NY
60378   2C4RDGEG1KR770162   Chrysler       GR                  MELROSE PARK              IL
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60379   2C4RDGEG1KR770212   Chrysler       GR                  LIHUE                     HI
60380   2C4RDGEG2HR718029   Chrysler       GR                  DANIA                     FL
60381   2C4RDGEG2JR140519   Chrysler       GR                  TAMPA                     US
60382   2C4RDGEG2JR140648   Chrysler       GR                  DALLAS                    TX
60383   2C4RDGEG2JR140679   Chrysler       GR                  Pasadena                  CA
60384   2C4RDGEG2JR140763   Chrysler       GR                  Kent                      WA
60385   2C4RDGEG2JR145316   Chrysler       GR                  TAMPA                     FL
60386   2C4RDGEG2JR145493   Chrysler       GR                  Norwalk                   CA
60387   2C4RDGEG2JR145767   Chrysler       GR                  Ocoee                     FL
60388   2C4RDGEG2JR146014   Chrysler       GR                  SOUTHEAST DST OFFC        OK
60389   2C4RDGEG2JR150256   Chrysler       GR                  HILO                      HI
60390   2C4RDGEG2JR150273   Chrysler       GR                  KALAOA                    HI
60391   2C4RDGEG2JR150340   Chrysler       GR                  KAHULUI                   HI
60392   2C4RDGEG2JR150385   Chrysler       GR                  North Las Vegas           NV
60393   2C4RDGEG2JR189445   Chrysler       GR                  HILO                      HI
60394   2C4RDGEG2JR195360   Chrysler       GR                  WAIMEA                    HI
60395   2C4RDGEG2JR195374   Chrysler       GR                  HILO                      HI
60396   2C4RDGEG2JR195388   Chrysler       GR                  KAILUA‐KONA               HI
60397   2C4RDGEG2JR195391   Chrysler       GR                  KAILUA KONA               HI
60398   2C4RDGEG2JR196136   Chrysler       GR                  HILO                      HI
60399   2C4RDGEG2JR205028   Chrysler       GR                  CHICAGO                   IL
60400   2C4RDGEG2JR254116   Chrysler       GR                  PHOENIX                   AZ
60401   2C4RDGEG2JR254178   Chrysler       GR                  Pompano Beach             FL
60402   2C4RDGEG2JR254276   Chrysler       GR                  Lake Elsinore             CA
60403   2C4RDGEG2JR254388   Chrysler       GR                  WEST PALM BEACH           FL
60404   2C4RDGEG2JR254410   Chrysler       GR                  Mira Loma                 CA
60405   2C4RDGEG2JR254505   Chrysler       GR                  SEATAC                    WA
60406   2C4RDGEG2JR254567   Chrysler       GR                  Dania                     FL
60407   2C4RDGEG2JR254584   Chrysler       GR                  Manheim                   PA
60408   2C4RDGEG2JR254598   Chrysler       GR                  Ocoee                     FL
60409   2C4RDGEG2JR254634   Chrysler       GR                  RICHMOND                  VA
60410   2C4RDGEG2JR271708   Chrysler       GR                  FORT MYERS                FL
60411   2C4RDGEG2JR271739   Chrysler       GR                  UNION CITY                GA
60412   2C4RDGEG2JR334595   Chrysler       GR                  LAS VEGAS                 NV
60413   2C4RDGEG2JR334600   Chrysler       GR                  FORT LAUDERDALE           FL
60414   2C4RDGEG2JR334614   Chrysler       GR                  CHICAGO                   IL
60415   2C4RDGEG2JR334659   Chrysler       GR                  Anaheim                   CA
60416   2C4RDGEG2JR334760   Chrysler       GR                  DENVER                    CO
60417   2C4RDGEG2KR530327   Chrysler       GR                  WEST PALM BEACH           FL
60418   2C4RDGEG2KR533096   Chrysler       GR                  COLUMBUS                  OH
60419   2C4RDGEG2KR533101   Chrysler       GR                  CHICAGO                   IL
60420   2C4RDGEG2KR533549   Chrysler       GR                  LAS VEGAS                 NV
60421   2C4RDGEG2KR533552   Chrysler       GR                  Oceanside                 CA
60422   2C4RDGEG2KR533583   Chrysler       GR                  SAN DIEGO                 US
60423   2C4RDGEG2KR533597   Chrysler       GR                  RICHMOND                  VA
60424   2C4RDGEG2KR533616   Chrysler       GR                  BOISE                     US
60425   2C4RDGEG2KR533633   Chrysler       GR                  HOUSTON                   TX
60426   2C4RDGEG2KR533650   Chrysler       GR                  PHOENIX                   AZ
60427   2C4RDGEG2KR533681   Chrysler       GR                  OAKLAND                   CA
60428   2C4RDGEG2KR533700   Chrysler       GR                  Richmond                  VA
60429   2C4RDGEG2KR533759   Chrysler       GR                  LITTLE ROCK               AR
60430   2C4RDGEG2KR533776   Chrysler       GR                  TUCSON                    AZ
60431   2C4RDGEG2KR533812   Chrysler       GR                  PHOENIX                   AZ
60432   2C4RDGEG2KR533843   Chrysler       GR                  BURBANK                   CA
60433   2C4RDGEG2KR533891   Chrysler       GR                  Phoenix                   AZ
60434   2C4RDGEG2KR533941   Chrysler       GR                  PALM SPRINGS              CA
60435   2C4RDGEG2KR533955   Chrysler       GR                  LAS VEGAS                 NV
60436   2C4RDGEG2KR533969   Chrysler       GR                  TRACY                     CA
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60437   2C4RDGEG2KR534023   Chrysler       GR                  LAS VEGAS                 NV
60438   2C4RDGEG2KR534068   Chrysler       GR                  LAS VEGAS                 NV
60439   2C4RDGEG2KR534104   Chrysler       GR                  Riverside                 CA
60440   2C4RDGEG2KR534118   Chrysler       GR                  SAN JOSE                  CA
60441   2C4RDGEG2KR534149   Chrysler       GR                  SACRAMENTO                CA
60442   2C4RDGEG2KR534152   Chrysler       GR                  LOS ANGELES AP            CA
60443   2C4RDGEG2KR534166   Chrysler       GR                  PHOENIX                   AZ
60444   2C4RDGEG2KR534197   Chrysler       GR                  ORLANDO                   FL
60445   2C4RDGEG2KR534247   Chrysler       GR                  San Francisco             CA
60446   2C4RDGEG2KR534264   Chrysler       GR                  LOS ANGELES               CA
60447   2C4RDGEG2KR534278   Chrysler       GR                  LOS ANGELES               CA
60448   2C4RDGEG2KR534281   Chrysler       GR                  INGLEWOOD                 CA
60449   2C4RDGEG2KR534295   Chrysler       GR                  SANTA ANA                 CA
60450   2C4RDGEG2KR534314   Chrysler       GR                  PORTLAND                  OR
60451   2C4RDGEG2KR534328   Chrysler       GR                  Kansas City               MO
60452   2C4RDGEG2KR534331   Chrysler       GR                  STERLING                  VA
60453   2C4RDGEG2KR534359   Chrysler       GR                  MYRTLE BEACH              SC
60454   2C4RDGEG2KR534362   Chrysler       GR                  SAN ANTONIO               TX
60455   2C4RDGEG2KR534393   Chrysler       GR                  WHITE PLAINS              NY
60456   2C4RDGEG2KR534412   Chrysler       GR                  TAMPA                     FL
60457   2C4RDGEG2KR534426   Chrysler       GR                  KNOXVILLE                 TN
60458   2C4RDGEG2KR534443   Chrysler       GR                  PENSACOLA                 FL
60459   2C4RDGEG2KR534457   Chrysler       GR                  ORLANDO                   FL
60460   2C4RDGEG2KR534507   Chrysler       GR                  OMAHA                     NE
60461   2C4RDGEG2KR534524   Chrysler       GR                  Miami                     FL
60462   2C4RDGEG2KR534538   Chrysler       GR                  Memphis                   TN
60463   2C4RDGEG2KR534541   Chrysler       GR                  TAMPA                     FL
60464   2C4RDGEG2KR534569   Chrysler       GR                  ORLANDO                   FL
60465   2C4RDGEG2KR534572   Chrysler       GR                  BALTIMORE                 MD
60466   2C4RDGEG2KR534586   Chrysler       GR                  SAINT PAUL                MN
60467   2C4RDGEG2KR534605   Chrysler       GR                  NEWARK                    NJ
60468   2C4RDGEG2KR534636   Chrysler       GR                  SAN FRANCISCO             CA
60469   2C4RDGEG2KR534667   Chrysler       GR                  LITTLE ROCK               AR
60470   2C4RDGEG2KR534670   Chrysler       GR                  TAMPA                     FL
60471   2C4RDGEG2KR534684   Chrysler       GR                  ORLANDO                   FL
60472   2C4RDGEG2KR534698   Chrysler       GR                  MIAMI                     FL
60473   2C4RDGEG2KR534703   Chrysler       GR                  WEST PALM BEACH           FL
60474   2C4RDGEG2KR534720   Chrysler       GR                  Atlanta                   GA
60475   2C4RDGEG2KR534734   Chrysler       GR                  LOS ANGELES               CA
60476   2C4RDGEG2KR534748   Chrysler       GR                  DETROIT                   MI
60477   2C4RDGEG2KR534765   Chrysler       GR                  TAMPA                     FL
60478   2C4RDGEG2KR534782   Chrysler       GR                  FORT LAUDERDALE           FL
60479   2C4RDGEG2KR534815   Chrysler       GR                  SYRACUSE                  NY
60480   2C4RDGEG2KR534832   Chrysler       GR                  ORLANDO                   FL
60481   2C4RDGEG2KR534880   Chrysler       GR                  MIAMI                     FL
60482   2C4RDGEG2KR534894   Chrysler       GR                  TAMPA                     FL
60483   2C4RDGEG2KR534944   Chrysler       GR                  Hendersonville            TN
60484   2C4RDGEG2KR534958   Chrysler       GR                  Orlando                   FL
60485   2C4RDGEG2KR534961   Chrysler       GR                  Miami                     FL
60486   2C4RDGEG2KR534975   Chrysler       GR                  FORT MYERS                FL
60487   2C4RDGEG2KR534989   Chrysler       GR                  SALT LAKE CITY            UT
60488   2C4RDGEG2KR535009   Chrysler       GR                  WEST PALM BEACH           FL
60489   2C4RDGEG2KR535026   Chrysler       GR                  DANIA BEACH               FL
60490   2C4RDGEG2KR535043   Chrysler       GR                  ORLANDO                   FL
60491   2C4RDGEG2KR535107   Chrysler       GR                  DETROIT                   MI
60492   2C4RDGEG2KR535110   Chrysler       GR                  ORLANDO                   FL
60493   2C4RDGEG2KR535124   Chrysler       GR                  LITTLE ROCK               AR
60494   2C4RDGEG2KR535138   Chrysler       GR                  TAMPA                     FL
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60495   2C4RDGEG2KR535169   Chrysler       GR                  WHITE PLAINS              NY
60496   2C4RDGEG2KR535219   Chrysler       GR                  ORLANDO                   FL
60497   2C4RDGEG2KR535267   Chrysler       GR                  FORT LAUDERDALE           FL
60498   2C4RDGEG2KR535270   Chrysler       GR                  MIAMI                     FL
60499   2C4RDGEG2KR535284   Chrysler       GR                  TAMPA                     US
60500   2C4RDGEG2KR535298   Chrysler       GR                  ORLANDO                   FL
60501   2C4RDGEG2KR535317   Chrysler       GR                  FORT MYERS                FL
60502   2C4RDGEG2KR535396   Chrysler       GR                  SAN DIEGO                 CA
60503   2C4RDGEG2KR535401   Chrysler       GR                  FORT LAUDERDALE           FL
60504   2C4RDGEG2KR535429   Chrysler       GR                  Jacksonville              FL
60505   2C4RDGEG2KR535477   Chrysler       GR                  Nashville                 TN
60506   2C4RDGEG2KR535480   Chrysler       GR                  PENSACOLA                 FL
60507   2C4RDGEG2KR535527   Chrysler       GR                  MIAMI                     FL
60508   2C4RDGEG2KR535544   Chrysler       GR                  SOUTH BURLINGTO           VT
60509   2C4RDGEG2KR535575   Chrysler       GR                  MORRISVILLE               NC
60510   2C4RDGEG2KR535687   Chrysler       GR                  SANTA FE                  NM
60511   2C4RDGEG2KR535690   Chrysler       GR                  NEWARK                    NJ
60512   2C4RDGEG2KR535723   Chrysler       GR                  Tampa                     FL
60513   2C4RDGEG2KR535737   Chrysler       GR                  Philadelphia              PA
60514   2C4RDGEG2KR535754   Chrysler       GR                  CHARLOTTE                 US
60515   2C4RDGEG2KR535768   Chrysler       GR                  NORFOLK                   VA
60516   2C4RDGEG2KR537939   Chrysler       GR                  SAVANNAH                  GA
60517   2C4RDGEG2KR537956   Chrysler       GR                  SANTA CLARA               CA
60518   2C4RDGEG2KR537987   Chrysler       GR                  ORLANDO                   FL
60519   2C4RDGEG2KR538024   Chrysler       GR                  STERLING                  VA
60520   2C4RDGEG2KR538038   Chrysler       GR                  SAINT PAUL                MN
60521   2C4RDGEG2KR538055   Chrysler       GR                  PHILADELPHIA              PA
60522   2C4RDGEG2KR538069   Chrysler       GR                  MIAMI                     FL
60523   2C4RDGEG2KR538072   Chrysler       GR                  MIAMI                     FL
60524   2C4RDGEG2KR538086   Chrysler       GR                  TAMPA                     FL
60525   2C4RDGEG2KR538105   Chrysler       GR                  Atlanta                   GA
60526   2C4RDGEG2KR538119   Chrysler       GR                  TAMPA                     FL
60527   2C4RDGEG2KR538122   Chrysler       GR                  JAMAICA                   NY
60528   2C4RDGEG2KR538136   Chrysler       GR                  ORLANDO                   FL
60529   2C4RDGEG2KR538153   Chrysler       GR                  COLLEGE PARK              GA
60530   2C4RDGEG2KR538167   Chrysler       GR                  FORT LAUDERDALE           FL
60531   2C4RDGEG2KR538170   Chrysler       GR                  SAINT PAUL                MN
60532   2C4RDGEG2KR538184   Chrysler       GR                  ORLANDO                   FL
60533   2C4RDGEG2KR538198   Chrysler       GR                  COLLEGE PARK              GA
60534   2C4RDGEG2KR538217   Chrysler       GR                  Manheim                   PA
60535   2C4RDGEG2KR538220   Chrysler       GR                  MIAMI                     FL
60536   2C4RDGEG2KR538234   Chrysler       GR                  ORLANDO                   FL
60537   2C4RDGEG2KR538248   Chrysler       GR                  ORLANDO                   FL
60538   2C4RDGEG2KR538265   Chrysler       GR                  Denver                    CO
60539   2C4RDGEG2KR538279   Chrysler       GR                  Tampa                     FL
60540   2C4RDGEG2KR538282   Chrysler       GR                  ORLANDO                   FL
60541   2C4RDGEG2KR538296   Chrysler       GR                  Atlanta                   GA
60542   2C4RDGEG2KR538329   Chrysler       GR                  FORT MYERS                FL
60543   2C4RDGEG2KR538346   Chrysler       GR                  CHARLOTTE                 NC
60544   2C4RDGEG2KR538363   Chrysler       GR                  ORLANDO                   FL
60545   2C4RDGEG2KR556359   Chrysler       GR                  ORLANDO                   FL
60546   2C4RDGEG2KR556362   Chrysler       GR                  WHITE PLAINS              NY
60547   2C4RDGEG2KR556409   Chrysler       GR                  FORT MYERS                FL
60548   2C4RDGEG2KR556412   Chrysler       GR                  DETROIT                   MI
60549   2C4RDGEG2KR556457   Chrysler       GR                  Miami                     FL
60550   2C4RDGEG2KR556460   Chrysler       GR                  GRAND RAPIDS              MI
60551   2C4RDGEG2KR556474   Chrysler       GR                  TAMPA                     FL
60552   2C4RDGEG2KR567796   Chrysler       GR                  SALT LAKE CITY            UT
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60553   2C4RDGEG2KR567846   Chrysler       GR                  WEST PALM BEACH           FL
60554   2C4RDGEG2KR567863   Chrysler       GR                  SALT LAKE CITY            UT
60555   2C4RDGEG2KR567877   Chrysler       GR                  CLEVELAND                 OH
60556   2C4RDGEG2KR567880   Chrysler       GR                  TAMPA                     FL
60557   2C4RDGEG2KR567894   Chrysler       GR
60558   2C4RDGEG2KR567927   Chrysler       GR                  Fontana                   CA
60559   2C4RDGEG2KR567930   Chrysler       GR                  RALIEGH                   NC
60560   2C4RDGEG2KR567958   Chrysler       GR                  Ontario                   CA
60561   2C4RDGEG2KR567992   Chrysler       GR                  PHILADELPHIA              PA
60562   2C4RDGEG2KR568009   Chrysler       GR                  LAS VEGAS                 NV
60563   2C4RDGEG2KR568012   Chrysler       GR                  Warr Acres                OK
60564   2C4RDGEG2KR568026   Chrysler       GR                  SANTA ANA                 CA
60565   2C4RDGEG2KR568043   Chrysler       GR                  SAN DIEGO                 CA
60566   2C4RDGEG2KR568057   Chrysler       GR                  Lake Elsinore             CA
60567   2C4RDGEG2KR568074   Chrysler       GR                  Leesburg                  VA
60568   2C4RDGEG2KR568088   Chrysler       GR                  Jacksonville              FL
60569   2C4RDGEG2KR570858   Chrysler       GR                  SALT LAKE CITY            US
60570   2C4RDGEG2KR570875   Chrysler       GR                  ONTARIO                   CA
60571   2C4RDGEG2KR570892   Chrysler       GR                  LOS ANGELES               CA
60572   2C4RDGEG2KR570908   Chrysler       GR                  PHOENIX                   AZ
60573   2C4RDGEG2KR570925   Chrysler       GR                  Portland                  OR
60574   2C4RDGEG2KR570939   Chrysler       GR                  Stockton                  CA
60575   2C4RDGEG2KR570956   Chrysler       GR                  LAS VEGAS                 NV
60576   2C4RDGEG2KR570987   Chrysler       GR                  PORTLAND                  ME
60577   2C4RDGEG2KR570990   Chrysler       GR                  FORT MYERS                FL
60578   2C4RDGEG2KR571007   Chrysler       GR                  ORLANDO                   FL
60579   2C4RDGEG2KR571010   Chrysler       GR                  ORLANDO                   FL
60580   2C4RDGEG2KR571038   Chrysler       GR                  Davie                     FL
60581   2C4RDGEG2KR571041   Chrysler       GR                  DAVIE                     FL
60582   2C4RDGEG2KR571069   Chrysler       GR                  COLUMBIA                  SC
60583   2C4RDGEG2KR571086   Chrysler       GR                  FORT LAUDERDALE           FL
60584   2C4RDGEG2KR571105   Chrysler       GR                  ORLANDO                   FL
60585   2C4RDGEG2KR571122   Chrysler       GR                  ASHEVILLE                 NC
60586   2C4RDGEG2KR571184   Chrysler       GR                  ORLANDO                   FL
60587   2C4RDGEG2KR571217   Chrysler       GR                  MIAMI                     FL
60588   2C4RDGEG2KR571234   Chrysler       GR                  WEST PALM BEACH           FL
60589   2C4RDGEG2KR571279   Chrysler       GR                  ORLANDO                   FL
60590   2C4RDGEG2KR571282   Chrysler       GR                  ORLANDO                   FL
60591   2C4RDGEG2KR571296   Chrysler       GR                  ORLANDO                   FL
60592   2C4RDGEG2KR571301   Chrysler       GR                  FULLERTON                 CA
60593   2C4RDGEG2KR571377   Chrysler       GR                  WEST PALM BEACH           FL
60594   2C4RDGEG2KR571380   Chrysler       GR                  Atlanta                   GA
60595   2C4RDGEG2KR571427   Chrysler       GR                  ORLANDO                   FL
60596   2C4RDGEG2KR571430   Chrysler       GR                  LAS VEGAS                 NV
60597   2C4RDGEG2KR571475   Chrysler       GR                  KNOXVILLE                 TN
60598   2C4RDGEG2KR571508   Chrysler       GR                  DETROIT                   MI
60599   2C4RDGEG2KR577891   Chrysler       GR                  ORLANDO                   FL
60600   2C4RDGEG2KR577910   Chrysler       GR                  Miami                     FL
60601   2C4RDGEG2KR577941   Chrysler       GR                  NEW BERN                  NC
60602   2C4RDGEG2KR577955   Chrysler       GR                  BOSTON                    MA
60603   2C4RDGEG2KR578037   Chrysler       GR                  KENNER                    LA
60604   2C4RDGEG2KR578040   Chrysler       GR                  LAS VEGAS                 NV
60605   2C4RDGEG2KR578118   Chrysler       GR                  Sacramento                CA
60606   2C4RDGEG2KR616916   Chrysler       GR                  NEW BERN                  NC
60607   2C4RDGEG2KR617015   Chrysler       GR                  NEW ORLEANS               LA
60608   2C4RDGEG2KR617807   Chrysler       GR                  Portland                  OR
60609   2C4RDGEG2KR617810   Chrysler       GR                  SALT LAKE CITY            UT
60610   2C4RDGEG2KR617824   Chrysler       GR                  SANTA ANA                 CA
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60611   2C4RDGEG2KR617855   Chrysler       GR                  KNOXVILLE                 TN
60612   2C4RDGEG2KR617919   Chrysler       GR                  FORT MYERS                FL
60613   2C4RDGEG2KR618035   Chrysler       GR                  Tolleson                  AZ
60614   2C4RDGEG2KR618049   Chrysler       GR                  Memphis                   TN
60615   2C4RDGEG2KR618245   Chrysler       GR                  LOS ANGELES               CA
60616   2C4RDGEG2KR630766   Chrysler       GR                  Hurricane                 WV
60617   2C4RDGEG2KR630802   Chrysler       GR                  KILLEEN                   US
60618   2C4RDGEG2KR630993   Chrysler       GR                  Austin                    TX
60619   2C4RDGEG2KR631027   Chrysler       GR                  SANTA ANA                 CA
60620   2C4RDGEG2KR631058   Chrysler       GR                  LAS VEGAS                 NV
60621   2C4RDGEG2KR631075   Chrysler       GR                  LOS ANGELES               CA
60622   2C4RDGEG2KR631092   Chrysler       GR                  LOS ANGELES               CA
60623   2C4RDGEG2KR631108   Chrysler       GR                  SAN ANTONIO               TX
60624   2C4RDGEG2KR631156   Chrysler       GR                  HOUSTON                   TX
60625   2C4RDGEG2KR631173   Chrysler       GR                  DAYTONA BEACH             FL
60626   2C4RDGEG2KR636941   Chrysler       GR                  Dallas                    TX
60627   2C4RDGEG2KR637054   Chrysler       GR                  SEATAC                    WA
60628   2C4RDGEG2KR637068   Chrysler       GR                  FORT LAUDERDALE           FL
60629   2C4RDGEG2KR637071   Chrysler       GR                  FORT MYERS                FL
60630   2C4RDGEG2KR640388   Chrysler       GR                  LOS ANGELES AP            CA
60631   2C4RDGEG2KR640424   Chrysler       GR                  Parkville                 MD
60632   2C4RDGEG2KR640505   Chrysler       GR                  Manheim                   PA
60633   2C4RDGEG2KR640584   Chrysler       GR                  ONTARIO                   CA
60634   2C4RDGEG2KR640617   Chrysler       GR                  LOS ANGELES               CA
60635   2C4RDGEG2KR640701   Chrysler       GR                  AUSTIN                    TX
60636   2C4RDGEG2KR640715   Chrysler       GR                  RICHMOND                  VA
60637   2C4RDGEG2KR640732   Chrysler       GR                  SAN DIEGO                 CA
60638   2C4RDGEG2KR640746   Chrysler       GR                  WEST COLUMBIA             SC
60639   2C4RDGEG2KR640830   Chrysler       GR                  TAMPA                     FL
60640   2C4RDGEG2KR640925   Chrysler       GR                  NORTH HILLS               CA
60641   2C4RDGEG2KR640956   Chrysler       GR                  DETROIT                   MI
60642   2C4RDGEG2KR641024   Chrysler       GR                  PALM SPRINGS              CA
60643   2C4RDGEG2KR641069   Chrysler       GR                  PALM SPRINGS              CA
60644   2C4RDGEG2KR641119   Chrysler       GR                  KENNER                    LA
60645   2C4RDGEG2KR641170   Chrysler       GR                  SARASOTA                  FL
60646   2C4RDGEG2KR641203   Chrysler       GR                  San Antonio               TX
60647   2C4RDGEG2KR641217   Chrysler       GR                  TAMPA                     FL
60648   2C4RDGEG2KR641413   Chrysler       GR                  GRAND RAPIDS              MI
60649   2C4RDGEG2KR645980   Chrysler       GR                  Denver                    CO
60650   2C4RDGEG2KR646000   Chrysler       GR                  SAINT LOUIS               MO
60651   2C4RDGEG2KR646062   Chrysler       GR                  Atlanta                   GA
60652   2C4RDGEG2KR646093   Chrysler       GR                  ATLANTA AP                GA
60653   2C4RDGEG2KR646109   Chrysler       GR                  DES MOINES                IA
60654   2C4RDGEG2KR646255   Chrysler       GR                  KENNER                    LA
60655   2C4RDGEG2KR646286   Chrysler       GR                  DENVER                    CO
60656   2C4RDGEG2KR646319   Chrysler       GR                  WICHITA FALLS             TX
60657   2C4RDGEG2KR646322   Chrysler       GR                  DETROIT                   MI
60658   2C4RDGEG2KR646367   Chrysler       GR                  DENVER                    CO
60659   2C4RDGEG2KR658115   Chrysler       GR                  SAINT PAUL                MN
60660   2C4RDGEG2KR658163   Chrysler       GR                  LOS ANGELES               CA
60661   2C4RDGEG2KR658325   Chrysler       GR                  DETROIT                   MI
60662   2C4RDGEG2KR658356   Chrysler       GR                  CHICAGO                   IL
60663   2C4RDGEG2KR658387   Chrysler       GR                  AUSTIN                    TX
60664   2C4RDGEG2KR658406   Chrysler       GR                  SARASOTA                  FL
60665   2C4RDGEG2KR658423   Chrysler       GR                  TULSA                     OK
60666   2C4RDGEG2KR658437   Chrysler       GR                  Tolleson                  AZ
60667   2C4RDGEG2KR658499   Chrysler       GR                  KANSAS CITY               MO
60668   2C4RDGEG2KR658504   Chrysler       GR                  JACKSONVILLE              FL
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60669   2C4RDGEG2KR658518   Chrysler       GR                  Chicago                   IL
60670   2C4RDGEG2KR658521   Chrysler       GR                  KANSAS CITY               MO
60671   2C4RDGEG2KR658535   Chrysler       GR                  KANSAS CITY               MO
60672   2C4RDGEG2KR658552   Chrysler       GR                  Omaha                     NE
60673   2C4RDGEG2KR658583   Chrysler       GR                  FORT MYERS                FL
60674   2C4RDGEG2KR658647   Chrysler       GR                  INDIANAPOLIS              IN
60675   2C4RDGEG2KR658695   Chrysler       GR                  BLOOMINGTON               IL
60676   2C4RDGEG2KR658714   Chrysler       GR                  SARASOTA                  FL
60677   2C4RDGEG2KR658762   Chrysler       GR                  CHICAGO                   IL
60678   2C4RDGEG2KR670040   Chrysler       GR                  DETROIT                   MI
60679   2C4RDGEG2KR670054   Chrysler       GR                  NORTH HILLS               CA
60680   2C4RDGEG2KR670068   Chrysler       GR                  SALT LAKE CITY            UT
60681   2C4RDGEG2KR670085   Chrysler       GR                  Lafayette                 LA
60682   2C4RDGEG2KR670104   Chrysler       GR                  Salt Lake City            UT
60683   2C4RDGEG2KR670166   Chrysler       GR                  Davie                     FL
60684   2C4RDGEG2KR670216   Chrysler       GR                  Atlanta                   GA
60685   2C4RDGEG2KR670247   Chrysler       GR                  Atlanta                   GA
60686   2C4RDGEG2KR670300   Chrysler       GR                  CLARKSVILLE               IN
60687   2C4RDGEG2KR670412   Chrysler       GR                  TULSA                     OK
60688   2C4RDGEG2KR670457   Chrysler       GR                  Dallas                    TX
60689   2C4RDGEG2KR670474   Chrysler       GR                  COLUMBUS                  OH
60690   2C4RDGEG2KR670510   Chrysler       GR                  Hamilton                  OH
60691   2C4RDGEG2KR670541   Chrysler       GR                  ORLANDO                   FL
60692   2C4RDGEG2KR670572   Chrysler       GR                  Hebron                    KY
60693   2C4RDGEG2KR670619   Chrysler       GR                  Hebron                    KY
60694   2C4RDGEG2KR670703   Chrysler       GR                  SAN DIEGO                 CA
60695   2C4RDGEG2KR670717   Chrysler       GR                  DETROIT                   MI
60696   2C4RDGEG2KR676002   Chrysler       GR                  KENNER                    LA
60697   2C4RDGEG2KR676016   Chrysler       GR                  Parkville                 MD
60698   2C4RDGEG2KR676033   Chrysler       GR                  NEW BERN                  NC
60699   2C4RDGEG2KR682088   Chrysler       GR                  VANDALIA                  OH
60700   2C4RDGEG2KR760529   Chrysler       GR                  Schaumburg                IL
60701   2C4RDGEG2KR760627   Chrysler       GR                  PITTSBURGH                PA
60702   2C4RDGEG2KR760787   Chrysler       GR                  Kansas City               MO
60703   2C4RDGEG2KR764550   Chrysler       GR                  SAINT PAUL                MN
60704   2C4RDGEG2KR764712   Chrysler       GR                  ST Paul                   MN
60705   2C4RDGEG2KR764788   Chrysler       GR                  CHICAGO                   IL
60706   2C4RDGEG2KR764841   Chrysler       GR                  Nashville                 TN
60707   2C4RDGEG2KR764872   Chrysler       GR                  Tulsa                     OK
60708   2C4RDGEG2KR768565   Chrysler       GR                  Kansas City               MO
60709   2C4RDGEG2KR768727   Chrysler       GR                  CHICAGO                   IL
60710   2C4RDGEG2KR769179   Chrysler       GR                  FORT MYERS                FL
60711   2C4RDGEG2KR769280   Chrysler       GR                  FORT MYERS                FL
60712   2C4RDGEG2KR769652   Chrysler       GR                  Warr Acres                OK
60713   2C4RDGEG3JR140559   Chrysler       GR                  Orlando                   FL
60714   2C4RDGEG3JR150248   Chrysler       GR                  BURBANK                   CA
60715   2C4RDGEG3JR150251   Chrysler       GR                  BURBANK                   CA
60716   2C4RDGEG3JR150265   Chrysler       GR                  HILO                      HI
60717   2C4RDGEG3JR150279   Chrysler       GR                  LIHUE AP KAUAI            HI
60718   2C4RDGEG3JR150282   Chrysler       GR                  LIHUE                     HI
60719   2C4RDGEG3JR150301   Chrysler       GR                  LIHUE                     HI
60720   2C4RDGEG3JR150346   Chrysler       GR                  KAHULUI                   HI
60721   2C4RDGEG3JR172900   Chrysler       GR                  Ventura                   CA
60722   2C4RDGEG3JR189437   Chrysler       GR                  SAN FRANCISCO             CA
60723   2C4RDGEG3JR189440   Chrysler       GR                  KALAOA                    HI
60724   2C4RDGEG3JR189468   Chrysler       GR                  HONOLULU                  HI
60725   2C4RDGEG3JR195366   Chrysler       GR                  KAILUA‐KONA               HI
60726   2C4RDGEG3JR195383   Chrysler       GR                  HILO                      HI
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60727   2C4RDGEG3JR195397   Chrysler       GR                  HILO                      HI
60728   2C4RDGEG3JR195402   Chrysler       GR                  Kailua‐Kona               HI
60729   2C4RDGEG3JR195481   Chrysler       GR                  LAS VEGAS                 NV
60730   2C4RDGEG3JR195674   Chrysler       GR                  DALLAS                    TX
60731   2C4RDGEG3JR195903   Chrysler       GR                  Los Angeles               CA
60732   2C4RDGEG3JR196145   Chrysler       GR                  HILO                      HI
60733   2C4RDGEG3JR196159   Chrysler       GR                  LIHUE                     HI
60734   2C4RDGEG3JR205054   Chrysler       GR                  FORT MYERS                FL
60735   2C4RDGEG3JR205572   Chrysler       GR                  CHANDLER                  AZ
60736   2C4RDGEG3JR213834   Chrysler       GR                  WILMINGTON                NC
60737   2C4RDGEG3JR237938   Chrysler       GR                  DALLAS                    TX
60738   2C4RDGEG3JR238135   Chrysler       GR                  North Dighton             MA
60739   2C4RDGEG3JR254125   Chrysler       GR                  WEST PALM BEACH           FL
60740   2C4RDGEG3JR254187   Chrysler       GR                  Bordentown                NJ
60741   2C4RDGEG3JR254206   Chrysler       GR                  FORT MYERS                FL
60742   2C4RDGEG3JR254514   Chrysler       GR                  DENVER                    CO
60743   2C4RDGEG3JR254562   Chrysler       GR                  Salt Lake City            UT
60744   2C4RDGEG3JR254626   Chrysler       GR                  Bordentown                NJ
60745   2C4RDGEG3JR255517   Chrysler       GR                  Reno                      NV
60746   2C4RDGEG3JR255551   Chrysler       GR                  Davie                     FL
60747   2C4RDGEG3JR271720   Chrysler       GR                  Manheim                   PA
60748   2C4RDGEG3JR280868   Chrysler       GR                  Santa Clara               CA
60749   2C4RDGEG3JR280935   Chrysler       GR                  OAKLAND                   CA
60750   2C4RDGEG3JR296021   Chrysler       GR                  LAS VEGAS                 NV
60751   2C4RDGEG3JR318437   Chrysler       GR                  Reno                      NV
60752   2C4RDGEG3JR318440   Chrysler       GR                  Greensboro                NC
60753   2C4RDGEG3JR334587   Chrysler       GR                  JACKSON                   MS
60754   2C4RDGEG3JR334590   Chrysler       GR                  WARWICK                   RI
60755   2C4RDGEG3JR334606   Chrysler       GR                  PHILADELPHIA              PA
60756   2C4RDGEG3JR334637   Chrysler       GR                  LOS ANGELES               CA
60757   2C4RDGEG3JR334685   Chrysler       GR                  Tolleson                  AZ
60758   2C4RDGEG3JR334749   Chrysler       GR                  Oklahoma City             OK
60759   2C4RDGEG3JR334752   Chrysler       GR                  North Dighton             MA
60760   2C4RDGEG3JR334797   Chrysler       GR                  Manheim                   PA
60761   2C4RDGEG3KR533088   Chrysler       GR                  AUSTIN                    TX
60762   2C4RDGEG3KR533091   Chrysler       GR                  PHOENIX                   AZ
60763   2C4RDGEG3KR533107   Chrysler       GR                  LOS ANGELES               CA
60764   2C4RDGEG3KR533558   Chrysler       GR                  LAS VEGAS                 NV
60765   2C4RDGEG3KR533575   Chrysler       GR                  Winter Park               FL
60766   2C4RDGEG3KR533589   Chrysler       GR                  AUSTIN                    TX
60767   2C4RDGEG3KR533592   Chrysler       GR                  LOS ANGELES               CA
60768   2C4RDGEG3KR533608   Chrysler       GR                  SALT LAKE CITY            US
60769   2C4RDGEG3KR533611   Chrysler       GR                  SALT LAKE CITY            UT
60770   2C4RDGEG3KR533625   Chrysler       GR                  Fresno                    CA
60771   2C4RDGEG3KR533639   Chrysler       GR                  SALT LAKE CITY            UT
60772   2C4RDGEG3KR533687   Chrysler       GR                  PHOENIX                   AZ
60773   2C4RDGEG3KR533706   Chrysler       GR                  ORLANDO                   FL
60774   2C4RDGEG3KR533771   Chrysler       GR                  INGLEWOOD                 CA
60775   2C4RDGEG3KR533785   Chrysler       GR                  WOODLAND HILLS            CA
60776   2C4RDGEG3KR533799   Chrysler       GR                  LOS ANGELES               CA
60777   2C4RDGEG3KR533804   Chrysler       GR                  LAS VEGAS                 NV
60778   2C4RDGEG3KR533821   Chrysler       GR                  LAS VEGAS                 NV
60779   2C4RDGEG3KR533933   Chrysler       GR                  LAS VEGAS                 NV
60780   2C4RDGEG3KR533947   Chrysler       GR                  Salt Lake City            UT
60781   2C4RDGEG3KR533964   Chrysler       GR                  LAS VEGAS                 NV
60782   2C4RDGEG3KR534001   Chrysler       GR                  MIAMI                     FL
60783   2C4RDGEG3KR534032   Chrysler       GR                  SAN FRANCISCO             CA
60784   2C4RDGEG3KR534063   Chrysler       GR                  LOS ANGELES               CA
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60785   2C4RDGEG3KR534113   Chrysler       GR                  LOS ANGELES               CA
60786   2C4RDGEG3KR534130   Chrysler       GR                  PHOENIX                   AZ
60787   2C4RDGEG3KR534144   Chrysler       GR                  PALM SPRINGS              CA
60788   2C4RDGEG3KR534158   Chrysler       GR                  SAN DIEGO                 CA
60789   2C4RDGEG3KR534161   Chrysler       GR                  San Diego                 CA
60790   2C4RDGEG3KR534175   Chrysler       GR                  SAN JOSE                  CA
60791   2C4RDGEG3KR534192   Chrysler       GR                  PHOENIX                   AZ
60792   2C4RDGEG3KR534225   Chrysler       GR                  PHOENIX                   AZ
60793   2C4RDGEG3KR534273   Chrysler       GR                  LAS VEGAS                 NV
60794   2C4RDGEG3KR534287   Chrysler       GR                  PHOENIX                   AZ
60795   2C4RDGEG3KR534340   Chrysler       GR                  DES MOINES                IA
60796   2C4RDGEG3KR534354   Chrysler       GR                  TAMPA                     FL
60797   2C4RDGEG3KR534368   Chrysler       GR                  SARASOTA                  FL
60798   2C4RDGEG3KR534371   Chrysler       GR                  HANOVER                   MD
60799   2C4RDGEG3KR534385   Chrysler       GR                  ORLANDO                   FL
60800   2C4RDGEG3KR534404   Chrysler       GR                  STERLING                  VA
60801   2C4RDGEG3KR534452   Chrysler       GR                  WEST PALM BEACH           FL
60802   2C4RDGEG3KR534466   Chrysler       GR                  FORT MYERS                FL
60803   2C4RDGEG3KR534483   Chrysler       GR                  TAMPA                     FL
60804   2C4RDGEG3KR534497   Chrysler       GR                  ORLANDO                   FL
60805   2C4RDGEG3KR534516   Chrysler       GR                  ORLANDO                   FL
60806   2C4RDGEG3KR534547   Chrysler       GR                  FORT MYERS                FL
60807   2C4RDGEG3KR534550   Chrysler       GR                  TAMPA                     FL
60808   2C4RDGEG3KR534564   Chrysler       GR                  MIAMI                     FL
60809   2C4RDGEG3KR534600   Chrysler       GR                  ORLANDO                   FL
60810   2C4RDGEG3KR534631   Chrysler       GR                  TAMPA                     FL
60811   2C4RDGEG3KR534645   Chrysler       GR                  Manheim                   PA
60812   2C4RDGEG3KR534693   Chrysler       GR                  ORLANDO                   FL
60813   2C4RDGEG3KR534726   Chrysler       GR                  CHICAGO                   IL
60814   2C4RDGEG3KR534743   Chrysler       GR                  MEMPHIS                   TN
60815   2C4RDGEG3KR534757   Chrysler       GR                  WEST PALM BEACH           FL
60816   2C4RDGEG3KR534760   Chrysler       GR                  JACKSONVILLE              FL
60817   2C4RDGEG3KR534791   Chrysler       GR                  ORLANDO                   FL
60818   2C4RDGEG3KR534807   Chrysler       GR                  Miami                     FL
60819   2C4RDGEG3KR534810   Chrysler       GR                  FORT LAUDERDALE           FL
60820   2C4RDGEG3KR534838   Chrysler       GR                  North Dighton             MA
60821   2C4RDGEG3KR534841   Chrysler       GR                  TAMPA                     FL
60822   2C4RDGEG3KR534855   Chrysler       GR                  MORRISVILLE               NC
60823   2C4RDGEG3KR534886   Chrysler       GR                  MONTGOMERY                AL
60824   2C4RDGEG3KR534905   Chrysler       GR                  ORLANDO                   FL
60825   2C4RDGEG3KR534922   Chrysler       GR                  Miami                     FL
60826   2C4RDGEG3KR534953   Chrysler       GR                  FORT LAUDERDALE           FL
60827   2C4RDGEG3KR534967   Chrysler       GR                  NEW BERN                  NC
60828   2C4RDGEG3KR535004   Chrysler       GR                  INDIANAPOLIS              IN
60829   2C4RDGEG3KR535018   Chrysler       GR                  ORLANDO                   FL
60830   2C4RDGEG3KR535021   Chrysler       GR                  ORLANDO                   FL
60831   2C4RDGEG3KR535035   Chrysler       GR                  LOS ANGELES               CA
60832   2C4RDGEG3KR535049   Chrysler       GR                  Dallas                    TX
60833   2C4RDGEG3KR535083   Chrysler       GR                  NEW ORLEANS               LA
60834   2C4RDGEG3KR535097   Chrysler       GR                  SALT LAKE CITY            US
60835   2C4RDGEG3KR535133   Chrysler       GR                  BIRMINGHAM                AL
60836   2C4RDGEG3KR535150   Chrysler       GR                  WEST PALM BEACH           FL
60837   2C4RDGEG3KR535181   Chrysler       GR                  ORLANDO                   FL
60838   2C4RDGEG3KR535195   Chrysler       GR                  Hayward                   CA
60839   2C4RDGEG3KR535200   Chrysler       GR                  FORT MYERS                FL
60840   2C4RDGEG3KR535214   Chrysler       GR                  PHILADELPHIA              PA
60841   2C4RDGEG3KR535228   Chrysler       GR                  GRAND RAPIDS              MI
60842   2C4RDGEG3KR535231   Chrysler       GR                  WEST PALM BEACH           FL
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60843   2C4RDGEG3KR535245   Chrysler       GR                  FORT LAUDERDALE           FL
60844   2C4RDGEG3KR535259   Chrysler       GR                  ORLANDO                   FL
60845   2C4RDGEG3KR535262   Chrysler       GR                  FORT MYERS                FL
60846   2C4RDGEG3KR535276   Chrysler       GR                  FORT LAUDERDALE           FL
60847   2C4RDGEG3KR535312   Chrysler       GR                  DETROIT                   MI
60848   2C4RDGEG3KR535326   Chrysler       GR                  ORLANDO                   FL
60849   2C4RDGEG3KR535374   Chrysler       GR                  ORLANDO                   FL
60850   2C4RDGEG3KR535438   Chrysler       GR                  HARTFORD                  CT
60851   2C4RDGEG3KR535441   Chrysler       GR                  Miami                     FL
60852   2C4RDGEG3KR535455   Chrysler       GR                  ORLANDO                   FL
60853   2C4RDGEG3KR535469   Chrysler       GR                  DANIA BEACH               FL
60854   2C4RDGEG3KR535472   Chrysler       GR                  MIAMI                     FL
60855   2C4RDGEG3KR535486   Chrysler       GR                  PITTSBURGH                PA
60856   2C4RDGEG3KR535519   Chrysler       GR                  Atlanta                   GA
60857   2C4RDGEG3KR535536   Chrysler       GR                  PHOENIX                   AZ
60858   2C4RDGEG3KR535617   Chrysler       GR                  NEW BERN                  NC
60859   2C4RDGEG3KR535634   Chrysler       GR                  SANTA ANA                 CA
60860   2C4RDGEG3KR535648   Chrysler       GR                  WEST PALM BEACH           FL
60861   2C4RDGEG3KR535651   Chrysler       GR                  SAINT PAUL                MN
60862   2C4RDGEG3KR535665   Chrysler       GR                  Miami                     FL
60863   2C4RDGEG3KR535679   Chrysler       GR                  DENVER                    CO
60864   2C4RDGEG3KR535682   Chrysler       GR                  ORLANDO                   FL
60865   2C4RDGEG3KR535696   Chrysler       GR                  Jacksonville              FL
60866   2C4RDGEG3KR535715   Chrysler       GR                  COLUMBUS                  OH
60867   2C4RDGEG3KR535729   Chrysler       GR                  San Diego                 CA
60868   2C4RDGEG3KR535763   Chrysler       GR                  MIAMI                     FL
60869   2C4RDGEG3KR535827   Chrysler       GR                  SAINT PAUL                MN
60870   2C4RDGEG3KR537934   Chrysler       GR                  PHOENIX                   AZ
60871   2C4RDGEG3KR537979   Chrysler       GR                  Smithtown                 NY
60872   2C4RDGEG3KR537982   Chrysler       GR                  LAS VEGAS                 NV
60873   2C4RDGEG3KR537996   Chrysler       GR                  ALBUQUERQUE               NM
60874   2C4RDGEG3KR538033   Chrysler       GR                  AUSTIN                    TX
60875   2C4RDGEG3KR538047   Chrysler       GR                  LOS ANGELES               CA
60876   2C4RDGEG3KR538050   Chrysler       GR                  SEATAC                    WA
60877   2C4RDGEG3KR538078   Chrysler       GR                  FORT LAUDERDALE           FL
60878   2C4RDGEG3KR538100   Chrysler       GR                  WEST PALM BEACH           FL
60879   2C4RDGEG3KR538114   Chrysler       GR                  TAMPA                     FL
60880   2C4RDGEG3KR538128   Chrysler       GR                  Atlanta                   GA
60881   2C4RDGEG3KR538131   Chrysler       GR                  TAMPA                     FL
60882   2C4RDGEG3KR538145   Chrysler       GR                  Jacksonville              FL
60883   2C4RDGEG3KR538162   Chrysler       GR                  Atlanta                   GA
60884   2C4RDGEG3KR538176   Chrysler       GR                  SARASOTA                  FL
60885   2C4RDGEG3KR538212   Chrysler       GR                  DENVER                    CO
60886   2C4RDGEG3KR538260   Chrysler       GR                  Atlanta                   GA
60887   2C4RDGEG3KR538291   Chrysler       GR                  Miami                     FL
60888   2C4RDGEG3KR538307   Chrysler       GR                  FORT LAUDERDALE           FL
60889   2C4RDGEG3KR538310   Chrysler       GR                  CLEVELAND                 OH
60890   2C4RDGEG3KR538338   Chrysler       GR                  Elkridge                  MD
60891   2C4RDGEG3KR538341   Chrysler       GR                  TAMPA                     FL
60892   2C4RDGEG3KR538355   Chrysler       GR                  FORT MYERS                FL
60893   2C4RDGEG3KR556354   Chrysler       GR                  MIAMI                     FL
60894   2C4RDGEG3KR556368   Chrysler       GR                  WEST PALM BEACH           FL
60895   2C4RDGEG3KR556371   Chrysler       GR                  MIAMI                     FL
60896   2C4RDGEG3KR556399   Chrysler       GR                  PHOENIX                   AZ
60897   2C4RDGEG3KR556404   Chrysler       GR                  RALEIGH                   NC
60898   2C4RDGEG3KR556466   Chrysler       GR                  FRESNO                    CA
60899   2C4RDGEG3KR567807   Chrysler       GR                  BURBANK                   CA
60900   2C4RDGEG3KR567841   Chrysler       GR                  ORLANDO                   FL
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60901   2C4RDGEG3KR567869   Chrysler       GR                  ORLANDO                   FL
60902   2C4RDGEG3KR567872   Chrysler       GR                  SARASOTA                  FL
60903   2C4RDGEG3KR567886   Chrysler       GR                  CHATTANOOGA               TN
60904   2C4RDGEG3KR567967   Chrysler       GR                  Santa Clara               CA
60905   2C4RDGEG3KR567984   Chrysler       GR                  MEMPHIS                   TN
60906   2C4RDGEG3KR568004   Chrysler       GR                  LAS VEGAS                 NV
60907   2C4RDGEG3KR568035   Chrysler       GR                  FRESNO                    CA
60908   2C4RDGEG3KR568049   Chrysler       GR                  Louisville                KY
60909   2C4RDGEG3KR568097   Chrysler       GR                  SAN FRANCISCO             CA
60910   2C4RDGEG3KR570867   Chrysler       GR                  PALM SPRINGS              CA
60911   2C4RDGEG3KR570898   Chrysler       GR                  LAS VEGAS                 NV
60912   2C4RDGEG3KR570920   Chrysler       GR                  Fontana                   CA
60913   2C4RDGEG3KR570934   Chrysler       GR                  TAMPA                     FL
60914   2C4RDGEG3KR570951   Chrysler       GR                  Roseville                 CA
60915   2C4RDGEG3KR570996   Chrysler       GR                  SANTA ANA                 CA
60916   2C4RDGEG3KR571033   Chrysler       GR                  Wichita                   KS
60917   2C4RDGEG3KR571100   Chrysler       GR                  PITTSBURGH                PA
60918   2C4RDGEG3KR571131   Chrysler       GR                  FORT LAUDERDALE           FL
60919   2C4RDGEG3KR571145   Chrysler       GR                  CHARLOTTE                 NC
60920   2C4RDGEG3KR571159   Chrysler       GR                  ORLANDO                   FL
60921   2C4RDGEG3KR571162   Chrysler       GR                  TAMPA                     FL
60922   2C4RDGEG3KR571193   Chrysler       GR                  WEST PALM BEACH           FL
60923   2C4RDGEG3KR571209   Chrysler       GR                  ORLANDO                   FL
60924   2C4RDGEG3KR571226   Chrysler       GR                  CHICAGO                   IL
60925   2C4RDGEG3KR571243   Chrysler       GR                  Elkridge                  MD
60926   2C4RDGEG3KR571257   Chrysler       GR                  BIRMINGHAM                AL
60927   2C4RDGEG3KR571260   Chrysler       GR                  Orlando                   FL
60928   2C4RDGEG3KR571288   Chrysler       GR                  HOUSTON                   TX
60929   2C4RDGEG3KR571307   Chrysler       GR                  SANTA ANA                 CA
60930   2C4RDGEG3KR571324   Chrysler       GR                  TAMPA                     FL
60931   2C4RDGEG3KR571372   Chrysler       GR                  ORLANDO                   FL
60932   2C4RDGEG3KR571419   Chrysler       GR                  WEST PALM BEACH           FL
60933   2C4RDGEG3KR571498   Chrysler       GR                  CHICAGO                   IL
60934   2C4RDGEG3KR571503   Chrysler       GR
60935   2C4RDGEG3KR571517   Chrysler       GR                  NORTH HILLS               CA
60936   2C4RDGEG3KR577883   Chrysler       GR                  St. Louis                 MO
60937   2C4RDGEG3KR577902   Chrysler       GR                  MILWAUKEE                 WI
60938   2C4RDGEG3KR577933   Chrysler       GR                  JACKSONVILLE              FL
60939   2C4RDGEG3KR577947   Chrysler       GR                  DENVER                    CO
60940   2C4RDGEG3KR577950   Chrysler       GR                  PHILADELPHIA              PA
60941   2C4RDGEG3KR577964   Chrysler       GR                  TAMPA                     FL
60942   2C4RDGEG3KR577978   Chrysler       GR                  ORLANDO                   FL
60943   2C4RDGEG3KR578001   Chrysler       GR                  FORT MYERS                FL
60944   2C4RDGEG3KR578015   Chrysler       GR                  Atlanta                   GA
60945   2C4RDGEG3KR616925   Chrysler       GR                  KNOXVILLE                 TN
60946   2C4RDGEG3KR617007   Chrysler       GR                  MIAMI                     FL
60947   2C4RDGEG3KR617024   Chrysler       GR                  BURBANK                   CA
60948   2C4RDGEG3KR617055   Chrysler       GR                  Riverside                 CA
60949   2C4RDGEG3KR617881   Chrysler       GR                  Tolleson                  AZ
60950   2C4RDGEG3KR618061   Chrysler       GR                  SAN ANTONIO               TX
60951   2C4RDGEG3KR618111   Chrysler       GR                  FORT MYERS                FL
60952   2C4RDGEG3KR618139   Chrysler       GR                  GYPSUM                    CO
60953   2C4RDGEG3KR618156   Chrysler       GR                  HOUSTON                   TX
60954   2C4RDGEG3KR618254   Chrysler       GR                  Dallas                    TX
60955   2C4RDGEG3KR630680   Chrysler       GR                  ORLANDO                   FL
60956   2C4RDGEG3KR630727   Chrysler       GR                  Florissant                MO
60957   2C4RDGEG3KR630758   Chrysler       GR                  AUSTIN                    TX
60958   2C4RDGEG3KR630940   Chrysler       GR                  FORT MYERS                FL
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60959   2C4RDGEG3KR631053   Chrysler       GR                  ONTARIO                   CA
60960   2C4RDGEG3KR631084   Chrysler       GR                  DALLAS                    TX
60961   2C4RDGEG3KR634020   Chrysler       GR                  FT LAUDERDALE             FL
60962   2C4RDGEG3KR634034   Chrysler       GR                  BURBANK                   CA
60963   2C4RDGEG3KR634048   Chrysler       GR                  ORLANDO                   FL
60964   2C4RDGEG3KR637032   Chrysler       GR                  Oklahoma City             OK
60965   2C4RDGEG3KR640447   Chrysler       GR                  FORT LAUDERDALE           FL
60966   2C4RDGEG3KR640450   Chrysler       GR                  SAN DIEGO                 CA
60967   2C4RDGEG3KR640478   Chrysler       GR                  San Diego                 CA
60968   2C4RDGEG3KR640481   Chrysler       GR                  SAN DIEGO                 CA
60969   2C4RDGEG3KR640528   Chrysler       GR                  KNOXVILLE                 TN
60970   2C4RDGEG3KR640531   Chrysler       GR                  WHITE PLAINS              NY
60971   2C4RDGEG3KR640562   Chrysler       GR                  Seattle                   WA
60972   2C4RDGEG3KR640576   Chrysler       GR                  WHITE PLAINS              NY
60973   2C4RDGEG3KR640593   Chrysler       GR                  HOUSTON                   TX
60974   2C4RDGEG3KR640741   Chrysler       GR                  DANIA BEACH               FL
60975   2C4RDGEG3KR640979   Chrysler       GR                  PALM SPRINGS              CA
60976   2C4RDGEG3KR640982   Chrysler       GR                  SAINT PAUL                MN
60977   2C4RDGEG3KR641078   Chrysler       GR                  Pensacola                 FL
60978   2C4RDGEG3KR641095   Chrysler       GR                  SAN JOSE                  CA
60979   2C4RDGEG3KR641100   Chrysler       GR                  San Antonio               TX
60980   2C4RDGEG3KR641131   Chrysler       GR                  SAN ANTONIO               TX
60981   2C4RDGEG3KR641257   Chrysler       GR                  SAINT PAUL                MN
60982   2C4RDGEG3KR641260   Chrysler       GR                  Stockton                  CA
60983   2C4RDGEG3KR641274   Chrysler       GR                  ORLANDO                   FL
60984   2C4RDGEG3KR641307   Chrysler       GR                  MIDLAND                   TX
60985   2C4RDGEG3KR641341   Chrysler       GR                  Atlanta                   GA
60986   2C4RDGEG3KR641372   Chrysler       GR                  Milwaukee                 WI
60987   2C4RDGEG3KR641422   Chrysler       GR                  Manheim                   PA
60988   2C4RDGEG3KR641484   Chrysler       GR                  Louisville                KY
60989   2C4RDGEG3KR641517   Chrysler       GR                  CHICAGO                   IL
60990   2C4RDGEG3KR641534   Chrysler       GR                  PHOENIX                   AZ
60991   2C4RDGEG3KR646068   Chrysler       GR                  GRAND RAPIDS              MI
60992   2C4RDGEG3KR646085   Chrysler       GR                  FORT MYERS                FL
60993   2C4RDGEG3KR646104   Chrysler       GR                  Hebron                    KY
60994   2C4RDGEG3KR646149   Chrysler       GR                  CLEVELAND                 OH
60995   2C4RDGEG3KR646166   Chrysler       GR                  Los Angeles               CA
60996   2C4RDGEG3KR646183   Chrysler       GR                  HOUSTON                   TX
60997   2C4RDGEG3KR646202   Chrysler       GR                  St. Louis                 MO
60998   2C4RDGEG3KR646247   Chrysler       GR                  WEST PALM BEACH           FL
60999   2C4RDGEG3KR646295   Chrysler       GR                  DENVER                    CO
61000   2C4RDGEG3KR646362   Chrysler       GR                  LAS VEGAS                 NV
61001   2C4RDGEG3KR658284   Chrysler       GR                  Hebron                    KY
61002   2C4RDGEG3KR658303   Chrysler       GR                  CLEVELAND                 OH
61003   2C4RDGEG3KR658320   Chrysler       GR                  SYRACUSE                  NY
61004   2C4RDGEG3KR658365   Chrysler       GR                  Atlanta                   GA
61005   2C4RDGEG3KR658396   Chrysler       GR                  Elkridge                  MD
61006   2C4RDGEG3KR658429   Chrysler       GR                  NEW ORLEANS               LA
61007   2C4RDGEG3KR658530   Chrysler       GR                  INDIANAPOLIS              IN
61008   2C4RDGEG3KR658544   Chrysler       GR                  DALLAS                    TX
61009   2C4RDGEG3KR658558   Chrysler       GR                  SACRAMENTO                CA
61010   2C4RDGEG3KR658575   Chrysler       GR                  LAS VEGAS                 NV
61011   2C4RDGEG3KR658589   Chrysler       GR                  STERLING                  VA
61012   2C4RDGEG3KR658592   Chrysler       GR                  LAKEWOOD                  WA
61013   2C4RDGEG3KR658639   Chrysler       GR                  Hebron                    KY
61014   2C4RDGEG3KR658642   Chrysler       GR                  MILWAUKEE                 WI
61015   2C4RDGEG3KR658706   Chrysler       GR                  RICHMOND                  VA
61016   2C4RDGEG3KR658785   Chrysler       GR                  WARWICK                   RI
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61017   2C4RDGEG3KR670144   Chrysler       GR                  Hebron                    KY
61018   2C4RDGEG3KR670175   Chrysler       GR                  MEMPHIS                   TN
61019   2C4RDGEG3KR670189   Chrysler       GR                  STERLING                  VA
61020   2C4RDGEG3KR670211   Chrysler       GR                  JACKSON                   MS
61021   2C4RDGEG3KR670225   Chrysler       GR                  BLOOMINGTON               IL
61022   2C4RDGEG3KR670256   Chrysler       GR                  HINGHAMN                  MA
61023   2C4RDGEG3KR670273   Chrysler       GR                  CHICAGO                   IL
61024   2C4RDGEG3KR670306   Chrysler       GR                  WHITE PLAINS              NY
61025   2C4RDGEG3KR670340   Chrysler       GR                  Saint Paul                MN
61026   2C4RDGEG3KR670354   Chrysler       GR                  KANSAS CITY               MO
61027   2C4RDGEG3KR670385   Chrysler       GR                  CHARLOTTE                 NC
61028   2C4RDGEG3KR670421   Chrysler       GR                  ORLANDO                   FL
61029   2C4RDGEG3KR670483   Chrysler       GR                  Atlanta                   GA
61030   2C4RDGEG3KR670600   Chrysler       GR                  WARWICK                   RI
61031   2C4RDGEG3KR670631   Chrysler       GR                  BIRMINGHAM                AL
61032   2C4RDGEG3KR670676   Chrysler       GR                  KANSAS CITY               MO
61033   2C4RDGEG3KR670760   Chrysler       GR                  Rockville Centr           NY
61034   2C4RDGEG3KR670824   Chrysler       GR                  DETROIT                   MI
61035   2C4RDGEG3KR673741   Chrysler       GR                  Nashville                 TN
61036   2C4RDGEG3KR673786   Chrysler       GR                  ORLANDO                   FL
61037   2C4RDGEG3KR673819   Chrysler       GR                  CLEVELAND                 OH
61038   2C4RDGEG3KR673822   Chrysler       GR                  DETROIT                   MI
61039   2C4RDGEG3KR675988   Chrysler       GR                  PHILADELPHIA              PA
61040   2C4RDGEG3KR676042   Chrysler       GR                  HOUSTON                   TX
61041   2C4RDGEG3KR682083   Chrysler       GR                  Florissant                MO
61042   2C4RDGEG3KR760586   Chrysler       GR                  Warr Acres                OK
61043   2C4RDGEG3KR760815   Chrysler       GR                  CHICAGO                   IL
61044   2C4RDGEG3KR764797   Chrysler       GR                  CLARKSVILLE               IN
61045   2C4RDGEG3KR765190   Chrysler       GR                  Kansas City               MO
61046   2C4RDGEG3KR769210   Chrysler       GR                  Warr Acres                OK
61047   2C4RDGEG3KR770051   Chrysler       GR                  ST Paul                   MN
61048   2C4RDGEG4JR140411   Chrysler       GR                  WEST PALM BEACH           FL
61049   2C4RDGEG4JR140506   Chrysler       GR                  DAYTONA BEACH             FL
61050   2C4RDGEG4JR140635   Chrysler       GR                  KENNER                    LA
61051   2C4RDGEG4JR145303   Chrysler       GR                  HOUSTON                   TX
61052   2C4RDGEG4JR145639   Chrysler       GR                  Fontana                   CA
61053   2C4RDGEG4JR150243   Chrysler       GR                  KAILUA‐KONA               HI
61054   2C4RDGEG4JR150260   Chrysler       GR                  SAN FRANCISCO             CA
61055   2C4RDGEG4JR150288   Chrysler       GR                  KAUAI                     HI
61056   2C4RDGEG4JR150324   Chrysler       GR                  KAHULUI                   HI
61057   2C4RDGEG4JR150369   Chrysler       GR                  TRACY                     CA
61058   2C4RDGEG4JR189351   Chrysler       GR                  Greensboro                NC
61059   2C4RDGEG4JR189432   Chrysler       GR                  KALAOA                    HI
61060   2C4RDGEG4JR189477   Chrysler       GR                  Honolulu                  HI
61061   2C4RDGEG4JR195358   Chrysler       GR                  BURBANK                   CA
61062   2C4RDGEG4JR195361   Chrysler       GR                  HILO                      HI
61063   2C4RDGEG4JR195375   Chrysler       GR                  HILO                      HI
61064   2C4RDGEG4JR195389   Chrysler       GR                  Hayward                   CA
61065   2C4RDGEG4JR195392   Chrysler       GR                  WAIMEA                    HI
61066   2C4RDGEG4JR195778   Chrysler       GR                  ORLANDO                   FL
61067   2C4RDGEG4JR195828   Chrysler       GR                  BURBANK                   CA
61068   2C4RDGEG4JR196137   Chrysler       GR                  HILO                      HI
61069   2C4RDGEG4JR196140   Chrysler       GR                  KAILUA‐KONA               HI
61070   2C4RDGEG4JR205029   Chrysler       GR                  Elkridge                  MD
61071   2C4RDGEG4JR205032   Chrysler       GR                  CHARLESTON                SC
61072   2C4RDGEG4JR214569   Chrysler       GR                  COLLEGE PARK              GA
61073   2C4RDGEG4JR237947   Chrysler       GR                  KENNER                    LA
61074   2C4RDGEG4JR238063   Chrysler       GR                  TAMPA                     FL
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61075   2C4RDGEG4JR254148   Chrysler       GR                  RENO                      NV
61076   2C4RDGEG4JR254151   Chrysler       GR                  PHOENIX                   AZ
61077   2C4RDGEG4JR254229   Chrysler       GR                  SOUTHEAST DST OFFC        OK
61078   2C4RDGEG4JR254392   Chrysler       GR                  Ocoee                     FL
61079   2C4RDGEG4JR254408   Chrysler       GR                  FORT MYERS                FL
61080   2C4RDGEG4JR254411   Chrysler       GR                  STERLING                  VA
61081   2C4RDGEG4JR254585   Chrysler       GR                  FRESNO                    CA
61082   2C4RDGEG4JR254618   Chrysler       GR                  FORT LAUDERDALE           FL
61083   2C4RDGEG4JR271712   Chrysler       GR                  Fontana                   CA
61084   2C4RDGEG4JR280894   Chrysler       GR                  FORT LAUDERDALE           FL
61085   2C4RDGEG4JR280913   Chrysler       GR                  SOUTHEAST DST OFFC        OK
61086   2C4RDGEG4JR296075   Chrysler       GR                  Estero                    FL
61087   2C4RDGEG4JR296111   Chrysler       GR                  ORLANDO                   FL
61088   2C4RDGEG4JR323789   Chrysler       GR                  MIAMI                     FL
61089   2C4RDGEG4JR331455   Chrysler       GR                  PHILADELPHIA              PA
61090   2C4RDGEG4JR334582   Chrysler       GR                  WEST PALM BEACH           FL
61091   2C4RDGEG4JR334596   Chrysler       GR                  DALLAS                    TX
61092   2C4RDGEG4JR334601   Chrysler       GR                  SEA TAC                   WA
61093   2C4RDGEG4JR334646   Chrysler       GR                  BURBANK                   CA
61094   2C4RDGEG4JR334663   Chrysler       GR                  LOS ANGELES AP            CA
61095   2C4RDGEG4JR334730   Chrysler       GR                  ORANGE COUNTY             CA
61096   2C4RDGEG4JR334744   Chrysler       GR                  Costa Mesa                CA
61097   2C4RDGEG4JR334758   Chrysler       GR                  HOUSTON                   TX
61098   2C4RDGEG4JR334761   Chrysler       GR                  LAS VEGAS                 NV
61099   2C4RDGEG4JR334811   Chrysler       GR                  Ocoee                     FL
61100   2C4RDGEG4KR533097   Chrysler       GR                  HOUSTON                   TX
61101   2C4RDGEG4KR533102   Chrysler       GR                  DANIA BEACH               FL
61102   2C4RDGEG4KR533570   Chrysler       GR                  SANTA ANA                 CA
61103   2C4RDGEG4KR533584   Chrysler       GR                  SANTA ANA                 CA
61104   2C4RDGEG4KR533620   Chrysler       GR                  PORTLAND                  ME
61105   2C4RDGEG4KR533648   Chrysler       GR                  PALM SPRINGS              CA
61106   2C4RDGEG4KR533679   Chrysler       GR                  Ontario                   CA
61107   2C4RDGEG4KR533682   Chrysler       GR                  DALLAS                    TX
61108   2C4RDGEG4KR533701   Chrysler       GR                  ORANGE COUNTY             CA
61109   2C4RDGEG4KR533715   Chrysler       GR                  LAS VEGAS                 NV
61110   2C4RDGEG4KR533729   Chrysler       GR                  BURBANK                   CA
61111   2C4RDGEG4KR533777   Chrysler       GR                  LITTLE ROCK               AR
61112   2C4RDGEG4KR533794   Chrysler       GR                  EAST NORRITON             PA
61113   2C4RDGEG4KR533813   Chrysler       GR                  BOSTON                    MA
61114   2C4RDGEG4KR533827   Chrysler       GR                  HOUSTON                   TX
61115   2C4RDGEG4KR533861   Chrysler       GR                  Teterboro                 NJ
61116   2C4RDGEG4KR533889   Chrysler       GR                  SANTA ANA                 CA
61117   2C4RDGEG4KR533892   Chrysler       GR                  LAS VEGAS                 NV
61118   2C4RDGEG4KR533939   Chrysler       GR                  LOS ANGELES               CA
61119   2C4RDGEG4KR533942   Chrysler       GR                  PALM SPRINGS              CA
61120   2C4RDGEG4KR533956   Chrysler       GR                  LAS VEGAS                 NV
61121   2C4RDGEG4KR533990   Chrysler       GR                  LOS ANGELES               CA
61122   2C4RDGEG4KR534041   Chrysler       GR                  TUCSON                    AZ
61123   2C4RDGEG4KR534055   Chrysler       GR                  ALBUQUERQUE               NM
61124   2C4RDGEG4KR534069   Chrysler       GR                  LOS ANGELES               CA
61125   2C4RDGEG4KR534072   Chrysler       GR                  SALT LAKE CITY            UT
61126   2C4RDGEG4KR534105   Chrysler       GR                  Roseville                 CA
61127   2C4RDGEG4KR534122   Chrysler       GR                  TAMPA                     FL
61128   2C4RDGEG4KR534153   Chrysler       GR                  SAN DIEGO                 CA
61129   2C4RDGEG4KR534167   Chrysler       GR                  PHOENIX                   AZ
61130   2C4RDGEG4KR534170   Chrysler       GR                  DENVER                    CO
61131   2C4RDGEG4KR534184   Chrysler       GR                  PHOENIX                   AZ
61132   2C4RDGEG4KR534217   Chrysler       GR                  INGLEWOOD                 CA
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61133   2C4RDGEG4KR534234   Chrysler       GR                  MILWAUKEE                 WI
61134   2C4RDGEG4KR534248   Chrysler       GR                  Ontario                   CA
61135   2C4RDGEG4KR534301   Chrysler       GR                  SAN DIEGO                 CA
61136   2C4RDGEG4KR534363   Chrysler       GR                  DENVER                    CO
61137   2C4RDGEG4KR534377   Chrysler       GR                  TAMPA                     FL
61138   2C4RDGEG4KR534380   Chrysler       GR                  FORT MYERS                FL
61139   2C4RDGEG4KR534394   Chrysler       GR                  FORT LAUDERDALE           FL
61140   2C4RDGEG4KR534413   Chrysler       GR                  SARASOTA                  FL
61141   2C4RDGEG4KR534430   Chrysler       GR                  FORT MYERS                FL
61142   2C4RDGEG4KR534444   Chrysler       GR                  TAMPA                     FL
61143   2C4RDGEG4KR534475   Chrysler       GR                  Louisville                KY
61144   2C4RDGEG4KR534489   Chrysler       GR                  SALT LAKE CITY            UT
61145   2C4RDGEG4KR534492   Chrysler       GR                  LOS ANGELES               CA
61146   2C4RDGEG4KR534508   Chrysler       GR                  ORLANDO                   FL
61147   2C4RDGEG4KR534511   Chrysler       GR                  BALTIMORE                 MD
61148   2C4RDGEG4KR534525   Chrysler       GR                  MIAMI                     FL
61149   2C4RDGEG4KR534539   Chrysler       GR                  SAN DIEGO                 CA
61150   2C4RDGEG4KR534542   Chrysler       GR                  Rockville Centr           NY
61151   2C4RDGEG4KR534573   Chrysler       GR                  FORT LAUDERDALE           FL
61152   2C4RDGEG4KR534587   Chrysler       GR                  Hartford                  CT
61153   2C4RDGEG4KR534590   Chrysler       GR                  NASHVILLE                 TN
61154   2C4RDGEG4KR534637   Chrysler       GR                  MIAMI                     FL
61155   2C4RDGEG4KR534640   Chrysler       GR                  FORT LAUDERDALE           FL
61156   2C4RDGEG4KR534654   Chrysler       GR                  PITTSBURGH                PA
61157   2C4RDGEG4KR534685   Chrysler       GR                  ORLANDO                   FL
61158   2C4RDGEG4KR534699   Chrysler       GR                  ORLANDO                   FL
61159   2C4RDGEG4KR534704   Chrysler       GR                  ORLANDO                   FL
61160   2C4RDGEG4KR534718   Chrysler       GR                  ORLANDO                   FL
61161   2C4RDGEG4KR534721   Chrysler       GR                  DENVER                    CO
61162   2C4RDGEG4KR534749   Chrysler       GR                  FORT LAUDERDALE           FL
61163   2C4RDGEG4KR534783   Chrysler       GR                  ORLANDO                   FL
61164   2C4RDGEG4KR534797   Chrysler       GR                  TAMPA                     FL
61165   2C4RDGEG4KR534816   Chrysler       GR                  MIAMI                     FL
61166   2C4RDGEG4KR534864   Chrysler       GR                  MIAMI                     FL
61167   2C4RDGEG4KR534881   Chrysler       GR                  Statesville               NC
61168   2C4RDGEG4KR534900   Chrysler       GR                  BOSTON                    MA
61169   2C4RDGEG4KR534928   Chrysler       GR                  ORLANDO                   FL
61170   2C4RDGEG4KR534962   Chrysler       GR                  TAMPA                     FL
61171   2C4RDGEG4KR535030   Chrysler       GR                  ORLANDO                   FL
61172   2C4RDGEG4KR535058   Chrysler       GR                  FORT LAUDERDALE           FL
61173   2C4RDGEG4KR535075   Chrysler       GR                  ORLANDO                   FL
61174   2C4RDGEG4KR535092   Chrysler       GR                  Miami                     FL
61175   2C4RDGEG4KR535108   Chrysler       GR                  ORLANDO                   FL
61176   2C4RDGEG4KR535111   Chrysler       GR                  Atlanta                   GA
61177   2C4RDGEG4KR535190   Chrysler       GR                  DENVER                    CO
61178   2C4RDGEG4KR535237   Chrysler       GR                  DETROIT                   MI
61179   2C4RDGEG4KR535240   Chrysler       GR                  TAMPA                     FL
61180   2C4RDGEG4KR535254   Chrysler       GR                  WEST PALM BEACH           FL
61181   2C4RDGEG4KR535285   Chrysler       GR                  ORLANDO                   FL
61182   2C4RDGEG4KR535299   Chrysler       GR                  TAMPA                     FL
61183   2C4RDGEG4KR535335   Chrysler       GR                  STERLING                  VA
61184   2C4RDGEG4KR535349   Chrysler       GR                  SAN ANTONIO               TX
61185   2C4RDGEG4KR535352   Chrysler       GR                  Torrance                  CA
61186   2C4RDGEG4KR535402   Chrysler       GR                  SAN DIEGO                 CA
61187   2C4RDGEG4KR535416   Chrysler       GR                  FORT LAUDERDALE           FL
61188   2C4RDGEG4KR535481   Chrysler       GR                  Miami                     FL
61189   2C4RDGEG4KR535495   Chrysler       GR                  Winter Park               FL
61190   2C4RDGEG4KR535500   Chrysler       GR                  Teterboro                 NJ
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61191   2C4RDGEG4KR535514   Chrysler       GR                  DENVER                    CO
61192   2C4RDGEG4KR535528   Chrysler       GR                  NEW BERN                  NC
61193   2C4RDGEG4KR535593   Chrysler       GR                  NEW YORK CITY             NY
61194   2C4RDGEG4KR535660   Chrysler       GR                  COLLEGE PARK              GA
61195   2C4RDGEG4KR535674   Chrysler       GR                  WILMINGTON                NC
61196   2C4RDGEG4KR535688   Chrysler       GR                  WESTLAKE                  OH
61197   2C4RDGEG4KR535710   Chrysler       GR                  PHOENIX                   AZ
61198   2C4RDGEG4KR535724   Chrysler       GR                  Jacksonville              FL
61199   2C4RDGEG4KR535755   Chrysler       GR                  PHOENIX                   AZ
61200   2C4RDGEG4KR537957   Chrysler       GR                  PHOENIX                   AZ
61201   2C4RDGEG4KR537988   Chrysler       GR                  INGLEWOOD                 CA
61202   2C4RDGEG4KR537991   Chrysler       GR                  Santa Clara               CA
61203   2C4RDGEG4KR538011   Chrysler       GR                  SALT LAKE CITY            US
61204   2C4RDGEG4KR538039   Chrysler       GR                  HARTFORD                  CT
61205   2C4RDGEG4KR538056   Chrysler       GR                  ORLANDO                   FL
61206   2C4RDGEG4KR538073   Chrysler       GR                  ST PAUL                   MN
61207   2C4RDGEG4KR538137   Chrysler       GR                  ORLANDO                   FL
61208   2C4RDGEG4KR538154   Chrysler       GR                  DALLAS                    TX
61209   2C4RDGEG4KR538168   Chrysler       GR                  MIAMI                     FL
61210   2C4RDGEG4KR538171   Chrysler       GR                  WEST PALM BEACH           FL
61211   2C4RDGEG4KR538185   Chrysler       GR                  MIAMI                     FL
61212   2C4RDGEG4KR538218   Chrysler       GR                  ORLANDO                   FL
61213   2C4RDGEG4KR538266   Chrysler       GR                  RALIEGH                   NC
61214   2C4RDGEG4KR538283   Chrysler       GR                  Atlanta                   GA
61215   2C4RDGEG4KR538302   Chrysler       GR                  PHILADELPHIA              PA
61216   2C4RDGEG4KR538347   Chrysler       GR                  Fontana                   CA
61217   2C4RDGEG4KR538350   Chrysler       GR                  Elkridge                  MD
61218   2C4RDGEG4KR556363   Chrysler       GR                  SARASOTA                  FL
61219   2C4RDGEG4KR556380   Chrysler       GR                  DES PLAINES               IL
61220   2C4RDGEG4KR556394   Chrysler       GR                  KANSAS CITY               MO
61221   2C4RDGEG4KR556413   Chrysler       GR                  UNION CITY                GA
61222   2C4RDGEG4KR556458   Chrysler       GR                  FORT MYERS                FL
61223   2C4RDGEG4KR556461   Chrysler       GR                  ROCHESTER                 NY
61224   2C4RDGEG4KR556475   Chrysler       GR                  DALLAS                    TX
61225   2C4RDGEG4KR567816   Chrysler       GR                  Aurora                    CO
61226   2C4RDGEG4KR567833   Chrysler       GR                  ORLANDO                   FL
61227   2C4RDGEG4KR567847   Chrysler       GR                  ST Paul                   MN
61228   2C4RDGEG4KR567864   Chrysler       GR                  WEST PALM BEACH           FL
61229   2C4RDGEG4KR567878   Chrysler       GR                  DENVER                    CO
61230   2C4RDGEG4KR567900   Chrysler       GR                  Oceanside                 CA
61231   2C4RDGEG4KR567931   Chrysler       GR                  Miami                     FL
61232   2C4RDGEG4KR567945   Chrysler       GR                  LAS VEGAS                 NV
61233   2C4RDGEG4KR567993   Chrysler       GR                  EULESS                    TX
61234   2C4RDGEG4KR568030   Chrysler       GR                  TUCSON                    AZ
61235   2C4RDGEG4KR568044   Chrysler       GR                  CHICAGO                   IL
61236   2C4RDGEG4KR568058   Chrysler       GR                  SEATAC                    WA
61237   2C4RDGEG4KR568092   Chrysler       GR                  CHICAGO                   IL
61238   2C4RDGEG4KR570862   Chrysler       GR                  SOUTH BEND                IN
61239   2C4RDGEG4KR570974   Chrysler       GR                  KENNER                    LA
61240   2C4RDGEG4KR570988   Chrysler       GR                  FORT LAUDERDALE           FL
61241   2C4RDGEG4KR570991   Chrysler       GR                  MIAMI                     FL
61242   2C4RDGEG4KR571008   Chrysler       GR                  MIAMI                     FL
61243   2C4RDGEG4KR571025   Chrysler       GR                  ORLANDO                   FL
61244   2C4RDGEG4KR571039   Chrysler       GR                  St. Louis                 MO
61245   2C4RDGEG4KR571056   Chrysler       GR                  STERLING                  VA
61246   2C4RDGEG4KR571090   Chrysler       GR                  CHARLOTTE                 NC
61247   2C4RDGEG4KR571123   Chrysler       GR                  SARASOTA                  FL
61248   2C4RDGEG4KR571140   Chrysler       GR                  DETROIT                   MI
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61249   2C4RDGEG4KR571168   Chrysler       GR                  BLOOMINGTON               IL
61250   2C4RDGEG4KR571199   Chrysler       GR                  Miami                     FL
61251   2C4RDGEG4KR571204   Chrysler       GR                  GREENVILLE                NC
61252   2C4RDGEG4KR571218   Chrysler       GR                  FORT LAUDERDALE           FL
61253   2C4RDGEG4KR571221   Chrysler       GR                  TALLAHASSEE               F
61254   2C4RDGEG4KR571249   Chrysler       GR                  ORLANDO                   FL
61255   2C4RDGEG4KR571297   Chrysler       GR                  STERLING                  VA
61256   2C4RDGEG4KR571302   Chrysler       GR                  ORLANDO                   FL
61257   2C4RDGEG4KR571381   Chrysler       GR                  ORLANDO                   FL
61258   2C4RDGEG4KR571445   Chrysler       GR                  NASHVILLE                 TN
61259   2C4RDGEG4KR571459   Chrysler       GR                  ORLANDO                   FL
61260   2C4RDGEG4KR571526   Chrysler       GR                  NEWARK                    NJ
61261   2C4RDGEG4KR577889   Chrysler       GR                  SARASOTA                  FL
61262   2C4RDGEG4KR577892   Chrysler       GR                  FORT MYERS                FL
61263   2C4RDGEG4KR577911   Chrysler       GR                  Baltimore                 MD
61264   2C4RDGEG4KR577973   Chrysler       GR                  PHOENIX                   AZ
61265   2C4RDGEG4KR578007   Chrysler       GR                  CLEVELAND                 OH
61266   2C4RDGEG4KR616934   Chrysler       GR                  SAINT LOUIS               MO
61267   2C4RDGEG4KR616948   Chrysler       GR                  INGLEWOOD                 CA
61268   2C4RDGEG4KR616996   Chrysler       GR                  FORT LAUDERDALE           FL
61269   2C4RDGEG4KR617033   Chrysler       GR                  NEW ORLEANS               LA
61270   2C4RDGEG4KR617081   Chrysler       GR                  LOS ANGELES               CA
61271   2C4RDGEG4KR617792   Chrysler       GR                  AUSTIN                    TX
61272   2C4RDGEG4KR617825   Chrysler       GR                  INGLEWOOD                 CA
61273   2C4RDGEG4KR617873   Chrysler       GR                  LOS ANGELES               CA
61274   2C4RDGEG4KR617937   Chrysler       GR                  CHICAGO                   IL
61275   2C4RDGEG4KR618022   Chrysler       GR                  MIAMI                     FL
61276   2C4RDGEG4KR618036   Chrysler       GR                  ALBUQUERQUE               NM
61277   2C4RDGEG4KR618117   Chrysler       GR                  LAS VEGAS                 NV
61278   2C4RDGEG4KR630655   Chrysler       GR                  ORLANDO                   FL
61279   2C4RDGEG4KR630672   Chrysler       GR                  CORPUS CHRISTI            TX
61280   2C4RDGEG4KR631112   Chrysler       GR                  MIAMI                     FL
61281   2C4RDGEG4KR631191   Chrysler       GR                  FORT LAUDERDALE           FL
61282   2C4RDGEG4KR634012   Chrysler       GR                  Elkridge                  MD
61283   2C4RDGEG4KR634043   Chrysler       GR                  Fontana                   CA
61284   2C4RDGEG4KR636987   Chrysler       GR                  Lake Elsinore             CA
61285   2C4RDGEG4KR637024   Chrysler       GR                  N HOLLYWOOD               CA
61286   2C4RDGEG4KR637038   Chrysler       GR                  KNOXVILLE                 TN
61287   2C4RDGEG4KR637041   Chrysler       GR                  OMAHA                     NE
61288   2C4RDGEG4KR637055   Chrysler       GR                  WOODLAND HILLS            CA
61289   2C4RDGEG4KR637072   Chrysler       GR                  Atlanta                   GA
61290   2C4RDGEG4KR640358   Chrysler       GR                  NEW BERN                  NC
61291   2C4RDGEG4KR640389   Chrysler       GR                  SALT LAKE CITY            US
61292   2C4RDGEG4KR640425   Chrysler       GR                  DALLAS                    TX
61293   2C4RDGEG4KR640571   Chrysler       GR                  LAS VEGAS                 NV
61294   2C4RDGEG4KR640800   Chrysler       GR                  PHOENIX                   AZ
61295   2C4RDGEG4KR640814   Chrysler       GR                  SAN DIEGO                 CA
61296   2C4RDGEG4KR640876   Chrysler       GR                  Ontario                   CA
61297   2C4RDGEG4KR640909   Chrysler       GR                  Atlanta                   GA
61298   2C4RDGEG4KR640912   Chrysler       GR                  San Antonio               TX
61299   2C4RDGEG4KR640926   Chrysler       GR                  Riverside                 CA
61300   2C4RDGEG4KR640943   Chrysler       GR                  Portland                  OR
61301   2C4RDGEG4KR641137   Chrysler       GR                  PANAMA CITY               FL
61302   2C4RDGEG4KR641154   Chrysler       GR                  MIAMI                     FL
61303   2C4RDGEG4KR641171   Chrysler       GR                  STERLING                  VA
61304   2C4RDGEG4KR641221   Chrysler       GR                  HOUSTON                   TX
61305   2C4RDGEG4KR641249   Chrysler       GR                  BOSTON                    MA
61306   2C4RDGEG4KR641297   Chrysler       GR                  Fontana                   CA
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61307   2C4RDGEG4KR641378   Chrysler       GR                  GREENSBORO                NC
61308   2C4RDGEG4KR641400   Chrysler       GR                  INDIANAPOLIS              IN
61309   2C4RDGEG4KR641445   Chrysler       GR                  DETROIT                   MI
61310   2C4RDGEG4KR641509   Chrysler       GR                  Fontana                   CA
61311   2C4RDGEG4KR646032   Chrysler       GR                  MARIETTA                  GA
61312   2C4RDGEG4KR646063   Chrysler       GR                  FORT MYERS                FL
61313   2C4RDGEG4KR646077   Chrysler       GR                  Davie                     FL
61314   2C4RDGEG4KR646080   Chrysler       GR                  MIAMI                     FL
61315   2C4RDGEG4KR646094   Chrysler       GR                  HOUSTON                   TX
61316   2C4RDGEG4KR646113   Chrysler       GR                  Atlanta                   GA
61317   2C4RDGEG4KR646127   Chrysler       GR                  LAS VEGAS                 NV
61318   2C4RDGEG4KR646161   Chrysler       GR                  DETROIT                   MI
61319   2C4RDGEG4KR646175   Chrysler       GR                  NEWARK                    NJ
61320   2C4RDGEG4KR646189   Chrysler       GR                  KANSAS CITY               MO
61321   2C4RDGEG4KR646208   Chrysler       GR                  GREENSBORO                NC
61322   2C4RDGEG4KR646287   Chrysler       GR                  Atlanta                   GA
61323   2C4RDGEG4KR658116   Chrysler       GR                  LOUISVILLE                KY
61324   2C4RDGEG4KR658231   Chrysler       GR                  Riverside                 CA
61325   2C4RDGEG4KR658262   Chrysler       GR                  PALM SPRINGS              CA
61326   2C4RDGEG4KR658391   Chrysler       GR                  Atlanta                   GA
61327   2C4RDGEG4KR658407   Chrysler       GR                  ONTARIO                   CA
61328   2C4RDGEG4KR658438   Chrysler       GR                  YUKON                     OK
61329   2C4RDGEG4KR658486   Chrysler       GR                  NASHVILLE                 TN
61330   2C4RDGEG4KR658505   Chrysler       GR                  Dallas                    TX
61331   2C4RDGEG4KR658519   Chrysler       GR                  CHICAGO                   IL
61332   2C4RDGEG4KR658567   Chrysler       GR                  SAINT PAUL                MN
61333   2C4RDGEG4KR658679   Chrysler       GR                  FORT MYERS                FL
61334   2C4RDGEG4KR658746   Chrysler       GR                  ST PAUL                   MN
61335   2C4RDGEG4KR658777   Chrysler       GR                  MELBOURNE AP              FL
61336   2C4RDGEG4KR670038   Chrysler       GR                  COLLEGE PARK              GA
61337   2C4RDGEG4KR670072   Chrysler       GR                  PENSACOLA                 FL
61338   2C4RDGEG4KR670136   Chrysler       GR                  ORLANDO                   FL
61339   2C4RDGEG4KR670203   Chrysler       GR                  ORLANDO                   FL
61340   2C4RDGEG4KR670234   Chrysler       GR                  LOUISVILLE                KY
61341   2C4RDGEG4KR670251   Chrysler       GR                  Hartford                  CT
61342   2C4RDGEG4KR670265   Chrysler       GR                  ATLANTA                   GA
61343   2C4RDGEG4KR670279   Chrysler       GR                  CHICAGO                   IL
61344   2C4RDGEG4KR670301   Chrysler       GR                  LOUISVILLE                KY
61345   2C4RDGEG4KR670380   Chrysler       GR                  SAN JOSE                  CA
61346   2C4RDGEG4KR670413   Chrysler       GR                  GYPSUM                    CO
61347   2C4RDGEG4KR673781   Chrysler       GR                  Saint Paul                MN
61348   2C4RDGEG4KR676048   Chrysler       GR                  NEW YORK CITY             NY
61349   2C4RDGEG4KR681993   Chrysler       GR                  CHICAGO                   IL
61350   2C4RDGEG4KR682061   Chrysler       GR                  WEST COLUMBIA             SC
61351   2C4RDGEG4KR682075   Chrysler       GR                  ATLANTA                   GA
61352   2C4RDGEG4KR687714   Chrysler       GR                  MILWAUKEE AIRPORT         WI
61353   2C4RDGEG4KR760371   Chrysler       GR                  FORT MYERS                FL
61354   2C4RDGEG4KR760712   Chrysler       GR                  FORT MYERS                FL
61355   2C4RDGEG4KR760855   Chrysler       GR                  St. Louis                 MO
61356   2C4RDGEG4KR764257   Chrysler       GR                  Burien                    WA
61357   2C4RDGEG4KR764646   Chrysler       GR                  Hattiesburg               MS
61358   2C4RDGEG4KR765022   Chrysler       GR                  CLARKSVILLE               IN
61359   2C4RDGEG4KR765134   Chrysler       GR                  BLOOMINGTON               IL
61360   2C4RDGEG4KR769670   Chrysler       GR                  SAINT PAUL                MN
61361   2C4RDGEG4KR769927   Chrysler       GR                  Coraopolis                PA
61362   2C4RDGEG4KR769989   Chrysler       GR                  Cedar Rapids              IA
61363   2C4RDGEG5JR140594   Chrysler       GR                  WEST PALM BEACH           FL
61364   2C4RDGEG5JR140790   Chrysler       GR                  Miami                     FL
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61365   2C4RDGEG5JR143303   Chrysler       GR                  DAYTONA BEACH             FL
61366   2C4RDGEG5JR145293   Chrysler       GR                  Davie                     FL
61367   2C4RDGEG5JR150249   Chrysler       GR                  HILO                      HI
61368   2C4RDGEG5JR150266   Chrysler       GR                  KAILUA‐KONA               HI
61369   2C4RDGEG5JR189438   Chrysler       GR                  HILO                      HI
61370   2C4RDGEG5JR189441   Chrysler       GR                  KALAOA                    HI
61371   2C4RDGEG5JR195353   Chrysler       GR                  AUSTIN                    TX
61372   2C4RDGEG5JR195367   Chrysler       GR                  KAILUA‐KONA               HI
61373   2C4RDGEG5JR195370   Chrysler       GR                  HILO                      HI
61374   2C4RDGEG5JR195384   Chrysler       GR                  WAIMEA                    HI
61375   2C4RDGEG5JR195398   Chrysler       GR                  KALAOA                    HI
61376   2C4RDGEG5JR195806   Chrysler       GR                  LAS VEGAS                 NV
61377   2C4RDGEG5JR196146   Chrysler       GR                  HILO                      HI
61378   2C4RDGEG5JR205024   Chrysler       GR                  Miami                     FL
61379   2C4RDGEG5JR213835   Chrysler       GR                  FORT LAUDERDALE           FL
61380   2C4RDGEG5JR214595   Chrysler       GR                  COLLEGE PARK              GA
61381   2C4RDGEG5JR237942   Chrysler       GR                  Irving                    TX
61382   2C4RDGEG5JR237987   Chrysler       GR                  LAS VEGAS                 NV
61383   2C4RDGEG5JR238041   Chrysler       GR                  Sarasota                  FL
61384   2C4RDGEG5JR238055   Chrysler       GR                  Ventura                   CA
61385   2C4RDGEG5JR238072   Chrysler       GR                  KANSAS CITY               MO
61386   2C4RDGEG5JR238167   Chrysler       GR                  SAN DIEGO                 CA
61387   2C4RDGEG5JR254126   Chrysler       GR                  ORLANDO                   FL
61388   2C4RDGEG5JR254157   Chrysler       GR                  LOS ANGELES               CA
61389   2C4RDGEG5JR254255   Chrysler       GR                  Jacksonville              FL
61390   2C4RDGEG5JR254501   Chrysler       GR                  Kent                      WA
61391   2C4RDGEG5JR254577   Chrysler       GR                  Riverside                 CA
61392   2C4RDGEG5JR254580   Chrysler       GR                  Fontana                   CA
61393   2C4RDGEG5JR271735   Chrysler       GR                  FORT MYERS                FL
61394   2C4RDGEG5JR271752   Chrysler       GR                  KANSAS CITY               MO
61395   2C4RDGEG5JR296022   Chrysler       GR                  DAYTONA BEACH             FL
61396   2C4RDGEG5JR296053   Chrysler       GR                  Atlanta                   GA
61397   2C4RDGEG5JR318441   Chrysler       GR                  CHARLOTTE                 NC
61398   2C4RDGEG5JR323784   Chrysler       GR                  ORLANDO                   FL
61399   2C4RDGEG5JR331447   Chrysler       GR                  MEMPHIS                   TN
61400   2C4RDGEG5JR334574   Chrysler       GR                  PHOENIX                   AZ
61401   2C4RDGEG5JR334591   Chrysler       GR                  Atlanta                   GA
61402   2C4RDGEG5JR334607   Chrysler       GR                  WHITE PLAINS              NY
61403   2C4RDGEG5JR334610   Chrysler       GR                  BOSTON                    MA
61404   2C4RDGEG5JR334638   Chrysler       GR                  SARASOTA                  FL
61405   2C4RDGEG5JR334641   Chrysler       GR                  Newport Beach             CA
61406   2C4RDGEG5JR334736   Chrysler       GR                  LAS VEGAS                 NV
61407   2C4RDGEG5JR340939   Chrysler       GR                  Tulsa                     OK
61408   2C4RDGEG5JR340942   Chrysler       GR                  SARASOTA                  FL
61409   2C4RDGEG5KR533089   Chrysler       GR                  SEATAC                    WA
61410   2C4RDGEG5KR533092   Chrysler       GR                  KENNER                    LA
61411   2C4RDGEG5KR533108   Chrysler       GR                  PHOENIX                   AZ
61412   2C4RDGEG5KR533562   Chrysler       GR                  Riverside                 CA
61413   2C4RDGEG5KR533576   Chrysler       GR                  LAS VEGAS                 NV
61414   2C4RDGEG5KR533660   Chrysler       GR                  Salt Lake City            UT
61415   2C4RDGEG5KR533688   Chrysler       GR                  DALLAS                    TX
61416   2C4RDGEG5KR533691   Chrysler       GR                  ORLANDO                   FL
61417   2C4RDGEG5KR533724   Chrysler       GR                  SACRAMENTO                CA
61418   2C4RDGEG5KR533741   Chrysler       GR                  SAN DIEGO                 CA
61419   2C4RDGEG5KR533786   Chrysler       GR                  SAN DIEGO                 CA
61420   2C4RDGEG5KR533898   Chrysler       GR                  PHOENIX                   AZ
61421   2C4RDGEG5KR533903   Chrysler       GR                  INGLEWOOD                 CA
61422   2C4RDGEG5KR533920   Chrysler       GR                  ORLANDO                   FL
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61423   2C4RDGEG5KR533951   Chrysler       GR                  LAS VEGAS                 NV
61424   2C4RDGEG5KR533965   Chrysler       GR                  EL PASO                   TX
61425   2C4RDGEG5KR533979   Chrysler       GR                  NEW BERN                  NC
61426   2C4RDGEG5KR533982   Chrysler       GR                  PHOENIX                   AZ
61427   2C4RDGEG5KR533996   Chrysler       GR                  ORLANDO                   FL
61428   2C4RDGEG5KR534002   Chrysler       GR                  WEST PALM BEACH           FL
61429   2C4RDGEG5KR534047   Chrysler       GR                  Ft. Myers                 FL
61430   2C4RDGEG5KR534064   Chrysler       GR                  CHICAGO                   IL
61431   2C4RDGEG5KR534095   Chrysler       GR                  LOS ANGELES               CA
61432   2C4RDGEG5KR534100   Chrysler       GR                  DENVER                    CO
61433   2C4RDGEG5KR534114   Chrysler       GR                  CODY                      WY
61434   2C4RDGEG5KR534128   Chrysler       GR                  TAMPA                     FL
61435   2C4RDGEG5KR534145   Chrysler       GR                  BOISE                     US
61436   2C4RDGEG5KR534162   Chrysler       GR                  LOS ANGELES               CA
61437   2C4RDGEG5KR534176   Chrysler       GR                  PHILADELPHIA              PA
61438   2C4RDGEG5KR534193   Chrysler       GR                  AUSTIN                    TX
61439   2C4RDGEG5KR534209   Chrysler       GR                  LOS ANGELES               CA
61440   2C4RDGEG5KR534226   Chrysler       GR                  AUSTIN                    TX
61441   2C4RDGEG5KR534288   Chrysler       GR                  PHOENIX                   AZ
61442   2C4RDGEG5KR534307   Chrysler       GR                  Austin                    TX
61443   2C4RDGEG5KR534338   Chrysler       GR                  TAMPA                     FL
61444   2C4RDGEG5KR534341   Chrysler       GR                  MEMPHIS                   TN
61445   2C4RDGEG5KR534372   Chrysler       GR                  NORFOLK                   VA
61446   2C4RDGEG5KR534386   Chrysler       GR                  ORLANDO                   FL
61447   2C4RDGEG5KR534419   Chrysler       GR                  DETROIT                   MI
61448   2C4RDGEG5KR534422   Chrysler       GR                  ORLANDO                   FL
61449   2C4RDGEG5KR534453   Chrysler       GR                  Ocoee                     FL
61450   2C4RDGEG5KR534467   Chrysler       GR                  ORLANDO                   FL
61451   2C4RDGEG5KR534470   Chrysler       GR                  ORLANDO                   FL
61452   2C4RDGEG5KR534498   Chrysler       GR                  Miami                     FL
61453   2C4RDGEG5KR534517   Chrysler       GR                  SAN FRANCISCO             CA
61454   2C4RDGEG5KR534548   Chrysler       GR                  KNOXVILLE                 TN
61455   2C4RDGEG5KR534565   Chrysler       GR                  KEY WEST                  FL
61456   2C4RDGEG5KR534579   Chrysler       GR                  Harvey                    LA
61457   2C4RDGEG5KR534596   Chrysler       GR                  FORT MYERS                FL
61458   2C4RDGEG5KR534615   Chrysler       GR                  ROCHESTER                 NY
61459   2C4RDGEG5KR534663   Chrysler       GR                  ORLANDO                   FL
61460   2C4RDGEG5KR534677   Chrysler       GR                  MANCHESTER                US
61461   2C4RDGEG5KR534680   Chrysler       GR                  EAST BOSTON               MA
61462   2C4RDGEG5KR534713   Chrysler       GR                  FORT MYERS                FL
61463   2C4RDGEG5KR534727   Chrysler       GR                  LOS ANGELES               CA
61464   2C4RDGEG5KR534730   Chrysler       GR                  GREENSBORO                NC
61465   2C4RDGEG5KR534758   Chrysler       GR                  Warr Acres                OK
61466   2C4RDGEG5KR534761   Chrysler       GR                  TAMPA                     FL
61467   2C4RDGEG5KR534775   Chrysler       GR                  NEW BERN                  NC
61468   2C4RDGEG5KR534789   Chrysler       GR                  ORLANDO                   FL
61469   2C4RDGEG5KR534808   Chrysler       GR                  JACKSONVILLE              FL
61470   2C4RDGEG5KR534811   Chrysler       GR                  RALIEGH                   NC
61471   2C4RDGEG5KR534839   Chrysler       GR                  ORLANDO                   FL
61472   2C4RDGEG5KR534856   Chrysler       GR                  MIAMI                     FL
61473   2C4RDGEG5KR534873   Chrysler       GR                  JACKSONVILLE              FL
61474   2C4RDGEG5KR534887   Chrysler       GR                  WEST PALM BEACH           FL
61475   2C4RDGEG5KR534890   Chrysler       GR                  BOSTON                    MA
61476   2C4RDGEG5KR534937   Chrysler       GR                  SANFORD                   FL
61477   2C4RDGEG5KR534954   Chrysler       GR                  Sanford                   FL
61478   2C4RDGEG5KR534971   Chrysler       GR                  ORLANDO                   FL
61479   2C4RDGEG5KR534999   Chrysler       GR                  Miami                     FL
61480   2C4RDGEG5KR535005   Chrysler       GR                  BOSTON                    MA
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61481   2C4RDGEG5KR535019   Chrysler       GR                  Atlanta                   GA
61482   2C4RDGEG5KR535022   Chrysler       GR                  SANFORD                   FL
61483   2C4RDGEG5KR535067   Chrysler       GR                  Columbus                  OH
61484   2C4RDGEG5KR535098   Chrysler       GR                  KENNER                    LA
61485   2C4RDGEG5KR535117   Chrysler       GR                  CHICAGO                   IL
61486   2C4RDGEG5KR535134   Chrysler       GR                  BOSTON                    MA
61487   2C4RDGEG5KR535148   Chrysler       GR                  LAS VEGAS                 NV
61488   2C4RDGEG5KR535165   Chrysler       GR                  WHITE PLAINS              NY
61489   2C4RDGEG5KR535179   Chrysler       GR                  KENNER                    LA
61490   2C4RDGEG5KR535201   Chrysler       GR                  HOUSTON                   TX
61491   2C4RDGEG5KR535229   Chrysler       GR                  Atlanta                   GA
61492   2C4RDGEG5KR535246   Chrysler       GR                  BOSTON                    MA
61493   2C4RDGEG5KR535277   Chrysler       GR                  FORT LAUDERDALE           FL
61494   2C4RDGEG5KR535280   Chrysler       GR                  Atlanta                   GA
61495   2C4RDGEG5KR535294   Chrysler       GR                  TAMPA                     FL
61496   2C4RDGEG5KR535313   Chrysler       GR                  Kent                      WA
61497   2C4RDGEG5KR535344   Chrysler       GR                  BOSTON                    MA
61498   2C4RDGEG5KR535411   Chrysler       GR                  ASTORIA                   NY
61499   2C4RDGEG5KR535442   Chrysler       GR                  MIAMI                     FL
61500   2C4RDGEG5KR535506   Chrysler       GR                  MEMPHIS                   TN
61501   2C4RDGEG5KR535523   Chrysler       GR                  STERLING                  VA
61502   2C4RDGEG5KR535599   Chrysler       GR                  ORLANDO                   FL
61503   2C4RDGEG5KR535621   Chrysler       GR                  Miami                     FL
61504   2C4RDGEG5KR535649   Chrysler       GR                  DENVER                    CO
61505   2C4RDGEG5KR535683   Chrysler       GR                  LAS VEGAS                 NV
61506   2C4RDGEG5KR535702   Chrysler       GR                  ORLANDO                   FL
61507   2C4RDGEG5KR535733   Chrysler       GR                  TAMPA                     FL
61508   2C4RDGEG5KR535778   Chrysler       GR                  STERLING                  VA
61509   2C4RDGEG5KR535828   Chrysler       GR                  Norwalk                   CA
61510   2C4RDGEG5KR536557   Chrysler       GR                  LIHUE                     HI
61511   2C4RDGEG5KR536719   Chrysler       GR                  EWA BEACH                 HI
61512   2C4RDGEG5KR537935   Chrysler       GR                  White Plains              NY
61513   2C4RDGEG5KR537949   Chrysler       GR                  KILLEEN                   TX
61514   2C4RDGEG5KR537997   Chrysler       GR                  DENHAM SPRINGS            LA
61515   2C4RDGEG5KR538034   Chrysler       GR                  LOS ANGELES AP            CA
61516   2C4RDGEG5KR538051   Chrysler       GR                  MONTCLAIR                 CA
61517   2C4RDGEG5KR538101   Chrysler       GR                  SYRACUSE                  NY
61518   2C4RDGEG5KR538115   Chrysler       GR                  MIAMI                     FL
61519   2C4RDGEG5KR538129   Chrysler       GR                  Orlando                   FL
61520   2C4RDGEG5KR538132   Chrysler       GR                  Ft. Myers                 FL
61521   2C4RDGEG5KR538163   Chrysler       GR                  ORLANDO                   FL
61522   2C4RDGEG5KR538180   Chrysler       GR                  ORLANDO                   FL
61523   2C4RDGEG5KR538213   Chrysler       GR                  DENVER                    CO
61524   2C4RDGEG5KR538227   Chrysler       GR                  Torrance                  CA
61525   2C4RDGEG5KR538258   Chrysler       GR                  JACKSONVILLE              FL
61526   2C4RDGEG5KR538275   Chrysler       GR                  SANTA ANA                 CA
61527   2C4RDGEG5KR538289   Chrysler       GR                  PHOENIX                   AZ
61528   2C4RDGEG5KR538325   Chrysler       GR                  Warminster                PA
61529   2C4RDGEG5KR538339   Chrysler       GR                  STERLING                  VA
61530   2C4RDGEG5KR538342   Chrysler       GR                  TRACY                     CA
61531   2C4RDGEG5KR538356   Chrysler       GR                  ORLANDO                   FL
61532   2C4RDGEG5KR538373   Chrysler       GR                  Dallas                    TX
61533   2C4RDGEG5KR556369   Chrysler       GR                  ORLANDO                   FL
61534   2C4RDGEG5KR556405   Chrysler       GR                  ORLANDO                   FL
61535   2C4RDGEG5KR556419   Chrysler       GR                  Detroit                   MI
61536   2C4RDGEG5KR556422   Chrysler       GR                  PENSACOLA                 FL
61537   2C4RDGEG5KR556436   Chrysler       GR                  FORT MYERS                FL
61538   2C4RDGEG5KR556453   Chrysler       GR                  Miami                     FL
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61539   2C4RDGEG5KR556467   Chrysler       GR                  Atlanta                   GA
61540   2C4RDGEG5KR556470   Chrysler       GR                  WEST PALM BEACH           FL
61541   2C4RDGEG5KR567811   Chrysler       GR                  Portland                  OR
61542   2C4RDGEG5KR567825   Chrysler       GR                  ATLANTA                   GA
61543   2C4RDGEG5KR567839   Chrysler       GR                  ORLANDO                   FL
61544   2C4RDGEG5KR567856   Chrysler       GR                  COLUMBIA                  SC
61545   2C4RDGEG5KR567873   Chrysler       GR                  WEST PALM BEACH           FL
61546   2C4RDGEG5KR567887   Chrysler       GR                  Newark                    NJ
61547   2C4RDGEG5KR567968   Chrysler       GR                  BOSTON                    MA
61548   2C4RDGEG5KR567971   Chrysler       GR                  ORLANDO                   FL
61549   2C4RDGEG5KR567985   Chrysler       GR                  Philadelphia              PA
61550   2C4RDGEG5KR568022   Chrysler       GR                  PORTLAND                  OR
61551   2C4RDGEG5KR568036   Chrysler       GR                  LOS ANGELES               CA
61552   2C4RDGEG5KR568067   Chrysler       GR                  SAN DIEGO                 CA
61553   2C4RDGEG5KR568070   Chrysler       GR                  FORT MYERS                FL
61554   2C4RDGEG5KR568084   Chrysler       GR                  LAS VEGAS                 NV
61555   2C4RDGEG5KR568098   Chrysler       GR                  NEWARK                    NJ
61556   2C4RDGEG5KR570904   Chrysler       GR                  BURBANK                   CA
61557   2C4RDGEG5KR570935   Chrysler       GR                  CHARLOTTE                 NC
61558   2C4RDGEG5KR570983   Chrysler       GR                  MIAMI                     FL
61559   2C4RDGEG5KR570997   Chrysler       GR                  NAPLES                    FL
61560   2C4RDGEG5KR571017   Chrysler       GR                  ORLANDO                   FL
61561   2C4RDGEG5KR571020   Chrysler       GR                  FORT LAUDERDALE           FL
61562   2C4RDGEG5KR571034   Chrysler       GR                  FAYETTEVILLE              US
61563   2C4RDGEG5KR571048   Chrysler       GR                  New York                  NY
61564   2C4RDGEG5KR571051   Chrysler       GR                  TAMPA                     US
61565   2C4RDGEG5KR571082   Chrysler       GR                  FORT LAUDERDALE           FL
61566   2C4RDGEG5KR571101   Chrysler       GR                  Elkridge                  MD
61567   2C4RDGEG5KR571115   Chrysler       GR                  MIAMI                     FL
61568   2C4RDGEG5KR571129   Chrysler       GR                  Riverside                 CA
61569   2C4RDGEG5KR571132   Chrysler       GR                  SAVANNAH                  GA
61570   2C4RDGEG5KR571146   Chrysler       GR                  WEST PALM BEACH           FL
61571   2C4RDGEG5KR571163   Chrysler       GR                  FORT LAUDERDALE           FL
61572   2C4RDGEG5KR571177   Chrysler       GR                  Plainfield                IN
61573   2C4RDGEG5KR571180   Chrysler       GR                  WEST PALM BEACH           FL
61574   2C4RDGEG5KR571213   Chrysler       GR                  SAN ANTONIO               TX
61575   2C4RDGEG5KR571230   Chrysler       GR                  ORLANDO                   FL
61576   2C4RDGEG5KR571244   Chrysler       GR                  LAS VEGAS                 NV
61577   2C4RDGEG5KR571258   Chrysler       GR                  KNOXVILLE                 TN
61578   2C4RDGEG5KR571289   Chrysler       GR                  HOUSTON                   TX
61579   2C4RDGEG5KR571311   Chrysler       GR                  ORLANDO                   FL
61580   2C4RDGEG5KR571406   Chrysler       GR                  Atlanta                   GA
61581   2C4RDGEG5KR571437   Chrysler       GR                  NEW BERN                  NC
61582   2C4RDGEG5KR571454   Chrysler       GR                  ATLANTA                   GA
61583   2C4RDGEG5KR571535   Chrysler       GR                  Fontana                   CA
61584   2C4RDGEG5KR577867   Chrysler       GR                  KENNER                    LA
61585   2C4RDGEG5KR577884   Chrysler       GR                  FORT LAUDERDALE           FL
61586   2C4RDGEG5KR577920   Chrysler       GR                  TAMPA                     FL
61587   2C4RDGEG5KR577982   Chrysler       GR                  MIAMI                     FL
61588   2C4RDGEG5KR578002   Chrysler       GR                  KNOXVILLE                 TN
61589   2C4RDGEG5KR578050   Chrysler       GR                  TAMPA                     FL
61590   2C4RDGEG5KR616912   Chrysler       GR                  CHICAGO                   IL
61591   2C4RDGEG5KR616943   Chrysler       GR                  Hanover                   MD
61592   2C4RDGEG5KR617008   Chrysler       GR                  LUBBOCK                   TX
61593   2C4RDGEG5KR617784   Chrysler       GR                  ORLANDO                   FL
61594   2C4RDGEG5KR617848   Chrysler       GR                  LOS ANGELES               CA
61595   2C4RDGEG5KR617851   Chrysler       GR                  LOS ANGELES               CA
61596   2C4RDGEG5KR617946   Chrysler       GR                  TAMPA                     FL
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61597   2C4RDGEG5KR618059   Chrysler       GR                  ORLANDO                   FL
61598   2C4RDGEG5KR630664   Chrysler       GR                  St. Louis                 MO
61599   2C4RDGEG5KR630714   Chrysler       GR                  Memphis                   TN
61600   2C4RDGEG5KR630731   Chrysler       GR                  BIRMINGHAM                AL
61601   2C4RDGEG5KR630776   Chrysler       GR                  ORLANDO                   FL
61602   2C4RDGEG5KR630809   Chrysler       GR                  DFW AIRPORT               TX
61603   2C4RDGEG5KR630874   Chrysler       GR                  COLLEGE PARK              GA
61604   2C4RDGEG5KR630910   Chrysler       GR                  MEMPHIS                   TN
61605   2C4RDGEG5KR630955   Chrysler       GR                  Smithtown                 NY
61606   2C4RDGEG5KR630986   Chrysler       GR                  Riverside                 CA
61607   2C4RDGEG5KR631040   Chrysler       GR                  Slidell                   LA
61608   2C4RDGEG5KR631197   Chrysler       GR                  PORTLAND                  ME
61609   2C4RDGEG5KR634035   Chrysler       GR                  Fontana                   CA
61610   2C4RDGEG5KR636951   Chrysler       GR                  STATESBORO                GA
61611   2C4RDGEG5KR636982   Chrysler       GR                  SAN ANTONIO               TX
61612   2C4RDGEG5KR640322   Chrysler       GR                  MIAMI                     FL
61613   2C4RDGEG5KR640367   Chrysler       GR                  Portland                  ME
61614   2C4RDGEG5KR640370   Chrysler       GR                  SAN DIEGO                 CA
61615   2C4RDGEG5KR640403   Chrysler       GR                  LAS VEGAS                 NV
61616   2C4RDGEG5KR640434   Chrysler       GR                  Warr Acres                OK
61617   2C4RDGEG5KR640451   Chrysler       GR                  Kent                      WA
61618   2C4RDGEG5KR640532   Chrysler       GR                  BURBANK                   CA
61619   2C4RDGEG5KR640658   Chrysler       GR                  LOS ANGELES               CA
61620   2C4RDGEG5KR640840   Chrysler       GR                  Oklahoma City             OK
61621   2C4RDGEG5KR640966   Chrysler       GR                  SANTA ANA                 CA
61622   2C4RDGEG5KR641017   Chrysler       GR                  HOUSTON                   TX
61623   2C4RDGEG5KR641051   Chrysler       GR                  Austin                    TX
61624   2C4RDGEG5KR641115   Chrysler       GR                  CORPUS CHRISTI            TX
61625   2C4RDGEG5KR641163   Chrysler       GR                  NASHVILLE                 TN
61626   2C4RDGEG5KR641244   Chrysler       GR                  Cicero                    NY
61627   2C4RDGEG5KR641275   Chrysler       GR                  LANCASTER                 PA
61628   2C4RDGEG5KR641387   Chrysler       GR                  SAINT LOUIS               MO
61629   2C4RDGEG5KR641468   Chrysler       GR                  LAS VEGAS                 NV
61630   2C4RDGEG5KR641471   Chrysler       GR                  Louisville                KY
61631   2C4RDGEG5KR641485   Chrysler       GR                  Hayward                   CA
61632   2C4RDGEG5KR641504   Chrysler       GR                  Rockville Centr           NY
61633   2C4RDGEG5KR641521   Chrysler       GR                  LITTLE ROCK               AR
61634   2C4RDGEG5KR645956   Chrysler       GR                  LAS VEGAS                 NV
61635   2C4RDGEG5KR646024   Chrysler       GR                  NEW BERN                  NC
61636   2C4RDGEG5KR646069   Chrysler       GR                  Irving                    TX
61637   2C4RDGEG5KR646086   Chrysler       GR                  Manheim                   PA
61638   2C4RDGEG5KR646105   Chrysler       GR                  GRAND RAPIDS              MI
61639   2C4RDGEG5KR646136   Chrysler       GR                  HOUSTON                   TX
61640   2C4RDGEG5KR646153   Chrysler       GR                  WEST PALM BEACH           FL
61641   2C4RDGEG5KR646203   Chrysler       GR                  WOODSON TERRACE           MO
61642   2C4RDGEG5KR646234   Chrysler       GR                  CLEVELAND                 OH
61643   2C4RDGEG5KR646282   Chrysler       GR                  DALLAS                    TX
61644   2C4RDGEG5KR646301   Chrysler       GR                  KILLEEN                   TX
61645   2C4RDGEG5KR646329   Chrysler       GR                  HOUSTON                   TX
61646   2C4RDGEG5KR646377   Chrysler       GR                  LITTLE ROCK               AR
61647   2C4RDGEG5KR658223   Chrysler       GR                  KENNER                    LA
61648   2C4RDGEG5KR658335   Chrysler       GR                  CHEEKTOWAGA               NY
61649   2C4RDGEG5KR658352   Chrysler       GR                  CLEVELAND                 OH
61650   2C4RDGEG5KR658383   Chrysler       GR                  Atlanta                   GA
61651   2C4RDGEG5KR658397   Chrysler       GR                  HOUSTON                   TX
61652   2C4RDGEG5KR658416   Chrysler       GR                  WEST PALM BEACH           FL
61653   2C4RDGEG5KR658464   Chrysler       GR                  LOUISVILLE                KY
61654   2C4RDGEG5KR658478   Chrysler       GR                  KENNER                    LA
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61655   2C4RDGEG5KR658495   Chrysler       GR                  MIAMI                     FL
61656   2C4RDGEG5KR658500   Chrysler       GR                  CLEVELAND                 OH
61657   2C4RDGEG5KR658528   Chrysler       GR                  SAN ANTONIO               TX
61658   2C4RDGEG5KR658545   Chrysler       GR                  CHEEKTOWAGA               NY
61659   2C4RDGEG5KR658576   Chrysler       GR                  HOUSTON                   TX
61660   2C4RDGEG5KR658593   Chrysler       GR                  Smithtown                 NY
61661   2C4RDGEG5KR658609   Chrysler       GR                  DETROIT                   MI
61662   2C4RDGEG5KR658612   Chrysler       GR                  PROVIDENCE                RI
61663   2C4RDGEG5KR658660   Chrysler       GR                  RICHMOND                  VA
61664   2C4RDGEG5KR658707   Chrysler       GR                  BOSTON                    MA
61665   2C4RDGEG5KR658738   Chrysler       GR                  MINNEAPOLIS               MN
61666   2C4RDGEG5KR658741   Chrysler       GR                  KANSAS CITY               MO
61667   2C4RDGEG5KR658769   Chrysler       GR                  SEATTLE                   WA
61668   2C4RDGEG5KR670114   Chrysler       GR                  SEA TAC                   WA
61669   2C4RDGEG5KR670128   Chrysler       GR                  Denver                    CO
61670   2C4RDGEG5KR670145   Chrysler       GR                  DALLAS                    TX
61671   2C4RDGEG5KR670176   Chrysler       GR                  Memphis                   TN
61672   2C4RDGEG5KR670243   Chrysler       GR                  RALEIGH                   NC
61673   2C4RDGEG5KR670257   Chrysler       GR                  KENNER                    LA
61674   2C4RDGEG5KR670274   Chrysler       GR                  LOUISVILLE                KY
61675   2C4RDGEG5KR670291   Chrysler       GR                  STERLING                  VA
61676   2C4RDGEG5KR670307   Chrysler       GR                  Sterling                  VA
61677   2C4RDGEG5KR670436   Chrysler       GR                  LOUISVILLE                KY
61678   2C4RDGEG5KR670453   Chrysler       GR                  SALT LAKE CITY            US
61679   2C4RDGEG5KR670470   Chrysler       GR                  BLOOMINGTON               IL
61680   2C4RDGEG5KR670484   Chrysler       GR                  Atlanta                   GA
61681   2C4RDGEG5KR670517   Chrysler       GR                  GRAND RAPIDS              MI
61682   2C4RDGEG5KR670677   Chrysler       GR                  CHARLOTTE                 NC
61683   2C4RDGEG5KR670730   Chrysler       GR                  PORTLAND                  ME
61684   2C4RDGEG5KR670808   Chrysler       GR                  SAINT LOUIS               MO
61685   2C4RDGEG5KR676009   Chrysler       GR                  DAYTON                    OH
61686   2C4RDGEG5KR676012   Chrysler       GR                  CHICAGO                   IL
61687   2C4RDGEG5KR676026   Chrysler       GR                  Hebron                    KY
61688   2C4RDGEG5KR676074   Chrysler       GR                  Jacksonville              FL
61689   2C4RDGEG5KR676088   Chrysler       GR                  Leesburg                  VA
61690   2C4RDGEG5KR676107   Chrysler       GR                  Alcoa                     TN
61691   2C4RDGEG5KR676110   Chrysler       GR                  Manheim                   PA
61692   2C4RDGEG5KR681999   Chrysler       GR                  NEW ORLEANS               LA
61693   2C4RDGEG5KR682019   Chrysler       GR                  Chicago                   IL
61694   2C4RDGEG5KR682067   Chrysler       GR                  INDIANAPOLIS              IN
61695   2C4RDGEG5KR682070   Chrysler       GR                  LAS VEGAS                 NV
61696   2C4RDGEG5KR760363   Chrysler       GR                  FORT MYERS                FL
61697   2C4RDGEG5KR760850   Chrysler       GR                  ST Paul                   MN
61698   2C4RDGEG5KR764204   Chrysler       GR                  BURBANK                   CA
61699   2C4RDGEG5KR764509   Chrysler       GR                  FORT MYERS                FL
61700   2C4RDGEG5KR765028   Chrysler       GR                  FORT MYERS                FL
61701   2C4RDGEG5KR769306   Chrysler       GR                  Miami                     FL
61702   2C4RDGEG5KR769645   Chrysler       GR                  Dallas                    TX
61703   2C4RDGEG5KR769662   Chrysler       GR                  Kansas City               MO
61704   2C4RDGEG5KR769676   Chrysler       GR                  CLARKSVILLE               IN
61705   2C4RDGEG5KR769824   Chrysler       GR                  Honolulu                  HI
61706   2C4RDGEG5KR770049   Chrysler       GR                  Harvey                    LA
61707   2C4RDGEG5KR770150   Chrysler       GR                  ST Paul                   MN
61708   2C4RDGEG6JR140653   Chrysler       GR                  DAYTONA BEACH             FL
61709   2C4RDGEG6JR145772   Chrysler       GR                  DALLAS                    TX
61710   2C4RDGEG6JR150258   Chrysler       GR                  Hayward                   CA
61711   2C4RDGEG6JR150261   Chrysler       GR                  Hilo                      HI
61712   2C4RDGEG6JR150275   Chrysler       GR                  HILO                      HI
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61713   2C4RDGEG6JR150342   Chrysler       GR                  KAHULUI                   HI
61714   2C4RDGEG6JR150387   Chrysler       GR                  HONOLULU                  HI
61715   2C4RDGEG6JR168789   Chrysler       GR                  Manheim                   PA
61716   2C4RDGEG6JR189433   Chrysler       GR                  HILO                      HI
61717   2C4RDGEG6JR195362   Chrysler       GR                  HILO                      HI
61718   2C4RDGEG6JR195376   Chrysler       GR                  KAILUA‐KONA               HI
61719   2C4RDGEG6JR195393   Chrysler       GR                  KALAOA                    HI
61720   2C4RDGEG6JR196091   Chrysler       GR                  Atlanta                   GA
61721   2C4RDGEG6JR196138   Chrysler       GR                  TRACY                     CA
61722   2C4RDGEG6JR196141   Chrysler       GR                  HILO                      HI
61723   2C4RDGEG6JR196155   Chrysler       GR                  Lihue                     HI
61724   2C4RDGEG6JR238095   Chrysler       GR                  Atlanta                   GA
61725   2C4RDGEG6JR254118   Chrysler       GR                  Miami                     FL
61726   2C4RDGEG6JR254121   Chrysler       GR                  Harvey                    LA
61727   2C4RDGEG6JR254202   Chrysler       GR                  ORLANDO                   FL
61728   2C4RDGEG6JR254247   Chrysler       GR                  ORLANDO                   FL
61729   2C4RDGEG6JR254295   Chrysler       GR                  ATLANTA                   GA
61730   2C4RDGEG6JR254393   Chrysler       GR                  SANTA ANA                 CA
61731   2C4RDGEG6JR254426   Chrysler       GR                  Denver                    CO
61732   2C4RDGEG6JR254488   Chrysler       GR                  St. Louis                 MO
61733   2C4RDGEG6JR254510   Chrysler       GR                  Orlando                   FL
61734   2C4RDGEG6JR254541   Chrysler       GR                  CHICAGO                   IL
61735   2C4RDGEG6JR254586   Chrysler       GR                  PHILADELPHIA              PA
61736   2C4RDGEG6JR254605   Chrysler       GR                  Fontana                   CA
61737   2C4RDGEG6JR271713   Chrysler       GR                  BOSTON                    MA
61738   2C4RDGEG6JR280914   Chrysler       GR                  Elkridge                  MD
61739   2C4RDGEG6JR280928   Chrysler       GR                  SARASOTA                  FL
61740   2C4RDGEG6JR334583   Chrysler       GR                  CLEVELAND                 OH
61741   2C4RDGEG6JR334597   Chrysler       GR                  AUSTIN                    TX
61742   2C4RDGEG6JR334616   Chrysler       GR                  MANHATTAN                 NY
61743   2C4RDGEG6JR334647   Chrysler       GR                  SANTA ANA                 CA
61744   2C4RDGEG6JR334731   Chrysler       GR                  BURBANK                   CA
61745   2C4RDGEG6JR334762   Chrysler       GR                  LAS VEGAS                 NV
61746   2C4RDGEG6JR340934   Chrysler       GR                  Fontana                   CA
61747   2C4RDGEG6KR533098   Chrysler       GR                  Des Moines                IA
61748   2C4RDGEG6KR533103   Chrysler       GR                  PHOENIX                   AZ
61749   2C4RDGEG6KR533568   Chrysler       GR                  ATLANTA                   GA
61750   2C4RDGEG6KR533571   Chrysler       GR                  LAS VEGAS                 NV
61751   2C4RDGEG6KR533599   Chrysler       GR                  LOS ANGELES               CA
61752   2C4RDGEG6KR533604   Chrysler       GR                  LOS ANGELES               CA
61753   2C4RDGEG6KR533618   Chrysler       GR                  Salt Lake City            UT
61754   2C4RDGEG6KR533635   Chrysler       GR                  Austin                    TX
61755   2C4RDGEG6KR533649   Chrysler       GR                  Las Vegas                 NV
61756   2C4RDGEG6KR533652   Chrysler       GR                  Austin                    TX
61757   2C4RDGEG6KR533697   Chrysler       GR                  Rio Linda                 CA
61758   2C4RDGEG6KR533716   Chrysler       GR                  LAS VEGAS                 NV
61759   2C4RDGEG6KR533750   Chrysler       GR                  BURBANK                   CA
61760   2C4RDGEG6KR533764   Chrysler       GR                  ORANGE COUNTY             CA
61761   2C4RDGEG6KR533781   Chrysler       GR                  Bensalem                  PA
61762   2C4RDGEG6KR533800   Chrysler       GR                  JACKSON                   MS
61763   2C4RDGEG6KR533814   Chrysler       GR                  TRACY                     CA
61764   2C4RDGEG6KR533828   Chrysler       GR                  SAN DIEGO                 CA
61765   2C4RDGEG6KR533831   Chrysler       GR                  PHOENIX                   AZ
61766   2C4RDGEG6KR533845   Chrysler       GR                  LAS VEGAS                 NV
61767   2C4RDGEG6KR533859   Chrysler       GR                  Rio Linda                 CA
61768   2C4RDGEG6KR533876   Chrysler       GR                  LAS VEGAS                 NV
61769   2C4RDGEG6KR533909   Chrysler       GR                  PHOENIX                   AZ
61770   2C4RDGEG6KR533912   Chrysler       GR                  SAN JOSE                  CA
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61771   2C4RDGEG6KR533926   Chrysler       GR                  Riverside                 CA
61772   2C4RDGEG6KR533943   Chrysler       GR                  LOS ANGELES               CA
61773   2C4RDGEG6KR533957   Chrysler       GR                  PHOENIX                   AZ
61774   2C4RDGEG6KR533991   Chrysler       GR                  CHICAGO                   IL
61775   2C4RDGEG6KR534008   Chrysler       GR                  LOS ANGELES AP            CA
61776   2C4RDGEG6KR534039   Chrysler       GR                  Los Angeles               CA
61777   2C4RDGEG6KR534042   Chrysler       GR                  NEW BERN                  NC
61778   2C4RDGEG6KR534056   Chrysler       GR                  MIAMI                     FL
61779   2C4RDGEG6KR534073   Chrysler       GR                  WEST PALM BEACH           FL
61780   2C4RDGEG6KR534087   Chrysler       GR                  ATLANTA                   GA
61781   2C4RDGEG6KR534090   Chrysler       GR                  FRESNO                    CA
61782   2C4RDGEG6KR534140   Chrysler       GR                  PHOENIX                   AZ
61783   2C4RDGEG6KR534154   Chrysler       GR                  Atlanta                   GA
61784   2C4RDGEG6KR534168   Chrysler       GR                  LOS ANGELES               CA
61785   2C4RDGEG6KR534171   Chrysler       GR                  Pasadena                  CA
61786   2C4RDGEG6KR534199   Chrysler       GR                  Atlanta                   GA
61787   2C4RDGEG6KR534249   Chrysler       GR                  COLUMBIA                  SC
61788   2C4RDGEG6KR534252   Chrysler       GR                  KEY WEST                  FL
61789   2C4RDGEG6KR534283   Chrysler       GR                  LAS VEGAS                 NV
61790   2C4RDGEG6KR534302   Chrysler       GR                  DENVER                    CO
61791   2C4RDGEG6KR534316   Chrysler       GR                  PHOENIX                   AZ
61792   2C4RDGEG6KR534333   Chrysler       GR                  Atlanta                   GA
61793   2C4RDGEG6KR534350   Chrysler       GR                  FORT MYERS                FL
61794   2C4RDGEG6KR534364   Chrysler       GR                  MIAMI                     FL
61795   2C4RDGEG6KR534378   Chrysler       GR                  TAMPA                     FL
61796   2C4RDGEG6KR534381   Chrysler       GR                  ORLANDO                   FL
61797   2C4RDGEG6KR534395   Chrysler       GR                  Orlando                   FL
61798   2C4RDGEG6KR534400   Chrysler       GR                  CHICAGO                   IL
61799   2C4RDGEG6KR534414   Chrysler       GR                  NEW BERN                  NC
61800   2C4RDGEG6KR534428   Chrysler       GR                  JACKSONVILLE              FL
61801   2C4RDGEG6KR534476   Chrysler       GR                  BALTIMORE                 MD
61802   2C4RDGEG6KR534512   Chrysler       GR                  Davie                     FL
61803   2C4RDGEG6KR534526   Chrysler       GR                  TUCSON                    AZ
61804   2C4RDGEG6KR534574   Chrysler       GR                  ORLANDO                   FL
61805   2C4RDGEG6KR534591   Chrysler       GR                  ORLANDO                   FL
61806   2C4RDGEG6KR534610   Chrysler       GR                  FORT LAUDERDALE           FL
61807   2C4RDGEG6KR534624   Chrysler       GR                  MINNEAPOLIS               MN
61808   2C4RDGEG6KR534638   Chrysler       GR                  TAMPA                     US
61809   2C4RDGEG6KR534641   Chrysler       GR                  FORT LAUDERDALE           FL
61810   2C4RDGEG6KR534669   Chrysler       GR                  FORT MYERS                FL
61811   2C4RDGEG6KR534672   Chrysler       GR                  TAMPA                     FL
61812   2C4RDGEG6KR534705   Chrysler       GR                  ONTARIO                   CA
61813   2C4RDGEG6KR534719   Chrysler       GR                  Miami                     FL
61814   2C4RDGEG6KR534722   Chrysler       GR                  WARWICK                   RI
61815   2C4RDGEG6KR534736   Chrysler       GR                  ORLANDO                   FL
61816   2C4RDGEG6KR534784   Chrysler       GR                  ORLANDO                   FL
61817   2C4RDGEG6KR534798   Chrysler       GR                  FORT LAUDERDALE           FL
61818   2C4RDGEG6KR534803   Chrysler       GR                  FORT MYERS                FL
61819   2C4RDGEG6KR534820   Chrysler       GR                  MIAMI                     FL
61820   2C4RDGEG6KR534865   Chrysler       GR                  WEST PALM BEACH           FL
61821   2C4RDGEG6KR534879   Chrysler       GR                  MIAMI                     FL
61822   2C4RDGEG6KR534882   Chrysler       GR                  Atlanta                   GA
61823   2C4RDGEG6KR534896   Chrysler       GR                  SARATOGA SPRINGS          NY
61824   2C4RDGEG6KR534929   Chrysler       GR                  ORLANDO                   FL
61825   2C4RDGEG6KR534932   Chrysler       GR                  PITTSBURGH                PA
61826   2C4RDGEG6KR534946   Chrysler       GR                  ORLANDO                   FL
61827   2C4RDGEG6KR534963   Chrysler       GR                  RALIEGH                   NC
61828   2C4RDGEG6KR534980   Chrysler       GR                  BOSTON                    MA
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61829   2C4RDGEG6KR534994   Chrysler       GR                  FAYETTEVILLE              GA
61830   2C4RDGEG6KR535014   Chrysler       GR                  TITUSVILLE                FL
61831   2C4RDGEG6KR535028   Chrysler       GR                  ORLANDO                   FL
61832   2C4RDGEG6KR535031   Chrysler       GR                  FORT LAUDERDALE           FL
61833   2C4RDGEG6KR535076   Chrysler       GR                  CHARLOTTE                 NC
61834   2C4RDGEG6KR535093   Chrysler       GR                  FORT LAUDERDALE           FL
61835   2C4RDGEG6KR535109   Chrysler       GR                  SAVANNAH                  GA
61836   2C4RDGEG6KR535157   Chrysler       GR                  WEST PALM BEACH           FL
61837   2C4RDGEG6KR535174   Chrysler       GR                  STERLING                  VA
61838   2C4RDGEG6KR535191   Chrysler       GR                  SALT LAKE CITY            UT
61839   2C4RDGEG6KR535210   Chrysler       GR                  PHOENIX                   AZ
61840   2C4RDGEG6KR535224   Chrysler       GR                  Miami                     FL
61841   2C4RDGEG6KR535255   Chrysler       GR                  HOUSTON                   TX
61842   2C4RDGEG6KR535336   Chrysler       GR                  SANTA ANA                 CA
61843   2C4RDGEG6KR535367   Chrysler       GR                  ATLANTA                   GA
61844   2C4RDGEG6KR535417   Chrysler       GR                  ORLANDO                   FL
61845   2C4RDGEG6KR535420   Chrysler       GR                  FORT LAUDERDALE           FL
61846   2C4RDGEG6KR535434   Chrysler       GR                  PITTSBURGH                PA
61847   2C4RDGEG6KR535448   Chrysler       GR                  NEW ORLEANS               LA
61848   2C4RDGEG6KR535465   Chrysler       GR                  DAYTONA BEACH             FL
61849   2C4RDGEG6KR535479   Chrysler       GR                  DENVER                    CO
61850   2C4RDGEG6KR535482   Chrysler       GR                  ORLANDO                   FL
61851   2C4RDGEG6KR535496   Chrysler       GR                  Miami                     FL
61852   2C4RDGEG6KR535529   Chrysler       GR                  STERLING                  VA
61853   2C4RDGEG6KR535532   Chrysler       GR                  Miami                     FL
61854   2C4RDGEG6KR535546   Chrysler       GR                  TAMPA                     FL
61855   2C4RDGEG6KR535613   Chrysler       GR                  FORT MYERS                FL
61856   2C4RDGEG6KR535627   Chrysler       GR                  ORLANDO                   FL
61857   2C4RDGEG6KR535644   Chrysler       GR                  TAMPA                     FL
61858   2C4RDGEG6KR535675   Chrysler       GR                  WEST PALM BEACH           FL
61859   2C4RDGEG6KR535708   Chrysler       GR                  Greensboro                NC
61860   2C4RDGEG6KR535739   Chrysler       GR                  Houston                   TX
61861   2C4RDGEG6KR535742   Chrysler       GR                  SHREVEPORT                LA
61862   2C4RDGEG6KR537944   Chrysler       GR                  ONTARIO                   CA
61863   2C4RDGEG6KR537989   Chrysler       GR                  FORT LAUDERDALE           FL
61864   2C4RDGEG6KR538009   Chrysler       GR                  LOS ANGELES AP            CA
61865   2C4RDGEG6KR538026   Chrysler       GR                  LAS VEGAS                 NV
61866   2C4RDGEG6KR538060   Chrysler       GR                  SANTA ANA                 CA
61867   2C4RDGEG6KR538074   Chrysler       GR                  ORLANDO                   FL
61868   2C4RDGEG6KR538107   Chrysler       GR                  ORLANDO                   FL
61869   2C4RDGEG6KR538110   Chrysler       GR                  ORLANDO                   FL
61870   2C4RDGEG6KR538124   Chrysler       GR                  Atlanta                   GA
61871   2C4RDGEG6KR538138   Chrysler       GR                  Union City                GA
61872   2C4RDGEG6KR538141   Chrysler       GR                  ORLANDO                   FL
61873   2C4RDGEG6KR538172   Chrysler       GR                  TAMPA                     FL
61874   2C4RDGEG6KR538186   Chrysler       GR                  FORT MYERS                FL
61875   2C4RDGEG6KR538205   Chrysler       GR                  COLLEGE PARK              GA
61876   2C4RDGEG6KR538222   Chrysler       GR                  SOUTHEAST DST OFFC        OK
61877   2C4RDGEG6KR538236   Chrysler       GR                  BUFFALO                   NY
61878   2C4RDGEG6KR538253   Chrysler       GR                  WEST PALM BEACH           FL
61879   2C4RDGEG6KR538284   Chrysler       GR                  Hebron                    KY
61880   2C4RDGEG6KR538303   Chrysler       GR                  SARASOTA                  FL
61881   2C4RDGEG6KR538317   Chrysler       GR                  TAMPA                     FL
61882   2C4RDGEG6KR538348   Chrysler       GR                  ORLANDO                   FL
61883   2C4RDGEG6KR538365   Chrysler       GR                  Nashville                 TN
61884   2C4RDGEG6KR538379   Chrysler       GR                  DENVER                    CO
61885   2C4RDGEG6KR556364   Chrysler       GR                  WEST PALM BEACH           FL
61886   2C4RDGEG6KR556378   Chrysler       GR                  ORLANDO                   FL
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61887   2C4RDGEG6KR556395   Chrysler       GR                  ORLANDO                   FL
61888   2C4RDGEG6KR556431   Chrysler       GR                  TAMPA                     FL
61889   2C4RDGEG6KR556445   Chrysler       GR                  PENSACOLA                 FL
61890   2C4RDGEG6KR556459   Chrysler       GR                  Elkridge                  MD
61891   2C4RDGEG6KR556476   Chrysler       GR                  Miami                     FL
61892   2C4RDGEG6KR567820   Chrysler       GR                  WEST COLUMBIA             SC
61893   2C4RDGEG6KR567851   Chrysler       GR                  AIKEN                     SC
61894   2C4RDGEG6KR567879   Chrysler       GR                  FORT MYERS                FL
61895   2C4RDGEG6KR567980   Chrysler       GR                  PHOENIX                   AZ
61896   2C4RDGEG6KR568000   Chrysler       GR                  LAS VEGAS                 NV
61897   2C4RDGEG6KR568045   Chrysler       GR                  PHOENIX                   AZ
61898   2C4RDGEG6KR568059   Chrysler       GR                  PHOENIX                   AZ
61899   2C4RDGEG6KR570863   Chrysler       GR                  ORLANDO                   FL
61900   2C4RDGEG6KR570961   Chrysler       GR                  SALT LAKE CITY            US
61901   2C4RDGEG6KR570989   Chrysler       GR                  ORLANDO                   FL
61902   2C4RDGEG6KR571026   Chrysler       GR                  ORLANDO                   FL
61903   2C4RDGEG6KR571043   Chrysler       GR                  Hamilton                  OH
61904   2C4RDGEG6KR571057   Chrysler       GR                  MIAMI                     FL
61905   2C4RDGEG6KR571138   Chrysler       GR                  ORLANDO                   FL
61906   2C4RDGEG6KR571141   Chrysler       GR                  ORLANDO                   FL
61907   2C4RDGEG6KR571155   Chrysler       GR                  FORT MYERS                FL
61908   2C4RDGEG6KR571169   Chrysler       GR                  MIAMI                     FL
61909   2C4RDGEG6KR571172   Chrysler       GR                  MIAMI                     FL
61910   2C4RDGEG6KR571205   Chrysler       GR                  ORLANDO                   FL
61911   2C4RDGEG6KR571222   Chrysler       GR                  DANIA                     FL
61912   2C4RDGEG6KR571267   Chrysler       GR                  JACKSONVILLE              FL
61913   2C4RDGEG6KR571284   Chrysler       GR                  SARASOTA                  FL
61914   2C4RDGEG6KR571303   Chrysler       GR                  CHATTANOOGA               TN
61915   2C4RDGEG6KR571317   Chrysler       GR                  WEST PALM BEACH           FL
61916   2C4RDGEG6KR571382   Chrysler       GR                  ATLANTA                   GA
61917   2C4RDGEG6KR571401   Chrysler       GR                  Sarasota                  FL
61918   2C4RDGEG6KR571446   Chrysler       GR                  NEW ORLEANS               LA
61919   2C4RDGEG6KR571530   Chrysler       GR                  SEATAC                    WA
61920   2C4RDGEG6KR577876   Chrysler       GR                  JACKSON                   MS
61921   2C4RDGEG6KR577893   Chrysler       GR                  ORLANDO                   FL
61922   2C4RDGEG6KR577926   Chrysler       GR                  ORLANDO                   FL
61923   2C4RDGEG6KR578011   Chrysler       GR                  ORLANDO                   FL
61924   2C4RDGEG6KR616921   Chrysler       GR                  LOS ANGELES               CA
61925   2C4RDGEG6KR617065   Chrysler       GR                  SAINT LOUIS               MO
61926   2C4RDGEG6KR617809   Chrysler       GR                  RALIEGH                   NC
61927   2C4RDGEG6KR617924   Chrysler       GR                  ORLANDO                   FL
61928   2C4RDGEG6KR618037   Chrysler       GR                  ONTARIO                   CA
61929   2C4RDGEG6KR618054   Chrysler       GR                  San Antonio               TX
61930   2C4RDGEG6KR618068   Chrysler       GR                  ALBANY                    NY
61931   2C4RDGEG6KR618197   Chrysler       GR                  Phoenix                   AZ
61932   2C4RDGEG6KR630687   Chrysler       GR                  NEW ORLEANS               LA
61933   2C4RDGEG6KR630723   Chrysler       GR                  Dallas                    TX
61934   2C4RDGEG6KR630737   Chrysler       GR                  LOUISVILLE                KY
61935   2C4RDGEG6KR630785   Chrysler       GR                  KENNER                    LA
61936   2C4RDGEG6KR630799   Chrysler       GR                  SEATAC                    WA
61937   2C4RDGEG6KR630950   Chrysler       GR                  Slidell                   LA
61938   2C4RDGEG6KR630981   Chrysler       GR                  Tolleson                  AZ
61939   2C4RDGEG6KR631158   Chrysler       GR                  FRESNO                    CA
61940   2C4RDGEG6KR631175   Chrysler       GR                  Philadelphia              PA
61941   2C4RDGEG6KR631192   Chrysler       GR                  SAINT PAUL                MN
61942   2C4RDGEG6KR634013   Chrysler       GR                  ORLANDO                   FL
61943   2C4RDGEG6KR634061   Chrysler       GR                  TAMPA                     FL
61944   2C4RDGEG6KR636912   Chrysler       GR                  PHILADELPHIA              PA
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61945   2C4RDGEG6KR636926   Chrysler       GR                  Denver                    CO
61946   2C4RDGEG6KR637011   Chrysler       GR                  SEATAC                    WA
61947   2C4RDGEG6KR637039   Chrysler       GR                  SAN ANTONIO               TX
61948   2C4RDGEG6KR637056   Chrysler       GR                  ORLANDO                   FL
61949   2C4RDGEG6KR640376   Chrysler       GR                  Fontana                   CA
61950   2C4RDGEG6KR640393   Chrysler       GR                  KANSAS CITY               MO
61951   2C4RDGEG6KR640409   Chrysler       GR                  FORT MYERS                FL
61952   2C4RDGEG6KR640426   Chrysler       GR                  FORT LAUDERDALE           FL
61953   2C4RDGEG6KR640524   Chrysler       GR                  Riverside                 CA
61954   2C4RDGEG6KR640555   Chrysler       GR                  ORLANDO                   FL
61955   2C4RDGEG6KR640569   Chrysler       GR                  Memphis                   TN
61956   2C4RDGEG6KR640619   Chrysler       GR                  SAN DIEGO                 CA
61957   2C4RDGEG6KR640636   Chrysler       GR                  SACRAMENTO                CA
61958   2C4RDGEG6KR640734   Chrysler       GR                  OMAHA                     NE
61959   2C4RDGEG6KR640944   Chrysler       GR                  GRAND RAPIDS              MI
61960   2C4RDGEG6KR640958   Chrysler       GR                  SANTA ANA                 CA
61961   2C4RDGEG6KR640975   Chrysler       GR                  Salt Lake City            UT
61962   2C4RDGEG6KR641060   Chrysler       GR                  CHICAGO                   IL
61963   2C4RDGEG6KR641091   Chrysler       GR                  OAKLAND                   CA
61964   2C4RDGEG6KR641107   Chrysler       GR                  DALLAS                    TX
61965   2C4RDGEG6KR641155   Chrysler       GR                  LOS ANGELES               CA
61966   2C4RDGEG6KR641219   Chrysler       GR                  SAN DIEGO                 CA
61967   2C4RDGEG6KR641303   Chrysler       GR                  Teterboro                 NJ
61968   2C4RDGEG6KR641320   Chrysler       GR                  FRESNO                    CA
61969   2C4RDGEG6KR641351   Chrysler       GR                  SAN DIEGO                 CA
61970   2C4RDGEG6KR641415   Chrysler       GR                  Warminster                PA
61971   2C4RDGEG6KR641429   Chrysler       GR                  Hartford                  CT
61972   2C4RDGEG6KR641494   Chrysler       GR                  SAINT PAUL                MN
61973   2C4RDGEG6KR645982   Chrysler       GR                  Portland                  OR
61974   2C4RDGEG6KR646050   Chrysler       GR                  OKLAHOMA CITY HLE         OK
61975   2C4RDGEG6KR646064   Chrysler       GR                  EL PASO                   TX
61976   2C4RDGEG6KR646078   Chrysler       GR                  SAINT PAUL                MN
61977   2C4RDGEG6KR646081   Chrysler       GR                  DAYTONA BEACH             FL
61978   2C4RDGEG6KR646114   Chrysler       GR                  TALLAHASSEE               US
61979   2C4RDGEG6KR646128   Chrysler       GR                  Charlotte                 NC
61980   2C4RDGEG6KR646131   Chrysler       GR                  Davie                     FL
61981   2C4RDGEG6KR646193   Chrysler       GR                  SAINT LOUIS               MO
61982   2C4RDGEG6KR646260   Chrysler       GR                  MIAMI                     FL
61983   2C4RDGEG6KR646288   Chrysler       GR                  KENNER                    LA
61984   2C4RDGEG6KR646307   Chrysler       GR                  MANCHESTER                US
61985   2C4RDGEG6KR646310   Chrysler       GR                  FORT MYERS                FL
61986   2C4RDGEG6KR658134   Chrysler       GR                  ONTARIO                   CA
61987   2C4RDGEG6KR658148   Chrysler       GR                  ATLANTA                   GA
61988   2C4RDGEG6KR658179   Chrysler       GR                  WICHITA FALLS             TX
61989   2C4RDGEG6KR658229   Chrysler       GR                  BALTIMORE                 MD
61990   2C4RDGEG6KR658232   Chrysler       GR                  SAN ANTONIO               TX
61991   2C4RDGEG6KR658263   Chrysler       GR                  PHOENIX                   AZ
61992   2C4RDGEG6KR658313   Chrysler       GR                  CHICAGO                   IL
61993   2C4RDGEG6KR658327   Chrysler       GR                  GRAND RAPIDS              MI
61994   2C4RDGEG6KR658358   Chrysler       GR                  CHICAGO                   IL
61995   2C4RDGEG6KR658389   Chrysler       GR                  LOS ANGELES               CA
61996   2C4RDGEG6KR658411   Chrysler       GR                  TAMPA                     FL
61997   2C4RDGEG6KR658439   Chrysler       GR                  JACKSONVILLE              FL
61998   2C4RDGEG6KR658487   Chrysler       GR                  JACKSONVILLE              FL
61999   2C4RDGEG6KR658523   Chrysler       GR                  SAN ANTONIO               TX
62000   2C4RDGEG6KR658537   Chrysler       GR                  Dallas                    TX
62001   2C4RDGEG6KR658568   Chrysler       GR                  CLEVELAND                 OH
62002   2C4RDGEG6KR658585   Chrysler       GR                  PHILADELPHIA              PA
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62003   2C4RDGEG6KR658621   Chrysler       GR                  HOUSTON                   TX
62004   2C4RDGEG6KR658666   Chrysler       GR                  CLEVELAND                 OH
62005   2C4RDGEG6KR658697   Chrysler       GR                  NEW YORK CITY             NY
62006   2C4RDGEG6KR658733   Chrysler       GR                  CHARLESTON                WV
62007   2C4RDGEG6KR658781   Chrysler       GR                  INDIANAPOLIS              IN
62008   2C4RDGEG6KR658795   Chrysler       GR                  TAMPA                     FL
62009   2C4RDGEG6KR658800   Chrysler       GR                  LOS ANGELES               CA
62010   2C4RDGEG6KR670025   Chrysler       GR                  JACKSONVILLE              FL
62011   2C4RDGEG6KR670073   Chrysler       GR                  Omaha                     NE
62012   2C4RDGEG6KR670168   Chrysler       GR                  INDIANAPOLIS              IN
62013   2C4RDGEG6KR670171   Chrysler       GR                  INDIANAPOLIS              IN
62014   2C4RDGEG6KR670199   Chrysler       GR                  TAMPA                     FL
62015   2C4RDGEG6KR670221   Chrysler       GR                  PANAMA CITY               FL
62016   2C4RDGEG6KR670249   Chrysler       GR                  BURBANK                   CA
62017   2C4RDGEG6KR670252   Chrysler       GR                  LOS ANGELES               CA
62018   2C4RDGEG6KR670283   Chrysler       GR                  SAINT PAUL                MN
62019   2C4RDGEG6KR670302   Chrysler       GR                  HARTFORD                  CT
62020   2C4RDGEG6KR670316   Chrysler       GR                  JACKSON                   MS
62021   2C4RDGEG6KR670445   Chrysler       GR                  Raleigh                   NC
62022   2C4RDGEG6KR670476   Chrysler       GR                  MEMPHIS                   TN
62023   2C4RDGEG6KR670607   Chrysler       GR                  HOUSTON                   TX
62024   2C4RDGEG6KR670638   Chrysler       GR                  PORTLAND                  ME
62025   2C4RDGEG6KR670672   Chrysler       GR                  WEST COLUMBIA             SC
62026   2C4RDGEG6KR670705   Chrysler       GR                  LOUISVILLE                KY
62027   2C4RDGEG6KR670722   Chrysler       GR                  NEW BERN                  NC
62028   2C4RDGEG6KR670784   Chrysler       GR                  SARASOTA                  FL
62029   2C4RDGEG6KR670803   Chrysler       GR                  HOUSTON                   TX
62030   2C4RDGEG6KR670820   Chrysler       GR                  Warr Acres                OK
62031   2C4RDGEG6KR673734   Chrysler       GR                  DENVER                    CO
62032   2C4RDGEG6KR673748   Chrysler       GR                  Atlanta                   GA
62033   2C4RDGEG6KR673765   Chrysler       GR                  ROANOKE                   VA
62034   2C4RDGEG6KR673782   Chrysler       GR                  TALLAHASSEE               US
62035   2C4RDGEG6KR675998   Chrysler       GR                  TAMPA                     FL
62036   2C4RDGEG6KR676035   Chrysler       GR                  LOUISVILLE                KY
62037   2C4RDGEG6KR676049   Chrysler       GR                  DETROIT                   MI
62038   2C4RDGEG6KR682014   Chrysler       GR                  HOUSTON                   TX
62039   2C4RDGEG6KR682059   Chrysler       GR                  Atlanta                   GA
62040   2C4RDGEG6KR682062   Chrysler       GR                  Atlanta                   GA
62041   2C4RDGEG6KR760078   Chrysler       GR                  Nashville                 TN
62042   2C4RDGEG6KR760341   Chrysler       GR                  Tampa                     FL
62043   2C4RDGEG6KR760856   Chrysler       GR                  SAINT PAUL                MN
62044   2C4RDGEG6KR764793   Chrysler       GR                  Chicago                   IL
62045   2C4RDGEG6KR765121   Chrysler       GR                  Denver                    CO
62046   2C4RDGEG6KR769279   Chrysler       GR                  Cedar Rapids              IA
62047   2C4RDGEG6KR769671   Chrysler       GR                  Warr Acres                OK
62048   2C4RDGEG7JR145313   Chrysler       GR                  WEST PALM BEACH           FL
62049   2C4RDGEG7JR145439   Chrysler       GR                  Atlanta                   GA
62050   2C4RDGEG7JR145523   Chrysler       GR                  CHICAGO                   IL
62051   2C4RDGEG7JR145778   Chrysler       GR                  WEST PALM BEACH           FL
62052   2C4RDGEG7JR145795   Chrysler       GR                  MORROW                    GA
62053   2C4RDGEG7JR150253   Chrysler       GR                  WAIMEA                    HI
62054   2C4RDGEG7JR150267   Chrysler       GR                  KALAOA                    HI
62055   2C4RDGEG7JR150270   Chrysler       GR                  HILO                      HI
62056   2C4RDGEG7JR189442   Chrysler       GR                  HILO                      HI
62057   2C4RDGEG7JR195371   Chrysler       GR                  Hayward                   CA
62058   2C4RDGEG7JR195385   Chrysler       GR                  HILO                      HI
62059   2C4RDGEG7JR195399   Chrysler       GR                  HILO                      HI
62060   2C4RDGEG7JR195564   Chrysler       GR                  Riverside                 CA
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62061   2C4RDGEG7JR196133   Chrysler       GR                  HILO                      HI
62062   2C4RDGEG7JR196147   Chrysler       GR                  HILO                      HI
62063   2C4RDGEG7JR196150   Chrysler       GR                  Kailua‐Kona               HI
62064   2C4RDGEG7JR214565   Chrysler       GR                  WEST PALM BEACH           FL
62065   2C4RDGEG7JR214601   Chrysler       GR                  Miami                     FL
62066   2C4RDGEG7JR219488   Chrysler       GR                  SAN FRANCISCO             CA
62067   2C4RDGEG7JR237957   Chrysler       GR                  EULESS                    TX
62068   2C4RDGEG7JR237991   Chrysler       GR                  DALLAS                    TX
62069   2C4RDGEG7JR254127   Chrysler       GR                  DALLAS                    TX
62070   2C4RDGEG7JR254130   Chrysler       GR                  FORT LAUDERDALE           FL
62071   2C4RDGEG7JR254158   Chrysler       GR                  Morrisville               NC
62072   2C4RDGEG7JR254208   Chrysler       GR                  DAYTONA BEACH             FL
62073   2C4RDGEG7JR254211   Chrysler       GR                  ORLANDO                   FL
62074   2C4RDGEG7JR254225   Chrysler       GR                  Mira Loma                 CA
62075   2C4RDGEG7JR254287   Chrysler       GR                  ORLANDO                   FL
62076   2C4RDGEG7JR254323   Chrysler       GR                  Mira Loma                 CA
62077   2C4RDGEG7JR254354   Chrysler       GR                  Anaheim                   CA
62078   2C4RDGEG7JR254404   Chrysler       GR                  FORT MYERS                FL
62079   2C4RDGEG7JR254628   Chrysler       GR                  COLUMBIA                  SC
62080   2C4RDGEG7JR280856   Chrysler       GR                  Hartford                  CT
62081   2C4RDGEG7JR280887   Chrysler       GR                  DAYTONA BEACH             FL
62082   2C4RDGEG7JR280890   Chrysler       GR                  TAMPA                     FL
62083   2C4RDGEG7JR331448   Chrysler       GR                  SAINT PAUL                MN
62084   2C4RDGEG7JR334608   Chrysler       GR                  FORT LAUDERDALE           FL
62085   2C4RDGEG7JR334706   Chrysler       GR                  LAS VEGAS                 NV
62086   2C4RDGEG7JR334771   Chrysler       GR                  ORLANDO                   FL
62087   2C4RDGEG7KR533093   Chrysler       GR                  ST PAUL                   MN
62088   2C4RDGEG7KR533580   Chrysler       GR                  SALT LAKE CITY            UT
62089   2C4RDGEG7KR533594   Chrysler       GR                  RENO                      NV
62090   2C4RDGEG7KR533627   Chrysler       GR                  DENVER                    CO
62091   2C4RDGEG7KR533661   Chrysler       GR                  LOS ANGELES AP            CA
62092   2C4RDGEG7KR533689   Chrysler       GR                  NEWARK                    NJ
62093   2C4RDGEG7KR533692   Chrysler       GR                  Dallas                    TX
62094   2C4RDGEG7KR533742   Chrysler       GR                  EL SEGUNDO                CA
62095   2C4RDGEG7KR533787   Chrysler       GR                  PALM SPRINGS              CA
62096   2C4RDGEG7KR533790   Chrysler       GR                  LOS ANGELES               CA
62097   2C4RDGEG7KR533806   Chrysler       GR                  WEST PALM BEACH           FL
62098   2C4RDGEG7KR533840   Chrysler       GR                  LOS ANGELES               CA
62099   2C4RDGEG7KR533868   Chrysler       GR                  BURBANK                   CA
62100   2C4RDGEG7KR533899   Chrysler       GR                  SEATAC                    WA
62101   2C4RDGEG7KR533935   Chrysler       GR                  PHOENIX                   AZ
62102   2C4RDGEG7KR533949   Chrysler       GR                  DENVER                    CO
62103   2C4RDGEG7KR533997   Chrysler       GR                  Sacramento                CA
62104   2C4RDGEG7KR534065   Chrysler       GR                  ORANGE COUNTY             CA
62105   2C4RDGEG7KR534079   Chrysler       GR                  Belgrade                  MT
62106   2C4RDGEG7KR534082   Chrysler       GR                  BURBANK                   CA
62107   2C4RDGEG7KR534096   Chrysler       GR                  DENVER                    CO
62108   2C4RDGEG7KR534129   Chrysler       GR                  PHOENIX                   AZ
62109   2C4RDGEG7KR534177   Chrysler       GR                  Riverside                 CA
62110   2C4RDGEG7KR534227   Chrysler       GR                  TAMPA                     FL
62111   2C4RDGEG7KR534275   Chrysler       GR                  LOS ANGELES               CA
62112   2C4RDGEG7KR534289   Chrysler       GR                  ONTARIO                   CA
62113   2C4RDGEG7KR534311   Chrysler       GR                  HOUSTON                   TX
62114   2C4RDGEG7KR534325   Chrysler       GR                  FAYETTEVILLE              GA
62115   2C4RDGEG7KR534339   Chrysler       GR                  KANSAS CITY               MO
62116   2C4RDGEG7KR534342   Chrysler       GR                  WEST PALM BEACH           FL
62117   2C4RDGEG7KR534373   Chrysler       GR                  ORLANDO                   FL
62118   2C4RDGEG7KR534387   Chrysler       GR                  Atlanta                   GA
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62119   2C4RDGEG7KR534406   Chrysler       GR                  Longmont                  CO
62120   2C4RDGEG7KR534423   Chrysler       GR                  SALT LAKE CITY            US
62121   2C4RDGEG7KR534437   Chrysler       GR                  GRAND JUNCTION            C
62122   2C4RDGEG7KR534440   Chrysler       GR                  FORT MYERS                FL
62123   2C4RDGEG7KR534468   Chrysler       GR                  MIAMI                     FL
62124   2C4RDGEG7KR534471   Chrysler       GR                  Indianapolis              IN
62125   2C4RDGEG7KR534499   Chrysler       GR                  Atlanta                   GA
62126   2C4RDGEG7KR534504   Chrysler       GR                  FORT MYERS                FL
62127   2C4RDGEG7KR534521   Chrysler       GR                  ATLANTA                   GA
62128   2C4RDGEG7KR534552   Chrysler       GR                  ALBANY                    GA
62129   2C4RDGEG7KR534566   Chrysler       GR                  SANTA ANA                 CA
62130   2C4RDGEG7KR534597   Chrysler       GR                  MIAMI                     FL
62131   2C4RDGEG7KR534616   Chrysler       GR                  ORLANDO                   FL
62132   2C4RDGEG7KR534633   Chrysler       GR                  SAN DIEGO                 CA
62133   2C4RDGEG7KR534664   Chrysler       GR                  LITTLE ROCK               AR
62134   2C4RDGEG7KR534678   Chrysler       GR                  FORT MYERS                FL
62135   2C4RDGEG7KR534681   Chrysler       GR                  TAMPA                     FL
62136   2C4RDGEG7KR534700   Chrysler       GR                  COLLEGE PARK              GA
62137   2C4RDGEG7KR534714   Chrysler       GR                  Ocoee                     FL
62138   2C4RDGEG7KR534728   Chrysler       GR                  Manheim                   PA
62139   2C4RDGEG7KR534731   Chrysler       GR                  ORLANDO                   FL
62140   2C4RDGEG7KR534745   Chrysler       GR                  TAMPA                     FL
62141   2C4RDGEG7KR534762   Chrysler       GR                  Miami                     FL
62142   2C4RDGEG7KR534776   Chrysler       GR                  ORLANDO                   FL
62143   2C4RDGEG7KR534793   Chrysler       GR                  PENSACOLA                 FL
62144   2C4RDGEG7KR534809   Chrysler       GR                  ONTARIO                   CA
62145   2C4RDGEG7KR534826   Chrysler       GR                  FORT MYERS                FL
62146   2C4RDGEG7KR534843   Chrysler       GR                  SANFORD                   FL
62147   2C4RDGEG7KR534888   Chrysler       GR                  MIAMI                     FL
62148   2C4RDGEG7KR534910   Chrysler       GR                  BOSTON                    MA
62149   2C4RDGEG7KR534924   Chrysler       GR                  FORT MYERS                FL
62150   2C4RDGEG7KR534938   Chrysler       GR                  MIAMI                     FL
62151   2C4RDGEG7KR534969   Chrysler       GR                  Berwyn                    IL
62152   2C4RDGEG7KR534972   Chrysler       GR                  ORLANDO                   FL
62153   2C4RDGEG7KR535006   Chrysler       GR                  INDIANAPOLIS              IN
62154   2C4RDGEG7KR535023   Chrysler       GR                  Miami                     FL
62155   2C4RDGEG7KR535040   Chrysler       GR                  Cranberry Towns           PA
62156   2C4RDGEG7KR535054   Chrysler       GR                  FORT LAUDERDALE           FL
62157   2C4RDGEG7KR535068   Chrysler       GR                  PANAMA CITY               FL
62158   2C4RDGEG7KR535118   Chrysler       GR                  SALT LAKE CITY            UT
62159   2C4RDGEG7KR535121   Chrysler       GR                  LOS ANGELES               CA
62160   2C4RDGEG7KR535149   Chrysler       GR                  DALLAS                    TX
62161   2C4RDGEG7KR535183   Chrysler       GR                  NEWARK                    NJ
62162   2C4RDGEG7KR535197   Chrysler       GR                  Jacksonville              FL
62163   2C4RDGEG7KR535216   Chrysler       GR                  ORLANDO                   FL
62164   2C4RDGEG7KR535247   Chrysler       GR                  FORT LAUDERDALE           FL
62165   2C4RDGEG7KR535250   Chrysler       GR                  TAMPA                     FL
62166   2C4RDGEG7KR535264   Chrysler       GR                  BIRMINGHAM                AL
62167   2C4RDGEG7KR535278   Chrysler       GR                  WHITE PLAINS              NY
62168   2C4RDGEG7KR535281   Chrysler       GR                  KINSTON                   NC
62169   2C4RDGEG7KR535300   Chrysler       GR                  FORT LAUDERDALE           FL
62170   2C4RDGEG7KR535314   Chrysler       GR                  TAMPA                     FL
62171   2C4RDGEG7KR535331   Chrysler       GR                  ORLANDO                   FL
62172   2C4RDGEG7KR535359   Chrysler       GR                  TAMPA                     FL
62173   2C4RDGEG7KR535393   Chrysler       GR                  ORLANDO                   FL
62174   2C4RDGEG7KR535457   Chrysler       GR                  ORLANDO                   FL
62175   2C4RDGEG7KR535474   Chrysler       GR                  ORLANDO                   FL
62176   2C4RDGEG7KR535488   Chrysler       GR                  SEATAC                    WA
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62177   2C4RDGEG7KR535491   Chrysler       GR                  FORT MYERS                FL
62178   2C4RDGEG7KR535510   Chrysler       GR                  Fontana                   CA
62179   2C4RDGEG7KR535538   Chrysler       GR                  PHILADELPHIA              PA
62180   2C4RDGEG7KR535541   Chrysler       GR                  Newark                    NJ
62181   2C4RDGEG7KR535555   Chrysler       GR                  LOS ANGELES               CA
62182   2C4RDGEG7KR535605   Chrysler       GR                  ROCHESTER                 NY
62183   2C4RDGEG7KR535636   Chrysler       GR                  DETROIT                   MI
62184   2C4RDGEG7KR535653   Chrysler       GR                  TAMPA                     FL
62185   2C4RDGEG7KR535670   Chrysler       GR                  MIAMI                     FL
62186   2C4RDGEG7KR535703   Chrysler       GR                  PITTSBURGH                PA
62187   2C4RDGEG7KR535720   Chrysler       GR                  TAMPA                     FL
62188   2C4RDGEG7KR535748   Chrysler       GR                  FORT LAUDERDALE           FL
62189   2C4RDGEG7KR535765   Chrysler       GR                  DALLAS                    TX
62190   2C4RDGEG7KR535779   Chrysler       GR                  Rockville Centr           NY
62191   2C4RDGEG7KR535832   Chrysler       GR                  Hamilton                  OH
62192   2C4RDGEG7KR537936   Chrysler       GR                  Ventura                   CA
62193   2C4RDGEG7KR537967   Chrysler       GR                  SACRAMENTO                CA
62194   2C4RDGEG7KR537984   Chrysler       GR                  BURBANK                   CA
62195   2C4RDGEG7KR538004   Chrysler       GR                  ORLANDO                   FL
62196   2C4RDGEG7KR538018   Chrysler       GR                  LAS VEGAS                 NV
62197   2C4RDGEG7KR538049   Chrysler       GR                  DENVER                    CO
62198   2C4RDGEG7KR538052   Chrysler       GR                  LOS ANGELES               CA
62199   2C4RDGEG7KR538066   Chrysler       GR                  KNOXVILLE                 TN
62200   2C4RDGEG7KR538097   Chrysler       GR                  MIAMI                     FL
62201   2C4RDGEG7KR538116   Chrysler       GR                  DALLAS                    TX
62202   2C4RDGEG7KR538133   Chrysler       GR                  ORLANDO                   FL
62203   2C4RDGEG7KR538147   Chrysler       GR                  ORLANDO                   FL
62204   2C4RDGEG7KR538150   Chrysler       GR                  BALTIMORE                 MD
62205   2C4RDGEG7KR538178   Chrysler       GR                  Hamilton                  OH
62206   2C4RDGEG7KR538181   Chrysler       GR                  Elkridge                  MD
62207   2C4RDGEG7KR538195   Chrysler       GR                  TAMPA                     FL
62208   2C4RDGEG7KR538200   Chrysler       GR                  DANIA BEACH               FL
62209   2C4RDGEG7KR538214   Chrysler       GR                  Atlanta                   GA
62210   2C4RDGEG7KR538245   Chrysler       GR                  TAMPA                     FL
62211   2C4RDGEG7KR538309   Chrysler       GR                  JACKSONVILLE              FL
62212   2C4RDGEG7KR538326   Chrysler       GR                  LOS ANGELES               CA
62213   2C4RDGEG7KR538357   Chrysler       GR                  IDAHO FALLS               ID
62214   2C4RDGEG7KR538360   Chrysler       GR                  Philadelphia              PA
62215   2C4RDGEG7KR538374   Chrysler       GR                  GRAND RAPIDS              MI
62216   2C4RDGEG7KR556373   Chrysler       GR                  ORLANDO                   FL
62217   2C4RDGEG7KR556406   Chrysler       GR                  DENVER                    CO
62218   2C4RDGEG7KR556423   Chrysler       GR                  LOS ANGELES               CA
62219   2C4RDGEG7KR556440   Chrysler       GR                  Miami                     FL
62220   2C4RDGEG7KR556471   Chrysler       GR                  ORLANDO                   FL
62221   2C4RDGEG7KR567843   Chrysler       GR                  MIAMI                     FL
62222   2C4RDGEG7KR567857   Chrysler       GR                  BIRMINGHAM                AL
62223   2C4RDGEG7KR567860   Chrysler       GR                  ATLANTA                   GA
62224   2C4RDGEG7KR567874   Chrysler       GR                  FORT MYERS                FL
62225   2C4RDGEG7KR567888   Chrysler       GR                  SAVANNAH                  GA
62226   2C4RDGEG7KR567907   Chrysler       GR                  LOS ANGELES               CA
62227   2C4RDGEG7KR567910   Chrysler       GR                  FORT MYERS                FL
62228   2C4RDGEG7KR567938   Chrysler       GR                  DENVER                    CO
62229   2C4RDGEG7KR567941   Chrysler       GR                  DENVER                    CO
62230   2C4RDGEG7KR567955   Chrysler       GR                  DANIA BEACH               FL
62231   2C4RDGEG7KR568023   Chrysler       GR                  SAN DIEGO                 CA
62232   2C4RDGEG7KR568040   Chrysler       GR                  INGLEWOOD                 CA
62233   2C4RDGEG7KR568054   Chrysler       GR                  ORLANDO                   FL
62234   2C4RDGEG7KR568068   Chrysler       GR                  LOS ANGELES               CA
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62235   2C4RDGEG7KR568085   Chrysler       GR                  LOS ANGELES               CA
62236   2C4RDGEG7KR568099   Chrysler       GR                  Fontana                   CA
62237   2C4RDGEG7KR568104   Chrysler       GR                  Costa Mesa                CA
62238   2C4RDGEG7KR570922   Chrysler       GR                  Riverside                 CA
62239   2C4RDGEG7KR570967   Chrysler       GR                  LOS ANGELES               CA
62240   2C4RDGEG7KR570998   Chrysler       GR                  ORLANDO                   FL
62241   2C4RDGEG7KR571004   Chrysler       GR                  ORLANDO                   FL
62242   2C4RDGEG7KR571021   Chrysler       GR                  FT. LAUDERDALE            FL
62243   2C4RDGEG7KR571052   Chrysler       GR                  FORT LAUDERDALE           FL
62244   2C4RDGEG7KR571066   Chrysler       GR                  ORLANDO                   FL
62245   2C4RDGEG7KR571102   Chrysler       GR                  STERLING                  VA
62246   2C4RDGEG7KR571133   Chrysler       GR                  SANFORD                   FL
62247   2C4RDGEG7KR571147   Chrysler       GR                  FORT MYERS                FL
62248   2C4RDGEG7KR571150   Chrysler       GR                  PHILADELPHIA              PA
62249   2C4RDGEG7KR571164   Chrysler       GR                  FORT LAUDERDALE           FL
62250   2C4RDGEG7KR571178   Chrysler       GR                  ORLANDO                   FL
62251   2C4RDGEG7KR571181   Chrysler       GR                  MIAMI                     FL
62252   2C4RDGEG7KR571195   Chrysler       GR                  BOSTON                    MA
62253   2C4RDGEG7KR571200   Chrysler       GR                  ORLANDO                   FL
62254   2C4RDGEG7KR571276   Chrysler       GR                  Stockton                  CA
62255   2C4RDGEG7KR571293   Chrysler       GR                  ORLANDO                   FL
62256   2C4RDGEG7KR571326   Chrysler       GR                  TAMPA                     US
62257   2C4RDGEG7KR571357   Chrysler       GR                  FORT MYERS                FL
62258   2C4RDGEG7KR571388   Chrysler       GR                  MARIETTA                  GA
62259   2C4RDGEG7KR571410   Chrysler       GR                  FORT MYERS                FL
62260   2C4RDGEG7KR571438   Chrysler       GR                  Chicago                   IL
62261   2C4RDGEG7KR571441   Chrysler       GR                  LAS VEGAS                 NV
62262   2C4RDGEG7KR571469   Chrysler       GR                  SAN ANTONIO               TX
62263   2C4RDGEG7KR571486   Chrysler       GR                  LOS ANGELES AP            CA
62264   2C4RDGEG7KR577918   Chrysler       GR                  FORT MYERS                FL
62265   2C4RDGEG7KR577921   Chrysler       GR                  COLLEGE PARK              GA
62266   2C4RDGEG7KR577935   Chrysler       GR                  DAVIE                     FL
62267   2C4RDGEG7KR577997   Chrysler       GR                  ROANOKE                   VA
62268   2C4RDGEG7KR578051   Chrysler       GR                  ORLANDO                   FL
62269   2C4RDGEG7KR616930   Chrysler       GR                  LAS VEGAS                 NV
62270   2C4RDGEG7KR616944   Chrysler       GR                  ONTARIO                   CA
62271   2C4RDGEG7KR616992   Chrysler       GR                  SAN DIEGO                 CA
62272   2C4RDGEG7KR617849   Chrysler       GR                  Riverside                 CA
62273   2C4RDGEG7KR617950   Chrysler       GR                  PALM SPRINGS              CA
62274   2C4RDGEG7KR618029   Chrysler       GR                  Fontana                   CA
62275   2C4RDGEG7KR618113   Chrysler       GR                  Atlanta                   GA
62276   2C4RDGEG7KR618161   Chrysler       GR                  LAS VEGAS                 NV
62277   2C4RDGEG7KR618189   Chrysler       GR                  SANTA ANA                 CA
62278   2C4RDGEG7KR630679   Chrysler       GR                  MIAMI                     FL
62279   2C4RDGEG7KR630701   Chrysler       GR                  St. Louis                 MO
62280   2C4RDGEG7KR630780   Chrysler       GR                  LOS ANGELES               CA
62281   2C4RDGEG7KR630858   Chrysler       GR                  Austin                    TX
62282   2C4RDGEG7KR631069   Chrysler       GR                  SAINT LOUIS               MO
62283   2C4RDGEG7KR631105   Chrysler       GR                  ONTARIO                   CA
62284   2C4RDGEG7KR631136   Chrysler       GR                  MIAMI                     FL
62285   2C4RDGEG7KR631170   Chrysler       GR                  Kansas City               MO
62286   2C4RDGEG7KR631198   Chrysler       GR                  Newark                    NJ
62287   2C4RDGEG7KR637017   Chrysler       GR                  KEY WEST                  FL
62288   2C4RDGEG7KR637020   Chrysler       GR                  SAN ANTONIO               TX
62289   2C4RDGEG7KR637034   Chrysler       GR                  Harvey                    LA
62290   2C4RDGEG7KR637048   Chrysler       GR                  Louisville                KY
62291   2C4RDGEG7KR637051   Chrysler       GR                  INDIANAPOLIS              IN
62292   2C4RDGEG7KR640371   Chrysler       GR                  SALT LAKE CITY            US
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62293   2C4RDGEG7KR640483   Chrysler       GR                  FORT LAUDERDALE           FL
62294   2C4RDGEG7KR640497   Chrysler       GR                  SAN ANTONIO               TX
62295   2C4RDGEG7KR640502   Chrysler       GR                  LAS VEGAS                 NV
62296   2C4RDGEG7KR640564   Chrysler       GR                  Tustin                    CA
62297   2C4RDGEG7KR640581   Chrysler       GR                  Los Angeles               CA
62298   2C4RDGEG7KR640595   Chrysler       GR                  Stockton                  CA
62299   2C4RDGEG7KR640600   Chrysler       GR                  LAS VEGAS                 NV
62300   2C4RDGEG7KR640614   Chrysler       GR                  LOS ANGELES               CA
62301   2C4RDGEG7KR640631   Chrysler       GR                  SPRINGFIELD               VA
62302   2C4RDGEG7KR640676   Chrysler       GR                  LOS ANGELES               CA
62303   2C4RDGEG7KR640743   Chrysler       GR                  SALT LAKE CITY            US
62304   2C4RDGEG7KR640757   Chrysler       GR                  MILWAUKEE                 WI
62305   2C4RDGEG7KR640788   Chrysler       GR                  FORT LAUDERDALE           FL
62306   2C4RDGEG7KR640807   Chrysler       GR                  ROSEVILLE                 CA
62307   2C4RDGEG7KR640919   Chrysler       GR                  KENNER                    LA
62308   2C4RDGEG7KR640922   Chrysler       GR                  SAN DIEGO                 CA
62309   2C4RDGEG7KR640953   Chrysler       GR                  LOS ANGELES               CA
62310   2C4RDGEG7KR640970   Chrysler       GR                  DALLAS                    TX
62311   2C4RDGEG7KR641004   Chrysler       GR                  FORT MYERS                FL
62312   2C4RDGEG7KR641097   Chrysler       GR                  ORLANDO                   FL
62313   2C4RDGEG7KR641116   Chrysler       GR                  CHICAGO                   IL
62314   2C4RDGEG7KR641200   Chrysler       GR                  Atlanta                   GA
62315   2C4RDGEG7KR641312   Chrysler       GR                  ORLANDO                   FL
62316   2C4RDGEG7KR641407   Chrysler       GR                  GREENVILLE                NC
62317   2C4RDGEG7KR641438   Chrysler       GR                  BATON ROUGE               LA
62318   2C4RDGEG7KR641505   Chrysler       GR                  SANTA ANA                 CA
62319   2C4RDGEG7KR645974   Chrysler       GR                  CHARLOTTE                 NC
62320   2C4RDGEG7KR646008   Chrysler       GR                  Londonderry               NH
62321   2C4RDGEG7KR646056   Chrysler       GR                  Kent                      WA
62322   2C4RDGEG7KR646123   Chrysler       GR                  MIAMI                     FL
62323   2C4RDGEG7KR646154   Chrysler       GR                  Tucson                    AZ
62324   2C4RDGEG7KR646171   Chrysler       GR                  CHARLESTON                WV
62325   2C4RDGEG7KR646185   Chrysler       GR                  SAINT LOUIS               MO
62326   2C4RDGEG7KR646199   Chrysler       GR                  KNOXVILLE                 TN
62327   2C4RDGEG7KR646249   Chrysler       GR                  CHARLESTON                WV
62328   2C4RDGEG7KR646266   Chrysler       GR                  CLEVELAND                 OH
62329   2C4RDGEG7KR646283   Chrysler       GR                  ORLANDO                   FL
62330   2C4RDGEG7KR646333   Chrysler       GR                  Manheim                   PA
62331   2C4RDGEG7KR658126   Chrysler       GR                  LAS VEGAS                 NV
62332   2C4RDGEG7KR658157   Chrysler       GR                  NEWPORT BEACH             CA
62333   2C4RDGEG7KR658174   Chrysler       GR                  SAN DIEGO                 CA
62334   2C4RDGEG7KR658207   Chrysler       GR                  Atlanta                   GA
62335   2C4RDGEG7KR658269   Chrysler       GR                  Salt Lake City            UT
62336   2C4RDGEG7KR658336   Chrysler       GR                  STERLING                  VA
62337   2C4RDGEG7KR658353   Chrysler       GR                  DES MOINES                IA
62338   2C4RDGEG7KR658370   Chrysler       GR                  PHOENIX                   AZ
62339   2C4RDGEG7KR658403   Chrysler       GR                  KENNER                    LA
62340   2C4RDGEG7KR658434   Chrysler       GR                  ORLANDO                   FL
62341   2C4RDGEG7KR658448   Chrysler       GR                  MIAMI                     FL
62342   2C4RDGEG7KR658451   Chrysler       GR                  PALM SPRINGS              CA
62343   2C4RDGEG7KR658465   Chrysler       GR                  ORLANDO                   FL
62344   2C4RDGEG7KR658501   Chrysler       GR                  PHILADELPHIA              PA
62345   2C4RDGEG7KR658515   Chrysler       GR                  GUNNISON                  CO
62346   2C4RDGEG7KR658529   Chrysler       GR                  WESLACO                   TX
62347   2C4RDGEG7KR658532   Chrysler       GR                  BEAUMONT                  TX
62348   2C4RDGEG7KR658580   Chrysler       GR                  FORT MYERS                FL
62349   2C4RDGEG7KR658708   Chrysler       GR                  Salt Lake City            UT
62350   2C4RDGEG7KR658711   Chrysler       GR                  BIRMINGHAM                AL
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62351   2C4RDGEG7KR658739   Chrysler       GR                  BLOOMINGTON               IL
62352   2C4RDGEG7KR658756   Chrysler       GR                  Annapolis                 MD
62353   2C4RDGEG7KR670020   Chrysler       GR                  Atlanta                   GA
62354   2C4RDGEG7KR670034   Chrysler       GR                  Vandalia                  OH
62355   2C4RDGEG7KR670146   Chrysler       GR                  Shreveport                LA
62356   2C4RDGEG7KR670163   Chrysler       GR                  North Canton              OH
62357   2C4RDGEG7KR670227   Chrysler       GR                  GRAND RAPIDS              MI
62358   2C4RDGEG7KR670258   Chrysler       GR                  Aurora                    CO
62359   2C4RDGEG7KR670275   Chrysler       GR                  DES MOINES                IA
62360   2C4RDGEG7KR670325   Chrysler       GR                  GRAND RAPIDS              MI
62361   2C4RDGEG7KR670440   Chrysler       GR                  Cincinnati                OH
62362   2C4RDGEG7KR670468   Chrysler       GR                  SAN DIEGO                 CA
62363   2C4RDGEG7KR670499   Chrysler       GR                  CHICAGO                   IL
62364   2C4RDGEG7KR670518   Chrysler       GR                  San Antonio               TX
62365   2C4RDGEG7KR670597   Chrysler       GR                  MEMPHIS                   TN
62366   2C4RDGEG7KR670678   Chrysler       GR                  Atlanta                   GA
62367   2C4RDGEG7KR670700   Chrysler       GR                  Hamilton                  OH
62368   2C4RDGEG7KR670776   Chrysler       GR                  SAINT PAUL                MN
62369   2C4RDGEG7KR670812   Chrysler       GR                  NEW BERN                  NC
62370   2C4RDGEG7KR673726   Chrysler       GR                  KNOXVILLE                 TN
62371   2C4RDGEG7KR673788   Chrysler       GR                  GRAND RAPIDS              MI
62372   2C4RDGEG7KR673807   Chrysler       GR                  NEW BERN                  NC
62373   2C4RDGEG7KR675976   Chrysler       GR                  SAN DIEGO                 CA
62374   2C4RDGEG7KR676013   Chrysler       GR                  GRAND RAPIDS              MI
62375   2C4RDGEG7KR676027   Chrysler       GR                  PHOENIX                   AZ
62376   2C4RDGEG7KR676061   Chrysler       GR                  COSTA MESA                CA
62377   2C4RDGEG7KR682040   Chrysler       GR                  DETROIT                   MI
62378   2C4RDGEG7KR682054   Chrysler       GR                  CLEVELAND                 OH
62379   2C4RDGEG7KR682068   Chrysler       GR                  STERLING                  VA
62380   2C4RDGEG7KR687710   Chrysler       GR                  Cleveland                 OH
62381   2C4RDGEG7KR760493   Chrysler       GR                  Hamilton                  OH
62382   2C4RDGEG7KR764656   Chrysler       GR                  FORT MYERS                FL
62383   2C4RDGEG7KR764804   Chrysler       GR                  Woodhaven                 MI
62384   2C4RDGEG7KR768853   Chrysler       GR                  SEATTLE                   WA
62385   2C4RDGEG7KR769470   Chrysler       GR                  Hebron                    KY
62386   2C4RDGEG7KR769629   Chrysler       GR                  Oklahoma City             OK
62387   2C4RDGEG7KR769632   Chrysler       GR                  Warr Acres                OK
62388   2C4RDGEG7KR769890   Chrysler       GR                  Rockville Centr           NY
62389   2C4RDGEG7KR769999   Chrysler       GR                  Phoenix                   AZ
62390   2C4RDGEG7KR770165   Chrysler       GR                  SAINT PAUL                MN
62391   2C4RDGEG8JR140637   Chrysler       GR                  FORT MYERS                FL
62392   2C4RDGEG8JR145269   Chrysler       GR                  FORT MYERS                FL
62393   2C4RDGEG8JR145353   Chrysler       GR                  COLLEGE PARK              GA
62394   2C4RDGEG8JR145465   Chrysler       GR                  DAYTONA BEACH             FL
62395   2C4RDGEG8JR145868   Chrysler       GR                  WEST PALM BEACH           FL
62396   2C4RDGEG8JR150245   Chrysler       GR                  HILO                      HI
62397   2C4RDGEG8JR150259   Chrysler       GR                  HILO                      HI
62398   2C4RDGEG8JR150262   Chrysler       GR                  WAIMEA                    HI
62399   2C4RDGEG8JR150276   Chrysler       GR                  North Las Vegas           NV
62400   2C4RDGEG8JR150293   Chrysler       GR                  LIHUE                     HI
62401   2C4RDGEG8JR150309   Chrysler       GR                  KAHULUI                   HI
62402   2C4RDGEG8JR150374   Chrysler       GR                  Honolulu                  HI
62403   2C4RDGEG8JR165733   Chrysler       GR                  NEWARK                    NJ
62404   2C4RDGEG8JR189370   Chrysler       GR                  Hattiesburg               MS
62405   2C4RDGEG8JR189479   Chrysler       GR                  SAN FRANCISCO             CA
62406   2C4RDGEG8JR195363   Chrysler       GR                  HILO                      HI
62407   2C4RDGEG8JR195380   Chrysler       GR                  HILO                      HI
62408   2C4RDGEG8JR195394   Chrysler       GR                  WAIMEA                    HI
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62409   2C4RDGEG8JR195444   Chrysler       GR                  Greensboro                NC
62410   2C4RDGEG8JR196139   Chrysler       GR                  HILO                      HI
62411   2C4RDGEG8JR196142   Chrysler       GR                  HILO                      HI
62412   2C4RDGEG8JR196156   Chrysler       GR                  KAUAI                     HI
62413   2C4RDGEG8JR196190   Chrysler       GR                  SAN FRANCISCO             CA
62414   2C4RDGEG8JR238180   Chrysler       GR                  Chicago                   IL
62415   2C4RDGEG8JR254153   Chrysler       GR                  SAN DIEGO                 CA
62416   2C4RDGEG8JR254167   Chrysler       GR                  Harvey                    LA
62417   2C4RDGEG8JR254394   Chrysler       GR                  WEST PALM BEACH           FL
62418   2C4RDGEG8JR271714   Chrysler       GR                  PORTLAND                  ME
62419   2C4RDGEG8JR271745   Chrysler       GR                  GREENVILLE                NC
62420   2C4RDGEG8JR280882   Chrysler       GR                  Denver                    CO
62421   2C4RDGEG8JR296063   Chrysler       GR                  CHICAGO                   IL
62422   2C4RDGEG8JR296077   Chrysler       GR                  HOLLY HILL                FL
62423   2C4RDGEG8JR318434   Chrysler       GR                  SYRACUSE                  NY
62424   2C4RDGEG8JR323763   Chrysler       GR                  FT LAUDERDALE             FL
62425   2C4RDGEG8JR323777   Chrysler       GR                  Tolleson                  AZ
62426   2C4RDGEG8JR334620   Chrysler       GR                  PHOENIX                   AZ
62427   2C4RDGEG8JR334696   Chrysler       GR                  Fontana                   CA
62428   2C4RDGEG8JR334732   Chrysler       GR                  PHOENIX                   AZ
62429   2C4RDGEG8JR334777   Chrysler       GR                  Lynn                      MA
62430   2C4RDGEG8KR533569   Chrysler       GR                  Aurora                    CO
62431   2C4RDGEG8KR533619   Chrysler       GR                  PALM SPRINGS              CA
62432   2C4RDGEG8KR533636   Chrysler       GR                  Rio Linda                 CA
62433   2C4RDGEG8KR533667   Chrysler       GR                  JACKSONVILLE              FL
62434   2C4RDGEG8KR533670   Chrysler       GR                  PHOENIX                   AZ
62435   2C4RDGEG8KR533684   Chrysler       GR                  LOS ANGELES AP            CA
62436   2C4RDGEG8KR533703   Chrysler       GR                  CORPUS CHRISTI            TX
62437   2C4RDGEG8KR533720   Chrysler       GR                  LOS ANGELES               CA
62438   2C4RDGEG8KR533751   Chrysler       GR                  FORT LAUDERDALE           FL
62439   2C4RDGEG8KR533779   Chrysler       GR                  ROCHESTER                 NY
62440   2C4RDGEG8KR533782   Chrysler       GR                  HAILEY SUN VALLEY         ID
62441   2C4RDGEG8KR533796   Chrysler       GR                  HOUSTON                   TX
62442   2C4RDGEG8KR533863   Chrysler       GR                  RICHMOND                  VA
62443   2C4RDGEG8KR533880   Chrysler       GR                  DENVER                    CO
62444   2C4RDGEG8KR533913   Chrysler       GR                  Riverside                 CA
62445   2C4RDGEG8KR533930   Chrysler       GR                  LAS VEGAS                 NV
62446   2C4RDGEG8KR533958   Chrysler       GR                  DENVER                    CO
62447   2C4RDGEG8KR533975   Chrysler       GR                  ORLANDO                   FL
62448   2C4RDGEG8KR533992   Chrysler       GR                  LOS ANGELES               CA
62449   2C4RDGEG8KR534012   Chrysler       GR                  SANTA CLARA               CA
62450   2C4RDGEG8KR534026   Chrysler       GR                  PHOENIX                   AZ
62451   2C4RDGEG8KR534043   Chrysler       GR                  LAS VEGAS                 NV
62452   2C4RDGEG8KR534057   Chrysler       GR                  LOS ANGELES               CA
62453   2C4RDGEG8KR534060   Chrysler       GR                  NEW BERN                  NC
62454   2C4RDGEG8KR534107   Chrysler       GR                  LOS ANGELES AP            CA
62455   2C4RDGEG8KR534110   Chrysler       GR                  Hayward                   CA
62456   2C4RDGEG8KR534124   Chrysler       GR                  LOS ANGELES AP            CA
62457   2C4RDGEG8KR534138   Chrysler       GR                  KNOXVILLE                 TN
62458   2C4RDGEG8KR534205   Chrysler       GR                  REDDING                   CA
62459   2C4RDGEG8KR534222   Chrysler       GR                  PHOENIX                   AZ
62460   2C4RDGEG8KR534253   Chrysler       GR                  EULESS                    TX
62461   2C4RDGEG8KR534267   Chrysler       GR                  WEST COLUMBIA             SC
62462   2C4RDGEG8KR534270   Chrysler       GR                  SAN DIEGO                 CA
62463   2C4RDGEG8KR534298   Chrysler       GR                  LOS ANGELES               CA
62464   2C4RDGEG8KR534303   Chrysler       GR                  PHOENIX                   AZ
62465   2C4RDGEG8KR534320   Chrysler       GR                  DALLAS                    TX
62466   2C4RDGEG8KR534334   Chrysler       GR                  FORT MYERS                FL
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62467   2C4RDGEG8KR534351   Chrysler       GR                  ORLANDO                   FL
62468   2C4RDGEG8KR534365   Chrysler       GR                  FT WASHINGTON             MD
62469   2C4RDGEG8KR534379   Chrysler       GR                  LAS VEGAS                 NV
62470   2C4RDGEG8KR534382   Chrysler       GR                  NEW BERN                  NC
62471   2C4RDGEG8KR534396   Chrysler       GR                  FORT MYERS                FL
62472   2C4RDGEG8KR534401   Chrysler       GR                  SANTA ANA                 CA
62473   2C4RDGEG8KR534429   Chrysler       GR                  FORT LAUDERDALE           FL
62474   2C4RDGEG8KR534446   Chrysler       GR                  TAMPA                     FL
62475   2C4RDGEG8KR534463   Chrysler       GR                  SAN DIEGO                 CA
62476   2C4RDGEG8KR534477   Chrysler       GR                  PHOENIX                   AZ
62477   2C4RDGEG8KR534480   Chrysler       GR                  MIAMI                     FL
62478   2C4RDGEG8KR534494   Chrysler       GR                  Miami                     FL
62479   2C4RDGEG8KR534513   Chrysler       GR                  ORLANDO                   FL
62480   2C4RDGEG8KR534527   Chrysler       GR                  TAMPA                     FL
62481   2C4RDGEG8KR534544   Chrysler       GR                  PENSACOLA                 FL
62482   2C4RDGEG8KR534558   Chrysler       GR                  FORT MYERS                FL
62483   2C4RDGEG8KR534575   Chrysler       GR                  STERLING                  VA
62484   2C4RDGEG8KR534589   Chrysler       GR                  TAMPA                     FL
62485   2C4RDGEG8KR534592   Chrysler       GR                  MCALLEN                   TX
62486   2C4RDGEG8KR534639   Chrysler       GR                  DENVER                    CO
62487   2C4RDGEG8KR534673   Chrysler       GR                  ORLANDO                   FL
62488   2C4RDGEG8KR534687   Chrysler       GR                  TAMPA                     FL
62489   2C4RDGEG8KR534690   Chrysler       GR                  ATLANTA                   GA
62490   2C4RDGEG8KR534723   Chrysler       GR                  MIAMI                     FL
62491   2C4RDGEG8KR534737   Chrysler       GR                  MIAMI                     FL
62492   2C4RDGEG8KR534740   Chrysler       GR                  JACKSONVILLE              FL
62493   2C4RDGEG8KR534754   Chrysler       GR                  WEST PALM BEACH           FL
62494   2C4RDGEG8KR534768   Chrysler       GR                  Miami                     FL
62495   2C4RDGEG8KR534771   Chrysler       GR                  ORLANDO                   FL
62496   2C4RDGEG8KR534785   Chrysler       GR                  FORT MYERS                FL
62497   2C4RDGEG8KR534818   Chrysler       GR                  Memphis                   TN
62498   2C4RDGEG8KR534821   Chrysler       GR                  DANIA BEACH               FL
62499   2C4RDGEG8KR534902   Chrysler       GR                  NEW BERN                  NC
62500   2C4RDGEG8KR534916   Chrysler       GR                  TAMPA                     FL
62501   2C4RDGEG8KR534933   Chrysler       GR                  Sanford                   FL
62502   2C4RDGEG8KR534947   Chrysler       GR                  TAMPA                     FL
62503   2C4RDGEG8KR534950   Chrysler       GR                  DENVER                    CO
62504   2C4RDGEG8KR534964   Chrysler       GR                  ORLANDO                   FL
62505   2C4RDGEG8KR535001   Chrysler       GR                  ORLANDO                   FL
62506   2C4RDGEG8KR535015   Chrysler       GR                  NORFOLK                   VA
62507   2C4RDGEG8KR535029   Chrysler       GR                  KENNER                    LA
62508   2C4RDGEG8KR535032   Chrysler       GR                  DETROIT                   MI
62509   2C4RDGEG8KR535063   Chrysler       GR                  Hamilton                  OH
62510   2C4RDGEG8KR535080   Chrysler       GR                  JACKSONVILLE              FL
62511   2C4RDGEG8KR535144   Chrysler       GR                  PHOENIX                   AZ
62512   2C4RDGEG8KR535175   Chrysler       GR                  Fontana                   CA
62513   2C4RDGEG8KR535189   Chrysler       GR                  SAN ANTONIO               TX
62514   2C4RDGEG8KR535208   Chrysler       GR                  FORT MYERS                FL
62515   2C4RDGEG8KR535225   Chrysler       GR                  JACKSONVILLE              FL
62516   2C4RDGEG8KR535242   Chrysler       GR                  TAMPA                     FL
62517   2C4RDGEG8KR535273   Chrysler       GR                  CATONSVILLE               MD
62518   2C4RDGEG8KR535290   Chrysler       GR                  SALT LAKE CITY            US
62519   2C4RDGEG8KR535354   Chrysler       GR                  BOSTON                    MA
62520   2C4RDGEG8KR535385   Chrysler       GR                  MEMPHIS                   TN
62521   2C4RDGEG8KR535404   Chrysler       GR                  CORPUS CHRISTI            TX
62522   2C4RDGEG8KR535418   Chrysler       GR                  ORLANDO                   FL
62523   2C4RDGEG8KR535452   Chrysler       GR                  NEW BERN                  NC
62524   2C4RDGEG8KR535497   Chrysler       GR                  TAMPA                     US
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62525   2C4RDGEG8KR535516   Chrysler       GR                  FORT LAUDERDALE           FL
62526   2C4RDGEG8KR535547   Chrysler       GR                  HARTFORD                  CT
62527   2C4RDGEG8KR535550   Chrysler       GR                  TAMPA                     US
62528   2C4RDGEG8KR535595   Chrysler       GR                  ORANGE COUNTY             CA
62529   2C4RDGEG8KR535614   Chrysler       GR                  TAMPA                     US
62530   2C4RDGEG8KR535628   Chrysler       GR                  ORLANDO                   FL
62531   2C4RDGEG8KR535631   Chrysler       GR                  GREENVILLE                NC
62532   2C4RDGEG8KR535662   Chrysler       GR                  Miami                     FL
62533   2C4RDGEG8KR535726   Chrysler       GR                  Manheim                   PA
62534   2C4RDGEG8KR535757   Chrysler       GR                  ALBUQERQUE                NM
62535   2C4RDGEG8KR535841   Chrysler       GR                  PHOENIX                   AZ
62536   2C4RDGEG8KR536472   Chrysler       GR                  LIHUE                     HI
62537   2C4RDGEG8KR537931   Chrysler       GR                  NEWPORT BEACH             CA
62538   2C4RDGEG8KR537945   Chrysler       GR                  LOS ANGELES AP            CA
62539   2C4RDGEG8KR537959   Chrysler       GR                  LOS ANGELES               CA
62540   2C4RDGEG8KR537993   Chrysler       GR                  ORLANDO                   FL
62541   2C4RDGEG8KR538027   Chrysler       GR                  LOS ANGELES               CA
62542   2C4RDGEG8KR538030   Chrysler       GR                  KNOXVILLE                 TN
62543   2C4RDGEG8KR538092   Chrysler       GR                  ORLANDO                   FL
62544   2C4RDGEG8KR538111   Chrysler       GR                  DARLINGTON                SC
62545   2C4RDGEG8KR538125   Chrysler       GR                  Maple Grove               MN
62546   2C4RDGEG8KR538139   Chrysler       GR                  WARWICK                   RI
62547   2C4RDGEG8KR538156   Chrysler       GR                  FORT LAUDERDALE           FL
62548   2C4RDGEG8KR538173   Chrysler       GR                  SAINT PAUL                MN
62549   2C4RDGEG8KR538187   Chrysler       GR                  ORLANDO                   FL
62550   2C4RDGEG8KR538190   Chrysler       GR                  BRONX                     NY
62551   2C4RDGEG8KR538223   Chrysler       GR                  TAMPA                     FL
62552   2C4RDGEG8KR538237   Chrysler       GR                  ORLANDO                   FL
62553   2C4RDGEG8KR538240   Chrysler       GR                  FORT MYERS                FL
62554   2C4RDGEG8KR538285   Chrysler       GR                  Atlanta                   GA
62555   2C4RDGEG8KR538299   Chrysler       GR                  Smithtown                 NY
62556   2C4RDGEG8KR538318   Chrysler       GR                  MIAMI                     FL
62557   2C4RDGEG8KR538349   Chrysler       GR                  RALIEGH                   NC
62558   2C4RDGEG8KR538352   Chrysler       GR                  CLARKSVILLE               IN
62559   2C4RDGEG8KR538366   Chrysler       GR                  PEMBROKE                  MA
62560   2C4RDGEG8KR553367   Chrysler       GR                  TRACY                     CA
62561   2C4RDGEG8KR556365   Chrysler       GR                  ORLANDO                   FL
62562   2C4RDGEG8KR556379   Chrysler       GR                  DALLAS                    TX
62563   2C4RDGEG8KR556401   Chrysler       GR                  PITTSBURGH                PA
62564   2C4RDGEG8KR556415   Chrysler       GR                  ORLANDO                   FL
62565   2C4RDGEG8KR556432   Chrysler       GR                  ALBUQUERQUE               NM
62566   2C4RDGEG8KR556463   Chrysler       GR                  ORLANDO                   FL
62567   2C4RDGEG8KR567804   Chrysler       GR                  LOS ANGELES               CA
62568   2C4RDGEG8KR567818   Chrysler       GR                  PHOENIX                   AZ
62569   2C4RDGEG8KR567821   Chrysler       GR                  DALLAS                    TX
62570   2C4RDGEG8KR567849   Chrysler       GR                  Alexandria                VA
62571   2C4RDGEG8KR567866   Chrysler       GR                  FORT LAUDERDALE           FL
62572   2C4RDGEG8KR567883   Chrysler       GR                  Anaheim                   CA
62573   2C4RDGEG8KR567897   Chrysler       GR                  PHOENIX                   AZ
62574   2C4RDGEG8KR567950   Chrysler       GR                  HOUSTON                   TX
62575   2C4RDGEG8KR567995   Chrysler       GR                  CATONSVILLE               MD
62576   2C4RDGEG8KR568015   Chrysler       GR                  SAN ANTONIO               TX
62577   2C4RDGEG8KR568029   Chrysler       GR                  SAN DIEGO                 CA
62578   2C4RDGEG8KR568046   Chrysler       GR                  ASTORIA                   NY
62579   2C4RDGEG8KR568063   Chrysler       GR                  Norwalk                   CA
62580   2C4RDGEG8KR568077   Chrysler       GR                  FRESNO                    CA
62581   2C4RDGEG8KR568080   Chrysler       GR                  Atlanta                   GA
62582   2C4RDGEG8KR568094   Chrysler       GR                  DENVER                    CO
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62583   2C4RDGEG8KR570864   Chrysler       GR                  PHOENIX                   AZ
62584   2C4RDGEG8KR570914   Chrysler       GR                  San Diego                 CA
62585   2C4RDGEG8KR570945   Chrysler       GR                  SACRAMENTO                CA
62586   2C4RDGEG8KR570962   Chrysler       GR                  ORLANDO                   FL
62587   2C4RDGEG8KR570993   Chrysler       GR                  ORLANDO                   FL
62588   2C4RDGEG8KR571027   Chrysler       GR                  Landover Hills            MD
62589   2C4RDGEG8KR571058   Chrysler       GR                  NEWPORT BEACH             CA
62590   2C4RDGEG8KR571061   Chrysler       GR                  TAMPA                     FL
62591   2C4RDGEG8KR571075   Chrysler       GR                  JACKSON                   MS
62592   2C4RDGEG8KR571092   Chrysler       GR                  TAMPA                     FL
62593   2C4RDGEG8KR571108   Chrysler       GR                  DANIA BEACH               FL
62594   2C4RDGEG8KR571125   Chrysler       GR                  ORLANDO                   FL
62595   2C4RDGEG8KR571139   Chrysler       GR                  Charlotte                 NC
62596   2C4RDGEG8KR571142   Chrysler       GR                  Harvey                    LA
62597   2C4RDGEG8KR571173   Chrysler       GR                  FORT MYERS                FL
62598   2C4RDGEG8KR571187   Chrysler       GR                  LOUISVILLE                KY
62599   2C4RDGEG8KR571190   Chrysler       GR                  Hebron                    KY
62600   2C4RDGEG8KR571254   Chrysler       GR                  SARASOTA                  FL
62601   2C4RDGEG8KR571271   Chrysler       GR                  Miami                     FL
62602   2C4RDGEG8KR571285   Chrysler       GR                  ORLANDO                   FL
62603   2C4RDGEG8KR571349   Chrysler       GR                  ORLANDO                   FL
62604   2C4RDGEG8KR571352   Chrysler       GR                  FORT MYERS                FL
62605   2C4RDGEG8KR571397   Chrysler       GR                  BIRMINGHAM                AL
62606   2C4RDGEG8KR571402   Chrysler       GR                  WEST PALM BEACH           FL
62607   2C4RDGEG8KR571416   Chrysler       GR                  FORT MYERS                FL
62608   2C4RDGEG8KR571433   Chrysler       GR                  ROANOKE                   VA
62609   2C4RDGEG8KR571514   Chrysler       GR                  Smithtown                 NY
62610   2C4RDGEG8KR577832   Chrysler       GR                  ORLANDO                   FL
62611   2C4RDGEG8KR577913   Chrysler       GR                  COLLEGE PARK              GA
62612   2C4RDGEG8KR577927   Chrysler       GR                  Miami                     FL
62613   2C4RDGEG8KR577930   Chrysler       GR                  TAMPA                     FL
62614   2C4RDGEG8KR577944   Chrysler       GR                  ORLANDO                   FL
62615   2C4RDGEG8KR577958   Chrysler       GR                  TAMPA                     FL
62616   2C4RDGEG8KR577989   Chrysler       GR                  MIAMI                     FL
62617   2C4RDGEG8KR578026   Chrysler       GR                  ALLENTOWN                 US
62618   2C4RDGEG8KR578060   Chrysler       GR                  WEST PALM BEACH           FL
62619   2C4RDGEG8KR616953   Chrysler       GR                  LAS VEGAS                 NV
62620   2C4RDGEG8KR616984   Chrysler       GR                  ONTARIO                   CA
62621   2C4RDGEG8KR617021   Chrysler       GR                  Fontana                   CA
62622   2C4RDGEG8KR617875   Chrysler       GR                  WEST COLUMBIA             SC
62623   2C4RDGEG8KR617908   Chrysler       GR                  ORLANDO                   FL
62624   2C4RDGEG8KR617987   Chrysler       GR                  ORLANDO                   FL
62625   2C4RDGEG8KR618055   Chrysler       GR                  SARASOTA                  FL
62626   2C4RDGEG8KR618069   Chrysler       GR                  FORT LAUDERDALE           FL
62627   2C4RDGEG8KR618072   Chrysler       GR                  Aurora                    CO
62628   2C4RDGEG8KR618086   Chrysler       GR                  SAINT PAUL                MN
62629   2C4RDGEG8KR618105   Chrysler       GR                  Salt Lake City            UT
62630   2C4RDGEG8KR618203   Chrysler       GR                  LOS ANGELES               CA
62631   2C4RDGEG8KR630819   Chrysler       GR                  McAllen                   TX
62632   2C4RDGEG8KR630870   Chrysler       GR                  Hebron                    KY
62633   2C4RDGEG8KR630884   Chrysler       GR                  Atlanta                   GA
62634   2C4RDGEG8KR630934   Chrysler       GR                  WEST PALM BEACH           FL
62635   2C4RDGEG8KR630996   Chrysler       GR                  SALT LAKE CITY            UT
62636   2C4RDGEG8KR631047   Chrysler       GR                  CORPUS CHRISTI            TX
62637   2C4RDGEG8KR631162   Chrysler       GR                  MIAMI                     FL
62638   2C4RDGEG8KR634028   Chrysler       GR                  Warr Acres                OK
62639   2C4RDGEG8KR636927   Chrysler       GR                  SEATAC                    WA
62640   2C4RDGEG8KR637012   Chrysler       GR                  SAN JOSE                  CA
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62641   2C4RDGEG8KR640315   Chrysler       GR                  PHOENIX                   AZ
62642   2C4RDGEG8KR640346   Chrysler       GR                  ONTARIO                   CA
62643   2C4RDGEG8KR640377   Chrysler       GR                  INGLEWOOD                 CA
62644   2C4RDGEG8KR640380   Chrysler       GR                  PHOENIX                   AZ
62645   2C4RDGEG8KR640394   Chrysler       GR                  TALLAHASSEE               F
62646   2C4RDGEG8KR640444   Chrysler       GR                  SEATTLE                   WA
62647   2C4RDGEG8KR640489   Chrysler       GR                  BOSTON                    MA
62648   2C4RDGEG8KR640539   Chrysler       GR                  ONTARIO                   CA
62649   2C4RDGEG8KR640573   Chrysler       GR                  Revere                    MA
62650   2C4RDGEG8KR640587   Chrysler       GR                  DALLAS                    TX
62651   2C4RDGEG8KR640606   Chrysler       GR                  MEMPHIS                   TN
62652   2C4RDGEG8KR640685   Chrysler       GR                  SAVANNAH                  GA
62653   2C4RDGEG8KR640699   Chrysler       GR                  SEATAC                    WA
62654   2C4RDGEG8KR640881   Chrysler       GR                  Portland                  OR
62655   2C4RDGEG8KR640959   Chrysler       GR                  MIAMI                     FL
62656   2C4RDGEG8KR640993   Chrysler       GR                  ORLANDO                   FL
62657   2C4RDGEG8KR641089   Chrysler       GR                  SAINT LOUIS               MO
62658   2C4RDGEG8KR641092   Chrysler       GR                  Dallas                    TX
62659   2C4RDGEG8KR641173   Chrysler       GR                  Atlanta                   GA
62660   2C4RDGEG8KR641285   Chrysler       GR                  Fontana                   CA
62661   2C4RDGEG8KR641299   Chrysler       GR                  CHICAGO                   IL
62662   2C4RDGEG8KR641352   Chrysler       GR                  SEA TAC                   WA
62663   2C4RDGEG8KR641416   Chrysler       GR                  Atlanta                   GA
62664   2C4RDGEG8KR641478   Chrysler       GR                  ORLANDO                   FL
62665   2C4RDGEG8KR641481   Chrysler       GR                  Indianapolis              IN
62666   2C4RDGEG8KR645966   Chrysler       GR                  SAN DIEGO                 CA
62667   2C4RDGEG8KR645983   Chrysler       GR                  ONTARIO                   CA
62668   2C4RDGEG8KR646048   Chrysler       GR                  LOS ANGELES               CA
62669   2C4RDGEG8KR646051   Chrysler       GR                  STERLING                  VA
62670   2C4RDGEG8KR646065   Chrysler       GR                  HOUSTON                   TX
62671   2C4RDGEG8KR646079   Chrysler       GR                  LOUISVILLE                KY
62672   2C4RDGEG8KR646132   Chrysler       GR                  ST Paul                   MN
62673   2C4RDGEG8KR646177   Chrysler       GR                  ORLANDO                   FL
62674   2C4RDGEG8KR646213   Chrysler       GR                  Atlanta                   GA
62675   2C4RDGEG8KR646230   Chrysler       GR                  ORLANDO                   FL
62676   2C4RDGEG8KR646289   Chrysler       GR                  Hebron                    KY
62677   2C4RDGEG8KR646311   Chrysler       GR                  HOUSTON                   TX
62678   2C4RDGEG8KR646325   Chrysler       GR                  GRAND RAPIDS              MI
62679   2C4RDGEG8KR646342   Chrysler       GR                  GREEN BAY                 WI
62680   2C4RDGEG8KR646373   Chrysler       GR                  CHICAGO                   IL
62681   2C4RDGEG8KR646390   Chrysler       GR                  BIRMINGHAM                AL
62682   2C4RDGEG8KR658118   Chrysler       GR                  INDIANAPOLIS              IN
62683   2C4RDGEG8KR658152   Chrysler       GR                  Fontana                   CA
62684   2C4RDGEG8KR658183   Chrysler       GR                  Downey                    CA
62685   2C4RDGEG8KR658328   Chrysler       GR                  BURBANK                   CA
62686   2C4RDGEG8KR658474   Chrysler       GR                  KNOXVILLE                 TN
62687   2C4RDGEG8KR658491   Chrysler       GR                  COLLEGE PARK              GA
62688   2C4RDGEG8KR658524   Chrysler       GR                  DALLAS                    TX
62689   2C4RDGEG8KR658684   Chrysler       GR                  COLUMBUS                  OH
62690   2C4RDGEG8KR658720   Chrysler       GR                  STERLING                  VA
62691   2C4RDGEG8KR658734   Chrysler       GR                  LOS ANGELES               CA
62692   2C4RDGEG8KR658748   Chrysler       GR                  ONTARIO                   CA
62693   2C4RDGEG8KR658765   Chrysler       GR                  JACKSONVILLE              FL
62694   2C4RDGEG8KR670060   Chrysler       GR                  CLEVELAND                 OH
62695   2C4RDGEG8KR670138   Chrysler       GR                  TAMPA                     FL
62696   2C4RDGEG8KR670169   Chrysler       GR                  KNOXVILLE                 TN
62697   2C4RDGEG8KR670172   Chrysler       GR                  LOUISVILLE                KY
62698   2C4RDGEG8KR670222   Chrysler       GR                  Phoenix                   AZ
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62699   2C4RDGEG8KR670396   Chrysler       GR                  SAINT PAUL                MN
62700   2C4RDGEG8KR670401   Chrysler       GR                  DES MOINES                IA
62701   2C4RDGEG8KR670432   Chrysler       GR                  GRAND RAPIDS              MI
62702   2C4RDGEG8KR670527   Chrysler       GR                  HOUSTON                   TX
62703   2C4RDGEG8KR670558   Chrysler       GR                  DES MOINES                IA
62704   2C4RDGEG8KR670740   Chrysler       GR                  WEST PALM BEACH           FL
62705   2C4RDGEG8KR670818   Chrysler       GR                  Cleveland                 OH
62706   2C4RDGEG8KR673749   Chrysler       GR                  ORLANDO                   FL
62707   2C4RDGEG8KR673752   Chrysler       GR                  BUFFALO                   NY
62708   2C4RDGEG8KR673766   Chrysler       GR                  ORLANDO                   FL
62709   2C4RDGEG8KR676067   Chrysler       GR                  ATLANTA                   GA
62710   2C4RDGEG8KR676098   Chrysler       GR                  AUSTIN                    TX
62711   2C4RDGEG8KR676103   Chrysler       GR                  TAMPA                     FL
62712   2C4RDGEG8KR682001   Chrysler       GR                  Salt Lake City            UT
62713   2C4RDGEG8KR682029   Chrysler       GR                  Detroit                   MI
62714   2C4RDGEG8KR682077   Chrysler       GR                  GREENSBORO                NC
62715   2C4RDGEG8KR742262   Chrysler       GR                  TULSA                     OK
62716   2C4RDGEG8KR760308   Chrysler       GR                  FORT MYERS                FL
62717   2C4RDGEG8KR760311   Chrysler       GR                  ORLANDO                   FL
62718   2C4RDGEG8KR764374   Chrysler       GR                  Hendersonville            TN
62719   2C4RDGEG8KR764553   Chrysler       GR                  KNOXVILLE                 TN
62720   2C4RDGEG8KR764746   Chrysler       GR                  FORT MYERS                FL
62721   2C4RDGEG8KR764875   Chrysler       GR                  Portland                  OR
62722   2C4RDGEG8KR765122   Chrysler       GR                  Nashville                 TN
62723   2C4RDGEG8KR768716   Chrysler       GR                  Warr Acres                OK
62724   2C4RDGEG8KR768988   Chrysler       GR                  Burien                    WA
62725   2C4RDGEG8KR769106   Chrysler       GR                  Coraopolis                PA
62726   2C4RDGEG8KR769199   Chrysler       GR                  FORT MYERS                FL
62727   2C4RDGEG8KR769302   Chrysler       GR                  FORT MYERS                FL
62728   2C4RDGEG8KR769400   Chrysler       GR                  FORT MYERS                FL
62729   2C4RDGEG8KR769722   Chrysler       GR                  Austin                    TX
62730   2C4RDGEG8KR770160   Chrysler       GR                  ST Paul                   MN
62731   2C4RDGEG9JR140436   Chrysler       GR                  Ft. Myers                 FL
62732   2C4RDGEG9JR140663   Chrysler       GR                  KNOXVILLE                 TN
62733   2C4RDGEG9JR145877   Chrysler       GR                  Davie                     FL
62734   2C4RDGEG9JR150254   Chrysler       GR                  KAILUA‐KONA               HI
62735   2C4RDGEG9JR159469   Chrysler       GR                  BURBANK                   CA
62736   2C4RDGEG9JR189443   Chrysler       GR                  HILO                      HI
62737   2C4RDGEG9JR195369   Chrysler       GR                  HILO                      HI
62738   2C4RDGEG9JR195372   Chrysler       GR                  KALAOA                    HI
62739   2C4RDGEG9JR195386   Chrysler       GR                  WEST HARTFORD             CT
62740   2C4RDGEG9JR196053   Chrysler       GR                  Ft. Myers                 FL
62741   2C4RDGEG9JR196134   Chrysler       GR                  HILO                      HI
62742   2C4RDGEG9JR196148   Chrysler       GR                  KALAOA                    HI
62743   2C4RDGEG9JR205026   Chrysler       GR                  DAYTONA BEACH             FL
62744   2C4RDGEG9JR214566   Chrysler       GR                  MIAMI                     FL
62745   2C4RDGEG9JR254114   Chrysler       GR                  MIAMI                     FL
62746   2C4RDGEG9JR254162   Chrysler       GR                  PHOENIX                   AZ
62747   2C4RDGEG9JR254176   Chrysler       GR                  MIAMI                     FL
62748   2C4RDGEG9JR254257   Chrysler       GR                  Torrance                  CA
62749   2C4RDGEG9JR254386   Chrysler       GR                  Teterboro                 NJ
62750   2C4RDGEG9JR254422   Chrysler       GR                  TALLAHASSEE               F
62751   2C4RDGEG9JR254498   Chrysler       GR                  DAYTONA BEACH             FL
62752   2C4RDGEG9JR254565   Chrysler       GR                  LOS ANGELES               CA
62753   2C4RDGEG9JR296072   Chrysler       GR                  Fontana                   CA
62754   2C4RDGEG9JR323769   Chrysler       GR                  Anaheim                   CA
62755   2C4RDGEG9JR331449   Chrysler       GR                  Salt Lake City            UT
62756   2C4RDGEG9JR331452   Chrysler       GR                  Fresno                    CA
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62757   2C4RDGEG9JR334576   Chrysler       GR                  KNOXVILLE                 TN
62758   2C4RDGEG9JR334593   Chrysler       GR                  Windsor Locks             CT
62759   2C4RDGEG9JR334609   Chrysler       GR                  BIRMINGHAM                AL
62760   2C4RDGEG9JR334612   Chrysler       GR                  DETROIT                   MI
62761   2C4RDGEG9JR334643   Chrysler       GR                  HOUSTON                   TX
62762   2C4RDGEG9JR334660   Chrysler       GR                  LAS VEGAS                 NV
62763   2C4RDGEG9JR334710   Chrysler       GR                  FORT MYERS                FL
62764   2C4RDGEG9JR334724   Chrysler       GR                  LAS VEGAS                 NV
62765   2C4RDGEG9JR334738   Chrysler       GR                  DENVER                    CO
62766   2C4RDGEG9KR533094   Chrysler       GR                  Philadelphia              PA
62767   2C4RDGEG9KR533595   Chrysler       GR                  LOS ANGELES               CA
62768   2C4RDGEG9KR533600   Chrysler       GR                  PALM SPRINGS              CA
62769   2C4RDGEG9KR533614   Chrysler       GR                  Fontana                   CA
62770   2C4RDGEG9KR533628   Chrysler       GR                  PHOENIX                   AZ
62771   2C4RDGEG9KR533631   Chrysler       GR                  PHOENIX                   AZ
62772   2C4RDGEG9KR533662   Chrysler       GR                  Hayward                   CA
62773   2C4RDGEG9KR533693   Chrysler       GR                  PALM SPRINGS              CA
62774   2C4RDGEG9KR533841   Chrysler       GR                  OGDEN                     UT
62775   2C4RDGEG9KR533855   Chrysler       GR                  MISSION VALLEY            CA
62776   2C4RDGEG9KR533872   Chrysler       GR                  PHOENIX                   AZ
62777   2C4RDGEG9KR533936   Chrysler       GR                  NEW ORLEANS               LA
62778   2C4RDGEG9KR533953   Chrysler       GR                  SALT LAKE CITY            UT
62779   2C4RDGEG9KR533967   Chrysler       GR                  EL SEGUNDO                CA
62780   2C4RDGEG9KR533998   Chrysler       GR                  El Paso                   TX
62781   2C4RDGEG9KR534018   Chrysler       GR                  Salt Lake City            UT
62782   2C4RDGEG9KR534021   Chrysler       GR                  SANTA ANA                 CA
62783   2C4RDGEG9KR534035   Chrysler       GR                  SAN DIEGO                 CA
62784   2C4RDGEG9KR534066   Chrysler       GR                  ORLANDO                   FL
62785   2C4RDGEG9KR534102   Chrysler       GR                  LOS ANGELES               CA
62786   2C4RDGEG9KR534116   Chrysler       GR                  SANTA ANA                 CA
62787   2C4RDGEG9KR534164   Chrysler       GR                  MILWAUKEE                 WI
62788   2C4RDGEG9KR534195   Chrysler       GR                  ALBUQERQUE                NM
62789   2C4RDGEG9KR534228   Chrysler       GR                  PHOENIX                   AZ
62790   2C4RDGEG9KR534245   Chrysler       GR                  PHILADELPHIA              US
62791   2C4RDGEG9KR534259   Chrysler       GR                  LOS ANGELES               CA
62792   2C4RDGEG9KR534262   Chrysler       GR                  PHOENIX                   AZ
62793   2C4RDGEG9KR534309   Chrysler       GR                  SANTA ANA                 CA
62794   2C4RDGEG9KR534343   Chrysler       GR                  Miami                     FL
62795   2C4RDGEG9KR534360   Chrysler       GR                  ORLANDO                   FL
62796   2C4RDGEG9KR534407   Chrysler       GR                  HOUSTON                   TX
62797   2C4RDGEG9KR534410   Chrysler       GR                  ORLANDO                   FL
62798   2C4RDGEG9KR534424   Chrysler       GR                  ORLANDO                   FL
62799   2C4RDGEG9KR534438   Chrysler       GR                  TAMPA                     FL
62800   2C4RDGEG9KR534441   Chrysler       GR                  TAMPA                     FL
62801   2C4RDGEG9KR534455   Chrysler       GR                  TAMPA                     FL
62802   2C4RDGEG9KR534469   Chrysler       GR                  ST Paul                   MN
62803   2C4RDGEG9KR534486   Chrysler       GR                  STERLING                  VA
62804   2C4RDGEG9KR534505   Chrysler       GR                  ORLANDO                   FL
62805   2C4RDGEG9KR534522   Chrysler       GR                  ORLANDO                   FL
62806   2C4RDGEG9KR534536   Chrysler       GR                  STERLING                  VA
62807   2C4RDGEG9KR534553   Chrysler       GR                  WEST PALM BEACH           FL
62808   2C4RDGEG9KR534570   Chrysler       GR                  ORLANDO                   FL
62809   2C4RDGEG9KR534584   Chrysler       GR                  MIAMI                     FL
62810   2C4RDGEG9KR534598   Chrysler       GR                  CLEVELAND                 OH
62811   2C4RDGEG9KR534603   Chrysler       GR                  ORLANDO                   FL
62812   2C4RDGEG9KR534617   Chrysler       GR                  ORLANDO                   FL
62813   2C4RDGEG9KR534648   Chrysler       GR                  STERLING                  VA
62814   2C4RDGEG9KR534665   Chrysler       GR                  Atlanta                   GA
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62815   2C4RDGEG9KR534682   Chrysler       GR                  ORLANDO                   FL
62816   2C4RDGEG9KR534701   Chrysler       GR                  INDIANAPOLIS              IN
62817   2C4RDGEG9KR534732   Chrysler       GR                  FORT MYERS                FL
62818   2C4RDGEG9KR534746   Chrysler       GR                  WEST PALM BEACH           FL
62819   2C4RDGEG9KR534763   Chrysler       GR                  COLLEGE PARK              GA
62820   2C4RDGEG9KR534780   Chrysler       GR                  Burien                    WA
62821   2C4RDGEG9KR534830   Chrysler       GR                  WEST PALM BEACH           FL
62822   2C4RDGEG9KR534844   Chrysler       GR                  ORLANDO                   FL
62823   2C4RDGEG9KR534858   Chrysler       GR                  MIAMI                     FL
62824   2C4RDGEG9KR534875   Chrysler       GR                  MIAMI                     FL
62825   2C4RDGEG9KR534892   Chrysler       GR                  FORT MYERS                FL
62826   2C4RDGEG9KR534911   Chrysler       GR                  Winter Park               FL
62827   2C4RDGEG9KR534925   Chrysler       GR                  ORLANDO                   FL
62828   2C4RDGEG9KR534939   Chrysler       GR                  TAMPA                     FL
62829   2C4RDGEG9KR534973   Chrysler       GR                  FORT MYERS                FL
62830   2C4RDGEG9KR534990   Chrysler       GR                  SARASOTA                  FL
62831   2C4RDGEG9KR535007   Chrysler       GR                  MIAMI                     FL
62832   2C4RDGEG9KR535024   Chrysler       GR                  HANOVER                   MD
62833   2C4RDGEG9KR535069   Chrysler       GR                  WEST PALM BEACH           FL
62834   2C4RDGEG9KR535072   Chrysler       GR                  Atlanta                   GA
62835   2C4RDGEG9KR535119   Chrysler       GR                  SAN ANTONIO               TX
62836   2C4RDGEG9KR535153   Chrysler       GR                  HOUSTON                   TX
62837   2C4RDGEG9KR535184   Chrysler       GR                  WARWICK                   RI
62838   2C4RDGEG9KR535217   Chrysler       GR                  WILMINGTON                NC
62839   2C4RDGEG9KR535234   Chrysler       GR                  STERLING                  VA
62840   2C4RDGEG9KR535251   Chrysler       GR                  ORANGE COUNTY             CA
62841   2C4RDGEG9KR535282   Chrysler       GR                  KANSAS CITY               MO
62842   2C4RDGEG9KR535296   Chrysler       GR                  BURBANK                   CA
62843   2C4RDGEG9KR535301   Chrysler       GR                  WEST PALM BEACH           FL
62844   2C4RDGEG9KR535346   Chrysler       GR                  COLUMBIA                  SC
62845   2C4RDGEG9KR535377   Chrysler       GR                  RICHMOND                  VA
62846   2C4RDGEG9KR535427   Chrysler       GR                  FORT MYERS                FL
62847   2C4RDGEG9KR535430   Chrysler       GR                  FORT LAUDERDALE           FL
62848   2C4RDGEG9KR535461   Chrysler       GR                  ALEXANDRIA                VA
62849   2C4RDGEG9KR535475   Chrysler       GR                  TAMPA                     FL
62850   2C4RDGEG9KR535508   Chrysler       GR                  FORT MYERS                FL
62851   2C4RDGEG9KR535511   Chrysler       GR                  LOUISVILLE                KY
62852   2C4RDGEG9KR535590   Chrysler       GR                  RALIEGH                   NC
62853   2C4RDGEG9KR535623   Chrysler       GR                  LAS VEGAS                 NV
62854   2C4RDGEG9KR535654   Chrysler       GR                  ORLANDO                   FL
62855   2C4RDGEG9KR535699   Chrysler       GR                  WEST PALM BEACH           FL
62856   2C4RDGEG9KR535704   Chrysler       GR                  MIAMI                     FL
62857   2C4RDGEG9KR535721   Chrysler       GR                  SAN DIEGO                 CA
62858   2C4RDGEG9KR535735   Chrysler       GR                  CHEEKTOWAGA               NY
62859   2C4RDGEG9KR535749   Chrysler       GR                  WARWICK                   RI
62860   2C4RDGEG9KR535766   Chrysler       GR                  SARASOTA                  FL
62861   2C4RDGEG9KR536772   Chrysler       GR                  Honolulu                  HI
62862   2C4RDGEG9KR537954   Chrysler       GR                  PHOENIX                   AZ
62863   2C4RDGEG9KR537971   Chrysler       GR                  LOS ANGELES               CA
62864   2C4RDGEG9KR537985   Chrysler       GR                  PALM SPRINGS              CA
62865   2C4RDGEG9KR538005   Chrysler       GR                  LOS ANGELES               CA
62866   2C4RDGEG9KR538022   Chrysler       GR                  TUCSON                    AZ
62867   2C4RDGEG9KR538036   Chrysler       GR                  LAS VEGAS                 NV
62868   2C4RDGEG9KR538053   Chrysler       GR                  HARTFORD                  CT
62869   2C4RDGEG9KR538070   Chrysler       GR                  Miami                     FL
62870   2C4RDGEG9KR538084   Chrysler       GR                  BOSTON                    MA
62871   2C4RDGEG9KR538103   Chrysler       GR                  BOSTON                    MA
62872   2C4RDGEG9KR538117   Chrysler       GR                  ORLANDO                   FL
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62873   2C4RDGEG9KR538134   Chrysler       GR                  FORT MYERS                FL
62874   2C4RDGEG9KR538148   Chrysler       GR                  WEST PALM BEACH           FL
62875   2C4RDGEG9KR538179   Chrysler       GR                  ORLANDO                   FL
62876   2C4RDGEG9KR538229   Chrysler       GR                  TAMPA                     FL
62877   2C4RDGEG9KR538232   Chrysler       GR                  TAMPA                     US
62878   2C4RDGEG9KR538246   Chrysler       GR                  Miami                     FL
62879   2C4RDGEG9KR538294   Chrysler       GR                  MIAMI                     FL
62880   2C4RDGEG9KR538313   Chrysler       GR                  Miami                     FL
62881   2C4RDGEG9KR538327   Chrysler       GR                  TAMPA                     FL
62882   2C4RDGEG9KR538344   Chrysler       GR                  North Dighton             MA
62883   2C4RDGEG9KR538361   Chrysler       GR                  RALIEGH                   NC
62884   2C4RDGEG9KR538389   Chrysler       GR                  MOBILE                    A
62885   2C4RDGEG9KR556357   Chrysler       GR                  ROCHESTER                 NY
62886   2C4RDGEG9KR556360   Chrysler       GR                  WEST PALM BEACH           FL
62887   2C4RDGEG9KR556374   Chrysler       GR                  ORLANDO                   FL
62888   2C4RDGEG9KR556391   Chrysler       GR                  Hebron                    KY
62889   2C4RDGEG9KR556407   Chrysler       GR                  ORLANDO                   FL
62890   2C4RDGEG9KR556438   Chrysler       GR                  BOSTON                    MA
62891   2C4RDGEG9KR556441   Chrysler       GR                  ORLANDO                   FL
62892   2C4RDGEG9KR556469   Chrysler       GR                  PITTSBURGH                PA
62893   2C4RDGEG9KR567844   Chrysler       GR                  SAINT PAUL                MN
62894   2C4RDGEG9KR567861   Chrysler       GR                  SACRAMENTO                CA
62895   2C4RDGEG9KR567908   Chrysler       GR                  Slidell                   LA
62896   2C4RDGEG9KR567911   Chrysler       GR                  TAMPA                     FL
62897   2C4RDGEG9KR567939   Chrysler       GR                  ORLANDO                   FL
62898   2C4RDGEG9KR567973   Chrysler       GR                  Manheim                   PA
62899   2C4RDGEG9KR568007   Chrysler       GR                  SALT LAKE CITY            US
62900   2C4RDGEG9KR568010   Chrysler       GR                  SAN DIEGO                 CA
62901   2C4RDGEG9KR570856   Chrysler       GR                  MIAMI                     FL
62902   2C4RDGEG9KR570940   Chrysler       GR                  LAS VEGAS                 NV
62903   2C4RDGEG9KR570968   Chrysler       GR                  Fontana                   CA
62904   2C4RDGEG9KR570985   Chrysler       GR                  TAMPA                     FL
62905   2C4RDGEG9KR571005   Chrysler       GR                  ORLANDO                   FL
62906   2C4RDGEG9KR571022   Chrysler       GR                  TAMPA                     FL
62907   2C4RDGEG9KR571053   Chrysler       GR                  JACKSONVILLE              FL
62908   2C4RDGEG9KR571084   Chrysler       GR                  Atlanta                   GA
62909   2C4RDGEG9KR571134   Chrysler       GR                  FORT MYERS                FL
62910   2C4RDGEG9KR571148   Chrysler       GR                  ORLANDO                   FL
62911   2C4RDGEG9KR571151   Chrysler       GR                  ORLANDO                   FL
62912   2C4RDGEG9KR571165   Chrysler       GR                  ORLANDO                   FL
62913   2C4RDGEG9KR571179   Chrysler       GR                  SAN DIEGO                 CA
62914   2C4RDGEG9KR571196   Chrysler       GR                  STERLING                  VA
62915   2C4RDGEG9KR571215   Chrysler       GR                  SARASOTA                  FL
62916   2C4RDGEG9KR571229   Chrysler       GR                  MIAMI                     FL
62917   2C4RDGEG9KR571246   Chrysler       GR                  KNOXVILLE                 TN
62918   2C4RDGEG9KR571263   Chrysler       GR                  TAMPA                     FL
62919   2C4RDGEG9KR571294   Chrysler       GR                  NEW BERN                  NC
62920   2C4RDGEG9KR571313   Chrysler       GR                  TAMPA                     FL
62921   2C4RDGEG9KR571327   Chrysler       GR                  WHITE PLAINS              NY
62922   2C4RDGEG9KR571392   Chrysler       GR                  LAS VEGAS                 NV
62923   2C4RDGEG9KR571408   Chrysler       GR                  Bensalem                  PA
62924   2C4RDGEG9KR571425   Chrysler       GR                  SARASOTA                  FL
62925   2C4RDGEG9KR571473   Chrysler       GR                  HOUSTON                   TX
62926   2C4RDGEG9KR577905   Chrysler       GR                  Atlanta                   GA
62927   2C4RDGEG9KR577919   Chrysler       GR                  ORLANDO                   FL
62928   2C4RDGEG9KR577953   Chrysler       GR                  FORT LAUDERDALE           FL
62929   2C4RDGEG9KR577998   Chrysler       GR                  Miami                     FL
62930   2C4RDGEG9KR578035   Chrysler       GR                  LOUISVILLE                KY
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62931   2C4RDGEG9KR578049   Chrysler       GR                  PENSACOLA                 FL
62932   2C4RDGEG9KR578052   Chrysler       GR                  BIRMINGHAM                AL
62933   2C4RDGEG9KR591030   Chrysler       GR                  SAN ANTONIO               TX
62934   2C4RDGEG9KR594459   Chrysler       GR                  SAINT PAUL                MN
62935   2C4RDGEG9KR594462   Chrysler       GR                  DES MOINES                IA
62936   2C4RDGEG9KR617075   Chrysler       GR                  PHOENIX                   AZ
62937   2C4RDGEG9KR617870   Chrysler       GR                  Denver                    CO
62938   2C4RDGEG9KR617979   Chrysler       GR                  KNOXVILLE                 TN
62939   2C4RDGEG9KR617982   Chrysler       GR                  PORTLAND                  OR
62940   2C4RDGEG9KR618016   Chrysler       GR                  JACKSONVILLE              FL
62941   2C4RDGEG9KR618064   Chrysler       GR                  KNOXVILLE                 TN
62942   2C4RDGEG9KR618128   Chrysler       GR                  Riverside                 CA
62943   2C4RDGEG9KR618176   Chrysler       GR                  DALLAS                    TX
62944   2C4RDGEG9KR618243   Chrysler       GR                  ORLANDO                   FL
62945   2C4RDGEG9KR630697   Chrysler       GR                  ROSEVILLE                 CA
62946   2C4RDGEG9KR630831   Chrysler       GR                  FORT MYERS                FL
62947   2C4RDGEG9KR630926   Chrysler       GR                  WEST PALM BEACH           FL
62948   2C4RDGEG9KR630960   Chrysler       GR                  SOUTHEAST DST OFFC        OK
62949   2C4RDGEG9KR631042   Chrysler       GR                  MARIETTA                  GA
62950   2C4RDGEG9KR631073   Chrysler       GR                  Fontana                   CA
62951   2C4RDGEG9KR631106   Chrysler       GR                  SAN ANTONIO               TX
62952   2C4RDGEG9KR634023   Chrysler       GR                  ORLANDO                   FL
62953   2C4RDGEG9KR634068   Chrysler       GR                  DALLAS                    TX
62954   2C4RDGEG9KR636919   Chrysler       GR                  Memphis                   TN
62955   2C4RDGEG9KR636922   Chrysler       GR                  White Plains              NY
62956   2C4RDGEG9KR637035   Chrysler       GR                  Kansas City               MO
62957   2C4RDGEG9KR640484   Chrysler       GR                  SANTA ANA                 CA
62958   2C4RDGEG9KR640503   Chrysler       GR                  Salt Lake City            UT
62959   2C4RDGEG9KR640579   Chrysler       GR                  Newark                    NJ
62960   2C4RDGEG9KR640632   Chrysler       GR                  GREENSBORO                NC
62961   2C4RDGEG9KR640663   Chrysler       GR                  MARIETTA                  GA
62962   2C4RDGEG9KR640680   Chrysler       GR                  LOS ANGELES               CA
62963   2C4RDGEG9KR640873   Chrysler       GR                  ATLANTA                   GA
62964   2C4RDGEG9KR640887   Chrysler       GR                  Salt Lake City            UT
62965   2C4RDGEG9KR640890   Chrysler       GR                  Atlanta                   GA
62966   2C4RDGEG9KR640923   Chrysler       GR                  PALM SPRINGS              CA
62967   2C4RDGEG9KR640937   Chrysler       GR                  KNOXVILLE                 TN
62968   2C4RDGEG9KR640968   Chrysler       GR                  DETROIT                   MI
62969   2C4RDGEG9KR640985   Chrysler       GR                  MILWAUKEE                 WI
62970   2C4RDGEG9KR641022   Chrysler       GR                  Atlanta                   GA
62971   2C4RDGEG9KR641053   Chrysler       GR                  AUSTIN                    TX
62972   2C4RDGEG9KR641098   Chrysler       GR                  Morrisville               NC
62973   2C4RDGEG9KR641120   Chrysler       GR                  DENVER                    CO
62974   2C4RDGEG9KR641182   Chrysler       GR                  ALLENTOWN                 US
62975   2C4RDGEG9KR641232   Chrysler       GR                  PORTLAND                  OR
62976   2C4RDGEG9KR641392   Chrysler       GR                  Shreveport                LA
62977   2C4RDGEG9KR641523   Chrysler       GR                  LAS VEGAS                 NV
62978   2C4RDGEG9KR641537   Chrysler       GR                  TULSA                     OK
62979   2C4RDGEG9KR645975   Chrysler       GR                  Cleveland                 OH
62980   2C4RDGEG9KR646026   Chrysler       GR                  Slidell                   LA
62981   2C4RDGEG9KR646074   Chrysler       GR                  KENNER                    LA
62982   2C4RDGEG9KR646088   Chrysler       GR                  NEW YORK CITY             NY
62983   2C4RDGEG9KR646091   Chrysler       GR                  ELMHURST                  IL
62984   2C4RDGEG9KR646107   Chrysler       GR                  MEMPHIS                   TN
62985   2C4RDGEG9KR646110   Chrysler       GR                  CHICAGO                   IL
62986   2C4RDGEG9KR646124   Chrysler       GR                  PHOENIX                   AZ
62987   2C4RDGEG9KR646138   Chrysler       GR                  LAS VEGAS                 NV
62988   2C4RDGEG9KR646141   Chrysler       GR                  LOUISVILLE                KY
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62989   2C4RDGEG9KR646169   Chrysler       GR                  North Dighton             MA
62990   2C4RDGEG9KR646172   Chrysler       GR                  SYRACUSE                  NY
62991   2C4RDGEG9KR646186   Chrysler       GR                  SAN ANTONIO               TX
62992   2C4RDGEG9KR646222   Chrysler       GR                  SARASOTA                  FL
62993   2C4RDGEG9KR646236   Chrysler       GR                  BROOKLYN                  NY
62994   2C4RDGEG9KR646270   Chrysler       GR                  Atlanta                   GA
62995   2C4RDGEG9KR646317   Chrysler       GR                  BOSTON                    MA
62996   2C4RDGEG9KR646348   Chrysler       GR                  PHILADELPHIA              PA
62997   2C4RDGEG9KR646379   Chrysler       GR                  SAN DIEGO                 CA
62998   2C4RDGEG9KR658273   Chrysler       GR                  Salt Lake City            UT
62999   2C4RDGEG9KR658340   Chrysler       GR                  DETROIT                   MI
63000   2C4RDGEG9KR658354   Chrysler       GR                  ATLANTA                   GA
63001   2C4RDGEG9KR658371   Chrysler       GR                  CHICAGO                   IL
63002   2C4RDGEG9KR658385   Chrysler       GR                  ATLANTA                   GA
63003   2C4RDGEG9KR658399   Chrysler       GR                  JACKSON                   MS
63004   2C4RDGEG9KR658418   Chrysler       GR                  BIRMINGHAM                AL
63005   2C4RDGEG9KR658452   Chrysler       GR                  JACKSON                   MS
63006   2C4RDGEG9KR658466   Chrysler       GR                  WEST COLUMBIA             SC
63007   2C4RDGEG9KR658483   Chrysler       GR                  ONTARIO                   CA
63008   2C4RDGEG9KR658502   Chrysler       GR                  TAMPA                     FL
63009   2C4RDGEG9KR658516   Chrysler       GR                  SAINT PAUL                MN
63010   2C4RDGEG9KR658600   Chrysler       GR                  FORT MYERS                FL
63011   2C4RDGEG9KR658614   Chrysler       GR                  ONTARIO                   CA
63012   2C4RDGEG9KR658743   Chrysler       GR                  SOUTH BURLINGTO           VT
63013   2C4RDGEG9KR658757   Chrysler       GR                  WHITE PLAINS              NY
63014   2C4RDGEG9KR658760   Chrysler       GR                  RICHMOND                  VA
63015   2C4RDGEG9KR658774   Chrysler       GR                  SARASOTA                  FL
63016   2C4RDGEG9KR670021   Chrysler       GR                  NASHVILLE                 TN
63017   2C4RDGEG9KR670035   Chrysler       GR                  GRAND RAPIDS              MI
63018   2C4RDGEG9KR670066   Chrysler       GR                  SAN DIEGO                 CA
63019   2C4RDGEG9KR670083   Chrysler       GR                  ATLANTA                   GA
63020   2C4RDGEG9KR670200   Chrysler       GR                  FORT MYERS                FL
63021   2C4RDGEG9KR670245   Chrysler       GR                  DALLAS                    TX
63022   2C4RDGEG9KR670262   Chrysler       GR                  Hebron                    KY
63023   2C4RDGEG9KR670293   Chrysler       GR                  Tampa                     FL
63024   2C4RDGEG9KR670326   Chrysler       GR                  Chicago                   IL
63025   2C4RDGEG9KR670357   Chrysler       GR                  Warr Acres                OK
63026   2C4RDGEG9KR670374   Chrysler       GR                  Tampa                     FL
63027   2C4RDGEG9KR670410   Chrysler       GR                  MIAMI                     FL
63028   2C4RDGEG9KR670424   Chrysler       GR                  EULESS                    TX
63029   2C4RDGEG9KR670438   Chrysler       GR                  DETROIT                   MI
63030   2C4RDGEG9KR670441   Chrysler       GR                  CHICAGO                   IL
63031   2C4RDGEG9KR670522   Chrysler       GR                  Atlanta                   GA
63032   2C4RDGEG9KR670570   Chrysler       GR                  CLEVELAND                 OH
63033   2C4RDGEG9KR670598   Chrysler       GR                  PHILADELPHIA              PA
63034   2C4RDGEG9KR670617   Chrysler       GR                  Reno                      NV
63035   2C4RDGEG9KR670682   Chrysler       GR                  WARWICK                   RI
63036   2C4RDGEG9KR670729   Chrysler       GR                  SAN ANTONIO               TX
63037   2C4RDGEG9KR673775   Chrysler       GR                  HARTFORD                  CT
63038   2C4RDGEG9KR673811   Chrysler       GR                  RALIEGH                   NC
63039   2C4RDGEG9KR673825   Chrysler       GR                  Cedar Rapids              IA
63040   2C4RDGEG9KR676014   Chrysler       GR                  DETROIT                   MI
63041   2C4RDGEG9KR676059   Chrysler       GR                  SAINT PAUL                MN
63042   2C4RDGEG9KR676062   Chrysler       GR                  CHARLESTON                WV
63043   2C4RDGEG9KR676076   Chrysler       GR                  OMAHA                     NE
63044   2C4RDGEG9KR682041   Chrysler       GR                  Hamilton                  OH
63045   2C4RDGEG9KR760088   Chrysler       GR                  Austin                    TX
63046   2C4RDGEG9KR764318   Chrysler       GR                  San Diego                 CA
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63047   2C4RDGEG9KR764772   Chrysler       GR                  CLARKSVILLE               IN
63048   2C4RDGEG9KR764867   Chrysler       GR                  Warr Acres                OK
63049   2C4RDGEG9KR769034   Chrysler       GR                  ROSEVILLE                 CA
63050   2C4RDGEG9KR769423   Chrysler       GR                  FORT MYERS                FL
63051   2C4RDGEGXJR140574   Chrysler       GR                  Estero                    FL
63052   2C4RDGEGXJR140610   Chrysler       GR                  WEST PALM BEACH           FL
63053   2C4RDGEGXJR140655   Chrysler       GR                  DAYTONA BEACH             FL
63054   2C4RDGEGXJR143328   Chrysler       GR                  HOUSTON                   TX
63055   2C4RDGEGXJR145578   Chrysler       GR                  Rio Linda                 CA
63056   2C4RDGEGXJR150246   Chrysler       GR                  HILO                      HI
63057   2C4RDGEGXJR150263   Chrysler       GR                  HILO                      HI
63058   2C4RDGEGXJR150277   Chrysler       GR                  LIHUE AP KAUAI            HI
63059   2C4RDGEGXJR150294   Chrysler       GR                  Lihue                     HI
63060   2C4RDGEGXJR150344   Chrysler       GR                  KAHULUI                   HI
63061   2C4RDGEGXJR150389   Chrysler       GR                  North Las Vegas           NV
63062   2C4RDGEGXJR195347   Chrysler       GR                  FORT MYERS                FL
63063   2C4RDGEGXJR195364   Chrysler       GR                  HILO                      HI
63064   2C4RDGEGXJR195378   Chrysler       GR                  HILO                      HI
63065   2C4RDGEGXJR195381   Chrysler       GR                  HILO                      HI
63066   2C4RDGEGXJR195400   Chrysler       GR                  HILO                      HI
63067   2C4RDGEGXJR196143   Chrysler       GR                  KAILUA‐KONA               HI
63068   2C4RDGEGXJR196188   Chrysler       GR                  HONOLULU                  HI
63069   2C4RDGEGXJR205035   Chrysler       GR                  DAYTONA BEACH             FL
63070   2C4RDGEGXJR205052   Chrysler       GR                  North Dighton             MA
63071   2C4RDGEGXJR213829   Chrysler       GR                  MIAMI                     FL
63072   2C4RDGEGXJR237967   Chrysler       GR                  LAS VEGAS                 NV
63073   2C4RDGEGXJR238066   Chrysler       GR                  MIAMI                     FL
63074   2C4RDGEGXJR254123   Chrysler       GR                  FAYETTEVILLE              GA
63075   2C4RDGEGXJR254137   Chrysler       GR                  San Diego                 CA
63076   2C4RDGEGXJR254266   Chrysler       GR                  Bensalem                  PA
63077   2C4RDGEGXJR254400   Chrysler       GR                  North Dighton             MA
63078   2C4RDGEGXJR254414   Chrysler       GR                  DENVER                    CO
63079   2C4RDGEGXJR254459   Chrysler       GR                  PHOENIX                   AZ
63080   2C4RDGEGXJR254607   Chrysler       GR                  Carleton                  MI
63081   2C4RDGEGXJR254638   Chrysler       GR                  ORLANDO                   FL
63082   2C4RDGEGXJR271715   Chrysler       GR                  SAINT LOUIS               MO
63083   2C4RDGEGXJR296064   Chrysler       GR                  Latham                    NY
63084   2C4RDGEGXJR323781   Chrysler       GR                  DAYTONA BEACH             FL
63085   2C4RDGEGXJR334571   Chrysler       GR                  ORLANDO                   FL
63086   2C4RDGEGXJR334585   Chrysler       GR                  EULESS                    TX
63087   2C4RDGEGXJR334604   Chrysler       GR                  WEST PALM BEACH           FL
63088   2C4RDGEGXJR334635   Chrysler       GR                  Ventura                   CA
63089   2C4RDGEGXJR334649   Chrysler       GR                  GRAND RAPIDS              MI
63090   2C4RDGEGXJR334652   Chrysler       GR                  Fontana                   CA
63091   2C4RDGEGXJR334750   Chrysler       GR                  TAMPA                     FL
63092   2C4RDGEGXJR340922   Chrysler       GR                  Teterboro                 NJ
63093   2C4RDGEGXKR533086   Chrysler       GR                  RICHMOND                  VA
63094   2C4RDGEGXKR533105   Chrysler       GR                  HOUSTON                   TX
63095   2C4RDGEGXKR533556   Chrysler       GR                  SAN DIEGO                 CA
63096   2C4RDGEGXKR533573   Chrysler       GR                  LOS ANGELES               CA
63097   2C4RDGEGXKR533587   Chrysler       GR                  KANSAS CITY               MO
63098   2C4RDGEGXKR533606   Chrysler       GR                  SALT LAKE CITY            US
63099   2C4RDGEGXKR533623   Chrysler       GR                  LOS ANGELES               CA
63100   2C4RDGEGXKR533637   Chrysler       GR                  TUCSON                    AZ
63101   2C4RDGEGXKR533668   Chrysler       GR                  WARWICK                   RI
63102   2C4RDGEGXKR533685   Chrysler       GR                  KANSAS CITY               MO
63103   2C4RDGEGXKR533704   Chrysler       GR                  NEWPORT BEACH             CA
63104   2C4RDGEGXKR533752   Chrysler       GR                  LAS VEGAS                 NV
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63105   2C4RDGEGXKR533766   Chrysler       GR                  TAMPA                     FL
63106   2C4RDGEGXKR533833   Chrysler       GR                  PHOENIX                   AZ
63107   2C4RDGEGXKR533850   Chrysler       GR                  LAS VEGAS                 NV
63108   2C4RDGEGXKR533864   Chrysler       GR                  SAN DIEGO                 US
63109   2C4RDGEGXKR533881   Chrysler       GR                  SAN DIEGO                 CA
63110   2C4RDGEGXKR533895   Chrysler       GR                  ONTARIO                   CA
63111   2C4RDGEGXKR533900   Chrysler       GR                  LAS VEGAS                 NV
63112   2C4RDGEGXKR533928   Chrysler       GR                  STERLING                  VA
63113   2C4RDGEGXKR533959   Chrysler       GR                  SEATTLE                   WA
63114   2C4RDGEGXKR533976   Chrysler       GR                  BURBANK                   CA
63115   2C4RDGEGXKR533993   Chrysler       GR                  TUCSON                    AZ
63116   2C4RDGEGXKR534013   Chrysler       GR                  BOSTON                    MA
63117   2C4RDGEGXKR534027   Chrysler       GR                  San Diego                 CA
63118   2C4RDGEGXKR534058   Chrysler       GR                  Hayward                   CA
63119   2C4RDGEGXKR534089   Chrysler       GR                  SAN DIEGO                 CA
63120   2C4RDGEGXKR534092   Chrysler       GR                  NEW BERN                  NC
63121   2C4RDGEGXKR534108   Chrysler       GR                  LAS VEGAS                 NV
63122   2C4RDGEGXKR534187   Chrysler       GR                  LOS ANGELES               CA
63123   2C4RDGEGXKR534206   Chrysler       GR                  SACRAMENTO                CA
63124   2C4RDGEGXKR534223   Chrysler       GR                  PHOENIX                   AZ
63125   2C4RDGEGXKR534240   Chrysler       GR                  PALM SPRINGS              CA
63126   2C4RDGEGXKR534335   Chrysler       GR                  SAN JOSE                  CA
63127   2C4RDGEGXKR534349   Chrysler       GR                  Hamilton                  OH
63128   2C4RDGEGXKR534352   Chrysler       GR                  FORT MYERS                FL
63129   2C4RDGEGXKR534366   Chrysler       GR                  PHOENIX                   AZ
63130   2C4RDGEGXKR534383   Chrysler       GR                  PITTSBURGH                PA
63131   2C4RDGEGXKR534397   Chrysler       GR                  Stockton                  CA
63132   2C4RDGEGXKR534416   Chrysler       GR                  FORT MYERS                FL
63133   2C4RDGEGXKR534447   Chrysler       GR                  TAMPA                     US
63134   2C4RDGEGXKR534495   Chrysler       GR                  CHARLOTTE                 NC
63135   2C4RDGEGXKR534531   Chrysler       GR                  Davie                     FL
63136   2C4RDGEGXKR534545   Chrysler       GR                  ORLANDO                   FL
63137   2C4RDGEGXKR534559   Chrysler       GR                  DETROIT                   MI
63138   2C4RDGEGXKR534562   Chrysler       GR                  FORT LAUDERDALE           FL
63139   2C4RDGEGXKR534576   Chrysler       GR                  WETUMPKA                  AL
63140   2C4RDGEGXKR534593   Chrysler       GR                  AUGUSTA                   GA
63141   2C4RDGEGXKR534609   Chrysler       GR                  FORT LAUDERDALE           FL
63142   2C4RDGEGXKR534626   Chrysler       GR                  FORT LAUDERDALE           FL
63143   2C4RDGEGXKR534657   Chrysler       GR                  WEST PALM BEACH           FL
63144   2C4RDGEGXKR534660   Chrysler       GR                  SARASOTA                  FL
63145   2C4RDGEGXKR534688   Chrysler       GR                  TAMPA                     FL
63146   2C4RDGEGXKR534691   Chrysler       GR                  STERLING                  VA
63147   2C4RDGEGXKR534707   Chrysler       GR                  Tolleson                  AZ
63148   2C4RDGEGXKR534710   Chrysler       GR                  LUBBOCK                   TX
63149   2C4RDGEGXKR534724   Chrysler       GR                  JACKSONVILLE              FL
63150   2C4RDGEGXKR534741   Chrysler       GR                  BRONX                     NY
63151   2C4RDGEGXKR534769   Chrysler       GR                  FORT MYERS                FL
63152   2C4RDGEGXKR534772   Chrysler       GR                  FORT LAUDERDALE           FL
63153   2C4RDGEGXKR534786   Chrysler       GR                  TAMPA                     FL
63154   2C4RDGEGXKR534819   Chrysler       GR                  DENVER                    CO
63155   2C4RDGEGXKR534853   Chrysler       GR                  WEST PALM BEACH           FL
63156   2C4RDGEGXKR534870   Chrysler       GR                  Winston‐Salem             NC
63157   2C4RDGEGXKR534884   Chrysler       GR                  ORLANDO                   FL
63158   2C4RDGEGXKR534917   Chrysler       GR                  ORLANDO                   FL
63159   2C4RDGEGXKR534920   Chrysler       GR                  ROCHESTER                 NY
63160   2C4RDGEGXKR534934   Chrysler       GR                  ORLANDO                   FL
63161   2C4RDGEGXKR534948   Chrysler       GR                  SAINT PAUL                MN
63162   2C4RDGEGXKR534951   Chrysler       GR                  WEST COLUMBIA             SC
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63163   2C4RDGEGXKR534996   Chrysler       GR                  Miami                     FL
63164   2C4RDGEGXKR535002   Chrysler       GR                  ORLANDO                   FL
63165   2C4RDGEGXKR535016   Chrysler       GR                  FORT MYERS                FL
63166   2C4RDGEGXKR535033   Chrysler       GR                  MIAMI                     FL
63167   2C4RDGEGXKR535047   Chrysler       GR                  SARASOTA                  FL
63168   2C4RDGEGXKR535050   Chrysler       GR                  SAN JOSE                  CA
63169   2C4RDGEGXKR535064   Chrysler       GR                  CHICAGO                   IL
63170   2C4RDGEGXKR535078   Chrysler       GR                  Roseville                 CA
63171   2C4RDGEGXKR535081   Chrysler       GR                  KENNER                    LA
63172   2C4RDGEGXKR535100   Chrysler       GR                  DALLAS                    TX
63173   2C4RDGEGXKR535114   Chrysler       GR                  Fontana                   CA
63174   2C4RDGEGXKR535159   Chrysler       GR                  ORLANDO                   FL
63175   2C4RDGEGXKR535176   Chrysler       GR                  ORLANDO                   FL
63176   2C4RDGEGXKR535193   Chrysler       GR                  Atlanta                   GA
63177   2C4RDGEGXKR535212   Chrysler       GR                  WEST PALM BEACH           FL
63178   2C4RDGEGXKR535226   Chrysler       GR                  TAMPA                     FL
63179   2C4RDGEGXKR535243   Chrysler       GR                  WEST PALM BEACH           FL
63180   2C4RDGEGXKR535257   Chrysler       GR                  MIAMI                     FL
63181   2C4RDGEGXKR535422   Chrysler       GR                  Philadelphia              PA
63182   2C4RDGEGXKR535436   Chrysler       GR                  SAN ANTONIO               TX
63183   2C4RDGEGXKR535453   Chrysler       GR                  KNOXVILLE                 TN
63184   2C4RDGEGXKR535467   Chrysler       GR                  TAMPA                     FL
63185   2C4RDGEGXKR535484   Chrysler       GR                  ORLANDO                   FL
63186   2C4RDGEGXKR535503   Chrysler       GR                  Miami                     FL
63187   2C4RDGEGXKR535517   Chrysler       GR                  Orlando                   FL
63188   2C4RDGEGXKR535520   Chrysler       GR                  Bridgeton                 MO
63189   2C4RDGEGXKR535548   Chrysler       GR                  SOUTHEAST DST OFFC        OK
63190   2C4RDGEGXKR535551   Chrysler       GR                  MILWAUKEE                 WI
63191   2C4RDGEGXKR535565   Chrysler       GR                  TAMPA                     US
63192   2C4RDGEGXKR535579   Chrysler       GR                  TAMPA                     FL
63193   2C4RDGEGXKR535582   Chrysler       GR                  CHARLOTTE                 NC
63194   2C4RDGEGXKR535646   Chrysler       GR                  FORT MYERS                FL
63195   2C4RDGEGXKR535727   Chrysler       GR                  PALM SPRINGS              CA
63196   2C4RDGEGXKR535730   Chrysler       GR                  DENVER                    CO
63197   2C4RDGEGXKR535761   Chrysler       GR                  NEWPORT BEACH             CA
63198   2C4RDGEGXKR535775   Chrysler       GR                  Leesburg                  VA
63199   2C4RDGEGXKR536599   Chrysler       GR                  LIHUE                     HI
63200   2C4RDGEGXKR537932   Chrysler       GR                  Salt Lake City            UT
63201   2C4RDGEGXKR537977   Chrysler       GR                  Warwick                   RI
63202   2C4RDGEGXKR537980   Chrysler       GR                  LAS VEGAS                 NV
63203   2C4RDGEGXKR538000   Chrysler       GR                  SAN ANTONIO               TX
63204   2C4RDGEGXKR538028   Chrysler       GR                  NEW BERN                  NC
63205   2C4RDGEGXKR538031   Chrysler       GR                  GRAND RAPIDS              MI
63206   2C4RDGEGXKR538045   Chrysler       GR                  LOS ANGELES               CA
63207   2C4RDGEGXKR538062   Chrysler       GR                  LOS ANGELES               CA
63208   2C4RDGEGXKR538076   Chrysler       GR                  RONKONKOMA                NY
63209   2C4RDGEGXKR538143   Chrysler       GR                  WHITE PLAINS              NY
63210   2C4RDGEGXKR538157   Chrysler       GR                  Miami                     FL
63211   2C4RDGEGXKR538160   Chrysler       GR                  ROANOKE                   VA
63212   2C4RDGEGXKR538174   Chrysler       GR                  Orlando                   FL
63213   2C4RDGEGXKR538191   Chrysler       GR                  ALBUQUERQUE               NM
63214   2C4RDGEGXKR538207   Chrysler       GR                  Jacksonville              FL
63215   2C4RDGEGXKR538255   Chrysler       GR                  Manheim                   PA
63216   2C4RDGEGXKR538269   Chrysler       GR                  Parkville                 MD
63217   2C4RDGEGXKR538322   Chrysler       GR                  Tampa                     FL
63218   2C4RDGEGXKR538336   Chrysler       GR                  DALLAS                    TX
63219   2C4RDGEGXKR538353   Chrysler       GR                  ROCHESTER                 NY
63220   2C4RDGEGXKR538367   Chrysler       GR                  REVERE                    MA
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63221   2C4RDGEGXKR556397   Chrysler       GR                  Hapeville                 GA
63222   2C4RDGEGXKR556402   Chrysler       GR                  Hapeville                 GA
63223   2C4RDGEGXKR556433   Chrysler       GR                  MIAMI                     FL
63224   2C4RDGEGXKR556450   Chrysler       GR                  KNOXVILLE                 TN
63225   2C4RDGEGXKR556464   Chrysler       GR                  FORT LAUDERDALE           FL
63226   2C4RDGEGXKR556481   Chrysler       GR                  ORLANDO                   FL
63227   2C4RDGEGXKR567822   Chrysler       GR                  MELROSE PARK              IL
63228   2C4RDGEGXKR567870   Chrysler       GR                  GLASSBORO                 NJ
63229   2C4RDGEGXKR567903   Chrysler       GR                  LOS ANGELES               CA
63230   2C4RDGEGXKR567917   Chrysler       GR                  Torrance                  CA
63231   2C4RDGEGXKR567979   Chrysler       GR                  Longmont                  CO
63232   2C4RDGEGXKR567982   Chrysler       GR                  CHICAGO                   IL
63233   2C4RDGEGXKR568047   Chrysler       GR                  SALT LAKE CITY            US
63234   2C4RDGEGXKR568050   Chrysler       GR                  SACRAMENTO                CA
63235   2C4RDGEGXKR568064   Chrysler       GR                  SALT LAKE CITY            US
63236   2C4RDGEGXKR568078   Chrysler       GR                  BURBANK                   CA
63237   2C4RDGEGXKR568081   Chrysler       GR                  LAS VEGAS                 NV
63238   2C4RDGEGXKR568100   Chrysler       GR                  ORLANDO                   FL
63239   2C4RDGEGXKR570865   Chrysler       GR                  KANSAS CITY               MO
63240   2C4RDGEGXKR570901   Chrysler       GR                  HARTFORD                  CT
63241   2C4RDGEGXKR570929   Chrysler       GR                  TAMPA                     FL
63242   2C4RDGEGXKR570946   Chrysler       GR                  Bridgeton                 MO
63243   2C4RDGEGXKR570977   Chrysler       GR                  LAS VEGAS                 NV
63244   2C4RDGEGXKR570994   Chrysler       GR                  FORT MYERS                FL
63245   2C4RDGEGXKR571000   Chrysler       GR                  WEST PALM BEACH           FL
63246   2C4RDGEGXKR571059   Chrysler       GR                  MIAMI                     FL
63247   2C4RDGEGXKR571062   Chrysler       GR                  ORLANDO                   FL
63248   2C4RDGEGXKR571076   Chrysler       GR                  WEST COLUMBIA             SC
63249   2C4RDGEGXKR571109   Chrysler       GR                  MIAMI                     FL
63250   2C4RDGEGXKR571112   Chrysler       GR                  Atlanta                   GA
63251   2C4RDGEGXKR571157   Chrysler       GR                  BALTIMORE                 MD
63252   2C4RDGEGXKR571174   Chrysler       GR                  TAMPA                     FL
63253   2C4RDGEGXKR571188   Chrysler       GR                  Manheim                   PA
63254   2C4RDGEGXKR571191   Chrysler       GR                  WEST PALM BEACH           FL
63255   2C4RDGEGXKR571224   Chrysler       GR                  Miami                     FL
63256   2C4RDGEGXKR571238   Chrysler       GR                  ORLANDO                   FL
63257   2C4RDGEGXKR571269   Chrysler       GR                  ORLANDO                   FL
63258   2C4RDGEGXKR571286   Chrysler       GR                  TAMPA                     US
63259   2C4RDGEGXKR571305   Chrysler       GR                  FORT MYERS                FL
63260   2C4RDGEGXKR571319   Chrysler       GR                  ORLANDO                   FL
63261   2C4RDGEGXKR571322   Chrysler       GR                  SAN DIEGO                 CA
63262   2C4RDGEGXKR571353   Chrysler       GR                  FORT MYERS                FL
63263   2C4RDGEGXKR571417   Chrysler       GR                  MIAMI                     FL
63264   2C4RDGEGXKR571448   Chrysler       GR                  KNOXVILLE                 TN
63265   2C4RDGEGXKR571479   Chrysler       GR                  BALTIMORE                 MD
63266   2C4RDGEGXKR571532   Chrysler       GR                  SANTA ANA                 CA
63267   2C4RDGEGXKR577833   Chrysler       GR                  LAS VEGAS                 NV
63268   2C4RDGEGXKR577878   Chrysler       GR                  BALTIMORE                 MD
63269   2C4RDGEGXKR577881   Chrysler       GR                  MIAMI                     FL
63270   2C4RDGEGXKR577895   Chrysler       GR                  FORT MYERS                FL
63271   2C4RDGEGXKR577900   Chrysler       GR                  DAYTONA BEACH             FL
63272   2C4RDGEGXKR577914   Chrysler       GR                  ORLANDO                   FL
63273   2C4RDGEGXKR577928   Chrysler       GR                  COLLEGE PARK              GA
63274   2C4RDGEGXKR577931   Chrysler       GR                  Hebron                    KY
63275   2C4RDGEGXKR577945   Chrysler       GR                  ORLANDO                   FL
63276   2C4RDGEGXKR577959   Chrysler       GR                  ORLANDO                   FL
63277   2C4RDGEGXKR577976   Chrysler       GR                  FORT MYERS                FL
63278   2C4RDGEGXKR577993   Chrysler       GR                  NEW ORLEANS               LA
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63279   2C4RDGEGXKR578013   Chrysler       GR                  ORLANDO                   FL
63280   2C4RDGEGXKR578027   Chrysler       GR                  KNOXVILLE                 TN
63281   2C4RDGEGXKR578030   Chrysler       GR                  WEST PALM BEACH           FL
63282   2C4RDGEGXKR578058   Chrysler       GR                  TAMPA                     FL
63283   2C4RDGEGXKR616954   Chrysler       GR                  SANTA ANA                 CA
63284   2C4RDGEGXKR616985   Chrysler       GR                  KENNER                    LA
63285   2C4RDGEGXKR617005   Chrysler       GR                  STERLING                  VA
63286   2C4RDGEGXKR617019   Chrysler       GR                  TAMPA                     FL
63287   2C4RDGEGXKR617022   Chrysler       GR                  WEST PALM BEACH           FL
63288   2C4RDGEGXKR617778   Chrysler       GR                  TAMPA                     FL
63289   2C4RDGEGXKR617781   Chrysler       GR                  CHARLESTON                WV
63290   2C4RDGEGXKR617974   Chrysler       GR                  GAINESVILLE               FL
63291   2C4RDGEGXKR630689   Chrysler       GR                  WARWICK                   RI
63292   2C4RDGEGXKR630806   Chrysler       GR                  SAN JOSE                  CA
63293   2C4RDGEGXKR630837   Chrysler       GR                  Florissant                MO
63294   2C4RDGEGXKR630854   Chrysler       GR                  Dallas                    TX
63295   2C4RDGEGXKR630868   Chrysler       GR                  ORLANDO                   FL
63296   2C4RDGEGXKR630885   Chrysler       GR                  CLEVELAND                 OH
63297   2C4RDGEGXKR630918   Chrysler       GR                  North Dighton             MA
63298   2C4RDGEGXKR630935   Chrysler       GR                  JACKSONVILLE              FL
63299   2C4RDGEGXKR631017   Chrysler       GR                  TALLAHASSEE               F
63300   2C4RDGEGXKR631082   Chrysler       GR                  DALLAS                    TX
63301   2C4RDGEGXKR634063   Chrysler       GR                  Hartford                  CT
63302   2C4RDGEGXKR637030   Chrysler       GR                  Nashville                 TN
63303   2C4RDGEGXKR637044   Chrysler       GR                  GYPSUM                    CO
63304   2C4RDGEGXKR637061   Chrysler       GR                  HOUSTON                   TX
63305   2C4RDGEGXKR637075   Chrysler       GR                  WEST PALM BEACH           FL
63306   2C4RDGEGXKR640350   Chrysler       GR                  Downey                    CA
63307   2C4RDGEGXKR640400   Chrysler       GR                  LAS VEGAS                 NV
63308   2C4RDGEGXKR640476   Chrysler       GR                  KNOXVILLE                 TN
63309   2C4RDGEGXKR640557   Chrysler       GR                  SANTA BARBARA             CA
63310   2C4RDGEGXKR640591   Chrysler       GR                  SAINT LOUIS               MO
63311   2C4RDGEGXKR640610   Chrysler       GR                  SAN DIEGO                 CA
63312   2C4RDGEGXKR640686   Chrysler       GR                  HOUSTON                   TX
63313   2C4RDGEGXKR640784   Chrysler       GR                  Beaverton                 OR
63314   2C4RDGEGXKR640896   Chrysler       GR                  COLUMBUS                  OH
63315   2C4RDGEGXKR641028   Chrysler       GR                  Oklahoma City             OK
63316   2C4RDGEGXKR641031   Chrysler       GR                  ORLANDO                   FL
63317   2C4RDGEGXKR641059   Chrysler       GR                  Austin                    TX
63318   2C4RDGEGXKR641126   Chrysler       GR                  MIAMI                     FL
63319   2C4RDGEGXKR641188   Chrysler       GR                  BURBANK                   CA
63320   2C4RDGEGXKR641272   Chrysler       GR                  Fontana                   CA
63321   2C4RDGEGXKR641384   Chrysler       GR                  ORLANDO                   FL
63322   2C4RDGEGXKR641448   Chrysler       GR                  MILWAUKEE                 WI
63323   2C4RDGEGXKR641451   Chrysler       GR                  TAMPA                     FL
63324   2C4RDGEGXKR645967   Chrysler       GR                  Stockton                  CA
63325   2C4RDGEGXKR645998   Chrysler       GR                  BOSTON                    MA
63326   2C4RDGEGXKR646052   Chrysler       GR                  GRAND RAPIDS              MI
63327   2C4RDGEGXKR646083   Chrysler       GR                  JACKSON                   MS
63328   2C4RDGEGXKR646102   Chrysler       GR                  MANCHESTER                US
63329   2C4RDGEGXKR646133   Chrysler       GR                  KNOXVILLE                 TN
63330   2C4RDGEGXKR646147   Chrysler       GR                  KENNER                    LA
63331   2C4RDGEGXKR646150   Chrysler       GR                  STERLING                  VA
63332   2C4RDGEGXKR646164   Chrysler       GR                  MIAMI                     FL
63333   2C4RDGEGXKR646181   Chrysler       GR                  Salt Lake City            UT
63334   2C4RDGEGXKR646200   Chrysler       GR                  SAINT LOUIS               MO
63335   2C4RDGEGXKR646357   Chrysler       GR                  LAS VEGAS                 NV
63336   2C4RDGEGXKR658167   Chrysler       GR                  NEW BERN                  NC
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63337   2C4RDGEGXKR658234   Chrysler       GR                  BLOOMINGTON               IL
63338   2C4RDGEGXKR658279   Chrysler       GR                  CLEVELAND                 OH
63339   2C4RDGEGXKR658296   Chrysler       GR                  LOS ANGELES               CA
63340   2C4RDGEGXKR658315   Chrysler       GR                  LAS VEGAS                 NV
63341   2C4RDGEGXKR658346   Chrysler       GR                  CHICAGO                   IL
63342   2C4RDGEGXKR658380   Chrysler       GR                  LOS ANGELES AP            CA
63343   2C4RDGEGXKR658413   Chrysler       GR                  HOUSTON                   TX
63344   2C4RDGEGXKR658458   Chrysler       GR                  BLOOMINGTON               IL
63345   2C4RDGEGXKR658489   Chrysler       GR                  LUBBOCK                   TX
63346   2C4RDGEGXKR658492   Chrysler       GR                  LOUISVILLE                KY
63347   2C4RDGEGXKR658587   Chrysler       GR                  DALLAS                    TX
63348   2C4RDGEGXKR658623   Chrysler       GR                  Smithtown                 NY
63349   2C4RDGEGXKR658654   Chrysler       GR                  PHOENIX                   AZ
63350   2C4RDGEGXKR658735   Chrysler       GR                  SAINT PAUL                MN
63351   2C4RDGEGXKR658766   Chrysler       GR                  Elkridge                  MD
63352   2C4RDGEGXKR658783   Chrysler       GR                  Tampa                     FL
63353   2C4RDGEGXKR670027   Chrysler       GR                  KNOXVILLE                 TN
63354   2C4RDGEGXKR670030   Chrysler       GR                  RONKONKOMA                NY
63355   2C4RDGEGXKR670058   Chrysler       GR                  BOISE                     ID
63356   2C4RDGEGXKR670075   Chrysler       GR                  LOUISVILLE                KY
63357   2C4RDGEGXKR670125   Chrysler       GR                  INDIANAPOLIS              IN
63358   2C4RDGEGXKR670139   Chrysler       GR                  Memphis                   TN
63359   2C4RDGEGXKR670173   Chrysler       GR                  FRESNO HLE                CA
63360   2C4RDGEGXKR670254   Chrysler       GR                  DETROIT                   MI
63361   2C4RDGEGXKR670268   Chrysler       GR                  SAINT PAUL                MN
63362   2C4RDGEGXKR670271   Chrysler       GR                  DETROIT                   MI
63363   2C4RDGEGXKR670304   Chrysler       GR                  KENNER                    LA
63364   2C4RDGEGXKR670321   Chrysler       GR                  BLOOMINGTON               IL
63365   2C4RDGEGXKR670352   Chrysler       GR                  BLOOMINGTON               IL
63366   2C4RDGEGXKR670433   Chrysler       GR                  Cleveland                 OH
63367   2C4RDGEGXKR670593   Chrysler       GR                  SAINT LOUIS               MO
63368   2C4RDGEGXKR670609   Chrysler       GR                  MELROSE PARK              IL
63369   2C4RDGEGXKR670688   Chrysler       GR                  Atlanta                   GA
63370   2C4RDGEGXKR670691   Chrysler       GR                  ALBUQERQUE                NM
63371   2C4RDGEGXKR670786   Chrysler       GR                  Hebron                    KY
63372   2C4RDGEGXKR670822   Chrysler       GR                  ONTARIO, RIVERSIDE        CA
63373   2C4RDGEGXKR673817   Chrysler       GR                  MEMPHIS                   TN
63374   2C4RDGEGXKR676023   Chrysler       GR                  BUFFALO                   NY
63375   2C4RDGEGXKR676071   Chrysler       GR                  DES MOINES                IA
63376   2C4RDGEGXKR676085   Chrysler       GR                  LOUISVILLE                KY
63377   2C4RDGEGXKR676104   Chrysler       GR                  PHOENIX                   AZ
63378   2C4RDGEGXKR682002   Chrysler       GR                  EGG HARBOR TOWN           NJ
63379   2C4RDGEGXKR682047   Chrysler       GR                  Fontana                   CA
63380   2C4RDGEGXKR682064   Chrysler       GR                  DALLAS                    TX
63381   2C4RDGEGXKR682078   Chrysler       GR                  DES MOINES                IA
63382   2C4RDGEGXKR760200   Chrysler       GR                  SEATTLE                   WA
63383   2C4RDGEGXKR760813   Chrysler       GR                  Baltimore                 MD
63384   2C4RDGEGXKR760844   Chrysler       GR                  BLOOMINGTON               IL
63385   2C4RDGEGXKR764456   Chrysler       GR                  Hebron                    KY
63386   2C4RDGEGXKR764991   Chrysler       GR                  Newark                    NJ
63387   2C4RDGEGXKR765171   Chrysler       GR                  CHICAGO                   IL
63388   2C4RDGEGXKR768961   Chrysler       GR                  Warr Acres                OK
63389   2C4RDGEGXKR769298   Chrysler       GR                  Nashville                 TN
63390   2C4RDGEGXKR769429   Chrysler       GR                  ATLANTA                   GA
63391   2C4RDGEGXKR769544   Chrysler       GR                  COLUMBIA                  SC
63392   2FMGK5C80KBA10225   Ford           FLEX                Salt Lake City            UT
63393   2FMGK5C80KBA10273   Ford           FLEX                SEATAC                    WA
63394   2FMGK5C80KBA10354   Ford           FLEX                Atlanta                   GA
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63395   2FMGK5C80KBA13934   Ford        FLEX                LOS ANGELES               CA
63396   2FMGK5C80KBA13951   Ford        FLEX                LOS ANGELES               CA
63397   2FMGK5C80KBA13965   Ford        FLEX                HOUSTON                   TX
63398   2FMGK5C80KBA13982   Ford        FLEX                San Diego                 CA
63399   2FMGK5C80KBA14002   Ford        FLEX                DALLAS                    TX
63400   2FMGK5C80KBA17336   Ford        FLEX                CHARLOTTE                 NC
63401   2FMGK5C81KBA10332   Ford        FLEX                BALTIMORE                 MD
63402   2FMGK5C81KBA10346   Ford        FLEX                LOS ANGELES               CA
63403   2FMGK5C81KBA13960   Ford        FLEX                LOS ANGELES               CA
63404   2FMGK5C81KBA13988   Ford        FLEX                LOS ANGELES               CA
63405   2FMGK5C81KBA14011   Ford        FLEX                BURBANK                   CA
63406   2FMGK5C81KBA17202   Ford        FLEX                KNOXVILLE                 TN
63407   2FMGK5C81KBA17216   Ford        FLEX                DULUTH                    GA
63408   2FMGK5C81KBA17314   Ford        FLEX                SARASOTA                  FL
63409   2FMGK5C82KBA10257   Ford        FLEX                TUCSON                    AZ
63410   2FMGK5C82KBA10260   Ford        FLEX                Florissant                MO
63411   2FMGK5C82KBA10307   Ford        FLEX                LOUISVILLE                KY
63412   2FMGK5C82KBA10310   Ford        FLEX                FORT MYERS                FL
63413   2FMGK5C82KBA10341   Ford        FLEX                Cerritos                  CA
63414   2FMGK5C82KBA10386   Ford        FLEX                INDIANAPOLIS              IN
63415   2FMGK5C82KBA13997   Ford        FLEX                Salt Lake City            UT
63416   2FMGK5C82KBA17175   Ford        FLEX                CHARLOTTE                 NC
63417   2FMGK5C83KBA10235   Ford        FLEX                Rockville Centr           NY
63418   2FMGK5C83KBA10249   Ford        FLEX                SANTA CLARA               CA
63419   2FMGK5C83KBA10283   Ford        FLEX                OKLAHOMA CITY             OK
63420   2FMGK5C83KBA10364   Ford        FLEX                Atlanta                   GA
63421   2FMGK5C83KBA13927   Ford        FLEX                MONTEREY                  CA
63422   2FMGK5C83KBA13958   Ford        FLEX                SANTA ANA                 CA
63423   2FMGK5C83KBA17184   Ford        FLEX                BURBANK                   CA
63424   2FMGK5C83KBA17198   Ford        FLEX                CLEVELAND                 OH
63425   2FMGK5C83KBA17203   Ford        FLEX                SANFORD                   FL
63426   2FMGK5C83KBA17217   Ford        FLEX                SAN ANTONIO               TX
63427   2FMGK5C83KBA17220   Ford        FLEX                Atlanta                   GA
63428   2FMGK5C84KBA10289   Ford        FLEX                BALTIMORE                 MD
63429   2FMGK5C84KBA10292   Ford        FLEX                DALLAS                    TX
63430   2FMGK5C84KBA10311   Ford        FLEX                Atlanta                   GA
63431   2FMGK5C84KBA10339   Ford        FLEX                SAN DIEGO                 CA
63432   2FMGK5C84KBA10342   Ford        FLEX                Ventura                   CA
63433   2FMGK5C84KBA10373   Ford        FLEX                Orlando                   FL
63434   2FMGK5C84KBA13967   Ford        FLEX                Salt Lake City            UT
63435   2FMGK5C84KBA13970   Ford        FLEX                ONTARIO                   CA
63436   2FMGK5C84KBA13998   Ford        FLEX                BURBANK                   CA
63437   2FMGK5C84KBA17193   Ford        FLEX                SOUTHEAST DST OFFC        OK
63438   2FMGK5C84KBA17209   Ford        FLEX                PORTLAND                  OR
63439   2FMGK5C84KBA34639   Ford        FLEX                FORT LAUDERDALE           FL
63440   2FMGK5C85KBA10365   Ford        FLEX                LOS ANGELES               CA
63441   2FMGK5C85KBA10379   Ford        FLEX                SAN ANTONIO               TX
63442   2FMGK5C85KBA10382   Ford        FLEX                Atlanta                   GA
63443   2FMGK5C85KBA17199   Ford        FLEX                CHICAGO                   IL
63444   2FMGK5C85KBA17221   Ford        FLEX                Denver                    CO
63445   2FMGK5C86KBA09502   Ford        FLEX                Salt Lake City            UT
63446   2FMGK5C86KBA10228   Ford        FLEX                SAN DIEGO                 CA
63447   2FMGK5C86KBA10231   Ford        FLEX                West Bountiful            UT
63448   2FMGK5C86KBA10388   Ford        FLEX                Euless                    TX
63449   2FMGK5C86KBA13923   Ford        FLEX                ONTARIO                   CA
63450   2FMGK5C86KBA13940   Ford        FLEX                LOS ANGELES               CA
63451   2FMGK5C86KBA13985   Ford        FLEX                SAN FRANCISCO             CA
63452   2FMGK5C86KBA13999   Ford        FLEX                LOS ANGELES AP            CA
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63453   2FMGK5C86KBA17194   Ford        FLEX                NEW ORLEANS               LA
63454   2FMGK5C87KBA10240   Ford        FLEX                Albuquerque               NM
63455   2FMGK5C87KBA10271   Ford        FLEX                Pheonix                   AZ
63456   2FMGK5C87KBA10318   Ford        FLEX                DES PLAINES               US
63457   2FMGK5C87KBA10335   Ford        FLEX                ATLANTA                   GA
63458   2FMGK5C87KBA13932   Ford        FLEX                SAN DIEGO                 CA
63459   2FMGK5C87KBA13980   Ford        FLEX                MEDINA                    OH
63460   2FMGK5C87KBA14014   Ford        FLEX                Houston                   TX
63461   2FMGK5C87KBA17205   Ford        FLEX                Winston‐Salem             NC
63462   2FMGK5C87KBA17236   Ford        FLEX                Davie                     FL
63463   2FMGK5C87KBA34621   Ford        FLEX                PALM SPRINGS              CA
63464   2FMGK5C88KBA10263   Ford        FLEX                WOODLAND HILLS            CA
63465   2FMGK5C88KBA10344   Ford        FLEX                Phoenix                   AZ
63466   2FMGK5C88KBA10361   Ford        FLEX                FORT MYERS                FL
63467   2FMGK5C88KBA13969   Ford        FLEX                ONTARIO                   CA
63468   2FMGK5C88KBA13986   Ford        FLEX                SAN DIEGO                 CA
63469   2FMGK5C88KBA17178   Ford        FLEX                Lake Elsinore             CA
63470   2FMGK5C88KBA17200   Ford        FLEX                Manheim                   PA
63471   2FMGK5C88KBA17214   Ford        FLEX                DALLAS                    TX
63472   2FMGK5C88KBA17326   Ford        FLEX                Jacksonville              FL
63473   2FMGK5C89KBA10224   Ford        FLEX                Smithtown                 NY
63474   2FMGK5C89KBA10241   Ford        FLEX                LAS VEGAS                 NV
63475   2FMGK5C89KBA10269   Ford        FLEX                BURBANK                   CA
63476   2FMGK5C89KBA10272   Ford        FLEX                LOS ANGELES               CA
63477   2FMGK5C89KBA10286   Ford        FLEX                FORT MYERS                FL
63478   2FMGK5C89KBA10322   Ford        FLEX                HOUSTON                   TX
63479   2FMGK5C89KBA10336   Ford        FLEX                CHICAGO                   IL
63480   2FMGK5C89KBA13950   Ford        FLEX                ONTARIO                   CA
63481   2FMGK5C89KBA13995   Ford        FLEX                SACRAMENTO                CA
63482   2FMGK5C89KBA17223   Ford        FLEX                HOUSTON                   TX
63483   2FMGK5C89KBA17285   Ford        FLEX                Honolulu                  HI
63484   2FMGK5C8XKBA10250   Ford        FLEX                NEW ORLEANS               LA
63485   2FMGK5C8XKBA10328   Ford        FLEX                MILWAUKEE                 WI
63486   2FMGK5C8XKBA10376   Ford        FLEX                KANSAS CITY               MO
63487   2FMGK5C8XKBA13925   Ford        FLEX                Tolleson                  AZ
63488   2FMGK5C8XKBA13942   Ford        FLEX                LOS ANGELES AP            CA
63489   2FMGK5C8XKBA14010   Ford        FLEX                SAN ANTONIO               TX
63490   2FMGK5C8XKBA17196   Ford        FLEX                Stone Mountain            GA
63491   2FMGK5C8XKBA17232   Ford        FLEX                DALLAS                    TX
63492   2FMPK3J90JBB19377   Ford        EDGE                KAHULUI MAUI              HI
63493   2FMPK3J90JBB67493   Ford        EDGE                Houston                   TX
63494   2FMPK3J90JBC32469   Ford        EDGE                HILO                      HI
63495   2FMPK3J90JBC32486   Ford        EDGE                HILO                      HI
63496   2FMPK3J90JBC32617   Ford        EDGE                PALM SPRINGS              CA
63497   2FMPK3J90JBC32665   Ford        EDGE                DENVER                    CO
63498   2FMPK3J90JBC32696   Ford        EDGE                BURBANK                   CA
63499   2FMPK3J90JBC32732   Ford        EDGE                PHOENIX                   AZ
63500   2FMPK3J90JBC32763   Ford        EDGE                Riverside                 CA
63501   2FMPK3J90JBC32794   Ford        EDGE                Torrance                  CA
63502   2FMPK3J90JBC32844   Ford        EDGE                SACRAMENTO                CA
63503   2FMPK3J90KBB89768   Ford        EDGE                SHREVEPORT                LA
63504   2FMPK3J90KBB89771   Ford        EDGE                SEATAC                    WA
63505   2FMPK3J90KBB89785   Ford        EDGE                Rockville Centr           NY
63506   2FMPK3J90KBB89799   Ford        EDGE                Euless                    TX
63507   2FMPK3J90KBB89995   Ford        EDGE                Euless                    TX
63508   2FMPK3J90KBB90001   Ford        EDGE                OAKLAND                   CA
63509   2FMPK3J90KBB90015   Ford        EDGE                SEATAC                    WA
63510   2FMPK3J90KBB90029   Ford        EDGE                SEA TAC                   WA
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63511   2FMPK3J90KBB90063   Ford         EDGE                SAN JOSE                  CA
63512   2FMPK3J90KBB90130   Ford         EDGE                SACRAMENTO                CA
63513   2FMPK3J90KBB90144   Ford         EDGE                Lexington                 KY
63514   2FMPK3J90KBB90368   Ford         EDGE                SAN FRANCISCO             CA
63515   2FMPK3J90KBC03457   Ford         EDGE                KANSAS CITY               MO
63516   2FMPK3J90KBC03488   Ford         EDGE                Houston                   TX
63517   2FMPK3J90KBC03684   Ford         EDGE                DENVER                    CO
63518   2FMPK3J90KBC03698   Ford         EDGE                PORTLAND                  OR
63519   2FMPK3J90KBC03703   Ford         EDGE                FRESNO                    CA
63520   2FMPK3J90KBC24289   Ford         EDGE                FORT MYERS                FL
63521   2FMPK3J90KBC24308   Ford         EDGE                SPRINGFIELD               VA
63522   2FMPK3J90LBA14907   Ford         EDGE                HOUSTON                   TX
63523   2FMPK3J90LBA14910   Ford         EDGE                KNOXVILLE                 TN
63524   2FMPK3J90LBA14941   Ford         EDGE                OGDENSBURG                NY
63525   2FMPK3J90LBA14986   Ford         EDGE                DALLAS                    TX
63526   2FMPK3J90LBA15023   Ford         EDGE                DALLAS                    TX
63527   2FMPK3J90LBA15037   Ford         EDGE                HOUSTON                   TX
63528   2FMPK3J90LBA15040   Ford         EDGE                HOUSTON                   TX
63529   2FMPK3J90LBA15166   Ford         EDGE                BOSTON                    MA
63530   2FMPK3J90LBA15331   Ford         EDGE                CLARKSVILLE               IN
63531   2FMPK3J90LBA15412   Ford         EDGE                EL PASO                   TX
63532   2FMPK3J90LBA28502   Ford         EDGE                Atlanta                   GA
63533   2FMPK3J90LBA28869   Ford         EDGE                CHATTANOOGA               TN
63534   2FMPK3J90LBA29262   Ford         EDGE                FORT MYERS                FL
63535   2FMPK3J90LBA29472   Ford         EDGE                N. Palm Beach             FL
63536   2FMPK3J90LBA29486   Ford         EDGE                ORLANDO                   FL
63537   2FMPK3J90LBA29519   Ford         EDGE                Atlanta                   GA
63538   2FMPK3J90LBA29567   Ford         EDGE                Florissant                MO
63539   2FMPK3J90LBA29794   Ford         EDGE                PHOENIX                   AZ
63540   2FMPK3J90LBA29987   Ford         EDGE                CHICAGO                   IL
63541   2FMPK3J90LBA30055   Ford         EDGE                BIRMINGHAM                AL
63542   2FMPK3J90LBA45025   Ford         EDGE                LOS ANGELES               CA
63543   2FMPK3J90LBA45090   Ford         EDGE                ORLANDO                   FL
63544   2FMPK3J91HBC27419   Ford         EDGE                Sacramento                CA
63545   2FMPK3J91JBB19338   Ford         EDGE                HILO                      HI
63546   2FMPK3J91JBB19369   Ford         EDGE                TRACY                     CA
63547   2FMPK3J91JBB19419   Ford         EDGE                Lihue                     HI
63548   2FMPK3J91JBB19422   Ford         EDGE                LIHUE                     HI
63549   2FMPK3J91JBB73514   Ford         EDGE                Woodhaven                 MI
63550   2FMPK3J91JBB73528   Ford         EDGE                Florissant                MO
63551   2FMPK3J91JBC32433   Ford         EDGE                Bridgeton                 MO
63552   2FMPK3J91JBC32481   Ford         EDGE                KAILUA KONA               HI
63553   2FMPK3J91JBC32612   Ford         EDGE                Fontana                   CA
63554   2FMPK3J91JBC32710   Ford         EDGE                Amarillo                  TX
63555   2FMPK3J91JBC32741   Ford         EDGE                Fontana                   CA
63556   2FMPK3J91JBC32769   Ford         EDGE                INGLEWOOD                 CA
63557   2FMPK3J91KBB81551   Ford         EDGE                SEATAC                    WA
63558   2FMPK3J91KBB89777   Ford         EDGE                KENNER                    LA
63559   2FMPK3J91KBB90038   Ford         EDGE                SAN DIEGO                 CA
63560   2FMPK3J91KBB90055   Ford         EDGE                FRESNO                    CA
63561   2FMPK3J91KBB90170   Ford         EDGE                MEDINA                    OH
63562   2FMPK3J91KBB90198   Ford         EDGE                NASHVILLE                 TN
63563   2FMPK3J91KBB90475   Ford         EDGE                FRESNO                    CA
63564   2FMPK3J91KBB90623   Ford         EDGE                SEATAC                    WA
63565   2FMPK3J91KBC03497   Ford         EDGE                SEATAC                    WA
63566   2FMPK3J91KBC03726   Ford         EDGE                SACRAMENTO                CA
63567   2FMPK3J91KBC24642   Ford         EDGE                DAYTONA BEACH             FL
63568   2FMPK3J91LBA14947   Ford         EDGE                Irving                    TX
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63569   2FMPK3J91LBA14950   Ford         EDGE                BIRMINGHAM                AL
63570   2FMPK3J91LBA14964   Ford         EDGE                San Antonio               TX
63571   2FMPK3J91LBA14978   Ford         EDGE                DALLAS                    TX
63572   2FMPK3J91LBA14981   Ford         EDGE                SAN JOSE                  CA
63573   2FMPK3J91LBA14995   Ford         EDGE                Warr Acres                OK
63574   2FMPK3J91LBA15029   Ford         EDGE                SAN ANTONIO               TX
63575   2FMPK3J91LBA15418   Ford         EDGE                Warr Acres                OK
63576   2FMPK3J91LBA15421   Ford         EDGE                Warr Acres                OK
63577   2FMPK3J91LBA28489   Ford         EDGE                ALBUQUERQUE               NM
63578   2FMPK3J91LBA28492   Ford         EDGE                Dallas                    TX
63579   2FMPK3J91LBA28508   Ford         EDGE                Atlanta                   GA
63580   2FMPK3J91LBA28511   Ford         EDGE                BLOOMINGTON               IL
63581   2FMPK3J91LBA28525   Ford         EDGE                COLLEGE PARK              GA
63582   2FMPK3J91LBA28699   Ford         EDGE                Hendersonville            TN
63583   2FMPK3J91LBA28704   Ford         EDGE                Harvey                    LA
63584   2FMPK3J91LBA28735   Ford         EDGE                MIAMI                     FL
63585   2FMPK3J91LBA28802   Ford         EDGE                FORT MYERS                FL
63586   2FMPK3J91LBA28833   Ford         EDGE                TAMPA                     FL
63587   2FMPK3J91LBA29478   Ford         EDGE                CORPUS CHRISTI            TX
63588   2FMPK3J91LBA29500   Ford         EDGE                ORLANDO                   FL
63589   2FMPK3J91LBA29531   Ford         EDGE                TAMPA                     FL
63590   2FMPK3J91LBA29724   Ford         EDGE                PHOENIX                   AZ
63591   2FMPK3J91LBA44546   Ford         EDGE                KNOXVILLE                 TN
63592   2FMPK3J91LBA45213   Ford         EDGE                FORT MYERS                FL
63593   2FMPK3J91LBA45230   Ford         EDGE                INDIANAPOLIS              IN
63594   2FMPK3J91LBA45244   Ford         EDGE                FORT MYERS                FL
63595   2FMPK3J91LBA45258   Ford         EDGE                TAMPA                     FL
63596   2FMPK3J91LBA45325   Ford         EDGE                BIRMINGHAM                AL
63597   2FMPK3J91LBA45339   Ford         EDGE                BIRMINGHAN                AL
63598   2FMPK3J91LBA71035   Ford         EDGE                KNOXVILLE                 TN
63599   2FMPK3J91LBA71276   Ford         EDGE                FORT MYERS                FL
63600   2FMPK3J92JBB19350   Ford         EDGE                HONOLULU                  HI
63601   2FMPK3J92JBB19378   Ford         EDGE                KAHULUI                   HI
63602   2FMPK3J92JBB40876   Ford         EDGE                CONYERS                   GA
63603   2FMPK3J92JBB67446   Ford         EDGE                Anaheim                   CA
63604   2FMPK3J92JBC32425   Ford         EDGE                ALLENTOWN                 US
63605   2FMPK3J92JBC32473   Ford         EDGE                WAIMEA                    HI
63606   2FMPK3J92JBC32487   Ford         EDGE                HILO                      HI
63607   2FMPK3J92JBC32750   Ford         EDGE                West Bountiful            UT
63608   2FMPK3J92JBC32795   Ford         EDGE                LAS VEGAS                 NV
63609   2FMPK3J92JBC32814   Ford         EDGE                SAN DIEGO                 CA
63610   2FMPK3J92KBB89769   Ford         EDGE                Winter Park               FL
63611   2FMPK3J92KBB90002   Ford         EDGE                SEATAC                    WA
63612   2FMPK3J92KBB90016   Ford         EDGE                SANTA ANA                 CA
63613   2FMPK3J92KBB90033   Ford         EDGE                LAS VEGAS                 NV
63614   2FMPK3J92KBB90131   Ford         EDGE                MARIETTA                  GA
63615   2FMPK3J92KBB90193   Ford         EDGE                LUBBOCK                   TX
63616   2FMPK3J92KBB90212   Ford         EDGE                Atlanta                   GA
63617   2FMPK3J92KBB90355   Ford         EDGE                PHOENIX                   AZ
63618   2FMPK3J92KBB90369   Ford         EDGE                OAKLAND                   CA
63619   2FMPK3J92KBC03458   Ford         EDGE                Austin                    TX
63620   2FMPK3J92KBC03721   Ford         EDGE                OAKLAND                   CA
63621   2FMPK3J92LBA14908   Ford         EDGE                WICHITA FALLS             TX
63622   2FMPK3J92LBA14911   Ford         EDGE                HOUSTON                   TX
63623   2FMPK3J92LBA14939   Ford         EDGE                DALLAS                    TX
63624   2FMPK3J92LBA14956   Ford         EDGE                CHATTANOOGA               TN
63625   2FMPK3J92LBA14990   Ford         EDGE                Dallas                    TX
63626   2FMPK3J92LBA15010   Ford         EDGE                DES MOINES                IA
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63627   2FMPK3J92LBA15041   Ford         EDGE                HOUSTON                   TX
63628   2FMPK3J92LBA15234   Ford         EDGE                SAN ANTONIO               TX
63629   2FMPK3J92LBA15413   Ford         EDGE                Warr Acres                OK
63630   2FMPK3J92LBA28520   Ford         EDGE                MIDLAND                   TX
63631   2FMPK3J92LBA28534   Ford         EDGE                BIRMINGHAM                AL
63632   2FMPK3J92LBA28789   Ford         EDGE                Jacksonville              FL
63633   2FMPK3J92LBA28808   Ford         EDGE                SARASOTA                  FL
63634   2FMPK3J92LBA28811   Ford         EDGE                ONTARIO                   CA
63635   2FMPK3J92LBA28842   Ford         EDGE                MIAMI                     FL
63636   2FMPK3J92LBA29053   Ford         EDGE                Miami                     FL
63637   2FMPK3J92LBA29165   Ford         EDGE                TAMPA                     FL
63638   2FMPK3J92LBA29442   Ford         EDGE                FORT MYERS                FL
63639   2FMPK3J92LBA29487   Ford         EDGE                NASHVILLE                 TN
63640   2FMPK3J92LBA29523   Ford         EDGE                KANSAS CITY               MO
63641   2FMPK3J92LBA29537   Ford         EDGE                DFW AIRPORT               TX
63642   2FMPK3J92LBA29540   Ford         EDGE                Hamilton                  OH
63643   2FMPK3J92LBA29571   Ford         EDGE                Hendersonville            TN
63644   2FMPK3J92LBA29750   Ford         EDGE                Warr Acres                OK
63645   2FMPK3J92LBA29828   Ford         EDGE                PALM SPRINGS              CA
63646   2FMPK3J92LBA44538   Ford         EDGE                KNOXVILLE                 TN
63647   2FMPK3J92LBA44541   Ford         EDGE                NASHVILLE                 TN
63648   2FMPK3J92LBA45219   Ford         EDGE                FORT LAUDERDALE           FL
63649   2FMPK3J92LBA45320   Ford         EDGE                BIRMINGHAM                AL
63650   2FMPK3J93HBC27549   Ford         EDGE                Roseville                 CA
63651   2FMPK3J93HBC27552   Ford         EDGE                S. San Francisc           CA
63652   2FMPK3J93HBC32363   Ford         EDGE                DENVER                    CO
63653   2FMPK3J93JBB19339   Ford         EDGE                SAN FRANCISCO             CA
63654   2FMPK3J93JBB19356   Ford         EDGE                SAN FRANCISCO             CA
63655   2FMPK3J93JBC32479   Ford         EDGE                KAILUA‐KONA               HI
63656   2FMPK3J93JBC32613   Ford         EDGE                Detroit                   MI
63657   2FMPK3J93JBC32627   Ford         EDGE                LOS ANGELES               CA
63658   2FMPK3J93JBC32644   Ford         EDGE                BOISE                     US
63659   2FMPK3J93JBC32658   Ford         EDGE                SACRAMENTO                CA
63660   2FMPK3J93JBC32711   Ford         EDGE                BURBANK                   CA
63661   2FMPK3J93JBC32773   Ford         EDGE                LAS VEGAS                 NV
63662   2FMPK3J93JBC32806   Ford         EDGE                BURBANK                   CA
63663   2FMPK3J93JBC32823   Ford         EDGE                SAN DIEGO                 CA
63664   2FMPK3J93KBB89795   Ford         EDGE                HOUSTON                   TX
63665   2FMPK3J93KBB89991   Ford         EDGE                KENNER                    LA
63666   2FMPK3J93KBB90008   Ford         EDGE                ONTARIO                   CA
63667   2FMPK3J93KBB90185   Ford         EDGE                SAN ANTONIO               TX
63668   2FMPK3J93KBB90204   Ford         EDGE                SHREVEPORT                LA
63669   2FMPK3J93KBC03484   Ford         EDGE                SAN JOSE                  CA
63670   2FMPK3J93KBC03632   Ford         EDGE                DAYTONA BEACH             FL
63671   2FMPK3J93KBC03730   Ford         EDGE                PHOENIX                   AZ
63672   2FMPK3J93KBC24349   Ford         EDGE                Rockville Centr           NY
63673   2FMPK3J93LBA14903   Ford         EDGE                HOUSTON                   TX
63674   2FMPK3J93LBA14920   Ford         EDGE                Austin                    TX
63675   2FMPK3J93LBA14934   Ford         EDGE                SHREVEPORT                LA
63676   2FMPK3J93LBA14948   Ford         EDGE                Irving                    TX
63677   2FMPK3J93LBA14951   Ford         EDGE                HOUSTON                   TX
63678   2FMPK3J93LBA14979   Ford         EDGE                Irving                    TX
63679   2FMPK3J93LBA14982   Ford         EDGE                DALLAS                    TX
63680   2FMPK3J93LBA15016   Ford         EDGE                NASHVILLE                 TN
63681   2FMPK3J93LBA15159   Ford         EDGE                TAMPA                     FL
63682   2FMPK3J93LBA15419   Ford         EDGE                OKLAHOMA CITY             OK
63683   2FMPK3J93LBA28493   Ford         EDGE                Albuquerque               NM
63684   2FMPK3J93LBA28526   Ford         EDGE                BATON ROUGE               LA
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63685   2FMPK3J93LBA28705   Ford         EDGE                Memphis                   TN
63686   2FMPK3J93LBA28722   Ford         EDGE                SARASOTA                  FL
63687   2FMPK3J93LBA28767   Ford         EDGE                FORT MYERS                FL
63688   2FMPK3J93LBA29157   Ford         EDGE                JACKSONVILLE              FL
63689   2FMPK3J93LBA29160   Ford         EDGE                MIAMI                     FL
63690   2FMPK3J93LBA29174   Ford         EDGE                SHREVEPORT                LA
63691   2FMPK3J93LBA29272   Ford         EDGE                Atlanta                   GA
63692   2FMPK3J93LBA29420   Ford         EDGE                TAMPA                     FL
63693   2FMPK3J93LBA29496   Ford         EDGE                ATLANTA                   GA
63694   2FMPK3J93LBA29563   Ford         EDGE                MIAMI                     FL
63695   2FMPK3J93LBA29577   Ford         EDGE                MILWAUKEE                 WI
63696   2FMPK3J93LBA44533   Ford         EDGE                Nashville                 TN
63697   2FMPK3J93LBA44547   Ford         EDGE                AUSTIN                    TX
63698   2FMPK3J93LBA44550   Ford         EDGE                Memphis                   TN
63699   2FMPK3J93LBA45052   Ford         EDGE                FORT LAUDERDALE           FL
63700   2FMPK3J93LBA45066   Ford         EDGE                FORT MYERS                FL
63701   2FMPK3J93LBA45259   Ford         EDGE                Rockville Centr           NY
63702   2FMPK3J93LBA45326   Ford         EDGE                BIRMINGHAM                AL
63703   2FMPK3J94HBC27544   Ford         EDGE                Hayward                   CA
63704   2FMPK3J94HBC27690   Ford         EDGE                Hayward                   CA
63705   2FMPK3J94JBB19379   Ford         EDGE                Kahului                   HI
63706   2FMPK3J94JBB19415   Ford         EDGE                SAN FRANCISCO             CA
63707   2FMPK3J94JBB73457   Ford         EDGE                West Mifflin              PA
63708   2FMPK3J94JBB73510   Ford         EDGE                Cranberry Towns           PA
63709   2FMPK3J94JBB73555   Ford         EDGE                Costa Mesa                CA
63710   2FMPK3J94JBC32474   Ford         EDGE                HILO                      HI
63711   2FMPK3J94JBC32488   Ford         EDGE                HILO                      HI
63712   2FMPK3J94JBC32720   Ford         EDGE                Salt Lake City            UT
63713   2FMPK3J94JBC32815   Ford         EDGE                RENO                      NV
63714   2FMPK3J94KBB89773   Ford         EDGE                NEW YORK CITY             NY
63715   2FMPK3J94KBB89885   Ford         EDGE                HILO                      HI
63716   2FMPK3J94KBB89997   Ford         EDGE                SACRAMENTO                CA
63717   2FMPK3J94KBB90194   Ford         EDGE                Dallas                    TX
63718   2FMPK3J94KBB90213   Ford         EDGE                HOUSTON                   TX
63719   2FMPK3J94KBC24294   Ford         EDGE                Clearwater                FL
63720   2FMPK3J94KBC24313   Ford         EDGE                FORT MYERS                FL
63721   2FMPK3J94KBC24358   Ford         EDGE                Hendersonville            TN
63722   2FMPK3J94KBC24618   Ford         EDGE                DAYTONA BEACH             FL
63723   2FMPK3J94KBC24635   Ford         EDGE                Reno                      NV
63724   2FMPK3J94LBA14912   Ford         EDGE                Detroit                   MI
63725   2FMPK3J94LBA14960   Ford         EDGE                DALLAS                    TX
63726   2FMPK3J94LBA14974   Ford         EDGE                SACRAMENTO                CA
63727   2FMPK3J94LBA14991   Ford         EDGE                Warr Acres                OK
63728   2FMPK3J94LBA15235   Ford         EDGE                Austin                    TX
63729   2FMPK3J94LBA15414   Ford         EDGE                Tulsa                     OK
63730   2FMPK3J94LBA28499   Ford         EDGE                DALLAS                    TX
63731   2FMPK3J94LBA28504   Ford         EDGE                FORT MYERS                FL
63732   2FMPK3J94LBA28700   Ford         EDGE                ATLANTA AP                GA
63733   2FMPK3J94LBA28714   Ford         EDGE                Detroit                   MI
63734   2FMPK3J94LBA28812   Ford         EDGE                Miami                     FL
63735   2FMPK3J94LBA28857   Ford         EDGE                WEST PALM BEACH           FL
63736   2FMPK3J94LBA29068   Ford         EDGE                ORLANDO                   FL
63737   2FMPK3J94LBA29071   Ford         EDGE                MIAMI                     FL
63738   2FMPK3J94LBA29183   Ford         EDGE                MIAMI                     FL
63739   2FMPK3J94LBA29197   Ford         EDGE                FORT MYERS                FL
63740   2FMPK3J94LBA29233   Ford         EDGE                Miami                     FL
63741   2FMPK3J94LBA29412   Ford         EDGE                Louisville                KY
63742   2FMPK3J94LBA29491   Ford         EDGE                FORT LAUDERDALE           FL
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63743   2FMPK3J94LBA29796   Ford         EDGE                LAS VEGAS                 NV
63744   2FMPK3J94LBA29829   Ford         EDGE                EL PASO                   TX
63745   2FMPK3J94LBA29832   Ford         EDGE                KANSAS CITY               MO
63746   2FMPK3J94LBA29975   Ford         EDGE                INDIANAPOLIS              IN
63747   2FMPK3J94LBA30012   Ford         EDGE                MELROSE PARK              IL
63748   2FMPK3J94LBA44539   Ford         EDGE                Windsor Locks             CT
63749   2FMPK3J94LBA45027   Ford         EDGE                PALM SPRINGS              CA
63750   2FMPK3J94LBA45030   Ford         EDGE                SAN DIEGO                 CA
63751   2FMPK3J94LBA45223   Ford         EDGE                JACKSONVILLE              FL
63752   2FMPK3J94LBA45335   Ford         EDGE                KNOXVILLE                 TN
63753   2FMPK3J95GBC52693   Ford         EDGE                Norwalk                   CA
63754   2FMPK3J95JBB19410   Ford         EDGE                WEST PALM BEACH           FL
63755   2FMPK3J95JBB73581   Ford         EDGE                Smithtown                 NY
63756   2FMPK3J95JBB73600   Ford         EDGE                Santa Clara               CA
63757   2FMPK3J95JBC32399   Ford         EDGE                Manheim                   PA
63758   2FMPK3J95JBC32483   Ford         EDGE                KALAOA                    HI
63759   2FMPK3J95JBC32693   Ford         EDGE                Riverside                 CA
63760   2FMPK3J95JBC32712   Ford         EDGE                Phoenix                   AZ
63761   2FMPK3J95JBC32757   Ford         EDGE                Hayward                   CA
63762   2FMPK3J95JBC32760   Ford         EDGE                SAN JOSE                  CA
63763   2FMPK3J95JBC32788   Ford         EDGE                LAS VEGAS                 NV
63764   2FMPK3J95JBC32791   Ford         EDGE                ONTARIO                   CA
63765   2FMPK3J95JBC32838   Ford         EDGE                BURLINGAME                CA
63766   2FMPK3J95JBC32841   Ford         EDGE                LOS ANGELES               CA
63767   2FMPK3J95KBB89765   Ford         EDGE                Warr Acres                OK
63768   2FMPK3J95KBB90026   Ford         EDGE                SACRAMENTO                CA
63769   2FMPK3J95KBB90205   Ford         EDGE                Winter Park               FL
63770   2FMPK3J95KBB90477   Ford         EDGE                SACRAMENTO                CA
63771   2FMPK3J95KBC03700   Ford         EDGE                Killeen                   TX
63772   2FMPK3J95KBC03714   Ford         EDGE                OKLAHOMA CITY             OK
63773   2FMPK3J95KBC03728   Ford         EDGE                SACRAMENTO                CA
63774   2FMPK3J95KBC03731   Ford         EDGE                OAKLAND                   CA
63775   2FMPK3J95KBC24286   Ford         EDGE                COLUMBIA                  SC
63776   2FMPK3J95KBC24353   Ford         EDGE                Orlando                   FL
63777   2FMPK3J95KBC24627   Ford         EDGE                ORLANDO                   FL
63778   2FMPK3J95LBA14904   Ford         EDGE                WICHITA FALLS             TX
63779   2FMPK3J95LBA14918   Ford         EDGE                DFW AIRPORT               TX
63780   2FMPK3J95LBA14921   Ford         EDGE                DALLAS                    TX
63781   2FMPK3J95LBA14935   Ford         EDGE                AUSTIN                    TX
63782   2FMPK3J95LBA14949   Ford         EDGE                MIDLAND                   TX
63783   2FMPK3J95LBA14952   Ford         EDGE                HOUSTON                   TX
63784   2FMPK3J95LBA14983   Ford         EDGE                AUSTIN                    TX
63785   2FMPK3J95LBA15227   Ford         EDGE                DALLAS                    TX
63786   2FMPK3J95LBA15230   Ford         EDGE                SAN ANTONIO               TX
63787   2FMPK3J95LBA28513   Ford         EDGE                EAU CLAIRE                WI
63788   2FMPK3J95LBA28706   Ford         EDGE                NASHVILLE                 TN
63789   2FMPK3J95LBA28768   Ford         EDGE                MIAMI                     FL
63790   2FMPK3J95LBA28771   Ford         EDGE                TAMPA                     FL
63791   2FMPK3J95LBA28835   Ford         EDGE                HOUSTON                   TX
63792   2FMPK3J95LBA28852   Ford         EDGE                ATLANTA                   GA
63793   2FMPK3J95LBA29046   Ford         EDGE                FORT MYERS                FL
63794   2FMPK3J95LBA29127   Ford         EDGE                FORT MYERS                FL
63795   2FMPK3J95LBA29130   Ford         EDGE                HOLLY HILL                FL
63796   2FMPK3J95LBA29161   Ford         EDGE                SEATAC                    WA
63797   2FMPK3J95LBA29175   Ford         EDGE                JACKSONVILLE              FL
63798   2FMPK3J95LBA29189   Ford         EDGE                Atlanta                   GA
63799   2FMPK3J95LBA29757   Ford         EDGE                INDIANAPOLIS              IN
63800   2FMPK3J95LBA29760   Ford         EDGE                PHOENIX                   AZ
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63801   2FMPK3J95LBA29774   Ford         EDGE                PALM SPRINGS              CA
63802   2FMPK3J95LBA30049   Ford         EDGE                Memphis                   TN
63803   2FMPK3J95LBA30195   Ford         EDGE                FORT MYERS                FL
63804   2FMPK3J95LBA44551   Ford         EDGE                Nashville                 TN
63805   2FMPK3J95LBA45103   Ford         EDGE                Hamilton                  OH
63806   2FMPK3J95LBA45232   Ford         EDGE                FORT MYERS                FL
63807   2FMPK3J95LBA45263   Ford         EDGE                Tampa                     FL
63808   2FMPK3J95LBA45280   Ford         EDGE                FORT MYERS                FL
63809   2FMPK3J95LBA71281   Ford         EDGE                FORT MYERS                FL
63810   2FMPK3J96HBC27416   Ford         EDGE                TRACY                     CA
63811   2FMPK3J96JBB19352   Ford         EDGE                HONOLULU                  HI
63812   2FMPK3J96JBB19416   Ford         EDGE                LIHUE AP KAUAI            HI
63813   2FMPK3J96JBB86873   Ford         EDGE                AUSTIN                    TX
63814   2FMPK3J96JBC32475   Ford         EDGE                KAILUA‐KONA               HI
63815   2FMPK3J96JBC32685   Ford         EDGE                LAS VEGAS                 NV
63816   2FMPK3J96JBC32699   Ford         EDGE                San Diego                 CA
63817   2FMPK3J96JBC32718   Ford         EDGE                FRESNO                    CA
63818   2FMPK3J96JBC32721   Ford         EDGE                PALM SPRINGS              CA
63819   2FMPK3J96KBB90004   Ford         EDGE                PORTLAND                  OR
63820   2FMPK3J96KBB90018   Ford         EDGE                PHOENIX                   AZ
63821   2FMPK3J96KBB90133   Ford         EDGE                Hattiesburg               MS
63822   2FMPK3J96KBB90150   Ford         EDGE                BIRMINGHAM                AL
63823   2FMPK3J96KBB90181   Ford         EDGE                HOUSTON                   TX
63824   2FMPK3J96KBC03608   Ford         EDGE                Richmond                  VA
63825   2FMPK3J96KBC03706   Ford         EDGE                SAN JOSE                  CA
63826   2FMPK3J96KBC03740   Ford         EDGE                HOUSTON                   TX
63827   2FMPK3J96LBA14927   Ford         EDGE                Irving                    TX
63828   2FMPK3J96LBA14930   Ford         EDGE                AUSTIN                    TX
63829   2FMPK3J96LBA14944   Ford         EDGE                Live Oak                  TX
63830   2FMPK3J96LBA14958   Ford         EDGE                Austin                    TX
63831   2FMPK3J96LBA14961   Ford         EDGE                LOS ANGELES               CA
63832   2FMPK3J96LBA14989   Ford         EDGE                DALLAS                    TX
63833   2FMPK3J96LBA15012   Ford         EDGE                ORLANDO                   FL
63834   2FMPK3J96LBA28522   Ford         EDGE                Atlanta                   GA
63835   2FMPK3J96LBA28701   Ford         EDGE                BLOOMINGTON               IL
63836   2FMPK3J96LBA29153   Ford         EDGE                Atlanta                   GA
63837   2FMPK3J96LBA29198   Ford         EDGE                Harvey                    LA
63838   2FMPK3J96LBA29203   Ford         EDGE                ATLANTA                   GA
63839   2FMPK3J96LBA29265   Ford         EDGE                Tampa                     FL
63840   2FMPK3J96LBA29301   Ford         EDGE                TAMPA                     FL
63841   2FMPK3J96LBA29525   Ford         EDGE                Kansas City               MO
63842   2FMPK3J96LBA29766   Ford         EDGE                SAN ANTONIO               TX
63843   2FMPK3J96LBA29783   Ford         EDGE                MILWAUKEE                 WI
63844   2FMPK3J96LBA30058   Ford         EDGE                FORT LAUDERDALE           FL
63845   2FMPK3J96LBA30061   Ford         EDGE                FORT LAUDERDALE           FL
63846   2FMPK3J96LBA45207   Ford         EDGE                Albuquerque               NM
63847   2FMPK3J96LBA45224   Ford         EDGE                TAMPA                     FL
63848   2FMPK3J96LBA45269   Ford         EDGE                FT LAUDERDALE             FL
63849   2FMPK3J96LBA70804   Ford         EDGE                ATLANTA                   GA
63850   2FMPK3J97HBC27408   Ford         EDGE                Rio Linda                 CA
63851   2FMPK3J97JBB19327   Ford         EDGE                WAIMEA                    HI
63852   2FMPK3J97JBB19330   Ford         EDGE                PLEASANTON                CA
63853   2FMPK3J97JBB19344   Ford         EDGE                BURBANK                   CA
63854   2FMPK3J97JBB40825   Ford         EDGE                Philadelphia              PA
63855   2FMPK3J97JBB86848   Ford         EDGE                Warminster                PA
63856   2FMPK3J97JBC32422   Ford         EDGE                FARGO                     ND
63857   2FMPK3J97JBC32470   Ford         EDGE                KAILUA‐KONA               HI
63858   2FMPK3J97JBC32615   Ford         EDGE                LOS ANGELES               CA
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63859   2FMPK3J97JBC32680   Ford         EDGE                SALT LAKE CITY            US
63860   2FMPK3J97JBC32694   Ford         EDGE                HOUSTON                   TX
63861   2FMPK3J97JBC32775   Ford         EDGE                SAN JOSE                  CA
63862   2FMPK3J97JBC32808   Ford         EDGE                Costa Mesa                CA
63863   2FMPK3J97JBC32842   Ford         EDGE                Rio Linda                 CA
63864   2FMPK3J97KBB90030   Ford         EDGE                FRESNO                    CA
63865   2FMPK3J97KBB90125   Ford         EDGE                CINCINNATI                OH
63866   2FMPK3J97KBB90142   Ford         EDGE                Schaumburg                IL
63867   2FMPK3J97KBB90206   Ford         EDGE                Baltimore                 MD
63868   2FMPK3J97KBB90366   Ford         EDGE                SAN FRANCISCO             CA
63869   2FMPK3J97KBC03505   Ford         EDGE                NEW ORLEANS               LA
63870   2FMPK3J97KBC03620   Ford         EDGE                PHILADELPHIA              PA
63871   2FMPK3J97LBA14919   Ford         EDGE                INDIANAPOLIS              IN
63872   2FMPK3J97LBA14922   Ford         EDGE                HOUSTON                   TX
63873   2FMPK3J97LBA14970   Ford         EDGE                Atlanta                   GA
63874   2FMPK3J97LBA14984   Ford         EDGE                PORTLAND                  ME
63875   2FMPK3J97LBA14998   Ford         EDGE                DALLAS                    TX
63876   2FMPK3J97LBA15018   Ford         EDGE                DALLAS                    TX
63877   2FMPK3J97LBA28500   Ford         EDGE                FORT MYERS                FL
63878   2FMPK3J97LBA28531   Ford         EDGE                Atlanta                   GA
63879   2FMPK3J97LBA28707   Ford         EDGE                ORLANDO                   FL
63880   2FMPK3J97LBA28724   Ford         EDGE                MILWAUKEE                 WI
63881   2FMPK3J97LBA28853   Ford         EDGE                DAYTONA BEACH             FL
63882   2FMPK3J97LBA29145   Ford         EDGE                SAINT PAUL                MN
63883   2FMPK3J97LBA29243   Ford         EDGE                FORT MYERS                FL
63884   2FMPK3J97LBA29260   Ford         EDGE                Ft Pierce                 FL
63885   2FMPK3J97LBA29467   Ford         EDGE                Miami                     FL
63886   2FMPK3J97LBA29484   Ford         EDGE                Memphis                   TN
63887   2FMPK3J97LBA29520   Ford         EDGE                SOUTH BEND                IN
63888   2FMPK3J97LBA29727   Ford         EDGE                DALLAS                    TX
63889   2FMPK3J97LBA29730   Ford         EDGE                LOS ANGELES               CA
63890   2FMPK3J97LBA29744   Ford         EDGE                LAS VEGAS                 NV
63891   2FMPK3J97LBA29758   Ford         EDGE                PORTLAND                  ME
63892   2FMPK3J97LBA29968   Ford         EDGE                Miami                     FL
63893   2FMPK3J97LBA30036   Ford         EDGE                SAINT LOUIS               MO
63894   2FMPK3J97LBA30134   Ford         EDGE                TAMPA                     FL
63895   2FMPK3J97LBA30196   Ford         EDGE                Florissant                MO
63896   2FMPK3J97LBA44535   Ford         EDGE                BIRMINGHAM                AL
63897   2FMPK3J97LBA44549   Ford         EDGE                CHICAGO                   IL
63898   2FMPK3J97LBA45216   Ford         EDGE                SAINT PAUL                MN
63899   2FMPK3J97LBA45247   Ford         EDGE                TAMPA                     FL
63900   2FMPK3J97LBA45331   Ford         EDGE                Hamilton                  OH
63901   2FMPK3J98HBC32388   Ford         EDGE                CHICAGO O'HARE AP         IL
63902   2FMPK3J98JBB19353   Ford         EDGE                Hayward                   CA
63903   2FMPK3J98JBB19370   Ford         EDGE                Hayward                   CA
63904   2FMPK3J98JBB19420   Ford         EDGE                KAUAI                     HI
63905   2FMPK3J98JBB86860   Ford         EDGE                Riverside                 CA
63906   2FMPK3J98JBC32445   Ford         EDGE                CHICAGO                   IL
63907   2FMPK3J98JBC32476   Ford         EDGE                HILO                      HI
63908   2FMPK3J98JBC32607   Ford         EDGE                Salt Lake City            UT
63909   2FMPK3J98JBC32624   Ford         EDGE                Sacramento                CA
63910   2FMPK3J98JBC32638   Ford         EDGE                DALLAS                    TX
63911   2FMPK3J98JBC32803   Ford         EDGE                Lake Elsinore             CA
63912   2FMPK3J98JBC32820   Ford         EDGE                Hayward                   CA
63913   2FMPK3J98KBB89999   Ford         EDGE                TAMPA                     FL
63914   2FMPK3J98KBB90019   Ford         EDGE                LOS ANGELES               CA
63915   2FMPK3J98KBB90022   Ford         EDGE                Cerritos                  CA
63916   2FMPK3J98KBB90148   Ford         EDGE                SARASOTA                  FL
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63917   2FMPK3J98KBB90179   Ford         EDGE                LUBBOCK                   TX
63918   2FMPK3J98KBB90182   Ford         EDGE                LAS VEGAS                 NV
63919   2FMPK3J98KBB90201   Ford         EDGE                SAN DIEGO                 US
63920   2FMPK3J98KBB90621   Ford         EDGE                PHOENIX                   AZ
63921   2FMPK3J98KBC03481   Ford         EDGE                PORTLAND                  OR
63922   2FMPK3J98KBC24296   Ford         EDGE                Orlando                   FL
63923   2FMPK3J98KBC24315   Ford         EDGE                WEST PALM BEACH           FL
63924   2FMPK3J98KBC24654   Ford         EDGE                Ft. Myers                 FL
63925   2FMPK3J98LBA14914   Ford         EDGE                Irving                    TX
63926   2FMPK3J98LBA14945   Ford         EDGE                HOUSTON                   TX
63927   2FMPK3J98LBA14959   Ford         EDGE                DALLAS                    TX
63928   2FMPK3J98LBA14976   Ford         EDGE                AMARILLO                  US
63929   2FMPK3J98LBA14993   Ford         EDGE                SAN ANTONIO               TX
63930   2FMPK3J98LBA15027   Ford         EDGE                Harvey                    LA
63931   2FMPK3J98LBA15416   Ford         EDGE                Warr Acres                OK
63932   2FMPK3J98LBA28781   Ford         EDGE                FORT MYERS                FL
63933   2FMPK3J98LBA28814   Ford         EDGE                MILWAUKEE                 WI
63934   2FMPK3J98LBA28862   Ford         EDGE                KENNER                    LA
63935   2FMPK3J98LBA29073   Ford         EDGE                WEST PALM BEACH           FL
63936   2FMPK3J98LBA29767   Ford         EDGE                LOS ANGELES               CA
63937   2FMPK3J98LBA29834   Ford         EDGE                Saint Paul                MN
63938   2FMPK3J98LBA29946   Ford         EDGE                Louisville                KY
63939   2FMPK3J98LBA44544   Ford         EDGE                SAINT LOUIS               MO
63940   2FMPK3J98LBA44799   Ford         EDGE                FORT MYERS                FL
63941   2FMPK3J98LBA45032   Ford         EDGE                TUCSON                    AZ
63942   2FMPK3J98LBA45063   Ford         EDGE                FORT MYERS                FL
63943   2FMPK3J98LBA45077   Ford         EDGE                Harvey                    LA
63944   2FMPK3J98LBA45239   Ford         EDGE                FORT MYERS                FL
63945   2FMPK3J98LBA70867   Ford         EDGE                Atlanta                   GA
63946   2FMPK3J99HBC27541   Ford         EDGE                TRACY                     CA
63947   2FMPK3J99JBB19345   Ford         EDGE                HONOLULU                  HI
63948   2FMPK3J99JBB19412   Ford         EDGE                LIHUE AP KAUAI            HI
63949   2FMPK3J99JBB40874   Ford         EDGE                San Diego                 CA
63950   2FMPK3J99JBB67444   Ford         EDGE                TAMPA                     FL
63951   2FMPK3J99JBC32471   Ford         EDGE                HILO                      HI
63952   2FMPK3J99JBC32485   Ford         EDGE                KALAOA                    HI
63953   2FMPK3J99JBC32647   Ford         EDGE                PHOENIX                   AZ
63954   2FMPK3J99JBC32650   Ford         EDGE                Phoenix                   AZ
63955   2FMPK3J99JBC32700   Ford         EDGE                PALM SPRINGS              CA
63956   2FMPK3J99JBC32728   Ford         EDGE                TRACY                     CA
63957   2FMPK3J99JBC32731   Ford         EDGE                LAS VEGAS                 NV
63958   2FMPK3J99JBC32745   Ford         EDGE                PHOENIX                   AZ
63959   2FMPK3J99JBC32809   Ford         EDGE                FORT MYERS                FL
63960   2FMPK3J99JBC32826   Ford         EDGE                ONTARIO, RIVERSIDE        CA
63961   2FMPK3J99KBB90062   Ford         EDGE                DALLAS                    TX
63962   2FMPK3J99KBB90160   Ford         EDGE                PENSACOLA                 FL
63963   2FMPK3J99KBB90188   Ford         EDGE                Cranberry Towns           PA
63964   2FMPK3J99KBC03456   Ford         EDGE                SAINT PAUL                MN
63965   2FMPK3J99KBC03490   Ford         EDGE                Las Vegas                 NV
63966   2FMPK3J99KBC03683   Ford         EDGE                CHICAGO                   IL
63967   2FMPK3J99KBC24291   Ford         EDGE                Winter Park               FL
63968   2FMPK3J99KBC24310   Ford         EDGE                Slidell                   LA
63969   2FMPK3J99KBC24629   Ford         EDGE                DALLAS                    TX
63970   2FMPK3J99LBA14906   Ford         EDGE                Live Oak                  TX
63971   2FMPK3J99LBA14923   Ford         EDGE                Chicago                   IL
63972   2FMPK3J99LBA14937   Ford         EDGE                DALLAS                    TX
63973   2FMPK3J99LBA14940   Ford         EDGE                PENSACOLA                 FL
63974   2FMPK3J99LBA14968   Ford         EDGE                DALLAS                    TX
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63975   2FMPK3J99LBA14985   Ford         EDGE                HOUSTON                   TX
63976   2FMPK3J99LBA15036   Ford         EDGE                WICHITA FALLS             TX
63977   2FMPK3J99LBA15232   Ford         EDGE                Houston                   TX
63978   2FMPK3J99LBA28708   Ford         EDGE                Memphis                   TN
63979   2FMPK3J99LBA28854   Ford         EDGE                ORLANDO                   FL
63980   2FMPK3J99LBA29051   Ford         EDGE                MIAMI                     FL
63981   2FMPK3J99LBA29065   Ford         EDGE                FORT MYERS                FL
63982   2FMPK3J99LBA29132   Ford         EDGE                TALLAHASSEE               FL
63983   2FMPK3J99LBA29177   Ford         EDGE                KNOXVILLE                 TN
63984   2FMPK3J99LBA29194   Ford         EDGE                ORLANDO                   FL
63985   2FMPK3J99LBA29390   Ford         EDGE                CHICAGO                   IL
63986   2FMPK3J99LBA29423   Ford         EDGE                TAMPA                     FL
63987   2FMPK3J99LBA29745   Ford         EDGE                Detroit                   MI
63988   2FMPK3J99LBA29776   Ford         EDGE                Phoenix                   AZ
63989   2FMPK3J99LBA29843   Ford         EDGE                LAS VEGAS                 NV
63990   2FMPK3J99LBA44536   Ford         EDGE                Hendersonville            TN
63991   2FMPK3J99LBA45038   Ford         EDGE                FORT MYERS                FL
63992   2FMPK3J99LBA45072   Ford         EDGE                FORT MYERS                FL
63993   2FMPK3J99LBA45217   Ford         EDGE                SAINT LOUIS               MO
63994   2FMPK3J99LBA45329   Ford         EDGE                BIRMINGHAM                AL
63995   2FMPK3J99LBA70926   Ford         EDGE                KNOXVILLE                 TN
63996   2FMPK3J9XHBC27404   Ford         EDGE                Stockton                  CA
63997   2FMPK3J9XJBB19354   Ford         EDGE                Stockton                  CA
63998   2FMPK3J9XJBB19418   Ford         EDGE                KAUAI                     HI
63999   2FMPK3J9XJBB19421   Ford         EDGE                LIHUE AP KAUAI            HI
64000   2FMPK3J9XJBB40866   Ford         EDGE                Aurora                    CO
64001   2FMPK3J9XJBB73477   Ford         EDGE                SAINT LOUIS               MO
64002   2FMPK3J9XJBB73480   Ford         EDGE                BOSTON                    MA
64003   2FMPK3J9XJBC32396   Ford         EDGE                FORT MYERS                FL
64004   2FMPK3J9XJBC32415   Ford         EDGE                Philadelphia              PA
64005   2FMPK3J9XJBC32477   Ford         EDGE                KALAOA                    HI
64006   2FMPK3J9XJBC32480   Ford         EDGE                HILO                      HI
64007   2FMPK3J9XJBC32608   Ford         EDGE                ONTARIO                   CA
64008   2FMPK3J9XJBC32639   Ford         EDGE                LOS ANGELES               CA
64009   2FMPK3J9XJBC32687   Ford         EDGE                LOS ANGELES               CA
64010   2FMPK3J9XJBC32737   Ford         EDGE                PLEASANTON                CA
64011   2FMPK3J9XJBC32768   Ford         EDGE                Fontana                   CA
64012   2FMPK3J9XJBC32835   Ford         EDGE                FRESNO                    CA
64013   2FMPK3J9XKBB89759   Ford         EDGE                Austin                    TX
64014   2FMPK3J9XKBB89907   Ford         EDGE                HILO                      HI
64015   2FMPK3J9XKBB90023   Ford         EDGE                LAS VEGAS                 NV
64016   2FMPK3J9XKBB90121   Ford         EDGE                Union City                GA
64017   2FMPK3J9XKBB90359   Ford         EDGE                SAN DIEGO                 CA
64018   2FMPK3J9XKBB90474   Ford         EDGE                Fontana                   CA
64019   2FMPK3J9XKBB90605   Ford         EDGE                Killeen                   TX
64020   2FMPK3J9XKBC03482   Ford         EDGE                FRESNO                    CA
64021   2FMPK3J9XKBC03496   Ford         EDGE                Austin                    TX
64022   2FMPK3J9XKBC03689   Ford         EDGE                Bridgeton                 MO
64023   2FMPK3J9XKBC03725   Ford         EDGE                LOS ANGELES               CA
64024   2FMPK3J9XKBC24297   Ford         EDGE                TAMPA                     FL
64025   2FMPK3J9XKBC24655   Ford         EDGE                Charlotte                 NC
64026   2FMPK3J9XLBA14932   Ford         EDGE                Austin                    TX
64027   2FMPK3J9XLBA14946   Ford         EDGE                HOUSTON                   TX
64028   2FMPK3J9XLBA14963   Ford         EDGE                Live Oak                  TX
64029   2FMPK3J9XLBA14977   Ford         EDGE                AUSTIN                    TX
64030   2FMPK3J9XLBA14994   Ford         EDGE                INDIANAPOLIS              IN
64031   2FMPK3J9XLBA15014   Ford         EDGE                Dallas                    TX
64032   2FMPK3J9XLBA28488   Ford         EDGE                ALBUQERQUE                NM
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64033   2FMPK3J9XLBA28524   Ford         EDGE                Atlanta                   GA
64034   2FMPK3J9XLBA28863   Ford         EDGE                Miami                     FL
64035   2FMPK3J9XLBA29172   Ford         EDGE                TAMPA                     FL
64036   2FMPK3J9XLBA29396   Ford         EDGE                Winter Park               FL
64037   2FMPK3J9XLBA29429   Ford         EDGE                Florissant                MO
64038   2FMPK3J9XLBA29446   Ford         EDGE                FORT MYERS                FL
64039   2FMPK3J9XLBA29754   Ford         EDGE                LAS VEGAS                 NV
64040   2FMPK3J9XLBA29799   Ford         EDGE                LOS ANGELES               CA
64041   2FMPK3J9XLBA44545   Ford         EDGE                BIRMINGHAM                AL
64042   2FMPK3J9XLBA44772   Ford         EDGE                FORT MYERS                FL
64043   2FMPK3J9XLBA45050   Ford         EDGE                TALLAHASSEE               FL
64044   2FMPK3J9XLBA45081   Ford         EDGE                FORT MYERS                FL
64045   2FMPK3J9XLBA45095   Ford         EDGE                GRAND RAPIDS              MI
64046   2FMPK3J9XLBA45100   Ford         EDGE                HUNTSVILLE                AL
64047   2FMPK3J9XLBA45257   Ford         EDGE                DALLAS                    TX
64048   2FMPK3J9XLBA70790   Ford         EDGE                DALLAS                    TX
64049   2FMPK3J9XLBA71289   Ford         EDGE                FORT MYERS                FL
64050   2FMPK3K91KBB10185   Ford         EDGE                FORT MYERS                FL
64051   2FMPK3K92JBB68577   Ford         EDGE                Tolleson                  AZ
64052   2FMPK3K96JBB45318   Ford         EDGE                LOS ANGELES               CA
64053   2FMPK3K97JBB44274   Ford         EDGE                OAKLAND                   CA
64054   2FMPK3K99JBB44275   Ford         EDGE                LOS ANGELES               CA
64055   2FMPK4J90KBB89923   Ford         EDGE                WAIMEA                    HI
64056   2FMPK4J90KBB90232   Ford         EDGE                Bensalem                  PA
64057   2FMPK4J90KBC03402   Ford         EDGE                Tampa                     FL
64058   2FMPK4J90KBC03769   Ford         EDGE                Beaverton                 OR
64059   2FMPK4J90KBC24234   Ford         EDGE                PALM SPRINGS              CA
64060   2FMPK4J90KBC24329   Ford         EDGE                BURBANK                   CA
64061   2FMPK4J90LBA14850   Ford         EDGE                PHOENIX                   AZ
64062   2FMPK4J90LBA14878   Ford         EDGE                KNOXVILLE                 TN
64063   2FMPK4J90LBA14881   Ford         EDGE                Atlanta                   GA
64064   2FMPK4J90LBA14895   Ford         EDGE                SEATAC                    WA
64065   2FMPK4J90LBA14900   Ford         EDGE                KNOXVILLE                 TN
64066   2FMPK4J90LBA15058   Ford         EDGE                SAN DIEGO                 CA
64067   2FMPK4J90LBA15061   Ford         EDGE                IDAHO FALLS               ID
64068   2FMPK4J90LBA15075   Ford         EDGE                LOS ANGELES AP            CA
64069   2FMPK4J90LBA15089   Ford         EDGE                LOS ANGELES               CA
64070   2FMPK4J90LBA15092   Ford         EDGE                LOS ANGELES               CA
64071   2FMPK4J90LBA15108   Ford         EDGE                Buena Park                CA
64072   2FMPK4J90LBA15111   Ford         EDGE                OAKLAND                   CA
64073   2FMPK4J90LBA15125   Ford         EDGE                LOS ANGELES               CA
64074   2FMPK4J90LBA15139   Ford         EDGE                LOS ANGELES               CA
64075   2FMPK4J90LBA15142   Ford         EDGE                FRESNO                    CA
64076   2FMPK4J90LBA15187   Ford         EDGE                WEST PALM BEACH           FL
64077   2FMPK4J90LBA15190   Ford         EDGE                BILLINGS                  MT
64078   2FMPK4J90LBA15206   Ford         EDGE                SAVANNAH                  GA
64079   2FMPK4J90LBA15223   Ford         EDGE                CHARLOTTE                 NC
64080   2FMPK4J90LBA15237   Ford         EDGE                SEATAC                    WA
64081   2FMPK4J90LBA15254   Ford         EDGE                PHOENIX                   AZ
64082   2FMPK4J90LBA15268   Ford         EDGE                ORLANDO                   FL
64083   2FMPK4J90LBA15271   Ford         EDGE                LOS ANGELES               CA
64084   2FMPK4J90LBA15285   Ford         EDGE                ONTARIO                   CA
64085   2FMPK4J90LBA15299   Ford         EDGE                SAN DIEGO                 CA
64086   2FMPK4J90LBA15304   Ford         EDGE                RENO                      NV
64087   2FMPK4J90LBA15349   Ford         EDGE                BOSTON                    MA
64088   2FMPK4J90LBA15352   Ford         EDGE                TAMPA                     FL
64089   2FMPK4J90LBA15366   Ford         EDGE                FORT MYERS                FL
64090   2FMPK4J90LBA15383   Ford         EDGE                MIAMI                     FL
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64091   2FMPK4J90LBA28537   Ford         EDGE                CHICAGO                   IL
64092   2FMPK4J90LBA28540   Ford         EDGE                CLEVELAND                 OH
64093   2FMPK4J90LBA28554   Ford         EDGE                DES MOINES                IA
64094   2FMPK4J90LBA28571   Ford         EDGE                Hebron                    KY
64095   2FMPK4J90LBA28585   Ford         EDGE                Denver                    CO
64096   2FMPK4J90LBA28893   Ford         EDGE                ORLANDO                   FL
64097   2FMPK4J90LBA28909   Ford         EDGE                CHARLOTTE                 NC
64098   2FMPK4J90LBA28926   Ford         EDGE                SYRACUSE                  NY
64099   2FMPK4J90LBA28943   Ford         EDGE                ATLANTA                   GA
64100   2FMPK4J90LBA28957   Ford         EDGE                MIAMI                     FL
64101   2FMPK4J90LBA28960   Ford         EDGE                ORLANDO                   FL
64102   2FMPK4J90LBA28974   Ford         EDGE                INGLEWOOD                 CA
64103   2FMPK4J90LBA28988   Ford         EDGE                SACRAMENTO                CA
64104   2FMPK4J90LBA28991   Ford         EDGE                SAN JOSE                  CA
64105   2FMPK4J90LBA29008   Ford         EDGE                BURBANK                   CA
64106   2FMPK4J90LBA29025   Ford         EDGE                SAINT PAUL                MN
64107   2FMPK4J90LBA29087   Ford         EDGE                NEW YORK CITY             NY
64108   2FMPK4J90LBA29106   Ford         EDGE                BUFFALO                   NY
64109   2FMPK4J90LBA29123   Ford         EDGE                JAMAICA                   NY
64110   2FMPK4J90LBA29333   Ford         EDGE                MOBILE                    A
64111   2FMPK4J90LBA29350   Ford         EDGE                Windsor Locks             CT
64112   2FMPK4J90LBA29364   Ford         EDGE                TAMPA                     FL
64113   2FMPK4J90LBA29624   Ford         EDGE                ORLANDO                   FL
64114   2FMPK4J90LBA29638   Ford         EDGE                DALLAS                    TX
64115   2FMPK4J90LBA29641   Ford         EDGE                FORT MYERS                FL
64116   2FMPK4J90LBA29655   Ford         EDGE                ORLANDO                   FL
64117   2FMPK4J90LBA29669   Ford         EDGE                ATLANTA                   GA
64118   2FMPK4J90LBA29672   Ford         EDGE                NEW YORK CITY             NY
64119   2FMPK4J90LBA29686   Ford         EDGE                Hendersonville            TN
64120   2FMPK4J90LBA29705   Ford         EDGE                CLEVELAND                 OH
64121   2FMPK4J90LBA29719   Ford         EDGE                HARTFORD                  CT
64122   2FMPK4J90LBA29848   Ford         EDGE                SAN DIEGO                 CA
64123   2FMPK4J90LBA29851   Ford         EDGE                FRESNO                    CA
64124   2FMPK4J90LBA29896   Ford         EDGE                ORLANDO                   FL
64125   2FMPK4J90LBA29901   Ford         EDGE                FORT LAUDERDALE           FL
64126   2FMPK4J90LBA29915   Ford         EDGE                SARASOTA                  FL
64127   2FMPK4J90LBA29929   Ford         EDGE                TAMPA                     FL
64128   2FMPK4J90LBA30093   Ford         EDGE                FORT MYERS                FL
64129   2FMPK4J90LBA30143   Ford         EDGE                FORT LAUDERDALE           FL
64130   2FMPK4J90LBA30224   Ford         EDGE                SACRAMENTO                CA
64131   2FMPK4J90LBA30238   Ford         EDGE                TAMPA                     FL
64132   2FMPK4J90LBA30241   Ford         EDGE                ONTARIO                   CA
64133   2FMPK4J90LBA44513   Ford         EDGE                WESTLAKE                  OH
64134   2FMPK4J90LBA44527   Ford         EDGE                DANIA BEACH               FL
64135   2FMPK4J90LBA44530   Ford         EDGE                FORT MYERS                FL
64136   2FMPK4J90LBA44575   Ford         EDGE                PHILADELPHIA              PA
64137   2FMPK4J90LBA44592   Ford         EDGE                WARWICK                   RI
64138   2FMPK4J90LBA44611   Ford         EDGE                JACKSONVILLE              FL
64139   2FMPK4J90LBA44625   Ford         EDGE                PHILADELPHIA              PA
64140   2FMPK4J90LBA44642   Ford         EDGE                CLEVELAND                 OH
64141   2FMPK4J90LBA44656   Ford         EDGE                STERLING                  VA
64142   2FMPK4J90LBA44673   Ford         EDGE                ROANOKE                   VA
64143   2FMPK4J90LBA44687   Ford         EDGE                WHITE PLAINS              NY
64144   2FMPK4J90LBA44690   Ford         EDGE                CHARLOTTE                 NC
64145   2FMPK4J90LBA44706   Ford         EDGE                Parkville                 MD
64146   2FMPK4J90LBA44737   Ford         EDGE                Teterboro                 NJ
64147   2FMPK4J90LBA44740   Ford         EDGE                JAMAICA                   NY
64148   2FMPK4J90LBA44821   Ford         EDGE                Miami                     FL
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64149   2FMPK4J90LBA44978   Ford         EDGE                PITTSBURGH                PA
64150   2FMPK4J90LBA44995   Ford         EDGE                PITTSBURGH                PA
64151   2FMPK4J90LBA45001   Ford         EDGE                CLEVELAND                 OH
64152   2FMPK4J90LBA45015   Ford         EDGE                MEMPHIS                   TN
64153   2FMPK4J90LBA45113   Ford         EDGE                FORT MYERS                FL
64154   2FMPK4J90LBA45144   Ford         EDGE                SHREVEPORT                LA
64155   2FMPK4J90LBA54989   Ford         EDGE                NEW BERN                  NC
64156   2FMPK4J90LBA54992   Ford         EDGE                SARASOTA                  FL
64157   2FMPK4J90LBA55009   Ford         EDGE                CHARLOTTE                 NC
64158   2FMPK4J90LBA55026   Ford         EDGE                MEMPHIS                   TN
64159   2FMPK4J90LBA55107   Ford         EDGE                SAINT PAUL                MN
64160   2FMPK4J90LBA55155   Ford         EDGE                ALEXANDRIA                VA
64161   2FMPK4J90LBA55267   Ford         EDGE                OAKLAND                   CA
64162   2FMPK4J90LBA55320   Ford         EDGE                FRESNO                    CA
64163   2FMPK4J90LBA55379   Ford         EDGE                NORFOLK                   VA
64164   2FMPK4J90LBA70450   Ford         EDGE                EL PASO                   TX
64165   2FMPK4J90LBA70478   Ford         EDGE                CHARLOTTE                 NC
64166   2FMPK4J90LBA70562   Ford         EDGE                DALLAS                    TX
64167   2FMPK4J90LBA70593   Ford         EDGE                DETROIT                   MI
64168   2FMPK4J90LBA70609   Ford         EDGE                Atlanta                   GA
64169   2FMPK4J90LBA70612   Ford         EDGE                GRAND RAPIDS              MI
64170   2FMPK4J90LBA70660   Ford         EDGE                DETROIT                   MI
64171   2FMPK4J90LBA70674   Ford         EDGE                KANSAS CITY               MO
64172   2FMPK4J90LBA71081   Ford         EDGE                PHILADELPHIA              PA
64173   2FMPK4J90LBA71176   Ford         EDGE                STERLING                  US
64174   2FMPK4J90LBA71209   Ford         EDGE                PROVIDENCE                RI
64175   2FMPK4J90LBA71243   Ford         EDGE                NORFOLK                   VA
64176   2FMPK4J90LBA71307   Ford         EDGE                RICHMOND                  VA
64177   2FMPK4J90LBA71310   Ford         EDGE                RICHMOND                  VA
64178   2FMPK4J90LBA71355   Ford         EDGE                CHICAGO                   IL
64179   2FMPK4J90LBA71369   Ford         EDGE                STERLING                  VA
64180   2FMPK4J90LBA71372   Ford         EDGE                STERLING                  VA
64181   2FMPK4J90LBA71405   Ford         EDGE                STERLING                  US
64182   2FMPK4J90LBA71419   Ford         EDGE                STERLING                  VA
64183   2FMPK4J90LBA71422   Ford         EDGE                NEWARK                    NJ
64184   2FMPK4J90LBA71436   Ford         EDGE                STERLING                  VA
64185   2FMPK4J90LBA71470   Ford         EDGE                STERLING                  VA
64186   2FMPK4J90LBA71484   Ford         EDGE                STERLING                  VA
64187   2FMPK4J90LBA71498   Ford         EDGE                STERLING                  VA
64188   2FMPK4J90LBA71520   Ford         EDGE                HARTFORD                  CT
64189   2FMPK4J90LBA71534   Ford         EDGE                ATLANTA                   GA
64190   2FMPK4J90LBA71548   Ford         EDGE                STERLING                  VA
64191   2FMPK4J90LBA71551   Ford         EDGE                STERLING                  US
64192   2FMPK4J90LBA71565   Ford         EDGE                STERLING                  VA
64193   2FMPK4J90LBA71582   Ford         EDGE                HOUSTON                   TX
64194   2FMPK4J91KBB89820   Ford         EDGE                DENVER                    CO
64195   2FMPK4J91KBC03358   Ford         EDGE                UNION CITY                GA
64196   2FMPK4J91KBC03666   Ford         EDGE                BURBANK                   CA
64197   2FMPK4J91KBC03814   Ford         EDGE                LAS VEGAS                 NV
64198   2FMPK4J91KBC03859   Ford         EDGE                Killeen                   TX
64199   2FMPK4J91KBC03909   Ford         EDGE                FORT MYERS                FL
64200   2FMPK4J91KBC24257   Ford         EDGE                LAS VEGAS                 NV
64201   2FMPK4J91KBC24338   Ford         EDGE                HOUSTON                   TX
64202   2FMPK4J91LBA14856   Ford         EDGE                STERLING                  VA
64203   2FMPK4J91LBA14873   Ford         EDGE                CHARLOTTE                 NC
64204   2FMPK4J91LBA14887   Ford         EDGE                ATLANTA                   GA
64205   2FMPK4J91LBA14890   Ford         EDGE                GRAND RAPIDS              MI
64206   2FMPK4J91LBA15053   Ford         EDGE                PORTLAND                  OR
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64207   2FMPK4J91LBA15070   Ford         EDGE                OAKLAND                   CA
64208   2FMPK4J91LBA15084   Ford         EDGE                LOS ANGELES               CA
64209   2FMPK4J91LBA15098   Ford         EDGE                Albuquerque               NM
64210   2FMPK4J91LBA15103   Ford         EDGE                WICHITA FALLS             TX
64211   2FMPK4J91LBA15120   Ford         EDGE                SANTA ANA                 CA
64212   2FMPK4J91LBA15134   Ford         EDGE                LOS ANGELES               CA
64213   2FMPK4J91LBA15148   Ford         EDGE                MONTEREY                  CA
64214   2FMPK4J91LBA15151   Ford         EDGE                DIXON                     CA
64215   2FMPK4J91LBA15179   Ford         EDGE                RALEIGH                   NC
64216   2FMPK4J91LBA15182   Ford         EDGE                WEST PALM BEACH           FL
64217   2FMPK4J91LBA15196   Ford         EDGE                TAMPA                     FL
64218   2FMPK4J91LBA15201   Ford         EDGE                TAMPA                     FL
64219   2FMPK4J91LBA15215   Ford         EDGE                NEWARK                    NJ
64220   2FMPK4J91LBA15246   Ford         EDGE                STERLING                  VA
64221   2FMPK4J91LBA15263   Ford         EDGE                LAS VEGAS                 NV
64222   2FMPK4J91LBA15277   Ford         EDGE                LOS ANGELES               CA
64223   2FMPK4J91LBA15280   Ford         EDGE                PALM SPRINGS              CA
64224   2FMPK4J91LBA15294   Ford         EDGE                LAS VEGAS                 NV
64225   2FMPK4J91LBA15358   Ford         EDGE                WEST PALM BEACH           FL
64226   2FMPK4J91LBA15361   Ford         EDGE                MIAMI                     FL
64227   2FMPK4J91LBA15375   Ford         EDGE                FORT LAUDERDALE           FL
64228   2FMPK4J91LBA15389   Ford         EDGE                WARWICK                   RI
64229   2FMPK4J91LBA28546   Ford         EDGE                DALLAS                    TX
64230   2FMPK4J91LBA28563   Ford         EDGE                Hendersonville            TN
64231   2FMPK4J91LBA28577   Ford         EDGE                BLOOMINGTON               IL
64232   2FMPK4J91LBA28580   Ford         EDGE                NORFOLK                   VA
64233   2FMPK4J91LBA28627   Ford         EDGE                LAS VEGAS                 NV
64234   2FMPK4J91LBA28630   Ford         EDGE                Bolingbrook               IL
64235   2FMPK4J91LBA28675   Ford         EDGE                San Antonio               TX
64236   2FMPK4J91LBA28904   Ford         EDGE                NASHVILLE                 TN
64237   2FMPK4J91LBA28918   Ford         EDGE                DETROIT                   MI
64238   2FMPK4J91LBA28921   Ford         EDGE                ORLANDO                   FL
64239   2FMPK4J91LBA28935   Ford         EDGE                COCOA                     FL
64240   2FMPK4J91LBA28949   Ford         EDGE                ORLANDO                   FL
64241   2FMPK4J91LBA28952   Ford         EDGE                FORT LAUDERDALE           FL
64242   2FMPK4J91LBA28966   Ford         EDGE                SAINT PAUL                MN
64243   2FMPK4J91LBA28983   Ford         EDGE                LOS ANGELES               CA
64244   2FMPK4J91LBA28997   Ford         EDGE                LOS ANGELES               CA
64245   2FMPK4J91LBA29017   Ford         EDGE                ST Paul                   MN
64246   2FMPK4J91LBA29020   Ford         EDGE                SAINT PAUL                MN
64247   2FMPK4J91LBA29079   Ford         EDGE                NEW YORK CITY             NY
64248   2FMPK4J91LBA29082   Ford         EDGE                EAST BOSTON               MA
64249   2FMPK4J91LBA29096   Ford         EDGE                NEW YORK CITY             NY
64250   2FMPK4J91LBA29101   Ford         EDGE                MILWAUKEE                 WI
64251   2FMPK4J91LBA29115   Ford         EDGE                PHILADELPHIA              PA
64252   2FMPK4J91LBA29308   Ford         EDGE                JACKSONVILLE              FL
64253   2FMPK4J91LBA29311   Ford         EDGE                ORLANDO                   FL
64254   2FMPK4J91LBA29339   Ford         EDGE                SARASOTA                  FL
64255   2FMPK4J91LBA29342   Ford         EDGE                SAVANNAH                  GA
64256   2FMPK4J91LBA29356   Ford         EDGE                FORT MYERS                FL
64257   2FMPK4J91LBA29373   Ford         EDGE                ORLANDO                   FL
64258   2FMPK4J91LBA29583   Ford         EDGE                TAMPA                     FL
64259   2FMPK4J91LBA29597   Ford         EDGE                ORLANDO                   FL
64260   2FMPK4J91LBA29602   Ford         EDGE                ORLANDO                   FL
64261   2FMPK4J91LBA29616   Ford         EDGE                MIAMI                     FL
64262   2FMPK4J91LBA29633   Ford         EDGE                TAMPA                     FL
64263   2FMPK4J91LBA29664   Ford         EDGE                ATLANTA                   GA
64264   2FMPK4J91LBA29678   Ford         EDGE                FORT LAUDERDALE           FL
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64265   2FMPK4J91LBA29695   Ford         EDGE                DETROIT                   MI
64266   2FMPK4J91LBA29714   Ford         EDGE                CHARLESTON                SC
64267   2FMPK4J91LBA29809   Ford         EDGE                LAS VEGAS                 NV
64268   2FMPK4J91LBA29857   Ford         EDGE                SAN JOSE                  CA
64269   2FMPK4J91LBA29860   Ford         EDGE                SAN JOSE                  CA
64270   2FMPK4J91LBA29891   Ford         EDGE                MIAMI                     FL
64271   2FMPK4J91LBA29907   Ford         EDGE                STERLING                  VA
64272   2FMPK4J91LBA29941   Ford         EDGE                Atlanta                   GA
64273   2FMPK4J91LBA30071   Ford         EDGE                PENSACOLA                 FL
64274   2FMPK4J91LBA30085   Ford         EDGE                FORT LAUDERDALE           FL
64275   2FMPK4J91LBA30099   Ford         EDGE                Miami                     FL
64276   2FMPK4J91LBA30152   Ford         EDGE                MIAMI                     FL
64277   2FMPK4J91LBA30166   Ford         EDGE                PORTLAND                  OR
64278   2FMPK4J91LBA30216   Ford         EDGE                DETROIT                   MI
64279   2FMPK4J91LBA30250   Ford         EDGE                Harvey                    LA
64280   2FMPK4J91LBA30264   Ford         EDGE                DELAWARE                  OH
64281   2FMPK4J91LBA44083   Ford         EDGE                GREENVILLE                NC
64282   2FMPK4J91LBA44097   Ford         EDGE                CHARLESTON                SC
64283   2FMPK4J91LBA44519   Ford         EDGE                TAMPA                     FL
64284   2FMPK4J91LBA44567   Ford         EDGE                HARTFORD                  CT
64285   2FMPK4J91LBA44584   Ford         EDGE                ALEXANDRIA                VA
64286   2FMPK4J91LBA44598   Ford         EDGE                NEW YORK CITY             NY
64287   2FMPK4J91LBA44603   Ford         EDGE                LAUREL                    MD
64288   2FMPK4J91LBA44617   Ford         EDGE                HARTFORD                  CT
64289   2FMPK4J91LBA44620   Ford         EDGE                BOSTON                    MA
64290   2FMPK4J91LBA44634   Ford         EDGE                WHITE PLAINS              NY
64291   2FMPK4J91LBA44648   Ford         EDGE                WHITE PLAINS              NY
64292   2FMPK4J91LBA44651   Ford         EDGE                Elkridge                  MD
64293   2FMPK4J91LBA44665   Ford         EDGE                CHARLESTON                SC
64294   2FMPK4J91LBA44679   Ford         EDGE                PHILADELPHIA              PA
64295   2FMPK4J91LBA44682   Ford         EDGE                JACKSONVILLE              FL
64296   2FMPK4J91LBA44701   Ford         EDGE                HARRISBURG                PA
64297   2FMPK4J91LBA44715   Ford         EDGE                Smithtown                 NY
64298   2FMPK4J91LBA44729   Ford         EDGE                BOSTON                    MA
64299   2FMPK4J91LBA44732   Ford         EDGE                WHITE PLAINS              NY
64300   2FMPK4J91LBA44746   Ford         EDGE                Baltimore                 MD
64301   2FMPK4J91LBA44827   Ford         EDGE                TITUSVILLE                FL
64302   2FMPK4J91LBA44925   Ford         EDGE                PANAMA CITY               FL
64303   2FMPK4J91LBA44942   Ford         EDGE                HARTFORD                  CT
64304   2FMPK4J91LBA44973   Ford         EDGE                PHILADELPHIA              PA
64305   2FMPK4J91LBA44987   Ford         EDGE                ALLENTOWN                 US
64306   2FMPK4J91LBA45007   Ford         EDGE                PITTSBURGH                PA
64307   2FMPK4J91LBA45010   Ford         EDGE                PITTSBURGH                PA
64308   2FMPK4J91LBA45136   Ford         EDGE                WARWICK                   RI
64309   2FMPK4J91LBA45296   Ford         EDGE                MIAMI                     FL
64310   2FMPK4J91LBA55018   Ford         EDGE                NEW BERN                  NC
64311   2FMPK4J91LBA55035   Ford         EDGE                STERLING                  VA
64312   2FMPK4J91LBA55049   Ford         EDGE                INDIANAPOLIS              IN
64313   2FMPK4J91LBA55116   Ford         EDGE                SAINT PAUL                MN
64314   2FMPK4J91LBA55133   Ford         EDGE                STERLING                  VA
64315   2FMPK4J91LBA55259   Ford         EDGE                LOS ANGELES               CA
64316   2FMPK4J91LBA55276   Ford         EDGE                PALM SPRINGS              CA
64317   2FMPK4J91LBA55293   Ford         EDGE                PALM SPRINGS              CA
64318   2FMPK4J91LBA55388   Ford         EDGE                NORFOLK                   VA
64319   2FMPK4J91LBA70473   Ford         EDGE                CHARLOTTE                 NC
64320   2FMPK4J91LBA70506   Ford         EDGE                BLOOMINGTON               IL
64321   2FMPK4J91LBA70523   Ford         EDGE                KNOXVILLE                 TN
64322   2FMPK4J91LBA70540   Ford         EDGE                BLOOMINGTON               IL
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64323   2FMPK4J91LBA70568   Ford         EDGE                DETROIT                   MI
64324   2FMPK4J91LBA70571   Ford         EDGE                DETROIT                   MI
64325   2FMPK4J91LBA70599   Ford         EDGE                DETROIT                   MI
64326   2FMPK4J91LBA70621   Ford         EDGE                WEST PALM BEACH           FL
64327   2FMPK4J91LBA70635   Ford         EDGE                DETROIT                   MI
64328   2FMPK4J91LBA70649   Ford         EDGE                SAINT LOUIS               MO
64329   2FMPK4J91LBA70652   Ford         EDGE                GRAND RAPIDS              MI
64330   2FMPK4J91LBA71056   Ford         EDGE                PHILADELPHIA              PA
64331   2FMPK4J91LBA71137   Ford         EDGE                PITTSBURGH                PA
64332   2FMPK4J91LBA71140   Ford         EDGE                PITTSBURGH                PA
64333   2FMPK4J91LBA71168   Ford         EDGE                STERLING                  US
64334   2FMPK4J91LBA71171   Ford         EDGE                STERLING                  VA
64335   2FMPK4J91LBA71204   Ford         EDGE                ALEXANDRIA                VA
64336   2FMPK4J91LBA71235   Ford         EDGE                STERLING                  VA
64337   2FMPK4J91LBA71252   Ford         EDGE                NEW BERN                  NC
64338   2FMPK4J91LBA71364   Ford         EDGE                CLEVELAND                 OH
64339   2FMPK4J91LBA71400   Ford         EDGE                STERLING                  US
64340   2FMPK4J91LBA71459   Ford         EDGE                ATLANTA                   GA
64341   2FMPK4J91LBA71462   Ford         EDGE                STERLING                  US
64342   2FMPK4J91LBA71493   Ford         EDGE                STERLING                  VA
64343   2FMPK4J91LBA71509   Ford         EDGE                JAMAICA                   NY
64344   2FMPK4J91LBA71526   Ford         EDGE                STERLING                  VA
64345   2FMPK4J91LBA71543   Ford         EDGE                STERLING                  VA
64346   2FMPK4J91LBA71574   Ford         EDGE                STERLING                  VA
64347   2FMPK4J91LBA71588   Ford         EDGE                STERLING                  US
64348   2FMPK4J91LBA71591   Ford         EDGE                LOUISVILLE                KY
64349   2FMPK4J92JBB40785   Ford         EDGE                BUFFALO                   NY
64350   2FMPK4J92KBB89938   Ford         EDGE                KAILUA‐KONA               HI
64351   2FMPK4J92KBB90233   Ford         EDGE                Lynn                      MA
64352   2FMPK4J92KBB90393   Ford         EDGE                LOS ANGELES               CA
64353   2FMPK4J92KBB90751   Ford         EDGE                BURBANK                   CA
64354   2FMPK4J92KBC03403   Ford         EDGE                DES MOINES                IA
64355   2FMPK4J92KBC03417   Ford         EDGE                Rock Hill                 SC
64356   2FMPK4J92KBC03529   Ford         EDGE                Scottsdale                AZ
64357   2FMPK4J92KBC24204   Ford         EDGE                Kansas City               MO
64358   2FMPK4J92KBC24266   Ford         EDGE                Lake Elsinore             CA
64359   2FMPK4J92LBA14848   Ford         EDGE                ALBUQUERQUE               NM
64360   2FMPK4J92LBA14851   Ford         EDGE                ALBUQERQUE                NM
64361   2FMPK4J92LBA14865   Ford         EDGE                EL PASO                   TX
64362   2FMPK4J92LBA14879   Ford         EDGE                Harvey                    LA
64363   2FMPK4J92LBA14896   Ford         EDGE                WARWICK                   RI
64364   2FMPK4J92LBA14901   Ford         EDGE                AUGUSTA                   GA
64365   2FMPK4J92LBA15045   Ford         EDGE                LOS ANGELES               CA
64366   2FMPK4J92LBA15059   Ford         EDGE                BURBANK                   CA
64367   2FMPK4J92LBA15062   Ford         EDGE                LOS ANGELES               CA
64368   2FMPK4J92LBA15076   Ford         EDGE                LOS ANGELES               CA
64369   2FMPK4J92LBA15093   Ford         EDGE                SACRAMENTO                CA
64370   2FMPK4J92LBA15109   Ford         EDGE                PALM SPRINGS              CA
64371   2FMPK4J92LBA15112   Ford         EDGE                San Francisco             CA
64372   2FMPK4J92LBA15126   Ford         EDGE                PORTLAND                  OR
64373   2FMPK4J92LBA15143   Ford         EDGE                AUSTIN                    TX
64374   2FMPK4J92LBA15188   Ford         EDGE                WEST PALM BEACH           FL
64375   2FMPK4J92LBA15207   Ford         EDGE                TAMPA                     FL
64376   2FMPK4J92LBA15210   Ford         EDGE                FORT MYERS                FL
64377   2FMPK4J92LBA15224   Ford         EDGE                FORT LAUDERDALE           FL
64378   2FMPK4J92LBA15238   Ford         EDGE                SAN FRANCISCO             CA
64379   2FMPK4J92LBA15255   Ford         EDGE                LOS ANGELES               CA
64380   2FMPK4J92LBA15269   Ford         EDGE                SAN FRANCISCO             CA
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64381   2FMPK4J92LBA15272   Ford         EDGE                Stockton                  CA
64382   2FMPK4J92LBA15286   Ford         EDGE                SANTA ANA                 CA
64383   2FMPK4J92LBA15305   Ford         EDGE                PHOENIX                   AZ
64384   2FMPK4J92LBA15319   Ford         EDGE                PITTSBURGH                PA
64385   2FMPK4J92LBA15353   Ford         EDGE                MIAMI                     FL
64386   2FMPK4J92LBA15367   Ford         EDGE                JACKSONVILLE              FL
64387   2FMPK4J92LBA15370   Ford         EDGE                BOSTON                    MA
64388   2FMPK4J92LBA15384   Ford         EDGE                Marietta                  GA
64389   2FMPK4J92LBA28538   Ford         EDGE                CHICAGO                   IL
64390   2FMPK4J92LBA28541   Ford         EDGE                CLEVELAND                 OH
64391   2FMPK4J92LBA28555   Ford         EDGE                SAINT LOUIS               MO
64392   2FMPK4J92LBA28572   Ford         EDGE                CEDAR RAPIDS              IA
64393   2FMPK4J92LBA28653   Ford         EDGE                DETROIT                   MI
64394   2FMPK4J92LBA28667   Ford         EDGE                Omaha                     NE
64395   2FMPK4J92LBA28670   Ford         EDGE                MOBILE                    A
64396   2FMPK4J92LBA28684   Ford         EDGE                LOS ANGELES               CA
64397   2FMPK4J92LBA28894   Ford         EDGE                SANTA ANA                 CA
64398   2FMPK4J92LBA28927   Ford         EDGE                WEST PALM BEACH           FL
64399   2FMPK4J92LBA28930   Ford         EDGE                RICHMOND                  VA
64400   2FMPK4J92LBA28944   Ford         EDGE                ORLANDO                   FL
64401   2FMPK4J92LBA28958   Ford         EDGE                RALEIGH                   NC
64402   2FMPK4J92LBA28961   Ford         EDGE                FORT LAUDERDALE           FL
64403   2FMPK4J92LBA28975   Ford         EDGE                SAN DIEGO                 CA
64404   2FMPK4J92LBA28989   Ford         EDGE                ORANGE COUNTY             CA
64405   2FMPK4J92LBA29012   Ford         EDGE                LOS ANGELES               CA
64406   2FMPK4J92LBA29026   Ford         EDGE                SAINT PAUL                MN
64407   2FMPK4J92LBA29088   Ford         EDGE                East Boston               MA
64408   2FMPK4J92LBA29091   Ford         EDGE                NEWARK                    NJ
64409   2FMPK4J92LBA29107   Ford         EDGE                Hamilton                  OH
64410   2FMPK4J92LBA29110   Ford         EDGE                NORFOLK                   VA
64411   2FMPK4J92LBA29124   Ford         EDGE                NEWARK                    NJ
64412   2FMPK4J92LBA29320   Ford         EDGE                TAMPA                     FL
64413   2FMPK4J92LBA29334   Ford         EDGE                Atlanta                   GA
64414   2FMPK4J92LBA29348   Ford         EDGE                HOUSTON                   TX
64415   2FMPK4J92LBA29365   Ford         EDGE                TAMPA                     FL
64416   2FMPK4J92LBA29589   Ford         EDGE                ORLANDO                   FL
64417   2FMPK4J92LBA29639   Ford         EDGE                ORLANDO                   FL
64418   2FMPK4J92LBA29656   Ford         EDGE                MIAMI                     FL
64419   2FMPK4J92LBA29673   Ford         EDGE                DETROIT                   MI
64420   2FMPK4J92LBA29687   Ford         EDGE                RONKONKOMA                NY
64421   2FMPK4J92LBA29706   Ford         EDGE                MIAMI                     FL
64422   2FMPK4J92LBA29723   Ford         EDGE                TAMPA                     US
64423   2FMPK4J92LBA29818   Ford         EDGE                PORTLAND                  OR
64424   2FMPK4J92LBA29821   Ford         EDGE                SEATAC                    WA
64425   2FMPK4J92LBA29849   Ford         EDGE                LOS ANGELES AP            CA
64426   2FMPK4J92LBA29916   Ford         EDGE                McHenry                   IL
64427   2FMPK4J92LBA29933   Ford         EDGE                FORT MYERS                FL
64428   2FMPK4J92LBA30063   Ford         EDGE                TAMPA                     FL
64429   2FMPK4J92LBA30077   Ford         EDGE                WILMINGTON                NC
64430   2FMPK4J92LBA30094   Ford         EDGE                ORLANDO                   FL
64431   2FMPK4J92LBA30144   Ford         EDGE                FORT MYERS                FL
64432   2FMPK4J92LBA30161   Ford         EDGE                SACRAMENTO                CA
64433   2FMPK4J92LBA30175   Ford         EDGE                SACRAMENTO                CA
64434   2FMPK4J92LBA30208   Ford         EDGE                Cerritos                  CA
64435   2FMPK4J92LBA30225   Ford         EDGE                SAN DIEGO                 CA
64436   2FMPK4J92LBA30242   Ford         EDGE                HANOVER                   MD
64437   2FMPK4J92LBA44500   Ford         EDGE                CHICAGO                   IL
64438   2FMPK4J92LBA44562   Ford         EDGE                PHILADELPHIA              PA
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64439   2FMPK4J92LBA44609   Ford         EDGE                SARASOTA                  FL
64440   2FMPK4J92LBA44612   Ford         EDGE                BOSTON                    MA
64441   2FMPK4J92LBA44626   Ford         EDGE                BUFFALO                   NY
64442   2FMPK4J92LBA44660   Ford         EDGE                Teterboro                 NJ
64443   2FMPK4J92LBA44688   Ford         EDGE                MIAMI                     FL
64444   2FMPK4J92LBA44707   Ford         EDGE                PHILADELPHIA              PA
64445   2FMPK4J92LBA44710   Ford         EDGE                CHEEKTOWAGA               NY
64446   2FMPK4J92LBA44724   Ford         EDGE                BOSTON                    MA
64447   2FMPK4J92LBA44738   Ford         EDGE                Florissant                MO
64448   2FMPK4J92LBA44741   Ford         EDGE                STERLING                  VA
64449   2FMPK4J92LBA44805   Ford         EDGE                ALBANY                    NY
64450   2FMPK4J92LBA44819   Ford         EDGE                TAMPA                     FL
64451   2FMPK4J92LBA44917   Ford         EDGE                FAYETTEVILLE              US
64452   2FMPK4J92LBA44920   Ford         EDGE                DAYTONA BEACH             FL
64453   2FMPK4J92LBA44965   Ford         EDGE                PITTSBURGH                PA
64454   2FMPK4J92LBA44979   Ford         EDGE                PITTSBURGH                PA
64455   2FMPK4J92LBA44982   Ford         EDGE                PITTSBURGH                PA
64456   2FMPK4J92LBA44996   Ford         EDGE                CLEVELAND                 OH
64457   2FMPK4J92LBA45016   Ford         EDGE                WARWICK                   RI
64458   2FMPK4J92LBA45131   Ford         EDGE                GRAND RAPIDS              MI
64459   2FMPK4J92LBA45307   Ford         EDGE                TAMPA                     FL
64460   2FMPK4J92LBA55013   Ford         EDGE                ATLANTA                   GA
64461   2FMPK4J92LBA55030   Ford         EDGE                WHITE PLAINS              NY
64462   2FMPK4J92LBA55058   Ford         EDGE                STERLING                  VA
64463   2FMPK4J92LBA55156   Ford         EDGE                PHILADELPHIA              PA
64464   2FMPK4J92LBA55271   Ford         EDGE                SAN JOSE                  CA
64465   2FMPK4J92LBA55321   Ford         EDGE                LAS VEGAS                 NV
64466   2FMPK4J92LBA55349   Ford         EDGE                LOS ANGELES               CA
64467   2FMPK4J92LBA55352   Ford         EDGE                FRESNO                    CA
64468   2FMPK4J92LBA55383   Ford         EDGE                ROANOKE                   VA
64469   2FMPK4J92LBA70448   Ford         EDGE                STERLING                  VA
64470   2FMPK4J92LBA70465   Ford         EDGE                CHARLOTTE                 NC
64471   2FMPK4J92LBA70546   Ford         EDGE                DETROIT                   MI
64472   2FMPK4J92LBA70580   Ford         EDGE                DETROIT                   MI
64473   2FMPK4J92LBA70594   Ford         EDGE                DETROIT                   MI
64474   2FMPK4J92LBA70613   Ford         EDGE                DETROIT                   MI
64475   2FMPK4J92LBA70644   Ford         EDGE                DETROIT                   MI
64476   2FMPK4J92LBA70658   Ford         EDGE                DETROIT                   MI
64477   2FMPK4J92LBA70661   Ford         EDGE                DETROIT                   MI
64478   2FMPK4J92LBA70689   Ford         EDGE                KANSAS CITY               MO
64479   2FMPK4J92LBA71115   Ford         EDGE                CLEVELAND                 OH
64480   2FMPK4J92LBA71129   Ford         EDGE                PITTSBURGH                PA
64481   2FMPK4J92LBA71146   Ford         EDGE                PITTSBURGH                PA
64482   2FMPK4J92LBA71163   Ford         EDGE                STERLING                  VA
64483   2FMPK4J92LBA71177   Ford         EDGE                BALTIMORE                 MD
64484   2FMPK4J92LBA71194   Ford         EDGE                MIAMI                     FL
64485   2FMPK4J92LBA71311   Ford         EDGE                INDIANAPOLIS              IN
64486   2FMPK4J92LBA71390   Ford         EDGE                RALEIGH                   NC
64487   2FMPK4J92LBA71454   Ford         EDGE                SCRANTON                  PA
64488   2FMPK4J92LBA71468   Ford         EDGE                STERLING                  US
64489   2FMPK4J92LBA71471   Ford         EDGE                STERLING                  VA
64490   2FMPK4J92LBA71504   Ford         EDGE                STERLING                  US
64491   2FMPK4J92LBA71535   Ford         EDGE                TAMPA                     FL
64492   2FMPK4J92LBA71549   Ford         EDGE                CHARLESTON                WV
64493   2FMPK4J92LBA71552   Ford         EDGE                STERLING                  US
64494   2FMPK4J92LBA71566   Ford         EDGE                STERLING                  VA
64495   2FMPK4J93JBB73472   Ford         EDGE                MIAMI                     FL
64496   2FMPK4J93KBB90273   Ford         EDGE                BURBANK                   CA
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64497   2FMPK4J93KBB90631   Ford         EDGE                Phoenix                   AZ
64498   2FMPK4J93KBC03510   Ford         EDGE                RONKONKOMA                NY
64499   2FMPK4J93KBC03765   Ford         EDGE                Portland                  OR
64500   2FMPK4J93KBC24339   Ford         EDGE                Hayward                   CA
64501   2FMPK4J93LBA14857   Ford         EDGE                LOS ANGELES               CA
64502   2FMPK4J93LBA14860   Ford         EDGE                EL PASO                   TX
64503   2FMPK4J93LBA14874   Ford         EDGE                Atlanta                   GA
64504   2FMPK4J93LBA14888   Ford         EDGE                ATLANTA                   GA
64505   2FMPK4J93LBA14891   Ford         EDGE                KNOXVILLE                 TN
64506   2FMPK4J93LBA15068   Ford         EDGE                LAS VEGAS                 NV
64507   2FMPK4J93LBA15071   Ford         EDGE                SAN DIEGO                 CA
64508   2FMPK4J93LBA15085   Ford         EDGE                SAN DIEGO                 CA
64509   2FMPK4J93LBA15099   Ford         EDGE                SOUTH SAN FRANC           CA
64510   2FMPK4J93LBA15104   Ford         EDGE                PHOENIX                   AZ
64511   2FMPK4J93LBA15118   Ford         EDGE                CLOVIS                    CA
64512   2FMPK4J93LBA15121   Ford         EDGE                PORTLAND                  OR
64513   2FMPK4J93LBA15135   Ford         EDGE                LAS VEGAS                 NV
64514   2FMPK4J93LBA15149   Ford         EDGE                SAN FRANCISCO             CA
64515   2FMPK4J93LBA15152   Ford         EDGE                SACRAMENTO                CA
64516   2FMPK4J93LBA15183   Ford         EDGE                NEWARK                    NJ
64517   2FMPK4J93LBA15197   Ford         EDGE                ATLANTA                   GA
64518   2FMPK4J93LBA15202   Ford         EDGE                MIAMI                     FL
64519   2FMPK4J93LBA15216   Ford         EDGE                MIAMI                     FL
64520   2FMPK4J93LBA15247   Ford         EDGE                Los Angeles               CA
64521   2FMPK4J93LBA15250   Ford         EDGE                ARLINGTON                 TX
64522   2FMPK4J93LBA15264   Ford         EDGE                LOS ANGELES               CA
64523   2FMPK4J93LBA15278   Ford         EDGE                ONTARIO                   CA
64524   2FMPK4J93LBA15281   Ford         EDGE                Cerritos                  CA
64525   2FMPK4J93LBA15295   Ford         EDGE                SANTA ANA                 CA
64526   2FMPK4J93LBA15300   Ford         EDGE                SANTA ANA                 CA
64527   2FMPK4J93LBA15359   Ford         EDGE                FT. LAUDERDALE            FL
64528   2FMPK4J93LBA15362   Ford         EDGE                FORT MYERS                FL
64529   2FMPK4J93LBA15376   Ford         EDGE                MIAMI                     FL
64530   2FMPK4J93LBA28547   Ford         EDGE                Lake in the Hil           IL
64531   2FMPK4J93LBA28550   Ford         EDGE                Coraopolis                PA
64532   2FMPK4J93LBA28564   Ford         EDGE                KNOXVILLE                 TN
64533   2FMPK4J93LBA28578   Ford         EDGE                LOUISVILLE                KY
64534   2FMPK4J93LBA28581   Ford         EDGE                INDIANAPOLIS              IN
64535   2FMPK4J93LBA28614   Ford         EDGE                LAS VEGAS                 NV
64536   2FMPK4J93LBA28905   Ford         EDGE                LOS ANGELES               CA
64537   2FMPK4J93LBA28919   Ford         EDGE                MIAMI                     FL
64538   2FMPK4J93LBA28922   Ford         EDGE                ORLANDO                   FL
64539   2FMPK4J93LBA28936   Ford         EDGE                ORLANDO                   FL
64540   2FMPK4J93LBA28970   Ford         EDGE                RENO                      NV
64541   2FMPK4J93LBA28998   Ford         EDGE                Norwalk                   CA
64542   2FMPK4J93LBA29004   Ford         EDGE                SAN DIEGO                 CA
64543   2FMPK4J93LBA29018   Ford         EDGE                Saint Paul                MN
64544   2FMPK4J93LBA29021   Ford         EDGE                Atlanta                   GA
64545   2FMPK4J93LBA29083   Ford         EDGE                SEATAC                    WA
64546   2FMPK4J93LBA29097   Ford         EDGE                PHILADELPHIA              PA
64547   2FMPK4J93LBA29102   Ford         EDGE                BUFFALO                   NY
64548   2FMPK4J93LBA29116   Ford         EDGE                NEWARK                    NJ
64549   2FMPK4J93LBA29309   Ford         EDGE                TAMPA                     FL
64550   2FMPK4J93LBA29312   Ford         EDGE                Atlanta                   GA
64551   2FMPK4J93LBA29326   Ford         EDGE                TAMPA                     FL
64552   2FMPK4J93LBA29343   Ford         EDGE                MIAMI                     FL
64553   2FMPK4J93LBA29357   Ford         EDGE                Jacksonville              FL
64554   2FMPK4J93LBA29360   Ford         EDGE                FORT MYERS                FL
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64555   2FMPK4J93LBA29374   Ford         EDGE                STERLING                  VA
64556   2FMPK4J93LBA29598   Ford         EDGE                FORT MYERS                FL
64557   2FMPK4J93LBA29603   Ford         EDGE                ORLANDO                   FL
64558   2FMPK4J93LBA29648   Ford         EDGE                TAMPA                     FL
64559   2FMPK4J93LBA29665   Ford         EDGE                LAS VEGAS                 NV
64560   2FMPK4J93LBA29679   Ford         EDGE                FORT LAUDERDALE           FL
64561   2FMPK4J93LBA29696   Ford         EDGE                ORLANDO                   FL
64562   2FMPK4J93LBA29701   Ford         EDGE                PORTLAND                  ME
64563   2FMPK4J93LBA29715   Ford         EDGE                ORLANDO                   FL
64564   2FMPK4J93LBA29813   Ford         EDGE                PORTLAND                  OR
64565   2FMPK4J93LBA29844   Ford         EDGE                PALM SPRINGS              CA
64566   2FMPK4J93LBA29861   Ford         EDGE                LAS VEGAS                 NV
64567   2FMPK4J93LBA29892   Ford         EDGE                SYRACUSE                  NY
64568   2FMPK4J93LBA29908   Ford         EDGE                JACKSONVILLE              FL
64569   2FMPK4J93LBA29911   Ford         EDGE                ROCHESTER                 NY
64570   2FMPK4J93LBA29925   Ford         EDGE                Atlanta                   GA
64571   2FMPK4J93LBA29942   Ford         EDGE                TAMPA                     FL
64572   2FMPK4J93LBA30069   Ford         EDGE                TAMPA                     FL
64573   2FMPK4J93LBA30086   Ford         EDGE                ORLANDO                   FL
64574   2FMPK4J93LBA30170   Ford         EDGE                SACRAMENTO                CA
64575   2FMPK4J93LBA30198   Ford         EDGE                HOUSTON                   TX
64576   2FMPK4J93LBA30217   Ford         EDGE                CHICAGO                   IL
64577   2FMPK4J93LBA30220   Ford         EDGE                Chicago                   IL
64578   2FMPK4J93LBA30234   Ford         EDGE                SAN FRANCISCO             CA
64579   2FMPK4J93LBA30248   Ford         EDGE                TAMPA                     FL
64580   2FMPK4J93LBA30251   Ford         EDGE                FORT MYERS                FL
64581   2FMPK4J93LBA30265   Ford         EDGE                MIAMI                     FL
64582   2FMPK4J93LBA44084   Ford         EDGE                BUFFALO                   NY
64583   2FMPK4J93LBA44098   Ford         EDGE                CHARLESTON                SC
64584   2FMPK4J93LBA44487   Ford         EDGE                JACKSONVILLE              FL
64585   2FMPK4J93LBA44490   Ford         EDGE                Leesburg                  VA
64586   2FMPK4J93LBA44568   Ford         EDGE                DETROIT                   MI
64587   2FMPK4J93LBA44571   Ford         EDGE                North Dighton             MA
64588   2FMPK4J93LBA44585   Ford         EDGE                Portland                  ME
64589   2FMPK4J93LBA44599   Ford         EDGE                CLEVELAND                 OH
64590   2FMPK4J93LBA44604   Ford         EDGE                COLUMBIA                  SC
64591   2FMPK4J93LBA44618   Ford         EDGE                WEST PALM BEACH           FL
64592   2FMPK4J93LBA44621   Ford         EDGE                STERLING                  VA
64593   2FMPK4J93LBA44649   Ford         EDGE                MILWAUKEE                 WI
64594   2FMPK4J93LBA44652   Ford         EDGE                DALLAS                    TX
64595   2FMPK4J93LBA44666   Ford         EDGE                PHILADELPHIA              PA
64596   2FMPK4J93LBA44683   Ford         EDGE                RICHMOND                  VA
64597   2FMPK4J93LBA44697   Ford         EDGE                Warminster                PA
64598   2FMPK4J93LBA44702   Ford         EDGE                OAKLAND                   CA
64599   2FMPK4J93LBA44716   Ford         EDGE                BOSTON                    MA
64600   2FMPK4J93LBA44733   Ford         EDGE                HARTFORD                  CT
64601   2FMPK4J93LBA44814   Ford         EDGE                CHARLOTTE                 NC
64602   2FMPK4J93LBA44926   Ford         EDGE                TAMPA                     FL
64603   2FMPK4J93LBA44943   Ford         EDGE                WHITE PLAINS              NY
64604   2FMPK4J93LBA44957   Ford         EDGE                PITTSBURGH                PA
64605   2FMPK4J93LBA44960   Ford         EDGE                PITTSBURGH                PA
64606   2FMPK4J93LBA44974   Ford         EDGE                PHILADELPHIA              PA
64607   2FMPK4J93LBA44991   Ford         EDGE                Coraopolis                PA
64608   2FMPK4J93LBA45011   Ford         EDGE                CHARLESTON                WV
64609   2FMPK4J93LBA54985   Ford         EDGE                ATLANTA                   GA
64610   2FMPK4J93LBA55036   Ford         EDGE                CHICAGO                   US
64611   2FMPK4J93LBA55053   Ford         EDGE                INDIANAPOLIS              IN
64612   2FMPK4J93LBA55067   Ford         EDGE                DETROIT                   MI
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64613   2FMPK4J93LBA55103   Ford         EDGE                LOS ANGELES               CA
64614   2FMPK4J93LBA55120   Ford         EDGE                BOSTON                    MA
64615   2FMPK4J93LBA55246   Ford         EDGE                SAN FRANCISCO             CA
64616   2FMPK4J93LBA55277   Ford         EDGE                PORTLAND                  OR
64617   2FMPK4J93LBA55344   Ford         EDGE                SANTA ANA                 CA
64618   2FMPK4J93LBA55375   Ford         EDGE                NORFOLK                   VA
64619   2FMPK4J93LBA55389   Ford         EDGE                SAN DIEGO                 CA
64620   2FMPK4J93LBA55392   Ford         EDGE                AUSTIN                    TX
64621   2FMPK4J93LBA70457   Ford         EDGE                CHARLOTTE                 NC
64622   2FMPK4J93LBA70460   Ford         EDGE                RALIEGH                   NC
64623   2FMPK4J93LBA70474   Ford         EDGE                KNOXVILLE                 TN
64624   2FMPK4J93LBA70491   Ford         EDGE                SAINT LOUIS               MO
64625   2FMPK4J93LBA70507   Ford         EDGE                BLOOMINGTON               IL
64626   2FMPK4J93LBA70555   Ford         EDGE                DETROIT                   MI
64627   2FMPK4J93LBA70569   Ford         EDGE                SAINT LOUIS               MO
64628   2FMPK4J93LBA70622   Ford         EDGE                GRAND RAPIDS              MI
64629   2FMPK4J93LBA70636   Ford         EDGE                CLEVELAND                 OH
64630   2FMPK4J93LBA70653   Ford         EDGE                DETROIT                   MI
64631   2FMPK4J93LBA70667   Ford         EDGE                KANSAS CITY               MO
64632   2FMPK4J93LBA70670   Ford         EDGE                ORLANDO                   FL
64633   2FMPK4J93LBA70684   Ford         EDGE                KANSAS CITY               MO
64634   2FMPK4J93LBA70698   Ford         EDGE                KANSAS CITY               MO
64635   2FMPK4J93LBA70720   Ford         EDGE                LOS ANGELES AP            CA
64636   2FMPK4J93LBA71060   Ford         EDGE                ALLENTOWN                 US
64637   2FMPK4J93LBA71141   Ford         EDGE                PITTSBURGH                PA
64638   2FMPK4J93LBA71155   Ford         EDGE                PITTSBURGH                PA
64639   2FMPK4J93LBA71172   Ford         EDGE                Atlanta                   GA
64640   2FMPK4J93LBA71205   Ford         EDGE                STERLING                  VA
64641   2FMPK4J93LBA71219   Ford         EDGE                PHILADELPHIA              PA
64642   2FMPK4J93LBA71236   Ford         EDGE                STERLING                  VA
64643   2FMPK4J93LBA71303   Ford         EDGE                RICHMOND                  VA
64644   2FMPK4J93LBA71317   Ford         EDGE                STERLING                  VA
64645   2FMPK4J93LBA71379   Ford         EDGE                STERLING                  VA
64646   2FMPK4J93LBA71382   Ford         EDGE                STERLING                  VA
64647   2FMPK4J93LBA71415   Ford         EDGE                STERLING                  VA
64648   2FMPK4J93LBA71429   Ford         EDGE                HANOVER                   MD
64649   2FMPK4J93LBA71432   Ford         EDGE                STERLING                  US
64650   2FMPK4J93LBA71446   Ford         EDGE                STERLING                  VA
64651   2FMPK4J93LBA71463   Ford         EDGE                STERLING                  VA
64652   2FMPK4J93LBA71480   Ford         EDGE                STERLING                  VA
64653   2FMPK4J93LBA71494   Ford         EDGE                STERLING                  VA
64654   2FMPK4J93LBA71513   Ford         EDGE                BALTIMORE                 MD
64655   2FMPK4J93LBA71527   Ford         EDGE                STERLING                  VA
64656   2FMPK4J93LBA71544   Ford         EDGE                STERLING                  VA
64657   2FMPK4J93LBA71558   Ford         EDGE                STERLING                  VA
64658   2FMPK4J93LBA71561   Ford         EDGE                WEST COLUMBIA             SC
64659   2FMPK4J93LBA71575   Ford         EDGE                INDIANAPOLIS              IN
64660   2FMPK4J93LBA71589   Ford         EDGE                STERLING                  VA
64661   2FMPK4J94KBB42314   Ford         EDGE                PHOENIX                   AZ
64662   2FMPK4J94KBB90265   Ford         EDGE                Louisville                KY
64663   2FMPK4J94KBB90394   Ford         EDGE                SANTA ANA                 CA
64664   2FMPK4J94KBB90654   Ford         EDGE                SOUTHEAST DST OFFC        OK
64665   2FMPK4J94KBC03516   Ford         EDGE                PORTLAND                  OR
64666   2FMPK4J94KBC24205   Ford         EDGE                Schaumburg                IL
64667   2FMPK4J94KBC24236   Ford         EDGE                Lake Elsinore             CA
64668   2FMPK4J94KBC24270   Ford         EDGE                SACRAMENTO                CA
64669   2FMPK4J94KBC24348   Ford         EDGE                KNOXVILLE                 TN
64670   2FMPK4J94LBA14866   Ford         EDGE                DALLAS                    TX
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64671   2FMPK4J94LBA14883   Ford         EDGE                NEWARK                    NJ
64672   2FMPK4J94LBA14897   Ford         EDGE                ATLANTA                   GA
64673   2FMPK4J94LBA14902   Ford         EDGE                SAVANNAH                  GA
64674   2FMPK4J94LBA15046   Ford         EDGE                LOS ANGELES               CA
64675   2FMPK4J94LBA15063   Ford         EDGE                ONTARIO                   CA
64676   2FMPK4J94LBA15077   Ford         EDGE                SEATAC                    WA
64677   2FMPK4J94LBA15080   Ford         EDGE                SAN DIEGO                 CA
64678   2FMPK4J94LBA15094   Ford         EDGE                LAS VEGAS                 NV
64679   2FMPK4J94LBA15127   Ford         EDGE                PALM SPRINGS              CA
64680   2FMPK4J94LBA15130   Ford         EDGE                SACRAMENTO                CA
64681   2FMPK4J94LBA15144   Ford         EDGE                SACRAMENTO                CA
64682   2FMPK4J94LBA15189   Ford         EDGE                WEST PALM BEACH           FL
64683   2FMPK4J94LBA15211   Ford         EDGE                WEST PALM BEACH           FL
64684   2FMPK4J94LBA15225   Ford         EDGE                ORLANDO                   FL
64685   2FMPK4J94LBA15239   Ford         EDGE                Norwalk                   CA
64686   2FMPK4J94LBA15242   Ford         EDGE                LOS ANGELES               CA
64687   2FMPK4J94LBA15256   Ford         EDGE                SAN FRANCISCO             CA
64688   2FMPK4J94LBA15273   Ford         EDGE                LOS ANGELES               CA
64689   2FMPK4J94LBA15290   Ford         EDGE                PALM SPRINGS              CA
64690   2FMPK4J94LBA15306   Ford         EDGE                SANTA ANA                 CA
64691   2FMPK4J94LBA15323   Ford         EDGE                BALTIMORE                 MD
64692   2FMPK4J94LBA15368   Ford         EDGE                ORLANDO                   FL
64693   2FMPK4J94LBA15371   Ford         EDGE                WEST PALM BEACH           FL
64694   2FMPK4J94LBA15385   Ford         EDGE                MIAMI                     FL
64695   2FMPK4J94LBA28539   Ford         EDGE                PITTSBURGH                PA
64696   2FMPK4J94LBA28542   Ford         EDGE                BOSTON                    MA
64697   2FMPK4J94LBA28573   Ford         EDGE                GRAND RAPIDS              MI
64698   2FMPK4J94LBA28587   Ford         EDGE                INDIANAPOLIS              IN
64699   2FMPK4J94LBA28637   Ford         EDGE                HOUSTON                   TX
64700   2FMPK4J94LBA28654   Ford         EDGE                SAINT LOUIS               MO
64701   2FMPK4J94LBA28900   Ford         EDGE                ORLANDO                   FL
64702   2FMPK4J94LBA28914   Ford         EDGE                TAMPA                     US
64703   2FMPK4J94LBA28928   Ford         EDGE                FORT LAUDERDALE           FL
64704   2FMPK4J94LBA28931   Ford         EDGE                MIAMI                     FL
64705   2FMPK4J94LBA28945   Ford         EDGE                TAMPA                     FL
64706   2FMPK4J94LBA28959   Ford         EDGE                TAMPA                     FL
64707   2FMPK4J94LBA28962   Ford         EDGE                MIDLAND                   TX
64708   2FMPK4J94LBA28993   Ford         EDGE                AUSTIN                    TX
64709   2FMPK4J94LBA29013   Ford         EDGE                SAINT PAUL                MN
64710   2FMPK4J94LBA29027   Ford         EDGE                SAINT PAUL                MN
64711   2FMPK4J94LBA29030   Ford         EDGE                LOS ANGELES               CA
64712   2FMPK4J94LBA29089   Ford         EDGE                Hamilton                  OH
64713   2FMPK4J94LBA29092   Ford         EDGE                NEWARK                    NJ
64714   2FMPK4J94LBA29108   Ford         EDGE                NEW BERN                  NC
64715   2FMPK4J94LBA29111   Ford         EDGE                NASHVILLE                 TN
64716   2FMPK4J94LBA29206   Ford         EDGE                Miami                     FL
64717   2FMPK4J94LBA29321   Ford         EDGE                SAVANNAH                  GA
64718   2FMPK4J94LBA29335   Ford         EDGE                NAPLES                    FL
64719   2FMPK4J94LBA29349   Ford         EDGE                ORLANDO                   FL
64720   2FMPK4J94LBA29352   Ford         EDGE                HARTFORD                  CT
64721   2FMPK4J94LBA29366   Ford         EDGE                Miami                     FL
64722   2FMPK4J94LBA29593   Ford         EDGE                TAMPA                     US
64723   2FMPK4J94LBA29612   Ford         EDGE                WEST PALM BEACH           FL
64724   2FMPK4J94LBA29660   Ford         EDGE                ORLANDO                   FL
64725   2FMPK4J94LBA29674   Ford         EDGE                TAMPA                     FL
64726   2FMPK4J94LBA29688   Ford         EDGE                TAMPA                     FL
64727   2FMPK4J94LBA29691   Ford         EDGE                TITUSVILLE                FL
64728   2FMPK4J94LBA29707   Ford         EDGE                BLOOMINGTON               IL
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64729   2FMPK4J94LBA29819   Ford         EDGE                SEATAC                    WA
64730   2FMPK4J94LBA29822   Ford         EDGE                PORTLAND                  OR
64731   2FMPK4J94LBA29853   Ford         EDGE                SANTA CLARA               CA
64732   2FMPK4J94LBA29867   Ford         EDGE                SAN JOSE                  CA
64733   2FMPK4J94LBA29898   Ford         EDGE                ORLANDO                   FL
64734   2FMPK4J94LBA29917   Ford         EDGE                MIAMI                     FL
64735   2FMPK4J94LBA30064   Ford         EDGE                Miami                     FL
64736   2FMPK4J94LBA30078   Ford         EDGE                STERLING                  VA
64737   2FMPK4J94LBA30095   Ford         EDGE                BUFFALO                   NY
64738   2FMPK4J94LBA30100   Ford         EDGE                FORT LAUDERDALE           FL
64739   2FMPK4J94LBA30145   Ford         EDGE                RONKONKOMA                NY
64740   2FMPK4J94LBA30159   Ford         EDGE                SAN FRANCISCO             CA
64741   2FMPK4J94LBA30209   Ford         EDGE                SAN FRANCISCO             CA
64742   2FMPK4J94LBA30226   Ford         EDGE                Downey                    CA
64743   2FMPK4J94LBA30243   Ford         EDGE                ATLANTA                   GA
64744   2FMPK4J94LBA30260   Ford         EDGE                TAMPA                     FL
64745   2FMPK4J94LBA44076   Ford         EDGE                WEST PALM BEACH           FL
64746   2FMPK4J94LBA44093   Ford         EDGE                FAYETTEVILLE              US
64747   2FMPK4J94LBA44482   Ford         EDGE                ROCHESTER                 NY
64748   2FMPK4J94LBA44496   Ford         EDGE                FORT LAUDERDALE           FL
64749   2FMPK4J94LBA44515   Ford         EDGE                WEST PALM BEACH           FL
64750   2FMPK4J94LBA44529   Ford         EDGE                HOUSTON                   TX
64751   2FMPK4J94LBA44594   Ford         EDGE                ALBANY                    N
64752   2FMPK4J94LBA44613   Ford         EDGE                ALBANY                    N
64753   2FMPK4J94LBA44627   Ford         EDGE                ORLANDO                   FL
64754   2FMPK4J94LBA44644   Ford         EDGE                Harvey                    LA
64755   2FMPK4J94LBA44658   Ford         EDGE                ROCHESTER                 NY
64756   2FMPK4J94LBA44661   Ford         EDGE                WHITE PLAINS              NY
64757   2FMPK4J94LBA44675   Ford         EDGE                Rockville Centr           NY
64758   2FMPK4J94LBA44689   Ford         EDGE                PORTLAND                  ME
64759   2FMPK4J94LBA44692   Ford         EDGE                HARRISBURG                PA
64760   2FMPK4J94LBA44711   Ford         EDGE                PORTLAND                  ME
64761   2FMPK4J94LBA44725   Ford         EDGE                PHILADELPHIA              PA
64762   2FMPK4J94LBA44739   Ford         EDGE                RICHMOND                  VA
64763   2FMPK4J94LBA44742   Ford         EDGE                INDIANAPOLIS              IN
64764   2FMPK4J94LBA44921   Ford         EDGE                ORLANDO                   FL
64765   2FMPK4J94LBA44935   Ford         EDGE                DETROIT                   MI
64766   2FMPK4J94LBA44949   Ford         EDGE                ORLANDO                   FL
64767   2FMPK4J94LBA44952   Ford         EDGE                FORT MYERS                FL
64768   2FMPK4J94LBA45003   Ford         EDGE                PORTLAND                  ME
64769   2FMPK4J94LBA45020   Ford         EDGE                COLUMBUS                  OH
64770   2FMPK4J94LBA45129   Ford         EDGE                WEST PALM BEACH           FL
64771   2FMPK4J94LBA45308   Ford         EDGE                STERLING                  VA
64772   2FMPK4J94LBA54994   Ford         EDGE                BIRMINGHAM                AL
64773   2FMPK4J94LBA55000   Ford         EDGE                NORFOLK                   VA
64774   2FMPK4J94LBA55028   Ford         EDGE                WEST COLUMBIA             SC
64775   2FMPK4J94LBA55062   Ford         EDGE                GRAND RAPIDS              MI
64776   2FMPK4J94LBA55143   Ford         EDGE                WARWICK                   RI
64777   2FMPK4J94LBA55157   Ford         EDGE                CLEVELAND                 OH
64778   2FMPK4J94LBA55160   Ford         EDGE                RICHMOND                  VA
64779   2FMPK4J94LBA55241   Ford         EDGE                SAN FRANCISCO             CA
64780   2FMPK4J94LBA55255   Ford         EDGE                OAKLAND                   CA
64781   2FMPK4J94LBA55286   Ford         EDGE                CLEVELAND                 OH
64782   2FMPK4J94LBA55319   Ford         EDGE                SANTA ANA                 CA
64783   2FMPK4J94LBA55367   Ford         EDGE                NORFOLK                   VA
64784   2FMPK4J94LBA55370   Ford         EDGE                RALEIGH                   NC
64785   2FMPK4J94LBA70466   Ford         EDGE                CHARLOTTE                 NC
64786   2FMPK4J94LBA70550   Ford         EDGE                DETROIT                   MI
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64787   2FMPK4J94LBA70595   Ford         EDGE                DETROIT                   MI
64788   2FMPK4J94LBA70600   Ford         EDGE                Atlanta                   GA
64789   2FMPK4J94LBA70614   Ford         EDGE                DETROIT                   MI
64790   2FMPK4J94LBA70628   Ford         EDGE                FORT MYERS                FL
64791   2FMPK4J94LBA70645   Ford         EDGE                DETROIT                   MI
64792   2FMPK4J94LBA70676   Ford         EDGE                KANSAS CITY               MO
64793   2FMPK4J94LBA71052   Ford         EDGE                PHILADELPHIA              PA
64794   2FMPK4J94LBA71083   Ford         EDGE                DENVER                    CO
64795   2FMPK4J94LBA71133   Ford         EDGE                Pittsburgh                PA
64796   2FMPK4J94LBA71164   Ford         EDGE                NEW BERN                  NC
64797   2FMPK4J94LBA71178   Ford         EDGE                HANOVER                   MD
64798   2FMPK4J94LBA71228   Ford         EDGE                STERLING                  VA
64799   2FMPK4J94LBA71309   Ford         EDGE                RICHMOND                  VA
64800   2FMPK4J94LBA71312   Ford         EDGE                NORFOLK                   VA
64801   2FMPK4J94LBA71407   Ford         EDGE                STERLING                  VA
64802   2FMPK4J94LBA71438   Ford         EDGE                STERLING                  VA
64803   2FMPK4J94LBA71441   Ford         EDGE                STERLING                  VA
64804   2FMPK4J94LBA71455   Ford         EDGE                CHARLOTTESVILLE           VA
64805   2FMPK4J94LBA71469   Ford         EDGE                STERLING                  US
64806   2FMPK4J94LBA71472   Ford         EDGE                SAINT LOUIS               MO
64807   2FMPK4J94LBA71486   Ford         EDGE                STERLING                  VA
64808   2FMPK4J94LBA71505   Ford         EDGE                STERLING                  VA
64809   2FMPK4J94LBA71522   Ford         EDGE                STERLING                  VA
64810   2FMPK4J94LBA71536   Ford         EDGE                STERLING                  VA
64811   2FMPK4J94LBA71567   Ford         EDGE                STERLING                  VA
64812   2FMPK4J94LBA71584   Ford         EDGE                WEST PALM BEACH           FL
64813   2FMPK4J95KBB89819   Ford         EDGE                CHATTANOOGA               TN
64814   2FMPK4J95KBB89917   Ford         EDGE                HILO                      HI
64815   2FMPK4J95KBB90274   Ford         EDGE                Philadelphia              PA
64816   2FMPK4J95KBB90288   Ford         EDGE                Atlanta                   GA
64817   2FMPK4J95KBB90324   Ford         EDGE                Smithtown                 NY
64818   2FMPK4J95KBB90517   Ford         EDGE                LIHUE                     HI
64819   2FMPK4J95KBB90663   Ford         EDGE                KNOXVILLE                 TN
64820   2FMPK4J95KBC03427   Ford         EDGE                COLUMBIA                  SC
64821   2FMPK4J95KBC03511   Ford         EDGE                LOS ANGELES               CA
64822   2FMPK4J95KBC24231   Ford         EDGE                Louisville                KY
64823   2FMPK4J95KBC24343   Ford         EDGE                ELKRIDGE                  MD
64824   2FMPK4J95LBA14861   Ford         EDGE                OMAHA                     NE
64825   2FMPK4J95LBA14875   Ford         EDGE                WEST COLUMBIA             SC
64826   2FMPK4J95LBA14889   Ford         EDGE                ATLANTA                   GA
64827   2FMPK4J95LBA14892   Ford         EDGE                RONKONKOMA                NY
64828   2FMPK4J95LBA15055   Ford         EDGE                LOS ANGELES AP            CA
64829   2FMPK4J95LBA15069   Ford         EDGE                ONTARIO                   CA
64830   2FMPK4J95LBA15072   Ford         EDGE                LOS ANGELES               CA
64831   2FMPK4J95LBA15086   Ford         EDGE                SAN DIEGO                 CA
64832   2FMPK4J95LBA15105   Ford         EDGE                SACRAMENTO                CA
64833   2FMPK4J95LBA15119   Ford         EDGE                ALBUQUERQUE               NM
64834   2FMPK4J95LBA15122   Ford         EDGE                SACRAMENTO                CA
64835   2FMPK4J95LBA15153   Ford         EDGE                SACRAMENTO                CA
64836   2FMPK4J95LBA15184   Ford         EDGE                FORT LAUDERDALE           FL
64837   2FMPK4J95LBA15198   Ford         EDGE                FORT MYERS                FL
64838   2FMPK4J95LBA15203   Ford         EDGE                ORLANDO                   FL
64839   2FMPK4J95LBA15217   Ford         EDGE                FORT MYERS                FL
64840   2FMPK4J95LBA15220   Ford         EDGE                Roanoke                   VA
64841   2FMPK4J95LBA15248   Ford         EDGE                ONTARIO                   CA
64842   2FMPK4J95LBA15251   Ford         EDGE                CLOVIS                    CA
64843   2FMPK4J95LBA15265   Ford         EDGE                LOS ANGELES               CA
64844   2FMPK4J95LBA15279   Ford         EDGE                LOS ANGELES AP            CA
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64845   2FMPK4J95LBA15282   Ford         EDGE                SEATAC                    WA
64846   2FMPK4J95LBA15296   Ford         EDGE                ORANGE COUNTY             CA
64847   2FMPK4J95LBA15301   Ford         EDGE                SAN DIEGO                 CA
64848   2FMPK4J95LBA15363   Ford         EDGE                WEST PALM BEACH           FL
64849   2FMPK4J95LBA15377   Ford         EDGE                DETROIT                   MI
64850   2FMPK4J95LBA15380   Ford         EDGE                CHICAGO                   IL
64851   2FMPK4J95LBA28548   Ford         EDGE                DES MOINES                IA
64852   2FMPK4J95LBA28551   Ford         EDGE                CHICAGO                   IL
64853   2FMPK4J95LBA28565   Ford         EDGE                JACKSONVILLE              FL
64854   2FMPK4J95LBA28579   Ford         EDGE                GRAND RAPIDS              MI
64855   2FMPK4J95LBA28582   Ford         EDGE                CHICAGO                   IL
64856   2FMPK4J95LBA28632   Ford         EDGE                HOUSTON                   TX
64857   2FMPK4J95LBA28677   Ford         EDGE                Colorado Spring           CO
64858   2FMPK4J95LBA28694   Ford         EDGE                KNOXVILLE                 TN
64859   2FMPK4J95LBA28890   Ford         EDGE                MIAMI                     FL
64860   2FMPK4J95LBA28923   Ford         EDGE                TAMPA                     FL
64861   2FMPK4J95LBA28937   Ford         EDGE                WEST PALM BEACH           FL
64862   2FMPK4J95LBA28940   Ford         EDGE                MIAMI                     FL
64863   2FMPK4J95LBA28971   Ford         EDGE                STERLING                  VA
64864   2FMPK4J95LBA28985   Ford         EDGE                SANTA ANA                 CA
64865   2FMPK4J95LBA28999   Ford         EDGE                LAS VEGAS                 NV
64866   2FMPK4J95LBA29005   Ford         EDGE                Phoenix                   AZ
64867   2FMPK4J95LBA29019   Ford         EDGE                MELROSE PARK              IL
64868   2FMPK4J95LBA29022   Ford         EDGE                DES MOINES                IA
64869   2FMPK4J95LBA29084   Ford         EDGE                CHARLESTON                SC
64870   2FMPK4J95LBA29098   Ford         EDGE                Lake in the Hil           IL
64871   2FMPK4J95LBA29103   Ford         EDGE                PHILADELPHIA              PA
64872   2FMPK4J95LBA29117   Ford         EDGE                JAMAICA                   NY
64873   2FMPK4J95LBA29120   Ford         EDGE                BALTIMORE                 MD
64874   2FMPK4J95LBA29313   Ford         EDGE                ALBANY                    N
64875   2FMPK4J95LBA29330   Ford         EDGE                FORT LAUDERDALE           FL
64876   2FMPK4J95LBA29344   Ford         EDGE                ORLANDO                   FL
64877   2FMPK4J95LBA29361   Ford         EDGE                FORT LAUDERDALE           FL
64878   2FMPK4J95LBA29375   Ford         EDGE                DANIA BEACH               FL
64879   2FMPK4J95LBA29585   Ford         EDGE                ORLANDO                   FL
64880   2FMPK4J95LBA29604   Ford         EDGE                WEST PALM BEACH           FL
64881   2FMPK4J95LBA29618   Ford         EDGE                MIAMI                     FL
64882   2FMPK4J95LBA29621   Ford         EDGE                MIAMI                     FL
64883   2FMPK4J95LBA29683   Ford         EDGE                ORLANDO                   FL
64884   2FMPK4J95LBA29702   Ford         EDGE                ATLANTA                   GA
64885   2FMPK4J95LBA29814   Ford         EDGE                PORTLAND                  OR
64886   2FMPK4J95LBA29859   Ford         EDGE                SACRAMENTO                CA
64887   2FMPK4J95LBA29893   Ford         EDGE                FORT MYERS                FL
64888   2FMPK4J95LBA29909   Ford         EDGE                FORT MYERS                FL
64889   2FMPK4J95LBA29926   Ford         EDGE                WEST PALM BEACH           FL
64890   2FMPK4J95LBA30087   Ford         EDGE                ORLANDO                   FL
64891   2FMPK4J95LBA30090   Ford         EDGE                NORFOLK                   VA
64892   2FMPK4J95LBA30140   Ford         EDGE                Tampa                     FL
64893   2FMPK4J95LBA30199   Ford         EDGE                SAN JOSE                  CA
64894   2FMPK4J95LBA30204   Ford         EDGE                LOS ANGELES               CA
64895   2FMPK4J95LBA30218   Ford         EDGE                SAINT PAUL                MN
64896   2FMPK4J95LBA30221   Ford         EDGE                SACRAMENTO                CA
64897   2FMPK4J95LBA30235   Ford         EDGE                SAN FRANCISCO             CA
64898   2FMPK4J95LBA30249   Ford         EDGE                MIAMI                     FL
64899   2FMPK4J95LBA30252   Ford         EDGE                Miami                     FL
64900   2FMPK4J95LBA44085   Ford         EDGE                CHARLESTON                SC
64901   2FMPK4J95LBA44099   Ford         EDGE                WEST COLUMBIA             SC
64902   2FMPK4J95LBA44488   Ford         EDGE                RONKONKOMA                NY
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64903   2FMPK4J95LBA44510   Ford         EDGE                PHOENIX                   AZ
64904   2FMPK4J95LBA44569   Ford         EDGE                HARTFORD                  CT
64905   2FMPK4J95LBA44619   Ford         EDGE                STERLING                  VA
64906   2FMPK4J95LBA44622   Ford         EDGE                PENSACOLA                 FL
64907   2FMPK4J95LBA44636   Ford         EDGE                WHITE PLAINS              NY
64908   2FMPK4J95LBA44653   Ford         EDGE                JAMAICA                   NY
64909   2FMPK4J95LBA44667   Ford         EDGE                BOSTON                    MA
64910   2FMPK4J95LBA44670   Ford         EDGE                NEWARK                    NJ
64911   2FMPK4J95LBA44684   Ford         EDGE                SAINT PAUL                MN
64912   2FMPK4J95LBA44698   Ford         EDGE                NORFOLK                   VA
64913   2FMPK4J95LBA44703   Ford         EDGE                MANCHESTER                US
64914   2FMPK4J95LBA44717   Ford         EDGE                BUFFALO                   NY
64915   2FMPK4J95LBA44720   Ford         EDGE                NEW YORK CITY             NY
64916   2FMPK4J95LBA44734   Ford         EDGE                Manheim                   PA
64917   2FMPK4J95LBA44748   Ford         EDGE                RONKONKOMA                NY
64918   2FMPK4J95LBA44751   Ford         EDGE                KINGSTON                  MA
64919   2FMPK4J95LBA44815   Ford         EDGE                BOSTON                    MA
64920   2FMPK4J95LBA44913   Ford         EDGE                SARASOTA                  FL
64921   2FMPK4J95LBA44958   Ford         EDGE                Hamilton                  OH
64922   2FMPK4J95LBA44961   Ford         EDGE                CLEVELAND                 OH
64923   2FMPK4J95LBA44975   Ford         EDGE                PITTSBURGH                PA
64924   2FMPK4J95LBA44989   Ford         EDGE                Coraopolis                PA
64925   2FMPK4J95LBA44992   Ford         EDGE                Atlanta                   GA
64926   2FMPK4J95LBA45009   Ford         EDGE                SOUTH BEND                IN
64927   2FMPK4J95LBA45012   Ford         EDGE                PITTSBURGH                PA
64928   2FMPK4J95LBA45110   Ford         EDGE                FORT MYERS                FL
64929   2FMPK4J95LBA45138   Ford         EDGE                PORTLAND                  ME
64930   2FMPK4J95LBA45303   Ford         EDGE                LOS ANGELES               CA
64931   2FMPK4J95LBA55006   Ford         EDGE                NEW BERN                  NC
64932   2FMPK4J95LBA55037   Ford         EDGE                ORANGE COUNTY             CA
64933   2FMPK4J95LBA55135   Ford         EDGE                COLUMBUS                  OH
64934   2FMPK4J95LBA55149   Ford         EDGE                SOUTH BURLINGTO           VT
64935   2FMPK4J95LBA55152   Ford         EDGE                KNOXVILLE                 TN
64936   2FMPK4J95LBA55166   Ford         EDGE                PITTSBURGH                PA
64937   2FMPK4J95LBA55250   Ford         EDGE                LOS ANGELES               CA
64938   2FMPK4J95LBA55314   Ford         EDGE                FRESNO                    CA
64939   2FMPK4J95LBA55328   Ford         EDGE                PALM SPRINGS              CA
64940   2FMPK4J95LBA55345   Ford         EDGE                SAN DIEGO                 CA
64941   2FMPK4J95LBA55376   Ford         EDGE                NORFOLK                   VA
64942   2FMPK4J95LBA70458   Ford         EDGE                CHARLOTTE                 NC
64943   2FMPK4J95LBA70461   Ford         EDGE                JACKSON                   MS
64944   2FMPK4J95LBA70475   Ford         EDGE                CHARLOTTE                 NC
64945   2FMPK4J95LBA70511   Ford         EDGE                CHICAGO                   IL
64946   2FMPK4J95LBA70525   Ford         EDGE                CHICAGO                   IL
64947   2FMPK4J95LBA70542   Ford         EDGE                INDIANAPOLIS              IN
64948   2FMPK4J95LBA70587   Ford         EDGE                DETROIT                   MI
64949   2FMPK4J95LBA70590   Ford         EDGE                DETROIT                   MI
64950   2FMPK4J95LBA70606   Ford         EDGE                GRAND RAPIDS              MI
64951   2FMPK4J95LBA70637   Ford         EDGE                CLEVELAND                 OH
64952   2FMPK4J95LBA70640   Ford         EDGE                CLEVELAND                 OH
64953   2FMPK4J95LBA71058   Ford         EDGE                DALLAS                    TX
64954   2FMPK4J95LBA71108   Ford         EDGE                NORFOLK                   VA
64955   2FMPK4J95LBA71111   Ford         EDGE                PHILADELPHIA              PA
64956   2FMPK4J95LBA71173   Ford         EDGE                BOSTON                    MA
64957   2FMPK4J95LBA71190   Ford         EDGE                RICHMOND                  VA
64958   2FMPK4J95LBA71223   Ford         EDGE                LOS ANGELES AP            CA
64959   2FMPK4J95LBA71318   Ford         EDGE                RICHMOND                  VA
64960   2FMPK4J95LBA71366   Ford         EDGE                CHICAGO                   IL
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64961   2FMPK4J95LBA71383   Ford         EDGE                STERLING                  VA
64962   2FMPK4J95LBA71402   Ford         EDGE                STERLING                  VA
64963   2FMPK4J95LBA71447   Ford         EDGE                STERLING                  US
64964   2FMPK4J95LBA71450   Ford         EDGE                NASHVILLE                 TN
64965   2FMPK4J95LBA71478   Ford         EDGE                PHILADELPHIA              PA
64966   2FMPK4J95LBA71481   Ford         EDGE                STERLING                  VA
64967   2FMPK4J95LBA71500   Ford         EDGE                STERLING                  VA
64968   2FMPK4J95LBA71514   Ford         EDGE                STERLING                  US
64969   2FMPK4J95LBA71559   Ford         EDGE                STERLING                  VA
64970   2FMPK4J95LBA71562   Ford         EDGE                Hebron                    KY
64971   2FMPK4J95LBA71576   Ford         EDGE                STERLING                  VA
64972   2FMPK4J96KBB89926   Ford         EDGE                HILO                      HI
64973   2FMPK4J96KBB90333   Ford         EDGE                Atlanta                   GA
64974   2FMPK4J96KBB90400   Ford         EDGE                Burien                    WA
64975   2FMPK4J96KBB90607   Ford         EDGE                Slidell                   LA
64976   2FMPK4J96KBB90641   Ford         EDGE                Chicago                   IL
64977   2FMPK4J96KBB90655   Ford         EDGE                SAINT PAUL                MN
64978   2FMPK4J96KBC03680   Ford         EDGE                MILWAUKEE                 WI
64979   2FMPK4J96KBC03825   Ford         EDGE                Fontana                   CA
64980   2FMPK4J96KBC24206   Ford         EDGE                MARIETTA                  GA
64981   2FMPK4J96LBA14853   Ford         EDGE                TUCSON                    AZ
64982   2FMPK4J96LBA14867   Ford         EDGE                EL PASO                   TX
64983   2FMPK4J96LBA14870   Ford         EDGE                PHOENIX                   AZ
64984   2FMPK4J96LBA14884   Ford         EDGE                ORLANDO                   FL
64985   2FMPK4J96LBA15047   Ford         EDGE                ORANGE COUNTY             CA
64986   2FMPK4J96LBA15050   Ford         EDGE                LAS VEGAS                 NV
64987   2FMPK4J96LBA15064   Ford         EDGE                LOS ANGELES               CA
64988   2FMPK4J96LBA15078   Ford         EDGE                LOS ANGELES               CA
64989   2FMPK4J96LBA15081   Ford         EDGE                SANTA ANA                 CA
64990   2FMPK4J96LBA15095   Ford         EDGE                FORT MYERS                FL
64991   2FMPK4J96LBA15100   Ford         EDGE                FRESNO                    CA
64992   2FMPK4J96LBA15114   Ford         EDGE                SAN FRANCISCO             CA
64993   2FMPK4J96LBA15128   Ford         EDGE                SAN JOSE                  CA
64994   2FMPK4J96LBA15131   Ford         EDGE                LAS VEGAS                 NV
64995   2FMPK4J96LBA15145   Ford         EDGE                SAN DIEGO                 CA
64996   2FMPK4J96LBA15176   Ford         EDGE                FORT LAUDERDALE           FL
64997   2FMPK4J96LBA15193   Ford         EDGE                JACKSONVILLE              FL
64998   2FMPK4J96LBA15212   Ford         EDGE                JACKSONVILLE              FL
64999   2FMPK4J96LBA15257   Ford         EDGE                LAS VEGAS                 NV
65000   2FMPK4J96LBA15260   Ford         EDGE                SACRAMENTO                CA
65001   2FMPK4J96LBA15274   Ford         EDGE                LOS ANGELES               CA
65002   2FMPK4J96LBA15288   Ford         EDGE                SAN JOSE                  CA
65003   2FMPK4J96LBA15291   Ford         EDGE                PALM SPRINGS              CA
65004   2FMPK4J96LBA15307   Ford         EDGE                Irving                    TX
65005   2FMPK4J96LBA15310   Ford         EDGE                SAN FRANCISCO             CA
65006   2FMPK4J96LBA15355   Ford         EDGE                ORLANDO                   FL
65007   2FMPK4J96LBA15369   Ford         EDGE                FORT MYERS                FL
65008   2FMPK4J96LBA15372   Ford         EDGE                MANCHESTER                US
65009   2FMPK4J96LBA15386   Ford         EDGE                ROANOKE                   VA
65010   2FMPK4J96LBA28543   Ford         EDGE                LAS VEGAS                 NV
65011   2FMPK4J96LBA28557   Ford         EDGE                DFW AIRPORT               TX
65012   2FMPK4J96LBA28560   Ford         EDGE                SARASOTA                  FL
65013   2FMPK4J96LBA28574   Ford         EDGE                CHICAGO                   IL
65014   2FMPK4J96LBA28591   Ford         EDGE                DALLAS                    TX
65015   2FMPK4J96LBA28686   Ford         EDGE                DFW AIRPORT               TX
65016   2FMPK4J96LBA28901   Ford         EDGE                MIAMI                     FL
65017   2FMPK4J96LBA28915   Ford         EDGE                ORLANDO                   FL
65018   2FMPK4J96LBA28929   Ford         EDGE                TAMPA                     US
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65019   2FMPK4J96LBA28932   Ford         EDGE                MIAMI                     FL
65020   2FMPK4J96LBA28946   Ford         EDGE                MIAMI                     FL
65021   2FMPK4J96LBA28963   Ford         EDGE                TAMPA                     FL
65022   2FMPK4J96LBA28977   Ford         EDGE                SACRAMENTO                CA
65023   2FMPK4J96LBA29000   Ford         EDGE                BURBANK                   CA
65024   2FMPK4J96LBA29014   Ford         EDGE                Irving                    TX
65025   2FMPK4J96LBA29028   Ford         EDGE                SAINT PAUL                MN
65026   2FMPK4J96LBA29031   Ford         EDGE                MINNEAPOLIS               MN
65027   2FMPK4J96LBA29076   Ford         EDGE                Teterboro                 NJ
65028   2FMPK4J96LBA29109   Ford         EDGE                FORT LAUDERDALE           FL
65029   2FMPK4J96LBA29112   Ford         EDGE                PHILADELPHIA              PA
65030   2FMPK4J96LBA29207   Ford         EDGE                MIAMI                     FL
65031   2FMPK4J96LBA29319   Ford         EDGE                WEST PALM BEACH           FL
65032   2FMPK4J96LBA29353   Ford         EDGE                SARASOTA                  FL
65033   2FMPK4J96LBA29367   Ford         EDGE                TAMPA                     FL
65034   2FMPK4J96LBA29370   Ford         EDGE                ORLANDO                   FL
65035   2FMPK4J96LBA29580   Ford         EDGE                BALTIMORE                 MD
65036   2FMPK4J96LBA29594   Ford         EDGE                TAMPA                     FL
65037   2FMPK4J96LBA29627   Ford         EDGE                CLEVELAND                 OH
65038   2FMPK4J96LBA29644   Ford         EDGE                ORLANDO                   FL
65039   2FMPK4J96LBA29658   Ford         EDGE                ORLANDO                   FL
65040   2FMPK4J96LBA29675   Ford         EDGE                ORLANDO                   FL
65041   2FMPK4J96LBA29689   Ford         EDGE                FORT MYERS                FL
65042   2FMPK4J96LBA29692   Ford         EDGE                TAMPA                     FL
65043   2FMPK4J96LBA29708   Ford         EDGE                FORT LAUDERDALE           FL
65044   2FMPK4J96LBA29711   Ford         EDGE                FORT LAUDERDALE           FL
65045   2FMPK4J96LBA29806   Ford         EDGE                SEATAC                    WA
65046   2FMPK4J96LBA29823   Ford         EDGE                PHOENIX                   AZ
65047   2FMPK4J96LBA29854   Ford         EDGE                ORANGE COUNTY             CA
65048   2FMPK4J96LBA29871   Ford         EDGE                CLOVIS                    CA
65049   2FMPK4J96LBA29899   Ford         EDGE                TAMPA                     FL
65050   2FMPK4J96LBA29904   Ford         EDGE                ORLANDO                   FL
65051   2FMPK4J96LBA29918   Ford         EDGE                FORT LAUDERDALE           FL
65052   2FMPK4J96LBA29921   Ford         EDGE                BIRMINGHAM                AL
65053   2FMPK4J96LBA29935   Ford         EDGE                COCOA                     FL
65054   2FMPK4J96LBA30079   Ford         EDGE                FORT MYERS                FL
65055   2FMPK4J96LBA30082   Ford         EDGE                Miami                     FL
65056   2FMPK4J96LBA30096   Ford         EDGE                COLUMBIA                  SC
65057   2FMPK4J96LBA30101   Ford         EDGE                TAMPA                     FL
65058   2FMPK4J96LBA30146   Ford         EDGE                ORLANDO                   FL
65059   2FMPK4J96LBA30163   Ford         EDGE                LOS ANGELES               CA
65060   2FMPK4J96LBA30177   Ford         EDGE                OAKLAND                   CA
65061   2FMPK4J96LBA30180   Ford         EDGE                SAN FRANCISCO             CA
65062   2FMPK4J96LBA30213   Ford         EDGE                DES MOINES                IA
65063   2FMPK4J96LBA30227   Ford         EDGE                SAN FRANCISCO             CA
65064   2FMPK4J96LBA30230   Ford         EDGE                FRESNO                    CA
65065   2FMPK4J96LBA30258   Ford         EDGE                ORLANDO                   FL
65066   2FMPK4J96LBA30261   Ford         EDGE                NEWARK                    NJ
65067   2FMPK4J96LBA44483   Ford         EDGE                Atlanta                   GA
65068   2FMPK4J96LBA44581   Ford         EDGE                BOSTON                    MA
65069   2FMPK4J96LBA44595   Ford         EDGE                HARTFORD                  CT
65070   2FMPK4J96LBA44600   Ford         EDGE                RALIEGH                   NC
65071   2FMPK4J96LBA44628   Ford         EDGE                PHILADELPHIA              PA
65072   2FMPK4J96LBA44645   Ford         EDGE                WHITE PLAINS              NY
65073   2FMPK4J96LBA44659   Ford         EDGE                STERLING                  VA
65074   2FMPK4J96LBA44662   Ford         EDGE                CHARLESTON                SC
65075   2FMPK4J96LBA44676   Ford         EDGE                Massapequa                NY
65076   2FMPK4J96LBA44693   Ford         EDGE                Baltimore                 MD
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65077   2FMPK4J96LBA44709   Ford         EDGE                WARWICK                   RI
65078   2FMPK4J96LBA44743   Ford         EDGE                SPRINGFIELD               VA
65079   2FMPK4J96LBA44807   Ford         EDGE                ORLANDO                   FL
65080   2FMPK4J96LBA44810   Ford         EDGE                HOUSTON                   TX
65081   2FMPK4J96LBA44970   Ford         EDGE                CLEVELAND                 OH
65082   2FMPK4J96LBA44984   Ford         EDGE                Coraopolis                PA
65083   2FMPK4J96LBA44998   Ford         EDGE                Coraopolis                PA
65084   2FMPK4J96LBA45004   Ford         EDGE                NORFOLK                   VA
65085   2FMPK4J96LBA45018   Ford         EDGE                PHILADELPHIA              PA
65086   2FMPK4J96LBA45309   Ford         EDGE                FORT MYERS                FL
65087   2FMPK4J96LBA55029   Ford         EDGE                INDIANAPOLIS              IN
65088   2FMPK4J96LBA55032   Ford         EDGE                GRAND RAPIDS              MI
65089   2FMPK4J96LBA55046   Ford         EDGE                CHICAGO                   IL
65090   2FMPK4J96LBA55113   Ford         EDGE                SAINT PAUL                MN
65091   2FMPK4J96LBA55144   Ford         EDGE                SYRACUSE                  NY
65092   2FMPK4J96LBA55158   Ford         EDGE                HARTFORD                  CT
65093   2FMPK4J96LBA55161   Ford         EDGE                WARWICK                   RI
65094   2FMPK4J96LBA55256   Ford         EDGE                SPOKANE                   WA
65095   2FMPK4J96LBA55371   Ford         EDGE                HAMPTON                   VA
65096   2FMPK4J96LBA70467   Ford         EDGE                CHARLOTTE                 NC
65097   2FMPK4J96LBA70548   Ford         EDGE                DETROIT                   MI
65098   2FMPK4J96LBA70551   Ford         EDGE                WOODSON TERRACE           MO
65099   2FMPK4J96LBA70565   Ford         EDGE                DETROIT                   MI
65100   2FMPK4J96LBA70579   Ford         EDGE                DETROIT                   MI
65101   2FMPK4J96LBA70596   Ford         EDGE                DETROIT                   MI
65102   2FMPK4J96LBA70615   Ford         EDGE                Hebron                    KY
65103   2FMPK4J96LBA70629   Ford         EDGE                Detroit                   MI
65104   2FMPK4J96LBA70646   Ford         EDGE                DETROIT                   MI
65105   2FMPK4J96LBA70663   Ford         EDGE                DETROIT                   MI
65106   2FMPK4J96LBA70677   Ford         EDGE                KANSAS CITY               MO
65107   2FMPK4J96LBA70694   Ford         EDGE                KANSAS CITY               MO
65108   2FMPK4J96LBA71053   Ford         EDGE                STERLING                  VA
65109   2FMPK4J96LBA71084   Ford         EDGE                BALTIMORE                 MD
65110   2FMPK4J96LBA71103   Ford         EDGE                Aberdeen                  MD
65111   2FMPK4J96LBA71117   Ford         EDGE                PITTSBURGH                PA
65112   2FMPK4J96LBA71151   Ford         EDGE                PITTSBURGH                PA
65113   2FMPK4J96LBA71165   Ford         EDGE                KNOXVILLE                 TN
65114   2FMPK4J96LBA71246   Ford         EDGE                ALEXANDRIA                VA
65115   2FMPK4J96LBA71361   Ford         EDGE                ATLANTA                   GA
65116   2FMPK4J96LBA71375   Ford         EDGE                STERLING                  VA
65117   2FMPK4J96LBA71389   Ford         EDGE                STERLING                  VA
65118   2FMPK4J96LBA71392   Ford         EDGE                HANOVER                   MD
65119   2FMPK4J96LBA71408   Ford         EDGE                STERLING                  VA
65120   2FMPK4J96LBA71411   Ford         EDGE                STERLING                  VA
65121   2FMPK4J96LBA71425   Ford         EDGE                PORTLAND                  ME
65122   2FMPK4J96LBA71439   Ford         EDGE                STERLING                  VA
65123   2FMPK4J96LBA71442   Ford         EDGE                STERLING                  VA
65124   2FMPK4J96LBA71456   Ford         EDGE                STERLING                  VA
65125   2FMPK4J96LBA71487   Ford         EDGE                RALEIGH                   NC
65126   2FMPK4J96LBA71506   Ford         EDGE                WHITE PLAINS              NY
65127   2FMPK4J96LBA71523   Ford         EDGE                STERLING                  US
65128   2FMPK4J96LBA71540   Ford         EDGE                STERLING                  VA
65129   2FMPK4J96LBA71554   Ford         EDGE                STERLING                  VA
65130   2FMPK4J96LBA71568   Ford         EDGE                STERLING                  US
65131   2FMPK4J96LBA71571   Ford         EDGE                STERLING                  VA
65132   2FMPK4J96LBA71585   Ford         EDGE                STERLING                  VA
65133   2FMPK4J97KBB89921   Ford         EDGE                HILO                      HI
65134   2FMPK4J97KBB90275   Ford         EDGE                Houston                   TX
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65135   2FMPK4J97KBB90423   Ford         EDGE                San Diego                 CA
65136   2FMPK4J97KBC03400   Ford         EDGE                FORT MYERS                FL
65137   2FMPK4J97KBC03428   Ford         EDGE                Coraopolis                PA
65138   2FMPK4J97KBC03672   Ford         EDGE                Philadelphia              PA
65139   2FMPK4J97KBC03753   Ford         EDGE                LAS VEGAS                 NV
65140   2FMPK4J97KBC03820   Ford         EDGE                SAN DIEGO                 US
65141   2FMPK4J97KBC24246   Ford         EDGE                SANTA ANA                 CA
65142   2FMPK4J97KBC24263   Ford         EDGE                FRESNO                    CA
65143   2FMPK4J97LBA14862   Ford         EDGE                LUBBOCK                   TX
65144   2FMPK4J97LBA14876   Ford         EDGE                ROCHESTER                 NY
65145   2FMPK4J97LBA15056   Ford         EDGE                BURBANK                   CA
65146   2FMPK4J97LBA15073   Ford         EDGE                SANTA ANA                 CA
65147   2FMPK4J97LBA15087   Ford         EDGE                PHOENIX                   AZ
65148   2FMPK4J97LBA15090   Ford         EDGE                Downey                    CA
65149   2FMPK4J97LBA15123   Ford         EDGE                OAKLAND                   CA
65150   2FMPK4J97LBA15137   Ford         EDGE                LOS ANGELES               CA
65151   2FMPK4J97LBA15140   Ford         EDGE                KNOXVILLE                 TN
65152   2FMPK4J97LBA15154   Ford         EDGE                LOS ANGELES               CA
65153   2FMPK4J97LBA15185   Ford         EDGE                MIAMI                     FL
65154   2FMPK4J97LBA15199   Ford         EDGE                ORLANDO                   FL
65155   2FMPK4J97LBA15204   Ford         EDGE                ALBUQERQUE                NM
65156   2FMPK4J97LBA15218   Ford         EDGE                FORT LAUDERDALE           FL
65157   2FMPK4J97LBA15221   Ford         EDGE                Teterboro                 NJ
65158   2FMPK4J97LBA15249   Ford         EDGE                INGLEWOOD                 CA
65159   2FMPK4J97LBA15252   Ford         EDGE                LOS ANGELES               CA
65160   2FMPK4J97LBA15266   Ford         EDGE                BURBANK                   CA
65161   2FMPK4J97LBA15283   Ford         EDGE                SAN JOSE                  CA
65162   2FMPK4J97LBA15297   Ford         EDGE                FRESNO                    CA
65163   2FMPK4J97LBA15302   Ford         EDGE                PALM SPRINGS              CA
65164   2FMPK4J97LBA15347   Ford         EDGE                TAMPA                     FL
65165   2FMPK4J97LBA15350   Ford         EDGE                FORT MYERS                FL
65166   2FMPK4J97LBA15364   Ford         EDGE                ORLANDO                   FL
65167   2FMPK4J97LBA15378   Ford         EDGE                CLEVELAND                 OH
65168   2FMPK4J97LBA15381   Ford         EDGE                SARASOTA                  FL
65169   2FMPK4J97LBA28535   Ford         EDGE                INDIANAPOLIS              IN
65170   2FMPK4J97LBA28549   Ford         EDGE                KNOXVILLE                 TN
65171   2FMPK4J97LBA28552   Ford         EDGE                CHICAGO O'HARE AP         IL
65172   2FMPK4J97LBA28566   Ford         EDGE                GRAND RAPIDS              MI
65173   2FMPK4J97LBA28602   Ford         EDGE                KNOXVILLE                 TN
65174   2FMPK4J97LBA28650   Ford         EDGE                Denver                    CO
65175   2FMPK4J97LBA28924   Ford         EDGE                SAINT LOUIS               MO
65176   2FMPK4J97LBA28938   Ford         EDGE                MIAMI                     FL
65177   2FMPK4J97LBA28941   Ford         EDGE                WEST PALM BEACH           FL
65178   2FMPK4J97LBA28955   Ford         EDGE                TAMPA                     FL
65179   2FMPK4J97LBA28969   Ford         EDGE                LAS VEGAS                 NV
65180   2FMPK4J97LBA28972   Ford         EDGE                Santa Clara               CA
65181   2FMPK4J97LBA28986   Ford         EDGE                LAS VEGAS                 NV
65182   2FMPK4J97LBA29023   Ford         EDGE                SAINT PAUL                MN
65183   2FMPK4J97LBA29085   Ford         EDGE                Philadelphia              PA
65184   2FMPK4J97LBA29099   Ford         EDGE                BOSTON                    MA
65185   2FMPK4J97LBA29104   Ford         EDGE                WARWICK                   RI
65186   2FMPK4J97LBA29118   Ford         EDGE                Massapequa                NY
65187   2FMPK4J97LBA29121   Ford         EDGE                NEW YORK CITY             NY
65188   2FMPK4J97LBA29314   Ford         EDGE                SAINT PAUL                MN
65189   2FMPK4J97LBA29331   Ford         EDGE                FORT LAUDERDALE           FL
65190   2FMPK4J97LBA29345   Ford         EDGE                WEST PALM BEACH           FL
65191   2FMPK4J97LBA29359   Ford         EDGE                FORT MYERS                FL
65192   2FMPK4J97LBA29362   Ford         EDGE                DES MOINES                IA
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65193   2FMPK4J97LBA29376   Ford         EDGE                JACKSONVILLE              FL
65194   2FMPK4J97LBA29605   Ford         EDGE                ORLANDO                   FL
65195   2FMPK4J97LBA29619   Ford         EDGE                BLOOMINGTON               IL
65196   2FMPK4J97LBA29667   Ford         EDGE                HOLLY HILL                FL
65197   2FMPK4J97LBA29684   Ford         EDGE                SARASOTA                  FL
65198   2FMPK4J97LBA29717   Ford         EDGE                MIAMI                     FL
65199   2FMPK4J97LBA29720   Ford         EDGE                Maple Grove               MN
65200   2FMPK4J97LBA29846   Ford         EDGE                SAN FRANCISCO             CA
65201   2FMPK4J97LBA29863   Ford         EDGE                LAS VEGAS                 NV
65202   2FMPK4J97LBA29927   Ford         EDGE                ORLANDO                   FL
65203   2FMPK4J97LBA29930   Ford         EDGE                FORT MYERS                FL
65204   2FMPK4J97LBA30074   Ford         EDGE                Hamilton                  OH
65205   2FMPK4J97LBA30107   Ford         EDGE                ORLANDO                   FL
65206   2FMPK4J97LBA30138   Ford         EDGE                JACKSONVILLE              FL
65207   2FMPK4J97LBA30141   Ford         EDGE                ORLANDO                   FL
65208   2FMPK4J97LBA30155   Ford         EDGE                WEST PALM BEACH           FL
65209   2FMPK4J97LBA30172   Ford         EDGE                Torrance                  CA
65210   2FMPK4J97LBA30186   Ford         EDGE                SAN JOSE                  CA
65211   2FMPK4J97LBA30219   Ford         EDGE                SAINT PAUL                MN
65212   2FMPK4J97LBA30222   Ford         EDGE                SAN FRANCISCO             CA
65213   2FMPK4J97LBA30236   Ford         EDGE                JACKSONVILLE              FL
65214   2FMPK4J97LBA44072   Ford         EDGE                WEST PALM BEACH           FL
65215   2FMPK4J97LBA44086   Ford         EDGE                MYRTLE BEACH              SC
65216   2FMPK4J97LBA44492   Ford         EDGE                FORT MYERS                FL
65217   2FMPK4J97LBA44508   Ford         EDGE                JACKSONVILLE              FL
65218   2FMPK4J97LBA44525   Ford         EDGE                ORLANDO                   FL
65219   2FMPK4J97LBA44590   Ford         EDGE                PHILADELPHIA              PA
65220   2FMPK4J97LBA44606   Ford         EDGE                ALLENTOWN                 US
65221   2FMPK4J97LBA44623   Ford         EDGE                PHILADELPHIA              PA
65222   2FMPK4J97LBA44637   Ford         EDGE                ALBANY                    NY
65223   2FMPK4J97LBA44640   Ford         EDGE                JAMAICA                   NY
65224   2FMPK4J97LBA44668   Ford         EDGE                BOSTON                    MA
65225   2FMPK4J97LBA44671   Ford         EDGE                RONKONKOMA                NY
65226   2FMPK4J97LBA44699   Ford         EDGE                NEWARK                    NJ
65227   2FMPK4J97LBA44704   Ford         EDGE                TAMPA                     FL
65228   2FMPK4J97LBA44718   Ford         EDGE                EGG HARBOR TOWN           NJ
65229   2FMPK4J97LBA44721   Ford         EDGE                BLOOMINGTON               IL
65230   2FMPK4J97LBA44735   Ford         EDGE                Hebron                    KY
65231   2FMPK4J97LBA44749   Ford         EDGE                GREENVILLE                NC
65232   2FMPK4J97LBA44945   Ford         EDGE                ORLANDO                   FL
65233   2FMPK4J97LBA44959   Ford         EDGE                PITTSBURGH                PA
65234   2FMPK4J97LBA44962   Ford         EDGE                Coraopolis                PA
65235   2FMPK4J97LBA44976   Ford         EDGE                BUFFALO                   NY
65236   2FMPK4J97LBA45125   Ford         EDGE                BIRMINGHAN                AL
65237   2FMPK4J97LBA55007   Ford         EDGE                SARASOTA                  FL
65238   2FMPK4J97LBA55069   Ford         EDGE                CLEVELAND                 OH
65239   2FMPK4J97LBA55086   Ford         EDGE                JAMAICA                   NY
65240   2FMPK4J97LBA55251   Ford         EDGE                SANTA CLARA               CA
65241   2FMPK4J97LBA55265   Ford         EDGE                OAKLAND                   CA
65242   2FMPK4J97LBA55279   Ford         EDGE                SACRAMENTO                CA
65243   2FMPK4J97LBA55346   Ford         EDGE                FRESNO                    CA
65244   2FMPK4J97LBA55380   Ford         EDGE                RICHMOND                  VA
65245   2FMPK4J97LBA70459   Ford         EDGE                CHARLOTTE                 NC
65246   2FMPK4J97LBA70462   Ford         EDGE                KNOXVILLE                 TN
65247   2FMPK4J97LBA70476   Ford         EDGE                CHARLOTTE                 NC
65248   2FMPK4J97LBA70493   Ford         EDGE                GRAND RAPIDS              MI
65249   2FMPK4J97LBA70543   Ford         EDGE                GRAND RAPIDS              MI
65250   2FMPK4J97LBA70560   Ford         EDGE                DETROIT                   MI
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65251   2FMPK4J97LBA70591   Ford         EDGE                DETROIT                      MI
65252   2FMPK4J97LBA70610   Ford         EDGE                FAYETTEVILLE                 US
65253   2FMPK4J97LBA70638   Ford         EDGE                DETROIT                      MI
65254   2FMPK4J97LBA70641   Ford         EDGE                DALLAS                       TX
65255   2FMPK4J97LBA70655   Ford         EDGE                LAS VEGAS                    NV
65256   2FMPK4J97LBA70672   Ford         EDGE                KANSAS CITY                  MO
65257   2FMPK4J97LBA70719   Ford         EDGE                BURBANK                      CA
65258   2FMPK4J97LBA71112   Ford         EDGE                ALEXANDRIA                   VA
65259   2FMPK4J97LBA71126   Ford         EDGE                GREENSBORO                   NC
65260   2FMPK4J97LBA71160   Ford         EDGE                PHILADELPHIA                 PA
65261   2FMPK4J97LBA71174   Ford         EDGE                HARRISBURG                   PA
65262   2FMPK4J97LBA71188   Ford         EDGE                STERLING                     US
65263   2FMPK4J97LBA71191   Ford         EDGE                STERLING                     VA
65264   2FMPK4J97LBA71207   Ford         EDGE                BOSTON                       MA
65265   2FMPK4J97LBA71210   Ford         EDGE                NEWARK                       NJ
65266   2FMPK4J97LBA71255   Ford         EDGE                FORT LAUDERDALE              FL
65267   2FMPK4J97LBA71353   Ford         EDGE                KANSAS CITY                  MO
65268   2FMPK4J97LBA71370   Ford         EDGE                STERLING                     VA
65269   2FMPK4J97LBA71384   Ford         EDGE                CLEVELAND                    OH
65270   2FMPK4J97LBA71417   Ford         EDGE                PHILADELPHIA                 PA
65271   2FMPK4J97LBA71420   Ford         EDGE                WASHINGTON DC, NATIONAL AP   DC
65272   2FMPK4J97LBA71434   Ford         EDGE                GREENVILLE                   NC
65273   2FMPK4J97LBA71448   Ford         EDGE                JACKSONVILLE                 FL
65274   2FMPK4J97LBA71451   Ford         EDGE                STERLING                     VA
65275   2FMPK4J97LBA71482   Ford         EDGE                WEST COLUMBIA                SC
65276   2FMPK4J97LBA71501   Ford         EDGE                STERLING                     VA
65277   2FMPK4J97LBA71529   Ford         EDGE                STERLING                     VA
65278   2FMPK4J97LBA71532   Ford         EDGE                STERLING                     VA
65279   2FMPK4J97LBA71546   Ford         EDGE                STERLING                     VA
65280   2FMPK4J97LBA71563   Ford         EDGE                WASHINGTON DC, NATIONAL AP   DC
65281   2FMPK4J97LBA71577   Ford         EDGE                DETROIT                      MI
65282   2FMPK4J98KBB90222   Ford         EDGE                UNION CITY                   GA
65283   2FMPK4J98KBB90401   Ford         EDGE                Houston                      TX
65284   2FMPK4J98KBB90446   Ford         EDGE                Salt Lake City               UT
65285   2FMPK4J98KBB90611   Ford         EDGE                Webster                      NY
65286   2FMPK4J98KBC03406   Ford         EDGE                NEW BERN                     NC
65287   2FMPK4J98KBC03602   Ford         EDGE                NASHVILLE                    TN
65288   2FMPK4J98KBC03888   Ford         EDGE                Indianapolis                 IN
65289   2FMPK4J98KBC03907   Ford         EDGE                Baltimore                    MD
65290   2FMPK4J98KBC24210   Ford         EDGE                SPRINGFIELD                  VA
65291   2FMPK4J98KBC24269   Ford         EDGE                BURBANK                      CA
65292   2FMPK4J98KBC24272   Ford         EDGE                SAINT PAUL                   MN
65293   2FMPK4J98KBC24336   Ford         EDGE                DALLAS                       TX
65294   2FMPK4J98LBA14854   Ford         EDGE                ALBUQERQUE                   NM
65295   2FMPK4J98LBA14871   Ford         EDGE                SAN ANTONIO                  TX
65296   2FMPK4J98LBA14885   Ford         EDGE                CHARLOTTE                    US
65297   2FMPK4J98LBA14899   Ford         EDGE                BIRMINGHAM                   AL
65298   2FMPK4J98LBA15048   Ford         EDGE                FRESNO                       CA
65299   2FMPK4J98LBA15051   Ford         EDGE                LAS VEGAS                    NV
65300   2FMPK4J98LBA15065   Ford         EDGE                SOUTH SAN FRANC              CA
65301   2FMPK4J98LBA15079   Ford         EDGE                DALLAS                       TX
65302   2FMPK4J98LBA15082   Ford         EDGE                BURBANK                      CA
65303   2FMPK4J98LBA15096   Ford         EDGE                SAN DIEGO                    CA
65304   2FMPK4J98LBA15101   Ford         EDGE                BURBANK                      CA
65305   2FMPK4J98LBA15115   Ford         EDGE                SAN JOSE                     CA
65306   2FMPK4J98LBA15129   Ford         EDGE                WOODLAND HILLS               CA
65307   2FMPK4J98LBA15132   Ford         EDGE                OAKLAND                      CA
65308   2FMPK4J98LBA15146   Ford         EDGE                OAKLAND                      CA
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65309   2FMPK4J98LBA15180   Ford         EDGE                Hamilton                  OH
65310   2FMPK4J98LBA15194   Ford         EDGE                ASHEVILLE                 NC
65311   2FMPK4J98LBA15213   Ford         EDGE                WEST PALM BEACH           FL
65312   2FMPK4J98LBA15244   Ford         EDGE                SANTA ANA                 CA
65313   2FMPK4J98LBA15258   Ford         EDGE                Beaverton                 OR
65314   2FMPK4J98LBA15261   Ford         EDGE                SAN JOSE                  CA
65315   2FMPK4J98LBA15275   Ford         EDGE                SAN FRANCISCO             CA
65316   2FMPK4J98LBA15289   Ford         EDGE                PALM SPRINGS              CA
65317   2FMPK4J98LBA15292   Ford         EDGE                PALM SPRINGS              CA
65318   2FMPK4J98LBA15308   Ford         EDGE                ONTARIO                   CA
65319   2FMPK4J98LBA15356   Ford         EDGE                ATLANTA                   GA
65320   2FMPK4J98LBA15373   Ford         EDGE                FORT MYERS                FL
65321   2FMPK4J98LBA15387   Ford         EDGE                Miami                     FL
65322   2FMPK4J98LBA15390   Ford         EDGE                CORPUS CHRISTI            TX
65323   2FMPK4J98LBA28544   Ford         EDGE                MILWAUKEE                 WI
65324   2FMPK4J98LBA28558   Ford         EDGE                Rockville Centr           NY
65325   2FMPK4J98LBA28575   Ford         EDGE                INDIANAPOLIS              IN
65326   2FMPK4J98LBA28639   Ford         EDGE                JACKSONVILLE              FL
65327   2FMPK4J98LBA28687   Ford         EDGE                PHOENIX                   AZ
65328   2FMPK4J98LBA28690   Ford         EDGE                BALTIMORE                 MD
65329   2FMPK4J98LBA28916   Ford         EDGE                SARASOTA                  FL
65330   2FMPK4J98LBA28933   Ford         EDGE                DAYTONA BEACH             FL
65331   2FMPK4J98LBA28947   Ford         EDGE                Jacksonville              FL
65332   2FMPK4J98LBA28950   Ford         EDGE                TAMPA                     FL
65333   2FMPK4J98LBA28978   Ford         EDGE                SAN FRANCISCO             CA
65334   2FMPK4J98LBA28981   Ford         EDGE                SAN FRANCISCO             CA
65335   2FMPK4J98LBA28995   Ford         EDGE                LOS ANGELES               CA
65336   2FMPK4J98LBA29001   Ford         EDGE                RENO                      NV
65337   2FMPK4J98LBA29015   Ford         EDGE                SAINT PAUL                MN
65338   2FMPK4J98LBA29029   Ford         EDGE                SACRAMENTO                CA
65339   2FMPK4J98LBA29032   Ford         EDGE                SAINT PAUL                MN
65340   2FMPK4J98LBA29077   Ford         EDGE                STERLING                  VA
65341   2FMPK4J98LBA29080   Ford         EDGE                WHITE PLAINS              NY
65342   2FMPK4J98LBA29094   Ford         EDGE                St. Louis                 MO
65343   2FMPK4J98LBA29113   Ford         EDGE                SOUTH BURLINGTO           VT
65344   2FMPK4J98LBA29211   Ford         EDGE                ORLANDO                   FL
65345   2FMPK4J98LBA29323   Ford         EDGE                SYRACUSE                  NY
65346   2FMPK4J98LBA29337   Ford         EDGE                MIAMI                     FL
65347   2FMPK4J98LBA29354   Ford         EDGE                CHARLOTTE                 NC
65348   2FMPK4J98LBA29371   Ford         EDGE                ORLANDO                   FL
65349   2FMPK4J98LBA29578   Ford         EDGE                TAMPA                     FL
65350   2FMPK4J98LBA29581   Ford         EDGE                TAMPA                     FL
65351   2FMPK4J98LBA29595   Ford         EDGE                SAINT LOUIS               MO
65352   2FMPK4J98LBA29600   Ford         EDGE                ORLANDO                   FL
65353   2FMPK4J98LBA29628   Ford         EDGE                FORT MYERS                FL
65354   2FMPK4J98LBA29645   Ford         EDGE                SAINT LOUIS               MO
65355   2FMPK4J98LBA29659   Ford         EDGE                TULSA                     OK
65356   2FMPK4J98LBA29662   Ford         EDGE                ORLANDO                   FL
65357   2FMPK4J98LBA29676   Ford         EDGE                ATLANTA                   GA
65358   2FMPK4J98LBA29693   Ford         EDGE                MIAMI                     FL
65359   2FMPK4J98LBA29709   Ford         EDGE                DETROIT                   MI
65360   2FMPK4J98LBA29807   Ford         EDGE                SEATAC                    WA
65361   2FMPK4J98LBA29905   Ford         EDGE                TAMPA                     FL
65362   2FMPK4J98LBA29919   Ford         EDGE                DANIA BEACH               FL
65363   2FMPK4J98LBA29922   Ford         EDGE                FORT MYERS                FL
65364   2FMPK4J98LBA29936   Ford         EDGE                FORT MYERS                FL
65365   2FMPK4J98LBA30066   Ford         EDGE                ORLANDO                   FL
65366   2FMPK4J98LBA30097   Ford         EDGE                GRAND RAPIDS              MI
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65367   2FMPK4J98LBA30102   Ford         EDGE                MIAMI                     FL
65368   2FMPK4J98LBA30147   Ford         EDGE                MIAMI                     FL
65369   2FMPK4J98LBA30150   Ford         EDGE                MILWAUKEE                 WI
65370   2FMPK4J98LBA30164   Ford         EDGE                LAS VEGAS                 NV
65371   2FMPK4J98LBA30178   Ford         EDGE                PORTLAND                  OR
65372   2FMPK4J98LBA30181   Ford         EDGE                SOUTH SAN FRANC           CA
65373   2FMPK4J98LBA30200   Ford         EDGE                SAN JOSE                  CA
65374   2FMPK4J98LBA30214   Ford         EDGE                Baltimore                 MD
65375   2FMPK4J98LBA30231   Ford         EDGE                SANTA ANA                 CA
65376   2FMPK4J98LBA30245   Ford         EDGE                SARASOTA                  FL
65377   2FMPK4J98LBA30259   Ford         EDGE                TAMPA                     FL
65378   2FMPK4J98LBA30262   Ford         EDGE                MIAMI                     FL
65379   2FMPK4J98LBA44081   Ford         EDGE                BOSTON                    MA
65380   2FMPK4J98LBA44565   Ford         EDGE                INDIANAPOLIS              IN
65381   2FMPK4J98LBA44579   Ford         EDGE                MEMPHIS                   TN
65382   2FMPK4J98LBA44582   Ford         EDGE                Massapequa                NY
65383   2FMPK4J98LBA44601   Ford         EDGE                INDIANAPOLIS              IN
65384   2FMPK4J98LBA44629   Ford         EDGE                RONKONKOMA                NY
65385   2FMPK4J98LBA44646   Ford         EDGE                WARWICK                   RI
65386   2FMPK4J98LBA44663   Ford         EDGE                WEST COLUMBIA             SC
65387   2FMPK4J98LBA44677   Ford         EDGE                Philadelphia              PA
65388   2FMPK4J98LBA44680   Ford         EDGE                STERLING                  VA
65389   2FMPK4J98LBA44694   Ford         EDGE                Teterboro                 NJ
65390   2FMPK4J98LBA44713   Ford         EDGE                SYRACUSE                  NY
65391   2FMPK4J98LBA44727   Ford         EDGE                KNOXVILLE                 TN
65392   2FMPK4J98LBA44730   Ford         EDGE                SYRACUSE                  NY
65393   2FMPK4J98LBA44808   Ford         EDGE                DALLAS                    TX
65394   2FMPK4J98LBA44825   Ford         EDGE                TAMPA                     FL
65395   2FMPK4J98LBA44923   Ford         EDGE                TAMPA                     FL
65396   2FMPK4J98LBA44940   Ford         EDGE                FORT MYERS                FL
65397   2FMPK4J98LBA44954   Ford         EDGE                PITTSBURGH                PA
65398   2FMPK4J98LBA44968   Ford         EDGE                PITTSBURGH                PA
65399   2FMPK4J98LBA44985   Ford         EDGE                PITTSBURGH                PA
65400   2FMPK4J98LBA44999   Ford         EDGE                CLEVELAND                 OH
65401   2FMPK4J98LBA45019   Ford         EDGE                BOSTON                    MA
65402   2FMPK4J98LBA45022   Ford         EDGE                SARASOTA                  FL
65403   2FMPK4J98LBA45313   Ford         EDGE                TALLAHASSEE               US
65404   2FMPK4J98LBA54982   Ford         EDGE                ATLANTA                   GA
65405   2FMPK4J98LBA55016   Ford         EDGE                SAINT LOUIS               MO
65406   2FMPK4J98LBA55050   Ford         EDGE                BURBANK                   CA
65407   2FMPK4J98LBA55081   Ford         EDGE                ROANOKE                   VA
65408   2FMPK4J98LBA55128   Ford         EDGE                PHILADELPHIA              PA
65409   2FMPK4J98LBA55159   Ford         EDGE                AUSTIN                    TX
65410   2FMPK4J98LBA55162   Ford         EDGE                PITTSBURGH                PA
65411   2FMPK4J98LBA55257   Ford         EDGE                OAKLAND                   CA
65412   2FMPK4J98LBA55274   Ford         EDGE                SAN JOSE                  CA
65413   2FMPK4J98LBA55288   Ford         EDGE                NEWPORT BEACH             CA
65414   2FMPK4J98LBA55291   Ford         EDGE                SACRAMENTO                CA
65415   2FMPK4J98LBA55324   Ford         EDGE                FRESNO                    CA
65416   2FMPK4J98LBA55341   Ford         EDGE                FRESNO                    CA
65417   2FMPK4J98LBA55369   Ford         EDGE                NORFOLK                   VA
65418   2FMPK4J98LBA70499   Ford         EDGE                KANSAS CITY               MO
65419   2FMPK4J98LBA70535   Ford         EDGE                SAINT PAUL                MN
65420   2FMPK4J98LBA70549   Ford         EDGE                CLEVELAND                 OH
65421   2FMPK4J98LBA70566   Ford         EDGE                DETROIT                   MI
65422   2FMPK4J98LBA70583   Ford         EDGE                DETROIT                   MI
65423   2FMPK4J98LBA70597   Ford         EDGE                DETROIT                   MI
65424   2FMPK4J98LBA70602   Ford         EDGE                GRAND RAPIDS              MI
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65425   2FMPK4J98LBA70633   Ford         EDGE                DETROIT                   MI
65426   2FMPK4J98LBA70650   Ford         EDGE                DETROIT                   MI
65427   2FMPK4J98LBA70664   Ford         EDGE                TAMPA                     FL
65428   2FMPK4J98LBA70678   Ford         EDGE                KANSAS CITY               MO
65429   2FMPK4J98LBA70695   Ford         EDGE                KANSAS CITY               MO
65430   2FMPK4J98LBA71054   Ford         EDGE                PHILADELPHIA              PA
65431   2FMPK4J98LBA71104   Ford         EDGE                PHILADELPHIA              PA
65432   2FMPK4J98LBA71118   Ford         EDGE                ORLANDO                   FL
65433   2FMPK4J98LBA71121   Ford         EDGE                PHILADELPHIA              PA
65434   2FMPK4J98LBA71149   Ford         EDGE                PITTSBURGH                PA
65435   2FMPK4J98LBA71152   Ford         EDGE                PITTSBURGH                PA
65436   2FMPK4J98LBA71166   Ford         EDGE                ALEXANDRIA                VA
65437   2FMPK4J98LBA71216   Ford         EDGE                STERLING                  VA
65438   2FMPK4J98LBA71359   Ford         EDGE                CHICAGO                   IL
65439   2FMPK4J98LBA71376   Ford         EDGE                RICHMOND                  VA
65440   2FMPK4J98LBA71393   Ford         EDGE                NEW BERN                  NC
65441   2FMPK4J98LBA71409   Ford         EDGE                STERLING                  VA
65442   2FMPK4J98LBA71412   Ford         EDGE                STERLING                  VA
65443   2FMPK4J98LBA71443   Ford         EDGE                BALTIMORE                 MD
65444   2FMPK4J98LBA71457   Ford         EDGE                CHARLOTTESVILLE           VA
65445   2FMPK4J98LBA71474   Ford         EDGE                STERLING                  VA
65446   2FMPK4J98LBA71488   Ford         EDGE                CHICAGO                   IL
65447   2FMPK4J98LBA71491   Ford         EDGE                STERLING                  US
65448   2FMPK4J98LBA71524   Ford         EDGE                STERLING                  US
65449   2FMPK4J98LBA71586   Ford         EDGE                STERLING                  VA
65450   2FMPK4J99KBB42311   Ford         EDGE                BIRMINGHAM                AL
65451   2FMPK4J99KBB89824   Ford         EDGE                DENVER                    CO
65452   2FMPK4J99KBB90455   Ford         EDGE                Phoenix                   AZ
65453   2FMPK4J99KBC03382   Ford         EDGE                NORFOLK                   VA
65454   2FMPK4J99KBC03589   Ford         EDGE                PORTLAND                  OR
65455   2FMPK4J99KBC03754   Ford         EDGE                N. Palm Beach             FL
65456   2FMPK4J99KBC03866   Ford         EDGE                Winston‐Salem             NC
65457   2FMPK4J99KBC24264   Ford         EDGE                Denver                    CO
65458   2FMPK4J99LBA14877   Ford         EDGE                NEW BERN                  NC
65459   2FMPK4J99LBA14880   Ford         EDGE                KNOXVILLE                 TN
65460   2FMPK4J99LBA14894   Ford         EDGE                WEST PALM BEACH           FL
65461   2FMPK4J99LBA15043   Ford         EDGE                LOS ANGELES               CA
65462   2FMPK4J99LBA15060   Ford         EDGE                SAN FRANCISCO             CA
65463   2FMPK4J99LBA15074   Ford         EDGE                CLOVIS                    CA
65464   2FMPK4J99LBA15088   Ford         EDGE                LOS ANGELES               CA
65465   2FMPK4J99LBA15091   Ford         EDGE                LOS ANGELES               CA
65466   2FMPK4J99LBA15107   Ford         EDGE                LOS ANGELES               CA
65467   2FMPK4J99LBA15110   Ford         EDGE                OMAHA                     NE
65468   2FMPK4J99LBA15124   Ford         EDGE                Phoenix                   AZ
65469   2FMPK4J99LBA15138   Ford         EDGE                LAS VEGAS                 NV
65470   2FMPK4J99LBA15141   Ford         EDGE                RENO                      NV
65471   2FMPK4J99LBA15155   Ford         EDGE                SAN FRANCISCO             CA
65472   2FMPK4J99LBA15186   Ford         EDGE                ORLANDO                   FL
65473   2FMPK4J99LBA15205   Ford         EDGE                DENVER                    CO
65474   2FMPK4J99LBA15219   Ford         EDGE                ORLANDO                   FL
65475   2FMPK4J99LBA15222   Ford         EDGE                ORLANDO                   FL
65476   2FMPK4J99LBA15253   Ford         EDGE                RICHMOND                  VA
65477   2FMPK4J99LBA15267   Ford         EDGE                BURBANK                   CA
65478   2FMPK4J99LBA15270   Ford         EDGE                OAKLAND                   CA
65479   2FMPK4J99LBA15284   Ford         EDGE                FRESNO                    CA
65480   2FMPK4J99LBA15298   Ford         EDGE                SAN DIEGO                 CA
65481   2FMPK4J99LBA15317   Ford         EDGE                SALT LAKE CITY            UT
65482   2FMPK4J99LBA15348   Ford         EDGE                FORT MYERS                FL
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65483   2FMPK4J99LBA15351   Ford         EDGE                COLLEGE PARK              GA
65484   2FMPK4J99LBA15365   Ford         EDGE                FORT LAUDERDALE           FL
65485   2FMPK4J99LBA15379   Ford         EDGE                Stone Mountain            GA
65486   2FMPK4J99LBA15382   Ford         EDGE                ORLANDO                   FL
65487   2FMPK4J99LBA28536   Ford         EDGE                Des Moines                IA
65488   2FMPK4J99LBA28553   Ford         EDGE                Saint Paul                MN
65489   2FMPK4J99LBA28567   Ford         EDGE                Des Moines                IA
65490   2FMPK4J99LBA28570   Ford         EDGE                CHICAGO                   IL
65491   2FMPK4J99LBA28603   Ford         EDGE                WEST PALM BEACH           FL
65492   2FMPK4J99LBA28651   Ford         EDGE                LUBBOCK                   TX
65493   2FMPK4J99LBA28682   Ford         EDGE                CHICAGO                   IL
65494   2FMPK4J99LBA28939   Ford         EDGE                Hebron                    KY
65495   2FMPK4J99LBA28956   Ford         EDGE                MIAMI                     FL
65496   2FMPK4J99LBA28973   Ford         EDGE                SACRAMENTO                CA
65497   2FMPK4J99LBA28987   Ford         EDGE                ONTARIO                   CA
65498   2FMPK4J99LBA29007   Ford         EDGE                PHOENIX                   AZ
65499   2FMPK4J99LBA29010   Ford         EDGE                SAN DIEGO                 CA
65500   2FMPK4J99LBA29024   Ford         EDGE                LOS ANGELES               CA
65501   2FMPK4J99LBA29086   Ford         EDGE                KNOXVILLE                 TN
65502   2FMPK4J99LBA29105   Ford         EDGE                NEW YORK CITY             NY
65503   2FMPK4J99LBA29119   Ford         EDGE                MANHATTAN                 NY
65504   2FMPK4J99LBA29329   Ford         EDGE                MIAMI                     FL
65505   2FMPK4J99LBA29346   Ford         EDGE                SARASOTA                  FL
65506   2FMPK4J99LBA29363   Ford         EDGE                TAMPA                     FL
65507   2FMPK4J99LBA29377   Ford         EDGE                SARASOTA                  FL
65508   2FMPK4J99LBA29587   Ford         EDGE                MIAMI                     FL
65509   2FMPK4J99LBA29590   Ford         EDGE                WEST PALM BEACH           FL
65510   2FMPK4J99LBA29606   Ford         EDGE                GREENSBORO                NC
65511   2FMPK4J99LBA29637   Ford         EDGE                CHARLOTTE                 NC
65512   2FMPK4J99LBA29640   Ford         EDGE                ORLANDO                   FL
65513   2FMPK4J99LBA29654   Ford         EDGE                ORLANDO                   FL
65514   2FMPK4J99LBA29668   Ford         EDGE                Tampa                     FL
65515   2FMPK4J99LBA29671   Ford         EDGE                FAYETTEVILLE              GA
65516   2FMPK4J99LBA29685   Ford         EDGE                KEY WEST                  FL
65517   2FMPK4J99LBA29704   Ford         EDGE                SANTA FE                  NM
65518   2FMPK4J99LBA29718   Ford         EDGE                FORT MYERS                FL
65519   2FMPK4J99LBA29721   Ford         EDGE                MIAMI                     FL
65520   2FMPK4J99LBA29847   Ford         EDGE                PHOENIX                   AZ
65521   2FMPK4J99LBA29864   Ford         EDGE                SAN JOSE                  CA
65522   2FMPK4J99LBA29895   Ford         EDGE                FORT MYERS                FL
65523   2FMPK4J99LBA29900   Ford         EDGE                FORT MYERS                FL
65524   2FMPK4J99LBA29914   Ford         EDGE                TAMPA                     FL
65525   2FMPK4J99LBA29928   Ford         EDGE                TAMPA                     FL
65526   2FMPK4J99LBA30075   Ford         EDGE                ORLANDO                   FL
65527   2FMPK4J99LBA30089   Ford         EDGE                FORT MYERS                FL
65528   2FMPK4J99LBA30092   Ford         EDGE                CHARLOTTE                 NC
65529   2FMPK4J99LBA30139   Ford         EDGE                WEST PALM BEACH           FL
65530   2FMPK4J99LBA30142   Ford         EDGE                TAMPA                     FL
65531   2FMPK4J99LBA30156   Ford         EDGE                PHOENIX                   AZ
65532   2FMPK4J99LBA30173   Ford         EDGE                SACRAMENTO                CA
65533   2FMPK4J99LBA30206   Ford         EDGE                LAS VEGAS                 NV
65534   2FMPK4J99LBA30223   Ford         EDGE                SACRAMENTO                CA
65535   2FMPK4J99LBA30237   Ford         EDGE                JACKSONVILLE              FL
65536   2FMPK4J99LBA30240   Ford         EDGE                FORT LAUDERDALE           FL
65537   2FMPK4J99LBA30254   Ford         EDGE                TAMPA                     FL
65538   2FMPK4J99LBA44090   Ford         EDGE                COLLEGE PARK              GA
65539   2FMPK4J99LBA44493   Ford         EDGE                Atlanta                   GA
65540   2FMPK4J99LBA44574   Ford         EDGE                CHARLESTON                WV
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65541   2FMPK4J99LBA44591   Ford         EDGE                STERLING                  VA
65542   2FMPK4J99LBA44607   Ford         EDGE                MILWAUKEE                 WI
65543   2FMPK4J99LBA44624   Ford         EDGE                WHITE PLAINS              NY
65544   2FMPK4J99LBA44638   Ford         EDGE                CLEVELAND                 OH
65545   2FMPK4J99LBA44641   Ford         EDGE                SOUTH BEND                IN
65546   2FMPK4J99LBA44655   Ford         EDGE                WEST COLUMBIA             SC
65547   2FMPK4J99LBA44669   Ford         EDGE                RONKONKOMA                NY
65548   2FMPK4J99LBA44672   Ford         EDGE                STERLING                  VA
65549   2FMPK4J99LBA44686   Ford         EDGE                JAMAICA                   NY
65550   2FMPK4J99LBA44705   Ford         EDGE                EGG HARBOR TOWN           NJ
65551   2FMPK4J99LBA44719   Ford         EDGE                DES MOINES                IA
65552   2FMPK4J99LBA44722   Ford         EDGE                BOSTON                    MA
65553   2FMPK4J99LBA44736   Ford         EDGE                RALIEGH                   NC
65554   2FMPK4J99LBA44817   Ford         EDGE                FORT LAUDERDALE           FL
65555   2FMPK4J99LBA44915   Ford         EDGE                STERLING                  VA
65556   2FMPK4J99LBA45109   Ford         EDGE                FORT MYERS                FL
65557   2FMPK4J99LBA45112   Ford         EDGE                FORT MYERS                FL
65558   2FMPK4J99LBA54988   Ford         EDGE                CHARLOTTE                 NC
65559   2FMPK4J99LBA55008   Ford         EDGE                STERLING                  VA
65560   2FMPK4J99LBA55011   Ford         EDGE                GREENVILLE                NC
65561   2FMPK4J99LBA55025   Ford         EDGE                CHARLOTTE                 NC
65562   2FMPK4J99LBA55056   Ford         EDGE                WILMINGTON                NC
65563   2FMPK4J99LBA55073   Ford         EDGE                STERLING                  VA
65564   2FMPK4J99LBA55106   Ford         EDGE                SAINT LOUIS               MO
65565   2FMPK4J99LBA55123   Ford         EDGE                NORFOLK                   VA
65566   2FMPK4J99LBA55137   Ford         EDGE                WHITE PLAINS              NY
65567   2FMPK4J99LBA70477   Ford         EDGE                CHARLOTTE                 NC
65568   2FMPK4J99LBA70558   Ford         EDGE                Detroit                   MI
65569   2FMPK4J99LBA70561   Ford         EDGE                DETROIT                   MI
65570   2FMPK4J99LBA70575   Ford         EDGE                DETROIT                   MI
65571   2FMPK4J99LBA70589   Ford         EDGE                GRAND RAPIDS              MI
65572   2FMPK4J99LBA70608   Ford         EDGE                TAMPA                     FL
65573   2FMPK4J99LBA70611   Ford         EDGE                DETROIT                   MI
65574   2FMPK4J99LBA70639   Ford         EDGE                DETROIT                   MI
65575   2FMPK4J99LBA71063   Ford         EDGE                NEW BERN                  NC
65576   2FMPK4J99LBA71080   Ford         EDGE                HARRISBURG                PA
65577   2FMPK4J99LBA71130   Ford         EDGE                PITTSBURGH                PA
65578   2FMPK4J99LBA71158   Ford         EDGE                PITTSBURGH                PA
65579   2FMPK4J99LBA71161   Ford         EDGE                HANOVER                   MD
65580   2FMPK4J99LBA71211   Ford         EDGE                SOUTH BURLINGTO           VT
65581   2FMPK4J99LBA71225   Ford         EDGE                STERLING                  VA
65582   2FMPK4J99LBA71256   Ford         EDGE                STERLING                  VA
65583   2FMPK4J99LBA71306   Ford         EDGE                RICHMOND                  VA
65584   2FMPK4J99LBA71385   Ford         EDGE                STERLING                  US
65585   2FMPK4J99LBA71399   Ford         EDGE                STERLING                  US
65586   2FMPK4J99LBA71404   Ford         EDGE                STERLING                  VA
65587   2FMPK4J99LBA71418   Ford         EDGE                STERLING                  VA
65588   2FMPK4J99LBA71435   Ford         EDGE                GREENSBORO                NC
65589   2FMPK4J99LBA71452   Ford         EDGE                PHILADELPHIA              PA
65590   2FMPK4J99LBA71497   Ford         EDGE                STERLING                  VA
65591   2FMPK4J99LBA71533   Ford         EDGE                STERLING                  VA
65592   2FMPK4J99LBA71547   Ford         EDGE                STERLING                  VA
65593   2FMPK4J99LBA71550   Ford         EDGE                STERLING                  VA
65594   2FMPK4J99LBA71564   Ford         EDGE                STERLING                  US
65595   2FMPK4J99LBA71578   Ford         EDGE                INDIANAPOLIS              IN
65596   2FMPK4J99LBA71581   Ford         EDGE                STERLING                  VA
65597   2FMPK4J9XJBB73470   Ford         EDGE                Atlanta                   GA
65598   2FMPK4J9XKBB89928   Ford         EDGE                HILO                      HI
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65599   2FMPK4J9XKBB90223   Ford         EDGE                Atlanta                   GA
65600   2FMPK4J9XKBB90593   Ford         EDGE                Webster                   NY
65601   2FMPK4J9XKBC03374   Ford         EDGE                FORT MYERS                FL
65602   2FMPK4J9XKBC03438   Ford         EDGE                MONTGOMERY                AL
65603   2FMPK4J9XKBC03441   Ford         EDGE                ST Paul                   MN
65604   2FMPK4J9XKBC03522   Ford         EDGE                SANTA ANA                 CA
65605   2FMPK4J9XKBC03827   Ford         EDGE                FRESNO                    CA
65606   2FMPK4J9XKBC24239   Ford         EDGE                LAS VEGAS                 NV
65607   2FMPK4J9XLBA14855   Ford         EDGE                SALT LAKE CITY            UT
65608   2FMPK4J9XLBA14869   Ford         EDGE                PHOENIX                   AZ
65609   2FMPK4J9XLBA14886   Ford         EDGE                PENSACOLA                 FL
65610   2FMPK4J9XLBA15049   Ford         EDGE                LOS ANGELES               CA
65611   2FMPK4J9XLBA15052   Ford         EDGE                ORANGE COUNTY             CA
65612   2FMPK4J9XLBA15066   Ford         EDGE                LAS VEGAS                 NV
65613   2FMPK4J9XLBA15083   Ford         EDGE                LOS ANGELES               CA
65614   2FMPK4J9XLBA15097   Ford         EDGE                ONTARIO                   CA
65615   2FMPK4J9XLBA15116   Ford         EDGE                SAN DIEGO                 CA
65616   2FMPK4J9XLBA15133   Ford         EDGE                BURBANK                   CA
65617   2FMPK4J9XLBA15147   Ford         EDGE                SACRAMENTO                CA
65618   2FMPK4J9XLBA15150   Ford         EDGE                BURBANK                   CA
65619   2FMPK4J9XLBA15178   Ford         EDGE                TAMPA                     FL
65620   2FMPK4J9XLBA15181   Ford         EDGE                TAMPA                     FL
65621   2FMPK4J9XLBA15195   Ford         EDGE                ORLANDO                   FL
65622   2FMPK4J9XLBA15200   Ford         EDGE                WEST PALM BEACH           FL
65623   2FMPK4J9XLBA15214   Ford         EDGE                MIAMI                     FL
65624   2FMPK4J9XLBA15245   Ford         EDGE                EL PASO                   TX
65625   2FMPK4J9XLBA15262   Ford         EDGE                Fresno                    CA
65626   2FMPK4J9XLBA15276   Ford         EDGE                BURBANK                   CA
65627   2FMPK4J9XLBA15293   Ford         EDGE                PALM SPRINGS              CA
65628   2FMPK4J9XLBA15309   Ford         EDGE                OAKLAND                   CA
65629   2FMPK4J9XLBA15357   Ford         EDGE                INDIANAPOLIS              IN
65630   2FMPK4J9XLBA15360   Ford         EDGE                MIAMI                     FL
65631   2FMPK4J9XLBA15388   Ford         EDGE                TAMPA                     FL
65632   2FMPK4J9XLBA28545   Ford         EDGE                DES MOINES                IA
65633   2FMPK4J9XLBA28559   Ford         EDGE                DES MOINES                IA
65634   2FMPK4J9XLBA28562   Ford         EDGE                LAS VEGAS                 NV
65635   2FMPK4J9XLBA28576   Ford         EDGE                CHICAGO                   IL
65636   2FMPK4J9XLBA28660   Ford         EDGE                NEW YORK CITY             NY
65637   2FMPK4J9XLBA28898   Ford         EDGE                FORT LAUDERDALE           FL
65638   2FMPK4J9XLBA28903   Ford         EDGE                FORT LAUDERDALE           FL
65639   2FMPK4J9XLBA28917   Ford         EDGE                Des Moines                IA
65640   2FMPK4J9XLBA28920   Ford         EDGE                FORT LAUDERDALE           FL
65641   2FMPK4J9XLBA28934   Ford         EDGE                FORT MYERS                FL
65642   2FMPK4J9XLBA28951   Ford         EDGE                ATLANTA                   GA
65643   2FMPK4J9XLBA28965   Ford         EDGE                SAN FRANCISCO             CA
65644   2FMPK4J9XLBA28982   Ford         EDGE                SAN DIEGO                 CA
65645   2FMPK4J9XLBA29002   Ford         EDGE                PHOENIX                   AZ
65646   2FMPK4J9XLBA29016   Ford         EDGE                MILWAUKEE                 WI
65647   2FMPK4J9XLBA29033   Ford         EDGE                Maple Grove               MN
65648   2FMPK4J9XLBA29078   Ford         EDGE                Teterboro                 NJ
65649   2FMPK4J9XLBA29095   Ford         EDGE                PORTLAND                  ME
65650   2FMPK4J9XLBA29100   Ford         EDGE                Teterboro                 NJ
65651   2FMPK4J9XLBA29114   Ford         EDGE                INDIANAPOLIS              IN
65652   2FMPK4J9XLBA29209   Ford         EDGE                NORFOLK                   VA
65653   2FMPK4J9XLBA29310   Ford         EDGE                ATLANTA                   GA
65654   2FMPK4J9XLBA29338   Ford         EDGE                INGLEWOOD                 CA
65655   2FMPK4J9XLBA29341   Ford         EDGE                TAMPA                     FL
65656   2FMPK4J9XLBA29355   Ford         EDGE                TAMPA                     FL
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65657   2FMPK4J9XLBA29369   Ford         EDGE                TAMPA                        FL
65658   2FMPK4J9XLBA29372   Ford         EDGE                TAMPA                        FL
65659   2FMPK4J9XLBA29579   Ford         EDGE                MIAMI                        FL
65660   2FMPK4J9XLBA29582   Ford         EDGE                ORLANDO                      FL
65661   2FMPK4J9XLBA29596   Ford         EDGE                ORLANDO                      FL
65662   2FMPK4J9XLBA29632   Ford         EDGE                CLEVELAND                    OH
65663   2FMPK4J9XLBA29646   Ford         EDGE                JACKSONVILLE                 FL
65664   2FMPK4J9XLBA29663   Ford         EDGE                JACKSONVILLE                 FL
65665   2FMPK4J9XLBA29677   Ford         EDGE                TAMPA                        FL
65666   2FMPK4J9XLBA29680   Ford         EDGE                WINTER PARK                  FL
65667   2FMPK4J9XLBA29713   Ford         EDGE                NEW BERN                     NC
65668   2FMPK4J9XLBA29808   Ford         EDGE                SAN FRANCISCO                CA
65669   2FMPK4J9XLBA29856   Ford         EDGE                OAKLAND                      CA
65670   2FMPK4J9XLBA29873   Ford         EDGE                ORANGE COUNTY                CA
65671   2FMPK4J9XLBA29923   Ford         EDGE                TAMPA                        FL
65672   2FMPK4J9XLBA29937   Ford         EDGE                MIAMI                        FL
65673   2FMPK4J9XLBA30067   Ford         EDGE                JACKSONVILLE                 FL
65674   2FMPK4J9XLBA30070   Ford         EDGE                FORT MYERS                   FL
65675   2FMPK4J9XLBA30084   Ford         EDGE                ORLANDO                      FL
65676   2FMPK4J9XLBA30103   Ford         EDGE                WEST PALM BEACH              FL
65677   2FMPK4J9XLBA30148   Ford         EDGE                WEST PALM BEACH              FL
65678   2FMPK4J9XLBA30165   Ford         EDGE                OAKLAND                      CA
65679   2FMPK4J9XLBA30179   Ford         EDGE                SAN FRANCISCO                CA
65680   2FMPK4J9XLBA30182   Ford         EDGE                SAN DIEGO                    CA
65681   2FMPK4J9XLBA30201   Ford         EDGE                SAN DIEGO                    CA
65682   2FMPK4J9XLBA30215   Ford         EDGE                Atlanta                      GA
65683   2FMPK4J9XLBA30229   Ford         EDGE                CHICAGO                      IL
65684   2FMPK4J9XLBA44096   Ford         EDGE                MIAMI                        FL
65685   2FMPK4J9XLBA44521   Ford         EDGE                Harvey                       LA
65686   2FMPK4J9XLBA44597   Ford         EDGE                NEW BERN                     NC
65687   2FMPK4J9XLBA44602   Ford         EDGE                STERLING                     VA
65688   2FMPK4J9XLBA44647   Ford         EDGE                NEW YORK CITY                NY
65689   2FMPK4J9XLBA44650   Ford         EDGE                PHILADELPHIA                 PA
65690   2FMPK4J9XLBA44664   Ford         EDGE                RICHMOND                     VA
65691   2FMPK4J9XLBA44678   Ford         EDGE                PHILADELPHIA                 PA
65692   2FMPK4J9XLBA44681   Ford         EDGE                Bensalem                     PA
65693   2FMPK4J9XLBA44695   Ford         EDGE                Baltimore                    MD
65694   2FMPK4J9XLBA44700   Ford         EDGE                FORT MYERS                   FL
65695   2FMPK4J9XLBA44714   Ford         EDGE                PHILADELPHIA                 PA
65696   2FMPK4J9XLBA44731   Ford         EDGE                Portland                     ME
65697   2FMPK4J9XLBA44745   Ford         EDGE                NEW YORK CITY                NY
65698   2FMPK4J9XLBA44826   Ford         EDGE                WICHITA FALLS                TX
65699   2FMPK4J9XLBA44910   Ford         EDGE                MIAMI                        FL
65700   2FMPK4J9XLBA44972   Ford         EDGE                PITTSBURGH                   PA
65701   2FMPK4J9XLBA44986   Ford         EDGE                HARTFORD                     CT
65702   2FMPK4J9XLBA45006   Ford         EDGE                CHICAGO                      IL
65703   2FMPK4J9XLBA45118   Ford         EDGE                SAINT LOUIS                  MO
65704   2FMPK4J9XLBA45121   Ford         EDGE                DETROIT                      MI
65705   2FMPK4J9XLBA45314   Ford         EDGE                RONKONKOMA                   NY
65706   2FMPK4J9XLBA54997   Ford         EDGE                GREENSBORO                   NC
65707   2FMPK4J9XLBA55101   Ford         EDGE                KENNER                       LA
65708   2FMPK4J9XLBA55163   Ford         EDGE                PITTSBURGH                   PA
65709   2FMPK4J9XLBA55258   Ford         EDGE                LOS ANGELES                  CA
65710   2FMPK4J9XLBA55373   Ford         EDGE                WASHINGTON DC, NATIONAL AP   DC
65711   2FMPK4J9XLBA55390   Ford         EDGE                LOUISVILLE                   KY
65712   2FMPK4J9XLBA70469   Ford         EDGE                CHARLOTTE                    NC
65713   2FMPK4J9XLBA70472   Ford         EDGE                HAMPTON                      VA
65714   2FMPK4J9XLBA70519   Ford         EDGE                DETROIT                      MI
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65715   2FMPK4J9XLBA70567   Ford         EDGE                DETROIT                   MI
65716   2FMPK4J9XLBA70598   Ford         EDGE                DETROIT                   MI
65717   2FMPK4J9XLBA70603   Ford         EDGE                DETROIT                   MI
65718   2FMPK4J9XLBA70620   Ford         EDGE                GRAND RAPIDS              MI
65719   2FMPK4J9XLBA70634   Ford         EDGE                PHILADELPHIA              PA
65720   2FMPK4J9XLBA70648   Ford         EDGE                CHARLESTON                SC
65721   2FMPK4J9XLBA70651   Ford         EDGE                NEW BERN                  NC
65722   2FMPK4J9XLBA70682   Ford         EDGE                KANSAS CITY               MO
65723   2FMPK4J9XLBA71055   Ford         EDGE                NORFOLK                   VA
65724   2FMPK4J9XLBA71069   Ford         EDGE                NEWARK                    NJ
65725   2FMPK4J9XLBA71072   Ford         EDGE                SCRANTON                  PA
65726   2FMPK4J9XLBA71105   Ford         EDGE                PHILADELPHIA              PA
65727   2FMPK4J9XLBA71122   Ford         EDGE                PHILADELPHIA              PA
65728   2FMPK4J9XLBA71184   Ford         EDGE                CLEVELAND                 OH
65729   2FMPK4J9XLBA71198   Ford         EDGE                RONKONKOMA                NY
65730   2FMPK4J9XLBA71220   Ford         EDGE                STERLING                  VA
65731   2FMPK4J9XLBA71301   Ford         EDGE                KNOXVILLE                 TN
65732   2FMPK4J9XLBA71380   Ford         EDGE                RICHMOND                  VA
65733   2FMPK4J9XLBA71394   Ford         EDGE                STERLING                  US
65734   2FMPK4J9XLBA71413   Ford         EDGE                STERLING                  VA
65735   2FMPK4J9XLBA71444   Ford         EDGE                STERLING                  VA
65736   2FMPK4J9XLBA71458   Ford         EDGE                STERLING                  VA
65737   2FMPK4J9XLBA71461   Ford         EDGE                STERLING                  VA
65738   2FMPK4J9XLBA71508   Ford         EDGE                STERLING                  VA
65739   2FMPK4J9XLBA71511   Ford         EDGE                STERLING                  VA
65740   2FMPK4J9XLBA71525   Ford         EDGE                STERLING                  VA
65741   2FMPK4J9XLBA71539   Ford         EDGE                NEWARK                    NJ
65742   2FMPK4J9XLBA71542   Ford         EDGE                NEW BERN                  NC
65743   2FMPK4J9XLBA71556   Ford         EDGE                FORT LAUDERDALE           FL
65744   2FMPK4J9XLBA71573   Ford         EDGE                ATLANTA                   GA
65745   2FMPK4J9XLBA71587   Ford         EDGE                STERLING                  US
65746   2FMPK4J9XLBA71590   Ford         EDGE                STERLING                  US
65747   2G1105S30J9148299   GM           IMPALA              HONOLULU                  HI
65748   2G1105S30J9158606   GM           IMPALA              Hayward                   CA
65749   2G1105S30J9159299   GM           IMPALA              BURBANK                   CA
65750   2G1105S30J9159478   GM           IMPALA              Kailua‐Kona               HI
65751   2G1105S30J9165121   GM           IMPALA              NEW YORK CITY             NY
65752   2G1105S30J9166382   GM           IMPALA              FORT MYERS                FL
65753   2G1105S30J9168116   GM           IMPALA              PORTLAND                  ME
65754   2G1105S30J9169086   GM           IMPALA              UNION CITY                GA
65755   2G1105S30J9172098   GM           IMPALA              Rio Linda                 CA
65756   2G1105S30J9172666   GM           IMPALA              CHICAGO                   IL
65757   2G1105S30J9173171   GM           IMPALA              Indianapolis              IN
65758   2G1105S30J9173591   GM           IMPALA              SAN ANTONIO               TX
65759   2G1105S30J9173655   GM           IMPALA              COLLEGE PARK              GA
65760   2G1105S30J9173770   GM           IMPALA              North Dighton             MA
65761   2G1105S30J9173803   GM           IMPALA              BOSTON, LOGAN AP          MA
65762   2G1105S30J9173817   GM           IMPALA              LOS ANGELES               CA
65763   2G1105S30J9174255   GM           IMPALA              TUCSON                    AZ
65764   2G1105S30J9175325   GM           IMPALA              LOS ANGELES AP            CA
65765   2G1105S30J9175874   GM           IMPALA              Las Vegas                 NV
65766   2G1105S30J9177222   GM           IMPALA              Houston                   TX
65767   2G1105S30J9177740   GM           IMPALA              NORTH READING             MA
65768   2G1105S30J9177978   GM           IMPALA              Las Vegas                 NV
65769   2G1105S30J9178130   GM           IMPALA              Morrisville               NC
65770   2G1105S30J9178161   GM           IMPALA              Tucson                    AZ
65771   2G1105S30J9178399   GM           IMPALA              SAN JOSE                  CA
65772   2G1105S30J9178421   GM           IMPALA              LAS VEGAS                 NV
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65773   2G1105S30J9178547   GM           IMPALA              TAMPA                     FL
65774   2G1105S30K9116910   GM           IMPALA              KALAOA                    HI
65775   2G1105S30K9117524   GM           IMPALA              KALAOA                    HI
65776   2G1105S30K9118382   GM           IMPALA              FORT MYERS                FL
65777   2G1105S30K9120813   GM           IMPALA              WEST PALM BEACH           FL
65778   2G1105S30K9121945   GM           IMPALA              KEY WEST                  FL
65779   2G1105S30K9122271   GM           IMPALA              Atlanta                   GA
65780   2G1105S30K9122416   GM           IMPALA              ATLANTA                   GA
65781   2G1105S30K9122738   GM           IMPALA              HILO                      HI
65782   2G1105S30K9123288   GM           IMPALA              ORLANDO                   FL
65783   2G1105S30K9124179   GM           IMPALA              HILO                      HI
65784   2G1105S30K9124263   GM           IMPALA              DAYTONA BEACH             FL
65785   2G1105S30K9124294   GM           IMPALA              ORLANDO                   FL
65786   2G1105S30K9133027   GM           IMPALA              Manheim                   PA
65787   2G1105S30K9133433   GM           IMPALA              DENVER                    CO
65788   2G1105S30K9133495   GM           IMPALA              FORT LAUDERDALE           FL
65789   2G1105S30K9135277   GM           IMPALA              Dallas                    TX
65790   2G1105S30K9135313   GM           IMPALA              TAMPA                     FL
65791   2G1105S30K9135909   GM           IMPALA              SAN DIEGO                 CA
65792   2G1105S30K9136137   GM           IMPALA              TAMPA                     FL
65793   2G1105S30K9136171   GM           IMPALA              Atlanta                   GA
65794   2G1105S30K9136333   GM           IMPALA              BURBANK                   CA
65795   2G1105S30K9136350   GM           IMPALA              TAMPA                     FL
65796   2G1105S30K9136462   GM           IMPALA              WEST PALM BEACH           FL
65797   2G1105S30K9136705   GM           IMPALA              WEST PALM BEACH           FL
65798   2G1105S30K9136719   GM           IMPALA              FORT LAUDERDALE           FL
65799   2G1105S30K9136932   GM           IMPALA              JACKSONVILLE              FL
65800   2G1105S30K9137143   GM           IMPALA              ANCHORAGE                 AK
65801   2G1105S30K9137580   GM           IMPALA              KNOXVILLE                 TN
65802   2G1105S30K9138468   GM           IMPALA              ORLANDO                   FL
65803   2G1105S30K9139474   GM           IMPALA              TAMPA                     FL
65804   2G1105S30K9139555   GM           IMPALA              PORTLAND                  ME
65805   2G1105S30K9139586   GM           IMPALA              FORT LAUDERDALE           FL
65806   2G1105S30K9139779   GM           IMPALA              ATLANTA                   GA
65807   2G1105S30K9140267   GM           IMPALA              HARTFORD                  CT
65808   2G1105S30K9140379   GM           IMPALA              RALEIGH                   NC
65809   2G1105S30K9140690   GM           IMPALA              RALEIGH                   NC
65810   2G1105S30K9141113   GM           IMPALA              HARTFORD                  CT
65811   2G1105S30K9141340   GM           IMPALA              STERLING                  VA
65812   2G1105S30K9141368   GM           IMPALA              BOSTON                    MA
65813   2G1105S30K9141919   GM           IMPALA              COLUMBIA                  SC
65814   2G1105S30K9142441   GM           IMPALA              ORLANDO                   FL
65815   2G1105S30K9142472   GM           IMPALA              ROANOKE                   VA
65816   2G1105S30K9142844   GM           IMPALA              MEMPHIS                   TN
65817   2G1105S30K9142925   GM           IMPALA              BOSTON                    MA
65818   2G1105S30K9143279   GM           IMPALA              JACKSONVILLE              FL
65819   2G1105S30K9143511   GM           IMPALA              KNOXVILLE                 TN
65820   2G1105S30K9144934   GM           IMPALA              WHITE PLAINS              NY
65821   2G1105S30K9145291   GM           IMPALA              SOUTH BURLINGTO           VT
65822   2G1105S30K9145582   GM           IMPALA              ORLANDO                   FL
65823   2G1105S30K9145632   GM           IMPALA              ORLANDO                   FL
65824   2G1105S30K9145680   GM           IMPALA              PHILADELPHIA              PA
65825   2G1105S30K9145761   GM           IMPALA              PITTSBURGH                PA
65826   2G1105S30K9145937   GM           IMPALA              ORLANDO                   FL
65827   2G1105S30K9146117   GM           IMPALA              LEXINGTON                 KY
65828   2G1105S30K9146165   GM           IMPALA              Landover Hills            MD
65829   2G1105S30K9146344   GM           IMPALA              FORT MYERS                FL
65830   2G1105S30K9146795   GM           IMPALA              ORLANDO                   FL
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65831   2G1105S30K9146893   GM           IMPALA              RALEIGH                   NC
65832   2G1105S30K9146991   GM           IMPALA              STERLING                  VA
65833   2G1105S30K9147168   GM           IMPALA              CHARLESTON                WV
65834   2G1105S30K9147235   GM           IMPALA              HOUSTON                   TX
65835   2G1105S30K9147297   GM           IMPALA              Atlanta                   GA
65836   2G1105S30K9147946   GM           IMPALA              CHARLOTTE                 NC
65837   2G1105S30K9147994   GM           IMPALA              CHARLOTTE                 NC
65838   2G1105S30K9148983   GM           IMPALA              CHARLOTTE                 NC
65839   2G1105S30K9149177   GM           IMPALA              KANSAS CITY               MO
65840   2G1105S30K9149258   GM           IMPALA              Ft. Myers                 FL
65841   2G1105S30K9149857   GM           IMPALA              JACKSONVILLE              FL
65842   2G1105S30K9150264   GM           IMPALA              UNION CITY                GA
65843   2G1105S30K9150605   GM           IMPALA              NEW BERN                  NC
65844   2G1105S30K9150734   GM           IMPALA              CHICAGO                   IL
65845   2G1105S30K9151219   GM           IMPALA              MILWAUKEE AIRPORT         WI
65846   2G1105S30K9151334   GM           IMPALA              BOSTON                    MA
65847   2G1105S30K9151446   GM           IMPALA              Atlanta                   GA
65848   2G1105S30K9151625   GM           IMPALA              HARTFORD                  CT
65849   2G1105S30K9151799   GM           IMPALA              KNOXVILLE                 TN
65850   2G1105S30K9152015   GM           IMPALA              Miami                     FL
65851   2G1105S30K9152080   GM           IMPALA              JACKSONVILLE              FL
65852   2G1105S30K9152127   GM           IMPALA              MIAMI                     FL
65853   2G1105S30K9152256   GM           IMPALA              CHICAGO                   IL
65854   2G1105S30K9153181   GM           IMPALA              ALBUQUERQUE               NM
65855   2G1105S30K9153245   GM           IMPALA              NEWARK                    NJ
65856   2G1105S30K9154511   GM           IMPALA              PHOENIX                   AZ
65857   2G1105S30K9154962   GM           IMPALA              PHOENIX                   AZ
65858   2G1105S30K9156355   GM           IMPALA              LAS VEGAS                 NV
65859   2G1105S30K9157084   GM           IMPALA              ORLANDO                   FL
65860   2G1105S30K9157568   GM           IMPALA              San Diego                 CA
65861   2G1105S31J9114212   GM           IMPALA              KAPOLEI                   HI
65862   2G1105S31J9159764   GM           IMPALA              FORT MYERS                FL
65863   2G1105S31J9160512   GM           IMPALA              Leesburg                  VA
65864   2G1105S31J9172448   GM           IMPALA              SARASOTA                  FL
65865   2G1105S31J9172630   GM           IMPALA              PHOENIX                   AZ
65866   2G1105S31J9173177   GM           IMPALA              PHOENIX                   AZ
65867   2G1105S31J9173633   GM           IMPALA              MILWAUKEE                 MI
65868   2G1105S31J9173843   GM           IMPALA              Burien                    WA
65869   2G1105S31J9175642   GM           IMPALA              PHOENIX                   AZ
65870   2G1105S31J9175964   GM           IMPALA              ROANOKE                   VA
65871   2G1105S31J9178069   GM           IMPALA              JACKSONVILLE              FL
65872   2G1105S31J9178184   GM           IMPALA              PHOENIX                   AZ
65873   2G1105S31J9178217   GM           IMPALA              FORT LAUDERDALE           FL
65874   2G1105S31J9178279   GM           IMPALA              LOS ANGELES               CA
65875   2G1105S31K9116804   GM           IMPALA              LIHUE                     HI
65876   2G1105S31K9118360   GM           IMPALA              SOUTHEAST DST OFFC        OK
65877   2G1105S31K9121744   GM           IMPALA              KNOXVILLE                 TN
65878   2G1105S31K9121808   GM           IMPALA              SARASOTA                  FL
65879   2G1105S31K9121890   GM           IMPALA              KALAOA                    HI
65880   2G1105S31K9121971   GM           IMPALA              HILO                      HI
65881   2G1105S31K9122621   GM           IMPALA              Teterboro                 NJ
65882   2G1105S31K9122828   GM           IMPALA              HILO                      HI
65883   2G1105S31K9122845   GM           IMPALA              Atlanta                   GA
65884   2G1105S31K9122912   GM           IMPALA              SARASOTA                  FL
65885   2G1105S31K9123199   GM           IMPALA              FORT MYERS                FL
65886   2G1105S31K9123557   GM           IMPALA              KALAOA                    HI
65887   2G1105S31K9132582   GM           IMPALA              Cincinnati                OH
65888   2G1105S31K9132808   GM           IMPALA              FORT MYERS                FL
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65889   2G1105S31K9133909   GM           IMPALA              ELKRIDGE                  MD
65890   2G1105S31K9136065   GM           IMPALA              JACKSONVILLE              FL
65891   2G1105S31K9136180   GM           IMPALA              CHARLESTON                SC
65892   2G1105S31K9136258   GM           IMPALA              LAS VEGAS                 NV
65893   2G1105S31K9136423   GM           IMPALA              MEMPHIS                   TN
65894   2G1105S31K9136468   GM           IMPALA              Atlanta                   GA
65895   2G1105S31K9136518   GM           IMPALA              FORT MYERS                FL
65896   2G1105S31K9136583   GM           IMPALA              JACKSON                   MS
65897   2G1105S31K9136809   GM           IMPALA              ATLANTA                   GA
65898   2G1105S31K9136907   GM           IMPALA              MIAMI                     FL
65899   2G1105S31K9136955   GM           IMPALA              LOS ANGELES               CA
65900   2G1105S31K9137085   GM           IMPALA              Charlotte                 NC
65901   2G1105S31K9137314   GM           IMPALA              Hebron                    KY
65902   2G1105S31K9137426   GM           IMPALA              SAN DIEGO                 US
65903   2G1105S31K9137815   GM           IMPALA              SAN DIEGO                 CA
65904   2G1105S31K9137829   GM           IMPALA              STERLING                  VA
65905   2G1105S31K9138690   GM           IMPALA              SANTA BARBARA             CA
65906   2G1105S31K9139452   GM           IMPALA              NEW BERN                  NC
65907   2G1105S31K9139743   GM           IMPALA              STERLING                  VA
65908   2G1105S31K9139810   GM           IMPALA              PHILADELPHIA              PA
65909   2G1105S31K9140052   GM           IMPALA              PHILADELPHIA              PA
65910   2G1105S31K9140312   GM           IMPALA              MIAMI                     FL
65911   2G1105S31K9140701   GM           IMPALA              WEST PALM BEACH           FL
65912   2G1105S31K9140990   GM           IMPALA              GREENVILLE                NC
65913   2G1105S31K9141279   GM           IMPALA              PITTSBURGH                PA
65914   2G1105S31K9141296   GM           IMPALA              PHILADELPHIA              PA
65915   2G1105S31K9141704   GM           IMPALA              CHARLOTTE                 NC
65916   2G1105S31K9141864   GM           IMPALA              JACKSONVILLE              FL
65917   2G1105S31K9142089   GM           IMPALA              FORT MYERS                FL
65918   2G1105S31K9142464   GM           IMPALA              DANIA BEACH               FL
65919   2G1105S31K9142738   GM           IMPALA              TAMPA                     FL
65920   2G1105S31K9142805   GM           IMPALA              SAVANNAH                  GA
65921   2G1105S31K9142870   GM           IMPALA              ATLANTA                   GA
65922   2G1105S31K9143078   GM           IMPALA              ROCHESTER                 NY
65923   2G1105S31K9143341   GM           IMPALA              JACKSONVILLE              FL
65924   2G1105S31K9143355   GM           IMPALA              Hebron                    KY
65925   2G1105S31K9143548   GM           IMPALA              BALTIMORE                 MD
65926   2G1105S31K9143839   GM           IMPALA              Atlanta                   GA
65927   2G1105S31K9143842   GM           IMPALA              SARASOTA                  FL
65928   2G1105S31K9144201   GM           IMPALA              WEST PALM BEACH           FL
65929   2G1105S31K9144621   GM           IMPALA              Miami                     FL
65930   2G1105S31K9144635   GM           IMPALA              RAYNHAM                   MA
65931   2G1105S31K9144764   GM           IMPALA              ORLANDO                   FL
65932   2G1105S31K9145137   GM           IMPALA              Atlanta                   GA
65933   2G1105S31K9145154   GM           IMPALA              SARASOTA                  FL
65934   2G1105S31K9145171   GM           IMPALA              NORFOLK                   VA
65935   2G1105S31K9145297   GM           IMPALA              NEW BERN                  NC
65936   2G1105S31K9145459   GM           IMPALA              BOSTON                    MA
65937   2G1105S31K9145493   GM           IMPALA              FORT MYERS                FL
65938   2G1105S31K9145526   GM           IMPALA              ATLANTA                   GA
65939   2G1105S31K9145557   GM           IMPALA              CLEVELAND                 OH
65940   2G1105S31K9145655   GM           IMPALA              LOUISVILLE                KY
65941   2G1105S31K9145865   GM           IMPALA              GREENVILLE                NC
65942   2G1105S31K9145896   GM           IMPALA              STERLING                  VA
65943   2G1105S31K9146109   GM           IMPALA              HARRISBURG                PA
65944   2G1105S31K9146580   GM           IMPALA              Atlanta                   GA
65945   2G1105S31K9146790   GM           IMPALA              CHICAGO                   IL
65946   2G1105S31K9146921   GM           IMPALA              INDIANAPOLIS              IN
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65947   2G1105S31K9146983   GM           IMPALA              WEST PALM BEACH           FL
65948   2G1105S31K9147017   GM           IMPALA              CHARLOTTE                 NC
65949   2G1105S31K9147048   GM           IMPALA              MEMPHIS                   TN
65950   2G1105S31K9147468   GM           IMPALA              KENNER                    LA
65951   2G1105S31K9147485   GM           IMPALA              DALLAS                    TX
65952   2G1105S31K9147521   GM           IMPALA              ATLANTA                   GA
65953   2G1105S31K9147566   GM           IMPALA              KNOXVILLE                 TN
65954   2G1105S31K9147731   GM           IMPALA              SALT LAKE CITY            US
65955   2G1105S31K9148863   GM           IMPALA              LAS VEGAS                 NV
65956   2G1105S31K9149091   GM           IMPALA              SAVANNAH                  GA
65957   2G1105S31K9149592   GM           IMPALA              JACKSON                   MS
65958   2G1105S31K9149690   GM           IMPALA              MIAMI                     FL
65959   2G1105S31K9150581   GM           IMPALA              SALT LAKE CITY            UT
65960   2G1105S31K9151147   GM           IMPALA              DENVER                    CO
65961   2G1105S31K9151231   GM           IMPALA              STERLING                  VA
65962   2G1105S31K9151388   GM           IMPALA              SAN ANTONIO               TX
65963   2G1105S31K9151598   GM           IMPALA              KANSAS CITY               MO
65964   2G1105S31K9151682   GM           IMPALA              SARASOTA                  FL
65965   2G1105S31K9152072   GM           IMPALA              ORLANDO                   FL
65966   2G1105S31K9152198   GM           IMPALA              COLUMBUS                  OH
65967   2G1105S31K9152234   GM           IMPALA              Des Plaines               IL
65968   2G1105S31K9152556   GM           IMPALA              STERLING                  VA
65969   2G1105S31K9152606   GM           IMPALA              FORT MYERS                FL
65970   2G1105S31K9152976   GM           IMPALA              ALBUQUERQUE               NM
65971   2G1105S31K9154209   GM           IMPALA              DES MOINES                IA
65972   2G1105S31K9154307   GM           IMPALA              DENVER                    CO
65973   2G1105S31K9154680   GM           IMPALA              ONTARIO                   CA
65974   2G1105S31K9154890   GM           IMPALA              Atlanta                   GA
65975   2G1105S31K9155635   GM           IMPALA              HILLSBOROUGH              NJ
65976   2G1105S31K9156459   GM           IMPALA              SARASOTA                  FL
65977   2G1105S31K9156851   GM           IMPALA              LAS VEGAS                 NV
65978   2G1105S31K9157367   GM           IMPALA              NEW BERN                  NC
65979   2G1105S31K9157837   GM           IMPALA              WEST PALM BEACH           FL
65980   2G1105S32J9135280   GM           IMPALA              DAYTONA BEACH             FL
65981   2G1105S32J9147588   GM           IMPALA              TAMPA                     FL
65982   2G1105S32J9157974   GM           IMPALA              NEW BERN                  NC
65983   2G1105S32J9159059   GM           IMPALA              FORT MYERS                FL
65984   2G1105S32J9160468   GM           IMPALA              FORT LAUDERDALE           FL
65985   2G1105S32J9173236   GM           IMPALA              MIAMI                     FL
65986   2G1105S32J9173477   GM           IMPALA              WEST PALM BEACH           FL
65987   2G1105S32J9173804   GM           IMPALA              Anaheim                   CA
65988   2G1105S32J9174712   GM           IMPALA              DENVER                    CO
65989   2G1105S32J9175536   GM           IMPALA              LAS VEGAS                 NV
65990   2G1105S32J9176041   GM           IMPALA              LOS ANGELES               CA
65991   2G1105S32J9176265   GM           IMPALA              ALBUQUERQUE               NM
65992   2G1105S32J9177576   GM           IMPALA              LAS VEGAS                 NV
65993   2G1105S32J9177769   GM           IMPALA              Winter Park               FL
65994   2G1105S32J9177898   GM           IMPALA              BUFORD                    GA
65995   2G1105S32J9177920   GM           IMPALA              Rockville Centr           NY
65996   2G1105S32J9178243   GM           IMPALA              Phoenix                   AZ
65997   2G1105S32J9178470   GM           IMPALA              CHICAGO                   IL
65998   2G1105S32K9117704   GM           IMPALA              TAMPA                     FL
65999   2G1105S32K9117959   GM           IMPALA              CHARLOTTE                 NC
66000   2G1105S32K9118061   GM           IMPALA              Atlanta                   GA
66001   2G1105S32K9118271   GM           IMPALA              WEST PALM BEACH           FL
66002   2G1105S32K9118822   GM           IMPALA              SARASOTA                  FL
66003   2G1105S32K9121736   GM           IMPALA              CLARKSVILLE               IN
66004   2G1105S32K9121980   GM           IMPALA              HILO                      HI
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66005   2G1105S32K9122109   GM           IMPALA              WEST PALM BEACH           FL
66006   2G1105S32K9122255   GM           IMPALA              KAILUA‐KONA               HI
66007   2G1105S32K9122286   GM           IMPALA              WEST PALM BEACH           FL
66008   2G1105S32K9122305   GM           IMPALA              ORLANDO                   FL
66009   2G1105S32K9122515   GM           IMPALA              SARASOTA                  FL
66010   2G1105S32K9122742   GM           IMPALA              ORLANDO                   FL
66011   2G1105S32K9122871   GM           IMPALA              WEST PALM BEACH           FL
66012   2G1105S32K9122966   GM           IMPALA              HILO                      HI
66013   2G1105S32K9123177   GM           IMPALA              TAMPA                     FL
66014   2G1105S32K9123664   GM           IMPALA              WEST PALM BEACH           FL
66015   2G1105S32K9132798   GM           IMPALA              WHITE PLAINS              NY
66016   2G1105S32K9133241   GM           IMPALA              Johnston                  RI
66017   2G1105S32K9133255   GM           IMPALA              TAMPA                     FL
66018   2G1105S32K9133319   GM           IMPALA              WEST PALM BEACH           FL
66019   2G1105S32K9133918   GM           IMPALA              WEST PALM BEACH           FL
66020   2G1105S32K9134812   GM           IMPALA              TAMPA                     FL
66021   2G1105S32K9134857   GM           IMPALA              ORLANDO                   FL
66022   2G1105S32K9136088   GM           IMPALA              Teterboro                 NJ
66023   2G1105S32K9136141   GM           IMPALA              KENNER                    LA
66024   2G1105S32K9136169   GM           IMPALA              Atlanta                   GA
66025   2G1105S32K9136298   GM           IMPALA              ORLANDO                   FL
66026   2G1105S32K9136365   GM           IMPALA              ORLANDO                   FL
66027   2G1105S32K9136902   GM           IMPALA              LAS VEGAS                 NV
66028   2G1105S32K9137371   GM           IMPALA              FORT LAUDERDALE           FL
66029   2G1105S32K9137791   GM           IMPALA              TITUSVILLE                FL
66030   2G1105S32K9139492   GM           IMPALA              KENNER                    LA
66031   2G1105S32K9140609   GM           IMPALA              WARWICK                   RI
66032   2G1105S32K9141114   GM           IMPALA              Johnston                  RI
66033   2G1105S32K9141209   GM           IMPALA              TAMPA                     FL
66034   2G1105S32K9141632   GM           IMPALA              Atlanta                   GA
66035   2G1105S32K9141808   GM           IMPALA              PHILADELPHIA              PA
66036   2G1105S32K9142375   GM           IMPALA              BOSTON                    MA
66037   2G1105S32K9143171   GM           IMPALA              FORT MYERS                FL
66038   2G1105S32K9143431   GM           IMPALA              Atlanta                   GA
66039   2G1105S32K9143493   GM           IMPALA              PHILADELPHIA              PA
66040   2G1105S32K9144076   GM           IMPALA              Harvey                    LA
66041   2G1105S32K9144434   GM           IMPALA              ORLANDO                   FL
66042   2G1105S32K9144594   GM           IMPALA              PALM SPRINGS              CA
66043   2G1105S32K9144613   GM           IMPALA              JACKSONVILLE              FL
66044   2G1105S32K9144689   GM           IMPALA              FORT LAUDERDALE           FL
66045   2G1105S32K9144711   GM           IMPALA              TAMPA                     FL
66046   2G1105S32K9144952   GM           IMPALA              TAMPA                     FL
66047   2G1105S32K9144983   GM           IMPALA              MANCHESTER                US
66048   2G1105S32K9145003   GM           IMPALA              WEST PALM BEACH           FL
66049   2G1105S32K9145227   GM           IMPALA              BLOOMINGTON               IL
66050   2G1105S32K9145258   GM           IMPALA              STERLING                  VA
66051   2G1105S32K9145275   GM           IMPALA              CLEVELAND                 OH
66052   2G1105S32K9145390   GM           IMPALA              KNOXVILLE                 TN
66053   2G1105S32K9145521   GM           IMPALA              Miami                     FL
66054   2G1105S32K9145759   GM           IMPALA              TAMPA                     FL
66055   2G1105S32K9146037   GM           IMPALA              MILWAUKEE                 WI
66056   2G1105S32K9146054   GM           IMPALA              COLLEGE PARK              GA
66057   2G1105S32K9146393   GM           IMPALA              DENVER                    CO
66058   2G1105S32K9146913   GM           IMPALA              PHOENIX                   AZ
66059   2G1105S32K9147107   GM           IMPALA              STERLING                  VA
66060   2G1105S32K9147172   GM           IMPALA              RALIEGH                   NC
66061   2G1105S32K9147351   GM           IMPALA              NASHVILLE                 TN
66062   2G1105S32K9147477   GM           IMPALA              KNOXVILLE                 TN
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66063   2G1105S32K9147608   GM           IMPALA              KANSAS CITY               MO
66064   2G1105S32K9149097   GM           IMPALA              PALM SPRINGS              CA
66065   2G1105S32K9149312   GM           IMPALA              LAS VEGAS                 NV
66066   2G1105S32K9149861   GM           IMPALA              CHICAGO                   IL
66067   2G1105S32K9149925   GM           IMPALA              KENNER                    LA
66068   2G1105S32K9150766   GM           IMPALA              ORLANDO                   FL
66069   2G1105S32K9152291   GM           IMPALA              KANSAS CITY               MO
66070   2G1105S32K9153327   GM           IMPALA              AUSTIN                    TX
66071   2G1105S32K9153909   GM           IMPALA              BURBANK                   CA
66072   2G1105S32K9154204   GM           IMPALA              PHOENIX                   AZ
66073   2G1105S32K9154218   GM           IMPALA              ONTARIO                   CA
66074   2G1105S32K9154302   GM           IMPALA              SALT LAKE CITY            US
66075   2G1105S32K9154414   GM           IMPALA              SALT LAKE CITY            US
66076   2G1105S32K9154493   GM           IMPALA              SANTA ANA                 CA
66077   2G1105S32K9154560   GM           IMPALA              LOS ANGELES               CA
66078   2G1105S32K9157118   GM           IMPALA              ORLANDO                   FL
66079   2G1105S33J9146322   GM           IMPALA              TAMPA                     FL
66080   2G1105S33J9158857   GM           IMPALA              WEST PALM BEACH           FL
66081   2G1105S33J9166473   GM           IMPALA              TAMPA                     US
66082   2G1105S33J9168479   GM           IMPALA              Atlanta                   GA
66083   2G1105S33J9169020   GM           IMPALA              TAMPA                     FL
66084   2G1105S33J9171642   GM           IMPALA              FORT MYERS                FL
66085   2G1105S33J9172614   GM           IMPALA              NEWARK                    NJ
66086   2G1105S33J9172662   GM           IMPALA              Fredericksburg            VA
66087   2G1105S33J9172841   GM           IMPALA              Florissant                MO
66088   2G1105S33J9173066   GM           IMPALA              Chandler                  AZ
66089   2G1105S33J9173164   GM           IMPALA              HARRISBURG                PA
66090   2G1105S33J9173357   GM           IMPALA              FORT MYERS                FL
66091   2G1105S33J9173651   GM           IMPALA              SOUTHEAST DST OFFC        OK
66092   2G1105S33J9173892   GM           IMPALA              CHICAGO                   IL
66093   2G1105S33J9175089   GM           IMPALA              BURBANK                   CA
66094   2G1105S33J9175349   GM           IMPALA              SAN DIEGO                 CA
66095   2G1105S33J9175626   GM           IMPALA              LAS VEGAS                 NV
66096   2G1105S33J9175786   GM           IMPALA              ONTARIO, RIVERSIDE        CA
66097   2G1105S33J9175836   GM           IMPALA              SAINT PAUL                MN
66098   2G1105S33J9177778   GM           IMPALA              TAMPA                     FL
66099   2G1105S33J9178025   GM           IMPALA              PHOENIX                   AZ
66100   2G1105S33J9178056   GM           IMPALA              SARASOTA                  FL
66101   2G1105S33J9178123   GM           IMPALA              RALIEGH                   NC
66102   2G1105S33J9178171   GM           IMPALA              MIAMI                     FL
66103   2G1105S33J9178185   GM           IMPALA              SAN FRANCISCO             CA
66104   2G1105S33J9178221   GM           IMPALA              Bensalem                  PA
66105   2G1105S33J9178428   GM           IMPALA              Baltimore                 MD
66106   2G1105S33J9178445   GM           IMPALA              FORT MYERS                FL
66107   2G1105S33J9178574   GM           IMPALA              Smithtown                 NY
66108   2G1105S33K9117002   GM           IMPALA              KALAOA                    HI
66109   2G1105S33K9117808   GM           IMPALA              ORLANDO                   FL
66110   2G1105S33K9117839   GM           IMPALA              FORT LAUDERDALE           FL
66111   2G1105S33K9118067   GM           IMPALA              Statesville               NC
66112   2G1105S33K9118148   GM           IMPALA              SARASOTA                  FL
66113   2G1105S33K9118263   GM           IMPALA              MIAMI                     FL
66114   2G1105S33K9118358   GM           IMPALA              Hapeville                 GA
66115   2G1105S33K9121339   GM           IMPALA              MIAMI                     FL
66116   2G1105S33K9121731   GM           IMPALA              FORT MYERS                FL
66117   2G1105S33K9121860   GM           IMPALA              Miami                     FL
66118   2G1105S33K9122099   GM           IMPALA              FORT LAUDERDALE           FL
66119   2G1105S33K9122149   GM           IMPALA              KALAOA                    HI
66120   2G1105S33K9122667   GM           IMPALA              TAMPA                     FL
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66121   2G1105S33K9123365   GM           IMPALA              KALAOA                    HI
66122   2G1105S33K9132664   GM           IMPALA              Lynn                      MA
66123   2G1105S33K9133314   GM           IMPALA              SARASOTA                  FL
66124   2G1105S33K9133457   GM           IMPALA              Des Plaines               IL
66125   2G1105S33K9133930   GM           IMPALA              ONTARIO                   CA
66126   2G1105S33K9134513   GM           IMPALA              San Antonio               TX
66127   2G1105S33K9135905   GM           IMPALA              Anchorage                 AK
66128   2G1105S33K9136486   GM           IMPALA              MIAMI                     FL
66129   2G1105S33K9137265   GM           IMPALA              TAMPA                     US
66130   2G1105S33K9137654   GM           IMPALA              WEST PALM BEACH           FL
66131   2G1105S33K9137797   GM           IMPALA              Philadelphia              PA
66132   2G1105S33K9139887   GM           IMPALA              LAS VEGAS                 NV
66133   2G1105S33K9140621   GM           IMPALA              North Dighton             MA
66134   2G1105S33K9140926   GM           IMPALA              TAMPA                     FL
66135   2G1105S33K9141090   GM           IMPALA              MIAMI                     FL
66136   2G1105S33K9141350   GM           IMPALA              BOSTON                    MA
66137   2G1105S33K9141655   GM           IMPALA              WEST PALM BEACH           FL
66138   2G1105S33K9142143   GM           IMPALA              Tampa                     FL
66139   2G1105S33K9142207   GM           IMPALA              SAVANNAH                  GA
66140   2G1105S33K9142269   GM           IMPALA              LAS VEGAS                 NV
66141   2G1105S33K9142496   GM           IMPALA              ORLANDO                   FL
66142   2G1105S33K9142501   GM           IMPALA              JACKSONVILLE              FL
66143   2G1105S33K9143034   GM           IMPALA              MIAMI                     FL
66144   2G1105S33K9143129   GM           IMPALA              FORT MYERS                FL
66145   2G1105S33K9143146   GM           IMPALA              DALLAS                    TX
66146   2G1105S33K9143177   GM           IMPALA              HARTFORD                  CT
66147   2G1105S33K9143602   GM           IMPALA              CLARKSVILLE               IN
66148   2G1105S33K9144863   GM           IMPALA              WEST COLUMBIA             SC
66149   2G1105S33K9144989   GM           IMPALA              Stone Mountain            GA
66150   2G1105S33K9145074   GM           IMPALA              MIAMI                     FL
66151   2G1105S33K9145351   GM           IMPALA              STERLING                  VA
66152   2G1105S33K9145382   GM           IMPALA              SAN DIEGO                 CA
66153   2G1105S33K9145480   GM           IMPALA              TAMPA                     FL
66154   2G1105S33K9145544   GM           IMPALA              Atlanta                   GA
66155   2G1105S33K9145561   GM           IMPALA              CHICAGO                   IL
66156   2G1105S33K9145592   GM           IMPALA              BALTIMORE                 MD
66157   2G1105S33K9145706   GM           IMPALA              CHARLOTTE                 NC
66158   2G1105S33K9145849   GM           IMPALA              LOS ANGELES               CA
66159   2G1105S33K9146113   GM           IMPALA              Hebron                    KY
66160   2G1105S33K9146614   GM           IMPALA              FORT MYERS                FL
66161   2G1105S33K9146869   GM           IMPALA              MIAMI                     FL
66162   2G1105S33K9146936   GM           IMPALA              Atlanta                   GA
66163   2G1105S33K9147262   GM           IMPALA              CHARLESTON                WV
66164   2G1105S33K9147438   GM           IMPALA              JAMAICA                   NY
66165   2G1105S33K9150551   GM           IMPALA              KANSAS CITY               MO
66166   2G1105S33K9150663   GM           IMPALA              PHILADELPHIA              PA
66167   2G1105S33K9151151   GM           IMPALA              STERLING                  VA
66168   2G1105S33K9151215   GM           IMPALA              PHILADELPHIA              PA
66169   2G1105S33K9151313   GM           IMPALA              DAYTON                    OH
66170   2G1105S33K9151831   GM           IMPALA              FORT MYERS                FL
66171   2G1105S33K9152218   GM           IMPALA              WHITE PLAINS              NY
66172   2G1105S33K9152607   GM           IMPALA              ATLANTA                   GA
66173   2G1105S33K9153000   GM           IMPALA              CHICAGO                   IL
66174   2G1105S33K9153658   GM           IMPALA              GREENSBORO                NC
66175   2G1105S33K9154390   GM           IMPALA              SAN JOSE                  CA
66176   2G1105S33K9154566   GM           IMPALA              ONTARIO                   CA
66177   2G1105S33K9154633   GM           IMPALA              MEMPHIS                   TN
66178   2G1105S33K9154888   GM           IMPALA              LOS ANGELES               CA
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66179   2G1105S34J9113636   GM           IMPALA              KAHULUI                   HI
66180   2G1105S34J9117444   GM           IMPALA              Santa Clara               CA
66181   2G1105S34J9147480   GM           IMPALA              North Dighton             MA
66182   2G1105S34J9158804   GM           IMPALA              SAN FRANCISCO             CA
66183   2G1105S34J9159130   GM           IMPALA              Coraopolis                PA
66184   2G1105S34J9161024   GM           IMPALA              ATLANTA                   GA
66185   2G1105S34J9171567   GM           IMPALA              Hebron                    KY
66186   2G1105S34J9172220   GM           IMPALA              Columbia                  MD
66187   2G1105S34J9172704   GM           IMPALA              LAUREL                    MD
66188   2G1105S34J9172850   GM           IMPALA              WEST PALM BEACH           FL
66189   2G1105S34J9174193   GM           IMPALA              WESTERN DIST OFFC         OK
66190   2G1105S34J9177434   GM           IMPALA              NORTH HILLS               CA
66191   2G1105S34J9177952   GM           IMPALA              ONTARIO                   CA
66192   2G1105S34J9178163   GM           IMPALA              LOS ANGELES               CA
66193   2G1105S34J9178258   GM           IMPALA              WEST PALM BEACH           FL
66194   2G1105S34J9178292   GM           IMPALA              LOS ANGELES               CA
66195   2G1105S34J9178342   GM           IMPALA              Manheim                   PA
66196   2G1105S34J9178373   GM           IMPALA              STOCKTON                  CA
66197   2G1105S34J9178521   GM           IMPALA              SAN FRANCISCO             CA
66198   2G1105S34K9116974   GM           IMPALA              HILO                      HI
66199   2G1105S34K9118059   GM           IMPALA              SAVANNAH                  GA
66200   2G1105S34K9118174   GM           IMPALA              FORT LAUDERDALE           FL
66201   2G1105S34K9118238   GM           IMPALA              SARASOTA                  FL
66202   2G1105S34K9118594   GM           IMPALA              TAMPA                     FL
66203   2G1105S34K9118675   GM           IMPALA              FORT MYERS                FL
66204   2G1105S34K9118725   GM           IMPALA              ORLANDO                   FL
66205   2G1105S34K9121625   GM           IMPALA              NEW ORLEANS               LA
66206   2G1105S34K9121897   GM           IMPALA              FORT MYERS                FL
66207   2G1105S34K9122158   GM           IMPALA              Tampa                     FL
66208   2G1105S34K9122242   GM           IMPALA              KAILUA‐KONA               HI
66209   2G1105S34K9122354   GM           IMPALA              ORLANDO                   FL
66210   2G1105S34K9122418   GM           IMPALA              AUGUSTA                   GA
66211   2G1105S34K9122581   GM           IMPALA              SARASOTA                  FL
66212   2G1105S34K9122788   GM           IMPALA              KALAOA                    HI
66213   2G1105S34K9123911   GM           IMPALA              HILO                      HI
66214   2G1105S34K9132494   GM           IMPALA              WINDSOR LOCKS             US
66215   2G1105S34K9133046   GM           IMPALA              TAMPA                     FL
66216   2G1105S34K9133287   GM           IMPALA              Atlanta                   GA
66217   2G1105S34K9134620   GM           IMPALA              ORLANDO                   FL
66218   2G1105S34K9135234   GM           IMPALA              Atlanta                   GA
66219   2G1105S34K9135248   GM           IMPALA              COCOA                     FL
66220   2G1105S34K9136027   GM           IMPALA              BULLHEAD CITY             AZ
66221   2G1105S34K9136044   GM           IMPALA              MIAMI                     FL
66222   2G1105S34K9136156   GM           IMPALA              FORT LAUDERDALE           FL
66223   2G1105S34K9136190   GM           IMPALA              PHILADELPHIA              PA
66224   2G1105S34K9136562   GM           IMPALA              Hendersonville            TN
66225   2G1105S34K9136674   GM           IMPALA              Atlanta                   GA
66226   2G1105S34K9136805   GM           IMPALA              PALM SPRINGS              CA
66227   2G1105S34K9136836   GM           IMPALA              ATLANTA AP                GA
66228   2G1105S34K9137727   GM           IMPALA              ORLANDO                   FL
66229   2G1105S34K9138053   GM           IMPALA              Atlanta                   GA
66230   2G1105S34K9139073   GM           IMPALA              CLEVELAND                 OH
66231   2G1105S34K9139476   GM           IMPALA              WEST PALM BEACH           FL
66232   2G1105S34K9139686   GM           IMPALA              Philadelphia              PA
66233   2G1105S34K9140238   GM           IMPALA              FORT MYERS                FL
66234   2G1105S34K9140434   GM           IMPALA              FORT MYERS                FL
66235   2G1105S34K9141440   GM           IMPALA              WEST PALM BEACH           FL
66236   2G1105S34K9141521   GM           IMPALA              FORT LAUDERDALE           FL
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66237   2G1105S34K9141566   GM           IMPALA              Jacksonville              FL
66238   2G1105S34K9141745   GM           IMPALA              ORLANDO                   FL
66239   2G1105S34K9141759   GM           IMPALA              FORT MYERS                FL
66240   2G1105S34K9142099   GM           IMPALA              TAMPA                     FL
66241   2G1105S34K9142250   GM           IMPALA              TAMPA                     FL
66242   2G1105S34K9142488   GM           IMPALA              DANIA BEACH               FL
66243   2G1105S34K9142555   GM           IMPALA              MILWAUKEE                 WI
66244   2G1105S34K9142779   GM           IMPALA              WEST PALM BEACH           FL
66245   2G1105S34K9142894   GM           IMPALA              FORT MYERS                FL
66246   2G1105S34K9142989   GM           IMPALA              ORLANDO                   FL
66247   2G1105S34K9143057   GM           IMPALA              Hendersonville            TN
66248   2G1105S34K9143429   GM           IMPALA              MIAMI                     FL
66249   2G1105S34K9143575   GM           IMPALA              STERLING                  VA
66250   2G1105S34K9144936   GM           IMPALA              FORT LAUDERDALE           FL
66251   2G1105S34K9145293   GM           IMPALA              JACKSON                   MS
66252   2G1105S34K9145570   GM           IMPALA              BATON ROUGE               LA
66253   2G1105S34K9145603   GM           IMPALA              WEST PALM BEACH           FL
66254   2G1105S34K9145620   GM           IMPALA              SAINT PAUL                MN
66255   2G1105S34K9145701   GM           IMPALA              GREENSBORO                NC
66256   2G1105S34K9145729   GM           IMPALA              PORTLAND                  ME
66257   2G1105S34K9145763   GM           IMPALA              MOBILE                    A
66258   2G1105S34K9146346   GM           IMPALA              DETROIT                   MI
66259   2G1105S34K9146542   GM           IMPALA              TAMPA                     FL
66260   2G1105S34K9146637   GM           IMPALA              MYRTLE BEACH              SC
66261   2G1105S34K9147190   GM           IMPALA              BIRMINGHAN                AL
66262   2G1105S34K9147237   GM           IMPALA              UNION CITY                GA
66263   2G1105S34K9147402   GM           IMPALA              CHICAGO                   IL
66264   2G1105S34K9147531   GM           IMPALA              ORLANDO                   FL
66265   2G1105S34K9147576   GM           IMPALA              GREENVILLE                NC
66266   2G1105S34K9149229   GM           IMPALA              DETROIT                   MI
66267   2G1105S34K9150705   GM           IMPALA              SAINT PAUL                MN
66268   2G1105S34K9150848   GM           IMPALA              STERLING                  VA
66269   2G1105S34K9151062   GM           IMPALA              MYRTLE BEACH              SC
66270   2G1105S34K9151448   GM           IMPALA              LOUISVILLE                KY
66271   2G1105S34K9151949   GM           IMPALA              BOSTON                    MA
66272   2G1105S34K9152177   GM           IMPALA              MILWAUKEE                 WI
66273   2G1105S34K9152289   GM           IMPALA              Elgin                     IL
66274   2G1105S34K9152468   GM           IMPALA              INDIANAPOLIS              IN
66275   2G1105S34K9152504   GM           IMPALA              KANSAS CITY               MO
66276   2G1105S34K9152678   GM           IMPALA              Miami                     FL
66277   2G1105S34K9152812   GM           IMPALA              PHOENIX                   AZ
66278   2G1105S34K9152843   GM           IMPALA              LOS ANGELES               CA
66279   2G1105S34K9153197   GM           IMPALA              Miami                     FL
66280   2G1105S34K9154186   GM           IMPALA              LAS VEGAS                 NV
66281   2G1105S34K9154513   GM           IMPALA              LOS ANGELES               CA
66282   2G1105S34K9154639   GM           IMPALA              PHOENIX                   AZ
66283   2G1105S34K9154690   GM           IMPALA              BIRMINGHAN                AL
66284   2G1105S34K9154737   GM           IMPALA              ONTARIO                   CA
66285   2G1105S34K9154852   GM           IMPALA              PALM SPRINGS              CA
66286   2G1105S34K9154902   GM           IMPALA              DENVER                    CO
66287   2G1105S34K9155208   GM           IMPALA              SANTA ANA                 CA
66288   2G1105S34K9156178   GM           IMPALA              PHILADELPHIA              PA
66289   2G1105S34K9156911   GM           IMPALA              COLORADO SPRING           CO
66290   2G1105S34K9157623   GM           IMPALA              EXETER                    RI
66291   2G1105S34K9158030   GM           IMPALA              SARASOTA                  FL
66292   2G1105S35J9122846   GM           IMPALA              DANIA                     US
66293   2G1105S35J9153126   GM           IMPALA              DETROIT                   MI
66294   2G1105S35J9154664   GM           IMPALA              COLUMBIA                  SC
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66295   2G1105S35J9155376   GM           IMPALA              TAMPA                     FL
66296   2G1105S35J9155524   GM           IMPALA              Tampa                     FL
66297   2G1105S35J9166328   GM           IMPALA              Manheim                   PA
66298   2G1105S35J9166863   GM           IMPALA              Orlando                   FL
66299   2G1105S35J9172257   GM           IMPALA              SAN DIEGO                 CA
66300   2G1105S35J9173831   GM           IMPALA              FORT LAUDERDALE           FL
66301   2G1105S35J9173943   GM           IMPALA              MINNEAPOLIS               MN
66302   2G1105S35J9175434   GM           IMPALA              LOS ANGELES               CA
66303   2G1105S35J9175496   GM           IMPALA              PALM SPRINGS              CA
66304   2G1105S35J9176227   GM           IMPALA              LOS ANGELES AP            CA
66305   2G1105S35J9178088   GM           IMPALA              Stockton                  CA
66306   2G1105S35J9178124   GM           IMPALA              LOS ANGELES               CA
66307   2G1105S35J9178351   GM           IMPALA              SEATAC                    WA
66308   2G1105S35J9178396   GM           IMPALA              PALM SPRINGS              CA
66309   2G1105S35J9178527   GM           IMPALA              SHREVEPORT                LA
66310   2G1105S35J9178575   GM           IMPALA              INDIANAPOLIS              IN
66311   2G1105S35K9118698   GM           IMPALA              FORT LAUDERDALE           FL
66312   2G1105S35K9119494   GM           IMPALA              Charlotte                 NC
66313   2G1105S35K9120757   GM           IMPALA              ORLANDO                   FL
66314   2G1105S35K9120791   GM           IMPALA              Atlanta                   GA
66315   2G1105S35K9121407   GM           IMPALA              Atlanta                   GA
66316   2G1105S35K9121701   GM           IMPALA              ORLANDO                   FL
66317   2G1105S35K9121844   GM           IMPALA              WEST PALM BEACH           FL
66318   2G1105S35K9121911   GM           IMPALA              FORT MYERS                FL
66319   2G1105S35K9122427   GM           IMPALA              KALAOA                    HI
66320   2G1105S35K9122587   GM           IMPALA              HILO                      HI
66321   2G1105S35K9122671   GM           IMPALA              FORT LAUDERDALE           FL
66322   2G1105S35K9122704   GM           IMPALA              ORLANDO                   FL
66323   2G1105S35K9122928   GM           IMPALA              Norwalk                   CA
66324   2G1105S35K9122962   GM           IMPALA              HILO                      HI
66325   2G1105S35K9123674   GM           IMPALA              KAILUA‐KONA               HI
66326   2G1105S35K9123707   GM           IMPALA              MEMPHIS                   TN
66327   2G1105S35K9132634   GM           IMPALA              TAMPA                     FL
66328   2G1105S35K9132777   GM           IMPALA              FORT LAUDERDALE           FL
66329   2G1105S35K9132942   GM           IMPALA              JACKSONVILLE              FL
66330   2G1105S35K9133038   GM           IMPALA              WEST PALM BEACH           FL
66331   2G1105S35K9133119   GM           IMPALA              West Palm Beach           FL
66332   2G1105S35K9133251   GM           IMPALA              FORT LAUDERDALE           FL
66333   2G1105S35K9133279   GM           IMPALA              DANIA BEACH               FL
66334   2G1105S35K9135842   GM           IMPALA              SARASOTA                  FL
66335   2G1105S35K9136103   GM           IMPALA              Atlanta                   GA
66336   2G1105S35K9136490   GM           IMPALA              STERLING                  VA
66337   2G1105S35K9136585   GM           IMPALA              Chicago                   IL
66338   2G1105S35K9136666   GM           IMPALA              FORT MYERS                FL
66339   2G1105S35K9136960   GM           IMPALA              JACKSONVILLE              FL
66340   2G1105S35K9137090   GM           IMPALA              North Dighton             MA
66341   2G1105S35K9137347   GM           IMPALA              ORLANDO                   FL
66342   2G1105S35K9137512   GM           IMPALA              MEDINA                    OH
66343   2G1105S35K9138367   GM           IMPALA              CHEEKTOWAGA               NY
66344   2G1105S35K9139597   GM           IMPALA              KNOXVILLE                 TN
66345   2G1105S35K9141219   GM           IMPALA              NEW YORK CITY             NY
66346   2G1105S35K9141382   GM           IMPALA              ALBANY                    N
66347   2G1105S35K9141690   GM           IMPALA              SARASOTA                  FL
66348   2G1105S35K9143049   GM           IMPALA              NORFOLK                   VA
66349   2G1105S35K9143262   GM           IMPALA              GRAND RAPIDS              MI
66350   2G1105S35K9143567   GM           IMPALA              OMAHA                     NE
66351   2G1105S35K9143794   GM           IMPALA              CLEVELAND                 OH
66352   2G1105S35K9144587   GM           IMPALA              Portland                  ME
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66353   2G1105S35K9144606   GM           IMPALA              SAVANNAH                  GA
66354   2G1105S35K9144623   GM           IMPALA              PHILADELPHIA              PA
66355   2G1105S35K9144931   GM           IMPALA              PHILADELPHIA              PA
66356   2G1105S35K9145111   GM           IMPALA              WEST COLUMBIA             SC
66357   2G1105S35K9145139   GM           IMPALA              DENHAM SPRINGS            LA
66358   2G1105S35K9145223   GM           IMPALA              OMAHA                     NE
66359   2G1105S35K9145349   GM           IMPALA              ALEXANDRIA                VA
66360   2G1105S35K9145366   GM           IMPALA              Atlanta                   GA
66361   2G1105S35K9145397   GM           IMPALA              ALEXANDRIA                VA
66362   2G1105S35K9145433   GM           IMPALA              FORT LAUDERDALE           FL
66363   2G1105S35K9145464   GM           IMPALA              ORLANDO                   FL
66364   2G1105S35K9145478   GM           IMPALA              Atlanta                   GA
66365   2G1105S35K9145531   GM           IMPALA              Atlanta                   GA
66366   2G1105S35K9145545   GM           IMPALA              TAMPA                     FL
66367   2G1105S35K9145576   GM           IMPALA              BIRMINGHAN                AL
66368   2G1105S35K9145948   GM           IMPALA              JACKSONVILLE              FL
66369   2G1105S35K9146064   GM           IMPALA              ORLANDO                   FL
66370   2G1105S35K9146131   GM           IMPALA              MEMPHIS                   TN
66371   2G1105S35K9146176   GM           IMPALA              FORT MYERS                FL
66372   2G1105S35K9146324   GM           IMPALA              STERLING                  VA
66373   2G1105S35K9146601   GM           IMPALA              KNOXVILLE                 TN
66374   2G1105S35K9146873   GM           IMPALA              SAVANNAH                  GA
66375   2G1105S35K9147120   GM           IMPALA              CHICAGO                   IL
66376   2G1105S35K9147280   GM           IMPALA              NAPLES                    FL
66377   2G1105S35K9147358   GM           IMPALA              KNOXVILLE                 TN
66378   2G1105S35K9147988   GM           IMPALA              HARRISBURG                PA
66379   2G1105S35K9149983   GM           IMPALA              INDIANAPOLIS              IN
66380   2G1105S35K9151149   GM           IMPALA              HOUSTON                   TX
66381   2G1105S35K9151264   GM           IMPALA              BOSTON                    MA
66382   2G1105S35K9151717   GM           IMPALA              WEST PALM BEACH           FL
66383   2G1105S35K9151815   GM           IMPALA              CHICAGO                   IL
66384   2G1105S35K9151961   GM           IMPALA              DES MOINES                IA
66385   2G1105S35K9152012   GM           IMPALA              WEST COLUMBIA             SC
66386   2G1105S35K9152365   GM           IMPALA              INDIANAPOLIS              IN
66387   2G1105S35K9154102   GM           IMPALA              LOS ANGELES               CA
66388   2G1105S35K9154519   GM           IMPALA              COLLEGE PARK              GA
66389   2G1105S35K9154553   GM           IMPALA              RENO                      NV
66390   2G1105S35K9154570   GM           IMPALA              ROCHESTER                 NY
66391   2G1105S35K9154648   GM           IMPALA              SAN FRANCISCO             CA
66392   2G1105S35K9154830   GM           IMPALA              PHOENIX                   AZ
66393   2G1105S35K9156254   GM           IMPALA              Elkridge                  MD
66394   2G1105S35K9157260   GM           IMPALA              ROANOKE                   VA
66395   2G1105S35K9157842   GM           IMPALA              SARASOTA                  FL
66396   2G1105S35K9157985   GM           IMPALA              SARASOTA                  FL
66397   2G1105S35K9158084   GM           IMPALA              STERLING                  VA
66398   2G1105S35K9158876   GM           IMPALA              DES MOINES                IA
66399   2G1105S36J9146797   GM           IMPALA              WEST PALM BEACH           FL
66400   2G1105S36J9147187   GM           IMPALA              JACKSONVILLE              FL
66401   2G1105S36J9147562   GM           IMPALA              FORT LAUDERDALE           FL
66402   2G1105S36J9153622   GM           IMPALA              WEST PALM BEACH           FL
66403   2G1105S36J9154222   GM           IMPALA              Plainfield                IN
66404   2G1105S36J9162644   GM           IMPALA              Detroit                   MI
66405   2G1105S36J9167634   GM           IMPALA              TAMPA                     FL
66406   2G1105S36J9172638   GM           IMPALA              PHOENIX                   AZ
66407   2G1105S36J9172901   GM           IMPALA              LAS VEGAS                 NV
66408   2G1105S36J9173952   GM           IMPALA              OKLAHOMA CITY             OK
66409   2G1105S36J9174082   GM           IMPALA              WARWICK                   RI
66410   2G1105S36J9175832   GM           IMPALA
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66411   2G1105S36J9177869   GM           IMPALA              KENNER                    LA
66412   2G1105S36J9178049   GM           IMPALA              SEATTLE                   WA
66413   2G1105S36J9178150   GM           IMPALA              ONTARIO                   CA
66414   2G1105S36J9178262   GM           IMPALA              WEST PALM BEACH           FL
66415   2G1105S36J9178357   GM           IMPALA              EL SEGUNDO                CA
66416   2G1105S36J9178570   GM           IMPALA              LOS ANGELES               CA
66417   2G1105S36K9116894   GM           IMPALA              KAILUA‐KONA               HI
66418   2G1105S36K9117866   GM           IMPALA              KENNER                    LA
66419   2G1105S36K9118810   GM           IMPALA              FORT MYERS                FL
66420   2G1105S36K9121156   GM           IMPALA              Austell                   GA
66421   2G1105S36K9121285   GM           IMPALA              ALBANY                    GA
66422   2G1105S36K9121691   GM           IMPALA              MIAMI                     FL
66423   2G1105S36K9122131   GM           IMPALA              FORT MYERS                FL
66424   2G1105S36K9122680   GM           IMPALA              SARASOTA                  FL
66425   2G1105S36K9122730   GM           IMPALA              TAMPA                     FL
66426   2G1105S36K9122775   GM           IMPALA              KALAOA                    HI
66427   2G1105S36K9122825   GM           IMPALA              KAILUA‐KONA               HI
66428   2G1105S36K9122971   GM           IMPALA              ORLANDO                   FL
66429   2G1105S36K9123831   GM           IMPALA              TALLAHASSEE               F
66430   2G1105S36K9132710   GM           IMPALA              KANSAS CITY               MO
66431   2G1105S36K9133579   GM           IMPALA              ORLANDO                   FL
66432   2G1105S36K9135042   GM           IMPALA              BIRMINGHAM                AL
66433   2G1105S36K9136286   GM           IMPALA              SAINT LOUIS               MO
66434   2G1105S36K9136319   GM           IMPALA              FORT MYERS                FL
66435   2G1105S36K9136496   GM           IMPALA              Atlanta                   GA
66436   2G1105S36K9136501   GM           IMPALA              NASHVILLE                 TN
66437   2G1105S36K9136823   GM           IMPALA              JACKSONVILLE              FL
66438   2G1105S36K9137843   GM           IMPALA              ATLANTA                   GA
66439   2G1105S36K9137972   GM           IMPALA              MIAMI                     FL
66440   2G1105S36K9138068   GM           IMPALA              FORT LAUDERDALE           FL
66441   2G1105S36K9139222   GM           IMPALA              FORT MYERS                FL
66442   2G1105S36K9139432   GM           IMPALA              Fort Myers                FL
66443   2G1105S36K9139561   GM           IMPALA              FORT MYERS                FL
66444   2G1105S36K9139608   GM           IMPALA              JACKSONVILLE              FL
66445   2G1105S36K9139771   GM           IMPALA              BIRMINGHAN                AL
66446   2G1105S36K9139883   GM           IMPALA              LOS ANGELES               CA
66447   2G1105S36K9139916   GM           IMPALA              MEMPHIS                   TN
66448   2G1105S36K9139964   GM           IMPALA              PENSACOLA                 FL
66449   2G1105S36K9140340   GM           IMPALA              BOSTON                    MA
66450   2G1105S36K9141584   GM           IMPALA              BOSTON                    MA
66451   2G1105S36K9142315   GM           IMPALA              PORTLAND                  ME
66452   2G1105S36K9142475   GM           IMPALA              TAMPA                     US
66453   2G1105S36K9142637   GM           IMPALA              SAINT LOUIS               MO
66454   2G1105S36K9142802   GM           IMPALA              FORT LAUDERDALE           FL
66455   2G1105S36K9142816   GM           IMPALA              BOSTON                    MA
66456   2G1105S36K9143125   GM           IMPALA              ORLANDO                   FL
66457   2G1105S36K9143383   GM           IMPALA              STERLING                  VA
66458   2G1105S36K9143724   GM           IMPALA              TAMPA                     FL
66459   2G1105S36K9144047   GM           IMPALA              JACKSONVILLE              FL
66460   2G1105S36K9144081   GM           IMPALA              DENHAM SPRINGS            LA
66461   2G1105S36K9144596   GM           IMPALA              TAMPA                     FL
66462   2G1105S36K9144694   GM           IMPALA              BUFFALO                   NY
66463   2G1105S36K9144890   GM           IMPALA              ORLANDO                   FL
66464   2G1105S36K9144971   GM           IMPALA              FAYETTEVILLE              GA
66465   2G1105S36K9145408   GM           IMPALA              HARRISBURG                PA
66466   2G1105S36K9145439   GM           IMPALA              KNOXVILLE                 TN
66467   2G1105S36K9145442   GM           IMPALA              ORLANDO                   FL
66468   2G1105S36K9145618   GM           IMPALA              WARWICK                   RI
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66469   2G1105S36K9145635   GM           IMPALA              FORT MYERS                FL
66470   2G1105S36K9145750   GM           IMPALA              ORLANDO                   FL
66471   2G1105S36K9145957   GM           IMPALA              PHILADELPHIA              PA
66472   2G1105S36K9146431   GM           IMPALA              TAMPA                     FL
66473   2G1105S36K9146459   GM           IMPALA              FORT LAUDERDALE           FL
66474   2G1105S36K9146915   GM           IMPALA              ORLANDO                   FL
66475   2G1105S36K9146929   GM           IMPALA              CHICAGO                   IL
66476   2G1105S36K9147174   GM           IMPALA              CHICAGO                   IL
66477   2G1105S36K9147305   GM           IMPALA              BOISE                     US
66478   2G1105S36K9151189   GM           IMPALA              KENNER                    LA
66479   2G1105S36K9151192   GM           IMPALA              JAMAICA                   NY
66480   2G1105S36K9151435   GM           IMPALA              HOUSTON                   TX
66481   2G1105S36K9151550   GM           IMPALA              Atlanta                   GA
66482   2G1105S36K9151564   GM           IMPALA              NEW BERN                  NC
66483   2G1105S36K9151600   GM           IMPALA              MIAMI                     FL
66484   2G1105S36K9151841   GM           IMPALA              KANSAS CITY               MO
66485   2G1105S36K9152018   GM           IMPALA              STERLING                  VA
66486   2G1105S36K9152181   GM           IMPALA              ORLANDO                   FL
66487   2G1105S36K9152312   GM           IMPALA              MIAMI                     FL
66488   2G1105S36K9152472   GM           IMPALA              MANCHESTER                US
66489   2G1105S36K9152519   GM           IMPALA              ALBUQUERQUE               NM
66490   2G1105S36K9152875   GM           IMPALA              HOUSTON IAH AP            TX
66491   2G1105S36K9153721   GM           IMPALA              LAS VEGAS                 NV
66492   2G1105S36K9154383   GM           IMPALA              BURBANK                   CA
66493   2G1105S36K9156389   GM           IMPALA              COLUMBUS                  OH
66494   2G1105S36K9157901   GM           IMPALA              SARASOTA                  FL
66495   2G1105S36K9158465   GM           IMPALA              FORT MYERS                FL
66496   2G1105S37J9114151   GM           IMPALA              KAHULUI                   HI
66497   2G1105S37J9145495   GM           IMPALA              TRACY                     CA
66498   2G1105S37J9149093   GM           IMPALA              SAN FRANCISCO             CA
66499   2G1105S37J9150602   GM           IMPALA              SAN FRANCISCO             CA
66500   2G1105S37J9158487   GM           IMPALA              Tolleson                  AZ
66501   2G1105S37J9158859   GM           IMPALA              Winston‐Salem             NC
66502   2G1105S37J9158943   GM           IMPALA              Hilo                      HI
66503   2G1105S37J9169117   GM           IMPALA              Grove City                OH
66504   2G1105S37J9171563   GM           IMPALA              BOSTON                    MA
66505   2G1105S37J9171823   GM           IMPALA              Manheim                   PA
66506   2G1105S37J9172390   GM           IMPALA              ORLANDO                   FL
66507   2G1105S37J9173006   GM           IMPALA              Detroit                   MI
66508   2G1105S37J9173197   GM           IMPALA              PHOENIX                   AZ
66509   2G1105S37J9173765   GM           IMPALA              Kansas City               MO
66510   2G1105S37J9177217   GM           IMPALA              GREENWOOD                 IN
66511   2G1105S37J9177833   GM           IMPALA              MIAMI                     FL
66512   2G1105S37J9177881   GM           IMPALA              MILWAUKEE                 WI
66513   2G1105S37J9178030   GM           IMPALA              PHOENIX                   AZ
66514   2G1105S37J9178044   GM           IMPALA              MIAMI                     FL
66515   2G1105S37J9178173   GM           IMPALA              FRESNO                    CA
66516   2G1105S37J9178447   GM           IMPALA              ST PAUL                   MN
66517   2G1105S37K9117049   GM           IMPALA              HILO                      HI
66518   2G1105S37K9117262   GM           IMPALA              KAILUA KONA               HI
66519   2G1105S37K9119111   GM           IMPALA              WEST PALM BEACH           FL
66520   2G1105S37K9120744   GM           IMPALA              DAVIE                     FL
66521   2G1105S37K9121005   GM           IMPALA              FAYETTEVILLE              GA
66522   2G1105S37K9121764   GM           IMPALA              Atlanta                   GA
66523   2G1105S37K9122025   GM           IMPALA              DANIA BEACH               FL
66524   2G1105S37K9122641   GM           IMPALA              JACKSONVILLE              FL
66525   2G1105S37K9122865   GM           IMPALA              TAMPA                     FL
66526   2G1105S37K9122882   GM           IMPALA              JACKSONVILLE              FL
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66527   2G1105S37K9122896   GM           IMPALA              HILO                      HI
66528   2G1105S37K9123062   GM           IMPALA              WEST PALM BEACH           FL
66529   2G1105S37K9124132   GM           IMPALA              KAILUA‐KONA               HI
66530   2G1105S37K9132618   GM           IMPALA              Miami                     FL
66531   2G1105S37K9132635   GM           IMPALA              LAS VEGAS                 NV
66532   2G1105S37K9132683   GM           IMPALA              Tampa                     FL
66533   2G1105S37K9136118   GM           IMPALA              JACKSON                   MS
66534   2G1105S37K9136233   GM           IMPALA              Burien                    WA
66535   2G1105S37K9136619   GM           IMPALA              TAMPA                     US
66536   2G1105S37K9136653   GM           IMPALA              FORT LAUDERDALE           FL
66537   2G1105S37K9136703   GM           IMPALA              BURBANK                   CA
66538   2G1105S37K9136815   GM           IMPALA              SAN DIEGO                 CA
66539   2G1105S37K9137320   GM           IMPALA              SAN DIEGO                 CA
66540   2G1105S37K9137382   GM           IMPALA              SAN ANTONIO               TX
66541   2G1105S37K9137835   GM           IMPALA              SARASOTA                  FL
66542   2G1105S37K9138094   GM           IMPALA              Portland                  OR
66543   2G1105S37K9139214   GM           IMPALA              ORLANDO                   FL
66544   2G1105S37K9139309   GM           IMPALA              Atlanta                   GA
66545   2G1105S37K9139620   GM           IMPALA              LITTLE ROCK               AR
66546   2G1105S37K9139729   GM           IMPALA              RICHMOND                  VA
66547   2G1105S37K9139827   GM           IMPALA              Atlanta                   GA
66548   2G1105S37K9140105   GM           IMPALA              North Dighton             MA
66549   2G1105S37K9140329   GM           IMPALA              NEW YORK CITY             NY
66550   2G1105S37K9140377   GM           IMPALA              ORLANDO                   FL
66551   2G1105S37K9140699   GM           IMPALA              WEST PALM BEACH           FL
66552   2G1105S37K9140718   GM           IMPALA              Atlanta                   GA
66553   2G1105S37K9140881   GM           IMPALA              BOSTON                    MA
66554   2G1105S37K9141223   GM           IMPALA              TAMPA                     FL
66555   2G1105S37K9141478   GM           IMPALA              STATESBORO                GA
66556   2G1105S37K9141870   GM           IMPALA              PHOENIX                   AZ
66557   2G1105S37K9142050   GM           IMPALA              BOSTON                    MA
66558   2G1105S37K9142064   GM           IMPALA              ORLANDO                   FL
66559   2G1105S37K9142159   GM           IMPALA              PORTLAND                  ME
66560   2G1105S37K9142260   GM           IMPALA              WEST PALM BEACH           FL
66561   2G1105S37K9142307   GM           IMPALA              JACKSONVILLE              FL
66562   2G1105S37K9142453   GM           IMPALA              TAMPA                     FL
66563   2G1105S37K9142470   GM           IMPALA              TAMPA                     FL
66564   2G1105S37K9142596   GM           IMPALA              NEW BERN                  NC
66565   2G1105S37K9142825   GM           IMPALA              LAS VEGAS                 NV
66566   2G1105S37K9142954   GM           IMPALA              INDIANAPOLIS              IN
66567   2G1105S37K9143022   GM           IMPALA              NEW BERN                  NC
66568   2G1105S37K9143330   GM           IMPALA              TAMPA                     FL
66569   2G1105S37K9143487   GM           IMPALA              KNOXVILLE                 TN
66570   2G1105S37K9143571   GM           IMPALA              SAVANNAH                  GA
66571   2G1105S37K9144686   GM           IMPALA              SAN ANTONIO               TX
66572   2G1105S37K9145076   GM           IMPALA              Houston                   TX
66573   2G1105S37K9145529   GM           IMPALA              KENNER                    LA
66574   2G1105S37K9145627   GM           IMPALA              ORLANDO                   FL
66575   2G1105S37K9145675   GM           IMPALA              Philadelphia              PA
66576   2G1105S37K9145692   GM           IMPALA              TUCSON                    AZ
66577   2G1105S37K9145725   GM           IMPALA              RALEIGH                   NC
66578   2G1105S37K9145952   GM           IMPALA              BOSTON                    MA
66579   2G1105S37K9146258   GM           IMPALA              Columbia                  MD
66580   2G1105S37K9146437   GM           IMPALA              FT LAUDERDALE             FL
66581   2G1105S37K9146762   GM           IMPALA              JACKSONVILLE              FL
66582   2G1105S37K9146843   GM           IMPALA              ORLANDO                   FL
66583   2G1105S37K9146938   GM           IMPALA              INDIANAPOLIS              IN
66584   2G1105S37K9147037   GM           IMPALA              ORLANDO                   FL
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66585   2G1105S37K9147166   GM           IMPALA              Houston                   TX
66586   2G1105S37K9147457   GM           IMPALA              FORT LAUDERDALE           FL
66587   2G1105S37K9147474   GM           IMPALA              FORT MYERS                FL
66588   2G1105S37K9147491   GM           IMPALA              Tulsa                     OK
66589   2G1105S37K9147555   GM           IMPALA              CHARLOTTE                 NC
66590   2G1105S37K9147782   GM           IMPALA              SAINT LOUIS               MO
66591   2G1105S37K9148799   GM           IMPALA              LAS VEGAS                 NV
66592   2G1105S37K9148981   GM           IMPALA              FORT MYERS                FL
66593   2G1105S37K9150116   GM           IMPALA              MILWAUKEE                 WI
66594   2G1105S37K9150763   GM           IMPALA              ROCHESTER                 NY
66595   2G1105S37K9150844   GM           IMPALA              DETROIT                   MI
66596   2G1105S37K9152089   GM           IMPALA              FORT LAUDERDALE           FL
66597   2G1105S37K9152321   GM           IMPALA              INDIANAPOLIS              IN
66598   2G1105S37K9152464   GM           IMPALA              CLEVELAND                 OH
66599   2G1105S37K9153131   GM           IMPALA              TUCSON                    AZ
66600   2G1105S37K9153534   GM           IMPALA              PHOENIX                   AZ
66601   2G1105S37K9154294   GM           IMPALA              SACRAMENTO                CA
66602   2G1105S37K9154795   GM           IMPALA              SAN DIEGO                 CA
66603   2G1105S37K9155378   GM           IMPALA              WICHITA FALLS             TX
66604   2G1105S37K9156014   GM           IMPALA              HARRISBURG                PA
66605   2G1105S37K9156711   GM           IMPALA              FORT MYERS                FL
66606   2G1105S37K9156787   GM           IMPALA              ALEXANDRIA                VA
66607   2G1105S37K9157373   GM           IMPALA              ORLANDO                   FL
66608   2G1105S37K9157440   GM           IMPALA              CHICAGO                   IL
66609   2G1105S38J9158949   GM           IMPALA              SAN FRANCISCO             CA
66610   2G1105S38J9159230   GM           IMPALA              FORT MYERS                FL
66611   2G1105S38J9159258   GM           IMPALA              TAMPA                     FL
66612   2G1105S38J9160314   GM           IMPALA              STERLING                  US
66613   2G1105S38J9167358   GM           IMPALA              MIAMI                     FL
66614   2G1105S38J9171586   GM           IMPALA              NEWARK                    NJ
66615   2G1105S38J9171670   GM           IMPALA              FORT LAUDERDALE           FL
66616   2G1105S38J9172589   GM           IMPALA              SAINT LOUIS               MO
66617   2G1105S38J9172690   GM           IMPALA              LAS VEGAS                 NV
66618   2G1105S38J9172821   GM           IMPALA              ATLANTA                   GA
66619   2G1105S38J9173595   GM           IMPALA              SALT LAKE CITY            US
66620   2G1105S38J9174021   GM           IMPALA              DENVER                    CO
66621   2G1105S38J9175623   GM           IMPALA              LAS VEGAS                 NV
66622   2G1105S38J9177663   GM           IMPALA              Austin                    TX
66623   2G1105S38J9177937   GM           IMPALA              TUCSON                    AZ
66624   2G1105S38J9177999   GM           IMPALA              BOSTON                    MA
66625   2G1105S38J9178022   GM           IMPALA              FORT LAUDERDALE           FL
66626   2G1105S38J9178294   GM           IMPALA              LAS VEGAS                 NV
66627   2G1105S38J9178375   GM           IMPALA              TAMPA                     FL
66628   2G1105S38J9178425   GM           IMPALA              Fountain                  CO
66629   2G1105S38J9178540   GM           IMPALA              TAMPA                     FL
66630   2G1105S38K9116976   GM           IMPALA              HILO                      HI
66631   2G1105S38K9117254   GM           IMPALA              HILO                      HI
66632   2G1105S38K9120297   GM           IMPALA              FT. LAUDERDALE            FL
66633   2G1105S38K9120364   GM           IMPALA              MEBANE                    NC
66634   2G1105S38K9120512   GM           IMPALA              CHATTANOOGA               TN
66635   2G1105S38K9121708   GM           IMPALA              Stone Mountain            GA
66636   2G1105S38K9121949   GM           IMPALA              SARASOTA                  FL
66637   2G1105S38K9122051   GM           IMPALA              DANIA BEACH               FL
66638   2G1105S38K9122079   GM           IMPALA              HILO                      HI
66639   2G1105S38K9122597   GM           IMPALA              WEST PALM BEACH           FL
66640   2G1105S38K9122714   GM           IMPALA              KALAOA                    HI
66641   2G1105S38K9123183   GM           IMPALA              FORT MYERS                FL
66642   2G1105S38K9123278   GM           IMPALA              TAMPA                     US
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66643   2G1105S38K9123779   GM           IMPALA              FORT MYERS                FL
66644   2G1105S38K9124009   GM           IMPALA              JACKSONVILLE              FL
66645   2G1105S38K9133423   GM           IMPALA              BOISE                     US
66646   2G1105S38K9133437   GM           IMPALA              PHOENIX                   AZ
66647   2G1105S38K9133454   GM           IMPALA              SARASOTA                  FL
66648   2G1105S38K9135222   GM           IMPALA              BIRMINGHAM                AL
66649   2G1105S38K9136001   GM           IMPALA              PHILADELPHIA              PA
66650   2G1105S38K9136032   GM           IMPALA              LAFAYETTE                 LA
66651   2G1105S38K9136077   GM           IMPALA              UNION CITY                GA
66652   2G1105S38K9136175   GM           IMPALA              KNOXVILLE                 TN
66653   2G1105S38K9136340   GM           IMPALA              TAMPA                     FL
66654   2G1105S38K9136578   GM           IMPALA              ORLANDO                   FL
66655   2G1105S38K9137178   GM           IMPALA              MIAMI                     FL
66656   2G1105S38K9137889   GM           IMPALA              SAN DIEGO                 CA
66657   2G1105S38K9139559   GM           IMPALA              WEST COLUMBIA             SC
66658   2G1105S38K9139660   GM           IMPALA              JACKSONVILLE              FL
66659   2G1105S38K9139674   GM           IMPALA              KENNER                    LA
66660   2G1105S38K9139786   GM           IMPALA              FORT MYERS                FL
66661   2G1105S38K9140209   GM           IMPALA              FORT MYERS                FL
66662   2G1105S38K9140226   GM           IMPALA              TAMPA                     FL
66663   2G1105S38K9140260   GM           IMPALA              STERLING                  VA
66664   2G1105S38K9140355   GM           IMPALA              KENNER                    LA
66665   2G1105S38K9140467   GM           IMPALA              SAINT PAUL                MN
66666   2G1105S38K9140520   GM           IMPALA              BALTIMORE                 MD
66667   2G1105S38K9140582   GM           IMPALA              FORT MYERS                FL
66668   2G1105S38K9140663   GM           IMPALA              NEW YORK CITY             NY
66669   2G1105S38K9140811   GM           IMPALA              WATERTOWN                 CT
66670   2G1105S38K9141036   GM           IMPALA              BOSTON                    MA
66671   2G1105S38K9141568   GM           IMPALA              ORLANDO                   FL
66672   2G1105S38K9141764   GM           IMPALA              FORT LAUDERDALE           FL
66673   2G1105S38K9142154   GM           IMPALA              ATLANTA                   GA
66674   2G1105S38K9142302   GM           IMPALA              JACKSON                   MS
66675   2G1105S38K9142333   GM           IMPALA              ORLANDO                   FL
66676   2G1105S38K9143286   GM           IMPALA              PENSACOLA                 FL
66677   2G1105S38K9143367   GM           IMPALA              STERLING                  VA
66678   2G1105S38K9143403   GM           IMPALA              FORT LAUDERDALE           FL
66679   2G1105S38K9143448   GM           IMPALA              TAMPA                     FL
66680   2G1105S38K9144535   GM           IMPALA              TAMPA                     FL
66681   2G1105S38K9144583   GM           IMPALA              SYRACUSE                  NY
66682   2G1105S38K9144728   GM           IMPALA              MIAMI                     FL
66683   2G1105S38K9144776   GM           IMPALA              ORLANDO                   FL
66684   2G1105S38K9144874   GM           IMPALA              JACKSONVILLE              FL
66685   2G1105S38K9145202   GM           IMPALA              KENNER                    LA
66686   2G1105S38K9145278   GM           IMPALA              Atlanta                   GA
66687   2G1105S38K9145474   GM           IMPALA              CHICAGO                   IL
66688   2G1105S38K9145572   GM           IMPALA              MIAMI                     FL
66689   2G1105S38K9145667   GM           IMPALA              CHARLOTTE                 NC
66690   2G1105S38K9145684   GM           IMPALA              Atlanta                   GA
66691   2G1105S38K9146141   GM           IMPALA              FORT MYERS                FL
66692   2G1105S38K9147029   GM           IMPALA              PHILADELPHIA              PA
66693   2G1105S38K9147208   GM           IMPALA              CHARLESTON                WV
66694   2G1105S38K9147287   GM           IMPALA              STERLING                  VA
66695   2G1105S38K9147600   GM           IMPALA              PITTSBURGH                PA
66696   2G1105S38K9148164   GM           IMPALA              RALIEGH                   NC
66697   2G1105S38K9148228   GM           IMPALA              OMAHA                     NE
66698   2G1105S38K9149363   GM           IMPALA              PHOENIX                   AZ
66699   2G1105S38K9149931   GM           IMPALA              DALLAS                    TX
66700   2G1105S38K9150769   GM           IMPALA              DETROIT                   MI
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66701   2G1105S38K9151159   GM           IMPALA              DALLAS                    TX
66702   2G1105S38K9151405   GM           IMPALA              Teterboro                 NJ
66703   2G1105S38K9151498   GM           IMPALA              MIAMI                     FL
66704   2G1105S38K9151534   GM           IMPALA              INDIANAPOLIS              IN
66705   2G1105S38K9151999   GM           IMPALA              NEW BERN                  NC
66706   2G1105S38K9152036   GM           IMPALA              DALLAS                    TX
66707   2G1105S38K9152067   GM           IMPALA              BALTIMORE                 MD
66708   2G1105S38K9152201   GM           IMPALA              STERLING                  VA
66709   2G1105S38K9152215   GM           IMPALA              Atlanta                   GA
66710   2G1105S38K9153090   GM           IMPALA              BOSTON                    MA
66711   2G1105S38K9153543   GM           IMPALA              EL PASO                   TX
66712   2G1105S38K9154420   GM           IMPALA              CHICAGO                   IL
66713   2G1105S38K9154840   GM           IMPALA              WARWICK                   RI
66714   2G1105S38K9155289   GM           IMPALA              SANTA ANA                 CA
66715   2G1105S38K9156250   GM           IMPALA              ORLANDO                   FL
66716   2G1105S38K9156457   GM           IMPALA              PUEBLO                    CO
66717   2G1105S38K9157866   GM           IMPALA              RICHMOND                  VA
66718   2G1105S39J9153288   GM           IMPALA              Teterboro                 NJ
66719   2G1105S39J9153517   GM           IMPALA              Austell                   GA
66720   2G1105S39J9154053   GM           IMPALA              North Dighton             MA
66721   2G1105S39J9157793   GM           IMPALA              BALTIMORE                 MD
66722   2G1105S39J9159639   GM           IMPALA              HILO                      HI
66723   2G1105S39J9160080   GM           IMPALA              Smithtown                 NY
66724   2G1105S39J9160418   GM           IMPALA              BUFFALO                   NY
66725   2G1105S39J9167448   GM           IMPALA              North Dighton             MA
66726   2G1105S39J9168373   GM           IMPALA              DENVER                    CO
66727   2G1105S39J9172228   GM           IMPALA              BOISE                     US
66728   2G1105S39J9172293   GM           IMPALA              Sarasota                  FL
66729   2G1105S39J9173038   GM           IMPALA              Jacksonville              FL
66730   2G1105S39J9173329   GM           IMPALA              Miami                     FL
66731   2G1105S39J9175985   GM           IMPALA              LAS VEGAS                 NV
66732   2G1105S39J9177803   GM           IMPALA              LOS ANGELES               CA
66733   2G1105S39J9177848   GM           IMPALA              Fontana                   CA
66734   2G1105S39J9177865   GM           IMPALA              SARASOTA                  FL
66735   2G1105S39J9177879   GM           IMPALA              PHOENIX                   AZ
66736   2G1105S39J9177932   GM           IMPALA              Beaverton                 OR
66737   2G1105S39J9178031   GM           IMPALA              KENNER                    LA
66738   2G1105S39J9178370   GM           IMPALA              WEST PALM BEACH           FL
66739   2G1105S39J9178532   GM           IMPALA              CHICAGO                   IL
66740   2G1105S39J9178563   GM           IMPALA              FORT LAUDERDALE           FL
66741   2G1105S39K9117795   GM           IMPALA              MIAMI                     FL
66742   2G1105S39K9118008   GM           IMPALA              FORT MYERS                FL
66743   2G1105S39K9118767   GM           IMPALA              FORT LAUDERDALE           FL
66744   2G1105S39K9120809   GM           IMPALA              FORT MYERS                FL
66745   2G1105S39K9121152   GM           IMPALA              Miami                     FL
66746   2G1105S39K9121720   GM           IMPALA              TAMPA                     FL
66747   2G1105S39K9121801   GM           IMPALA              KALAOA                    HI
66748   2G1105S39K9121992   GM           IMPALA              HOUSTON                   TX
66749   2G1105S39K9122382   GM           IMPALA              JACKSONVILLE              FL
66750   2G1105S39K9122625   GM           IMPALA              JACKSONVILLE              FL
66751   2G1105S39K9122835   GM           IMPALA              HILO                      HI
66752   2G1105S39K9122902   GM           IMPALA              Cincinnati                OH
66753   2G1105S39K9123614   GM           IMPALA              HILO                      HI
66754   2G1105S39K9133334   GM           IMPALA              TAMPA                     FL
66755   2G1105S39K9133415   GM           IMPALA              MIDDLE RIVER              MD
66756   2G1105S39K9134936   GM           IMPALA              PITTSBURGH                PA
66757   2G1105S39K9135018   GM           IMPALA              WEST PALM BEACH           FL
66758   2G1105S39K9136122   GM           IMPALA              DETROIT                   MI
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66759   2G1105S39K9136167   GM           IMPALA              Tulsa                     OK
66760   2G1105S39K9136198   GM           IMPALA              COLLEGE PARK              GA
66761   2G1105S39K9136525   GM           IMPALA              COLLEGE PARK              GA
66762   2G1105S39K9136623   GM           IMPALA              FORT MYERS                FL
66763   2G1105S39K9136668   GM           IMPALA              LOS ANGELES               CA
66764   2G1105S39K9136685   GM           IMPALA              ANCHORAGE                 AK
66765   2G1105S39K9136752   GM           IMPALA              Elgin                     IL
66766   2G1105S39K9136931   GM           IMPALA              LOS ANGELES               CA
66767   2G1105S39K9137237   GM           IMPALA              FORT LAUDERDALE           FL
66768   2G1105S39K9138274   GM           IMPALA              WEST PALM BEACH           FL
66769   2G1105S39K9139618   GM           IMPALA              CHARLESTON                SC
66770   2G1105S39K9139697   GM           IMPALA              FORT MYERS                FL
66771   2G1105S39K9139747   GM           IMPALA              RALEIGH                   NC
66772   2G1105S39K9139814   GM           IMPALA              HANOVER                   MD
66773   2G1105S39K9139926   GM           IMPALA              WARWICK                   RI
66774   2G1105S39K9139957   GM           IMPALA              SARASOTA                  FL
66775   2G1105S39K9140350   GM           IMPALA              HARTFORD                  CT
66776   2G1105S39K9140395   GM           IMPALA              WARWICK                   RI
66777   2G1105S39K9140431   GM           IMPALA              WINTER PARK               FL
66778   2G1105S39K9140557   GM           IMPALA              TAMPA                     FL
66779   2G1105S39K9140686   GM           IMPALA              Atlanta                   GA
66780   2G1105S39K9140896   GM           IMPALA              MIAMI                     FL
66781   2G1105S39K9141076   GM           IMPALA              CLEVELAND                 OH
66782   2G1105S39K9141126   GM           IMPALA              TAMPA                     FL
66783   2G1105S39K9141417   GM           IMPALA              PHILADELPHIA              PA
66784   2G1105S39K9141658   GM           IMPALA              MIAMI                     FL
66785   2G1105S39K9141756   GM           IMPALA              COLUMBIA                  SC
66786   2G1105S39K9142101   GM           IMPALA              ALEXANDRIA                VA
66787   2G1105S39K9142261   GM           IMPALA              PENSACOLA                 FL
66788   2G1105S39K9142339   GM           IMPALA              WEST PALM BEACH           FL
66789   2G1105S39K9142390   GM           IMPALA              SARASOTA                  FL
66790   2G1105S39K9142812   GM           IMPALA              JACKSONVILLE              FL
66791   2G1105S39K9143071   GM           IMPALA              INDIANAPOLIS              IN
66792   2G1105S39K9143099   GM           IMPALA              JACKSONVILLE              FL
66793   2G1105S39K9143118   GM           IMPALA              FT. LAUDERDALE            FL
66794   2G1105S39K9143247   GM           IMPALA              JACKSONVILLE              FL
66795   2G1105S39K9143491   GM           IMPALA              FORT MYERS                FL
66796   2G1105S39K9143569   GM           IMPALA              FORT MYERS                FL
66797   2G1105S39K9144706   GM           IMPALA              FORT MYERS                FL
66798   2G1105S39K9144835   GM           IMPALA              CLEVELAND                 OH
66799   2G1105S39K9144981   GM           IMPALA              DALLAS                    TX
66800   2G1105S39K9145113   GM           IMPALA              FORT LAUDERDALE           FL
66801   2G1105S39K9145130   GM           IMPALA              RONKONKOMA                NY
66802   2G1105S39K9145144   GM           IMPALA              DES PLAINES               US
66803   2G1105S39K9145189   GM           IMPALA              JACKSONVILLE              FL
66804   2G1105S39K9145368   GM           IMPALA              WASHINGTON DC             MD
66805   2G1105S39K9145435   GM           IMPALA              ORLANDO                   FL
66806   2G1105S39K9145807   GM           IMPALA              PHILADELPHIA              PA
66807   2G1105S39K9146231   GM           IMPALA              ORLANDO                   FL
66808   2G1105S39K9146553   GM           IMPALA              COLLEGE PARK              GA
66809   2G1105S39K9146617   GM           IMPALA              RICHMOND                  VA
66810   2G1105S39K9146875   GM           IMPALA              Atlanta                   GA
66811   2G1105S39K9147105   GM           IMPALA              CLEVELAND                 OH
66812   2G1105S39K9147170   GM           IMPALA              Des Moines                IA
66813   2G1105S39K9147265   GM           IMPALA              MARY ESTHER               FL
66814   2G1105S39K9149128   GM           IMPALA              ONTARIO                   CA
66815   2G1105S39K9149422   GM           IMPALA              LOUISVILLE                KY
66816   2G1105S39K9149937   GM           IMPALA              Des Moines                IA
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66817   2G1105S39K9150392   GM           IMPALA              DETROIT                   MI
66818   2G1105S39K9150599   GM           IMPALA              PALM SPRINGS              CA
66819   2G1105S39K9150893   GM           IMPALA              INDIANAPOLIS              IN
66820   2G1105S39K9151008   GM           IMPALA              PITTSBURGH                PA
66821   2G1105S39K9151137   GM           IMPALA              RALIEGH                   NC
66822   2G1105S39K9151462   GM           IMPALA              PENSACOLA                 FL
66823   2G1105S39K9151851   GM           IMPALA              ORLANDO                   FL
66824   2G1105S39K9152076   GM           IMPALA              MEMPHIS                   TN
66825   2G1105S39K9152210   GM           IMPALA              JACKSONVILLE              FL
66826   2G1105S39K9152238   GM           IMPALA              CHARLOTTE                 NC
66827   2G1105S39K9152367   GM           IMPALA              HANOVER                   MD
66828   2G1105S39K9152420   GM           IMPALA              TAMPA                     FL
66829   2G1105S39K9152773   GM           IMPALA              SYRACUSE                  NY
66830   2G1105S39K9152806   GM           IMPALA              KNOXVILLE                 TN
66831   2G1105S39K9153048   GM           IMPALA              ALLENTOWN                 US
66832   2G1105S39K9153227   GM           IMPALA              LAS VEGAS                 NV
66833   2G1105S39K9153499   GM           IMPALA              HARRISBURG                PA
66834   2G1105S39K9154023   GM           IMPALA              SALT LAKE CITY            UT
66835   2G1105S39K9154412   GM           IMPALA              EL PASO                   TX
66836   2G1105S39K9154846   GM           IMPALA              KENNER                    LA
66837   2G1105S39K9156029   GM           IMPALA              SANTA ANA                 CA
66838   2G1105S39K9156497   GM           IMPALA              ORLANDO                   FL
66839   2G1105S39K9157083   GM           IMPALA              DETROIT                   MI
66840   2G1105S3XJ9127959   GM           IMPALA              WEST PALM BEACH           FL
66841   2G1105S3XJ9158824   GM           IMPALA              HILO                      HI
66842   2G1105S3XJ9159813   GM           IMPALA              FORT MYERS                FL
66843   2G1105S3XJ9160587   GM           IMPALA              WEST COLUMBIA             SC
66844   2G1105S3XJ9166566   GM           IMPALA              ROANOKE                   VA
66845   2G1105S3XJ9167264   GM           IMPALA              TAMPA                     FL
66846   2G1105S3XJ9167300   GM           IMPALA              BOSTON                    MA
66847   2G1105S3XJ9168592   GM           IMPALA              Newark                    NJ
66848   2G1105S3XJ9171928   GM           IMPALA              PALM SPRINGS              CA
66849   2G1105S3XJ9172223   GM           IMPALA              Woodhaven                 MI
66850   2G1105S3XJ9173162   GM           IMPALA              WEST PALM BEACH           FL
66851   2G1105S3XJ9173579   GM           IMPALA              MONTCLAIR                 CA
66852   2G1105S3XJ9177552   GM           IMPALA              AUSTIN                    TX
66853   2G1105S3XJ9177812   GM           IMPALA              SAINT PAUL                MN
66854   2G1105S3XJ9178149   GM           IMPALA              Orlando                   FL
66855   2G1105S3XJ9178295   GM           IMPALA              WEST PALM BEACH           FL
66856   2G1105S3XJ9178331   GM           IMPALA              PHOENIX                   AZ
66857   2G1105S3XJ9178488   GM           IMPALA              LAS VEGAS                 NV
66858   2G1105S3XK9117384   GM           IMPALA              KAILUA‐KONA               HI
66859   2G1105S3XK9121676   GM           IMPALA              WEST COLUMBIA             SC
66860   2G1105S3XK9122097   GM           IMPALA              SARASOTA                  FL
66861   2G1105S3XK9122391   GM           IMPALA              MIAMI                     FL
66862   2G1105S3XK9122875   GM           IMPALA              HILO                      HI
66863   2G1105S3XK9123251   GM           IMPALA              KAILUA‐KONA               HI
66864   2G1105S3XK9123430   GM           IMPALA              SARASOTA                  FL
66865   2G1105S3XK9123900   GM           IMPALA              Hebron                    KY
66866   2G1105S3XK9123928   GM           IMPALA              KAILUA‐KONA               HI
66867   2G1105S3XK9132824   GM           IMPALA              FORT MYERS                FL
66868   2G1105S3XK9132953   GM           IMPALA              FORT MYERS                FL
66869   2G1105S3XK9133441   GM           IMPALA              WOODSON TERRACE           MO
66870   2G1105S3XK9133956   GM           IMPALA              Bensalem                  PA
66871   2G1105S3XK9135822   GM           IMPALA              JACKSONVILLE              FL
66872   2G1105S3XK9136114   GM           IMPALA              MIAMI                     FL
66873   2G1105S3XK9136307   GM           IMPALA              TAMPA                     US
66874   2G1105S3XK9136470   GM           IMPALA              Atlanta                   GA
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66875   2G1105S3XK9136551   GM           IMPALA              Riverside                 CA
66876   2G1105S3XK9136680   GM           IMPALA              ORLANDO                   FL
66877   2G1105S3XK9136713   GM           IMPALA              SAN DIEGO                 CA
66878   2G1105S3XK9136789   GM           IMPALA              MIAMI                     FL
66879   2G1105S3XK9137411   GM           IMPALA              WEST PALM BEACH           FL
66880   2G1105S3XK9137487   GM           IMPALA              SAVANNAH                  GA
66881   2G1105S3XK9137764   GM           IMPALA              TAMPA                     FL
66882   2G1105S3XK9137893   GM           IMPALA              FORT MYERS                FL
66883   2G1105S3XK9138056   GM           IMPALA              KNOXVILLE                 TN
66884   2G1105S3XK9138557   GM           IMPALA              ORLANDO                   FL
66885   2G1105S3XK9138722   GM           IMPALA              INGLEWOOD                 CA
66886   2G1105S3XK9139756   GM           IMPALA              Raleigh                   NC
66887   2G1105S3XK9139840   GM           IMPALA              COLLEGE PARK              GA
66888   2G1105S3XK9139966   GM           IMPALA              SARASOTA                  FL
66889   2G1105S3XK9140003   GM           IMPALA              SAN DIEGO                 CA
66890   2G1105S3XK9140406   GM           IMPALA              MIAMI                     FL
66891   2G1105S3XK9140714   GM           IMPALA              BOSTON                    MA
66892   2G1105S3XK9140924   GM           IMPALA              MIAMI                     FL
66893   2G1105S3XK9141572   GM           IMPALA              JACKSONVILLE              FL
66894   2G1105S3XK9142009   GM           IMPALA              MANCHESTER                US
66895   2G1105S3XK9142236   GM           IMPALA              ORLANDO                   FL
66896   2G1105S3XK9142673   GM           IMPALA              RALEIGH                   NC
66897   2G1105S3XK9142785   GM           IMPALA              ORLANDO                   FL
66898   2G1105S3XK9142978   GM           IMPALA              WEST PALM BEACH           FL
66899   2G1105S3XK9143385   GM           IMPALA              INDIANAPOLIS              IN
66900   2G1105S3XK9143936   GM           IMPALA              Hendersonville            TN
66901   2G1105S3XK9144732   GM           IMPALA              RALIEGH                   NC
66902   2G1105S3XK9145072   GM           IMPALA              PITTSBURGH                PA
66903   2G1105S3XK9145217   GM           IMPALA              SAVANNAH                  GA
66904   2G1105S3XK9145444   GM           IMPALA              PHILADELPHIA              PA
66905   2G1105S3XK9145511   GM           IMPALA              Atlanta                   GA
66906   2G1105S3XK9145671   GM           IMPALA              COLUMBIA                  SC
66907   2G1105S3XK9146058   GM           IMPALA              ORLANDO                   FL
66908   2G1105S3XK9146156   GM           IMPALA              STERLING                  VA
66909   2G1105S3XK9146576   GM           IMPALA              KNOXVILLE                 TN
66910   2G1105S3XK9146657   GM           IMPALA              PENSACOLA                 FL
66911   2G1105S3XK9146786   GM           IMPALA              Austin                    TX
66912   2G1105S3XK9146934   GM           IMPALA              JACKSON                   MS
66913   2G1105S3XK9147243   GM           IMPALA              KENNER                    LA
66914   2G1105S3XK9147646   GM           IMPALA              CHARLOTTE                 NC
66915   2G1105S3XK9148778   GM           IMPALA              LAS VEGAS                 NV
66916   2G1105S3XK9149459   GM           IMPALA              ONTARIO                   CA
66917   2G1105S3XK9150093   GM           IMPALA              RALEIGH                   NC
66918   2G1105S3XK9150689   GM           IMPALA              Schaumburg                IL
66919   2G1105S3XK9150904   GM           IMPALA              KENNER                    LA
66920   2G1105S3XK9150935   GM           IMPALA              TAMPA                     US
66921   2G1105S3XK9151258   GM           IMPALA              TAMPA                     FL
66922   2G1105S3XK9151566   GM           IMPALA              GRAND RAPIDS              MI
66923   2G1105S3XK9152121   GM           IMPALA              SAINT PAUL                MN
66924   2G1105S3XK9152247   GM           IMPALA              BOSTON                    MA
66925   2G1105S3XK9152748   GM           IMPALA              PHILADELPHIA              US
66926   2G1105S3XK9152880   GM           IMPALA              ALBUQERQUE                NM
66927   2G1105S3XK9152930   GM           IMPALA              STERLING                  VA
66928   2G1105S3XK9153088   GM           IMPALA              NEW YORK CITY             NY
66929   2G1105S3XK9153429   GM           IMPALA              LOS ANGELES               CA
66930   2G1105S3XK9153978   GM           IMPALA              COLLEGE PARK              GA
66931   2G1105S3XK9154211   GM           IMPALA              PHOENIX                   AZ
66932   2G1105S3XK9154290   GM           IMPALA              PHOENIX                   AZ
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66933   2G1105S3XK9154564   GM           IMPALA              LOS ANGELES               CA
66934   2G1105S3XK9156511   GM           IMPALA              Slidell                   LA
66935   2G1105S3XK9157089   GM           IMPALA              CHARLOTTE                 NC
66936   2G1105SA6J9158219   GM           IMPALA              NORTH PAC                 CA
66937   2G1105SA6J9158706   GM           IMPALA              TRACY                     CA
66938   2G1105SA8H9124969   GM           IMPALA              ORLANDO                   FL
66939   2G1105SA9J9154200   GM           IMPALA              Chandler                  AZ
66940   2G1115S38G9185753   GM           IMPALA              LOUISVILLE                KY
66941   2G1125S30J9149236   GM           IMPALA              Hayward                   CA
66942   2G1125S30J9154579   GM           IMPALA              ORLANDO                   FL
66943   2G1125S30J9159748   GM           IMPALA              CHICAGO                   IL
66944   2G1125S30J9160270   GM           IMPALA              Richmond                  VA
66945   2G1125S30J9161144   GM           IMPALA              Detroit                   MI
66946   2G1125S30J9171804   GM           IMPALA              HANOVER                   MD
66947   2G1125S30J9172709   GM           IMPALA              JACKSONVILLE              FL
66948   2G1125S30J9173214   GM           IMPALA              ATLANTA                   GA
66949   2G1125S30J9173648   GM           IMPALA              West Palm Beach           FL
66950   2G1125S30J9173701   GM           IMPALA              SAN DIEGO                 CA
66951   2G1125S30J9175710   GM           IMPALA              SAN FRANCISCO             CA
66952   2G1125S30J9176596   GM           IMPALA              CHICAGO O'HARE AP         IL
66953   2G1125S30J9177876   GM           IMPALA              TAMPA                     FL
66954   2G1125S31J9117993   GM           IMPALA              DENVER                    CO
66955   2G1125S31J9147205   GM           IMPALA              COLUMBIA                  SC
66956   2G1125S31J9147754   GM           IMPALA              JACKSON                   MS
66957   2G1125S31J9154333   GM           IMPALA              Orlando                   FL
66958   2G1125S31J9155126   GM           IMPALA              TUCKER                    GA
66959   2G1125S31J9165221   GM           IMPALA              Teterboro                 NJ
66960   2G1125S31J9166031   GM           IMPALA              NEWARK                    NJ
66961   2G1125S31J9172024   GM           IMPALA              DENVER                    CO
66962   2G1125S31J9172136   GM           IMPALA              Tampa                     FL
66963   2G1125S31J9172556   GM           IMPALA              Fredericksburg            VA
66964   2G1125S31J9172945   GM           IMPALA              Rockville Centr           NY
66965   2G1125S31J9173948   GM           IMPALA              Manheim                   PA
66966   2G1125S31J9173951   GM           IMPALA              STERLING                  VA
66967   2G1125S31J9175134   GM           IMPALA              N LAS VEGAS               NV
66968   2G1125S31J9175621   GM           IMPALA              BURBANK                   CA
66969   2G1125S31J9175778   GM           IMPALA              BURBANK                   CA
66970   2G1125S31J9178048   GM           IMPALA              SANTA ANA                 CA
66971   2G1125S31J9178194   GM           IMPALA              FORT MYERS                FL
66972   2G1125S31J9178325   GM           IMPALA              MIAMI                     FL
66973   2G1125S31J9178485   GM           IMPALA              LAS VEGAS                 NV
66974   2G1125S31J9178518   GM           IMPALA              CHICAGO O'HARE AP         IL
66975   2G1125S32J9149819   GM           IMPALA              SAN FRANCISCO             CA
66976   2G1125S32J9154759   GM           IMPALA              TAMPA                     FL
66977   2G1125S32J9160061   GM           IMPALA              BOSTON                    MA
66978   2G1125S32J9160383   GM           IMPALA              MYRTLE BEACH              SC
66979   2G1125S32J9160481   GM           IMPALA              Plainfield                IN
66980   2G1125S32J9171853   GM           IMPALA              LAS VEGAS                 NV
66981   2G1125S32J9172629   GM           IMPALA              LAS VEGAS                 NV
66982   2G1125S32J9173697   GM           IMPALA              Atlanta                   GA
66983   2G1125S32J9173957   GM           IMPALA              SYRACUSE                  NY
66984   2G1125S32J9174199   GM           IMPALA              ORLANDO                   FL
66985   2G1125S32J9176700   GM           IMPALA              Euless                    TX
66986   2G1125S32J9177359   GM           IMPALA              New Britain               CT
66987   2G1125S32J9177751   GM           IMPALA              PHOENIX                   AZ
66988   2G1125S32J9177863   GM           IMPALA              LOS ANGELES               CA
66989   2G1125S32J9178169   GM           IMPALA              FORT MYERS                FL
66990   2G1125S32J9178320   GM           IMPALA              North Dighton             MA
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66991   2G1125S33J9147304   GM           IMPALA              Atlanta                   GA
66992   2G1125S33J9148761   GM           IMPALA              LIHUE                     HI
66993   2G1125S33J9149859   GM           IMPALA              Kahului                   HI
66994   2G1125S33J9157377   GM           IMPALA              EUGENE                    OR
66995   2G1125S33J9158559   GM           IMPALA              LAS VEGAS                 NV
66996   2G1125S33J9159033   GM           IMPALA              SAN FRANCISCO             CA
66997   2G1125S33J9169030   GM           IMPALA              COLLEGE PARK              GA
66998   2G1125S33J9171747   GM           IMPALA              PALM SPRINGS              CA
66999   2G1125S33J9171957   GM           IMPALA              Orlando                   FL
67000   2G1125S33J9172414   GM           IMPALA              BURBANK                   CA
67001   2G1125S33J9172641   GM           IMPALA              Pheonix                   AZ
67002   2G1125S33J9176091   GM           IMPALA              Caledonia                 WI
67003   2G1125S33J9177340   GM           IMPALA              Des Plaines               IL
67004   2G1125S33J9177533   GM           IMPALA              MIAMI                     FL
67005   2G1125S33J9178536   GM           IMPALA              FORT MYERS                FL
67006   2G1125S33J9178567   GM           IMPALA              PHOENIX                   AZ
67007   2G1125S34J9158991   GM           IMPALA              SAN FRANCISCO             CA
67008   2G1125S34J9160367   GM           IMPALA              FORT MYERS                FL
67009   2G1125S34J9172583   GM           IMPALA              PALM SPRINGS              CA
67010   2G1125S34J9172678   GM           IMPALA              PORTLAND                  OR
67011   2G1125S34J9172860   GM           IMPALA              Tampa                     FL
67012   2G1125S34J9172938   GM           IMPALA              Smithtown                 NY
67013   2G1125S34J9173037   GM           IMPALA              Davie                     FL
67014   2G1125S34J9173121   GM           IMPALA              SEATAC                    WA
67015   2G1125S34J9173314   GM           IMPALA              TAMPA                     FL
67016   2G1125S34J9173331   GM           IMPALA              Massapequa                NY
67017   2G1125S34J9173684   GM           IMPALA              STERLING                  VA
67018   2G1125S34J9173779   GM           IMPALA              DENVER                    CO
67019   2G1125S34J9175743   GM           IMPALA              Detroit                   MI
67020   2G1125S34J9177816   GM           IMPALA              FAIRFIELD                 CA
67021   2G1125S34J9177878   GM           IMPALA              TAMPA                     FL
67022   2G1125S34J9178075   GM           IMPALA              LOS ANGELES               CA
67023   2G1125S34J9178125   GM           IMPALA              JACKSONVILLE              FL
67024   2G1125S35J9159499   GM           IMPALA              Lynn                      MA
67025   2G1125S35J9164153   GM           IMPALA              Elkridge                  MD
67026   2G1125S35J9167988   GM           IMPALA              NEWARK                    NJ
67027   2G1125S35J9168798   GM           IMPALA              North Dighton             MA
67028   2G1125S35J9172608   GM           IMPALA              BURLINGTON                VT
67029   2G1125S35J9172866   GM           IMPALA              WEST PALM BEACH           FL
67030   2G1125S35J9173161   GM           IMPALA              Burien                    WA
67031   2G1125S35J9173533   GM           IMPALA              HOUSTON                   TX
67032   2G1125S35J9174164   GM           IMPALA              ONTARIO                   CA
67033   2G1125S35J9175301   GM           IMPALA              PHILADELPHIA              PA
67034   2G1125S35J9175735   GM           IMPALA              SAN DIEGO                 CA
67035   2G1125S35J9176478   GM           IMPALA              Manheim                   PA
67036   2G1125S35J9177839   GM           IMPALA              LA HABRA                  CA
67037   2G1125S35J9177873   GM           IMPALA              PORTLAND                  ME
67038   2G1125S35J9177971   GM           IMPALA              SALT LAKE CITY            UT
67039   2G1125S35J9178084   GM           IMPALA              NEWARK                    NJ
67040   2G1125S35J9178263   GM           IMPALA              WEST PALM BEACH           FL
67041   2G1125S35J9178327   GM           IMPALA              TAMPA                     FL
67042   2G1125S35J9178389   GM           IMPALA              RICHMOND                  VA
67043   2G1125S35J9178473   GM           IMPALA              Florissant                MO
67044   2G1125S36J9164551   GM           IMPALA              Hamilton                  OH
67045   2G1125S36J9165084   GM           IMPALA              DAYTONA BEACH             FL
67046   2G1125S36J9172410   GM           IMPALA              Rio Linda                 CA
67047   2G1125S36J9173122   GM           IMPALA              CHICAGO O'HARE AP         IL
67048   2G1125S36J9173332   GM           IMPALA              DAYTONA BEACH             FL
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67049   2G1125S36J9173525   GM           IMPALA              GREENVILLE                NC
67050   2G1125S36J9173783   GM           IMPALA              SYRACUSE                  NY
67051   2G1125S36J9173881   GM           IMPALA              INDIANAPOLIS              IN
67052   2G1125S36J9173900   GM           IMPALA              LAS VEGAS                 NV
67053   2G1125S36J9174013   GM           IMPALA              WEST PALM BEACH           FL
67054   2G1125S36J9174058   GM           IMPALA              Atlanta                   GA
67055   2G1125S36J9174125   GM           IMPALA              WEST COLUMBIA             SC
67056   2G1125S36J9174903   GM           IMPALA              SANTA ANA                 CA
67057   2G1125S36J9174951   GM           IMPALA              DENVER                    CO
67058   2G1125S36J9175713   GM           IMPALA              LAS VEGAS                 NV
67059   2G1125S36J9176053   GM           IMPALA              GLENOLDEN                 PA
67060   2G1125S36J9177901   GM           IMPALA              MORROW                    GA
67061   2G1125S36J9177963   GM           IMPALA              MEDFORD                   MA
67062   2G1125S36J9178109   GM           IMPALA              ORLANDO                   FL
67063   2G1125S36J9178157   GM           IMPALA              LOS ANGELES               CA
67064   2G1125S36J9178207   GM           IMPALA              LOS ANGELES               CA
67065   2G1125S36J9178272   GM           IMPALA              JACKSONVILLE              FL
67066   2G1125S36J9178322   GM           IMPALA              Newark                    NJ
67067   2G1125S36J9178420   GM           IMPALA              FORT MYERS                FL
67068   2G1125S36J9178496   GM           IMPALA              Oceanside                 CA
67069   2G1125S37J9148648   GM           IMPALA              Kahului                   HI
67070   2G1125S37J9150819   GM           IMPALA              KAHULUI                   HI
67071   2G1125S37J9160024   GM           IMPALA              FT LAUDERDALE             US
67072   2G1125S37J9160086   GM           IMPALA              FORT MYERS                FL
67073   2G1125S37J9166390   GM           IMPALA              Massapequa                NY
67074   2G1125S37J9172528   GM           IMPALA              Aurora                    CO
67075   2G1125S37J9173064   GM           IMPALA              DENVER                    CO
67076   2G1125S37J9173338   GM           IMPALA              SAN ANTONIO               TX
67077   2G1125S37J9173663   GM           IMPALA              MILWAUKEE                 WI
67078   2G1125S37J9173680   GM           IMPALA              PORTLAND                  OR
67079   2G1125S37J9173789   GM           IMPALA              FORT MYERS                FL
67080   2G1125S37J9174442   GM           IMPALA              JAMAICA                   NY
67081   2G1125S37J9175199   GM           IMPALA              BURBANK                   CA
67082   2G1125S37J9175624   GM           IMPALA              Rockville Centr           NY
67083   2G1125S37J9175638   GM           IMPALA              NORWALK                   OH
67084   2G1125S37J9175977   GM           IMPALA              Rockville Centr           NY
67085   2G1125S37J9177342   GM           IMPALA              Cleveland                 OH
67086   2G1125S37J9177728   GM           IMPALA              Marietta                  GA
67087   2G1125S37J9177888   GM           IMPALA              Harvey                    LA
67088   2G1125S37J9177891   GM           IMPALA              TAMPA                     FL
67089   2G1125S37J9178054   GM           IMPALA              SACRAMENTO                CA
67090   2G1125S37J9178197   GM           IMPALA              ORLANDO                   FL
67091   2G1125S37J9178524   GM           IMPALA              RALEIGH                   NC
67092   2G1125S37J9178572   GM           IMPALA              Atlanta                   GA
67093   2G1125S38J9158475   GM           IMPALA              Davie                     FL
67094   2G1125S38J9158721   GM           IMPALA              Johnston                  RI
67095   2G1125S38J9160453   GM           IMPALA              PHILADELPHIA              PA
67096   2G1125S38J9160632   GM           IMPALA              NEW YORK DEALER DI        NJ
67097   2G1125S38J9162641   GM           IMPALA              LOS ANGELES AP            CA
67098   2G1125S38J9164549   GM           IMPALA              LAS VEGAS                 NV
67099   2G1125S38J9171792   GM           IMPALA              SANTA ANA                 CA
67100   2G1125S38J9172778   GM           IMPALA              DENVER                    CO
67101   2G1125S38J9173431   GM           IMPALA              Stone Mountain            GA
67102   2G1125S38J9173672   GM           IMPALA              Teterboro                 NJ
67103   2G1125S38J9173882   GM           IMPALA              TRACY                     CA
67104   2G1125S38J9173915   GM           IMPALA              DENVER                    CO
67105   2G1125S38J9174028   GM           IMPALA              LAS VEGAS                 NV
67106   2G1125S38J9174031   GM           IMPALA              Salt Lake City            UT
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67107   2G1125S38J9174188   GM           IMPALA              DENVER                    CO
67108   2G1125S38J9174191   GM           IMPALA              CHICAGO                   IL
67109   2G1125S38J9174756   GM           IMPALA              Manheim                   PA
67110   2G1125S38J9174787   GM           IMPALA              Woodhaven                 MI
67111   2G1125S38J9175437   GM           IMPALA              SAN DIEGO                 CA
67112   2G1125S38J9175521   GM           IMPALA              TUCSON                    AZ
67113   2G1125S38J9176149   GM           IMPALA              Bordentown                NJ
67114   2G1125S38J9177799   GM           IMPALA              JACKSON                   MS
67115   2G1125S38J9177821   GM           IMPALA              CHICAGO                   IL
67116   2G1125S38J9177933   GM           IMPALA              HARRISBURG                PA
67117   2G1125S38J9178046   GM           IMPALA              Matteson                  IL
67118   2G1125S38J9178242   GM           IMPALA              FORT LAUDERDALE           FL
67119   2G1125S38J9178287   GM           IMPALA              FORT MYERS                FL
67120   2G1125S38J9178452   GM           IMPALA              PHOENIX                   AZ
67121   2G1125S38J9178497   GM           IMPALA              LOS ANGELES               CA
67122   2G1125S39J9114775   GM           IMPALA              Statesville               NC
67123   2G1125S39J9116669   GM           IMPALA              Aurora                    CO
67124   2G1125S39J9146853   GM           IMPALA              Winter Park               FL
67125   2G1125S39J9148036   GM           IMPALA              Hanover                   MD
67126   2G1125S39J9155097   GM           IMPALA              Johnston                  RI
67127   2G1125S39J9158050   GM           IMPALA              PHILADELPHIA              PA
67128   2G1125S39J9158498   GM           IMPALA              Los Angeles               CA
67129   2G1125S39J9159635   GM           IMPALA              TAMPA                     FL
67130   2G1125S39J9160431   GM           IMPALA              Ft. Myers                 FL
67131   2G1125S39J9165774   GM           IMPALA              FORT LAUDERDALE           FL
67132   2G1125S39J9166049   GM           IMPALA              Tolleson                  AZ
67133   2G1125S39J9168240   GM           IMPALA              TULSA                     OK
67134   2G1125S39J9172868   GM           IMPALA              GLASSBORO                 NJ
67135   2G1125S39J9173289   GM           IMPALA              NEWARK                    NJ
67136   2G1125S39J9173678   GM           IMPALA              Medford                   NY
67137   2G1125S39J9173745   GM           IMPALA              ROANOKE                   VA
67138   2G1125S39J9174040   GM           IMPALA              DENVER                    CO
67139   2G1125S39J9174085   GM           IMPALA              CHICAGO                   IL
67140   2G1125S39J9175611   GM           IMPALA              BURBANK                   CA
67141   2G1125S39J9177763   GM           IMPALA              TAMPA                     FL
67142   2G1125S39J9177827   GM           IMPALA              Woodhaven                 MI
67143   2G1125S39J9178086   GM           IMPALA              FORT MYERS                FL
67144   2G1125S39J9178296   GM           IMPALA              FORT MYERS                FL
67145   2G1125S39J9178492   GM           IMPALA              SHAKOPEE                  MN
67146   2G1125S39J9178525   GM           IMPALA              OAKLAND                   CA
67147   2G1125S3XJ9122710   GM           IMPALA              COLUMBIA                  SC
67148   2G1125S3XJ9153844   GM           IMPALA              HILLSBOROUGH              NJ
67149   2G1125S3XJ9158736   GM           IMPALA              EXETER                    RI
67150   2G1125S3XJ9164827   GM           IMPALA              Manheim                   PA
67151   2G1125S3XJ9172586   GM           IMPALA              ONTARIO                   CA
67152   2G1125S3XJ9172961   GM           IMPALA              MEDINA                    OH
67153   2G1125S3XJ9173026   GM           IMPALA              FORT MYERS                FL
67154   2G1125S3XJ9173043   GM           IMPALA              CHARLESTON                SC
67155   2G1125S3XJ9173334   GM           IMPALA              LOS ANGELES               CA
67156   2G1125S3XJ9173379   GM           IMPALA              CHICAGO                   IL
67157   2G1125S3XJ9173821   GM           IMPALA              STERLING                  VA
67158   2G1125S3XJ9174306   GM           IMPALA              Orlando                   FL
67159   2G1125S3XJ9174726   GM           IMPALA              SAINT PAUL                MN
67160   2G1125S3XJ9175746   GM           IMPALA              Las Vegas                 NV
67161   2G1125S3XJ9177884   GM           IMPALA              Lynn                      MA
67162   2G1125S3XJ9177965   GM           IMPALA              WARWICK                   RI
67163   2G1125S3XJ9177982   GM           IMPALA              PHOENIX                   AZ
67164   2G1125S3XJ9178016   GM           IMPALA              SAN FRANCISCO             CA
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67165   2G1125S3XJ9178078   GM           IMPALA              SAN DIEGO                 CA
67166   2G1125S3XJ9178095   GM           IMPALA              Portland                  OR
67167   2G1125S3XJ9178159   GM           IMPALA              RALEIGH                   NC
67168   2G1125S3XJ9178257   GM           IMPALA              Dania                     FL
67169   2G1125S3XJ9178341   GM           IMPALA              FORT LAUDERDALE           FL
67170   2G1125S3XJ9178565   GM           IMPALA              SARASOTA                  FL
67171   2G1165S31F9158605   GM           IMPALA              North Little Ro           AR
67172   2G11X5SA7G9160341   GM           IMPALA              WEST PALM BEACH           FL
67173   2G11Z5SA0K9117592   GM           IMPALA              ORLANDO                   FL
67174   2G11Z5SA0K9121979   GM           IMPALA              SARASOTA                  FL
67175   2G11Z5SA0K9122291   GM           IMPALA              TAMPA                     FL
67176   2G11Z5SA0K9122310   GM           IMPALA              FORT LAUDERDALE           FL
67177   2G11Z5SA0K9122453   GM           IMPALA              San Antonio               TX
67178   2G11Z5SA0K9122792   GM           IMPALA              WEST PALM BEACH           FL
67179   2G11Z5SA0K9133968   GM           IMPALA              INDIANAPOLIS              IN
67180   2G11Z5SA0K9135414   GM           IMPALA              Warr Acres                OK
67181   2G11Z5SA0K9135462   GM           IMPALA              BLOOMINGTON               IL
67182   2G11Z5SA0K9135929   GM           IMPALA              FORT MYERS                FL
67183   2G11Z5SA0K9135932   GM           IMPALA              SAVANNAH                  GA
67184   2G11Z5SA0K9135994   GM           IMPALA              NEWARK                    NY
67185   2G11Z5SA0K9136028   GM           IMPALA              St. Louis                 MO
67186   2G11Z5SA0K9136059   GM           IMPALA              ORLANDO                   FL
67187   2G11Z5SA0K9136109   GM           IMPALA              SARASOTA                  FL
67188   2G11Z5SA0K9136174   GM           IMPALA              ORLANDO                   FL
67189   2G11Z5SA0K9136353   GM           IMPALA              Austin                    TX
67190   2G11Z5SA0K9136384   GM           IMPALA              Des Moines                IA
67191   2G11Z5SA0K9136465   GM           IMPALA              ORLANDO                   FL
67192   2G11Z5SA0K9136479   GM           IMPALA              KNOXVILLE                 TN
67193   2G11Z5SA0K9136546   GM           IMPALA              FORT MYERS                FL
67194   2G11Z5SA0K9136613   GM           IMPALA              WEST PALM BEACH           FL
67195   2G11Z5SA0K9136904   GM           IMPALA              FORT MYERS                FL
67196   2G11Z5SA0K9139849   GM           IMPALA              TAMPA                     US
67197   2G11Z5SA0K9141374   GM           IMPALA              BLOOMINGTON               IL
67198   2G11Z5SA0K9142041   GM           IMPALA              ORLANDO                   FL
67199   2G11Z5SA0K9142444   GM           IMPALA              DULUTH                    GA
67200   2G11Z5SA0K9142895   GM           IMPALA              CLARKSVILLE               IN
67201   2G11Z5SA0K9143402   GM           IMPALA              Lake in the Hil           IL
67202   2G11Z5SA0K9143478   GM           IMPALA              Sacramento                CA
67203   2G11Z5SA0K9145067   GM           IMPALA              DALLAS                    TX
67204   2G11Z5SA0K9145294   GM           IMPALA              Philadelphia              PA
67205   2G11Z5SA0K9145490   GM           IMPALA              Denver                    CO
67206   2G11Z5SA0K9145764   GM           IMPALA              San Diego                 CA
67207   2G11Z5SA0K9145800   GM           IMPALA              KANSAS CITY               MO
67208   2G11Z5SA0K9145960   GM           IMPALA              CHICAGO                   IL
67209   2G11Z5SA0K9146140   GM           IMPALA              CLEVELAND                 OH
67210   2G11Z5SA0K9146476   GM           IMPALA              RALEIGH                   NC
67211   2G11Z5SA0K9147143   GM           IMPALA              Oklahoma City             OK
67212   2G11Z5SA0K9147272   GM           IMPALA              LOS ANGELES               CA
67213   2G11Z5SA0K9147434   GM           IMPALA              CHICAGO                   IL
67214   2G11Z5SA0K9147806   GM           IMPALA              MILWAUKEE                 WI
67215   2G11Z5SA0K9147983   GM           IMPALA              Hamilton                  OH
67216   2G11Z5SA0K9148180   GM           IMPALA              KANSAS CITY               MO
67217   2G11Z5SA0K9148941   GM           IMPALA              ORLANDO                   FL
67218   2G11Z5SA0K9149278   GM           IMPALA              WEST PALM BEACH           FL
67219   2G11Z5SA0K9149426   GM           IMPALA              WEST PALM BEACH           FL
67220   2G11Z5SA0K9150012   GM           IMPALA              CLEVELAND                 OH
67221   2G11Z5SA0K9150723   GM           IMPALA              APPLETON                  WI
67222   2G11Z5SA0K9151161   GM           IMPALA              Nashville                 TN
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67223   2G11Z5SA0K9151371   GM           IMPALA              STERLING                  VA
67224   2G11Z5SA0K9151466   GM           IMPALA              CHARLESTON                WV
67225   2G11Z5SA0K9151760   GM           IMPALA              HARTFORD                  CT
67226   2G11Z5SA0K9151967   GM           IMPALA              OMAHA                     NE
67227   2G11Z5SA0K9152200   GM           IMPALA              BOSTON                    MA
67228   2G11Z5SA0K9153945   GM           IMPALA              Rockville Centr           NY
67229   2G11Z5SA0K9154013   GM           IMPALA              ORLANDO                   FL
67230   2G11Z5SA0K9154173   GM           IMPALA              FORT LAUDERDALE           FL
67231   2G11Z5SA0K9154206   GM           IMPALA              DETROIT                   MI
67232   2G11Z5SA0K9154450   GM           IMPALA              FORT LAUDERDALE           FL
67233   2G11Z5SA0K9154464   GM           IMPALA              DES MOINES                IA
67234   2G11Z5SA0K9154514   GM           IMPALA              ORLANDO                   FL
67235   2G11Z5SA0K9154528   GM           IMPALA              ORLANDO                   FL
67236   2G11Z5SA0K9154691   GM           IMPALA              TAMPA                     FL
67237   2G11Z5SA0K9155176   GM           IMPALA              WARWICK                   RI
67238   2G11Z5SA0K9155288   GM           IMPALA              INDIANAPOLIS              IN
67239   2G11Z5SA0K9155355   GM           IMPALA              MIAMI                     FL
67240   2G11Z5SA0K9155422   GM           IMPALA              PHOENIX                   AZ
67241   2G11Z5SA0K9155436   GM           IMPALA              FORT MYERS                FL
67242   2G11Z5SA1K9117150   GM           IMPALA              KALAOA                    HI
67243   2G11Z5SA1K9118041   GM           IMPALA              PHILADELPHIA              PA
67244   2G11Z5SA1K9118072   GM           IMPALA              Philadelphia              PA
67245   2G11Z5SA1K9120601   GM           IMPALA              FORT MYERS                FL
67246   2G11Z5SA1K9121599   GM           IMPALA              MIDDLE RIVER              MD
67247   2G11Z5SA1K9121831   GM           IMPALA              Phoenix                   AZ
67248   2G11Z5SA1K9122736   GM           IMPALA              KALAOA                    HI
67249   2G11Z5SA1K9125362   GM           IMPALA              Honolulu                  HI
67250   2G11Z5SA1K9134093   GM           IMPALA              FT. LAUDERDALE            FL
67251   2G11Z5SA1K9134904   GM           IMPALA              Baltimore                 MD
67252   2G11Z5SA1K9135258   GM           IMPALA              FORT MYERS                FL
67253   2G11Z5SA1K9136006   GM           IMPALA              WEST PALM BEACH           FL
67254   2G11Z5SA1K9136068   GM           IMPALA              Smithtown                 NY
67255   2G11Z5SA1K9136202   GM           IMPALA              Hapeville                 GA
67256   2G11Z5SA1K9136295   GM           IMPALA              Newark                    NJ
67257   2G11Z5SA1K9136393   GM           IMPALA              SAVANNAH                  GA
67258   2G11Z5SA1K9136426   GM           IMPALA              PLEASANTON                CA
67259   2G11Z5SA1K9136491   GM           IMPALA              JACKSONVILLE              FL
67260   2G11Z5SA1K9136605   GM           IMPALA              SOUTHEAST DST OFFC        OK
67261   2G11Z5SA1K9136622   GM           IMPALA              WEST PALM BEACH           FL
67262   2G11Z5SA1K9136698   GM           IMPALA              FORT LAUDERDALE           FL
67263   2G11Z5SA1K9136751   GM           IMPALA              SANFORD                   FL
67264   2G11Z5SA1K9136782   GM           IMPALA              DETROIT                   MI
67265   2G11Z5SA1K9136832   GM           IMPALA              TAMPA                     US
67266   2G11Z5SA1K9136930   GM           IMPALA              NEW BERN                  NC
67267   2G11Z5SA1K9138841   GM           IMPALA              HOUSTON                   TX
67268   2G11Z5SA1K9139052   GM           IMPALA              HOUSTON                   TX
67269   2G11Z5SA1K9139889   GM           IMPALA              VANDALIA                  OH
67270   2G11Z5SA1K9141688   GM           IMPALA              Newark                    NJ
67271   2G11Z5SA1K9142291   GM           IMPALA              BLOOMINGTON               IL
67272   2G11Z5SA1K9142436   GM           IMPALA              PLAINFIELD                NJ
67273   2G11Z5SA1K9143148   GM           IMPALA              ORLANDO                   FL
67274   2G11Z5SA1K9143313   GM           IMPALA              MIAMI                     FL
67275   2G11Z5SA1K9143358   GM           IMPALA              HOUSTON                   TX
67276   2G11Z5SA1K9144087   GM           IMPALA              NEWARK                    NJ
67277   2G11Z5SA1K9144798   GM           IMPALA              BLOOMINGTON               IL
67278   2G11Z5SA1K9144820   GM           IMPALA              ALLENTOWN                 US
67279   2G11Z5SA1K9145031   GM           IMPALA              Hayward                   CA
67280   2G11Z5SA1K9145093   GM           IMPALA              PHOENIX                   AZ
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67281   2G11Z5SA1K9145174   GM           IMPALA              CLARKSVILLE               IN
67282   2G11Z5SA1K9145434   GM           IMPALA              DETROIT                   MI
67283   2G11Z5SA1K9145577   GM           IMPALA              DALLAS                    TX
67284   2G11Z5SA1K9145644   GM           IMPALA              PLEASANTON                CA
67285   2G11Z5SA1K9146034   GM           IMPALA              COCOA                     FL
67286   2G11Z5SA1K9146048   GM           IMPALA              Coraopolis                PA
67287   2G11Z5SA1K9146213   GM           IMPALA              Honolulu                  HI
67288   2G11Z5SA1K9146230   GM           IMPALA              WARWICK                   RI
67289   2G11Z5SA1K9146566   GM           IMPALA              BOSTON                    MA
67290   2G11Z5SA1K9147930   GM           IMPALA              Killeen                   TX
67291   2G11Z5SA1K9148530   GM           IMPALA              MIAMI                     FL
67292   2G11Z5SA1K9148995   GM           IMPALA              KENNER                    LA
67293   2G11Z5SA1K9149970   GM           IMPALA              Irving                    TX
67294   2G11Z5SA1K9150469   GM           IMPALA              Burien                    WA
67295   2G11Z5SA1K9151136   GM           IMPALA              ALBANY                    NY
67296   2G11Z5SA1K9151167   GM           IMPALA              Florissant                MO
67297   2G11Z5SA1K9151170   GM           IMPALA              ALBANY                    N
67298   2G11Z5SA1K9151198   GM           IMPALA              WEST COLUMBIA             SC
67299   2G11Z5SA1K9151203   GM           IMPALA              HARTFORD                  CT
67300   2G11Z5SA1K9151377   GM           IMPALA              PITTSBURGH                PA
67301   2G11Z5SA1K9151394   GM           IMPALA              HANOVER                   MD
67302   2G11Z5SA1K9151573   GM           IMPALA              Rockville Centr           NY
67303   2G11Z5SA1K9151749   GM           IMPALA              KNOXVILLE                 TN
67304   2G11Z5SA1K9152254   GM           IMPALA              LOUISVILLE                KY
67305   2G11Z5SA1K9153808   GM           IMPALA              SAINT PAUL                MN
67306   2G11Z5SA1K9153839   GM           IMPALA              NEWARK                    NJ
67307   2G11Z5SA1K9154134   GM           IMPALA              ORLANDO                   FL
67308   2G11Z5SA1K9154179   GM           IMPALA              COLUMBIA                  SC
67309   2G11Z5SA1K9154229   GM           IMPALA              TAMPA                     US
67310   2G11Z5SA1K9154456   GM           IMPALA              Hebron                    KY
67311   2G11Z5SA1K9154585   GM           IMPALA              NEW BERN                  NC
67312   2G11Z5SA1K9154604   GM           IMPALA              Statesville               NC
67313   2G11Z5SA1K9154666   GM           IMPALA              Tulsa                     OK
67314   2G11Z5SA1K9155221   GM           IMPALA              FORT LAUDERDALE           FL
67315   2G11Z5SA1K9155994   GM           IMPALA              WEST PALM BEACH           FL
67316   2G11Z5SA1K9156367   GM           IMPALA              Windsor Locks             CT
67317   2G11Z5SA1K9156370   GM           IMPALA              PHILADELPHIA              PA
67318   2G11Z5SA1K9156725   GM           IMPALA              FORT LAUDERDALE           FL
67319   2G11Z5SA2K9116993   GM           IMPALA              HILO                      HI
67320   2G11Z5SA2K9117741   GM           IMPALA              MOBILE                    A
67321   2G11Z5SA2K9118551   GM           IMPALA              MIAMI                     FL
67322   2G11Z5SA2K9119215   GM           IMPALA              ORLANDO                   FL
67323   2G11Z5SA2K9121000   GM           IMPALA              Hendersonville            TN
67324   2G11Z5SA2K9121028   GM           IMPALA              CHICAGO                   IL
67325   2G11Z5SA2K9121448   GM           IMPALA              MIAMI                     FL
67326   2G11Z5SA2K9121871   GM           IMPALA              KALAOA                    HI
67327   2G11Z5SA2K9122308   GM           IMPALA              HILO                      HI
67328   2G11Z5SA2K9122325   GM           IMPALA              MIAMI                     FL
67329   2G11Z5SA2K9122342   GM           IMPALA              Cedar Rapids              IA
67330   2G11Z5SA2K9122373   GM           IMPALA              HILO                      HI
67331   2G11Z5SA2K9122504   GM           IMPALA              Manheim                   PA
67332   2G11Z5SA2K9122955   GM           IMPALA              Davie                     FL
67333   2G11Z5SA2K9123538   GM           IMPALA              WAIMEA                    HI
67334   2G11Z5SA2K9123944   GM           IMPALA              ORLANDO                   FL
67335   2G11Z5SA2K9124057   GM           IMPALA              KAILUA‐KONA               HI
67336   2G11Z5SA2K9132871   GM           IMPALA              AIEA                      HI
67337   2G11Z5SA2K9135639   GM           IMPALA              Hamilton                  OH
67338   2G11Z5SA2K9135737   GM           IMPALA              TAMPA                     FL
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67339   2G11Z5SA2K9135947   GM           IMPALA              TAMPA                     US
67340   2G11Z5SA2K9136189   GM           IMPALA              Beaverton                 OR
67341   2G11Z5SA2K9136306   GM           IMPALA              WEST HARTFORD             CT
67342   2G11Z5SA2K9136449   GM           IMPALA              FORT MYERS                FL
67343   2G11Z5SA2K9136483   GM           IMPALA              FORT LAUDERDALE           FL
67344   2G11Z5SA2K9136614   GM           IMPALA              FORT MYERS                FL
67345   2G11Z5SA2K9136788   GM           IMPALA              WEST PALM BEACH           FL
67346   2G11Z5SA2K9136922   GM           IMPALA              CHICAGO                   IL
67347   2G11Z5SA2K9137035   GM           IMPALA              TAMPA                     FL
67348   2G11Z5SA2K9137679   GM           IMPALA              FORT LAUDERDALE           FL
67349   2G11Z5SA2K9139707   GM           IMPALA              SOUTHEAST DST OFFC        OK
67350   2G11Z5SA2K9141148   GM           IMPALA              OKLAHOMA CITY             OK
67351   2G11Z5SA2K9141845   GM           IMPALA              BOSTON                    MA
67352   2G11Z5SA2K9142171   GM           IMPALA              Tampa                     FL
67353   2G11Z5SA2K9142204   GM           IMPALA              Atlanta                   GA
67354   2G11Z5SA2K9142395   GM           IMPALA              KNOXVILLE                 TN
67355   2G11Z5SA2K9143224   GM           IMPALA              St. Louis                 MO
67356   2G11Z5SA2K9143336   GM           IMPALA              SHREVEPORT                LA
67357   2G11Z5SA2K9143918   GM           IMPALA              RICHMOND                  VA
67358   2G11Z5SA2K9144521   GM           IMPALA              SOUTHEAST DST OFFC        OK
67359   2G11Z5SA2K9145054   GM           IMPALA              Kansas City               MO
67360   2G11Z5SA2K9145460   GM           IMPALA              BOSTON                    MA
67361   2G11Z5SA2K9145541   GM           IMPALA              Salt Lake City            UT
67362   2G11Z5SA2K9145619   GM           IMPALA              WEST PALM BEACH           FL
67363   2G11Z5SA2K9145636   GM           IMPALA              PENSACOLA                 FL
67364   2G11Z5SA2K9145670   GM           IMPALA              SHREVEPORT                LA
67365   2G11Z5SA2K9146057   GM           IMPALA              NORFOLK                   VA
67366   2G11Z5SA2K9146110   GM           IMPALA              RICHMOND                  VA
67367   2G11Z5SA2K9146172   GM           IMPALA              BOSTON, LOGAN AP          MA
67368   2G11Z5SA2K9146222   GM           IMPALA              ORLANDO                   FL
67369   2G11Z5SA2K9146964   GM           IMPALA              NEWNAN                    GA
67370   2G11Z5SA2K9148066   GM           IMPALA              San Diego                 CA
67371   2G11Z5SA2K9148603   GM           IMPALA              CHARLOTTE                 NC
67372   2G11Z5SA2K9148715   GM           IMPALA              KENNER                    LA
67373   2G11Z5SA2K9149024   GM           IMPALA              LAS VEGAS                 NV
67374   2G11Z5SA2K9149041   GM           IMPALA              ORLANDO                   FL
67375   2G11Z5SA2K9149069   GM           IMPALA              MIAMI                     FL
67376   2G11Z5SA2K9149475   GM           IMPALA              BALTIMORE                 MD
67377   2G11Z5SA2K9149993   GM           IMPALA              SALT LAKE CITY            US
67378   2G11Z5SA2K9150108   GM           IMPALA              WHITE PLAINS              NY
67379   2G11Z5SA2K9150173   GM           IMPALA              DULUTH                    GA
67380   2G11Z5SA2K9150853   GM           IMPALA              STERLING                  VA
67381   2G11Z5SA2K9151078   GM           IMPALA              PHILADELPHIA              PA
67382   2G11Z5SA2K9151145   GM           IMPALA              Hanover                   MD
67383   2G11Z5SA2K9151226   GM           IMPALA              PHILADELPHIA              PA
67384   2G11Z5SA2K9151419   GM           IMPALA              RICHMOND                  VA
67385   2G11Z5SA2K9151422   GM           IMPALA              Coraopolis                PA
67386   2G11Z5SA2K9151565   GM           IMPALA              SAINT LOUIS               MO
67387   2G11Z5SA2K9151646   GM           IMPALA              WEST PALM BEACH           FL
67388   2G11Z5SA2K9151663   GM           IMPALA              DES PLAINES               IL
67389   2G11Z5SA2K9151887   GM           IMPALA              MYRTLE BEACH              SC
67390   2G11Z5SA2K9152151   GM           IMPALA              MILWAUKEE                 WI
67391   2G11Z5SA2K9153798   GM           IMPALA              SARASOTA                  FL
67392   2G11Z5SA2K9153896   GM           IMPALA              Atlanta                   GA
67393   2G11Z5SA2K9153963   GM           IMPALA              NEW BERN                  NC
67394   2G11Z5SA2K9154109   GM           IMPALA              TAMPA                     FL
67395   2G11Z5SA2K9154191   GM           IMPALA              St. Louis                 MO
67396   2G11Z5SA2K9154286   GM           IMPALA              NEWARK                    NJ
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67397   2G11Z5SA2K9154403   GM           IMPALA              DETROIT                   MI
67398   2G11Z5SA2K9154448   GM           IMPALA              NEWARK                    NJ
67399   2G11Z5SA2K9154658   GM           IMPALA              ORLANDO                   FL
67400   2G11Z5SA2K9154742   GM           IMPALA              ATLANTA AP                GA
67401   2G11Z5SA2K9154899   GM           IMPALA              BIRMINGHAM                AL
67402   2G11Z5SA2K9154952   GM           IMPALA              MIAMI                     FL
67403   2G11Z5SA2K9155244   GM           IMPALA              CLEVELAND                 OH
67404   2G11Z5SA2K9155440   GM           IMPALA              PHOENIX                   AZ
67405   2G11Z5SA2K9156099   GM           IMPALA              HANOVER                   MD
67406   2G11Z5SA2K9156197   GM           IMPALA              Middletown                PA
67407   2G11Z5SA2K9156698   GM           IMPALA              TAMPA                     FL
67408   2G11Z5SA2K9157155   GM           IMPALA              BALTIMORE                 MD
67409   2G11Z5SA3K9117036   GM           IMPALA              KALAOA                    HI
67410   2G11Z5SA3K9117988   GM           IMPALA              CHARLOTTE                 US
67411   2G11Z5SA3K9118221   GM           IMPALA              FORT MYERS                FL
67412   2G11Z5SA3K9119577   GM           IMPALA              ORLANDO                   FL
67413   2G11Z5SA3K9120549   GM           IMPALA              SANFORD                   FL
67414   2G11Z5SA3K9120986   GM           IMPALA              ORLANDO                   FL
67415   2G11Z5SA3K9121796   GM           IMPALA              KAILUA‐KONA               HI
67416   2G11Z5SA3K9122186   GM           IMPALA              FORT MYERS                FL
67417   2G11Z5SA3K9123399   GM           IMPALA              HILO                      HI
67418   2G11Z5SA3K9123743   GM           IMPALA              HILO                      HI
67419   2G11Z5SA3K9133897   GM           IMPALA              JACKSONVILLE              FL
67420   2G11Z5SA3K9134032   GM           IMPALA              SARASOTA                  FL
67421   2G11Z5SA3K9134533   GM           IMPALA              FORT MYERS                FL
67422   2G11Z5SA3K9135410   GM           IMPALA              MELROSE PARK              IL
67423   2G11Z5SA3K9135665   GM           IMPALA              Torrance                  CA
67424   2G11Z5SA3K9135990   GM           IMPALA              Austin                    TX
67425   2G11Z5SA3K9136136   GM           IMPALA              MIAMI                     FL
67426   2G11Z5SA3K9136170   GM           IMPALA              FORT MYERS                FL
67427   2G11Z5SA3K9136220   GM           IMPALA              FORT LAUDERDALE           FL
67428   2G11Z5SA3K9136301   GM           IMPALA              GREENVILLE                NC
67429   2G11Z5SA3K9136430   GM           IMPALA              Philadelphia              PA
67430   2G11Z5SA3K9136461   GM           IMPALA              ORLANDO                   FL
67431   2G11Z5SA3K9136606   GM           IMPALA              Orlando                   FL
67432   2G11Z5SA3K9136640   GM           IMPALA              Teterboro                 NJ
67433   2G11Z5SA3K9136718   GM           IMPALA              MIAMI                     FL
67434   2G11Z5SA3K9136847   GM           IMPALA              UNION CITY                GA
67435   2G11Z5SA3K9136895   GM           IMPALA              SAINT LOUIS               MO
67436   2G11Z5SA3K9136900   GM           IMPALA              JACKSONVILLE              FL
67437   2G11Z5SA3K9137755   GM           IMPALA              INDIANAPOLIS              IN
67438   2G11Z5SA3K9139585   GM           IMPALA              BOSTON                    MA
67439   2G11Z5SA3K9139974   GM           IMPALA              ORLANDO                   FL
67440   2G11Z5SA3K9140848   GM           IMPALA              WESTLAKE                  OH
67441   2G11Z5SA3K9141594   GM           IMPALA              WHITE PLAINS              NY
67442   2G11Z5SA3K9141997   GM           IMPALA              Winston‐Salem             NC
67443   2G11Z5SA3K9142146   GM           IMPALA              Austin                    TX
67444   2G11Z5SA3K9142518   GM           IMPALA              WEST PALM BEACH           FL
67445   2G11Z5SA3K9142843   GM           IMPALA              Elkridge                  MD
67446   2G11Z5SA3K9143037   GM           IMPALA              Dallas                    TX
67447   2G11Z5SA3K9143233   GM           IMPALA              PHILADELPHIA              PA
67448   2G11Z5SA3K9143457   GM           IMPALA              Marietta                  GA
67449   2G11Z5SA3K9143748   GM           IMPALA              Las Vegas                 NV
67450   2G11Z5SA3K9145371   GM           IMPALA              WEST PALM BEACH           FL
67451   2G11Z5SA3K9145564   GM           IMPALA              Nashville                 TN
67452   2G11Z5SA3K9145631   GM           IMPALA              Las Vegas                 NV
67453   2G11Z5SA3K9146634   GM           IMPALA              BOSTON                    MA
67454   2G11Z5SA3K9146648   GM           IMPALA              EGG HARBOR TOWN           NJ
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67455   2G11Z5SA3K9146732   GM           IMPALA              HARRISBURG                PA
67456   2G11Z5SA3K9146746   GM           IMPALA              FORT MYERS                FL
67457   2G11Z5SA3K9147220   GM           IMPALA              KANSAS CITY               MO
67458   2G11Z5SA3K9148819   GM           IMPALA              NORFOLK                   VA
67459   2G11Z5SA3K9148920   GM           IMPALA              Kansas City               MO
67460   2G11Z5SA3K9149243   GM           IMPALA              TAMPA                     FL
67461   2G11Z5SA3K9149677   GM           IMPALA              FAYETTEVILLE              GA
67462   2G11Z5SA3K9150067   GM           IMPALA              CHICAGO                   IL
67463   2G11Z5SA3K9150411   GM           IMPALA              Nashville                 TN
67464   2G11Z5SA3K9151039   GM           IMPALA              BOSTON                    MA
67465   2G11Z5SA3K9151154   GM           IMPALA              New York                  NY
67466   2G11Z5SA3K9151235   GM           IMPALA              NORFOLK                   VA
67467   2G11Z5SA3K9151445   GM           IMPALA              NORFOLK                   VA
67468   2G11Z5SA3K9151543   GM           IMPALA              DETROIT                   MI
67469   2G11Z5SA3K9151624   GM           IMPALA              CHICAGO                   IL
67470   2G11Z5SA3K9151767   GM           IMPALA              NEWARK                    NJ
67471   2G11Z5SA3K9152403   GM           IMPALA              WEST COLUMBIA             SC
67472   2G11Z5SA3K9153888   GM           IMPALA              WEST PALM BEACH           FL
67473   2G11Z5SA3K9154149   GM           IMPALA              CHICAGO                   IL
67474   2G11Z5SA3K9154345   GM           IMPALA              Des Moines                IA
67475   2G11Z5SA3K9154944   GM           IMPALA              MIAMI                     FL
67476   2G11Z5SA3K9155415   GM           IMPALA              HOUSTON                   TX
67477   2G11Z5SA3K9155527   GM           IMPALA              DETROIT                   MI
67478   2G11Z5SA3K9156547   GM           IMPALA              SAN DIEGO                 CA
67479   2G11Z5SA4K9118504   GM           IMPALA              DETROIT                   MI
67480   2G11Z5SA4K9118681   GM           IMPALA              CHICAGO                   IL
67481   2G11Z5SA4K9120754   GM           IMPALA              Hapeville                 GA
67482   2G11Z5SA4K9121774   GM           IMPALA              Miami                     FL
67483   2G11Z5SA4K9122147   GM           IMPALA              KALAOA                    HI
67484   2G11Z5SA4K9122164   GM           IMPALA              Sanford                   FL
67485   2G11Z5SA4K9122388   GM           IMPALA              FORT LAUDERDALE           FL
67486   2G11Z5SA4K9122441   GM           IMPALA              HILO                      HI
67487   2G11Z5SA4K9122455   GM           IMPALA              JACKSONVILLE              FL
67488   2G11Z5SA4K9122763   GM           IMPALA              HILO                      HI
67489   2G11Z5SA4K9122777   GM           IMPALA              N. Palm Beach             FL
67490   2G11Z5SA4K9123735   GM           IMPALA              HILO                      HI
67491   2G11Z5SA4K9123914   GM           IMPALA              KAILUA‐KONA               HI
67492   2G11Z5SA4K9124030   GM           IMPALA              HILO                      HI
67493   2G11Z5SA4K9133729   GM           IMPALA              FORT MYERS                FL
67494   2G11Z5SA4K9136100   GM           IMPALA              INDIANAPOLIS              IN
67495   2G11Z5SA4K9136176   GM           IMPALA              Salt Lake City            UT
67496   2G11Z5SA4K9136193   GM           IMPALA              ORLANDO                   FL
67497   2G11Z5SA4K9136355   GM           IMPALA              ORLANDO                   FL
67498   2G11Z5SA4K9136534   GM           IMPALA              ORLANDO                   FL
67499   2G11Z5SA4K9136646   GM           IMPALA              PENSACOLA                 FL
67500   2G11Z5SA4K9136663   GM           IMPALA              TAMPA                     FL
67501   2G11Z5SA4K9136856   GM           IMPALA              MIAMI                     FL
67502   2G11Z5SA4K9137280   GM           IMPALA              Winter Park               FL
67503   2G11Z5SA4K9137604   GM           IMPALA              Baltimore                 MD
67504   2G11Z5SA4K9139594   GM           IMPALA              FT LAUDERDALE             FL
67505   2G11Z5SA4K9139627   GM           IMPALA              STERLING                  VA
67506   2G11Z5SA4K9140552   GM           IMPALA              Florissant                MO
67507   2G11Z5SA4K9142351   GM           IMPALA              STERLING                  VA
67508   2G11Z5SA4K9142382   GM           IMPALA              PORTLAND                  ME
67509   2G11Z5SA4K9142835   GM           IMPALA              Austin                    TX
67510   2G11Z5SA4K9142916   GM           IMPALA              CLARKSVILLE               IN
67511   2G11Z5SA4K9142981   GM           IMPALA              Nashville                 TN
67512   2G11Z5SA4K9143189   GM           IMPALA              MIAMI INT'L AP            FL
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67513   2G11Z5SA4K9143368   GM           IMPALA              HOUSTON                   TX
67514   2G11Z5SA4K9143404   GM           IMPALA              JACKSONVILLE              FL
67515   2G11Z5SA4K9144584   GM           IMPALA              Denver                    CO
67516   2G11Z5SA4K9145315   GM           IMPALA              Kansas City               MO
67517   2G11Z5SA4K9145430   GM           IMPALA              Florissant                MO
67518   2G11Z5SA4K9145802   GM           IMPALA              DENVER                    CO
67519   2G11Z5SA4K9146254   GM           IMPALA              FORT MYERS                FL
67520   2G11Z5SA4K9146853   GM           IMPALA              MILWAUKEE                 WI
67521   2G11Z5SA4K9147422   GM           IMPALA              Denver                    CO
67522   2G11Z5SA4K9147789   GM           IMPALA              DES MOINES                IA
67523   2G11Z5SA4K9148134   GM           IMPALA              KENNER                    LA
67524   2G11Z5SA4K9148750   GM           IMPALA              MILWAUKEE                 WI
67525   2G11Z5SA4K9148862   GM           IMPALA              Parkville                 MD
67526   2G11Z5SA4K9149039   GM           IMPALA              MIAMI                     FL
67527   2G11Z5SA4K9149168   GM           IMPALA              ORLANDO                   FL
67528   2G11Z5SA4K9149199   GM           IMPALA              St. Louis                 MO
67529   2G11Z5SA4K9149350   GM           IMPALA              ATLANTA                   GA
67530   2G11Z5SA4K9149381   GM           IMPALA              WEST PALM BEACH           FL
67531   2G11Z5SA4K9149414   GM           IMPALA              JACKSONVILLE              FL
67532   2G11Z5SA4K9149719   GM           IMPALA              JACKSONVILLE              FL
67533   2G11Z5SA4K9150014   GM           IMPALA              PENSACOLA                 FL
67534   2G11Z5SA4K9150420   GM           IMPALA              DALLAS                    TX
67535   2G11Z5SA4K9151017   GM           IMPALA              PITTSBURGH                PA
67536   2G11Z5SA4K9151129   GM           IMPALA              MIAMI                     FL
67537   2G11Z5SA4K9151230   GM           IMPALA              BOSTON                    MA
67538   2G11Z5SA4K9151261   GM           IMPALA              ORLANDO                   FL
67539   2G11Z5SA4K9151275   GM           IMPALA              CHARLOTTE                 NC
67540   2G11Z5SA4K9151423   GM           IMPALA              Newark                    NJ
67541   2G11Z5SA4K9151633   GM           IMPALA              Massapequa                NY
67542   2G11Z5SA4K9151731   GM           IMPALA              STERLING                  VA
67543   2G11Z5SA4K9151955   GM           IMPALA              ORLANDO                   FL
67544   2G11Z5SA4K9152216   GM           IMPALA              DENVER                    CO
67545   2G11Z5SA4K9152877   GM           IMPALA              Florissant                MO
67546   2G11Z5SA4K9153592   GM           IMPALA              NORFOLK                   VA
67547   2G11Z5SA4K9153737   GM           IMPALA              MIAMI                     FL
67548   2G11Z5SA4K9153981   GM           IMPALA              WEST PALM BEACH           FL
67549   2G11Z5SA4K9154094   GM           IMPALA              ORLANDO                   FL
67550   2G11Z5SA4K9154130   GM           IMPALA              FORT MYERS                FL
67551   2G11Z5SA4K9156055   GM           IMPALA              JACKSONVILLE              FL
67552   2G11Z5SA4K9156234   GM           IMPALA              WHITE PLAINS              NY
67553   2G11Z5SA4K9156749   GM           IMPALA              CHICAGO O'HARE AP         IL
67554   2G11Z5SA5K9117989   GM           IMPALA              DANIA                     FL
67555   2G11Z5SA5K9120844   GM           IMPALA              SANFORD                   FL
67556   2G11Z5SA5K9121766   GM           IMPALA              TAMPA                     FL
67557   2G11Z5SA5K9121833   GM           IMPALA              WEST PALM BEACH           FL
67558   2G11Z5SA5K9122142   GM           IMPALA              HILO                      HI
67559   2G11Z5SA5K9122206   GM           IMPALA              FORT LAUDERDALE           FL
67560   2G11Z5SA5K9122383   GM           IMPALA              SANFORD                   FL
67561   2G11Z5SA5K9122545   GM           IMPALA              WEST PALM BEACH           FL
67562   2G11Z5SA5K9122836   GM           IMPALA              Winter Park               FL
67563   2G11Z5SA5K9123257   GM           IMPALA              FORT MYERS                FL
67564   2G11Z5SA5K9123517   GM           IMPALA              HILO                      HI
67565   2G11Z5SA5K9123713   GM           IMPALA              HILO                      HI
67566   2G11Z5SA5K9133741   GM           IMPALA              DAYTONA BEACH             FL
67567   2G11Z5SA5K9133755   GM           IMPALA              Darlington                SC
67568   2G11Z5SA5K9134792   GM           IMPALA              BLOOMINGTON               IL
67569   2G11Z5SA5K9134890   GM           IMPALA              Wilmington                NC
67570   2G11Z5SA5K9135036   GM           IMPALA              Coraopolis                PA
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67571   2G11Z5SA5K9135845   GM           IMPALA              TAMPA                     FL
67572   2G11Z5SA5K9136008   GM           IMPALA              FORT MYERS                FL
67573   2G11Z5SA5K9136168   GM           IMPALA              CHARLOTTE                 NC
67574   2G11Z5SA5K9136218   GM           IMPALA              ORLANDO                   FL
67575   2G11Z5SA5K9136283   GM           IMPALA              WEST COLUMBIA             SC
67576   2G11Z5SA5K9136297   GM           IMPALA              CHICAGO                   IL
67577   2G11Z5SA5K9136445   GM           IMPALA              JACKSONVILLE              FL
67578   2G11Z5SA5K9136624   GM           IMPALA              Omaha                     NE
67579   2G11Z5SA5K9137093   GM           IMPALA              TAMPA                     US
67580   2G11Z5SA5K9137398   GM           IMPALA              Dallas                    TX
67581   2G11Z5SA5K9138020   GM           IMPALA              Irving                    TX
67582   2G11Z5SA5K9138387   GM           IMPALA              Kansas City               MO
67583   2G11Z5SA5K9139264   GM           IMPALA              WEST PALM BEACH           FL
67584   2G11Z5SA5K9139345   GM           IMPALA              DETROIT                   MI
67585   2G11Z5SA5K9140995   GM           IMPALA              Florissant                MO
67586   2G11Z5SA5K9141533   GM           IMPALA              TAMPA                     FL
67587   2G11Z5SA5K9142651   GM           IMPALA              PITTSBURGH                PA
67588   2G11Z5SA5K9142665   GM           IMPALA              Smithtown                 NY
67589   2G11Z5SA5K9142682   GM           IMPALA              SEATTLE                   WA
67590   2G11Z5SA5K9143086   GM           IMPALA              AUSTIN                    TX
67591   2G11Z5SA5K9143198   GM           IMPALA              SAN DIEGO                 CA
67592   2G11Z5SA5K9143248   GM           IMPALA              SARASOTA                  FL
67593   2G11Z5SA5K9144741   GM           IMPALA              SAINT PAUL                MN
67594   2G11Z5SA5K9144982   GM           IMPALA              Vandalia                  OH
67595   2G11Z5SA5K9145081   GM           IMPALA              Riverside                 CA
67596   2G11Z5SA5K9145193   GM           IMPALA              JACKSONVILLE              FL
67597   2G11Z5SA5K9145243   GM           IMPALA              FORT LAUDERDALE           FL
67598   2G11Z5SA5K9145405   GM           IMPALA              Newark                    NJ
67599   2G11Z5SA5K9145825   GM           IMPALA              FORT MYERS                FL
67600   2G11Z5SA5K9146084   GM           IMPALA              Kansas City               MO
67601   2G11Z5SA5K9146134   GM           IMPALA              MEMPHIS                   TN
67602   2G11Z5SA5K9146506   GM           IMPALA              INDIANAPOLIS              IN
67603   2G11Z5SA5K9146585   GM           IMPALA              TAMPA                     FL
67604   2G11Z5SA5K9146683   GM           IMPALA              DETROIT                   MI
67605   2G11Z5SA5K9146862   GM           IMPALA              BLOOMINGTON               IL
67606   2G11Z5SA5K9147073   GM           IMPALA              MIAMI                     FL
67607   2G11Z5SA5K9147378   GM           IMPALA              MINNEAPOLIS               MN
67608   2G11Z5SA5K9147817   GM           IMPALA              MILWAUKEE                 WI
67609   2G11Z5SA5K9147963   GM           IMPALA              SAINT PAUL                MN
67610   2G11Z5SA5K9148532   GM           IMPALA              WEST COLUMBIA             SC
67611   2G11Z5SA5K9148871   GM           IMPALA              Tampa                     FL
67612   2G11Z5SA5K9149213   GM           IMPALA              JACKSONVILLE              FL
67613   2G11Z5SA5K9149275   GM           IMPALA              SARASOTA                  FL
67614   2G11Z5SA5K9149356   GM           IMPALA              NEWARK                    NJ
67615   2G11Z5SA5K9150104   GM           IMPALA              ORLANDO                   FL
67616   2G11Z5SA5K9150409   GM           IMPALA              CHARLESTON                WV
67617   2G11Z5SA5K9150670   GM           IMPALA              SAINT PAUL                MN
67618   2G11Z5SA5K9151138   GM           IMPALA              CHICAGO                   IL
67619   2G11Z5SA5K9151205   GM           IMPALA              Atlanta                   GA
67620   2G11Z5SA5K9151494   GM           IMPALA              BUFFALO                   NY
67621   2G11Z5SA5K9151513   GM           IMPALA              BUFFALO                   NY
67622   2G11Z5SA5K9151544   GM           IMPALA              ORLANDO                   FL
67623   2G11Z5SA5K9152659   GM           IMPALA              MIAMI                     FL
67624   2G11Z5SA5K9153536   GM           IMPALA              Massapequa                NY
67625   2G11Z5SA5K9153570   GM           IMPALA              MILWAUKEE                 WI
67626   2G11Z5SA5K9153729   GM           IMPALA              LAS VEGAS                 NV
67627   2G11Z5SA5K9153844   GM           IMPALA              MIAMI                     FL
67628   2G11Z5SA5K9153973   GM           IMPALA              CHICAGO                   IL
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67629   2G11Z5SA5K9154444   GM           IMPALA              Jacksonville              FL
67630   2G11Z5SA5K9154475   GM           IMPALA              NEW BERN                  NC
67631   2G11Z5SA5K9154489   GM           IMPALA              ROANOKE                   VA
67632   2G11Z5SA5K9154556   GM           IMPALA              MIAMI                     FL
67633   2G11Z5SA5K9154783   GM           IMPALA              DETROIT                   MI
67634   2G11Z5SA5K9156856   GM           IMPALA              Sacramento                CA
67635   2G11Z5SA6K9117774   GM           IMPALA              FORT LAUDERDALE           FL
67636   2G11Z5SA6K9118634   GM           IMPALA              WEST PALM BEACH           FL
67637   2G11Z5SA6K9118794   GM           IMPALA              Tampa                     FL
67638   2G11Z5SA6K9122330   GM           IMPALA              KAILUA‐KONA               HI
67639   2G11Z5SA6K9122392   GM           IMPALA              Kailua‐Kona               HI
67640   2G11Z5SA6K9122537   GM           IMPALA              SAVANNAH                  GA
67641   2G11Z5SA6K9122604   GM           IMPALA              FORT MYERS                FL
67642   2G11Z5SA6K9122814   GM           IMPALA              KENNESAW                  GA
67643   2G11Z5SA6K9122862   GM           IMPALA              MIAMI                     FL
67644   2G11Z5SA6K9123574   GM           IMPALA              ORLANDO                   FL
67645   2G11Z5SA6K9123669   GM           IMPALA              HILO                      HI
67646   2G11Z5SA6K9123820   GM           IMPALA              CLARKSVILLE               IN
67647   2G11Z5SA6K9123896   GM           IMPALA              KALAOA                    HI
67648   2G11Z5SA6K9135904   GM           IMPALA              MIAMI                     FL
67649   2G11Z5SA6K9135918   GM           IMPALA              WEST PALM BEACH           FL
67650   2G11Z5SA6K9135983   GM           IMPALA              FORT MYERS                FL
67651   2G11Z5SA6K9136082   GM           IMPALA              MIAMI                     FL
67652   2G11Z5SA6K9136163   GM           IMPALA              Tampa                     FL
67653   2G11Z5SA6K9136390   GM           IMPALA              ORLANDO                   FL
67654   2G11Z5SA6K9136552   GM           IMPALA              ORLANDO                   FL
67655   2G11Z5SA6K9136650   GM           IMPALA              MIAMI                     FL
67656   2G11Z5SA6K9136681   GM           IMPALA              SOUTHEAST DST OFFC        OK
67657   2G11Z5SA6K9136776   GM           IMPALA              SARASOTA                  FL
67658   2G11Z5SA6K9136924   GM           IMPALA              Jacksonville              FL
67659   2G11Z5SA6K9137037   GM           IMPALA              ORLANDO                   FL
67660   2G11Z5SA6K9137300   GM           IMPALA              Austin                    TX
67661   2G11Z5SA6K9139547   GM           IMPALA              TAMPA                     FL
67662   2G11Z5SA6K9139807   GM           IMPALA              ORLANDO                   FL
67663   2G11Z5SA6K9141573   GM           IMPALA              Philadelphia              PA
67664   2G11Z5SA6K9141640   GM           IMPALA              GREENSBORO                NC
67665   2G11Z5SA6K9142299   GM           IMPALA              Atlanta                   GA
67666   2G11Z5SA6K9142643   GM           IMPALA              Dallas                    TX
67667   2G11Z5SA6K9142724   GM           IMPALA              Oklahoma City             OK
67668   2G11Z5SA6K9142979   GM           IMPALA              Harlingen                 TX
67669   2G11Z5SA6K9143002   GM           IMPALA              Phoenix                   AZ
67670   2G11Z5SA6K9143100   GM           IMPALA              Phoenix                   AZ
67671   2G11Z5SA6K9144005   GM           IMPALA              KANSAS CITY               MO
67672   2G11Z5SA6K9144697   GM           IMPALA              FORT MYERS                FL
67673   2G11Z5SA6K9144800   GM           IMPALA              Detroit                   MI
67674   2G11Z5SA6K9144909   GM           IMPALA              ORLANDO                   FL
67675   2G11Z5SA6K9145302   GM           IMPALA              Portland                  OR
67676   2G11Z5SA6K9145770   GM           IMPALA              Newark                    NJ
67677   2G11Z5SA6K9146045   GM           IMPALA              SEATAC                    WA
67678   2G11Z5SA6K9146420   GM           IMPALA              MIAMI                     FL
67679   2G11Z5SA6K9146823   GM           IMPALA              SAINT PAUL                MN
67680   2G11Z5SA6K9146840   GM           IMPALA              KENNER                    LA
67681   2G11Z5SA6K9147132   GM           IMPALA              SAINT PAUL                MN
67682   2G11Z5SA6K9147163   GM           IMPALA              ST Paul                   MN
67683   2G11Z5SA6K9147275   GM           IMPALA              San Diego                 CA
67684   2G11Z5SA6K9147437   GM           IMPALA              RICHMOND                  VA
67685   2G11Z5SA6K9148877   GM           IMPALA              SHREVEPORT                LA
67686   2G11Z5SA6K9149432   GM           IMPALA              TAMPA                     FL
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67687   2G11Z5SA6K9149477   GM           IMPALA              RALEIGH                   NC
67688   2G11Z5SA6K9150600   GM           IMPALA              WEST PALM BEACH           FL
67689   2G11Z5SA6K9150743   GM           IMPALA              RALIEGH                   NC
67690   2G11Z5SA6K9150757   GM           IMPALA              ALBUQUERQUE               NM
67691   2G11Z5SA6K9150791   GM           IMPALA              KANSAS CITY               MO
67692   2G11Z5SA6K9151357   GM           IMPALA              COLLEGE PARK              GA
67693   2G11Z5SA6K9151519   GM           IMPALA              CHICAGO                   IL
67694   2G11Z5SA6K9151584   GM           IMPALA              LOUISVILLE                KY
67695   2G11Z5SA6K9151617   GM           IMPALA              HARTFORD                  CT
67696   2G11Z5SA6K9152136   GM           IMPALA              MELROSE PARK              IL
67697   2G11Z5SA6K9152153   GM           IMPALA              Chicago                   IL
67698   2G11Z5SA6K9152332   GM           IMPALA              GREENWOOD                 NE
67699   2G11Z5SA6K9153559   GM           IMPALA              MILWAUKEE                 WI
67700   2G11Z5SA6K9154257   GM           IMPALA              Hamilton                  OH
67701   2G11Z5SA6K9154274   GM           IMPALA              NEW BERN                  NC
67702   2G11Z5SA6K9154291   GM           IMPALA              CLEVELAND                 OH
67703   2G11Z5SA6K9154310   GM           IMPALA              BALTIMORE                 MD
67704   2G11Z5SA6K9154355   GM           IMPALA              Coraopolis                PA
67705   2G11Z5SA6K9155098   GM           IMPALA              GRAND RAPIDS              MI
67706   2G11Z5SA6K9155215   GM           IMPALA              BIRMINGHAM                AL
67707   2G11Z5SA6K9155330   GM           IMPALA              Atlanta                   GA
67708   2G11Z5SA6K9155943   GM           IMPALA              WOODSON TERRACE           MO
67709   2G11Z5SA6K9155957   GM           IMPALA              SALT LAKE CITY            UT
67710   2G11Z5SA6K9156073   GM           IMPALA              Atlanta                   GA
67711   2G11Z5SA6K9156784   GM           IMPALA              SAVANNAH                  GA
67712   2G11Z5SA6K9157157   GM           IMPALA              FORT MYERS                FL
67713   2G11Z5SA6K9157689   GM           IMPALA              FT LAUDERDALE             FL
67714   2G11Z5SA7K9120523   GM           IMPALA              FORT MYERS                FL
67715   2G11Z5SA7K9121297   GM           IMPALA              MIAMI                     FL
67716   2G11Z5SA7K9122076   GM           IMPALA              FORT LAUDERDALE           FL
67717   2G11Z5SA7K9122126   GM           IMPALA              WEST PALM BEACH           FL
67718   2G11Z5SA7K9122546   GM           IMPALA              FORT LAUDERDALE           FL
67719   2G11Z5SA7K9122580   GM           IMPALA              COCOA                     FL
67720   2G11Z5SA7K9123034   GM           IMPALA              KALAOA                    HI
67721   2G11Z5SA7K9123423   GM           IMPALA              KALAOA                    HI
67722   2G11Z5SA7K9123633   GM           IMPALA              KALAOA                    HI
67723   2G11Z5SA7K9124054   GM           IMPALA              HILO                      HI
67724   2G11Z5SA7K9135958   GM           IMPALA              WEST PALM BEACH           FL
67725   2G11Z5SA7K9136138   GM           IMPALA              Hamilton                  OH
67726   2G11Z5SA7K9136186   GM           IMPALA              CHARLESTON                SC
67727   2G11Z5SA7K9136401   GM           IMPALA              Smithtown                 NY
67728   2G11Z5SA7K9136477   GM           IMPALA              Atlanta                   GA
67729   2G11Z5SA7K9136561   GM           IMPALA              MIAMI                     FL
67730   2G11Z5SA7K9136575   GM           IMPALA              FORT LAUDERDALE           FL
67731   2G11Z5SA7K9136608   GM           IMPALA              Miami                     FL
67732   2G11Z5SA7K9136642   GM           IMPALA              FORT LAUDERDALE           FL
67733   2G11Z5SA7K9136687   GM           IMPALA              WEST PALM BEACH           FL
67734   2G11Z5SA7K9136706   GM           IMPALA              ORLANDO                   FL
67735   2G11Z5SA7K9136947   GM           IMPALA              MIAMI                     FL
67736   2G11Z5SA7K9137418   GM           IMPALA              Houston                   TX
67737   2G11Z5SA7K9137838   GM           IMPALA              MOBILE                    AL
67738   2G11Z5SA7K9140691   GM           IMPALA              BOSTON                    MA
67739   2G11Z5SA7K9141713   GM           IMPALA              Orlando                   FL
67740   2G11Z5SA7K9142425   GM           IMPALA              PHILADELPHIA              PA
67741   2G11Z5SA7K9142649   GM           IMPALA              Smithtown                 NY
67742   2G11Z5SA7K9142697   GM           IMPALA              Irving                    TX
67743   2G11Z5SA7K9142893   GM           IMPALA              Winter Park               FL
67744   2G11Z5SA7K9143154   GM           IMPALA              Austin                    TX
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67745   2G11Z5SA7K9143428   GM           IMPALA              Houston                   TX
67746   2G11Z5SA7K9145017   GM           IMPALA              FORT MYERS                FL
67747   2G11Z5SA7K9145602   GM           IMPALA              DES MOINES                IA
67748   2G11Z5SA7K9145695   GM           IMPALA              FORT MYERS                FL
67749   2G11Z5SA7K9145891   GM           IMPALA              Salt Lake City            UT
67750   2G11Z5SA7K9146460   GM           IMPALA              FORT LAUDERDALE           FL
67751   2G11Z5SA7K9146572   GM           IMPALA              STERLING                  VA
67752   2G11Z5SA7K9147463   GM           IMPALA              KNOXVILLE                 TN
67753   2G11Z5SA7K9148726   GM           IMPALA              STERLING                  VA
67754   2G11Z5SA7K9148788   GM           IMPALA              FORT MYERS                FL
67755   2G11Z5SA7K9149116   GM           IMPALA              CHICAGO                   IL
67756   2G11Z5SA7K9150640   GM           IMPALA              DENVER                    CO
67757   2G11Z5SA7K9150914   GM           IMPALA              CHICAGO                   IL
67758   2G11Z5SA7K9150928   GM           IMPALA              CHICAGO                   IL
67759   2G11Z5SA7K9151156   GM           IMPALA              BOSTON, LOGAN AP          MA
67760   2G11Z5SA7K9151318   GM           IMPALA              DETROIT                   MI
67761   2G11Z5SA7K9151447   GM           IMPALA              East Boston               MA
67762   2G11Z5SA7K9151657   GM           IMPALA              OMAHA                     NE
67763   2G11Z5SA7K9151769   GM           IMPALA              CHICAGO                   IL
67764   2G11Z5SA7K9151917   GM           IMPALA              Atlanta                   GA
67765   2G11Z5SA7K9152050   GM           IMPALA              WESTERVILLE               OH
67766   2G11Z5SA7K9153568   GM           IMPALA              INDIANAPOLIS              IN
67767   2G11Z5SA7K9153795   GM           IMPALA              TAMPA                     FL
67768   2G11Z5SA7K9154199   GM           IMPALA              RICHMOND                  VA
67769   2G11Z5SA7K9154395   GM           IMPALA              KNOXVILLE                 TN
67770   2G11Z5SA7K9154459   GM           IMPALA              FORT LAUDERDALE           FL
67771   2G11Z5SA7K9154526   GM           IMPALA              HARTFORD                  CT
67772   2G11Z5SA7K9154607   GM           IMPALA              KNOXVILLE                 TN
67773   2G11Z5SA7K9154770   GM           IMPALA              SAVANNAH                  GA
67774   2G11Z5SA7K9155322   GM           IMPALA              ALEXANDRIA                VA
67775   2G11Z5SA7K9155708   GM           IMPALA              Hebron                    KY
67776   2G11Z5SA7K9156969   GM           IMPALA              FORT MYERS                FL
67777   2G11Z5SA7K9157121   GM           IMPALA              Roseville                 CA
67778   2G11Z5SA8K9116917   GM           IMPALA              KALAOA                    HI
67779   2G11Z5SA8K9118666   GM           IMPALA              Marietta                  GA
67780   2G11Z5SA8K9121034   GM           IMPALA              MIAMI                     FL
67781   2G11Z5SA8K9122216   GM           IMPALA              Atlanta                   GA
67782   2G11Z5SA8K9122233   GM           IMPALA              Miami                     FL
67783   2G11Z5SA8K9122247   GM           IMPALA              HILO                      HI
67784   2G11Z5SA8K9122300   GM           IMPALA              MIAMI                     FL
67785   2G11Z5SA8K9122605   GM           IMPALA              KAILUA‐KONA               HI
67786   2G11Z5SA8K9122751   GM           IMPALA              FORT MYERS                FL
67787   2G11Z5SA8K9122779   GM           IMPALA              BALTIMORE                 MD
67788   2G11Z5SA8K9122846   GM           IMPALA              NEW BERN                  NC
67789   2G11Z5SA8K9123303   GM           IMPALA              WEST PALM BEACH           FL
67790   2G11Z5SA8K9123401   GM           IMPALA              SOUTHEAST DST OFFC        OK
67791   2G11Z5SA8K9123611   GM           IMPALA              KAILUA KONA               HI
67792   2G11Z5SA8K9135452   GM           IMPALA              Atlanta                   GA
67793   2G11Z5SA8K9135578   GM           IMPALA              SOUTHEAST DST OFFC        OK
67794   2G11Z5SA8K9135628   GM           IMPALA              CLARKSVILLE               IN
67795   2G11Z5SA8K9135807   GM           IMPALA              KNOXVILLE                 TN
67796   2G11Z5SA8K9136004   GM           IMPALA              ORLANDO                   FL
67797   2G11Z5SA8K9136049   GM           IMPALA              FT LAUDERDALE             FL
67798   2G11Z5SA8K9136066   GM           IMPALA              SARASOTA                  FL
67799   2G11Z5SA8K9136147   GM           IMPALA              WEST PALM BEACH           FL
67800   2G11Z5SA8K9136195   GM           IMPALA              FORT MYERS                FL
67801   2G11Z5SA8K9136200   GM           IMPALA              COCOA                     FL
67802   2G11Z5SA8K9136293   GM           IMPALA              ORLANDO                   FL
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67803   2G11Z5SA8K9136407   GM           IMPALA              COCOA                     FL
67804   2G11Z5SA8K9136567   GM           IMPALA              Chicago                   IL
67805   2G11Z5SA8K9136634   GM           IMPALA              JACKSONVILLE              FL
67806   2G11Z5SA8K9136648   GM           IMPALA              FORT MYERS                FL
67807   2G11Z5SA8K9136780   GM           IMPALA              BALTIMORE                 MD
67808   2G11Z5SA8K9136889   GM           IMPALA              FORT MYERS                FL
67809   2G11Z5SA8K9136892   GM           IMPALA              SHREVEPORT                LA
67810   2G11Z5SA8K9136911   GM           IMPALA              ORLANDO                   FL
67811   2G11Z5SA8K9136956   GM           IMPALA              WEST PALM BEACH           FL
67812   2G11Z5SA8K9136973   GM           IMPALA              ORLANDO                   FL
67813   2G11Z5SA8K9137136   GM           IMPALA              FT. LAUDERDALE            FL
67814   2G11Z5SA8K9137248   GM           IMPALA              WEST PALM BEACH           FL
67815   2G11Z5SA8K9138187   GM           IMPALA              OMAHA                     NE
67816   2G11Z5SA8K9140053   GM           IMPALA              JACKSONVILLE              FL
67817   2G11Z5SA8K9141557   GM           IMPALA              ORLANDO                   FL
67818   2G11Z5SA8K9142157   GM           IMPALA              Massapequa                NY
67819   2G11Z5SA8K9142580   GM           IMPALA              BOSTON                    MA
67820   2G11Z5SA8K9142885   GM           IMPALA              MIAMI                     FL
67821   2G11Z5SA8K9142935   GM           IMPALA              Schaumburg                IL
67822   2G11Z5SA8K9143079   GM           IMPALA              FLORIDA DEALER DIR        FL
67823   2G11Z5SA8K9143292   GM           IMPALA              San Antonio               TX
67824   2G11Z5SA8K9143678   GM           IMPALA              SOUTHEAST DST OFFC        OK
67825   2G11Z5SA8K9143731   GM           IMPALA              Atlanta                   GA
67826   2G11Z5SA8K9143793   GM           IMPALA              EL PASO                   TX
67827   2G11Z5SA8K9144779   GM           IMPALA              Atlanta                   GA
67828   2G11Z5SA8K9144877   GM           IMPALA              Salt Lake City            UT
67829   2G11Z5SA8K9145057   GM           IMPALA              SYRACUSE                  NY
67830   2G11Z5SA8K9145110   GM           IMPALA              JACKSONVILLE              FL
67831   2G11Z5SA8K9145835   GM           IMPALA              TAMPA                     FL
67832   2G11Z5SA8K9146001   GM           IMPALA              SAINT LOUIS               MO
67833   2G11Z5SA8K9146550   GM           IMPALA              MIAMI                     FL
67834   2G11Z5SA8K9146564   GM           IMPALA              ORLANDO                   FL
67835   2G11Z5SA8K9146970   GM           IMPALA              BOSTON                    MA
67836   2G11Z5SA8K9147214   GM           IMPALA              RALEIGH                   NC
67837   2G11Z5SA8K9147276   GM           IMPALA              BURBANK                   CA
67838   2G11Z5SA8K9147987   GM           IMPALA              HARTFORD                  CT
67839   2G11Z5SA8K9148816   GM           IMPALA              KNOXVILLE                 TN
67840   2G11Z5SA8K9149643   GM           IMPALA              ORLANDO                   FL
67841   2G11Z5SA8K9150310   GM           IMPALA              MIAMI                     FL
67842   2G11Z5SA8K9151084   GM           IMPALA              BOSTON                    MA
67843   2G11Z5SA8K9151134   GM           IMPALA              RONKONKOMA                NY
67844   2G11Z5SA8K9151182   GM           IMPALA              SARASOTA                  FL
67845   2G11Z5SA8K9151277   GM           IMPALA              CHICAGO                   IL
67846   2G11Z5SA8K9151571   GM           IMPALA              FORT MYERS                FL
67847   2G11Z5SA8K9151828   GM           IMPALA              SAINT LOUIS               MO
67848   2G11Z5SA8K9151909   GM           IMPALA              FAYETTEVILLE              GA
67849   2G11Z5SA8K9152185   GM           IMPALA              North Billerica           MA
67850   2G11Z5SA8K9153904   GM           IMPALA              ORLANDO                   FL
67851   2G11Z5SA8K9154003   GM           IMPALA              ORLANDO                   FL
67852   2G11Z5SA8K9154051   GM           IMPALA              CHICAGO                   IL
67853   2G11Z5SA8K9154454   GM           IMPALA              TAMPA                     FL
67854   2G11Z5SA8K9154468   GM           IMPALA              Atlanta                   GA
67855   2G11Z5SA8K9154552   GM           IMPALA              MIAMI                     FL
67856   2G11Z5SA8K9154647   GM           IMPALA              WEST PALM BEACH           FL
67857   2G11Z5SA8K9154776   GM           IMPALA              Roseville                 CA
67858   2G11Z5SA8K9155328   GM           IMPALA              NORFOLK                   VA
67859   2G11Z5SA8K9155779   GM           IMPALA              BOSTON, LOGAN AP          MA
67860   2G11Z5SA8K9156236   GM           IMPALA              Palm Springs              CA
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67861   2G11Z5SA8K9156334   GM           IMPALA              Norwalk                   CA
67862   2G11Z5SA8K9157015   GM           IMPALA              FORT LAUDERDALE           FL
67863   2G11Z5SA8K9157810   GM           IMPALA              NEW ORLEANS               LA
67864   2G11Z5SA9K9118563   GM           IMPALA              ORLANDO                   FL
67865   2G11Z5SA9K9118577   GM           IMPALA              WEST PALM BEACH           FL
67866   2G11Z5SA9K9121088   GM           IMPALA              MIAMI                     FL
67867   2G11Z5SA9K9122130   GM           IMPALA              WEST PALM BEACH           FL
67868   2G11Z5SA9K9122239   GM           IMPALA              KAILUA‐KONA               HI
67869   2G11Z5SA9K9123682   GM           IMPALA              WAIMEA                    HI
67870   2G11Z5SA9K9124119   GM           IMPALA              SOUTHEAST DST OFFC        OK
67871   2G11Z5SA9K9132446   GM           IMPALA              Honolulu                  HI
67872   2G11Z5SA9K9135167   GM           IMPALA              Tulsa                     OK
67873   2G11Z5SA9K9135346   GM           IMPALA              Oklahoma City             OK
67874   2G11Z5SA9K9135637   GM           IMPALA              Detroit                   MI
67875   2G11Z5SA9K9136142   GM           IMPALA              TAMPA                     FL
67876   2G11Z5SA9K9136206   GM           IMPALA              TAMPA                     FL
67877   2G11Z5SA9K9136254   GM           IMPALA              FORT MYERS                FL
67878   2G11Z5SA9K9136366   GM           IMPALA              FORT MYERS                FL
67879   2G11Z5SA9K9136402   GM           IMPALA              WEST PALM BEACH           FL
67880   2G11Z5SA9K9136447   GM           IMPALA              ORLANDO                   FL
67881   2G11Z5SA9K9136500   GM           IMPALA              White Plains              NY
67882   2G11Z5SA9K9136853   GM           IMPALA              FT LAUDERDALE             FL
67883   2G11Z5SA9K9136870   GM           IMPALA              Memphis                   TN
67884   2G11Z5SA9K9136898   GM           IMPALA              Savannah                  GA
67885   2G11Z5SA9K9137646   GM           IMPALA              KAILUA‐KONA               HI
67886   2G11Z5SA9K9138487   GM           IMPALA              Dallas                    TX
67887   2G11Z5SA9K9139722   GM           IMPALA              COLUMBIA                  SC
67888   2G11Z5SA9K9141132   GM           IMPALA              St. Louis                 MO
67889   2G11Z5SA9K9141406   GM           IMPALA              Manheim                   PA
67890   2G11Z5SA9K9141972   GM           IMPALA              Bensalem                  PA
67891   2G11Z5SA9K9142667   GM           IMPALA              Austin                    TX
67892   2G11Z5SA9K9142734   GM           IMPALA              Hendersonville            TN
67893   2G11Z5SA9K9143043   GM           IMPALA              KENNER                    LA
67894   2G11Z5SA9K9144564   GM           IMPALA              ALBANY                    GA
67895   2G11Z5SA9K9144709   GM           IMPALA              Marietta                  GA
67896   2G11Z5SA9K9144810   GM           IMPALA              Tampa                     FL
67897   2G11Z5SA9K9144838   GM           IMPALA              FT LAUDERDALE             FL
67898   2G11Z5SA9K9144869   GM           IMPALA              DENVER                    CO
67899   2G11Z5SA9K9144872   GM           IMPALA              KENNER                    LA
67900   2G11Z5SA9K9145276   GM           IMPALA              GRAND RAPIDS              MI
67901   2G11Z5SA9K9145469   GM           IMPALA              BIRMINGHAM                AL
67902   2G11Z5SA9K9145956   GM           IMPALA              HARTFORD                  CT
67903   2G11Z5SA9K9146430   GM           IMPALA              BENTONVILLE AP            AR
67904   2G11Z5SA9K9147450   GM           IMPALA              NEWARK                    NY
67905   2G11Z5SA9K9147528   GM           IMPALA              SANFORD                   FL
67906   2G11Z5SA9K9148470   GM           IMPALA              COLLEGE PARK              GA
67907   2G11Z5SA9K9149196   GM           IMPALA              PHOENIX                   AZ
67908   2G11Z5SA9K9149411   GM           IMPALA              WEST PALM BEACH           FL
67909   2G11Z5SA9K9149750   GM           IMPALA              CLEVELAND                 OH
67910   2G11Z5SA9K9150171   GM           IMPALA              MILWAUKEE                 WI
67911   2G11Z5SA9K9150638   GM           IMPALA              Florissant                MO
67912   2G11Z5SA9K9150784   GM           IMPALA              RALEIGH                   NC
67913   2G11Z5SA9K9150865   GM           IMPALA              DETROIT                   MI
67914   2G11Z5SA9K9150932   GM           IMPALA              NORFOLK                   VA
67915   2G11Z5SA9K9151000   GM           IMPALA              BOSTON                    MA
67916   2G11Z5SA9K9151174   GM           IMPALA              WEST PALM BEACH           FL
67917   2G11Z5SA9K9151238   GM           IMPALA              NORFOLK                   VA
67918   2G11Z5SA9K9151451   GM           IMPALA              KNOXVILLE                 TN
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67919   2G11Z5SA9K9151627   GM           IMPALA              RICHMOND                  VA
67920   2G11Z5SA9K9151630   GM           IMPALA              MANHATTAN                 NY
67921   2G11Z5SA9K9151661   GM           IMPALA              Memphis                   TN
67922   2G11Z5SA9K9151711   GM           IMPALA              NEWARK                    NJ
67923   2G11Z5SA9K9151899   GM           IMPALA              FAYETTEVILLE              US
67924   2G11Z5SA9K9152020   GM           IMPALA              Coraopolis                PA
67925   2G11Z5SA9K9152213   GM           IMPALA              CHARLESTON                SC
67926   2G11Z5SA9K9152650   GM           IMPALA              BOSTON                    MA
67927   2G11Z5SA9K9153670   GM           IMPALA              San Diego                 CA
67928   2G11Z5SA9K9153927   GM           IMPALA              PHOENIX                   AZ
67929   2G11Z5SA9K9153975   GM           IMPALA              TAMPA                     FL
67930   2G11Z5SA9K9154043   GM           IMPALA              Chicago                   IL
67931   2G11Z5SA9K9154155   GM           IMPALA              PHILADELPHIA              PA
67932   2G11Z5SA9K9154334   GM           IMPALA              NEW BERN                  NC
67933   2G11Z5SA9K9154382   GM           IMPALA              ORLANDO                   FL
67934   2G11Z5SA9K9154415   GM           IMPALA              TAMPA                     FL
67935   2G11Z5SA9K9154544   GM           IMPALA              MIAMI                     FL
67936   2G11Z5SA9K9154642   GM           IMPALA              Kansas City               MO
67937   2G11Z5SA9K9154821   GM           IMPALA              ORLANDO                   FL
67938   2G11Z5SA9K9154897   GM           IMPALA              CLARKSVILLE               IN
67939   2G11Z5SA9K9155032   GM           IMPALA              GREENVILLE                NC
67940   2G11Z5SA9K9155130   GM           IMPALA              PHILADELPHIA              US
67941   2G11Z5SA9K9155726   GM           IMPALA              DETROIT                   MI
67942   2G11Z5SA9K9157119   GM           IMPALA              FORT LAUDERDALE           FL
67943   2G11Z5SAXK9117714   GM           IMPALA              TAMPA                     FL
67944   2G11Z5SAXK9121066   GM           IMPALA              FORT LAUDERDALE           FL
67945   2G11Z5SAXK9121164   GM           IMPALA              WEST PALM BEACH           FL
67946   2G11Z5SAXK9121262   GM           IMPALA              SOUTHEAST DST OFFC        OK
67947   2G11Z5SAXK9121648   GM           IMPALA              FORT LAUDERDALE           FL
67948   2G11Z5SAXK9121732   GM           IMPALA              ORLANDO                   FL
67949   2G11Z5SAXK9122363   GM           IMPALA              HILO                      HI
67950   2G11Z5SAXK9122654   GM           IMPALA              TALLAHASSEE               US
67951   2G11Z5SAXK9122718   GM           IMPALA              SANFORD                   FL
67952   2G11Z5SAXK9122993   GM           IMPALA              Salt Lake City            UT
67953   2G11Z5SAXK9133704   GM           IMPALA              SOUTHEAST DST OFFC        OK
67954   2G11Z5SAXK9134366   GM           IMPALA              FORT MYERS                FL
67955   2G11Z5SAXK9134819   GM           IMPALA              St. Louis                 MO
67956   2G11Z5SAXK9135310   GM           IMPALA              DES MOINES                IA
67957   2G11Z5SAXK9135484   GM           IMPALA              WARWICK                   RI
67958   2G11Z5SAXK9135517   GM           IMPALA              CHICAGO                   IL
67959   2G11Z5SAXK9136019   GM           IMPALA              TAMPA                     FL
67960   2G11Z5SAXK9136053   GM           IMPALA              SOUTHEAST DST OFFC        OK
67961   2G11Z5SAXK9136554   GM           IMPALA              WEST PALM BEACH           FL
67962   2G11Z5SAXK9136604   GM           IMPALA              FORT MYERS                FL
67963   2G11Z5SAXK9136683   GM           IMPALA              ORLANDO                   FL
67964   2G11Z5SAXK9136828   GM           IMPALA              TAMPA                     FL
67965   2G11Z5SAXK9137039   GM           IMPALA              Oklahoma City             OK
67966   2G11Z5SAXK9137378   GM           IMPALA              WEST PALM BEACH           FL
67967   2G11Z5SAXK9138613   GM           IMPALA              Dallas                    TX
67968   2G11Z5SAXK9138630   GM           IMPALA              HOUSTON                   TX
67969   2G11Z5SAXK9138823   GM           IMPALA              FORT LAUDERDALE           FL
67970   2G11Z5SAXK9140152   GM           IMPALA              Hamilton                  OH
67971   2G11Z5SAXK9140488   GM           IMPALA              HINGHAMN                  MA
67972   2G11Z5SAXK9140779   GM           IMPALA              DETROIT                   MI
67973   2G11Z5SAXK9141589   GM           IMPALA              TAMPA                     US
67974   2G11Z5SAXK9142144   GM           IMPALA              Rockville Centr           NY
67975   2G11Z5SAXK9143309   GM           IMPALA              CLARKSVILLE               IN
67976   2G11Z5SAXK9143603   GM           IMPALA              INDIANAPOLIS              IN
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67977   2G11Z5SAXK9143634   GM          IMPALA              MIAMI                     FL
67978   2G11Z5SAXK9143729   GM          IMPALA              Oklahoma City             OK
67979   2G11Z5SAXK9144430   GM          IMPALA              CHICAGO                   IL
67980   2G11Z5SAXK9144539   GM          IMPALA              JACKSONVILLE              FL
67981   2G11Z5SAXK9144721   GM          IMPALA              St. Louis                 MO
67982   2G11Z5SAXK9145075   GM          IMPALA              Irving                    TX
67983   2G11Z5SAXK9145674   GM          IMPALA              ORLANDO                   FL
67984   2G11Z5SAXK9146291   GM          IMPALA              ALEXANDRIA                VA
67985   2G11Z5SAXK9147165   GM          IMPALA              SAN DIEGO                 CA
67986   2G11Z5SAXK9147179   GM          IMPALA              JACKSONVILLE              FL
67987   2G11Z5SAXK9147697   GM          IMPALA              PHILADELPHIA              PA
67988   2G11Z5SAXK9148199   GM          IMPALA              SAINT PAUL                MN
67989   2G11Z5SAXK9149417   GM          IMPALA              FORT LAUDERDALE           FL
67990   2G11Z5SAXK9149823   GM          IMPALA              DENVER                    CO
67991   2G11Z5SAXK9149904   GM          IMPALA              UNION CITY                GA
67992   2G11Z5SAXK9150535   GM          IMPALA              CHICAGO                   IL
67993   2G11Z5SAXK9151295   GM          IMPALA              ATLANTA                   GA
67994   2G11Z5SAXK9151300   GM          IMPALA              PENSACOLA                 FL
67995   2G11Z5SAXK9151507   GM          IMPALA              HARTFORD                  CT
67996   2G11Z5SAXK9151751   GM          IMPALA              Massapequa                NY
67997   2G11Z5SAXK9154049   GM          IMPALA              FORT MYERS                FL
67998   2G11Z5SAXK9154231   GM          IMPALA              GREENVILLE                NC
67999   2G11Z5SAXK9154259   GM          IMPALA              BOSTON                    MA
68000   2G11Z5SAXK9154262   GM          IMPALA              Atlanta                   GA
68001   2G11Z5SAXK9154293   GM          IMPALA              DES MOINES                IA
68002   2G11Z5SAXK9154343   GM          IMPALA              DALLAS                    TX
68003   2G11Z5SAXK9154391   GM          IMPALA              ORLANDO                   FL
68004   2G11Z5SAXK9154696   GM          IMPALA              TAMPA                     FL
68005   2G11Z5SAXK9154861   GM          IMPALA              FORT MYERS                FL
68006   2G11Z5SAXK9155217   GM          IMPALA              ORLANDO                   FL
68007   2G11Z5SAXK9155475   GM          IMPALA              SOUTH BURLINGTO           VT
68008   2G11Z5SAXK9156707   GM          IMPALA              ORLANDO                   FL
68009   2G1FB1E36E9148477   GM          CAMARO              N. Las Vegas              NV
68010   2G1WB5E30G1189101   GM          IMPALA              STERLING                  VA
68011   2G1WB5E34F1125416   GM          IMPALA              Mobile                    AL
68012   2G4GS5GX2G9178514   GM          REGAL               Detroit                   MI
68013   2G4GS5GX3G9178649   GM          REGAL               AURORA                    CO
68014   2G4GS5GXXG9201005   GM          REGAL               CHICAGO                   IL
68015   2G4GU5GXXG9113646   GM          REGAL               Matteson                  IL
68016   2G61M5S30K9116937   GM          XTS                 Caledonia                 WI
68017   2G61M5S30K9117358   GM          XTS                 CHICAGO                   IL
68018   2G61M5S30K9117392   GM          XTS                 SCRANTON                  PA
68019   2G61M5S30K9118171   GM          XTS                 TAMPA                     FL
68020   2G61M5S30K9118462   GM          XTS                 Matteson                  IL
68021   2G61M5S30K9118591   GM          XTS                 FORT MYERS                FL
68022   2G61M5S30K9118834   GM          XTS                 NORFOLK                   VA
68023   2G61M5S30K9118932   GM          XTS                 SAN JOSE                  CA
68024   2G61M5S30K9119286   GM          XTS                 SACRAMENTO                CA
68025   2G61M5S30K9119482   GM          XTS                 Lake Elsinore             CA
68026   2G61M5S30K9120034   GM          XTS                 Hamilton                  OH
68027   2G61M5S30K9120437   GM          XTS                 CHEEKTOWAGA               NY
68028   2G61M5S30K9120812   GM          XTS                 Chicago                   IL
68029   2G61M5S30K9121006   GM          XTS                 Hebron                    KY
68030   2G61M5S30K9121040   GM          XTS                 LAS VEGAS                 NV
68031   2G61M5S30K9121085   GM          XTS                 ORLANDO                   FL
68032   2G61M5S30K9121149   GM          XTS                 JAMAICA                   NY
68033   2G61M5S30K9121250   GM          XTS                 CLEVELAND                 OH
68034   2G61M5S30K9121314   GM          XTS                 PHILADELPHIA              PA
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68035   2G61M5S30K9121362   GM           XTS                 CHICAGO                   IL
68036   2G61M5S30K9121412   GM           XTS                 Atlanta                   GA
68037   2G61M5S30K9121474   GM           XTS                 FORT LAUDERDALE           FL
68038   2G61M5S30K9121541   GM           XTS                 BOSTON                    MA
68039   2G61M5S30K9121622   GM           XTS                 TAMPA                     FL
68040   2G61M5S30K9121636   GM           XTS                 BOISE                     ID
68041   2G61M5S30K9121698   GM           XTS                 Atlanta                   GA
68042   2G61M5S30K9121782   GM           XTS                 BURBANK                   CA
68043   2G61M5S30K9121863   GM           XTS                 GYPSUM                    CO
68044   2G61M5S30K9122043   GM           XTS                 FORT MYERS                FL
68045   2G61M5S30K9122074   GM           XTS                 SARASOTA                  FL
68046   2G61M5S30K9122110   GM           XTS                 SAVANNAH                  GA
68047   2G61M5S30K9122124   GM           XTS                 HAYWARD                   CA
68048   2G61M5S30K9122141   GM           XTS                 LAS VEGAS                 NV
68049   2G61M5S30K9122270   GM           XTS                 JACKSONVILLE              FL
68050   2G61M5S30K9122642   GM           XTS                 TAMPA                     FL
68051   2G61M5S30K9122723   GM           XTS                 ORLANDO                   FL
68052   2G61M5S30K9122771   GM           XTS                 JACKSONVILLE              FL
68053   2G61M5S30K9122785   GM           XTS                 Tolleson                  AZ
68054   2G61M5S30K9122804   GM           XTS                 NEW BERN                  NC
68055   2G61M5S30K9122818   GM           XTS                 BIRMINGHAN                AL
68056   2G61M5S30K9122849   GM           XTS                 WEST PALM BEACH           FL
68057   2G61M5S30K9123063   GM           XTS                 WEST PALM BEACH           FL
68058   2G61M5S30K9123192   GM           XTS                 WARWICK                   RI
68059   2G61M5S30K9123340   GM           XTS                 FT LAUDERDALE             FL
68060   2G61M5S30K9123368   GM           XTS                 ORANGE COUNTY             CA
68061   2G61M5S30K9123371   GM           XTS                 PROVIDENCE                RI
68062   2G61M5S30K9123550   GM           XTS                 BROOKLYN                  NY
68063   2G61M5S30K9123564   GM           XTS                 PORTLAND                  OR
68064   2G61M5S30K9123841   GM           XTS                 Warminster                PA
68065   2G61M5S30K9123872   GM           XTS                 Grove City                OH
68066   2G61M5S30K9124066   GM           XTS                 LAS VEGAS                 NV
68067   2G61M5S30K9124133   GM           XTS                 PHILADELPHIA              PA
68068   2G61M5S30K9124195   GM           XTS                 PORTLAND                  OR
68069   2G61M5S30K9124326   GM           XTS                 SEATAC                    WA
68070   2G61M5S30K9124374   GM           XTS                 FAYETTEVILLE              GA
68071   2G61M5S30K9124424   GM           XTS                 Florissant                MO
68072   2G61M5S30K9124598   GM           XTS                 Fresno                    CA
68073   2G61M5S30K9124634   GM           XTS                 LOS ANGELES               CA
68074   2G61M5S30K9124651   GM           XTS                 Fontana                   CA
68075   2G61M5S30K9124729   GM           XTS                 Burlingame                CA
68076   2G61M5S30K9124813   GM           XTS                 LOS ANGELES               CA
68077   2G61M5S30K9124844   GM           XTS                 Fairburn                  GA
68078   2G61M5S30K9124911   GM           XTS                 KENNER                    LA
68079   2G61M5S30K9125010   GM           XTS                 Hayward                   CA
68080   2G61M5S30K9125119   GM           XTS                 MONTEREY                  CA
68081   2G61M5S30K9125279   GM           XTS                 SAN JOSE                  CA
68082   2G61M5S30K9125315   GM           XTS                 SANTA CLARA               CA
68083   2G61M5S30K9125332   GM           XTS                 Fontana                   CA
68084   2G61M5S30K9125346   GM           XTS                 SAN DIEGO                 CA
68085   2G61M5S30K9125430   GM           XTS                 SAN JOSE                  CA
68086   2G61M5S30K9125511   GM           XTS                 Portland                  OR
68087   2G61M5S30K9125573   GM           XTS                 SALT LAKE CITY            US
68088   2G61M5S30K9125623   GM           XTS                 Riverside                 CA
68089   2G61M5S30K9125749   GM           XTS                 Bordentown                NJ
68090   2G61M5S30K9125816   GM           XTS                 NEWARK                    NJ
68091   2G61M5S30K9125847   GM           XTS                 ST PAUL                   MN
68092   2G61M5S30K9125881   GM           XTS                 RICHMOND                  VA
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68093   2G61M5S30K9126058   GM           XTS                 BURBANK                   CA
68094   2G61M5S30K9126111   GM           XTS                 RONKONKOMA                NY
68095   2G61M5S30K9126173   GM           XTS                 LAS VEGAS                 NV
68096   2G61M5S30K9126240   GM           XTS                 Riverside                 CA
68097   2G61M5S30K9126268   GM           XTS                 LAS VEGAS                 NV
68098   2G61M5S30K9126478   GM           XTS                 DENVER                    CO
68099   2G61M5S30K9126626   GM           XTS                 DETROIT                   MI
68100   2G61M5S30K9126660   GM           XTS                 TULSA                     OK
68101   2G61M5S30K9126688   GM           XTS                 Torrance                  CA
68102   2G61M5S30K9126822   GM           XTS                 Fredericksburg            VA
68103   2G61M5S30K9127226   GM           XTS                 SAINT LOUIS               MO
68104   2G61M5S30K9127310   GM           XTS                 DETROIT                   MI
68105   2G61M5S30K9127534   GM           XTS                 PHILADELPHIA              PA
68106   2G61M5S30K9128019   GM           XTS                 ATLANTA                   GA
68107   2G61M5S30K9128151   GM           XTS                 HARTFORD                  CT
68108   2G61M5S30K9128182   GM           XTS                 NEW YORK CITY             NY
68109   2G61M5S30K9128280   GM           XTS                 WARWICK                   RI
68110   2G61M5S30K9128411   GM           XTS                 WOODLAND HILLS            CA
68111   2G61M5S30K9131390   GM           XTS                 Phoenix                   AZ
68112   2G61M5S30K9131485   GM           XTS                 SANTA FE                  NM
68113   2G61M5S30K9131647   GM           XTS                 SACRAMENTO                CA
68114   2G61M5S30K9131793   GM           XTS                 OAKLAND                   CA
68115   2G61M5S30K9131857   GM           XTS                 ALEXANDRIA                LA
68116   2G61M5S30K9131910   GM           XTS                 BURBANK                   CA
68117   2G61M5S30K9131955   GM           XTS                 LOS ANGELES               CA
68118   2G61M5S30K9132006   GM           XTS                 PALM SPRINGS              CA
68119   2G61M5S30K9132037   GM           XTS                 Norwalk                   CA
68120   2G61M5S30K9132569   GM           XTS                 Riverside                 CA
68121   2G61M5S30K9132782   GM           XTS                 CHICAGO                   IL
68122   2G61M5S30K9133446   GM           XTS                 Atlanta                   GA
68123   2G61M5S30K9134077   GM           XTS                 CLARKSVILLE               IN
68124   2G61M5S30K9134516   GM           XTS                 NEW BERN                  NC
68125   2G61M5S30K9134807   GM           XTS                 TAMPA                     FL
68126   2G61M5S30K9134984   GM           XTS                 SALT LAKE CITY            US
68127   2G61M5S30K9135245   GM           XTS                 ROANOKE                   VA
68128   2G61M5S30K9135262   GM           XTS                 Philadelphia              PA
68129   2G61M5S30K9135889   GM           XTS                 DETROIT                   MI
68130   2G61M5S30K9136119   GM           XTS                 RONKONKOMA                NY
68131   2G61M5S30K9136508   GM           XTS                 SAN ANTONIO               TX
68132   2G61M5S30K9136749   GM           XTS                 STERLING                  VA
68133   2G61M5S31K9116459   GM           XTS                 North Las Vegas           NV
68134   2G61M5S31K9116784   GM           XTS                 Tulsa                     OK
68135   2G61M5S31K9117093   GM           XTS                 BOSTON                    MA
68136   2G61M5S31K9117210   GM           XTS                 Santa Clara               CA
68137   2G61M5S31K9117255   GM           XTS                 Hattiesburg               MS
68138   2G61M5S31K9117286   GM           XTS                 ORLANDO                   FL
68139   2G61M5S31K9117501   GM           XTS                 Atlanta                   GA
68140   2G61M5S31K9117577   GM           XTS                 STERLING                  VA
68141   2G61M5S31K9117692   GM           XTS                 Davie                     FL
68142   2G61M5S31K9117899   GM           XTS                 Hartford                  CT
68143   2G61M5S31K9118020   GM           XTS                 FORT MYERS                FL
68144   2G61M5S31K9118387   GM           XTS                 Milwaukee                 WI
68145   2G61M5S31K9118616   GM           XTS                 STERLING                  VA
68146   2G61M5S31K9118809   GM           XTS                 DETROIT                   MI
68147   2G61M5S31K9119166   GM           XTS                 Riverside                 CA
68148   2G61M5S31K9119443   GM           XTS                 Anaheim                   CA
68149   2G61M5S31K9120298   GM           XTS                 Greensboro                NC
68150   2G61M5S31K9120477   GM           XTS                 PHOENIX                   AZ
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68151   2G61M5S31K9120513   GM           XTS                 JAMAICA                   NY
68152   2G61M5S31K9120527   GM           XTS                 North Dighton             MA
68153   2G61M5S31K9120575   GM           XTS                 FORT MYERS                FL
68154   2G61M5S31K9120639   GM           XTS                 WEST PALM BEACH           FL
68155   2G61M5S31K9120706   GM           XTS                 ORLANDO                   FL
68156   2G61M5S31K9120723   GM           XTS                 Statesville               NC
68157   2G61M5S31K9120818   GM           XTS                 White Plains              NY
68158   2G61M5S31K9120849   GM           XTS                 GREENSBORO                NC
68159   2G61M5S31K9120950   GM           XTS                 FORT MYERS                FL
68160   2G61M5S31K9121015   GM           XTS                 FORT MYERS                FL
68161   2G61M5S31K9121032   GM           XTS                 MIAMI                     FL
68162   2G61M5S31K9121046   GM           XTS                 Houston                   TX
68163   2G61M5S31K9121130   GM           XTS                 BOSTON                    MA
68164   2G61M5S31K9121256   GM           XTS                 SHAKOPEE                  MN
68165   2G61M5S31K9121323   GM           XTS                 PHOENIX                   AZ
68166   2G61M5S31K9121368   GM           XTS                 FORT MYERS                FL
68167   2G61M5S31K9121578   GM           XTS                 HARTFORD                  CT
68168   2G61M5S31K9121659   GM           XTS                 PHILADELPHIA              PA
68169   2G61M5S31K9121709   GM           XTS                 BOSTON                    MA
68170   2G61M5S31K9121841   GM           XTS                 FORT LAUDERDALE           FL
68171   2G61M5S31K9121855   GM           XTS                 Atlanta                   GA
68172   2G61M5S31K9121936   GM           XTS                 Davie                     FL
68173   2G61M5S31K9122052   GM           XTS                 TAMPA                     FL
68174   2G61M5S31K9122066   GM           XTS                 RALEIGH                   NC
68175   2G61M5S31K9122200   GM           XTS                 SAVANNAH                  GA
68176   2G61M5S31K9122245   GM           XTS                 GOLDSBORO                 NC
68177   2G61M5S31K9122259   GM           XTS                 Costa Mesa                CA
68178   2G61M5S31K9122276   GM           XTS                 FORT MYERS                FL
68179   2G61M5S31K9122357   GM           XTS                 PLEASANTON                CA
68180   2G61M5S31K9122522   GM           XTS                 FORT MYERS                FL
68181   2G61M5S31K9122536   GM           XTS                 Lake Elsinore             CA
68182   2G61M5S31K9122570   GM           XTS                 CHARLOTTE                 NC
68183   2G61M5S31K9122584   GM           XTS                 FORT LAUDERDALE           FL
68184   2G61M5S31K9122598   GM           XTS                 ORLANDO                   FL
68185   2G61M5S31K9122648   GM           XTS                 KNOXVILLE                 TN
68186   2G61M5S31K9122679   GM           XTS                 LOS ANGELES               CA
68187   2G61M5S31K9122844   GM           XTS                 LAS VEGAS                 NV
68188   2G61M5S31K9123024   GM           XTS                 Atlanta                   GA
68189   2G61M5S31K9123248   GM           XTS                 ORLANDO                   FL
68190   2G61M5S31K9123301   GM           XTS                 PHOENIX                   AZ
68191   2G61M5S31K9123525   GM           XTS                 CHARLOTTE                 NC
68192   2G61M5S31K9123573   GM           XTS                 BURBANK                   CA
68193   2G61M5S31K9123721   GM           XTS                 SOUTHEAST DST OFFC        OK
68194   2G61M5S31K9123797   GM           XTS                 CHICAGO                   IL
68195   2G61M5S31K9123816   GM           XTS                 LOS ANGELES               CA
68196   2G61M5S31K9124156   GM           XTS                 FORT MYERS                FL
68197   2G61M5S31K9124335   GM           XTS                 Mt. Juliet                TN
68198   2G61M5S31K9124366   GM           XTS                 CLEVELAND                 OH
68199   2G61M5S31K9124710   GM           XTS                 BLOOMINGTON               IL
68200   2G61M5S31K9124738   GM           XTS                 OAKLAND                   CA
68201   2G61M5S31K9124934   GM           XTS                 Tolleson                  AZ
68202   2G61M5S31K9124965   GM           XTS                 SACRAMENTO                CA
68203   2G61M5S31K9125050   GM           XTS                 Warr Acres                OK
68204   2G61M5S31K9125081   GM           XTS                 SAN JOSE                  CA
68205   2G61M5S31K9125193   GM           XTS                 San Diego                 CA
68206   2G61M5S31K9125257   GM           XTS                 PALM SPRINGS              CA
68207   2G61M5S31K9125291   GM           XTS                 LAS VEGAS                 NV
68208   2G61M5S31K9125422   GM           XTS                 SAN DIEGO                 CA
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68209   2G61M5S31K9125436   GM           XTS                 SAINT PAUL                MN
68210   2G61M5S31K9125534   GM           XTS                 SANTA ANA                 CA
68211   2G61M5S31K9125775   GM           XTS                 GRAND RAPIDS              MI
68212   2G61M5S31K9125887   GM           XTS                 SACRAMENTO                CA
68213   2G61M5S31K9126022   GM           XTS                 CHARLOTTE                 NC
68214   2G61M5S31K9126098   GM           XTS                 LOS ANGELES               CA
68215   2G61M5S31K9126375   GM           XTS                 BURBANK                   CA
68216   2G61M5S31K9126389   GM           XTS                 KANSAS CITY               MO
68217   2G61M5S31K9126411   GM           XTS                 LOS ANGELES               CA
68218   2G61M5S31K9126604   GM           XTS                 Greensboro                NC
68219   2G61M5S31K9126652   GM           XTS                 LAS VEGAS                 NV
68220   2G61M5S31K9126716   GM           XTS                 WARWICK                   RI
68221   2G61M5S31K9126828   GM           XTS                 PHILADELPHIA              PA
68222   2G61M5S31K9126943   GM           XTS                 DENVER                    CO
68223   2G61M5S31K9126991   GM           XTS                 TULSA                     OK
68224   2G61M5S31K9127011   GM           XTS                 SAINT PAUL                MN
68225   2G61M5S31K9127073   GM           XTS                 SAINT LOUIS               MO
68226   2G61M5S31K9127140   GM           XTS                 MIAMI                     FL
68227   2G61M5S31K9127400   GM           XTS                 Atlanta                   GA
68228   2G61M5S31K9127557   GM           XTS                 Detroit                   MI
68229   2G61M5S31K9127719   GM           XTS                 Houston                   TX
68230   2G61M5S31K9127770   GM           XTS                 WHITE PLAINS              NY
68231   2G61M5S31K9128272   GM           XTS                 EULESS                    TX
68232   2G61M5S31K9128479   GM           XTS                 NEW YORK CITY             NY
68233   2G61M5S31K9131477   GM           XTS                 BURBANK                   CA
68234   2G61M5S31K9131561   GM           XTS                 Des Moines                IA
68235   2G61M5S31K9131821   GM           XTS                 TUCSON                    AZ
68236   2G61M5S31K9131852   GM           XTS                 LOS ANGELES               CA
68237   2G61M5S31K9132225   GM           XTS                 SACRAMENTO                CA
68238   2G61M5S31K9132337   GM           XTS                 SEATAC                    WA
68239   2G61M5S31K9132371   GM           XTS                 PHOENIX                   AZ
68240   2G61M5S31K9132466   GM           XTS                 Portland                  OR
68241   2G61M5S31K9132497   GM           XTS                 PORTLAND                  OR
68242   2G61M5S31K9132600   GM           XTS                 SAN JOSE                  CA
68243   2G61M5S31K9132760   GM           XTS                 Riverside                 CA
68244   2G61M5S31K9133181   GM           XTS                 DALLAS                    TX
68245   2G61M5S31K9133276   GM           XTS                 GRAND RAPIDS              MI
68246   2G61M5S31K9133777   GM           XTS                 PHILADELPHIA              PA
68247   2G61M5S31K9134122   GM           XTS                 DES MOINES                IA
68248   2G61M5S31K9134217   GM           XTS                 MIAMI                     FL
68249   2G61M5S31K9134654   GM           XTS                 ATLANTA                   GA
68250   2G61M5S31K9134721   GM           XTS                 Detroit                   MI
68251   2G61M5S31K9134783   GM           XTS                 SOUTHEAST DST OFFC        OK
68252   2G61M5S31K9134931   GM           XTS                 PROVIDENCE                RI
68253   2G61M5S31K9136128   GM           XTS                 BOISE                     US
68254   2G61M5S31K9136291   GM           XTS                 Slidell                   LA
68255   2G61M5S31K9136565   GM           XTS                 PHILADELPHIA              PA
68256   2G61M5S31K9136808   GM           XTS                 Riverside                 CA
68257   2G61M5S31K9138641   GM           XTS                 Salt Lake City            UT
68258   2G61M5S31K9143256   GM           XTS                 DFW AIRPORT               TX
68259   2G61M5S32K9116003   GM           XTS                 SALT LAKE CITY            UT
68260   2G61M5S32K9116633   GM           XTS                 North Las Vegas           NV
68261   2G61M5S32K9116874   GM           XTS                 Slidell                   LA
68262   2G61M5S32K9117197   GM           XTS                 Manheim                   PA
68263   2G61M5S32K9117264   GM           XTS                 HOUSTON                   TX
68264   2G61M5S32K9117281   GM           XTS                 LUBBOCK                   TX
68265   2G61M5S32K9117541   GM           XTS                 SARASOTA                  FL
68266   2G61M5S32K9117782   GM           XTS                 DURHAM                    NC
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68267   2G61M5S32K9117801   GM           XTS                 PORTLAND                  ME
68268   2G61M5S32K9117913   GM           XTS                 Warwick                   RI
68269   2G61M5S32K9117930   GM           XTS                 Manheim                   PA
68270   2G61M5S32K9117958   GM           XTS                 PHILADELPHIA              PA
68271   2G61M5S32K9118074   GM           XTS                 North Dighton             MA
68272   2G61M5S32K9118155   GM           XTS                 DALLAS                    TX
68273   2G61M5S32K9118320   GM           XTS                 DARLINGTON                SC
68274   2G61M5S32K9118334   GM           XTS                 WEST PALM BEACH           FL
68275   2G61M5S32K9118379   GM           XTS                 DETROIT                   MI
68276   2G61M5S32K9118575   GM           XTS                 JAMAICA                   NY
68277   2G61M5S32K9118897   GM           XTS                 CLEVELAND                 OH
68278   2G61M5S32K9119337   GM           XTS                 ALBANY                    N
68279   2G61M5S32K9119807   GM           XTS                 HARTFORD                  CT
68280   2G61M5S32K9119953   GM           XTS                 PHILADELPHIA              PA
68281   2G61M5S32K9120424   GM           XTS                 Philadelphia              PA
68282   2G61M5S32K9120522   GM           XTS                 WEST PALM BEACH           FL
68283   2G61M5S32K9120603   GM           XTS                 FORT LAUDERDALE           FL
68284   2G61M5S32K9120634   GM           XTS                 Bordentown                NJ
68285   2G61M5S32K9120794   GM           XTS                 NEW YORK CITY             NY
68286   2G61M5S32K9120861   GM           XTS                 FORT MYERS                FL
68287   2G61M5S32K9120889   GM           XTS                 FORT MYERS                FL
68288   2G61M5S32K9120911   GM           XTS                 ALLENTOWN                 US
68289   2G61M5S32K9120925   GM           XTS                 RALEIGH                   NC
68290   2G61M5S32K9121220   GM           XTS                 UNION CITY                GA
68291   2G61M5S32K9121301   GM           XTS                 Hebron                    KY
68292   2G61M5S32K9121377   GM           XTS                 MIAMI                     FL
68293   2G61M5S32K9121427   GM           XTS                 STERLING                  VA
68294   2G61M5S32K9121508   GM           XTS                 PHILADELPHIA              PA
68295   2G61M5S32K9121640   GM           XTS                 FORT LAUDERDALE           FL
68296   2G61M5S32K9121721   GM           XTS                 STERLING                  VA
68297   2G61M5S32K9121878   GM           XTS                 CHICAGO                   IL
68298   2G61M5S32K9121962   GM           XTS                 DENVER                    CO
68299   2G61M5S32K9122013   GM           XTS                 DALLAS                    TX
68300   2G61M5S32K9122058   GM           XTS                 PHOENIX                   AZ
68301   2G61M5S32K9122108   GM           XTS                 JACKSONVILLE              FL
68302   2G61M5S32K9122139   GM           XTS                 NORFOLK                   VA
68303   2G61M5S32K9122190   GM           XTS                 FORT LAUDERDALE           FL
68304   2G61M5S32K9122285   GM           XTS                 FORT LAUDERDALE           FL
68305   2G61M5S32K9122433   GM           XTS                 ONTARIO                   CA
68306   2G61M5S32K9122478   GM           XTS                 SAN JOSE                  CA
68307   2G61M5S32K9122576   GM           XTS                 ORLANDO                   FL
68308   2G61M5S32K9122612   GM           XTS                 FORT MYERS                FL
68309   2G61M5S32K9122741   GM           XTS                 BURBANK                   CA
68310   2G61M5S32K9122769   GM           XTS                 LOS ANGELES               CA
68311   2G61M5S32K9122867   GM           XTS                 Denver                    CO
68312   2G61M5S32K9122917   GM           XTS                 SAN JOSE                  CA
68313   2G61M5S32K9122951   GM           XTS                 FORT LAUDERDALE           FL
68314   2G61M5S32K9123114   GM           XTS                 BOSTON                    MA
68315   2G61M5S32K9123145   GM           XTS                 TRACY                     CA
68316   2G61M5S32K9123209   GM           XTS                 PITTSBURGH                PA
68317   2G61M5S32K9123338   GM           XTS                 CHARLESTON                WV
68318   2G61M5S32K9123453   GM           XTS                 WEST PALM BEACH           FL
68319   2G61M5S32K9123534   GM           XTS                 LOS ANGELES               CA
68320   2G61M5S32K9123761   GM           XTS                 Fontana                   CA
68321   2G61M5S32K9123775   GM           XTS                 Fresno                    CA
68322   2G61M5S32K9123839   GM           XTS                 ATLANTA                   GA
68323   2G61M5S32K9123985   GM           XTS                 ORLANDO                   FL
68324   2G61M5S32K9123999   GM           XTS                 Fontana                   CA
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68325   2G61M5S32K9124103   GM           XTS                 KNOXVILLE                 TN
68326   2G61M5S32K9124117   GM           XTS                 Bensalem                  PA
68327   2G61M5S32K9124165   GM           XTS                 SEATAC                    WA
68328   2G61M5S32K9124182   GM           XTS                 Sacramento                CA
68329   2G61M5S32K9124313   GM           XTS                 PHILADELPHIA              US
68330   2G61M5S32K9124411   GM           XTS                 WEST PALM BEACH           FL
68331   2G61M5S32K9124568   GM           XTS                 SEATAC                    WA
68332   2G61M5S32K9124604   GM           XTS                 FORT LAUDERDALE           FL
68333   2G61M5S32K9124683   GM           XTS                 SAN JOSE                  CA
68334   2G61M5S32K9124750   GM           XTS                 OAKLAND                   CA
68335   2G61M5S32K9124795   GM           XTS                 LAS VEGAS                 NV
68336   2G61M5S32K9124893   GM           XTS                 MONTGOMERY                AL
68337   2G61M5S32K9124909   GM           XTS                 SEATAC                    WA
68338   2G61M5S32K9125185   GM           XTS                 LOS ANGELES               CA
68339   2G61M5S32K9125204   GM           XTS                 Roseville                 CA
68340   2G61M5S32K9125235   GM           XTS                 SEATAC                    WA
68341   2G61M5S32K9125364   GM           XTS                 LAS VEGAS                 NV
68342   2G61M5S32K9125381   GM           XTS                 SEATAC                    WA
68343   2G61M5S32K9125428   GM           XTS                 PORTLAND                  OR
68344   2G61M5S32K9125672   GM           XTS                 PHILADELPHIA              PA
68345   2G61M5S32K9125719   GM           XTS                 Norwalk                   CA
68346   2G61M5S32K9125803   GM           XTS                 SAINT PAUL                MN
68347   2G61M5S32K9125932   GM           XTS                 Teterboro                 NJ
68348   2G61M5S32K9125977   GM           XTS                 Fresno                    CA
68349   2G61M5S32K9125994   GM           XTS                 PHOENIX                   AZ
68350   2G61M5S32K9126014   GM           XTS                 STERLING                  VA
68351   2G61M5S32K9126028   GM           XTS                 Jacksonville              FL
68352   2G61M5S32K9126238   GM           XTS                 LOS ANGELES AP            CA
68353   2G61M5S32K9126272   GM           XTS                 BURBANK                   CA
68354   2G61M5S32K9126417   GM           XTS                 Phoenix                   AZ
68355   2G61M5S32K9126577   GM           XTS                 SACRAMENTO                CA
68356   2G61M5S32K9126658   GM           XTS                 Riverside                 CA
68357   2G61M5S32K9126675   GM           XTS                 GRAND RAPIDS              MI
68358   2G61M5S32K9126773   GM           XTS                 NEWARK                    NJ
68359   2G61M5S32K9126904   GM           XTS                 MELROSE PARK              IL
68360   2G61M5S32K9127213   GM           XTS                 BALTIMORE                 MD
68361   2G61M5S32K9127230   GM           XTS                 LOS ANGELES AP            CA
68362   2G61M5S32K9127275   GM           XTS                 PITTSBURGH                PA
68363   2G61M5S32K9127440   GM           XTS                 MIAMI                     FL
68364   2G61M5S32K9127521   GM           XTS                 HOUSTON                   TX
68365   2G61M5S32K9127728   GM           XTS                 DES MOINES                IA
68366   2G61M5S32K9127776   GM           XTS                 PORTLAND                  ME
68367   2G61M5S32K9127809   GM           XTS                 PHILADELPHIA              PA
68368   2G61M5S32K9127860   GM           XTS                 NEWARK                    NJ
68369   2G61M5S32K9127938   GM           XTS                 WICHITA FALLS             TX
68370   2G61M5S32K9128023   GM           XTS                 BOSTON                    MA
68371   2G61M5S32K9128068   GM           XTS                 MELROSE PARK              IL
68372   2G61M5S32K9128393   GM           XTS                 Fredericksburg            VA
68373   2G61M5S32K9131505   GM           XTS                 LOS ANGELES               CA
68374   2G61M5S32K9131584   GM           XTS                 FEDERAL WAY               WA
68375   2G61M5S32K9131746   GM           XTS                 INGLEWOOD                 CA
68376   2G61M5S32K9131861   GM           XTS                 ONTARIO                   CA
68377   2G61M5S32K9132055   GM           XTS                 LAS VEGAS                 NV
68378   2G61M5S32K9132198   GM           XTS                 ONTARIO                   CA
68379   2G61M5S32K9132430   GM           XTS                 KENNER                    LA
68380   2G61M5S32K9132573   GM           XTS                 Davie                     FL
68381   2G61M5S32K9132587   GM           XTS                 SEATTLE                   WA
68382   2G61M5S32K9132654   GM           XTS                 DENVER                    CO
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68383   2G61M5S32K9133318   GM           XTS                 SANTA ANA                 CA
68384   2G61M5S32K9133464   GM           XTS                 LAS VEGAS                 NV
68385   2G61M5S32K9133593   GM           XTS                 WEST PALM BEACH           FL
68386   2G61M5S32K9133710   GM           XTS                 Atlanta                   GA
68387   2G61M5S32K9133769   GM           XTS                 HEBRON                    KY
68388   2G61M5S32K9134257   GM           XTS                 SALT LAKE CITY            UT
68389   2G61M5S32K9135408   GM           XTS                 Lynn                      MA
68390   2G61M5S32K9135876   GM           XTS                 BOSTON                    MA
68391   2G61M5S32K9135912   GM           XTS                 DENVER                    CO
68392   2G61M5S32K9136316   GM           XTS                 HOUSTON                   TX
68393   2G61M5S32K9138860   GM           XTS                 HOUSTON                   TX
68394   2G61M5S32K9139040   GM           XTS                 SALT LAKE CITY            US
68395   2G61M5S32K9139507   GM           XTS                 Warr Acres                OK
68396   2G61M5S33H9141758   GM           XTS                 LOS ANGELES               CA
68397   2G61M5S33K9116155   GM           XTS                 DENVER                    CO
68398   2G61M5S33K9116947   GM           XTS                 Sterling                  VA
68399   2G61M5S33K9117158   GM           XTS                 NEWARK                    NJ
68400   2G61M5S33K9117564   GM           XTS                 Orlando                   FL
68401   2G61M5S33K9117614   GM           XTS                 Teterboro                 NJ
68402   2G61M5S33K9117807   GM           XTS                 Statesville               NC
68403   2G61M5S33K9117869   GM           XTS                 Atlanta                   GA
68404   2G61M5S33K9117886   GM           XTS                 North Dighton             MA
68405   2G61M5S33K9118147   GM           XTS                 RICHMOND                  VA
68406   2G61M5S33K9118407   GM           XTS                 Teterboro                 NJ
68407   2G61M5S33K9118830   GM           XTS                 EL PASO                   TX
68408   2G61M5S33K9118987   GM           XTS                 CHARLOTTE                 NC
68409   2G61M5S33K9119055   GM           XTS                 San Diego                 CA
68410   2G61M5S33K9119248   GM           XTS                 GRAND RAPIDS              MI
68411   2G61M5S33K9119749   GM           XTS                 TAMPA                     FL
68412   2G61M5S33K9119766   GM           XTS                 LOS ANGELES               CA
68413   2G61M5S33K9120240   GM           XTS                 MIAMI                     FL
68414   2G61M5S33K9120710   GM           XTS                 FT LAUDERDALE             US
68415   2G61M5S33K9120898   GM           XTS                 WEST PALM BEACH           FL
68416   2G61M5S33K9120917   GM           XTS                 KNOXVILLE                 TN
68417   2G61M5S33K9120965   GM           XTS                 WEST PALM BEACH           FL
68418   2G61M5S33K9121078   GM           XTS                 MIAMI                     FL
68419   2G61M5S33K9121288   GM           XTS                 CHICAGO                   IL
68420   2G61M5S33K9121338   GM           XTS                 TAMPA                     FL
68421   2G61M5S33K9121372   GM           XTS                 JACKSONVILLE              FL
68422   2G61M5S33K9121470   GM           XTS                 FORT LAUDERDALE           FL
68423   2G61M5S33K9121498   GM           XTS                 Davie                     FL
68424   2G61M5S33K9121663   GM           XTS                 FORT MYERS                FL
68425   2G61M5S33K9121789   GM           XTS                 SAN FRANCISCO             CA
68426   2G61M5S33K9121906   GM           XTS                 RALEIGH                   NC
68427   2G61M5S33K9121968   GM           XTS                 WEST PALM BEACH           FL
68428   2G61M5S33K9122022   GM           XTS                 MIAMI                     FL
68429   2G61M5S33K9122375   GM           XTS                 LAS VEGAS                 NV
68430   2G61M5S33K9122554   GM           XTS                 JACKSONVILLE              FL
68431   2G61M5S33K9122781   GM           XTS                 LAS VEGAS                 NV
68432   2G61M5S33K9122909   GM           XTS                 Philadelphia              PA
68433   2G61M5S33K9123140   GM           XTS                 PENSACOLA                 FL
68434   2G61M5S33K9123297   GM           XTS                 Elkridge                  MD
68435   2G61M5S33K9123316   GM           XTS                 ORLANDO                   FL
68436   2G61M5S33K9123333   GM           XTS                 PENSACOLA                 FL
68437   2G61M5S33K9123414   GM           XTS                 TULSA                     OK
68438   2G61M5S33K9123560   GM           XTS                 JACKSONVILLE              FL
68439   2G61M5S33K9123591   GM           XTS                 MYRTLE BEACH              SC
68440   2G61M5S33K9123607   GM           XTS                 PHOENIX                   AZ
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68441   2G61M5S33K9123977   GM           XTS                 JAMAICA                   NY
68442   2G61M5S33K9124028   GM           XTS                 Anaheim                   CA
68443   2G61M5S33K9124059   GM           XTS                 NASHVILLE                 TN
68444   2G61M5S33K9124238   GM           XTS                 BOSTON                    MA
68445   2G61M5S33K9124286   GM           XTS                 DENVER                    CO
68446   2G61M5S33K9124417   GM           XTS                 PASCO                     WA
68447   2G61M5S33K9124675   GM           XTS                 FRESNO                    CA
68448   2G61M5S33K9124742   GM           XTS                 Rockville Centr           NY
68449   2G61M5S33K9125034   GM           XTS                 SAN DIEGO                 CA
68450   2G61M5S33K9125230   GM           XTS                 Riverside                 CA
68451   2G61M5S33K9125289   GM           XTS                 ORANGE COUNTY             CA
68452   2G61M5S33K9125311   GM           XTS                 Boise                     ID
68453   2G61M5S33K9125356   GM           XTS                 SAN ANTONIO               TX
68454   2G61M5S33K9125440   GM           XTS                 Morrisville               NC
68455   2G61M5S33K9125454   GM           XTS                 Norfolk                   VA
68456   2G61M5S33K9125650   GM           XTS                 ELMHURST                  IL
68457   2G61M5S33K9125745   GM           XTS                 PORTLAND                  OR
68458   2G61M5S33K9125891   GM           XTS                 SANTA BARBARA             CA
68459   2G61M5S33K9125924   GM           XTS                 LAS VEGAS                 NV
68460   2G61M5S33K9126006   GM           XTS                 Los Angeles               CA
68461   2G61M5S33K9126037   GM           XTS                 LAS VEGAS                 NV
68462   2G61M5S33K9126118   GM           XTS                 BOISE                     ID
68463   2G61M5S33K9126264   GM           XTS                 CHARLOTTESVILLE           VA
68464   2G61M5S33K9126295   GM           XTS                 DETROIT                   MI
68465   2G61M5S33K9126328   GM           XTS                 SAN JOSE                  CA
68466   2G61M5S33K9126359   GM           XTS                 LOUISVILLE                KY
68467   2G61M5S33K9126491   GM           XTS                 KNOXVILLE                 TN
68468   2G61M5S33K9126507   GM           XTS                 SYRACUSE                  NY
68469   2G61M5S33K9126538   GM           XTS                 JACKSONVILLE              FL
68470   2G61M5S33K9126670   GM           XTS                 WEST PALM BEACH           FL
68471   2G61M5S33K9126720   GM           XTS                 JACKSON                   MS
68472   2G61M5S33K9126796   GM           XTS                 North Dighton             MA
68473   2G61M5S33K9126961   GM           XTS                 LOS ANGELES               CA
68474   2G61M5S33K9127009   GM           XTS                 SAN JOSE                  CA
68475   2G61M5S33K9127253   GM           XTS                 CHICAGO                   IL
68476   2G61M5S33K9127334   GM           XTS                 TAMPA                     FL
68477   2G61M5S33K9127527   GM           XTS                 NEW BERN                  NC
68478   2G61M5S33K9127754   GM           XTS                 SAINT PAUL                MN
68479   2G61M5S33K9127785   GM           XTS                 Cranberry Towns           PA
68480   2G61M5S33K9128256   GM           XTS                 NEWARK                    NJ
68481   2G61M5S33K9128421   GM           XTS                 NASHVILLE                 TN
68482   2G61M5S33K9128581   GM           XTS                 PHILADELPHIA              PA
68483   2G61M5S33K9131481   GM           XTS                 LOS ANGELES               CA
68484   2G61M5S33K9131738   GM           XTS                 LOS ANGELES               CA
68485   2G61M5S33K9131755   GM           XTS                 WOODLAND HILLS            CA
68486   2G61M5S33K9131836   GM           XTS                 Hayward                   CA
68487   2G61M5S33K9131979   GM           XTS                 PORTLAND                  OR
68488   2G61M5S33K9132100   GM           XTS                 KANSAS CITY               MO
68489   2G61M5S33K9132369   GM           XTS                 SANTA ANA                 CA
68490   2G61M5S33K9132484   GM           XTS                 BURLINGAME                CA
68491   2G61M5S33K9133246   GM           XTS                 LOS ANGELES               CA
68492   2G61M5S33K9133456   GM           XTS                 Fresno                    CA
68493   2G61M5S33K9133666   GM           XTS                 CLEVELAND                 OH
68494   2G61M5S33K9133781   GM           XTS                 Cleveland                 OH
68495   2G61M5S33K9133974   GM           XTS                 WEST PALM BEACH           FL
68496   2G61M5S33K9134199   GM           XTS                 North Dighton             MA
68497   2G61M5S33K9135188   GM           XTS                 PROVIDENCE                RI
68498   2G61M5S33K9135949   GM           XTS                 PHOENIX                   AZ
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68499   2G61M5S33K9136700   GM           XTS                 KENNER                    LA
68500   2G61M5S33K9137328   GM           XTS                 DFW AIRPORT               TX
68501   2G61M5S33K9138639   GM           XTS                 ORLANDO                   FL
68502   2G61M5S33K9140293   GM           XTS                 Ocoee                     FL
68503   2G61M5S33K9144893   GM           XTS                 Kansas City               MO
68504   2G61M5S34J9171115   GM           XTS                 CHICAGO                   IL
68505   2G61M5S34K9115967   GM           XTS                 TAMPA                     FL
68506   2G61M5S34K9116231   GM           XTS                 Aurora                    CO
68507   2G61M5S34K9116617   GM           XTS                 PHOENIX                   AZ
68508   2G61M5S34K9116777   GM           XTS                 ATLANTA                   GA
68509   2G61M5S34K9116844   GM           XTS                 DENVER                    CO
68510   2G61M5S34K9116939   GM           XTS                 Denver                    CO
68511   2G61M5S34K9117184   GM           XTS                 Pompano Beach             FL
68512   2G61M5S34K9117315   GM           XTS                 Atlanta                   GA
68513   2G61M5S34K9117363   GM           XTS                 LUBBOCK                   TX
68514   2G61M5S34K9117489   GM           XTS                 Kansas City               MO
68515   2G61M5S34K9117668   GM           XTS                 Hebron                    KY
68516   2G61M5S34K9117766   GM           XTS                 HOUSTON                   TX
68517   2G61M5S34K9117881   GM           XTS                 FRESNO                    CA
68518   2G61M5S34K9118092   GM           XTS                 Bensalem                  PA
68519   2G61M5S34K9118383   GM           XTS                 CLEVELAND                 OH
68520   2G61M5S34K9118416   GM           XTS                 GREENVILLE                NC
68521   2G61M5S34K9118447   GM           XTS                 MIAMI                     FL
68522   2G61M5S34K9118464   GM           XTS                 Atlanta                   GA
68523   2G61M5S34K9118500   GM           XTS                 MIAMI                     FL
68524   2G61M5S34K9118674   GM           XTS                 North Dighton             MA
68525   2G61M5S34K9118691   GM           XTS                 ORLANDO                   FL
68526   2G61M5S34K9118805   GM           XTS                 NEWARK                    NJ
68527   2G61M5S34K9119176   GM           XTS                 Lake Elsinore             CA
68528   2G61M5S34K9119842   GM           XTS                 Riverside                 CA
68529   2G61M5S34K9119890   GM           XTS                 LUBBOCK                   TX
68530   2G61M5S34K9120294   GM           XTS                 Anaheim                   CA
68531   2G61M5S34K9120375   GM           XTS                 SARASOTA                  FL
68532   2G61M5S34K9120554   GM           XTS                 KNOXVILLE                 TN
68533   2G61M5S34K9120781   GM           XTS                 ATLANTA                   GA
68534   2G61M5S34K9120800   GM           XTS                 MONTGOMERY                AL
68535   2G61M5S34K9120893   GM           XTS                 Davie                     FL
68536   2G61M5S34K9121042   GM           XTS                 ORLANDO                   FL
68537   2G61M5S34K9121140   GM           XTS                 Elkridge                  MD
68538   2G61M5S34K9121168   GM           XTS                 Ocoee                     FL
68539   2G61M5S34K9121235   GM           XTS                 Austin                    TX
68540   2G61M5S34K9121364   GM           XTS                 Morrisville               NC
68541   2G61M5S34K9121381   GM           XTS                 Milwaukee                 WI
68542   2G61M5S34K9121610   GM           XTS                 NEWARK                    NJ
68543   2G61M5S34K9121624   GM           XTS                 FORT MYERS                FL
68544   2G61M5S34K9121638   GM           XTS                 WEST PALM BEACH           FL
68545   2G61M5S34K9121669   GM           XTS                 CHICAGO                   IL
68546   2G61M5S34K9121719   GM           XTS                 NEW BERN                  NC
68547   2G61M5S34K9121817   GM           XTS                 OGDEN                     UT
68548   2G61M5S34K9121820   GM           XTS                 ORLANDO                   FL
68549   2G61M5S34K9121865   GM           XTS                 KNOXVILLE                 TN
68550   2G61M5S34K9122112   GM           XTS                 NEW BERN                  NC
68551   2G61M5S34K9122143   GM           XTS                 MIAMI                     FL
68552   2G61M5S34K9122174   GM           XTS                 FORT MYERS                FL
68553   2G61M5S34K9122224   GM           XTS                 MIAMI                     FL
68554   2G61M5S34K9122319   GM           XTS                 FORT LAUDERDALE           FL
68555   2G61M5S34K9122322   GM           XTS                 LOS ANGELES               CA
68556   2G61M5S34K9122353   GM           XTS                 MIAMI                     FL
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68557   2G61M5S34K9122370   GM           XTS                 JACKSONVILLE              FL
68558   2G61M5S34K9122398   GM           XTS                 WEST PALM BEACH           FL
68559   2G61M5S34K9122417   GM           XTS                 FORT MYERS                FL
68560   2G61M5S34K9122501   GM           XTS                 SEATTLE                   WA
68561   2G61M5S34K9122594   GM           XTS                 MIAMI                     FL
68562   2G61M5S34K9122630   GM           XTS                 LOS ANGELES               CA
68563   2G61M5S34K9122658   GM           XTS                 GREENVILLE                NC
68564   2G61M5S34K9122711   GM           XTS                 DETROIT                   MI
68565   2G61M5S34K9122739   GM           XTS                 LAS VEGAS                 NV
68566   2G61M5S34K9122773   GM           XTS                 WEST PALM BEACH           FL
68567   2G61M5S34K9122787   GM           XTS                 KEY WEST                  FL
68568   2G61M5S34K9123003   GM           XTS                 NEWARK                    NY
68569   2G61M5S34K9123163   GM           XTS                 Hamilton                  OH
68570   2G61M5S34K9123180   GM           XTS                 PHILADELPHIA              PA
68571   2G61M5S34K9123311   GM           XTS                 PHOENIX                   AZ
68572   2G61M5S34K9123521   GM           XTS                 SAN JOSE                  CA
68573   2G61M5S34K9123731   GM           XTS                 DENVER                    CO
68574   2G61M5S34K9123793   GM           XTS                 STERLING                  VA
68575   2G61M5S34K9123874   GM           XTS                 HANOVER                   MD
68576   2G61M5S34K9123955   GM           XTS                 FORT MYERS                FL
68577   2G61M5S34K9124068   GM           XTS                 ATLANTA                   GA
68578   2G61M5S34K9124264   GM           XTS                 RENO                      NV
68579   2G61M5S34K9124362   GM           XTS                 SEATAC                    WA
68580   2G61M5S34K9124426   GM           XTS                 Tolleson                  AZ
68581   2G61M5S34K9124510   GM           XTS                 FORT LAUDERDALE           FL
68582   2G61M5S34K9124555   GM           XTS                 LOS ANGELES               CA
68583   2G61M5S34K9124720   GM           XTS                 LAS VEGAS                 NV
68584   2G61M5S34K9124832   GM           XTS                 PHOENIX                   AZ
68585   2G61M5S34K9124846   GM           XTS                 San Francisco             CA
68586   2G61M5S34K9124877   GM           XTS                 LOS ANGELES               CA
68587   2G61M5S34K9124913   GM           XTS                 Fresno                    CA
68588   2G61M5S34K9124975   GM           XTS                 PLEASANTON                CA
68589   2G61M5S34K9125012   GM           XTS                 LOS ANGELES               CA
68590   2G61M5S34K9125379   GM           XTS                 LOS ANGELES               CA
68591   2G61M5S34K9125396   GM           XTS                 Atlanta                   GA
68592   2G61M5S34K9125401   GM           XTS                 LAS VEGAS                 NV
68593   2G61M5S34K9125527   GM           XTS                 PALM SPRINGS              CA
68594   2G61M5S34K9125561   GM           XTS                 Atlanta                   GA
68595   2G61M5S34K9125592   GM           XTS                 NEWARK                    NJ
68596   2G61M5S34K9125625   GM           XTS                 SACRAMENTO                CA
68597   2G61M5S34K9125642   GM           XTS                 West Bountiful            UT
68598   2G61M5S34K9125687   GM           XTS                 SAN FRANCISCO             CA
68599   2G61M5S34K9125690   GM           XTS                 SACRAMENTO                CA
68600   2G61M5S34K9125883   GM           XTS                 BURBANK                   CA
68601   2G61M5S34K9125964   GM           XTS                 BOSTON                    MA
68602   2G61M5S34K9125981   GM           XTS                 Aurora                    CO
68603   2G61M5S34K9126077   GM           XTS                 PHILADELPHIA              PA
68604   2G61M5S34K9126094   GM           XTS                 Omaha                     NE
68605   2G61M5S34K9126113   GM           XTS                 PHILADELPHIA              PA
68606   2G61M5S34K9126287   GM           XTS                 LOUISVILLE                KY
68607   2G61M5S34K9126385   GM           XTS                 North Dighton             MA
68608   2G61M5S34K9126421   GM           XTS                 WILMINGTON                NC
68609   2G61M5S34K9126628   GM           XTS                 Manheim                   PA
68610   2G61M5S34K9126726   GM           XTS                 STERLING                  VA
68611   2G61M5S34K9126788   GM           XTS                 Manheim                   PA
68612   2G61M5S34K9126953   GM           XTS                 FORT MYERS                FL
68613   2G61M5S34K9126984   GM           XTS                 North Dighton             MA
68614   2G61M5S34K9127228   GM           XTS                 NEW YORK CITY             NY
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68615   2G61M5S34K9127410   GM           XTS                 SAN FRANCISCO             CA
68616   2G61M5S34K9127438   GM           XTS                 North Dighton             MA
68617   2G61M5S34K9127519   GM           XTS                 NEW YORK CITY             NY
68618   2G61M5S34K9127844   GM           XTS                 FOND DU LAC               WI
68619   2G61M5S34K9127858   GM           XTS                 Des Moines                IA
68620   2G61M5S34K9127942   GM           XTS                 INDIANAPOLIS              IN
68621   2G61M5S34K9131523   GM           XTS                 INGLEWOOD                 CA
68622   2G61M5S34K9132039   GM           XTS                 WEST PALM BEACH           FL
68623   2G61M5S34K9132400   GM           XTS                 SAN DIEGO                 CA
68624   2G61M5S34K9132414   GM           XTS                 Los Angeles               CA
68625   2G61M5S34K9132977   GM           XTS                 SAN FRANCISCO             CA
68626   2G61M5S34K9133806   GM           XTS                 PALM SPRINGS              CA
68627   2G61M5S34K9133885   GM           XTS                 Salt Lake City            UT
68628   2G61M5S34K9134017   GM           XTS                 PHILADELPHIA              PA
68629   2G61M5S34K9134065   GM           XTS                 Tampa                     FL
68630   2G61M5S34K9135006   GM           XTS                 WEST PALM BEACH           FL
68631   2G61M5S34K9135023   GM           XTS                 SALT LAKE CITY            US
68632   2G61M5S34K9135619   GM           XTS                 Torrance                  CA
68633   2G61M5S34K9135989   GM           XTS                 Fontana                   CA
68634   2G61M5S34K9136415   GM           XTS                 LAS VEGAS                 NV
68635   2G61M5S34K9138536   GM           XTS                 DALLAS                    TX
68636   2G61M5S34K9141033   GM           XTS                 HOUSTON                   TX
68637   2G61M5S34K9143140   GM           XTS                 DALLAS                    TX
68638   2G61M5S34K9143445   GM           XTS                 Des Plaines               IL
68639   2G61M5S35K9115959   GM           XTS                 Denver                    CO
68640   2G61M5S35K9116058   GM           XTS                 PHOENIX                   AZ
68641   2G61M5S35K9116609   GM           XTS                 PHOENIX                   AZ
68642   2G61M5S35K9116965   GM           XTS                 Charlotte                 NC
68643   2G61M5S35K9117193   GM           XTS                 PHOENIX                   AZ
68644   2G61M5S35K9117341   GM           XTS                 Atlanta                   GA
68645   2G61M5S35K9117372   GM           XTS                 PITTSBURGH                PA
68646   2G61M5S35K9117467   GM           XTS                 East Orange               NJ
68647   2G61M5S35K9117551   GM           XTS                 TAMPA                     FL
68648   2G61M5S35K9117761   GM           XTS                 NORFOLK                   VA
68649   2G61M5S35K9117792   GM           XTS                 FORT LAUDERDALE           FL
68650   2G61M5S35K9118120   GM           XTS                 BALTIMORE                 MD
68651   2G61M5S35K9118361   GM           XTS                 Fredericksburg            VA
68652   2G61M5S35K9118389   GM           XTS                 Manheim                   PA
68653   2G61M5S35K9118456   GM           XTS                 GREENSBORO                NC
68654   2G61M5S35K9118876   GM           XTS                 STERLING                  VA
68655   2G61M5S35K9119199   GM           XTS                 Massapequa                NY
68656   2G61M5S35K9119574   GM           XTS                 Hayward                   CA
68657   2G61M5S35K9119719   GM           XTS                 PHILADELPHIA              PA
68658   2G61M5S35K9120238   GM           XTS                 STERLING                  VA
68659   2G61M5S35K9120286   GM           XTS                 FORT MYERS                FL
68660   2G61M5S35K9120420   GM           XTS                 DES MOINES                IA
68661   2G61M5S35K9120496   GM           XTS                 ORLANDO                   FL
68662   2G61M5S35K9120546   GM           XTS                 Santa Clara               CA
68663   2G61M5S35K9120661   GM           XTS                 WEST PALM BEACH           FL
68664   2G61M5S35K9120708   GM           XTS                 MIAMI                     FL
68665   2G61M5S35K9120725   GM           XTS                 Santa Clara               CA
68666   2G61M5S35K9120871   GM           XTS                 WEST PALM BEACH           FL
68667   2G61M5S35K9120885   GM           XTS                 PROVIDENCE                RI
68668   2G61M5S35K9120904   GM           XTS                 Davie                     FL
68669   2G61M5S35K9121132   GM           XTS                 Ft. Myers                 FL
68670   2G61M5S35K9121180   GM           XTS                 Detroit                   MI
68671   2G61M5S35K9121194   GM           XTS                 MIAMI                     FL
68672   2G61M5S35K9121227   GM           XTS                 TAMPA                     US
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68673   2G61M5S35K9121244   GM           XTS                 DANIA BEACH               FL
68674   2G61M5S35K9121423   GM           XTS                 FLORIDA DEALER DIR        FL
68675   2G61M5S35K9121549   GM           XTS                 BOSTON                    MA
68676   2G61M5S35K9121583   GM           XTS                 MIAMI                     FL
68677   2G61M5S35K9121745   GM           XTS                 FORT LAUDERDALE           FL
68678   2G61M5S35K9121759   GM           XTS                 San Diego                 CA
68679   2G61M5S35K9121793   GM           XTS                 TAMPA                     FL
68680   2G61M5S35K9121843   GM           XTS                 WARWICK                   RI
68681   2G61M5S35K9121857   GM           XTS                 Aurora                    CO
68682   2G61M5S35K9121924   GM           XTS                 BURBANK                   CA
68683   2G61M5S35K9121938   GM           XTS                 PHOENIX                   AZ
68684   2G61M5S35K9121972   GM           XTS                 Norwalk                   CA
68685   2G61M5S35K9122006   GM           XTS                 FORT LAUDERDALE           FL
68686   2G61M5S35K9122037   GM           XTS                 Torrance                  CA
68687   2G61M5S35K9122135   GM           XTS                 SAN DIEGO                 CA
68688   2G61M5S35K9122202   GM           XTS                 LOS ANGELES               CA
68689   2G61M5S35K9122278   GM           XTS                 PALM SPRINGS              CA
68690   2G61M5S35K9122457   GM           XTS                 BALTIMORE                 MD
68691   2G61M5S35K9122491   GM           XTS                 LAS VEGAS                 NV
68692   2G61M5S35K9122510   GM           XTS                 SARASOTA                  FL
68693   2G61M5S35K9122572   GM           XTS                 PLEASANTON                CA
68694   2G61M5S35K9122703   GM           XTS                 ONTARIO                   CA
68695   2G61M5S35K9122748   GM           XTS                 Hamilton                  OH
68696   2G61M5S35K9122765   GM           XTS                 Pittsburgh                PA
68697   2G61M5S35K9122877   GM           XTS                 NEW BERN                  NC
68698   2G61M5S35K9122961   GM           XTS                 BURBANK                   CA
68699   2G61M5S35K9122975   GM           XTS                 PALM SPRINGS              CA
68700   2G61M5S35K9123138   GM           XTS                 WEST PALM BEACH           FL
68701   2G61M5S35K9123267   GM           XTS                 N. Palm Beach             FL
68702   2G61M5S35K9123396   GM           XTS                 LOUISVILLE                KY
68703   2G61M5S35K9123589   GM           XTS                 ORLANDO                   FL
68704   2G61M5S35K9123706   GM           XTS                 LOS ANGELES               CA
68705   2G61M5S35K9123737   GM           XTS                 WEST PALM BEACH           FL
68706   2G61M5S35K9123799   GM           XTS                 CHICAGO                   IL
68707   2G61M5S35K9124161   GM           XTS                 OAKLAND                   CA
68708   2G61M5S35K9124189   GM           XTS                 NEW BERN                  NC
68709   2G61M5S35K9124211   GM           XTS                 OAKLAND                   CA
68710   2G61M5S35K9124368   GM           XTS                 BURBANK                   CA
68711   2G61M5S35K9124404   GM           XTS                 LAS VEGAS                 NV
68712   2G61M5S35K9124483   GM           XTS                 KANSAS CITY               MO
68713   2G61M5S35K9124516   GM           XTS                 LOS ANGELES               CA
68714   2G61M5S35K9124600   GM           XTS                 SAN FRANCISCO             CA
68715   2G61M5S35K9124662   GM           XTS                 BURBANK                   CA
68716   2G61M5S35K9124807   GM           XTS                 SEATAC                    WA
68717   2G61M5S35K9124838   GM           XTS                 NEW YORK CITY             NY
68718   2G61M5S35K9124953   GM           XTS                 LAS VEGAS                 NV
68719   2G61M5S35K9124967   GM           XTS                 LOS ANGELES               CA
68720   2G61M5S35K9124998   GM           XTS                 Sacramento                CA
68721   2G61M5S35K9125133   GM           XTS                 OAKLAND                   CA
68722   2G61M5S35K9125195   GM           XTS                 KENNER                    LA
68723   2G61M5S35K9125200   GM           XTS                 ORANGE COUNTY             CA
68724   2G61M5S35K9125259   GM           XTS                 SAN FRANCISCO             CA
68725   2G61M5S35K9125309   GM           XTS                 Morrisville               NC
68726   2G61M5S35K9125326   GM           XTS                 SEATAC                    WA
68727   2G61M5S35K9125374   GM           XTS                 FRESNO                    CA
68728   2G61M5S35K9125438   GM           XTS                 Pasadena                  CA
68729   2G61M5S35K9125522   GM           XTS                 Ventura                   CA
68730   2G61M5S35K9125536   GM           XTS                 JACKSONVILLE              FL
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68731   2G61M5S35K9125584   GM           XTS                 JACKSONVILLE              FL
68732   2G61M5S35K9125830   GM           XTS                 BURBANK                   CA
68733   2G61M5S35K9125861   GM           XTS                 LOS ANGELES               CA
68734   2G61M5S35K9125956   GM           XTS                 NEW YORK CITY             NY
68735   2G61M5S35K9125973   GM           XTS                 BURBANK                   CA
68736   2G61M5S35K9126010   GM           XTS                 NEW YORK CITY             NY
68737   2G61M5S35K9126024   GM           XTS                 FRESNO                    CA
68738   2G61M5S35K9126041   GM           XTS                 SEATAC                    WA
68739   2G61M5S35K9126069   GM           XTS                 OAKLAND                   CA
68740   2G61M5S35K9126122   GM           XTS                 HOUSTON                   TX
68741   2G61M5S35K9126136   GM           XTS                 FORT LAUDERDALE           FL
68742   2G61M5S35K9126248   GM           XTS                 CHICAGO                   IL
68743   2G61M5S35K9126301   GM           XTS                 PHOENIX                   AZ
68744   2G61M5S35K9126332   GM           XTS                 Anaheim                   CA
68745   2G61M5S35K9126363   GM           XTS                 St. Louis                 MO
68746   2G61M5S35K9126718   GM           XTS                 ATLANTA                   GA
68747   2G61M5S35K9126783   GM           XTS                 Norwalk                   CA
68748   2G61M5S35K9126850   GM           XTS                 OMAHA                     NE
68749   2G61M5S35K9126878   GM           XTS                 CHARLESTON                SC
68750   2G61M5S35K9126959   GM           XTS                 DETROIT                   MI
68751   2G61M5S35K9127030   GM           XTS                 North Dighton             MA
68752   2G61M5S35K9127089   GM           XTS                 MINNEAPOLIS               MN
68753   2G61M5S35K9127142   GM           XTS                 SOUTH SAN FRANC           CA
68754   2G61M5S35K9127271   GM           XTS                 NEW ORLEANS               LA
68755   2G61M5S35K9127299   GM           XTS                 ORLANDO                   FL
68756   2G61M5S35K9127948   GM           XTS                 CHICAGO                   IL
68757   2G61M5S35K9127982   GM           XTS                 BALTIMORE                 MD
68758   2G61M5S35K9128033   GM           XTS                 North Dighton             MA
68759   2G61M5S35K9128260   GM           XTS                 LOS ANGELES               CA
68760   2G61M5S35K9131806   GM           XTS                 SEATAC                    WA
68761   2G61M5S35K9131918   GM           XTS                 DES PLAINES               IL
68762   2G61M5S35K9132163   GM           XTS                 SAN JOSE                  CA
68763   2G61M5S35K9132194   GM           XTS                 ORANGE COUNTY             CA
68764   2G61M5S35K9132213   GM           XTS                 PHOENIX                   AZ
68765   2G61M5S35K9132373   GM           XTS                 RENO                      NV
68766   2G61M5S35K9132549   GM           XTS                 PHOENIX                   AZ
68767   2G61M5S35K9132860   GM           XTS                 CHICAGO                   IL
68768   2G61M5S35K9133605   GM           XTS                 WEST PALM BEACH           FL
68769   2G61M5S35K9134527   GM           XTS                 WEST COLUMBIA             SC
68770   2G61M5S35K9134575   GM           XTS                 CHARLOTTE                 NC
68771   2G61M5S35K9134737   GM           XTS                 ORANGE COUNTY             CA
68772   2G61M5S35K9135094   GM           XTS                 Pheonix                   AZ
68773   2G61M5S35K9137041   GM           XTS                 SALT LAKE CITY            UT
68774   2G61M5S35K9137086   GM           XTS                 DALLAS                    TX
68775   2G61M5S35K9138271   GM           XTS                 Houston                   TX
68776   2G61M5S35K9138948   GM           XTS                 Houston                   TX
68777   2G61M5S35K9140229   GM           XTS                 El Segundo                CA
68778   2G61M5S35K9140683   GM           XTS                 Ft. Myers                 FL
68779   2G61M5S36K9116862   GM           XTS                 WEST PALM BEACH           FL
68780   2G61M5S36K9117137   GM           XTS                 North Dighton             MA
68781   2G61M5S36K9117283   GM           XTS                 North Dighton             MA
68782   2G61M5S36K9117395   GM           XTS                 MILWAUKEE                 WI
68783   2G61M5S36K9117428   GM           XTS                 DALLAS                    TX
68784   2G61M5S36K9117459   GM           XTS                 Grove City                OH
68785   2G61M5S36K9117557   GM           XTS                 Baltimore                 MD
68786   2G61M5S36K9117610   GM           XTS                 SOUTHEAST DST OFFC        OK
68787   2G61M5S36K9118014   GM           XTS                 PEMBROKE                  MA
68788   2G61M5S36K9118062   GM           XTS                 Grove City                OH
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68789   2G61M5S36K9118207   GM           XTS                 Manheim                   PA
68790   2G61M5S36K9118367   GM           XTS                 SAN FRANCISCO             CA
68791   2G61M5S36K9118403   GM           XTS                 JAMAICA                   NY
68792   2G61M5S36K9118482   GM           XTS                 PHILADELPHIA              PA
68793   2G61M5S36K9118742   GM           XTS                 GYPSUM                    CO
68794   2G61M5S36K9119017   GM           XTS                 Santa Clara               CA
68795   2G61M5S36K9119115   GM           XTS                 SAN JOSE                  CA
68796   2G61M5S36K9119146   GM           XTS                 BIRMINGHAN                AL
68797   2G61M5S36K9119454   GM           XTS                 NEWARK                    NJ
68798   2G61M5S36K9119521   GM           XTS                 PHOENIX                   AZ
68799   2G61M5S36K9119826   GM           XTS                 MIAMI                     FL
68800   2G61M5S36K9120071   GM           XTS                 SAN DIEGO                 CA
68801   2G61M5S36K9120216   GM           XTS                 Greensboro                NC
68802   2G61M5S36K9120300   GM           XTS                 Pompano Beach             FL
68803   2G61M5S36K9120331   GM           XTS                 SALT LAKE CITY            US
68804   2G61M5S36K9120426   GM           XTS                 Pompano Beach             FL
68805   2G61M5S36K9120507   GM           XTS                 ORLANDO                   FL
68806   2G61M5S36K9120586   GM           XTS                 W DEPTFORD                NJ
68807   2G61M5S36K9120717   GM           XTS                 Greensboro                NC
68808   2G61M5S36K9120796   GM           XTS                 Tampa                     FL
68809   2G61M5S36K9120832   GM           XTS                 NEW YORK CITY             NY
68810   2G61M5S36K9120913   GM           XTS                 Ft. Myers                 FL
68811   2G61M5S36K9121057   GM           XTS                 DALLAS                    TX
68812   2G61M5S36K9121155   GM           XTS                 LAS VEGAS                 NV
68813   2G61M5S36K9121270   GM           XTS                 FORT MYERS                FL
68814   2G61M5S36K9121303   GM           XTS                 WEST PALM BEACH           FL
68815   2G61M5S36K9121429   GM           XTS                 FORT MYERS                FL
68816   2G61M5S36K9121446   GM           XTS                 TAMPA                     FL
68817   2G61M5S36K9121723   GM           XTS                 CHARLOTTE                 NC
68818   2G61M5S36K9121835   GM           XTS                 HOUSTON                   TX
68819   2G61M5S36K9121981   GM           XTS                 Los Angeles               CA
68820   2G61M5S36K9122001   GM           XTS                 PHOENIX                   AZ
68821   2G61M5S36K9122015   GM           XTS                 FORT MYERS                FL
68822   2G61M5S36K9122080   GM           XTS                 RONKONKOMA                NY
68823   2G61M5S36K9122497   GM           XTS                 SALT LAKE CITY            US
68824   2G61M5S36K9122516   GM           XTS                 Coraopolis                PA
68825   2G61M5S36K9122547   GM           XTS                 Pasadena                  CA
68826   2G61M5S36K9122564   GM           XTS                 Jacksonville              FL
68827   2G61M5S36K9122600   GM           XTS                 ORLANDO                   FL
68828   2G61M5S36K9122614   GM           XTS                 DANIA                     FL
68829   2G61M5S36K9122709   GM           XTS                 EL PASO                   TX
68830   2G61M5S36K9122760   GM           XTS                 Norwalk                   CA
68831   2G61M5S36K9122810   GM           XTS                 WEST PALM BEACH           FL
68832   2G61M5S36K9122872   GM           XTS                 LOUISVILLE                KY
68833   2G61M5S36K9122905   GM           XTS                 Fresno                    CA
68834   2G61M5S36K9123178   GM           XTS                 HAWTHORNE                 NJ
68835   2G61M5S36K9123200   GM           XTS                 LOS ANGELES AP            CA
68836   2G61M5S36K9123617   GM           XTS                 SYRACUSE                  NY
68837   2G61M5S36K9123939   GM           XTS                 SAN DIEGO                 CA
68838   2G61M5S36K9123942   GM           XTS                 WEST PALM BEACH           FL
68839   2G61M5S36K9124220   GM           XTS                 SEATAC                    WA
68840   2G61M5S36K9124282   GM           XTS                 North Dighton             MA
68841   2G61M5S36K9124380   GM           XTS                 ATLANTA                   GA
68842   2G61M5S36K9124430   GM           XTS                 Reno                      NV
68843   2G61M5S36K9124461   GM           XTS                 Fontana                   CA
68844   2G61M5S36K9124606   GM           XTS                 SAN DIEGO                 CA
68845   2G61M5S36K9124671   GM           XTS                 Los Angeles               CA
68846   2G61M5S36K9124685   GM           XTS                 PHOENIX                   AZ
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68847   2G61M5S36K9124699   GM           XTS                 SAN FRANCISCO             CA
68848   2G61M5S36K9124802   GM           XTS                 SEATAC                    WA
68849   2G61M5S36K9124895   GM           XTS                 PORTLAND                  OR
68850   2G61M5S36K9125030   GM           XTS                 Sacramento                CA
68851   2G61M5S36K9125058   GM           XTS                 COLLEGE PARK              GA
68852   2G61M5S36K9125061   GM           XTS                 PORTLAND                  OR
68853   2G61M5S36K9125206   GM           XTS                 PALM SPRINGS              CA
68854   2G61M5S36K9125321   GM           XTS                 Mt. Juliet                TN
68855   2G61M5S36K9125352   GM           XTS                 SAN DIEGO                 US
68856   2G61M5S36K9125674   GM           XTS                 BLOOMINGTON               IL
68857   2G61M5S36K9125707   GM           XTS                 Louisville                KY
68858   2G61M5S36K9125836   GM           XTS                 LAS VEGAS                 NV
68859   2G61M5S36K9125917   GM           XTS                 SAINT PAUL                MN
68860   2G61M5S36K9125948   GM           XTS                 North Dighton             MA
68861   2G61M5S36K9125979   GM           XTS                 BALTIMORE                 MD
68862   2G61M5S36K9125996   GM           XTS                 WEST PALM BEACH           FL
68863   2G61M5S36K9126064   GM           XTS                 Sarasota                  FL
68864   2G61M5S36K9126176   GM           XTS                 Pompano Beach             FL
68865   2G61M5S36K9126307   GM           XTS                 El Paso                   TX
68866   2G61M5S36K9126355   GM           XTS                 MINNEAPOLIS               MN
68867   2G61M5S36K9126369   GM           XTS                 PHILADELPHIA              PA
68868   2G61M5S36K9126419   GM           XTS                 SANTA CLARA               CA
68869   2G61M5S36K9126453   GM           XTS                 LOS ANGELES               CA
68870   2G61M5S36K9126694   GM           XTS                 Warr Acres                OK
68871   2G61M5S36K9126730   GM           XTS                 FORT MYERS                FL
68872   2G61M5S36K9126792   GM           XTS                 Sterling                  VA
68873   2G61M5S36K9126856   GM           XTS                 PHILADELPHIA              PA
68874   2G61M5S36K9126873   GM           XTS                 Saint Paul                MN
68875   2G61M5S36K9127019   GM           XTS                 PHILADELPHIA              PA
68876   2G61M5S36K9127098   GM           XTS                 DETROIT                   MI
68877   2G61M5S36K9127263   GM           XTS                 SYRACUSE                  NY
68878   2G61M5S36K9127375   GM           XTS                 JAMAICA                   NY
68879   2G61M5S36K9127408   GM           XTS                 PHILADELPHIA              PA
68880   2G61M5S36K9127568   GM           XTS                 ROCHESTER                 NY
68881   2G61M5S36K9127862   GM           XTS                 BALTIMORE                 MD
68882   2G61M5S36K9127909   GM           XTS                 SAINT PAUL                MN
68883   2G61M5S36K9127988   GM           XTS                 North Dighton             MA
68884   2G61M5S36K9128025   GM           XTS                 SAVANNAH                  GA
68885   2G61M5S36K9128039   GM           XTS                 CHICAGO                   IL
68886   2G61M5S36K9128123   GM           XTS                 CHICAGO                   IL
68887   2G61M5S36K9128185   GM           XTS                 RICHMOND                  VA
68888   2G61M5S36K9128347   GM           XTS                 CHICAGO                   IL
68889   2G61M5S36K9128428   GM           XTS                 CHARLOTTE                 NC
68890   2G61M5S36K9128445   GM           XTS                 GRAND RAPIDS              MI
68891   2G61M5S36K9131555   GM           XTS                 LOS ANGELES               CA
68892   2G61M5S36K9131569   GM           XTS                 Riverside                 CA
68893   2G61M5S36K9131815   GM           XTS                 FULLERTON                 CA
68894   2G61M5S36K9131880   GM           XTS                 LAS VEGAS                 NV
68895   2G61M5S36K9131944   GM           XTS                 LOS ANGELES               CA
68896   2G61M5S36K9132088   GM           XTS                 Houston                   TX
68897   2G61M5S36K9132138   GM           XTS                 SALT LAKE CITY            US
68898   2G61M5S36K9132186   GM           XTS                 SAN JOSE                  CA
68899   2G61M5S36K9132396   GM           XTS                 Philadelphia              PA
68900   2G61M5S36K9133094   GM           XTS                 PHILADELPHIA              PA
68901   2G61M5S36K9133161   GM           XTS                 OAKLAND                   CA
68902   2G61M5S36K9133953   GM           XTS                 Alcoa                     TN
68903   2G61M5S36K9134021   GM           XTS                 Live Oak                  TX
68904   2G61M5S36K9134150   GM           XTS                 Philadelphia              PA
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68905   2G61M5S36K9134259   GM           XTS                 Las Vegas                 NV
68906   2G61M5S36K9134441   GM           XTS                 Hebron                    KY
68907   2G61M5S36K9135041   GM           XTS                 Roseville                 CA
68908   2G61M5S36K9135931   GM           XTS                 BOSTON, LOGAN AP          MA
68909   2G61M5S36K9136240   GM           XTS                 Fairburn                  GA
68910   2G61M5S36K9136772   GM           XTS                 Dallas                    TX
68911   2G61M5S36K9139333   GM           XTS                 SALT LAKE CITY            UT
68912   2G61M5S36K9139364   GM           XTS                 HOUSTON                   TX
68913   2G61M5S36K9140787   GM           XTS                 Grove City                OH
68914   2G61M5S36K9140904   GM           XTS                 HOUSTON                   TX
68915   2G61M5S36K9143267   GM           XTS                 HOUSTON                   TX
68916   2G61M5S36K9143656   GM           XTS                 HOUSTON                   TX
68917   2G61M5S37J9117551   GM           XTS                 RICHMOND                  VA
68918   2G61M5S37K9116823   GM           XTS                 TAMPA                     FL
68919   2G61M5S37K9117230   GM           XTS                 PITTSBURGH                PA
68920   2G61M5S37K9117261   GM           XTS                 North Dighton             MA
68921   2G61M5S37K9117325   GM           XTS                 OAKLAND                   CA
68922   2G61M5S37K9117339   GM           XTS                 HOUSTON                   TX
68923   2G61M5S37K9117387   GM           XTS                 EL PASO                   US
68924   2G61M5S37K9117518   GM           XTS                 Manheim                   PA
68925   2G61M5S37K9117521   GM           XTS                 North Dighton             MA
68926   2G61M5S37K9117616   GM           XTS                 West Mifflin              PA
68927   2G61M5S37K9117650   GM           XTS                 INDIANAPOLIS              IN
68928   2G61M5S37K9118071   GM           XTS                 Smithtown                 NY
68929   2G61M5S37K9118183   GM           XTS                 CLEVELAND                 OH
68930   2G61M5S37K9118197   GM           XTS                 HOUSTON                   TX
68931   2G61M5S37K9118216   GM           XTS                 RONKONKOMA                NY
68932   2G61M5S37K9118409   GM           XTS                 JACKSONVILLE              FL
68933   2G61M5S37K9118703   GM           XTS                 KANSAS CITY               MO
68934   2G61M5S37K9119091   GM           XTS                 PALM SPRINGS              CA
68935   2G61M5S37K9119155   GM           XTS                 Hartford                  CT
68936   2G61M5S37K9119169   GM           XTS                 Riverside                 CA
68937   2G61M5S37K9119236   GM           XTS                 SAN DIEGO                 CA
68938   2G61M5S37K9120127   GM           XTS                 LAS VEGAS                 NV
68939   2G61M5S37K9120323   GM           XTS                 WEST PALM BEACH           FL
68940   2G61M5S37K9120516   GM           XTS                 Tampa                     FL
68941   2G61M5S37K9120581   GM           XTS                 Tampa                     FL
68942   2G61M5S37K9120659   GM           XTS                 MIAMI                     FL
68943   2G61M5S37K9120693   GM           XTS                 SARASOTA                  FL
68944   2G61M5S37K9120712   GM           XTS                 DAYTONA BEACH             FL
68945   2G61M5S37K9120855   GM           XTS                 NEW BERN                  NC
68946   2G61M5S37K9120967   GM           XTS                 SAINT LOUIS               MO
68947   2G61M5S37K9120984   GM           XTS                 TAMPA                     FL
68948   2G61M5S37K9120998   GM           XTS                 WEST PALM BEACH           FL
68949   2G61M5S37K9121049   GM           XTS                 FORT LAUDERDALE           FL
68950   2G61M5S37K9121147   GM           XTS                 FORT MYERS                FL
68951   2G61M5S37K9121486   GM           XTS                 FORT MYERS                FL
68952   2G61M5S37K9121522   GM           XTS                 LAS VEGAS                 NV
68953   2G61M5S37K9121665   GM           XTS                 Anaheim                   CA
68954   2G61M5S37K9122069   GM           XTS                 WEST PALM BEACH           FL
68955   2G61M5S37K9122086   GM           XTS                 ATLANTA                   GA
68956   2G61M5S37K9122184   GM           XTS                 Pheonix                   AZ
68957   2G61M5S37K9122394   GM           XTS                 LAS VEGAS                 NV
68958   2G61M5S37K9122539   GM           XTS                 Riverside                 CA
68959   2G61M5S37K9122542   GM           XTS                 PHOENIX                   AZ
68960   2G61M5S37K9122556   GM           XTS                 MIAMI                     FL
68961   2G61M5S37K9122590   GM           XTS                 ONTARIO                   CA
68962   2G61M5S37K9122685   GM           XTS                 Ventura                   CA
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68963   2G61M5S37K9122783   GM           XTS                 Atlanta                   GA
68964   2G61M5S37K9122802   GM           XTS                 LOS ANGELES               CA
68965   2G61M5S37K9122895   GM           XTS                 CHARLOTTE                 NC
68966   2G61M5S37K9122931   GM           XTS                 TAMPA                     FL
68967   2G61M5S37K9122959   GM           XTS                 Caledonia                 WI
68968   2G61M5S37K9123030   GM           XTS                 MEMPHIS                   TN
68969   2G61M5S37K9123044   GM           XTS                 Rio Linda                 CA
68970   2G61M5S37K9123299   GM           XTS                 BURBANK                   CA
68971   2G61M5S37K9123349   GM           XTS                 FORT MYERS                FL
68972   2G61M5S37K9123416   GM           XTS                 Hayward                   CA
68973   2G61M5S37K9123433   GM           XTS                 FORT LAUDERDALE           FL
68974   2G61M5S37K9123688   GM           XTS                 Davie                     FL
68975   2G61M5S37K9123741   GM           XTS                 NEW ORLEANS               LA
68976   2G61M5S37K9123822   GM           XTS                 LOS ANGELES               CA
68977   2G61M5S37K9123853   GM           XTS                 SANTA ANA                 CA
68978   2G61M5S37K9123884   GM           XTS                 CHARLESTON                SC
68979   2G61M5S37K9123903   GM           XTS                 Fredericksburg            VA
68980   2G61M5S37K9124064   GM           XTS                 SAN DIEGO                 CA
68981   2G61M5S37K9124081   GM           XTS                 Tolleson                  AZ
68982   2G61M5S37K9124193   GM           XTS                 SAN JOSE                  CA
68983   2G61M5S37K9124209   GM           XTS                 PHOENIX                   AZ
68984   2G61M5S37K9124226   GM           XTS                 ORLANDO                   FL
68985   2G61M5S37K9124324   GM           XTS                 PALM SPRINGS              CA
68986   2G61M5S37K9124341   GM           XTS                 ALBUQERQUE                NM
68987   2G61M5S37K9124386   GM           XTS                 DAYTONA BEACH             FL
68988   2G61M5S37K9124419   GM           XTS                 SACRAMENTO                CA
68989   2G61M5S37K9124579   GM           XTS                 PORTLAND                  OR
68990   2G61M5S37K9124596   GM           XTS                 ORLANDO                   FL
68991   2G61M5S37K9124677   GM           XTS                 Salt Lake City            UT
68992   2G61M5S37K9124789   GM           XTS                 Anaheim                   CA
68993   2G61M5S37K9124811   GM           XTS                 SAN FRANCISCO             CA
68994   2G61M5S37K9124985   GM           XTS                 TAMPA                     FL
68995   2G61M5S37K9125036   GM           XTS                 Detroit                   MI
68996   2G61M5S37K9125148   GM           XTS                 TAMPA                     FL
68997   2G61M5S37K9125263   GM           XTS                 PORTLAND                  OR
68998   2G61M5S37K9125313   GM           XTS                 WEST PALM BEACH           FL
68999   2G61M5S37K9125330   GM           XTS                 PHOENIX                   AZ
69000   2G61M5S37K9125358   GM           XTS                 PHOENIX                   AZ
69001   2G61M5S37K9125442   GM           XTS                 Warwick                   RI
69002   2G61M5S37K9125490   GM           XTS                 SAN DIEGO                 CA
69003   2G61M5S37K9125540   GM           XTS                 SOUTHEAST DST OFFC        OK
69004   2G61M5S37K9125554   GM           XTS                 SAINT LOUIS               MO
69005   2G61M5S37K9125571   GM           XTS                 STERLING                  VA
69006   2G61M5S37K9125697   GM           XTS                 SAINT LOUIS               MO
69007   2G61M5S37K9125747   GM           XTS                 WEST PALM BEACH           FL
69008   2G61M5S37K9125926   GM           XTS                 FORT LAUDERDALE           FL
69009   2G61M5S37K9125943   GM           XTS                 Chicago                   IL
69010   2G61M5S37K9125960   GM           XTS                 GREENSBORO                NC
69011   2G61M5S37K9126039   GM           XTS                 Los Angeles               CA
69012   2G61M5S37K9126073   GM           XTS                 STERLING                  VA
69013   2G61M5S37K9126087   GM           XTS                 FORT MYERS                FL
69014   2G61M5S37K9126090   GM           XTS                 BALTIMORE                 MD
69015   2G61M5S37K9126428   GM           XTS                 NEWARK                    NJ
69016   2G61M5S37K9126476   GM           XTS                 ATLANTA                   GA
69017   2G61M5S37K9126560   GM           XTS                 CHICAGO                   IL
69018   2G61M5S37K9126588   GM           XTS                 North Dighton             MA
69019   2G61M5S37K9126803   GM           XTS                 TULSA                     OK
69020   2G61M5S37K9126834   GM           XTS                 ALBANY                    GA
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69021   2G61M5S37K9126896   GM           XTS                 WARWICK                   RI
69022   2G61M5S37K9127112   GM           XTS                 ST Paul                   MN
69023   2G61M5S37K9127255   GM           XTS                 INDIANAPOLIS              IN
69024   2G61M5S37K9127367   GM           XTS                 BLOOMINGTON               IL
69025   2G61M5S37K9127448   GM           XTS                 CLARKSVILLE               IN
69026   2G61M5S37K9127689   GM           XTS                 FORT LAUDERDALE           FL
69027   2G61M5S37K9127742   GM           XTS                 INDIANAPOLIS              IN
69028   2G61M5S37K9127787   GM           XTS                 CHARLOTTE                 NC
69029   2G61M5S37K9128194   GM           XTS                 MEMPHIS                   TN
69030   2G61M5S37K9131483   GM           XTS                 Costa Mesa                CA
69031   2G61M5S37K9131550   GM           XTS                 SAN JOSE                  CA
69032   2G61M5S37K9131712   GM           XTS                 ONTARIO                   CA
69033   2G61M5S37K9131760   GM           XTS                 HOUSTON                   TX
69034   2G61M5S37K9132035   GM           XTS                 KENNER                    LA
69035   2G61M5S37K9132312   GM           XTS                 LAS VEGAS                 NV
69036   2G61M5S37K9132388   GM           XTS                 LAS VEGAS                 NV
69037   2G61M5S37K9132505   GM           XTS                 PHOENIX                   AZ
69038   2G61M5S37K9134660   GM           XTS                 LAS VEGAS                 NV
69039   2G61M5S37K9134917   GM           XTS                 AUSTIN                    TX
69040   2G61M5S37K9136599   GM           XTS                 GYPSUM                    CO
69041   2G61M5S37K9136778   GM           XTS                 Arlington                 WA
69042   2G61M5S37K9137266   GM           XTS                 San Antonio               TX
69043   2G61M5S37K9137414   GM           XTS                 SOUTHEAST DST OFFC        OK
69044   2G61M5S37K9143021   GM           XTS                 Dallas                    TX
69045   2G61M5S38J9132074   GM           XTS                 Phoenix                   AZ
69046   2G61M5S38K9116720   GM           XTS                 WEST PALM BEACH           FL
69047   2G61M5S38K9116782   GM           XTS                 Maple Grove               MN
69048   2G61M5S38K9116815   GM           XTS                 Atlanta                   GA
69049   2G61M5S38K9116927   GM           XTS                 SAINT PAUL                MN
69050   2G61M5S38K9116989   GM           XTS                 Fredericksburg            VA
69051   2G61M5S38K9117107   GM           XTS                 North Dighton             MA
69052   2G61M5S38K9117186   GM           XTS                 CHICAGO                   IL
69053   2G61M5S38K9117253   GM           XTS                 DENVER                    CO
69054   2G61M5S38K9117382   GM           XTS                 Elkridge                  MD
69055   2G61M5S38K9117463   GM           XTS                 WOODSON TERRACE           MO
69056   2G61M5S38K9117561   GM           XTS                 TULSA                     OK
69057   2G61M5S38K9117575   GM           XTS                 CHICAGO O'HARE AP         IL
69058   2G61M5S38K9117639   GM           XTS                 BILLINGS                  MT
69059   2G61M5S38K9117897   GM           XTS                 TAMPA                     US
69060   2G61M5S38K9118161   GM           XTS                 Greensboro                NC
69061   2G61M5S38K9118287   GM           XTS                 JAMAICA                   NY
69062   2G61M5S38K9118595   GM           XTS                 PHILADELPHIA              PA
69063   2G61M5S38K9118628   GM           XTS                 FORT MYERS                FL
69064   2G61M5S38K9118693   GM           XTS                 Austell                   GA
69065   2G61M5S38K9118774   GM           XTS                 Statesville               NC
69066   2G61M5S38K9118905   GM           XTS                 Hamilton                  OH
69067   2G61M5S38K9120234   GM           XTS                 Sacramento                CA
69068   2G61M5S38K9120329   GM           XTS                 FORT MYERS                FL
69069   2G61M5S38K9120511   GM           XTS                 Davie                     FL
69070   2G61M5S38K9120556   GM           XTS                 Clearwater                FL
69071   2G61M5S38K9120637   GM           XTS                 Miami                     FL
69072   2G61M5S38K9120721   GM           XTS                 GRAND RAPIDS              MI
69073   2G61M5S38K9120895   GM           XTS                 NORFOLK                   VA
69074   2G61M5S38K9121030   GM           XTS                 Davie                     FL
69075   2G61M5S38K9121108   GM           XTS                 Davie                     FL
69076   2G61M5S38K9121190   GM           XTS                 FORT MYERS                FL
69077   2G61M5S38K9121240   GM           XTS                 ORLANDO                   FL
69078   2G61M5S38K9121366   GM           XTS                 Atlanta                   GA
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69079   2G61M5S38K9121626   GM           XTS                 PENSACOLA                 FL
69080   2G61M5S38K9121786   GM           XTS                 LOS ANGELES               CA
69081   2G61M5S38K9121867   GM           XTS                 BRADENTON                 FL
69082   2G61M5S38K9121898   GM           XTS                 ATLANTA                   GA
69083   2G61M5S38K9122064   GM           XTS                 CLEVELAND                 OH
69084   2G61M5S38K9122145   GM           XTS                 FRESNO                    CA
69085   2G61M5S38K9122162   GM           XTS                 Riverside                 CA
69086   2G61M5S38K9122212   GM           XTS                 FORT MYERS                FL
69087   2G61M5S38K9122324   GM           XTS                 FORT MYERS                FL
69088   2G61M5S38K9122338   GM           XTS                 Roseville                 CA
69089   2G61M5S38K9122419   GM           XTS                 ORLANDO                   FL
69090   2G61M5S38K9122503   GM           XTS                 PHOENIX                   AZ
69091   2G61M5S38K9122551   GM           XTS                 PHOENIX                   AZ
69092   2G61M5S38K9122582   GM           XTS                 JACKSONVILLE              FL
69093   2G61M5S38K9122596   GM           XTS                 KNOXVILLE                 TN
69094   2G61M5S38K9122632   GM           XTS                 Los Angeles               CA
69095   2G61M5S38K9122713   GM           XTS                 ALBUQUERQUE               NM
69096   2G61M5S38K9122727   GM           XTS                 PALM SPRINGS              CA
69097   2G61M5S38K9122789   GM           XTS                 HOUSTON                   TX
69098   2G61M5S38K9123232   GM           XTS                 BURBANK                   CA
69099   2G61M5S38K9123487   GM           XTS                 PHILADELPHIA              PA
69100   2G61M5S38K9123571   GM           XTS                 PALM SPRINGS              CA
69101   2G61M5S38K9123795   GM           XTS                 Bridgeton                 MO
69102   2G61M5S38K9123859   GM           XTS                 TAMPA                     US
69103   2G61M5S38K9123926   GM           XTS                 Revere                    MA
69104   2G61M5S38K9123957   GM           XTS                 CLEVELAND                 OH
69105   2G61M5S38K9123991   GM           XTS                 PLEASANTON                CA
69106   2G61M5S38K9124297   GM           XTS                 Phoenix                   AZ
69107   2G61M5S38K9124316   GM           XTS                 SAN FRANCISCO             CA
69108   2G61M5S38K9124364   GM           XTS                 MIAMI INT'L AP            FL
69109   2G61M5S38K9124378   GM           XTS                 SAC                       CA
69110   2G61M5S38K9124610   GM           XTS                 LAS VEGAS                 NV
69111   2G61M5S38K9124638   GM           XTS                 PHOENIX                   AZ
69112   2G61M5S38K9124736   GM           XTS                 LAS VEGAS                 NV
69113   2G61M5S38K9124770   GM           XTS                 PORTLAND                  OR
69114   2G61M5S38K9124820   GM           XTS                 SEATAC                    WA
69115   2G61M5S38K9124848   GM           XTS                 WEST COLUMBIA             SC
69116   2G61M5S38K9124901   GM           XTS                 SALT LAKE CITY            US
69117   2G61M5S38K9124915   GM           XTS                 PORTLAND                  OR
69118   2G61M5S38K9124963   GM           XTS                 SAN FRANCISCO             CA
69119   2G61M5S38K9125255   GM           XTS                 LOS ANGELES               CA
69120   2G61M5S38K9125398   GM           XTS                 SEA TAC                   WA
69121   2G61M5S38K9125501   GM           XTS                 ROANOKE                   VA
69122   2G61M5S38K9125563   GM           XTS                 PHOENIX                   AZ
69123   2G61M5S38K9125594   GM           XTS                 SALT LAKE CITY            UT
69124   2G61M5S38K9125644   GM           XTS                 LOS ANGELES               CA
69125   2G61M5S38K9125739   GM           XTS                 SAN JOSE                  CA
69126   2G61M5S38K9125773   GM           XTS                 FORT LAUDERDALE           FL
69127   2G61M5S38K9125790   GM           XTS                 Manheim                   PA
69128   2G61M5S38K9125806   GM           XTS                 BALTIMORE                 MD
69129   2G61M5S38K9125868   GM           XTS                 NEW YORK CITY             NY
69130   2G61M5S38K9126051   GM           XTS                 WHITE PLAINS              NY
69131   2G61M5S38K9126079   GM           XTS                 SAN DIEGO                 CA
69132   2G61M5S38K9126521   GM           XTS                 Detroit                   MI
69133   2G61M5S38K9126552   GM           XTS                 HANOVER                   MD
69134   2G61M5S38K9126602   GM           XTS                 Irving                    TX
69135   2G61M5S38K9126700   GM           XTS                 STERLING                  VA
69136   2G61M5S38K9126714   GM           XTS                 PITTSBURGH                PA
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69137   2G61M5S38K9126728   GM           XTS                 STERLING                  VA
69138   2G61M5S38K9126910   GM           XTS                 PORTLAND                  ME
69139   2G61M5S38K9126941   GM           XTS                 North Dighton             MA
69140   2G61M5S38K9127281   GM           XTS                 CHICAGO                   IL
69141   2G61M5S38K9127877   GM           XTS                 Cedar Rapids              IA
69142   2G61M5S38K9127894   GM           XTS                 Plainfield                IN
69143   2G61M5S38K9128270   GM           XTS                 STERLING                  VA
69144   2G61M5S38K9128284   GM           XTS                 North Dighton             MA
69145   2G61M5S38K9128687   GM           XTS                 WEST PALM BEACH           FL
69146   2G61M5S38K9131654   GM           XTS                 BURBANK                   CA
69147   2G61M5S38K9131797   GM           XTS                 LOS ANGELES AP            CA
69148   2G61M5S38K9132061   GM           XTS                 Portland                  OR
69149   2G61M5S38K9132268   GM           XTS                 LOS ANGELES               CA
69150   2G61M5S38K9132450   GM           XTS                 DFW AIRPORT               TX
69151   2G61M5S38K9132559   GM           XTS                 LOS ANGELES               CA
69152   2G61M5S38K9132609   GM           XTS                 LOS ANGELES               CA
69153   2G61M5S38K9132643   GM           XTS                 FRESNO                    CA
69154   2G61M5S38K9132724   GM           XTS                 Riverside                 CA
69155   2G61M5S38K9132738   GM           XTS                 Miami                     FL
69156   2G61M5S38K9132870   GM           XTS                 PHOENIX                   AZ
69157   2G61M5S38K9132979   GM           XTS                 LOS ANGELES               CA
69158   2G61M5S38K9133629   GM           XTS                 NORWALK                   CA
69159   2G61M5S38K9135669   GM           XTS                 DENVER                    CO
69160   2G61M5S38K9136076   GM           XTS                 Denver                    CO
69161   2G61M5S38K9136420   GM           XTS                 San Diego                 CA
69162   2G61M5S38K9136434   GM           XTS                 DALLAS                    TX
69163   2G61M5S38K9136661   GM           XTS                 EL PASO                   US
69164   2G61M5S38K9138300   GM           XTS                 DAYTONA BEACH             FL
69165   2G61M5S38K9138605   GM           XTS                 DALLAS                    TX
69166   2G61M5S38K9138989   GM           XTS                 HOUSTON                   TX
69167   2G61M5S38K9139494   GM           XTS                 JACKSON                   MS
69168   2G61M5S38K9140094   GM           XTS                 Baton Rouge               LA
69169   2G61M5S38K9140726   GM           XTS                 Smithtown                 NY
69170   2G61M5S38K9140774   GM           XTS                 ALBUQUERQUE               NM
69171   2G61M5S38K9141083   GM           XTS                 Roseville                 CA
69172   2G61M5S39K9116788   GM           XTS                 BOSTON                    MA
69173   2G61M5S39K9116838   GM           XTS                 KANSAS CITY               MO
69174   2G61M5S39K9117066   GM           XTS                 Ocoee                     FL
69175   2G61M5S39K9117164   GM           XTS                 EULESS                    TX
69176   2G61M5S39K9117410   GM           XTS                 BURBANK                   CA
69177   2G61M5S39K9117780   GM           XTS                 SANTA FE                  NM
69178   2G61M5S39K9117939   GM           XTS                 Manheim                   PA
69179   2G61M5S39K9118038   GM           XTS                 NEWARK                    NJ
69180   2G61M5S39K9118668   GM           XTS                 CHARLOTTESVILLE           VA
69181   2G61M5S39K9118699   GM           XTS                 WEST PALM BEACH           FL
69182   2G61M5S39K9118752   GM           XTS                 Manheim                   PA
69183   2G61M5S39K9118878   GM           XTS                 RONKONKOMA                NY
69184   2G61M5S39K9119030   GM           XTS                 Roseville                 CA
69185   2G61M5S39K9119142   GM           XTS                 BURBANK                   CA
69186   2G61M5S39K9119318   GM           XTS                 ORANGE COUNTY             CA
69187   2G61M5S39K9119352   GM           XTS                 BOSTON                    MA
69188   2G61M5S39K9119383   GM           XTS                 BURBANK                   CA
69189   2G61M5S39K9120341   GM           XTS                 ONTARIO                   CA
69190   2G61M5S39K9120503   GM           XTS                 Bordentown                NJ
69191   2G61M5S39K9120551   GM           XTS                 BURBANK                   CA
69192   2G61M5S39K9120565   GM           XTS                 MIAMI                     FL
69193   2G61M5S39K9120632   GM           XTS                 PHILADELPHIA              PA
69194   2G61M5S39K9120677   GM           XTS                 Tolleson                  AZ
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69195   2G61M5S39K9120789   GM           XTS                 Maple Grove               MN
69196   2G61M5S39K9120792   GM           XTS                 Atlanta                   GA
69197   2G61M5S39K9120923   GM           XTS                 PHILADELPHIA              PA
69198   2G61M5S39K9120971   GM           XTS                 FORT MYERS                FL
69199   2G61M5S39K9121117   GM           XTS                 FORT LAUDERDALE           FL
69200   2G61M5S39K9121196   GM           XTS                 BIRMINGHAM                AL
69201   2G61M5S39K9121232   GM           XTS                 BOSTON                    MA
69202   2G61M5S39K9121246   GM           XTS                 WEST PALM BEACH           FL
69203   2G61M5S39K9121568   GM           XTS                 North Dighton             MA
69204   2G61M5S39K9121747   GM           XTS                 LAS VEGAS                 NV
69205   2G61M5S39K9121859   GM           XTS                 SOUTHEAST DST OFFC        OK
69206   2G61M5S39K9121876   GM           XTS                 MIAMI                     FL
69207   2G61M5S39K9121974   GM           XTS                 MIAMI INT'L AP            FL
69208   2G61M5S39K9122011   GM           XTS                 FORT MYERS                FL
69209   2G61M5S39K9122039   GM           XTS                 TAMPA                     FL
69210   2G61M5S39K9122056   GM           XTS                 LOS ANGELES               CA
69211   2G61M5S39K9122090   GM           XTS                 FORT LAUDERDALE           FL
69212   2G61M5S39K9122235   GM           XTS                 TRACY                     CA
69213   2G61M5S39K9122302   GM           XTS                 BIRMINGHAM                AL
69214   2G61M5S39K9122347   GM           XTS                 ORANGE COUNTY             CA
69215   2G61M5S39K9122428   GM           XTS                 MIAMI                     FL
69216   2G61M5S39K9122431   GM           XTS                 SAN DIEGO                 CA
69217   2G61M5S39K9122493   GM           XTS                 MIAMI                     FL
69218   2G61M5S39K9122526   GM           XTS                 ORLANDO                   FL
69219   2G61M5S39K9122588   GM           XTS                 WEST PALM BEACH           FL
69220   2G61M5S39K9122607   GM           XTS                 Atlanta                   GA
69221   2G61M5S39K9122798   GM           XTS                 LOS ANGELES               CA
69222   2G61M5S39K9122820   GM           XTS                 SACRAMENTO                CA
69223   2G61M5S39K9122929   GM           XTS                 CHICAGO                   IL
69224   2G61M5S39K9123028   GM           XTS                 North Dighton             MA
69225   2G61M5S39K9123112   GM           XTS                 ONTARIO                   CA
69226   2G61M5S39K9123160   GM           XTS                 San Diego                 CA
69227   2G61M5S39K9123224   GM           XTS                 WEST PALM BEACH           FL
69228   2G61M5S39K9123398   GM           XTS                 ORLANDO                   FL
69229   2G61M5S39K9123451   GM           XTS                 KNOXVILLE                 TN
69230   2G61M5S39K9123661   GM           XTS                 PORTLAND                  ME
69231   2G61M5S39K9123711   GM           XTS                 DETROIT                   MI
69232   2G61M5S39K9123725   GM           XTS                 TAMPA                     FL
69233   2G61M5S39K9123773   GM           XTS                 San Diego                 CA
69234   2G61M5S39K9123952   GM           XTS                 TAMPA                     FL
69235   2G61M5S39K9123983   GM           XTS                 DETROIT                   MI
69236   2G61M5S39K9124017   GM           XTS                 PALM SPRINGS              CA
69237   2G61M5S39K9124180   GM           XTS                 Riverside                 CA
69238   2G61M5S39K9124213   GM           XTS                 SAN JOSE                  CA
69239   2G61M5S39K9124258   GM           XTS                 BIRMINGHAN                AL
69240   2G61M5S39K9124390   GM           XTS                 PORTLAND                  OR
69241   2G61M5S39K9124518   GM           XTS                 DAYTONA BEACH             FL
69242   2G61M5S39K9124535   GM           XTS                 Torrance                  CA
69243   2G61M5S39K9124731   GM           XTS                 PORTLAND                  OR
69244   2G61M5S39K9124762   GM           XTS                 Stockton                  CA
69245   2G61M5S39K9124891   GM           XTS                 MEMPHIS                   TN
69246   2G61M5S39K9125068   GM           XTS                 Sacramento                CA
69247   2G61M5S39K9125121   GM           XTS                 SAN FRANCISCO             CA
69248   2G61M5S39K9125152   GM           XTS                 SALT LAKE CITY            UT
69249   2G61M5S39K9125202   GM           XTS                 ORANGE COUNTY             CA
69250   2G61M5S39K9125376   GM           XTS                 SAN DIEGO                 CA
69251   2G61M5S39K9125460   GM           XTS                 WOODSON TERRACE           MO
69252   2G61M5S39K9125474   GM           XTS                 Norwalk                   CA
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69253   2G61M5S39K9125569   GM           XTS                 SACRAMENTO                CA
69254   2G61M5S39K9125586   GM           XTS                 PITTSBURGH                PA
69255   2G61M5S39K9125667   GM           XTS                 SAINT PAUL                MN
69256   2G61M5S39K9125670   GM           XTS                 NORFOLK                   VA
69257   2G61M5S39K9125863   GM           XTS                 Burien                    WA
69258   2G61M5S39K9125913   GM           XTS                 LAS VEGAS                 NV
69259   2G61M5S39K9125958   GM           XTS                 NEWARK                    NJ
69260   2G61M5S39K9125975   GM           XTS                 NORFOLK                   VA
69261   2G61M5S39K9125992   GM           XTS
69262   2G61M5S39K9126012   GM           XTS                 CLEVELAND                 OH
69263   2G61M5S39K9126026   GM           XTS                 Statesville               NC
69264   2G61M5S39K9126138   GM           XTS                 DALLAS                    TX
69265   2G61M5S39K9126219   GM           XTS                 MANCHESTER                US
69266   2G61M5S39K9126415   GM           XTS                 CHARLESTON                SC
69267   2G61M5S39K9126446   GM           XTS                 PITTSBURGH                PA
69268   2G61M5S39K9126527   GM           XTS                 North Dighton             MA
69269   2G61M5S39K9126530   GM           XTS                 NEWARK                    NJ
69270   2G61M5S39K9126656   GM           XTS                 LAS VEGAS                 NV
69271   2G61M5S39K9126690   GM           XTS                 Burlingame                CA
69272   2G61M5S39K9126706   GM           XTS                 BOSTON                    MA
69273   2G61M5S39K9126737   GM           XTS                 WEST PALM BEACH           FL
69274   2G61M5S39K9126818   GM           XTS                 Manheim                   PA
69275   2G61M5S39K9126852   GM           XTS                 KNOXVILLE                 TN
69276   2G61M5S39K9126902   GM           XTS                 JAMAICA                   NY
69277   2G61M5S39K9126947   GM           XTS                 CHARLOTTE                 NC
69278   2G61M5S39K9126995   GM           XTS                 Hartford                  CT
69279   2G61M5S39K9127032   GM           XTS                 WEST PALM BEACH           FL
69280   2G61M5S39K9127077   GM           XTS                 JACKSONVILLE              FL
69281   2G61M5S39K9127094   GM           XTS                 LAS VEGAS                 NV
69282   2G61M5S39K9127127   GM           XTS                 BIRMINGHAM                AL
69283   2G61M5S39K9127161   GM           XTS                 ROCHESTER                 NY
69284   2G61M5S39K9127354   GM           XTS                 Bordentown                NJ
69285   2G61M5S39K9127774   GM           XTS                 MIAMI                     FL
69286   2G61M5S39K9128021   GM           XTS                 CHARLOTTE                 NC
69287   2G61M5S39K9131453   GM           XTS                 PITTSBURGH                PA
69288   2G61M5S39K9131470   GM           XTS                 SAN JOSE                  CA
69289   2G61M5S39K9131520   GM           XTS                 BURBANK                   CA
69290   2G61M5S39K9131565   GM           XTS                 LAS VEGAS                 NV
69291   2G61M5S39K9131694   GM           XTS                 SALT LAKE CITY            US
69292   2G61M5S39K9131758   GM           XTS                 SAN DIEGO                 CA
69293   2G61M5S39K9131971   GM           XTS                 San Francisco             CA
69294   2G61M5S39K9132070   GM           XTS                 Las Vegas                 NV
69295   2G61M5S39K9132084   GM           XTS                 LOS ANGELES               CA
69296   2G61M5S39K9132196   GM           XTS                 BURBANK                   CA
69297   2G61M5S39K9132392   GM           XTS                 LOS ANGELES               CA
69298   2G61M5S39K9133848   GM           XTS                 DES MOINES                IA
69299   2G61M5S39K9134126   GM           XTS                 CHARLESTON                SC
69300   2G61M5S39K9134157   GM           XTS                 RALEIGH                   NC
69301   2G61M5S39K9134160   GM           XTS                 OKLAHOMA CITY             OK
69302   2G61M5S39K9134594   GM           XTS                 LAS VEGAS                 NV
69303   2G61M5S39K9134613   GM           XTS                 NEWARK                    NJ
69304   2G61M5S39K9134840   GM           XTS                 DENVER                    CO
69305   2G61M5S39K9135129   GM           XTS                 DENVER                    CO
69306   2G61M5S39K9135471   GM           XTS                 NASHVILLE                 TN
69307   2G61M5S39K9135552   GM           XTS                 CHARLOTTE                 NC
69308   2G61M5S39K9136409   GM           XTS                 HOUSTON                   TX
69309   2G61M5S39K9138774   GM           XTS                 SALT LAKE CITY            UT
69310   2G61M5S39K9139360   GM           XTS                 Atlanta                   GA
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69311   2G61M5S39K9141268   GM           XTS                 Austin                    TX
69312   2G61M5S3XK9116850   GM           XTS                 ATLANTA                   GA
69313   2G61M5S3XK9116895   GM           XTS                 BOSTON                    MA
69314   2G61M5S3XK9116931   GM           XTS                 Salt Lake City            UT
69315   2G61M5S3XK9117030   GM           XTS                 DES MOINES                IA
69316   2G61M5S3XK9117075   GM           XTS                 RONKONKOMA                NY
69317   2G61M5S3XK9117156   GM           XTS                 BOSTON                    MA
69318   2G61M5S3XK9117237   GM           XTS                 North Dighton             MA
69319   2G61M5S3XK9117268   GM           XTS                 HOUSTON                   TX
69320   2G61M5S3XK9117299   GM           XTS                 PITTSBURGH                PA
69321   2G61M5S3XK9117321   GM           XTS                 Cranberry Towns           PA
69322   2G61M5S3XK9117349   GM           XTS                 Statesville               NC
69323   2G61M5S3XK9117528   GM           XTS                 OKLAHOMA CITY             OK
69324   2G61M5S3XK9117643   GM           XTS                 MIAMI                     FL
69325   2G61M5S3XK9117674   GM           XTS                 DAYTONA BEACH             FL
69326   2G61M5S3XK9117755   GM           XTS                 MIDDLE RIVER              MD
69327   2G61M5S3XK9117786   GM           XTS                 GLASSBORO                 NJ
69328   2G61M5S3XK9117867   GM           XTS                 BIRMINGHAN                AL
69329   2G61M5S3XK9117903   GM           XTS                 PANAMA CITY               FL
69330   2G61M5S3XK9118940   GM           XTS                 Fredericksburg            VA
69331   2G61M5S3XK9118971   GM           XTS                 ATLANTA                   GA
69332   2G61M5S3XK9119117   GM           XTS                 WEST PALM BEACH           FL
69333   2G61M5S3XK9119389   GM           XTS                 NEW BERN                  NC
69334   2G61M5S3XK9119540   GM           XTS                 FORT MYERS                FL
69335   2G61M5S3XK9119618   GM           XTS                 PHOENIX                   AZ
69336   2G61M5S3XK9119974   GM           XTS                 SAN FRANCISCO             CA
69337   2G61M5S3XK9120333   GM           XTS                 KNOXVILLE                 TN
69338   2G61M5S3XK9120428   GM           XTS                 WEST PALM BEACH           FL
69339   2G61M5S3XK9120462   GM           XTS                 ORLANDO                   FL
69340   2G61M5S3XK9120784   GM           XTS                 North Dighton             MA
69341   2G61M5S3XK9120803   GM           XTS                 JACKSON                   MS
69342   2G61M5S3XK9120851   GM           XTS                 RICHMOND                  VA
69343   2G61M5S3XK9120946   GM           XTS                 MIAMI                     FL
69344   2G61M5S3XK9120963   GM           XTS                 DALLAS                    TX
69345   2G61M5S3XK9121059   GM           XTS                 FT. LAUDERDALE            FL
69346   2G61M5S3XK9121076   GM           XTS                 FORT LAUDERDALE           FL
69347   2G61M5S3XK9121286   GM           XTS                 BOSTON                    MA
69348   2G61M5S3XK9121305   GM           XTS                 Manheim                   PA
69349   2G61M5S3XK9121496   GM           XTS                 MIAMI                     FL
69350   2G61M5S3XK9121594   GM           XTS                 FORT LAUDERDALE           FL
69351   2G61M5S3XK9121711   GM           XTS                 San Diego                 CA
69352   2G61M5S3XK9121725   GM           XTS                 WEST PALM BEACH           FL
69353   2G61M5S3XK9121918   GM           XTS                 SAN ANTONIO               TX
69354   2G61M5S3XK9122003   GM           XTS                 PENSACOLA                 FL
69355   2G61M5S3XK9122020   GM           XTS                 MIAMI                     FL
69356   2G61M5S3XK9122082   GM           XTS                 Ft. Myers                 FL
69357   2G61M5S3XK9122096   GM           XTS                 LAS VEGAS                 NV
69358   2G61M5S3XK9122194   GM           XTS                 Miami                     FL
69359   2G61M5S3XK9122440   GM           XTS                 LOS ANGELES               CA
69360   2G61M5S3XK9122549   GM           XTS                 SAN FRANCISCO             CA
69361   2G61M5S3XK9122616   GM           XTS                 HOUSTON                   TX
69362   2G61M5S3XK9122745   GM           XTS                 DES PLAINES               IL
69363   2G61M5S3XK9122860   GM           XTS                 WEST PALM BEACH           FL
69364   2G61M5S3XK9122891   GM           XTS                 Statesville               NC
69365   2G61M5S3XK9122907   GM           XTS                 LOS ANGELES               CA
69366   2G61M5S3XK9122941   GM           XTS                 Fontana                   CA
69367   2G61M5S3XK9122972   GM           XTS                 Leesburg                  VA
69368   2G61M5S3XK9123040   GM           XTS                 Atlanta                   GA
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69369   2G61M5S3XK9123104   GM           XTS                 SAINT PAUL                MN
69370   2G61M5S3XK9123121   GM           XTS                 Stockton                  CA
69371   2G61M5S3XK9123166   GM           XTS                 BURBANK                   CA
69372   2G61M5S3XK9123281   GM           XTS                 Portland                  ME
69373   2G61M5S3XK9123328   GM           XTS                 STERLING                  VA
69374   2G61M5S3XK9123331   GM           XTS                 HANOVER                   MD
69375   2G61M5S3XK9123765   GM           XTS                 Grove City                OH
69376   2G61M5S3XK9123782   GM           XTS                 NEWARK                    NJ
69377   2G61M5S3XK9123801   GM           XTS                 Bordentown                NJ
69378   2G61M5S3XK9123880   GM           XTS                 WHITE PLAINS              NY
69379   2G61M5S3XK9123961   GM           XTS                 Philadelphia              PA
69380   2G61M5S3XK9124074   GM           XTS                 Statesville               NC
69381   2G61M5S3XK9124186   GM           XTS                 SAN DIEGO                 CA
69382   2G61M5S3XK9124222   GM           XTS                 SANTA ANA                 CA
69383   2G61M5S3XK9124236   GM           XTS                 ALBANY                    N
69384   2G61M5S3XK9124270   GM           XTS                 SANTA ANA                 CA
69385   2G61M5S3XK9124284   GM           XTS                 JACKSONVILLE              FL
69386   2G61M5S3XK9124320   GM           XTS                 FORT LAUDERDALE           FL
69387   2G61M5S3XK9124463   GM           XTS                 PORTLAND                  OR
69388   2G61M5S3XK9124480   GM           XTS                 Sacramento                CA
69389   2G61M5S3XK9124527   GM           XTS                 Pasadena                  CA
69390   2G61M5S3XK9124754   GM           XTS                 SAN FRANCISCO             CA
69391   2G61M5S3XK9124768   GM           XTS                 SEATAC                    WA
69392   2G61M5S3XK9124897   GM           XTS                 SAN JOSE                  CA
69393   2G61M5S3XK9125239   GM           XTS                 Union City                GA
69394   2G61M5S3XK9125287   GM           XTS                 Roseville                 CA
69395   2G61M5S3XK9125306   GM           XTS                 PORTLAND                  OR
69396   2G61M5S3XK9125337   GM           XTS                 OAKLAND                   CA
69397   2G61M5S3XK9125340   GM           XTS                 SANTA ANA                 CA
69398   2G61M5S3XK9125371   GM           XTS                 TUCSON                    AZ
69399   2G61M5S3XK9125418   GM           XTS                 SACRAMENTO                CA
69400   2G61M5S3XK9125452   GM           XTS                 ALBUQERQUE                NM
69401   2G61M5S3XK9125659   GM           XTS                 ORANGE COUNTY             CA
69402   2G61M5S3XK9125676   GM           XTS                 LAS VEGAS                 NV
69403   2G61M5S3XK9125709   GM           XTS                 HOUSTON                   TX
69404   2G61M5S3XK9125743   GM           XTS                 Lake Elsinore             CA
69405   2G61M5S3XK9125838   GM           XTS                 PHOENIX                   AZ
69406   2G61M5S3XK9125984   GM           XTS                 CHICAGO                   IL
69407   2G61M5S3XK9126102   GM           XTS                 Greensboro                NC
69408   2G61M5S3XK9126231   GM           XTS                 LAS VEGAS                 NV
69409   2G61M5S3XK9126326   GM           XTS                 Rockville Centr           NY
69410   2G61M5S3XK9126357   GM           XTS                 MOBILE                    A
69411   2G61M5S3XK9126469   GM           XTS                 Manheim                   PA
69412   2G61M5S3XK9126519   GM           XTS                 Milwaukee                 WI
69413   2G61M5S3XK9126536   GM           XTS                 NEWARK                    NJ
69414   2G61M5S3XK9126620   GM           XTS                 LAS VEGAS                 NV
69415   2G61M5S3XK9126679   GM           XTS                 Caledonia                 WI
69416   2G61M5S3XK9126794   GM           XTS                 Hartford                  CT
69417   2G61M5S3XK9126813   GM           XTS                 NORFOLK                   VA
69418   2G61M5S3XK9127007   GM           XTS                 NEW YORK CITY             NY
69419   2G61M5S3XK9127217   GM           XTS                 Kansas City               MO
69420   2G61M5S3XK9127251   GM           XTS                 WHITE PLAINS              NY
69421   2G61M5S3XK9127265   GM           XTS                 Leesburg                  VA
69422   2G61M5S3XK9127279   GM           XTS                 BURBANK                   CA
69423   2G61M5S3XK9127377   GM           XTS                 SAINT PAUL                MN
69424   2G61M5S3XK9127590   GM           XTS                 MINNEAPOLIS               MN
69425   2G61M5S3XK9127864   GM           XTS                 NEWARK                    NJ
69426   2G61M5S3XK9127976   GM           XTS                 CHICAGO                   IL
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69427   2G61M5S3XK9128058   GM           XTS                 Grove City                OH
69428   2G61M5S3XK9128206   GM           XTS                 PHILADELPHIA              US
69429   2G61M5S3XK9131753   GM           XTS                 DENVER                    CO
69430   2G61M5S3XK9131848   GM           XTS                 SALT LAKE CITY            UT
69431   2G61M5S3XK9132384   GM           XTS                 Los Angeles               CA
69432   2G61M5S3XK9132420   GM           XTS                 SAN JOSE                  CA
69433   2G61M5S3XK9132448   GM           XTS                 DETROIT                   MI
69434   2G61M5S3XK9132501   GM           XTS                 SEATAC                    WA
69435   2G61M5S3XK9132563   GM           XTS                 MILWAUKEE                 WI
69436   2G61M5S3XK9132675   GM           XTS                 LAS VEGAS                 NV
69437   2G61M5S3XK9132756   GM           XTS                 LOS ANGELES               CA
69438   2G61M5S3XK9133440   GM           XTS                 Greensboro                NC
69439   2G61M5S3XK9133860   GM           XTS                 ATLANTA                   GA
69440   2G61M5S3XK9134118   GM           XTS                 Cranberry Towns           PA
69441   2G61M5S3XK9134152   GM           XTS                 North Dighton             MA
69442   2G61M5S3XK9134488   GM           XTS                 CHICAGO                   IL
69443   2G61M5S3XK9134555   GM           XTS                 North Dighton             MA
69444   2G61M5S3XK9134586   GM           XTS                 KNOXVILLE                 TN
69445   2G61M5S3XK9135270   GM           XTS                 Hamilton                  OH
69446   2G61M5S3XK9135883   GM           XTS                 North Dighton             MA
69447   2G61M5S3XK9136841   GM           XTS                 DENVER                    CO
69448   2G61M5S3XK9139044   GM           XTS                 SHREVEPORT                LA
69449   2G61M5S3XK9139545   GM           XTS                 Greensboro                NC
69450   2G61M5S3XK9142722   GM           XTS                 Houston                   TX
69451   2G61M5S3XK9142932   GM           XTS                 INDIANAPOLIS              IN
69452   2GCVKPEC0K1160088   GM           SILVERADO           BENTONVILLE AP            AR
69453   2GCVKPEC0K1162536   GM           SILVERADO           FORT LAUDERDALE           FL
69454   2GCVKPEC0K1163024   GM           SILVERADO           Costa Mesa                CA
69455   2GCVKPEC0K1163718   GM           SILVERADO           OAKLAND                   CA
69456   2GCVKPEC0K1165405   GM           SILVERADO           Harlingen                 TX
69457   2GCVKPEC0K1166828   GM           SILVERADO           JACKSONVILLE              FL
69458   2GCVKPEC0K1168711   GM           SILVERADO           Hapeville                 GA
69459   2GCVKPEC0K1171592   GM           SILVERADO           BUFFALO                   NY
69460   2GCVKPEC0K1172841   GM           SILVERADO           WEST COLUMBIA             SC
69461   2GCVKPEC0K1173701   GM           SILVERADO           SOUTHEAST DST OFFC        OK
69462   2GCVKPEC0K1173763   GM           SILVERADO           Atlanta                   GA
69463   2GCVKPEC0K1176713   GM           SILVERADO           SALT LAKE CITY            UT
69464   2GCVKPEC0K1177358   GM           SILVERADO           LOUISVILLE                KY
69465   2GCVKPEC0K1177828   GM           SILVERADO           PITTSBURGH                PA
69466   2GCVKPEC0K1178154   GM           SILVERADO           ORLANDO                   FL
69467   2GCVKPEC0K1179319   GM           SILVERADO           PITTSBURGH                PA
69468   2GCVKPEC0K1180325   GM           SILVERADO           KNOXVILLE                 TN
69469   2GCVKPEC0K1181085   GM           SILVERADO           DALLAS                    TX
69470   2GCVKPEC0K1182379   GM           SILVERADO           KENNER                    LA
69471   2GCVKPEC0K1182589   GM           SILVERADO           Philadelphia              PA
69472   2GCVKPEC0K1182690   GM           SILVERADO           KNOXVILLE                 TN
69473   2GCVKPEC0K1182737   GM           SILVERADO           KNOXVILLE                 TN
69474   2GCVKPEC0K1183208   GM           SILVERADO           Nashville                 TN
69475   2GCVKPEC0K1183399   GM           SILVERADO           EGG HARBOR TOWN           NJ
69476   2GCVKPEC0K1183824   GM           SILVERADO           GREEN BAY                 WI
69477   2GCVKPEC0K1184374   GM           SILVERADO           MEMPHIS                   TN
69478   2GCVKPEC0K1191731   GM           SILVERADO           EULESS                    TX
69479   2GCVKPEC0K1192684   GM           SILVERADO           SAN ANTONIO               TX
69480   2GCVKPEC0K1192751   GM           SILVERADO           SAN ANTONIO               TX
69481   2GCVKPEC0K1193995   GM           SILVERADO           HOUSTON                   TX
69482   2GCVKPEC0K1194158   GM           SILVERADO           DALLAS                    TX
69483   2GCVKPEC0K1194905   GM           SILVERADO           MIDLAND                   TX
69484   2GCVKPEC0K1197903   GM           SILVERADO           Atlanta                   GA
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69485   2GCVKPEC0K1198176   GM           SILVERADO           SAN ANTONIO               TX
69486   2GCVKPEC1K1160746   GM           SILVERADO           SOUTH SAN FRANC           CA
69487   2GCVKPEC1K1163730   GM           SILVERADO           FORT LAUDERDALE           FL
69488   2GCVKPEC1K1165283   GM           SILVERADO           Winter Park               FL
69489   2GCVKPEC1K1165297   GM           SILVERADO           San Diego                 CA
69490   2GCVKPEC1K1167597   GM           SILVERADO           KNOXVILLE                 TN
69491   2GCVKPEC1K1171052   GM           SILVERADO           North Dighton             MA
69492   2GCVKPEC1K1172072   GM           SILVERADO           North Dighton             MA
69493   2GCVKPEC1K1172394   GM           SILVERADO           RAYNHAM                   MA
69494   2GCVKPEC1K1174145   GM           SILVERADO           SOUTHEAST DST OFFC        OK
69495   2GCVKPEC1K1176686   GM           SILVERADO           BUTLER                    PA
69496   2GCVKPEC1K1178356   GM           SILVERADO           Newark                    NJ
69497   2GCVKPEC1K1180088   GM           SILVERADO           Slidell                   LA
69498   2GCVKPEC1K1183783   GM           SILVERADO           SOUTH BEND                IN
69499   2GCVKPEC1K1183802   GM           SILVERADO           HOUSTON                   TX
69500   2GCVKPEC1K1183816   GM           SILVERADO           DENVER                    CO
69501   2GCVKPEC1K1183993   GM           SILVERADO           MANCHESTER                US
69502   2GCVKPEC1K1184478   GM           SILVERADO           DALLAS                    TX
69503   2GCVKPEC1K1184545   GM           SILVERADO           Reno                      NV
69504   2GCVKPEC1K1184948   GM           SILVERADO           SAN ANTONIO               TX
69505   2GCVKPEC1K1185341   GM           SILVERADO           Statesville               NC
69506   2GCVKPEC1K1192533   GM           SILVERADO           WICHITA FALLS             TX
69507   2GCVKPEC1K1196775   GM           SILVERADO           Houston                   TX
69508   2GCVKPEC1K1197697   GM           SILVERADO           DALLAS                    TX
69509   2GCVKPEC2K1161663   GM           SILVERADO           SACRAMENTO                CA
69510   2GCVKPEC2K1162747   GM           SILVERADO           ORLANDO                   FL
69511   2GCVKPEC2K1165860   GM           SILVERADO           DETROIT                   MI
69512   2GCVKPEC2K1166412   GM           SILVERADO           SANFORD                   FL
69513   2GCVKPEC2K1166782   GM           SILVERADO           SARASOTA                  FL
69514   2GCVKPEC2K1168810   GM           SILVERADO           WEST PALM BEACH           FL
69515   2GCVKPEC2K1169021   GM           SILVERADO           TAMPA                     FL
69516   2GCVKPEC2K1169746   GM           SILVERADO           Las Vegas                 NV
69517   2GCVKPEC2K1171870   GM           SILVERADO           PORTLAND                  OR
69518   2GCVKPEC2K1172209   GM           SILVERADO           BOSTON                    MA
69519   2GCVKPEC2K1173456   GM           SILVERADO           TAMPA                     FL
69520   2GCVKPEC2K1173831   GM           SILVERADO           TAMPA                     FL
69521   2GCVKPEC2K1174588   GM           SILVERADO           WEST COLUMBIA             SC
69522   2GCVKPEC2K1174820   GM           SILVERADO           Indianapolis              IN
69523   2GCVKPEC2K1175286   GM           SILVERADO           LOUISVILLE                KY
69524   2GCVKPEC2K1177247   GM           SILVERADO           Tampa                     FL
69525   2GCVKPEC2K1177569   GM           SILVERADO           HOUSTON                   TX
69526   2GCVKPEC2K1179130   GM           SILVERADO           Philadelphia              PA
69527   2GCVKPEC2K1179239   GM           SILVERADO           Rochester                 NY
69528   2GCVKPEC2K1180147   GM           SILVERADO           SALT LAKE CITY            US
69529   2GCVKPEC2K1182111   GM           SILVERADO           LAS VEGAS                 NV
69530   2GCVKPEC2K1182884   GM           SILVERADO           DALLAS                    TX
69531   2GCVKPEC2K1182903   GM           SILVERADO           DALLAS                    TX
69532   2GCVKPEC2K1182982   GM           SILVERADO           DALLAS                    TX
69533   2GCVKPEC2K1183159   GM           SILVERADO           PENSACOLA                 FL
69534   2GCVKPEC2K1183176   GM           SILVERADO           KENNER                    LA
69535   2GCVKPEC2K1183226   GM           SILVERADO           LINDEN                    NJ
69536   2GCVKPEC2K1183243   GM           SILVERADO           HOUSTON                   TX
69537   2GCVKPEC2K1183517   GM           SILVERADO           FORT LAUDERDALE           FL
69538   2GCVKPEC2K1183792   GM           SILVERADO           Slidell                   LA
69539   2GCVKPEC2K1184375   GM           SILVERADO           Slidell                   LA
69540   2GCVKPEC2K1184506   GM           SILVERADO           EULESS                    TX
69541   2GCVKPEC2K1192010   GM           SILVERADO           TULSA                     OK
69542   2GCVKPEC2K1193013   GM           SILVERADO           SAN ANTONIO               TX
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69543   2GCVKPEC2K1196039   GM           SILVERADO           Houston                   TX
69544   2GCVKPEC2K1197899   GM           SILVERADO           EULESS                    TX
69545   2GCVKPEC3K1159565   GM           SILVERADO           SACRAMENTO                CA
69546   2GCVKPEC3K1160117   GM           SILVERADO           SAINT LOUIS               MO
69547   2GCVKPEC3K1160747   GM           SILVERADO           SACRAMENTO                CA
69548   2GCVKPEC3K1161655   GM           SILVERADO           FORT MYERS                FL
69549   2GCVKPEC3K1162515   GM           SILVERADO           NORTH PAC                 CA
69550   2GCVKPEC3K1163485   GM           SILVERADO           FORT LAUDERDALE           FL
69551   2GCVKPEC3K1164927   GM           SILVERADO           LAS VEGAS                 NV
69552   2GCVKPEC3K1164930   GM           SILVERADO           FORT MYERS                FL
69553   2GCVKPEC3K1166077   GM           SILVERADO           JACKSONVILLE              FL
69554   2GCVKPEC3K1168976   GM           SILVERADO           CHARLESTON                SC
69555   2GCVKPEC3K1174499   GM           SILVERADO           HANOVER                   MD
69556   2GCVKPEC3K1176169   GM           SILVERADO           Atlanta                   GA
69557   2GCVKPEC3K1177547   GM           SILVERADO           LOUISVILLE                KY
69558   2GCVKPEC3K1178004   GM           SILVERADO           JACKSON                   MS
69559   2GCVKPEC3K1178147   GM           SILVERADO           Webster                   NY
69560   2GCVKPEC3K1178634   GM           SILVERADO           MEMPHIS                   TN
69561   2GCVKPEC3K1179170   GM           SILVERADO           WEST PALM BEACH           FL
69562   2GCVKPEC3K1181971   GM           SILVERADO           LUBBOCK                   TX
69563   2GCVKPEC3K1183042   GM           SILVERADO           HOUSTON                   TX
69564   2GCVKPEC3K1183090   GM           SILVERADO           MARIETTA                  GA
69565   2GCVKPEC3K1183106   GM           SILVERADO           Dallas                    TX
69566   2GCVKPEC3K1183204   GM           SILVERADO           Corpus Christi            TX
69567   2GCVKPEC3K1183851   GM           SILVERADO           DALLAS                    TX
69568   2GCVKPEC3K1184076   GM           SILVERADO           MEMPHIS                   TN
69569   2GCVKPEC3K1184109   GM           SILVERADO           PITTSBURGH                PA
69570   2GCVKPEC3K1184188   GM           SILVERADO           Jacksonville              FL
69571   2GCVKPEC3K1184420   GM           SILVERADO           DALLAS                    TX
69572   2GCVKPEC3K1184868   GM           SILVERADO           DALLAS                    TX
69573   2GCVKPEC3K1185602   GM           SILVERADO           PITTSBURGH                PA
69574   2GCVKPEC3K1191853   GM           SILVERADO           San Antonio               TX
69575   2GCVKPEC3K1192680   GM           SILVERADO           DALLAS                    TX
69576   2GCVKPEC3K1194610   GM           SILVERADO           HOUSTON                   TX
69577   2GCVKPEC3K1196809   GM           SILVERADO           DALLAS                    TX
69578   2GCVKPEC3K1196888   GM           SILVERADO           Amarillo                  TX
69579   2GCVKPEC4K1161292   GM           SILVERADO           SEATAC                    WA
69580   2GCVKPEC4K1161440   GM           SILVERADO           Scottsdale                AZ
69581   2GCVKPEC4K1161762   GM           SILVERADO           DENVER                    CO
69582   2GCVKPEC4K1162393   GM           SILVERADO           Ontario                   CA
69583   2GCVKPEC4K1163169   GM           SILVERADO           Tampa                     FL
69584   2GCVKPEC4K1164841   GM           SILVERADO           BIRMINGHAM                AL
69585   2GCVKPEC4K1167786   GM           SILVERADO           Estero                    FL
69586   2GCVKPEC4K1168713   GM           SILVERADO           PORTLAND                  OR
69587   2GCVKPEC4K1171868   GM           SILVERADO           Ventura                   CA
69588   2GCVKPEC4K1173152   GM           SILVERADO           CHARLOTTE                 NC
69589   2GCVKPEC4K1174172   GM           SILVERADO           North Dighton             MA
69590   2GCVKPEC4K1175631   GM           SILVERADO           Atlanta                   GA
69591   2GCVKPEC4K1175872   GM           SILVERADO           CHARLESTON                WV
69592   2GCVKPEC4K1176438   GM           SILVERADO           CLEVELAND                 OH
69593   2GCVKPEC4K1177041   GM           SILVERADO           PITTSBURGH                PA
69594   2GCVKPEC4K1177377   GM           SILVERADO           PITTSBURGH                PA
69595   2GCVKPEC4K1179680   GM           SILVERADO           MIAMI                     FL
69596   2GCVKPEC4K1179758   GM           SILVERADO           Middletown                PA
69597   2GCVKPEC4K1180005   GM           SILVERADO           Ft. Myers                 FL
69598   2GCVKPEC4K1180019   GM           SILVERADO           WEST PALM BEACH           FL
69599   2GCVKPEC4K1182062   GM           SILVERADO           AUSTIN                    TX
69600   2GCVKPEC4K1182188   GM           SILVERADO           KENNER                    LA
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69601   2GCVKPEC4K1182658   GM           SILVERADO           Schaumburg                IL
69602   2GCVKPEC4K1182756   GM           SILVERADO           BATON ROUGE               LA
69603   2GCVKPEC4K1182854   GM           SILVERADO           KENNER                    LA
69604   2GCVKPEC4K1183342   GM           SILVERADO           HOUSTON                   TX
69605   2GCVKPEC4K1183423   GM           SILVERADO           HOUSTON                   TX
69606   2GCVKPEC4K1183440   GM           SILVERADO           Atlanta                   GA
69607   2GCVKPEC4K1184409   GM           SILVERADO           Manheim                   PA
69608   2GCVKPEC4K1184846   GM           SILVERADO           LAS VEGAS                 NV
69609   2GCVKPEC4K1185110   GM           SILVERADO           WEST CENTRAL DEALE        CO
69610   2GCVKPEC4K1191523   GM           SILVERADO           HOUSTON                   TX
69611   2GCVKPEC5K1163522   GM           SILVERADO           KANSAS CITY               MO
69612   2GCVKPEC5K1165268   GM           SILVERADO           Davie                     FL
69613   2GCVKPEC5K1172320   GM           SILVERADO           SOUTHEAST DST OFFC        OK
69614   2GCVKPEC5K1172379   GM           SILVERADO           SOUTH BEND                IN
69615   2GCVKPEC5K1172401   GM           SILVERADO           Slidell                   LA
69616   2GCVKPEC5K1173726   GM           SILVERADO           SACRAMENTO                CA
69617   2GCVKPEC5K1174164   GM           SILVERADO           Greer                     SC
69618   2GCVKPEC5K1174665   GM           SILVERADO           JONESBORO                 AR
69619   2GCVKPEC5K1174715   GM           SILVERADO           ATHENS                    GA
69620   2GCVKPEC5K1175007   GM           SILVERADO           Detroit                   MI
69621   2GCVKPEC5K1175394   GM           SILVERADO           EGG HARBOR TOWN           NJ
69622   2GCVKPEC5K1177033   GM           SILVERADO           PHILA                     PA
69623   2GCVKPEC5K1177095   GM           SILVERADO           CHARLESTON                WV
69624   2GCVKPEC5K1177128   GM           SILVERADO           ORLANDO                   FL
69625   2GCVKPEC5K1177906   GM           SILVERADO           PHOENIX                   AZ
69626   2GCVKPEC5K1177954   GM           SILVERADO           Woodhaven                 MI
69627   2GCVKPEC5K1180546   GM           SILVERADO           ATHENS                    GA
69628   2GCVKPEC5K1180983   GM           SILVERADO           FORT LAUDERDALE           FL
69629   2GCVKPEC5K1181907   GM           SILVERADO           UNION CITY                GA
69630   2GCVKPEC5K1182071   GM           SILVERADO           BIRMINGHAM                AL
69631   2GCVKPEC5K1182278   GM           SILVERADO           HOUSTON                   TX
69632   2GCVKPEC5K1182359   GM           SILVERADO           Detroit                   MI
69633   2GCVKPEC5K1182426   GM           SILVERADO           Portland                  OR
69634   2GCVKPEC5K1182698   GM           SILVERADO           KENNER                    LA
69635   2GCVKPEC5K1183673   GM           SILVERADO           Detroit                   MI
69636   2GCVKPEC5K1183821   GM           SILVERADO           SOUTHWEST DEALER D        TX
69637   2GCVKPEC5K1184712   GM           SILVERADO           KENNER                    LA
69638   2GCVKPEC5K1184788   GM           SILVERADO           HOUSTON                   TX
69639   2GCVKPEC5K1185018   GM           SILVERADO           Franklin                  OH
69640   2GCVKPEC5K1192308   GM           SILVERADO           Slidell                   LA
69641   2GCVKPEC5K1196388   GM           SILVERADO           DENVER                    CO
69642   2GCVKPEC5K1196942   GM           SILVERADO           SAN ANTONIO               TX
69643   2GCVKPEC5K1197119   GM           SILVERADO           Dallas                    TX
69644   2GCVKPEC6K1162122   GM           SILVERADO           SHAKOPEE                  MN
69645   2GCVKPEC6K1162170   GM           SILVERADO           LAS VEGAS                 NV
69646   2GCVKPEC6K1164677   GM           SILVERADO           MIAMI                     FL
69647   2GCVKPEC6K1165828   GM           SILVERADO           DENVER                    CO
69648   2GCVKPEC6K1166073   GM           SILVERADO           LAS VEGAS                 NV
69649   2GCVKPEC6K1166218   GM           SILVERADO           SEATTLE                   WA
69650   2GCVKPEC6K1167501   GM           SILVERADO           WEST PALM BEACH           FL
69651   2GCVKPEC6K1167613   GM           SILVERADO           ORLANDO                   FL
69652   2GCVKPEC6K1168485   GM           SILVERADO           Portland                  OR
69653   2GCVKPEC6K1171256   GM           SILVERADO           SACRAMENTO                CA
69654   2GCVKPEC6K1172911   GM           SILVERADO           PHILADELPHIA              PA
69655   2GCVKPEC6K1173380   GM           SILVERADO           SOUTHEAST DST OFFC        OK
69656   2GCVKPEC6K1175274   GM           SILVERADO           MEBANE                    NC
69657   2GCVKPEC6K1176151   GM           SILVERADO           FORT LAUDERDALE           FL
69658   2GCVKPEC6K1176831   GM           SILVERADO           CHICAGO                   IL
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69659   2GCVKPEC6K1179969   GM           SILVERADO           FT. LAUDERDALE            FL
69660   2GCVKPEC6K1181270   GM           SILVERADO           PHILADELPHIA              PA
69661   2GCVKPEC6K1182421   GM           SILVERADO           LAUREL                    MD
69662   2GCVKPEC6K1182435   GM           SILVERADO           HOUSTON                   TX
69663   2GCVKPEC6K1184153   GM           SILVERADO           DALLAS FORT WORTH AP      TX
69664   2GCVKPEC6K1191765   GM           SILVERADO           SAN ANTONIO               TX
69665   2GCVKPEC6K1193774   GM           SILVERADO           Des Moines                IA
69666   2GCVKPEC6K1197940   GM           SILVERADO           DALLAS                    TX
69667   2GCVKPEC6K1200495   GM           SILVERADO           DALLAS                    TX
69668   2GCVKPEC7K1164607   GM           SILVERADO           Las Vegas                 NV
69669   2GCVKPEC7K1165742   GM           SILVERADO           Sarasota                  FL
69670   2GCVKPEC7K1167037   GM           SILVERADO           ORLANDO                   FL
69671   2GCVKPEC7K1169032   GM           SILVERADO           SYRACUSE                  NY
69672   2GCVKPEC7K1173128   GM           SILVERADO           DENVER                    CO
69673   2GCVKPEC7K1174103   GM           SILVERADO           DETROIT                   MI
69674   2GCVKPEC7K1175946   GM           SILVERADO           Statesville               NC
69675   2GCVKPEC7K1177308   GM           SILVERADO           WEST PALM BEACH           FL
69676   2GCVKPEC7K1179737   GM           SILVERADO           PITTSBURGH                PA
69677   2GCVKPEC7K1180032   GM           SILVERADO           PHILADELPHIA              PA
69678   2GCVKPEC7K1182315   GM           SILVERADO           Slidell                   LA
69679   2GCVKPEC7K1182458   GM           SILVERADO           Hapeville                 GA
69680   2GCVKPEC7K1182735   GM           SILVERADO           San Antonio               TX
69681   2GCVKPEC7K1183089   GM           SILVERADO           EULESS                    TX
69682   2GCVKPEC7K1183092   GM           SILVERADO           KNOXVILLE                 TN
69683   2GCVKPEC7K1183111   GM           SILVERADO           Alcoa                     TN
69684   2GCVKPEC7K1183660   GM           SILVERADO           HOUSTON                   TX
69685   2GCVKPEC7K1183769   GM           SILVERADO           SOUTHEAST DST OFFC        OK
69686   2GCVKPEC7K1184419   GM           SILVERADO           DENVER                    CO
69687   2GCVKPEC7K1185375   GM           SILVERADO           Parkville                 MD
69688   2GCVKPEC7K1191984   GM           SILVERADO           HOUSTON                   TX
69689   2GCVKPEC7K1192049   GM           SILVERADO           SAN ANTONIO               TX
69690   2GCVKPEC7K1195307   GM           SILVERADO           HOUSTON                   TX
69691   2GCVKPEC7K1196425   GM           SILVERADO           EULESS                    TX
69692   2GCVKPEC7K1197865   GM           SILVERADO           DALLAS                    TX
69693   2GCVKPEC8K1159366   GM           SILVERADO           LOS ANGELES               CA
69694   2GCVKPEC8K1161523   GM           SILVERADO           DENVER                    CO
69695   2GCVKPEC8K1161554   GM           SILVERADO           FORT LAUDERDALE           FL
69696   2GCVKPEC8K1163563   GM           SILVERADO           Ft. Myers                 FL
69697   2GCVKPEC8K1164504   GM           SILVERADO           COLLEGE PARK              GA
69698   2GCVKPEC8K1166320   GM           SILVERADO           Jacksonville              FL
69699   2GCVKPEC8K1168357   GM           SILVERADO           FORT LAUDERDALE           FL
69700   2GCVKPEC8K1169640   GM           SILVERADO           SACRAMENTO                CA
69701   2GCVKPEC8K1171176   GM           SILVERADO           DES PLAINES               US
69702   2GCVKPEC8K1171744   GM           SILVERADO           Clearwater                FL
69703   2GCVKPEC8K1171971   GM           SILVERADO           SEATAC                    WA
69704   2GCVKPEC8K1174059   GM           SILVERADO           Nashville                 TN
69705   2GCVKPEC8K1176829   GM           SILVERADO           PITTSBURGH                PA
69706   2GCVKPEC8K1177804   GM           SILVERADO           ORLANDO                   FL
69707   2GCVKPEC8K1178726   GM           SILVERADO           FORT LAUDERDALE           FL
69708   2GCVKPEC8K1179486   GM           SILVERADO           KENNER                    LA
69709   2GCVKPEC8K1180282   GM           SILVERADO           Tampa                     FL
69710   2GCVKPEC8K1182517   GM           SILVERADO           BIRMINGHAM                AL
69711   2GCVKPEC8K1183554   GM           SILVERADO           HOUSTON                   TX
69712   2GCVKPEC8K1183571   GM           SILVERADO           KILLEEN                   US
69713   2GCVKPEC8K1184333   GM           SILVERADO           SAN ANTONIO               TX
69714   2GCVKPEC8K1184459   GM           SILVERADO           WICHITA FALLS             TX
69715   2GCVKPEC8K1184865   GM           SILVERADO           Dallas                    TX
69716   2GCVKPEC8K1184882   GM           SILVERADO           DALLAS                    TX
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69717   2GCVKPEC8K1185109   GM          SILVERADO           SAN DIEGO                 CA
69718   2GCVKPEC8K1185515   GM          SILVERADO           DAYTONA BEACH             FL
69719   2GCVKPEC8K1193789   GM          SILVERADO           HOUSTON                   TX
69720   2GCVKPEC8K1196577   GM          SILVERADO           Dallas                    TX
69721   2GCVKPEC9K1160638   GM          SILVERADO           Las Vegas                 NV
69722   2GCVKPEC9K1161756   GM          SILVERADO           LOS ANGELES               CA
69723   2GCVKPEC9K1162194   GM          SILVERADO           SEATTLE                   WA
69724   2GCVKPEC9K1164060   GM          SILVERADO           OKLAHOMA CITY             OK
69725   2GCVKPEC9K1166777   GM          SILVERADO           Nashville                 TN
69726   2GCVKPEC9K1171851   GM          SILVERADO           Portland                  OR
69727   2GCVKPEC9K1172756   GM          SILVERADO           Amarillo                  TX
69728   2GCVKPEC9K1173650   GM          SILVERADO           Houston                   TX
69729   2GCVKPEC9K1174250   GM          SILVERADO           EAST BOSTON               MA
69730   2GCVKPEC9K1179979   GM          SILVERADO           WEST PALM BEACH           FL
69731   2GCVKPEC9K1182817   GM          SILVERADO           BEAUMONT                  TX
69732   2GCVKPEC9K1182851   GM          SILVERADO           KENNER                    LA
69733   2GCVKPEC9K1183059   GM          SILVERADO           Ft. Myers                 FL
69734   2GCVKPEC9K1183501   GM          SILVERADO           DFW AIRPORT               TX
69735   2GCVKPEC9K1183935   GM          SILVERADO           Houston                   TX
69736   2GCVKPEC9K1184275   GM          SILVERADO           DALLAS                    TX
69737   2GCVKPEC9K1184809   GM          SILVERADO           SHREVEPORT                LA
69738   2GCVKPEC9K1192070   GM          SILVERADO           HOUSTON                   TX
69739   2GCVKPEC9K1192358   GM          SILVERADO           Dallas                    TX
69740   2GCVKPECXK1162558   GM          SILVERADO           SAN JOSE                  CA
69741   2GCVKPECXK1162706   GM          SILVERADO           Salt Lake City            UT
69742   2GCVKPECXK1164357   GM          SILVERADO           BUFFALO                   NY
69743   2GCVKPECXK1165315   GM          SILVERADO           WEST PALM BEACH           FL
69744   2GCVKPECXK1167730   GM          SILVERADO           Davie                     FL
69745   2GCVKPECXK1168358   GM          SILVERADO           KNOXVILLE                 TN
69746   2GCVKPECXK1169543   GM          SILVERADO           BIRMINGHAM                AL
69747   2GCVKPECXK1169610   GM          SILVERADO           JACKSONVILLE              FL
69748   2GCVKPECXK1169882   GM          SILVERADO           MINNEAPOLIS               MN
69749   2GCVKPECXK1171650   GM          SILVERADO           Atlanta                   GA
69750   2GCVKPECXK1171986   GM          SILVERADO           Cleveland                 OH
69751   2GCVKPECXK1172197   GM          SILVERADO           PEMBROKE                  MA
69752   2GCVKPECXK1174306   GM          SILVERADO           FORT MYERS                FL
69753   2GCVKPECXK1176136   GM          SILVERADO           Dallas                    TX
69754   2GCVKPECXK1177805   GM          SILVERADO           Pensacola                 FL
69755   2GCVKPECXK1177948   GM          SILVERADO           Newark                    NJ
69756   2GCVKPECXK1179229   GM          SILVERADO           TAMPA                     FL
69757   2GCVKPECXK1180350   GM          SILVERADO           WEST PALM BEACH           FL
69758   2GCVKPECXK1180722   GM          SILVERADO           PHILADELPHIA              PA
69759   2GCVKPECXK1181160   GM          SILVERADO           PITTSBURGH                PA
69760   2GCVKPECXK1182339   GM          SILVERADO           HOUSTON                   TX
69761   2GCVKPECXK1182356   GM          SILVERADO           EL PASO                   TX
69762   2GCVKPECXK1183295   GM          SILVERADO           CHICAGO                   IL
69763   2GCVKPECXK1183622   GM          SILVERADO           Euless                    TX
69764   2GCVKPECXK1183667   GM          SILVERADO           Dallas                    TX
69765   2GCVKPECXK1184186   GM          SILVERADO           Irving                    TX
69766   2GCVKPECXK1184625   GM          SILVERADO           Cedar Rapids              IA
69767   2GCVKPECXK1191767   GM          SILVERADO           OKLAHOMA CITY             OK
69768   2GCVKPECXK1192806   GM          SILVERADO           SAN ANTONIO               TX
69769   2GCVKPECXK1192868   GM          SILVERADO           SAN ANTONIO               TX
69770   2GCVKPECXK1195043   GM          SILVERADO           SOUTHWEST DEALER D        TX
69771   2GCVKPECXK1197536   GM          SILVERADO           Tulsa                     OK
69772   2GKALMEK0G6134462   GM          TERRAIN             LOS ANGELES               CA
69773   2GKALMEK1G6111112   GM          TERRAIN             Chicago                   IL
69774   2GKALMEK1H6134665   GM          TERRAIN             SAN DIEGO                 CA
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69775   2GKALMEK3H6138801   GM          TERRAIN             PHOENIX                   AZ
69776   2GKALMEK4H6144431   GM          TERRAIN             Los Angeles               CA
69777   2GKALMEK5H6314490   GM          TERRAIN             DETROIT                   MI
69778   2GKALMEK6H6318337   GM          TERRAIN             Anaheim                   CA
69779   2GKALMEK6H6352228   GM          TERRAIN             Hartford                  CT
69780   2GKALMEK7G6332519   GM          TERRAIN             CHICAGO                   IL
69781   2GKALMEK8H6322406   GM          TERRAIN             DETROIT                   MI
69782   2GKALMEK9H6339683   GM          TERRAIN             Detroit                   MI
69783   2GKALNEK0H6325371   GM          TERRAIN             KNOXVILLE                 TN
69784   2GKALNEK0H6340792   GM          TERRAIN             Detroit                   MI
69785   2GKALNEK1H6322995   GM          TERRAIN             DAYTONA BEACH             FL
69786   2GKALNEK2G6294655   GM          TERRAIN             DES PLAINES               IL
69787   2GKALNEK6H6335791   GM          TERRAIN             Chicago                   IL
69788   2GKALNEK8H6343262   GM          TERRAIN             Chicago                   IL
69789   2GKALNEK9H6291186   GM          TERRAIN             Detroit                   MI
69790   2GKALPEK2G6329318   GM          TERRAIN             MORROW                    GA
69791   2GKALPEK2H6191720   GM          TERRAIN             SAN DIEGO                 CA
69792   2GNALBEK0H1549870   GM          EQUINOX             SAN FRANCISCO             CA
69793   2GNALBEK5H6102938   GM          EQUINOX             BURBANK                   CA
69794   2GNALBEK6H1588849   GM          EQUINOX             CHICAGO                   IL
69795   2GNALBEK8H1530242   GM          EQUINOX             SAN ANTONIO               TX
69796   2GNALBEK9H1589753   GM          EQUINOX             CHICAGO                   IL
69797   2GNALBEKXH1598963   GM          EQUINOX             CHICAGO                   IL
69798   2GNALCEK0H1545422   GM          EQUINOX             SAN DIEGO                 CA
69799   2GNALCEK0H1589937   GM          EQUINOX             HOUSTON                   TX
69800   2GNALCEK1G1130107   GM          EQUINOX             SAN DIEGO                 CA
69801   2GNALCEK2H1540092   GM          EQUINOX             Louisville                KY
69802   2GNALCEK3G6118267   GM          EQUINOX             DES PLAINES               IL
69803   2GNALCEK3G6305332   GM          EQUINOX             SEATTLE                   WA
69804   2GNALCEK6G1159795   GM          EQUINOX             CHICAGO                   IL
69805   2GNALCEK6H1577789   GM          EQUINOX             BURBANK                   CA
69806   2GNALCEK6H6206683   GM          EQUINOX             SAN ANTONIO               TX
69807   2GNALCEK6H6330890   GM          EQUINOX             CHICAGO                   IL
69808   2GNALCEK7H1585545   GM          EQUINOX             Riverside                 CA
69809   2GNALCEK8G1183886   GM          EQUINOX             CHICAGO                   IL
69810   2GNALCEK8H1576322   GM          EQUINOX             NORTH PAC                 CA
69811   2GNALCEK9G6170437   GM          EQUINOX             CHICAGO                   IL
69812   2GNALCEKXG6269591   GM          EQUINOX             BURBANK                   CA
69813   2GNALCEKXH1576001   GM          EQUINOX             CHICAGO                   IL
69814   2GNAXJEV0J6191266   GM          EQUINOX             Roseville                 CA
69815   2GNAXJEV0J6191669   GM          EQUINOX             TRACY                     CA
69816   2GNAXJEV0J6228784   GM          EQUINOX             KAHULUI                   HI
69817   2GNAXJEV0J6242703   GM          EQUINOX             Hayward                   CA
69818   2GNAXJEV0J6247478   GM          EQUINOX             TRACY                     CA
69819   2GNAXJEV0J6249747   GM          EQUINOX             SAN FRANCISCO             CA
69820   2GNAXJEV0J6260098   GM          EQUINOX             Kahului                   HI
69821   2GNAXJEV0J6260165   GM          EQUINOX             TRACY                     CA
69822   2GNAXJEV0J6260313   GM          EQUINOX             Portland                  OR
69823   2GNAXJEV0J6261042   GM          EQUINOX             SAN FRANCISCO             CA
69824   2GNAXJEV0J6261221   GM          EQUINOX             Honolulu                  HI
69825   2GNAXJEV0J6261526   GM          EQUINOX             BURBANK                   CA
69826   2GNAXJEV0J6261719   GM          EQUINOX             KAHULUI                   HI
69827   2GNAXJEV0J6262014   GM          EQUINOX             TRACY                     CA
69828   2GNAXJEV0J6262269   GM          EQUINOX             SAN FRANCISCO             CA
69829   2GNAXJEV0J6262384   GM          EQUINOX             Hayward                   CA
69830   2GNAXJEV0J6262398   GM          EQUINOX             Hilo                      HI
69831   2GNAXJEV0J6262501   GM          EQUINOX             TRACY                     CA
69832   2GNAXJEV0J6263082   GM          EQUINOX             LIHUE AP KAUAI            HI
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69833   2GNAXJEV0J6268010   GM           EQUINOX             SAN FRANCISCO             CA
69834   2GNAXJEV0J6268668   GM           EQUINOX             BURBANK                   CA
69835   2GNAXJEV0J6269254   GM           EQUINOX             SAN FRANCISCO             CA
69836   2GNAXJEV0J6269318   GM           EQUINOX             HILO                      HI
69837   2GNAXJEV0J6273174   GM           EQUINOX             Newark                    NJ
69838   2GNAXJEV0J6301460   GM           EQUINOX             Mira Loma                 CA
69839   2GNAXJEV1J6189963   GM           EQUINOX             Beaverton                 OR
69840   2GNAXJEV1J6190160   GM           EQUINOX             Hayward                   CA
69841   2GNAXJEV1J6190658   GM           EQUINOX             PLEASANTON                CA
69842   2GNAXJEV1J6191034   GM           EQUINOX             TRACY                     CA
69843   2GNAXJEV1J6201111   GM           EQUINOX             Hayward                   CA
69844   2GNAXJEV1J6227689   GM           EQUINOX             Portland                  OR
69845   2GNAXJEV1J6245741   GM           EQUINOX             ORLANDO                   FL
69846   2GNAXJEV1J6259803   GM           EQUINOX             Hayward                   CA
69847   2GNAXJEV1J6260093   GM           EQUINOX             HONOLULU                  HI
69848   2GNAXJEV1J6260868   GM           EQUINOX             Hayward                   CA
69849   2GNAXJEV1J6261146   GM           EQUINOX             LIHUE                     HI
69850   2GNAXJEV1J6262104   GM           EQUINOX             TRACY                     CA
69851   2GNAXJEV1J6262118   GM           EQUINOX             Portland                  OR
69852   2GNAXJEV1J6262264   GM           EQUINOX             TRACY                     CA
69853   2GNAXJEV1J6262667   GM           EQUINOX             KAILUA‐KONA               HI
69854   2GNAXJEV1J6262913   GM           EQUINOX             TRACY                     CA
69855   2GNAXJEV1J6263723   GM           EQUINOX             TRACY                     CA
69856   2GNAXJEV1J6264970   GM           EQUINOX             SAN FRANCISCO             CA
69857   2GNAXJEV1J6267853   GM           EQUINOX             SAN FRANCISCO             CA
69858   2GNAXJEV1J6268694   GM           EQUINOX             Santa Clara               CA
69859   2GNAXJEV1J6269358   GM           EQUINOX             SAN FRANCISCO             CA
69860   2GNAXJEV1J6294504   GM           EQUINOX             SALT LAKE CITY            UT
69861   2GNAXJEV1J6301564   GM           EQUINOX             CHICAGO                   IL
69862   2GNAXJEV1J6312662   GM           EQUINOX             Miami                     FL
69863   2GNAXJEV1J6315710   GM           EQUINOX             Atlanta                   GA
69864   2GNAXJEV1J6315836   GM           EQUINOX             LOS ANGELES               CA
69865   2GNAXJEV2J6192371   GM           EQUINOX             PLEASANTON                CA
69866   2GNAXJEV2J6192676   GM           EQUINOX             North Las Vegas           NV
69867   2GNAXJEV2J6193696   GM           EQUINOX             Hayward                   CA
69868   2GNAXJEV2J6205149   GM           EQUINOX             North Dighton             MA
69869   2GNAXJEV2J6207077   GM           EQUINOX             FT LAUDERDALE             FL
69870   2GNAXJEV2J6230150   GM           EQUINOX             TRACY                     CA
69871   2GNAXJEV2J6241102   GM           EQUINOX             Davie                     FL
69872   2GNAXJEV2J6245148   GM           EQUINOX             Kahului                   HI
69873   2GNAXJEV2J6249670   GM           EQUINOX             TRACY                     CA
69874   2GNAXJEV2J6252147   GM           EQUINOX             Honolulu                  HI
69875   2GNAXJEV2J6253668   GM           EQUINOX             LIHUE AP KAUAI            HI
69876   2GNAXJEV2J6259924   GM           EQUINOX             BURBANK                   CA
69877   2GNAXJEV2J6260068   GM           EQUINOX             KAUAI                     HI
69878   2GNAXJEV2J6260796   GM           EQUINOX             KAHULUI                   HI
69879   2GNAXJEV2J6261351   GM           EQUINOX             KAHULUI                   HI
69880   2GNAXJEV2J6261642   GM           EQUINOX             Honolulu                  HI
69881   2GNAXJEV2J6261849   GM           EQUINOX             TRACY                     CA
69882   2GNAXJEV2J6262029   GM           EQUINOX             North Las Vegas           NV
69883   2GNAXJEV2J6264332   GM           EQUINOX             TRACY                     CA
69884   2GNAXJEV2J6264461   GM           EQUINOX             KAUAI                     HI
69885   2GNAXJEV2J6266422   GM           EQUINOX             Portland                  OR
69886   2GNAXJEV2J6268865   GM           EQUINOX             SAN FRANCISCO             CA
69887   2GNAXJEV2J6273211   GM           EQUINOX             Smithtown                 NY
69888   2GNAXJEV2J6301721   GM           EQUINOX             ATLANTA                   GA
69889   2GNAXJEV2J6303503   GM           EQUINOX             Rio Linda                 CA
69890   2GNAXJEV2J6314713   GM           EQUINOX             WEST PALM BEACH           FL
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69891   2GNAXJEV2J6314758   GM           EQUINOX             Manheim                   PA
69892   2GNAXJEV2J6322701   GM           EQUINOX             Manheim                   PA
69893   2GNAXJEV2J6328112   GM           EQUINOX             North Dighton             MA
69894   2GNAXJEV3J6189737   GM           EQUINOX             Hayward                   CA
69895   2GNAXJEV3J6190760   GM           EQUINOX             Hayward                   CA
69896   2GNAXJEV3J6191794   GM           EQUINOX             Hayward                   CA
69897   2GNAXJEV3J6192329   GM           EQUINOX             Hayward                   CA
69898   2GNAXJEV3J6193447   GM           EQUINOX             PLEASANTON                CA
69899   2GNAXJEV3J6193688   GM           EQUINOX             TRACY                     CA
69900   2GNAXJEV3J6198440   GM           EQUINOX             North Dighton             MA
69901   2GNAXJEV3J6247510   GM           EQUINOX             North Dighton             MA
69902   2GNAXJEV3J6248351   GM           EQUINOX             PLEASANTON                CA
69903   2GNAXJEV3J6250410   GM           EQUINOX             Portland                  OR
69904   2GNAXJEV3J6259916   GM           EQUINOX             Portland                  OR
69905   2GNAXJEV3J6260063   GM           EQUINOX             TRACY                     CA
69906   2GNAXJEV3J6260886   GM           EQUINOX             KAHULUI                   HI
69907   2GNAXJEV3J6260998   GM           EQUINOX             TRACY                     CA
69908   2GNAXJEV3J6261309   GM           EQUINOX             TRACY                     CA
69909   2GNAXJEV3J6261732   GM           EQUINOX             Hayward                   CA
69910   2GNAXJEV3J6262055   GM           EQUINOX             Kahului                   HI
69911   2GNAXJEV3J6262525   GM           EQUINOX             TRACY                     CA
69912   2GNAXJEV3J6262721   GM           EQUINOX             Honolulu                  HI
69913   2GNAXJEV3J6263271   GM           EQUINOX             North Las Vegas           NV
69914   2GNAXJEV3J6263299   GM           EQUINOX             Honolulu                  HI
69915   2GNAXJEV3J6263660   GM           EQUINOX             KAHULUI                   HI
69916   2GNAXJEV3J6263805   GM           EQUINOX             TRACY                     CA
69917   2GNAXJEV3J6264582   GM           EQUINOX             SAN FRANCISCO             CA
69918   2GNAXJEV3J6264937   GM           EQUINOX             Hilo                      HI
69919   2GNAXJEV3J6277011   GM           EQUINOX             KAUAI                     HI
69920   2GNAXJEV3J6279440   GM           EQUINOX             Oceanside                 CA
69921   2GNAXJEV3J6293693   GM           EQUINOX             GRAND RAPIDS              MI
69922   2GNAXJEV3J6300853   GM           EQUINOX             TRACY                     CA
69923   2GNAXJEV3J6327194   GM           EQUINOX             PHOENIX                   AZ
69924   2GNAXJEV3J6327440   GM           EQUINOX             North Dighton             MA
69925   2GNAXJEV4J6186894   GM           EQUINOX             PITTSBURGH                PA
69926   2GNAXJEV4J6189794   GM           EQUINOX             TRACY                     CA
69927   2GNAXJEV4J6190167   GM           EQUINOX             TRACY                     CA
69928   2GNAXJEV4J6190718   GM           EQUINOX             Hayward                   CA
69929   2GNAXJEV4J6190850   GM           EQUINOX             TRACY                     CA
69930   2GNAXJEV4J6191500   GM           EQUINOX             HAYWARD                   CA
69931   2GNAXJEV4J6192405   GM           EQUINOX             Kahului                   HI
69932   2GNAXJEV4J6202656   GM           EQUINOX             Manheim                   PA
69933   2GNAXJEV4J6202902   GM           EQUINOX             FORT LAUDERDALE           FL
69934   2GNAXJEV4J6203418   GM           EQUINOX             TAMPA                     FL
69935   2GNAXJEV4J6208697   GM           EQUINOX             North Las Vegas           NV
69936   2GNAXJEV4J6227038   GM           EQUINOX             Portland                  OR
69937   2GNAXJEV4J6228383   GM           EQUINOX             LIHUE AP KAUAI            HI
69938   2GNAXJEV4J6229128   GM           EQUINOX             KAHULUI                   HI
69939   2GNAXJEV4J6247242   GM           EQUINOX             Portland                  OR
69940   2GNAXJEV4J6248634   GM           EQUINOX             TRACY                     CA
69941   2GNAXJEV4J6250755   GM           EQUINOX             SAN FRANCISCO             CA
69942   2GNAXJEV4J6255471   GM           EQUINOX             TRACY                     CA
69943   2GNAXJEV4J6260167   GM           EQUINOX             KAHULUI                   HI
69944   2GNAXJEV4J6260685   GM           EQUINOX             HONOLULU                  HI
69945   2GNAXJEV4J6261903   GM           EQUINOX             KAUAI                     HI
69946   2GNAXJEV4J6263506   GM           EQUINOX             Hayward                   CA
69947   2GNAXJEV4J6263571   GM           EQUINOX             HONOLULU                  HI
69948   2GNAXJEV4J6263733   GM           EQUINOX             KAHULUI                   HI
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69949   2GNAXJEV4J6263974   GM           EQUINOX             Kahului                   HI
69950   2GNAXJEV4J6268236   GM           EQUINOX             Hayward                   CA
69951   2GNAXJEV4J6268365   GM           EQUINOX             North Las Vegas           NV
69952   2GNAXJEV4J6268494   GM           EQUINOX             SAN FRANCISCO             CA
69953   2GNAXJEV4J6268687   GM           EQUINOX             SAN FRANCISCO             CA
69954   2GNAXJEV4J6269046   GM           EQUINOX             Roseville                 CA
69955   2GNAXJEV4J6278796   GM           EQUINOX             Norwalk                   CA
69956   2GNAXJEV4J6301509   GM           EQUINOX             Warwick                   RI
69957   2GNAXJEV4J6312297   GM           EQUINOX             ALBUQUERQUE               NM
69958   2GNAXJEV5J6191330   GM           EQUINOX             Portland                  OR
69959   2GNAXJEV5J6206375   GM           EQUINOX             TRACY                     CA
69960   2GNAXJEV5J6227744   GM           EQUINOX             SAN FRANCISCO             CA
69961   2GNAXJEV5J6250831   GM           EQUINOX             SAN FRANCISCO             CA
69962   2GNAXJEV5J6252644   GM           EQUINOX             Portland                  OR
69963   2GNAXJEV5J6261067   GM           EQUINOX             TRACY                     CA
69964   2GNAXJEV5J6261490   GM           EQUINOX             LIHUE                     HI
69965   2GNAXJEV5J6261960   GM           EQUINOX             BURBANK                   CA
69966   2GNAXJEV5J6261988   GM           EQUINOX             SAN FRANCISCO             CA
69967   2GNAXJEV5J6263174   GM           EQUINOX             TRACY                     CA
69968   2GNAXJEV5J6263367   GM           EQUINOX             SAN FRANCISCO             CA
69969   2GNAXJEV5J6263689   GM           EQUINOX             SAN FRANCISCO             CA
69970   2GNAXJEV5J6263935   GM           EQUINOX             SAN FRANCISCO             CA
69971   2GNAXJEV5J6264454   GM           EQUINOX             Kailua Kona               HI
69972   2GNAXJEV5J6264521   GM           EQUINOX             Hayward                   CA
69973   2GNAXJEV5J6264602   GM           EQUINOX             Hilo                      HI
69974   2GNAXJEV5J6265457   GM           EQUINOX             BURBANK                   CA
69975   2GNAXJEV5J6268648   GM           EQUINOX             SAN FRANCISCO             CA
69976   2GNAXJEV5J6268715   GM           EQUINOX             Hilo                      HI
69977   2GNAXJEV5J6292044   GM           EQUINOX             San Diego                 CA
69978   2GNAXJEV6J6191319   GM           EQUINOX             TRACY                     CA
69979   2GNAXJEV6J6191546   GM           EQUINOX             Santa Clara               CA
69980   2GNAXJEV6J6192163   GM           EQUINOX             Hayward                   CA
69981   2GNAXJEV6J6260476   GM           EQUINOX             SAN FRANCISCO             CA
69982   2GNAXJEV6J6261062   GM           EQUINOX             Portland                  OR
69983   2GNAXJEV6J6261692   GM           EQUINOX             Portland                  OR
69984   2GNAXJEV6J6261708   GM           EQUINOX             HONOLULU                  HI
69985   2GNAXJEV6J6262342   GM           EQUINOX             KAHULUI                   HI
69986   2GNAXJEV6J6262471   GM           EQUINOX             North Las Vegas           NV
69987   2GNAXJEV6J6262597   GM           EQUINOX             TRACY                     CA
69988   2GNAXJEV6J6263393   GM           EQUINOX             Beaverton                 OR
69989   2GNAXJEV6J6263619   GM           EQUINOX             KAHULUI                   HI
69990   2GNAXJEV6J6264222   GM           EQUINOX             KAHULUI                   HI
69991   2GNAXJEV6J6264575   GM           EQUINOX             KAHULUI                   HI
69992   2GNAXJEV6J6266651   GM           EQUINOX             SAN FRANCISCO             CA
69993   2GNAXJEV6J6280498   GM           EQUINOX             Fontana                   CA
69994   2GNAXJEV6J6289587   GM           EQUINOX             TAMPA                     FL
69995   2GNAXJEV6J6311023   GM           EQUINOX             Manheim                   PA
69996   2GNAXJEV6J6325133   GM           EQUINOX             ORLANDO                   FL
69997   2GNAXJEV7J6189997   GM           EQUINOX             TRACY                     CA
69998   2GNAXJEV7J6190129   GM           EQUINOX             Hayward                   CA
69999   2GNAXJEV7J6190504   GM           EQUINOX             SAN FRANCISCO             CA
70000   2GNAXJEV7J6191104   GM           EQUINOX             TRACY                     CA
70001   2GNAXJEV7J6192804   GM           EQUINOX             TRACY                     CA
70002   2GNAXJEV7J6210041   GM           EQUINOX             Statesville               NC
70003   2GNAXJEV7J6246537   GM           EQUINOX             Hilo                      HI
70004   2GNAXJEV7J6250880   GM           EQUINOX             BURBANK                   CA
70005   2GNAXJEV7J6260003   GM           EQUINOX             SAN FRANCISCO             CA
70006   2GNAXJEV7J6260311   GM           EQUINOX             Portland                  OR
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70007   2GNAXJEV7J6260471   GM           EQUINOX             KAHULUI                   HI
70008   2GNAXJEV7J6260566   GM           EQUINOX             TRACY                     CA
70009   2GNAXJEV7J6260714   GM           EQUINOX             KAHULUI                   HI
70010   2GNAXJEV7J6260860   GM           EQUINOX             KAUAI                     HI
70011   2GNAXJEV7J6261118   GM           EQUINOX             Hayward                   CA
70012   2GNAXJEV7J6261314   GM           EQUINOX             SAN FRANCISCO             CA
70013   2GNAXJEV7J6261751   GM           EQUINOX             LIHUE                     HI
70014   2GNAXJEV7J6261913   GM           EQUINOX             Beaverton                 OR
70015   2GNAXJEV7J6262219   GM           EQUINOX             S. San Francisc           CA
70016   2GNAXJEV7J6262530   GM           EQUINOX             HONOLULU                  HI
70017   2GNAXJEV7J6262771   GM           EQUINOX             SAN FRANCISCO             CA
70018   2GNAXJEV7J6263239   GM           EQUINOX             SAN FRANCISCO             CA
70019   2GNAXJEV7J6263760   GM           EQUINOX             North Las Vegas           NV
70020   2GNAXJEV7J6263869   GM           EQUINOX             Hilo                      HI
70021   2GNAXJEV7J6264391   GM           EQUINOX             LIHUE AP KAUAI            HI
70022   2GNAXJEV7J6314819   GM           EQUINOX             Cleveland                 OH
70023   2GNAXJEV7J6315601   GM           EQUINOX             TAMPA                     FL
70024   2GNAXJEV8J6191662   GM           EQUINOX             Hayward                   CA
70025   2GNAXJEV8J6192231   GM           EQUINOX             Hayward                   CA
70026   2GNAXJEV8J6247325   GM           EQUINOX             Hayward                   CA
70027   2GNAXJEV8J6253660   GM           EQUINOX             KAUAI                     HI
70028   2GNAXJEV8J6260494   GM           EQUINOX             KAUAI                     HI
70029   2GNAXJEV8J6260656   GM           EQUINOX             SAN FRANCISCO             CA
70030   2GNAXJEV8J6260947   GM           EQUINOX             North Las Vegas           NV
70031   2GNAXJEV8J6261273   GM           EQUINOX             SAN FRANCISCO             CA
70032   2GNAXJEV8J6262312   GM           EQUINOX             BURBANK                   CA
70033   2GNAXJEV8J6262522   GM           EQUINOX             North Las Vegas           NV
70034   2GNAXJEV8J6262701   GM           EQUINOX             KAUAI                     HI
70035   2GNAXJEV8J6263184   GM           EQUINOX             KAHULUI                   HI
70036   2GNAXJEV8J6263234   GM           EQUINOX             KAHULUI MAUI              HI
70037   2GNAXJEV8J6263315   GM           EQUINOX             North Las Vegas           NV
70038   2GNAXJEV8J6263413   GM           EQUINOX             TRACY                     CA
70039   2GNAXJEV8J6263668   GM           EQUINOX             TRACY                     CA
70040   2GNAXJEV8J6264285   GM           EQUINOX             SAN FRANCISCO             CA
70041   2GNAXJEV8J6269079   GM           EQUINOX             HILO                      HI
70042   2GNAXJEV8J6310553   GM           EQUINOX             North Dighton             MA
70043   2GNAXJEV8J6314120   GM           EQUINOX             MIAMI                     FL
70044   2GNAXJEV8J6323481   GM           EQUINOX             NEW BERN                  NC
70045   2GNAXJEV9J6190102   GM           EQUINOX             PLEASANTON                CA
70046   2GNAXJEV9J6190407   GM           EQUINOX             Fontana                   CA
70047   2GNAXJEV9J6191895   GM           EQUINOX             SAN FRANCISCO             CA
70048   2GNAXJEV9J6192271   GM           EQUINOX             Hayward                   CA
70049   2GNAXJEV9J6192299   GM           EQUINOX             TRACY                     CA
70050   2GNAXJEV9J6194067   GM           EQUINOX             KAHULUI                   HI
70051   2GNAXJEV9J6194098   GM           EQUINOX             Hayward                   CA
70052   2GNAXJEV9J6244840   GM           EQUINOX             Hayward                   CA
70053   2GNAXJEV9J6260245   GM           EQUINOX             LIHUE                     HI
70054   2GNAXJEV9J6260374   GM           EQUINOX             TRACY                     CA
70055   2GNAXJEV9J6260522   GM           EQUINOX             TRACY                     CA
70056   2GNAXJEV9J6260729   GM           EQUINOX             Portland                  OR
70057   2GNAXJEV9J6260794   GM           EQUINOX             HONOLULU                  HI
70058   2GNAXJEV9J6260939   GM           EQUINOX             LIHUE                     HI
70059   2GNAXJEV9J6261993   GM           EQUINOX             TRACY                     CA
70060   2GNAXJEV9J6263114   GM           EQUINOX             KAHULUI                   HI
70061   2GNAXJEV9J6263243   GM           EQUINOX             TRACY                     CA
70062   2GNAXJEV9J6263940   GM           EQUINOX             SAN FRANCISCO             CA
70063   2GNAXJEV9J6264263   GM           EQUINOX             HONOLULU                  HI
70064   2GNAXJEV9J6264361   GM           EQUINOX             HONOLULU                  HI
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70065   2GNAXJEV9J6264781   GM           EQUINOX             Hilo                      HI
70066   2GNAXJEV9J6265168   GM           EQUINOX             SAN FRANCISCO             CA
70067   2GNAXJEV9J6266353   GM           EQUINOX             MESQUITE                  TX
70068   2GNAXJEV9J6274310   GM           EQUINOX             KAHULUI                   HI
70069   2GNAXJEV9J6291379   GM           EQUINOX             College Park              GA
70070   2GNAXJEV9J6292452   GM           EQUINOX             WEST PALM BEACH           FL
70071   2GNAXJEV9J6311016   GM           EQUINOX             Burien                    WA
70072   2GNAXJEV9J6311288   GM           EQUINOX             TAMPA                     FL
70073   2GNAXJEV9J6325658   GM           EQUINOX             FORT MYERS                FL
70074   2GNAXJEVXJ6190819   GM           EQUINOX             Hayward                   CA
70075   2GNAXJEVXJ6191792   GM           EQUINOX             SAN FRANCISCO             CA
70076   2GNAXJEVXJ6192277   GM           EQUINOX             Hayward                   CA
70077   2GNAXJEVXJ6193011   GM           EQUINOX             Lihue                     HI
70078   2GNAXJEVXJ6202290   GM           EQUINOX             COLUMBIA                  SC
70079   2GNAXJEVXJ6203682   GM           EQUINOX             ATLANTA                   GA
70080   2GNAXJEVXJ6229196   GM           EQUINOX             Portland                  OR
70081   2GNAXJEVXJ6230199   GM           EQUINOX             TRACY                     CA
70082   2GNAXJEVXJ6244751   GM           EQUINOX             Kahului                   HI
70083   2GNAXJEVXJ6250839   GM           EQUINOX             SAN FRANCISCO             CA
70084   2GNAXJEVXJ6260027   GM           EQUINOX             SAN FRANCISCO             CA
70085   2GNAXJEVXJ6260044   GM           EQUINOX             TRACY                     CA
70086   2GNAXJEVXJ6260433   GM           EQUINOX             SAN FRANCISCO             CA
70087   2GNAXJEVXJ6260951   GM           EQUINOX             KAHULUI                   HI
70088   2GNAXJEVXJ6261212   GM           EQUINOX             HONOLULU                  HI
70089   2GNAXJEVXJ6261288   GM           EQUINOX             SAN FRANCISCO             CA
70090   2GNAXJEVXJ6261307   GM           EQUINOX             KAHULUI                   HI
70091   2GNAXJEVXJ6261551   GM           EQUINOX             TRACY                     CA
70092   2GNAXJEVXJ6261775   GM           EQUINOX             TRACY                     CA
70093   2GNAXJEVXJ6262182   GM           EQUINOX             TRACY                     CA
70094   2GNAXJEVXJ6262358   GM           EQUINOX             TRACY                     CA
70095   2GNAXJEVXJ6262408   GM           EQUINOX             SAN FRANCISCO             CA
70096   2GNAXJEVXJ6262473   GM           EQUINOX             KAHULUI                   HI
70097   2GNAXJEVXJ6262926   GM           EQUINOX             WAIMEA                    HI
70098   2GNAXJEVXJ6263090   GM           EQUINOX             LIHUE AP KAUAI            HI
70099   2GNAXJEVXJ6264336   GM           EQUINOX             Portland                  OR
70100   2GNAXJEVXJ6265728   GM           EQUINOX             Portland                  OR
70101   2GNAXJEVXJ6268497   GM           EQUINOX             SAN FRANCISCO             CA
70102   2GNAXJEVXJ6268757   GM           EQUINOX             SAN FRANCISCO             CA
70103   2GNAXJEVXJ6282075   GM           EQUINOX             Oakland                   CA
70104   2GNAXJEVXJ6311588   GM           EQUINOX             COLORADO SPRINGS          CO
70105   2GNAXJEVXJ6311848   GM           EQUINOX             Davie                     FL
70106   2GNAXKEV0K6163068   GM           EQUINOX             LOS ANGELES               CA
70107   2GNAXKEV0K6164026   GM           EQUINOX             LOS ANGELES               CA
70108   2GNAXKEV0K6165113   GM           EQUINOX             PHOENIX                   AZ
70109   2GNAXKEV0K6165757   GM           EQUINOX             BURBANK                   CA
70110   2GNAXKEV0K6166794   GM           EQUINOX             Bensalem                  PA
70111   2GNAXKEV0K6168044   GM           EQUINOX             Sacramento                CA
70112   2GNAXKEV0K6169310   GM           EQUINOX             EL SEGUNDO                CA
70113   2GNAXKEV0K6169629   GM           EQUINOX             HOUSTON                   TX
70114   2GNAXKEV0K6176323   GM           EQUINOX             SARASOTA                  FL
70115   2GNAXKEV0K6178492   GM           EQUINOX             TAMPA                     FL
70116   2GNAXKEV0K6179643   GM           EQUINOX             DETROIT                   MI
70117   2GNAXKEV0K6198628   GM           EQUINOX             SOUTHEAST DST OFFC        OK
70118   2GNAXKEV0K6199794   GM           EQUINOX             FORT LAUDERDALE           FL
70119   2GNAXKEV0K6245446   GM           EQUINOX             CHICAGO                   IL
70120   2GNAXKEV0K6246824   GM           EQUINOX             SAN ANTONIO               TX
70121   2GNAXKEV0K6248038   GM           EQUINOX             PHOENIX                   AZ
70122   2GNAXKEV0L6200055   GM           EQUINOX             Las Vegas                 NV
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70123   2GNAXKEV0L6207488   GM           EQUINOX             NEW BERN                  NC
70124   2GNAXKEV0L6207779   GM           EQUINOX             WARWICK                   RI
70125   2GNAXKEV0L6209113   GM           EQUINOX             MILWAUKEE                 WI
70126   2GNAXKEV0L6210522   GM           EQUINOX             WEST COLUMBIA             SC
70127   2GNAXKEV1K6163113   GM           EQUINOX             LOS ANGELES               CA
70128   2GNAXKEV1K6163306   GM           EQUINOX             Philadelphia              PA
70129   2GNAXKEV1K6164648   GM           EQUINOX             SAN DIEGO                 CA
70130   2GNAXKEV1K6165900   GM           EQUINOX             SEATAC                    WA
70131   2GNAXKEV1K6165931   GM           EQUINOX             SACRAMENTO                CA
70132   2GNAXKEV1K6169039   GM           EQUINOX             Roseville                 CA
70133   2GNAXKEV1K6169266   GM           EQUINOX             Hayward                   CA
70134   2GNAXKEV1K6169445   GM           EQUINOX             PHOENIX                   AZ
70135   2GNAXKEV1K6169672   GM           EQUINOX             Detroit                   MI
70136   2GNAXKEV1K6170255   GM           EQUINOX             BURBANK                   CA
70137   2GNAXKEV1K6199867   GM           EQUINOX             DALLAS                    TX
70138   2GNAXKEV1K6225576   GM           EQUINOX             KALAOA                    HI
70139   2GNAXKEV1K6293408   GM           EQUINOX             Oklahoma City             OK
70140   2GNAXKEV1L6212358   GM           EQUINOX             RALEIGH                   NC
70141   2GNAXKEV2K6163380   GM           EQUINOX             CHICAGO                   IL
70142   2GNAXKEV2K6164190   GM           EQUINOX             SANTA ANA                 CA
70143   2GNAXKEV2K6164965   GM           EQUINOX             OAKLAND                   CA
70144   2GNAXKEV2K6166358   GM           EQUINOX             SAN FRANCISCO             CA
70145   2GNAXKEV2K6166389   GM           EQUINOX             PHOENIX                   AZ
70146   2GNAXKEV2K6166585   GM           EQUINOX             SAN DIEGO                 CA
70147   2GNAXKEV2K6167929   GM           EQUINOX             DENVER                    CO
70148   2GNAXKEV2K6169762   GM           EQUINOX             SALT LAKE CITY            US
70149   2GNAXKEV2K6182138   GM           EQUINOX             WHITE PLAINS              NY
70150   2GNAXKEV2K6194838   GM           EQUINOX             FORT MYERS                FL
70151   2GNAXKEV2K6199442   GM           EQUINOX             HOUSTON                   TX
70152   2GNAXKEV2K6200623   GM           EQUINOX             KENNER                    LA
70153   2GNAXKEV2K6225473   GM           EQUINOX             KALAOA                    HI
70154   2GNAXKEV2K6301757   GM           EQUINOX             TAMPA                     FL
70155   2GNAXKEV2L6203488   GM           EQUINOX             LIHUE                     HI
70156   2GNAXKEV2L6209257   GM           EQUINOX             SAINT PAUL                MN
70157   2GNAXKEV2L6224227   GM           EQUINOX             FORT MYERS                FL
70158   2GNAXKEV3K6163596   GM           EQUINOX             LAS VEGAS                 NV
70159   2GNAXKEV3K6165090   GM           EQUINOX             LOS ANGELES               CA
70160   2GNAXKEV3K6166837   GM           EQUINOX             SAN DIEGO                 CA
70161   2GNAXKEV3K6167759   GM           EQUINOX             PHOENIX                   AZ
70162   2GNAXKEV3K6168006   GM           EQUINOX             NORFOLK                   VA
70163   2GNAXKEV3K6168751   GM           EQUINOX             SHREVEPORT                LA
70164   2GNAXKEV3K6169222   GM           EQUINOX             SAINT PAUL                MN
70165   2GNAXKEV3K6179118   GM           EQUINOX             FORT LAUDERDALE           FL
70166   2GNAXKEV3K6180348   GM           EQUINOX             Ft. Myers                 FL
70167   2GNAXKEV3K6193794   GM           EQUINOX             Orlando                   FL
70168   2GNAXKEV3K6196923   GM           EQUINOX             COLLEGE PARK              GA
70169   2GNAXKEV3K6198042   GM           EQUINOX             San Antonio               TX
70170   2GNAXKEV3K6200677   GM           EQUINOX             FLORIDA DEALER DIR        FL
70171   2GNAXKEV3K6226387   GM           EQUINOX             KAILUA‐KONA               HI
70172   2GNAXKEV3K6249782   GM           EQUINOX             SARASOTA                  FL
70173   2GNAXKEV3K6284225   GM           EQUINOX             SAN ANTONIO               TX
70174   2GNAXKEV3K6296147   GM           EQUINOX             DALLAS                    TX
70175   2GNAXKEV3L6136951   GM           EQUINOX             Davie                     FL
70176   2GNAXKEV3L6202141   GM           EQUINOX             MEMPHIS                   TN
70177   2GNAXKEV3L6202446   GM           EQUINOX             FORT MYERS                FL
70178   2GNAXKEV3L6203046   GM           EQUINOX             Oklahoma City             OK
70179   2GNAXKEV3L6210160   GM           EQUINOX             MILWAUKEE                 WI
70180   2GNAXKEV4K6163283   GM           EQUINOX             SAN DIEGO                 CA
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70181   2GNAXKEV4K6163364   GM           EQUINOX             PHOENIX                   AZ
70182   2GNAXKEV4K6164451   GM           EQUINOX             PHOENIX                   AZ
70183   2GNAXKEV4K6165101   GM           EQUINOX             SACRAMENTO                CA
70184   2GNAXKEV4K6166541   GM           EQUINOX             Roseville                 CA
70185   2GNAXKEV4K6168483   GM           EQUINOX             BOZEMAN                   MT
70186   2GNAXKEV4K6176261   GM           EQUINOX             WEST PALM BEACH           FL
70187   2GNAXKEV4K6193853   GM           EQUINOX             FORT MYERS                FL
70188   2GNAXKEV4K6197885   GM           EQUINOX             ST Paul                   MN
70189   2GNAXKEV4K6199135   GM           EQUINOX             SACRAMENTO                CA
70190   2GNAXKEV4K6199989   GM           EQUINOX             LOS ANGELES AP            CA
70191   2GNAXKEV4K6243053   GM           EQUINOX             Nashville                 TN
70192   2GNAXKEV4K6276022   GM           EQUINOX             PORTLAND                  OR
70193   2GNAXKEV4K6299395   GM           EQUINOX             Dallas                    TX
70194   2GNAXKEV4L6202472   GM           EQUINOX             ALBANY                    NY
70195   2GNAXKEV4L6203363   GM           EQUINOX             MEMPHIS                   TN
70196   2GNAXKEV4L6204450   GM           EQUINOX             RICHMOND                  VA
70197   2GNAXKEV4L6206229   GM           EQUINOX             DALLAS                    TX
70198   2GNAXKEV5K6163678   GM           EQUINOX             LOS ANGELES               CA
70199   2GNAXKEV5K6163700   GM           EQUINOX             LOS ANGELES               CA
70200   2GNAXKEV5K6167441   GM           EQUINOX             DES PLAINES               IL
70201   2GNAXKEV5K6193022   GM           EQUINOX             SALT LAKE CITY            UT
70202   2GNAXKEV5K6193652   GM           EQUINOX             SAN JOSE                  CA
70203   2GNAXKEV5K6195708   GM           EQUINOX             DALLAS                    TX
70204   2GNAXKEV5K6217514   GM           EQUINOX             DES MOINES                IA
70205   2GNAXKEV5K6227377   GM           EQUINOX             Kailua‐Kona               HI
70206   2GNAXKEV5K6227802   GM           EQUINOX             Kailua‐Kona               HI
70207   2GNAXKEV5K6246379   GM           EQUINOX             DFW AIRPORT               TX
70208   2GNAXKEV5K6250223   GM           EQUINOX             COLLEGE PARK              GA
70209   2GNAXKEV5K6277518   GM           EQUINOX             KENNER                    LA
70210   2GNAXKEV5K6288101   GM           EQUINOX             San Antonio               TX
70211   2GNAXKEV5K6295338   GM           EQUINOX             Woodhaven                 MI
70212   2GNAXKEV5K6301767   GM           EQUINOX             Austin                    TX
70213   2GNAXKEV5L6181129   GM           EQUINOX             ORLANDO                   FL
70214   2GNAXKEV5L6200696   GM           EQUINOX             ONTARIO                   CA
70215   2GNAXKEV6K6164855   GM           EQUINOX             PHOENIX                   AZ
70216   2GNAXKEV6K6166024   GM           EQUINOX             PHOENIX                   AZ
70217   2GNAXKEV6K6166346   GM           EQUINOX             PHOENIX                   AZ
70218   2GNAXKEV6K6166377   GM           EQUINOX             Ventura                   CA
70219   2GNAXKEV6K6166783   GM           EQUINOX             SAN FRANCISCO             CA
70220   2GNAXKEV6K6167335   GM           EQUINOX             SAN FRANCISCO             CA
70221   2GNAXKEV6K6167495   GM           EQUINOX             DES MOINES                IA
70222   2GNAXKEV6K6168176   GM           EQUINOX             Dallas                    TX
70223   2GNAXKEV6K6169134   GM           EQUINOX             Phoenix                   AZ
70224   2GNAXKEV6K6178609   GM           EQUINOX             STERLING                  VA
70225   2GNAXKEV6K6193563   GM           EQUINOX             Rio Linda                 CA
70226   2GNAXKEV6K6197127   GM           EQUINOX             Sterling                  VA
70227   2GNAXKEV6K6198343   GM           EQUINOX             LOS ANGELES               CA
70228   2GNAXKEV6K6227193   GM           EQUINOX             WAIMEA                    HI
70229   2GNAXKEV6K6245645   GM           EQUINOX             ELKRIDGE                  MD
70230   2GNAXKEV6K6252286   GM           EQUINOX             DALLAS                    TX
70231   2GNAXKEV6L6201517   GM           EQUINOX             Hebron                    KY
70232   2GNAXKEV6L6203428   GM           EQUINOX             PENSACOLA                 FL
70233   2GNAXKEV6L6204790   GM           EQUINOX             KENNER                    LA
70234   2GNAXKEV6L6211058   GM           EQUINOX             MOBILE                    AL
70235   2GNAXKEV6L6222898   GM           EQUINOX             FORT LAUDERDALE           FL
70236   2GNAXKEV7K6163942   GM           EQUINOX             DALLAS                    TX
70237   2GNAXKEV7K6164928   GM           EQUINOX             LOS ANGELES AP            CA
70238   2GNAXKEV7K6165416   GM           EQUINOX             Dallas                    TX
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70239   2GNAXKEV7K6165786   GM           EQUINOX             New York                  NY
70240   2GNAXKEV7K6166291   GM           EQUINOX             WICHITA FALLS             TX
70241   2GNAXKEV7K6168848   GM           EQUINOX             Rio Linda                 CA
70242   2GNAXKEV7K6197816   GM           EQUINOX             HUNTSVILLE                AL
70243   2GNAXKEV7K6246240   GM           EQUINOX             Dallas                    TX
70244   2GNAXKEV7K6249056   GM           EQUINOX             SHREVEPORT                LA
70245   2GNAXKEV7K6286740   GM           EQUINOX             Slidell                   LA
70246   2GNAXKEV7L6210310   GM           EQUINOX             BURBANK                   CA
70247   2GNAXKEV8K6163268   GM           EQUINOX             KEY WEST                  FL
70248   2GNAXKEV8K6163321   GM           EQUINOX             BOSTON                    MA
70249   2GNAXKEV8K6164369   GM           EQUINOX             PALM SPRINGS              CA
70250   2GNAXKEV8K6165375   GM           EQUINOX             Hayward                   CA
70251   2GNAXKEV8K6166011   GM           EQUINOX             LOS ANGELES               CA
70252   2GNAXKEV8K6166817   GM           EQUINOX             North Dighton             MA
70253   2GNAXKEV8K6166932   GM           EQUINOX             Torrance                  CA
70254   2GNAXKEV8K6175856   GM           EQUINOX             Tampa                     FL
70255   2GNAXKEV8K6176523   GM           EQUINOX             MERRIVILLE                IN
70256   2GNAXKEV8K6177350   GM           EQUINOX             SOUTHEAST DST OFFC        OK
70257   2GNAXKEV8K6177588   GM           EQUINOX             RICHMOND                  VA
70258   2GNAXKEV8K6182001   GM           EQUINOX             FORT LAUDERDALE           FL
70259   2GNAXKEV8K6194200   GM           EQUINOX             KNOXVILLE                 TN
70260   2GNAXKEV8K6195055   GM           EQUINOX             KENNER                    LA
70261   2GNAXKEV8K6196576   GM           EQUINOX             ORLANDO                   FL
70262   2GNAXKEV8K6198778   GM           EQUINOX             Atlanta                   GA
70263   2GNAXKEV8K6244285   GM           EQUINOX             Beaverton                 OR
70264   2GNAXKEV8K6262320   GM           EQUINOX             RALEIGH                   NC
70265   2GNAXKEV8K6296161   GM           EQUINOX             SAN ANTONIO               TX
70266   2GNAXKEV8K6303500   GM           EQUINOX             Austin                    TX
70267   2GNAXKEV8K6305165   GM           EQUINOX             Tulsa                     OK
70268   2GNAXKEV8L6211286   GM           EQUINOX             BOISE                     ID
70269   2GNAXKEV8L6212843   GM           EQUINOX             CHICAGO                   IL
70270   2GNAXKEV9K6163151   GM           EQUINOX             BURBANK                   CA
70271   2GNAXKEV9K6163621   GM           EQUINOX             LOS ANGELES               CA
70272   2GNAXKEV9K6163859   GM           EQUINOX             LOS ANGELES               CA
70273   2GNAXKEV9K6163909   GM           EQUINOX             SAN DIEGO                 CA
70274   2GNAXKEV9K6164266   GM           EQUINOX             ORANGE COUNTY             CA
70275   2GNAXKEV9K6165451   GM           EQUINOX             FRESNO                    CA
70276   2GNAXKEV9K6166907   GM           EQUINOX             San Diego                 CA
70277   2GNAXKEV9K6167426   GM           EQUINOX             ANDREWS                   TX
70278   2GNAXKEV9K6167619   GM           EQUINOX             SALT LAKE CITY            UT
70279   2GNAXKEV9K6168382   GM           EQUINOX             SALT LAKE CITY            US
70280   2GNAXKEV9K6169371   GM           EQUINOX             SAN DIEGO                 CA
70281   2GNAXKEV9K6169399   GM           EQUINOX             ONTARIO                   CA
70282   2GNAXKEV9K6169659   GM           EQUINOX             KNOXVILLE                 TN
70283   2GNAXKEV9K6181357   GM           EQUINOX             TAMPA                     US
70284   2GNAXKEV9K6193928   GM           EQUINOX             CLEVELAND                 OH
70285   2GNAXKEV9K6242982   GM           EQUINOX             MARY ESTHER               FL
70286   2GNAXKEV9K6296279   GM           EQUINOX             Slidell                   LA
70287   2GNAXKEV9L6201558   GM           EQUINOX             KENNER                    LA
70288   2GNAXKEV9L6201849   GM           EQUINOX             CHICAGO                   IL
70289   2GNAXKEV9L6201916   GM           EQUINOX             PASCO                     WA
70290   2GNAXKEV9L6202161   GM           EQUINOX             Fontana                   CA
70291   2GNAXKEV9L6205450   GM           EQUINOX             LOUISVILLE                KY
70292   2GNAXKEV9L6205478   GM           EQUINOX             PALM SPRINGS              CA
70293   2GNAXKEVXK6163787   GM           EQUINOX             INGLEWOOD                 CA
70294   2GNAXKEVXK6165362   GM           EQUINOX             PHOENIX                   AZ
70295   2GNAXKEVXK6166432   GM           EQUINOX             SAN DIEGO                 CA
70296   2GNAXKEVXK6169069   GM           EQUINOX             SAN DIEGO                 CA
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70297   2GNAXKEVXK6170335   GM          EQUINOX             BURBANK                   CA
70298   2GNAXKEVXK6182047   GM          EQUINOX             MIAMI                     FL
70299   2GNAXKEVXK6195090   GM          EQUINOX             CHICAGO O'HARE AP         IL
70300   2GNAXKEVXK6198541   GM          EQUINOX             TAMPA                     FL
70301   2GNAXKEVXK6295254   GM          EQUINOX             Lynn                      MA
70302   2GNAXKEVXK6296291   GM          EQUINOX             KENNER                    LA
70303   2GNAXKEVXK6302915   GM          EQUINOX             MOSINEE                   WI
70304   2GNAXKEVXL6205182   GM          EQUINOX             Tulsa                     OK
70305   2GNAXMEV2J6289782   GM          EQUINOX             Dallas                    TX
70306   2GNAXPEX2K6247584   GM          EQUINOX             DENVER                    CO
70307   2GNAXPEX3K6277385   GM          EQUINOX             Fort Worth                TX
70308   2GNAXPEX9K6306131   GM          EQUINOX             Hayward                   CA
70309   2GNAXSEV0J6243209   GM          EQUINOX             ORLANDO                   FL
70310   2GNAXSEV0J6248684   GM          EQUINOX             Statesville               NC
70311   2GNAXSEV0J6268143   GM          EQUINOX             Fontana                   CA
70312   2GNAXSEV0J6268675   GM          EQUINOX             North Dighton             MA
70313   2GNAXSEV0J6269230   GM          EQUINOX             DAYTONA BEACH             FL
70314   2GNAXSEV0J6295813   GM          EQUINOX             Kahului                   HI
70315   2GNAXSEV0J6309922   GM          EQUINOX             Ft. Myers                 FL
70316   2GNAXSEV0J6311699   GM          EQUINOX             Greensboro                NC
70317   2GNAXSEV0J6322119   GM          EQUINOX             Atlanta                   GA
70318   2GNAXSEV0J6322556   GM          EQUINOX             MONROE                    NC
70319   2GNAXSEV0J6326414   GM          EQUINOX             Pasadena                  CA
70320   2GNAXSEV0J6326705   GM          EQUINOX             Woodhaven                 MI
70321   2GNAXSEV0J6326879   GM          EQUINOX             WEST PALM BEACH           FL
70322   2GNAXSEV0J6328874   GM          EQUINOX             Ventura                   CA
70323   2GNAXSEV1J6206315   GM          EQUINOX             ORLANDO                   FL
70324   2GNAXSEV1J6241792   GM          EQUINOX             MIAMI                     FL
70325   2GNAXSEV1J6249035   GM          EQUINOX             NEWARK                    NJ
70326   2GNAXSEV1J6291852   GM          EQUINOX             WEST PALM BEACH           FL
70327   2GNAXSEV1J6292161   GM          EQUINOX             KAUAI                     HI
70328   2GNAXSEV1J6295027   GM          EQUINOX             KAUAI                     HI
70329   2GNAXSEV1J6295044   GM          EQUINOX             Jacksonville              FL
70330   2GNAXSEV1J6300520   GM          EQUINOX             Bensalem                  PA
70331   2GNAXSEV1J6307452   GM          EQUINOX             LAS VEGAS                 NV
70332   2GNAXSEV1J6309590   GM          EQUINOX             FORT MYERS                FL
70333   2GNAXSEV1J6310707   GM          EQUINOX             Elkridge                  MD
70334   2GNAXSEV1J6314935   GM          EQUINOX             KNOXVILLE                 TN
70335   2GNAXSEV1J6316037   GM          EQUINOX             RONKONKOMA                NY
70336   2GNAXSEV1J6320587   GM          EQUINOX             SARASOTA                  FL
70337   2GNAXSEV1J6322842   GM          EQUINOX             PHILADELPHIA              PA
70338   2GNAXSEV2J6206274   GM          EQUINOX             Davie                     FL
70339   2GNAXSEV2J6242725   GM          EQUINOX             Ft. Myers                 FL
70340   2GNAXSEV2J6275935   GM          EQUINOX             North Dighton             MA
70341   2GNAXSEV2J6276096   GM          EQUINOX             Palm Springs              CA
70342   2GNAXSEV2J6282660   GM          EQUINOX             BOSTON                    MA
70343   2GNAXSEV2J6292377   GM          EQUINOX             CLOVIS                    CA
70344   2GNAXSEV2J6293187   GM          EQUINOX             Statesville               NC
70345   2GNAXSEV2J6293657   GM          EQUINOX             Smithtown                 NY
70346   2GNAXSEV2J6296008   GM          EQUINOX             Hayward                   CA
70347   2GNAXSEV2J6296011   GM          EQUINOX             SAN DIEGO                 CA
70348   2GNAXSEV2J6304169   GM          EQUINOX             Portland                  OR
70349   2GNAXSEV2J6315740   GM          EQUINOX             PHILADELPHIA              PA
70350   2GNAXSEV2J6316063   GM          EQUINOX             SOUTHEAST DST OFFC        OK
70351   2GNAXSEV3J6223312   GM          EQUINOX             Atlanta                   GA
70352   2GNAXSEV3J6265608   GM          EQUINOX             Warminster                PA
70353   2GNAXSEV3J6268332   GM          EQUINOX             Winter Park               FL
70354   2GNAXSEV3J6276396   GM          EQUINOX             Hanover                   MD
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70355   2GNAXSEV3J6282960   GM           EQUINOX             TRACY                     CA
70356   2GNAXSEV3J6291870   GM           EQUINOX             Ventura                   CA
70357   2GNAXSEV3J6291948   GM           EQUINOX             Statesville               NC
70358   2GNAXSEV3J6292467   GM           EQUINOX             KAHULUI                   HI
70359   2GNAXSEV3J6293635   GM           EQUINOX             Honolulu                  HI
70360   2GNAXSEV3J6293750   GM           EQUINOX             Chicago                   IL
70361   2GNAXSEV3J6310417   GM           EQUINOX             Clarksville               IN
70362   2GNAXSEV3J6312331   GM           EQUINOX             CHARLOTTESVILLE           VA
70363   2GNAXSEV3J6313043   GM           EQUINOX             SAINT PAUL                MN
70364   2GNAXSEV3J6315195   GM           EQUINOX             SAN JOSE                  CA
70365   2GNAXSEV3J6322518   GM           EQUINOX             TRACY                     CA
70366   2GNAXSEV3J6324009   GM           EQUINOX             CHARLOTTE                 NC
70367   2GNAXSEV3J6327086   GM           EQUINOX             SEATTLE                   WA
70368   2GNAXSEV4J6201562   GM           EQUINOX             Manheim                   PA
70369   2GNAXSEV4J6263348   GM           EQUINOX             North Dighton             MA
70370   2GNAXSEV4J6270882   GM           EQUINOX             Bordentown                NJ
70371   2GNAXSEV4J6272938   GM           EQUINOX             Woodhaven                 MI
70372   2GNAXSEV4J6273832   GM           EQUINOX             FORT MYERS                FL
70373   2GNAXSEV4J6286080   GM           EQUINOX             PHILADELPHIA              PA
70374   2GNAXSEV4J6292882   GM           EQUINOX             Hilo                      HI
70375   2GNAXSEV4J6293417   GM           EQUINOX             KAHULUI                   HI
70376   2GNAXSEV4J6293515   GM           EQUINOX             UNION CITY                GA
70377   2GNAXSEV4J6294566   GM           EQUINOX             SAN FRANCISCO             CA
70378   2GNAXSEV4J6295166   GM           EQUINOX             KAHULUI                   HI
70379   2GNAXSEV4J6304254   GM           EQUINOX             Rio Linda                 CA
70380   2GNAXSEV4J6313746   GM           EQUINOX             Rockville Centr           NY
70381   2GNAXSEV4J6314752   GM           EQUINOX             SAN DIEGO                 CA
70382   2GNAXSEV4J6320650   GM           EQUINOX             Manheim                   PA
70383   2GNAXSEV4J6325766   GM           EQUINOX             FORT MYERS                FL
70384   2GNAXSEV5J6212926   GM           EQUINOX             Greensboro                NC
70385   2GNAXSEV5J6266095   GM           EQUINOX             BOSTON                    MA
70386   2GNAXSEV5J6267442   GM           EQUINOX             TAMPA                     FL
70387   2GNAXSEV5J6274701   GM           EQUINOX             DAYTONA BEACH             FL
70388   2GNAXSEV5J6279882   GM           EQUINOX             Davie                     FL
70389   2GNAXSEV5J6289294   GM           EQUINOX             Florissant                MO
70390   2GNAXSEV5J6291496   GM           EQUINOX             Memphis                   TN
70391   2GNAXSEV5J6311195   GM           EQUINOX             LOS ANGELES               CA
70392   2GNAXSEV5J6312377   GM           EQUINOX             TAMPA                     FL
70393   2GNAXSEV6J6267837   GM           EQUINOX             North Dighton             MA
70394   2GNAXSEV6J6268986   GM           EQUINOX             Atlanta                   GA
70395   2GNAXSEV6J6280393   GM           EQUINOX             Manheim                   PA
70396   2GNAXSEV6J6288784   GM           EQUINOX             FEDERAL WAY               WA
70397   2GNAXSEV6J6291927   GM           EQUINOX             LIHUE                     HI
70398   2GNAXSEV6J6293502   GM           EQUINOX             LIHUE AP KAUAI            HI
70399   2GNAXSEV6J6295590   GM           EQUINOX             SAN FRANCISCO             CA
70400   2GNAXSEV6J6295699   GM           EQUINOX             Fontana                   CA
70401   2GNAXSEV6J6295993   GM           EQUINOX             Las Vegas                 NV
70402   2GNAXSEV6J6308970   GM           EQUINOX             LOS ANGELES               CA
70403   2GNAXSEV6J6311643   GM           EQUINOX             Jacksonville              FL
70404   2GNAXSEV6J6311836   GM           EQUINOX             S. San Francisc           CA
70405   2GNAXSEV6J6311965   GM           EQUINOX             Memphis                   TN
70406   2GNAXSEV6J6313487   GM           EQUINOX             MIDDLE RIVER              MD
70407   2GNAXSEV6J6314719   GM           EQUINOX             Coraopolis                PA
70408   2GNAXSEV6J6315627   GM           EQUINOX             MT EPHRAIM                NJ
70409   2GNAXSEV6J6316079   GM           EQUINOX             SALT LAKE CITY            UT
70410   2GNAXSEV6J6322996   GM           EQUINOX             Birmingham                AL
70411   2GNAXSEV7J6209655   GM           EQUINOX             Bordentown                NJ
70412   2GNAXSEV7J6223197   GM           EQUINOX             DAYTONA BEACH             FL
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70413   2GNAXSEV7J6263764   GM           EQUINOX             Greensboro                NC
70414   2GNAXSEV7J6265238   GM           EQUINOX             Elkridge                  MD
70415   2GNAXSEV7J6265823   GM           EQUINOX             Smithtown                 NY
70416   2GNAXSEV7J6266289   GM           EQUINOX             Atlanta                   GA
70417   2GNAXSEV7J6266406   GM           EQUINOX             FORT LAUDERDALE           FL
70418   2GNAXSEV7J6282721   GM           EQUINOX             Davie                     FL
70419   2GNAXSEV7J6293363   GM           EQUINOX             Phoenix                   AZ
70420   2GNAXSEV7J6293833   GM           EQUINOX             LAS VEGAS                 NV
70421   2GNAXSEV7J6295162   GM           EQUINOX             KAHULUI                   HI
70422   2GNAXSEV7J6295520   GM           EQUINOX             Ft. Myers                 FL
70423   2GNAXSEV7J6295775   GM           EQUINOX             KAHULUI                   HI
70424   2GNAXSEV7J6302742   GM           EQUINOX             Fresno                    CA
70425   2GNAXSEV7J6311439   GM           EQUINOX             Manheim                   PA
70426   2GNAXSEV7J6311456   GM           EQUINOX             Winter Park               FL
70427   2GNAXSEV7J6314616   GM           EQUINOX             PORTLAND                  OR
70428   2GNAXSEV7J6327446   GM           EQUINOX             Hayward                   CA
70429   2GNAXSEV8J6223984   GM           EQUINOX             Hayward                   CA
70430   2GNAXSEV8J6243006   GM           EQUINOX             Statesville               NC
70431   2GNAXSEV8J6246049   GM           EQUINOX             Sarasota                  FL
70432   2GNAXSEV8J6269282   GM           EQUINOX             PALM SPRINGS              CA
70433   2GNAXSEV8J6275566   GM           EQUINOX             Atlanta                   GA
70434   2GNAXSEV8J6282632   GM           EQUINOX             Johnston                  RI
70435   2GNAXSEV8J6283084   GM           EQUINOX             Manheim                   PA
70436   2GNAXSEV8J6292240   GM           EQUINOX             DENVER                    CO
70437   2GNAXSEV8J6295414   GM           EQUINOX             KAHULUI                   HI
70438   2GNAXSEV8J6309926   GM           EQUINOX             ORLANDO                   FL
70439   2GNAXSEV8J6310039   GM           EQUINOX             TAMPA                     FL
70440   2GNAXSEV8J6310204   GM           EQUINOX             Woodhaven                 MI
70441   2GNAXSEV8J6324362   GM           EQUINOX             Greensboro                NC
70442   2GNAXSEV9J6208278   GM           EQUINOX             WHITE PLAINS              NY
70443   2GNAXSEV9J6223461   GM           EQUINOX             STERLING                  VA
70444   2GNAXSEV9J6225551   GM           EQUINOX             WEST PALM BEACH           FL
70445   2GNAXSEV9J6244889   GM           EQUINOX             WEST PALM BEACH           FL
70446   2GNAXSEV9J6250076   GM           EQUINOX             SOUTH BURLINGTO           VT
70447   2GNAXSEV9J6265077   GM           EQUINOX             Manheim                   PA
70448   2GNAXSEV9J6266617   GM           EQUINOX             North Dighton             MA
70449   2GNAXSEV9J6268397   GM           EQUINOX             Estero                    FL
70450   2GNAXSEV9J6278136   GM           EQUINOX             SOUTHEAST DST OFFC        OK
70451   2GNAXSEV9J6286706   GM           EQUINOX             PLEASANTON                CA
70452   2GNAXSEV9J6292795   GM           EQUINOX             Rio Linda                 CA
70453   2GNAXSEV9J6294806   GM           EQUINOX             Hayward                   CA
70454   2GNAXSEV9J6295051   GM           EQUINOX             KAHULUI                   HI
70455   2GNAXSEV9J6310566   GM           EQUINOX             FORT MYERS                FL
70456   2GNAXSEV9J6310986   GM           EQUINOX             Miami                     FL
70457   2GNAXSEV9J6311541   GM           EQUINOX             Riverside                 CA
70458   2GNAXSEV9J6315959   GM           EQUINOX             FORT LAUDERDALE           FL
70459   2GNAXSEV9J6322314   GM           EQUINOX             PHOENIX                   AZ
70460   2GNAXSEVXJ6204921   GM           EQUINOX             SAVANNAH                  GA
70461   2GNAXSEVXJ6210069   GM           EQUINOX             Hapeville                 GA
70462   2GNAXSEVXJ6241919   GM           EQUINOX             Estero                    FL
70463   2GNAXSEVXJ6268067   GM           EQUINOX             Elkridge                  MD
70464   2GNAXSEVXJ6275701   GM           EQUINOX             Pasadena                  CA
70465   2GNAXSEVXJ6277948   GM           EQUINOX             Sarasota                  FL
70466   2GNAXSEVXJ6282826   GM           EQUINOX             Detroit                   MI
70467   2GNAXSEVXJ6292417   GM           EQUINOX             Atlanta                   GA
70468   2GNAXSEVXJ6293258   GM           EQUINOX             SAN FRANCISCO             CA
70469   2GNAXSEVXJ6294751   GM           EQUINOX             KAHULUI                   HI
70470   2GNAXSEVXJ6295978   GM           EQUINOX             Honolulu                  HI
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70471   2GNAXSEVXJ6310494   GM           EQUINOX             TRACY                     CA
70472   2GNAXSEVXJ6311113   GM           EQUINOX             CHICAGO                   IL
70473   2GNAXSEVXJ6312312   GM           EQUINOX             STERLING                  VA
70474   2GNAXSEVXJ6322466   GM           EQUINOX             FORT MYERS                FL
70475   2GNAXSEVXJ6329045   GM           EQUINOX             Chicago                   IL
70476   2GNAXUEV0K6163647   GM           EQUINOX             SAN DIEGO                 CA
70477   2GNAXUEV0K6164538   GM           EQUINOX             PHILADELPHIA              PA
70478   2GNAXUEV0K6164555   GM           EQUINOX             SANFORD                   FL
70479   2GNAXUEV0K6165902   GM           EQUINOX             Hebron                    KY
70480   2GNAXUEV0K6166080   GM           EQUINOX             North Dighton             MA
70481   2GNAXUEV0K6166094   GM           EQUINOX             HOUSTON                   TX
70482   2GNAXUEV0K6175023   GM           EQUINOX             CHICAGO                   IL
70483   2GNAXUEV0K6177144   GM           EQUINOX             Hayward                   CA
70484   2GNAXUEV0K6181257   GM           EQUINOX             Roseville                 CA
70485   2GNAXUEV0K6182974   GM           EQUINOX             DENVER                    CO
70486   2GNAXUEV0K6183221   GM           EQUINOX             Lake Elsinore             CA
70487   2GNAXUEV0K6193330   GM           EQUINOX             Sacramento                CA
70488   2GNAXUEV0K6194560   GM           EQUINOX             SAN DIEGO                 CA
70489   2GNAXUEV0K6195272   GM           EQUINOX             PHOENIX                   AZ
70490   2GNAXUEV0K6244244   GM           EQUINOX             IDAHO FALLS               ID
70491   2GNAXUEV0K6269578   GM           EQUINOX             DES MOINES                IA
70492   2GNAXUEV0K6270018   GM           EQUINOX             Florissant                MO
70493   2GNAXUEV0K6270892   GM           EQUINOX             OKLAHOMA CITY             OK
70494   2GNAXUEV0K6285490   GM           EQUINOX             AUSTIN                    TX
70495   2GNAXUEV0L6158126   GM           EQUINOX             INGLEWOOD                 CA
70496   2GNAXUEV0L6158286   GM           EQUINOX             OAKLAND                   CA
70497   2GNAXUEV0L6158319   GM           EQUINOX             SAN DIEGO                 CA
70498   2GNAXUEV0L6158370   GM           EQUINOX             LOS ANGELES               CA
70499   2GNAXUEV0L6158871   GM           EQUINOX             PALM SPRINGS              CA
70500   2GNAXUEV0L6158885   GM           EQUINOX             LAS VEGAS                 NV
70501   2GNAXUEV0L6159003   GM           EQUINOX             LAS VEGAS                 NV
70502   2GNAXUEV0L6164332   GM           EQUINOX             RALIEGH                   NC
70503   2GNAXUEV0L6199808   GM           EQUINOX             LOS ANGELES               CA
70504   2GNAXUEV0L6199825   GM           EQUINOX             KNOXVILLE                 TN
70505   2GNAXUEV0L6200486   GM           EQUINOX             SAN FRANCISCO             CA
70506   2GNAXUEV0L6200617   GM           EQUINOX             LOS ANGELES               CA
70507   2GNAXUEV0L6200665   GM           EQUINOX             SAN FRANCISCO             CA
70508   2GNAXUEV0L6201119   GM           EQUINOX             SAN JOSE                  CA
70509   2GNAXUEV0L6201184   GM           EQUINOX             BURBANK                   CA
70510   2GNAXUEV0L6203064   GM           EQUINOX             CLEVELAND                 OH
70511   2GNAXUEV0L6205641   GM           EQUINOX             CLEVELAND                 OH
70512   2GNAXUEV0L6209981   GM           EQUINOX             CHICAGO                   IL
70513   2GNAXUEV0L6216557   GM           EQUINOX             LOUISVILLE                KY
70514   2GNAXUEV1K6161034   GM           EQUINOX             DENVER                    CO
70515   2GNAXUEV1K6162376   GM           EQUINOX             HOUSTON                   TX
70516   2GNAXUEV1K6162507   GM           EQUINOX             Houston                   TX
70517   2GNAXUEV1K6163818   GM           EQUINOX             LAS VEGAS                 NV
70518   2GNAXUEV1K6176021   GM           EQUINOX             MEMPHIS                   TN
70519   2GNAXUEV1K6177282   GM           EQUINOX             OAKLAND                   CA
70520   2GNAXUEV1K6178531   GM           EQUINOX             SACRAMENTO                CA
70521   2GNAXUEV1K6198620   GM           EQUINOX             LOS ANGELES AP            CA
70522   2GNAXUEV1K6263305   GM           EQUINOX             Milwaukee                 WI
70523   2GNAXUEV1L6158572   GM           EQUINOX             LOS ANGELES               CA
70524   2GNAXUEV1L6158653   GM           EQUINOX             OAKLAND                   CA
70525   2GNAXUEV1L6160046   GM           EQUINOX             LOS ANGELES AP            CA
70526   2GNAXUEV1L6161892   GM           EQUINOX             KENNER                    LA
70527   2GNAXUEV1L6161990   GM           EQUINOX             SARASOTA                  FL
70528   2GNAXUEV1L6164274   GM           EQUINOX             Atlanta                   GA
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70529   2GNAXUEV1L6168499   GM           EQUINOX             LOS ANGELES               CA
70530   2GNAXUEV1L6200108   GM           EQUINOX             MILWAUKEE                 WI
70531   2GNAXUEV1L6200903   GM           EQUINOX             PALM SPRINGS              CA
70532   2GNAXUEV1L6206832   GM           EQUINOX             MILWAUKEE                 WI
70533   2GNAXUEV1L6206846   GM           EQUINOX             CHICAGO                   IL
70534   2GNAXUEV1L6206944   GM           EQUINOX             SAINT LOUIS               MO
70535   2GNAXUEV1L6208225   GM           EQUINOX             Detroit                   MI
70536   2GNAXUEV1L6208600   GM           EQUINOX             CHICAGO                   IL
70537   2GNAXUEV1L6209178   GM           EQUINOX             SAINT LOUIS               MO
70538   2GNAXUEV1L6209309   GM           EQUINOX             OSAGE BEACH               MO
70539   2GNAXUEV1L6209844   GM           EQUINOX             BLOOMINGTON               IL
70540   2GNAXUEV2K6159762   GM           EQUINOX             DENVER                    CO
70541   2GNAXUEV2K6161835   GM           EQUINOX             Slidell                   LA
70542   2GNAXUEV2K6164136   GM           EQUINOX             Reno                      NV
70543   2GNAXUEV2K6164699   GM           EQUINOX             DALLAS                    TX
70544   2GNAXUEV2K6165190   GM           EQUINOX             WEST COLUMBIA             SC
70545   2GNAXUEV2K6165285   GM           EQUINOX             KNOXVILLE                 TN
70546   2GNAXUEV2K6165321   GM           EQUINOX             INDIANAPOLIS              IN
70547   2GNAXUEV2K6165383   GM           EQUINOX             Houston                   TX
70548   2GNAXUEV2K6165531   GM           EQUINOX             FORT MYERS                FL
70549   2GNAXUEV2K6165822   GM           EQUINOX             NASHVILLE                 TN
70550   2GNAXUEV2K6174861   GM           EQUINOX             PALM SPRINGS              CA
70551   2GNAXUEV2K6178716   GM           EQUINOX             RICHMOND                  VA
70552   2GNAXUEV2K6181101   GM           EQUINOX             LOS ANGELES               CA
70553   2GNAXUEV2K6181387   GM           EQUINOX             LAS VEGAS                 NV
70554   2GNAXUEV2K6183317   GM           EQUINOX             Sacramento                CA
70555   2GNAXUEV2K6192521   GM           EQUINOX             PASCO                     WA
70556   2GNAXUEV2K6192910   GM           EQUINOX             Bensalem                  PA
70557   2GNAXUEV2K6199694   GM           EQUINOX             Lake Elsinore             CA
70558   2GNAXUEV2K6259764   GM           EQUINOX             SOUTH BEND                IN
70559   2GNAXUEV2K6270523   GM           EQUINOX             SAINT LOUIS               MO
70560   2GNAXUEV2K6272501   GM           EQUINOX             FORT MYERS                FL
70561   2GNAXUEV2L6158239   GM           EQUINOX             BURBANK                   CA
70562   2GNAXUEV2L6158404   GM           EQUINOX             LOS ANGELES AP            CA
70563   2GNAXUEV2L6160007   GM           EQUINOX             COSTA MESA                CA
70564   2GNAXUEV2L6162534   GM           EQUINOX             WEST COLUMBIA             SC
70565   2GNAXUEV2L6175252   GM           EQUINOX             WEST PALM BEACH           FL
70566   2GNAXUEV2L6200361   GM           EQUINOX             LOS ANGELES AP            CA
70567   2GNAXUEV2L6200537   GM           EQUINOX             SAN DIEGO                 CA
70568   2GNAXUEV2L6201008   GM           EQUINOX             SAN DIEGO                 CA
70569   2GNAXUEV2L6207021   GM           EQUINOX             ATLANTA                   GA
70570   2GNAXUEV2L6209156   GM           EQUINOX             KANSAS CITY               MO
70571   2GNAXUEV2L6212669   GM           EQUINOX             SAINT PAUL                MN
70572   2GNAXUEV2L6213322   GM           EQUINOX             GRAND RAPIDS              MI
70573   2GNAXUEV3K6160449   GM           EQUINOX             SALT LAKE CITY            UT
70574   2GNAXUEV3K6160922   GM           EQUINOX             FORT MYERS                FL
70575   2GNAXUEV3K6162086   GM           EQUINOX             LAUREL                    MD
70576   2GNAXUEV3K6163402   GM           EQUINOX             DES MOINES                IA
70577   2GNAXUEV3K6163531   GM           EQUINOX             LAS VEGAS                 NV
70578   2GNAXUEV3K6166106   GM           EQUINOX             Webster                   NY
70579   2GNAXUEV3K6166249   GM           EQUINOX             Downey                    CA
70580   2GNAXUEV3K6175761   GM           EQUINOX             ONTARIO                   CA
70581   2GNAXUEV3K6175775   GM           EQUINOX             LOS ANGELES               CA
70582   2GNAXUEV3K6178837   GM           EQUINOX             BURLINGAME                CA
70583   2GNAXUEV3K6193516   GM           EQUINOX             Seattle                   WA
70584   2GNAXUEV3K6200903   GM           EQUINOX             ONTARIO                   CA
70585   2GNAXUEV3K6222836   GM           EQUINOX             WARWICK                   RI
70586   2GNAXUEV3K6227518   GM           EQUINOX             KALAOA                    HI
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70587   2GNAXUEV3K6256761   GM           EQUINOX             North Billerica           MA
70588   2GNAXUEV3L6158332   GM           EQUINOX             OAKLAND                   CA
70589   2GNAXUEV3L6159173   GM           EQUINOX             SAN JOSE                  CA
70590   2GNAXUEV3L6159528   GM           EQUINOX             LOS ANGELES               CA
70591   2GNAXUEV3L6159822   GM           EQUINOX             ATLANTA                   GA
70592   2GNAXUEV3L6159903   GM           EQUINOX             LOS ANGELES               CA
70593   2GNAXUEV3L6160274   GM           EQUINOX             DETROIT                   MI
70594   2GNAXUEV3L6160288   GM           EQUINOX             Reno                      NV
70595   2GNAXUEV3L6160582   GM           EQUINOX             SAN DIEGO                 CA
70596   2GNAXUEV3L6171288   GM           EQUINOX             FORT MYERS                FL
70597   2GNAXUEV3L6174305   GM           EQUINOX             WEST PALM BEACH           FL
70598   2GNAXUEV3L6176099   GM           EQUINOX             ORLANDO                   FL
70599   2GNAXUEV3L6200613   GM           EQUINOX             LOS ANGELES               CA
70600   2GNAXUEV3L6200739   GM           EQUINOX             ORANGE COUNTY             CA
70601   2GNAXUEV3L6200899   GM           EQUINOX             LOS ANGELES               CA
70602   2GNAXUEV3L6203267   GM           EQUINOX             KNOXVILLE                 TN
70603   2GNAXUEV3L6203754   GM           EQUINOX             CLEVELAND                 OH
70604   2GNAXUEV3L6204743   GM           EQUINOX             Londonderry               NH
70605   2GNAXUEV3L6205567   GM           EQUINOX             HOUSTON                   TX
70606   2GNAXUEV3L6205763   GM           EQUINOX             Milwaukee                 WI
70607   2GNAXUEV3L6212700   GM           EQUINOX             HEBRON                    KY
70608   2GNAXUEV3L6212941   GM           EQUINOX             GRAND RAPIDS              MI
70609   2GNAXUEV4K6161335   GM           EQUINOX             TAMPA                     FL
70610   2GNAXUEV4K6162386   GM           EQUINOX             PHOENIX                   AZ
70611   2GNAXUEV4K6163375   GM           EQUINOX             Warminster                PA
70612   2GNAXUEV4K6163392   GM           EQUINOX             Bridgeton                 MO
70613   2GNAXUEV4K6163540   GM           EQUINOX             DETROIT                   MI
70614   2GNAXUEV4K6163697   GM           EQUINOX             EAST BOSTON               MA
70615   2GNAXUEV4K6163747   GM           EQUINOX             SOUTHEAST DST OFFC        OK
70616   2GNAXUEV4K6164591   GM           EQUINOX             Latham                    NY
70617   2GNAXUEV4K6164753   GM           EQUINOX             WARWICK                   RI
70618   2GNAXUEV4K6165689   GM           EQUINOX             KNOXVILLE                 TN
70619   2GNAXUEV4K6178474   GM           EQUINOX             LAS VEGAS                 NV
70620   2GNAXUEV4K6181939   GM           EQUINOX             SALT LAKE CITY            UT
70621   2GNAXUEV4K6226345   GM           EQUINOX             NEW YORK CITY             NY
70622   2GNAXUEV4K6245381   GM           EQUINOX             DFW AIRPORT               TX
70623   2GNAXUEV4L6157836   GM           EQUINOX             INGLEWOOD                 CA
70624   2GNAXUEV4L6157898   GM           EQUINOX             PHOENIX                   AZ
70625   2GNAXUEV4L6159084   GM           EQUINOX             SAN DIEGO                 CA
70626   2GNAXUEV4L6159229   GM           EQUINOX             SEATAC                    WA
70627   2GNAXUEV4L6160123   GM           EQUINOX             LOS ANGELES               CA
70628   2GNAXUEV4L6160851   GM           EQUINOX             LAS VEGAS                 NV
70629   2GNAXUEV4L6171123   GM           EQUINOX             HOUSTON                   TX
70630   2GNAXUEV4L6173289   GM           EQUINOX             ORLANDO                   FL
70631   2GNAXUEV4L6200202   GM           EQUINOX             BURBANK                   CA
70632   2GNAXUEV4L6200216   GM           EQUINOX             LAS VEGAS                 NV
70633   2GNAXUEV4L6200278   GM           EQUINOX             LOS ANGELES               CA
70634   2GNAXUEV4L6205609   GM           EQUINOX             WOODSON TERRACE           MO
70635   2GNAXUEV4L6208042   GM           EQUINOX             OMAHA                     NE
70636   2GNAXUEV4L6209532   GM           EQUINOX             GRAND RAPIDS              MI
70637   2GNAXUEV4L6212981   GM           EQUINOX             GRAND RAPIDS              MI
70638   2GNAXUEV4L6213130   GM           EQUINOX             GRAND RAPIDS              MI
70639   2GNAXUEV5K6161344   GM           EQUINOX             ONTARIO, RIVERSIDE        CA
70640   2GNAXUEV5K6163174   GM           EQUINOX             BURBANK                   CA
70641   2GNAXUEV5K6163465   GM           EQUINOX             DETROIT                   MI
70642   2GNAXUEV5K6163711   GM           EQUINOX             Manheim                   PA
70643   2GNAXUEV5K6164146   GM           EQUINOX             MILWAUKEE                 WI
70644   2GNAXUEV5K6164311   GM           EQUINOX             HOUSTON                   TX
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70645   2GNAXUEV5K6165149   GM           EQUINOX             PHOENIX                   AZ
70646   2GNAXUEV5K6180573   GM           EQUINOX             Houston                   TX
70647   2GNAXUEV5K6180945   GM           EQUINOX             LOS ANGELES AP            CA
70648   2GNAXUEV5K6182887   GM           EQUINOX             Austin                    TX
70649   2GNAXUEV5K6182940   GM           EQUINOX             PHOENIX                   AZ
70650   2GNAXUEV5K6183344   GM           EQUINOX             Santa Clara               CA
70651   2GNAXUEV5K6194537   GM           EQUINOX             SANTA BARBARA             CA
70652   2GNAXUEV5K6200935   GM           EQUINOX             Houston                   TX
70653   2GNAXUEV5K6225723   GM           EQUINOX             KALAOA                    HI
70654   2GNAXUEV5K6265378   GM           EQUINOX             Morrisville               NC
70655   2GNAXUEV5K6267051   GM           EQUINOX             Warminster                PA
70656   2GNAXUEV5K6271245   GM           EQUINOX             Houston                   TX
70657   2GNAXUEV5K6271536   GM           EQUINOX             ALBUQERQUE                NM
70658   2GNAXUEV5K6297330   GM           EQUINOX             Milwaukee                 WI
70659   2GNAXUEV5L6158140   GM           EQUINOX             SAN DIEGO                 CA
70660   2GNAXUEV5L6158395   GM           EQUINOX             LOS ANGELES               CA
70661   2GNAXUEV5L6159482   GM           EQUINOX             SAN FRANCISCO             CA
70662   2GNAXUEV5L6159577   GM           EQUINOX             Los Angeles               CA
70663   2GNAXUEV5L6163533   GM           EQUINOX             ROCHESTER                 NY
70664   2GNAXUEV5L6177447   GM           EQUINOX             ORLANDO                   FL
70665   2GNAXUEV5L6200127   GM           EQUINOX             SAN FRANCISCO             CA
70666   2GNAXUEV5L6204162   GM           EQUINOX             CLEVELAND                 OH
70667   2GNAXUEV5L6205134   GM           EQUINOX             CLEVELAND                 OH
70668   2GNAXUEV5L6205599   GM           EQUINOX             OMAHA                     NE
70669   2GNAXUEV5L6206283   GM           EQUINOX             KANSAS CITY               MO
70670   2GNAXUEV5L6206767   GM           EQUINOX             SAINT LOUIS               MO
70671   2GNAXUEV5L6208129   GM           EQUINOX             CHICAGO                   IL
70672   2GNAXUEV5L6208647   GM           EQUINOX             CHICAGO                   IL
70673   2GNAXUEV5L6210558   GM           EQUINOX             Atlanta                   GA
70674   2GNAXUEV5L6212391   GM           EQUINOX             DETROIT                   MI
70675   2GNAXUEV5L6212973   GM           EQUINOX             Detroit                   MI
70676   2GNAXUEV5L6213542   GM           EQUINOX             CLEVELAND                 OH
70677   2GNAXUEV6K6164933   GM           EQUINOX             BIRMINGHAM                AL
70678   2GNAXUEV6K6165211   GM           EQUINOX             LOS ANGELES               CA
70679   2GNAXUEV6K6165869   GM           EQUINOX             FORT MYERS                FL
70680   2GNAXUEV6K6166083   GM           EQUINOX             SANTA ANA                 CA
70681   2GNAXUEV6K6166116   GM           EQUINOX             DETROIT                   MI
70682   2GNAXUEV6K6168304   GM           EQUINOX             AUSTIN                    TX
70683   2GNAXUEV6K6175561   GM           EQUINOX             Coraopolis                PA
70684   2GNAXUEV6K6175737   GM           EQUINOX             Teterboro                 NJ
70685   2GNAXUEV6K6176595   GM           EQUINOX             Davie                     FL
70686   2GNAXUEV6K6176743   GM           EQUINOX             SAN ANTONIO               TX
70687   2GNAXUEV6K6179514   GM           EQUINOX             LOS ANGELES               CA
70688   2GNAXUEV6K6181358   GM           EQUINOX             San Diego                 CA
70689   2GNAXUEV6K6182980   GM           EQUINOX             DETROIT                   MI
70690   2GNAXUEV6K6197172   GM           EQUINOX             WICHITA                   KS
70691   2GNAXUEV6K6199200   GM           EQUINOX             PALM SPRINGS              CA
70692   2GNAXUEV6K6199309   GM           EQUINOX             LOS ANGELES               CA
70693   2GNAXUEV6K6229019   GM           EQUINOX             HILO                      HI
70694   2GNAXUEV6K6259279   GM           EQUINOX             HARTFORD                  CT
70695   2GNAXUEV6K6260528   GM           EQUINOX             NEW YORK CITY             NY
70696   2GNAXUEV6K6271576   GM           EQUINOX             Rio Linda                 CA
70697   2GNAXUEV6K6286336   GM           EQUINOX             DALLAS                    TX
70698   2GNAXUEV6L6137328   GM           EQUINOX             JACKSONVILLE              FL
70699   2GNAXUEV6L6157790   GM           EQUINOX             SAN JOSE                  CA
70700   2GNAXUEV6L6158163   GM           EQUINOX             PICO RIVERA               CA
70701   2GNAXUEV6L6158308   GM           EQUINOX             LOS ANGELES               CA
70702   2GNAXUEV6L6158535   GM           EQUINOX             SACRAMENTO                CA
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70703   2GNAXUEV6L6158826   GM           EQUINOX             LOS ANGELES               CA
70704   2GNAXUEV6L6159331   GM           EQUINOX             Reno                      NV
70705   2GNAXUEV6L6171205   GM           EQUINOX             ORLANDO                   FL
70706   2GNAXUEV6L6199960   GM           EQUINOX             LOS ANGELES               CA
70707   2GNAXUEV6L6200816   GM           EQUINOX             BURBANK                   CA
70708   2GNAXUEV6L6201268   GM           EQUINOX             INDIANAPOLIS              IN
70709   2GNAXUEV6L6207538   GM           EQUINOX             PEORIA                    IL
70710   2GNAXUEV6L6207846   GM           EQUINOX             GRAND RAPIDS              MI
70711   2GNAXUEV6L6208480   GM           EQUINOX             SOUTH BEND                IN
70712   2GNAXUEV6L6208611   GM           EQUINOX             CLEVELAND                 OH
70713   2GNAXUEV6L6211251   GM           EQUINOX             GRAND RAPIDS              MI
70714   2GNAXUEV6L6213954   GM           EQUINOX             DETROIT                   MI
70715   2GNAXUEV6L6214019   GM           EQUINOX             GRAND RAPIDS              MI
70716   2GNAXUEV7K6160700   GM           EQUINOX             LOS ANGELES AP            CA
70717   2GNAXUEV7K6162740   GM           EQUINOX             Manheim                   PA
70718   2GNAXUEV7K6163886   GM           EQUINOX             Hebron                    KY
70719   2GNAXUEV7K6164441   GM           EQUINOX             DES MOINES                IA
70720   2GNAXUEV7K6164908   GM           EQUINOX             Tampa                     FL
70721   2GNAXUEV7K6164942   GM           EQUINOX             NEWARK                    NJ
70722   2GNAXUEV7K6176718   GM           EQUINOX             PROVIDENCE                RI
70723   2GNAXUEV7K6179926   GM           EQUINOX             SANTA ANA                 CA
70724   2GNAXUEV7K6181188   GM           EQUINOX             PHOENIX                   AZ
70725   2GNAXUEV7K6199769   GM           EQUINOX             SAN FRANCISCO             CA
70726   2GNAXUEV7K6200791   GM           EQUINOX             San Diego                 CA
70727   2GNAXUEV7K6227327   GM           EQUINOX             NEWARK                    NJ
70728   2GNAXUEV7K6228235   GM           EQUINOX             KALAOA                    HI
70729   2GNAXUEV7K6243107   GM           EQUINOX             RICHMOND                  VA
70730   2GNAXUEV7K6263194   GM           EQUINOX             Buffalo                   NY
70731   2GNAXUEV7K6285566   GM           EQUINOX             BIRMINGHAM                AL
70732   2GNAXUEV7L6159564   GM           EQUINOX             LOS ANGELES               CA
70733   2GNAXUEV7L6160309   GM           EQUINOX             LAS VEGAS                 NV
70734   2GNAXUEV7L6173609   GM           EQUINOX             FORT MYERS                FL
70735   2GNAXUEV7L6176302   GM           EQUINOX             SAVANNAH                  GA
70736   2GNAXUEV7L6200386   GM           EQUINOX             ONTARIO                   CA
70737   2GNAXUEV7L6205362   GM           EQUINOX             CLEVELAND                 OH
70738   2GNAXUEV7L6205670   GM           EQUINOX             INDIANAPOLIS              IN
70739   2GNAXUEV7L6207306   GM           EQUINOX             SAINT LOUIS               MO
70740   2GNAXUEV7L6207872   GM           EQUINOX             Tulsa                     OK
70741   2GNAXUEV8K6159751   GM           EQUINOX             SEATAC                    WA
70742   2GNAXUEV8K6161404   GM           EQUINOX             INDIANAPOLIS              IN
70743   2GNAXUEV8K6161791   GM           EQUINOX             Slidell                   LA
70744   2GNAXUEV8K6163038   GM           EQUINOX             LAS VEGAS                 NV
70745   2GNAXUEV8K6164240   GM           EQUINOX             RONKONKOMA                NY
70746   2GNAXUEV8K6164514   GM           EQUINOX             Coraopolis                PA
70747   2GNAXUEV8K6177800   GM           EQUINOX             Hayward                   CA
70748   2GNAXUEV8K6178946   GM           EQUINOX             PHOENIX                   AZ
70749   2GNAXUEV8K6180101   GM           EQUINOX             LAS VEGAS                 NV
70750   2GNAXUEV8K6181104   GM           EQUINOX             CHARLOTTE                 NC
70751   2GNAXUEV8K6181538   GM           EQUINOX             Roseville                 CA
70752   2GNAXUEV8K6181992   GM           EQUINOX             BURBANK                   CA
70753   2GNAXUEV8K6182656   GM           EQUINOX             SANTA ANA                 CA
70754   2GNAXUEV8K6196007   GM           EQUINOX             INGLEWOOD                 CA
70755   2GNAXUEV8K6196296   GM           EQUINOX             STOCKTON                  CA
70756   2GNAXUEV8K6227272   GM           EQUINOX             KALAOA                    HI
70757   2GNAXUEV8K6262961   GM           EQUINOX             STERLING                  VA
70758   2GNAXUEV8K6268548   GM           EQUINOX             Des Moines                IA
70759   2GNAXUEV8K6269361   GM           EQUINOX             Hebron                    KY
70760   2GNAXUEV8K6295927   GM           EQUINOX             Saint Paul                MN
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70761   2GNAXUEV8L6157743   GM           EQUINOX             LAS VEGAS                 NV
70762   2GNAXUEV8L6157922   GM           EQUINOX             SACRAMENTO                CA
70763   2GNAXUEV8L6159265   GM           EQUINOX             LOS ANGELES               CA
70764   2GNAXUEV8L6161632   GM           EQUINOX             Hebron                    KY
70765   2GNAXUEV8L6177054   GM           EQUINOX             TAMPA                     FL
70766   2GNAXUEV8L6180407   GM           EQUINOX             Hebron                    KY
70767   2GNAXUEV8L6200087   GM           EQUINOX             SAN DIEGO                 CA
70768   2GNAXUEV8L6200140   GM           EQUINOX             SAN FRANCISCO             CA
70769   2GNAXUEV8L6200560   GM           EQUINOX             SAN DIEGO                 CA
70770   2GNAXUEV8L6200820   GM           EQUINOX             SAN JOSE                  CA
70771   2GNAXUEV8L6201093   GM           EQUINOX             SANTA ANA                 CA
70772   2GNAXUEV8L6201112   GM           EQUINOX             INGLEWOOD                 CA
70773   2GNAXUEV8L6202809   GM           EQUINOX             CLEVELAND                 OH
70774   2GNAXUEV8L6203460   GM           EQUINOX             CLEVELAND                 OH
70775   2GNAXUEV8L6204320   GM           EQUINOX             Hebron                    KY
70776   2GNAXUEV8L6205953   GM           EQUINOX             SAINT LOUIS               MO
70777   2GNAXUEV8L6208948   GM           EQUINOX             Hebron                    KY
70778   2GNAXUEV8L6212546   GM           EQUINOX             GRAND RAPIDS              MI
70779   2GNAXUEV8L6213132   GM           EQUINOX             MILWAUKEE                 WI
70780   2GNAXUEV9K6159760   GM           EQUINOX             CHARLOTTE                 NC
70781   2GNAXUEV9K6161864   GM           EQUINOX             Hanover                   MD
70782   2GNAXUEV9K6163386   GM           EQUINOX             HAMPTON                   VA
70783   2GNAXUEV9K6165218   GM           EQUINOX             DETROIT                   MI
70784   2GNAXUEV9K6177532   GM           EQUINOX             PHOENIX                   AZ
70785   2GNAXUEV9K6178177   GM           EQUINOX             PHILADELPHIA              PA
70786   2GNAXUEV9K6178390   GM           EQUINOX             PHOENIX                   AZ
70787   2GNAXUEV9K6182343   GM           EQUINOX             SACRAMENTO                CA
70788   2GNAXUEV9K6182472   GM           EQUINOX             PHOENIX                   AZ
70789   2GNAXUEV9K6194427   GM           EQUINOX             SALT LAKE CITY            UT
70790   2GNAXUEV9K6198154   GM           EQUINOX             Lake Elsinore             CA
70791   2GNAXUEV9K6260295   GM           EQUINOX             Des Moines                IA
70792   2GNAXUEV9K6262872   GM           EQUINOX             Milwaukee                 WI
70793   2GNAXUEV9K6267960   GM           EQUINOX             CHICAGO                   IL
70794   2GNAXUEV9K6270177   GM           EQUINOX             Milwaukee                 WI
70795   2GNAXUEV9K6271958   GM           EQUINOX             NEWARK                    NY
70796   2GNAXUEV9K6274052   GM           EQUINOX             BROOKLYN                  NY
70797   2GNAXUEV9K6284466   GM           EQUINOX             HAMPTON                   VA
70798   2GNAXUEV9K6285259   GM           EQUINOX             HOUSTON                   TX
70799   2GNAXUEV9L6157847   GM           EQUINOX             SAN JOSE                  CA
70800   2GNAXUEV9L6157959   GM           EQUINOX             PALM SPRINGS              CA
70801   2GNAXUEV9L6158559   GM           EQUINOX             SACRAMENTO                CA
70802   2GNAXUEV9L6158755   GM           EQUINOX             Los Angeles               CA
70803   2GNAXUEV9L6159601   GM           EQUINOX             ONTARIO                   CA
70804   2GNAXUEV9L6159792   GM           EQUINOX             SAN DIEGO                 CA
70805   2GNAXUEV9L6160571   GM           EQUINOX             LAS VEGAS                 NV
70806   2GNAXUEV9L6162000   GM           EQUINOX             BIRMINGHAM                AL
70807   2GNAXUEV9L6174566   GM           EQUINOX             Columbia                  SC
70808   2GNAXUEV9L6175278   GM           EQUINOX             FORT MYERS                FL
70809   2GNAXUEV9L6200289   GM           EQUINOX             ONTARIO                   CA
70810   2GNAXUEV9L6200860   GM           EQUINOX             LOS ANGELES               CA
70811   2GNAXUEV9L6200969   GM           EQUINOX             SAN DIEGO                 CA
70812   2GNAXUEV9L6201037   GM           EQUINOX             LOS ANGELES               CA
70813   2GNAXUEV9L6201104   GM           EQUINOX             SAN DIEGO                 CA
70814   2GNAXUEV9L6201636   GM           EQUINOX             CLEVELAND                 OH
70815   2GNAXUEV9L6202298   GM           EQUINOX             CLEVELAND                 OH
70816   2GNAXUEV9L6203676   GM           EQUINOX             DETROIT                   MI
70817   2GNAXUEV9L6206335   GM           EQUINOX             CHICAGO                   IL
70818   2GNAXUEV9L6208232   GM           EQUINOX             SAINT LOUIS               MO
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70819   2GNAXUEV9L6210076   GM          EQUINOX             SAINT LOUIS               MO
70820   2GNAXUEV9L6211101   GM          EQUINOX             SAINT PAUL                MN
70821   2GNAXUEV9L6212426   GM          EQUINOX             DETROIT                   MI
70822   2GNAXUEVXK6160125   GM          EQUINOX             SAN DIEGO                 CA
70823   2GNAXUEVXK6162232   GM          EQUINOX             PHILADELPHIA              PA
70824   2GNAXUEVXK6162828   GM          EQUINOX             Norfolk                   VA
70825   2GNAXUEVXK6163672   GM          EQUINOX             AUGUSTA                   GA
70826   2GNAXUEVXK6164336   GM          EQUINOX             BOSTON                    MA
70827   2GNAXUEVXK6164501   GM          EQUINOX             SAN ANTONIO               TX
70828   2GNAXUEVXK6165227   GM          EQUINOX             ALBANY                    NY
70829   2GNAXUEVXK6165616   GM          EQUINOX             SAN DIEGO                 CA
70830   2GNAXUEVXK6175644   GM          EQUINOX             AUSTIN                    TX
70831   2GNAXUEVXK6177006   GM          EQUINOX             SACRAMENTO                CA
70832   2GNAXUEVXK6179130   GM          EQUINOX             GYPSUM                    CO
70833   2GNAXUEVXK6180083   GM          EQUINOX             LOS ANGELES               CA
70834   2GNAXUEVXK6195781   GM          EQUINOX             KELOWNA (BC)              BC
70835   2GNAXUEVXK6197689   GM          EQUINOX             LOS ANGELES               CA
70836   2GNAXUEVXK6198096   GM          EQUINOX             BURBANK                   CA
70837   2GNAXUEVXK6200588   GM          EQUINOX             LOS ANGELES               CA
70838   2GNAXUEVXK6243277   GM          EQUINOX             LOS ANGELES               CA
70839   2GNAXUEVXK6244560   GM          EQUINOX             Albuquerque               NM
70840   2GNAXUEVXK6263691   GM          EQUINOX             Burlingame                CA
70841   2GNAXUEVXK6269989   GM          EQUINOX             Charlotte                 NC
70842   2GNAXUEVXK6270270   GM          EQUINOX             EAU CLAIRE                WI
70843   2GNAXUEVXK6270561   GM          EQUINOX             Des Moines                IA
70844   2GNAXUEVXK6286064   GM          EQUINOX             Harvey                    LA
70845   2GNAXUEVXL6158103   GM          EQUINOX             FRESNO                    CA
70846   2GNAXUEVXL6159252   GM          EQUINOX             MONTEREY                  CA
70847   2GNAXUEVXL6200186   GM          EQUINOX             LAS VEGAS                 NV
70848   2GNAXUEVXL6200267   GM          EQUINOX             CHICAGO                   IL
70849   2GNAXUEVXL6204948   GM          EQUINOX             BOSTON                    MA
70850   2GNAXUEVXL6206554   GM          EQUINOX             Londonderry               NH
70851   2GNAXUEVXL6210023   GM          EQUINOX             DETROIT                   MI
70852   2GNAXYEX3K6275657   GM          EQUINOX             NEW BERN                  NC
70853   2GNAXYEX4K6251691   GM          EQUINOX             HOUSTON                   TX
70854   2GNAXYEX5K6218912   GM          EQUINOX             North Dighton             MA
70855   2GNAXYEX8K6303713   GM          EQUINOX             Columbus                  OH
70856   2GNAXYEX9K6270768   GM          EQUINOX             KNOXVILLE                 TN
70857   2GNAXYEX9K6284251   GM          EQUINOX             Windsor Locks             CT
70858   2GNFLFE31G6165006   GM          EQUINOX             LOS ANGELES               CA
70859   2GNFLFEK5G6332992   GM          EQUINOX             NORTH PAC                 CA
70860   2HGFC2F50HH572842   Honda       CIVIC               BURBANK                   CA
70861   2HGFC2F53HH572687   Honda       CIVIC               Dallas                    TX
70862   2HGFC2F54GH531807   Honda       CIVIC               PHILADELPHIA              PA
70863   2HGFC2F54GH547747   Honda       CIVIC               ONTARIO                   CA
70864   2HGFC2F55GH529693   Honda       CIVIC               SAN JOSE                  CA
70865   2HGFC2F56JH569952   Honda       CIVIC               Rock Hill                 SC
70866   2HGFC2F58HH569607   Honda       CIVIC               SAN JOSE                  CA
70867   2HGFC2F60KH501902   Honda       CIVIC               Burien                    WA
70868   2HGFC2F60KH560884   Honda       CIVIC               MIAMI                     FL
70869   2HGFC2F60KH575577   Honda       CIVIC               S. San Francisc           CA
70870   2HGFC2F60KH581573   Honda       CIVIC               Sacramento                CA
70871   2HGFC2F60KH595991   Honda       CIVIC               Phoenix                   AZ
70872   2HGFC2F60KH604866   Honda       CIVIC               MIDDLE RIVER              MD
70873   2HGFC2F61KH542894   Honda       CIVIC               Maple Grove               MN
70874   2HGFC2F61KH566063   Honda       CIVIC               Morrisville               NC
70875   2HGFC2F61KH570100   Honda       CIVIC               SAN JOSE                  CA
70876   2HGFC2F61KH571473   Honda       CIVIC               SACRAMENTO                CA
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70877   2HGFC2F61KH572445   Honda        CIVIC               FRESNO                    CA
70878   2HGFC2F61KH574308   Honda        CIVIC               ORLANDO                   FL
70879   2HGFC2F61KH580206   Honda        CIVIC               Ventura                   CA
70880   2HGFC2F61KH587379   Honda        CIVIC               FORT MYERS                FL
70881   2HGFC2F62KH562992   Honda        CIVIC               Estero                    FL
70882   2HGFC2F62KH568226   Honda        CIVIC               Davie                     FL
70883   2HGFC2F62KH570106   Honda        CIVIC               OAKLAND                   CA
70884   2HGFC2F62KH574074   Honda        CIVIC               S. San Francisc           CA
70885   2HGFC2F62KH575662   Honda        CIVIC               Ontario                   CA
70886   2HGFC2F62KH576259   Honda        CIVIC               Mira Loma                 CA
70887   2HGFC2F62KH583292   Honda        CIVIC               Miami                     FL
70888   2HGFC2F63KH502588   Honda        CIVIC               COLLEGE PARK              GA
70889   2HGFC2F63KH537051   Honda        CIVIC               Atlanta                   GA
70890   2HGFC2F63KH550723   Honda        CIVIC               Morrisville               NC
70891   2HGFC2F63KH551984   Honda        CIVIC               PHOENIX                   AZ
70892   2HGFC2F63KH556585   Honda        CIVIC               Jacksonville              FL
70893   2HGFC2F63KH569241   Honda        CIVIC               Atlanta                   GA
70894   2HGFC2F63KH570129   Honda        CIVIC               Santa Clara               CA
70895   2HGFC2F63KH572477   Honda        CIVIC               Stockton                  CA
70896   2HGFC2F63KH575752   Honda        CIVIC               LOS ANGELES               CA
70897   2HGFC2F63KH588887   Honda        CIVIC               Estero                    FL
70898   2HGFC2F63KH591420   Honda        CIVIC               Las Vegas                 NV
70899   2HGFC2F63KH600231   Honda        CIVIC               TALLAHASSEE               F
70900   2HGFC2F64KH513003   Honda        CIVIC               Clearwater                FL
70901   2HGFC2F64KH517200   Honda        CIVIC               PHILADELPHIA              PA
70902   2HGFC2F64KH575775   Honda        CIVIC               Stockton                  CA
70903   2HGFC2F64KH578045   Honda        CIVIC               PHOENIX                   AZ
70904   2HGFC2F64KH593516   Honda        CIVIC               Davie                     FL
70905   2HGFC2F65KH509414   Honda        CIVIC               Ft. Myers                 FL
70906   2HGFC2F65KH513043   Honda        CIVIC               FORT LAUDERDALE           FL
70907   2HGFC2F65KH553347   Honda        CIVIC               FORT LAUDERDALE           FL
70908   2HGFC2F65KH563036   Honda        CIVIC               FORT MYERS                FL
70909   2HGFC2F65KH582606   Honda        CIVIC               SACRAMENTO                CA
70910   2HGFC2F66KH576037   Honda        CIVIC               S. San Francisc           CA
70911   2HGFC2F66KH577298   Honda        CIVIC               PORTLAND                  OR
70912   2HGFC2F66KH577365   Honda        CIVIC               SEATAC                    WA
70913   2HGFC2F66KH579486   Honda        CIVIC               SAN JOSE                  CA
70914   2HGFC2F66KH582579   Honda        CIVIC               SAN JOSE                  CA
70915   2HGFC2F66KH582582   Honda        CIVIC               Sacramento                CA
70916   2HGFC2F66KH583196   Honda        CIVIC               FORT MYERS                FL
70917   2HGFC2F66KH597793   Honda        CIVIC               MORROW                    GA
70918   2HGFC2F66KH606556   Honda        CIVIC               Charlotte                 NC
70919   2HGFC2F67KH512959   Honda        CIVIC               SEATTLE                   WA
70920   2HGFC2F67KH552782   Honda        CIVIC               Newark                    NJ
70921   2HGFC2F67KH574068   Honda        CIVIC               SAN FRANCISCO             CA
70922   2HGFC2F67KH576483   Honda        CIVIC               Davie                     FL
70923   2HGFC2F68KH564519   Honda        CIVIC               Coraopolis                PA
70924   2HGFC2F68KH570546   Honda        CIVIC               Portland                  OR
70925   2HGFC2F68KH600273   Honda        CIVIC               WEST PALM BEACH           FL
70926   2HGFC2F69KH570068   Honda        CIVIC               PLEASANTON                CA
70927   2HGFC2F69KH570605   Honda        CIVIC               SEATTLE                   WA
70928   2HGFC2F69KH574055   Honda        CIVIC               Burien                    WA
70929   2HGFC2F69KH606597   Honda        CIVIC               Baltimore                 MD
70930   2HGFC2F6XKH526693   Honda        CIVIC               Detroit                   MI
70931   2HGFC2F6XKH568121   Honda        CIVIC               DAYTON                    OH
70932   2HGFC2F6XKH571889   Honda        CIVIC               FORT MYERS                FL
70933   2HGFC2F6XKH572864   Honda        CIVIC               Riverside                 CA
70934   2HGFC2F6XKH575635   Honda        CIVIC               SAN DIEGO                 CA
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70935   2HGFC2F6XKH600615   Honda        CIVIC               Louisville                KY
70936   2HGFC2F71GH503772   Honda        CIVIC               BURBANK                   CA
70937   2HGFC2F71GH545701   Honda        CIVIC               LOS ANGELES               CA
70938   2HGFC2F73HH563067   Honda        CIVIC               BROOK PARK                OH
70939   2HGFC2F79GH559457   Honda        CIVIC               LOS ANGELES               CA
70940   2HKRM3H35FH555341   Honda        CRV                 LOS ANGELES               CA
70941   2HKRM3H38GH504353   Honda        CRV                 LOS ANGELES               CA
70942   2HKRM3H41GH545982   Honda        CRV                 North Las Vegas           NV
70943   2HKRM3H42GH518175   Honda        CRV                 LOS ANGELES               CA
70944   2HKRM3H42GH549863   Honda        CRV                 LOS ANGELES               CA
70945   2HKRM3H42GH558711   Honda        CRV                 Elkridge                  MD
70946   2HKRM3H45GH534838   Honda        CRV                 Tampa                     FL
70947   2HKRM3H46GH528983   Honda        CRV                 Tampa                     FL
70948   2HKRM3H4XGH537556   Honda        CRV                 STERLING                  VA
70949   2HKRM3H59GH500703   Honda        CRV                 BURBANK                   CA
70950   2HKRM4H30GH618529   Honda        CRV                 Atlanta                   GA
70951   2HKRM4H31GH600847   Honda        CRV                 PHILADELPHIA              PA
70952   2HKRM4H31GH626218   Honda        CRV                 NEW ENGLAND DEALER        MA
70953   2HKRM4H32GH644114   Honda        CRV                 Elkridge                  MD
70954   2HKRM4H32GH647773   Honda        CRV                 NEW ENGLAND DEALER        MA
70955   2HKRM4H33GH602387   Honda        CRV                 Elkridge                  MD
70956   2HKRM4H34GH602866   Honda        CRV                 Elkridge                  MD
70957   2HKRM4H34GH610742   Honda        CRV                 PHILADELPHIA              PA
70958   2HKRM4H34GH613639   Honda        CRV                 Manheim                   PA
70959   2HKRM4H34GH658841   Honda        CRV                 Fredericksburg            VA
70960   2HKRM4H37GH610704   Honda        CRV                 PHILADELPHIA              PA
70961   2HKRM4H50GH635705   Honda        CRV                 PHILADELPHIA              PA
70962   2HKRM4H50GH649166   Honda        CRV                 PHILADELPHIA              PA
70963   2HKRM4H53GH677897   Honda        CRV                 Philadelphia              PA
70964   2HKRM4H55GH631245   Honda        CRV                 PHILADELPHIA              PA
70965   2HKRM4H55GH661801   Honda        CRV                 Manheim                   PA
70966   2HKRM4H55GH675861   Honda        CRV                 Warminster                PA
70967   2HKRM4H56GH603860   Honda        CRV                 STERLING                  VA
70968   2HKRM4H58GH628761   Honda        CRV                 PHILADELPHIA              PA
70969   2HKRM4H58GH635063   Honda        CRV                 PHILADELPHIA              PA
70970   2HKRM4H59GH680786   Honda        CRV                 DES MOINES                IA
70971   2HKRM4H71GH607770   Honda        CRV                 Elkridge                  MD
70972   2HKRM4H71GH626254   Honda        CRV                 GLASSBORO                 NJ
70973   2HKRM4H75GH626368   Honda        CRV                 PHILADELPHIA              PA
70974   2HKRM4H78GH662958   Honda        CRV                 Lynn                      MA
70975   2HKRM4H78GH671188   Honda        CRV                 PHILADELPHIA              PA
70976   2HKRW5H35HH401625   Honda        CRV                 Baltimore                 MD
70977   2HKRW5H39JH402315   Honda        CRV                 Winter Park               FL
70978   2LMPJ6LR1JBL12739   Ford         MKX                 TAMPA                     FL
70979   2LMPJ6LR4JBL23394   Ford         MKX                 ORLANDO                   FL
70980   2LMPJ6LR7JBL12762   Ford         MKX                 ORLANDO                   FL
70981   2LMPJ6LR9JBL23648   Ford         MKX                 ORLANDO                   FL
70982   2LMPJ8L91KBL50520   Ford         NAUTILUS            SALT LAKE CITY            US
70983   2LMPJ8L98KBL35982   Ford         NAUTILUS            JAMAICA                   NY
70984   2LMPJ8LR9JBL12595   Ford         MKX                 SAN ANTONIO               TX
70985   2LMPJ8LRXJBL23704   Ford         MKX                 Orlando                   FL
70986   2T1BURHE0GC559355   Toyota       COROLLA             ORLANDO                   FL
70987   2T1BURHE0GC580738   Toyota       COROLLA             LAS VEGAS                 NV
70988   2T1BURHE0GC744859   Toyota       COROLLA             ORLANDO                   FL
70989   2T1BURHE0HC753224   Toyota       COROLLA             Miami                     FL
70990   2T1BURHE0HC759461   Toyota       COROLLA             Miami                     FL
70991   2T1BURHE0HC806522   Toyota       COROLLA             HOUSTON                   TX
70992   2T1BURHE0HC807721   Toyota       CAMRY               Miami                     FL
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70993   2T1BURHE0HC825149   Toyota       COROLLA             SAVANNAH                  GA
70994   2T1BURHE0HC840038   Toyota       COROLLA             Fredericksburg            VA
70995   2T1BURHE0HC841061   Toyota       COROLLA             MANASSAS                  VA
70996   2T1BURHE0HC847538   Toyota       COROLLA             Dania Beach               FL
70997   2T1BURHE0HC857969   Toyota       COROLLA             PHOENIX                   AZ
70998   2T1BURHE0HC858023   Toyota       COROLLA             Burien                    WA
70999   2T1BURHE0HC859916   Toyota       COROLLA             KENT                      WA
71000   2T1BURHE0HC861665   Toyota       COROLLA             RENTON                    WA
71001   2T1BURHE0HC862220   Toyota       COROLLA             BURBANK                   CA
71002   2T1BURHE0HC862718   Toyota       COROLLA             LAS VEGAS                 NV
71003   2T1BURHE0HC862783   Toyota       COROLLA             BURBANK                   CA
71004   2T1BURHE0HC865943   Toyota       COROLLA             BURBANK                   CA
71005   2T1BURHE0HC885318   Toyota       COROLLA             LAS VEGAS                 NV
71006   2T1BURHE0HC887022   Toyota       COROLLA             CHICAGO                   IL
71007   2T1BURHE0HC888123   Toyota       COROLLA             FAYETTEVILLE              GA
71008   2T1BURHE0HC888526   Toyota       COROLLA             EAST BOSTON               MA
71009   2T1BURHE0HC889076   Toyota       CAMRY               MANASSAS                  VA
71010   2T1BURHE0HC899381   Toyota       COROLLA             COLLEGE PARK              GA
71011   2T1BURHE0HC901274   Toyota       COROLLA             SAN FRANCISCO             CA
71012   2T1BURHE0HC903980   Toyota       COROLLA             PHOENIX                   AZ
71013   2T1BURHE0HC906040   Toyota       COROLLA             San Diego                 CA
71014   2T1BURHE0HC906152   Toyota       COROLLA             SAN FRANCISCO             CA
71015   2T1BURHE0HC906345   Toyota       COROLLA             ONTARIO                   CA
71016   2T1BURHE0HC907561   Toyota       COROLLA             Phoenix                   AZ
71017   2T1BURHE0HC909990   Toyota       CAMRY               RALEIGH                   NC
71018   2T1BURHE0HC912856   Toyota       CAMRY               AURORA                    CO
71019   2T1BURHE0JC012867   Toyota       COROLLA             MANASSAS                  VA
71020   2T1BURHE0JC052401   Toyota       COROLLA             PHOENIX                   AZ
71021   2T1BURHE0JC066749   Toyota       COROLLA             ONTARIO                   CA
71022   2T1BURHE0JC066797   Toyota       COROLLA             LOS ANGELES               CA
71023   2T1BURHE0JC067643   Toyota       COROLLA             ORLANDO                   FL
71024   2T1BURHE0JC067724   Toyota       COROLLA             SAN ANTONIO               TX
71025   2T1BURHE0JC069098   Toyota       COROLLA             Anaheim                   CA
71026   2T1BURHE0JC069151   Toyota       COROLLA             SANTA ANA                 CA
71027   2T1BURHE0JC069182   Toyota       COROLLA             PHOENIX                   AZ
71028   2T1BURHE0JC069683   Toyota       COROLLA             Torrance                  CA
71029   2T1BURHE0JC069974   Toyota       COROLLA             LAS VEGAS                 NV
71030   2T1BURHE0JC071644   Toyota       COROLLA             LAS VEGAS                 NV
71031   2T1BURHE0JC071675   Toyota       COROLLA             WESTMINSTER               CA
71032   2T1BURHE0JC072566   Toyota       COROLLA             SEATAC                    WA
71033   2T1BURHE0JC072597   Toyota       COROLLA             Fresno                    CA
71034   2T1BURHE0JC073409   Toyota       COROLLA             Los Angeles               CA
71035   2T1BURHE0JC086340   Toyota       COROLLA             PHOENIX                   AZ
71036   2T1BURHE0JC086371   Toyota       COROLLA             ORLANDO                   FL
71037   2T1BURHE0JC086838   Toyota       COROLLA             TAMPA                     US
71038   2T1BURHE0JC086886   Toyota       COROLLA             Dania Beach               FL
71039   2T1BURHE0JC087181   Toyota       COROLLA             TAMPA                     US
71040   2T1BURHE0JC087701   Toyota       COROLLA             Winston‐Salem             NC
71041   2T1BURHE0JC087939   Toyota       COROLLA             SAN FRANCISCO             CA
71042   2T1BURHE0JC088590   Toyota       COROLLA             Woodhaven                 MI
71043   2T1BURHE0JC102083   Toyota       COROLLA             LAS VEGAS                 NV
71044   2T1BURHE0JC102228   Toyota       COROLLA             Cincinnati                OH
71045   2T1BURHE0JC102245   Toyota       COROLLA             PHILADELPHIA              PA
71046   2T1BURHE0JC102715   Toyota       COROLLA             UNION CITY                GA
71047   2T1BURHE0JC102780   Toyota       COROLLA             FAYETTEVILLE              GA
71048   2T1BURHE0JC102813   Toyota       COROLLA             DENVER                    CO
71049   2T1BURHE0JC103041   Toyota       COROLLA             CHARLOTTE                 NC
71050   2T1BURHE0JC103721   Toyota       COROLLA             Smithtown                 NY
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71051   2T1BURHE0JC103847   Toyota       COROLLA             CHICAGO                   IL
71052   2T1BURHE0JC103931   Toyota       COROLLA             TAMPA                     US
71053   2T1BURHE0JC104545   Toyota       COROLLA             AUSTIN                    TX
71054   2T1BURHE0JC105405   Toyota       COROLLA             Rockville Centr           NY
71055   2T1BURHE0JC105579   Toyota       COROLLA             HOUSTON                   TX
71056   2T1BURHE0JC106148   Toyota       COROLLA             Harvey                    LA
71057   2T1BURHE0JC107817   Toyota       COROLLA             ORLANDO                   FL
71058   2T1BURHE0JC107865   Toyota       COROLLA             San Diego                 CA
71059   2T1BURHE0JC108904   Toyota       COROLLA             JACKSONVILLE              FL
71060   2T1BURHE0JC111186   Toyota       COROLLA             TAMPA                     US
71061   2T1BURHE0JC118798   Toyota       COROLLA             ORLANDO                   FL
71062   2T1BURHE0JC119532   Toyota       COROLLA             DENVER                    CO
71063   2T1BURHE0JC120938   Toyota       COROLLA             LOS ANGELES               CA
71064   2T1BURHE0JC121099   Toyota       COROLLA             Denver                    CO
71065   2T1BURHE0JC121796   Toyota       COROLLA             HOUSTON                   TX
71066   2T1BURHE0JC122026   Toyota       COROLLA             TAMPA                     US
71067   2T1BURHE0JC123340   Toyota       COROLLA             HOUSTON                   TX
71068   2T1BURHE0JC123368   Toyota       COROLLA             ALBANY                    N
71069   2T1BURHE0JC123435   Toyota       COROLLA             LOS ANGELES               CA
71070   2T1BURHE0JC124312   Toyota       COROLLA             ORLANDO                   FL
71071   2T1BURHE0JC124391   Toyota       COROLLA             Miami                     FL
71072   2T1BURHE0JC124570   Toyota       COROLLA             West Palm Beach           FL
71073   2T1BURHE0JC124679   Toyota       COROLLA             DANIA                     FL
71074   2T1BURHE0KC166951   Toyota       COROLLA             LOS ANGELES               CA
71075   2T1BURHE0KC167100   Toyota       COROLLA             SACRAMENTO                CA
71076   2T1BURHE0KC197634   Toyota       COROLLA             TAMPA                     US
71077   2T1BURHE0KC223794   Toyota       COROLLA             TAMPA                     US
71078   2T1BURHE0KC243043   Toyota       COROLLA             ORLANDO                   FL
71079   2T1BURHE0KC243057   Toyota       COROLLA             ORLANDO                   FL
71080   2T1BURHE1GC546372   Toyota       COROLLA             Miami                     FL
71081   2T1BURHE1GC549501   Toyota       COROLLA             MANASSAS                  VA
71082   2T1BURHE1GC570722   Toyota       COROLLA             PHOENIX                   AZ
71083   2T1BURHE1GC579078   Toyota       COROLLA             PHOENIX                   AZ
71084   2T1BURHE1GC696093   Toyota       COROLLA             Detroit                   MI
71085   2T1BURHE1GC708890   Toyota       COROLLA             Miami                     FL
71086   2T1BURHE1HC760862   Toyota       COROLLA             MIAMI                     FL
71087   2T1BURHE1HC774986   Toyota       COROLLA             Miami                     FL
71088   2T1BURHE1HC802396   Toyota       COROLLA             Miami                     FL
71089   2T1BURHE1HC804908   Toyota       COROLLA             DANIA                     FL
71090   2T1BURHE1HC809736   Toyota       COROLLA             Miami                     FL
71091   2T1BURHE1HC849024   Toyota       COROLLA             Revere                    MA
71092   2T1BURHE1HC860590   Toyota       COROLLA             North Las Vegas           NV
71093   2T1BURHE1HC862209   Toyota       COROLLA             PHOENIX                   AZ
71094   2T1BURHE1HC863442   Toyota       COROLLA             LAS VEGAS                 NV
71095   2T1BURHE1HC863490   Toyota       COROLLA             AURORA                    CO
71096   2T1BURHE1HC881357   Toyota       COROLLA             CHICAGO                   IL
71097   2T1BURHE1HC884243   Toyota       COROLLA             MELROSE PARK              IL
71098   2T1BURHE1HC885649   Toyota       COROLLA             CHICAGO                   IL
71099   2T1BURHE1HC888051   Toyota       COROLLA             HARVEY                    LA
71100   2T1BURHE1HC888163   Toyota       COROLLA             CHICAGO                   IL
71101   2T1BURHE1HC902756   Toyota       COROLLA             LAS VEGAS                 NV
71102   2T1BURHE1HC903454   Toyota       COROLLA             Manheim                   PA
71103   2T1BURHE1HC904992   Toyota       COROLLA             DFW AIRPORT               TX
71104   2T1BURHE1HC905107   Toyota       COROLLA             BURBANK                   CA
71105   2T1BURHE1HC905186   Toyota       COROLLA             Norwalk                   CA
71106   2T1BURHE1HC907665   Toyota       COROLLA             ATLANTA AP                GA
71107   2T1BURHE1HC914180   Toyota       COROLLA             HANOVER                   MD
71108   2T1BURHE1HC924630   Toyota       COROLLA             SAN DIEGO                 CA
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71109   2T1BURHE1HC928547   Toyota       COROLLA             STERLING                  VA
71110   2T1BURHE1HC928984   Toyota       COROLLA             LAS VEGAS                 NV
71111   2T1BURHE1HC954839   Toyota       COROLLA             CHARLOTTE                 NC
71112   2T1BURHE1JC027331   Toyota       COROLLA             JACKSONVILLE              FL
71113   2T1BURHE1JC034988   Toyota       COROLLA             SAN FRANCISCO             CA
71114   2T1BURHE1JC037728   Toyota       COROLLA             LOS ANGELES               CA
71115   2T1BURHE1JC066727   Toyota       COROLLA             PHOENIX                   AZ
71116   2T1BURHE1JC066730   Toyota       COROLLA             LAS VEGAS                 NV
71117   2T1BURHE1JC066744   Toyota       COROLLA             SACRAMENTO                CA
71118   2T1BURHE1JC067456   Toyota       COROLLA             BURLINGAME                CA
71119   2T1BURHE1JC067604   Toyota       COROLLA             SAN JOSE                  CA
71120   2T1BURHE1JC067635   Toyota       COROLLA             SAN DIEGO                 CA
71121   2T1BURHE1JC068171   Toyota       COROLLA             PHOENIX                   AZ
71122   2T1BURHE1JC068302   Toyota       COROLLA             DRB                       UT
71123   2T1BURHE1JC068414   Toyota       COROLLA             Costa Mesa                CA
71124   2T1BURHE1JC068428   Toyota       COROLLA             BOISE                     US
71125   2T1BURHE1JC068848   Toyota       COROLLA             FRESNO                    CA
71126   2T1BURHE1JC069109   Toyota       COROLLA             PHOENIX                   AZ
71127   2T1BURHE1JC069742   Toyota       COROLLA             PORTLAND                  OR
71128   2T1BURHE1JC069868   Toyota       COROLLA             SAN JOSE                  CA
71129   2T1BURHE1JC069935   Toyota       COROLLA             UNION CITY                GA
71130   2T1BURHE1JC070017   Toyota       COROLLA             LAS VEGAS                 NV
71131   2T1BURHE1JC071376   Toyota       COROLLA             ORLANDO                   FL
71132   2T1BURHE1JC071622   Toyota       COROLLA             LOS ANGELES               CA
71133   2T1BURHE1JC071703   Toyota       COROLLA             PHOENIX                   AZ
71134   2T1BURHE1JC071748   Toyota       COROLLA             TUCSON                    US
71135   2T1BURHE1JC072558   Toyota       COROLLA             HARTFORD                  CT
71136   2T1BURHE1JC072799   Toyota       COROLLA             SARASOTA                  FL
71137   2T1BURHE1JC073421   Toyota       COROLLA             DENVER                    CO
71138   2T1BURHE1JC085973   Toyota       COROLLA             SAN ANTONIO               TX
71139   2T1BURHE1JC086038   Toyota       COROLLA             Smithtown                 NY
71140   2T1BURHE1JC086198   Toyota       COROLLA             SACRAMENTO                CA
71141   2T1BURHE1JC086699   Toyota       COROLLA             EAST BOSTON               MA
71142   2T1BURHE1JC086833   Toyota       COROLLA             MANASSAS                  VA
71143   2T1BURHE1JC086928   Toyota       COROLLA             IRVING                    TX
71144   2T1BURHE1JC087223   Toyota       COROLLA             ST PAUL                   MN
71145   2T1BURHE1JC087710   Toyota       COROLLA             PLEASANTON                CA
71146   2T1BURHE1JC088467   Toyota       COROLLA             UNION CITY                GA
71147   2T1BURHE1JC088551   Toyota       COROLLA             UNION CITY                GA
71148   2T1BURHE1JC088761   Toyota       COROLLA             Baltimore                 MD
71149   2T1BURHE1JC088873   Toyota       COROLLA             NASHVILLE                 TN
71150   2T1BURHE1JC088887   Toyota       COROLLA             AURORA                    CO
71151   2T1BURHE1JC094415   Toyota       COROLLA             FORT MYERS                FL
71152   2T1BURHE1JC102030   Toyota       COROLLA             INDIANAPOLIS              IN
71153   2T1BURHE1JC102271   Toyota       COROLLA             San Diego                 CA
71154   2T1BURHE1JC103727   Toyota       COROLLA             CHICAGO                   IL
71155   2T1BURHE1JC103744   Toyota       COROLLA             LAS VEGAS                 NV
71156   2T1BURHE1JC103954   Toyota       COROLLA             UNION CITY                GA
71157   2T1BURHE1JC104537   Toyota       COROLLA             DANIA                     FL
71158   2T1BURHE1JC104831   Toyota       COROLLA             Cincinnati                OH
71159   2T1BURHE1JC105607   Toyota       COROLLA             Detroit                   MI
71160   2T1BURHE1JC106207   Toyota       COROLLA             UNION CITY                GA
71161   2T1BURHE1JC106837   Toyota       COROLLA             MORRISVILLE               NC
71162   2T1BURHE1JC107079   Toyota       COROLLA             MORRISVILLE               NC
71163   2T1BURHE1JC107258   Toyota       COROLLA             KENNER                    LA
71164   2T1BURHE1JC108782   Toyota       COROLLA             PHILADELPHIA              PA
71165   2T1BURHE1JC108930   Toyota       COROLLA             Hebron                    KY
71166   2T1BURHE1JC109625   Toyota       COROLLA             ORLANDO                   FL
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71167   2T1BURHE1JC109656   Toyota       COROLLA             EGG HARBOR TOWN           NJ
71168   2T1BURHE1JC121208   Toyota       COROLLA             ORLANDO                   FL
71169   2T1BURHE1JC121239   Toyota       COROLLA             DANIA                     FL
71170   2T1BURHE1JC121399   Toyota       COROLLA             MORRISVILLE               NC
71171   2T1BURHE1JC121760   Toyota       COROLLA             DENVER                    CO
71172   2T1BURHE1JC121953   Toyota       COROLLA             ORLANDO                   FL
71173   2T1BURHE1JC122083   Toyota       COROLLA             ATLANTA                   GA
71174   2T1BURHE1JC122102   Toyota       COROLLA             RICHMOND                  VA
71175   2T1BURHE1JC123539   Toyota       COROLLA             FAYETTEVILLE              GA
71176   2T1BURHE1JC124318   Toyota       COROLLA             GREENSBORO                NC
71177   2T1BURHE1JC124335   Toyota       COROLLA             SACRAMENTO                CA
71178   2T1BURHE1JC124352   Toyota       COROLLA             NEW BERN                  NC
71179   2T1BURHE1JC124402   Toyota       COROLLA             Teterboro                 NJ
71180   2T1BURHE1JC124450   Toyota       COROLLA             FORT MYERS                FL
71181   2T1BURHE1JC124822   Toyota       COROLLA             NEW BERN                  NC
71182   2T1BURHE1JC124903   Toyota       COROLLA             DRB                       UT
71183   2T1BURHE1JC982114   Toyota       COROLLA             Atlanta                   GA
71184   2T1BURHE1KC145347   Toyota       COROLLA             PHOENIX                   AZ
71185   2T1BURHE1KC163198   Toyota       COROLLA             PHOENIX                   AZ
71186   2T1BURHE1KC163279   Toyota       COROLLA             SANTA ANA                 CA
71187   2T1BURHE1KC163329   Toyota       COROLLA             ORLANDO                   FL
71188   2T1BURHE1KC167123   Toyota       COROLLA             TALLAHASSEE               US
71189   2T1BURHE1KC170152   Toyota       COROLLA             EL PASO                   TX
71190   2T1BURHE1KC170216   Toyota       COROLLA             PHILADELPHIA              PA
71191   2T1BURHE1KC183094   Toyota       COROLLA             JACKSONVILLE              FL
71192   2T1BURHE1KC184049   Toyota       COROLLA             FORT MYERS                FL
71193   2T1BURHE1KC203294   Toyota       COROLLA             DANIA                     FL
71194   2T1BURHE1KC217891   Toyota       COROLLA             Dania Beach               FL
71195   2T1BURHE1KC242242   Toyota       COROLLA             Miami                     FL
71196   2T1BURHE1KC243164   Toyota       COROLLA             TAMPA                     US
71197   2T1BURHE2HC765598   Toyota       COROLLA             Smithtown                 NY
71198   2T1BURHE2HC787293   Toyota       COROLLA             Miami                     FL
71199   2T1BURHE2HC798617   Toyota       COROLLA             Miami                     FL
71200   2T1BURHE2HC831339   Toyota       COROLLA             Miami                     FL
71201   2T1BURHE2HC833088   Toyota       COROLLA             Miami                     FL
71202   2T1BURHE2HC846262   Toyota       COROLLA             Revere                    MA
71203   2T1BURHE2HC847072   Toyota       COROLLA             MANASSAS                  VA
71204   2T1BURHE2HC847363   Toyota       COROLLA             Baltimore                 MD
71205   2T1BURHE2HC858167   Toyota       COROLLA             RENTON                    WA
71206   2T1BURHE2HC862865   Toyota       COROLLA             Mira Loma                 CA
71207   2T1BURHE2HC863093   Toyota       COROLLA             LAS VEGAS                 NV
71208   2T1BURHE2HC863126   Toyota       COROLLA             LAS VEGAS                 NV
71209   2T1BURHE2HC880170   Toyota       COROLLA             CHICAGO                   IL
71210   2T1BURHE2HC880895   Toyota       COROLLA             MEDINA                    OH
71211   2T1BURHE2HC882355   Toyota       COROLLA             Ocoee                     FL
71212   2T1BURHE2HC884350   Toyota       COROLLA             Smithtown                 NY
71213   2T1BURHE2HC887913   Toyota       COROLLA             Lake in the Hil           IL
71214   2T1BURHE2HC887961   Toyota       COROLLA             CHICAGO                   IL
71215   2T1BURHE2HC901728   Toyota       COROLLA             North Dighton             MA
71216   2T1BURHE2HC903107   Toyota       COROLLA             SACRAMENTO                CA
71217   2T1BURHE2HC903849   Toyota       COROLLA             SAN JOSE                  CA
71218   2T1BURHE2HC904225   Toyota       COROLLA             Los Angeles               CA
71219   2T1BURHE2HC904337   Toyota       COROLLA             SAN DIEGO                 CA
71220   2T1BURHE2HC906055   Toyota       COROLLA             BURBANK                   CA
71221   2T1BURHE2HC907044   Toyota       COROLLA             WESTMINSTER               CA
71222   2T1BURHE2HC912079   Toyota       CAMRY               COLLEGE PARK              GA
71223   2T1BURHE2HC917556   Toyota       COROLLA             PORTLAND                  OR
71224   2T1BURHE2HC927066   Toyota       COROLLA             SAN DIEGO                 CA
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71225   2T1BURHE2HC928248   Toyota       COROLLA             LAS VEGAS                 NV
71226   2T1BURHE2JC004592   Toyota       COROLLA             FORT MYERS                FL
71227   2T1BURHE2JC037768   Toyota       COROLLA             LAKEWOOD                  WA
71228   2T1BURHE2JC066283   Toyota       COROLLA             LAS VEGAS                 NV
71229   2T1BURHE2JC066770   Toyota       COROLLA             LAS VEGAS                 NV
71230   2T1BURHE2JC067367   Toyota       COROLLA             BURBANK                   CA
71231   2T1BURHE2JC067515   Toyota       COROLLA             LOS ANGELES               CA
71232   2T1BURHE2JC067529   Toyota       COROLLA             FRESNO                    CA
71233   2T1BURHE2JC067577   Toyota       COROLLA             LAS VEGAS                 NV
71234   2T1BURHE2JC067580   Toyota       COROLLA             Anaheim                   CA
71235   2T1BURHE2JC067594   Toyota       COROLLA             Fresno                    CA
71236   2T1BURHE2JC067613   Toyota       COROLLA             PHOENIX                   AZ
71237   2T1BURHE2JC068275   Toyota       COROLLA             BURBANK                   CA
71238   2T1BURHE2JC068339   Toyota       COROLLA             LOS ANGELES               CA
71239   2T1BURHE2JC068356   Toyota       COROLLA             Torrance                  CA
71240   2T1BURHE2JC069765   Toyota       COROLLA             SACRAMENTO                CA
71241   2T1BURHE2JC069944   Toyota       COROLLA             PORTLAND                  OR
71242   2T1BURHE2JC069961   Toyota       COROLLA             LOS ANGELES               CA
71243   2T1BURHE2JC070009   Toyota       COROLLA             LOS ANGELES               CA
71244   2T1BURHE2JC070866   Toyota       COROLLA             WESTMINSTER               CA
71245   2T1BURHE2JC070883   Toyota       COROLLA             Columbus                  OH
71246   2T1BURHE2JC071581   Toyota       COROLLA             LOS ANGELES               CA
71247   2T1BURHE2JC071760   Toyota       COROLLA             PHOENIX                   AZ
71248   2T1BURHE2JC072570   Toyota       COROLLA             OAKLAND                   CA
71249   2T1BURHE2JC073332   Toyota       COROLLA             Dallas                    TX
71250   2T1BURHE2JC073377   Toyota       COROLLA             PHOENIX                   AZ
71251   2T1BURHE2JC086324   Toyota       COROLLA             WEST PALM BEACH           FL
71252   2T1BURHE2JC086338   Toyota       COROLLA             CHICAGO                   IL
71253   2T1BURHE2JC086792   Toyota       COROLLA             NEW YORK CITY             NY
71254   2T1BURHE2JC087067   Toyota       COROLLA             CHICAGO                   IL
71255   2T1BURHE2JC087571   Toyota       COROLLA             CHICAGO                   IL
71256   2T1BURHE2JC087649   Toyota       COROLLA             EL SEGUNDO                CA
71257   2T1BURHE2JC087747   Toyota       COROLLA             ORLANDO                   FL
71258   2T1BURHE2JC087800   Toyota       COROLLA             MIAMI                     FL
71259   2T1BURHE2JC088042   Toyota       COROLLA             WINDSOR LOCKS             CT
71260   2T1BURHE2JC088235   Toyota       COROLLA             Baltimore                 MD
71261   2T1BURHE2JC088865   Toyota       COROLLA             NASHVILLE                 TN
71262   2T1BURHE2JC101940   Toyota       COROLLA             UNION CITY                GA
71263   2T1BURHE2JC101999   Toyota       COROLLA             CHICAGO                   IL
71264   2T1BURHE2JC102232   Toyota       COROLLA             UNION CITY                GA
71265   2T1BURHE2JC102876   Toyota       COROLLA             DFW AIRPORT               TX
71266   2T1BURHE2JC104515   Toyota       COROLLA             CHICAGO                   IL
71267   2T1BURHE2JC104711   Toyota       COROLLA             Manheim                   PA
71268   2T1BURHE2JC105213   Toyota       COROLLA             MEMPHIS                   TN
71269   2T1BURHE2JC105390   Toyota       COROLLA             DENVER                    CO
71270   2T1BURHE2JC105437   Toyota       COROLLA             TAMPA                     US
71271   2T1BURHE2JC105566   Toyota       COROLLA             PHILADELPHIA              PA
71272   2T1BURHE2JC106233   Toyota       COROLLA             AUSTIN                    TX
71273   2T1BURHE2JC106247   Toyota       COROLLA             Dania Beach               FL
71274   2T1BURHE2JC106409   Toyota       COROLLA             JACKSON                   MS
71275   2T1BURHE2JC106989   Toyota       COROLLA             BURBANK                   CA
71276   2T1BURHE2JC107057   Toyota       COROLLA             MONTGOMERY                AL
71277   2T1BURHE2JC107088   Toyota       COROLLA             AMARILLO                  US
71278   2T1BURHE2JC107883   Toyota       COROLLA             SAN JOSE                  CA
71279   2T1BURHE2JC108810   Toyota       COROLLA             PENSACOLA                 FL
71280   2T1BURHE2JC108919   Toyota       COROLLA             Teterboro                 NJ
71281   2T1BURHE2JC108922   Toyota       COROLLA             Miami                     FL
71282   2T1BURHE2JC108936   Toyota       COROLLA             LOUISVILLE                KY
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71283   2T1BURHE2JC109617   Toyota       COROLLA             DALLAS                    TX
71284   2T1BURHE2JC109715   Toyota       COROLLA             SAN FRANCISCO             CA
71285   2T1BURHE2JC119547   Toyota       COROLLA             ALBUQUERQUE               NM
71286   2T1BURHE2JC121279   Toyota       COROLLA             Miami                     FL
71287   2T1BURHE2JC121797   Toyota       COROLLA             IRVING                    TX
71288   2T1BURHE2JC122089   Toyota       COROLLA             FORT MYERS                FL
71289   2T1BURHE2JC122626   Toyota       COROLLA             LOS ANGELES               CA
71290   2T1BURHE2JC122643   Toyota       COROLLA             San Diego                 CA
71291   2T1BURHE2JC122755   Toyota       COROLLA             ORLANDO                   FL
71292   2T1BURHE2JC122822   Toyota       COROLLA             WHITE PLAINS              NY
71293   2T1BURHE2JC123565   Toyota       COROLLA             JACKSONVILLE              FL
71294   2T1BURHE2JC123582   Toyota       COROLLA             BIRMINGHAN                AL
71295   2T1BURHE2JC123615   Toyota       COROLLA             San Diego                 CA
71296   2T1BURHE2JC123968   Toyota       COROLLA             DALLAS                    TX
71297   2T1BURHE2JC124229   Toyota       COROLLA             PHOENIX                   AZ
71298   2T1BURHE2JC124361   Toyota       COROLLA             Louisville                KY
71299   2T1BURHE2JC124392   Toyota       COROLLA             NEW YORK CITY             NY
71300   2T1BURHE2JC124456   Toyota       COROLLA             Warr Acres                OK
71301   2T1BURHE2JC966178   Toyota       COROLLA             Santa Clara               CA
71302   2T1BURHE2KC164845   Toyota       COROLLA             TUCSON                    US
71303   2T1BURHE2KC165588   Toyota       COROLLA             PHOENIX                   AZ
71304   2T1BURHE2KC168619   Toyota       COROLLA             PHOENIX                   AZ
71305   2T1BURHE2KC182553   Toyota       COROLLA             ORLANDO                   FL
71306   2T1BURHE2KC217902   Toyota       COROLLA             ORLANDO                   FL
71307   2T1BURHE2KC223800   Toyota       COROLLA             ORLANDO                   FL
71308   2T1BURHE2KC235803   Toyota       COROLLA             Miami                     FL
71309   2T1BURHE2KC237356   Toyota       COROLLA             Bensalem                  PA
71310   2T1BURHE2KC237406   Toyota       COROLLA             DANIA                     FL
71311   2T1BURHE2KC241889   Toyota       COROLLA             SARASOTA                  FL
71312   2T1BURHE2KC243416   Toyota       COROLLA             Miami                     FL
71313   2T1BURHE3GC499023   Toyota       COROLLA             Burien                    WA
71314   2T1BURHE3GC509159   Toyota       COROLLA             KENNER                    LA
71315   2T1BURHE3GC644870   Toyota       COROLLA             Miami                     FL
71316   2T1BURHE3HC780871   Toyota       COROLLA             DANIA                     FL
71317   2T1BURHE3HC820544   Toyota       COROLLA             Miami                     FL
71318   2T1BURHE3HC842477   Toyota       COROLLA             Rockville Centr           NY
71319   2T1BURHE3HC844889   Toyota       COROLLA             MANASSAS                  VA
71320   2T1BURHE3HC845668   Toyota       COROLLA             HANOVER                   MD
71321   2T1BURHE3HC860557   Toyota       COROLLA             MANASSAS                  VA
71322   2T1BURHE3HC862101   Toyota       COROLLA             Revere                    MA
71323   2T1BURHE3HC862874   Toyota       COROLLA             LAS VEGAS                 NV
71324   2T1BURHE3HC865631   Toyota       COROLLA             Fontana                   CA
71325   2T1BURHE3HC879111   Toyota       COROLLA             Kent                      WA
71326   2T1BURHE3HC883269   Toyota       COROLLA             Lake in the Hil           IL
71327   2T1BURHE3HC883370   Toyota       COROLLA             RENTON                    WA
71328   2T1BURHE3HC883806   Toyota       COROLLA             DENVER                    CO
71329   2T1BURHE3HC883966   Toyota       COROLLA             CHICAGO                   IL
71330   2T1BURHE3HC888150   Toyota       COROLLA             MANASSAS                  VA
71331   2T1BURHE3HC896264   Toyota       COROLLA             SAN FRANCISCO             CA
71332   2T1BURHE3HC899293   Toyota       COROLLA             LAS VEGAS                 NV
71333   2T1BURHE3HC899715   Toyota       CAMRY               BURBANK                   CA
71334   2T1BURHE3HC902922   Toyota       COROLLA             BURBANK                   CA
71335   2T1BURHE3HC903844   Toyota       COROLLA             BURBANK                   CA
71336   2T1BURHE3HC903956   Toyota       COROLLA             LAS VEGAS                 NV
71337   2T1BURHE3HC904105   Toyota       COROLLA             Fontana                   CA
71338   2T1BURHE3HC907067   Toyota       COROLLA             BURBANK                   CA
71339   2T1BURHE3HC927755   Toyota       COROLLA             Baltimore                 MD
71340   2T1BURHE3HC928856   Toyota       COROLLA             DES MOINES                IA
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71341   2T1BURHE3HC962022   Toyota       COROLLA             Dania Beach               FL
71342   2T1BURHE3JC035303   Toyota       COROLLA             BURBANK                   CA
71343   2T1BURHE3JC035933   Toyota       COROLLA             ONTARIO                   CA
71344   2T1BURHE3JC036029   Toyota       COROLLA             SALT LAKE CITY            UT
71345   2T1BURHE3JC045443   Toyota       COROLLA             MANASSAS                  VA
71346   2T1BURHE3JC066387   Toyota       COROLLA             PHOENIX                   AZ
71347   2T1BURHE3JC067524   Toyota       COROLLA             BURBANK                   CA
71348   2T1BURHE3JC067538   Toyota       COROLLA             LAS VEGAS                 NV
71349   2T1BURHE3JC067586   Toyota       COROLLA             ORLANDO                   FL
71350   2T1BURHE3JC068317   Toyota       COROLLA             SANTA ANA                 CA
71351   2T1BURHE3JC068351   Toyota       COROLLA             LAS VEGAS                 NV
71352   2T1BURHE3JC068401   Toyota       COROLLA             Beaverton                 OR
71353   2T1BURHE3JC068446   Toyota       COROLLA             IRVING                    TX
71354   2T1BURHE3JC068818   Toyota       COROLLA             LOS ANGELES               CA
71355   2T1BURHE3JC069127   Toyota       COROLLA             SANTA BARBARA             CA
71356   2T1BURHE3JC069144   Toyota       COROLLA             KNOXVILLE                 TN
71357   2T1BURHE3JC069158   Toyota       COROLLA             SANTA ANA                 CA
71358   2T1BURHE3JC069161   Toyota       COROLLA             PANAMA CITY               FL
71359   2T1BURHE3JC069189   Toyota       COROLLA             ONTARIO, RIVERSIDE        CA
71360   2T1BURHE3JC069824   Toyota       COROLLA             ONTARIO                   CA
71361   2T1BURHE3JC069922   Toyota       COROLLA             RENTON                    WA
71362   2T1BURHE3JC069984   Toyota       COROLLA             LOS ANGELES               CA
71363   2T1BURHE3JC070021   Toyota       COROLLA             LAS VEGAS                 NV
71364   2T1BURHE3JC070486   Toyota       COROLLA             PHOENIX                   AZ
71365   2T1BURHE3JC070715   Toyota       COROLLA             CLEVELAND                 OH
71366   2T1BURHE3JC071640   Toyota       COROLLA             BURBANK                   CA
71367   2T1BURHE3JC071699   Toyota       COROLLA             CATHEDRAL CITY            CA
71368   2T1BURHE3JC072450   Toyota       COROLLA             San Diego                 CA
71369   2T1BURHE3JC073243   Toyota       COROLLA             WHITE PLAINS              NY
71370   2T1BURHE3JC073419   Toyota       COROLLA             DANIA                     FL
71371   2T1BURHE3JC085991   Toyota       COROLLA             DETROIT                   MI
71372   2T1BURHE3JC086025   Toyota       COROLLA             Manheim                   PA
71373   2T1BURHE3JC086137   Toyota       COROLLA             TAMPA                     US
71374   2T1BURHE3JC086364   Toyota       COROLLA             KENNER                    LA
71375   2T1BURHE3JC086509   Toyota       COROLLA             DANIA                     FL
71376   2T1BURHE3JC086655   Toyota       COROLLA             BOSTON                    MA
71377   2T1BURHE3JC086932   Toyota       COROLLA             JACKSON                   MS
71378   2T1BURHE3JC086980   Toyota       COROLLA             CHICAGO                   IL
71379   2T1BURHE3JC087157   Toyota       COROLLA             TAMPA                     US
71380   2T1BURHE3JC087773   Toyota       COROLLA             NEWARK                    NJ
71381   2T1BURHE3JC088535   Toyota       COROLLA             TAMPA                     US
71382   2T1BURHE3JC088762   Toyota       COROLLA             DETROIT                   MI
71383   2T1BURHE3JC088860   Toyota       COROLLA             DALLAS                    TX
71384   2T1BURHE3JC093587   Toyota       COROLLA             WEST PALM BEACH           FL
71385   2T1BURHE3JC102062   Toyota       COROLLA             UNION CITY                GA
71386   2T1BURHE3JC102109   Toyota       COROLLA             ORLANDO                   FL
71387   2T1BURHE3JC102210   Toyota       COROLLA             WEST COLUMBIA             SC
71388   2T1BURHE3JC102840   Toyota       COROLLA             CHARLESTON                WV
71389   2T1BURHE3JC102983   Toyota       COROLLA             ORLANDO                   FL
71390   2T1BURHE3JC103115   Toyota       COROLLA             Alexandria                LA
71391   2T1BURHE3JC103812   Toyota       COROLLA             Detroit                   MI
71392   2T1BURHE3JC103924   Toyota       COROLLA             ORLANDO                   FL
71393   2T1BURHE3JC103986   Toyota       COROLLA             PHILADELPHIA              PA
71394   2T1BURHE3JC104006   Toyota       COROLLA             BOSTON                    MA
71395   2T1BURHE3JC104622   Toyota       COROLLA             ATLANTA AP                GA
71396   2T1BURHE3JC104717   Toyota       COROLLA             SAN RAFAEL                CA
71397   2T1BURHE3JC104796   Toyota       COROLLA             ORLANDO                   FL
71398   2T1BURHE3JC104829   Toyota       COROLLA             SNELLVILLE                GA
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71399   2T1BURHE3JC105463   Toyota       COROLLA             INDIANAPOLIS              IN
71400   2T1BURHE3JC105575   Toyota       COROLLA             Smithtown                 NY
71401   2T1BURHE3JC106273   Toyota       COROLLA             MIDLAND                   TX
71402   2T1BURHE3JC106399   Toyota       COROLLA             PHILADELPHIA              PA
71403   2T1BURHE3JC107956   Toyota       COROLLA             TAMPA                     US
71404   2T1BURHE3JC108914   Toyota       COROLLA             TAMPA                     US
71405   2T1BURHE3JC108928   Toyota       COROLLA             BURBANK                   CA
71406   2T1BURHE3JC108976   Toyota       COROLLA             DANIA                     FL
71407   2T1BURHE3JC109545   Toyota       COROLLA             SAN JOSE                  CA
71408   2T1BURHE3JC109593   Toyota       COROLLA             Winston‐Salem             NC
71409   2T1BURHE3JC109660   Toyota       COROLLA             ORLANDO                   FL
71410   2T1BURHE3JC109691   Toyota       COROLLA             Atlanta                   GA
71411   2T1BURHE3JC121257   Toyota       COROLLA             SAVANNAH                  GA
71412   2T1BURHE3JC121307   Toyota       COROLLA             PHILADELPHIA              PA
71413   2T1BURHE3JC121338   Toyota       COROLLA             FORT MYERS                FL
71414   2T1BURHE3JC121730   Toyota       COROLLA             UNION CITY                GA
71415   2T1BURHE3JC121744   Toyota       COROLLA             WINDSOR LOCKS             CT
71416   2T1BURHE3JC121758   Toyota       COROLLA             SACRAMENTO                CA
71417   2T1BURHE3JC121775   Toyota       COROLLA             FORT MYERS                FL
71418   2T1BURHE3JC122005   Toyota       COROLLA             WEST PALM BEACH           FL
71419   2T1BURHE3JC122537   Toyota       COROLLA             KENNER                    LA
71420   2T1BURHE3JC122604   Toyota       COROLLA             Aurora                    CO
71421   2T1BURHE3JC122781   Toyota       COROLLA             Atlanta                   GA
71422   2T1BURHE3JC122828   Toyota       COROLLA             PITTSBURGH                PA
71423   2T1BURHE3JC123364   Toyota       COROLLA             DANIA                     FL
71424   2T1BURHE3JC123400   Toyota       COROLLA             PHOENIX                   AZ
71425   2T1BURHE3JC123428   Toyota       COROLLA             DENVER                    CO
71426   2T1BURHE3JC123543   Toyota       COROLLA             UNION CITY                GA
71427   2T1BURHE3JC123591   Toyota       COROLLA             ORLANDO                   FL
71428   2T1BURHE3JC123641   Toyota       COROLLA             NEW BERN                  NC
71429   2T1BURHE3JC124174   Toyota       COROLLA             SAN DIEGO                 CA
71430   2T1BURHE3JC124207   Toyota       COROLLA             DENVER                    CO
71431   2T1BURHE3JC124580   Toyota       COROLLA             LAKEWOOD                  WA
71432   2T1BURHE3JC124918   Toyota       COROLLA             DENVER                    CO
71433   2T1BURHE3JC124952   Toyota       COROLLA             DRB                       UT
71434   2T1BURHE3KC148296   Toyota       COROLLA             Miami                     FL
71435   2T1BURHE3KC163283   Toyota       COROLLA             ROANOKE                   VA
71436   2T1BURHE3KC164076   Toyota       COROLLA             ORLANDO                   FL
71437   2T1BURHE3KC164837   Toyota       COROLLA             ONTARIO                   CA
71438   2T1BURHE3KC167690   Toyota       COROLLA             PALM SPRINGS              CA
71439   2T1BURHE3KC167852   Toyota       COROLLA             ONTARIO, RIVERSIDE        CA
71440   2T1BURHE3KC170184   Toyota       COROLLA             PHOENIX                   AZ
71441   2T1BURHE3KC182593   Toyota       COROLLA             West Palm Beach           FL
71442   2T1BURHE3KC214958   Toyota       COROLLA             JACKSONVILLE              FL
71443   2T1BURHE3KC238645   Toyota       COROLLA             SARASOTA                  FL
71444   2T1BURHE3KC241593   Toyota       COROLLA             ORLANDO                   FL
71445   2T1BURHE4GC626183   Toyota       COROLLA             HARVEY                    LA
71446   2T1BURHE4GC642500   Toyota       COROLLA             LOS ANGELES               CA
71447   2T1BURHE4HC782418   Toyota       COROLLA             Miami                     FL
71448   2T1BURHE4HC786887   Toyota       COROLLA             MIAMI                     FL
71449   2T1BURHE4HC807916   Toyota       COROLLA             FT. LAUDERDALE            FL
71450   2T1BURHE4HC814218   Toyota       COROLLA             ORLANDO                   FL
71451   2T1BURHE4HC843444   Toyota       COROLLA             KENT                      WA
71452   2T1BURHE4HC858185   Toyota       COROLLA             KENT                      WA
71453   2T1BURHE4HC859756   Toyota       COROLLA             BURBANK                   CA
71454   2T1BURHE4HC861703   Toyota       COROLLA             LAS VEGAS                 NV
71455   2T1BURHE4HC863600   Toyota       COROLLA             LOS ANGELES               CA
71456   2T1BURHE4HC864777   Toyota       COROLLA             SAN FRANCISCO             CA
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71457   2T1BURHE4HC866657   Toyota       COROLLA             KENT                      WA
71458   2T1BURHE4HC885015   Toyota       COROLLA             Dania Beach               FL
71459   2T1BURHE4HC902914   Toyota       COROLLA             LA HARBRA                 CA
71460   2T1BURHE4HC902928   Toyota       COROLLA             BURBANK                   CA
71461   2T1BURHE4HC906140   Toyota       COROLLA             DFW AIRPORT               TX
71462   2T1BURHE4HC906168   Toyota       COROLLA             SAN FRANCISCO             CA
71463   2T1BURHE4HC907028   Toyota       COROLLA             LAS VEGAS                 NV
71464   2T1BURHE4HC907109   Toyota       COROLLA             KENT                      WA
71465   2T1BURHE4HC907126   Toyota       COROLLA             Norwalk                   CA
71466   2T1BURHE4HC930065   Toyota       COROLLA             COLLEGE PARK              GA
71467   2T1BURHE4JC014881   Toyota       COROLLA             ORLANDO                   FL
71468   2T1BURHE4JC028182   Toyota       COROLLA             CHARLOTTE                 NC
71469   2T1BURHE4JC035097   Toyota       COROLLA             SAN DIEGO                 CA
71470   2T1BURHE4JC036136   Toyota       COROLLA             PHOENIX                   AZ
71471   2T1BURHE4JC049419   Toyota       COROLLA             West Palm Beach           FL
71472   2T1BURHE4JC049551   Toyota       COROLLA             UNION CITY                GA
71473   2T1BURHE4JC066236   Toyota       COROLLA             DANIA                     FL
71474   2T1BURHE4JC066589   Toyota       COROLLA             FORT MYERS                FL
71475   2T1BURHE4JC066723   Toyota       COROLLA             NORTH PAC                 CA
71476   2T1BURHE4JC066740   Toyota       COROLLA             KENT                      WA
71477   2T1BURHE4JC066768   Toyota       COROLLA             SACRAMENTO                CA
71478   2T1BURHE4JC067399   Toyota       COROLLA             PALM SPRINGS              CA
71479   2T1BURHE4JC067600   Toyota       COROLLA             LOS ANGELES               CA
71480   2T1BURHE4JC068214   Toyota       COROLLA             San Diego                 CA
71481   2T1BURHE4JC068889   Toyota       COROLLA             Harvey                    LA
71482   2T1BURHE4JC069086   Toyota       COROLLA             LOS ANGELES               CA
71483   2T1BURHE4JC069184   Toyota       COROLLA             SAN DIEGO                 CA
71484   2T1BURHE4JC069945   Toyota       COROLLA             Portland                  OR
71485   2T1BURHE4JC070464   Toyota       COROLLA             LAKEWOOD                  WA
71486   2T1BURHE4JC070772   Toyota       COROLLA             LOS ANGELES               CA
71487   2T1BURHE4JC070884   Toyota       COROLLA             Matteson                  IL
71488   2T1BURHE4JC072294   Toyota       COROLLA             LOS ANGELES               CA
71489   2T1BURHE4JC072490   Toyota       COROLLA             Austell                   GA
71490   2T1BURHE4JC072568   Toyota       COROLLA             LOS ANGELES               CA
71491   2T1BURHE4JC072585   Toyota       COROLLA             SAN FRANCISCO             CA
71492   2T1BURHE4JC073316   Toyota       COROLLA             PALM SPRINGS              CA
71493   2T1BURHE4JC082372   Toyota       COROLLA             LITHIA SPRINGS            GA
71494   2T1BURHE4JC085241   Toyota       COROLLA             PENSACOLA                 FL
71495   2T1BURHE4JC085563   Toyota       COROLLA             FORT MYERS                FL
71496   2T1BURHE4JC085885   Toyota       COROLLA             SAN ANTONIO               TX
71497   2T1BURHE4JC086101   Toyota       COROLLA             SANTA BARBARA             CA
71498   2T1BURHE4JC086292   Toyota       COROLLA             ATLANTA AP                GA
71499   2T1BURHE4JC086342   Toyota       COROLLA             FORT MYERS                FL
71500   2T1BURHE4JC086406   Toyota       COROLLA             JACKSONVILLE              FL
71501   2T1BURHE4JC086423   Toyota       COROLLA             DALLAS                    TX
71502   2T1BURHE4JC086955   Toyota       COROLLA             TAMPA                     US
71503   2T1BURHE4JC087667   Toyota       COROLLA             ORLANDO                   FL
71504   2T1BURHE4JC087782   Toyota       COROLLA             San Diego                 CA
71505   2T1BURHE4JC088219   Toyota       COROLLA             West Palm Beach           FL
71506   2T1BURHE4JC088527   Toyota       COROLLA             JACKSONVILLE              FL
71507   2T1BURHE4JC088804   Toyota       COROLLA             Atlanta                   GA
71508   2T1BURHE4JC101986   Toyota       COROLLA             GREENSBORO                NC
71509   2T1BURHE4JC102152   Toyota       COROLLA             Warminster                PA
71510   2T1BURHE4JC102281   Toyota       COROLLA             CLEVELAND                 OH
71511   2T1BURHE4JC102796   Toyota       COROLLA             EGG HARBOR TOWN           NJ
71512   2T1BURHE4JC103964   Toyota       COROLLA             SARASOTA                  FL
71513   2T1BURHE4JC104581   Toyota       COROLLA             Philadelphia              PA
71514   2T1BURHE4JC104791   Toyota       COROLLA             JACKSONVILLE              FL
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71515   2T1BURHE4JC105374   Toyota       COROLLA             PORTLAND                  OR
71516   2T1BURHE4JC106279   Toyota       COROLLA             PITTSBURGH                PA
71517   2T1BURHE4JC106346   Toyota       COROLLA             SAINT LOUIS               MO
71518   2T1BURHE4JC107061   Toyota       COROLLA             ALBUQUERQUE               NM
71519   2T1BURHE4JC107268   Toyota       COROLLA             JACKSONVILLE              FL
71520   2T1BURHE4JC108050   Toyota       COROLLA             Smithtown                 NY
71521   2T1BURHE4JC108663   Toyota       COROLLA             FORT MYERS                FL
71522   2T1BURHE4JC108727   Toyota       COROLLA             DFW AIRPORT               TX
71523   2T1BURHE4JC111028   Toyota       COROLLA             Woodhaven                 MI
71524   2T1BURHE4JC118500   Toyota       COROLLA             COLORADO SPRING           CO
71525   2T1BURHE4JC118822   Toyota       COROLLA             ORLANDO                   FL
71526   2T1BURHE4JC118870   Toyota       COROLLA             UNION CITY                GA
71527   2T1BURHE4JC119551   Toyota       COROLLA             BURBANK                   CA
71528   2T1BURHE4JC121204   Toyota       COROLLA             Reno                      NV
71529   2T1BURHE4JC121252   Toyota       COROLLA             ELMONT                    NY
71530   2T1BURHE4JC121803   Toyota       COROLLA             DENVER                    CO
71531   2T1BURHE4JC122126   Toyota       COROLLA             ORLANDO                   FL
71532   2T1BURHE4JC122563   Toyota       COROLLA             Detroit                   MI
71533   2T1BURHE4JC122756   Toyota       COROLLA             ORLANDO                   FL
71534   2T1BURHE4JC123406   Toyota       COROLLA             ALBUQUERQUE               NM
71535   2T1BURHE4JC123678   Toyota       COROLLA             TAMPA                     US
71536   2T1BURHE4JC124068   Toyota       COROLLA             WEST COLUMBIA             SC
71537   2T1BURHE4JC124135   Toyota       COROLLA             SEATAC                    WA
71538   2T1BURHE4JC124197   Toyota       COROLLA             PHOENIX                   AZ
71539   2T1BURHE4JC124359   Toyota       COROLLA             ALBUQUERQUE               NM
71540   2T1BURHE4JC124927   Toyota       COROLLA             NEWARK                    NJ
71541   2T1BURHE4JC124944   Toyota       COROLLA             LAS VEGAS                 NV
71542   2T1BURHE4JC986125   Toyota       COROLLA             LAS VEGAS                 NV
71543   2T1BURHE4KC167732   Toyota       COROLLA             ORLANDO                   FL
71544   2T1BURHE4KC214614   Toyota       COROLLA             SARASOTA                  FL
71545   2T1BURHE4KC223751   Toyota       COROLLA             FORT MYERS                FL
71546   2T1BURHE4KC225080   Toyota       COROLLA             ORLANDO                   FL
71547   2T1BURHE4KC239688   Toyota       COROLLA             Miami                     FL
71548   2T1BURHE5FC477782   Toyota       COROLLA             HARVEY                    LA
71549   2T1BURHE5GC518753   Toyota       COROLLA             HAYWARD                   CA
71550   2T1BURHE5GC555608   Toyota       COROLLA             TAMPA                     US
71551   2T1BURHE5GC588012   Toyota       COROLLA             KENT                      WA
71552   2T1BURHE5HC776059   Toyota       COROLLA             Miami                     FL
71553   2T1BURHE5HC785280   Toyota       COROLLA             DANIA                     FL
71554   2T1BURHE5HC788695   Toyota       CAMRY               AUSTIN                    TX
71555   2T1BURHE5HC790902   Toyota       COROLLA             Miami                     FL
71556   2T1BURHE5HC844361   Toyota       COROLLA             Matteson                  IL
71557   2T1BURHE5HC859037   Toyota       COROLLA             PHOENIX                   AZ
71558   2T1BURHE5HC861659   Toyota       COROLLA             LAS VEGAS                 NV
71559   2T1BURHE5HC863380   Toyota       COROLLA             BURBANK                   CA
71560   2T1BURHE5HC864822   Toyota       COROLLA             Las Vegas                 NV
71561   2T1BURHE5HC865842   Toyota       COROLLA             LAKEWOOD                  WA
71562   2T1BURHE5HC866716   Toyota       COROLLA             LAS VEGAS                 NV
71563   2T1BURHE5HC876467   Toyota       COROLLA             PHOENIX                   AZ
71564   2T1BURHE5HC883175   Toyota       COROLLA             Matteson                  IL
71565   2T1BURHE5HC883306   Toyota       COROLLA             NORTH PAC                 CA
71566   2T1BURHE5HC885038   Toyota       COROLLA             CHICAGO                   IL
71567   2T1BURHE5HC885458   Toyota       COROLLA             PHOENIX                   AZ
71568   2T1BURHE5HC885556   Toyota       COROLLA             CHICAGO                   IL
71569   2T1BURHE5HC909306   Toyota       COROLLA             Miami                     FL
71570   2T1BURHE5HC929071   Toyota       COROLLA             Miami                     FL
71571   2T1BURHE5HC929796   Toyota       COROLLA             LAS VEGAS                 NV
71572   2T1BURHE5HC948638   Toyota       COROLLA             DANIA                     FL
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71573   2T1BURHE5JC035898   Toyota       COROLLA             LOS ANGELES               CA
71574   2T1BURHE5JC035979   Toyota       COROLLA             SANTA ANA                 CA
71575   2T1BURHE5JC036985   Toyota       COROLLA             PHOENIX                   AZ
71576   2T1BURHE5JC037828   Toyota       COROLLA             HAYWARD                   CA
71577   2T1BURHE5JC050238   Toyota       COROLLA             Dallas                    TX
71578   2T1BURHE5JC066682   Toyota       COROLLA             MANASSAS                  VA
71579   2T1BURHE5JC066729   Toyota       COROLLA             LAS VEGAS                 NV
71580   2T1BURHE5JC067413   Toyota       COROLLA             LOS ANGELES               CA
71581   2T1BURHE5JC067511   Toyota       COROLLA             PHOENIX                   AZ
71582   2T1BURHE5JC067539   Toyota       COROLLA             ONTARIO                   CA
71583   2T1BURHE5JC067623   Toyota       COROLLA             LOS ANGELES               CA
71584   2T1BURHE5JC068285   Toyota       COROLLA             BURBANK                   CA
71585   2T1BURHE5JC068402   Toyota       COROLLA             ONTARIO, RIVERSIDE        CA
71586   2T1BURHE5JC068433   Toyota       COROLLA             PHOENIX                   AZ
71587   2T1BURHE5JC069064   Toyota       COROLLA             SAN FRANCISCO             CA
71588   2T1BURHE5JC069095   Toyota       COROLLA             SAN DIEGO                 CA
71589   2T1BURHE5JC069159   Toyota       COROLLA             LOS ANGELES               CA
71590   2T1BURHE5JC069792   Toyota       COROLLA             NORTH PAC                 CA
71591   2T1BURHE5JC069890   Toyota       COROLLA             DRB                       UT
71592   2T1BURHE5JC070795   Toyota       COROLLA             NORTH PAC                 CA
71593   2T1BURHE5JC070800   Toyota       COROLLA             San Diego                 CA
71594   2T1BURHE5JC070814   Toyota       COROLLA             PALM SPRINGS              CA
71595   2T1BURHE5JC071672   Toyota       COROLLA             CHARLOTTE                 NC
71596   2T1BURHE5JC071705   Toyota       COROLLA             SAN DIEGO                 CA
71597   2T1BURHE5JC071719   Toyota       COROLLA             ONTARIO, RIVERSIDE        CA
71598   2T1BURHE5JC071753   Toyota       COROLLA             DENVER                    CO
71599   2T1BURHE5JC072417   Toyota       COROLLA             SAN FRANCISCO             CA
71600   2T1BURHE5JC072546   Toyota       COROLLA             PHOENIX                   AZ
71601   2T1BURHE5JC073292   Toyota       COROLLA             CHICAGO                   IL
71602   2T1BURHE5JC084843   Toyota       COROLLA             CHICAGO                   IL
71603   2T1BURHE5JC084857   Toyota       COROLLA             CHICAGO                   IL
71604   2T1BURHE5JC085975   Toyota       COROLLA             PHILADELPHIA              PA
71605   2T1BURHE5JC086091   Toyota       COROLLA             COLUMBIA STATIO           OH
71606   2T1BURHE5JC086320   Toyota       COROLLA             DANIA                     FL
71607   2T1BURHE5JC086950   Toyota       COROLLA             TAMPA                     US
71608   2T1BURHE5JC087645   Toyota       COROLLA             PHILADELPHIA              PA
71609   2T1BURHE5JC087788   Toyota       COROLLA             Harvey                    LA
71610   2T1BURHE5JC087970   Toyota       COROLLA             GRAND RAPIDS              MI
71611   2T1BURHE5JC088018   Toyota       COROLLA             Costa Mesa                CA
71612   2T1BURHE5JC088021   Toyota       COROLLA             HAYWARD                   CA
71613   2T1BURHE5JC088486   Toyota       COROLLA             SARASOTA                  FL
71614   2T1BURHE5JC088620   Toyota       COROLLA             Teterboro                 NJ
71615   2T1BURHE5JC088679   Toyota       COROLLA             LOS ANGELES               CA
71616   2T1BURHE5JC101835   Toyota       COROLLA             MORRISVILLE               NC
71617   2T1BURHE5JC102256   Toyota       COROLLA             ORLANDO                   FL
71618   2T1BURHE5JC103004   Toyota       COROLLA             OAKLAND                   CA
71619   2T1BURHE5JC103679   Toyota       COROLLA             HOUSTON                   TX
71620   2T1BURHE5JC103763   Toyota       COROLLA             SAN FRANCISCO             CA
71621   2T1BURHE5JC104542   Toyota       COROLLA             IRVING                    TX
71622   2T1BURHE5JC104783   Toyota       COROLLA             DANIA                     FL
71623   2T1BURHE5JC105514   Toyota       COROLLA             ORLANDO                   FL
71624   2T1BURHE5JC106405   Toyota       COROLLA             TAMPA                     US
71625   2T1BURHE5JC107232   Toyota       COROLLA             ORLANDO                   FL
71626   2T1BURHE5JC107974   Toyota       COROLLA             San Diego                 CA
71627   2T1BURHE5JC108025   Toyota       COROLLA             SARASOTA                  FL
71628   2T1BURHE5JC108073   Toyota       COROLLA             DENVER                    CO
71629   2T1BURHE5JC108087   Toyota       COROLLA             Hebron                    KY
71630   2T1BURHE5JC108817   Toyota       COROLLA             RICHMOND                  VA
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71631   2T1BURHE5JC109630   Toyota       COROLLA             Winston‐Salem             NC
71632   2T1BURHE5JC109661   Toyota       COROLLA             ORLANDO                   FL
71633   2T1BURHE5JC109711   Toyota       COROLLA             DANIA                     FL
71634   2T1BURHE5JC118019   Toyota       COROLLA             KNOXVILLE                 TN
71635   2T1BURHE5JC118764   Toyota       COROLLA             Los Angeles               CA
71636   2T1BURHE5JC118781   Toyota       COROLLA             LOUISVILLE                KY
71637   2T1BURHE5JC118828   Toyota       COROLLA             FORT MYERS                FL
71638   2T1BURHE5JC119557   Toyota       COROLLA             ST PAUL                   MN
71639   2T1BURHE5JC119672   Toyota       COROLLA             TAMPA                     US
71640   2T1BURHE5JC121101   Toyota       COROLLA             PHOENIX                   AZ
71641   2T1BURHE5JC121163   Toyota       COROLLA             CHARLOTTE                 NC
71642   2T1BURHE5JC122054   Toyota       COROLLA             KNOXVILLE                 TN
71643   2T1BURHE5JC122555   Toyota       COROLLA             MIDLAND                   TX
71644   2T1BURHE5JC122636   Toyota       COROLLA             DRB                       UT
71645   2T1BURHE5JC122734   Toyota       COROLLA             Philadelphia              PA
71646   2T1BURHE5JC122796   Toyota       COROLLA             GRAND RAPIDS              MI
71647   2T1BURHE5JC123348   Toyota       COROLLA             TAMPA                     US
71648   2T1BURHE5JC123396   Toyota       COROLLA             DENVER                    CO
71649   2T1BURHE5JC123432   Toyota       COROLLA             DENVER                    CO
71650   2T1BURHE5JC123513   Toyota       COROLLA             ORLANDO                   FL
71651   2T1BURHE5JC123544   Toyota       COROLLA             ALEXANDRIA                VA
71652   2T1BURHE5JC124323   Toyota       COROLLA             DANIA                     FL
71653   2T1BURHE5JC124922   Toyota       COROLLA             SAINT LOUIS               MO
71654   2T1BURHE5JC968474   Toyota       COROLLA             ORLANDO                   FL
71655   2T1BURHE5JC976896   Toyota       COROLLA             AUSTIN                    TX
71656   2T1BURHE5KC164080   Toyota       COROLLA             PHOENIX                   AZ
71657   2T1BURHE5KC165598   Toyota       COROLLA             Dallas                    TX
71658   2T1BURHE5KC166136   Toyota       COROLLA             Teterboro                 NJ
71659   2T1BURHE5KC166346   Toyota       COROLLA             ORLANDO                   FL
71660   2T1BURHE5KC167142   Toyota       COROLLA             TAMPA                     US
71661   2T1BURHE5KC168369   Toyota       COROLLA             TAMPA                     US
71662   2T1BURHE5KC169408   Toyota       COROLLA             CHICAGO                   IL
71663   2T1BURHE5KC181834   Toyota       COROLLA             TAMPA                     US
71664   2T1BURHE5KC183972   Toyota       COROLLA             NAPLES                    FL
71665   2T1BURHE5KC184006   Toyota       COROLLA             TAMPA                     US
71666   2T1BURHE5KC240266   Toyota       COROLLA             JACKSONVILLE              FL
71667   2T1BURHE5KC241160   Toyota       COROLLA             JACKSONVILLE              FL
71668   2T1BURHE5KC243006   Toyota       COROLLA             TAMPA                     US
71669   2T1BURHE6GC511522   Toyota       COROLLA             MANASSAS                  VA
71670   2T1BURHE6GC616061   Toyota       COROLLA             HARVEY                    LA
71671   2T1BURHE6GC627769   Toyota       COROLLA             BOSTON                    MA
71672   2T1BURHE6GC714281   Toyota       COROLLA             HARVEY                    LA
71673   2T1BURHE6HC752823   Toyota       COROLLA             DANIA                     FL
71674   2T1BURHE6HC822272   Toyota       COROLLA             PHOENIX                   AZ
71675   2T1BURHE6HC843784   Toyota       COROLLA             Revere                    MA
71676   2T1BURHE6HC846720   Toyota       COROLLA             CHARLOTTE                 NC
71677   2T1BURHE6HC849116   Toyota       COROLLA             PITTSBURGH                PA
71678   2T1BURHE6HC855899   Toyota       COROLLA             Burien                    WA
71679   2T1BURHE6HC859564   Toyota       COROLLA             AURORA                    CO
71680   2T1BURHE6HC860679   Toyota       COROLLA             Portland                  OR
71681   2T1BURHE6HC861069   Toyota       COROLLA             HARVEY                    LA
71682   2T1BURHE6HC862478   Toyota       COROLLA             KENT                      WA
71683   2T1BURHE6HC862982   Toyota       COROLLA             Burien                    WA
71684   2T1BURHE6HC867051   Toyota       COROLLA             IRVING                    TX
71685   2T1BURHE6HC867518   Toyota       COROLLA             Bordentown                NJ
71686   2T1BURHE6HC867552   Toyota       COROLLA             LAS VEGAS                 NV
71687   2T1BURHE6HC869382   Toyota       COROLLA             PHOENIX                   AZ
71688   2T1BURHE6HC881998   Toyota       COROLLA             Burien                    WA
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71689   2T1BURHE6HC885534   Toyota       COROLLA             CHARLOTTE                 NC
71690   2T1BURHE6HC886182   Toyota       COROLLA             TAMPA                     US
71691   2T1BURHE6HC886361   Toyota       COROLLA             STERLING                  VA
71692   2T1BURHE6HC886974   Toyota       COROLLA             CHICAGO                   IL
71693   2T1BURHE6HC890216   Toyota       CAMRY               SAN ANTONIO               TX
71694   2T1BURHE6HC898445   Toyota       CAMRY               SAN ANTONIO               TX
71695   2T1BURHE6HC904941   Toyota       COROLLA             PHOENIX                   AZ
71696   2T1BURHE6HC916524   Toyota       COROLLA             AURORA                    CO
71697   2T1BURHE6HC924204   Toyota       COROLLA             MEDINA                    OH
71698   2T1BURHE6JC033058   Toyota       COROLLA             JACKSONVILLE              FL
71699   2T1BURHE6JC034288   Toyota       COROLLA             CHICAGO                   IL
71700   2T1BURHE6JC035943   Toyota       COROLLA             ONTARIO                   CA
71701   2T1BURHE6JC037756   Toyota       COROLLA             LA HARBRA                 CA
71702   2T1BURHE6JC038003   Toyota       COROLLA             FORT MYERS                FL
71703   2T1BURHE6JC066674   Toyota       COROLLA             PORTLAND                  OR
71704   2T1BURHE6JC066772   Toyota       COROLLA             ORLANDO                   FL
71705   2T1BURHE6JC066805   Toyota       COROLLA             DALLAS                    TX
71706   2T1BURHE6JC067534   Toyota       COROLLA             SANTA BARBARA             CA
71707   2T1BURHE6JC067548   Toyota       COROLLA             San Diego                 CA
71708   2T1BURHE6JC067565   Toyota       COROLLA             Chicago                   IL
71709   2T1BURHE6JC068327   Toyota       COROLLA             SAN ANTONIO               TX
71710   2T1BURHE6JC068389   Toyota       COROLLA             LAS VEGAS                 NV
71711   2T1BURHE6JC068392   Toyota       COROLLA             LAS VEGAS                 NV
71712   2T1BURHE6JC068456   Toyota       COROLLA             PLEASANTON                CA
71713   2T1BURHE6JC068957   Toyota       COROLLA             Roseville                 CA
71714   2T1BURHE6JC068991   Toyota       COROLLA             LAS VEGAS                 NV
71715   2T1BURHE6JC069073   Toyota       COROLLA             SHREVEPORT                US
71716   2T1BURHE6JC069736   Toyota       COROLLA             HOUSTON                   TX
71717   2T1BURHE6JC069848   Toyota       COROLLA             PHOENIX                   AZ
71718   2T1BURHE6JC069994   Toyota       COROLLA             BURBANK                   CA
71719   2T1BURHE6JC070000   Toyota       COROLLA             LOS ANGELES               CA
71720   2T1BURHE6JC070773   Toyota       COROLLA             SAN JOSE                  CA
71721   2T1BURHE6JC070854   Toyota       COROLLA             Los Angeles               CA
71722   2T1BURHE6JC071647   Toyota       COROLLA             LOS ANGELES               CA
71723   2T1BURHE6JC071664   Toyota       COROLLA             Hayward                   CA
71724   2T1BURHE6JC071681   Toyota       COROLLA             PLEASANT HILL             CA
71725   2T1BURHE6JC071731   Toyota       COROLLA             OKLAHOMA CITY             OK
71726   2T1BURHE6JC071941   Toyota       COROLLA             DENVER                    CO
71727   2T1BURHE6JC072507   Toyota       COROLLA             CATHEDRAL CITY            CA
71728   2T1BURHE6JC073155   Toyota       COROLLA             PHILADELPHIA              PA
71729   2T1BURHE6JC073284   Toyota       COROLLA             JACKSONVILLE              FL
71730   2T1BURHE6JC082826   Toyota       COROLLA             Bridgeton                 MO
71731   2T1BURHE6JC084012   Toyota       COROLLA             PHILADELPHIA              PA
71732   2T1BURHE6JC084768   Toyota       COROLLA             AUSTIN                    TX
71733   2T1BURHE6JC084771   Toyota       COROLLA             SAN FRANCISCO             CA
71734   2T1BURHE6JC084849   Toyota       COROLLA             CHICAGO                   IL
71735   2T1BURHE6JC085600   Toyota       COROLLA             Baltimore                 MD
71736   2T1BURHE6JC085757   Toyota       COROLLA             TAMPA                     US
71737   2T1BURHE6JC085788   Toyota       COROLLA             NEWARK                    NJ
71738   2T1BURHE6JC086018   Toyota       COROLLA             Detroit                   MI
71739   2T1BURHE6JC086066   Toyota       COROLLA             Miami                     FL
71740   2T1BURHE6JC086388   Toyota       COROLLA             LAS VEGAS                 NV
71741   2T1BURHE6JC086942   Toyota       COROLLA             MOBILE                    A
71742   2T1BURHE6JC087007   Toyota       COROLLA             CHICAGO                   IL
71743   2T1BURHE6JC087234   Toyota       COROLLA             PHOENIX                   AZ
71744   2T1BURHE6JC087461   Toyota       COROLLA             Detroit                   MI
71745   2T1BURHE6JC087802   Toyota       COROLLA             UNION CITY                GA
71746   2T1BURHE6JC087816   Toyota       COROLLA             LAS VEGAS                 NV
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71747   2T1BURHE6JC087833   Toyota       COROLLA             TAMPA                     US
71748   2T1BURHE6JC087976   Toyota       COROLLA             NEW BERN                  NC
71749   2T1BURHE6JC088531   Toyota       COROLLA             CLEVELAND                 OH
71750   2T1BURHE6JC088903   Toyota       COROLLA             TAMPA                     US
71751   2T1BURHE6JC102170   Toyota       COROLLA             UNION CITY                GA
71752   2T1BURHE6JC102301   Toyota       COROLLA             BOSTON                    MA
71753   2T1BURHE6JC102315   Toyota       COROLLA             Teterboro                 NJ
71754   2T1BURHE6JC102797   Toyota       COROLLA             ROANOKE                   VA
71755   2T1BURHE6JC103139   Toyota       COROLLA             UNION CITY                GA
71756   2T1BURHE6JC103660   Toyota       COROLLA             Harvey                    LA
71757   2T1BURHE6JC103741   Toyota       COROLLA             CHEEKTOWAGA               NY
71758   2T1BURHE6JC103948   Toyota       COROLLA             WEST COLUMBIA             SC
71759   2T1BURHE6JC104503   Toyota       COROLLA             FT LAUDERDALE             FL
71760   2T1BURHE6JC104596   Toyota       COROLLA             DALLAS                    TX
71761   2T1BURHE6JC104677   Toyota       COROLLA             MORRISVILLE               NC
71762   2T1BURHE6JC105456   Toyota       COROLLA             Atlanta                   GA
71763   2T1BURHE6JC106011   Toyota       COROLLA             WEST COLUMBIA             SC
71764   2T1BURHE6JC106042   Toyota       COROLLA             SAINT PAUL                MN
71765   2T1BURHE6JC106218   Toyota       COROLLA             HARVEY                    LA
71766   2T1BURHE6JC106221   Toyota       COROLLA             ORLANDO                   FL
71767   2T1BURHE6JC106378   Toyota       COROLLA             WEST COLUMBIA             SC
71768   2T1BURHE6JC106395   Toyota       COROLLA             Revere                    MA
71769   2T1BURHE6JC108017   Toyota       COROLLA             MOBILE                    A
71770   2T1BURHE6JC108096   Toyota       COROLLA             HANOVER                   MD
71771   2T1BURHE6JC120183   Toyota       COROLLA             KENNER                    LA
71772   2T1BURHE6JC120362   Toyota       COROLLA             SAN JOSE                  CA
71773   2T1BURHE6JC120491   Toyota       COROLLA             CLEVELAND                 OH
71774   2T1BURHE6JC121074   Toyota       COROLLA             TAMPA                     US
71775   2T1BURHE6JC121138   Toyota       COROLLA             DENVER                    CO
71776   2T1BURHE6JC121219   Toyota       COROLLA             JACKSONVILLE              FL
71777   2T1BURHE6JC121799   Toyota       COROLLA             PHOENIX                   AZ
71778   2T1BURHE6JC122001   Toyota       COROLLA             GREENSBORO                NC
71779   2T1BURHE6JC122578   Toyota       COROLLA             DENVER                    CO
71780   2T1BURHE6JC123195   Toyota       COROLLA             PHOENIX                   AZ
71781   2T1BURHE6JC123200   Toyota       COROLLA             DENVER                    CO
71782   2T1BURHE6JC123424   Toyota       COROLLA             LAS VEGAS                 NV
71783   2T1BURHE6JC123441   Toyota       COROLLA             SAN ANTONIO               TX
71784   2T1BURHE6JC123990   Toyota       COROLLA             DENVER                    CO
71785   2T1BURHE6JC124136   Toyota       COROLLA             PHOENIX                   AZ
71786   2T1BURHE6JC124153   Toyota       COROLLA             PHOENIX                   AZ
71787   2T1BURHE6JC124346   Toyota       COROLLA             MORRISVILLE               NC
71788   2T1BURHE6JC124380   Toyota       COROLLA             Miami                     FL
71789   2T1BURHE6JC124413   Toyota       COROLLA             PITTSBURGH                PA
71790   2T1BURHE6JC124881   Toyota       COROLLA             DENVER                    CO
71791   2T1BURHE6KC163925   Toyota       COROLLA             LOS ANGELES               CA
71792   2T1BURHE6KC164010   Toyota       COROLLA             PHOENIX                   AZ
71793   2T1BURHE6KC165450   Toyota       COROLLA             LAS VEGAS                 NV
71794   2T1BURHE6KC167876   Toyota       COROLLA             Tulsa                     OK
71795   2T1BURHE6KC168607   Toyota       COROLLA             PHOENIX                   AZ
71796   2T1BURHE6KC168624   Toyota       COROLLA             JACKSONVILLE              FL
71797   2T1BURHE6KC181101   Toyota       COROLLA             ORLANDO                   FL
71798   2T1BURHE6KC182586   Toyota       COROLLA             DANIA                     FL
71799   2T1BURHE6KC183253   Toyota       COROLLA             TAMPA                     US
71800   2T1BURHE6KC224903   Toyota       COROLLA             DANIA                     FL
71801   2T1BURHE6KC237392   Toyota       COROLLA             SAVANNAH                  GA
71802   2T1BURHE6KC241779   Toyota       COROLLA             ORLANDO                   FL
71803   2T1BURHE6KC242964   Toyota       COROLLA             Smithtown                 NY
71804   2T1BURHE6KC243158   Toyota       COROLLA             ORLANDO                   FL
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71805   2T1BURHE7FC302000   Toyota       COROLLA             DANIA                     FL
71806   2T1BURHE7GC568408   Toyota       COROLLA             AURORA                    CO
71807   2T1BURHE7HC772210   Toyota       COROLLA             TAMPA                     US
71808   2T1BURHE7HC798452   Toyota       COROLLA             COLLEGE PARK              GA
71809   2T1BURHE7HC817405   Toyota       COROLLA             DANIA                     FL
71810   2T1BURHE7HC849108   Toyota       COROLLA             CHICAGO                   IL
71811   2T1BURHE7HC856043   Toyota       COROLLA             LAS VEGAS                 NV
71812   2T1BURHE7HC857077   Toyota       COROLLA             LAS VEGAS                 NV
71813   2T1BURHE7HC860223   Toyota       COROLLA             PHOENIX                   AZ
71814   2T1BURHE7HC860626   Toyota       COROLLA             KENT                      WA
71815   2T1BURHE7HC861243   Toyota       COROLLA             SAN FRANCISCO             CA
71816   2T1BURHE7HC861663   Toyota       COROLLA             BURBANK                   CA
71817   2T1BURHE7HC862702   Toyota       COROLLA             BURBANK                   CA
71818   2T1BURHE7HC865406   Toyota       COROLLA             BURBANK                   CA
71819   2T1BURHE7HC865485   Toyota       COROLLA             COSTA MESA                CA
71820   2T1BURHE7HC867964   Toyota       COROLLA             Norwalk                   CA
71821   2T1BURHE7HC885977   Toyota       COROLLA             CHICAGO                   IL
71822   2T1BURHE7HC890175   Toyota       CAMRY               Revere                    MA
71823   2T1BURHE7HC903216   Toyota       COROLLA             glendale                  ca
71824   2T1BURHE7HC925409   Toyota       COROLLA             Sacramento                CA
71825   2T1BURHE7HC925622   Toyota       COROLLA             Nashville                 TN
71826   2T1BURHE7HC928004   Toyota       COROLLA             Stockton                  CA
71827   2T1BURHE7HC928701   Toyota       COROLLA             Cleveland                 OH
71828   2T1BURHE7JC012767   Toyota       COROLLA             MANASSAS                  VA
71829   2T1BURHE7JC016298   Toyota       COROLLA             STERLING                  VA
71830   2T1BURHE7JC035286   Toyota       COROLLA             SAN FRANCISCO             CA
71831   2T1BURHE7JC036826   Toyota       COROLLA             Anaheim                   CA
71832   2T1BURHE7JC036874   Toyota       COROLLA             BURBANK                   CA
71833   2T1BURHE7JC044540   Toyota       COROLLA             SAN ANTONIO               TX
71834   2T1BURHE7JC050550   Toyota       COROLLA             Burien                    WA
71835   2T1BURHE7JC066649   Toyota       COROLLA             REDONDO BEACH             CA
71836   2T1BURHE7JC066733   Toyota       COROLLA             COSTA MESA                CA
71837   2T1BURHE7JC066747   Toyota       COROLLA             LOS ANGELES               CA
71838   2T1BURHE7JC067526   Toyota       COROLLA             COSTA MESA                CA
71839   2T1BURHE7JC068319   Toyota       COROLLA             Stockton                  CA
71840   2T1BURHE7JC068367   Toyota       COROLLA             SACRAMENTO                CA
71841   2T1BURHE7JC068370   Toyota       COROLLA             Burien                    WA
71842   2T1BURHE7JC068384   Toyota       COROLLA             KENNER                    LA
71843   2T1BURHE7JC069180   Toyota       COROLLA             SAN DIEGO                 CA
71844   2T1BURHE7JC070457   Toyota       COROLLA             CHARLOTTE                 NC
71845   2T1BURHE7JC070524   Toyota       COROLLA             Revere                    MA
71846   2T1BURHE7JC070829   Toyota       COROLLA             SAN DIEGO                 CA
71847   2T1BURHE7JC070880   Toyota       COROLLA             SAN FRANCISCO             CA
71848   2T1BURHE7JC071530   Toyota       COROLLA             BURBANK                   CA
71849   2T1BURHE7JC071656   Toyota       COROLLA             STOCKTON                  CA
71850   2T1BURHE7JC072502   Toyota       COROLLA             Albuquerque               NM
71851   2T1BURHE7JC072516   Toyota       COROLLA             STOCKTON                  CA
71852   2T1BURHE7JC072564   Toyota       COROLLA             LOS ANGELES               CA
71853   2T1BURHE7JC072578   Toyota       COROLLA             Harvey                    LA
71854   2T1BURHE7JC073035   Toyota       COROLLA             BURBANK                   CA
71855   2T1BURHE7JC073245   Toyota       COROLLA             PHOENIX                   AZ
71856   2T1BURHE7JC073374   Toyota       COROLLA             LOS ANGELES               CA
71857   2T1BURHE7JC082804   Toyota       COROLLA             PLEASANTON                CA
71858   2T1BURHE7JC082821   Toyota       COROLLA             PHILADELPHIA              PA
71859   2T1BURHE7JC084746   Toyota       COROLLA             Miami                     FL
71860   2T1BURHE7JC085766   Toyota       COROLLA             ORLANDO                   FL
71861   2T1BURHE7JC085993   Toyota       COROLLA             BOSTON                    MA
71862   2T1BURHE7JC086044   Toyota       COROLLA             ORLANDO                   FL
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71863   2T1BURHE7JC086271   Toyota       COROLLA             Miami                     FL
71864   2T1BURHE7JC086884   Toyota       COROLLA             LOS ANGELES               CA
71865   2T1BURHE7JC086996   Toyota       COROLLA             Bridgeton                 MO
71866   2T1BURHE7JC087968   Toyota       COROLLA             TULS                      OK
71867   2T1BURHE7JC088523   Toyota       COROLLA             AMARILLO                  US
71868   2T1BURHE7JC088604   Toyota       COROLLA             Charlotte                 NC
71869   2T1BURHE7JC088828   Toyota       COROLLA             TAMPA                     US
71870   2T1BURHE7JC101979   Toyota       COROLLA             PHOENIX                   AZ
71871   2T1BURHE7JC102050   Toyota       COROLLA             PITTSBURGH                PA
71872   2T1BURHE7JC102081   Toyota       COROLLA             FRESNO                    CA
71873   2T1BURHE7JC102243   Toyota       COROLLA             LAS VEGAS                 NV
71874   2T1BURHE7JC102811   Toyota       COROLLA             Smithtown                 NY
71875   2T1BURHE7JC103831   Toyota       COROLLA             LOS ANGELES               CA
71876   2T1BURHE7JC103960   Toyota       COROLLA             SAN FRANCISCO             CA
71877   2T1BURHE7JC104574   Toyota       COROLLA             SALT LAKE CITY            UT
71878   2T1BURHE7JC105384   Toyota       COROLLA             LAS VEGAS                 NV
71879   2T1BURHE7JC105577   Toyota       COROLLA             ORLANDO                   FL
71880   2T1BURHE7JC106261   Toyota       COROLLA             SANTA ANA                 CA
71881   2T1BURHE7JC106423   Toyota       COROLLA             NEWARK                    NJ
71882   2T1BURHE7JC107264   Toyota       COROLLA             LOUISVILLE                KY
71883   2T1BURHE7JC107863   Toyota       COROLLA             ORLANDO                   FL
71884   2T1BURHE7JC108916   Toyota       COROLLA             NEWARK                    NJ
71885   2T1BURHE7JC108933   Toyota       COROLLA             Dania Beach               FL
71886   2T1BURHE7JC109547   Toyota       COROLLA             ORLANDO                   FL
71887   2T1BURHE7JC109726   Toyota       COROLLA             ORLANDO                   FL
71888   2T1BURHE7JC118474   Toyota       COROLLA             MILWAUKEE AIRPORT         WI
71889   2T1BURHE7JC118846   Toyota       COROLLA             SARASOTA                  FL
71890   2T1BURHE7JC119494   Toyota       COROLLA             UNION CITY                GA
71891   2T1BURHE7JC120399   Toyota       COROLLA             KENNER                    LA
71892   2T1BURHE7JC121133   Toyota       COROLLA             Greer                     SC
71893   2T1BURHE7JC121150   Toyota       COROLLA             FORT MYERS                FL
71894   2T1BURHE7JC122606   Toyota       COROLLA             Atlanta                   GA
71895   2T1BURHE7JC122721   Toyota       COROLLA             ORLANDO                   FL
71896   2T1BURHE7JC122749   Toyota       COROLLA             Philadelphia              PA
71897   2T1BURHE7JC122797   Toyota       COROLLA             Atlanta                   GA
71898   2T1BURHE7JC122881   Toyota       COROLLA             FORT MYERS                FL
71899   2T1BURHE7JC122900   Toyota       COROLLA             Miami                     FL
71900   2T1BURHE7JC122976   Toyota       COROLLA             TAMPA                     US
71901   2T1BURHE7JC123206   Toyota       COROLLA             SAN DIEGO                 CA
71902   2T1BURHE7JC123383   Toyota       COROLLA             TAMPA                     US
71903   2T1BURHE7JC123612   Toyota       COROLLA             STERLING                  VA
71904   2T1BURHE7JC123996   Toyota       COROLLA             DENVER                    CO
71905   2T1BURHE7JC124744   Toyota       COROLLA             JACKSONVILLE              FL
71906   2T1BURHE7JC992713   Toyota       COROLLA             PHOENIX                   AZ
71907   2T1BURHE7JC993747   Toyota       COROLLA             FORT MYERS                FL
71908   2T1BURHE7KC163335   Toyota       COROLLA             NEWARK                    NJ
71909   2T1BURHE7KC164078   Toyota       COROLLA             PHOENIX                   AZ
71910   2T1BURHE7KC165635   Toyota       COROLLA             Roseville                 CA
71911   2T1BURHE7KC166865   Toyota       COROLLA             SAN FRANCISCO             CA
71912   2T1BURHE7KC167109   Toyota       COROLLA             SANTA FE                  NM
71913   2T1BURHE7KC168373   Toyota       COROLLA             TAMPA                     US
71914   2T1BURHE7KC237398   Toyota       COROLLA             SAVANNAH                  GA
71915   2T1BURHE8GC520769   Toyota       COROLLA             Tampa                     FL
71916   2T1BURHE8GC544232   Toyota       COROLLA             IRVING                    TX
71917   2T1BURHE8GC582396   Toyota       COROLLA             WESTMINSTER               CA
71918   2T1BURHE8GC587534   Toyota       COROLLA             COLLEGE PARK              GA
71919   2T1BURHE8HC780624   Toyota       COROLLA             HARVEY                    LA
71920   2T1BURHE8HC839655   Toyota       COROLLA             BOSTON                    MA
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71921   2T1BURHE8HC844872   Toyota       COROLLA             Sandston                  VA
71922   2T1BURHE8HC859713   Toyota       COROLLA             HARVEY                    LA
71923   2T1BURHE8HC863762   Toyota       COROLLA             LAS VEGAS                 NV
71924   2T1BURHE8HC865379   Toyota       COROLLA             Burien                    WA
71925   2T1BURHE8HC868024   Toyota       COROLLA             Norwalk                   CA
71926   2T1BURHE8HC880447   Toyota       COROLLA             Baltimore                 MD
71927   2T1BURHE8HC882036   Toyota       COROLLA             UNION CITY                GA
71928   2T1BURHE8HC883431   Toyota       COROLLA             Matteson                  IL
71929   2T1BURHE8HC884417   Toyota       COROLLA             MANASSAS                  VA
71930   2T1BURHE8HC884823   Toyota       COROLLA             NASHVILLE                 TN
71931   2T1BURHE8HC885678   Toyota       COROLLA             CHICAGO                   IL
71932   2T1BURHE8HC887107   Toyota       COROLLA             LAS VEGAS                 NV
71933   2T1BURHE8HC888533   Toyota       COROLLA             Portland                  OR
71934   2T1BURHE8HC900017   Toyota       COROLLA             Fountain                  CO
71935   2T1BURHE8HC904164   Toyota       COROLLA             Matteson                  IL
71936   2T1BURHE8HC905119   Toyota       COROLLA             LAS VEGAS                 NV
71937   2T1BURHE8HC905203   Toyota       COROLLA             SAN FRANCISCO             CA
71938   2T1BURHE8HC905508   Toyota       COROLLA             BURBANK                   CA
71939   2T1BURHE8HC906903   Toyota       COROLLA             Anaheim                   CA
71940   2T1BURHE8HC917741   Toyota       CAMRY               KENNER                    LA
71941   2T1BURHE8HC924253   Toyota       COROLLA             BURBANK                   CA
71942   2T1BURHE8HC927573   Toyota       COROLLA             Roseville                 CA
71943   2T1BURHE8HC927640   Toyota       COROLLA             BOSTON                    MA
71944   2T1BURHE8HC928397   Toyota       COROLLA             PITTSBURGH                PA
71945   2T1BURHE8HC928559   Toyota       COROLLA             SAN DIEGO                 CA
71946   2T1BURHE8HC928884   Toyota       COROLLA             BURBANK                   CA
71947   2T1BURHE8JC036141   Toyota       COROLLA             Anaheim                   CA
71948   2T1BURHE8JC036544   Toyota       COROLLA             CHICAGO                   IL
71949   2T1BURHE8JC036821   Toyota       COROLLA             SACRAMENTO                CA
71950   2T1BURHE8JC042800   Toyota       COROLLA             Philadelphia              PA
71951   2T1BURHE8JC052758   Toyota       COROLLA             IRVING                    TX
71952   2T1BURHE8JC060603   Toyota       COROLLA             CHICAGO                   IL
71953   2T1BURHE8JC066675   Toyota       COROLLA             LAS VEGAS                 NV
71954   2T1BURHE8JC066689   Toyota       COROLLA             STOCKTON                  CA
71955   2T1BURHE8JC066725   Toyota       COROLLA             SAN DIEGO                 CA
71956   2T1BURHE8JC066742   Toyota       COROLLA             SACRAMENTO                CA
71957   2T1BURHE8JC066790   Toyota       COROLLA             COSTA MESA                CA
71958   2T1BURHE8JC067485   Toyota       COROLLA             NORTH PAC                 CA
71959   2T1BURHE8JC067616   Toyota       COROLLA             TUCSON                    AZ
71960   2T1BURHE8JC068300   Toyota       COROLLA             LA HARBRA                 CA
71961   2T1BURHE8JC068393   Toyota       COROLLA             PHOENIX                   AZ
71962   2T1BURHE8JC069110   Toyota       COROLLA             CATHEDRAL CITY            CA
71963   2T1BURHE8JC069155   Toyota       COROLLA             PHOENIX                   AZ
71964   2T1BURHE8JC069172   Toyota       COROLLA             SAN DIEGO                 CA
71965   2T1BURHE8JC069740   Toyota       COROLLA             CHICAGO                   IL
71966   2T1BURHE8JC070628   Toyota       COROLLA             SAN DIEGO                 CA
71967   2T1BURHE8JC070709   Toyota       COROLLA             Anaheim                   CA
71968   2T1BURHE8JC070760   Toyota       COROLLA             BURBANK                   CA
71969   2T1BURHE8JC071634   Toyota       COROLLA             LOS ANGELES               CA
71970   2T1BURHE8JC071679   Toyota       COROLLA             LAKEWOOD                  WA
71971   2T1BURHE8JC071696   Toyota       COROLLA             SAN DIEGO                 CA
71972   2T1BURHE8JC071729   Toyota       COROLLA             SAN DIEGO                 CA
71973   2T1BURHE8JC072282   Toyota       COROLLA             SANTA ANA                 CA
71974   2T1BURHE8JC072475   Toyota       COROLLA             LAKEWOOD                  WA
71975   2T1BURHE8JC072511   Toyota       COROLLA             LOS ANGELES               CA
71976   2T1BURHE8JC072573   Toyota       COROLLA             Revere                    MA
71977   2T1BURHE8JC073075   Toyota       COROLLA             AUGUSTA                   GA
71978   2T1BURHE8JC073187   Toyota       COROLLA             SALT LAKE CITY            UT
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71979   2T1BURHE8JC073299   Toyota       COROLLA             LOS ANGELES               CA
71980   2T1BURHE8JC073416   Toyota       COROLLA             SAN DIEGO                 CA
71981   2T1BURHE8JC081094   Toyota       COROLLA             Alexandria                LA
71982   2T1BURHE8JC082195   Toyota       COROLLA             DETROIT                   MI
71983   2T1BURHE8JC085985   Toyota       COROLLA             DALLAS                    TX
71984   2T1BURHE8JC086036   Toyota       COROLLA             Revere                    MA
71985   2T1BURHE8JC086053   Toyota       COROLLA             ORLANDO                   FL
71986   2T1BURHE8JC086103   Toyota       COROLLA             ORLANDO                   FL
71987   2T1BURHE8JC086277   Toyota       COROLLA             TAMPA                     US
71988   2T1BURHE8JC086411   Toyota       COROLLA             CHICAGO                   IL
71989   2T1BURHE8JC086909   Toyota       COROLLA             UNION CITY                GA
71990   2T1BURHE8JC086926   Toyota       COROLLA             CHICAGO                   IL
71991   2T1BURHE8JC087199   Toyota       COROLLA             FRESNO                    CA
71992   2T1BURHE8JC087512   Toyota       COROLLA             DANIA                     FL
71993   2T1BURHE8JC087638   Toyota       COROLLA             SARASOTA                  FL
71994   2T1BURHE8JC087669   Toyota       COROLLA             MORRISVILLE               NC
71995   2T1BURHE8JC087753   Toyota       COROLLA             Louisville                KY
71996   2T1BURHE8JC087798   Toyota       COROLLA             EL PASO                   US
71997   2T1BURHE8JC087896   Toyota       COROLLA             TAMPA                     US
71998   2T1BURHE8JC087980   Toyota       COROLLA             DETROIT                   MI
71999   2T1BURHE8JC088546   Toyota       COROLLA             PETALUMA                  CA
72000   2T1BURHE8JC088675   Toyota       COROLLA             AUSTIN                    TX
72001   2T1BURHE8JC088742   Toyota       COROLLA             CHICAGO                   IL
72002   2T1BURHE8JC088899   Toyota       COROLLA             ATLANTA AP                GA
72003   2T1BURHE8JC090748   Toyota       COROLLA             TAMPA                     US
72004   2T1BURHE8JC102087   Toyota       COROLLA             BURBANK                   CA
72005   2T1BURHE8JC102252   Toyota       COROLLA             BOSTON                    MA
72006   2T1BURHE8JC102915   Toyota       COROLLA             PHOENIX                   AZ
72007   2T1BURHE8JC103093   Toyota       COROLLA             Elkridge                  MD
72008   2T1BURHE8JC104521   Toyota       COROLLA             LAKEWOOD                  WA
72009   2T1BURHE8JC104566   Toyota       COROLLA             STERLING                  US
72010   2T1BURHE8JC104759   Toyota       COROLLA             DFW AIRPORT               TX
72011   2T1BURHE8JC105572   Toyota       COROLLA             Miami                     FL
72012   2T1BURHE8JC106429   Toyota       COROLLA             ORLANDO                   FL
72013   2T1BURHE8JC107192   Toyota       COROLLA             ORLANDO                   FL
72014   2T1BURHE8JC108777   Toyota       COROLLA             WHITE PLAINS              NY
72015   2T1BURHE8JC109413   Toyota       COROLLA             COSTA MESA                CA
72016   2T1BURHE8JC118046   Toyota       COROLLA             COLLEGE PARK              GA
72017   2T1BURHE8JC119505   Toyota       COROLLA             BURBANK                   CA
72018   2T1BURHE8JC121187   Toyota       COROLLA             SANTA FE                  NM
72019   2T1BURHE8JC121240   Toyota       COROLLA             PLEASANTON                CA
72020   2T1BURHE8JC121738   Toyota       COROLLA             LAS VEGAS                 NV
72021   2T1BURHE8JC121996   Toyota       COROLLA             Atlanta                   GA
72022   2T1BURHE8JC122596   Toyota       COROLLA             PENSACOLA                 FL
72023   2T1BURHE8JC122632   Toyota       COROLLA             COLORADO SPRING           CO
72024   2T1BURHE8JC123330   Toyota       COROLLA             ORLANDO                   FL
72025   2T1BURHE8JC123604   Toyota       COROLLA             FRESNO                    CA
72026   2T1BURHE8JC123635   Toyota       COROLLA             DANIA                     FL
72027   2T1BURHE8JC123652   Toyota       COROLLA             Coraopolis                PA
72028   2T1BURHE8JC124333   Toyota       COROLLA             WINDSOR LOCKS             CT
72029   2T1BURHE8JC124445   Toyota       COROLLA             TAMPA                     US
72030   2T1BURHE8KC164784   Toyota       COROLLA             HOUSTON                   TX
72031   2T1BURHE8KC165532   Toyota       COROLLA             HOUSTON                   TX
72032   2T1BURHE8KC217130   Toyota       COROLLA             Miami                     FL
72033   2T1BURHE8KC219119   Toyota       COROLLA             FORT MYERS                FL
72034   2T1BURHE8KC240147   Toyota       COROLLA             CHARLOTTE                 NC
72035   2T1BURHE9GC489550   Toyota       COROLLA             Revere                    MA
72036   2T1BURHE9GC532963   Toyota       COROLLA             ORLANDO                   FL
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72037   2T1BURHE9GC567230   Toyota       COROLLA             Nashville                 TN
72038   2T1BURHE9GC617222   Toyota       COROLLA             HARVEY                    LA
72039   2T1BURHE9HC753075   Toyota       COROLLA             DANIA                     FL
72040   2T1BURHE9HC783032   Toyota       COROLLA             Miami                     FL
72041   2T1BURHE9HC800346   Toyota       COROLLA             FT. LAUDERDALE            FL
72042   2T1BURHE9HC847490   Toyota       COROLLA             BALTIMORE                 MD
72043   2T1BURHE9HC858845   Toyota       COROLLA             KENT                      WA
72044   2T1BURHE9HC862765   Toyota       COROLLA             BOSTON                    MA
72045   2T1BURHE9HC864693   Toyota       COROLLA             Fontana                   CA
72046   2T1BURHE9HC865326   Toyota       COROLLA             LAS VEGAS                 NV
72047   2T1BURHE9HC866444   Toyota       COROLLA             SAN FRANCISCO             CA
72048   2T1BURHE9HC867593   Toyota       COROLLA             NORTH PAC                 CA
72049   2T1BURHE9HC871918   Toyota       COROLLA             anchorage,                ak
72050   2T1BURHE9HC881168   Toyota       COROLLA             CHICAGO                   IL
72051   2T1BURHE9HC883552   Toyota       COROLLA             Lake in the Hil           IL
72052   2T1BURHE9HC883731   Toyota       COROLLA             HARVEY                    LA
72053   2T1BURHE9HC884412   Toyota       COROLLA             STERLING                  VA
72054   2T1BURHE9HC886886   Toyota       COROLLA             CHICAGO                   IL
72055   2T1BURHE9HC899055   Toyota       COROLLA             Harvey                    LA
72056   2T1BURHE9HC903136   Toyota       COROLLA             LAS VEGAS                 NV
72057   2T1BURHE9HC929283   Toyota       COROLLA             MIAMI                     FL
72058   2T1BURHE9HC930367   Toyota       COROLLA             NORTH PAC                 CA
72059   2T1BURHE9HC930563   Toyota       COROLLA             SOUTH SAN FRANC           CA
72060   2T1BURHE9JC012916   Toyota       COROLLA             HANOVER                   MD
72061   2T1BURHE9JC036357   Toyota       COROLLA             CHICAGO                   IL
72062   2T1BURHE9JC037881   Toyota       COROLLA             ALBUQUERQUE               NM
72063   2T1BURHE9JC041381   Toyota       COROLLA             SAVANNAH                  GA
72064   2T1BURHE9JC066068   Toyota       COROLLA             Atlanta                   GA
72065   2T1BURHE9JC066653   Toyota       COROLLA             glendale                  ca
72066   2T1BURHE9JC066667   Toyota       COROLLA             Ventura                   CA
72067   2T1BURHE9JC066670   Toyota       COROLLA             PHOENIX                   AZ
72068   2T1BURHE9JC066698   Toyota       COROLLA             BURBANK                   CA
72069   2T1BURHE9JC066720   Toyota       COROLLA             LAS VEGAS                 NV
72070   2T1BURHE9JC066765   Toyota       COROLLA             LOS ANGELES               CA
72071   2T1BURHE9JC066796   Toyota       COROLLA             ONTARIO                   CA
72072   2T1BURHE9JC067396   Toyota       COROLLA             BURBANK                   CA
72073   2T1BURHE9JC067544   Toyota       COROLLA             Omaha                     NE
72074   2T1BURHE9JC068404   Toyota       COROLLA             DENVER                    CO
72075   2T1BURHE9JC068967   Toyota       COROLLA             LAKEWOOD                  WA
72076   2T1BURHE9JC069942   Toyota       COROLLA             SAN DIEGO                 CA
72077   2T1BURHE9JC070797   Toyota       COROLLA             PHOENIX                   AZ
72078   2T1BURHE9JC070850   Toyota       COROLLA             LAS VEGAS                 NV
72079   2T1BURHE9JC070864   Toyota       COROLLA             LA HARBRA                 CA
72080   2T1BURHE9JC070881   Toyota       COROLLA             PHOENIX                   AZ
72081   2T1BURHE9JC071514   Toyota       COROLLA             LAS VEGAS                 NV
72082   2T1BURHE9JC071576   Toyota       COROLLA             BURBANK                   CA
72083   2T1BURHE9JC071612   Toyota       COROLLA             SACRAMENTO                CA
72084   2T1BURHE9JC071674   Toyota       COROLLA             TAMPA                     US
72085   2T1BURHE9JC071688   Toyota       COROLLA             Albuquerque               NM
72086   2T1BURHE9JC071951   Toyota       COROLLA             NASHVILLE                 TN
72087   2T1BURHE9JC072629   Toyota       COROLLA             PHOENIX                   AZ
72088   2T1BURHE9JC072730   Toyota       COROLLA             Revere                    MA
72089   2T1BURHE9JC073263   Toyota       COROLLA             LOS ANGELES               CA
72090   2T1BURHE9JC073277   Toyota       COROLLA             San Diego                 CA
72091   2T1BURHE9JC073361   Toyota       COROLLA             SAINT LOUIS               MO
72092   2T1BURHE9JC073408   Toyota       COROLLA             SACRAMENTO                CA
72093   2T1BURHE9JC073425   Toyota       COROLLA             MORRISVILLE               NC
72094   2T1BURHE9JC077202   Toyota       COROLLA             WEST PALM BEACH           FL
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72095   2T1BURHE9JC086000   Toyota       COROLLA             ORLANDO                   FL
72096   2T1BURHE9JC086417   Toyota       COROLLA             MEDINA                    OH
72097   2T1BURHE9JC086871   Toyota       COROLLA             Woodhaven                 MI
72098   2T1BURHE9JC087227   Toyota       COROLLA             DANIA                     FL
72099   2T1BURHE9JC087244   Toyota       COROLLA             NEW BERN                  NC
72100   2T1BURHE9JC087471   Toyota       COROLLA             ORLANDO                   FL
72101   2T1BURHE9JC087616   Toyota       COROLLA             LAS VEGAS                 NV
72102   2T1BURHE9JC087700   Toyota       COROLLA             Manheim                   PA
72103   2T1BURHE9JC087843   Toyota       COROLLA             Massapequa                NY
72104   2T1BURHE9JC088278   Toyota       COROLLA             Smithtown                 NY
72105   2T1BURHE9JC088698   Toyota       COROLLA             TAMPA                     US
72106   2T1BURHE9JC088751   Toyota       COROLLA             LEXINGTON                 KY
72107   2T1BURHE9JC088815   Toyota       COROLLA             Manheim                   PA
72108   2T1BURHE9JC088863   Toyota       COROLLA             Elkridge                  MD
72109   2T1BURHE9JC103037   Toyota       COROLLA             DETROIT                   MI
72110   2T1BURHE9JC103054   Toyota       COROLLA             GARDENA                   CA
72111   2T1BURHE9JC103720   Toyota       COROLLA             LOS ANGELES               CA
72112   2T1BURHE9JC103992   Toyota       COROLLA             BOSTON                    MA
72113   2T1BURHE9JC104527   Toyota       COROLLA             Ronkonkoma                NY
72114   2T1BURHE9JC104561   Toyota       COROLLA             CHICAGO                   IL
72115   2T1BURHE9JC106066   Toyota       COROLLA             ORLANDO                   FL
72116   2T1BURHE9JC107038   Toyota       COROLLA             Reno                      NV
72117   2T1BURHE9JC107072   Toyota       COROLLA             DANIA                     FL
72118   2T1BURHE9JC107170   Toyota       COROLLA             Revere                    MA
72119   2T1BURHE9JC107203   Toyota       COROLLA             PHILADELPHIA              PA
72120   2T1BURHE9JC107671   Toyota       COROLLA             FORT MYERS                FL
72121   2T1BURHE9JC107783   Toyota       COROLLA             AUSTIN                    TX
72122   2T1BURHE9JC107802   Toyota       COROLLA             NASHVILLE                 TN
72123   2T1BURHE9JC107945   Toyota       COROLLA             Coraopolis                PA
72124   2T1BURHE9JC108030   Toyota       COROLLA             PENSACOLA                 FL
72125   2T1BURHE9JC108089   Toyota       COROLLA             Miami                     FL
72126   2T1BURHE9JC108870   Toyota       COROLLA             Miami                     FL
72127   2T1BURHE9JC108917   Toyota       COROLLA             DANIA                     FL
72128   2T1BURHE9JC115012   Toyota       COROLLA             WEST PALM BEACH           FL
72129   2T1BURHE9JC118086   Toyota       COROLLA             SAN ANTONIO               TX
72130   2T1BURHE9JC119593   Toyota       COROLLA             Miami                     FL
72131   2T1BURHE9JC120422   Toyota       COROLLA             DANIA                     FL
72132   2T1BURHE9JC121165   Toyota       COROLLA             WARWICK                   RI
72133   2T1BURHE9JC121182   Toyota       COROLLA             Revere                    MA
72134   2T1BURHE9JC121294   Toyota       COROLLA             DANIA                     FL
72135   2T1BURHE9JC121960   Toyota       COROLLA             UNION CITY                GA
72136   2T1BURHE9JC122669   Toyota       COROLLA             DENVER                    CO
72137   2T1BURHE9JC122753   Toyota       COROLLA             SCRANTON                  PA
72138   2T1BURHE9JC122803   Toyota       COROLLA             UNION CITY                GA
72139   2T1BURHE9JC123417   Toyota       COROLLA             HANOVER                   MD
72140   2T1BURHE9JC123563   Toyota       COROLLA             KNOXVILLE                 TN
72141   2T1BURHE9JC123580   Toyota       COROLLA             UNION CITY                GA
72142   2T1BURHE9JC123658   Toyota       COROLLA             SARASOTA                  FL
72143   2T1BURHE9JC123661   Toyota       COROLLA             MOBILE                    A
72144   2T1BURHE9JC124079   Toyota       COROLLA             DENVER                    CO
72145   2T1BURHE9JC124101   Toyota       COROLLA             SAINT LOUIS               MO
72146   2T1BURHE9JC124485   Toyota       COROLLA             DANIA                     FL
72147   2T1BURHE9JC124907   Toyota       COROLLA             NASHVILLE                 TN
72148   2T1BURHE9KC164843   Toyota       COROLLA             TUCSON                    US
72149   2T1BURHE9KC165300   Toyota       COROLLA             Miami                     FL
72150   2T1BURHE9KC165376   Toyota       COROLLA             SEATAC                    WA
72151   2T1BURHE9KC167631   Toyota       COROLLA             ORLANDO                   FL
72152   2T1BURHE9KC182940   Toyota       COROLLA             Miami                     FL
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72153   2T1BURHE9KC184042   Toyota       COROLLA             JACKSONVILLE              FL
72154   2T1BURHE9KC226919   Toyota       COROLLA             TAMPA                     US
72155   2T1BURHE9KC241484   Toyota       COROLLA             SAVANNAH                  GA
72156   2T1BURHEXGC680457   Toyota       COROLLA             Matteson                  IL
72157   2T1BURHEXHC762187   Toyota       COROLLA             DANIA                     FL
72158   2T1BURHEXHC774937   Toyota       COROLLA             Sarasota                  FL
72159   2T1BURHEXHC817303   Toyota       CAMRY               CHARLOTTE                 NC
72160   2T1BURHEXHC824588   Toyota       CAMRY               Miami                     FL
72161   2T1BURHEXHC842878   Toyota       COROLLA             MANASSAS                  VA
72162   2T1BURHEXHC844453   Toyota       COROLLA             DENVER                    CO
72163   2T1BURHEXHC844517   Toyota       CAMRY               TAMPA                     US
72164   2T1BURHEXHC848499   Toyota       COROLLA             Lynn                      MA
72165   2T1BURHEXHC857154   Toyota       COROLLA             Burien                    WA
72166   2T1BURHEXHC861057   Toyota       COROLLA             COLLEGE PARK              GA
72167   2T1BURHEXHC861110   Toyota       COROLLA             TUCSON                    US
72168   2T1BURHEXHC863231   Toyota       COROLLA             LOS ANGELES               CA
72169   2T1BURHEXHC864296   Toyota       COROLLA             CHICAGO                   IL
72170   2T1BURHEXHC864623   Toyota       COROLLA             NORTH PAC                 CA
72171   2T1BURHEXHC905395   Toyota       COROLLA             Cleveland                 OH
72172   2T1BURHEXHC906093   Toyota       COROLLA             SACRAMENTO                CA
72173   2T1BURHEXHC906286   Toyota       COROLLA             HARVEY                    LA
72174   2T1BURHEXHC927686   Toyota       COROLLA             Roseville                 CA
72175   2T1BURHEXHC928496   Toyota       COROLLA             San Diego                 CA
72176   2T1BURHEXHC928935   Toyota       COROLLA             LAS VEGAS                 NV
72177   2T1BURHEXHC930040   Toyota       COROLLA             Slidell                   LA
72178   2T1BURHEXJC035976   Toyota       COROLLA             PHOENIX                   AZ
72179   2T1BURHEXJC049523   Toyota       COROLLA             Miami                     FL
72180   2T1BURHEXJC066578   Toyota       COROLLA             LAS VEGAS                 NV
72181   2T1BURHEXJC067522   Toyota       COROLLA             PITTSBURGH                PA
72182   2T1BURHEXJC067620   Toyota       COROLLA             RENTON                    WA
72183   2T1BURHEXJC067634   Toyota       COROLLA             RENO                      NV
72184   2T1BURHEXJC068198   Toyota       COROLLA             UNION CITY                GA
72185   2T1BURHEXJC068234   Toyota       COROLLA             Dallas                    TX
72186   2T1BURHEXJC068315   Toyota       COROLLA             Costa Mesa                CA
72187   2T1BURHEXJC068993   Toyota       COROLLA             PHOENIX                   AZ
72188   2T1BURHEXJC069125   Toyota       COROLLA             COLORADO SPRING           CO
72189   2T1BURHEXJC069139   Toyota       COROLLA             SACRAMENTO                CA
72190   2T1BURHEXJC069156   Toyota       COROLLA             Webster                   NY
72191   2T1BURHEXJC069982   Toyota       COROLLA             LOS ANGELES               CA
72192   2T1BURHEXJC070016   Toyota       COROLLA             San Diego                 CA
72193   2T1BURHEXJC070128   Toyota       COROLLA             Sandston                  VA
72194   2T1BURHEXJC070615   Toyota       COROLLA             Hayward                   CA
72195   2T1BURHEXJC070694   Toyota       COROLLA             LOS ANGELES               CA
72196   2T1BURHEXJC070856   Toyota       COROLLA             BURLINGAME                CA
72197   2T1BURHEXJC071635   Toyota       COROLLA             LOS ANGELES               CA
72198   2T1BURHEXJC071652   Toyota       COROLLA             KENT                      WA
72199   2T1BURHEXJC071683   Toyota       COROLLA             CATHEDRAL CITY            CA
72200   2T1BURHEXJC071733   Toyota       COROLLA             SACRAMENTO                CA
72201   2T1BURHEXJC071750   Toyota       COROLLA             HARVEY                    LA
72202   2T1BURHEXJC072509   Toyota       COROLLA             DANIA                     FL
72203   2T1BURHEXJC072512   Toyota       COROLLA             TUCSON                    US
72204   2T1BURHEXJC072543   Toyota       COROLLA             DENVER                    CO
72205   2T1BURHEXJC073319   Toyota       COROLLA             DENVER                    CO
72206   2T1BURHEXJC073403   Toyota       COROLLA             BURBANK                   CA
72207   2T1BURHEXJC084028   Toyota       COROLLA             Revere                    MA
72208   2T1BURHEXJC085969   Toyota       COROLLA             NASHVILLE                 TN
72209   2T1BURHEXJC086751   Toyota       COROLLA             TAMPA                     US
72210   2T1BURHEXJC087172   Toyota       COROLLA             CHICAGO                   IL
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72211   2T1BURHEXJC087348   Toyota       COROLLA             DANIA                     FL
72212   2T1BURHEXJC087415   Toyota       COROLLA             FORT MYERS                FL
72213   2T1BURHEXJC087575   Toyota       COROLLA             Woodhaven                 MI
72214   2T1BURHEXJC087673   Toyota       COROLLA             DANIA                     FL
72215   2T1BURHEXJC087964   Toyota       COROLLA             TULSA                     OK
72216   2T1BURHEXJC088015   Toyota       COROLLA             ALBUQUERQUE               NM
72217   2T1BURHEXJC088533   Toyota       COROLLA             WEST PALM BEACH           FL
72218   2T1BURHEXJC090105   Toyota       COROLLA             TAMPA                     US
72219   2T1BURHEXJC102303   Toyota       COROLLA             TAMPA                     US
72220   2T1BURHEXJC102771   Toyota       COROLLA             SAN JOSE                  CA
72221   2T1BURHEXJC105251   Toyota       COROLLA             DRB                       UT
72222   2T1BURHEXJC105539   Toyota       COROLLA             GRAND RAPIDS              MI
72223   2T1BURHEXJC108795   Toyota       COROLLA             Dallas                    TX
72224   2T1BURHEXJC109395   Toyota       COROLLA             SAN JOSE                  CA
72225   2T1BURHEXJC109400   Toyota       COROLLA             NEWARK                    NJ
72226   2T1BURHEXJC119540   Toyota       COROLLA             NORFOLK                   VA
72227   2T1BURHEXJC121031   Toyota       COROLLA             Warminster                PA
72228   2T1BURHEXJC121210   Toyota       COROLLA             PITTSBURGH                PA
72229   2T1BURHEXJC121773   Toyota       COROLLA             SAN FRANCISCO             CA
72230   2T1BURHEXJC122373   Toyota       COROLLA             PHOENIX                   AZ
72231   2T1BURHEXJC122518   Toyota       COROLLA             ROCHESTER                 NY
72232   2T1BURHEXJC122535   Toyota       COROLLA             DENVER                    CO
72233   2T1BURHEXJC122583   Toyota       COROLLA             DRB                       UT
72234   2T1BURHEXJC122602   Toyota       COROLLA             PHOENIX                   AZ
72235   2T1BURHEXJC122809   Toyota       COROLLA             ALEXANDRIA                VA
72236   2T1BURHEXJC123376   Toyota       COROLLA             DENVER                    CO
72237   2T1BURHEXJC123426   Toyota       COROLLA             DENVER                    CO
72238   2T1BURHEXJC123538   Toyota       COROLLA             PHILADELPHIA              PA
72239   2T1BURHEXJC124365   Toyota       COROLLA             West Palm Beach           FL
72240   2T1BURHEXJC124415   Toyota       COROLLA             CHARLOTTE                 NC
72241   2T1BURHEXJC124477   Toyota       COROLLA             KNOXVILLE                 TN
72242   2T1BURHEXJC124771   Toyota       COROLLA             SANTA CLARA               CA
72243   2T1BURHEXJC124916   Toyota       COROLLA             San Diego                 CA
72244   2T1BURHEXKC165628   Toyota       COROLLA             ORLANDO                   FL
72245   2T1BURHEXKC167881   Toyota       COROLLA             LITHIA SPRINGS            GA
72246   2T1BURHEXKC169422   Toyota       COROLLA             ALBUQUERQUE               NM
72247   2T1BURHEXKC181599   Toyota       COROLLA             SAVANNAH                  GA
72248   2T1BURHEXKC236763   Toyota       COROLLA             ORLANDO                   FL
72249   2T1BURHEXKC241509   Toyota       COROLLA             TAMPA                     US
72250   2T3BFREV3JW761232   Toyota       RAV4                CHICAGO                   IL
72251   2T3BFREV3JW762011   Toyota       RAV4                LAS VEGAS                 NV
72252   2T3BFREV4JW775110   Toyota       RAV4                SAN DIEGO                 CA
72253   2T3BFREV5JW741497   Toyota       RAV4                North Dighton             MA
72254   2T3BFREV6JW793317   Toyota       RAV4                DAYTONA BEACH             FL
72255   2T3BFREV7JW799451   Toyota       RAV4                LOS ANGELES AP            CA
72256   2T3BFREV8JW777586   Toyota       RAV4                DANIA BEACH               FL
72257   2T3BFREV8JW788670   Toyota       RAV4                SEATTLE                   WA
72258   2T3BFREV9JW798186   Toyota       RAV4                SAN JOSE                  CA
72259   2T3BFREVXJW752642   Toyota       RAV4                SACRAMENTO                CA
72260   2T3F1RFV0KC015015   Toyota       RAV4                Webster                   NY
72261   2T3F1RFV0KW028460   Toyota       RAV4                SAINT PAUL                MN
72262   2T3F1RFV0KW028958   Toyota       RAV4                COLUMBIA                  SC
72263   2T3F1RFV0KW029589   Toyota       RAV4                North Dighton             MA
72264   2T3F1RFV0KW056484   Toyota       RAV4                Las Vegas                 NV
72265   2T3F1RFV0KW056789   Toyota       RAV4                DENVER                    CO
72266   2T3F1RFV0KW060017   Toyota       RAV4                DENVER                    CO
72267   2T3F1RFV0KW060633   Toyota       RAV4                Albuquerque               NM
72268   2T3F1RFV0KW061832   Toyota       RAV4                Newark                    NJ
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72269   2T3F1RFV1KC015038   Toyota       RAV4                LAS VEGAS                 NV
72270   2T3F1RFV1KW025325   Toyota       RAV4                Atlanta                   GA
72271   2T3F1RFV1KW032727   Toyota       RAV4                PHILADELPHIA              PA
72272   2T3F1RFV1KW059183   Toyota       RAV4                DENVER                    CO
72273   2T3F1RFV1KW059751   Toyota       RAV4                DENVER                    CO
72274   2T3F1RFV1KW060365   Toyota       RAV4                MILWAUKEE                 WI
72275   2T3F1RFV2KC014075   Toyota       RAV4                GRAND RAPIDS              MI
72276   2T3F1RFV2KC015646   Toyota       RAV4                Reno                      NV
72277   2T3F1RFV2KW030761   Toyota       RAV4                FAYETTEVILLE              GA
72278   2T3F1RFV2KW031375   Toyota       RAV4                PHILADELPHIA              PA
72279   2T3F1RFV2KW059385   Toyota       RAV4                Albany                    NY
72280   2T3F1RFV3KC029460   Toyota       RAV4                Lyman                     ME
72281   2T3F1RFV3KC029622   Toyota       RAV4                BIRMINGHAM                AL
72282   2T3F1RFV3KC029670   Toyota       RAV4                Ventura                   CA
72283   2T3F1RFV3KW029067   Toyota       RAV4                MEMPHIS                   TN
72284   2T3F1RFV3KW031336   Toyota       RAV4                DETROIT                   MI
72285   2T3F1RFV3KW058388   Toyota       RAV4                Englewood                 CO
72286   2T3F1RFV3KW058519   Toyota       RAV4                CLARKSVILLE               IN
72287   2T3F1RFV3KW059394   Toyota       RAV4                CLEVELAND                 OH
72288   2T3F1RFV3KW059475   Toyota       RAV4                DENVER                    CO
72289   2T3F1RFV3KW063218   Toyota       RAV4                DENVER                    CO
72290   2T3F1RFV3KW063431   Toyota       RAV4                Woodhaven                 MI
72291   2T3F1RFV4KC017575   Toyota       RAV4                HOUSTON                   TX
72292   2T3F1RFV4KC018600   Toyota       RAV4                Indianapolis              IN
72293   2T3F1RFV4KW028476   Toyota       RAV4                Marietta                  GA
72294   2T3F1RFV4KW031085   Toyota       RAV4                Detroit                   MI
72295   2T3F1RFV4KW055032   Toyota       RAV4                Denver                    CO
72296   2T3F1RFV4KW059808   Toyota       RAV4                CHICAGO                   IL
72297   2T3F1RFV4KW060523   Toyota       RAV4                GYPSUM                    CO
72298   2T3F1RFV4KW060540   Toyota       RAV4                Houston                   TX
72299   2T3F1RFV4KW061803   Toyota       RAV4                CLEVELAND                 OH
72300   2T3F1RFV5KC017021   Toyota       RAV4                Des Plaines               IL
72301   2T3F1RFV5KC027385   Toyota       RAV4                PITTSBURGH                PA
72302   2T3F1RFV5KC028441   Toyota       RAV4                Hamilton                  OH
72303   2T3F1RFV5KW028471   Toyota       RAV4                MILWAUKEE                 WI
72304   2T3F1RFV5KW028552   Toyota       RAV4                Indianapolis              IN
72305   2T3F1RFV5KW058926   Toyota       RAV4                DALLAS                    TX
72306   2T3F1RFV5KW061163   Toyota       RAV4                DETROIT                   MI
72307   2T3F1RFV5KW062989   Toyota       RAV4                Englewood                 CO
72308   2T3F1RFV6KC016072   Toyota       RAV4                PHOENIX                   AZ
72309   2T3F1RFV6KC016153   Toyota       RAV4                FRESNO                    CA
72310   2T3F1RFV6KC027461   Toyota       RAV4                STERLING                  VA
72311   2T3F1RFV6KC029565   Toyota       RAV4                Warminster                PA
72312   2T3F1RFV6KW023974   Toyota       RAV4                Tampa                     FL
72313   2T3F1RFV6KW031704   Toyota       RAV4                Coraopolis                PA
72314   2T3F1RFV6KW055078   Toyota       RAV4                DENVER                    CO
72315   2T3F1RFV6KW060023   Toyota       RAV4                Denver                    CO
72316   2T3F1RFV6KW060037   Toyota       RAV4                DENVER                    CO
72317   2T3F1RFV6KW060085   Toyota       RAV4                DENVER                    CO
72318   2T3F1RFV6KW061253   Toyota       RAV4                DETROIT                   MI
72319   2T3F1RFV7KC014508   Toyota       RAV4                PORTLAND                  OR
72320   2T3F1RFV7KC015531   Toyota       RAV4                GRAND RAPIDS              MI
72321   2T3F1RFV7KC016100   Toyota       RAV4                GYPSUM                    CO
72322   2T3F1RFV7KC027467   Toyota       RAV4                STERLING                  VA
72323   2T3F1RFV7KW028469   Toyota       RAV4                SOUTHEAST DST OFFC        OK
72324   2T3F1RFV7KW032523   Toyota       RAV4                WARWICK                   RI
72325   2T3F1RFV7KW059981   Toyota       RAV4                SAN JOSE                  CA
72326   2T3F1RFV7KW060497   Toyota       RAV4                DENVER                    CO
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72327   2T3F1RFV7KW060922   Toyota       RAV4                Woodhaven                 MI
72328   2T3F1RFV8KC027834   Toyota       RAV4                Newark                    NJ
72329   2T3F1RFV8KW027217   Toyota       RAV4                Dallas                    TX
72330   2T3F1RFV8KW027220   Toyota       RAV4                Philadelphia              PA
72331   2T3F1RFV8KW028397   Toyota       RAV4                Massapequa                NY
72332   2T3F1RFV8KW028464   Toyota       RAV4                WEST COLUMBIA             SC
72333   2T3F1RFV8KW055504   Toyota       RAV4                DENVER                    CO
72334   2T3F1RFV8KW059178   Toyota       RAV4                DENVER                    CO
72335   2T3F1RFV8KW059407   Toyota       RAV4                Webster                   NY
72336   2T3F1RFV8KW059469   Toyota       RAV4
72337   2T3F1RFV8KW059665   Toyota       RAV4                DENVER                    CO
72338   2T3F1RFV8KW059679   Toyota       RAV4                Lake Elsinore             CA
72339   2T3F1RFV8KW059682   Toyota       RAV4                Englewood                 CO
72340   2T3F1RFV8KW059729   Toyota       RAV4                Denver                    CO
72341   2T3F1RFV8KW059777   Toyota       RAV4                GRAND JUNCTION            C
72342   2T3F1RFV8KW060623   Toyota       RAV4                DENVER                    CO
72343   2T3F1RFV8KW060685   Toyota       RAV4                GRAND JUNCTION            C
72344   2T3F1RFV8KW063506   Toyota       RAV4                COSTA MESA                CA
72345   2T3F1RFV9KC016549   Toyota       RAV4                Hanover                   MD
72346   2T3F1RFV9KC027793   Toyota       RAV4                Avoca                     PA
72347   2T3F1RFV9KC027938   Toyota       RAV4                SYRACUSE                  NY
72348   2T3F1RFV9KC028393   Toyota       RAV4                Coraopolis                PA
72349   2T3F1RFV9KW027209   Toyota       RAV4                Houston                   TX
72350   2T3F1RFV9KW028439   Toyota       RAV4                DETROIT                   MI
72351   2T3F1RFV9KW029025   Toyota       RAV4                KNOXVILLE                 TN
72352   2T3F1RFV9KW059335   Toyota       RAV4                Englewood                 CO
72353   2T3F1RFV9KW059979   Toyota       RAV4                Maple Grove               MN
72354   2T3F1RFV9KW060422   Toyota       RAV4                GRAND JUNCTION            C
72355   2T3F1RFVXKC014549   Toyota       RAV4                Atlanta                   GA
72356   2T3F1RFVXKC015569   Toyota       RAV4                CHICAGO                   IL
72357   2T3F1RFVXKC027494   Toyota       RAV4                PITTSBURGH                PA
72358   2T3F1RFVXKC028290   Toyota       RAV4                WHITE PLAINS              NY
72359   2T3F1RFVXKC029486   Toyota       RAV4                ALBANY                    NY
72360   2T3F1RFVXKW027977   Toyota       RAV4                Atlanta                   GA
72361   2T3F1RFVXKW059005   Toyota       RAV4                Sacramento                CA
72362   2T3F1RFVXKW063443   Toyota       RAV4                Roseville                 CA
72363   2T3F1RFVXKW064611   Toyota       RAV4                Sarasota                  FL
72364   2T3H1RFV0KW003132   Toyota       RAV4                SAN DIEGO                 CA
72365   2T3H1RFV0KW013000   Toyota       RAV4                TAMPA                     FL
72366   2T3H1RFV0KW013045   Toyota       RAV4                Portland                  OR
72367   2T3H1RFV0KW014650   Toyota       RAV4                ORLANDO                   FL
72368   2T3H1RFV0KW015183   Toyota       RAV4                San Diego                 CA
72369   2T3H1RFV0KW019735   Toyota       RAV4                Dallas                    TX
72370   2T3H1RFV0KW021579   Toyota       RAV4                TAMPA                     FL
72371   2T3H1RFV0KW032338   Toyota       RAV4                LOS ANGELES               CA
72372   2T3H1RFV0KW032677   Toyota       RAV4                SHREVEPORT                LA
72373   2T3H1RFV0KW033005   Toyota       RAV4                Fresno                    CA
72374   2T3H1RFV1KC004100   Toyota       RAV4                Austell                   GA
72375   2T3H1RFV1KW012728   Toyota       RAV4                TAMPA                     FL
72376   2T3H1RFV1KW015256   Toyota       RAV4                HAMPTON                   VA
72377   2T3H1RFV1KW019680   Toyota       RAV4                JACKSON                   MS
72378   2T3H1RFV1KW019968   Toyota       RAV4                Tulsa                     OK
72379   2T3H1RFV1KW027584   Toyota       RAV4                BURBANK                   CA
72380   2T3H1RFV1KW032705   Toyota       RAV4                ORLANDO                   FL
72381   2T3H1RFV1KW033000   Toyota       RAV4                Atlanta                   GA
72382   2T3H1RFV2KC008978   Toyota       RAV4                DALLAS                    TX
72383   2T3H1RFV2KC009290   Toyota       RAV4                Austin                    TX
72384   2T3H1RFV2KW002824   Toyota       RAV4                Mira Loma                 CA
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72385   2T3H1RFV2KW003164   Toyota       RAV4                Hendersonville            TN
72386   2T3H1RFV2KW003620   Toyota       RAV4                LAS VEGAS                 NV
72387   2T3H1RFV2KW004010   Toyota       RAV4                INGLEWOOD                 CA
72388   2T3H1RFV2KW020319   Toyota       RAV4                ORLANDO                   FL
72389   2T3H1RFV3KW002752   Toyota       RAV4                SANTA ANA                 CA
72390   2T3H1RFV3KW003657   Toyota       RAV4                LOS ANGELES               CA
72391   2T3H1RFV3KW003769   Toyota       RAV4                INGLEWOOD                 CA
72392   2T3H1RFV3KW013573   Toyota       RAV4                ORLANDO                   FL
72393   2T3H1RFV3KW013671   Toyota       RAV4                PALM SPRINGS              CA
72394   2T3H1RFV3KW021172   Toyota       RAV4                San Antonio               TX
72395   2T3H1RFV3KW021558   Toyota       RAV4                Aurora                    CO
72396   2T3H1RFV3KW032009   Toyota       RAV4                PHOENIX                   AZ
72397   2T3H1RFV4KW002744   Toyota       RAV4                HOUSTON                   TX
72398   2T3H1RFV4KW002789   Toyota       RAV4                PHOENIX                   AZ
72399   2T3H1RFV4KW003117   Toyota       RAV4                LOS ANGELES               CA
72400   2T3H1RFV4KW012979   Toyota       RAV4                PHOENIX                   AZ
72401   2T3H1RFV4KW018877   Toyota       RAV4                WOODSON TERRACE           MO
72402   2T3H1RFV4KW018894   Toyota       RAV4                Dallas                    TX
72403   2T3H1RFV4KW018913   Toyota       RAV4                SOUTHEAST DST OFFC        OK
72404   2T3H1RFV4KW019205   Toyota       RAV4                Sacramento                CA
72405   2T3H1RFV4KW019902   Toyota       RAV4                SEATTLE                   WA
72406   2T3H1RFV4KW020340   Toyota       RAV4                Harvey                    LA
72407   2T3H1RFV4KW026056   Toyota       RAV4                Los Angeles               CA
72408   2T3H1RFV4KW032049   Toyota       RAV4                SAN JOSE                  CA
72409   2T3H1RFV5KC008151   Toyota       RAV4                DALLAS                    TX
72410   2T3H1RFV5KC009266   Toyota       RAV4                KENNER                    LA
72411   2T3H1RFV5KW013106   Toyota       RAV4                ONTARIO                   CA
72412   2T3H1RFV5KW019178   Toyota       RAV4                DALLAS                    TX
72413   2T3H1RFV5KW019777   Toyota       RAV4                EULESS                    TX
72414   2T3H1RFV5KW033839   Toyota       RAV4                SANTA ANA                 CA
72415   2T3H1RFV5KW034408   Toyota       RAV4                ORLANDO                   FL
72416   2T3H1RFV6KW003622   Toyota       RAV4                Atlanta                   GA
72417   2T3H1RFV6KW003636   Toyota       RAV4                Costa Mesa                CA
72418   2T3H1RFV6KW013020   Toyota       RAV4                SOUTHEAST DST OFFC        OK
72419   2T3H1RFV6KW013325   Toyota       RAV4                North Billerica           MA
72420   2T3H1RFV6KW020842   Toyota       RAV4                Dallas                    TX
72421   2T3H1RFV6KW021098   Toyota       RAV4                EULESS                    TX
72422   2T3H1RFV6KW026950   Toyota       RAV4                PHOENIX                   AZ
72423   2T3H1RFV6KW027516   Toyota       RAV4                SANTA BARBARA             CA
72424   2T3H1RFV7KW003872   Toyota       RAV4                Montgomery                AL
72425   2T3H1RFV7KW003905   Toyota       RAV4                PHOENIX                   AZ
72426   2T3H1RFV7KW012815   Toyota       RAV4                Bensalem                  PA
72427   2T3H1RFV7KW012863   Toyota       RAV4                San Diego                 CA
72428   2T3H1RFV7KW013107   Toyota       RAV4                WEST DEPTFORD             NJ
72429   2T3H1RFV7KW013236   Toyota       RAV4                ORLANDO                   FL
72430   2T3H1RFV7KW013298   Toyota       RAV4                PHOENIX                   AZ
72431   2T3H1RFV7KW013639   Toyota       RAV4                LAS VEGAS                 NV
72432   2T3H1RFV7KW015245   Toyota       RAV4                WHITE PLAINS              NY
72433   2T3H1RFV7KW019442   Toyota       RAV4                TAMPA                     FL
72434   2T3H1RFV7KW019747   Toyota       RAV4                Irving                    TX
72435   2T3H1RFV7KW026617   Toyota       RAV4                Atlanta                   GA
72436   2T3H1RFV8KC008516   Toyota       RAV4                DALLAS                    TX
72437   2T3H1RFV8KW002827   Toyota       RAV4                BURBANK                   CA
72438   2T3H1RFV8KW002861   Toyota       RAV4                SALT LAKE CITY            UT
72439   2T3H1RFV8KW013357   Toyota       RAV4                INGLEWOOD                 CA
72440   2T3H1RFV8KW015139   Toyota       RAV4                CLEARWATER                FL
72441   2T3H1RFV8KW018915   Toyota       RAV4                Atlanta                   GA
72442   2T3H1RFV8KW019160   Toyota       RAV4                DALLAS                    TX
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72443   2T3H1RFV8KW021569   Toyota       RAV4                SOUTHEAST DST OFFC        OK
72444   2T3H1RFV8KW027887   Toyota       RAV4                SAN DIEGO                 CA
72445   2T3H1RFV8KW028053   Toyota       RAV4                ONTARIO                   CA
72446   2T3H1RFV8KW031244   Toyota       RAV4                WEST PALM BEACH           FL
72447   2T3H1RFV9KC004023   Toyota       RAV4                Phoenix                   AZ
72448   2T3H1RFV9KC007634   Toyota       RAV4                DALLAS                    TX
72449   2T3H1RFV9KC009559   Toyota       RAV4                EL PASO                   TX
72450   2T3H1RFV9KW002805   Toyota       RAV4                PHOENIX                   AZ
72451   2T3H1RFV9KW002819   Toyota       RAV4                Winter Park               FL
72452   2T3H1RFV9KW003663   Toyota       RAV4                LAS VEGAS                 NV
72453   2T3H1RFV9KW003789   Toyota       RAV4                Houston                   TX
72454   2T3H1RFV9KW012752   Toyota       RAV4                ORLANDO                   FL
72455   2T3H1RFV9KW013898   Toyota       RAV4                DALLAS                    TX
72456   2T3H1RFV9KW014033   Toyota       RAV4                FULLERTON                 CA
72457   2T3H1RFV9KW021581   Toyota       RAV4                DALLAS                    TX
72458   2T3H1RFV9KW026070   Toyota       RAV4                Memphis                   TN
72459   2T3H1RFV9KW028417   Toyota       RAV4                PHOENIX                   AZ
72460   2T3H1RFVXKW002893   Toyota       RAV4                Scottsdale                AZ
72461   2T3H1RFVXKW012050   Toyota       RAV4                ORLANDO                   FL
72462   2T3H1RFVXKW020598   Toyota       RAV4                ATLANTA                   GA
72463   2T3H1RFVXKW026417   Toyota       RAV4                PHOENIX                   AZ
72464   2T3H1RFVXKW032413   Toyota       RAV4                TAMPA                     FL
72465   2T3H1RFVXKW033206   Toyota       RAV4                WOODS CROSS               US
72466   2T3P1RFV0KW027345   Toyota       RAV4                NEW BERN                  NC
72467   2T3P1RFV0KW027958   Toyota       RAV4                FORT MYERS                FL
72468   2T3P1RFV0KW031346   Toyota       RAV4                Carleton                  MI
72469   2T3P1RFV0KW031900   Toyota       RAV4                PITTSBURGH                PA
72470   2T3P1RFV1KC012435   Toyota       RAV4                SAN JOSE                  CA
72471   2T3P1RFV1KC014749   Toyota       RAV4                SEATAC                    WA
72472   2T3P1RFV1KC015304   Toyota       RAV4                MONTEREY                  CA
72473   2T3P1RFV1KW029315   Toyota       RAV4                INDIANAPOLIS              IN
72474   2T3P1RFV1KW029802   Toyota       RAV4                Coraopolis                PA
72475   2T3P1RFV1KW031534   Toyota       RAV4                Florissant                MO
72476   2T3P1RFV1KW031999   Toyota       RAV4                NEW YORK CITY             NY
72477   2T3P1RFV1KW032201   Toyota       RAV4                Florissant                MO
72478   2T3P1RFV1KW064680   Toyota       RAV4                Winter Park               FL
72479   2T3P1RFV2KC013738   Toyota       RAV4                FRESNO CAR SALES          CA
72480   2T3P1RFV2KC013948   Toyota       RAV4                MONTEREY                  CA
72481   2T3P1RFV2KC015943   Toyota       RAV4                NORTH PAC                 CA
72482   2T3P1RFV2KC016333   Toyota       RAV4                TRACY                     CA
72483   2T3P1RFV2KC016414   Toyota       RAV4                Phoenix                   AZ
72484   2T3P1RFV2KC018504   Toyota       RAV4                LOS ANGELES               CA
72485   2T3P1RFV2KW028707   Toyota       RAV4                NEWARK                    NJ
72486   2T3P1RFV2KW029887   Toyota       RAV4                PHILADELPHIA              PA
72487   2T3P1RFV2KW031879   Toyota       RAV4                North Dighton             MA
72488   2T3P1RFV2KW065594   Toyota       RAV4                DENVER                    CO
72489   2T3P1RFV3KC012341   Toyota       RAV4                Costa Mesa                CA
72490   2T3P1RFV3KC014932   Toyota       RAV4                SEATTLE                   WA
72491   2T3P1RFV3KC016874   Toyota       RAV4                FRESNO                    CA
72492   2T3P1RFV3KW029171   Toyota       RAV4                CHARLESTON                WV
72493   2T3P1RFV3KW029252   Toyota       RAV4                BEND                      OR
72494   2T3P1RFV3KW029400   Toyota       RAV4                PHILADELPHIA              PA
72495   2T3P1RFV3KW031230   Toyota       RAV4                Florissant                MO
72496   2T3P1RFV3KW063823   Toyota       RAV4                Denver                    CO
72497   2T3P1RFV3KW065426   Toyota       RAV4                LAS VEGAS                 NV
72498   2T3P1RFV4KC012297   Toyota       RAV4                SACRAMENTO                CA
72499   2T3P1RFV4KC015474   Toyota       RAV4                ORANGE COUNTY             CA
72500   2T3P1RFV4KC016284   Toyota       RAV4                TUCSON                    AZ
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72501   2T3P1RFV4KW027994   Toyota       RAV4                Milwaukee                 WI
72502   2T3P1RFV4KW029938   Toyota       RAV4                NEWARK                    NJ
72503   2T3P1RFV4KW058548   Toyota       RAV4                S. San Francisc           CA
72504   2T3P1RFV4KW059764   Toyota       RAV4                LAS VEGAS                 NV
72505   2T3P1RFV5KC016438   Toyota       RAV4                NORTH PAC                 CA
72506   2T3P1RFV5KW030399   Toyota       RAV4                STERLING                  VA
72507   2T3P1RFV5KW030564   Toyota       RAV4                STERLING                  VA
72508   2T3P1RFV5KW031293   Toyota       RAV4                Irving                    TX
72509   2T3P1RFV5KW031973   Toyota       RAV4                West Mifflin              PA
72510   2T3P1RFV5KW032279   Toyota       RAV4                DES MOINES                IA
72511   2T3P1RFV5KW062611   Toyota       RAV4                BURNSVILLE                MN
72512   2T3P1RFV5KW064231   Toyota       RAV4                NEWARK                    NJ
72513   2T3P1RFV5KW065766   Toyota       RAV4                BOSTON                    MA
72514   2T3P1RFV6KC014844   Toyota       RAV4                Irving                    TX
72515   2T3P1RFV6KC015203   Toyota       RAV4                LAS VEGAS                 NV
72516   2T3P1RFV6KC015900   Toyota       RAV4                Clearwater                FL
72517   2T3P1RFV6KC015945   Toyota       RAV4                SEATAC                    WA
72518   2T3P1RFV6KC016366   Toyota       RAV4                MONTCLAIR                 CA
72519   2T3P1RFV6KW026779   Toyota       RAV4                GREENSBORO                NC
72520   2T3P1RFV6KW026832   Toyota       RAV4                Warminster                PA
72521   2T3P1RFV6KW029312   Toyota       RAV4                NEW YORK CITY             NY
72522   2T3P1RFV6KW032095   Toyota       RAV4                SYRACUSE                  NY
72523   2T3P1RFV6KW059927   Toyota       RAV4                Rio Linda                 CA
72524   2T3P1RFV6KW065114   Toyota       RAV4                DENVER                    CO
72525   2T3P1RFV6KW065985   Toyota       RAV4                GYPSUM                    CO
72526   2T3P1RFV7KC015467   Toyota       RAV4                LAS VEGAS                 NV
72527   2T3P1RFV7KW026872   Toyota       RAV4                Warminster                PA
72528   2T3P1RFV7KW029822   Toyota       RAV4                Newark                    NJ
72529   2T3P1RFV7KW030517   Toyota       RAV4                HARRISBURG                PA
72530   2T3P1RFV7KW032123   Toyota       RAV4                CHICAGO                   IL
72531   2T3P1RFV7KW063856   Toyota       RAV4                MARIETTA                  GA
72532   2T3P1RFV8KC015316   Toyota       RAV4                SAN FRANCISCO             CA
72533   2T3P1RFV8KC016451   Toyota       RAV4                EMERYVILLE                CA
72534   2T3P1RFV8KW026637   Toyota       RAV4                North Dighton             MA
72535   2T3P1RFV8KW026721   Toyota       RAV4                Rockville Centr           NY
72536   2T3P1RFV8KW029103   Toyota       RAV4                Woodhaven                 MI
72537   2T3P1RFV8KW062781   Toyota       RAV4                DENVER                    CO
72538   2T3P1RFV8KW063199   Toyota       RAV4                DENVER                    CO
72539   2T3P1RFV9KC012490   Toyota       RAV4                TRACY                     CA
72540   2T3P1RFV9KC012912   Toyota       RAV4                Fresno                    CA
72541   2T3P1RFV9KC013462   Toyota       RAV4                BURBANK                   CA
72542   2T3P1RFV9KC014191   Toyota       RAV4                FRESNO                    CA
72543   2T3P1RFV9KC014885   Toyota       RAV4                Pasadena                  CA
72544   2T3P1RFV9KC015888   Toyota       RAV4                PHOENIX                   AZ
72545   2T3P1RFV9KC015986   Toyota       RAV4                Roseville                 CA
72546   2T3P1RFV9KC016345   Toyota       RAV4                Riverside                 CA
72547   2T3P1RFV9KC016443   Toyota       RAV4                TUCSON                    AZ
72548   2T3P1RFV9KW026792   Toyota       RAV4                Newark                    NJ
72549   2T3P1RFV9KW027375   Toyota       RAV4                North Dighton             MA
72550   2T3P1RFV9KW027991   Toyota       RAV4                Atlanta                   GA
72551   2T3P1RFV9KW031006   Toyota       RAV4                UNION CITY                GA
72552   2T3P1RFV9KW031040   Toyota       RAV4                Sarasota                  FL
72553   2T3P1RFV9KW032348   Toyota       RAV4                Londonderry               NH
72554   2T3P1RFV9KW063289   Toyota       RAV4                CLEVELAND                 OH
72555   2T3P1RFV9KW064944   Toyota       RAV4                DENVER                    CO
72556   2T3P1RFVXKC016368   Toyota       RAV4                RALEIGH                   NC
72557   2T3P1RFVXKC016466   Toyota       RAV4                LAS VEGAS                 NV
72558   2T3P1RFVXKC018458   Toyota       RAV4                Hayward                   CA
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72559   2T3P1RFVXKC025913   Toyota       RAV4                LOS ANGELES               CA
72560   2T3P1RFVXKW029457   Toyota       RAV4                ATLANTA                   GA
72561   2T3P1RFVXKW032035   Toyota       RAV4                SOUTHEAST DST OFFC        OK
72562   2T3P1RFVXKW063642   Toyota       RAV4                Stockton                  CA
72563   2T3P1RFVXKW064533   Toyota       RAV4                SOUTH BURLINGTO           VT
72564   2T3RFREV0JW787902   Toyota       RAV4                SACRAMENTO                CA
72565   2T3RFREV1GW456240   Toyota       RAV4                San Diego                 CA
72566   2T3RFREV3JW752626   Toyota       RAV4                Slidell                   LA
72567   2T3RFREV3JW798845   Toyota       RAV4                SAN JOSE                  CA
72568   2T3RFREV3JW812713   Toyota       RAV4                DANIA BEACH               FL
72569   2T3RFREV4JW754644   Toyota       RAV4                NEWARK                    NJ
72570   2T3RFREV4JW801865   Toyota       RAV4                DANIA BEACH               FL
72571   2T3RFREV5JW789466   Toyota       RAV4                BURBANK                   CA
72572   2T3RFREV8JW800069   Toyota       RAV4                SEATAC                    WA
72573   2T3RFREV9JW740822   Toyota       RAV4                Orlando                   FL
72574   2T3RFREVXJW775112   Toyota       RAV4                KANSAS CITY               MO
72575   2T3W1RFV0KC003852   Toyota       RAV4                Florissant                MO
72576   2T3W1RFV0KC009666   Toyota       RAV4                UNION CITY                GA
72577   2T3W1RFV0KC009974   Toyota       RAV4                SAINT PAUL                MN
72578   2T3W1RFV0KW004028   Toyota       RAV4                CHICAGO MIDWAY            IL
72579   2T3W1RFV0KW012775   Toyota       RAV4                Tampa                     FL
72580   2T3W1RFV0KW013022   Toyota       RAV4                Indianapolis              IN
72581   2T3W1RFV0KW014056   Toyota       RAV4                ORLANDO                   FL
72582   2T3W1RFV0KW020794   Toyota       RAV4                HOUSTON                   TX
72583   2T3W1RFV0KW028409   Toyota       RAV4                Las Vegas                 NV
72584   2T3W1RFV1KC005321   Toyota       RAV4                Houston                   TX
72585   2T3W1RFV1KC009658   Toyota       RAV4                DES MOINES                IA
72586   2T3W1RFV1KW003180   Toyota       RAV4                Riverside                 CA
72587   2T3W1RFV1KW003759   Toyota       RAV4                Slidell                   LA
72588   2T3W1RFV1KW003776   Toyota       RAV4                Riverside                 CA
72589   2T3W1RFV1KW012655   Toyota       RAV4                BURBANK                   CA
72590   2T3W1RFV1KW012736   Toyota       RAV4                Baltimore                 MD
72591   2T3W1RFV1KW014017   Toyota       RAV4                SAINT LOUIS               MO
72592   2T3W1RFV1KW018861   Toyota       RAV4                TAMPA                     FL
72593   2T3W1RFV1KW019413   Toyota       RAV4                Detroit                   MI
72594   2T3W1RFV1KW025938   Toyota       RAV4                Phoenix                   AZ
72595   2T3W1RFV2KC007742   Toyota       RAV4                DES MOINES                IA
72596   2T3W1RFV2KC008812   Toyota       RAV4                Cleveland                 OH
72597   2T3W1RFV2KC009913   Toyota       RAV4                San Antonio               TX
72598   2T3W1RFV2KC010107   Toyota       RAV4                Florissant                MO
72599   2T3W1RFV2KW003625   Toyota       RAV4                Norwalk                   CA
72600   2T3W1RFV2KW011532   Toyota       RAV4                Atlanta                   GA
72601   2T3W1RFV2KW012986   Toyota       RAV4                Ft. Myers                 FL
72602   2T3W1RFV2KW013023   Toyota       RAV4                MILWAUKEE                 WI
72603   2T3W1RFV2KW015211   Toyota       RAV4                PETALUMA                  CA
72604   2T3W1RFV2KW028167   Toyota       RAV4                PORTLAND                  OR
72605   2T3W1RFV3KC009340   Toyota       RAV4                CLEVELAND                 OH
72606   2T3W1RFV3KC009919   Toyota       RAV4                Dallas                    TX
72607   2T3W1RFV3KC010715   Toyota       RAV4                Irving                    TX
72608   2T3W1RFV3KW003049   Toyota       RAV4                LOS ANGELES               CA
72609   2T3W1RFV3KW004055   Toyota       RAV4                Roseville                 CA
72610   2T3W1RFV3KW012477   Toyota       RAV4                WEST PALM BEACH           FL
72611   2T3W1RFV3KW012740   Toyota       RAV4                KENNESAW                  GA
72612   2T3W1RFV3KW012978   Toyota       RAV4                SOUTHEAST DST OFFC        OK
72613   2T3W1RFV3KW013368   Toyota       RAV4                Jacksonville              FL
72614   2T3W1RFV3KW013628   Toyota       RAV4                Sarasota                  FL
72615   2T3W1RFV3KW019042   Toyota       RAV4                ST Paul                   MN
72616   2T3W1RFV3KW028498   Toyota       RAV4                San Diego                 CA
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72617   2T3W1RFV4KC009315   Toyota       RAV4                DETROIT                   MI
72618   2T3W1RFV4KC009931   Toyota       RAV4                San Antonio               TX
72619   2T3W1RFV4KC010402   Toyota       RAV4                Irving                    TX
72620   2T3W1RFV4KW002900   Toyota       RAV4
72621   2T3W1RFV4KW003531   Toyota       RAV4                Scottsdale                AZ
72622   2T3W1RFV4KW004100   Toyota       RAV4                Scottsdale                AZ
72623   2T3W1RFV4KW014027   Toyota       RAV4                Fontana                   CA
72624   2T3W1RFV4KW014464   Toyota       RAV4                Baltimore                 MD
72625   2T3W1RFV4KW019714   Toyota       RAV4                PHILADELPHIA              PA
72626   2T3W1RFV4KW019972   Toyota       RAV4                Houston                   TX
72627   2T3W1RFV4KW026131   Toyota       RAV4                LAS VEGAS                 NV
72628   2T3W1RFV5KC008237   Toyota       RAV4                Houston                   TX
72629   2T3W1RFV5KC009601   Toyota       RAV4                Dallas                    TX
72630   2T3W1RFV5KC009856   Toyota       RAV4                HOUSTON                   TX
72631   2T3W1RFV5KW003134   Toyota       RAV4                WOODSON TERRACE           MO
72632   2T3W1RFV5KW003621   Toyota       RAV4                ONTARIO                   CA
72633   2T3W1RFV5KW003652   Toyota       RAV4                SEATTLE                   WA
72634   2T3W1RFV5KW011587   Toyota       RAV4                Florissant                MO
72635   2T3W1RFV5KW012805   Toyota       RAV4                WEST PALM BEACH           FL
72636   2T3W1RFV5KW012982   Toyota       RAV4                MILWAUKEE                 WI
72637   2T3W1RFV5KW021097   Toyota       RAV4                DALLAS                    TX
72638   2T3W1RFV6KC004682   Toyota       RAV4                LAS VEGAS                 NV
72639   2T3W1RFV6KC008165   Toyota       RAV4                TAMPA                     FL
72640   2T3W1RFV6KC009378   Toyota       RAV4                Live Oak                  TX
72641   2T3W1RFV6KW003191   Toyota       RAV4                LOS ANGELES               CA
72642   2T3W1RFV6KW004129   Toyota       RAV4                Los Angeles               CA
72643   2T3W1RFV6KW011288   Toyota       RAV4                DECATUR                   GA
72644   2T3W1RFV6KW011355   Toyota       RAV4                SAINT PAUL                MN
72645   2T3W1RFV6KW012134   Toyota       RAV4                Tampa                     FL
72646   2T3W1RFV6KW013414   Toyota       RAV4                Memphis                   TN
72647   2T3W1RFV6KW015163   Toyota       RAV4                Richmond                  VA
72648   2T3W1RFV6KW028866   Toyota       RAV4                LOS ANGELES               CA
72649   2T3W1RFV7KC007722   Toyota       RAV4                Dallas                    TX
72650   2T3W1RFV7KC009647   Toyota       RAV4                San Antonio               TX
72651   2T3W1RFV7KC010197   Toyota       RAV4                Dallas                    TX
72652   2T3W1RFV7KW011610   Toyota       RAV4                Florissant                MO
72653   2T3W1RFV7KW012692   Toyota       RAV4                RICHMOND                  VA
72654   2T3W1RFV8KC008510   Toyota       RAV4                Des Moines                IA
72655   2T3W1RFV8KC009298   Toyota       RAV4                HOUSTON                   TX
72656   2T3W1RFV8KC009589   Toyota       RAV4                Austin                    TX
72657   2T3W1RFV8KC010421   Toyota       RAV4                WARWICK                   RI
72658   2T3W1RFV8KW002849   Toyota       RAV4                BULLHEAD CITY             AZ
72659   2T3W1RFV8KW012961   Toyota       RAV4                TAMPA                     FL
72660   2T3W1RFV8KW018744   Toyota       RAV4                Portland                  OR
72661   2T3W1RFV8KW018811   Toyota       RAV4                DALLAS                    TX
72662   2T3W1RFV8KW021143   Toyota       RAV4                MEMPHIS                   TN
72663   2T3W1RFV9KC009312   Toyota       RAV4                SHREVEPORT                LA
72664   2T3W1RFV9KC010766   Toyota       RAV4                Houston                   TX
72665   2T3W1RFV9KW012242   Toyota       RAV4                Los Angeles               CA
72666   2T3W1RFV9KW012712   Toyota       RAV4                Coraopolis                PA
72667   2T3W1RFV9KW019479   Toyota       RAV4                Hendersonville            TN
72668   2T3W1RFVXKC003731   Toyota       RAV4                FRESNO                    CA
72669   2T3W1RFVXKC009626   Toyota       RAV4                DALLAS                    TX
72670   2T3W1RFVXKW003145   Toyota       RAV4                Atlanta                   GA
72671   2T3W1RFVXKW003517   Toyota       RAV4
72672   2T3W1RFVXKW012248   Toyota       RAV4                Baltimore                 MD
72673   2T3W1RFVXKW012833   Toyota       RAV4                BOSTON                    MA
72674   2T3W1RFVXKW013013   Toyota       RAV4                TAMPA                     FL
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72675   2T3W1RFVXKW018857   Toyota       RAV4                EULESS                    TX
72676   2T3W1RFVXKW021161   Toyota       RAV4                Bridgeton                 MO
72677   2T3W1RFVXKW021418   Toyota       RAV4                DETROIT                   MI
72678   2T3W1RFVXKW026375   Toyota       RAV4                Tolleson                  AZ
72679   2T3WFREV0JW474514   Toyota       RAV4                DES MOINES                IA
72680   2T3WFREV1JW466549   Toyota       RAV4                Winter Park               FL
72681   2T3WFREV1JW472318   Toyota       RAV4                MIAMI                     FL
72682   2T3WFREV1JW476613   Toyota       RAV4                Smithtown                 NY
72683   2T3WFREV1JW477034   Toyota       RAV4                WEST PALM BEACH           FL
72684   2T3WFREV1JW512025   Toyota       RAV4                ORLANDO                   FL
72685   2T3WFREV2JW452594   Toyota       RAV4                Hayward                   CA
72686   2T3WFREV2JW454474   Toyota       RAV4                North Dighton             MA
72687   2T3WFREV2JW472313   Toyota       RAV4                ORLANDO                   FL
72688   2T3WFREV2JW474899   Toyota       RAV4                North Dighton             MA
72689   2T3WFREV3JW474071   Toyota       RAV4                MIAMI                     FL
72690   2T3WFREV3JW474541   Toyota       RAV4                FORT MYERS                FL
72691   2T3WFREV4JW461054   Toyota       RAV4                DENVER                    CO
72692   2T3WFREV4JW476606   Toyota       RAV4                ORLANDO                   FL
72693   2T3WFREV4JW511502   Toyota       RAV4                PENSACOLA                 FL
72694   2T3WFREV5HW357585   Toyota       RAV4                Fontana                   CA
72695   2T3WFREV5HW370806   Toyota       RAV4                WEST HARTFORD             CT
72696   2T3WFREV5JW473424   Toyota       RAV4                FORT LAUDERDALE           FL
72697   2T3WFREV5JW476050   Toyota       RAV4                TAMPA                     FL
72698   2T3WFREV5JW476677   Toyota       RAV4                Mt. Juliet                TN
72699   2T3WFREV5JW510651   Toyota       RAV4                FORT LAUDERDALE           FL
72700   2T3WFREV6HW348300   Toyota       RAV4                ORLANDO                   FL
72701   2T3WFREV6JW467552   Toyota       RAV4                LIVERMORE                 CA
72702   2T3WFREV6JW475344   Toyota       RAV4                LOS ANGELES               CA
72703   2T3WFREV7JW459086   Toyota       RAV4                San Antonio               TX
72704   2T3WFREV7JW468595   Toyota       RAV4                Orlando                   FL
72705   2T3WFREV7JW474994   Toyota       RAV4                LOS ANGELES               CA
72706   2T3WFREV7JW476373   Toyota       RAV4                Denver                    CO
72707   2T3WFREV8JW475295   Toyota       RAV4                Winter Park               FL
72708   2T3WFREV8JW475376   Toyota       RAV4                ORLANDO                   FL
72709   2T3WFREV8JW475717   Toyota       RAV4                ORLANDO                   FL
72710   2T3WFREV8JW476284   Toyota       RAV4                KNOXVILLE                 TN
72711   2T3WFREV9JW474110   Toyota       RAV4                Houston                   TX
72712   2T3WFREV9JW474124   Toyota       RAV4                MIAMI                     FL
72713   2T3WFREV9JW477041   Toyota       RAV4                CLEVELAND                 OH
72714   2T3WFREVXJW510645   Toyota       RAV4                WESLACO                   TX
72715   2T3ZFREV0JW444572   Toyota       RAV4                PHILADELPHIA              PA
72716   2T3ZFREV1JW418322   Toyota       RAV4                PHOENIX                   AZ
72717   2T3ZFREV1JW472820   Toyota       RAV4                MIAMI                     FL
72718   2T3ZFREV1JW472865   Toyota       RAV4                JACKSON                   MS
72719   2T3ZFREV1JW474700   Toyota       RAV4                PHOENIX                   AZ
72720   2T3ZFREV1JW477192   Toyota       RAV4                LAS VEGAS                 NV
72721   2T3ZFREV2JW475404   Toyota       RAV4                Philadelphia              PA
72722   2T3ZFREV2JW476178   Toyota       RAV4                SACRAMENTO                CA
72723   2T3ZFREV2JW477136   Toyota       RAV4                SANFORD                   FL
72724   2T3ZFREV2JW478481   Toyota       RAV4                DENVER                    CO
72725   2T3ZFREV3JW474973   Toyota       RAV4                Burlingame                CA
72726   2T3ZFREV3JW476299   Toyota       RAV4                MIAMI                     FL
72727   2T3ZFREV3JW476528   Toyota       RAV4                DALLAS                    TX
72728   2T3ZFREV4JW474156   Toyota       RAV4                MIAMI                     FL
72729   2T3ZFREV5GW275500   Toyota       RAV4                Los Angeles               CA
72730   2T3ZFREV5JW451162   Toyota       RAV4                BLOOMINGTON               IL
72731   2T3ZFREV5JW456331   Toyota       RAV4                Carleton                  MI
72732   2T3ZFREV5JW465997   Toyota       RAV4                FORT MYERS                FL
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72733   2T3ZFREV5JW475350   Toyota        RAV4                Estero                    FL
72734   2T3ZFREV5JW475381   Toyota        RAV4                FORT LAUDERDALE           FL
72735   2T3ZFREV5JW475445   Toyota        RAV4                North Dighton             MA
72736   2T3ZFREV5JW475624   Toyota        RAV4                North Dighton             MA
72737   2T3ZFREV5JW476756   Toyota        RAV4                North Dighton             MA
72738   2T3ZFREV5JW477132   Toyota        RAV4                Atlanta                   GA
72739   2T3ZFREV6JW459870   Toyota        RAV4                MARIETTA                  GA
72740   2T3ZFREV6JW473171   Toyota        RAV4                FORT LAUDERDALE           FL
72741   2T3ZFREV6JW474272   Toyota        RAV4                FORT MYERS                FL
72742   2T3ZFREV6JW474692   Toyota        RAV4                ORLANDO                   FL
72743   2T3ZFREV6JW477124   Toyota        RAV4                ATLANTA                   GA
72744   2T3ZFREV7JW474653   Toyota        RAV4                LAS VEGAS                 NV
72745   2T3ZFREV7JW475107   Toyota        RAV4                WHITE PLAINS              NY
72746   2T3ZFREV7JW476676   Toyota        RAV4                KENNER                    LA
72747   2T3ZFREV7JW479285   Toyota        RAV4                Little Rock               AR
72748   2T3ZFREV8JW474130   Toyota        RAV4                SARASOTA                  FL
72749   2T3ZFREV9JW465453   Toyota        RAV4                MILWAUKEE                 WI
72750   2T3ZFREV9JW472404   Toyota        RAV4                Lynn                      MA
72751   2T3ZFREV9JW474511   Toyota        RAV4                Tampa                     FL
72752   2T3ZFREV9JW476596   Toyota        RAV4                STERLING                  VA
72753   2T3ZFREVXJW459936   Toyota        RAV4                KILLEEN                   US
72754   2T3ZFREVXJW460813   Toyota        RAV4                Phoenix                   AZ
72755   32PA24AB0KE178555   Kia           RIO                 JACKSONVILLE              FL
72756   32PA24AB0KE216317   Kia           RIO                 Portland                  OR
72757   32PA24AB1KE174787   Kia           RIO                 DALLAS                    TX
72758   32PA24AB1KE180119   Kia           RIO                 Harvey                    LA
72759   32PA24AB1KE180203   Kia           RIO                 TAMPA                     FL
72760   32PA24AB1KE198359   Kia           RIO                 LOUISVILLE                KY
72761   32PA24AB1KE213569   Kia           RIO                 SAINT PAUL                MN
72762   32PA24AB2KE197088   Kia           RIO                 ONTARIO                   CA
72763   32PA24AB2KE197236   Kia           RIO                 BURBANK                   CA
72764   32PA24AB3KE182440   Kia           RIO                 Springfield               MO
72765   32PA24AB5KE179037   Kia           RIO                 TAMPA                     FL
72766   32PA24AB5KE182326   Kia           RIO                 BALTIMORE                 MD
72767   32PA24AB5KE197747   Kia           RIO                 Sacramento                CA
72768   32PA24AB5KE198056   Kia           RIO                 Stockton                  CA
72769   32PA24AB5KE198445   Kia           RIO                 SAN ANTONIO               TX
72770   32PA24AB6KE178561   Kia           RIO                 FORT MYERS                FL
72771   32PA24AB6KE198325   Kia           RIO                 Live Oak                  TX
72772   32PA24AB6KE214040   Kia           RIO                 Tucson                    AZ
72773   32PA24AB7KE182215   Kia           RIO                 TAMPA                     FL
72774   32PA24AB7KE197992   Kia           RIO                 ORLANDO                   FL
72775   32PA24AB7KE216301   Kia           RIO                 Portland                  OR
72776   32PA24AB8KE180800   Kia           RIO                 ORLANDO                   FL
72777   32PA24AB8KE187696   Kia           RIO                 ORLANDO                   FL
72778   32PA24AB8KE216047   Kia           RIO                 REDMOND                   OR
72779   32PA24AB9JE085810   Kia           RIO                 DALLAS                    TX
72780   32PA24AB9KE196567   Kia           RIO                 MEDINA                    OH
72781   32PA24AB9KE197914   Kia           RIO                 San Diego                 CA
72782   32PA24ABXKE182130   Kia           RIO                 COLUMBIA                  SC
72783   32PA24ABXKE196612   Kia           RIO                 Kansas City               MO
72784   32PA24ABXKE205437   Kia           RIO                 Nashville                 TN
72785   32PA24ABXKE216390   Kia           RIO                 HAYWARD                   CA
72786   32PC24A30KE079509   Hyundai       ACCENT              CHICAGO                   IL
72787   32PC24A33KE080900   Hyundai       ACCENT              Latham                    NY
72788   32PC24A36KE083340   Hyundai       ACCENT              Latham                    NY
72789   32PC24A37KE079913   Hyundai       ACCENT              Des Moines                IA
72790   32PF24AD0KE036326   Kia           FORTE               SAN JOSE                  CA
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72791   32PF24AD0KE040652   Kia          FORTE               WEST PALM BEACH           FL
72792   32PF24AD0KE041459   Kia          FORTE               Irving                    TX
72793   32PF24AD0KE082836   Kia          FORTE               MIAMI                     FL
72794   32PF24AD0KE082920   Kia          FORTE               ORLANDO                   FL
72795   32PF24AD0KE083498   Kia          FORTE               WEST PALM BEACH           FL
72796   32PF24AD0KE089379   Kia          FORTE               FORT MYERS                FL
72797   32PF24AD0KE100347   Kia          FORTE               Lake Elsinore             CA
72798   32PF24AD1KE040188   Kia          FORTE               MORROW                    GA
72799   32PF24AD1KE044774   Kia          FORTE               TAMPA                     FL
72800   32PF24AD1KE086541   Kia          FORTE               ORLANDO                   FL
72801   32PF24AD1KE086605   Kia          FORTE               DETROIT                   MI
72802   32PF24AD1KE086832   Kia          FORTE               SARASOTA                  FL
72803   32PF24AD1KE107534   Kia          FORTE               ALBANY                    NY
72804   32PF24AD1KE111776   Kia          FORTE               NEW YORK CITY             NY
72805   32PF24AD1KE117254   Kia          FORTE               Teterboro                 NJ
72806   32PF24AD2KE004591   Kia          FORTE               Atlanta                   GA
72807   32PF24AD2KE082918   Kia          FORTE               Bensalem                  PA
72808   32PF24AD2KE083311   Kia          FORTE               FORT LAUDERDALE           FL
72809   32PF24AD2KE086080   Kia          FORTE               FORT LAUDERDALE           FL
72810   32PF24AD2KE087276   Kia          FORTE               TAMPA                     FL
72811   32PF24AD2KE089318   Kia          FORTE               ORLANDO                   FL
72812   32PF24AD2KE100222   Kia          FORTE               Miami                     FL
72813   32PF24AD2KE101001   Kia          FORTE               Winter Park               FL
72814   32PF24AD2KE101791   Kia          FORTE               WHITE PLAINS              NY
72815   32PF24AD2KE103671   Kia          FORTE               FORT MYERS                FL
72816   32PF24AD2KE104836   Kia          FORTE               MEDINA                    OH
72817   32PF24AD3KE082796   Kia          FORTE               FORT LAUDERDALE           FL
72818   32PF24AD3KE086668   Kia          FORTE               TAMPA                     FL
72819   32PF24AD3KE086783   Kia          FORTE               ORLANDO                   FL
72820   32PF24AD3KE087402   Kia          FORTE               TAMPA                     FL
72821   32PF24AD3KE101704   Kia          FORTE               LAS VEGAS                 NV
72822   32PF24AD3KE103758   Kia          FORTE               PHILADELPHIA              PA
72823   32PF24AD4KE036510   Kia          FORTE               MADISON                   AL
72824   32PF24AD4KE086243   Kia          FORTE               SARASOTA                  FL
72825   32PF24AD4KE087408   Kia          FORTE               ORLANDO                   FL
72826   32PF24AD4KE090566   Kia          FORTE               DANIA BEACH               FL
72827   32PF24AD4KE100013   Kia          FORTE               ORLANDO                   FL
72828   32PF24AD4KE104157   Kia          FORTE               Massapequa                NY
72829   32PF24AD4KE105325   Kia          FORTE               Bensalem                  PA
72830   32PF24AD4KE105907   Kia          FORTE               Hanover                   MD
72831   32PF24AD5KE082783   Kia          FORTE               Rockville Centr           NY
72832   32PF24AD5KE082914   Kia          FORTE               WEST PALM BEACH           FL
72833   32PF24AD5KE083108   Kia          FORTE               MIAMI                     FL
72834   32PF24AD5KE086445   Kia          FORTE               ORLANDO                   FL
72835   32PF24AD5KE086588   Kia          FORTE               SARASOTA                  FL
72836   32PF24AD5KE086946   Kia          FORTE               WEST PALM BEACH           FL
72837   32PF24AD5KE087157   Kia          FORTE               FORT LAUDERDALE           FL
72838   32PF24AD5KE087403   Kia          FORTE               Leesburg                  VA
72839   32PF24AD5KE105480   Kia          FORTE               FORT MYERS                FL
72840   32PF24AD5KE114549   Kia          FORTE               Hanover                   MD
72841   32PF24AD5KE115801   Kia          FORTE               Elkridge                  MD
72842   32PF24AD5KE117256   Kia          FORTE               Baltimore                 MD
72843   32PF24AD5KE118665   Kia          FORTE               Hanover                   MD
72844   32PF24AD6KE033429   Kia          FORTE               WEST PALM BEACH           FL
72845   32PF24AD6KE087152   Kia          FORTE               WEST PALM BEACH           FL
72846   32PF24AD6KE098653   Kia          FORTE               WEST PALM BEACH           FL
72847   32PF24AD6KE099592   Kia          FORTE               Charlotte                 NC
72848   32PF24AD7KE082915   Kia          FORTE               FORT MYERS                FL
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72849   32PF24AD7KE083529   Kia          FORTE               TAMPA                     FL
72850   32PF24AD7KE086446   Kia          FORTE               TAMPA                     FL
72851   32PF24AD7KE087399   Kia          FORTE               CHARLOTTE                 NC
72852   32PF24AD7KE090738   Kia          FORTE               COLUMBIA STATIO           OH
72853   32PF24AD7KE098659   Kia          FORTE               WEST PALM BEACH           FL
72854   32PF24AD7KE099892   Kia          FORTE               LAS VEGAS                 NV
72855   32PF24AD7KE100085   Kia          FORTE               KNOXVILLE                 TN
72856   32PF24AD7KE112320   Kia          FORTE               Philadelphia              PA
72857   32PF24AD8KE031696   Kia          FORTE               FORT MYERS                FL
72858   32PF24AD8KE086715   Kia          FORTE               MIAMI                     FL
72859   32PF24AD8KE087153   Kia          FORTE               TAMPA                     FL
72860   32PF24AD8KE101942   Kia          FORTE               WEST PALM BEACH           FL
72861   32PF24AD8KE104923   Kia          FORTE               Elkridge                  MD
72862   32PF24AD8KE112035   Kia          FORTE               ORLANDO                   FL
72863   32PF24AD9KE042013   Kia          FORTE               ORLANDO                   FL
72864   32PF24AD9KE082785   Kia          FORTE               FORT LAUDERDALE           FL
72865   32PF24AD9KE083290   Kia          FORTE               NORTHEAST DISTRICT        NJ
72866   32PF24AD9KE085184   Kia          FORTE               WEST PALM BEACH           FL
72867   32PF24AD9KE089428   Kia          FORTE               WEST PALM BEACH           FL
72868   32PF24AD9KE098520   Kia          FORTE               MIAMI                     FL
72869   32PF24ADXKE007156   Kia          FORTE               ORLANDO                   FL
72870   32PF24ADXKE008212   Kia          FORTE               Charlotte                 NC
72871   32PF24ADXKE033479   Kia          FORTE               FORT MYERS                FL
72872   32PF24ADXKE086182   Kia          FORTE               FORT MYERS                FL
72873   32PF24ADXKE086585   Kia          FORTE               JACKSONVILLE              FL
72874   32PF24ADXKE086831   Kia          FORTE               ORLANDO                   FL
72875   32PF24ADXKE099031   Kia          FORTE               FORT LAUDERDALE           FL
72876   32PF24ADXKE114045   Kia          FORTE               Bensalem                  PA
72877   32PF24ADXKE117253   Kia          FORTE               Bensalem                  PA
72878   32PF24ADXKE117348   Kia          FORTE               Bensalem                  PA
72879   32PFL4A70HE124826   Kia          FORTE               Elkridge                  MD
72880   32PFL4A70JE194090   Kia          FORTE               KANSAS CITY               MO
72881   32PFL4A70JE200969   Kia          FORTE               DANIA BEACH               FL
72882   32PFL4A70JE224172   Kia          FORTE               SAN FRANCISCO             CA
72883   32PFL4A70JE224236   Kia          FORTE               Phoenix                   AZ
72884   32PFL4A70JE226214   Kia          FORTE               SAN DIEGO                 CA
72885   32PFL4A70JE226486   Kia          FORTE               SAN LEANDRO               CA
72886   32PFL4A70JE239383   Kia          FORTE               MIAMI                     FL
72887   32PFL4A70JE242090   Kia          FORTE               NORTH PAC                 CA
72888   32PFL4A70JE247774   Kia          FORTE               DALLAS                    TX
72889   32PFL4A70JE247872   Kia          FORTE               BURBANK                   CA
72890   32PFL4A70JE248021   Kia          FORTE               BURBANK                   CA
72891   32PFL4A70JE249928   Kia          FORTE               SANTA ANA                 CA
72892   32PFL4A70JE253199   Kia          FORTE               BURBANK                   CA
72893   32PFL4A70JE253591   Kia          FORTE               SOUTHEAST DST OFFC        OK
72894   32PFL4A70JE255986   Kia          FORTE               GAINESVILLE               FL
72895   32PFL4A70JE258063   Kia          FORTE               BURBANK                   CA
72896   32PFL4A70JE258399   Kia          FORTE               BURBANK                   CA
72897   32PFL4A70JE261139   Kia          FORTE               PENSACOLA                 FL
72898   32PFL4A70JE268561   Kia          FORTE               ORLANDO                   FL
72899   32PFL4A71HE131977   Kia          FORTE               SEATAC                    WA
72900   32PFL4A71JE191764   Kia          FORTE               PHILADELPHIA              PA
72901   32PFL4A71JE193059   Kia          FORTE               Marietta                  GA
72902   32PFL4A71JE194597   Kia          FORTE               FLORIDA DEALER DIR        FL
72903   32PFL4A71JE194602   Kia          FORTE               NOTTINGHAM                MD
72904   32PFL4A71JE195961   Kia          FORTE               WEST COLUMBIA             SC
72905   32PFL4A71JE196110   Kia          FORTE               NEW ENGLAND DEALER        MA
72906   32PFL4A71JE224486   Kia          FORTE               BURBANK                   CA
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72907   32PFL4A71JE225170   Kia          FORTE               BURBANK                   CA
72908   32PFL4A71JE225542   Kia          FORTE               DANIA BEACH               FL
72909   32PFL4A71JE226027   Kia          FORTE               DETROIT                   MI
72910   32PFL4A71JE226187   Kia          FORTE               DALLAS                    TX
72911   32PFL4A71JE239845   Kia          FORTE               INDIANAPOLIS              IN
72912   32PFL4A71JE244110   Kia          FORTE               ELKRIDGE                  MD
72913   32PFL4A71JE244298   Kia          FORTE               NORTH PAC                 CA
72914   32PFL4A71JE245113   Kia          FORTE               ORLANDO                   FL
72915   32PFL4A71JE246942   Kia          FORTE               Chandler                  AZ
72916   32PFL4A71JE247881   Kia          FORTE               SAN DIEGO                 CA
72917   32PFL4A71JE247900   Kia          FORTE               BURBANK                   CA
72918   32PFL4A71JE248254   Kia          FORTE               ORLANDO                   FL
72919   32PFL4A71JE248853   Kia          FORTE               PALM SPRINGS              CA
72920   32PFL4A71JE248965   Kia          FORTE               TAMPA                     FL
72921   32PFL4A71JE249257   Kia          FORTE               Las Vegas                 NV
72922   32PFL4A71JE258055   Kia          FORTE               Anaheim                   CA
72923   32PFL4A71JE258251   Kia          FORTE               BURBANK                   CA
72924   32PFL4A71JE259173   Kia          FORTE               SANTA CLARA               CA
72925   32PFL4A71JE259691   Kia          FORTE               BURBANK                   CA
72926   32PFL4A71JE261134   Kia          FORTE               Portland                  OR
72927   32PFL4A71JE262428   Kia          FORTE               COLUMBIA STATIO           OH
72928   32PFL4A71JE267015   Kia          FORTE               SAINT LOUIS               MO
72929   32PFL4A72HE145290   Kia          FORTE               SAN DIEGO                 CA
72930   32PFL4A72JE193913   Kia          FORTE               Davie                     FL
72931   32PFL4A72JE198240   Kia          FORTE               Atlanta                   GA
72932   32PFL4A72JE199033   Kia          FORTE               Massapequa                NY
72933   32PFL4A72JE231883   Kia          FORTE               PICO RIVERA               CA
72934   32PFL4A72JE241457   Kia          FORTE               Atlanta                   GA
72935   32PFL4A72JE242933   Kia          FORTE               ELKRIDGE                  MD
72936   32PFL4A72JE244522   Kia          FORTE               NORTH PAC                 CA
72937   32PFL4A72JE246867   Kia          FORTE               BURBANK                   CA
72938   32PFL4A72JE248408   Kia          FORTE               NEW ENGLAND DEALER        MA
72939   32PFL4A72JE249865   Kia          FORTE               DANIA BEACH               FL
72940   32PFL4A72JE253477   Kia          FORTE               HOUSTON                   TX
72941   32PFL4A72JE254001   Kia          FORTE               WEST PALM BEACH           FL
72942   32PFL4A72JE258050   Kia          FORTE               Santa Clara               CA
72943   32PFL4A72JE260445   Kia          FORTE               Santa Clara               CA
72944   32PFL4A72JE265192   Kia          FORTE               COLUMBUS                  OH
72945   32PFL4A72JE267167   Kia          FORTE               Rockville Centr           NY
72946   32PFL4A73JE177946   Kia          FORTE               Bordentown                NJ
72947   32PFL4A73JE191023   Kia          FORTE               MELROSE PARK              IL
72948   32PFL4A73JE191054   Kia          FORTE               Atlanta                   GA
72949   32PFL4A73JE224053   Kia          FORTE               Norwalk                   CA
72950   32PFL4A73JE224313   Kia          FORTE               Costa Mesa                CA
72951   32PFL4A73JE224389   Kia          FORTE               BURBANK                   CA
72952   32PFL4A73JE224733   Kia          FORTE               DALLAS                    TX
72953   32PFL4A73JE226479   Kia          FORTE               NORTH PAC                 CA
72954   32PFL4A73JE239524   Kia          FORTE               Indianapolis              IN
72955   32PFL4A73JE240527   Kia          FORTE               DANIA BEACH               FL
72956   32PFL4A73JE241578   Kia          FORTE               TAMPA                     FL
72957   32PFL4A73JE243038   Kia          FORTE               Costa Mesa                CA
72958   32PFL4A73JE245114   Kia          FORTE               HOUSTON                   TX
72959   32PFL4A73JE248014   Kia          FORTE               OAKLAND                   CA
72960   32PFL4A73JE248966   Kia          FORTE               STERLING                  VA
72961   32PFL4A73JE249440   Kia          FORTE               BURBANK                   CA
72962   32PFL4A73JE250183   Kia          FORTE               FLORIDA DEALER DIR        FL
72963   32PFL4A73JE250460   Kia          FORTE               DENVER                    CO
72964   32PFL4A73JE251429   Kia          FORTE               OAKLAND                   CA
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72965   32PFL4A73JE252922   Kia          FORTE               BURBANK                   CA
72966   32PFL4A73JE253486   Kia          FORTE               Webster                   NY
72967   32PFL4A73JE253648   Kia          FORTE               TAMPA                     FL
72968   32PFL4A73JE254007   Kia          FORTE               PHILADELPHIA              PA
72969   32PFL4A73JE254010   Kia          FORTE               PALM SPRINGS              CA
72970   32PFL4A73JE255691   Kia          FORTE               Scottsdale                AZ
72971   32PFL4A73JE256081   Kia          FORTE               FLORIDA DEALER DIR        FL
72972   32PFL4A73JE257263   Kia          FORTE               BURBANK                   CA
72973   32PFL4A73JE260311   Kia          FORTE               RENO                      NV
72974   32PFL4A73JE261412   Kia          FORTE               LOS ANGELES               CA
72975   32PFL4A73JE266996   Kia          FORTE               CHICAGO                   IL
72976   32PFL4A74HE100402   Kia          FORTE               BURLINGAME                CA
72977   32PFL4A74HE131021   Kia          FORTE               Tampa                     FL
72978   32PFL4A74HE147252   Kia          FORTE               NORTH PAC                 CA
72979   32PFL4A74JE173680   Kia          FORTE               LAS VEGAS                 NV
72980   32PFL4A74JE193055   Kia          FORTE               Elkridge                  MD
72981   32PFL4A74JE195226   Kia          FORTE               Johnston                  RI
72982   32PFL4A74JE201476   Kia          FORTE               Bridgeton                 MO
72983   32PFL4A74JE202627   Kia          FORTE               Chicago                   IL
72984   32PFL4A74JE222327   Kia          FORTE               NORTH PAC                 CA
72985   32PFL4A74JE240696   Kia          FORTE               Salt Lake City            UT
72986   32PFL4A74JE241346   Kia          FORTE               SARASOTA                  FL
72987   32PFL4A74JE246806   Kia          FORTE               SOUTHEAST DST OFFC        OK
72988   32PFL4A74JE247633   Kia          FORTE               ORLANDO                   FL
72989   32PFL4A74JE249057   Kia          FORTE               DOWNEY                    CA
72990   32PFL4A74JE249737   Kia          FORTE               MIAMI                     FL
72991   32PFL4A74JE249835   Kia          FORTE               Irving                    TX
72992   32PFL4A74JE253044   Kia          FORTE               NORTH PAC                 CA
72993   32PFL4A74JE253724   Kia          FORTE               SAN DIEGO                 CA
72994   32PFL4A74JE256140   Kia          FORTE               TAMPA                     FL
72995   32PFL4A74JE258065   Kia          FORTE               BURBANK                   CA
72996   32PFL4A74JE261127   Kia          FORTE               SAN DIEGO                 CA
72997   32PFL4A74JE261581   Kia          FORTE               FLORIDA DEALER DIR        FL
72998   32PFL4A74JE262617   Kia          FORTE               SARASOTA                  FL
72999   32PFL4A74JE266473   Kia          FORTE               Dallas                    TX
73000   32PFL4A74JE267011   Kia          FORTE               Webster                   NY
73001   32PFL4A75HE132307   Kia          FORTE               Austell                   GA
73002   32PFL4A75HE132498   Kia          FORTE               CLEVELAND                 OH
73003   32PFL4A75JE175048   Kia          FORTE               CLEVELAND                 OH
73004   32PFL4A75JE196627   Kia          FORTE               Elkridge                  MD
73005   32PFL4A75JE198250   Kia          FORTE               Hayward                   CA
73006   32PFL4A75JE198510   Kia          FORTE               CLEVELAND                 OH
73007   32PFL4A75JE217766   Kia          FORTE               CHARLESTON                WV
73008   32PFL4A75JE226211   Kia          FORTE               JACKSONVILLE              FL
73009   32PFL4A75JE226533   Kia          FORTE               Lebanon                   TN
73010   32PFL4A75JE233806   Kia          FORTE               Roseville                 CA
73011   32PFL4A75JE238911   Kia          FORTE               DALLAS                    TX
73012   32PFL4A75JE244191   Kia          FORTE               ORLANDO                   FL
73013   32PFL4A75JE244305   Kia          FORTE               SAINT PAUL                MN
73014   32PFL4A75JE248502   Kia          FORTE               Phoenix                   AZ
73015   32PFL4A75JE249570   Kia          FORTE               NEWPORT BEACH             CA
73016   32PFL4A75JE253408   Kia          FORTE               Hanover                   MD
73017   32PFL4A75JE253764   Kia          FORTE               MILWAUKEE                 WI
73018   32PFL4A75JE256079   Kia          FORTE               PLEASANTON                CA
73019   32PFL4A75JE256499   Kia          FORTE               PHILADELPHIA              PA
73020   32PFL4A75JE257135   Kia          FORTE               SAN FRANCISCO             CA
73021   32PFL4A75JE258401   Kia          FORTE               NORTH PAC                 CA
73022   32PFL4A75JE259287   Kia          FORTE               Stockton                  CA
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73023   32PFL4A75JE259290   Kia          FORTE               Scottsdale                AZ
73024   32PFL4A75JE260729   Kia          FORTE               PHOENIX                   AZ
73025   32PFL4A75JE261136   Kia          FORTE               Irving                    TX
73026   32PFL4A76HE148953   Kia          FORTE               CHARLESTON                WV
73027   32PFL4A76JE194644   Kia          FORTE               Miami                     FL
73028   32PFL4A76JE202628   Kia          FORTE               Dallas                    TX
73029   32PFL4A76JE224399   Kia          FORTE               SAN FRANCISCO             CA
73030   32PFL4A76JE224452   Kia          FORTE               NORTH PAC                 CA
73031   32PFL4A76JE225696   Kia          FORTE               Hayward                   CA
73032   32PFL4A76JE226248   Kia          FORTE               EIGHT MILE                AL
73033   32PFL4A76JE240702   Kia          FORTE               LOS ANGELES               CA
73034   32PFL4A76JE245219   Kia          FORTE               FORT MYERS                FL
73035   32PFL4A76JE248542   Kia          FORTE               Philadelphia              PA
73036   32PFL4A76JE248766   Kia          FORTE               JACKSONVILLE              FL
73037   32PFL4A76JE249254   Kia          FORTE               SAN FRANCISCO             CA
73038   32PFL4A76JE253921   Kia          FORTE               ORLANDO                   FL
73039   32PFL4A76JE260450   Kia          FORTE               LOS ANGELES               CA
73040   32PFL4A76JE265714   Kia          FORTE               INDIANAPOLIS              IN
73041   32PFL4A76JE266359   Kia          FORTE               JACKSONVILLE              FL
73042   32PFL4A77JE193227   Kia          FORTE               MORROW                    GA
73043   32PFL4A77JE193308   Kia          FORTE               HOUSTON                   TX
73044   32PFL4A77JE194006   Kia          FORTE               NORFOLK                   VA
73045   32PFL4A77JE194488   Kia          FORTE               FORT MYERS                FL
73046   32PFL4A77JE194667   Kia          FORTE               STERLING                  VA
73047   32PFL4A77JE224489   Kia          FORTE               SAN JOSE                  CA
73048   32PFL4A77JE224587   Kia          FORTE               LOS ANGELES               CA
73049   32PFL4A77JE225075   Kia          FORTE               Norwalk                   CA
73050   32PFL4A77JE242099   Kia          FORTE               Miami                     FL
73051   32PFL4A77JE245312   Kia          FORTE               CORPUS CHRISTI            TX
73052   32PFL4A77JE249733   Kia          FORTE               Irving                    TX
73053   32PFL4A77JE249859   Kia          FORTE               Elkridge                  MD
73054   32PFL4A77JE250817   Kia          FORTE               MIDDLE RIVER              MD
73055   32PFL4A77JE259307   Kia          FORTE               BURBANK                   CA
73056   32PFL4A77JE260313   Kia          FORTE               SOUTH SAN FRANC           CA
73057   32PFL4A77JE266340   Kia          FORTE               TAMPA                     FL
73058   32PFL4A77JE268086   Kia          FORTE               CHARLOTTE                 NC
73059   32PFL4A78HE149828   Kia          FORTE               ORLANDO                   FL
73060   32PFL4A78HE150980   Kia          FORTE               Elkridge                  MD
73061   32PFL4A78JE193415   Kia          FORTE               TAMPA                     FL
73062   32PFL4A78JE198842   Kia          FORTE               NEW ENGLAND DEALER        MA
73063   32PFL4A78JE200833   Kia          FORTE               Fredericksburg            VA
73064   32PFL4A78JE202629   Kia          FORTE               DANIA BEACH               FL
73065   32PFL4A78JE226025   Kia          FORTE               DALLAS                    TX
73066   32PFL4A78JE226218   Kia          FORTE               South San Franc           CA
73067   32PFL4A78JE239499   Kia          FORTE               Webster                   NY
73068   32PFL4A78JE244511   Kia          FORTE               SAN LEANDRO               CA
73069   32PFL4A78JE247991   Kia          FORTE               BURBANK                   CA
73070   32PFL4A78JE248056   Kia          FORTE               BURBANK                   CA
73071   32PFL4A78JE256206   Kia          FORTE               SAN FRANCISCO             CA
73072   32PFL4A78JE259722   Kia          FORTE               Tampa                     FL
73073   32PFL4A78JE260191   Kia          FORTE               Hayward                   CA
73074   32PFL4A78JE267383   Kia          FORTE               SAN ANTONIO               TX
73075   32PFL4A79HE132035   Kia          FORTE               NEW ENGLAND DEALER        MA
73076   32PFL4A79JE179071   Kia          FORTE               HANOVER                   MD
73077   32PFL4A79JE194721   Kia          FORTE               Newark                    NJ
73078   32PFL4A79JE225983   Kia          FORTE               Maple Grove               MN
73079   32PFL4A79JE226177   Kia          FORTE               PALM SPRINGS              CA
73080   32PFL4A79JE231895   Kia          FORTE               SAN DIEGO                 CA
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73081   32PFL4A79JE242623   Kia              FORTE               Pompano Beach             FL
73082   32PFL4A79JE244002   Kia              FORTE               NORTH PAC                 CA
73083   32PFL4A79JE244520   Kia              FORTE               BURBANK                   CA
73084   32PFL4A79JE247837   Kia              FORTE               ORLANDO                   FL
73085   32PFL4A79JE247885   Kia              FORTE               Pasadena                  CA
73086   32PFL4A79JE248499   Kia              FORTE               CLEVELAND                 OH
73087   32PFL4A79JE250883   Kia              FORTE               ORLANDO                   FL
73088   32PFL4A79JE253573   Kia              FORTE               ORLANDO                   FL
73089   32PFL4A79JE256330   Kia              FORTE               ATLANTA                   GA
73090   32PFL4A79JE257235   Kia              FORTE               BURBANK                   CA
73091   32PFL4A79JE257364   Kia              FORTE               SAINT PAUL                MN
73092   32PFL4A79JE258059   Kia              FORTE               BURBANK                   CA
73093   32PFL4A79JE258255   Kia              FORTE               Las Vegas                 NV
73094   32PFL4A79JE260250   Kia              FORTE               BURBANK                   CA
73095   32PFL4A79JE260300   Kia              FORTE               SAN DIEGO                 CA
73096   32PFL4A79JE265920   Kia              FORTE               NEW ORLEANS               LA
73097   32PFL4A79JE267487   Kia              FORTE               ORLANDO                   FL
73098   32PFL4A7XHE144744   Kia              FORTE               Riverside                 CA
73099   32PFL4A7XJE191228   Kia              FORTE               FLORIDA DEALER DIR        FL
73100   32PFL4A7XJE193996   Kia              FORTE               Tampa                     FL
73101   32PFL4A7XJE194095   Kia              FORTE               EAST BOSTON               MA
73102   32PFL4A7XJE200557   Kia              FORTE               Atlanta                   GA
73103   32PFL4A7XJE222252   Kia              FORTE               SACRAMENTO                CA
73104   32PFL4A7XJE231890   Kia              FORTE               BURBANK                   CA
73105   32PFL4A7XJE240928   Kia              FORTE               CENTRAL DIST OFFC         OK
73106   32PFL4A7XJE241819   Kia              FORTE               N. Las Vegas              NV
73107   32PFL4A7XJE242467   Kia              FORTE               BURBANK                   CA
73108   32PFL4A7XJE242680   Kia              FORTE               AUSTIN                    TX
73109   32PFL4A7XJE244462   Kia              FORTE               SACRAMENTO                CA
73110   32PFL4A7XJE244512   Kia              FORTE               NORTH PAC                 CA
73111   32PFL4A7XJE247877   Kia              FORTE               Warminster                PA
73112   32PFL4A7XJE248012   Kia              FORTE               LAS VEGAS                 NV
73113   32PFL4A7XJE248057   Kia              FORTE               NORTH PAC                 CA
73114   32PFL4A7XJE248298   Kia              FORTE               LOS ANGELES               CA
73115   32PFL4A7XJE248656   Kia              FORTE               DALLAS                    TX
73116   32PFL4A7XJE248964   Kia              FORTE               BURBANK                   CA
73117   32PFL4A7XJE249189   Kia              FORTE               TAMPA                     US
73118   32PFL4A7XJE249922   Kia              FORTE               SANTA ANA                 CA
73119   32PFL4A7XJE253405   Kia              FORTE               FORT LAUDERDALE           FL
73120   32PFL4A7XJE256496   Kia              FORTE               BRONX                     NY
73121   32PFL4A7XJE264534   Kia              FORTE               ORLANDO                   FL
73122   32PFL4A7XJE265196   Kia              FORTE               WEST PALM BEACH           FL
73123   32PFL4A7XJE265635   Kia              FORTE               BURBANK                   CA
73124   334PDCBG3HT589669   Chrysler         JOURNEY             Davie                     FL
73125   351AB7AP0HY311189   Nissan           SENTRA              Atlanta                   GA
73126   351AB7AP0HY327179   Nissan           SENTRA              SANTA ANA                 CA
73127   351AB7AP1HL694685   Nissan           SENTRA              SAN JOSE                  CA
73128   351AB7AP7GY292560   Nissan           SENTRA              Hayward                   CA
73129   351CE2CP9JL360667   Nissan           VERSA               BURBANK                   CA
73130   351CN7AP2HL861040   Nissan           VERSA               SANTA ANA                 CA
73131   35W267AJ1GM374211   Volkswagen       JETTA               KENNESAW                  GA
73132   36A6P0MU6KR221226   Ford             FUSION              DALLAS                    TX
73133   36A6P0MU7KR239945   Ford             FUSION              AUSTIN                    TX
73134   371BE6SM0JS610397   GM               CRUZE               CHICAGO                   IL
73135   371BE6SM0JS613848   GM               CRUZE               ALBUQUERQUE               NM
73136   371BE6SM1JS628858   GM               CRUZE               Atlanta                   GA
73137   371BE6SM4JS615621   GM               CRUZE               Rogersville               MO
73138   371BE6SM5JS627292   GM               CRUZE               GRAND RAPIDS              MI
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73139   371BE6SM5JS639183   GM             CRUZE               Charlotte                 NC
73140   371BE6SM5JS640477   GM             CRUZE               LOS ANGELES               CA
73141   371BE6SM6JS611229   GM             CRUZE               UNION CITY                GA
73142   371BE6SM7JS608758   GM             CRUZE               FORT MYERS                FL
73143   371BE6SM7JS621798   GM             CRUZE               SALT LAKE CITY            UT
73144   371BE6SM8JS606243   GM             CRUZE               LOS ANGELES               CA
73145   371BE6SM8JS612494   GM             CRUZE               Smithtown                 NY
73146   371BE6SM9JS610818   GM             CRUZE               Hartford                  CT
73147   371BE6SMXJS612495   GM             CRUZE               Atlanta                   GA
73148   371BF6SM0JS628136   GM             CRUZE               DANIA BEACH               FL
73149   371BF6SM1JS615590   GM             CRUZE               PHOENIX                   AZ
73150   371BF6SM4JS620735   GM             CRUZE               Atlanta                   GA
73151   371BF6SM5JS612188   GM             CRUZE               KENNER                    LA
73152   371BF6SM6JS607159   GM             CRUZE               Atlanta                   GA
73153   371BF6SM6JS616752   GM             CRUZE               SARASOTA                  FL
73154   371BF6SM6JS625323   GM             CRUZE               NEWARK                    NJ
73155   371BF6SM7JS606747   GM             CRUZE               Detroit                   MI
73156   371BF6SM7JS609552   GM             CRUZE               Bensalem                  PA
73157   371BF6SM7JS614587   GM             CRUZE               PHILADELPHIA              PA
73158   371BF6SM8JS608281   GM             CRUZE               PHOENIX                   AZ
73159   371BF6SM8JS617255   GM             CRUZE               GLENOLDEN                 PA
73160   371BF6SMXJS617354   GM             CRUZE               Atlanta                   GA
73161   37KALMEV2JL313227   GM             TERRAIN             Santa Clara               CA
73162   37KALMEV3JL327928   GM             TERRAIN             Florissant                MO
73163   37KALMEV5JL330040   GM             TERRAIN             KENNER                    LA
73164   37KALPEV5KL371299   GM             TERRAIN             Amarillo                  TX
73165   37KALPEX3JL328306   GM             TERRAIN             SEATTLE                   WA
73166   37KALPEX4JL321963   GM             TERRAIN             PHOENIX                   AZ
73167   37KALPEX4JL327942   GM             TERRAIN             PHOENIX                   AZ
73168   37KALPEX7JL313159   GM             TERRAIN             LOS ANGELES               CA
73169   37KALPEXXJL332031   GM             TERRAIN             SAN JOSE                  CA
73170   37KALTEV3JL309665   GM             TERRAIN             INGLEWOOD                 CA
73171   37KALVEX4JL283039   GM             TERRAIN             DENVER                    CO
73172   37KALVEX5JL308675   GM             TERRAIN             SACRAMENTO                CA
73173   3C4NJCAB1JT125095   Chrysler       COMPASS             SAN ANTONIO               TX
73174   3C4NJCAB8JT122789   Chrysler       COMPASS             KINGSPORT‐TRI CITY        TN
73175   3C4NJCAB9JT102549   Chrysler       COMPASS             DALLAS                    TX
73176   3C4NJCBB0JT137656   Chrysler       COMPASS             KENNER                    LA
73177   3C4NJCBB2JT267776   Chrysler       COMPASS             FORT LAUDERDALE           FL
73178   3C4NJCBB2JT466651   Chrysler       COMPASS             SANTA ANA                 CA
73179   3C4NJCBB8JT240940   Chrysler       COMPASS             PHOENIX                   AZ
73180   3C4NJCCB0JT406396   Chrysler       COMPASS             Atlanta                   GA
73181   3C4NJCCB2JT406013   Chrysler       COMPASS             ORLANDO                   FL
73182   3C4NJCCB4JT406367   Chrysler       COMPASS             MIAMI                     FL
73183   3C4NJCCB6JT406385   Chrysler       COMPASS             BLOOMINGTON               IL
73184   3C4NJCCB7JT368004   Chrysler       COMPASS             JACKSONVILLE              FL
73185   3C4NJCCB8JT406422   Chrysler       COMPASS             TAMPA                     FL
73186   3C4NJCCB9JT406655   Chrysler       COMPASS             ORLANDO                   FL
73187   3C4NJCCBXJT405935   Chrysler       COMPASS             ORLANDO                   FL
73188   3C4NJDBB0JT331903   Chrysler       COMPASS             SOUTHEAST DST OFFC        OK
73189   3C4NJDBB2JT331711   Chrysler       COMPASS             Union City                GA
73190   3C4NJDBB3JT336867   Chrysler       COMPASS             TAMPA                     FL
73191   3C4NJDBB7JT332000   Chrysler       COMPASS             PHILADELPHIA              PA
73192   3C4NJDBB9JT331785   Chrysler       COMPASS             CHATTANOOGA               TN
73193   3C4NJDBB9JT333200   Chrysler       COMPASS             SAN FRANCISCO             CA
73194   3C4NJDCB0JT453871   Chrysler       COMPASS             FORT LAUDERDALE           FL
73195   3C4NJDCB0KT619159   Chrysler       COMPASS             ORLANDO                   FL
73196   3C4NJDCB0KT619209   Chrysler       COMPASS             SOUTHEAST DST OFFC        OK
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73197   3C4NJDCB1JT306894   Chrysler       COMPASS             UNION CITY                GA
73198   3C4NJDCB1JT333612   Chrysler       COMPASS             CHICAGO                   IL
73199   3C4NJDCB1JT392837   Chrysler       COMPASS             JACKSONVILLE              FL
73200   3C4NJDCB2JT333943   Chrysler       COMPASS             NEW YORK CITY             NY
73201   3C4NJDCB2KT619017   Chrysler       COMPASS             KANSAS CITY               MO
73202   3C4NJDCB6JT333329   Chrysler       COMPASS             Center Line               MI
73203   3C4NJDCB6KT747695   Chrysler       COMPASS             Warminster                PA
73204   3C4NJDCB7JT333744   Chrysler       COMPASS             NASHVILLE                 TN
73205   3C4NJDCB8JT330092   Chrysler       COMPASS             MIAMI                     FL
73206   3C4NJDCB8JT341366   Chrysler       COMPASS             BIRMINGHAN                AL
73207   3C4NJDCB8JT341643   Chrysler       COMPASS             Portland                  OR
73208   3C4NJDCB9JT332627   Chrysler       COMPASS             Houston                   TX
73209   3C4NJDCB9KT821773   Chrysler       COMPASS             Bridgeton                 MO
73210   3C4NJDCBXJT232116   Chrysler       COMPASS             Atlanta                   GA
73211   3C4NJDCBXJT332636   Chrysler       COMPASS             DES PLAINES               US
73212   3C4NJDCBXJT334077   Chrysler       COMPASS             WEST PALM BEACH           FL
73213   3C4NJDDB0KT618897   Chrysler       COMPASS             RENO                      NV
73214   3C4NJDDB0KT620164   Chrysler       COMPASS             JACKSONVILLE              FL
73215   3C4NJDDB0KT721205   Chrysler       COMPASS             SOUTHEAST DST OFFC        OK
73216   3C4NJDDB0KT721494   Chrysler       COMPASS             San Antonio               TX
73217   3C4NJDDB0KT721544   Chrysler       COMPASS             HOUSTON                   TX
73218   3C4NJDDB0KT721558   Chrysler       COMPASS             JACKSONVILLE              FL
73219   3C4NJDDB0KT721592   Chrysler       COMPASS             Baltimore                 MD
73220   3C4NJDDB0KT721706   Chrysler       COMPASS             Baltimore                 MD
73221   3C4NJDDB0KT721754   Chrysler       COMPASS             HAMPTON                   VA
73222   3C4NJDDB0KT721768   Chrysler       COMPASS             Atlanta                   GA
73223   3C4NJDDB0KT721897   Chrysler       COMPASS             Elkridge                  MD
73224   3C4NJDDB0KT721981   Chrysler       COMPASS             Webster                   NY
73225   3C4NJDDB0KT722130   Chrysler       COMPASS             CHICAGO                   IL
73226   3C4NJDDB0KT722189   Chrysler       COMPASS             St. Louis                 MO
73227   3C4NJDDB0KT722340   Chrysler       COMPASS             ORLANDO                   FL
73228   3C4NJDDB0KT722371   Chrysler       COMPASS             SALT LAKE CITY            UT
73229   3C4NJDDB0KT722421   Chrysler       COMPASS             MORROW                    GA
73230   3C4NJDDB0KT722502   Chrysler       COMPASS             SALT LAKE CITY            US
73231   3C4NJDDB0KT728512   Chrysler       COMPASS             SEATTLE                   WA
73232   3C4NJDDB0KT728560   Chrysler       COMPASS             CLEARWATER                FL
73233   3C4NJDDB0KT732981   Chrysler       COMPASS             Denver                    CO
73234   3C4NJDDB0KT733080   Chrysler       COMPASS             CHICAGO                   IL
73235   3C4NJDDB0KT733161   Chrysler       COMPASS             Florissant                MO
73236   3C4NJDDB0KT733192   Chrysler       COMPASS             DETROIT                   MI
73237   3C4NJDDB0KT733208   Chrysler       COMPASS             Coraopolis                PA
73238   3C4NJDDB0KT733290   Chrysler       COMPASS             TAMPA                     FL
73239   3C4NJDDB0KT733421   Chrysler       COMPASS             Harvey                    LA
73240   3C4NJDDB0KT733502   Chrysler       COMPASS             Dallas                    TX
73241   3C4NJDDB0KT739610   Chrysler       COMPASS             CHICAGO                   IL
73242   3C4NJDDB0KT739669   Chrysler       COMPASS             TAMPA                     FL
73243   3C4NJDDB0KT739929   Chrysler       COMPASS             Riverside                 CA
73244   3C4NJDDB0KT739946   Chrysler       COMPASS             Houston                   TX
73245   3C4NJDDB0KT739994   Chrysler       COMPASS             NORTH PAC                 CA
73246   3C4NJDDB0KT740031   Chrysler       COMPASS             Killeen                   TX
73247   3C4NJDDB0KT740062   Chrysler       COMPASS             Oklahoma City             OK
73248   3C4NJDDB0KT740112   Chrysler       COMPASS             Webster                   NY
73249   3C4NJDDB0KT744693   Chrysler       COMPASS             Harvey                    LA
73250   3C4NJDDB0KT744757   Chrysler       COMPASS             DES MOINES                IA
73251   3C4NJDDB0KT744774   Chrysler       COMPASS             Warr Acres                OK
73252   3C4NJDDB0KT744810   Chrysler       COMPASS             Stockton                  CA
73253   3C4NJDDB0KT747755   Chrysler       COMPASS             Grove City                OH
73254   3C4NJDDB0KT747805   Chrysler       COMPASS             Sacramento                CA
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73255   3C4NJDDB0KT747951   Chrysler       COMPASS             Hapeville                 GA
73256   3C4NJDDB0KT747979   Chrysler       COMPASS             MIDDLE RIVER              MD
73257   3C4NJDDB0KT747996   Chrysler       COMPASS             SYRACUSE                  NY
73258   3C4NJDDB0KT748064   Chrysler       COMPASS             Elkridge                  MD
73259   3C4NJDDB0KT780190   Chrysler       COMPASS             SEATAC                    WA
73260   3C4NJDDB0KT790332   Chrysler       COMPASS             N. Las Vegas              NV
73261   3C4NJDDB0LT118529   Chrysler       COMPASS             GRAND JUNCTION            C
73262   3C4NJDDB0LT118546   Chrysler       COMPASS             albuquerque               nm
73263   3C4NJDDB0LT118563   Chrysler       COMPASS             LOS ANGELES               CA
73264   3C4NJDDB0LT118577   Chrysler       COMPASS             DENVER                    CO
73265   3C4NJDDB0LT118580   Chrysler       COMPASS             Phoenix                   AZ
73266   3C4NJDDB0LT118594   Chrysler       COMPASS             Des Moines                IA
73267   3C4NJDDB0LT118613   Chrysler       COMPASS             DENVER                    CO
73268   3C4NJDDB0LT118630   Chrysler       COMPASS             EL PASO                   TX
73269   3C4NJDDB0LT118644   Chrysler       COMPASS             DENVER                    CO
73270   3C4NJDDB1KT620397   Chrysler       COMPASS             WEST PALM BEACH           FL
73271   3C4NJDDB1KT721214   Chrysler       COMPASS             Stone Mountain            GA
73272   3C4NJDDB1KT721391   Chrysler       COMPASS             Memphis                   TN
73273   3C4NJDDB1KT721407   Chrysler       COMPASS             MIAMI                     FL
73274   3C4NJDDB1KT721469   Chrysler       COMPASS             TAMPA                     FL
73275   3C4NJDDB1KT721603   Chrysler       COMPASS             Rockville Centr           NY
73276   3C4NJDDB1KT721794   Chrysler       COMPASS             Miami                     FL
73277   3C4NJDDB1KT721911   Chrysler       COMPASS             BOSTON                    MA
73278   3C4NJDDB1KT721942   Chrysler       COMPASS             SOUTH BEND                IN
73279   3C4NJDDB1KT722122   Chrysler       COMPASS             Atlanta                   GA
73280   3C4NJDDB1KT722170   Chrysler       COMPASS             Atlanta                   GA
73281   3C4NJDDB1KT722363   Chrysler       COMPASS             SAINT PAUL                MN
73282   3C4NJDDB1KT722492   Chrysler       COMPASS             Austin                    TX
73283   3C4NJDDB1KT733010   Chrysler       COMPASS             Detroit                   MI
73284   3C4NJDDB1KT733136   Chrysler       COMPASS             PHOENIX                   AZ
73285   3C4NJDDB1KT733167   Chrysler       COMPASS             Bensalem                  PA
73286   3C4NJDDB1KT733220   Chrysler       COMPASS             Lake Elsinore             CA
73287   3C4NJDDB1KT733315   Chrysler       COMPASS             Warminster                PA
73288   3C4NJDDB1KT733346   Chrysler       COMPASS             Marietta                  GA
73289   3C4NJDDB1KT733461   Chrysler       COMPASS             Ventura                   CA
73290   3C4NJDDB1KT739695   Chrysler       COMPASS             Hayward                   CA
73291   3C4NJDDB1KT739776   Chrysler       COMPASS             Milwaukee                 WI
73292   3C4NJDDB1KT739857   Chrysler       COMPASS             Tampa                     FL
73293   3C4NJDDB1KT739860   Chrysler       COMPASS             KANSAS CITY               MO
73294   3C4NJDDB1KT739874   Chrysler       COMPASS             Austin                    TX
73295   3C4NJDDB1KT739972   Chrysler       COMPASS             Clearwater                FL
73296   3C4NJDDB1KT739986   Chrysler       COMPASS             Austin                    TX
73297   3C4NJDDB1KT747747   Chrysler       COMPASS             VALLEJO                   CA
73298   3C4NJDDB1KT747795   Chrysler       COMPASS             Scottsdale                AZ
73299   3C4NJDDB1KT747800   Chrysler       COMPASS             DENVER                    CO
73300   3C4NJDDB1KT747912   Chrysler       COMPASS             SOUTHEAST DST OFFC        OK
73301   3C4NJDDB1KT752530   Chrysler       COMPASS             Charlotte                 NC
73302   3C4NJDDB1KT756464   Chrysler       COMPASS             Windsor Locks             CT
73303   3C4NJDDB1LT118524   Chrysler       COMPASS             DENVER                    CO
73304   3C4NJDDB1LT118538   Chrysler       COMPASS             ALBUQUERQUE               NM
73305   3C4NJDDB1LT118541   Chrysler       COMPASS             ALBUQUERQUE               NM
73306   3C4NJDDB1LT118569   Chrysler       COMPASS             SALT LAKE CITY            US
73307   3C4NJDDB1LT118586   Chrysler       COMPASS             ONTARIO, RIVERSIDE        CA
73308   3C4NJDDB1LT118605   Chrysler       COMPASS             DENVER                    CO
73309   3C4NJDDB1LT118619   Chrysler       COMPASS             PALM SPRINGS              CA
73310   3C4NJDDB2KT721206   Chrysler       COMPASS             Detroit                   MI
73311   3C4NJDDB2KT721223   Chrysler       COMPASS             Des Plaines               IL
73312   3C4NJDDB2KT721268   Chrysler       COMPASS             BIRMINGHAM                AL
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73313   3C4NJDDB2KT721402   Chrysler       COMPASS             TAMPA                     FL
73314   3C4NJDDB2KT721531   Chrysler       COMPASS             SOUTHEAST DST OFFC        OK
73315   3C4NJDDB2KT721674   Chrysler       COMPASS             BOSTON                    MA
73316   3C4NJDDB2KT722016   Chrysler       COMPASS             Ocoee                     FL
73317   3C4NJDDB2KT722145   Chrysler       COMPASS             AUSTIN                    TX
73318   3C4NJDDB2KT722212   Chrysler       COMPASS             Chicago                   IL
73319   3C4NJDDB2KT722324   Chrysler       COMPASS             San Diego                 CA
73320   3C4NJDDB2KT722369   Chrysler       COMPASS             TAMPA                     FL
73321   3C4NJDDB2KT722422   Chrysler       COMPASS             PHOENIX                   AZ
73322   3C4NJDDB2KT722484   Chrysler       COMPASS             Tampa                     FL
73323   3C4NJDDB2KT728530   Chrysler       COMPASS             HARTFORD                  CT
73324   3C4NJDDB2KT732934   Chrysler       COMPASS             SALT LAKE CITY            UT
73325   3C4NJDDB2KT732979   Chrysler       COMPASS             Colorado Spring           CO
73326   3C4NJDDB2KT733033   Chrysler       COMPASS             Newark                    NJ
73327   3C4NJDDB2KT733291   Chrysler       COMPASS             Jacksonville              FL
73328   3C4NJDDB2KT733341   Chrysler       COMPASS             SOUTHEAST DST OFFC        OK
73329   3C4NJDDB2KT733355   Chrysler       COMPASS             ORLANDO                   FL
73330   3C4NJDDB2KT733405   Chrysler       COMPASS             SOUTHEAST DST OFFC        OK
73331   3C4NJDDB2KT733470   Chrysler       COMPASS             MELROSE PARK              IL
73332   3C4NJDDB2KT739706   Chrysler       COMPASS             Vandalia                  OH
73333   3C4NJDDB2KT739950   Chrysler       COMPASS             Memphis                   TN
73334   3C4NJDDB2KT740001   Chrysler       COMPASS             Houston                   TX
73335   3C4NJDDB2KT740029   Chrysler       COMPASS             Rogersville               MO
73336   3C4NJDDB2KT740077   Chrysler       COMPASS             NEW ORLEANS               LA
73337   3C4NJDDB2KT744680   Chrysler       COMPASS             BIRMINGHAM                AL
73338   3C4NJDDB2KT744761   Chrysler       COMPASS             Torrance                  CA
73339   3C4NJDDB2KT744792   Chrysler       COMPASS             EULESS                    TX
73340   3C4NJDDB2KT747773   Chrysler       COMPASS             SEATTLE                   WA
73341   3C4NJDDB2KT747787   Chrysler       COMPASS             Torrance                  CA
73342   3C4NJDDB2KT747823   Chrysler       COMPASS             SAC                       CA
73343   3C4NJDDB2KT747840   Chrysler       COMPASS             Roseville                 CA
73344   3C4NJDDB2KT748020   Chrysler       COMPASS             Jacksonville              FL
73345   3C4NJDDB2KT759826   Chrysler       COMPASS             FORT MYERS                FL
73346   3C4NJDDB2KT765352   Chrysler       COMPASS             Memphis                   TN
73347   3C4NJDDB2KT790297   Chrysler       COMPASS             Cincinnati                OH
73348   3C4NJDDB2LT118533   Chrysler       COMPASS             SAINT PAUL                MN
73349   3C4NJDDB2LT118547   Chrysler       COMPASS             SALT LAKE CITY            UT
73350   3C4NJDDB2LT118550   Chrysler       COMPASS             SALT LAKE CITY            UT
73351   3C4NJDDB2LT118564   Chrysler       COMPASS             SALT LAKE CITY            US
73352   3C4NJDDB2LT118595   Chrysler       COMPASS             CHICAGO                   IL
73353   3C4NJDDB2LT118600   Chrysler       COMPASS             GYPSUM                    CO
73354   3C4NJDDB2LT118645   Chrysler       COMPASS             DENVER                    CO
73355   3C4NJDDB3KT721263   Chrysler       COMPASS             Lynn                      MA
73356   3C4NJDDB3KT721540   Chrysler       COMPASS             Houston                   TX
73357   3C4NJDDB3KT721585   Chrysler       COMPASS             Tampa                     FL
73358   3C4NJDDB3KT721599   Chrysler       COMPASS             Webster                   NY
73359   3C4NJDDB3KT722025   Chrysler       COMPASS             Lake in the Hil           IL
73360   3C4NJDDB3KT722042   Chrysler       COMPASS             Newark                    NJ
73361   3C4NJDDB3KT722056   Chrysler       COMPASS             GRAND JUNCTION            C
73362   3C4NJDDB3KT722140   Chrysler       COMPASS             Hebron                    KY
73363   3C4NJDDB3KT722526   Chrysler       COMPASS             Pasadena                  CA
73364   3C4NJDDB3KT728469   Chrysler       COMPASS             PLEASANTON                CA
73365   3C4NJDDB3KT728505   Chrysler       COMPASS             Live Oak                  TX
73366   3C4NJDDB3KT728584   Chrysler       COMPASS             Atlanta                   GA
73367   3C4NJDDB3KT732957   Chrysler       COMPASS             Oklahoma City             OK
73368   3C4NJDDB3KT733025   Chrysler       COMPASS             ORLANDO                   FL
73369   3C4NJDDB3KT733140   Chrysler       COMPASS             PANAMA CITY               FL
73370   3C4NJDDB3KT733218   Chrysler       COMPASS             LOS ANGELES               CA
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73371   3C4NJDDB3KT733283   Chrysler       COMPASS             TAMPA                     FL
73372   3C4NJDDB3KT733333   Chrysler       COMPASS             LEXINGTON                 KY
73373   3C4NJDDB3KT733414   Chrysler       COMPASS             Jacksonville              FL
73374   3C4NJDDB3KT739570   Chrysler       COMPASS             Davie                     FL
73375   3C4NJDDB3KT739634   Chrysler       COMPASS             Hamilton                  OH
73376   3C4NJDDB3KT739732   Chrysler       COMPASS             SEATTLE                   WA
73377   3C4NJDDB3KT739858   Chrysler       COMPASS             Dallas                    TX
73378   3C4NJDDB3KT739875   Chrysler       COMPASS             Euless                    TX
73379   3C4NJDDB3KT739889   Chrysler       COMPASS             Las Vegas                 NV
73380   3C4NJDDB3KT739956   Chrysler       COMPASS             SANDSTON                  VA
73381   3C4NJDDB3KT740105   Chrysler       COMPASS             ORLANDO                   FL
73382   3C4NJDDB3KT744736   Chrysler       COMPASS             Colorado Spring           CO
73383   3C4NJDDB3KT744767   Chrysler       COMPASS             Florissant                MO
73384   3C4NJDDB3KT747779   Chrysler       COMPASS             Scottsdale                AZ
73385   3C4NJDDB3KT747815   Chrysler       COMPASS             EL SEGUNDO                CA
73386   3C4NJDDB3KT747832   Chrysler       COMPASS             SAN DIEGO                 US
73387   3C4NJDDB3KT765358   Chrysler       COMPASS             San Antonio               TX
73388   3C4NJDDB3KT790275   Chrysler       COMPASS             Costa Mesa                CA
73389   3C4NJDDB3KT790342   Chrysler       COMPASS             Austin                    TX
73390   3C4NJDDB3LT118525   Chrysler       COMPASS             PHOENIX                   AZ
73391   3C4NJDDB3LT118539   Chrysler       COMPASS             PHOENIX                   AZ
73392   3C4NJDDB3LT118556   Chrysler       COMPASS             Los Angeles               CA
73393   3C4NJDDB3LT118606   Chrysler       COMPASS             DENVER                    CO
73394   3C4NJDDB3LT118623   Chrysler       COMPASS             PENSACOLA                 FL
73395   3C4NJDDB3LT118637   Chrysler       COMPASS             GYPSUM                    CO
73396   3C4NJDDB3LT118640   Chrysler       COMPASS             FORT MYERS                FL
73397   3C4NJDDB4JT334719   Chrysler       COMPASS             Dallas                    TX
73398   3C4NJDDB4KT721160   Chrysler       COMPASS             Riverside                 CA
73399   3C4NJDDB4KT721188   Chrysler       COMPASS             LAS VEGAS                 NV
73400   3C4NJDDB4KT721353   Chrysler       COMPASS             SEATTLE                   WA
73401   3C4NJDDB4KT721367   Chrysler       COMPASS             Ventura                   CA
73402   3C4NJDDB4KT721384   Chrysler       COMPASS             Rockville Centr           NY
73403   3C4NJDDB4KT721398   Chrysler       COMPASS             Hamilton                  OH
73404   3C4NJDDB4KT721501   Chrysler       COMPASS             Denver                    CO
73405   3C4NJDDB4KT721529   Chrysler       COMPASS             Houston                   TX
73406   3C4NJDDB4KT721658   Chrysler       COMPASS             Richmond                  VA
73407   3C4NJDDB4KT721675   Chrysler       COMPASS             Stone Mountain            GA
73408   3C4NJDDB4KT721773   Chrysler       COMPASS             Atlanta                   GA
73409   3C4NJDDB4KT721837   Chrysler       COMPASS             Elkridge                  MD
73410   3C4NJDDB4KT721885   Chrysler       COMPASS             Vandalia                  OH
73411   3C4NJDDB4KT721952   Chrysler       COMPASS             Coraopolis                PA
73412   3C4NJDDB4KT722275   Chrysler       COMPASS             Des Plaines               IL
73413   3C4NJDDB4KT722292   Chrysler       COMPASS             Atlanta                   GA
73414   3C4NJDDB4KT722325   Chrysler       COMPASS             WEST PALM BEACH           FL
73415   3C4NJDDB4KT722339   Chrysler       COMPASS             SOUTHEAST DST OFFC        OK
73416   3C4NJDDB4KT722342   Chrysler       COMPASS             Las Vegas                 NV
73417   3C4NJDDB4KT728593   Chrysler       COMPASS             Baltimore                 MD
73418   3C4NJDDB4KT728609   Chrysler       COMPASS             Denver                    CO
73419   3C4NJDDB4KT737018   Chrysler       COMPASS             Live Oak                  TX
73420   3C4NJDDB4KT739500   Chrysler       COMPASS             El Paso                   TX
73421   3C4NJDDB4KT739562   Chrysler       COMPASS             SAC                       CA
73422   3C4NJDDB4KT739819   Chrysler       COMPASS             San Antonio               TX
73423   3C4NJDDB4KT739898   Chrysler       COMPASS             Kansas City               KS
73424   3C4NJDDB4KT739920   Chrysler       COMPASS             Lake Elsinore             CA
73425   3C4NJDDB4KT739951   Chrysler       COMPASS             Live Oak                  TX
73426   3C4NJDDB4KT739996   Chrysler       COMPASS             Harvey                    LA
73427   3C4NJDDB4KT740002   Chrysler       COMPASS             Warr Acres                OK
73428   3C4NJDDB4KT740095   Chrysler       COMPASS             SAN ANTONIO               TX
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73429   3C4NJDDB4KT740100   Chrysler       COMPASS             Ventura                   CA
73430   3C4NJDDB4KT744681   Chrysler       COMPASS             MEMPHIS                   TN
73431   3C4NJDDB4KT744809   Chrysler       COMPASS             Memphis                   TN
73432   3C4NJDDB4KT747788   Chrysler       COMPASS             DENVER                    CO
73433   3C4NJDDB4KT747838   Chrysler       COMPASS             Sacramento                CA
73434   3C4NJDDB4KT747872   Chrysler       COMPASS             ALBUQUERQUE               NM
73435   3C4NJDDB4KT748004   Chrysler       COMPASS             Orlando                   FL
73436   3C4NJDDB4KT748049   Chrysler       COMPASS             Newark                    NJ
73437   3C4NJDDB4KT748052   Chrysler       COMPASS             SPRINGFIELD               VA
73438   3C4NJDDB4KT756510   Chrysler       COMPASS             Florissant                MO
73439   3C4NJDDB4KT756524   Chrysler       COMPASS             SPRINGFIELD               VA
73440   3C4NJDDB4KT785506   Chrysler       COMPASS             Chicago                   IL
73441   3C4NJDDB4LT118520   Chrysler       COMPASS             PHOENIX                   AZ
73442   3C4NJDDB4LT118534   Chrysler       COMPASS             PHOENIX                   AZ
73443   3C4NJDDB4LT118548   Chrysler       COMPASS             ATHENS                    GA
73444   3C4NJDDB4LT118551   Chrysler       COMPASS             SALT LAKE CITY            UT
73445   3C4NJDDB4LT118579   Chrysler       COMPASS             GRAND JUNCTION            C
73446   3C4NJDDB4LT118601   Chrysler       COMPASS             PHOENIX                   AZ
73447   3C4NJDDB4LT118615   Chrysler       COMPASS             PALM SPRINGS              CA
73448   3C4NJDDB4LT118629   Chrysler       COMPASS             DENVER                    CO
73449   3C4NJDDB4LT118632   Chrysler       COMPASS             COLORADO SPRING           CO
73450   3C4NJDDB5JT441696   Chrysler       COMPASS             CHANDLER                  AZ
73451   3C4NJDDB5KT721202   Chrysler       COMPASS             MIAMI                     FL
73452   3C4NJDDB5KT721264   Chrysler       COMPASS             SEATAC                    WA
73453   3C4NJDDB5KT721278   Chrysler       COMPASS             Newark                    NJ
73454   3C4NJDDB5KT721314   Chrysler       COMPASS             TAMPA                     FL
73455   3C4NJDDB5KT721393   Chrysler       COMPASS             CHARLESTON                WV
73456   3C4NJDDB5KT721474   Chrysler       COMPASS             Houston                   TX
73457   3C4NJDDB5KT721488   Chrysler       COMPASS             San Antonio               TX
73458   3C4NJDDB5KT721572   Chrysler       COMPASS             Webster                   NY
73459   3C4NJDDB5KT721703   Chrysler       COMPASS             INDIANAPOLIS              IN
73460   3C4NJDDB5KT721815   Chrysler       COMPASS             ORLANDO                   FL
73461   3C4NJDDB5KT721829   Chrysler       COMPASS             INDIANAPOLIS              US
73462   3C4NJDDB5KT721944   Chrysler       COMPASS             CLARKSVILLE               IN
73463   3C4NJDDB5KT722091   Chrysler       COMPASS             Memphis                   TN
73464   3C4NJDDB5KT722107   Chrysler       COMPASS             Cincinnati                OH
73465   3C4NJDDB5KT722110   Chrysler       COMPASS             WEST PALM BEACH           FL
73466   3C4NJDDB5KT722155   Chrysler       COMPASS             Houston                   TX
73467   3C4NJDDB5KT722236   Chrysler       COMPASS             Burien                    WA
73468   3C4NJDDB5KT728506   Chrysler       COMPASS             San Diego                 CA
73469   3C4NJDDB5KT728554   Chrysler       COMPASS             Rockville Centr           NY
73470   3C4NJDDB5KT733303   Chrysler       COMPASS             SAN DIEGO                 CA
73471   3C4NJDDB5KT733317   Chrysler       COMPASS             CLARKSVILLE               IN
73472   3C4NJDDB5KT733429   Chrysler       COMPASS             Alcoa                     TN
73473   3C4NJDDB5KT733477   Chrysler       COMPASS             Detroit                   MI
73474   3C4NJDDB5KT733530   Chrysler       COMPASS             GRAND RAPIDS              MI
73475   3C4NJDDB5KT739537   Chrysler       COMPASS             Hendersonville            TN
73476   3C4NJDDB5KT739702   Chrysler       COMPASS             Chicago                   IL
73477   3C4NJDDB5KT740025   Chrysler       COMPASS             DALLAS                    TX
73478   3C4NJDDB5KT740039   Chrysler       COMPASS             FORT LAUDERDALE           FL
73479   3C4NJDDB5KT740090   Chrysler       COMPASS             Killeen                   TX
73480   3C4NJDDB5KT740123   Chrysler       COMPASS             Albuquerque               NM
73481   3C4NJDDB5KT740168   Chrysler       COMPASS             Memphis                   TN
73482   3C4NJDDB5KT747377   Chrysler       COMPASS             Cranberry Towns           PA
73483   3C4NJDDB5KT747881   Chrysler       COMPASS             Webster                   NY
73484   3C4NJDDB5KT752532   Chrysler       COMPASS             SALT LAKE CITY            US
73485   3C4NJDDB5KT752546   Chrysler       COMPASS             Baltimore                 MD
73486   3C4NJDDB5KT756452   Chrysler       COMPASS             Englewood                 CO
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73487   3C4NJDDB5KT756483   Chrysler       COMPASS             Lynn                      MA
73488   3C4NJDDB5KT759769   Chrysler       COMPASS             Coraopolis                PA
73489   3C4NJDDB5KT765362   Chrysler       COMPASS             Memphis                   TN
73490   3C4NJDDB5KT785398   Chrysler       COMPASS             N. Las Vegas              NV
73491   3C4NJDDB5KT785403   Chrysler       COMPASS             Austin                    TX
73492   3C4NJDDB5KT811112   Chrysler       COMPASS             Des Plaines               IL
73493   3C4NJDDB5KT821865   Chrysler       COMPASS             Slidell                   LA
73494   3C4NJDDB5LT118512   Chrysler       COMPASS             PHOENIX                   AZ
73495   3C4NJDDB5LT118526   Chrysler       COMPASS             DENVER                    CO
73496   3C4NJDDB5LT118543   Chrysler       COMPASS             SAN DIEGO                 CA
73497   3C4NJDDB5LT118557   Chrysler       COMPASS             SALT LAKE CITY            UT
73498   3C4NJDDB5LT118560   Chrysler       COMPASS             Las Vegas                 NV
73499   3C4NJDDB5LT118574   Chrysler       COMPASS             SALT LAKE CITY            US
73500   3C4NJDDB5LT118588   Chrysler       COMPASS             DENVER                    CO
73501   3C4NJDDB5LT118624   Chrysler       COMPASS             ALBUQUERQUE               NM
73502   3C4NJDDB5LT118638   Chrysler       COMPASS             DENVER                    CO
73503   3C4NJDDB5LT118641   Chrysler       COMPASS             DENVER                    CO
73504   3C4NJDDB6KT721189   Chrysler       COMPASS             LOS ANGELES               CA
73505   3C4NJDDB6KT721192   Chrysler       COMPASS             Mira Loma                 CA
73506   3C4NJDDB6KT721256   Chrysler       COMPASS             ORLANDO                   FL
73507   3C4NJDDB6KT721385   Chrysler       COMPASS             Nashville                 TN
73508   3C4NJDDB6KT721466   Chrysler       COMPASS             Massapequa                NY
73509   3C4NJDDB6KT721726   Chrysler       COMPASS             Portland                  OR
73510   3C4NJDDB6KT721810   Chrysler       COMPASS             SPRINGFIELD               VA
73511   3C4NJDDB6KT721872   Chrysler       COMPASS             Jacksonville              FL
73512   3C4NJDDB6KT721919   Chrysler       COMPASS             CLARKSVILLE               IN
73513   3C4NJDDB6KT721936   Chrysler       COMPASS             HILLSBOROUGH              NJ
73514   3C4NJDDB6KT722195   Chrysler       COMPASS             JACKSONVILLE              FL
73515   3C4NJDDB6KT722455   Chrysler       COMPASS             Colorado Spring           CO
73516   3C4NJDDB6KT722469   Chrysler       COMPASS             PHOENIX                   AZ
73517   3C4NJDDB6KT728479   Chrysler       COMPASS             San Diego                 CA
73518   3C4NJDDB6KT728594   Chrysler       COMPASS             PITTSBURGH                PA
73519   3C4NJDDB6KT732953   Chrysler       COMPASS             S. San Francisc           CA
73520   3C4NJDDB6KT732970   Chrysler       COMPASS             KENNER                    LA
73521   3C4NJDDB6KT733052   Chrysler       COMPASS             Smithtown                 NY
73522   3C4NJDDB6KT733066   Chrysler       COMPASS             Elkridge                  MD
73523   3C4NJDDB6KT733097   Chrysler       COMPASS             Teterboro                 NJ
73524   3C4NJDDB6KT733102   Chrysler       COMPASS             Coraopolis                PA
73525   3C4NJDDB6KT733164   Chrysler       COMPASS             STERLING                  VA
73526   3C4NJDDB6KT733259   Chrysler       COMPASS             Smithtown                 NY
73527   3C4NJDDB6KT733262   Chrysler       COMPASS             Baltimore                 MD
73528   3C4NJDDB6KT733343   Chrysler       COMPASS             St. Louis                 MO
73529   3C4NJDDB6KT733388   Chrysler       COMPASS             BIRMINGHAM                AL
73530   3C4NJDDB6KT733438   Chrysler       COMPASS             CHICAGO                   IL
73531   3C4NJDDB6KT733469   Chrysler       COMPASS             Omaha                     NE
73532   3C4NJDDB6KT733519   Chrysler       COMPASS             Las Vegas                 NV
73533   3C4NJDDB6KT739613   Chrysler       COMPASS             Alcoa                     TN
73534   3C4NJDDB6KT739658   Chrysler       COMPASS             CHICAGO                   IL
73535   3C4NJDDB6KT739899   Chrysler       COMPASS             Ventura                   CA
73536   3C4NJDDB6KT739921   Chrysler       COMPASS             Las Vegas                 NV
73537   3C4NJDDB6KT740065   Chrysler       COMPASS             SALT LAKE CITY            UT
73538   3C4NJDDB6KT740115   Chrysler       COMPASS             SACRAMENTO                CA
73539   3C4NJDDB6KT744696   Chrysler       COMPASS             Clarksville               IN
73540   3C4NJDDB6KT744763   Chrysler       COMPASS             CHICAGO                   IL
73541   3C4NJDDB6KT747789   Chrysler       COMPASS             PLEASANTON                CA
73542   3C4NJDDB6KT747825   Chrysler       COMPASS             ONTARIO                   CA
73543   3C4NJDDB6KT747839   Chrysler       COMPASS             SALT LAKE CITY            US
73544   3C4NJDDB6KT747842   Chrysler       COMPASS             MILWAUKEE                 WI
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73545   3C4NJDDB6KT747968   Chrysler       COMPASS             Cincinnati                OH
73546   3C4NJDDB6KT747971   Chrysler       COMPASS             HARTFORD                  CT
73547   3C4NJDDB6KT748019   Chrysler       COMPASS             Bensalem                  PA
73548   3C4NJDDB6KT756458   Chrysler       COMPASS             Hamilton                  OH
73549   3C4NJDDB6KT756542   Chrysler       COMPASS             Webster                   NY
73550   3C4NJDDB6KT759862   Chrysler       COMPASS             Smithtown                 NY
73551   3C4NJDDB6KT790349   Chrysler       COMPASS             SAN FRANCISCO             CA
73552   3C4NJDDB6KT790464   Chrysler       COMPASS             Roseville                 CA
73553   3C4NJDDB6KT790478   Chrysler       COMPASS             COSTA MESA                CA
73554   3C4NJDDB6KT811104   Chrysler       COMPASS             Chicago                   IL
73555   3C4NJDDB6KT811202   Chrysler       COMPASS             Caledonia                 WI
73556   3C4NJDDB6LT118535   Chrysler       COMPASS             GYPSUM                    CO
73557   3C4NJDDB6LT118549   Chrysler       COMPASS             SALT LAKE CITY            US
73558   3C4NJDDB6LT118597   Chrysler       COMPASS             ORLANDO                   FL
73559   3C4NJDDB6LT118602   Chrysler       COMPASS             DENVER                    CO
73560   3C4NJDDB6LT118616   Chrysler       COMPASS             DENVER                    CO
73561   3C4NJDDB6LT118633   Chrysler       COMPASS             LOS ANGELES               CA
73562   3C4NJDDB6LT118647   Chrysler       COMPASS             Denver                    CO
73563   3C4NJDDB7JT198960   Chrysler       COMPASS             CHANDLER                  AZ
73564   3C4NJDDB7KT660600   Chrysler       COMPASS             Houston                   TX
73565   3C4NJDDB7KT721508   Chrysler       COMPASS             Killeen                   TX
73566   3C4NJDDB7KT721556   Chrysler       COMPASS             SARASOTA                  FL
73567   3C4NJDDB7KT721623   Chrysler       COMPASS             SACRAMENTO                CA
73568   3C4NJDDB7KT721685   Chrysler       COMPASS             TAMPA                     FL
73569   3C4NJDDB7KT721704   Chrysler       COMPASS             BOISE                     ID
73570   3C4NJDDB7KT721850   Chrysler       COMPASS             ATLANTA                   GA
73571   3C4NJDDB7KT721864   Chrysler       COMPASS             Hapeville                 GA
73572   3C4NJDDB7KT721895   Chrysler       COMPASS             Sanford                   FL
73573   3C4NJDDB7KT721945   Chrysler       COMPASS             Bensalem                  PA
73574   3C4NJDDB7KT722061   Chrysler       COMPASS             Stockton                  CA
73575   3C4NJDDB7KT722125   Chrysler       COMPASS             AUSTIN                    TX
73576   3C4NJDDB7KT722268   Chrysler       COMPASS             DETROIT                   MI
73577   3C4NJDDB7KT722433   Chrysler       COMPASS             Omaha                     NE
73578   3C4NJDDB7KT728586   Chrysler       COMPASS             Jacksonville              FL
73579   3C4NJDDB7KT732945   Chrysler       COMPASS             Buena Park                CA
73580   3C4NJDDB7KT732959   Chrysler       COMPASS             ATLANTA                   GA
73581   3C4NJDDB7KT732962   Chrysler       COMPASS             Scottsdale                AZ
73582   3C4NJDDB7KT732976   Chrysler       COMPASS             SAN FRANCISCO             CA
73583   3C4NJDDB7KT733190   Chrysler       COMPASS             San Antonio               TX
73584   3C4NJDDB7KT733240   Chrysler       COMPASS             Tampa                     FL
73585   3C4NJDDB7KT733285   Chrysler       COMPASS             Massapequa                NY
73586   3C4NJDDB7KT733383   Chrysler       COMPASS             Pensacola                 FL
73587   3C4NJDDB7KT739507   Chrysler       COMPASS             WOODS CROSS               US
73588   3C4NJDDB7KT739698   Chrysler       COMPASS             MILWAUKEE                 WI
73589   3C4NJDDB7KT739748   Chrysler       COMPASS             Cleveland                 OH
73590   3C4NJDDB7KT739782   Chrysler       COMPASS             St. Louis                 MO
73591   3C4NJDDB7KT739989   Chrysler       COMPASS             Dallas                    TX
73592   3C4NJDDB7KT744691   Chrysler       COMPASS             MORROW                    GA
73593   3C4NJDDB7KT744707   Chrysler       COMPASS             Columbus                  OH
73594   3C4NJDDB7KT744738   Chrysler       COMPASS             Louisville                KY
73595   3C4NJDDB7KT744769   Chrysler       COMPASS             DAYTONA BEACH             FL
73596   3C4NJDDB7KT747798   Chrysler       COMPASS             Portland                  OR
73597   3C4NJDDB7KT747803   Chrysler       COMPASS             Palm Springs              CA
73598   3C4NJDDB7KT811158   Chrysler       COMPASS             Chicago                   IL
73599   3C4NJDDB7LT118527   Chrysler       COMPASS             Maple Grove               MN
73600   3C4NJDDB7LT118530   Chrysler       COMPASS             PHOENIX                   AZ
73601   3C4NJDDB7LT118544   Chrysler       COMPASS             ALBUQUERQUE               NM
73602   3C4NJDDB7LT118558   Chrysler       COMPASS             LOS ANGELES               CA
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73603   3C4NJDDB7LT118561   Chrysler       COMPASS             SALT LAKE CITY            US
73604   3C4NJDDB7LT118608   Chrysler       COMPASS             NEW BERN                  NC
73605   3C4NJDDB7LT118611   Chrysler       COMPASS             SALT LAKE CITY            UT
73606   3C4NJDDB7LT118625   Chrysler       COMPASS             DENVER                    CO
73607   3C4NJDDB8JT417599   Chrysler       COMPASS             AUSTIN                    TX
73608   3C4NJDDB8KT721162   Chrysler       COMPASS             Ventura                   CA
73609   3C4NJDDB8KT721209   Chrysler       COMPASS             Baltimore                 MD
73610   3C4NJDDB8KT721324   Chrysler       COMPASS             KENNER                    LA
73611   3C4NJDDB8KT721436   Chrysler       COMPASS             Chicago                   IL
73612   3C4NJDDB8KT721498   Chrysler       COMPASS             Houston                   TX
73613   3C4NJDDB8KT721775   Chrysler       COMPASS             Jacksonville              FL
73614   3C4NJDDB8KT721811   Chrysler       COMPASS             San Antonio               TX
73615   3C4NJDDB8KT721842   Chrysler       COMPASS             INDIANAPOLIS              IN
73616   3C4NJDDB8KT721873   Chrysler       COMPASS             ORLANDO                   FL
73617   3C4NJDDB8KT721923   Chrysler       COMPASS             Memphis                   TN
73618   3C4NJDDB8KT722103   Chrysler       COMPASS             Clearwater                FL
73619   3C4NJDDB8KT722120   Chrysler       COMPASS             DENVER                    CO
73620   3C4NJDDB8KT722182   Chrysler       COMPASS             Schaumburg                IL
73621   3C4NJDDB8KT722196   Chrysler       COMPASS             Memphis                   TN
73622   3C4NJDDB8KT722201   Chrysler       COMPASS             KNOXVILLE                 TN
73623   3C4NJDDB8KT722246   Chrysler       COMPASS             JACKSONVILLE              FL
73624   3C4NJDDB8KT722263   Chrysler       COMPASS             Hebron                    KY
73625   3C4NJDDB8KT722442   Chrysler       COMPASS             Florissant                MO
73626   3C4NJDDB8KT722473   Chrysler       COMPASS             COLUMBIA                  SC
73627   3C4NJDDB8KT732971   Chrysler       COMPASS             DENVER                    CO
73628   3C4NJDDB8KT733215   Chrysler       COMPASS             Baltimore                 MD
73629   3C4NJDDB8KT733344   Chrysler       COMPASS             STERLING                  VA
73630   3C4NJDDB8KT733425   Chrysler       COMPASS             Leesburg                  VA
73631   3C4NJDDB8KT733487   Chrysler       COMPASS             ATLANTA                   GA
73632   3C4NJDDB8KT737006   Chrysler       COMPASS             Tampa                     FL
73633   3C4NJDDB8KT739600   Chrysler       COMPASS             DENVER                    CO
73634   3C4NJDDB8KT739628   Chrysler       COMPASS             GRAND RAPIDS              MI
73635   3C4NJDDB8KT739791   Chrysler       COMPASS             Dallas                    TX
73636   3C4NJDDB8KT739838   Chrysler       COMPASS             Nashville                 TN
73637   3C4NJDDB8KT740164   Chrysler       COMPASS             SHAKOPEE                  MN
73638   3C4NJDDB8KT744683   Chrysler       COMPASS             NASHVILLE                 TN
73639   3C4NJDDB8KT744781   Chrysler       COMPASS             Tampa                     FL
73640   3C4NJDDB8KT747793   Chrysler       COMPASS             LOS ANGELES               CA
73641   3C4NJDDB8KT747891   Chrysler       COMPASS             Alcoa                     TN
73642   3C4NJDDB8KT747969   Chrysler       COMPASS             DAYTONA BEACH             FL
73643   3C4NJDDB8KT748040   Chrysler       COMPASS             Newark                    NJ
73644   3C4NJDDB8KT748068   Chrysler       COMPASS             Smithtown                 NY
73645   3C4NJDDB8KT756512   Chrysler       COMPASS             MILWAUKEE                 WI
73646   3C4NJDDB8LT118505   Chrysler       COMPASS             Lake Elsinore             CA
73647   3C4NJDDB8LT118519   Chrysler       COMPASS             ALBUQERQUE                NM
73648   3C4NJDDB8LT118522   Chrysler       COMPASS             SANTA FE                  NM
73649   3C4NJDDB8LT118536   Chrysler       COMPASS             ALBUQUERQUE               NM
73650   3C4NJDDB8LT118553   Chrysler       COMPASS             SALT LAKE CITY            UT
73651   3C4NJDDB8LT118567   Chrysler       COMPASS             SALT LAKE CITY            US
73652   3C4NJDDB8LT118570   Chrysler       COMPASS             ROY                       UT
73653   3C4NJDDB8LT118584   Chrysler       COMPASS             BLOOMINGTON               IL
73654   3C4NJDDB8LT118598   Chrysler       COMPASS             KENNER                    LA
73655   3C4NJDDB8LT118603   Chrysler       COMPASS             GYPSUM                    CO
73656   3C4NJDDB8LT118620   Chrysler       COMPASS             ALBUQUERQUE               NM
73657   3C4NJDDB8LT118634   Chrysler       COMPASS             GYPSUM                    CO
73658   3C4NJDDB9KT721204   Chrysler       COMPASS             LAS VEGAS                 NV
73659   3C4NJDDB9KT721235   Chrysler       COMPASS             UNION CITY                GA
73660   3C4NJDDB9KT721302   Chrysler       COMPASS             ORLANDO                   FL
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73661   3C4NJDDB9KT721624   Chrysler       COMPASS             Florissant                MO
73662   3C4NJDDB9KT721770   Chrysler       COMPASS             Atlanta                   GA
73663   3C4NJDDB9KT721798   Chrysler       COMPASS             SARASOTA                  FL
73664   3C4NJDDB9KT721865   Chrysler       COMPASS             FORT LAUDERDALE           FL
73665   3C4NJDDB9KT721977   Chrysler       COMPASS             Warminster                PA
73666   3C4NJDDB9KT722188   Chrysler       COMPASS             Milwaukee                 WI
73667   3C4NJDDB9KT722319   Chrysler       COMPASS             Kansas City               MO
73668   3C4NJDDB9KT722384   Chrysler       COMPASS             TAMPA                     FL
73669   3C4NJDDB9KT722417   Chrysler       COMPASS             CHICAGO                   IL
73670   3C4NJDDB9KT732929   Chrysler       COMPASS             SAN DIEGO                 CA
73671   3C4NJDDB9KT732932   Chrysler       COMPASS             San Diego                 CA
73672   3C4NJDDB9KT733028   Chrysler       COMPASS             Hebron                    KY
73673   3C4NJDDB9KT733160   Chrysler       COMPASS             Cincinnati                OH
73674   3C4NJDDB9KT733210   Chrysler       COMPASS             Atlanta                   GA
73675   3C4NJDDB9KT733367   Chrysler       COMPASS             ATLANTA                   GA
73676   3C4NJDDB9KT733448   Chrysler       COMPASS             PENSACOLA                 FL
73677   3C4NJDDB9KT739489   Chrysler       COMPASS             Nashville                 TN
73678   3C4NJDDB9KT739573   Chrysler       COMPASS             Hendersonville            TN
73679   3C4NJDDB9KT739590   Chrysler       COMPASS             Hendersonville            TN
73680   3C4NJDDB9KT739718   Chrysler       COMPASS             PITTSBURGH                PA
73681   3C4NJDDB9KT739752   Chrysler       COMPASS             Clearwater                FL
73682   3C4NJDDB9KT739864   Chrysler       COMPASS             Houston                   TX
73683   3C4NJDDB9KT739881   Chrysler       COMPASS             Stockton                  CA
73684   3C4NJDDB9KT739931   Chrysler       COMPASS             Dallas                    TX
73685   3C4NJDDB9KT740044   Chrysler       COMPASS             Dallas                    TX
73686   3C4NJDDB9KT740061   Chrysler       COMPASS             Austin                    TX
73687   3C4NJDDB9KT744725   Chrysler       COMPASS             Chicago                   IL
73688   3C4NJDDB9KT744742   Chrysler       COMPASS             EULESS                    TX
73689   3C4NJDDB9KT747740   Chrysler       COMPASS             Scottsdale                AZ
73690   3C4NJDDB9KT747866   Chrysler       COMPASS             Phoenix                   AZ
73691   3C4NJDDB9KT747978   Chrysler       COMPASS             Cincinnati                OH
73692   3C4NJDDB9KT747995   Chrysler       COMPASS             Coraopolis                PA
73693   3C4NJDDB9KT756518   Chrysler       COMPASS             Rockville Centr           NY
73694   3C4NJDDB9KT765364   Chrysler       COMPASS             Houston                   TX
73695   3C4NJDDB9KT780267   Chrysler       COMPASS             Burien                    WA
73696   3C4NJDDB9KT790376   Chrysler       COMPASS             Riverside                 CA
73697   3C4NJDDB9KT811226   Chrysler       COMPASS             CHICAGO                   IL
73698   3C4NJDDB9LT118514   Chrysler       COMPASS             ONTARIO                   CA
73699   3C4NJDDB9LT118531   Chrysler       COMPASS             ALBUQERQUE                NM
73700   3C4NJDDB9LT118545   Chrysler       COMPASS             ALBUQUERQUE               NM
73701   3C4NJDDB9LT118559   Chrysler       COMPASS             SALT LAKE CITY            US
73702   3C4NJDDB9LT118576   Chrysler       COMPASS             DENVER                    CO
73703   3C4NJDDB9LT118609   Chrysler       COMPASS             GYPSUM                    CO
73704   3C4NJDDB9LT118626   Chrysler       COMPASS             DENVER                    CO
73705   3C4NJDDBXJT441919   Chrysler       COMPASS             DARLINGTON                SC
73706   3C4NJDDBXKT721194   Chrysler       COMPASS             TAMPA                     FL
73707   3C4NJDDBXKT721275   Chrysler       COMPASS             Clearwater                FL
73708   3C4NJDDBXKT721342   Chrysler       COMPASS             Columbus                  OH
73709   3C4NJDDBXKT721390   Chrysler       COMPASS             CHICAGO                   IL
73710   3C4NJDDBXKT721440   Chrysler       COMPASS             Louisville                KY
73711   3C4NJDDBXKT721499   Chrysler       COMPASS             KANSAS CITY               MO
73712   3C4NJDDBXKT721681   Chrysler       COMPASS             Memphis                   TN
73713   3C4NJDDBXKT721714   Chrysler       COMPASS             Lynn                      MA
73714   3C4NJDDBXKT721745   Chrysler       COMPASS             FORT MYERS                FL
73715   3C4NJDDBXKT721762   Chrysler       COMPASS             Austin                    TX
73716   3C4NJDDBXKT721857   Chrysler       COMPASS             PHOENIX                   AZ
73717   3C4NJDDBXKT721874   Chrysler       COMPASS             Harvey                    LA
73718   3C4NJDDBXKT721888   Chrysler       COMPASS             Slidell                   LA
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73719   3C4NJDDBXKT722121   Chrysler       COMPASS             Albuquerque               NM
73720   3C4NJDDBXKT722183   Chrysler       COMPASS             LAS VEGAS                 NV
73721   3C4NJDDBXKT722250   Chrysler       COMPASS             KNOXVILLE                 TN
73722   3C4NJDDBXKT722488   Chrysler       COMPASS             LOS ANGELES               CA
73723   3C4NJDDBXKT728548   Chrysler       COMPASS             MEMPHIS                   TN
73724   3C4NJDDBXKT728565   Chrysler       COMPASS             Chicago                   IL
73725   3C4NJDDBXKT732924   Chrysler       COMPASS             Stockton                  CA
73726   3C4NJDDBXKT733006   Chrysler       COMPASS             Manheim                   PA
73727   3C4NJDDBXKT733071   Chrysler       COMPASS             MCALLEN                   TX
73728   3C4NJDDBXKT733085   Chrysler       COMPASS             Rockville Centr           NY
73729   3C4NJDDBXKT733135   Chrysler       COMPASS             Chicago                   IL
73730   3C4NJDDBXKT733149   Chrysler       COMPASS             SPRINGFIELD               VA
73731   3C4NJDDBXKT733166   Chrysler       COMPASS             SPRINGFIELD               VA
73732   3C4NJDDBXKT733247   Chrysler       COMPASS             Smithtown                 NY
73733   3C4NJDDBXKT733393   Chrysler       COMPASS             Scottsdale                AZ
73734   3C4NJDDBXKT733457   Chrysler       COMPASS             TAMPA                     FL
73735   3C4NJDDBXKT739565   Chrysler       COMPASS             DETROIT                   MI
73736   3C4NJDDBXKT739646   Chrysler       COMPASS             DES MOINES                IA
73737   3C4NJDDBXKT739937   Chrysler       COMPASS             Dallas                    TX
73738   3C4NJDDBXKT739985   Chrysler       COMPASS             Dallas                    TX
73739   3C4NJDDBXKT740084   Chrysler       COMPASS             SEATTLE                   WA
73740   3C4NJDDBXKT740103   Chrysler       COMPASS             Warr Acres                OK
73741   3C4NJDDBXKT747861   Chrysler       COMPASS             Riverside                 CA
73742   3C4NJDDBXKT747889   Chrysler       COMPASS             EGG HARBOR TOWN           NJ
73743   3C4NJDDBXKT747939   Chrysler       COMPASS             FORT MYERS                FL
73744   3C4NJDDBXKT748072   Chrysler       COMPASS             TAMPA                     FL
73745   3C4NJDDBXKT756530   Chrysler       COMPASS             Philadelphia              PA
73746   3C4NJDDBXKT790323   Chrysler       COMPASS             Las Vegas                 NV
73747   3C4NJDDBXLT118506   Chrysler       COMPASS             BURBANK                   CA
73748   3C4NJDDBXLT118523   Chrysler       COMPASS             TUCSON                    AZ
73749   3C4NJDDBXLT118540   Chrysler       COMPASS             ALBUQERQUE                NM
73750   3C4NJDDBXLT118554   Chrysler       COMPASS             SALT LAKE CITY            US
73751   3C4NJDDBXLT118568   Chrysler       COMPASS             PHOENIX                   AZ
73752   3C4NJDDBXLT118571   Chrysler       COMPASS             SALT LAKE CITY            UT
73753   3C4NJDDBXLT118599   Chrysler       COMPASS             DENVER                    CO
73754   3C4NJDDBXLT118618   Chrysler       COMPASS             DES MOINES                IA
73755   3C4NJDDBXLT118621   Chrysler       COMPASS             Atlanta                   GA
73756   3C4NJDDBXLT118635   Chrysler       COMPASS             DENVER                    CO
73757   3C4PDCAB1JT182929   Chrysler       JOURNEY             CHICAGO                   IL
73758   3C4PDCAB1JT302583   Chrysler       JOURNEY             Baltimore                 MD
73759   3C4PDCAB2JT228137   Chrysler       JOURNEY             CHICAGO                   IL
73760   3C4PDCAB2KT746573   Chrysler       JOURNEY             Dallas                    TX
73761   3C4PDCAB3JT294776   Chrysler       JOURNEY             RONKONKOMA                NY
73762   3C4PDCAB4HT517871   Chrysler       JOURNEY             Lake Elsinore             CA
73763   3C4PDCAB4JT508951   Chrysler       JOURNEY             Detroit                   MI
73764   3C4PDCAB5HT673711   Chrysler       JOURNEY             Miami                     FL
73765   3C4PDCAB7JT421674   Chrysler       JOURNEY             SEATAC                    WA
73766   3C4PDCAB7JT524447   Chrysler       JOURNEY             GRAND RAPIDS              MI
73767   3C4PDCAB8JT243144   Chrysler       JOURNEY             North Dighton             MA
73768   3C4PDCAB8JT273163   Chrysler       JOURNEY             CHICAGO                   IL
73769   3C4PDCAB8JT427001   Chrysler       JOURNEY             Lexington                 KY
73770   3C4PDCAB9HT637956   Chrysler       JOURNEY             Santa Clara               CA
73771   3C4PDCAB9JT384885   Chrysler       JOURNEY             SANTA ANA                 CA
73772   3C4PDCABXJT427694   Chrysler       JOURNEY             JACKSON                   MS
73773   3C4PDCBB1JT243775   Chrysler       JOURNEY             DENVER                    CO
73774   3C4PDCBB2GT104781   Chrysler       JOURNEY             SOUTHWEST DEALER D        TX
73775   3C4PDCBB2KT816118   Chrysler       JOURNEY             DALLAS                    TX
73776   3C4PDCBB6JT171004   Chrysler       JOURNEY             PHOENIX                   AZ
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73777   3C4PDCBB8JT184398   Chrysler       JOURNEY             IRVING                    TX
73778   3C4PDCBG2HT589212   Chrysler       JOURNEY             Atlanta                   GA
73779   3C4PDCBG2HT589789   Chrysler       JOURNEY             Kansas City               MO
73780   3C4PDCBG5GT152836   Chrysler       JOURNEY             Hayward                   CA
73781   3C4PDCEG0JT464047   Chrysler       JOURNEY             SACRAMENTO                CA
73782   3C4PDCEG2JT158306   Chrysler       JOURNEY             Dallas                    TX
73783   3C4PDCEG2JT379839   Chrysler       JOURNEY             MIDLAND                   TX
73784   3C4PDCEG2JT439263   Chrysler       JOURNEY             DAYTONA BEACH             FL
73785   3C4PDCEG3HT563875   Chrysler       JOURNEY             Irving                    TX
73786   3C4PDCEG3JT463930   Chrysler       JOURNEY             DANIA BEACH               FL
73787   3C4PDCEG4GT212388   Chrysler       JOURNEY             Dallas                    TX
73788   3C4PDCEG5JT464061   Chrysler       JOURNEY             CHANDLER                  AZ
73789   3C4PDCEG6JT472279   Chrysler       JOURNEY             DANIA BEACH               FL
73790   3C4PDCEG7JT172038   Chrysler       JOURNEY             DALLAS                    TX
73791   3C4PDCEG9JT352413   Chrysler       JOURNEY             SAN DIEGO                 CA
73792   3C4PDCEG9JT352511   Chrysler       JOURNEY             PHOENIX                   AZ
73793   3C4PDCEG9JT379868   Chrysler       JOURNEY             TAMPA                     FL
73794   3C4PDCEG9JT380776   Chrysler       JOURNEY             Marietta                  GA
73795   3C4PDCEGXJT158134   Chrysler       JOURNEY             DFW AIRPORT               TX
73796   3C4PDCGB9HT517131   Chrysler       JOURNEY             BURBANK                   CA
73797   3C4PDCGG0JT378850   Chrysler       JOURNEY             STERLING                  VA
73798   3C4PDCGG0KT686456   Chrysler       JOURNEY             SAN DIEGO                 CA
73799   3C4PDCGG0KT693634   Chrysler       JOURNEY             SALT LAKE CITY            UT
73800   3C4PDCGG0KT700596   Chrysler       JOURNEY             TAMPA                     FL
73801   3C4PDCGG0KT707306   Chrysler       JOURNEY             NASHVILLE                 TN
73802   3C4PDCGG0KT716684   Chrysler       JOURNEY             BURBANK                   CA
73803   3C4PDCGG0KT716748   Chrysler       JOURNEY             Bridgeton                 MO
73804   3C4PDCGG0KT727586   Chrysler       JOURNEY             SOUTHEAST DST OFFC        OK
73805   3C4PDCGG0KT731444   Chrysler       JOURNEY             LAUREL                    MD
73806   3C4PDCGG1HT536090   Chrysler       JOURNEY             SAN DIEGO                 CA
73807   3C4PDCGG1JT408955   Chrysler       JOURNEY             Scottsdale                AZ
73808   3C4PDCGG1KT693609   Chrysler       JOURNEY             Portland                  OR
73809   3C4PDCGG1KT700560   Chrysler       JOURNEY             KNOXVILLE                 TN
73810   3C4PDCGG1KT700588   Chrysler       JOURNEY             MILWAUKEE                 WI
73811   3C4PDCGG1KT716659   Chrysler       JOURNEY             Schaumburg                IL
73812   3C4PDCGG1KT716662   Chrysler       JOURNEY             EULESS                    TX
73813   3C4PDCGG1KT716676   Chrysler       JOURNEY             Houston                   TX
73814   3C4PDCGG1KT716743   Chrysler       JOURNEY             Lake Elsinore             CA
73815   3C4PDCGG1KT731436   Chrysler       JOURNEY             ORLANDO                   FL
73816   3C4PDCGG2JT215827   Chrysler       JOURNEY             DANIA BEACH               FL
73817   3C4PDCGG2KT686443   Chrysler       JOURNEY             Scottsdale                AZ
73818   3C4PDCGG2KT693599   Chrysler       JOURNEY             ONTARIO                   CA
73819   3C4PDCGG2KT700566   Chrysler       JOURNEY             ORLANDO                   FL
73820   3C4PDCGG2KT700597   Chrysler       JOURNEY             TAMPA                     FL
73821   3C4PDCGG2KT716654   Chrysler       JOURNEY             Jacksonville              FL
73822   3C4PDCGG2KT716704   Chrysler       JOURNEY             Killeen                   TX
73823   3C4PDCGG2KT727590   Chrysler       JOURNEY             WEST PALM BEACH           FL
73824   3C4PDCGG3JT156920   Chrysler       JOURNEY             Clearwater                FL
73825   3C4PDCGG3KT693627   Chrysler       JOURNEY             SAN DIEGO                 CA
73826   3C4PDCGG3KT716713   Chrysler       JOURNEY             SOUTHEAST DST OFFC        OK
73827   3C4PDCGG3KT727579   Chrysler       JOURNEY             ORLANDO                   FL
73828   3C4PDCGG3KT731468   Chrysler       JOURNEY             Massapequa                NY
73829   3C4PDCGG4JT378768   Chrysler       JOURNEY             SARASOTA                  FL
73830   3C4PDCGG4KT686458   Chrysler       JOURNEY             Live Oak                  TX
73831   3C4PDCGG4KT693653   Chrysler       JOURNEY             ST Paul                   MN
73832   3C4PDCGG4KT700536   Chrysler       JOURNEY             SOUTH BEND                IN
73833   3C4PDCGG4KT700567   Chrysler       JOURNEY             Winter Park               FL
73834   3C4PDCGG4KT716672   Chrysler       JOURNEY             Houston                   TX
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73835   3C4PDCGG4KT716705   Chrysler       JOURNEY             Stone Mountain            GA
73836   3C4PDCGG4KT716719   Chrysler       JOURNEY             MEMPHIS                   TN
73837   3C4PDCGG4KT716753   Chrysler       JOURNEY             Louisville                KY
73838   3C4PDCGG5JT379430   Chrysler       JOURNEY             Santa Clara               CA
73839   3C4PDCGG5KT686436   Chrysler       JOURNEY             LAS VEGAS                 NV
73840   3C4PDCGG5KT693614   Chrysler       JOURNEY             PHOENIX                   AZ
73841   3C4PDCGG5KT693659   Chrysler       JOURNEY             FT LAUDERDALE             FL
73842   3C4PDCGG5KT716664   Chrysler       JOURNEY             Orlando                   FL
73843   3C4PDCGG5KT731438   Chrysler       JOURNEY             TAMPA                     FL
73844   3C4PDCGG5KT731469   Chrysler       JOURNEY             MILWAUKEE                 WI
73845   3C4PDCGG6JT156751   Chrysler       JOURNEY             Elkridge                  MD
73846   3C4PDCGG6KT686462   Chrysler       JOURNEY             Bordentown                NJ
73847   3C4PDCGG6KT693606   Chrysler       JOURNEY             MEDINA                    OH
73848   3C4PDCGG6KT693637   Chrysler       JOURNEY             Lake Elsinore             CA
73849   3C4PDCGG6KT700537   Chrysler       JOURNEY             ATLANTA                   GA
73850   3C4PDCGG6KT700554   Chrysler       JOURNEY             Norfolk                   VA
73851   3C4PDCGG6KT707309   Chrysler       JOURNEY             Atlanta                   GA
73852   3C4PDCGG6KT716690   Chrysler       JOURNEY             FORT MYERS                FL
73853   3C4PDCGG7HT555517   Chrysler       JOURNEY             Phoenix                   AZ
73854   3C4PDCGG7JT378523   Chrysler       JOURNEY             DAYTONA BEACH             FL
73855   3C4PDCGG7JT379641   Chrysler       JOURNEY             BURBANK                   CA
73856   3C4PDCGG7KT686437   Chrysler       JOURNEY             LOS ANGELES               CA
73857   3C4PDCGG7KT693629   Chrysler       JOURNEY             PALM SPRINGS              CA
73858   3C4PDCGG7KT700563   Chrysler       JOURNEY             Hamilton                  OH
73859   3C4PDCGG7KT700580   Chrysler       JOURNEY             TAMPA                     FL
73860   3C4PDCGG7KT700613   Chrysler       JOURNEY             Chicago                   IL
73861   3C4PDCGG7KT707304   Chrysler       JOURNEY             TAMPA                     FL
73862   3C4PDCGG7KT716665   Chrysler       JOURNEY             FORT MYERS                FL
73863   3C4PDCGG7KT716729   Chrysler       JOURNEY             LUBBOCK                   TX
73864   3C4PDCGG7KT727584   Chrysler       JOURNEY             Live Oak                  TX
73865   3C4PDCGG8KT707313   Chrysler       JOURNEY             ORLANDO                   FL
73866   3C4PDCGG8KT716688   Chrysler       JOURNEY             FORT MYERS                FL
73867   3C4PDCGG8KT731434   Chrysler       JOURNEY             North Dighton             MA
73868   3C4PDCGG8KT731465   Chrysler       JOURNEY             MONROE                    LA
73869   3C4PDCGG8KT731479   Chrysler       JOURNEY             BOSTON                    MA
73870   3C4PDCGG8KT731482   Chrysler       JOURNEY             Winston‐Salem             NC
73871   3C4PDCGG9KT686438   Chrysler       JOURNEY             Winston‐Salem             NC
73872   3C4PDCGG9KT686441   Chrysler       JOURNEY             Costa Mesa                CA
73873   3C4PDCGG9KT707305   Chrysler       JOURNEY             Avoca                     PA
73874   3C4PDCGG9KT716666   Chrysler       JOURNEY             Pensacola                 FL
73875   3C4PDCGG9KT716683   Chrysler       JOURNEY             HARTFORD                  CT
73876   3C4PDCGG9KT716733   Chrysler       JOURNEY             Manheim                   PA
73877   3C4PDCGG9KT716750   Chrysler       JOURNEY             MILWAUKEE                 WI
73878   3C4PDCGG9KT727585   Chrysler       JOURNEY             Atlanta                   GA
73879   3C4PDCGG9KT731457   Chrysler       JOURNEY             DANIA BEACH               FL
73880   3C4PDCGG9KT731460   Chrysler       JOURNEY             San Antonio               TX
73881   3C4PDCGG9KT731488   Chrysler       JOURNEY             Houston                   TX
73882   3C4PDCGGXKT700539   Chrysler       JOURNEY             Tampa                     FL
73883   3C4PDCGGXKT700556   Chrysler       JOURNEY             UNION CITY                GA
73884   3C4PDCGGXKT700623   Chrysler       JOURNEY             Atlanta                   GA
73885   3C4PDCGGXKT707300   Chrysler       JOURNEY             Milwaukee                 WI
73886   3C4PDCGGXKT707314   Chrysler       JOURNEY             Live Oak                  TX
73887   3C4PDCGGXKT716725   Chrysler       JOURNEY             Cleveland                 OH
73888   3C4PDDAG6JT389527   Chrysler       JOURNEY             TAMPA                     FL
73889   3C4PDDBG4HT608350   Chrysler       JOURNEY             Chicago                   IL
73890   3C4PDDEG0HT685700   Chrysler       JOURNEY             Irving                    TX
73891   3C4PDDEG7JT463192   Chrysler       JOURNEY             SAN ANTONIO               TX
73892   3C4PDDEG9HT616018   Chrysler       JOURNEY             LAS VEGAS                 NV
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73893   3C4PDDEG9JT187453   Chrysler       JOURNEY             IRVING                    TX
73894   3C4PDDGG0KT701690   Chrysler       JOURNEY             Smithtown                 NY
73895   3C4PDDGG0KT701737   Chrysler       JOURNEY             Lake Elsinore             CA
73896   3C4PDDGG0KT708235   Chrysler       JOURNEY             Riverside                 CA
73897   3C4PDDGG0KT708266   Chrysler       JOURNEY             Las Vegas                 NV
73898   3C4PDDGG0KT708283   Chrysler       JOURNEY             Greensboro                NC
73899   3C4PDDGG0KT708316   Chrysler       JOURNEY             Bensalem                  PA
73900   3C4PDDGG1JT370858   Chrysler       JOURNEY             WEST PALM BEACH           FL
73901   3C4PDDGG1JT387188   Chrysler       JOURNEY             AUSTIN                    TX
73902   3C4PDDGG1JT430993   Chrysler       JOURNEY             Miami                     FL
73903   3C4PDDGG1JT449995   Chrysler       JOURNEY             DANIA BEACH               FL
73904   3C4PDDGG1KT694569   Chrysler       JOURNEY             Hapeville                 GA
73905   3C4PDDGG1KT694572   Chrysler       JOURNEY             Johnston                  RI
73906   3C4PDDGG1KT694586   Chrysler       JOURNEY             Houston                   TX
73907   3C4PDDGG1KT701696   Chrysler       JOURNEY             BOSTON                    MA
73908   3C4PDDGG1KT701701   Chrysler       JOURNEY             Rockville Centr           NY
73909   3C4PDDGG1KT701715   Chrysler       JOURNEY             MILWAUKEE                 WI
73910   3C4PDDGG1KT701732   Chrysler       JOURNEY             Phoenix                   AZ
73911   3C4PDDGG1KT708244   Chrysler       JOURNEY             Riverside                 CA
73912   3C4PDDGG1KT708261   Chrysler       JOURNEY             LOS ANGELES               CA
73913   3C4PDDGG1KT708308   Chrysler       JOURNEY             ST Paul                   MN
73914   3C4PDDGG1KT708311   Chrysler       JOURNEY             Greensboro                NC
73915   3C4PDDGG2JT335939   Chrysler       JOURNEY             ORLANDO                   FL
73916   3C4PDDGG2JT387975   Chrysler       JOURNEY             HANOVER                   MD
73917   3C4PDDGG2JT449276   Chrysler       JOURNEY             CHICAGO                   IL
73918   3C4PDDGG2JT512702   Chrysler       JOURNEY             ATLANTA                   GA
73919   3C4PDDGG2KT701707   Chrysler       JOURNEY             Houston                   TX
73920   3C4PDDGG2KT708236   Chrysler       JOURNEY             LAS VEGAS                 NV
73921   3C4PDDGG2KT708267   Chrysler       JOURNEY             Fontana                   CA
73922   3C4PDDGG2KT708284   Chrysler       JOURNEY             Massapequa                NY
73923   3C4PDDGG2KT708317   Chrysler       JOURNEY             PORTLAND                  ME
73924   3C4PDDGG3KT701702   Chrysler       JOURNEY             Hendersonville            TN
73925   3C4PDDGG3KT701733   Chrysler       JOURNEY             Winston‐Salem             NC
73926   3C4PDDGG3KT708276   Chrysler       JOURNEY             Charlotte                 NC
73927   3C4PDDGG3KT708312   Chrysler       JOURNEY             San Antonio               TX
73928   3C4PDDGG4JT430518   Chrysler       JOURNEY             ORLANDO                   FL
73929   3C4PDDGG4KT694565   Chrysler       JOURNEY             Atlanta                   GA
73930   3C4PDDGG4KT708240   Chrysler       JOURNEY             Woodhaven                 MI
73931   3C4PDDGG4KT708271   Chrysler       JOURNEY             Little Rock               AR
73932   3C4PDDGG4KT708304   Chrysler       JOURNEY             Marietta                  GA
73933   3C4PDDGG5JT364576   Chrysler       JOURNEY             BURBANK                   CA
73934   3C4PDDGG5JT386738   Chrysler       JOURNEY             SOUTHWEST DEALER D        TX
73935   3C4PDDGG5KT694574   Chrysler       JOURNEY             Estero                    FL
73936   3C4PDDGG5KT701684   Chrysler       JOURNEY             Hartford                  CT
73937   3C4PDDGG5KT701734   Chrysler       JOURNEY             Houston                   TX
73938   3C4PDDGG6KT687357   Chrysler       JOURNEY             Lynn                      MA
73939   3C4PDDGG6KT687360   Chrysler       JOURNEY             FORT MYERS                FL
73940   3C4PDDGG6KT701693   Chrysler       JOURNEY             Morrisville               NC
73941   3C4PDDGG6KT708241   Chrysler       JOURNEY             Ventura                   CA
73942   3C4PDDGG6KT708255   Chrysler       JOURNEY             KNOXVILLE                 TN
73943   3C4PDDGG6KT708305   Chrysler       JOURNEY             Winston‐Salem             NC
73944   3C4PDDGG7JT386689   Chrysler       JOURNEY             CHICAGO                   IL
73945   3C4PDDGG7JT449273   Chrysler       JOURNEY             SCHILLER PARK             IL
73946   3C4PDDGG7KT694575   Chrysler       JOURNEY             Johnston                  RI
73947   3C4PDDGG7KT701699   Chrysler       JOURNEY             Johnston                  RI
73948   3C4PDDGG7KT701718   Chrysler       JOURNEY             SALT LAKE CITY            US
73949   3C4PDDGG7KT701721   Chrysler       JOURNEY             DENVER                    CO
73950   3C4PDDGG7KT708233   Chrysler       JOURNEY             Santa Clara               CA
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73951   3C4PDDGG7KT708250   Chrysler       JOURNEY             Riverside                 CA
73952   3C4PDDGG7KT708264   Chrysler       JOURNEY             San Diego                 CA
73953   3C4PDDGG7KT708314   Chrysler       JOURNEY             Hamilton                  OH
73954   3C4PDDGG8JT387527   Chrysler       JOURNEY             SAN DIEGO                 CA
73955   3C4PDDGG8KT687361   Chrysler       JOURNEY             Rockville Centr           NY
73956   3C4PDDGG8KT694567   Chrysler       JOURNEY             Bridgeton                 MO
73957   3C4PDDGG8KT694570   Chrysler       JOURNEY             Charlotte                 NC
73958   3C4PDDGG8KT694584   Chrysler       JOURNEY             Rock Hill                 SC
73959   3C4PDDGG8KT701727   Chrysler       JOURNEY             Charlotte                 NC
73960   3C4PDDGG8KT701730   Chrysler       JOURNEY             Warr Acres                OK
73961   3C4PDDGG8KT708239   Chrysler       JOURNEY             SAN DIEGO                 CA
73962   3C4PDDGG8KT708242   Chrysler       JOURNEY             Lake Elsinore             CA
73963   3C4PDDGG8KT708256   Chrysler       JOURNEY             San Diego                 CA
73964   3C4PDDGG8KT708290   Chrysler       JOURNEY             Houston                   TX
73965   3C4PDDGG9JT516875   Chrysler       JOURNEY             DANIA BEACH               FL
73966   3C4PDDGG9JT523714   Chrysler       JOURNEY             PHOENIX                   AZ
73967   3C4PDDGG9KT701686   Chrysler       JOURNEY             Winston‐Salem             NC
73968   3C4PDDGG9KT708251   Chrysler       JOURNEY             Miami                     FL
73969   3C4PDDGG9KT708279   Chrysler       JOURNEY             Johnston                  RI
73970   3C4PDDGG9KT708282   Chrysler       JOURNEY             Hartford                  CT
73971   3C4PDDGG9KT708301   Chrysler       JOURNEY             KNOXVILLE                 TN
73972   3C4PDDGGXJT386489   Chrysler       JOURNEY             AUSTIN                    TX
73973   3C4PDDGGXJT449381   Chrysler       JOURNEY             Fort Lauderdale           FL
73974   3C4PDDGGXJT467136   Chrysler       JOURNEY             DAYTONA BEACH             FL
73975   3C4PDDGGXKT694568   Chrysler       JOURNEY             Webster                   NY
73976   3C4PDDGGXKT694585   Chrysler       JOURNEY             Mira Loma                 CA
73977   3C4PDDGGXKT701728   Chrysler       JOURNEY             Boise                     ID
73978   3C4PDDGGXKT708291   Chrysler       JOURNEY             Tolleson                  AZ
73979   3C4PDDGGXKT771391   Chrysler       JOURNEY             FORT LAUDERDALE           FL
73980   3C6UR5DJ5KG699896   Chrysler       RAM                 PHOENIX                   AZ
73981   3CZRM3H30FG717153   Honda          CRV                 OAKLAND                   CA
73982   3CZRM3H31GG701674   Honda          CRV                 Riverside                 CA
73983   3CZRM3H33GG700624   Honda          CRV                 Schaumburg                IL
73984   3CZRM3H3XGG705223   Honda          ACCORD              STERLING                  VA
73985   3CZRM3H3XGG705481   Honda          CRV                 BURBANK                   CA
73986   3CZRM3H54GG706711   Honda          CRV                 DALLAS                    TX
73987   3CZRM3H57GG702555   Honda          CRV                 BURBANK                   CA
73988   3CZRU5H35JM709636   Honda          HR‐V                Estero                    FL
73989   3CZRU5H36JM708673   Honda          HR‐V                Sanford                   FL
73990   3CZRU5H3XJM722544   Honda          HR‐V                ORLANDO                   FL
73991   3CZRU5H51GM733121   Honda          HR‐V                NORTH PAC                 CA
73992   3CZRU5H52JG701249   Honda          HR‐V                Midland                   TX
73993   3CZRU5H56HG704956   Honda          HR‐V                Baton Rouge               LA
73994   3CZRU5H71GM729331   Honda          HR‐V                CHANDLER                  AZ
73995   3CZRU5H76GM730992   Honda          HR‐V                BURBANK                   CA
73996   3CZRU5H76HM709917   Honda          HR‐V                Riverside                 CA
73997   3FA6P0CD1KR139891   Ford           FUSION              DALLAS                    TX
73998   3FA6P0CD1KR222804   Ford           FUSION              JACKSONVILLE              FL
73999   3FA6P0CD2KR139284   Ford           FORD                CHICAGO                   IL
74000   3FA6P0CD5KR222711   Ford           FUSION              Statesville               NC
74001   3FA6P0CDXKR151117   Ford           FORD                LOS ANGELES               CA
74002   3FA6P0D90JR225377   Ford           FUSION              SAINT PAUL                MN
74003   3FA6P0D91JR219197   Ford           FUSION              Orlando                   FL
74004   3FA6P0D91JR233715   Ford           FUSION              FT. LAUDERDALE            FL
74005   3FA6P0D91JR247498   Ford           FUSION              COLLEGE PARK              GA
74006   3FA6P0D91JR247534   Ford           FUSION              INDIANAPOLIS              IN
74007   3FA6P0D91KR187255   Ford           FUSION              AUSTIN                    TX
74008   3FA6P0D92JR218947   Ford           FUSION              HOUSTON                   TX
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74009   3FA6P0D92JR246845   Ford         FUSION              SAINT PAUL                MN
74010   3FA6P0D92JR247512   Ford         FUSION              Manheim                   PA
74011   3FA6P0D93JR187949   Ford         FUSION              Hapeville                 GA
74012   3FA6P0D93JR247079   Ford         FUSION              LOS ANGELES               CA
74013   3FA6P0D94JR155138   Ford         FUSION              TAMPA                     FL
74014   3FA6P0D94JR212292   Ford         FUSION              Davie                     FL
74015   3FA6P0D94JR247088   Ford         FUSION              SAN DIEGO                 CA
74016   3FA6P0D94JR247544   Ford         FUSION              PHILADELPHIA              PA
74017   3FA6P0D95JR151258   Ford         FUSION              Live Oak                  TX
74018   3FA6P0D95JR154936   Ford         FUSION              Detroit                   MI
74019   3FA6P0D95JR233765   Ford         FUSION              STERLING                  VA
74020   3FA6P0D95JR247018   Ford         FUSION              LOS ANGELES               CA
74021   3FA6P0D96JR131391   Ford         FUSION              SAN DIEGO                 CA
74022   3FA6P0D96JR155139   Ford         FUSION              SAN DIEGO                 CA
74023   3FA6P0D96JR168232   Ford         FUSION              BURBANK                   CA
74024   3FA6P0D96JR241602   Ford         FUSION              PHILADELPHIA              PA
74025   3FA6P0D96JR246900   Ford         FUSION              SAN DIEGO                 CA
74026   3FA6P0D96JR246959   Ford         FUSION              SAN DIEGO                 CA
74027   3FA6P0D96JR247075   Ford         FUSION              SANTA ANA                 CA
74028   3FA6P0D97JR155053   Ford         FUSION              MORROW                    GA
74029   3FA6P0D97JR268825   Ford         FUSION              TAMPA                     FL
74030   3FA6P0D98JR246753   Ford         FUSION              Manheim                   PA
74031   3FA6P0D98JR246963   Ford         FUSION              OAKLAND                   CA
74032   3FA6P0D98JR247224   Ford         FUSION              ALBANY                    N
74033   3FA6P0D99JR181752   Ford         FUSION              TRACY                     CA
74034   3FA6P0D99JR233798   Ford         FUSION              BOSTON                    MA
74035   3FA6P0D9XJR233647   Ford         FUSION              North Dighton             MA
74036   3FA6P0D9XJR233681   Ford         FUSION              Greensboro                NC
74037   3FA6P0D9XJR268821   Ford         FUSION              CHARLOTTE                 NC
74038   3FA6P0G70HR275846   Ford         FUSION              SAN DIEGO                 US
74039   3FA6P0G72HR241553   Ford         FUSION              Austin                    TX
74040   3FA6P0G78HR162632   Ford         FUSION              DENVER                    CO
74041   3FA6P0H70GR330003   Ford         FUSION              Seattle                   WA
74042   3FA6P0H70HR207285   Ford         FUSION              LOS ANGELES               CA
74043   3FA6P0H71GR283757   Ford         FUSION              BURBANK                   CA
74044   3FA6P0H71HR104361   Ford         FUSION              CHICAGO                   IL
74045   3FA6P0H71HR110368   Ford         FUSION              SAN DIEGO                 CA
74046   3FA6P0H71HR193851   Ford         FUSION              Indianapolis              IN
74047   3FA6P0H71HR213029   Ford         FUSION              CHICAGO                   IL
74048   3FA6P0H72GR307399   Ford         FUSION              DES PLAINES               US
74049   3FA6P0H72JR104455   Ford         FUSION              Costa Mesa                CA
74050   3FA6P0H73GR145167   Ford         FUSION              SEATAC                    WA
74051   3FA6P0H73GR146951   Ford         FUSION              Ventura                   CA
74052   3FA6P0H73HR334452   Ford         FUSION              CHICAGO                   IL
74053   3FA6P0H73HR349310   Ford         FUSION              CHICAGO                   IL
74054   3FA6P0H73JR167743   Ford         FUSION              CHANDLER                  AZ
74055   3FA6P0H74GR306786   Ford         FUSION              Arlington                 WA
74056   3FA6P0H74GR329985   Ford         FUSION              Kent                      WA
74057   3FA6P0H74GR329999   Ford         FUSION              NORTH PAC                 CA
74058   3FA6P0H74GR330005   Ford         FUSION              BURIEN                    WA
74059   3FA6P0H74GR330179   Ford         FUSION              PORTLAND                  OR
74060   3FA6P0H74HR169687   Ford         FUSION              Hapeville                 GA
74061   3FA6P0H74HR229225   Ford         FUSION              PALM SPRINGS              CA
74062   3FA6P0H74JR204430   Ford         FUSION              Roseville                 CA
74063   3FA6P0H75GR306828   Ford         FUSION              Kent                      WA
74064   3FA6P0H75GR329994   Ford         FUSION              PORTLAND                  OR
74065   3FA6P0H75GR343359   Ford         FUSION              Kent                      WA
74066   3FA6P0H75HR187602   Ford         FUSION              CHANDLER                  AZ
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74067   3FA6P0H76HR215455   Ford         FUSION              BURBANK                   CA
74068   3FA6P0H77HR180232   Ford         FUSION              CHANDLER                  AZ
74069   3FA6P0H79GR246942   Ford         FUSION              LAS VEGAS                 NV
74070   3FA6P0H79HR384210   Ford         FUSION              TRACY                     CA
74071   3FA6P0H7XHR370574   Ford         FUSION              NORTH PAC                 CA
74072   3FA6P0H7XJR125117   Ford         FUSION              SAN JOSE                  CA
74073   3FA6P0H90HR180414   Ford         FUSION              Scottsdale                AZ
74074   3FA6P0H91HR189932   Ford         FUSION              CHICAGO                   IL
74075   3FA6P0H92HR200128   Ford         FUSION              Des Plaines               IL
74076   3FA6P0H92HR207404   Ford         FUSION              CHANDLER                  AZ
74077   3FA6P0H99GR225820   Ford         FUSION              COSTA MESA                CA
74078   3FA6P0H99HR378439   Ford         FUSION              PHOENIX                   AZ
74079   3FA6P0HD0HR136675   Ford         FUSION              DANIA BEACH               FL
74080   3FA6P0HD0HR186329   Ford         FUSION              CHICAGO                   IL
74081   3FA6P0HD0HR341767   Ford         FUSION              DES PLAINES               US
74082   3FA6P0HD0LR150035   Ford         FUSION              Miami                     FL
74083   3FA6P0HD0LR173069   Ford         FUSION              FORT MYERS                FL
74084   3FA6P0HD1HR156675   Ford         FUSION              Lake in the Hil           IL
74085   3FA6P0HD1HR293549   Ford         FUSION              LOS ANGELES               CA
74086   3FA6P0HD1HR336352   Ford         FUSION              SAN FRANCISCO             CA
74087   3FA6P0HD1HR405153   Ford         FUSION              Hamilton                  OH
74088   3FA6P0HD1LR149928   Ford         FUSION              PALM S                    CA
74089   3FA6P0HD2HR157821   Ford         FUSION              TAMPA                     FL
74090   3FA6P0HD2HR189460   Ford         FUSION              CHICAGO                   IL
74091   3FA6P0HD2HR365861   Ford         FUSION              ORLANDO                   FL
74092   3FA6P0HD2LR136377   Ford         FUSION              FORT MYERS                FL
74093   3FA6P0HD3HR255658   Ford         FUSION              SAN FRANCISCO             CA
74094   3FA6P0HD3HR275442   Ford         FUSION              BURBANK                   CA
74095   3FA6P0HD4HR251621   Ford         FUSION              CHICAGO                   IL
74096   3FA6P0HD4HR275322   Ford         FUSION              LOS ANGELES               CA
74097   3FA6P0HD5HR153195   Ford         FUSION              Lynn                      MA
74098   3FA6P0HD5HR156839   Ford         FUSION              Matteson                  IL
74099   3FA6P0HD5HR215985   Ford         FUSION              LOS ANGELES               CA
74100   3FA6P0HD5HR270260   Ford         FUSION              FT. LAUDERDALE            FL
74101   3FA6P0HD5HR306044   Ford         FUSION              LOS ANGELES AP            CA
74102   3FA6P0HD5LR136051   Ford         FUSION              FORT MYERS                FL
74103   3FA6P0HD5LR190658   Ford         FUSION              Miami                     FL
74104   3FA6P0HD6HR212285   Ford         FUSION              FT. LAUDERDALE            FL
74105   3FA6P0HD6HR227854   Ford         FUSION              GRAND RAPIDS              MI
74106   3FA6P0HD6HR247473   Ford         FUSION              Norwalk                   CA
74107   3FA6P0HD6HR263608   Ford         FUSION              CHICAGO                   IL
74108   3FA6P0HD6HR348982   Ford         FUSION              FRESNO                    CA
74109   3FA6P0HD6LR172654   Ford         FUSION              Miami                     FL
74110   3FA6P0HD7GR328805   Ford         FUSION              LAS VEGAS                 NV
74111   3FA6P0HD7HR104614   Ford         FUSION              Avoca                     PA
74112   3FA6P0HD7HR190300   Ford         FUSION              CHANDLER                  AZ
74113   3FA6P0HD7HR270275   Ford         FUSION              Pompano Beach             FL
74114   3FA6P0HD7HR290851   Ford         FUSION              CHICAGO                   IL
74115   3FA6P0HD7HR366617   Ford         FUSION              DETROIT                   MI
74116   3FA6P0HD8HR189821   Ford         FUSION              Lake in the Hil           IL
74117   3FA6P0HD8HR276022   Ford         FUSION              SANTA ANA                 CA
74118   3FA6P0HD8HR366352   Ford         FUSION              CHICAGO                   IL
74119   3FA6P0HD8HR395575   Ford         FUSION              Orlando                   FL
74120   3FA6P0HD9GR260426   Ford         FUSION              Kent                      WA
74121   3FA6P0HD9HR244504   Ford         FUSION              HARVEY                    LA
74122   3FA6P0HD9HR290141   Ford         FUSION              WEST PALM BEACH           FL
74123   3FA6P0HD9HR408186   Ford         FUSION              BURBANK                   CA
74124   3FA6P0HD9JR104443   Ford         FUSION              Killeen                   TX
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74125   3FA6P0HD9JR104569   Ford         FUSION              LOS ANGELES               CA
74126   3FA6P0HDXHR334261   Ford         FUSION              MIAMI                     FL
74127   3FA6P0HDXJR253637   Ford         FUSION              LOS ANGELES               CA
74128   3FA6P0HDXLR150625   Ford         FUSION              MIAMI INT'L AP            FL
74129   3FA6P0K92HR212305   Ford         FUSION              Davie                     FL
74130   3FA6P0K95HR231575   Ford         FUSION              DES PLAINES               IL
74131   3FA6P0K98HR137884   Ford         FUSION              FORT LAUDERDALE           FL
74132   3FA6P0LU0HR314110   Ford         FUSION              NORTH PAC                 CA
74133   3FA6P0LU0HR323776   Ford         FUSION              SEATAC                    WA
74134   3FA6P0LU0HR355112   Ford         FUSION              Burien                    WA
74135   3FA6P0LU0HR381077   Ford         FUSION              BURBANK                   CA
74136   3FA6P0LU0HR384920   Ford         FUSION              DES PLAINES               IL
74137   3FA6P0LU0HR385467   Ford         FUSION              BURBANK                   CA
74138   3FA6P0LU0HR385470   Ford         FUSION
74139   3FA6P0LU0HR385517   Ford         FUSION              LOS ANGELES               CA
74140   3FA6P0LU0HR385582   Ford         FUSION              BURBANK                   CA
74141   3FA6P0LU0HR385615   Ford         FUSION              SANTA ANA                 CA
74142   3FA6P0LU0HR385856   Ford         FUSION              NEW ENGLAND DEALER        MA
74143   3FA6P0LU0HR385999   Ford         FUSION              SAN JOSE                  CA
74144   3FA6P0LU0HR386148   Ford         FUSION              BURBANK                   CA
74145   3FA6P0LU0HR386263   Ford         FUSION              BURBANK                   CA
74146   3FA6P0LU0HR386344   Ford         FUSION              SAN FRANCISCO             CA
74147   3FA6P0LU0HR386411   Ford         FUSION              Los Angeles               CA
74148   3FA6P0LU0HR386442   Ford         FUSION              LOS ANGELES               CA
74149   3FA6P0LU0JR172198   Ford         FUSION              PHILADELPHIA              PA
74150   3FA6P0LU0JR172508   Ford         FUSION              LOS ANGELES               CA
74151   3FA6P0LU1HR285278   Ford         FUSION              Mira Loma                 CA
74152   3FA6P0LU1HR317873   Ford         FUSION              WEST HARTFORD             CT
74153   3FA6P0LU1HR354812   Ford         FUSION              BURBANK                   CA
74154   3FA6P0LU1HR355104   Ford         FUSION              WEST HARTFORD             CT
74155   3FA6P0LU1HR381069   Ford         FUSION              N. Las Vegas              NV
74156   3FA6P0LU1HR381704   Ford         FUSION              BOSTON                    MA
74157   3FA6P0LU1HR381718   Ford         FUSION              Elkridge                  MD
74158   3FA6P0LU1HR384988   Ford         FUSION              FAYETTEVILLE              GA
74159   3FA6P0LU1HR385364   Ford         FUSION              Elkridge                  MD
74160   3FA6P0LU1HR385459   Ford         FUSION              NORTH HOLLYWOOD           CA
74161   3FA6P0LU1HR385509   Ford         FUSION              SAN JOSE                  CA
74162   3FA6P0LU1HR385588   Ford         FUSION              BURBANK                   CA
74163   3FA6P0LU1HR386207   Ford         FUSION              Fontana                   CA
74164   3FA6P0LU1HR386403   Ford         FUSION              LOS ANGELES               CA
74165   3FA6P0LU1HR386448   Ford         FUSION              San Diego                 CA
74166   3FA6P0LU1HR386546   Ford         FUSION              PHILADELPHIA              PA
74167   3FA6P0LU2HR306994   Ford         FUSION              NEWPORT BEACH             CA
74168   3FA6P0LU2HR314030   Ford         FUSION              Kent                      WA
74169   3FA6P0LU2HR314075   Ford         FUSION              Fort Worth                TX
74170   3FA6P0LU2HR323410   Ford         FUSION              Elkridge                  MD
74171   3FA6P0LU2HR323505   Ford         FUSION              SAN JOSE                  CA
74172   3FA6P0LU2HR355063   Ford         FUSION              LOS ANGELES               CA
74173   3FA6P0LU2HR355337   Ford         FUSION              SANTA ANA                 CA
74174   3FA6P0LU2HR355399   Ford         FUSION              LOS ANGELES               CA
74175   3FA6P0LU2HR381131   Ford         FUSION              ANNANDALE                 VA
74176   3FA6P0LU2HR381324   Ford         FUSION              BURBANK                   CA
74177   3FA6P0LU2HR381422   Ford         FUSION              NEW ENGLAND DEALER        MA
74178   3FA6P0LU2HR384692   Ford         FUSION              Matteson                  IL
74179   3FA6P0LU2HR384983   Ford         FUSION              Elkridge                  MD
74180   3FA6P0LU2HR385163   Ford         FUSION              Las Vegas                 NV
74181   3FA6P0LU2HR385423   Ford         FUSION              CICERO                    IL
74182   3FA6P0LU2HR385437   Ford         FUSION              LOS ANGELES               CA
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74183   3FA6P0LU2HR385552   Ford         FUSION              BURBANK                   CA
74184   3FA6P0LU2HR385986   Ford         FUSION              Portland                  OR
74185   3FA6P0LU2HR386121   Ford         FUSION              KNOXVILLE                 TN
74186   3FA6P0LU2HR386295   Ford         FUSION              SANTA ANA                 CA
74187   3FA6P0LU2HR386314   Ford         FUSION              BURBANK                   CA
74188   3FA6P0LU2HR386474   Ford         FUSION              BURBANK                   CA
74189   3FA6P0LU2HR386779   Ford         FUSION              Lake Elsinore             CA
74190   3FA6P0LU2HR386863   Ford         FUSION              BURBANK                   CA
74191   3FA6P0LU2HR386877   Ford         FUSION              BURBANK                   CA
74192   3FA6P0LU2HR400051   Ford         FUSION              SANTA ANA                 CA
74193   3FA6P0LU2JR173630   Ford         FUSION              CHICAGO                   IL
74194   3FA6P0LU3HR323447   Ford         FUSION              EULESS                    TX
74195   3FA6P0LU3HR354858   Ford         FUSION              TRACY                     CA
74196   3FA6P0LU3HR355251   Ford         FUSION              Los Angeles               CA
74197   3FA6P0LU3HR355427   Ford         FUSION              NORTH PAC                 CA
74198   3FA6P0LU3HR380635   Ford         FUSION              PHILADELPHIA              PA
74199   3FA6P0LU3HR381347   Ford         FUSION              BURBANK                   CA
74200   3FA6P0LU3HR384619   Ford         FUSION              PLEASANTON                CA
74201   3FA6P0LU3HR384670   Ford         FUSION              CHICAGO                   IL
74202   3FA6P0LU3HR384684   Ford         FUSION              CHICAGO                   IL
74203   3FA6P0LU3HR384846   Ford         FUSION              Slidell                   LA
74204   3FA6P0LU3HR384958   Ford         FUSION              DETROIT                   MI
74205   3FA6P0LU3HR385043   Ford         FUSION              SAN JOSE                  CA
74206   3FA6P0LU3HR385592   Ford         FUSION              BURBANK                   CA
74207   3FA6P0LU3HR385737   Ford         FUSION              BURBANK                   CA
74208   3FA6P0LU3HR385835   Ford         FUSION              Englewood                 CO
74209   3FA6P0LU3HR385897   Ford         FUSION              Atlanta                   GA
74210   3FA6P0LU3HR386208   Ford         FUSION              Norwalk                   CA
74211   3FA6P0LU3HR386211   Ford         FUSION              BURBANK                   CA
74212   3FA6P0LU3HR386239   Ford         FUSION              NEWPORT BEACH             CA
74213   3FA6P0LU3HR386287   Ford         FUSION              SAN DIEGO                 US
74214   3FA6P0LU3JR173281   Ford         FUSION              PHOENIX                   AZ
74215   3FA6P0LU4HR295089   Ford         FUSION              BURBANK                   CA
74216   3FA6P0LU4HR315566   Ford         FUSION              KENNER                    LA
74217   3FA6P0LU4HR323585   Ford         FUSION              TRACY                     CA
74218   3FA6P0LU4HR323991   Ford         FUSION              LOS ANGELES               CA
74219   3FA6P0LU4HR354934   Ford         FUSION              NORTH PAC                 CA
74220   3FA6P0LU4HR355131   Ford         FUSION
74221   3FA6P0LU4HR385004   Ford         FUSION              SPRINGFIELD               VA
74222   3FA6P0LU4HR385150   Ford         FUSION              WEST PALM BEACH           FL
74223   3FA6P0LU4HR385391   Ford         FUSION              PORTLAND                  OR
74224   3FA6P0LU4HR385455   Ford         FUSION              LOS ANGELES               CA
74225   3FA6P0LU4HR385701   Ford         FUSION              SANTA ANA                 CA
74226   3FA6P0LU4HR386511   Ford         FUSION              FORT MYERS                FL
74227   3FA6P0LU4JR172429   Ford         FUSION              CHICAGO                   IL
74228   3FA6P0LU4JR173774   Ford         FUSION              PHILADELPHIA              PA
74229   3FA6P0LU4JR235013   Ford         FUSION              PHOENIX                   AZ
74230   3FA6P0LU5HR295103   Ford         FUSION              PASADENA                  CA
74231   3FA6P0LU5HR306875   Ford         FUSION              SANTA ANA                 CA
74232   3FA6P0LU5HR317844   Ford         FUSION              BURBANK                   CA
74233   3FA6P0LU5HR324017   Ford         FUSION              Norwalk                   CA
74234   3FA6P0LU5HR351282   Ford         FUSION              BURBANK                   CA
74235   3FA6P0LU5HR355011   Ford         FUSION              BURBANK                   CA
74236   3FA6P0LU5HR355056   Ford         FUSION              North Las Vegas           NV
74237   3FA6P0LU5HR355221   Ford         FUSION              LOS ANGELES               CA
74238   3FA6P0LU5HR355414   Ford         FUSION              BURBANK                   CA
74239   3FA6P0LU5HR355431   Ford         FUSION              BURBANK                   CA
74240   3FA6P0LU5HR380989   Ford         FUSION              Elkridge                  MD
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74241   3FA6P0LU5HR381351   Ford         FUSION              Roseville                 CA
74242   3FA6P0LU5HR384850   Ford         FUSION              Colorado Spring           CO
74243   3FA6P0LU5HR385576   Ford         FUSION              SAN DIEGO                 CA
74244   3FA6P0LU5HR385948   Ford         FUSION              LOS ANGELES               CA
74245   3FA6P0LU5HR386159   Ford         FUSION              BURBANK                   CA
74246   3FA6P0LU5HR386162   Ford         FUSION              BURBANK                   CA
74247   3FA6P0LU5HR386260   Ford         FUSION              LAS VEGAS                 NV
74248   3FA6P0LU5HR386291   Ford         FUSION              BURBANK                   CA
74249   3FA6P0LU5HR386310   Ford         FUSION              SAN FRANCISCO             CA
74250   3FA6P0LU5HR386338   Ford         FUSION              BURBANK                   CA
74251   3FA6P0LU5JR173895   Ford         FUSION              Portland                  OR
74252   3FA6P0LU5JR208953   Ford         FUSION              PHILADELPHIA              PA
74253   3FA6P0LU5JR235649   Ford         FUSION              CHANDLER                  AZ
74254   3FA6P0LU6HR299953   Ford         FUSION              CHICAGO                   IL
74255   3FA6P0LU6HR323703   Ford         FUSION              BURBANK                   CA
74256   3FA6P0LU6HR324026   Ford         FUSION              BURBANK                   CA
74257   3FA6P0LU6HR354899   Ford         FUSION              LOS ANGELES               CA
74258   3FA6P0LU6HR355213   Ford         FUSION              SAN FRANCISCO             CA
74259   3FA6P0LU6HR355230   Ford         FUSION              SAN DIEGO                 CA
74260   3FA6P0LU6HR380659   Ford         FUSION              BOSTON                    MA
74261   3FA6P0LU6HR381035   Ford         FUSION              CHICAGO                   IL
74262   3FA6P0LU6HR381150   Ford         FUSION              CHICAGO                   IL
74263   3FA6P0LU6HR384873   Ford         FUSION              CHICAGO                   IL
74264   3FA6P0LU6HR385490   Ford         FUSION              LAS VEGAS                 NV
74265   3FA6P0LU6HR385523   Ford         FUSION              SANTA ANA                 CA
74266   3FA6P0LU6HR385554   Ford         FUSION              ROSEVILLE                 CA
74267   3FA6P0LU6HR385568   Ford         FUSION              ROSEVILLE                 CA
74268   3FA6P0LU6HR385618   Ford         FUSION              LAS VEGAS                 NV
74269   3FA6P0LU6HR385621   Ford         FUSION              Los Angeles               CA
74270   3FA6P0LU6HR386042   Ford         FUSION              PITTSBURGH                PA
74271   3FA6P0LU6HR386221   Ford         FUSION              BURBANK                   CA
74272   3FA6P0LU6HR386302   Ford         FUSION              NORTH PAC                 CA
74273   3FA6P0LU6HR386350   Ford         FUSION              ROSEVILLE                 CA
74274   3FA6P0LU6HR386428   Ford         FUSION              LOS ANGELES               CA
74275   3FA6P0LU6HR386431   Ford         FUSION              Dallas                    TX
74276   3FA6P0LU6HR386767   Ford         FUSION              ROSEVILLE                 CA
74277   3FA6P0LU6HR386834   Ford         FUSION              LOS ANGELES               CA
74278   3FA6P0LU6HR386901   Ford         FUSION              DES PLAINES               IL
74279   3FA6P0LU6JR141571   Ford         FUSION              KENNER                    LA
74280   3FA6P0LU6JR173825   Ford         FUSION              NORTH PAC                 CA
74281   3FA6P0LU7HR317862   Ford         FUSION              BURBANK                   CA
74282   3FA6P0LU7HR323810   Ford         FUSION              SACRAMENTO                CA
74283   3FA6P0LU7HR324066   Ford         FUSION              BURBANK                   CA
74284   3FA6P0LU7HR355270   Ford         FUSION              SANTA ANA                 CA
74285   3FA6P0LU7HR380637   Ford         FUSION              HANOVER                   MD
74286   3FA6P0LU7HR381142   Ford         FUSION              Framingham                MA
74287   3FA6P0LU7HR381240   Ford         FUSION              SEATAC                    WA
74288   3FA6P0LU7HR385188   Ford         FUSION              Elkridge                  MD
74289   3FA6P0LU7HR385353   Ford         FUSION              LAS VEGAS                 NV
74290   3FA6P0LU7HR385434   Ford         FUSION              LOS ANGELES               CA
74291   3FA6P0LU7HR385577   Ford         FUSION              BURBANK                   CA
74292   3FA6P0LU7HR385899   Ford         FUSION              DAYTONA BEACH             FL
74293   3FA6P0LU7HR386003   Ford         FUSION              Seattle                   WA
74294   3FA6P0LU7HR386213   Ford         FUSION              PLEASANTON                CA
74295   3FA6P0LU7HR386230   Ford         FUSION              TRACY                     CA
74296   3FA6P0LU7HR386244   Ford         FUSION              BURBANK                   CA
74297   3FA6P0LU7HR386289   Ford         FUSION              SAN FRANCISCO             CA
74298   3FA6P0LU7HR386292   Ford         FUSION              BURBANK                   CA
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74299   3FA6P0LU7HR386485   Ford         FUSION              SKOKIE                    IL
74300   3FA6P0LU7HR386714   Ford         FUSION              Davie                     FL
74301   3FA6P0LU7HR400059   Ford         FUSION              LOS ANGELES               CA
74302   3FA6P0LU7JR209313   Ford         FUSION              Philadelphia              PA
74303   3FA6P0LU8HR208066   Ford         FUSION              SAN DIEGO                 CA
74304   3FA6P0LU8HR317742   Ford         FUSION              REVERE                    MA
74305   3FA6P0LU8HR323797   Ford         FUSION              SEATAC                    WA
74306   3FA6P0LU8HR324142   Ford         FUSION              Elkridge                  MD
74307   3FA6P0LU8HR343984   Ford         FUSION              NORTH PAC                 CA
74308   3FA6P0LU8HR354936   Ford         FUSION              BURBANK                   CA
74309   3FA6P0LU8HR354984   Ford         FUSION              SANTA ANA                 CA
74310   3FA6P0LU8HR355021   Ford         FUSION              SAN FRANCISCO             CA
74311   3FA6P0LU8HR355293   Ford         FUSION              BURBANK                   CA
74312   3FA6P0LU8HR355407   Ford         FUSION              BURBANK                   CA
74313   3FA6P0LU8HR355438   Ford         FUSION              Riverside                 CA
74314   3FA6P0LU8HR380677   Ford         FUSION              BOSTON                    MA
74315   3FA6P0LU8HR381327   Ford         FUSION              PICO RIVERA               CA
74316   3FA6P0LU8HR385331   Ford         FUSION              CHARLOTTE                 NC
74317   3FA6P0LU8HR385457   Ford         FUSION              SANTA ANA                 CA
74318   3FA6P0LU8HR385555   Ford         FUSION              ROSEVILLE                 CA
74319   3FA6P0LU8HR385569   Ford         FUSION              BURBANK                   CA
74320   3FA6P0LU8HR385975   Ford         FUSION              North Las Vegas           NV
74321   3FA6P0LU8HR386219   Ford         FUSION              Phoenix                   AZ
74322   3FA6P0LU8HR386236   Ford         FUSION              BURBANK                   CA
74323   3FA6P0LU8HR386253   Ford         FUSION              SANTA ANA                 CA
74324   3FA6P0LU8HR386284   Ford         FUSION              BURBANK                   CA
74325   3FA6P0LU8HR386334   Ford         FUSION              Los Angeles               CA
74326   3FA6P0LU8HR386365   Ford         FUSION              BURBANK                   CA
74327   3FA6P0LU8HR386401   Ford         FUSION              SAN DIEGO                 CA
74328   3FA6P0LU8HR386866   Ford         FUSION              BURBANK                   CA
74329   3FA6P0LU8JR169985   Ford         FUSION              LOS ANGELES               CA
74330   3FA6P0LU9HR285187   Ford         FUSION              BURBANK                   CA
74331   3FA6P0LU9HR306877   Ford         FUSION              Norwalk                   CA
74332   3FA6P0LU9HR306975   Ford         FUSION              SAN DIEGO                 CA
74333   3FA6P0LU9HR323548   Ford         FUSION              LOS ANGELES               CA
74334   3FA6P0LU9HR323663   Ford         FUSION              LOS ANGELES               CA
74335   3FA6P0LU9HR323890   Ford         FUSION              SEATAC                    WA
74336   3FA6P0LU9HR354850   Ford         FUSION              BURBANK                   CA
74337   3FA6P0LU9HR355464   Ford         FUSION              BURBANK                   CA
74338   3FA6P0LU9HR384771   Ford         FUSION              PHILADELPHIA              PA
74339   3FA6P0LU9HR384785   Ford         FUSION              BOSTON                    MA
74340   3FA6P0LU9HR384950   Ford         FUSION              BOSTON                    MA
74341   3FA6P0LU9HR385404   Ford         FUSION              San Antonio               TX
74342   3FA6P0LU9HR386035   Ford         FUSION              SEATAC                    WA
74343   3FA6P0LU9HR386102   Ford         FUSION              Austin                    TX
74344   3FA6P0LU9HR386276   Ford         FUSION              LOS ANGELES               CA
74345   3FA6P0LU9HR386424   Ford         FUSION              BURBANK                   CA
74346   3FA6P0LU9HR386472   Ford         FUSION              SAN JOSE                  CA
74347   3FA6P0LU9HR408714   Ford         FUSION              TRACY                     CA
74348   3FA6P0LU9JR209281   Ford         FUSION              CHICAGO                   IL
74349   3FA6P0LU9KR188577   Ford         FUSION              Pompano Beach             FL
74350   3FA6P0LUXHR306855   Ford         FUSION              SAN FRANCISCO             CA
74351   3FA6P0LUXHR314034   Ford         FUSION              BURBANK                   CA
74352   3FA6P0LUXHR323848   Ford         FUSION              BURBANK                   CA
74353   3FA6P0LUXHR354971   Ford         FUSION              Portland                  OR
74354   3FA6P0LUXHR355280   Ford         FUSION              SAN FRANCISCO             CA
74355   3FA6P0LUXHR381202   Ford         FUSION              HANOVER                   MD
74356   3FA6P0LUXHR381250   Ford         FUSION              Kent                      WA
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74357   3FA6P0LUXHR381362   Ford        FUSION              WEST HARTFORD             CT
74358   3FA6P0LUXHR385007   Ford        FUSION              Lynn                      MA
74359   3FA6P0LUXHR385105   Ford        FUSION              Lynn                      MA
74360   3FA6P0LUXHR385430   Ford        FUSION              NORTH PAC                 CA
74361   3FA6P0LUXHR385475   Ford        FUSION              LOS ANGELES               CA
74362   3FA6P0LUXHR385718   Ford        FUSION              BURBANK                   CA
74363   3FA6P0LUXHR386027   Ford        FUSION              SAN JOSE                  CA
74364   3FA6P0LUXHR386416   Ford        FUSION              BURBANK                   CA
74365   3FA6P0LUXHR386514   Ford        FUSION              HANOVER                   MD
74366   3FA6P0LUXHR386528   Ford        FUSION              BURBANK                   CA
74367   3FA6P0LUXHR386612   Ford        FUSION              South San Franc           CA
74368   3FA6P0LUXHR386822   Ford        FUSION              Fontana                   CA
74369   3FA6P0MU2KR136755   Ford        FUSION              Jacksonville              FL
74370   3FA6P0PU6HR276540   Ford        FUSION              PHOENIX                   AZ
74371   3FA6P0RU0JR150970   Ford        FUSION              Cleveland                 OH
74372   3FA6P0RU0JR151004   Ford        FUSION              LAS VEGAS                 NV
74373   3FA6P0RU0JR168675   Ford        FUSION              NEW ENGLAND DEALER        MA
74374   3FA6P0RU0JR177604   Ford        FUSION              SAN JOSE                  CA
74375   3FA6P0RU0JR177635   Ford        FUSION              NORTH PAC                 CA
74376   3FA6P0RU0JR181622   Ford        FUSION              SAN FRANCISCO             CA
74377   3FA6P0RU0JR181653   Ford        FUSION              BURBANK                   CA
74378   3FA6P0RU0JR181667   Ford        FUSION              LOS ANGELES AP            CA
74379   3FA6P0RU0JR181717   Ford        FUSION              TRACY                     CA
74380   3FA6P0RU0JR181720   Ford        FUSION              BURBANK                   CA
74381   3FA6P0RU0JR192278   Ford        FUSION              LOS ANGELES               CA
74382   3FA6P0RU0JR192300   Ford        FUSION              Norwalk                   CA
74383   3FA6P0RU0JR192345   Ford        FUSION              LOS ANGELES               CA
74384   3FA6P0RU0JR246632   Ford        FUSION              PHILADELPHIA              PA
74385   3FA6P0RU0JR246646   Ford        FUSION              Atlanta                   GA
74386   3FA6P0RU0JR247263   Ford        FUSION              North Dighton             MA
74387   3FA6P0RU1JR168670   Ford        FUSION              FORT MYERS                FL
74388   3FA6P0RU1JR177613   Ford        FUSION              SAN DIEGO                 CA
74389   3FA6P0RU1JR181614   Ford        FUSION              LOS ANGELES               CA
74390   3FA6P0RU1JR187994   Ford        FUSION              SAN FRANCISCO             CA
74391   3FA6P0RU1JR188000   Ford        FUSION              Burien                    WA
74392   3FA6P0RU1JR192242   Ford        FUSION              BURBANK                   CA
74393   3FA6P0RU1JR192287   Ford        FUSION              NORTH PAC                 CA
74394   3FA6P0RU1JR205720   Ford        FUSION              SAN ANTONIO               TX
74395   3FA6P0RU1JR206026   Ford        FUSION              Carleton                  MI
74396   3FA6P0RU1JR219018   Ford        FUSION              Coraopolis                PA
74397   3FA6P0RU1JR219066   Ford        FUSION              CHARLOTTE                 NC
74398   3FA6P0RU1JR219116   Ford        FUSION              DETROIT                   MI
74399   3FA6P0RU1JR246638   Ford        FUSION              Charlotte                 NC
74400   3FA6P0RU2JR168483   Ford        FUSION              North Dighton             MA
74401   3FA6P0RU2JR168502   Ford        FUSION              SAN FRANCISCO             CA
74402   3FA6P0RU2JR177572   Ford        FUSION              Manheim                   PA
74403   3FA6P0RU2JR177586   Ford        FUSION              BALDWIN                   NY
74404   3FA6P0RU2JR181640   Ford        FUSION              BURBANK                   CA
74405   3FA6P0RU2JR181749   Ford        FUSION              BURBANK                   CA
74406   3FA6P0RU2JR192265   Ford        FUSION              SANTA CLARA               CA
74407   3FA6P0RU2JR192315   Ford        FUSION              LIVERMORE                 CA
74408   3FA6P0RU2JR206018   Ford        FUSION              LOS ANGELES               CA
74409   3FA6P0RU2JR206021   Ford        FUSION              BURBANK                   CA
74410   3FA6P0RU2JR212238   Ford        FUSION              SAN DIEGO                 CA
74411   3FA6P0RU2JR246650   Ford        FUSION              SOUTHEAST DST OFFC        OK
74412   3FA6P0RU2JR247281   Ford        FUSION              Estero                    FL
74413   3FA6P0RU2JR247376   Ford        FUSION              SEATAC                    WA
74414   3FA6P0RU2JR247684   Ford        FUSION              Boise                     ID
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74415   3FA6P0RU3JR168685   Ford         FUSION              LOS ANGELES               CA
74416   3FA6P0RU3JR177631   Ford         FUSION              BURBANK                   CA
74417   3FA6P0RU3JR181548   Ford         FUSION              Roseville                 CA
74418   3FA6P0RU3JR181596   Ford         FUSION              SAN FRANCISCO             CA
74419   3FA6P0RU3JR181601   Ford         FUSION              OAKLAND                   CA
74420   3FA6P0RU3JR181615   Ford         FUSION              BURBANK                   CA
74421   3FA6P0RU3JR181713   Ford         FUSION              Los Angeles               CA
74422   3FA6P0RU3JR187995   Ford         FUSION              LOS ANGELES               CA
74423   3FA6P0RU3JR192212   Ford         FUSION              BURBANK                   CA
74424   3FA6P0RU3JR192310   Ford         FUSION              Riverside                 CA
74425   3FA6P0RU3JR192372   Ford         FUSION              NORTH HOLLYWOOD           CA
74426   3FA6P0RU3JR205735   Ford         FUSION              SAN ANTONIO               TX
74427   3FA6P0RU3JR214113   Ford         FUSION              PHILADELPHIA              PA
74428   3FA6P0RU4JR168677   Ford         FUSION              Clearwater                FL
74429   3FA6P0RU4JR168680   Ford         FUSION              ATLANTA                   GA
74430   3FA6P0RU4JR177539   Ford         FUSION              College Park              GA
74431   3FA6P0RU4JR177606   Ford         FUSION              Hayward                   CA
74432   3FA6P0RU4JR181557   Ford         FUSION              VAN NUYS                  CA
74433   3FA6P0RU4JR181641   Ford         FUSION              BURBANK                   CA
74434   3FA6P0RU4JR192235   Ford         FUSION              Tolleson                  AZ
74435   3FA6P0RU4JR192249   Ford         FUSION              LOS ANGELES               CA
74436   3FA6P0RU4JR192266   Ford         FUSION              LOS ANGELES               CA
74437   3FA6P0RU4JR192333   Ford         FUSION              SAN DIEGO                 CA
74438   3FA6P0RU4JR192364   Ford         FUSION              SAN JOSE                  CA
74439   3FA6P0RU4JR205999   Ford         FUSION              SEATTLE                   WA
74440   3FA6P0RU4JR246813   Ford         FUSION              MATTHEWS                  NC
74441   3FA6P0RU4JR247282   Ford         FUSION              PHOENIX                   AZ
74442   3FA6P0RU4JR247377   Ford         FUSION              SALT LAKE CITY            UT
74443   3FA6P0RU4JR269461   Ford         FUSION              AUSTIN                    TX
74444   3FA6P0RU5JR151029   Ford         FUSION              Charlotte                 NC
74445   3FA6P0RU5JR177629   Ford         FUSION              LOS ANGELES               CA
74446   3FA6P0RU5JR181597   Ford         FUSION              SANTA ANA                 CA
74447   3FA6P0RU5JR181616   Ford         FUSION              SEATAC                    WA
74448   3FA6P0RU5JR181664   Ford         FUSION              SANTA ANA                 CA
74449   3FA6P0RU5JR181681   Ford         FUSION              LOS ANGELES               CA
74450   3FA6P0RU5JR187996   Ford         FUSION              BURBANK                   CA
74451   3FA6P0RU5JR192180   Ford         FUSION              DETROIT                   MI
74452   3FA6P0RU5JR192213   Ford         FUSION              BURBANK                   CA
74453   3FA6P0RU5JR192230   Ford         FUSION              PORTLAND                  OR
74454   3FA6P0RU5JR192275   Ford         FUSION              SACRAMENTO                CA
74455   3FA6P0RU5JR192356   Ford         FUSION              North Dighton             MA
74456   3FA6P0RU5JR205946   Ford         FUSION              Burien                    WA
74457   3FA6P0RU5JR206014   Ford         FUSION              Stockton                  CA
74458   3FA6P0RU5JR246710   Ford         FUSION              ORLANDO                   FL
74459   3FA6P0RU5JR246805   Ford         FUSION              BOSTON                    MA
74460   3FA6P0RU5JR247307   Ford         FUSION              Lynn                      MA
74461   3FA6P0RU6JR177591   Ford         FUSION              BURBANK                   CA
74462   3FA6P0RU6JR181544   Ford         FUSION              LOS ANGELES               CA
74463   3FA6P0RU6JR181575   Ford         FUSION              LOS ANGELES               CA
74464   3FA6P0RU6JR181673   Ford         FUSION              SAN JOSE                  CA
74465   3FA6P0RU6JR181690   Ford         FUSION              Stockton                  CA
74466   3FA6P0RU6JR181706   Ford         FUSION              San Francisco             CA
74467   3FA6P0RU6JR181740   Ford         FUSION              SAN FRANCISCO             CA
74468   3FA6P0RU6JR192205   Ford         FUSION              NOTTINGHAM                MD
74469   3FA6P0RU6JR192219   Ford         FUSION              LOS ANGELES               CA
74470   3FA6P0RU6JR192270   Ford         FUSION              LOS ANGELES               CA
74471   3FA6P0RU6JR192284   Ford         FUSION              PORTLAND                  OR
74472   3FA6P0RU6JR192320   Ford         FUSION              WEST CENTRAL DEALE        CO
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74473   3FA6P0RU6JR192351   Ford         FUSION              SOUTH SAN FRANC           CA
74474   3FA6P0RU6JR192365   Ford         FUSION              SANTA ANA                 CA
74475   3FA6P0RU6JR205986   Ford         FUSION              Burien                    WA
74476   3FA6P0RU6JR219001   Ford         FUSION              Smithtown                 NY
74477   3FA6P0RU6JR246814   Ford         FUSION              PORTLAND                  ME
74478   3FA6P0RU6JR260972   Ford         FUSION              Slidell                   LA
74479   3FA6P0RU6JR260986   Ford         FUSION              Pasadena                  CA
74480   3FA6P0RU7JR150951   Ford         FUSION              MELROSE PARK              IL
74481   3FA6P0RU7JR181584   Ford         FUSION              BURBANK                   CA
74482   3FA6P0RU7JR181617   Ford         FUSION              SANTA ANA                 CA
74483   3FA6P0RU7JR181620   Ford         FUSION              SEATAC                    WA
74484   3FA6P0RU7JR181746   Ford         FUSION              BURBANK                   CA
74485   3FA6P0RU7JR192276   Ford         FUSION              LAS VEGAS                 NV
74486   3FA6P0RU7JR205964   Ford         FUSION              NORTH PAC                 CA
74487   3FA6P0RU7JR206032   Ford         FUSION              LOS ANGELES               CA
74488   3FA6P0RU7JR246658   Ford         FUSION              CHICAGO                   IL
74489   3FA6P0RU7JR246773   Ford         FUSION              Denver                    CO
74490   3FA6P0RU7JR246823   Ford         FUSION              Irving                    TX
74491   3FA6P0RU7KR273621   Ford         FUSION              COLUMBUS                  OH
74492   3FA6P0RU8JR151039   Ford         FUSION              Smithtown                 NY
74493   3FA6P0RU8JR151090   Ford         FUSION              MEDINA                    OH
74494   3FA6P0RU8JR181609   Ford         FUSION              CHANDLER                  AZ
74495   3FA6P0RU8JR181657   Ford         FUSION              S. San Francisc           CA
74496   3FA6P0RU8JR181660   Ford         FUSION              BURBANK                   CA
74497   3FA6P0RU8JR181674   Ford         FUSION              SACRAMENTO                CA
74498   3FA6P0RU8JR192321   Ford         FUSION              Lake Elsinore             CA
74499   3FA6P0RU8JR206024   Ford         FUSION              SANTA CLARA               CA
74500   3FA6P0RU8JR246782   Ford         FUSION              MINNEAPOLIS               MN
74501   3FA6P0RU8JR246796   Ford         FUSION              KANSAS CITY               MO
74502   3FA6P0RU8JR247270   Ford         FUSION              TAMPA                     FL
74503   3FA6P0RU8JR260990   Ford         FUSION              PITTSBURGH                PA
74504   3FA6P0RU9JR177598   Ford         FUSION              BURBANK                   CA
74505   3FA6P0RU9JR181540   Ford         FUSION              WEST HARTFORD             CT
74506   3FA6P0RU9JR181571   Ford         FUSION              SAN JOSE                  CA
74507   3FA6P0RU9JR181747   Ford         FUSION              SALT LAKE CITY            UT
74508   3FA6P0RU9JR181750   Ford         FUSION              LOS ANGELES               CA
74509   3FA6P0RU9JR192215   Ford         FUSION              NORTH HOLLYWOOD           CA
74510   3FA6P0RU9JR192246   Ford         FUSION              BURBANK                   CA
74511   3FA6P0RU9JR192294   Ford         FUSION              LOS ANGELES               CA
74512   3FA6P0RU9JR192344   Ford         FUSION              South San Franc           CA
74513   3FA6P0RU9JR205982   Ford         FUSION              Irving                    TX
74514   3FA6P0RU9JR219008   Ford         FUSION              STERLING                  VA
74515   3FA6P0RU9JR219039   Ford         FUSION              SHREVEPORT                US
74516   3FA6P0RU9JR247259   Ford         FUSION              Alexandria                VA
74517   3FA6P0RU9JR247276   Ford         FUSION              Hebron                    KY
74518   3FA6P0RU9JR247682   Ford         FUSION              DETROIT                   MI
74519   3FA6P0RUXJR177559   Ford         FUSION              Atlanta                   GA
74520   3FA6P0RUXJR192238   Ford         FUSION              LOS ANGELES               CA
74521   3FA6P0RUXJR192241   Ford         FUSION              SANTA ANA                 CA
74522   3FA6P0RUXJR192255   Ford         FUSION              ROSEVILLE                 CA
74523   3FA6P0RUXJR192305   Ford         FUSION              BURBANK                   CA
74524   3FA6P0RUXJR247268   Ford         FUSION              MILWAUKEE                 WI
74525   3FA6P0T90LR150104   Ford         FUSION              FORT MYERS                FL
74526   3FA6P0T91LR173102   Ford         FUSION              FORT MYERS                FL
74527   3FA6P0T92LR173299   Ford         FUSION              Tulsa                     OK
74528   3FA6P0T94LR150123   Ford         FUSION              FORT MYERS                FL
74529   3FA6P0T95GR327140   Ford         FUSION              CHICAGO                   IL
74530   3FA6P0T95HR266390   Ford         FUSION              Manheim                   PA
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74531   3FA6P0T96LR173130   Ford         FUSION              FORT MYERS                FL
74532   3FA6P0T96LR173192   Ford         FUSION              FORT MYERS                FL
74533   3FA6P0T97LR150231   Ford         FUSION              FORT MYERS                FL
74534   3FA6P0T98HR272894   Ford         FUSION              Chicago                   IL
74535   3FA6P0T98LR150108   Ford         FUSION              FORT MYERS                FL
74536   3FA6P0T98LR150223   Ford         FUSION              Tampa                     FL
74537   3FA6P0T98LR150593   Ford         FUSION              FORT MYERS                FL
74538   3FA6P0T98LR172755   Ford         FUSION              ALBANY                    NY
74539   3FA6P0T98LR190883   Ford         FUSION              GLASSBORO                 NJ
74540   3FA6P0T99LR173106   Ford         FUSION              FORT MYERS                FL
74541   3FA6P0T9XLR173177   Ford         FUSION              FORT MYERS                FL
74542   3FADP4BJ0KM103211   Ford         FIESTA              Orlando                   FL
74543   3FADP4BJ0KM105248   Ford         FIESTA              SANFORD                   FL
74544   3FADP4BJ0KM105945   Ford         FIESTA              MELROSE PARK              IL
74545   3FADP4BJ0KM105976   Ford         FIESTA              SARASOTA                  FL
74546   3FADP4BJ0KM106061   Ford         FIESTA              Lake in the Hil           IL
74547   3FADP4BJ0KM106240   Ford         FIESTA              CHICAGO                   IL
74548   3FADP4BJ0KM106478   Ford         FIESTA              Irving                    TX
74549   3FADP4BJ0KM106481   Ford         FIESTA              JACKSONVILLE              FL
74550   3FADP4BJ0KM106528   Ford         FIESTA              Atlanta                   GA
74551   3FADP4BJ0KM106531   Ford         FIESTA              Houston                   TX
74552   3FADP4BJ0KM106948   Ford         FIESTA              Chicago                   IL
74553   3FADP4BJ0KM106979   Ford         FIESTA              FORT LAUDERDALE           FL
74554   3FADP4BJ0KM106996   Ford         FIESTA              Stockton                  CA
74555   3FADP4BJ0KM112541   Ford         FIESTA              SANFORD                   FL
74556   3FADP4BJ0KM123667   Ford         FIESTA              Houston                   TX
74557   3FADP4BJ0KM124172   Ford         FIESTA              Kansas City               MO
74558   3FADP4BJ0KM131011   Ford         FIESTA              RENO                      NV
74559   3FADP4BJ0KM131025   Ford         FIESTA              Phoenix                   AZ
74560   3FADP4BJ0KM132949   Ford         FIESTA              Tulsa                     OK
74561   3FADP4BJ0KM132952   Ford         FIESTA              SAINT LOUIS               MO
74562   3FADP4BJ0KM133020   Ford         FIESTA              LAS VEGAS                 NV
74563   3FADP4BJ0KM133079   Ford         FIESTA              BURBANK                   CA
74564   3FADP4BJ0KM133681   Ford         FIESTA              Beaverton                 OR
74565   3FADP4BJ0KM133762   Ford         FIESTA              Beaverton                 OR
74566   3FADP4BJ0KM133907   Ford         FIESTA              PHOENIX                   AZ
74567   3FADP4BJ0KM134197   Ford         FIESTA              Houston                   TX
74568   3FADP4BJ0KM136564   Ford         FIESTA              Hamilton                  OH
74569   3FADP4BJ0KM137018   Ford         FIESTA              Salt Lake City            UT
74570   3FADP4BJ0KM137553   Ford         FIESTA              Columbus                  OH
74571   3FADP4BJ0KM138119   Ford         FIESTA              DALLAS                    TX
74572   3FADP4BJ0KM138881   Ford         FIESTA              Cedar Rapids              IA
74573   3FADP4BJ0KM143885   Ford         FIESTA              Portland                  OR
74574   3FADP4BJ0KM143949   Ford         FIESTA              Corpus Christi            TX
74575   3FADP4BJ0KM148097   Ford         FIESTA              SOUTHEAST DST OFFC        OK
74576   3FADP4BJ0KM148438   Ford         FIESTA              Honolulu                  HI
74577   3FADP4BJ0KM148472   Ford         FIESTA              Houston                   TX
74578   3FADP4BJ0KM149489   Ford         FIESTA              Portland                  OR
74579   3FADP4BJ0KM149685   Ford         FIESTA              SAN DIEGO                 CA
74580   3FADP4BJ0KM150299   Ford         FIESTA              Vandalia                  OH
74581   3FADP4BJ0KM150321   Ford         FIESTA              Coraopolis                PA
74582   3FADP4BJ0KM150495   Ford         FIESTA              Hurricane                 WV
74583   3FADP4BJ1JM123692   Ford         FIESTA              CLARKSVILLE               IN
74584   3FADP4BJ1KM103203   Ford         FIESTA              MIAMI                     FL
74585   3FADP4BJ1KM103265   Ford         FIESTA              TAMPA                     FL
74586   3FADP4BJ1KM105257   Ford         FIESTA              TAMPA                     FL
74587   3FADP4BJ1KM105310   Ford         FIESTA              KNOXVILLE                 TN
74588   3FADP4BJ1KM105730   Ford         FIESTA              Shreveport                LA
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74589   3FADP4BJ1KM105839   Ford         FIESTA              Florissant                MO
74590   3FADP4BJ1KM106036   Ford         FIESTA              Houston                   TX
74591   3FADP4BJ1KM106134   Ford         FIESTA              INDIANAPOLIS              IN
74592   3FADP4BJ1KM106179   Ford         FIESTA              Nashville                 TN
74593   3FADP4BJ1KM106182   Ford         FIESTA              Baltimore                 MD
74594   3FADP4BJ1KM106344   Ford         FIESTA              ORLANDO                   FL
74595   3FADP4BJ1KM106442   Ford         FIESTA              Manheim                   PA
74596   3FADP4BJ1KM106750   Ford         FIESTA              Roseville                 CA
74597   3FADP4BJ1KM106814   Ford         FIESTA              CLOVIS                    CA
74598   3FADP4BJ1KM106957   Ford         FIESTA              FORT LAUDERDALE           FL
74599   3FADP4BJ1KM106960   Ford         FIESTA              Harvey                    LA
74600   3FADP4BJ1KM107199   Ford         FIESTA              Denver                    CO
74601   3FADP4BJ1KM107204   Ford         FIESTA              Florissant                MO
74602   3FADP4BJ1KM112662   Ford         FIESTA              SANFORD                   FL
74603   3FADP4BJ1KM123399   Ford         FIESTA              Tampa                     FL
74604   3FADP4BJ1KM123662   Ford         FIESTA              COLUMBIA                  SC
74605   3FADP4BJ1KM123726   Ford         FIESTA              Pittsburgh                PA
74606   3FADP4BJ1KM132989   Ford         FIESTA              SANFORD                   FL
74607   3FADP4BJ1KM133057   Ford         FIESTA              Phoenix                   AZ
74608   3FADP4BJ1KM133138   Ford         FIESTA              ATLANTA                   GA
74609   3FADP4BJ1KM133396   Ford         FIESTA              CLEVELAND                 OH
74610   3FADP4BJ1KM133401   Ford         FIESTA              SEATAC                    WA
74611   3FADP4BJ1KM134337   Ford         FIESTA              Rockville Centr           NY
74612   3FADP4BJ1KM137318   Ford         FIESTA              FRESNO                    CA
74613   3FADP4BJ1KM138422   Ford         FIESTA              EULESS                    TX
74614   3FADP4BJ1KM138484   Ford         FIESTA              Cleveland                 OH
74615   3FADP4BJ1KM143247   Ford         FIESTA              Pittsburgh                PA
74616   3FADP4BJ1KM148478   Ford         FIESTA              EULESS                    TX
74617   3FADP4BJ1KM148514   Ford         FIESTA              Phoenix                   AZ
74618   3FADP4BJ1KM148805   Ford         FIESTA              PHOENIX                   AZ
74619   3FADP4BJ1KM150277   Ford         FIESTA              DES MOINES                IA
74620   3FADP4BJ1KM150389   Ford         FIESTA              KNOXVILLE                 TN
74621   3FADP4BJ1KM150652   Ford         FIESTA              Ventura                   CA
74622   3FADP4BJ2HM147011   Ford         FIESTA              Jacksonville              FL
74623   3FADP4BJ2KM103176   Ford         FIESTA              Atlanta                   GA
74624   3FADP4BJ2KM103226   Ford         FIESTA              PHOENIX                   AZ
74625   3FADP4BJ2KM103260   Ford         FIESTA              COLUMBIA                  SC
74626   3FADP4BJ2KM103288   Ford         FIESTA              Orlando                   FL
74627   3FADP4BJ2KM103291   Ford         FIESTA              Detroit                   MI
74628   3FADP4BJ2KM105249   Ford         FIESTA              CORINTH                   MS
74629   3FADP4BJ2KM105266   Ford         FIESTA              ORLANDO                   FL
74630   3FADP4BJ2KM105283   Ford         FIESTA              MIAMI                     FL
74631   3FADP4BJ2KM105297   Ford         FIESTA              Sacramento                CA
74632   3FADP4BJ2KM105431   Ford         FIESTA              Oklahoma City             OK
74633   3FADP4BJ2KM105543   Ford         FIESTA              ATLANTA                   GA
74634   3FADP4BJ2KM105574   Ford         FIESTA              Harvey                    LA
74635   3FADP4BJ2KM105641   Ford         FIESTA              HAMPTON                   VA
74636   3FADP4BJ2KM105719   Ford         FIESTA              Detroit                   MI
74637   3FADP4BJ2KM105929   Ford         FIESTA              Chicago                   IL
74638   3FADP4BJ2KM105994   Ford         FIESTA              GREENSBORO                NC
74639   3FADP4BJ2KM106062   Ford         FIESTA              Nashville                 TN
74640   3FADP4BJ2KM106126   Ford         FIESTA              Hanover                   MD
74641   3FADP4BJ2KM106319   Ford         FIESTA              San Antonio               TX
74642   3FADP4BJ2KM106756   Ford         FIESTA              Tolleson                  AZ
74643   3FADP4BJ2KM106904   Ford         FIESTA              Hapeville                 GA
74644   3FADP4BJ2KM107003   Ford         FIESTA              MIAMI                     FL
74645   3FADP4BJ2KM107261   Ford         FIESTA              Columbus                  OH
74646   3FADP4BJ2KM107356   Ford         FIESTA              Tampa                     FL
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74647   3FADP4BJ2KM107373   Ford         FIESTA              Phoenix                   AZ
74648   3FADP4BJ2KM112542   Ford         FIESTA              WILMINGTON AP             NC
74649   3FADP4BJ2KM112637   Ford         FIESTA              Cincinnati                OH
74650   3FADP4BJ2KM112654   Ford         FIESTA              Torrance                  CA
74651   3FADP4BJ2KM123332   Ford         FIESTA              REDMOND                   OR
74652   3FADP4BJ2KM123587   Ford         FIESTA              Tampa                     FL
74653   3FADP4BJ2KM124044   Ford         FIESTA              KNOXVILLE                 TN
74654   3FADP4BJ2KM131012   Ford         FIESTA              OAKLAND                   CA
74655   3FADP4BJ2KM131205   Ford         FIESTA              Riverside                 CA
74656   3FADP4BJ2KM132984   Ford         FIESTA              SOUTHEAST DST OFFC        OK
74657   3FADP4BJ2KM133133   Ford         FIESTA              Coraopolis                PA
74658   3FADP4BJ2KM133200   Ford         FIESTA              BALTIMORE                 MD
74659   3FADP4BJ2KM133374   Ford         FIESTA              PLEASANTON                CA
74660   3FADP4BJ2KM134346   Ford         FIESTA              San Antonio               TX
74661   3FADP4BJ2KM137019   Ford         FIESTA              DENVER                    CO
74662   3FADP4BJ2KM137179   Ford         FIESTA              Ventura                   CA
74663   3FADP4BJ2KM137277   Ford         FIESTA              Costa Mesa                CA
74664   3FADP4BJ2KM137280   Ford         FIESTA              Riverside                 CA
74665   3FADP4BJ2KM137442   Ford         FIESTA              Warr Acres                OK
74666   3FADP4BJ2KM137716   Ford         FIESTA              FORT MYERS                FL
74667   3FADP4BJ2KM137764   Ford         FIESTA              MEMPHIS                   TN
74668   3FADP4BJ2KM138428   Ford         FIESTA              Omaha                     NE
74669   3FADP4BJ2KM148425   Ford         FIESTA              EWA BEACH                 HI
74670   3FADP4BJ2KM148893   Ford         FIESTA              Wood Cross                UT
74671   3FADP4BJ2KM149560   Ford         FIESTA              St. Louis                 MO
74672   3FADP4BJ2KM149817   Ford         FIESTA              Burien                    WA
74673   3FADP4BJ2KM150305   Ford         FIESTA              Detroit                   MI
74674   3FADP4BJ2KM150336   Ford         FIESTA              Hebron                    KY
74675   3FADP4BJ2KM150482   Ford         FIESTA              Florissant                MO
74676   3FADP4BJ2KM150532   Ford         FIESTA              Lexington                 KY
74677   3FADP4BJ2KM150546   Ford         FIESTA              Hebron                    KY
74678   3FADP4BJ3HM135563   Ford         FIESTA              Cincinnati                OH
74679   3FADP4BJ3HM158244   Ford         FIESTA              TUCSON                    AZ
74680   3FADP4BJ3KM103221   Ford         FIESTA              Indianapolis              IN
74681   3FADP4BJ3KM105261   Ford         FIESTA              Miami                     FL
74682   3FADP4BJ3KM105664   Ford         FIESTA              Florissant                MO
74683   3FADP4BJ3KM105731   Ford         FIESTA              Hendersonville            TN
74684   3FADP4BJ3KM105938   Ford         FIESTA              Indianapolis              IN
74685   3FADP4BJ3KM106054   Ford         FIESTA              Hanover                   MD
74686   3FADP4BJ3KM106071   Ford         FIESTA              Chicago                   IL
74687   3FADP4BJ3KM106183   Ford         FIESTA              Baltimore                 MD
74688   3FADP4BJ3KM106233   Ford         FIESTA              ORLANDO                   FL
74689   3FADP4BJ3KM106328   Ford         FIESTA              TULSA                     OK
74690   3FADP4BJ3KM106443   Ford         FIESTA              ORLANDO                   FL
74691   3FADP4BJ3KM106474   Ford         FIESTA              Orlando                   FL
74692   3FADP4BJ3KM106670   Ford         FIESTA              MEDINA                    OH
74693   3FADP4BJ3KM106975   Ford         FIESTA              Miami                     FL
74694   3FADP4BJ3KM106989   Ford         FIESTA              Estero                    FL
74695   3FADP4BJ3KM107267   Ford         FIESTA              MOBILE                    A
74696   3FADP4BJ3KM112548   Ford         FIESTA              Estero                    FL
74697   3FADP4BJ3KM112596   Ford         FIESTA              Jamaica                   NY
74698   3FADP4BJ3KM123307   Ford         FIESTA              Roseville                 CA
74699   3FADP4BJ3KM123727   Ford         FIESTA              GLASSBORO                 NJ
74700   3FADP4BJ3KM124019   Ford         FIESTA              HOLLY HILL                FL
74701   3FADP4BJ3KM124344   Ford         FIESTA              San Antonio               TX
74702   3FADP4BJ3KM128054   Ford         FIESTA              Rockville Centr           NY
74703   3FADP4BJ3KM128152   Ford         FIESTA              COLUMBIA                  SC
74704   3FADP4BJ3KM133075   Ford         FIESTA              Phoenix                   AZ
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74705   3FADP4BJ3KM133108   Ford         FIESTA              Kansas City               MO
74706   3FADP4BJ3KM133142   Ford         FIESTA              Killeen                   TX
74707   3FADP4BJ3KM133187   Ford         FIESTA              CHICAGO                   IL
74708   3FADP4BJ3KM133190   Ford         FIESTA              Coraopolis                PA
74709   3FADP4BJ3KM133772   Ford         FIESTA              Portland                  OR
74710   3FADP4BJ3KM137269   Ford         FIESTA              LAS VEGAS                 NV
74711   3FADP4BJ3KM137336   Ford         FIESTA              PASADENA                  CA
74712   3FADP4BJ3KM137451   Ford         FIESTA              Anaheim                   CA
74713   3FADP4BJ3KM137708   Ford         FIESTA              PHILADELPHIA              PA
74714   3FADP4BJ3KM137756   Ford         FIESTA              FORT MYERS                FL
74715   3FADP4BJ3KM149177   Ford         FIESTA              LOS ANGELES               CA
74716   3FADP4BJ3KM149227   Ford         FIESTA              Houston                   TX
74717   3FADP4BJ3KM149745   Ford         FIESTA              Colorado Spring           CO
74718   3FADP4BJ3KM150104   Ford         FIESTA              Fresno                    CA
74719   3FADP4BJ3KM150295   Ford         FIESTA              Hebron                    KY
74720   3FADP4BJ3KM150300   Ford         FIESTA              Columbus                  OH
74721   3FADP4BJ3KM150331   Ford         FIESTA              Indianapolis              IN
74722   3FADP4BJ3KM150488   Ford         FIESTA              DES MOINES                IA
74723   3FADP4BJ4GM178503   Ford         FIESTA              Tampa                     FL
74724   3FADP4BJ4KM103180   Ford         FIESTA              ORLANDO                   FL
74725   3FADP4BJ4KM103261   Ford         FIESTA              SEATAC                    WA
74726   3FADP4BJ4KM103292   Ford         FIESTA              FORT MYERS                FL
74727   3FADP4BJ4KM105544   Ford         FIESTA              Rockville Centr           NY
74728   3FADP4BJ4KM105575   Ford         FIESTA              Slidell                   LA
74729   3FADP4BJ4KM105656   Ford         FIESTA              Florissant                MO
74730   3FADP4BJ4KM105995   Ford         FIESTA              SOUTHEAST DST OFFC        OK
74731   3FADP4BJ4KM106029   Ford         FIESTA              Amarillo                  TX
74732   3FADP4BJ4KM106127   Ford         FIESTA              Smithtown                 NY
74733   3FADP4BJ4KM106239   Ford         FIESTA              Morrisville               NC
74734   3FADP4BJ4KM106290   Ford         FIESTA              SOUTHEAST DST OFFC        OK
74735   3FADP4BJ4KM106449   Ford         FIESTA              ORLANDO                   FL
74736   3FADP4BJ4KM106466   Ford         FIESTA              Nashville                 TN
74737   3FADP4BJ4KM106662   Ford         FIESTA              NASHVILLE                 TN
74738   3FADP4BJ4KM106838   Ford         FIESTA              Winter Park               FL
74739   3FADP4BJ4KM123316   Ford         FIESTA              PHOENIX                   AZ
74740   3FADP4BJ4KM132937   Ford         FIESTA              Slidell                   LA
74741   3FADP4BJ4KM133022   Ford         FIESTA              Burien                    WA
74742   3FADP4BJ4KM133070   Ford         FIESTA              Salt Lake City            UT
74743   3FADP4BJ4KM133084   Ford         FIESTA              SAN DIEGO                 CA
74744   3FADP4BJ4KM133098   Ford         FIESTA              Memphis                   TN
74745   3FADP4BJ4KM133666   Ford         FIESTA              FRESNO                    CA
74746   3FADP4BJ4KM134140   Ford         FIESTA              COLUMBIA                  SC
74747   3FADP4BJ4KM134185   Ford         FIESTA              TITUSVILLE                FL
74748   3FADP4BJ4KM137037   Ford         FIESTA              Tulsa                     OK
74749   3FADP4BJ4KM137054   Ford         FIESTA              Colorado Spring           CO
74750   3FADP4BJ4KM137202   Ford         FIESTA              Riverside                 CA
74751   3FADP4BJ4KM137300   Ford         FIESTA              Roseville                 CA
74752   3FADP4BJ4KM137345   Ford         FIESTA              PHOENIX                   AZ
74753   3FADP4BJ4KM137359   Ford         FIESTA              LAS VEGAS                 NV
74754   3FADP4BJ4KM137409   Ford         FIESTA              SAN FRANCISCO             CA
74755   3FADP4BJ4KM138706   Ford         FIESTA              Baltimore                 MD
74756   3FADP4BJ4KM138849   Ford         FIESTA              AUSTIN                    TX
74757   3FADP4BJ4KM143887   Ford         FIESTA              SAN FRANCISCO             CA
74758   3FADP4BJ4KM148328   Ford         FIESTA
74759   3FADP4BJ4KM148443   Ford         FIESTA              Honolulu                  HI
74760   3FADP4BJ4KM148488   Ford         FIESTA              WEST DUNDEE               IL
74761   3FADP4BJ4KM148491   Ford         FIESTA              Hamilton                  OH
74762   3FADP4BJ4KM148863   Ford         FIESTA              LAS VEGAS                 NV
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74763   3FADP4BJ4KM149219   Ford         FIESTA              MARIETTA                  GA
74764   3FADP4BJ4KM149558   Ford         FIESTA              Florissant                MO
74765   3FADP4BJ4KM149737   Ford         FIESTA              Portland                  OR
74766   3FADP4BJ4KM150614   Ford         FIESTA              San Diego                 CA
74767   3FADP4BJ5HM143728   Ford         FIESTA              SAN DIEGO                 CA
74768   3FADP4BJ5KM103253   Ford         FIESTA              Harvey                    LA
74769   3FADP4BJ5KM105536   Ford         FIESTA              Baltimore                 MD
74770   3FADP4BJ5KM105567   Ford         FIESTA              SOUTH BEND                IN
74771   3FADP4BJ5KM105648   Ford         FIESTA              Chicago                   IL
74772   3FADP4BJ5KM105939   Ford         FIESTA
74773   3FADP4BJ5KM106024   Ford         FIESTA              Oklahoma City             OK
74774   3FADP4BJ5KM106444   Ford         FIESTA              Lake in the Hil           IL
74775   3FADP4BJ5KM106458   Ford         FIESTA              DES MOINES                IA
74776   3FADP4BJ5KM106508   Ford         FIESTA              Warr Acres                OK
74777   3FADP4BJ5KM106976   Ford         FIESTA              Florissant                MO
74778   3FADP4BJ5KM107173   Ford         FIESTA              Winter Park               FL
74779   3FADP4BJ5KM107268   Ford         FIESTA              Lake in the Hil           IL
74780   3FADP4BJ5KM112583   Ford         FIESTA              Hendersonville            TN
74781   3FADP4BJ5KM112664   Ford         FIESTA              SANFORD                   FL
74782   3FADP4BJ5KM124023   Ford         FIESTA              Smithtown                 NY
74783   3FADP4BJ5KM124037   Ford         FIESTA              CLARKSVILLE               IN
74784   3FADP4BJ5KM128041   Ford         FIESTA              CLARKSVILLE               IN
74785   3FADP4BJ5KM128167   Ford         FIESTA              WASHINGTON DC             MD
74786   3FADP4BJ5KM131182   Ford         FIESTA              Houston                   TX
74787   3FADP4BJ5KM131196   Ford         FIESTA              Stockton                  CA
74788   3FADP4BJ5KM133188   Ford         FIESTA              Phoenix                   AZ
74789   3FADP4BJ5KM133661   Ford         FIESTA              Riverside                 CA
74790   3FADP4BJ5KM136480   Ford         FIESTA              Orlando                   FL
74791   3FADP4BJ5KM137113   Ford         FIESTA              Pittsburgh                PA
74792   3FADP4BJ5KM137211   Ford         FIESTA              Portland                  OR
74793   3FADP4BJ5KM137273   Ford         FIESTA              Anaheim                   CA
74794   3FADP4BJ5KM137287   Ford         FIESTA              Portland                  OR
74795   3FADP4BJ5KM137290   Ford         FIESTA              Portland                  OR
74796   3FADP4BJ5KM137368   Ford         FIESTA              FULLERTON                 CA
74797   3FADP4BJ5KM137399   Ford         FIESTA              Stockton                  CA
74798   3FADP4BJ5KM143199   Ford         FIESTA              NEW BERN                  NC
74799   3FADP4BJ5KM143641   Ford         FIESTA              Anaheim                   CA
74800   3FADP4BJ5KM148533   Ford         FIESTA              Oklahoma City             OK
74801   3FADP4BJ5KM148743   Ford         FIESTA              Elgin                     IL
74802   3FADP4BJ5KM148760   Ford         FIESTA              DES MOINES                IA
74803   3FADP4BJ5KM149424   Ford         FIESTA              San Diego                 CA
74804   3FADP4BJ5KM149472   Ford         FIESTA              Portland                  OR
74805   3FADP4BJ5KM149570   Ford         FIESTA              CLARKSVILLE               IN
74806   3FADP4BJ5KM149987   Ford         FIESTA              WILMINGTON                CA
74807   3FADP4BJ5KM150296   Ford         FIESTA              Vandalia                  OH
74808   3FADP4BJ5KM150394   Ford         FIESTA              Hendersonville            TN
74809   3FADP4BJ5KM150508   Ford         FIESTA              NASHVILLE                 TN
74810   3FADP4BJ5KM150542   Ford         FIESTA              Hapeville                 GA
74811   3FADP4BJ6HM143575   Ford         FIESTA              MILWAUKEE                 WI
74812   3FADP4BJ6KM103181   Ford         FIESTA              Memphis                   TN
74813   3FADP4BJ6KM105254   Ford         FIESTA              KNOXVILLE                 TN
74814   3FADP4BJ6KM105321   Ford         FIESTA              Miami                     FL
74815   3FADP4BJ6KM105805   Ford         FIESTA              Killeen                   TX
74816   3FADP4BJ6KM105979   Ford         FIESTA              Memphis                   TN
74817   3FADP4BJ6KM106145   Ford         FIESTA              Newark                    NJ
74818   3FADP4BJ6KM106341   Ford         FIESTA              Orlando                   FL
74819   3FADP4BJ6KM106484   Ford         FIESTA              Tulsa                     OK
74820   3FADP4BJ6KM106498   Ford         FIESTA              Dallas                    TX
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74821   3FADP4BJ6KM106517   Ford         FIESTA              ORLANDO                   FL
74822   3FADP4BJ6KM106856   Ford         FIESTA              DALLAS                    TX
74823   3FADP4BJ6KM106887   Ford         FIESTA              Hamilton                  OH
74824   3FADP4BJ6KM106906   Ford         FIESTA              Smithtown                 NY
74825   3FADP4BJ6KM106940   Ford         FIESTA              WEST PALM BEACH           FL
74826   3FADP4BJ6KM107005   Ford         FIESTA              Winter Park               FL
74827   3FADP4BJ6KM107148   Ford         FIESTA              BALTIMORE                 MD
74828   3FADP4BJ6KM107151   Ford         FIESTA              MEDINA                    OH
74829   3FADP4BJ6KM107280   Ford         FIESTA              WEST PALM BEACH           FL
74830   3FADP4BJ6KM107294   Ford         FIESTA              Austell                   GA
74831   3FADP4BJ6KM112544   Ford         FIESTA              FORT MYERS                FL
74832   3FADP4BJ6KM112706   Ford         FIESTA              ATLANTA                   GA
74833   3FADP4BJ6KM132891   Ford         FIESTA              WILMINGTON                CA
74834   3FADP4BJ6KM132955   Ford         FIESTA              Schaumburg                IL
74835   3FADP4BJ6KM133054   Ford         FIESTA              KANSAS CITY               MO
74836   3FADP4BJ6KM133359   Ford         FIESTA              CLARKSVILLE               IN
74837   3FADP4BJ6KM134186   Ford         FIESTA              Warr Acres                OK
74838   3FADP4BJ6KM134334   Ford         FIESTA              ATLANTA                   GA
74839   3FADP4BJ6KM136536   Ford         FIESTA              Lynn                      MA
74840   3FADP4BJ6KM136679   Ford         FIESTA              DES MOINES                IA
74841   3FADP4BJ6KM137007   Ford         FIESTA              ALBUQERQUE                NM
74842   3FADP4BJ6KM137055   Ford         FIESTA              Phoenix                   AZ
74843   3FADP4BJ6KM137220   Ford         FIESTA              BURBANK                   CA
74844   3FADP4BJ6KM137718   Ford         FIESTA              Smithtown                 NY
74845   3FADP4BJ6KM138092   Ford         FIESTA              Phoenix                   AZ
74846   3FADP4BJ6KM143373   Ford         FIESTA              Burien                    WA
74847   3FADP4BJ6KM143518   Ford         FIESTA              ONTARIO                   CA
74848   3FADP4BJ6KM143891   Ford         FIESTA              SAN FRANCISCO             CA
74849   3FADP4BJ6KM143969   Ford         FIESTA              Kansas City               MO
74850   3FADP4BJ6KM149318   Ford         FIESTA              Cincinnati                OH
74851   3FADP4BJ6KM150176   Ford         FIESTA              Pittsburgh                PA
74852   3FADP4BJ6KM150324   Ford         FIESTA              Cincinnati                OH
74853   3FADP4BJ6KM150341   Ford         FIESTA              Columbus                  OH
74854   3FADP4BJ6KM150369   Ford         FIESTA              Hamilton                  OH
74855   3FADP4BJ6KM150386   Ford         FIESTA              Medford                   NY
74856   3FADP4BJ7KM103223   Ford         FIESTA              FORT MYERS                FL
74857   3FADP4BJ7KM103254   Ford         FIESTA              ATLANTA                   GA
74858   3FADP4BJ7KM103285   Ford         FIESTA              TAMPA                     FL
74859   3FADP4BJ7KM105246   Ford         FIESTA              Alexandria                VA
74860   3FADP4BJ7KM105425   Ford         FIESTA              KNOXVILLE                 TN
74861   3FADP4BJ7KM105571   Ford         FIESTA              Slidell                   LA
74862   3FADP4BJ7KM105747   Ford         FIESTA              CHICAGO                   IL
74863   3FADP4BJ7KM105988   Ford         FIESTA              KANSAS CITY               MO
74864   3FADP4BJ7KM106039   Ford         FIESTA              Sacramento                CA
74865   3FADP4BJ7KM106283   Ford         FIESTA              Killeen                   TX
74866   3FADP4BJ7KM106333   Ford         FIESTA              KENNER                    LA
74867   3FADP4BJ7KM106512   Ford         FIESTA              ORLANDO                   FL
74868   3FADP4BJ7KM106753   Ford         FIESTA              Denver                    CO
74869   3FADP4BJ7KM106784   Ford         FIESTA              New Britain               CT
74870   3FADP4BJ7KM107000   Ford         FIESTA              N. Palm Beach             FL
74871   3FADP4BJ7KM107269   Ford         FIESTA              Baltimore                 MD
74872   3FADP4BJ7KM107286   Ford         FIESTA              Slidell                   LA
74873   3FADP4BJ7KM112598   Ford         FIESTA              Harvey                    LA
74874   3FADP4BJ7KM112603   Ford         FIESTA              Hebron                    KY
74875   3FADP4BJ7KM112665   Ford         FIESTA              Houston                   TX
74876   3FADP4BJ7KM123391   Ford         FIESTA              FORT MYERS                FL
74877   3FADP4BJ7KM123570   Ford         FIESTA              Coraopolis                PA
74878   3FADP4BJ7KM128042   Ford         FIESTA              KNOXVILLE                 TN
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74879   3FADP4BJ7KM130602   Ford         FIESTA              Denver                    CO
74880   3FADP4BJ7KM132950   Ford         FIESTA              Austin                    TX
74881   3FADP4BJ7KM133080   Ford         FIESTA              Phoenix                   AZ
74882   3FADP4BJ7KM133127   Ford         FIESTA              San Antonio               TX
74883   3FADP4BJ7KM133130   Ford         FIESTA              Lubbock                   TX
74884   3FADP4BJ7KM133645   Ford         FIESTA              Tolleson                  AZ
74885   3FADP4BJ7KM133936   Ford         FIESTA              AUGUSTA                   GA
74886   3FADP4BJ7KM134049   Ford         FIESTA              FORT MYERS                FL
74887   3FADP4BJ7KM134200   Ford         FIESTA              Houston                   TX
74888   3FADP4BJ7KM137260   Ford         FIESTA              LAS VEGAS                 NV
74889   3FADP4BJ7KM137338   Ford         FIESTA              Scottsdale                AZ
74890   3FADP4BJ7KM137422   Ford         FIESTA              SACRAMENTO                CA
74891   3FADP4BJ7KM138568   Ford         FIESTA              Smithtown                 NY
74892   3FADP4BJ7KM143219   Ford         FIESTA              Cincinnati                OH
74893   3FADP4BJ7KM143561   Ford         FIESTA              Riverside                 CA
74894   3FADP4BJ7KM143947   Ford         FIESTA              TRACY                     CA
74895   3FADP4BJ7KM148419   Ford         FIESTA              Honolulu                  HI
74896   3FADP4BJ7KM149263   Ford         FIESTA              EWA BEACH                 HI
74897   3FADP4BJ7KM149554   Ford         FIESTA              Bridgeton                 MO
74898   3FADP4BJ7KM149599   Ford         FIESTA              Florissant                MO
74899   3FADP4BJ7KM150008   Ford         FIESTA              Houston                   TX
74900   3FADP4BJ7KM150400   Ford         FIESTA              Columbus                  OH
74901   3FADP4BJ8HM131895   Ford         FIESTA              Baltimore                 MD
74902   3FADP4BJ8JM128887   Ford         FIESTA              Indianapolis              IN
74903   3FADP4BJ8KM103165   Ford         FIESTA              Memphis                   TN
74904   3FADP4BJ8KM103232   Ford         FIESTA              San Diego                 CA
74905   3FADP4BJ8KM103277   Ford         FIESTA              Winston‐Salem             NC
74906   3FADP4BJ8KM105286   Ford         FIESTA              MIAMI                     FL
74907   3FADP4BJ8KM105434   Ford         FIESTA              Winston‐Salem             NC
74908   3FADP4BJ8KM105479   Ford         FIESTA              Hamilton                  OH
74909   3FADP4BJ8KM105563   Ford         FIESTA              Memphis                   TN
74910   3FADP4BJ8KM105725   Ford         FIESTA              FORT MYERS                FL
74911   3FADP4BJ8KM105739   Ford         FIESTA              Hamilton                  OH
74912   3FADP4BJ8KM106034   Ford         FIESTA              Slidell                   LA
74913   3FADP4BJ8KM106292   Ford         FIESTA              TAMPA                     FL
74914   3FADP4BJ8KM106308   Ford         FIESTA              ORLANDO                   FL
74915   3FADP4BJ8KM106454   Ford         FIESTA              Hendersonville            TN
74916   3FADP4BJ8KM106471   Ford         FIESTA              Estero                    FL
74917   3FADP4BJ8KM106776   Ford         FIESTA              Newark                    NJ
74918   3FADP4BJ8KM106809   Ford         FIESTA              Riverside                 CA
74919   3FADP4BJ8KM106938   Ford         FIESTA              FORT LAUDERDALE           FL
74920   3FADP4BJ8KM106941   Ford         FIESTA              Tampa                     FL
74921   3FADP4BJ8KM107152   Ford         FIESTA              MEDINA                    OH
74922   3FADP4BJ8KM107166   Ford         FIESTA              Bensalem                  PA
74923   3FADP4BJ8KM107281   Ford         FIESTA              Baltimore                 MD
74924   3FADP4BJ8KM107362   Ford         FIESTA              Hanover                   MD
74925   3FADP4BJ8KM112576   Ford         FIESTA              Winter Park               FL
74926   3FADP4BJ8KM112612   Ford         FIESTA              SANFORD                   FL
74927   3FADP4BJ8KM123318   Ford         FIESTA              Vandalia                  OH
74928   3FADP4BJ8KM124369   Ford         FIESTA              Massapequa                NY
74929   3FADP4BJ8KM131175   Ford         FIESTA              Houston                   TX
74930   3FADP4BJ8KM133024   Ford         FIESTA              OAKLAND                   CA
74931   3FADP4BJ8KM133105   Ford         FIESTA              Newark                    NJ
74932   3FADP4BJ8KM133198   Ford         FIESTA              Rockville Centr           NY
74933   3FADP4BJ8KM133735   Ford         FIESTA              Beaverton                 OR
74934   3FADP4BJ8KM134058   Ford         FIESTA              Tampa                     FL
74935   3FADP4BJ8KM134254   Ford         FIESTA              Marietta                  GA
74936   3FADP4BJ8KM134271   Ford         FIESTA              NASHVILLE                 TN
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74937   3FADP4BJ8KM134352   Ford         FIESTA              PHOENIX                   AZ
74938   3FADP4BJ8KM138868   Ford         FIESTA              ORLANDO                   FL
74939   3FADP4BJ8KM143634   Ford         FIESTA              Costa Mesa                CA
74940   3FADP4BJ8KM148087   Ford         FIESTA              EULESS                    TX
74941   3FADP4BJ8KM149353   Ford         FIESTA              Austell                   GA
74942   3FADP4BJ8KM150096   Ford         FIESTA              Sacramento                CA
74943   3FADP4BJ8KM150504   Ford         FIESTA              Austell                   GA
74944   3FADP4BJ9KM103238   Ford         FIESTA              TAMPA                     FL
74945   3FADP4BJ9KM103241   Ford         FIESTA              ORLANDO                   FL
74946   3FADP4BJ9KM105314   Ford         FIESTA              SARASOTA                  FL
74947   3FADP4BJ9KM105670   Ford         FIESTA              MEDINA                    OH
74948   3FADP4BJ9KM105717   Ford         FIESTA              Johnston                  RI
74949   3FADP4BJ9KM106026   Ford         FIESTA              SOUTHEAST DST OFFC        OK
74950   3FADP4BJ9KM106057   Ford         FIESTA              TAMPA                     FL
74951   3FADP4BJ9KM106236   Ford         FIESTA              TAMPA                     FL
74952   3FADP4BJ9KM106527   Ford         FIESTA              Miami                     FL
74953   3FADP4BJ9KM106530   Ford         FIESTA              Davie                     FL
74954   3FADP4BJ9KM106754   Ford         FIESTA              Torrance                  CA
74955   3FADP4BJ9KM107144   Ford         FIESTA              Baltimore                 MD
74956   3FADP4BJ9KM107256   Ford         FIESTA              MEDINA                    OH
74957   3FADP4BJ9KM112604   Ford         FIESTA              SOUTHEAST DST OFFC        OK
74958   3FADP4BJ9KM123585   Ford         FIESTA              Winter Park               FL
74959   3FADP4BJ9KM123683   Ford         FIESTA              Nashville                 TN
74960   3FADP4BJ9KM123697   Ford         FIESTA              HANOVER                   MD
74961   3FADP4BJ9KM128155   Ford         FIESTA              Hamilton                  OH
74962   3FADP4BJ9KM128169   Ford         FIESTA              ORLANDO                   FL
74963   3FADP4BJ9KM130567   Ford         FIESTA              NASHVILLE                 TN
74964   3FADP4BJ9KM131184   Ford         FIESTA              Roseville                 CA
74965   3FADP4BJ9KM133890   Ford         FIESTA              Ventura                   CA
74966   3FADP4BJ9KM134019   Ford         FIESTA              COLUMBIA                  SC
74967   3FADP4BJ9KM137180   Ford         FIESTA              LOS ANGELES               CA
74968   3FADP4BJ9KM137230   Ford         FIESTA              Hayward                   CA
74969   3FADP4BJ9KM137289   Ford         FIESTA              SAN FRANCISCO             CA
74970   3FADP4BJ9KM137311   Ford         FIESTA              Riverside                 CA
74971   3FADP4BJ9KM143609   Ford         FIESTA              SAN DIEGO                 CA
74972   3FADP4BJ9KM143612   Ford         FIESTA              Salt Lake City            UT
74973   3FADP4BJ9KM143917   Ford         FIESTA              PHOENIX                   AZ
74974   3FADP4BJ9KM149152   Ford         FIESTA              SANTA ANA                 CA
74975   3FADP4BJ9KM149278   Ford         FIESTA              EWA BEACH                 HI
74976   3FADP4BJ9KM150303   Ford         FIESTA              Warr Acres                OK
74977   3FADP4BJ9KM150379   Ford         FIESTA              INDIANAPOLIS              IN
74978   3FADP4BJXHM145152   Ford         FIESTA              seatac                    wa
74979   3FADP4BJXHM145197   Ford         FIESTA              Ventura                   CA
74980   3FADP4BJXKM103166   Ford         FIESTA              ORLANDO                   FL
74981   3FADP4BJXKM103202   Ford         FIESTA              Florissant                MO
74982   3FADP4BJXKM103233   Ford         FIESTA              Clearwater                FL
74983   3FADP4BJXKM105421   Ford         FIESTA              FORT MYERS                FL
74984   3FADP4BJXKM105497   Ford         FIESTA              Harvey                    LA
74985   3FADP4BJXKM105564   Ford         FIESTA              SOUTHEAST DST OFFC        OK
74986   3FADP4BJXKM106178   Ford         FIESTA              Nashville                 TN
74987   3FADP4BJXKM106228   Ford         FIESTA              MORROW                    GA
74988   3FADP4BJXKM106312   Ford         FIESTA              SARASOTA                  FL
74989   3FADP4BJXKM106343   Ford         FIESTA              Omaha                     NE
74990   3FADP4BJXKM106486   Ford         FIESTA              JACKSONVILLE              FL
74991   3FADP4BJXKM106505   Ford         FIESTA              ORLANDO                   FL
74992   3FADP4BJXKM106536   Ford         FIESTA              WEST PALM BEACH           FL
74993   3FADP4BJXKM106679   Ford         FIESTA              Massapequa                NY
74994   3FADP4BJXKM106682   Ford         FIESTA              Baltimore                 MD
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74995   3FADP4BJXKM107086   Ford         FIESTA              Coraopolis                PA
74996   3FADP4BJXKM107220   Ford         FIESTA              Hurricane                 WV
74997   3FADP4BJXKM123563   Ford         FIESTA              Jacksonville              FL
74998   3FADP4BJXKM131193   Ford         FIESTA              SAINT LOUIS               MO
74999   3FADP4BJXKM132893   Ford         FIESTA              Ventura                   CA
75000   3FADP4BJXKM133185   Ford         FIESTA              CHICAGO                   IL
75001   3FADP4BJXKM133364   Ford         FIESTA              CHATTANOOGA               TN
75002   3FADP4BJXKM133381   Ford         FIESTA              Tulsa                     OK
75003   3FADP4BJXKM134191   Ford         FIESTA              Irving                    TX
75004   3FADP4BJXKM137043   Ford         FIESTA              Kansas City               MO
75005   3FADP4BJXKM137222   Ford         FIESTA              CORPUS CHRISTI            TX
75006   3FADP4BJXKM137723   Ford         FIESTA              Florissant                MO
75007   3FADP4BJXKM143425   Ford         FIESTA              Portland                  OR
75008   3FADP4BJXKM143960   Ford         FIESTA              Hayward                   CA
75009   3FADP4BJXKM148687   Ford         FIESTA              Houston                   TX
75010   3FADP4BJXKM148768   Ford         FIESTA              FORT MYERS                FL
75011   3FADP4BJXKM149354   Ford         FIESTA              Orlando                   FL
75012   3FADP4BJXKM149533   Ford         FIESTA              LIHUE                     HI
75013   3FADP4BJXKM149578   Ford         FIESTA              SAINT LOUIS               MO
75014   3FADP4BJXKM150276   Ford         FIESTA              Cleveland                 OH
75015   3FADP4BJXKM150357   Ford         FIESTA              Hebron                    KY
75016   3FADP4EJ0KM105357   Ford         FIESTA              FORT LAUDERDALE           FL
75017   3FADP4EJ0KM105410   Ford         FIESTA              Miami                     FL
75018   3FADP4EJ0KM105780   Ford         FIESTA              PHOENIX                   AZ
75019   3FADP4EJ0KM105908   Ford         FIESTA              MIAMI                     FL
75020   3FADP4EJ0KM112616   Ford         FIESTA              WEST PALM BEACH           FL
75021   3FADP4EJ0KM123938   Ford         FIESTA              Winter Park               FL
75022   3FADP4EJ0KM123941   Ford         FIESTA              ORLANDO                   FL
75023   3FADP4EJ0KM128007   Ford         FIESTA              Columbus                  OH
75024   3FADP4EJ0KM133577   Ford         FIESTA              St. Louis                 MO
75025   3FADP4EJ0KM133613   Ford         FIESTA              Beaverton                 OR
75026   3FADP4EJ0KM136835   Ford         FIESTA              EIGHT MILE                AL
75027   3FADP4EJ0KM136866   Ford         FIESTA              Saint Paul                MN
75028   3FADP4EJ0KM138732   Ford         FIESTA              WARWICK                   RI
75029   3FADP4EJ0KM143753   Ford         FIESTA              SANTA CLARA               CA
75030   3FADP4EJ0KM148385   Ford         FIESTA              Florissant                MO
75031   3FADP4EJ0KM150573   Ford         FIESTA              Grove City                OH
75032   3FADP4EJ1GM156728   Ford         FIESTA              Austin                    TX
75033   3FADP4EJ1KM105397   Ford         FIESTA              Orlando                   FL
75034   3FADP4EJ1KM105593   Ford         FIESTA              Columbus                  OH
75035   3FADP4EJ1KM105898   Ford         FIESTA              Houston                   TX
75036   3FADP4EJ1KM106078   Ford         FIESTA              DFW AIRPORT               TX
75037   3FADP4EJ1KM106260   Ford         FIESTA              DALLAS                    TX
75038   3FADP4EJ1KM106596   Ford         FIESTA              Nashville                 TN
75039   3FADP4EJ1KM106713   Ford         FIESTA              ORLANDO                   FL
75040   3FADP4EJ1KM106923   Ford         FIESTA              Hebron                    KY
75041   3FADP4EJ1KM124001   Ford         FIESTA              FORT MYERS                FL
75042   3FADP4EJ1KM132793   Ford         FIESTA              Statesville               NC
75043   3FADP4EJ1KM133278   Ford         FIESTA              BOSTON                    MA
75044   3FADP4EJ1KM133572   Ford         FIESTA              PITTSBURGH                PA
75045   3FADP4EJ1KM133880   Ford         FIESTA              LOS ANGELES               CA
75046   3FADP4EJ1KM136620   Ford         FIESTA              EGG HARBOR TOWN           NJ
75047   3FADP4EJ1KM136648   Ford         FIESTA              Medford                   NY
75048   3FADP4EJ1KM136763   Ford         FIESTA              FORT MYERS                FL
75049   3FADP4EJ1KM138464   Ford         FIESTA              Jacksonville              FL
75050   3FADP4EJ1KM148279   Ford         FIESTA              Syracuse                  NY
75051   3FADP4EJ1KM149254   Ford         FIESTA              Pittsburgh                PA
75052   3FADP4EJ1KM149335   Ford         FIESTA              FORT MYERS                FL
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75053   3FADP4EJ1KM149772   Ford         FIESTA              Newark                    NJ
75054   3FADP4EJ1KM150792   Ford         FIESTA              Teterboro                 NJ
75055   3FADP4EJ2KM105361   Ford         FIESTA              FORT MYERS                FL
75056   3FADP4EJ2KM105828   Ford         FIESTA              Dallas                    TX
75057   3FADP4EJ2KM105845   Ford         FIESTA              Dallas                    TX
75058   3FADP4EJ2KM106252   Ford         FIESTA              ORLANDO                   FL
75059   3FADP4EJ2KM106591   Ford         FIESTA              Jacksonville              FL
75060   3FADP4EJ2KM106607   Ford         FIESTA              Winter Park               FL
75061   3FADP4EJ2KM107014   Ford         FIESTA              Miami                     FL
75062   3FADP4EJ2KM123472   Ford         FIESTA              FORT MYERS                FL
75063   3FADP4EJ2KM123942   Ford         FIESTA              Newark                    NJ
75064   3FADP4EJ2KM123956   Ford         FIESTA              ORLANDO                   FL
75065   3FADP4EJ2KM127991   Ford         FIESTA              PORTLAND                  ME
75066   3FADP4EJ2KM128204   Ford         FIESTA              Philadelphia              PA
75067   3FADP4EJ2KM132964   Ford         FIESTA              Hendersonville            TN
75068   3FADP4EJ2KM133516   Ford         FIESTA              Winter Park               FL
75069   3FADP4EJ2KM133709   Ford         FIESTA              PORTLAND                  OR
75070   3FADP4EJ2KM136643   Ford         FIESTA              Syracuse                  NY
75071   3FADP4EJ2KM136741   Ford         FIESTA              Hebron                    KY
75072   3FADP4EJ2KM136982   Ford         FIESTA              SAINT PAUL                MN
75073   3FADP4EJ2KM149411   Ford         FIESTA              PHILADELPHIA              PA
75074   3FADP4EJ3KM105336   Ford         FIESTA              MIAMI                     FL
75075   3FADP4EJ3KM105384   Ford         FIESTA              Tampa                     FL
75076   3FADP4EJ3KM105966   Ford         FIESTA              Salt Lake City            UT
75077   3FADP4EJ3KM106907   Ford         FIESTA              MIAMI                     FL
75078   3FADP4EJ3KM107023   Ford         FIESTA              Orlando                   FL
75079   3FADP4EJ3KM107121   Ford         FIESTA              STATESBORO                GA
75080   3FADP4EJ3KM107331   Ford         FIESTA              North Dighton             MA
75081   3FADP4EJ3KM123464   Ford         FIESTA              Winter Park               FL
75082   3FADP4EJ3KM123514   Ford         FIESTA              FT LAUDERDALE             FL
75083   3FADP4EJ3KM124002   Ford         FIESTA              Winter Park               FL
75084   3FADP4EJ3KM134111   Ford         FIESTA              LAS VEGAS                 NV
75085   3FADP4EJ3KM136926   Ford         FIESTA              GLASSBORO                 NJ
75086   3FADP4EJ3KM143780   Ford         FIESTA              San Diego                 CA
75087   3FADP4EJ3KM149398   Ford         FIESTA              HOLLY HILL                FL
75088   3FADP4EJ4KM105619   Ford         FIESTA              Newark                    NJ
75089   3FADP4EJ4KM105622   Ford         FIESTA              Dallas                    TX
75090   3FADP4EJ4KM105765   Ford         FIESTA              Tampa                     FL
75091   3FADP4EJ4KM106009   Ford         FIESTA              PHILADELPHIA              PA
75092   3FADP4EJ4KM106088   Ford         FIESTA              Winston‐Salem             NC
75093   3FADP4EJ4KM106270   Ford         FIESTA              ELLWOOD CITY              PA
75094   3FADP4EJ4KM106639   Ford         FIESTA              SANFORD                   FL
75095   3FADP4EJ4KM107127   Ford         FIESTA              TAMPA                     FL
75096   3FADP4EJ4KM123943   Ford         FIESTA              FORT MYERS                FL
75097   3FADP4EJ4KM133839   Ford         FIESTA              TAMPA                     FL
75098   3FADP4EJ4KM134148   Ford         FIESTA              Newark                    NJ
75099   3FADP4EJ4KM136580   Ford         FIESTA              PHILADELPHIA              PA
75100   3FADP4EJ4KM136966   Ford         FIESTA              BUFFALO                   NY
75101   3FADP4EJ4KM137504   Ford         FIESTA              Milwaukee                 WI
75102   3FADP4EJ4KM138443   Ford         FIESTA              ALTOONA                   PA
75103   3FADP4EJ4KM138958   Ford         FIESTA              PHILADELPHIA              PA
75104   3FADP4EJ4KM143688   Ford         FIESTA              Portland                  OR
75105   3FADP4EJ4KM148292   Ford         FIESTA              Indianapolis              IN
75106   3FADP4EJ4KM149412   Ford         FIESTA              Pittsburgh                PA
75107   3FADP4EJ4KM150026   Ford         FIESTA              JACKSONVILLE              FL
75108   3FADP4EJ5JM105935   Ford         FIESTA              Winter Park               FL
75109   3FADP4EJ5KM105385   Ford         FIESTA              ORLANDO                   FL
75110   3FADP4EJ5KM105855   Ford         FIESTA              TAMPA                     FL
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75111   3FADP4EJ5KM106083   Ford         FIESTA              Slidell                   LA
75112   3FADP4EJ5KM106097   Ford         FIESTA              ORLANDO                   FL
75113   3FADP4EJ5KM106357   Ford         FIESTA              ORLANDO                   FL
75114   3FADP4EJ5KM107010   Ford         FIESTA              STERLING                  VA
75115   3FADP4EJ5KM107234   Ford         FIESTA              Nashville                 TN
75116   3FADP4EJ5KM112594   Ford         FIESTA              HOUSTON                   TX
75117   3FADP4EJ5KM128150   Ford         FIESTA              PENSACOLA                 FL
75118   3FADP4EJ5KM132814   Ford         FIESTA              GAHANNA                   OH
75119   3FADP4EJ5KM133350   Ford         FIESTA              Manheim                   PA
75120   3FADP4EJ5KM133574   Ford         FIESTA              Cleveland                 OH
75121   3FADP4EJ5KM136863   Ford         FIESTA              Hebron                    KY
75122   3FADP4EJ5KM136930   Ford         FIESTA              Middletown                PA
75123   3FADP4EJ5KM138001   Ford         FIESTA              SAN DIEGO                 CA
75124   3FADP4EJ5KM138564   Ford         FIESTA              EULESS                    TX
75125   3FADP4EJ5KM143151   Ford         FIESTA              PHOENIX                   AZ
75126   3FADP4EJ5KM143795   Ford         FIESTA              Scottsdale                AZ
75127   3FADP4EJ5KM148205   Ford         FIESTA              Teterboro                 NJ
75128   3FADP4EJ5KM148558   Ford         FIESTA              Newark                    NJ
75129   3FADP4EJ6KM105816   Ford         FIESTA              Austin                    TX
75130   3FADP4EJ6KM106271   Ford         FIESTA              FORT MYERS                FL
75131   3FADP4EJ6KM106397   Ford         FIESTA              FORT MYERS                FL
75132   3FADP4EJ6KM136855   Ford         FIESTA              Phoenix                   AZ
75133   3FADP4EJ6KM138475   Ford         FIESTA              SAINT PAUL                MN
75134   3FADP4EJ6KM143143   Ford         FIESTA              Slidell                   LA
75135   3FADP4EJ6KM144079   Ford         FIESTA              SANFORD                   FL
75136   3FADP4EJ6KM148147   Ford         FIESTA              ELKRIDGE                  MD
75137   3FADP4EJ6KM148651   Ford         FIESTA              Hebron                    KY
75138   3FADP4EJ6KM150058   Ford         FIESTA              FORT MYERS                FL
75139   3FADP4EJ7KM105338   Ford         FIESTA              Dallas                    TX
75140   3FADP4EJ7KM105789   Ford         FIESTA              Elgin                     IL
75141   3FADP4EJ7KM105890   Ford         FIESTA              TAMPA                     FL
75142   3FADP4EJ7KM105999   Ford         FIESTA              Estero                    FL
75143   3FADP4EJ7KM106408   Ford         FIESTA              WEST PALM BEACH           FL
75144   3FADP4EJ7KM106859   Ford         FIESTA              Winter Park               FL
75145   3FADP4EJ7KM107123   Ford         FIESTA              FORT MYERS                FL
75146   3FADP4EJ7KM107333   Ford         FIESTA              DALLAS                    TX
75147   3FADP4EJ7KM107350   Ford         FIESTA              ORLANDO                   FL
75148   3FADP4EJ7KM123449   Ford         FIESTA              INDIANAPOLIS              IN
75149   3FADP4EJ7KM134242   Ford         FIESTA              Leroy                     NY
75150   3FADP4EJ7KM136945   Ford         FIESTA              Los Angeles               CA
75151   3FADP4EJ7KM137819   Ford         FIESTA              FORT MYERS                FL
75152   3FADP4EJ7KM138016   Ford         FIESTA              BURBANK                   CA
75153   3FADP4EJ7KM149775   Ford         FIESTA              Tolleson                  AZ
75154   3FADP4EJ8KM105400   Ford         FIESTA              TAMPA                     FL
75155   3FADP4EJ8KM105459   Ford         FIESTA              ELKRIDGE                  MD
75156   3FADP4EJ8KM105462   Ford         FIESTA              Woodhaven                 MI
75157   3FADP4EJ8KM105896   Ford         FIESTA              FORT MYERS                FL
75158   3FADP4EJ8KM106000   Ford         FIESTA              Las Vegas                 NV
75159   3FADP4EJ8KM106398   Ford         FIESTA              FORT MYERS                FL
75160   3FADP4EJ8KM106708   Ford         FIESTA              FORT MYERS                FL
75161   3FADP4EJ8KM106742   Ford         FIESTA              Englewood                 CO
75162   3FADP4EJ8KM107213   Ford         FIESTA              ATLANTA                   GA
75163   3FADP4EJ8KM112556   Ford         FIESTA              FORT MYERS                FL
75164   3FADP4EJ8KM123282   Ford         FIESTA              ATLANTA AP                GA
75165   3FADP4EJ8KM123976   Ford         FIESTA              Clearwater                FL
75166   3FADP4EJ8KM128207   Ford         FIESTA              Dallas                    TX
75167   3FADP4EJ8KM128210   Ford         FIESTA              MIDWAY                    FL
75168   3FADP4EJ8KM132967   Ford         FIESTA              Des Plaines               IL
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75169   3FADP4EJ8KM133309   Ford         FIESTA              Pittsburgh                PA
75170   3FADP4EJ8KM133472   Ford         FIESTA              Atlanta                   GA
75171   3FADP4EJ8KM136890   Ford         FIESTA              GREEN BAY                 WI
75172   3FADP4EJ8KM137067   Ford         FIESTA              Hebron                    KY
75173   3FADP4EJ8KM143094   Ford         FIESTA              Ventura                   CA
75174   3FADP4EJ8KM148151   Ford         FIESTA              FORT MYERS                FL
75175   3FADP4EJ9GM153432   Ford         FIESTA              PHILADELPHIA              PA
75176   3FADP4EJ9HM170362   Ford         FIESTA              North Las Vegas           NV
75177   3FADP4EJ9KM105907   Ford         FIESTA              Winter Park               FL
75178   3FADP4EJ9KM106085   Ford         FIESTA              Houston                   TX
75179   3FADP4EJ9KM106264   Ford         FIESTA              FORT MYERS                FL
75180   3FADP4EJ9KM106409   Ford         FIESTA              FORT LAUDERDALE           FL
75181   3FADP4EJ9KM106412   Ford         FIESTA              TAMPA                     FL
75182   3FADP4EJ9KM106538   Ford         FIESTA              WEST COLUMBIA             SC
75183   3FADP4EJ9KM107012   Ford         FIESTA              WEST PALM BEACH           FL
75184   3FADP4EJ9KM112713   Ford         FIESTA              Orlando                   FL
75185   3FADP4EJ9KM128135   Ford         FIESTA              Cleveland                 OH
75186   3FADP4EJ9KM130631   Ford         FIESTA              Pittsburgh                PA
75187   3FADP4EJ9KM130662   Ford         FIESTA              TUCSON                    AZ
75188   3FADP4EJ9KM133870   Ford         FIESTA              San Antonio               TX
75189   3FADP4EJ9KM136977   Ford         FIESTA              Hebron                    KY
75190   3FADP4EJ9KM137112   Ford         FIESTA              Pittsburgh                PA
75191   3FADP4EJ9KM138406   Ford         FIESTA              Hebron                    KY
75192   3FADP4EJ9KM138972   Ford         FIESTA              Hebron                    KY
75193   3FADP4EJ9KM149339   Ford         FIESTA              FORT MYERS                FL
75194   3FADP4EJ9KM149941   Ford         FIESTA              Pittsburgh                PA
75195   3FADP4EJ9KM150023   Ford         FIESTA              Savannah                  GA
75196   3FADP4EJ9KM150765   Ford         FIESTA              FAYETTEVILLE              GA
75197   3FADP4EJXJM107132   Ford         FIESTA              FORT MYERS                FL
75198   3FADP4EJXKM105401   Ford         FIESTA              JACKSONVILLE              FL
75199   3FADP4EJXKM106614   Ford         FIESTA              ORLANDO                   FL
75200   3FADP4EJXKM107021   Ford         FIESTA              Jacksonville              FL
75201   3FADP4EJXKM112722   Ford         FIESTA              KINGSPORT‐TRI CITY        TN
75202   3FADP4EJXKM123476   Ford         FIESTA              Louisville                KY
75203   3FADP4EJXKM128189   Ford         FIESTA              Austin                    TX
75204   3FADP4EJXKM133540   Ford         FIESTA              Orlando                   FL
75205   3FADP4EJXKM133960   Ford         FIESTA              BURBANK                   CA
75206   3FADP4EJXKM136616   Ford         FIESTA              Syracuse                  NY
75207   3FADP4EJXKM137068   Ford         FIESTA              Hamilton                  OH
75208   3FADP4EJXKM138527   Ford         FIESTA              Syracuse                  NY
75209   3FADP4EJXKM143128   Ford         FIESTA              Sacramento                CA
75210   3G1BE5SM4HS522392   GM           CRUZE               BURBANK                   CA
75211   3G1BE5SM5HS518349   GM           CRUZE               BURBANK                   CA
75212   3G1BE5SM5HS555983   GM           CRUZE               BURBANK                   CA
75213   3G1BE6SM0HS534111   GM           CRUZE               Las Vegas                 NV
75214   3G1BE6SM0HS551491   GM           CRUZE               Indianapolis              IN
75215   3G1BE6SM0JS563212   GM           CRUZE               DAYTON                    OH
75216   3G1BE6SM1JS612546   GM           CRUZE               Atlanta                   GA
75217   3G1BE6SM1JS618105   GM           CRUZE               SAN DIEGO                 CA
75218   3G1BE6SM1JS645174   GM           CRUZE               JACKSONVILLE              FL
75219   3G1BE6SM2HS574139   GM           CRUZE               ORLANDO                   FL
75220   3G1BE6SM2JS539204   GM           CRUZE               ORLANDO                   FL
75221   3G1BE6SM2JS607856   GM           CRUZE               PORTLAND                  ME
75222   3G1BE6SM2JS611163   GM           CRUZE               KNOXVILLE                 TN
75223   3G1BE6SM2JS640176   GM           CRUZE               WEST PALM BEACH           FL
75224   3G1BE6SM3HS602157   GM           CRUZE               Fort Worth                TX
75225   3G1BE6SM3JS539583   GM           CRUZE               North Dighton             MA
75226   3G1BE6SM3JS625895   GM           CRUZE               CHICAGO                   IL
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75227   3G1BE6SM3JS640378   GM          CRUZE               Atlanta                   GA
75228   3G1BE6SM4JS627798   GM          CRUZE               PHOENIX                   AZ
75229   3G1BE6SM4JS628921   GM          CRUZE               Newark                    NJ
75230   3G1BE6SM4JS641829   GM          CRUZE               North Dighton             MA
75231   3G1BE6SM5HS556573   GM          CRUZE               FORT MYERS                FL
75232   3G1BE6SM5JS622934   GM          CRUZE               Rio Linda                 CA
75233   3G1BE6SM5JS625977   GM          CRUZE               GREEN BAY                 WI
75234   3G1BE6SM6JS644831   GM          CRUZE               ALBUQUERQUE               NM
75235   3G1BE6SM7JS606024   GM          CRUZE               MIAMI                     FL
75236   3G1BE6SM7JS625706   GM          CRUZE               Orlando                   FL
75237   3G1BE6SM7JS637760   GM          CRUZE               PHOENIX                   AZ
75238   3G1BE6SM7JS645177   GM          CRUZE               FORT LAUDERDALE           FL
75239   3G1BE6SM8HS602543   GM          CRUZE               NORTH PAC                 CA
75240   3G1BE6SM8JS609496   GM          CRUZE               Santa Clara               CA
75241   3G1BE6SM8JS644538   GM          CRUZE               COLORADO SPRING           CO
75242   3G1BE6SM9HS521129   GM          CRUZE               BURBANK                   CA
75243   3G1BE6SM9HS548301   GM          CRUZE               LOS ANGELES               CA
75244   3G1BE6SM9JS638425   GM          CRUZE               WEST PALM BEACH           FL
75245   3G1BE6SMXHS588385   GM          CRUZE               WEST PALM BEACH           FL
75246   3G1BE6SMXJS607992   GM          CRUZE               St. Louis                 MO
75247   3G1BE6SMXJS630219   GM          CRUZE               HOUSTON                   TX
75248   3G1BE6SMXJS637526   GM          CRUZE               KNOXVILLE                 TN
75249   3G1BE6SMXJS638515   GM          CRUZE               PHOENIX                   AZ
75250   3G1BE6SMXJS639552   GM          CRUZE               Phoenix                   AZ
75251   3G1BE6SMXJS639714   GM          CRUZE               BURBANK                   CA
75252   3G1BF5SM0HS564135   GM          CRUZE               SEATAC                    WA
75253   3G1BF6SM0JS613877   GM          CRUZE               Tampa                     FL
75254   3G1BF6SM0JS638911   GM          CRUZE               Manheim                   PA
75255   3G1BF6SM1JS607408   GM          CRUZE               Atlanta                   GA
75256   3G1BF6SM1JS611149   GM          CRUZE               DALLAS                    TX
75257   3G1BF6SM3JS639468   GM          CRUZE               Fresno                    CA
75258   3G1BF6SM4JS621030   GM          CRUZE               DAYTONA BEACH             FL
75259   3G1BF6SM4JS640368   GM          CRUZE               ORLANDO                   FL
75260   3G1BF6SM5JS641786   GM          CRUZE               ORLANDO                   FL
75261   3G1BF6SM5JS644350   GM          CRUZE               Florissant                MO
75262   3G1BF6SM7JS621006   GM          CRUZE               Hanover                   MD
75263   3G1BF6SM8JS606417   GM          CRUZE               SOUTH BEND                IN
75264   3G1BF6SM8JS627655   GM          CRUZE               NEW ENGLAND DEALER        MA
75265   3G1BF6SMXJS619184   GM          CRUZE               ORLANDO                   FL
75266   3G1BF6SMXJS640147   GM          CRUZE               Las Vegas                 NV
75267   3G1BF6SMXJS646482   GM          CRUZE               Detroit                   MI
75268   3GCUKREC0HG424773   GM          SILVERADO           FRESNO                    CA
75269   3GCUKREC0JG448481   GM          SILVERADO           VAN NUYS                  CA
75270   3GCUKREC1HG427813   GM          SILVERADO           Dallas                    TX
75271   3GCUKREC1JG464124   GM          SILVERADO           Kent                      WA
75272   3GCUKREC2HG420224   GM          SILVERADO           MARIETTA                  GA
75273   3GCUKREC2JG445548   GM          SILVERADO           Rio Linda                 CA
75274   3GCUKREC2JG445839   GM          SILVERADO           Fontana                   CA
75275   3GCUKREC3HG385094   GM          SILVERADO           Stockton                  CA
75276   3GCUKREC4HG439731   GM          SILVERADO           North Las Vegas           NV
75277   3GCUKREC5JG444958   GM          SILVERADO           HAWTHORNE                 CA
75278   3GCUKREC5JG446421   GM          SILVERADO           Detroit                   MI
75279   3GCUKREC6HG317937   GM          SILVERADO           Fairbanks                 AK
75280   3GCUKREC6HG318294   GM          SILVERADO           ANCHORAGE                 AK
75281   3GCUKREC6HG326055   GM          SILVERADO           ANCHORAGE                 AK
75282   3GCUKREC6JG363466   GM          SILVERADO           Matteson                  IL
75283   3GCUKREC6JG462191   GM          SILVERADO           Fontana                   CA
75284   3GCUKREC6JG470470   GM          SILVERADO           SACRAMENTO                CA
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75285   3GCUKREC7HG320412   GM          SILVERADO           ANCHORAGE                 AK
75286   3GCUKREC7JG446131   GM          SILVERADO           PHOENIX                   AZ
75287   3GCUKREC8HG319706   GM          SILVERADO           Fairbanks                 AK
75288   3GCUKREC8HG321133   GM          SILVERADO           ANCHORAGE                 AK
75289   3GCUKREC9HG352469   GM          SILVERADO           Atlanta                   GA
75290   3GCUKREC9JG448477   GM          SILVERADO           Kent                      WA
75291   3GCUKREC9JG469006   GM          SILVERADO           Hayward                   CA
75292   3GCUKREC9JG470172   GM          SILVERADO           Fontana                   CA
75293   3GCUKRECXHG329136   GM          SILVERADO           ANCHORAGE                 AK
75294   3GCUKRECXJG449363   GM          SILVERADO           SALT LAKE CITY            UT
75295   3GCUKRECXJG474232   GM          SILVERADO           SAN FRANCISCO             CA
75296   3GKALMEV0JL312464   GM          TERRAIN             Los Angeles               CA
75297   3GKALMEV1JL322906   GM          TERRAIN             Atlanta                   GA
75298   3GKALMEV2JL330139   GM          TERRAIN             Grove City                OH
75299   3GKALMEV4JL153349   GM          TERRAIN             BURBANK                   CA
75300   3GKALMEVXJL351952   GM          TERRAIN             North Dighton             MA
75301   3GKALPEV0KL174055   GM          TERRAIN             WEST PALM BEACH           FL
75302   3GKALPEV0KL175593   GM          TERRAIN             AUSTIN                    TX
75303   3GKALPEV0KL175979   GM          TERRAIN             ORLANDO                   FL
75304   3GKALPEV0KL177778   GM          TERRAIN             SAN ANTONIO               TX
75305   3GKALPEV0KL178154   GM          TERRAIN             STERLING                  VA
75306   3GKALPEV0KL179482   GM          TERRAIN             LOUISVILLE                KY
75307   3GKALPEV0KL179501   GM          TERRAIN             BOSTON                    MA
75308   3GKALPEV0KL179594   GM          TERRAIN             Atlanta                   GA
75309   3GKALPEV0KL180907   GM          TERRAIN             Raleigh                   NC
75310   3GKALPEV0KL180969   GM          TERRAIN             TAMPA                     FL
75311   3GKALPEV0KL180972   GM          TERRAIN             WARWICK                   RI
75312   3GKALPEV0KL181099   GM          TERRAIN             TAMPA                     FL
75313   3GKALPEV0KL181684   GM          TERRAIN             ORLANDO                   FL
75314   3GKALPEV0KL182480   GM          TERRAIN             Jacksonville              FL
75315   3GKALPEV0KL183354   GM          TERRAIN             CHICAGO                   IL
75316   3GKALPEV0KL184875   GM          TERRAIN             MEMPHIS                   TN
75317   3GKALPEV0KL185007   GM          TERRAIN             HOUSTON                   TX
75318   3GKALPEV0KL186447   GM          TERRAIN             ORLANDO                   FL
75319   3GKALPEV0KL186884   GM          TERRAIN             Union City                GA
75320   3GKALPEV0KL187226   GM          TERRAIN             ORLANDO                   FL
75321   3GKALPEV0KL187405   GM          TERRAIN             Rockville Centr           NY
75322   3GKALPEV0KL189431   GM          TERRAIN             COLLEGE PARK              GA
75323   3GKALPEV0KL190384   GM          TERRAIN             COLLEGE PARK              GA
75324   3GKALPEV0KL190658   GM          TERRAIN             STERLING                  VA
75325   3GKALPEV0KL191034   GM          TERRAIN             CHICAGO                   IL
75326   3GKALPEV0KL192393   GM          TERRAIN             Hamilton                  OH
75327   3GKALPEV0KL192409   GM          TERRAIN             BIRMINGHAM                AL
75328   3GKALPEV0KL192586   GM          TERRAIN             UNION CITY                GA
75329   3GKALPEV0KL195133   GM          TERRAIN             Hamilton                  OH
75330   3GKALPEV0KL195147   GM          TERRAIN             TAMPA                     FL
75331   3GKALPEV0KL195519   GM          TERRAIN             COLLEGE PARK              GA
75332   3GKALPEV0KL195603   GM          TERRAIN             CLEVELAND                 OH
75333   3GKALPEV0KL196315   GM          TERRAIN             LOUISVILLE                KY
75334   3GKALPEV0KL196332   GM          TERRAIN             DALLAS                    TX
75335   3GKALPEV0KL197464   GM          TERRAIN             DALLAS                    TX
75336   3GKALPEV0KL197691   GM          TERRAIN             FORT MYERS                FL
75337   3GKALPEV0KL198758   GM          TERRAIN             CHICAGO                   IL
75338   3GKALPEV0KL200640   GM          TERRAIN             Florissant                MO
75339   3GKALPEV0KL200718   GM          TERRAIN             DES MOINES                IA
75340   3GKALPEV0KL201500   GM          TERRAIN             HOUSTON                   TX
75341   3GKALPEV0KL201657   GM          TERRAIN             KENNER                    LA
75342   3GKALPEV0KL201948   GM          TERRAIN             DALLAS                    TX
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75343   3GKALPEV0KL202551   GM           TERRAIN             PHOENIX                   AZ
75344   3GKALPEV0KL202632   GM           TERRAIN             CORPUS CHRISTI            TX
75345   3GKALPEV0KL203487   GM           TERRAIN             HOUSTON                   TX
75346   3GKALPEV0KL203506   GM           TERRAIN             Woodhaven                 MI
75347   3GKALPEV0KL203599   GM           TERRAIN             HOUSTON                   TX
75348   3GKALPEV0KL203652   GM           TERRAIN             DALLAS                    TX
75349   3GKALPEV0KL203666   GM           TERRAIN             Fredericksburg            VA
75350   3GKALPEV0KL203733   GM           TERRAIN             ATLANTA                   GA
75351   3GKALPEV0KL203876   GM           TERRAIN             DALLAS                    TX
75352   3GKALPEV0KL203974   GM           TERRAIN             PHOENIX                   AZ
75353   3GKALPEV0KL204042   GM           TERRAIN             Greensboro                NC
75354   3GKALPEV0KL204249   GM           TERRAIN             Dallas                    TX
75355   3GKALPEV0KL204381   GM           TERRAIN             Des Moines                IA
75356   3GKALPEV0KL204493   GM           TERRAIN             WEST PALM BEACH           FL
75357   3GKALPEV0KL205062   GM           TERRAIN             MIDLAND                   TX
75358   3GKALPEV0KL205322   GM           TERRAIN             SAINT LOUIS               MO
75359   3GKALPEV0KL205417   GM           TERRAIN             DALLAS                    TX
75360   3GKALPEV0KL205529   GM           TERRAIN             HOUSTON                   TX
75361   3GKALPEV0KL205644   GM           TERRAIN             CHICAGO                   IL
75362   3GKALPEV0KL205739   GM           TERRAIN             OMAHA                     NE
75363   3GKALPEV0KL205854   GM           TERRAIN             HOUSTON                   TX
75364   3GKALPEV0KL207295   GM           TERRAIN             LOS ANGELES               CA
75365   3GKALPEV0KL208107   GM           TERRAIN             HOUSTON                   TX
75366   3GKALPEV0KL208186   GM           TERRAIN             Riverside                 CA
75367   3GKALPEV0KL208415   GM           TERRAIN             PALM SPRINGS              CA
75368   3GKALPEV0KL208950   GM           TERRAIN             EL PASO                   TX
75369   3GKALPEV0KL208981   GM           TERRAIN             OAKLAND                   CA
75370   3GKALPEV0KL210133   GM           TERRAIN             SAN DIEGO                 CA
75371   3GKALPEV0KL210391   GM           TERRAIN             DALLAS                    TX
75372   3GKALPEV0KL211556   GM           TERRAIN             LAS VEGAS                 NV
75373   3GKALPEV0KL211654   GM           TERRAIN             LOS ANGELES               CA
75374   3GKALPEV0KL211928   GM           TERRAIN             CHARLOTTE                 NC
75375   3GKALPEV0KL218801   GM           TERRAIN             FRESNO                    CA
75376   3GKALPEV0KL219155   GM           TERRAIN             INDIANAPOLIS              IN
75377   3GKALPEV0KL219530   GM           TERRAIN             LOS ANGELES               CA
75378   3GKALPEV0KL220614   GM           TERRAIN             STERLING                  VA
75379   3GKALPEV0KL220676   GM           TERRAIN             PORTLAND                  OR
75380   3GKALPEV0KL221388   GM           TERRAIN             LAS VEGAS                 NV
75381   3GKALPEV0KL221424   GM           TERRAIN             DETROIT                   MI
75382   3GKALPEV0KL221634   GM           TERRAIN             Lake Elsinore             CA
75383   3GKALPEV0KL221794   GM           TERRAIN             PALM SPRINGS              CA
75384   3GKALPEV0KL221942   GM           TERRAIN             LOS ANGELES               CA
75385   3GKALPEV0KL221973   GM           TERRAIN             DENVER                    CO
75386   3GKALPEV0KL222153   GM           TERRAIN             SAN DIEGO                 CA
75387   3GKALPEV0KL222220   GM           TERRAIN             ONTARIO                   CA
75388   3GKALPEV0KL222413   GM           TERRAIN             SAN ANTONIO               TX
75389   3GKALPEV0KL222458   GM           TERRAIN             ONTARIO, RIVERSIDE        CA
75390   3GKALPEV0KL223626   GM           TERRAIN             Los Angeles               CA
75391   3GKALPEV0KL223707   GM           TERRAIN             LAS VEGAS                 NV
75392   3GKALPEV0KL224128   GM           TERRAIN             LAS VEGAS                 NV
75393   3GKALPEV0KL224162   GM           TERRAIN             SANTA ANA                 CA
75394   3GKALPEV0KL224243   GM           TERRAIN             SANTA ANA                 CA
75395   3GKALPEV0KL224288   GM           TERRAIN             TAMPA                     FL
75396   3GKALPEV0KL224744   GM           TERRAIN             BURBANK                   CA
75397   3GKALPEV0KL226381   GM           TERRAIN             LAS VEGAS                 NV
75398   3GKALPEV0KL232259   GM           TERRAIN             INGLEWOOD                 CA
75399   3GKALPEV0KL232794   GM           TERRAIN             SAN DIEGO                 CA
75400   3GKALPEV0KL233332   GM           TERRAIN             BLOOMINGTON               IL
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75401   3GKALPEV0KL233556   GM           TERRAIN             LAS VEGAS                 NV
75402   3GKALPEV0KL233850   GM           TERRAIN             WEST PALM BEACH           FL
75403   3GKALPEV0KL235002   GM           TERRAIN             SAN JOSE                  CA
75404   3GKALPEV0KL235534   GM           TERRAIN             TAMPA                     FL
75405   3GKALPEV0KL235632   GM           TERRAIN             Buena Park                CA
75406   3GKALPEV0KL236358   GM           TERRAIN             ORLANDO                   FL
75407   3GKALPEV0KL236375   GM           TERRAIN             INGLEWOOD                 CA
75408   3GKALPEV0KL236599   GM           TERRAIN             LAS VEGAS                 NV
75409   3GKALPEV0KL236652   GM           TERRAIN             BURBANK                   CA
75410   3GKALPEV0KL236747   GM           TERRAIN             SAN JOSE                  CA
75411   3GKALPEV0KL237221   GM           TERRAIN             SAN DIEGO                 CA
75412   3GKALPEV0KL237400   GM           TERRAIN             LOS ANGELES               CA
75413   3GKALPEV0KL237607   GM           TERRAIN             HOUSTON                   TX
75414   3GKALPEV0KL237669   GM           TERRAIN             LOS ANGELES               CA
75415   3GKALPEV0KL237915   GM           TERRAIN             BURBANK                   CA
75416   3GKALPEV0KL238479   GM           TERRAIN             KANSAS CITY               MO
75417   3GKALPEV0KL238501   GM           TERRAIN             PALM SPRINGS              CA
75418   3GKALPEV0KL239230   GM           TERRAIN             AUSTIN                    TX
75419   3GKALPEV0KL239812   GM           TERRAIN             DALLAS                    TX
75420   3GKALPEV0KL240362   GM           TERRAIN             CLEVELAND                 OH
75421   3GKALPEV0KL240636   GM           TERRAIN             Florissant                MO
75422   3GKALPEV0KL240748   GM           TERRAIN             Atlanta                   GA
75423   3GKALPEV0KL241043   GM           TERRAIN             FORT MYERS                FL
75424   3GKALPEV0KL241334   GM           TERRAIN             MIAMI                     FL
75425   3GKALPEV0KL243651   GM           TERRAIN             SAN FRANCISCO             CA
75426   3GKALPEV0KL243908   GM           TERRAIN             AUSTIN                    TX
75427   3GKALPEV0KL244086   GM           TERRAIN             CHARLOTTE                 NC
75428   3GKALPEV0KL244296   GM           TERRAIN             SAN FRANCISCO             CA
75429   3GKALPEV0KL244380   GM           TERRAIN             HOUSTON                   TX
75430   3GKALPEV0KL244475   GM           TERRAIN             HOUSTON                   TX
75431   3GKALPEV0KL244525   GM           TERRAIN             MEMPHIS                   TN
75432   3GKALPEV0KL245206   GM           TERRAIN             SEATAC                    WA
75433   3GKALPEV0KL245397   GM           TERRAIN             MEMPHIS                   TN
75434   3GKALPEV0KL245495   GM           TERRAIN             Winston‐Salem             NC
75435   3GKALPEV0KL245545   GM           TERRAIN             KANSAS CITY               MO
75436   3GKALPEV0KL245870   GM           TERRAIN             SAN ANTONIO               TX
75437   3GKALPEV0KL246078   GM           TERRAIN             FRESNO                    CA
75438   3GKALPEV0KL246176   GM           TERRAIN             HOUSTON                   TX
75439   3GKALPEV0KL246209   GM           TERRAIN             Smithtown                 NY
75440   3GKALPEV0KL246288   GM           TERRAIN             AUSTIN                    TX
75441   3GKALPEV0KL246338   GM           TERRAIN             DALLAS                    TX
75442   3GKALPEV0KL246372   GM           TERRAIN             DALLAS                    TX
75443   3GKALPEV0KL246551   GM           TERRAIN             FRESNO                    CA
75444   3GKALPEV0KL247473   GM           TERRAIN             KENNER                    LA
75445   3GKALPEV0KL247621   GM           TERRAIN             CHICAGO                   IL
75446   3GKALPEV0KL248168   GM           TERRAIN             FORT MYERS                FL
75447   3GKALPEV0KL249594   GM           TERRAIN             Atlanta                   GA
75448   3GKALPEV0KL250812   GM           TERRAIN             PENSACOLA                 FL
75449   3GKALPEV0KL251751   GM           TERRAIN             ORLANDO                   FL
75450   3GKALPEV0KL284572   GM           TERRAIN             CHATTANOOGA               TN
75451   3GKALPEV0LL190872   GM           TERRAIN             Sarasota                  FL
75452   3GKALPEV0LL234207   GM           TERRAIN             PHOENIX                   AZ
75453   3GKALPEV1KL172797   GM           TERRAIN             ORLANDO                   FL
75454   3GKALPEV1KL172900   GM           TERRAIN             ALBUQUERQUE               NM
75455   3GKALPEV1KL174257   GM           TERRAIN             ORLANDO                   FL
75456   3GKALPEV1KL175201   GM           TERRAIN             CHARLOTTE                 US
75457   3GKALPEV1KL176123   GM           TERRAIN             DALLAS                    TX
75458   3GKALPEV1KL176140   GM           TERRAIN             MILWAUKEE                 WI
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75459   3GKALPEV1KL176493   GM           TERRAIN             DETROIT                   MI
75460   3GKALPEV1KL176719   GM           TERRAIN             WEST PALM BEACH           FL
75461   3GKALPEV1KL177367   GM           TERRAIN             CHICAGO                   IL
75462   3GKALPEV1KL177417   GM           TERRAIN             Teterboro                 NJ
75463   3GKALPEV1KL179877   GM           TERRAIN             DETROIT                   MI
75464   3GKALPEV1KL180267   GM           TERRAIN             SAVANNAH                  GA
75465   3GKALPEV1KL181337   GM           TERRAIN             GRAND RAPIDS              MI
75466   3GKALPEV1KL181385   GM           TERRAIN             Dallas                    TX
75467   3GKALPEV1KL182939   GM           TERRAIN             SANTA ANA                 CA
75468   3GKALPEV1KL183119   GM           TERRAIN             PORTLAND                  OR
75469   3GKALPEV1KL183590   GM           TERRAIN             FORT MYERS                FL
75470   3GKALPEV1KL185887   GM           TERRAIN             FORT MYERS                FL
75471   3GKALPEV1KL186182   GM           TERRAIN             SEATAC                    WA
75472   3GKALPEV1KL186733   GM           TERRAIN             DETROIT                   MI
75473   3GKALPEV1KL187218   GM           TERRAIN             CHICAGO                   IL
75474   3GKALPEV1KL188756   GM           TERRAIN             JAMAICA                   NY
75475   3GKALPEV1KL188952   GM           TERRAIN             SOUTHEAST DST OFFC        OK
75476   3GKALPEV1KL188983   GM           TERRAIN             DES MOINES                IA
75477   3GKALPEV1KL189731   GM           TERRAIN             Atlanta                   GA
75478   3GKALPEV1KL190006   GM           TERRAIN             FORT MYERS                FL
75479   3GKALPEV1KL190300   GM           TERRAIN             SAN JOSE                  CA
75480   3GKALPEV1KL190636   GM           TERRAIN             Stone Mountain            GA
75481   3GKALPEV1KL190801   GM           TERRAIN             FORT LAUDERDALE           FL
75482   3GKALPEV1KL191642   GM           TERRAIN             RALIEGH                   NC
75483   3GKALPEV1KL191673   GM           TERRAIN             LOS ANGELES               CA
75484   3GKALPEV1KL191768   GM           TERRAIN             FORT LAUDERDALE           FL
75485   3GKALPEV1KL192418   GM           TERRAIN             Houston                   TX
75486   3GKALPEV1KL192628   GM           TERRAIN             PENSACOLA                 FL
75487   3GKALPEV1KL195366   GM           TERRAIN             STERLING                  VA
75488   3GKALPEV1KL197229   GM           TERRAIN             EUGENE                    OR
75489   3GKALPEV1KL198137   GM           TERRAIN             HOUSTON                   TX
75490   3GKALPEV1KL198669   GM           TERRAIN             Columbus                  OH
75491   3GKALPEV1KL200761   GM           TERRAIN             DENVER                    CO
75492   3GKALPEV1KL201148   GM           TERRAIN             albuquerque               nm
75493   3GKALPEV1KL201182   GM           TERRAIN             HOUSTON                   TX
75494   3GKALPEV1KL201358   GM           TERRAIN             MARIETTA                  GA
75495   3GKALPEV1KL201621   GM           TERRAIN             DALLAS                    TX
75496   3GKALPEV1KL202011   GM           TERRAIN             BOSTON                    MA
75497   3GKALPEV1KL202204   GM           TERRAIN             HOUSTON                   TX
75498   3GKALPEV1KL202266   GM           TERRAIN             KENNER                    LA
75499   3GKALPEV1KL202493   GM           TERRAIN             Warminster                PA
75500   3GKALPEV1KL202655   GM           TERRAIN             SAN ANTONIO               TX
75501   3GKALPEV1KL202865   GM           TERRAIN             HOUSTON                   TX
75502   3GKALPEV1KL203224   GM           TERRAIN             Hayward                   CA
75503   3GKALPEV1KL203319   GM           TERRAIN             AUSTIN                    TX
75504   3GKALPEV1KL203384   GM           TERRAIN             DALLAS                    TX
75505   3GKALPEV1KL203630   GM           TERRAIN             DALLAS                    TX
75506   3GKALPEV1KL203868   GM           TERRAIN             DALLAS                    TX
75507   3GKALPEV1KL204342   GM           TERRAIN             SACRAMENTO                CA
75508   3GKALPEV1KL204549   GM           TERRAIN             Dallas                    TX
75509   3GKALPEV1KL204602   GM           TERRAIN             DALLAS                    TX
75510   3GKALPEV1KL204664   GM           TERRAIN             CHICAGO                   IL
75511   3GKALPEV1KL204728   GM           TERRAIN             KENNER                    LA
75512   3GKALPEV1KL204793   GM           TERRAIN             JACKSONVILLE              FL
75513   3GKALPEV1KL204809   GM           TERRAIN             SAN ANTONIO               TX
75514   3GKALPEV1KL204812   GM           TERRAIN             AUSTIN                    TX
75515   3GKALPEV1KL205006   GM           TERRAIN             HOUSTON                   TX
75516   3GKALPEV1KL205376   GM           TERRAIN             DALLAS                    TX
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75517   3GKALPEV1KL205572   GM           TERRAIN             TAMPA                     FL
75518   3GKALPEV1KL205717   GM           TERRAIN             CHICAGO                   IL
75519   3GKALPEV1KL207516   GM           TERRAIN             SAN JOSE                  CA
75520   3GKALPEV1KL207922   GM           TERRAIN             LITTLE ROCK               AR
75521   3GKALPEV1KL208150   GM           TERRAIN             LAS VEGAS                 NV
75522   3GKALPEV1KL208181   GM           TERRAIN             SAN FRANCISCO             CA
75523   3GKALPEV1KL209895   GM           TERRAIN             Omaha                     NE
75524   3GKALPEV1KL218712   GM           TERRAIN             PHOENIX                   AZ
75525   3GKALPEV1KL219097   GM           TERRAIN             RENO                      NV
75526   3GKALPEV1KL219312   GM           TERRAIN             LOS ANGELES               CA
75527   3GKALPEV1KL219892   GM           TERRAIN             DALLAS                    TX
75528   3GKALPEV1KL220380   GM           TERRAIN             SAN DIEGO                 CA
75529   3GKALPEV1KL220508   GM           TERRAIN             LAS VEGAS                 NV
75530   3GKALPEV1KL220590   GM           TERRAIN             LOS ANGELES AP            CA
75531   3GKALPEV1KL220993   GM           TERRAIN             CHICAGO                   IL
75532   3GKALPEV1KL221464   GM           TERRAIN             SAN JOSE                  CA
75533   3GKALPEV1KL221819   GM           TERRAIN             KANSAS CITY               MO
75534   3GKALPEV1KL221870   GM           TERRAIN             SEATAC                    WA
75535   3GKALPEV1KL222033   GM           TERRAIN             ATLANTA                   GA
75536   3GKALPEV1KL222064   GM           TERRAIN             HOUSTON                   TX
75537   3GKALPEV1KL222372   GM           TERRAIN             LOS ANGELES               CA
75538   3GKALPEV1KL223019   GM           TERRAIN             ONTARIO                   CA
75539   3GKALPEV1KL223148   GM           TERRAIN             LAS VEGAS                 NV
75540   3GKALPEV1KL223764   GM           TERRAIN             Los Angeles               CA
75541   3GKALPEV1KL224025   GM           TERRAIN             SAN DIEGO                 CA
75542   3GKALPEV1KL224154   GM           TERRAIN             SAN FRANCISCO             CA
75543   3GKALPEV1KL224378   GM           TERRAIN             PORTLAND                  OR
75544   3GKALPEV1KL224414   GM           TERRAIN             DALLAS                    TX
75545   3GKALPEV1KL225787   GM           TERRAIN             OAKLAND                   CA
75546   3GKALPEV1KL226874   GM           TERRAIN             LOS ANGELES AP            CA
75547   3GKALPEV1KL226924   GM           TERRAIN             SANTA ANA                 CA
75548   3GKALPEV1KL229144   GM           TERRAIN             ONTARIO                   CA
75549   3GKALPEV1KL229306   GM           TERRAIN             SAN FRANCISCO             CA
75550   3GKALPEV1KL229340   GM           TERRAIN             FORT MYERS                FL
75551   3GKALPEV1KL230133   GM           TERRAIN             LOUISVILLE                KY
75552   3GKALPEV1KL230441   GM           TERRAIN             PORTLAND                  OR
75553   3GKALPEV1KL230780   GM           TERRAIN             FRESNO                    CA
75554   3GKALPEV1KL231010   GM           TERRAIN             SANTA ANA                 CA
75555   3GKALPEV1KL233274   GM           TERRAIN             PHOENIX                   AZ
75556   3GKALPEV1KL233498   GM           TERRAIN             SEATAC                    WA
75557   3GKALPEV1KL233906   GM           TERRAIN             STOCKTON                  CA
75558   3GKALPEV1KL234103   GM           TERRAIN             Fontana                   CA
75559   3GKALPEV1KL234215   GM           TERRAIN             DENVER                    CO
75560   3GKALPEV1KL234263   GM           TERRAIN             CHICAGO                   IL
75561   3GKALPEV1KL234599   GM           TERRAIN             Riverside                 CA
75562   3GKALPEV1KL234733   GM           TERRAIN             ORLANDO                   FL
75563   3GKALPEV1KL234764   GM           TERRAIN             Newport Beach             CA
75564   3GKALPEV1KL235204   GM           TERRAIN             SAN DIEGO                 CA
75565   3GKALPEV1KL235395   GM           TERRAIN             LOS ANGELES               CA
75566   3GKALPEV1KL235462   GM           TERRAIN             MIAMI                     FL
75567   3GKALPEV1KL235557   GM           TERRAIN             PITTSBURGH                PA
75568   3GKALPEV1KL235669   GM           TERRAIN             PALM SPRINGS              CA
75569   3GKALPEV1KL235719   GM           TERRAIN             SAN DIEGO                 CA
75570   3GKALPEV1KL235770   GM           TERRAIN             ORANGE COUNTY             CA
75571   3GKALPEV1KL235901   GM           TERRAIN             LAS VEGAS                 NV
75572   3GKALPEV1KL235915   GM           TERRAIN             DENVER                    CO
75573   3GKALPEV1KL236711   GM           TERRAIN             SAINT PAUL                MN
75574   3GKALPEV1KL236787   GM           TERRAIN             LOS ANGELES               CA
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75575   3GKALPEV1KL237020   GM           TERRAIN             ORLANDO                   FL
75576   3GKALPEV1KL237325   GM           TERRAIN             SANTA CLARA               CA
75577   3GKALPEV1KL237700   GM           TERRAIN             Detroit                   MI
75578   3GKALPEV1KL237714   GM           TERRAIN             LOS ANGELES               CA
75579   3GKALPEV1KL237793   GM           TERRAIN             HOUSTON                   TX
75580   3GKALPEV1KL238152   GM           TERRAIN             PANAMA CITY               FL
75581   3GKALPEV1KL238216   GM           TERRAIN             LOS ANGELES               CA
75582   3GKALPEV1KL238376   GM           TERRAIN             LOS ANGELES               CA
75583   3GKALPEV1KL238460   GM           TERRAIN             North Las Vegas           NV
75584   3GKALPEV1KL238569   GM           TERRAIN             DES MOINES                IA
75585   3GKALPEV1KL238927   GM           TERRAIN             TAMPA                     FL
75586   3GKALPEV1KL240984   GM           TERRAIN             DANIA BEACH               FL
75587   3GKALPEV1KL241116   GM           TERRAIN             SARASOTA                  FL
75588   3GKALPEV1KL241617   GM           TERRAIN             ORLANDO                   FL
75589   3GKALPEV1KL241939   GM           TERRAIN             MIAMI                     FL
75590   3GKALPEV1KL242721   GM           TERRAIN             KEY WEST                  FL
75591   3GKALPEV1KL243187   GM           TERRAIN             NASHVILLE                 TN
75592   3GKALPEV1KL243223   GM           TERRAIN             SEATAC                    WA
75593   3GKALPEV1KL243660   GM           TERRAIN             AUSTIN                    TX
75594   3GKALPEV1KL243805   GM           TERRAIN             DALLAS                    TX
75595   3GKALPEV1KL244212   GM           TERRAIN             Los Angeles               CA
75596   3GKALPEV1KL244551   GM           TERRAIN             KENNER                    LA
75597   3GKALPEV1KL244579   GM           TERRAIN             FORT MYERS                FL
75598   3GKALPEV1KL244758   GM           TERRAIN             LOS ANGELES               CA
75599   3GKALPEV1KL244811   GM           TERRAIN             SEATAC                    WA
75600   3GKALPEV1KL244856   GM           TERRAIN             SAN FRANCISCO             CA
75601   3GKALPEV1KL244971   GM           TERRAIN             BURBANK                   CA
75602   3GKALPEV1KL245246   GM           TERRAIN             St. Louis                 MO
75603   3GKALPEV1KL245392   GM           TERRAIN             KENNER                    LA
75604   3GKALPEV1KL245750   GM           TERRAIN             Hebron                    KY
75605   3GKALPEV1KL245909   GM           TERRAIN             MILWAUKEE                 WI
75606   3GKALPEV1KL245974   GM           TERRAIN             FORT LAUDERDALE           FL
75607   3GKALPEV1KL245991   GM           TERRAIN             NORFOLK                   VA
75608   3GKALPEV1KL246185   GM           TERRAIN             DFW AIRPORT               TX
75609   3GKALPEV1KL246221   GM           TERRAIN             MARIETTA                  GA
75610   3GKALPEV1KL246428   GM           TERRAIN             MADISON                   AL
75611   3GKALPEV1KL246445   GM           TERRAIN             DALLAS                    TX
75612   3GKALPEV1KL248583   GM           TERRAIN             BIRMINGHAM                AL
75613   3GKALPEV1KL250740   GM           TERRAIN             ORLANDO                   FL
75614   3GKALPEV1KL251662   GM           TERRAIN             ATLANTA                   GA
75615   3GKALPEV1KL253105   GM           TERRAIN             KNOXVILLE                 TN
75616   3GKALPEV1KL253752   GM           TERRAIN             Dallas                    TX
75617   3GKALPEV1KL253766   GM           TERRAIN             ORLANDO                   FL
75618   3GKALPEV1KL287674   GM           TERRAIN             HOUSTON                   TX
75619   3GKALPEV1KL337473   GM           TERRAIN             DALLAS                    TX
75620   3GKALPEV1LL194395   GM           TERRAIN             Davie                     FL
75621   3GKALPEV1LL240632   GM           TERRAIN             FORT MYERS                FL
75622   3GKALPEV2KL172839   GM           TERRAIN             ORLANDO                   FL
75623   3GKALPEV2KL175210   GM           TERRAIN             Portland                  ME
75624   3GKALPEV2KL175286   GM           TERRAIN             HOUSTON                   TX
75625   3GKALPEV2KL176602   GM           TERRAIN             FORT MYERS                FL
75626   3GKALPEV2KL177541   GM           TERRAIN             DALLAS                    TX
75627   3GKALPEV2KL178396   GM           TERRAIN             DALLAS                    TX
75628   3GKALPEV2KL178530   GM           TERRAIN             CHARLOTTE                 US
75629   3GKALPEV2KL179225   GM           TERRAIN             TAMPA                     FL
75630   3GKALPEV2KL179743   GM           TERRAIN             ATLANTA                   GA
75631   3GKALPEV2KL180116   GM           TERRAIN             BUFFALO                   NY
75632   3GKALPEV2KL180407   GM           TERRAIN             Winston‐Salem             NC
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75633   3GKALPEV2KL181525   GM           TERRAIN             Davie                     FL
75634   3GKALPEV2KL181539   GM           TERRAIN             COLUMBUS                  OH
75635   3GKALPEV2KL182514   GM           TERRAIN             WEST PALM BEACH           FL
75636   3GKALPEV2KL183436   GM           TERRAIN             FORT MYERS                FL
75637   3GKALPEV2KL184070   GM           TERRAIN             Winston‐Salem             NC
75638   3GKALPEV2KL184649   GM           TERRAIN             TUCSON                    AZ
75639   3GKALPEV2KL185493   GM           TERRAIN             WARWICK                   RI
75640   3GKALPEV2KL185770   GM           TERRAIN             NEW BERN                  NC
75641   3GKALPEV2KL185851   GM           TERRAIN             FEDERAL WAY               WA
75642   3GKALPEV2KL185915   GM           TERRAIN             WHITE PLAINS              NY
75643   3GKALPEV2KL187518   GM           TERRAIN             Greensboro                NC
75644   3GKALPEV2KL187583   GM           TERRAIN             SARASOTA                  FL
75645   3GKALPEV2KL188409   GM           TERRAIN             SARASOTA                  FL
75646   3GKALPEV2KL189284   GM           TERRAIN             SAN ANTONIO               TX
75647   3GKALPEV2KL189799   GM           TERRAIN             ORLANDO                   FL
75648   3GKALPEV2KL189933   GM           TERRAIN             Teterboro                 NJ
75649   3GKALPEV2KL190340   GM           TERRAIN             GRAND RAPIDS              MI
75650   3GKALPEV2KL192234   GM           TERRAIN             ORLANDO                   FL
75651   3GKALPEV2KL193495   GM           TERRAIN             Atlanta                   GA
75652   3GKALPEV2KL194386   GM           TERRAIN             HOUSTON                   TX
75653   3GKALPEV2KL194601   GM           TERRAIN             FORT LAUDERDALE           FL
75654   3GKALPEV2KL194985   GM           TERRAIN             SEA TAC                   WA
75655   3GKALPEV2KL195067   GM           TERRAIN             SHREVEPORT                LA
75656   3GKALPEV2KL195800   GM           TERRAIN             BIRMINGHAM                AL
75657   3GKALPEV2KL196526   GM           TERRAIN             Des Moines                IA
75658   3GKALPEV2KL196686   GM           TERRAIN             ATLANTA                   GA
75659   3GKALPEV2KL197109   GM           TERRAIN             SEATAC                    WA
75660   3GKALPEV2KL197126   GM           TERRAIN             BIRMINGHAM                AL
75661   3GKALPEV2KL198261   GM           TERRAIN             TULSA                     OK
75662   3GKALPEV2KL198275   GM           TERRAIN             ORLANDO                   FL
75663   3GKALPEV2KL198390   GM           TERRAIN             West Palm Beach           FL
75664   3GKALPEV2KL198891   GM           TERRAIN             PHOENIX                   AZ
75665   3GKALPEV2KL200428   GM           TERRAIN             Euless                    TX
75666   3GKALPEV2KL200641   GM           TERRAIN             BURBANK                   CA
75667   3GKALPEV2KL201157   GM           TERRAIN             Massapequa                NY
75668   3GKALPEV2KL201367   GM           TERRAIN             RICHMOND                  VA
75669   3GKALPEV2KL201868   GM           TERRAIN             PITTSBURGH                PA
75670   3GKALPEV2KL202311   GM           TERRAIN             DALLAS                    TX
75671   3GKALPEV2KL202339   GM           TERRAIN             OKLAHOMA CITY             OK
75672   3GKALPEV2KL202423   GM           TERRAIN             DALLAS                    TX
75673   3GKALPEV2KL202440   GM           TERRAIN             OMAHA                     NE
75674   3GKALPEV2KL203622   GM           TERRAIN             Jacksonville              FL
75675   3GKALPEV2KL204009   GM           TERRAIN             SEATAC                    WA
75676   3GKALPEV2KL204446   GM           TERRAIN             DALLAS                    TX
75677   3GKALPEV2KL204785   GM           TERRAIN             SANTA CLARA               CA
75678   3GKALPEV2KL204897   GM           TERRAIN             DALLAS                    TX
75679   3GKALPEV2KL204995   GM           TERRAIN             HOUSTON                   TX
75680   3GKALPEV2KL205211   GM           TERRAIN             HOUSTON                   TX
75681   3GKALPEV2KL205340   GM           TERRAIN             SAN ANTONIO               TX
75682   3GKALPEV2KL205760   GM           TERRAIN             SANTA ANA                 CA
75683   3GKALPEV2KL205855   GM           TERRAIN             OKLAHOMA CITY             OK
75684   3GKALPEV2KL207895   GM           TERRAIN             BURBANK                   CA
75685   3GKALPEV2KL209629   GM           TERRAIN             ONTARIO                   CA
75686   3GKALPEV2KL210716   GM           TERRAIN             PHOENIX                   AZ
75687   3GKALPEV2KL211459   GM           TERRAIN             HOUSTON                   TX
75688   3GKALPEV2KL219187   GM           TERRAIN             LOS ANGELES               CA
75689   3GKALPEV2KL220100   GM           TERRAIN             SANTA CLARA               CA
75690   3GKALPEV2KL221702   GM           TERRAIN             HOUSTON                   TX
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75691   3GKALPEV2KL221778   GM           TERRAIN             SALT LAKE CITY            UT
75692   3GKALPEV2KL222008   GM           TERRAIN             HOUSTON                   TX
75693   3GKALPEV2KL222185   GM           TERRAIN             LOS ANGELES               CA
75694   3GKALPEV2KL222462   GM           TERRAIN             DALLAS                    TX
75695   3GKALPEV2KL222574   GM           TERRAIN             ATLANTA                   GA
75696   3GKALPEV2KL222770   GM           TERRAIN             NEWARK                    NJ
75697   3GKALPEV2KL223062   GM           TERRAIN             PHOENIX                   AZ
75698   3GKALPEV2KL223255   GM           TERRAIN             ORANGE COUNTY             CA
75699   3GKALPEV2KL223384   GM           TERRAIN             Beaverton                 OR
75700   3GKALPEV2KL223692   GM           TERRAIN             KANSAS CITY               MO
75701   3GKALPEV2KL223885   GM           TERRAIN             ONTARIO                   CA
75702   3GKALPEV2KL224227   GM           TERRAIN             SAN FRANCISCO             CA
75703   3GKALPEV2KL224308   GM           TERRAIN             Plainfield                IN
75704   3GKALPEV2KL224521   GM           TERRAIN             PALM SPRINGS              CA
75705   3GKALPEV2KL225832   GM           TERRAIN             FORT LAUDERDALE           FL
75706   3GKALPEV2KL225958   GM           TERRAIN             OAKLAND                   CA
75707   3GKALPEV2KL227810   GM           TERRAIN             INGLEWOOD                 CA
75708   3GKALPEV2KL228665   GM           TERRAIN             SAN FRANCISCO             CA
75709   3GKALPEV2KL229119   GM           TERRAIN             DETROIT                   MI
75710   3GKALPEV2KL229671   GM           TERRAIN             LOS ANGELES AP            CA
75711   3GKALPEV2KL231176   GM           TERRAIN             ONTARIO                   CA
75712   3GKALPEV2KL233610   GM           TERRAIN             PALM SPRINGS              CA
75713   3GKALPEV2KL233719   GM           TERRAIN             TAMPA                     FL
75714   3GKALPEV2KL233851   GM           TERRAIN             Dallas                    TX
75715   3GKALPEV2KL234000   GM           TERRAIN             ORANGE COUNTY             CA
75716   3GKALPEV2KL234059   GM           TERRAIN             LOS ANGELES               CA
75717   3GKALPEV2KL234076   GM           TERRAIN             Hartford                  CT
75718   3GKALPEV2KL234739   GM           TERRAIN             SEATAC                    WA
75719   3GKALPEV2KL234868   GM           TERRAIN             INDIANAPOLIS              IN
75720   3GKALPEV2KL235308   GM           TERRAIN             PALM SPRINGS              CA
75721   3GKALPEV2KL235339   GM           TERRAIN             FEDERAL WAY               WA
75722   3GKALPEV2KL235650   GM           TERRAIN             WEST PALM BEACH           FL
75723   3GKALPEV2KL235776   GM           TERRAIN             SACRAMENTO                CA
75724   3GKALPEV2KL235809   GM           TERRAIN             LUBBOCK                   TX
75725   3GKALPEV2KL236183   GM           TERRAIN             LOS ANGELES               CA
75726   3GKALPEV2KL236345   GM           TERRAIN             SANTA ANA                 CA
75727   3GKALPEV2KL236409   GM           TERRAIN             LOS ANGELES AP            CA
75728   3GKALPEV2KL236524   GM           TERRAIN             Ft. Myers                 FL
75729   3GKALPEV2KL236572   GM           TERRAIN             DALLAS                    TX
75730   3GKALPEV2KL236751   GM           TERRAIN             BOSTON                    MA
75731   3GKALPEV2KL236765   GM           TERRAIN             TULSA                     OK
75732   3GKALPEV2KL236782   GM           TERRAIN             ATLANTA                   GA
75733   3GKALPEV2KL236832   GM           TERRAIN             LAS VEGAS                 NV
75734   3GKALPEV2KL236944   GM           TERRAIN             DALLAS                    TX
75735   3GKALPEV2KL237060   GM           TERRAIN             SAN JOSE                  CA
75736   3GKALPEV2KL237074   GM           TERRAIN             ORLANDO                   FL
75737   3GKALPEV2KL237088   GM           TERRAIN             OKLAHOMA CITY             OK
75738   3GKALPEV2KL237222   GM           TERRAIN             LOS ANGELES               CA
75739   3GKALPEV2KL237592   GM           TERRAIN             ONTARIO                   CA
75740   3GKALPEV2KL237656   GM           TERRAIN             MILWAUKEE                 WI
75741   3GKALPEV2KL237821   GM           TERRAIN             SEATAC                    WA
75742   3GKALPEV2KL237916   GM           TERRAIN             SACRAMENTO                CA
75743   3GKALPEV2KL238001   GM           TERRAIN             SARASOTA                  FL
75744   3GKALPEV2KL238063   GM           TERRAIN             Wayne                     MI
75745   3GKALPEV2KL238144   GM           TERRAIN             HOUSTON                   TX
75746   3GKALPEV2KL238192   GM           TERRAIN             FRONT ROYAL               VA
75747   3GKALPEV2KL238502   GM           TERRAIN             SAN ANTONIO               TX
75748   3GKALPEV2KL238712   GM           TERRAIN             ORLANDO                   FL
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75749   3GKALPEV2KL238953   GM           TERRAIN             JAMAICA                   NY
75750   3GKALPEV2KL239049   GM           TERRAIN             Dallas                    TX
75751   3GKALPEV2KL239620   GM           TERRAIN             JACKSONVILLE              FL
75752   3GKALPEV2KL239956   GM           TERRAIN             ORLANDO                   FL
75753   3GKALPEV2KL240122   GM           TERRAIN             GRAND RAPIDS              MI
75754   3GKALPEV2KL240198   GM           TERRAIN             COLUMBIA                  SC
75755   3GKALPEV2KL240492   GM           TERRAIN             Hamilton                  OH
75756   3GKALPEV2KL242498   GM           TERRAIN             DES MOINES                IA
75757   3GKALPEV2KL242596   GM           TERRAIN             Stone Mountain            GA
75758   3GKALPEV2KL243375   GM           TERRAIN             DALLAS                    TX
75759   3GKALPEV2KL243473   GM           TERRAIN             San Diego                 CA
75760   3GKALPEV2KL243523   GM           TERRAIN             NORTH HILLS               CA
75761   3GKALPEV2KL243666   GM           TERRAIN             DALLAS                    TX
75762   3GKALPEV2KL243764   GM           TERRAIN             DETROIT                   MI
75763   3GKALPEV2KL243814   GM           TERRAIN             FORT MYERS                FL
75764   3GKALPEV2KL244168   GM           TERRAIN             LAS VEGAS                 NV
75765   3GKALPEV2KL244171   GM           TERRAIN             DALLAS                    TX
75766   3GKALPEV2KL244249   GM           TERRAIN             SAN ANTONIO               TX
75767   3GKALPEV2KL244347   GM           TERRAIN             DETROIT                   MI
75768   3GKALPEV2KL244381   GM           TERRAIN             SANTA ANA                 CA
75769   3GKALPEV2KL244395   GM           TERRAIN             SAN ANTONIO               TX
75770   3GKALPEV2KL244915   GM           TERRAIN             RIVERSIDE LOCAL EDITION   CA
75771   3GKALPEV2KL245062   GM           TERRAIN             HOUSTON                   TX
75772   3GKALPEV2KL245188   GM           TERRAIN             HOUSTON                   TX
75773   3GKALPEV2KL245336   GM           TERRAIN             LOUISVILLE                KY
75774   3GKALPEV2KL245398   GM           TERRAIN             LOS ANGELES               CA
75775   3GKALPEV2KL245403   GM           TERRAIN             WEST PALM BEACH           FL
75776   3GKALPEV2KL245594   GM           TERRAIN             SAN ANTONIO               TX
75777   3GKALPEV2KL245823   GM           TERRAIN             LOS ANGELES               CA
75778   3GKALPEV2KL245918   GM           TERRAIN             LOS ANGELES               CA
75779   3GKALPEV2KL245935   GM           TERRAIN             SAN ANTONIO               TX
75780   3GKALPEV2KL245949   GM           TERRAIN             HOUSTON                   TX
75781   3GKALPEV2KL246079   GM           TERRAIN             Riverside                 CA
75782   3GKALPEV2KL246096   GM           TERRAIN             SAN DIEGO                 US
75783   3GKALPEV2KL246387   GM           TERRAIN             GREER                     SC
75784   3GKALPEV2KL246762   GM           TERRAIN             TAMPA                     US
75785   3GKALPEV2KL249760   GM           TERRAIN             MIAMI                     FL
75786   3GKALPEV2KL251170   GM           TERRAIN             FORT LAUDERDALE           FL
75787   3GKALPEV2KL251346   GM           TERRAIN             Tampa                     FL
75788   3GKALPEV2KL251850   GM           TERRAIN             CLEVELAND                 OH
75789   3GKALPEV2KL253162   GM           TERRAIN             ORLANDO                   FL
75790   3GKALPEV2KL253484   GM           TERRAIN             BIRMINGHAN                AL
75791   3GKALPEV2KL253629   GM           TERRAIN             Roseville                 CA
75792   3GKALPEV2KL253727   GM           TERRAIN             FORT MYERS                FL
75793   3GKALPEV2KL253792   GM           TERRAIN             ATLANTA                   GA
75794   3GKALPEV2KL285612   GM           TERRAIN             ORLANDO                   FL
75795   3GKALPEV2KL286288   GM           TERRAIN             DALLAS                    TX
75796   3GKALPEV2LL168713   GM           TERRAIN             DES MOINES                IA
75797   3GKALPEV2LL241644   GM           TERRAIN             FORT MYERS                FL
75798   3GKALPEV3KL173238   GM           TERRAIN             WEST PALM BEACH           FL
75799   3GKALPEV3KL174146   GM           TERRAIN             HOUSTON                   TX
75800   3GKALPEV3KL174437   GM           TERRAIN             ORLANDO                   FL
75801   3GKALPEV3KL174955   GM           TERRAIN             ORLANDO                   FL
75802   3GKALPEV3KL175216   GM           TERRAIN             ORLANDO                   FL
75803   3GKALPEV3KL175748   GM           TERRAIN             MILWAUKEE                 WI
75804   3GKALPEV3KL176317   GM           TERRAIN             SANTA ANA                 CA
75805   3GKALPEV3KL177063   GM           TERRAIN             MIAMI                     FL
75806   3GKALPEV3KL178066   GM           TERRAIN             JACKSONVILLE              FL
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75807   3GKALPEV3KL178424   GM           TERRAIN             RICHMOND                  VA
75808   3GKALPEV3KL178570   GM           TERRAIN             UNION CITY                GA
75809   3GKALPEV3KL179234   GM           TERRAIN             SAN JOSE                  CA
75810   3GKALPEV3KL179718   GM           TERRAIN             FORT LAUDERDALE           FL
75811   3GKALPEV3KL179864   GM           TERRAIN             ORLANDO                   FL
75812   3GKALPEV3KL180982   GM           TERRAIN             DETROIT                   MI
75813   3GKALPEV3KL181212   GM           TERRAIN             AUSTIN                    TX
75814   3GKALPEV3KL182389   GM           TERRAIN             SHREVEPORT                LA
75815   3GKALPEV3KL182439   GM           TERRAIN             BOSTON                    MA
75816   3GKALPEV3KL183008   GM           TERRAIN             FORT MYERS                FL
75817   3GKALPEV3KL184062   GM           TERRAIN             Atlanta                   GA
75818   3GKALPEV3KL184661   GM           TERRAIN             HOUSTON                   TX
75819   3GKALPEV3KL187320   GM           TERRAIN             ORLANDO                   FL
75820   3GKALPEV3KL188175   GM           TERRAIN             DETROIT                   MI
75821   3GKALPEV3KL188564   GM           TERRAIN             NEW BERN                  NC
75822   3GKALPEV3KL188919   GM           TERRAIN             FORT MYERS                FL
75823   3GKALPEV3KL189018   GM           TERRAIN             FORT MYERS                FL
75824   3GKALPEV3KL189584   GM           TERRAIN             COLUMBUS                  OH
75825   3GKALPEV3KL189746   GM           TERRAIN             GREENVILLE                NC
75826   3GKALPEV3KL189813   GM           TERRAIN             ROCHESTER                 NY
75827   3GKALPEV3KL189942   GM           TERRAIN             MEMPHIS                   TN
75828   3GKALPEV3KL190556   GM           TERRAIN             ORLANDO                   FL
75829   3GKALPEV3KL190962   GM           TERRAIN             LOUISVILLE                KY
75830   3GKALPEV3KL191268   GM           TERRAIN             ORLANDO                   FL
75831   3GKALPEV3KL192825   GM           TERRAIN             Atlanta                   GA
75832   3GKALPEV3KL193411   GM           TERRAIN             EL PASO                   TX
75833   3GKALPEV3KL193537   GM           TERRAIN             HOUSTON                   TX
75834   3GKALPEV3KL193733   GM           TERRAIN             DETROIT                   MI
75835   3GKALPEV3KL193781   GM           TERRAIN             GREENSBORO                NC
75836   3GKALPEV3KL193957   GM           TERRAIN             SAN ANTONIO               TX
75837   3GKALPEV3KL194378   GM           TERRAIN             LAS VEGAS                 NV
75838   3GKALPEV3KL194476   GM           TERRAIN             WEST PALM BEACH           FL
75839   3GKALPEV3KL195756   GM           TERRAIN             WEST PALM BEACH           FL
75840   3GKALPEV3KL196664   GM           TERRAIN             ST PAUL                   MN
75841   3GKALPEV3KL196714   GM           TERRAIN             SEATAC                    WA
75842   3GKALPEV3KL197216   GM           TERRAIN             Harvey                    LA
75843   3GKALPEV3KL197362   GM           TERRAIN             BIRMINGHAN                AL
75844   3GKALPEV3KL197507   GM           TERRAIN             Miami                     FL
75845   3GKALPEV3KL197667   GM           TERRAIN             AUSTIN                    TX
75846   3GKALPEV3KL198589   GM           TERRAIN             TUCSON                    AZ
75847   3GKALPEV3KL199029   GM           TERRAIN             NEW ORLEANS               LA
75848   3GKALPEV3KL200664   GM           TERRAIN             FRESNO                    CA
75849   3GKALPEV3KL200793   GM           TERRAIN             ORLANDO                   FL
75850   3GKALPEV3KL200860   GM           TERRAIN             North Las Vegas           NV
75851   3GKALPEV3KL201684   GM           TERRAIN             Omaha                     NE
75852   3GKALPEV3KL201779   GM           TERRAIN             FRESNO                    CA
75853   3GKALPEV3KL202317   GM           TERRAIN             HOUSTON                   TX
75854   3GKALPEV3KL203015   GM           TERRAIN             SAN ANTONIO               TX
75855   3GKALPEV3KL203127   GM           TERRAIN             SAN JOSE                  CA
75856   3GKALPEV3KL203144   GM           TERRAIN             ONTARIO, RIVERSIDE        CA
75857   3GKALPEV3KL203368   GM           TERRAIN             HOUSTON                   TX
75858   3GKALPEV3KL203516   GM           TERRAIN             Elkridge                  MD
75859   3GKALPEV3KL203628   GM           TERRAIN             AUSTIN                    TX
75860   3GKALPEV3KL203970   GM           TERRAIN             PORTLAND                  OR
75861   3GKALPEV3KL204133   GM           TERRAIN             BURBANK                   CA
75862   3GKALPEV3KL204228   GM           TERRAIN             Dallas                    TX
75863   3GKALPEV3KL205184   GM           TERRAIN             BOSTON                    MA
75864   3GKALPEV3KL205590   GM           TERRAIN             HOUSTON                   TX
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75865   3GKALPEV3KL205797   GM           TERRAIN             SAN FRANCISCO             CA
75866   3GKALPEV3KL206206   GM           TERRAIN             FAYETTEVILLE              GA
75867   3GKALPEV3KL206545   GM           TERRAIN             SAN ANTONIO               TX
75868   3GKALPEV3KL206920   GM           TERRAIN             GRAND JUNCTION            C
75869   3GKALPEV3KL207128   GM           TERRAIN             SAN JOSE                  CA
75870   3GKALPEV3KL207145   GM           TERRAIN             PHOENIX                   AZ
75871   3GKALPEV3KL208506   GM           TERRAIN             SAN JOSE                  CA
75872   3GKALPEV3KL210191   GM           TERRAIN             SAN DIEGO                 CA
75873   3GKALPEV3KL210224   GM           TERRAIN             SAN DIEGO                 CA
75874   3GKALPEV3KL210935   GM           TERRAIN             KENNER                    LA
75875   3GKALPEV3KL211082   GM           TERRAIN             San Diego                 CA
75876   3GKALPEV3KL211292   GM           TERRAIN             PETALUMA                  CA
75877   3GKALPEV3KL211650   GM           TERRAIN             McAllen                   TX
75878   3GKALPEV3KL218792   GM           TERRAIN             INGLEWOOD                 CA
75879   3GKALPEV3KL218954   GM           TERRAIN             SEATAC                    WA
75880   3GKALPEV3KL219280   GM           TERRAIN             LOS ANGELES               CA
75881   3GKALPEV3KL219392   GM           TERRAIN             SEATAC                    WA
75882   3GKALPEV3KL220591   GM           TERRAIN             HOUSTON                   TX
75883   3GKALPEV3KL220669   GM           TERRAIN             PICO RIVERA               CA
75884   3GKALPEV3KL221014   GM           TERRAIN             PALM SPRINGS              CA
75885   3GKALPEV3KL221031   GM           TERRAIN             DALLAS                    TX
75886   3GKALPEV3KL221210   GM           TERRAIN             SAN DIEGO                 US
75887   3GKALPEV3KL221367   GM           TERRAIN             SACRAMENTO                CA
75888   3GKALPEV3KL221689   GM           TERRAIN             ORLANDO                   FL
75889   3GKALPEV3KL221935   GM           TERRAIN             LAS VEGAS                 NV
75890   3GKALPEV3KL222020   GM           TERRAIN             HOUSTON                   TX
75891   3GKALPEV3KL222504   GM           TERRAIN             Rochester                 NY
75892   3GKALPEV3KL222714   GM           TERRAIN             CHICAGO                   IL
75893   3GKALPEV3KL223202   GM           TERRAIN             SANTA ANA                 CA
75894   3GKALPEV3KL223328   GM           TERRAIN             SACRAMENTO                CA
75895   3GKALPEV3KL223488   GM           TERRAIN             Phoenix                   AZ
75896   3GKALPEV3KL223796   GM           TERRAIN             SAN DIEGO                 CA
75897   3GKALPEV3KL224110   GM           TERRAIN             LOS ANGELES               CA
75898   3GKALPEV3KL224186   GM           TERRAIN             FRESNO                    CA
75899   3GKALPEV3KL224415   GM           TERRAIN             LAS VEGAS                 NV
75900   3GKALPEV3KL224558   GM           TERRAIN             SAN ANTONIO               TX
75901   3GKALPEV3KL226097   GM           TERRAIN             SEATAC                    WA
75902   3GKALPEV3KL228139   GM           TERRAIN             JACKSON                   MS
75903   3GKALPEV3KL228724   GM           TERRAIN             Hayward                   CA
75904   3GKALPEV3KL229128   GM           TERRAIN             WHITE PLAINS              NY
75905   3GKALPEV3KL229789   GM           TERRAIN             DALLAS                    TX
75906   3GKALPEV3KL230201   GM           TERRAIN             FORT MYERS                FL
75907   3GKALPEV3KL230425   GM           TERRAIN             MILWAUKEE                 WI
75908   3GKALPEV3KL230490   GM           TERRAIN             ORANGE COUNTY             CA
75909   3GKALPEV3KL233230   GM           TERRAIN             PALM SPRINGS              CA
75910   3GKALPEV3KL233504   GM           TERRAIN             LAS VEGAS                 NV
75911   3GKALPEV3KL233633   GM           TERRAIN             FORT LAUDERDALE           FL
75912   3GKALPEV3KL233700   GM           TERRAIN             PALM SPRINGS              CA
75913   3GKALPEV3KL233728   GM           TERRAIN             Miami                     FL
75914   3GKALPEV3KL234300   GM           TERRAIN             SANTA BARBARA             CA
75915   3GKALPEV3KL234426   GM           TERRAIN             BOSTON                    MA
75916   3GKALPEV3KL234913   GM           TERRAIN             WEST PALM BEACH           FL
75917   3GKALPEV3KL235026   GM           TERRAIN             CHICAGO                   IL
75918   3GKALPEV3KL235463   GM           TERRAIN             SAINT LOUIS               MO
75919   3GKALPEV3KL235530   GM           TERRAIN             KNOXVILLE                 TN
75920   3GKALPEV3KL235835   GM           TERRAIN             RENO                      NV
75921   3GKALPEV3KL236001   GM           TERRAIN             Las Vegas                 NV
75922   3GKALPEV3KL236063   GM           TERRAIN             SAN DIEGO                 CA
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75923   3GKALPEV3KL236113   GM           TERRAIN             TUCSON                    AZ
75924   3GKALPEV3KL236841   GM           TERRAIN             LAS VEGAS                 NV
75925   3GKALPEV3KL237018   GM           TERRAIN             FRESNO                    CA
75926   3GKALPEV3KL237293   GM           TERRAIN             SAN FRANCISCO             CA
75927   3GKALPEV3KL237522   GM           TERRAIN             RICHMOND                  VA
75928   3GKALPEV3KL237603   GM           TERRAIN             SAN FRANCISCO             CA
75929   3GKALPEV3KL237634   GM           TERRAIN             SAN DIEGO                 CA
75930   3GKALPEV3KL238038   GM           TERRAIN             COLORADO SPRING           CO
75931   3GKALPEV3KL238153   GM           TERRAIN             PHOENIX                   AZ
75932   3GKALPEV3KL238377   GM           TERRAIN             SAN JOSE                  CA
75933   3GKALPEV3KL238685   GM           TERRAIN             TAMPA                     FL
75934   3GKALPEV3KL238704   GM           TERRAIN             MIAMI                     FL
75935   3GKALPEV3KL239061   GM           TERRAIN             COLLEGE PARK              GA
75936   3GKALPEV3KL239318   GM           TERRAIN             FORT LAUDERDALE           FL
75937   3GKALPEV3KL239836   GM           TERRAIN             ORLANDO                   FL
75938   3GKALPEV3KL239898   GM           TERRAIN             BOZEMAN                   MT
75939   3GKALPEV3KL240341   GM           TERRAIN             FORT MYERS                FL
75940   3GKALPEV3KL240873   GM           TERRAIN             Miami                     FL
75941   3GKALPEV3KL241120   GM           TERRAIN             KANSAS CITY               MO
75942   3GKALPEV3KL241506   GM           TERRAIN             HOUSTON                   TX
75943   3GKALPEV3KL241540   GM           TERRAIN             SAINT PAUL                MN
75944   3GKALPEV3KL241909   GM           TERRAIN             WEST COLUMBIA             SC
75945   3GKALPEV3KL242722   GM           TERRAIN             DALLAS                    TX
75946   3GKALPEV3KL244339   GM           TERRAIN             LOS ANGELES               CA
75947   3GKALPEV3KL244678   GM           TERRAIN             Dallas                    TX
75948   3GKALPEV3KL244857   GM           TERRAIN             WOODLAND HILLS            CA
75949   3GKALPEV3KL244938   GM           TERRAIN             ORLANDO                   FL
75950   3GKALPEV3KL245281   GM           TERRAIN             COLORADO SPRING           CO
75951   3GKALPEV3KL245538   GM           TERRAIN             Philadelphia              PA
75952   3GKALPEV3KL245541   GM           TERRAIN             CHICAGO                   IL
75953   3GKALPEV3KL245619   GM           TERRAIN             Las Vegas                 NV
75954   3GKALPEV3KL245667   GM           TERRAIN             Greensboro                NC
75955   3GKALPEV3KL245748   GM           TERRAIN             BURBANK                   CA
75956   3GKALPEV3KL246110   GM           TERRAIN             AUSTIN                    TX
75957   3GKALPEV3KL246186   GM           TERRAIN             SACRAMENTO                CA
75958   3GKALPEV3KL246415   GM           TERRAIN             HOUSTON                   TX
75959   3GKALPEV3KL246611   GM           TERRAIN             OAKLAND                   CA
75960   3GKALPEV3KL246642   GM           TERRAIN             FORT LAUDERDALE           FL
75961   3GKALPEV3KL247032   GM           TERRAIN             ORLANDO                   FL
75962   3GKALPEV3KL248911   GM           TERRAIN             TAMPA                     US
75963   3GKALPEV3KL249041   GM           TERRAIN             ORLANDO                   FL
75964   3GKALPEV3KL249878   GM           TERRAIN             FORT MYERS                FL
75965   3GKALPEV3KL251257   GM           TERRAIN             WEST PALM BEACH           FL
75966   3GKALPEV3KL251873   GM           TERRAIN             FORT LAUDERDALE           FL
75967   3GKALPEV3KL252098   GM           TERRAIN             PHILADELPHIA              PA
75968   3GKALPEV3KL252649   GM           TERRAIN             DALLAS                    TX
75969   3GKALPEV3KL253039   GM           TERRAIN             ORLANDO                   FL
75970   3GKALPEV3KL253073   GM           TERRAIN             JACKSONVILLE              FL
75971   3GKALPEV3KL281195   GM           TERRAIN             Austin                    TX
75972   3GKALPEV3KL283898   GM           TERRAIN             PALM SPRINGS              CA
75973   3GKALPEV3KL284355   GM           TERRAIN             DALLAS                    TX
75974   3GKALPEV3LL179333   GM           TERRAIN             Davie                     FL
75975   3GKALPEV3LL190056   GM           TERRAIN             ORLANDO                   FL
75976   3GKALPEV4KL172082   GM           TERRAIN             PHILADELPHIA              PA
75977   3GKALPEV4KL172275   GM           TERRAIN             CHARLOTTE                 NC
75978   3GKALPEV4KL172406   GM           TERRAIN             Atlanta                   GA
75979   3GKALPEV4KL172471   GM           TERRAIN             WARWICK                   RI
75980   3GKALPEV4KL173636   GM           TERRAIN             GRAND RAPIDS              MI
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75981   3GKALPEV4KL174138   GM           TERRAIN             STERLING                  VA
75982   3GKALPEV4KL174687   GM           TERRAIN             SARASOTA                  FL
75983   3GKALPEV4KL176410   GM           TERRAIN             AUSTIN                    TX
75984   3GKALPEV4KL177055   GM           TERRAIN             STERLING                  VA
75985   3GKALPEV4KL177217   GM           TERRAIN             FT. LAUDERDALE            FL
75986   3GKALPEV4KL177296   GM           TERRAIN             JACKSONVILLE              FL
75987   3GKALPEV4KL177573   GM           TERRAIN             HOUSTON                   TX
75988   3GKALPEV4KL177587   GM           TERRAIN             FORT MYERS                FL
75989   3GKALPEV4KL177752   GM           TERRAIN             JACKSONVILLE              FL
75990   3GKALPEV4KL178030   GM           TERRAIN             NEWARK                    NJ
75991   3GKALPEV4KL179968   GM           TERRAIN             JACKSON                   MS
75992   3GKALPEV4KL181350   GM           TERRAIN             Sterling                  VA
75993   3GKALPEV4KL181462   GM           TERRAIN             HOUSTON                   TX
75994   3GKALPEV4KL181588   GM           TERRAIN             DALLAS                    TX
75995   3GKALPEV4KL182160   GM           TERRAIN             CHARLOTTE                 NC
75996   3GKALPEV4KL182238   GM           TERRAIN             PHOENIX                   AZ
75997   3GKALPEV4KL183941   GM           TERRAIN             HOUSTON                   TX
75998   3GKALPEV4KL184278   GM           TERRAIN             East Boston               MA
75999   3GKALPEV4KL184670   GM           TERRAIN             INDIANAPOLIS              IN
76000   3GKALPEV4KL184930   GM           TERRAIN             NEW BERN                  NC
76001   3GKALPEV4KL185205   GM           TERRAIN             GRAND RAPIDS              MI
76002   3GKALPEV4KL185656   GM           TERRAIN             KNOXVILLE                 TN
76003   3GKALPEV4KL185978   GM           TERRAIN             PORTLAND                  ME
76004   3GKALPEV4KL186225   GM           TERRAIN             GRAND RAPIDS              MI
76005   3GKALPEV4KL186600   GM           TERRAIN             FORT LAUDERDALE           FL
76006   3GKALPEV4KL188329   GM           TERRAIN             CHARLOTTE                 NC
76007   3GKALPEV4KL189240   GM           TERRAIN             PENSACOLA                 FL
76008   3GKALPEV4KL189514   GM           TERRAIN             FORT LAUDERDALE           FL
76009   3GKALPEV4KL189769   GM           TERRAIN             SHREVEPORT                LA
76010   3GKALPEV4KL189996   GM           TERRAIN             LITTLE ROCK               AR
76011   3GKALPEV4KL190047   GM           TERRAIN             PHILADELPHIA              PA
76012   3GKALPEV4KL190727   GM           TERRAIN             FORT MYERS                FL
76013   3GKALPEV4KL191747   GM           TERRAIN             HOUSTON                   TX
76014   3GKALPEV4KL192056   GM           TERRAIN             BURBANK                   CA
76015   3GKALPEV4KL192171   GM           TERRAIN             HOUSTON                   TX
76016   3GKALPEV4KL192218   GM           TERRAIN             DETROIT                   MI
76017   3GKALPEV4KL193210   GM           TERRAIN             FORT MYERS                FL
76018   3GKALPEV4KL194650   GM           TERRAIN             OKLAHOMA CITY             OK
76019   3GKALPEV4KL196138   GM           TERRAIN             ONTARIO, RIVERSIDE        CA
76020   3GKALPEV4KL197435   GM           TERRAIN             ORLANDO                   FL
76021   3GKALPEV4KL198293   GM           TERRAIN             Atlanta                   GA
76022   3GKALPEV4KL198469   GM           TERRAIN             LAS VEGAS                 NV
76023   3GKALPEV4KL198925   GM           TERRAIN             SAN ANTONIO               TX
76024   3GKALPEV4KL200558   GM           TERRAIN             DALLAS                    TX
76025   3GKALPEV4KL201029   GM           TERRAIN             PHOENIX                   AZ
76026   3GKALPEV4KL201113   GM           TERRAIN             HOUSTON                   TX
76027   3GKALPEV4KL201130   GM           TERRAIN             INDIANAPOLIS              IN
76028   3GKALPEV4KL201337   GM           TERRAIN             PENSACOLA                 FL
76029   3GKALPEV4KL201869   GM           TERRAIN             DALLAS                    TX
76030   3GKALPEV4KL201872   GM           TERRAIN             JACKSON                   MS
76031   3GKALPEV4KL202004   GM           TERRAIN             HOUSTON                   TX
76032   3GKALPEV4KL202231   GM           TERRAIN             DALLAS                    TX
76033   3GKALPEV4KL202357   GM           TERRAIN             Dallas                    TX
76034   3GKALPEV4KL202441   GM           TERRAIN             HOUSTON                   TX
76035   3GKALPEV4KL202665   GM           TERRAIN             Atlanta                   GA
76036   3GKALPEV4KL202990   GM           TERRAIN             DALLAS                    TX
76037   3GKALPEV4KL203055   GM           TERRAIN             DALLAS                    TX
76038   3GKALPEV4KL203167   GM           TERRAIN             WEST PALM BEACH           FL
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76039   3GKALPEV4KL203346   GM           TERRAIN             HOUSTON                   TX
76040   3GKALPEV4KL203525   GM           TERRAIN             DALLAS                    TX
76041   3GKALPEV4KL203668   GM           TERRAIN             KEY WEST                  FL
76042   3GKALPEV4KL203704   GM           TERRAIN             Fontana                   CA
76043   3GKALPEV4KL203864   GM           TERRAIN             HOUSTON                   TX
76044   3GKALPEV4KL203945   GM           TERRAIN             LOS ANGELES               CA
76045   3GKALPEV4KL204061   GM           TERRAIN             Memphis                   TN
76046   3GKALPEV4KL204240   GM           TERRAIN             LOS ANGELES               CA
76047   3GKALPEV4KL204934   GM           TERRAIN             HOUSTON                   TX
76048   3GKALPEV4KL204996   GM           TERRAIN             Nashville                 TN
76049   3GKALPEV4KL205551   GM           TERRAIN             SEATAC                    WA
76050   3GKALPEV4KL205646   GM           TERRAIN             KNOXVILLE                 TN
76051   3GKALPEV4KL205758   GM           TERRAIN             MCALLEN                   TX
76052   3GKALPEV4KL205839   GM           TERRAIN             SAN JOSE                  CA
76053   3GKALPEV4KL206019   GM           TERRAIN             WEST PALM BEACH           FL
76054   3GKALPEV4KL206022   GM           TERRAIN             BIRMINGHAM                AL
76055   3GKALPEV4KL206229   GM           TERRAIN             Tulsa                     OK
76056   3GKALPEV4KL208398   GM           TERRAIN             Lake Elsinore             CA
76057   3GKALPEV4KL208613   GM           TERRAIN             DENVER                    CO
76058   3GKALPEV4KL208787   GM           TERRAIN             PHOENIX                   AZ
76059   3GKALPEV4KL209325   GM           TERRAIN             PHOENIX                   AZ
76060   3GKALPEV4KL209390   GM           TERRAIN             PHOENIX                   AZ
76061   3GKALPEV4KL210376   GM           TERRAIN             LAS VEGAS                 NV
76062   3GKALPEV4KL210992   GM           TERRAIN             Tolleson                  AZ
76063   3GKALPEV4KL211348   GM           TERRAIN             Phoenix                   AZ
76064   3GKALPEV4KL211401   GM           TERRAIN             SAINT PAUL                MN
76065   3GKALPEV4KL212144   GM           TERRAIN             SACRAMENTO                CA
76066   3GKALPEV4KL218672   GM           TERRAIN             MONTEREY                  CA
76067   3GKALPEV4KL218719   GM           TERRAIN             PHOENIX                   AZ
76068   3GKALPEV4KL219143   GM           TERRAIN             LAS VEGAS                 NV
76069   3GKALPEV4KL219482   GM           TERRAIN             SACRAMENTO                CA
76070   3GKALPEV4KL219689   GM           TERRAIN             LOS ANGELES               CA
76071   3GKALPEV4KL220812   GM           TERRAIN             HOUSTON                   TX
76072   3GKALPEV4KL220941   GM           TERRAIN             FRESNO                    CA
76073   3GKALPEV4KL221135   GM           TERRAIN             HOUSTON                   TX
76074   3GKALPEV4KL221572   GM           TERRAIN             OAKLAND                   CA
76075   3GKALPEV4KL221717   GM           TERRAIN             DENVER                    CO
76076   3GKALPEV4KL221765   GM           TERRAIN             LOS ANGELES               CA
76077   3GKALPEV4KL222074   GM           TERRAIN             BURBANK                   CA
76078   3GKALPEV4KL222284   GM           TERRAIN             DALLAS                    TX
76079   3GKALPEV4KL222415   GM           TERRAIN             LOS ANGELES               CA
76080   3GKALPEV4KL222527   GM           TERRAIN             LOS ANGELES               CA
76081   3GKALPEV4KL222544   GM           TERRAIN             LOS ANGELES AP            CA
76082   3GKALPEV4KL223080   GM           TERRAIN             DALLAS                    TX
76083   3GKALPEV4KL223161   GM           TERRAIN             SAN FRANCISCO             CA
76084   3GKALPEV4KL223368   GM           TERRAIN             LAS VEGAS                 NV
76085   3GKALPEV4KL223578   GM           TERRAIN             SACRAMENTO                CA
76086   3GKALPEV4KL223788   GM           TERRAIN             ONTARIO, RIVERSIDE        CA
76087   3GKALPEV4KL224309   GM           TERRAIN             HOUSTON                   TX
76088   3GKALPEV4KL224441   GM           TERRAIN             DENVER                    CO
76089   3GKALPEV4KL224553   GM           TERRAIN             INGLEWOOD                 CA
76090   3GKALPEV4KL225556   GM           TERRAIN             HOUSTON                   TX
76091   3GKALPEV4KL225878   GM           TERRAIN             Charlotte                 NC
76092   3GKALPEV4KL226352   GM           TERRAIN             SARASOTA                  FL
76093   3GKALPEV4KL226366   GM           TERRAIN             BURNSVILLE                MN
76094   3GKALPEV4KL227453   GM           TERRAIN             LAS VEGAS                 NV
76095   3GKALPEV4KL232667   GM           TERRAIN             Miami                     FL
76096   3GKALPEV4KL233592   GM           TERRAIN             OAKLAND                   CA
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76097   3GKALPEV4KL234371   GM           TERRAIN             PLEASANTON                CA
76098   3GKALPEV4KL234533   GM           TERRAIN             PHOENIX                   AZ
76099   3GKALPEV4KL234631   GM           TERRAIN             San Diego                 CA
76100   3GKALPEV4KL234788   GM           TERRAIN             SAN JOSE                  CA
76101   3GKALPEV4KL235116   GM           TERRAIN             PHOENIX                   AZ
76102   3GKALPEV4KL235178   GM           TERRAIN             OAKLAND                   CA
76103   3GKALPEV4KL235701   GM           TERRAIN             SACRAMENTO                CA
76104   3GKALPEV4KL235763   GM           TERRAIN             FORT LAUDERDALE           FL
76105   3GKALPEV4KL235892   GM           TERRAIN             PHOENIX                   AZ
76106   3GKALPEV4KL235925   GM           TERRAIN             INDIANAPOLIS              IN
76107   3GKALPEV4KL236010   GM           TERRAIN             Teterboro                 NJ
76108   3GKALPEV4KL236220   GM           TERRAIN             LEHIGH ACRES              FL
76109   3GKALPEV4KL236315   GM           TERRAIN             SACRAMENTO                CA
76110   3GKALPEV4KL236363   GM           TERRAIN             MONTEREY                  CA
76111   3GKALPEV4KL237562   GM           TERRAIN             OKLAHOMA CITY             OK
76112   3GKALPEV4KL237593   GM           TERRAIN             BLOOMINGTON               IL
76113   3GKALPEV4KL237884   GM           TERRAIN             San Diego                 CA
76114   3GKALPEV4KL238050   GM           TERRAIN             FRESNO                    CA
76115   3GKALPEV4KL238100   GM           TERRAIN             WEST PALM BEACH           FL
76116   3GKALPEV4KL238257   GM           TERRAIN             SAN DIEGO                 CA
76117   3GKALPEV4KL238291   GM           TERRAIN             SACRAMENTO                CA
76118   3GKALPEV4KL238310   GM           TERRAIN             INDIANAPOLIS              IN
76119   3GKALPEV4KL238341   GM           TERRAIN             SAN JOSE                  CA
76120   3GKALPEV4KL238517   GM           TERRAIN             SAN JOSE                  CA
76121   3GKALPEV4KL238744   GM           TERRAIN             Hartford                  CT
76122   3GKALPEV4KL239067   GM           TERRAIN             TAMPA                     US
76123   3GKALPEV4KL239408   GM           TERRAIN             TAMPA                     FL
76124   3GKALPEV4KL239490   GM           TERRAIN             DANIA BEACH               FL
76125   3GKALPEV4KL240557   GM           TERRAIN             MIAMI                     FL
76126   3GKALPEV4KL240624   GM           TERRAIN             FORT MYERS                FL
76127   3GKALPEV4KL242177   GM           TERRAIN             ORLANDO                   FL
76128   3GKALPEV4KL242230   GM           TERRAIN             ALBUQUERQUE               NM
76129   3GKALPEV4KL242535   GM           TERRAIN             INGLEWOOD                 CA
76130   3GKALPEV4KL242860   GM           TERRAIN             DALLAS                    TX
76131   3GKALPEV4KL243247   GM           TERRAIN             LAS VEGAS                 NV
76132   3GKALPEV4KL243278   GM           TERRAIN             Milwaukee                 WI
76133   3GKALPEV4KL243460   GM           TERRAIN             SAN JOSE                  CA
76134   3GKALPEV4KL243653   GM           TERRAIN             MILWAUKEE                 WI
76135   3GKALPEV4KL243863   GM           TERRAIN             HOUSTON                   TX
76136   3GKALPEV4KL243992   GM           TERRAIN             DALLAS FORT WORTH AP      TX
76137   3GKALPEV4KL244060   GM           TERRAIN             LAS VEGAS                 NV
76138   3GKALPEV4KL244222   GM           TERRAIN             CHICAGO                   IL
76139   3GKALPEV4KL244253   GM           TERRAIN             Irving                    TX
76140   3GKALPEV4KL244544   GM           TERRAIN             DFW AIRPORT               TX
76141   3GKALPEV4KL244642   GM           TERRAIN             BURBANK                   CA
76142   3GKALPEV4KL245077   GM           TERRAIN             AUSTIN                    TX
76143   3GKALPEV4KL245080   GM           TERRAIN             AUSTIN                    TX
76144   3GKALPEV4KL245127   GM           TERRAIN             SAINT PAUL                MN
76145   3GKALPEV4KL245323   GM           TERRAIN             LOS ANGELES AP            CA
76146   3GKALPEV4KL245340   GM           TERRAIN             SAN FRANCISCO             CA
76147   3GKALPEV4KL245693   GM           TERRAIN             MEMPHIS                   TN
76148   3GKALPEV4KL245726   GM           TERRAIN             DALLAS                    TX
76149   3GKALPEV4KL245760   GM           TERRAIN             KNOXVILLE                 TN
76150   3GKALPEV4KL245791   GM           TERRAIN             Lake Elsinore             CA
76151   3GKALPEV4KL245869   GM           TERRAIN             HOUSTON                   TX
76152   3GKALPEV4KL246004   GM           TERRAIN             BLOOMINGTON               IL
76153   3GKALPEV4KL246360   GM           TERRAIN             MILWAUKEE                 WI
76154   3GKALPEV4KL246486   GM           TERRAIN             WEST COLUMBIA             SC
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76155   3GKALPEV4KL247864   GM           TERRAIN             MIAMI                     FL
76156   3GKALPEV4KL247931   GM           TERRAIN             ORLANDO                   FL
76157   3GKALPEV4KL248612   GM           TERRAIN             Dallas                    TX
76158   3GKALPEV4KL248738   GM           TERRAIN             Hebron                    KY
76159   3GKALPEV4KL249579   GM           TERRAIN             DFW AIRPORT               TX
76160   3GKALPEV4KL250554   GM           TERRAIN             CHARLOTTE                 NC
76161   3GKALPEV4KL250893   GM           TERRAIN             CLEVELAND                 OH
76162   3GKALPEV4KL251154   GM           TERRAIN             Fairburn                  GA
76163   3GKALPEV4KL251669   GM           TERRAIN             KENNER                    LA
76164   3GKALPEV4KL252160   GM           TERRAIN             ORLANDO                   FL
76165   3GKALPEV4KL253065   GM           TERRAIN             LOUISVILLE                KY
76166   3GKALPEV4KL253423   GM           TERRAIN             ORLANDO                   FL
76167   3GKALPEV4KL253650   GM           TERRAIN             Warr Acres                OK
76168   3GKALPEV4KL281853   GM           TERRAIN             MIAMI                     FL
76169   3GKALPEV4LL237739   GM           TERRAIN             Tulsa                     OK
76170   3GKALPEV5KL172351   GM           TERRAIN             DALLAS                    TX
76171   3GKALPEV5KL174858   GM           TERRAIN             DURHAM                    NC
76172   3GKALPEV5KL176089   GM           TERRAIN             GRAND RAPIDS              MI
76173   3GKALPEV5KL176674   GM           TERRAIN             ORLANDO                   FL
76174   3GKALPEV5KL176710   GM           TERRAIN             WEST PALM BEACH           FL
76175   3GKALPEV5KL176948   GM           TERRAIN             BOSTON                    MA
76176   3GKALPEV5KL176996   GM           TERRAIN             ORLANDO                   FL
76177   3GKALPEV5KL178022   GM           TERRAIN             Tampa                     FL
76178   3GKALPEV5KL178053   GM           TERRAIN             ASHEVILLE                 NC
76179   3GKALPEV5KL178215   GM           TERRAIN             MIAMI                     FL
76180   3GKALPEV5KL178375   GM           TERRAIN             WEST PALM BEACH           FL
76181   3GKALPEV5KL178747   GM           TERRAIN             DETROIT                   MI
76182   3GKALPEV5KL179705   GM           TERRAIN             TITUSVILLE                FL
76183   3GKALPEV5KL180367   GM           TERRAIN             PHILADELPHIA              PA
76184   3GKALPEV5KL182068   GM           TERRAIN             WEST COLUMBIA             SC
76185   3GKALPEV5KL182314   GM           TERRAIN             FORT MYERS                FL
76186   3GKALPEV5KL182488   GM           TERRAIN             ALBANY                    N
76187   3GKALPEV5KL183219   GM           TERRAIN             JACKSON                   MS
76188   3GKALPEV5KL183317   GM           TERRAIN             FORT MYERS                FL
76189   3GKALPEV5KL183639   GM           TERRAIN             MIAMI                     FL
76190   3GKALPEV5KL184726   GM           TERRAIN             Manheim                   PA
76191   3GKALPEV5KL185391   GM           TERRAIN             EGG HARBOR TOWN           NJ
76192   3GKALPEV5KL185925   GM           TERRAIN             ORLANDO                   FL
76193   3GKALPEV5KL186847   GM           TERRAIN             BALTIMORE                 MD
76194   3GKALPEV5KL187285   GM           TERRAIN             DENVER                    CO
76195   3GKALPEV5KL187724   GM           TERRAIN             Dallas                    TX
76196   3GKALPEV5KL190168   GM           TERRAIN             Riverside                 CA
76197   3GKALPEV5KL190980   GM           TERRAIN             ORLANDO                   FL
76198   3GKALPEV5KL191515   GM           TERRAIN             MELROSE PARK              IL
76199   3GKALPEV5KL191594   GM           TERRAIN             DALLAS                    TX
76200   3GKALPEV5KL191868   GM           TERRAIN             KANSAS CITY               MO
76201   3GKALPEV5KL192003   GM           TERRAIN             SCRANTON                  PA
76202   3GKALPEV5KL192020   GM           TERRAIN             DETROIT                   MI
76203   3GKALPEV5KL192471   GM           TERRAIN             SAN ANTONIO               TX
76204   3GKALPEV5KL192891   GM           TERRAIN             CHICAGO                   IL
76205   3GKALPEV5KL194169   GM           TERRAIN             FORT MYERS                FL
76206   3GKALPEV5KL194706   GM           TERRAIN             Davie                     FL
76207   3GKALPEV5KL195869   GM           TERRAIN             SEATAC                    WA
76208   3GKALPEV5KL197573   GM           TERRAIN             KENNER                    LA
76209   3GKALPEV5KL198030   GM           TERRAIN             LOUISVILLE                KY
76210   3GKALPEV5KL198416   GM           TERRAIN             SAN FRANCISCO             CA
76211   3GKALPEV5KL198867   GM           TERRAIN             DALLAS                    TX
76212   3GKALPEV5KL200391   GM           TERRAIN             DALLAS                    TX
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76213   3GKALPEV5KL200472   GM           TERRAIN             DALLAS                    TX
76214   3GKALPEV5KL200522   GM           TERRAIN             Atlanta                   GA
76215   3GKALPEV5KL200732   GM           TERRAIN             HOUSTON                   TX
76216   3GKALPEV5KL200889   GM           TERRAIN             DALLAS                    TX
76217   3GKALPEV5KL201198   GM           TERRAIN             DALLAS                    TX
76218   3GKALPEV5KL201265   GM           TERRAIN             DALLAS                    TX
76219   3GKALPEV5KL201525   GM           TERRAIN             EL PASO                   TX
76220   3GKALPEV5KL201833   GM           TERRAIN             Memphis                   TN
76221   3GKALPEV5KL201900   GM           TERRAIN             AUSTIN                    TX
76222   3GKALPEV5KL202447   GM           TERRAIN             DALLAS                    TX
76223   3GKALPEV5KL203209   GM           TERRAIN             HOUSTON                   TX
76224   3GKALPEV5KL203226   GM           TERRAIN             HOUSTON                   TX
76225   3GKALPEV5KL203923   GM           TERRAIN             SAN ANTONIO               TX
76226   3GKALPEV5KL204022   GM           TERRAIN             Leesburg                  VA
76227   3GKALPEV5KL204148   GM           TERRAIN             PALM SPRINGS              CA
76228   3GKALPEV5KL204196   GM           TERRAIN             Slidell                   LA
76229   3GKALPEV5KL204778   GM           TERRAIN             TULSA                     OK
76230   3GKALPEV5KL204909   GM           TERRAIN             MEMPHIS                   TN
76231   3GKALPEV5KL205798   GM           TERRAIN             TAMPA                     FL
76232   3GKALPEV5KL206000   GM           TERRAIN             DFW AIRPORT               TX
76233   3GKALPEV5KL206286   GM           TERRAIN             SEATAC                    WA
76234   3GKALPEV5KL207227   GM           TERRAIN             HOUSTON                   TX
76235   3GKALPEV5KL207986   GM           TERRAIN             Atlanta                   GA
76236   3GKALPEV5KL209043   GM           TERRAIN             SAN DIEGO                 CA
76237   3GKALPEV5KL209575   GM           TERRAIN             SAN DIEGO                 CA
76238   3GKALPEV5KL210094   GM           TERRAIN             ORLANDO                   FL
76239   3GKALPEV5KL210290   GM           TERRAIN             Tolleson                  AZ
76240   3GKALPEV5KL211911   GM           TERRAIN             ATLANTA                   GA
76241   3GKALPEV5KL218907   GM           TERRAIN             SAN JOSE                  CA
76242   3GKALPEV5KL219183   GM           TERRAIN             PORTLAND                  OR
76243   3GKALPEV5KL219720   GM           TERRAIN             SANTA ANA                 CA
76244   3GKALPEV5KL219765   GM           TERRAIN             LOS ANGELES               CA
76245   3GKALPEV5KL219779   GM           TERRAIN             LAS VEGAS                 NV
76246   3GKALPEV5KL220186   GM           TERRAIN             SEATAC                    WA
76247   3GKALPEV5KL220236   GM           TERRAIN             SACRAMENTO                CA
76248   3GKALPEV5KL220432   GM           TERRAIN             LOS ANGELES               CA
76249   3GKALPEV5KL220527   GM           TERRAIN             Ft. Myers                 FL
76250   3GKALPEV5KL220981   GM           TERRAIN             DENVER                    CO
76251   3GKALPEV5KL221130   GM           TERRAIN             LAS VEGAS                 NV
76252   3GKALPEV5KL221550   GM           TERRAIN             PHOENIX                   AZ
76253   3GKALPEV5KL221631   GM           TERRAIN             PHOENIX                   AZ
76254   3GKALPEV5KL221726   GM           TERRAIN             LAS VEGAS                 NV
76255   3GKALPEV5KL221810   GM           TERRAIN             Jacksonville              FL
76256   3GKALPEV5KL221905   GM           TERRAIN             SAN DIEGO                 CA
76257   3GKALPEV5KL222147   GM           TERRAIN             Indianapolis              IN
76258   3GKALPEV5KL222424   GM           TERRAIN             SEATAC                    WA
76259   3GKALPEV5KL222617   GM           TERRAIN             SAN JOSE                  CA
76260   3GKALPEV5KL222746   GM           TERRAIN             Detroit                   MI
76261   3GKALPEV5KL222990   GM           TERRAIN             SAN DIEGO                 CA
76262   3GKALPEV5KL223007   GM           TERRAIN             PHOENIX                   AZ
76263   3GKALPEV5KL223296   GM           TERRAIN             LAS VEGAS                 NV
76264   3GKALPEV5KL223332   GM           TERRAIN             PALM SPRINGS              CA
76265   3GKALPEV5KL223413   GM           TERRAIN             LOS ANGELES               CA
76266   3GKALPEV5KL223864   GM           TERRAIN             PALM SPRINGS              CA
76267   3GKALPEV5KL224089   GM           TERRAIN             INGLEWOOD                 CA
76268   3GKALPEV5KL224352   GM           TERRAIN             FRESNO                    CA
76269   3GKALPEV5KL224402   GM           TERRAIN             SAN FRANCISCO             CA
76270   3GKALPEV5KL225730   GM           TERRAIN             Atlanta                   GA
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76271   3GKALPEV5KL227199   GM           TERRAIN             LAS VEGAS                 NV
76272   3GKALPEV5KL227509   GM           TERRAIN             WOODSON TERRACE           MO
76273   3GKALPEV5KL229423   GM           TERRAIN             MORRISVILLE               NC
76274   3GKALPEV5KL229731   GM           TERRAIN             EL PASO                   TX
76275   3GKALPEV5KL229759   GM           TERRAIN             Tampa                     FL
76276   3GKALPEV5KL231141   GM           TERRAIN             SAN DIEGO                 CA
76277   3GKALPEV5KL231916   GM           TERRAIN             SAN DIEGO                 CA
76278   3GKALPEV5KL232435   GM           TERRAIN             BULLHEAD CITY             AZ
76279   3GKALPEV5KL232497   GM           TERRAIN             OAKLAND                   CA
76280   3GKALPEV5KL233536   GM           TERRAIN             Riverside                 CA
76281   3GKALPEV5KL233908   GM           TERRAIN             LAS VEGAS                 NV
76282   3GKALPEV5KL234136   GM           TERRAIN             Atlanta                   GA
76283   3GKALPEV5KL234203   GM           TERRAIN             FORT MYERS                FL
76284   3GKALPEV5KL234363   GM           TERRAIN             Bridgeton                 MO
76285   3GKALPEV5KL234556   GM           TERRAIN             JACKSONVILLE              FL
76286   3GKALPEV5KL234606   GM           TERRAIN             FORT MYERS                FL
76287   3GKALPEV5KL235089   GM           TERRAIN             Kansas City               MO
76288   3GKALPEV5KL235514   GM           TERRAIN             SAN DIEGO                 CA
76289   3GKALPEV5KL236419   GM           TERRAIN             PHOENIX                   AZ
76290   3GKALPEV5KL236694   GM           TERRAIN             SANTA CLARA               CA
76291   3GKALPEV5KL236744   GM           TERRAIN             LAS VEGAS                 NV
76292   3GKALPEV5KL236775   GM           TERRAIN             Fontana                   CA
76293   3GKALPEV5KL236825   GM           TERRAIN             NORTH HILLS               CA
76294   3GKALPEV5KL237103   GM           TERRAIN             LOS ANGELES               CA
76295   3GKALPEV5KL237134   GM           TERRAIN             SEATAC                    WA
76296   3GKALPEV5KL237280   GM           TERRAIN             LAS VEGAS                 NV
76297   3GKALPEV5KL237358   GM           TERRAIN             LOS ANGELES               CA
76298   3GKALPEV5KL237411   GM           TERRAIN             LAS VEGAS                 NV
76299   3GKALPEV5KL237568   GM           TERRAIN             PALM SPRINGS              CA
76300   3GKALPEV5KL237635   GM           TERRAIN             NEW BERN                  NC
76301   3GKALPEV5KL237716   GM           TERRAIN             SUMTER                    SC
76302   3GKALPEV5KL237750   GM           TERRAIN             LOS ANGELES               CA
76303   3GKALPEV5KL237876   GM           TERRAIN             HOUSTON                   TX
76304   3GKALPEV5KL237991   GM           TERRAIN             MOLINE                    IL
76305   3GKALPEV5KL238039   GM           TERRAIN             LAS VEGAS                 NV
76306   3GKALPEV5KL238154   GM           TERRAIN             LOS ANGELES               CA
76307   3GKALPEV5KL238364   GM           TERRAIN             SACRAMENTO                CA
76308   3GKALPEV5KL238459   GM           TERRAIN             SAN ANTONIO               TX
76309   3GKALPEV5KL238798   GM           TERRAIN             DALLAS                    TX
76310   3GKALPEV5KL239546   GM           TERRAIN             KENNER                    LA
76311   3GKALPEV5KL240146   GM           TERRAIN             CHICAGO                   IL
76312   3GKALPEV5KL240471   GM           TERRAIN             NEW ORLEANS               LA
76313   3GKALPEV5KL240664   GM           TERRAIN             JACKSONVILLE              FL
76314   3GKALPEV5KL241717   GM           TERRAIN             ORLANDO                   FL
76315   3GKALPEV5KL241765   GM           TERRAIN             FORT LAUDERDALE           FL
76316   3GKALPEV5KL241832   GM           TERRAIN             JACKSONVILLE              FL
76317   3GKALPEV5KL242060   GM           TERRAIN             COLLEGE PARK              GA
76318   3GKALPEV5KL242074   GM           TERRAIN             FORT LAUDERDALE           FL
76319   3GKALPEV5KL242754   GM           TERRAIN             Grove City                OH
76320   3GKALPEV5KL242818   GM           TERRAIN             ORLANDO                   FL
76321   3GKALPEV5KL243015   GM           TERRAIN             ORLANDO                   FL
76322   3GKALPEV5KL243189   GM           TERRAIN             ROANOKE                   VA
76323   3GKALPEV5KL243273   GM           TERRAIN             LAS VEGAS                 NV
76324   3GKALPEV5KL243743   GM           TERRAIN             DENVER                    CO
76325   3GKALPEV5KL243810   GM           TERRAIN             SAN FRANCISCO             CA
76326   3GKALPEV5KL243841   GM           TERRAIN             HOUSTON                   TX
76327   3GKALPEV5KL243872   GM           TERRAIN             CHICAGO                   IL
76328   3GKALPEV5KL243936   GM           TERRAIN             ORLANDO                   FL
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76329   3GKALPEV5KL243998   GM           TERRAIN             DALLAS                    TX
76330   3GKALPEV5KL244326   GM           TERRAIN             PHOENIX                   AZ
76331   3GKALPEV5KL244584   GM           TERRAIN             WICHITA FALLS             TX
76332   3GKALPEV5KL244651   GM           TERRAIN             CORPUS CHRISTI            TX
76333   3GKALPEV5KL244956   GM           TERRAIN             LAS VEGAS                 NV
76334   3GKALPEV5KL245315   GM           TERRAIN             MONTGOMERY                AL
76335   3GKALPEV5KL245606   GM           TERRAIN             CHICAGO                   IL
76336   3GKALPEV5KL245668   GM           TERRAIN             SAN DIEGO                 CA
76337   3GKALPEV5KL245847   GM           TERRAIN             BIRMINGHAM                AL
76338   3GKALPEV5KL245881   GM           TERRAIN             SALT LAKE CITY            US
76339   3GKALPEV5KL246576   GM           TERRAIN             AUSTIN                    TX
76340   3GKALPEV5KL246612   GM           TERRAIN             FORT LAUDERDALE           FL
76341   3GKALPEV5KL247355   GM           TERRAIN             HOUSTON                   TX
76342   3GKALPEV5KL248845   GM           TERRAIN             TAMPA                     FL
76343   3GKALPEV5KL249770   GM           TERRAIN             INDIANAPOLIS              IN
76344   3GKALPEV5KL249896   GM           TERRAIN             TAMPA                     FL
76345   3GKALPEV5KL250742   GM           TERRAIN             NEWARK                    NJ
76346   3GKALPEV5KL250840   GM           TERRAIN             FORT MYERS                FL
76347   3GKALPEV5KL251051   GM           TERRAIN             ORLANDO                   FL
76348   3GKALPEV5KL251406   GM           TERRAIN             SAINT LOUIS               MO
76349   3GKALPEV5KL251583   GM           TERRAIN             Atlanta                   GA
76350   3GKALPEV5KL252328   GM           TERRAIN             WEST PALM BEACH           FL
76351   3GKALPEV5KL252474   GM           TERRAIN             TULSA                     OK
76352   3GKALPEV5KL252605   GM           TERRAIN             ORLANDO                   FL
76353   3GKALPEV5KL253138   GM           TERRAIN             TAMPA                     FL
76354   3GKALPEV5KL285863   GM           TERRAIN             ORLANDO                   FL
76355   3GKALPEV5LL236213   GM           TERRAIN             Tulsa                     OK
76356   3GKALPEV6KL172505   GM           TERRAIN             MIAMI INT'L AP            FL
76357   3GKALPEV6KL172987   GM           TERRAIN             North Dighton             MA
76358   3GKALPEV6KL173427   GM           TERRAIN             COLUMBIA                  SC
76359   3GKALPEV6KL175825   GM           TERRAIN             CLEVELAND                 OH
76360   3GKALPEV6KL176229   GM           TERRAIN             COLUMBIA                  SC
76361   3GKALPEV6KL177137   GM           TERRAIN             MIAMI                     FL
76362   3GKALPEV6KL177283   GM           TERRAIN             WEST COLUMBIA             SC
76363   3GKALPEV6KL178112   GM           TERRAIN             KANSAS CITY               MO
76364   3GKALPEV6KL178384   GM           TERRAIN             WEST PALM BEACH           FL
76365   3GKALPEV6KL178501   GM           TERRAIN             FISHKILL                  NY
76366   3GKALPEV6KL179003   GM           TERRAIN             ORLANDO                   FL
76367   3GKALPEV6KL179034   GM           TERRAIN             SACRAMENTO                CA
76368   3GKALPEV6KL179695   GM           TERRAIN             ORANGE COUNTY             CA
76369   3GKALPEV6KL180068   GM           TERRAIN             TULSA                     OK
76370   3GKALPEV6KL180670   GM           TERRAIN             Detroit                   MI
76371   3GKALPEV6KL181771   GM           TERRAIN             WEST COLUMBIA             SC
76372   3GKALPEV6KL181785   GM           TERRAIN             STERLING                  VA
76373   3GKALPEV6KL181866   GM           TERRAIN             KENNER                    LA
76374   3GKALPEV6KL182502   GM           TERRAIN             ORLANDO                   FL
76375   3GKALPEV6KL182581   GM           TERRAIN             SARASOTA                  FL
76376   3GKALPEV6KL183536   GM           TERRAIN             JACKSONVILLE              FL
76377   3GKALPEV6KL183679   GM           TERRAIN             DETROIT                   MI
76378   3GKALPEV6KL183889   GM           TERRAIN             SOUTHEAST DST OFFC        OK
76379   3GKALPEV6KL184363   GM           TERRAIN             PENSACOLA                 FL
76380   3GKALPEV6KL184900   GM           TERRAIN             Winston‐Salem             NC
76381   3GKALPEV6KL185013   GM           TERRAIN             JACKSONVILLE              FL
76382   3GKALPEV6KL185996   GM           TERRAIN             Tampa                     FL
76383   3GKALPEV6KL186663   GM           TERRAIN             ORLANDO                   FL
76384   3GKALPEV6KL186789   GM           TERRAIN             PALM SPRINGS              CA
76385   3GKALPEV6KL187439   GM           TERRAIN             Atlanta                   GA
76386   3GKALPEV6KL187490   GM           TERRAIN             St. Louis                 MO
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76387   3GKALPEV6KL188526   GM           TERRAIN             Miami                     FL
76388   3GKALPEV6KL189420   GM           TERRAIN             DALLAS                    TX
76389   3GKALPEV6KL189689   GM           TERRAIN             Atlanta                   GA
76390   3GKALPEV6KL189871   GM           TERRAIN             DULUTH                    GA
76391   3GKALPEV6KL190230   GM           TERRAIN             Atlanta                   GA
76392   3GKALPEV6KL190373   GM           TERRAIN             FORT MYERS                FL
76393   3GKALPEV6KL190731   GM           TERRAIN             LOUISVILLE                KY
76394   3GKALPEV6KL190941   GM           TERRAIN             TAMPA                     US
76395   3GKALPEV6KL191085   GM           TERRAIN             DALLAS                    TX
76396   3GKALPEV6KL191443   GM           TERRAIN             SANTA ANA                 CA
76397   3GKALPEV6KL191782   GM           TERRAIN             WEST PALM BEACH           FL
76398   3GKALPEV6KL192284   GM           TERRAIN             SAN DIEGO                 CA
76399   3GKALPEV6KL192575   GM           TERRAIN             WEST PALM BEACH           FL
76400   3GKALPEV6KL194892   GM           TERRAIN             CLEVELAND                 OH
76401   3GKALPEV6KL194911   GM           TERRAIN             HOUSTON                   TX
76402   3GKALPEV6KL196951   GM           TERRAIN             PHOENIX                   AZ
76403   3GKALPEV6KL197369   GM           TERRAIN             DETROIT                   MI
76404   3GKALPEV6KL197503   GM           TERRAIN             CHICAGO                   IL
76405   3GKALPEV6KL198246   GM           TERRAIN             MIAMI                     FL
76406   3GKALPEV6KL198831   GM           TERRAIN             DALLAS                    TX
76407   3GKALPEV6KL198845   GM           TERRAIN             Miami                     FL
76408   3GKALPEV6KL200562   GM           TERRAIN             PHOENIX                   AZ
76409   3GKALPEV6KL200576   GM           TERRAIN             SHREVEPORT                LA
76410   3GKALPEV6KL200660   GM           TERRAIN             CHICAGO                   IL
76411   3GKALPEV6KL200691   GM           TERRAIN             HOUSTON                   TX
76412   3GKALPEV6KL200917   GM           TERRAIN             CUMMING                   GA
76413   3GKALPEV6KL201422   GM           TERRAIN             HOUSTON                   TX
76414   3GKALPEV6KL201520   GM           TERRAIN             HOUSTON                   TX
76415   3GKALPEV6KL201646   GM           TERRAIN             ORLANDO                   FL
76416   3GKALPEV6KL201680   GM           TERRAIN             ATLANTA                   GA
76417   3GKALPEV6KL201811   GM           TERRAIN             HOUSTON                   TX
76418   3GKALPEV6KL201906   GM           TERRAIN             KENNER                    LA
76419   3GKALPEV6KL201968   GM           TERRAIN             SAN ANTONIO               TX
76420   3GKALPEV6KL202568   GM           TERRAIN             TAMPA                     FL
76421   3GKALPEV6KL202604   GM           TERRAIN             KENNER                    LA
76422   3GKALPEV6KL202649   GM           TERRAIN             KENNER                    LA
76423   3GKALPEV6KL202988   GM           TERRAIN             SAN ANTONIO               TX
76424   3GKALPEV6KL203249   GM           TERRAIN             SAINT LOUIS               MO
76425   3GKALPEV6KL203316   GM           TERRAIN             LAS VEGAS                 NV
76426   3GKALPEV6KL203543   GM           TERRAIN             HOUSTON                   TX
76427   3GKALPEV6KL203784   GM           TERRAIN             HOUSTON                   TX
76428   3GKALPEV6KL204093   GM           TERRAIN             WARWICK                   RI
76429   3GKALPEV6KL204241   GM           TERRAIN             SAN ANTONIO               TX
76430   3GKALPEV6KL204305   GM           TERRAIN             Hebron                    KY
76431   3GKALPEV6KL204336   GM           TERRAIN             DFW AIRPORT               TX
76432   3GKALPEV6KL204370   GM           TERRAIN             DENVER                    CO
76433   3GKALPEV6KL204417   GM           TERRAIN             DENVER                    CO
76434   3GKALPEV6KL204532   GM           TERRAIN             Wichita                   KS
76435   3GKALPEV6KL204658   GM           TERRAIN             Houston                   TX
76436   3GKALPEV6KL205244   GM           TERRAIN             EL PASO                   TX
76437   3GKALPEV6KL205258   GM           TERRAIN             SAN ANTONIO               TX
76438   3GKALPEV6KL205339   GM           TERRAIN             TAMPA                     US
76439   3GKALPEV6KL205440   GM           TERRAIN             SAN ANTONIO               TX
76440   3GKALPEV6KL205759   GM           TERRAIN             WEST PALM BEACH           FL
76441   3GKALPEV6KL206457   GM           TERRAIN             FRESNO                    CA
76442   3GKALPEV6KL207320   GM           TERRAIN             CLEVELAND                 OH
76443   3GKALPEV6KL207754   GM           TERRAIN             LAS VEGAS                 NV
76444   3GKALPEV6KL208144   GM           TERRAIN             LAS VEGAS                 NV
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76445   3GKALPEV6KL208760   GM           TERRAIN             PHOENIX                   AZ
76446   3GKALPEV6KL208841   GM           TERRAIN             PHOENIX                   AZ
76447   3GKALPEV6KL209133   GM           TERRAIN             Portland                  OR
76448   3GKALPEV6KL210914   GM           TERRAIN             Kansas City               MO
76449   3GKALPEV6KL211299   GM           TERRAIN             ONTARIO                   CA
76450   3GKALPEV6KL211416   GM           TERRAIN             LOS ANGELES AP            CA
76451   3GKALPEV6KL218852   GM           TERRAIN             LOS ANGELES               CA
76452   3GKALPEV6KL219192   GM           TERRAIN             WEST PALM BEACH           FL
76453   3GKALPEV6KL219631   GM           TERRAIN             SAINT LOUIS               MO
76454   3GKALPEV6KL219709   GM           TERRAIN             OAKLAND                   CA
76455   3GKALPEV6KL219788   GM           TERRAIN             SEATAC                    WA
76456   3GKALPEV6KL219810   GM           TERRAIN             SALT LAKE CITY            UT
76457   3GKALPEV6KL220570   GM           TERRAIN             SANTA ANA                 CA
76458   3GKALPEV6KL220648   GM           TERRAIN             LAS VEGAS                 NV
76459   3GKALPEV6KL220729   GM           TERRAIN             SALT LAKE CITY            UT
76460   3GKALPEV6KL220827   GM           TERRAIN             WEST PALM BEACH           FL
76461   3GKALPEV6KL220875   GM           TERRAIN             PHOENIX                   AZ
76462   3GKALPEV6KL220889   GM           TERRAIN             Los Angeles               CA
76463   3GKALPEV6KL220956   GM           TERRAIN             Irving                    TX
76464   3GKALPEV6KL221041   GM           TERRAIN             PORTLAND                  OR
76465   3GKALPEV6KL221489   GM           TERRAIN             LOS ANGELES               CA
76466   3GKALPEV6KL222061   GM           TERRAIN             SAN DIEGO                 CA
76467   3GKALPEV6KL222254   GM           TERRAIN             SANTA ANA                 CA
76468   3GKALPEV6KL222447   GM           TERRAIN             North Dighton             MA
76469   3GKALPEV6KL222478   GM           TERRAIN             LOS ANGELES               CA
76470   3GKALPEV6KL222772   GM           TERRAIN             SAN JOSE                  CA
76471   3GKALPEV6KL223114   GM           TERRAIN             ONTARIO                   CA
76472   3GKALPEV6KL223808   GM           TERRAIN             LOS ANGELES AP            CA
76473   3GKALPEV6KL224165   GM           TERRAIN             DALLAS                    TX
76474   3GKALPEV6KL224201   GM           TERRAIN             SAN JOSE                  CA
76475   3GKALPEV6KL225381   GM           TERRAIN             Windsor Locks             CT
76476   3GKALPEV6KL225459   GM           TERRAIN             LOS ANGELES               CA
76477   3GKALPEV6KL229091   GM           TERRAIN             LAS VEGAS                 NV
76478   3GKALPEV6KL230631   GM           TERRAIN             FORT LAUDERDALE           FL
76479   3GKALPEV6KL230824   GM           TERRAIN             FORT LAUDERDALE           FL
76480   3GKALPEV6KL231181   GM           TERRAIN             PHOENIX                   AZ
76481   3GKALPEV6KL231696   GM           TERRAIN             LAS VEGAS                 NV
76482   3GKALPEV6KL232122   GM           TERRAIN             Tolleson                  AZ
76483   3GKALPEV6KL232637   GM           TERRAIN             LAS VEGAS                 NV
76484   3GKALPEV6KL232914   GM           TERRAIN             Albuquerque               NM
76485   3GKALPEV6KL234159   GM           TERRAIN             LOS ANGELES               CA
76486   3GKALPEV6KL234775   GM           TERRAIN             SAINT LOUIS               MO
76487   3GKALPEV6KL234999   GM           TERRAIN             SEATAC                    WA
76488   3GKALPEV6KL235134   GM           TERRAIN             AUSTIN                    TX
76489   3GKALPEV6KL235585   GM           TERRAIN             SACRAMENTO                CA
76490   3GKALPEV6KL235697   GM           TERRAIN             ATLANTA                   GA
76491   3GKALPEV6KL235747   GM           TERRAIN             SAN JOSE                  CA
76492   3GKALPEV6KL235988   GM           TERRAIN             LAS VEGAS                 NV
76493   3GKALPEV6KL236042   GM           TERRAIN             TAMPA                     FL
76494   3GKALPEV6KL236056   GM           TERRAIN             ORLANDO                   FL
76495   3GKALPEV6KL236087   GM           TERRAIN             SAN DIEGO                 CA
76496   3GKALPEV6KL236283   GM           TERRAIN             SAN DIEGO                 CA
76497   3GKALPEV6KL236297   GM           TERRAIN             OAKLAND                   CA
76498   3GKALPEV6KL236381   GM           TERRAIN             Tampa                     FL
76499   3GKALPEV6KL236400   GM           TERRAIN             LOS ANGELES               CA
76500   3GKALPEV6KL236879   GM           TERRAIN             LAS VEGAS                 NV
76501   3GKALPEV6KL236901   GM           TERRAIN             BURBANK                   CA
76502   3GKALPEV6KL236946   GM           TERRAIN             Los Angeles               CA
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76503   3GKALPEV6KL237031   GM           TERRAIN             ORANGE COUNTY             CA
76504   3GKALPEV6KL237174   GM           TERRAIN             LOS ANGELES               CA
76505   3GKALPEV6KL237238   GM           TERRAIN             LAS VEGAS                 NV
76506   3GKALPEV6KL237451   GM           TERRAIN             SAN DIEGO                 CA
76507   3GKALPEV6KL237482   GM           TERRAIN             WEST PALM BEACH           FL
76508   3GKALPEV6KL237840   GM           TERRAIN             LAS VEGAS                 NV
76509   3GKALPEV6KL237885   GM           TERRAIN             BURBANK                   CA
76510   3GKALPEV6KL237899   GM           TERRAIN             FAYETTEVILLE              GA
76511   3GKALPEV6KL238003   GM           TERRAIN             LOUISVILLE                KY
76512   3GKALPEV6KL238129   GM           TERRAIN             ONTARIO                   CA
76513   3GKALPEV6KL238311   GM           TERRAIN             LAS VEGAS                 NV
76514   3GKALPEV6KL238647   GM           TERRAIN             KENNER                    LA
76515   3GKALPEV6KL238857   GM           TERRAIN             FORT LAUDERDALE           FL
76516   3GKALPEV6KL238860   GM           TERRAIN             MIAMI                     FL
76517   3GKALPEV6KL239328   GM           TERRAIN             WEST PALM BEACH           FL
76518   3GKALPEV6KL239622   GM           TERRAIN             FORT LAUDERDALE           FL
76519   3GKALPEV6KL240222   GM           TERRAIN             TAMPA                     FL
76520   3GKALPEV6KL240639   GM           TERRAIN             BIRMINGHAN                AL
76521   3GKALPEV6KL241497   GM           TERRAIN             SARASOTA                  FL
76522   3GKALPEV6KL241516   GM           TERRAIN             Houston                   TX
76523   3GKALPEV6KL241676   GM           TERRAIN             FORT MYERS                FL
76524   3GKALPEV6KL241984   GM           TERRAIN             FORT MYERS                FL
76525   3GKALPEV6KL242214   GM           TERRAIN             TAMPA                     FL
76526   3GKALPEV6KL242360   GM           TERRAIN             Hendersonville            TN
76527   3GKALPEV6KL243914   GM           TERRAIN             LOS ANGELES AP            CA
76528   3GKALPEV6KL244111   GM           TERRAIN             PHOENIX                   AZ
76529   3GKALPEV6KL244142   GM           TERRAIN             KENNER                    LA
76530   3GKALPEV6KL244271   GM           TERRAIN             CLEVELAND                 OH
76531   3GKALPEV6KL244321   GM           TERRAIN             DALLAS                    TX
76532   3GKALPEV6KL244416   GM           TERRAIN             TUCSON                    AZ
76533   3GKALPEV6KL244495   GM           TERRAIN             HOUSTON                   TX
76534   3GKALPEV6KL244710   GM           TERRAIN             FRESNO                    CA
76535   3GKALPEV6KL244741   GM           TERRAIN             SAN DIEGO                 CA
76536   3GKALPEV6KL244786   GM           TERRAIN             Atlanta                   GA
76537   3GKALPEV6KL245002   GM           TERRAIN             LOS ANGELES               CA
76538   3GKALPEV6KL245050   GM           TERRAIN             SAN DIEGO                 CA
76539   3GKALPEV6KL245128   GM           TERRAIN             STERLING                  VA
76540   3GKALPEV6KL245131   GM           TERRAIN             DALLAS                    TX
76541   3GKALPEV6KL245405   GM           TERRAIN             LOS ANGELES               CA
76542   3GKALPEV6KL245419   GM           TERRAIN             ORANGE COUNTY             CA
76543   3GKALPEV6KL245467   GM           TERRAIN             SAN FRANCISCO             CA
76544   3GKALPEV6KL245484   GM           TERRAIN             DALLAS                    TX
76545   3GKALPEV6KL245629   GM           TERRAIN             SAN FRANCISCO             CA
76546   3GKALPEV6KL245694   GM           TERRAIN             DALLAS                    TX
76547   3GKALPEV6KL245890   GM           TERRAIN             SHREVEPORT                LA
76548   3GKALPEV6KL246019   GM           TERRAIN             RICHMOND                  VA
76549   3GKALPEV6KL246053   GM           TERRAIN             SHREVEPORT                US
76550   3GKALPEV6KL246554   GM           TERRAIN             ORLANDO                   FL
76551   3GKALPEV6KL248935   GM           TERRAIN             SARASOTA                  FL
76552   3GKALPEV6KL249700   GM           TERRAIN             MIAMI                     FL
76553   3GKALPEV6KL249924   GM           TERRAIN             DALLAS                    TX
76554   3GKALPEV6KL251303   GM           TERRAIN             WEST PALM BEACH           FL
76555   3GKALPEV6KL252564   GM           TERRAIN             ORLANDO                   FL
76556   3GKALPEV6KL252841   GM           TERRAIN             Charlotte                 NC
76557   3GKALPEV6KL252855   GM           TERRAIN             ORLANDO                   FL
76558   3GKALPEV6KL252936   GM           TERRAIN             FORT MYERS                FL
76559   3GKALPEV6KL253276   GM           TERRAIN             FORT LAUDERDALE           FL
76560   3GKALPEV6KL253391   GM           TERRAIN             ORLANDO                   FL
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76561   3GKALPEV6KL253763   GM           TERRAIN             BLOOMINGTON               IL
76562   3GKALPEV6KL253892   GM           TERRAIN             JACKSONVILLE              FL
76563   3GKALPEV6KL285290   GM           TERRAIN             KENNER                    LA
76564   3GKALPEV6KL285838   GM           TERRAIN             DALLAS                    TX
76565   3GKALPEV6KL322208   GM           TERRAIN             SHREVEPORT                LA
76566   3GKALPEV6LL191895   GM           TERRAIN             FORT MYERS                FL
76567   3GKALPEV7KL172948   GM           TERRAIN             FORT LAUDERDALE           FL
76568   3GKALPEV7KL173873   GM           TERRAIN             KENNER                    LA
76569   3GKALPEV7KL173906   GM           TERRAIN             FORT MYERS                FL
76570   3GKALPEV7KL174232   GM           TERRAIN             BOSTON                    MA
76571   3GKALPEV7KL174568   GM           TERRAIN             ORLANDO                   FL
76572   3GKALPEV7KL174621   GM           TERRAIN             PHILADELPHIA              PA
76573   3GKALPEV7KL174733   GM           TERRAIN             ORLANDO                   FL
76574   3GKALPEV7KL175218   GM           TERRAIN             ORLANDO                   FL
76575   3GKALPEV7KL176000   GM           TERRAIN             Tampa                     FL
76576   3GKALPEV7KL177261   GM           TERRAIN             Orlando                   FL
76577   3GKALPEV7KL177437   GM           TERRAIN             BOSTON                    MA
76578   3GKALPEV7KL177566   GM           TERRAIN             FORT MYERS                FL
76579   3GKALPEV7KL177759   GM           TERRAIN             MIAMI                     FL
76580   3GKALPEV7KL177762   GM           TERRAIN             BALTIMORE                 MD
76581   3GKALPEV7KL178829   GM           TERRAIN             Miami                     FL
76582   3GKALPEV7KL179852   GM           TERRAIN             WEST COLUMBIA             SC
76583   3GKALPEV7KL180077   GM           TERRAIN             KENNER                    LA
76584   3GKALPEV7KL180662   GM           TERRAIN             Bensalem                  PA
76585   3GKALPEV7KL181262   GM           TERRAIN             WOODLAND HILLS            CA
76586   3GKALPEV7KL181732   GM           TERRAIN             SOUTHEAST DST OFFC        OK
76587   3GKALPEV7KL182833   GM           TERRAIN             ORLANDO                   FL
76588   3GKALPEV7KL183075   GM           TERRAIN             ATLANTA                   GA
76589   3GKALPEV7KL183593   GM           TERRAIN             STERLING                  VA
76590   3GKALPEV7KL185781   GM           TERRAIN             Elkridge                  MD
76591   3GKALPEV7KL186221   GM           TERRAIN             TAMPA                     FL
76592   3GKALPEV7KL186770   GM           TERRAIN             North Dighton             MA
76593   3GKALPEV7KL187126   GM           TERRAIN             TAMPA                     US
76594   3GKALPEV7KL189135   GM           TERRAIN             Tampa                     FL
76595   3GKALPEV7KL189605   GM           TERRAIN             CHARLOTTE                 NC
76596   3GKALPEV7KL190267   GM           TERRAIN             DENVER                    CO
76597   3GKALPEV7KL190415   GM           TERRAIN             HOUSTON                   TX
76598   3GKALPEV7KL192049   GM           TERRAIN             NEWARK                    NJ
76599   3GKALPEV7KL192309   GM           TERRAIN             Florissant                MO
76600   3GKALPEV7KL192696   GM           TERRAIN             Atlanta                   GA
76601   3GKALPEV7KL192956   GM           TERRAIN             DALLAS                    TX
76602   3GKALPEV7KL193069   GM           TERRAIN             FORT LAUDERDALE           FL
76603   3GKALPEV7KL193590   GM           TERRAIN             LITTLE ROCK               AR
76604   3GKALPEV7KL193640   GM           TERRAIN             ALBUQUERQUE               NM
76605   3GKALPEV7KL195341   GM           TERRAIN             MIAMI                     FL
76606   3GKALPEV7KL196635   GM           TERRAIN             AUSTIN                    TX
76607   3GKALPEV7KL196652   GM           TERRAIN             PORTLAND                  OR
76608   3GKALPEV7KL196859   GM           TERRAIN             ORLANDO                   FL
76609   3GKALPEV7KL197378   GM           TERRAIN             PHILADELPHIA              PA
76610   3GKALPEV7KL198188   GM           TERRAIN             NEWARK                    NJ
76611   3GKALPEV7KL198482   GM           TERRAIN             FORT LAUDERDALE           FL
76612   3GKALPEV7KL198773   GM           TERRAIN             WEST PALM BEACH           FL
76613   3GKALPEV7KL200540   GM           TERRAIN             MILWAUKEE                 WI
76614   3GKALPEV7KL200747   GM           TERRAIN             DALLAS                    TX
76615   3GKALPEV7KL200800   GM           TERRAIN             Jacksonville              FL
76616   3GKALPEV7KL200974   GM           TERRAIN             TAMPA                     FL
76617   3GKALPEV7KL201364   GM           TERRAIN             DENVER                    CO
76618   3GKALPEV7KL201400   GM           TERRAIN             DALLAS                    TX
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76619   3GKALPEV7KL201431   GM           TERRAIN             HOUSTON                   TX
76620   3GKALPEV7KL202014   GM           TERRAIN             ALBUQUERQUE               NM
76621   3GKALPEV7KL202157   GM           TERRAIN             OKLAHOMA CITY             OK
76622   3GKALPEV7KL202174   GM           TERRAIN             DETROIT                   MI
76623   3GKALPEV7KL202207   GM           TERRAIN             AUSTIN                    TX
76624   3GKALPEV7KL202238   GM           TERRAIN             DALLAS                    TX
76625   3GKALPEV7KL202532   GM           TERRAIN             SAN ANTONIO               TX
76626   3GKALPEV7KL202921   GM           TERRAIN             LAS VEGAS                 NV
76627   3GKALPEV7KL202935   GM           TERRAIN             NASHVILLE                 TN
76628   3GKALPEV7KL203292   GM           TERRAIN             DENHAM SPRINGS            LA
76629   3GKALPEV7KL203616   GM           TERRAIN             HOUSTON                   TX
76630   3GKALPEV7KL203714   GM           TERRAIN             MILWAUKEE                 WI
76631   3GKALPEV7KL203731   GM           TERRAIN             HOUSTON                   TX
76632   3GKALPEV7KL204300   GM           TERRAIN             HOUSTON                   TX
76633   3GKALPEV7KL205088   GM           TERRAIN             AUSTIN                    TX
76634   3GKALPEV7KL205110   GM           TERRAIN             Salt Lake City            UT
76635   3GKALPEV7KL205236   GM           TERRAIN             SHREVEPORT                LA
76636   3GKALPEV7KL205589   GM           TERRAIN             CORPUS CHRISTI            TX
76637   3GKALPEV7KL205737   GM           TERRAIN             HOUSTON                   TX
76638   3GKALPEV7KL205821   GM           TERRAIN             JACKSONVILLE              FL
76639   3GKALPEV7KL206158   GM           TERRAIN             ROANOKE                   VA
76640   3GKALPEV7KL206452   GM           TERRAIN             MONTEREY                  CA
76641   3GKALPEV7KL208315   GM           TERRAIN             SANTA ANA                 CA
76642   3GKALPEV7KL208623   GM           TERRAIN             PHOENIX                   AZ
76643   3GKALPEV7KL209027   GM           TERRAIN             LOS ANGELES               CA
76644   3GKALPEV7KL209626   GM           TERRAIN             LAS VEGAS                 NV
76645   3GKALPEV7KL211084   GM           TERRAIN             DALLAS                    TX
76646   3GKALPEV7KL211098   GM           TERRAIN             PHOENIX                   AZ
76647   3GKALPEV7KL211408   GM           TERRAIN             Phoenix                   AZ
76648   3GKALPEV7KL211845   GM           TERRAIN             BURBANK                   CA
76649   3GKALPEV7KL218777   GM           TERRAIN             LAS VEGAS                 NV
76650   3GKALPEV7KL219105   GM           TERRAIN             HOUSTON                   TX
76651   3GKALPEV7KL219167   GM           TERRAIN             HOUSTON                   TX
76652   3GKALPEV7KL219217   GM           TERRAIN             Fontana                   CA
76653   3GKALPEV7KL219220   GM           TERRAIN             SAN DIEGO                 CA
76654   3GKALPEV7KL219606   GM           TERRAIN             PHOENIX                   AZ
76655   3GKALPEV7KL220030   GM           TERRAIN             DALLAS                    TX
76656   3GKALPEV7KL220190   GM           TERRAIN             RENO                      NV
76657   3GKALPEV7KL220545   GM           TERRAIN             LAS VEGAS                 NV
76658   3GKALPEV7KL221095   GM           TERRAIN             SACRAMENTO                CA
76659   3GKALPEV7KL221226   GM           TERRAIN             PHOENIX                   AZ
76660   3GKALPEV7KL221291   GM           TERRAIN             Detroit                   MI
76661   3GKALPEV7KL221890   GM           TERRAIN             PALM SPRINGS              CA
76662   3GKALPEV7KL221968   GM           TERRAIN             PORTLAND                  OR
76663   3GKALPEV7KL222201   GM           TERRAIN             BALTIMORE                 MD
76664   3GKALPEV7KL222666   GM           TERRAIN             LOS ANGELES               CA
76665   3GKALPEV7KL222909   GM           TERRAIN             SAN DIEGO                 CA
76666   3GKALPEV7KL223025   GM           TERRAIN             SAN DIEGO                 CA
76667   3GKALPEV7KL224806   GM           TERRAIN             LOS ANGELES               CA
76668   3GKALPEV7KL225616   GM           TERRAIN             SAN JOSE                  CA
76669   3GKALPEV7KL226295   GM           TERRAIN             LOS ANGELES               CA
76670   3GKALPEV7KL226622   GM           TERRAIN             Obetz                     OH
76671   3GKALPEV7KL227673   GM           TERRAIN             UNION CITY                GA
76672   3GKALPEV7KL227768   GM           TERRAIN             Memphis                   TN
76673   3GKALPEV7KL229035   GM           TERRAIN             MIAMI                     FL
76674   3GKALPEV7KL229746   GM           TERRAIN             SAN DIEGO                 CA
76675   3GKALPEV7KL230377   GM           TERRAIN             LOS ANGELES               CA
76676   3GKALPEV7KL230508   GM           TERRAIN             LAS VEGAS                 NV
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76677   3GKALPEV7KL230539   GM           TERRAIN             DETROIT                   MI
76678   3GKALPEV7KL231304   GM           TERRAIN             BLOOMINGTON               IL
76679   3GKALPEV7KL231321   GM           TERRAIN             SAN JOSE                  CA
76680   3GKALPEV7KL232369   GM           TERRAIN             LOS ANGELES AP            CA
76681   3GKALPEV7KL232663   GM           TERRAIN             FRESNO                    CA
76682   3GKALPEV7KL233263   GM           TERRAIN             North Las Vegas           NV
76683   3GKALPEV7KL233599   GM           TERRAIN             LOS ANGELES               CA
76684   3GKALPEV7KL233733   GM           TERRAIN             MEMPHIS                   TN
76685   3GKALPEV7KL233960   GM           TERRAIN             DETROIT                   MI
76686   3GKALPEV7KL234543   GM           TERRAIN             FAYETTEVILLE              GA
76687   3GKALPEV7KL234610   GM           TERRAIN             KANSAS CITY               MO
76688   3GKALPEV7KL235126   GM           TERRAIN             INGLEWOOD                 CA
76689   3GKALPEV7KL235787   GM           TERRAIN             NEW BERN                  NC
76690   3GKALPEV7KL235899   GM           TERRAIN             LAS VEGAS                 NV
76691   3GKALPEV7KL236065   GM           TERRAIN             ONTARIO                   CA
76692   3GKALPEV7KL236258   GM           TERRAIN             CINCINNATI                OH
76693   3GKALPEV7KL236390   GM           TERRAIN             SACRAMENTO                CA
76694   3GKALPEV7KL236549   GM           TERRAIN             LAS VEGAS                 NV
76695   3GKALPEV7KL236678   GM           TERRAIN             Santa Clara               CA
76696   3GKALPEV7KL236857   GM           TERRAIN             MEMPHIS                   TN
76697   3GKALPEV7KL236860   GM           TERRAIN             ONTARIO                   CA
76698   3GKALPEV7KL237197   GM           TERRAIN             LOS ANGELES               CA
76699   3GKALPEV7KL237278   GM           TERRAIN             KENNER                    LA
76700   3GKALPEV7KL237362   GM           TERRAIN             LOS ANGELES               CA
76701   3GKALPEV7KL237426   GM           TERRAIN             Webster                   NY
76702   3GKALPEV7KL237538   GM           TERRAIN             TAMPA                     FL
76703   3GKALPEV7KL237667   GM           TERRAIN             LAS VEGAS                 NV
76704   3GKALPEV7KL237930   GM           TERRAIN             SAN JOSE                  CA
76705   3GKALPEV7KL237975   GM           TERRAIN             SANTA ANA                 CA
76706   3GKALPEV7KL238107   GM           TERRAIN             ORLANDO                   FL
76707   3GKALPEV7KL238219   GM           TERRAIN             FORT LAUDERDALE           FL
76708   3GKALPEV7KL238348   GM           TERRAIN             SANTA BARBARA             CA
76709   3GKALPEV7KL238480   GM           TERRAIN             CHARLOTTESVILLE           VA
76710   3GKALPEV7KL239869   GM           TERRAIN             JACKSON                   MS
76711   3GKALPEV7KL239984   GM           TERRAIN             TAMPA                     FL
76712   3GKALPEV7KL240729   GM           TERRAIN             TAMPA                     FL
76713   3GKALPEV7KL242304   GM           TERRAIN             TAMPA                     FL
76714   3GKALPEV7KL242447   GM           TERRAIN             FORT LAUDERDALE           FL
76715   3GKALPEV7KL242500   GM           TERRAIN             Atlanta                   GA
76716   3GKALPEV7KL242559   GM           TERRAIN             ORLANDO                   FL
76717   3GKALPEV7KL243016   GM           TERRAIN             Richmond                  VA
76718   3GKALPEV7KL243355   GM           TERRAIN             albuquerque               nm
76719   3GKALPEV7KL243629   GM           TERRAIN             FORT MYERS                FL
76720   3GKALPEV7KL243680   GM           TERRAIN             LUBBOCK                   TX
76721   3GKALPEV7KL243727   GM           TERRAIN             ONTARIO, RIVERSIDE        CA
76722   3GKALPEV7KL243744   GM           TERRAIN             CHICAGO                   IL
76723   3GKALPEV7KL244103   GM           TERRAIN             GRAND RAPIDS              MI
76724   3GKALPEV7KL244490   GM           TERRAIN             SAN FRANCISCO             CA
76725   3GKALPEV7KL244781   GM           TERRAIN             SANTA ANA                 CA
76726   3GKALPEV7KL244845   GM           TERRAIN             LOS ANGELES AP            CA
76727   3GKALPEV7KL245087   GM           TERRAIN             Elkridge                  MD
76728   3GKALPEV7KL245090   GM           TERRAIN             LAS VEGAS                 NV
76729   3GKALPEV7KL245168   GM           TERRAIN             ONTARIO                   CA
76730   3GKALPEV7KL245381   GM           TERRAIN             HOUSTON                   TX
76731   3GKALPEV7KL245414   GM           TERRAIN             DALLAS                    TX
76732   3GKALPEV7KL246031   GM           TERRAIN             PHOENIX                   AZ
76733   3GKALPEV7KL246062   GM           TERRAIN             HOUSTON                   TX
76734   3GKALPEV7KL246076   GM           TERRAIN             AUSTIN                    TX
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76735   3GKALPEV7KL246255   GM           TERRAIN             DALLAS                    TX
76736   3GKALPEV7KL247261   GM           TERRAIN             CHICAGO                   IL
76737   3GKALPEV7KL247406   GM           TERRAIN             Windsor Locks             CT
76738   3GKALPEV7KL247499   GM           TERRAIN             DALLAS                    TX
76739   3GKALPEV7KL248507   GM           TERRAIN             ORLANDO                   FL
76740   3GKALPEV7KL251097   GM           TERRAIN             ORLANDO                   FL
76741   3GKALPEV7KL251228   GM           TERRAIN             LOUISVILLE                KY
76742   3GKALPEV7KL251777   GM           TERRAIN             FORT LAUDERDALE           FL
76743   3GKALPEV7KL252797   GM           TERRAIN             Atlanta                   GA
76744   3GKALPEV7KL253139   GM           TERRAIN             TAMPA                     FL
76745   3GKALPEV7KL253576   GM           TERRAIN             WEST PALM BEACH           FL
76746   3GKALPEV7KL282334   GM           TERRAIN             FORT MYERS                FL
76747   3GKALPEV7LL236245   GM           TERRAIN             St. Louis                 MO
76748   3GKALPEV7LL242224   GM           TERRAIN             FORT MYERS                FL
76749   3GKALPEV8KL172201   GM           TERRAIN             DALLAS                    TX
76750   3GKALPEV8KL172523   GM           TERRAIN             SAINT LOUIS               MO
76751   3GKALPEV8KL172781   GM           TERRAIN             UNION CITY                GA
76752   3GKALPEV8KL174756   GM           TERRAIN             HOUSTON                   TX
76753   3GKALPEV8KL174773   GM           TERRAIN             ROSWELL                   GA
76754   3GKALPEV8KL175812   GM           TERRAIN             MIAMI                     FL
76755   3GKALPEV8KL176345   GM           TERRAIN             CHICAGO                   IL
76756   3GKALPEV8KL176989   GM           TERRAIN             Philadelphia              PA
76757   3GKALPEV8KL178533   GM           TERRAIN             GOLDSBORO                 NC
76758   3GKALPEV8KL178595   GM           TERRAIN             BIRMINGHAN                AL
76759   3GKALPEV8KL179326   GM           TERRAIN             LOS ANGELES AP            CA
76760   3GKALPEV8KL179794   GM           TERRAIN             MIAMI                     FL
76761   3GKALPEV8KL180704   GM           TERRAIN             Estero                    FL
76762   3GKALPEV8KL180752   GM           TERRAIN             SARASOTA                  FL
76763   3GKALPEV8KL181660   GM           TERRAIN             SHREVEPORT                LA
76764   3GKALPEV8KL182033   GM           TERRAIN             INDIANAPOLIS              IN
76765   3GKALPEV8KL182601   GM           TERRAIN             FORT LAUDERDALE           FL
76766   3GKALPEV8KL184168   GM           TERRAIN             ATLANTA                   GA
76767   3GKALPEV8KL184400   GM           TERRAIN             MORROW                    GA
76768   3GKALPEV8KL185529   GM           TERRAIN             FORT MYERS                FL
76769   3GKALPEV8KL185742   GM           TERRAIN             Webster                   NY
76770   3GKALPEV8KL186373   GM           TERRAIN             BOSTON                    MA
76771   3GKALPEV8KL186406   GM           TERRAIN             Roseville                 CA
76772   3GKALPEV8KL186809   GM           TERRAIN             RICHMOND                  VA
76773   3GKALPEV8KL188219   GM           TERRAIN             Ocoee                     FL
76774   3GKALPEV8KL190326   GM           TERRAIN             North Dighton             MA
76775   3GKALPEV8KL190939   GM           TERRAIN             SARASOTA                  FL
76776   3GKALPEV8KL190942   GM           TERRAIN             DANIA BEACH               FL
76777   3GKALPEV8KL191010   GM           TERRAIN             AUSTIN                    TX
76778   3GKALPEV8KL191427   GM           TERRAIN             Portland                  ME
76779   3GKALPEV8KL193985   GM           TERRAIN             HOUSTON                   TX
76780   3GKALPEV8KL195087   GM           TERRAIN             HOUSTON                   TX
76781   3GKALPEV8KL196854   GM           TERRAIN             Hamilton                  OH
76782   3GKALPEV8KL197146   GM           TERRAIN             Smithtown                 NY
76783   3GKALPEV8KL197342   GM           TERRAIN             DALLAS                    TX
76784   3GKALPEV8KL198409   GM           TERRAIN             SAN ANTONIO               TX
76785   3GKALPEV8KL200529   GM           TERRAIN             ALBUQERQUE                NM
76786   3GKALPEV8KL200594   GM           TERRAIN             DALLAS                    TX
76787   3GKALPEV8KL200708   GM           TERRAIN             ORLANDO                   FL
76788   3GKALPEV8KL200921   GM           TERRAIN             Saint Paul                MN
76789   3GKALPEV8KL200952   GM           TERRAIN             DALLAS                    TX
76790   3GKALPEV8KL201115   GM           TERRAIN             HOUSTON                   TX
76791   3GKALPEV8KL201132   GM           TERRAIN             AUSTIN                    TX
76792   3GKALPEV8KL201440   GM           TERRAIN             CHICAGO                   IL
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76793   3GKALPEV8KL201454   GM           TERRAIN             Riverside                 CA
76794   3GKALPEV8KL201762   GM           TERRAIN             DALLAS                    TX
76795   3GKALPEV8KL202104   GM           TERRAIN             HOUSTON                   TX
76796   3GKALPEV8KL202121   GM           TERRAIN             FORT LAUDERDALE           FL
76797   3GKALPEV8KL202216   GM           TERRAIN             Austin                    TX
76798   3GKALPEV8KL202586   GM           TERRAIN             Los Angeles               CA
76799   3GKALPEV8KL202880   GM           TERRAIN             HOUSTON                   TX
76800   3GKALPEV8KL202930   GM           TERRAIN             Memphis                   TN
76801   3GKALPEV8KL202975   GM           TERRAIN             AUSTIN                    TX
76802   3GKALPEV8KL203057   GM           TERRAIN             AUSTIN                    TX
76803   3GKALPEV8KL204340   GM           TERRAIN             DALLAS                    TX
76804   3GKALPEV8KL204385   GM           TERRAIN             PHOENIX                   AZ
76805   3GKALPEV8KL205259   GM           TERRAIN             FORT MYERS                FL
76806   3GKALPEV8KL205472   GM           TERRAIN             Warminster                PA
76807   3GKALPEV8KL205505   GM           TERRAIN             Atlanta                   GA
76808   3GKALPEV8KL205553   GM           TERRAIN             Atlanta                   GA
76809   3GKALPEV8KL208341   GM           TERRAIN             DENVER                    CO
76810   3GKALPEV8KL209473   GM           TERRAIN             PHOENIX                   AZ
76811   3GKALPEV8KL210803   GM           TERRAIN             KENNER                    LA
76812   3GKALPEV8KL210882   GM           TERRAIN             Teterboro                 NJ
76813   3GKALPEV8KL211899   GM           TERRAIN             LOS ANGELES               CA
76814   3GKALPEV8KL212258   GM           TERRAIN             LAKEWOOD                  WA
76815   3GKALPEV8KL218979   GM           TERRAIN             SAN JOSE                  CA
76816   3GKALPEV8KL219033   GM           TERRAIN             SALT LAKE CITY            UT
76817   3GKALPEV8KL219369   GM           TERRAIN             PORTLAND                  OR
76818   3GKALPEV8KL220005   GM           TERRAIN             Denver                    CO
76819   3GKALPEV8KL220277   GM           TERRAIN             LOS ANGELES               CA
76820   3GKALPEV8KL220487   GM           TERRAIN             Reno                      NV
76821   3GKALPEV8KL220960   GM           TERRAIN             SACRAMENTO                CA
76822   3GKALPEV8KL221249   GM           TERRAIN             ONTARIO                   CA
76823   3GKALPEV8KL221350   GM           TERRAIN             PHOENIX                   AZ
76824   3GKALPEV8KL221672   GM           TERRAIN             ORANGE COUNTY             CA
76825   3GKALPEV8KL222594   GM           TERRAIN             SACRAMENTO                CA
76826   3GKALPEV8KL222773   GM           TERRAIN             SACRAMENTO                CA
76827   3GKALPEV8KL222918   GM           TERRAIN             LOS ANGELES               CA
76828   3GKALPEV8KL223048   GM           TERRAIN             PALM SPRINGS              CA
76829   3GKALPEV8KL223132   GM           TERRAIN             SAN DIEGO                 CA
76830   3GKALPEV8KL223244   GM           TERRAIN             FRESNO                    CA
76831   3GKALPEV8KL223373   GM           TERRAIN             PRAIRIE GROVE             AR
76832   3GKALPEV8KL223731   GM           TERRAIN             SOUTH SAN FRANC           CA
76833   3GKALPEV8KL223857   GM           TERRAIN             HOUSTON                   TX
76834   3GKALPEV8KL223910   GM           TERRAIN             SANTA CLARA               CA
76835   3GKALPEV8KL224457   GM           TERRAIN             SACRAMENTO                CA
76836   3GKALPEV8KL226497   GM           TERRAIN             LOS ANGELES AP            CA
76837   3GKALPEV8KL227763   GM           TERRAIN             LOS ANGELES               CA
76838   3GKALPEV8KL227858   GM           TERRAIN             BUFFALO                   NY
76839   3GKALPEV8KL229125   GM           TERRAIN             CHICAGO                   IL
76840   3GKALPEV8KL229531   GM           TERRAIN             Milwaukee                 WI
76841   3GKALPEV8KL230226   GM           TERRAIN             FORT MYERS                FL
76842   3GKALPEV8KL230307   GM           TERRAIN             FORT MYERS                FL
76843   3GKALPEV8KL230324   GM           TERRAIN             KANSAS CITY               MO
76844   3GKALPEV8KL231652   GM           TERRAIN             Hamilton                  OH
76845   3GKALPEV8KL231926   GM           TERRAIN             FRESNO                    CA
76846   3GKALPEV8KL232736   GM           TERRAIN             MIAMI                     FL
76847   3GKALPEV8KL232901   GM           TERRAIN             SACRAMENTO                CA
76848   3GKALPEV8KL233028   GM           TERRAIN             LOS ANGELES               CA
76849   3GKALPEV8KL233403   GM           TERRAIN             LOUISVILLE                KY
76850   3GKALPEV8KL233529   GM           TERRAIN             ONTARIO                   CA
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76851   3GKALPEV8KL233871   GM           TERRAIN             San Diego                 CA
76852   3GKALPEV8KL234437   GM           TERRAIN             Lake Elsinore             CA
76853   3GKALPEV8KL234549   GM           TERRAIN             SAN DIEGO                 CA
76854   3GKALPEV8KL234776   GM           TERRAIN             BURBANK                   CA
76855   3GKALPEV8KL234826   GM           TERRAIN             PHOENIX                   AZ
76856   3GKALPEV8KL235328   GM           TERRAIN             FORT MYERS                FL
76857   3GKALPEV8KL235720   GM           TERRAIN             DALLAS                    TX
76858   3GKALPEV8KL235751   GM           TERRAIN             NORTH HILLS               CA
76859   3GKALPEV8KL235815   GM           TERRAIN             LOS ANGELES               CA
76860   3GKALPEV8KL236107   GM           TERRAIN             EL PASO                   US
76861   3GKALPEV8KL236737   GM           TERRAIN             PALM SPRINGS              CA
76862   3GKALPEV8KL236799   GM           TERRAIN             SAN DIEGO                 CA
76863   3GKALPEV8KL237158   GM           TERRAIN             FRESNO                    CA
76864   3GKALPEV8KL237211   GM           TERRAIN             SANTA ANA                 CA
76865   3GKALPEV8KL237239   GM           TERRAIN             LOS ANGELES               CA
76866   3GKALPEV8KL237323   GM           TERRAIN             TAMPA                     FL
76867   3GKALPEV8KL237340   GM           TERRAIN             SAN FRANCISCO             CA
76868   3GKALPEV8KL237449   GM           TERRAIN             Johnston                  RI
76869   3GKALPEV8KL237712   GM           TERRAIN             SAN FRANCISCO             CA
76870   3GKALPEV8KL237855   GM           TERRAIN             LOS ANGELES               CA
76871   3GKALPEV8KL238374   GM           TERRAIN             SACRAMENTO                CA
76872   3GKALPEV8KL239234   GM           TERRAIN             CLEVELAND                 OH
76873   3GKALPEV8KL239928   GM           TERRAIN             BIRMINGHAM                AL
76874   3GKALPEV8KL240111   GM           TERRAIN             PHOENIX                   AZ
76875   3GKALPEV8KL240531   GM           TERRAIN             Miami                     FL
76876   3GKALPEV8KL240710   GM           TERRAIN             FORT LAUDERDALE           FL
76877   3GKALPEV8KL240836   GM           TERRAIN             WOODSON TERRACE           MO
76878   3GKALPEV8KL240870   GM           TERRAIN             TAMPA                     FL
76879   3GKALPEV8KL241081   GM           TERRAIN             NEW ORLEANS               LA
76880   3GKALPEV8KL241131   GM           TERRAIN             FORT LAUDERDALE           FL
76881   3GKALPEV8KL241548   GM           TERRAIN             ORLANDO                   FL
76882   3GKALPEV8KL241923   GM           TERRAIN             WEST PALM BEACH           FL
76883   3GKALPEV8KL242084   GM           TERRAIN             FORT MYERS                FL
76884   3GKALPEV8KL242201   GM           TERRAIN             FORT LAUDERDALE           FL
76885   3GKALPEV8KL242277   GM           TERRAIN             TUCSON                    AZ
76886   3GKALPEV8KL242375   GM           TERRAIN             FORT MYERS                FL
76887   3GKALPEV8KL242473   GM           TERRAIN             MEMPHIS                   TN
76888   3GKALPEV8KL243929   GM           TERRAIN             LOS ANGELES               CA
76889   3GKALPEV8KL243946   GM           TERRAIN             KENNER                    LA
76890   3GKALPEV8KL244062   GM           TERRAIN             BURLINGAME                CA
76891   3GKALPEV8KL244434   GM           TERRAIN             LOS ANGELES               CA
76892   3GKALPEV8KL244613   GM           TERRAIN             SAN FRANCISCO             CA
76893   3GKALPEV8KL244661   GM           TERRAIN             ST Paul                   MN
76894   3GKALPEV8KL244823   GM           TERRAIN             HOUSTON                   TX
76895   3GKALPEV8KL244868   GM           TERRAIN             SAN FRANCISCO             CA
76896   3GKALPEV8KL244885   GM           TERRAIN             FORT MYERS                FL
76897   3GKALPEV8KL244921   GM           TERRAIN             PETALUMA                  CA
76898   3GKALPEV8KL245020   GM           TERRAIN             TAMPA                     FL
76899   3GKALPEV8KL245180   GM           TERRAIN             BIRMINGHAN                AL
76900   3GKALPEV8KL245325   GM           TERRAIN             NEW BERN                  NC
76901   3GKALPEV8KL245857   GM           TERRAIN             BALTIMORE                 MD
76902   3GKALPEV8KL246037   GM           TERRAIN             DALLAS                    TX
76903   3GKALPEV8KL246359   GM           TERRAIN             DALLAS                    TX
76904   3GKALPEV8KL246460   GM           TERRAIN             BURBANK                   CA
76905   3GKALPEV8KL246653   GM           TERRAIN             HOUSTON                   TX
76906   3GKALPEV8KL247480   GM           TERRAIN             RICHMOND                  VA
76907   3GKALPEV8KL247883   GM           TERRAIN             BIRMINGHAM                AL
76908   3GKALPEV8KL248497   GM           TERRAIN             MILWAUKEE                 WI
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76909   3GKALPEV8KL249519   GM           TERRAIN             CHICAGO                   IL
76910   3GKALPEV8KL250556   GM           TERRAIN             ORLANDO                   FL
76911   3GKALPEV8KL251920   GM           TERRAIN             TAMPA                     FL
76912   3GKALPEV8KL252422   GM           TERRAIN             KENNER                    LA
76913   3GKALPEV8LL177142   GM           TERRAIN             LIHUE                     HI
76914   3GKALPEV8LL190943   GM           TERRAIN             FORT MYERS                FL
76915   3GKALPEV8LL241647   GM           TERRAIN             FORT MYERS                FL
76916   3GKALPEV9KL172465   GM           TERRAIN             JACKSONVILLE              FL
76917   3GKALPEV9KL172997   GM           TERRAIN             FORT MYERS                FL
76918   3GKALPEV9KL173700   GM           TERRAIN             NORFOLK                   VA
76919   3GKALPEV9KL175849   GM           TERRAIN             STERLING                  VA
76920   3GKALPEV9KL176242   GM           TERRAIN             MIAMI                     FL
76921   3GKALPEV9KL176547   GM           TERRAIN             AUSTIN                    TX
76922   3GKALPEV9KL177844   GM           TERRAIN             SAINT PAUL                MN
76923   3GKALPEV9KL178007   GM           TERRAIN             N. Palm Beach             FL
76924   3GKALPEV9KL179271   GM           TERRAIN             ONTARIO                   CA
76925   3GKALPEV9KL180176   GM           TERRAIN             ATLANTA                   GA
76926   3GKALPEV9KL182283   GM           TERRAIN             CLEVELAND                 OH
76927   3GKALPEV9KL182302   GM           TERRAIN             CHICAGO                   IL
76928   3GKALPEV9KL182607   GM           TERRAIN             Winston‐Salem             NC
76929   3GKALPEV9KL182820   GM           TERRAIN             DALLAS                    TX
76930   3GKALPEV9KL184051   GM           TERRAIN             MOBILE                    A
76931   3GKALPEV9KL184289   GM           TERRAIN             DENVER                    CO
76932   3GKALPEV9KL184809   GM           TERRAIN             NASHVILLE                 TN
76933   3GKALPEV9KL185846   GM           TERRAIN             DAYTONA BEACH             FL
76934   3GKALPEV9KL185863   GM           TERRAIN             ORLANDO                   FL
76935   3GKALPEV9KL186205   GM           TERRAIN             STERLING                  VA
76936   3GKALPEV9KL187189   GM           TERRAIN             Davie                     FL
76937   3GKALPEV9KL187743   GM           TERRAIN             ORLANDO                   FL
76938   3GKALPEV9KL188049   GM           TERRAIN             WARWICK                   RI
76939   3GKALPEV9KL188875   GM           TERRAIN             DUNCANVILLE               TX
76940   3GKALPEV9KL188889   GM           TERRAIN             TALLAHASSEE               US
76941   3GKALPEV9KL189475   GM           TERRAIN             WOODSON TERRACE           MO
76942   3GKALPEV9KL189766   GM           TERRAIN             FORT MYERS                FL
76943   3GKALPEV9KL190173   GM           TERRAIN             HOUSTON                   TX
76944   3GKALPEV9KL190240   GM           TERRAIN             CLEVELAND                 OH
76945   3GKALPEV9KL191159   GM           TERRAIN             DETROIT                   MI
76946   3GKALPEV9KL191646   GM           TERRAIN             TAMPA                     US
76947   3GKALPEV9KL192652   GM           TERRAIN             TAMPA                     FL
76948   3GKALPEV9KL193736   GM           TERRAIN             MIDDLE RIVER              MD
76949   3GKALPEV9KL194563   GM           TERRAIN             NEW BERN                  NC
76950   3GKALPEV9KL195230   GM           TERRAIN             Ventura                   CA
76951   3GKALPEV9KL195759   GM           TERRAIN             LOUISVILLE                KY
76952   3GKALPEV9KL197592   GM           TERRAIN             JACKSONVILLE              FL
76953   3GKALPEV9KL197804   GM           TERRAIN             BOSTON                    MA
76954   3GKALPEV9KL197964   GM           TERRAIN             NASHVILLE                 TN
76955   3GKALPEV9KL199021   GM           TERRAIN             Burien                    WA
76956   3GKALPEV9KL200572   GM           TERRAIN             WEST PALM BEACH           FL
76957   3GKALPEV9KL200667   GM           TERRAIN             HOUSTON                   TX
76958   3GKALPEV9KL200703   GM           TERRAIN             SAN ANTONIO               TX
76959   3GKALPEV9KL200877   GM           TERRAIN             SACRAMENTO                CA
76960   3GKALPEV9KL201320   GM           TERRAIN             DENVER                    CO
76961   3GKALPEV9KL201494   GM           TERRAIN             WEST PALM BEACH           FL
76962   3GKALPEV9KL201544   GM           TERRAIN             SAN ANTONIO               TX
76963   3GKALPEV9KL201561   GM           TERRAIN             CHEEKTOWAGA               NY
76964   3GKALPEV9KL201575   GM           TERRAIN             SEATAC                    WA
76965   3GKALPEV9KL201785   GM           TERRAIN             Irving                    TX
76966   3GKALPEV9KL202063   GM           TERRAIN             UNION CITY                GA
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76967   3GKALPEV9KL202466   GM           TERRAIN             DALLAS                    TX
76968   3GKALPEV9KL203195   GM           TERRAIN             DALLAS                    TX
76969   3GKALPEV9KL203424   GM           TERRAIN             FORT LAUDERDALE           FL
76970   3GKALPEV9KL203844   GM           TERRAIN             TAMPA                     FL
76971   3GKALPEV9KL204749   GM           TERRAIN             LITTLE ROCK               AR
76972   3GKALPEV9KL204878   GM           TERRAIN             FORT MYERS                FL
76973   3GKALPEV9KL205125   GM           TERRAIN             STERLING                  VA
76974   3GKALPEV9KL205495   GM           TERRAIN             HOUSTON                   TX
76975   3GKALPEV9KL205738   GM           TERRAIN             Burien                    WA
76976   3GKALPEV9KL205822   GM           TERRAIN             TAMPA                     FL
76977   3GKALPEV9KL205917   GM           TERRAIN             Rio Linda                 CA
76978   3GKALPEV9KL206176   GM           TERRAIN             LOUISVILLE                KY
76979   3GKALPEV9KL208526   GM           TERRAIN             TUCSON                    AZ
76980   3GKALPEV9KL209210   GM           TERRAIN             SEATAC                    WA
76981   3GKALPEV9KL209353   GM           TERRAIN             PORTLAND                  OR
76982   3GKALPEV9KL209501   GM           TERRAIN             KENNER                    LA
76983   3GKALPEV9KL210308   GM           TERRAIN             PORTLAND                  OR
76984   3GKALPEV9KL210860   GM           TERRAIN             Hebron                    KY
76985   3GKALPEV9KL212303   GM           TERRAIN             SAINT LOUIS               MO
76986   3GKALPEV9KL218716   GM           TERRAIN             OAKLAND                   CA
76987   3GKALPEV9KL218845   GM           TERRAIN             SAN DIEGO                 CA
76988   3GKALPEV9KL219140   GM           TERRAIN             SANTA BARBARA             CA
76989   3GKALPEV9KL219199   GM           TERRAIN             DALLAS                    TX
76990   3GKALPEV9KL219557   GM           TERRAIN             SAN FRANCISCO             CA
76991   3GKALPEV9KL219588   GM           TERRAIN             Riverside                 CA
76992   3GKALPEV9KL219929   GM           TERRAIN             Miami                     FL
76993   3GKALPEV9KL219980   GM           TERRAIN             LOS ANGELES               CA
76994   3GKALPEV9KL220109   GM           TERRAIN             Las Vegas                 NV
76995   3GKALPEV9KL220319   GM           TERRAIN             BIRMINGHAM                AL
76996   3GKALPEV9KL221812   GM           TERRAIN             BURBANK                   CA
76997   3GKALPEV9KL221941   GM           TERRAIN             ORLANDO                   FL
76998   3GKALPEV9KL222295   GM           TERRAIN             LOS ANGELES               CA
76999   3GKALPEV9KL222779   GM           TERRAIN             INGLEWOOD                 CA
77000   3GKALPEV9KL223169   GM           TERRAIN             LOS ANGELES               CA
77001   3GKALPEV9KL223348   GM           TERRAIN             PORTLAND                  OR
77002   3GKALPEV9KL223415   GM           TERRAIN             BALTIMORE                 MD
77003   3GKALPEV9KL223527   GM           TERRAIN             San Diego                 CA
77004   3GKALPEV9KL223642   GM           TERRAIN             LOS ANGELES AP            CA
77005   3GKALPEV9KL224354   GM           TERRAIN             FORT LAUDERDALE           FL
77006   3GKALPEV9KL225147   GM           TERRAIN             SAN FRANCISCO             CA
77007   3GKALPEV9KL226489   GM           TERRAIN             PALM SPRINGS              CA
77008   3GKALPEV9KL227237   GM           TERRAIN             SANTA ANA                 CA
77009   3GKALPEV9KL230381   GM           TERRAIN             FORT MYERS                FL
77010   3GKALPEV9KL231353   GM           TERRAIN             SAN FRANCISCO             CA
77011   3GKALPEV9KL231711   GM           TERRAIN             NORFOLK                   VA
77012   3GKALPEV9KL233152   GM           TERRAIN             SANTA ANA                 CA
77013   3GKALPEV9KL233359   GM           TERRAIN             LAS VEGAS                 NV
77014   3GKALPEV9KL233930   GM           TERRAIN             FORT LAUDERDALE           FL
77015   3GKALPEV9KL234494   GM           TERRAIN             FRESNO                    CA
77016   3GKALPEV9KL234642   GM           TERRAIN             Lake Elsinore             CA
77017   3GKALPEV9KL234804   GM           TERRAIN             Riverside                 CA
77018   3GKALPEV9KL235175   GM           TERRAIN             DALLAS                    TX
77019   3GKALPEV9KL235905   GM           TERRAIN             North Las Vegas           NV
77020   3GKALPEV9KL236004   GM           TERRAIN             SAN FRANCISCO             CA
77021   3GKALPEV9KL236116   GM           TERRAIN             MILWAUKEE                 WI
77022   3GKALPEV9KL236374   GM           TERRAIN             LOS ANGELES               CA
77023   3GKALPEV9KL236990   GM           TERRAIN             SEATAC                    WA
77024   3GKALPEV9KL237041   GM           TERRAIN             SAN JOSE                  CA
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77025   3GKALPEV9KL237251   GM           TERRAIN             SAN DIEGO                 CA
77026   3GKALPEV9KL237685   GM           TERRAIN             LOS ANGELES               CA
77027   3GKALPEV9KL237699   GM           TERRAIN             CHEEKTOWAGA               NY
77028   3GKALPEV9KL237749   GM           TERRAIN             LOS ANGELES               CA
77029   3GKALPEV9KL237914   GM           TERRAIN             LAS VEGAS                 NV
77030   3GKALPEV9KL237928   GM           TERRAIN             ONTARIO                   CA
77031   3GKALPEV9KL237931   GM           TERRAIN             LOS ANGELES               CA
77032   3GKALPEV9KL237993   GM           TERRAIN             TRACY                     CA
77033   3GKALPEV9KL238061   GM           TERRAIN             Las Vegas                 NV
77034   3GKALPEV9KL238108   GM           TERRAIN             HELENA                    MT
77035   3GKALPEV9KL238349   GM           TERRAIN             DALLAS                    TX
77036   3GKALPEV9KL238433   GM           TERRAIN             LOS ANGELES               CA
77037   3GKALPEV9KL238478   GM           TERRAIN             LOS ANGELES               CA
77038   3GKALPEV9KL238867   GM           TERRAIN             FORT MYERS                FL
77039   3GKALPEV9KL239095   GM           TERRAIN             GREENSBORO                NC
77040   3GKALPEV9KL239100   GM           TERRAIN             DFW AIRPORT               TX
77041   3GKALPEV9KL239906   GM           TERRAIN             PORTLAND                  ME
77042   3GKALPEV9KL240473   GM           TERRAIN             MEMPHIS                   TN
77043   3GKALPEV9KL240697   GM           TERRAIN             ORLANDO                   FL
77044   3GKALPEV9KL243034   GM           TERRAIN             DALLAS                    TX
77045   3GKALPEV9KL243244   GM           TERRAIN             WEST PALM BEACH           FL
77046   3GKALPEV9KL243714   GM           TERRAIN             LOS ANGELES               CA
77047   3GKALPEV9KL243843   GM           TERRAIN             SAN ANTONIO               TX
77048   3GKALPEV9KL243910   GM           TERRAIN             SAN FRANCISCO             CA
77049   3GKALPEV9KL244006   GM           TERRAIN             INDIANAPOLIS              IN
77050   3GKALPEV9KL244068   GM           TERRAIN             AUSTIN                    TX
77051   3GKALPEV9KL244071   GM           TERRAIN             UNION CITY                GA
77052   3GKALPEV9KL244233   GM           TERRAIN             PHOENIX                   AZ
77053   3GKALPEV9KL244328   GM           TERRAIN             HOUSTON                   TX
77054   3GKALPEV9KL244684   GM           TERRAIN             DALLAS                    TX
77055   3GKALPEV9KL244698   GM           TERRAIN             Dallas                    TX
77056   3GKALPEV9KL244880   GM           TERRAIN             BURBANK                   CA
77057   3GKALPEV9KL244894   GM           TERRAIN             SAN DIEGO                 CA
77058   3GKALPEV9KL244989   GM           TERRAIN             SAN DIEGO                 CA
77059   3GKALPEV9KL245088   GM           TERRAIN             SAN ANTONIO               TX
77060   3GKALPEV9KL245110   GM           TERRAIN             NEW BERN                  NC
77061   3GKALPEV9KL245155   GM           TERRAIN             DALLAS                    TX
77062   3GKALPEV9KL245429   GM           TERRAIN             LOS ANGELES               CA
77063   3GKALPEV9KL245480   GM           TERRAIN             DALLAS                    TX
77064   3GKALPEV9KL245950   GM           TERRAIN             MIAMI                     FL
77065   3GKALPEV9KL246158   GM           TERRAIN             KANSAS CITY               MO
77066   3GKALPEV9KL246161   GM           TERRAIN             Irving                    TX
77067   3GKALPEV9KL246239   GM           TERRAIN             LOS ANGELES               CA
77068   3GKALPEV9KL246242   GM           TERRAIN             HOUSTON                   TX
77069   3GKALPEV9KL246273   GM           TERRAIN             LAS VEGAS                 NV
77070   3GKALPEV9KL246337   GM           TERRAIN             Alcoa                     TN
77071   3GKALPEV9KL246385   GM           TERRAIN             GRAND RAPIDS              MI
77072   3GKALPEV9KL246533   GM           TERRAIN             LOUISVILLE                KY
77073   3GKALPEV9KL246726   GM           TERRAIN             BIRMINGHAN                AL
77074   3GKALPEV9KL246855   GM           TERRAIN             CLEVELAND                 OH
77075   3GKALPEV9KL247309   GM           TERRAIN             ORLANDO                   FL
77076   3GKALPEV9KL247570   GM           TERRAIN             ST Paul                   MN
77077   3GKALPEV9KL248041   GM           TERRAIN             Atlanta                   GA
77078   3GKALPEV9KL248315   GM           TERRAIN             KANSAS CITY               MO
77079   3GKALPEV9KL248640   GM           TERRAIN             SAN ANTONIO               TX
77080   3GKALPEV9KL249769   GM           TERRAIN             FORT MYERS                FL
77081   3GKALPEV9KL249898   GM           TERRAIN             ORLANDO                   FL
77082   3GKALPEV9KL250145   GM           TERRAIN             NASHVILLE                 TN
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77083   3GKALPEV9KL250436   GM           TERRAIN             ORLANDO                   FL
77084   3GKALPEV9KL251280   GM           TERRAIN             ORLANDO                   FL
77085   3GKALPEV9KL252770   GM           TERRAIN             TAMPA                     US
77086   3GKALPEV9KL283159   GM           TERRAIN             FORT MYERS                FL
77087   3GKALPEV9KL283226   GM           TERRAIN             Los Angeles               CA
77088   3GKALPEV9LL191972   GM           TERRAIN             FORT MYERS                FL
77089   3GKALPEVXKL171969   GM           TERRAIN             OAKLAND                   CA
77090   3GKALPEVXKL172927   GM           TERRAIN             Atlanta                   GA
77091   3GKALPEVXKL173303   GM           TERRAIN             FORT LAUDERDALE           FL
77092   3GKALPEVXKL173625   GM           TERRAIN             SAINT PAUL                MN
77093   3GKALPEVXKL174418   GM           TERRAIN             HOUSTON                   TX
77094   3GKALPEVXKL174533   GM           TERRAIN             ALBANY                    NY
77095   3GKALPEVXKL174726   GM           TERRAIN             RICHMOND                  VA
77096   3GKALPEVXKL174936   GM           TERRAIN             MIAMI                     FL
77097   3GKALPEVXKL175360   GM           TERRAIN             SAN ANTONIO               TX
77098   3GKALPEVXKL176329   GM           TERRAIN             FORT LAUDERDALE           FL
77099   3GKALPEVXKL177111   GM           TERRAIN             NASHVILLE                 TN
77100   3GKALPEVXKL177836   GM           TERRAIN             SAN DIEGO                 CA
77101   3GKALPEVXKL179182   GM           TERRAIN             CHICAGO                   IL
77102   3GKALPEVXKL180686   GM           TERRAIN             ATLANTA                   GA
77103   3GKALPEVXKL181112   GM           TERRAIN             Baltimore                 MD
77104   3GKALPEVXKL184186   GM           TERRAIN             MIAMI                     FL
77105   3GKALPEVXKL184687   GM           TERRAIN             SOUTHEAST DST OFFC        OK
77106   3GKALPEVXKL186195   GM           TERRAIN             Jacksonville              FL
77107   3GKALPEVXKL187007   GM           TERRAIN             CLEVELAND                 OH
77108   3GKALPEVXKL187475   GM           TERRAIN             RICHMOND                  VA
77109   3GKALPEVXKL187654   GM           TERRAIN             RALIEGH                   NC
77110   3GKALPEVXKL188044   GM           TERRAIN             FORT LAUDERDALE           FL
77111   3GKALPEVXKL189002   GM           TERRAIN             TAMPA                     FL
77112   3GKALPEVXKL189338   GM           TERRAIN             SARASOTA                  FL
77113   3GKALPEVXKL190165   GM           TERRAIN             ATLANTA                   GA
77114   3GKALPEVXKL190196   GM           TERRAIN             TALLAHASSEE               FL
77115   3GKALPEVXKL190697   GM           TERRAIN             KNOXVILLE                 TN
77116   3GKALPEVXKL191655   GM           TERRAIN             UNION CITY                GA
77117   3GKALPEVXKL191798   GM           TERRAIN             Charlotte                 NC
77118   3GKALPEVXKL193034   GM           TERRAIN             Fontana                   CA
77119   3GKALPEVXKL193115   GM           TERRAIN             SAN DIEGO                 CA
77120   3GKALPEVXKL193292   GM           TERRAIN             LOUISVILLE                KY
77121   3GKALPEVXKL195706   GM           TERRAIN             SAINT PAUL                MN
77122   3GKALPEVXKL197939   GM           TERRAIN             NEW BERN                  NC
77123   3GKALPEVXKL197973   GM           TERRAIN             WEST COLUMBIA             SC
77124   3GKALPEVXKL198749   GM           TERRAIN             Atlanta                   GA
77125   3GKALPEVXKL198959   GM           TERRAIN             EAST BOSTON               MA
77126   3GKALPEVXKL199013   GM           TERRAIN             ROCKAWAY BEACH            NY
77127   3GKALPEVXKL199075   GM           TERRAIN             WEST PALM BEACH           FL
77128   3GKALPEVXKL200466   GM           TERRAIN             KENNER                    LA
77129   3GKALPEVXKL200774   GM           TERRAIN             DETROIT                   MI
77130   3GKALPEVXKL200953   GM           TERRAIN             Hamilton                  OH
77131   3GKALPEVXKL201097   GM           TERRAIN             PHOENIX                   AZ
77132   3GKALPEVXKL201259   GM           TERRAIN             Atlanta                   GA
77133   3GKALPEVXKL201469   GM           TERRAIN             BOISE                     US
77134   3GKALPEVXKL201648   GM           TERRAIN             LOS ANGELES               CA
77135   3GKALPEVXKL202055   GM           TERRAIN             AUSTIN                    TX
77136   3GKALPEVXKL202153   GM           TERRAIN             SACRAMENTO                CA
77137   3GKALPEVXKL202380   GM           TERRAIN             DALLAS                    TX
77138   3GKALPEVXKL202394   GM           TERRAIN             SAN FRANCISCO             CA
77139   3GKALPEVXKL202699   GM           TERRAIN             SAN DIEGO                 CA
77140   3GKALPEVXKL202721   GM           TERRAIN             DALLAS                    TX
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77141   3GKALPEVXKL203285   GM           TERRAIN             LAS VEGAS                 NV
77142   3GKALPEVXKL203349   GM           TERRAIN             DALLAS                    TX
77143   3GKALPEVXKL203402   GM           TERRAIN             HOUSTON                   TX
77144   3GKALPEVXKL203559   GM           TERRAIN             SALT LAKE CITY            UT
77145   3GKALPEVXKL204503   GM           TERRAIN             ORLANDO                   FL
77146   3GKALPEVXKL204579   GM           TERRAIN             PITTSBURGH                PA
77147   3GKALPEVXKL204727   GM           TERRAIN             NEW ORLEANS               LA
77148   3GKALPEVXKL205098   GM           TERRAIN             PHILADELPHIA              PA
77149   3GKALPEVXKL205294   GM           TERRAIN             DENVER                    CO
77150   3GKALPEVXKL205411   GM           TERRAIN             SAN ANTONIO               TX
77151   3GKALPEVXKL205425   GM           TERRAIN             ORLANDO                   FL
77152   3GKALPEVXKL205442   GM           TERRAIN             HOUSTON                   TX
77153   3GKALPEVXKL205506   GM           TERRAIN             Irving                    TX
77154   3GKALPEVXKL205523   GM           TERRAIN             HOUSTON                   TX
77155   3GKALPEVXKL205540   GM           TERRAIN             PHILADELPHIA              PA
77156   3GKALPEVXKL205666   GM           TERRAIN             SAN ANTONIO               TX
77157   3GKALPEVXKL205778   GM           TERRAIN             DFW AIRPORT               TX
77158   3GKALPEVXKL206560   GM           TERRAIN             LAS VEGAS                 NV
77159   3GKALPEVXKL207546   GM           TERRAIN             AUSTIN                    TX
77160   3GKALPEVXKL208082   GM           TERRAIN             PHOENIX                   AZ
77161   3GKALPEVXKL209295   GM           TERRAIN             INGLEWOOD                 CA
77162   3GKALPEVXKL209989   GM           TERRAIN             PHOENIX                   AZ
77163   3GKALPEVXKL211001   GM           TERRAIN             Pheonix                   AZ
77164   3GKALPEVXKL211189   GM           TERRAIN             LOS ANGELES               CA
77165   3GKALPEVXKL211192   GM           TERRAIN             CHARLESTON                WV
77166   3GKALPEVXKL212018   GM           TERRAIN             PALM SPRINGS              CA
77167   3GKALPEVXKL219258   GM           TERRAIN             ONTARIO                   CA
77168   3GKALPEVXKL220037   GM           TERRAIN             ALBUQUERQUE               NM
77169   3GKALPEVXKL220460   GM           TERRAIN             LAS VEGAS                 NV
77170   3GKALPEVXKL221673   GM           TERRAIN             LOS ANGELES               CA
77171   3GKALPEVXKL221916   GM           TERRAIN             PALM SPRINGS              CA
77172   3GKALPEVXKL222306   GM           TERRAIN             TULSA                     OK
77173   3GKALPEVXKL222399   GM           TERRAIN             ORANGE COUNTY             CA
77174   3GKALPEVXKL222936   GM           TERRAIN             SAN DIEGO                 CA
77175   3GKALPEVXKL223259   GM           TERRAIN             SAN FRANCISCO             CA
77176   3GKALPEVXKL223763   GM           TERRAIN             SANTA ANA                 CA
77177   3GKALPEVXKL223908   GM           TERRAIN             HOUSTON                   TX
77178   3GKALPEVXKL226047   GM           TERRAIN             CLEVELAND                 OH
77179   3GKALPEVXKL227294   GM           TERRAIN             DANIA BEACH               FL
77180   3GKALPEVXKL230230   GM           TERRAIN             WEST PALM BEACH           FL
77181   3GKALPEVXKL230423   GM           TERRAIN             MIAMI                     FL
77182   3GKALPEVXKL231216   GM           TERRAIN             HOUSTON                   TX
77183   3GKALPEVXKL231555   GM           TERRAIN             LOS ANGELES               CA
77184   3GKALPEVXKL232141   GM           TERRAIN             DALLAS                    TX
77185   3GKALPEVXKL232205   GM           TERRAIN             SACRAMENTO                CA
77186   3GKALPEVXKL233225   GM           TERRAIN             SACRAMENTO                CA
77187   3GKALPEVXKL233693   GM           TERRAIN             HAILEY SUN VALLEY         ID
77188   3GKALPEVXKL234228   GM           TERRAIN             LOS ANGELES               CA
77189   3GKALPEVXKL234326   GM           TERRAIN             ONTARIO                   CA
77190   3GKALPEVXKL234858   GM           TERRAIN             SAN DIEGO                 CA
77191   3GKALPEVXKL234925   GM           TERRAIN             Las Vegas                 NV
77192   3GKALPEVXKL234956   GM           TERRAIN             LOS ANGELES AP            CA
77193   3GKALPEVXKL235055   GM           TERRAIN             AUSTIN                    TX
77194   3GKALPEVXKL235072   GM           TERRAIN             DALLAS                    TX
77195   3GKALPEVXKL235346   GM           TERRAIN             PHOENIX                   AZ
77196   3GKALPEVXKL235606   GM           TERRAIN             SAN JOSE                  CA
77197   3GKALPEVXKL235699   GM           TERRAIN             LOS ANGELES               CA
77198   3GKALPEVXKL235847   GM           TERRAIN             BIRMINGHAM                AL
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77199   3GKALPEVXKL236397   GM           TERRAIN             PALM SPRINGS              CA
77200   3GKALPEVXKL236402   GM           TERRAIN             LOS ANGELES               CA
77201   3GKALPEVXKL236500   GM           TERRAIN             SAN JOSE                  CA
77202   3GKALPEVXKL236559   GM           TERRAIN             LOS ANGELES               CA
77203   3GKALPEVXKL236917   GM           TERRAIN             LAS VEGAS                 NV
77204   3GKALPEVXKL237128   GM           TERRAIN             LOS ANGELES AP            CA
77205   3GKALPEVXKL237159   GM           TERRAIN             PHOENIX                   AZ
77206   3GKALPEVXKL237162   GM           TERRAIN             FRESNO                    CA
77207   3GKALPEVXKL237260   GM           TERRAIN             BEAUMONT                  TX
77208   3GKALPEVXKL237713   GM           TERRAIN             WEST PALM BEACH           FL
77209   3GKALPEVXKL237839   GM           TERRAIN             Irving                    TX
77210   3GKALPEVXKL238389   GM           TERRAIN             Riverside                 CA
77211   3GKALPEVXKL238571   GM           TERRAIN             Tampa                     FL
77212   3GKALPEVXKL238747   GM           TERRAIN             ORLANDO                   FL
77213   3GKALPEVXKL239039   GM           TERRAIN             Bridgeton                 MO
77214   3GKALPEVXKL239221   GM           TERRAIN             FORT MYERS                FL
77215   3GKALPEVXKL239915   GM           TERRAIN             ORLANDO                   FL
77216   3GKALPEVXKL240014   GM           TERRAIN             Bridgeton                 MO
77217   3GKALPEVXKL241292   GM           TERRAIN             Burien                    WA
77218   3GKALPEVXKL241664   GM           TERRAIN             HOUSTON                   TX
77219   3GKALPEVXKL243317   GM           TERRAIN             DALLAS                    TX
77220   3GKALPEVXKL243950   GM           TERRAIN             WEST COLUMBIA             SC
77221   3GKALPEVXKL243981   GM           TERRAIN             SAINT PAUL                MN
77222   3GKALPEVXKL243995   GM           TERRAIN             Atlanta                   GA
77223   3GKALPEVXKL244306   GM           TERRAIN             DES MOINES                IA
77224   3GKALPEVXKL244368   GM           TERRAIN             OAKLAND                   CA
77225   3GKALPEVXKL244371   GM           TERRAIN             SACRAMENTO                CA
77226   3GKALPEVXKL244659   GM           TERRAIN             SAN ANTONIO               TX
77227   3GKALPEVXKL244807   GM           TERRAIN             SACRAMENTO                CA
77228   3GKALPEVXKL244905   GM           TERRAIN             SAN ANTONIO               TX
77229   3GKALPEVXKL244922   GM           TERRAIN             JACKSON                   MS
77230   3GKALPEVXKL245049   GM           TERRAIN             CORPUS CHRISTI            TX
77231   3GKALPEVXKL245309   GM           TERRAIN             HOUSTON                   TX
77232   3GKALPEVXKL246038   GM           TERRAIN             NEW ORLEANS               LA
77233   3GKALPEVXKL246119   GM           TERRAIN             ROANOKE                   VA
77234   3GKALPEVXKL246198   GM           TERRAIN             LAS VEGAS                 NV
77235   3GKALPEVXKL246220   GM           TERRAIN             SAN DIEGO                 CA
77236   3GKALPEVXKL246301   GM           TERRAIN             LOS ANGELES               CA
77237   3GKALPEVXKL246461   GM           TERRAIN             NEWARK                    NJ
77238   3GKALPEVXKL247318   GM           TERRAIN             ORLANDO                   FL
77239   3GKALPEVXKL247397   GM           TERRAIN             CHARLOTTE                 NC
77240   3GKALPEVXKL247710   GM           TERRAIN             AUSTIN                    TX
77241   3GKALPEVXKL247948   GM           TERRAIN             DANIA BEACH               FL
77242   3GKALPEVXKL247982   GM           TERRAIN             MIAMI                     FL
77243   3GKALPEVXKL248789   GM           TERRAIN             NEW BERN                  NC
77244   3GKALPEVXKL248873   GM           TERRAIN             TAMPA                     FL
77245   3GKALPEVXKL248971   GM           TERRAIN             Ft. Myers                 FL
77246   3GKALPEVXKL249361   GM           TERRAIN             ORLANDO                   FL
77247   3GKALPEVXKL249795   GM           TERRAIN             COLLEGE PARK              GA
77248   3GKALPEVXKL250784   GM           TERRAIN             ORLANDO                   FL
77249   3GKALPEVXKL251563   GM           TERRAIN             ORLANDO                   FL
77250   3GKALPEVXKL251577   GM           TERRAIN             Wichita                   KS
77251   3GKALPEVXKL252177   GM           TERRAIN             FORT MYERS                FL
77252   3GKALPEVXKL252499   GM           TERRAIN             MIAMI                     FL
77253   3GKALPEVXKL252566   GM           TERRAIN             SAINT PAUL                MN
77254   3GKALPEVXKL252793   GM           TERRAIN             TAMPA                     FL
77255   3GKALPEVXKL252812   GM           TERRAIN             ATLANTA                   GA
77256   3GKALPEVXKL253037   GM           TERRAIN             FORT MYERS                FL
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77257   3GKALPEVXKL282490   GM           TERRAIN             HOUSTON                   TX
77258   3GKALPEVXKL322664   GM           TERRAIN             AUSTIN                    TX
77259   3GKALPEVXLL237373   GM           TERRAIN             Tulsa                     OK
77260   3GKALPEVXLL241732   GM           TERRAIN             FORT MYERS                FL
77261   3GKALPEX1KL176530   GM           TERRAIN             LOUISVILLE                KY
77262   3GKALPEX1KL179086   GM           TERRAIN             FORT MYERS                FL
77263   3GKALPEX1KL188404   GM           TERRAIN             HOUSTON                   TX
77264   3GKALPEX3KL190672   GM           TERRAIN             TULSA                     OK
77265   3GKALPEX4KL184217   GM           TERRAIN             ORLANDO                   FL
77266   3GKALPEX4KL184671   GM           TERRAIN             SACRAMENTO                CA
77267   3GKALPEX5KL180158   GM           TERRAIN             Hamilton                  OH
77268   3GKALPEX6KL165099   GM           TERRAIN             ALBUQUERQUE               NM
77269   3GKALPEX6LL153570   GM           TERRAIN             FORT MYERS                FL
77270   3GKALPEX7LL158907   GM           TERRAIN             FORT LAUDERDALE           FL
77271   3GKALPEX8KL189694   GM           TERRAIN             DALLAS                    TX
77272   3GKALPEXXKL167678   GM           TERRAIN             PHOENIX                   AZ
77273   3GKALTEV4JL359488   GM           TERRAIN             Sanford                   FL
77274   3GKALTEV8JL294189   GM           TERRAIN             Albuquerque               NM
77275   3GKALVEV0KL172536   GM           TERRAIN             ORLANDO                   FL
77276   3GKALVEV0KL172567   GM           TERRAIN             FORT MYERS                FL
77277   3GKALVEV0KL177431   GM           TERRAIN             OZONE PARK                NY
77278   3GKALVEV0KL178160   GM           TERRAIN             FORT LAUDERDALE           FL
77279   3GKALVEV0KL179356   GM           TERRAIN             LOS ANGELES               CA
77280   3GKALVEV0KL180524   GM           TERRAIN             ATLANTA                   GA
77281   3GKALVEV0KL182032   GM           TERRAIN             ORLANDO                   FL
77282   3GKALVEV0KL182323   GM           TERRAIN             Clarksville               IN
77283   3GKALVEV0KL182385   GM           TERRAIN             WEST PALM BEACH           FL
77284   3GKALVEV0KL183519   GM           TERRAIN             JACKSON                   MS
77285   3GKALVEV0KL183746   GM           TERRAIN             PHILADELPHIA              PA
77286   3GKALVEV0KL184251   GM           TERRAIN             FLORISSANT                MO
77287   3GKALVEV0KL185724   GM           TERRAIN             ORANGE COUNTY             CA
77288   3GKALVEV0KL185836   GM           TERRAIN             TAMPA                     FL
77289   3GKALVEV0KL186775   GM           TERRAIN             PHOENIX                   AZ
77290   3GKALVEV0KL187358   GM           TERRAIN             RALIEGH                   NC
77291   3GKALVEV0KL187845   GM           TERRAIN             ORLANDO                   FL
77292   3GKALVEV0KL188476   GM           TERRAIN             CHEEKTOWAGA               NY
77293   3GKALVEV0KL188834   GM           TERRAIN             Fontana                   CA
77294   3GKALVEV0KL190082   GM           TERRAIN             DENVER                    CO
77295   3GKALVEV0KL190132   GM           TERRAIN             FORT MYERS                FL
77296   3GKALVEV0KL195265   GM           TERRAIN             Riverside                 CA
77297   3GKALVEV0KL195539   GM           TERRAIN             GRAND RAPIDS              MI
77298   3GKALVEV0KL198036   GM           TERRAIN             ASTORIA                   NY
77299   3GKALVEV0KL198375   GM           TERRAIN             Leesburg                  VA
77300   3GKALVEV0KL201002   GM           TERRAIN             Detroit                   MI
77301   3GKALVEV0KL201078   GM           TERRAIN             GRAND RAPIDS              MI
77302   3GKALVEV0KL201467   GM           TERRAIN             NORFOLK                   VA
77303   3GKALVEV0KL202036   GM           TERRAIN             SALT LAKE CITY            US
77304   3GKALVEV0KL202375   GM           TERRAIN             NEW YORK CITY             NY
77305   3GKALVEV0KL202795   GM           TERRAIN             SAINT PAUL                MN
77306   3GKALVEV0KL203039   GM           TERRAIN             WARWICK                   RI
77307   3GKALVEV0KL203803   GM           TERRAIN             CHARLESTON                SC
77308   3GKALVEV0KL204109   GM           TERRAIN             Ft. Myers                 FL
77309   3GKALVEV0KL204319   GM           TERRAIN             Killeen                   TX
77310   3GKALVEV0KL205292   GM           TERRAIN             CLEVELAND                 OH
77311   3GKALVEV0KL205390   GM           TERRAIN             PORTLAND                  OR
77312   3GKALVEV0KL205678   GM           TERRAIN             FORT MYERS                FL
77313   3GKALVEV0KL206796   GM           TERRAIN             SAINT LOUIS               MO
77314   3GKALVEV0KL208077   GM           TERRAIN             PHILADELPHIA              PA
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77315   3GKALVEV0KL212162   GM           TERRAIN             Winston‐Salem             NC
77316   3GKALVEV0KL212260   GM           TERRAIN             SAINT PAUL                MN
77317   3GKALVEV0KL212694   GM           TERRAIN             Lynn                      MA
77318   3GKALVEV0KL213005   GM           TERRAIN             Detroit                   MI
77319   3GKALVEV0KL216020   GM           TERRAIN             Detroit                   MI
77320   3GKALVEV0KL216566   GM           TERRAIN             TUCSON                    AZ
77321   3GKALVEV0KL217720   GM           TERRAIN             LAS VEGAS                 NV
77322   3GKALVEV0KL224862   GM           TERRAIN             MEDINA                    OH
77323   3GKALVEV0KL224926   GM           TERRAIN             PALM SPRINGS              CA
77324   3GKALVEV0KL225252   GM           TERRAIN             PHOENIX                   AZ
77325   3GKALVEV0KL225266   GM           TERRAIN             RENO                      NV
77326   3GKALVEV0KL225378   GM           TERRAIN             Atlanta                   GA
77327   3GKALVEV0KL226143   GM           TERRAIN             NASHVILLE                 TN
77328   3GKALVEV0KL226434   GM           TERRAIN             NEWARK                    NJ
77329   3GKALVEV0KL226577   GM           TERRAIN             MIAMI                     FL
77330   3GKALVEV0KL227910   GM           TERRAIN             Salt Lake City            UT
77331   3GKALVEV0KL228751   GM           TERRAIN             SANTA ANA                 CA
77332   3GKALVEV0KL228832   GM           TERRAIN             INGLEWOOD                 CA
77333   3GKALVEV0KL229169   GM           TERRAIN             Santa Clara               CA
77334   3GKALVEV0KL229267   GM           TERRAIN             LAS VEGAS                 NV
77335   3GKALVEV0KL229611   GM           TERRAIN             LOS ANGELES AP            CA
77336   3GKALVEV0KL229799   GM           TERRAIN             LAS VEGAS                 NV
77337   3GKALVEV0KL229897   GM           TERRAIN             PORTLAND                  ME
77338   3GKALVEV0KL230001   GM           TERRAIN             BURBANK                   CA
77339   3GKALVEV0KL230080   GM           TERRAIN             LOS ANGELES               CA
77340   3GKALVEV0KL230337   GM           TERRAIN             FRESNO                    CA
77341   3GKALVEV0KL231049   GM           TERRAIN             FOLSOM                    CA
77342   3GKALVEV0KL231214   GM           TERRAIN             OAKLAND                   CA
77343   3GKALVEV0KL231603   GM           TERRAIN             Sacramento                CA
77344   3GKALVEV0KL231875   GM           TERRAIN             PHOENIX                   AZ
77345   3GKALVEV0KL232119   GM           TERRAIN             San Diego                 CA
77346   3GKALVEV0KL232203   GM           TERRAIN             Pheonix                   AZ
77347   3GKALVEV0KL232413   GM           TERRAIN             SAN DIEGO                 CA
77348   3GKALVEV0KL232511   GM           TERRAIN             LAS VEGAS                 NV
77349   3GKALVEV0KL232590   GM           TERRAIN             LAS VEGAS                 NV
77350   3GKALVEV0KL233304   GM           TERRAIN             PITTSBURGH                PA
77351   3GKALVEV0KL233674   GM           TERRAIN             SAN JOSE                  CA
77352   3GKALVEV0KL235389   GM           TERRAIN             NASHVILLE                 TN
77353   3GKALVEV0KL235490   GM           TERRAIN             SAN DIEGO                 CA
77354   3GKALVEV0KL235523   GM           TERRAIN             SOUTH SAN FRANC           CA
77355   3GKALVEV0KL235778   GM           TERRAIN             SEATAC                    WA
77356   3GKALVEV0KL236591   GM           TERRAIN             Riverside                 CA
77357   3GKALVEV0KL237336   GM           TERRAIN             INGLEWOOD                 CA
77358   3GKALVEV0KL237465   GM           TERRAIN             ORANGE COUNTY             CA
77359   3GKALVEV0KL238079   GM           TERRAIN             FRESNO                    CA
77360   3GKALVEV0KL238180   GM           TERRAIN             HOUSTON                   TX
77361   3GKALVEV0KL238258   GM           TERRAIN             SAN DIEGO                 CA
77362   3GKALVEV0KL239054   GM           TERRAIN             CLEVELAND                 OH
77363   3GKALVEV0KL239300   GM           TERRAIN             DETROIT                   MI
77364   3GKALVEV0KL239491   GM           TERRAIN             WEST PALM BEACH           FL
77365   3GKALVEV0KL239779   GM           TERRAIN             Miami                     FL
77366   3GKALVEV0KL239975   GM           TERRAIN             BUFFALO                   NY
77367   3GKALVEV0KL240298   GM           TERRAIN             albuquerque               nm
77368   3GKALVEV0KL240320   GM           TERRAIN             ATLANTA                   GA
77369   3GKALVEV0KL240415   GM           TERRAIN             FORT MYERS                FL
77370   3GKALVEV0KL240687   GM           TERRAIN             LOS ANGELES               CA
77371   3GKALVEV0KL240799   GM           TERRAIN             BIRMINGHAM                AL
77372   3GKALVEV0KL241029   GM           TERRAIN             FORT LAUDERDALE           FL
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77373   3GKALVEV0KL241323   GM           TERRAIN             SANTA BARBARA             CA
77374   3GKALVEV0KL241807   GM           TERRAIN             Indianapolis              IN
77375   3GKALVEV0KL242102   GM           TERRAIN             SAINT PAUL                MN
77376   3GKALVEV0KL242696   GM           TERRAIN             CHICAGO                   IL
77377   3GKALVEV0KL242987   GM           TERRAIN             Harvey                    LA
77378   3GKALVEV0KL243119   GM           TERRAIN             ORLANDO                   FL
77379   3GKALVEV0KL243167   GM           TERRAIN             MEMPHIS                   TN
77380   3GKALVEV0KL244044   GM           TERRAIN             CHICAGO                   IL
77381   3GKALVEV0KL244089   GM           TERRAIN             FORT MYERS                FL
77382   3GKALVEV0KL244609   GM           TERRAIN             SEATAC                    WA
77383   3GKALVEV0KL244979   GM           TERRAIN             SARASOTA                  FL
77384   3GKALVEV0KL246313   GM           TERRAIN             Atlanta                   GA
77385   3GKALVEV0KL246327   GM           TERRAIN             WEST PALM BEACH           FL
77386   3GKALVEV0KL246506   GM           TERRAIN             ATLANTA                   GA
77387   3GKALVEV0KL246621   GM           TERRAIN             TAMPA                     FL
77388   3GKALVEV0KL246652   GM           TERRAIN             ATLANTA                   GA
77389   3GKALVEV0KL248210   GM           TERRAIN             CHARLESTON                SC
77390   3GKALVEV0KL250636   GM           TERRAIN             SOUTH SAN FRANC           CA
77391   3GKALVEV0KL251852   GM           TERRAIN             Atlanta                   GA
77392   3GKALVEV0KL282180   GM           TERRAIN             Los Angeles               CA
77393   3GKALVEV0KL315453   GM           TERRAIN             ALBANY                    NY
77394   3GKALVEV0KL366578   GM           TERRAIN             LOS ANGELES               CA
77395   3GKALVEV0LL141028   GM           TERRAIN             PHOENIX                   AZ
77396   3GKALVEV0LL142745   GM           TERRAIN             PHOENIX                   AZ
77397   3GKALVEV0LL144091   GM           TERRAIN             Phoenix                   AZ
77398   3GKALVEV0LL144141   GM           TERRAIN             DALLAS                    TX
77399   3GKALVEV0LL144883   GM           TERRAIN             SAN ANTONIO               TX
77400   3GKALVEV0LL145273   GM           TERRAIN             FORT LAUDERDALE           FL
77401   3GKALVEV0LL145824   GM           TERRAIN             OKLAHOMA CITY             OK
77402   3GKALVEV0LL146097   GM           TERRAIN             KENNER                    LA
77403   3GKALVEV0LL147363   GM           TERRAIN             AUSTIN                    TX
77404   3GKALVEV0LL147489   GM           TERRAIN             SHREVEPORT                LA
77405   3GKALVEV0LL147542   GM           TERRAIN             Dallas                    TX
77406   3GKALVEV0LL147699   GM           TERRAIN             ORLANDO                   FL
77407   3GKALVEV0LL147931   GM           TERRAIN             ORLANDO                   FL
77408   3GKALVEV0LL148206   GM           TERRAIN             NEW BERN                  NC
77409   3GKALVEV0LL148965   GM           TERRAIN             SEATAC                    WA
77410   3GKALVEV0LL149128   GM           TERRAIN             WEST PALM BEACH           FL
77411   3GKALVEV0LL149193   GM           TERRAIN             FORT MYERS                FL
77412   3GKALVEV0LL149257   GM           TERRAIN             DALLAS                    TX
77413   3GKALVEV0LL149551   GM           TERRAIN             KNOXVILLE                 TN
77414   3GKALVEV0LL156239   GM           TERRAIN             LOUISVILLE                KY
77415   3GKALVEV0LL160582   GM           TERRAIN             NEW BERN                  NC
77416   3GKALVEV0LL164289   GM           TERRAIN             NEWARK                    NJ
77417   3GKALVEV0LL189659   GM           TERRAIN             OAKLAND                   CA
77418   3GKALVEV0LL190441   GM           TERRAIN             SAN JOSE                  CA
77419   3GKALVEV0LL191928   GM           TERRAIN             SAN DIEGO                 CA
77420   3GKALVEV0LL192318   GM           TERRAIN             SANTA ANA                 CA
77421   3GKALVEV0LL192559   GM           TERRAIN             FRESNO                    CA
77422   3GKALVEV0LL193646   GM           TERRAIN             Los Angeles               CA
77423   3GKALVEV0LL194361   GM           TERRAIN             SAN DIEGO                 CA
77424   3GKALVEV0LL195042   GM           TERRAIN             RALIEGH                   NC
77425   3GKALVEV0LL195557   GM           TERRAIN             DETROIT                   MI
77426   3GKALVEV0LL195655   GM           TERRAIN             Atlanta                   GA
77427   3GKALVEV0LL196157   GM           TERRAIN             TALLAHASSEE               FL
77428   3GKALVEV0LL196241   GM           TERRAIN             FORT MYERS                FL
77429   3GKALVEV0LL197275   GM           TERRAIN             DALLAS                    TX
77430   3GKALVEV0LL197597   GM           TERRAIN             NEW YORK CITY             NY
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77431   3GKALVEV0LL202698   GM           TERRAIN             Atlanta                   GA
77432   3GKALVEV0LL203740   GM           TERRAIN             Atlanta                   GA
77433   3GKALVEV0LL206976   GM           TERRAIN             Teterboro                 NJ
77434   3GKALVEV0LL207738   GM           TERRAIN             WEST PALM BEACH           FL
77435   3GKALVEV0LL208128   GM           TERRAIN             BALTIMORE                 MD
77436   3GKALVEV0LL233868   GM           TERRAIN             EL PASO                   TX
77437   3GKALVEV0LL233966   GM           TERRAIN             PITTSBURGH                PA
77438   3GKALVEV0LL234244   GM           TERRAIN             SACRAMENTO                CA
77439   3GKALVEV0LL234504   GM           TERRAIN             SANTA ANA                 CA
77440   3GKALVEV0LL234809   GM           TERRAIN             SAN JOSE                  CA
77441   3GKALVEV0LL234874   GM           TERRAIN             Las Vegas                 NV
77442   3GKALVEV0LL236141   GM           TERRAIN             OMAHA                     NE
77443   3GKALVEV0LL236849   GM           TERRAIN             LOS ANGELES               CA
77444   3GKALVEV0LL236883   GM           TERRAIN             PITTSBURGH                PA
77445   3GKALVEV0LL236950   GM           TERRAIN             PHILADELPHIA              US
77446   3GKALVEV0LL237306   GM           TERRAIN             DES MOINES                IA
77447   3GKALVEV0LL238424   GM           TERRAIN             PHOENIX                   AZ
77448   3GKALVEV0LL238617   GM           TERRAIN             CHARLOTTE                 NC
77449   3GKALVEV0LL238679   GM           TERRAIN             ORLANDO                   FL
77450   3GKALVEV0LL238830   GM           TERRAIN             GRAND RAPIDS              MI
77451   3GKALVEV0LL239234   GM           TERRAIN             JACKSONVILLE              FL
77452   3GKALVEV0LL240447   GM           TERRAIN             DES MOINES                IA
77453   3GKALVEV0LL240724   GM           TERRAIN             PITTSBURGH                PA
77454   3GKALVEV0LL240738   GM           TERRAIN             CHARLOTTE                 NC
77455   3GKALVEV0LL240853   GM           TERRAIN             BROOKLYN                  NY
77456   3GKALVEV0LL241372   GM           TERRAIN             CHARLESTON                SC
77457   3GKALVEV0LL242909   GM           TERRAIN             ATLANTA                   GA
77458   3GKALVEV1KL172531   GM           TERRAIN             Davie                     FL
77459   3GKALVEV1KL173338   GM           TERRAIN             North Dighton             MA
77460   3GKALVEV1KL174084   GM           TERRAIN             TAMPA                     FL
77461   3GKALVEV1KL174506   GM           TERRAIN             NAPLES                    FL
77462   3GKALVEV1KL176160   GM           TERRAIN             ATLANTA                   GA
77463   3GKALVEV1KL177597   GM           TERRAIN             JACKSONVILLE              FL
77464   3GKALVEV1KL177809   GM           TERRAIN             PALM SPRINGS              CA
77465   3GKALVEV1KL178037   GM           TERRAIN             ORLANDO                   FL
77466   3GKALVEV1KL178099   GM           TERRAIN             JACKSONVILLE              FL
77467   3GKALVEV1KL178426   GM           TERRAIN             LAS VEGAS                 NV
77468   3GKALVEV1KL178927   GM           TERRAIN             Atlanta                   GA
77469   3GKALVEV1KL180998   GM           TERRAIN             MIAMI                     FL
77470   3GKALVEV1KL182167   GM           TERRAIN             SAN ANTONIO               TX
77471   3GKALVEV1KL182802   GM           TERRAIN             BOSTON                    MA
77472   3GKALVEV1KL184372   GM           TERRAIN             GREENSBORO                NC
77473   3GKALVEV1KL184873   GM           TERRAIN             SAINT PAUL                MN
77474   3GKALVEV1KL185067   GM           TERRAIN             BIRMINGHAN                AL
77475   3GKALVEV1KL185487   GM           TERRAIN             LAS VEGAS                 NV
77476   3GKALVEV1KL185599   GM           TERRAIN             Hayward                   CA
77477   3GKALVEV1KL186235   GM           TERRAIN             AUGUSTA                   GA
77478   3GKALVEV1KL186347   GM           TERRAIN             OAKLAND                   CA
77479   3GKALVEV1KL186364   GM           TERRAIN             LOS ANGELES               CA
77480   3GKALVEV1KL186428   GM           TERRAIN             DENVER                    CO
77481   3GKALVEV1KL186459   GM           TERRAIN             LOS ANGELES               CA
77482   3GKALVEV1KL186722   GM           TERRAIN             HOUSTON                   TX
77483   3GKALVEV1KL186879   GM           TERRAIN             Houston                   TX
77484   3GKALVEV1KL187546   GM           TERRAIN             LAS VEGAS                 NV
77485   3GKALVEV1KL188034   GM           TERRAIN             Ocoee                     FL
77486   3GKALVEV1KL189698   GM           TERRAIN             PHOENIX                   AZ
77487   3GKALVEV1KL189717   GM           TERRAIN             Atlanta                   GA
77488   3GKALVEV1KL189832   GM           TERRAIN             LOS ANGELES AP            CA
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77489   3GKALVEV1KL189927   GM           TERRAIN             STERLING                  VA
77490   3GKALVEV1KL191242   GM           TERRAIN             ORLANDO                   FL
77491   3GKALVEV1KL194349   GM           TERRAIN             Atlanta                   GA
77492   3GKALVEV1KL197719   GM           TERRAIN             AUSTIN                    TX
77493   3GKALVEV1KL197851   GM           TERRAIN             CLEVELAND                 OH
77494   3GKALVEV1KL200893   GM           TERRAIN             N. Palm Beach             FL
77495   3GKALVEV1KL200960   GM           TERRAIN             Winston‐Salem             NC
77496   3GKALVEV1KL201185   GM           TERRAIN             JACKSONVILLE              FL
77497   3GKALVEV1KL201719   GM           TERRAIN             HAILEY SUN VALLEY         ID
77498   3GKALVEV1KL202658   GM           TERRAIN             LOS ANGELES               CA
77499   3GKALVEV1KL202806   GM           TERRAIN             RICHMOND                  VA
77500   3GKALVEV1KL202840   GM           TERRAIN             ALLENTOWN                 US
77501   3GKALVEV1KL203163   GM           TERRAIN             Hapeville                 GA
77502   3GKALVEV1KL203969   GM           TERRAIN             DETROIT                   MI
77503   3GKALVEV1KL205334   GM           TERRAIN             SAN FRANCISCO             CA
77504   3GKALVEV1KL205690   GM           TERRAIN             JACKSONVILLE              FL
77505   3GKALVEV1KL205852   GM           TERRAIN             DENVER                    CO
77506   3GKALVEV1KL206340   GM           TERRAIN             TAMPA                     FL
77507   3GKALVEV1KL206693   GM           TERRAIN             ST Paul                   MN
77508   3GKALVEV1KL206872   GM           TERRAIN             MILWAUKEE                 WI
77509   3GKALVEV1KL207195   GM           TERRAIN             ORLANDO                   FL
77510   3GKALVEV1KL207620   GM           TERRAIN             NEW YORK CITY             NY
77511   3GKALVEV1KL207729   GM           TERRAIN             NEWARK                    NJ
77512   3GKALVEV1KL210422   GM           TERRAIN             KANSAS CITY               MO
77513   3GKALVEV1KL212333   GM           TERRAIN             MILWAUKEE                 WI
77514   3GKALVEV1KL213921   GM           TERRAIN             INDIANAPOLIS              IN
77515   3GKALVEV1KL214809   GM           TERRAIN             FORT MYERS                FL
77516   3GKALVEV1KL215300   GM           TERRAIN             GRAND RAPIDS              MI
77517   3GKALVEV1KL215393   GM           TERRAIN             CHICAGO                   IL
77518   3GKALVEV1KL215488   GM           TERRAIN             KANSAS CITY               MO
77519   3GKALVEV1KL217449   GM           TERRAIN             MEDINA                    OH
77520   3GKALVEV1KL218360   GM           TERRAIN             Warr Acres                OK
77521   3GKALVEV1KL225518   GM           TERRAIN             Detroit                   MI
77522   3GKALVEV1KL226216   GM           TERRAIN             Ft. Myers                 FL
77523   3GKALVEV1KL226281   GM           TERRAIN             Norwalk                   CA
77524   3GKALVEV1KL226328   GM           TERRAIN             LOS ANGELES               CA
77525   3GKALVEV1KL226409   GM           TERRAIN             SAN FRANCISCO             CA
77526   3GKALVEV1KL226717   GM           TERRAIN             LAS VEGAS                 NV
77527   3GKALVEV1KL226720   GM           TERRAIN             PHOENIX                   AZ
77528   3GKALVEV1KL226801   GM           TERRAIN             BOSTON                    MA
77529   3GKALVEV1KL226846   GM           TERRAIN             SALT LAKE CITY            UT
77530   3GKALVEV1KL227723   GM           TERRAIN             BOSTON                    MA
77531   3GKALVEV1KL227902   GM           TERRAIN             SAN DIEGO                 CA
77532   3GKALVEV1KL228340   GM           TERRAIN             SAN JOSE                  CA
77533   3GKALVEV1KL228466   GM           TERRAIN             SAN DIEGO                 CA
77534   3GKALVEV1KL229262   GM           TERRAIN             INGLEWOOD                 CA
77535   3GKALVEV1KL229374   GM           TERRAIN             LOS ANGELES               CA
77536   3GKALVEV1KL229519   GM           TERRAIN             SEATAC                    WA
77537   3GKALVEV1KL229889   GM           TERRAIN             SAN FRANCISCO             CA
77538   3GKALVEV1KL230346   GM           TERRAIN             PORTLAND                  OR
77539   3GKALVEV1KL230525   GM           TERRAIN             Portland                  OR
77540   3GKALVEV1KL230542   GM           TERRAIN             Irving                    TX
77541   3GKALVEV1KL230881   GM           TERRAIN             ROCHESTER                 NY
77542   3GKALVEV1KL231349   GM           TERRAIN             DALLAS                    TX
77543   3GKALVEV1KL231674   GM           TERRAIN             SANTA ANA                 CA
77544   3GKALVEV1KL231870   GM           TERRAIN             Los Angeles               CA
77545   3GKALVEV1KL231979   GM           TERRAIN             LOS ANGELES               CA
77546   3GKALVEV1KL232274   GM           TERRAIN             Lake Elsinore             CA
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77547   3GKALVEV1KL232422   GM           TERRAIN             SACRAMENTO                CA
77548   3GKALVEV1KL232923   GM           TERRAIN             LOS ANGELES               CA
77549   3GKALVEV1KL234106   GM           TERRAIN             OAKLAND                   CA
77550   3GKALVEV1KL234395   GM           TERRAIN             CASPER                    WY
77551   3GKALVEV1KL235384   GM           TERRAIN             SACRAMENTO                CA
77552   3GKALVEV1KL235806   GM           TERRAIN             LAS VEGAS                 NV
77553   3GKALVEV1KL235966   GM           TERRAIN             LAS VEGAS                 NV
77554   3GKALVEV1KL237684   GM           TERRAIN             Hayward                   CA
77555   3GKALVEV1KL238592   GM           TERRAIN             ORLANDO                   FL
77556   3GKALVEV1KL238608   GM           TERRAIN             PHILADELPHIA              PA
77557   3GKALVEV1KL238611   GM           TERRAIN             NEWARK                    NJ
77558   3GKALVEV1KL239290   GM           TERRAIN             CHICAGO                   IL
77559   3GKALVEV1KL239872   GM           TERRAIN             DENVER                    CO
77560   3GKALVEV1KL240021   GM           TERRAIN             SAVANNAH                  GA
77561   3GKALVEV1KL240147   GM           TERRAIN             KENNER                    LA
77562   3GKALVEV1KL240360   GM           TERRAIN             JACKSONVILLE              FL
77563   3GKALVEV1KL240701   GM           TERRAIN             FORT LAUDERDALE           FL
77564   3GKALVEV1KL240827   GM           TERRAIN             BOSTON                    MA
77565   3GKALVEV1KL240973   GM           TERRAIN             SAN JOSE                  CA
77566   3GKALVEV1KL240987   GM           TERRAIN             LAS VEGAS                 NV
77567   3GKALVEV1KL241346   GM           TERRAIN             CHARLESTON                SC
77568   3GKALVEV1KL241539   GM           TERRAIN             SAVANNAH                  GA
77569   3GKALVEV1KL242187   GM           TERRAIN             SAN JOSE                  CA
77570   3GKALVEV1KL242335   GM           TERRAIN             LOS ANGELES               CA
77571   3GKALVEV1KL242416   GM           TERRAIN             SAN FRANCISCO             CA
77572   3GKALVEV1KL242741   GM           TERRAIN             ORLANDO                   FL
77573   3GKALVEV1KL242755   GM           TERRAIN             LOS ANGELES               CA
77574   3GKALVEV1KL242819   GM           TERRAIN             SANTA ANA                 CA
77575   3GKALVEV1KL243078   GM           TERRAIN             TAMPA                     FL
77576   3GKALVEV1KL243131   GM           TERRAIN             FORT LAUDERDALE           FL
77577   3GKALVEV1KL243243   GM           TERRAIN             SARASOTA                  FL
77578   3GKALVEV1KL243470   GM           TERRAIN             BUFFALO                   NY
77579   3GKALVEV1KL244053   GM           TERRAIN             ORLANDO                   FL
77580   3GKALVEV1KL244523   GM           TERRAIN             MIAMI                     FL
77581   3GKALVEV1KL245655   GM           TERRAIN             WEST PALM BEACH           FL
77582   3GKALVEV1KL245705   GM           TERRAIN             Atlanta                   GA
77583   3GKALVEV1KL246059   GM           TERRAIN             ORLANDO                   FL
77584   3GKALVEV1KL246143   GM           TERRAIN             ATLANTA                   GA
77585   3GKALVEV1KL246210   GM           TERRAIN             BIRMINGHAM                AL
77586   3GKALVEV1KL246272   GM           TERRAIN             Hamilton                  OH
77587   3GKALVEV1KL246563   GM           TERRAIN             MIAMI                     FL
77588   3GKALVEV1KL246661   GM           TERRAIN             ATLANTA                   GA
77589   3GKALVEV1KL272211   GM           TERRAIN             SACRAMENTO                CA
77590   3GKALVEV1LL139787   GM           TERRAIN             PHOENIX                   AZ
77591   3GKALVEV1LL140924   GM           TERRAIN             TUCSON                    AZ
77592   3GKALVEV1LL144567   GM           TERRAIN             DES MOINES                IA
77593   3GKALVEV1LL145315   GM           TERRAIN             SAINT LOUIS               MO
77594   3GKALVEV1LL146108   GM           TERRAIN             TAMPA                     FL
77595   3GKALVEV1LL146268   GM           TERRAIN             STERLING                  VA
77596   3GKALVEV1LL146383   GM           TERRAIN             PENSACOLA                 FL
77597   3GKALVEV1LL146660   GM           TERRAIN             LUBBOCK                   TX
77598   3GKALVEV1LL147016   GM           TERRAIN             ORLANDO                   FL
77599   3GKALVEV1LL147386   GM           TERRAIN             SAN ANTONIO               TX
77600   3GKALVEV1LL147811   GM           TERRAIN             PHOENIX                   AZ
77601   3GKALVEV1LL147999   GM           TERRAIN             FORT MYERS                FL
77602   3GKALVEV1LL148067   GM           TERRAIN             CHARLOTTE                 NC
77603   3GKALVEV1LL148070   GM           TERRAIN             SEATAC                    WA
77604   3GKALVEV1LL148585   GM           TERRAIN             HOUSTON                   TX
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77605   3GKALVEV1LL148635   GM           TERRAIN             DALLAS                    TX
77606   3GKALVEV1LL156413   GM           TERRAIN             BALTIMORE                 MD
77607   3GKALVEV1LL158940   GM           TERRAIN             PHILADELPHIA              PA
77608   3GKALVEV1LL159666   GM           TERRAIN             KENNER                    LA
77609   3GKALVEV1LL159926   GM           TERRAIN             COLLEGE PARK              GA
77610   3GKALVEV1LL160462   GM           TERRAIN             KENNER                    LA
77611   3GKALVEV1LL190108   GM           TERRAIN             HOUSTON                   TX
77612   3GKALVEV1LL190884   GM           TERRAIN             FRESNO                    CA
77613   3GKALVEV1LL191226   GM           TERRAIN             LOS ANGELES AP            CA
77614   3GKALVEV1LL192151   GM           TERRAIN             ORANGE COUNTY             CA
77615   3GKALVEV1LL192456   GM           TERRAIN             SAN JOSE                  CA
77616   3GKALVEV1LL193137   GM           TERRAIN             SAN FRANCISCO             CA
77617   3GKALVEV1LL193235   GM           TERRAIN             LOS ANGELES               CA
77618   3GKALVEV1LL193302   GM           TERRAIN             SAN JOSE                  CA
77619   3GKALVEV1LL194028   GM           TERRAIN             SAN DIEGO                 CA
77620   3GKALVEV1LL195471   GM           TERRAIN             WHITE PLAINS              NY
77621   3GKALVEV1LL195566   GM           TERRAIN             STERLING                  VA
77622   3GKALVEV1LL195714   GM           TERRAIN             PITTSBURGH                PA
77623   3GKALVEV1LL198323   GM           TERRAIN             INDIANAPOLIS              IN
77624   3GKALVEV1LL200023   GM           TERRAIN             ALBANY                    NY
77625   3GKALVEV1LL201091   GM           TERRAIN             NEWARK                    NJ
77626   3GKALVEV1LL203455   GM           TERRAIN             MIDLAND                   TX
77627   3GKALVEV1LL233734   GM           TERRAIN             FOLSOM                    CA
77628   3GKALVEV1LL233989   GM           TERRAIN             SAN FRANCISCO             CA
77629   3GKALVEV1LL234009   GM           TERRAIN             SAN FRANCISCO             CA
77630   3GKALVEV1LL234186   GM           TERRAIN             ORLANDO                   FL
77631   3GKALVEV1LL234768   GM           TERRAIN             SACRAMENTO                CA
77632   3GKALVEV1LL234950   GM           TERRAIN             SAN DIEGO                 CA
77633   3GKALVEV1LL234978   GM           TERRAIN             LOS ANGELES               CA
77634   3GKALVEV1LL234981   GM           TERRAIN             PHOENIX                   AZ
77635   3GKALVEV1LL235709   GM           TERRAIN             SAN FRANCISCO             CA
77636   3GKALVEV1LL238366   GM           TERRAIN             CHICAGO                   IL
77637   3GKALVEV1LL239629   GM           TERRAIN             JACKSONVILLE              FL
77638   3GKALVEV1LL240490   GM           TERRAIN             Hebron                    KY
77639   3GKALVEV1LL240683   GM           TERRAIN             SAINT LOUIS               MO
77640   3GKALVEV1LL240876   GM           TERRAIN             CHICAGO                   IL
77641   3GKALVEV1LL241283   GM           TERRAIN             ROCHESTER                 NY
77642   3GKALVEV2KL172280   GM           TERRAIN             FORT LAUDERDALE           FL
77643   3GKALVEV2KL173249   GM           TERRAIN             COLUMBUS                  OH
77644   3GKALVEV2KL173879   GM           TERRAIN             FORT MYERS                FL
77645   3GKALVEV2KL174658   GM           TERRAIN             STERLING                  VA
77646   3GKALVEV2KL174689   GM           TERRAIN             STERLING                  VA
77647   3GKALVEV2KL175230   GM           TERRAIN             WEST PALM BEACH           FL
77648   3GKALVEV2KL177091   GM           TERRAIN             MILWAUKEE                 WI
77649   3GKALVEV2KL178399   GM           TERRAIN             GREENSBORO                NC
77650   3GKALVEV2KL179066   GM           TERRAIN             INDIANAPOLIS              IN
77651   3GKALVEV2KL179908   GM           TERRAIN             CHICAGO                   IL
77652   3GKALVEV2KL180489   GM           TERRAIN             Atlanta                   GA
77653   3GKALVEV2KL180766   GM           TERRAIN             DETROIT                   MI
77654   3GKALVEV2KL181352   GM           TERRAIN             CHARLOTTE                 NC
77655   3GKALVEV2KL181383   GM           TERRAIN             ATLANTA                   GA
77656   3GKALVEV2KL182761   GM           TERRAIN             FORT MYERS                FL
77657   3GKALVEV2KL183165   GM           TERRAIN             CORPUS CHRISTI            TX
77658   3GKALVEV2KL186244   GM           TERRAIN             SEATAC                    WA
77659   3GKALVEV2KL186910   GM           TERRAIN             FRESNO                    CA
77660   3GKALVEV2KL187040   GM           TERRAIN             ORANGE COUNTY             CA
77661   3GKALVEV2KL187121   GM           TERRAIN             SAN ANTONIO               TX
77662   3GKALVEV2KL187264   GM           TERRAIN             PENSACOLA                 FL
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77663   3GKALVEV2KL187507   GM           TERRAIN             INGLEWOOD                 CA
77664   3GKALVEV2KL187572   GM           TERRAIN             DALLAS                    TX
77665   3GKALVEV2KL187930   GM           TERRAIN             Dallas                    TX
77666   3GKALVEV2KL188625   GM           TERRAIN             Elkridge                  MD
77667   3GKALVEV2KL188723   GM           TERRAIN             Houston                   TX
77668   3GKALVEV2KL189175   GM           TERRAIN             LOS ANGELES               CA
77669   3GKALVEV2KL189435   GM           TERRAIN             PHOENIX                   AZ
77670   3GKALVEV2KL189550   GM           TERRAIN             LOS ANGELES               CA
77671   3GKALVEV2KL190066   GM           TERRAIN             ORLANDO                   FL
77672   3GKALVEV2KL190083   GM           TERRAIN             SALT LAKE CITY            US
77673   3GKALVEV2KL190536   GM           TERRAIN             HOUSTON                   TX
77674   3GKALVEV2KL191220   GM           TERRAIN             Houston                   TX
77675   3GKALVEV2KL191377   GM           TERRAIN             MIAMI                     FL
77676   3GKALVEV2KL192206   GM           TERRAIN             JAMAICA                   NY
77677   3GKALVEV2KL193582   GM           TERRAIN             BOSTON                    MA
77678   3GKALVEV2KL196188   GM           TERRAIN             PHOENIX                   AZ
77679   3GKALVEV2KL197258   GM           TERRAIN             TAMPA                     FL
77680   3GKALVEV2KL198295   GM           TERRAIN             SAN ANTONIO               TX
77681   3GKALVEV2KL203642   GM           TERRAIN             EL PASO                   TX
77682   3GKALVEV2KL203947   GM           TERRAIN             SAINT PAUL                MN
77683   3GKALVEV2KL204533   GM           TERRAIN             LAS VEGAS                 NV
77684   3GKALVEV2KL205052   GM           TERRAIN             Statesville               NC
77685   3GKALVEV2KL205617   GM           TERRAIN             DENVER                    CO
77686   3GKALVEV2KL205634   GM           TERRAIN             SEATAC                    WA
77687   3GKALVEV2KL206623   GM           TERRAIN             Rockville Centr           NY
77688   3GKALVEV2KL206945   GM           TERRAIN             Florissant                MO
77689   3GKALVEV2KL208372   GM           TERRAIN             CHICAGO                   IL
77690   3GKALVEV2KL211210   GM           TERRAIN             ATLANTA                   GA
77691   3GKALVEV2KL211322   GM           TERRAIN             NORTH PAC                 CA
77692   3GKALVEV2KL211725   GM           TERRAIN             SAINT PAUL                MN
77693   3GKALVEV2KL211983   GM           TERRAIN             KENNER                    LA
77694   3GKALVEV2KL213118   GM           TERRAIN             KANSAS CITY               MO
77695   3GKALVEV2KL213460   GM           TERRAIN             Atlanta                   GA
77696   3GKALVEV2KL213703   GM           TERRAIN             Detroit                   MI
77697   3GKALVEV2KL214544   GM           TERRAIN             MILWAUKEE                 WI
77698   3GKALVEV2KL214656   GM           TERRAIN             PHOENIX                   AZ
77699   3GKALVEV2KL215340   GM           TERRAIN             Tulsa                     OK
77700   3GKALVEV2KL224927   GM           TERRAIN             INGLEWOOD                 CA
77701   3GKALVEV2KL225463   GM           TERRAIN             OMAHA                     NE
77702   3GKALVEV2KL225558   GM           TERRAIN             SAN FRANCISCO             CA
77703   3GKALVEV2KL225642   GM           TERRAIN             TRACY                     CA
77704   3GKALVEV2KL225818   GM           TERRAIN             Dallas                    TX
77705   3GKALVEV2KL225897   GM           TERRAIN             Riverside                 CA
77706   3GKALVEV2KL226287   GM           TERRAIN             NEW BERN                  NC
77707   3GKALVEV2KL227021   GM           TERRAIN             ONTARIO                   CA
77708   3GKALVEV2KL227147   GM           TERRAIN             Atlanta                   GA
77709   3GKALVEV2KL227536   GM           TERRAIN             ONTARIO                   CA
77710   3GKALVEV2KL227603   GM           TERRAIN             ONTARIO                   CA
77711   3GKALVEV2KL227679   GM           TERRAIN             HOUSTON                   TX
77712   3GKALVEV2KL227813   GM           TERRAIN             FORT LAUDERDALE           FL
77713   3GKALVEV2KL227990   GM           TERRAIN             SAN ANTONIO               TX
77714   3GKALVEV2KL228489   GM           TERRAIN             CHARLESTON                SC
77715   3GKALVEV2KL228492   GM           TERRAIN             COLUMBIA                  SC
77716   3GKALVEV2KL228623   GM           TERRAIN             LAS VEGAS                 NV
77717   3GKALVEV2KL228704   GM           TERRAIN             PHOENIX                   AZ
77718   3GKALVEV2KL228721   GM           TERRAIN             FORT LAUDERDALE           FL
77719   3GKALVEV2KL228881   GM           TERRAIN             Roseville                 CA
77720   3GKALVEV2KL228931   GM           TERRAIN             LOS ANGELES               CA
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77721   3GKALVEV2KL228962   GM           TERRAIN             CHARLOTTE                 NC
77722   3GKALVEV2KL230260   GM           TERRAIN             ONTARIO                   CA
77723   3GKALVEV2KL230498   GM           TERRAIN             PHOENIX                   AZ
77724   3GKALVEV2KL230565   GM           TERRAIN             ORLANDO                   FL
77725   3GKALVEV2KL230646   GM           TERRAIN             LAS VEGAS                 NV
77726   3GKALVEV2KL230713   GM           TERRAIN             LAS VEGAS                 NV
77727   3GKALVEV2KL231389   GM           TERRAIN             Roseville                 CA
77728   3GKALVEV2KL231800   GM           TERRAIN             HOUSTON                   TX
77729   3GKALVEV2KL231876   GM           TERRAIN             SAN JOSE                  CA
77730   3GKALVEV2KL232803   GM           TERRAIN             OKLAHOMA CITY             OK
77731   3GKALVEV2KL233109   GM           TERRAIN             MONTEREY                  CA
77732   3GKALVEV2KL233692   GM           TERRAIN             ONTARIO                   CA
77733   3GKALVEV2KL233854   GM           TERRAIN             LOS ANGELES               CA
77734   3GKALVEV2KL234339   GM           TERRAIN             SAN FRANCISCO             CA
77735   3GKALVEV2KL234714   GM           TERRAIN             SAN FRANCISCO             CA
77736   3GKALVEV2KL235295   GM           TERRAIN             Downey                    CA
77737   3GKALVEV2KL236043   GM           TERRAIN             NEWARK                    NJ
77738   3GKALVEV2KL236527   GM           TERRAIN             LOS ANGELES               CA
77739   3GKALVEV2KL237645   GM           TERRAIN             LOS ANGELES               CA
77740   3GKALVEV2KL238259   GM           TERRAIN             Fontana                   CA
77741   3GKALVEV2KL238939   GM           TERRAIN             CHICAGO                   IL
77742   3GKALVEV2KL239363   GM           TERRAIN             FORT MYERS                FL
77743   3GKALVEV2KL239542   GM           TERRAIN             FORT MYERS                FL
77744   3GKALVEV2KL239735   GM           TERRAIN             WEST PALM BEACH           FL
77745   3GKALVEV2KL239749   GM           TERRAIN             ORLANDO                   FL
77746   3GKALVEV2KL240075   GM           TERRAIN             TULSA                     OK
77747   3GKALVEV2KL240092   GM           TERRAIN             SOUTHEAST DST OFFC        OK
77748   3GKALVEV2KL240495   GM           TERRAIN             PHOENIX                   AZ
77749   3GKALVEV2KL240755   GM           TERRAIN             TAMPA                     FL
77750   3GKALVEV2KL241159   GM           TERRAIN             MIAMI                     FL
77751   3GKALVEV2KL241288   GM           TERRAIN             MIAMI                     FL
77752   3GKALVEV2KL241517   GM           TERRAIN             WILMINGTON                NC
77753   3GKALVEV2KL241534   GM           TERRAIN             ORLANDO                   FL
77754   3GKALVEV2KL241744   GM           TERRAIN             STERLING                  VA
77755   3GKALVEV2KL242215   GM           TERRAIN             Atlanta                   GA
77756   3GKALVEV2KL242425   GM           TERRAIN             SAN DIEGO                 CA
77757   3GKALVEV2KL242733   GM           TERRAIN             FORT LAUDERDALE           FL
77758   3GKALVEV2KL242859   GM           TERRAIN             ORLANDO                   FL
77759   3GKALVEV2KL243056   GM           TERRAIN             DETROIT                   MI
77760   3GKALVEV2KL243557   GM           TERRAIN             SARASOTA                  FL
77761   3GKALVEV2KL244403   GM           TERRAIN             BOSTON                    MA
77762   3GKALVEV2KL244577   GM           TERRAIN             ORLANDO                   FL
77763   3GKALVEV2KL244790   GM           TERRAIN             ORLANDO                   FL
77764   3GKALVEV2KL245017   GM           TERRAIN             EL PASO                   TX
77765   3GKALVEV2KL245521   GM           TERRAIN             Tampa                     FL
77766   3GKALVEV2KL245681   GM           TERRAIN             TAMPA                     FL
77767   3GKALVEV2KL245938   GM           TERRAIN             TAMPA                     FL
77768   3GKALVEV2KL246507   GM           TERRAIN             SAINT PAUL                MN
77769   3GKALVEV2KL252209   GM           TERRAIN             FORT MYERS                FL
77770   3GKALVEV2KL362788   GM           TERRAIN             PORTLAND                  ME
77771   3GKALVEV2KL364248   GM           TERRAIN             Riverside                 CA
77772   3GKALVEV2LL142990   GM           TERRAIN             SANTA FE                  NM
77773   3GKALVEV2LL144030   GM           TERRAIN             ALBUQERQUE                NM
77774   3GKALVEV2LL144061   GM           TERRAIN             SAN DIEGO                 CA
77775   3GKALVEV2LL145078   GM           TERRAIN             MIAMI                     FL
77776   3GKALVEV2LL145789   GM           TERRAIN             HOUSTON                   TX
77777   3GKALVEV2LL146084   GM           TERRAIN             SARASOTA                  FL
77778   3GKALVEV2LL146795   GM           TERRAIN             DALLAS                    TX
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77779   3GKALVEV2LL147008   GM           TERRAIN             AUSTIN                    TX
77780   3GKALVEV2LL147316   GM           TERRAIN             BLOOMINGTON               IL
77781   3GKALVEV2LL147512   GM           TERRAIN             DALLAS                    TX
77782   3GKALVEV2LL147641   GM           TERRAIN             FORT MYERS                FL
77783   3GKALVEV2LL147686   GM           TERRAIN             ORLANDO                   FL
77784   3GKALVEV2LL147980   GM           TERRAIN             DALLAS                    TX
77785   3GKALVEV2LL148725   GM           TERRAIN             DALLAS                    TX
77786   3GKALVEV2LL159367   GM           TERRAIN             BALTIMORE                 MD
77787   3GKALVEV2LL160728   GM           TERRAIN             ALBANY                    NY
77788   3GKALVEV2LL161586   GM           TERRAIN             RICHMOND                  VA
77789   3GKALVEV2LL164410   GM           TERRAIN             ALBANY                    NY
77790   3GKALVEV2LL164634   GM           TERRAIN             ALBANY                    N
77791   3GKALVEV2LL191302   GM           TERRAIN             SAN FRANCISCO             CA
77792   3GKALVEV2LL192806   GM           TERRAIN             SANTA ANA                 CA
77793   3GKALVEV2LL193776   GM           TERRAIN             FRESNO                    CA
77794   3GKALVEV2LL194278   GM           TERRAIN             PETALUMA                  CA
77795   3GKALVEV2LL194815   GM           TERRAIN             MEMPHIS                   TN
77796   3GKALVEV2LL195043   GM           TERRAIN             TAMPA                     FL
77797   3GKALVEV2LL195141   GM           TERRAIN             PITTSBURGH                PA
77798   3GKALVEV2LL195205   GM           TERRAIN             BALTIMORE                 MD
77799   3GKALVEV2LL195303   GM           TERRAIN             NEW BERN                  NC
77800   3GKALVEV2LL195558   GM           TERRAIN             STERLING                  VA
77801   3GKALVEV2LL195785   GM           TERRAIN             RALEIGH                   NC
77802   3GKALVEV2LL195978   GM           TERRAIN             ROCHESTER                 NY
77803   3GKALVEV2LL202301   GM           TERRAIN             PHILADELPHIA              PA
77804   3GKALVEV2LL203156   GM           TERRAIN             PHILADELPHIA              PA
77805   3GKALVEV2LL204002   GM           TERRAIN             UNION CITY                GA
77806   3GKALVEV2LL205179   GM           TERRAIN             ATLANTA                   GA
77807   3GKALVEV2LL206655   GM           TERRAIN             ATLANTA                   GA
77808   3GKALVEV2LL206994   GM           TERRAIN             PHILADELPHIA              PA
77809   3GKALVEV2LL207367   GM           TERRAIN             CHARLOTTE                 NC
77810   3GKALVEV2LL207918   GM           TERRAIN             ALBANY                    NY
77811   3GKALVEV2LL233645   GM           TERRAIN             SAN JOSE                  CA
77812   3GKALVEV2LL233872   GM           TERRAIN             SANTA BARBARA             CA
77813   3GKALVEV2LL234388   GM           TERRAIN             PALM SPRINGS              CA
77814   3GKALVEV2LL236366   GM           TERRAIN             SACRAMENTO                CA
77815   3GKALVEV2LL236688   GM           TERRAIN             PHILADELPHIA              PA
77816   3GKALVEV2LL237064   GM           TERRAIN             PHILADELPHIA              PA
77817   3GKALVEV2LL239655   GM           TERRAIN             MILWAUKEE                 WI
77818   3GKALVEV2LL239879   GM           TERRAIN             INDIANAPOLIS              IN
77819   3GKALVEV2LL239915   GM           TERRAIN             AUGUSTA                   GA
77820   3GKALVEV2LL240207   GM           TERRAIN             DETROIT                   MI
77821   3GKALVEV2LL240837   GM           TERRAIN             NEW BERN                  NC
77822   3GKALVEV2LL243480   GM           TERRAIN             UNION CITY                GA
77823   3GKALVEV3KL173583   GM           TERRAIN             TAMPA                     FL
77824   3GKALVEV3KL173650   GM           TERRAIN             ORLANDO                   FL
77825   3GKALVEV3KL173762   GM           TERRAIN             Hartford                  CT
77826   3GKALVEV3KL174975   GM           TERRAIN             ORLANDO                   FL
77827   3GKALVEV3KL175379   GM           TERRAIN             FORT MYERS                FL
77828   3GKALVEV3KL175401   GM           TERRAIN             ORLANDO                   FL
77829   3GKALVEV3KL175480   GM           TERRAIN             FORT MYERS                FL
77830   3GKALVEV3KL175608   GM           TERRAIN             MT EPHRAIM                NJ
77831   3GKALVEV3KL177505   GM           TERRAIN             ORLANDO                   FL
77832   3GKALVEV3KL178184   GM           TERRAIN             NEWARK                    NJ
77833   3GKALVEV3KL178203   GM           TERRAIN             FORT LAUDERDALE           FL
77834   3GKALVEV3KL178766   GM           TERRAIN             STERLING                  VA
77835   3GKALVEV3KL178962   GM           TERRAIN             HOUSTON                   TX
77836   3GKALVEV3KL179609   GM           TERRAIN             DES PLAINES               US
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77837   3GKALVEV3KL180064   GM           TERRAIN             Anaheim                   CA
77838   3GKALVEV3KL180601   GM           TERRAIN             FORT LAUDERDALE           FL
77839   3GKALVEV3KL180789   GM           TERRAIN             Fontana                   CA
77840   3GKALVEV3KL185393   GM           TERRAIN             FOLSOM                    CA
77841   3GKALVEV3KL187340   GM           TERRAIN             LOS ANGELES               CA
77842   3GKALVEV3KL187984   GM           TERRAIN             LOS ANGELES               CA
77843   3GKALVEV3KL188116   GM           TERRAIN             SAN DIEGO                 CA
77844   3GKALVEV3KL188343   GM           TERRAIN             GARDENA                   CA
77845   3GKALVEV3KL189167   GM           TERRAIN             CHARLOTTE                 NC
77846   3GKALVEV3KL189315   GM           TERRAIN             NEW YORK CITY             NY
77847   3GKALVEV3KL190707   GM           TERRAIN             TAMPA                     FL
77848   3GKALVEV3KL193087   GM           TERRAIN             WARWICK                   RI
77849   3GKALVEV3KL195826   GM           TERRAIN             MIAMI                     FL
77850   3GKALVEV3KL196460   GM           TERRAIN             LOS ANGELES               CA
77851   3GKALVEV3KL198175   GM           TERRAIN             Hamilton                  OH
77852   3GKALVEV3KL200491   GM           TERRAIN             INDIANAPOLIS              IN
77853   3GKALVEV3KL200717   GM           TERRAIN             CHICAGO                   IL
77854   3GKALVEV3KL201995   GM           TERRAIN             TAMPA                     FL
77855   3GKALVEV3KL202581   GM           TERRAIN             DENVER                    CO
77856   3GKALVEV3KL205139   GM           TERRAIN             PITTSBURGH                PA
77857   3GKALVEV3KL205853   GM           TERRAIN             GRAND RAPIDS              MI
77858   3GKALVEV3KL209174   GM           TERRAIN             MILWAUKEE                 WI
77859   3GKALVEV3KL210700   GM           TERRAIN             KENNER                    LA
77860   3GKALVEV3KL211331   GM           TERRAIN             KENNER                    LA
77861   3GKALVEV3KL211345   GM           TERRAIN             Carleton                  MI
77862   3GKALVEV3KL211829   GM           TERRAIN             AUSTIN                    TX
77863   3GKALVEV3KL212821   GM           TERRAIN             CLARKSVILLE               IN
77864   3GKALVEV3KL215301   GM           TERRAIN             AUSTIN                    TX
77865   3GKALVEV3KL215671   GM           TERRAIN             NEW YORK CITY             NY
77866   3GKALVEV3KL216545   GM           TERRAIN             Winston‐Salem             NC
77867   3GKALVEV3KL216660   GM           TERRAIN             Memphis                   TN
77868   3GKALVEV3KL217789   GM           TERRAIN             LAS VEGAS                 NV
77869   3GKALVEV3KL224922   GM           TERRAIN             LAS VEGAS                 NV
77870   3GKALVEV3KL225150   GM           TERRAIN             MIDLAND                   TX
77871   3GKALVEV3KL225293   GM           TERRAIN             Brighton                  CO
77872   3GKALVEV3KL225763   GM           TERRAIN             SAN JOSE                  CA
77873   3GKALVEV3KL226749   GM           TERRAIN             LAS VEGAS                 NV
77874   3GKALVEV3KL226816   GM           TERRAIN             BURBANK                   CA
77875   3GKALVEV3KL226881   GM           TERRAIN             LUBBOCK                   TX
77876   3GKALVEV3KL226945   GM           TERRAIN             PALM SPRINGS              CA
77877   3GKALVEV3KL227951   GM           TERRAIN             BURBANK                   CA
77878   3GKALVEV3KL229487   GM           TERRAIN             SEATAC                    WA
77879   3GKALVEV3KL229991   GM           TERRAIN             LOS ANGELES AP            CA
77880   3GKALVEV3KL230025   GM           TERRAIN             CHICAGO                   IL
77881   3GKALVEV3KL230607   GM           TERRAIN             LAS VEGAS                 NV
77882   3GKALVEV3KL232423   GM           TERRAIN             Kenner                    LA
77883   3GKALVEV3KL232485   GM           TERRAIN             LOS ANGELES               CA
77884   3GKALVEV3KL232552   GM           TERRAIN             AUSTIN                    TX
77885   3GKALVEV3KL232616   GM           TERRAIN             SAN JOSE                  CA
77886   3GKALVEV3KL232681   GM           TERRAIN             LAS VEGAS                 NV
77887   3GKALVEV3KL233071   GM           TERRAIN             PALM SPRINGS              CA
77888   3GKALVEV3KL235788   GM           TERRAIN             Smithtown                 NY
77889   3GKALVEV3KL238285   GM           TERRAIN             SAN FRANCISCO             CA
77890   3GKALVEV3KL238724   GM           TERRAIN             MIAMI                     FL
77891   3GKALVEV3KL239016   GM           TERRAIN             NEW BERN                  NC
77892   3GKALVEV3KL239212   GM           TERRAIN             WEST COLUMBIA             SC
77893   3GKALVEV3KL239761   GM           TERRAIN             ROCHESTER                 NY
77894   3GKALVEV3KL240134   GM           TERRAIN             FORT MYERS                FL
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77895   3GKALVEV3KL240571   GM           TERRAIN             LAS VEGAS                 NV
77896   3GKALVEV3KL240795   GM           TERRAIN             SAN DIEGO                 CA
77897   3GKALVEV3KL240960   GM           TERRAIN             HOUSTON                   TX
77898   3GKALVEV3KL241199   GM           TERRAIN             OMAHA                     NE
77899   3GKALVEV3KL241381   GM           TERRAIN             FT. LAUDERDALE            FL
77900   3GKALVEV3KL241641   GM           TERRAIN             MIAMI                     FL
77901   3GKALVEV3KL242014   GM           TERRAIN             FORT MYERS                FL
77902   3GKALVEV3KL242028   GM           TERRAIN             COLLEGE PARK              GA
77903   3GKALVEV3KL242143   GM           TERRAIN             Atlanta                   GA
77904   3GKALVEV3KL242174   GM           TERRAIN             AUSTIN                    TX
77905   3GKALVEV3KL242269   GM           TERRAIN             ATLANTA                   GA
77906   3GKALVEV3KL242305   GM           TERRAIN             ATLANTA                   GA
77907   3GKALVEV3KL242546   GM           TERRAIN             MILWAUKEE                 WI
77908   3GKALVEV3KL242790   GM           TERRAIN             FORT LAUDERDALE           FL
77909   3GKALVEV3KL242904   GM           TERRAIN             ORLANDO                   FL
77910   3GKALVEV3KL242997   GM           TERRAIN             ONTARIO                   CA
77911   3GKALVEV3KL243101   GM           TERRAIN             JACKSON                   MS
77912   3GKALVEV3KL243390   GM           TERRAIN             FORT MYERS                FL
77913   3GKALVEV3KL244040   GM           TERRAIN             SHREVEPORT                LA
77914   3GKALVEV3KL244085   GM           TERRAIN             ORLANDO                   FL
77915   3GKALVEV3KL244359   GM           TERRAIN             MIAMI                     FL
77916   3GKALVEV3KL244412   GM           TERRAIN             North Dighton             MA
77917   3GKALVEV3KL244569   GM           TERRAIN             ORLANDO                   FL
77918   3GKALVEV3KL245317   GM           TERRAIN             SANTA ANA                 CA
77919   3GKALVEV3KL245804   GM           TERRAIN             JACKSON                   MS
77920   3GKALVEV3KL246001   GM           TERRAIN             MIAMI                     FL
77921   3GKALVEV3KL246497   GM           TERRAIN             TAMPA                     FL
77922   3GKALVEV3KL248864   GM           TERRAIN             MIAMI                     FL
77923   3GKALVEV3KL249836   GM           TERRAIN             MILWAUKEE                 WI
77924   3GKALVEV3KL252655   GM           TERRAIN             INDIANAPOLIS              IN
77925   3GKALVEV3KL271173   GM           TERRAIN             Denver                    CO
77926   3GKALVEV3KL284635   GM           TERRAIN             ST Paul                   MN
77927   3GKALVEV3KL362413   GM           TERRAIN             BURBANK                   CA
77928   3GKALVEV3KL365876   GM           TERRAIN             Pheonix                   AZ
77929   3GKALVEV3LL139466   GM           TERRAIN             PHOENIX                   AZ
77930   3GKALVEV3LL143419   GM           TERRAIN             PHOENIX                   AZ
77931   3GKALVEV3LL144991   GM           TERRAIN             HOUSTON                   TX
77932   3GKALVEV3LL145039   GM           TERRAIN             DALLAS                    TX
77933   3GKALVEV3LL145297   GM           TERRAIN             SAN ANTONIO               TX
77934   3GKALVEV3LL146210   GM           TERRAIN             SAN ANTONIO               TX
77935   3GKALVEV3LL146370   GM           TERRAIN             MIAMI                     FL
77936   3GKALVEV3LL146420   GM           TERRAIN             EL PASO                   US
77937   3GKALVEV3LL146448   GM           TERRAIN             TAMPA                     FL
77938   3GKALVEV3LL149513   GM           TERRAIN             KNOXVILLE                 TN
77939   3GKALVEV3LL149611   GM           TERRAIN             OMAHA                     NE
77940   3GKALVEV3LL149656   GM           TERRAIN             KANSAS CITY               MO
77941   3GKALVEV3LL149706   GM           TERRAIN             KENNER                    LA
77942   3GKALVEV3LL158454   GM           TERRAIN             BALTIMORE                 MD
77943   3GKALVEV3LL161533   GM           TERRAIN             Atlanta                   GA
77944   3GKALVEV3LL162617   GM           TERRAIN             PENSACOLA                 FL
77945   3GKALVEV3LL163850   GM           TERRAIN             RONKONKOMA                NY
77946   3GKALVEV3LL190286   GM           TERRAIN             LAS VEGAS                 NV
77947   3GKALVEV3LL191017   GM           TERRAIN             EL PASO                   TX
77948   3GKALVEV3LL191731   GM           TERRAIN             SAN FRANCISCO             CA
77949   3GKALVEV3LL193186   GM           TERRAIN             LAS VEGAS                 NV
77950   3GKALVEV3LL195505   GM           TERRAIN             RALEIGH                   NC
77951   3GKALVEV3LL195732   GM           TERRAIN             EGG HARBOR TOWN           NJ
77952   3GKALVEV3LL203263   GM           TERRAIN             Stone Mountain            GA
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77953   3GKALVEV3LL206034   GM           TERRAIN             SAVANNAH                  GA
77954   3GKALVEV3LL206888   GM           TERRAIN             PHILADELPHIA              PA
77955   3GKALVEV3LL208298   GM           TERRAIN             PHILADELPHIA              US
77956   3GKALVEV3LL233699   GM           TERRAIN             LOS ANGELES               CA
77957   3GKALVEV3LL234142   GM           TERRAIN             RENO                      NV
77958   3GKALVEV3LL234352   GM           TERRAIN             DES MOINES                IA
77959   3GKALVEV3LL234433   GM           TERRAIN             JAMAICA                   NY
77960   3GKALVEV3LL234786   GM           TERRAIN             SACRAMENTO                CA
77961   3GKALVEV3LL235128   GM           TERRAIN             SAN FRANCISCO             CA
77962   3GKALVEV3LL235145   GM           TERRAIN             SACRAMENTO                CA
77963   3GKALVEV3LL235503   GM           TERRAIN             SEATAC                    WA
77964   3GKALVEV3LL235937   GM           TERRAIN             FRESNO                    CA
77965   3GKALVEV3LL236621   GM           TERRAIN             DETROIT                   MI
77966   3GKALVEV3LL236814   GM           TERRAIN             LOS ANGELES               CA
77967   3GKALVEV3LL236862   GM           TERRAIN             SEATAC                    WA
77968   3GKALVEV3LL237459   GM           TERRAIN             PORTLAND                  OR
77969   3GKALVEV3LL237476   GM           TERRAIN             CHICAGO                   IL
77970   3GKALVEV3LL237722   GM           TERRAIN             DES MOINES                IA
77971   3GKALVEV3LL237848   GM           TERRAIN             PORTLAND                  OR
77972   3GKALVEV3LL238322   GM           TERRAIN             CHICAGO                   IL
77973   3GKALVEV3LL238398   GM           TERRAIN             NEW BERN                  NC
77974   3GKALVEV3LL238904   GM           TERRAIN             CHARLOTTE                 NC
77975   3GKALVEV3LL239051   GM           TERRAIN             GRAND RAPIDS              MI
77976   3GKALVEV3LL239728   GM           TERRAIN             BENSON                    NC
77977   3GKALVEV3LL240345   GM           TERRAIN             GRAND RAPIDS              MI
77978   3GKALVEV3LL240541   GM           TERRAIN             NEWARK                    NJ
77979   3GKALVEV3LL240927   GM           TERRAIN             KINSTON                   NC
77980   3GKALVEV4KL173205   GM           TERRAIN             WEST PALM BEACH           FL
77981   3GKALVEV4KL173527   GM           TERRAIN             Harvey                    LA
77982   3GKALVEV4KL174452   GM           TERRAIN             NEW YORK CITY             NY
77983   3GKALVEV4KL175133   GM           TERRAIN             Cranberry Towns           PA
77984   3GKALVEV4KL176508   GM           TERRAIN             Leesburg                  VA
77985   3GKALVEV4KL176511   GM           TERRAIN             WEST PALM BEACH           FL
77986   3GKALVEV4KL177268   GM           TERRAIN             PITTSBURGH                PA
77987   3GKALVEV4KL177335   GM           TERRAIN             MIAMI                     FL
77988   3GKALVEV4KL178050   GM           TERRAIN             FORT LAUDERDALE           FL
77989   3GKALVEV4KL178128   GM           TERRAIN             ORLANDO                   FL
77990   3GKALVEV4KL178954   GM           TERRAIN             MOBILE                    AL
77991   3GKALVEV4KL180543   GM           TERRAIN             Elkridge                  MD
77992   3GKALVEV4KL181630   GM           TERRAIN             SAINT PAUL                MN
77993   3GKALVEV4KL182566   GM           TERRAIN             Atlanta                   GA
77994   3GKALVEV4KL183944   GM           TERRAIN             DETROIT                   MI
77995   3GKALVEV4KL184379   GM           TERRAIN             WEST COLUMBIA             SC
77996   3GKALVEV4KL184639   GM           TERRAIN             PITTSBURGH                PA
77997   3GKALVEV4KL185483   GM           TERRAIN             KENNER                    LA
77998   3GKALVEV4KL185564   GM           TERRAIN             LOS ANGELES               CA
77999   3GKALVEV4KL185967   GM           TERRAIN             Atlanta                   GA
78000   3GKALVEV4KL187914   GM           TERRAIN             PHOENIX                   AZ
78001   3GKALVEV4KL187976   GM           TERRAIN             SALT LAKE CITY            UT
78002   3GKALVEV4KL188125   GM           TERRAIN             Irving                    TX
78003   3GKALVEV4KL188299   GM           TERRAIN             Tampa                     FL
78004   3GKALVEV4KL188481   GM           TERRAIN             SAN ANTONIO               TX
78005   3GKALVEV4KL188805   GM           TERRAIN             ATLANTA                   GA
78006   3GKALVEV4KL189405   GM           TERRAIN             Buena Park                CA
78007   3GKALVEV4KL189663   GM           TERRAIN             INGLEWOOD                 CA
78008   3GKALVEV4KL190408   GM           TERRAIN             HOUSTON                   TX
78009   3GKALVEV4KL190845   GM           TERRAIN             Las Vegas                 NV
78010   3GKALVEV4KL191042   GM           TERRAIN             LOS ANGELES               CA
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78011   3GKALVEV4KL191221   GM           TERRAIN             Houston                   TX
78012   3GKALVEV4KL191574   GM           TERRAIN             PORTLAND                  OR
78013   3GKALVEV4KL191820   GM           TERRAIN             SAN DIEGO                 CA
78014   3GKALVEV4KL195060   GM           TERRAIN             AUSTIN                    TX
78015   3GKALVEV4KL196015   GM           TERRAIN             Manheim                   PA
78016   3GKALVEV4KL198444   GM           TERRAIN             MANCHESTER                US
78017   3GKALVEV4KL200368   GM           TERRAIN             BOSTON                    MA
78018   3GKALVEV4KL200404   GM           TERRAIN             Maple Grove               MN
78019   3GKALVEV4KL200421   GM           TERRAIN             GYPSUM                    CO
78020   3GKALVEV4KL200838   GM           TERRAIN             ORLANDO                   FL
78021   3GKALVEV4KL200872   GM           TERRAIN             North Dighton             MA
78022   3GKALVEV4KL200922   GM           TERRAIN             CHICAGO                   IL
78023   3GKALVEV4KL201603   GM           TERRAIN             CHICAGO                   IL
78024   3GKALVEV4KL201665   GM           TERRAIN             CHICAGO                   IL
78025   3GKALVEV4KL201973   GM           TERRAIN             CHICAGO                   IL
78026   3GKALVEV4KL203058   GM           TERRAIN             PALM SPRINGS              CA
78027   3GKALVEV4KL203335   GM           TERRAIN             LOS ANGELES               CA
78028   3GKALVEV4KL203562   GM           TERRAIN             Davie                     FL
78029   3GKALVEV4KL205022   GM           TERRAIN             HOUSTON                   TX
78030   3GKALVEV4KL205361   GM           TERRAIN             STERLING                  VA
78031   3GKALVEV4KL205487   GM           TERRAIN             CHICAGO                   IL
78032   3GKALVEV4KL208339   GM           TERRAIN             Bensalem                  PA
78033   3GKALVEV4KL208924   GM           TERRAIN             DALLAS                    TX
78034   3GKALVEV4KL209099   GM           TERRAIN             NEW YORK CITY             NY
78035   3GKALVEV4KL209104   GM           TERRAIN             Dallas                    TX
78036   3GKALVEV4KL211337   GM           TERRAIN             PHILADELPHIA              PA
78037   3GKALVEV4KL212519   GM           TERRAIN             Manheim                   PA
78038   3GKALVEV4KL213458   GM           TERRAIN             SARASOTA                  FL
78039   3GKALVEV4KL214397   GM           TERRAIN             Hendersonville            TN
78040   3GKALVEV4KL214478   GM           TERRAIN             DETROIT                   MI
78041   3GKALVEV4KL214741   GM           TERRAIN             KENNER                    LA
78042   3GKALVEV4KL214786   GM           TERRAIN             INDIANAPOLIS              IN
78043   3GKALVEV4KL216327   GM           TERRAIN             Miami                     FL
78044   3GKALVEV4KL216442   GM           TERRAIN             DES MOINES                IA
78045   3GKALVEV4KL217252   GM           TERRAIN             HOUSTON                   TX
78046   3GKALVEV4KL224606   GM           TERRAIN             RENO                      NV
78047   3GKALVEV4KL224752   GM           TERRAIN             PALM SPRINGS              CA
78048   3GKALVEV4KL224847   GM           TERRAIN             KANSAS CITY               MO
78049   3GKALVEV4KL224959   GM           TERRAIN             LOS ANGELES AP            CA
78050   3GKALVEV4KL225254   GM           TERRAIN             PHOENIX                   AZ
78051   3GKALVEV4KL225478   GM           TERRAIN             DALLAS                    TX
78052   3GKALVEV4KL225562   GM           TERRAIN             SAN JOSE                  CA
78053   3GKALVEV4KL225772   GM           TERRAIN             LOS ANGELES               CA
78054   3GKALVEV4KL226159   GM           TERRAIN             PHOENIX                   AZ
78055   3GKALVEV4KL226324   GM           TERRAIN             Roseville                 CA
78056   3GKALVEV4KL226551   GM           TERRAIN             PHOENIX                   AZ
78057   3GKALVEV4KL227392   GM           TERRAIN             SACRAMENTO                CA
78058   3GKALVEV4KL228185   GM           TERRAIN             ORANGE COUNTY             CA
78059   3GKALVEV4KL228333   GM           TERRAIN             RENO                      NV
78060   3GKALVEV4KL228445   GM           TERRAIN             LOS ANGELES               CA
78061   3GKALVEV4KL229160   GM           TERRAIN             Reno                      NV
78062   3GKALVEV4KL230065   GM           TERRAIN             SAN ANTONIO               TX
78063   3GKALVEV4KL230096   GM           TERRAIN             MIAMI                     FL
78064   3GKALVEV4KL230468   GM           TERRAIN             PALM SPRINGS              CA
78065   3GKALVEV4KL230602   GM           TERRAIN             SAINT PAUL                MN
78066   3GKALVEV4KL231409   GM           TERRAIN             FRESNO                    CA
78067   3GKALVEV4KL231751   GM           TERRAIN             SACRAMENTO                CA
78068   3GKALVEV4KL231930   GM           TERRAIN             SAN JOSE                  CA
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78069   3GKALVEV4KL232625   GM           TERRAIN             Cedar Rapids              IA
78070   3GKALVEV4KL232849   GM           TERRAIN             LOS ANGELES               CA
78071   3GKALVEV4KL232933   GM           TERRAIN             LOS ANGELES               CA
78072   3GKALVEV4KL233452   GM           TERRAIN             LAS VEGAS                 NV
78073   3GKALVEV4KL233788   GM           TERRAIN             OAKLAND                   CA
78074   3GKALVEV4KL235220   GM           TERRAIN             ONTARIO                   CA
78075   3GKALVEV4KL235282   GM           TERRAIN             PALM SPRINGS              CA
78076   3GKALVEV4KL235315   GM           TERRAIN             KNOXVILLE                 TN
78077   3GKALVEV4KL235458   GM           TERRAIN             PALM SPRINGS              CA
78078   3GKALVEV4KL236576   GM           TERRAIN             KNOXVILLE                 TN
78079   3GKALVEV4KL237372   GM           TERRAIN             BOSTON                    MA
78080   3GKALVEV4KL237842   GM           TERRAIN             PHOENIX                   AZ
78081   3GKALVEV4KL238411   GM           TERRAIN             LOS ANGELES               CA
78082   3GKALVEV4KL238764   GM           TERRAIN             FORT LAUDERDALE           FL
78083   3GKALVEV4KL238859   GM           TERRAIN             LOS ANGELES               CA
78084   3GKALVEV4KL238876   GM           TERRAIN             SAN DIEGO                 US
78085   3GKALVEV4KL238909   GM           TERRAIN             SAN FRANCISCO             CA
78086   3GKALVEV4KL239011   GM           TERRAIN             FORT LAUDERDALE           FL
78087   3GKALVEV4KL239316   GM           TERRAIN             LOS ANGELES               CA
78088   3GKALVEV4KL239557   GM           TERRAIN             DALLAS                    TX
78089   3GKALVEV4KL239607   GM           TERRAIN             SAINT LOUIS               MO
78090   3GKALVEV4KL239882   GM           TERRAIN             CHICAGO                   IL
78091   3GKALVEV4KL240238   GM           TERRAIN             TUCSON                    AZ
78092   3GKALVEV4KL240384   GM           TERRAIN             WEST PALM BEACH           FL
78093   3GKALVEV4KL240403   GM           TERRAIN             RENO                      NV
78094   3GKALVEV4KL240515   GM           TERRAIN             DARLINGTON                SC
78095   3GKALVEV4KL240692   GM           TERRAIN             FORT MYERS                FL
78096   3GKALVEV4KL241275   GM           TERRAIN             FORT MYERS                FL
78097   3GKALVEV4KL241566   GM           TERRAIN             ORLANDO                   FL
78098   3GKALVEV4KL241700   GM           TERRAIN             HOUSTON                   TX
78099   3GKALVEV4KL242040   GM           TERRAIN             MIAMI                     FL
78100   3GKALVEV4KL242071   GM           TERRAIN             Teterboro                 NJ
78101   3GKALVEV4KL242376   GM           TERRAIN             Stockton                  CA
78102   3GKALVEV4KL242426   GM           TERRAIN             PHOENIX                   AZ
78103   3GKALVEV4KL242474   GM           TERRAIN             CHARLOTTE                 NC
78104   3GKALVEV4KL242684   GM           TERRAIN             Detroit                   MI
78105   3GKALVEV4KL242751   GM           TERRAIN             Austin                    TX
78106   3GKALVEV4KL243365   GM           TERRAIN             ORLANDO                   FL
78107   3GKALVEV4KL243379   GM           TERRAIN             DALLAS                    TX
78108   3GKALVEV4KL244208   GM           TERRAIN             DETROIT                   MI
78109   3GKALVEV4KL244516   GM           TERRAIN             Ft. Myers                 FL
78110   3GKALVEV4KL244600   GM           TERRAIN             TAMPA                     FL
78111   3GKALVEV4KL244712   GM           TERRAIN             Greensboro                NC
78112   3GKALVEV4KL245102   GM           TERRAIN             CHICAGO                   IL
78113   3GKALVEV4KL245438   GM           TERRAIN             OAKLAND                   CA
78114   3GKALVEV4KL245441   GM           TERRAIN             LOS ANGELES AP            CA
78115   3GKALVEV4KL245519   GM           TERRAIN             MIAMI                     FL
78116   3GKALVEV4KL245617   GM           TERRAIN             HOUSTON                   TX
78117   3GKALVEV4KL245889   GM           TERRAIN             SAN ANTONIO               TX
78118   3GKALVEV4KL246086   GM           TERRAIN             MILWAUKEE                 WI
78119   3GKALVEV4KL246430   GM           TERRAIN             FORT MYERS                FL
78120   3GKALVEV4KL246590   GM           TERRAIN             Miami                     FL
78121   3GKALVEV4LL144644   GM           TERRAIN             DALLAS                    TX
78122   3GKALVEV4LL144837   GM           TERRAIN             Tulsa                     OK
78123   3GKALVEV4LL145485   GM           TERRAIN             SAN ANTONIO               TX
78124   3GKALVEV4LL146023   GM           TERRAIN             DALLAS                    TX
78125   3GKALVEV4LL146071   GM           TERRAIN             NORFOLK                   VA
78126   3GKALVEV4LL146572   GM           TERRAIN             DALLAS                    TX
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78127   3GKALVEV4LL146748   GM           TERRAIN             WEST PALM BEACH           FL
78128   3GKALVEV4LL146815   GM           TERRAIN             JACKSONVILLE              FL
78129   3GKALVEV4LL147107   GM           TERRAIN             HOUSTON                   TX
78130   3GKALVEV4LL147298   GM           TERRAIN             SHREVEPORT                LA
78131   3GKALVEV4LL147382   GM           TERRAIN             SYRACUSE                  NY
78132   3GKALVEV4LL147415   GM           TERRAIN             TAMPA                     FL
78133   3GKALVEV4LL148161   GM           TERRAIN             HOUSTON                   TX
78134   3GKALVEV4LL148287   GM           TERRAIN             ORLANDO                   FL
78135   3GKALVEV4LL148869   GM           TERRAIN             WICHITA FALLS             TX
78136   3GKALVEV4LL149441   GM           TERRAIN             ORLANDO                   FL
78137   3GKALVEV4LL149570   GM           TERRAIN             FORT LAUDERDALE           FL
78138   3GKALVEV4LL149732   GM           TERRAIN             MIAMI                     FL
78139   3GKALVEV4LL162092   GM           TERRAIN             NEW YORK CITY             NY
78140   3GKALVEV4LL162299   GM           TERRAIN             BOSTON                    MA
78141   3GKALVEV4LL163422   GM           TERRAIN             TAMPA                     FL
78142   3GKALVEV4LL163615   GM           TERRAIN             PHILADELPHIA              PA
78143   3GKALVEV4LL164117   GM           TERRAIN             NORFOLK                   VA
78144   3GKALVEV4LL190376   GM           TERRAIN             PHOENIX                   AZ
78145   3GKALVEV4LL190393   GM           TERRAIN             PHOENIX                   AZ
78146   3GKALVEV4LL190488   GM           TERRAIN             SACRAMENTO                CA
78147   3GKALVEV4LL190653   GM           TERRAIN             ORANGE COUNTY             CA
78148   3GKALVEV4LL190975   GM           TERRAIN             SAN FRANCISCO             CA
78149   3GKALVEV4LL191575   GM           TERRAIN             SAN JOSE                  CA
78150   3GKALVEV4LL191883   GM           TERRAIN             SAN DIEGO                 CA
78151   3GKALVEV4LL193486   GM           TERRAIN             LOS ANGELES               CA
78152   3GKALVEV4LL193987   GM           TERRAIN             ONTARIO                   CA
78153   3GKALVEV4LL194606   GM           TERRAIN             ONTARIO                   CA
78154   3GKALVEV4LL195562   GM           TERRAIN             STERLING                  VA
78155   3GKALVEV4LL201912   GM           TERRAIN             BOSTON                    MA
78156   3GKALVEV4LL203319   GM           TERRAIN             RICHMOND                  VA
78157   3GKALVEV4LL207774   GM           TERRAIN             NEW BERN                  NC
78158   3GKALVEV4LL208343   GM           TERRAIN             PHILADELPHIA              PA
78159   3GKALVEV4LL234019   GM           TERRAIN             LOS ANGELES               CA
78160   3GKALVEV4LL234120   GM           TERRAIN             ALBUQUERQUE               NM
78161   3GKALVEV4LL234280   GM           TERRAIN             SAN JOSE                  CA
78162   3GKALVEV4LL234358   GM           TERRAIN             PHOENIX                   AZ
78163   3GKALVEV4LL234781   GM           TERRAIN             SAN FRANCISCO             CA
78164   3GKALVEV4LL235011   GM           TERRAIN             TUCSON                    AZ
78165   3GKALVEV4LL235087   GM           TERRAIN             LOS ANGELES               CA
78166   3GKALVEV4LL235199   GM           TERRAIN             HARRISBURG                PA
78167   3GKALVEV4LL235574   GM           TERRAIN             OAKLAND                   CA
78168   3GKALVEV4LL235722   GM           TERRAIN             OAKLAND                   CA
78169   3GKALVEV4LL235980   GM           TERRAIN             FRESNO                    CA
78170   3GKALVEV4LL236286   GM           TERRAIN             CHICAGO                   IL
78171   3GKALVEV4LL237454   GM           TERRAIN             LOS ANGELES               CA
78172   3GKALVEV4LL238653   GM           TERRAIN             DETROIT                   MI
78173   3GKALVEV4LL240192   GM           TERRAIN             MOBILE                    A
78174   3GKALVEV4LL240824   GM           TERRAIN             DETROIT                   MI
78175   3GKALVEV5KL173309   GM           TERRAIN             DENVER                    CO
78176   3GKALVEV5KL173343   GM           TERRAIN             WEST PALM BEACH           FL
78177   3GKALVEV5KL173505   GM           TERRAIN             TAMPA                     US
78178   3GKALVEV5KL173519   GM           TERRAIN             KENNER                    LA
78179   3GKALVEV5KL175710   GM           TERRAIN             TAMPA                     US
78180   3GKALVEV5KL177473   GM           TERRAIN             SARASOTA                  FL
78181   3GKALVEV5KL177604   GM           TERRAIN             SHREVEPORT                LA
78182   3GKALVEV5KL178929   GM           TERRAIN             EGG HARBOR TOWN           NJ
78183   3GKALVEV5KL179045   GM           TERRAIN             North Dighton             MA
78184   3GKALVEV5KL179949   GM           TERRAIN             CHICAGO                   IL
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78185   3GKALVEV5KL180373   GM           TERRAIN             WEST PALM BEACH           FL
78186   3GKALVEV5KL181300   GM           TERRAIN             DENVER                    CO
78187   3GKALVEV5KL182642   GM           TERRAIN             ORLANDO                   FL
78188   3GKALVEV5KL182656   GM           TERRAIN             Newark                    NJ
78189   3GKALVEV5KL184617   GM           TERRAIN             HOUSTON                   TX
78190   3GKALVEV5KL186108   GM           TERRAIN             Harvey                    LA
78191   3GKALVEV5KL186576   GM           TERRAIN             Detroit                   MI
78192   3GKALVEV5KL186626   GM           TERRAIN             San Diego                 CA
78193   3GKALVEV5KL186805   GM           TERRAIN             LOS ANGELES               CA
78194   3GKALVEV5KL186934   GM           TERRAIN             SEATTLE                   WA
78195   3GKALVEV5KL187257   GM           TERRAIN             PHOENIX                   AZ
78196   3GKALVEV5KL187369   GM           TERRAIN             FORT MYERS                FL
78197   3GKALVEV5KL187470   GM           TERRAIN             Newport Beach             CA
78198   3GKALVEV5KL188053   GM           TERRAIN             PENSACOLA                 FL
78199   3GKALVEV5KL188070   GM           TERRAIN             RENO                      NV
78200   3GKALVEV5KL188733   GM           TERRAIN             San Diego                 CA
78201   3GKALVEV5KL189168   GM           TERRAIN             Las Vegas                 NV
78202   3GKALVEV5KL189185   GM           TERRAIN             LOS ANGELES               CA
78203   3GKALVEV5KL189574   GM           TERRAIN             DES PLAINES               US
78204   3GKALVEV5KL189591   GM           TERRAIN             Detroit                   MI
78205   3GKALVEV5KL190403   GM           TERRAIN             DENVER                    CO
78206   3GKALVEV5KL191079   GM           TERRAIN             Harvey                    LA
78207   3GKALVEV5KL191230   GM           TERRAIN             BURBANK                   CA
78208   3GKALVEV5KL191406   GM           TERRAIN             DETROIT                   MI
78209   3GKALVEV5KL191521   GM           TERRAIN             Smithtown                 NY
78210   3GKALVEV5KL193141   GM           TERRAIN             PHOENIX                   AZ
78211   3GKALVEV5KL196556   GM           TERRAIN             RONKONKOMA                NY
78212   3GKALVEV5KL200766   GM           TERRAIN             FRESNO                    CA
78213   3GKALVEV5KL200993   GM           TERRAIN             DETROIT                   MI
78214   3GKALVEV5KL201528   GM           TERRAIN             STERLING                  VA
78215   3GKALVEV5KL201724   GM           TERRAIN             RONKONKOMA                NY
78216   3GKALVEV5KL203232   GM           TERRAIN             TULSA                     OK
78217   3GKALVEV5KL203313   GM           TERRAIN             DETROIT                   MI
78218   3GKALVEV5KL203375   GM           TERRAIN             Statesville               NC
78219   3GKALVEV5KL203764   GM           TERRAIN             SAINT PAUL                MN
78220   3GKALVEV5KL205367   GM           TERRAIN             Manheim                   PA
78221   3GKALVEV5KL205532   GM           TERRAIN             DALLAS                    TX
78222   3GKALVEV5KL205580   GM           TERRAIN             Houston                   TX
78223   3GKALVEV5KL205675   GM           TERRAIN             MYRTLE BEACH              SC
78224   3GKALVEV5KL206308   GM           TERRAIN             COLUMBIA                  SC
78225   3GKALVEV5KL207250   GM           TERRAIN             MILWAUKEE                 WI
78226   3GKALVEV5KL207426   GM           TERRAIN             CHICAGO                   IL
78227   3GKALVEV5KL208110   GM           TERRAIN             Sacramento                CA
78228   3GKALVEV5KL210035   GM           TERRAIN             WARWICK                   RI
78229   3GKALVEV5KL210164   GM           TERRAIN             COLUMBIA                  SC
78230   3GKALVEV5KL211623   GM           TERRAIN             KANSAS CITY               MO
78231   3GKALVEV5KL212254   GM           TERRAIN             Lake in the Hil           IL
78232   3GKALVEV5KL214148   GM           TERRAIN             RENO                      NV
78233   3GKALVEV5KL217034   GM           TERRAIN             SANTA ANA                 CA
78234   3GKALVEV5KL218457   GM           TERRAIN             Los Angeles               CA
78235   3GKALVEV5KL225196   GM           TERRAIN             North Dighton             MA
78236   3GKALVEV5KL225358   GM           TERRAIN             BURBANK                   CA
78237   3GKALVEV5KL225585   GM           TERRAIN             SACRAMENTO                CA
78238   3GKALVEV5KL225859   GM           TERRAIN             SAN JOSE                  CA
78239   3GKALVEV5KL225991   GM           TERRAIN             FRESNO                    CA
78240   3GKALVEV5KL226493   GM           TERRAIN             BLOOMINGTON               IL
78241   3GKALVEV5KL226672   GM           TERRAIN             KNOXVILLE                 TN
78242   3GKALVEV5KL226719   GM           TERRAIN             SHREVEPORT                LA
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78243   3GKALVEV5KL227059   GM           TERRAIN             PHOENIX                   AZ
78244   3GKALVEV5KL227126   GM           TERRAIN             LAS VEGAS                 NV
78245   3GKALVEV5KL227532   GM           TERRAIN             SAINT LOUIS               MO
78246   3GKALVEV5KL227580   GM           TERRAIN             KILLEEN                   TX
78247   3GKALVEV5KL227594   GM           TERRAIN             LOS ANGELES AP            CA
78248   3GKALVEV5KL228051   GM           TERRAIN             PHOENIX                   AZ
78249   3GKALVEV5KL228227   GM           TERRAIN             Stockton                  CA
78250   3GKALVEV5KL228437   GM           TERRAIN             MIAMI                     FL
78251   3GKALVEV5KL228602   GM           TERRAIN             LAS VEGAS                 NV
78252   3GKALVEV5KL228728   GM           TERRAIN             SANTA ANA                 CA
78253   3GKALVEV5KL229815   GM           TERRAIN             GRAND RAPIDS              MI
78254   3GKALVEV5KL229863   GM           TERRAIN             NEWARK                    NJ
78255   3GKALVEV5KL229944   GM           TERRAIN             LAS VEGAS                 NV
78256   3GKALVEV5KL229961   GM           TERRAIN             LOS ANGELES               CA
78257   3GKALVEV5KL230303   GM           TERRAIN             Bensalem                  PA
78258   3GKALVEV5KL230561   GM           TERRAIN             FORT LAUDERDALE           FL
78259   3GKALVEV5KL230947   GM           TERRAIN             KENNER                    LA
78260   3GKALVEV5KL231399   GM           TERRAIN             Ventura                   CA
78261   3GKALVEV5KL231788   GM           TERRAIN             Slidell                   LA
78262   3GKALVEV5KL231919   GM           TERRAIN             SEA TAC                   WA
78263   3GKALVEV5KL232018   GM           TERRAIN             SALT LAKE CITY            UT
78264   3GKALVEV5KL232343   GM           TERRAIN             HARTFORD                  CT
78265   3GKALVEV5KL232486   GM           TERRAIN             BURBANK                   CA
78266   3GKALVEV5KL232729   GM           TERRAIN             PALM SPRINGS              CA
78267   3GKALVEV5KL232858   GM           TERRAIN             GRAND RAPIDS              MI
78268   3GKALVEV5KL232892   GM           TERRAIN             SAN JOSE                  CA
78269   3GKALVEV5KL233184   GM           TERRAIN             PHOENIX                   AZ
78270   3GKALVEV5KL233671   GM           TERRAIN             NEWARK                    NJ
78271   3GKALVEV5KL235159   GM           TERRAIN             PORTLAND                  OR
78272   3GKALVEV5KL236232   GM           TERRAIN             SHREVEPORT                LA
78273   3GKALVEV5KL236988   GM           TERRAIN             Houston                   TX
78274   3GKALVEV5KL237493   GM           TERRAIN             SACRAMENTO                CA
78275   3GKALVEV5KL237901   GM           TERRAIN             LOS ANGELES               CA
78276   3GKALVEV5KL238644   GM           TERRAIN             BURBANK                   CA
78277   3GKALVEV5KL238899   GM           TERRAIN             WEST PALM BEACH           FL
78278   3GKALVEV5KL238966   GM           TERRAIN             NEW BERN                  NC
78279   3GKALVEV5KL239020   GM           TERRAIN             LAS VEGAS                 NV
78280   3GKALVEV5KL239065   GM           TERRAIN             MILWAUKEE                 WI
78281   3GKALVEV5KL239146   GM           TERRAIN             SAN ANTONIO               TX
78282   3GKALVEV5KL239163   GM           TERRAIN             PALM SPRINGS              CA
78283   3GKALVEV5KL239468   GM           TERRAIN             ORLANDO                   FL
78284   3GKALVEV5KL239504   GM           TERRAIN             LAS VEGAS                 NV
78285   3GKALVEV5KL239633   GM           TERRAIN             TALLAHASSEE               F
78286   3GKALVEV5KL239793   GM           TERRAIN             AIKEN                     SC
78287   3GKALVEV5KL239826   GM           TERRAIN             Tampa                     FL
78288   3GKALVEV5KL240037   GM           TERRAIN             Longmont                  CO
78289   3GKALVEV5KL240068   GM           TERRAIN             BOSTON                    MA
78290   3GKALVEV5KL240166   GM           TERRAIN             SARASOTA                  FL
78291   3GKALVEV5KL240331   GM           TERRAIN             ORLANDO                   FL
78292   3GKALVEV5KL240457   GM           TERRAIN             SAN FRANCISCO             CA
78293   3GKALVEV5KL240538   GM           TERRAIN             RONKONKOMA                NY
78294   3GKALVEV5KL240734   GM           TERRAIN             WEST PALM BEACH           FL
78295   3GKALVEV5KL240832   GM           TERRAIN             OMAHA                     NE
78296   3GKALVEV5KL240846   GM           TERRAIN             MIAMI                     FL
78297   3GKALVEV5KL240880   GM           TERRAIN             ORLANDO                   FL
78298   3GKALVEV5KL240894   GM           TERRAIN             ASTORIA                   NY
78299   3GKALVEV5KL241141   GM           TERRAIN             NEWARK                    NJ
78300   3GKALVEV5KL241155   GM           TERRAIN             TULSA                     OK
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78301   3GKALVEV5KL241625   GM           TERRAIN             HOUSTON                   TX
78302   3GKALVEV5KL241785   GM           TERRAIN             SOUTH BEND                IN
78303   3GKALVEV5KL242113   GM           TERRAIN             WEST PALM BEACH           FL
78304   3GKALVEV5KL242256   GM           TERRAIN             TAMPA                     FL
78305   3GKALVEV5KL242452   GM           TERRAIN             FORT MYERS                FL
78306   3GKALVEV5KL242497   GM           TERRAIN             DES MOINES                IA
78307   3GKALVEV5KL242516   GM           TERRAIN             GRAND RAPIDS              MI
78308   3GKALVEV5KL242807   GM           TERRAIN             ORLANDO                   FL
78309   3GKALVEV5KL243200   GM           TERRAIN             PHOENIX                   AZ
78310   3GKALVEV5KL243522   GM           TERRAIN             ATLANTA                   GA
78311   3GKALVEV5KL243844   GM           TERRAIN             HARTFORD                  CT
78312   3GKALVEV5KL244072   GM           TERRAIN             MIAMI                     FL
78313   3GKALVEV5KL244119   GM           TERRAIN             KANSAS CITY               MO
78314   3GKALVEV5KL244184   GM           TERRAIN             ORLANDO                   FL
78315   3GKALVEV5KL244458   GM           TERRAIN             MIAMI                     FL
78316   3GKALVEV5KL245013   GM           TERRAIN             FORT LAUDERDALE           FL
78317   3GKALVEV5KL245366   GM           TERRAIN             MIAMI                     FL
78318   3GKALVEV5KL245609   GM           TERRAIN             INDIANAPOLIS              IN
78319   3GKALVEV5KL245707   GM           TERRAIN             ORLANDO                   FL
78320   3GKALVEV5KL245948   GM           TERRAIN             Atlanta                   GA
78321   3GKALVEV5KL245982   GM           TERRAIN             RONKONKOMA                NY
78322   3GKALVEV5KL246131   GM           TERRAIN             MIAMI                     FL
78323   3GKALVEV5KL246498   GM           TERRAIN             ORLANDO                   FL
78324   3GKALVEV5KL281347   GM           TERRAIN             SACRAMENTO                CA
78325   3GKALVEV5KL360470   GM           TERRAIN             SACRAMENTO                CA
78326   3GKALVEV5LL140179   GM           TERRAIN             Phoenix                   AZ
78327   3GKALVEV5LL142305   GM           TERRAIN             LAS VEGAS                 NV
78328   3GKALVEV5LL142563   GM           TERRAIN             OAKLAND                   CA
78329   3GKALVEV5LL143339   GM           TERRAIN             PHOENIX                   AZ
78330   3GKALVEV5LL144541   GM           TERRAIN             HOUSTON                   TX
78331   3GKALVEV5LL145382   GM           TERRAIN             HOUSTON                   TX
78332   3GKALVEV5LL146094   GM           TERRAIN             ORLANDO                   FL
78333   3GKALVEV5LL146385   GM           TERRAIN             SARASOTA                  FL
78334   3GKALVEV5LL148265   GM           TERRAIN             Sarasota                  FL
78335   3GKALVEV5LL148847   GM           TERRAIN             SAN ANTONIO               TX
78336   3GKALVEV5LL148850   GM           TERRAIN             DALLAS                    TX
78337   3GKALVEV5LL149285   GM           TERRAIN             OKLAHOMA CITY             OK
78338   3GKALVEV5LL149335   GM           TERRAIN             SAN FRANCISCO             CA
78339   3GKALVEV5LL149674   GM           TERRAIN             Atlanta                   GA
78340   3GKALVEV5LL156477   GM           TERRAIN             MONROE                    NC
78341   3GKALVEV5LL161615   GM           TERRAIN             NORFOLK                   VA
78342   3GKALVEV5LL190631   GM           TERRAIN             NORFOLK                   VA
78343   3GKALVEV5LL191133   GM           TERRAIN             SAN DIEGO                 CA
78344   3GKALVEV5LL191181   GM           TERRAIN             LOS ANGELES               CA
78345   3GKALVEV5LL194145   GM           TERRAIN             SAN DIEGO                 CA
78346   3GKALVEV5LL194906   GM           TERRAIN             LOS ANGELES               CA
78347   3GKALVEV5LL195361   GM           TERRAIN             NEWARK                    NJ
78348   3GKALVEV5LL195845   GM           TERRAIN             WEST COLUMBIA             SC
78349   3GKALVEV5LL196025   GM           TERRAIN             STERLING                  US
78350   3GKALVEV5LL196803   GM           TERRAIN             TAMPA                     FL
78351   3GKALVEV5LL202356   GM           TERRAIN             NEW YORK CITY             NY
78352   3GKALVEV5LL203877   GM           TERRAIN             PORTLAND                  ME
78353   3GKALVEV5LL205659   GM           TERRAIN             CHARLOTTE                 NC
78354   3GKALVEV5LL205855   GM           TERRAIN             BRONX                     NY
78355   3GKALVEV5LL206360   GM           TERRAIN             SARASOTA                  FL
78356   3GKALVEV5LL208125   GM           TERRAIN             STERLING                  VA
78357   3GKALVEV5LL208187   GM           TERRAIN             Miami                     FL
78358   3GKALVEV5LL233641   GM           TERRAIN             PHOENIX                   AZ
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78359   3GKALVEV5LL233736   GM           TERRAIN             SANTA ANA                 CA
78360   3GKALVEV5LL234319   GM           TERRAIN             LAS VEGAS                 NV
78361   3GKALVEV5LL234823   GM           TERRAIN             PHOENIX                   AZ
78362   3GKALVEV5LL235731   GM           TERRAIN             SAN FRANCISCO             CA
78363   3GKALVEV5LL236085   GM           TERRAIN             LOS ANGELES               CA
78364   3GKALVEV5LL236488   GM           TERRAIN             PORTLAND                  OR
78365   3GKALVEV5LL237673   GM           TERRAIN             SEA TAC                   WA
78366   3GKALVEV5LL238029   GM           TERRAIN             PHILADELPHIA              PA
78367   3GKALVEV5LL238306   GM           TERRAIN             GREENVILLE                NC
78368   3GKALVEV5LL238662   GM           TERRAIN             CLEVELAND                 OH
78369   3GKALVEV5LL238869   GM           TERRAIN             ATLANTA                   GA
78370   3GKALVEV5LL239486   GM           TERRAIN             PITTSBURGH                PA
78371   3GKALVEV5LL240444   GM           TERRAIN             GRAND RAPIDS              MI
78372   3GKALVEV5LL240492   GM           TERRAIN             PITTSBURGH                PA
78373   3GKALVEV5LL241030   GM           TERRAIN             Teterboro                 NJ
78374   3GKALVEV5LL241402   GM           TERRAIN             Atlanta                   GA
78375   3GKALVEV5LL241481   GM           TERRAIN             Atlanta                   GA
78376   3GKALVEV5LL241710   GM           TERRAIN             ATLANTA                   GA
78377   3GKALVEV6KL174369   GM           TERRAIN             HOUSTON                   TX
78378   3GKALVEV6KL175036   GM           TERRAIN             FORT MYERS                FL
78379   3GKALVEV6KL175487   GM           TERRAIN             JACKSONVILLE              FL
78380   3GKALVEV6KL175635   GM           TERRAIN             Winston‐Salem             NC
78381   3GKALVEV6KL176672   GM           TERRAIN             DALLAS                    TX
78382   3GKALVEV6KL176879   GM           TERRAIN             Atlanta                   GA
78383   3GKALVEV6KL177580   GM           TERRAIN             MIAMI                     FL
78384   3GKALVEV6KL178020   GM           TERRAIN             WEST PALM BEACH           FL
78385   3GKALVEV6KL178275   GM           TERRAIN             Harvey                    LA
78386   3GKALVEV6KL178891   GM           TERRAIN             METAIRIE                  LA
78387   3GKALVEV6KL179166   GM           TERRAIN             Harvey                    LA
78388   3GKALVEV6KL179636   GM           TERRAIN             BLOOMINGTON               IL
78389   3GKALVEV6KL179801   GM           TERRAIN             Newark                    NJ
78390   3GKALVEV6KL180186   GM           TERRAIN             Atlanta                   GA
78391   3GKALVEV6KL181001   GM           TERRAIN             NORFOLK                   VA
78392   3GKALVEV6KL181080   GM           TERRAIN             Atlanta                   GA
78393   3GKALVEV6KL181483   GM           TERRAIN             WARWICK                   RI
78394   3GKALVEV6KL182276   GM           TERRAIN             Philadelphia              PA
78395   3GKALVEV6KL183699   GM           TERRAIN             PORTLAND                  ME
78396   3GKALVEV6KL183914   GM           TERRAIN             MIAMI                     FL
78397   3GKALVEV6KL184545   GM           TERRAIN             FORT MYERS                FL
78398   3GKALVEV6KL185033   GM           TERRAIN             GRAND RAPIDS              MI
78399   3GKALVEV6KL185310   GM           TERRAIN             OMAHA                     NE
78400   3GKALVEV6KL185680   GM           TERRAIN             LOS ANGELES AP            CA
78401   3GKALVEV6KL186280   GM           TERRAIN             Fontana                   CA
78402   3GKALVEV6KL186294   GM           TERRAIN             HOUSTON                   TX
78403   3GKALVEV6KL186442   GM           TERRAIN             DES MOINES                IA
78404   3GKALVEV6KL188790   GM           TERRAIN             San Antonio               TX
78405   3GKALVEV6KL189115   GM           TERRAIN             DENVER                    CO
78406   3GKALVEV6KL189325   GM           TERRAIN             AUSTIN                    TX
78407   3GKALVEV6KL189499   GM           TERRAIN             CLEVELAND                 OH
78408   3GKALVEV6KL189843   GM           TERRAIN             Tolleson                  AZ
78409   3GKALVEV6KL189857   GM           TERRAIN             PHOENIX                   AZ
78410   3GKALVEV6KL190281   GM           TERRAIN             SAN FRANCISCO             CA
78411   3GKALVEV6KL191155   GM           TERRAIN             HOUSTON                   TX
78412   3GKALVEV6KL191317   GM           TERRAIN             HOUSTON                   TX
78413   3GKALVEV6KL191821   GM           TERRAIN             SALT LAKE CITY            UT
78414   3GKALVEV6KL193942   GM           TERRAIN             NEWARK                    NJ
78415   3GKALVEV6KL194766   GM           TERRAIN             Irving                    TX
78416   3GKALVEV6KL195559   GM           TERRAIN             AUSTIN                    TX
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78417   3GKALVEV6KL196341   GM           TERRAIN             RALEIGH, DURHAM           NC
78418   3GKALVEV6KL197019   GM           TERRAIN             CHICAGO O'HARE AP         IL
78419   3GKALVEV6KL197330   GM           TERRAIN             Hartford                  CT
78420   3GKALVEV6KL198560   GM           TERRAIN             ATLANTA                   GA
78421   3GKALVEV6KL200453   GM           TERRAIN             MIAMI                     FL
78422   3GKALVEV6KL201053   GM           TERRAIN             CHICAGO                   IL
78423   3GKALVEV6KL201795   GM           TERRAIN             KNOXVILLE                 TN
78424   3GKALVEV6KL201845   GM           TERRAIN             EULESS                    TX
78425   3GKALVEV6KL202249   GM           TERRAIN             PHILADELPHIA              PA
78426   3GKALVEV6KL202557   GM           TERRAIN             ORANGE COUNTY             CA
78427   3GKALVEV6KL202798   GM           TERRAIN             MINNEAPOLIS               MN
78428   3GKALVEV6KL203241   GM           TERRAIN             Atlanta                   GA
78429   3GKALVEV6KL203840   GM           TERRAIN             SEATAC                    WA
78430   3GKALVEV6KL204177   GM           TERRAIN             SOUTHEAST DST OFFC        OK
78431   3GKALVEV6KL204275   GM           TERRAIN             CLEVELAND                 OH
78432   3GKALVEV6KL205796   GM           TERRAIN             Teterboro                 NJ
78433   3GKALVEV6KL206110   GM           TERRAIN             LAS VEGAS                 NV
78434   3GKALVEV6KL206723   GM           TERRAIN             AUSTIN                    TX
78435   3GKALVEV6KL208696   GM           TERRAIN             HOUSTON                   TX
78436   3GKALVEV6KL209671   GM           TERRAIN             JAMAICA                   NY
78437   3GKALVEV6KL211422   GM           TERRAIN             Hebron                    KY
78438   3GKALVEV6KL212067   GM           TERRAIN             Matteson                  IL
78439   3GKALVEV6KL213123   GM           TERRAIN             PHOENIX                   AZ
78440   3GKALVEV6KL214451   GM           TERRAIN             DES MOINES                IA
78441   3GKALVEV6KL215082   GM           TERRAIN             KANSAS CITY               MO
78442   3GKALVEV6KL216958   GM           TERRAIN             SAN DIEGO                 CA
78443   3GKALVEV6KL218158   GM           TERRAIN             DETROIT                   MI
78444   3GKALVEV6KL218547   GM           TERRAIN             DAYTONA BEACH             FL
78445   3GKALVEV6KL224610   GM           TERRAIN             SAN ANTONIO               TX
78446   3GKALVEV6KL224820   GM           TERRAIN             Houston                   TX
78447   3GKALVEV6KL225076   GM           TERRAIN             LOS ANGELES               CA
78448   3GKALVEV6KL225109   GM           TERRAIN             PHOENIX                   AZ
78449   3GKALVEV6KL225305   GM           TERRAIN             PORTLAND                  OR
78450   3GKALVEV6KL225840   GM           TERRAIN             Roseville                 CA
78451   3GKALVEV6KL226356   GM           TERRAIN             OAKLAND                   CA
78452   3GKALVEV6KL226678   GM           TERRAIN             LOS ANGELES AP            CA
78453   3GKALVEV6KL226857   GM           TERRAIN             WARWICK                   RI
78454   3GKALVEV6KL227331   GM           TERRAIN             CHICAGO                   IL
78455   3GKALVEV6KL227507   GM           TERRAIN             SAN ANTONIO               TX
78456   3GKALVEV6KL228009   GM           TERRAIN             SEATAC                    WA
78457   3GKALVEV6KL228253   GM           TERRAIN             LOS ANGELES               CA
78458   3GKALVEV6KL228267   GM           TERRAIN             Denver                    CO
78459   3GKALVEV6KL228270   GM           TERRAIN             PHOENIX                   AZ
78460   3GKALVEV6KL228480   GM           TERRAIN             SACRAMENTO                CA
78461   3GKALVEV6KL229368   GM           TERRAIN             LOS ANGELES               CA
78462   3GKALVEV6KL229645   GM           TERRAIN             SAN JOSE                  CA
78463   3GKALVEV6KL229676   GM           TERRAIN             ROANOKE                   VA
78464   3GKALVEV6KL229774   GM           TERRAIN             INDIANAPOLIS              IN
78465   3GKALVEV6KL229841   GM           TERRAIN             DALLAS                    TX
78466   3GKALVEV6KL229855   GM           TERRAIN             SANTA ANA                 CA
78467   3GKALVEV6KL230049   GM           TERRAIN             ROY                       UT
78468   3GKALVEV6KL230200   GM           TERRAIN             SAN JOSE                  CA
78469   3GKALVEV6KL230312   GM           TERRAIN             Des Moines                IA
78470   3GKALVEV6KL230343   GM           TERRAIN             PORTLAND                  ME
78471   3GKALVEV6KL230617   GM           TERRAIN             PORTLAND                  OR
78472   3GKALVEV6KL230701   GM           TERRAIN             FRESNO                    CA
78473   3GKALVEV6KL230746   GM           TERRAIN             NEW BERN                  NC
78474   3GKALVEV6KL231086   GM           TERRAIN             SAN JOSE                  CA
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78475   3GKALVEV6KL231332   GM           TERRAIN             LOS ANGELES               CA
78476   3GKALVEV6KL231623   GM           TERRAIN             DENVER                    CO
78477   3GKALVEV6KL231752   GM           TERRAIN             PHOENIX                   AZ
78478   3GKALVEV6KL231850   GM           TERRAIN             Hebron                    KY
78479   3GKALVEV6KL232030   GM           TERRAIN             PHOENIX                   AZ
78480   3GKALVEV6KL232075   GM           TERRAIN             CHICAGO                   IL
78481   3GKALVEV6KL232237   GM           TERRAIN             SAINT LOUIS               MO
78482   3GKALVEV6KL232285   GM           TERRAIN             SYRACUSE                  NY
78483   3GKALVEV6KL232903   GM           TERRAIN             LAS VEGAS                 NV
78484   3GKALVEV6KL233856   GM           TERRAIN             DALLAS                    TX
78485   3GKALVEV6KL234702   GM           TERRAIN             SACRAMENTO                CA
78486   3GKALVEV6KL234778   GM           TERRAIN             BLOOMINGTON               IL
78487   3GKALVEV6KL236319   GM           TERRAIN             HOUSTON                   TX
78488   3GKALVEV6KL236496   GM           TERRAIN             MIDDLE RIVER              MD
78489   3GKALVEV6KL237003   GM           TERRAIN             ORANGE COUNTY             CA
78490   3GKALVEV6KL237177   GM           TERRAIN             FRESNO                    CA
78491   3GKALVEV6KL238040   GM           TERRAIN             LAS VEGAS                 NV
78492   3GKALVEV6KL238331   GM           TERRAIN             PHOENIX                   AZ
78493   3GKALVEV6KL238989   GM           TERRAIN             BURBANK                   CA
78494   3GKALVEV6KL239110   GM           TERRAIN             MIAMI                     FL
78495   3GKALVEV6KL239849   GM           TERRAIN             ORLANDO                   FL
78496   3GKALVEV6KL240225   GM           TERRAIN             Davie                     FL
78497   3GKALVEV6KL240497   GM           TERRAIN             ONTARIO, RIVERSIDE        CA
78498   3GKALVEV6KL241715   GM           TERRAIN             Live Oak                  TX
78499   3GKALVEV6KL241844   GM           TERRAIN             MOBILE                    A
78500   3GKALVEV6KL242363   GM           TERRAIN             CHICAGO                   IL
78501   3GKALVEV6KL243058   GM           TERRAIN             SALT LAKE CITY            US
78502   3GKALVEV6KL243075   GM           TERRAIN             SACRAMENTO                CA
78503   3GKALVEV6KL243156   GM           TERRAIN             DALLAS                    TX
78504   3GKALVEV6KL244209   GM           TERRAIN             Richmond                  VA
78505   3GKALVEV6KL244453   GM           TERRAIN             San Antonio               TX
78506   3GKALVEV6KL244470   GM           TERRAIN             MIAMI                     FL
78507   3GKALVEV6KL244775   GM           TERRAIN             Atlanta                   GA
78508   3GKALVEV6KL244968   GM           TERRAIN             AUSTIN                    TX
78509   3GKALVEV6KL245960   GM           TERRAIN             FORT MYERS                FL
78510   3GKALVEV6KL246381   GM           TERRAIN             MIAMI                     FL
78511   3GKALVEV6KL246591   GM           TERRAIN             SYRACUSE                  NY
78512   3GKALVEV6KL247692   GM           TERRAIN             Atlanta                   GA
78513   3GKALVEV6KL268378   GM           TERRAIN             FRESNO                    CA
78514   3GKALVEV6KL340566   GM           TERRAIN             DES MOINES                IA
78515   3GKALVEV6LL138859   GM           TERRAIN             PHOENIX                   AZ
78516   3GKALVEV6LL142894   GM           TERRAIN             PHOENIX                   AZ
78517   3GKALVEV6LL143897   GM           TERRAIN             PHOENIX                   AZ
78518   3GKALVEV6LL144788   GM           TERRAIN             Tampa                     FL
78519   3GKALVEV6LL145293   GM           TERRAIN             PHOENIX                   AZ
78520   3GKALVEV6LL145763   GM           TERRAIN             DALLAS                    TX
78521   3GKALVEV6LL146055   GM           TERRAIN             ORLANDO                   FL
78522   3GKALVEV6LL146119   GM           TERRAIN             EL PASO                   TX
78523   3GKALVEV6LL146265   GM           TERRAIN             HOUSTON                   TX
78524   3GKALVEV6LL146279   GM           TERRAIN             FORT MYERS                FL
78525   3GKALVEV6LL147027   GM           TERRAIN             ORLANDO                   FL
78526   3GKALVEV6LL147836   GM           TERRAIN             ATLANTA                   GA
78527   3GKALVEV6LL148209   GM           TERRAIN             TUCSON                    AZ
78528   3GKALVEV6LL148341   GM           TERRAIN             COLLEGE PARK              GA
78529   3GKALVEV6LL148498   GM           TERRAIN             FORT MYERS                FL
78530   3GKALVEV6LL149358   GM           TERRAIN             Tampa                     FL
78531   3GKALVEV6LL149585   GM           TERRAIN             DALLAS                    TX
78532   3GKALVEV6LL162188   GM           TERRAIN             NORFOLK                   VA
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78533   3GKALVEV6LL164068   GM           TERRAIN             STERLING                  VA
78534   3GKALVEV6LL190797   GM           TERRAIN             PALM SPRINGS              CA
78535   3GKALVEV6LL191058   GM           TERRAIN             LAS VEGAS                 NV
78536   3GKALVEV6LL192341   GM           TERRAIN             FRESNO                    CA
78537   3GKALVEV6LL193229   GM           TERRAIN             PHOENIX                   AZ
78538   3GKALVEV6LL193845   GM           TERRAIN             RENO                      NV
78539   3GKALVEV6LL194042   GM           TERRAIN             SAN FRANCISCO             CA
78540   3GKALVEV6LL195093   GM           TERRAIN             STERLING                  VA
78541   3GKALVEV6LL195403   GM           TERRAIN             RALEIGH                   NC
78542   3GKALVEV6LL195465   GM           TERRAIN             NORFOLK                   VA
78543   3GKALVEV6LL195577   GM           TERRAIN             CHARLOTTE                 NC
78544   3GKALVEV6LL196468   GM           TERRAIN             PROVIDENCE                RI
78545   3GKALVEV6LL196860   GM           TERRAIN             HARTFORD                  CT
78546   3GKALVEV6LL198155   GM           TERRAIN             SAN FRANCISCO             CA
78547   3GKALVEV6LL198799   GM           TERRAIN             PHILADELPHIA              PA
78548   3GKALVEV6LL202981   GM           TERRAIN             MIAMI                     FL
78549   3GKALVEV6LL203743   GM           TERRAIN             SARASOTA                  FL
78550   3GKALVEV6LL204097   GM           TERRAIN             DANIA BEACH               FL
78551   3GKALVEV6LL204617   GM           TERRAIN             Tampa                     FL
78552   3GKALVEV6LL205637   GM           TERRAIN             CHICAGO                   IL
78553   3GKALVEV6LL206464   GM           TERRAIN             PHILADELPHIA              PA
78554   3GKALVEV6LL207209   GM           TERRAIN             NEW BERN                  NC
78555   3GKALVEV6LL208103   GM           TERRAIN             NEW BERN                  NC
78556   3GKALVEV6LL233793   GM           TERRAIN             SANTA ANA                 CA
78557   3GKALVEV6LL234393   GM           TERRAIN             SAN FRANCISCO             CA
78558   3GKALVEV6LL234426   GM           TERRAIN             SAN JOSE                  CA
78559   3GKALVEV6LL235124   GM           TERRAIN             PHOENIX                   AZ
78560   3GKALVEV6LL236340   GM           TERRAIN             PHILADELPHIA              PA
78561   3GKALVEV6LL237164   GM           TERRAIN             SEATAC                    WA
78562   3GKALVEV6LL237245   GM           TERRAIN             SACRAMENTO                CA
78563   3GKALVEV6LL238167   GM           TERRAIN             LOUISVILLE                KY
78564   3GKALVEV6LL238279   GM           TERRAIN             HANOVER                   MD
78565   3GKALVEV6LL238525   GM           TERRAIN             Raleigh                   NC
78566   3GKALVEV6LL238573   GM           TERRAIN             WEST COLUMBIA             SC
78567   3GKALVEV6LL238945   GM           TERRAIN             CHARLOTTE                 NC
78568   3GKALVEV6LL238993   GM           TERRAIN             CHICAGO O'HARE AP         IL
78569   3GKALVEV6LL239061   GM           TERRAIN             RONKONKOMA                NY
78570   3GKALVEV6LL239304   GM           TERRAIN             GRAND RAPIDS              MI
78571   3GKALVEV6LL239416   GM           TERRAIN             LOUISVILLE                KY
78572   3GKALVEV6LL239495   GM           TERRAIN             WHITE PLAINS              NY
78573   3GKALVEV6LL239772   GM           TERRAIN             ATLANTA                   GA
78574   3GKALVEV6LL239948   GM           TERRAIN             Atlanta                   GA
78575   3GKALVEV6LL240212   GM           TERRAIN             GRAND RAPIDS              MI
78576   3GKALVEV6LL240582   GM           TERRAIN             JOLIET                    IL
78577   3GKALVEV6LL240744   GM           TERRAIN             NEW BERN                  NC
78578   3GKALVEV6LL240940   GM           TERRAIN             DES MOINES                IA
78579   3GKALVEV6LL241098   GM           TERRAIN             RICHMOND                  VA
78580   3GKALVEV6LL241330   GM           TERRAIN             ATLANTA                   GA
78581   3GKALVEV6LL244387   GM           TERRAIN             KENNER                    LA
78582   3GKALVEV7KL172694   GM           TERRAIN             WEST PALM BEACH           FL
78583   3GKALVEV7KL173439   GM           TERRAIN             NASHVILLE                 TN
78584   3GKALVEV7KL174414   GM           TERRAIN             JACKSONVILLE              FL
78585   3GKALVEV7KL174588   GM           TERRAIN             Orlando                   FL
78586   3GKALVEV7KL175224   GM           TERRAIN             AUSTIN                    TX
78587   3GKALVEV7KL176373   GM           TERRAIN             INGLEWOOD                 CA
78588   3GKALVEV7KL176437   GM           TERRAIN             ORLANDO                   FL
78589   3GKALVEV7KL176583   GM           TERRAIN             Fontana                   CA
78590   3GKALVEV7KL177264   GM           TERRAIN             TAMPA                     FL
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78591   3GKALVEV7KL177409   GM           TERRAIN             BOSTON                    MA
78592   3GKALVEV7KL179841   GM           TERRAIN             Houston                   TX
78593   3GKALVEV7KL179905   GM           TERRAIN             ORLANDO                   FL
78594   3GKALVEV7KL180987   GM           TERRAIN             JACKSON                   MS
78595   3GKALVEV7KL184263   GM           TERRAIN             North Dighton             MA
78596   3GKALVEV7KL184960   GM           TERRAIN             SALT LAKE CITY            US
78597   3GKALVEV7KL185686   GM           TERRAIN             Manheim                   PA
78598   3GKALVEV7KL185803   GM           TERRAIN             LOS ANGELES               CA
78599   3GKALVEV7KL185896   GM           TERRAIN             San Diego                 CA
78600   3GKALVEV7KL186479   GM           TERRAIN             PHILADELPHIA              PA
78601   3GKALVEV7KL187065   GM           TERRAIN             PHOENIX                   AZ
78602   3GKALVEV7KL188166   GM           TERRAIN             CHICAGO                   IL
78603   3GKALVEV7KL188359   GM           TERRAIN             INDIANAPOLIS              IN
78604   3GKALVEV7KL188717   GM           TERRAIN             LAS VEGAS                 NV
78605   3GKALVEV7KL189172   GM           TERRAIN             KANSAS CITY               MO
78606   3GKALVEV7KL189382   GM           TERRAIN             LOS ANGELES               CA
78607   3GKALVEV7KL189446   GM           TERRAIN             WEST PALM BEACH           FL
78608   3GKALVEV7KL190032   GM           TERRAIN             SEATTLE                   WA
78609   3GKALVEV7KL191651   GM           TERRAIN             SAN JOSE                  CA
78610   3GKALVEV7KL195098   GM           TERRAIN             GRAND RAPIDS              MI
78611   3GKALVEV7KL195781   GM           TERRAIN             RONKONKOMA                NY
78612   3GKALVEV7KL195988   GM           TERRAIN             ORLANDO                   FL
78613   3GKALVEV7KL196106   GM           TERRAIN             Hartford                  CT
78614   3GKALVEV7KL200736   GM           TERRAIN             HOUSTON                   TX
78615   3GKALVEV7KL201076   GM           TERRAIN             DALLAS                    TX
78616   3GKALVEV7KL201398   GM           TERRAIN             Woodhaven                 MI
78617   3GKALVEV7KL202177   GM           TERRAIN             Lake in the Hil           IL
78618   3GKALVEV7KL202745   GM           TERRAIN             DALLAS                    TX
78619   3GKALVEV7KL203152   GM           TERRAIN             Hebron                    KY
78620   3GKALVEV7KL204480   GM           TERRAIN             Milwaukee                 WI
78621   3GKALVEV7KL205645   GM           TERRAIN             Atlanta                   GA
78622   3GKALVEV7KL205838   GM           TERRAIN             Ocoee                     FL
78623   3GKALVEV7KL208898   GM           TERRAIN             HOUSTON                   TX
78624   3GKALVEV7KL208920   GM           TERRAIN             Fontana                   CA
78625   3GKALVEV7KL209372   GM           TERRAIN             Warr Acres                OK
78626   3GKALVEV7KL209601   GM           TERRAIN             SAINT PAUL                MN
78627   3GKALVEV7KL209713   GM           TERRAIN             CLEVELAND                 OH
78628   3GKALVEV7KL209937   GM           TERRAIN             KENNER                    LA
78629   3GKALVEV7KL210022   GM           TERRAIN             DALLAS                    TX
78630   3GKALVEV7KL210571   GM           TERRAIN             NORFOLK                   VA
78631   3GKALVEV7KL210604   GM           TERRAIN             DETROIT                   MI
78632   3GKALVEV7KL215706   GM           TERRAIN             INDIANAPOLIS              IN
78633   3GKALVEV7KL216113   GM           TERRAIN             SAINT PAUL                MN
78634   3GKALVEV7KL216581   GM           TERRAIN             PALM SPRINGS              CA
78635   3GKALVEV7KL217049   GM           TERRAIN             PITTSBURGH                PA
78636   3GKALVEV7KL217116   GM           TERRAIN             NASHVILLE                 TN
78637   3GKALVEV7KL217620   GM           TERRAIN             Atlanta                   GA
78638   3GKALVEV7KL217665   GM           TERRAIN             DES MOINES                IA
78639   3GKALVEV7KL218220   GM           TERRAIN             Sacramento                CA
78640   3GKALVEV7KL225362   GM           TERRAIN             ONTARIO                   CA
78641   3GKALVEV7KL225541   GM           TERRAIN             PALM SPRINGS              CA
78642   3GKALVEV7KL225667   GM           TERRAIN             LAS VEGAS                 NV
78643   3GKALVEV7KL226091   GM           TERRAIN             DENVER                    CO
78644   3GKALVEV7KL226267   GM           TERRAIN             Sacramento                CA
78645   3GKALVEV7KL226382   GM           TERRAIN             HOUSTON                   TX
78646   3GKALVEV7KL226768   GM           TERRAIN             SAN DIEGO                 CA
78647   3GKALVEV7KL226916   GM           TERRAIN             SAN JOSE                  CA
78648   3GKALVEV7KL226950   GM           TERRAIN             INDIANAPOLIS              IN
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78649   3GKALVEV7KL227077   GM           TERRAIN             LAS VEGAS                        NV
78650   3GKALVEV7KL227385   GM           TERRAIN             LOS ANGELES AP                   CA
78651   3GKALVEV7KL227984   GM           TERRAIN             LAS VEGAS                        NV
78652   3GKALVEV7KL228844   GM           TERRAIN             LAS VEGAS                        NV
78653   3GKALVEV7KL228925   GM           TERRAIN             LOS ANGELES                      CA
78654   3GKALVEV7KL229251   GM           TERRAIN             SAN DIEGO                        CA
78655   3GKALVEV7KL230108   GM           TERRAIN             Omaha                            NE
78656   3GKALVEV7KL230464   GM           TERRAIN             SAN JOSE                         CA
78657   3GKALVEV7KL231016   GM           TERRAIN             HOUSTON                          TX
78658   3GKALVEV7KL231453   GM           TERRAIN             SAN JOSE                         CA
78659   3GKALVEV7KL231498   GM           TERRAIN             OAKLAND                          CA
78660   3GKALVEV7KL231789   GM           TERRAIN             PROVIDENCE                       RI
78661   3GKALVEV7KL232229   GM           TERRAIN             PALM SPRINGS                     CA
78662   3GKALVEV7KL232263   GM           TERRAIN             ONTARIO                          CA
78663   3GKALVEV7KL232330   GM           TERRAIN             FRESNO                           CA
78664   3GKALVEV7KL232389   GM           TERRAIN             DENVER                           CO
78665   3GKALVEV7KL232523   GM           TERRAIN             SAN DIEGO                        CA
78666   3GKALVEV7KL232554   GM           TERRAIN             GRAND RAPIDS                     MI
78667   3GKALVEV7KL232814   GM           TERRAIN             SAN ANTONIO                      TX
78668   3GKALVEV7KL232828   GM           TERRAIN             FRESNO                           CA
78669   3GKALVEV7KL232862   GM           TERRAIN             KANSAS CITY                      MO
78670   3GKALVEV7KL235549   GM           TERRAIN             PHOENIX                          AZ
78671   3GKALVEV7KL235583   GM           TERRAIN             LOS ANGELES AP                   CA
78672   3GKALVEV7KL237866   GM           TERRAIN             Elgin                            IL
78673   3GKALVEV7KL238788   GM           TERRAIN             Teterboro                        NJ
78674   3GKALVEV7KL239178   GM           TERRAIN             Des Moines                       IA
78675   3GKALVEV7KL239472   GM           TERRAIN             NEW YORK CITY                    NY
78676   3GKALVEV7KL239598   GM           TERRAIN             Maple Grove                      MN
78677   3GKALVEV7KL240010   GM           TERRAIN             ORLANDO                          FL
78678   3GKALVEV7KL240184   GM           TERRAIN             ORLANDO                          FL
78679   3GKALVEV7KL240590   GM           TERRAIN             PALM SPRINGS                     CA
78680   3GKALVEV7KL240881   GM           TERRAIN             PENSACOLA                        FL
78681   3GKALVEV7KL240945   GM           TERRAIN             Atlanta                          GA
78682   3GKALVEV7KL241190   GM           TERRAIN             MEMPHIS                          TN
78683   3GKALVEV7KL241321   GM           TERRAIN             LOS ANGELES AP                   CA
78684   3GKALVEV7KL241691   GM           TERRAIN             BOSTON                           MA
78685   3GKALVEV7KL241786   GM           TERRAIN             LAS VEGAS                        NV
78686   3GKALVEV7KL242792   GM           TERRAIN             Bensalem                         PA
78687   3GKALVEV7KL243831   GM           TERRAIN             Atlanta                          GA
78688   3GKALVEV7KL244901   GM           TERRAIN             SALT LAKE CITY                   UT
78689   3GKALVEV7KL245160   GM           TERRAIN             WEST PALM BEACH                  FL
78690   3GKALVEV7KL245532   GM           TERRAIN             ATLANTA                          GA
78691   3GKALVEV7KL246325   GM           TERRAIN             MIAMI                            FL
78692   3GKALVEV7KL251315   GM           TERRAIN             INDIANAPOLIS                     IN
78693   3GKALVEV7KL266428   GM           TERRAIN             CORPUS CHRISTI                   TX
78694   3GKALVEV7KL266509   GM           TERRAIN             DALLAS                           TX
78695   3GKALVEV7KL313683   GM           TERRAIN             BOSTON                           MA
78696   3GKALVEV7LL139406   GM           TERRAIN             PALM SPRINGS                     CA
78697   3GKALVEV7LL144296   GM           TERRAIN             PHOENIX                          AZ
78698   3GKALVEV7LL144329   GM           TERRAIN             TUCSON                           AZ
78699   3GKALVEV7LL144749   GM           TERRAIN             WASHINGTON DC, DULLES INT'L AP   DC
78700   3GKALVEV7LL144962   GM           TERRAIN             FORT MYERS                       FL
78701   3GKALVEV7LL145125   GM           TERRAIN             Miami                            FL
78702   3GKALVEV7LL145304   GM           TERRAIN             HOUSTON                          TX
78703   3GKALVEV7LL145464   GM           TERRAIN             HEBRON                           KY
78704   3GKALVEV7LL145559   GM           TERRAIN             ATLANTA                          GA
78705   3GKALVEV7LL145576   GM           TERRAIN             AUSTIN                           TX
78706   3GKALVEV7LL145724   GM           TERRAIN             TAMPA                            FL
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78707   3GKALVEV7LL145934   GM           TERRAIN             TULSA                     OK
78708   3GKALVEV7LL146713   GM           TERRAIN             ROANOKE                   VA
78709   3GKALVEV7LL147053   GM           TERRAIN             ALBUQUERQUE               NM
78710   3GKALVEV7LL147411   GM           TERRAIN             DALLAS                    TX
78711   3GKALVEV7LL147652   GM           TERRAIN             AUSTIN                    TX
78712   3GKALVEV7LL147845   GM           TERRAIN             FORT MYERS                FL
78713   3GKALVEV7LL148316   GM           TERRAIN             ORLANDO                   FL
78714   3GKALVEV7LL149322   GM           TERRAIN             RALEIGH                   NC
78715   3GKALVEV7LL149627   GM           TERRAIN             ORLANDO                   FL
78716   3GKALVEV7LL149644   GM           TERRAIN             SAN ANTONIO               TX
78717   3GKALVEV7LL149658   GM           TERRAIN             AUSTIN                    TX
78718   3GKALVEV7LL158277   GM           TERRAIN             ALBANY                    NY
78719   3GKALVEV7LL160613   GM           TERRAIN             PHILADELPHIA              PA
78720   3GKALVEV7LL160935   GM           TERRAIN             HOUSTON                   TX
78721   3GKALVEV7LL162040   GM           TERRAIN             JACKSON                   WY
78722   3GKALVEV7LL162667   GM           TERRAIN             NORFOLK                   VA
78723   3GKALVEV7LL164614   GM           TERRAIN             BOSTON                    MA
78724   3GKALVEV7LL189786   GM           TERRAIN             LAS VEGAS                 NV
78725   3GKALVEV7LL190257   GM           TERRAIN             LOS ANGELES               CA
78726   3GKALVEV7LL193756   GM           TERRAIN             LAS VEGAS                 NV
78727   3GKALVEV7LL194194   GM           TERRAIN             Sacramento                CA
78728   3GKALVEV7LL195264   GM           TERRAIN             STERLING                  VA
78729   3GKALVEV7LL195474   GM           TERRAIN             FORT MYERS                FL
78730   3GKALVEV7LL195846   GM           TERRAIN             RALEIGH                   NC
78731   3GKALVEV7LL195958   GM           TERRAIN             JACKSONVILLE              FL
78732   3GKALVEV7LL197628   GM           TERRAIN             CHICAGO                   IL
78733   3GKALVEV7LL198102   GM           TERRAIN             DALLAS                    TX
78734   3GKALVEV7LL202438   GM           TERRAIN             CHARLESTON                WV
78735   3GKALVEV7LL206148   GM           TERRAIN             KENNER                    LA
78736   3GKALVEV7LL207543   GM           TERRAIN             FOLCROFT                  PA
78737   3GKALVEV7LL208207   GM           TERRAIN             Atlanta                   GA
78738   3GKALVEV7LL233916   GM           TERRAIN             FRESNO                    CA
78739   3GKALVEV7LL233950   GM           TERRAIN             BURBANK                   CA
78740   3GKALVEV7LL234435   GM           TERRAIN             SAN DIEGO                 CA
78741   3GKALVEV7LL234791   GM           TERRAIN             RENO                      NV
78742   3GKALVEV7LL234970   GM           TERRAIN             CHARLESTON                WV
78743   3GKALVEV7LL235083   GM           TERRAIN             SAN FRANCISCO             CA
78744   3GKALVEV7LL235357   GM           TERRAIN             NEW YORK CITY             NY
78745   3GKALVEV7LL235388   GM           TERRAIN             DALLAS                    TX
78746   3GKALVEV7LL235813   GM           TERRAIN             SACRAMENTO                CA
78747   3GKALVEV7LL235942   GM           TERRAIN             SEATAC                    WA
78748   3GKALVEV7LL236119   GM           TERRAIN             SAINT LOUIS               MO
78749   3GKALVEV7LL236654   GM           TERRAIN             BALTIMORE                 MD
78750   3GKALVEV7LL236783   GM           TERRAIN             REDMOND                   OR
78751   3GKALVEV7LL237111   GM           TERRAIN             SAINT LOUIS               MO
78752   3GKALVEV7LL237691   GM           TERRAIN             FRESNO                    CA
78753   3GKALVEV7LL238324   GM           TERRAIN             DETROIT                   MI
78754   3GKALVEV7LL238694   GM           TERRAIN             HOUSTON                   TX
78755   3GKALVEV7LL239313   GM           TERRAIN             MEBANE                    NC
78756   3GKALVEV7LL239568   GM           TERRAIN             NEW BERN                  NC
78757   3GKALVEV7LL240459   GM           TERRAIN             INDIANAPOLIS              IN
78758   3GKALVEV7LL240543   GM           TERRAIN             BLOOMINGTON               IL
78759   3GKALVEV7LL240946   GM           TERRAIN             WOODLAND HILLS            CA
78760   3GKALVEV7LL241594   GM           TERRAIN             DETROIT                   MI
78761   3GKALVEV8KL172140   GM           TERRAIN             FORT MYERS                FL
78762   3GKALVEV8KL172865   GM           TERRAIN             CHARLESTON                WV
78763   3GKALVEV8KL173286   GM           TERRAIN             FORT MYERS                FL
78764   3GKALVEV8KL175006   GM           TERRAIN             MIAMI                     FL
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78765   3GKALVEV8KL177516   GM           TERRAIN             FORT LAUDERDALE           FL
78766   3GKALVEV8KL178102   GM           TERRAIN             AUSTIN                    TX
78767   3GKALVEV8KL178858   GM           TERRAIN             WEST PALM BEACH           FL
78768   3GKALVEV8KL179458   GM           TERRAIN             PASADENA                  MD
78769   3GKALVEV8KL179783   GM           TERRAIN             ATLANTA                   GA
78770   3GKALVEV8KL181453   GM           TERRAIN             HOUSTON                   TX
78771   3GKALVEV8KL182098   GM           TERRAIN             MIAMI                     FL
78772   3GKALVEV8KL182358   GM           TERRAIN             WHITE PLAINS              NY
78773   3GKALVEV8KL182845   GM           TERRAIN             INDIANAPOLIS              IN
78774   3GKALVEV8KL184157   GM           TERRAIN             LITTLE ROCK               AR
78775   3GKALVEV8KL185261   GM           TERRAIN             CHARLOTTE                 NC
78776   3GKALVEV8KL185812   GM           TERRAIN             SAN JOSE                  CA
78777   3GKALVEV8KL186555   GM           TERRAIN             Norwalk                   CA
78778   3GKALVEV8KL187771   GM           TERRAIN             INGLEWOOD                 CA
78779   3GKALVEV8KL188368   GM           TERRAIN             BURBANK                   CA
78780   3GKALVEV8KL188550   GM           TERRAIN             Rockville Centr           NY
78781   3GKALVEV8KL189827   GM           TERRAIN             ORLANDO                   FL
78782   3GKALVEV8KL190377   GM           TERRAIN             SAN DIEGO                 CA
78783   3GKALVEV8KL191013   GM           TERRAIN             KENNER                    LA
78784   3GKALVEV8KL191058   GM           TERRAIN             CLEVELAND                 OH
78785   3GKALVEV8KL191156   GM           TERRAIN             Fontana                   CA
78786   3GKALVEV8KL191206   GM           TERRAIN             Fresno                    CA
78787   3GKALVEV8KL191691   GM           TERRAIN             SAN JOSE                  CA
78788   3GKALVEV8KL191948   GM           TERRAIN             Stockton                  CA
78789   3GKALVEV8KL192338   GM           TERRAIN             CLEVELAND                 OH
78790   3GKALVEV8KL194753   GM           TERRAIN             ALBUQUERQUE               NM
78791   3GKALVEV8KL196471   GM           TERRAIN             RICHMOND                  VA
78792   3GKALVEV8KL197152   GM           TERRAIN             WEST PALM BEACH           FL
78793   3GKALVEV8KL198365   GM           TERRAIN             AUSTIN                    TX
78794   3GKALVEV8KL201863   GM           TERRAIN             NEW BERN                  NC
78795   3GKALVEV8KL203130   GM           TERRAIN             RICHMOND                  VA
78796   3GKALVEV8KL203337   GM           TERRAIN             DENVER                    CO
78797   3GKALVEV8KL204083   GM           TERRAIN             GRAND RAPIDS              MI
78798   3GKALVEV8KL204424   GM           TERRAIN             FORT MYERS                FL
78799   3GKALVEV8KL204651   GM           TERRAIN             Fairburn                  GA
78800   3GKALVEV8KL206268   GM           TERRAIN             KANSAS CITY               MO
78801   3GKALVEV8KL206416   GM           TERRAIN             PHOENIX                   AZ
78802   3GKALVEV8KL207047   GM           TERRAIN             DALLAS                    TX
78803   3GKALVEV8KL207548   GM           TERRAIN             JACKSON                   MS
78804   3GKALVEV8KL207842   GM           TERRAIN             Winston‐Salem             NC
78805   3GKALVEV8KL208733   GM           TERRAIN             KENNER                    LA
78806   3GKALVEV8KL209123   GM           TERRAIN             PHOENIX                   AZ
78807   3GKALVEV8KL209557   GM           TERRAIN             KENNER                    LA
78808   3GKALVEV8KL209994   GM           TERRAIN             Chicago                   IL
78809   3GKALVEV8KL210787   GM           TERRAIN             SAINT LOUIS               MO
78810   3GKALVEV8KL210949   GM           TERRAIN             Richmond                  VA
78811   3GKALVEV8KL211244   GM           TERRAIN             Woodhaven                 MI
78812   3GKALVEV8KL211499   GM           TERRAIN             AUSTIN                    TX
78813   3GKALVEV8KL213415   GM           TERRAIN             LAS VEGAS                 NV
78814   3GKALVEV8KL214175   GM           TERRAIN             PORTLAND                  OR
78815   3GKALVEV8KL215228   GM           TERRAIN             BOSTON                    MA
78816   3GKALVEV8KL215584   GM           TERRAIN             Baltimore                 MD
78817   3GKALVEV8KL217545   GM           TERRAIN             Manheim                   PA
78818   3GKALVEV8KL217917   GM           TERRAIN             ORLANDO                   FL
78819   3GKALVEV8KL224673   GM           TERRAIN             SALT LAKE CITY            UT
78820   3GKALVEV8KL224950   GM           TERRAIN             GRAND RAPIDS              MI
78821   3GKALVEV8KL225306   GM           TERRAIN             TULSA                     OK
78822   3GKALVEV8KL225533   GM           TERRAIN             PHOENIX                   AZ
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78823   3GKALVEV8KL226066   GM           TERRAIN             INDIANAPOLIS              IN
78824   3GKALVEV8KL226200   GM           TERRAIN             ST Paul                   MN
78825   3GKALVEV8KL226312   GM           TERRAIN             SAN JOSE                  CA
78826   3GKALVEV8KL226455   GM           TERRAIN             SACRAMENTO                CA
78827   3GKALVEV8KL226570   GM           TERRAIN             PHOENIX                   AZ
78828   3GKALVEV8KL227248   GM           TERRAIN             PALM SPRINGS              CA
78829   3GKALVEV8KL227539   GM           TERRAIN             FRESNO                    CA
78830   3GKALVEV8KL227573   GM           TERRAIN             SAN DIEGO                 CA
78831   3GKALVEV8KL227606   GM           TERRAIN             Stockton                  CA
78832   3GKALVEV8KL227931   GM           TERRAIN             Miami                     FL
78833   3GKALVEV8KL228285   GM           TERRAIN             LOS ANGELES               CA
78834   3GKALVEV8KL228514   GM           TERRAIN             Hayward                   CA
78835   3GKALVEV8KL229033   GM           TERRAIN             Los Angeles               CA
78836   3GKALVEV8KL229209   GM           TERRAIN             INDIANAPOLIS              IN
78837   3GKALVEV8KL229758   GM           TERRAIN             LAS VEGAS                 NV
78838   3GKALVEV8KL229954   GM           TERRAIN             TAMPA                     FL
78839   3GKALVEV8KL230005   GM           TERRAIN             JACKSON                   MS
78840   3GKALVEV8KL230604   GM           TERRAIN             McHenry                   IL
78841   3GKALVEV8KL231042   GM           TERRAIN             ORANGE COUNTY             CA
78842   3GKALVEV8KL231140   GM           TERRAIN             PALM SPRINGS              CA
78843   3GKALVEV8KL231820   GM           TERRAIN             SALT LAKE CITY            UT
78844   3GKALVEV8KL231977   GM           TERRAIN             SAN JOSE                  CA
78845   3GKALVEV8KL232238   GM           TERRAIN             Matteson                  IL
78846   3GKALVEV8KL232370   GM           TERRAIN             COLUMBUS                  OH
78847   3GKALVEV8KL232627   GM           TERRAIN             LOS ANGELES               CA
78848   3GKALVEV8KL232840   GM           TERRAIN             BOSTON                    MA
78849   3GKALVEV8KL234247   GM           TERRAIN             LAS VEGAS                 NV
78850   3GKALVEV8KL235270   GM           TERRAIN             WILMINGTON                CA
78851   3GKALVEV8KL237259   GM           TERRAIN             AUSTIN                    TX
78852   3GKALVEV8KL238072   GM           TERRAIN             SANTA ANA                 CA
78853   3GKALVEV8KL238458   GM           TERRAIN             PHOENIX                   AZ
78854   3GKALVEV8KL238587   GM           TERRAIN             LAS VEGAS                 NV
78855   3GKALVEV8KL238637   GM           TERRAIN             NORFOLK                   VA
78856   3GKALVEV8KL238802   GM           TERRAIN             Atlanta                   GA
78857   3GKALVEV8KL239206   GM           TERRAIN             SACRAMENTO                CA
78858   3GKALVEV8KL239433   GM           TERRAIN             FORT LAUDERDALE           FL
78859   3GKALVEV8KL239450   GM           TERRAIN             DALLAS                    TX
78860   3GKALVEV8KL239819   GM           TERRAIN             TAMPA                     FL
78861   3GKALVEV8KL240226   GM           TERRAIN             DENVER                    CO
78862   3GKALVEV8KL240307   GM           TERRAIN             AUSTIN                    TX
78863   3GKALVEV8KL240310   GM           TERRAIN             DETROIT                   MI
78864   3GKALVEV8KL240324   GM           TERRAIN             MIAMI                     FL
78865   3GKALVEV8KL240744   GM           TERRAIN             JACKSON                   MS
78866   3GKALVEV8KL240906   GM           TERRAIN             MIAMI                     FL
78867   3GKALVEV8KL241022   GM           TERRAIN             ORLANDO                   FL
78868   3GKALVEV8KL241067   GM           TERRAIN             SAINT LOUIS               MO
78869   3GKALVEV8KL241215   GM           TERRAIN             SAN FRANCISCO             CA
78870   3GKALVEV8KL241604   GM           TERRAIN             CHICAGO                   IL
78871   3GKALVEV8KL242011   GM           TERRAIN             COLUMBIA                  SC
78872   3GKALVEV8KL242042   GM           TERRAIN             Woodhaven                 MI
78873   3GKALVEV8KL242512   GM           TERRAIN             DALLAS                    TX
78874   3GKALVEV8KL242901   GM           TERRAIN             RALIEGH                   NC
78875   3GKALVEV8KL243014   GM           TERRAIN             TUCSON                    AZ
78876   3GKALVEV8KL243305   GM           TERRAIN             ORLANDO                   FL
78877   3GKALVEV8KL243448   GM           TERRAIN             SARASOTA                  FL
78878   3GKALVEV8KL243451   GM           TERRAIN             TAMPA                     FL
78879   3GKALVEV8KL243756   GM           TERRAIN             Hebron                    KY
78880   3GKALVEV8KL244194   GM           TERRAIN             WEST COLUMBIA             SC
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78881   3GKALVEV8KL244695   GM           TERRAIN             FORT LAUDERDALE           FL
78882   3GKALVEV8KL244972   GM           TERRAIN             LOUISVILLE                KY
78883   3GKALVEV8KL246429   GM           TERRAIN             SEATAC                    WA
78884   3GKALVEV8KL246561   GM           TERRAIN             WEST PALM BEACH           FL
78885   3GKALVEV8KL246706   GM           TERRAIN             JACKSONVILLE              FL
78886   3GKALVEV8KL317256   GM           TERRAIN             SARASOTA                  FL
78887   3GKALVEV8KL369356   GM           TERRAIN             LOS ANGELES               CA
78888   3GKALVEV8LL142086   GM           TERRAIN             TUCSON                    AZ
78889   3GKALVEV8LL146011   GM           TERRAIN             WEST COLUMBIA             SC
78890   3GKALVEV8LL146106   GM           TERRAIN             DALLAS                    TX
78891   3GKALVEV8LL146400   GM           TERRAIN             ALBUQERQUE                NM
78892   3GKALVEV8LL146493   GM           TERRAIN             Dallas                    TX
78893   3GKALVEV8LL146588   GM           TERRAIN             INDIANAPOLIS              IN
78894   3GKALVEV8LL146770   GM           TERRAIN             JACKSON                   MS
78895   3GKALVEV8LL146879   GM           TERRAIN             Miami                     FL
78896   3GKALVEV8LL146977   GM           TERRAIN             TULSA                     OK
78897   3GKALVEV8LL147711   GM           TERRAIN             PANAMA CITY               FL
78898   3GKALVEV8LL147904   GM           TERRAIN             DALLAS                    TX
78899   3GKALVEV8LL147949   GM           TERRAIN             HOUSTON                   TX
78900   3GKALVEV8LL148048   GM           TERRAIN             HOUSTON                   TX
78901   3GKALVEV8LL148289   GM           TERRAIN             EL PASO                   TX
78902   3GKALVEV8LL148602   GM           TERRAIN             HOUSTON                   TX
78903   3GKALVEV8LL148826   GM           TERRAIN             PHILADELPHIA              PA
78904   3GKALVEV8LL149202   GM           TERRAIN             DALLAS                    TX
78905   3GKALVEV8LL149376   GM           TERRAIN             HOUSTON                   TX
78906   3GKALVEV8LL149703   GM           TERRAIN             ORLANDO                   FL
78907   3GKALVEV8LL149748   GM           TERRAIN             DALLAS                    TX
78908   3GKALVEV8LL156182   GM           TERRAIN             ORLANDO                   FL
78909   3GKALVEV8LL157252   GM           TERRAIN             EGG HARBOR TOWN           NJ
78910   3GKALVEV8LL157705   GM           TERRAIN             MIAMI                     FL
78911   3GKALVEV8LL161009   GM           TERRAIN             CHICAGO                   IL
78912   3GKALVEV8LL162824   GM           TERRAIN             CHICAGO                   IL
78913   3GKALVEV8LL189506   GM           TERRAIN             PHOENIX                   AZ
78914   3GKALVEV8LL189537   GM           TERRAIN             SAN DIEGO                 CA
78915   3GKALVEV8LL194656   GM           TERRAIN             PALM SPRINGS              CA
78916   3GKALVEV8LL194706   GM           TERRAIN             Reno                      NV
78917   3GKALVEV8LL194866   GM           TERRAIN             SANTA ANA                 CA
78918   3GKALVEV8LL194950   GM           TERRAIN             SAN FRANCISCO             CA
78919   3GKALVEV8LL195483   GM           TERRAIN             SARASOTA                  FL
78920   3GKALVEV8LL195564   GM           TERRAIN             WEST COLUMBIA             SC
78921   3GKALVEV8LL200066   GM           TERRAIN             PHILADELPHIA              PA
78922   3GKALVEV8LL207678   GM           TERRAIN             PHILADELPHIA              PA
78923   3GKALVEV8LL208328   GM           TERRAIN             HARTFORD                  CT
78924   3GKALVEV8LL233892   GM           TERRAIN             SANTA ANA                 CA
78925   3GKALVEV8LL234461   GM           TERRAIN             FRESNO                    CA
78926   3GKALVEV8LL234606   GM           TERRAIN             OAKLAND                   CA
78927   3GKALVEV8LL234623   GM           TERRAIN             SAN JOSE                  CA
78928   3GKALVEV8LL234654   GM           TERRAIN             SAN JOSE                  CA
78929   3GKALVEV8LL234783   GM           TERRAIN             Phoenix                   AZ
78930   3GKALVEV8LL234816   GM           TERRAIN             Reno                      NV
78931   3GKALVEV8LL236968   GM           TERRAIN             HOUSTON                   TX
78932   3GKALVEV8LL237070   GM           TERRAIN             PORTLAND                  OR
78933   3GKALVEV8LL237814   GM           TERRAIN             OAKLAND                   CA
78934   3GKALVEV8LL237831   GM           TERRAIN             SEATAC                    WA
78935   3GKALVEV8LL238381   GM           TERRAIN             CHICAGO                   IL
78936   3GKALVEV8LL238560   GM           TERRAIN             GRAND RAPIDS              MI
78937   3GKALVEV8LL238591   GM           TERRAIN             CLEVELAND                 OH
78938   3GKALVEV8LL238817   GM           TERRAIN             RALEIGH                   NC
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78939   3GKALVEV8LL238977   GM           TERRAIN             GRAND RAPIDS              MI
78940   3GKALVEV8LL239210   GM           TERRAIN             DETROIT                   MI
78941   3GKALVEV8LL239269   GM           TERRAIN             BLOOMINGTON               IL
78942   3GKALVEV8LL240163   GM           TERRAIN             CHICAGO                   IL
78943   3GKALVEV8LL240700   GM           TERRAIN             DES MOINES                IA
78944   3GKALVEV8LL240793   GM           TERRAIN             McHenry                   IL
78945   3GKALVEV8LL241331   GM           TERRAIN             MILWAUKEE                 WI
78946   3GKALVEV9KL172907   GM           TERRAIN             MORROW                    GA
78947   3GKALVEV9KL173281   GM           TERRAIN             BOSTON                    MA
78948   3GKALVEV9KL173345   GM           TERRAIN             ORLANDO                   FL
78949   3GKALVEV9KL173815   GM           TERRAIN             ORLANDO                   FL
78950   3GKALVEV9KL175063   GM           TERRAIN             MIAMI                     FL
78951   3GKALVEV9KL175645   GM           TERRAIN             Riverside                 CA
78952   3GKALVEV9KL175838   GM           TERRAIN             ORLANDO                   FL
78953   3GKALVEV9KL176682   GM           TERRAIN             PHILADELPHIA              PA
78954   3GKALVEV9KL176939   GM           TERRAIN             FORT LAUDERDALE           FL
78955   3GKALVEV9KL178187   GM           TERRAIN             SAINT PAUL                MN
78956   3GKALVEV9KL178495   GM           TERRAIN             Detroit                   MI
78957   3GKALVEV9KL182062   GM           TERRAIN             PALM SPRINGS              CA
78958   3GKALVEV9KL182451   GM           TERRAIN             DAVIE                     FL
78959   3GKALVEV9KL182966   GM           TERRAIN             BOSTON                    MA
78960   3GKALVEV9KL183065   GM           TERRAIN             Rockville Centr           NY
78961   3GKALVEV9KL184331   GM           TERRAIN             ORLANDO                   FL
78962   3GKALVEV9KL184586   GM           TERRAIN             DES PLAINES               US
78963   3GKALVEV9KL184698   GM           TERRAIN             LAS VEGAS                 NV
78964   3GKALVEV9KL185284   GM           TERRAIN             SEATAC                    WA
78965   3GKALVEV9KL185320   GM           TERRAIN             DALLAS                    TX
78966   3GKALVEV9KL185401   GM           TERRAIN             CHARLOTTE                 NC
78967   3GKALVEV9KL186158   GM           TERRAIN             ALBUQUERQUE               NM
78968   3GKALVEV9KL187522   GM           TERRAIN             FORT LAUDERDALE           FL
78969   3GKALVEV9KL187701   GM           TERRAIN             MCALLEN                   TX
78970   3GKALVEV9KL187715   GM           TERRAIN             Los Angeles               CA
78971   3GKALVEV9KL187732   GM           TERRAIN             DALLAS                    TX
78972   3GKALVEV9KL188427   GM           TERRAIN             FRESNO                    CA
78973   3GKALVEV9KL188511   GM           TERRAIN             NEWARK                    NJ
78974   3GKALVEV9KL188993   GM           TERRAIN             SAN ANTONIO               TX
78975   3GKALVEV9KL189013   GM           TERRAIN             Florissant                MO
78976   3GKALVEV9KL189044   GM           TERRAIN             LOS ANGELES               CA
78977   3GKALVEV9KL189299   GM           TERRAIN             Phoenix                   AZ
78978   3GKALVEV9KL189951   GM           TERRAIN             FORT LAUDERDALE           FL
78979   3GKALVEV9KL190758   GM           TERRAIN             BURBANK                   CA
78980   3GKALVEV9KL191408   GM           TERRAIN             PALM SPRINGS              CA
78981   3GKALVEV9KL195216   GM           TERRAIN             RALIEGH                   NC
78982   3GKALVEV9KL196222   GM           TERRAIN             GREENSBORO                NC
78983   3GKALVEV9KL198018   GM           TERRAIN             ORLANDO                   FL
78984   3GKALVEV9KL202049   GM           TERRAIN             STERLING                  VA
78985   3GKALVEV9KL203363   GM           TERRAIN             WEST COLUMBIA             SC
78986   3GKALVEV9KL203749   GM           TERRAIN             FORT MYERS                FL
78987   3GKALVEV9KL204318   GM           TERRAIN             SAINT PAUL                MN
78988   3GKALVEV9KL205162   GM           TERRAIN             SACRAMENTO                CA
78989   3GKALVEV9KL205243   GM           TERRAIN             Warr Acres                OK
78990   3GKALVEV9KL205338   GM           TERRAIN             Dallas                    TX
78991   3GKALVEV9KL205419   GM           TERRAIN             CHICAGO O'HARE AP         IL
78992   3GKALVEV9KL205761   GM           TERRAIN             CHATTANOOGA               TN
78993   3GKALVEV9KL205954   GM           TERRAIN             PHOENIX                   AZ
78994   3GKALVEV9KL207008   GM           TERRAIN             ROANOKE                   VA
78995   3GKALVEV9KL210622   GM           TERRAIN             CORPUS CHRISTI            TX
78996   3GKALVEV9KL212323   GM           TERRAIN             DALLAS                    TX
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78997   3GKALVEV9KL213536   GM           TERRAIN             KENNER                    LA
78998   3GKALVEV9KL213939   GM           TERRAIN             PENSACOLA                 FL
78999   3GKALVEV9KL215304   GM           TERRAIN             CLEVELAND                 OH
79000   3GKALVEV9KL216131   GM           TERRAIN             NASHVILLE                 TN
79001   3GKALVEV9KL216517   GM           TERRAIN             Webster                   NY
79002   3GKALVEV9KL217098   GM           TERRAIN             WEST PALM BEACH           FL
79003   3GKALVEV9KL218283   GM           TERRAIN             Irving                    TX
79004   3GKALVEV9KL218364   GM           TERRAIN             NASHVILLE                 TN
79005   3GKALVEV9KL225136   GM           TERRAIN             LAS VEGAS                 NV
79006   3GKALVEV9KL225315   GM           TERRAIN             PHOENIX                   AZ
79007   3GKALVEV9KL225508   GM           TERRAIN             PHOENIX                   AZ
79008   3GKALVEV9KL225623   GM           TERRAIN             Riverside                 CA
79009   3GKALVEV9KL226142   GM           TERRAIN             OKLAHOMA CITY             OK
79010   3GKALVEV9KL226223   GM           TERRAIN             PHOENIX                   AZ
79011   3GKALVEV9KL226576   GM           TERRAIN             Reno                      NV
79012   3GKALVEV9KL226741   GM           TERRAIN             LOS ANGELES               CA
79013   3GKALVEV9KL227758   GM           TERRAIN             DALLAS                    TX
79014   3GKALVEV9KL228330   GM           TERRAIN             Riverside                 CA
79015   3GKALVEV9KL229378   GM           TERRAIN             MEMPHIS                   TN
79016   3GKALVEV9KL229414   GM           TERRAIN             ORLANDO                   FL
79017   3GKALVEV9KL229610   GM           TERRAIN             FRESNO                    CA
79018   3GKALVEV9KL229624   GM           TERRAIN             San Francisco             CA
79019   3GKALVEV9KL229963   GM           TERRAIN             PHOENIX                   AZ
79020   3GKALVEV9KL230126   GM           TERRAIN             LOS ANGELES               CA
79021   3GKALVEV9KL230496   GM           TERRAIN             SAN FRANCISCO             CA
79022   3GKALVEV9KL230644   GM           TERRAIN             TUCSON                    AZ
79023   3GKALVEV9KL230661   GM           TERRAIN             COSTA MESA                CA
79024   3GKALVEV9KL230742   GM           TERRAIN             SEATAC                    WA
79025   3GKALVEV9KL231373   GM           TERRAIN             SAN JOSE                  CA
79026   3GKALVEV9KL232412   GM           TERRAIN             NORFOLK                   VA
79027   3GKALVEV9KL232703   GM           TERRAIN             SAN FRANCISCO             CA
79028   3GKALVEV9KL233608   GM           TERRAIN             RENO                      NV
79029   3GKALVEV9KL234287   GM           TERRAIN             PALM SPRINGS              CA
79030   3GKALVEV9KL234337   GM           TERRAIN             PHOENIX                   AZ
79031   3GKALVEV9KL236136   GM           TERRAIN             SAN JOSE                  CA
79032   3GKALVEV9KL236914   GM           TERRAIN             INDIANAPOLIS              IN
79033   3GKALVEV9KL237075   GM           TERRAIN             PHOENIX                   AZ
79034   3GKALVEV9KL237853   GM           TERRAIN             ATLANTA                   GA
79035   3GKALVEV9KL237898   GM           TERRAIN             LOS ANGELES               CA
79036   3GKALVEV9KL238002   GM           TERRAIN             Austin                    TX
79037   3GKALVEV9KL238811   GM           TERRAIN             Irving                    TX
79038   3GKALVEV9KL239151   GM           TERRAIN             RICHMOND                  VA
79039   3GKALVEV9KL239392   GM           TERRAIN             Rockville Centr           NY
79040   3GKALVEV9KL239425   GM           TERRAIN             TULSA                     OK
79041   3GKALVEV9KL239585   GM           TERRAIN             WHITE PLAINS              NY
79042   3GKALVEV9KL239652   GM           TERRAIN             MIAMI                     FL
79043   3GKALVEV9KL240235   GM           TERRAIN             ST Paul                   MN
79044   3GKALVEV9KL240414   GM           TERRAIN             BURBANK                   CA
79045   3GKALVEV9KL240722   GM           TERRAIN             MIAMI                     FL
79046   3GKALVEV9KL241871   GM           TERRAIN             FORT MYERS                FL
79047   3GKALVEV9KL242244   GM           TERRAIN             CHICAGO                   IL
79048   3GKALVEV9KL242549   GM           TERRAIN             WARWICK                   RI
79049   3GKALVEV9KL242597   GM           TERRAIN             OAKLAND                   CA
79050   3GKALVEV9KL242941   GM           TERRAIN             FORT MYERS                FL
79051   3GKALVEV9KL243037   GM           TERRAIN             Atlanta                   GA
79052   3GKALVEV9KL243393   GM           TERRAIN             MEMPHIS                   TN
79053   3GKALVEV9KL243412   GM           TERRAIN             Hartford                  CT
79054   3GKALVEV9KL243765   GM           TERRAIN             NORFOLK                   VA
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79055   3GKALVEV9KL243975   GM           TERRAIN             Indianapolis              IN
79056   3GKALVEV9KL244429   GM           TERRAIN             DETROIT                   MI
79057   3GKALVEV9KL245872   GM           TERRAIN             ORLANDO                   FL
79058   3GKALVEV9KL246620   GM           TERRAIN             MILWAUKEE                 WI
79059   3GKALVEV9KL246651   GM           TERRAIN             NASHVILLE                 TN
79060   3GKALVEV9KL271081   GM           TERRAIN             HOUSTON                   TX
79061   3GKALVEV9LL138838   GM           TERRAIN             PHOENIX                   AZ
79062   3GKALVEV9LL139679   GM           TERRAIN             PHOENIX                   AZ
79063   3GKALVEV9LL140072   GM           TERRAIN             BURBANK                   CA
79064   3GKALVEV9LL140248   GM           TERRAIN             PHOENIX                   AZ
79065   3GKALVEV9LL140928   GM           TERRAIN             PHOENIX                   AZ
79066   3GKALVEV9LL141786   GM           TERRAIN             PHOENIX                   AZ
79067   3GKALVEV9LL144476   GM           TERRAIN             ORLANDO                   FL
79068   3GKALVEV9LL144607   GM           TERRAIN             DALLAS                    TX
79069   3GKALVEV9LL144669   GM           TERRAIN             WILMINGTON                NC
79070   3GKALVEV9LL145160   GM           TERRAIN             SAN ANTONIO               TX
79071   3GKALVEV9LL146244   GM           TERRAIN             EL PASO                   TX
79072   3GKALVEV9LL146681   GM           TERRAIN             WICHITA FALLS             TX
79073   3GKALVEV9LL146907   GM           TERRAIN             ATLANTA                   GA
79074   3GKALVEV9LL147555   GM           TERRAIN             ORLANDO                   FL
79075   3GKALVEV9LL148382   GM           TERRAIN             Dallas                    TX
79076   3GKALVEV9LL148656   GM           TERRAIN             SAN ANTONIO               TX
79077   3GKALVEV9LL148916   GM           TERRAIN             AUSTIN                    TX
79078   3GKALVEV9LL161410   GM           TERRAIN             ORLANDO                   FL
79079   3GKALVEV9LL163321   GM           TERRAIN             STERLING                  VA
79080   3GKALVEV9LL189708   GM           TERRAIN             OAKLAND                   CA
79081   3GKALVEV9LL189918   GM           TERRAIN             SAN JOSE                  CA
79082   3GKALVEV9LL190941   GM           TERRAIN             SACRAMENTO                CA
79083   3GKALVEV9LL193533   GM           TERRAIN             PORTLAND                  OR
79084   3GKALVEV9LL193628   GM           TERRAIN             SAN FRANCISCO             CA
79085   3GKALVEV9LL194116   GM           TERRAIN             SAN DIEGO                 CA
79086   3GKALVEV9LL194522   GM           TERRAIN             LAS VEGAS                 NV
79087   3GKALVEV9LL194746   GM           TERRAIN             LOS ANGELES               CA
79088   3GKALVEV9LL195198   GM           TERRAIN             ROCHESTER                 NY
79089   3GKALVEV9LL195606   GM           TERRAIN             Des Moines                IA
79090   3GKALVEV9LL195623   GM           TERRAIN             TAMPA                     FL
79091   3GKALVEV9LL197713   GM           TERRAIN             CLEVELAND                 OH
79092   3GKALVEV9LL199851   GM           TERRAIN             BUFFALO                   NY
79093   3GKALVEV9LL199882   GM           TERRAIN             CHICAGO                   IL
79094   3GKALVEV9LL202425   GM           TERRAIN             BIRMINGHAM                AL
79095   3GKALVEV9LL204661   GM           TERRAIN             RONKONKOMA                NY
79096   3GKALVEV9LL207544   GM           TERRAIN             ORLANDO                   FL
79097   3GKALVEV9LL207897   GM           TERRAIN             ATLANTA                   GA
79098   3GKALVEV9LL234002   GM           TERRAIN             LOS ANGELES               CA
79099   3GKALVEV9LL234100   GM           TERRAIN             LOS ANGELES AP            CA
79100   3GKALVEV9LL234243   GM           TERRAIN             OAKLAND                   CA
79101   3GKALVEV9LL234551   GM           TERRAIN             SACRAMENTO                CA
79102   3GKALVEV9LL234615   GM           TERRAIN             SACRAMENTO                CA
79103   3GKALVEV9LL235764   GM           TERRAIN             SACRAMENTO                CA
79104   3GKALVEV9LL237837   GM           TERRAIN             SAN FRANCISCO             CA
79105   3GKALVEV9LL238096   GM           TERRAIN             RALEIGH                   NC
79106   3GKALVEV9LL238258   GM           TERRAIN             WARWICK                   RI
79107   3GKALVEV9LL238468   GM           TERRAIN             DETROIT                   MI
79108   3GKALVEV9LL238860   GM           TERRAIN             CHICAGO                   IL
79109   3GKALVEV9LL239426   GM           TERRAIN             NORFOLK                   VA
79110   3GKALVEV9LL239961   GM           TERRAIN             DETROIT                   MI
79111   3GKALVEV9LL240477   GM           TERRAIN             DETROIT                   MI
79112   3GKALVEV9LL240995   GM           TERRAIN             MILWAUKEE                 WI
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79113   3GKALVEVXKL174312   GM           TERRAIN             PHILADELPHIA              PA
79114   3GKALVEVXKL175752   GM           TERRAIN             BOSTON, LOGAN AP          MA
79115   3GKALVEVXKL176061   GM           TERRAIN             FORT LAUDERDALE           FL
79116   3GKALVEVXKL177520   GM           TERRAIN             FORT MYERS                FL
79117   3GKALVEVXKL177713   GM           TERRAIN             Slidell                   LA
79118   3GKALVEVXKL177730   GM           TERRAIN             SAN ANTONIO               TX
79119   3GKALVEVXKL178280   GM           TERRAIN             FORT LAUDERDALE           FL
79120   3GKALVEVXKL179042   GM           TERRAIN             DAYTONA BEACH             FL
79121   3GKALVEVXKL181535   GM           TERRAIN             Memphis                   TN
79122   3GKALVEVXKL182345   GM           TERRAIN             ORLANDO                   FL
79123   3GKALVEVXKL182877   GM           TERRAIN             Milwaukee                 WI
79124   3GKALVEVXKL183365   GM           TERRAIN             KENNER                    LA
79125   3GKALVEVXKL183379   GM           TERRAIN             GRAND RAPIDS              MI
79126   3GKALVEVXKL184225   GM           TERRAIN             SANFORD                   FL
79127   3GKALVEVXKL185360   GM           TERRAIN             SEATTLE                   WA
79128   3GKALVEVXKL186007   GM           TERRAIN             PHOENIX                   AZ
79129   3GKALVEVXKL187903   GM           TERRAIN             KANSAS CITY               MO
79130   3GKALVEVXKL188243   GM           TERRAIN             ORLANDO                   FL
79131   3GKALVEVXKL188274   GM           TERRAIN             INGLEWOOD                 CA
79132   3GKALVEVXKL188646   GM           TERRAIN             Las Vegas                 NV
79133   3GKALVEVXKL189392   GM           TERRAIN             SAN FRANCISCO             CA
79134   3GKALVEVXKL190364   GM           TERRAIN             LOS ANGELES               CA
79135   3GKALVEVXKL190493   GM           TERRAIN             KANSAS CITY               MO
79136   3GKALVEVXKL190607   GM           TERRAIN             PHOENIX                   AZ
79137   3GKALVEVXKL190638   GM           TERRAIN             San Diego                 CA
79138   3GKALVEVXKL191479   GM           TERRAIN             Baltimore                 MD
79139   3GKALVEVXKL194043   GM           TERRAIN             BOSTON                    MA
79140   3GKALVEVXKL194849   GM           TERRAIN             North Dighton             MA
79141   3GKALVEVXKL195628   GM           TERRAIN             KENNER                    LA
79142   3GKALVEVXKL196441   GM           TERRAIN             ATLANTA                   GA
79143   3GKALVEVXKL197881   GM           TERRAIN             KENNER                    LA
79144   3GKALVEVXKL201573   GM           TERRAIN             Matteson                  IL
79145   3GKALVEVXKL202142   GM           TERRAIN             DETROIT                   MI
79146   3GKALVEVXKL203078   GM           TERRAIN             Warminster                PA
79147   3GKALVEVXKL204554   GM           TERRAIN             LOS ANGELES               CA
79148   3GKALVEVXKL204943   GM           TERRAIN             HOUSTON                   TX
79149   3GKALVEVXKL210998   GM           TERRAIN             CASTLE ROCK               CO
79150   3GKALVEVXKL211472   GM           TERRAIN             Florissant                MO
79151   3GKALVEVXKL213979   GM           TERRAIN             ATLANTA                   GA
79152   3GKALVEVXKL213996   GM           TERRAIN             SAN JOSE                  CA
79153   3GKALVEVXKL215084   GM           TERRAIN             Miami                     FL
79154   3GKALVEVXKL216820   GM           TERRAIN             Dallas                    TX
79155   3GKALVEVXKL217790   GM           TERRAIN             MILWAUKEE                 WI
79156   3GKALVEVXKL218244   GM           TERRAIN             ORLANDO                   FL
79157   3GKALVEVXKL224853   GM           TERRAIN             FRESNO                    CA
79158   3GKALVEVXKL225064   GM           TERRAIN             PORTLAND                  OR
79159   3GKALVEVXKL225789   GM           TERRAIN             LOS ANGELES               CA
79160   3GKALVEVXKL225808   GM           TERRAIN             SAN FRANCISCO             CA
79161   3GKALVEVXKL226473   GM           TERRAIN             SAN FRANCISCO             CA
79162   3GKALVEVXKL226764   GM           TERRAIN             San Diego                 CA
79163   3GKALVEVXKL226845   GM           TERRAIN             PALM SPRINGS              CA
79164   3GKALVEVXKL227218   GM           TERRAIN             SAN DIEGO                 CA
79165   3GKALVEVXKL227297   GM           TERRAIN             SAN DIEGO                 CA
79166   3GKALVEVXKL227333   GM           TERRAIN             Atlanta                   GA
79167   3GKALVEVXKL227901   GM           TERRAIN             DES MOINES                IA
79168   3GKALVEVXKL227994   GM           TERRAIN             Hendersonville            TN
79169   3GKALVEVXKL228661   GM           TERRAIN             SANTA ANA                 CA
79170   3GKALVEVXKL228708   GM           TERRAIN             PHOENIX                   AZ
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79171   3GKALVEVXKL228868   GM           TERRAIN             LOS ANGELES               CA
79172   3GKALVEVXKL228949   GM           TERRAIN             ALBANY                    NY
79173   3GKALVEVXKL229311   GM           TERRAIN             LOS ANGELES               CA
79174   3GKALVEVXKL229454   GM           TERRAIN             DENVER                    CO
79175   3GKALVEVXKL229549   GM           TERRAIN             SACRAMENTO                CA
79176   3GKALVEVXKL229986   GM           TERRAIN             SEATAC                    WA
79177   3GKALVEVXKL230183   GM           TERRAIN             ATLANTA                   GA
79178   3GKALVEVXKL230314   GM           TERRAIN             HOUSTON                   TX
79179   3GKALVEVXKL230507   GM           TERRAIN             SALT LAKE CITY            US
79180   3GKALVEVXKL230894   GM           TERRAIN             HOUSTON                   TX
79181   3GKALVEVXKL231172   GM           TERRAIN             LOS ANGELES AP            CA
79182   3GKALVEVXKL231639   GM           TERRAIN             PALM SPRINGS              CA
79183   3GKALVEVXKL231740   GM           TERRAIN             LOS ANGELES               CA
79184   3GKALVEVXKL232015   GM           TERRAIN             SANTA ANA                 CA
79185   3GKALVEVXKL232032   GM           TERRAIN             SACRAMENTO                CA
79186   3GKALVEVXKL232239   GM           TERRAIN             SACRAMENTO                CA
79187   3GKALVEVXKL232774   GM           TERRAIN             SAN ANTONIO               TX
79188   3GKALVEVXKL232919   GM           TERRAIN             ONTARIO                   CA
79189   3GKALVEVXKL232922   GM           TERRAIN             LOS ANGELES               CA
79190   3GKALVEVXKL234461   GM           TERRAIN             BURBANK                   CA
79191   3GKALVEVXKL234539   GM           TERRAIN             PORTLAND                  OR
79192   3GKALVEVXKL234881   GM           TERRAIN             LAS VEGAS                 NV
79193   3GKALVEVXKL234895   GM           TERRAIN             LOS ANGELES               CA
79194   3GKALVEVXKL235738   GM           TERRAIN             SAN FRANCISCO             CA
79195   3GKALVEVXKL235884   GM           TERRAIN             ONTARIO                   CA
79196   3GKALVEVXKL237683   GM           TERRAIN             Torrance                  CA
79197   3GKALVEVXKL238025   GM           TERRAIN             SACRAMENTO                CA
79198   3GKALVEVXKL238686   GM           TERRAIN             ORLANDO                   FL
79199   3GKALVEVXKL238879   GM           TERRAIN             BALTIMORE                 MD
79200   3GKALVEVXKL238915   GM           TERRAIN             LOS ANGELES               CA
79201   3GKALVEVXKL239286   GM           TERRAIN             SHAKOPEE                  MN
79202   3GKALVEVXKL239319   GM           TERRAIN             DALLAS                    TX
79203   3GKALVEVXKL239692   GM           TERRAIN             TUCSON                    AZ
79204   3GKALVEVXKL240602   GM           TERRAIN             LOS ANGELES               CA
79205   3GKALVEVXKL240731   GM           TERRAIN             DETROIT                   MI
79206   3GKALVEVXKL240762   GM           TERRAIN             S. San Francisc           CA
79207   3GKALVEVXKL240776   GM           TERRAIN             LAS VEGAS                 NV
79208   3GKALVEVXKL241443   GM           TERRAIN             CHICAGO                   IL
79209   3GKALVEVXKL241460   GM           TERRAIN             Ft. Myers                 FL
79210   3GKALVEVXKL241782   GM           TERRAIN             ALBUQERQUE                NM
79211   3GKALVEVXKL241829   GM           TERRAIN             LAS VEGAS                 NV
79212   3GKALVEVXKL242141   GM           TERRAIN             LOS ANGELES               CA
79213   3GKALVEVXKL242205   GM           TERRAIN             FRESNO                    CA
79214   3GKALVEVXKL242348   GM           TERRAIN             FORT LAUDERDALE           FL
79215   3GKALVEVXKL242513   GM           TERRAIN             ORLANDO                   FL
79216   3GKALVEVXKL242575   GM           TERRAIN             PHOENIX                   AZ
79217   3GKALVEVXKL242883   GM           TERRAIN             STERLING                  VA
79218   3GKALVEVXKL242916   GM           TERRAIN             JACKSON                   MS
79219   3GKALVEVXKL243144   GM           TERRAIN             FORT LAUDERDALE           FL
79220   3GKALVEVXKL243158   GM           TERRAIN             ONTARIO                   CA
79221   3GKALVEVXKL243256   GM           TERRAIN             BOSTON                    MA
79222   3GKALVEVXKL243564   GM           TERRAIN             Elkridge                  MD
79223   3GKALVEVXKL243905   GM           TERRAIN             DFW AIRPORT               TX
79224   3GKALVEVXKL244441   GM           TERRAIN             MIAMI                     FL
79225   3GKALVEVXKL244472   GM           TERRAIN             ORLANDO                   FL
79226   3GKALVEVXKL245220   GM           TERRAIN             CLEVELAND                 OH
79227   3GKALVEVXKL245377   GM           TERRAIN             SARASOTA                  FL
79228   3GKALVEVXKL245976   GM           TERRAIN             ORLANDO                   FL
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79229   3GKALVEVXKL246562   GM           TERRAIN             NEW YORK CITY             NY
79230   3GKALVEVXKL362988   GM           TERRAIN             CATHEDRAL CITY            CA
79231   3GKALVEVXKL376941   GM           TERRAIN             CLEVELAND                 OH
79232   3GKALVEVXLL139142   GM           TERRAIN             Phoenix                   AZ
79233   3GKALVEVXLL139481   GM           TERRAIN             NEW BERN                  NC
79234   3GKALVEVXLL139738   GM           TERRAIN             SAN FRANCISCO             CA
79235   3GKALVEVXLL139948   GM           TERRAIN             PHOENIX                   AZ
79236   3GKALVEVXLL142641   GM           TERRAIN             PHOENIX                   AZ
79237   3GKALVEVXLL143417   GM           TERRAIN             LAS VEGAS                 NV
79238   3GKALVEVXLL144728   GM           TERRAIN             HOUSTON                   TX
79239   3GKALVEVXLL145135   GM           TERRAIN             albuquerque               nm
79240   3GKALVEVXLL145202   GM           TERRAIN             EL PASO                   TX
79241   3GKALVEVXLL145412   GM           TERRAIN             EL PASO                   TX
79242   3GKALVEVXLL145720   GM           TERRAIN             NEWARK                    NJ
79243   3GKALVEVXLL145930   GM           TERRAIN             WICHITA FALLS             TX
79244   3GKALVEVXLL146284   GM           TERRAIN             AUSTIN                    TX
79245   3GKALVEVXLL146379   GM           TERRAIN             FORT LAUDERDALE           FL
79246   3GKALVEVXLL146544   GM           TERRAIN             ORLANDO                   FL
79247   3GKALVEVXLL146639   GM           TERRAIN             CHARLOTTE                 NC
79248   3GKALVEVXLL146964   GM           TERRAIN             Dallas                    TX
79249   3GKALVEVXLL147080   GM           TERRAIN             SANTA FE                  NM
79250   3GKALVEVXLL147127   GM           TERRAIN             AUSTIN                    TX
79251   3GKALVEVXLL147628   GM           TERRAIN             DALLAS                    TX
79252   3GKALVEVXLL147709   GM           TERRAIN             DALLAS                    TX
79253   3GKALVEVXLL147824   GM           TERRAIN             SAN ANTONIO               TX
79254   3GKALVEVXLL147953   GM           TERRAIN             AUSTIN                    TX
79255   3GKALVEVXLL148102   GM           TERRAIN             HOUSTON                   TX
79256   3GKALVEVXLL148469   GM           TERRAIN             DALLAS                    TX
79257   3GKALVEVXLL149038   GM           TERRAIN             AUSTIN                    TX
79258   3GKALVEVXLL149069   GM           TERRAIN             SHREVEPORT                LA
79259   3GKALVEVXLL149282   GM           TERRAIN             AUSTIN                    TX
79260   3GKALVEVXLL163022   GM           TERRAIN             STERLING                  VA
79261   3GKALVEVXLL164347   GM           TERRAIN             STERLING                  VA
79262   3GKALVEVXLL164686   GM           TERRAIN             ALEXANDRIA                VA
79263   3GKALVEVXLL190012   GM           TERRAIN             Sacramento                CA
79264   3GKALVEVXLL190947   GM           TERRAIN             SACRAMENTO                CA
79265   3GKALVEVXLL191242   GM           TERRAIN             Los Angeles               CA
79266   3GKALVEVXLL191404   GM           TERRAIN             LOS ANGELES               CA
79267   3GKALVEVXLL191676   GM           TERRAIN             Atlanta                   GA
79268   3GKALVEVXLL192679   GM           TERRAIN             SAN JOSE                  CA
79269   3GKALVEVXLL193122   GM           TERRAIN             LOS ANGELES AP            CA
79270   3GKALVEVXLL193492   GM           TERRAIN             SANTA ANA                 CA
79271   3GKALVEVXLL193735   GM           TERRAIN             SACRAMENTO                CA
79272   3GKALVEVXLL193945   GM           TERRAIN             OAKLAND                   CA
79273   3GKALVEVXLL197106   GM           TERRAIN             DETROIT                   MI
79274   3GKALVEVXLL198563   GM           TERRAIN             STERLING                  VA
79275   3GKALVEVXLL198613   GM           TERRAIN             BENSON                    NC
79276   3GKALVEVXLL202241   GM           TERRAIN             RONKONKOMA                NY
79277   3GKALVEVXLL203518   GM           TERRAIN             PHOENIX                   AZ
79278   3GKALVEVXLL206810   GM           TERRAIN             PHILADELPHIA              PA
79279   3GKALVEVXLL207004   GM           TERRAIN             PITTSBURGH                PA
79280   3GKALVEVXLL207116   GM           TERRAIN             PITTSBURGH                PA
79281   3GKALVEVXLL207519   GM           TERRAIN             ATLANTA                   GA
79282   3GKALVEVXLL234154   GM           TERRAIN             SAN JOSE                  CA
79283   3GKALVEVXLL234333   GM           TERRAIN             SAINT LOUIS               MO
79284   3GKALVEVXLL234770   GM           TERRAIN             MONTEREY                  CA
79285   3GKALVEVXLL235045   GM           TERRAIN             DETROIT                   MI
79286   3GKALVEVXLL235143   GM           TERRAIN             BURBANK                   CA
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79287   3GKALVEVXLL235160   GM           TERRAIN             SAN FRANCISCO             CA
79288   3GKALVEVXLL235899   GM           TERRAIN             OMAHA                     NE
79289   3GKALVEVXLL236387   GM           TERRAIN             FRESNO                    CA
79290   3GKALVEVXLL237121   GM           TERRAIN             SACRAMENTO                CA
79291   3GKALVEVXLL237782   GM           TERRAIN             CHICAGO                   IL
79292   3GKALVEVXLL238849   GM           TERRAIN             PITTSBURGH                PA
79293   3GKALVEVXLL239368   GM           TERRAIN             SARASOTA                  FL
79294   3GKALVEVXLL240133   GM           TERRAIN             NEW BERN                  NC
79295   3GKALVEVXLL240178   GM           TERRAIN             SARASOTA                  FL
79296   3GKALVEVXLL240259   GM           TERRAIN             JAMAICA                   NY
79297   3GKALVEVXLL240374   GM           TERRAIN             CHICAGO O'HARE AP         IL
79298   3GKALVEVXLL240438   GM           TERRAIN             MIAMI                     FL
79299   3GKALVEVXLL241198   GM           TERRAIN             DETROIT                   MI
79300   3GKALVEVXLL242321   GM           TERRAIN             ATLANTA                   GA
79301   3GKALVEVXLL242741   GM           TERRAIN             SAINT LOUIS               MO
79302   3GKALVEX0JL353524   GM           TERRAIN             Hattiesburg               MS
79303   3GKALVEX2KL165542   GM           TERRAIN             FORT MYERS                FL
79304   3GKALVEX2KL184429   GM           TERRAIN             HOUSTON                   TX
79305   3GKALVEX2KL186875   GM           TERRAIN             CHICAGO                   IL
79306   3GKALVEX3JL286420   GM           TERRAIN             Austell                   GA
79307   3GKALVEX3KL178090   GM           TERRAIN             WEST PALM BEACH           FL
79308   3GKALVEX3KL182074   GM           TERRAIN             Dallas                    TX
79309   3GKALVEX3KL190028   GM           TERRAIN             HOUSTON                   TX
79310   3GKALVEX3KL190434   GM           TERRAIN             JACKSON                   MS
79311   3GKALVEX3KL191101   GM           TERRAIN             DALLAS                    TX
79312   3GKALVEX4JL310594   GM           TERRAIN             Manheim                   PA
79313   3GKALVEX4KL180771   GM           TERRAIN             UNION CITY                GA
79314   3GKALVEX6KL184448   GM           TERRAIN             ATLANTA                   GA
79315   3GKALVEX8KL180563   GM           TERRAIN             DES MOINES                IA
79316   3GKALVEX8KL187786   GM           TERRAIN             HAWTHORNE                 CA
79317   3GKALVEX8KL276998   GM           TERRAIN             DALLAS                    TX
79318   3GKALVEX9JL297289   GM           TERRAIN             Davie                     FL
79319   3GKALVEX9KL180040   GM           TERRAIN             PHOENIX                   AZ
79320   3GKALVEX9KL181057   GM           TERRAIN             Atlanta                   GA
79321   3GKALVEX9KL184413   GM           TERRAIN             SAN ANTONIO               TX
79322   3GKALVEX9KL190745   GM           TERRAIN             LITTLE ROCK               AR
79323   3GKALVEXXJL268397   GM           TERRAIN             Hayward                   CA
79324   3GKALVEXXKL184520   GM           TERRAIN             MILWAUKEE                 WI
79325   3GNAXJEV0JS555090   GM           EQUINOX             LIHUE                     HI
79326   3GNAXJEV0JS555820   GM           EQUINOX             Hayward                   CA
79327   3GNAXJEV0JS556319   GM           EQUINOX             Honolulu                  HI
79328   3GNAXJEV0JS557065   GM           EQUINOX             TRACY                     CA
79329   3GNAXJEV0JS557597   GM           EQUINOX             SAN FRANCISCO             CA
79330   3GNAXJEV0JS558121   GM           EQUINOX             TRACY                     CA
79331   3GNAXJEV0JS569801   GM           EQUINOX             KAHULUI                   HI
79332   3GNAXJEV0JS571239   GM           EQUINOX             Houston                   TX
79333   3GNAXJEV0JS571421   GM           EQUINOX             Kahului                   HI
79334   3GNAXJEV0JS571824   GM           EQUINOX             FORT MYERS                FL
79335   3GNAXJEV0JS571970   GM           EQUINOX             KAHULUI                   HI
79336   3GNAXJEV0JS575128   GM           EQUINOX             Manheim                   PA
79337   3GNAXJEV0JS575551   GM           EQUINOX             TRACY                     CA
79338   3GNAXJEV0JS579566   GM           EQUINOX             TRACY                     CA
79339   3GNAXJEV0JS622061   GM           EQUINOX             Fontana                   CA
79340   3GNAXJEV0JS627633   GM           EQUINOX             Rock Hill                 SC
79341   3GNAXJEV1JS524866   GM           EQUINOX             FRESNO                    CA
79342   3GNAXJEV1JS555406   GM           EQUINOX             Portland                  OR
79343   3GNAXJEV1JS557088   GM           EQUINOX             Honolulu                  HI
79344   3GNAXJEV1JS559018   GM           EQUINOX             HONOLULU                  HI
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79345   3GNAXJEV1JS559150   GM           EQUINOX             TRACY                     CA
79346   3GNAXJEV1JS569192   GM           EQUINOX             KAHULUI                   HI
79347   3GNAXJEV1JS572819   GM           EQUINOX             TRACY                     CA
79348   3GNAXJEV1JS576563   GM           EQUINOX             FORT LAUDERDALE           FL
79349   3GNAXJEV1JS621002   GM           EQUINOX             North Dighton             MA
79350   3GNAXJEV1JS630945   GM           EQUINOX             Manheim                   PA
79351   3GNAXJEV2JL167188   GM           EQUINOX             Atlanta                   GA
79352   3GNAXJEV2JS556709   GM           EQUINOX             North Las Vegas           NV
79353   3GNAXJEV2JS558718   GM           EQUINOX             TRACY                     CA
79354   3GNAXJEV2JS569220   GM           EQUINOX             KAHULUI                   HI
79355   3GNAXJEV2JS574935   GM           EQUINOX             ORLANDO                   FL
79356   3GNAXJEV2JS578368   GM           EQUINOX             Portland                  OR
79357   3GNAXJEV2JS578743   GM           EQUINOX             North Las Vegas           NV
79358   3GNAXJEV2JS578905   GM           EQUINOX             TRACY                     CA
79359   3GNAXJEV2JS580542   GM           EQUINOX             Portland                  OR
79360   3GNAXJEV2JS580881   GM           EQUINOX             HONOLULU                  HI
79361   3GNAXJEV2JS618576   GM           EQUINOX             FORT LAUDERDALE           FL
79362   3GNAXJEV2JS632137   GM           EQUINOX             Richmond                  VA
79363   3GNAXJEV3JS546027   GM           EQUINOX             BOSTON                    MA
79364   3GNAXJEV3JS556234   GM           EQUINOX             SAN FRANCISCO             CA
79365   3GNAXJEV3JS556296   GM           EQUINOX             LIHUE                     HI
79366   3GNAXJEV3JS556881   GM           EQUINOX             Portland                  OR
79367   3GNAXJEV3JS557111   GM           EQUINOX             TRACY                     CA
79368   3GNAXJEV3JS557139   GM           EQUINOX             Beaverton                 OR
79369   3GNAXJEV3JS558694   GM           EQUINOX             Portland                  OR
79370   3GNAXJEV3JS571266   GM           EQUINOX             Davie                     FL
79371   3GNAXJEV3JS572370   GM           EQUINOX             KAHULUI                   HI
79372   3GNAXJEV3JS577875   GM           EQUINOX             TRACY                     CA
79373   3GNAXJEV3JS578203   GM           EQUINOX             TRACY                     CA
79374   3GNAXJEV3JS578623   GM           EQUINOX             Honolulu                  HI
79375   3GNAXJEV3JS578797   GM           EQUINOX             Honolulu                  HI
79376   3GNAXJEV3JS579013   GM           EQUINOX             North Las Vegas           NV
79377   3GNAXJEV3JS580307   GM           EQUINOX             TRACY                     CA
79378   3GNAXJEV3JS614939   GM           EQUINOX             Roseville                 CA
79379   3GNAXJEV3JS624970   GM           EQUINOX             TRACY                     CA
79380   3GNAXJEV4JS554993   GM           EQUINOX             SAN FRANCISCO             CA
79381   3GNAXJEV4JS555044   GM           EQUINOX             Hayward                   CA
79382   3GNAXJEV4JS556503   GM           EQUINOX             Beaverton                 OR
79383   3GNAXJEV4JS556758   GM           EQUINOX             TRACY                     CA
79384   3GNAXJEV4JS556792   GM           EQUINOX             HONOLULU                  HI
79385   3GNAXJEV4JS557456   GM           EQUINOX             SAN FRANCISCO             CA
79386   3GNAXJEV4JS571034   GM           EQUINOX             Orlando                   FL
79387   3GNAXJEV4JS571471   GM           EQUINOX             Hartford                  CT
79388   3GNAXJEV4JS575813   GM           EQUINOX             ORLANDO                   FL
79389   3GNAXJEV4JS577612   GM           EQUINOX             SAN FRANCISCO             CA
79390   3GNAXJEV4JS578260   GM           EQUINOX             Beaverton                 OR
79391   3GNAXJEV4JS580056   GM           EQUINOX             LIHUE AP KAUAI            HI
79392   3GNAXJEV5JS555165   GM           EQUINOX             LIHUE AP KAUAI            HI
79393   3GNAXJEV5JS555358   GM           EQUINOX             LIHUE                     HI
79394   3GNAXJEV5JS556137   GM           EQUINOX             LIHUE AP KAUAI            HI
79395   3GNAXJEV5JS569311   GM           EQUINOX             Davie                     FL
79396   3GNAXJEV5JS570152   GM           EQUINOX             Hayward                   CA
79397   3GNAXJEV5JS570264   GM           EQUINOX             SEA TAC                   WA
79398   3GNAXJEV5JS570362   GM           EQUINOX             Kahului                   HI
79399   3GNAXJEV5JS570636   GM           EQUINOX             KAHULUI MAUI              HI
79400   3GNAXJEV5JS573679   GM           EQUINOX             DAYTONA BEACH             FL
79401   3GNAXJEV5JS576226   GM           EQUINOX             FORT LAUDERDALE           FL
79402   3GNAXJEV5JS577019   GM           EQUINOX             Lihue                     HI
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79403   3GNAXJEV5JS579286   GM           EQUINOX             Honolulu                  HI
79404   3GNAXJEV5JS580521   GM           EQUINOX             Portland                  OR
79405   3GNAXJEV6JS556583   GM           EQUINOX             KAHULUI                   HI
79406   3GNAXJEV6JS556843   GM           EQUINOX             Kailua‐Kona               HI
79407   3GNAXJEV6JS558107   GM           EQUINOX             Portland                  OR
79408   3GNAXJEV6JS558219   GM           EQUINOX             Portland                  OR
79409   3GNAXJEV6JS568345   GM           EQUINOX             Manheim                   PA
79410   3GNAXJEV6JS571701   GM           EQUINOX             ORLANDO                   FL
79411   3GNAXJEV6JS572475   GM           EQUINOX             Ft. Myers                 FL
79412   3GNAXJEV6JS578096   GM           EQUINOX             Honolulu                  HI
79413   3GNAXJEV6JS580995   GM           EQUINOX             HONOLULU                  HI
79414   3GNAXJEV6JS630679   GM           EQUINOX             Elkridge                  MD
79415   3GNAXJEV7JS554728   GM           EQUINOX             Portland                  OR
79416   3GNAXJEV7JS554762   GM           EQUINOX             North Las Vegas           NV
79417   3GNAXJEV7JS555233   GM           EQUINOX             TRACY                     CA
79418   3GNAXJEV7JS555474   GM           EQUINOX             Roseville                 CA
79419   3GNAXJEV7JS556186   GM           EQUINOX             TRACY                     CA
79420   3GNAXJEV7JS556303   GM           EQUINOX             KAHULUI                   HI
79421   3GNAXJEV7JS557743   GM           EQUINOX             Hayward                   CA
79422   3GNAXJEV7JS558097   GM           EQUINOX             Beaverton                 OR
79423   3GNAXJEV7JS571903   GM           EQUINOX             Ft. Myers                 FL
79424   3GNAXJEV7JS572775   GM           EQUINOX             Jacksonville              FL
79425   3GNAXJEV7JS575160   GM           EQUINOX             Davie                     FL
79426   3GNAXJEV7JS577233   GM           EQUINOX             TRACY                     CA
79427   3GNAXJEV7JS618668   GM           EQUINOX             Manheim                   PA
79428   3GNAXJEV8JS554933   GM           EQUINOX             TRACY                     CA
79429   3GNAXJEV8JS555905   GM           EQUINOX             Santa Clara               CA
79430   3GNAXJEV8JS557489   GM           EQUINOX             KAHULUI                   HI
79431   3GNAXJEV8JS558609   GM           EQUINOX             North Las Vegas           NV
79432   3GNAXJEV8JS572235   GM           EQUINOX             TRACY                     CA
79433   3GNAXJEV8JS572591   GM           EQUINOX             MIAMI                     FL
79434   3GNAXJEV8JS572798   GM           EQUINOX             TRACY                     CA
79435   3GNAXJEV8JS575779   GM           EQUINOX             TAMPA                     FL
79436   3GNAXJEV8JS579122   GM           EQUINOX             LIHUE                     HI
79437   3GNAXJEV8JS579606   GM           EQUINOX             KAUAI                     HI
79438   3GNAXJEV8JS579833   GM           EQUINOX             Portland                  OR
79439   3GNAXJEV9JS555041   GM           EQUINOX             Fontana                   CA
79440   3GNAXJEV9JS556738   GM           EQUINOX             Kahului                   HI
79441   3GNAXJEV9JS557050   GM           EQUINOX             LIHUE                     HI
79442   3GNAXJEV9JS558036   GM           EQUINOX             LIHUE                     HI
79443   3GNAXJEV9JS558845   GM           EQUINOX             North Las Vegas           NV
79444   3GNAXJEV9JS559168   GM           EQUINOX             North Las Vegas           NV
79445   3GNAXJEV9JS569263   GM           EQUINOX             WEST PALM BEACH           FL
79446   3GNAXJEV9JS570395   GM           EQUINOX             TRACY                     CA
79447   3GNAXJEV9JS570820   GM           EQUINOX             North Las Vegas           NV
79448   3GNAXJEV9JS615786   GM           EQUINOX             San Diego                 CA
79449   3GNAXJEVXJS555517   GM           EQUINOX             SAN FRANCISCO             CA
79450   3GNAXJEVXJS555551   GM           EQUINOX             LIHUE                     HI
79451   3GNAXJEVXJS555629   GM           EQUINOX             Portland                  OR
79452   3GNAXJEVXJS556442   GM           EQUINOX             Fontana                   CA
79453   3GNAXJEVXJS570051   GM           EQUINOX             Pasadena                  CA
79454   3GNAXJEVXJS571734   GM           EQUINOX             North Las Vegas           NV
79455   3GNAXJEVXJS572575   GM           EQUINOX             Tampa                     FL
79456   3GNAXJEVXJS578313   GM           EQUINOX             EWA BEACH                 HI
79457   3GNAXKEV0KS540855   GM           EQUINOX             RALIEGH                   NC
79458   3GNAXKEV0LS585019   GM           EQUINOX             FORT MYERS                FL
79459   3GNAXKEV1LL206619   GM           EQUINOX             FORT MYERS                FL
79460   3GNAXKEV1LS584672   GM           EQUINOX             FORT MYERS                FL
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79461   3GNAXKEV2KL224769   GM           EQUINOX             Atlanta                   GA
79462   3GNAXKEV2LL207164   GM           EQUINOX             WHITE PLAINS              NY
79463   3GNAXKEV2LL207844   GM           EQUINOX             BIRMINGHAM                AL
79464   3GNAXKEV4KS539482   GM           EQUINOX             LOS ANGELES               CA
79465   3GNAXKEV4KS540552   GM           EQUINOX             OAKLAND                   CA
79466   3GNAXKEV5KL244014   GM           EQUINOX             Manheim                   PA
79467   3GNAXKEV5KS548031   GM           EQUINOX             Torrance                  CA
79468   3GNAXKEV6KL289656   GM           EQUINOX             KAILUA‐KONA               HI
79469   3GNAXKEV6KS539256   GM           EQUINOX             PHILADELPHIA              PA
79470   3GNAXKEV7KS540299   GM           EQUINOX             ONTARIO                   CA
79471   3GNAXKEV7KS546846   GM           EQUINOX             SAN DIEGO                 CA
79472   3GNAXKEV7KS548516   GM           EQUINOX             PHOENIX                   AZ
79473   3GNAXKEV7LS584496   GM           EQUINOX             MILWAUKEE                 WI
79474   3GNAXKEV8KS540635   GM           EQUINOX             PHOENIX                   AZ
79475   3GNAXKEV9KL313741   GM           EQUINOX             BRONX                     NY
79476   3GNAXKEV9KS540708   GM           EQUINOX             PORTLAND                  OR
79477   3GNAXKEV9KS540871   GM           EQUINOX             LOS ANGELES               CA
79478   3GNAXKEVXKL219903   GM           EQUINOX             Dallas                    TX
79479   3GNAXKEVXKL222834   GM           EQUINOX             NEWARK                    NJ
79480   3GNAXKEVXKS539390   GM           EQUINOX             LOS ANGELES               CA
79481   3GNAXKEVXLS584976   GM           EQUINOX             Little Rock               AR
79482   3GNAXKEVXLS585125   GM           EQUINOX             FORT MYERS                FL
79483   3GNAXSEV0JS533936   GM           EQUINOX             Greensboro                NC
79484   3GNAXSEV0JS570792   GM           EQUINOX             SARASOTA                  FL
79485   3GNAXSEV0JS572915   GM           EQUINOX             MIAMI                     FL
79486   3GNAXSEV0JS573384   GM           EQUINOX             Sarasota                  FL
79487   3GNAXSEV0JS589312   GM           EQUINOX             TAMPA                     FL
79488   3GNAXSEV0JS615052   GM           EQUINOX             HONOLULU                  HI
79489   3GNAXSEV0JS615715   GM           EQUINOX             SAN FRANCISCO             CA
79490   3GNAXSEV0JS615746   GM           EQUINOX             WAIMEA                    HI
79491   3GNAXSEV0JS616198   GM           EQUINOX             KAUAI                     HI
79492   3GNAXSEV0JS616217   GM           EQUINOX             Lihue                     HI
79493   3GNAXSEV0JS616346   GM           EQUINOX             HONOLULU                  HI
79494   3GNAXSEV0JS616539   GM           EQUINOX             KAHULUI                   HI
79495   3GNAXSEV0JS617058   GM           EQUINOX             KAHULUI                   HI
79496   3GNAXSEV0JS618632   GM           EQUINOX             Elkridge                  MD
79497   3GNAXSEV0JS632126   GM           EQUINOX             PHOENIX                   AZ
79498   3GNAXSEV0JS634250   GM           EQUINOX             Greensboro                NC
79499   3GNAXSEV1JS531175   GM           EQUINOX             CHARLESTON                WV
79500   3GNAXSEV1JS543410   GM           EQUINOX             Tampa                     FL
79501   3GNAXSEV1JS557842   GM           EQUINOX             TRACY                     CA
79502   3GNAXSEV1JS570834   GM           EQUINOX             MIAMI                     FL
79503   3GNAXSEV1JS590453   GM           EQUINOX             Dallas                    TX
79504   3GNAXSEV1JS595247   GM           EQUINOX             WEST PALM BEACH           FL
79505   3GNAXSEV1JS614234   GM           EQUINOX             KAHULUI                   HI
79506   3GNAXSEV1JS614279   GM           EQUINOX             Kahului                   HI
79507   3GNAXSEV1JS614332   GM           EQUINOX             KAHULUI                   HI
79508   3GNAXSEV1JS614427   GM           EQUINOX             KAHULUI                   HI
79509   3GNAXSEV1JS614430   GM           EQUINOX             SAN FRANCISCO             CA
79510   3GNAXSEV1JS614525   GM           EQUINOX             HILO                      HI
79511   3GNAXSEV1JS614847   GM           EQUINOX             KAUAI                     HI
79512   3GNAXSEV1JS614959   GM           EQUINOX             BURBANK                   CA
79513   3GNAXSEV1JS615285   GM           EQUINOX             BURBANK                   CA
79514   3GNAXSEV1JS615366   GM           EQUINOX             BURBANK                   CA
79515   3GNAXSEV1JS616842   GM           EQUINOX             KAHULUI                   HI
79516   3GNAXSEV1JS616968   GM           EQUINOX             Hilo                      HI
79517   3GNAXSEV1JS627971   GM           EQUINOX             PHOENIX                   AZ
79518   3GNAXSEV1JS628277   GM           EQUINOX             West Bountiful            UT
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79519   3GNAXSEV1JS631406   GM           EQUINOX             DENVER                    CO
79520   3GNAXSEV1JS634421   GM           EQUINOX             NEW YORK CITY             NY
79521   3GNAXSEV2JS537535   GM           EQUINOX             Davie                     FL
79522   3GNAXSEV2JS550642   GM           EQUINOX             Davie                     FL
79523   3GNAXSEV2JS551144   GM           EQUINOX
79524   3GNAXSEV2JS568686   GM           EQUINOX             Miami                     FL
79525   3GNAXSEV2JS569675   GM           EQUINOX             Elkridge                  MD
79526   3GNAXSEV2JS570969   GM           EQUINOX             DAYTONA BEACH             FL
79527   3GNAXSEV2JS573001   GM           EQUINOX             TAMPA                     US
79528   3GNAXSEV2JS574570   GM           EQUINOX             GLASSBORO                 NJ
79529   3GNAXSEV2JS600987   GM           EQUINOX             Manheim                   PA
79530   3GNAXSEV2JS614016   GM           EQUINOX             Hilo                      HI
79531   3GNAXSEV2JS614033   GM           EQUINOX             Hilo                      HI
79532   3GNAXSEV2JS614727   GM           EQUINOX             BURBANK                   CA
79533   3GNAXSEV2JS616199   GM           EQUINOX             KAHULUI                   HI
79534   3GNAXSEV2JS616607   GM           EQUINOX             KAHULUI                   HI
79535   3GNAXSEV2JS616638   GM           EQUINOX             LIHUE AP KAUAI            HI
79536   3GNAXSEV2JS617014   GM           EQUINOX             Hilo                      HI
79537   3GNAXSEV2JS617045   GM           EQUINOX             TRACY                     CA
79538   3GNAXSEV2JS627218   GM           EQUINOX             PHOENIX                   AZ
79539   3GNAXSEV2JS628398   GM           EQUINOX             Elkridge                  MD
79540   3GNAXSEV2JS628773   GM           EQUINOX             S. San Francisc           CA
79541   3GNAXSEV2JS632774   GM           EQUINOX             DETROIT                   MI
79542   3GNAXSEV2JS632998   GM           EQUINOX             CHICAGO                   US
79543   3GNAXSEV2JS633732   GM           EQUINOX             KNOXVILLE                 TN
79544   3GNAXSEV3JS525457   GM           EQUINOX             Manheim                   PA
79545   3GNAXSEV3JS545711   GM           EQUINOX             LAS VEGAS                 NV
79546   3GNAXSEV3JS546888   GM           EQUINOX             Davie                     FL
79547   3GNAXSEV3JS569359   GM           EQUINOX             Live Oak                  TX
79548   3GNAXSEV3JS571094   GM           EQUINOX             MILWAUKEE                 WI
79549   3GNAXSEV3JS571757   GM           EQUINOX             Jacksonville              FL
79550   3GNAXSEV3JS573461   GM           EQUINOX             Atlanta                   GA
79551   3GNAXSEV3JS574724   GM           EQUINOX             WEST PALM BEACH           FL
79552   3GNAXSEV3JS601372   GM           EQUINOX             Warminster                PA
79553   3GNAXSEV3JS614879   GM           EQUINOX             LIHUE AP KAUAI            HI
79554   3GNAXSEV3JS614915   GM           EQUINOX             KAUAI                     HI
79555   3GNAXSEV3JS615207   GM           EQUINOX             SAN FRANCISCO             CA
79556   3GNAXSEV3JS615773   GM           EQUINOX             KAHULUI                   HI
79557   3GNAXSEV3JS618656   GM           EQUINOX             FORT LAUDERDALE           FL
79558   3GNAXSEV3JS627499   GM           EQUINOX             SAN DIEGO                 CA
79559   3GNAXSEV3JS631777   GM           EQUINOX             Irving                    TX
79560   3GNAXSEV3JS634498   GM           EQUINOX             PHILADELPHIA              PA
79561   3GNAXSEV4JS569029   GM           EQUINOX             Jacksonville              FL
79562   3GNAXSEV4JS570388   GM           EQUINOX             FT LAUDERDALE             FL
79563   3GNAXSEV4JS572545   GM           EQUINOX             Winter Park               FL
79564   3GNAXSEV4JS591757   GM           EQUINOX             Greensboro                NC
79565   3GNAXSEV4JS614437   GM           EQUINOX             Portland                  OR
79566   3GNAXSEV4JS615684   GM           EQUINOX             KAUAI                     HI
79567   3GNAXSEV4JS617046   GM           EQUINOX             KAHULUI                   HI
79568   3GNAXSEV4JS628760   GM           EQUINOX             SALT LAKE CITY            US
79569   3GNAXSEV4JS631271   GM           EQUINOX             Tampa                     FL
79570   3GNAXSEV4JS632436   GM           EQUINOX             Greensboro                NC
79571   3GNAXSEV4JS632517   GM           EQUINOX             North Dighton             MA
79572   3GNAXSEV4JS632761   GM           EQUINOX             Manheim                   PA
79573   3GNAXSEV5JS546911   GM           EQUINOX             Atlanta                   GA
79574   3GNAXSEV5JS547105   GM           EQUINOX             Manheim                   PA
79575   3GNAXSEV5JS553602   GM           EQUINOX             MARIETTA                  GA
79576   3GNAXSEV5JS570108   GM           EQUINOX             Morrisville               NC
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79577   3GNAXSEV5JS570450   GM           EQUINOX             WARWICK                   RI
79578   3GNAXSEV5JS570772   GM           EQUINOX             Manheim                   PA
79579   3GNAXSEV5JS570903   GM           EQUINOX             ORLANDO                   FL
79580   3GNAXSEV5JS571811   GM           EQUINOX             DAYTONA BEACH             FL
79581   3GNAXSEV5JS587085   GM           EQUINOX             Davie                     FL
79582   3GNAXSEV5JS588639   GM           EQUINOX             Manheim                   PA
79583   3GNAXSEV5JS589287   GM           EQUINOX             White Plains              NY
79584   3GNAXSEV5JS594098   GM           EQUINOX             Manheim                   PA
79585   3GNAXSEV5JS600773   GM           EQUINOX             Elkridge                  MD
79586   3GNAXSEV5JS614236   GM           EQUINOX             Kailua‐Kona               HI
79587   3GNAXSEV5JS614494   GM           EQUINOX             KAHULUI                   HI
79588   3GNAXSEV5JS614933   GM           EQUINOX             HILO                      HI
79589   3GNAXSEV5JS614978   GM           EQUINOX             LIHUE                     HI
79590   3GNAXSEV5JS615399   GM           EQUINOX             HONOLULU                  HI
79591   3GNAXSEV5JS615774   GM           EQUINOX             KAUAI                     HI
79592   3GNAXSEV5JS616147   GM           EQUINOX             KAHULUI                   HI
79593   3GNAXSEV5JS616553   GM           EQUINOX             KAHULUI                   HI
79594   3GNAXSEV5JS617153   GM           EQUINOX             KAUAI                     HI
79595   3GNAXSEV5JS618366   GM           EQUINOX             San Diego                 CA
79596   3GNAXSEV5JS632090   GM           EQUINOX             Union City                GA
79597   3GNAXSEV5JS634910   GM           EQUINOX             SAINT PAUL                MN
79598   3GNAXSEV6JS532189   GM           EQUINOX             Hartford                  CT
79599   3GNAXSEV6JS546285   GM           EQUINOX             HOUSTON                   TX
79600   3GNAXSEV6JS551325   GM           EQUINOX             TRACY                     CA
79601   3GNAXSEV6JS569551   GM           EQUINOX             North Dighton             MA
79602   3GNAXSEV6JS575091   GM           EQUINOX             Sanford                   FL
79603   3GNAXSEV6JS575947   GM           EQUINOX             Pasadena                  CA
79604   3GNAXSEV6JS576211   GM           EQUINOX             North Dighton             MA
79605   3GNAXSEV6JS576547   GM           EQUINOX             Sarasota                  FL
79606   3GNAXSEV6JS594272   GM           EQUINOX             Rockville Centr           NY
79607   3GNAXSEV6JS614438   GM           EQUINOX             Honolulu                  HI
79608   3GNAXSEV6JS615749   GM           EQUINOX             TRACY                     CA
79609   3GNAXSEV6JS615802   GM           EQUINOX             WAIMEA                    HI
79610   3GNAXSEV6JS616402   GM           EQUINOX             KAHULUI                   HI
79611   3GNAXSEV6JS625195   GM           EQUINOX             Greensboro                NC
79612   3GNAXSEV6JS627108   GM           EQUINOX             CHARLOTTE                 NC
79613   3GNAXSEV6JS631353   GM           EQUINOX
79614   3GNAXSEV6JS634009   GM           EQUINOX             BURBANK                   CA
79615   3GNAXSEV7JS546781   GM           EQUINOX             Hanover                   MD
79616   3GNAXSEV7JS546893   GM           EQUINOX             Jacksonville              FL
79617   3GNAXSEV7JS568652   GM           EQUINOX             Bordentown                NJ
79618   3GNAXSEV7JS570045   GM           EQUINOX             Smithtown                 NY
79619   3GNAXSEV7JS570742   GM           EQUINOX             Ft. Myers                 FL
79620   3GNAXSEV7JS571048   GM           EQUINOX             FORT LAUDERDALE           FL
79621   3GNAXSEV7JS572281   GM           EQUINOX             DALLAS                    TX
79622   3GNAXSEV7JS576895   GM           EQUINOX             Tampa                     FL
79623   3GNAXSEV7JS593504   GM           EQUINOX             Santa Clara               CA
79624   3GNAXSEV7JS606798   GM           EQUINOX             Bensalem                  PA
79625   3GNAXSEV7JS614044   GM           EQUINOX             Honolulu                  HI
79626   3GNAXSEV7JS614125   GM           EQUINOX             KALAOA                    HI
79627   3GNAXSEV7JS614223   GM           EQUINOX             SAN FRANCISCO             CA
79628   3GNAXSEV7JS614478   GM           EQUINOX             KAHULUI                   HI
79629   3GNAXSEV7JS614514   GM           EQUINOX             KAHULUI                   HI
79630   3GNAXSEV7JS615260   GM           EQUINOX             KAHULUI                   HI
79631   3GNAXSEV7JS615324   GM           EQUINOX             WAIMEA                    HI
79632   3GNAXSEV7JS615369   GM           EQUINOX             BURBANK                   CA
79633   3GNAXSEV7JS615730   GM           EQUINOX             SAN FRANCISCO             CA
79634   3GNAXSEV7JS616022   GM           EQUINOX             KAHULUI                   HI
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79635   3GNAXSEV7JS616604   GM           EQUINOX             KAUAI                     HI
79636   3GNAXSEV7JS616991   GM           EQUINOX             TRACY                     CA
79637   3GNAXSEV7JS631135   GM           EQUINOX             RONKONKOMA                NY
79638   3GNAXSEV7JS631944   GM           EQUINOX             Manheim                   PA
79639   3GNAXSEV7JS633273   GM           EQUINOX             Jacksonville              FL
79640   3GNAXSEV7JS634245   GM           EQUINOX             ORLANDO                   FL
79641   3GNAXSEV8JS546272   GM           EQUINOX             North Dighton             MA
79642   3GNAXSEV8JS546904   GM           EQUINOX             Santa Clara               CA
79643   3GNAXSEV8JS553156   GM           EQUINOX             Anaheim                   CA
79644   3GNAXSEV8JS570779   GM           EQUINOX             MEMPHIS                   TN
79645   3GNAXSEV8JS571382   GM           EQUINOX             North Billerica           MA
79646   3GNAXSEV8JS572354   GM           EQUINOX             Tolleson                  AZ
79647   3GNAXSEV8JS572659   GM           EQUINOX             Ft. Myers                 FL
79648   3GNAXSEV8JS614005   GM           EQUINOX             KAHULUI                   HI
79649   3GNAXSEV8JS614523   GM           EQUINOX             Kahului                   HI
79650   3GNAXSEV8JS614716   GM           EQUINOX             Portland                  OR
79651   3GNAXSEV8JS615154   GM           EQUINOX             KAHULUI                   HI
79652   3GNAXSEV8JS615395   GM           EQUINOX             SAN FRANCISCO             CA
79653   3GNAXSEV8JS616627   GM           EQUINOX             LIHUE                     HI
79654   3GNAXSEV8JS631399   GM           EQUINOX             Warwick                   RI
79655   3GNAXSEV8JS631452   GM           EQUINOX             SAN DIEGO                 CA
79656   3GNAXSEV8JS633685   GM           EQUINOX             Rio Linda                 CA
79657   3GNAXSEV9JS535376   GM           EQUINOX             Tampa                     FL
79658   3GNAXSEV9JS568359   GM           EQUINOX             WEST PALM BEACH           FL
79659   3GNAXSEV9JS568362   GM           EQUINOX             Ft. Myers                 FL
79660   3GNAXSEV9JS573139   GM           EQUINOX             MIAMI                     FL
79661   3GNAXSEV9JS587509   GM           EQUINOX             Manheim                   PA
79662   3GNAXSEV9JS614000   GM           EQUINOX             Honolulu                  HI
79663   3GNAXSEV9JS614482   GM           EQUINOX             KAHULUI                   HI
79664   3GNAXSEV9JS616037   GM           EQUINOX             Hilo                      HI
79665   3GNAXSEV9JS617057   GM           EQUINOX             SAN FRANCISCO             CA
79666   3GNAXSEV9JS617267   GM           EQUINOX             Kahului                   HI
79667   3GNAXSEV9JS620184   GM           EQUINOX             Atlanta                   GA
79668   3GNAXSEV9JS626440   GM           EQUINOX             SEA TAC                   WA
79669   3GNAXSEV9JS634439   GM           EQUINOX             Smithtown                 NY
79670   3GNAXSEVXJS546676   GM           EQUINOX             Winston‐Salem             NC
79671   3GNAXSEVXJS568435   GM           EQUINOX             LAS VEGAS                 NV
79672   3GNAXSEVXJS576440   GM           EQUINOX             Estero                    FL
79673   3GNAXSEVXJS587423   GM           EQUINOX             Rockville Centr           NY
79674   3GNAXSEVXJS592508   GM           EQUINOX             FT LAUDERDALE             FL
79675   3GNAXSEVXJS614085   GM           EQUINOX             KAHULUI                   HI
79676   3GNAXSEVXJS614457   GM           EQUINOX             Kahului                   HI
79677   3GNAXSEVXJS614877   GM           EQUINOX             Hilo                      HI
79678   3GNAXSEVXJS615298   GM           EQUINOX             KALAOA                    HI
79679   3GNAXSEVXJS615317   GM           EQUINOX             WAIMEA                    HI
79680   3GNAXSEVXJS615575   GM           EQUINOX             Kahului                   HI
79681   3GNAXSEVXJS615642   GM           EQUINOX             KAHULUI                   HI
79682   3GNAXSEVXJS616208   GM           EQUINOX             HILO                      HI
79683   3GNAXSEVXJS616239   GM           EQUINOX             Hilo                      HI
79684   3GNAXSEVXJS617309   GM           EQUINOX             Honolulu                  HI
79685   3GNAXSEVXJS621960   GM           EQUINOX             INDIANAPOLIS              IN
79686   3GNAXSEVXJS626866   GM           EQUINOX             SEATAC                    WA
79687   3GNAXSEVXJS628360   GM           EQUINOX             Lake Elsinore             CA
79688   3GNAXSEVXJS633817   GM           EQUINOX             Manheim                   PA
79689   3GNAXSEVXJS633929   GM           EQUINOX             Anaheim                   CA
79690   3GNAXUEV0KS535988   GM           EQUINOX             Manheim                   PA
79691   3GNAXUEV0KS537742   GM           EQUINOX             DALLAS                    TX
79692   3GNAXUEV0LS578731   GM           EQUINOX             SARASOTA                  FL
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79693   3GNAXUEV0LS578907   GM           EQUINOX             ORLANDO                   FL
79694   3GNAXUEV0LS578938   GM           EQUINOX             LORTON                    VA
79695   3GNAXUEV0LS579166   GM           EQUINOX             RALEIGH                   NC
79696   3GNAXUEV0LS580317   GM           EQUINOX             Atlanta                   GA
79697   3GNAXUEV0LS583668   GM           EQUINOX             Ft. Myers                 FL
79698   3GNAXUEV0LS584304   GM           EQUINOX             FORT MYERS                FL
79699   3GNAXUEV0LS585341   GM           EQUINOX             MIAMI                     FL
79700   3GNAXUEV0LS585355   GM           EQUINOX             ATLANTA                   GA
79701   3GNAXUEV1KL232700   GM           EQUINOX             PHOENIX                   AZ
79702   3GNAXUEV1KL319562   GM           EQUINOX             CHARLOTTE                 NC
79703   3GNAXUEV1KS536955   GM           EQUINOX             DENVER                    CO
79704   3GNAXUEV1LS578866   GM           EQUINOX             TAMPA                     FL
79705   3GNAXUEV1LS579032   GM           EQUINOX             WEST PALM BEACH           FL
79706   3GNAXUEV1LS579239   GM           EQUINOX             ORLANDO                   FL
79707   3GNAXUEV1LS583470   GM           EQUINOX             FORT MYERS                FL
79708   3GNAXUEV1LS584201   GM           EQUINOX             FORT MYERS                FL
79709   3GNAXUEV1LS584277   GM           EQUINOX             WEST PALM BEACH           FL
79710   3GNAXUEV2KL247867   GM           EQUINOX             LOS ANGELES               CA
79711   3GNAXUEV2KS536270   GM           EQUINOX             Oklahoma City             OK
79712   3GNAXUEV2LS583638   GM           EQUINOX             ORLANDO                   FL
79713   3GNAXUEV2LS584756   GM           EQUINOX             TAMPA                     FL
79714   3GNAXUEV3LS578576   GM           EQUINOX             Atlanta                   GA
79715   3GNAXUEV4KS536352   GM           EQUINOX             Scottsdale                AZ
79716   3GNAXUEV4LL206920   GM           EQUINOX             NEW BERN                  NC
79717   3GNAXUEV4LL207758   GM           EQUINOX             FORT MYERS                FL
79718   3GNAXUEV4LL208215   GM           EQUINOX             ATLANTA                   GA
79719   3GNAXUEV4LS580823   GM           EQUINOX             CHARLESTON                WV
79720   3GNAXUEV4LS584337   GM           EQUINOX             DETROIT                   MI
79721   3GNAXUEV5KL293001   GM           EQUINOX             HILO                      HI
79722   3GNAXUEV5LS584248   GM           EQUINOX             ORLANDO                   FL
79723   3GNAXUEV6LL139267   GM           EQUINOX             LOS ANGELES               CA
79724   3GNAXUEV6LS580421   GM           EQUINOX             Atlanta                   GA
79725   3GNAXUEV6LS580452   GM           EQUINOX             FORT MYERS                FL
79726   3GNAXUEV6LS580855   GM           EQUINOX             Denver                    CO
79727   3GNAXUEV6LS583965   GM           EQUINOX             NEW BERN                  NC
79728   3GNAXUEV7KL219594   GM           EQUINOX             MORROW                    GA
79729   3GNAXUEV7KS536233   GM           EQUINOX             JACKSON                   MS
79730   3GNAXUEV7LS580556   GM           EQUINOX             CLEVELAND                 OH
79731   3GNAXUEV7LS580721   GM           EQUINOX             LOS ANGELES               CA
79732   3GNAXUEV7LS584350   GM           EQUINOX             RICHMOND                  VA
79733   3GNAXUEV7LS585272   GM           EQUINOX             ORLANDO                   FL
79734   3GNAXUEV7LS585319   GM           EQUINOX             FORT LAUDERDALE           FL
79735   3GNAXUEV8KS535222   GM           EQUINOX             Massapequa                NY
79736   3GNAXUEV9KS535181   GM           EQUINOX             ORLANDO                   FL
79737   3GNAXUEV9LS578503   GM           EQUINOX             PHILADELPHIA              PA
79738   3GNAXUEV9LS578534   GM           EQUINOX             TAMPA                     FL
79739   3GNAXUEV9LS583362   GM           EQUINOX             FORT MYERS                FL
79740   3GNAXUEVXKL218665   GM           EQUINOX             ALBUQUERQUE               NM
79741   3GNAXUEVXKS537604   GM           EQUINOX             Manheim                   PA
79742   3GNAXUEVXKS537764   GM           EQUINOX             PALM SPRINGS              CA
79743   3GNAXUEVXLS578638   GM           EQUINOX             ORLANDO                   FL
79744   3GNAXUEVXLS578834   GM           EQUINOX             TAMPA                     FL
79745   3GNCJKSB0HL236612   GM           TRAX                Chicago                   IL
79746   3GNCJKSB0HL260442   GM           TRAX                Slidell                   LA
79747   3GNCJKSB0KL158548   GM           TRAX                Las Vegas                 NV
79748   3GNCJKSB1GL250730   GM           TRAX                CHICAGO                   IL
79749   3GNCJKSB1HL157434   GM           TRAX                BURBANK                   CA
79750   3GNCJKSB1HL268596   GM           TRAX                FORT MYERS                FL
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79751   3GNCJKSB1HL290176   GM           TRAX                SANTA ANA                 CA
79752   3GNCJKSB2HL167888   GM           TRAX                CHICAGO                   IL
79753   3GNCJKSB2HL251189   GM           TRAX                Phoenix                   AZ
79754   3GNCJKSB2HL254156   GM           TRAX                Detroit                   MI
79755   3GNCJKSB3GL182768   GM           TRAX                NEW ENGLAND DEALER        MA
79756   3GNCJKSB3GL247246   GM           TRAX                ORLANDO                   FL
79757   3GNCJKSB3HL267949   GM           TRAX                GRAND RAPIDS              MI
79758   3GNCJKSB4HL168475   GM           TRAX                Phoenix                   AZ
79759   3GNCJKSB4HL175331   GM           TRAX                BURBANK                   CA
79760   3GNCJKSB4HL176267   GM           TRAX                PALM SPRINGS              CA
79761   3GNCJKSB4HL243823   GM           TRAX                LAS VEGAS                 NV
79762   3GNCJKSB5HL256113   GM           TRAX                SANFORD                   FL
79763   3GNCJKSB5HL268343   GM           TRAX                Chicago                   IL
79764   3GNCJKSB6GL127781   GM           TRAX                DES PLAINES               US
79765   3GNCJKSB6GL240453   GM           TRAX                CHICAGO                   IL
79766   3GNCJKSB6GL260380   GM           TRAX                Tampa                     FL
79767   3GNCJKSB6HL230619   GM           TRAX                Indianapolis              IN
79768   3GNCJKSB6JL298988   GM           TRAX                LOS ANGELES               CA
79769   3GNCJKSB7GL255494   GM           TRAX                Hanover                   MD
79770   3GNCJKSB7HL255352   GM           TRAX                SOUTHEAST DST OFFC        OK
79771   3GNCJKSB7HL268361   GM           TRAX                Santa Clara               CA
79772   3GNCJKSB7HL268800   GM           TRAX                Lake Elsinore             CA
79773   3GNCJKSB8GL222262   GM           TRAX                PHILADELPHIA              PA
79774   3GNCJKSB8GL264026   GM           TRAX                BURBANK                   CA
79775   3GNCJKSB8GL271025   GM           TRAX                Stone Mountain            GA
79776   3GNCJKSB8HL242478   GM           TRAX                Denver                    CO
79777   3GNCJKSB8HL287372   GM           TRAX                Cleveland                 OH
79778   3GNCJKSB8KL183620   GM           TRAX                PHOENIX                   AZ
79779   3GNCJKSB9HL268183   GM           TRAX                LOS ANGELES               CA
79780   3GNCJKSB9HL278941   GM           TRAX                Sacramento                CA
79781   3GNCJKSB9JL354129   GM           TRAX                SACRAMENTO                CA
79782   3GNCJKSB9KL152442   GM           TRAX                San Diego                 CA
79783   3GNCJKSBXHL236505   GM           TRAX                NEW YORK CITY             NY
79784   3GNCJKSBXHL268502   GM           TRAX                San Diego                 CA
79785   3GNCJLSB0GL246433   GM           TRAX                Tampa                     FL
79786   3GNCJLSB0GL265662   GM           TRAX                CHICAGO                   IL
79787   3GNCJLSB0HL281068   GM           TRAX                Des Moines                IA
79788   3GNCJLSB0JL157212   GM           TRAX                MELROSE PARK              IL
79789   3GNCJLSB0JL168193   GM           TRAX                Miami                     FL
79790   3GNCJLSB1GL253567   GM           TRAX                CHICAGO                   IL
79791   3GNCJLSB1GL274578   GM           TRAX                FLORIDA DEALER DIR        FL
79792   3GNCJLSB1HL233093   GM           TRAX                Louisville                KY
79793   3GNCJLSB1JL158434   GM           TRAX                MIAMI                     FL
79794   3GNCJLSB1JL160409   GM           TRAX                CHANDLER                  AZ
79795   3GNCJLSB1JL174374   GM           TRAX                TAMPA                     FL
79796   3GNCJLSB1JL233620   GM           TRAX                Ft. Myers                 FL
79797   3GNCJLSB2GL237913   GM           TRAX                Sacramento                CA
79798   3GNCJLSB2GL263248   GM           TRAX                Norwalk                   CA
79799   3GNCJLSB2HL150529   GM           TRAX                Columbus                  OH
79800   3GNCJLSB2HL288572   GM           TRAX                SAINT PAUL                MN
79801   3GNCJLSB2JL230712   GM           TRAX                Miami                     FL
79802   3GNCJLSB3GL114461   GM           TRAX                Fredericksburg            VA
79803   3GNCJLSB3GL153275   GM           TRAX                CENTRAL DIST OFFC         OK
79804   3GNCJLSB3HL250641   GM           TRAX                DETROIT                   MI
79805   3GNCJLSB3HL264684   GM           TRAX                Cudahy                    WI
79806   3GNCJLSB3JL179463   GM           TRAX                Miami                     FL
79807   3GNCJLSB3JL238544   GM           TRAX                Cedar Rapids              IA
79808   3GNCJLSB4GL248637   GM           TRAX                Austell                   GA
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79809   3GNCJLSB4GL279306   GM           TRAX                Hamilton                  OH
79810   3GNCJLSB4JL230629   GM           TRAX                N. Palm Beach             FL
79811   3GNCJLSB5HL175599   GM           TRAX                PORTLAND                  OR
79812   3GNCJLSB5HL218306   GM           TRAX                LOS ANGELES               CA
79813   3GNCJLSB5HL272043   GM           TRAX                Lexington                 KY
79814   3GNCJLSB5JL156749   GM           TRAX                LAS VEGAS                 NV
79815   3GNCJLSB5JL183515   GM           TRAX                DALLAS                    TX
79816   3GNCJLSB5JL230249   GM           TRAX                DARLINGTON                SC
79817   3GNCJLSB5JL235905   GM           TRAX                Scottsdale                AZ
79818   3GNCJLSB5JL237931   GM           TRAX                OAKLAND                   CA
79819   3GNCJLSB6GL227496   GM           TRAX                TRACY                     CA
79820   3GNCJLSB6GL266444   GM           TRAX                FORT LAUDERDALE           FL
79821   3GNCJLSB6HL225166   GM           TRAX                Riverside                 CA
79822   3GNCJLSB6JL174600   GM           TRAX                TAMPA                     FL
79823   3GNCJLSB6JL177531   GM           TRAX                Miami                     FL
79824   3GNCJLSB6JL238005   GM           TRAX                LOS ANGELES               CA
79825   3GNCJLSB6JL250090   GM           TRAX                BURBANK                   CA
79826   3GNCJLSB6JL250543   GM           TRAX                PHOENIX                   AZ
79827   3GNCJLSB7JL178817   GM           TRAX                MIAMI INT'L AP            FL
79828   3GNCJLSB7JL237235   GM           TRAX                Rock Hill                 SC
79829   3GNCJLSB8GL150467   GM           TRAX                BURBANK                   CA
79830   3GNCJLSB8GL238368   GM           TRAX                Chicago                   IL
79831   3GNCJLSB8HL171434   GM           TRAX                SANFORD                   FL
79832   3GNCJLSB8HL225055   GM           TRAX                NEW YORK CITY             NY
79833   3GNCJLSB8HL255172   GM           TRAX                WEST DUNDEE               IL
79834   3GNCJLSB8JL155532   GM           TRAX                OAKLAND                   CA
79835   3GNCJLSB8JL170113   GM           TRAX                N MIAMI BEACH             FL
79836   3GNCJLSB8JL173027   GM           TRAX                SAN ANTONIO               TX
79837   3GNCJLSB8JL222405   GM           TRAX                Euless                    TX
79838   3GNCJLSB8JL230603   GM           TRAX                Statesville               NC
79839   3GNCJLSB9GL149361   GM           TRAX                SANTA ANA                 CA
79840   3GNCJLSB9GL204357   GM           TRAX                CHICAGO                   IL
79841   3GNCJLSB9GL225287   GM           TRAX                CHICAGO                   IL
79842   3GNCJLSB9GL233860   GM           TRAX                SAN ANTONIO               TX
79843   3GNCJLSB9HL173936   GM           TRAX                BURBANK                   CA
79844   3GNCJLSB9HL249347   GM           TRAX                CHICAGO                   IL
79845   3GNCJLSB9HL249770   GM           TRAX                BLOOMINGTON               IL
79846   3GNCJLSB9JL180567   GM           TRAX                KENNER                    LA
79847   3GNCJLSB9KL213181   GM           TRAX                Lake Elsinore             CA
79848   3GNCJLSBXGL137669   GM           TRAX                SPRINGFIELD               VA
79849   3GNCJLSBXGL221913   GM           TRAX                SCHILLER PARK             IL
79850   3GNCJLSBXHL159463   GM           TRAX                NEW ORLEANS               LA
79851   3GNCJLSBXHL205650   GM           TRAX                Atlanta                   GA
79852   3GNCJLSBXHL253665   GM           TRAX                Memphis                   TN
79853   3GNCJLSBXJL162952   GM           TRAX                WEST PALM BEACH           FL
79854   3GNCJLSBXJL227671   GM           TRAX                BURNSVILLE                MN
79855   3GNCJLSBXJL248861   GM           TRAX                ROSEVILLE                 CA
79856   3GNCJMSB0GL276179   GM           TRAX                CHICAGO                   IL
79857   3GNCJMSB9HL178303   GM           TRAX                SANTA ANA                 CA
79858   3GNCJNSB3JL330989   GM           TRAX                NEW ENGLAND DEALER        MA
79859   3GNCJNSB4HL218633   GM           TRAX                BOSTON                    MA
79860   3GNCJNSB5GL243247   GM           TRAX                BROOK PARK                OH
79861   3GNCJNSB5GL262929   GM           TRAX                Philadelphia              PA
79862   3GNCJNSB5HL173136   GM           TRAX                PHILADELPHIA              PA
79863   3GNCJNSB5HL209262   GM           TRAX                DALLAS                    TX
79864   3GNCJNSB7GL265329   GM           TRAX                Chicago                   IL
79865   3GNCJNSB9HL281288   GM           TRAX                Coraopolis                PA
79866   3GNCJPSB0GL143083   GM           TRAX                CHICAGO                   IL
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79867   3GNCJPSB0JL170307   GM           TRAX                PORTLAND                  OR
79868   3GNCJPSB0JL200051   GM           TRAX                Pompano Beach             FL
79869   3GNCJPSB1GL226652   GM           TRAX                Elkridge                  MD
79870   3GNCJPSB2GL236638   GM           TRAX                North Billerica           MA
79871   3GNCJPSB3GL279725   GM           TRAX                STERLING                  VA
79872   3GNCJPSB3JL166137   GM           TRAX                SOUTHEAST DST OFFC        OK
79873   3GNCJPSB3JL201193   GM           TRAX                DAYTONA BEACH             FL
79874   3GNCJPSB4GL280382   GM           TRAX                DES PLAINES               IL
79875   3GNCJPSB4JL181259   GM           TRAX                Anaheim                   CA
79876   3GNCJPSB5GL239758   GM           TRAX                DES MOINES                IA
79877   3GNCJPSB5HL242600   GM           TRAX                Tampa                     FL
79878   3GNCJPSB5JL171632   GM           TRAX                CHICAGO                   IL
79879   3GNCJPSB6JL158064   GM           TRAX                CHICAGO                   IL
79880   3GNCJPSB6JL170652   GM           TRAX                Mira Loma                 CA
79881   3GNCJPSB6JL180128   GM           TRAX                North Las Vegas           NV
79882   3GNCJPSB6JL184471   GM           TRAX                South San Franc           CA
79883   3GNCJPSB7GL253466   GM           TRAX                SAN DIEGO                 CA
79884   3GNCJPSB9GL214149   GM           TRAX                Chicago                   IL
79885   3GNCJPSB9GL258488   GM           TRAX                STERLING                  VA
79886   3GNCJPSB9JL185937   GM           TRAX                Atlanta                   GA
79887   3GNCJPSBXJL181637   GM           TRAX                Manheim                   PA
79888   3GNCJPSBXJL199975   GM           TRAX                POMPANO BEACH             F
79889   3GNCJRSB1FL186938   GM           TRAX                Fort Lauderdale           FL
79890   3GNCJRSB4GL211655   GM           TRAX                Chicago                   IL
79891   3GNCJRSB6GL215111   GM           TRAX                Indianapolis              IN
79892   3GNKBCRS0LS530613   GM           BLAZER              PHOENIX                   AZ
79893   3GNKBCRS0LS530868   GM           BLAZER              Phoenix                   AZ
79894   3GNKBCRS0LS531521   GM           BLAZER              Scottsdale                AZ
79895   3GNKBCRS0LS535469   GM           BLAZER              FRESNO                    CA
79896   3GNKBCRS0LS552109   GM           BLAZER              WEST PALM BEACH           FL
79897   3GNKBCRS0LS575471   GM           BLAZER              Atlanta                   GA
79898   3GNKBCRS0LS577947   GM           BLAZER              ORLANDO                   FL
79899   3GNKBCRS0LS578659   GM           BLAZER              STERLING                  VA
79900   3GNKBCRS0LS583358   GM           BLAZER              FORT MYERS                FL
79901   3GNKBCRS0LS583425   GM           BLAZER              Miami                     FL
79902   3GNKBCRS0LS583845   GM           BLAZER              ORLANDO                   FL
79903   3GNKBCRS0LS585949   GM           BLAZER              FORT MYERS                FL
79904   3GNKBCRS0LS585983   GM           BLAZER              SARASOTA                  FL
79905   3GNKBCRS0LS592917   GM           BLAZER              FORT LAUDERDALE           FL
79906   3GNKBCRS0LS593503   GM           BLAZER              FORT MYERS                FL
79907   3GNKBCRS1LS531186   GM           BLAZER              PHOENIX                   AZ
79908   3GNKBCRS1LS532984   GM           BLAZER              Scottsdale                AZ
79909   3GNKBCRS1LS533410   GM           BLAZER              PHOENIX                   AZ
79910   3GNKBCRS1LS534668   GM           BLAZER              PHOENIX                   AZ
79911   3GNKBCRS1LS535173   GM           BLAZER              LAS VEGAS                 NV
79912   3GNKBCRS1LS535481   GM           BLAZER              LOS ANGELES               CA
79913   3GNKBCRS1LS547758   GM           BLAZER              SARASOTA                  FL
79914   3GNKBCRS1LS547792   GM           BLAZER              TAMPA                     FL
79915   3GNKBCRS1LS548134   GM           BLAZER              SANFORD                   FL
79916   3GNKBCRS1LS578783   GM           BLAZER              PHILADELPHIA              PA
79917   3GNKBCRS1LS583367   GM           BLAZER              FORT MYERS                FL
79918   3GNKBCRS1LS583465   GM           BLAZER              JACKSONVILLE              FL
79919   3GNKBCRS1LS585507   GM           BLAZER              TAMPA                     FL
79920   3GNKBCRS1LS585555   GM           BLAZER              PHILADELPHIA              PA
79921   3GNKBCRS1LS585958   GM           BLAZER              El Segundo                CA
79922   3GNKBCRS1LS585961   GM           BLAZER              CHARLESTON                WV
79923   3GNKBCRS1LS585975   GM           BLAZER              ORLANDO                   FL
79924   3GNKBCRS1LS593624   GM           BLAZER              TAMPA                     FL
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79925   3GNKBCRS1LS594031   GM           BLAZER              FORT MYERS                FL
79926   3GNKBCRS2LS530371   GM           BLAZER              PHOENIX                   AZ
79927   3GNKBCRS2LS532105   GM           BLAZER              PHOENIX                   AZ
79928   3GNKBCRS2LS532122   GM           BLAZER              LAS VEGAS                 NV
79929   3GNKBCRS2LS533772   GM           BLAZER              EL PASO                   TX
79930   3GNKBCRS2LS534226   GM           BLAZER              Houston                   TX
79931   3GNKBCRS2LS535845   GM           BLAZER              Scottsdale                AZ
79932   3GNKBCRS2LS578078   GM           BLAZER              WEST PALM BEACH           FL
79933   3GNKBCRS2LS578680   GM           BLAZER              ATLANTA                   GA
79934   3GNKBCRS2LS583443   GM           BLAZER              TAMPA                     FL
79935   3GNKBCRS2LS585564   GM           BLAZER              WEST PALM BEACH           FL
79936   3GNKBCRS2LS585967   GM           BLAZER              TAMPA                     FL
79937   3GNKBCRS2LS585984   GM           BLAZER              ORLANDO                   FL
79938   3GNKBCRS2LS592711   GM           BLAZER              CHARLESTON                SC
79939   3GNKBCRS2LS593082   GM           BLAZER              MIAMI                     FL
79940   3GNKBCRS2LS593115   GM           BLAZER              BOSTON                    MA
79941   3GNKBCRS2LS593518   GM           BLAZER              ORLANDO                   FL
79942   3GNKBCRS2LS593700   GM           BLAZER              Tampa                     FL
79943   3GNKBCRS2LS593986   GM           BLAZER              TAMPA                     FL
79944   3GNKBCRS2LS596743   GM           BLAZER              Houston                   TX
79945   3GNKBCRS3LS530671   GM           BLAZER              PHOENIX                   AZ
79946   3GNKBCRS3LS530864   GM           BLAZER              PHOENIX                   AZ
79947   3GNKBCRS3LS548118   GM           BLAZER              TAMPA                     FL
79948   3GNKBCRS3LS552234   GM           BLAZER              KNOXVILLE                 TN
79949   3GNKBCRS3LS575576   GM           BLAZER              Houston                   TX
79950   3GNKBCRS3LS585962   GM           BLAZER              Houston                   TX
79951   3GNKBCRS3LS594063   GM           BLAZER              Orlando                   FL
79952   3GNKBCRS4LS530517   GM           BLAZER              PHOENIX                   AZ
79953   3GNKBCRS4LS530727   GM           BLAZER              PHOENIX                   AZ
79954   3GNKBCRS4LS531442   GM           BLAZER              PHOENIX                   AZ
79955   3GNKBCRS4LS533319   GM           BLAZER              PHOENIX                   AZ
79956   3GNKBCRS4LS535054   GM           BLAZER              PHOENIX                   AZ
79957   3GNKBCRS4LS535751   GM           BLAZER              PHOENIX                   AZ
79958   3GNKBCRS4LS536124   GM           BLAZER              BALTIMORE                 MD
79959   3GNKBCRS4LS536768   GM           BLAZER              TUCSON                    AZ
79960   3GNKBCRS4LS547818   GM           BLAZER              PENSACOLA                 FL
79961   3GNKBCRS4LS548094   GM           BLAZER              Miami                     FL
79962   3GNKBCRS4LS552579   GM           BLAZER              KENNER                    LA
79963   3GNKBCRS4LS552954   GM           BLAZER              SAN FRANCISCO             CA
79964   3GNKBCRS4LS578051   GM           BLAZER              JACKSONVILLE              FL
79965   3GNKBCRS4LS583377   GM           BLAZER              FORT LAUDERDALE           FL
79966   3GNKBCRS4LS583475   GM           BLAZER              ORLANDO                   FL
79967   3GNKBCRS4LS585954   GM           BLAZER              ORLANDO                   FL
79968   3GNKBCRS4LS585971   GM           BLAZER              MYRTLE BEACH              SC
79969   3GNKBCRS4LS592872   GM           BLAZER              ORLANDO                   FL
79970   3GNKBCRS4LS592953   GM           BLAZER              FORT MYERS                FL
79971   3GNKBCRS4LS593729   GM           BLAZER              FORT MYERS                FL
79972   3GNKBCRS4LS593942   GM           BLAZER              FORT MYERS                FL
79973   3GNKBCRS5LS530297   GM           BLAZER              LOS ANGELES               CA
79974   3GNKBCRS5LS532275   GM           BLAZER              SANTA ANA                 CA
79975   3GNKBCRS5LS533619   GM           BLAZER              LAS VEGAS                 NV
79976   3GNKBCRS5LS535631   GM           BLAZER              PHOENIX                   AZ
79977   3GNKBCRS5LS540120   GM           BLAZER              SACRAMENTO                CA
79978   3GNKBCRS5LS552610   GM           BLAZER              Atlanta                   GA
79979   3GNKBCRS5LS552784   GM           BLAZER              FORT LAUDERDALE           FL
79980   3GNKBCRS5LS578124   GM           BLAZER              BOSTON                    MA
79981   3GNKBCRS5LS578690   GM           BLAZER              Atlanta                   GA
79982   3GNKBCRS5LS583386   GM           BLAZER              STERLING                  VA
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79983   3GNKBCRS5LS583761   GM           BLAZER              JACKSONVILLE              FL
79984   3GNKBCRS5LS583789   GM           BLAZER              ORLANDO                   FL
79985   3GNKBCRS5LS585476   GM           BLAZER              JACKSONVILLE              FL
79986   3GNKBCRS5LS585574   GM           BLAZER              WHITE PLAINS              NY
79987   3GNKBCRS5LS592993   GM           BLAZER              ORLANDO                   FL
79988   3GNKBCRS5LS593660   GM           BLAZER              FORT MYERS                FL
79989   3GNKBCRS6LS532320   GM           BLAZER              PHOENIX                   AZ
79990   3GNKBCRS6LS532785   GM           BLAZER              PHOENIX                   AZ
79991   3GNKBCRS6LS535525   GM           BLAZER              LAS VEGAS                 NV
79992   3GNKBCRS6LS536528   GM           BLAZER              PHOENIX                   AZ
79993   3GNKBCRS6LS537565   GM           BLAZER              Jacksonville              FL
79994   3GNKBCRS6LS539848   GM           BLAZER              Phoenix                   AZ
79995   3GNKBCRS6LS548033   GM           BLAZER              WILMINGTON                NC
79996   3GNKBCRS6LS552454   GM           BLAZER              MIAMI                     FL
79997   3GNKBCRS6LS552891   GM           BLAZER              LOUISVILLE                KY
79998   3GNKBCRS6LS552907   GM           BLAZER              KNOXVILLE                 TN
79999   3GNKBCRS6LS578083   GM           BLAZER              MIAMI                     FL
80000   3GNKBCRS6LS578648   GM           BLAZER              SAVANNAH                  GA
80001   3GNKBCRS6LS583493   GM           BLAZER              WEST PALM BEACH           FL
80002   3GNKBCRS6LS583770   GM           BLAZER              FORT LAUDERDALE           FL
80003   3GNKBCRS6LS583817   GM           BLAZER              ORLANDO                   FL
80004   3GNKBCRS6LS585485   GM           BLAZER              FORT LAUDERDALE           FL
80005   3GNKBCRS6LS585504   GM           BLAZER              FORT MYERS                FL
80006   3GNKBCRS6LS585969   GM           BLAZER              FORT MYERS                FL
80007   3GNKBCRS6LS585972   GM           BLAZER              TAMPA                     FL
80008   3GNKBCRS6LS593599   GM           BLAZER              RICHMOND                  VA
80009   3GNKBCRS6LS594106   GM           BLAZER              FORT LAUDERDALE           FL
80010   3GNKBCRS7LS533086   GM           BLAZER              FRESNO                    CA
80011   3GNKBCRS7LS534237   GM           BLAZER              PHOENIX                   AZ
80012   3GNKBCRS7LS534271   GM           BLAZER              Phoenix                   AZ
80013   3GNKBCRS7LS548557   GM           BLAZER              ORLANDO                   FL
80014   3GNKBCRS7LS552172   GM           BLAZER              ORLANDO                   FL
80015   3GNKBCRS7LS552799   GM           BLAZER              Birmingham                AL
80016   3GNKBCRS7LS585494   GM           BLAZER              Tampa                     FL
80017   3GNKBCRS7LS585964   GM           BLAZER              TAMPA                     FL
80018   3GNKBCRS7LS585978   GM           BLAZER              MIAMI                     FL
80019   3GNKBCRS7LS585981   GM           BLAZER              ORLANDO                   FL
80020   3GNKBCRS7LS594003   GM           BLAZER              Hebron                    KY
80021   3GNKBCRS8LS530519   GM           BLAZER              PHOENIX                   AZ
80022   3GNKBCRS8LS530732   GM           BLAZER              LOS ANGELES               CA
80023   3GNKBCRS8LS534084   GM           BLAZER              TUCSON                    AZ
80024   3GNKBCRS8LS535204   GM           BLAZER              TUCSON                    AZ
80025   3GNKBCRS8LS540371   GM           BLAZER              PHOENIX                   AZ
80026   3GNKBCRS8LS548583   GM           BLAZER              Tampa                     FL
80027   3GNKBCRS8LS552049   GM           BLAZER              TAMPA                     FL
80028   3GNKBCRS8LS578599   GM           BLAZER              FORT MYERS                FL
80029   3GNKBCRS8LS578795   GM           BLAZER              SAVANNAH                  GA
80030   3GNKBCRS8LS583396   GM           BLAZER              FORT LAUDERDALE           FL
80031   3GNKBCRS8LS583463   GM           BLAZER              FORT MYERS                FL
80032   3GNKBCRS8LS583799   GM           BLAZER              FORT LAUDERDALE           FL
80033   3GNKBCRS8LS583835   GM           BLAZER              PITTSBURGH                PA
80034   3GNKBCRS8LS585956   GM           BLAZER              NEW YORK CITY             NY
80035   3GNKBCRS8LS585973   GM           BLAZER              ORLANDO                   FL
80036   3GNKBCRS8LS593037   GM           BLAZER              ORLANDO                   FL
80037   3GNKBCRS8LS593054   GM           BLAZER              FORT MYERS                FL
80038   3GNKBCRS8LS594091   GM           BLAZER              JACKSONVILLE              FL
80039   3GNKBCRS8LS594124   GM           BLAZER              MIAMI                     FL
80040   3GNKBCRS8LS596701   GM           BLAZER              Dallas                    TX
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80041   3GNKBCRS8LS596777   GM           BLAZER              Atlanta                   GA
80042   3GNKBCRS9LS531033   GM           BLAZER              PHOENIX                   AZ
80043   3GNKBCRS9LS531307   GM           BLAZER              SAN JOSE                  CA
80044   3GNKBCRS9LS531386   GM           BLAZER              TUCSON                    AZ
80045   3GNKBCRS9LS534708   GM           BLAZER              LOS ANGELES               CA
80046   3GNKBCRS9LS537110   GM           BLAZER              Killeen                   TX
80047   3GNKBCRS9LS540184   GM           BLAZER              ONTARIO                   CA
80048   3GNKBCRS9LS578451   GM           BLAZER              Pompano Beach             FL
80049   3GNKBCRS9LS585948   GM           BLAZER              FORT LAUDERDALE           FL
80050   3GNKBCRS9LS592933   GM           BLAZER              ORLANDO                   FL
80051   3GNKBCRS9LS596142   GM           BLAZER              HOUSTON                   TX
80052   3GNKBCRSXLS530568   GM           BLAZER              PHOENIX                   AZ
80053   3GNKBCRSXLS530697   GM           BLAZER              Los Angeles               CA
80054   3GNKBCRSXLS532997   GM           BLAZER              LAS VEGAS                 NV
80055   3GNKBCRSXLS533132   GM           BLAZER              CHICAGO                   IL
80056   3GNKBCRSXLS533177   GM           BLAZER              SANTA ANA                 CA
80057   3GNKBCRSXLS533700   GM           BLAZER              LAS VEGAS                 NV
80058   3GNKBCRSXLS535009   GM           BLAZER              PHOENIX                   AZ
80059   3GNKBCRSXLS535026   GM           BLAZER              SACRAMENTO                CA
80060   3GNKBCRSXLS548617   GM           BLAZER              ORLANDO                   FL
80061   3GNKBCRSXLS552649   GM           BLAZER              HOUSTON                   TX
80062   3GNKBCRSXLS575428   GM           BLAZER              DALLAS                    TX
80063   3GNKBCRSXLS578524   GM           BLAZER              PHILADELPHIA              PA
80064   3GNKBCRSXLS578555   GM           BLAZER              FORT MYERS                FL
80065   3GNKBCRSXLS578586   GM           BLAZER              FORT MYERS                FL
80066   3GNKBCRSXLS578815   GM           BLAZER              CHARLOTTE                 NC
80067   3GNKBCRSXLS583349   GM           BLAZER              MIAMI                     FL
80068   3GNKBCRSXLS583464   GM           BLAZER              WEST PALM BEACH           FL
80069   3GNKBCRSXLS585506   GM           BLAZER              RALIEGH                   NC
80070   3GNKBCRSXLS585957   GM           BLAZER              MIAMI                     FL
80071   3GNKBCRSXLS585974   GM           BLAZER              TAMPA                     FL
80072   3GNKBCRSXLS596022   GM           BLAZER              HOUSTON                   TX
80073   3GNKBDRS0LS532366   GM           BLAZER              TUCSON                    AZ
80074   3GNKBDRS0LS533937   GM           BLAZER              Salt Lake City            UT
80075   3GNKBDRS0LS534635   GM           BLAZER              PHOENIX                   AZ
80076   3GNKBDRS0LS538667   GM           BLAZER              PHOENIX                   AZ
80077   3GNKBDRS0LS540032   GM           BLAZER              PHOENIX                   AZ
80078   3GNKBDRS0LS552004   GM           BLAZER              PORTLAND                  ME
80079   3GNKBDRS0LS552679   GM           BLAZER              Atlanta                   GA
80080   3GNKBDRS0LS570602   GM           BLAZER              RENO                      NV
80081   3GNKBDRS0LS575007   GM           BLAZER              San Antonio               TX
80082   3GNKBDRS0LS577615   GM           BLAZER              MIAMI                     FL
80083   3GNKBDRS0LS583723   GM           BLAZER              NORFOLK                   VA
80084   3GNKBDRS0LS585357   GM           BLAZER              Sarasota                  FL
80085   3GNKBDRS0LS585908   GM           BLAZER              ORLANDO                   FL
80086   3GNKBDRS0LS585939   GM           BLAZER              ORLANDO                   FL
80087   3GNKBDRS1LS532800   GM           BLAZER              PHOENIX                   AZ
80088   3GNKBDRS1LS536068   GM           BLAZER              PHOENIX                   AZ
80089   3GNKBDRS1LS537320   GM           BLAZER              Scottsdale                AZ
80090   3GNKBDRS1LS540234   GM           BLAZER              LOS ANGELES               CA
80091   3GNKBDRS1LS547698   GM           BLAZER              WEST PALM BEACH           FL
80092   3GNKBDRS1LS577719   GM           BLAZER              Ft. Myers                 FL
80093   3GNKBDRS1LS585366   GM           BLAZER              BRONX                     NY
80094   3GNKBDRS1LS585416   GM           BLAZER              COLUMBIA                  SC
80095   3GNKBDRS1LS585920   GM           BLAZER              JACKSONVILLE              FL
80096   3GNKBDRS1LS585934   GM           BLAZER              Miami                     FL
80097   3GNKBDRS2LS532059   GM           BLAZER              PHOENIX                   AZ
80098   3GNKBDRS2LS532076   GM           BLAZER              PHOENIX                   AZ
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80099   3GNKBDRS2LS536662   GM           BLAZER              PHOENIX                   AZ
80100   3GNKBDRS2LS536905   GM           BLAZER              PHOENIX                   AZ
80101   3GNKBDRS2LS537679   GM           BLAZER              LOS ANGELES               CA
80102   3GNKBDRS2LS537729   GM           BLAZER              FRESNO                    CA
80103   3GNKBDRS2LS538475   GM           BLAZER              SACRAMENTO                CA
80104   3GNKBDRS2LS539092   GM           BLAZER              PORTLAND                  OR
80105   3GNKBDRS2LS547998   GM           BLAZER              SAINT LOUIS               MO
80106   3GNKBDRS2LS552019   GM           BLAZER              SAVANNAH                  GA
80107   3GNKBDRS2LS552814   GM           BLAZER              Nashville                 TN
80108   3GNKBDRS2LS570438   GM           BLAZER              LOS ANGELES               CA
80109   3GNKBDRS2LS578216   GM           BLAZER              TAMPA                     FL
80110   3GNKBDRS2LS578247   GM           BLAZER              WEST PALM BEACH           FL
80111   3GNKBDRS2LS585425   GM           BLAZER              TAMPA                     FL
80112   3GNKBDRS2LS585909   GM           BLAZER              FORT LAUDERDALE           FL
80113   3GNKBDRS2LS585912   GM           BLAZER              ORLANDO                   FL
80114   3GNKBDRS2LS585926   GM           BLAZER              Miami                     FL
80115   3GNKBDRS2LS585943   GM           BLAZER              FORT MYERS                FL
80116   3GNKBDRS2LS593296   GM           BLAZER              FORT LAUDERDALE           FL
80117   3GNKBDRS3LS534225   GM           BLAZER              LAS VEGAS                 NV
80118   3GNKBDRS3LS534788   GM           BLAZER              TUCSON                    AZ
80119   3GNKBDRS3LS535861   GM           BLAZER              LAS VEGAS                 NV
80120   3GNKBDRS3LS548013   GM           BLAZER              KENNER                    LA
80121   3GNKBDRS3LS552532   GM           BLAZER              Houston                   TX
80122   3GNKBDRS3LS552563   GM           BLAZER              PENSACOLA                 FL
80123   3GNKBDRS3LS570349   GM           BLAZER              LOS ANGELES               CA
80124   3GNKBDRS3LS585398   GM           BLAZER              TAMPA                     FL
80125   3GNKBDRS3LS585904   GM           BLAZER              Jacksonville              FL
80126   3GNKBDRS3LS585935   GM           BLAZER              CHARLOTTESVILLE           VA
80127   3GNKBDRS3LS593744   GM           BLAZER              SARASOTA                  FL
80128   3GNKBDRS3LS596367   GM           BLAZER              Tulsa                     OK
80129   3GNKBDRS4LS532354   GM           BLAZER              LAS VEGAS                 NV
80130   3GNKBDRS4LS532502   GM           BLAZER              Lexington                 KY
80131   3GNKBDRS4LS532564   GM           BLAZER              TAMPA                     FL
80132   3GNKBDRS4LS533424   GM           BLAZER              ONTARIO                   CA
80133   3GNKBDRS4LS538591   GM           BLAZER              ORANGE COUNTY             CA
80134   3GNKBDRS4LS539613   GM           BLAZER              PHOENIX                   AZ
80135   3GNKBDRS4LS540535   GM           BLAZER              PHOENIX                   AZ
80136   3GNKBDRS4LS547713   GM           BLAZER              MIAMI                     FL
80137   3GNKBDRS4LS551812   GM           BLAZER              JACKSONVILLE              FL
80138   3GNKBDRS4LS551843   GM           BLAZER              Atlanta                   GA
80139   3GNKBDRS4LS552409   GM           BLAZER              JACKSONVILLE              FL
80140   3GNKBDRS4LS552829   GM           BLAZER              WEST COLUMBIA             SC
80141   3GNKBDRS4LS583711   GM           BLAZER              ORLANDO                   FL
80142   3GNKBDRS4LS583854   GM           BLAZER              JACKSONVILLE              FL
80143   3GNKBDRS4LS585457   GM           BLAZER              FORT LAUDERDALE           FL
80144   3GNKBDRS4LS585913   GM           BLAZER              SANFORD                   FL
80145   3GNKBDRS4LS585927   GM           BLAZER              FORT LAUDERDALE           FL
80146   3GNKBDRS4LS593865   GM           BLAZER              Winter Park               FL
80147   3GNKBDRS5LS530807   GM           BLAZER              PHOENIX                   AZ
80148   3GNKBDRS5LS533609   GM           BLAZER              PHOENIX                   AZ
80149   3GNKBDRS5LS534517   GM           BLAZER              PHOENIX                   AZ
80150   3GNKBDRS5LS535179   GM           BLAZER              SAN DIEGO                 CA
80151   3GNKBDRS5LS539474   GM           BLAZER              EL PASO                   TX
80152   3GNKBDRS5LS548658   GM           BLAZER              SARASOTA                  FL
80153   3GNKBDRS5LS552547   GM           BLAZER              NEW ORLEANS               LA
80154   3GNKBDRS5LS552709   GM           BLAZER              TAMPA                     FL
80155   3GNKBDRS5LS575052   GM           BLAZER              KENNER                    LA
80156   3GNKBDRS5LS578288   GM           BLAZER              ORLANDO                   FL
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80157   3GNKBDRS5LS583684   GM           BLAZER              STERLING                  VA
80158   3GNKBDRS5LS585435   GM           BLAZER              PHILADELPHIA              PA
80159   3GNKBDRS5LS585905   GM           BLAZER              ORLANDO                   FL
80160   3GNKBDRS5LS585936   GM           BLAZER              TITUSVILLE                FL
80161   3GNKBDRS5LS596399   GM           BLAZER              AUSTIN                    TX
80162   3GNKBDRS6LS534090   GM           BLAZER              LOS ANGELES AP            CA
80163   3GNKBDRS6LS535465   GM           BLAZER              LOS ANGELES AP            CA
80164   3GNKBDRS6LS537815   GM           BLAZER              Phoenix                   AZ
80165   3GNKBDRS6LS547938   GM           BLAZER              WEST PALM BEACH           FL
80166   3GNKBDRS6LS577750   GM           BLAZER              WEST PALM BEACH           FL
80167   3GNKBDRS6LS583693   GM           BLAZER              FORT MYERS                FL
80168   3GNKBDRS6LS583743   GM           BLAZER              WEST PALM BEACH           FL
80169   3GNKBDRS6LS583922   GM           BLAZER              FORT MYERS                FL
80170   3GNKBDRS6LS585329   GM           BLAZER              TAMPA                     FL
80171   3GNKBDRS6LS585377   GM           BLAZER              FORT MYERS                FL
80172   3GNKBDRS6LS585914   GM           BLAZER              ORLANDO                   FL
80173   3GNKBDRS6LS585928   GM           BLAZER              JACKSONVILLE              FL
80174   3GNKBDRS6LS585931   GM           BLAZER              ATLANTA                   GA
80175   3GNKBDRS6LS593821   GM           BLAZER              FORT MYERS                FL
80176   3GNKBDRS6LS596248   GM           BLAZER              Irving                    TX
80177   3GNKBDRS7LS530999   GM           BLAZER              PHOENIX                   AZ
80178   3GNKBDRS7LS531912   GM           BLAZER              PHOENIX                   AZ
80179   3GNKBDRS7LS531957   GM           BLAZER              TUCSON                    AZ
80180   3GNKBDRS7LS535099   GM           BLAZER              PHOENIX                   AZ
80181   3GNKBDRS7LS547852   GM           BLAZER              JACKSONVILLE              FL
80182   3GNKBDRS7LS552694   GM           BLAZER              NEW BERN                  NC
80183   3GNKBDRS7LS570452   GM           BLAZER              ALBUQUERQUE               NM
80184   3GNKBDRS7LS575201   GM           BLAZER              HOUSTON                   TX
80185   3GNKBDRS7LS575246   GM           BLAZER              OKLAHOMA CITY             OK
80186   3GNKBDRS7LS577823   GM           BLAZER              Orlando                   FL
80187   3GNKBDRS7LS577885   GM           BLAZER              ORLANDO                   FL
80188   3GNKBDRS7LS583752   GM           BLAZER              ORLANDO                   FL
80189   3GNKBDRS7LS585338   GM           BLAZER              Clearwater                FL
80190   3GNKBDRS7LS585906   GM           BLAZER              MIAMI                     FL
80191   3GNKBDRS7LS585923   GM           BLAZER              KANSAS CITY               MO
80192   3GNKBDRS7LS585937   GM           BLAZER              FORT LAUDERDALE           FL
80193   3GNKBDRS7LS593357   GM           BLAZER              MIAMI                     FL
80194   3GNKBDRS7LS596324   GM           BLAZER              Dallas                    TX
80195   3GNKBDRS8LS532292   GM           BLAZER              ONTARIO                   CA
80196   3GNKBDRS8LS532504   GM           BLAZER              PHOENIX                   AZ
80197   3GNKBDRS8LS532681   GM           BLAZER              PHOENIX                   AZ
80198   3GNKBDRS8LS533829   GM           BLAZER              PALM SPRINGS              CA
80199   3GNKBDRS8LS535113   GM           BLAZER              Albuquerque               NM
80200   3GNKBDRS8LS535144   GM           BLAZER              RENO                      NV
80201   3GNKBDRS8LS536200   GM           BLAZER              LAS VEGAS                 NV
80202   3GNKBDRS8LS539579   GM           BLAZER              Portland                  OR
80203   3GNKBDRS8LS551859   GM           BLAZER              PHILADELPHIA              US
80204   3GNKBDRS8LS570573   GM           BLAZER              Los Angeles               CA
80205   3GNKBDRS8LS570587   GM           BLAZER              LAS VEGAS                 NV
80206   3GNKBDRS8LS575336   GM           BLAZER              NORFOLK                   VA
80207   3GNKBDRS8LS578320   GM           BLAZER              WEST PALM BEACH           FL
80208   3GNKBDRS8LS583873   GM           BLAZER              TAMPA                     FL
80209   3GNKBDRS8LS585347   GM           BLAZER              MIAMI                     FL
80210   3GNKBDRS8LS585932   GM           BLAZER              ATLANTA                   GA
80211   3GNKBDRS8LS593397   GM           BLAZER              MIAMI                     FL
80212   3GNKBDRS9LS532530   GM           BLAZER              TUCSON                    AZ
80213   3GNKBDRS9LS533211   GM           BLAZER              Los Angeles               CA
80214   3GNKBDRS9LS534410   GM           BLAZER              NEWPORT BEACH             CA
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80215   3GNKBDRS9LS534634   GM           BLAZER              PHOENIX                   AZ
80216   3GNKBDRS9LS535962   GM           BLAZER              Colorado Spring           CO
80217   3GNKBDRS9LS536352   GM           BLAZER              LAS VEGAS                 NV
80218   3GNKBDRS9LS537050   GM           BLAZER              PHOENIX                   AZ
80219   3GNKBDRS9LS537954   GM           BLAZER              TUCSON                    AZ
80220   3GNKBDRS9LS540806   GM           BLAZER              PHOENIX                   AZ
80221   3GNKBDRS9LS552664   GM           BLAZER              MONTGOMERY                AL
80222   3GNKBDRS9LS552860   GM           BLAZER              INDIANAPOLIS              IN
80223   3GNKBDRS9LS575099   GM           BLAZER              OKLAHOMA CITY             OK
80224   3GNKBDRS9LS577581   GM           BLAZER              Jacksonville              FL
80225   3GNKBDRS9LS577855   GM           BLAZER              Miami                     FL
80226   3GNKBDRS9LS585907   GM           BLAZER              NEW BERN                  NC
80227   3GNKBDRS9LS592436   GM           BLAZER              NORFOLK                   VA
80228   3GNKBDRS9LS593277   GM           BLAZER              HANOVER                   MD
80229   3GNKBDRS9LS596292   GM           BLAZER              LITTLE ROCK               AR
80230   3GNKBDRSXLS530267   GM           BLAZER              PHOENIX                   AZ
80231   3GNKBDRSXLS531970   GM           BLAZER              PHOENIX                   AZ
80232   3GNKBDRSXLS537414   GM           BLAZER              TUCSON                    AZ
80233   3GNKBDRSXLS538627   GM           BLAZER              PHOENIX                   AZ
80234   3GNKBDRSXLS539728   GM           BLAZER              PHOENIX                   AZ
80235   3GNKBDRSXLS540667   GM           BLAZER              LOS ANGELES               CA
80236   3GNKBDRSXLS547893   GM           BLAZER              SARASOTA                  FL
80237   3GNKBDRSXLS547912   GM           BLAZER              Tampa                     FL
80238   3GNKBDRSXLS548283   GM           BLAZER              TAMPA                     FL
80239   3GNKBDRSXLS583891   GM           BLAZER              ORLANDO                   FL
80240   3GNKBDRSXLS585916   GM           BLAZER              ORLANDO                   FL
80241   3GNKBDRSXLS593417   GM           BLAZER              WEST PALM BEACH           FL
80242   3GNKBHRS0LS567206   GM           BLAZER              Las Vegas                 NV
80243   3GNKBHRS0LS573832   GM           BLAZER              LOS ANGELES               CA
80244   3GNKBHRS0LS580442   GM           BLAZER              PHILADELPHIA              PA
80245   3GNKBHRS0LS580473   GM           BLAZER              PITTSBURGH                PA
80246   3GNKBHRS0LS582904   GM           BLAZER              FORT MYERS                FL
80247   3GNKBHRS0LS585768   GM           BLAZER              Salt Lake City            UT
80248   3GNKBHRS0LS586001   GM           BLAZER              RALEIGH                   NC
80249   3GNKBHRS1LS583284   GM           BLAZER              FORT MYERS                FL
80250   3GNKBHRS1LS585696   GM           BLAZER              Salt Lake City            UT
80251   3GNKBHRS1LS585729   GM           BLAZER              SALT LAKE CITY            UT
80252   3GNKBHRS1LS585990   GM           BLAZER              SUMMERVILLE               SC
80253   3GNKBHRS2LS567448   GM           BLAZER              Portland                  OR
80254   3GNKBHRS2LS574111   GM           BLAZER              APPLETON                  WI
80255   3GNKBHRS3LS585988   GM           BLAZER              WILMINGTON                NC
80256   3GNKBHRS4LS568083   GM           BLAZER              LOS ANGELES               CA
80257   3GNKBHRS4LS580234   GM           BLAZER              WILMINGTON                NC
80258   3GNKBHRS4LS583599   GM           BLAZER              WEST PALM BEACH           FL
80259   3GNKBHRS4LS585790   GM           BLAZER              SALT LAKE CITY            US
80260   3GNKBHRS5LS574250   GM           BLAZER              Fresno                    CA
80261   3GNKBHRS5LS579948   GM           BLAZER              RALEIGH                   NC
80262   3GNKBHRS5LS580050   GM           BLAZER              MYRTLE BEACH              SC
80263   3GNKBHRS5LS580338   GM           BLAZER              PITTSBURGH                PA
80264   3GNKBHRS5LS584633   GM           BLAZER              FORT MYERS                FL
80265   3GNKBHRS5LS585989   GM           BLAZER              MYRTLE BEACH              SC
80266   3GNKBHRS6LS567811   GM           BLAZER              Las Vegas                 NV
80267   3GNKBHRS6LS579988   GM           BLAZER              NORFOLK                   VA
80268   3GNKBHRS7LS568272   GM           BLAZER              SAN JOSE                  CA
80269   3GNKBHRS7LS579918   GM           BLAZER              RICHMOND                  VA
80270   3GNKBHRS7LS585802   GM           BLAZER              SALT LAKE CITY            UT
80271   3GNKBHRS8LS568393   GM           BLAZER              BIRMINGHAM                AL
80272   3GNKBHRS8LS579958   GM           BLAZER              RALIEGH                   NC
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80273   3GNKBHRS9LS582772   GM          BLAZER              Tampa                     FL
80274   3GNKBHRS9LS584652   GM          BLAZER              Ft. Myers                 FL
80275   3GNKBHRS9LS584778   GM          BLAZER              FORT MYERS                FL
80276   3GNKBHRS9LS585994   GM          BLAZER              GREENSBORO                NC
80277   3GNKBHRS9LS594212   GM          BLAZER              FORT MYERS                FL
80278   3GNKBHRSXLS567116   GM          BLAZER              Las Vegas                 NV
80279   3GNKBHRSXLS573112   GM          BLAZER              Kansas City               MO
80280   3GNKBHRSXLS574485   GM          BLAZER              Denver                    CO
80281   3GNKBHRSXLS579590   GM          BLAZER              Tampa                     FL
80282   3GYFNBE36FS602486   GM          SRX                 Raleigh                   NC
80283   3HGGK5H40JM730858   Honda       FIT                 Rock Hill                 SC
80284   3HGGK5H40KM723510   Honda       FIT                 Beaverton                 OR
80285   3HGGK5H41KM716663   Honda       FIT                 Salt Lake City            UT
80286   3HGGK5H41KM733575   Honda       FIT                 Detroit                   MI
80287   3HGGK5H45KM720005   Honda       FIT                 Roseville                 CA
80288   3HGGK5H46KM720000   Honda       FIT                 Burien                    WA
80289   3HGGK5H48KM728793   Honda       FIT                 Hartford                  CT
80290   3HGGK5H82JM719136   Honda       ODYSSEY             LAS VEGAS                 NV
80291   3HGGK5H84JM720045   Honda       ODYSSEY             Riverside                 CA
80292   3KPA24AB0JE049830   Kia         RIO                 ATLANTA                   GA
80293   3KPA24AB0JE061413   Kia         RIO                 San Diego                 CA
80294   3KPA24AB0JE062691   Kia         RIO                 FT. LAUDERDALE            FL
80295   3KPA24AB0JE072136   Kia         RIO                 Detroit                   MI
80296   3KPA24AB0JE077126   Kia         RIO                 Torrance                  CA
80297   3KPA24AB0JE077840   Kia         RIO                 PALM SPRINGS              CA
80298   3KPA24AB0JE081323   Kia         RIO                 Warminster                PA
80299   3KPA24AB0JE086540   Kia         RIO                 Austin                    TX
80300   3KPA24AB0JE096324   Kia         RIO                 Fresno                    CA
80301   3KPA24AB0KE157219   Kia         RIO                 Manheim                   PA
80302   3KPA24AB0KE157253   Kia         RIO                 TAMPA                     FL
80303   3KPA24AB0KE157320   Kia         RIO                 ORLANDO                   FL
80304   3KPA24AB0KE157561   Kia         RIO                 SAN FRANCISCO             CA
80305   3KPA24AB0KE157754   Kia         RIO                 PHOENIX                   AZ
80306   3KPA24AB0KE157768   Kia         RIO                 Rock Hill                 SC
80307   3KPA24AB0KE157799   Kia         RIO                 Manheim                   PA
80308   3KPA24AB0KE157804   Kia         RIO                 FORT MYERS                FL
80309   3KPA24AB0KE157883   Kia         RIO                 TAMPA                     FL
80310   3KPA24AB0KE158239   Kia         RIO                 TAMPA                     FL
80311   3KPA24AB0KE158273   Kia         RIO                 Darlington                SC
80312   3KPA24AB0KE158418   Kia         RIO                 FORT MYERS                FL
80313   3KPA24AB0KE158435   Kia         RIO                 MIAMI                     FL
80314   3KPA24AB0KE158578   Kia         RIO                 ORLANDO                   FL
80315   3KPA24AB0KE158693   Kia         RIO                 Sanford                   FL
80316   3KPA24AB0KE158709   Kia         RIO                 FORT MYERS                FL
80317   3KPA24AB0KE158757   Kia         RIO                 MEDINA                    OH
80318   3KPA24AB0KE158788   Kia         RIO                 ORLANDO                   FL
80319   3KPA24AB0KE158810   Kia         RIO                 Winston‐Salem             NC
80320   3KPA24AB0KE158869   Kia         RIO                 TAMPA                     FL
80321   3KPA24AB0KE158919   Kia         RIO                 TAMPA                     FL
80322   3KPA24AB0KE158984   Kia         RIO                 Alcoa                     TN
80323   3KPA24AB0KE159133   Kia         RIO                 WEST PALM BEACH           FL
80324   3KPA24AB0KE159827   Kia         RIO                 PLEASANTON                CA
80325   3KPA24AB0KE160055   Kia         RIO                 ATLANTA                   GA
80326   3KPA24AB0KE160217   Kia         RIO                 DETROIT                   MI
80327   3KPA24AB0KE160623   Kia         RIO                 LOS ANGELES               CA
80328   3KPA24AB0KE160654   Kia         RIO                 Phoenix                   AZ
80329   3KPA24AB0KE160668   Kia         RIO                 Tolleson                  AZ
80330   3KPA24AB0KE160699   Kia         RIO                 Greer                     SC
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80331   3KPA24AB0KE160704   Kia          RIO                 Coraopolis                PA
80332   3KPA24AB0KE160833   Kia          RIO                 Chicago                   IL
80333   3KPA24AB0KE161089   Kia          RIO                 LOS ANGELES               CA
80334   3KPA24AB0KE161223   Kia          RIO                 TAMPA                     FL
80335   3KPA24AB0KE161237   Kia          RIO                 WEST PALM BEACH           FL
80336   3KPA24AB0KE161240   Kia          RIO                 ATLANTA                   GA
80337   3KPA24AB0KE161531   Kia          RIO                 Atlanta                   GA
80338   3KPA24AB0KE161576   Kia          RIO                 Lynn                      MA
80339   3KPA24AB0KE161691   Kia          RIO                 SARASOTA                  FL
80340   3KPA24AB0KE161710   Kia          RIO                 Baltimore                 MD
80341   3KPA24AB0KE161755   Kia          RIO                 INDIANAPOLIS              IN
80342   3KPA24AB0KE161836   Kia          RIO                 SARASOTA                  FL
80343   3KPA24AB0KE164607   Kia          RIO                 Tampa                     FL
80344   3KPA24AB0KE165725   Kia          RIO                 Florissant                MO
80345   3KPA24AB0KE165756   Kia          RIO                 Stockton                  CA
80346   3KPA24AB0KE165966   Kia          RIO                 WEST PALM BEACH           FL
80347   3KPA24AB0KE166017   Kia          RIO                 MEDINA                    OH
80348   3KPA24AB0KE166079   Kia          RIO                 ORLANDO                   FL
80349   3KPA24AB0KE166227   Kia          RIO                 Stockton                  CA
80350   3KPA24AB0KE166292   Kia          RIO                 DAYTONA BEACH             FL
80351   3KPA24AB0KE166678   Kia          RIO                 MIAMI                     FL
80352   3KPA24AB0KE166941   Kia          RIO                 Norwalk                   CA
80353   3KPA24AB0KE167006   Kia          RIO                 MONTEREY                  CA
80354   3KPA24AB0KE167023   Kia          RIO                 San Diego                 CA
80355   3KPA24AB0KE167085   Kia          RIO                 Roseville                 CA
80356   3KPA24AB0KE167121   Kia          RIO                 ORLANDO                   FL
80357   3KPA24AB0KE167202   Kia          RIO                 N. Palm Beach             FL
80358   3KPA24AB0KE167328   Kia          RIO                 CHICAGO                   IL
80359   3KPA24AB0KE167331   Kia          RIO                 ATLANTA                   GA
80360   3KPA24AB0KE167412   Kia          RIO                 Coraopolis                PA
80361   3KPA24AB0KE167572   Kia          RIO                 S. San Francisc           CA
80362   3KPA24AB0KE170228   Kia          RIO                 SARASOTA                  FL
80363   3KPA24AB0KE170441   Kia          RIO                 Davie                     FL
80364   3KPA24AB0KE170522   Kia          RIO                 TAMPA                     FL
80365   3KPA24AB0KE170682   Kia          RIO                 CORPUS CHRISTI            TX
80366   3KPA24AB0KE170827   Kia          RIO                 ORLANDO                   FL
80367   3KPA24AB0KE170987   Kia          RIO                 SARASOTA                  FL
80368   3KPA24AB0KE172545   Kia          RIO                 TAMPA                     FL
80369   3KPA24AB0KE172593   Kia          RIO                 MEDINA                    OH
80370   3KPA24AB0KE172755   Kia          RIO                 Hendersonville            TN
80371   3KPA24AB0KE173761   Kia          RIO                 TAMPA                     FL
80372   3KPA24AB0KE173890   Kia          RIO                 Riverside                 CA
80373   3KPA24AB0KE173985   Kia          RIO                 ORLANDO                   FL
80374   3KPA24AB0KE174361   Kia          RIO                 MIAMI                     FL
80375   3KPA24AB0KE174649   Kia          RIO                 STERLING                  VA
80376   3KPA24AB0KE174666   Kia          RIO                 Hanover                   MD
80377   3KPA24AB0KE174697   Kia          RIO                 JACKSONVILLE              FL
80378   3KPA24AB0KE174702   Kia          RIO                 JACKSONVILLE              FL
80379   3KPA24AB0KE174750   Kia          RIO                 BATON ROUGE               LA
80380   3KPA24AB0KE174795   Kia          RIO                 Clearwater                FL
80381   3KPA24AB0KE186851   Kia          RIO                 Hanover                   MD
80382   3KPA24AB0KE186929   Kia          RIO                 Memphis                   TN
80383   3KPA24AB0KE188521   Kia          RIO                 Houston                   TX
80384   3KPA24AB0KE195212   Kia          RIO                 Dallas                    TX
80385   3KPA24AB0KE198353   Kia          RIO                 Fontana                   CA
80386   3KPA24AB0KE202191   Kia          RIO                 TAMPA                     US
80387   3KPA24AB0KE205883   Kia          RIO                 SAN JOSE                  CA
80388   3KPA24AB0KE216057   Kia          RIO                 Bridgeton                 MO
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80389   3KPA24AB1JE057614   Kia          RIO                 LOS ANGELES AP            CA
80390   3KPA24AB1JE059010   Kia          RIO                 FORT LAUDERDALE           FL
80391   3KPA24AB1JE071948   Kia          RIO                 Ft. Myers                 FL
80392   3KPA24AB1JE076390   Kia          RIO                 Lake Elsinore             CA
80393   3KPA24AB1JE077653   Kia          RIO                 WEST PALM BEACH           FL
80394   3KPA24AB1JE077877   Kia          RIO                 Manheim                   PA
80395   3KPA24AB1JE078592   Kia          RIO                 Torrance                  CA
80396   3KPA24AB1JE078978   Kia          RIO                 Ontario                   CA
80397   3KPA24AB1JE086501   Kia          RIO                 Dallas                    TX
80398   3KPA24AB1JE099815   Kia          RIO                 SANTA ANA                 CA
80399   3KPA24AB1JE100137   Kia          RIO                 SAN JOSE                  CA
80400   3KPA24AB1JE120288   Kia          RIO                 Warr Acres                OK
80401   3KPA24AB1KE157309   Kia          RIO                 TAMPA                     FL
80402   3KPA24AB1KE157326   Kia          RIO                 DAYTONA BEACH             FL
80403   3KPA24AB1KE157407   Kia          RIO                 Rockville Centr           NY
80404   3KPA24AB1KE157567   Kia          RIO                 ALBUQUERQUE               NM
80405   3KPA24AB1KE157620   Kia          RIO                 Estero                    FL
80406   3KPA24AB1KE157682   Kia          RIO                 Webster                   NY
80407   3KPA24AB1KE157777   Kia          RIO                 Winston‐Salem             NC
80408   3KPA24AB1KE157794   Kia          RIO                 Irving                    TX
80409   3KPA24AB1KE157827   Kia          RIO                 Rock Hill                 SC
80410   3KPA24AB1KE158122   Kia          RIO                 JACKSONVILLE              FL
80411   3KPA24AB1KE158265   Kia          RIO                 ORLANDO                   FL
80412   3KPA24AB1KE158315   Kia          RIO                 ORLANDO                   FL
80413   3KPA24AB1KE158394   Kia          RIO                 Harvey                    LA
80414   3KPA24AB1KE158427   Kia          RIO                 Chicago                   IL
80415   3KPA24AB1KE158444   Kia          RIO                 SANFORD                   FL
80416   3KPA24AB1KE158475   Kia          RIO                 Arlington                 WA
80417   3KPA24AB1KE158489   Kia          RIO                 MIAMI                     FL
80418   3KPA24AB1KE158525   Kia          RIO                 MEDINA                    OH
80419   3KPA24AB1KE158699   Kia          RIO                 Manheim                   PA
80420   3KPA24AB1KE158735   Kia          RIO                 Florissant                MO
80421   3KPA24AB1KE158850   Kia          RIO                 HOUSTON                   TX
80422   3KPA24AB1KE158881   Kia          RIO                 STERLING                  VA
80423   3KPA24AB1KE158895   Kia          RIO                 Tampa                     FL
80424   3KPA24AB1KE158931   Kia          RIO                 KNOXVILLE                 TN
80425   3KPA24AB1KE158976   Kia          RIO                 SHREVEPORT                LA
80426   3KPA24AB1KE159125   Kia          RIO                 BIRMINGHAM                AL
80427   3KPA24AB1KE159965   Kia          RIO                 ORLANDO                   FL
80428   3KPA24AB1KE160047   Kia          RIO                 Johnston                  RI
80429   3KPA24AB1KE160081   Kia          RIO                 Clearwater                FL
80430   3KPA24AB1KE160288   Kia          RIO                 Phoenix                   AZ
80431   3KPA24AB1KE160386   Kia          RIO                 BURBANK                   CA
80432   3KPA24AB1KE160436   Kia          RIO                 LOS ANGELES               CA
80433   3KPA24AB1KE160744   Kia          RIO                 Englewood                 CO
80434   3KPA24AB1KE161182   Kia          RIO                 PENSACOLA                 FL
80435   3KPA24AB1KE161215   Kia          RIO                 MIAMI                     FL
80436   3KPA24AB1KE161571   Kia          RIO                 MIAMI                     FL
80437   3KPA24AB1KE161621   Kia          RIO                 JACKSONVILLE              FL
80438   3KPA24AB1KE161716   Kia          RIO                 TALLAHASSEE               FL
80439   3KPA24AB1KE163451   Kia          RIO                 FORT LAUDERDALE           FL
80440   3KPA24AB1KE164647   Kia          RIO                 Dallas                    TX
80441   3KPA24AB1KE164664   Kia          RIO                 Hanover                   MD
80442   3KPA24AB1KE164714   Kia          RIO                 Charlotte                 NC
80443   3KPA24AB1KE165751   Kia          RIO                 LAS VEGAS                 NV
80444   3KPA24AB1KE165992   Kia          RIO                 CLOVIS                    CA
80445   3KPA24AB1KE166057   Kia          RIO                 Stockton                  CA
80446   3KPA24AB1KE166270   Kia          RIO                 Las Vegas                 NV
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80447   3KPA24AB1KE166415   Kia          RIO                 WEST PALM BEACH           FL
80448   3KPA24AB1KE166785   Kia          RIO                 SARASOTA                  FL
80449   3KPA24AB1KE166852   Kia          RIO                 FORT MYERS                FL
80450   3KPA24AB1KE167001   Kia          RIO                 ORLANDO                   FL
80451   3KPA24AB1KE169928   Kia          RIO                 Ft. Myers                 FL
80452   3KPA24AB1KE170108   Kia          RIO                 JACKSONVILLE              FL
80453   3KPA24AB1KE170223   Kia          RIO                 JACKSONVILLE              FL
80454   3KPA24AB1KE170402   Kia          RIO                 Winter Park               FL
80455   3KPA24AB1KE170688   Kia          RIO                 Tampa                     FL
80456   3KPA24AB1KE170822   Kia          RIO                 JACKSONVILLE              FL
80457   3KPA24AB1KE171002   Kia          RIO                 ORLANDO                   FL
80458   3KPA24AB1KE171033   Kia          RIO                 Columbus                  OH
80459   3KPA24AB1KE171291   Kia          RIO                 FORT MYERS                FL
80460   3KPA24AB1KE172537   Kia          RIO                 Hendersonville            TN
80461   3KPA24AB1KE173056   Kia          RIO                 FORT MYERS                FL
80462   3KPA24AB1KE173767   Kia          RIO                 ORLANDO                   FL
80463   3KPA24AB1KE174384   Kia          RIO                 JACKSONVILLE              FL
80464   3KPA24AB1KE174563   Kia          RIO                 SEATAC                    WA
80465   3KPA24AB1KE174661   Kia          RIO                 Nashville                 TN
80466   3KPA24AB1KE174739   Kia          RIO                 WEST COLUMBIA             SC
80467   3KPA24AB1KE178676   Kia          RIO                 Burien                    WA
80468   3KPA24AB1KE178774   Kia          RIO                 ORLANDO                   FL
80469   3KPA24AB1KE179181   Kia          RIO                 LAS VEGAS                 NV
80470   3KPA24AB1KE187751   Kia          RIO                 Irving                    TX
80471   3KPA24AB1KE197809   Kia          RIO                 Torrance                  CA
80472   3KPA24AB2JE045617   Kia          RIO                 MIAMI                     FL
80473   3KPA24AB2JE070601   Kia          RIO                 FORT LAUDERDALE           FL
80474   3KPA24AB2JE070663   Kia          RIO                 Pensacola                 FL
80475   3KPA24AB2JE071926   Kia          RIO                 Newport Beach             CA
80476   3KPA24AB2JE073174   Kia          RIO                 DENVER                    CO
80477   3KPA24AB2JE077077   Kia          RIO                 San Diego                 CA
80478   3KPA24AB2JE077645   Kia          RIO                 Orlando                   FL
80479   3KPA24AB2JE086006   Kia          RIO                 Smithtown                 NY
80480   3KPA24AB2JE096115   Kia          RIO                 San Antonio               TX
80481   3KPA24AB2JE114015   Kia          RIO                 Norwalk                   CA
80482   3KPA24AB2KE157321   Kia          RIO                 MIAMI                     FL
80483   3KPA24AB2KE157402   Kia          RIO                 Orlando                   FL
80484   3KPA24AB2KE157643   Kia          RIO                 Anaheim                   CA
80485   3KPA24AB2KE157691   Kia          RIO                 Scottsdale                AZ
80486   3KPA24AB2KE157769   Kia          RIO                 Smithtown                 NY
80487   3KPA24AB2KE157772   Kia          RIO                 Detroit                   MI
80488   3KPA24AB2KE157819   Kia          RIO                 JACKSONVILLE              FL
80489   3KPA24AB2KE157867   Kia          RIO                 Stockton                  CA
80490   3KPA24AB2KE158243   Kia          RIO                 Indianapolis              IN
80491   3KPA24AB2KE158291   Kia          RIO                 ORLANDO                   FL
80492   3KPA24AB2KE158341   Kia          RIO                 Dania                     FL
80493   3KPA24AB2KE158453   Kia          RIO                 MORROW                    GA
80494   3KPA24AB2KE158470   Kia          RIO                 Las Vegas                 NV
80495   3KPA24AB2KE158498   Kia          RIO                 Fontana                   CA
80496   3KPA24AB2KE158503   Kia          RIO                 Ocoee                     FL
80497   3KPA24AB2KE158534   Kia          RIO                 Miami                     FL
80498   3KPA24AB2KE158565   Kia          RIO                 Massapequa                NY
80499   3KPA24AB2KE158579   Kia          RIO                 WEST PALM BEACH           FL
80500   3KPA24AB2KE158727   Kia          RIO                 Fairburn                  GA
80501   3KPA24AB2KE158775   Kia          RIO                 Tampa                     FL
80502   3KPA24AB2KE158811   Kia          RIO                 TAMPA                     FL
80503   3KPA24AB2KE158839   Kia          RIO                 Las Vegas                 NV
80504   3KPA24AB2KE158906   Kia          RIO                 MIAMI                     FL
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80505   3KPA24AB2KE158954   Kia          RIO                 St. Louis                 MO
80506   3KPA24AB2KE160039   Kia          RIO                 Fontana                   CA
80507   3KPA24AB2KE160395   Kia          RIO                 Lake Elsinore             CA
80508   3KPA24AB2KE160526   Kia          RIO                 SAN JOSE                  CA
80509   3KPA24AB2KE161188   Kia          RIO                 WEST PALM BEACH           FL
80510   3KPA24AB2KE161563   Kia          RIO                 Midland                   TX
80511   3KPA24AB2KE161692   Kia          RIO                 Baltimore                 MD
80512   3KPA24AB2KE161711   Kia          RIO                 COLUMBIA                  SC
80513   3KPA24AB2KE161837   Kia          RIO                 ROCHESTER                 NY
80514   3KPA24AB2KE164205   Kia          RIO                 SEATAC                    WA
80515   3KPA24AB2KE164608   Kia          RIO                 ORLANDO                   FL
80516   3KPA24AB2KE164687   Kia          RIO                 Clarksville               IN
80517   3KPA24AB2KE165967   Kia          RIO                 ORLANDO                   FL
80518   3KPA24AB2KE166018   Kia          RIO                 TAMPA                     FL
80519   3KPA24AB2KE166309   Kia          RIO                 SACRAMENTO                CA
80520   3KPA24AB2KE166357   Kia          RIO                 Lexington                 KY
80521   3KPA24AB2KE166553   Kia          RIO                 FT LAUDERDALE             FL
80522   3KPA24AB2KE166973   Kia          RIO                 Torrance                  CA
80523   3KPA24AB2KE167315   Kia          RIO                 Englewood                 CO
80524   3KPA24AB2KE167413   Kia          RIO                 HARLEYVILLE               SC
80525   3KPA24AB2KE167587   Kia          RIO                 FORT MYERS                FL
80526   3KPA24AB2KE167606   Kia          RIO                 Las Vegas                 NV
80527   3KPA24AB2KE167668   Kia          RIO                 Orlando                   FL
80528   3KPA24AB2KE170053   Kia          RIO                 MIAMI                     FL
80529   3KPA24AB2KE170392   Kia          RIO                 Slidell                   LA
80530   3KPA24AB2KE171025   Kia          RIO                 Jacksonville              FL
80531   3KPA24AB2KE171221   Kia          RIO                 ATHENS                    GA
80532   3KPA24AB2KE172644   Kia          RIO                 FORT LAUDERDALE           FL
80533   3KPA24AB2KE173521   Kia          RIO                 FORT MYERS                FL
80534   3KPA24AB2KE173695   Kia          RIO                 Winter Park               FL
80535   3KPA24AB2KE173860   Kia          RIO                 WEST PALM BEACH           FL
80536   3KPA24AB2KE173888   Kia          RIO                 ORLANDO                   FL
80537   3KPA24AB2KE174099   Kia          RIO                 Baltimore                 MD
80538   3KPA24AB2KE174507   Kia          RIO                 Hamilton                  OH
80539   3KPA24AB2KE174541   Kia          RIO                 FORT MYERS                FL
80540   3KPA24AB2KE174801   Kia          RIO                 Miami                     FL
80541   3KPA24AB2KE177911   Kia          RIO                 Englewood                 CO
80542   3KPA24AB2KE179206   Kia          RIO                 Norwalk                   CA
80543   3KPA24AB2KE179478   Kia          RIO                 Fresno                    CA
80544   3KPA24AB2KE181182   Kia          RIO                 ORLANDO                   FL
80545   3KPA24AB2KE182218   Kia          RIO                 Orlando                   FL
80546   3KPA24AB2KE187936   Kia          RIO                 Cincinnati                OH
80547   3KPA24AB2KE188083   Kia          RIO                 Tampa                     FL
80548   3KPA24AB2KE188682   Kia          RIO                 Tampa                     FL
80549   3KPA24AB2KE205660   Kia          RIO                 Norwalk                   CA
80550   3KPA24AB2KE205738   Kia          RIO                 San Diego                 CA
80551   3KPA24AB3JE068212   Kia          RIO                 Fresno                    CA
80552   3KPA24AB3JE071949   Kia          RIO                 Tampa                     FL
80553   3KPA24AB3JE080702   Kia          RIO                 LAS VEGAS                 NV
80554   3KPA24AB3JE085396   Kia          RIO                 Dallas                    TX
80555   3KPA24AB3JE096771   Kia          RIO                 OAKLAND                   CA
80556   3KPA24AB3JE097242   Kia          RIO                 Fresno                    CA
80557   3KPA24AB3JE114654   Kia          RIO                 Rio Linda                 CA
80558   3KPA24AB3KE157246   Kia          RIO                 ORLANDO                   FL
80559   3KPA24AB3KE157327   Kia          RIO                 Matteson                  IL
80560   3KPA24AB3KE157330   Kia          RIO                 WEST PALM BEACH           FL
80561   3KPA24AB3KE157487   Kia          RIO                 MIAMI                     FL
80562   3KPA24AB3KE157621   Kia          RIO                 ORLANDO                   FL
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80563   3KPA24AB3KE157649   Kia          RIO                 Winter Park               FL
80564   3KPA24AB3KE157697   Kia          RIO                 FORT MYERS                FL
80565   3KPA24AB3KE157764   Kia          RIO                 Hanover                   MD
80566   3KPA24AB3KE157814   Kia          RIO                 WEST PALM BEACH           FL
80567   3KPA24AB3KE157828   Kia          RIO                 Florissant                MO
80568   3KPA24AB3KE158297   Kia          RIO                 JACKSONVILLE              FL
80569   3KPA24AB3KE158347   Kia          RIO                 Coraopolis                PA
80570   3KPA24AB3KE158350   Kia          RIO                 Hamilton                  OH
80571   3KPA24AB3KE158428   Kia          RIO                 ORLANDO                   FL
80572   3KPA24AB3KE158431   Kia          RIO                 FORT MYERS                FL
80573   3KPA24AB3KE158459   Kia          RIO                 WEST PALM BEACH           FL
80574   3KPA24AB3KE158493   Kia          RIO                 ORLANDO                   FL
80575   3KPA24AB3KE158560   Kia          RIO                 Colorado Spring           CO
80576   3KPA24AB3KE158574   Kia          RIO                 TAMPA                     FL
80577   3KPA24AB3KE158641   Kia          RIO                 Jacksonville              FL
80578   3KPA24AB3KE158669   Kia          RIO                 SYRACUSE                  NY
80579   3KPA24AB3KE158705   Kia          RIO                 WEST PALM BEACH           FL
80580   3KPA24AB3KE158784   Kia          RIO                 Sarasota                  FL
80581   3KPA24AB3KE158820   Kia          RIO                 MIAMI                     FL
80582   3KPA24AB3KE158851   Kia          RIO                 MIAMI                     FL
80583   3KPA24AB3KE158901   Kia          RIO                 Rock Hill                 SC
80584   3KPA24AB3KE158929   Kia          RIO                 COLUMBIA                  SC
80585   3KPA24AB3KE158980   Kia          RIO                 FORT LAUDERDALE           FL
80586   3KPA24AB3KE158994   Kia          RIO                 S. San Francisc           CA
80587   3KPA24AB3KE159241   Kia          RIO                 Sacramento                CA
80588   3KPA24AB3KE159837   Kia          RIO                 COSTA MESA                CA
80589   3KPA24AB3KE159840   Kia          RIO                 Anaheim                   CA
80590   3KPA24AB3KE160020   Kia          RIO                 Oklahoma City             OK
80591   3KPA24AB3KE160034   Kia          RIO                 Arlington                 WA
80592   3KPA24AB3KE160079   Kia          RIO                 Clearwater                FL
80593   3KPA24AB3KE160194   Kia          RIO                 TALLAHASSEE               FL
80594   3KPA24AB3KE160518   Kia          RIO                 BURBANK                   CA
80595   3KPA24AB3KE161197   Kia          RIO                 Rock Hill                 SC
80596   3KPA24AB3KE161202   Kia          RIO                 Hanover                   MD
80597   3KPA24AB3KE161605   Kia          RIO                 TAMPA                     FL
80598   3KPA24AB3KE163449   Kia          RIO                 DFW AIRPORT               TX
80599   3KPA24AB3KE164603   Kia          RIO                 Jacksonville              FL
80600   3KPA24AB3KE165833   Kia          RIO                 ORLANDO                   FL
80601   3KPA24AB3KE166111   Kia          RIO                 Norwalk                   CA
80602   3KPA24AB3KE166254   Kia          RIO                 SAVANNAH                  GA
80603   3KPA24AB3KE166304   Kia          RIO                 TAMPA                     FL
80604   3KPA24AB3KE166383   Kia          RIO                 Killeen                   TX
80605   3KPA24AB3KE166447   Kia          RIO                 ATLANTA                   GA
80606   3KPA24AB3KE166657   Kia          RIO                 FRESNO                    CA
80607   3KPA24AB3KE166660   Kia          RIO                 Los Angeles               CA
80608   3KPA24AB3KE166853   Kia          RIO                 Orlando                   FL
80609   3KPA24AB3KE167002   Kia          RIO                 Hayward                   CA
80610   3KPA24AB3KE167128   Kia          RIO                 MIAMI                     FL
80611   3KPA24AB3KE167176   Kia          RIO                 TAMPA                     FL
80612   3KPA24AB3KE167260   Kia          RIO                 Santa Clara               CA
80613   3KPA24AB3KE167310   Kia          RIO                 Smithtown                 NY
80614   3KPA24AB3KE167386   Kia          RIO                 WEST PALM BEACH           FL
80615   3KPA24AB3KE167565   Kia          RIO                 MEDINA                    OH
80616   3KPA24AB3KE167629   Kia          RIO                 FORT LAUDERDALE           FL
80617   3KPA24AB3KE170174   Kia          RIO                 Wichita                   KS
80618   3KPA24AB3KE170322   Kia          RIO                 Atlanta                   GA
80619   3KPA24AB3KE170532   Kia          RIO                 Florissant                MO
80620   3KPA24AB3KE170935   Kia          RIO                 ORLANDO                   FL
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80621   3KPA24AB3KE171020   Kia          RIO                 FORT LAUDERDALE           FL
80622   3KPA24AB3KE171230   Kia          RIO                 Los Angeles               CA
80623   3KPA24AB3KE171275   Kia          RIO                 TAMPA                     FL
80624   3KPA24AB3KE173401   Kia          RIO                 JACKSONVILLE              FL
80625   3KPA24AB3KE174273   Kia          RIO                 ORLANDO                   FL
80626   3KPA24AB3KE174399   Kia          RIO                 TAMPA                     US
80627   3KPA24AB3KE174693   Kia          RIO                 St. Louis                 MO
80628   3KPA24AB3KE178825   Kia          RIO                 Mira Loma                 CA
80629   3KPA24AB3KE182244   Kia          RIO                 Harlingen                 TX
80630   3KPA24AB3KE226744   Kia          RIO                 Smithtown                 NY
80631   3KPA24AB4JE060278   Kia          RIO                 LOS ANGELES               CA
80632   3KPA24AB4JE061284   Kia          RIO                 LAS VEGAS                 NV
80633   3KPA24AB4JE076691   Kia          RIO                 Ft. Myers                 FL
80634   3KPA24AB4JE077047   Kia          RIO                 FORT MYERS                FL
80635   3KPA24AB4JE077050   Kia          RIO                 AUGUSTA                   GA
80636   3KPA24AB4JE077257   Kia          RIO                 Elkridge                  MD
80637   3KPA24AB4JE078361   Kia          RIO                 WEST PALM BEACH           FL
80638   3KPA24AB4JE079266   Kia          RIO                 Portland                  OR
80639   3KPA24AB4JE081650   Kia          RIO                 Atlanta                   GA
80640   3KPA24AB4JE086184   Kia          RIO                 Dallas                    TX
80641   3KPA24AB4JE095208   Kia          RIO                 STERLING                  VA
80642   3KPA24AB4JE096746   Kia          RIO                 Costa Mesa                CA
80643   3KPA24AB4KE157207   Kia          RIO                 WEST PALM BEACH           FL
80644   3KPA24AB4KE157255   Kia          RIO                 TAMPA                     FL
80645   3KPA24AB4KE157546   Kia          RIO                 San Diego                 CA
80646   3KPA24AB4KE157658   Kia          RIO                 Warwick                   RI
80647   3KPA24AB4KE157708   Kia          RIO                 HOLLY HILL                FL
80648   3KPA24AB4KE157739   Kia          RIO                 PLEASANTON                CA
80649   3KPA24AB4KE157854   Kia          RIO                 Charlotte                 NC
80650   3KPA24AB4KE158289   Kia          RIO                 Webster                   NY
80651   3KPA24AB4KE158311   Kia          RIO                 WEST PALM BEACH           FL
80652   3KPA24AB4KE158339   Kia          RIO                 Houston                   TX
80653   3KPA24AB4KE158373   Kia          RIO                 ORLANDO                   FL
80654   3KPA24AB4KE158406   Kia          RIO                 MEDINA                    OH
80655   3KPA24AB4KE158440   Kia          RIO                 JACKSONVILLE              FL
80656   3KPA24AB4KE158454   Kia          RIO                 MIAMI                     FL
80657   3KPA24AB4KE158485   Kia          RIO                 Anaheim                   CA
80658   3KPA24AB4KE158499   Kia          RIO                 MILWAUKEE                 WI
80659   3KPA24AB4KE158504   Kia          RIO                 TAMPA                     FL
80660   3KPA24AB4KE158549   Kia          RIO                 Rock Hill                 SC
80661   3KPA24AB4KE158583   Kia          RIO                 ORLANDO                   FL
80662   3KPA24AB4KE158664   Kia          RIO                 FORT MYERS                FL
80663   3KPA24AB4KE158700   Kia          RIO                 SARASOTA                  FL
80664   3KPA24AB4KE158728   Kia          RIO                 MEDINA                    OH
80665   3KPA24AB4KE158731   Kia          RIO                 ORLANDO                   FL
80666   3KPA24AB4KE158745   Kia          RIO                 SOUTHEAST DST OFFC        OK
80667   3KPA24AB4KE158793   Kia          RIO                 ORLANDO                   FL
80668   3KPA24AB4KE158826   Kia          RIO                 Windsor Locks             CT
80669   3KPA24AB4KE158860   Kia          RIO                 ORLANDO                   FL
80670   3KPA24AB4KE159636   Kia          RIO                 PLEASANTON                CA
80671   3KPA24AB4KE160057   Kia          RIO                 FT LAUDERDALE             FL
80672   3KPA24AB4KE160074   Kia          RIO                 San Antonio               TX
80673   3KPA24AB4KE160107   Kia          RIO                 Baltimore                 MD
80674   3KPA24AB4KE160169   Kia          RIO                 HILLSBOROUGH              NJ
80675   3KPA24AB4KE160303   Kia          RIO                 PASADENA                  CA
80676   3KPA24AB4KE160446   Kia          RIO                 MEDINA                    OH
80677   3KPA24AB4KE161628   Kia          RIO                 ORLANDO                   FL
80678   3KPA24AB4KE161662   Kia          RIO                 Chicago                   IL
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80679   3KPA24AB4KE161693   Kia          RIO                 Hamilton                  OH
80680   3KPA24AB4KE161838   Kia          RIO                 MILWAUKEE                 WI
80681   3KPA24AB4KE164691   Kia          RIO                 FORT MYERS                FL
80682   3KPA24AB4KE164710   Kia          RIO                 TAMPA                     FL
80683   3KPA24AB4KE164741   Kia          RIO                 FORT LAUDERDALE           FL
80684   3KPA24AB4KE165811   Kia          RIO                 PLEASANTON                CA
80685   3KPA24AB4KE165968   Kia          RIO                 Kansas City               MO
80686   3KPA24AB4KE165971   Kia          RIO                 WEST PALM BEACH           FL
80687   3KPA24AB4KE166022   Kia          RIO                 PLEASANTON                CA
80688   3KPA24AB4KE166053   Kia          RIO                 Norwalk                   CA
80689   3KPA24AB4KE166358   Kia          RIO                 SOUTH BEND                IN
80690   3KPA24AB4KE166375   Kia          RIO                 Phoenix                   AZ
80691   3KPA24AB4KE166537   Kia          RIO                 ORLANDO                   FL
80692   3KPA24AB4KE166554   Kia          RIO                 Windsor Locks             CT
80693   3KPA24AB4KE166666   Kia          RIO                 Burien                    WA
80694   3KPA24AB4KE167350   Kia          RIO                 Austin                    TX
80695   3KPA24AB4KE167364   Kia          RIO                 WEST PALM BEACH           FL
80696   3KPA24AB4KE167574   Kia          RIO                 SARASOTA                  FL
80697   3KPA24AB4KE167655   Kia          RIO                 TAMPA                     FL
80698   3KPA24AB4KE170524   Kia          RIO                 TAMPA                     US
80699   3KPA24AB4KE170815   Kia          RIO                 Charlotte                 NC
80700   3KPA24AB4KE170989   Kia          RIO                 ORLANDO                   FL
80701   3KPA24AB4KE171141   Kia          RIO                 Live Oak                  TX
80702   3KPA24AB4KE172547   Kia          RIO                 Memphis                   TN
80703   3KPA24AB4KE172709   Kia          RIO                 FORT MYERS                FL
80704   3KPA24AB4KE173889   Kia          RIO                 TAMPA                     FL
80705   3KPA24AB4KE173892   Kia          RIO                 Sarasota                  FL
80706   3KPA24AB4KE174671   Kia          RIO                 COLUMBIA                  SC
80707   3KPA24AB4KE174699   Kia          RIO                 ORLANDO                   FL
80708   3KPA24AB4KE174797   Kia          RIO                 TAMPA                     FL
80709   3KPA24AB4KE177909   Kia          RIO                 OAKLAND                   CA
80710   3KPA24AB4KE179093   Kia          RIO                 Austell                   GA
80711   3KPA24AB4KE179918   Kia          RIO                 NEW BERN                  NC
80712   3KPA24AB4KE180048   Kia          RIO                 Orlando                   FL
80713   3KPA24AB4KE180860   Kia          RIO                 FORT MYERS                FL
80714   3KPA24AB4KE182009   Kia          RIO                 Charlotte                 NC
80715   3KPA24AB4KE195164   Kia          RIO                 Atlanta                   GA
80716   3KPA24AB4KE197643   Kia          RIO                 BURNSVILLE                MN
80717   3KPA24AB4KE205935   Kia          RIO                 SARASOTA                  FL
80718   3KPA24AB4KE225912   Kia          RIO                 HANOVER                   MD
80719   3KPA24AB5JE044980   Kia          RIO                 SHREVEPORT                US
80720   3KPA24AB5JE058927   Kia          RIO                 Massapequa                NY
80721   3KPA24AB5JE072133   Kia          RIO                 Estero                    FL
80722   3KPA24AB5JE073184   Kia          RIO                 LAS VEGAS                 NV
80723   3KPA24AB5JE076697   Kia          RIO                 BURNSVILLE                MN
80724   3KPA24AB5JE076876   Kia          RIO                 ORLANDO                   FL
80725   3KPA24AB5JE077185   Kia          RIO                 Atlanta                   GA
80726   3KPA24AB5JE080183   Kia          RIO                 PORTLAND                  OR
80727   3KPA24AB5JE085478   Kia          RIO                 Amarillo                  TX
80728   3KPA24AB5JE086503   Kia          RIO                 FRESNO                    CA
80729   3KPA24AB5JE096111   Kia          RIO                 Fontana                   CA
80730   3KPA24AB5JE103560   Kia          RIO                 ATLANTA                   GA
80731   3KPA24AB5JE121007   Kia          RIO                 Rockville Centr           NY
80732   3KPA24AB5KE157216   Kia          RIO                 MIAMI                     FL
80733   3KPA24AB5KE157314   Kia          RIO                 Rock Hill                 SC
80734   3KPA24AB5KE157636   Kia          RIO                 TAMPA                     FL
80735   3KPA24AB5KE157653   Kia          RIO                 Las Vegas                 NV
80736   3KPA24AB5KE157698   Kia          RIO                 Buffalo                   NY
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80737   3KPA24AB5KE157703   Kia          RIO                 FORT LAUDERDALE           FL
80738   3KPA24AB5KE157734   Kia          RIO                 Winston‐Salem             NC
80739   3KPA24AB5KE157748   Kia          RIO                 Windsor Locks             CT
80740   3KPA24AB5KE157779   Kia          RIO                 Stockton                  CA
80741   3KPA24AB5KE157782   Kia          RIO                 FORT MYERS                FL
80742   3KPA24AB5KE157829   Kia          RIO                 Phoenix                   AZ
80743   3KPA24AB5KE158298   Kia          RIO                 JACKSONVILLE              FL
80744   3KPA24AB5KE158317   Kia          RIO                 KNOXVILLE                 TN
80745   3KPA24AB5KE158351   Kia          RIO                 Stockton                  CA
80746   3KPA24AB5KE158365   Kia          RIO                 WARWICK                   RI
80747   3KPA24AB5KE158401   Kia          RIO                 MEDINA                    OH
80748   3KPA24AB5KE158429   Kia          RIO                 Elkridge                  MD
80749   3KPA24AB5KE158530   Kia          RIO                 ORLANDO                   FL
80750   3KPA24AB5KE158625   Kia          RIO                 OAKLAND                   CA
80751   3KPA24AB5KE158768   Kia          RIO                 Cranberry Towns           PA
80752   3KPA24AB5KE158771   Kia          RIO                 Baltimore                 MD
80753   3KPA24AB5KE158799   Kia          RIO                 FORT LAUDERDALE           FL
80754   3KPA24AB5KE158981   Kia          RIO                 ORLANDO                   FL
80755   3KPA24AB5KE159886   Kia          RIO                 CHICAGO                   IL
80756   3KPA24AB5KE159905   Kia          RIO                 Mira Loma                 CA
80757   3KPA24AB5KE160245   Kia          RIO                 Norwalk                   CA
80758   3KPA24AB5KE160391   Kia          RIO                 Beaverton                 OR
80759   3KPA24AB5KE160441   Kia          RIO                 ATLANTA                   GA
80760   3KPA24AB5KE160567   Kia          RIO                 ORLANDO                   FL
80761   3KPA24AB5KE160648   Kia          RIO                 Lake Elsinore             CA
80762   3KPA24AB5KE160665   Kia          RIO                 N. Palm Beach             FL
80763   3KPA24AB5KE160830   Kia          RIO                 FT LAUDERDALE             FL
80764   3KPA24AB5KE161217   Kia          RIO                 FORT MYERS                FL
80765   3KPA24AB5KE161363   Kia          RIO                 DAVIE                     FL
80766   3KPA24AB5KE161542   Kia          RIO                 FORT MYERS                FL
80767   3KPA24AB5KE161623   Kia          RIO                 ORLANDO                   FL
80768   3KPA24AB5KE161668   Kia          RIO                 Atlanta                   GA
80769   3KPA24AB5KE161699   Kia          RIO                 Nashville                 TN
80770   3KPA24AB5KE161721   Kia          RIO                 Smithtown                 NY
80771   3KPA24AB5KE165686   Kia          RIO                 ORLANDO                   FL
80772   3KPA24AB5KE165977   Kia          RIO                 Detroit                   MI
80773   3KPA24AB5KE166160   Kia          RIO                 SAN DIEGO                 CA
80774   3KPA24AB5KE166353   Kia          RIO                 TAMPA                     FL
80775   3KPA24AB5KE166370   Kia          RIO                 Roseville                 CA
80776   3KPA24AB5KE166661   Kia          RIO                 Sacramento                CA
80777   3KPA24AB5KE166675   Kia          RIO                 ORLANDO                   FL
80778   3KPA24AB5KE167342   Kia          RIO                 COLUMBIA                  SC
80779   3KPA24AB5KE167521   Kia          RIO                 Elkridge                  MD
80780   3KPA24AB5KE167616   Kia          RIO                 MORROW                    GA
80781   3KPA24AB5KE170306   Kia          RIO                 Baltimore                 MD
80782   3KPA24AB5KE170516   Kia          RIO                 Atlanta                   GA
80783   3KPA24AB5KE170693   Kia          RIO                 MIAMI                     FL
80784   3KPA24AB5KE170905   Kia          RIO                 JACKSONVILLE              FL
80785   3KPA24AB5KE171021   Kia          RIO                 MIAMI                     FL
80786   3KPA24AB5KE171195   Kia          RIO                 West Palm Beach           FL
80787   3KPA24AB5KE171231   Kia          RIO                 Hamilton                  OH
80788   3KPA24AB5KE172542   Kia          RIO                 Atlanta                   GA
80789   3KPA24AB5KE172590   Kia          RIO                 MIAMI                     FL
80790   3KPA24AB5KE172749   Kia          RIO                 WEST PALM BEACH           FL
80791   3KPA24AB5KE173870   Kia          RIO                 Brighton                  CO
80792   3KPA24AB5KE174114   Kia          RIO                 Clearwater                FL
80793   3KPA24AB5KE174792   Kia          RIO                 ORLANDO                   FL
80794   3KPA24AB5KE178602   Kia          RIO                 Stockton                  CA
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80795   3KPA24AB5KE178874   Kia          RIO                 Roseville                 CA
80796   3KPA24AB5KE179765   Kia          RIO                 Tampa                     FL
80797   3KPA24AB5KE179863   Kia          RIO                 SAN DIEGO                 CA
80798   3KPA24AB5KE180172   Kia          RIO                 ORLANDO                   FL
80799   3KPA24AB5KE181323   Kia          RIO                 Miami                     FL
80800   3KPA24AB5KE181466   Kia          RIO                 DALLAS                    TX
80801   3KPA24AB5KE198297   Kia          RIO                 Torrance                  CA
80802   3KPA24AB6JE054711   Kia          RIO                 Jacksonville              FL
80803   3KPA24AB6JE057835   Kia          RIO                 WEST PALM BEACH           FL
80804   3KPA24AB6JE058029   Kia          RIO                 CHARLOTTE                 NC
80805   3KPA24AB6JE065448   Kia          RIO                 Estero                    FL
80806   3KPA24AB6JE074487   Kia          RIO                 SAN DIEGO                 CA
80807   3KPA24AB6JE076272   Kia          RIO                 Santa Clara               CA
80808   3KPA24AB6JE076689   Kia          RIO                 N. Palm Beach             FL
80809   3KPA24AB6JE077020   Kia          RIO                 Ocoee                     FL
80810   3KPA24AB6JE077325   Kia          RIO                 Miami                     FL
80811   3KPA24AB6JE077843   Kia          RIO                 Live Oak                  TX
80812   3KPA24AB6JE078586   Kia          RIO                 Tampa                     FL
80813   3KPA24AB6JE079723   Kia          RIO                 Caledonia                 WI
80814   3KPA24AB6JE079883   Kia          RIO                 OAKLAND                   CA
80815   3KPA24AB6JE096392   Kia          RIO                 Pittsburgh                PA
80816   3KPA24AB6JE114101   Kia          RIO                 Lake Elsinore             CA
80817   3KPA24AB6JE115412   Kia          RIO                 FORT MYERS                FL
80818   3KPA24AB6KE157550   Kia          RIO                 BOSTON                    MA
80819   3KPA24AB6KE157709   Kia          RIO                 WEST PALM BEACH           FL
80820   3KPA24AB6KE157712   Kia          RIO                 SEATAC                    WA
80821   3KPA24AB6KE157807   Kia          RIO                 WEST PALM BEACH           FL
80822   3KPA24AB6KE158293   Kia          RIO                 ORLANDO                   FL
80823   3KPA24AB6KE158469   Kia          RIO                 Sacramento                CA
80824   3KPA24AB6KE158553   Kia          RIO                 ORLANDO                   FL
80825   3KPA24AB6KE158598   Kia          RIO                 Maple Grove               MN
80826   3KPA24AB6KE158620   Kia          RIO                 SAN ANTONIO               TX
80827   3KPA24AB6KE158634   Kia          RIO                 Santa Clara               CA
80828   3KPA24AB6KE158682   Kia          RIO                 Ventura                   CA
80829   3KPA24AB6KE158777   Kia          RIO                 Baltimore                 MD
80830   3KPA24AB6KE158844   Kia          RIO                 Chicago                   IL
80831   3KPA24AB6KE158939   Kia          RIO                 Kansas City               MO
80832   3KPA24AB6KE158990   Kia          RIO                 San Diego                 CA
80833   3KPA24AB6KE160433   Kia          RIO                 Atlanta                   GA
80834   3KPA24AB6KE160528   Kia          RIO                 Newport Beach             CA
80835   3KPA24AB6KE160657   Kia          RIO                 SEATTLE                   WA
80836   3KPA24AB6KE161100   Kia          RIO                 FRESNO                    CA
80837   3KPA24AB6KE161128   Kia          RIO                 SARASOTA                  FL
80838   3KPA24AB6KE161694   Kia          RIO                 ORLANDO                   FL
80839   3KPA24AB6KE161758   Kia          RIO                 Rock Hill                 SC
80840   3KPA24AB6KE161808   Kia          RIO                 KNOXVILLE                 TN
80841   3KPA24AB6KE161971   Kia          RIO                 Atlanta                   GA
80842   3KPA24AB6KE164479   Kia          RIO                 JACKSONVILLE              FL
80843   3KPA24AB6KE164613   Kia          RIO                 JACKSONVILLE              FL
80844   3KPA24AB6KE164689   Kia          RIO                 Irving                    TX
80845   3KPA24AB6KE164739   Kia          RIO                 ORLANDO                   FL
80846   3KPA24AB6KE165647   Kia          RIO                 Costa Mesa                CA
80847   3KPA24AB6KE165728   Kia          RIO                 Nashville                 TN
80848   3KPA24AB6KE166166   Kia          RIO                 Jacksonville              FL
80849   3KPA24AB6KE166295   Kia          RIO                 Burien                    WA
80850   3KPA24AB6KE166331   Kia          RIO                 NEW ORLEANS               LA
80851   3KPA24AB6KE166460   Kia          RIO                 FT. LAUDERDALE            FL
80852   3KPA24AB6KE166538   Kia          RIO                 Santa Clara               CA
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80853   3KPA24AB6KE166958   Kia          RIO                 SARASOTA                  FL
80854   3KPA24AB6KE166992   Kia          RIO                 FORT MYERS                FL
80855   3KPA24AB6KE167060   Kia          RIO                 Memphis                   TN
80856   3KPA24AB6KE167415   Kia          RIO                 STERLING                  VA
80857   3KPA24AB6KE167429   Kia          RIO                 SANFORD                   FL
80858   3KPA24AB6KE167463   Kia          RIO                 Coraopolis                PA
80859   3KPA24AB6KE167642   Kia          RIO                 Winter Park               FL
80860   3KPA24AB6KE170315   Kia          RIO                 TAMPA                     FL
80861   3KPA24AB6KE170900   Kia          RIO                 TAMPA                     FL
80862   3KPA24AB6KE171013   Kia          RIO                 KNOXVILLE                 TN
80863   3KPA24AB6KE171027   Kia          RIO                 Leroy                     NY
80864   3KPA24AB6KE173196   Kia          RIO                 MIAMI                     FL
80865   3KPA24AB6KE173523   Kia          RIO                 MIAMI                     FL
80866   3KPA24AB6KE173599   Kia          RIO                 MIAMI                     FL
80867   3KPA24AB6KE173814   Kia          RIO                 Beaverton                 OR
80868   3KPA24AB6KE173974   Kia          RIO                 FORT MYERS                FL
80869   3KPA24AB6KE174106   Kia          RIO                 St. Louis                 MO
80870   3KPA24AB6KE174543   Kia          RIO                 Newark                    NJ
80871   3KPA24AB6KE174798   Kia          RIO                 ORLANDO                   FL
80872   3KPA24AB6KE178480   Kia          RIO                 San Diego                 CA
80873   3KPA24AB6KE178494   Kia          RIO                 Anaheim                   CA
80874   3KPA24AB6KE178933   Kia          RIO                 Charlotte                 NC
80875   3KPA24AB6KE180049   Kia          RIO                 Webster                   NY
80876   3KPA24AB6KE180164   Kia          RIO                 ORLANDO                   FL
80877   3KPA24AB6KE181072   Kia          RIO                 PANAMA CITY               FL
80878   3KPA24AB6KE182528   Kia          RIO                 WEST PALM BEACH           FL
80879   3KPA24AB6KE187809   Kia          RIO                 FORT MYERS                FL
80880   3KPA24AB6KE188314   Kia          RIO                 SOUTHEAST DST OFFC        OK
80881   3KPA24AB6KE188829   Kia          RIO                 MIAMI                     FL
80882   3KPA24AB6KE205564   Kia          RIO                 TAMPA                     US
80883   3KPA24AB7JE046391   Kia          RIO                 North Dighton             MA
80884   3KPA24AB7JE047069   Kia          RIO                 NEW ORLEANS               LA
80885   3KPA24AB7JE058850   Kia          RIO                 Marietta                  GA
80886   3KPA24AB7JE061098   Kia          RIO                 Ventura                   CA
80887   3KPA24AB7JE062932   Kia          RIO                 Santa Clara               CA
80888   3KPA24AB7JE076779   Kia          RIO                 DENVER                    CO
80889   3KPA24AB7JE077320   Kia          RIO                 TAMPA                     FL
80890   3KPA24AB7JE077561   Kia          RIO                 SAN FRANCISCO             CA
80891   3KPA24AB7JE085398   Kia          RIO                 SACRAMENTO                CA
80892   3KPA24AB7JE086129   Kia          RIO                 PALM SPRINGS              CA
80893   3KPA24AB7JE096109   Kia          RIO                 SAN LEANDRO               CA
80894   3KPA24AB7KE157248   Kia          RIO                 Warr Acres                OK
80895   3KPA24AB7KE157315   Kia          RIO                 Riverside                 CA
80896   3KPA24AB7KE157332   Kia          RIO                 Stockton                  CA
80897   3KPA24AB7KE157542   Kia          RIO                 Stockton                  CA
80898   3KPA24AB7KE157573   Kia          RIO                 ORLANDO                   FL
80899   3KPA24AB7KE157637   Kia          RIO                 JACKSONVILLE              FL
80900   3KPA24AB7KE157685   Kia          RIO                 Bridgeton                 MO
80901   3KPA24AB7KE157704   Kia          RIO                 GAINESVILLE               FL
80902   3KPA24AB7KE157749   Kia          RIO                 Nashville                 TN
80903   3KPA24AB7KE157802   Kia          RIO                 ORLANDO                   FL
80904   3KPA24AB7KE158268   Kia          RIO                 JACKSONVILLE              FL
80905   3KPA24AB7KE158383   Kia          RIO                 MIAMI                     FL
80906   3KPA24AB7KE158464   Kia          RIO                 Stockton                  CA
80907   3KPA24AB7KE158500   Kia          RIO                 TAMPA                     FL
80908   3KPA24AB7KE158514   Kia          RIO                 Hayward                   CA
80909   3KPA24AB7KE158528   Kia          RIO                 TAMPA                     FL
80910   3KPA24AB7KE158593   Kia          RIO                 Dallas                    TX
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80911   3KPA24AB7KE158688   Kia          RIO                 DES PLAINES               IL
80912   3KPA24AB7KE158691   Kia          RIO                 Slidell                   LA
80913   3KPA24AB7KE158772   Kia          RIO                 TAMPA                     FL
80914   3KPA24AB7KE158819   Kia          RIO                 ORLANDO                   FL
80915   3KPA24AB7KE158920   Kia          RIO                 COLUMBIA                  SC
80916   3KPA24AB7KE158951   Kia          RIO                 WEST PALM BEACH           FL
80917   3KPA24AB7KE158965   Kia          RIO                 Charlotte                 NC
80918   3KPA24AB7KE159128   Kia          RIO                 FORT LAUDERDALE           FL
80919   3KPA24AB7KE159839   Kia          RIO                 Kansas City               MO
80920   3KPA24AB7KE159842   Kia          RIO                 Slidell                   LA
80921   3KPA24AB7KE159887   Kia          RIO                 TRACY                     CA
80922   3KPA24AB7KE160084   Kia          RIO                 ORLANDO                   FL
80923   3KPA24AB7KE160411   Kia          RIO                 Lake Elsinore             CA
80924   3KPA24AB7KE160554   Kia          RIO                 ORLANDO                   FL
80925   3KPA24AB7KE160571   Kia          RIO                 WEST PALM BEACH           FL
80926   3KPA24AB7KE161087   Kia          RIO                 PLEASANTON                CA
80927   3KPA24AB7KE161218   Kia          RIO                 FORT MYERS                FL
80928   3KPA24AB7KE161347   Kia          RIO                 Harvey                    LA
80929   3KPA24AB7KE161591   Kia          RIO                 Nashville                 TN
80930   3KPA24AB7KE161624   Kia          RIO                 Sterling                  VA
80931   3KPA24AB7KE161722   Kia          RIO                 Orlando                   FL
80932   3KPA24AB7KE163373   Kia          RIO                 SARASOTA                  FL
80933   3KPA24AB7KE163387   Kia          RIO                 TAMPA                     FL
80934   3KPA24AB7KE164507   Kia          RIO                 Sanford                   FL
80935   3KPA24AB7KE165804   Kia          RIO                 LAS VEGAS                 NV
80936   3KPA24AB7KE166015   Kia          RIO                 MIAMI                     FL
80937   3KPA24AB7KE166225   Kia          RIO                 Stockton                  CA
80938   3KPA24AB7KE166435   Kia          RIO                 ORLANDO                   FL
80939   3KPA24AB7KE166449   Kia          RIO                 ORLANDO                   FL
80940   3KPA24AB7KE166676   Kia          RIO                 FORT MYERS                FL
80941   3KPA24AB7KE166791   Kia          RIO                 ORLANDO                   FL
80942   3KPA24AB7KE166984   Kia          RIO                 MIAMI                     FL
80943   3KPA24AB7KE167357   Kia          RIO                 MIAMI                     FL
80944   3KPA24AB7KE167388   Kia          RIO                 SARASOTA                  FL
80945   3KPA24AB7KE167410   Kia          RIO                 FORT LAUDERDALE           FL
80946   3KPA24AB7KE167519   Kia          RIO                 WEST PALM BEACH           FL
80947   3KPA24AB7KE167536   Kia          RIO                 Woodhaven                 MI
80948   3KPA24AB7KE167584   Kia          RIO                 SARASOTA                  FL
80949   3KPA24AB7KE167617   Kia          RIO                 Philadelphia              PA
80950   3KPA24AB7KE170405   Kia          RIO                 TAMPA                     FL
80951   3KPA24AB7KE170534   Kia          RIO                 Coraopolis                PA
80952   3KPA24AB7KE170811   Kia          RIO                 TAMPA                     FL
80953   3KPA24AB7KE170825   Kia          RIO                 Chicago                   IL
80954   3KPA24AB7KE170985   Kia          RIO                 JACKSONVILLE              FL
80955   3KPA24AB7KE171151   Kia          RIO                 MEDINA                    OH
80956   3KPA24AB7KE172543   Kia          RIO                 Baltimore                 MD
80957   3KPA24AB7KE172591   Kia          RIO                 ORLANDO                   FL
80958   3KPA24AB7KE172753   Kia          RIO                 Baltimore                 MD
80959   3KPA24AB7KE172767   Kia          RIO                 MEDINA                    OH
80960   3KPA24AB7KE173515   Kia          RIO                 ORLANDO                   FL
80961   3KPA24AB7KE174390   Kia          RIO                 FORT MYERS                FL
80962   3KPA24AB7KE174437   Kia          RIO                 ORLANDO                   FL
80963   3KPA24AB7KE174745   Kia          RIO                 Fredericksburg            VA
80964   3KPA24AB7KE177967   Kia          RIO                 Santa Clara               CA
80965   3KPA24AB7KE179167   Kia          RIO                 Miami                     FL
80966   3KPA24AB7KE179217   Kia          RIO                 Albuquerque               NM
80967   3KPA24AB7KE180190   Kia          RIO                 St. Louis                 MO
80968   3KPA24AB7KE180318   Kia          RIO                 PLEASANTON                CA
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80969   3KPA24AB7KE181436   Kia          RIO                 ORLANDO                   FL
80970   3KPA24AB7KE182456   Kia          RIO                 TAMPA                     FL
80971   3KPA24AB7KE182943   Kia          RIO                 ORLANDO                   FL
80972   3KPA24AB7KE188080   Kia          RIO                 San Diego                 CA
80973   3KPA24AB8JE058839   Kia          RIO                 FORT MYERS                FL
80974   3KPA24AB8JE060168   Kia          RIO                 Stockton                  CA
80975   3KPA24AB8JE071199   Kia          RIO                 Lake Elsinore             CA
80976   3KPA24AB8JE072854   Kia          RIO                 Stockton                  CA
80977   3KPA24AB8JE073258   Kia          RIO                 Rock Hill                 SC
80978   3KPA24AB8JE077083   Kia          RIO                 TAMPA                     FL
80979   3KPA24AB8JE077827   Kia          RIO                 SACRAMENTO                CA
80980   3KPA24AB8JE098046   Kia          RIO                 North Billerica           MA
80981   3KPA24AB8JE114374   Kia          RIO                 OAKLAND                   CA
80982   3KPA24AB8KE157212   Kia          RIO                 Ventura                   CA
80983   3KPA24AB8KE157579   Kia          RIO                 FORT LAUDERDALE           FL
80984   3KPA24AB8KE157615   Kia          RIO                 ORLANDO                   FL
80985   3KPA24AB8KE157663   Kia          RIO                 Hapeville                 GA
80986   3KPA24AB8KE157713   Kia          RIO                 Statesville               NC
80987   3KPA24AB8KE157744   Kia          RIO                 Roseville                 CA
80988   3KPA24AB8KE157758   Kia          RIO                 Clearwater                FL
80989   3KPA24AB8KE157808   Kia          RIO                 PHOENIX                   AZ
80990   3KPA24AB8KE158263   Kia          RIO                 TAMPA                     FL
80991   3KPA24AB8KE158280   Kia          RIO                 ORLANDO                   FL
80992   3KPA24AB8KE158313   Kia          RIO                 Richmond                  VA
80993   3KPA24AB8KE158361   Kia          RIO                 DES MOINES                IA
80994   3KPA24AB8KE158411   Kia          RIO                 Atlanta                   GA
80995   3KPA24AB8KE158568   Kia          RIO                 Harvey                    LA
80996   3KPA24AB8KE158604   Kia          RIO                 Pompano Beach             FL
80997   3KPA24AB8KE158635   Kia          RIO                 SACRAMENTO                CA
80998   3KPA24AB8KE158649   Kia          RIO                 Johnston                  RI
80999   3KPA24AB8KE158716   Kia          RIO                 SAVANNAH                  GA
81000   3KPA24AB8KE158750   Kia          RIO                 SARASOTA                  FL
81001   3KPA24AB8KE158814   Kia          RIO                 FORT LAUDERDALE           FL
81002   3KPA24AB8KE158831   Kia          RIO                 FORT MYERS                FL
81003   3KPA24AB8KE158845   Kia          RIO                 Detroit                   MI
81004   3KPA24AB8KE158876   Kia          RIO                 NORFOLK                   VA
81005   3KPA24AB8KE158974   Kia          RIO                 ORLANDO                   FL
81006   3KPA24AB8KE159882   Kia          RIO                 WOODS CROSS               US
81007   3KPA24AB8KE159929   Kia          RIO                 SEATTLE                   WA
81008   3KPA24AB8KE160059   Kia          RIO                 Webster                   NY
81009   3KPA24AB8KE160255   Kia          RIO                 Ventura                   CA
81010   3KPA24AB8KE160448   Kia          RIO                 Sterling                  VA
81011   3KPA24AB8KE160837   Kia          RIO                 MEDINA                    OH
81012   3KPA24AB8KE161180   Kia          RIO                 Ft. Myers                 FL
81013   3KPA24AB8KE161633   Kia          RIO                 COLUMBIA                  SC
81014   3KPA24AB8KE161809   Kia          RIO                 WEST COLUMBIA             SC
81015   3KPA24AB8KE161826   Kia          RIO                 NEW ORLEANS               LA
81016   3KPA24AB8KE163155   Kia          RIO                 TAMPA                     FL
81017   3KPA24AB8KE165617   Kia          RIO                 Costa Mesa                CA
81018   3KPA24AB8KE165648   Kia          RIO                 Torrance                  CA
81019   3KPA24AB8KE165973   Kia          RIO                 FORT MYERS                FL
81020   3KPA24AB8KE166024   Kia          RIO                 Stockton                  CA
81021   3KPA24AB8KE166296   Kia          RIO                 MIAMI                     FL
81022   3KPA24AB8KE166329   Kia          RIO                 LAS VEGAS                 NV
81023   3KPA24AB8KE166928   Kia          RIO                 Phoenix                   AZ
81024   3KPA24AB8KE166931   Kia          RIO                 Colorado Spring           CO
81025   3KPA24AB8KE166962   Kia          RIO                 JACKSONVILLE              FL
81026   3KPA24AB8KE166976   Kia          RIO                 Lake Elsinore             CA
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81027   3KPA24AB8KE167173   Kia          RIO                 MIAMI                     FL
81028   3KPA24AB8KE167366   Kia          RIO                 NAPLES                    FL
81029   3KPA24AB8KE167531   Kia          RIO                 MIAMI                     FL
81030   3KPA24AB8KE167545   Kia          RIO                 TAMPA                     FL
81031   3KPA24AB8KE167562   Kia          RIO                 Smithtown                 NY
81032   3KPA24AB8KE167576   Kia          RIO                 Manheim                   PA
81033   3KPA24AB8KE167643   Kia          RIO                 TAMPA                     US
81034   3KPA24AB8KE169795   Kia          RIO                 COLUMBIA                  SC
81035   3KPA24AB8KE170042   Kia          RIO                 Kansas City               MO
81036   3KPA24AB8KE170770   Kia          RIO                 ORLANDO                   FL
81037   3KPA24AB8KE171188   Kia          RIO                 TAMPA                     FL
81038   3KPA24AB8KE171191   Kia          RIO                 Albuquerque               NM
81039   3KPA24AB8KE172583   Kia          RIO                 FORT MYERS                FL
81040   3KPA24AB8KE173765   Kia          RIO                 Miami                     FL
81041   3KPA24AB8KE173877   Kia          RIO                 ORLANDO                   FL
81042   3KPA24AB8KE174236   Kia          RIO                 ORLANDO                   FL
81043   3KPA24AB8KE174768   Kia          RIO                 MIAMI                     FL
81044   3KPA24AB8KE174804   Kia          RIO                 Denver                    CO
81045   3KPA24AB8KE180165   Kia          RIO                 Clearwater                FL
81046   3KPA24AB8KE180229   Kia          RIO                 Portland                  OR
81047   3KPA24AB8KE188153   Kia          RIO                 Rockville Centr           NY
81048   3KPA24AB8KE188279   Kia          RIO                 WOODSON TERRACE           MO
81049   3KPA24AB8KE196950   Kia          RIO
81050   3KPA24AB8KE205498   Kia          RIO                 Des Plaines               IL
81051   3KPA24AB9JE061099   Kia          RIO                 Scottsdale                AZ
81052   3KPA24AB9JE062950   Kia          RIO                 MIAMI                     FL
81053   3KPA24AB9JE063287   Kia          RIO                 Hapeville                 GA
81054   3KPA24AB9JE068490   Kia          RIO                 FORT LAUDERDALE           FL
81055   3KPA24AB9JE072197   Kia          RIO                 Warminster                PA
81056   3KPA24AB9JE076699   Kia          RIO                 Davie                     FL
81057   3KPA24AB9JE076945   Kia          RIO                 ATLANTA                   GA
81058   3KPA24AB9JE079201   Kia          RIO                 Ventura                   CA
81059   3KPA24AB9JE082079   Kia          RIO                 Marietta                  GA
81060   3KPA24AB9JE096662   Kia          RIO                 Smithtown                 NY
81061   3KPA24AB9JE114013   Kia          RIO                 Nashville                 TN
81062   3KPA24AB9KE157218   Kia          RIO                 ORLANDO                   FL
81063   3KPA24AB9KE157316   Kia          RIO                 ORLANDO                   FL
81064   3KPA24AB9KE157574   Kia          RIO                 MIAMI                     FL
81065   3KPA24AB9KE157610   Kia          RIO                 ORLANDO                   FL
81066   3KPA24AB9KE157638   Kia          RIO                 MIAMI                     FL
81067   3KPA24AB9KE157686   Kia          RIO                 Indianapolis              IN
81068   3KPA24AB9KE157817   Kia          RIO                 Kansas City               MO
81069   3KPA24AB9KE157882   Kia          RIO                 Roseville                 CA
81070   3KPA24AB9KE158238   Kia          RIO                 Hamilton                  OH
81071   3KPA24AB9KE158269   Kia          RIO                 MIAMI                     FL
81072   3KPA24AB9KE158319   Kia          RIO                 Stone Mountain            GA
81073   3KPA24AB9KE158434   Kia          RIO                 JACKSONVILLE              FL
81074   3KPA24AB9KE158580   Kia          RIO                 KEY WEST                  FL
81075   3KPA24AB9KE158661   Kia          RIO                 Chicago                   IL
81076   3KPA24AB9KE158675   Kia          RIO                 DAYTONA BEACH             FL
81077   3KPA24AB9KE158773   Kia          RIO                 JACKSONVILLE              FL
81078   3KPA24AB9KE158840   Kia          RIO                 CHARLOTTE                 NC
81079   3KPA24AB9KE158871   Kia          RIO                 Smithtown                 NY
81080   3KPA24AB9KE158899   Kia          RIO                 FORT LAUDERDALE           FL
81081   3KPA24AB9KE158921   Kia          RIO                 SAN JOSE                  CA
81082   3KPA24AB9KE160054   Kia          RIO                 North Las Vegas           NV
81083   3KPA24AB9KE160166   Kia          RIO                 Hendersonville            TN
81084   3KPA24AB9KE160197   Kia          RIO                 DES MOINES                IA
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81085   3KPA24AB9KE160202   Kia          RIO                 WEST PALM BEACH           FL
81086   3KPA24AB9KE160281   Kia          RIO                 MELROSE PARK              IL
81087   3KPA24AB9KE160443   Kia          RIO                 TAMPA                     FL
81088   3KPA24AB9KE160555   Kia          RIO                 Carleton                  MI
81089   3KPA24AB9KE160622   Kia          RIO                 Torrance                  CA
81090   3KPA24AB9KE160667   Kia          RIO                 TUCSON                    AZ
81091   3KPA24AB9KE160670   Kia          RIO                 SARASOTA                  FL
81092   3KPA24AB9KE161155   Kia          RIO                 Rock Hill                 SC
81093   3KPA24AB9KE161222   Kia          RIO                 Atlanta                   GA
81094   3KPA24AB9KE161494   Kia          RIO                 Charlotte                 NC
81095   3KPA24AB9KE161575   Kia          RIO                 SOUTH BEND                IN
81096   3KPA24AB9KE161589   Kia          RIO                 ORLANDO                   FL
81097   3KPA24AB9KE163570   Kia          RIO                 Tampa                     FL
81098   3KPA24AB9KE165688   Kia          RIO                 Smithtown                 NY
81099   3KPA24AB9KE165836   Kia          RIO                 Dallas                    TX
81100   3KPA24AB9KE166016   Kia          RIO                 WEST PALM BEACH           FL
81101   3KPA24AB9KE166114   Kia          RIO                 Sacramento                CA
81102   3KPA24AB9KE166307   Kia          RIO                 Salt Lake City            UT
81103   3KPA24AB9KE166355   Kia          RIO                 FORT LAUDERDALE           FL
81104   3KPA24AB9KE166551   Kia          RIO                 ATLANTA                   GA
81105   3KPA24AB9KE166565   Kia          RIO                 GLASSBORO                 NJ
81106   3KPA24AB9KE166873   Kia          RIO                 WEST PALM BEACH           FL
81107   3KPA24AB9KE166940   Kia          RIO                 Pasadena                  CA
81108   3KPA24AB9KE167103   Kia          RIO                 ORLANDO                   FL
81109   3KPA24AB9KE167313   Kia          RIO                 SAN DIEGO                 CA
81110   3KPA24AB9KE167330   Kia          RIO                 FORT LAUDERDALE           FL
81111   3KPA24AB9KE167344   Kia          RIO                 Hendersonville            TN
81112   3KPA24AB9KE167389   Kia          RIO                 ORLANDO                   FL
81113   3KPA24AB9KE170051   Kia          RIO                 BIRMINGHAM                AL
81114   3KPA24AB9KE170633   Kia          RIO                 Pompano Beach             FL
81115   3KPA24AB9KE170941   Kia          RIO                 WEST PALM BEACH           FL
81116   3KPA24AB9KE171071   Kia          RIO                 ORLANDO                   FL
81117   3KPA24AB9KE171099   Kia          RIO                 SARASOTA                  FL
81118   3KPA24AB9KE172589   Kia          RIO                 MIAMI                     FL
81119   3KPA24AB9KE172771   Kia          RIO                 ORLANDO                   FL
81120   3KPA24AB9KE172916   Kia          RIO                 Elkridge                  MD
81121   3KPA24AB9KE174004   Kia          RIO                 Orlando                   FL
81122   3KPA24AB9KE174164   Kia          RIO                 FORT LAUDERDALE           FL
81123   3KPA24AB9KE174231   Kia          RIO                 TAMPA                     FL
81124   3KPA24AB9KE174391   Kia          RIO                 SANFORD                   FL
81125   3KPA24AB9KE174441   Kia          RIO                 ORLANDO                   FL
81126   3KPA24AB9KE174651   Kia          RIO                 ORLANDO                   FL
81127   3KPA24AB9KE174696   Kia          RIO                 JACKSONVILLE              FL
81128   3KPA24AB9KE178408   Kia          RIO                 Santa Clara               CA
81129   3KPA24AB9KE179302   Kia          RIO                 Burien                    WA
81130   3KPA24AB9KE179395   Kia          RIO                 TAMPA                     FL
81131   3KPA24AB9KE180174   Kia          RIO                 Hanover                   MD
81132   3KPA24AB9KE181468   Kia          RIO                 ORLANDO                   FL
81133   3KPA24AB9KE182264   Kia          RIO                 TALLAHASSEE               FL
81134   3KPA24AB9KE182541   Kia          RIO                 TAMPA                     FL
81135   3KPA24AB9KE186931   Kia          RIO                 Charlotte                 NC
81136   3KPA24AB9KE188002   Kia          RIO                 Austin                    TX
81137   3KPA24AB9KE188193   Kia          RIO                 FT LAUDERDALE             FL
81138   3KPA24AB9KE188386   Kia          RIO                 GREENWOOD                 NE
81139   3KPA24AB9KE213612   Kia          RIO                 MERRIVILLE                IN
81140   3KPA24ABXJE058891   Kia          RIO                 LAS VEGAS                 NV
81141   3KPA24ABXJE065873   Kia          RIO                 Houston                   TX
81142   3KPA24ABXJE066151   Kia          RIO                 JACKSONVILLE              FL
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81143   3KPA24ABXJE075920   Kia          RIO                 Clearwater                FL
81144   3KPA24ABXJE076789   Kia          RIO                 Ft. Myers                 FL
81145   3KPA24ABXJE076890   Kia          RIO                 JACKSONVILLE              FL
81146   3KPA24ABXJE077683   Kia          RIO                 ORLANDO                   FL
81147   3KPA24ABXJE096749   Kia          RIO                 SALT LAKE CITY            UT
81148   3KPA24ABXJE096881   Kia          RIO                 Hayward                   CA
81149   3KPA24ABXJE114019   Kia          RIO                 Mira Loma                 CA
81150   3KPA24ABXKE157308   Kia          RIO                 AUGUSTA                   GA
81151   3KPA24ABXKE157616   Kia          RIO                 SAVANNAH                  GA
81152   3KPA24ABXKE157647   Kia          RIO                 Sacramento                CA
81153   3KPA24ABXKE157664   Kia          RIO                 TAMPA                     FL
81154   3KPA24ABXKE157678   Kia          RIO                 Slidell                   LA
81155   3KPA24ABXKE157700   Kia          RIO                 KNOXVILLE                 TN
81156   3KPA24ABXKE157809   Kia          RIO                 SARASOTA                  FL
81157   3KPA24ABXKE157812   Kia          RIO                 Baltimore                 MD
81158   3KPA24ABXKE157857   Kia          RIO                 Fredericksburg            VA
81159   3KPA24ABXKE157874   Kia          RIO                 EULESS                    TX
81160   3KPA24ABXKE157888   Kia          RIO                 Torrance                  CA
81161   3KPA24ABXKE158281   Kia          RIO                 WEST PALM BEACH           FL
81162   3KPA24ABXKE158295   Kia          RIO                 ORLANDO                   FL
81163   3KPA24ABXKE158345   Kia          RIO                 Tampa                     FL
81164   3KPA24ABXKE158362   Kia          RIO                 Warminster                PA
81165   3KPA24ABXKE158409   Kia          RIO                 TAMPA                     FL
81166   3KPA24ABXKE158412   Kia          RIO                 Rock Hill                 SC
81167   3KPA24ABXKE158488   Kia          RIO                 CHICAGO                   IL
81168   3KPA24ABXKE158605   Kia          RIO                 ORLANDO                   FL
81169   3KPA24ABXKE158619   Kia          RIO                 Davie                     FL
81170   3KPA24ABXKE158653   Kia          RIO                 ATLANTA                   GA
81171   3KPA24ABXKE158670   Kia          RIO                 Stockton                  CA
81172   3KPA24ABXKE158751   Kia          RIO                 Stockton                  CA
81173   3KPA24ABXKE158782   Kia          RIO                 JACKSONVILLE              FL
81174   3KPA24ABXKE158801   Kia          RIO                 WEST PALM BEACH           FL
81175   3KPA24ABXKE158815   Kia          RIO                 FORT MYERS                FL
81176   3KPA24ABXKE158894   Kia          RIO                 DAYTONA BEACH             FL
81177   3KPA24ABXKE158930   Kia          RIO                 Hartford                  CT
81178   3KPA24ABXKE158944   Kia          RIO                 MIAMI                     FL
81179   3KPA24ABXKE158961   Kia          RIO                 WEST PALM BEACH           FL
81180   3KPA24ABXKE159513   Kia          RIO                 FORT LAUDERDALE           FL
81181   3KPA24ABXKE159835   Kia          RIO                 Santa Clara               CA
81182   3KPA24ABXKE159852   Kia          RIO                 North Dighton             MA
81183   3KPA24ABXKE160080   Kia          RIO                 FORT MYERS                FL
81184   3KPA24ABXKE160516   Kia          RIO                 ONTARIO                   CA
81185   3KPA24ABXKE160743   Kia          RIO                 Stockton                  CA
81186   3KPA24ABXKE160807   Kia          RIO                 WEST PALM BEACH           FL
81187   3KPA24ABXKE160824   Kia          RIO                 FORT MYERS                FL
81188   3KPA24ABXKE161083   Kia          RIO                 ORANGE COUNTY             CA
81189   3KPA24ABXKE161195   Kia          RIO                 FORT MYERS                FL
81190   3KPA24ABXKE161584   Kia          RIO                 FORT MYERS                FL
81191   3KPA24ABXKE161634   Kia          RIO                 DAYTONA BEACH             FL
81192   3KPA24ABXKE161665   Kia          RIO                 WHITE PLAINS              NY
81193   3KPA24ABXKE161715   Kia          RIO                 SARASOTA                  FL
81194   3KPA24ABXKE163447   Kia          RIO                 FORT LAUDERDALE           FL
81195   3KPA24ABXKE164470   Kia          RIO                 Memphis                   TN
81196   3KPA24ABXKE164582   Kia          RIO                 Newark                    NJ
81197   3KPA24ABXKE164694   Kia          RIO                 ORLANDO                   FL
81198   3KPA24ABXKE165828   Kia          RIO                 Atlanta                   GA
81199   3KPA24ABXKE165859   Kia          RIO                 PLEASANTON                CA
81200   3KPA24ABXKE166140   Kia          RIO                 Sacramento                CA
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81201   3KPA24ABXKE166459   Kia           RIO                 Irving                    TX
81202   3KPA24ABXKE166963   Kia           RIO                 ORLANDO                   FL
81203   3KPA24ABXKE166994   Kia           RIO                 JACKSONVILLE              FL
81204   3KPA24ABXKE167059   Kia           RIO                 SARASOTA                  FL
81205   3KPA24ABXKE167076   Kia           RIO                 SHREVEPORT                LA
81206   3KPA24ABXKE167093   Kia           RIO                 Detroit                   MI
81207   3KPA24ABXKE167420   Kia           RIO                 SANFORD                   FL
81208   3KPA24ABXKE167451   Kia           RIO                 TAMPA                     FL
81209   3KPA24ABXKE167630   Kia           RIO                 Massapequa                NY
81210   3KPA24ABXKE169927   Kia           RIO                 TAMPA                     FL
81211   3KPA24ABXKE170043   Kia           RIO                 MELROSE PARK              IL
81212   3KPA24ABXKE170253   Kia           RIO                 Detroit                   MI
81213   3KPA24ABXKE170446   Kia           RIO                 Slidell                   LA
81214   3KPA24ABXKE170513   Kia           RIO                 TAMPA                     FL
81215   3KPA24ABXKE170933   Kia           RIO                 Des Plaines               IL
81216   3KPA24ABXKE170995   Kia           RIO                 Tampa                     FL
81217   3KPA24ABXKE171063   Kia           RIO                 FORT LAUDERDALE           FL
81218   3KPA24ABXKE171225   Kia           RIO                 Tampa                     FL
81219   3KPA24ABXKE172455   Kia           RIO                 CHARLOTTE                 NC
81220   3KPA24ABXKE172584   Kia           RIO                 MIAMI                     FL
81221   3KPA24ABXKE172665   Kia           RIO                 LOUISVILLE                KY
81222   3KPA24ABXKE172763   Kia           RIO                 Nashville                 TN
81223   3KPA24ABXKE172911   Kia           RIO                 Hebron                    KY
81224   3KPA24ABXKE173766   Kia           RIO                 ORLANDO                   FL
81225   3KPA24ABXKE174027   Kia           RIO                 ORLANDO                   FL
81226   3KPA24ABXKE174397   Kia           RIO                 Hamilton                  OH
81227   3KPA24ABXKE174433   Kia           RIO                 Tampa                     FL
81228   3KPA24ABXKE174559   Kia           RIO                 Clearwater                FL
81229   3KPA24ABXKE174643   Kia           RIO                 Elkridge                  MD
81230   3KPA24ABXKE174786   Kia           RIO                 JACKSONVILLE              FL
81231   3KPA24ABXKE174822   Kia           RIO                 SAINT PAUL                MN
81232   3KPA24ABXKE178417   Kia           RIO                 San Diego                 CA
81233   3KPA24ABXKE179194   Kia           RIO                 Cincinnati                OH
81234   3KPA24ABXKE180197   Kia           RIO                 Hebron                    KY
81235   3KPA24ABXKE180863   Kia           RIO                 ORLANDO                   FL
81236   3KPA24ABXKE181009   Kia           RIO                 PORTLAND                  OR
81237   3KPA24ABXKE181012   Kia           RIO                 Estero                    FL
81238   3KPA24ABXKE181320   Kia           RIO                 WEST PALM BEACH           FL
81239   3KPA24ABXKE188221   Kia           RIO                 Dallas                    TX
81240   3KPA24ABXKE188283   Kia           RIO                 KNOXVILLE                 TN
81241   3KPA24ABXKE205602   Kia           RIO                 Lake Elsinore             CA
81242   3KPA24AD0LE287956   Kia           RIO                 GLASSBORO                 NJ
81243   3KPA24AD3LE274697   Kia           RIO                 Tampa                     FL
81244   3KPA24AD3LE296151   Kia           RIO                 FORT MYERS                FL
81245   3KPA24AD4LE273882   Kia           RIO                 FORT MYERS                FL
81246   3KPA24AD6LE274337   Kia           RIO                 Clearwater                FL
81247   3KPA24AD6LE278243   Kia           RIO                 FORT MYERS                FL
81248   3KPA24AD6LE296564   Kia           RIO                 BURNSVILLE                MN
81249   3KPA24AD9LE294114   Kia           RIO                 FORT MYERS                FL
81250   3KPA24ADXLE256794   Kia           RIO                 Sanford                   FL
81251   3KPA24ADXLE288354   Kia           RIO                 Cudahy                    WI
81252   3KPA24ADXLE298303   Kia           RIO                 FORT MYERS                FL
81253   3KPA25AB3JE088689   Kia           RIO                 Scottsdale                AZ
81254   3KPA25AB7JE089747   Kia           RIO                 Coraopolis                PA
81255   3KPC24A30JE005957   Hyundai       ACCENT              SAN JOSE                  CA
81256   3KPC24A30JE008258   Hyundai       ACCENT              Phoenix                   AZ
81257   3KPC24A30JE014075   Hyundai       ACCENT              LAS VEGAS                 NV
81258   3KPC24A30JE014142   Hyundai       ACCENT              CLEVELAND                 OH
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81259   3KPC24A30JE014397   Hyundai       ACCENT              Lynn                      MA
81260   3KPC24A30JE015730   Hyundai       ACCENT              Manheim                   PA
81261   3KPC24A30JE018062   Hyundai       ACCENT              Smithtown                 NY
81262   3KPC24A30JE020054   Hyundai       ACCENT              LOS ANGELES               CA
81263   3KPC24A30JE020314   Hyundai       ACCENT              DES MOINES                IA
81264   3KPC24A30JE029417   Hyundai       ACCENT              FORT MYERS                FL
81265   3KPC24A30JE029479   Hyundai       ACCENT              Indianapolis              IN
81266   3KPC24A30JE031961   Hyundai       ACCENT              St. Louis                 MO
81267   3KPC24A30KE057896   Hyundai       ACCENT              Wichita                   KS
81268   3KPC24A30KE058062   Hyundai       ACCENT              Rock Hill                 SC
81269   3KPC24A30KE058594   Hyundai       ACCENT              Baltimore                 MD
81270   3KPC24A30KE060135   Hyundai       ACCENT              Norwalk                   CA
81271   3KPC24A30KE060152   Hyundai       ACCENT              Sacramento                CA
81272   3KPC24A30KE060183   Hyundai       ACCENT              San Diego                 CA
81273   3KPC24A30KE061222   Hyundai       ACCENT              SAN DIEGO                 CA
81274   3KPC24A30KE062452   Hyundai       ACCENT              PLEASANTON                CA
81275   3KPC24A30KE067313   Hyundai       ACCENT              Las Vegas                 NV
81276   3KPC24A30KE067697   Hyundai       ACCENT              Lake Elsinore             CA
81277   3KPC24A30KE067795   Hyundai       ACCENT              S. San Francisc           CA
81278   3KPC24A30KE068929   Hyundai       ACCENT              CHICAGO                   IL
81279   3KPC24A30KE069837   Hyundai       ACCENT              Sacramento                CA
81280   3KPC24A30KE070552   Hyundai       ACCENT              Webster                   NY
81281   3KPC24A30KE071572   Hyundai       ACCENT              Lubbock                   TX
81282   3KPC24A30KE071877   Hyundai       ACCENT              Phoenix                   AZ
81283   3KPC24A30KE072043   Hyundai       ACCENT              SACRAMENTO                CA
81284   3KPC24A30KE072690   Hyundai       ACCENT              NORTH PAC                 CA
81285   3KPC24A30KE072849   Hyundai       ACCENT              Omaha                     NE
81286   3KPC24A30KE076691   Hyundai       ACCENT              SAINT LOUIS               MO
81287   3KPC24A30KE076772   Hyundai       ACCENT              Florissant                MO
81288   3KPC24A30KE076853   Hyundai       ACCENT              Florissant                MO
81289   3KPC24A30KE077789   Hyundai       ACCENT              FLORIDA DEALER DIR        FL
81290   3KPC24A31JE006678   Hyundai       ACCENT              Phoenix                   AZ
81291   3KPC24A31JE007555   Hyundai       ACCENT              Marietta                  GA
81292   3KPC24A31JE012514   Hyundai       ACCENT              Ft. Myers                 FL
81293   3KPC24A31JE014232   Hyundai       ACCENT              Denver                    CO
81294   3KPC24A31JE015039   Hyundai       ACCENT              Indianapolis              IN
81295   3KPC24A31JE015686   Hyundai       ACCENT              DETROIT                   MI
81296   3KPC24A31JE015820   Hyundai       ACCENT              INDIANAPOLIS              IN
81297   3KPC24A31JE016725   Hyundai       ACCENT              WEST PALM BEACH           FL
81298   3KPC24A31JE018068   Hyundai       ACCENT              Vandalia                  OH
81299   3KPC24A31JE019561   Hyundai       ACCENT              Lake in the Hil           IL
81300   3KPC24A31JE025912   Hyundai       ACCENT              Hamilton                  OH
81301   3KPC24A31JE026428   Hyundai       ACCENT              ELKRIDGE                  MD
81302   3KPC24A31JE029281   Hyundai       ACCENT              Rock Hill                 SC
81303   3KPC24A31JE029510   Hyundai       ACCENT              STERLING                  US
81304   3KPC24A31KE052836   Hyundai       ACCENT              Fresno                    CA
81305   3KPC24A31KE056580   Hyundai       ACCENT              Greensboro                NC
81306   3KPC24A31KE061939   Hyundai       ACCENT              Englewood                 CO
81307   3KPC24A31KE064159   Hyundai       ACCENT              PORTLAND                  OR
81308   3KPC24A31KE067921   Hyundai       ACCENT              Portland                  OR
81309   3KPC24A31KE068258   Hyundai       ACCENT              Coraopolis                PA
81310   3KPC24A31KE068261   Hyundai       ACCENT              SEA TAC                   WA
81311   3KPC24A31KE068342   Hyundai       ACCENT              Florissant                MO
81312   3KPC24A31KE068356   Hyundai       ACCENT              San Diego                 CA
81313   3KPC24A31KE069524   Hyundai       ACCENT              PLEASANTON                CA
81314   3KPC24A31KE070298   Hyundai       ACCENT              Cincinnati                OH
81315   3KPC24A31KE070768   Hyundai       ACCENT              TAMPA                     FL
81316   3KPC24A31KE072553   Hyundai       ACCENT              Marietta                  GA
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81317   3KPC24A31KE072603   Hyundai       ACCENT              PLEASANTON                CA
81318   3KPC24A31KE076263   Hyundai       ACCENT              Florissant                MO
81319   3KPC24A31KE076294   Hyundai       ACCENT              Cincinnati                OH
81320   3KPC24A31KE076568   Hyundai       ACCENT              Detroit                   MI
81321   3KPC24A31KE076666   Hyundai       ACCENT              Florissant                MO
81322   3KPC24A32JE004907   Hyundai       ACCENT              Richmond                  VA
81323   3KPC24A32JE006138   Hyundai       ACCENT              LOUISVILLE                KY
81324   3KPC24A32JE007483   Hyundai       ACCENT              Miami                     FL
81325   3KPC24A32JE011923   Hyundai       ACCENT              Carleton                  MI
81326   3KPC24A32JE012182   Hyundai       ACCENT              Newark                    NJ
81327   3KPC24A32JE012277   Hyundai       ACCENT              Woodhaven                 MI
81328   3KPC24A32JE014238   Hyundai       ACCENT              DALLAS                    TX
81329   3KPC24A32JE015311   Hyundai       ACCENT              Schaumburg                IL
81330   3KPC24A32JE015356   Hyundai       ACCENT              Slidell                   LA
81331   3KPC24A32JE015812   Hyundai       ACCENT              Orlando                   FL
81332   3KPC24A32JE016958   Hyundai       ACCENT              Atlanta                   GA
81333   3KPC24A32JE018239   Hyundai       ACCENT              Hamilton                  OH
81334   3KPC24A32JE018550   Hyundai       ACCENT              Philadelphia              PA
81335   3KPC24A32JE021173   Hyundai       ACCENT              Webster                   NY
81336   3KPC24A32JE021612   Hyundai       ACCENT              FORT MYERS                FL
81337   3KPC24A32JE022520   Hyundai       ACCENT              Richmond                  VA
81338   3KPC24A32JE025661   Hyundai       ACCENT              Kansas City               MO
81339   3KPC24A32JE026390   Hyundai       ACCENT              Kansas City               MO
81340   3KPC24A32JE032156   Hyundai       ACCENT              Harvey                    LA
81341   3KPC24A32KE044891   Hyundai       ACCENT              PERTH AMBOY               NJ
81342   3KPC24A32KE054272   Hyundai       ACCENT              HANOVER                   MD
81343   3KPC24A32KE055812   Hyundai       ACCENT              Philadelphia              PA
81344   3KPC24A32KE056703   Hyundai       ACCENT              Chicago                   IL
81345   3KPC24A32KE056815   Hyundai       ACCENT              Johnston                  RI
81346   3KPC24A32KE058001   Hyundai       ACCENT              Webster                   NY
81347   3KPC24A32KE058371   Hyundai       ACCENT              Smithtown                 NY
81348   3KPC24A32KE058421   Hyundai       ACCENT              Nashville                 TN
81349   3KPC24A32KE058564   Hyundai       ACCENT              Portland                  OR
81350   3KPC24A32KE060119   Hyundai       ACCENT              ONTARIO, RIVERSIDE        CA
81351   3KPC24A32KE061223   Hyundai       ACCENT              Stockton                  CA
81352   3KPC24A32KE061674   Hyundai       ACCENT              SAN LEANDRO               CA
81353   3KPC24A32KE062467   Hyundai       ACCENT              Anaheim                   CA
81354   3KPC24A32KE062517   Hyundai       ACCENT              Stockton                  CA
81355   3KPC24A32KE062842   Hyundai       ACCENT              Roseville                 CA
81356   3KPC24A32KE063862   Hyundai       ACCENT              Manheim                   PA
81357   3KPC24A32KE064123   Hyundai       ACCENT              TAMPA                     FL
81358   3KPC24A32KE067796   Hyundai       ACCENT              Fresno                    CA
81359   3KPC24A32KE067992   Hyundai       ACCENT              Las Vegas                 NV
81360   3KPC24A32KE068091   Hyundai       ACCENT              Fresno                    CA
81361   3KPC24A32KE068186   Hyundai       ACCENT              Stockton                  CA
81362   3KPC24A32KE068317   Hyundai       ACCENT              LOS ANGELES               CA
81363   3KPC24A32KE068379   Hyundai       ACCENT              San Diego                 CA
81364   3KPC24A32KE068429   Hyundai       ACCENT              PASADENA                  CA
81365   3KPC24A32KE068558   Hyundai       ACCENT              Stockton                  CA
81366   3KPC24A32KE068673   Hyundai       ACCENT              Mira Loma                 CA
81367   3KPC24A32KE068706   Hyundai       ACCENT              Stockton                  CA
81368   3KPC24A32KE069242   Hyundai       ACCENT              TUCSON                    AZ
81369   3KPC24A32KE070343   Hyundai       ACCENT              MEDINA                    OH
81370   3KPC24A32KE070553   Hyundai       ACCENT              FORT MYERS                FL
81371   3KPC24A32KE071413   Hyundai       ACCENT              Roseville                 CA
81372   3KPC24A32KE071542   Hyundai       ACCENT              Ventura                   CA
81373   3KPC24A32KE072125   Hyundai       ACCENT              Riverside                 CA
81374   3KPC24A32KE072996   Hyundai       ACCENT              MIDDLE RIVER              MD
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81375   3KPC24A32KE073467   Hyundai       ACCENT              Sacramento                CA
81376   3KPC24A32KE073601   Hyundai       ACCENT              Louisville                KY
81377   3KPC24A32KE075459   Hyundai       ACCENT              INDIANAPOLIS              IN
81378   3KPC24A32KE076241   Hyundai       ACCENT              DALLAS                    TX
81379   3KPC24A32KE076353   Hyundai       ACCENT              NEW BERN                  NC
81380   3KPC24A32KE076644   Hyundai       ACCENT              Montgomery                AL
81381   3KPC24A32KE076790   Hyundai       ACCENT              Kansas City               MO
81382   3KPC24A33JE005614   Hyundai       ACCENT              LOS ANGELES               CA
81383   3KPC24A33JE006150   Hyundai       ACCENT              ORLANDO                   FL
81384   3KPC24A33JE008755   Hyundai       ACCENT              MELROSE PARK              IL
81385   3KPC24A33JE012028   Hyundai       ACCENT              MIAMI                     FL
81386   3KPC24A33JE012143   Hyundai       ACCENT              SAN FRANCISCO             CA
81387   3KPC24A33JE013745   Hyundai       ACCENT              Miami                     FL
81388   3KPC24A33JE014152   Hyundai       ACCENT              San Diego                 CA
81389   3KPC24A33JE015687   Hyundai       ACCENT              Denver                    CO
81390   3KPC24A33JE015799   Hyundai       ACCENT              St. Louis                 MO
81391   3KPC24A33JE016080   Hyundai       ACCENT              Cincinnati                OH
81392   3KPC24A33JE016113   Hyundai       ACCENT              WHITE PLAINS              NY
81393   3KPC24A33JE016130   Hyundai       ACCENT              Plainfield                IN
81394   3KPC24A33JE016225   Hyundai       ACCENT              Milwaukee                 WI
81395   3KPC24A33JE017584   Hyundai       ACCENT              SPRINGFIELD               VA
81396   3KPC24A33JE018055   Hyundai       ACCENT              Cincinnati                OH
81397   3KPC24A33JE022445   Hyundai       ACCENT              CHICAGO                   IL
81398   3KPC24A33JE023806   Hyundai       ACCENT              Detroit                   MI
81399   3KPC24A33JE025846   Hyundai       ACCENT              ORLANDO                   FL
81400   3KPC24A33KE050828   Hyundai       ACCENT              S. San Francisc           CA
81401   3KPC24A33KE052210   Hyundai       ACCENT              Orlando                   FL
81402   3KPC24A33KE052613   Hyundai       ACCENT              FORT LAUDERDALE           FL
81403   3KPC24A33KE055303   Hyundai       ACCENT              North Billerica           MA
81404   3KPC24A33KE057973   Hyundai       ACCENT              Smithtown                 NY
81405   3KPC24A33KE058167   Hyundai       ACCENT              Nashville                 TN
81406   3KPC24A33KE058461   Hyundai       ACCENT              Hebron                    KY
81407   3KPC24A33KE060033   Hyundai       ACCENT              Stockton                  CA
81408   3KPC24A33KE060212   Hyundai       ACCENT              Riverside                 CA
81409   3KPC24A33KE061523   Hyundai       ACCENT              Ventura                   CA
81410   3KPC24A33KE061831   Hyundai       ACCENT              Mira Loma                 CA
81411   3KPC24A33KE062266   Hyundai       ACCENT              San Francisco             CA
81412   3KPC24A33KE062445   Hyundai       ACCENT              Warminster                PA
81413   3KPC24A33KE064177   Hyundai       ACCENT              SAN DIEGO                 CA
81414   3KPC24A33KE067306   Hyundai       ACCENT              PLEASANTON                CA
81415   3KPC24A33KE067385   Hyundai       ACCENT              San Diego                 CA
81416   3KPC24A33KE067757   Hyundai       ACCENT              Torrance                  CA
81417   3KPC24A33KE067905   Hyundai       ACCENT              Rio Linda                 CA
81418   3KPC24A33KE068097   Hyundai       ACCENT              Portland                  OR
81419   3KPC24A33KE068357   Hyundai       ACCENT              Costa Mesa                CA
81420   3KPC24A33KE068486   Hyundai       ACCENT              SAN DIEGO                 CA
81421   3KPC24A33KE069332   Hyundai       ACCENT              Scottsdale                AZ
81422   3KPC24A33KE070738   Hyundai       ACCENT              Coraopolis                PA
81423   3KPC24A33KE071100   Hyundai       ACCENT              Bridgeton                 MO
81424   3KPC24A33KE071856   Hyundai       ACCENT              San Diego                 CA
81425   3KPC24A33KE072098   Hyundai       ACCENT              Anaheim                   CA
81426   3KPC24A33KE072330   Hyundai       ACCENT              Dallas                    TX
81427   3KPC24A33KE072408   Hyundai       ACCENT              PASADENA                  CA
81428   3KPC24A33KE072487   Hyundai       ACCENT              Phoenix                   AZ
81429   3KPC24A33KE073381   Hyundai       ACCENT              Burien                    WA
81430   3KPC24A33KE073445   Hyundai       ACCENT              Burien                    WA
81431   3KPC24A33KE073638   Hyundai       ACCENT              CHEEKTOWAGA               NY
81432   3KPC24A33KE074255   Hyundai       ACCENT              Kansas City               MO
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81433   3KPC24A33KE075874   Hyundai       ACCENT              DALLAS                    TX
81434   3KPC24A33KE076801   Hyundai       ACCENT              Harvey                    LA
81435   3KPC24A33KE076815   Hyundai       ACCENT              NEW ORLEANS               LA
81436   3KPC24A34JE006044   Hyundai       ACCENT              Winston‐Salem             NC
81437   3KPC24A34JE006755   Hyundai       ACCENT              Honolulu                  HI
81438   3KPC24A34JE007646   Hyundai       ACCENT              Cranberry Towns           PA
81439   3KPC24A34JE011907   Hyundai       ACCENT              Detroit                   MI
81440   3KPC24A34JE012085   Hyundai       ACCENT              Stone Mountain            GA
81441   3KPC24A34JE013673   Hyundai       ACCENT              Burlingame                CA
81442   3KPC24A34JE014144   Hyundai       ACCENT              SOUTHEAST DST OFFC        OK
81443   3KPC24A34JE014242   Hyundai       ACCENT              Las Vegas                 NV
81444   3KPC24A34JE014323   Hyundai       ACCENT              North Las Vegas           NV
81445   3KPC24A34JE015245   Hyundai       ACCENT              LAS VEGAS                 NV
81446   3KPC24A34JE016346   Hyundai       ACCENT              Newark                    NJ
81447   3KPC24A34JE028514   Hyundai       ACCENT              MIAMI                     FL
81448   3KPC24A34JE029484   Hyundai       ACCENT              Manheim                   PA
81449   3KPC24A34JE033714   Hyundai       ACCENT              OAKLAND                   CA
81450   3KPC24A34KE052832   Hyundai       ACCENT              Phoenix                   AZ
81451   3KPC24A34KE054449   Hyundai       ACCENT              Webster                   NY
81452   3KPC24A34KE055374   Hyundai       ACCENT              Windsor Locks             CT
81453   3KPC24A34KE056721   Hyundai       ACCENT              Warminster                PA
81454   3KPC24A34KE058159   Hyundai       ACCENT              Chicago                   IL
81455   3KPC24A34KE058422   Hyundai       ACCENT              TAMPA                     US
81456   3KPC24A34KE059716   Hyundai       ACCENT              Portland                  OR
81457   3KPC24A34KE059862   Hyundai       ACCENT              Burien                    WA
81458   3KPC24A34KE060266   Hyundai       ACCENT              SAN LEANDRO               CA
81459   3KPC24A34KE060719   Hyundai       ACCENT              Los Angeles               CA
81460   3KPC24A34KE062244   Hyundai       ACCENT              Ventura                   CA
81461   3KPC24A34KE062468   Hyundai       ACCENT              SEATTLE                   WA
81462   3KPC24A34KE062860   Hyundai       ACCENT              Portland                  OR
81463   3KPC24A34KE067315   Hyundai       ACCENT              Fresno                    CA
81464   3KPC24A34KE071509   Hyundai       ACCENT              FRESNO                    CA
81465   3KPC24A34KE071610   Hyundai       ACCENT              WILMINGTON                NC
81466   3KPC24A34KE071865   Hyundai       ACCENT              Roseville                 CA
81467   3KPC24A34KE071932   Hyundai       ACCENT              Sacramento                CA
81468   3KPC24A34KE071963   Hyundai       ACCENT              KNOXVILLE                 TN
81469   3KPC24A34KE072143   Hyundai       ACCENT              Hayward                   CA
81470   3KPC24A34KE072210   Hyundai       ACCENT              SAINT PAUL                MN
81471   3KPC24A34KE072515   Hyundai       ACCENT              Roseville                 CA
81472   3KPC24A34KE072921   Hyundai       ACCENT              Montgomery                AL
81473   3KPC24A34KE073180   Hyundai       ACCENT              Detroit                   MI
81474   3KPC24A34KE073423   Hyundai       ACCENT              Sacramento                CA
81475   3KPC24A34KE075026   Hyundai       ACCENT              Slidell                   LA
81476   3KPC24A34KE076709   Hyundai       ACCENT              Indianapolis              IN
81477   3KPC24A34KE076905   Hyundai       ACCENT              Salt Lake City            UT
81478   3KPC24A35JE007560   Hyundai       ACCENT              TUCKER                    GA
81479   3KPC24A35JE009065   Hyundai       ACCENT              SANDSTON                  VA
81480   3KPC24A35JE012029   Hyundai       ACCENT              NEWARK                    NJ
81481   3KPC24A35JE012497   Hyundai       ACCENT              DENVER                    CO
81482   3KPC24A35JE012533   Hyundai       ACCENT              Kansas City               MO
81483   3KPC24A35JE013326   Hyundai       ACCENT              Dallas                    TX
81484   3KPC24A35JE013360   Hyundai       ACCENT              PORTLAND                  OR
81485   3KPC24A35JE014265   Hyundai       ACCENT              PLEASANTON                CA
81486   3KPC24A35JE015674   Hyundai       ACCENT              SAN LEANDRO               CA
81487   3KPC24A35JE016033   Hyundai       ACCENT              Manheim                   PA
81488   3KPC24A35JE017666   Hyundai       ACCENT              Massapequa                NY
81489   3KPC24A35JE018560   Hyundai       ACCENT              N. Palm Beach             FL
81490   3KPC24A35JE029199   Hyundai       ACCENT              TAMPA                     FL
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81491   3KPC24A35KE053715   Hyundai       ACCENT              FRESNO                    CA
81492   3KPC24A35KE054654   Hyundai       ACCENT              PHOENIX                   AZ
81493   3KPC24A35KE055108   Hyundai       ACCENT              Cleveland                 OH
81494   3KPC24A35KE055500   Hyundai       ACCENT              WEST PALM BEACH           FL
81495   3KPC24A35KE058347   Hyundai       ACCENT              Hamilton                  OH
81496   3KPC24A35KE062270   Hyundai       ACCENT              Portland                  OR
81497   3KPC24A35KE062589   Hyundai       ACCENT              PLEASANTON                CA
81498   3KPC24A35KE067386   Hyundai       ACCENT              S. San Francisc           CA
81499   3KPC24A35KE067727   Hyundai       ACCENT              Torrance                  CA
81500   3KPC24A35KE068103   Hyundai       ACCENT              Torrance                  CA
81501   3KPC24A35KE068229   Hyundai       ACCENT              Lake Elsinore             CA
81502   3KPC24A35KE068411   Hyundai       ACCENT              Stockton                  CA
81503   3KPC24A35KE069199   Hyundai       ACCENT              NORTH PAC                 CA
81504   3KPC24A35KE070420   Hyundai       ACCENT              MEDINA                    OH
81505   3KPC24A35KE070708   Hyundai       ACCENT              GLENOLDEN                 PA
81506   3KPC24A35KE071812   Hyundai       ACCENT              CLOVIS                    CA
81507   3KPC24A35KE071857   Hyundai       ACCENT              S. San Francisc           CA
81508   3KPC24A35KE072247   Hyundai       ACCENT              Portland                  OR
81509   3KPC24A35KE072331   Hyundai       ACCENT              Louisville                KY
81510   3KPC24A35KE073429   Hyundai       ACCENT              Burien                    WA
81511   3KPC24A36JE009883   Hyundai       ACCENT              SAN DIEGO                 CA
81512   3KPC24A36JE012184   Hyundai       ACCENT              Englewood                 CO
81513   3KPC24A36JE015926   Hyundai       ACCENT              KNOXVILLE                 TN
81514   3KPC24A36JE016106   Hyundai       ACCENT              ONTARIO                   CA
81515   3KPC24A36JE016722   Hyundai       ACCENT              Schaumburg                IL
81516   3KPC24A36JE017367   Hyundai       ACCENT              Detroit                   MI
81517   3KPC24A36JE018017   Hyundai       ACCENT              Sacramento                CA
81518   3KPC24A36JE018373   Hyundai       ACCENT              Detroit                   MI
81519   3KPC24A36JE020138   Hyundai       ACCENT              Vandalia                  OH
81520   3KPC24A36JE025968   Hyundai       ACCENT              Richmond                  VA
81521   3KPC24A36JE029065   Hyundai       ACCENT              Cudahy                    WI
81522   3KPC24A36KE051794   Hyundai       ACCENT              Phoenix                   AZ
81523   3KPC24A36KE052606   Hyundai       ACCENT              Manheim                   PA
81524   3KPC24A36KE052718   Hyundai       ACCENT              Webster                   NY
81525   3KPC24A36KE052833   Hyundai       ACCENT              SAN DIEGO                 CA
81526   3KPC24A36KE052993   Hyundai       ACCENT              Phoenix                   AZ
81527   3KPC24A36KE055263   Hyundai       ACCENT              Sacramento                CA
81528   3KPC24A36KE057594   Hyundai       ACCENT              ALBUQUERQUE               NM
81529   3KPC24A36KE058292   Hyundai       ACCENT              Pittsburgh                PA
81530   3KPC24A36KE060852   Hyundai       ACCENT              LAS VEGAS                 NV
81531   3KPC24A36KE062245   Hyundai       ACCENT              Portland                  OR
81532   3KPC24A36KE067770   Hyundai       ACCENT              Fontana                   CA
81533   3KPC24A36KE067963   Hyundai       ACCENT              Detroit                   MI
81534   3KPC24A36KE067980   Hyundai       ACCENT              Mira Loma                 CA
81535   3KPC24A36KE068093   Hyundai       ACCENT              Riverside                 CA
81536   3KPC24A36KE068241   Hyundai       ACCENT              Santa Clara               CA
81537   3KPC24A36KE068451   Hyundai       ACCENT              seatac                    wa
81538   3KPC24A36KE069129   Hyundai       ACCENT              Torrance                  CA
81539   3KPC24A36KE070300   Hyundai       ACCENT              Newark                    NJ
81540   3KPC24A36KE070541   Hyundai       ACCENT              Webster                   NY
81541   3KPC24A36KE070992   Hyundai       ACCENT              HAYWARD                   CA
81542   3KPC24A36KE071530   Hyundai       ACCENT              Roseville                 CA
81543   3KPC24A36KE072290   Hyundai       ACCENT              SEATAC                    WA
81544   3KPC24A36KE072998   Hyundai       ACCENT              Las Vegas                 NV
81545   3KPC24A36KE073441   Hyundai       ACCENT              Stockton                  CA
81546   3KPC24A36KE075058   Hyundai       ACCENT              PITTSBURGH                PA
81547   3KPC24A37JE005583   Hyundai       ACCENT              Detroit                   MI
81548   3KPC24A37JE005857   Hyundai       ACCENT              Rockville Centr           NY
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81549   3KPC24A37JE005986   Hyundai       ACCENT              Indianapolis              IN
81550   3KPC24A37JE011948   Hyundai       ACCENT              Newark                    NJ
81551   3KPC24A37JE012288   Hyundai       ACCENT              Vandalia                  OH
81552   3KPC24A37JE014297   Hyundai       ACCENT              Newark                    NJ
81553   3KPC24A37JE015241   Hyundai       ACCENT              TAMPA                     FL
81554   3KPC24A37JE015367   Hyundai       ACCENT              PHOENIX                   AZ
81555   3KPC24A37JE017975   Hyundai       ACCENT              FORT LAUDERDALE           FL
81556   3KPC24A37JE018107   Hyundai       ACCENT              MEDINA                    OH
81557   3KPC24A37JE021346   Hyundai       ACCENT              TAMPA                     FL
81558   3KPC24A37JE022609   Hyundai       ACCENT              Cedar Rapids              IA
81559   3KPC24A37JE028653   Hyundai       ACCENT              Hartford                  CT
81560   3KPC24A37JE030905   Hyundai       ACCENT              Harvey                    LA
81561   3KPC24A37KE054848   Hyundai       ACCENT              Latham                    NY
81562   3KPC24A37KE059726   Hyundai       ACCENT              PLEASANTON                CA
81563   3KPC24A37KE060018   Hyundai       ACCENT              SAN LEANDRO               CA
81564   3KPC24A37KE061878   Hyundai       ACCENT              Costa Mesa                CA
81565   3KPC24A37KE061895   Hyundai       ACCENT              Portland                  OR
81566   3KPC24A37KE062528   Hyundai       ACCENT              Santa Clara               CA
81567   3KPC24A37KE063033   Hyundai       ACCENT              Lake Elsinore             CA
81568   3KPC24A37KE064179   Hyundai       ACCENT              Las Vegas                 NV
81569   3KPC24A37KE067471   Hyundai       ACCENT              Riverside                 CA
81570   3KPC24A37KE067695   Hyundai       ACCENT              Stockton                  CA
81571   3KPC24A37KE067759   Hyundai       ACCENT              SEATAC                    WA
81572   3KPC24A37KE067809   Hyundai       ACCENT              Fresno                    CA
81573   3KPC24A37KE068104   Hyundai       ACCENT              Torrance                  CA
81574   3KPC24A37KE068281   Hyundai       ACCENT              Fontana                   CA
81575   3KPC24A37KE068555   Hyundai       ACCENT              Nashville                 TN
81576   3KPC24A37KE071665   Hyundai       ACCENT              Portland                  OR
81577   3KPC24A37KE071844   Hyundai       ACCENT              San Diego                 CA
81578   3KPC24A37KE071892   Hyundai       ACCENT              Stockton                  CA
81579   3KPC24A37KE072072   Hyundai       ACCENT              Riverside                 CA
81580   3KPC24A37KE072105   Hyundai       ACCENT              Stockton                  CA
81581   3KPC24A37KE072203   Hyundai       ACCENT              LOUISVILLE                KY
81582   3KPC24A37KE072735   Hyundai       ACCENT              SAN LEANDRO               CA
81583   3KPC24A37KE075103   Hyundai       ACCENT              Louisville                KY
81584   3KPC24A37KE076249   Hyundai       ACCENT              Hamilton                  OH
81585   3KPC24A37KE076302   Hyundai       ACCENT              Austin                    TX
81586   3KPC24A37KE076378   Hyundai       ACCENT              Florissant                MO
81587   3KPC24A37KE087123   Hyundai       ACCENT              ATLANTA AP                GA
81588   3KPC24A38JE004880   Hyundai       ACCENT              Portland                  OR
81589   3KPC24A38JE005852   Hyundai       ACCENT              SACRAMENTO                CA
81590   3KPC24A38JE007472   Hyundai       ACCENT              SAN FRANCISCO             CA
81591   3KPC24A38JE012509   Hyundai       ACCENT              Matteson                  IL
81592   3KPC24A38JE014065   Hyundai       ACCENT              SAN DIEGO                 CA
81593   3KPC24A38JE014759   Hyundai       ACCENT              PHOENIX                   AZ
81594   3KPC24A38JE016415   Hyundai       ACCENT              Warminster                PA
81595   3KPC24A38JE016477   Hyundai       ACCENT              North Dighton             MA
81596   3KPC24A38JE016527   Hyundai       ACCENT              Marietta                  GA
81597   3KPC24A38JE016656   Hyundai       ACCENT              RONKONKOMA                NY
81598   3KPC24A38JE020478   Hyundai       ACCENT              Atlanta                   GA
81599   3KPC24A38JE021680   Hyundai       ACCENT              TAMPA                     FL
81600   3KPC24A38JE022246   Hyundai       ACCENT              Woodhaven                 MI
81601   3KPC24A38JE024997   Hyundai       ACCENT              FORT LAUDERDALE           FL
81602   3KPC24A38JE026006   Hyundai       ACCENT              LOS ANGELES               CA
81603   3KPC24A38KE049609   Hyundai       ACCENT              JACKSONVILLE              FL
81604   3KPC24A38KE052591   Hyundai       ACCENT              Scottsdale                AZ
81605   3KPC24A38KE052834   Hyundai       ACCENT              Phoenix                   AZ
81606   3KPC24A38KE052865   Hyundai       ACCENT              Colorado Spring           CO
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81607   3KPC24A38KE055104   Hyundai       ACCENT              Massapequa                NY
81608   3KPC24A38KE055300   Hyundai       ACCENT              Rochester                 NY
81609   3KPC24A38KE055412   Hyundai       ACCENT              Baltimore                 MD
81610   3KPC24A38KE055829   Hyundai       ACCENT              Baltimore                 MD
81611   3KPC24A38KE056723   Hyundai       ACCENT              Coraopolis                PA
81612   3KPC24A38KE058004   Hyundai       ACCENT              MEDINA                    OH
81613   3KPC24A38KE058228   Hyundai       ACCENT              MEDINA                    OH
81614   3KPC24A38KE059797   Hyundai       ACCENT              PLEASANTON                CA
81615   3KPC24A38KE060089   Hyundai       ACCENT              Riverside                 CA
81616   3KPC24A38KE064157   Hyundai       ACCENT              Stockton                  CA
81617   3KPC24A38KE067446   Hyundai       ACCENT              Lake Elsinore             CA
81618   3KPC24A38KE067818   Hyundai       ACCENT              PLEASANTON                CA
81619   3KPC24A38KE068242   Hyundai       ACCENT              Fresno                    CA
81620   3KPC24A38KE069889   Hyundai       ACCENT              Hamilton                  OH
81621   3KPC24A38KE070492   Hyundai       ACCENT              PORTLAND                  OR
81622   3KPC24A38KE070539   Hyundai       ACCENT              ATLANTA                   GA
81623   3KPC24A38KE071593   Hyundai       ACCENT              SAN DIEGO                 CA
81624   3KPC24A38KE071657   Hyundai       ACCENT              SEATAC                    WA
81625   3KPC24A38KE071805   Hyundai       ACCENT              PLEASANTON                CA
81626   3KPC24A38KE072145   Hyundai       ACCENT              LOS ANGELES               CA
81627   3KPC24A38KE072520   Hyundai       ACCENT              LOS ANGELES               CA
81628   3KPC24A38KE072565   Hyundai       ACCENT              Torrance                  CA
81629   3KPC24A38KE073179   Hyundai       ACCENT              Stockton                  CA
81630   3KPC24A38KE073389   Hyundai       ACCENT              Ventura                   CA
81631   3KPC24A38KE074994   Hyundai       ACCENT              Florissant                MO
81632   3KPC24A38KE076339   Hyundai       ACCENT              MEDINA                    OH
81633   3KPC24A38KE076728   Hyundai       ACCENT              Rockville Centr           NY
81634   3KPC24A38KE076731   Hyundai       ACCENT              Kansas City               MO
81635   3KPC24A38KE076762   Hyundai       ACCENT              ORLANDO                   FL
81636   3KPC24A39JE006783   Hyundai       ACCENT              NEWARK                    NJ
81637   3KPC24A39JE006928   Hyundai       ACCENT              Maple Grove               MN
81638   3KPC24A39JE007352   Hyundai       ACCENT              ALBUQUERQUE               NM
81639   3KPC24A39JE007819   Hyundai       ACCENT              Woodhaven                 MI
81640   3KPC24A39JE011966   Hyundai       ACCENT              Detroit                   MI
81641   3KPC24A39JE012129   Hyundai       ACCENT              Grove City                OH
81642   3KPC24A39JE012275   Hyundai       ACCENT              Kansas City               MO
81643   3KPC24A39JE014012   Hyundai       ACCENT              PALM SPRINGS              CA
81644   3KPC24A39JE014625   Hyundai       ACCENT              FORT LAUDERDALE           FL
81645   3KPC24A39JE015600   Hyundai       ACCENT              ST Paul                   MN
81646   3KPC24A39JE015919   Hyundai       ACCENT
81647   3KPC24A39JE016603   Hyundai       ACCENT              CHICAGO                   IL
81648   3KPC24A39JE017640   Hyundai       ACCENT              Baltimore                 MD
81649   3KPC24A39JE021090   Hyundai       ACCENT              Warminster                PA
81650   3KPC24A39JE028556   Hyundai       ACCENT              Detroit                   MI
81651   3KPC24A39KE052809   Hyundai       ACCENT              San Diego                 CA
81652   3KPC24A39KE055595   Hyundai       ACCENT              Winston‐Salem             NC
81653   3KPC24A39KE057802   Hyundai       ACCENT              Teterboro                 NJ
81654   3KPC24A39KE060196   Hyundai       ACCENT              Seattle                   WA
81655   3KPC24A39KE060909   Hyundai       ACCENT              SACRAMENTO                CA
81656   3KPC24A39KE061459   Hyundai       ACCENT              Riverside                 CA
81657   3KPC24A39KE061848   Hyundai       ACCENT              BURBANK                   CA
81658   3KPC24A39KE062143   Hyundai       ACCENT              S. San Francisc           CA
81659   3KPC24A39KE062952   Hyundai       ACCENT              Miami                     FL
81660   3KPC24A39KE064782   Hyundai       ACCENT              TAMPA                     FL
81661   3KPC24A39KE067701   Hyundai       ACCENT              SAN DIEGO                 US
81662   3KPC24A39KE068170   Hyundai       ACCENT              Hayward                   CA
81663   3KPC24A39KE068430   Hyundai       ACCENT              PLEASANTON                CA
81664   3KPC24A39KE068475   Hyundai       ACCENT              Stockton                  CA
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81665   3KPC24A39KE070310   Hyundai       ACCENT              Syracuse                  NY
81666   3KPC24A39KE071425   Hyundai       ACCENT              Scottsdale                AZ
81667   3KPC24A39KE071568   Hyundai       ACCENT              Cincinnati                OH
81668   3KPC24A39KE071859   Hyundai       ACCENT              San Diego                 CA
81669   3KPC24A39KE071862   Hyundai       ACCENT              Lake Elsinore             CA
81670   3KPC24A39KE072025   Hyundai       ACCENT              Des Plaines               IL
81671   3KPC24A39KE072056   Hyundai       ACCENT              Harvey                    LA
81672   3KPC24A39KE072249   Hyundai       ACCENT              Florissant                MO
81673   3KPC24A39KE072607   Hyundai       ACCENT              Leesburg                  VA
81674   3KPC24A39KE073451   Hyundai       ACCENT              Florissant                MO
81675   3KPC24A39KE076348   Hyundai       ACCENT              Florissant                MO
81676   3KPC24A39KE076690   Hyundai       ACCENT              Stockton                  CA
81677   3KPC24A39KE076852   Hyundai       ACCENT              SAINT LOUIS               MO
81678   3KPC24A39KE077340   Hyundai       ACCENT              Nashville                 TN
81679   3KPC24A39KE082327   Hyundai       ACCENT              Anaheim                   CA
81680   3KPC24A3XJE005867   Hyundai       ACCENT              INDIANAPOLIS              IN
81681   3KPC24A3XJE006923   Hyundai       ACCENT              CHICAGO                   IL
81682   3KPC24A3XJE007411   Hyundai       ACCENT              Grove City                OH
81683   3KPC24A3XJE007635   Hyundai       ACCENT              Bridgeton                 MO
81684   3KPC24A3XJE012222   Hyundai       ACCENT              CHARLOTTE                 US
81685   3KPC24A3XJE013368   Hyundai       ACCENT              MIAMI                     FL
81686   3KPC24A3XJE013872   Hyundai       ACCENT              CHARLESTON                WV
81687   3KPC24A3XJE014911   Hyundai       ACCENT              KNOXVILLE                 TN
81688   3KPC24A3XJE015668   Hyundai       ACCENT              Louisville                KY
81689   3KPC24A3XJE017422   Hyundai       ACCENT              Detroit                   MI
81690   3KPC24A3XJE020076   Hyundai       ACCENT              DENVER                    CO
81691   3KPC24A3XJE021289   Hyundai       ACCENT              Warminster                PA
81692   3KPC24A3XJE023141   Hyundai       ACCENT              Rockville Centr           NY
81693   3KPC24A3XJE025567   Hyundai       ACCENT              SAINT LOUIS               MO
81694   3KPC24A3XJE029067   Hyundai       ACCENT              ST Paul                   MN
81695   3KPC24A3XKE050650   Hyundai       ACCENT              SAN LEANDRO               CA
81696   3KPC24A3XKE052835   Hyundai       ACCENT              Dallas                    TX
81697   3KPC24A3XKE056674   Hyundai       ACCENT              Hamilton                  OH
81698   3KPC24A3XKE058165   Hyundai       ACCENT              Philadelphia              PA
81699   3KPC24A3XKE059896   Hyundai       ACCENT              Stockton                  CA
81700   3KPC24A3XKE060384   Hyundai       ACCENT              Lake Elsinore             CA
81701   3KPC24A3XKE064158   Hyundai       ACCENT              Riverside                 CA
81702   3KPC24A3XKE067304   Hyundai       ACCENT              Sacramento                CA
81703   3KPC24A3XKE067948   Hyundai       ACCENT              Phoenix                   AZ
81704   3KPC24A3XKE067965   Hyundai       ACCENT              Pasadena                  CA
81705   3KPC24A3XKE068047   Hyundai       ACCENT              San Diego                 CA
81706   3KPC24A3XKE068193   Hyundai       ACCENT              Roseville                 CA
81707   3KPC24A3XKE068260   Hyundai       ACCENT              HAYWARD                   CA
81708   3KPC24A3XKE071658   Hyundai       ACCENT              CLARKSVILLE               IN
81709   3KPC24A3XKE071837   Hyundai       ACCENT              PLEASANTON                CA
81710   3KPC24A3XKE072230   Hyundai       ACCENT              Phoenix                   AZ
81711   3KPC24A3XKE072261   Hyundai       ACCENT              SEATAC                    WA
81712   3KPC24A3XKE072339   Hyundai       ACCENT              Hamilton                  OH
81713   3KPC24A3XKE073278   Hyundai       ACCENT              San Diego                 CA
81714   3KPC24A3XKE073474   Hyundai       ACCENT              EULESS                    TX
81715   3KPF24AD0KE006890   Kia           FORTE               FT LAUDERDALE             FL
81716   3KPF24AD0KE033376   Kia           FORTE               Atlanta                   GA
81717   3KPF24AD0KE067429   Kia           FORTE               ORLANDO                   FL
81718   3KPF24AD0KE071612   Kia           FORTE               Estero                    FL
81719   3KPF24AD0KE074364   Kia           FORTE               JACKSONVILLE              FL
81720   3KPF24AD0KE074493   Kia           FORTE               NASHVILLE                 TN
81721   3KPF24AD0KE076647   Kia           FORTE               DAVIE                     FL
81722   3KPF24AD0KE077295   Kia           FORTE               WEST PALM BEACH           FL
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81723   3KPF24AD0KE078446   Kia          FORTE               ATLANTA                   GA
81724   3KPF24AD0KE078494   Kia          FORTE               SOUTHEAST DST OFFC        OK
81725   3KPF24AD0KE078558   Kia          FORTE               WEST PALM BEACH           FL
81726   3KPF24AD0KE079497   Kia          FORTE               TAMPA                     FL
81727   3KPF24AD0KE083033   Kia          FORTE               TAMPA                     US
81728   3KPF24AD0KE083792   Kia          FORTE               Savannah                  GA
81729   3KPF24AD0KE083940   Kia          FORTE               BALTIMORE                 MD
81730   3KPF24AD0KE085493   Kia          FORTE               SOUTHEAST DST OFFC        OK
81731   3KPF24AD0KE098454   Kia          FORTE               Miami                     FL
81732   3KPF24AD0KE109856   Kia          FORTE               FORT LAUDERDALE           FL
81733   3KPF24AD0LE142809   Kia          FORTE               KNOXVILLE                 TN
81734   3KPF24AD0LE142857   Kia          FORTE               Miami                     FL
81735   3KPF24AD1KE040157   Kia          FORTE               ORLANDO                   FL
81736   3KPF24AD1KE040613   Kia          FORTE               FT. LAUDERDALE            FL
81737   3KPF24AD1KE041454   Kia          FORTE               Estero                    FL
81738   3KPF24AD1KE042135   Kia          FORTE               ORLANDO                   FL
81739   3KPF24AD1KE043737   Kia          FORTE               WEST PALM BEACH           FL
81740   3KPF24AD1KE044614   Kia          FORTE               FORT MYERS                FL
81741   3KPF24AD1KE073899   Kia          FORTE               TAMPA                     FL
81742   3KPF24AD1KE073983   Kia          FORTE               JACKSONVILLE              FL
81743   3KPF24AD1KE074485   Kia          FORTE               SOUTHWEST DEALER D        TX
81744   3KPF24AD1KE077550   Kia          FORTE               WEST PALM BEACH           FL
81745   3KPF24AD1KE079315   Kia          FORTE               FORT MYERS                FL
81746   3KPF24AD1KE081002   Kia          FORTE               MIAMI                     FL
81747   3KPF24AD1KE082862   Kia          FORTE               WEST PALM BEACH           FL
81748   3KPF24AD1KE083025   Kia          FORTE               WEST PALM BEACH           FL
81749   3KPF24AD1KE083252   Kia          FORTE               FORT MYERS                FL
81750   3KPF24AD1KE083462   Kia          FORTE               FORT MYERS                FL
81751   3KPF24AD1KE086040   Kia          FORTE               FORT MYERS                FL
81752   3KPF24AD1KE086393   Kia          FORTE               Pensacola                 FL
81753   3KPF24AD1KE086569   Kia          FORTE               Jacksonville              FL
81754   3KPF24AD1KE090721   Kia          FORTE               Irving                    TX
81755   3KPF24AD1KE091612   Kia          FORTE               WEST PALM BEACH           FL
81756   3KPF24AD1KE091786   Kia          FORTE               FORT MYERS                FL
81757   3KPF24AD1KE108442   Kia          FORTE               Atlanta                   GA
81758   3KPF24AD1KE109445   Kia          FORTE               COLUMBUS                  OH
81759   3KPF24AD1KE115374   Kia          FORTE               WEST PALM BEACH           FL
81760   3KPF24AD1LE143869   Kia          FORTE               Atlanta                   GA
81761   3KPF24AD1LE211491   Kia          FORTE               Tulsa                     OK
81762   3KPF24AD2KE040782   Kia          FORTE               DETROIT                   MI
81763   3KPF24AD2KE040801   Kia          FORTE               MIAMI                     FL
81764   3KPF24AD2KE041883   Kia          FORTE               ORLANDO                   FL
81765   3KPF24AD2KE044590   Kia          FORTE               FORT LAUDERDALE           FL
81766   3KPF24AD2KE048607   Kia          FORTE               FORT MYERS                FL
81767   3KPF24AD2KE073975   Kia          FORTE               MORROW                    GA
81768   3KPF24AD2KE076388   Kia          FORTE               FORT LAUDERDALE           FL
81769   3KPF24AD2KE077623   Kia          FORTE               DANIA BEACH               FL
81770   3KPF24AD2KE080294   Kia          FORTE               KNOXVILLE                 TN
81771   3KPF24AD2KE080957   Kia          FORTE               WEST PALM BEACH           FL
81772   3KPF24AD2KE082420   Kia          FORTE               ORLANDO                   FL
81773   3KPF24AD2KE082501   Kia          FORTE               ORLANDO                   FL
81774   3KPF24AD2KE083552   Kia          FORTE               FORT MYERS                FL
81775   3KPF24AD2KE083776   Kia          FORTE               FORT MYERS                FL
81776   3KPF24AD2KE086063   Kia          FORTE               Tampa                     FL
81777   3KPF24AD2KE086239   Kia          FORTE               Fort Lauderdale           FL
81778   3KPF24AD2KE086368   Kia          FORTE               WEST PALM BEACH           FL
81779   3KPF24AD2KE086404   Kia          FORTE               WEST PALM BEACH           FL
81780   3KPF24AD2KE097628   Kia          FORTE               FLORIDA DEALER DIR        FL
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81781   3KPF24AD2KE099377   Kia          FORTE               GAINESVILLE               FL
81782   3KPF24AD2KE099783   Kia          FORTE               Newark                    NJ
81783   3KPF24AD2KE113732   Kia          FORTE               SAINT PAUL                MN
81784   3KPF24AD2LE143072   Kia          FORTE               Lebanon                   TN
81785   3KPF24AD3KE040466   Kia          FORTE               ORLANDO                   FL
81786   3KPF24AD3KE043898   Kia          FORTE               TAMPA                     FL
81787   3KPF24AD3KE044758   Kia          FORTE               TAMPA                     FL
81788   3KPF24AD3KE072429   Kia          FORTE               ORLANDO                   FL
81789   3KPF24AD3KE073810   Kia          FORTE               SANFORD                   FL
81790   3KPF24AD3KE074018   Kia          FORTE               ORLANDO                   FL
81791   3KPF24AD3KE074620   Kia          FORTE               FORT MYERS                FL
81792   3KPF24AD3KE078716   Kia          FORTE               SAINT LOUIS               MO
81793   3KPF24AD3KE079431   Kia          FORTE               ORLANDO                   FL
81794   3KPF24AD3KE079509   Kia          FORTE               MIAMI                     FL
81795   3KPF24AD3KE080465   Kia          FORTE               Orlando                   FL
81796   3KPF24AD3KE086573   Kia          FORTE               WEST COLUMBIA             SC
81797   3KPF24AD3KE086685   Kia          FORTE               MIAMI                     FL
81798   3KPF24AD3KE092115   Kia          FORTE               ORLANDO                   FL
81799   3KPF24AD3KE097539   Kia          FORTE               ORLANDO                   FL
81800   3KPF24AD3KE115232   Kia          FORTE               SCOTRUN                   US
81801   3KPF24AD3LE211296   Kia          FORTE               Tulsa                     OK
81802   3KPF24AD4KE039388   Kia          FORTE               COLLEGE PARK              GA
81803   3KPF24AD4KE042145   Kia          FORTE               TAMPA                     FL
81804   3KPF24AD4KE044591   Kia          FORTE               WEST PALM BEACH           FL
81805   3KPF24AD4KE074500   Kia          FORTE               WEST PALM BEACH           FL
81806   3KPF24AD4KE078496   Kia          FORTE               FORT MYERS                FL
81807   3KPF24AD4KE078692   Kia          FORTE               TAMPA                     FL
81808   3KPF24AD4KE078935   Kia          FORTE               WEST PALM BEACH           FL
81809   3KPF24AD4KE079440   Kia          FORTE               SARASOTA                  FL
81810   3KPF24AD4KE079549   Kia          FORTE               FORT MYERS                FL
81811   3KPF24AD4KE080541   Kia          FORTE               TAMPA                     US
81812   3KPF24AD4KE083035   Kia          FORTE               FORT LAUDERDALE           FL
81813   3KPF24AD4KE083200   Kia          FORTE               SARASOTA                  FL
81814   3KPF24AD4KE084461   Kia          FORTE               Atlanta                   GA
81815   3KPF24AD4KE086369   Kia          FORTE               ORLANDO                   FL
81816   3KPF24AD4KE086498   Kia          FORTE               WEST PALM BEACH           FL
81817   3KPF24AD4KE105793   Kia          FORTE               BALTIMORE                 MD
81818   3KPF24AD4KE107530   Kia          FORTE               HANOVER                   MD
81819   3KPF24AD5KE026696   Kia          FORTE               TAMPA                     FL
81820   3KPF24AD5KE032661   Kia          FORTE               UNION CITY                GA
81821   3KPF24AD5KE040162   Kia          FORTE               OKLAHOMA CITY             OK
81822   3KPF24AD5KE043739   Kia          FORTE               TAMPA                     FL
81823   3KPF24AD5KE053400   Kia          FORTE               WEST PALM BEACH           FL
81824   3KPF24AD5KE071735   Kia          FORTE               Elkridge                  MD
81825   3KPF24AD5KE073047   Kia          FORTE               FORT MYERS                FL
81826   3KPF24AD5KE076272   Kia          FORTE               Hebron                    KY
81827   3KPF24AD5KE076644   Kia          FORTE               ORLANDO                   FL
81828   3KPF24AD5KE076756   Kia          FORTE               Englewood                 CO
81829   3KPF24AD5KE077485   Kia          FORTE               Baltimore                 MD
81830   3KPF24AD5KE077616   Kia          FORTE               TAMPA                     FL
81831   3KPF24AD5KE078717   Kia          FORTE               FORT MYERS                FL
81832   3KPF24AD5KE078801   Kia          FORTE               ORLANDO                   FL
81833   3KPF24AD5KE079432   Kia          FORTE               Alcoa                     TN
81834   3KPF24AD5KE080595   Kia          FORTE               ORLANDO                   FL
81835   3KPF24AD5KE083027   Kia          FORTE               HANOVER                   MD
81836   3KPF24AD5KE083285   Kia          FORTE               MIAMI                     FL
81837   3KPF24AD5KE083562   Kia          FORTE               Lafayette                 LA
81838   3KPF24AD5KE083643   Kia          FORTE               JACKSONVILLE              FL
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81839   3KPF24AD5KE083805   Kia          FORTE               FORT MYERS                FL
81840   3KPF24AD5KE083920   Kia          FORTE               Burien                    WA
81841   3KPF24AD5KE084226   Kia          FORTE               Manheim                   PA
81842   3KPF24AD5KE085599   Kia          FORTE               WEST PALM BEACH           FL
81843   3KPF24AD5KE086123   Kia          FORTE               FORT MYERS                FL
81844   3KPF24AD5KE086249   Kia          FORTE               Estero                    FL
81845   3KPF24AD5KE086350   Kia          FORTE               NASHVILLE                 TN
81846   3KPF24AD5KE092116   Kia          FORTE               OAKLAND                   CA
81847   3KPF24AD5KE109822   Kia          FORTE               MIAMI                     FL
81848   3KPF24AD6KE073770   Kia          FORTE               FORT LAUDERDALE           FL
81849   3KPF24AD6KE073798   Kia          FORTE               NASHVILLE                 TN
81850   3KPF24AD6KE073980   Kia          FORTE               ATLANTA                   GA
81851   3KPF24AD6KE076524   Kia          FORTE               WEST PALM BEACH           FL
81852   3KPF24AD6KE078810   Kia          FORTE               TAMPA                     FL
81853   3KPF24AD6KE078922   Kia          FORTE               ORLANDO                   FL
81854   3KPF24AD6KE079696   Kia          FORTE               TAMPA                     US
81855   3KPF24AD6KE080332   Kia          FORTE               FORT LAUDERDALE           FL
81856   3KPF24AD6KE083201   Kia          FORTE               FLORIDA DEALER DIR        FL
81857   3KPF24AD6KE083344   Kia          FORTE               FT. LAUDERDALE            FL
81858   3KPF24AD6KE083358   Kia          FORTE               FORT MYERS                FL
81859   3KPF24AD6KE083697   Kia          FORTE               Bensalem                  PA
81860   3KPF24AD6KE084459   Kia          FORTE               DANIA BEACH               FL
81861   3KPF24AD6KE086292   Kia          FORTE               ORLANDO                   FL
81862   3KPF24AD6KE086308   Kia          FORTE               FORT LAUDERDALE           FL
81863   3KPF24AD6KE086325   Kia          FORTE               TAMPA                     US
81864   3KPF24AD6KE086356   Kia          FORTE               FORT LAUDERDALE           FL
81865   3KPF24AD6KE087734   Kia          FORTE               Miami                     FL
81866   3KPF24AD6KE091153   Kia          FORTE               MEMPHIS                   TN
81867   3KPF24AD6KE092304   Kia          FORTE               FORT LAUDERDALE           FL
81868   3KPF24AD6KE098460   Kia          FORTE               FORT LAUDERDALE           FL
81869   3KPF24AD6KE104158   Kia          FORTE               Orlando                   FL
81870   3KPF24AD6LE143074   Kia          FORTE               FORT MYERS                FL
81871   3KPF24AD7KE032659   Kia          FORTE               SOUTHEAST DST OFFC        OK
81872   3KPF24AD7KE043256   Kia          FORTE               SARASOTA                  FL
81873   3KPF24AD7KE044617   Kia          FORTE               WEST PALM BEACH           FL
81874   3KPF24AD7KE048702   Kia          FORTE               Charlotte                 NC
81875   3KPF24AD7KE072496   Kia          FORTE               WEST PALM BEACH           FL
81876   3KPF24AD7KE074023   Kia          FORTE               Woodhaven                 MI
81877   3KPF24AD7KE074149   Kia          FORTE               Detroit                   MI
81878   3KPF24AD7KE074619   Kia          FORTE               Clearwater                FL
81879   3KPF24AD7KE078573   Kia          FORTE               Baltimore                 MD
81880   3KPF24AD7KE078833   Kia          FORTE               JACKSONVILLE              FL
81881   3KPF24AD7KE083790   Kia          FORTE               ORLANDO                   FL
81882   3KPF24AD7KE084468   Kia          FORTE               Woodhaven                 MI
81883   3KPF24AD7KE084986   Kia          FORTE               FORT LAUDERDALE           FL
81884   3KPF24AD7KE086169   Kia          FORTE               Harvey                    LA
81885   3KPF24AD7KE086351   Kia          FORTE               ST Paul                   MN
81886   3KPF24AD7KE086706   Kia          FORTE               NASHVILLE                 TN
81887   3KPF24AD7KE086723   Kia          FORTE               Omaha                     NE
81888   3KPF24AD7KE090383   Kia          FORTE               Statesville               NC
81889   3KPF24AD7KE092120   Kia          FORTE               MIAMI                     FL
81890   3KPF24AD7KE105867   Kia          FORTE               CLEVELAND                 OH
81891   3KPF24AD7KE111815   Kia          FORTE               SARASOTA                  FL
81892   3KPF24AD7LE143469   Kia          FORTE               Webster                   NY
81893   3KPF24AD8KE006071   Kia          FORTE               MEMPHIS                   TN
81894   3KPF24AD8KE007835   Kia          FORTE               BALTIMORE                 MD
81895   3KPF24AD8KE032007   Kia          FORTE               Atlanta                   GA
81896   3KPF24AD8KE073382   Kia          FORTE               KNOXVILLE                 TN
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81897   3KPF24AD8KE073544   Kia          FORTE               FORT LAUDERDALE           FL
81898   3KPF24AD8KE074273   Kia          FORTE               SARASOTA                  FL
81899   3KPF24AD8KE077450   Kia          FORTE               DANIA BEACH               FL
81900   3KPF24AD8KE077755   Kia          FORTE               TAMPA                     FL
81901   3KPF24AD8KE078596   Kia          FORTE               FORT LAUDERDALE           FL
81902   3KPF24AD8KE078680   Kia          FORTE               TAMPA                     FL
81903   3KPF24AD8KE078713   Kia          FORTE               WEST PALM BEACH           FL
81904   3KPF24AD8KE080316   Kia          FORTE               WEST PALM BEACH           FL
81905   3KPF24AD8KE080333   Kia          FORTE               MEMPHIS                   TN
81906   3KPF24AD8KE083555   Kia          FORTE               ORLANDO                   FL
81907   3KPF24AD8KE083703   Kia          FORTE               ORLANDO                   FL
81908   3KPF24AD8KE083734   Kia          FORTE               WEST PALM BEACH           FL
81909   3KPF24AD8KE085192   Kia          FORTE               Hernando                  MS
81910   3KPF24AD8KE086200   Kia          FORTE               Maple Grove               MN
81911   3KPF24AD8KE086259   Kia          FORTE               Harvey                    LA
81912   3KPF24AD8KE086326   Kia          FORTE               FORT MYERS                FL
81913   3KPF24AD8KE086391   Kia          FORTE               FORT MYERS                FL
81914   3KPF24AD8KE086407   Kia          FORTE               FORT LAUDERDALE           FL
81915   3KPF24AD8KE086682   Kia          FORTE               TAMPA                     FL
81916   3KPF24AD8KE099142   Kia          FORTE               Union City                GA
81917   3KPF24AD8KE099478   Kia          FORTE               SOUTHEAST DST OFFC        OK
81918   3KPF24AD8KE099562   Kia          FORTE               FORT LAUDERDALE           FL
81919   3KPF24AD8KE100015   Kia          FORTE               ELKRIDGE                  MD
81920   3KPF24AD8KE121981   Kia          FORTE               ST Paul                   MN
81921   3KPF24AD8LE143237   Kia          FORTE               Orlando                   FL
81922   3KPF24AD8LE148180   Kia          FORTE               OKLAHOMA CITY             OK
81923   3KPF24AD8LE154674   Kia          FORTE               PHOENIX                   AZ
81924   3KPF24AD8LE170275   Kia          FORTE               Orlando                   FL
81925   3KPF24AD9KE044604   Kia          FORTE               SARASOTA                  FL
81926   3KPF24AD9KE052041   Kia          FORTE               TAMPA                     FL
81927   3KPF24AD9KE076520   Kia          FORTE               SOUTHEAST DST OFFC        OK
81928   3KPF24AD9KE077389   Kia          FORTE               Woodhaven                 MI
81929   3KPF24AD9KE077392   Kia          FORTE               Schaumburg                IL
81930   3KPF24AD9KE077425   Kia          FORTE               Coraopolis                PA
81931   3KPF24AD9KE077554   Kia          FORTE               Richmond                  VA
81932   3KPF24AD9KE077621   Kia          FORTE               MIAMI                     FL
81933   3KPF24AD9KE078560   Kia          FORTE               ORLANDO                   FL
81934   3KPF24AD9KE078722   Kia          FORTE               FORT LAUDERDALE           FL
81935   3KPF24AD9KE078817   Kia          FORTE               DAYTONA BEACH             FL
81936   3KPF24AD9KE079711   Kia          FORTE               Marietta                  GA
81937   3KPF24AD9KE082611   Kia          FORTE               MIAMI                     FL
81938   3KPF24AD9KE082866   Kia          FORTE               HOLLY HILL                FL
81939   3KPF24AD9KE083029   Kia          FORTE               WEST PALM BEACH           FL
81940   3KPF24AD9KE083032   Kia          FORTE               FORT LAUDERDALE           FL
81941   3KPF24AD9KE083340   Kia          FORTE               PADUCAH                   KY
81942   3KPF24AD9KE083726   Kia          FORTE               SAVANNAH                  GA
81943   3KPF24AD9KE084231   Kia          FORTE               MIAMI                     FL
81944   3KPF24AD9KE084469   Kia          FORTE               Hapeville                 GA
81945   3KPF24AD9KE090028   Kia          FORTE               SARASOTA                  FL
81946   3KPF24AD9KE101402   Kia          FORTE               ANGOLA                    NY
81947   3KPF24AD9KE110942   Kia          FORTE               Warminster                PA
81948   3KPF24AD9KE111136   Kia          FORTE               Warminster                PA
81949   3KPF24AD9LE143067   Kia          FORTE               FORT MYERS                FL
81950   3KPF24ADXKE040495   Kia          FORTE               NASHVILLE                 TN
81951   3KPF24ADXKE073674   Kia          FORTE               Atlanta                   GA
81952   3KPF24ADXKE074257   Kia          FORTE               CLEARWATER                FL
81953   3KPF24ADXKE074355   Kia          FORTE               ORLANDO                   FL
81954   3KPF24ADXKE074582   Kia          FORTE               CHICAGO                   IL
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81955   3KPF24ADXKE076865   Kia          FORTE               ORLANDO                   FL
81956   3KPF24ADXKE077577   Kia          FORTE               Austell                   GA
81957   3KPF24ADXKE078678   Kia          FORTE               FORT MYERS                FL
81958   3KPF24ADXKE078714   Kia          FORTE               WEST PALM BEACH           FL
81959   3KPF24ADXKE078812   Kia          FORTE               FORT MYERS                FL
81960   3KPF24ADXKE080284   Kia          FORTE               DYERSBURG                 TN
81961   3KPF24ADXKE080592   Kia          FORTE               Warminster                PA
81962   3KPF24ADXKE086294   Kia          FORTE               ORLANDO                   FL
81963   3KPF24ADXKE086392   Kia          FORTE               Atlanta                   GA
81964   3KPF24ADXKE088658   Kia          FORTE               FORT MYERS                FL
81965   3KPF24ADXKE109640   Kia          FORTE               TAMPA                     FL
81966   3KPF24ADXKE121657   Kia          FORTE               ST Paul                   MN
81967   3KPF34AD0KE039921   Kia          FORTE               ORLANDO                   FL
81968   3KPF34AD6KE015008   Kia          FORTE               Harvey                    LA
81969   3KPFK4A70JE178099   Kia          FORTE               Tampa                     FL
81970   3KPFK4A70JE202501   Kia          FORTE               MIAMI                     FL
81971   3KPFK4A70JE229231   Kia          FORTE               DALLAS                    TX
81972   3KPFK4A70JE257918   Kia          FORTE               WEST PALM BEACH           FL
81973   3KPFK4A70JE258339   Kia          FORTE               Richmond                  VA
81974   3KPFK4A70JE258650   Kia          FORTE               Fort Lauderdale           FL
81975   3KPFK4A70JE258681   Kia          FORTE               BALTIMORE                 MD
81976   3KPFK4A70JE258888   Kia          FORTE               NEWARK                    NJ
81977   3KPFK4A70JE258891   Kia          FORTE               ORLANDO                   FL
81978   3KPFK4A70JE259085   Kia          FORTE               Tampa                     FL
81979   3KPFK4A70JE259541   Kia          FORTE               ORLANDO                   FL
81980   3KPFK4A70JE260236   Kia          FORTE               ORLANDO                   FL
81981   3KPFK4A70JE267672   Kia          FORTE               Tampa                     FL
81982   3KPFK4A70JE275545   Kia          FORTE               CHICAGO                   IL
81983   3KPFK4A71JE185322   Kia          FORTE               RALEIGH                   NC
81984   3KPFK4A71JE203222   Kia          FORTE               Torrance                  CA
81985   3KPFK4A71JE229237   Kia          FORTE               Atlanta                   GA
81986   3KPFK4A71JE229416   Kia          FORTE               Elkridge                  MD
81987   3KPFK4A71JE253067   Kia          FORTE               BURBANK                   CA
81988   3KPFK4A71JE256566   Kia          FORTE               Smithtown                 NY
81989   3KPFK4A71JE256647   Kia          FORTE               Statesville               NC
81990   3KPFK4A71JE258673   Kia          FORTE               ORLANDO                   FL
81991   3KPFK4A71JE258768   Kia          FORTE               MIAMI                     FL
81992   3KPFK4A71JE258883   Kia          FORTE               COLLEGE PARK              GA
81993   3KPFK4A71JE259712   Kia          FORTE               WASHINGTON DC             MD
81994   3KPFK4A71JE259886   Kia          FORTE               Hattiesburg               MS
81995   3KPFK4A71JE261508   Kia          FORTE               MIAMI                     FL
81996   3KPFK4A71JE265168   Kia          FORTE               DES PLAINES               IL
81997   3KPFK4A71JE271679   Kia          FORTE               SAN DIEGO                 CA
81998   3KPFK4A72JE227514   Kia          FORTE               TAMPA                     FL
81999   3KPFK4A72JE227903   Kia          FORTE               North Dighton             MA
82000   3KPFK4A72JE247570   Kia          FORTE               COLUMBIA                  SC
82001   3KPFK4A72JE254910   Kia          FORTE               SARASOTA                  FL
82002   3KPFK4A72JE258651   Kia          FORTE               TALLAHASSEE               F
82003   3KPFK4A72JE258732   Kia          FORTE               ORLANDO                   FL
82004   3KPFK4A72JE258892   Kia          FORTE               Atlanta                   GA
82005   3KPFK4A72JE259640   Kia          FORTE               Atlanta                   GA
82006   3KPFK4A72JE259783   Kia          FORTE               WEST PALM BEACH           FL
82007   3KPFK4A72JE260240   Kia          FORTE               FORT MYERS                FL
82008   3KPFK4A72JE269049   Kia          FORTE               ORLANDO                   FL
82009   3KPFK4A72JE280293   Kia          FORTE               WEST PALM BEACH           FL
82010   3KPFK4A73JE199674   Kia          FORTE               Atlanta                   GA
82011   3KPFK4A73JE219552   Kia          FORTE               Davie                     FL
82012   3KPFK4A73JE245973   Kia          FORTE               KNOXVILLE                 TN
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82013   3KPFK4A73JE246525   Kia          FORTE               BOSTON                    MA
82014   3KPFK4A73JE246850   Kia          FORTE               ORLANDO                   FL
82015   3KPFK4A73JE257413   Kia          FORTE               MELROSE PARK              IL
82016   3KPFK4A73JE258724   Kia          FORTE               FORT LAUDERDALE           FL
82017   3KPFK4A73JE259887   Kia          FORTE               CHARLOTTE                 NC
82018   3KPFK4A73JE260098   Kia          FORTE               TAMPA                     FL
82019   3KPFK4A73JE269240   Kia          FORTE               STERLING                  VA
82020   3KPFK4A74HE068327   Kia          FORTE               Norwalk                   CA
82021   3KPFK4A74HE131149   Kia          FORTE               CHARLOTTE                 NC
82022   3KPFK4A74JE227241   Kia          FORTE               MIAMI                     FL
82023   3KPFK4A74JE255914   Kia          FORTE               Atlanta                   GA
82024   3KPFK4A74JE257923   Kia          FORTE               FORT LAUDERDALE           FL
82025   3KPFK4A74JE258683   Kia          FORTE               SEATAC                    WA
82026   3KPFK4A74JE259641   Kia          FORTE               FORT MYERS                FL
82027   3KPFK4A74JE260241   Kia          FORTE               DENVER                    CO
82028   3KPFK4A74JE260983   Kia          FORTE               SARASOTA                  FL
82029   3KPFK4A74JE277220   Kia          FORTE               FORT MYERS                FL
82030   3KPFK4A74JE280280   Kia          FORTE               Davie                     FL
82031   3KPFK4A75HE064061   Kia          FORTE               Elkridge                  MD
82032   3KPFK4A75HE112173   Kia          FORTE               SOUTHWEST DEALER D        TX
82033   3KPFK4A75JE201988   Kia          FORTE               Des Moines                IA
82034   3KPFK4A75JE244954   Kia          FORTE               CLEVELAND                 OH
82035   3KPFK4A75JE254805   Kia          FORTE               NEW BERN                  NC
82036   3KPFK4A75JE259941   Kia          FORTE               Baltimore                 MD
82037   3KPFK4A75JE260555   Kia          FORTE               FORT MYERS                FL
82038   3KPFK4A75JE268350   Kia          FORTE               Philadelphia              PA
82039   3KPFK4A75JE279557   Kia          FORTE               ORLANDO                   FL
82040   3KPFK4A75JE280286   Kia          FORTE               Miami                     FL
82041   3KPFK4A75JE281194   Kia          FORTE               Clearwater                FL
82042   3KPFK4A75JE283883   Kia          FORTE               Houston                   TX
82043   3KPFK4A76HE030422   Kia          FORTE               FORT LAUDERDALE           FL
82044   3KPFK4A76JE165907   Kia          FORTE               Philadelphia              PA
82045   3KPFK4A76JE176244   Kia          FORTE               WEST PALM BEACH           FL
82046   3KPFK4A76JE203040   Kia          FORTE               INGLEWOOD                 CA
82047   3KPFK4A76JE227239   Kia          FORTE               TAMPA                     FL
82048   3KPFK4A76JE236118   Kia          FORTE               Atlanta                   GA
82049   3KPFK4A76JE256563   Kia          FORTE               TAMPA                     FL
82050   3KPFK4A76JE258653   Kia          FORTE               Charlotte                 NC
82051   3KPFK4A76JE258717   Kia          FORTE               Miami                     FL
82052   3KPFK4A76JE259947   Kia          FORTE               MIAMI                     FL
82053   3KPFK4A76JE259950   Kia          FORTE               Hebron                    KY
82054   3KPFK4A76JE279129   Kia          FORTE               PHILADELPHIA              PA
82055   3KPFK4A77HE026976   Kia          FORTE               FT LAUDERDALE             FL
82056   3KPFK4A77HE031417   Kia          FORTE               LAS VEGAS                 NV
82057   3KPFK4A77HE064045   Kia          FORTE               BURBANK                   CA
82058   3KPFK4A77HE066880   Kia          FORTE               Atlanta                   GA
82059   3KPFK4A77HE083940   Kia          FORTE               Atlanta                   GA
82060   3KPFK4A77HE104897   Kia          FORTE               LUTHERVILLE               MD
82061   3KPFK4A77JE213429   Kia          FORTE               SAN JOSE                  CA
82062   3KPFK4A77JE258337   Kia          FORTE               STERLING                  VA
82063   3KPFK4A77JE259956   Kia          FORTE               TAMPA                     FL
82064   3KPFK4A77JE261464   Kia          FORTE               Tampa                     FL
82065   3KPFK4A77JE268771   Kia          FORTE               Indianapolis              IN
82066   3KPFK4A77JE281648   Kia          FORTE               TAMPA                     FL
82067   3KPFK4A78HE066239   Kia          FORTE               Tampa                     FL
82068   3KPFK4A78HE097782   Kia          FORTE               RICHMOND                  VA
82069   3KPFK4A78HE114418   Kia          FORTE               RALEIGH                   NC
82070   3KPFK4A78JE214296   Kia          FORTE               TALLAHASSEE               F
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82071   3KPFK4A78JE257679   Kia          FORTE               Stone Mountain            GA
82072   3KPFK4A78JE258654   Kia          FORTE               Tampa                     FL
82073   3KPFK4A78JE258721   Kia          FORTE               ORLANDO                   FL
82074   3KPFK4A78JE258878   Kia          FORTE               SOUTH SAN FRANC           CA
82075   3KPFK4A78JE258900   Kia          FORTE               N. Palm Beach             FL
82076   3KPFK4A78JE269198   Kia          FORTE               SOUTHEAST DST OFFC        OK
82077   3KPFK4A79JE178103   Kia          FORTE               Lynn                      MA
82078   3KPFK4A79JE226764   Kia          FORTE               MIAMI                     FL
82079   3KPFK4A79JE229244   Kia          FORTE               ORLANDO                   FL
82080   3KPFK4A79JE240776   Kia          FORTE               CHICAGO                   IL
82081   3KPFK4A79JE259943   Kia          FORTE               Orlando                   FL
82082   3KPFK4A79JE259960   Kia          FORTE               Atlanta                   GA
82083   3KPFK4A79JE260011   Kia          FORTE               ORLANDO                   FL
82084   3KPFK4A79JE279898   Kia          FORTE               DANIA BEACH               FL
82085   3KPFK4A79JE280288   Kia          FORTE               SAVANNAH                  GA
82086   3KPFK4A7XHE031329   Kia          FORTE               PHOENIX                   AZ
82087   3KPFK4A7XJE229415   Kia          FORTE               CLEVELAND                 OH
82088   3KPFK4A7XJE238423   Kia          FORTE               BURBANK                   CA
82089   3KPFK4A7XJE244948   Kia          FORTE               FORT MYERS                FL
82090   3KPFK4A7XJE258798   Kia          FORTE               Greensboro                NC
82091   3KPFK4A7XJE258851   Kia          FORTE               TAMPA                     FL
82092   3KPFK4A7XJE277299   Kia          FORTE               SAN DIEGO                 CA
82093   3KPFK4A7XJE282373   Kia          FORTE               COLUMBIA                  SC
82094   3KPFL4A70HE123272   Kia          FORTE               STERLING                  VA
82095   3KPFL4A70HE125572   Kia          FORTE               STERLING                  VA
82096   3KPFL4A70HE147345   Kia          FORTE               PITTSBURGH                PA
82097   3KPFL4A70HE148978   Kia          FORTE               Fredericksburg            VA
82098   3KPFL4A70HE149564   Kia          FORTE               Tampa                     FL
82099   3KPFL4A70HE153095   Kia          FORTE               CLEVELAND                 OH
82100   3KPFL4A70JE169397   Kia          FORTE               Atlanta                   GA
82101   3KPFL4A70JE170811   Kia          FORTE               SEATAC                    WA
82102   3KPFL4A70JE174292   Kia          FORTE               GLEN BURNIE               MD
82103   3KPFL4A70JE174857   Kia          FORTE               Atlanta                   GA
82104   3KPFL4A70JE179430   Kia          FORTE               CHICAGO                   IL
82105   3KPFL4A70JE196535   Kia          FORTE               Davie                     FL
82106   3KPFL4A70JE198639   Kia          FORTE               Fort Lauderdale           FL
82107   3KPFL4A70JE198785   Kia          FORTE               Elkridge                  MD
82108   3KPFL4A70JE198799   Kia          FORTE               Tampa                     FL
82109   3KPFL4A70JE198835   Kia          FORTE               FORT MYERS                FL
82110   3KPFL4A70JE198995   Kia          FORTE               TAMPA                     FL
82111   3KPFL4A70JE199581   Kia          FORTE               JACKSONVILLE              FL
82112   3KPFL4A70JE201653   Kia          FORTE               Austell                   GA
82113   3KPFL4A70JE202639   Kia          FORTE               DAYTONA BEACH             FL
82114   3KPFL4A70JE202964   Kia          FORTE               PHILADELPHIA              PA
82115   3KPFL4A70JE203886   Kia          FORTE               FORT LAUDERDALE           FL
82116   3KPFL4A70JE214743   Kia          FORTE               IRVING                    TX
82117   3KPFL4A70JE215424   Kia          FORTE               BURBANK                   CA
82118   3KPFL4A70JE222549   Kia          FORTE               Honolulu                  HI
82119   3KPFL4A70JE222552   Kia          FORTE               HONOLULU                  HI
82120   3KPFL4A70JE224589   Kia          FORTE               SANTA ANA                 CA
82121   3KPFL4A70JE226195   Kia          FORTE               SACRAMENTO                CA
82122   3KPFL4A70JE226200   Kia          FORTE               RICHMOND                  VA
82123   3KPFL4A70JE231901   Kia          FORTE               CHICAGO                   IL
82124   3KPFL4A70JE236063   Kia          FORTE               STERLING                  VA
82125   3KPFL4A70JE238721   Kia          FORTE               FORT LAUDERDALE           FL
82126   3KPFL4A70JE239447   Kia          FORTE               Marietta                  GA
82127   3KPFL4A70JE242784   Kia          FORTE               Atlanta                   GA
82128   3KPFL4A70JE244406   Kia          FORTE               NORTH PAC                 CA
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82129   3KPFL4A70JE245166   Kia          FORTE               CATONSVILLE               MD
82130   3KPFL4A70JE247953   Kia          FORTE               COLUMBIA                  SC
82131   3KPFL4A70JE248195   Kia          FORTE               DALLAS                    TX
82132   3KPFL4A70JE257253   Kia          FORTE               IRVING                    TX
82133   3KPFL4A70JE259312   Kia          FORTE               SOUTHWEST DEALER D        TX
82134   3KPFL4A70JE264722   Kia          FORTE               Winston‐Salem             NC
82135   3KPFL4A70JE269175   Kia          FORTE               Phoenix                   AZ
82136   3KPFL4A70JE269600   Kia          FORTE               ONTARIO                   CA
82137   3KPFL4A70JE271105   Kia          FORTE               ONTARIO                   CA
82138   3KPFL4A71HE090864   Kia          FORTE               PHILADELPHIA              PA
82139   3KPFL4A71HE098754   Kia          FORTE               STERLING                  VA
82140   3KPFL4A71HE099774   Kia          FORTE               NEW ENGLAND DEALER        MA
82141   3KPFL4A71HE131929   Kia          FORTE               STERLING                  VA
82142   3KPFL4A71HE135480   Kia          FORTE               PHILADELPHIA              PA
82143   3KPFL4A71HE145622   Kia          FORTE               NEW ENGLAND DEALER        MA
82144   3KPFL4A71HE153008   Kia          FORTE               Atlanta                   GA
82145   3KPFL4A71HE153011   Kia          FORTE               Cleveland                 OH
82146   3KPFL4A71JE175516   Kia          FORTE               BURBANK                   CA
82147   3KPFL4A71JE186466   Kia          FORTE               CHICAGO                   IL
82148   3KPFL4A71JE191490   Kia          FORTE               LAS VEGAS                 NV
82149   3KPFL4A71JE194437   Kia          FORTE               Elkridge                  MD
82150   3KPFL4A71JE196530   Kia          FORTE               North Dighton             MA
82151   3KPFL4A71JE199895   Kia          FORTE               LOS ANGELES               CA
82152   3KPFL4A71JE203380   Kia          FORTE               SPRINGFIELD               VA
82153   3KPFL4A71JE212841   Kia          FORTE               Atlanta                   GA
82154   3KPFL4A71JE212869   Kia          FORTE               Cedar Rapids              IA
82155   3KPFL4A71JE214847   Kia          FORTE               SAN JOSE                  CA
82156   3KPFL4A71JE216856   Kia          FORTE               Rock Hill                 SC
82157   3KPFL4A71JE223886   Kia          FORTE               Phoenix                   AZ
82158   3KPFL4A71JE231826   Kia          FORTE               Kahului                   HI
82159   3KPFL4A71JE234791   Kia          FORTE               NORTH PAC                 CA
82160   3KPFL4A71JE239554   Kia          FORTE               NORTH HOLLYWOOD           CA
82161   3KPFL4A71JE241059   Kia          FORTE               BURBANK                   CA
82162   3KPFL4A71JE241160   Kia          FORTE               BURBANK                   CA
82163   3KPFL4A71JE242034   Kia          FORTE               Cleveland                 OH
82164   3KPFL4A71JE242566   Kia          FORTE               MORROW                    GA
82165   3KPFL4A71JE242731   Kia          FORTE               Anaheim                   CA
82166   3KPFL4A71JE242793   Kia          FORTE               FORT LAUDERDALE           FL
82167   3KPFL4A71JE245354   Kia          FORTE               NEW ENGLAND DEALER        MA
82168   3KPFL4A71JE245824   Kia          FORTE               Warminster                PA
82169   3KPFL4A71JE250277   Kia          FORTE               NORTH PAC                 CA
82170   3KPFL4A71JE257116   Kia          FORTE               MORROW                    GA
82171   3KPFL4A71JE264292   Kia          FORTE               WEST PALM BEACH           FL
82172   3KPFL4A71JE265720   Kia          FORTE               FORT LAUDERDALE           FL
82173   3KPFL4A71JE267984   Kia          FORTE               Detroit                   MI
82174   3KPFL4A71JE273218   Kia          FORTE               LOUISVILLE                KY
82175   3KPFL4A71JE275213   Kia          FORTE               CHICAGO                   IL
82176   3KPFL4A72HE040314   Kia          FORTE               Fredericksburg            VA
82177   3KPFL4A72HE100009   Kia          FORTE               SOUTHEAST DST OFFC        OK
82178   3KPFL4A72HE130305   Kia          FORTE               Richmond                  VA
82179   3KPFL4A72HE133026   Kia          FORTE               ORLANDO                   FL
82180   3KPFL4A72HE145631   Kia          FORTE               MEDINA                    OH
82181   3KPFL4A72HE145886   Kia          FORTE               NEW ENGLAND DEALER        MA
82182   3KPFL4A72HE146892   Kia          FORTE               Atlanta                   GA
82183   3KPFL4A72HE158055   Kia          FORTE               ALBUQUERQUE               NM
82184   3KPFL4A72JE173967   Kia          FORTE               Arlington                 WA
82185   3KPFL4A72JE174052   Kia          FORTE               LOS ANGELES               CA
82186   3KPFL4A72JE174813   Kia          FORTE               Lake Elsinore             CA
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82187   3KPFL4A72JE193412   Kia          FORTE               Austin                    TX
82188   3KPFL4A72JE197914   Kia          FORTE               Elkridge                  MD
82189   3KPFL4A72JE198965   Kia          FORTE               ORLANDO                   FL
82190   3KPFL4A72JE199193   Kia          FORTE               Fredericksburg            VA
82191   3KPFL4A72JE199453   Kia          FORTE               Fredericksburg            VA
82192   3KPFL4A72JE200651   Kia          FORTE               CLAIRTON                  PA
82193   3KPFL4A72JE201010   Kia          FORTE               FLORIDA DEALER DIR        FL
82194   3KPFL4A72JE202741   Kia          FORTE               Davie                     FL
82195   3KPFL4A72JE210984   Kia          FORTE               SAN ANTONIO               TX
82196   3KPFL4A72JE212248   Kia          FORTE               Rock Hill                 SC
82197   3KPFL4A72JE212380   Kia          FORTE               San Antonio               TX
82198   3KPFL4A72JE215053   Kia          FORTE               ORLANDO                   FL
82199   3KPFL4A72JE215425   Kia          FORTE               Tolleson                  AZ
82200   3KPFL4A72JE220463   Kia          FORTE               NORTH PAC                 CA
82201   3KPFL4A72JE221970   Kia          FORTE               Oklahoma City             OK
82202   3KPFL4A72JE222391   Kia          FORTE               DAYTONA BEACH             FL
82203   3KPFL4A72JE222603   Kia          FORTE               KAHULUI                   HI
82204   3KPFL4A72JE223959   Kia          FORTE               BURBANK                   CA
82205   3KPFL4A72JE224707   Kia          FORTE               BURBANK                   CA
82206   3KPFL4A72JE241040   Kia          FORTE               BURBANK                   CA
82207   3KPFL4A72JE244200   Kia          FORTE               North Dighton             MA
82208   3KPFL4A72JE245265   Kia          FORTE               ATLANTA                   GA
82209   3KPFL4A72JE249252   Kia          FORTE               N. Las Vegas              NV
82210   3KPFL4A72JE252801   Kia          FORTE               CINCINNATI                OH
82211   3KPFL4A72JE256332   Kia          FORTE               Cedar Rapids              IA
82212   3KPFL4A72JE259294   Kia          FORTE               BURBANK                   CA
82213   3KPFL4A72JE260185   Kia          FORTE               SAN JOSE                  CA
82214   3KPFL4A72JE269162   Kia          FORTE               SHAKOPEE                  MN
82215   3KPFL4A72JE269596   Kia          FORTE               SAN JOSE                  CA
82216   3KPFL4A73HE114145   Kia          FORTE               DAYTONA BEACH             FL
82217   3KPFL4A73HE122455   Kia          FORTE               Baltimore                 MD
82218   3KPFL4A73HE133049   Kia          FORTE               Cleveland                 OH
82219   3KPFL4A73HE149610   Kia          FORTE               BOSTON                    MA
82220   3KPFL4A73HE149851   Kia          FORTE               SEATAC                    WA
82221   3KPFL4A73JE169975   Kia          FORTE               Stone Mountain            GA
82222   3KPFL4A73JE169992   Kia          FORTE               SOUTHEAST DST OFFC        OK
82223   3KPFL4A73JE176960   Kia          FORTE               Oakland                   CA
82224   3KPFL4A73JE177915   Kia          FORTE               NORTH PAC                 CA
82225   3KPFL4A73JE194438   Kia          FORTE               ORLANDO                   FL
82226   3KPFL4A73JE198800   Kia          FORTE               Miami                     FL
82227   3KPFL4A73JE200366   Kia          FORTE               CHARLOTTE                 NC
82228   3KPFL4A73JE203882   Kia          FORTE               Miami                     FL
82229   3KPFL4A73JE215434   Kia          FORTE               STERLING                  VA
82230   3KPFL4A73JE216485   Kia          FORTE               COLLEGE PARK              GA
82231   3KPFL4A73JE222190   Kia          FORTE               Chandler                  AZ
82232   3KPFL4A73JE222593   Kia          FORTE               WAIMEA                    HI
82233   3KPFL4A73JE222948   Kia          FORTE               Kailua Kona               HI
82234   3KPFL4A73JE223985   Kia          FORTE               Maple Grove               MN
82235   3KPFL4A73JE226496   Kia          FORTE               NORTH PAC                 CA
82236   3KPFL4A73JE235280   Kia          FORTE               BURBANK                   CA
82237   3KPFL4A73JE238910   Kia          FORTE               FORT LAUDERDALE           FL
82238   3KPFL4A73JE239023   Kia          FORTE               TAMPA                     FL
82239   3KPFL4A73JE240737   Kia          FORTE               TAMPA                     FL
82240   3KPFL4A73JE240804   Kia          FORTE               BURBANK                   CA
82241   3KPFL4A73JE241063   Kia          FORTE               SANTA ANA                 CA
82242   3KPFL4A73JE241970   Kia          FORTE               ORLANDO                   FL
82243   3KPFL4A73JE243797   Kia          FORTE               Sacramento                CA
82244   3KPFL4A73JE249955   Kia          FORTE               KENNER                    LA
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82245   3KPFL4A73JE251415   Kia          FORTE               BURBANK                   CA
82246   3KPFL4A73JE256209   Kia          FORTE               Dallas                    TX
82247   3KPFL4A73JE257103   Kia          FORTE               Dallas                    TX
82248   3KPFL4A73JE258557   Kia          FORTE               Miami                     FL
82249   3KPFL4A73JE261099   Kia          FORTE               PHILADELPHIA              US
82250   3KPFL4A73JE261118   Kia          FORTE               Caledonia                 WI
82251   3KPFL4A73JE269543   Kia          FORTE               Houston                   TX
82252   3KPFL4A73JE271115   Kia          FORTE               Chandler                  AZ
82253   3KPFL4A73JE274838   Kia          FORTE               Chicago                   IL
82254   3KPFL4A74HE020954   Kia          FORTE               Fredericksburg            VA
82255   3KPFL4A74HE101954   Kia          FORTE               Elkridge                  MD
82256   3KPFL4A74HE118799   Kia          FORTE               Elkridge                  MD
82257   3KPFL4A74HE125252   Kia          FORTE               CHICAGO                   IL
82258   3KPFL4A74HE132377   Kia          FORTE               HANOVER                   MD
82259   3KPFL4A74HE145615   Kia          FORTE               TRACY                     CA
82260   3KPFL4A74HE149096   Kia          FORTE               PHILADELPHIA              PA
82261   3KPFL4A74JE170780   Kia          FORTE               NORTH PAC                 CA
82262   3KPFL4A74JE173369   Kia          FORTE               Costa Mesa                CA
82263   3KPFL4A74JE174201   Kia          FORTE               Dallas                    TX
82264   3KPFL4A74JE196280   Kia          FORTE               Tampa                     FL
82265   3KPFL4A74JE196568   Kia          FORTE               Tampa                     FL
82266   3KPFL4A74JE199194   Kia          FORTE               Tampa                     FL
82267   3KPFL4A74JE200456   Kia          FORTE               Atlanta                   GA
82268   3KPFL4A74JE214745   Kia          FORTE               ALLENTOWN                 US
82269   3KPFL4A74JE216852   Kia          FORTE               ATLANTA AP                GA
82270   3KPFL4A74JE221968   Kia          FORTE               PALM SPRINGS              CA
82271   3KPFL4A74JE222456   Kia          FORTE               Hilo                      HI
82272   3KPFL4A74JE222490   Kia          FORTE               S. San Francisc           CA
82273   3KPFL4A74JE223882   Kia          FORTE               Dallas                    TX
82274   3KPFL4A74JE227995   Kia          FORTE               Honolulu                  HI
82275   3KPFL4A74JE234011   Kia          FORTE               BURBANK                   CA
82276   3KPFL4A74JE238849   Kia          FORTE               FORT MYERS                FL
82277   3KPFL4A74JE241265   Kia          FORTE               Jacksonville              FL
82278   3KPFL4A74JE241363   Kia          FORTE               Stone Mountain            GA
82279   3KPFL4A74JE244196   Kia          FORTE               FORT LAUDERDALE           FL
82280   3KPFL4A74JE244294   Kia          FORTE               Newark                    NJ
82281   3KPFL4A74JE244358   Kia          FORTE               ROSEVILLE                 CA
82282   3KPFL4A74JE245252   Kia          FORTE               Fort Lauderdale           FL
82283   3KPFL4A74JE246904   Kia          FORTE               FORT LAUDERDALE           FL
82284   3KPFL4A74JE249916   Kia          FORTE               NORTH PAC                 CA
82285   3KPFL4A74JE250029   Kia          FORTE               NORTH PAC                 CA
82286   3KPFL4A74JE252797   Kia          FORTE               Lake in the Hil           IL
82287   3KPFL4A74JE253285   Kia          FORTE               MIAMI                     FL
82288   3KPFL4A74JE255747   Kia          FORTE               Kansas City               MO
82289   3KPFL4A74JE263816   Kia          FORTE               EAST BOSTON               MA
82290   3KPFL4A74JE264240   Kia          FORTE               N MIAMI BEACH             FL
82291   3KPFL4A74JE273570   Kia          FORTE               ORLANDO                   FL
82292   3KPFL4A74JE274332   Kia          FORTE               ELKRIDGE                  MD
82293   3KPFL4A74JE275514   Kia          FORTE               CHICAGO                   IL
82294   3KPFL4A75HE116124   Kia          FORTE               DALLAS                    TX
82295   3KPFL4A75HE117712   Kia          FORTE               Santa Clara               CA
82296   3KPFL4A75HE130685   Kia          FORTE               Atlanta                   GA
82297   3KPFL4A75HE131982   Kia          FORTE               STERLING                  VA
82298   3KPFL4A75HE132288   Kia          FORTE               Lynn                      MA
82299   3KPFL4A75HE145400   Kia          FORTE               PHILADELPHIA              PA
82300   3KPFL4A75HE145882   Kia          FORTE               PHILADELPHIA              PA
82301   3KPFL4A75JE173140   Kia          FORTE               SAN FRANCISCO             CA
82302   3KPFL4A75JE173963   Kia          FORTE               Rio Linda                 CA
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82303   3KPFL4A75JE175437   Kia          FORTE               Las Vegas                 NV
82304   3KPFL4A75JE190469   Kia          FORTE               FORT MYERS                FL
82305   3KPFL4A75JE191878   Kia          FORTE               Atlanta                   GA
82306   3KPFL4A75JE198801   Kia          FORTE               KNOXVILLE                 TN
82307   3KPFL4A75JE200546   Kia          FORTE               EAST BOSTON               MA
82308   3KPFL4A75JE201745   Kia          FORTE               Tampa                     FL
82309   3KPFL4A75JE202958   Kia          FORTE               PHILADELPHIA              PA
82310   3KPFL4A75JE203883   Kia          FORTE               Portland                  OR
82311   3KPFL4A75JE214544   Kia          FORTE               DES MOINES                IA
82312   3KPFL4A75JE214849   Kia          FORTE               SAN FRANCISCO             CA
82313   3KPFL4A75JE222062   Kia          FORTE               SAN FRANCISCO             CA
82314   3KPFL4A75JE222112   Kia          FORTE               Matteson                  IL
82315   3KPFL4A75JE238360   Kia          FORTE               CHARLESTON                WV
82316   3KPFL4A75JE241470   Kia          FORTE               Atlanta                   GA
82317   3KPFL4A75JE241789   Kia          FORTE               Roseville                 CA
82318   3KPFL4A75JE242179   Kia          FORTE               Newark                    NJ
82319   3KPFL4A75JE242263   Kia          FORTE               WEST PALM BEACH           FL
82320   3KPFL4A75JE242683   Kia          FORTE               Tampa                     FL
82321   3KPFL4A75JE244224   Kia          FORTE               BURBANK                   CA
82322   3KPFL4A75JE249133   Kia          FORTE               MIAMI                     FL
82323   3KPFL4A75JE259208   Kia          FORTE               NORTH HOLLYWOOD           CA
82324   3KPFL4A76HE006568   Kia          FORTE               Miami                     FL
82325   3KPFL4A76HE067371   Kia          FORTE               Tampa                     FL
82326   3KPFL4A76HE098717   Kia          FORTE               SAN FRANCISCO             CA
82327   3KPFL4A76HE101308   Kia          FORTE               Miami                     FL
82328   3KPFL4A76HE101776   Kia          FORTE               PITTSBURGH                PA
82329   3KPFL4A76HE130873   Kia          FORTE               Baltimore                 MD
82330   3KPFL4A76HE132879   Kia          FORTE               GLASSBORO                 NJ
82331   3KPFL4A76HE133109   Kia          FORTE               SOUTHEAST DST OFFC        OK
82332   3KPFL4A76JE172868   Kia          FORTE               DAYTONA BEACH             FL
82333   3KPFL4A76JE173048   Kia          FORTE               DENVER                    CO
82334   3KPFL4A76JE176273   Kia          FORTE               LOS ANGELES               CA
82335   3KPFL4A76JE178508   Kia          FORTE               Anaheim                   CA
82336   3KPFL4A76JE194322   Kia          FORTE               HAPERVILLE                US
82337   3KPFL4A76JE200555   Kia          FORTE               Manheim                   PA
82338   3KPFL4A76JE200779   Kia          FORTE               CLEVELAND                 OH
82339   3KPFL4A76JE210888   Kia          FORTE               Bensalem                  PA
82340   3KPFL4A76JE214021   Kia          FORTE               Hartford                  CT
82341   3KPFL4A76JE215623   Kia          FORTE               FT. LAUDERDALE            FL
82342   3KPFL4A76JE222457   Kia          FORTE               Honolulu                  HI
82343   3KPFL4A76JE222717   Kia          FORTE               Mira Loma                 CA
82344   3KPFL4A76JE231126   Kia          FORTE               MIAMI                     FL
82345   3KPFL4A76JE235287   Kia          FORTE               Lake Elsinore             CA
82346   3KPFL4A76JE238271   Kia          FORTE               Scottsdale                AZ
82347   3KPFL4A76JE238349   Kia          FORTE               CENTRAL DIST OFFC         OK
82348   3KPFL4A76JE238352   Kia          FORTE               BURBANK                   CA
82349   3KPFL4A76JE241252   Kia          FORTE               Miami                     FL
82350   3KPFL4A76JE242742   Kia          FORTE               WEST PALM BEACH           FL
82351   3KPFL4A76JE242837   Kia          FORTE               BURBANK                   CA
82352   3KPFL4A76JE244099   Kia          FORTE               NORTH PAC                 CA
82353   3KPFL4A76JE245172   Kia          FORTE               Davie                     FL
82354   3KPFL4A76JE250940   Kia          FORTE               Marietta                  GA
82355   3KPFL4A76JE259296   Kia          FORTE               PHOENIX                   AZ
82356   3KPFL4A76JE260190   Kia          FORTE               Rockville Centr           NY
82357   3KPFL4A76JE262621   Kia          FORTE               COCOA                     FL
82358   3KPFL4A76JE263817   Kia          FORTE               Atlanta                   GA
82359   3KPFL4A76JE264126   Kia          FORTE               BALTIMORE                 MD
82360   3KPFL4A76JE273098   Kia          FORTE               Harvey                    LA
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82361   3KPFL4A76JE273215   Kia          FORTE               Memphis                   TN
82362   3KPFL4A77HE010659   Kia          FORTE               Winston‐Salem             NC
82363   3KPFL4A77HE083451   Kia          FORTE               LAS VEGAS                 NV
82364   3KPFL4A77HE125438   Kia          FORTE               DES MOINES                IA
82365   3KPFL4A77HE149609   Kia          FORTE               Hanover                   MD
82366   3KPFL4A77JE173639   Kia          FORTE               BURBANK                   CA
82367   3KPFL4A77JE174032   Kia          FORTE               SANTA ANA                 CA
82368   3KPFL4A77JE176766   Kia          FORTE               Las Vegas                 NV
82369   3KPFL4A77JE176900   Kia          FORTE               LAS VEGAS                 NV
82370   3KPFL4A77JE181627   Kia          FORTE               Hanover                   MD
82371   3KPFL4A77JE182566   Kia          FORTE               Rock Hill                 SC
82372   3KPFL4A77JE182616   Kia          FORTE               DALLAS                    TX
82373   3KPFL4A77JE193759   Kia          FORTE               DENVER                    CO
82374   3KPFL4A77JE194409   Kia          FORTE               FORT LAUDERDALE           FL
82375   3KPFL4A77JE198640   Kia          FORTE               Fort Lauderdale           FL
82376   3KPFL4A77JE201133   Kia          FORTE               Winter Park               FL
82377   3KPFL4A77JE201634   Kia          FORTE               JACKSONVILLE              FL
82378   3KPFL4A77JE202864   Kia          FORTE               ORLANDO                   FL
82379   3KPFL4A77JE210883   Kia          FORTE               Johnston                  RI
82380   3KPFL4A77JE211385   Kia          FORTE               Tampa                     FL
82381   3KPFL4A77JE213282   Kia          FORTE               CLEVELAND                 OH
82382   3KPFL4A77JE214738   Kia          FORTE               Atlanta                   GA
82383   3KPFL4A77JE215548   Kia          FORTE               FORT MYERS                FL
82384   3KPFL4A77JE222323   Kia          FORTE               SAN FRANCISCO             CA
82385   3KPFL4A77JE224203   Kia          FORTE               PORTLAND                  OR
82386   3KPFL4A77JE232222   Kia          FORTE               Honolulu                  HI
82387   3KPFL4A77JE232480   Kia          FORTE               SAN FRANCISCO             CA
82388   3KPFL4A77JE240918   Kia          FORTE               BURBANK                   CA
82389   3KPFL4A77JE241728   Kia          FORTE               DANIA BEACH               FL
82390   3KPFL4A77JE248193   Kia          FORTE               PHILADELPHIA              PA
82391   3KPFL4A77JE255693   Kia          FORTE               BURBANK                   CA
82392   3KPFL4A77JE257749   Kia          FORTE               FORT MYERS                FL
82393   3KPFL4A77JE258609   Kia          FORTE               BURBANK                   CA
82394   3KPFL4A77JE262028   Kia          FORTE               Detroit                   MI
82395   3KPFL4A77JE268301   Kia          FORTE               Pensacola                 FL
82396   3KPFL4A77JE273109   Kia          FORTE               Portland                  OR
82397   3KPFL4A77JE274146   Kia          FORTE               Johnston                  RI
82398   3KPFL4A77JE274860   Kia          FORTE               Phoenix                   AZ
82399   3KPFL4A78HE028944   Kia          FORTE               Cedar Rapids              IA
82400   3KPFL4A78HE100080   Kia          FORTE               CLEVELAND                 OH
82401   3KPFL4A78HE146024   Kia          FORTE               DALLAS                    TX
82402   3KPFL4A78HE147061   Kia          FORTE               SEATAC                    WA
82403   3KPFL4A78JE167056   Kia          FORTE               SAN JOSE                  CA
82404   3KPFL4A78JE169552   Kia          FORTE               Atlanta                   GA
82405   3KPFL4A78JE170779   Kia          FORTE               Burien                    WA
82406   3KPFL4A78JE170782   Kia          FORTE               SEATAC                    WA
82407   3KPFL4A78JE171964   Kia          FORTE               Hayward                   CA
82408   3KPFL4A78JE175416   Kia          FORTE               BURBANK                   CA
82409   3KPFL4A78JE176176   Kia          FORTE               SAN FRANCISCO             CA
82410   3KPFL4A78JE196282   Kia          FORTE               Norfolk                   VA
82411   3KPFL4A78JE196556   Kia          FORTE               MIDDLE RIVER              MD
82412   3KPFL4A78JE198582   Kia          FORTE               DAYTONA BEACH             FL
82413   3KPFL4A78JE200220   Kia          FORTE               CLEVELAND                 OH
82414   3KPFL4A78JE200962   Kia          FORTE               FLORIDA DEALER DIR        FL
82415   3KPFL4A78JE204798   Kia          FORTE               WICHITA FALLS             TX
82416   3KPFL4A78JE204803   Kia          FORTE               ORLANDO                   FL
82417   3KPFL4A78JE211265   Kia          FORTE               Tampa                     FL
82418   3KPFL4A78JE214120   Kia          FORTE               FORT MYERS                FL
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82419   3KPFL4A78JE215266   Kia          FORTE               Sacramento                CA
82420   3KPFL4A78JE215428   Kia          FORTE               Ocoee                     FL
82421   3KPFL4A78JE217552   Kia          FORTE               Richmond                  VA
82422   3KPFL4A78JE222489   Kia          FORTE               KAHULUI                   HI
82423   3KPFL4A78JE222718   Kia          FORTE               KAHULUI                   HI
82424   3KPFL4A78JE222721   Kia          FORTE               Honolulu                  HI
82425   3KPFL4A78JE224520   Kia          FORTE               Rio Linda                 CA
82426   3KPFL4A78JE224646   Kia          FORTE               Teterboro                 NJ
82427   3KPFL4A78JE229068   Kia          FORTE               NEW YORK DEALER DI        NJ
82428   3KPFL4A78JE233329   Kia          FORTE               NEW YORK DEALER DI        NJ
82429   3KPFL4A78JE235534   Kia          FORTE               Baltimore                 MD
82430   3KPFL4A78JE238871   Kia          FORTE               Austell                   GA
82431   3KPFL4A78JE240457   Kia          FORTE               NEW ENGLAND DEALER        MA
82432   3KPFL4A78JE241026   Kia          FORTE               BURBANK                   CA
82433   3KPFL4A78JE242368   Kia          FORTE               ATLANTA                   GA
82434   3KPFL4A78JE242676   Kia          FORTE               ORLANDO                   FL
82435   3KPFL4A78JE243634   Kia          FORTE               Burien                    WA
82436   3KPFL4A78JE243830   Kia          FORTE               BURBANK                   CA
82437   3KPFL4A78JE244198   Kia          FORTE               ORLANDO                   FL
82438   3KPFL4A78JE244556   Kia          FORTE               Fontana                   CA
82439   3KPFL4A78JE251376   Kia          FORTE               Hayward                   CA
82440   3KPFL4A78JE255668   Kia          FORTE               BURBANK                   CA
82441   3KPFL4A78JE257551   Kia          FORTE               BURBANK                   CA
82442   3KPFL4A78JE264242   Kia          FORTE               Miami                     FL
82443   3KPFL4A78JE265715   Kia          FORTE               Newark                    NJ
82444   3KPFL4A78JE272700   Kia          FORTE               Johnston                  RI
82445   3KPFL4A79HE013580   Kia          FORTE               SAN FRANCISCO             CA
82446   3KPFL4A79HE092510   Kia          FORTE               SAN ANTONIO               TX
82447   3KPFL4A79HE108415   Kia          FORTE               BURBANK                   CA
82448   3KPFL4A79HE125859   Kia          FORTE               Culpeper                  VA
82449   3KPFL4A79HE131595   Kia          FORTE               PHOENIX                   AZ
82450   3KPFL4A79HE148753   Kia          FORTE               NORTH PAC                 CA
82451   3KPFL4A79HE149448   Kia          FORTE               HANOVER                   MD
82452   3KPFL4A79HE151474   Kia          FORTE               CLEVELAND                 OH
82453   3KPFL4A79JE169933   Kia          FORTE               Grove City                OH
82454   3KPFL4A79JE193410   Kia          FORTE               CLEVELAND                 OH
82455   3KPFL4A79JE193956   Kia          FORTE               BURBANK                   CA
82456   3KPFL4A79JE194928   Kia          FORTE               Statesville               NC
82457   3KPFL4A79JE198512   Kia          FORTE               HANOVER                   MD
82458   3KPFL4A79JE198896   Kia          FORTE               DALLAS                    TX
82459   3KPFL4A79JE200226   Kia          FORTE               DENVER                    CO
82460   3KPFL4A79JE200792   Kia          FORTE               Tampa                     FL
82461   3KPFL4A79JE200825   Kia          FORTE               ORLANDO                   FL
82462   3KPFL4A79JE204681   Kia          FORTE               Winter Park               FL
82463   3KPFL4A79JE211646   Kia          FORTE               COLLEGE PARK              GA
82464   3KPFL4A79JE211713   Kia          FORTE               HARVEY                    LA
82465   3KPFL4A79JE213722   Kia          FORTE               Denver                    CO
82466   3KPFL4A79JE217284   Kia          FORTE               ORLANDO                   FL
82467   3KPFL4A79JE221965   Kia          FORTE               GLENOLDEN                 PA
82468   3KPFL4A79JE222551   Kia          FORTE               Honolulu                  HI
82469   3KPFL4A79JE222713   Kia          FORTE               KAHULUI                   HI
82470   3KPFL4A79JE230598   Kia          FORTE               CHARLOTTE                 NC
82471   3KPFL4A79JE232478   Kia          FORTE               BURBANK                   CA
82472   3KPFL4A79JE232741   Kia          FORTE               Costa Mesa                CA
82473   3KPFL4A79JE233632   Kia          FORTE               SACRAMENTO                CA
82474   3KPFL4A79JE234733   Kia          FORTE               ORLANDO                   FL
82475   3KPFL4A79JE236577   Kia          FORTE               SAN ANTONIO               TX
82476   3KPFL4A79JE239284   Kia          FORTE               BURBANK                   CA
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82477   3KPFL4A79JE239351   Kia          FORTE               FLORIDA DEALER DIR        FL
82478   3KPFL4A79JE241021   Kia          FORTE               Ventura                   CA
82479   3KPFL4A79JE242847   Kia          FORTE               North Dighton             MA
82480   3KPFL4A79JE244310   Kia          FORTE               Tampa                     FL
82481   3KPFL4A79JE248759   Kia          FORTE               CHICAGO                   IL
82482   3KPFL4A79JE249068   Kia          FORTE               Austell                   GA
82483   3KPFL4A79JE249829   Kia          FORTE               Jacksonville              FL
82484   3KPFL4A79JE252570   Kia          FORTE               JACKSONVILLE              FL
82485   3KPFL4A79JE258613   Kia          FORTE               ONTARIO                   CA
82486   3KPFL4A79JE267909   Kia          FORTE               Scottsdale                AZ
82487   3KPFL4A79JE273886   Kia          FORTE               SEATAC                    WA
82488   3KPFL4A79JE273967   Kia          FORTE               NORTH HOLLYWOOD           CA
82489   3KPFL4A7XHE080639   Kia          FORTE               KNOXVILLE                 TN
82490   3KPFL4A7XHE098915   Kia          FORTE               CHICAGO                   IL
82491   3KPFL4A7XHE118113   Kia          FORTE               HANOVER                   MD
82492   3KPFL4A7XHE132075   Kia          FORTE               CHARLOTTE                 NC
82493   3KPFL4A7XHE132240   Kia          FORTE               SAN ANTONIO               TX
82494   3KPFL4A7XHE144999   Kia          FORTE               BURBANK                   CA
82495   3KPFL4A7XHE148163   Kia          FORTE               FLORIDA DEALER DIR        FL
82496   3KPFL4A7XHE148518   Kia          FORTE               Baltimore                 MD
82497   3KPFL4A7XHE149216   Kia          FORTE               Austell                   GA
82498   3KPFL4A7XJE168905   Kia          FORTE               OAKLAND                   CA
82499   3KPFL4A7XJE178351   Kia          FORTE               LAS VEGAS                 NV
82500   3KPFL4A7XJE199765   Kia          FORTE               Johnston                  RI
82501   3KPFL4A7XJE200462   Kia          FORTE               Orlando                   FL
82502   3KPFL4A7XJE201630   Kia          FORTE               PHILADELPHIA              PA
82503   3KPFL4A7XJE202969   Kia          FORTE               FORT MYERS                FL
82504   3KPFL4A7XJE203829   Kia          FORTE               JACKSONVILLE              FL
82505   3KPFL4A7XJE204799   Kia          FORTE               Fredericksburg            VA
82506   3KPFL4A7XJE211011   Kia          FORTE               ORLANDO                   FL
82507   3KPFL4A7XJE212482   Kia          FORTE               Fort Lauderdale           FL
82508   3KPFL4A7XJE214748   Kia          FORTE               Tampa                     FL
82509   3KPFL4A7XJE215415   Kia          FORTE               IRVINE                    CA
82510   3KPFL4A7XJE222655   Kia          FORTE               Kahului                   HI
82511   3KPFL4A7XJE222784   Kia          FORTE               KAHULUI                   HI
82512   3KPFL4A7XJE225779   Kia          FORTE               FORT LAUDERDALE           FL
82513   3KPFL4A7XJE231825   Kia          FORTE               KAHULUI                   HI
82514   3KPFL4A7XJE234014   Kia          FORTE               BURLINGAME                CA
82515   3KPFL4A7XJE234109   Kia          FORTE               BURBANK                   CA
82516   3KPFL4A7XJE235003   Kia          FORTE               LOS ANGELES               CA
82517   3KPFL4A7XJE243845   Kia          FORTE               DANIA BEACH               FL
82518   3KPFL4A7XJE246177   Kia          FORTE               ORLANDO                   FL
82519   3KPFL4A7XJE247507   Kia          FORTE               BURBANK                   CA
82520   3KPFL4A7XJE250035   Kia          FORTE               DANIA                     US
82521   3KPFL4A7XJE250939   Kia          FORTE               NORTH PAC                 CA
82522   3KPFL4A7XJE257308   Kia          FORTE               HANOVER                   MD
82523   3KPFL4A7XJE261102   Kia          FORTE               DAYTONA BEACH             FL
82524   3KPFL4A7XJE266459   Kia          FORTE               Atlanta                   GA
82525   3KPFL4A7XJE274030   Kia          FORTE               Atlanta                   GA
82526   3KPFL4A7XJE274142   Kia          FORTE               Maple Grove               MN
82527   3KPFL4A7XJE274335   Kia          FORTE               ORLANDO                   FL
82528   3KPFL4A88HE004944   Kia          FORTE               DAYTONA BEACH             FL
82529   3KPFL4A8XHE052137   Kia          FORTE               Torrance                  CA
82530   3LN6L5A90HR649753   Ford         MKZ                 AUSTIN                    TX
82531   3LN6L5A9XJR615518   Ford         MKZ                 MIAMI                     FL
82532   3LN6L5C92JR602520   Ford         MKZ                 EL PASO                   TX
82533   3LN6L5C92KR604236   Ford         MKZ                 Winter Park               FL
82534   3LN6L5C93JR613431   Ford         MKZ                 ORLANDO                   FL
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82535   3LN6L5C96JR628537   Ford         MKZ                    TAMPA                  FL
82536   3LN6L5D92JR609790   Ford         MKZ                    BUFFALO                NY
82537   3LN6L5F92JR608507   Ford         MKZ                    BUFFALO                NY
82538   3LN6L5F98JR609791   Ford         MKZ                    BUFFALO                NY
82539   3LN6L5FC6HR657733   Ford         MKZ                    BIRMINGHAM             AL
82540   3MW5R1J00L8B15351   BMW                           330   Dallas                 TX
82541   3MW5R1J00L8B25359   BMW                           330   FORT MYERS             FL
82542   3MW5R1J00L8B25491   BMW                           330   FORT MYERS             FL
82543   3MW5R1J01L8B25502   BMW                           330   FORT MYERS             FL
82544   3MW5R1J02L8B17392   BMW                           330   Amarillo               TX
82545   3MW5R1J02L8B17618   BMW                           330   Houston                TX
82546   3MW5R1J02L8B25363   BMW                           330   FORT MYERS             FL
82547   3MW5R1J03L8B17434   BMW                           330   Houston                TX
82548   3MW5R1J03L8B25470   BMW                           330   FORT MYERS             FL
82549   3MW5R1J04L8B14946   BMW                           330   Dallas                 TX
82550   3MW5R1J04L8B25526   BMW                           330   FORT MYERS             FL
82551   3MW5R1J05L8B14888   BMW                           330   Dallas                 TX
82552   3MW5R1J05L8B15376   BMW                           330   Dallas                 TX
82553   3MW5R1J05L8B25518   BMW                           330   FORT MYERS             FL
82554   3MW5R1J06L8B25351   BMW                           330   FORT MYERS             FL
82555   3MW5R1J06L8B25365   BMW                           330   FORT MYERS             FL
82556   3MW5R1J06L8B25513   BMW                           330   FORT MYERS             FL
82557   3MW5R1J07L8B14911   BMW                           330   Dallas                 TX
82558   3MW5R1J07L8B14973   BMW                           330   Dallas                 TX
82559   3MW5R1J07L8B25486   BMW                           330   FORT MYERS             FL
82560   3MW5R1J08L8B25349   BMW                           330   FORT MYERS             FL
82561   3MW5R1J0XL8B25319   BMW                           330   FORT MYERS             FL
82562   3MW5R1J0XL8B25496   BMW                           330   FORT MYERS             FL
82563   3MYDLBYV0JY305608   Toyota       YARIS                  Portland               OR
82564   3MYDLBYV0JY310338   Toyota       YARIS                  WEST PALM BEACH        FL
82565   3MYDLBYV0JY313742   Toyota       YARIS                  North Dighton          MA
82566   3MYDLBYV0JY318231   Toyota       YARIS                  Hamilton               OH
82567   3MYDLBYV0JY318410   Toyota       YARIS                  PENSACOLA              FL
82568   3MYDLBYV0JY318424   Toyota       YARIS                  ORLANDO                FL
82569   3MYDLBYV0JY320979   Toyota       YARIS                  Smithtown              NY
82570   3MYDLBYV0JY321209   Toyota       YARIS                  Tampa                  FL
82571   3MYDLBYV0JY321386   Toyota       YARIS                  CHICAGO                IL
82572   3MYDLBYV0JY322120   Toyota       YARIS                  MOBILE                 A
82573   3MYDLBYV0JY322263   Toyota       YARIS                  ONTARIO                CA
82574   3MYDLBYV0JY322425   Toyota       YARIS                  Manheim                PA
82575   3MYDLBYV0JY324580   Toyota       YARIS                  Stone Mountain         GA
82576   3MYDLBYV0JY324708   Toyota       YARIS                  FORT MYERS             FL
82577   3MYDLBYV0JY324773   Toyota       YARIS                  Sanford                FL
82578   3MYDLBYV0JY324840   Toyota       YARIS                  Philadelphia           PA
82579   3MYDLBYV0JY325146   Toyota       YARIS                  TAMPA                  FL
82580   3MYDLBYV0JY325325   Toyota       YARIS                  Warr Acres             OK
82581   3MYDLBYV0JY325549   Toyota       YARIS                  FORT MYERS             FL
82582   3MYDLBYV0JY325552   Toyota       YARIS                  NEW BERN               NC
82583   3MYDLBYV0JY325583   Toyota       YARIS                  Medford                NY
82584   3MYDLBYV0JY325888   Toyota       YARIS                  WEST PALM BEACH        FL
82585   3MYDLBYV0JY326037   Toyota       YARIS                  ORLANDO                FL
82586   3MYDLBYV0JY327687   Toyota       YARIS                  Cleveland              OH
82587   3MYDLBYV0JY327690   Toyota       YARIS                  RALIEGH                NC
82588   3MYDLBYV0JY327947   Toyota       YARIS                  MIAMI                  FL
82589   3MYDLBYV0JY327950   Toyota       YARIS                  SAVANNAH               GA
82590   3MYDLBYV0JY327995   Toyota       YARIS                  PHOENIX                AZ
82591   3MYDLBYV0JY328001   Toyota       YARIS                  CHICAGO                IL
82592   3MYDLBYV0JY328032   Toyota       YARIS                  Richmond               VA
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82593   3MYDLBYV0JY328113   Toyota       YARIS               Webster                   NY
82594   3MYDLBYV0JY328127   Toyota       YARIS               Portland                  OR
82595   3MYDLBYV0JY328273   Toyota       YARIS               GREEN BAY                 WI
82596   3MYDLBYV0JY328368   Toyota       YARIS               FORT LAUDERDALE           FL
82597   3MYDLBYV0JY329813   Toyota       YARIS               WEST PALM BEACH           FL
82598   3MYDLBYV0JY329987   Toyota       YARIS               Philadelphia              PA
82599   3MYDLBYV0JY330069   Toyota       YARIS               Greer                     SC
82600   3MYDLBYV0JY330458   Toyota       YARIS               SAN DIEGO                 CA
82601   3MYDLBYV0JY330637   Toyota       YARIS               ROANOKE                   VA
82602   3MYDLBYV0JY330766   Toyota       YARIS               MEMPHIS                   TN
82603   3MYDLBYV0JY330797   Toyota       YARIS               WEST PALM BEACH           FL
82604   3MYDLBYV0KY517734   Toyota       YARIS               WEST PALM BEACH           FL
82605   3MYDLBYV1JY305603   Toyota       YARIS               San Diego                 CA
82606   3MYDLBYV1JY310669   Toyota       YARIS               North Dighton             MA
82607   3MYDLBYV1JY320649   Toyota       YARIS               Jamaica                   NY
82608   3MYDLBYV1JY320991   Toyota       YARIS               Manheim                   PA
82609   3MYDLBYV1JY321154   Toyota       YARIS               Newark                    NJ
82610   3MYDLBYV1JY321476   Toyota       YARIS               Philadelphia              PA
82611   3MYDLBYV1JY321512   Toyota       YARIS               Manheim                   PA
82612   3MYDLBYV1JY321722   Toyota       YARIS               Richmond                  VA
82613   3MYDLBYV1JY322143   Toyota       YARIS               Sterling                  VA
82614   3MYDLBYV1JY322322   Toyota       YARIS               FT. LAUDERDALE            FL
82615   3MYDLBYV1JY324345   Toyota       YARIS               BOSTON                    MA
82616   3MYDLBYV1JY324474   Toyota       YARIS               Clearwater                FL
82617   3MYDLBYV1JY324653   Toyota       YARIS               North Dighton             MA
82618   3MYDLBYV1JY324703   Toyota       YARIS               Warwick                   RI
82619   3MYDLBYV1JY324989   Toyota       YARIS               Bridgeton                 MO
82620   3MYDLBYV1JY325978   Toyota       YARIS               Greensboro                NC
82621   3MYDLBYV1JY325981   Toyota       YARIS               ORLANDO                   FL
82622   3MYDLBYV1JY326225   Toyota       YARIS               MIDDLE RIVER              MD
82623   3MYDLBYV1JY327696   Toyota       YARIS               CHICAGO                   IL
82624   3MYDLBYV1JY327701   Toyota       YARIS               Fontana                   CA
82625   3MYDLBYV1JY327732   Toyota       YARIS               Warminster                PA
82626   3MYDLBYV1JY327889   Toyota       YARIS               ATLANTA                   GA
82627   3MYDLBYV1JY327892   Toyota       YARIS               SOUTHEAST DST OFFC        OK
82628   3MYDLBYV1JY328086   Toyota       YARIS               Baltimore                 MD
82629   3MYDLBYV1JY328105   Toyota       YARIS               CHICAGO                   IL
82630   3MYDLBYV1JY328296   Toyota       YARIS               Manheim                   PA
82631   3MYDLBYV1JY328444   Toyota       YARIS               Elkridge                  MD
82632   3MYDLBYV1JY328475   Toyota       YARIS               Marietta                  GA
82633   3MYDLBYV1JY329402   Toyota       YARIS               ORLANDO                   FL
82634   3MYDLBYV1JY329903   Toyota       YARIS               ORLANDO                   FL
82635   3MYDLBYV1JY330095   Toyota       YARIS               Los Angeles               CA
82636   3MYDLBYV1JY330212   Toyota       YARIS               Detroit                   MI
82637   3MYDLBYV1JY330341   Toyota       YARIS               KNOXVILLE                 TN
82638   3MYDLBYV1JY330503   Toyota       YARIS               SOUTHEAST DST OFFC        OK
82639   3MYDLBYV1JY330727   Toyota       YARIS               SARASOTA                  FL
82640   3MYDLBYV1JY330730   Toyota       YARIS               Lynn                      MA
82641   3MYDLBYV1JY330758   Toyota       YARIS               Hamilton                  OH
82642   3MYDLBYV1JY330811   Toyota       YARIS               FORT MYERS                FL
82643   3MYDLBYV1JY330842   Toyota       YARIS               Euless                    TX
82644   3MYDLBYV1JY330937   Toyota       YARIS               Charlotte                 NC
82645   3MYDLBYV1JY331201   Toyota       YARIS               Smithtown                 NY
82646   3MYDLBYV1JY331716   Toyota       YARIS               CHARLESTON                SC
82647   3MYDLBYV1JY331747   Toyota       YARIS               ATLANTA                   GA
82648   3MYDLBYV1KY527849   Toyota       YARIS               ORLANDO                   FL
82649   3MYDLBYV2JY313936   Toyota       YARIS               Davie                     FL
82650   3MYDLBYV2JY318151   Toyota       YARIS               SAINT PAUL                MN
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82651   3MYDLBYV2JY318201   Toyota       YARIS               Carleton                  MI
82652   3MYDLBYV2JY320496   Toyota       YARIS               Cleveland                 OH
82653   3MYDLBYV2JY321261   Toyota       YARIS               EGG HARBOR TOWN           NJ
82654   3MYDLBYV2JY321454   Toyota       YARIS               FT LAUDERDALE             US
82655   3MYDLBYV2JY321664   Toyota       YARIS               Cleveland                 OH
82656   3MYDLBYV2JY322233   Toyota       YARIS               ATLANTA                   GA
82657   3MYDLBYV2JY322524   Toyota       YARIS               Colorado Spring           CO
82658   3MYDLBYV2JY324421   Toyota       YARIS               Hebron                    KY
82659   3MYDLBYV2JY324600   Toyota       YARIS               Newark                    NJ
82660   3MYDLBYV2JY324628   Toyota       YARIS               Smithtown                 NY
82661   3MYDLBYV2JY324676   Toyota       YARIS               Smithtown                 NY
82662   3MYDLBYV2JY324757   Toyota       YARIS               Windsor Locks             CT
82663   3MYDLBYV2JY324970   Toyota       YARIS               CHICAGO                   IL
82664   3MYDLBYV2JY325021   Toyota       YARIS               RICHMOND                  VA
82665   3MYDLBYV2JY325438   Toyota       YARIS               Carleton                  MI
82666   3MYDLBYV2JY326010   Toyota       YARIS               Atlanta                   GA
82667   3MYDLBYV2JY326122   Toyota       YARIS               Elkridge                  MD
82668   3MYDLBYV2JY326296   Toyota       YARIS               FORT LAUDERDALE           FL
82669   3MYDLBYV2JY327805   Toyota       YARIS               Richmond                  VA
82670   3MYDLBYV2JY327965   Toyota       YARIS               UNION CITY                GA
82671   3MYDLBYV2JY328226   Toyota       YARIS               Cleveland                 OH
82672   3MYDLBYV2JY328355   Toyota       YARIS               FORT LAUDERDALE           FL
82673   3MYDLBYV2JY328663   Toyota       YARIS               Windsor Locks             CT
82674   3MYDLBYV2JY329263   Toyota       YARIS               ORLANDO                   FL
82675   3MYDLBYV2JY329392   Toyota       YARIS               Memphis                   TN
82676   3MYDLBYV2JY329991   Toyota       YARIS               KNOXVILLE                 TN
82677   3MYDLBYV2JY330171   Toyota       YARIS               FAYETTEVILLE              GA
82678   3MYDLBYV2JY330185   Toyota       YARIS               Vandalia                  OH
82679   3MYDLBYV2JY330283   Toyota       YARIS               Davie                     FL
82680   3MYDLBYV2JY330297   Toyota       YARIS               ORLANDO                   FL
82681   3MYDLBYV2JY330316   Toyota       YARIS               Atlanta                   GA
82682   3MYDLBYV2JY330459   Toyota       YARIS               SAVANNAH                  GA
82683   3MYDLBYV2JY330543   Toyota       YARIS               Elkridge                  MD
82684   3MYDLBYV2JY330767   Toyota       YARIS               ORLANDO                   FL
82685   3MYDLBYV2JY330848   Toyota       YARIS               Hanover                   MD
82686   3MYDLBYV2JY330946   Toyota       YARIS               Hamilton                  OH
82687   3MYDLBYV2JY331210   Toyota       YARIS               Tolleson                  AZ
82688   3MYDLBYV2JY331367   Toyota       YARIS               Hanover                   MD
82689   3MYDLBYV2JY331644   Toyota       YARIS               Richmond                  VA
82690   3MYDLBYV3JY310351   Toyota       YARIS               TAMPA                     US
82691   3MYDLBYV3JY314187   Toyota       YARIS               WEST PALM BEACH           FL
82692   3MYDLBYV3JY317316   Toyota       YARIS               Rockville Centr           NY
82693   3MYDLBYV3JY317414   Toyota       YARIS               Sarasota                  FL
82694   3MYDLBYV3JY318207   Toyota       YARIS               SOUTH BEND                IN
82695   3MYDLBYV3JY318255   Toyota       YARIS               DETROIT                   MI
82696   3MYDLBYV3JY320538   Toyota       YARIS               DALLAS                    TX
82697   3MYDLBYV3JY321768   Toyota       YARIS               DENVER                    CO
82698   3MYDLBYV3JY322600   Toyota       YARIS               Stone Mountain            GA
82699   3MYDLBYV3JY324475   Toyota       YARIS               Norfolk                   VA
82700   3MYDLBYV3JY324699   Toyota       YARIS               ORLANDO                   FL
82701   3MYDLBYV3JY324881   Toyota       YARIS               CHICAGO                   IL
82702   3MYDLBYV3JY324931   Toyota       YARIS               Newark                    NJ
82703   3MYDLBYV3JY325268   Toyota       YARIS               MORROW                    GA
82704   3MYDLBYV3JY325500   Toyota       YARIS               Carleton                  MI
82705   3MYDLBYV3JY325612   Toyota       YARIS               North Dighton             MA
82706   3MYDLBYV3JY325660   Toyota       YARIS               WARWICK                   RI
82707   3MYDLBYV3JY325898   Toyota       YARIS               Richmond                  VA
82708   3MYDLBYV3JY326016   Toyota       YARIS               SARASOTA                  FL
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82709   3MYDLBYV3JY326064   Toyota       YARIS               ORLANDO                   FL
82710   3MYDLBYV3JY327778   Toyota       YARIS               PHOENIX                   AZ
82711   3MYDLBYV3JY327912   Toyota       YARIS               Webster                   NY
82712   3MYDLBYV3JY327960   Toyota       YARIS               Dallas                    TX
82713   3MYDLBYV3JY328235   Toyota       YARIS               FORT LAUDERDALE           FL
82714   3MYDLBYV3JY328266   Toyota       YARIS               Louisville                KY
82715   3MYDLBYV3JY328445   Toyota       YARIS               Denver                    CO
82716   3MYDLBYV3JY328512   Toyota       YARIS               HANOVER                   MD
82717   3MYDLBYV3JY329093   Toyota       YARIS               Cleveland                 OH
82718   3MYDLBYV3JY329255   Toyota       YARIS               SOUTHEAST DST OFFC        OK
82719   3MYDLBYV3JY329644   Toyota       YARIS               Louisville                KY
82720   3MYDLBYV3JY329935   Toyota       YARIS               STERLING                  VA
82721   3MYDLBYV3JY330020   Toyota       YARIS               OAKLAND                   CA
82722   3MYDLBYV3JY330681   Toyota       YARIS               SAVANNAH                  GA
82723   3MYDLBYV3JY330695   Toyota       YARIS               North Dighton             MA
82724   3MYDLBYV3JY330728   Toyota       YARIS               ORLANDO                   FL
82725   3MYDLBYV3JY330776   Toyota       YARIS               Atlanta                   GA
82726   3MYDLBYV3JY330793   Toyota       YARIS               San Diego                 CA
82727   3MYDLBYV3JY330843   Toyota       YARIS               Manheim                   PA
82728   3MYDLBYV3JY331202   Toyota       YARIS               Rock Hill                 SC
82729   3MYDLBYV3JY331376   Toyota       YARIS               MEDINA                    OH
82730   3MYDLBYV3JY331538   Toyota       YARIS               Atlanta                   GA
82731   3MYDLBYV3JY331846   Toyota       YARIS               Windsor Locks             CT
82732   3MYDLBYV3KY525374   Toyota       YARIS               Hapeville                 GA
82733   3MYDLBYV4JY310665   Toyota       YARIS               Syracuse                  NY
82734   3MYDLBYV4JY318104   Toyota       YARIS               North Dighton             MA
82735   3MYDLBYV4JY320094   Toyota       YARIS               PALM S                    CA
82736   3MYDLBYV4JY321102   Toyota       YARIS               Elkridge                  MD
82737   3MYDLBYV4JY321634   Toyota       YARIS               Maple Grove               MN
82738   3MYDLBYV4JY322007   Toyota       YARIS               Marietta                  GA
82739   3MYDLBYV4JY324338   Toyota       YARIS               Baltimore                 MD
82740   3MYDLBYV4JY324825   Toyota       YARIS               Manheim                   PA
82741   3MYDLBYV4JY324937   Toyota       YARIS               Burien                    WA
82742   3MYDLBYV4JY325053   Toyota       YARIS               GRAND RAPIDS              MI
82743   3MYDLBYV4JY325991   Toyota       YARIS               WEST PALM BEACH           FL
82744   3MYDLBYV4JY326008   Toyota       YARIS               Savannah                  GA
82745   3MYDLBYV4JY327661   Toyota       YARIS               Cranberry Towns           PA
82746   3MYDLBYV4JY327921   Toyota       YARIS               White Plains              NY
82747   3MYDLBYV4JY327983   Toyota       YARIS               Englewood                 CO
82748   3MYDLBYV4JY328096   Toyota       YARIS               DETROIT                   MI
82749   3MYDLBYV4JY328129   Toyota       YARIS               Atlanta                   GA
82750   3MYDLBYV4JY328342   Toyota       YARIS               STERLING                  VA
82751   3MYDLBYV4JY328714   Toyota       YARIS               Hapeville                 GA
82752   3MYDLBYV4JY328924   Toyota       YARIS               FAIRBANKS                 AK
82753   3MYDLBYV4JY328969   Toyota       YARIS               MIDDLE RIVER              MD
82754   3MYDLBYV4JY329054   Toyota       YARIS               Marietta                  GA
82755   3MYDLBYV4JY329166   Toyota       YARIS               JACKSONVILLE              FL
82756   3MYDLBYV4JY329300   Toyota       YARIS               Ft. Myers                 FL
82757   3MYDLBYV4JY329393   Toyota       YARIS               Philadelphia              PA
82758   3MYDLBYV4JY329717   Toyota       YARIS               FORT MYERS                FL
82759   3MYDLBYV4JY330088   Toyota       YARIS               Cleveland                 OH
82760   3MYDLBYV4JY330110   Toyota       YARIS               Cleveland                 OH
82761   3MYDLBYV4JY330298   Toyota       YARIS               MEDINA                    OH
82762   3MYDLBYV4JY330317   Toyota       YARIS               ORLANDO                   FL
82763   3MYDLBYV4JY330348   Toyota       YARIS               SANTA CLARA               CA
82764   3MYDLBYV4JY330401   Toyota       YARIS               FORT MYERS                FL
82765   3MYDLBYV4JY330835   Toyota       YARIS               Charlotte                 NC
82766   3MYDLBYV4JY330916   Toyota       YARIS               WEST PALM BEACH           FL
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82767   3MYDLBYV4JY330995   Toyota       YARIS               SOUTHEAST DST OFFC        OK
82768   3MYDLBYV5JY306611   Toyota       YARIS               Aurora                    CO
82769   3MYDLBYV5JY313638   Toyota       YARIS               Harvey                    LA
82770   3MYDLBYV5JY317950   Toyota       YARIS               Ocoee                     FL
82771   3MYDLBYV5JY318189   Toyota       YARIS               Sterling                  VA
82772   3MYDLBYV5JY318483   Toyota       YARIS               Smithtown                 NY
82773   3MYDLBYV5JY320749   Toyota       YARIS               CLARKSVILLE               IN
82774   3MYDLBYV5JY320976   Toyota       YARIS               ONTARIO, RIVERSIDE        CA
82775   3MYDLBYV5JY321528   Toyota       YARIS               Rockville Centr           NY
82776   3MYDLBYV5JY321576   Toyota       YARIS               Elkridge                  MD
82777   3MYDLBYV5JY322033   Toyota       YARIS               North Dighton             MA
82778   3MYDLBYV5JY322453   Toyota       YARIS               FORT MYERS                FL
82779   3MYDLBYV5JY324378   Toyota       YARIS               Manheim                   PA
82780   3MYDLBYV5JY324641   Toyota       YARIS               Baltimore                 MD
82781   3MYDLBYV5JY325501   Toyota       YARIS               Harvey                    LA
82782   3MYDLBYV5JY325577   Toyota       YARIS               SARASOTA                  FL
82783   3MYDLBYV5JY326244   Toyota       YARIS               Miami                     FL
82784   3MYDLBYV5JY327880   Toyota       YARIS               Houston                   TX
82785   3MYDLBYV5JY327894   Toyota       YARIS               Dallas                    TX
82786   3MYDLBYV5JY328124   Toyota       YARIS               WEST PALM BEACH           FL
82787   3MYDLBYV5JY328270   Toyota       YARIS               Palm Springs              CA
82788   3MYDLBYV5JY328592   Toyota       YARIS               Hamilton                  OH
82789   3MYDLBYV5JY329211   Toyota       YARIS               Smithtown                 NY
82790   3MYDLBYV5JY329452   Toyota       YARIS               RICHMOND                  VA
82791   3MYDLBYV5JY330049   Toyota       YARIS               Marietta                  GA
82792   3MYDLBYV5JY330066   Toyota       YARIS               Manheim                   PA
82793   3MYDLBYV5JY330097   Toyota       YARIS               FORT LAUDERDALE           FL
82794   3MYDLBYV5JY330147   Toyota       YARIS               Smithtown                 NY
82795   3MYDLBYV5JY330231   Toyota       YARIS               Schaumburg                IL
82796   3MYDLBYV5JY330360   Toyota       YARIS               TAMPA                     US
82797   3MYDLBYV5JY330567   Toyota       YARIS               WEST PALM BEACH           FL
82798   3MYDLBYV5JY330827   Toyota       YARIS               FORT MYERS                FL
82799   3MYDLBYV5JY330973   Toyota       YARIS               WEST PALM BEACH           FL
82800   3MYDLBYV6JY310635   Toyota       YARIS               North Dighton             MA
82801   3MYDLBYV6JY314006   Toyota       YARIS               Houston                   TX
82802   3MYDLBYV6JY318170   Toyota       YARIS               FORT LAUDERDALE           FL
82803   3MYDLBYV6JY318315   Toyota       YARIS               Lake Elsinore             CA
82804   3MYDLBYV6JY318511   Toyota       YARIS               Bridgeton                 MO
82805   3MYDLBYV6JY318542   Toyota       YARIS               Ft. Myers                 FL
82806   3MYDLBYV6JY320811   Toyota       YARIS               OAKLAND                   CA
82807   3MYDLBYV6JY321053   Toyota       YARIS               TAMPA                     FL
82808   3MYDLBYV6JY321439   Toyota       YARIS               Ocoee                     FL
82809   3MYDLBYV6JY321652   Toyota       YARIS               ORLANDO                   FL
82810   3MYDLBYV6JY321781   Toyota       YARIS               Norfolk                   VA
82811   3MYDLBYV6JY322073   Toyota       YARIS               LAS VEGAS                 NV
82812   3MYDLBYV6JY322154   Toyota       YARIS               Philadelphia              PA
82813   3MYDLBYV6JY322347   Toyota       YARIS               ORLANDO                   FL
82814   3MYDLBYV6JY324518   Toyota       YARIS               North Dighton             MA
82815   3MYDLBYV6JY325099   Toyota       YARIS               FORT LAUDERDALE           FL
82816   3MYDLBYV6JY325135   Toyota       YARIS               Atlanta                   GA
82817   3MYDLBYV6JY325281   Toyota       YARIS               BLOOMINGTON               IL
82818   3MYDLBYV6JY325846   Toyota       YARIS               TAMPA                     FL
82819   3MYDLBYV6JY326267   Toyota       YARIS               TAMPA                     FL
82820   3MYDLBYV6JY327905   Toyota       YARIS               FRESNO                    CA
82821   3MYDLBYV6JY328021   Toyota       YARIS               Matteson                  IL
82822   3MYDLBYV6JY328097   Toyota       YARIS               WEST PALM BEACH           FL
82823   3MYDLBYV6JY328150   Toyota       YARIS               Manheim                   PA
82824   3MYDLBYV6JY328584   Toyota       YARIS               JACKSONVILLE              FL
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82825   3MYDLBYV6JY328813   Toyota       YARIS               Tampa                     FL
82826   3MYDLBYV6JY330058   Toyota       YARIS               Smithtown                 NY
82827   3MYDLBYV6JY330285   Toyota       YARIS               Lexington                 KY
82828   3MYDLBYV6JY330383   Toyota       YARIS               Tampa                     FL
82829   3MYDLBYV6JY330822   Toyota       YARIS               CHICAGO                   IL
82830   3MYDLBYV6JY330836   Toyota       YARIS               SAN FRANCISCO             CA
82831   3MYDLBYV6JY331355   Toyota       YARIS               Davie                     FL
82832   3MYDLBYV6JY331369   Toyota       YARIS               Las Vegas                 NV
82833   3MYDLBYV6JY331632   Toyota       YARIS               North Dighton             MA
82834   3MYDLBYV7JY305976   Toyota       YARIS               Los Angeles               CA
82835   3MYDLBYV7JY310157   Toyota       YARIS               Elkridge                  MD
82836   3MYDLBYV7JY310451   Toyota       YARIS               ORLANDO                   FL
82837   3MYDLBYV7JY310627   Toyota       YARIS               Atlanta                   GA
82838   3MYDLBYV7JY313950   Toyota       YARIS               North Dighton             MA
82839   3MYDLBYV7JY317190   Toyota       YARIS               Oklahoma City             OK
82840   3MYDLBYV7JY317478   Toyota       YARIS               Baltimore                 MD
82841   3MYDLBYV7JY320641   Toyota       YARIS               Manheim                   PA
82842   3MYDLBYV7JY320705   Toyota       YARIS               Columbus                  OH
82843   3MYDLBYV7JY320882   Toyota       YARIS               Miami                     FL
82844   3MYDLBYV7JY321384   Toyota       YARIS               North Dighton             MA
82845   3MYDLBYV7JY321417   Toyota       YARIS               Dearborn                  MI
82846   3MYDLBYV7JY321479   Toyota       YARIS               Los Angeles               CA
82847   3MYDLBYV7JY321661   Toyota       YARIS               SOUTHEAST DST OFFC        OK
82848   3MYDLBYV7JY321756   Toyota       YARIS               ORLANDO                   FL
82849   3MYDLBYV7JY321868   Toyota       YARIS               DES MOINES                IA
82850   3MYDLBYV7JY321899   Toyota       YARIS               Fontana                   CA
82851   3MYDLBYV7JY322132   Toyota       YARIS               PHOENIX                   AZ
82852   3MYDLBYV7JY322499   Toyota       YARIS               Manheim                   PA
82853   3MYDLBYV7JY322681   Toyota       YARIS               SEATTLE                   WA
82854   3MYDLBYV7JY324365   Toyota       YARIS               North Dighton             MA
82855   3MYDLBYV7JY324432   Toyota       YARIS               ORLANDO                   FL
82856   3MYDLBYV7JY324639   Toyota       YARIS               SHAKOPEE                  MN
82857   3MYDLBYV7JY324642   Toyota       YARIS               Windsor Locks             CT
82858   3MYDLBYV7JY325077   Toyota       YARIS               DAYTONA BEACH             FL
82859   3MYDLBYV7JY325273   Toyota       YARIS               Windsor Locks             CT
82860   3MYDLBYV7JY325726   Toyota       YARIS               Newark                    NJ
82861   3MYDLBYV7JY325841   Toyota       YARIS               Webster                   NY
82862   3MYDLBYV7JY325953   Toyota       YARIS               DES MOINES                IA
82863   3MYDLBYV7JY326293   Toyota       YARIS               Sterling                  VA
82864   3MYDLBYV7JY326312   Toyota       YARIS               COCOA                     FL
82865   3MYDLBYV7JY327735   Toyota       YARIS               DENVER                    CO
82866   3MYDLBYV7JY327766   Toyota       YARIS               MORROW                    GA
82867   3MYDLBYV7JY327816   Toyota       YARIS               CHICAGO                   IL
82868   3MYDLBYV7JY327833   Toyota       YARIS               Statesville               NC
82869   3MYDLBYV7JY328030   Toyota       YARIS               TAMPA                     FL
82870   3MYDLBYV7JY328190   Toyota       YARIS               SALT LAKE CITY            US
82871   3MYDLBYV7JY328349   Toyota       YARIS               TAMPA                     US
82872   3MYDLBYV7JY328514   Toyota       YARIS               NEW BERN                  NC
82873   3MYDLBYV7JY328576   Toyota       YARIS               Las Vegas                 NV
82874   3MYDLBYV7JY328612   Toyota       YARIS               FORT LAUDERDALE           FL
82875   3MYDLBYV7JY328996   Toyota       YARIS               SANTA ANA                 CA
82876   3MYDLBYV7JY329145   Toyota       YARIS               WEST PALM BEACH           FL
82877   3MYDLBYV7JY329484   Toyota       YARIS               FAIRBANKS                 AK
82878   3MYDLBYV7JY329856   Toyota       YARIS               TAMPA                     FL
82879   3MYDLBYV7JY329968   Toyota       YARIS               Lake Elsinore             CA
82880   3MYDLBYV7JY329999   Toyota       YARIS               FORT MYERS                FL
82881   3MYDLBYV7JY330103   Toyota       YARIS               SOUTHEAST DST OFFC        OK
82882   3MYDLBYV7JY330263   Toyota       YARIS               Baltimore                 MD
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82883   3MYDLBYV7JY330277   Toyota       YARIS               KNOXVILLE                 TN
82884   3MYDLBYV7JY330389   Toyota       YARIS               Charlotte                 NC
82885   3MYDLBYV7JY330537   Toyota       YARIS               Grove City                OH
82886   3MYDLBYV7JY330599   Toyota       YARIS               Smithtown                 NY
82887   3MYDLBYV7JY330618   Toyota       YARIS               SCRANTON                  PA
82888   3MYDLBYV7JY330621   Toyota       YARIS               Rockville Centr           NY
82889   3MYDLBYV7JY330831   Toyota       YARIS               ORLANDO                   FL
82890   3MYDLBYV7JY331378   Toyota       YARIS               MORROW                    GA
82891   3MYDLBYV7JY331512   Toyota       YARIS               Memphis                   TN
82892   3MYDLBYV7KY520422   Toyota       YARIS               WEST PALM BEACH           FL
82893   3MYDLBYV7KY524891   Toyota       YARIS               FORT LAUDERDALE           FL
82894   3MYDLBYV8JY314105   Toyota       YARIS               SARASOTA                  FL
82895   3MYDLBYV8JY317991   Toyota       YARIS               Pensacola                 FL
82896   3MYDLBYV8JY318039   Toyota       YARIS               Smithtown                 NY
82897   3MYDLBYV8JY318073   Toyota       YARIS               Atlanta                   GA
82898   3MYDLBYV8JY320924   Toyota       YARIS               North Dighton             MA
82899   3MYDLBYV8JY321006   Toyota       YARIS               Woodhaven                 MI
82900   3MYDLBYV8JY321037   Toyota       YARIS               Newark                    NJ
82901   3MYDLBYV8JY321278   Toyota       YARIS               Cranberry Towns           PA
82902   3MYDLBYV8JY321782   Toyota       YARIS               Santa Clara               CA
82903   3MYDLBYV8JY321829   Toyota       YARIS               MIAMI                     FL
82904   3MYDLBYV8JY322060   Toyota       YARIS               Sacramento                CA
82905   3MYDLBYV8JY322544   Toyota       YARIS               BUFFALO                   NY
82906   3MYDLBYV8JY324388   Toyota       YARIS               TAMPA                     FL
82907   3MYDLBYV8JY324438   Toyota       YARIS               SOUTHEAST DST OFFC        OK
82908   3MYDLBYV8JY324519   Toyota       YARIS               Elkridge                  MD
82909   3MYDLBYV8JY324925   Toyota       YARIS               DAYTONA BEACH             FL
82910   3MYDLBYV8JY325041   Toyota       YARIS               Smithtown                 NY
82911   3MYDLBYV8JY325539   Toyota       YARIS               North Dighton             MA
82912   3MYDLBYV8JY325590   Toyota       YARIS               North Dighton             MA
82913   3MYDLBYV8JY326223   Toyota       YARIS               Detroit                   MI
82914   3MYDLBYV8JY326237   Toyota       YARIS               Detroit                   MI
82915   3MYDLBYV8JY327713   Toyota       YARIS               SARASOTA                  FL
82916   3MYDLBYV8JY327775   Toyota       YARIS               Manheim                   PA
82917   3MYDLBYV8JY327789   Toyota       YARIS               Smithtown                 NY
82918   3MYDLBYV8JY327842   Toyota       YARIS               SACRAMENTO                CA
82919   3MYDLBYV8JY327985   Toyota       YARIS               North Billerica           MA
82920   3MYDLBYV8JY328151   Toyota       YARIS               Detroit                   MI
82921   3MYDLBYV8JY328229   Toyota       YARIS               ANCHORAGE                 AK
82922   3MYDLBYV8JY328666   Toyota       YARIS               Smithtown                 NY
82923   3MYDLBYV8JY329140   Toyota       YARIS               JACKSONVILLE              FL
82924   3MYDLBYV8JY329235   Toyota       YARIS               FORT LAUDERDALE           FL
82925   3MYDLBYV8JY329610   Toyota       YARIS               SYRACUSE                  NY
82926   3MYDLBYV8JY329638   Toyota       YARIS               Elkridge                  MD
82927   3MYDLBYV8JY330224   Toyota       YARIS               Baltimore                 MD
82928   3MYDLBYV8JY330241   Toyota       YARIS               Rockville Centr           NY
82929   3MYDLBYV8JY330742   Toyota       YARIS               North Dighton             MA
82930   3MYDLBYV8JY330787   Toyota       YARIS               SARASOTA                  FL
82931   3MYDLBYV8JY330854   Toyota       YARIS               KANSAS CITY               MO
82932   3MYDLBYV8JY330868   Toyota       YARIS               San Diego                 CA
82933   3MYDLBYV8JY330952   Toyota       YARIS               SPRINGFIELD               VA
82934   3MYDLBYV8JY331468   Toyota       YARIS               Elkridge                  MD
82935   3MYDLBYV8JY331504   Toyota       YARIS               LOUISVILLE                KY
82936   3MYDLBYV9JY303565   Toyota       YARIS               HAYWARD                   CA
82937   3MYDLBYV9JY310662   Toyota       YARIS               Manheim                   PA
82938   3MYDLBYV9JY317479   Toyota       YARIS               Woodhaven                 MI
82939   3MYDLBYV9JY318342   Toyota       YARIS               FORT LAUDERDALE           FL
82940   3MYDLBYV9JY320818   Toyota       YARIS               NORTH HILLS               CA
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82941   3MYDLBYV9JY320964   Toyota       YARIS               MIDDLE RIVER              MD
82942   3MYDLBYV9JY321452   Toyota       YARIS               Irving                    TX
82943   3MYDLBYV9JY321581   Toyota       YARIS               LOS ANGELES               CA
82944   3MYDLBYV9JY321743   Toyota       YARIS               LOS ANGELES               CA
82945   3MYDLBYV9JY322066   Toyota       YARIS               Baltimore                 MD
82946   3MYDLBYV9JY322665   Toyota       YARIS               Atlanta                   GA
82947   3MYDLBYV9JY324349   Toyota       YARIS               Schaumburg                IL
82948   3MYDLBYV9JY326117   Toyota       YARIS               Elkridge                  MD
82949   3MYDLBYV9JY326151   Toyota       YARIS               FORT MYERS                FL
82950   3MYDLBYV9JY327851   Toyota       YARIS               ORLANDO                   FL
82951   3MYDLBYV9JY328062   Toyota       YARIS               MEDINA                    OH
82952   3MYDLBYV9JY328188   Toyota       YARIS               Slidell                   LA
82953   3MYDLBYV9JY328384   Toyota       YARIS               ANCHORAGE                 AK
82954   3MYDLBYV9JY328563   Toyota       YARIS               ORLANDO                   FL
82955   3MYDLBYV9JY329969   Toyota       YARIS               Hanover                   MD
82956   3MYDLBYV9JY330118   Toyota       YARIS               Irving                    TX
82957   3MYDLBYV9JY330149   Toyota       YARIS               Detroit                   MI
82958   3MYDLBYV9JY330412   Toyota       YARIS               GLASSBORO                 NJ
82959   3MYDLBYV9JY330717   Toyota       YARIS               Lake in the Hil           IL
82960   3MYDLBYV9JY330796   Toyota       YARIS               FORT LAUDERDALE           FL
82961   3MYDLBYV9JY330927   Toyota       YARIS               Scottsdale                AZ
82962   3MYDLBYV9JY331754   Toyota       YARIS               CHICAGO                   IL
82963   3MYDLBYV9JY331771   Toyota       YARIS               Las Vegas                 NV
82964   3MYDLBYV9KY523225   Toyota       YARIS               Englewood                 CO
82965   3MYDLBYVXJY306510   Toyota       YARIS               PHILADELPHIA              PA
82966   3MYDLBYVXJY310136   Toyota       YARIS               Warminster                PA
82967   3MYDLBYVXJY317359   Toyota       YARIS               MIDDLE RIVER              MD
82968   3MYDLBYVXJY317412   Toyota       YARIS               Ft. Myers                 FL
82969   3MYDLBYVXJY317734   Toyota       YARIS               Manheim                   PA
82970   3MYDLBYVXJY317815   Toyota       YARIS               TAMPA                     FL
82971   3MYDLBYVXJY317846   Toyota       YARIS               ATLANTA                   GA
82972   3MYDLBYVXJY318401   Toyota       YARIS               Tampa                     FL
82973   3MYDLBYVXJY318480   Toyota       YARIS               Smithtown                 NY
82974   3MYDLBYVXJY321038   Toyota       YARIS               Tampa                     FL
82975   3MYDLBYVXJY321136   Toyota       YARIS               TAMPA                     FL
82976   3MYDLBYVXJY321430   Toyota       YARIS               Tampa                     FL
82977   3MYDLBYVXJY321704   Toyota       YARIS               Elkridge                  MD
82978   3MYDLBYVXJY321928   Toyota       YARIS               FORT LAUDERDALE           FL
82979   3MYDLBYVXJY322058   Toyota       YARIS               Lake Elsinore             CA
82980   3MYDLBYVXJY322111   Toyota       YARIS               Carleton                  MI
82981   3MYDLBYVXJY322139   Toyota       YARIS               Warr Acres                OK
82982   3MYDLBYVXJY324604   Toyota       YARIS               ORLANDO                   FL
82983   3MYDLBYVXJY325445   Toyota       YARIS               Indianapolis              IN
82984   3MYDLBYVXJY325543   Toyota       YARIS               Carleton                  MI
82985   3MYDLBYVXJY325638   Toyota       YARIS               Marietta                  GA
82986   3MYDLBYVXJY325672   Toyota       YARIS               Manheim                   PA
82987   3MYDLBYVXJY325932   Toyota       YARIS               LOUISVILLE                KY
82988   3MYDLBYVXJY326059   Toyota       YARIS               Cranberry Towns           PA
82989   3MYDLBYVXJY326076   Toyota       YARIS               St. Louis                 MO
82990   3MYDLBYVXJY326143   Toyota       YARIS               Tampa                     FL
82991   3MYDLBYVXJY326305   Toyota       YARIS               Baltimore                 MD
82992   3MYDLBYVXJY326322   Toyota       YARIS               TAMPA                     FL
82993   3MYDLBYVXJY327700   Toyota       YARIS               Tampa                     FL
82994   3MYDLBYVXJY327843   Toyota       YARIS               Miami                     FL
82995   3MYDLBYVXJY327891   Toyota       YARIS               CHICAGO                   IL
82996   3MYDLBYVXJY328023   Toyota       YARIS               FORT MYERS                FL
82997   3MYDLBYVXJY328040   Toyota       YARIS               Newark                    NJ
82998   3MYDLBYVXJY328118   Toyota       YARIS               Cleveland                 OH
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82999   3MYDLBYVXJY328149   Toyota       YARIS               SAN FRANCISCO             CA
83000   3MYDLBYVXJY328202   Toyota       YARIS               TAMPA                     FL
83001   3MYDLBYVXJY328555   Toyota       YARIS               Stone Mountain            GA
83002   3MYDLBYVXJY329088   Toyota       YARIS               INDIANAPOLIS              IN
83003   3MYDLBYVXJY329351   Toyota       YARIS               Anchorage                 AK
83004   3MYDLBYVXJY329835   Toyota       YARIS               MIAMI                     FL
83005   3MYDLBYVXJY330032   Toyota       YARIS               Wichita                   KS
83006   3MYDLBYVXJY330063   Toyota       YARIS               Atlanta                   GA
83007   3MYDLBYVXJY330144   Toyota       YARIS               Hebron                    KY
83008   3MYDLBYVXJY330290   Toyota       YARIS               FORT MYERS                FL
83009   3MYDLBYVXJY330547   Toyota       YARIS               Hayward                   CA
83010   3MYDLBYVXJY331052   Toyota       YARIS               AUGUSTA                   GA
83011   3MYDLBYVXJY331228   Toyota       YARIS               Newport Beach             CA
83012   3MYDLBYVXJY331519   Toyota       YARIS               TAMPA                     FL
83013   3MYDLBZV0GY130574   Toyota       SCION               Seattle                   WA
83014   3MYDLBZV3GY143982   Toyota       SCION               FORT LAUDERDALE           FL
83015   3MZBM1T72GM319903   Mazda        MAZDA               SANTA ANA                 CA
83016   3MZBM1U75GM304018   Mazda        MAZDA               Fontana                   CA
83017   3MZBM1U7XGM300725   Mazda        MAZDA               HANOVER                   MD
83018   3MZBN1U70JM202968   Mazda        MAZDA               BURBANK                   CA
83019   3MZBN1U70JM204302   Mazda        MAZDA               SAN JOSE                  CA
83020   3MZBN1U70JM216157   Mazda        MAZDA               MEDINA                    OH
83021   3MZBN1U70JM220760   Mazda        MAZDA               Santa Clara               CA
83022   3MZBN1U70JM221147   Mazda        MAZDA               SAN JOSE                  CA
83023   3MZBN1U71JM210349   Mazda        MAZDA               Portland                  OR
83024   3MZBN1U71JM216099   Mazda        MAZDA               PICO RIVERA               CA
83025   3MZBN1U71JM221299   Mazda        MAZDA               WOODLAND HILLS            CA
83026   3MZBN1U71JM222520   Mazda        MAZDA               Roseville                 CA
83027   3MZBN1U72JM202681   Mazda        MAZDA               BURBANK                   CA
83028   3MZBN1U72JM210229   Mazda        MAZDA               Kent                      WA
83029   3MZBN1U72JM222543   Mazda        MAZDA               SUNNYVALE                 CA
83030   3MZBN1U73JM197491   Mazda        MAZDA               Chicago                   IL
83031   3MZBN1U73JM199080   Mazda        MAZDA               NORTH HILLS               CA
83032   3MZBN1U73JM209476   Mazda        MAZDA               Hayward                   CA
83033   3MZBN1U73JM221384   Mazda        MAZDA               LOS ANGELES AP            CA
83034   3MZBN1U74JM204528   Mazda        MAZDA               LOS ANGELES               CA
83035   3MZBN1U74JM215383   Mazda        MAZDA               BURBANK                   CA
83036   3MZBN1U75JM203016   Mazda        MAZDA               ONTARIO                   CA
83037   3MZBN1U76JM200383   Mazda        MAZDA               PHOENIX                   AZ
83038   3MZBN1U76JM202828   Mazda        MAZDA               SANTA ANA                 CA
83039   3MZBN1U76JM203025   Mazda        MAZDA               SAN FRANCISCO             CA
83040   3MZBN1U76JM209276   Mazda        MAZDA               SAN FRANCISCO             CA
83041   3MZBN1U77JM204202   Mazda        MAZDA               BURBANK                   CA
83042   3MZBN1U77JM215653   Mazda        MAZDA               LOS ANGELES               CA
83043   3MZBN1U78JM204404   Mazda        MAZDA               PASADENA                  CA
83044   3MZBN1U78JM209330   Mazda        MAZDA               FAYETTEVILLE              GA
83045   3MZBN1U78JM215404   Mazda        MAZDA               DENVER                    CO
83046   3MZBN1U78JM215774   Mazda        MAZDA               WEST PALM BEACH           FL
83047   3MZBN1U79JM203245   Mazda        MAZDA               BURBANK                   CA
83048   3MZBN1U79JM210325   Mazda        MAZDA               LOS ANGELES               CA
83049   3MZBN1U79JM215881   Mazda        MAZDA               Union City                GA
83050   3MZBN1U79JM217470   Mazda        MAZDA               NORTH PAC                 CA
83051   3MZBN1U79JM221230   Mazda        MAZDA               MORROW                    GA
83052   3MZBN1U7XJM215517   Mazda        MAZDA               SALT LAKE CITY            UT
83053   3MZBN1V30JM198450   Mazda        MAZDA               NORTH PAC                 CA
83054   3MZBN1V30JM199503   Mazda        MAZDA               ROSEVILLE                 CA
83055   3MZBN1V30JM200665   Mazda        MAZDA               KAHULUI                   HI
83056   3MZBN1V30JM201072   Mazda        MAZDA               FRESNO                    CA
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83057   3MZBN1V30JM201623   Mazda       MAZDA               Fontana                   CA
83058   3MZBN1V30JM202657   Mazda       MAZDA               Phoenix                   AZ
83059   3MZBN1V30JM202755   Mazda       MAZDA               KAHULUI                   HI
83060   3MZBN1V30JM203159   Mazda       MAZDA               KAHULUI                   HI
83061   3MZBN1V30JM203405   Mazda       MAZDA               ROSEVILLE                 CA
83062   3MZBN1V30JM203940   Mazda       MAZDA               Fontana                   CA
83063   3MZBN1V30JM204019   Mazda       MAZDA               HONOLULU                  HI
83064   3MZBN1V30JM204117   Mazda       MAZDA               KAUAI                     HI
83065   3MZBN1V30JM207843   Mazda       MAZDA               DES MOINES                IA
83066   3MZBN1V31JM198182   Mazda       MAZDA               Fresno                    CA
83067   3MZBN1V31JM198697   Mazda       MAZDA               SAN JOSE                  CA
83068   3MZBN1V31JM198795   Mazda       MAZDA               SAN DIEGO                 CA
83069   3MZBN1V31JM198909   Mazda       MAZDA               Norwalk                   CA
83070   3MZBN1V31JM199087   Mazda       MAZDA               BURBANK                   CA
83071   3MZBN1V31JM199509   Mazda       MAZDA               BURBANK                   CA
83072   3MZBN1V31JM199767   Mazda       MAZDA               Hayward                   CA
83073   3MZBN1V31JM199803   Mazda       MAZDA               CLOVIS                    CA
83074   3MZBN1V31JM200190   Mazda       MAZDA               SAN FRANCISCO             CA
83075   3MZBN1V31JM200402   Mazda       MAZDA               KAHULUI                   HI
83076   3MZBN1V31JM200481   Mazda       MAZDA               KAHULUI                   HI
83077   3MZBN1V31JM200982   Mazda       MAZDA               Las Vegas                 NV
83078   3MZBN1V31JM201257   Mazda       MAZDA               PHOENIX                   AZ
83079   3MZBN1V31JM201310   Mazda       MAZDA               Riverside                 CA
83080   3MZBN1V31JM201677   Mazda       MAZDA               NORTH PAC                 CA
83081   3MZBN1V31JM202330   Mazda       MAZDA               Lihue                     HI
83082   3MZBN1V31JM203834   Mazda       MAZDA               KAHULUI                   HI
83083   3MZBN1V31JM203963   Mazda       MAZDA               KENNER                    LA
83084   3MZBN1V31JM204370   Mazda       MAZDA               OAKLAND                   CA
83085   3MZBN1V31JM204403   Mazda       MAZDA               Kahului                   HI
83086   3MZBN1V32JM198935   Mazda       MAZDA               SEATTLE                   WA
83087   3MZBN1V32JM199082   Mazda       MAZDA               Los Angeles               CA
83088   3MZBN1V32JM200442   Mazda       MAZDA               LIHUE AP KAUAI            HI
83089   3MZBN1V32JM203096   Mazda       MAZDA               Mira Loma                 CA
83090   3MZBN1V32JM203874   Mazda       MAZDA               KAHULUI                   HI
83091   3MZBN1V32JM203972   Mazda       MAZDA               BURBANK                   CA
83092   3MZBN1V32JM208007   Mazda       MAZDA               CHICAGO                   IL
83093   3MZBN1V33JM179505   Mazda       MAZDA               CHICAGO                   IL
83094   3MZBN1V33JM199012   Mazda       MAZDA               LAS VEGAS                 NV
83095   3MZBN1V33JM199057   Mazda       MAZDA               BURBANK                   CA
83096   3MZBN1V33JM199785   Mazda       MAZDA               PHOENIX                   AZ
83097   3MZBN1V33JM200045   Mazda       MAZDA               Pasadena                  CA
83098   3MZBN1V33JM200658   Mazda       MAZDA               KAHULUI                   HI
83099   3MZBN1V33JM201406   Mazda       MAZDA               BURBANK                   CA
83100   3MZBN1V33JM201891   Mazda       MAZDA               Las Vegas                 NV
83101   3MZBN1V33JM202376   Mazda       MAZDA               LOS ANGELES               CA
83102   3MZBN1V33JM202684   Mazda       MAZDA               BURBANK                   CA
83103   3MZBN1V33JM203270   Mazda       MAZDA               Kahului                   HI
83104   3MZBN1V33JM203849   Mazda       MAZDA               HONOLULU                  HI
83105   3MZBN1V33JM204354   Mazda       MAZDA               WEST CENTRAL DEALE        CO
83106   3MZBN1V34JM197978   Mazda       MAZDA               FORT MYERS                FL
83107   3MZBN1V34JM199441   Mazda       MAZDA               BURBANK                   CA
83108   3MZBN1V34JM199911   Mazda       MAZDA               BURBANK                   CA
83109   3MZBN1V34JM200023   Mazda       MAZDA               LOS ANGELES               CA
83110   3MZBN1V34JM202015   Mazda       MAZDA               BURBANK                   CA
83111   3MZBN1V34JM202032   Mazda       MAZDA               Santa Clara               CA
83112   3MZBN1V34JM202211   Mazda       MAZDA               LIHUE AP KAUAI            HI
83113   3MZBN1V34JM202306   Mazda       MAZDA               Irving                    TX
83114   3MZBN1V34JM202628   Mazda       MAZDA               KAHULUI                   HI
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83115   3MZBN1V34JM203438   Mazda       MAZDA               ROSEVILLE                 CA
83116   3MZBN1V34JM203844   Mazda       MAZDA               KAHULUI                   HI
83117   3MZBN1V34JM203939   Mazda       MAZDA               LOS ANGELES               CA
83118   3MZBN1V34JM204248   Mazda       MAZDA               South San Franc           CA
83119   3MZBN1V34JM204458   Mazda       MAZDA               LA HABRA                  CA
83120   3MZBN1V35JM198024   Mazda       MAZDA               Stockton                  CA
83121   3MZBN1V35JM199920   Mazda       MAZDA               BURBANK                   CA
83122   3MZBN1V35JM200449   Mazda       MAZDA               KAUAI                     HI
83123   3MZBN1V35JM201097   Mazda       MAZDA               LOS ANGELES               CA
83124   3MZBN1V35JM201844   Mazda       MAZDA               KAHULUI                   HI
83125   3MZBN1V35JM202282   Mazda       MAZDA               BURBANK                   CA
83126   3MZBN1V35JM202685   Mazda       MAZDA               Lihue                     HI
83127   3MZBN1V35JM202878   Mazda       MAZDA               BURBANK                   CA
83128   3MZBN1V35JM202962   Mazda       MAZDA               San Diego                 CA
83129   3MZBN1V35JM203965   Mazda       MAZDA               Kahului                   HI
83130   3MZBN1V35JM204596   Mazda       MAZDA               KAUAI                     HI
83131   3MZBN1V36JM199697   Mazda       MAZDA               SAN DIEGO                 CA
83132   3MZBN1V36JM199991   Mazda       MAZDA               Houston                   TX
83133   3MZBN1V36JM200184   Mazda       MAZDA               Kahului                   HI
83134   3MZBN1V36JM200251   Mazda       MAZDA               Kahului                   HI
83135   3MZBN1V36JM200654   Mazda       MAZDA               Honolulu                  HI
83136   3MZBN1V36JM201352   Mazda       MAZDA               SANTA ANA                 CA
83137   3MZBN1V36JM201447   Mazda       MAZDA               LAS VEGAS                 NV
83138   3MZBN1V36JM203098   Mazda       MAZDA               SAN FRANCISCO             CA
83139   3MZBN1V36JM203392   Mazda       MAZDA               MORROW                    GA
83140   3MZBN1V37JM198073   Mazda       MAZDA               LOS ANGELES               CA
83141   3MZBN1V37JM198722   Mazda       MAZDA               ROSEVILLE                 CA
83142   3MZBN1V37JM199126   Mazda       MAZDA               LOS ANGELES               CA
83143   3MZBN1V37JM199773   Mazda       MAZDA               PALM SPRINGS              CA
83144   3MZBN1V37JM200131   Mazda       MAZDA               LOS ANGELES               CA
83145   3MZBN1V37JM200663   Mazda       MAZDA               HONOLULU                  HI
83146   3MZBN1V37JM201246   Mazda       MAZDA               SAN FRANCISCO             CA
83147   3MZBN1V37JM201277   Mazda       MAZDA               ONTARIO                   CA
83148   3MZBN1V37JM201828   Mazda       MAZDA               KAHULUI                   HI
83149   3MZBN1V37JM202414   Mazda       MAZDA               BURBANK                   CA
83150   3MZBN1V37JM202669   Mazda       MAZDA               KAUAI                     HI
83151   3MZBN1V37JM203112   Mazda       MAZDA               Pasadena                  CA
83152   3MZBN1V37JM203224   Mazda       MAZDA               KAHULUI                   HI
83153   3MZBN1V38JM197885   Mazda       MAZDA               WEST CENTRAL DEALE        CO
83154   3MZBN1V38JM198745   Mazda       MAZDA               BURBANK                   CA
83155   3MZBN1V38JM198812   Mazda       MAZDA               NORTH PAC                 CA
83156   3MZBN1V38JM199653   Mazda       MAZDA               Riverside                 CA
83157   3MZBN1V38JM199815   Mazda       MAZDA               NORTH PAC                 CA
83158   3MZBN1V38JM200087   Mazda       MAZDA               NORTH PAC                 CA
83159   3MZBN1V38JM200090   Mazda       MAZDA               LAS VEGAS                 NV
83160   3MZBN1V38JM200462   Mazda       MAZDA               BURBANK                   CA
83161   3MZBN1V38JM201434   Mazda       MAZDA               Tolleson                  AZ
83162   3MZBN1V38JM201496   Mazda       MAZDA               BURBANK                   CA
83163   3MZBN1V38JM201613   Mazda       MAZDA               BURBANK                   CA
83164   3MZBN1V38JM201918   Mazda       MAZDA               LIHUE                     HI
83165   3MZBN1V38JM202020   Mazda       MAZDA               Kent                      WA
83166   3MZBN1V38JM203040   Mazda       MAZDA               SAN FRANCISCO             CA
83167   3MZBN1V38JM203989   Mazda       MAZDA               SAN FRANCISCO             CA
83168   3MZBN1V38JM204558   Mazda       MAZDA               CHICAGO                   IL
83169   3MZBN1V39JM198947   Mazda       MAZDA               SAN JOSE                  CA
83170   3MZBN1V39JM198978   Mazda       MAZDA               SAN JOSE                  CA
83171   3MZBN1V39JM199130   Mazda       MAZDA               ROSEVILLE                 CA
83172   3MZBN1V39JM199791   Mazda       MAZDA               LAS VEGAS                 NV
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83173   3MZBN1V39JM199886   Mazda        MAZDA               MELROSE PARK              IL
83174   3MZBN1V39JM199970   Mazda        MAZDA               NORTH PAC                 CA
83175   3MZBN1V39JM200020   Mazda        MAZDA               NORTH PAC                 CA
83176   3MZBN1V39JM200292   Mazda        MAZDA               SAN JOSE                  CA
83177   3MZBN1V39JM201006   Mazda        MAZDA               ONTARIO                   CA
83178   3MZBN1V39JM201104   Mazda        MAZDA               BURBANK                   CA
83179   3MZBN1V39JM201894   Mazda        MAZDA               Pasadena                  CA
83180   3MZBN1V39JM202107   Mazda        MAZDA               KAHULUI                   HI
83181   3MZBN1V39JM202334   Mazda        MAZDA               HILO                      HI
83182   3MZBN1V39JM202401   Mazda        MAZDA               San Diego                 CA
83183   3MZBN1V39JM202608   Mazda        MAZDA               KAHULUI                   HI
83184   3MZBN1V39JM203953   Mazda        MAZDA               TUCSON                    AZ
83185   3MZBN1V3XJM198391   Mazda        MAZDA               BURBANK                   CA
83186   3MZBN1V3XJM198522   Mazda        MAZDA               Las Vegas                 NV
83187   3MZBN1V3XJM201032   Mazda        MAZDA               SANTA ANA                 CA
83188   3MZBN1V3XJM202360   Mazda        MAZDA               Smithtown                 NY
83189   3MZBN1V3XJM202861   Mazda        MAZDA               LOS ANGELES               CA
83190   3MZBN1V3XJM203072   Mazda        MAZDA               Kahului                   HI
83191   3MZBN1V3XJM203931   Mazda        MAZDA               Scottsdale                AZ
83192   3MZBN1V3XJM203962   Mazda        MAZDA               SAN JOSE                  CA
83193   3MZBN1V3XJM204335   Mazda        MAZDA               ROSEVILLE                 CA
83194   3MZBN1V71HM112687   Mazda        MAZDA               Hayward                   CA
83195   3MZBN1V71HM130543   Mazda        MAZDA               LOS ANGELES               CA
83196   3MZBN1V72HM127716   Mazda        MAZDA               SEATAC                    WA
83197   3MZBN1V75HM126706   Mazda        MAZDA               LAS VEGAS                 NV
83198   3MZBN1V78HM121130   Mazda        MAZDA               Sacramento                CA
83199   3MZBN1V79HM120035   Mazda        MAZDA               SAN JOSE                  CA
83200   3MZBN1V7XHM106354   Mazda        MAZDA               Matteson                  IL
83201   3N1AB7AP0FL663974   Nissan       SENTRA              CHARLOTTE                 NC
83202   3N1AB7AP0FY315238   Nissan       SENTRA              DES MOINES                IA
83203   3N1AB7AP0GY252420   Nissan       SENTRA              Caledonia                 WI
83204   3N1AB7AP0HL684696   Nissan       SENTRA              Elkridge                  MD
83205   3N1AB7AP0HL685489   Nissan       SENTRA              CHICAGO                   IL
83206   3N1AB7AP0HL692877   Nissan       SENTRA              San Diego                 CA
83207   3N1AB7AP0HL693530   Nissan       SENTRA              Morrisville               NC
83208   3N1AB7AP0HL694905   Nissan       SENTRA              LOS ANGELES               CA
83209   3N1AB7AP0HL694967   Nissan       SENTRA              GLEN BURNIE               MD
83210   3N1AB7AP0HL695889   Nissan       SENTRA              BURBANK                   CA
83211   3N1AB7AP0HL696248   Nissan       SENTRA              Euless                    TX
83212   3N1AB7AP0HL696427   Nissan       SENTRA              SAN JOSE                  CA
83213   3N1AB7AP0HL696489   Nissan       SENTRA              NORTH PAC                 CA
83214   3N1AB7AP0HL697237   Nissan       SENTRA              LOS ANGELES               CA
83215   3N1AB7AP0HL697688   Nissan       SENTRA              North Las Vegas           NV
83216   3N1AB7AP0HL698713   Nissan       SENTRA              COLLEGE PARK              GA
83217   3N1AB7AP0HL698887   Nissan       SENTRA              CHEEKTOWAGA               NY
83218   3N1AB7AP0HL698940   Nissan       SENTRA              Santa Clara               CA
83219   3N1AB7AP0HY211092   Nissan       SENTRA              Fresno                    CA
83220   3N1AB7AP0HY235473   Nissan       SENTRA              DFW AIRPORT               TX
83221   3N1AB7AP0HY246182   Nissan       SENTRA              HANOVER                   MD
83222   3N1AB7AP0HY266254   Nissan       SENTRA              Fredericksburg            VA
83223   3N1AB7AP0HY277402   Nissan       SENTRA              RICHMOND                  VA
83224   3N1AB7AP0HY289811   Nissan       SENTRA              STERLING                  VA
83225   3N1AB7AP0HY309376   Nissan       SENTRA              Mira Loma                 CA
83226   3N1AB7AP0HY310883   Nissan       SENTRA              North Dighton             MA
83227   3N1AB7AP0HY311354   Nissan       SENTRA              Marietta                  GA
83228   3N1AB7AP0HY312181   Nissan       SENTRA              STERLING                  VA
83229   3N1AB7AP0HY312567   Nissan       SENTRA              NORTH PAC                 CA
83230   3N1AB7AP0HY312715   Nissan       SENTRA              DAYTONA BEACH             FL
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83231   3N1AB7AP0HY312939   Nissan       SENTRA              LOS ANGELES               CA
83232   3N1AB7AP0HY316179   Nissan       SENTRA              SANTA ANA                 CA
83233   3N1AB7AP0HY321186   Nissan       SENTRA
83234   3N1AB7AP0HY321270   Nissan       SENTRA              BURBANK                   CA
83235   3N1AB7AP0HY322967   Nissan       SENTRA              ORLANDO                   FL
83236   3N1AB7AP0HY323049   Nissan       SENTRA
83237   3N1AB7AP0HY323360   Nissan       SENTRA              HANOVER                   MD
83238   3N1AB7AP0HY323665   Nissan       SENTRA              BOSTON                    MA
83239   3N1AB7AP0HY323908   Nissan       SENTRA              HANOVER                   MD
83240   3N1AB7AP0HY325092   Nissan       SENTRA              BOSTON                    MA
83241   3N1AB7AP0HY325349   Nissan       SENTRA              Los Angeles               CA
83242   3N1AB7AP0HY326694   Nissan       SENTRA              BURBANK                   CA
83243   3N1AB7AP0HY327330   Nissan       SENTRA              Miami                     FL
83244   3N1AB7AP0HY329014   Nissan       SENTRA              STERLING                  VA
83245   3N1AB7AP0HY329899   Nissan       SENTRA              Winston‐Salem             NC
83246   3N1AB7AP0HY331636   Nissan       SENTRA              PHILADELPHIA              PA
83247   3N1AB7AP0HY331894   Nissan       SENTRA              Davie                     FL
83248   3N1AB7AP0HY332642   Nissan       SENTRA              Miami                     FL
83249   3N1AB7AP0HY332849   Nissan       SENTRA              HANOVER                   MD
83250   3N1AB7AP0HY334780   Nissan       SENTRA              ARLINGTON                 VA
83251   3N1AB7AP0HY335816   Nissan       SENTRA              HANOVER                   MD
83252   3N1AB7AP0HY337596   Nissan       SENTRA              BURBANK                   CA
83253   3N1AB7AP0HY340675   Nissan       SENTRA              PICO RIVERA               CA
83254   3N1AB7AP0HY342488   Nissan       SENTRA              BURBANK                   CA
83255   3N1AB7AP0HY343477   Nissan       SENTRA              Kent                      WA
83256   3N1AB7AP0HY344578   Nissan       SENTRA              BURBANK                   CA
83257   3N1AB7AP0HY346248   Nissan       SENTRA              BURBANK                   CA
83258   3N1AB7AP0HY346556   Nissan       SENTRA              SANTA ANA                 CA
83259   3N1AB7AP0HY349151   Nissan       SENTRA              BURBANK                   CA
83260   3N1AB7AP0HY349568   Nissan       SENTRA              San Diego                 CA
83261   3N1AB7AP0HY349747   Nissan       SENTRA              BURBANK                   CA
83262   3N1AB7AP0HY349893   Nissan       SENTRA              DES MOINES                IA
83263   3N1AB7AP0HY350218   Nissan       SENTRA              Elkridge                  MD
83264   3N1AB7AP0HY350557   Nissan       SENTRA              DES MOINES                IA
83265   3N1AB7AP0HY350767   Nissan       SENTRA              Englewood                 CO
83266   3N1AB7AP0HY351000   Nissan       SENTRA              SAN ANTONIO               TX
83267   3N1AB7AP0HY351076   Nissan       SENTRA              SEATAC                    WA
83268   3N1AB7AP0HY351272   Nissan       SENTRA
83269   3N1AB7AP0HY351904   Nissan       SENTRA              RALEIGH                   NC
83270   3N1AB7AP0HY352096   Nissan       SENTRA              CHICAGO                   IL
83271   3N1AB7AP0HY352406   Nissan       SENTRA              KENNER                    LA
83272   3N1AB7AP0HY353121   Nissan       SENTRA              North Dighton             MA
83273   3N1AB7AP0HY353197   Nissan       SENTRA              Philadelphia              PA
83274   3N1AB7AP0HY353295   Nissan       SENTRA              STERLING                  VA
83275   3N1AB7AP0HY354771   Nissan       SENTRA              Santa Clara               CA
83276   3N1AB7AP0HY355371   Nissan       SENTRA              SEATAC                    WA
83277   3N1AB7AP0HY355726   Nissan       SENTRA              LOS ANGELES               CA
83278   3N1AB7AP0HY356116   Nissan       SENTRA              PHOENIX                   AZ
83279   3N1AB7AP0HY357699   Nissan       SENTRA              Las Vegas                 NV
83280   3N1AB7AP0HY358951   Nissan       SENTRA              CHICAGO                   IL
83281   3N1AB7AP0HY358979   Nissan       SENTRA              WEST CENTRAL DEALE        CO
83282   3N1AB7AP0HY361607   Nissan       SENTRA              SPRINGFIELD               VA
83283   3N1AB7AP0HY361848   Nissan       SENTRA              DALLAS                    TX
83284   3N1AB7AP0HY362255   Nissan       SENTRA              College Park              GA
83285   3N1AB7AP0HY385812   Nissan       SENTRA              SAN FRANCISCO             CA
83286   3N1AB7AP0JL636024   Nissan       SENTRA              LOS ANGELES               CA
83287   3N1AB7AP0JL640543   Nissan       SENTRA              CHICAGO                   IL
83288   3N1AB7AP0JY212555   Nissan       SENTRA              DALLAS                    TX
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83289   3N1AB7AP0JY224074   Nissan       SENTRA              NORTH PAC                 CA
83290   3N1AB7AP0JY224558   Nissan       SENTRA              FORT LAUDERDALE           FL
83291   3N1AB7AP0JY239304   Nissan       SENTRA              gardena                   ca
83292   3N1AB7AP0JY240503   Nissan       SENTRA              Statesville               NC
83293   3N1AB7AP0JY240761   Nissan       SENTRA              Estero                    FL
83294   3N1AB7AP0JY241019   Nissan       SENTRA              NORTH PAC                 CA
83295   3N1AB7AP0JY242932   Nissan       SENTRA              LOS ANGELES               CA
83296   3N1AB7AP0JY242980   Nissan       SENTRA              Elkridge                  MD
83297   3N1AB7AP0JY243255   Nissan       SENTRA              BURBANK                   CA
83298   3N1AB7AP0JY243272   Nissan       SENTRA              DANIA BEACH               FL
83299   3N1AB7AP0JY243403   Nissan       SENTRA              ORLANDO                   FL
83300   3N1AB7AP0JY243465   Nissan       SENTRA              SANTA CLARA               CA
83301   3N1AB7AP0JY243563   Nissan       SENTRA              CHARLOTTE                 US
83302   3N1AB7AP0JY243613   Nissan       SENTRA              Honolulu                  HI
83303   3N1AB7AP0JY243627   Nissan       SENTRA              Burien                    WA
83304   3N1AB7AP0JY243630   Nissan       SENTRA              Nashville                 TN
83305   3N1AB7AP0JY243742   Nissan       SENTRA              BURBANK                   CA
83306   3N1AB7AP0JY243840   Nissan       SENTRA              MEDINA                    OH
83307   3N1AB7AP0JY243885   Nissan       SENTRA              KAHULUI                   HI
83308   3N1AB7AP0JY243949   Nissan       SENTRA              KAHULUI                   HI
83309   3N1AB7AP0JY243952   Nissan       SENTRA              DAYTONA BEACH             FL
83310   3N1AB7AP0JY244048   Nissan       SENTRA              Estero                    FL
83311   3N1AB7AP0JY244051   Nissan       SENTRA              BOSTON                    MA
83312   3N1AB7AP0JY244132   Nissan       SENTRA              New Britain               CT
83313   3N1AB7AP0JY244325   Nissan       SENTRA              BURBANK                   CA
83314   3N1AB7AP0JY244342   Nissan       SENTRA              Baltimore                 MD
83315   3N1AB7AP0JY244597   Nissan       SENTRA              SANTA ANA                 CA
83316   3N1AB7AP0JY244647   Nissan       SENTRA              SAN DIEGO                 CA
83317   3N1AB7AP0JY244700   Nissan       SENTRA              SAN JOSE                  CA
83318   3N1AB7AP0JY244745   Nissan       SENTRA              CHARLOTTE                 NC
83319   3N1AB7AP0JY244874   Nissan       SENTRA              BURBANK                   CA
83320   3N1AB7AP0JY244888   Nissan       SENTRA              SAN JOSE                  CA
83321   3N1AB7AP0JY244891   Nissan       SENTRA              Atlanta                   GA
83322   3N1AB7AP0JY244907   Nissan       SENTRA              Miami                     FL
83323   3N1AB7AP0JY244938   Nissan       SENTRA              SAN JOSE                  CA
83324   3N1AB7AP0JY245202   Nissan       SENTRA              DANIA BEACH               FL
83325   3N1AB7AP0JY245359   Nissan       SENTRA              HANOVER                   MD
83326   3N1AB7AP0JY245409   Nissan       SENTRA              ROSEVILLE                 CA
83327   3N1AB7AP0JY245474   Nissan       SENTRA              Kahului                   HI
83328   3N1AB7AP0JY245507   Nissan       SENTRA              Roseville                 CA
83329   3N1AB7AP0JY245555   Nissan       SENTRA              CHICAGO                   IL
83330   3N1AB7AP0JY245569   Nissan       SENTRA              LOS ANGELES               CA
83331   3N1AB7AP0JY245572   Nissan       SENTRA              BURBANK                   CA
83332   3N1AB7AP0JY245622   Nissan       SENTRA              Tolleson                  AZ
83333   3N1AB7AP0JY245667   Nissan       SENTRA              Davie                     FL
83334   3N1AB7AP0JY245748   Nissan       SENTRA              Tampa                     FL
83335   3N1AB7AP0JY245913   Nissan       SENTRA              LOS ANGELES               CA
83336   3N1AB7AP0JY246186   Nissan       SENTRA              Honolulu                  HI
83337   3N1AB7AP0JY246205   Nissan       SENTRA              NORTH PAC                 CA
83338   3N1AB7AP0JY246656   Nissan       SENTRA              WEST PALM BEACH           FL
83339   3N1AB7AP0JY247323   Nissan       SENTRA              Lihue                     HI
83340   3N1AB7AP0JY247967   Nissan       SENTRA              LOS ANGELES               CA
83341   3N1AB7AP0JY248004   Nissan       SENTRA              BURBANK                   CA
83342   3N1AB7AP0JY248195   Nissan       SENTRA              NORTH PAC                 CA
83343   3N1AB7AP0JY248858   Nissan       SENTRA              DES MOINES                IA
83344   3N1AB7AP0JY251940   Nissan       SENTRA              KAHULUI                   HI
83345   3N1AB7AP0JY252084   Nissan       SENTRA              North Las Vegas           NV
83346   3N1AB7AP0JY252263   Nissan       SENTRA              North Las Vegas           NV
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83347   3N1AB7AP0JY252506   Nissan       SENTRA              Cleveland                 OH
83348   3N1AB7AP0JY253154   Nissan       SENTRA              KNOXVILLE                 TN
83349   3N1AB7AP0JY253171   Nissan       SENTRA              Denver                    CO
83350   3N1AB7AP0JY253221   Nissan       SENTRA              DAYTONA BEACH             FL
83351   3N1AB7AP0JY253509   Nissan       SENTRA              KNOXVILLE                 TN
83352   3N1AB7AP0JY253882   Nissan       SENTRA              MEDINA                    OH
83353   3N1AB7AP0JY253901   Nissan       SENTRA              FT LAUDERDALE             FL
83354   3N1AB7AP0JY253915   Nissan       SENTRA              MATTHEWS                  NC
83355   3N1AB7AP0JY254109   Nissan       SENTRA              BURBANK                   CA
83356   3N1AB7AP0JY254255   Nissan       SENTRA              WEST PALM BEACH           FL
83357   3N1AB7AP0JY254286   Nissan       SENTRA              N. Palm Beach             FL
83358   3N1AB7AP0JY254319   Nissan       SENTRA              NEW ENGLAND DEALER        MA
83359   3N1AB7AP0JY254367   Nissan       SENTRA              WEST CENTRAL DEALE        CO
83360   3N1AB7AP0JY254451   Nissan       SENTRA              ORLANDO                   FL
83361   3N1AB7AP0JY254482   Nissan       SENTRA              NORTH PAC                 CA
83362   3N1AB7AP0JY254658   Nissan       SENTRA              SAN DIEGO                 CA
83363   3N1AB7AP0JY255003   Nissan       SENTRA              Norwalk                   CA
83364   3N1AB7AP0JY255017   Nissan       SENTRA              SANTA ANA                 CA
83365   3N1AB7AP0JY255096   Nissan       SENTRA              LAS VEGAS                 NV
83366   3N1AB7AP0JY255132   Nissan       SENTRA              BURBANK                   CA
83367   3N1AB7AP0JY255146   Nissan       SENTRA              Davie                     FL
83368   3N1AB7AP0JY255244   Nissan       SENTRA              NORTH PAC                 CA
83369   3N1AB7AP0JY255308   Nissan       SENTRA              North Las Vegas           NV
83370   3N1AB7AP0JY255437   Nissan       SENTRA              Los Angeles               CA
83371   3N1AB7AP0JY255471   Nissan       SENTRA              BURBANK                   CA
83372   3N1AB7AP0JY255714   Nissan       SENTRA              BURBANK                   CA
83373   3N1AB7AP0JY255745   Nissan       SENTRA              BURBANK                   CA
83374   3N1AB7AP0JY255776   Nissan       SENTRA              Detroit                   MI
83375   3N1AB7AP0JY255809   Nissan       SENTRA              FULLERTON                 CA
83376   3N1AB7AP0JY257902   Nissan       SENTRA              NORTH PAC                 CA
83377   3N1AB7AP0JY258483   Nissan       SENTRA              NORTH PAC                 CA
83378   3N1AB7AP0JY259312   Nissan       SENTRA              BURBANK                   CA
83379   3N1AB7AP0JY259505   Nissan       SENTRA              NORTH PAC                 CA
83380   3N1AB7AP0JY262887   Nissan       SENTRA              BURBANK                   CA
83381   3N1AB7AP0JY266079   Nissan       SENTRA              DAYTONA BEACH             FL
83382   3N1AB7AP0JY266163   Nissan       SENTRA              Denver                    CO
83383   3N1AB7AP0JY266292   Nissan       SENTRA              KAHULUI                   HI
83384   3N1AB7AP0JY266552   Nissan       SENTRA              STERLING                  VA
83385   3N1AB7AP0JY267037   Nissan       SENTRA              SANTA ANA                 CA
83386   3N1AB7AP0JY267202   Nissan       SENTRA              Davie                     FL
83387   3N1AB7AP0JY267250   Nissan       SENTRA              SEATTLE                   WA
83388   3N1AB7AP0JY267264   Nissan       SENTRA              BURBANK                   CA
83389   3N1AB7AP0JY267328   Nissan       SENTRA              PHOENIX                   AZ
83390   3N1AB7AP0JY267376   Nissan       SENTRA              Manheim                   PA
83391   3N1AB7AP0JY267863   Nissan       SENTRA              BURBANK                   CA
83392   3N1AB7AP0JY271220   Nissan       SENTRA              N. Palm Beach             FL
83393   3N1AB7AP0JY271282   Nissan       SENTRA              Las Vegas                 NV
83394   3N1AB7AP0JY271900   Nissan       SENTRA              SAN FRANCISCO             CA
83395   3N1AB7AP0JY272500   Nissan       SENTRA              SHAKOPEE                  MN
83396   3N1AB7AP0JY272576   Nissan       SENTRA              CHEEKTOWAGA               NY
83397   3N1AB7AP0JY272917   Nissan       SENTRA              Wichita                   KS
83398   3N1AB7AP0JY273257   Nissan       SENTRA              PHILADELPHIA              PA
83399   3N1AB7AP0JY273288   Nissan       SENTRA              Elkridge                  MD
83400   3N1AB7AP0JY273730   Nissan       SENTRA              MIAMI                     FL
83401   3N1AB7AP0JY273775   Nissan       SENTRA              CHICAGO                   IL
83402   3N1AB7AP0JY274201   Nissan       SENTRA              Dallas                    TX
83403   3N1AB7AP0JY274599   Nissan       SENTRA              PHOENIX                   AZ
83404   3N1AB7AP0JY274747   Nissan       SENTRA              MORROW                    GA
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83405   3N1AB7AP0JY274828   Nissan       SENTRA              Atlanta                   GA
83406   3N1AB7AP0JY275008   Nissan       SENTRA              CHICAGO                   IL
83407   3N1AB7AP0JY275185   Nissan       SENTRA              CHARLESTON                WV
83408   3N1AB7AP0JY275221   Nissan       SENTRA              Denver                    CO
83409   3N1AB7AP0JY275445   Nissan       SENTRA              SAN DIEGO                 CA
83410   3N1AB7AP0JY276093   Nissan       SENTRA              Elkridge                  MD
83411   3N1AB7AP0JY276191   Nissan       SENTRA              SPRINGFIELD               VA
83412   3N1AB7AP0JY276322   Nissan       SENTRA              BURBANK                   CA
83413   3N1AB7AP0JY276577   Nissan       SENTRA              BURBANK                   CA
83414   3N1AB7AP0JY276580   Nissan       SENTRA              Lynn                      MA
83415   3N1AB7AP0JY276790   Nissan       SENTRA              Hamilton                  OH
83416   3N1AB7AP0JY276823   Nissan       SENTRA              Costa Mesa                CA
83417   3N1AB7AP0JY276935   Nissan       SENTRA              SAN JOSE                  CA
83418   3N1AB7AP0JY276966   Nissan       SENTRA              Stockton                  CA
83419   3N1AB7AP0JY277129   Nissan       SENTRA              Charlotte                 NC
83420   3N1AB7AP0JY277194   Nissan       SENTRA              SEATAC                    WA
83421   3N1AB7AP0JY277339   Nissan       SENTRA              Webster                   NY
83422   3N1AB7AP0JY277468   Nissan       SENTRA              Portland                  OR
83423   3N1AB7AP0JY277535   Nissan       SENTRA              RALEIGH                   NC
83424   3N1AB7AP0JY277602   Nissan       SENTRA              ATLANTA AP                GA
83425   3N1AB7AP0JY277910   Nissan       SENTRA              FLORIDA DEALER DIR        FL
83426   3N1AB7AP0JY277938   Nissan       SENTRA              Hamilton                  OH
83427   3N1AB7AP0JY278166   Nissan       SENTRA              TAMPA                     FL
83428   3N1AB7AP0JY278443   Nissan       SENTRA              Sandston                  VA
83429   3N1AB7AP0JY278779   Nissan       SENTRA              CHICAGO                   IL
83430   3N1AB7AP0JY279060   Nissan       SENTRA              Sacramento                CA
83431   3N1AB7AP0JY279270   Nissan       SENTRA              RALEIGH                   NC
83432   3N1AB7AP0JY279303   Nissan       SENTRA              HOUSTON                   TX
83433   3N1AB7AP0JY279365   Nissan       SENTRA              PHOENIX                   AZ
83434   3N1AB7AP0JY279592   Nissan       SENTRA              Manheim                   PA
83435   3N1AB7AP0JY280001   Nissan       SENTRA              SANTA ANA                 CA
83436   3N1AB7AP0JY280953   Nissan       SENTRA              PHILADELPHIA              PA
83437   3N1AB7AP0JY281164   Nissan       SENTRA              North Las Vegas           NV
83438   3N1AB7AP0JY281388   Nissan       SENTRA              Stockton                  CA
83439   3N1AB7AP0JY281438   Nissan       SENTRA              Jacksonville              FL
83440   3N1AB7AP0JY281505   Nissan       SENTRA              Denver                    CO
83441   3N1AB7AP0JY281567   Nissan       SENTRA              Elkridge                  MD
83442   3N1AB7AP0JY281584   Nissan       SENTRA              PHOENIX                   AZ
83443   3N1AB7AP0JY281598   Nissan       SENTRA              Davie                     FL
83444   3N1AB7AP0JY281682   Nissan       SENTRA              SHAKOPEE                  MN
83445   3N1AB7AP0JY281777   Nissan       SENTRA              Fredericksburg            VA
83446   3N1AB7AP0JY281780   Nissan       SENTRA              BURBANK                   CA
83447   3N1AB7AP0JY282122   Nissan       SENTRA              BURBANK                   CA
83448   3N1AB7AP0JY282475   Nissan       SENTRA              Austin                    TX
83449   3N1AB7AP0JY282783   Nissan       SENTRA              Elgin                     IL
83450   3N1AB7AP0JY283707   Nissan       SENTRA              STERLING                  VA
83451   3N1AB7AP0JY284632   Nissan       SENTRA              PHOENIX                   AZ
83452   3N1AB7AP0JY284985   Nissan       SENTRA              BURBANK                   CA
83453   3N1AB7AP0JY286316   Nissan       SENTRA              Davie                     FL
83454   3N1AB7AP0JY286431   Nissan       SENTRA              NORTH PAC                 CA
83455   3N1AB7AP0JY286655   Nissan       SENTRA              INDIANAPOLIS              IN
83456   3N1AB7AP0JY286722   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
83457   3N1AB7AP0JY286929   Nissan       SENTRA              KANSAS CITY               MO
83458   3N1AB7AP0JY286932   Nissan       SENTRA              NORTH PAC                 CA
83459   3N1AB7AP0JY286946   Nissan       SENTRA              Allentown                 PA
83460   3N1AB7AP0JY286980   Nissan       SENTRA              Baltimore                 MD
83461   3N1AB7AP0JY287837   Nissan       SENTRA              ENGLEWOOD                 CO
83462   3N1AB7AP0JY287949   Nissan       SENTRA              MEDINA                    OH
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83463   3N1AB7AP0JY287952   Nissan       SENTRA              CHICAGO                   IL
83464   3N1AB7AP0JY288051   Nissan       SENTRA              WEST PALM BEACH           FL
83465   3N1AB7AP0JY288096   Nissan       SENTRA              Fredericksburg            VA
83466   3N1AB7AP0JY288308   Nissan       SENTRA              RENO                      NV
83467   3N1AB7AP0JY288311   Nissan       SENTRA              Davie                     FL
83468   3N1AB7AP0JY288440   Nissan       SENTRA              Chicago                   IL
83469   3N1AB7AP0JY288471   Nissan       SENTRA              TAMPA                     US
83470   3N1AB7AP0JY288549   Nissan       SENTRA              BURBANK                   CA
83471   3N1AB7AP0JY288552   Nissan       SENTRA              Clearwater                FL
83472   3N1AB7AP0JY288566   Nissan       SENTRA              KNOXVILLE                 TN
83473   3N1AB7AP0JY288812   Nissan       SENTRA              Tampa                     FL
83474   3N1AB7AP0JY288986   Nissan       SENTRA              Coraopolis                PA
83475   3N1AB7AP0JY289037   Nissan       SENTRA              Carleton                  MI
83476   3N1AB7AP0JY289118   Nissan       SENTRA              ORLANDO                   FL
83477   3N1AB7AP0JY289152   Nissan       SENTRA              Tampa                     FL
83478   3N1AB7AP0JY289443   Nissan       SENTRA              Atlanta                   GA
83479   3N1AB7AP0JY289491   Nissan       SENTRA              TAMPA                     FL
83480   3N1AB7AP0JY289569   Nissan       SENTRA              CHANDLER                  AZ
83481   3N1AB7AP0JY289782   Nissan       SENTRA              DES MOINES                IA
83482   3N1AB7AP0JY289796   Nissan       SENTRA              CLEVELAND                 OH
83483   3N1AB7AP0JY289801   Nissan       SENTRA              PHILADELPHIA              PA
83484   3N1AB7AP0JY290267   Nissan       SENTRA              Fontana                   CA
83485   3N1AB7AP0JY290396   Nissan       SENTRA              Phoenix                   AZ
83486   3N1AB7AP0JY290446   Nissan       SENTRA              Greensboro                NC
83487   3N1AB7AP0JY290494   Nissan       SENTRA              PHILADELPHIA              PA
83488   3N1AB7AP0JY290575   Nissan       SENTRA              SHAKOPEE                  MN
83489   3N1AB7AP0JY290589   Nissan       SENTRA              Los Angeles               CA
83490   3N1AB7AP0JY290592   Nissan       SENTRA              Salt Lake City            UT
83491   3N1AB7AP0JY290642   Nissan       SENTRA              Orlando                   FL
83492   3N1AB7AP0JY290737   Nissan       SENTRA              BURLINGAME                CA
83493   3N1AB7AP0JY291063   Nissan       SENTRA              ORLANDO                   FL
83494   3N1AB7AP0JY291631   Nissan       SENTRA              SANTA BARBARA             CA
83495   3N1AB7AP0JY291869   Nissan       SENTRA              Philadelphia              PA
83496   3N1AB7AP0JY291886   Nissan       SENTRA              Bridgeton                 MO
83497   3N1AB7AP0JY291919   Nissan       SENTRA              Chicago                   IL
83498   3N1AB7AP0JY291922   Nissan       SENTRA              BURBANK                   CA
83499   3N1AB7AP0JY291953   Nissan       SENTRA              BURBANK                   CA
83500   3N1AB7AP0JY292195   Nissan       SENTRA              NORTH PAC                 CA
83501   3N1AB7AP0JY292245   Nissan       SENTRA              BURBANK                   CA
83502   3N1AB7AP0JY292259   Nissan       SENTRA              WEST PALM BEACH           FL
83503   3N1AB7AP0JY292388   Nissan       SENTRA              CHARLOTTE                 NC
83504   3N1AB7AP0JY292391   Nissan       SENTRA              WEST CENTRAL DEALE        CO
83505   3N1AB7AP0JY292424   Nissan       SENTRA              Davie                     FL
83506   3N1AB7AP0JY292486   Nissan       SENTRA              Mira Loma                 CA
83507   3N1AB7AP0JY292634   Nissan       SENTRA              BURBANK                   CA
83508   3N1AB7AP0JY292715   Nissan       SENTRA              BURBANK                   CA
83509   3N1AB7AP0JY293038   Nissan       SENTRA              NORTH PAC                 CA
83510   3N1AB7AP0JY293105   Nissan       SENTRA              BURBANK                   CA
83511   3N1AB7AP0JY293217   Nissan       SENTRA              INDIANAPOLIS              IN
83512   3N1AB7AP0JY293248   Nissan       SENTRA              NEW ENGLAND DEALER        MA
83513   3N1AB7AP0JY293301   Nissan       SENTRA              BURBANK                   CA
83514   3N1AB7AP0JY293492   Nissan       SENTRA              BURBANK                   CA
83515   3N1AB7AP0JY293623   Nissan       SENTRA              SAN DIEGO                 US
83516   3N1AB7AP0JY293735   Nissan       SENTRA              SAN JOSE                  CA
83517   3N1AB7AP0JY293797   Nissan       SENTRA              BURBANK                   CA
83518   3N1AB7AP0JY293864   Nissan       SENTRA              EAST BOSTON               MA
83519   3N1AB7AP0JY293900   Nissan       SENTRA              ONTARIO                   CA
83520   3N1AB7AP0JY294092   Nissan       SENTRA              COLUMBUS                  OH
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83521   3N1AB7AP0JY294111   Nissan       SENTRA              Cleveland                 OH
83522   3N1AB7AP0JY294173   Nissan       SENTRA              BURBANK                   CA
83523   3N1AB7AP0JY295078   Nissan       SENTRA              Hanover                   MD
83524   3N1AB7AP0JY295131   Nissan       SENTRA              PHOENIX                   AZ
83525   3N1AB7AP0JY296375   Nissan       SENTRA              CHICAGO                   IL
83526   3N1AB7AP0JY297056   Nissan       SENTRA              Elkridge                  MD
83527   3N1AB7AP0JY297123   Nissan       SENTRA              TAMPA                     FL
83528   3N1AB7AP0JY297249   Nissan       SENTRA              DALLAS                    TX
83529   3N1AB7AP0JY297252   Nissan       SENTRA              FORT LAUDERDALE           FL
83530   3N1AB7AP0JY297509   Nissan       SENTRA              AUGUSTA                   GA
83531   3N1AB7AP0JY298885   Nissan       SENTRA              Coraopolis                PA
83532   3N1AB7AP0JY299177   Nissan       SENTRA              FORT LAUDERDALE           FL
83533   3N1AB7AP0JY299292   Nissan       SENTRA              DENVER                    CO
83534   3N1AB7AP0JY299406   Nissan       SENTRA              PHOENIX                   AZ
83535   3N1AB7AP0JY299437   Nissan       SENTRA              PHILADELPHIA              PA
83536   3N1AB7AP0JY299504   Nissan       SENTRA              SAN DIEGO                 CA
83537   3N1AB7AP0JY299647   Nissan       SENTRA              RONKONKOMA                NY
83538   3N1AB7AP0JY299907   Nissan       SENTRA              SAN DIEGO                 CA
83539   3N1AB7AP0JY300022   Nissan       SENTRA              Mt. Juliet                TN
83540   3N1AB7AP0JY300067   Nissan       SENTRA              Indianapolis              IN
83541   3N1AB7AP0JY300070   Nissan       SENTRA              Matteson                  IL
83542   3N1AB7AP0JY300201   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
83543   3N1AB7AP0JY300344   Nissan       SENTRA              NORTH PAC                 CA
83544   3N1AB7AP0JY300456   Nissan       SENTRA              BOSTON                    MA
83545   3N1AB7AP0JY300506   Nissan       SENTRA              Albuquerque               NM
83546   3N1AB7AP0JY300537   Nissan       SENTRA              DYERSBURG                 TN
83547   3N1AB7AP0JY300618   Nissan       SENTRA              Irving                    TX
83548   3N1AB7AP0JY301199   Nissan       SENTRA              BURBANK                   CA
83549   3N1AB7AP0JY301249   Nissan       SENTRA              CENTRAL DIST OFFC         OK
83550   3N1AB7AP0JY301560   Nissan       SENTRA              Phoenix                   AZ
83551   3N1AB7AP0JY301588   Nissan       SENTRA              DETROIT                   MI
83552   3N1AB7AP0JY301705   Nissan       SENTRA              FORT LAUDERDALE           FL
83553   3N1AB7AP0JY301798   Nissan       SENTRA              LAS VEGAS                 NV
83554   3N1AB7AP0JY301915   Nissan       SENTRA              BOSTON                    MA
83555   3N1AB7AP0JY302403   Nissan       SENTRA              BIRMINGHAM                AL
83556   3N1AB7AP0JY302482   Nissan       SENTRA              BURBANK                   CA
83557   3N1AB7AP0JY302613   Nissan       SENTRA              South San Franc           CA
83558   3N1AB7AP0JY302725   Nissan       SENTRA              S. San Francisc           CA
83559   3N1AB7AP0JY304085   Nissan       SENTRA              SANTA ANA                 CA
83560   3N1AB7AP0JY306449   Nissan       SENTRA              Ventura                   CA
83561   3N1AB7AP0JY308959   Nissan       SENTRA              ORLANDO                   FL
83562   3N1AB7AP0JY309156   Nissan       SENTRA              CHICAGO                   IL
83563   3N1AB7AP0JY309495   Nissan       SENTRA              COSTA MESA                CA
83564   3N1AB7AP0JY309805   Nissan       SENTRA              North Dighton             MA
83565   3N1AB7AP0JY310405   Nissan       SENTRA              North Las Vegas           NV
83566   3N1AB7AP0JY310520   Nissan       SENTRA              MATTHEWS                  NC
83567   3N1AB7AP0JY310629   Nissan       SENTRA              TAMPA                     FL
83568   3N1AB7AP0JY310761   Nissan       SENTRA              Austell                   GA
83569   3N1AB7AP0JY310887   Nissan       SENTRA              BURBANK                   CA
83570   3N1AB7AP0JY310937   Nissan       SENTRA              SALT LAKE CITY            UT
83571   3N1AB7AP0JY311263   Nissan       SENTRA              KNOXVILLE                 TN
83572   3N1AB7AP0JY311389   Nissan       SENTRA              Hartford                  CT
83573   3N1AB7AP0JY311523   Nissan       SENTRA              KANSAS CITY               MO
83574   3N1AB7AP0JY311974   Nissan       SENTRA              SARASOTA                  FL
83575   3N1AB7AP0JY311988   Nissan       SENTRA              Tolleson                  AZ
83576   3N1AB7AP0JY312039   Nissan       SENTRA              Ventura                   CA
83577   3N1AB7AP0JY313000   Nissan       SENTRA              PHOENIX                   AZ
83578   3N1AB7AP0JY313322   Nissan       SENTRA              MORROW                    GA
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83579   3N1AB7AP0JY313644   Nissan       SENTRA              Costa Mesa                CA
83580   3N1AB7AP0JY313661   Nissan       SENTRA              FULLERTON                 CA
83581   3N1AB7AP0JY313675   Nissan       SENTRA              NORTH PAC                 CA
83582   3N1AB7AP0JY314602   Nissan       SENTRA              SAN JOSE                  CA
83583   3N1AB7AP0JY315006   Nissan       SENTRA              North Dighton             MA
83584   3N1AB7AP0JY315040   Nissan       SENTRA              NORTH PAC                 CA
83585   3N1AB7AP0JY315555   Nissan       SENTRA              Portland                  OR
83586   3N1AB7AP0JY318309   Nissan       SENTRA              SAVANNAH                  GA
83587   3N1AB7AP0JY320870   Nissan       SENTRA              CHICAGO                   IL
83588   3N1AB7AP0JY323929   Nissan       SENTRA              FORT MYERS                FL
83589   3N1AB7AP0JY324448   Nissan       SENTRA              KALAOA                    HI
83590   3N1AB7AP0JY324580   Nissan       SENTRA              SEATAC                    WA
83591   3N1AB7AP0JY324644   Nissan       SENTRA              BURBANK                   CA
83592   3N1AB7AP0JY324675   Nissan       SENTRA              SAINT LOUIS               MO
83593   3N1AB7AP0JY324868   Nissan       SENTRA              NORFOLK                   VA
83594   3N1AB7AP0JY325003   Nissan       SENTRA              Mira Loma                 CA
83595   3N1AB7AP0JY325227   Nissan       SENTRA              BUFFALO                   NY
83596   3N1AB7AP0JY325339   Nissan       SENTRA              ST Paul                   MN
83597   3N1AB7AP0JY325342   Nissan       SENTRA              WEST PALM BEACH           FL
83598   3N1AB7AP0JY325437   Nissan       SENTRA              STERLING                  VA
83599   3N1AB7AP0JY325468   Nissan       SENTRA              Tolleson                  AZ
83600   3N1AB7AP0JY325566   Nissan       SENTRA              Elkridge                  MD
83601   3N1AB7AP0JY325583   Nissan       SENTRA              North Billerica           MA
83602   3N1AB7AP0JY325616   Nissan       SENTRA              Florissant                MO
83603   3N1AB7AP0JY325714   Nissan       SENTRA              Englewood                 CO
83604   3N1AB7AP0JY325776   Nissan       SENTRA              KANSAS CITY               MO
83605   3N1AB7AP0JY326538   Nissan       SENTRA              Hamilton                  OH
83606   3N1AB7AP0JY326572   Nissan       SENTRA              FLORIDA DEALER DIR        FL
83607   3N1AB7AP0JY326605   Nissan       SENTRA              Elkridge                  MD
83608   3N1AB7AP0JY326765   Nissan       SENTRA              BURLINGTON                VT
83609   3N1AB7AP0JY327107   Nissan       SENTRA              Matteson                  IL
83610   3N1AB7AP0JY327267   Nissan       SENTRA              SAN JOSE                  CA
83611   3N1AB7AP0JY327320   Nissan       SENTRA              CHICAGO                   IL
83612   3N1AB7AP0JY327737   Nissan       SENTRA              DENVER                    CO
83613   3N1AB7AP0JY327916   Nissan       SENTRA              Maple Grove               MN
83614   3N1AB7AP0JY328046   Nissan       SENTRA              Fontana                   CA
83615   3N1AB7AP0JY328094   Nissan       SENTRA              WEST CENTRAL DEALE        CO
83616   3N1AB7AP0JY328158   Nissan       SENTRA              HILO                      HI
83617   3N1AB7AP0JY328211   Nissan       SENTRA              PHOENIX                   AZ
83618   3N1AB7AP0JY328371   Nissan       SENTRA              EULESS                    TX
83619   3N1AB7AP0JY328466   Nissan       SENTRA              DETROIT                   MI
83620   3N1AB7AP0JY328709   Nissan       SENTRA              BURBANK                   CA
83621   3N1AB7AP0JY328841   Nissan       SENTRA              Atlanta                   GA
83622   3N1AB7AP0JY328970   Nissan       SENTRA              KENNESAW                  GA
83623   3N1AB7AP0JY329178   Nissan       SENTRA              BURBANK                   CA
83624   3N1AB7AP0JY329276   Nissan       SENTRA              Burien                    WA
83625   3N1AB7AP0JY329388   Nissan       SENTRA              LAS VEGAS                 NV
83626   3N1AB7AP0JY329522   Nissan       SENTRA              Slidell                   LA
83627   3N1AB7AP0JY329603   Nissan       SENTRA              Lake Elsinore             CA
83628   3N1AB7AP0JY329679   Nissan       SENTRA              Santa Clara               CA
83629   3N1AB7AP0JY329732   Nissan       SENTRA              Greensboro                NC
83630   3N1AB7AP0JY329908   Nissan       SENTRA              Mira Loma                 CA
83631   3N1AB7AP0JY330038   Nissan       SENTRA              MEDINA                    OH
83632   3N1AB7AP0JY330170   Nissan       SENTRA              COLUMBIA                  SC
83633   3N1AB7AP0JY330475   Nissan       SENTRA              LOS ANGELES               CA
83634   3N1AB7AP0JY330640   Nissan       SENTRA              Smithtown                 NY
83635   3N1AB7AP0JY330802   Nissan       SENTRA              LA HABRA                  CA
83636   3N1AB7AP0JY330864   Nissan       SENTRA              ROY                       UT
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83637   3N1AB7AP0JY331058   Nissan       SENTRA              NORTH PAC                 CA
83638   3N1AB7AP0JY331979   Nissan       SENTRA              HOUSTON                   TX
83639   3N1AB7AP0JY332193   Nissan       SENTRA              Phoenix                   AZ
83640   3N1AB7AP0JY332310   Nissan       SENTRA              Atlanta                   GA
83641   3N1AB7AP0JY332372   Nissan       SENTRA              BRONX                     NY
83642   3N1AB7AP0JY332386   Nissan       SENTRA              CHICAGO                   IL
83643   3N1AB7AP0JY332498   Nissan       SENTRA              LOS ANGELES               CA
83644   3N1AB7AP0JY332503   Nissan       SENTRA              Hebron                    KY
83645   3N1AB7AP0JY332601   Nissan       SENTRA              BURBANK                   CA
83646   3N1AB7AP0JY332615   Nissan       SENTRA              PHOENIX                   AZ
83647   3N1AB7AP0KY239966   Nissan       SENTRA              FORT MYERS                FL
83648   3N1AB7AP0KY240633   Nissan       SENTRA              EAST BOSTON               MA
83649   3N1AB7AP0KY240941   Nissan       SENTRA              Slidell                   LA
83650   3N1AB7AP0KY241135   Nissan       SENTRA              WEST PALM BEACH           FL
83651   3N1AB7AP0KY241345   Nissan       SENTRA              FRESNO                    CA
83652   3N1AB7AP0KY241989   Nissan       SENTRA              WEST PALM BEACH           FL
83653   3N1AB7AP0KY242267   Nissan       SENTRA              KNOXVILLE                 TN
83654   3N1AB7AP0KY242320   Nissan       SENTRA              KNOXVILLE                 TN
83655   3N1AB7AP0KY242446   Nissan       SENTRA              ORLANDO                   FL
83656   3N1AB7AP0KY242656   Nissan       SENTRA              PHOENIX                   AZ
83657   3N1AB7AP0KY244133   Nissan       SENTRA              Hayward                   CA
83658   3N1AB7AP0KY244455   Nissan       SENTRA              SANTA ANA                 CA
83659   3N1AB7AP0KY244665   Nissan       SENTRA              LOS ANGELES               CA
83660   3N1AB7AP0KY246870   Nissan       SENTRA              EWA BEACH                 HI
83661   3N1AB7AP0KY248893   Nissan       SENTRA              FRESNO                    CA
83662   3N1AB7AP0KY249025   Nissan       SENTRA              WAIMEA                    HI
83663   3N1AB7AP0KY269078   Nissan       SENTRA              HILO                      HI
83664   3N1AB7AP0KY269288   Nissan       SENTRA              HILO                      HI
83665   3N1AB7AP0KY269646   Nissan       SENTRA              KAILUA‐KONA               HI
83666   3N1AB7AP0KY269761   Nissan       SENTRA              KALAOA                    HI
83667   3N1AB7AP0KY269775   Nissan       SENTRA              KAILUA KONA               HI
83668   3N1AB7AP0KY269999   Nissan       SENTRA              Kailua‐Kona               HI
83669   3N1AB7AP0KY290030   Nissan       SENTRA              Salt Lake City            UT
83670   3N1AB7AP0KY295437   Nissan       SENTRA              SAINT LOUIS               MO
83671   3N1AB7AP0KY295759   Nissan       SENTRA              COLUMBIA                  SC
83672   3N1AB7AP0KY295860   Nissan       SENTRA              HOUSTON                   TX
83673   3N1AB7AP0KY298435   Nissan       SENTRA              SAINT LOUIS               MO
83674   3N1AB7AP0KY299455   Nissan       SENTRA              SAINT PAUL                MN
83675   3N1AB7AP0KY299665   Nissan       SENTRA              FRESNO                    CA
83676   3N1AB7AP0KY300006   Nissan       SENTRA              Salt Lake City            UT
83677   3N1AB7AP0KY300555   Nissan       SENTRA              Atlanta                   GA
83678   3N1AB7AP0KY300619   Nissan       SENTRA              SAN ANTONIO               TX
83679   3N1AB7AP0KY300975   Nissan       SENTRA              ROSEVILLE                 CA
83680   3N1AB7AP0KY301267   Nissan       SENTRA              San Diego                 CA
83681   3N1AB7AP0KY301303   Nissan       SENTRA              WEST PALM BEACH           FL
83682   3N1AB7AP0KY302435   Nissan       SENTRA              BENTONVILLE               AR
83683   3N1AB7AP0KY303455   Nissan       SENTRA              North Dighton             MA
83684   3N1AB7AP0KY303486   Nissan       SENTRA              ORLANDO                   FL
83685   3N1AB7AP0KY303603   Nissan       SENTRA              ORLANDO                   FL
83686   3N1AB7AP0KY303990   Nissan       SENTRA              San Diego                 CA
83687   3N1AB7AP0KY304198   Nissan       SENTRA              ORLANDO                   FL
83688   3N1AB7AP0KY304430   Nissan       SENTRA              KANSAS CITY               MO
83689   3N1AB7AP0KY304976   Nissan       SENTRA              ORLANDO                   FL
83690   3N1AB7AP0KY304993   Nissan       SENTRA              ORLANDO                   FL
83691   3N1AB7AP0KY305190   Nissan       SENTRA              SALT LAKE CITY            UT
83692   3N1AB7AP0KY306369   Nissan       SENTRA              KENNER                    LA
83693   3N1AB7AP0KY307313   Nissan       SENTRA              Rochester                 NY
83694   3N1AB7AP0KY307893   Nissan       SENTRA              CHICAGO                   IL
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83695   3N1AB7AP0KY308333   Nissan       SENTRA              LOUISVILLE                KY
83696   3N1AB7AP0KY311233   Nissan       SENTRA              SEATAC                    WA
83697   3N1AB7AP0KY311832   Nissan       SENTRA              PHILADELPHIA              PA
83698   3N1AB7AP0KY312351   Nissan       SENTRA              PHOENIX                   AZ
83699   3N1AB7AP0KY312365   Nissan       SENTRA              NORTH PAC                 CA
83700   3N1AB7AP0KY313225   Nissan       SENTRA              UNION CITY                GA
83701   3N1AB7AP0KY313788   Nissan       SENTRA              Portland                  OR
83702   3N1AB7AP0KY314018   Nissan       SENTRA              Charlotte                 NC
83703   3N1AB7AP0KY314360   Nissan       SENTRA              Baltimore                 MD
83704   3N1AB7AP0KY315394   Nissan       SENTRA              ORLANDO                   FL
83705   3N1AB7AP0KY315668   Nissan       SENTRA              CHICAGO                   IL
83706   3N1AB7AP0KY316240   Nissan       SENTRA              STERLING                  VA
83707   3N1AB7AP0KY316352   Nissan       SENTRA              Atlanta                   GA
83708   3N1AB7AP0KY317811   Nissan       SENTRA              PHILADELPHIA              US
83709   3N1AB7AP0KY317954   Nissan       SENTRA              LOS ANGELES               CA
83710   3N1AB7AP0KY318473   Nissan       SENTRA              Newark                    NJ
83711   3N1AB7AP0KY319848   Nissan       SENTRA              PORTLAND                  OR
83712   3N1AB7AP0KY323012   Nissan       SENTRA              TAMPA                     FL
83713   3N1AB7AP0KY325536   Nissan       SENTRA              ATLANTA                   GA
83714   3N1AB7AP0KY326380   Nissan       SENTRA              Newark                    NJ
83715   3N1AB7AP0KY338108   Nissan       SENTRA              PAWTUCKET                 RI
83716   3N1AB7AP0KY338268   Nissan       SENTRA              MEDINA                    OH
83717   3N1AB7AP0KY338772   Nissan       SENTRA              STERLING                  VA
83718   3N1AB7AP0KY338819   Nissan       SENTRA              ATLANTA                   GA
83719   3N1AB7AP0KY339095   Nissan       SENTRA              Orlando                   FL
83720   3N1AB7AP0KY339131   Nissan       SENTRA              Rochester                 NY
83721   3N1AB7AP0KY339713   Nissan       SENTRA              Austell                   GA
83722   3N1AB7AP0KY343471   Nissan       SENTRA              San Diego                 CA
83723   3N1AB7AP0KY343521   Nissan       SENTRA              Salt Lake City            UT
83724   3N1AB7AP0KY344488   Nissan       SENTRA              SANTA ANA                 CA
83725   3N1AB7AP0KY345415   Nissan       SENTRA              Los Angeles               CA
83726   3N1AB7AP0KY353224   Nissan       SENTRA              Newark                    NJ
83727   3N1AB7AP1GY247405   Nissan       SENTRA              Fontana                   CA
83728   3N1AB7AP1HL684612   Nissan       SENTRA              STERLING                  VA
83729   3N1AB7AP1HL687977   Nissan       SENTRA              BALTIMORE                 MD
83730   3N1AB7AP1HL694024   Nissan       SENTRA              GLEN BURNIE               MD
83731   3N1AB7AP1HL694041   Nissan       SENTRA              Fort Lauderdale           FL
83732   3N1AB7AP1HL694119   Nissan       SENTRA              MONTGOMERY                AL
83733   3N1AB7AP1HL695254   Nissan       SENTRA              CHICAGO                   IL
83734   3N1AB7AP1HL695478   Nissan       SENTRA
83735   3N1AB7AP1HL696422   Nissan       SENTRA              NORTH PAC                 CA
83736   3N1AB7AP1HL697912   Nissan       SENTRA              Baltimore                 MD
83737   3N1AB7AP1HL698428   Nissan       SENTRA              Mira Loma                 CA
83738   3N1AB7AP1HL699224   Nissan       SENTRA              Denver                    CO
83739   3N1AB7AP1HY210856   Nissan       SENTRA              NORTH HOLLYWOOD           CA
83740   3N1AB7AP1HY218262   Nissan       SENTRA              OAKLAND                   CA
83741   3N1AB7AP1HY223283   Nissan       SENTRA              ELMHURST                  IL
83742   3N1AB7AP1HY246966   Nissan       SENTRA              Houston                   TX
83743   3N1AB7AP1HY263492   Nissan       SENTRA              DES MOINES                IA
83744   3N1AB7AP1HY285749   Nissan       SENTRA              DES PLAINES               IL
83745   3N1AB7AP1HY290739   Nissan       SENTRA              Elkridge                  MD
83746   3N1AB7AP1HY299859   Nissan       SENTRA              NORTH PAC                 CA
83747   3N1AB7AP1HY304199   Nissan       SENTRA              Tampa                     FL
83748   3N1AB7AP1HY307717   Nissan       SENTRA              Sterling                  VA
83749   3N1AB7AP1HY308351   Nissan       SENTRA              SANDSTON                  VA
83750   3N1AB7AP1HY309290   Nissan       SENTRA              DAYTONA BEACH             FL
83751   3N1AB7AP1HY310035   Nissan       SENTRA              San Diego                 CA
83752   3N1AB7AP1HY310150   Nissan       SENTRA              SAN FRANCISCO             CA
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83753   3N1AB7AP1HY310391   Nissan       SENTRA              BURLINGAME                CA
83754   3N1AB7AP1HY311282   Nissan       SENTRA              Lynn                      MA
83755   3N1AB7AP1HY312349   Nissan       SENTRA              STERLING                  VA
83756   3N1AB7AP1HY312643   Nissan       SENTRA              Denver                    CO
83757   3N1AB7AP1HY312917   Nissan       SENTRA              Roseville                 CA
83758   3N1AB7AP1HY313386   Nissan       SENTRA              CAPITOL HEIGHTS           MD
83759   3N1AB7AP1HY313954   Nissan       SENTRA              DES PLAINES               IL
83760   3N1AB7AP1HY314392   Nissan       SENTRA              NEW ENGLAND DEALER        MA
83761   3N1AB7AP1HY316109   Nissan       SENTRA              NORTH PAC                 CA
83762   3N1AB7AP1HY316823   Nissan       SENTRA              North Dighton             MA
83763   3N1AB7AP1HY317776   Nissan       SENTRA              Elkridge                  MD
83764   3N1AB7AP1HY318135   Nissan       SENTRA
83765   3N1AB7AP1HY321455   Nissan       SENTRA              NORTH PAC                 CA
83766   3N1AB7AP1HY324727   Nissan       SENTRA              OAKLAND                   CA
83767   3N1AB7AP1HY325537   Nissan       SENTRA              LAS VEGAS                 NV
83768   3N1AB7AP1HY326316   Nissan       SENTRA              BOSTON                    MA
83769   3N1AB7AP1HY326381   Nissan       SENTRA              DAYTONA BEACH             FL
83770   3N1AB7AP1HY327143   Nissan       SENTRA              Atlanta                   GA
83771   3N1AB7AP1HY327255   Nissan       SENTRA              TRACY                     CA
83772   3N1AB7AP1HY327482   Nissan       SENTRA              STERLING                  VA
83773   3N1AB7AP1HY328406   Nissan       SENTRA              Richmond                  VA
83774   3N1AB7AP1HY330009   Nissan       SENTRA              Las Vegas                 NV
83775   3N1AB7AP1HY330740   Nissan       SENTRA              Slidell                   LA
83776   3N1AB7AP1HY333654   Nissan       SENTRA              NOTTINGHAM                MD
83777   3N1AB7AP1HY334111   Nissan       SENTRA              Pasadena                  CA
83778   3N1AB7AP1HY335372   Nissan       SENTRA              DANIA BEACH               FL
83779   3N1AB7AP1HY337266   Nissan       SENTRA              Davie                     FL
83780   3N1AB7AP1HY340250   Nissan       SENTRA              SAN ANTONIO               TX
83781   3N1AB7AP1HY341673   Nissan       SENTRA              LOS ANGELES               CA
83782   3N1AB7AP1HY343200   Nissan       SENTRA              Elkridge                  MD
83783   3N1AB7AP1HY347635   Nissan       SENTRA              BURBANK                   CA
83784   3N1AB7AP1HY347845   Nissan       SENTRA              BURBANK                   CA
83785   3N1AB7AP1HY348610   Nissan       SENTRA              Las Vegas                 NV
83786   3N1AB7AP1HY349286   Nissan       SENTRA              SAN FRANCISCO             CA
83787   3N1AB7AP1HY351622   Nissan       SENTRA              Hartford                  CT
83788   3N1AB7AP1HY351684   Nissan       SENTRA              CHICAGO                   IL
83789   3N1AB7AP1HY352530   Nissan       SENTRA              DALLAS                    TX
83790   3N1AB7AP1HY356450   Nissan       SENTRA              NORTH PAC                 CA
83791   3N1AB7AP1HY356559   Nissan       SENTRA              TRACY                     CA
83792   3N1AB7AP1HY356898   Nissan       SENTRA              LAS VEGAS                 NV
83793   3N1AB7AP1HY357078   Nissan       SENTRA              San Diego                 CA
83794   3N1AB7AP1HY357436   Nissan       SENTRA              Kent                      WA
83795   3N1AB7AP1HY359042   Nissan       SENTRA              Portland                  OR
83796   3N1AB7AP1HY359218   Nissan       SENTRA              BURBANK                   CA
83797   3N1AB7AP1HY359297   Nissan       SENTRA              BURBANK                   CA
83798   3N1AB7AP1HY360790   Nissan       SENTRA              RALEIGH                   NC
83799   3N1AB7AP1HY363205   Nissan       SENTRA              NOTTINGHAM                MD
83800   3N1AB7AP1HY363673   Nissan       SENTRA              Norwalk                   CA
83801   3N1AB7AP1JL618809   Nissan       SENTRA              Louisville                KY
83802   3N1AB7AP1JL620933   Nissan       SENTRA              CHICAGO                   IL
83803   3N1AB7AP1JL626991   Nissan       SENTRA              SANTA ANA                 CA
83804   3N1AB7AP1JL630801   Nissan       SENTRA              TAMPA                     FL
83805   3N1AB7AP1JL634878   Nissan       SENTRA              CHICAGO                   IL
83806   3N1AB7AP1JL659439   Nissan       SENTRA              BURBANK                   CA
83807   3N1AB7AP1JY225072   Nissan       SENTRA              PHOENIX                   AZ
83808   3N1AB7AP1JY238713   Nissan       SENTRA              Denver                    CO
83809   3N1AB7AP1JY238890   Nissan       SENTRA
83810   3N1AB7AP1JY240364   Nissan       SENTRA              DES MOINES                IA
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83811   3N1AB7AP1JY240512   Nissan       SENTRA              BURBANK                   CA
83812   3N1AB7AP1JY240588   Nissan       SENTRA              BURBANK                   CA
83813   3N1AB7AP1JY241675   Nissan       SENTRA              SAVANNAH                  GA
83814   3N1AB7AP1JY242468   Nissan       SENTRA              HARVEY                    LA
83815   3N1AB7AP1JY242566   Nissan       SENTRA              BURBANK                   CA
83816   3N1AB7AP1JY242762   Nissan       SENTRA              CHICAGO                   IL
83817   3N1AB7AP1JY242793   Nissan       SENTRA              BURBANK                   CA
83818   3N1AB7AP1JY243359   Nissan       SENTRA              BURBANK                   CA
83819   3N1AB7AP1JY243703   Nissan       SENTRA              NORTH PAC                 CA
83820   3N1AB7AP1JY243717   Nissan       SENTRA              LIHUE                     HI
83821   3N1AB7AP1JY243846   Nissan       SENTRA              Maple Grove               MN
83822   3N1AB7AP1JY244012   Nissan       SENTRA              BURBANK                   CA
83823   3N1AB7AP1JY244107   Nissan       SENTRA              South San Franc           CA
83824   3N1AB7AP1JY244124   Nissan       SENTRA              LOS ANGELES               CA
83825   3N1AB7AP1JY244169   Nissan       SENTRA              FALMOUTH                  MA
83826   3N1AB7AP1JY244284   Nissan       SENTRA              SAN FRANCISCO             CA
83827   3N1AB7AP1JY244351   Nissan       SENTRA              TAMPA                     US
83828   3N1AB7AP1JY244768   Nissan       SENTRA              Manheim                   PA
83829   3N1AB7AP1JY244771   Nissan       SENTRA              Santa Clara               CA
83830   3N1AB7AP1JY244804   Nissan       SENTRA              HONOLULU                  HI
83831   3N1AB7AP1JY244852   Nissan       SENTRA              WEST PALM BEACH           FL
83832   3N1AB7AP1JY244950   Nissan       SENTRA              NORTH PAC                 CA
83833   3N1AB7AP1JY245273   Nissan       SENTRA              KAHULUI                   HI
83834   3N1AB7AP1JY245340   Nissan       SENTRA              KANSAS CITY               MO
83835   3N1AB7AP1JY246150   Nissan       SENTRA              LOS ANGELES               CA
83836   3N1AB7AP1JY246164   Nissan       SENTRA              Salt Lake City            UT
83837   3N1AB7AP1JY246181   Nissan       SENTRA              Los Angeles               CA
83838   3N1AB7AP1JY246276   Nissan       SENTRA              DENVER                    CO
83839   3N1AB7AP1JY246326   Nissan       SENTRA              BURBANK                   CA
83840   3N1AB7AP1JY246634   Nissan       SENTRA              TRACY                     CA
83841   3N1AB7AP1JY246665   Nissan       SENTRA              SEATAC                    WA
83842   3N1AB7AP1JY246827   Nissan       SENTRA              NORTH PAC                 CA
83843   3N1AB7AP1JY247010   Nissan       SENTRA              HILO                      HI
83844   3N1AB7AP1JY247086   Nissan       SENTRA              Clarksville               IN
83845   3N1AB7AP1JY247301   Nissan       SENTRA              NORTH PAC                 CA
83846   3N1AB7AP1JY247623   Nissan       SENTRA              BURBANK                   CA
83847   3N1AB7AP1JY247749   Nissan       SENTRA              TRACY                     CA
83848   3N1AB7AP1JY248075   Nissan       SENTRA              CHARLOTTE                 NC
83849   3N1AB7AP1JY248089   Nissan       SENTRA              North Dighton             MA
83850   3N1AB7AP1JY248111   Nissan       SENTRA              Alexandria                VA
83851   3N1AB7AP1JY248156   Nissan       SENTRA              NORTH PAC                 CA
83852   3N1AB7AP1JY248724   Nissan       SENTRA              CHICAGO                   IL
83853   3N1AB7AP1JY251994   Nissan       SENTRA              Hayward                   CA
83854   3N1AB7AP1JY252000   Nissan       SENTRA              KAHULUI                   HI
83855   3N1AB7AP1JY252160   Nissan       SENTRA              KAUAI                     HI
83856   3N1AB7AP1JY252286   Nissan       SENTRA              North Las Vegas           NV
83857   3N1AB7AP1JY252398   Nissan       SENTRA              WEST PALM BEACH           FL
83858   3N1AB7AP1JY252420   Nissan       SENTRA              Fredericksburg            VA
83859   3N1AB7AP1JY252529   Nissan       SENTRA              ROSEVILLE                 CA
83860   3N1AB7AP1JY252644   Nissan       SENTRA              BURBANK                   CA
83861   3N1AB7AP1JY252756   Nissan       SENTRA              Denver                    CO
83862   3N1AB7AP1JY252904   Nissan       SENTRA              DALLAS                    TX
83863   3N1AB7AP1JY253020   Nissan       SENTRA              DES MOINES                IA
83864   3N1AB7AP1JY253034   Nissan       SENTRA              ONTARIO                   CA
83865   3N1AB7AP1JY253339   Nissan       SENTRA              Portland                  OR
83866   3N1AB7AP1JY253535   Nissan       SENTRA              Florissant                MO
83867   3N1AB7AP1JY253549   Nissan       SENTRA              North Dighton             MA
83868   3N1AB7AP1JY253597   Nissan       SENTRA              Slidell                   LA
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83869   3N1AB7AP1JY253745   Nissan       SENTRA              Sarasota                  FL
83870   3N1AB7AP1JY253843   Nissan       SENTRA              NOTTINGHAM                MD
83871   3N1AB7AP1JY253986   Nissan       SENTRA              MIAMI                     FL
83872   3N1AB7AP1JY255088   Nissan       SENTRA              NORTH HOLLYWOOD           CA
83873   3N1AB7AP1JY255124   Nissan       SENTRA              NORTH PAC                 CA
83874   3N1AB7AP1JY255169   Nissan       SENTRA              Denver                    CO
83875   3N1AB7AP1JY255270   Nissan       SENTRA              BURBANK                   CA
83876   3N1AB7AP1JY255396   Nissan       SENTRA              SAN JOSE                  CA
83877   3N1AB7AP1JY255415   Nissan       SENTRA              SACRAMENTO                CA
83878   3N1AB7AP1JY255494   Nissan       SENTRA              TRACY                     CA
83879   3N1AB7AP1JY255527   Nissan       SENTRA              LAS VEGAS                 NV
83880   3N1AB7AP1JY255768   Nissan       SENTRA              Denver                    CO
83881   3N1AB7AP1JY255818   Nissan       SENTRA              SAN FRANCISCO             CA
83882   3N1AB7AP1JY255866   Nissan       SENTRA              BURBANK                   CA
83883   3N1AB7AP1JY256290   Nissan       SENTRA              ROSEVILLE                 CA
83884   3N1AB7AP1JY256838   Nissan       SENTRA              MILWAUKEE                 WI
83885   3N1AB7AP1JY257620   Nissan       SENTRA              Landover Hills            MD
83886   3N1AB7AP1JY257746   Nissan       SENTRA              NORTH PAC                 CA
83887   3N1AB7AP1JY259898   Nissan       SENTRA              NORTH PAC                 CA
83888   3N1AB7AP1JY260016   Nissan       SENTRA              PORTLAND                  OR
83889   3N1AB7AP1JY260615   Nissan       SENTRA              BURBANK                   CA
83890   3N1AB7AP1JY261408   Nissan       SENTRA              BURBANK                   CA
83891   3N1AB7AP1JY262431   Nissan       SENTRA              BURBANK                   CA
83892   3N1AB7AP1JY264440   Nissan       SENTRA              Denver                    CO
83893   3N1AB7AP1JY264843   Nissan       SENTRA              IRVING                    TX
83894   3N1AB7AP1JY265491   Nissan       SENTRA              RALEIGH                   NC
83895   3N1AB7AP1JY265913   Nissan       SENTRA              Kahului                   HI
83896   3N1AB7AP1JY266043   Nissan       SENTRA              CHICAGO                   IL
83897   3N1AB7AP1JY266107   Nissan       SENTRA              KAHULUI                   HI
83898   3N1AB7AP1JY266401   Nissan       SENTRA              GARDENA                   CA
83899   3N1AB7AP1JY266463   Nissan       SENTRA              SPRINGFIELD               VA
83900   3N1AB7AP1JY266494   Nissan       SENTRA              TULSA                     OK
83901   3N1AB7AP1JY266513   Nissan       SENTRA              LIHUE                     HI
83902   3N1AB7AP1JY266723   Nissan       SENTRA              Denver                    CO
83903   3N1AB7AP1JY266950   Nissan       SENTRA              Webster                   NY
83904   3N1AB7AP1JY266981   Nissan       SENTRA              Rock Hill                 SC
83905   3N1AB7AP1JY267001   Nissan       SENTRA              Maple Grove               MN
83906   3N1AB7AP1JY267032   Nissan       SENTRA              MIAMI                     FL
83907   3N1AB7AP1JY267239   Nissan       SENTRA              DFW AIRPORT               TX
83908   3N1AB7AP1JY267595   Nissan       SENTRA              Tampa                     FL
83909   3N1AB7AP1JY267659   Nissan       SENTRA              LOS ANGELES               CA
83910   3N1AB7AP1JY267726   Nissan       SENTRA              Kent                      WA
83911   3N1AB7AP1JY267743   Nissan       SENTRA              Burien                    WA
83912   3N1AB7AP1JY267953   Nissan       SENTRA              Las Vegas                 NV
83913   3N1AB7AP1JY269704   Nissan       SENTRA              Detroit                   MI
83914   3N1AB7AP1JY270349   Nissan       SENTRA              NORTH PAC                 CA
83915   3N1AB7AP1JY270996   Nissan       SENTRA              Riverside                 CA
83916   3N1AB7AP1JY271159   Nissan       SENTRA              Warwick                   RI
83917   3N1AB7AP1JY271484   Nissan       SENTRA              PHILADELPHIA              PA
83918   3N1AB7AP1JY272246   Nissan       SENTRA              SALT LAKE CITY            US
83919   3N1AB7AP1JY273719   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
83920   3N1AB7AP1JY274031   Nissan       SENTRA              Indianapolis              IN
83921   3N1AB7AP1JY274160   Nissan       SENTRA              HAYWARD                   CA
83922   3N1AB7AP1JY274515   Nissan       SENTRA              N. Palm Beach             FL
83923   3N1AB7AP1JY274594   Nissan       SENTRA              ORLANDO                   FL
83924   3N1AB7AP1JY275048   Nissan       SENTRA              PHOENIX                   AZ
83925   3N1AB7AP1JY275051   Nissan       SENTRA              CHICAGO                   IL
83926   3N1AB7AP1JY275065   Nissan       SENTRA              Davie                     FL
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83927   3N1AB7AP1JY275261   Nissan       SENTRA              Miami                     FL
83928   3N1AB7AP1JY275423   Nissan       SENTRA              BURBANK                   CA
83929   3N1AB7AP1JY275504   Nissan       SENTRA              LOS ANGELES               CA
83930   3N1AB7AP1JY275681   Nissan       SENTRA              ORLANDO                   FL
83931   3N1AB7AP1JY275714   Nissan       SENTRA              Los Angeles               CA
83932   3N1AB7AP1JY276197   Nissan       SENTRA              BURBANK                   CA
83933   3N1AB7AP1JY276233   Nissan       SENTRA              Atlanta                   GA
83934   3N1AB7AP1JY276264   Nissan       SENTRA              Memphis                   TN
83935   3N1AB7AP1JY276359   Nissan       SENTRA              North Dighton             MA
83936   3N1AB7AP1JY276426   Nissan       SENTRA              Tolleson                  AZ
83937   3N1AB7AP1JY276720   Nissan       SENTRA              Manheim                   PA
83938   3N1AB7AP1JY276829   Nissan       SENTRA              SACRAMENTO                CA
83939   3N1AB7AP1JY276846   Nissan       SENTRA              Phoenix                   AZ
83940   3N1AB7AP1JY276944   Nissan       SENTRA              Webster                   NY
83941   3N1AB7AP1JY277530   Nissan       SENTRA              TAMPA                     FL
83942   3N1AB7AP1JY277544   Nissan       SENTRA              MIAMI                     FL
83943   3N1AB7AP1JY277740   Nissan       SENTRA              BURBANK                   CA
83944   3N1AB7AP1JY277804   Nissan       SENTRA              NEWARK                    NJ
83945   3N1AB7AP1JY277902   Nissan       SENTRA              Hamilton                  OH
83946   3N1AB7AP1JY278077   Nissan       SENTRA              FLORIDA DEALER DIR        FL
83947   3N1AB7AP1JY278306   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
83948   3N1AB7AP1JY278435   Nissan       SENTRA              Chandler                  AZ
83949   3N1AB7AP1JY278578   Nissan       SENTRA              NORTH PAC                 CA
83950   3N1AB7AP1JY278659   Nissan       SENTRA              STERLING                  VA
83951   3N1AB7AP1JY279178   Nissan       SENTRA              STERLING                  VA
83952   3N1AB7AP1JY279259   Nissan       SENTRA              Hartford                  CT
83953   3N1AB7AP1JY279293   Nissan       SENTRA              Las Vegas                 NV
83954   3N1AB7AP1JY279309   Nissan       SENTRA              Hamilton                  OH
83955   3N1AB7AP1JY279312   Nissan       SENTRA              SAN DIEGO                 CA
83956   3N1AB7AP1JY279391   Nissan       SENTRA              MORROW                    GA
83957   3N1AB7AP1JY279844   Nissan       SENTRA              JACKSONVILLE              FL
83958   3N1AB7AP1JY279875   Nissan       SENTRA              BURBANK                   CA
83959   3N1AB7AP1JY280055   Nissan       SENTRA              Pittsburgh                PA
83960   3N1AB7AP1JY280086   Nissan       SENTRA              Massapequa                NY
83961   3N1AB7AP1JY280251   Nissan       SENTRA              Atlanta                   GA
83962   3N1AB7AP1JY280427   Nissan       SENTRA              Baltimore                 MD
83963   3N1AB7AP1JY280623   Nissan       SENTRA              NORTH PAC                 CA
83964   3N1AB7AP1JY280699   Nissan       SENTRA              SOUTHWEST DEALER D        TX
83965   3N1AB7AP1JY280962   Nissan       SENTRA              North Dighton             MA
83966   3N1AB7AP1JY281089   Nissan       SENTRA              NORTH PAC                 CA
83967   3N1AB7AP1JY281092   Nissan       SENTRA              Euless                    TX
83968   3N1AB7AP1JY281366   Nissan       SENTRA              SARASOTA                  FL
83969   3N1AB7AP1JY282226   Nissan       SENTRA              Scottsdale                AZ
83970   3N1AB7AP1JY282307   Nissan       SENTRA              NORTH PAC                 CA
83971   3N1AB7AP1JY282436   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
83972   3N1AB7AP1JY283649   Nissan       SENTRA              STERLING                  VA
83973   3N1AB7AP1JY284087   Nissan       SENTRA              SANTA ANA                 CA
83974   3N1AB7AP1JY284302   Nissan       SENTRA              NORTH PAC                 CA
83975   3N1AB7AP1JY286292   Nissan       SENTRA              BURBANK                   CA
83976   3N1AB7AP1JY286650   Nissan       SENTRA              Detroit                   MI
83977   3N1AB7AP1JY286695   Nissan       SENTRA              Denver                    CO
83978   3N1AB7AP1JY286955   Nissan       SENTRA              BURIEN                    WA
83979   3N1AB7AP1JY287104   Nissan       SENTRA              Statesville               NC
83980   3N1AB7AP1JY287233   Nissan       SENTRA              Orlando                   FL
83981   3N1AB7AP1JY287264   Nissan       SENTRA              CHICAGO                   IL
83982   3N1AB7AP1JY287278   Nissan       SENTRA              Maple Grove               MN
83983   3N1AB7AP1JY287314   Nissan       SENTRA              PHILADELPHIA              PA
83984   3N1AB7AP1JY287359   Nissan       SENTRA              LOS ANGELES               CA
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83985   3N1AB7AP1JY287393   Nissan       SENTRA              LAS VEGAS                 NV
83986   3N1AB7AP1JY287457   Nissan       SENTRA              NEW ENGLAND DEALER        MA
83987   3N1AB7AP1JY287491   Nissan       SENTRA              Philadelphia              PA
83988   3N1AB7AP1JY287765   Nissan       SENTRA              DES MOINES                IA
83989   3N1AB7AP1JY287846   Nissan       SENTRA              Cedar Rapids              IA
83990   3N1AB7AP1JY288348   Nissan       SENTRA              Manheim                   PA
83991   3N1AB7AP1JY288401   Nissan       SENTRA              LOS ANGELES               CA
83992   3N1AB7AP1JY288480   Nissan       SENTRA              DAYTONA BEACH             FL
83993   3N1AB7AP1JY288530   Nissan       SENTRA              Sterling                  VA
83994   3N1AB7AP1JY288799   Nissan       SENTRA              FORT MYERS                FL
83995   3N1AB7AP1JY288835   Nissan       SENTRA              DENVER                    CO
83996   3N1AB7AP1JY288883   Nissan       SENTRA              Ft. Myers                 FL
83997   3N1AB7AP1JY289015   Nissan       SENTRA              WEST PALM BEACH           FL
83998   3N1AB7AP1JY289032   Nissan       SENTRA              WEST PALM BEACH           FL
83999   3N1AB7AP1JY289225   Nissan       SENTRA              Cleveland                 OH
84000   3N1AB7AP1JY289239   Nissan       SENTRA              Tolleson                  AZ
84001   3N1AB7AP1JY289788   Nissan       SENTRA              SEATTLE                   WA
84002   3N1AB7AP1JY289922   Nissan       SENTRA              BOSTON                    MA
84003   3N1AB7AP1JY290150   Nissan       SENTRA              NEW ENGLAND DEALER        MA
84004   3N1AB7AP1JY290391   Nissan       SENTRA              ORLANDO                   FL
84005   3N1AB7AP1JY290665   Nissan       SENTRA              Elkridge                  MD
84006   3N1AB7AP1JY290844   Nissan       SENTRA              ENGLEWOOD                 CO
84007   3N1AB7AP1JY290939   Nissan       SENTRA              Stockton                  CA
84008   3N1AB7AP1JY291217   Nissan       SENTRA              Las Vegas                 NV
84009   3N1AB7AP1JY291248   Nissan       SENTRA              AUSTIN                    TX
84010   3N1AB7AP1JY291279   Nissan       SENTRA              BURBANK                   CA
84011   3N1AB7AP1JY291542   Nissan       SENTRA              Tolleson                  AZ
84012   3N1AB7AP1JY291704   Nissan       SENTRA              Maple Grove               MN
84013   3N1AB7AP1JY291878   Nissan       SENTRA              Ventura                   CA
84014   3N1AB7AP1JY292013   Nissan       SENTRA              ROSEVILLE                 CA
84015   3N1AB7AP1JY292044   Nissan       SENTRA              NORTH PAC                 CA
84016   3N1AB7AP1JY292075   Nissan       SENTRA              BURBANK                   CA
84017   3N1AB7AP1JY292190   Nissan       SENTRA              AUSTIN                    TX
84018   3N1AB7AP1JY292254   Nissan       SENTRA              SAN DIEGO                 CA
84019   3N1AB7AP1JY292514   Nissan       SENTRA              BURBANK                   CA
84020   3N1AB7AP1JY292741   Nissan       SENTRA              BURBANK                   CA
84021   3N1AB7AP1JY292920   Nissan       SENTRA              NORTH PAC                 CA
84022   3N1AB7AP1JY293307   Nissan       SENTRA              NORTH PAC                 CA
84023   3N1AB7AP1JY293310   Nissan       SENTRA              Atlanta                   GA
84024   3N1AB7AP1JY293517   Nissan       SENTRA              Roseville                 CA
84025   3N1AB7AP1JY293582   Nissan       SENTRA              FT LAUDERDALE             FL
84026   3N1AB7AP1JY293615   Nissan       SENTRA              SAN LEANDRO               CA
84027   3N1AB7AP1JY293646   Nissan       SENTRA              LAS VEGAS                 NV
84028   3N1AB7AP1JY293985   Nissan       SENTRA              BURBANK                   CA
84029   3N1AB7AP1JY294084   Nissan       SENTRA              PICO RIVERA               CA
84030   3N1AB7AP1JY294957   Nissan       SENTRA              Cranberry Towns           PA
84031   3N1AB7AP1JY294991   Nissan       SENTRA              CHICAGO                   IL
84032   3N1AB7AP1JY295638   Nissan       SENTRA              SAN FRANCISCO             CA
84033   3N1AB7AP1JY295851   Nissan       SENTRA              Culpeper                  VA
84034   3N1AB7AP1JY295865   Nissan       SENTRA              ORLANDO                   FL
84035   3N1AB7AP1JY296823   Nissan       SENTRA              Newark                    NJ
84036   3N1AB7AP1JY297325   Nissan       SENTRA              TAMPA                     FL
84037   3N1AB7AP1JY298197   Nissan       SENTRA              NORTH PAC                 CA
84038   3N1AB7AP1JY298233   Nissan       SENTRA              DAYTONA BEACH             FL
84039   3N1AB7AP1JY298491   Nissan       SENTRA              PITTSBURGH                PA
84040   3N1AB7AP1JY298524   Nissan       SENTRA              Elkridge                  MD
84041   3N1AB7AP1JY298751   Nissan       SENTRA              Statesville               NC
84042   3N1AB7AP1JY298801   Nissan       SENTRA              PHILADELPHIA              PA
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84043   3N1AB7AP1JY298846   Nissan       SENTRA              FORT MYERS                FL
84044   3N1AB7AP1JY299107   Nissan       SENTRA              SEATAC                    WA
84045   3N1AB7AP1JY299138   Nissan       SENTRA              Detroit                   MI
84046   3N1AB7AP1JY299141   Nissan       SENTRA              Teterboro                 NJ
84047   3N1AB7AP1JY299219   Nissan       SENTRA              ST Paul                   MN
84048   3N1AB7AP1JY299396   Nissan       SENTRA              TAMPA                     FL
84049   3N1AB7AP1JY299429   Nissan       SENTRA              CHICAGO                   IL
84050   3N1AB7AP1JY299480   Nissan       SENTRA              BURBANK                   CA
84051   3N1AB7AP1JY299673   Nissan       SENTRA              CHICAGO                   IL
84052   3N1AB7AP1JY300255   Nissan       SENTRA              COLUMBIA                  SC
84053   3N1AB7AP1JY300580   Nissan       SENTRA              WEST CENTRAL DEALE        CO
84054   3N1AB7AP1JY300918   Nissan       SENTRA              SALT LAKE CITY            UT
84055   3N1AB7AP1JY301079   Nissan       SENTRA              LAS VEGAS                 NV
84056   3N1AB7AP1JY301180   Nissan       SENTRA              Irving                    TX
84057   3N1AB7AP1JY301230   Nissan       SENTRA              BIRMINGHAM                AL
84058   3N1AB7AP1JY302619   Nissan       SENTRA              Sacramento                CA
84059   3N1AB7AP1JY303401   Nissan       SENTRA              BURBANK                   CA
84060   3N1AB7AP1JY305097   Nissan       SENTRA              CHICAGO                   IL
84061   3N1AB7AP1JY308257   Nissan       SENTRA              CHICAGO                   IL
84062   3N1AB7AP1JY308324   Nissan       SENTRA              Burien                    WA
84063   3N1AB7AP1JY308470   Nissan       SENTRA              SAN DIEGO                 CA
84064   3N1AB7AP1JY308498   Nissan       SENTRA              Teterboro                 NJ
84065   3N1AB7AP1JY309151   Nissan       SENTRA              Dallas                    TX
84066   3N1AB7AP1JY309165   Nissan       SENTRA              GRAND RAPIDS              MI
84067   3N1AB7AP1JY309196   Nissan       SENTRA              Atlanta                   GA
84068   3N1AB7AP1JY309294   Nissan       SENTRA              LA HABRA                  CA
84069   3N1AB7AP1JY309330   Nissan       SENTRA              FLORIDA DEALER DIR        FL
84070   3N1AB7AP1JY309361   Nissan       SENTRA              Warwick                   RI
84071   3N1AB7AP1JY309683   Nissan       SENTRA              Oceanside                 CA
84072   3N1AB7AP1JY309960   Nissan       SENTRA              SAN DIEGO                 CA
84073   3N1AB7AP1JY310140   Nissan       SENTRA              North Dighton             MA
84074   3N1AB7AP1JY310204   Nissan       SENTRA              PITTSBURGH                PA
84075   3N1AB7AP1JY310235   Nissan       SENTRA              Hamilton                  OH
84076   3N1AB7AP1JY310459   Nissan       SENTRA              HARVEY                    LA
84077   3N1AB7AP1JY310543   Nissan       SENTRA              Las Vegas                 NV
84078   3N1AB7AP1JY310624   Nissan       SENTRA              BURBANK                   CA
84079   3N1AB7AP1JY310834   Nissan       SENTRA              Atlanta                   GA
84080   3N1AB7AP1JY311398   Nissan       SENTRA              BURBANK                   CA
84081   3N1AB7AP1JY311403   Nissan       SENTRA              SARASOTA                  FL
84082   3N1AB7AP1JY311420   Nissan       SENTRA              FRESNO                    CA
84083   3N1AB7AP1JY311451   Nissan       SENTRA              ORLANDO                   FL
84084   3N1AB7AP1JY312213   Nissan       SENTRA              Stockton                  CA
84085   3N1AB7AP1JY312244   Nissan       SENTRA              SAN DIEGO                 CA
84086   3N1AB7AP1JY312826   Nissan       SENTRA              PLEASANTON                CA
84087   3N1AB7AP1JY313037   Nissan       SENTRA              Las Vegas                 NV
84088   3N1AB7AP1JY313152   Nissan       SENTRA              FRESNO                    CA
84089   3N1AB7AP1JY313278   Nissan       SENTRA              Portland                  OR
84090   3N1AB7AP1JY313359   Nissan       SENTRA              Portland                  OR
84091   3N1AB7AP1JY313362   Nissan       SENTRA              Elkridge                  MD
84092   3N1AB7AP1JY313412   Nissan       SENTRA              Santa Clara               CA
84093   3N1AB7AP1JY313507   Nissan       SENTRA              DALLAS                    TX
84094   3N1AB7AP1JY313751   Nissan       SENTRA              BURBANK                   CA
84095   3N1AB7AP1JY314091   Nissan       SENTRA              SAN DIEGO                 CA
84096   3N1AB7AP1JY314107   Nissan       SENTRA              NEW ENGLAND DEALER        MA
84097   3N1AB7AP1JY314351   Nissan       SENTRA              NORTH PAC                 CA
84098   3N1AB7AP1JY314463   Nissan       SENTRA              LOS ANGELES               CA
84099   3N1AB7AP1JY314835   Nissan       SENTRA              NORTH PAC                 CA
84100   3N1AB7AP1JY315659   Nissan       SENTRA              Sacramento                CA
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84101   3N1AB7AP1JY321672   Nissan       SENTRA              DES MOINES                IA
84102   3N1AB7AP1JY323552   Nissan       SENTRA              Louisville                KY
84103   3N1AB7AP1JY323678   Nissan       SENTRA              ORLANDO                   FL
84104   3N1AB7AP1JY324300   Nissan       SENTRA              ORLANDO                   FL
84105   3N1AB7AP1JY324345   Nissan       SENTRA              WEST PALM BEACH           FL
84106   3N1AB7AP1JY324717   Nissan       SENTRA              COLUMBUS                  OH
84107   3N1AB7AP1JY324748   Nissan       SENTRA              Plainfield                IN
84108   3N1AB7AP1JY325124   Nissan       SENTRA              Houston                   TX
84109   3N1AB7AP1JY325348   Nissan       SENTRA              Manheim                   PA
84110   3N1AB7AP1JY325401   Nissan       SENTRA              SAINT PAUL                MN
84111   3N1AB7AP1JY325429   Nissan       SENTRA              Maple Grove               MN
84112   3N1AB7AP1JY325575   Nissan       SENTRA              KANSAS CITY               MO
84113   3N1AB7AP1JY325768   Nissan       SENTRA              San Antonio               TX
84114   3N1AB7AP1JY325818   Nissan       SENTRA              Mt. Juliet                TN
84115   3N1AB7AP1JY325866   Nissan       SENTRA              DES MOINES                IA
84116   3N1AB7AP1JY326094   Nissan       SENTRA              GAINESVILLE               GA
84117   3N1AB7AP1JY326645   Nissan       SENTRA              Hebron                    KY
84118   3N1AB7AP1JY326659   Nissan       SENTRA              AUSTIN                    TX
84119   3N1AB7AP1JY326662   Nissan       SENTRA              KNOXVILLE                 TN
84120   3N1AB7AP1JY326712   Nissan       SENTRA              Matteson                  IL
84121   3N1AB7AP1JY326774   Nissan       SENTRA              Marietta                  GA
84122   3N1AB7AP1JY327052   Nissan       SENTRA              COLUMBIA                  SC
84123   3N1AB7AP1JY327293   Nissan       SENTRA              Englewood                 CO
84124   3N1AB7AP1JY327343   Nissan       SENTRA              COLORADO SPRING           CO
84125   3N1AB7AP1JY327455   Nissan       SENTRA              BLOOMINGTON               IL
84126   3N1AB7AP1JY327553   Nissan       SENTRA              TAMPA                     FL
84127   3N1AB7AP1JY327777   Nissan       SENTRA              Hendersonville            TN
84128   3N1AB7AP1JY327939   Nissan       SENTRA              COSTA MESA                CA
84129   3N1AB7AP1JY328041   Nissan       SENTRA              Dallas                    TX
84130   3N1AB7AP1JY328105   Nissan       SENTRA              Atlanta                   GA
84131   3N1AB7AP1JY328119   Nissan       SENTRA              BILLINGS                  MT
84132   3N1AB7AP1JY328234   Nissan       SENTRA              Florissant                MO
84133   3N1AB7AP1JY328590   Nissan       SENTRA              PENSACOLA                 FL
84134   3N1AB7AP1JY328606   Nissan       SENTRA              Santa Clara               CA
84135   3N1AB7AP1JY328959   Nissan       SENTRA              Portland                  OR
84136   3N1AB7AP1JY329299   Nissan       SENTRA              San Diego                 CA
84137   3N1AB7AP1JY329934   Nissan       SENTRA              COUNCIL BLUFFS            IA
84138   3N1AB7AP1JY330131   Nissan       SENTRA              NEW ENGLAND DEALER        MA
84139   3N1AB7AP1JY330288   Nissan       SENTRA              HOUSTON                   TX
84140   3N1AB7AP1JY330405   Nissan       SENTRA              Maple Grove               MN
84141   3N1AB7AP1JY331151   Nissan       SENTRA              ST PAUL                   MN
84142   3N1AB7AP1JY331294   Nissan       SENTRA              Orlando                   FL
84143   3N1AB7AP1JY331313   Nissan       SENTRA              Nashville                 TN
84144   3N1AB7AP1JY331425   Nissan       SENTRA              BURBANK                   CA
84145   3N1AB7AP1JY331490   Nissan       SENTRA              KAILUA KONA               HI
84146   3N1AB7AP1JY331571   Nissan       SENTRA              SANTA ANA                 CA
84147   3N1AB7AP1JY331716   Nissan       SENTRA              NORTH PAC                 CA
84148   3N1AB7AP1JY332042   Nissan       SENTRA              Cleveland                 OH
84149   3N1AB7AP1JY332106   Nissan       SENTRA              BURBANK                   CA
84150   3N1AB7AP1JY332221   Nissan       SENTRA              DENVER                    CO
84151   3N1AB7AP1JY332266   Nissan       SENTRA              Hayward                   CA
84152   3N1AB7AP1JY332316   Nissan       SENTRA              TRACY                     CA
84153   3N1AB7AP1JY332607   Nissan       SENTRA              Phoenix                   AZ
84154   3N1AB7AP1JY332610   Nissan       SENTRA              Omaha                     NE
84155   3N1AB7AP1KY240821   Nissan       SENTRA              WEST PALM BEACH           FL
84156   3N1AB7AP1KY241192   Nissan       SENTRA              TAMPA                     FL
84157   3N1AB7AP1KY241340   Nissan       SENTRA              ATLANTA                   GA
84158   3N1AB7AP1KY243170   Nissan       SENTRA              MAYFIELD                  KY
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84159   3N1AB7AP1KY243282   Nissan       SENTRA              Slidell                   LA
84160   3N1AB7AP1KY244335   Nissan       SENTRA              Ontario                   CA
84161   3N1AB7AP1KY244657   Nissan       SENTRA              SANTA CLARA               CA
84162   3N1AB7AP1KY244920   Nissan       SENTRA              KAILUA‐KONA               HI
84163   3N1AB7AP1KY244948   Nissan       SENTRA              KAILUA‐KONA               HI
84164   3N1AB7AP1KY245100   Nissan       SENTRA              ATLANTA                   GA
84165   3N1AB7AP1KY247316   Nissan       SENTRA              KAILUA‐KONA               HI
84166   3N1AB7AP1KY247803   Nissan       SENTRA              ONTARIO                   CA
84167   3N1AB7AP1KY269493   Nissan       SENTRA              HILO                      HI
84168   3N1AB7AP1KY295267   Nissan       SENTRA              Honolulu                  HI
84169   3N1AB7AP1KY297228   Nissan       SENTRA              MEDINA                    OH
84170   3N1AB7AP1KY298363   Nissan       SENTRA              PORTLAND                  OR
84171   3N1AB7AP1KY298797   Nissan       SENTRA              ORLANDO                   FL
84172   3N1AB7AP1KY298928   Nissan       SENTRA              Birmingham                AL
84173   3N1AB7AP1KY299187   Nissan       SENTRA              SACRAMENTO                CA
84174   3N1AB7AP1KY299237   Nissan       SENTRA              HOUSTON                   TX
84175   3N1AB7AP1KY299416   Nissan       SENTRA              DULUTH                    GA
84176   3N1AB7AP1KY299545   Nissan       SENTRA              Newark                    NJ
84177   3N1AB7AP1KY300273   Nissan       SENTRA              WEST PALM BEACH           FL
84178   3N1AB7AP1KY300774   Nissan       SENTRA              TUCSON                    AZ
84179   3N1AB7AP1KY301441   Nissan       SENTRA              SARASOTA                  FL
84180   3N1AB7AP1KY301522   Nissan       SENTRA              Las Vegas                 NV
84181   3N1AB7AP1KY301648   Nissan       SENTRA              TAMPA                     FL
84182   3N1AB7AP1KY302038   Nissan       SENTRA              TUCSON                    AZ
84183   3N1AB7AP1KY302377   Nissan       SENTRA              DALLAS                    TX
84184   3N1AB7AP1KY302508   Nissan       SENTRA              LAS VEGAS                 NV
84185   3N1AB7AP1KY302525   Nissan       SENTRA              DES MOINES                IA
84186   3N1AB7AP1KY302718   Nissan       SENTRA              TUCSON                    AZ
84187   3N1AB7AP1KY302976   Nissan       SENTRA              Portland                  OR
84188   3N1AB7AP1KY303285   Nissan       SENTRA              Tampa                     FL
84189   3N1AB7AP1KY303674   Nissan       SENTRA              DENVER                    CO
84190   3N1AB7AP1KY305067   Nissan       SENTRA              BUFORD                    GA
84191   3N1AB7AP1KY305103   Nissan       SENTRA              PENSACOLA                 FL
84192   3N1AB7AP1KY305215   Nissan       SENTRA              FORT MYERS                FL
84193   3N1AB7AP1KY305389   Nissan       SENTRA              FORT MYERS                FL
84194   3N1AB7AP1KY306073   Nissan       SENTRA              ATLANTA                   GA
84195   3N1AB7AP1KY306090   Nissan       SENTRA              DULUTH                    GA
84196   3N1AB7AP1KY307899   Nissan       SENTRA              Columbus                  OH
84197   3N1AB7AP1KY308700   Nissan       SENTRA              Hapeville                 GA
84198   3N1AB7AP1KY310687   Nissan       SENTRA              CHICAGO                   IL
84199   3N1AB7AP1KY311421   Nissan       SENTRA              BIRMINGHAM                AL
84200   3N1AB7AP1KY311483   Nissan       SENTRA              EL PASO                   TX
84201   3N1AB7AP1KY311676   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84202   3N1AB7AP1KY311726   Nissan       SENTRA              Newark                    NJ
84203   3N1AB7AP1KY312830   Nissan       SENTRA              WARWICK                   RI
84204   3N1AB7AP1KY313136   Nissan       SENTRA              PORTLAND                  OR
84205   3N1AB7AP1KY313332   Nissan       SENTRA              ANCHORAGE                 AK
84206   3N1AB7AP1KY313475   Nissan       SENTRA              Ventura                   CA
84207   3N1AB7AP1KY313816   Nissan       SENTRA              ALBANY                    NY
84208   3N1AB7AP1KY313895   Nissan       SENTRA              Nashville                 TN
84209   3N1AB7AP1KY314688   Nissan       SENTRA              ELLWOOD CITY              PA
84210   3N1AB7AP1KY314724   Nissan       SENTRA              Atlanta                   GA
84211   3N1AB7AP1KY315856   Nissan       SENTRA              TAMPA                     FL
84212   3N1AB7AP1KY317977   Nissan       SENTRA              Newark                    NJ
84213   3N1AB7AP1KY318482   Nissan       SENTRA              Newark                    NJ
84214   3N1AB7AP1KY338053   Nissan       SENTRA              MEDINA                    OH
84215   3N1AB7AP1KY338554   Nissan       SENTRA              DALLAS                    TX
84216   3N1AB7AP1KY338604   Nissan       SENTRA              Atlanta                   GA
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84217   3N1AB7AP1KY338893   Nissan       SENTRA              CHICAGO                   IL
84218   3N1AB7AP1KY339798   Nissan       SENTRA              Hapeville                 GA
84219   3N1AB7AP1KY339929   Nissan       SENTRA              SANTA ANA                 CA
84220   3N1AB7AP1KY340417   Nissan       SENTRA              Atlanta                   GA
84221   3N1AB7AP1KY340448   Nissan       SENTRA              Baltimore                 MD
84222   3N1AB7AP1KY341003   Nissan       SENTRA              Montgomery                AL
84223   3N1AB7AP1KY342166   Nissan       SENTRA              FAYETTEVILLE              US
84224   3N1AB7AP1KY344922   Nissan       SENTRA              SEATAC                    WA
84225   3N1AB7AP1KY345519   Nissan       SENTRA              Ventura                   CA
84226   3N1AB7AP1KY352714   Nissan       SENTRA              HARTFORD                  CT
84227   3N1AB7AP1KY358321   Nissan       SENTRA              Newark                    NJ
84228   3N1AB7AP2FL694806   Nissan       SENTRA              Elkridge                  MD
84229   3N1AB7AP2GY248336   Nissan       SENTRA              BURBANK                   CA
84230   3N1AB7AP2GY271843   Nissan       SENTRA              Irving                    TX
84231   3N1AB7AP2HL669326   Nissan       SENTRA              LOS ANGELES               CA
84232   3N1AB7AP2HL681847   Nissan       SENTRA              Davie                     FL
84233   3N1AB7AP2HL682027   Nissan       SENTRA              LAS VEGAS                 NV
84234   3N1AB7AP2HL684442   Nissan       SENTRA              NORTH PAC                 CA
84235   3N1AB7AP2HL684666   Nissan       SENTRA              Fredericksburg            VA
84236   3N1AB7AP2HL686062   Nissan       SENTRA              PICO RIVERA               CA
84237   3N1AB7AP2HL686496   Nissan       SENTRA              TRACY                     CA
84238   3N1AB7AP2HL693366   Nissan       SENTRA              North Dighton             MA
84239   3N1AB7AP2HL694341   Nissan       SENTRA              SANTA ANA                 CA
84240   3N1AB7AP2HL695084   Nissan       SENTRA              HANOVER                   MD
84241   3N1AB7AP2HL695165   Nissan       SENTRA              PITTSBURGH                PA
84242   3N1AB7AP2HL696106   Nissan       SENTRA              NORTH PAC                 CA
84243   3N1AB7AP2HL697126   Nissan       SENTRA              STERLING                  VA
84244   3N1AB7AP2HL697532   Nissan       SENTRA              BURBANK                   CA
84245   3N1AB7AP2HL698499   Nissan       SENTRA              Mira Loma                 CA
84246   3N1AB7AP2HL698549   Nissan       SENTRA              NORTH PAC                 CA
84247   3N1AB7AP2HL698860   Nissan       SENTRA              Fontana                   CA
84248   3N1AB7AP2HY241971   Nissan       SENTRA              Cedar Rapids              IA
84249   3N1AB7AP2HY245261   Nissan       SENTRA              Caledonia                 WI
84250   3N1AB7AP2HY271181   Nissan       SENTRA              Winston‐Salem             NC
84251   3N1AB7AP2HY291768   Nissan       SENTRA              Baltimore                 MD
84252   3N1AB7AP2HY301957   Nissan       SENTRA              HANOVER                   MD
84253   3N1AB7AP2HY307256   Nissan       SENTRA              Alexandria                VA
84254   3N1AB7AP2HY308522   Nissan       SENTRA              Chicago                   IL
84255   3N1AB7AP2HY309766   Nissan       SENTRA              BURBANK                   CA
84256   3N1AB7AP2HY310190   Nissan       SENTRA              NORTH PAC                 CA
84257   3N1AB7AP2HY312053   Nissan       SENTRA              NEW YORK DEALER DI        NJ
84258   3N1AB7AP2HY312652   Nissan       SENTRA              SAN JOSE                  CA
84259   3N1AB7AP2HY313087   Nissan       SENTRA              NEW YORK DEALER DI        NJ
84260   3N1AB7AP2HY313669   Nissan       SENTRA              HANOVER                   MD
84261   3N1AB7AP2HY314059   Nissan       SENTRA              Santa Clara               CA
84262   3N1AB7AP2HY314143   Nissan       SENTRA              NORTH PAC                 CA
84263   3N1AB7AP2HY314689   Nissan       SENTRA              BURBANK                   CA
84264   3N1AB7AP2HY317589   Nissan       SENTRA              HANOVER                   MD
84265   3N1AB7AP2HY320329   Nissan       SENTRA              So. San Francis           CA
84266   3N1AB7AP2HY321402   Nissan       SENTRA              BURBANK                   CA
84267   3N1AB7AP2HY325465   Nissan       SENTRA              NEW ENGLAND DEALER        MA
84268   3N1AB7AP2HY326163   Nissan       SENTRA              SAN BRUNO                 CA
84269   3N1AB7AP2HY327474   Nissan       SENTRA              Elkridge                  MD
84270   3N1AB7AP2HY328088   Nissan       SENTRA              SAN JOSE                  CA
84271   3N1AB7AP2HY328916   Nissan       SENTRA              Elkridge                  MD
84272   3N1AB7AP2HY329547   Nissan       SENTRA              PHILADELPHIA              PA
84273   3N1AB7AP2HY331685   Nissan       SENTRA              ANNANDALE                 VA
84274   3N1AB7AP2HY331895   Nissan       SENTRA              BURBANK                   CA
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84275   3N1AB7AP2HY333887   Nissan       SENTRA              NORTH PAC                 CA
84276   3N1AB7AP2HY334800   Nissan       SENTRA              Elkridge                  MD
84277   3N1AB7AP2HY336739   Nissan       SENTRA              MIAMI                     FL
84278   3N1AB7AP2HY337664   Nissan       SENTRA              Austin                    TX
84279   3N1AB7AP2HY338359   Nissan       SENTRA              BURBANK                   CA
84280   3N1AB7AP2HY338605   Nissan       SENTRA              LOS ANGELES               CA
84281   3N1AB7AP2HY340094   Nissan       SENTRA              Atlanta                   GA
84282   3N1AB7AP2HY340659   Nissan       SENTRA              BURBANK                   CA
84283   3N1AB7AP2HY343836   Nissan       SENTRA              Sacramento                CA
84284   3N1AB7AP2HY344355   Nissan       SENTRA              BURBANK                   CA
84285   3N1AB7AP2HY344677   Nissan       SENTRA              NORTH PAC                 CA
84286   3N1AB7AP2HY345196   Nissan       SENTRA              Hayward                   CA
84287   3N1AB7AP2HY347868   Nissan       SENTRA              SAN ANTONIO               TX
84288   3N1AB7AP2HY348003   Nissan       SENTRA              Fontana                   CA
84289   3N1AB7AP2HY350513   Nissan       SENTRA              DENVER                    CO
84290   3N1AB7AP2HY351032   Nissan       SENTRA              DENVER                    CO
84291   3N1AB7AP2HY352083   Nissan       SENTRA              Elkridge                  MD
84292   3N1AB7AP2HY352472   Nissan       SENTRA              LOS ANGELES               CA
84293   3N1AB7AP2HY352505   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84294   3N1AB7AP2HY353086   Nissan       SENTRA              DENVER                    CO
84295   3N1AB7AP2HY353931   Nissan       SENTRA              SAN BRUNO                 CA
84296   3N1AB7AP2HY354335   Nissan       SENTRA              Oakland                   CA
84297   3N1AB7AP2HY355727   Nissan       SENTRA              Kent                      WA
84298   3N1AB7AP2HY356067   Nissan       SENTRA              DFW AIRPORT               TX
84299   3N1AB7AP2HY356649   Nissan       SENTRA              ROSEVILLE                 CA
84300   3N1AB7AP2HY357803   Nissan       SENTRA              SPRINGFIELD               VA
84301   3N1AB7AP2HY358577   Nissan       SENTRA              Kent                      WA
84302   3N1AB7AP2HY359292   Nissan       SENTRA              DALLAS                    TX
84303   3N1AB7AP2HY359874   Nissan       SENTRA              Burien                    WA
84304   3N1AB7AP2HY359924   Nissan       SENTRA              NEW ENGLAND DEALER        MA
84305   3N1AB7AP2HY360460   Nissan       SENTRA              CENTRAL DIST OFFC         OK
84306   3N1AB7AP2HY361608   Nissan       SENTRA              LOS ANGELES               CA
84307   3N1AB7AP2HY363195   Nissan       SENTRA              LOS ANGELES AP            CA
84308   3N1AB7AP2HY372124   Nissan       SENTRA              Detroit                   MI
84309   3N1AB7AP2JL618236   Nissan       SENTRA              FORT MYERS                FL
84310   3N1AB7AP2JL618530   Nissan       SENTRA              ORLANDO                   FL
84311   3N1AB7AP2JL618639   Nissan       SENTRA              TAMPA                     FL
84312   3N1AB7AP2JY209169   Nissan       SENTRA              TAMPA                     FL
84313   3N1AB7AP2JY239305   Nissan       SENTRA              Atlanta                   GA
84314   3N1AB7AP2JY239949   Nissan       SENTRA              Denver                    CO
84315   3N1AB7AP2JY240969   Nissan       SENTRA              NEWARK                    NY
84316   3N1AB7AP2JY242026   Nissan       SENTRA              BURBANK                   CA
84317   3N1AB7AP2JY242365   Nissan       SENTRA              SAN FRANCISCO             CA
84318   3N1AB7AP2JY242754   Nissan       SENTRA              NEW YORK DEALER DI        NJ
84319   3N1AB7AP2JY243256   Nissan       SENTRA              BURBANK                   CA
84320   3N1AB7AP2JY243354   Nissan       SENTRA              Chandler                  AZ
84321   3N1AB7AP2JY243452   Nissan       SENTRA              SAN FRANCISCO             CA
84322   3N1AB7AP2JY243709   Nissan       SENTRA              NORTH PAC                 CA
84323   3N1AB7AP2JY243967   Nissan       SENTRA              WEST CENTRAL DEALE        CO
84324   3N1AB7AP2JY244066   Nissan       SENTRA              WEST CENTRAL DEALE        CO
84325   3N1AB7AP2JY244097   Nissan       SENTRA              LIHUE                     HI
84326   3N1AB7AP2JY244102   Nissan       SENTRA              LIHUE                     HI
84327   3N1AB7AP2JY244147   Nissan       SENTRA              Dania                     FL
84328   3N1AB7AP2JY244195   Nissan       SENTRA              Maple Grove               MN
84329   3N1AB7AP2JY244200   Nissan       SENTRA              Hayward                   CA
84330   3N1AB7AP2JY244259   Nissan       SENTRA              Hayward                   CA
84331   3N1AB7AP2JY244276   Nissan       SENTRA              Sterling                  VA
84332   3N1AB7AP2JY244519   Nissan       SENTRA              Sarasota                  FL
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84333   3N1AB7AP2JY244567   Nissan       SENTRA              Salt Lake City            UT
84334   3N1AB7AP2JY244617   Nissan       SENTRA              BURBANK                   CA
84335   3N1AB7AP2JY244665   Nissan       SENTRA              Tampa                     FL
84336   3N1AB7AP2JY244701   Nissan       SENTRA              NORTH HOLLYWOOD           CA
84337   3N1AB7AP2JY244777   Nissan       SENTRA              SAN DIEGO                 CA
84338   3N1AB7AP2JY245282   Nissan       SENTRA              PLEASANTON                CA
84339   3N1AB7AP2JY245346   Nissan       SENTRA              KAHULUI                   HI
84340   3N1AB7AP2JY245377   Nissan       SENTRA              NEWARK                    NJ
84341   3N1AB7AP2JY245492   Nissan       SENTRA              NORTH PAC                 CA
84342   3N1AB7AP2JY245508   Nissan       SENTRA              BURBANK                   CA
84343   3N1AB7AP2JY245881   Nissan       SENTRA              CHICAGO                   IL
84344   3N1AB7AP2JY246108   Nissan       SENTRA              MEDINA                    OH
84345   3N1AB7AP2JY246870   Nissan       SENTRA              KAUAI                     HI
84346   3N1AB7AP2JY246982   Nissan       SENTRA              KAHULUI                   HI
84347   3N1AB7AP2JY247078   Nissan       SENTRA              COSTA MESA                CA
84348   3N1AB7AP2JY247503   Nissan       SENTRA              Atlanta                   GA
84349   3N1AB7AP2JY247789   Nissan       SENTRA              LAS VEGAS                 NV
84350   3N1AB7AP2JY247842   Nissan       SENTRA              DES MOINES                IA
84351   3N1AB7AP2JY248263   Nissan       SENTRA              WEST PALM BEACH           FL
84352   3N1AB7AP2JY248540   Nissan       SENTRA              Honolulu                  HI
84353   3N1AB7AP2JY252278   Nissan       SENTRA              PLEASANTON                CA
84354   3N1AB7AP2JY252412   Nissan       SENTRA              Englewood                 CO
84355   3N1AB7AP2JY252426   Nissan       SENTRA              Johnston                  RI
84356   3N1AB7AP2JY252586   Nissan       SENTRA              Las Vegas                 NV
84357   3N1AB7AP2JY252801   Nissan       SENTRA              WEST CENTRAL DEALE        CO
84358   3N1AB7AP2JY252829   Nissan       SENTRA              HANOVER                   MD
84359   3N1AB7AP2JY252877   Nissan       SENTRA              BURBANK                   CA
84360   3N1AB7AP2JY253026   Nissan       SENTRA              Smithtown                 NY
84361   3N1AB7AP2JY253172   Nissan       SENTRA              LAS VEGAS                 NV
84362   3N1AB7AP2JY253382   Nissan       SENTRA              Coraopolis                PA
84363   3N1AB7AP2JY253432   Nissan       SENTRA              SARASOTA                  FL
84364   3N1AB7AP2JY253527   Nissan       SENTRA              SANTA ANA                 CA
84365   3N1AB7AP2JY253737   Nissan       SENTRA              NEW ENGLAND DEALER        MA
84366   3N1AB7AP2JY253950   Nissan       SENTRA              LOS ANGELES               CA
84367   3N1AB7AP2JY253964   Nissan       SENTRA              MEDINA                    OH
84368   3N1AB7AP2JY254094   Nissan       SENTRA              FLORIDA DEALER DIR        FL
84369   3N1AB7AP2JY254113   Nissan       SENTRA              Lake Elsinore             CA
84370   3N1AB7AP2JY254208   Nissan       SENTRA              NORTH PAC                 CA
84371   3N1AB7AP2JY254418   Nissan       SENTRA              Tampa                     FL
84372   3N1AB7AP2JY254550   Nissan       SENTRA              Riverside                 CA
84373   3N1AB7AP2JY254709   Nissan       SENTRA              Elkridge                  MD
84374   3N1AB7AP2JY254712   Nissan       SENTRA              TRACY                     CA
84375   3N1AB7AP2JY254905   Nissan       SENTRA              Salt Lake City            UT
84376   3N1AB7AP2JY255102   Nissan       SENTRA              FORT MYERS                FL
84377   3N1AB7AP2JY255178   Nissan       SENTRA              Roseville                 CA
84378   3N1AB7AP2JY255195   Nissan       SENTRA              BURBANK                   CA
84379   3N1AB7AP2JY255200   Nissan       SENTRA              Tolleson                  AZ
84380   3N1AB7AP2JY255469   Nissan       SENTRA              Hayward                   CA
84381   3N1AB7AP2JY255486   Nissan       SENTRA              SAN DIEGO                 CA
84382   3N1AB7AP2JY255634   Nissan       SENTRA              Dallas                    TX
84383   3N1AB7AP2JY255746   Nissan       SENTRA              MEDINA                    OH
84384   3N1AB7AP2JY255777   Nissan       SENTRA              BURBANK                   CA
84385   3N1AB7AP2JY255780   Nissan       SENTRA              SANTA CLARA               CA
84386   3N1AB7AP2JY255861   Nissan       SENTRA              SANTA ANA                 CA
84387   3N1AB7AP2JY258985   Nissan       SENTRA              CENTRAL DIST OFFC         OK
84388   3N1AB7AP2JY260266   Nissan       SENTRA              BURBANK                   CA
84389   3N1AB7AP2JY260638   Nissan       SENTRA              Tolleson                  AZ
84390   3N1AB7AP2JY262339   Nissan       SENTRA              Oakland                   CA
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84391   3N1AB7AP2JY264088   Nissan       SENTRA              PHOENIX                   AZ
84392   3N1AB7AP2JY264916   Nissan       SENTRA              Framingham                MA
84393   3N1AB7AP2JY265709   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84394   3N1AB7AP2JY265841   Nissan       SENTRA              WEST PALM BEACH           FL
84395   3N1AB7AP2JY266164   Nissan       SENTRA              Aurora                    CO
84396   3N1AB7AP2JY266438   Nissan       SENTRA              Elkridge                  MD
84397   3N1AB7AP2JY266469   Nissan       SENTRA              NORTH PAC                 CA
84398   3N1AB7AP2JY266858   Nissan       SENTRA              Tampa                     FL
84399   3N1AB7AP2JY267122   Nissan       SENTRA              Lynn                      MA
84400   3N1AB7AP2JY267153   Nissan       SENTRA              LOS ANGELES               CA
84401   3N1AB7AP2JY267248   Nissan       SENTRA              PHOENIX                   AZ
84402   3N1AB7AP2JY267380   Nissan       SENTRA              NORTH PAC                 CA
84403   3N1AB7AP2JY267458   Nissan       SENTRA              S. San Francisc           CA
84404   3N1AB7AP2JY267489   Nissan       SENTRA              Las Vegas                 NV
84405   3N1AB7AP2JY267492   Nissan       SENTRA              NORTH PAC                 CA
84406   3N1AB7AP2JY267542   Nissan       SENTRA              LAS VEGAS                 NV
84407   3N1AB7AP2JY267606   Nissan       SENTRA              Newark                    NJ
84408   3N1AB7AP2JY267749   Nissan       SENTRA              LOS ANGELES               CA
84409   3N1AB7AP2JY268285   Nissan       SENTRA              Aurora                    CO
84410   3N1AB7AP2JY269467   Nissan       SENTRA              Marietta                  GA
84411   3N1AB7AP2JY269551   Nissan       SENTRA              STERLING                  VA
84412   3N1AB7AP2JY269601   Nissan       SENTRA              Tampa                     FL
84413   3N1AB7AP2JY269985   Nissan       SENTRA              Fredericksburg            VA
84414   3N1AB7AP2JY270053   Nissan       SENTRA              North Dighton             MA
84415   3N1AB7AP2JY270473   Nissan       SENTRA              Statesville               NC
84416   3N1AB7AP2JY270585   Nissan       SENTRA              DALLAS                    TX
84417   3N1AB7AP2JY270943   Nissan       SENTRA              WEST PALM BEACH           FL
84418   3N1AB7AP2JY271266   Nissan       SENTRA              Manheim                   PA
84419   3N1AB7AP2JY271395   Nissan       SENTRA              North Dighton             MA
84420   3N1AB7AP2JY271803   Nissan       SENTRA              Teterboro                 NJ
84421   3N1AB7AP2JY272482   Nissan       SENTRA              SAN JOSE                  CA
84422   3N1AB7AP2JY272515   Nissan       SENTRA              Cleveland                 OH
84423   3N1AB7AP2JY273485   Nissan       SENTRA              Manheim                   PA
84424   3N1AB7AP2JY273714   Nissan       SENTRA              Windsor Locks             CT
84425   3N1AB7AP2JY273793   Nissan       SENTRA              Cincinnati                OH
84426   3N1AB7AP2JY274121   Nissan       SENTRA              PHILADELPHIA              PA
84427   3N1AB7AP2JY274376   Nissan       SENTRA              FORT LAUDERDALE           FL
84428   3N1AB7AP2JY274491   Nissan       SENTRA              Sterling                  VA
84429   3N1AB7AP2JY274507   Nissan       SENTRA              IRVING                    TX
84430   3N1AB7AP2JY274510   Nissan       SENTRA              Tolleson                  AZ
84431   3N1AB7AP2JY274586   Nissan       SENTRA              HEMPSTEAD                 NY
84432   3N1AB7AP2JY274703   Nissan       SENTRA              Englewood                 CO
84433   3N1AB7AP2JY275043   Nissan       SENTRA              PLEASANTON                CA
84434   3N1AB7AP2JY275088   Nissan       SENTRA              DES MOINES                IA
84435   3N1AB7AP2JY275656   Nissan       SENTRA              Dallas                    TX
84436   3N1AB7AP2JY275849   Nissan       SENTRA              INDIANAPOLIS              IN
84437   3N1AB7AP2JY275916   Nissan       SENTRA              STERLING                  VA
84438   3N1AB7AP2JY276449   Nissan       SENTRA              BURBANK                   CA
84439   3N1AB7AP2JY276497   Nissan       SENTRA              BURBANK                   CA
84440   3N1AB7AP2JY276872   Nissan       SENTRA              BURBANK                   CA
84441   3N1AB7AP2JY276919   Nissan       SENTRA              North Dighton             MA
84442   3N1AB7AP2JY277035   Nissan       SENTRA              DES MOINES                IA
84443   3N1AB7AP2JY277066   Nissan       SENTRA              NORTH PAC                 CA
84444   3N1AB7AP2JY277164   Nissan       SENTRA              CHANDLER                  AZ
84445   3N1AB7AP2JY277262   Nissan       SENTRA              MEDINA                    OH
84446   3N1AB7AP2JY277505   Nissan       SENTRA              Phoenix                   AZ
84447   3N1AB7AP2JY277861   Nissan       SENTRA              BURBANK                   CA
84448   3N1AB7AP2JY277939   Nissan       SENTRA              DALLAS                    TX
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84449   3N1AB7AP2JY278444   Nissan       SENTRA              BURBANK                   CA
84450   3N1AB7AP2JY278556   Nissan       SENTRA              Honolulu                  HI
84451   3N1AB7AP2JY278783   Nissan       SENTRA              Dallas                    TX
84452   3N1AB7AP2JY278928   Nissan       SENTRA              Davie                     FL
84453   3N1AB7AP2JY279349   Nissan       SENTRA              North Dighton             MA
84454   3N1AB7AP2JY279612   Nissan       SENTRA              Sarasota                  FL
84455   3N1AB7AP2JY279626   Nissan       SENTRA              Salt Lake City            UT
84456   3N1AB7AP2JY279934   Nissan       SENTRA              Woodhaven                 MI
84457   3N1AB7AP2JY279996   Nissan       SENTRA              FLORIDA DEALER DIR        FL
84458   3N1AB7AP2JY280131   Nissan       SENTRA              WEST PALM BEACH           FL
84459   3N1AB7AP2JY280288   Nissan       SENTRA              SAINT PAUL                MN
84460   3N1AB7AP2JY280520   Nissan       SENTRA              Salt Lake City            UT
84461   3N1AB7AP2JY281361   Nissan       SENTRA              Elkridge                  MD
84462   3N1AB7AP2JY281389   Nissan       SENTRA              LAS VEGAS                 NV
84463   3N1AB7AP2JY281604   Nissan       SENTRA              Davie                     FL
84464   3N1AB7AP2JY281652   Nissan       SENTRA              ORLANDO                   FL
84465   3N1AB7AP2JY281831   Nissan       SENTRA              Hartford                  CT
84466   3N1AB7AP2JY281859   Nissan       SENTRA              BURBANK                   CA
84467   3N1AB7AP2JY282090   Nissan       SENTRA              DES MOINES                IA
84468   3N1AB7AP2JY282963   Nissan       SENTRA              SAN FRANCISCO             CA
84469   3N1AB7AP2JY283000   Nissan       SENTRA              LOS ANGELES               CA
84470   3N1AB7AP2JY283692   Nissan       SENTRA              Hayward                   CA
84471   3N1AB7AP2JY284079   Nissan       SENTRA              Mira Loma                 CA
84472   3N1AB7AP2JY284230   Nissan       SENTRA              Florissant                MO
84473   3N1AB7AP2JY284373   Nissan       SENTRA              STERLING                  VA
84474   3N1AB7AP2JY284552   Nissan       SENTRA              LOS ANGELES               CA
84475   3N1AB7AP2JY285135   Nissan       SENTRA              SAN FRANCISCO             CA
84476   3N1AB7AP2JY285202   Nissan       SENTRA              NEW ENGLAND DEALER        MA
84477   3N1AB7AP2JY285300   Nissan       SENTRA              Hebron                    KY
84478   3N1AB7AP2JY285829   Nissan       SENTRA              BURBANK                   CA
84479   3N1AB7AP2JY286978   Nissan       SENTRA              DES MOINES                IA
84480   3N1AB7AP2JY287113   Nissan       SENTRA              TAMPA                     FL
84481   3N1AB7AP2JY287855   Nissan       SENTRA              MEDINA                    OH
84482   3N1AB7AP2JY288021   Nissan       SENTRA              Miami                     FL
84483   3N1AB7AP2JY288570   Nissan       SENTRA              Fredericksburg            VA
84484   3N1AB7AP2JY288598   Nissan       SENTRA              FLORIDA DEALER DIR        FL
84485   3N1AB7AP2JY288603   Nissan       SENTRA              CHICAGO                   IL
84486   3N1AB7AP2JY289069   Nissan       SENTRA              Tolleson                  AZ
84487   3N1AB7AP2JY289363   Nissan       SENTRA              Philadelphia              PA
84488   3N1AB7AP2JY289783   Nissan       SENTRA              Jacksonville              FL
84489   3N1AB7AP2JY290092   Nissan       SENTRA              PHOENIX                   AZ
84490   3N1AB7AP2JY290156   Nissan       SENTRA              BURBANK                   CA
84491   3N1AB7AP2JY290187   Nissan       SENTRA              LOS ANGELES AP            CA
84492   3N1AB7AP2JY290335   Nissan       SENTRA              Atlanta                   GA
84493   3N1AB7AP2JY290593   Nissan       SENTRA              Maple Grove               MN
84494   3N1AB7AP2JY290691   Nissan       SENTRA              ORLANDO                   FL
84495   3N1AB7AP2JY290710   Nissan       SENTRA              Denver                    CO
84496   3N1AB7AP2JY290786   Nissan       SENTRA              KENNER                    LA
84497   3N1AB7AP2JY290867   Nissan       SENTRA              CHICAGO                   IL
84498   3N1AB7AP2JY291095   Nissan       SENTRA              BURBANK                   CA
84499   3N1AB7AP2JY291274   Nissan       SENTRA              CLEVELAND                 OH
84500   3N1AB7AP2JY291355   Nissan       SENTRA              CHARLOTTE                 NC
84501   3N1AB7AP2JY291551   Nissan       SENTRA              Hamilton                  OH
84502   3N1AB7AP2JY291615   Nissan       SENTRA              Elkridge                  MD
84503   3N1AB7AP2JY291663   Nissan       SENTRA              BURBANK                   CA
84504   3N1AB7AP2JY291727   Nissan       SENTRA              Miami                     FL
84505   3N1AB7AP2JY291825   Nissan       SENTRA              SHAKOPEE                  MN
84506   3N1AB7AP2JY291954   Nissan       SENTRA              FORT MYERS                FL
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84507   3N1AB7AP2JY292120   Nissan       SENTRA              NEWARK                    NJ
84508   3N1AB7AP2JY292215   Nissan       SENTRA              LOS ANGELES               CA
84509   3N1AB7AP2JY292232   Nissan       SENTRA              LOS ANGELES               CA
84510   3N1AB7AP2JY292344   Nissan       SENTRA              BURBANK                   CA
84511   3N1AB7AP2JY292425   Nissan       SENTRA              HANOVER                   MD
84512   3N1AB7AP2JY292716   Nissan       SENTRA              Ft. Myers                 FL
84513   3N1AB7AP2JY292859   Nissan       SENTRA              CHANDLER                  AZ
84514   3N1AB7AP2JY293039   Nissan       SENTRA              Matteson                  IL
84515   3N1AB7AP2JY293090   Nissan       SENTRA              Roanoke                   VA
84516   3N1AB7AP2JY293428   Nissan       SENTRA              North Dighton             MA
84517   3N1AB7AP2JY293574   Nissan       SENTRA              BURBANK                   CA
84518   3N1AB7AP2JY293686   Nissan       SENTRA              DES MOINES                IA
84519   3N1AB7AP2JY293820   Nissan       SENTRA              LOS ANGELES               CA
84520   3N1AB7AP2JY293834   Nissan       SENTRA              Mira Loma                 CA
84521   3N1AB7AP2JY293901   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84522   3N1AB7AP2JY293980   Nissan       SENTRA              BURBANK                   CA
84523   3N1AB7AP2JY294174   Nissan       SENTRA              DARLINGTON                SC
84524   3N1AB7AP2JY294191   Nissan       SENTRA              NORTH PAC                 CA
84525   3N1AB7AP2JY294255   Nissan       SENTRA              PHILADELPHIA              PA
84526   3N1AB7AP2JY294286   Nissan       SENTRA              NORTH PAC                 CA
84527   3N1AB7AP2JY294711   Nissan       SENTRA              DAYTONA BEACH             FL
84528   3N1AB7AP2JY294918   Nissan       SENTRA              BURBANK                   CA
84529   3N1AB7AP2JY295793   Nissan       SENTRA              Indianapolis              IN
84530   3N1AB7AP2JY296118   Nissan       SENTRA              SAN JOSE                  CA
84531   3N1AB7AP2JY296183   Nissan       SENTRA              SANFORD                   FL
84532   3N1AB7AP2JY297009   Nissan       SENTRA              Carleton                  MI
84533   3N1AB7AP2JY297141   Nissan       SENTRA              SHAKOPEE                  MN
84534   3N1AB7AP2JY297169   Nissan       SENTRA              ATLANTA                   GA
84535   3N1AB7AP2JY297818   Nissan       SENTRA              DANIA BEACH               FL
84536   3N1AB7AP2JY298368   Nissan       SENTRA              Baltimore                 MD
84537   3N1AB7AP2JY298757   Nissan       SENTRA              Hamilton                  OH
84538   3N1AB7AP2JY299004   Nissan       SENTRA              PHILADELPHIA              PA
84539   3N1AB7AP2JY299519   Nissan       SENTRA              SEA TAC                   WA
84540   3N1AB7AP2JY299522   Nissan       SENTRA              ORLANDO                   FL
84541   3N1AB7AP2JY299584   Nissan       SENTRA              Miami                     FL
84542   3N1AB7AP2JY299665   Nissan       SENTRA              Denver                    CO
84543   3N1AB7AP2JY299777   Nissan       SENTRA              DAYTONA BEACH             FL
84544   3N1AB7AP2JY299827   Nissan       SENTRA              Stockton                  CA
84545   3N1AB7AP2JY300376   Nissan       SENTRA              BURBANK                   CA
84546   3N1AB7AP2JY300538   Nissan       SENTRA              SAINT PAUL                MN
84547   3N1AB7AP2JY300541   Nissan       SENTRA              BURBANK                   CA
84548   3N1AB7AP2JY300703   Nissan       SENTRA              Maple Grove               MN
84549   3N1AB7AP2JY300779   Nissan       SENTRA              OAKLAND                   CA
84550   3N1AB7AP2JY300782   Nissan       SENTRA              Santa Clara               CA
84551   3N1AB7AP2JY300815   Nissan       SENTRA              DARLINGTON                SC
84552   3N1AB7AP2JY301298   Nissan       SENTRA              NORTH PAC                 CA
84553   3N1AB7AP2JY301432   Nissan       SENTRA              SALT LAKE CITY            UT
84554   3N1AB7AP2JY301463   Nissan       SENTRA              SAN DIEGO                 CA
84555   3N1AB7AP2JY301558   Nissan       SENTRA              DES MOINES                IA
84556   3N1AB7AP2JY301818   Nissan       SENTRA              North Las Vegas           NV
84557   3N1AB7AP2JY302208   Nissan       SENTRA              Phoenix                   AZ
84558   3N1AB7AP2JY302242   Nissan       SENTRA              North Las Vegas           NV
84559   3N1AB7AP2JY302645   Nissan       SENTRA              PHILADELPHIA              PA
84560   3N1AB7AP2JY302788   Nissan       SENTRA              BURBANK                   CA
84561   3N1AB7AP2JY308526   Nissan       SENTRA              OAKLAND                   CA
84562   3N1AB7AP2JY308817   Nissan       SENTRA              FORT LAUDERDALE           FL
84563   3N1AB7AP2JY308932   Nissan       SENTRA              Richmond                  VA
84564   3N1AB7AP2JY309191   Nissan       SENTRA              CHICAGO                   IL
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84565   3N1AB7AP2JY309207   Nissan       SENTRA              MIDDLE RIVER              MD
84566   3N1AB7AP2JY309305   Nissan       SENTRA              DAYTONA BEACH             FL
84567   3N1AB7AP2JY309353   Nissan       SENTRA              BURBANK                   CA
84568   3N1AB7AP2JY309563   Nissan       SENTRA              MIDDLE RIVER              MD
84569   3N1AB7AP2JY309644   Nissan       SENTRA              CHANDLER                  AZ
84570   3N1AB7AP2JY310180   Nissan       SENTRA              Chicago                   IL
84571   3N1AB7AP2JY310213   Nissan       SENTRA              SAN DIEGO                 CA
84572   3N1AB7AP2JY310518   Nissan       SENTRA              Portland                  OR
84573   3N1AB7AP2JY310891   Nissan       SENTRA              Warwick                   RI
84574   3N1AB7AP2JY311099   Nissan       SENTRA              BURBANK                   CA
84575   3N1AB7AP2JY311538   Nissan       SENTRA              Warwick                   RI
84576   3N1AB7AP2JY311622   Nissan       SENTRA              Pasadena                  CA
84577   3N1AB7AP2JY311698   Nissan       SENTRA              BURBANK                   CA
84578   3N1AB7AP2JY312074   Nissan       SENTRA              KENNER                    LA
84579   3N1AB7AP2JY312687   Nissan       SENTRA              FRESNO                    CA
84580   3N1AB7AP2JY312706   Nissan       SENTRA              North Dighton             MA
84581   3N1AB7AP2JY312821   Nissan       SENTRA              MIAMI                     FL
84582   3N1AB7AP2JY312866   Nissan       SENTRA              Winston‐Salem             NC
84583   3N1AB7AP2JY313211   Nissan       SENTRA              Anaheim                   CA
84584   3N1AB7AP2JY313337   Nissan       SENTRA              DAYTONA BEACH             FL
84585   3N1AB7AP2JY313676   Nissan       SENTRA              Salt Lake City            UT
84586   3N1AB7AP2JY314312   Nissan       SENTRA              San Francisco             CA
84587   3N1AB7AP2JY314651   Nissan       SENTRA              Maple Grove               MN
84588   3N1AB7AP2JY314777   Nissan       SENTRA              Sacramento                CA
84589   3N1AB7AP2JY315055   Nissan       SENTRA              Burien                    WA
84590   3N1AB7AP2JY315637   Nissan       SENTRA              CENTRAL DIST OFFC         OK
84591   3N1AB7AP2JY317971   Nissan       SENTRA              DENVER                    CO
84592   3N1AB7AP2JY324368   Nissan       SENTRA              Houston                   TX
84593   3N1AB7AP2JY324418   Nissan       SENTRA              Charlotte                 NC
84594   3N1AB7AP2JY324466   Nissan       SENTRA              Warr Acres                OK
84595   3N1AB7AP2JY324614   Nissan       SENTRA              EULESS                    TX
84596   3N1AB7AP2JY324936   Nissan       SENTRA              Manheim                   PA
84597   3N1AB7AP2JY325309   Nissan       SENTRA              PHOENIX                   AZ
84598   3N1AB7AP2JY325388   Nissan       SENTRA              CLEVELAND                 OH
84599   3N1AB7AP2JY325570   Nissan       SENTRA              Hamilton                  OH
84600   3N1AB7AP2JY325696   Nissan       SENTRA              CHICAGO                   IL
84601   3N1AB7AP2JY325715   Nissan       SENTRA              Massapequa                NY
84602   3N1AB7AP2JY325763   Nissan       SENTRA              Estero                    FL
84603   3N1AB7AP2JY325875   Nissan       SENTRA              NEW BERN                  NC
84604   3N1AB7AP2JY326248   Nissan       SENTRA              LOS ANGELES               CA
84605   3N1AB7AP2JY326394   Nissan       SENTRA              Portland                  ME
84606   3N1AB7AP2JY326475   Nissan       SENTRA              DALLAS                    TX
84607   3N1AB7AP2JY326749   Nissan       SENTRA              Longmont                  CO
84608   3N1AB7AP2JY326900   Nissan       SENTRA              DURYEA                    PA
84609   3N1AB7AP2JY326976   Nissan       SENTRA              SARASOTA                  FL
84610   3N1AB7AP2JY327092   Nissan       SENTRA              Woodhaven                 MI
84611   3N1AB7AP2JY327156   Nissan       SENTRA              NEW BERN                  NC
84612   3N1AB7AP2JY327321   Nissan       SENTRA              ATLANTA                   GA
84613   3N1AB7AP2JY327335   Nissan       SENTRA              Davie                     FL
84614   3N1AB7AP2JY327352   Nissan       SENTRA              BOSTON                    MA
84615   3N1AB7AP2JY327397   Nissan       SENTRA              Kent                      WA
84616   3N1AB7AP2JY327447   Nissan       SENTRA              North Dighton             MA
84617   3N1AB7AP2JY327576   Nissan       SENTRA              NEW YORK CITY             NY
84618   3N1AB7AP2JY327741   Nissan       SENTRA              Colorado Spring           CO
84619   3N1AB7AP2JY327772   Nissan       SENTRA              BURBANK                   CA
84620   3N1AB7AP2JY328078   Nissan       SENTRA              BURBANK                   CA
84621   3N1AB7AP2JY328369   Nissan       SENTRA              MONTCLAIR                 CA
84622   3N1AB7AP2JY328565   Nissan       SENTRA              Detroit                   MI
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84623   3N1AB7AP2JY328761   Nissan       SENTRA              Florence                  MS
84624   3N1AB7AP2JY328890   Nissan       SENTRA              Maple Grove               MN
84625   3N1AB7AP2JY328968   Nissan       SENTRA              ORLANDO                   FL
84626   3N1AB7AP2JY329196   Nissan       SENTRA              Phoenix                   AZ
84627   3N1AB7AP2JY329506   Nissan       SENTRA              INDIANAPOLIS              IN
84628   3N1AB7AP2JY330042   Nissan       SENTRA              DETROIT                   MI
84629   3N1AB7AP2JY330168   Nissan       SENTRA              Salt Lake City            UT
84630   3N1AB7AP2JY330221   Nissan       SENTRA              N. Las Vegas              NV
84631   3N1AB7AP2JY330252   Nissan       SENTRA              BURBANK                   CA
84632   3N1AB7AP2JY330266   Nissan       SENTRA              Atlanta                   GA
84633   3N1AB7AP2JY330946   Nissan       SENTRA              Cranberry Towns           PA
84634   3N1AB7AP2JY331045   Nissan       SENTRA              Roseville                 CA
84635   3N1AB7AP2JY331076   Nissan       SENTRA              BURBANK                   CA
84636   3N1AB7AP2JY331725   Nissan       SENTRA              KAILUA‐KONA               HI
84637   3N1AB7AP2JY331840   Nissan       SENTRA              Mira Loma                 CA
84638   3N1AB7AP2JY331854   Nissan       SENTRA              Portland                  OR
84639   3N1AB7AP2JY332549   Nissan       SENTRA              DETROIT                   MI
84640   3N1AB7AP2JY332566   Nissan       SENTRA              BURBANK                   CA
84641   3N1AB7AP2KY240178   Nissan       SENTRA              Sanford                   FL
84642   3N1AB7AP2KY240925   Nissan       SENTRA              ORLANDO                   FL
84643   3N1AB7AP2KY240939   Nissan       SENTRA              WEST PALM BEACH           FL
84644   3N1AB7AP2KY241279   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84645   3N1AB7AP2KY241363   Nissan       SENTRA              FLORIDA DEALER DIR        FL
84646   3N1AB7AP2KY241573   Nissan       SENTRA              Chicago                   IL
84647   3N1AB7AP2KY241699   Nissan       SENTRA              VALLEJO                   CA
84648   3N1AB7AP2KY242447   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84649   3N1AB7AP2KY242514   Nissan       SENTRA              FORT MYERS                FL
84650   3N1AB7AP2KY242674   Nissan       SENTRA              FRESNO                    CA
84651   3N1AB7AP2KY242741   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84652   3N1AB7AP2KY243937   Nissan       SENTRA              HOUSTON                   TX
84653   3N1AB7AP2KY244196   Nissan       SENTRA              EAST BOSTON               MA
84654   3N1AB7AP2KY244909   Nissan       SENTRA              ORLANDO                   FL
84655   3N1AB7AP2KY245042   Nissan       SENTRA              KALAOA                    HI
84656   3N1AB7AP2KY269311   Nissan       SENTRA              HILO                      HI
84657   3N1AB7AP2KY269583   Nissan       SENTRA              HILO                      HI
84658   3N1AB7AP2KY269728   Nissan       SENTRA              HILO                      HI
84659   3N1AB7AP2KY298730   Nissan       SENTRA              Rock Hill                 SC
84660   3N1AB7AP2KY298842   Nissan       SENTRA              PHOENIX                   AZ
84661   3N1AB7AP2KY299974   Nissan       SENTRA              SEATTLE                   WA
84662   3N1AB7AP2KY300914   Nissan       SENTRA              PHOENIX                   AZ
84663   3N1AB7AP2KY301108   Nissan       SENTRA              PHOENIX                   AZ
84664   3N1AB7AP2KY301772   Nissan       SENTRA              Hamilton                  OH
84665   3N1AB7AP2KY301819   Nissan       SENTRA              Hanover                   MD
84666   3N1AB7AP2KY302856   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84667   3N1AB7AP2KY303215   Nissan       SENTRA              SHREVEPORT                LA
84668   3N1AB7AP2KY303313   Nissan       SENTRA              FORT LAUDERDALE           FL
84669   3N1AB7AP2KY303361   Nissan       SENTRA              Hattiesburg               MS
84670   3N1AB7AP2KY303845   Nissan       SENTRA              Lafayette                 LA
84671   3N1AB7AP2KY304347   Nissan       SENTRA              LAS VEGAS                 NV
84672   3N1AB7AP2KY305238   Nissan       SENTRA              ORLANDO                   FL
84673   3N1AB7AP2KY305269   Nissan       SENTRA              Vandalia                  OH
84674   3N1AB7AP2KY305594   Nissan       SENTRA              ORLANDO                   FL
84675   3N1AB7AP2KY306003   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84676   3N1AB7AP2KY306292   Nissan       SENTRA              LAS VEGAS                 NV
84677   3N1AB7AP2KY306308   Nissan       SENTRA              Newport Beach             CA
84678   3N1AB7AP2KY306650   Nissan       SENTRA              Atlanta                   GA
84679   3N1AB7AP2KY308012   Nissan       SENTRA              HOUSTON                   TX
84680   3N1AB7AP2KY309676   Nissan       SENTRA              Teterboro                 NJ
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84681   3N1AB7AP2KY311587   Nissan       SENTRA              Las Vegas                 NV
84682   3N1AB7AP2KY312044   Nissan       SENTRA              COLUMBIA                  SC
84683   3N1AB7AP2KY312190   Nissan       SENTRA              Salt Lake City            UT
84684   3N1AB7AP2KY312884   Nissan       SENTRA              PHOENIX                   AZ
84685   3N1AB7AP2KY313758   Nissan       SENTRA              ANCHORAGE                 AK
84686   3N1AB7AP2KY314067   Nissan       SENTRA              Los Angeles               CA
84687   3N1AB7AP2KY315509   Nissan       SENTRA              Portland                  OR
84688   3N1AB7AP2KY316224   Nissan       SENTRA              PORTLAND                  OR
84689   3N1AB7AP2KY316725   Nissan       SENTRA              RONKONKOMA                NY
84690   3N1AB7AP2KY316756   Nissan       SENTRA              MEBANE                    NC
84691   3N1AB7AP2KY316983   Nissan       SENTRA              Bridgeton                 MO
84692   3N1AB7AP2KY317356   Nissan       SENTRA              ATLANTA                   GA
84693   3N1AB7AP2KY317731   Nissan       SENTRA              Pensacola                 FL
84694   3N1AB7AP2KY318720   Nissan       SENTRA              Charlotte                 NC
84695   3N1AB7AP2KY320547   Nissan       SENTRA              Austin                    TX
84696   3N1AB7AP2KY322024   Nissan       SENTRA              Phoenix                   AZ
84697   3N1AB7AP2KY323304   Nissan       SENTRA              Atlanta                   GA
84698   3N1AB7AP2KY337882   Nissan       SENTRA              Baltimore                 MD
84699   3N1AB7AP2KY338577   Nissan       SENTRA              LAFAYETTE                 LA
84700   3N1AB7AP2KY338756   Nissan       SENTRA              OSAGE BEACH               MO
84701   3N1AB7AP2KY339471   Nissan       SENTRA              MEDINA                    OH
84702   3N1AB7AP2KY339681   Nissan       SENTRA              CHARLOTTE                 NC
84703   3N1AB7AP2KY339826   Nissan       SENTRA              North Dighton             MA
84704   3N1AB7AP2KY339874   Nissan       SENTRA              BUFFALO                   NY
84705   3N1AB7AP2KY339924   Nissan       SENTRA              Birmingham                AL
84706   3N1AB7AP2KY340636   Nissan       SENTRA              MEDINA                    OH
84707   3N1AB7AP2KY341852   Nissan       SENTRA              San Diego                 CA
84708   3N1AB7AP2KY344069   Nissan       SENTRA              Ventura                   CA
84709   3N1AB7AP2KY344413   Nissan       SENTRA              SAN FRANCISCO             CA
84710   3N1AB7AP2KY345402   Nissan       SENTRA              Sacramento                CA
84711   3N1AB7AP2KY350518   Nissan       SENTRA              Rock Hill                 SC
84712   3N1AB7AP2KY353371   Nissan       SENTRA              DALLAS                    TX
84713   3N1AB7AP2KY353404   Nissan       SENTRA              Atlanta                   GA
84714   3N1AB7AP2KY353810   Nissan       SENTRA              Latham                    NY
84715   3N1AB7AP2KY354195   Nissan       SENTRA              ORLANDO                   FL
84716   3N1AB7AP2KY354357   Nissan       SENTRA              Newark                    NJ
84717   3N1AB7AP2KY356626   Nissan       SENTRA              PHOENIX                   AZ
84718   3N1AB7AP2KY360479   Nissan       SENTRA              KENNER                    LA
84719   3N1AB7AP2KY366010   Nissan       SENTRA              WEST DUNDEE               IL
84720   3N1AB7AP2KY366590   Nissan       SENTRA              Jamaica                   NY
84721   3N1AB7AP3GY209528   Nissan       SENTRA              Elkridge                  MD
84722   3N1AB7AP3GY234624   Nissan       SENTRA              GLEN BURNIE               MD
84723   3N1AB7AP3GY247065   Nissan       SENTRA              BOSTON                    MA
84724   3N1AB7AP3GY264741   Nissan       SENTRA              BURBANK                   CA
84725   3N1AB7AP3HL655886   Nissan       SENTRA              Chicago                   IL
84726   3N1AB7AP3HL676124   Nissan       SENTRA              WEST DUNDEE               IL
84727   3N1AB7AP3HL680061   Nissan       SENTRA              San Diego                 CA
84728   3N1AB7AP3HL680884   Nissan       SENTRA              Statesville               NC
84729   3N1AB7AP3HL693103   Nissan       SENTRA              CLEVELAND                 OH
84730   3N1AB7AP3HL693182   Nissan       SENTRA              SPRINGFIELD               VA
84731   3N1AB7AP3HL693733   Nissan       SENTRA              NOTTINGHAM                MD
84732   3N1AB7AP3HL694221   Nissan       SENTRA              Dania                     FL
84733   3N1AB7AP3HL696129   Nissan       SENTRA              BURBANK                   CA
84734   3N1AB7AP3HL696647   Nissan       SENTRA              BURBANK                   CA
84735   3N1AB7AP3HL696986   Nissan       SENTRA
84736   3N1AB7AP3HL697233   Nissan       SENTRA              SANTA ANA                 CA
84737   3N1AB7AP3HL697250   Nissan       SENTRA              Las Vegas                 NV
84738   3N1AB7AP3HL698172   Nissan       SENTRA              PASCO                     WA
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84739   3N1AB7AP3HL698205   Nissan       SENTRA              Kent                      WA
84740   3N1AB7AP3HL698446   Nissan       SENTRA              SAN DIEGO                 CA
84741   3N1AB7AP3HL698656   Nissan       SENTRA              LOS ANGELES               CA
84742   3N1AB7AP3HL699323   Nissan       SENTRA              PHILADELPHIA              PA
84743   3N1AB7AP3HY265910   Nissan       SENTRA              COLLEGE PARK              GA
84744   3N1AB7AP3HY285185   Nissan       SENTRA              Matteson                  IL
84745   3N1AB7AP3HY286482   Nissan       SENTRA              HANOVER                   MD
84746   3N1AB7AP3HY287731   Nissan       SENTRA              STERLING                  VA
84747   3N1AB7AP3HY292802   Nissan       SENTRA              Elkridge                  MD
84748   3N1AB7AP3HY294551   Nissan       SENTRA              DANIA BEACH               FL
84749   3N1AB7AP3HY305404   Nissan       SENTRA              Elkridge                  MD
84750   3N1AB7AP3HY305970   Nissan       SENTRA              DALLAS                    TX
84751   3N1AB7AP3HY308741   Nissan       SENTRA              DFW AIRPORT               TX
84752   3N1AB7AP3HY310134   Nissan       SENTRA              HANOVER                   MD
84753   3N1AB7AP3HY311509   Nissan       SENTRA              Elkridge                  MD
84754   3N1AB7AP3HY311896   Nissan       SENTRA              NORTH PAC                 CA
84755   3N1AB7AP3HY316242   Nissan       SENTRA              Winston‐Salem             NC
84756   3N1AB7AP3HY319691   Nissan       SENTRA              SAN FRANCISCO             CA
84757   3N1AB7AP3HY321327   Nissan       SENTRA              Costa Mesa                CA
84758   3N1AB7AP3HY325040   Nissan       SENTRA              BURBANK                   CA
84759   3N1AB7AP3HY325054   Nissan       SENTRA              Santa Clara               CA
84760   3N1AB7AP3HY325376   Nissan       SENTRA              Philadelphia              PA
84761   3N1AB7AP3HY326835   Nissan       SENTRA              BOSTON                    MA
84762   3N1AB7AP3HY327886   Nissan       SENTRA              Honolulu                  HI
84763   3N1AB7AP3HY328570   Nissan       SENTRA              RICHMOND                  VA
84764   3N1AB7AP3HY328634   Nissan       SENTRA              HANOVER                   MD
84765   3N1AB7AP3HY328729   Nissan       SENTRA              Sarasota                  FL
84766   3N1AB7AP3HY329007   Nissan       SENTRA              San Diego                 CA
84767   3N1AB7AP3HY330206   Nissan       SENTRA              Davie                     FL
84768   3N1AB7AP3HY336779   Nissan       SENTRA              GOLD RIVER                CA
84769   3N1AB7AP3HY337219   Nissan       SENTRA              N MIAMI BEACH             FL
84770   3N1AB7AP3HY337821   Nissan       SENTRA              NEW ENGLAND DEALER        MA
84771   3N1AB7AP3HY338452   Nissan       SENTRA              LOS ANGELES               CA
84772   3N1AB7AP3HY339472   Nissan       SENTRA              GLASSBORO                 NJ
84773   3N1AB7AP3HY341822   Nissan       SENTRA              BOSTON                    MA
84774   3N1AB7AP3HY342307   Nissan       SENTRA              NORTH PAC                 CA
84775   3N1AB7AP3HY347099   Nissan       SENTRA              NORTH PAC                 CA
84776   3N1AB7AP3HY348950   Nissan       SENTRA              RICHMOND                  VA
84777   3N1AB7AP3HY349435   Nissan       SENTRA              SACRAMENTO                CA
84778   3N1AB7AP3HY349676   Nissan       SENTRA              BALTIMORE                 MD
84779   3N1AB7AP3HY350794   Nissan       SENTRA              Richmond                  VA
84780   3N1AB7AP3HY351461   Nissan       SENTRA              PHILADELPHIA              PA
84781   3N1AB7AP3HY351606   Nissan       SENTRA              LAS VEGAS                 NV
84782   3N1AB7AP3HY352061   Nissan       SENTRA              CHICAGO                   IL
84783   3N1AB7AP3HY352562   Nissan       SENTRA              Tolleson                  AZ
84784   3N1AB7AP3HY352707   Nissan       SENTRA              LAS VEGAS                 NV
84785   3N1AB7AP3HY352710   Nissan       SENTRA              BOSTON                    MA
84786   3N1AB7AP3HY352982   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84787   3N1AB7AP3HY353064   Nissan       SENTRA              Sterling                  VA
84788   3N1AB7AP3HY353257   Nissan       SENTRA              North Billerica           MA
84789   3N1AB7AP3HY353310   Nissan       SENTRA              CHICAGO                   IL
84790   3N1AB7AP3HY353582   Nissan       SENTRA              CHICAGO                   IL
84791   3N1AB7AP3HY353727   Nissan       SENTRA              Cleveland                 OH
84792   3N1AB7AP3HY353999   Nissan       SENTRA              ANNANDALE                 VA
84793   3N1AB7AP3HY354098   Nissan       SENTRA              Tolleson                  AZ
84794   3N1AB7AP3HY355185   Nissan       SENTRA              DES MOINES                IA
84795   3N1AB7AP3HY355896   Nissan       SENTRA              SAN JOSE                  CA
84796   3N1AB7AP3HY356465   Nissan       SENTRA              Kent                      WA
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84797   3N1AB7AP3HY356577   Nissan       SENTRA              Manheim                   PA
84798   3N1AB7AP3HY357650   Nissan       SENTRA              Burien                    WA
84799   3N1AB7AP3HY357857   Nissan       SENTRA              CHICAGO                   IL
84800   3N1AB7AP3HY358118   Nissan       SENTRA              Santa Clara               CA
84801   3N1AB7AP3HY358135   Nissan       SENTRA              Winston‐Salem             NC
84802   3N1AB7AP3HY358233   Nissan       SENTRA              Atlanta                   GA
84803   3N1AB7AP3HY359267   Nissan       SENTRA              DES MOINES                IA
84804   3N1AB7AP3HY359768   Nissan       SENTRA              LAS VEGAS                 NV
84805   3N1AB7AP3HY360239   Nissan       SENTRA              NEW YORK DEALER DI        NJ
84806   3N1AB7AP3HY360869   Nissan       SENTRA              LAS VEGAS                 NV
84807   3N1AB7AP3HY362234   Nissan       SENTRA              Elkridge                  MD
84808   3N1AB7AP3HY396612   Nissan       SENTRA              RICHMOND                  VA
84809   3N1AB7AP3JL618648   Nissan       SENTRA              EGG HARBOR TOWN           NJ
84810   3N1AB7AP3JL624319   Nissan       ROGUE               Harlingen                 TX
84811   3N1AB7AP3JL629679   Nissan       SENTRA              ORLANDO                   FL
84812   3N1AB7AP3JL630475   Nissan       SENTRA              ORLANDO                   FL
84813   3N1AB7AP3JY208595   Nissan       SENTRA              Fort Lauderdale           FL
84814   3N1AB7AP3JY235151   Nissan       SENTRA              LOS ANGELES               CA
84815   3N1AB7AP3JY238745   Nissan       SENTRA              Johnston                  RI
84816   3N1AB7AP3JY238857   Nissan       SENTRA              Ft. Myers                 FL
84817   3N1AB7AP3JY240575   Nissan       SENTRA              COLLEGE PARK              GA
84818   3N1AB7AP3JY242469   Nissan       SENTRA              NORTH PAC                 CA
84819   3N1AB7AP3JY242942   Nissan       SENTRA              KAHULUI MAUI              HI
84820   3N1AB7AP3JY243248   Nissan       SENTRA              BURIEN                    WA
84821   3N1AB7AP3JY243346   Nissan       SENTRA              LOS ANGELES               CA
84822   3N1AB7AP3JY243752   Nissan       SENTRA              LIHUE AP KAUAI            HI
84823   3N1AB7AP3JY243878   Nissan       SENTRA              North Dighton             MA
84824   3N1AB7AP3JY243931   Nissan       SENTRA              Charlotte                 NC
84825   3N1AB7AP3JY243976   Nissan       SENTRA              TAMPA                     FL
84826   3N1AB7AP3JY244061   Nissan       SENTRA              BURBANK                   CA
84827   3N1AB7AP3JY244089   Nissan       SENTRA              BURBANK                   CA
84828   3N1AB7AP3JY244223   Nissan       SENTRA              NORTH PAC                 CA
84829   3N1AB7AP3JY244352   Nissan       SENTRA              BURBANK                   CA
84830   3N1AB7AP3JY244366   Nissan       SENTRA              NORTH PAC                 CA
84831   3N1AB7AP3JY244464   Nissan       SENTRA              CHANDLER                  AZ
84832   3N1AB7AP3JY244500   Nissan       SENTRA              BURBANK                   CA
84833   3N1AB7AP3JY244545   Nissan       SENTRA              Honolulu                  HI
84834   3N1AB7AP3JY244643   Nissan       SENTRA              Irving                    TX
84835   3N1AB7AP3JY244688   Nissan       SENTRA              TRACY                     CA
84836   3N1AB7AP3JY244822   Nissan       SENTRA              BURBANK                   CA
84837   3N1AB7AP3JY244884   Nissan       SENTRA              BURBANK                   CA
84838   3N1AB7AP3JY244920   Nissan       SENTRA              Manheim                   PA
84839   3N1AB7AP3JY244965   Nissan       SENTRA              BURBANK                   CA
84840   3N1AB7AP3JY245274   Nissan       SENTRA              LOS ANGELES               CA
84841   3N1AB7AP3JY245419   Nissan       SENTRA              Elkridge                  MD
84842   3N1AB7AP3JY245646   Nissan       SENTRA              BURBANK                   CA
84843   3N1AB7AP3JY245761   Nissan       SENTRA              Smithtown                 NY
84844   3N1AB7AP3JY245811   Nissan       SENTRA              S. San Francisc           CA
84845   3N1AB7AP3JY245856   Nissan       SENTRA              HONOLULU                  HI
84846   3N1AB7AP3JY245971   Nissan       SENTRA              Tampa                     FL
84847   3N1AB7AP3JY246053   Nissan       SENTRA              LAS VEGAS                 NV
84848   3N1AB7AP3JY246425   Nissan       SENTRA              SANTA ANA                 CA
84849   3N1AB7AP3JY247624   Nissan       SENTRA              NORTH PAC                 CA
84850   3N1AB7AP3JY248000   Nissan       SENTRA              BURBANK                   CA
84851   3N1AB7AP3JY248353   Nissan       SENTRA              BURBANK                   CA
84852   3N1AB7AP3JY252144   Nissan       SENTRA              KNOXVILLE                 TN
84853   3N1AB7AP3JY252211   Nissan       SENTRA              Matteson                  IL
84854   3N1AB7AP3JY252497   Nissan       SENTRA              KAHULUI                   HI
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84855   3N1AB7AP3JY252628   Nissan       SENTRA              N. Las Vegas              NV
84856   3N1AB7AP3JY252726   Nissan       SENTRA              DENVER                    CO
84857   3N1AB7AP3JY252774   Nissan       SENTRA              Woodhaven                 MI
84858   3N1AB7AP3JY252807   Nissan       SENTRA              LOUISVILLE                KY
84859   3N1AB7AP3JY253116   Nissan       SENTRA              Tolleson                  AZ
84860   3N1AB7AP3JY253696   Nissan       SENTRA              Miami                     FL
84861   3N1AB7AP3JY253780   Nissan       SENTRA              North Dighton             MA
84862   3N1AB7AP3JY253942   Nissan       SENTRA              Atlanta                   GA
84863   3N1AB7AP3JY254024   Nissan       SENTRA              Fort Lauderdale           FL
84864   3N1AB7AP3JY254427   Nissan       SENTRA              Mt. Juliet                TN
84865   3N1AB7AP3JY254816   Nissan       SENTRA              BURBANK                   CA
84866   3N1AB7AP3JY254878   Nissan       SENTRA              Santa Clara               CA
84867   3N1AB7AP3JY254900   Nissan       SENTRA              BURBANK                   CA
84868   3N1AB7AP3JY254959   Nissan       SENTRA              FORT MYERS                FL
84869   3N1AB7AP3JY255027   Nissan       SENTRA              San Diego                 CA
84870   3N1AB7AP3JY255173   Nissan       SENTRA              LOS ANGELES               CA
84871   3N1AB7AP3JY255237   Nissan       SENTRA              PICO RIVERA               CA
84872   3N1AB7AP3JY255240   Nissan       SENTRA              BURBANK                   CA
84873   3N1AB7AP3JY255321   Nissan       SENTRA              NORTH PAC                 CA
84874   3N1AB7AP3JY255397   Nissan       SENTRA              PHOENIX                   AZ
84875   3N1AB7AP3JY255500   Nissan       SENTRA              NORTH PAC                 CA
84876   3N1AB7AP3JY255545   Nissan       SENTRA              SAN FRANCISCO             CA
84877   3N1AB7AP3JY255710   Nissan       SENTRA              DAYTONA BEACH             FL
84878   3N1AB7AP3JY255741   Nissan       SENTRA              BURBANK                   CA
84879   3N1AB7AP3JY256730   Nissan       SENTRA              BURBANK                   CA
84880   3N1AB7AP3JY256808   Nissan       SENTRA              CENTRAL DIST OFFC         OK
84881   3N1AB7AP3JY257408   Nissan       SENTRA              NORTH PAC                 CA
84882   3N1AB7AP3JY258512   Nissan       SENTRA              SANTA ANA                 CA
84883   3N1AB7AP3JY260518   Nissan       SENTRA              BURBANK                   CA
84884   3N1AB7AP3JY260552   Nissan       SENTRA              BURBANK                   CA
84885   3N1AB7AP3JY262205   Nissan       SENTRA              PHOENIX                   AZ
84886   3N1AB7AP3JY263709   Nissan       SENTRA              NORTH PAC                 CA
84887   3N1AB7AP3JY263922   Nissan       SENTRA              SAN JOSE                  CA
84888   3N1AB7AP3JY265931   Nissan       SENTRA              INGLEWOOD                 CA
84889   3N1AB7AP3JY266111   Nissan       SENTRA              Salt Lake City            UT
84890   3N1AB7AP3JY266190   Nissan       SENTRA              DES PLAINES               IL
84891   3N1AB7AP3JY266321   Nissan       SENTRA              CLEVELAND                 OH
84892   3N1AB7AP3JY266433   Nissan       SENTRA              SANTA CLARA               CA
84893   3N1AB7AP3JY266528   Nissan       SENTRA              KAUAI                     HI
84894   3N1AB7AP3JY266982   Nissan       SENTRA              Des Moines                IA
84895   3N1AB7AP3JY267095   Nissan       SENTRA              Tampa                     FL
84896   3N1AB7AP3JY267257   Nissan       SENTRA              Birmingham                AL
84897   3N1AB7AP3JY267288   Nissan       SENTRA              CHANDLER                  AZ
84898   3N1AB7AP3JY267324   Nissan       SENTRA              SANTA ANA                 CA
84899   3N1AB7AP3JY267548   Nissan       SENTRA              BURBANK                   CA
84900   3N1AB7AP3JY267985   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84901   3N1AB7AP3JY269543   Nissan       SENTRA              BURBANK                   CA
84902   3N1AB7AP3JY269655   Nissan       SENTRA              COLLEGE PARK              GA
84903   3N1AB7AP3JY269929   Nissan       SENTRA              Irving                    TX
84904   3N1AB7AP3JY270370   Nissan       SENTRA              SPRINGFIELD               VA
84905   3N1AB7AP3JY270966   Nissan       SENTRA              BURBANK                   CA
84906   3N1AB7AP3JY271261   Nissan       SENTRA              SARASOTA                  FL
84907   3N1AB7AP3JY271776   Nissan       SENTRA              STERLING                  VA
84908   3N1AB7AP3JY273124   Nissan       SENTRA              Fredericksburg            VA
84909   3N1AB7AP3JY273320   Nissan       SENTRA              CHICAGO                   IL
84910   3N1AB7AP3JY273589   Nissan       SENTRA              Davie                     FL
84911   3N1AB7AP3JY273642   Nissan       SENTRA              Irving                    TX
84912   3N1AB7AP3JY273799   Nissan       SENTRA              NEW BERN                  NC
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84913   3N1AB7AP3JY273849   Nissan       SENTRA              SANTA ANA                 CA
84914   3N1AB7AP3JY273916   Nissan       SENTRA              Cleveland                 OH
84915   3N1AB7AP3JY274239   Nissan       SENTRA              Salt Lake City            UT
84916   3N1AB7AP3JY274449   Nissan       SENTRA              ATLANTA                   GA
84917   3N1AB7AP3JY274483   Nissan       SENTRA              PITTSBURGH                PA
84918   3N1AB7AP3JY274676   Nissan       SENTRA              BOSTON                    MA
84919   3N1AB7AP3JY275116   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84920   3N1AB7AP3JY275133   Nissan       SENTRA              Tampa                     FL
84921   3N1AB7AP3JY275147   Nissan       SENTRA              MEDINA                    OH
84922   3N1AB7AP3JY275262   Nissan       SENTRA              PHOENIX                   AZ
84923   3N1AB7AP3JY275388   Nissan       SENTRA              BURBANK                   CA
84924   3N1AB7AP3JY275701   Nissan       SENTRA              WEST HARTFORD             CT
84925   3N1AB7AP3JY275830   Nissan       SENTRA              Philadelphia              PA
84926   3N1AB7AP3JY276038   Nissan       SENTRA              Winter Park               FL
84927   3N1AB7AP3JY276086   Nissan       SENTRA              HOUSTON                   TX
84928   3N1AB7AP3JY276184   Nissan       SENTRA              SAN DIEGO                 CA
84929   3N1AB7AP3JY276427   Nissan       SENTRA              Rochester                 NY
84930   3N1AB7AP3JY276458   Nissan       SENTRA              DENVER                    CO
84931   3N1AB7AP3JY276721   Nissan       SENTRA              Charlotte                 NC
84932   3N1AB7AP3JY276945   Nissan       SENTRA              SAN DIEGO                 CA
84933   3N1AB7AP3JY277027   Nissan       SENTRA              Pensacola                 FL
84934   3N1AB7AP3JY277626   Nissan       SENTRA              LOS ANGELES               CA
84935   3N1AB7AP3JY278002   Nissan       SENTRA              S. San Francisc           CA
84936   3N1AB7AP3JY279036   Nissan       SENTRA              DAYTONA BEACH             FL
84937   3N1AB7AP3JY279053   Nissan       SENTRA              FT. LAUDERDALE            FL
84938   3N1AB7AP3JY279392   Nissan       SENTRA              Tampa                     FL
84939   3N1AB7AP3JY279411   Nissan       SENTRA              STERLING                  VA
84940   3N1AB7AP3JY279568   Nissan       SENTRA              NORTH PAC                 CA
84941   3N1AB7AP3JY279599   Nissan       SENTRA              Tolleson                  AZ
84942   3N1AB7AP3JY279683   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84943   3N1AB7AP3JY279778   Nissan       SENTRA              Baltimore                 MD
84944   3N1AB7AP3JY279974   Nissan       SENTRA              Winter Park               FL
84945   3N1AB7AP3JY280073   Nissan       SENTRA              Hartford                  CT
84946   3N1AB7AP3JY280364   Nissan       SENTRA              Tampa                     FL
84947   3N1AB7AP3JY280560   Nissan       SENTRA              Philadelphia              PA
84948   3N1AB7AP3JY280963   Nissan       SENTRA              KNOXVILLE                 TN
84949   3N1AB7AP3JY281255   Nissan       SENTRA              Webster                   NY
84950   3N1AB7AP3JY281403   Nissan       SENTRA              North Las Vegas           NV
84951   3N1AB7AP3JY281949   Nissan       SENTRA              Fredericksburg            VA
84952   3N1AB7AP3JY282065   Nissan       SENTRA              San Antonio               TX
84953   3N1AB7AP3JY283586   Nissan       SENTRA              SAN FRANCISCO             CA
84954   3N1AB7AP3JY283734   Nissan       SENTRA              NORTH HOLLYWOOD           CA
84955   3N1AB7AP3JY283927   Nissan       SENTRA              Baltimore                 MD
84956   3N1AB7AP3JY284401   Nissan       SENTRA              Denver                    CO
84957   3N1AB7AP3JY286505   Nissan       SENTRA              WHITE PLAINS              NY
84958   3N1AB7AP3JY286648   Nissan       SENTRA              Santa Clara               CA
84959   3N1AB7AP3JY286715   Nissan       SENTRA              North Dighton             MA
84960   3N1AB7AP3JY286956   Nissan       SENTRA              MATTHEWS                  NC
84961   3N1AB7AP3JY287329   Nissan       SENTRA              Salt Lake City            UT
84962   3N1AB7AP3JY287587   Nissan       SENTRA              Hendersonville            TN
84963   3N1AB7AP3JY287668   Nissan       SENTRA              Smithtown                 NY
84964   3N1AB7AP3JY287721   Nissan       SENTRA              NORFOLK                   VA
84965   3N1AB7AP3JY287959   Nissan       SENTRA              Johnston                  RI
84966   3N1AB7AP3JY288089   Nissan       SENTRA              Denver                    CO
84967   3N1AB7AP3JY288156   Nissan       SENTRA              Tampa                     FL
84968   3N1AB7AP3JY288237   Nissan       SENTRA              North Dighton             MA
84969   3N1AB7AP3JY288299   Nissan       SENTRA              Denver                    CO
84970   3N1AB7AP3JY288481   Nissan       SENTRA              CHICAGO                   IL
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84971   3N1AB7AP3JY288643   Nissan       SENTRA              DAYTONA BEACH             FL
84972   3N1AB7AP3JY288707   Nissan       SENTRA              Hartford                  CT
84973   3N1AB7AP3JY289016   Nissan       SENTRA              ORLANDO                   FL
84974   3N1AB7AP3JY289095   Nissan       SENTRA              MEDINA                    OH
84975   3N1AB7AP3JY289288   Nissan       SENTRA              Atlanta                   GA
84976   3N1AB7AP3JY289467   Nissan       SENTRA              LOS ANGELES AP            CA
84977   3N1AB7AP3JY289498   Nissan       SENTRA              Tolleson                  AZ
84978   3N1AB7AP3JY289520   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
84979   3N1AB7AP3JY289632   Nissan       SENTRA              Seattle                   WA
84980   3N1AB7AP3JY289680   Nissan       SENTRA              Richmond                  VA
84981   3N1AB7AP3JY289811   Nissan       SENTRA              North Dighton             MA
84982   3N1AB7AP3JY290277   Nissan       SENTRA              LOS ANGELES               CA
84983   3N1AB7AP3JY290294   Nissan       SENTRA              LOS ANGELES               CA
84984   3N1AB7AP3JY290313   Nissan       SENTRA              NORTH PAC                 CA
84985   3N1AB7AP3JY290425   Nissan       SENTRA              Hamilton                  OH
84986   3N1AB7AP3JY290585   Nissan       SENTRA              Hapeville                 GA
84987   3N1AB7AP3JY290599   Nissan       SENTRA              NEWARK                    NJ
84988   3N1AB7AP3JY290988   Nissan       SENTRA              CHICAGO                   IL
84989   3N1AB7AP3JY291221   Nissan       SENTRA              TAMPA                     FL
84990   3N1AB7AP3JY291395   Nissan       SENTRA              SANTA ANA                 CA
84991   3N1AB7AP3JY291400   Nissan       SENTRA              SAN DIEGO                 CA
84992   3N1AB7AP3JY291445   Nissan       SENTRA              Los Angeles               CA
84993   3N1AB7AP3JY291882   Nissan       SENTRA              DENVER                    CO
84994   3N1AB7AP3JY292076   Nissan       SENTRA              BURBANK                   CA
84995   3N1AB7AP3JY292188   Nissan       SENTRA              FAYETTEVILLE              GA
84996   3N1AB7AP3JY292224   Nissan       SENTRA              NORTH PAC                 CA
84997   3N1AB7AP3JY292384   Nissan       SENTRA              BURBANK                   CA
84998   3N1AB7AP3JY292501   Nissan       SENTRA              Santa Clara               CA
84999   3N1AB7AP3JY292563   Nissan       SENTRA              WEST CENTRAL DEALE        CO
85000   3N1AB7AP3JY292644   Nissan       SENTRA              Mira Loma                 CA
85001   3N1AB7AP3JY292949   Nissan       SENTRA              Chandler                  AZ
85002   3N1AB7AP3JY292983   Nissan       SENTRA              Phoenix                   AZ
85003   3N1AB7AP3JY292997   Nissan       SENTRA              MIDDLE RIVER              MD
85004   3N1AB7AP3JY293129   Nissan       SENTRA              North Dighton             MA
85005   3N1AB7AP3JY293146   Nissan       SENTRA              SEATAC                    WA
85006   3N1AB7AP3JY293244   Nissan       SENTRA              LOS ANGELES               CA
85007   3N1AB7AP3JY293406   Nissan       SENTRA              NEW ENGLAND DEALER        MA
85008   3N1AB7AP3JY293485   Nissan       SENTRA              HARVEY                    LA
85009   3N1AB7AP3JY293647   Nissan       SENTRA              SAN FRANCISCO             CA
85010   3N1AB7AP3JY293650   Nissan       SENTRA              NORTH PAC                 CA
85011   3N1AB7AP3JY293874   Nissan       SENTRA              Grove City                OH
85012   3N1AB7AP3JY294040   Nissan       SENTRA              BURBANK                   CA
85013   3N1AB7AP3JY294314   Nissan       SENTRA              OAKLAND                   CA
85014   3N1AB7AP3JY294412   Nissan       SENTRA              SHREVEPORT                LA
85015   3N1AB7AP3JY295141   Nissan       SENTRA              FLORIDA DEALER DIR        FL
85016   3N1AB7AP3JY295348   Nissan       SENTRA              CHICAGO                   IL
85017   3N1AB7AP3JY295785   Nissan       SENTRA              HAYWARD                   CA
85018   3N1AB7AP3JY296127   Nissan       SENTRA              Tampa                     FL
85019   3N1AB7AP3JY296659   Nissan       SENTRA              NORTH PAC                 CA
85020   3N1AB7AP3JY297004   Nissan       SENTRA              Denver                    CO
85021   3N1AB7AP3JY297181   Nissan       SENTRA              TORRANCE                  CA
85022   3N1AB7AP3JY298590   Nissan       SENTRA              RICHMOND                  VA
85023   3N1AB7AP3JY298671   Nissan       SENTRA              Rockville Centr           NY
85024   3N1AB7AP3JY298718   Nissan       SENTRA              Matteson                  IL
85025   3N1AB7AP3JY298850   Nissan       SENTRA              Chicago                   IL
85026   3N1AB7AP3JY299092   Nissan       SENTRA              SAN DIEGO                 CA
85027   3N1AB7AP3JY299156   Nissan       SENTRA              Elkridge                  MD
85028   3N1AB7AP3JY299190   Nissan       SENTRA              Birmingham                AL
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85029   3N1AB7AP3JY299772   Nissan       SENTRA              Pasadena                  CA
85030   3N1AB7AP3JY300032   Nissan       SENTRA              BURBANK                   CA
85031   3N1AB7AP3JY300127   Nissan       SENTRA              HARVEY                    LA
85032   3N1AB7AP3JY300208   Nissan       SENTRA              Baltimore                 MD
85033   3N1AB7AP3JY300371   Nissan       SENTRA              SANTA ANA                 CA
85034   3N1AB7AP3JY300449   Nissan       SENTRA              Clarksville               IN
85035   3N1AB7AP3JY300452   Nissan       SENTRA              ST PAUL                   MN
85036   3N1AB7AP3JY300709   Nissan       SENTRA              Fredericksburg            VA
85037   3N1AB7AP3JY300760   Nissan       SENTRA              Sacramento                CA
85038   3N1AB7AP3JY301097   Nissan       SENTRA              NORTH PAC                 CA
85039   3N1AB7AP3JY301200   Nissan       SENTRA              SANTA ANA                 CA
85040   3N1AB7AP3JY301245   Nissan       SENTRA              BURBANK                   CA
85041   3N1AB7AP3JY301553   Nissan       SENTRA              FORT MYERS                FL
85042   3N1AB7AP3JY301858   Nissan       SENTRA              BURBANK                   CA
85043   3N1AB7AP3JY302413   Nissan       SENTRA              DES MOINES                IA
85044   3N1AB7AP3JY302508   Nissan       SENTRA              KNOXVILLE                 TN
85045   3N1AB7AP3JY302525   Nissan       SENTRA              NEW BERN                  NC
85046   3N1AB7AP3JY302640   Nissan       SENTRA              Santa Clara               CA
85047   3N1AB7AP3JY302685   Nissan       SENTRA              NORTH PAC                 CA
85048   3N1AB7AP3JY306087   Nissan       SENTRA              BURBANK                   CA
85049   3N1AB7AP3JY308308   Nissan       SENTRA              GRAND RAPIDS              MI
85050   3N1AB7AP3JY308440   Nissan       SENTRA              NEW BERN                  NC
85051   3N1AB7AP3JY308955   Nissan       SENTRA              BURBANK                   CA
85052   3N1AB7AP3JY309071   Nissan       SENTRA              Phoenix                   AZ
85053   3N1AB7AP3JY310107   Nissan       SENTRA              LOS ANGELES               CA
85054   3N1AB7AP3JY310110   Nissan       SENTRA              Matteson                  IL
85055   3N1AB7AP3JY310687   Nissan       SENTRA              CHICAGO                   IL
85056   3N1AB7AP3JY310754   Nissan       SENTRA              Baltimore                 MD
85057   3N1AB7AP3JY310866   Nissan       SENTRA              NORTH PAC                 CA
85058   3N1AB7AP3JY311161   Nissan       SENTRA              SAN DIEGO                 CA
85059   3N1AB7AP3JY311368   Nissan       SENTRA              Johnston                  RI
85060   3N1AB7AP3JY311886   Nissan       SENTRA              San Diego                 CA
85061   3N1AB7AP3JY312472   Nissan       SENTRA              SACRAMENTO                CA
85062   3N1AB7AP3JY312696   Nissan       SENTRA              Torrance                  CA
85063   3N1AB7AP3JY313038   Nissan       SENTRA              Riverside                 CA
85064   3N1AB7AP3JY313136   Nissan       SENTRA              NORTH PAC                 CA
85065   3N1AB7AP3JY313895   Nissan       SENTRA              SACRAMENTO                CA
85066   3N1AB7AP3JY314142   Nissan       SENTRA              OGDEN                     UT
85067   3N1AB7AP3JY314674   Nissan       SENTRA              Reno                      NV
85068   3N1AB7AP3JY314691   Nissan       SENTRA              TULSA                     OK
85069   3N1AB7AP3JY314772   Nissan       SENTRA              North Dighton             MA
85070   3N1AB7AP3JY314822   Nissan       SENTRA              FEDERAL WAY               WA
85071   3N1AB7AP3JY314836   Nissan       SENTRA              PHOENIX                   AZ
85072   3N1AB7AP3JY314965   Nissan       SENTRA              SAN DIEGO                 CA
85073   3N1AB7AP3JY315002   Nissan       SENTRA              EULESS                    TX
85074   3N1AB7AP3JY315131   Nissan       SENTRA              DES PLAINES               IL
85075   3N1AB7AP3JY315162   Nissan       SENTRA              WEST PALM BEACH           FL
85076   3N1AB7AP3JY315405   Nissan       SENTRA              BURBANK                   CA
85077   3N1AB7AP3JY315906   Nissan       SENTRA              San Diego                 CA
85078   3N1AB7AP3JY323083   Nissan       SENTRA              CHICAGO                   IL
85079   3N1AB7AP3JY323455   Nissan       SENTRA              DES MOINES                IA
85080   3N1AB7AP3JY324315   Nissan       SENTRA              FORT MYERS                FL
85081   3N1AB7AP3JY324590   Nissan       SENTRA              Houston                   TX
85082   3N1AB7AP3JY324671   Nissan       SENTRA              LOS ANGELES               CA
85083   3N1AB7AP3JY325142   Nissan       SENTRA              PHOENIX                   AZ
85084   3N1AB7AP3JY325433   Nissan       SENTRA              Salt Lake City            UT
85085   3N1AB7AP3JY325545   Nissan       SENTRA              Fredericksburg            VA
85086   3N1AB7AP3JY325559   Nissan       SENTRA              FORT MYERS                FL
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85087   3N1AB7AP3JY325657   Nissan       SENTRA              LAS VEGAS                 NV
85088   3N1AB7AP3JY325884   Nissan       SENTRA              DAYTONA BEACH             FL
85089   3N1AB7AP3JY325979   Nissan       SENTRA              TULSA                     OK
85090   3N1AB7AP3JY326016   Nissan       SENTRA              CHICAGO                   IL
85091   3N1AB7AP3JY326078   Nissan       SENTRA              Dallas                    TX
85092   3N1AB7AP3JY326100   Nissan       SENTRA              Caledonia                 WI
85093   3N1AB7AP3JY326128   Nissan       SENTRA              PITTSBURGH                PA
85094   3N1AB7AP3JY326145   Nissan       SENTRA              Phoenix                   AZ
85095   3N1AB7AP3JY326243   Nissan       SENTRA              LOUISVILLE                KY
85096   3N1AB7AP3JY326601   Nissan       SENTRA              Chicago                   IL
85097   3N1AB7AP3JY326632   Nissan       SENTRA              Bensalem                  PA
85098   3N1AB7AP3JY326677   Nissan       SENTRA              COLLEGE PARK              GA
85099   3N1AB7AP3JY326775   Nissan       SENTRA              Miami                     FL
85100   3N1AB7AP3JY326842   Nissan       SENTRA              LAS VEGAS                 NV
85101   3N1AB7AP3JY326923   Nissan       SENTRA              PHOENIX                   AZ
85102   3N1AB7AP3JY327313   Nissan       SENTRA              Portland                  ME
85103   3N1AB7AP3JY327330   Nissan       SENTRA              Florissant                MO
85104   3N1AB7AP3JY327344   Nissan       SENTRA              SACRAMENTO                CA
85105   3N1AB7AP3JY327506   Nissan       SENTRA              NORTH PAC                 CA
85106   3N1AB7AP3JY327571   Nissan       SENTRA              Albuquerque               NM
85107   3N1AB7AP3JY327635   Nissan       SENTRA              WEST PALM BEACH           FL
85108   3N1AB7AP3JY327814   Nissan       SENTRA              ORLANDO                   FL
85109   3N1AB7AP3JY327876   Nissan       SENTRA              DENVER                    CO
85110   3N1AB7AP3JY328039   Nissan       SENTRA              ORLANDO                   FL
85111   3N1AB7AP3JY328073   Nissan       SENTRA              INDIANAPOLIS              IN
85112   3N1AB7AP3JY328087   Nissan       SENTRA              DAYTONA BEACH             FL
85113   3N1AB7AP3JY328316   Nissan       SENTRA              North Dighton             MA
85114   3N1AB7AP3JY328400   Nissan       SENTRA              COLLEGE PARK              GA
85115   3N1AB7AP3JY328445   Nissan       SENTRA              Dallas                    TX
85116   3N1AB7AP3JY328462   Nissan       SENTRA              Manheim                   PA
85117   3N1AB7AP3JY328655   Nissan       SENTRA              EGG HARBOR TOWN           NJ
85118   3N1AB7AP3JY328901   Nissan       SENTRA              CENTRAL DIST OFFC         OK
85119   3N1AB7AP3JY329174   Nissan       SENTRA              HARVEY                    LA
85120   3N1AB7AP3JY329353   Nissan       SENTRA              San Diego                 CA
85121   3N1AB7AP3JY329403   Nissan       SENTRA              HILO                      HI
85122   3N1AB7AP3JY329451   Nissan       SENTRA              BURBANK                   CA
85123   3N1AB7AP3JY329496   Nissan       SENTRA              BURBANK                   CA
85124   3N1AB7AP3JY329644   Nissan       SENTRA              CHICAGO                   IL
85125   3N1AB7AP3JY329675   Nissan       SENTRA              San Diego                 CA
85126   3N1AB7AP3JY329689   Nissan       SENTRA              ONTARIO                   CA
85127   3N1AB7AP3JY329868   Nissan       SENTRA              PHOENIX                   AZ
85128   3N1AB7AP3JY329871   Nissan       SENTRA              SAN JOSE                  CA
85129   3N1AB7AP3JY330227   Nissan       SENTRA              Newport Beach             CA
85130   3N1AB7AP3JY330289   Nissan       SENTRA              Omaha                     NE
85131   3N1AB7AP3JY330292   Nissan       SENTRA              KNOXVILLE                 TN
85132   3N1AB7AP3JY330356   Nissan       SENTRA              MEDINA                    OH
85133   3N1AB7AP3JY330535   Nissan       SENTRA              ALBUQERQUE                NM
85134   3N1AB7AP3JY330745   Nissan       SENTRA              ORANGE COUNTY             CA
85135   3N1AB7AP3JY330941   Nissan       SENTRA              Omaha                     NE
85136   3N1AB7AP3JY331149   Nissan       SENTRA              Warr Acres                OK
85137   3N1AB7AP3JY331359   Nissan       SENTRA              Oklahoma City             OK
85138   3N1AB7AP3JY331409   Nissan       SENTRA              NORTH PAC                 CA
85139   3N1AB7AP3JY331751   Nissan       SENTRA              MCALLEN                   TX
85140   3N1AB7AP3JY331815   Nissan       SENTRA              EWA BEACH                 HI
85141   3N1AB7AP3JY331832   Nissan       SENTRA              KALAOA                    HI
85142   3N1AB7AP3JY331894   Nissan       SENTRA              ORLANDO                   FL
85143   3N1AB7AP3JY332074   Nissan       SENTRA              Honolulu                  HI
85144   3N1AB7AP3JY332219   Nissan       SENTRA              NORTH PAC                 CA
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85145   3N1AB7AP3JY332608   Nissan       SENTRA              LAS VEGAS                 NV
85146   3N1AB7AP3KY240948   Nissan       SENTRA              SHREVEPORT                LA
85147   3N1AB7AP3KY241372   Nissan       SENTRA              LOS ANGELES               CA
85148   3N1AB7AP3KY241422   Nissan       SENTRA              COLUMBIA                  SC
85149   3N1AB7AP3KY241520   Nissan       SENTRA              PHOENIX                   AZ
85150   3N1AB7AP3KY241582   Nissan       SENTRA              PHOENIX                   AZ
85151   3N1AB7AP3KY242117   Nissan       SENTRA              DFW AIRPORT               TX
85152   3N1AB7AP3KY242229   Nissan       SENTRA              SARASOTA                  FL
85153   3N1AB7AP3KY242358   Nissan       SENTRA              MIAMI                     FL
85154   3N1AB7AP3KY242439   Nissan       SENTRA              BOISE                     US
85155   3N1AB7AP3KY242795   Nissan       SENTRA              BURBANK                   CA
85156   3N1AB7AP3KY243249   Nissan       SENTRA              WARWICK                   RI
85157   3N1AB7AP3KY243381   Nissan       SENTRA              BURBANK                   CA
85158   3N1AB7AP3KY243493   Nissan       SENTRA              BURBANK                   CA
85159   3N1AB7AP3KY243591   Nissan       SENTRA              LAS VEGAS                 NV
85160   3N1AB7AP3KY243946   Nissan       SENTRA              Los Angeles               CA
85161   3N1AB7AP3KY244515   Nissan       SENTRA              HOUSTON                   TX
85162   3N1AB7AP3KY244871   Nissan       SENTRA              KALAOA                    HI
85163   3N1AB7AP3KY244899   Nissan       SENTRA              HILO                      HI
85164   3N1AB7AP3KY245387   Nissan       SENTRA              SAN FRANCISCO             CA
85165   3N1AB7AP3KY247334   Nissan       SENTRA              KAILUA‐KONA               HI
85166   3N1AB7AP3KY269561   Nissan       SENTRA              HILO                      HI
85167   3N1AB7AP3KY269589   Nissan       SENTRA              KALAOA                    HI
85168   3N1AB7AP3KY269639   Nissan       SENTRA              KALAOA                    HI
85169   3N1AB7AP3KY269754   Nissan       SENTRA              KALAOA                    HI
85170   3N1AB7AP3KY269978   Nissan       SENTRA              KALAOA                    HI
85171   3N1AB7AP3KY293455   Nissan       SENTRA              Fresno                    CA
85172   3N1AB7AP3KY294606   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
85173   3N1AB7AP3KY295545   Nissan       SENTRA              COLUMBIA                  SC
85174   3N1AB7AP3KY296548   Nissan       SENTRA              Newark                    NJ
85175   3N1AB7AP3KY298672   Nissan       SENTRA              CHICAGO                   IL
85176   3N1AB7AP3KY299014   Nissan       SENTRA              Ocoee                     FL
85177   3N1AB7AP3KY300226   Nissan       SENTRA              DETROIT                   MI
85178   3N1AB7AP3KY301411   Nissan       SENTRA              BIRMINGHAN                AL
85179   3N1AB7AP3KY303241   Nissan       SENTRA              Atlanta                   GA
85180   3N1AB7AP3KY303627   Nissan       SENTRA              Salt Lake City            UT
85181   3N1AB7AP3KY304437   Nissan       SENTRA              TULSA                     OK
85182   3N1AB7AP3KY306513   Nissan       SENTRA              Atlanta                   GA
85183   3N1AB7AP3KY306656   Nissan       SENTRA              MILWAUKEE                 WI
85184   3N1AB7AP3KY307063   Nissan       SENTRA              TULSA                     OK
85185   3N1AB7AP3KY307418   Nissan       SENTRA              ORLANDO                   FL
85186   3N1AB7AP3KY307550   Nissan       SENTRA              Mt. Juliet                TN
85187   3N1AB7AP3KY308438   Nissan       SENTRA              Salt Lake City            UT
85188   3N1AB7AP3KY309556   Nissan       SENTRA              York Haven                PA
85189   3N1AB7AP3KY309976   Nissan       SENTRA              North Billerica           MA
85190   3N1AB7AP3KY310660   Nissan       SENTRA              SEATTLE                   WA
85191   3N1AB7AP3KY310769   Nissan       SENTRA              West Mifflin              PA
85192   3N1AB7AP3KY310853   Nissan       SENTRA              Louisville                KY
85193   3N1AB7AP3KY311713   Nissan       SENTRA              FORT MYERS                FL
85194   3N1AB7AP3KY311758   Nissan       SENTRA              CHICAGO                   IL
85195   3N1AB7AP3KY312005   Nissan       SENTRA              SEATAC                    WA
85196   3N1AB7AP3KY313980   Nissan       SENTRA              PORTLAND                  OR
85197   3N1AB7AP3KY314174   Nissan       SENTRA              DALLAS                    TX
85198   3N1AB7AP3KY314255   Nissan       SENTRA              ANCHORAGE                 AK
85199   3N1AB7AP3KY315177   Nissan       SENTRA              MEDINA                    OH
85200   3N1AB7AP3KY315258   Nissan       SENTRA              TAMPA                     FL
85201   3N1AB7AP3KY315860   Nissan       SENTRA              St. Louis                 MO
85202   3N1AB7AP3KY316314   Nissan       SENTRA              Webster                   NY
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85203   3N1AB7AP3KY317494   Nissan       SENTRA              SAN FRANCISCO             CA
85204   3N1AB7AP3KY318466   Nissan       SENTRA              Newark                    NJ
85205   3N1AB7AP3KY319505   Nissan       SENTRA              STERLING                  VA
85206   3N1AB7AP3KY320685   Nissan       SENTRA              UNION CITY                GA
85207   3N1AB7AP3KY320928   Nissan       SENTRA              Rock Hill                 SC
85208   3N1AB7AP3KY321450   Nissan       SENTRA              WEST PALM BEACH           FL
85209   3N1AB7AP3KY322842   Nissan       SENTRA              WATERLOO                  ON
85210   3N1AB7AP3KY324266   Nissan       SENTRA              COLUMBIA                  SC
85211   3N1AB7AP3KY325210   Nissan       SENTRA              Newark                    NJ
85212   3N1AB7AP3KY326406   Nissan       SENTRA              Charlotte                 NC
85213   3N1AB7AP3KY339334   Nissan       SENTRA              Hebron                    KY
85214   3N1AB7AP3KY340046   Nissan       SENTRA              FORT MYERS                FL
85215   3N1AB7AP3KY340791   Nissan       SENTRA              Memphis                   TN
85216   3N1AB7AP3KY341469   Nissan       SENTRA              SEATAC                    WA
85217   3N1AB7AP3KY342461   Nissan       SENTRA              Elgin                     IL
85218   3N1AB7AP3KY343240   Nissan       SENTRA              Los Angeles               CA
85219   3N1AB7AP3KY345330   Nissan       SENTRA              Salt Lake City            UT
85220   3N1AB7AP3KY349104   Nissan       SENTRA              Dallas                    TX
85221   3N1AB7AP3KY351788   Nissan       SENTRA              DFW AIRPORT               TX
85222   3N1AB7AP3KY353797   Nissan       SENTRA              Rochester                 NY
85223   3N1AB7AP3KY353878   Nissan       SENTRA              NEW YORK CITY             NY
85224   3N1AB7AP3KY353976   Nissan       SENTRA              MEDINA                    OH
85225   3N1AB7AP3KY354285   Nissan       SENTRA              DFW AIRPORT               TX
85226   3N1AB7AP3KY354531   Nissan       SENTRA              HILLSBOROUGH              NJ
85227   3N1AB7AP3KY354660   Nissan       SENTRA              DAYTON                    OH
85228   3N1AB7AP3KY355047   Nissan       SENTRA              Charlotte                 NC
85229   3N1AB7AP3KY361690   Nissan       SENTRA              York Haven                PA
85230   3N1AB7AP3KY362466   Nissan       SENTRA              MILWAUKEE                 WI
85231   3N1AB7AP3KY364122   Nissan       SENTRA              KNOXVILLE                 TN
85232   3N1AB7AP4GY273173   Nissan       SENTRA              DALLAS                    TX
85233   3N1AB7AP4HL680389   Nissan       SENTRA              HANOVER                   MD
85234   3N1AB7AP4HL680618   Nissan       SENTRA              ELKRIDGE                  MD
85235   3N1AB7AP4HL681137   Nissan       SENTRA              DAYTONA BEACH             FL
85236   3N1AB7AP4HL682014   Nissan       SENTRA              Denver                    CO
85237   3N1AB7AP4HL682482   Nissan       SENTRA              ATLANTA                   GA
85238   3N1AB7AP4HL684507   Nissan       SENTRA              CHARLOTTE                 US
85239   3N1AB7AP4HL684569   Nissan       SENTRA              Elkridge                  MD
85240   3N1AB7AP4HL684782   Nissan       SENTRA              BURBANK                   CA
85241   3N1AB7AP4HL686032   Nissan       SENTRA              BURBANK                   CA
85242   3N1AB7AP4HL689982   Nissan       SENTRA              BOSTON                    MA
85243   3N1AB7AP4HL694339   Nissan       SENTRA              Phoenix                   AZ
85244   3N1AB7AP4HL694356   Nissan       SENTRA              RALEIGH                   NC
85245   3N1AB7AP4HL695250   Nissan       SENTRA              BURBANK                   CA
85246   3N1AB7AP4HL695362   Nissan       SENTRA              BOSTON                    MA
85247   3N1AB7AP4HL696432   Nissan       SENTRA              SEATTLE                   WA
85248   3N1AB7AP4HL696575   Nissan       SENTRA              ORLANDO                   FL
85249   3N1AB7AP4HL697225   Nissan       SENTRA              LOS ANGELES               CA
85250   3N1AB7AP4HL697256   Nissan       SENTRA              BURBANK                   CA
85251   3N1AB7AP4HL698374   Nissan       SENTRA              AUSTIN                    TX
85252   3N1AB7AP4HL698438   Nissan       SENTRA              TRACY                     CA
85253   3N1AB7AP4HL698472   Nissan       SENTRA              BURBANK                   CA
85254   3N1AB7AP4HL698570   Nissan       SENTRA              LOS ANGELES               CA
85255   3N1AB7AP4HL698679   Nissan       SENTRA              Elkridge                  MD
85256   3N1AB7AP4HL698746   Nissan       SENTRA              Tolleson                  AZ
85257   3N1AB7AP4HY252471   Nissan       SENTRA              NORTH PAC                 CA
85258   3N1AB7AP4HY301538   Nissan       SENTRA              Elkridge                  MD
85259   3N1AB7AP4HY306500   Nissan       SENTRA              North Dighton             MA
85260   3N1AB7AP4HY307825   Nissan       SENTRA              Norwalk                   CA
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85261   3N1AB7AP4HY308909   Nissan       SENTRA              HANOVER                   MD
85262   3N1AB7AP4HY309123   Nissan       SENTRA              NORTH PAC                 CA
85263   3N1AB7AP4HY310398   Nissan       SENTRA              HANOVER                   MD
85264   3N1AB7AP4HY311731   Nissan       SENTRA              Fort Lauderdale           FL
85265   3N1AB7AP4HY312135   Nissan       SENTRA              SAN BRUNO                 CA
85266   3N1AB7AP4HY314290   Nissan       SENTRA              BURBANK                   CA
85267   3N1AB7AP4HY318257   Nissan       SENTRA              North Billerica           MA
85268   3N1AB7AP4HY320719   Nissan       SENTRA              SAN DIEGO                 CA
85269   3N1AB7AP4HY321109   Nissan       SENTRA              NORTH PAC                 CA
85270   3N1AB7AP4HY326018   Nissan       SENTRA              MORROW                    GA
85271   3N1AB7AP4HY326391   Nissan       SENTRA              Atlanta                   GA
85272   3N1AB7AP4HY327332   Nissan       SENTRA              DAYTONA BEACH             FL
85273   3N1AB7AP4HY327508   Nissan       SENTRA              Wood Cross                UT
85274   3N1AB7AP4HY327556   Nissan       SENTRA              Elkridge                  MD
85275   3N1AB7AP4HY328982   Nissan       SENTRA              GLEN BURNIE               MD
85276   3N1AB7AP4HY333230   Nissan       SENTRA              BURBANK                   CA
85277   3N1AB7AP4HY335818   Nissan       SENTRA              STERLING                  VA
85278   3N1AB7AP4HY337990   Nissan       SENTRA              ORLANDO                   FL
85279   3N1AB7AP4HY338301   Nissan       SENTRA              Johnston                  RI
85280   3N1AB7AP4HY339707   Nissan       SENTRA              Tampa                     FL
85281   3N1AB7AP4HY339870   Nissan       SENTRA              NORTH PAC                 CA
85282   3N1AB7AP4HY340095   Nissan       SENTRA              Los Angeles               CA
85283   3N1AB7AP4HY346270   Nissan       SENTRA              BURBANK                   CA
85284   3N1AB7AP4HY346446   Nissan       SENTRA              BURBANK                   CA
85285   3N1AB7AP4HY346477   Nissan       SENTRA              ELKRIDGE                  MD
85286   3N1AB7AP4HY347306   Nissan       SENTRA              SANTA ANA                 CA
85287   3N1AB7AP4HY347922   Nissan       SENTRA              LOS ANGELES               CA
85288   3N1AB7AP4HY348150   Nissan       SENTRA              DANIA BEACH               FL
85289   3N1AB7AP4HY348293   Nissan       SENTRA              Lake Elsinore             CA
85290   3N1AB7AP4HY348553   Nissan       SENTRA              BURBANK                   CA
85291   3N1AB7AP4HY350738   Nissan       SENTRA              SAN JOSE                  CA
85292   3N1AB7AP4HY350769   Nissan       SENTRA              BURBANK                   CA
85293   3N1AB7AP4HY351128   Nissan       SENTRA              Elgin                     IL
85294   3N1AB7AP4HY351811   Nissan       SENTRA              STERLING                  VA
85295   3N1AB7AP4HY352182   Nissan       SENTRA              MEDINA                    OH
85296   3N1AB7AP4HY353882   Nissan       SENTRA              North Las Vegas           NV
85297   3N1AB7AP4HY354837   Nissan       SENTRA              DALLAS                    TX
85298   3N1AB7AP4HY357088   Nissan       SENTRA              BURBANK                   CA
85299   3N1AB7AP4HY357379   Nissan       SENTRA              Mt. Juliet                TN
85300   3N1AB7AP4HY357690   Nissan       SENTRA              San Diego                 CA
85301   3N1AB7AP4HY358256   Nissan       SENTRA              North Dighton             MA
85302   3N1AB7AP4HY361531   Nissan       SENTRA              DENVER                    CO
85303   3N1AB7AP4HY362257   Nissan       SENTRA              South San Franc           CA
85304   3N1AB7AP4HY362923   Nissan       SENTRA              STERLING                  VA
85305   3N1AB7AP4JL618688   Nissan       SENTRA              Tampa                     FL
85306   3N1AB7AP4JL619176   Nissan       SENTRA              BOSTON                    MA
85307   3N1AB7AP4JL619680   Nissan       SENTRA              ORLANDO                   FL
85308   3N1AB7AP4JL638570   Nissan       SENTRA              COLUMBIA                  SC
85309   3N1AB7AP4JL650573   Nissan       SENTRA              CHICAGO                   IL
85310   3N1AB7AP4JY221579   Nissan       SENTRA              NOTTINGHAM                MD
85311   3N1AB7AP4JY223736   Nissan       SENTRA              Lynn                      MA
85312   3N1AB7AP4JY238947   Nissan       SENTRA              BURBANK                   CA
85313   3N1AB7AP4JY238978   Nissan       SENTRA              BURBANK                   CA
85314   3N1AB7AP4JY239130   Nissan       SENTRA              STERLING                  VA
85315   3N1AB7AP4JY240505   Nissan       SENTRA              Baltimore                 MD
85316   3N1AB7AP4JY241976   Nissan       SENTRA              Orlando                   FL
85317   3N1AB7AP4JY242982   Nissan       SENTRA              KAHULUI                   HI
85318   3N1AB7AP4JY243355   Nissan       SENTRA              Roseville                 CA
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85319   3N1AB7AP4JY244022   Nissan       SENTRA              NORTH PAC                 CA
85320   3N1AB7AP4JY244246   Nissan       SENTRA              Sacramento                CA
85321   3N1AB7AP4JY244733   Nissan       SENTRA              BURBANK                   CA
85322   3N1AB7AP4JY244764   Nissan       SENTRA              Pasadena                  CA
85323   3N1AB7AP4JY244778   Nissan       SENTRA              BURBANK                   CA
85324   3N1AB7AP4JY244831   Nissan       SENTRA              Mira Loma                 CA
85325   3N1AB7AP4JY244859   Nissan       SENTRA              ROSEVILLE                 CA
85326   3N1AB7AP4JY244893   Nissan       SENTRA              Las Vegas                 NV
85327   3N1AB7AP4JY245011   Nissan       SENTRA              Fontana                   CA
85328   3N1AB7AP4JY245140   Nissan       SENTRA              Fresno                    CA
85329   3N1AB7AP4JY245400   Nissan       SENTRA              Kahului                   HI
85330   3N1AB7AP4JY245431   Nissan       SENTRA              BURBANK                   CA
85331   3N1AB7AP4JY245462   Nissan       SENTRA              BURBANK                   CA
85332   3N1AB7AP4JY245638   Nissan       SENTRA              Costa Mesa                CA
85333   3N1AB7AP4JY245817   Nissan       SENTRA              TRACY                     CA
85334   3N1AB7AP4JY245980   Nissan       SENTRA              SAN DIEGO                 CA
85335   3N1AB7AP4JY246160   Nissan       SENTRA              BURBANK                   CA
85336   3N1AB7AP4JY246191   Nissan       SENTRA              STERLING                  VA
85337   3N1AB7AP4JY246210   Nissan       SENTRA              SANTA ANA                 CA
85338   3N1AB7AP4JY246353   Nissan       SENTRA              DENVER                    CO
85339   3N1AB7AP4JY246658   Nissan       SENTRA              Roseville                 CA
85340   3N1AB7AP4JY246725   Nissan       SENTRA              FLORIDA DEALER DIR        FL
85341   3N1AB7AP4JY247096   Nissan       SENTRA              BURBANK                   CA
85342   3N1AB7AP4JY247180   Nissan       SENTRA              Hartford                  CT
85343   3N1AB7AP4JY247261   Nissan       SENTRA              BURBANK                   CA
85344   3N1AB7AP4JY247728   Nissan       SENTRA              HILO                      HI
85345   3N1AB7AP4JY247843   Nissan       SENTRA              SANTA ANA                 CA
85346   3N1AB7AP4JY247907   Nissan       SENTRA              ROSEVILLE                 CA
85347   3N1AB7AP4JY247924   Nissan       SENTRA              DALLAS                    TX
85348   3N1AB7AP4JY248068   Nissan       SENTRA              Carleton                  MI
85349   3N1AB7AP4JY248071   Nissan       SENTRA              LAS VEGAS                 NV
85350   3N1AB7AP4JY248085   Nissan       SENTRA              Hayward                   CA
85351   3N1AB7AP4JY248152   Nissan       SENTRA              LIHUE AP KAUAI            HI
85352   3N1AB7AP4JY248183   Nissan       SENTRA              BURBANK                   CA
85353   3N1AB7AP4JY248202   Nissan       SENTRA              BURBANK                   CA
85354   3N1AB7AP4JY248507   Nissan       SENTRA              NORTH PAC                 CA
85355   3N1AB7AP4JY248703   Nissan       SENTRA              Hayward                   CA
85356   3N1AB7AP4JY251925   Nissan       SENTRA              CLEVELAND                 OH
85357   3N1AB7AP4JY251956   Nissan       SENTRA              KAHULUI                   HI
85358   3N1AB7AP4JY252332   Nissan       SENTRA              TRACY                     CA
85359   3N1AB7AP4JY252833   Nissan       SENTRA              LOS ANGELES               CA
85360   3N1AB7AP4JY252900   Nissan       SENTRA              Denver                    CO
85361   3N1AB7AP4JY252962   Nissan       SENTRA              PORTLAND                  OR
85362   3N1AB7AP4JY252993   Nissan       SENTRA              HANOVER                   MD
85363   3N1AB7AP4JY253190   Nissan       SENTRA              Manheim                   PA
85364   3N1AB7AP4JY253321   Nissan       SENTRA              Phoenix                   AZ
85365   3N1AB7AP4JY253447   Nissan       SENTRA              Winston‐Salem             NC
85366   3N1AB7AP4JY253531   Nissan       SENTRA              Santa Clara               CA
85367   3N1AB7AP4JY253576   Nissan       SENTRA              Atlanta                   GA
85368   3N1AB7AP4JY253710   Nissan       SENTRA              Davie                     FL
85369   3N1AB7AP4JY253755   Nissan       SENTRA              ORLANDO                   FL
85370   3N1AB7AP4JY253917   Nissan       SENTRA              Fort Lauderdale           FL
85371   3N1AB7AP4JY253920   Nissan       SENTRA              Winter Park               FL
85372   3N1AB7AP4JY254176   Nissan       SENTRA              Orlando                   FL
85373   3N1AB7AP4JY254274   Nissan       SENTRA              RICHMOND                  VA
85374   3N1AB7AP4JY254369   Nissan       SENTRA              COLLEGE PARK              GA
85375   3N1AB7AP4JY254470   Nissan       SENTRA              Carleton                  MI
85376   3N1AB7AP4JY254534   Nissan       SENTRA              Tampa                     FL
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85377   3N1AB7AP4JY254646   Nissan       SENTRA              DECATUR                   GA
85378   3N1AB7AP4JY254677   Nissan       SENTRA              Johnston                  RI
85379   3N1AB7AP4JY254775   Nissan       SENTRA              PALM S                    CA
85380   3N1AB7AP4JY254792   Nissan       SENTRA              DAYTONA BEACH             FL
85381   3N1AB7AP4JY254873   Nissan       SENTRA              SAN FRANCISCO             CA
85382   3N1AB7AP4JY255067   Nissan       SENTRA              North Las Vegas           NV
85383   3N1AB7AP4JY255442   Nissan       SENTRA              BURBANK                   CA
85384   3N1AB7AP4JY255716   Nissan       SENTRA              NORWALK                   CA
85385   3N1AB7AP4JY255747   Nissan       SENTRA              BURBANK                   CA
85386   3N1AB7AP4JY255781   Nissan       SENTRA              San Diego                 CA
85387   3N1AB7AP4JY255862   Nissan       SENTRA              BURBANK                   CA
85388   3N1AB7AP4JY256851   Nissan       SENTRA              LOS ANGELES               CA
85389   3N1AB7AP4JY258115   Nissan       SENTRA              BURBANK                   CA
85390   3N1AB7AP4JY258440   Nissan       SENTRA              SAN JOSE                  CA
85391   3N1AB7AP4JY258857   Nissan       SENTRA              NORTH PAC                 CA
85392   3N1AB7AP4JY263217   Nissan       SENTRA              SACRAMENTO                CA
85393   3N1AB7AP4JY264836   Nissan       SENTRA              DARLINGTON                SC
85394   3N1AB7AP4JY266179   Nissan       SENTRA              San Antonio               TX
85395   3N1AB7AP4JY266294   Nissan       SENTRA              Brighton                  CO
85396   3N1AB7AP4JY266666   Nissan       SENTRA              CHICAGO                   IL
85397   3N1AB7AP4JY266926   Nissan       SENTRA              CLARKSVILLE               IN
85398   3N1AB7AP4JY267056   Nissan       SENTRA              LOS ANGELES               CA
85399   3N1AB7AP4JY267252   Nissan       SENTRA              Charlotte                 NC
85400   3N1AB7AP4JY267378   Nissan       SENTRA              BURBANK                   CA
85401   3N1AB7AP4JY267543   Nissan       SENTRA              Santa Clara               CA
85402   3N1AB7AP4JY267588   Nissan       SENTRA              Tolleson                  AZ
85403   3N1AB7AP4JY267591   Nissan       SENTRA              BURBANK                   CA
85404   3N1AB7AP4JY267719   Nissan       SENTRA              BURBANK                   CA
85405   3N1AB7AP4JY267865   Nissan       SENTRA              LAS VEGAS                 NV
85406   3N1AB7AP4JY270278   Nissan       SENTRA              HARVEY                    LA
85407   3N1AB7AP4JY270684   Nissan       SENTRA              FORT MYERS                FL
85408   3N1AB7AP4JY271267   Nissan       SENTRA              Manheim                   PA
85409   3N1AB7AP4JY271656   Nissan       SENTRA              STERLING                  VA
85410   3N1AB7AP4JY271804   Nissan       SENTRA              CHICAGO                   IL
85411   3N1AB7AP4JY272127   Nissan       SENTRA              ORLANDO                   FL
85412   3N1AB7AP4JY272225   Nissan       SENTRA              Lynn                      MA
85413   3N1AB7AP4JY273441   Nissan       SENTRA              WHITE PLAINS              NY
85414   3N1AB7AP4JY273889   Nissan       SENTRA              Warwick                   RI
85415   3N1AB7AP4JY274167   Nissan       SENTRA              Newark                    NJ
85416   3N1AB7AP4JY274671   Nissan       SENTRA              Winston‐Salem             NC
85417   3N1AB7AP4JY274735   Nissan       SENTRA              TAMPA                     FL
85418   3N1AB7AP4JY274816   Nissan       SENTRA              ORLANDO                   FL
85419   3N1AB7AP4JY275366   Nissan       SENTRA              PHILADELPHIA              PA
85420   3N1AB7AP4JY275514   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
85421   3N1AB7AP4JY275657   Nissan       SENTRA              SANTA ANA                 CA
85422   3N1AB7AP4JY275660   Nissan       SENTRA              Burien                    WA
85423   3N1AB7AP4JY276016   Nissan       SENTRA              DAYTONA BEACH             FL
85424   3N1AB7AP4JY276078   Nissan       SENTRA              Atlanta                   GA
85425   3N1AB7AP4JY276081   Nissan       SENTRA              SPRINGFIELD               VA
85426   3N1AB7AP4JY276114   Nissan       SENTRA              Elkridge                  MD
85427   3N1AB7AP4JY276288   Nissan       SENTRA              New Stanton               PA
85428   3N1AB7AP4JY276436   Nissan       SENTRA              DANIA BEACH               FL
85429   3N1AB7AP4JY276503   Nissan       SENTRA              PHOENIX                   AZ
85430   3N1AB7AP4JY277134   Nissan       SENTRA              Mira Loma                 CA
85431   3N1AB7AP4JY277389   Nissan       SENTRA              Sacramento                CA
85432   3N1AB7AP4JY277702   Nissan       SENTRA              PLEASANTON                CA
85433   3N1AB7AP4JY277781   Nissan       SENTRA              Atlanta                   GA
85434   3N1AB7AP4JY277909   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
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85435   3N1AB7AP4JY278090   Nissan       SENTRA              BURBANK                   CA
85436   3N1AB7AP4JY278431   Nissan       SENTRA              Tampa                     FL
85437   3N1AB7AP4JY278512   Nissan       SENTRA              ORLANDO                   FL
85438   3N1AB7AP4JY278655   Nissan       SENTRA              Tampa                     FL
85439   3N1AB7AP4JY278672   Nissan       SENTRA              LOS ANGELES               CA
85440   3N1AB7AP4JY278753   Nissan       SENTRA              SACRAMENTO                CA
85441   3N1AB7AP4JY279000   Nissan       SENTRA              Carleton                  MI
85442   3N1AB7AP4JY279644   Nissan       SENTRA              North Dighton             MA
85443   3N1AB7AP4JY279675   Nissan       SENTRA              Chicago                   IL
85444   3N1AB7AP4JY280468   Nissan       SENTRA              LOS ANGELES               CA
85445   3N1AB7AP4JY280504   Nissan       SENTRA              KNOXVILLE                 TN
85446   3N1AB7AP4JY281331   Nissan       SENTRA              NOTTINGHAM                MD
85447   3N1AB7AP4JY281409   Nissan       SENTRA              CHICAGO                   IL
85448   3N1AB7AP4JY281779   Nissan       SENTRA              DES PLAINES               IL
85449   3N1AB7AP4JY282155   Nissan       SENTRA              SANTA CLARA               CA
85450   3N1AB7AP4JY282995   Nissan       SENTRA              BURBANK                   CA
85451   3N1AB7AP4JY283340   Nissan       SENTRA              STERLING                  VA
85452   3N1AB7AP4JY285024   Nissan       SENTRA              Elkridge                  MD
85453   3N1AB7AP4JY285671   Nissan       SENTRA              NORTH HOLLYWOOD           CA
85454   3N1AB7AP4JY286240   Nissan       SENTRA              RICHMOND                  VA
85455   3N1AB7AP4JY286867   Nissan       SENTRA              Bensalem                  PA
85456   3N1AB7AP4JY286870   Nissan       SENTRA              EVANSVILLE                IN
85457   3N1AB7AP4JY287095   Nissan       SENTRA              Philadelphia              PA
85458   3N1AB7AP4JY287159   Nissan       SENTRA              Salt Lake City            UT
85459   3N1AB7AP4JY287369   Nissan       SENTRA              Kent                      WA
85460   3N1AB7AP4JY287484   Nissan       SENTRA              LOS ANGELES               CA
85461   3N1AB7AP4JY287694   Nissan       SENTRA              SACRAMENTO                CA
85462   3N1AB7AP4JY287727   Nissan       SENTRA              PASADENA                  CA
85463   3N1AB7AP4JY288084   Nissan       SENTRA              Davie                     FL
85464   3N1AB7AP4JY288201   Nissan       SENTRA              Detroit                   MI
85465   3N1AB7AP4JY288215   Nissan       SENTRA              Hamilton                  OH
85466   3N1AB7AP4JY288702   Nissan       SENTRA              BOSTON                    MA
85467   3N1AB7AP4JY289378   Nissan       SENTRA              TRACY                     CA
85468   3N1AB7AP4JY289557   Nissan       SENTRA              Elkridge                  MD
85469   3N1AB7AP4JY289672   Nissan       SENTRA              North Dighton             MA
85470   3N1AB7AP4JY289767   Nissan       SENTRA              Windsor Locks             CT
85471   3N1AB7AP4JY289817   Nissan       SENTRA              NEW ENGLAND DEALER        MA
85472   3N1AB7AP4JY290045   Nissan       SENTRA              Roseville                 CA
85473   3N1AB7AP4JY290093   Nissan       SENTRA              DAYTONA BEACH             FL
85474   3N1AB7AP4JY290157   Nissan       SENTRA              CHICAGO                   IL
85475   3N1AB7AP4JY290241   Nissan       SENTRA              MELROSE PARK              IL
85476   3N1AB7AP4JY290353   Nissan       SENTRA              Atlanta                   GA
85477   3N1AB7AP4JY290501   Nissan       SENTRA              Fredericksburg            VA
85478   3N1AB7AP4JY290837   Nissan       SENTRA              PHILADELPHIA              PA
85479   3N1AB7AP4JY290952   Nissan       SENTRA              BURBANK                   CA
85480   3N1AB7AP4JY291079   Nissan       SENTRA              SAN FRANCISCO             CA
85481   3N1AB7AP4JY291096   Nissan       SENTRA              LOS ANGELES               CA
85482   3N1AB7AP4JY291275   Nissan       SENTRA              BURBANK                   CA
85483   3N1AB7AP4JY291356   Nissan       SENTRA              NEW BERN                  NC
85484   3N1AB7AP4JY291616   Nissan       SENTRA              Salt Lake City            UT
85485   3N1AB7AP4JY291664   Nissan       SENTRA              NORTH PAC                 CA
85486   3N1AB7AP4JY291728   Nissan       SENTRA              BURBANK                   CA
85487   3N1AB7AP4JY291874   Nissan       SENTRA              SAN JOSE                  CA
85488   3N1AB7AP4JY291924   Nissan       SENTRA              Salt Lake City            UT
85489   3N1AB7AP4JY292054   Nissan       SENTRA              Newark                    NJ
85490   3N1AB7AP4JY292233   Nissan       SENTRA              Tampa                     FL
85491   3N1AB7AP4JY292247   Nissan       SENTRA              SAN FRANCISCO             CA
85492   3N1AB7AP4JY292541   Nissan       SENTRA              WEST PALM BEACH           FL
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85493   3N1AB7AP4JY292698   Nissan       SENTRA              Hayward                   CA
85494   3N1AB7AP4JY292779   Nissan       SENTRA              BIRMINGHAN                AL
85495   3N1AB7AP4JY292782   Nissan       SENTRA              San Diego                 CA
85496   3N1AB7AP4JY292801   Nissan       SENTRA              RONKONKOMA                NY
85497   3N1AB7AP4JY293222   Nissan       SENTRA              ST LOUIS                  MO
85498   3N1AB7AP4JY293236   Nissan       SENTRA              Tolleson                  AZ
85499   3N1AB7AP4JY293320   Nissan       SENTRA              North Las Vegas           NV
85500   3N1AB7AP4JY293396   Nissan       SENTRA              Las Vegas                 NV
85501   3N1AB7AP4JY293544   Nissan       SENTRA              SEATAC                    WA
85502   3N1AB7AP4JY293656   Nissan       SENTRA              BURBANK                   CA
85503   3N1AB7AP4JY293737   Nissan       SENTRA              CHANDLER                  AZ
85504   3N1AB7AP4JY293818   Nissan       SENTRA              SOUTH BEND                IN
85505   3N1AB7AP4JY293866   Nissan       SENTRA              TAMPA                     FL
85506   3N1AB7AP4JY293981   Nissan       SENTRA              NORTH PAC                 CA
85507   3N1AB7AP4JY294063   Nissan       SENTRA              CHARLOTTE                 NC
85508   3N1AB7AP4JY294161   Nissan       SENTRA              OAKLAND                   CA
85509   3N1AB7AP4JY294337   Nissan       SENTRA              Slidell                   LA
85510   3N1AB7AP4JY294581   Nissan       SENTRA              INDIANAPOLIS              IN
85511   3N1AB7AP4JY295083   Nissan       SENTRA              SANTA ANA                 CA
85512   3N1AB7AP4JY296038   Nissan       SENTRA              Orlando                   FL
85513   3N1AB7AP4JY296119   Nissan       SENTRA              DES MOINES                IA
85514   3N1AB7AP4JY296816   Nissan       SENTRA              BURBANK                   CA
85515   3N1AB7AP4JY296914   Nissan       SENTRA              FORT MYERS                FL
85516   3N1AB7AP4JY297027   Nissan       SENTRA              Warwick                   RI
85517   3N1AB7AP4JY297559   Nissan       SENTRA              STERLING                  VA
85518   3N1AB7AP4JY297707   Nissan       SENTRA              RALIEGH                   NC
85519   3N1AB7AP4JY297710   Nissan       SENTRA              Marietta                  GA
85520   3N1AB7AP4JY298095   Nissan       SENTRA              Cranberry Towns           PA
85521   3N1AB7AP4JY298808   Nissan       SENTRA              MEDINA                    OH
85522   3N1AB7AP4JY298825   Nissan       SENTRA              CLARKSVILLE               IN
85523   3N1AB7AP4JY299148   Nissan       SENTRA              MEDINA                    OH
85524   3N1AB7AP4JY299246   Nissan       SENTRA              HOUSTON                   TX
85525   3N1AB7AP4JY299375   Nissan       SENTRA              Richmond                  VA
85526   3N1AB7AP4JY299425   Nissan       SENTRA              Maple Grove               MN
85527   3N1AB7AP4JY299599   Nissan       SENTRA              SEATAC                    WA
85528   3N1AB7AP4JY299652   Nissan       SENTRA              LOS ANGELES               CA
85529   3N1AB7AP4JY299778   Nissan       SENTRA              DENVER                    CO
85530   3N1AB7AP4JY299781   Nissan       SENTRA              BURBANK                   CA
85531   3N1AB7AP4JY299943   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
85532   3N1AB7AP4JY299974   Nissan       SENTRA              Hayward                   CA
85533   3N1AB7AP4JY300072   Nissan       SENTRA              Harvey                    LA
85534   3N1AB7AP4JY300315   Nissan       SENTRA              Matteson                  IL
85535   3N1AB7AP4JY300525   Nissan       SENTRA              NORTH PAC                 CA
85536   3N1AB7AP4JY300928   Nissan       SENTRA              WARWICK                   RI
85537   3N1AB7AP4JY300993   Nissan       SENTRA              NEW ENGLAND DEALER        MA
85538   3N1AB7AP4JY301139   Nissan       SENTRA              CHICAGO                   IL
85539   3N1AB7AP4JY301383   Nissan       SENTRA              DENVER                    CO
85540   3N1AB7AP4JY301450   Nissan       SENTRA              BURBANK                   CA
85541   3N1AB7AP4JY301481   Nissan       SENTRA              Santa Clara               CA
85542   3N1AB7AP4JY301545   Nissan       SENTRA              Detroit                   MI
85543   3N1AB7AP4JY301609   Nissan       SENTRA              DANIA BEACH               FL
85544   3N1AB7AP4JY302436   Nissan       SENTRA              DAYTONA BEACH             FL
85545   3N1AB7AP4JY308334   Nissan       SENTRA              HARTFORD                  CT
85546   3N1AB7AP4JY309032   Nissan       SENTRA              MEMPHIS                   TN
85547   3N1AB7AP4JY309130   Nissan       SENTRA              LAS VEGAS                 NV
85548   3N1AB7AP4JY309208   Nissan       SENTRA              ORLANDO                   FL
85549   3N1AB7AP4JY309614   Nissan       SENTRA              SAN JOSE                  CA
85550   3N1AB7AP4JY309645   Nissan       SENTRA              WICHITA FALLS             TX
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85551   3N1AB7AP4JY310066   Nissan       SENTRA              ONTARIO                   CA
85552   3N1AB7AP4JY310360   Nissan       SENTRA              Maple Grove               MN
85553   3N1AB7AP4JY310617   Nissan       SENTRA              BURBANK                   CA
85554   3N1AB7AP4JY310925   Nissan       SENTRA              ORLANDO                   FL
85555   3N1AB7AP4JY311024   Nissan       SENTRA              Florissant                MO
85556   3N1AB7AP4JY311332   Nissan       SENTRA              COLLEGE PARK              GA
85557   3N1AB7AP4JY311363   Nissan       SENTRA              NORTH PAC                 CA
85558   3N1AB7AP4JY311380   Nissan       SENTRA              Sacramento                CA
85559   3N1AB7AP4JY311525   Nissan       SENTRA              CHARLOTTE                 NC
85560   3N1AB7AP4JY311623   Nissan       SENTRA              SARASOTA                  FL
85561   3N1AB7AP4JY311637   Nissan       SENTRA              TAMPA                     FL
85562   3N1AB7AP4JY312609   Nissan       SENTRA              FRESNO                    CA
85563   3N1AB7AP4JY312822   Nissan       SENTRA              Tampa                     FL
85564   3N1AB7AP4JY312870   Nissan       SENTRA              Live Oak                  TX
85565   3N1AB7AP4JY312898   Nissan       SENTRA              BURBANK                   CA
85566   3N1AB7AP4JY312996   Nissan       SENTRA              FLORIDA DEALER DIR        FL
85567   3N1AB7AP4JY313369   Nissan       SENTRA              BURBANK                   CA
85568   3N1AB7AP4JY313436   Nissan       SENTRA              BURBANK                   CA
85569   3N1AB7AP4JY313548   Nissan       SENTRA              CHARLOTTE                 NC
85570   3N1AB7AP4JY314229   Nissan       SENTRA              Portland                  OR
85571   3N1AB7AP4JY314893   Nissan       SENTRA              SANFORD                   FL
85572   3N1AB7AP4JY315008   Nissan       SENTRA              SAN FRANCISCO             CA
85573   3N1AB7AP4JY315476   Nissan       SENTRA              Santa Clara               CA
85574   3N1AB7AP4JY315624   Nissan       SENTRA              HARVEY                    LA
85575   3N1AB7AP4JY323643   Nissan       SENTRA              Phoenix                   AZ
85576   3N1AB7AP4JY323884   Nissan       SENTRA              CHICAGO                   IL
85577   3N1AB7AP4JY323982   Nissan       SENTRA              Tampa                     FL
85578   3N1AB7AP4JY324176   Nissan       SENTRA              Hamilton                  OH
85579   3N1AB7AP4JY324615   Nissan       SENTRA              Bridgeton                 MO
85580   3N1AB7AP4JY325098   Nissan       SENTRA              ROCHESTER                 NY
85581   3N1AB7AP4JY325148   Nissan       SENTRA              PHOENIX                   AZ
85582   3N1AB7AP4JY325229   Nissan       SENTRA              Hebron                    KY
85583   3N1AB7AP4JY325294   Nissan       SENTRA              Cincinnati                OH
85584   3N1AB7AP4JY325554   Nissan       SENTRA              Dallas                    TX
85585   3N1AB7AP4JY325604   Nissan       SENTRA              North Dighton             MA
85586   3N1AB7AP4JY325683   Nissan       SENTRA              WHITE PLAINS              NY
85587   3N1AB7AP4JY325828   Nissan       SENTRA              Denver                    CO
85588   3N1AB7AP4JY325862   Nissan       SENTRA              Elkridge                  MD
85589   3N1AB7AP4JY325893   Nissan       SENTRA              SAN FRANCISCO             CA
85590   3N1AB7AP4JY326090   Nissan       SENTRA              SAVANNAH                  GA
85591   3N1AB7AP4JY326221   Nissan       SENTRA              Tolleson                  AZ
85592   3N1AB7AP4JY326445   Nissan       SENTRA              FT. LAUDERDALE            FL
85593   3N1AB7AP4JY326624   Nissan       SENTRA              Charlotte                 NC
85594   3N1AB7AP4JY326672   Nissan       SENTRA              Orlando                   FL
85595   3N1AB7AP4JY326848   Nissan       SENTRA              Florissant                MO
85596   3N1AB7AP4JY326865   Nissan       SENTRA              FORT MYERS                FL
85597   3N1AB7AP4JY326879   Nissan       SENTRA              HOUSTON                   TX
85598   3N1AB7AP4JY326932   Nissan       SENTRA              WEST PALM BEACH           FL
85599   3N1AB7AP4JY327000   Nissan       SENTRA              CHICAGO                   IL
85600   3N1AB7AP4JY327076   Nissan       SENTRA              MEDINA                    OH
85601   3N1AB7AP4JY327112   Nissan       SENTRA              Orlando                   FL
85602   3N1AB7AP4JY327188   Nissan       SENTRA              Hamilton                  OH
85603   3N1AB7AP4JY327837   Nissan       SENTRA              GRAND RAPIDS              MI
85604   3N1AB7AP4JY328065   Nissan       SENTRA              CHICAGO                   IL
85605   3N1AB7AP4JY328101   Nissan       SENTRA              SACRAMENTO                CA
85606   3N1AB7AP4JY328230   Nissan       SENTRA              ORLANDO                   FL
85607   3N1AB7AP4JY328390   Nissan       SENTRA              Winston‐Salem             NC
85608   3N1AB7AP4JY328468   Nissan       SENTRA              DETROIT                   MI
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85609   3N1AB7AP4JY328633   Nissan       SENTRA              Bensalem                  PA
85610   3N1AB7AP4JY328860   Nissan       SENTRA              BURBANK                   CA
85611   3N1AB7AP4JY329152   Nissan       SENTRA              North Dighton             MA
85612   3N1AB7AP4JY329250   Nissan       SENTRA              HOUSTON                   TX
85613   3N1AB7AP4JY329345   Nissan       SENTRA              Fresno                    CA
85614   3N1AB7AP4JY329393   Nissan       SENTRA              PHOENIX                   AZ
85615   3N1AB7AP4JY329538   Nissan       SENTRA              EWA BEACH                 HI
85616   3N1AB7AP4JY329720   Nissan       SENTRA              BURBANK                   CA
85617   3N1AB7AP4JY329765   Nissan       SENTRA              DES MOINES                IA
85618   3N1AB7AP4JY330043   Nissan       SENTRA              Philadelphia              PA
85619   3N1AB7AP4JY330236   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
85620   3N1AB7AP4JY330267   Nissan       SENTRA              Los Angeles               CA
85621   3N1AB7AP4JY330527   Nissan       SENTRA              KNOXVILLE                 TN
85622   3N1AB7AP4JY330771   Nissan       SENTRA              SEATTLE                   WA
85623   3N1AB7AP4JY330799   Nissan       SENTRA              Tolleson                  AZ
85624   3N1AB7AP4JY330818   Nissan       SENTRA              ENGLEWOOD                 CO
85625   3N1AB7AP4JY330852   Nissan       SENTRA              Sacramento                CA
85626   3N1AB7AP4JY331077   Nissan       SENTRA              KAILUA KONA               HI
85627   3N1AB7AP4JY331564   Nissan       SENTRA              LOS ANGELES               CA
85628   3N1AB7AP4JY331645   Nissan       SENTRA              Hamilton                  OH
85629   3N1AB7AP4JY332116   Nissan       SENTRA              SAN DIEGO                 CA
85630   3N1AB7AP4JY332164   Nissan       SENTRA              Dallas                    TX
85631   3N1AB7AP4JY332178   Nissan       SENTRA              SHAKOPEE                  MN
85632   3N1AB7AP4JY332181   Nissan       SENTRA              Elkridge                  MD
85633   3N1AB7AP4JY332567   Nissan       SENTRA              WEST PALM BEACH           FL
85634   3N1AB7AP4JY334397   Nissan       SENTRA              Los Angeles               CA
85635   3N1AB7AP4JY334688   Nissan       SENTRA              Jamaica                   NY
85636   3N1AB7AP4KY242059   Nissan       SENTRA              Orlando                   FL
85637   3N1AB7AP4KY242160   Nissan       SENTRA              WEST PALM BEACH           FL
85638   3N1AB7AP4KY242319   Nissan       SENTRA              TAMPA                     FL
85639   3N1AB7AP4KY242384   Nissan       SENTRA              ORANGE COUNTY             CA
85640   3N1AB7AP4KY242398   Nissan       SENTRA              ORLANDO                   FL
85641   3N1AB7AP4KY242658   Nissan       SENTRA              ATLANTA                   GA
85642   3N1AB7AP4KY243177   Nissan       SENTRA              OAKLAND                   CA
85643   3N1AB7AP4KY243535   Nissan       SENTRA              TUCSON                    AZ
85644   3N1AB7AP4KY243566   Nissan       SENTRA              Los Angeles               CA
85645   3N1AB7AP4KY244135   Nissan       SENTRA              SEATTLE                   WA
85646   3N1AB7AP4KY244877   Nissan       SENTRA              WAIMEA                    HI
85647   3N1AB7AP4KY244989   Nissan       SENTRA              Atlanta                   GA
85648   3N1AB7AP4KY245107   Nissan       SENTRA              Honolulu                  HI
85649   3N1AB7AP4KY246404   Nissan       SENTRA              EWA BEACH                 HI
85650   3N1AB7AP4KY248704   Nissan       SENTRA              Newport Beach             CA
85651   3N1AB7AP4KY269293   Nissan       SENTRA              WAIMEA                    HI
85652   3N1AB7AP4KY269312   Nissan       SENTRA              KAILUA‐KONA               HI
85653   3N1AB7AP4KY269648   Nissan       SENTRA              KALAOA                    HI
85654   3N1AB7AP4KY269908   Nissan       SENTRA              KALAOA                    HI
85655   3N1AB7AP4KY269939   Nissan       SENTRA              KAILUA‐KONA               HI
85656   3N1AB7AP4KY296641   Nissan       SENTRA              FLORIDA DEALER DIR        FL
85657   3N1AB7AP4KY297028   Nissan       SENTRA              Atlanta                   GA
85658   3N1AB7AP4KY297949   Nissan       SENTRA              Fresno                    CA
85659   3N1AB7AP4KY298387   Nissan       SENTRA              MIDLAND                   TX
85660   3N1AB7AP4KY299006   Nissan       SENTRA              WEST PALM BEACH           FL
85661   3N1AB7AP4KY302504   Nissan       SENTRA              Columbus                  OH
85662   3N1AB7AP4KY303538   Nissan       SENTRA              Newark                    NJ
85663   3N1AB7AP4KY303670   Nissan       SENTRA              HARTFORD                  CT
85664   3N1AB7AP4KY303748   Nissan       SENTRA              ORLANDO                   FL
85665   3N1AB7AP4KY303829   Nissan       SENTRA              Tampa                     FL
85666   3N1AB7AP4KY304155   Nissan       SENTRA              SAN FRANCISCO             CA
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85667   3N1AB7AP4KY304544   Nissan       SENTRA              Hapeville                 GA
85668   3N1AB7AP4KY304852   Nissan       SENTRA              Fresno                    CA
85669   3N1AB7AP4KY305743   Nissan       SENTRA              Estero                    FL
85670   3N1AB7AP4KY306004   Nissan       SENTRA              Hebron                    KY
85671   3N1AB7AP4KY306147   Nissan       SENTRA              COLUMBIA                  SC
85672   3N1AB7AP4KY307590   Nissan       SENTRA              EGG HARBOR TOWN           NJ
85673   3N1AB7AP4KY308237   Nissan       SENTRA              Baltimore                 MD
85674   3N1AB7AP4KY309503   Nissan       SENTRA              SAVANNAH                  GA
85675   3N1AB7AP4KY309601   Nissan       SENTRA              Beaverton                 OR
85676   3N1AB7AP4KY309677   Nissan       SENTRA              Teterboro                 NJ
85677   3N1AB7AP4KY310263   Nissan       SENTRA              SOUTHWEST DEALER D        TX
85678   3N1AB7AP4KY311400   Nissan       SENTRA              JACKSONVILLE              FL
85679   3N1AB7AP4KY312482   Nissan       SENTRA              MERRIVILLE                IN
85680   3N1AB7AP4KY312529   Nissan       SENTRA              PHOENIX                   AZ
85681   3N1AB7AP4KY312689   Nissan       SENTRA              PHOENIX                   AZ
85682   3N1AB7AP4KY313258   Nissan       SENTRA              PORTLAND                  OR
85683   3N1AB7AP4KY313616   Nissan       SENTRA              PORTLAND                  OR
85684   3N1AB7AP4KY313955   Nissan       SENTRA              MISSOULA                  MT
85685   3N1AB7AP4KY315060   Nissan       SENTRA              SEATAC                    WA
85686   3N1AB7AP4KY316628   Nissan       SENTRA              Salt Lake City            UT
85687   3N1AB7AP4KY316631   Nissan       SENTRA              Portland                  OR
85688   3N1AB7AP4KY320789   Nissan       SENTRA              Teterboro                 NJ
85689   3N1AB7AP4KY321330   Nissan       SENTRA              PHILADELPHIA              PA
85690   3N1AB7AP4KY321781   Nissan       SENTRA              St. Louis                 MO
85691   3N1AB7AP4KY338080   Nissan       SENTRA              Alcoa                     TN
85692   3N1AB7AP4KY338094   Nissan       SENTRA              DALLAS                    TX
85693   3N1AB7AP4KY338192   Nissan       SENTRA              Leroy                     NY
85694   3N1AB7AP4KY338516   Nissan       SENTRA              ORLANDO                   FL
85695   3N1AB7AP4KY339326   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
85696   3N1AB7AP4KY339522   Nissan       SENTRA              HANOVER                   MD
85697   3N1AB7AP4KY341125   Nissan       SENTRA              MEDINA                    OH
85698   3N1AB7AP4KY344073   Nissan       SENTRA              RENO                      NV
85699   3N1AB7AP4KY344512   Nissan       SENTRA              LOS ANGELES               CA
85700   3N1AB7AP4KY345112   Nissan       SENTRA              LOS ANGELES               CA
85701   3N1AB7AP4KY353100   Nissan       SENTRA              RONKONKOMA                NY
85702   3N1AB7AP4KY353727   Nissan       SENTRA              ORLANDO                   FL
85703   3N1AB7AP4KY354148   Nissan       SENTRA              Lexington                 KY
85704   3N1AB7AP4KY354828   Nissan       SENTRA              Syracuse                  NY
85705   3N1AB7AP4KY354909   Nissan       SENTRA              NEWARK                    NJ
85706   3N1AB7AP4KY355462   Nissan       SENTRA              PHOENIX                   AZ
85707   3N1AB7AP4KY359155   Nissan       SENTRA              Pittsburgh                PA
85708   3N1AB7AP4KY359625   Nissan       SENTRA              COLUMBUS                  OH
85709   3N1AB7AP4KY361617   Nissan       SENTRA              Newark                    NJ
85710   3N1AB7AP5FY239953   Nissan       SENTRA              PHILADELPHIA              PA
85711   3N1AB7AP5GY248914   Nissan       SENTRA              LOS ANGELES               CA
85712   3N1AB7AP5GY284831   Nissan       SENTRA              TAMPA                     FL
85713   3N1AB7AP5GY294615   Nissan       SENTRA              CHICAGO                   IL
85714   3N1AB7AP5GY298051   Nissan       SENTRA              HANOVER                   MD
85715   3N1AB7AP5HL660572   Nissan       SENTRA              HARTFORD                  CT
85716   3N1AB7AP5HL664590   Nissan       SENTRA              Elkridge                  MD
85717   3N1AB7AP5HL684807   Nissan       SENTRA              NEW ORLEANS               LA
85718   3N1AB7AP5HL685861   Nissan       SENTRA
85719   3N1AB7AP5HL686525   Nissan       SENTRA              DES PLAINES               IL
85720   3N1AB7AP5HL694169   Nissan       SENTRA              NEW ENGLAND DEALER        MA
85721   3N1AB7AP5HL695385   Nissan       SENTRA              Slidell                   LA
85722   3N1AB7AP5HL696908   Nissan       SENTRA              Salt Lake City            UT
85723   3N1AB7AP5HL697234   Nissan       SENTRA              NORTH PAC                 CA
85724   3N1AB7AP5HL697329   Nissan       SENTRA              BURBANK                   CA
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85725   3N1AB7AP5HL697508   Nissan       SENTRA              Los Angeles               CA
85726   3N1AB7AP5HL698531   Nissan       SENTRA              HANOVER                   MD
85727   3N1AB7AP5HL723590   Nissan       SENTRA              SAN JOSE                  CA
85728   3N1AB7AP5HY212139   Nissan       SENTRA              CHICAGO                   IL
85729   3N1AB7AP5HY215901   Nissan       SENTRA              Cleveland                 OH
85730   3N1AB7AP5HY266797   Nissan       SENTRA              DALLAS                    TX
85731   3N1AB7AP5HY271532   Nissan       SENTRA              SAN ANTONIO               TX
85732   3N1AB7AP5HY285964   Nissan       SENTRA              Matteson                  IL
85733   3N1AB7AP5HY291876   Nissan       SENTRA
85734   3N1AB7AP5HY294809   Nissan       SENTRA              Lynn                      MA
85735   3N1AB7AP5HY308353   Nissan       SENTRA              NEW ENGLAND DEALER        MA
85736   3N1AB7AP5HY308448   Nissan       SENTRA              SEATAC                    WA
85737   3N1AB7AP5HY308904   Nissan       SENTRA              NEW ORLEANS               LA
85738   3N1AB7AP5HY309664   Nissan       SENTRA              Baltimore                 MD
85739   3N1AB7AP5HY310460   Nissan       SENTRA              HANOVER                   MD
85740   3N1AB7AP5HY311074   Nissan       SENTRA              Hapeville                 GA
85741   3N1AB7AP5HY311740   Nissan       SENTRA              NEW ENGLAND DEALER        MA
85742   3N1AB7AP5HY312998   Nissan       SENTRA              ANNANDALE                 VA
85743   3N1AB7AP5HY313729   Nissan       SENTRA              STERLING                  VA
85744   3N1AB7AP5HY315075   Nissan       SENTRA              Pittsburgh                PA
85745   3N1AB7AP5HY318168   Nissan       SENTRA              North Billerica           MA
85746   3N1AB7AP5HY318526   Nissan       SENTRA              SAN FRANCISCO             CA
85747   3N1AB7AP5HY320910   Nissan       SENTRA              LOS ANGELES               CA
85748   3N1AB7AP5HY321846   Nissan       SENTRA              BURBANK                   CA
85749   3N1AB7AP5HY322088   Nissan       SENTRA              TRACY                     CA
85750   3N1AB7AP5HY323242   Nissan       SENTRA              RICHMOND                  VA
85751   3N1AB7AP5HY325931   Nissan       SENTRA              CHICAGO                   IL
85752   3N1AB7AP5HY326741   Nissan       SENTRA              HANOVER                   MD
85753   3N1AB7AP5HY328215   Nissan       SENTRA              CHICAGO                   IL
85754   3N1AB7AP5HY328778   Nissan       SENTRA              Elkridge                  MD
85755   3N1AB7AP5HY329123   Nissan       SENTRA              Fredericksburg            VA
85756   3N1AB7AP5HY329865   Nissan       SENTRA              MIDDLE RIVER              MD
85757   3N1AB7AP5HY329980   Nissan       SENTRA              BOSTON                    MA
85758   3N1AB7AP5HY332233   Nissan       SENTRA              Atlanta                   GA
85759   3N1AB7AP5HY337593   Nissan       SENTRA              PHILADELPHIA              PA
85760   3N1AB7AP5HY339926   Nissan       SENTRA              HEBRON                    US
85761   3N1AB7AP5HY340509   Nissan       SENTRA              LOS ANGELES               CA
85762   3N1AB7AP5HY340557   Nissan       SENTRA              DAYTONA BEACH             FL
85763   3N1AB7AP5HY342034   Nissan       SENTRA              Chicago                   IL
85764   3N1AB7AP5HY344530   Nissan       SENTRA              SAN DIEGO                 CA
85765   3N1AB7AP5HY344947   Nissan       SENTRA              BURBANK                   CA
85766   3N1AB7AP5HY345368   Nissan       SENTRA              BURBANK                   CA
85767   3N1AB7AP5HY347086   Nissan       SENTRA              LOS ANGELES               CA
85768   3N1AB7AP5HY348965   Nissan       SENTRA              SAN DIEGO                 US
85769   3N1AB7AP5HY349792   Nissan       SENTRA              Norwalk                   CA
85770   3N1AB7AP5HY350571   Nissan       SENTRA              Kent                      WA
85771   3N1AB7AP5HY350960   Nissan       SENTRA              MELROSE PARK              IL
85772   3N1AB7AP5HY351011   Nissan       SENTRA              LORTON                    VA
85773   3N1AB7AP5HY351350   Nissan       SENTRA              BURBANK                   CA
85774   3N1AB7AP5HY352871   Nissan       SENTRA              Los Angeles               CA
85775   3N1AB7AP5HY353275   Nissan       SENTRA              Philadelphia              PA
85776   3N1AB7AP5HY353521   Nissan       SENTRA              NOTTINGHAM                MD
85777   3N1AB7AP5HY353907   Nissan       SENTRA              NEW ENGLAND DEALER        MA
85778   3N1AB7AP5HY354412   Nissan       SENTRA              Denver                    CO
85779   3N1AB7AP5HY360646   Nissan       SENTRA              Tampa                     FL
85780   3N1AB7AP5HY361604   Nissan       SENTRA              NEW ENGLAND DEALER        MA
85781   3N1AB7AP5HY362820   Nissan       SENTRA              PHOENIX                   AZ
85782   3N1AB7AP5HY363336   Nissan       SENTRA              WASHINGTON DC             MD
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85783   3N1AB7AP5HY390276   Nissan       SENTRA              HARVEY                    LA
85784   3N1AB7AP5JL619333   Nissan       SENTRA              BURBANK                   CA
85785   3N1AB7AP5JL644216   Nissan       SENTRA              Chicago                   IL
85786   3N1AB7AP5JY216908   Nissan       SENTRA              Miami                     FL
85787   3N1AB7AP5JY239296   Nissan       SENTRA              WEST PALM BEACH           FL
85788   3N1AB7AP5JY240755   Nissan       SENTRA              Elkridge                  MD
85789   3N1AB7AP5JY240805   Nissan       SENTRA              Riverside                 CA
85790   3N1AB7AP5JY241503   Nissan       SENTRA              BURBANK                   CA
85791   3N1AB7AP5JY242358   Nissan       SENTRA              Mira Loma                 CA
85792   3N1AB7AP5JY242859   Nissan       SENTRA              BURBANK                   CA
85793   3N1AB7AP5JY242957   Nissan       SENTRA              San Diego                 CA
85794   3N1AB7AP5JY243364   Nissan       SENTRA              Tampa                     FL
85795   3N1AB7AP5JY243543   Nissan       SENTRA              Kahului                   HI
85796   3N1AB7AP5JY243557   Nissan       SENTRA              LIHUE                     HI
85797   3N1AB7AP5JY243591   Nissan       SENTRA              LIHUE                     HI
85798   3N1AB7AP5JY243932   Nissan       SENTRA              Tampa                     FL
85799   3N1AB7AP5JY243994   Nissan       SENTRA              Grove City                OH
85800   3N1AB7AP5JY244076   Nissan       SENTRA              CLEVELAND                 OH
85801   3N1AB7AP5JY244160   Nissan       SENTRA              BURBANK                   CA
85802   3N1AB7AP5JY244272   Nissan       SENTRA              BURBANK                   CA
85803   3N1AB7AP5JY244451   Nissan       SENTRA              NORTH PAC                 CA
85804   3N1AB7AP5JY244790   Nissan       SENTRA              PLEASANTON                CA
85805   3N1AB7AP5JY244868   Nissan       SENTRA              LAS VEGAS                 NV
85806   3N1AB7AP5JY244885   Nissan       SENTRA              BURBANK                   CA
85807   3N1AB7AP5JY244899   Nissan       SENTRA              PHOENIX                   AZ
85808   3N1AB7AP5JY245017   Nissan       SENTRA              KAHULUI                   HI
85809   3N1AB7AP5JY245079   Nissan       SENTRA              Grove City                OH
85810   3N1AB7AP5JY245180   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
85811   3N1AB7AP5JY245325   Nissan       SENTRA              NORTH PAC                 CA
85812   3N1AB7AP5JY245440   Nissan       SENTRA              KAUAI                     HI
85813   3N1AB7AP5JY245471   Nissan       SENTRA              Austell                   GA
85814   3N1AB7AP5JY245566   Nissan       SENTRA              SAN DIEGO                 CA
85815   3N1AB7AP5JY245633   Nissan       SENTRA              Denver                    CO
85816   3N1AB7AP5JY245695   Nissan       SENTRA              SAN CARLOS                CA
85817   3N1AB7AP5JY245860   Nissan       SENTRA              Orlando                   FL
85818   3N1AB7AP5JY245986   Nissan       SENTRA              BURBANK                   CA
85819   3N1AB7AP5JY246183   Nissan       SENTRA              SANTA ANA                 CA
85820   3N1AB7AP5JY246457   Nissan       SENTRA              WEST CENTRAL DEALE        CO
85821   3N1AB7AP5JY246619   Nissan       SENTRA              North Las Vegas           NV
85822   3N1AB7AP5JY246667   Nissan       SENTRA              Atlanta                   GA
85823   3N1AB7AP5JY246717   Nissan       SENTRA              BURBANK                   CA
85824   3N1AB7AP5JY247415   Nissan       SENTRA              ORLANDO                   FL
85825   3N1AB7AP5JY247558   Nissan       SENTRA              CHICAGO                   IL
85826   3N1AB7AP5JY247589   Nissan       SENTRA              Richmond                  VA
85827   3N1AB7AP5JY247656   Nissan       SENTRA              Fredericksburg            VA
85828   3N1AB7AP5JY247673   Nissan       SENTRA              North Dighton             MA
85829   3N1AB7AP5JY247849   Nissan       SENTRA              Omaha                     NE
85830   3N1AB7AP5JY248208   Nissan       SENTRA              TRACY                     CA
85831   3N1AB7AP5JY252176   Nissan       SENTRA              KAHULUI                   HI
85832   3N1AB7AP5JY252226   Nissan       SENTRA              North Dighton             MA
85833   3N1AB7AP5JY252338   Nissan       SENTRA              Matteson                  IL
85834   3N1AB7AP5JY252372   Nissan       SENTRA              KAHULUI                   HI
85835   3N1AB7AP5JY252761   Nissan       SENTRA              ENGLEWOOD                 CO
85836   3N1AB7AP5JY252890   Nissan       SENTRA              PORTLAND                  OR
85837   3N1AB7AP5JY252923   Nissan       SENTRA              WEST CENTRAL DEALE        CO
85838   3N1AB7AP5JY252937   Nissan       SENTRA              Dallas                    TX
85839   3N1AB7AP5JY253098   Nissan       SENTRA              Detroit                   MI
85840   3N1AB7AP5JY253294   Nissan       SENTRA              PAWTUCKET                 RI
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85841   3N1AB7AP5JY253358   Nissan       SENTRA              Tampa                     FL
85842   3N1AB7AP5JY253361   Nissan       SENTRA              Rockville Centr           NY
85843   3N1AB7AP5JY253456   Nissan       SENTRA              Elkridge                  MD
85844   3N1AB7AP5JY253649   Nissan       SENTRA              NEW ENGLAND DEALER        MA
85845   3N1AB7AP5JY253666   Nissan       SENTRA              Miami                     FL
85846   3N1AB7AP5JY253800   Nissan       SENTRA              North Dighton             MA
85847   3N1AB7AP5JY253876   Nissan       SENTRA              PHOENIX                   AZ
85848   3N1AB7AP5JY253943   Nissan       SENTRA              RICHMOND                  VA
85849   3N1AB7AP5JY254073   Nissan       SENTRA              BURBANK                   CA
85850   3N1AB7AP5JY254140   Nissan       SENTRA              Tampa                     FL
85851   3N1AB7AP5JY254235   Nissan       SENTRA              Davie                     FL
85852   3N1AB7AP5JY254316   Nissan       SENTRA              San Diego                 CA
85853   3N1AB7AP5JY254378   Nissan       SENTRA              Tampa                     FL
85854   3N1AB7AP5JY254560   Nissan       SENTRA              LOS ANGELES               CA
85855   3N1AB7AP5JY254784   Nissan       SENTRA              BURBANK                   CA
85856   3N1AB7AP5JY254817   Nissan       SENTRA              BURBANK                   CA
85857   3N1AB7AP5JY254977   Nissan       SENTRA              PHOENIX                   AZ
85858   3N1AB7AP5JY254980   Nissan       SENTRA              LOS ANGELES AP            CA
85859   3N1AB7AP5JY255076   Nissan       SENTRA              BURBANK                   CA
85860   3N1AB7AP5JY255109   Nissan       SENTRA              BURBANK                   CA
85861   3N1AB7AP5JY255157   Nissan       SENTRA              Fresno                    CA
85862   3N1AB7AP5JY255322   Nissan       SENTRA              BURBANK                   CA
85863   3N1AB7AP5JY255384   Nissan       SENTRA              Hayward                   CA
85864   3N1AB7AP5JY255577   Nissan       SENTRA              North Las Vegas           NV
85865   3N1AB7AP5JY255613   Nissan       SENTRA              BURBANK                   CA
85866   3N1AB7AP5JY255630   Nissan       SENTRA              BURBANK                   CA
85867   3N1AB7AP5JY255689   Nissan       SENTRA              BURBANK                   CA
85868   3N1AB7AP5JY255711   Nissan       SENTRA              LAS VEGAS                 NV
85869   3N1AB7AP5JY255868   Nissan       SENTRA              BURBANK                   CA
85870   3N1AB7AP5JY256454   Nissan       SENTRA              PORTLAND                  OR
85871   3N1AB7AP5JY258477   Nissan       SENTRA              Lake Elsinore             CA
85872   3N1AB7AP5JY258916   Nissan       SENTRA              NORTH PAC                 CA
85873   3N1AB7AP5JY259449   Nissan       SENTRA              SAN JOSE                  CA
85874   3N1AB7AP5JY259791   Nissan       SENTRA              BURBANK                   CA
85875   3N1AB7AP5JY261217   Nissan       SENTRA              BURBANK                   CA
85876   3N1AB7AP5JY261427   Nissan       SENTRA              BURBANK                   CA
85877   3N1AB7AP5JY263565   Nissan       SENTRA              BURBANK                   CA
85878   3N1AB7AP5JY265784   Nissan       SENTRA              Torrance                  CA
85879   3N1AB7AP5JY265882   Nissan       SENTRA              Dallas                    TX
85880   3N1AB7AP5JY266241   Nissan       SENTRA              NEWPORT BEACH             CA
85881   3N1AB7AP5JY266434   Nissan       SENTRA              Tampa                     FL
85882   3N1AB7AP5JY266515   Nissan       SENTRA              KAUAI                     HI
85883   3N1AB7AP5JY266529   Nissan       SENTRA              LIHUE                     HI
85884   3N1AB7AP5JY266692   Nissan       SENTRA              RALEIGH                   NC
85885   3N1AB7AP5JY266756   Nissan       SENTRA              FORT LAUDERDALE           FL
85886   3N1AB7AP5JY266823   Nissan       SENTRA              TAMPA                     FL
85887   3N1AB7AP5JY266949   Nissan       SENTRA              Ft. Myers                 FL
85888   3N1AB7AP5JY267177   Nissan       SENTRA              BOSTON                    MA
85889   3N1AB7AP5JY267342   Nissan       SENTRA              OAKLAND                   CA
85890   3N1AB7AP5JY267406   Nissan       SENTRA              North Las Vegas           NV
85891   3N1AB7AP5JY267664   Nissan       SENTRA              DENVER                    CO
85892   3N1AB7AP5JY267793   Nissan       SENTRA              BURBANK                   CA
85893   3N1AB7AP5JY267812   Nissan       SENTRA              NORTH PAC                 CA
85894   3N1AB7AP5JY268023   Nissan       SENTRA              MIAMI                     FL
85895   3N1AB7AP5JY268443   Nissan       SENTRA              Scottsdale                AZ
85896   3N1AB7AP5JY269589   Nissan       SENTRA              Englewood                 CO
85897   3N1AB7AP5JY269804   Nissan       SENTRA              Honolulu                  HI
85898   3N1AB7AP5JY269818   Nissan       SENTRA              Atlanta                   GA
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85899   3N1AB7AP5JY269964   Nissan       SENTRA              SAN FRANCISCO             CA
85900   3N1AB7AP5JY270239   Nissan       SENTRA              IRVING                    TX
85901   3N1AB7AP5JY270421   Nissan       SENTRA              Denver                    CO
85902   3N1AB7AP5JY270774   Nissan       SENTRA              BURBANK                   CA
85903   3N1AB7AP5JY271181   Nissan       SENTRA              RONKONKOMA                NY
85904   3N1AB7AP5JY271861   Nissan       SENTRA              WEST PALM BEACH           FL
85905   3N1AB7AP5JY272587   Nissan       SENTRA              Statesville               NC
85906   3N1AB7AP5JY272816   Nissan       SENTRA              MIAMI                     FL
85907   3N1AB7AP5JY272847   Nissan       SENTRA              North Dighton             MA
85908   3N1AB7AP5JY273089   Nissan       SENTRA              Elkridge                  MD
85909   3N1AB7AP5JY273190   Nissan       SENTRA              BOSTON                    MA
85910   3N1AB7AP5JY273612   Nissan       SENTRA              NEW YORK DEALER DI        NJ
85911   3N1AB7AP5JY273884   Nissan       SENTRA              DAYTONA BEACH             FL
85912   3N1AB7AP5JY273917   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
85913   3N1AB7AP5JY274050   Nissan       SENTRA              Hayward                   CA
85914   3N1AB7AP5JY274551   Nissan       SENTRA              Tolleson                  AZ
85915   3N1AB7AP5JY274579   Nissan       SENTRA              TAMPA                     FL
85916   3N1AB7AP5JY274596   Nissan       SENTRA              OAKLAND                   CA
85917   3N1AB7AP5JY274761   Nissan       SENTRA              WEST PALM BEACH           FL
85918   3N1AB7AP5JY274789   Nissan       SENTRA              Statesville               NC
85919   3N1AB7AP5JY274811   Nissan       SENTRA              STERLING                  VA
85920   3N1AB7AP5JY274890   Nissan       SENTRA              Tampa                     FL
85921   3N1AB7AP5JY275036   Nissan       SENTRA              KENNER                    LA
85922   3N1AB7AP5JY275117   Nissan       SENTRA              STERLING                  VA
85923   3N1AB7AP5JY275120   Nissan       SENTRA              WEST PALM BEACH           FL
85924   3N1AB7AP5JY275389   Nissan       SENTRA              NORTH PAC                 CA
85925   3N1AB7AP5JY275490   Nissan       SENTRA              Bensalem                  PA
85926   3N1AB7AP5JY275537   Nissan       SENTRA              NORTH PAC                 CA
85927   3N1AB7AP5JY275750   Nissan       SENTRA              Smithtown                 NY
85928   3N1AB7AP5JY275764   Nissan       SENTRA              NORTH PAC                 CA
85929   3N1AB7AP5JY276025   Nissan       SENTRA              Charlotte                 NC
85930   3N1AB7AP5JY276090   Nissan       SENTRA              Burien                    WA
85931   3N1AB7AP5JY276476   Nissan       SENTRA              NORTH PAC                 CA
85932   3N1AB7AP5JY276574   Nissan       SENTRA              PHOENIX                   AZ
85933   3N1AB7AP5JY276655   Nissan       SENTRA              North Dighton             MA
85934   3N1AB7AP5JY276722   Nissan       SENTRA              NASHVILLE                 TN
85935   3N1AB7AP5JY276994   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
85936   3N1AB7AP5JY277062   Nissan       SENTRA              DES PLAINES               US
85937   3N1AB7AP5JY277188   Nissan       SENTRA              BURBANK                   CA
85938   3N1AB7AP5JY277210   Nissan       SENTRA              ORLANDO                   FL
85939   3N1AB7AP5JY277627   Nissan       SENTRA              RICHMOND                  VA
85940   3N1AB7AP5JY277773   Nissan       SENTRA              Tolleson                  AZ
85941   3N1AB7AP5JY277935   Nissan       SENTRA              SAN FRANCISCO             CA
85942   3N1AB7AP5JY278065   Nissan       SENTRA              CHICAGO                   IL
85943   3N1AB7AP5JY278194   Nissan       SENTRA              Tolleson                  AZ
85944   3N1AB7AP5JY278308   Nissan       SENTRA              Smithtown                 NY
85945   3N1AB7AP5JY278325   Nissan       SENTRA              LOS ANGELES               CA
85946   3N1AB7AP5JY278373   Nissan       SENTRA              Manheim                   PA
85947   3N1AB7AP5JY278647   Nissan       SENTRA              BOSTON                    MA
85948   3N1AB7AP5JY278650   Nissan       SENTRA              Manheim                   PA
85949   3N1AB7AP5JY279278   Nissan       SENTRA              NORTH PAC                 CA
85950   3N1AB7AP5JY279300   Nissan       SENTRA              NORTH PAC                 CA
85951   3N1AB7AP5JY279359   Nissan       SENTRA              BURBANK                   CA
85952   3N1AB7AP5JY279555   Nissan       SENTRA              DES MOINES                IA
85953   3N1AB7AP5JY279653   Nissan       SENTRA              NORTH PAC                 CA
85954   3N1AB7AP5JY279796   Nissan       SENTRA              Fresno                    CA
85955   3N1AB7AP5JY279832   Nissan       SENTRA              BURBANK                   CA
85956   3N1AB7AP5JY279880   Nissan       SENTRA              WEST PALM BEACH           FL
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85957   3N1AB7AP5JY280074   Nissan       SENTRA              Denver                    CO
85958   3N1AB7AP5JY280222   Nissan       SENTRA              BURBANK                   CA
85959   3N1AB7AP5JY280334   Nissan       SENTRA              EAST BOSTON               MA
85960   3N1AB7AP5JY280396   Nissan       SENTRA              CENTRAL DIST OFFC         OK
85961   3N1AB7AP5JY280706   Nissan       SENTRA              Miami                     FL
85962   3N1AB7AP5JY281581   Nissan       SENTRA              Stone Mountain            GA
85963   3N1AB7AP5JY281774   Nissan       SENTRA              MILWAUKEE                 WI
85964   3N1AB7AP5JY281872   Nissan       SENTRA              ATLANTA                   GA
85965   3N1AB7AP5JY282066   Nissan       SENTRA              JACKSONVILLE              FL
85966   3N1AB7AP5JY282794   Nissan       SENTRA              SANTA ANA                 CA
85967   3N1AB7AP5JY285050   Nissan       SENTRA              BURBANK                   CA
85968   3N1AB7AP5JY285081   Nissan       SENTRA              Elkridge                  MD
85969   3N1AB7AP5JY285114   Nissan       SENTRA              Fredericksburg            VA
85970   3N1AB7AP5JY285999   Nissan       SENTRA              STERLING                  VA
85971   3N1AB7AP5JY286232   Nissan       SENTRA              LOS ANGELES               CA
85972   3N1AB7AP5JY286389   Nissan       SENTRA              Miami                     FL
85973   3N1AB7AP5JY286473   Nissan       SENTRA              BURBANK                   CA
85974   3N1AB7AP5JY286683   Nissan       SENTRA              DALLAS                    TX
85975   3N1AB7AP5JY286912   Nissan       SENTRA              SANTA ANA                 CA
85976   3N1AB7AP5JY287087   Nissan       SENTRA              PHILADELPHIA              PA
85977   3N1AB7AP5JY287106   Nissan       SENTRA              San Diego                 CA
85978   3N1AB7AP5JY287235   Nissan       SENTRA              SYRACUSE                  NY
85979   3N1AB7AP5JY287378   Nissan       SENTRA              Rock Hill                 SC
85980   3N1AB7AP5JY287431   Nissan       SENTRA              SAINT PAUL                MN
85981   3N1AB7AP5JY287641   Nissan       SENTRA              ORLANDO                   FL
85982   3N1AB7AP5JY287767   Nissan       SENTRA              Charlotte                 NC
85983   3N1AB7AP5JY287851   Nissan       SENTRA              BURBANK                   CA
85984   3N1AB7AP5JY287915   Nissan       SENTRA              STERLING                  VA
85985   3N1AB7AP5JY288238   Nissan       SENTRA              Tolleson                  AZ
85986   3N1AB7AP5JY288367   Nissan       SENTRA              MIDDLE RIVER              MD
85987   3N1AB7AP5JY288546   Nissan       SENTRA              CHICAGO                   IL
85988   3N1AB7AP5JY288921   Nissan       SENTRA              Elkridge                  MD
85989   3N1AB7AP5JY288983   Nissan       SENTRA              HARVEY                    LA
85990   3N1AB7AP5JY289101   Nissan       SENTRA              Tolleson                  AZ
85991   3N1AB7AP5JY289437   Nissan       SENTRA              Marietta                  GA
85992   3N1AB7AP5JY289549   Nissan       SENTRA              PHOENIX                   AZ
85993   3N1AB7AP5JY289552   Nissan       SENTRA              DAYTONA BEACH             FL
85994   3N1AB7AP5JY289678   Nissan       SENTRA              Elkridge                  MD
85995   3N1AB7AP5JY289938   Nissan       SENTRA              Slidell                   LA
85996   3N1AB7AP5JY290006   Nissan       SENTRA              Miami                     FL
85997   3N1AB7AP5JY290166   Nissan       SENTRA              DAYTONA BEACH             FL
85998   3N1AB7AP5JY290247   Nissan       SENTRA              Rockville Centr           NY
85999   3N1AB7AP5JY290278   Nissan       SENTRA              STERLING                  VA
86000   3N1AB7AP5JY290300   Nissan       SENTRA              FORT LAUDERDALE           FL
86001   3N1AB7AP5JY290555   Nissan       SENTRA              Oklahoma City             OK
86002   3N1AB7AP5JY290670   Nissan       SENTRA              BOSTON                    MA
86003   3N1AB7AP5JY290717   Nissan       SENTRA              TALLAHASSEE               FL
86004   3N1AB7AP5JY290720   Nissan       SENTRA              Atlanta                   GA
86005   3N1AB7AP5JY290992   Nissan       SENTRA              Tampa                     FL
86006   3N1AB7AP5JY291060   Nissan       SENTRA              LUBBOCK                   TX
86007   3N1AB7AP5JY291074   Nissan       SENTRA              Norwalk                   CA
86008   3N1AB7AP5JY291527   Nissan       SENTRA              MEBANE                    NC
86009   3N1AB7AP5JY291706   Nissan       SENTRA              JACKSONVILLE              FL
86010   3N1AB7AP5JY291768   Nissan       SENTRA              NORTH PAC                 CA
86011   3N1AB7AP5JY291785   Nissan       SENTRA              Mira Loma                 CA
86012   3N1AB7AP5JY291818   Nissan       SENTRA              SANTA ANA                 CA
86013   3N1AB7AP5JY291852   Nissan       SENTRA              Riverside                 CA
86014   3N1AB7AP5JY292080   Nissan       SENTRA              NORTH PAC                 CA
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86015   3N1AB7AP5JY292189   Nissan       SENTRA              Maple Grove               MN
86016   3N1AB7AP5JY292242   Nissan       SENTRA              BURBANK                   CA
86017   3N1AB7AP5JY292256   Nissan       SENTRA              BURBANK                   CA
86018   3N1AB7AP5JY292337   Nissan       SENTRA              SAN FRANCISCO             CA
86019   3N1AB7AP5JY292791   Nissan       SENTRA              BURBANK                   CA
86020   3N1AB7AP5JY292855   Nissan       SENTRA              Riverside                 CA
86021   3N1AB7AP5JY292922   Nissan       SENTRA              Stockton                  CA
86022   3N1AB7AP5JY292984   Nissan       SENTRA              Tolleson                  AZ
86023   3N1AB7AP5JY293102   Nissan       SENTRA              Hayward                   CA
86024   3N1AB7AP5JY293133   Nissan       SENTRA              BURBANK                   CA
86025   3N1AB7AP5JY293231   Nissan       SENTRA              BURBANK                   CA
86026   3N1AB7AP5JY293357   Nissan       SENTRA              PHOENIX                   AZ
86027   3N1AB7AP5JY293360   Nissan       SENTRA              BURBANK                   CA
86028   3N1AB7AP5JY293584   Nissan       SENTRA              NEWARK                    NJ
86029   3N1AB7AP5JY293603   Nissan       SENTRA              BURBANK                   CA
86030   3N1AB7AP5JY293875   Nissan       SENTRA              NORTH HOLLYWOOD           CA
86031   3N1AB7AP5JY294167   Nissan       SENTRA              BURBANK                   CA
86032   3N1AB7AP5JY294699   Nissan       SENTRA              FLORIDA DEALER DIR        FL
86033   3N1AB7AP5JY295089   Nissan       SENTRA              Miami                     FL
86034   3N1AB7AP5JY295741   Nissan       SENTRA              BOSTON                    MA
86035   3N1AB7AP5JY295884   Nissan       SENTRA              SAN JOSE                  CA
86036   3N1AB7AP5JY296761   Nissan       SENTRA              Matteson                  IL
86037   3N1AB7AP5JY296856   Nissan       SENTRA              Detroit                   MI
86038   3N1AB7AP5JY297070   Nissan       SENTRA              STERLING                  VA
86039   3N1AB7AP5JY297103   Nissan       SENTRA              North Dighton             MA
86040   3N1AB7AP5JY298395   Nissan       SENTRA              ONTARIO                   CA
86041   3N1AB7AP5JY298672   Nissan       SENTRA              DENVER                    CO
86042   3N1AB7AP5JY299210   Nissan       SENTRA              KENNER                    LA
86043   3N1AB7AP5JY299241   Nissan       SENTRA              Rock Hill                 SC
86044   3N1AB7AP5JY299286   Nissan       SENTRA              Sarasota                  FL
86045   3N1AB7AP5JY299353   Nissan       SENTRA              ORLANDO                   FL
86046   3N1AB7AP5JY299580   Nissan       SENTRA              Matteson                  IL
86047   3N1AB7AP5JY299658   Nissan       SENTRA              Lake Elsinore             CA
86048   3N1AB7AP5JY299837   Nissan       SENTRA              BURBANK                   CA
86049   3N1AB7AP5JY300095   Nissan       SENTRA              GRAND RAPIDS              MI
86050   3N1AB7AP5JY300453   Nissan       SENTRA              SAN JOSE                  CA
86051   3N1AB7AP5JY300470   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
86052   3N1AB7AP5JY300579   Nissan       SENTRA              Atlanta                   GA
86053   3N1AB7AP5JY300968   Nissan       SENTRA              Denver                    CO
86054   3N1AB7AP5JY301084   Nissan       SENTRA              LOS ANGELES               CA
86055   3N1AB7AP5JY301215   Nissan       SENTRA              Atlanta                   GA
86056   3N1AB7AP5JY301229   Nissan       SENTRA              TAMPA                     FL
86057   3N1AB7AP5JY301506   Nissan       SENTRA              LAS VEGAS                 NV
86058   3N1AB7AP5JY301604   Nissan       SENTRA              BURBANK                   CA
86059   3N1AB7AP5JY301618   Nissan       SENTRA              AUSTIN                    TX
86060   3N1AB7AP5JY301702   Nissan       SENTRA              Hebron                    KY
86061   3N1AB7AP5JY301747   Nissan       SENTRA              WILMINGTON                CA
86062   3N1AB7AP5JY301814   Nissan       SENTRA              Atlanta                   GA
86063   3N1AB7AP5JY301831   Nissan       SENTRA              Lake Elsinore             CA
86064   3N1AB7AP5JY302364   Nissan       SENTRA              SAVANNAH                  GA
86065   3N1AB7AP5JY302512   Nissan       SENTRA              TRACY                     CA
86066   3N1AB7AP5JY302607   Nissan       SENTRA              SAN JOSE                  CA
86067   3N1AB7AP5JY302719   Nissan       SENTRA              INDIANAPOLIS              IN
86068   3N1AB7AP5JY302722   Nissan       SENTRA              Newark                    NJ
86069   3N1AB7AP5JY306334   Nissan       SENTRA              BURBANK                   CA
86070   3N1AB7AP5JY308651   Nissan       SENTRA              KANSAS CITY               MO
86071   3N1AB7AP5JY308889   Nissan       SENTRA              BURBANK                   CA
86072   3N1AB7AP5JY309167   Nissan       SENTRA              BURBANK                   CA
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86073   3N1AB7AP5JY309170   Nissan       SENTRA              Warwick                   RI
86074   3N1AB7AP5JY309444   Nissan       SENTRA              Louisville                KY
86075   3N1AB7AP5JY309637   Nissan       SENTRA              Salt Lake City            UT
86076   3N1AB7AP5JY309752   Nissan       SENTRA              SARASOTA                  FL
86077   3N1AB7AP5JY309881   Nissan       SENTRA              BURBANK                   CA
86078   3N1AB7AP5JY309895   Nissan       SENTRA              PLEASANTON                CA
86079   3N1AB7AP5JY310108   Nissan       SENTRA              Tucson                    AZ
86080   3N1AB7AP5JY310416   Nissan       SENTRA              BURBANK                   CA
86081   3N1AB7AP5JY310657   Nissan       SENTRA              BURBANK                   CA
86082   3N1AB7AP5JY311100   Nissan       SENTRA              Lake Elsinore             CA
86083   3N1AB7AP5JY311162   Nissan       SENTRA              CHICAGO                   IL
86084   3N1AB7AP5JY311176   Nissan       SENTRA              HOUSTON                   TX
86085   3N1AB7AP5JY311243   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
86086   3N1AB7AP5JY311498   Nissan       SENTRA              NEW ENGLAND DEALER        MA
86087   3N1AB7AP5JY311517   Nissan       SENTRA              Manheim                   PA
86088   3N1AB7AP5JY311629   Nissan       SENTRA              Charlotte                 NC
86089   3N1AB7AP5JY312070   Nissan       SENTRA              San Diego                 CA
86090   3N1AB7AP5JY312912   Nissan       SENTRA              Las Vegas                 NV
86091   3N1AB7AP5JY313266   Nissan       SENTRA              SAN JOSE                  CA
86092   3N1AB7AP5JY313333   Nissan       SENTRA              Elkridge                  MD
86093   3N1AB7AP5JY313395   Nissan       SENTRA              Newark                    NJ
86094   3N1AB7AP5JY313963   Nissan       SENTRA              BOISE                     US
86095   3N1AB7AP5JY314224   Nissan       SENTRA              Roseville                 CA
86096   3N1AB7AP5JY315082   Nissan       SENTRA              Salt Lake City            UT
86097   3N1AB7AP5JY315390   Nissan       SENTRA              SOUTH SAN FRANC           CA
86098   3N1AB7AP5JY315938   Nissan       SENTRA              GRAND RAPIDS              MI
86099   3N1AB7AP5JY323988   Nissan       SENTRA              Ventura                   CA
86100   3N1AB7AP5JY324283   Nissan       SENTRA              Warwick                   RI
86101   3N1AB7AP5JY325093   Nissan       SENTRA              Winston‐Salem             NC
86102   3N1AB7AP5JY325188   Nissan       SENTRA              TAMPA                     FL
86103   3N1AB7AP5JY325336   Nissan       SENTRA              LOS ANGELES               CA
86104   3N1AB7AP5JY325370   Nissan       SENTRA              SAINT PAUL                MN
86105   3N1AB7AP5JY325451   Nissan       SENTRA              LIHUE AP KAUAI            HI
86106   3N1AB7AP5JY325563   Nissan       SENTRA              Atlanta                   GA
86107   3N1AB7AP5JY325644   Nissan       SENTRA              CHICAGO                   IL
86108   3N1AB7AP5JY325692   Nissan       SENTRA              ST PAUL                   MN
86109   3N1AB7AP5JY325823   Nissan       SENTRA              Atlanta                   GA
86110   3N1AB7AP5JY325854   Nissan       SENTRA              ORLANDO                   FL
86111   3N1AB7AP5JY325899   Nissan       SENTRA              NORTH PAC                 CA
86112   3N1AB7AP5JY326051   Nissan       SENTRA              DENVER                    CO
86113   3N1AB7AP5JY326129   Nissan       SENTRA              Hanover                   MD
86114   3N1AB7AP5JY326244   Nissan       SENTRA              Detroit                   MI
86115   3N1AB7AP5JY326437   Nissan       SENTRA              San Diego                 CA
86116   3N1AB7AP5JY326549   Nissan       SENTRA              Houston                   TX
86117   3N1AB7AP5JY327023   Nissan       SENTRA              INDIANAPOLIS              IN
86118   3N1AB7AP5JY327054   Nissan       SENTRA              Warwick                   RI
86119   3N1AB7AP5JY327118   Nissan       SENTRA              PORTLAND                  OR
86120   3N1AB7AP5JY327233   Nissan       SENTRA              DENVER                    CO
86121   3N1AB7AP5JY327314   Nissan       SENTRA              SAN JOSE                  CA
86122   3N1AB7AP5JY327345   Nissan       SENTRA              Little Rock               AR
86123   3N1AB7AP5JY327474   Nissan       SENTRA              North Dighton             MA
86124   3N1AB7AP5JY327510   Nissan       SENTRA              Dallas                    TX
86125   3N1AB7AP5JY327524   Nissan       SENTRA              WHITE PLAINS              NY
86126   3N1AB7AP5JY327569   Nissan       SENTRA              N. Palm Beach             FL
86127   3N1AB7AP5JY327572   Nissan       SENTRA              Richmond                  VA
86128   3N1AB7AP5JY327670   Nissan       SENTRA              WEST HARTFORD             CT
86129   3N1AB7AP5JY327796   Nissan       SENTRA              FORT MYERS                FL
86130   3N1AB7AP5JY327877   Nissan       SENTRA              Chicago                   IL
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86131   3N1AB7AP5JY328057   Nissan       SENTRA              Cranberry Towns           PA
86132   3N1AB7AP5JY328298   Nissan       SENTRA              Bensalem                  PA
86133   3N1AB7AP5JY328365   Nissan       SENTRA              Kailua‐Kona               HI
86134   3N1AB7AP5JY328401   Nissan       SENTRA              SAINT PAUL                MN
86135   3N1AB7AP5JY328673   Nissan       SENTRA              BURBANK                   CA
86136   3N1AB7AP5JY328902   Nissan       SENTRA              Burien                    WA
86137   3N1AB7AP5JY329001   Nissan       SENTRA              Scottsdale                AZ
86138   3N1AB7AP5JY329015   Nissan       SENTRA              Omaha                     NE
86139   3N1AB7AP5JY329161   Nissan       SENTRA              Norwalk                   CA
86140   3N1AB7AP5JY329175   Nissan       SENTRA              Cleveland                 OH
86141   3N1AB7AP5JY329208   Nissan       SENTRA              Elkridge                  MD
86142   3N1AB7AP5JY329824   Nissan       SENTRA              SALT LAKE CITY            UT
86143   3N1AB7AP5JY329970   Nissan       SENTRA              ORANGE COUNTY             CA
86144   3N1AB7AP5JY330066   Nissan       SENTRA              OAKLAND                   CA
86145   3N1AB7AP5JY330083   Nissan       SENTRA              BURBANK                   CA
86146   3N1AB7AP5JY330102   Nissan       SENTRA              Hebron                    KY
86147   3N1AB7AP5JY330147   Nissan       SENTRA              NORTH PAC                 CA
86148   3N1AB7AP5JY330228   Nissan       SENTRA              BURBANK                   CA
86149   3N1AB7AP5JY330326   Nissan       SENTRA              ROSEVILLE                 CA
86150   3N1AB7AP5JY330746   Nissan       SENTRA              CHICAGO                   IL
86151   3N1AB7AP5JY330794   Nissan       SENTRA              Ventura                   CA
86152   3N1AB7AP5JY330813   Nissan       SENTRA              Aurora                    CO
86153   3N1AB7AP5JY331623   Nissan       SENTRA              Marietta                  GA
86154   3N1AB7AP5JY331699   Nissan       SENTRA              SAN FRANCISCO             CA
86155   3N1AB7AP5JY331721   Nissan       SENTRA              ORLANDO                   FL
86156   3N1AB7AP5JY331816   Nissan       SENTRA              GREENSBORO                NC
86157   3N1AB7AP5JY332108   Nissan       SENTRA              BURBANK                   CA
86158   3N1AB7AP5JY332285   Nissan       SENTRA              Carleton                  MI
86159   3N1AB7AP5JY332447   Nissan       SENTRA              FORT MYERS                FL
86160   3N1AB7AP5KY240966   Nissan       SENTRA              LAS VEGAS                 NV
86161   3N1AB7AP5KY240983   Nissan       SENTRA              TAMPA                     FL
86162   3N1AB7AP5KY241065   Nissan       SENTRA              ATLANTA AP                GA
86163   3N1AB7AP5KY241356   Nissan       SENTRA              COLLEGE PARK              GA
86164   3N1AB7AP5KY241860   Nissan       SENTRA              ORLANDO                   FL
86165   3N1AB7AP5KY241972   Nissan       SENTRA              ATLANTA                   GA
86166   3N1AB7AP5KY242250   Nissan       SENTRA              WEST PALM BEACH           FL
86167   3N1AB7AP5KY242412   Nissan       SENTRA              FORT MYERS                FL
86168   3N1AB7AP5KY242541   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
86169   3N1AB7AP5KY242653   Nissan       SENTRA              FORT LAUDERDALE           FL
86170   3N1AB7AP5KY242796   Nissan       SENTRA              Schaumburg                IL
86171   3N1AB7AP5KY243480   Nissan       SENTRA              PICO RIVERA               CA
86172   3N1AB7AP5KY243916   Nissan       SENTRA              TUCSON                    AZ
86173   3N1AB7AP5KY244094   Nissan       SENTRA              BURBANK                   CA
86174   3N1AB7AP5KY244189   Nissan       SENTRA              Hebron                    KY
86175   3N1AB7AP5KY244662   Nissan       SENTRA              SAN FRANCISCO             CA
86176   3N1AB7AP5KY244869   Nissan       SENTRA              HILO                      HI
86177   3N1AB7AP5KY244967   Nissan       SENTRA              STERLING                  VA
86178   3N1AB7AP5KY245648   Nissan       SENTRA              San Diego                 CA
86179   3N1AB7AP5KY245956   Nissan       SENTRA              Honolulu                  HI
86180   3N1AB7AP5KY247299   Nissan       SENTRA              Palm Springs              CA
86181   3N1AB7AP5KY268699   Nissan       SENTRA              KAILUA‐KONA               HI
86182   3N1AB7AP5KY269318   Nissan       SENTRA              KAILUA‐KONA               HI
86183   3N1AB7AP5KY269321   Nissan       SENTRA              KALAOA                    HI
86184   3N1AB7AP5KY269643   Nissan       SENTRA              KALAOA                    HI
86185   3N1AB7AP5KY269738   Nissan       SENTRA              KAILUA‐KONA               HI
86186   3N1AB7AP5KY294820   Nissan       SENTRA              ATLANTA                   GA
86187   3N1AB7AP5KY296857   Nissan       SENTRA              Atlanta                   GA
86188   3N1AB7AP5KY298933   Nissan       SENTRA              KNOXVILLE                 TN
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86189   3N1AB7AP5KY298981   Nissan       SENTRA              KANSAS CITY               MO
86190   3N1AB7AP5KY300454   Nissan       SENTRA              DALLAS                    TX
86191   3N1AB7AP5KY300681   Nissan       SENTRA              LOS ANGELES               CA
86192   3N1AB7AP5KY300776   Nissan       SENTRA              TUCSON                    AZ
86193   3N1AB7AP5KY301443   Nissan       SENTRA              Davie                     FL
86194   3N1AB7AP5KY301510   Nissan       SENTRA              Los Angeles               CA
86195   3N1AB7AP5KY301927   Nissan       SENTRA              Huntington Stat           NY
86196   3N1AB7AP5KY302270   Nissan       SENTRA              Atlanta                   GA
86197   3N1AB7AP5KY302916   Nissan       SENTRA              LOS ANGELES               CA
86198   3N1AB7AP5KY303662   Nissan       SENTRA              SEATAC                    WA
86199   3N1AB7AP5KY304200   Nissan       SENTRA              Ft. Myers                 FL
86200   3N1AB7AP5KY305962   Nissan       SENTRA              KENNER                    LA
86201   3N1AB7AP5KY306352   Nissan       SENTRA              BOSTON                    MA
86202   3N1AB7AP5KY306478   Nissan       SENTRA              INDIANAPOLIS              IN
86203   3N1AB7AP5KY306626   Nissan       SENTRA              Bridgeton                 MO
86204   3N1AB7AP5KY306660   Nissan       SENTRA              Chicago                   IL
86205   3N1AB7AP5KY307923   Nissan       SENTRA              FLORENCE                  AL
86206   3N1AB7AP5KY308859   Nissan       SENTRA              Rock Hill                 SC
86207   3N1AB7AP5KY309591   Nissan       SENTRA              Clearwater                FL
86208   3N1AB7AP5KY310675   Nissan       SENTRA              Allentown                 PA
86209   3N1AB7AP5KY311261   Nissan       SENTRA              WHITE PLAINS              NY
86210   3N1AB7AP5KY312782   Nissan       SENTRA              KNOXVILLE                 TN
86211   3N1AB7AP5KY313124   Nissan       SENTRA              Clearwater                FL
86212   3N1AB7AP5KY313222   Nissan       SENTRA              PORTLAND                  OR
86213   3N1AB7AP5KY313415   Nissan       SENTRA              SEATAC                    WA
86214   3N1AB7AP5KY313883   Nissan       SENTRA              CHICAGO                   IL
86215   3N1AB7AP5KY314886   Nissan       SENTRA              PITTSBURGH                PA
86216   3N1AB7AP5KY315469   Nissan       SENTRA              Anaheim                   CA
86217   3N1AB7AP5KY315522   Nissan       SENTRA              Jackson                   MS
86218   3N1AB7AP5KY316959   Nissan       SENTRA              INDIANAPOLIS              IN
86219   3N1AB7AP5KY317478   Nissan       SENTRA              Warwick                   RI
86220   3N1AB7AP5KY317867   Nissan       SENTRA              SAINT PAUL                MN
86221   3N1AB7AP5KY323989   Nissan       SENTRA              TUCSON                    AZ
86222   3N1AB7AP5KY325080   Nissan       SENTRA              ORLANDO                   FL
86223   3N1AB7AP5KY337939   Nissan       SENTRA              NEW YORK CITY             NY
86224   3N1AB7AP5KY338802   Nissan       SENTRA              Londonderry               NH
86225   3N1AB7AP5KY338847   Nissan       SENTRA              Hebron                    KY
86226   3N1AB7AP5KY338895   Nissan       SENTRA              PHILADELPHIA              PA
86227   3N1AB7AP5KY338962   Nissan       SENTRA              Atlanta                   GA
86228   3N1AB7AP5KY339576   Nissan       SENTRA              Hapeville                 GA
86229   3N1AB7AP5KY341165   Nissan       SENTRA              Lexington                 KY
86230   3N1AB7AP5KY341778   Nissan       SENTRA              ARVERNE                   NY
86231   3N1AB7AP5KY343322   Nissan       SENTRA              Hayward                   CA
86232   3N1AB7AP5KY343417   Nissan       SENTRA              BURBANK                   CA
86233   3N1AB7AP5KY344874   Nissan       SENTRA              LATROBE                   PA
86234   3N1AB7AP5KY344924   Nissan       SENTRA              SALT LAKE CITY            US
86235   3N1AB7AP5KY345412   Nissan       SENTRA              Salt Lake City            UT
86236   3N1AB7AP5KY350707   Nissan       SENTRA              PHOENIX                   AZ
86237   3N1AB7AP5KY351047   Nissan       SENTRA              ORLANDO                   FL
86238   3N1AB7AP5KY353428   Nissan       SENTRA              Pensacola                 FL
86239   3N1AB7AP5KY353431   Nissan       SENTRA              MEDINA                    OH
86240   3N1AB7AP5KY353509   Nissan       SENTRA              Alcoa                     TN
86241   3N1AB7AP5KY353560   Nissan       SENTRA              HARTFORD                  CT
86242   3N1AB7AP5KY354451   Nissan       SENTRA              NEW YORK CITY             NY
86243   3N1AB7AP5KY355096   Nissan       SENTRA              AUGUSTA                   GA
86244   3N1AB7AP5KY359858   Nissan       SENTRA              Slidell                   LA
86245   3N1AB7AP5KY363845   Nissan       SENTRA              Estero                    FL
86246   3N1AB7AP5KY365014   Nissan       SENTRA              COLUMBIA                  SC
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86247   3N1AB7AP6FY336093   Nissan       SENTRA              BOSTON, LOGAN AP          MA
86248   3N1AB7AP6FY348650   Nissan       SENTRA              Tampa                     FL
86249   3N1AB7AP6FY377002   Nissan       SENTRA              Austell                   GA
86250   3N1AB7AP6HL680006   Nissan       SENTRA              San Antonio               TX
86251   3N1AB7AP6HL680037   Nissan       SENTRA              Bridgeton                 MO
86252   3N1AB7AP6HL680698   Nissan       SENTRA              SANDSTON                  VA
86253   3N1AB7AP6HL684587   Nissan       SENTRA              HANOVER                   MD
86254   3N1AB7AP6HL685917   Nissan       SENTRA              PITTSBURGH                PA
86255   3N1AB7AP6HL693208   Nissan       SENTRA              Chicago                   IL
86256   3N1AB7AP6HL694276   Nissan       SENTRA              CLEVELAND                 OH
86257   3N1AB7AP6HL694567   Nissan       SENTRA              Elkridge                  MD
86258   3N1AB7AP6HL695153   Nissan       SENTRA              Bordentown                NJ
86259   3N1AB7AP6HL695332   Nissan       SENTRA              Elkridge                  MD
86260   3N1AB7AP6HL695671   Nissan       SENTRA              Atlanta                   GA
86261   3N1AB7AP6HL696089   Nissan       SENTRA              NORTH HOLLYWOOD           CA
86262   3N1AB7AP6HL696268   Nissan       SENTRA              Stockton                  CA
86263   3N1AB7AP6HL696500   Nissan       SENTRA              Las Vegas                 NV
86264   3N1AB7AP6HL696979   Nissan       SENTRA              North Las Vegas           NV
86265   3N1AB7AP6HL697100   Nissan       SENTRA              SANTA ANA                 CA
86266   3N1AB7AP6HL698344   Nissan       SENTRA              Manheim                   PA
86267   3N1AB7AP6HL698649   Nissan       SENTRA              BURBANK                   CA
86268   3N1AB7AP6HL698893   Nissan       SENTRA              RICHMOND                  VA
86269   3N1AB7AP6HL714283   Nissan       SENTRA              SAN DIEGO                 CA
86270   3N1AB7AP6HY217981   Nissan       SENTRA              Chicago                   IL
86271   3N1AB7AP6HY244887   Nissan       SENTRA              Elkridge                  MD
86272   3N1AB7AP6HY284807   Nissan       SENTRA              BURBANK                   CA
86273   3N1AB7AP6HY286136   Nissan       SENTRA              Hanover                   MD
86274   3N1AB7AP6HY292017   Nissan       SENTRA              Harvey                    LA
86275   3N1AB7AP6HY296231   Nissan       SENTRA              STERLING                  VA
86276   3N1AB7AP6HY296438   Nissan       SENTRA              NEW ENGLAND DEALER        MA
86277   3N1AB7AP6HY298013   Nissan       SENTRA              Irving                    TX
86278   3N1AB7AP6HY308720   Nissan       SENTRA              BOSTON                    MA
86279   3N1AB7AP6HY308734   Nissan       SENTRA              TIMONIUM                  MD
86280   3N1AB7AP6HY311360   Nissan       SENTRA              MORROW                    GA
86281   3N1AB7AP6HY311875   Nissan       SENTRA              CHICAGO O'HARE AP         IL
86282   3N1AB7AP6HY313075   Nissan       SENTRA              SAN FRANCISCO             CA
86283   3N1AB7AP6HY313710   Nissan       SENTRA              HANOVER                   MD
86284   3N1AB7AP6HY314209   Nissan       SENTRA              HERMOSA BEACH             CA
86285   3N1AB7AP6HY315523   Nissan       SENTRA              STERLING                  VA
86286   3N1AB7AP6HY320964   Nissan       SENTRA              BURBANK                   CA
86287   3N1AB7AP6HY324433   Nissan       SENTRA              NORTH PAC                 CA
86288   3N1AB7AP6HY327798   Nissan       SENTRA              BOSTON                    MA
86289   3N1AB7AP6HY327901   Nissan       SENTRA              CLEVELAND                 OH
86290   3N1AB7AP6HY328935   Nissan       SENTRA              BURBANK                   CA
86291   3N1AB7AP6HY329180   Nissan       SENTRA              Stockton                  CA
86292   3N1AB7AP6HY335318   Nissan       SENTRA              NEW ENGLAND DEALER        MA
86293   3N1AB7AP6HY335321   Nissan       SENTRA              SAN FRANCISCO             CA
86294   3N1AB7AP6HY335707   Nissan       SENTRA              BURBANK                   CA
86295   3N1AB7AP6HY335867   Nissan       SENTRA              BURBANK                   CA
86296   3N1AB7AP6HY335884   Nissan       SENTRA              Fontana                   CA
86297   3N1AB7AP6HY336288   Nissan       SENTRA              BURBANK                   CA
86298   3N1AB7AP6HY338106   Nissan       SENTRA              NORTH PAC                 CA
86299   3N1AB7AP6HY338297   Nissan       SENTRA              Plainfield                IN
86300   3N1AB7AP6HY339692   Nissan       SENTRA              PHILADELPHIA              PA
86301   3N1AB7AP6HY342950   Nissan       SENTRA              ROSEVILLE                 CA
86302   3N1AB7AP6HY343676   Nissan       SENTRA              Santa Clara               CA
86303   3N1AB7AP6HY343726   Nissan       SENTRA              SAN DIEGO                 CA
86304   3N1AB7AP6HY344309   Nissan       SENTRA              BURBANK                   CA
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86305   3N1AB7AP6HY345606   Nissan       SENTRA              Norwalk                   CA
86306   3N1AB7AP6HY345895   Nissan       SENTRA              Los Angeles               CA
86307   3N1AB7AP6HY347680   Nissan       SENTRA              Torrance                  CA
86308   3N1AB7AP6HY348036   Nissan       SENTRA              LAS VEGAS                 NV
86309   3N1AB7AP6HY348859   Nissan       SENTRA              Atlanta                   GA
86310   3N1AB7AP6HY349722   Nissan       SENTRA              BURBANK                   CA
86311   3N1AB7AP6HY349848   Nissan       SENTRA              Mira Loma                 CA
86312   3N1AB7AP6HY350045   Nissan       SENTRA              NORTH HOLLYWOOD           CA
86313   3N1AB7AP6HY351082   Nissan       SENTRA              North Las Vegas           NV
86314   3N1AB7AP6HY351292   Nissan       SENTRA              Las Vegas                 NV
86315   3N1AB7AP6HY351907   Nissan       SENTRA              RALEIGH                   NC
86316   3N1AB7AP6HY352765   Nissan       SENTRA              SAN ANTONIO               TX
86317   3N1AB7AP6HY352989   Nissan       SENTRA              Kent                      WA
86318   3N1AB7AP6HY353639   Nissan       SENTRA              STERLING                  VA
86319   3N1AB7AP6HY353723   Nissan       SENTRA              Elkridge                  MD
86320   3N1AB7AP6HY355052   Nissan       SENTRA              BURBANK                   CA
86321   3N1AB7AP6HY356105   Nissan       SENTRA              Matteson                  IL
86322   3N1AB7AP6HY356315   Nissan       SENTRA              BURBANK                   CA
86323   3N1AB7AP6HY356329   Nissan       SENTRA              NORTH PAC                 CA
86324   3N1AB7AP6HY360042   Nissan       SENTRA              HANOVER                   MD
86325   3N1AB7AP6HY361210   Nissan       SENTRA              Denver                    CO
86326   3N1AB7AP6HY362583   Nissan       SENTRA              STERLING                  VA
86327   3N1AB7AP6JL642099   Nissan       SENTRA              DANIA BEACH               FL
86328   3N1AB7AP6JY212060   Nissan       SENTRA              Houston                   TX
86329   3N1AB7AP6JY213659   Nissan       SENTRA              CHARLOTTE                 NC
86330   3N1AB7AP6JY214911   Nissan       SENTRA              Alexandria                VA
86331   3N1AB7AP6JY222006   Nissan       SENTRA              Fairburn                  GA
86332   3N1AB7AP6JY225309   Nissan       SENTRA              DANIA BEACH               FL
86333   3N1AB7AP6JY239310   Nissan       SENTRA              BOSTON                    MA
86334   3N1AB7AP6JY240263   Nissan       SENTRA              BURBANK                   CA
86335   3N1AB7AP6JY240411   Nissan       SENTRA              Tampa                     FL
86336   3N1AB7AP6JY241817   Nissan       SENTRA              PICO RIVERA               CA
86337   3N1AB7AP6JY241882   Nissan       SENTRA              BURBANK                   CA
86338   3N1AB7AP6JY242675   Nissan       SENTRA              SAN FRANCISCO             CA
86339   3N1AB7AP6JY242787   Nissan       SENTRA              NORTH PAC                 CA
86340   3N1AB7AP6JY243115   Nissan       SENTRA              SAN DIEGO                 CA
86341   3N1AB7AP6JY243776   Nissan       SENTRA              SEATAC                    WA
86342   3N1AB7AP6JY243860   Nissan       SENTRA              BURBANK                   CA
86343   3N1AB7AP6JY243888   Nissan       SENTRA              DAYTONA BEACH             FL
86344   3N1AB7AP6JY243924   Nissan       SENTRA              Hanover                   MD
86345   3N1AB7AP6JY244104   Nissan       SENTRA              Las Vegas                 NV
86346   3N1AB7AP6JY244202   Nissan       SENTRA              BURBANK                   CA
86347   3N1AB7AP6JY244247   Nissan       SENTRA              DAYTONA BEACH             FL
86348   3N1AB7AP6JY244474   Nissan       SENTRA              SACRAMENTO                CA
86349   3N1AB7AP6JY244605   Nissan       SENTRA              BURBANK                   CA
86350   3N1AB7AP6JY244653   Nissan       SENTRA              Riverside                 CA
86351   3N1AB7AP6JY244751   Nissan       SENTRA              EAST BRUNSWICK            NJ
86352   3N1AB7AP6JY244829   Nissan       SENTRA              CHICAGO                   IL
86353   3N1AB7AP6JY245009   Nissan       SENTRA              SAN DIEGO                 CA
86354   3N1AB7AP6JY245141   Nissan       SENTRA              FLORIDA DEALER DIR        FL
86355   3N1AB7AP6JY245186   Nissan       SENTRA              KAHULUI                   HI
86356   3N1AB7AP6JY245222   Nissan       SENTRA              MARIETTA                  GA
86357   3N1AB7AP6JY245401   Nissan       SENTRA              Elkridge                  MD
86358   3N1AB7AP6JY245723   Nissan       SENTRA              Stone Mountain            GA
86359   3N1AB7AP6JY245821   Nissan       SENTRA              Newark                    NJ
86360   3N1AB7AP6JY246127   Nissan       SENTRA              BURBANK                   CA
86361   3N1AB7AP6JY246306   Nissan       SENTRA              ORLANDO                   FL
86362   3N1AB7AP6JY246340   Nissan       SENTRA              NORTH PAC                 CA
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86363   3N1AB7AP6JY246399   Nissan       SENTRA              Rock Hill                 SC
86364   3N1AB7AP6JY246791   Nissan       SENTRA              SAN FRANCISCO             CA
86365   3N1AB7AP6JY246841   Nissan       SENTRA              WEST CENTRAL DEALE        CO
86366   3N1AB7AP6JY247231   Nissan       SENTRA              LAS VEGAS                 NV
86367   3N1AB7AP6JY247438   Nissan       SENTRA              Atlanta                   GA
86368   3N1AB7AP6JY247701   Nissan       SENTRA              BURBANK                   CA
86369   3N1AB7AP6JY247942   Nissan       SENTRA              BURBANK                   CA
86370   3N1AB7AP6JY248007   Nissan       SENTRA              Burien                    WA
86371   3N1AB7AP6JY248105   Nissan       SENTRA              Matteson                  IL
86372   3N1AB7AP6JY248203   Nissan       SENTRA              BURBANK                   CA
86373   3N1AB7AP6JY248413   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
86374   3N1AB7AP6JY250484   Nissan       SENTRA              Matteson                  IL
86375   3N1AB7AP6JY251909   Nissan       SENTRA              Chicago                   IL
86376   3N1AB7AP6JY251912   Nissan       SENTRA              LIHUE AP KAUAI            HI
86377   3N1AB7AP6JY252025   Nissan       SENTRA              Hebron                    KY
86378   3N1AB7AP6JY252137   Nissan       SENTRA              KAHULUI                   HI
86379   3N1AB7AP6JY252333   Nissan       SENTRA              KAHULUI                   HI
86380   3N1AB7AP6JY252509   Nissan       SENTRA              PHILADELPHIA              PA
86381   3N1AB7AP6JY253093   Nissan       SENTRA              CHICAGO                   IL
86382   3N1AB7AP6JY253112   Nissan       SENTRA              SAN FRANCISCO             CA
86383   3N1AB7AP6JY253126   Nissan       SENTRA              Detroit                   MI
86384   3N1AB7AP6JY253322   Nissan       SENTRA              TAMPA                     FL
86385   3N1AB7AP6JY253529   Nissan       SENTRA              Davie                     FL
86386   3N1AB7AP6JY253580   Nissan       SENTRA              Clearwater                FL
86387   3N1AB7AP6JY253658   Nissan       SENTRA              TAMPA                     FL
86388   3N1AB7AP6JY253692   Nissan       SENTRA              CONYERS                   GA
86389   3N1AB7AP6JY253871   Nissan       SENTRA              TRACY                     CA
86390   3N1AB7AP6JY253952   Nissan       SENTRA              Tolleson                  AZ
86391   3N1AB7AP6JY254079   Nissan       SENTRA              ORLANDO                   FL
86392   3N1AB7AP6JY254101   Nissan       SENTRA              DAYTONA BEACH             FL
86393   3N1AB7AP6JY254115   Nissan       SENTRA              Stockton                  CA
86394   3N1AB7AP6JY254213   Nissan       SENTRA              Fredericksburg            VA
86395   3N1AB7AP6JY254227   Nissan       SENTRA              Richmond                  VA
86396   3N1AB7AP6JY254289   Nissan       SENTRA              Johnston                  RI
86397   3N1AB7AP6JY254325   Nissan       SENTRA              Cleveland                 OH
86398   3N1AB7AP6JY254356   Nissan       SENTRA              SARASOTA                  FL
86399   3N1AB7AP6JY254440   Nissan       SENTRA              WEST PALM BEACH           FL
86400   3N1AB7AP6JY254485   Nissan       SENTRA              Clearwater                FL
86401   3N1AB7AP6JY254499   Nissan       SENTRA              Miami                     FL
86402   3N1AB7AP6JY254518   Nissan       SENTRA              BURBANK                   CA
86403   3N1AB7AP6JY254597   Nissan       SENTRA              BURBANK                   CA
86404   3N1AB7AP6JY254633   Nissan       SENTRA              CHANDLER                  AZ
86405   3N1AB7AP6JY255006   Nissan       SENTRA              SAN FRANCISCO             CA
86406   3N1AB7AP6JY255202   Nissan       SENTRA              Tolleson                  AZ
86407   3N1AB7AP6JY255250   Nissan       SENTRA              BURBANK                   CA
86408   3N1AB7AP6JY255328   Nissan       SENTRA              BURBANK                   CA
86409   3N1AB7AP6JY255359   Nissan       SENTRA              BURBANK                   CA
86410   3N1AB7AP6JY255488   Nissan       SENTRA              NORTH PAC                 CA
86411   3N1AB7AP6JY255510   Nissan       SENTRA              BURBANK                   CA
86412   3N1AB7AP6JY255717   Nissan       SENTRA              Roseville                 CA
86413   3N1AB7AP6JY255779   Nissan       SENTRA              BURBANK                   CA
86414   3N1AB7AP6JY255863   Nissan       SENTRA              BURBANK                   CA
86415   3N1AB7AP6JY256401   Nissan       SENTRA              BUBANK                    CA
86416   3N1AB7AP6JY256480   Nissan       SENTRA              NORTH PAC                 CA
86417   3N1AB7AP6JY257497   Nissan       SENTRA              NORTH PAC                 CA
86418   3N1AB7AP6JY257791   Nissan       SENTRA              N. Las Vegas              NV
86419   3N1AB7AP6JY257905   Nissan       SENTRA              LAS VEGAS                 NV
86420   3N1AB7AP6JY258231   Nissan       SENTRA              TRACY                     CA
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86421   3N1AB7AP6JY260710   Nissan       SENTRA              LOS ANGELES               CA
86422   3N1AB7AP6JY260934   Nissan       SENTRA              Rockville Centr           NY
86423   3N1AB7AP6JY261100   Nissan       SENTRA              SAN FRANCISCO             CA
86424   3N1AB7AP6JY261405   Nissan       SENTRA              Hayward                   CA
86425   3N1AB7AP6JY261517   Nissan       SENTRA              NORTH PAC                 CA
86426   3N1AB7AP6JY263414   Nissan       SENTRA              LOS ANGELES               CA
86427   3N1AB7AP6JY264868   Nissan       SENTRA              North Dighton             MA
86428   3N1AB7AP6JY264952   Nissan       SENTRA              Las Vegas                 NV
86429   3N1AB7AP6JY266071   Nissan       SENTRA              Kahului                   HI
86430   3N1AB7AP6JY266247   Nissan       SENTRA              KAHULUI                   HI
86431   3N1AB7AP6JY266488   Nissan       SENTRA              WEST CENTRAL DEALE        CO
86432   3N1AB7AP6JY266491   Nissan       SENTRA              Denver                    CO
86433   3N1AB7AP6JY266717   Nissan       SENTRA              LAS VEGAS                 NV
86434   3N1AB7AP6JY267317   Nissan       SENTRA              BURBANK                   CA
86435   3N1AB7AP6JY267379   Nissan       SENTRA              CHANDLER                  AZ
86436   3N1AB7AP6JY267608   Nissan       SENTRA              Denver                    CO
86437   3N1AB7AP6JY267740   Nissan       SENTRA              NORTH PAC                 CA
86438   3N1AB7AP6JY267866   Nissan       SENTRA              NORTH PAC                 CA
86439   3N1AB7AP6JY269567   Nissan       SENTRA              ELKRIDGE                  MD
86440   3N1AB7AP6JY269584   Nissan       SENTRA              BURBANK                   CA
86441   3N1AB7AP6JY270718   Nissan       SENTRA              NORTH PAC                 CA
86442   3N1AB7AP6JY271142   Nissan       SENTRA              FORT MYERS                FL
86443   3N1AB7AP6JY271366   Nissan       SENTRA              WEST PALM BEACH           FL
86444   3N1AB7AP6JY271593   Nissan       SENTRA              Philadelphia              PA
86445   3N1AB7AP6JY271836   Nissan       SENTRA              WEST DUNDEE               IL
86446   3N1AB7AP6JY272307   Nissan       SENTRA              STERLING                  VA
86447   3N1AB7AP6JY272632   Nissan       SENTRA              HARVEY                    LA
86448   3N1AB7AP6JY272677   Nissan       SENTRA              CHICAGO                   IL
86449   3N1AB7AP6JY272808   Nissan       SENTRA              CLEVELAND                 OH
86450   3N1AB7AP6JY273019   Nissan       SENTRA              Baltimore                 MD
86451   3N1AB7AP6JY273215   Nissan       SENTRA              MEDINA                    OH
86452   3N1AB7AP6JY273912   Nissan       SENTRA              MILWAUKEE                 WI
86453   3N1AB7AP6JY273974   Nissan       SENTRA              Houston                   TX
86454   3N1AB7AP6JY274123   Nissan       SENTRA              LOUISVILLE                KY
86455   3N1AB7AP6JY274767   Nissan       SENTRA              KENNER                    LA
86456   3N1AB7AP6JY274932   Nissan       SENTRA              PHOENIX                   AZ
86457   3N1AB7AP6JY275496   Nissan       SENTRA              PORTLAND                  OR
86458   3N1AB7AP6JY275837   Nissan       SENTRA              BURBANK                   CA
86459   3N1AB7AP6JY276034   Nissan       SENTRA              MORROW                    GA
86460   3N1AB7AP6JY276258   Nissan       SENTRA              North Dighton             MA
86461   3N1AB7AP6JY276535   Nissan       SENTRA              NORTH PAC                 CA
86462   3N1AB7AP6JY276549   Nissan       SENTRA              TAMPA                     FL
86463   3N1AB7AP6JY276874   Nissan       SENTRA              BURBANK                   CA
86464   3N1AB7AP6JY277197   Nissan       SENTRA              COLLEGE PARK              GA
86465   3N1AB7AP6JY277393   Nissan       SENTRA              HANOVER                   MD
86466   3N1AB7AP6JY277460   Nissan       SENTRA              Manheim                   PA
86467   3N1AB7AP6JY277474   Nissan       SENTRA              BURBANK                   CA
86468   3N1AB7AP6JY277698   Nissan       SENTRA              KNOXVILLE                 TN
86469   3N1AB7AP6JY277961   Nissan       SENTRA              Tucson                    AZ
86470   3N1AB7AP6JY278527   Nissan       SENTRA              CENTRAL DIST OFFC         OK
86471   3N1AB7AP6JY278592   Nissan       SENTRA              Lynn                      MA
86472   3N1AB7AP6JY278611   Nissan       SENTRA              PHILADELPHIA              PA
86473   3N1AB7AP6JY279015   Nissan       SENTRA              CHICAGO                   IL
86474   3N1AB7AP6JY279256   Nissan       SENTRA              Manheim                   PA
86475   3N1AB7AP6JY279340   Nissan       SENTRA              Manheim                   PA
86476   3N1AB7AP6JY279564   Nissan       SENTRA              BURBANK                   CA
86477   3N1AB7AP6JY279726   Nissan       SENTRA              Matteson                  IL
86478   3N1AB7AP6JY280052   Nissan       SENTRA              TRACY                     CA
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86479   3N1AB7AP6JY281105   Nissan       SENTRA              WILMINGTON                CA
86480   3N1AB7AP6JY281248   Nissan       SENTRA              Cranberry Towns           PA
86481   3N1AB7AP6JY281346   Nissan       SENTRA              Charlotte                 NC
86482   3N1AB7AP6JY281637   Nissan       SENTRA              Atlanta                   GA
86483   3N1AB7AP6JY281783   Nissan       SENTRA              Miami                     FL
86484   3N1AB7AP6JY281914   Nissan       SENTRA              NORTH PAC                 CA
86485   3N1AB7AP6JY282111   Nissan       SENTRA              Pasadena                  CA
86486   3N1AB7AP6JY282271   Nissan       SENTRA              Santa Clara               CA
86487   3N1AB7AP6JY282450   Nissan       SENTRA              Austell                   GA
86488   3N1AB7AP6JY283114   Nissan       SENTRA              BURBANK                   CA
86489   3N1AB7AP6JY284246   Nissan       SENTRA              Manheim                   PA
86490   3N1AB7AP6JY284571   Nissan       SENTRA              STERLING                  VA
86491   3N1AB7AP6JY285347   Nissan       SENTRA              Elkridge                  MD
86492   3N1AB7AP6JY285963   Nissan       SENTRA              ROSEVILLE                 CA
86493   3N1AB7AP6JY286580   Nissan       SENTRA              Portland                  OR
86494   3N1AB7AP6JY286644   Nissan       SENTRA              LOS ANGELES               CA
86495   3N1AB7AP6JY286837   Nissan       SENTRA              Rock Hill                 SC
86496   3N1AB7AP6JY286949   Nissan       SENTRA              Woodhaven                 MI
86497   3N1AB7AP6JY287101   Nissan       SENTRA              SAN FRANCISCO             CA
86498   3N1AB7AP6JY287129   Nissan       SENTRA              LOS ANGELES               CA
86499   3N1AB7AP6JY287387   Nissan       SENTRA              BOSTON                    MA
86500   3N1AB7AP6JY287549   Nissan       SENTRA              BURBANK                   CA
86501   3N1AB7AP6JY287633   Nissan       SENTRA              Elkridge                  MD
86502   3N1AB7AP6JY287857   Nissan       SENTRA              Manheim                   PA
86503   3N1AB7AP6JY288023   Nissan       SENTRA              Greensboro                NC
86504   3N1AB7AP6JY288085   Nissan       SENTRA              CHICAGO                   IL
86505   3N1AB7AP6JY288099   Nissan       SENTRA              FORT MYERS                FL
86506   3N1AB7AP6JY288121   Nissan       SENTRA              DAYTONA BEACH             FL
86507   3N1AB7AP6JY288197   Nissan       SENTRA              NORTH PAC                 CA
86508   3N1AB7AP6JY288295   Nissan       SENTRA              Greensboro                NC
86509   3N1AB7AP6JY288474   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
86510   3N1AB7AP6JY288488   Nissan       SENTRA              Roseville                 CA
86511   3N1AB7AP6JY288510   Nissan       SENTRA              Las Vegas                 NV
86512   3N1AB7AP6JY288796   Nissan       SENTRA              PORTLAND                  OR
86513   3N1AB7AP6JY289009   Nissan       SENTRA              BURBANK                   CA
86514   3N1AB7AP6JY289205   Nissan       SENTRA              ORLANDO                   FL
86515   3N1AB7AP6JY289382   Nissan       SENTRA              San Diego                 CA
86516   3N1AB7AP6JY289513   Nissan       SENTRA              HOUSTON                   TX
86517   3N1AB7AP6JY289625   Nissan       SENTRA              REVERE                    MA
86518   3N1AB7AP6JY289785   Nissan       SENTRA              PHOENIX                   AZ
86519   3N1AB7AP6JY289799   Nissan       SENTRA              ROSEVILLE                 CA
86520   3N1AB7AP6JY289933   Nissan       SENTRA              Miami                     FL
86521   3N1AB7AP6JY290046   Nissan       SENTRA              ST PAUL                   MN
86522   3N1AB7AP6JY290287   Nissan       SENTRA              NEW BERN                  NC
86523   3N1AB7AP6JY290449   Nissan       SENTRA              Davie                     FL
86524   3N1AB7AP6JY290550   Nissan       SENTRA              ORLANDO                   FL
86525   3N1AB7AP6JY290581   Nissan       SENTRA              Rock Hill                 SC
86526   3N1AB7AP6JY290693   Nissan       SENTRA              Warwick                   RI
86527   3N1AB7AP6JY290712   Nissan       SENTRA              Cleveland                 OH
86528   3N1AB7AP6JY291018   Nissan       SENTRA              BURBANK                   CA
86529   3N1AB7AP6JY291102   Nissan       SENTRA              North Dighton             MA
86530   3N1AB7AP6JY291326   Nissan       SENTRA              Irving                    TX
86531   3N1AB7AP6JY291391   Nissan       SENTRA              Fredericksburg            VA
86532   3N1AB7AP6JY291441   Nissan       SENTRA              Tolleson                  AZ
86533   3N1AB7AP6JY291519   Nissan       SENTRA              BURBANK                   CA
86534   3N1AB7AP6JY291584   Nissan       SENTRA              BURBANK                   CA
86535   3N1AB7AP6JY291665   Nissan       SENTRA              CHICAGO                   IL
86536   3N1AB7AP6JY291729   Nissan       SENTRA              Rio Linda                 CA
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86537   3N1AB7AP6JY292248   Nissan       SENTRA              Atlanta                   GA
86538   3N1AB7AP6JY292329   Nissan       SENTRA              Indianapolis              IN
86539   3N1AB7AP6JY292332   Nissan       SENTRA              Johnston                  RI
86540   3N1AB7AP6JY293318   Nissan       SENTRA              SEATAC                    WA
86541   3N1AB7AP6JY293335   Nissan       SENTRA              Greensboro                NC
86542   3N1AB7AP6JY293982   Nissan       SENTRA              NEW ENGLAND DEALER        MA
86543   3N1AB7AP6JY294002   Nissan       SENTRA              HARVEY                    LA
86544   3N1AB7AP6JY294033   Nissan       SENTRA              Harvey                    LA
86545   3N1AB7AP6JY294209   Nissan       SENTRA              BURBANK                   CA
86546   3N1AB7AP6JY294288   Nissan       SENTRA              CHICAGO                   IL
86547   3N1AB7AP6JY294338   Nissan       SENTRA              BURBANK                   CA
86548   3N1AB7AP6JY294601   Nissan       SENTRA              BURBANK                   CA
86549   3N1AB7AP6JY295151   Nissan       SENTRA              NEW YORK DEALER DI        NJ
86550   3N1AB7AP6JY295540   Nissan       SENTRA              LOS ANGELES               CA
86551   3N1AB7AP6JY295795   Nissan       SENTRA              CHICAGO                   IL
86552   3N1AB7AP6JY295800   Nissan       SENTRA              SYRACUSE                  NY
86553   3N1AB7AP6JY295926   Nissan       SENTRA              CHICAGO                   IL
86554   3N1AB7AP6JY296073   Nissan       SENTRA              NORTH PAC                 CA
86555   3N1AB7AP6JY296591   Nissan       SENTRA              KENNER                    LA
86556   3N1AB7AP6JY297028   Nissan       SENTRA              CHICAGO                   IL
86557   3N1AB7AP6JY297515   Nissan       SENTRA              Davie                     FL
86558   3N1AB7AP6JY298552   Nissan       SENTRA              WEST PALM BEACH           FL
86559   3N1AB7AP6JY299068   Nissan       SENTRA              PHILADELPHIA              PA
86560   3N1AB7AP6JY299085   Nissan       SENTRA              FORT MYERS                FL
86561   3N1AB7AP6JY299345   Nissan       SENTRA              Denver                    CO
86562   3N1AB7AP6JY299409   Nissan       SENTRA              FRESNO                    CA
86563   3N1AB7AP6JY299717   Nissan       SENTRA              Saint Rose                LA
86564   3N1AB7AP6JY299779   Nissan       SENTRA              Scottsdale                AZ
86565   3N1AB7AP6JY299846   Nissan       SENTRA              MIAMI                     FL
86566   3N1AB7AP6JY300042   Nissan       SENTRA              MELROSE PARK              IL
86567   3N1AB7AP6JY300462   Nissan       SENTRA              Warminster                PA
86568   3N1AB7AP6JY300509   Nissan       SENTRA              JACKSON                   MS
86569   3N1AB7AP6JY300526   Nissan       SENTRA              SALT LAKE CITY            US
86570   3N1AB7AP6JY300669   Nissan       SENTRA              SPOKANE                   WA
86571   3N1AB7AP6JY300767   Nissan       SENTRA              WEST PALM BEACH           FL
86572   3N1AB7AP6JY300994   Nissan       SENTRA              DES PLAINES               IL
86573   3N1AB7AP6JY301434   Nissan       SENTRA              Tampa                     FL
86574   3N1AB7AP6JY301465   Nissan       SENTRA              CHICAGO                   IL
86575   3N1AB7AP6JY301501   Nissan       SENTRA              STERLING                  VA
86576   3N1AB7AP6JY301594   Nissan       SENTRA              LOS ANGELES               CA
86577   3N1AB7AP6JY301790   Nissan       SENTRA              ONTARIO                   CA
86578   3N1AB7AP6JY302132   Nissan       SENTRA              CHARLOTTE                 US
86579   3N1AB7AP6JY302308   Nissan       SENTRA              CHICAGO                   IL
86580   3N1AB7AP6JY302566   Nissan       SENTRA              Winston‐Salem             NC
86581   3N1AB7AP6JY304107   Nissan       SENTRA              HARVEY                    LA
86582   3N1AB7AP6JY305127   Nissan       SENTRA              FORT LAUDERDALE           FL
86583   3N1AB7AP6JY305399   Nissan       SENTRA              CENTRAL DIST OFFC         OK
86584   3N1AB7AP6JY305838   Nissan       SENTRA              NORTH PAC                 CA
86585   3N1AB7AP6JY308593   Nissan       SENTRA              LOS ANGELES               CA
86586   3N1AB7AP6JY308660   Nissan       SENTRA              SANTA ANA                 CA
86587   3N1AB7AP6JY309274   Nissan       SENTRA              Elkridge                  MD
86588   3N1AB7AP6JY309307   Nissan       SENTRA              FORT LAUDERDALE           FL
86589   3N1AB7AP6JY309856   Nissan       SENTRA              BURBANK                   CA
86590   3N1AB7AP6JY310022   Nissan       SENTRA              BURBANK                   CA
86591   3N1AB7AP6JY310411   Nissan       SENTRA              RICHMOND                  VA
86592   3N1AB7AP6JY310523   Nissan       SENTRA              PHOENIX                   AZ
86593   3N1AB7AP6JY310585   Nissan       SENTRA              Denver                    CO
86594   3N1AB7AP6JY310649   Nissan       SENTRA              ATLANTA                   GA
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86595   3N1AB7AP6JY311252   Nissan       SENTRA              Stockton                  CA
86596   3N1AB7AP6JY311462   Nissan       SENTRA              Atlanta                   GA
86597   3N1AB7AP6JY311641   Nissan       SENTRA              RONKONKOMA                NY
86598   3N1AB7AP6JY311946   Nissan       SENTRA              BURBANK                   CA
86599   3N1AB7AP6JY312319   Nissan       SENTRA              ORANGE COUNTY             CA
86600   3N1AB7AP6JY312367   Nissan       SENTRA              Chicago                   IL
86601   3N1AB7AP6JY312398   Nissan       SENTRA              FORT LAUDERDALE           FL
86602   3N1AB7AP6JY312594   Nissan       SENTRA              Fresno                    CA
86603   3N1AB7AP6JY312689   Nissan       SENTRA              PHOENIX                   AZ
86604   3N1AB7AP6JY312952   Nissan       SENTRA              PORTLAND                  OR
86605   3N1AB7AP6JY313244   Nissan       SENTRA              FLORIDA DEALER DIR        FL
86606   3N1AB7AP6JY313521   Nissan       SENTRA              Portland                  OR
86607   3N1AB7AP6JY313860   Nissan       SENTRA              HARVEY                    LA
86608   3N1AB7AP6JY314166   Nissan       SENTRA              WILMINGTON                CA
86609   3N1AB7AP6JY314474   Nissan       SENTRA              Florissant                MO
86610   3N1AB7AP6JY315043   Nissan       SENTRA              Warwick                   RI
86611   3N1AB7AP6JY315138   Nissan       SENTRA              Pasadena                  CA
86612   3N1AB7AP6JY315222   Nissan       SENTRA              INDIANAPOLIS              IN
86613   3N1AB7AP6JY315530   Nissan       SENTRA              Portland                  OR
86614   3N1AB7AP6JY315821   Nissan       SENTRA              TAMPA                     FL
86615   3N1AB7AP6JY317004   Nissan       SENTRA              Davie                     FL
86616   3N1AB7AP6JY323675   Nissan       SENTRA              FRESNO                    CA
86617   3N1AB7AP6JY323935   Nissan       SENTRA              Harvey                    LA
86618   3N1AB7AP6JY324244   Nissan       SENTRA              OAKLAND                   CA
86619   3N1AB7AP6JY324504   Nissan       SENTRA              LAS VEGAS                 NV
86620   3N1AB7AP6JY324731   Nissan       SENTRA              TAMPA                     FL
86621   3N1AB7AP6JY324910   Nissan       SENTRA              BURBANK                   CA
86622   3N1AB7AP6JY324955   Nissan       SENTRA              MEMPHIS                   TN
86623   3N1AB7AP6JY325300   Nissan       SENTRA              PALM SPRINGS              CA
86624   3N1AB7AP6JY325488   Nissan       SENTRA              SHREVEPORT                LA
86625   3N1AB7AP6JY325555   Nissan       SENTRA              SAINT PAUL                MN
86626   3N1AB7AP6JY325622   Nissan       SENTRA              FORT LAUDERDALE           FL
86627   3N1AB7AP6JY325961   Nissan       SENTRA              Denver                    CO
86628   3N1AB7AP6JY326091   Nissan       SENTRA              Winston‐Salem             NC
86629   3N1AB7AP6JY326222   Nissan       SENTRA              MEDINA                    OH
86630   3N1AB7AP6JY326284   Nissan       SENTRA              Smithtown                 NY
86631   3N1AB7AP6JY326611   Nissan       SENTRA              ORLANDO                   FL
86632   3N1AB7AP6JY326656   Nissan       SENTRA              Cranberry Towns           PA
86633   3N1AB7AP6JY326737   Nissan       SENTRA              SARASOTA                  FL
86634   3N1AB7AP6JY327340   Nissan       SENTRA              GARDENA                   CA
86635   3N1AB7AP6JY327371   Nissan       SENTRA              Atlanta                   GA
86636   3N1AB7AP6JY327497   Nissan       SENTRA              Dallas                    TX
86637   3N1AB7AP6JY327516   Nissan       SENTRA              SARASOTA                  FL
86638   3N1AB7AP6JY327581   Nissan       SENTRA              Kansas City               MO
86639   3N1AB7AP6JY327631   Nissan       SENTRA              Detroit                   MI
86640   3N1AB7AP6JY328083   Nissan       SENTRA              NEW ENGLAND DEALER        MA
86641   3N1AB7AP6JY328682   Nissan       SENTRA              NORTH PAC                 CA
86642   3N1AB7AP6JY328858   Nissan       SENTRA              FORT MYERS                FL
86643   3N1AB7AP6JY328973   Nissan       SENTRA              ST Paul                   MN
86644   3N1AB7AP6JY329394   Nissan       SENTRA              NORTH PAC                 CA
86645   3N1AB7AP6JY329878   Nissan       SENTRA              SARASOTA                  FL
86646   3N1AB7AP6JY330223   Nissan       SENTRA              Teterboro                 NJ
86647   3N1AB7AP6JY330254   Nissan       SENTRA              BURBANK                   CA
86648   3N1AB7AP6JY330271   Nissan       SENTRA              HILO                      HI
86649   3N1AB7AP6JY330304   Nissan       SENTRA              KAILUA KONA               HI
86650   3N1AB7AP6JY330528   Nissan       SENTRA              NORTH PAC                 CA
86651   3N1AB7AP6JY330674   Nissan       SENTRA              BURBANK                   CA
86652   3N1AB7AP6JY330707   Nissan       SENTRA              NORTH PAC                 CA
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86653   3N1AB7AP6JY330710   Nissan       SENTRA              FORT LAUDERDALE           FL
86654   3N1AB7AP6JY330805   Nissan       SENTRA              BURBANK                   CA
86655   3N1AB7AP6JY330819   Nissan       SENTRA              Indianapolis              IN
86656   3N1AB7AP6JY331310   Nissan       SENTRA              Atlanta                   GA
86657   3N1AB7AP6JY331954   Nissan       SENTRA              COLUMBIA                  SC
86658   3N1AB7AP6JY332201   Nissan       SENTRA              BURBANK                   CA
86659   3N1AB7AP6JY332229   Nissan       SENTRA              Manheim                   PA
86660   3N1AB7AP6JY332263   Nissan       SENTRA              Atlanta                   GA
86661   3N1AB7AP6JY332392   Nissan       SENTRA              NORTH PAC                 CA
86662   3N1AB7AP6KY240264   Nissan       SENTRA              FORT MYERS                FL
86663   3N1AB7AP6KY240376   Nissan       SENTRA              LAS VEGAS                 NV
86664   3N1AB7AP6KY241205   Nissan       SENTRA              NAPLES                    FL
86665   3N1AB7AP6KY241494   Nissan       SENTRA              RENO                      NV
86666   3N1AB7AP6KY241821   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
86667   3N1AB7AP6KY242015   Nissan       SENTRA              Clearwater                FL
86668   3N1AB7AP6KY242127   Nissan       SENTRA              FORT MYERS                FL
86669   3N1AB7AP6KY242287   Nissan       SENTRA              CHARLESTON                WV
86670   3N1AB7AP6KY242323   Nissan       SENTRA              TAMPA                     FL
86671   3N1AB7AP6KY242354   Nissan       SENTRA              ORLANDO                   FL
86672   3N1AB7AP6KY242726   Nissan       SENTRA              ST. SIMONS ISLAND         GA
86673   3N1AB7AP6KY242872   Nissan       SENTRA              Austell                   GA
86674   3N1AB7AP6KY243309   Nissan       SENTRA              LOS ANGELES               CA
86675   3N1AB7AP6KY243522   Nissan       SENTRA              Ventura                   CA
86676   3N1AB7AP6KY244184   Nissan       SENTRA              Salt Lake City            UT
86677   3N1AB7AP6KY244671   Nissan       SENTRA              ONTARIO                   CA
86678   3N1AB7AP6KY244752   Nissan       SENTRA              KAILUA KONA               HI
86679   3N1AB7AP6KY244833   Nissan       SENTRA              HILO                      HI
86680   3N1AB7AP6KY244881   Nissan       SENTRA              HILO                      HI
86681   3N1AB7AP6KY244900   Nissan       SENTRA              WAIMEA                    HI
86682   3N1AB7AP6KY245027   Nissan       SENTRA              KALAOA                    HI
86683   3N1AB7AP6KY245108   Nissan       SENTRA              HILO                      HI
86684   3N1AB7AP6KY246081   Nissan       SENTRA              LOS ANGELES               CA
86685   3N1AB7AP6KY248428   Nissan       SENTRA              EWA BEACH                 HI
86686   3N1AB7AP6KY269280   Nissan       SENTRA              HILO                      HI
86687   3N1AB7AP6KY269313   Nissan       SENTRA              KALAOA                    HI
86688   3N1AB7AP6KY269411   Nissan       SENTRA              LAS VEGAS                 NV
86689   3N1AB7AP6KY269781   Nissan       SENTRA              HILO                      HI
86690   3N1AB7AP6KY269828   Nissan       SENTRA              Kailua‐Kona               HI
86691   3N1AB7AP6KY269859   Nissan       SENTRA              HILO                      HI
86692   3N1AB7AP6KY269957   Nissan       SENTRA              KALAOA                    HI
86693   3N1AB7AP6KY298598   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
86694   3N1AB7AP6KY298861   Nissan       SENTRA              MEDINA                    OH
86695   3N1AB7AP6KY299248   Nissan       SENTRA              Detroit                   MI
86696   3N1AB7AP6KY299606   Nissan       SENTRA              Phoenix                   AZ
86697   3N1AB7AP6KY300298   Nissan       SENTRA              CHICAGO                   IL
86698   3N1AB7AP6KY300351   Nissan       SENTRA              WEST COLUMBIA             SC
86699   3N1AB7AP6KY300625   Nissan       SENTRA              LOS ANGELES               CA
86700   3N1AB7AP6KY301404   Nissan       SENTRA              HOUSTON                   TX
86701   3N1AB7AP6KY301516   Nissan       SENTRA              SANTA ANA                 CA
86702   3N1AB7AP6KY302147   Nissan       SENTRA              Bridgeton                 MO
86703   3N1AB7AP6KY302357   Nissan       SENTRA              CHICAGO                   IL
86704   3N1AB7AP6KY302407   Nissan       SENTRA              Atlanta                   GA
86705   3N1AB7AP6KY303606   Nissan       SENTRA              BURLINGAME                CA
86706   3N1AB7AP6KY304268   Nissan       SENTRA              LOS ANGELES               CA
86707   3N1AB7AP6KY304724   Nissan       SENTRA              CHICAGO                   IL
86708   3N1AB7AP6KY305338   Nissan       SENTRA              Lake Elsinore             CA
86709   3N1AB7AP6KY307705   Nissan       SENTRA              Atlanta                   GA
86710   3N1AB7AP6KY308188   Nissan       SENTRA              Hanover                   MD
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86711   3N1AB7AP6KY310555   Nissan       SENTRA              CHICAGO                   IL
86712   3N1AB7AP6KY311401   Nissan       SENTRA              Indianapolis              IN
86713   3N1AB7AP6KY311494   Nissan       SENTRA              Atlanta                   GA
86714   3N1AB7AP6KY312340   Nissan       SENTRA              LOS ANGELES               CA
86715   3N1AB7AP6KY313276   Nissan       SENTRA              Portland                  OR
86716   3N1AB7AP6KY313827   Nissan       SENTRA              LOUISVILLE                KY
86717   3N1AB7AP6KY314220   Nissan       SENTRA              LOS ANGELES               CA
86718   3N1AB7AP6KY314234   Nissan       SENTRA              Fresno                    CA
86719   3N1AB7AP6KY315433   Nissan       SENTRA              Clarksville               IN
86720   3N1AB7AP6KY315710   Nissan       SENTRA              CHICAGO                   IL
86721   3N1AB7AP6KY316694   Nissan       SENTRA              Rock Hill                 SC
86722   3N1AB7AP6KY317540   Nissan       SENTRA              Rock Hill                 SC
86723   3N1AB7AP6KY317957   Nissan       SENTRA              CHARLOTTE                 NC
86724   3N1AB7AP6KY319045   Nissan       SENTRA              DAYTONA BEACH             FL
86725   3N1AB7AP6KY325007   Nissan       SENTRA              Elkridge                  MD
86726   3N1AB7AP6KY325024   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
86727   3N1AB7AP6KY338341   Nissan       SENTRA              Newark                    NJ
86728   3N1AB7AP6KY338663   Nissan       SENTRA              FORT MYERS                FL
86729   3N1AB7AP6KY338968   Nissan       SENTRA              WHITE PLAINS              NY
86730   3N1AB7AP6KY339005   Nissan       SENTRA              HANOVER                   MD
86731   3N1AB7AP6KY339229   Nissan       SENTRA              DETROIT                   MI
86732   3N1AB7AP6KY339683   Nissan       SENTRA              TAMPA                     FL
86733   3N1AB7AP6KY339876   Nissan       SENTRA              LOS ANGELES               CA
86734   3N1AB7AP6KY340462   Nissan       SENTRA              KNOXVILLE                 TN
86735   3N1AB7AP6KY341630   Nissan       SENTRA              Portland                  OR
86736   3N1AB7AP6KY342227   Nissan       SENTRA              Rock Hill                 SC
86737   3N1AB7AP6KY344009   Nissan       SENTRA              Burien                    WA
86738   3N1AB7AP6KY344611   Nissan       SENTRA              Burien                    WA
86739   3N1AB7AP6KY345158   Nissan       SENTRA              Roseville                 CA
86740   3N1AB7AP6KY353017   Nissan       SENTRA              MOBILE                    A
86741   3N1AB7AP6KY354720   Nissan       SENTRA              Newark                    NJ
86742   3N1AB7AP6KY355141   Nissan       SENTRA              Pittsburgh                PA
86743   3N1AB7AP6KY356662   Nissan       SENTRA              HARRISBURG                PA
86744   3N1AB7AP6KY360162   Nissan       SENTRA              EXETER                    RI
86745   3N1AB7AP7HL674330   Nissan       SENTRA              DALLAS                    TX
86746   3N1AB7AP7HL680127   Nissan       SENTRA              Elkridge                  MD
86747   3N1AB7AP7HL683786   Nissan       SENTRA              Cleveland                 OH
86748   3N1AB7AP7HL684789   Nissan       SENTRA              BURBANK                   CA
86749   3N1AB7AP7HL685571   Nissan       SENTRA              SAN ANTONIO               TX
86750   3N1AB7AP7HL688373   Nissan       SENTRA              DAYTONA BEACH             FL
86751   3N1AB7AP7HL688485   Nissan       SENTRA              WEST CENTRAL DEALE        CO
86752   3N1AB7AP7HL695680   Nissan       SENTRA              FRESNO                    CA
86753   3N1AB7AP7HL695744   Nissan       SENTRA              Lake Elsinore             CA
86754   3N1AB7AP7HL695890   Nissan       SENTRA              SAN JOSE                  CA
86755   3N1AB7AP7HL698305   Nissan       SENTRA              LAS VEGAS                 NV
86756   3N1AB7AP7HY260225   Nissan       SENTRA              Miami                     FL
86757   3N1AB7AP7HY265165   Nissan       SENTRA              Elkridge                  MD
86758   3N1AB7AP7HY284489   Nissan       SENTRA              SEATTLE                   WA
86759   3N1AB7AP7HY307382   Nissan       SENTRA              HANOVER                   MD
86760   3N1AB7AP7HY307687   Nissan       SENTRA              Lynn                      MA
86761   3N1AB7AP7HY309875   Nissan       SENTRA              Lynn                      MA
86762   3N1AB7AP7HY311061   Nissan       SENTRA              Matteson                  IL
86763   3N1AB7AP7HY311139   Nissan       SENTRA              ELKRIDGE                  MD
86764   3N1AB7AP7HY311190   Nissan       SENTRA              SPRINGFIELD               VA
86765   3N1AB7AP7HY316650   Nissan       SENTRA              Portland                  OR
86766   3N1AB7AP7HY317121   Nissan       SENTRA              WEST HARTFORD             CT
86767   3N1AB7AP7HY320259   Nissan       SENTRA              Portland                  OR
86768   3N1AB7AP7HY320357   Nissan       SENTRA              NORTH PAC                 CA
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86769   3N1AB7AP7HY321251   Nissan       SENTRA              NORTH PAC                 CA
86770   3N1AB7AP7HY321685   Nissan       SENTRA              BURBANK                   CA
86771   3N1AB7AP7HY322321   Nissan       SENTRA              Portland                  OR
86772   3N1AB7AP7HY322383   Nissan       SENTRA              BURBANK                   CA
86773   3N1AB7AP7HY323288   Nissan       SENTRA              Winston‐Salem             NC
86774   3N1AB7AP7HY324019   Nissan       SENTRA              HANOVER                   MD
86775   3N1AB7AP7HY325039   Nissan       SENTRA              PHILADELPHIA              PA
86776   3N1AB7AP7HY326353   Nissan       SENTRA              NORTH PAC                 CA
86777   3N1AB7AP7HY330340   Nissan       SENTRA              SPRINGFIELD               VA
86778   3N1AB7AP7HY334551   Nissan       SENTRA              Fontana                   CA
86779   3N1AB7AP7HY341483   Nissan       SENTRA              Norwalk                   CA
86780   3N1AB7AP7HY343573   Nissan       SENTRA              NORTH PAC                 CA
86781   3N1AB7AP7HY345517   Nissan       SENTRA              Rio Linda                 CA
86782   3N1AB7AP7HY346540   Nissan       SENTRA              Ventura                   CA
86783   3N1AB7AP7HY346862   Nissan       SENTRA              LOS ANGELES               CA
86784   3N1AB7AP7HY347798   Nissan       SENTRA              BURBANK                   CA
86785   3N1AB7AP7HY348644   Nissan       SENTRA              ROSEVILLE                 CA
86786   3N1AB7AP7HY350040   Nissan       SENTRA              BURBANK                   CA
86787   3N1AB7AP7HY350183   Nissan       SENTRA              Rio Linda                 CA
86788   3N1AB7AP7HY350393   Nissan       SENTRA              Portland                  OR
86789   3N1AB7AP7HY350927   Nissan       SENTRA              BURBANK                   CA
86790   3N1AB7AP7HY351480   Nissan       SENTRA              Kent                      WA
86791   3N1AB7AP7HY352144   Nissan       SENTRA              NEW ENGLAND DEALER        MA
86792   3N1AB7AP7HY352774   Nissan       SENTRA              NEW ENGLAND DEALER        MA
86793   3N1AB7AP7HY353343   Nissan       SENTRA              PHILADELPHIA              PA
86794   3N1AB7AP7HY353570   Nissan       SENTRA              GLEN BURNIE               MD
86795   3N1AB7AP7HY353763   Nissan       SENTRA              Elkridge                  MD
86796   3N1AB7AP7HY353830   Nissan       SENTRA              HANOVER                   MD
86797   3N1AB7AP7HY354895   Nissan       SENTRA              WEST HARTFORD             CT
86798   3N1AB7AP7HY355013   Nissan       SENTRA              MEDINA                    OH
86799   3N1AB7AP7HY356338   Nissan       SENTRA              WEST CENTRAL DEALE        CO
86800   3N1AB7AP7HY359028   Nissan       SENTRA              NEW YORK DEALER DI        NJ
86801   3N1AB7AP7HY359403   Nissan       SENTRA              Rio Linda                 CA
86802   3N1AB7AP7HY359790   Nissan       SENTRA              ONTARIO                   CA
86803   3N1AB7AP7HY360003   Nissan       SENTRA              Davie                     FL
86804   3N1AB7AP7HY361491   Nissan       SENTRA              Rockville Centr           NY
86805   3N1AB7AP7HY361930   Nissan       SENTRA              STERLING                  VA
86806   3N1AB7AP7HY362043   Nissan       SENTRA              Austell                   GA
86807   3N1AB7AP7HY384320   Nissan       SENTRA              Sacramento                CA
86808   3N1AB7AP7HY386083   Nissan       SENTRA              LOS ANGELES               CA
86809   3N1AB7AP7JL647277   Nissan       SENTRA              Matteson                  IL
86810   3N1AB7AP7JL659901   Nissan       SENTRA              Dallas                    TX
86811   3N1AB7AP7JY220118   Nissan       SENTRA              BIRMINGHAM                AL
86812   3N1AB7AP7JY225237   Nissan       SENTRA              MOBILE                    A
86813   3N1AB7AP7JY239199   Nissan       SENTRA              ENGLEWOOD                 CO
86814   3N1AB7AP7JY239624   Nissan       SENTRA              Marietta                  GA
86815   3N1AB7AP7JY240157   Nissan       SENTRA              SAN ANTONIO               TX
86816   3N1AB7AP7JY240899   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
86817   3N1AB7AP7JY242278   Nissan       SENTRA              Hartford                  CT
86818   3N1AB7AP7JY242359   Nissan       SENTRA              Hartford                  CT
86819   3N1AB7AP7JY242524   Nissan       SENTRA              Miami                     FL
86820   3N1AB7AP7JY242863   Nissan       SENTRA              BURBANK                   CA
86821   3N1AB7AP7JY243110   Nissan       SENTRA              Mira Loma                 CA
86822   3N1AB7AP7JY243432   Nissan       SENTRA              NORTH PAC                 CA
86823   3N1AB7AP7JY243544   Nissan       SENTRA              KAHULUI                   HI
86824   3N1AB7AP7JY243592   Nissan       SENTRA              Hayward                   CA
86825   3N1AB7AP7JY243785   Nissan       SENTRA              NORTH PAC                 CA
86826   3N1AB7AP7JY243902   Nissan       SENTRA              Warwick                   RI
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86827   3N1AB7AP7JY243916   Nissan       SENTRA              Warminster                PA
86828   3N1AB7AP7JY243950   Nissan       SENTRA              EUGENE                    OR
86829   3N1AB7AP7JY243981   Nissan       SENTRA              Pasadena                  CA
86830   3N1AB7AP7JY244127   Nissan       SENTRA              CHARLOTTE                 NC
86831   3N1AB7AP7JY244340   Nissan       SENTRA              TRACY                     CA
86832   3N1AB7AP7JY244421   Nissan       SENTRA              Riverside                 CA
86833   3N1AB7AP7JY244483   Nissan       SENTRA              LIHUE AP KAUAI            HI
86834   3N1AB7AP7JY244547   Nissan       SENTRA              Pittsburgh                PA
86835   3N1AB7AP7JY244600   Nissan       SENTRA              Tolleson                  AZ
86836   3N1AB7AP7JY244659   Nissan       SENTRA              Hayward                   CA
86837   3N1AB7AP7JY244676   Nissan       SENTRA              SAN JOSE                  CA
86838   3N1AB7AP7JY244693   Nissan       SENTRA              Aurora                    CO
86839   3N1AB7AP7JY244757   Nissan       SENTRA              BURBANK                   CA
86840   3N1AB7AP7JY244905   Nissan       SENTRA              BURBANK                   CA
86841   3N1AB7AP7JY245083   Nissan       SENTRA              N. Palm Beach             FL
86842   3N1AB7AP7JY245147   Nissan       SENTRA              Johnston                  RI
86843   3N1AB7AP7JY245178   Nissan       SENTRA              BURBANK                   CA
86844   3N1AB7AP7JY245326   Nissan       SENTRA              CHARLOTTE                 NC
86845   3N1AB7AP7JY245343   Nissan       SENTRA              KAHULUI                   HI
86846   3N1AB7AP7JY245360   Nissan       SENTRA              SANTA ANA                 CA
86847   3N1AB7AP7JY245388   Nissan       SENTRA              MEDINA                    OH
86848   3N1AB7AP7JY245424   Nissan       SENTRA              NEW ENGLAND DEALER        MA
86849   3N1AB7AP7JY245441   Nissan       SENTRA              LOS ANGELES AP            CA
86850   3N1AB7AP7JY245455   Nissan       SENTRA              Lihue                     HI
86851   3N1AB7AP7JY245598   Nissan       SENTRA              ROSEVILLE                 CA
86852   3N1AB7AP7JY245617   Nissan       SENTRA              Statesville               NC
86853   3N1AB7AP7JY245620   Nissan       SENTRA              Santa Clara               CA
86854   3N1AB7AP7JY245648   Nissan       SENTRA              BURBANK                   CA
86855   3N1AB7AP7JY245665   Nissan       SENTRA              Mira Loma                 CA
86856   3N1AB7AP7JY245682   Nissan       SENTRA              KAHULUI                   HI
86857   3N1AB7AP7JY245858   Nissan       SENTRA              KAHULUI                   HI
86858   3N1AB7AP7JY245875   Nissan       SENTRA              BURBANK                   CA
86859   3N1AB7AP7JY246086   Nissan       SENTRA              KAHULUI                   HI
86860   3N1AB7AP7JY246332   Nissan       SENTRA              BURBANK                   CA
86861   3N1AB7AP7JY246430   Nissan       SENTRA              BURBANK                   CA
86862   3N1AB7AP7JY246721   Nissan       SENTRA              Tampa                     FL
86863   3N1AB7AP7JY246735   Nissan       SENTRA              Cleveland                 OH
86864   3N1AB7AP7JY247142   Nissan       SENTRA              WARWICK                   RI
86865   3N1AB7AP7JY247352   Nissan       SENTRA              BURBANK                   CA
86866   3N1AB7AP7JY247559   Nissan       SENTRA              Manheim                   PA
86867   3N1AB7AP7JY247710   Nissan       SENTRA              HONOLULU                  HI
86868   3N1AB7AP7JY247884   Nissan       SENTRA              SAN FRANCISCO             CA
86869   3N1AB7AP7JY248663   Nissan       SENTRA              ROSWELL                   GA
86870   3N1AB7AP7JY251983   Nissan       SENTRA              LIHUE                     HI
86871   3N1AB7AP7JY252096   Nissan       SENTRA              RICHMOND                  VA
86872   3N1AB7AP7JY252261   Nissan       SENTRA              KAHULUI                   HI
86873   3N1AB7AP7JY252289   Nissan       SENTRA              KAHULUI                   HI
86874   3N1AB7AP7JY252356   Nissan       SENTRA              KAHULUI                   HI
86875   3N1AB7AP7JY252745   Nissan       SENTRA              CHICAGO                   IL
86876   3N1AB7AP7JY252762   Nissan       SENTRA              DAYTONA BEACH             FL
86877   3N1AB7AP7JY252793   Nissan       SENTRA              SAN JOSE                  CA
86878   3N1AB7AP7JY252812   Nissan       SENTRA              Fontana                   CA
86879   3N1AB7AP7JY252857   Nissan       SENTRA              SOUTH SAN FRANC           CA
86880   3N1AB7AP7JY252969   Nissan       SENTRA              Elkridge                  MD
86881   3N1AB7AP7JY252972   Nissan       SENTRA              North Dighton             MA
86882   3N1AB7AP7JY253121   Nissan       SENTRA              Santa Clara               CA
86883   3N1AB7AP7JY253412   Nissan       SENTRA              Hanover                   MD
86884   3N1AB7AP7JY253703   Nissan       SENTRA              Aurora                    CO
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86885   3N1AB7AP7JY253720   Nissan       SENTRA              Warwick                   RI
86886   3N1AB7AP7JY253751   Nissan       SENTRA              Grove City                OH
86887   3N1AB7AP7JY253958   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
86888   3N1AB7AP7JY254172   Nissan       SENTRA              DAYTONA BEACH             FL
86889   3N1AB7AP7JY254205   Nissan       SENTRA              ATLANTA                   GA
86890   3N1AB7AP7JY254317   Nissan       SENTRA              Tampa                     FL
86891   3N1AB7AP7JY254415   Nissan       SENTRA              ATLANTA                   GA
86892   3N1AB7AP7JY254480   Nissan       SENTRA              Winston‐Salem             NC
86893   3N1AB7AP7JY254513   Nissan       SENTRA              BURBANK                   CA
86894   3N1AB7AP7JY254589   Nissan       SENTRA              PHOENIX                   AZ
86895   3N1AB7AP7JY254978   Nissan       SENTRA              BURBANK                   CA
86896   3N1AB7AP7JY255435   Nissan       SENTRA              BURBANK                   CA
86897   3N1AB7AP7JY255564   Nissan       SENTRA              North Las Vegas           NV
86898   3N1AB7AP7JY255614   Nissan       SENTRA              BURBANK                   CA
86899   3N1AB7AP7JY255807   Nissan       SENTRA              SAN JOSE                  CA
86900   3N1AB7AP7JY256066   Nissan       SENTRA              NORTH PAC                 CA
86901   3N1AB7AP7JY260585   Nissan       SENTRA              TRACY                     CA
86902   3N1AB7AP7JY261011   Nissan       SENTRA              TRACY                     CA
86903   3N1AB7AP7JY261459   Nissan       SENTRA              North Las Vegas           NV
86904   3N1AB7AP7JY262983   Nissan       SENTRA              BURBANK                   CA
86905   3N1AB7AP7JY263129   Nissan       SENTRA              Fontana                   CA
86906   3N1AB7AP7JY263194   Nissan       SENTRA              Sacramento                CA
86907   3N1AB7AP7JY265091   Nissan       SENTRA              DAYTONA BEACH             FL
86908   3N1AB7AP7JY265883   Nissan       SENTRA              Johnston                  RI
86909   3N1AB7AP7JY266001   Nissan       SENTRA              Denver                    CO
86910   3N1AB7AP7JY266077   Nissan       SENTRA              LIHUE AP KAUAI            HI
86911   3N1AB7AP7JY266144   Nissan       SENTRA              ATLANTA                   GA
86912   3N1AB7AP7JY266192   Nissan       SENTRA              PHOENIX                   AZ
86913   3N1AB7AP7JY266239   Nissan       SENTRA              STERLING                  VA
86914   3N1AB7AP7JY267052   Nissan       SENTRA              BURBANK                   CA
86915   3N1AB7AP7JY267195   Nissan       SENTRA              Miami                     FL
86916   3N1AB7AP7JY267245   Nissan       SENTRA              NEW YORK DEALER DI        NJ
86917   3N1AB7AP7JY267293   Nissan       SENTRA              Hayward                   CA
86918   3N1AB7AP7JY267424   Nissan       SENTRA              PHILADELPHIA              PA
86919   3N1AB7AP7JY267732   Nissan       SENTRA              Windsor Locks             CT
86920   3N1AB7AP7JY267858   Nissan       SENTRA              LOS ANGELES               CA
86921   3N1AB7AP7JY268895   Nissan       SENTRA              FLORIDA DEALER DIR        FL
86922   3N1AB7AP7JY269450   Nissan       SENTRA              Costa Mesa                CA
86923   3N1AB7AP7JY269724   Nissan       SENTRA              DETROIT                   MI
86924   3N1AB7AP7JY270467   Nissan       SENTRA              Charlotte                 NC
86925   3N1AB7AP7JY271229   Nissan       SENTRA              Johnston                  RI
86926   3N1AB7AP7JY271246   Nissan       SENTRA              Manheim                   PA
86927   3N1AB7AP7JY271490   Nissan       SENTRA              CHICAGO                   IL
86928   3N1AB7AP7JY271621   Nissan       SENTRA              Stone Mountain            GA
86929   3N1AB7AP7JY272395   Nissan       SENTRA              Warwick                   RI
86930   3N1AB7AP7JY272428   Nissan       SENTRA              NORTH PAC                 CA
86931   3N1AB7AP7JY272591   Nissan       SENTRA              Elkridge                  MD
86932   3N1AB7AP7JY272915   Nissan       SENTRA              FORT MYERS                FL
86933   3N1AB7AP7JY272932   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
86934   3N1AB7AP7JY273322   Nissan       SENTRA              BOSTON                    MA
86935   3N1AB7AP7JY273515   Nissan       SENTRA              NASHVILLE                 TN
86936   3N1AB7AP7JY273708   Nissan       SENTRA              LOS ANGELES               CA
86937   3N1AB7AP7JY274048   Nissan       SENTRA              Slidell                   LA
86938   3N1AB7AP7JY274096   Nissan       SENTRA              WEST CENTRAL DEALE        CO
86939   3N1AB7AP7JY274485   Nissan       SENTRA              Chandler                  AZ
86940   3N1AB7AP7JY274650   Nissan       SENTRA              Atlanta                   GA
86941   3N1AB7AP7JY274857   Nissan       SENTRA              NORTH PAC                 CA
86942   3N1AB7AP7JY275118   Nissan       SENTRA              BURBANK                   CA
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86943   3N1AB7AP7JY275488   Nissan       SENTRA              Davie                     FL
86944   3N1AB7AP7JY275765   Nissan       SENTRA              Portland                  OR
86945   3N1AB7AP7JY275782   Nissan       SENTRA              NEW ENGLAND DEALER        MA
86946   3N1AB7AP7JY275829   Nissan       SENTRA              Live Oak                  TX
86947   3N1AB7AP7JY275944   Nissan       SENTRA              DETROIT                   MI
86948   3N1AB7AP7JY276012   Nissan       SENTRA              BOSTON                    MA
86949   3N1AB7AP7JY276088   Nissan       SENTRA              LAS VEGAS                 NV
86950   3N1AB7AP7JY276155   Nissan       SENTRA              NORTH PAC                 CA
86951   3N1AB7AP7JY276236   Nissan       SENTRA              DALLAS                    TX
86952   3N1AB7AP7JY276317   Nissan       SENTRA              Atlanta                   GA
86953   3N1AB7AP7JY276799   Nissan       SENTRA              CENTRAL DIST OFFC         OK
86954   3N1AB7AP7JY276852   Nissan       SENTRA              DES MOINES                IA
86955   3N1AB7AP7JY276947   Nissan       SENTRA              CENTRAL DIST OFFC         OK
86956   3N1AB7AP7JY277208   Nissan       SENTRA              Winter Park               FL
86957   3N1AB7AP7JY277290   Nissan       SENTRA              North Dighton             MA
86958   3N1AB7AP7JY277466   Nissan       SENTRA              DETROIT                   MI
86959   3N1AB7AP7JY277533   Nissan       SENTRA              SAN DIEGO                 CA
86960   3N1AB7AP7JY277628   Nissan       SENTRA              Culpeper                  VA
86961   3N1AB7AP7JY277631   Nissan       SENTRA              Dallas                    TX
86962   3N1AB7AP7JY277743   Nissan       SENTRA              Philadelphia              PA
86963   3N1AB7AP7JY277872   Nissan       SENTRA              Huntington Stat           NY
86964   3N1AB7AP7JY277905   Nissan       SENTRA              Lynn                      MA
86965   3N1AB7AP7JY278102   Nissan       SENTRA              CHARLOTTE                 NC
86966   3N1AB7AP7JY278178   Nissan       SENTRA              DES MOINES                IA
86967   3N1AB7AP7JY278617   Nissan       SENTRA              Elkridge                  MD
86968   3N1AB7AP7JY278715   Nissan       SENTRA              Fredericksburg            VA
86969   3N1AB7AP7JY279170   Nissan       SENTRA              WEST PALM BEACH           FL
86970   3N1AB7AP7JY279444   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
86971   3N1AB7AP7JY279749   Nissan       SENTRA              PHILADELPHIA              PA
86972   3N1AB7AP7JY279976   Nissan       SENTRA              Fontana                   CA
86973   3N1AB7AP7JY280366   Nissan       SENTRA              Indianapolis              IN
86974   3N1AB7AP7JY280562   Nissan       SENTRA              Chicago                   IL
86975   3N1AB7AP7JY280612   Nissan       SENTRA              CHICAGO                   IL
86976   3N1AB7AP7JY280786   Nissan       SENTRA              Chicago                   IL
86977   3N1AB7AP7JY280917   Nissan       SENTRA              NORTH PAC                 CA
86978   3N1AB7AP7JY281162   Nissan       SENTRA              PICO RIVERA               CA
86979   3N1AB7AP7JY281226   Nissan       SENTRA              SAN JOSE                  CA
86980   3N1AB7AP7JY281646   Nissan       SENTRA              Lynn                      MA
86981   3N1AB7AP7JY281758   Nissan       SENTRA              Ft. Myers                 FL
86982   3N1AB7AP7JY281985   Nissan       SENTRA              Santa Clara               CA
86983   3N1AB7AP7JY283588   Nissan       SENTRA              Tolleson                  AZ
86984   3N1AB7AP7JY283672   Nissan       SENTRA              FLORIDA DEALER DIR        FL
86985   3N1AB7AP7JY284370   Nissan       SENTRA              Cranberry Towns           PA
86986   3N1AB7AP7JY284403   Nissan       SENTRA              KENNER                    LA
86987   3N1AB7AP7JY286751   Nissan       SENTRA              CENTRAL DIST OFFC         OK
86988   3N1AB7AP7JY286930   Nissan       SENTRA              Warwick                   RI
86989   3N1AB7AP7JY287009   Nissan       SENTRA              NORTH PAC                 CA
86990   3N1AB7AP7JY287334   Nissan       SENTRA              DAYTONA BEACH             FL
86991   3N1AB7AP7JY287477   Nissan       SENTRA              DFW AIRPORT               TX
86992   3N1AB7AP7JY287608   Nissan       SENTRA              Richmond                  VA
86993   3N1AB7AP7JY287642   Nissan       SENTRA
86994   3N1AB7AP7JY287902   Nissan       SENTRA              Florissant                MO
86995   3N1AB7AP7JY287950   Nissan       SENTRA              Union City                GA
86996   3N1AB7AP7JY287978   Nissan       SENTRA              SPRINGFIELD               VA
86997   3N1AB7AP7JY288239   Nissan       SENTRA              SOUTH BEND                IN
86998   3N1AB7AP7JY288273   Nissan       SENTRA              Detroit                   MI
86999   3N1AB7AP7JY288399   Nissan       SENTRA              Denver                    CO
87000   3N1AB7AP7JY288645   Nissan       SENTRA              NEW ENGLAND DEALER        MA
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87001   3N1AB7AP7JY288838   Nissan       SENTRA              SAN JOSE                  CA
87002   3N1AB7AP7JY289360   Nissan       SENTRA              WHITE PLAINS              NY
87003   3N1AB7AP7JY289553   Nissan       SENTRA              Phoenix                   AZ
87004   3N1AB7AP7JY289777   Nissan       SENTRA              TAMPA                     FL
87005   3N1AB7AP7JY289813   Nissan       SENTRA              NORTH PAC                 CA
87006   3N1AB7AP7JY289875   Nissan       SENTRA              TAMPA                     FL
87007   3N1AB7AP7JY289939   Nissan       SENTRA              GLASSBORO                 NJ
87008   3N1AB7AP7JY290055   Nissan       SENTRA              HARVEY                    LA
87009   3N1AB7AP7JY290525   Nissan       SENTRA              Hebron                    KY
87010   3N1AB7AP7JY290606   Nissan       SENTRA              GREENSBORO                NC
87011   3N1AB7AP7JY290959   Nissan       SENTRA              SANTA ANA                 CA
87012   3N1AB7AP7JY290962   Nissan       SENTRA              BURBANK                   CA
87013   3N1AB7AP7JY291075   Nissan       SENTRA              NORTH HOLLYWOOD           CA
87014   3N1AB7AP7JY291240   Nissan       SENTRA              SAN FRANCISCO             CA
87015   3N1AB7AP7JY291464   Nissan       SENTRA              Orlando                   FL
87016   3N1AB7AP7JY291514   Nissan       SENTRA              TITUSVILLE                FL
87017   3N1AB7AP7JY291609   Nissan       SENTRA              Miami                     FL
87018   3N1AB7AP7JY291657   Nissan       SENTRA              Rio Linda                 CA
87019   3N1AB7AP7JY291870   Nissan       SENTRA              LAS VEGAS                 NV
87020   3N1AB7AP7JY291884   Nissan       SENTRA              BURBANK                   CA
87021   3N1AB7AP7JY292016   Nissan       SENTRA              ROSEVILLE                 CA
87022   3N1AB7AP7JY292159   Nissan       SENTRA              BURBANK                   CA
87023   3N1AB7AP7JY292193   Nissan       SENTRA              MORROW                    GA
87024   3N1AB7AP7JY292226   Nissan       SENTRA              BURBANK                   CA
87025   3N1AB7AP7JY292372   Nissan       SENTRA              NEW ENGLAND DEALER        MA
87026   3N1AB7AP7JY292453   Nissan       SENTRA              SACRAMENTO                CA
87027   3N1AB7AP7JY292615   Nissan       SENTRA              SACRAMENTO                CA
87028   3N1AB7AP7JY292694   Nissan       SENTRA              CHANDLER                  AZ
87029   3N1AB7AP7JY292923   Nissan       SENTRA              Stockton                  CA
87030   3N1AB7AP7JY293019   Nissan       SENTRA              MORROW                    GA
87031   3N1AB7AP7JY293022   Nissan       SENTRA              Smithtown                 NY
87032   3N1AB7AP7JY293084   Nissan       SENTRA              SANTA ANA                 CA
87033   3N1AB7AP7JY293103   Nissan       SENTRA              NORTH PAC                 CA
87034   3N1AB7AP7JY293375   Nissan       SENTRA              BURBANK                   CA
87035   3N1AB7AP7JY293604   Nissan       SENTRA              SACRAMENTO                CA
87036   3N1AB7AP7JY293621   Nissan       SENTRA              Stockton                  CA
87037   3N1AB7AP7JY293652   Nissan       SENTRA              SAN JOSE                  CA
87038   3N1AB7AP7JY293750   Nissan       SENTRA              SAN FRANCISCO             CA
87039   3N1AB7AP7JY293778   Nissan       SENTRA              LOS ANGELES               CA
87040   3N1AB7AP7JY293859   Nissan       SENTRA              BURBANK                   CA
87041   3N1AB7AP7JY293909   Nissan       SENTRA              NORTH HOLLYWOOD           CA
87042   3N1AB7AP7JY293943   Nissan       SENTRA              STERLING                  US
87043   3N1AB7AP7JY293974   Nissan       SENTRA              SANTA ANA                 CA
87044   3N1AB7AP7JY294039   Nissan       SENTRA              COSTA MESA                CA
87045   3N1AB7AP7JY294137   Nissan       SENTRA              DENVER                    CO
87046   3N1AB7AP7JY294168   Nissan       SENTRA              SANTA ANA                 CA
87047   3N1AB7AP7JY294283   Nissan       SENTRA              SAN FRANCISCO             CA
87048   3N1AB7AP7JY294557   Nissan       SENTRA              Culpeper                  VA
87049   3N1AB7AP7JY294705   Nissan       SENTRA              FORT MYERS                FL
87050   3N1AB7AP7JY294736   Nissan       SENTRA              Denver                    CO
87051   3N1AB7AP7JY295207   Nissan       SENTRA              Bridgeton                 MO
87052   3N1AB7AP7JY295479   Nissan       SENTRA              CHICAGO                   IL
87053   3N1AB7AP7JY295515   Nissan       SENTRA              Maple Grove               MN
87054   3N1AB7AP7JY297703   Nissan       SENTRA              CHARLESTON                WV
87055   3N1AB7AP7JY297734   Nissan       SENTRA              White Plains              NY
87056   3N1AB7AP7JY298804   Nissan       SENTRA              STERLING                  VA
87057   3N1AB7AP7JY299192   Nissan       SENTRA              Pasadena                  CA
87058   3N1AB7AP7JY299211   Nissan       SENTRA              SANTA ANA                 CA
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87059   3N1AB7AP7JY299516   Nissan       SENTRA              ENTERPRISE                AL
87060   3N1AB7AP7JY299564   Nissan       SENTRA              BURBANK                   CA
87061   3N1AB7AP7JY299693   Nissan       SENTRA              BURBANK                   CA
87062   3N1AB7AP7JY299757   Nissan       SENTRA              Tolleson                  AZ
87063   3N1AB7AP7JY299824   Nissan       SENTRA              DOWNEY                    CA
87064   3N1AB7AP7JY299838   Nissan       SENTRA              Baltimore                 MD
87065   3N1AB7AP7JY299984   Nissan       SENTRA              Atlanta                   GA
87066   3N1AB7AP7JY300096   Nissan       SENTRA              EULESS                    TX
87067   3N1AB7AP7JY300194   Nissan       SENTRA              Denver                    CO
87068   3N1AB7AP7JY300454   Nissan       SENTRA              CHICAGO                   IL
87069   3N1AB7AP7JY300504   Nissan       SENTRA              Tampa                     FL
87070   3N1AB7AP7JY300647   Nissan       SENTRA              STOCKTON                  CA
87071   3N1AB7AP7JY300812   Nissan       SENTRA              Portland                  OR
87072   3N1AB7AP7JY300969   Nissan       SENTRA              Detroit                   MI
87073   3N1AB7AP7JY301068   Nissan       SENTRA              NORTH PAC                 CA
87074   3N1AB7AP7JY301135   Nissan       SENTRA              DANIA                     FL
87075   3N1AB7AP7JY301393   Nissan       SENTRA              CHICAGO                   IL
87076   3N1AB7AP7JY301703   Nissan       SENTRA              SEATAC                    WA
87077   3N1AB7AP7JY301734   Nissan       SENTRA              Rockville Centr           NY
87078   3N1AB7AP7JY301829   Nissan       SENTRA              DANIA BEACH               FL
87079   3N1AB7AP7JY301894   Nissan       SENTRA              ORLANDO                   FL
87080   3N1AB7AP7JY301958   Nissan       SENTRA              BURBANK                   CA
87081   3N1AB7AP7JY302107   Nissan       SENTRA              BURBANK                   CA
87082   3N1AB7AP7JY302172   Nissan       SENTRA              BURIEN                    WA
87083   3N1AB7AP7JY302253   Nissan       SENTRA              LAS VEGAS                 NV
87084   3N1AB7AP7JY302320   Nissan       SENTRA              Elkridge                  MD
87085   3N1AB7AP7JY302429   Nissan       SENTRA              Phoenix                   AZ
87086   3N1AB7AP7JY302494   Nissan       SENTRA              FT. LAUDERDALE            FL
87087   3N1AB7AP7JY302639   Nissan       SENTRA              Matteson                  IL
87088   3N1AB7AP7JY307372   Nissan       SENTRA              BURBANK                   CA
87089   3N1AB7AP7JY308375   Nissan       SENTRA              JACKSONVILLE              FL
87090   3N1AB7AP7JY308411   Nissan       SENTRA              CHICAGO                   IL
87091   3N1AB7AP7JY308523   Nissan       SENTRA              DES MOINES                IA
87092   3N1AB7AP7JY308621   Nissan       SENTRA              CHICAGO                   IL
87093   3N1AB7AP7JY308781   Nissan       SENTRA              DAYTONA BEACH             FL
87094   3N1AB7AP7JY309011   Nissan       SENTRA              FORT MYERS                FL
87095   3N1AB7AP7JY309137   Nissan       SENTRA              LOS ANGELES               CA
87096   3N1AB7AP7JY309221   Nissan       SENTRA              OAKLAND                   CA
87097   3N1AB7AP7JY309512   Nissan       SENTRA              TAMPA                     FL
87098   3N1AB7AP7JY309588   Nissan       SENTRA              BURBANK                   CA
87099   3N1AB7AP7JY309607   Nissan       SENTRA              Atlanta                   GA
87100   3N1AB7AP7JY309641   Nissan       SENTRA              FRESNO                    CA
87101   3N1AB7AP7JY310448   Nissan       SENTRA              SAN BRUNO                 CA
87102   3N1AB7AP7JY310630   Nissan       SENTRA              South San Franc           CA
87103   3N1AB7AP7JY310837   Nissan       SENTRA              Santa Clara               CA
87104   3N1AB7AP7JY311163   Nissan       SENTRA              Burien                    WA
87105   3N1AB7AP7JY311700   Nissan       SENTRA              Tampa                     FL
87106   3N1AB7AP7JY312037   Nissan       SENTRA              NORTH PAC                 CA
87107   3N1AB7AP7JY312328   Nissan       SENTRA              Portland                  OR
87108   3N1AB7AP7JY312443   Nissan       SENTRA              TAMPA                     FL
87109   3N1AB7AP7JY312863   Nissan       SENTRA              Norfolk                   VA
87110   3N1AB7AP7JY313012   Nissan       SENTRA              KENNER                    LA
87111   3N1AB7AP7JY313706   Nissan       SENTRA              RICHMOND                  VA
87112   3N1AB7AP7JY314015   Nissan       SENTRA              Portland                  OR
87113   3N1AB7AP7JY314032   Nissan       SENTRA              Seattle                   WA
87114   3N1AB7AP7JY314063   Nissan       SENTRA              Detroit                   MI
87115   3N1AB7AP7JY315312   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
87116   3N1AB7AP7JY316038   Nissan       SENTRA              Tampa                     FL
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87117   3N1AB7AP7JY324852   Nissan       SENTRA              Manheim                   PA
87118   3N1AB7AP7JY324933   Nissan       SENTRA              FORT LAUDERDALE           FL
87119   3N1AB7AP7JY324964   Nissan       SENTRA              SALT LAKE CITY            UT
87120   3N1AB7AP7JY324978   Nissan       SENTRA              Birmingham                AL
87121   3N1AB7AP7JY325032   Nissan       SENTRA              FORT MYERS                FL
87122   3N1AB7AP7JY325189   Nissan       SENTRA              SEATAC                    WA
87123   3N1AB7AP7JY325368   Nissan       SENTRA              Ft. Myers                 FL
87124   3N1AB7AP7JY325614   Nissan       SENTRA              Manheim                   PA
87125   3N1AB7AP7JY325807   Nissan       SENTRA              NORFOLK                   VA
87126   3N1AB7AP7JY325919   Nissan       SENTRA              SAN DIEGO                 CA
87127   3N1AB7AP7JY326083   Nissan       SENTRA              NEW BERN                  NC
87128   3N1AB7AP7JY326195   Nissan       SENTRA              ATLANTA                   GA
87129   3N1AB7AP7JY326374   Nissan       SENTRA              Hayward                   CA
87130   3N1AB7AP7JY326553   Nissan       SENTRA              MELROSE PARK              IL
87131   3N1AB7AP7JY327007   Nissan       SENTRA              Brighton                  CO
87132   3N1AB7AP7JY327010   Nissan       SENTRA              Chandler                  AZ
87133   3N1AB7AP7JY327069   Nissan       SENTRA              CHANDLER                  AZ
87134   3N1AB7AP7JY327105   Nissan       SENTRA              Hamilton                  OH
87135   3N1AB7AP7JY327220   Nissan       SENTRA              PHOENIX                   AZ
87136   3N1AB7AP7JY327332   Nissan       SENTRA              SAVANNAH                  GA
87137   3N1AB7AP7JY327377   Nissan       SENTRA              Torrance                  CA
87138   3N1AB7AP7JY327556   Nissan       SENTRA              Clarksville               IN
87139   3N1AB7AP7JY328075   Nissan       SENTRA              FISHKILL                  NY
87140   3N1AB7AP7JY328108   Nissan       SENTRA              BIRMINGHAM                AL
87141   3N1AB7AP7JY328237   Nissan       SENTRA              Florissant                MO
87142   3N1AB7AP7JY328271   Nissan       SENTRA              Bridgeton                 MO
87143   3N1AB7AP7JY328321   Nissan       SENTRA              Denver                    CO
87144   3N1AB7AP7JY328366   Nissan       SENTRA              CHARLOTTE                 NC
87145   3N1AB7AP7JY328688   Nissan       SENTRA              Omaha                     NE
87146   3N1AB7AP7JY328903   Nissan       SENTRA              SARASOTA                  FL
87147   3N1AB7AP7JY329176   Nissan       SENTRA              Charlotte                 NC
87148   3N1AB7AP7JY329727   Nissan       SENTRA              CHARLOTTE                 NC
87149   3N1AB7AP7JY329968   Nissan       SENTRA              NOTTINGHAM                MD
87150   3N1AB7AP7JY330036   Nissan       SENTRA              HILO                      HI
87151   3N1AB7AP7JY330229   Nissan       SENTRA              Tolleson                  AZ
87152   3N1AB7AP7JY330344   Nissan       SENTRA              Philadelphia              PA
87153   3N1AB7AP7JY330456   Nissan       SENTRA              DETROIT                   MI
87154   3N1AB7AP7JY330666   Nissan       SENTRA              WICHITA FALLS             TX
87155   3N1AB7AP7JY330716   Nissan       SENTRA              Elkridge                  MD
87156   3N1AB7AP7JY330828   Nissan       SENTRA              COLORADO SPRING           CO
87157   3N1AB7AP7JY330862   Nissan       SENTRA              BURBANK                   CA
87158   3N1AB7AP7JY331056   Nissan       SENTRA              SAN JOSE                  CA
87159   3N1AB7AP7JY331154   Nissan       SENTRA              SAN JOSE                  CA
87160   3N1AB7AP7JY331297   Nissan       SENTRA              EWA BEACH                 HI
87161   3N1AB7AP7JY331381   Nissan       SENTRA              Fresno                    CA
87162   3N1AB7AP7JY331705   Nissan       SENTRA              Smithtown                 NY
87163   3N1AB7AP7JY331817   Nissan       SENTRA              DALLAS                    TX
87164   3N1AB7AP7JY331915   Nissan       SENTRA              FORT MYERS                FL
87165   3N1AB7AP7JY331977   Nissan       SENTRA              Maple Grove               MN
87166   3N1AB7AP7JY332224   Nissan       SENTRA              BURBANK                   CA
87167   3N1AB7AP7JY332286   Nissan       SENTRA              BURBANK                   CA
87168   3N1AB7AP7JY332384   Nissan       SENTRA              Norwalk                   CA
87169   3N1AB7AP7JY332563   Nissan       SENTRA              Burien                    WA
87170   3N1AB7AP7KL611770   Nissan       SENTRA              PLEASANTON                CA
87171   3N1AB7AP7KY237213   Nissan       SENTRA              CHICAGO                   IL
87172   3N1AB7AP7KY240841   Nissan       SENTRA              Estero                    FL
87173   3N1AB7AP7KY241195   Nissan       SENTRA              JACKSONVILLE              FL
87174   3N1AB7AP7KY241312   Nissan       SENTRA              FORT MYERS                FL
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87175   3N1AB7AP7KY241391   Nissan       SENTRA              TITUSVILLE                FL
87176   3N1AB7AP7KY241441   Nissan       SENTRA              Newport Beach             CA
87177   3N1AB7AP7KY242038   Nissan       SENTRA              FORT MYERS                FL
87178   3N1AB7AP7KY242279   Nissan       SENTRA              FISHKILL                  NY
87179   3N1AB7AP7KY242654   Nissan       SENTRA              TAMPA                     FL
87180   3N1AB7AP7KY243092   Nissan       SENTRA              N. Palm Beach             FL
87181   3N1AB7AP7KY243836   Nissan       SENTRA              Alcoa                     TN
87182   3N1AB7AP7KY245425   Nissan       SENTRA              SAN DIEGO                 CA
87183   3N1AB7AP7KY245442   Nissan       SENTRA              BURBANK                   CA
87184   3N1AB7AP7KY246235   Nissan       SENTRA              HILO                      HI
87185   3N1AB7AP7KY269644   Nissan       SENTRA              HILO                      HI
87186   3N1AB7AP7KY275251   Nissan       SENTRA              SAN ANTONIO               TX
87187   3N1AB7AP7KY295354   Nissan       SENTRA              Atlanta                   GA
87188   3N1AB7AP7KY297850   Nissan       SENTRA              Las Vegas                 NV
87189   3N1AB7AP7KY297945   Nissan       SENTRA              GREENWOOD                 NE
87190   3N1AB7AP7KY298142   Nissan       SENTRA              HOUSTON                   TX
87191   3N1AB7AP7KY298383   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
87192   3N1AB7AP7KY298691   Nissan       SENTRA              Slidell                   LA
87193   3N1AB7AP7KY298819   Nissan       SENTRA              CHAMBERSBURG              PA
87194   3N1AB7AP7KY299033   Nissan       SENTRA              WHITE PLAINS              NY
87195   3N1AB7AP7KY299355   Nissan       SENTRA              Stockton                  CA
87196   3N1AB7AP7KY299646   Nissan       SENTRA              LAS VEGAS                 NV
87197   3N1AB7AP7KY299873   Nissan       SENTRA              Portland                  OR
87198   3N1AB7AP7KY299940   Nissan       SENTRA              Atlanta                   GA
87199   3N1AB7AP7KY299999   Nissan       SENTRA              FORT MYERS                FL
87200   3N1AB7AP7KY300164   Nissan       SENTRA              MONTEREY                  CA
87201   3N1AB7AP7KY300312   Nissan       SENTRA              ORLANDO                   FL
87202   3N1AB7AP7KY300889   Nissan       SENTRA              PHOENIX                   AZ
87203   3N1AB7AP7KY301279   Nissan       SENTRA              Slidell                   LA
87204   3N1AB7AP7KY301573   Nissan       SENTRA              Clearwater                FL
87205   3N1AB7AP7KY302206   Nissan       SENTRA              Atlanta                   GA
87206   3N1AB7AP7KY302318   Nissan       SENTRA              NORTH PAC                 CA
87207   3N1AB7AP7KY302450   Nissan       SENTRA              ATLANTA AP                GA
87208   3N1AB7AP7KY302464   Nissan       SENTRA              Los Angeles               CA
87209   3N1AB7AP7KY302545   Nissan       SENTRA              Atlanta                   GA
87210   3N1AB7AP7KY302738   Nissan       SENTRA              Atlanta                   GA
87211   3N1AB7AP7KY302769   Nissan       SENTRA              SACRAMENTO                CA
87212   3N1AB7AP7KY303114   Nissan       SENTRA              Gaston                    SC
87213   3N1AB7AP7KY303355   Nissan       SENTRA              ORLANDO                   FL
87214   3N1AB7AP7KY303842   Nissan       SENTRA              TAMPA                     FL
87215   3N1AB7AP7KY304490   Nissan       SENTRA              KENNER                    LA
87216   3N1AB7AP7KY304764   Nissan       SENTRA              Atlanta                   GA
87217   3N1AB7AP7KY304831   Nissan       SENTRA              NEW YORK CITY             NY
87218   3N1AB7AP7KY305560   Nissan       SENTRA              TAMPA                     FL
87219   3N1AB7AP7KY306465   Nissan       SENTRA              Atlanta                   GA
87220   3N1AB7AP7KY306773   Nissan       SENTRA              Baltimore                 MD
87221   3N1AB7AP7KY306806   Nissan       SENTRA              North Dighton             MA
87222   3N1AB7AP7KY307437   Nissan       SENTRA              ATLANTA                   GA
87223   3N1AB7AP7KY308491   Nissan       SENTRA              Dallas                    TX
87224   3N1AB7AP7KY309141   Nissan       SENTRA              SOUTHWEST DEALER D        TX
87225   3N1AB7AP7KY310726   Nissan       SENTRA              PORTLAND                  OR
87226   3N1AB7AP7KY311553   Nissan       SENTRA              Rock Hill                 SC
87227   3N1AB7AP7KY313402   Nissan       SENTRA              SANTA ANA                 CA
87228   3N1AB7AP7KY313478   Nissan       SENTRA              Los Angeles               CA
87229   3N1AB7AP7KY316235   Nissan       SENTRA              Los Angeles               CA
87230   3N1AB7AP7KY316400   Nissan       SENTRA              Rock Hill                 SC
87231   3N1AB7AP7KY316641   Nissan       SENTRA              BALTIMORE                 MD
87232   3N1AB7AP7KY320771   Nissan       SENTRA              SEATAC                    WA
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87233   3N1AB7AP7KY322519   Nissan       SENTRA              PORTLAND                  OR
87234   3N1AB7AP7KY338767   Nissan       SENTRA              TAMPA                     US
87235   3N1AB7AP7KY341135   Nissan       SENTRA              SAINT PAUL                MN
87236   3N1AB7AP7KY342320   Nissan       SENTRA              Newport Beach             CA
87237   3N1AB7AP7KY342821   Nissan       SENTRA              Salt Lake City            UT
87238   3N1AB7AP7KY342978   Nissan       SENTRA              LAS VEGAS                 NV
87239   3N1AB7AP7KY343953   Nissan       SENTRA              Beaverton                 OR
87240   3N1AB7AP7KY344486   Nissan       SENTRA              LOS ANGELES               CA
87241   3N1AB7AP7KY344522   Nissan       SENTRA              Salt Lake City            UT
87242   3N1AB7AP7KY344617   Nissan       SENTRA              Phoenix                   AZ
87243   3N1AB7AP7KY344911   Nissan       SENTRA              Hayward                   CA
87244   3N1AB7AP7KY345640   Nissan       SENTRA              Newport Beach             CA
87245   3N1AB7AP7KY350434   Nissan       SENTRA              Warwick                   RI
87246   3N1AB7AP7KY350580   Nissan       SENTRA              ATLANTA                   GA
87247   3N1AB7AP7KY353690   Nissan       SENTRA              Newark                    NJ
87248   3N1AB7AP7KY354189   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
87249   3N1AB7AP7KY364074   Nissan       SENTRA              SOUTH BEND                IN
87250   3N1AB7AP7KY364382   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
87251   3N1AB7AP8FL660076   Nissan       SENTRA              Denver                    CO
87252   3N1AB7AP8GL683097   Nissan       SENTRA              CHICAGO                   IL
87253   3N1AB7AP8GY218631   Nissan       SENTRA              NORTH PAC                 CA
87254   3N1AB7AP8GY222193   Nissan       SENTRA              JACKSONVILLE              US
87255   3N1AB7AP8GY231461   Nissan       SENTRA              CHICAGO                   IL
87256   3N1AB7AP8GY290462   Nissan       SENTRA
87257   3N1AB7AP8HL638985   Nissan       SENTRA
87258   3N1AB7AP8HL681674   Nissan       SENTRA              DES MOINES                IA
87259   3N1AB7AP8HL683070   Nissan       SENTRA              Fredericksburg            VA
87260   3N1AB7AP8HL684414   Nissan       SENTRA              HANOVER                   MD
87261   3N1AB7AP8HL684476   Nissan       SENTRA              RICHMOND                  VA
87262   3N1AB7AP8HL685076   Nissan       SENTRA              BURBANK                   CA
87263   3N1AB7AP8HL693274   Nissan       SENTRA              SAN FRANCISCO             CA
87264   3N1AB7AP8HL693615   Nissan       SENTRA              Kent                      WA
87265   3N1AB7AP8HL693789   Nissan       SENTRA              Elkridge                  MD
87266   3N1AB7AP8HL695039   Nissan       SENTRA              Miami                     FL
87267   3N1AB7AP8HL696191   Nissan       SENTRA              LOS ANGELES               CA
87268   3N1AB7AP8HL696708   Nissan       SENTRA              North Las Vegas           NV
87269   3N1AB7AP8HL696966   Nissan       SENTRA              ONTARIO                   CA
87270   3N1AB7AP8HL698927   Nissan       SENTRA              BOSTON                    MA
87271   3N1AB7AP8HL699348   Nissan       SENTRA              FRESNO                    CA
87272   3N1AB7AP8HY234958   Nissan       SENTRA              DENVER                    CO
87273   3N1AB7AP8HY249802   Nissan       SENTRA              Miami                     FL
87274   3N1AB7AP8HY260749   Nissan       SENTRA              Fredericksburg            VA
87275   3N1AB7AP8HY290298   Nissan       SENTRA              NEW ORLEANS               LA
87276   3N1AB7AP8HY304989   Nissan       SENTRA              LOS ANGELES               CA
87277   3N1AB7AP8HY307441   Nissan       SENTRA              SAN FRANCISCO             CA
87278   3N1AB7AP8HY310792   Nissan       SENTRA              STERLING                  VA
87279   3N1AB7AP8HY311277   Nissan       SENTRA              MEDINA                    OH
87280   3N1AB7AP8HY312865   Nissan       SENTRA              MORROW                    GA
87281   3N1AB7AP8HY313000   Nissan       SENTRA              ANNANDALE                 VA
87282   3N1AB7AP8HY314244   Nissan       SENTRA              Las Vegas                 NV
87283   3N1AB7AP8HY314390   Nissan       SENTRA              San Diego                 CA
87284   3N1AB7AP8HY316737   Nissan       SENTRA              Mira Loma                 CA
87285   3N1AB7AP8HY317998   Nissan       SENTRA              HANOVER                   MD
87286   3N1AB7AP8HY320352   Nissan       SENTRA              Kent                      WA
87287   3N1AB7AP8HY321744   Nissan       SENTRA              Fontana                   CA
87288   3N1AB7AP8HY322490   Nissan       SENTRA              ROSEVILLE                 CA
87289   3N1AB7AP8HY325017   Nissan       SENTRA              Fredericksburg            VA
87290   3N1AB7AP8HY325499   Nissan       SENTRA              HANOVER                   MD
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87291   3N1AB7AP8HY329102   Nissan       SENTRA              Elkridge                  MD
87292   3N1AB7AP8HY329357   Nissan       SENTRA              North Dighton             MA
87293   3N1AB7AP8HY330542   Nissan       SENTRA              DAYTONA BEACH             FL
87294   3N1AB7AP8HY330802   Nissan       SENTRA              COLLEGE PARK              GA
87295   3N1AB7AP8HY330895   Nissan       SENTRA              BURBANK                   CA
87296   3N1AB7AP8HY335501   Nissan       SENTRA              BURBANK                   CA
87297   3N1AB7AP8HY336552   Nissan       SENTRA              SAN JOSE                  CA
87298   3N1AB7AP8HY337538   Nissan       SENTRA              SEATTLE                   WA
87299   3N1AB7AP8HY338429   Nissan       SENTRA              SEATTLE                   WA
87300   3N1AB7AP8HY338849   Nissan       SENTRA              SAN FRANCISCO             CA
87301   3N1AB7AP8HY342805   Nissan       SENTRA              GLEN BURNIE               MD
87302   3N1AB7AP8HY343775   Nissan       SENTRA              NORTH PAC                 CA
87303   3N1AB7AP8HY345039   Nissan       SENTRA              LOS ANGELES               CA
87304   3N1AB7AP8HY346059   Nissan       SENTRA              Tolleson                  AZ
87305   3N1AB7AP8HY346207   Nissan       SENTRA              Cleveland                 OH
87306   3N1AB7AP8HY346711   Nissan       SENTRA              SAN FRANCISCO             CA
87307   3N1AB7AP8HY348054   Nissan       SENTRA              NORTH HOLLYWOOD           CA
87308   3N1AB7AP8HY348314   Nissan       SENTRA              DAYTONA BEACH             FL
87309   3N1AB7AP8HY349124   Nissan       SENTRA              SAN FRANCISCO             CA
87310   3N1AB7AP8HY349527   Nissan       SENTRA              North Dighton             MA
87311   3N1AB7AP8HY349589   Nissan       SENTRA              BURBANK                   CA
87312   3N1AB7AP8HY349818   Nissan       SENTRA              BURBANK                   CA
87313   3N1AB7AP8HY351715   Nissan       SENTRA              TRACY                     CA
87314   3N1AB7AP8HY351987   Nissan       SENTRA              Chicago                   IL
87315   3N1AB7AP8HY352735   Nissan       SENTRA              CHICAGO                   IL
87316   3N1AB7AP8HY353058   Nissan       SENTRA              CHICAGO                   IL
87317   3N1AB7AP8HY353531   Nissan       SENTRA              North Dighton             MA
87318   3N1AB7AP8HY354212   Nissan       SENTRA              Matteson                  IL
87319   3N1AB7AP8HY354663   Nissan       SENTRA              Denver                    CO
87320   3N1AB7AP8HY354775   Nissan       SENTRA              STERLING                  VA
87321   3N1AB7AP8HY355795   Nissan       SENTRA              CHICAGO                   IL
87322   3N1AB7AP8HY356381   Nissan       SENTRA              Miami                     FL
87323   3N1AB7AP8HY356414   Nissan       SENTRA              RICHMOND                  VA
87324   3N1AB7AP8HY357465   Nissan       SENTRA              Los Angeles               CA
87325   3N1AB7AP8HY357739   Nissan       SENTRA              BURBANK                   CA
87326   3N1AB7AP8HY358793   Nissan       SENTRA              BURBANK                   CA
87327   3N1AB7AP8HY359510   Nissan       SENTRA              Grove City                OH
87328   3N1AB7AP8HY360575   Nissan       SENTRA              GLASSBORO                 NJ
87329   3N1AB7AP8HY361922   Nissan       SENTRA              LAS VEGAS                 NV
87330   3N1AB7AP8HY362892   Nissan       SENTRA              PHILADELPHIA              PA
87331   3N1AB7AP8JL619486   Nissan       SENTRA              TAMPA                     FL
87332   3N1AB7AP8JL619973   Nissan       SENTRA              SOUTH BEND                IN
87333   3N1AB7AP8JL628365   Nissan       SENTRA              FORT LAUDERDALE           FL
87334   3N1AB7AP8JL632870   Nissan       SENTRA              BURBANK                   CA
87335   3N1AB7AP8JL647921   Nissan       SENTRA              SAN JOSE                  CA
87336   3N1AB7AP8JL648597   Nissan       SENTRA              CHICAGO                   IL
87337   3N1AB7AP8JL652584   Nissan       SENTRA              Stockton                  CA
87338   3N1AB7AP8JY205031   Nissan       SENTRA              FAYETTEVILLE              AR
87339   3N1AB7AP8JY217289   Nissan       SENTRA              FORT MYERS                FL
87340   3N1AB7AP8JY221603   Nissan       SENTRA              INDIANAPOLIS              IN
87341   3N1AB7AP8JY225490   Nissan       SENTRA              Winston‐Salem             NC
87342   3N1AB7AP8JY238790   Nissan       SENTRA              Atlanta                   GA
87343   3N1AB7AP8JY242872   Nissan       SENTRA              Phoenix                   AZ
87344   3N1AB7AP8JY242886   Nissan       SENTRA              Portland                  OR
87345   3N1AB7AP8JY243200   Nissan       SENTRA              BURBANK                   CA
87346   3N1AB7AP8JY243634   Nissan       SENTRA              SANTA ANA                 CA
87347   3N1AB7AP8JY243732   Nissan       SENTRA              BURBANK                   CA
87348   3N1AB7AP8JY243956   Nissan       SENTRA              Miami                     FL
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87349   3N1AB7AP8JY244105   Nissan       SENTRA              TRACY                     CA
87350   3N1AB7AP8JY244122   Nissan       SENTRA              Newark                    NJ
87351   3N1AB7AP8JY244203   Nissan       SENTRA              York Haven                PA
87352   3N1AB7AP8JY244220   Nissan       SENTRA              CLEVELAND                 OH
87353   3N1AB7AP8JY244430   Nissan       SENTRA              BURBANK                   CA
87354   3N1AB7AP8JY244492   Nissan       SENTRA              BURBANK                   CA
87355   3N1AB7AP8JY244671   Nissan       SENTRA              Manheim                   PA
87356   3N1AB7AP8JY244685   Nissan       SENTRA              NORTHEAST DISTRICT        NJ
87357   3N1AB7AP8JY244783   Nissan       SENTRA              BURBANK                   CA
87358   3N1AB7AP8JY244802   Nissan       SENTRA              SAN DIEGO                 CA
87359   3N1AB7AP8JY244931   Nissan       SENTRA              JAMAICA                   NY
87360   3N1AB7AP8JY244993   Nissan       SENTRA              PORTLAND                  OR
87361   3N1AB7AP8JY245223   Nissan       SENTRA              Lynn                      MA
87362   3N1AB7AP8JY245335   Nissan       SENTRA              S. San Francisc           CA
87363   3N1AB7AP8JY245433   Nissan       SENTRA              Pittsburgh                PA
87364   3N1AB7AP8JY245478   Nissan       SENTRA              BURBANK                   CA
87365   3N1AB7AP8JY245576   Nissan       SENTRA              Fort Lauderdale           FL
87366   3N1AB7AP8JY245593   Nissan       SENTRA              BURBANK                   CA
87367   3N1AB7AP8JY245657   Nissan       SENTRA              MEDINA                    OH
87368   3N1AB7AP8JY245674   Nissan       SENTRA              NORTH PAC                 CA
87369   3N1AB7AP8JY245724   Nissan       SENTRA              STERLING                  VA
87370   3N1AB7AP8JY245769   Nissan       SENTRA              DAYTONA BEACH             FL
87371   3N1AB7AP8JY245836   Nissan       SENTRA              Mira Loma                 CA
87372   3N1AB7AP8JY245934   Nissan       SENTRA              NORTH PAC                 CA
87373   3N1AB7AP8JY246064   Nissan       SENTRA              Burien                    WA
87374   3N1AB7AP8JY246503   Nissan       SENTRA              NORTH PAC                 CA
87375   3N1AB7AP8JY246517   Nissan       SENTRA              BURBANK                   CA
87376   3N1AB7AP8JY246565   Nissan       SENTRA              WESTLAKE                  OH
87377   3N1AB7AP8JY246615   Nissan       SENTRA              Austell                   GA
87378   3N1AB7AP8JY246761   Nissan       SENTRA              LIHUE                     HI
87379   3N1AB7AP8JY246792   Nissan       SENTRA              NORTH PAC                 CA
87380   3N1AB7AP8JY247246   Nissan       SENTRA              Lynn                      MA
87381   3N1AB7AP8JY247523   Nissan       SENTRA              Fontana                   CA
87382   3N1AB7AP8JY247747   Nissan       SENTRA              NORTH PAC                 CA
87383   3N1AB7AP8JY247750   Nissan       SENTRA              NORTH PAC                 CA
87384   3N1AB7AP8JY247795   Nissan       SENTRA              Atlanta                   GA
87385   3N1AB7AP8JY248106   Nissan       SENTRA              ANNANDALE                 VA
87386   3N1AB7AP8JY249630   Nissan       SENTRA              ONTARIO                   CA
87387   3N1AB7AP8JY252480   Nissan       SENTRA              ST Paul                   MN
87388   3N1AB7AP8JY252494   Nissan       SENTRA              KAHULUI                   HI
87389   3N1AB7AP8JY252625   Nissan       SENTRA              LAS VEGAS                 NV
87390   3N1AB7AP8JY252642   Nissan       SENTRA              Nashville                 TN
87391   3N1AB7AP8JY252799   Nissan       SENTRA              South San Franc           CA
87392   3N1AB7AP8JY253158   Nissan       SENTRA              Indianapolis              IN
87393   3N1AB7AP8JY253225   Nissan       SENTRA              Tampa                     FL
87394   3N1AB7AP8JY253287   Nissan       SENTRA              DANIA BEACH               FL
87395   3N1AB7AP8JY253290   Nissan       SENTRA              Tampa                     FL
87396   3N1AB7AP8JY253435   Nissan       SENTRA              Cleveland                 OH
87397   3N1AB7AP8JY253595   Nissan       SENTRA              Anaheim                   CA
87398   3N1AB7AP8JY253628   Nissan       SENTRA              MARIETTA                  GA
87399   3N1AB7AP8JY253662   Nissan       SENTRA              Miami                     FL
87400   3N1AB7AP8JY253757   Nissan       SENTRA              BOSTON                    MA
87401   3N1AB7AP8JY254200   Nissan       SENTRA              MORROW                    GA
87402   3N1AB7AP8JY254455   Nissan       SENTRA              Chandler                  AZ
87403   3N1AB7AP8JY254813   Nissan       SENTRA              NORTH HOLLYWOOD           CA
87404   3N1AB7AP8JY254844   Nissan       SENTRA              BURBANK                   CA
87405   3N1AB7AP8JY255024   Nissan       SENTRA              NORTH PAC                 CA
87406   3N1AB7AP8JY255170   Nissan       SENTRA              SAN DIEGO                 CA
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87407   3N1AB7AP8JY255203   Nissan       SENTRA              SAN FRANCISCO             CA
87408   3N1AB7AP8JY255220   Nissan       SENTRA              BURBANK                   CA
87409   3N1AB7AP8JY255329   Nissan       SENTRA              BURBANK                   CA
87410   3N1AB7AP8JY255427   Nissan       SENTRA              NORTH PAC                 CA
87411   3N1AB7AP8JY255511   Nissan       SENTRA              NORTH PAC                 CA
87412   3N1AB7AP8JY255640   Nissan       SENTRA              BURBANK                   CA
87413   3N1AB7AP8JY255878   Nissan       SENTRA              SAN FRANCISCO             CA
87414   3N1AB7AP8JY258019   Nissan       SENTRA              NORTH PAC                 CA
87415   3N1AB7AP8JY258439   Nissan       SENTRA              NORTH PAC                 CA
87416   3N1AB7AP8JY260580   Nissan       SENTRA              Tolleson                  AZ
87417   3N1AB7AP8JY261549   Nissan       SENTRA              BURBANK                   CA
87418   3N1AB7AP8JY261941   Nissan       SENTRA              Denver                    CO
87419   3N1AB7AP8JY262720   Nissan       SENTRA              BURBANK                   CA
87420   3N1AB7AP8JY265908   Nissan       SENTRA              DES MOINES                IA
87421   3N1AB7AP8JY265973   Nissan       SENTRA              FORT LAUDERDALE           FL
87422   3N1AB7AP8JY266069   Nissan       SENTRA              LOS ANGELES               CA
87423   3N1AB7AP8JY266072   Nissan       SENTRA              Woodhaven                 MI
87424   3N1AB7AP8JY266170   Nissan       SENTRA              SEATAC                    WA
87425   3N1AB7AP8JY266461   Nissan       SENTRA              Denver                    CO
87426   3N1AB7AP8JY266489   Nissan       SENTRA              Albuquerque               NM
87427   3N1AB7AP8JY266945   Nissan       SENTRA              DAYTONA BEACH             FL
87428   3N1AB7AP8JY267142   Nissan       SENTRA              DENVER                    CO
87429   3N1AB7AP8JY267402   Nissan       SENTRA              BURBANK                   CA
87430   3N1AB7AP8JY267593   Nissan       SENTRA              BURBANK                   CA
87431   3N1AB7AP8JY267772   Nissan       SENTRA              COSTA MESA                CA
87432   3N1AB7AP8JY267836   Nissan       SENTRA              BURBANK                   CA
87433   3N1AB7AP8JY270140   Nissan       SENTRA              Winston‐Salem             NC
87434   3N1AB7AP8JY270428   Nissan       SENTRA              LUBBOCK                   TX
87435   3N1AB7AP8JY270459   Nissan       SENTRA              STERLING                  VA
87436   3N1AB7AP8JY270526   Nissan       SENTRA              RICHMOND                  VA
87437   3N1AB7AP8JY270574   Nissan       SENTRA              Charlotte                 NC
87438   3N1AB7AP8JY270896   Nissan       SENTRA              BOSTON                    MA
87439   3N1AB7AP8JY271420   Nissan       SENTRA              DES MOINES                IA
87440   3N1AB7AP8JY271563   Nissan       SENTRA              Atlanta                   GA
87441   3N1AB7AP8JY271742   Nissan       SENTRA              Manheim                   PA
87442   3N1AB7AP8JY272079   Nissan       SENTRA              PHOENIX                   AZ
87443   3N1AB7AP8JY272308   Nissan       SENTRA              WOODSON TERRACE           MO
87444   3N1AB7AP8JY272342   Nissan       SENTRA              ORLANDO                   FL
87445   3N1AB7AP8JY272776   Nissan       SENTRA              ENGLEWOOD                 CO
87446   3N1AB7AP8JY273412   Nissan       SENTRA              Aurora                    CO
87447   3N1AB7AP8JY273720   Nissan       SENTRA              Pasadena                  CA
87448   3N1AB7AP8JY273815   Nissan       SENTRA              CHICAGO                   IL
87449   3N1AB7AP8JY273913   Nissan       SENTRA              Dallas                    TX
87450   3N1AB7AP8JY274026   Nissan       SENTRA              LOS ANGELES               CA
87451   3N1AB7AP8JY274480   Nissan       SENTRA              Revere                    MA
87452   3N1AB7AP8JY274740   Nissan       SENTRA              Webster                   NY
87453   3N1AB7AP8JY274849   Nissan       SENTRA              HOUSTON                   TX
87454   3N1AB7AP8JY274933   Nissan       SENTRA              CHICAGO                   IL
87455   3N1AB7AP8JY275080   Nissan       SENTRA              MIAMI                     FL
87456   3N1AB7AP8JY275130   Nissan       SENTRA              Roseville                 CA
87457   3N1AB7AP8JY275483   Nissan       SENTRA              SAN ANTONIO               TX
87458   3N1AB7AP8JY275533   Nissan       SENTRA              BURBANK                   CA
87459   3N1AB7AP8JY275662   Nissan       SENTRA              BURBANK                   CA
87460   3N1AB7AP8JY276259   Nissan       SENTRA              NORTH PAC                 CA
87461   3N1AB7AP8JY276262   Nissan       SENTRA              Woodhaven                 MI
87462   3N1AB7AP8JY276388   Nissan       SENTRA              North Dighton             MA
87463   3N1AB7AP8JY276536   Nissan       SENTRA              LOS ANGELES               CA
87464   3N1AB7AP8JY276827   Nissan       SENTRA              North Dighton             MA
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87465   3N1AB7AP8JY277024   Nissan       SENTRA              STERLING                  VA
87466   3N1AB7AP8JY277069   Nissan       SENTRA              Cleveland                 OH
87467   3N1AB7AP8JY277170   Nissan       SENTRA              TITUSVILLE                FL
87468   3N1AB7AP8JY277332   Nissan       SENTRA              Elkridge                  MD
87469   3N1AB7AP8JY277458   Nissan       SENTRA              Slidell                   LA
87470   3N1AB7AP8JY277668   Nissan       SENTRA              BURBANK                   CA
87471   3N1AB7AP8JY277704   Nissan       SENTRA              CENTRAL DIST OFFC         OK
87472   3N1AB7AP8JY277881   Nissan       SENTRA              MARIETTA                  GA
87473   3N1AB7AP8JY277959   Nissan       SENTRA              Fresno                    CA
87474   3N1AB7AP8JY278092   Nissan       SENTRA              LOS ANGELES               CA
87475   3N1AB7AP8JY278349   Nissan       SENTRA              Coraopolis                PA
87476   3N1AB7AP8JY278609   Nissan       SENTRA              CHARLOTTE                 NC
87477   3N1AB7AP8JY278643   Nissan       SENTRA              WEST DUNDEE               IL
87478   3N1AB7AP8JY278822   Nissan       SENTRA              STERLING                  VA
87479   3N1AB7AP8JY279307   Nissan       SENTRA              NEW YORK DEALER DI        NJ
87480   3N1AB7AP8JY279498   Nissan       SENTRA              DES MOINES                IA
87481   3N1AB7AP8JY279968   Nissan       SENTRA              DAYTONA BEACH             FL
87482   3N1AB7AP8JY280280   Nissan       SENTRA              Atlanta                   GA
87483   3N1AB7AP8JY280764   Nissan       SENTRA              NORTH PAC                 CA
87484   3N1AB7AP8JY281039   Nissan       SENTRA              BURBANK                   CA
87485   3N1AB7AP8JY281574   Nissan       SENTRA              BURBANK                   CA
87486   3N1AB7AP8JY281686   Nissan       SENTRA              MORROW                    GA
87487   3N1AB7AP8JY283017   Nissan       SENTRA              NORTH PAC                 CA
87488   3N1AB7AP8JY283292   Nissan       SENTRA              Denver                    CO
87489   3N1AB7AP8JY284636   Nissan       SENTRA              Nashville                 TN
87490   3N1AB7AP8JY284989   Nissan       SENTRA              BURBANK                   CA
87491   3N1AB7AP8JY286581   Nissan       SENTRA              Atlanta                   GA
87492   3N1AB7AP8JY286807   Nissan       SENTRA              STERLING                  VA
87493   3N1AB7AP8JY286869   Nissan       SENTRA              Harvey                    LA
87494   3N1AB7AP8JY287231   Nissan       SENTRA              Burien                    WA
87495   3N1AB7AP8JY287259   Nissan       SENTRA              Elkridge                  MD
87496   3N1AB7AP8JY287293   Nissan       SENTRA              LOS ANGELES               CA
87497   3N1AB7AP8JY287570   Nissan       SENTRA              Statesville               NC
87498   3N1AB7AP8JY287584   Nissan       SENTRA              N. Palm Beach             FL
87499   3N1AB7AP8JY287777   Nissan       SENTRA              Denver                    CO
87500   3N1AB7AP8JY287925   Nissan       SENTRA              PLEASANTON                CA
87501   3N1AB7AP8JY288153   Nissan       SENTRA              CHICAGO                   IL
87502   3N1AB7AP8JY288203   Nissan       SENTRA              Webster                   NY
87503   3N1AB7AP8JY288296   Nissan       SENTRA              Cleveland                 OH
87504   3N1AB7AP8JY288542   Nissan       SENTRA              KANSAS CITY               MO
87505   3N1AB7AP8JY288556   Nissan       SENTRA              CHICAGO                   IL
87506   3N1AB7AP8JY288959   Nissan       SENTRA              Brighton                  CO
87507   3N1AB7AP8JY289108   Nissan       SENTRA              BURBANK                   CA
87508   3N1AB7AP8JY289156   Nissan       SENTRA              Florissant                MO
87509   3N1AB7AP8JY289237   Nissan       SENTRA              ORLANDO                   FL
87510   3N1AB7AP8JY289786   Nissan       SENTRA              Kansas City               MO
87511   3N1AB7AP8JY290193   Nissan       SENTRA              Hartford                  CT
87512   3N1AB7AP8JY290226   Nissan       SENTRA              North Dighton             MA
87513   3N1AB7AP8JY290646   Nissan       SENTRA              DES MOINES                IA
87514   3N1AB7AP8JY290663   Nissan       SENTRA              SAINT PAUL                MN
87515   3N1AB7AP8JY290694   Nissan       SENTRA              DES MOINES                IA
87516   3N1AB7AP8JY290713   Nissan       SENTRA              Hamilton                  OH
87517   3N1AB7AP8JY290811   Nissan       SENTRA              Grove City                OH
87518   3N1AB7AP8JY291098   Nissan       SENTRA              FORT LAUDERDALE           FL
87519   3N1AB7AP8JY291103   Nissan       SENTRA              BURBANK                   CA
87520   3N1AB7AP8JY291358   Nissan       SENTRA              Cleveland                 OH
87521   3N1AB7AP8JY291439   Nissan       SENTRA              Marietta                  GA
87522   3N1AB7AP8JY291523   Nissan       SENTRA              DENVER                    CO
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87523   3N1AB7AP8JY291585   Nissan       SENTRA              SANTA CLARA               CA
87524   3N1AB7AP8JY291702   Nissan       SENTRA              BURBANK                   CA
87525   3N1AB7AP8JY291778   Nissan       SENTRA              BOSTON                    MA
87526   3N1AB7AP8JY292185   Nissan       SENTRA              PHOENIX                   AZ
87527   3N1AB7AP8JY292221   Nissan       SENTRA              STERLING                  VA
87528   3N1AB7AP8JY292607   Nissan       SENTRA              BURBANK                   CA
87529   3N1AB7AP8JY292803   Nissan       SENTRA              DALLAS                    TX
87530   3N1AB7AP8JY293093   Nissan       SENTRA              Tolleson                  AZ
87531   3N1AB7AP8JY293157   Nissan       SENTRA              SACRAMENTO                CA
87532   3N1AB7AP8JY293241   Nissan       SENTRA              BURBANK                   CA
87533   3N1AB7AP8JY293269   Nissan       SENTRA              NORTH PAC                 CA
87534   3N1AB7AP8JY293367   Nissan       SENTRA              FORT LAUDERDALE           FL
87535   3N1AB7AP8JY293398   Nissan       SENTRA              LOS ANGELES               CA
87536   3N1AB7AP8JY293482   Nissan       SENTRA              Detroit                   MI
87537   3N1AB7AP8JY293501   Nissan       SENTRA              TAMPA                     FL
87538   3N1AB7AP8JY293577   Nissan       SENTRA              ST Paul                   MN
87539   3N1AB7AP8JY293689   Nissan       SENTRA              LAS VEGAS                 NV
87540   3N1AB7AP8JY293708   Nissan       SENTRA              Burien                    WA
87541   3N1AB7AP8JY293742   Nissan       SENTRA              Tampa                     FL
87542   3N1AB7AP8JY293773   Nissan       SENTRA              Tolleson                  AZ
87543   3N1AB7AP8JY293935   Nissan       SENTRA              SAN FRANCISCO             CA
87544   3N1AB7AP8JY294096   Nissan       SENTRA              FRESNO                    CA
87545   3N1AB7AP8JY294339   Nissan       SENTRA              DES MOINES                IA
87546   3N1AB7AP8JY294423   Nissan       SENTRA              STERLING                  VA
87547   3N1AB7AP8JY294566   Nissan       SENTRA              LAS VEGAS                 NV
87548   3N1AB7AP8JY294910   Nissan       SENTRA              SANTA ANA                 CA
87549   3N1AB7AP8JY295507   Nissan       SENTRA              Clarksville               IN
87550   3N1AB7AP8JY296043   Nissan       SENTRA              BOSTON                    MA
87551   3N1AB7AP8JY296334   Nissan       SENTRA              SAN JOSE                  CA
87552   3N1AB7AP8JY296558   Nissan       SENTRA              Elkridge                  MD
87553   3N1AB7AP8JY296611   Nissan       SENTRA              Stockton                  CA
87554   3N1AB7AP8JY297306   Nissan       SENTRA              DETROIT                   MI
87555   3N1AB7AP8JY297418   Nissan       SENTRA              KNOXVILLE                 TN
87556   3N1AB7AP8JY298116   Nissan       SENTRA              NEW ENGLAND DEALER        MA
87557   3N1AB7AP8JY298195   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
87558   3N1AB7AP8JY298424   Nissan       SENTRA              LAS VEGAS                 NV
87559   3N1AB7AP8JY298570   Nissan       SENTRA              BURBANK                   CA
87560   3N1AB7AP8JY298858   Nissan       SENTRA              Charlotte                 NC
87561   3N1AB7AP8JY298911   Nissan       SENTRA              Philadelphia              PA
87562   3N1AB7AP8JY299105   Nissan       SENTRA              Florissant                MO
87563   3N1AB7AP8JY299282   Nissan       SENTRA              BURBANK                   CA
87564   3N1AB7AP8JY299296   Nissan       SENTRA              ROSEVILLE                 CA
87565   3N1AB7AP8JY299525   Nissan       SENTRA              PHOENIX                   AZ
87566   3N1AB7AP8JY299668   Nissan       SENTRA              Burien                    WA
87567   3N1AB7AP8JY299718   Nissan       SENTRA              Dallas                    TX
87568   3N1AB7AP8JY299797   Nissan       SENTRA              DES MOINES                IA
87569   3N1AB7AP8JY299881   Nissan       SENTRA              HARRISBURG                PA
87570   3N1AB7AP8JY299900   Nissan       SENTRA              NORTH HILLS               CA
87571   3N1AB7AP8JY299976   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
87572   3N1AB7AP8JY300365   Nissan       SENTRA              Davie                     FL
87573   3N1AB7AP8JY300480   Nissan       SENTRA              TAMPA                     FL
87574   3N1AB7AP8JY300561   Nissan       SENTRA              Torrance                  CA
87575   3N1AB7AP8JY300706   Nissan       SENTRA              Elkridge                  MD
87576   3N1AB7AP8JY300768   Nissan       SENTRA              Elkridge                  MD
87577   3N1AB7AP8JY300883   Nissan       SENTRA              PHILADELPHIA              PA
87578   3N1AB7AP8JY301032   Nissan       SENTRA              Torrance                  CA
87579   3N1AB7AP8JY301080   Nissan       SENTRA              Florissant                MO
87580   3N1AB7AP8JY301547   Nissan       SENTRA              Baltimore                 MD
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87581   3N1AB7AP8JY301595   Nissan       SENTRA              FOND DU LAC               WI
87582   3N1AB7AP8JY301659   Nissan       SENTRA              Sacramento                CA
87583   3N1AB7AP8JY302245   Nissan       SENTRA              RALEIGH                   NC
87584   3N1AB7AP8JY302388   Nissan       SENTRA              Detroit                   MI
87585   3N1AB7AP8JY302603   Nissan       SENTRA              Elkridge                  MD
87586   3N1AB7AP8JY302701   Nissan       SENTRA              Matteson                  IL
87587   3N1AB7AP8JY304707   Nissan       SENTRA              Denver                    CO
87588   3N1AB7AP8JY305484   Nissan       SENTRA              NORTH PAC                 CA
87589   3N1AB7AP8JY308577   Nissan       SENTRA              PLEASANTON                CA
87590   3N1AB7AP8JY309017   Nissan       SENTRA              COLUMBUS                  OH
87591   3N1AB7AP8JY309129   Nissan       SENTRA              Burien                    WA
87592   3N1AB7AP8JY309230   Nissan       SENTRA              Ventura                   CA
87593   3N1AB7AP8JY309308   Nissan       SENTRA              DENVER                    CO
87594   3N1AB7AP8JY309406   Nissan       SENTRA              BURBANK                   CA
87595   3N1AB7AP8JY309616   Nissan       SENTRA              WEST PALM BEACH           FL
87596   3N1AB7AP8JY309633   Nissan       SENTRA              PHOENIX                   AZ
87597   3N1AB7AP8JY309941   Nissan       SENTRA              LAS VEGAS                 NV
87598   3N1AB7AP8JY310894   Nissan       SENTRA              Winter Park               FL
87599   3N1AB7AP8JY311026   Nissan       SENTRA              FRESNO                    CA
87600   3N1AB7AP8JY311236   Nissan       SENTRA              SANTA CLARA               CA
87601   3N1AB7AP8JY311348   Nissan       SENTRA              Phoenix                   AZ
87602   3N1AB7AP8JY311463   Nissan       SENTRA              MARIETTA                  GA
87603   3N1AB7AP8JY311477   Nissan       SENTRA              Hamilton                  OH
87604   3N1AB7AP8JY312788   Nissan       SENTRA              Chandler                  AZ
87605   3N1AB7AP8JY313116   Nissan       SENTRA              SACRAMENTO                CA
87606   3N1AB7AP8JY313519   Nissan       SENTRA              ATLANTA                   GA
87607   3N1AB7AP8JY313570   Nissan       SENTRA              LOS ANGELES               CA
87608   3N1AB7AP8JY313617   Nissan       SENTRA              PHOENIX                   AZ
87609   3N1AB7AP8JY313679   Nissan       SENTRA              LOS ANGELES               CA
87610   3N1AB7AP8JY313925   Nissan       SENTRA              Denver                    CO
87611   3N1AB7AP8JY314122   Nissan       SENTRA              SAN JOSE                  CA
87612   3N1AB7AP8JY314136   Nissan       SENTRA              Ventura                   CA
87613   3N1AB7AP8JY314413   Nissan       SENTRA              FORT MYERS                FL
87614   3N1AB7AP8JY314671   Nissan       SENTRA              Los Angeles               CA
87615   3N1AB7AP8JY314752   Nissan       SENTRA              NEW BERN                  NC
87616   3N1AB7AP8JY314895   Nissan       SENTRA              Houston                   TX
87617   3N1AB7AP8JY314900   Nissan       SENTRA              PHILADELPHIA              PA
87618   3N1AB7AP8JY315058   Nissan       SENTRA              SACRAMENTO                CA
87619   3N1AB7AP8JY315173   Nissan       SENTRA              BURBANK                   CA
87620   3N1AB7AP8JY315285   Nissan       SENTRA              COSTA MESA                CA
87621   3N1AB7AP8JY324343   Nissan       SENTRA              SAINT PAUL                MN
87622   3N1AB7AP8JY324519   Nissan       SENTRA              TAMPA                     FL
87623   3N1AB7AP8JY324679   Nissan       SENTRA              Denver                    CO
87624   3N1AB7AP8JY324763   Nissan       SENTRA              SANFORD                   FL
87625   3N1AB7AP8JY325458   Nissan       SENTRA              CHARLESTON                WV
87626   3N1AB7AP8JY325489   Nissan       SENTRA              BURBANK                   CA
87627   3N1AB7AP8JY325637   Nissan       SENTRA              NAPLES                    FL
87628   3N1AB7AP8JY326030   Nissan       SENTRA              Stockton                  CA
87629   3N1AB7AP8JY326187   Nissan       SENTRA              San Antonio               TX
87630   3N1AB7AP8JY326299   Nissan       SENTRA              INDIANAPOLIS              IN
87631   3N1AB7AP8JY326495   Nissan       SENTRA              BOSTON                    MA
87632   3N1AB7AP8JY326660   Nissan       SENTRA              Orlando                   FL
87633   3N1AB7AP8JY326853   Nissan       SENTRA              Newark                    NJ
87634   3N1AB7AP8JY327016   Nissan       SENTRA              Fredericksburg            VA
87635   3N1AB7AP8JY327159   Nissan       SENTRA              Los Angeles               CA
87636   3N1AB7AP8JY327534   Nissan       SENTRA              SAINT PAUL                MN
87637   3N1AB7AP8JY327646   Nissan       SENTRA              CHICAGO                   IL
87638   3N1AB7AP8JY327811   Nissan       SENTRA              Nashville                 TN
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87639   3N1AB7AP8JY327887   Nissan       SENTRA              Woodhaven                 MI
87640   3N1AB7AP8JY328005   Nissan       SENTRA              FT LAUDERDALE             FL
87641   3N1AB7AP8JY328036   Nissan       SENTRA              SAN ANTONIO               TX
87642   3N1AB7AP8JY328103   Nissan       SENTRA              MEDINA                    OH
87643   3N1AB7AP8JY328277   Nissan       SENTRA              CLARKSVILLE               IN
87644   3N1AB7AP8JY328280   Nissan       SENTRA              Hebron                    KY
87645   3N1AB7AP8JY328683   Nissan       SENTRA              Stockton                  CA
87646   3N1AB7AP8JY328828   Nissan       SENTRA              Elgin                     IL
87647   3N1AB7AP8JY328876   Nissan       SENTRA              NEW YORK CITY             NY
87648   3N1AB7AP8JY328893   Nissan       SENTRA              Roseville                 CA
87649   3N1AB7AP8JY328957   Nissan       SENTRA              TRACY                     CA
87650   3N1AB7AP8JY329574   Nissan       SENTRA              BURBANK                   CA
87651   3N1AB7AP8JY329607   Nissan       SENTRA              BURBANK                   CA
87652   3N1AB7AP8JY329672   Nissan       SENTRA              Tustin                    CA
87653   3N1AB7AP8JY329798   Nissan       SENTRA              SANTA ANA                 CA
87654   3N1AB7AP8JY330448   Nissan       SENTRA              SALT LAKE CITY            UT
87655   3N1AB7AP8JY330630   Nissan       SENTRA              FORT MYERS                FL
87656   3N1AB7AP8JY330823   Nissan       SENTRA              KNOXVILLE                 TN
87657   3N1AB7AP8JY330854   Nissan       SENTRA              LOS ANGELES               CA
87658   3N1AB7AP8JY331020   Nissan       SENTRA              WEST PALM BEACH           FL
87659   3N1AB7AP8JY331129   Nissan       SENTRA              NORTH PAC                 CA
87660   3N1AB7AP8JY331308   Nissan       SENTRA              PHILADELPHIA              PA
87661   3N1AB7AP8JY331356   Nissan       SENTRA              ROSEVILLE                 CA
87662   3N1AB7AP8JY331616   Nissan       SENTRA              WICHITA FALLS             TX
87663   3N1AB7AP8JY331888   Nissan       SENTRA              BURBANK                   CA
87664   3N1AB7AP8JY331955   Nissan       SENTRA              WHITE PLAINS              NY
87665   3N1AB7AP8JY332071   Nissan       SENTRA              HILO                      HI
87666   3N1AB7AP8JY332264   Nissan       SENTRA              LIHUE                     HI
87667   3N1AB7AP8KL603158   Nissan       SENTRA              Fresno                    CA
87668   3N1AB7AP8KY240640   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
87669   3N1AB7AP8KY241366   Nissan       SENTRA              BALTIMORE                 MD
87670   3N1AB7AP8KY241514   Nissan       SENTRA              Nashville                 TN
87671   3N1AB7AP8KY242582   Nissan       SENTRA              ROSWELL                   GA
87672   3N1AB7AP8KY242985   Nissan       SENTRA              TAMPA                     FL
87673   3N1AB7AP8KY243473   Nissan       SENTRA              TUCSON                    AZ
87674   3N1AB7AP8KY243974   Nissan       SENTRA              San Antonio               TX
87675   3N1AB7AP8KY244123   Nissan       SENTRA              Ventura                   CA
87676   3N1AB7AP8KY244283   Nissan       SENTRA              San Diego                 CA
87677   3N1AB7AP8KY244333   Nissan       SENTRA              SANTA ANA                 CA
87678   3N1AB7AP8KY244381   Nissan       SENTRA              SAN FRANCISCO             CA
87679   3N1AB7AP8KY244879   Nissan       SENTRA              HILO                      HI
87680   3N1AB7AP8KY244915   Nissan       SENTRA              KAILUA KONA               HI
87681   3N1AB7AP8KY245045   Nissan       SENTRA              HILO                      HI
87682   3N1AB7AP8KY245093   Nissan       SENTRA              KALAOA                    HI
87683   3N1AB7AP8KY268549   Nissan       SENTRA              KAILUA KONA               HI
87684   3N1AB7AP8KY269524   Nissan       SENTRA              KAILUA‐KONA               HI
87685   3N1AB7AP8KY269863   Nissan       SENTRA              HILO                      HI
87686   3N1AB7AP8KY289918   Nissan       SENTRA              PORTLAND                  OR
87687   3N1AB7AP8KY295394   Nissan       SENTRA              ATLANTA                   GA
87688   3N1AB7AP8KY296206   Nissan       SENTRA              Jamaica                   NY
87689   3N1AB7AP8KY298893   Nissan       SENTRA              Buffalo                   NY
87690   3N1AB7AP8KY300352   Nissan       SENTRA              LOS ANGELES               CA
87691   3N1AB7AP8KY300710   Nissan       SENTRA              Austell                   GA
87692   3N1AB7AP8KY301131   Nissan       SENTRA              Atlanta                   GA
87693   3N1AB7AP8KY301257   Nissan       SENTRA              Ventura                   CA
87694   3N1AB7AP8KY301565   Nissan       SENTRA              Baltimore                 MD
87695   3N1AB7AP8KY301890   Nissan       SENTRA              Oklahoma City             OK
87696   3N1AB7AP8KY302277   Nissan       SENTRA              San Diego                 CA
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87697   3N1AB7AP8KY303638   Nissan       SENTRA              Slidell                   LA
87698   3N1AB7AP8KY303798   Nissan       SENTRA              ORLANDO                   FL
87699   3N1AB7AP8KY303915   Nissan       SENTRA              FULLERTON                 CA
87700   3N1AB7AP8KY305101   Nissan       SENTRA              TULSA                     OK
87701   3N1AB7AP8KY305129   Nissan       SENTRA              BURBANK                   CA
87702   3N1AB7AP8KY305289   Nissan       SENTRA              Estero                    FL
87703   3N1AB7AP8KY305406   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
87704   3N1AB7AP8KY306653   Nissan       SENTRA              Baltimore                 MD
87705   3N1AB7AP8KY308497   Nissan       SENTRA              Nashville                 TN
87706   3N1AB7AP8KY309228   Nissan       SENTRA              DALLAS                    TX
87707   3N1AB7AP8KY310573   Nissan       SENTRA              NEWARK                    NJ
87708   3N1AB7AP8KY310637   Nissan       SENTRA              Buffalo                   NY
87709   3N1AB7AP8KY310833   Nissan       SENTRA              St. Louis                 MO
87710   3N1AB7AP8KY311805   Nissan       SENTRA              St. Louis                 MO
87711   3N1AB7AP8KY312338   Nissan       SENTRA              SACRAMENTO                CA
87712   3N1AB7AP8KY313571   Nissan       SENTRA              PHOENIX                   AZ
87713   3N1AB7AP8KY315921   Nissan       SENTRA              PHOENIX                   AZ
87714   3N1AB7AP8KY316020   Nissan       SENTRA              NEW YORK CITY             NY
87715   3N1AB7AP8KY316311   Nissan       SENTRA              Las Vegas                 NV
87716   3N1AB7AP8KY316700   Nissan       SENTRA              COLUMBIA                  SC
87717   3N1AB7AP8KY316888   Nissan       SENTRA              Los Angeles               CA
87718   3N1AB7AP8KY317085   Nissan       SENTRA              Baltimore                 MD
87719   3N1AB7AP8KY317328   Nissan       SENTRA              SACRAMENTO                CA
87720   3N1AB7AP8KY319631   Nissan       SENTRA              LOS ANGELES               CA
87721   3N1AB7AP8KY319709   Nissan       SENTRA              HARRISBURG                PA
87722   3N1AB7AP8KY321850   Nissan       SENTRA              COLUMBUS                  OH
87723   3N1AB7AP8KY322061   Nissan       SENTRA              Pittsburgh                PA
87724   3N1AB7AP8KY324392   Nissan       SENTRA              Charlotte                 NC
87725   3N1AB7AP8KY338891   Nissan       SENTRA              MEDINA                    OH
87726   3N1AB7AP8KY339118   Nissan       SENTRA              Syracuse                  NY
87727   3N1AB7AP8KY339250   Nissan       SENTRA              Dallas                    TX
87728   3N1AB7AP8KY340463   Nissan       SENTRA              MONTGOMERY                AL
87729   3N1AB7AP8KY340978   Nissan       SENTRA              DALLAS                    TX
87730   3N1AB7AP8KY342133   Nissan       SENTRA              FEDERAL WAY               WA
87731   3N1AB7AP8KY343475   Nissan       SENTRA              Los Angeles               CA
87732   3N1AB7AP8KY345100   Nissan       SENTRA              ONTARIO                   CA
87733   3N1AB7AP8KY351107   Nissan       SENTRA              FORT LAUDERDALE           FL
87734   3N1AB7AP8KY352824   Nissan       SENTRA              North Billerica           MA
87735   3N1AB7AP8KY353200   Nissan       SENTRA              COLUMBIA                  SC
87736   3N1AB7AP8KY353262   Nissan       SENTRA              Newark                    NJ
87737   3N1AB7AP8KY353665   Nissan       SENTRA              Hapeville                 GA
87738   3N1AB7AP8KY354279   Nissan       SENTRA              Jamaica                   NY
87739   3N1AB7AP8KY364651   Nissan       SENTRA              SAN ANTONIO               TX
87740   3N1AB7AP8KY365041   Nissan       SENTRA              Statesville               NC
87741   3N1AB7AP9GY279485   Nissan       SENTRA              MINNEAPOLIS               US
87742   3N1AB7AP9HL682025   Nissan       SENTRA              Chicago                   IL
87743   3N1AB7AP9HL686687   Nissan       SENTRA              PHILADELPHIA              PA
87744   3N1AB7AP9HL693137   Nissan       SENTRA              HANOVER                   MD
87745   3N1AB7AP9HL694563   Nissan       SENTRA              CHICAGO                   IL
87746   3N1AB7AP9HL694742   Nissan       SENTRA              ATLANTA AP                GA
87747   3N1AB7AP9HL696037   Nissan       SENTRA              CHICAGO                   IL
87748   3N1AB7AP9HL696040   Nissan       SENTRA              NORTH PAC                 CA
87749   3N1AB7AP9HL696085   Nissan       SENTRA              STERLING                  VA
87750   3N1AB7AP9HL696099   Nissan       SENTRA              ATLANTA                   GA
87751   3N1AB7AP9HL696331   Nissan       SENTRA              Los Angeles               CA
87752   3N1AB7AP9HL698399   Nissan       SENTRA              SAN DIEGO                 CA
87753   3N1AB7AP9HL698922   Nissan       SENTRA              NORTH PAC                 CA
87754   3N1AB7AP9HY252885   Nissan       SENTRA              FORT MYERS                FL
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87755   3N1AB7AP9HY270805   Nissan       SENTRA              Fort Lauderdale           FL
87756   3N1AB7AP9HY271372   Nissan       SENTRA              Lynn                      MA
87757   3N1AB7AP9HY282310   Nissan       SENTRA              BURBANK                   CA
87758   3N1AB7AP9HY283263   Nissan       SENTRA              PHILADELPHIA              PA
87759   3N1AB7AP9HY292738   Nissan       SENTRA              CHICAGO                   IL
87760   3N1AB7AP9HY308386   Nissan       SENTRA              NEW ENGLAND DEALER        MA
87761   3N1AB7AP9HY308579   Nissan       SENTRA              BOSTON                    MA
87762   3N1AB7AP9HY308632   Nissan       SENTRA              Fredericksburg            VA
87763   3N1AB7AP9HY309425   Nissan       SENTRA              North Dighton             MA
87764   3N1AB7AP9HY309697   Nissan       SENTRA              HANOVER                   MD
87765   3N1AB7AP9HY310199   Nissan       SENTRA              NORTH PAC                 CA
87766   3N1AB7AP9HY310753   Nissan       SENTRA              Roseville                 CA
87767   3N1AB7AP9HY314043   Nissan       SENTRA              Fontana                   CA
87768   3N1AB7AP9HY314110   Nissan       SENTRA              Elkridge                  MD
87769   3N1AB7AP9HY314298   Nissan       SENTRA              SAN DIEGO                 CA
87770   3N1AB7AP9HY314530   Nissan       SENTRA              Elkridge                  MD
87771   3N1AB7AP9HY315676   Nissan       SENTRA              Fredericksburg            VA
87772   3N1AB7AP9HY318819   Nissan       SENTRA              Norwalk                   CA
87773   3N1AB7AP9HY320876   Nissan       SENTRA              PLEASANTON                CA
87774   3N1AB7AP9HY324149   Nissan       SENTRA              HANOVER                   MD
87775   3N1AB7AP9HY324393   Nissan       SENTRA              NEW ENGLAND DEALER        MA
87776   3N1AB7AP9HY325253   Nissan       SENTRA              North Dighton             MA
87777   3N1AB7AP9HY325964   Nissan       SENTRA              Elkridge                  MD
87778   3N1AB7AP9HY327150   Nissan       SENTRA              Baltimore                 MD
87779   3N1AB7AP9HY328685   Nissan       SENTRA              KNOXVILLE                 TN
87780   3N1AB7AP9HY328993   Nissan       SENTRA              North Dighton             MA
87781   3N1AB7AP9HY329304   Nissan       SENTRA              Johnston                  RI
87782   3N1AB7AP9HY331554   Nissan       SENTRA              Tampa                     FL
87783   3N1AB7AP9HY331800   Nissan       SENTRA              NORTH PAC                 CA
87784   3N1AB7AP9HY332543   Nissan       SENTRA              NORTH PAC                 CA
87785   3N1AB7AP9HY335958   Nissan       SENTRA              HANOVER                   MD
87786   3N1AB7AP9HY337113   Nissan       SENTRA              NOTTINGHAM                MD
87787   3N1AB7AP9HY338763   Nissan       SENTRA              Lake Elsinore             CA
87788   3N1AB7AP9HY340075   Nissan       SENTRA              LOS ANGELES               CA
87789   3N1AB7AP9HY343204   Nissan       SENTRA              LOS ANGELES               CA
87790   3N1AB7AP9HY344093   Nissan       SENTRA              LOS ANGELES               CA
87791   3N1AB7AP9HY344577   Nissan       SENTRA              Fredericksburg            VA
87792   3N1AB7AP9HY345423   Nissan       SENTRA              Fontana                   CA
87793   3N1AB7AP9HY345728   Nissan       SENTRA              COLLEGE PARK              GA
87794   3N1AB7AP9HY346720   Nissan       SENTRA              LOS ANGELES               CA
87795   3N1AB7AP9HY350783   Nissan       SENTRA              Slidell                   LA
87796   3N1AB7AP9HY351626   Nissan       SENTRA              Lexington                 KY
87797   3N1AB7AP9HY351853   Nissan       SENTRA              Davie                     FL
87798   3N1AB7AP9HY353084   Nissan       SENTRA              LOS ANGELES               CA
87799   3N1AB7AP9HY353361   Nissan       SENTRA              CENTRAL DIST OFFC         OK
87800   3N1AB7AP9HY356258   Nissan       SENTRA              BURBANK                   CA
87801   3N1AB7AP9HY356907   Nissan       SENTRA              BURBANK                   CA
87802   3N1AB7AP9HY359063   Nissan       SENTRA              BURBANK                   CA
87803   3N1AB7AP9HY360763   Nissan       SENTRA              Matteson                  IL
87804   3N1AB7AP9HY363274   Nissan       SENTRA              CHICAGO                   IL
87805   3N1AB7AP9JL619285   Nissan       SENTRA              North Billerica           MA
87806   3N1AB7AP9JL625054   Nissan       SENTRA              Matteson                  IL
87807   3N1AB7AP9JY203918   Nissan       SENTRA              Marietta                  GA
87808   3N1AB7AP9JY214286   Nissan       SENTRA              STERLING                  VA
87809   3N1AB7AP9JY238944   Nissan       SENTRA              Hilo                      HI
87810   3N1AB7AP9JY240368   Nissan       SENTRA              DANIA BEACH               FL
87811   3N1AB7AP9JY240595   Nissan       SENTRA              Atlanta                   GA
87812   3N1AB7AP9JY241620   Nissan       SENTRA              Tolleson                  AZ
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87813   3N1AB7AP9JY242105   Nissan       SENTRA              Elkridge                  MD
87814   3N1AB7AP9JY242525   Nissan       SENTRA              Kent                      WA
87815   3N1AB7AP9JY242783   Nissan       SENTRA              LOS ANGELES               CA
87816   3N1AB7AP9JY242816   Nissan       SENTRA              LAS VEGAS                 NV
87817   3N1AB7AP9JY243108   Nissan       SENTRA              N. Palm Beach             FL
87818   3N1AB7AP9JY243285   Nissan       SENTRA              BURBANK                   CA
87819   3N1AB7AP9JY243545   Nissan       SENTRA              Burien                    WA
87820   3N1AB7AP9JY243626   Nissan       SENTRA              HARVEY                    LA
87821   3N1AB7AP9JY243688   Nissan       SENTRA              BURBANK                   CA
87822   3N1AB7AP9JY243805   Nissan       SENTRA              TRACY                     CA
87823   3N1AB7AP9JY243898   Nissan       SENTRA              SANTA ANA                 CA
87824   3N1AB7AP9JY244016   Nissan       SENTRA              GLEN BURNIE               MD
87825   3N1AB7AP9JY244307   Nissan       SENTRA              Hamilton                  OH
87826   3N1AB7AP9JY244372   Nissan       SENTRA              Tolleson                  AZ
87827   3N1AB7AP9JY244405   Nissan       SENTRA              STERLING                  VA
87828   3N1AB7AP9JY244453   Nissan       SENTRA              LAS VEGAS                 NV
87829   3N1AB7AP9JY244498   Nissan       SENTRA              BURBANK                   CA
87830   3N1AB7AP9JY244534   Nissan       SENTRA              BURBANK                   CA
87831   3N1AB7AP9JY244615   Nissan       SENTRA              Mira Loma                 CA
87832   3N1AB7AP9JY244694   Nissan       SENTRA              Kahului                   HI
87833   3N1AB7AP9JY244792   Nissan       SENTRA              BURBANK                   CA
87834   3N1AB7AP9JY244839   Nissan       SENTRA              NORTH PAC                 CA
87835   3N1AB7AP9JY244971   Nissan       SENTRA              BURBANK                   CA
87836   3N1AB7AP9JY245005   Nissan       SENTRA              COLLEGE PARK              GA
87837   3N1AB7AP9JY245232   Nissan       SENTRA              BURBANK                   CA
87838   3N1AB7AP9JY245537   Nissan       SENTRA              SANTA ANA                 CA
87839   3N1AB7AP9JY245618   Nissan       SENTRA              PHILADELPHIA              PA
87840   3N1AB7AP9JY246154   Nissan       SENTRA              NORTH PAC                 CA
87841   3N1AB7AP9JY246431   Nissan       SENTRA              NORTH PAC                 CA
87842   3N1AB7AP9JY246610   Nissan       SENTRA              BURBANK                   CA
87843   3N1AB7AP9JY246624   Nissan       SENTRA              SALT LAKE CITY            UT
87844   3N1AB7AP9JY246963   Nissan       SENTRA              Mt. Juliet                TN
87845   3N1AB7AP9JY247188   Nissan       SENTRA              SOUTHWEST DEALER D        TX
87846   3N1AB7AP9JY247515   Nissan       SENTRA              Indianapolis              IN
87847   3N1AB7AP9JY248129   Nissan       SENTRA              SAN DIEGO                 CA
87848   3N1AB7AP9JY248132   Nissan       SENTRA              TRACY                     CA
87849   3N1AB7AP9JY248194   Nissan       SENTRA              Salt Lake City            UT
87850   3N1AB7AP9JY249877   Nissan       SENTRA              LOS ANGELES               CA
87851   3N1AB7AP9JY251936   Nissan       SENTRA              SAN FRANCISCO             CA
87852   3N1AB7AP9JY252004   Nissan       SENTRA              DES MOINES                IA
87853   3N1AB7AP9JY252245   Nissan       SENTRA              Maple Grove               MN
87854   3N1AB7AP9JY252648   Nissan       SENTRA              AUSTIN                    TX
87855   3N1AB7AP9JY253119   Nissan       SENTRA              SAN FRANCISCO             CA
87856   3N1AB7AP9JY253248   Nissan       SENTRA              Chicago                   IL
87857   3N1AB7AP9JY253492   Nissan       SENTRA              Atlanta                   GA
87858   3N1AB7AP9JY253721   Nissan       SENTRA              SOUTHWEST DEALER D        TX
87859   3N1AB7AP9JY253847   Nissan       SENTRA              FT. LAUDERDALE            FL
87860   3N1AB7AP9JY253864   Nissan       SENTRA              N. Palm Beach             FL
87861   3N1AB7AP9JY253900   Nissan       SENTRA              WEST PALM BEACH           FL
87862   3N1AB7AP9JY254075   Nissan       SENTRA              SEATAC                    WA
87863   3N1AB7AP9JY254089   Nissan       SENTRA              NEW YORK CITY             NY
87864   3N1AB7AP9JY254481   Nissan       SENTRA              Miami                     FL
87865   3N1AB7AP9JY254626   Nissan       SENTRA              SAN FRANCISCO             CA
87866   3N1AB7AP9JY254674   Nissan       SENTRA              Fort Lauderdale           FL
87867   3N1AB7AP9JY254819   Nissan       SENTRA              COLLEGE PARK              GA
87868   3N1AB7AP9JY255341   Nissan       SENTRA              ST PAUL                   MN
87869   3N1AB7AP9JY255498   Nissan       SENTRA              North Las Vegas           NV
87870   3N1AB7AP9JY255694   Nissan       SENTRA              NORTH PAC                 CA
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87871   3N1AB7AP9JY255789   Nissan       SENTRA              LAS VEGAS                 NV
87872   3N1AB7AP9JY256117   Nissan       SENTRA              ALBUQUERQUE               NM
87873   3N1AB7AP9JY256506   Nissan       SENTRA              BURBANK                   CA
87874   3N1AB7AP9JY258224   Nissan       SENTRA              Newport Beach             CA
87875   3N1AB7AP9JY258515   Nissan       SENTRA              SEATAC                    WA
87876   3N1AB7AP9JY259406   Nissan       SENTRA              BURBANK                   CA
87877   3N1AB7AP9JY259633   Nissan       SENTRA              Scottsdale                AZ
87878   3N1AB7AP9JY260488   Nissan       SENTRA              BURBANK                   CA
87879   3N1AB7AP9JY260930   Nissan       SENTRA              BURBANK                   CA
87880   3N1AB7AP9JY261480   Nissan       SENTRA              BURBANK                   CA
87881   3N1AB7AP9JY261513   Nissan       SENTRA              NORTH PAC                 CA
87882   3N1AB7AP9JY263150   Nissan       SENTRA              SEATAC                    WA
87883   3N1AB7AP9JY263620   Nissan       SENTRA              Fontana                   CA
87884   3N1AB7AP9JY263861   Nissan       SENTRA              San Diego                 CA
87885   3N1AB7AP9JY263987   Nissan       SENTRA              NORTH PAC                 CA
87886   3N1AB7AP9JY264864   Nissan       SENTRA              Tampa                     FL
87887   3N1AB7AP9JY265934   Nissan       SENTRA              Salt Lake City            UT
87888   3N1AB7AP9JY266100   Nissan       SENTRA              LAS VEGAS                 NV
87889   3N1AB7AP9JY266324   Nissan       SENTRA
87890   3N1AB7AP9JY266341   Nissan       SENTRA              Torrance                  CA
87891   3N1AB7AP9JY266436   Nissan       SENTRA              CHICAGO                   IL
87892   3N1AB7AP9JY266470   Nissan       SENTRA              NORTH PAC                 CA
87893   3N1AB7AP9JY266632   Nissan       SENTRA              Hayward                   CA
87894   3N1AB7AP9JY266825   Nissan       SENTRA              Phoenix                   AZ
87895   3N1AB7AP9JY266873   Nissan       SENTRA              CLEARWATER                FL
87896   3N1AB7AP9JY266923   Nissan       SENTRA              MEDINA                    OH
87897   3N1AB7AP9JY266954   Nissan       SENTRA              TAMPA                     FL
87898   3N1AB7AP9JY267084   Nissan       SENTRA              Grove City                OH
87899   3N1AB7AP9JY267179   Nissan       SENTRA              NEW ENGLAND DEALER        MA
87900   3N1AB7AP9JY267263   Nissan       SENTRA              Tampa                     FL
87901   3N1AB7AP9JY267490   Nissan       SENTRA              PHOENIX                   AZ
87902   3N1AB7AP9JY267621   Nissan       SENTRA              NORTH HOLLYWOOD           CA
87903   3N1AB7AP9JY267635   Nissan       SENTRA              Norwalk                   CA
87904   3N1AB7AP9JY267750   Nissan       SENTRA              NORTH PAC                 CA
87905   3N1AB7AP9JY267800   Nissan       SENTRA              SAN DIEGO                 CA
87906   3N1AB7AP9JY267862   Nissan       SENTRA              Torrance                  CA
87907   3N1AB7AP9JY267926   Nissan       SENTRA              Harvey                    LA
87908   3N1AB7AP9JY269577   Nissan       SENTRA              HANOVER                   MD
87909   3N1AB7AP9JY269613   Nissan       SENTRA              Phoenix                   AZ
87910   3N1AB7AP9JY269773   Nissan       SENTRA              BURBANK                   CA
87911   3N1AB7AP9JY270177   Nissan       SENTRA              DES MOINES                IA
87912   3N1AB7AP9JY270938   Nissan       SENTRA              Atlanta                   GA
87913   3N1AB7AP9JY271488   Nissan       SENTRA              NEW ORLEANS               LA
87914   3N1AB7AP9JY272026   Nissan       SENTRA              DES MOINES                IA
87915   3N1AB7AP9JY272155   Nissan       SENTRA              COLUMBIA                  SC
87916   3N1AB7AP9JY273001   Nissan       SENTRA              Elkridge                  MD
87917   3N1AB7AP9JY273581   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
87918   3N1AB7AP9JY273886   Nissan       SENTRA              MARIETTA                  GA
87919   3N1AB7AP9JY274097   Nissan       SENTRA              LAS VEGAS                 NV
87920   3N1AB7AP9JY274293   Nissan       SENTRA              Dallas                    TX
87921   3N1AB7AP9JY274570   Nissan       SENTRA              BIRMINGHAN                AL
87922   3N1AB7AP9JY274729   Nissan       SENTRA              STERLING                  VA
87923   3N1AB7AP9JY274892   Nissan       SENTRA              DAYTONA BEACH             FL
87924   3N1AB7AP9JY274956   Nissan       SENTRA              SANTA ANA                 CA
87925   3N1AB7AP9JY275007   Nissan       SENTRA              Atlanta                   GA
87926   3N1AB7AP9JY275041   Nissan       SENTRA              KNOXVILLE                 TN
87927   3N1AB7AP9JY275198   Nissan       SENTRA              Los Angeles               CA
87928   3N1AB7AP9JY275203   Nissan       SENTRA              RALEIGH                   NC
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87929   3N1AB7AP9JY275301   Nissan       SENTRA              MORROW                    GA
87930   3N1AB7AP9JY275394   Nissan       SENTRA              SAN FRANCISCO             CA
87931   3N1AB7AP9JY275458   Nissan       SENTRA              Winter Park               FL
87932   3N1AB7AP9JY275654   Nissan       SENTRA              PHILADELPHIA              PA
87933   3N1AB7AP9JY275704   Nissan       SENTRA              WEST CENTRAL DEALE        CO
87934   3N1AB7AP9JY275847   Nissan       SENTRA              Las Vegas                 NV
87935   3N1AB7AP9JY276237   Nissan       SENTRA              CLEVELAND                 OH
87936   3N1AB7AP9JY276335   Nissan       SENTRA              CHICAGO                   IL
87937   3N1AB7AP9JY276352   Nissan       SENTRA              North Dighton             MA
87938   3N1AB7AP9JY276464   Nissan       SENTRA              SARASOTA                  FL
87939   3N1AB7AP9JY276531   Nissan       SENTRA              Tustin                    CA
87940   3N1AB7AP9JY276660   Nissan       SENTRA              MADISON                   AL
87941   3N1AB7AP9JY276738   Nissan       SENTRA              LOS ANGELES               CA
87942   3N1AB7AP9JY276772   Nissan       SENTRA              NORTH PAC                 CA
87943   3N1AB7AP9JY276867   Nissan       SENTRA              BURBANK                   CA
87944   3N1AB7AP9JY277095   Nissan       SENTRA              ORLANDO                   FL
87945   3N1AB7AP9JY277176   Nissan       SENTRA              CHICAGO                   IL
87946   3N1AB7AP9JY277405   Nissan       SENTRA              SANTA ANA                 CA
87947   3N1AB7AP9JY277503   Nissan       SENTRA              NORTH PAC                 CA
87948   3N1AB7AP9JY277632   Nissan       SENTRA              SAN FRANCISCO             CA
87949   3N1AB7AP9JY277808   Nissan       SENTRA              BURBANK                   CA
87950   3N1AB7AP9JY277811   Nissan       SENTRA              DENVER                    CO
87951   3N1AB7AP9JY277856   Nissan       SENTRA              Englewood                 CO
87952   3N1AB7AP9JY278828   Nissan       SENTRA              Manheim                   PA
87953   3N1AB7AP9JY279364   Nissan       SENTRA              Hayward                   CA
87954   3N1AB7AP9JY279509   Nissan       SENTRA              Tampa                     FL
87955   3N1AB7AP9JY279557   Nissan       SENTRA              NORTH PAC                 CA
87956   3N1AB7AP9JY279591   Nissan       SENTRA              Atlanta                   GA
87957   3N1AB7AP9JY279610   Nissan       SENTRA              BURBANK                   CA
87958   3N1AB7AP9JY279753   Nissan       SENTRA              DANIA BEACH               FL
87959   3N1AB7AP9JY279896   Nissan       SENTRA              BURBANK                   CA
87960   3N1AB7AP9JY279977   Nissan       SENTRA              NORTH PAC                 CA
87961   3N1AB7AP9JY280241   Nissan       SENTRA              PHOENIX                   AZ
87962   3N1AB7AP9JY280675   Nissan       SENTRA              SALT LAKE CITY            US
87963   3N1AB7AP9JY280952   Nissan       SENTRA              PHOENIX                   AZ
87964   3N1AB7AP9JY281096   Nissan       SENTRA              CHICAGO                   IL
87965   3N1AB7AP9JY281292   Nissan       SENTRA              Statesville               NC
87966   3N1AB7AP9JY281566   Nissan       SENTRA              Los Angeles               CA
87967   3N1AB7AP9JY281583   Nissan       SENTRA              Pasadena                  CA
87968   3N1AB7AP9JY281597   Nissan       SENTRA              Denver                    CO
87969   3N1AB7AP9JY282037   Nissan       SENTRA              DANIA BEACH               FL
87970   3N1AB7AP9JY282295   Nissan       SENTRA              CHANDLER                  AZ
87971   3N1AB7AP9JY282846   Nissan       SENTRA              SARASOTA                  FL
87972   3N1AB7AP9JY283415   Nissan       SENTRA              SOUTH BEND                IN
87973   3N1AB7AP9JY283799   Nissan       SENTRA              BURBANK                   CA
87974   3N1AB7AP9JY283897   Nissan       SENTRA              Atlanta                   GA
87975   3N1AB7AP9JY284533   Nissan       SENTRA              BURBANK                   CA
87976   3N1AB7AP9JY284855   Nissan       SENTRA              COLLEGE PARK              GA
87977   3N1AB7AP9JY285245   Nissan       SENTRA              NORTH PAC                 CA
87978   3N1AB7AP9JY285648   Nissan       SENTRA              TRACY                     CA
87979   3N1AB7AP9JY286072   Nissan       SENTRA              Woodhaven                 MI
87980   3N1AB7AP9JY286668   Nissan       SENTRA              WEST CENTRAL DEALE        CO
87981   3N1AB7AP9JY286721   Nissan       SENTRA              Irving                    TX
87982   3N1AB7AP9JY286797   Nissan       SENTRA              SPRINGFIELD               VA
87983   3N1AB7AP9JY286976   Nissan       SENTRA              CLEVELAND                 OH
87984   3N1AB7AP9JY287237   Nissan       SENTRA              Plainfield                IN
87985   3N1AB7AP9JY287514   Nissan       SENTRA              Woodhaven                 MI
87986   3N1AB7AP9JY287917   Nissan       SENTRA              SANFORD                   FL
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87987   3N1AB7AP9JY288002   Nissan       SENTRA              NEW YORK DEALER DI        NJ
87988   3N1AB7AP9JY288095   Nissan       SENTRA              DENVER                    CO
87989   3N1AB7AP9JY288498   Nissan       SENTRA              NORTH PAC                 CA
87990   3N1AB7AP9JY288579   Nissan       SENTRA              BURBANK                   CA
87991   3N1AB7AP9JY288730   Nissan       SENTRA              Morrisville               NC
87992   3N1AB7AP9JY289022   Nissan       SENTRA              Rock Hill                 SC
87993   3N1AB7AP9JY289151   Nissan       SENTRA              Webster                   NY
87994   3N1AB7AP9JY289196   Nissan       SENTRA              DAYTONA BEACH             FL
87995   3N1AB7AP9JY289215   Nissan       SENTRA              North Las Vegas           NV
87996   3N1AB7AP9JY289313   Nissan       SENTRA              COLLEGE PARK              GA
87997   3N1AB7AP9JY289540   Nissan       SENTRA              Elkridge                  MD
87998   3N1AB7AP9JY289778   Nissan       SENTRA              SANTA ANA                 CA
87999   3N1AB7AP9JY289781   Nissan       SENTRA              BRONX                     NY
88000   3N1AB7AP9JY289831   Nissan       SENTRA              BURBANK                   CA
88001   3N1AB7AP9JY290302   Nissan       SENTRA              Pensacola                 FL
88002   3N1AB7AP9JY290400   Nissan       SENTRA              Hamilton                  OH
88003   3N1AB7AP9JY290526   Nissan       SENTRA              CHICAGO                   IL
88004   3N1AB7AP9JY290719   Nissan       SENTRA              ORLANDO                   FL
88005   3N1AB7AP9JY290803   Nissan       SENTRA              Hartford                  CT
88006   3N1AB7AP9JY291143   Nissan       SENTRA              PHILADELPHIA              PA
88007   3N1AB7AP9JY291160   Nissan       SENTRA              DENVER                    CO
88008   3N1AB7AP9JY291191   Nissan       SENTRA              Phoenix                   AZ
88009   3N1AB7AP9JY291322   Nissan       SENTRA              CHICAGO                   IL
88010   3N1AB7AP9JY291465   Nissan       SENTRA              Florissant                MO
88011   3N1AB7AP9JY291613   Nissan       SENTRA              Tampa                     FL
88012   3N1AB7AP9JY291658   Nissan       SENTRA              CHANDLER                  AZ
88013   3N1AB7AP9JY291921   Nissan       SENTRA              NORTH PAC                 CA
88014   3N1AB7AP9JY292082   Nissan       SENTRA              CENTRAL DIST OFFC         OK
88015   3N1AB7AP9JY292180   Nissan       SENTRA              Rio Linda                 CA
88016   3N1AB7AP9JY292227   Nissan       SENTRA              NORTH PAC                 CA
88017   3N1AB7AP9JY292230   Nissan       SENTRA              WEST CENTRAL DEALE        CO
88018   3N1AB7AP9JY292888   Nissan       SENTRA              NORTH PAC                 CA
88019   3N1AB7AP9JY293040   Nissan       SENTRA              Pensacola                 FL
88020   3N1AB7AP9JY293054   Nissan       SENTRA              CENTRAL DIST OFFC         OK
88021   3N1AB7AP9JY293166   Nissan       SENTRA              DALLAS                    TX
88022   3N1AB7AP9JY293359   Nissan       SENTRA              HARVEY                    LA
88023   3N1AB7AP9JY293653   Nissan       SENTRA              SAN JOSE                  CA
88024   3N1AB7AP9JY293796   Nissan       SENTRA              NORTH PAC                 CA
88025   3N1AB7AP9JY293927   Nissan       SENTRA              LOS ANGELES               CA
88026   3N1AB7AP9JY294110   Nissan       SENTRA              Atlanta                   GA
88027   3N1AB7AP9JY294253   Nissan       SENTRA              NORTH PAC                 CA
88028   3N1AB7AP9JY294866   Nissan       SENTRA              Rockville Centr           NY
88029   3N1AB7AP9JY295502   Nissan       SENTRA              Grand Rapids              MI
88030   3N1AB7AP9JY295547   Nissan       SENTRA              DETROIT                   MI
88031   3N1AB7AP9JY296603   Nissan       SENTRA              Fredericksburg            VA
88032   3N1AB7AP9JY296889   Nissan       SENTRA              ROSEVILLE                 CA
88033   3N1AB7AP9JY296911   Nissan       SENTRA              Irving                    TX
88034   3N1AB7AP9JY297427   Nissan       SENTRA              NEW YORK CITY             NY
88035   3N1AB7AP9JY297492   Nissan       SENTRA              Denver                    CO
88036   3N1AB7AP9JY297752   Nissan       SENTRA              NORTH PAC                 CA
88037   3N1AB7AP9JY297976   Nissan       SENTRA              STERLING                  VA
88038   3N1AB7AP9JY298755   Nissan       SENTRA              Brighton                  CO
88039   3N1AB7AP9JY299064   Nissan       SENTRA              ATLANTA                   GA
88040   3N1AB7AP9JY299114   Nissan       SENTRA              LOS ANGELES               CA
88041   3N1AB7AP9JY299145   Nissan       SENTRA              BURBANK                   CA
88042   3N1AB7AP9JY299193   Nissan       SENTRA              LOS ANGELES               CA
88043   3N1AB7AP9JY299260   Nissan       SENTRA              Denver                    CO
88044   3N1AB7AP9JY299470   Nissan       SENTRA              NORTH PAC                 CA
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88045   3N1AB7AP9JY299548   Nissan       SENTRA              Slidell                   LA
88046   3N1AB7AP9JY299906   Nissan       SENTRA              SEATTLE                   WA
88047   3N1AB7AP9JY299985   Nissan       SENTRA              Grove City                OH
88048   3N1AB7AP9JY300052   Nissan       SENTRA              Charlotte                 NC
88049   3N1AB7AP9JY300097   Nissan       SENTRA              SAN JOSE                  CA
88050   3N1AB7AP9JY300147   Nissan       SENTRA              PHILADELPHIA              PA
88051   3N1AB7AP9JY300150   Nissan       SENTRA              INDIANAPOLIS              IN
88052   3N1AB7AP9JY300312   Nissan       SENTRA              BURBANK                   CA
88053   3N1AB7AP9JY300441   Nissan       SENTRA              KENNER                    LA
88054   3N1AB7AP9JY300682   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
88055   3N1AB7AP9JY300729   Nissan       SENTRA              STERLING                  VA
88056   3N1AB7AP9JY300939   Nissan       SENTRA              JACKSONVILLE              FL
88057   3N1AB7AP9JY301072   Nissan       SENTRA              COLUMBUS                  OH
88058   3N1AB7AP9JY301315   Nissan       SENTRA              EULESS                    TX
88059   3N1AB7AP9JY301590   Nissan       SENTRA              NEW ENGLAND DEALER        MA
88060   3N1AB7AP9JY301718   Nissan       SENTRA              PLEASANTON                CA
88061   3N1AB7AP9JY301878   Nissan       SENTRA              Charlotte                 NC
88062   3N1AB7AP9JY301931   Nissan       SENTRA              Tolleson                  AZ
88063   3N1AB7AP9JY302108   Nissan       SENTRA              ORLANDO                   FL
88064   3N1AB7AP9JY302254   Nissan       SENTRA              PHILADELPHIA              PA
88065   3N1AB7AP9JY302318   Nissan       SENTRA              BURBANK                   CA
88066   3N1AB7AP9JY302531   Nissan       SENTRA              Manheim                   PA
88067   3N1AB7AP9JY302643   Nissan       SENTRA              SAN DIEGO                 CA
88068   3N1AB7AP9JY304988   Nissan       SENTRA              BURBANK                   CA
88069   3N1AB7AP9JY308491   Nissan       SENTRA              WEST PALM BEACH           FL
88070   3N1AB7AP9JY308572   Nissan       SENTRA              Scottsdale                AZ
88071   3N1AB7AP9JY308586   Nissan       SENTRA              NORTH PAC                 CA
88072   3N1AB7AP9JY308958   Nissan       SENTRA              BALTIMORE                 MD
88073   3N1AB7AP9JY309091   Nissan       SENTRA              FORT MYERS                FL
88074   3N1AB7AP9JY309155   Nissan       SENTRA              STERLING                  VA
88075   3N1AB7AP9JY309284   Nissan       SENTRA              CHICAGO                   IL
88076   3N1AB7AP9JY309320   Nissan       SENTRA              Denver                    CO
88077   3N1AB7AP9JY309379   Nissan       SENTRA              LOS ANGELES               CA
88078   3N1AB7AP9JY309639   Nissan       SENTRA              BURBANK                   CA
88079   3N1AB7AP9JY310080   Nissan       SENTRA              NORTH PAC                 CA
88080   3N1AB7AP9JY310242   Nissan       SENTRA              NEW YORK CITY             NY
88081   3N1AB7AP9JY310502   Nissan       SENTRA              NEW BERN                  NC
88082   3N1AB7AP9JY310516   Nissan       SENTRA              Rock Hill                 SC
88083   3N1AB7AP9JY310533   Nissan       SENTRA              BOSTON                    MA
88084   3N1AB7AP9JY310712   Nissan       SENTRA              PITTSBURGH                PA
88085   3N1AB7AP9JY310872   Nissan       SENTRA              Ft. Myers                 FL
88086   3N1AB7AP9JY311035   Nissan       SENTRA              Mira Loma                 CA
88087   3N1AB7AP9JY311231   Nissan       SENTRA              Detroit                   MI
88088   3N1AB7AP9JY311620   Nissan       SENTRA              CHARLOTTE                 NC
88089   3N1AB7AP9JY311651   Nissan       SENTRA              NORTH PAC                 CA
88090   3N1AB7AP9JY311665   Nissan       SENTRA              Portland                  OR
88091   3N1AB7AP9JY311732   Nissan       SENTRA              SCHILLER PARK             IL
88092   3N1AB7AP9JY311844   Nissan       SENTRA              Elkridge                  MD
88093   3N1AB7AP9JY311973   Nissan       SENTRA              NORTH PAC                 CA
88094   3N1AB7AP9JY312105   Nissan       SENTRA              Elkridge                  MD
88095   3N1AB7AP9JY312380   Nissan       SENTRA              Clarksville               IN
88096   3N1AB7AP9JY312704   Nissan       SENTRA              PITTSBURGH                PA
88097   3N1AB7AP9JY312783   Nissan       SENTRA              BURBANK                   CA
88098   3N1AB7AP9JY312900   Nissan       SENTRA              Dallas                    TX
88099   3N1AB7AP9JY312931   Nissan       SENTRA              CHICAGO                   IL
88100   3N1AB7AP9JY313237   Nissan       SENTRA              Colorado Spring           CO
88101   3N1AB7AP9JY313335   Nissan       SENTRA              Kent                      WA
88102   3N1AB7AP9JY313657   Nissan       SENTRA              Englewood                 CO
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88103   3N1AB7AP9JY313979   Nissan       SENTRA              Roseville                 CA
88104   3N1AB7AP9JY314050   Nissan       SENTRA              Phoenix                   AZ
88105   3N1AB7AP9JY314355   Nissan       SENTRA              NORTH PAC                 CA
88106   3N1AB7AP9JY314646   Nissan       SENTRA              BURBANK                   CA
88107   3N1AB7AP9JY316056   Nissan       SENTRA              PASADENA                  CA
88108   3N1AB7AP9JY324254   Nissan       SENTRA              Atlanta                   GA
88109   3N1AB7AP9JY324559   Nissan       SENTRA              SAN DIEGO                 CA
88110   3N1AB7AP9JY325288   Nissan       SENTRA              DENVER                    CO
88111   3N1AB7AP9JY325792   Nissan       SENTRA              BURBANK                   CA
88112   3N1AB7AP9JY325937   Nissan       SENTRA              Atlanta                   GA
88113   3N1AB7AP9JY326537   Nissan       SENTRA              FRESNO                    CA
88114   3N1AB7AP9JY326540   Nissan       SENTRA              Tolleson                  AZ
88115   3N1AB7AP9JY326599   Nissan       SENTRA              NEW ORLEANS               LA
88116   3N1AB7AP9JY326876   Nissan       SENTRA              INGLEWOOD                 CA
88117   3N1AB7AP9JY327090   Nissan       SENTRA              Teterboro                 NJ
88118   3N1AB7AP9JY327297   Nissan       SENTRA              STERLING                  VA
88119   3N1AB7AP9JY327493   Nissan       SENTRA              Maple Grove               MN
88120   3N1AB7AP9JY327512   Nissan       SENTRA              LOS ANGELES               CA
88121   3N1AB7AP9JY327526   Nissan       SENTRA              CHARLOTTE                 NC
88122   3N1AB7AP9JY327770   Nissan       SENTRA              PHILADELPHIA              PA
88123   3N1AB7AP9JY327851   Nissan       SENTRA              WEST CENTRAL DEALE        CO
88124   3N1AB7AP9JY327879   Nissan       SENTRA              FULLERTON                 CA
88125   3N1AB7AP9JY328000   Nissan       SENTRA              DENVER                    CO
88126   3N1AB7AP9JY328160   Nissan       SENTRA              Salt Lake City            UT
88127   3N1AB7AP9JY328241   Nissan       SENTRA              SAN FRANCISCO             CA
88128   3N1AB7AP9JY328305   Nissan       SENTRA              Atlanta                   GA
88129   3N1AB7AP9JY328322   Nissan       SENTRA              Hamilton                  OH
88130   3N1AB7AP9JY328353   Nissan       SENTRA              Hamilton                  OH
88131   3N1AB7AP9JY328417   Nissan       SENTRA              WEST CENTRAL DEALE        CO
88132   3N1AB7AP9JY328420   Nissan       SENTRA              STERLING                  VA
88133   3N1AB7AP9JY328577   Nissan       SENTRA              Fresno                    CA
88134   3N1AB7AP9JY328899   Nissan       SENTRA              BURBANK                   CA
88135   3N1AB7AP9JY329292   Nissan       SENTRA              LOS ANGELES               CA
88136   3N1AB7AP9JY329454   Nissan       SENTRA              PHOENIX                   AZ
88137   3N1AB7AP9JY329812   Nissan       SENTRA              BURBANK                   CA
88138   3N1AB7AP9JY329907   Nissan       SENTRA              SAN JOSE                  CA
88139   3N1AB7AP9JY329972   Nissan       SENTRA              COLUMBIA                  SC
88140   3N1AB7AP9JY330006   Nissan       SENTRA              BOSTON, LOGAN AP          MA
88141   3N1AB7AP9JY330359   Nissan       SENTRA              Fredericksburg            VA
88142   3N1AB7AP9JY330362   Nissan       SENTRA              BURBANK                   CA
88143   3N1AB7AP9JY330989   Nissan       SENTRA              LAS VEGAS                 NV
88144   3N1AB7AP9JY331026   Nissan       SENTRA              Atlanta                   GA
88145   3N1AB7AP9JY331155   Nissan       SENTRA              Davie                     FL
88146   3N1AB7AP9JY331365   Nissan       SENTRA              BURBANK                   CA
88147   3N1AB7AP9JY331379   Nissan       SENTRA              Humble                    TX
88148   3N1AB7AP9JY331382   Nissan       SENTRA              DAYTONA BEACH             FL
88149   3N1AB7AP9JY331429   Nissan       SENTRA              Detroit                   MI
88150   3N1AB7AP9JY331849   Nissan       SENTRA              Mira Loma                 CA
88151   3N1AB7AP9KY240176   Nissan       SENTRA              MEDINA                    OH
88152   3N1AB7AP9KY240646   Nissan       SENTRA              TAMPA                     FL
88153   3N1AB7AP9KY240808   Nissan       SENTRA              WEST PALM BEACH           FL
88154   3N1AB7AP9KY241389   Nissan       SENTRA              COLLEGE PARK              GA
88155   3N1AB7AP9KY241442   Nissan       SENTRA              FORT MYERS                FL
88156   3N1AB7AP9KY241635   Nissan       SENTRA              Estero                    FL
88157   3N1AB7AP9KY242560   Nissan       SENTRA              Columbus                  OH
88158   3N1AB7AP9KY242588   Nissan       SENTRA              ATLANTA                   GA
88159   3N1AB7AP9KY243207   Nissan       SENTRA              Dallas                    TX
88160   3N1AB7AP9KY243899   Nissan       SENTRA              LAS VEGAS                 NV
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88161   3N1AB7AP9KY243921   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
88162   3N1AB7AP9KY244308   Nissan       SENTRA              CULVER CITY               CA
88163   3N1AB7AP9KY244437   Nissan       SENTRA              ONTARIO                   CA
88164   3N1AB7AP9KY244454   Nissan       SENTRA              Fresno                    CA
88165   3N1AB7AP9KY244888   Nissan       SENTRA              Ft. Myers                 FL
88166   3N1AB7AP9KY244910   Nissan       SENTRA              HILO                      HI
88167   3N1AB7AP9KY245023   Nissan       SENTRA              WAIMEA                    HI
88168   3N1AB7AP9KY246477   Nissan       SENTRA              Newport Beach             CA
88169   3N1AB7AP9KY268656   Nissan       SENTRA              LIHUE                     HI
88170   3N1AB7AP9KY269466   Nissan       SENTRA              Kailua‐Kona               HI
88171   3N1AB7AP9KY269595   Nissan       SENTRA              KALAOA                    HI
88172   3N1AB7AP9KY269905   Nissan       SENTRA              HILO                      HI
88173   3N1AB7AP9KY269984   Nissan       SENTRA              Kailua‐Kona               HI
88174   3N1AB7AP9KY296022   Nissan       SENTRA              JACKSONVILLE              FL
88175   3N1AB7AP9KY298403   Nissan       SENTRA              OAKLAND                   CA
88176   3N1AB7AP9KY298756   Nissan       SENTRA              FORT MYERS                FL
88177   3N1AB7AP9KY298918   Nissan       SENTRA              FORT MYERS                FL
88178   3N1AB7AP9KY298966   Nissan       SENTRA              COLUMBIA                  SC
88179   3N1AB7AP9KY299079   Nissan       SENTRA              DANIA BEACH               FL
88180   3N1AB7AP9KY299650   Nissan       SENTRA              COLLEGE PARK              GA
88181   3N1AB7AP9KY300893   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
88182   3N1AB7AP9KY301090   Nissan       SENTRA              Rock Hill                 SC
88183   3N1AB7AP9KY301168   Nissan       SENTRA              DALLAS                    TX
88184   3N1AB7AP9KY301879   Nissan       SENTRA              PHOENIX                   AZ
88185   3N1AB7AP9KY301980   Nissan       SENTRA              PHOENIX                   AZ
88186   3N1AB7AP9KY302546   Nissan       SENTRA              Dallas                    TX
88187   3N1AB7AP9KY303115   Nissan       SENTRA              PORTLAND                  OR
88188   3N1AB7AP9KY303714   Nissan       SENTRA              TAMPA                     FL
88189   3N1AB7AP9KY303969   Nissan       SENTRA              FORT MYERS                FL
88190   3N1AB7AP9KY304328   Nissan       SENTRA              Portland                  OR
88191   3N1AB7AP9KY307410   Nissan       SENTRA              WEST DUNDEE               IL
88192   3N1AB7AP9KY307438   Nissan       SENTRA              SAINT PAUL                MN
88193   3N1AB7AP9KY307570   Nissan       SENTRA              CUMMING                   GA
88194   3N1AB7AP9KY307598   Nissan       SENTRA              Hamilton                  OH
88195   3N1AB7AP9KY307732   Nissan       SENTRA              SAINT LOUIS               MO
88196   3N1AB7AP9KY307889   Nissan       SENTRA              Hebron                    KY
88197   3N1AB7AP9KY308329   Nissan       SENTRA              Matteson                  IL
88198   3N1AB7AP9KY308444   Nissan       SENTRA              Baltimore                 MD
88199   3N1AB7AP9KY309917   Nissan       SENTRA              RONKONKOMA                NY
88200   3N1AB7AP9KY310078   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
88201   3N1AB7AP9KY310615   Nissan       SENTRA              ATLANTA                   GA
88202   3N1AB7AP9KY311635   Nissan       SENTRA              KENNER                    LA
88203   3N1AB7AP9KY312493   Nissan       SENTRA              STOCKTON                  CA
88204   3N1AB7AP9KY316754   Nissan       SENTRA              ONTARIO                   CA
88205   3N1AB7AP9KY320626   Nissan       SENTRA              PHILADELPHIA              PA
88206   3N1AB7AP9KY323588   Nissan       SENTRA              JACKSONVILLE              FL
88207   3N1AB7AP9KY326278   Nissan       SENTRA              Newark                    NJ
88208   3N1AB7AP9KY338897   Nissan       SENTRA              Syracuse                  NY
88209   3N1AB7AP9KY340150   Nissan       SENTRA              Austell                   GA
88210   3N1AB7AP9KY340455   Nissan       SENTRA              St. Louis                 MO
88211   3N1AB7AP9KY341038   Nissan       SENTRA              ST Paul                   MN
88212   3N1AB7AP9KY344070   Nissan       SENTRA              Fresno                    CA
88213   3N1AB7AP9KY344716   Nissan       SENTRA              SANTA ANA                 CA
88214   3N1AB7AP9KY345459   Nissan       SENTRA              ATLANTA AP                GA
88215   3N1AB7AP9KY350760   Nissan       SENTRA              FLORIDA DEALER DIR        FL
88216   3N1AB7AP9KY353299   Nissan       SENTRA              Costa Mesa                CA
88217   3N1AB7AP9KY353805   Nissan       SENTRA              Tampa                     FL
88218   3N1AB7AP9KY353948   Nissan       SENTRA              Jamaica                   NY
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88219   3N1AB7AP9KY355120   Nissan       SENTRA              Slidell                   LA
88220   3N1AB7AP9KY355666   Nissan       SENTRA              Slidell                   LA
88221   3N1AB7AP9KY356364   Nissan       SENTRA              FLORIDA DEALER DIR        FL
88222   3N1AB7AP9KY364125   Nissan       SENTRA              INDIANAPOLIS              IN
88223   3N1AB7APXGY224740   Nissan       SENTRA              Elkridge                  MD
88224   3N1AB7APXGY291063   Nissan       SENTRA              CHICAGO                   IL
88225   3N1AB7APXGY322280   Nissan       SENTRA              Matteson                  IL
88226   3N1AB7APXHL647249   Nissan       SENTRA              PHOENIX                   AZ
88227   3N1AB7APXHL659353   Nissan       SENTRA              MEBANE                    NC
88228   3N1AB7APXHL664133   Nissan       SENTRA              SACRAMENTO                CA
88229   3N1AB7APXHL671695   Nissan       SENTRA              BURBANK                   CA
88230   3N1AB7APXHL685340   Nissan       SENTRA              SPRINGFIELD               VA
88231   3N1AB7APXHL692398   Nissan       SENTRA              CHICAGO                   IL
88232   3N1AB7APXHL693129   Nissan       SENTRA              CHARLOTTE                 NC
88233   3N1AB7APXHL694149   Nissan       SENTRA              Hayward                   CA
88234   3N1AB7APXHL695415   Nissan       SENTRA              Baltimore                 MD
88235   3N1AB7APXHL696452   Nissan       SENTRA              SAN FRANCISCO             CA
88236   3N1AB7APXHL696600   Nissan       SENTRA              BURBANK                   CA
88237   3N1AB7APXHL696760   Nissan       SENTRA              DAYTONA BEACH             FL
88238   3N1AB7APXHL696905   Nissan       SENTRA              LAS VEGAS                 NV
88239   3N1AB7APXHL696922   Nissan       SENTRA              NORTH PAC                 CA
88240   3N1AB7APXHL697200   Nissan       SENTRA              NORTH PAC                 CA
88241   3N1AB7APXHL697827   Nissan       SENTRA              Fontana                   CA
88242   3N1AB7APXHL697911   Nissan       SENTRA              Los Angeles               CA
88243   3N1AB7APXHL698119   Nissan       SENTRA              ROSEVILLE                 CA
88244   3N1AB7APXHY254645   Nissan       SENTRA              AUSTIN                    TX
88245   3N1AB7APXHY285751   Nissan       SENTRA              PHILADELPHIA              PA
88246   3N1AB7APXHY287936   Nissan       SENTRA              COLLEGE PARK              GA
88247   3N1AB7APXHY289265   Nissan       SENTRA              Elkridge                  MD
88248   3N1AB7APXHY291503   Nissan       SENTRA              Denver                    CO
88249   3N1AB7APXHY306758   Nissan       SENTRA              North Dighton             MA
88250   3N1AB7APXHY307389   Nissan       SENTRA              HANOVER                   MD
88251   3N1AB7APXHY309904   Nissan       SENTRA              Hayward                   CA
88252   3N1AB7APXHY309966   Nissan       SENTRA              BURBANK                   CA
88253   3N1AB7APXHY311765   Nissan       SENTRA              BOSTON                    MA
88254   3N1AB7APXHY311832   Nissan       SENTRA              STERLING                  VA
88255   3N1AB7APXHY316187   Nissan       SENTRA              CHICAGO                   IL
88256   3N1AB7APXHY316237   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
88257   3N1AB7APXHY318005   Nissan       SENTRA              BURBANK                   CA
88258   3N1AB7APXHY318697   Nissan       SENTRA              DAYTONA BEACH             FL
88259   3N1AB7APXHY320966   Nissan       SENTRA              BURBANK                   CA
88260   3N1AB7APXHY321681   Nissan       SENTRA              SAN FRANCISCO             CA
88261   3N1AB7APXHY321891   Nissan       SENTRA              TRACY                     CA
88262   3N1AB7APXHY322474   Nissan       SENTRA              BURBANK                   CA
88263   3N1AB7APXHY322488   Nissan       SENTRA              Denver                    CO
88264   3N1AB7APXHY322877   Nissan       SENTRA              BURBANK                   CA
88265   3N1AB7APXHY322880   Nissan       SENTRA              Denver                    CO
88266   3N1AB7APXHY323463   Nissan       SENTRA              Honolulu                  HI
88267   3N1AB7APXHY323785   Nissan       SENTRA              RALEIGH                   NC
88268   3N1AB7APXHY326332   Nissan       SENTRA              Slidell                   LA
88269   3N1AB7APXHY326928   Nissan       SENTRA              NEWARK                    NJ
88270   3N1AB7APXHY327559   Nissan       SENTRA              HANOVER                   MD
88271   3N1AB7APXHY327626   Nissan       SENTRA              KILLEEN                   US
88272   3N1AB7APXHY328291   Nissan       SENTRA              STERLING                  VA
88273   3N1AB7APXHY329778   Nissan       SENTRA              SPRINGFIELD               VA
88274   3N1AB7APXHY330882   Nissan       SENTRA              Jacksonville              FL
88275   3N1AB7APXHY336309   Nissan       SENTRA              BURBANK                   CA
88276   3N1AB7APXHY336844   Nissan       SENTRA              ONTARIO, RIVERSIDE        CA
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88277   3N1AB7APXHY338867   Nissan       SENTRA              NOTTINGHAM                MD
88278   3N1AB7APXHY339176   Nissan       SENTRA              DAYTONA BEACH             FL
88279   3N1AB7APXHY339906   Nissan       SENTRA              Lynn                      MA
88280   3N1AB7APXHY340084   Nissan       SENTRA              San Diego                 CA
88281   3N1AB7APXHY343678   Nissan       SENTRA              BURBANK                   CA
88282   3N1AB7APXHY343776   Nissan       SENTRA              NORTH PAC                 CA
88283   3N1AB7APXHY344894   Nissan       SENTRA              ONTARIO                   CA
88284   3N1AB7APXHY346323   Nissan       SENTRA              SANTA ANA                 CA
88285   3N1AB7APXHY347004   Nissan       SENTRA              DAYTONA BEACH             FL
88286   3N1AB7APXHY347617   Nissan       SENTRA              DOWNEY                    CA
88287   3N1AB7APXHY347780   Nissan       SENTRA              Kent                      WA
88288   3N1AB7APXHY347875   Nissan       SENTRA              SAN JOSE                  CA
88289   3N1AB7APXHY348427   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
88290   3N1AB7APXHY348539   Nissan       SENTRA              SANTA ANA                 CA
88291   3N1AB7APXHY350274   Nissan       SENTRA              LOS ANGELES               CA
88292   3N1AB7APXHY351957   Nissan       SENTRA              Elkridge                  MD
88293   3N1AB7APXHY352168   Nissan       SENTRA              Elkridge                  MD
88294   3N1AB7APXHY353434   Nissan       SENTRA              DES PLAINES               IL
88295   3N1AB7APXHY355426   Nissan       SENTRA              Kent                      WA
88296   3N1AB7APXHY355927   Nissan       SENTRA              LAS VEGAS                 NV
88297   3N1AB7APXHY359203   Nissan       SENTRA              BURBANK                   CA
88298   3N1AB7APXHY359461   Nissan       SENTRA              LAS VEGAS                 NV
88299   3N1AB7APXHY359573   Nissan       SENTRA              Rock Hill                 SC
88300   3N1AB7APXHY359671   Nissan       SENTRA              LAS VEGAS                 NV
88301   3N1AB7APXHY360545   Nissan       SENTRA              NEW ENGLAND DEALER        MA
88302   3N1AB7APXHY360982   Nissan       SENTRA              Kent                      WA
88303   3N1AB7APXHY401255   Nissan       SENTRA              Mira Loma                 CA
88304   3N1AB7APXJL603371   Nissan       SENTRA              BOSTON                    MA
88305   3N1AB7APXJL618999   Nissan       SENTRA              JACKSONVILLE              FL
88306   3N1AB7APXJL619506   Nissan       SENTRA              HANOVER                   MD
88307   3N1AB7APXJL626133   Nissan       SENTRA              LAS VEGAS                 NV
88308   3N1AB7APXJY208531   Nissan       SENTRA              LAS VEGAS                 NV
88309   3N1AB7APXJY216483   Nissan       SENTRA              Warwick                   RI
88310   3N1AB7APXJY219979   Nissan       SENTRA              STERLING                  VA
88311   3N1AB7APXJY234837   Nissan       SENTRA              Columbus                  OH
88312   3N1AB7APXJY240363   Nissan       SENTRA              BURBANK                   CA
88313   3N1AB7APXJY240864   Nissan       SENTRA              SAN DIEGO                 CA
88314   3N1AB7APXJY241156   Nissan       SENTRA              Tampa                     FL
88315   3N1AB7APXJY241822   Nissan       SENTRA              BURBANK                   CA
88316   3N1AB7APXJY242470   Nissan       SENTRA              HANOVER                   MD
88317   3N1AB7APXJY243148   Nissan       SENTRA              NORTH PAC                 CA
88318   3N1AB7APXJY243571   Nissan       SENTRA              BURBANK                   CA
88319   3N1AB7APXJY243635   Nissan       SENTRA              Marietta                  GA
88320   3N1AB7APXJY243764   Nissan       SENTRA              NORTH PAC                 CA
88321   3N1AB7APXJY243795   Nissan       SENTRA              Burien                    WA
88322   3N1AB7APXJY244039   Nissan       SENTRA              Honolulu                  HI
88323   3N1AB7APXJY244395   Nissan       SENTRA              Fort Lauderdale           FL
88324   3N1AB7APXJY244591   Nissan       SENTRA              HANOVER                   MD
88325   3N1AB7APXJY244607   Nissan       SENTRA              NORTH PAC                 CA
88326   3N1AB7APXJY244669   Nissan       SENTRA              SAN JOSE                  CA
88327   3N1AB7APXJY244770   Nissan       SENTRA              KAHULUI                   HI
88328   3N1AB7APXJY244784   Nissan       SENTRA              LAS VEGAS                 NV
88329   3N1AB7APXJY244946   Nissan       SENTRA              Rio Linda                 CA
88330   3N1AB7APXJY244994   Nissan       SENTRA              PORTLAND                  OR
88331   3N1AB7APXJY245028   Nissan       SENTRA              Kent                      WA
88332   3N1AB7APXJY245188   Nissan       SENTRA              LOS ANGELES               CA
88333   3N1AB7APXJY245286   Nissan       SENTRA              LIHUE AP KAUAI            HI
88334   3N1AB7APXJY245336   Nissan       SENTRA              Marietta                  GA
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88335   3N1AB7APXJY245367   Nissan       SENTRA              KAHULUI                   HI
88336   3N1AB7APXJY245482   Nissan       SENTRA              ROSEVILLE                 CA
88337   3N1AB7APXJY245658   Nissan       SENTRA              HONOLULU                  HI
88338   3N1AB7APXJY245661   Nissan       SENTRA              Stockton                  CA
88339   3N1AB7APXJY245711   Nissan       SENTRA              BURBANK                   CA
88340   3N1AB7APXJY245739   Nissan       SENTRA              ONTARIO                   CA
88341   3N1AB7APXJY245840   Nissan       SENTRA              BURBANK                   CA
88342   3N1AB7APXJY246065   Nissan       SENTRA              AUSTIN                    TX
88343   3N1AB7APXJY246339   Nissan       SENTRA              NORTH HOLLYWOOD           CA
88344   3N1AB7APXJY246518   Nissan       SENTRA              LAS VEGAS                 NV
88345   3N1AB7APXJY246566   Nissan       SENTRA              KAUAI                     HI
88346   3N1AB7APXJY246728   Nissan       SENTRA              BURBANK                   CA
88347   3N1AB7APXJY246860   Nissan       SENTRA              Tampa                     FL
88348   3N1AB7APXJY247264   Nissan       SENTRA              BURBANK                   CA
88349   3N1AB7APXJY247300   Nissan       SENTRA              KENNER                    LA
88350   3N1AB7APXJY247670   Nissan       SENTRA              PHOENIX                   AZ
88351   3N1AB7APXJY247751   Nissan       SENTRA              Portland                  OR
88352   3N1AB7APXJY247779   Nissan       SENTRA              STERLING                  VA
88353   3N1AB7APXJY248155   Nissan       SENTRA              BURBANK                   CA
88354   3N1AB7APXJY248284   Nissan       SENTRA              BURBANK                   CA
88355   3N1AB7APXJY248415   Nissan       SENTRA              DAYTONA BEACH             FL
88356   3N1AB7APXJY248494   Nissan       SENTRA              BALDWIN                   NY
88357   3N1AB7APXJY249273   Nissan       SENTRA              SANTA ANA                 CA
88358   3N1AB7APXJY250147   Nissan       SENTRA              LAS VEGAS                 NV
88359   3N1AB7APXJY251993   Nissan       SENTRA              KAHULUI                   HI
88360   3N1AB7APXJY252061   Nissan       SENTRA              Elkridge                  MD
88361   3N1AB7APXJY252111   Nissan       SENTRA              Honolulu                  HI
88362   3N1AB7APXJY252223   Nissan       SENTRA              KAHULUI                   HI
88363   3N1AB7APXJY252321   Nissan       SENTRA              KAHULUI                   HI
88364   3N1AB7APXJY252397   Nissan       SENTRA              KAHULUI                   HI
88365   3N1AB7APXJY252626   Nissan       SENTRA              NORTH PAC                 CA
88366   3N1AB7APXJY253193   Nissan       SENTRA              Atlanta                   GA
88367   3N1AB7APXJY253324   Nissan       SENTRA              Stone Mountain            GA
88368   3N1AB7APXJY253534   Nissan       SENTRA              Miami                     FL
88369   3N1AB7APXJY254117   Nissan       SENTRA              BURBANK                   CA
88370   3N1AB7APXJY254179   Nissan       SENTRA              WEST PALM BEACH           FL
88371   3N1AB7APXJY254196   Nissan       SENTRA              FORT LAUDERDALE           FL
88372   3N1AB7APXJY254201   Nissan       SENTRA              Ft. Myers                 FL
88373   3N1AB7APXJY254392   Nissan       SENTRA              NORTH PAC                 CA
88374   3N1AB7APXJY254487   Nissan       SENTRA              Marietta                  GA
88375   3N1AB7APXJY254599   Nissan       SENTRA              BURBANK                   CA
88376   3N1AB7APXJY254697   Nissan       SENTRA              NORTH PAC                 CA
88377   3N1AB7APXJY254778   Nissan       SENTRA              BURBANK                   CA
88378   3N1AB7APXJY254795   Nissan       SENTRA              Ocoee                     FL
88379   3N1AB7APXJY254859   Nissan       SENTRA              BURBANK                   CA
88380   3N1AB7APXJY254893   Nissan       SENTRA              DETROIT                   MI
88381   3N1AB7APXJY254957   Nissan       SENTRA              Rio Linda                 CA
88382   3N1AB7APXJY255011   Nissan       SENTRA              South San Franc           CA
88383   3N1AB7APXJY255090   Nissan       SENTRA              SAN DIEGO                 CA
88384   3N1AB7APXJY255428   Nissan       SENTRA              BURBANK                   CA
88385   3N1AB7APXJY255588   Nissan       SENTRA              SANTA ANA                 CA
88386   3N1AB7APXJY255655   Nissan       SENTRA              BURBANK                   CA
88387   3N1AB7APXJY255686   Nissan       SENTRA              PHOENIX                   AZ
88388   3N1AB7APXJY255865   Nissan       SENTRA              Las Vegas                 NV
88389   3N1AB7APXJY255879   Nissan       SENTRA              SACRAMENTO                CA
88390   3N1AB7APXJY257437   Nissan       SENTRA              San Diego                 CA
88391   3N1AB7APXJY258250   Nissan       SENTRA              SAN FRANCISCO             CA
88392   3N1AB7APXJY259656   Nissan       SENTRA              BURBANK                   CA
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88393   3N1AB7APXJY260046   Nissan       SENTRA              Riverside                 CA
88394   3N1AB7APXJY261147   Nissan       SENTRA              Denver                    CO
88395   3N1AB7APXJY261312   Nissan       SENTRA              NORTH PAC                 CA
88396   3N1AB7APXJY261584   Nissan       SENTRA              Ventura                   CA
88397   3N1AB7APXJY262475   Nissan       SENTRA              BURBANK                   CA
88398   3N1AB7APXJY263092   Nissan       SENTRA              RONKONKOMA                NY
88399   3N1AB7APXJY265439   Nissan       SENTRA              Fontana                   CA
88400   3N1AB7APXJY266140   Nissan       SENTRA              Slidell                   LA
88401   3N1AB7APXJY266431   Nissan       SENTRA              SAN JOSE                  CA
88402   3N1AB7APXJY266512   Nissan       SENTRA              LIHUE                     HI
88403   3N1AB7APXJY266753   Nissan       SENTRA              Tampa                     FL
88404   3N1AB7APXJY266848   Nissan       SENTRA              SPRINGFIELD               VA
88405   3N1AB7APXJY266980   Nissan       SENTRA              KENNER                    LA
88406   3N1AB7APXJY267272   Nissan       SENTRA              WEST PALM BEACH           FL
88407   3N1AB7APXJY267403   Nissan       SENTRA              N. Las Vegas              NV
88408   3N1AB7APXJY267546   Nissan       SENTRA              SANTA ANA                 CA
88409   3N1AB7APXJY267885   Nissan       SENTRA              CHICAGO                   IL
88410   3N1AB7APXJY268938   Nissan       SENTRA              ORLANDO                   FL
88411   3N1AB7APXJY269586   Nissan       SENTRA              PHILADELPHIA              PA
88412   3N1AB7APXJY270043   Nissan       SENTRA              Atlanta                   GA
88413   3N1AB7APXJY270138   Nissan       SENTRA              Fredericksburg            VA
88414   3N1AB7APXJY270348   Nissan       SENTRA              Slidell                   LA
88415   3N1AB7APXJY270558   Nissan       SENTRA              DFW AIRPORT               TX
88416   3N1AB7APXJY271144   Nissan       SENTRA              Atlanta                   GA
88417   3N1AB7APXJY271693   Nissan       SENTRA              DES MOINES                IA
88418   3N1AB7APXJY272228   Nissan       SENTRA              Baltimore                 MD
88419   3N1AB7APXJY272665   Nissan       SENTRA              LOS ANGELES               CA
88420   3N1AB7APXJY273167   Nissan       SENTRA              BURBANK                   CA
88421   3N1AB7APXJY273587   Nissan       SENTRA              Rock Hill                 SC
88422   3N1AB7APXJY273766   Nissan       SENTRA              Harvey                    LA
88423   3N1AB7APXJY274142   Nissan       SENTRA              LAS VEGAS                 NV
88424   3N1AB7APXJY274318   Nissan       SENTRA              SALT LAKE CITY            UT
88425   3N1AB7APXJY274402   Nissan       SENTRA              CHICAGO                   IL
88426   3N1AB7APXJY274562   Nissan       SENTRA              Riverside                 CA
88427   3N1AB7APXJY274738   Nissan       SENTRA              SAN ANTONIO               TX
88428   3N1AB7APXJY274786   Nissan       SENTRA              Rockville Centr           NY
88429   3N1AB7APXJY274982   Nissan       SENTRA              FT LAUDERDALE             FL
88430   3N1AB7APXJY275064   Nissan       SENTRA              Plainfield                IN
88431   3N1AB7APXJY275467   Nissan       SENTRA              RALEIGH                   NC
88432   3N1AB7APXJY275470   Nissan       SENTRA              BLOOMINGTON               IL
88433   3N1AB7APXJY275484   Nissan       SENTRA              ORLANDO                   FL
88434   3N1AB7APXJY275582   Nissan       SENTRA              LOS ANGELES               CA
88435   3N1AB7APXJY275873   Nissan       SENTRA              BURBANK                   CA
88436   3N1AB7APXJY275971   Nissan       SENTRA              Fredericksburg            VA
88437   3N1AB7APXJY276117   Nissan       SENTRA              Warminster                PA
88438   3N1AB7APXJY276182   Nissan       SENTRA              DES PLAINES               IL
88439   3N1AB7APXJY276313   Nissan       SENTRA              Hapeville                 GA
88440   3N1AB7APXJY276389   Nissan       SENTRA              Elkridge                  MD
88441   3N1AB7APXJY276442   Nissan       SENTRA              SAN ANTONIO               TX
88442   3N1AB7APXJY276456   Nissan       SENTRA              BOSTON                    MA
88443   3N1AB7APXJY276473   Nissan       SENTRA              NEW ENGLAND DEALER        MA
88444   3N1AB7APXJY276523   Nissan       SENTRA              FORT LAUDERDALE           FL
88445   3N1AB7APXJY276537   Nissan       SENTRA              Aurora                    CO
88446   3N1AB7APXJY276683   Nissan       SENTRA              Denver                    CO
88447   3N1AB7APXJY276960   Nissan       SENTRA              NORTH PAC                 CA
88448   3N1AB7APXJY276991   Nissan       SENTRA              HARVEY                    LA
88449   3N1AB7APXJY277042   Nissan       SENTRA              BURBANK                   CA
88450   3N1AB7APXJY277333   Nissan       SENTRA              North Dighton             MA
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88451   3N1AB7APXJY277834   Nissan       SENTRA              FAYETTEVILLE              GA
88452   3N1AB7APXJY277915   Nissan       SENTRA              Smithtown                 NY
88453   3N1AB7APXJY277994   Nissan       SENTRA              NORTH PAC                 CA
88454   3N1AB7APXJY278174   Nissan       SENTRA              Statesville               NC
88455   3N1AB7APXJY279051   Nissan       SENTRA              DALLAS                    TX
88456   3N1AB7APXJY279230   Nissan       SENTRA              Newark                    NJ
88457   3N1AB7APXJY279292   Nissan       SENTRA              CLEVELAND                 OH
88458   3N1AB7APXJY279308   Nissan       SENTRA              Woodhaven                 MI
88459   3N1AB7APXJY279356   Nissan       SENTRA              NEW ENGLAND DEALER        MA
88460   3N1AB7APXJY279793   Nissan       SENTRA              NORTH PAC                 CA
88461   3N1AB7APXJY280054   Nissan       SENTRA              MEDINA                    OH
88462   3N1AB7APXJY280250   Nissan       SENTRA              Rock Hill                 SC
88463   3N1AB7APXJY280636   Nissan       SENTRA              SAN JOSE                  CA
88464   3N1AB7APXJY281642   Nissan       SENTRA              FORT MYERS                FL
88465   3N1AB7APXJY281785   Nissan       SENTRA              Oceanside                 CA
88466   3N1AB7APXJY282127   Nissan       SENTRA              Stockton                  CA
88467   3N1AB7APXJY282256   Nissan       SENTRA              Elkridge                  MD
88468   3N1AB7APXJY282791   Nissan       SENTRA              BURBANK                   CA
88469   3N1AB7APXJY283407   Nissan       SENTRA              CHANDLER                  AZ
88470   3N1AB7APXJY284850   Nissan       SENTRA              Port Newark               NJ
88471   3N1AB7APXJY286078   Nissan       SENTRA              Sterling                  VA
88472   3N1AB7APXJY286596   Nissan       SENTRA              Marietta                  GA
88473   3N1AB7APXJY286601   Nissan       SENTRA              PHOENIX                   AZ
88474   3N1AB7APXJY286680   Nissan       SENTRA              FLORIDA DEALER DIR        FL
88475   3N1AB7APXJY286923   Nissan       SENTRA              South San Franc           CA
88476   3N1AB7APXJY287005   Nissan       SENTRA              BURBANK                   CA
88477   3N1AB7APXJY287067   Nissan       SENTRA              MIAMI                     FL
88478   3N1AB7APXJY287361   Nissan       SENTRA              PHILADELPHIA              PA
88479   3N1AB7APXJY287585   Nissan       SENTRA              BOSTON                    MA
88480   3N1AB7APXJY287683   Nissan       SENTRA              LOS ANGELES               CA
88481   3N1AB7APXJY287957   Nissan       SENTRA              ORLANDO                   FL
88482   3N1AB7APXJY288011   Nissan       SENTRA              BURBANK                   CA
88483   3N1AB7APXJY288347   Nissan       SENTRA              BURBANK                   CA
88484   3N1AB7APXJY288378   Nissan       SENTRA              SAN BRUNO                 CA
88485   3N1AB7APXJY288543   Nissan       SENTRA              CHICAGO                   IL
88486   3N1AB7APXJY288560   Nissan       SENTRA              MORROW                    GA
88487   3N1AB7APXJY288980   Nissan       SENTRA              OAKLAND                   CA
88488   3N1AB7APXJY289305   Nissan       SENTRA              Maple Grove               MN
88489   3N1AB7APXJY289417   Nissan       SENTRA              WHITE PLAINS              NY
88490   3N1AB7APXJY289420   Nissan       SENTRA              WEST PALM BEACH           FL
88491   3N1AB7APXJY289501   Nissan       SENTRA              Phoenix                   AZ
88492   3N1AB7APXJY289546   Nissan       SENTRA              ORLANDO                   FL
88493   3N1AB7APXJY289627   Nissan       SENTRA              Lake in the Hil           IL
88494   3N1AB7APXJY289918   Nissan       SENTRA              TAMPA                     FL
88495   3N1AB7APXJY289997   Nissan       SENTRA              NEW ENGLAND DEALER        MA
88496   3N1AB7APXJY290048   Nissan       SENTRA              TAMPA                     FL
88497   3N1AB7APXJY290261   Nissan       SENTRA              Union City                GA
88498   3N1AB7APXJY290776   Nissan       SENTRA              Amarillo                  TX
88499   3N1AB7APXJY290941   Nissan       SENTRA              SEATAC                    WA
88500   3N1AB7APXJY291071   Nissan       SENTRA              North Dighton             MA
88501   3N1AB7APXJY291250   Nissan       SENTRA              CHARLOTTE                 NC
88502   3N1AB7APXJY291376   Nissan       SENTRA              Fontana                   CA
88503   3N1AB7APXJY291443   Nissan       SENTRA              BURBANK                   CA
88504   3N1AB7APXJY291958   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
88505   3N1AB7APXJY291975   Nissan       SENTRA              PORTLAND                  OR
88506   3N1AB7APXJY292057   Nissan       SENTRA              PHILADELPHIA              PA
88507   3N1AB7APXJY292494   Nissan       SENTRA              LOS ANGELES               CA
88508   3N1AB7APXJY292544   Nissan       SENTRA              NORTH PAC                 CA
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88509   3N1AB7APXJY292723   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
88510   3N1AB7APXJY292804   Nissan       SENTRA              BURBANK                   CA
88511   3N1AB7APXJY292852   Nissan       SENTRA              SAN DIEGO                 CA
88512   3N1AB7APXJY292897   Nissan       SENTRA              SAN ANTONIO               TX
88513   3N1AB7APXJY292916   Nissan       SENTRA              NORTH PAC                 CA
88514   3N1AB7APXJY292933   Nissan       SENTRA              GOLD RIVER                CA
88515   3N1AB7APXJY292947   Nissan       SENTRA              TRACY                     CA
88516   3N1AB7APXJY292995   Nissan       SENTRA              Marietta                  GA
88517   3N1AB7APXJY293127   Nissan       SENTRA              TAMPA                     FL
88518   3N1AB7APXJY293290   Nissan       SENTRA              Sacramento                CA
88519   3N1AB7APXJY293399   Nissan       SENTRA              TRACY                     CA
88520   3N1AB7APXJY293418   Nissan       SENTRA              LAS VEGAS                 NV
88521   3N1AB7APXJY293483   Nissan       SENTRA              KANSAS CITY               MO
88522   3N1AB7APXJY293600   Nissan       SENTRA              Irving                    TX
88523   3N1AB7APXJY293709   Nissan       SENTRA              Davie                     FL
88524   3N1AB7APXJY293824   Nissan       SENTRA              CENTRAL DIST OFFC         OK
88525   3N1AB7APXJY293869   Nissan       SENTRA              North Dighton             MA
88526   3N1AB7APXJY293998   Nissan       SENTRA              NORTH PAC                 CA
88527   3N1AB7APXJY294116   Nissan       SENTRA              BURBANK                   CA
88528   3N1AB7APXJY294164   Nissan       SENTRA              Marietta                  GA
88529   3N1AB7APXJY294200   Nissan       SENTRA              INDIANAPOLIS              IN
88530   3N1AB7APXJY294892   Nissan       SENTRA              STERLING                  VA
88531   3N1AB7APXJY294925   Nissan       SENTRA              PHILADELPHIA              PA
88532   3N1AB7APXJY294990   Nissan       SENTRA              ST PAUL                   MN
88533   3N1AB7APXJY295279   Nissan       SENTRA              BURBANK                   CA
88534   3N1AB7APXJY296819   Nissan       SENTRA              ONTARIO                   CA
88535   3N1AB7APXJY297470   Nissan       SENTRA              TRACY                     CA
88536   3N1AB7APXJY298568   Nissan       SENTRA              CENTRAL DIST OFFC         OK
88537   3N1AB7APXJY298571   Nissan       SENTRA              BURBANK                   CA
88538   3N1AB7APXJY299090   Nissan       SENTRA              ORLANDO                   FL
88539   3N1AB7APXJY299140   Nissan       SENTRA              Miami                     FL
88540   3N1AB7APXJY299297   Nissan       SENTRA              Detroit                   MI
88541   3N1AB7APXJY299378   Nissan       SENTRA              SHAKOPEE                  MN
88542   3N1AB7APXJY299431   Nissan       SENTRA              DENVER                    CO
88543   3N1AB7APXJY299493   Nissan       SENTRA              Davie                     FL
88544   3N1AB7APXJY300514   Nissan       SENTRA              Grove City                OH
88545   3N1AB7APXJY300545   Nissan       SENTRA              BURBANK                   CA
88546   3N1AB7APXJY300609   Nissan       SENTRA              Santa Clara               CA
88547   3N1AB7APXJY300688   Nissan       SENTRA              BURBANK                   CA
88548   3N1AB7APXJY300884   Nissan       SENTRA              Pasadena                  CA
88549   3N1AB7APXJY301341   Nissan       SENTRA              PHOENIX                   AZ
88550   3N1AB7APXJY301548   Nissan       SENTRA              Salt Lake City            UT
88551   3N1AB7APXJY301629   Nissan       SENTRA              GRAND RAPIDS              MI
88552   3N1AB7APXJY301792   Nissan       SENTRA              Florissant                MO
88553   3N1AB7APXJY301839   Nissan       SENTRA              PHOENIX                   AZ
88554   3N1AB7APXJY301954   Nissan       SENTRA              Phoenix                   AZ
88555   3N1AB7APXJY302165   Nissan       SENTRA              Londonderry               NH
88556   3N1AB7APXJY302182   Nissan       SENTRA              Atlanta                   GA
88557   3N1AB7APXJY302361   Nissan       SENTRA              Manheim                   PA
88558   3N1AB7APXJY302621   Nissan       SENTRA              LOS ANGELES               CA
88559   3N1AB7APXJY303168   Nissan       SENTRA              CHICAGO                   IL
88560   3N1AB7APXJY305485   Nissan       SENTRA              BURBANK                   CA
88561   3N1AB7APXJY308936   Nissan       SENTRA              MILWAUKEE                 WI
88562   3N1AB7APXJY309276   Nissan       SENTRA              Kansas City               MO
88563   3N1AB7APXJY309309   Nissan       SENTRA              Winston‐Salem             NC
88564   3N1AB7APXJY309469   Nissan       SENTRA              Indianapolis              IN
88565   3N1AB7APXJY309486   Nissan       SENTRA              Lynn                      MA
88566   3N1AB7APXJY309598   Nissan       SENTRA              TAMPA                     FL
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88567   3N1AB7APXJY309634   Nissan       SENTRA              Statesville               NC
88568   3N1AB7APXJY309780   Nissan       SENTRA              Riverside                 CA
88569   3N1AB7APXJY310475   Nissan       SENTRA              GRAND RAPIDS              MI
88570   3N1AB7APXJY310623   Nissan       SENTRA              North Dighton             MA
88571   3N1AB7APXJY310962   Nissan       SENTRA              NORTH HOLLYWOOD           CA
88572   3N1AB7APXJY311318   Nissan       SENTRA              BURBANK                   CA
88573   3N1AB7APXJY311321   Nissan       SENTRA              PHOENIX                   AZ
88574   3N1AB7APXJY311397   Nissan       SENTRA              DETROIT                   MI
88575   3N1AB7APXJY311755   Nissan       SENTRA              Tolleson                  AZ
88576   3N1AB7APXJY311934   Nissan       SENTRA              Lake in the Hil           IL
88577   3N1AB7APXJY312002   Nissan       SENTRA              PLEASANTON                CA
88578   3N1AB7APXJY312047   Nissan       SENTRA              Atlanta                   GA
88579   3N1AB7APXJY312100   Nissan       SENTRA              BURBANK                   CA
88580   3N1AB7APXJY312243   Nissan       SENTRA              ONTARIO                   CA
88581   3N1AB7APXJY312341   Nissan       SENTRA              Indianapolis              IN
88582   3N1AB7APXJY312422   Nissan       SENTRA              DETROIT                   MI
88583   3N1AB7APXJY312694   Nissan       SENTRA              NORTH PAC                 CA
88584   3N1AB7APXJY313036   Nissan       SENTRA              PROVIDENCE                RI
88585   3N1AB7APXJY313389   Nissan       SENTRA              Tucson                    AZ
88586   3N1AB7APXJY313764   Nissan       SENTRA              SANTA ANA                 CA
88587   3N1AB7APXJY313845   Nissan       SENTRA              DENVER                    CO
88588   3N1AB7APXJY313988   Nissan       SENTRA              Los Angeles               CA
88589   3N1AB7APXJY314395   Nissan       SENTRA              Burien                    WA
88590   3N1AB7APXJY314753   Nissan       SENTRA              WOODLAND HILLS            CA
88591   3N1AB7APXJY314770   Nissan       SENTRA              ONTARIO, RIVERSIDE        CA
88592   3N1AB7APXJY314977   Nissan       SENTRA              INGLEWOOD                 CA
88593   3N1AB7APXJY315028   Nissan       SENTRA              DANIA BEACH               FL
88594   3N1AB7APXJY315594   Nissan       SENTRA              PLEASANTON                CA
88595   3N1AB7APXJY324411   Nissan       SENTRA              MIAMI                     FL
88596   3N1AB7APXJY324439   Nissan       SENTRA              DENVER                    CO
88597   3N1AB7APXJY324490   Nissan       SENTRA              TAMPA                     FL
88598   3N1AB7APXJY324523   Nissan       SENTRA              NORTH PAC                 CA
88599   3N1AB7APXJY324571   Nissan       SENTRA              Chandler                  AZ
88600   3N1AB7APXJY324747   Nissan       SENTRA              DETROIT                   MI
88601   3N1AB7APXJY325008   Nissan       SENTRA              Phoenix                   AZ
88602   3N1AB7APXJY325185   Nissan       SENTRA              Baltimore                 MD
88603   3N1AB7APXJY325204   Nissan       SENTRA              Woodbridge Town           NJ
88604   3N1AB7APXJY325333   Nissan       SENTRA              SAN JOSE                  CA
88605   3N1AB7APXJY325431   Nissan       SENTRA              BOSTON                    MA
88606   3N1AB7APXJY325624   Nissan       SENTRA              Newark                    NJ
88607   3N1AB7APXJY325770   Nissan       SENTRA              FORT LAUDERDALE           FL
88608   3N1AB7APXJY325929   Nissan       SENTRA              Downey                    CA
88609   3N1AB7APXJY326109   Nissan       SENTRA              PHILADELPHIA              PA
88610   3N1AB7APXJY326112   Nissan       SENTRA              Richmond                  VA
88611   3N1AB7APXJY326319   Nissan       SENTRA              HARVEY                    LA
88612   3N1AB7APXJY326370   Nissan       SENTRA              SAN JOSE                  CA
88613   3N1AB7APXJY326417   Nissan       SENTRA              Charlotte                 NC
88614   3N1AB7APXJY326479   Nissan       SENTRA              Tolleson                  AZ
88615   3N1AB7APXJY326532   Nissan       SENTRA              Hamilton                  OH
88616   3N1AB7APXJY326627   Nissan       SENTRA              ORLANDO                   FL
88617   3N1AB7APXJY326790   Nissan       SENTRA              Aurora                    CO
88618   3N1AB7APXJY326854   Nissan       SENTRA              Tolleson                  AZ
88619   3N1AB7APXJY326871   Nissan       SENTRA              SAINT PAUL                MN
88620   3N1AB7APXJY327180   Nissan       SENTRA              BRONX                     NY
88621   3N1AB7APXJY327390   Nissan       SENTRA              Indianapolis              IN
88622   3N1AB7APXJY327521   Nissan       SENTRA              Woodhaven                 MI
88623   3N1AB7APXJY327583   Nissan       SENTRA              ORLANDO                   FL
88624   3N1AB7APXJY327597   Nissan       SENTRA              WEST PALM BEACH           FL
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88625   3N1AB7APXJY328023   Nissan       SENTRA              WEST PALM BEACH           FL
88626   3N1AB7APXJY328104   Nissan       SENTRA              FORT LAUDERDALE           FL
88627   3N1AB7APXJY328149   Nissan       SENTRA              CHICAGO                   IL
88628   3N1AB7APXJY328605   Nissan       SENTRA              Atlanta                   GA
88629   3N1AB7APXJY328894   Nissan       SENTRA              TULSA                     OK
88630   3N1AB7APXJY329026   Nissan       SENTRA              North Las Vegas           NV
88631   3N1AB7APXJY329141   Nissan       SENTRA              BURBANK                   CA
88632   3N1AB7APXJY329205   Nissan       SENTRA              TAMPA                     FL
88633   3N1AB7APXJY329818   Nissan       SENTRA              PHILADELPHIA              PA
88634   3N1AB7APXJY329933   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
88635   3N1AB7APXJY329964   Nissan       SENTRA              NORTH PAC                 CA
88636   3N1AB7APXJY330001   Nissan       SENTRA              PHILADELPHIA              PA
88637   3N1AB7APXJY330127   Nissan       SENTRA              FORT LAUDERDALE           FL
88638   3N1AB7APXJY330337   Nissan       SENTRA              SAN DIEGO                 CA
88639   3N1AB7APXJY330631   Nissan       SENTRA              BURBANK                   CA
88640   3N1AB7APXJY330676   Nissan       SENTRA              TUCSON                    AZ
88641   3N1AB7APXJY330872   Nissan       SENTRA              Smithtown                 NY
88642   3N1AB7APXJY331410   Nissan       SENTRA              Las Vegas                 NV
88643   3N1AB7APXJY331651   Nissan       SENTRA              Rock Hill                 SC
88644   3N1AB7APXJY331892   Nissan       SENTRA              St. Louis                 MO
88645   3N1AB7APXJY332041   Nissan       SENTRA              Bridgeton                 MO
88646   3N1AB7APXJY332119   Nissan       SENTRA              BURBANK                   CA
88647   3N1AB7APXJY332167   Nissan       SENTRA              Englewood                 CO
88648   3N1AB7APXJY332265   Nissan       SENTRA              ROSWELL                   GA
88649   3N1AB7APXJY332363   Nissan       SENTRA              LOUISVILLE                KY
88650   3N1AB7APXJY337000   Nissan       SENTRA              Chicago                   IL
88651   3N1AB7APXKY240624   Nissan       SENTRA              TAMPA                     FL
88652   3N1AB7APXKY242082   Nissan       SENTRA              TAMPA                     FL
88653   3N1AB7APXKY242115   Nissan       SENTRA              Atlanta                   GA
88654   3N1AB7APXKY242177   Nissan       SENTRA              FORT MYERS                FL
88655   3N1AB7APXKY242602   Nissan       SENTRA              Orlando                   FL
88656   3N1AB7APXKY243359   Nissan       SENTRA              WEST PALM BEACH           FL
88657   3N1AB7APXKY243796   Nissan       SENTRA              Anaheim                   CA
88658   3N1AB7APXKY244205   Nissan       SENTRA              DALLAS                    TX
88659   3N1AB7APXKY244964   Nissan       SENTRA              KENNER                    LA
88660   3N1AB7APXKY245094   Nissan       SENTRA              KALAOA                    HI
88661   3N1AB7APXKY245368   Nissan       SENTRA              LAS VEGAS                 NV
88662   3N1AB7APXKY268696   Nissan       SENTRA              HILO                      HI
88663   3N1AB7APXKY268925   Nissan       SENTRA              Huntington Stat           NY
88664   3N1AB7APXKY269623   Nissan       SENTRA              HILO                      HI
88665   3N1AB7APXKY269685   Nissan       SENTRA              KALAOA                    HI
88666   3N1AB7APXKY269721   Nissan       SENTRA              HILO                      HI
88667   3N1AB7APXKY269802   Nissan       SENTRA              KALAOA                    HI
88668   3N1AB7APXKY269928   Nissan       SENTRA              KALAOA                    HI
88669   3N1AB7APXKY294232   Nissan       SENTRA              TULSA                     OK
88670   3N1AB7APXKY294974   Nissan       SENTRA              SUWANEE                   GA
88671   3N1AB7APXKY295106   Nissan       SENTRA              SOUTHEAST DST OFFC        OK
88672   3N1AB7APXKY296255   Nissan       SENTRA              NAPLES                    FL
88673   3N1AB7APXKY296840   Nissan       SENTRA              PHOENIX                   AZ
88674   3N1AB7APXKY298104   Nissan       SENTRA              Louisville                KY
88675   3N1AB7APXKY298412   Nissan       SENTRA              DENVER                    CO
88676   3N1AB7APXKY298703   Nissan       SENTRA              PHOENIX                   AZ
88677   3N1AB7APXKY299091   Nissan       SENTRA              ORLANDO                   FL
88678   3N1AB7APXKY299107   Nissan       SENTRA              TUCSON                    AZ
88679   3N1AB7APXKY300319   Nissan       SENTRA              Newark                    NJ
88680   3N1AB7APXKY300577   Nissan       SENTRA              Brighton                  CO
88681   3N1AB7APXKY301017   Nissan       SENTRA              Charlotte                 NC
88682   3N1AB7APXKY302121   Nissan       SENTRA              PHOENIX                   AZ
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88683   3N1AB7APXKY302295   Nissan       SENTRA              COLUMBIA                  SC
88684   3N1AB7APXKY302555   Nissan       SENTRA              DALLAS                    TX
88685   3N1AB7APXKY302622   Nissan       SENTRA              Atlanta                   GA
88686   3N1AB7APXKY304533   Nissan       SENTRA              Arlington                 WA
88687   3N1AB7APXKY304970   Nissan       SENTRA              LAS VEGAS                 NV
88688   3N1AB7APXKY304984   Nissan       SENTRA              Denver                    CO
88689   3N1AB7APXKY305164   Nissan       SENTRA              Ventura                   CA
88690   3N1AB7APXKY305598   Nissan       SENTRA              PITTSBURGH                PA
88691   3N1AB7APXKY305861   Nissan       SENTRA              FORT MYERS                FL
88692   3N1AB7APXKY306640   Nissan       SENTRA              MEBANE                    NC
88693   3N1AB7APXKY307464   Nissan       SENTRA              Chicago                   IL
88694   3N1AB7APXKY308145   Nissan       SENTRA              LOUISVILLE                KY
88695   3N1AB7APXKY309070   Nissan       SENTRA              STERLING                  VA
88696   3N1AB7APXKY310882   Nissan       SENTRA              St. Louis                 MO
88697   3N1AB7APXKY312082   Nissan       SENTRA              ANCHORAGE                 AK
88698   3N1AB7APXKY313443   Nissan       SENTRA              SEATTLE                   WA
88699   3N1AB7APXKY313751   Nissan       SENTRA              Davie                     FL
88700   3N1AB7APXKY313975   Nissan       SENTRA              Los Angeles               CA
88701   3N1AB7APXKY315225   Nissan       SENTRA              Portland                  OR
88702   3N1AB7APXKY315600   Nissan       SENTRA              MEDINA                    OH
88703   3N1AB7APXKY316777   Nissan       SENTRA              ELLWOOD CITY              PA
88704   3N1AB7APXKY317668   Nissan       SENTRA              CHICAGO                   IL
88705   3N1AB7APXKY318349   Nissan       SENTRA              TAMPA                     FL
88706   3N1AB7APXKY319596   Nissan       SENTRA              DALLAS                    TX
88707   3N1AB7APXKY321865   Nissan       SENTRA              Des Moines                IA
88708   3N1AB7APXKY323289   Nissan       SENTRA              ANCHORAGE                 AK
88709   3N1AB7APXKY324443   Nissan       SENTRA              Slidell                   LA
88710   3N1AB7APXKY325009   Nissan       SENTRA              AUSTIN                    TX
88711   3N1AB7APXKY325950   Nissan       SENTRA              TUCSON                    AZ
88712   3N1AB7APXKY337449   Nissan       SENTRA              BURBANK                   CA
88713   3N1AB7APXKY338679   Nissan       SENTRA              LOS ANGELES               CA
88714   3N1AB7APXKY339041   Nissan       SENTRA              Baltimore                 MD
88715   3N1AB7APXKY341713   Nissan       SENTRA              FORT LAUDERDALE           FL
88716   3N1AB7APXKY341761   Nissan       SENTRA              Allentown                 PA
88717   3N1AB7APXKY342277   Nissan       SENTRA              LAS VEGAS                 NV
88718   3N1AB7APXKY342280   Nissan       SENTRA              BURBANK                   CA
88719   3N1AB7APXKY342778   Nissan       SENTRA              Newport Beach             CA
88720   3N1AB7APXKY343090   Nissan       SENTRA              Los Angeles               CA
88721   3N1AB7APXKY343154   Nissan       SENTRA              Hayward                   CA
88722   3N1AB7APXKY344417   Nissan       SENTRA              SACRAMENTO                CA
88723   3N1AB7APXKY344742   Nissan       SENTRA              PORTLAND                  OR
88724   3N1AB7APXKY344806   Nissan       SENTRA              Anaheim                   CA
88725   3N1AB7APXKY344840   Nissan       SENTRA              Sacramento                CA
88726   3N1AB7APXKY344921   Nissan       SENTRA              PORTLAND                  OR
88727   3N1AB7APXKY350539   Nissan       SENTRA              Miami                     FL
88728   3N1AB7APXKY350721   Nissan       SENTRA              Syracuse                  NY
88729   3N1AB7APXKY352906   Nissan       SENTRA              Winter Park               FL
88730   3N1AB7APXKY353439   Nissan       SENTRA              PITTSBURGH                PA
88731   3N1AB7APXKY354428   Nissan       SENTRA              Rock Hill                 SC
88732   3N1AB7APXKY355093   Nissan       SENTRA              Salt Lake City            UT
88733   3N1AB7APXKY355207   Nissan       SENTRA              PHILADELPHIA              PA
88734   3N1AB7APXKY358799   Nissan       SENTRA              PHILADELPHIA              PA
88735   3N1AB7APXKY358964   Nissan       SENTRA              NORTH PAC                 CA
88736   3N1AB7APXKY361301   Nissan       SENTRA              Florissant                MO
88737   3N1AB7APXKY363775   Nissan       SENTRA              Slidell                   LA
88738   3N1CB7AP6HY385919   Nissan       SENTRA              HANOVER                   MD
88739   3N1CE2CP0JL360704   Nissan       VERSA               San Antonio               TX
88740   3N1CE2CP0JL368088   Nissan       VERSA               Honolulu                  HI
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88741   3N1CE2CP0JL368107   Nissan       VERSA               KAHULUI                   HI
88742   3N1CE2CP0JL368267   Nissan       VERSA               KAUAI                     HI
88743   3N1CE2CP0JL368334   Nissan       VERSA               Kahului                   HI
88744   3N1CE2CP0JL368348   Nissan       VERSA               Kahului                   HI
88745   3N1CE2CP0JL368687   Nissan       VERSA               ONTARIO                   CA
88746   3N1CE2CP0JL369760   Nissan       VERSA               LAS VEGAS                 NV
88747   3N1CE2CP0JL369788   Nissan       VERSA               LOS ANGELES               CA
88748   3N1CE2CP0JL370617   Nissan       VERSA               Florissant                MO
88749   3N1CE2CP1JL361179   Nissan       VERSA               Atlanta                   GA
88750   3N1CE2CP1JL363546   Nissan       VERSA               Elkridge                  MD
88751   3N1CE2CP1JL365927   Nissan       VERSA               San Antonio               TX
88752   3N1CE2CP1JL366298   Nissan       VERSA               SACRAMENTO                CA
88753   3N1CE2CP1JL367998   Nissan       VERSA               KAHULUI                   HI
88754   3N1CE2CP1JL368004   Nissan       VERSA               HONOLULU                  HI
88755   3N1CE2CP1JL368164   Nissan       VERSA               HONOLULU                  HI
88756   3N1CE2CP1JL368178   Nissan       VERSA               KAUAI                     HI
88757   3N1CE2CP1JL368181   Nissan       VERSA               KAUAI                     HI
88758   3N1CE2CP1JL368195   Nissan       VERSA               LIHUE AP KAUAI            HI
88759   3N1CE2CP1JL368228   Nissan       VERSA               Lihue                     HI
88760   3N1CE2CP1JL368231   Nissan       VERSA               Sacramento                CA
88761   3N1CE2CP1JL368245   Nissan       VERSA               KAHULUI                   HI
88762   3N1CE2CP1JL368259   Nissan       VERSA               LIHUE                     HI
88763   3N1CE2CP1JL368360   Nissan       VERSA               KAUAI                     HI
88764   3N1CE2CP1JL369282   Nissan       VERSA               Fresno                    CA
88765   3N1CE2CP1JL369475   Nissan       VERSA               North Las Vegas           NV
88766   3N1CE2CP1JL369489   Nissan       VERSA               Ontario                   CA
88767   3N1CE2CP1JL369606   Nissan       VERSA               TAMPA                     FL
88768   3N1CE2CP1JL369816   Nissan       VERSA               DALLAS                    TX
88769   3N1CE2CP1JL370108   Nissan       VERSA               MILWAUKEE                 WI
88770   3N1CE2CP1JL370125   Nissan       VERSA               FORT MYERS                FL
88771   3N1CE2CP1JL370402   Nissan       VERSA               SAN JOSE                  CA
88772   3N1CE2CP1JL370450   Nissan       VERSA               Atlanta                   GA
88773   3N1CE2CP1JL370478   Nissan       VERSA               FLORIDA DEALER DIR        FL
88774   3N1CE2CP1JL370769   Nissan       VERSA               Florissant                MO
88775   3N1CE2CP2JL359943   Nissan       VERSA               Miami                     FL
88776   3N1CE2CP2JL363524   Nissan       VERSA               KNOXVILLE                 TN
88777   3N1CE2CP2JL363555   Nissan       VERSA               Warminster                PA
88778   3N1CE2CP2JL366049   Nissan       VERSA               Atlanta                   GA
88779   3N1CE2CP2JL366181   Nissan       VERSA               JACKSONVILLE              FL
88780   3N1CE2CP2JL366455   Nissan       VERSA               WEST PALM BEACH           FL
88781   3N1CE2CP2JL367041   Nissan       VERSA               Honolulu                  HI
88782   3N1CE2CP2JL368058   Nissan       VERSA               Honolulu                  HI
88783   3N1CE2CP2JL368075   Nissan       VERSA               KAHULUI                   HI
88784   3N1CE2CP2JL368108   Nissan       VERSA               Lihue                     HI
88785   3N1CE2CP2JL368139   Nissan       VERSA               Lihue                     HI
88786   3N1CE2CP2JL368156   Nissan       VERSA               LIHUE AP KAUAI            HI
88787   3N1CE2CP2JL368318   Nissan       VERSA               KAHULUI                   HI
88788   3N1CE2CP2JL368416   Nissan       VERSA               LIHUE                     HI
88789   3N1CE2CP2JL368707   Nissan       VERSA               KAUAI                     HI
88790   3N1CE2CP2JL368917   Nissan       VERSA               SAN DIEGO                 CA
88791   3N1CE2CP2JL369288   Nissan       VERSA               LOS ANGELES               CA
88792   3N1CE2CP2JL369291   Nissan       VERSA               SAN JOSE                  CA
88793   3N1CE2CP2JL369551   Nissan       VERSA               FRESNO                    CA
88794   3N1CE2CP2JL369663   Nissan       VERSA               BIRMINGHAM                AL
88795   3N1CE2CP2JL369775   Nissan       VERSA               SACRAMENTO                CA
88796   3N1CE2CP2JL369811   Nissan       VERSA               Sanford                   FL
88797   3N1CE2CP2JL370036   Nissan       VERSA               PHOENIX                   AZ
88798   3N1CE2CP2JL370148   Nissan       VERSA               LAS VEGAS                 NV
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88799   3N1CE2CP2JL370182   Nissan       VERSA               Atlanta                   GA
88800   3N1CE2CP2JL370411   Nissan       VERSA               Matteson                  IL
88801   3N1CE2CP2JL370568   Nissan       VERSA               SACRAMENTO                CA
88802   3N1CE2CP2JL370912   Nissan       VERSA               ORLANDO                   FL
88803   3N1CE2CP3JL364309   Nissan       VERSA               San Diego                 CA
88804   3N1CE2CP3JL365492   Nissan       VERSA               PHOENIX                   AZ
88805   3N1CE2CP3JL367985   Nissan       VERSA               Honolulu                  HI
88806   3N1CE2CP3JL368022   Nissan       VERSA               HONOLULU                  HI
88807   3N1CE2CP3JL368098   Nissan       VERSA               SEATTLE                   WA
88808   3N1CE2CP3JL368165   Nissan       VERSA               KAHULUI                   HI
88809   3N1CE2CP3JL368196   Nissan       VERSA               LIHUE AP KAUAI            HI
88810   3N1CE2CP3JL368263   Nissan       VERSA               KAHULUI                   HI
88811   3N1CE2CP3JL368313   Nissan       VERSA               KAUAI                     HI
88812   3N1CE2CP3JL368599   Nissan       VERSA               LIHUE AP KAUAI            HI
88813   3N1CE2CP3JL368666   Nissan       VERSA               LIHUE AP KAUAI            HI
88814   3N1CE2CP3JL368697   Nissan       VERSA               LIHUE                     HI
88815   3N1CE2CP3JL368831   Nissan       VERSA               Las Vegas                 NV
88816   3N1CE2CP3JL370210   Nissan       VERSA               Sacramento                CA
88817   3N1CE2CP3JL370255   Nissan       VERSA               Birmingham                AL
88818   3N1CE2CP3JL370577   Nissan       VERSA               Killeen                   TX
88819   3N1CE2CP4HL372705   Nissan       VERSA               NEW ENGLAND DEALER        MA
88820   3N1CE2CP4JL362424   Nissan       VERSA               SAN FRANCISCO             CA
88821   3N1CE2CP4JL363251   Nissan       VERSA               ORLANDO                   FL
88822   3N1CE2CP4JL363279   Nissan       VERSA               PHILADELPHIA              US
88823   3N1CE2CP4JL367042   Nissan       VERSA               HONOLULU                  HI
88824   3N1CE2CP4JL368000   Nissan       VERSA               HONOLULU                  HI
88825   3N1CE2CP4JL368112   Nissan       VERSA               KAHULUI                   HI
88826   3N1CE2CP4JL368188   Nissan       VERSA               LIHUE                     HI
88827   3N1CE2CP4JL368210   Nissan       VERSA               LOS ANGELES               CA
88828   3N1CE2CP4JL368238   Nissan       VERSA               LIHUE AP KAUAI            HI
88829   3N1CE2CP4JL368367   Nissan       VERSA               LIHUE AP KAUAI            HI
88830   3N1CE2CP4JL368448   Nissan       VERSA               HONOLULU                  HI
88831   3N1CE2CP4JL368479   Nissan       VERSA               PHOENIX                   AZ
88832   3N1CE2CP4JL368529   Nissan       VERSA               HONOLULU                  HI
88833   3N1CE2CP4JL368692   Nissan       VERSA               KAUAI                     HI
88834   3N1CE2CP4JL368773   Nissan       VERSA               Fontana                   CA
88835   3N1CE2CP4JL368806   Nissan       VERSA               KAUAI                     HI
88836   3N1CE2CP4JL369275   Nissan       VERSA               WEST PALM BEACH           FL
88837   3N1CE2CP4JL369387   Nissan       VERSA               OAKLAND                   CA
88838   3N1CE2CP4JL369549   Nissan       VERSA               San Diego                 CA
88839   3N1CE2CP4JL369681   Nissan       VERSA               Oceanside                 CA
88840   3N1CE2CP4JL369888   Nissan       VERSA               BURLINGAME                CA
88841   3N1CE2CP4JL370068   Nissan       VERSA               JACKSONVILLE              FL
88842   3N1CE2CP4JL370071   Nissan       VERSA               PHOENIX                   AZ
88843   3N1CE2CP4JL370183   Nissan       VERSA               JACKSONVILLE              FL
88844   3N1CE2CP4JL370247   Nissan       VERSA               Charlotte                 NC
88845   3N1CE2CP4JL370409   Nissan       VERSA               ORLANDO                   FL
88846   3N1CE2CP4JL370734   Nissan       VERSA               TAMPA                     FL
88847   3N1CE2CP4JL370748   Nissan       VERSA               FORT LAUDERDALE           FL
88848   3N1CE2CP4JL370782   Nissan       VERSA               CLARKSVILLE               IN
88849   3N1CE2CP4JL370815   Nissan       VERSA               Lake Elsinore             CA
88850   3N1CE2CP5FL397190   Nissan       VERSA               San Antonio               TX
88851   3N1CE2CP5JL361010   Nissan       VERSA               Columbus                  OH
88852   3N1CE2CP5JL363873   Nissan       VERSA               Kansas City               MO
88853   3N1CE2CP5JL365946   Nissan       VERSA               Beaverton                 OR
88854   3N1CE2CP5JL366143   Nissan       VERSA               Dallas                    TX
88855   3N1CE2CP5JL366451   Nissan       VERSA               JACKSONVILLE              FL
88856   3N1CE2CP5JL367924   Nissan       VERSA               Honolulu                  HI
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88857   3N1CE2CP5JL368006   Nissan       VERSA               KAHULUI MAUI              HI
88858   3N1CE2CP5JL368085   Nissan       VERSA               LIHUE                     HI
88859   3N1CE2CP5JL368829   Nissan       VERSA               Riverside                 CA
88860   3N1CE2CP5JL369799   Nissan       VERSA               SAN FRANCISCO             CA
88861   3N1CE2CP5JL369852   Nissan       VERSA               Hayward                   CA
88862   3N1CE2CP5JL370063   Nissan       VERSA               OAKLAND                   CA
88863   3N1CE2CP5JL370127   Nissan       VERSA               PHOENIX                   AZ
88864   3N1CE2CP5JL370130   Nissan       VERSA               Atlanta                   GA
88865   3N1CE2CP5JL370239   Nissan       VERSA               PHOENIX                   AZ
88866   3N1CE2CP5JL370337   Nissan       VERSA               WEST PALM BEACH           FL
88867   3N1CE2CP5JL370502   Nissan       VERSA               LAS VEGAS                 NV
88868   3N1CE2CP5JL370533   Nissan       VERSA               Detroit                   MI
88869   3N1CE2CP5JL370824   Nissan       VERSA               Detroit                   MI
88870   3N1CE2CP5JL370905   Nissan       VERSA               Detroit                   MI
88871   3N1CE2CP6HL356232   Nissan       VERSA               LEHIGH ACRES              FL
88872   3N1CE2CP6JL360500   Nissan       VERSA               Sterling                  VA
88873   3N1CE2CP6JL363803   Nissan       VERSA               Leesburg                  VA
88874   3N1CE2CP6JL364319   Nissan       VERSA               DENVER                    CO
88875   3N1CE2CP6JL368032   Nissan       VERSA               North Las Vegas           NV
88876   3N1CE2CP6JL368113   Nissan       VERSA               KAUAI                     HI
88877   3N1CE2CP6JL368130   Nissan       VERSA               KAUAI                     HI
88878   3N1CE2CP6JL368189   Nissan       VERSA               LIHUE AP KAUAI            HI
88879   3N1CE2CP6JL368337   Nissan       VERSA               KAUAI                     HI
88880   3N1CE2CP6JL368354   Nissan       VERSA               Honolulu                  HI
88881   3N1CE2CP6JL368564   Nissan       VERSA               Atlanta                   GA
88882   3N1CE2CP6JL368676   Nissan       VERSA               KAUAI                     HI
88883   3N1CE2CP6JL368693   Nissan       VERSA               SEATTLE                   WA
88884   3N1CE2CP6JL368807   Nissan       VERSA               Sacramento                CA
88885   3N1CE2CP6JL368810   Nissan       VERSA               LIHUE AP KAUAI            HI
88886   3N1CE2CP6JL368919   Nissan       VERSA               Florissant                MO
88887   3N1CE2CP6JL369360   Nissan       VERSA               PHOENIX                   AZ
88888   3N1CE2CP6JL369455   Nissan       VERSA               Harvey                    LA
88889   3N1CE2CP6JL369875   Nissan       VERSA               SAN FRANCISCO             CA
88890   3N1CE2CP6JL370394   Nissan       VERSA               TAMPA                     FL
88891   3N1CE2CP7GL370722   Nissan       VERSA               Fredericksburg            VA
88892   3N1CE2CP7JL359582   Nissan       VERSA               DAYTONA BEACH             FL
88893   3N1CE2CP7JL363664   Nissan       VERSA               FORT LAUDERDALE           FL
88894   3N1CE2CP7JL364233   Nissan       VERSA               COLUMBIA                  SC
88895   3N1CE2CP7JL366662   Nissan       VERSA               Warminster                PA
88896   3N1CE2CP7JL368024   Nissan       VERSA               HONOLULU                  HI
88897   3N1CE2CP7JL368072   Nissan       VERSA               Honolulu                  HI
88898   3N1CE2CP7JL368248   Nissan       VERSA               LIHUE AP KAUAI            HI
88899   3N1CE2CP7JL368329   Nissan       VERSA               Lihue                     HI
88900   3N1CE2CP7JL368346   Nissan       VERSA               Honolulu                  HI
88901   3N1CE2CP7JL368735   Nissan       VERSA               PHOENIX                   AZ
88902   3N1CE2CP7JL369268   Nissan       VERSA               ONTARIO                   CA
88903   3N1CE2CP7JL369335   Nissan       VERSA               Salt Lake City            UT
88904   3N1CE2CP7JL369349   Nissan       VERSA               PLEASANTON                CA
88905   3N1CE2CP7JL369481   Nissan       VERSA               OAKLAND                   CA
88906   3N1CE2CP7JL369500   Nissan       VERSA               SAN JOSE                  CA
88907   3N1CE2CP7JL369951   Nissan       VERSA               SAN DIEGO                 CA
88908   3N1CE2CP7JL370095   Nissan       VERSA               FORT MYERS                FL
88909   3N1CE2CP7JL370176   Nissan       VERSA               SAN DIEGO                 CA
88910   3N1CE2CP7JL370419   Nissan       VERSA               Leroy                     NY
88911   3N1CE2CP7JL370596   Nissan       VERSA               Warminster                PA
88912   3N1CE2CP7JL370632   Nissan       VERSA               PHOENIX                   AZ
88913   3N1CE2CP7JL370713   Nissan       VERSA               ORLANDO                   FL
88914   3N1CE2CP8JL360000   Nissan       VERSA               Ft. Myers                 FL
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88915   3N1CE2CP8JL365892   Nissan       VERSA               FORT MYERS                FL
88916   3N1CE2CP8JL368100   Nissan       VERSA               Honolulu                  HI
88917   3N1CE2CP8JL368114   Nissan       VERSA               KAHULUI                   HI
88918   3N1CE2CP8JL368145   Nissan       VERSA               SAN DIEGO                 CA
88919   3N1CE2CP8JL368162   Nissan       VERSA               KAUAI                     HI
88920   3N1CE2CP8JL368176   Nissan       VERSA               LOS ANGELES               CA
88921   3N1CE2CP8JL368310   Nissan       VERSA               LIHUE AP KAUAI            HI
88922   3N1CE2CP8JL368520   Nissan       VERSA               KAUAI                     HI
88923   3N1CE2CP8JL368551   Nissan       VERSA               OAKLAND                   CA
88924   3N1CE2CP8JL368601   Nissan       VERSA               ONTARIO                   CA
88925   3N1CE2CP8JL368663   Nissan       VERSA               KAUAI                     HI
88926   3N1CE2CP8JL368839   Nissan       VERSA               SANTA ANA                 CA
88927   3N1CE2CP8JL369442   Nissan       VERSA               OAKLAND                   CA
88928   3N1CE2CP8JL369683   Nissan       VERSA               NORTH PAC                 CA
88929   3N1CE2CP8JL369862   Nissan       VERSA               Phoenix                   AZ
88930   3N1CE2CP8JL370123   Nissan       VERSA               WINTER PARK               FL
88931   3N1CE2CP8JL370154   Nissan       VERSA               ATLANTA                   GA
88932   3N1CE2CP8JL370185   Nissan       VERSA               NAPLES                    FL
88933   3N1CE2CP8JL370333   Nissan       VERSA               Florissant                MO
88934   3N1CE2CP8JL370445   Nissan       VERSA               TAMPA                     FL
88935   3N1CE2CP8JL370865   Nissan       VERSA               SALT LAKE CITY            UT
88936   3N1CE2CP8JL370896   Nissan       VERSA               AUSTIN                    TX
88937   3N1CE2CP9HL376281   Nissan       VERSA               MORROW                    GA
88938   3N1CE2CP9HL377964   Nissan       VERSA               ORLANDO                   FL
88939   3N1CE2CP9HL379455   Nissan       VERSA               RALIEGH                   NC
88940   3N1CE2CP9JL367733   Nissan       VERSA               Honolulu                  HI
88941   3N1CE2CP9JL367909   Nissan       VERSA               HONOLULU                  HI
88942   3N1CE2CP9JL368008   Nissan       VERSA               HONOLULU                  HI
88943   3N1CE2CP9JL368011   Nissan       VERSA               HONOLULU                  HI
88944   3N1CE2CP9JL368056   Nissan       VERSA               Honolulu                  HI
88945   3N1CE2CP9JL368140   Nissan       VERSA               KAUAI                     HI
88946   3N1CE2CP9JL368252   Nissan       VERSA               Fontana                   CA
88947   3N1CE2CP9JL368476   Nissan       VERSA               SAN JOSE                  CA
88948   3N1CE2CP9JL368624   Nissan       VERSA               LIHUE AP KAUAI            HI
88949   3N1CE2CP9JL368767   Nissan       VERSA               KAHULUI                   HI
88950   3N1CE2CP9JL368817   Nissan       VERSA               ONTARIO                   CA
88951   3N1CE2CP9JL368932   Nissan       VERSA               San Diego                 CA
88952   3N1CE2CP9JL369451   Nissan       VERSA               BURBANK                   CA
88953   3N1CE2CP9JL369577   Nissan       VERSA               FORT MYERS                FL
88954   3N1CE2CP9JL370017   Nissan       VERSA               WEST PALM BEACH           FL
88955   3N1CE2CP9JL370180   Nissan       VERSA               Detroit                   MI
88956   3N1CE2CP9JL370213   Nissan       VERSA               DETROIT                   MI
88957   3N1CE2CP9JL370423   Nissan       VERSA               CHICAGO                   IL
88958   3N1CE2CP9JL370809   Nissan       VERSA               TAMPA                     FL
88959   3N1CE2CPXHL375835   Nissan       VERSA               DARLINGTON                SC
88960   3N1CE2CPXJL359608   Nissan       VERSA               ATLANTA                   GA
88961   3N1CE2CPXJL365134   Nissan       VERSA               Tampa                     FL
88962   3N1CE2CPXJL367840   Nissan       VERSA               Honolulu                  HI
88963   3N1CE2CPXJL368101   Nissan       VERSA               KAUAI                     HI
88964   3N1CE2CPXJL368194   Nissan       VERSA               Lihue                     HI
88965   3N1CE2CPXJL368213   Nissan       VERSA               LIHUE                     HI
88966   3N1CE2CPXJL368583   Nissan       VERSA               SANTA ANA                 CA
88967   3N1CE2CPXJL368695   Nissan       VERSA               LIHUE                     HI
88968   3N1CE2CPXJL369829   Nissan       VERSA               Houston                   TX
88969   3N1CE2CPXJL369894   Nissan       VERSA               PLEASANTON                CA
88970   3N1CE2CPXJL370074   Nissan       VERSA               Atlanta                   GA
88971   3N1CE2CPXJL370155   Nissan       VERSA               ORLANDO                   FL
88972   3N1CE2CPXJL370186   Nissan       VERSA               Orlando                   FL
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88973   3N1CN7AP0GL851119   Nissan       VERSA               Raleigh                   NC
88974   3N1CN7AP0JK425699   Nissan       VERSA               ORLANDO                   FL
88975   3N1CN7AP0JK427971   Nissan       VERSA               WEST PALM BEACH           FL
88976   3N1CN7AP0JK428053   Nissan       VERSA               ORLANDO                   FL
88977   3N1CN7AP0JK429977   Nissan       VERSA               FORT MYERS                FL
88978   3N1CN7AP0JK431678   Nissan       VERSA               Rock Hill                 SC
88979   3N1CN7AP0JK431891   Nissan       VERSA               Chicago                   IL
88980   3N1CN7AP0JK433348   Nissan       VERSA               Albuquerque               NM
88981   3N1CN7AP0JK437142   Nissan       VERSA               ORLANDO                   FL
88982   3N1CN7AP0JK437318   Nissan       VERSA               Kansas City               MO
88983   3N1CN7AP0JK437416   Nissan       VERSA               NEW YORK CITY             NY
88984   3N1CN7AP0JK439442   Nissan       VERSA               CHARLOTTE                 NC
88985   3N1CN7AP0JK440204   Nissan       VERSA               Hayward                   CA
88986   3N1CN7AP0JK440638   Nissan       VERSA               Sacramento                CA
88987   3N1CN7AP0JK440672   Nissan       VERSA               LAS VEGAS                 NV
88988   3N1CN7AP0JK440820   Nissan       VERSA               Sacramento                CA
88989   3N1CN7AP0JK441269   Nissan       VERSA               DAYTONA BEACH             FL
88990   3N1CN7AP0JK441871   Nissan       VERSA               SAN DIEGO                 CA
88991   3N1CN7AP0JK442681   Nissan       VERSA               Kahului                   HI
88992   3N1CN7AP0JK443653   Nissan       VERSA               KAHULUI                   HI
88993   3N1CN7AP0JL817110   Nissan       SENTRA              Davie                     FL
88994   3N1CN7AP0JL824851   Nissan       VERSA               KAHULUI                   HI
88995   3N1CN7AP0JL826597   Nissan       VERSA               NAPLES                    FL
88996   3N1CN7AP0JL827622   Nissan       VERSA               MIAMI                     FL
88997   3N1CN7AP0JL830536   Nissan       VERSA               FORT MYERS                FL
88998   3N1CN7AP0JL831900   Nissan       VERSA               Smithtown                 NY
88999   3N1CN7AP0JL833839   Nissan       VERSA               Maple Grove               MN
89000   3N1CN7AP0JL835283   Nissan       VERSA               N. Palm Beach             FL
89001   3N1CN7AP0JL837387   Nissan       VERSA               Estero                    FL
89002   3N1CN7AP0JL838572   Nissan       VERSA               TAMPA                     FL
89003   3N1CN7AP0JL839138   Nissan       VERSA               ATLANTA                   GA
89004   3N1CN7AP0JL839169   Nissan       VERSA               HONOLULU                  HI
89005   3N1CN7AP0JL840550   Nissan       VERSA               ORLANDO                   FL
89006   3N1CN7AP0JL840855   Nissan       VERSA               Statesville               NC
89007   3N1CN7AP0JL841794   Nissan       VERSA               Atlanta                   GA
89008   3N1CN7AP0JL842394   Nissan       VERSA               NEW ORLEANS               LA
89009   3N1CN7AP0JL842539   Nissan       VERSA               Hayward                   CA
89010   3N1CN7AP0JL842606   Nissan       VERSA               AUGUSTA                   GA
89011   3N1CN7AP0JL842833   Nissan       VERSA               Hamilton                  OH
89012   3N1CN7AP0JL843514   Nissan       VERSA               Winston‐Salem             NC
89013   3N1CN7AP0JL844016   Nissan       VERSA               ORLANDO                   FL
89014   3N1CN7AP0JL844226   Nissan       VERSA               Tampa                     FL
89015   3N1CN7AP0JL844789   Nissan       VERSA               Torrance                  CA
89016   3N1CN7AP0JL845487   Nissan       VERSA               Sacramento                CA
89017   3N1CN7AP0JL845571   Nissan       VERSA               Davie                     FL
89018   3N1CN7AP0JL845750   Nissan       VERSA               FORT MYERS                FL
89019   3N1CN7AP0JL845800   Nissan       VERSA               PALM S                    CA
89020   3N1CN7AP0JL845859   Nissan       VERSA               Hayward                   CA
89021   3N1CN7AP0JL845926   Nissan       VERSA               Newark                    NJ
89022   3N1CN7AP0JL846249   Nissan       VERSA               ORLANDO                   FL
89023   3N1CN7AP0JL846378   Nissan       VERSA               SARASOTA                  FL
89024   3N1CN7AP0JL851242   Nissan       VERSA               MIAMI                     FL
89025   3N1CN7AP0JL851421   Nissan       VERSA               RICHMOND                  VA
89026   3N1CN7AP0JL852052   Nissan       VERSA               Maple Grove               MN
89027   3N1CN7AP0JL853492   Nissan       VERSA               Ft. Myers                 FL
89028   3N1CN7AP0JL854271   Nissan       VERSA               JACKSONVILLE              FL
89029   3N1CN7AP0JL854285   Nissan       VERSA               Santa Clara               CA
89030   3N1CN7AP0JL856182   Nissan       VERSA               Norwalk                   CA
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89031   3N1CN7AP0JL856988   Nissan       VERSA               Sacramento                CA
89032   3N1CN7AP0JL858062   Nissan       VERSA               LOS ANGELES               CA
89033   3N1CN7AP0JL858305   Nissan       VERSA               Kansas City               MO
89034   3N1CN7AP0JL858594   Nissan       VERSA               Hayward                   CA
89035   3N1CN7AP0JL859065   Nissan       VERSA               Costa Mesa                CA
89036   3N1CN7AP0JL859969   Nissan       VERSA               Davie                     FL
89037   3N1CN7AP0JL860085   Nissan       VERSA               Kenner                    LA
89038   3N1CN7AP0JL860765   Nissan       VERSA               ALBUQUERQUE               NM
89039   3N1CN7AP0JL860961   Nissan       VERSA               FRESNO                    CA
89040   3N1CN7AP0JL861060   Nissan       VERSA               ORLANDO                   FL
89041   3N1CN7AP0JL861382   Nissan       VERSA               Chicago                   IL
89042   3N1CN7AP0JL861723   Nissan       VERSA               TAMPA                     FL
89043   3N1CN7AP0JL861964   Nissan       VERSA               Stockton                  CA
89044   3N1CN7AP0JL862077   Nissan       VERSA               Ventura                   CA
89045   3N1CN7AP0JL862208   Nissan       VERSA               FORT MYERS                FL
89046   3N1CN7AP0JL862936   Nissan       VERSA               SAN DIEGO                 CA
89047   3N1CN7AP0JL862970   Nissan       VERSA               BIRMINGHAN                AL
89048   3N1CN7AP0JL863164   Nissan       VERSA               WEST PALM BEACH           FL
89049   3N1CN7AP0JL863407   Nissan       VERSA               HOUSTON                   TX
89050   3N1CN7AP0JL863455   Nissan       VERSA               Davie                     FL
89051   3N1CN7AP0JL863519   Nissan       VERSA               CONYERS                   GA
89052   3N1CN7AP0JL864198   Nissan       VERSA               MIAMI                     FL
89053   3N1CN7AP0JL864590   Nissan       VERSA               ORLANDO                   FL
89054   3N1CN7AP0JL864881   Nissan       VERSA               DENVER                    CO
89055   3N1CN7AP0JL864976   Nissan       VERSA               Detroit                   MI
89056   3N1CN7AP0JL865061   Nissan       VERSA               SAN DIEGO                 CA
89057   3N1CN7AP0JL865450   Nissan       VERSA               WEST PALM BEACH           FL
89058   3N1CN7AP0JL866159   Nissan       VERSA               TAMPA                     FL
89059   3N1CN7AP0JL866453   Nissan       VERSA               AUSTELL                   GA
89060   3N1CN7AP0JL869465   Nissan       VERSA               Slidell                   LA
89061   3N1CN7AP0JL869546   Nissan       VERSA               WOODSON TERRACE           MO
89062   3N1CN7AP0JL869742   Nissan       VERSA               FORT MYERS                FL
89063   3N1CN7AP0JL869790   Nissan       VERSA               Cincinnati                OH
89064   3N1CN7AP0JL870549   Nissan       VERSA               SARASOTA                  FL
89065   3N1CN7AP0JL870552   Nissan       VERSA               NEW BERN                  NC
89066   3N1CN7AP0JL871006   Nissan       VERSA               Miami                     FL
89067   3N1CN7AP0JL871491   Nissan       VERSA               Mira Loma                 CA
89068   3N1CN7AP0JL871555   Nissan       VERSA               Albuquerque               NM
89069   3N1CN7AP0JL871569   Nissan       VERSA               Indianapolis              IN
89070   3N1CN7AP0JL871748   Nissan       VERSA               HILO                      HI
89071   3N1CN7AP0JL871815   Nissan       VERSA               ORLANDO                   FL
89072   3N1CN7AP0JL871829   Nissan       VERSA               San Diego                 CA
89073   3N1CN7AP0JL871880   Nissan       VERSA               SACRAMENTO                CA
89074   3N1CN7AP0JL871958   Nissan       VERSA               Matteson                  IL
89075   3N1CN7AP0JL872138   Nissan       VERSA               STOCKTON                  CA
89076   3N1CN7AP0JL872415   Nissan       VERSA               KAHULUI                   HI
89077   3N1CN7AP0JL872446   Nissan       VERSA               Harvey                    LA
89078   3N1CN7AP0JL872575   Nissan       VERSA               S. San Francisc           CA
89079   3N1CN7AP0JL872866   Nissan       VERSA               Hayward                   CA
89080   3N1CN7AP0JL872902   Nissan       VERSA               PHOENIX                   AZ
89081   3N1CN7AP0JL873063   Nissan       VERSA               TAMPA                     FL
89082   3N1CN7AP0JL873144   Nissan       VERSA               Kahului                   HI
89083   3N1CN7AP0JL873256   Nissan       VERSA               SAN DIEGO                 CA
89084   3N1CN7AP0JL873273   Nissan       VERSA               LAS VEGAS                 NV
89085   3N1CN7AP0JL873368   Nissan       VERSA               Roseville                 CA
89086   3N1CN7AP0JL873399   Nissan       VERSA               SAN DIEGO                 CA
89087   3N1CN7AP0JL873421   Nissan       VERSA               ONTARIO                   CA
89088   3N1CN7AP0JL873662   Nissan       VERSA               ONTARIO                   CA
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89089   3N1CN7AP0JL873743   Nissan       VERSA               SHAKOPEE                  MN
89090   3N1CN7AP0JL873886   Nissan       VERSA               LOS ANGELES               CA
89091   3N1CN7AP0JL873936   Nissan       VERSA               Hartford                  CT
89092   3N1CN7AP0JL874357   Nissan       VERSA               Roseville                 CA
89093   3N1CN7AP0JL877212   Nissan       VERSA               Davie                     FL
89094   3N1CN7AP0JL877226   Nissan       VERSA               SOUTH BEND                IN
89095   3N1CN7AP0JL877324   Nissan       VERSA               COLLEGE PARK              GA
89096   3N1CN7AP0JL877419   Nissan       VERSA               MILWAUKEE                 WI
89097   3N1CN7AP0JL877467   Nissan       VERSA               Hamilton                  OH
89098   3N1CN7AP0JL877534   Nissan       VERSA               Clarksville               IN
89099   3N1CN7AP0JL877548   Nissan       VERSA               MIAMI                     FL
89100   3N1CN7AP0JL877551   Nissan       VERSA               Indianapolis              IN
89101   3N1CN7AP0JL877601   Nissan       VERSA               Woodhaven                 MI
89102   3N1CN7AP0JL877646   Nissan       VERSA               Miami                     FL
89103   3N1CN7AP0JL877663   Nissan       VERSA               CHARLESTON                SC
89104   3N1CN7AP0JL877713   Nissan       VERSA               NORFOLK                   VA
89105   3N1CN7AP0JL877727   Nissan       VERSA               Jacksonville              FL
89106   3N1CN7AP0JL877758   Nissan       VERSA               WARWICK                   RI
89107   3N1CN7AP0JL877775   Nissan       VERSA               Manheim                   PA
89108   3N1CN7AP0JL877923   Nissan       VERSA               Atlanta                   GA
89109   3N1CN7AP0JL877968   Nissan       VERSA               LOS ANGELES AP            CA
89110   3N1CN7AP0JL878134   Nissan       VERSA               SPRINGFIELD               OH
89111   3N1CN7AP0JL878182   Nissan       VERSA               Hayward                   CA
89112   3N1CN7AP0JL878201   Nissan       VERSA               ROSWELL                   GA
89113   3N1CN7AP0JL878215   Nissan       VERSA               Sacramento                CA
89114   3N1CN7AP0JL878263   Nissan       VERSA               Las Vegas                 NV
89115   3N1CN7AP0JL878277   Nissan       VERSA               FORT LAUDERDALE           FL
89116   3N1CN7AP0JL878456   Nissan       VERSA               Reno                      NV
89117   3N1CN7AP0JL878473   Nissan       VERSA               BIRMINGHAN                AL
89118   3N1CN7AP0JL878490   Nissan       VERSA               SAN DIEGO                 CA
89119   3N1CN7AP0JL878599   Nissan       VERSA               PHILADELPHIA              PA
89120   3N1CN7AP0JL878618   Nissan       VERSA               North Dighton             MA
89121   3N1CN7AP0JL878649   Nissan       VERSA               FORT MYERS                FL
89122   3N1CN7AP0JL878733   Nissan       VERSA               SARASOTA                  FL
89123   3N1CN7AP0JL878957   Nissan       VERSA               Cleveland                 OH
89124   3N1CN7AP0JL879039   Nissan       VERSA               SAN DIEGO                 CA
89125   3N1CN7AP0JL879042   Nissan       VERSA               ORLANDO                   FL
89126   3N1CN7AP0JL879123   Nissan       VERSA               PALM SPRINGS              CA
89127   3N1CN7AP0JL879137   Nissan       VERSA               SARASOTA                  FL
89128   3N1CN7AP0JL879168   Nissan       VERSA               ORLANDO                   FL
89129   3N1CN7AP0JL879185   Nissan       VERSA               PLEASANTON                CA
89130   3N1CN7AP0JL879316   Nissan       VERSA               San Antonio               TX
89131   3N1CN7AP0JL879381   Nissan       VERSA               Roseville                 CA
89132   3N1CN7AP0JL879543   Nissan       VERSA               SAN JOSE                  CA
89133   3N1CN7AP0JL879560   Nissan       VERSA               Elkridge                  MD
89134   3N1CN7AP0JL879641   Nissan       VERSA               ORANGE COUNTY             CA
89135   3N1CN7AP0JL879705   Nissan       VERSA               SOUTH BEND                IN
89136   3N1CN7AP0JL879719   Nissan       VERSA               Hamilton                  OH
89137   3N1CN7AP0JL879722   Nissan       VERSA               ORLANDO                   FL
89138   3N1CN7AP0JL879784   Nissan       VERSA               FORT MYERS                FL
89139   3N1CN7AP0JL879929   Nissan       VERSA               PROVIDENCE                RI
89140   3N1CN7AP0JL880076   Nissan       VERSA               SANTA ANA                 CA
89141   3N1CN7AP0JL880160   Nissan       VERSA               PERTH AMBOY               NJ
89142   3N1CN7AP0JL880174   Nissan       VERSA               CHICAGO                   IL
89143   3N1CN7AP0JL880188   Nissan       VERSA               Newark                    NJ
89144   3N1CN7AP0JL880191   Nissan       VERSA               COLLEGE PARK              GA
89145   3N1CN7AP0JL880241   Nissan       VERSA               MARIETTA                  GA
89146   3N1CN7AP0JL880286   Nissan       VERSA               STERLING                  VA
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89147   3N1CN7AP0JL880403   Nissan       VERSA               Sacramento                CA
89148   3N1CN7AP0JL880773   Nissan       VERSA               SALT LAKE CITY            US
89149   3N1CN7AP0JL880790   Nissan       VERSA               DAYTONA BEACH             FL
89150   3N1CN7AP0JL880823   Nissan       VERSA               TAMPA                     FL
89151   3N1CN7AP0JL880837   Nissan       VERSA               Winter Park               FL
89152   3N1CN7AP0JL880840   Nissan       VERSA               Detroit                   MI
89153   3N1CN7AP0JL880904   Nissan       VERSA               RALIEGH                   NC
89154   3N1CN7AP0JL881115   Nissan       VERSA               FORT LAUDERDALE           FL
89155   3N1CN7AP0JL881132   Nissan       VERSA               ORLANDO                   FL
89156   3N1CN7AP0JL881177   Nissan       VERSA               MIAMI                     FL
89157   3N1CN7AP0JL881356   Nissan       VERSA               Rockville Centr           NY
89158   3N1CN7AP0JL881406   Nissan       VERSA               TAMPA                     FL
89159   3N1CN7AP0JL881454   Nissan       VERSA               ORLANDO                   FL
89160   3N1CN7AP0JL881518   Nissan       VERSA               SAN ANTONIO               TX
89161   3N1CN7AP0JL881566   Nissan       VERSA               WEST PALM BEACH           FL
89162   3N1CN7AP0JL881583   Nissan       VERSA               SACRAMENTO                CA
89163   3N1CN7AP0JL881597   Nissan       VERSA               SAN JOSE                  CA
89164   3N1CN7AP0JL881633   Nissan       VERSA               Tampa                     FL
89165   3N1CN7AP0JL881955   Nissan       VERSA               ORLANDO                   FL
89166   3N1CN7AP0JL882314   Nissan       VERSA               ORLANDO                   FL
89167   3N1CN7AP0JL882409   Nissan       VERSA               ORLANDO                   FL
89168   3N1CN7AP0JL882491   Nissan       VERSA               Miami                     FL
89169   3N1CN7AP0JL882717   Nissan       VERSA               SALT LAKE CITY            US
89170   3N1CN7AP0JL882720   Nissan       VERSA               Hayward                   CA
89171   3N1CN7AP0JL882748   Nissan       VERSA               ORLANDO                   FL
89172   3N1CN7AP0JL882751   Nissan       VERSA               Portland                  OR
89173   3N1CN7AP0JL882765   Nissan       VERSA               SANTA ANA                 CA
89174   3N1CN7AP0JL883026   Nissan       VERSA               KNOXVILLE                 TN
89175   3N1CN7AP0JL884371   Nissan       VERSA               COLUMBIA                  SC
89176   3N1CN7AP0JL884628   Nissan       VERSA               North Las Vegas           NV
89177   3N1CN7AP0JL884726   Nissan       VERSA               BOSTON                    MA
89178   3N1CN7AP0JL884774   Nissan       VERSA               SANTA ANA                 CA
89179   3N1CN7AP0JL884788   Nissan       VERSA               PITTSBURGH                PA
89180   3N1CN7AP0JL884810   Nissan       VERSA               DALLAS                    TX
89181   3N1CN7AP0JL884855   Nissan       VERSA               MIAMI                     FL
89182   3N1CN7AP0JL884886   Nissan       VERSA               STERLING                  VA
89183   3N1CN7AP0JL885150   Nissan       VERSA               Atlanta                   GA
89184   3N1CN7AP0JL885164   Nissan       VERSA               DALLAS                    TX
89185   3N1CN7AP0JL885309   Nissan       VERSA               COLUMBUS                  OH
89186   3N1CN7AP0JL885357   Nissan       VERSA               Riverside                 CA
89187   3N1CN7AP0JL885794   Nissan       VERSA               Harlingen                 TX
89188   3N1CN7AP0JL886024   Nissan       VERSA               ORLANDO                   FL
89189   3N1CN7AP0JL886072   Nissan       VERSA               BURBANK                   CA
89190   3N1CN7AP0JL886220   Nissan       VERSA               NEW BERN                  NC
89191   3N1CN7AP0JL886296   Nissan       VERSA               Windsor Locks             CT
89192   3N1CN7AP0KL831235   Nissan       VERSA               Orlando                   FL
89193   3N1CN7AP0KL854949   Nissan       VERSA               ANGOLA                    NY
89194   3N1CN7AP0KL855101   Nissan       VERSA               ELKRIDGE                  MD
89195   3N1CN7AP0KL858497   Nissan       VERSA               MEDINA                    OH
89196   3N1CN7AP0KL858693   Nissan       VERSA               ST Paul                   MN
89197   3N1CN7AP0KL858807   Nissan       VERSA               Nashville                 TN
89198   3N1CN7AP0KL859620   Nissan       VERSA               San Antonio               TX
89199   3N1CN7AP0KL859973   Nissan       VERSA               SOUTHEAST DST OFFC        OK
89200   3N1CN7AP0KL859990   Nissan       VERSA               DALLAS                    TX
89201   3N1CN7AP0KL862310   Nissan       VERSA               KANSAS CITY               MO
89202   3N1CN7AP0KL863148   Nissan       VERSA               Louisville                KY
89203   3N1CN7AP0KL864283   Nissan       VERSA               Memphis                   TN
89204   3N1CN7AP0KL865739   Nissan       VERSA               TAMPA                     FL
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89205   3N1CN7AP0KL865871   Nissan       VERSA               Darlington                SC
89206   3N1CN7AP0KL866230   Nissan       VERSA               HOUSTON                   TX
89207   3N1CN7AP0KL867507   Nissan       VERSA               WILMINGTON                CA
89208   3N1CN7AP0KL869404   Nissan       VERSA               FORT MYERS                FL
89209   3N1CN7AP0KL872089   Nissan       VERSA               EGG HARBOR TOWN           NJ
89210   3N1CN7AP0KL872495   Nissan       VERSA               Manheim                   PA
89211   3N1CN7AP0KL873906   Nissan       VERSA               Philadelphia              PA
89212   3N1CN7AP0KL876062   Nissan       VERSA               PORTLAND                  OR
89213   3N1CN7AP1JK425372   Nissan       VERSA               SAN FRANCISCO             CA
89214   3N1CN7AP1JK429745   Nissan       VERSA               San Diego                 CA
89215   3N1CN7AP1JK430216   Nissan       VERSA               Houston                   TX
89216   3N1CN7AP1JK431124   Nissan       VERSA               Dallas                    TX
89217   3N1CN7AP1JK432791   Nissan       VERSA               FORT LAUDERDALE           FL
89218   3N1CN7AP1JK433908   Nissan       VERSA               Warwick                   RI
89219   3N1CN7AP1JK436999   Nissan       VERSA               FORT LAUDERDALE           FL
89220   3N1CN7AP1JK437246   Nissan       VERSA               ORLANDO                   FL
89221   3N1CN7AP1JK437487   Nissan       VERSA               WEST PALM BEACH           FL
89222   3N1CN7AP1JK437666   Nissan       VERSA               WARWICK                   RI
89223   3N1CN7AP1JK440485   Nissan       VERSA               CHICAGO                   IL
89224   3N1CN7AP1JK440678   Nissan       VERSA               Tolleson                  AZ
89225   3N1CN7AP1JK441233   Nissan       VERSA               Florissant                MO
89226   3N1CN7AP1JK441555   Nissan       VERSA               KNOXVILLE                 TN
89227   3N1CN7AP1JK441832   Nissan       VERSA               Hanover                   MD
89228   3N1CN7AP1JK442088   Nissan       VERSA               SAN JOSE                  CA
89229   3N1CN7AP1JK442284   Nissan       VERSA               LOS ANGELES               CA
89230   3N1CN7AP1JK442544   Nissan       VERSA               KAHULUI                   HI
89231   3N1CN7AP1JK442558   Nissan       VERSA               Stockton                  CA
89232   3N1CN7AP1JK442852   Nissan       VERSA               Atlanta                   GA
89233   3N1CN7AP1JK443662   Nissan       VERSA               SANTA ANA                 CA
89234   3N1CN7AP1JL823790   Nissan       VERSA               ATLANTA                   GA
89235   3N1CN7AP1JL825779   Nissan       VERSA               Smithtown                 NY
89236   3N1CN7AP1JL827208   Nissan       VERSA               ORLANDO                   FL
89237   3N1CN7AP1JL827354   Nissan       VERSA               Miami                     FL
89238   3N1CN7AP1JL831839   Nissan       VERSA               Charlotte                 NC
89239   3N1CN7AP1JL832862   Nissan       VERSA               TAMPA                     FL
89240   3N1CN7AP1JL833588   Nissan       VERSA               COLLEGE PARK              GA
89241   3N1CN7AP1JL834384   Nissan       VERSA               WEST PALM BEACH           FL
89242   3N1CN7AP1JL835969   Nissan       VERSA               Tampa                     FL
89243   3N1CN7AP1JL837060   Nissan       VERSA               Elkridge                  MD
89244   3N1CN7AP1JL837916   Nissan       VERSA               LAS VEGAS                 NV
89245   3N1CN7AP1JL839780   Nissan       VERSA               Riverside                 CA
89246   3N1CN7AP1JL839861   Nissan       VERSA               Tampa                     FL
89247   3N1CN7AP1JL840587   Nissan       VERSA               Orlando                   FL
89248   3N1CN7AP1JL841125   Nissan       VERSA               Winston‐Salem             NC
89249   3N1CN7AP1JL841674   Nissan       VERSA               Lynn                      MA
89250   3N1CN7AP1JL841884   Nissan       VERSA               ORLANDO                   FL
89251   3N1CN7AP1JL842677   Nissan       VERSA               Winter Park               FL
89252   3N1CN7AP1JL843022   Nissan       VERSA               Tampa                     FL
89253   3N1CN7AP1JL843246   Nissan       VERSA               Atlanta                   GA
89254   3N1CN7AP1JL844042   Nissan       VERSA               Rio Linda                 CA
89255   3N1CN7AP1JL844168   Nissan       VERSA               Estero                    FL
89256   3N1CN7AP1JL845188   Nissan       VERSA               Anaheim                   CA
89257   3N1CN7AP1JL845191   Nissan       VERSA               Pasadena                  CA
89258   3N1CN7AP1JL845224   Nissan       VERSA               Hilo                      HI
89259   3N1CN7AP1JL845451   Nissan       VERSA               Torrance                  CA
89260   3N1CN7AP1JL845479   Nissan       VERSA               Norwalk                   CA
89261   3N1CN7AP1JL845496   Nissan       VERSA               Ventura                   CA
89262   3N1CN7AP1JL845613   Nissan       VERSA               Estero                    FL
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89263   3N1CN7AP1JL845725   Nissan       VERSA               LAS VEGAS                 NV
89264   3N1CN7AP1JL848236   Nissan       VERSA               Warminster                PA
89265   3N1CN7AP1JL850892   Nissan       VERSA               Riverside                 CA
89266   3N1CN7AP1JL851752   Nissan       VERSA               Smithtown                 NY
89267   3N1CN7AP1JL851797   Nissan       VERSA               LOS ANGELES               CA
89268   3N1CN7AP1JL853341   Nissan       VERSA               Aurora                    CO
89269   3N1CN7AP1JL853677   Nissan       VERSA               SAINT PAUL                MN
89270   3N1CN7AP1JL854070   Nissan       VERSA               Coraopolis                PA
89271   3N1CN7AP1JL854487   Nissan       VERSA               Atlanta                   GA
89272   3N1CN7AP1JL854960   Nissan       VERSA               Costa Mesa                CA
89273   3N1CN7AP1JL854991   Nissan       VERSA               Norwalk                   CA
89274   3N1CN7AP1JL855428   Nissan       VERSA               Ronkonkoma                NY
89275   3N1CN7AP1JL855462   Nissan       VERSA               Oklahoma City             OK
89276   3N1CN7AP1JL856286   Nissan       VERSA               Kent                      WA
89277   3N1CN7AP1JL857244   Nissan       VERSA               Santa Clara               CA
89278   3N1CN7AP1JL857857   Nissan       VERSA               FORT MYERS                FL
89279   3N1CN7AP1JL858409   Nissan       VERSA               Mira Loma                 CA
89280   3N1CN7AP1JL858927   Nissan       VERSA               SAVANNAH                  GA
89281   3N1CN7AP1JL860189   Nissan       VERSA               TAMPA                     FL
89282   3N1CN7AP1JL860631   Nissan       VERSA               DALLAS                    TX
89283   3N1CN7AP1JL861018   Nissan       VERSA               Mira Loma                 CA
89284   3N1CN7AP1JL862072   Nissan       VERSA               SAN ANTONIO               TX
89285   3N1CN7AP1JL862363   Nissan       VERSA               SAN DIEGO                 CA
89286   3N1CN7AP1JL862993   Nissan       VERSA               DALLAS                    TX
89287   3N1CN7AP1JL863111   Nissan       VERSA               SARASOTA                  FL
89288   3N1CN7AP1JL863139   Nissan       VERSA               FAYETTEVILLE              GA
89289   3N1CN7AP1JL863819   Nissan       VERSA               ORLANDO                   FL
89290   3N1CN7AP1JL864646   Nissan       VERSA               NASHVILLE                 TN
89291   3N1CN7AP1JL865344   Nissan       VERSA               PHOENIX                   AZ
89292   3N1CN7AP1JL865358   Nissan       VERSA               LOS ANGELES               CA
89293   3N1CN7AP1JL865411   Nissan       VERSA               TAMPA                     FL
89294   3N1CN7AP1JL865733   Nissan       VERSA               SAN DIEGO                 CA
89295   3N1CN7AP1JL866056   Nissan       VERSA               Hartford                  CT
89296   3N1CN7AP1JL866106   Nissan       VERSA               Manheim                   PA
89297   3N1CN7AP1JL869166   Nissan       VERSA               JACKSONVILLE              FL
89298   3N1CN7AP1JL869197   Nissan       VERSA               FORT LAUDERDALE           FL
89299   3N1CN7AP1JL869426   Nissan       VERSA               Atlanta                   GA
89300   3N1CN7AP1JL869975   Nissan       VERSA               DALLAS                    TX
89301   3N1CN7AP1JL870480   Nissan       VERSA               FORT MYERS                FL
89302   3N1CN7AP1JL870916   Nissan       VERSA               TAMPA                     FL
89303   3N1CN7AP1JL871094   Nissan       VERSA               LAS VEGAS                 NV
89304   3N1CN7AP1JL871533   Nissan       VERSA               Riverside                 CA
89305   3N1CN7AP1JL871614   Nissan       VERSA               Stockton                  CA
89306   3N1CN7AP1JL871774   Nissan       VERSA               Rio Linda                 CA
89307   3N1CN7AP1JL871824   Nissan       VERSA               North Las Vegas           NV
89308   3N1CN7AP1JL871841   Nissan       VERSA               Stockton                  CA
89309   3N1CN7AP1JL871869   Nissan       VERSA               Portland                  OR
89310   3N1CN7AP1JL871886   Nissan       VERSA               LAS VEGAS                 NV
89311   3N1CN7AP1JL872018   Nissan       VERSA               Atlanta                   GA
89312   3N1CN7AP1JL872102   Nissan       VERSA               Roseville                 CA
89313   3N1CN7AP1JL872620   Nissan       VERSA               Torrance                  CA
89314   3N1CN7AP1JL872777   Nissan       VERSA               SAN DIEGO                 CA
89315   3N1CN7AP1JL872827   Nissan       VERSA               KAHULUI                   HI
89316   3N1CN7AP1JL872908   Nissan       VERSA               PLEASANTON                CA
89317   3N1CN7AP1JL872956   Nissan       VERSA               KAHULUI                   HI
89318   3N1CN7AP1JL873041   Nissan       VERSA               KAHULUI                   HI
89319   3N1CN7AP1JL873136   Nissan       VERSA               Norwalk                   CA
89320   3N1CN7AP1JL873217   Nissan       VERSA               Las Vegas                 NV
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89321   3N1CN7AP1JL873265   Nissan       VERSA               Riverside                 CA
89322   3N1CN7AP1JL873542   Nissan       VERSA               Austin                    TX
89323   3N1CN7AP1JL873587   Nissan       VERSA               PHOENIX                   AZ
89324   3N1CN7AP1JL873637   Nissan       VERSA               PLEASANTON                CA
89325   3N1CN7AP1JL873654   Nissan       VERSA               Roseville                 CA
89326   3N1CN7AP1JL873895   Nissan       VERSA               DAYTONA BEACH             FL
89327   3N1CN7AP1JL873993   Nissan       VERSA               Portland                  OR
89328   3N1CN7AP1JL874027   Nissan       VERSA               PLEASANTON                CA
89329   3N1CN7AP1JL874206   Nissan       VERSA               PHOENIX                   AZ
89330   3N1CN7AP1JL874514   Nissan       VERSA               Roseville                 CA
89331   3N1CN7AP1JL874545   Nissan       VERSA               Fontana                   CA
89332   3N1CN7AP1JL874559   Nissan       VERSA               SANTA ANA                 CA
89333   3N1CN7AP1JL874643   Nissan       VERSA               SACRAMENTO                CA
89334   3N1CN7AP1JL875064   Nissan       VERSA               ONTARIO                   CA
89335   3N1CN7AP1JL875792   Nissan       VERSA               SANTA ANA                 CA
89336   3N1CN7AP1JL876005   Nissan       VERSA               KAHULUI                   HI
89337   3N1CN7AP1JL877350   Nissan       VERSA               Bensalem                  PA
89338   3N1CN7AP1JL877395   Nissan       VERSA               Tucson                    AZ
89339   3N1CN7AP1JL877526   Nissan       VERSA               DALLAS                    TX
89340   3N1CN7AP1JL877624   Nissan       VERSA               ORLANDO                   FL
89341   3N1CN7AP1JL877719   Nissan       VERSA               GRAND RAPIDS              MI
89342   3N1CN7AP1JL877722   Nissan       VERSA               MEMPHIS                   TN
89343   3N1CN7AP1JL877767   Nissan       VERSA               SAINT LOUIS               MO
89344   3N1CN7AP1JL877770   Nissan       VERSA               FORT MYERS                FL
89345   3N1CN7AP1JL877820   Nissan       VERSA               FORT MYERS                FL
89346   3N1CN7AP1JL877882   Nissan       VERSA               Nashville                 TN
89347   3N1CN7AP1JL877896   Nissan       VERSA               Carleton                  MI
89348   3N1CN7AP1JL877915   Nissan       VERSA               Indianapolis              IN
89349   3N1CN7AP1JL877946   Nissan       VERSA               GLASSBORO                 NJ
89350   3N1CN7AP1JL878031   Nissan       VERSA               Orlando                   FL
89351   3N1CN7AP1JL878045   Nissan       VERSA               SAN JOSE                  CA
89352   3N1CN7AP1JL878062   Nissan       VERSA               CHICAGO                   IL
89353   3N1CN7AP1JL878241   Nissan       VERSA               FORT MYERS                FL
89354   3N1CN7AP1JL878319   Nissan       VERSA               PHOENIX                   AZ
89355   3N1CN7AP1JL878501   Nissan       VERSA               LAS VEGAS                 NV
89356   3N1CN7AP1JL878529   Nissan       VERSA               NEW YORK CITY             NY
89357   3N1CN7AP1JL878644   Nissan       VERSA               ORLANDO                   FL
89358   3N1CN7AP1JL878935   Nissan       VERSA               PHILADELPHIA              US
89359   3N1CN7AP1JL879017   Nissan       VERSA               TAMPA                     FL
89360   3N1CN7AP1JL879020   Nissan       VERSA               KNOXVILLE                 TN
89361   3N1CN7AP1JL879051   Nissan       VERSA               TAMPA                     FL
89362   3N1CN7AP1JL879342   Nissan       VERSA               SANTA ANA                 CA
89363   3N1CN7AP1JL879387   Nissan       VERSA               LOS ANGELES               CA
89364   3N1CN7AP1JL879390   Nissan       VERSA               MIAMI                     FL
89365   3N1CN7AP1JL879518   Nissan       VERSA               Las Vegas                 NV
89366   3N1CN7AP1JL879762   Nissan       VERSA               Roseville                 CA
89367   3N1CN7AP1JL879812   Nissan       VERSA               ORLANDO                   FL
89368   3N1CN7AP1JL879891   Nissan       VERSA               Rio Linda                 CA
89369   3N1CN7AP1JL880037   Nissan       VERSA
89370   3N1CN7AP1JL880040   Nissan       VERSA               WEST PALM BEACH           FL
89371   3N1CN7AP1JL880099   Nissan       VERSA               RONKONKOMA                NY
89372   3N1CN7AP1JL880104   Nissan       VERSA               DANIA BEACH               FL
89373   3N1CN7AP1JL880121   Nissan       VERSA               PHOENIX                   AZ
89374   3N1CN7AP1JL880183   Nissan       VERSA               FORT MYERS                FL
89375   3N1CN7AP1JL880264   Nissan       VERSA               Slidell                   LA
89376   3N1CN7AP1JL880345   Nissan       VERSA               LAS VEGAS                 NV
89377   3N1CN7AP1JL880412   Nissan       VERSA               PHILADELPHIA              PA
89378   3N1CN7AP1JL880877   Nissan       VERSA               Springfield               MO
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89379   3N1CN7AP1JL880880   Nissan       VERSA               Schaumburg                IL
89380   3N1CN7AP1JL880894   Nissan       VERSA               BALTIMORE                 MD
89381   3N1CN7AP1JL881009   Nissan       VERSA               ORLANDO                   FL
89382   3N1CN7AP1JL881057   Nissan       VERSA               LAS VEGAS                 NV
89383   3N1CN7AP1JL881088   Nissan       VERSA               Atlanta                   GA
89384   3N1CN7AP1JL881219   Nissan       VERSA               COLLEGE PARK              GA
89385   3N1CN7AP1JL881253   Nissan       VERSA               LAS VEGAS                 NV
89386   3N1CN7AP1JL881589   Nissan       VERSA               PHOENIX                   AZ
89387   3N1CN7AP1JL881639   Nissan       VERSA               Atlanta                   GA
89388   3N1CN7AP1JL881768   Nissan       VERSA               SOUTHEAST DST OFFC        OK
89389   3N1CN7AP1JL881804   Nissan       VERSA               FORT LAUDERDALE           FL
89390   3N1CN7AP1JL881821   Nissan       VERSA               FORT MYERS                FL
89391   3N1CN7AP1JL882001   Nissan       VERSA               FORT MYERS                FL
89392   3N1CN7AP1JL882189   Nissan       VERSA               SAN FRANCISCO             CA
89393   3N1CN7AP1JL882208   Nissan       VERSA               Slidell                   LA
89394   3N1CN7AP1JL882323   Nissan       VERSA               TAMPA                     FL
89395   3N1CN7AP1JL882368   Nissan       VERSA               GREENVILLE                NC
89396   3N1CN7AP1JL882578   Nissan       VERSA               ORLANDO                   FL
89397   3N1CN7AP1JL882595   Nissan       VERSA               ORLANDO                   FL
89398   3N1CN7AP1JL882600   Nissan       VERSA               FULLERTON                 CA
89399   3N1CN7AP1JL882757   Nissan       VERSA               LAS VEGAS                 NV
89400   3N1CN7AP1JL883312   Nissan       VERSA               ATLANTA                   GA
89401   3N1CN7AP1JL884377   Nissan       VERSA               Miami                     FL
89402   3N1CN7AP1JL884766   Nissan       VERSA               Warminster                PA
89403   3N1CN7AP1JL884802   Nissan       VERSA               Tampa                     FL
89404   3N1CN7AP1JL884895   Nissan       VERSA               ORLANDO                   FL
89405   3N1CN7AP1JL885044   Nissan       VERSA               TAMPA                     US
89406   3N1CN7AP1JL885058   Nissan       VERSA               Teterboro                 NJ
89407   3N1CN7AP1JL885089   Nissan       VERSA               SARASOTA                  FL
89408   3N1CN7AP1JL885139   Nissan       VERSA               GAHANNA                   OH
89409   3N1CN7AP1JL885187   Nissan       VERSA               FORT MYERS                FL
89410   3N1CN7AP1JL885206   Nissan       VERSA               WEST PALM BEACH           FL
89411   3N1CN7AP1JL885738   Nissan       VERSA               Stockton                  CA
89412   3N1CN7AP1JL885965   Nissan       VERSA               Portland                  OR
89413   3N1CN7AP1JL886016   Nissan       VERSA               SAN DIEGO                 CA
89414   3N1CN7AP1JL886145   Nissan       VERSA               Roseville                 CA
89415   3N1CN7AP1JL886419   Nissan       VERSA               Indianapolis              IN
89416   3N1CN7AP1JL886453   Nissan       VERSA               MIAMI                     FL
89417   3N1CN7AP1JL886484   Nissan       VERSA               Santa Clara               CA
89418   3N1CN7AP1JL886579   Nissan       VERSA               SACRAMENTO                CA
89419   3N1CN7AP1JL886615   Nissan       VERSA               BURBANK                   CA
89420   3N1CN7AP1JL886727   Nissan       VERSA               SAN JOSE                  CA
89421   3N1CN7AP1JL886873   Nissan       VERSA               Sacramento                CA
89422   3N1CN7AP1JL886940   Nissan       VERSA               KNOXVILLE                 TN
89423   3N1CN7AP1JL886954   Nissan       VERSA               ONTARIO                   CA
89424   3N1CN7AP1KL849548   Nissan       VERSA               Detroit                   MI
89425   3N1CN7AP1KL855561   Nissan       VERSA               Leroy                     NY
89426   3N1CN7AP1KL855656   Nissan       VERSA               NEW BERN                  NC
89427   3N1CN7AP1KL855818   Nissan       VERSA               COLUMBIA                  SC
89428   3N1CN7AP1KL855821   Nissan       VERSA               Pittsburgh                PA
89429   3N1CN7AP1KL856337   Nissan       VERSA               FORT MYERS                FL
89430   3N1CN7AP1KL856466   Nissan       VERSA               Houston                   TX
89431   3N1CN7AP1KL857214   Nissan       VERSA               Warr Acres                OK
89432   3N1CN7AP1KL857942   Nissan       VERSA               SANTA CLARA               CA
89433   3N1CN7AP1KL858797   Nissan       VERSA               INDIANAPOLIS              IN
89434   3N1CN7AP1KL858816   Nissan       VERSA               Florissant                MO
89435   3N1CN7AP1KL862235   Nissan       VERSA               Latham                    NY
89436   3N1CN7AP1KL863532   Nissan       VERSA               Wichita                   KS
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89437   3N1CN7AP1KL863675   Nissan       VERSA               FORT MYERS                FL
89438   3N1CN7AP1KL864213   Nissan       VERSA               Vandalia                  OH
89439   3N1CN7AP1KL864387   Nissan       VERSA               Jacksonville              FL
89440   3N1CN7AP1KL864499   Nissan       VERSA               Pittsburgh                PA
89441   3N1CN7AP1KL864549   Nissan       VERSA               FORT MYERS                FL
89442   3N1CN7AP1KL865359   Nissan       VERSA               Florissant                MO
89443   3N1CN7AP1KL865698   Nissan       VERSA               Tulsa                     OK
89444   3N1CN7AP1KL870965   Nissan       VERSA               Florissant                MO
89445   3N1CN7AP1KL871193   Nissan       VERSA               CHICAGO                   IL
89446   3N1CN7AP1KL871288   Nissan       VERSA               Kansas City               MO
89447   3N1CN7AP1KL871324   Nissan       VERSA               Warr Acres                OK
89448   3N1CN7AP1KL871615   Nissan       VERSA               NASHVILLE                 TN
89449   3N1CN7AP1KL873882   Nissan       VERSA               Pittsburgh                PA
89450   3N1CN7AP1KL874160   Nissan       VERSA               PHILADELPHIA              PA
89451   3N1CN7AP2HK469116   Nissan       VERSA               PALM SPRINGS              CA
89452   3N1CN7AP2JK415949   Nissan       VERSA               Smithtown                 NY
89453   3N1CN7AP2JK425851   Nissan       VERSA               KAHULUI                   HI
89454   3N1CN7AP2JK428832   Nissan       VERSA               Costa Mesa                CA
89455   3N1CN7AP2JK431472   Nissan       VERSA               Sacramento                CA
89456   3N1CN7AP2JK431598   Nissan       VERSA               Phoenix                   AZ
89457   3N1CN7AP2JK432363   Nissan       VERSA               LAS VEGAS                 NV
89458   3N1CN7AP2JK432444   Nissan       VERSA               SAINT PAUL                MN
89459   3N1CN7AP2JK432783   Nissan       VERSA               BIRMINGHAM                AL
89460   3N1CN7AP2JK434985   Nissan       VERSA               Sacramento                CA
89461   3N1CN7AP2JK435652   Nissan       VERSA               Norwalk                   CA
89462   3N1CN7AP2JK436879   Nissan       VERSA               N. Palm Beach             FL
89463   3N1CN7AP2JK437126   Nissan       VERSA               Davie                     FL
89464   3N1CN7AP2JK437160   Nissan       VERSA               UNION CITY                GA
89465   3N1CN7AP2JK437434   Nissan       VERSA               Hapeville                 GA
89466   3N1CN7AP2JK439524   Nissan       VERSA               SANTA CLARA               CA
89467   3N1CN7AP2JK441323   Nissan       VERSA               SAN DIEGO                 CA
89468   3N1CN7AP2JK441760   Nissan       VERSA               Honolulu                  HI
89469   3N1CN7AP2JK442035   Nissan       VERSA               SAN DIEGO                 CA
89470   3N1CN7AP2JK442147   Nissan       VERSA               Roseville                 CA
89471   3N1CN7AP2JK442617   Nissan       VERSA               Kahului                   HI
89472   3N1CN7AP2JK442794   Nissan       VERSA               OAKLAND                   CA
89473   3N1CN7AP2JK442844   Nissan       VERSA               Lake Elsinore             CA
89474   3N1CN7AP2JK442990   Nissan       VERSA               Hayward                   CA
89475   3N1CN7AP2JK443282   Nissan       VERSA               Roseville                 CA
89476   3N1CN7AP2JL823426   Nissan       VERSA               Atlanta                   GA
89477   3N1CN7AP2JL824219   Nissan       VERSA               HOUSTON                   TX
89478   3N1CN7AP2JL824544   Nissan       VERSA               WEST PALM BEACH           FL
89479   3N1CN7AP2JL826603   Nissan       VERSA               Estero                    FL
89480   3N1CN7AP2JL827704   Nissan       VERSA               Indianapolis              IN
89481   3N1CN7AP2JL834247   Nissan       VERSA               FT LAUDERDALE             FL
89482   3N1CN7AP2JL835088   Nissan       VERSA               Coraopolis                PA
89483   3N1CN7AP2JL836077   Nissan       VERSA               Tampa                     FL
89484   3N1CN7AP2JL836659   Nissan       VERSA               WEST PALM BEACH           FL
89485   3N1CN7AP2JL837195   Nissan       VERSA               MIAMI                     FL
89486   3N1CN7AP2JL838203   Nissan       VERSA               Chicago                   IL
89487   3N1CN7AP2JL838914   Nissan       VERSA               DANIA BEACH               FL
89488   3N1CN7AP2JL839299   Nissan       VERSA               KAILUA‐KONA               HI
89489   3N1CN7AP2JL839366   Nissan       VERSA               Winston‐Salem             NC
89490   3N1CN7AP2JL839822   Nissan       VERSA               North Dighton             MA
89491   3N1CN7AP2JL839951   Nissan       VERSA               Windsor Locks             CT
89492   3N1CN7AP2JL841599   Nissan       VERSA               DAYTONA BEACH             FL
89493   3N1CN7AP2JL841649   Nissan       VERSA               PHOENIX                   AZ
89494   3N1CN7AP2JL841778   Nissan       VERSA               Hattiesburg               MS
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89495   3N1CN7AP2JL843062   Nissan       VERSA               ORLANDO                   FL
89496   3N1CN7AP2JL843255   Nissan       VERSA               SARASOTA                  FL
89497   3N1CN7AP2JL843658   Nissan       VERSA               Torrance                  CA
89498   3N1CN7AP2JL844342   Nissan       VERSA               Orlando                   FL
89499   3N1CN7AP2JL844454   Nissan       VERSA               Atlanta                   GA
89500   3N1CN7AP2JL845376   Nissan       VERSA               TAMPA                     FL
89501   3N1CN7AP2JL845569   Nissan       VERSA               Riverside                 CA
89502   3N1CN7AP2JL845992   Nissan       VERSA               TAMPA                     FL
89503   3N1CN7AP2JL848472   Nissan       VERSA               KAHULUI MAUI              HI
89504   3N1CN7AP2JL848911   Nissan       VERSA               ATLANTA                   GA
89505   3N1CN7AP2JL849220   Nissan       VERSA               ALLENTOWN                 US
89506   3N1CN7AP2JL849864   Nissan       VERSA               BURBANK                   CA
89507   3N1CN7AP2JL850822   Nissan       VERSA               Maple Grove               MN
89508   3N1CN7AP2JL851324   Nissan       VERSA               FORT LAUDERDALE           FL
89509   3N1CN7AP2JL851646   Nissan       VERSA               Bensalem                  PA
89510   3N1CN7AP2JL853381   Nissan       VERSA               STERLING                  VA
89511   3N1CN7AP2JL853557   Nissan       VERSA               DAYTONA BEACH             FL
89512   3N1CN7AP2JL854126   Nissan       VERSA               Atlanta                   GA
89513   3N1CN7AP2JL854241   Nissan       VERSA               Lafayette                 LA
89514   3N1CN7AP2JL854319   Nissan       VERSA               Hebron                    KY
89515   3N1CN7AP2JL855440   Nissan       VERSA               Louisville                KY
89516   3N1CN7AP2JL855888   Nissan       VERSA               Pasadena                  CA
89517   3N1CN7AP2JL856149   Nissan       VERSA               Davie                     FL
89518   3N1CN7AP2JL857222   Nissan       VERSA               Norwalk                   CA
89519   3N1CN7AP2JL858323   Nissan       VERSA               TAMPA                     FL
89520   3N1CN7AP2JL859861   Nissan       VERSA               SARASOTA                  FL
89521   3N1CN7AP2JL860184   Nissan       VERSA               Tampa                     FL
89522   3N1CN7AP2JL860752   Nissan       VERSA               S. San Francisc           CA
89523   3N1CN7AP2JL861478   Nissan       VERSA               ST Paul                   MN
89524   3N1CN7AP2JL861531   Nissan       VERSA               NORTH PAC                 CA
89525   3N1CN7AP2JL861710   Nissan       VERSA               Dallas                    TX
89526   3N1CN7AP2JL862677   Nissan       VERSA               Rio Linda                 CA
89527   3N1CN7AP2JL862906   Nissan       VERSA               Davie                     FL
89528   3N1CN7AP2JL863330   Nissan       VERSA               Memphis                   TN
89529   3N1CN7AP2JL863506   Nissan       VERSA               OKLAHOMA CITY             OK
89530   3N1CN7AP2JL863571   Nissan       VERSA               FORT MYERS                FL
89531   3N1CN7AP2JL863795   Nissan       VERSA               SARASOTA                  FL
89532   3N1CN7AP2JL863831   Nissan       VERSA               WEST PALM BEACH           FL
89533   3N1CN7AP2JL863862   Nissan       VERSA               Riverside                 CA
89534   3N1CN7AP2JL863926   Nissan       VERSA               Charlotte                 NC
89535   3N1CN7AP2JL864252   Nissan       VERSA               TAMPA                     FL
89536   3N1CN7AP2JL864784   Nissan       VERSA               Statesville               NC
89537   3N1CN7AP2JL865045   Nissan       VERSA               Smithtown                 NY
89538   3N1CN7AP2JL865577   Nissan       VERSA               MEMPHIS                   TN
89539   3N1CN7AP2JL865773   Nissan       VERSA               FORT LAUDERDALE           FL
89540   3N1CN7AP2JL866292   Nissan       VERSA               BIRMINGHAM                AL
89541   3N1CN7AP2JL869094   Nissan       VERSA               NEWARK                    NJ
89542   3N1CN7AP2JL869337   Nissan       VERSA               SANTA BARBARA             CA
89543   3N1CN7AP2JL869838   Nissan       VERSA               Winston‐Salem             NC
89544   3N1CN7AP2JL871072   Nissan       VERSA               Harvey                    LA
89545   3N1CN7AP2JL871220   Nissan       VERSA               Teterboro                 NJ
89546   3N1CN7AP2JL871508   Nissan       VERSA               LAS VEGAS                 NV
89547   3N1CN7AP2JL871542   Nissan       VERSA               KAHULUI                   HI
89548   3N1CN7AP2JL871721   Nissan       VERSA               KAHULUI                   HI
89549   3N1CN7AP2JL871959   Nissan       VERSA               KAHULUI                   HI
89550   3N1CN7AP2JL872030   Nissan       VERSA               KAHULUI                   HI
89551   3N1CN7AP2JL872366   Nissan       VERSA               Ventura                   CA
89552   3N1CN7AP2JL872433   Nissan       VERSA               SOUTH SAN FRANC           CA
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89553   3N1CN7AP2JL872528   Nissan       VERSA               SAN DIEGO                 CA
89554   3N1CN7AP2JL872822   Nissan       VERSA               Manheim                   PA
89555   3N1CN7AP2JL872853   Nissan       VERSA               KAHULUI                   HI
89556   3N1CN7AP2JL872951   Nissan       VERSA               Costa Mesa                CA
89557   3N1CN7AP2JL872996   Nissan       VERSA               SAN JOSE                  CA
89558   3N1CN7AP2JL873002   Nissan       VERSA               Kahului                   HI
89559   3N1CN7AP2JL873016   Nissan       VERSA               Downey                    CA
89560   3N1CN7AP2JL873114   Nissan       VERSA               North Las Vegas           NV
89561   3N1CN7AP2JL873176   Nissan       VERSA               Cranberry Towns           PA
89562   3N1CN7AP2JL873324   Nissan       VERSA               STOCKTON                  CA
89563   3N1CN7AP2JL873632   Nissan       VERSA               ONTARIO                   CA
89564   3N1CN7AP2JL873758   Nissan       VERSA               Hayward                   CA
89565   3N1CN7AP2JL873761   Nissan       VERSA               SAN FRANCISCO             CA
89566   3N1CN7AP2JL873873   Nissan       VERSA               Newark                    NJ
89567   3N1CN7AP2JL873906   Nissan       VERSA               LAS VEGAS                 NV
89568   3N1CN7AP2JL874084   Nissan       VERSA               LOS ANGELES               CA
89569   3N1CN7AP2JL874554   Nissan       VERSA               BURBANK                   CA
89570   3N1CN7AP2JL874800   Nissan       VERSA               KAHULUI                   HI
89571   3N1CN7AP2JL874845   Nissan       VERSA               SAN LEANDRO               CA
89572   3N1CN7AP2JL875476   Nissan       VERSA               Salt Lake City            UT
89573   3N1CN7AP2JL875736   Nissan       VERSA               LAS VEGAS                 NV
89574   3N1CN7AP2JL876384   Nissan       VERSA               SAN FRANCISCO             CA
89575   3N1CN7AP2JL877308   Nissan       VERSA               Atlanta                   GA
89576   3N1CN7AP2JL877311   Nissan       VERSA               Atlanta                   GA
89577   3N1CN7AP2JL877423   Nissan       VERSA               Warminster                PA
89578   3N1CN7AP2JL877485   Nissan       VERSA               Chicago                   IL
89579   3N1CN7AP2JL877499   Nissan       VERSA               STERLING                  VA
89580   3N1CN7AP2JL877552   Nissan       VERSA               Hanover                   MD
89581   3N1CN7AP2JL877616   Nissan       VERSA               SAINT PAUL                MN
89582   3N1CN7AP2JL877745   Nissan       VERSA               ORLANDO                   FL
89583   3N1CN7AP2JL877860   Nissan       VERSA               TAMPA                     FL
89584   3N1CN7AP2JL877874   Nissan       VERSA               Austell                   GA
89585   3N1CN7AP2JL877907   Nissan       VERSA               Warwick                   RI
89586   3N1CN7AP2JL878135   Nissan       VERSA               LOS ANGELES               CA
89587   3N1CN7AP2JL878152   Nissan       VERSA               NEWARK                    NJ
89588   3N1CN7AP2JL878183   Nissan       VERSA               ORLANDO                   FL
89589   3N1CN7AP2JL878202   Nissan       VERSA               WEST COLUMBIA             SC
89590   3N1CN7AP2JL878281   Nissan       VERSA               Coraopolis                PA
89591   3N1CN7AP2JL878345   Nissan       VERSA               ORLANDO                   FL
89592   3N1CN7AP2JL878376   Nissan       VERSA               PLEASANTON                CA
89593   3N1CN7AP2JL878393   Nissan       VERSA               Smithtown                 NY
89594   3N1CN7AP2JL878457   Nissan       VERSA               HARLEYVILLE               SC
89595   3N1CN7AP2JL878474   Nissan       VERSA               CHICAGO                   IL
89596   3N1CN7AP2JL878524   Nissan       VERSA               TAMPA                     FL
89597   3N1CN7AP2JL878622   Nissan       VERSA               NEW YORK CITY             NY
89598   3N1CN7AP2JL878636   Nissan       VERSA               Warwick                   RI
89599   3N1CN7AP2JL878653   Nissan       VERSA               SAN DIEGO                 CA
89600   3N1CN7AP2JL878751   Nissan       VERSA               Nashville                 TN
89601   3N1CN7AP2JL878880   Nissan       VERSA               GAHANNA                   OH
89602   3N1CN7AP2JL878913   Nissan       VERSA               Smithtown                 NY
89603   3N1CN7AP2JL878944   Nissan       VERSA               SANFORD                   FL
89604   3N1CN7AP2JL879074   Nissan       VERSA               ORLANDO                   FL
89605   3N1CN7AP2JL879124   Nissan       VERSA               ORLANDO                   FL
89606   3N1CN7AP2JL879138   Nissan       VERSA               NEWARK                    NJ
89607   3N1CN7AP2JL879317   Nissan       VERSA               INDIANAPOLIS              IN
89608   3N1CN7AP2JL879463   Nissan       VERSA               Fontana                   CA
89609   3N1CN7AP2JL879530   Nissan       VERSA               DALLAS                    TX
89610   3N1CN7AP2JL879558   Nissan       VERSA               Florissant                MO
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89611   3N1CN7AP2JL879642   Nissan       VERSA               ORLANDO                   FL
89612   3N1CN7AP2JL879804   Nissan       VERSA               MIAMI                     FL
89613   3N1CN7AP2JL880046   Nissan       VERSA               Maple Grove               MN
89614   3N1CN7AP2JL880063   Nissan       VERSA               CLEVELAND                 OH
89615   3N1CN7AP2JL880080   Nissan       VERSA               PHILADELPHIA              PA
89616   3N1CN7AP2JL880113   Nissan       VERSA               SAN DIEGO                 CA
89617   3N1CN7AP2JL880127   Nissan       VERSA               Matteson                  IL
89618   3N1CN7AP2JL880189   Nissan       VERSA               RALEIGH                   NC
89619   3N1CN7AP2JL880242   Nissan       VERSA               CHICAGO                   IL
89620   3N1CN7AP2JL880371   Nissan       VERSA               Roseville                 CA
89621   3N1CN7AP2JL880905   Nissan       VERSA               WEST PALM BEACH           FL
89622   3N1CN7AP2JL880922   Nissan       VERSA               Cincinnati                OH
89623   3N1CN7AP2JL881066   Nissan       VERSA               CLARKSVILLE               IN
89624   3N1CN7AP2JL881102   Nissan       VERSA               SAN FRANCISCO             CA
89625   3N1CN7AP2JL881231   Nissan       VERSA               PHOENIX                   AZ
89626   3N1CN7AP2JL881262   Nissan       VERSA               Morrisville               NC
89627   3N1CN7AP2JL881374   Nissan       VERSA               Chicago                   IL
89628   3N1CN7AP2JL881391   Nissan       VERSA               KNOXVILLE                 TN
89629   3N1CN7AP2JL881410   Nissan       VERSA               SALT LAKE CITY            US
89630   3N1CN7AP2JL881424   Nissan       VERSA               FT LAUDERDALE             FL
89631   3N1CN7AP2JL881441   Nissan       VERSA               LOS ANGELES               CA
89632   3N1CN7AP2JL881469   Nissan       VERSA               WEST PALM BEACH           FL
89633   3N1CN7AP2JL881553   Nissan       VERSA               Manheim                   PA
89634   3N1CN7AP2JL881598   Nissan       VERSA               CHICAGO                   IL
89635   3N1CN7AP2JL881620   Nissan       VERSA               LAS VEGAS                 NV
89636   3N1CN7AP2JL881682   Nissan       VERSA               ORLANDO                   FL
89637   3N1CN7AP2JL881715   Nissan       VERSA               BROOKLYN                  NY
89638   3N1CN7AP2JL881729   Nissan       VERSA               North Billerica           MA
89639   3N1CN7AP2JL881732   Nissan       VERSA               Hendersonville            TN
89640   3N1CN7AP2JL881777   Nissan       VERSA               SOUTH BEND                IN
89641   3N1CN7AP2JL881780   Nissan       VERSA               Austin                    TX
89642   3N1CN7AP2JL881908   Nissan       VERSA               JACKSON                   MS
89643   3N1CN7AP2JL882072   Nissan       VERSA               NEWARK                    NJ
89644   3N1CN7AP2JL882122   Nissan       VERSA               FT. LAUDERDALE            FL
89645   3N1CN7AP2JL882380   Nissan       VERSA               Manheim                   PA
89646   3N1CN7AP2JL882427   Nissan       VERSA               LOS ANGELES AP            CA
89647   3N1CN7AP2JL882637   Nissan       VERSA               WEST PALM BEACH           FL
89648   3N1CN7AP2JL882654   Nissan       VERSA               Louisville                KY
89649   3N1CN7AP2JL882671   Nissan       VERSA               FORT MYERS                FL
89650   3N1CN7AP2JL882721   Nissan       VERSA               MIAMI                     FL
89651   3N1CN7AP2JL883223   Nissan       VERSA               Sarasota                  FL
89652   3N1CN7AP2JL884467   Nissan       VERSA               PHILADELPHIA              US
89653   3N1CN7AP2JL884503   Nissan       VERSA               RALEIGH                   NC
89654   3N1CN7AP2JL884663   Nissan       VERSA               Colorado Spring           CO
89655   3N1CN7AP2JL884789   Nissan       VERSA               LAS VEGAS                 NV
89656   3N1CN7AP2JL884808   Nissan       VERSA               Atlanta                   GA
89657   3N1CN7AP2JL884811   Nissan       VERSA               TAMPA                     FL
89658   3N1CN7AP2JL884839   Nissan       VERSA               Elkridge                  MD
89659   3N1CN7AP2JL884856   Nissan       VERSA               LOS ANGELES               CA
89660   3N1CN7AP2JL885120   Nissan       VERSA               KANSAS CITY               MO
89661   3N1CN7AP2JL885201   Nissan       VERSA               CHARLOTTE                 NC
89662   3N1CN7AP2JL885246   Nissan       VERSA               Stockton                  CA
89663   3N1CN7AP2JL885294   Nissan       VERSA               ORLANDO                   FL
89664   3N1CN7AP2JL885425   Nissan       VERSA               Roseville                 CA
89665   3N1CN7AP2JL885537   Nissan       VERSA               ORLANDO                   FL
89666   3N1CN7AP2JL885599   Nissan       VERSA               Columbus                  OH
89667   3N1CN7AP2JL885652   Nissan       VERSA               Kansas City               MO
89668   3N1CN7AP2JL885666   Nissan       VERSA               Bensalem                  PA
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89669   3N1CN7AP2JL885702   Nissan       VERSA               RICHMOND                  VA
89670   3N1CN7AP2JL885909   Nissan       VERSA               SAVANNAH                  GA
89671   3N1CN7AP2JL885957   Nissan       VERSA               LOS ANGELES               CA
89672   3N1CN7AP2JL886137   Nissan       VERSA               SAN DIEGO                 CA
89673   3N1CN7AP2JL886235   Nissan       VERSA               FORT LAUDERDALE           FL
89674   3N1CN7AP2JL886347   Nissan       VERSA               TAMPA                     FL
89675   3N1CN7AP2JL886364   Nissan       VERSA               WHITE PLAINS              NY
89676   3N1CN7AP2JL886641   Nissan       VERSA               Roseville                 CA
89677   3N1CN7AP2KL844293   Nissan       VERSA               HOUSTON                   TX
89678   3N1CN7AP2KL845153   Nissan       VERSA               Tulsa                     OK
89679   3N1CN7AP2KL846335   Nissan       VERSA               Lexington                 KY
89680   3N1CN7AP2KL849302   Nissan       VERSA               DAYTONA BEACH             FL
89681   3N1CN7AP2KL855049   Nissan       VERSA               SEATAC                    WA
89682   3N1CN7AP2KL855312   Nissan       VERSA               Cleveland                 OH
89683   3N1CN7AP2KL855536   Nissan       VERSA               FORT MYERS                FL
89684   3N1CN7AP2KL855696   Nissan       VERSA               Hebron                    KY
89685   3N1CN7AP2KL855875   Nissan       VERSA               Hebron                    KY
89686   3N1CN7AP2KL856525   Nissan       VERSA               COLUMBIA                  SC
89687   3N1CN7AP2KL857786   Nissan       VERSA               PORTLAND                  OR
89688   3N1CN7AP2KL858341   Nissan       VERSA               San Antonio               TX
89689   3N1CN7AP2KL859215   Nissan       VERSA               WEST DUNDEE               IL
89690   3N1CN7AP2KL861398   Nissan       VERSA               Hamilton                  OH
89691   3N1CN7AP2KL861448   Nissan       VERSA               Hebron                    KY
89692   3N1CN7AP2KL862194   Nissan       VERSA               DAYTON                    OH
89693   3N1CN7AP2KL862681   Nissan       VERSA               DES MOINES                IA
89694   3N1CN7AP2KL862762   Nissan       VERSA               Jamaica                   NY
89695   3N1CN7AP2KL865693   Nissan       VERSA               HOUSTON                   TX
89696   3N1CN7AP2KL868707   Nissan       VERSA               Lexington                 KY
89697   3N1CN7AP2KL870196   Nissan       VERSA               Portland                  OR
89698   3N1CN7AP2KL870232   Nissan       VERSA               PLEASANTON                CA
89699   3N1CN7AP2KL870392   Nissan       VERSA               Pittsburgh                PA
89700   3N1CN7AP2KL870571   Nissan       VERSA               Tulsa                     OK
89701   3N1CN7AP2KL871381   Nissan       VERSA               Pittsburgh                PA
89702   3N1CN7AP2KL871557   Nissan       VERSA               Austin                    TX
89703   3N1CN7AP2KL872868   Nissan       VERSA               PHILADELPHIA              PA
89704   3N1CN7AP2KL873776   Nissan       VERSA               Syracuse                  NY
89705   3N1CN7AP3JK414440   Nissan       VERSA               DARLINGTON                SC
89706   3N1CN7AP3JK425485   Nissan       VERSA               WEST PALM BEACH           FL
89707   3N1CN7AP3JK434851   Nissan       VERSA               Torrance                  CA
89708   3N1CN7AP3JK435708   Nissan       VERSA               Smithtown                 NY
89709   3N1CN7AP3JK437183   Nissan       VERSA               KEY WEST                  FL
89710   3N1CN7AP3JK437880   Nissan       VERSA               HOUSTON                   TX
89711   3N1CN7AP3JK438074   Nissan       VERSA               DENVER                    CO
89712   3N1CN7AP3JK440388   Nissan       VERSA               ONTARIO                   CA
89713   3N1CN7AP3JK440603   Nissan       VERSA               Euless                    TX
89714   3N1CN7AP3JK440696   Nissan       VERSA               Fresno                    CA
89715   3N1CN7AP3JK441900   Nissan       VERSA               Norwalk                   CA
89716   3N1CN7AP3JK442092   Nissan       VERSA               Roseville                 CA
89717   3N1CN7AP3JK442335   Nissan       VERSA               HILO                      HI
89718   3N1CN7AP3JK442416   Nissan       VERSA               BURBANK                   CA
89719   3N1CN7AP3JK442478   Nissan       VERSA               ORLANDO                   FL
89720   3N1CN7AP3JK442738   Nissan       VERSA               Fresno                    CA
89721   3N1CN7AP3JK442870   Nissan       VERSA               Burien                    WA
89722   3N1CN7AP3JK443033   Nissan       VERSA               Warminster                PA
89723   3N1CN7AP3JL827260   Nissan       VERSA               TAMPA                     FL
89724   3N1CN7AP3JL827825   Nissan       VERSA               Hartford                  CT
89725   3N1CN7AP3JL832250   Nissan       VERSA               FORT MYERS                FL
89726   3N1CN7AP3JL832569   Nissan       VERSA               TAMPA                     FL
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89727   3N1CN7AP3JL833253   Nissan       VERSA               Rock Hill                    SC
89728   3N1CN7AP3JL838064   Nissan       VERSA               FORT MYERS                   FL
89729   3N1CN7AP3JL839795   Nissan       VERSA               Sacramento                   CA
89730   3N1CN7AP3JL840090   Nissan       VERSA               Atlanta                      GA
89731   3N1CN7AP3JL840140   Nissan       VERSA               Sterling                     VA
89732   3N1CN7AP3JL840672   Nissan       VERSA               Davie                        FL
89733   3N1CN7AP3JL842485   Nissan       VERSA               WEST PALM BEACH              FL
89734   3N1CN7AP3JL842633   Nissan       VERSA               Warwick                      RI
89735   3N1CN7AP3JL842650   Nissan       VERSA               PHILADELPHIA                 PA
89736   3N1CN7AP3JL843393   Nissan       VERSA               SEA TAC                      WA
89737   3N1CN7AP3JL844639   Nissan       VERSA               BURBANK                      CA
89738   3N1CN7AP3JL844642   Nissan       VERSA               Elkridge                     MD
89739   3N1CN7AP3JL845273   Nissan       VERSA               WEST PALM BEACH              FL
89740   3N1CN7AP3JL845497   Nissan       VERSA               KAILUA‐KONA                  HI
89741   3N1CN7AP3JL848450   Nissan       VERSA               Fontana                      CA
89742   3N1CN7AP3JL849405   Nissan       VERSA               WEST PALM BEACH              FL
89743   3N1CN7AP3JL849856   Nissan       VERSA               TRACY                        CA
89744   3N1CN7AP3JL849971   Nissan       VERSA               Miami                        FL
89745   3N1CN7AP3JL850764   Nissan       VERSA               ORLANDO                      FL
89746   3N1CN7AP3JL851820   Nissan       VERSA               Chicago                      IL
89747   3N1CN7AP3JL852191   Nissan       VERSA               Las Vegas                    NV
89748   3N1CN7AP3JL854426   Nissan       VERSA               Sarasota                     FL
89749   3N1CN7AP3JL854653   Nissan       VERSA               NEW YORK CITY                NY
89750   3N1CN7AP3JL856211   Nissan       VERSA               North Las Vegas              NV
89751   3N1CN7AP3JL856239   Nissan       VERSA               SEATTLE                      WA
89752   3N1CN7AP3JL856645   Nissan       VERSA               Torrance                     CA
89753   3N1CN7AP3JL858217   Nissan       VERSA               Miami                        FL
89754   3N1CN7AP3JL858332   Nissan       VERSA               Hayward                      CA
89755   3N1CN7AP3JL858511   Nissan       VERSA               Pittsburgh                   PA
89756   3N1CN7AP3JL858556   Nissan       VERSA               NEW ORLEANS                  LA
89757   3N1CN7AP3JL859058   Nissan       VERSA               SACRAMENTO                   CA
89758   3N1CN7AP3JL859707   Nissan       VERSA               Winter Park                  FL
89759   3N1CN7AP3JL860517   Nissan       VERSA               Manheim                      PA
89760   3N1CN7AP3JL861344   Nissan       VERSA               FORT MYERS                   FL
89761   3N1CN7AP3JL862123   Nissan       VERSA               Massapequa                   NY
89762   3N1CN7AP3JL862199   Nissan       VERSA               North Las Vegas              NV
89763   3N1CN7AP3JL862350   Nissan       VERSA               WEST PALM BEACH              FL
89764   3N1CN7AP3JL862686   Nissan       VERSA               DALLAS                       TX
89765   3N1CN7AP3JL862848   Nissan       VERSA               Slidell                      LA
89766   3N1CN7AP3JL863157   Nissan       VERSA               PALM SPRINGS                 CA
89767   3N1CN7AP3JL863448   Nissan       VERSA               Salt Lake City               UT
89768   3N1CN7AP3JL863627   Nissan       VERSA               ORLANDO                      FL
89769   3N1CN7AP3JL864180   Nissan       VERSA               WEST PALM BEACH              FL
89770   3N1CN7AP3JL864664   Nissan       VERSA               SAN DIEGO                    CA
89771   3N1CN7AP3JL864776   Nissan       VERSA               Norwalk                      CA
89772   3N1CN7AP3JL864969   Nissan       VERSA               FORT LAUDERDALE              FL
89773   3N1CN7AP3JL865121   Nissan       VERSA               Anaheim                      CA
89774   3N1CN7AP3JL865183   Nissan       VERSA               TAMPA                        FL
89775   3N1CN7AP3JL865670   Nissan       VERSA               WASHINGTON DC, NATIONAL AP   DC
89776   3N1CN7AP3JL866026   Nissan       VERSA               SEATAC                       WA
89777   3N1CN7AP3JL866141   Nissan       VERSA               MEDINA                       OH
89778   3N1CN7AP3JL866432   Nissan       VERSA               Warr Acres                   OK
89779   3N1CN7AP3JL869203   Nissan       VERSA               ORLANDO                      FL
89780   3N1CN7AP3JL869346   Nissan       VERSA               Bridgeton                    MO
89781   3N1CN7AP3JL869802   Nissan       VERSA               HARTFORD                     CT
89782   3N1CN7AP3JL869833   Nissan       VERSA               Detroit                      MI
89783   3N1CN7AP3JL869847   Nissan       VERSA               SAN DIEGO                    CA
89784   3N1CN7AP3JL869914   Nissan       VERSA               FORT MYERS                   FL
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89785   3N1CN7AP3JL870562   Nissan       VERSA               Elgin                     IL
89786   3N1CN7AP3JL871565   Nissan       VERSA               TRACY                     CA
89787   3N1CN7AP3JL871694   Nissan       VERSA               TRACY                     CA
89788   3N1CN7AP3JL871761   Nissan       VERSA               Roseville                 CA
89789   3N1CN7AP3JL871954   Nissan       VERSA               Kahului                   HI
89790   3N1CN7AP3JL872005   Nissan       VERSA               Kahului                   HI
89791   3N1CN7AP3JL872053   Nissan       VERSA               LOS ANGELES               CA
89792   3N1CN7AP3JL872215   Nissan       VERSA               PLEASANTON                CA
89793   3N1CN7AP3JL872294   Nissan       VERSA               Sacramento                CA
89794   3N1CN7AP3JL872506   Nissan       VERSA               SAN DIEGO                 CA
89795   3N1CN7AP3JL872747   Nissan       VERSA               KAHULUI                   HI
89796   3N1CN7AP3JL872845   Nissan       VERSA               LAS VEGAS                 NV
89797   3N1CN7AP3JL873266   Nissan       VERSA               Rio Linda                 CA
89798   3N1CN7AP3JL873283   Nissan       VERSA               Ventura                   CA
89799   3N1CN7AP3JL873638   Nissan       VERSA               KAHULUI                   HI
89800   3N1CN7AP3JL873722   Nissan       VERSA               SAN DIEGO                 CA
89801   3N1CN7AP3JL873929   Nissan       VERSA               North Las Vegas           NV
89802   3N1CN7AP3JL874109   Nissan       VERSA               Norwalk                   CA
89803   3N1CN7AP3JL874126   Nissan       VERSA               TUCSON                    AZ
89804   3N1CN7AP3JL874529   Nissan       VERSA               ONTARIO                   CA
89805   3N1CN7AP3JL875065   Nissan       VERSA               Los Angeles               CA
89806   3N1CN7AP3JL877348   Nissan       VERSA               Rockville Centr           NY
89807   3N1CN7AP3JL877771   Nissan       VERSA               WARWICK                   RI
89808   3N1CN7AP3JL877785   Nissan       VERSA               GRAND RAPIDS              MI
89809   3N1CN7AP3JL878158   Nissan       VERSA               DALLAS                    TX
89810   3N1CN7AP3JL878175   Nissan       VERSA               NEW YORK CITY             NY
89811   3N1CN7AP3JL878208   Nissan       VERSA               Atlanta                   GA
89812   3N1CN7AP3JL878290   Nissan       VERSA               GRAND RAPIDS              MI
89813   3N1CN7AP3JL878404   Nissan       VERSA               SACRAMENTO                CA
89814   3N1CN7AP3JL878466   Nissan       VERSA               RONKONKOMA                NY
89815   3N1CN7AP3JL878564   Nissan       VERSA               LOS ANGELES AP            CA
89816   3N1CN7AP3JL878659   Nissan       VERSA               NORFOLK                   VA
89817   3N1CN7AP3JL878788   Nissan       VERSA               Detroit                   MI
89818   3N1CN7AP3JL878807   Nissan       VERSA               RONKONKOMA                NY
89819   3N1CN7AP3JL878824   Nissan       VERSA               BOSTON                    MA
89820   3N1CN7AP3JL878922   Nissan       VERSA               North Dighton             MA
89821   3N1CN7AP3JL879049   Nissan       VERSA               JACKSONVILLE              FL
89822   3N1CN7AP3JL879083   Nissan       VERSA               FORT LAUDERDALE           FL
89823   3N1CN7AP3JL879150   Nissan       VERSA               TAMPA                     FL
89824   3N1CN7AP3JL879391   Nissan       VERSA               RICHMOND                  VA
89825   3N1CN7AP3JL879536   Nissan       VERSA               PHILADELPHIA              PA
89826   3N1CN7AP3JL879567   Nissan       VERSA               ORLANDO                   FL
89827   3N1CN7AP3JL879651   Nissan       VERSA               Charlotte                 NC
89828   3N1CN7AP3JL879729   Nissan       VERSA               SAN FRANCISCO             CA
89829   3N1CN7AP3JL879777   Nissan       VERSA               TAMPA                     FL
89830   3N1CN7AP3JL879892   Nissan       VERSA               KNOXVILLE                 TN
89831   3N1CN7AP3JL879908   Nissan       VERSA               Plainfield                IN
89832   3N1CN7AP3JL879939   Nissan       VERSA               PORTLAND                  ME
89833   3N1CN7AP3JL879956   Nissan       VERSA               FORT MYERS                FL
89834   3N1CN7AP3JL880038   Nissan       VERSA               STERLING                  VA
89835   3N1CN7AP3JL880170   Nissan       VERSA               Estero                    FL
89836   3N1CN7AP3JL880346   Nissan       VERSA               ATLANTA                   GA
89837   3N1CN7AP3JL880783   Nissan       VERSA               STERLING                  VA
89838   3N1CN7AP3JL880847   Nissan       VERSA               LOS ANGELES               CA
89839   3N1CN7AP3JL881268   Nissan       VERSA               PHOENIX                   AZ
89840   3N1CN7AP3JL881349   Nissan       VERSA               SAN DIEGO                 US
89841   3N1CN7AP3JL881545   Nissan       VERSA               STERLING                  VA
89842   3N1CN7AP3JL881609   Nissan       VERSA               KENNER                    LA
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89843   3N1CN7AP3JL881643   Nissan       VERSA               NEWARK                    NY
89844   3N1CN7AP3JL881657   Nissan       VERSA               Philadelphia              PA
89845   3N1CN7AP3JL881674   Nissan       VERSA               NORFOLK                   VA
89846   3N1CN7AP3JL881755   Nissan       VERSA               WEST PALM BEACH           FL
89847   3N1CN7AP3JL881805   Nissan       VERSA               Atlanta                   GA
89848   3N1CN7AP3JL881819   Nissan       VERSA               LITTLE ROCK               AR
89849   3N1CN7AP3JL882310   Nissan       VERSA               Schaumburg                IL
89850   3N1CN7AP3JL882422   Nissan       VERSA               Florissant                MO
89851   3N1CN7AP3JL882436   Nissan       VERSA               INDIANAPOLIS              IN
89852   3N1CN7AP3JL882517   Nissan       VERSA               PORTLAND                  ME
89853   3N1CN7AP3JL882548   Nissan       VERSA               SAN DIEGO                 US
89854   3N1CN7AP3JL882629   Nissan       VERSA               KNOXVILLE                 TN
89855   3N1CN7AP3JL882680   Nissan       VERSA               LOS ANGELES               CA
89856   3N1CN7AP3JL884431   Nissan       VERSA               Manheim                   PA
89857   3N1CN7AP3JL884493   Nissan       VERSA               BOSTON                    MA
89858   3N1CN7AP3JL884607   Nissan       VERSA               Miami                     FL
89859   3N1CN7AP3JL884798   Nissan       VERSA               ORLANDO                   FL
89860   3N1CN7AP3JL884803   Nissan       VERSA               CLARKSVILLE               IN
89861   3N1CN7AP3JL884851   Nissan       VERSA               ORLANDO                   FL
89862   3N1CN7AP3JL884929   Nissan       VERSA               COLLEGE PARK              GA
89863   3N1CN7AP3JL885000   Nissan       VERSA               Stone Mountain            GA
89864   3N1CN7AP3JL885028   Nissan       VERSA               Smithtown                 NY
89865   3N1CN7AP3JL885031   Nissan       VERSA               ORLANDO                   FL
89866   3N1CN7AP3JL885059   Nissan       VERSA               WEST PALM BEACH           FL
89867   3N1CN7AP3JL885238   Nissan       VERSA               FORT LAUDERDALE           FL
89868   3N1CN7AP3JL885532   Nissan       VERSA               Austin                    TX
89869   3N1CN7AP3JL885546   Nissan       VERSA               ORLANDO                   FL
89870   3N1CN7AP3JL885580   Nissan       VERSA               NEW BERN                  NC
89871   3N1CN7AP3JL885644   Nissan       VERSA               FORT MYERS                FL
89872   3N1CN7AP3JL885725   Nissan       VERSA               CHARLESTON                WV
89873   3N1CN7AP3JL885756   Nissan       VERSA               TAMPA                     FL
89874   3N1CN7AP3JL885840   Nissan       VERSA               FORT MYERS                FL
89875   3N1CN7AP3JL885871   Nissan       VERSA               Norwalk                   CA
89876   3N1CN7AP3JL885904   Nissan       VERSA               Roseville                 CA
89877   3N1CN7AP3JL886079   Nissan       VERSA               Roseville                 CA
89878   3N1CN7AP3JL886096   Nissan       VERSA               CHARLOTTE                 NC
89879   3N1CN7AP3JL886132   Nissan       VERSA               SAN FRANCISCO             CA
89880   3N1CN7AP3JL886177   Nissan       VERSA               Roseville                 CA
89881   3N1CN7AP3JL886227   Nissan       VERSA               Colorado Spring           CO
89882   3N1CN7AP3JL886308   Nissan       VERSA               TAMPA                     FL
89883   3N1CN7AP3JL886311   Nissan       VERSA               MIAMI                     FL
89884   3N1CN7AP3JL886406   Nissan       VERSA               Atlanta                   GA
89885   3N1CN7AP3KL841743   Nissan       VERSA               Harlingen                 TX
89886   3N1CN7AP3KL849177   Nissan       VERSA               PORTLAND                  OR
89887   3N1CN7AP3KL849860   Nissan       VERSA               KNOXVILLE                 TN
89888   3N1CN7AP3KL855688   Nissan       VERSA               DETROIT                   MI
89889   3N1CN7AP3KL857196   Nissan       VERSA               Indianapolis              IN
89890   3N1CN7AP3KL858221   Nissan       VERSA               Maple Grove               MN
89891   3N1CN7AP3KL859403   Nissan       VERSA               ORLANDO                   FL
89892   3N1CN7AP3KL859448   Nissan       VERSA               Houston                   TX
89893   3N1CN7AP3KL861085   Nissan       VERSA               CHICAGO                   IL
89894   3N1CN7AP3KL861166   Nissan       VERSA               Hamilton                  OH
89895   3N1CN7AP3KL861975   Nissan       VERSA               Dallas                    TX
89896   3N1CN7AP3KL864309   Nissan       VERSA               EULESS                    TX
89897   3N1CN7AP3KL865816   Nissan       VERSA               Denver                    CO
89898   3N1CN7AP3KL865847   Nissan       VERSA               Kansas City               KS
89899   3N1CN7AP3KL866979   Nissan       VERSA               KNOXVILLE                 TN
89900   3N1CN7AP3KL869591   Nissan       VERSA               Slidell                   LA
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89901   3N1CN7AP3KL870160   Nissan       VERSA               Hanover                   MD
89902   3N1CN7AP3KL870238   Nissan       VERSA               Rochester                 NY
89903   3N1CN7AP3KL870854   Nissan       VERSA               CHEEKTOWAGA               NY
89904   3N1CN7AP3KL871440   Nissan       VERSA               Florissant                MO
89905   3N1CN7AP3KL872099   Nissan       VERSA               GLASSBORO                 NJ
89906   3N1CN7AP3KL873771   Nissan       VERSA               KENNER                    LA
89907   3N1CN7AP3KL874547   Nissan       VERSA               PALM SPRINGS              CA
89908   3N1CN7AP4JK418321   Nissan       VERSA               FORT MYERS                FL
89909   3N1CN7AP4JK418691   Nissan       VERSA               Estero                    FL
89910   3N1CN7AP4JK419548   Nissan       VERSA               TAMPA                     FL
89911   3N1CN7AP4JK424250   Nissan       VERSA               ATLANTA                   GA
89912   3N1CN7AP4JK425706   Nissan       VERSA               Kahului                   HI
89913   3N1CN7AP4JK427651   Nissan       VERSA               SARASOTA                  FL
89914   3N1CN7AP4JK434633   Nissan       VERSA               Norwalk                   CA
89915   3N1CN7AP4JK436804   Nissan       VERSA               BOSTON                    MA
89916   3N1CN7AP4JK437032   Nissan       VERSA               Clearwater                FL
89917   3N1CN7AP4JK437063   Nissan       VERSA               Tulsa                     OK
89918   3N1CN7AP4JK438844   Nissan       VERSA               GRAND RAPIDS              MI
89919   3N1CN7AP4JK438987   Nissan       VERSA               DENVER                    CO
89920   3N1CN7AP4JK439475   Nissan       VERSA               CLEVELAND                 OH
89921   3N1CN7AP4JK441517   Nissan       VERSA               LAS VEGAS                 NV
89922   3N1CN7AP4JK441596   Nissan       VERSA               PHOENIX                   AZ
89923   3N1CN7AP4JK441792   Nissan       VERSA               Atlanta                   GA
89924   3N1CN7AP4JK441971   Nissan       VERSA               SAN DIEGO                 US
89925   3N1CN7AP4JK442523   Nissan       VERSA               Santa Clara               CA
89926   3N1CN7AP4JK443056   Nissan       VERSA               Kahului                   HI
89927   3N1CN7AP4JL825386   Nissan       VERSA               Carleton                  MI
89928   3N1CN7AP4JL831396   Nissan       VERSA               TAMPA                     FL
89929   3N1CN7AP4JL833083   Nissan       VERSA               FORT MYERS                FL
89930   3N1CN7AP4JL833701   Nissan       VERSA               Winter Park               FL
89931   3N1CN7AP4JL833911   Nissan       VERSA               Manheim                   PA
89932   3N1CN7AP4JL835884   Nissan       VERSA               Atlanta                   GA
89933   3N1CN7AP4JL836758   Nissan       VERSA               WEST PALM BEACH           FL
89934   3N1CN7AP4JL838977   Nissan       VERSA               SAN FRANCISCO             CA
89935   3N1CN7AP4JL840602   Nissan       VERSA               FORT LAUDERDALE           FL
89936   3N1CN7AP4JL841717   Nissan       VERSA               Sacramento                CA
89937   3N1CN7AP4JL842463   Nissan       VERSA               Tampa                     FL
89938   3N1CN7AP4JL842642   Nissan       VERSA               Memphis                   TN
89939   3N1CN7AP4JL842706   Nissan       VERSA               FORT MYERS                FL
89940   3N1CN7AP4JL843256   Nissan       VERSA               TAMPA                     FL
89941   3N1CN7AP4JL843614   Nissan       VERSA               TRACY                     CA
89942   3N1CN7AP4JL843659   Nissan       VERSA               FULLERTON                 CA
89943   3N1CN7AP4JL843869   Nissan       VERSA               Woodhaven                 MI
89944   3N1CN7AP4JL844116   Nissan       VERSA               Rio Linda                 CA
89945   3N1CN7AP4JL844620   Nissan       VERSA               TAMPA                     FL
89946   3N1CN7AP4JL844696   Nissan       VERSA               Tampa                     FL
89947   3N1CN7AP4JL844780   Nissan       VERSA               NORFOLK                   VA
89948   3N1CN7AP4JL844813   Nissan       VERSA               PHOENIX                   AZ
89949   3N1CN7AP4JL844875   Nissan       VERSA               SAN DIEGO                 CA
89950   3N1CN7AP4JL844987   Nissan       VERSA               Stockton                  CA
89951   3N1CN7AP4JL845038   Nissan       VERSA               LOS ANGELES               CA
89952   3N1CN7AP4JL845380   Nissan       VERSA               CLEARWATER                FL
89953   3N1CN7AP4JL845489   Nissan       VERSA               Las Vegas                 NV
89954   3N1CN7AP4JL845556   Nissan       VERSA               Hayward                   CA
89955   3N1CN7AP4JL845931   Nissan       VERSA               Davie                     FL
89956   3N1CN7AP4JL848604   Nissan       VERSA               Baltimore                 MD
89957   3N1CN7AP4JL848845   Nissan       VERSA               Estero                    FL
89958   3N1CN7AP4JL849834   Nissan       VERSA               Manheim                   PA
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89959   3N1CN7AP4JL850059   Nissan       VERSA               Elkridge                  MD
89960   3N1CN7AP4JL851342   Nissan       VERSA               UNION CITY                GA
89961   3N1CN7AP4JL852149   Nissan       VERSA               Manheim                   PA
89962   3N1CN7AP4JL853172   Nissan       VERSA               North Dighton             MA
89963   3N1CN7AP4JL853446   Nissan       VERSA               Torrance                  CA
89964   3N1CN7AP4JL854385   Nissan       VERSA               PENSACOLA                 FL
89965   3N1CN7AP4JL854905   Nissan       VERSA               Slidell                   LA
89966   3N1CN7AP4JL856332   Nissan       VERSA               Roseville                 CA
89967   3N1CN7AP4JL856749   Nissan       VERSA               Hayward                   CA
89968   3N1CN7AP4JL857531   Nissan       VERSA               SOUTHEAST DST OFFC        OK
89969   3N1CN7AP4JL857917   Nissan       VERSA               San Diego                 CA
89970   3N1CN7AP4JL858064   Nissan       VERSA               SACRAMENTO                CA
89971   3N1CN7AP4JL858095   Nissan       VERSA               Plainfield                IN
89972   3N1CN7AP4JL859019   Nissan       VERSA               FAYETTEVILLE              US
89973   3N1CN7AP4JL859599   Nissan       VERSA               ORLANDO                   FL
89974   3N1CN7AP4JL859764   Nissan       VERSA               Lake in the Hil           IL
89975   3N1CN7AP4JL860302   Nissan       VERSA               Norwalk                   CA
89976   3N1CN7AP4JL861482   Nissan       VERSA               GRAND RAPIDS              MI
89977   3N1CN7AP4JL862809   Nissan       VERSA               PLEASANTON                CA
89978   3N1CN7AP4JL862969   Nissan       VERSA               Manheim                   PA
89979   3N1CN7AP4JL863300   Nissan       VERSA               Houston                   TX
89980   3N1CN7AP4JL864897   Nissan       VERSA               ANCHORAGE                 AK
89981   3N1CN7AP4JL864995   Nissan       VERSA               Tampa                     FL
89982   3N1CN7AP4JL865144   Nissan       VERSA               OAKLAND                   CA
89983   3N1CN7AP4JL865709   Nissan       VERSA               Cincinnati                OH
89984   3N1CN7AP4JL866049   Nissan       VERSA               FORT MYERS                FL
89985   3N1CN7AP4JL866245   Nissan       VERSA               SAN DIEGO                 CA
89986   3N1CN7AP4JL866262   Nissan       VERSA               Woodhaven                 MI
89987   3N1CN7AP4JL866424   Nissan       VERSA               ORLANDO                   FL
89988   3N1CN7AP4JL866567   Nissan       VERSA               Phoenix                   AZ
89989   3N1CN7AP4JL869131   Nissan       VERSA               EGG HARBOR TOWN           NJ
89990   3N1CN7AP4JL869971   Nissan       VERSA               FORT MYERS                FL
89991   3N1CN7AP4JL870408   Nissan       VERSA               ATLANTA                   GA
89992   3N1CN7AP4JL870649   Nissan       VERSA               TAMPA                     FL
89993   3N1CN7AP4JL871090   Nissan       VERSA               Manheim                   PA
89994   3N1CN7AP4JL871154   Nissan       VERSA               Torrance                  CA
89995   3N1CN7AP4JL871297   Nissan       VERSA               SACRAMENTO                CA
89996   3N1CN7AP4JL871414   Nissan       VERSA               DANIA BEACH               FL
89997   3N1CN7AP4JL871588   Nissan       VERSA               Kahului                   HI
89998   3N1CN7AP4JL871591   Nissan       VERSA               LAS VEGAS                 NV
89999   3N1CN7AP4JL871607   Nissan       VERSA               KAHULUI                   HI
90000   3N1CN7AP4JL871638   Nissan       VERSA               SAN DIEGO                 CA
90001   3N1CN7AP4JL871753   Nissan       VERSA               SAN DIEGO                 CA
90002   3N1CN7AP4JL871784   Nissan       VERSA               INDIANAPOLIS              IN
90003   3N1CN7AP4JL871803   Nissan       VERSA               PHOENIX                   AZ
90004   3N1CN7AP4JL871817   Nissan       VERSA               ONTARIO                   CA
90005   3N1CN7AP4JL871879   Nissan       VERSA               LAS VEGAS                 NV
90006   3N1CN7AP4JL871901   Nissan       VERSA               KAHULUI                   HI
90007   3N1CN7AP4JL872062   Nissan       VERSA               KAHULUI                   HI
90008   3N1CN7AP4JL872093   Nissan       VERSA               Roseville                 CA
90009   3N1CN7AP4JL872157   Nissan       VERSA               Roseville                 CA
90010   3N1CN7AP4JL872160   Nissan       VERSA               CLARKSVILLE               IN
90011   3N1CN7AP4JL872191   Nissan       VERSA               KAHULUI                   HI
90012   3N1CN7AP4JL872305   Nissan       VERSA               Rio Linda                 CA
90013   3N1CN7AP4JL872319   Nissan       VERSA               Pheonix                   AZ
90014   3N1CN7AP4JL872367   Nissan       VERSA               KAHULUI                   HI
90015   3N1CN7AP4JL872420   Nissan       VERSA               KAHULUI                   HI
90016   3N1CN7AP4JL872479   Nissan       VERSA               KAHULUI                   HI
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90017   3N1CN7AP4JL872644   Nissan       VERSA               Hilo                      HI
90018   3N1CN7AP4JL872692   Nissan       VERSA               San Diego                 CA
90019   3N1CN7AP4JL872904   Nissan       VERSA               Torrance                  CA
90020   3N1CN7AP4JL873227   Nissan       VERSA               Fresno                    CA
90021   3N1CN7AP4JL873244   Nissan       VERSA               Sacramento                CA
90022   3N1CN7AP4JL873275   Nissan       VERSA               PORTLAND                  OR
90023   3N1CN7AP4JL873311   Nissan       VERSA               Stockton                  CA
90024   3N1CN7AP4JL873440   Nissan       VERSA               FEDERAL WAY               WA
90025   3N1CN7AP4JL873454   Nissan       VERSA               ORLANDO                   FL
90026   3N1CN7AP4JL873812   Nissan       VERSA               LAS VEGAS                 NV
90027   3N1CN7AP4JL874135   Nissan       VERSA               Norwalk                   CA
90028   3N1CN7AP4JL874183   Nissan       VERSA               Portland                  OR
90029   3N1CN7AP4JL874717   Nissan       VERSA               Fresno                    CA
90030   3N1CN7AP4JL874930   Nissan       VERSA               Pittsburgh                PA
90031   3N1CN7AP4JL874958   Nissan       VERSA               SANTA ANA                 CA
90032   3N1CN7AP4JL875026   Nissan       VERSA               North Las Vegas           NV
90033   3N1CN7AP4JL875057   Nissan       VERSA               Burien                    WA
90034   3N1CN7AP4JL875169   Nissan       VERSA               PHOENIX                   AZ
90035   3N1CN7AP4JL876385   Nissan       VERSA               Sacramento                CA
90036   3N1CN7AP4JL877374   Nissan       VERSA               NEW YORK CITY             NY
90037   3N1CN7AP4JL877472   Nissan       VERSA               WHITE PLAINS              NY
90038   3N1CN7AP4JL877620   Nissan       VERSA               PHILADELPHIA              PA
90039   3N1CN7AP4JL877679   Nissan       VERSA               Newark                    NJ
90040   3N1CN7AP4JL877682   Nissan       VERSA               SAVANNAH                  GA
90041   3N1CN7AP4JL877763   Nissan       VERSA               Teterboro                 NJ
90042   3N1CN7AP4JL878041   Nissan       VERSA               SOUTHEAST DST OFFC        OK
90043   3N1CN7AP4JL878198   Nissan       VERSA               FORT MYERS                FL
90044   3N1CN7AP4JL878220   Nissan       VERSA               COLLEGE PARK              GA
90045   3N1CN7AP4JL878301   Nissan       VERSA               Hartford                  CT
90046   3N1CN7AP4JL878539   Nissan       VERSA               HANOVER                   MD
90047   3N1CN7AP4JL878752   Nissan       VERSA               CLEVELAND                 OH
90048   3N1CN7AP4JL878833   Nissan       VERSA               SAN JOSE                  CA
90049   3N1CN7AP4JL878895   Nissan       VERSA               FEDERAL WAY               WA
90050   3N1CN7AP4JL878945   Nissan       VERSA               Atlanta                   GA
90051   3N1CN7AP4JL878976   Nissan       VERSA               BURBANK                   CA
90052   3N1CN7AP4JL879061   Nissan       VERSA               Nashville                 TN
90053   3N1CN7AP4JL879089   Nissan       VERSA               STERLING                  VA
90054   3N1CN7AP4JL879190   Nissan       VERSA               Kansas City               MO
90055   3N1CN7AP4JL879237   Nissan       VERSA               San Diego                 CA
90056   3N1CN7AP4JL879271   Nissan       VERSA               TUCSON                    AZ
90057   3N1CN7AP4JL879304   Nissan       VERSA               PALM S                    CA
90058   3N1CN7AP4JL879318   Nissan       VERSA               SARASOTA                  FL
90059   3N1CN7AP4JL879335   Nissan       VERSA               SEATAC                    WA
90060   3N1CN7AP4JL879366   Nissan       VERSA               TAMPA                     FL
90061   3N1CN7AP4JL879397   Nissan       VERSA               KNOXVILLE                 TN
90062   3N1CN7AP4JL879500   Nissan       VERSA               Sacramento                CA
90063   3N1CN7AP4JL879822   Nissan       VERSA               KANSAS CITY               MO
90064   3N1CN7AP4JL879996   Nissan       VERSA               Slidell                   LA
90065   3N1CN7AP4JL880050   Nissan       VERSA               Newark                    NJ
90066   3N1CN7AP4JL880100   Nissan       VERSA               Morrisville               NC
90067   3N1CN7AP4JL880145   Nissan       VERSA               Des Moines                IA
90068   3N1CN7AP4JL880825   Nissan       VERSA               Hayward                   CA
90069   3N1CN7AP4JL880940   Nissan       VERSA               SNELLVILLE                GA
90070   3N1CN7AP4JL881067   Nissan       VERSA               ORLANDO                   FL
90071   3N1CN7AP4JL881120   Nissan       VERSA               ORLANDO                   FL
90072   3N1CN7AP4JL881229   Nissan       VERSA               Atlanta                   GA
90073   3N1CN7AP4JL881263   Nissan       VERSA               FORT MYERS                FL
90074   3N1CN7AP4JL881344   Nissan       VERSA               SAN ANTONIO               TX
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                 Case 20-11218-MFW
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90075   3N1CN7AP4JL881375   Nissan       VERSA               Burien                    WA
90076   3N1CN7AP4JL881392   Nissan       VERSA               Atlanta                   GA
90077   3N1CN7AP4JL881425   Nissan       VERSA               ORLANDO                   FL
90078   3N1CN7AP4JL881473   Nissan       VERSA               KNOXVILLE                 TN
90079   3N1CN7AP4JL881540   Nissan       VERSA               BURBANK                   CA
90080   3N1CN7AP4JL881571   Nissan       VERSA               ORLANDO                   FL
90081   3N1CN7AP4JL881585   Nissan       VERSA               KANSAS CITY               MO
90082   3N1CN7AP4JL881652   Nissan       VERSA               CHARLESTON                WV
90083   3N1CN7AP4JL881666   Nissan       VERSA               ORLANDO                   FL
90084   3N1CN7AP4JL881697   Nissan       VERSA               ORLANDO                   FL
90085   3N1CN7AP4JL881926   Nissan       VERSA               FRESNO                    CA
90086   3N1CN7AP4JL882008   Nissan       VERSA               ORLANDO                   FL
90087   3N1CN7AP4JL882283   Nissan       VERSA               TAMPA                     FL
90088   3N1CN7AP4JL882347   Nissan       VERSA               PHILADELPHIA              PA
90089   3N1CN7AP4JL882378   Nissan       VERSA               FORT MYERS                FL
90090   3N1CN7AP4JL882395   Nissan       VERSA               LOS ANGELES               CA
90091   3N1CN7AP4JL882445   Nissan       VERSA               Dallas                    TX
90092   3N1CN7AP4JL882509   Nissan       VERSA               KNOXVILLE                 TN
90093   3N1CN7AP4JL882526   Nissan       VERSA               ORLANDO                   FL
90094   3N1CN7AP4JL882655   Nissan       VERSA               SAN DIEGO                 US
90095   3N1CN7AP4JL882669   Nissan       VERSA               DETROIT                   MI
90096   3N1CN7AP4JL882719   Nissan       VERSA               DES MOINES                IA
90097   3N1CN7AP4JL883093   Nissan       VERSA               WEST PALM BEACH           FL
90098   3N1CN7AP4JL884406   Nissan       VERSA               BURBANK                   CA
90099   3N1CN7AP4JL884423   Nissan       VERSA               MONTEREY                  CA
90100   3N1CN7AP4JL884454   Nissan       VERSA               Fairburn                  GA
90101   3N1CN7AP4JL884468   Nissan       VERSA               LAS VEGAS                 NV
90102   3N1CN7AP4JL884521   Nissan       VERSA               COLORADO SPRING           CO
90103   3N1CN7AP4JL884552   Nissan       VERSA               Harlingen                 TX
90104   3N1CN7AP4JL884647   Nissan       VERSA               SAN LEANDRO               CA
90105   3N1CN7AP4JL884650   Nissan       VERSA               NEW BERN                  NC
90106   3N1CN7AP4JL884776   Nissan       VERSA               Elkridge                  MD
90107   3N1CN7AP4JL884826   Nissan       VERSA               KANSAS CITY               MO
90108   3N1CN7AP4JL884888   Nissan       VERSA               ORLANDO                   FL
90109   3N1CN7AP4JL884938   Nissan       VERSA               SALT LAKE CITY            US
90110   3N1CN7AP4JL885037   Nissan       VERSA               FORT MYERS                FL
90111   3N1CN7AP4JL885054   Nissan       VERSA               DULUTH                    GA
90112   3N1CN7AP4JL885071   Nissan       VERSA               TAMPA                     FL
90113   3N1CN7AP4JL885281   Nissan       VERSA               Orlando                   FL
90114   3N1CN7AP4JL885314   Nissan       VERSA               LAS VEGAS                 NV
90115   3N1CN7AP4JL885328   Nissan       VERSA               Salt Lake City            UT
90116   3N1CN7AP4JL885376   Nissan       VERSA               MIAMI                     FL
90117   3N1CN7AP4JL885409   Nissan       VERSA               Charlotte                 NC
90118   3N1CN7AP4JL885412   Nissan       VERSA               SARASOTA                  FL
90119   3N1CN7AP4JL885507   Nissan       VERSA               FORT LAUDERDALE           FL
90120   3N1CN7AP4JL885541   Nissan       VERSA               Austell                   GA
90121   3N1CN7AP4JL885572   Nissan       VERSA               Dallas                    TX
90122   3N1CN7AP4JL885684   Nissan       VERSA               ORLANDO                   FL
90123   3N1CN7AP4JL885751   Nissan       VERSA               ATLANTA                   GA
90124   3N1CN7AP4JL885801   Nissan       VERSA               Pasadena                  CA
90125   3N1CN7AP4JL885829   Nissan       VERSA               Manheim                   PA
90126   3N1CN7AP4JL885877   Nissan       VERSA               COLLEGE PARK              GA
90127   3N1CN7AP4JL885880   Nissan       VERSA               MIAMI                     FL
90128   3N1CN7AP4JL885944   Nissan       VERSA               ORLANDO                   FL
90129   3N1CN7AP4JL885989   Nissan       VERSA               Webster                   NY
90130   3N1CN7AP4JL886186   Nissan       VERSA               Atlanta                   GA
90131   3N1CN7AP4JL886219   Nissan       VERSA               Roseville                 CA
90132   3N1CN7AP4JL886320   Nissan       VERSA               BOSTON                    MA
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90133   3N1CN7AP4JL886592   Nissan       VERSA               Torrance                  CA
90134   3N1CN7AP4JL886608   Nissan       VERSA               Santa Clara               CA
90135   3N1CN7AP4JL886799   Nissan       VERSA               S. San Francisc           CA
90136   3N1CN7AP4JL886821   Nissan       VERSA               SAN FRANCISCO             CA
90137   3N1CN7AP4JL886981   Nissan       VERSA               PHOENIX                   AZ
90138   3N1CN7AP4JL887001   Nissan       VERSA               LAS VEGAS                 NV
90139   3N1CN7AP4JL887015   Nissan       VERSA               LAS VEGAS                 NV
90140   3N1CN7AP4KL841539   Nissan       VERSA               Warr Acres                OK
90141   3N1CN7AP4KL843677   Nissan       VERSA               Atlanta                   GA
90142   3N1CN7AP4KL843906   Nissan       VERSA               SOUTHEAST DST OFFC        OK
90143   3N1CN7AP4KL845011   Nissan       VERSA               Charlotte                 NC
90144   3N1CN7AP4KL845090   Nissan       VERSA               TAMPA                     FL
90145   3N1CN7AP4KL848832   Nissan       VERSA               SHREVEPORT                LA
90146   3N1CN7AP4KL854226   Nissan       VERSA               PORTLAND                  OR
90147   3N1CN7AP4KL854761   Nissan       VERSA               Atlanta                   GA
90148   3N1CN7AP4KL854792   Nissan       VERSA               FORT MYERS                FL
90149   3N1CN7AP4KL854808   Nissan       VERSA               Austell                   GA
90150   3N1CN7AP4KL855733   Nissan       VERSA               Hebron                    KY
90151   3N1CN7AP4KL858440   Nissan       VERSA               Hamilton                  OH
90152   3N1CN7AP4KL859474   Nissan       VERSA               Warr Acres                OK
90153   3N1CN7AP4KL859734   Nissan       VERSA               ELKRIDGE                  MD
90154   3N1CN7AP4KL860124   Nissan       VERSA               Springfield               MO
90155   3N1CN7AP4KL861306   Nissan       VERSA               Dallas                    TX
90156   3N1CN7AP4KL861368   Nissan       VERSA               KILLEEN                   TX
90157   3N1CN7AP4KL861595   Nissan       VERSA               Newark                    NJ
90158   3N1CN7AP4KL862679   Nissan       VERSA               Vandalia                  OH
90159   3N1CN7AP4KL864092   Nissan       VERSA               PORTLAND                  OR
90160   3N1CN7AP4KL866599   Nissan       VERSA               CHICAGO                   IL
90161   3N1CN7AP4KL866862   Nissan       VERSA               Tulsa                     OK
90162   3N1CN7AP4KL868191   Nissan       VERSA               DES MOINES                IA
90163   3N1CN7AP4KL870653   Nissan       VERSA               Hayward                   CA
90164   3N1CN7AP4KL872547   Nissan       VERSA               Pittsburgh                PA
90165   3N1CN7AP4KL873763   Nissan       VERSA               Elkridge                  MD
90166   3N1CN7AP4KL880227   Nissan       VERSA               Pittsburgh                PA
90167   3N1CN7AP5HK470194   Nissan       VERSA               FORT MYERS                FL
90168   3N1CN7AP5JK425715   Nissan       VERSA               KAHULUI                   HI
90169   3N1CN7AP5JK427660   Nissan       VERSA               Atlanta                   GA
90170   3N1CN7AP5JK429649   Nissan       VERSA               Torrance                  CA
90171   3N1CN7AP5JK430431   Nissan       VERSA               SANTA CLARA               C
90172   3N1CN7AP5JK431837   Nissan       VERSA               Stockton                  CA
90173   3N1CN7AP5JK433412   Nissan       VERSA               Riverside                 CA
90174   3N1CN7AP5JK434625   Nissan       VERSA               Rio Linda                 CA
90175   3N1CN7AP5JK436200   Nissan       VERSA               Sacramento                CA
90176   3N1CN7AP5JK436424   Nissan       VERSA               San Diego                 CA
90177   3N1CN7AP5JK437248   Nissan       VERSA               EL PASO                   TX
90178   3N1CN7AP5JK437413   Nissan       VERSA               SOUTHEAST DST OFFC        OK
90179   3N1CN7AP5JK437430   Nissan       VERSA               TRACY                     CA
90180   3N1CN7AP5JK437900   Nissan       VERSA               Atlanta                   GA
90181   3N1CN7AP5JK437928   Nissan       VERSA               Riverside                 CA
90182   3N1CN7AP5JK438187   Nissan       VERSA               Schaumburg                IL
90183   3N1CN7AP5JK439484   Nissan       VERSA               Hapeville                 GA
90184   3N1CN7AP5JK440537   Nissan       VERSA               PHOENIX                   AZ
90185   3N1CN7AP5JK440599   Nissan       VERSA               Los Angeles               CA
90186   3N1CN7AP5JK440649   Nissan       VERSA               Torrance                  CA
90187   3N1CN7AP5JK440733   Nissan       VERSA               PLEASANTON                CA
90188   3N1CN7AP5JK441509   Nissan       VERSA               Roseville                 CA
90189   3N1CN7AP5JK441834   Nissan       VERSA               ORANGE COUNTY             CA
90190   3N1CN7AP5JK442174   Nissan       VERSA               BLOOMINGTON               IL
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90191   3N1CN7AP5JK442238   Nissan       VERSA               Santa Clara               CA
90192   3N1CN7AP5JK442501   Nissan       VERSA               North Las Vegas           NV
90193   3N1CN7AP5JK442675   Nissan       VERSA               Torrance                  CA
90194   3N1CN7AP5JK442773   Nissan       VERSA               KAHULUI                   HI
90195   3N1CN7AP5JK442899   Nissan       VERSA               SAN FRANCISCO             CA
90196   3N1CN7AP5JK442949   Nissan       VERSA               SAN FRANCISCO             CA
90197   3N1CN7AP5JK443759   Nissan       VERSA               SAN DIEGO                 CA
90198   3N1CN7AP5JK443969   Nissan       VERSA               Sacramento                CA
90199   3N1CN7AP5JL823792   Nissan       VERSA               TRACY                     CA
90200   3N1CN7AP5JL824103   Nissan       VERSA               HONOLULU                  HI
90201   3N1CN7AP5JL824165   Nissan       VERSA               HONOLULU                  HI
90202   3N1CN7AP5JL824487   Nissan       VERSA               FORT MYERS                FL
90203   3N1CN7AP5JL825753   Nissan       VERSA               FORT LAUDERDALE           FL
90204   3N1CN7AP5JL827793   Nissan       VERSA               FORT MYERS                FL
90205   3N1CN7AP5JL833786   Nissan       VERSA               Fredericksburg            VA
90206   3N1CN7AP5JL836056   Nissan       VERSA               Rock Hill                 SC
90207   3N1CN7AP5JL837210   Nissan       VERSA               ORLANDO                   FL
90208   3N1CN7AP5JL839216   Nissan       VERSA               DALLAS                    TX
90209   3N1CN7AP5JL839457   Nissan       VERSA               BIRMINGHAM                AL
90210   3N1CN7AP5JL839846   Nissan       VERSA
90211   3N1CN7AP5JL840382   Nissan       VERSA               Stockton                  CA
90212   3N1CN7AP5JL841533   Nissan       VERSA               N. Palm Beach             FL
90213   3N1CN7AP5JL841709   Nissan       VERSA               NEW YORK CITY             NY
90214   3N1CN7AP5JL841807   Nissan       VERSA               SARASOTA                  FL
90215   3N1CN7AP5JL841886   Nissan       VERSA               North Dighton             MA
90216   3N1CN7AP5JL842312   Nissan       VERSA               UNION CITY                GA
90217   3N1CN7AP5JL842407   Nissan       VERSA               Sanford                   FL
90218   3N1CN7AP5JL842746   Nissan       VERSA               Tampa                     FL
90219   3N1CN7AP5JL843105   Nissan       VERSA               FORT LAUDERDALE           FL
90220   3N1CN7AP5JL843170   Nissan       VERSA               FORT LAUDERDALE           FL
90221   3N1CN7AP5JL843220   Nissan       VERSA               Tampa                     FL
90222   3N1CN7AP5JL843797   Nissan       VERSA               Baltimore                 MD
90223   3N1CN7AP5JL843881   Nissan       VERSA               Ventura                   CA
90224   3N1CN7AP5JL844531   Nissan       VERSA               Torrance                  CA
90225   3N1CN7AP5JL845761   Nissan       VERSA               Fontana                   CA
90226   3N1CN7AP5JL845887   Nissan       VERSA               FORT LAUDERDALE           FL
90227   3N1CN7AP5JL845940   Nissan       VERSA               PHOENIX                   AZ
90228   3N1CN7AP5JL846277   Nissan       VERSA               Santa Clara               CA
90229   3N1CN7AP5JL848000   Nissan       VERSA               North Dighton             MA
90230   3N1CN7AP5JL848255   Nissan       VERSA               Charlotte                 NC
90231   3N1CN7AP5JL848823   Nissan       VERSA               SOUTHEAST DST OFFC        OK
90232   3N1CN7AP5JL849020   Nissan       VERSA               Clarksville               IN
90233   3N1CN7AP5JL849437   Nissan       VERSA               Huntington Stat           NY
90234   3N1CN7AP5JL852533   Nissan       VERSA               Norwalk                   CA
90235   3N1CN7AP5JL852600   Nissan       VERSA               Warminster                PA
90236   3N1CN7AP5JL853777   Nissan       VERSA               Torrance                  CA
90237   3N1CN7AP5JL854248   Nissan       VERSA               Hebron                    KY
90238   3N1CN7AP5JL856663   Nissan       VERSA               MIAMI                     FL
90239   3N1CN7AP5JL857750   Nissan       VERSA               Phoenix                   AZ
90240   3N1CN7AP5JL858283   Nissan       VERSA               BURBANK                   CA
90241   3N1CN7AP5JL858381   Nissan       VERSA               TAMPA                     FL
90242   3N1CN7AP5JL858459   Nissan       VERSA               ORLANDO                   FL
90243   3N1CN7AP5JL858980   Nissan       VERSA               Pasadena                  CA
90244   3N1CN7AP5JL861779   Nissan       VERSA               Torrance                  CA
90245   3N1CN7AP5JL861796   Nissan       VERSA               Manheim                   PA
90246   3N1CN7AP5JL862558   Nissan       VERSA               LAS VEGAS                 NV
90247   3N1CN7AP5JL863354   Nissan       VERSA               LAS VEGAS                 NV
90248   3N1CN7AP5JL863399   Nissan       VERSA               BOSTON                    MA
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90249   3N1CN7AP5JL863435   Nissan       VERSA               Smithtown                 NY
90250   3N1CN7AP5JL863578   Nissan       VERSA               ORLANDO                   FL
90251   3N1CN7AP5JL864133   Nissan       VERSA               JACKSONVILLE              FL
90252   3N1CN7AP5JL864309   Nissan       VERSA               ORLANDO                   FL
90253   3N1CN7AP5JL864522   Nissan       VERSA               FORT LAUDERDALE           FL
90254   3N1CN7AP5JL864648   Nissan       VERSA               WEST PALM BEACH           FL
90255   3N1CN7AP5JL864651   Nissan       VERSA               Fontana                   CA
90256   3N1CN7AP5JL864682   Nissan       VERSA               Riverside                 CA
90257   3N1CN7AP5JL865086   Nissan       VERSA               SOUTHEAST DST OFFC        OK
90258   3N1CN7AP5JL865329   Nissan       VERSA               Hapeville                 GA
90259   3N1CN7AP5JL865346   Nissan       VERSA               DANIA                     FL
90260   3N1CN7AP5JL865413   Nissan       VERSA               ORLANDO                   FL
90261   3N1CN7AP5JL865783   Nissan       VERSA               Wichita                   KS
90262   3N1CN7AP5JL866366   Nissan       VERSA               BURBANK                   CA
90263   3N1CN7AP5JL869381   Nissan       VERSA               ORLANDO                   FL
90264   3N1CN7AP5JL869414   Nissan       VERSA               FORT LAUDERDALE           FL
90265   3N1CN7AP5JL870062   Nissan       VERSA               FORT MYERS                FL
90266   3N1CN7AP5JL870515   Nissan       VERSA               Charlotte                 NC
90267   3N1CN7AP5JL871017   Nissan       VERSA               ST Paul                   MN
90268   3N1CN7AP5JL871521   Nissan       VERSA               SANTA ANA                 CA
90269   3N1CN7AP5JL871549   Nissan       VERSA               Manheim                   PA
90270   3N1CN7AP5JL871678   Nissan       VERSA               Los Angeles               CA
90271   3N1CN7AP5JL871681   Nissan       VERSA               Mira Loma                 CA
90272   3N1CN7AP5JL871762   Nissan       VERSA               Riverside                 CA
90273   3N1CN7AP5JL871910   Nissan       VERSA               Las Vegas                 NV
90274   3N1CN7AP5JL872135   Nissan       VERSA               Hayward                   CA
90275   3N1CN7AP5JL872149   Nissan       VERSA               Norwalk                   CA
90276   3N1CN7AP5JL872216   Nissan       VERSA               North Las Vegas           NV
90277   3N1CN7AP5JL872250   Nissan       VERSA               Euless                    TX
90278   3N1CN7AP5JL872393   Nissan       VERSA               Hapeville                 GA
90279   3N1CN7AP5JL872491   Nissan       VERSA               OAKLAND                   CA
90280   3N1CN7AP5JL872569   Nissan       VERSA               Rio Linda                 CA
90281   3N1CN7AP5JL872605   Nissan       VERSA               WESTERN DIST OFFC         OK
90282   3N1CN7AP5JL872765   Nissan       VERSA               Hamilton                  OH
90283   3N1CN7AP5JL872846   Nissan       VERSA               Maple Grove               MN
90284   3N1CN7AP5JL873219   Nissan       VERSA               San Diego                 CA
90285   3N1CN7AP5JL873477   Nissan       VERSA               Sacramento                CA
90286   3N1CN7AP5JL873561   Nissan       VERSA               Norwalk                   CA
90287   3N1CN7AP5JL873589   Nissan       VERSA               Santa Clara               CA
90288   3N1CN7AP5JL873964   Nissan       VERSA               SEATAC                    WA
90289   3N1CN7AP5JL874094   Nissan       VERSA               Ventura                   CA
90290   3N1CN7AP5JL874578   Nissan       VERSA               Sacramento                CA
90291   3N1CN7AP5JL874662   Nissan       VERSA               PLEASANTON                CA
90292   3N1CN7AP5JL874824   Nissan       VERSA               Santa Clara               CA
90293   3N1CN7AP5JL874841   Nissan       VERSA               Stockton                  CA
90294   3N1CN7AP5JL874922   Nissan       VERSA               SEATTLE                   WA
90295   3N1CN7AP5JL875021   Nissan       VERSA               FORT MYERS                FL
90296   3N1CN7AP5JL875049   Nissan       VERSA               Albuquerque               NM
90297   3N1CN7AP5JL875293   Nissan       VERSA               Houston                   TX
90298   3N1CN7AP5JL877447   Nissan       VERSA               Phoenix                   AZ
90299   3N1CN7AP5JL877481   Nissan       VERSA               SARASOTA                  FL
90300   3N1CN7AP5JL877514   Nissan       VERSA               GREENVILLE                NC
90301   3N1CN7AP5JL877612   Nissan       VERSA               BALTIMORE                 MD
90302   3N1CN7AP5JL877688   Nissan       VERSA               Warwick                   RI
90303   3N1CN7AP5JL877786   Nissan       VERSA               EGG HARBOR TOWN           NJ
90304   3N1CN7AP5JL877965   Nissan       VERSA               GRAND RAPIDS              MI
90305   3N1CN7AP5JL878243   Nissan       VERSA               DETROIT                   MI
90306   3N1CN7AP5JL878291   Nissan       VERSA               NEWARK                    NJ
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90307   3N1CN7AP5JL878582   Nissan       VERSA               RALIEGH                   NC
90308   3N1CN7AP5JL878680   Nissan       VERSA               SAN DIEGO                 CA
90309   3N1CN7AP5JL878789   Nissan       VERSA               WEST PALM BEACH           FL
90310   3N1CN7AP5JL878808   Nissan       VERSA               Portland                  ME
90311   3N1CN7AP5JL878842   Nissan       VERSA               ORLANDO                   FL
90312   3N1CN7AP5JL878873   Nissan       VERSA               Clarksville               IN
90313   3N1CN7AP5JL878906   Nissan       VERSA               EAST NORRITON             PA
90314   3N1CN7AP5JL879103   Nissan       VERSA               JACKSON                   MS
90315   3N1CN7AP5JL879151   Nissan       VERSA               OAKLAND                   CA
90316   3N1CN7AP5JL879229   Nissan       VERSA               SAVANNAH                  GA
90317   3N1CN7AP5JL879361   Nissan       VERSA               Kansas City               MO
90318   3N1CN7AP5JL879439   Nissan       VERSA               LOS ANGELES               CA
90319   3N1CN7AP5JL879490   Nissan       VERSA               Chicago                   IL
90320   3N1CN7AP5JL879540   Nissan       VERSA               FORT LAUDERDALE           FL
90321   3N1CN7AP5JL879571   Nissan       VERSA               GRAND RAPIDS              MI
90322   3N1CN7AP5JL879585   Nissan       VERSA               SAN FRANCISCO             CA
90323   3N1CN7AP5JL879702   Nissan       VERSA               Atlanta                   GA
90324   3N1CN7AP5JL879750   Nissan       VERSA               Tolleson                  AZ
90325   3N1CN7AP5JL879781   Nissan       VERSA               SACRAMENTO                CA
90326   3N1CN7AP5JL879795   Nissan       VERSA               St. Louis                 MO
90327   3N1CN7AP5JL879831   Nissan       VERSA               FRESNO                    CA
90328   3N1CN7AP5JL879912   Nissan       VERSA               Louisville                KY
90329   3N1CN7AP5JL879943   Nissan       VERSA               Sanford                   FL
90330   3N1CN7AP5JL879957   Nissan       VERSA               MONTGOMERY                AL
90331   3N1CN7AP5JL880039   Nissan       VERSA               BOSTON                    MA
90332   3N1CN7AP5JL880199   Nissan       VERSA               Kent                      WA
90333   3N1CN7AP5JL880865   Nissan       VERSA               Manheim                   PA
90334   3N1CN7AP5JL880946   Nissan       VERSA               BOSTON                    MA
90335   3N1CN7AP5JL881000   Nissan       VERSA               EULESS                    TX
90336   3N1CN7AP5JL881093   Nissan       VERSA               DENVER                    CO
90337   3N1CN7AP5JL881112   Nissan       VERSA               Roseville                 CA
90338   3N1CN7AP5JL881126   Nissan       VERSA               ORLANDO                   FL
90339   3N1CN7AP5JL881157   Nissan       VERSA               STERLING                  VA
90340   3N1CN7AP5JL881207   Nissan       VERSA               FORT LAUDERDALE           FL
90341   3N1CN7AP5JL881210   Nissan       VERSA               LAS VEGAS                 NV
90342   3N1CN7AP5JL881336   Nissan       VERSA               Phoenix                   AZ
90343   3N1CN7AP5JL881403   Nissan       VERSA               Sterling                  VA
90344   3N1CN7AP5JL881420   Nissan       VERSA               WEST PALM BEACH           FL
90345   3N1CN7AP5JL881451   Nissan       VERSA               Stockton                  CA
90346   3N1CN7AP5JL881627   Nissan       VERSA               STERLING                  VA
90347   3N1CN7AP5JL881644   Nissan       VERSA               Hayward                   CA
90348   3N1CN7AP5JL881658   Nissan       VERSA               STERLING                  VA
90349   3N1CN7AP5JL881742   Nissan       VERSA               SARASOTA                  FL
90350   3N1CN7AP5JL881756   Nissan       VERSA               Detroit                   MI
90351   3N1CN7AP5JL881837   Nissan       VERSA               FORT MYERS                FL
90352   3N1CN7AP5JL882048   Nissan       VERSA               LOUISVILLE                KY
90353   3N1CN7AP5JL882177   Nissan       VERSA               BOSTON                    MA
90354   3N1CN7AP5JL882406   Nissan       VERSA               SAINT PAUL                MN
90355   3N1CN7AP5JL882647   Nissan       VERSA               BURBANK                   CA
90356   3N1CN7AP5JL882664   Nissan       VERSA               KNOXVILLE                 TN
90357   3N1CN7AP5JL882695   Nissan       VERSA               SAN JOSE                  CA
90358   3N1CN7AP5JL882731   Nissan       VERSA               FORT MYERS                FL
90359   3N1CN7AP5JL883443   Nissan       VERSA               ORLANDO                   FL
90360   3N1CN7AP5JL884642   Nissan       VERSA               Indianapolis              IN
90361   3N1CN7AP5JL884656   Nissan       VERSA               ST Paul                   MN
90362   3N1CN7AP5JL884673   Nissan       VERSA               Euless                    TX
90363   3N1CN7AP5JL884799   Nissan       VERSA               Sacramento                CA
90364   3N1CN7AP5JL884818   Nissan       VERSA               PITTSBURGH                PA
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90365   3N1CN7AP5JL884933   Nissan       VERSA               LAS VEGAS                 NV
90366   3N1CN7AP5JL885046   Nissan       VERSA               CHICAGO                   IL
90367   3N1CN7AP5JL885080   Nissan       VERSA               San Antonio               TX
90368   3N1CN7AP5JL885113   Nissan       VERSA               LAS VEGAS                 NV
90369   3N1CN7AP5JL885175   Nissan       VERSA               KNOXVILLE                 TN
90370   3N1CN7AP5JL885208   Nissan       VERSA               Atlanta                   GA
90371   3N1CN7AP5JL885337   Nissan       VERSA               TAMPA                     FL
90372   3N1CN7AP5JL885340   Nissan       VERSA               FORT LAUDERDALE           FL
90373   3N1CN7AP5JL885516   Nissan       VERSA               SAN DIEGO                 CA
90374   3N1CN7AP5JL885547   Nissan       VERSA               SEATAC                    WA
90375   3N1CN7AP5JL885807   Nissan       VERSA               ORLANDO                   FL
90376   3N1CN7AP5JL885855   Nissan       VERSA               FORT LAUDERDALE           FL
90377   3N1CN7AP5JL886004   Nissan       VERSA               albuquerque               nm
90378   3N1CN7AP5JL886133   Nissan       VERSA               Webster                   NY
90379   3N1CN7AP5JL886150   Nissan       VERSA               Roseville                 CA
90380   3N1CN7AP5JL886259   Nissan       VERSA               Stockton                  CA
90381   3N1CN7AP5JL886262   Nissan       VERSA               FORT MYERS                FL
90382   3N1CN7AP5JL886293   Nissan       VERSA               PHILADELPHIA              PA
90383   3N1CN7AP5JL886410   Nissan       VERSA               Maple Grove               MN
90384   3N1CN7AP5JL886682   Nissan       VERSA               MONTEREY                  CA
90385   3N1CN7AP5JL886858   Nissan       VERSA               Los Angeles               CA
90386   3N1CN7AP5JL886861   Nissan       VERSA               Dallas                    TX
90387   3N1CN7AP5KL849021   Nissan       VERSA               ORLANDO                   FL
90388   3N1CN7AP5KL850640   Nissan       VERSA               COLUMBIA                  SC
90389   3N1CN7AP5KL854445   Nissan       VERSA               Stockton                  CA
90390   3N1CN7AP5KL855515   Nissan       VERSA               Hebron                    KY
90391   3N1CN7AP5KL856440   Nissan       VERSA               Hapeville                 GA
90392   3N1CN7AP5KL856454   Nissan       VERSA               Clearwater                FL
90393   3N1CN7AP5KL856745   Nissan       VERSA               Fredericksburg            VA
90394   3N1CN7AP5KL856759   Nissan       VERSA               Pittsburgh                PA
90395   3N1CN7AP5KL856843   Nissan       VERSA               PHOENIX                   AZ
90396   3N1CN7AP5KL858219   Nissan       VERSA               COLUMBIA                  SC
90397   3N1CN7AP5KL858317   Nissan       VERSA               St. Louis                 MO
90398   3N1CN7AP5KL858348   Nissan       VERSA               KNOXVILLE                 TN
90399   3N1CN7AP5KL858544   Nissan       VERSA               Detroit                   MI
90400   3N1CN7AP5KL858804   Nissan       VERSA               Nashville                 TN
90401   3N1CN7AP5KL859757   Nissan       VERSA               Warr Acres                OK
90402   3N1CN7AP5KL861749   Nissan       VERSA               Pittsburgh                PA
90403   3N1CN7AP5KL864666   Nissan       VERSA               BUFFALO                   NY
90404   3N1CN7AP5KL865705   Nissan       VERSA               PHOENIX                   AZ
90405   3N1CN7AP5KL866403   Nissan       VERSA               San Antonio               TX
90406   3N1CN7AP5KL866823   Nissan       VERSA               Burien                    WA
90407   3N1CN7AP5KL867700   Nissan       VERSA               HARLEYVILLE               SC
90408   3N1CN7AP5KL868930   Nissan       VERSA               CLARKSVILLE               IN
90409   3N1CN7AP5KL872430   Nissan       VERSA               Chicago                   IL
90410   3N1CN7AP5KL873318   Nissan       VERSA               Detroit                   MI
90411   3N1CN7AP5KL873397   Nissan       VERSA               Pittsburgh                PA
90412   3N1CN7AP6HK445899   Nissan       VERSA               Bordentown                NJ
90413   3N1CN7AP6HL843477   Nissan       VERSA               Warminster                PA
90414   3N1CN7AP6HL865334   Nissan       VERSA               BIRMINGHAM                AL
90415   3N1CN7AP6JK434763   Nissan       VERSA               MEMPHIS                   TN
90416   3N1CN7AP6JK435976   Nissan       VERSA               Atlanta                   GA
90417   3N1CN7AP6JK436772   Nissan       VERSA               FORT MYERS                FL
90418   3N1CN7AP6JK437291   Nissan       VERSA               FORT MYERS                FL
90419   3N1CN7AP6JK437324   Nissan       VERSA               Atlanta                   GA
90420   3N1CN7AP6JK438263   Nissan       VERSA               WOODLAND HILLS            CA
90421   3N1CN7AP6JK438764   Nissan       VERSA               Nashville                 TN
90422   3N1CN7AP6JK441910   Nissan       VERSA               CHICAGO                   IL
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90423   3N1CN7AP6JK442006   Nissan       VERSA               Ft. Myers                 FL
90424   3N1CN7AP6JK442636   Nissan       VERSA               BURBANK                   CA
90425   3N1CN7AP6JK443138   Nissan       VERSA               SAN DIEGO                 CA
90426   3N1CN7AP6JK443351   Nissan       VERSA               TAMPA                     FL
90427   3N1CN7AP6JK443852   Nissan       VERSA               KAHULUI                   HI
90428   3N1CN7AP6JL806418   Nissan       VERSA               Los Angeles               CA
90429   3N1CN7AP6JL825776   Nissan       VERSA               Slidell                   LA
90430   3N1CN7AP6JL832324   Nissan       VERSA               WEST PALM BEACH           FL
90431   3N1CN7AP6JL833098   Nissan       VERSA               JACKSONVILLE              FL
90432   3N1CN7AP6JL833215   Nissan       VERSA               WEST PALM BEACH           FL
90433   3N1CN7AP6JL833960   Nissan       VERSA               SARASOTA                  FL
90434   3N1CN7AP6JL835921   Nissan       VERSA               N. Palm Beach             FL
90435   3N1CN7AP6JL837636   Nissan       VERSA               Clearwater                FL
90436   3N1CN7AP6JL839841   Nissan       VERSA               Estero                    FL
90437   3N1CN7AP6JL841721   Nissan       VERSA               WEST PALM BEACH           FL
90438   3N1CN7AP6JL842013   Nissan       VERSA               Harvey                    LA
90439   3N1CN7AP6JL842609   Nissan       VERSA               Estero                    FL
90440   3N1CN7AP6JL842674   Nissan       VERSA               MIAMI                     FL
90441   3N1CN7AP6JL842948   Nissan       VERSA               Sacramento                CA
90442   3N1CN7AP6JL843470   Nissan       VERSA               Riverside                 CA
90443   3N1CN7AP6JL843646   Nissan       VERSA               Lake Elsinore             CA
90444   3N1CN7AP6JL843808   Nissan       VERSA               Anaheim                   CA
90445   3N1CN7AP6JL844134   Nissan       VERSA               SACRAMENTO                CA
90446   3N1CN7AP6JL844179   Nissan       VERSA               Hamilton                  OH
90447   3N1CN7AP6JL844196   Nissan       VERSA               FORT LAUDERDALE           FL
90448   3N1CN7AP6JL844411   Nissan       VERSA               Atlanta                   GA
90449   3N1CN7AP6JL844652   Nissan       VERSA               MIAMI                     FL
90450   3N1CN7AP6JL845011   Nissan       VERSA               Anaheim                   CA
90451   3N1CN7AP6JL845056   Nissan       VERSA               Santa Clara               CA
90452   3N1CN7AP6JL845252   Nissan       VERSA               SAN DIEGO                 CA
90453   3N1CN7AP6JL845543   Nissan       VERSA               Torrance                  CA
90454   3N1CN7AP6JL845915   Nissan       VERSA               San Diego                 CA
90455   3N1CN7AP6JL845929   Nissan       VERSA               Norwalk                   CA
90456   3N1CN7AP6JL848992   Nissan       VERSA               SOUTHEAST DST OFFC        OK
90457   3N1CN7AP6JL852122   Nissan       VERSA               Elkridge                  MD
90458   3N1CN7AP6JL853562   Nissan       VERSA               SARASOTA                  FL
90459   3N1CN7AP6JL853593   Nissan       VERSA               Atlanta                   GA
90460   3N1CN7AP6JL854047   Nissan       VERSA               Tolleson                  AZ
90461   3N1CN7AP6JL855036   Nissan       VERSA               PALM SPRINGS              CA
90462   3N1CN7AP6JL855506   Nissan       VERSA               CHICAGO                   IL
90463   3N1CN7AP6JL857272   Nissan       VERSA               Riverside                 CA
90464   3N1CN7AP6JL858650   Nissan       VERSA               WEST PALM BEACH           FL
90465   3N1CN7AP6JL858972   Nissan       VERSA               Houston                   TX
90466   3N1CN7AP6JL859250   Nissan       VERSA               Charleston                SC
90467   3N1CN7AP6JL860396   Nissan       VERSA               Manheim                   PA
90468   3N1CN7AP6JL860950   Nissan       VERSA               ORLANDO                   FL
90469   3N1CN7AP6JL861404   Nissan       VERSA               North Las Vegas           NV
90470   3N1CN7AP6JL864139   Nissan       VERSA               Caledonia                 WI
90471   3N1CN7AP6JL864304   Nissan       VERSA               UNION CITY                GA
90472   3N1CN7AP6JL864528   Nissan       VERSA               Leesburg                  VA
90473   3N1CN7AP6JL864531   Nissan       VERSA               TAMPA                     FL
90474   3N1CN7AP6JL865288   Nissan       VERSA               ORLANDO                   FL
90475   3N1CN7AP6JL865291   Nissan       VERSA               FORT LAUDERDALE           FL
90476   3N1CN7AP6JL865369   Nissan       VERSA               Burien                    WA
90477   3N1CN7AP6JL865551   Nissan       VERSA               Kansas City               MO
90478   3N1CN7AP6JL866649   Nissan       VERSA               Carleton                  MI
90479   3N1CN7AP6JL868871   Nissan       VERSA               Winston‐Salem             NC
90480   3N1CN7AP6JL869048   Nissan       VERSA               FORT MYERS                FL
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90481   3N1CN7AP6JL869390   Nissan       VERSA               KENNER                    LA
90482   3N1CN7AP6JL869440   Nissan       VERSA               ORLANDO                   FL
90483   3N1CN7AP6JL871429   Nissan       VERSA               Sarasota                  FL
90484   3N1CN7AP6JL871527   Nissan       VERSA               Kahului                   HI
90485   3N1CN7AP6JL871706   Nissan       VERSA               Kahului                   HI
90486   3N1CN7AP6JL872077   Nissan       VERSA               Norwalk                   CA
90487   3N1CN7AP6JL872127   Nissan       VERSA               ORANGE COUNTY             CA
90488   3N1CN7AP6JL872130   Nissan       VERSA               KAHULUI                   HI
90489   3N1CN7AP6JL872211   Nissan       VERSA               Pasadena                  CA
90490   3N1CN7AP6JL872287   Nissan       VERSA               Pasadena                  CA
90491   3N1CN7AP6JL872421   Nissan       VERSA               Kahului                   HI
90492   3N1CN7AP6JL872466   Nissan       VERSA               KAHULUI                   HI
90493   3N1CN7AP6JL872614   Nissan       VERSA               SAN DIEGO                 CA
90494   3N1CN7AP6JL872631   Nissan       VERSA               San Diego                 CA
90495   3N1CN7AP6JL872659   Nissan       VERSA               LOS ANGELES               CA
90496   3N1CN7AP6JL873214   Nissan       VERSA               SAN JOSE                  CA
90497   3N1CN7AP6JL873228   Nissan       VERSA               KAHULUI                   HI
90498   3N1CN7AP6JL873343   Nissan       VERSA               LAS VEGAS                 NV
90499   3N1CN7AP6JL873391   Nissan       VERSA               SALT LAKE CITY            UT
90500   3N1CN7AP6JL873455   Nissan       VERSA               SACRAMENTO                CA
90501   3N1CN7AP6JL873553   Nissan       VERSA               HOUSTON                   TX
90502   3N1CN7AP6JL873763   Nissan       VERSA               Oceanside                 CA
90503   3N1CN7AP6JL873939   Nissan       VERSA               Albuquerque               NM
90504   3N1CN7AP6JL874069   Nissan       VERSA               Albuquerque               NM
90505   3N1CN7AP6JL874282   Nissan       VERSA               PHOENIX                   AZ
90506   3N1CN7AP6JL874380   Nissan       VERSA               PLEASANTON                CA
90507   3N1CN7AP6JL874427   Nissan       VERSA               SAN DIEGO                 CA
90508   3N1CN7AP6JL874444   Nissan       VERSA               Roseville                 CA
90509   3N1CN7AP6JL874640   Nissan       VERSA               FORT MYERS                FL
90510   3N1CN7AP6JL874900   Nissan       VERSA               Anaheim                   CA
90511   3N1CN7AP6JL876369   Nissan       VERSA               LAS VEGAS                 NV
90512   3N1CN7AP6JL877229   Nissan       VERSA               ORLANDO                   FL
90513   3N1CN7AP6JL877330   Nissan       VERSA               LOS ANGELES               CA
90514   3N1CN7AP6JL877344   Nissan       VERSA               Columbus                  OH
90515   3N1CN7AP6JL877487   Nissan       VERSA               SOUTHEAST DST OFFC        OK
90516   3N1CN7AP6JL877604   Nissan       VERSA               ORLANDO                   FL
90517   3N1CN7AP6JL877652   Nissan       VERSA               FORT MYERS                FL
90518   3N1CN7AP6JL877781   Nissan       VERSA               Hebron                    KY
90519   3N1CN7AP6JL877893   Nissan       VERSA               DENVER                    CO
90520   3N1CN7AP6JL878087   Nissan       VERSA               Teterboro                 NJ
90521   3N1CN7AP6JL878395   Nissan       VERSA               TAMPA                     FL
90522   3N1CN7AP6JL878557   Nissan       VERSA               SACRAMENTO                CA
90523   3N1CN7AP6JL878591   Nissan       VERSA               Smithtown                 NY
90524   3N1CN7AP6JL878655   Nissan       VERSA               Manheim                   PA
90525   3N1CN7AP6JL878848   Nissan       VERSA               Austell                   GA
90526   3N1CN7AP6JL878896   Nissan       VERSA               ORANGE COUNTY             CA
90527   3N1CN7AP6JL878901   Nissan       VERSA               KNOXVILLE                 TN
90528   3N1CN7AP6JL879000   Nissan       VERSA               ORLANDO                   FL
90529   3N1CN7AP6JL879126   Nissan       VERSA               TAMPA                     FL
90530   3N1CN7AP6JL879191   Nissan       VERSA               FORT MYERS                FL
90531   3N1CN7AP6JL879336   Nissan       VERSA               SEATAC                    WA
90532   3N1CN7AP6JL879370   Nissan       VERSA               MANSFIELD                 OH
90533   3N1CN7AP6JL879403   Nissan       VERSA               Fairburn                  GA
90534   3N1CN7AP6JL879496   Nissan       VERSA               SOUTHEAST DST OFFC        OK
90535   3N1CN7AP6JL879627   Nissan       VERSA               SUMTER                    SC
90536   3N1CN7AP6JL879661   Nissan       VERSA               PHILADELPHIA              PA
90537   3N1CN7AP6JL879689   Nissan       VERSA               SAVANNAH                  GA
90538   3N1CN7AP6JL879918   Nissan       VERSA               ONTARIO                   CA
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90539   3N1CN7AP6JL880051   Nissan       VERSA               ORLANDO                   FL
90540   3N1CN7AP6JL880812   Nissan       VERSA               WHITE PLAINS              NY
90541   3N1CN7AP6JL880857   Nissan       VERSA               ORLANDO                   FL
90542   3N1CN7AP6JL880986   Nissan       VERSA               STERLING                  VA
90543   3N1CN7AP6JL881085   Nissan       VERSA               FORT MYERS                FL
90544   3N1CN7AP6JL881104   Nissan       VERSA               WEST PALM BEACH           FL
90545   3N1CN7AP6JL881121   Nissan       VERSA               SANTA CLARA               CA
90546   3N1CN7AP6JL881233   Nissan       VERSA               HOUSTON                   TX
90547   3N1CN7AP6JL881281   Nissan       VERSA               FORT MYERS                FL
90548   3N1CN7AP6JL881359   Nissan       VERSA               WEST PALM BEACH           FL
90549   3N1CN7AP6JL881474   Nissan       VERSA               GRAND JUNCTION            C
90550   3N1CN7AP6JL881524   Nissan       VERSA               Houston                   TX
90551   3N1CN7AP6JL881541   Nissan       VERSA               RENO                      NV
90552   3N1CN7AP6JL881703   Nissan       VERSA               Sacramento                CA
90553   3N1CN7AP6JL881930   Nissan       VERSA               Florissant                MO
90554   3N1CN7AP6JL882222   Nissan       VERSA               San Diego                 CA
90555   3N1CN7AP6JL882236   Nissan       VERSA               FORT MYERS                FL
90556   3N1CN7AP6JL882348   Nissan       VERSA               Midland                   TX
90557   3N1CN7AP6JL882396   Nissan       VERSA               ORLANDO                   FL
90558   3N1CN7AP6JL882463   Nissan       VERSA               BURBANK                   CA
90559   3N1CN7AP6JL882544   Nissan       VERSA               MIAMI                     FL
90560   3N1CN7AP6JL882575   Nissan       VERSA               Warwick                   RI
90561   3N1CN7AP6JL882589   Nissan       VERSA               TULSA                     OK
90562   3N1CN7AP6JL882656   Nissan       VERSA               FORT MYERS                FL
90563   3N1CN7AP6JL882690   Nissan       VERSA               FORT MYERS                FL
90564   3N1CN7AP6JL882706   Nissan       VERSA               FORT MYERS                FL
90565   3N1CN7AP6JL882804   Nissan       VERSA               TAMPA                     FL
90566   3N1CN7AP6JL883306   Nissan       VERSA               FORT MYERS                FL
90567   3N1CN7AP6JL884505   Nissan       VERSA               SOUTHEAST DST OFFC        OK
90568   3N1CN7AP6JL884620   Nissan       VERSA               FAYETTEVILLE              GA
90569   3N1CN7AP6JL884830   Nissan       VERSA               TAMPA                     FL
90570   3N1CN7AP6JL884844   Nissan       VERSA               TUCSON                    AZ
90571   3N1CN7AP6JL884956   Nissan       VERSA               BOSTON                    MA
90572   3N1CN7AP6JL885024   Nissan       VERSA               ORANGE COUNTY             CA
90573   3N1CN7AP6JL885072   Nissan       VERSA               DENVER                    CO
90574   3N1CN7AP6JL885251   Nissan       VERSA               Atlanta                   GA
90575   3N1CN7AP6JL885315   Nissan       VERSA               Caledonia                 WI
90576   3N1CN7AP6JL885380   Nissan       VERSA               North Dighton             MA
90577   3N1CN7AP6JL885394   Nissan       VERSA               Newark                    NJ
90578   3N1CN7AP6JL885458   Nissan       VERSA               DETROIT                   MI
90579   3N1CN7AP6JL885461   Nissan       VERSA               ORLANDO                   FL
90580   3N1CN7AP6JL885802   Nissan       VERSA               SAVANNAH                  GA
90581   3N1CN7AP6JL885931   Nissan       VERSA               ST Paul                   MN
90582   3N1CN7AP6JL886030   Nissan       VERSA               OMAHA A‐                  NE
90583   3N1CN7AP6JL886125   Nissan       VERSA               SARASOTA                  FL
90584   3N1CN7AP6JL886271   Nissan       VERSA               Stockton                  CA
90585   3N1CN7AP6JL886335   Nissan       VERSA               Miami                     FL
90586   3N1CN7AP6JL886366   Nissan       VERSA               SAN DIEGO                 CA
90587   3N1CN7AP6JL886464   Nissan       VERSA               BULLHEAD CITY             AZ
90588   3N1CN7AP6JL886674   Nissan       VERSA               LAS VEGAS                 NV
90589   3N1CN7AP6KL846483   Nissan       VERSA               Atlanta                   GA
90590   3N1CN7AP6KL847441   Nissan       VERSA               Florissant                MO
90591   3N1CN7AP6KL854468   Nissan       VERSA               Maple Grove               MN
90592   3N1CN7AP6KL855071   Nissan       VERSA               SOUTHEAST DST OFFC        OK
90593   3N1CN7AP6KL855586   Nissan       VERSA               Cleveland                 OH
90594   3N1CN7AP6KL856060   Nissan       VERSA               Jamaica                   NY
90595   3N1CN7AP6KL858276   Nissan       VERSA               Hamilton                  OH
90596   3N1CN7AP6KL858598   Nissan       VERSA               PHOENIX                   AZ
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90597   3N1CN7AP6KL858732   Nissan       VERSA               Lexington                 KY
90598   3N1CN7AP6KL860125   Nissan       VERSA               SEA TAC                   WA
90599   3N1CN7AP6KL862344   Nissan       VERSA               Medford                   NY
90600   3N1CN7AP6KL862828   Nissan       VERSA               COLUMBUS                  OH
90601   3N1CN7AP6KL863946   Nissan       VERSA               Jamaica                   NY
90602   3N1CN7AP6KL864465   Nissan       VERSA               Vandalia                  OH
90603   3N1CN7AP6KL864563   Nissan       VERSA               Houston                   TX
90604   3N1CN7AP6KL865504   Nissan       VERSA               LAS VEGAS                 NV
90605   3N1CN7AP6KL866152   Nissan       VERSA               PHOENIX                   AZ
90606   3N1CN7AP6KL869603   Nissan       VERSA               Austin                    TX
90607   3N1CN7AP6KL872324   Nissan       VERSA               GLASSBORO                 NJ
90608   3N1CN7AP6KL873005   Nissan       VERSA               WEST COLUMBIA             SC
90609   3N1CN7AP6KL873506   Nissan       VERSA               Burlingame                CA
90610   3N1CN7AP6KL874154   Nissan       VERSA               Hayward                   CA
90611   3N1CN7AP7JK418491   Nissan       VERSA               SARASOTA                  FL
90612   3N1CN7AP7JK428356   Nissan       VERSA               FORT MYERS                FL
90613   3N1CN7AP7JK429040   Nissan       VERSA               BURBANK                   CA
90614   3N1CN7AP7JK429748   Nissan       VERSA               Albuquerque               NM
90615   3N1CN7AP7JK429989   Nissan       VERSA               Mira Loma                 CA
90616   3N1CN7AP7JK430205   Nissan       VERSA               Riverside                 CA
90617   3N1CN7AP7JK432455   Nissan       VERSA               SACRAMENTO                CA
90618   3N1CN7AP7JK432942   Nissan       VERSA               Columbus                  OH
90619   3N1CN7AP7JK436943   Nissan       VERSA               TAMPA                     US
90620   3N1CN7AP7JK437185   Nissan       VERSA               ORLANDO                   FL
90621   3N1CN7AP7JK437249   Nissan       VERSA               Elkridge                  MD
90622   3N1CN7AP7JK437459   Nissan       VERSA               Hartford                  CT
90623   3N1CN7AP7JK437512   Nissan       VERSA               Philadelphia              PA
90624   3N1CN7AP7JK439387   Nissan       VERSA               Warr Acres                OK
90625   3N1CN7AP7JK439566   Nissan       VERSA               Norwalk                   CA
90626   3N1CN7AP7JK440684   Nissan       VERSA               Hoffman Estates           IL
90627   3N1CN7AP7JK442001   Nissan       VERSA               LAS VEGAS                 NV
90628   3N1CN7AP7JK442659   Nissan       VERSA               SAN DIEGO                 CA
90629   3N1CN7AP7JK443164   Nissan       VERSA               Honolulu                  HI
90630   3N1CN7AP7JL823809   Nissan       VERSA               LIHUE                     HI
90631   3N1CN7AP7JL825799   Nissan       VERSA               PHILADELPHIA              US
90632   3N1CN7AP7JL831263   Nissan       VERSA               FORT LAUDERDALE           FL
90633   3N1CN7AP7JL835555   Nissan       VERSA               FORT LAUDERDALE           FL
90634   3N1CN7AP7JL836141   Nissan       VERSA               SOUTHEAST DST OFFC        OK
90635   3N1CN7AP7JL838309   Nissan       VERSA               ORLANDO                   FL
90636   3N1CN7AP7JL838598   Nissan       VERSA               Costa Mesa                CA
90637   3N1CN7AP7JL840853   Nissan       VERSA               TAMPA                     FL
90638   3N1CN7AP7JL841307   Nissan       VERSA               SAVANNAH                  GA
90639   3N1CN7AP7JL842036   Nissan       VERSA               PHILADELPHIA              PA
90640   3N1CN7AP7JL842876   Nissan       VERSA               Sanford                   FL
90641   3N1CN7AP7JL842991   Nissan       VERSA               Smithtown                 NY
90642   3N1CN7AP7JL843137   Nissan       VERSA               NEW ORLEANS               LA
90643   3N1CN7AP7JL843266   Nissan       VERSA               LAS VEGAS                 NV
90644   3N1CN7AP7JL843350   Nissan       VERSA               SHAKOPEE                  MN
90645   3N1CN7AP7JL843509   Nissan       VERSA               Roseville                 CA
90646   3N1CN7AP7JL844336   Nissan       VERSA               SALT LAKE CITY            UT
90647   3N1CN7AP7JL844353   Nissan       VERSA               FORT MYERS                FL
90648   3N1CN7AP7JL845146   Nissan       VERSA               Torrance                  CA
90649   3N1CN7AP7JL845521   Nissan       VERSA               Hayward                   CA
90650   3N1CN7AP7JL845664   Nissan       VERSA               North Las Vegas           NV
90651   3N1CN7AP7JL845678   Nissan       VERSA               Norwalk                   CA
90652   3N1CN7AP7JL845891   Nissan       VERSA               Roseville                 CA
90653   3N1CN7AP7JL845955   Nissan       VERSA               Santa Clara               CA
90654   3N1CN7AP7JL848256   Nissan       VERSA               KAHULUI                   HI
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90655   3N1CN7AP7JL848788   Nissan       VERSA               WEST PALM BEACH           FL
90656   3N1CN7AP7JL850041   Nissan       VERSA               COLUMBIA                  SC
90657   3N1CN7AP7JL850069   Nissan       VERSA               N. Palm Beach             FL
90658   3N1CN7AP7JL851156   Nissan       VERSA               Bridgeton                 MO
90659   3N1CN7AP7JL851559   Nissan       VERSA               EGG HARBOR TOWN           NJ
90660   3N1CN7AP7JL851612   Nissan       VERSA               Dallas                    TX
90661   3N1CN7AP7JL852145   Nissan       VERSA               FORT LAUDERDALE           FL
90662   3N1CN7AP7JL852629   Nissan       VERSA               Newark                    NJ
90663   3N1CN7AP7JL852808   Nissan       VERSA               ATLANTA                   GA
90664   3N1CN7AP7JL853974   Nissan       VERSA               SAN DIEGO                 CA
90665   3N1CN7AP7JL854123   Nissan       VERSA               ST Paul                   MN
90666   3N1CN7AP7JL854350   Nissan       VERSA               Sacramento                CA
90667   3N1CN7AP7JL855059   Nissan       VERSA               Charlotte                 NC
90668   3N1CN7AP7JL855188   Nissan       VERSA               Riverside                 CA
90669   3N1CN7AP7JL855594   Nissan       VERSA               SAN DIEGO                 CA
90670   3N1CN7AP7JL855692   Nissan       VERSA               Anaheim                   CA
90671   3N1CN7AP7JL856289   Nissan       VERSA               SAN DIEGO                 CA
90672   3N1CN7AP7JL859516   Nissan       VERSA               FORT MYERS                FL
90673   3N1CN7AP7JL859578   Nissan       VERSA               Rio Linda                 CA
90674   3N1CN7AP7JL860861   Nissan       VERSA               Lake Elsinore             CA
90675   3N1CN7AP7JL860892   Nissan       VERSA               SAN FRANCISCO             CA
90676   3N1CN7AP7JL862206   Nissan       VERSA               LOS ANGELES               CA
90677   3N1CN7AP7JL862254   Nissan       VERSA               Stockton                  CA
90678   3N1CN7AP7JL862593   Nissan       VERSA               Hamilton                  OH
90679   3N1CN7AP7JL862772   Nissan       VERSA               Roseville                 CA
90680   3N1CN7AP7JL863193   Nissan       VERSA               Sarasota                  FL
90681   3N1CN7AP7JL863503   Nissan       VERSA               EGG HARBOR TOWN           NJ
90682   3N1CN7AP7JL863730   Nissan       VERSA               MOBILE                    A
90683   3N1CN7AP7JL863873   Nissan       VERSA               MEMPHIS                   TN
90684   3N1CN7AP7JL863890   Nissan       VERSA               DAYTONA BEACH             FL
90685   3N1CN7AP7JL863985   Nissan       VERSA               WEST PALM BEACH           FL
90686   3N1CN7AP7JL864117   Nissan       VERSA               CLOVIS                    CA
90687   3N1CN7AP7JL864201   Nissan       VERSA               EULESS                    TX
90688   3N1CN7AP7JL864697   Nissan       VERSA               FLORIDA DEALER DIR        FL
90689   3N1CN7AP7JL865140   Nissan       VERSA               MIAMI                     FL
90690   3N1CN7AP7JL865459   Nissan       VERSA               Elkridge                  MD
90691   3N1CN7AP7JL865574   Nissan       VERSA               PLEASANTON                CA
90692   3N1CN7AP7JL865817   Nissan       VERSA               ORLANDO                   FL
90693   3N1CN7AP7JL865901   Nissan       VERSA               BOSTON                    MA
90694   3N1CN7AP7JL866112   Nissan       VERSA               STERLING                  VA
90695   3N1CN7AP7JL866370   Nissan       VERSA               Bridgeton                 MO
90696   3N1CN7AP7JL869009   Nissan       VERSA               DANIA BEACH               FL
90697   3N1CN7AP7JL869043   Nissan       VERSA               Houston                   TX
90698   3N1CN7AP7JL869687   Nissan       VERSA               Austin                    TX
90699   3N1CN7AP7JL870029   Nissan       VERSA               Albuquerque               NM
90700   3N1CN7AP7JL870158   Nissan       VERSA               HANOVER                   MD
90701   3N1CN7AP7JL870354   Nissan       VERSA               Orlando                   FL
90702   3N1CN7AP7JL871200   Nissan       VERSA               TAMPA                     FL
90703   3N1CN7AP7JL871522   Nissan       VERSA               KAHULUI                   HI
90704   3N1CN7AP7JL871794   Nissan       VERSA               Kahului                   HI
90705   3N1CN7AP7JL872069   Nissan       VERSA               Roseville                 CA
90706   3N1CN7AP7JL872203   Nissan       VERSA               KAHULUI                   HI
90707   3N1CN7AP7JL872217   Nissan       VERSA               WEST PALM BEACH           FL
90708   3N1CN7AP7JL872332   Nissan       VERSA               Mira Loma                 CA
90709   3N1CN7AP7JL872458   Nissan       VERSA               SAN DIEGO                 CA
90710   3N1CN7AP7JL872525   Nissan       VERSA               Salt Lake City            UT
90711   3N1CN7AP7JL872590   Nissan       VERSA               KAHULUI                   HI
90712   3N1CN7AP7JL872606   Nissan       VERSA               KAHULUI                   HI
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90713   3N1CN7AP7JL872640   Nissan       VERSA               Roseville                 CA
90714   3N1CN7AP7JL872718   Nissan       VERSA               Hebron                    KY
90715   3N1CN7AP7JL872878   Nissan       VERSA               Kahului                   HI
90716   3N1CN7AP7JL872959   Nissan       VERSA               SAN DIEGO                 CA
90717   3N1CN7AP7JL873125   Nissan       VERSA               PHOENIX                   AZ
90718   3N1CN7AP7JL873139   Nissan       VERSA               Lake Elsinore             CA
90719   3N1CN7AP7JL873190   Nissan       VERSA               TUCSON                    AZ
90720   3N1CN7AP7JL873299   Nissan       VERSA               Riverside                 CA
90721   3N1CN7AP7JL873500   Nissan       VERSA               Anaheim                   CA
90722   3N1CN7AP7JL873769   Nissan       VERSA               Riverside                 CA
90723   3N1CN7AP7JL873822   Nissan       VERSA               Stockton                  CA
90724   3N1CN7AP7JL873853   Nissan       VERSA               SAN JOSE                  CA
90725   3N1CN7AP7JL873948   Nissan       VERSA               LOS ANGELES               CA
90726   3N1CN7AP7JL873982   Nissan       VERSA               PHOENIX                   AZ
90727   3N1CN7AP7JL874114   Nissan       VERSA               PHOENIX                   AZ
90728   3N1CN7AP7JL874159   Nissan       VERSA               Sacramento                CA
90729   3N1CN7AP7JL874422   Nissan       VERSA               SAN JOSE                  CA
90730   3N1CN7AP7JL874582   Nissan       VERSA               PHOENIX                   AZ
90731   3N1CN7AP7JL874730   Nissan       VERSA               SAN DIEGO                 CA
90732   3N1CN7AP7JL874842   Nissan       VERSA               OAKLAND                   CA
90733   3N1CN7AP7JL874873   Nissan       VERSA               Roseville                 CA
90734   3N1CN7AP7JL875473   Nissan       VERSA               FORT LAUDERDALE           FL
90735   3N1CN7AP7JL877191   Nissan       VERSA               Tampa                     FL
90736   3N1CN7AP7JL877255   Nissan       VERSA               Los Angeles               CA
90737   3N1CN7AP7JL877269   Nissan       VERSA               Milwaukee                 WI
90738   3N1CN7AP7JL877434   Nissan       VERSA               GLENS FALLS               NY
90739   3N1CN7AP7JL877532   Nissan       VERSA               CLEVELAND                 OH
90740   3N1CN7AP7JL877594   Nissan       VERSA               CHARLESTON                WV
90741   3N1CN7AP7JL877675   Nissan       VERSA               RONKONKOMA                NY
90742   3N1CN7AP7JL877689   Nissan       VERSA               Teterboro                 NJ
90743   3N1CN7AP7JL877708   Nissan       VERSA               SAINT PAUL                MN
90744   3N1CN7AP7JL877742   Nissan       VERSA               MIAMI                     FL
90745   3N1CN7AP7JL877837   Nissan       VERSA               Rockville Centr           NY
90746   3N1CN7AP7JL877871   Nissan       VERSA               Fresno                    CA
90747   3N1CN7AP7JL877904   Nissan       VERSA               CLEVELAND                 OH
90748   3N1CN7AP7JL877997   Nissan       VERSA               HOUSTON                   TX
90749   3N1CN7AP7JL878048   Nissan       VERSA               Manheim                   PA
90750   3N1CN7AP7JL878180   Nissan       VERSA               PASADENA                  MD
90751   3N1CN7AP7JL878227   Nissan       VERSA               STERLING                  VA
90752   3N1CN7AP7JL878406   Nissan       VERSA               WARWICK                   RI
90753   3N1CN7AP7JL878440   Nissan       VERSA               INDIANAPOLIS              IN
90754   3N1CN7AP7JL878468   Nissan       VERSA               Tampa                     FL
90755   3N1CN7AP7JL878471   Nissan       VERSA               TAMPA                     FL
90756   3N1CN7AP7JL878549   Nissan       VERSA               WEST PALM BEACH           FL
90757   3N1CN7AP7JL878616   Nissan       VERSA               ORLANDO                   FL
90758   3N1CN7AP7JL878714   Nissan       VERSA               AMARILLO                  US
90759   3N1CN7AP7JL878776   Nissan       VERSA               NORFOLK                   VA
90760   3N1CN7AP7JL878826   Nissan       VERSA               Sacramento                CA
90761   3N1CN7AP7JL879099   Nissan       VERSA               HAMMONTON                 NJ
90762   3N1CN7AP7JL879345   Nissan       VERSA               PLEASANTON                CA
90763   3N1CN7AP7JL879409   Nissan       VERSA               INDIANAPOLIS              IN
90764   3N1CN7AP7JL879538   Nissan       VERSA               PHOENIX                   AZ
90765   3N1CN7AP7JL879586   Nissan       VERSA               Manheim                   PA
90766   3N1CN7AP7JL879698   Nissan       VERSA               PLEASANTON                CA
90767   3N1CN7AP7JL879720   Nissan       VERSA               SACRAMENTO                CA
90768   3N1CN7AP7JL879779   Nissan       VERSA               WARWICK                   RI
90769   3N1CN7AP7JL880074   Nissan       VERSA               SAN JOSE                  CA
90770   3N1CN7AP7JL880172   Nissan       VERSA               NEW YORK CITY             NY
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90771   3N1CN7AP7JL880253   Nissan       VERSA               SAN DIEGO                 CA
90772   3N1CN7AP7JL880382   Nissan       VERSA               San Antonio               TX
90773   3N1CN7AP7JL881029   Nissan       VERSA               TAMPA                     FL
90774   3N1CN7AP7JL881273   Nissan       VERSA               Roseville                 CA
90775   3N1CN7AP7JL881404   Nissan       VERSA               Webster                   NY
90776   3N1CN7AP7JL881550   Nissan       VERSA               St. Louis                 MO
90777   3N1CN7AP7JL881631   Nissan       VERSA               COLUMBIA                  SC
90778   3N1CN7AP7JL881645   Nissan       VERSA               WHITE PLAINS              NY
90779   3N1CN7AP7JL881693   Nissan       VERSA               Rio Linda                 CA
90780   3N1CN7AP7JL881712   Nissan       VERSA               MIAMI                     FL
90781   3N1CN7AP7JL881726   Nissan       VERSA               CHARLOTTE                 US
90782   3N1CN7AP7JL881760   Nissan       VERSA               NEW BERN                  NC
90783   3N1CN7AP7JL881872   Nissan       VERSA               Manheim                   PA
90784   3N1CN7AP7JL882021   Nissan       VERSA               ORLANDO                   FL
90785   3N1CN7AP7JL882035   Nissan       VERSA               RONKONKOMA                NY
90786   3N1CN7AP7JL882133   Nissan       VERSA               PORTLAND                  OR
90787   3N1CN7AP7JL882150   Nissan       VERSA               HUNTSVILLE                AL
90788   3N1CN7AP7JL882181   Nissan       VERSA               LOS ANGELES               CA
90789   3N1CN7AP7JL882195   Nissan       VERSA               ONTARIO                   CA
90790   3N1CN7AP7JL882357   Nissan       VERSA               JACKSONVILLE              FL
90791   3N1CN7AP7JL882374   Nissan       VERSA               Houston                   TX
90792   3N1CN7AP7JL882388   Nissan       VERSA               FORT MYERS                FL
90793   3N1CN7AP7JL882391   Nissan       VERSA               STERLING                  VA
90794   3N1CN7AP7JL882469   Nissan       VERSA               SACRAMENTO                CA
90795   3N1CN7AP7JL882519   Nissan       VERSA               PALM SPRINGS              CA
90796   3N1CN7AP7JL882553   Nissan       VERSA               SANTA ANA                 CA
90797   3N1CN7AP7JL882567   Nissan       VERSA               MEMPHIS                   TN
90798   3N1CN7AP7JL882648   Nissan       VERSA               LAS VEGAS                 NV
90799   3N1CN7AP7JL882665   Nissan       VERSA               HARTFORD                  CT
90800   3N1CN7AP7JL882679   Nissan       VERSA               SYRACUSE                  NY
90801   3N1CN7AP7JL882696   Nissan       VERSA               ORLANDO                   FL
90802   3N1CN7AP7JL882701   Nissan       VERSA               ORLANDO                   FL
90803   3N1CN7AP7JL884500   Nissan       VERSA               WEST PALM BEACH           FL
90804   3N1CN7AP7JL884559   Nissan       VERSA               CHARLOTTE                 NC
90805   3N1CN7AP7JL884562   Nissan       VERSA               WEST PALM BEACH           FL
90806   3N1CN7AP7JL884576   Nissan       VERSA               Tampa                     FL
90807   3N1CN7AP7JL884643   Nissan       VERSA               SARASOTA                  FL
90808   3N1CN7AP7JL884853   Nissan       VERSA               SALT LAKE CITY            US
90809   3N1CN7AP7JL884870   Nissan       VERSA               Plainfield                IN
90810   3N1CN7AP7JL884903   Nissan       VERSA               Hartford                  CT
90811   3N1CN7AP7JL884979   Nissan       VERSA               ORLANDO                   FL
90812   3N1CN7AP7JL885100   Nissan       VERSA               HOUSTON                   TX
90813   3N1CN7AP7JL885114   Nissan       VERSA               MIAMI                     FL
90814   3N1CN7AP7JL885503   Nissan       VERSA               Santa Clara               CA
90815   3N1CN7AP7JL885517   Nissan       VERSA               Atlanta                   GA
90816   3N1CN7AP7JL885534   Nissan       VERSA               NEW YORK CITY             NY
90817   3N1CN7AP7JL885615   Nissan       VERSA               KANSAS CITY               MO
90818   3N1CN7AP7JL885677   Nissan       VERSA               DETROIT                   MI
90819   3N1CN7AP7JL885730   Nissan       VERSA               BOSTON                    MA
90820   3N1CN7AP7JL885792   Nissan       VERSA               Roseville                 CA
90821   3N1CN7AP7JL885856   Nissan       VERSA               BOSTON                    MA
90822   3N1CN7AP7JL886120   Nissan       VERSA               DENVER                    CO
90823   3N1CN7AP7JL886151   Nissan       VERSA               SEATAC                    WA
90824   3N1CN7AP7JL886179   Nissan       VERSA               Slidell                   LA
90825   3N1CN7AP7JL886506   Nissan       VERSA               Fresno                    CA
90826   3N1CN7AP7KL844838   Nissan       VERSA               Nashville                 TN
90827   3N1CN7AP7KL847609   Nissan       VERSA               Stockton                  CA
90828   3N1CN7AP7KL849487   Nissan       VERSA               Riverside                 CA
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90829   3N1CN7AP7KL849943   Nissan       VERSA               KNOXVILLE                 TN
90830   3N1CN7AP7KL853944   Nissan       VERSA               FORT MYERS                FL
90831   3N1CN7AP7KL854544   Nissan       VERSA               Portland                  OR
90832   3N1CN7AP7KL855547   Nissan       VERSA               STERLING                  VA
90833   3N1CN7AP7KL855662   Nissan       VERSA               Lexington                 KY
90834   3N1CN7AP7KL857105   Nissan       VERSA               Chicago                   IL
90835   3N1CN7AP7KL857735   Nissan       VERSA               PLEASANTON                CA
90836   3N1CN7AP7KL858433   Nissan       VERSA               Nashville                 TN
90837   3N1CN7AP7KL862823   Nissan       VERSA               Louisville                KY
90838   3N1CN7AP7KL863101   Nissan       VERSA               Manheim                   PA
90839   3N1CN7AP7KL865298   Nissan       VERSA               Pittsburgh                PA
90840   3N1CN7AP7KL865737   Nissan       VERSA               FORT MYERS                FL
90841   3N1CN7AP7KL869691   Nissan       VERSA               Beaverton                 OR
90842   3N1CN7AP7KL870131   Nissan       VERSA               PHILADELPHIA              PA
90843   3N1CN7AP7KL870307   Nissan       VERSA               PHILADELPHIA              PA
90844   3N1CN7AP7KL871120   Nissan       VERSA               Omaha                     NE
90845   3N1CN7AP7KL871991   Nissan       VERSA               Grove City                OH
90846   3N1CN7AP7KL873773   Nissan       VERSA               Cleveland                 OH
90847   3N1CN7AP8HK430501   Nissan       VERSA               MELROSE PARK              IL
90848   3N1CN7AP8HK451901   Nissan       VERSA               ORLANDO                   FL
90849   3N1CN7AP8HL889649   Nissan       VERSA               Teterboro                 NJ
90850   3N1CN7AP8JK412781   Nissan       VERSA               SAN FRANCISCO             CA
90851   3N1CN7AP8JK415048   Nissan       VERSA               KENNER                    LA
90852   3N1CN7AP8JK418614   Nissan       VERSA               San Diego                 CA
90853   3N1CN7AP8JK424803   Nissan       VERSA               BALTIMORE                 MD
90854   3N1CN7AP8JK427510   Nissan       VERSA               MIAMI                     FL
90855   3N1CN7AP8JK428043   Nissan       VERSA               FORT LAUDERDALE           FL
90856   3N1CN7AP8JK429516   Nissan       VERSA               Hayward                   CA
90857   3N1CN7AP8JK432237   Nissan       VERSA               Morrisville               NC
90858   3N1CN7AP8JK432819   Nissan       VERSA               North Las Vegas           NV
90859   3N1CN7AP8JK432867   Nissan       VERSA               LAS VEGAS                 NV
90860   3N1CN7AP8JK435820   Nissan       VERSA               Pasadena                  CA
90861   3N1CN7AP8JK437034   Nissan       VERSA               MIAMI                     FL
90862   3N1CN7AP8JK437437   Nissan       VERSA               Austin                    TX
90863   3N1CN7AP8JK437664   Nissan       VERSA               PHILADELPHIA              PA
90864   3N1CN7AP8JK438703   Nissan       VERSA               PHOENIX                   AZ
90865   3N1CN7AP8JK439530   Nissan       VERSA               Mira Loma                 CA
90866   3N1CN7AP8JK440192   Nissan       VERSA               Lake Elsinore             CA
90867   3N1CN7AP8JK440306   Nissan       VERSA               PHOENIX                   AZ
90868   3N1CN7AP8JK440693   Nissan       VERSA               Ft. Myers                 FL
90869   3N1CN7AP8JK441276   Nissan       VERSA               DARLINGTON                SC
90870   3N1CN7AP8JK441391   Nissan       VERSA               Stockton                  CA
90871   3N1CN7AP8JK441469   Nissan       VERSA               Los Angeles               CA
90872   3N1CN7AP8JK441830   Nissan       VERSA               Phoenix                   AZ
90873   3N1CN7AP8JK442282   Nissan       VERSA               KAHULUI                   HI
90874   3N1CN7AP8JK442296   Nissan       VERSA               Albuquerque               NM
90875   3N1CN7AP8JK442332   Nissan       VERSA               KAHULUI                   HI
90876   3N1CN7AP8JK442394   Nissan       VERSA               KAHULUI                   HI
90877   3N1CN7AP8JK442721   Nissan       VERSA               San Diego                 CA
90878   3N1CN7AP8JK443643   Nissan       VERSA               Kahului                   HI
90879   3N1CN7AP8JL824841   Nissan       VERSA               KAHULUI                   HI
90880   3N1CN7AP8JL827349   Nissan       VERSA               DAYTONA BEACH             FL
90881   3N1CN7AP8JL828548   Nissan       VERSA               ORLANDO                   FL
90882   3N1CN7AP8JL830624   Nissan       VERSA               ORLANDO                   FL
90883   3N1CN7AP8JL832051   Nissan       VERSA               Torrance                  CA
90884   3N1CN7AP8JL833832   Nissan       VERSA               WEST PALM BEACH           FL
90885   3N1CN7AP8JL836133   Nissan       VERSA               FORT LAUDERDALE           FL
90886   3N1CN7AP8JL836147   Nissan       VERSA               Woodhaven                 MI
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90887   3N1CN7AP8JL837072   Nissan       VERSA               Davie                     FL
90888   3N1CN7AP8JL837900   Nissan       VERSA               FORT MYERS                FL
90889   3N1CN7AP8JL838903   Nissan       VERSA               ORLANDO                   FL
90890   3N1CN7AP8JL839422   Nissan       VERSA               FORT MYERS                FL
90891   3N1CN7AP8JL839677   Nissan       VERSA               Detroit                   MI
90892   3N1CN7AP8JL841204   Nissan       VERSA               SOUTHEAST DST OFFC        OK
90893   3N1CN7AP8JL841980   Nissan       VERSA               Bensalem                  PA
90894   3N1CN7AP8JL842255   Nissan       VERSA               ORLANDO                   FL
90895   3N1CN7AP8JL842398   Nissan       VERSA               ORLANDO                   FL
90896   3N1CN7AP8JL842644   Nissan       VERSA               St. Louis                 MO
90897   3N1CN7AP8JL842739   Nissan       VERSA               FORT MYERS                FL
90898   3N1CN7AP8JL843180   Nissan       VERSA               TAMPA                     FL
90899   3N1CN7AP8JL844099   Nissan       VERSA               WEST PALM BEACH           FL
90900   3N1CN7AP8JL844104   Nissan       VERSA               LOS ANGELES               CA
90901   3N1CN7AP8JL844183   Nissan       VERSA               FORT MYERS                FL
90902   3N1CN7AP8JL844295   Nissan       VERSA               SAN LEANDRO               CA
90903   3N1CN7AP8JL844877   Nissan       VERSA               SAN FRANCISCO             CA
90904   3N1CN7AP8JL844992   Nissan       VERSA               Anaheim                   CA
90905   3N1CN7AP8JL845155   Nissan       VERSA               Norwalk                   CA
90906   3N1CN7AP8JL845186   Nissan       VERSA               CHARLOTTE                 NC
90907   3N1CN7AP8JL845253   Nissan       VERSA               Portland                  OR
90908   3N1CN7AP8JL845270   Nissan       VERSA               SANTA ANA                 CA
90909   3N1CN7AP8JL845527   Nissan       VERSA               Roseville                 CA
90910   3N1CN7AP8JL845804   Nissan       VERSA               SAN DIEGO                 CA
90911   3N1CN7AP8JL846015   Nissan       VERSA               Windsor Locks             CT
90912   3N1CN7AP8JL846967   Nissan       VERSA               ORLANDO                   FL
90913   3N1CN7AP8JL848377   Nissan       VERSA               KAHULUI                   HI
90914   3N1CN7AP8JL848993   Nissan       VERSA               DALLAS                    TX
90915   3N1CN7AP8JL852137   Nissan       VERSA               Rockville Centr           NY
90916   3N1CN7AP8JL852204   Nissan       VERSA               ORLANDO                   FL
90917   3N1CN7AP8JL853126   Nissan       VERSA               Ft. Myers                 FL
90918   3N1CN7AP8JL853479   Nissan       VERSA               OAKLAND                   CA
90919   3N1CN7AP8JL854115   Nissan       VERSA               ORLANDO                   FL
90920   3N1CN7AP8JL854891   Nissan       VERSA               ORLANDO                   FL
90921   3N1CN7AP8JL855278   Nissan       VERSA               ORANGE COUNTY             CA
90922   3N1CN7AP8JL855913   Nissan       VERSA               Santa Clara               CA
90923   3N1CN7AP8JL856639   Nissan       VERSA               LAS VEGAS                 NV
90924   3N1CN7AP8JL857032   Nissan       VERSA               Rio Linda                 CA
90925   3N1CN7AP8JL857774   Nissan       VERSA               N. Palm Beach             FL
90926   3N1CN7AP8JL857855   Nissan       VERSA               Las Vegas                 NV
90927   3N1CN7AP8JL858164   Nissan       VERSA               SEATTLE                   WA
90928   3N1CN7AP8JL860514   Nissan       VERSA               MEDINA                    OH
90929   3N1CN7AP8JL860870   Nissan       VERSA               FORT LAUDERDALE           FL
90930   3N1CN7AP8JL861405   Nissan       VERSA               Santa Clara               CA
90931   3N1CN7AP8JL861713   Nissan       VERSA               LAS VEGAS                 NV
90932   3N1CN7AP8JL862392   Nissan       VERSA               Lake Elsinore             CA
90933   3N1CN7AP8JL862490   Nissan       VERSA               TAMPA                     FL
90934   3N1CN7AP8JL862716   Nissan       VERSA               ORLANDO                   FL
90935   3N1CN7AP8JL862747   Nissan       VERSA               FORT MYERS                FL
90936   3N1CN7AP8JL863123   Nissan       VERSA               Atlanta                   GA
90937   3N1CN7AP8JL863963   Nissan       VERSA
90938   3N1CN7AP8JL864255   Nissan       VERSA               SAN ANTONIO               TX
90939   3N1CN7AP8JL865504   Nissan       VERSA               COLLEGE PARK              GA
90940   3N1CN7AP8JL865616   Nissan       VERSA               EL PASO                   TX
90941   3N1CN7AP8JL865843   Nissan       VERSA               TAMPA                     FL
90942   3N1CN7AP8JL866054   Nissan       VERSA               Atlanta                   GA
90943   3N1CN7AP8JL869195   Nissan       VERSA               SOUTHEAST DST OFFC        OK
90944   3N1CN7AP8JL869410   Nissan       VERSA               DES MOINES                IA
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90945   3N1CN7AP8JL869875   Nissan       VERSA               Los Angeles               CA
90946   3N1CN7AP8JL870752   Nissan       VERSA               PHILADELPHIA              PA
90947   3N1CN7AP8JL870833   Nissan       VERSA               Estero                    FL
90948   3N1CN7AP8JL870914   Nissan       VERSA               FORT MYERS                FL
90949   3N1CN7AP8JL870962   Nissan       VERSA               SAN DIEGO                 CA
90950   3N1CN7AP8JL871352   Nissan       VERSA
90951   3N1CN7AP8JL871495   Nissan       VERSA               ONTARIO                   CA
90952   3N1CN7AP8JL871674   Nissan       VERSA               Roseville                 CA
90953   3N1CN7AP8JL871707   Nissan       VERSA               LOS ANGELES               CA
90954   3N1CN7AP8JL871898   Nissan       VERSA               Riverside                 CA
90955   3N1CN7AP8JL871948   Nissan       VERSA               Anaheim                   CA
90956   3N1CN7AP8JL872176   Nissan       VERSA               San Diego                 CA
90957   3N1CN7AP8JL872257   Nissan       VERSA               Slidell                   LA
90958   3N1CN7AP8JL872324   Nissan       VERSA               Roseville                 CA
90959   3N1CN7AP8JL872338   Nissan       VERSA               LAS VEGAS                 NV
90960   3N1CN7AP8JL872341   Nissan       VERSA               MIAMI                     FL
90961   3N1CN7AP8JL872498   Nissan       VERSA               SAN DIEGO                 CA
90962   3N1CN7AP8JL872565   Nissan       VERSA               Anaheim                   CA
90963   3N1CN7AP8JL872646   Nissan       VERSA               FORT MYERS                FL
90964   3N1CN7AP8JL872789   Nissan       VERSA               KAHULUI                   HI
90965   3N1CN7AP8JL872873   Nissan       VERSA               LAS VEGAS                 NV
90966   3N1CN7AP8JL872954   Nissan       VERSA               Sacramento                CA
90967   3N1CN7AP8JL873165   Nissan       VERSA               LAS VEGAS                 NV
90968   3N1CN7AP8JL873196   Nissan       VERSA               KAHULUI                   HI
90969   3N1CN7AP8JL873294   Nissan       VERSA               Santa Clara               CA
90970   3N1CN7AP8JL873487   Nissan       VERSA               KAHULUI                   HI
90971   3N1CN7AP8JL873540   Nissan       VERSA               KAHULUI                   HI
90972   3N1CN7AP8JL873585   Nissan       VERSA               Sacramento                CA
90973   3N1CN7AP8JL873859   Nissan       VERSA               SAN DIEGO                 CA
90974   3N1CN7AP8JL874090   Nissan       VERSA               SAN DIEGO                 CA
90975   3N1CN7AP8JL874199   Nissan       VERSA               LOS ANGELES               CA
90976   3N1CN7AP8JL874400   Nissan       VERSA               KAHULUI                   HI
90977   3N1CN7AP8JL874414   Nissan       VERSA               TRACY                     CA
90978   3N1CN7AP8JL874428   Nissan       VERSA               LOS ANGELES               CA
90979   3N1CN7AP8JL874784   Nissan       VERSA               Warwick                   RI
90980   3N1CN7AP8JL874834   Nissan       VERSA               PHOENIX                   AZ
90981   3N1CN7AP8JL874932   Nissan       VERSA               PHOENIX                   AZ
90982   3N1CN7AP8JL875000   Nissan       VERSA               SAN DIEGO                 CA
90983   3N1CN7AP8JL875059   Nissan       VERSA               ONTARIO                   CA
90984   3N1CN7AP8JL875109   Nissan       VERSA               KAHULUI                   HI
90985   3N1CN7AP8JL875126   Nissan       VERSA               Tolleson                  AZ
90986   3N1CN7AP8JL875529   Nissan       VERSA               SEATTLE                   WA
90987   3N1CN7AP8JL876146   Nissan       VERSA               KAHULUI                   HI
90988   3N1CN7AP8JL876275   Nissan       VERSA               TRACY                     CA
90989   3N1CN7AP8JL876308   Nissan       VERSA               BOSTON                    MA
90990   3N1CN7AP8JL876373   Nissan       VERSA               LAS VEGAS                 NV
90991   3N1CN7AP8JL876521   Nissan       VERSA               Anaheim                   CA
90992   3N1CN7AP8JL877202   Nissan       VERSA               CHARLESTON                WV
90993   3N1CN7AP8JL877314   Nissan       VERSA               MIAMI                     FL
90994   3N1CN7AP8JL877359   Nissan       VERSA               KENNER                    LA
90995   3N1CN7AP8JL877393   Nissan       VERSA               DENVER                    CO
90996   3N1CN7AP8JL877426   Nissan       VERSA               PITTSBURGH                PA
90997   3N1CN7AP8JL877703   Nissan       VERSA               Hayward                   CA
90998   3N1CN7AP8JL877720   Nissan       VERSA               FORT MYERS                FL
90999   3N1CN7AP8JL877765   Nissan       VERSA               Atlanta                   GA
91000   3N1CN7AP8JL877880   Nissan       VERSA               DES MOINES                IA
91001   3N1CN7AP8JL877930   Nissan       VERSA               DURYEA                    PA
91002   3N1CN7AP8JL877958   Nissan       VERSA               COCOA                     FL
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91003   3N1CN7AP8JL877975   Nissan       VERSA               Coraopolis                PA
91004   3N1CN7AP8JL878009   Nissan       VERSA               Manheim                   PA
91005   3N1CN7AP8JL878334   Nissan       VERSA               DETROIT                   MI
91006   3N1CN7AP8JL878348   Nissan       VERSA               Woodhaven                 MI
91007   3N1CN7AP8JL878477   Nissan       VERSA               Dallas                    TX
91008   3N1CN7AP8JL878530   Nissan       VERSA               FORT MYERS                FL
91009   3N1CN7AP8JL878723   Nissan       VERSA               Framingham                MA
91010   3N1CN7AP8JL878754   Nissan       VERSA               BOSTON, LOGAN AP          MA
91011   3N1CN7AP8JL878785   Nissan       VERSA               SAINT LOUIS               MO
91012   3N1CN7AP8JL878821   Nissan       VERSA               NEWARK                    NJ
91013   3N1CN7AP8JL878835   Nissan       VERSA               Miami                     FL
91014   3N1CN7AP8JL879001   Nissan       VERSA               DFW AIRPORT               TX
91015   3N1CN7AP8JL879130   Nissan       VERSA               WEST PALM BEACH           FL
91016   3N1CN7AP8JL879340   Nissan       VERSA               PHOENIX                   AZ
91017   3N1CN7AP8JL879368   Nissan       VERSA               FEDERAL WAY               WA
91018   3N1CN7AP8JL879435   Nissan       VERSA               NEW BERN                  NC
91019   3N1CN7AP8JL879452   Nissan       VERSA               EAST BOSTON               MA
91020   3N1CN7AP8JL879483   Nissan       VERSA               WEST PALM BEACH           FL
91021   3N1CN7AP8JL879502   Nissan       VERSA               Kansas City               MO
91022   3N1CN7AP8JL879595   Nissan       VERSA               HARTFORD                  CT
91023   3N1CN7AP8JL879841   Nissan       VERSA               NEW ORLEANS               LA
91024   3N1CN7AP8JL879855   Nissan       VERSA               KNOXVILLE                 TN
91025   3N1CN7AP8JL880150   Nissan       VERSA               ALBUQUERQUE               NM
91026   3N1CN7AP8JL880245   Nissan       VERSA               EAST BOSTON               MA
91027   3N1CN7AP8JL880813   Nissan       VERSA               Hartford                  CT
91028   3N1CN7AP8JL880827   Nissan       VERSA               Warr Acres                OK
91029   3N1CN7AP8JL880987   Nissan       VERSA               Roseville                 CA
91030   3N1CN7AP8JL880990   Nissan       VERSA               LAS VEGAS                 NV
91031   3N1CN7AP8JL881041   Nissan       VERSA               Roseville                 CA
91032   3N1CN7AP8JL881136   Nissan       VERSA               NEW BERN                  NC
91033   3N1CN7AP8JL881153   Nissan       VERSA               Lake Elsinore             CA
91034   3N1CN7AP8JL881220   Nissan       VERSA               N. Palm Beach             FL
91035   3N1CN7AP8JL881234   Nissan       VERSA               JACKSONVILLE              FL
91036   3N1CN7AP8JL881363   Nissan       VERSA               FORT MYERS                FL
91037   3N1CN7AP8JL881444   Nissan       VERSA               LAS VEGAS                 NV
91038   3N1CN7AP8JL881458   Nissan       VERSA               PHOENIX                   AZ
91039   3N1CN7AP8JL881606   Nissan       VERSA               DFW AIRPORT               TX
91040   3N1CN7AP8JL881637   Nissan       VERSA               STERLING                  VA
91041   3N1CN7AP8JL881797   Nissan       VERSA               SAN FRANCISCO             CA
91042   3N1CN7AP8JL881895   Nissan       VERSA               WEST COLUMBIA             SC
91043   3N1CN7AP8JL881900   Nissan       VERSA               ORLANDO                   FL
91044   3N1CN7AP8JL881959   Nissan       VERSA               Miami                     FL
91045   3N1CN7AP8JL882013   Nissan       VERSA               TAMPA                     FL
91046   3N1CN7AP8JL882061   Nissan       VERSA               SARASOTA                  FL
91047   3N1CN7AP8JL882092   Nissan       VERSA               JACKSONVILLE              FL
91048   3N1CN7AP8JL882142   Nissan       VERSA               FT LAUDERDALE             FL
91049   3N1CN7AP8JL882433   Nissan       VERSA               El Segundo                CA
91050   3N1CN7AP8JL882500   Nissan       VERSA               Mt. Juliet                TN
91051   3N1CN7AP8JL882657   Nissan       VERSA               Roseville                 CA
91052   3N1CN7AP8JL883257   Nissan       VERSA               TAMPA                     FL
91053   3N1CN7AP8JL884344   Nissan       VERSA               JACKSON                   MS
91054   3N1CN7AP8JL884389   Nissan       VERSA               Dallas                    TX
91055   3N1CN7AP8JL884408   Nissan       VERSA               SAN JOSE                  CA
91056   3N1CN7AP8JL884490   Nissan       VERSA               CHICAGO                   IL
91057   3N1CN7AP8JL884523   Nissan       VERSA               FORT LAUDERDALE           FL
91058   3N1CN7AP8JL884571   Nissan       VERSA               PHILADELPHIA              US
91059   3N1CN7AP8JL884604   Nissan       VERSA               FORT LAUDERDALE           FL
91060   3N1CN7AP8JL884683   Nissan       VERSA               TAMPA                     FL
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91061   3N1CN7AP8JL884733   Nissan       VERSA               NEW ORLEANS               LA
91062   3N1CN7AP8JL884750   Nissan       VERSA               Tulsa                     OK
91063   3N1CN7AP8JL884778   Nissan       VERSA               RICHMOND                  VA
91064   3N1CN7AP8JL884781   Nissan       VERSA               MEMPHIS                   TN
91065   3N1CN7AP8JL884960   Nissan       VERSA               Atlanta                   GA
91066   3N1CN7AP8JL885008   Nissan       VERSA               BURBANK                   CA
91067   3N1CN7AP8JL885011   Nissan       VERSA               KANSAS CITY               MO
91068   3N1CN7AP8JL885039   Nissan       VERSA               Las Vegas                 NV
91069   3N1CN7AP8JL885087   Nissan       VERSA               Clearwater                FL
91070   3N1CN7AP8JL885140   Nissan       VERSA               FORT LAUDERDALE           FL
91071   3N1CN7AP8JL885218   Nissan       VERSA               MIAMI                     FL
91072   3N1CN7AP8JL885249   Nissan       VERSA               CHICAGO                   IL
91073   3N1CN7AP8JL885378   Nissan       VERSA               PHOENIX                   AZ
91074   3N1CN7AP8JL885381   Nissan       VERSA               NEW YORK CITY             NY
91075   3N1CN7AP8JL885395   Nissan       VERSA               Little Rock               AR
91076   3N1CN7AP8JL885400   Nissan       VERSA               WHITE PLAINS              NY
91077   3N1CN7AP8JL885557   Nissan       VERSA               FORT LAUDERDALE           FL
91078   3N1CN7AP8JL885560   Nissan       VERSA               ORLANDO                   FL
91079   3N1CN7AP8JL885641   Nissan       VERSA               ROY                       UT
91080   3N1CN7AP8JL885672   Nissan       VERSA               Manheim                   PA
91081   3N1CN7AP8JL885705   Nissan       VERSA               FORT MYERS                FL
91082   3N1CN7AP8JL885879   Nissan       VERSA               SALT LAKE CITY            US
91083   3N1CN7AP8JL885963   Nissan       VERSA               Burien                    WA
91084   3N1CN7AP8JL885977   Nissan       VERSA               MIAMI                     FL
91085   3N1CN7AP8JL886045   Nissan       VERSA               FORT MYERS                FL
91086   3N1CN7AP8JL886126   Nissan       VERSA               PHOENIX                   AZ
91087   3N1CN7AP8JL886238   Nissan       VERSA               Teterboro                 NJ
91088   3N1CN7AP8JL886319   Nissan       VERSA               Miami                     FL
91089   3N1CN7AP8JL886398   Nissan       VERSA               RONKONKOMA                NY
91090   3N1CN7AP8JL886501   Nissan       VERSA               LOS ANGELES AP            CA
91091   3N1CN7AP8JL886580   Nissan       VERSA               Riverside                 CA
91092   3N1CN7AP8JL887003   Nissan       VERSA               DALLAS                    TX
91093   3N1CN7AP8KL841222   Nissan       VERSA               Harvey                    LA
91094   3N1CN7AP8KL843861   Nissan       VERSA               Hapeville                 GA
91095   3N1CN7AP8KL846226   Nissan       VERSA               Burien                    WA
91096   3N1CN7AP8KL850695   Nissan       VERSA               Chicago                   IL
91097   3N1CN7AP8KL850793   Nissan       VERSA               CHICAGO                   IL
91098   3N1CN7AP8KL855153   Nissan       VERSA               KNOXVILLE                 TN
91099   3N1CN7AP8KL856433   Nissan       VERSA               DES MOINES                IA
91100   3N1CN7AP8KL861700   Nissan       VERSA               Austin                    TX
91101   3N1CN7AP8KL862040   Nissan       VERSA               MELROSE PARK              IL
91102   3N1CN7AP8KL863141   Nissan       VERSA               MIDDLE RIVER              MD
91103   3N1CN7AP8KL864242   Nissan       VERSA               SOUTHEAST DST OFFC        OK
91104   3N1CN7AP8KL864354   Nissan       VERSA               BIRMINGHAM                AL
91105   3N1CN7AP8KL864435   Nissan       VERSA               FORT MYERS                FL
91106   3N1CN7AP8KL865133   Nissan       VERSA               Houston                   TX
91107   3N1CN7AP8KL865696   Nissan       VERSA               Burien                    WA
91108   3N1CN7AP8KL867237   Nissan       VERSA               Nashville                 TN
91109   3N1CN7AP8KL867786   Nissan       VERSA               PORTLAND                  OR
91110   3N1CN7AP8KL870624   Nissan       VERSA               Kansas City               MO
91111   3N1CN7AP8KL870932   Nissan       VERSA               Kansas City               KS
91112   3N1CN7AP8KL872275   Nissan       VERSA               Latham                    NY
91113   3N1CN7AP8KL874592   Nissan       VERSA               Hayward                   CA
91114   3N1CN7AP9JK419366   Nissan       VERSA               Ft. Myers                 FL
91115   3N1CN7AP9JK424289   Nissan       VERSA               TAMPA                     FL
91116   3N1CN7AP9JK425846   Nissan       VERSA               BIRMINGHAN                AL
91117   3N1CN7AP9JK426012   Nissan       VERSA               Stockton                  CA
91118   3N1CN7AP9JK431520   Nissan       VERSA               SAN DIEGO                 CA
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91119   3N1CN7AP9JK433820   Nissan       VERSA               TAMPA                     FL
91120   3N1CN7AP9JK435017   Nissan       VERSA               Denver                    CO
91121   3N1CN7AP9JK435132   Nissan       VERSA               Ventura                   CA
91122   3N1CN7AP9JK435437   Nissan       VERSA               MARIETTA                  GA
91123   3N1CN7AP9JK436703   Nissan       VERSA               FORT MYERS                FL
91124   3N1CN7AP9JK437124   Nissan       VERSA               ORLANDO                   FL
91125   3N1CN7AP9JK437317   Nissan       VERSA               Pensacola                 FL
91126   3N1CN7AP9JK437527   Nissan       VERSA               SAINT PAUL                MN
91127   3N1CN7AP9JK438337   Nissan       VERSA               Nashville                 TN
91128   3N1CN7AP9JK438483   Nissan       VERSA               Portland                  OR
91129   3N1CN7AP9JK439214   Nissan       VERSA               Florissant                MO
91130   3N1CN7AP9JK440198   Nissan       VERSA               Orlando                   FL
91131   3N1CN7AP9JK441223   Nissan       VERSA               Roseville                 CA
91132   3N1CN7AP9JK441349   Nissan       VERSA               SAN FRANCISCO             CA
91133   3N1CN7AP9JK441755   Nissan       VERSA               Hayward                   CA
91134   3N1CN7AP9JK442422   Nissan       VERSA               Anaheim                   CA
91135   3N1CN7AP9JK442615   Nissan       VERSA               Torrance                  CA
91136   3N1CN7AP9JK442775   Nissan       VERSA               PASADENA                  CA
91137   3N1CN7AP9JK442811   Nissan       VERSA               Indianapolis              IN
91138   3N1CN7AP9JK443036   Nissan       VERSA               HONOLULU                  HI
91139   3N1CN7AP9JK444171   Nissan       VERSA               Salt Lake City            UT
91140   3N1CN7AP9JL823763   Nissan       VERSA
91141   3N1CN7AP9JL824511   Nissan       VERSA               Stockton                  CA
91142   3N1CN7AP9JL824850   Nissan       VERSA               Kahului                   HI
91143   3N1CN7AP9JL825626   Nissan       VERSA               Ocoee                     FL
91144   3N1CN7AP9JL827456   Nissan       VERSA               SARASOTA                  FL
91145   3N1CN7AP9JL831166   Nissan       VERSA               Chicago                   IL
91146   3N1CN7AP9JL831538   Nissan       VERSA               SAN FRANCISCO             CA
91147   3N1CN7AP9JL832818   Nissan       VERSA               Smithtown                 NY
91148   3N1CN7AP9JL833144   Nissan       VERSA               DETROIT                   MI
91149   3N1CN7AP9JL835881   Nissan       VERSA               Hartford                  CT
91150   3N1CN7AP9JL838909   Nissan       VERSA               Hayward                   CA
91151   3N1CN7AP9JL839784   Nissan       VERSA               Hartford                  CT
91152   3N1CN7AP9JL841518   Nissan       VERSA               ORLANDO                   FL
91153   3N1CN7AP9JL841728   Nissan       VERSA               ORLANDO                   FL
91154   3N1CN7AP9JL841969   Nissan       VERSA               Hendersonville            TN
91155   3N1CN7AP9JL842118   Nissan       VERSA               Torrance                  CA
91156   3N1CN7AP9JL842622   Nissan       VERSA               Leesburg                  VA
91157   3N1CN7AP9JL842748   Nissan       VERSA               TAMPA                     FL
91158   3N1CN7AP9JL843141   Nissan       VERSA               Bridgeton                 MO
91159   3N1CN7AP9JL843530   Nissan       VERSA               Pasadena                  CA
91160   3N1CN7AP9JL843737   Nissan       VERSA               PLEASANTON                CA
91161   3N1CN7AP9JL843799   Nissan       VERSA               PORTLAND                  OR
91162   3N1CN7AP9JL843916   Nissan       VERSA               Rio Linda                 CA
91163   3N1CN7AP9JL844225   Nissan       VERSA               WEST PALM BEACH           FL
91164   3N1CN7AP9JL844953   Nissan       VERSA               WETUMPKA                  AL
91165   3N1CN7AP9JL845181   Nissan       VERSA               Roseville                 CA
91166   3N1CN7AP9JL845407   Nissan       VERSA               TAMPA                     FL
91167   3N1CN7AP9JL848226   Nissan       VERSA               FORT MYERS                FL
91168   3N1CN7AP9JL852678   Nissan       VERSA               CATONSVILLE               MD
91169   3N1CN7AP9JL852857   Nissan       VERSA               SOUTH BEND                IN
91170   3N1CN7AP9JL853507   Nissan       VERSA               WEST PALM BEACH           FL
91171   3N1CN7AP9JL854155   Nissan       VERSA               RALEIGH, DURHAM           NC
91172   3N1CN7AP9JL855516   Nissan       VERSA               Birmingham                AL
91173   3N1CN7AP9JL858190   Nissan       VERSA               Las Vegas                 NV
91174   3N1CN7AP9JL858576   Nissan       VERSA               Manheim                   PA
91175   3N1CN7AP9JL859338   Nissan       VERSA               Phoenix                   AZ
91176   3N1CN7AP9JL860070   Nissan       VERSA               Ft. Myers                 FL
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91177   3N1CN7AP9JL860893   Nissan       VERSA               Rio Linda                 CA
91178   3N1CN7AP9JL861476   Nissan       VERSA               Ocoee                     FL
91179   3N1CN7AP9JL861736   Nissan       VERSA               Woodhaven                 MI
91180   3N1CN7AP9JL862529   Nissan       VERSA               FORT LAUDERDALE           FL
91181   3N1CN7AP9JL863020   Nissan       VERSA               Riverside                 CA
91182   3N1CN7AP9JL863034   Nissan       VERSA               San Diego                 CA
91183   3N1CN7AP9JL863146   Nissan       VERSA               Warminster                PA
91184   3N1CN7AP9JL863454   Nissan       VERSA               SYRACUSE                  NY
91185   3N1CN7AP9JL864121   Nissan       VERSA               ST Paul                   MN
91186   3N1CN7AP9JL864278   Nissan       VERSA
91187   3N1CN7AP9JL864524   Nissan       VERSA               Charlotte                 NC
91188   3N1CN7AP9JL864698   Nissan       VERSA               ORLANDO                   FL
91189   3N1CN7AP9JL864717   Nissan       VERSA               Elkridge                  MD
91190   3N1CN7AP9JL865415   Nissan       VERSA               Riverside                 CA
91191   3N1CN7AP9JL865527   Nissan       VERSA               WEST PALM BEACH           FL
91192   3N1CN7AP9JL869206   Nissan       VERSA               Slidell                   LA
91193   3N1CN7AP9JL869934   Nissan       VERSA               SARASOTA                  FL
91194   3N1CN7AP9JL870159   Nissan       VERSA               WEST PALM BEACH           FL
91195   3N1CN7AP9JL871117   Nissan       VERSA               Riverside                 CA
91196   3N1CN7AP9JL871554   Nissan       VERSA               SAN DIEGO                 CA
91197   3N1CN7AP9JL871621   Nissan       VERSA               SAN DIEGO                 CA
91198   3N1CN7AP9JL871974   Nissan       VERSA               ONTARIO                   CA
91199   3N1CN7AP9JL872090   Nissan       VERSA               Roseville                 CA
91200   3N1CN7AP9JL872137   Nissan       VERSA               Riverside                 CA
91201   3N1CN7AP9JL872235   Nissan       VERSA               Hapeville                 GA
91202   3N1CN7AP9JL872459   Nissan       VERSA               KAHULUI                   HI
91203   3N1CN7AP9JL872462   Nissan       VERSA               AURORA                    CO
91204   3N1CN7AP9JL872509   Nissan       VERSA               KAHULUI MAUI              HI
91205   3N1CN7AP9JL872543   Nissan       VERSA               Lake Elsinore             CA
91206   3N1CN7AP9JL872803   Nissan       VERSA               KAHULUI                   HI
91207   3N1CN7AP9JL872820   Nissan       VERSA               PETALUMA                  CA
91208   3N1CN7AP9JL872882   Nissan       VERSA               Chicago                   IL
91209   3N1CN7AP9JL872946   Nissan       VERSA               LAS VEGAS                 NV
91210   3N1CN7AP9JL872963   Nissan       VERSA               KAHULUI                   HI
91211   3N1CN7AP9JL873224   Nissan       VERSA               Sacramento                CA
91212   3N1CN7AP9JL873255   Nissan       VERSA               SANTA ANA                 CA
91213   3N1CN7AP9JL873305   Nissan       VERSA               San Diego                 CA
91214   3N1CN7AP9JL873322   Nissan       VERSA               NEW BERN                  NC
91215   3N1CN7AP9JL873482   Nissan       VERSA               SANTA CLARA               CA
91216   3N1CN7AP9JL873580   Nissan       VERSA               SAN DIEGO                 CA
91217   3N1CN7AP9JL873594   Nissan       VERSA               SAN JOSE                  CA
91218   3N1CN7AP9JL873630   Nissan       VERSA               SACRAMENTO                CA
91219   3N1CN7AP9JL873868   Nissan       VERSA               Norwalk                   CA
91220   3N1CN7AP9JL873949   Nissan       VERSA               Hayward                   CA
91221   3N1CN7AP9JL873966   Nissan       VERSA               LAS VEGAS                 NV
91222   3N1CN7AP9JL874017   Nissan       VERSA               Sacramento                CA
91223   3N1CN7AP9JL874292   Nissan       VERSA               DENVER                    CO
91224   3N1CN7AP9JL874633   Nissan       VERSA               SAN FRANCISCO             CA
91225   3N1CN7AP9JL874826   Nissan       VERSA               Santa Clara               CA
91226   3N1CN7AP9JL874910   Nissan       VERSA               ONTARIO                   CA
91227   3N1CN7AP9JL874924   Nissan       VERSA               Norwalk                   CA
91228   3N1CN7AP9JL875023   Nissan       VERSA               Sacramento                CA
91229   3N1CN7AP9JL876446   Nissan       VERSA               Dallas                    TX
91230   3N1CN7AP9JL876477   Nissan       VERSA               LOS ANGELES               CA
91231   3N1CN7AP9JL876558   Nissan       VERSA               Phoenix                   AZ
91232   3N1CN7AP9JL877323   Nissan       VERSA               FORT LAUDERDALE           FL
91233   3N1CN7AP9JL877337   Nissan       VERSA               MIAMI                     FL
91234   3N1CN7AP9JL877399   Nissan       VERSA               TAMPA                     FL
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91235   3N1CN7AP9JL877452   Nissan       VERSA               MIAMI                     FL
91236   3N1CN7AP9JL877502   Nissan       VERSA               Caledonia                 WI
91237   3N1CN7AP9JL877578   Nissan       VERSA               SAN FRANCISCO             CA
91238   3N1CN7AP9JL877581   Nissan       VERSA               CHICAGO                   IL
91239   3N1CN7AP9JL877600   Nissan       VERSA               NEW YORK CITY             NY
91240   3N1CN7AP9JL877709   Nissan       VERSA               PHOENIX                   AZ
91241   3N1CN7AP9JL877757   Nissan       VERSA               ROY                       UT
91242   3N1CN7AP9JL877869   Nissan       VERSA               GRAND RAPIDS              MI
91243   3N1CN7AP9JL877998   Nissan       VERSA               Atlanta                   GA
91244   3N1CN7AP9JL878021   Nissan       VERSA               MEMPHIS                   TN
91245   3N1CN7AP9JL878052   Nissan       VERSA               CLEVELAND                 OH
91246   3N1CN7AP9JL878083   Nissan       VERSA               Statesville               NC
91247   3N1CN7AP9JL878164   Nissan       VERSA               WHITE PLAINS              NY
91248   3N1CN7AP9JL878312   Nissan       VERSA               NEWARK                    NJ
91249   3N1CN7AP9JL878374   Nissan       VERSA               STERLING                  VA
91250   3N1CN7AP9JL878391   Nissan       VERSA               SARASOTA                  FL
91251   3N1CN7AP9JL878567   Nissan       VERSA               CHICAGO                   IL
91252   3N1CN7AP9JL878651   Nissan       VERSA               FORT LAUDERDALE           FL
91253   3N1CN7AP9JL878701   Nissan       VERSA               TAMPA                     FL
91254   3N1CN7AP9JL878729   Nissan       VERSA               Atlanta                   GA
91255   3N1CN7AP9JL878925   Nissan       VERSA               Rochester                 NY
91256   3N1CN7AP9JL878990   Nissan       VERSA               Bridgeton                 MO
91257   3N1CN7AP9JL879069   Nissan       VERSA               SOUTH BEND                IN
91258   3N1CN7AP9JL879119   Nissan       VERSA               DETROIT                   MI
91259   3N1CN7AP9JL879217   Nissan       VERSA               ORLANDO                   FL
91260   3N1CN7AP9JL879296   Nissan       VERSA               DETROIT                   MI
91261   3N1CN7AP9JL879346   Nissan       VERSA               FORT MYERS                FL
91262   3N1CN7AP9JL879444   Nissan       VERSA               Anaheim                   CA
91263   3N1CN7AP9JL879671   Nissan       VERSA               Ocoee                     FL
91264   3N1CN7AP9JL879699   Nissan       VERSA               ORLANDO                   FL
91265   3N1CN7AP9JL879749   Nissan       VERSA               Newark                    NJ
91266   3N1CN7AP9JL879864   Nissan       VERSA               SARASOTA                  FL
91267   3N1CN7AP9JL879881   Nissan       VERSA               Morrisville               NC
91268   3N1CN7AP9JL879931   Nissan       VERSA               PLEASANTON                CA
91269   3N1CN7AP9JL879962   Nissan       VERSA               Norwalk                   CA
91270   3N1CN7AP9JL880173   Nissan       VERSA               ORLANDO                   FL
91271   3N1CN7AP9JL880187   Nissan       VERSA               Mira Loma                 CA
91272   3N1CN7AP9JL880271   Nissan       VERSA               CHICAGO                   IL
91273   3N1CN7AP9JL880299   Nissan       VERSA               PITTSBURGH                PA
91274   3N1CN7AP9JL880335   Nissan       VERSA               SAN JOSE                  CA
91275   3N1CN7AP9JL880772   Nissan       VERSA               TAMPA                     FL
91276   3N1CN7AP9JL880786   Nissan       VERSA               WEST PALM BEACH           FL
91277   3N1CN7AP9JL881064   Nissan       VERSA               Florissant                MO
91278   3N1CN7AP9JL881128   Nissan       VERSA               SAN DIEGO                 CA
91279   3N1CN7AP9JL881159   Nissan       VERSA               Dallas                    TX
91280   3N1CN7AP9JL881162   Nissan       VERSA               CHATHAM                   VA
91281   3N1CN7AP9JL881193   Nissan       VERSA               MIAMI                     FL
91282   3N1CN7AP9JL881338   Nissan       VERSA               PHOENIX                   AZ
91283   3N1CN7AP9JL881498   Nissan       VERSA               Ventura                   CA
91284   3N1CN7AP9JL881548   Nissan       VERSA               ORLANDO                   FL
91285   3N1CN7AP9JL881579   Nissan       VERSA               DES MOINES                IA
91286   3N1CN7AP9JL881873   Nissan       VERSA               GAHANNA                   OH
91287   3N1CN7AP9JL881954   Nissan       VERSA               SANTA ANA                 CA
91288   3N1CN7AP9JL882098   Nissan       VERSA               LOS ANGELES               CA
91289   3N1CN7AP9JL882196   Nissan       VERSA               Florissant                MO
91290   3N1CN7AP9JL882229   Nissan       VERSA               HARTFORD                  CT
91291   3N1CN7AP9JL882277   Nissan       VERSA               Atlanta                   GA
91292   3N1CN7AP9JL882294   Nissan       VERSA               ORLANDO                   FL
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91293   3N1CN7AP9JL882313   Nissan       VERSA               ATLANTA                   GA
91294   3N1CN7AP9JL882392   Nissan       VERSA               Reno                      NV
91295   3N1CN7AP9JL882425   Nissan       VERSA               MEMPHIS                   TN
91296   3N1CN7AP9JL882537   Nissan       VERSA               Dallas                    TX
91297   3N1CN7AP9JL882554   Nissan       VERSA               NEW ORLEANS               LA
91298   3N1CN7AP9JL882747   Nissan       VERSA               Atlanta                   GA
91299   3N1CN7AP9JL882750   Nissan       VERSA               ORANGE COUNTY             CA
91300   3N1CN7AP9JL884384   Nissan       VERSA               Norwalk                   CA
91301   3N1CN7AP9JL884496   Nissan       VERSA               ORLANDO                   FL
91302   3N1CN7AP9JL884529   Nissan       VERSA               Philadelphia              PA
91303   3N1CN7AP9JL884563   Nissan       VERSA               MILWAUKEE                 WI
91304   3N1CN7AP9JL884644   Nissan       VERSA               Manheim                   PA
91305   3N1CN7AP9JL884689   Nissan       VERSA               Oklahoma City             OK
91306   3N1CN7AP9JL884854   Nissan       VERSA               FORT LAUDERDALE           FL
91307   3N1CN7AP9JL884949   Nissan       VERSA               BURBANK                   CA
91308   3N1CN7AP9JL885034   Nissan       VERSA               ORLANDO                   FL
91309   3N1CN7AP9JL885051   Nissan       VERSA               NEW ORLEANS               LA
91310   3N1CN7AP9JL885177   Nissan       VERSA               TAMPA                     US
91311   3N1CN7AP9JL885423   Nissan       VERSA               Atlanta                   GA
91312   3N1CN7AP9JL885485   Nissan       VERSA               Bridgeton                 MO
91313   3N1CN7AP9JL885521   Nissan       VERSA               MIAMI                     FL
91314   3N1CN7AP9JL885664   Nissan       VERSA               ORLANDO                   FL
91315   3N1CN7AP9JL885731   Nissan       VERSA               DALLAS                    TX
91316   3N1CN7AP9JL885745   Nissan       VERSA               Greer                     SC
91317   3N1CN7AP9JL885857   Nissan       VERSA               ORLANDO                   FL
91318   3N1CN7AP9JL885938   Nissan       VERSA               San Antonio               TX
91319   3N1CN7AP9JL886085   Nissan       VERSA               Fredericksburg            VA
91320   3N1CN7AP9JL886121   Nissan       VERSA               EXETER                    RI
91321   3N1CN7AP9JL886264   Nissan       VERSA               Burien                    WA
91322   3N1CN7AP9JL886278   Nissan       VERSA               PORTLAND                  OR
91323   3N1CN7AP9JL886572   Nissan       VERSA               SAN JOSE                  CA
91324   3N1CN7AP9JL886829   Nissan       VERSA               Torrance                  CA
91325   3N1CN7AP9JL886863   Nissan       VERSA               RENO                      NV
91326   3N1CN7AP9JL886944   Nissan       VERSA               LAS VEGAS                 NV
91327   3N1CN7AP9KL849331   Nissan       VERSA               Sarasota                  FL
91328   3N1CN7AP9KL849930   Nissan       VERSA               SOUTHEAST DST OFFC        OK
91329   3N1CN7AP9KL850091   Nissan       VERSA               Atlanta                   GA
91330   3N1CN7AP9KL850642   Nissan       VERSA               Phoenix                   AZ
91331   3N1CN7AP9KL854173   Nissan       VERSA               PORTLAND                  OR
91332   3N1CN7AP9KL854478   Nissan       VERSA               MEBANE                    NC
91333   3N1CN7AP9KL856649   Nissan       VERSA               LITTLE ROCK               AR
91334   3N1CN7AP9KL856733   Nissan       VERSA               Ft. Myers                 FL
91335   3N1CN7AP9KL857932   Nissan       VERSA               Pittsburgh                PA
91336   3N1CN7AP9KL858367   Nissan       VERSA               ELLWOOD CITY              PA
91337   3N1CN7AP9KL858384   Nissan       VERSA               NEW YORK CITY             NY
91338   3N1CN7AP9KL858658   Nissan       VERSA               COLUMBIA                  SC
91339   3N1CN7AP9KL859941   Nissan       VERSA               JOHNSTOWN                 PA
91340   3N1CN7AP9KL860247   Nissan       VERSA               Austin                    TX
91341   3N1CN7AP9KL861107   Nissan       VERSA               Houston                   TX
91342   3N1CN7AP9KL862743   Nissan       VERSA               Warr Acres                OK
91343   3N1CN7AP9KL862998   Nissan       VERSA               Pittsburgh                PA
91344   3N1CN7AP9KL863732   Nissan       VERSA               Pittsburgh                PA
91345   3N1CN7AP9KL863794   Nissan       VERSA               Live Oak                  TX
91346   3N1CN7AP9KL863875   Nissan       VERSA               SOUTH BEND                IN
91347   3N1CN7AP9KL864430   Nissan       VERSA               SACRAMENTO                CA
91348   3N1CN7AP9KL864573   Nissan       VERSA               ORLANDO                   FL
91349   3N1CN7AP9KL866064   Nissan       VERSA               CHICAGO                   IL
91350   3N1CN7AP9KL870373   Nissan       VERSA               S. San Francisc           CA
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                 Case 20-11218-MFW
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91351   3N1CN7AP9KL870731   Nissan       VERSA               PHILADELPHIA              PA
91352   3N1CN7AP9KL870888   Nissan       VERSA               Kansas City               MO
91353   3N1CN7AP9KL870907   Nissan       VERSA               Medford                   NY
91354   3N1CN7AP9KL873175   Nissan       VERSA               Indianapolis              IN
91355   3N1CN7AP9KL874892   Nissan       VERSA               Chicago                   IL
91356   3N1CN7APXHK453391   Nissan       VERSA               Leroy                     NY
91357   3N1CN7APXHL901607   Nissan       VERSA               SAN FRANCISCO             CA
91358   3N1CN7APXJK428674   Nissan       VERSA               SOUTHEAST DST OFFC        OK
91359   3N1CN7APXJK430005   Nissan       VERSA               Anaheim                   CA
91360   3N1CN7APXJK433132   Nissan       VERSA               WEST PALM BEACH           FL
91361   3N1CN7APXJK434216   Nissan       VERSA               KENNER                    LA
91362   3N1CN7APXJK435088   Nissan       VERSA               Anaheim                   CA
91363   3N1CN7APXJK435575   Nissan       VERSA               SALT LAKE CITY            US
91364   3N1CN7APXJK436161   Nissan       VERSA               SAINT LOUIS               MO
91365   3N1CN7APXJK437293   Nissan       VERSA               Tampa                     FL
91366   3N1CN7APXJK437505   Nissan       VERSA               FORT MYERS                FL
91367   3N1CN7APXJK439433   Nissan       VERSA               Arlington                 WA
91368   3N1CN7APXJK439612   Nissan       VERSA               Santa Clara               CA
91369   3N1CN7APXJK440596   Nissan       VERSA               ORLANDO                   FL
91370   3N1CN7APXJK440646   Nissan       VERSA               Fresno                    CA
91371   3N1CN7APXJK440789   Nissan       VERSA               Stockton                  CA
91372   3N1CN7APXJK441148   Nissan       VERSA               FORT MYERS                FL
91373   3N1CN7APXJK442123   Nissan       VERSA               Fredericksburg            VA
91374   3N1CN7APXJK443708   Nissan       VERSA               DALLAS                    TX
91375   3N1CN7APXJL824548   Nissan       VERSA               Kahului                   HI
91376   3N1CN7APXJL825229   Nissan       VERSA               Stockton                  CA
91377   3N1CN7APXJL827563   Nissan       VERSA               Roseville                 CA
91378   3N1CN7APXJL828387   Nissan       VERSA               SAN FRANCISCO             CA
91379   3N1CN7APXJL830365   Nissan       VERSA               HANOVER                   MD
91380   3N1CN7APXJL830432   Nissan       VERSA               ORLANDO                   FL
91381   3N1CN7APXJL833038   Nissan       VERSA               DAYTONA BEACH             FL
91382   3N1CN7APXJL834352   Nissan       VERSA               Winter Park               FL
91383   3N1CN7APXJL834500   Nissan       VERSA               Louisville                KY
91384   3N1CN7APXJL834786   Nissan       VERSA               Tampa                     FL
91385   3N1CN7APXJL835386   Nissan       VERSA               DALLAS                    TX
91386   3N1CN7APXJL841110   Nissan       VERSA               FORT LAUDERDALE           FL
91387   3N1CN7APXJL841219   Nissan       VERSA               Manheim                   PA
91388   3N1CN7APXJL841401   Nissan       VERSA               MEDINA                    OH
91389   3N1CN7APXJL841544   Nissan       VERSA               Atlanta                   GA
91390   3N1CN7APXJL843102   Nissan       VERSA               SOUTHEAST DST OFFC        OK
91391   3N1CN7APXJL843763   Nissan       VERSA               COLLEGE PARK              GA
91392   3N1CN7APXJL843892   Nissan       VERSA               Winter Park               FL
91393   3N1CN7APXJL844119   Nissan       VERSA               Hamilton                  OH
91394   3N1CN7APXJL844167   Nissan       VERSA               Fresno                    CA
91395   3N1CN7APXJL844511   Nissan       VERSA               Stockton                  CA
91396   3N1CN7APXJL844847   Nissan       VERSA               Costa Mesa                CA
91397   3N1CN7APXJL845285   Nissan       VERSA               Ventura                   CA
91398   3N1CN7APXJL845335   Nissan       VERSA               DOWNEY                    CA
91399   3N1CN7APXJL845593   Nissan       VERSA               Hayward                   CA
91400   3N1CN7APXJL845707   Nissan       VERSA               North Dighton             MA
91401   3N1CN7APXJL845741   Nissan       VERSA               SAN FRANCISCO             CA
91402   3N1CN7APXJL845853   Nissan       VERSA               ORLANDO                   FL
91403   3N1CN7APXJL845965   Nissan       VERSA               Fresno                    CA
91404   3N1CN7APXJL846159   Nissan       VERSA               WEST COLUMBIA             SC
91405   3N1CN7APXJL851264   Nissan       VERSA               Bridgeton                 MO
91406   3N1CN7APXJL852639   Nissan       VERSA               Windsor Locks             CT
91407   3N1CN7APXJL853550   Nissan       VERSA               PHOENIX                   AZ
91408   3N1CN7APXJL853886   Nissan       VERSA               Colorado Spring           CO
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91409   3N1CN7APXJL854830   Nissan       VERSA               Rio Linda                 CA
91410   3N1CN7APXJL856755   Nissan       VERSA               Anaheim                   CA
91411   3N1CN7APXJL856769   Nissan       VERSA               SANTA ANA                 CA
91412   3N1CN7APXJL857131   Nissan       VERSA               LOS ANGELES               CA
91413   3N1CN7APXJL858117   Nissan       VERSA               TULSA                     OK
91414   3N1CN7APXJL859073   Nissan       VERSA               Stone Mountain            GA
91415   3N1CN7APXJL859588   Nissan       VERSA               WEST PALM BEACH           FL
91416   3N1CN7APXJL859591   Nissan       VERSA               Riverside                 CA
91417   3N1CN7APXJL860191   Nissan       VERSA               Rio Linda                 CA
91418   3N1CN7APXJL860692   Nissan       VERSA               Clarksville               IN
91419   3N1CN7APXJL860983   Nissan       VERSA               NEWARK                    NJ
91420   3N1CN7APXJL861390   Nissan       VERSA               BURBANK                   CA
91421   3N1CN7APXJL861695   Nissan       VERSA               Norwalk                   CA
91422   3N1CN7APXJL862314   Nissan       VERSA               North Dighton             MA
91423   3N1CN7APXJL862782   Nissan       VERSA               SAN JOSE                  CA
91424   3N1CN7APXJL863124   Nissan       VERSA               Anaheim                   CA
91425   3N1CN7APXJL863690   Nissan       VERSA               CHICAGO                   IL
91426   3N1CN7APXJL863799   Nissan       VERSA               ORLANDO                   FL
91427   3N1CN7APXJL863916   Nissan       VERSA               DALLAS                    TX
91428   3N1CN7APXJL864032   Nissan       VERSA               Albuquerque               NM
91429   3N1CN7APXJL864189   Nissan       VERSA               San Diego                 CA
91430   3N1CN7APXJL864354   Nissan       VERSA               TAMPA                     FL
91431   3N1CN7APXJL864547   Nissan       VERSA               Atlanta                   GA
91432   3N1CN7APXJL864712   Nissan       VERSA               Webster                   NY
91433   3N1CN7APXJL865326   Nissan       VERSA               ORLANDO                   FL
91434   3N1CN7APXJL865522   Nissan       VERSA               FORT MYERS                FL
91435   3N1CN7APXJL865682   Nissan       VERSA               Fresno                    CA
91436   3N1CN7APXJL866072   Nissan       VERSA               LITTLE ROCK               AR
91437   3N1CN7APXJL866119   Nissan       VERSA               DALLAS                    TX
91438   3N1CN7APXJL866525   Nissan       VERSA               Norwalk                   CA
91439   3N1CN7APXJL868971   Nissan       VERSA               SACRAMENTO                CA
91440   3N1CN7APXJL868999   Nissan       VERSA               Hartford                  CT
91441   3N1CN7APXJL869330   Nissan       VERSA               PENSACOLA                 FL
91442   3N1CN7APXJL869733   Nissan       VERSA               Slidell                   LA
91443   3N1CN7APXJL870669   Nissan       VERSA               Rockville Centr           NY
91444   3N1CN7APXJL871384   Nissan       VERSA               SAN FRANCISCO             CA
91445   3N1CN7APXJL871658   Nissan       VERSA               FORT LAUDERDALE           FL
91446   3N1CN7APXJL871661   Nissan       VERSA               Santa Clara               CA
91447   3N1CN7APXJL871935   Nissan       VERSA               Fontana                   CA
91448   3N1CN7APXJL871952   Nissan       VERSA               SEATAC                    WA
91449   3N1CN7APXJL871966   Nissan       VERSA               LOS ANGELES               CA
91450   3N1CN7APXJL872230   Nissan       VERSA               North Las Vegas           NV
91451   3N1CN7APXJL872289   Nissan       VERSA               LOS ANGELES               CA
91452   3N1CN7APXJL872342   Nissan       VERSA               SAN FRANCISCO             CA
91453   3N1CN7APXJL872504   Nissan       VERSA               EL PASO                   TX
91454   3N1CN7APXJL872633   Nissan       VERSA               Portland                  OR
91455   3N1CN7APXJL872647   Nissan       VERSA               KAHULUI                   HI
91456   3N1CN7APXJL872762   Nissan       VERSA               KAHULUI                   HI
91457   3N1CN7APXJL872826   Nissan       VERSA               Kahului                   HI
91458   3N1CN7APXJL872941   Nissan       VERSA               Kahului                   HI
91459   3N1CN7APXJL873569   Nissan       VERSA               SAN DIEGO                 CA
91460   3N1CN7APXJL873734   Nissan       VERSA               North Las Vegas           NV
91461   3N1CN7APXJL873961   Nissan       VERSA               LOS ANGELES               CA
91462   3N1CN7APXJL873975   Nissan       VERSA               Anaheim                   CA
91463   3N1CN7APXJL874320   Nissan       VERSA               BOSTON                    MA
91464   3N1CN7APXJL874513   Nissan       VERSA               SANTA CLARA               CA
91465   3N1CN7APXJL874799   Nissan       VERSA               SAN DIEGO                 CA
91466   3N1CN7APXJL874804   Nissan       VERSA               Sacramento                CA
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91467   3N1CN7APXJL874866   Nissan       VERSA               Torrance                  CA
91468   3N1CN7APXJL875029   Nissan       VERSA               Boise                     ID
91469   3N1CN7APXJL877220   Nissan       VERSA               MILWAUKEE                 WI
91470   3N1CN7APXJL877301   Nissan       VERSA               BOSTON                    MA
91471   3N1CN7APXJL877430   Nissan       VERSA               MILWAUKEE AIRPORT         WI
91472   3N1CN7APXJL877458   Nissan       VERSA               Riverside                 CA
91473   3N1CN7APXJL877489   Nissan       VERSA               Rio Linda                 CA
91474   3N1CN7APXJL877508   Nissan       VERSA               Lake Elsinore             CA
91475   3N1CN7APXJL877511   Nissan       VERSA               ONTARIO                   CA
91476   3N1CN7APXJL877668   Nissan       VERSA               MANCHESTER                US
91477   3N1CN7APXJL877699   Nissan       VERSA               SAN JOSE                  CA
91478   3N1CN7APXJL877783   Nissan       VERSA               Manheim                   PA
91479   3N1CN7APXJL877914   Nissan       VERSA               SARASOTA                  FL
91480   3N1CN7APXJL877993   Nissan       VERSA               KINGSPORT‐TRI CITY        TN
91481   3N1CN7APXJL878030   Nissan       VERSA               MEDINA                    OH
91482   3N1CN7APXJL878089   Nissan       VERSA               COLORADO SPRING           CO
91483   3N1CN7APXJL878108   Nissan       VERSA               MIAMI                     FL
91484   3N1CN7APXJL878111   Nissan       VERSA               TAMPA                     FL
91485   3N1CN7APXJL878223   Nissan       VERSA               STERLING                  VA
91486   3N1CN7APXJL878237   Nissan       VERSA               SARASOTA                  FL
91487   3N1CN7APXJL878318   Nissan       VERSA               Miami                     FL
91488   3N1CN7APXJL878352   Nissan       VERSA               SAN ANTONIO               TX
91489   3N1CN7APXJL878366   Nissan       VERSA               Austell                   GA
91490   3N1CN7APXJL878402   Nissan       VERSA               Manheim                   PA
91491   3N1CN7APXJL878416   Nissan       VERSA               ORLANDO                   FL
91492   3N1CN7APXJL878464   Nissan       VERSA               HOUSTON                   TX
91493   3N1CN7APXJL878481   Nissan       VERSA               Saint Paul                MN
91494   3N1CN7APXJL878562   Nissan       VERSA               NEWARK                    NJ
91495   3N1CN7APXJL878576   Nissan       VERSA               NEWARK                    NJ
91496   3N1CN7APXJL878609   Nissan       VERSA               SANFORD                   FL
91497   3N1CN7APXJL878741   Nissan       VERSA               SAINT LOUIS               MO
91498   3N1CN7APXJL878769   Nissan       VERSA               SHAKOPEE                  MN
91499   3N1CN7APXJL878884   Nissan       VERSA               SAN DIEGO                 CA
91500   3N1CN7APXJL878965   Nissan       VERSA               FORT LAUDERDALE           FL
91501   3N1CN7APXJL879159   Nissan       VERSA               SAN DIEGO                 CA
91502   3N1CN7APXJL879176   Nissan       VERSA               FORT LAUDERDALE           FL
91503   3N1CN7APXJL879260   Nissan       VERSA               SOUTH BEND                IN
91504   3N1CN7APXJL879372   Nissan       VERSA               Manheim                   PA
91505   3N1CN7APXJL879405   Nissan       VERSA               Stockton                  CA
91506   3N1CN7APXJL879467   Nissan       VERSA               Hamilton                  OH
91507   3N1CN7APXJL879470   Nissan       VERSA               Warminster                PA
91508   3N1CN7APXJL879551   Nissan       VERSA               Tolleson                  AZ
91509   3N1CN7APXJL879596   Nissan       VERSA               Fontana                   CA
91510   3N1CN7APXJL879789   Nissan       VERSA               STERLING                  VA
91511   3N1CN7APXJL879792   Nissan       VERSA               RALIEGH                   NC
91512   3N1CN7APXJL879811   Nissan       VERSA               PHILADELPHIA              PA
91513   3N1CN7APXJL879968   Nissan       VERSA               SAN JOSE                  CA
91514   3N1CN7APXJL880005   Nissan       VERSA               Lexington                 KY
91515   3N1CN7APXJL880070   Nissan       VERSA               LITTLE ROCK               AR
91516   3N1CN7APXJL880151   Nissan       VERSA               NORFOLK                   VA
91517   3N1CN7APXJL880196   Nissan       VERSA               NEW YORK CITY             NY
91518   3N1CN7APXJL880215   Nissan       VERSA               Beaverton                 OR
91519   3N1CN7APXJL880246   Nissan       VERSA               Teterboro                 NJ
91520   3N1CN7APXJL881042   Nissan       VERSA               SYRACUSE                  NY
91521   3N1CN7APXJL881221   Nissan       VERSA               WARWICK                   RI
91522   3N1CN7APXJL881252   Nissan       VERSA               STERLING                  VA
91523   3N1CN7APXJL881266   Nissan       VERSA               SAN DIEGO                 CA
91524   3N1CN7APXJL881333   Nissan       VERSA               LAS VEGAS                 NV
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91525   3N1CN7APXJL881395   Nissan       VERSA               SARASOTA                  FL
91526   3N1CN7APXJL881641   Nissan       VERSA               Chicago                   IL
91527   3N1CN7APXJL881736   Nissan       VERSA               Sacramento                CA
91528   3N1CN7APXJL881767   Nissan       VERSA               BIRMINGHAM                AL
91529   3N1CN7APXJL881848   Nissan       VERSA               FORT LAUDERDALE           FL
91530   3N1CN7APXJL882045   Nissan       VERSA               SAN DIEGO                 US
91531   3N1CN7APXJL882143   Nissan       VERSA               Denver                    CO
91532   3N1CN7APXJL882191   Nissan       VERSA               Manheim                   PA
91533   3N1CN7APXJL882319   Nissan       VERSA               CHICAGO                   IL
91534   3N1CN7APXJL882336   Nissan       VERSA               NEW BERN                  NC
91535   3N1CN7APXJL882403   Nissan       VERSA               SAN DIEGO                 CA
91536   3N1CN7APXJL882417   Nissan       VERSA               ORLANDO                   FL
91537   3N1CN7APXJL882532   Nissan       VERSA               FORT MYERS                FL
91538   3N1CN7APXJL884510   Nissan       VERSA               LOS ANGELES AP            CA
91539   3N1CN7APXJL884572   Nissan       VERSA               FORT MYERS                FL
91540   3N1CN7APXJL884703   Nissan       VERSA               FORT MYERS                FL
91541   3N1CN7APXJL884846   Nissan       VERSA               ATLANTA                   GA
91542   3N1CN7APXJL884863   Nissan       VERSA               COLLEGE PARK              GA
91543   3N1CN7APXJL884877   Nissan       VERSA               CHICAGO                   IL
91544   3N1CN7APXJL884894   Nissan       VERSA               Caledonia                 WI
91545   3N1CN7APXJL884913   Nissan       VERSA               PHILADELPHIA              PA
91546   3N1CN7APXJL884958   Nissan       VERSA               WEST PALM BEACH           FL
91547   3N1CN7APXJL885009   Nissan       VERSA               LOS ANGELES               CA
91548   3N1CN7APXJL885043   Nissan       VERSA               TAMPA                     FL
91549   3N1CN7APXJL885138   Nissan       VERSA               Warr Acres                OK
91550   3N1CN7APXJL885219   Nissan       VERSA               Tampa                     FL
91551   3N1CN7APXJL885298   Nissan       VERSA               BOISE                     US
91552   3N1CN7APXJL885320   Nissan       VERSA               Elkridge                  MD
91553   3N1CN7APXJL885429   Nissan       VERSA               Denver                    CO
91554   3N1CN7APXJL885589   Nissan       VERSA               LOUISVILLE                KY
91555   3N1CN7APXJL885592   Nissan       VERSA               LAS VEGAS                 NV
91556   3N1CN7APXJL885608   Nissan       VERSA               Elkridge                  MD
91557   3N1CN7APXJL885611   Nissan       VERSA               Atlanta                   GA
91558   3N1CN7APXJL885821   Nissan       VERSA               AUGUSTA                   GA
91559   3N1CN7APXJL886032   Nissan       VERSA               Houston                   TX
91560   3N1CN7APXJL886161   Nissan       VERSA               DANIA BEACH               FL
91561   3N1CN7APXJL886208   Nissan       VERSA               North Las Vegas           NV
91562   3N1CN7APXJL886256   Nissan       VERSA               Salt Lake City            UT
91563   3N1CN7APXJL886340   Nissan       VERSA               Manheim                   PA
91564   3N1CN7APXJL886435   Nissan       VERSA               PHOENIX                   AZ
91565   3N1CN7APXJL886855   Nissan       VERSA               STOCKTON                  CA
91566   3N1CN7APXKL841755   Nissan       VERSA               Warr Acres                OK
91567   3N1CN7APXKL843781   Nissan       VERSA               DES MOINES                IA
91568   3N1CN7APXKL846194   Nissan       VERSA               Sanford                   FL
91569   3N1CN7APXKL847099   Nissan       VERSA               St. Louis                 MO
91570   3N1CN7APXKL850293   Nissan       VERSA               DAYTONA BEACH             FL
91571   3N1CN7APXKL855283   Nissan       VERSA               COLUMBUS                  OH
91572   3N1CN7APXKL858443   Nissan       VERSA               Warr Acres                OK
91573   3N1CN7APXKL860015   Nissan       VERSA               Hebron                    KY
91574   3N1CN7APXKL860807   Nissan       VERSA               Houston                   TX
91575   3N1CN7APXKL861939   Nissan       VERSA               Florissant                MO
91576   3N1CN7APXKL863707   Nissan       VERSA               Harlingen                 TX
91577   3N1CN7APXKL863710   Nissan       VERSA               ALBUQUERQUE               NM
91578   3N1CN7APXKL863741   Nissan       VERSA               Oklahoma City             OK
91579   3N1CN7APXKL864274   Nissan       VERSA               Webster                   NY
91580   3N1CN7APXKL864713   Nissan       VERSA               Pittsburgh                PA
91581   3N1CN7APXKL864808   Nissan       VERSA               Pittsburgh                PA
91582   3N1CN7APXKL865280   Nissan       VERSA               Hurricane                 WV
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91583   3N1CN7APXKL866364   Nissan       VERSA               Wichita                   KS
91584   3N1CN7APXKL866624   Nissan       VERSA               COLUMBUS                  OH
91585   3N1CN7APXKL869149   Nissan       VERSA               Hamilton                  OH
91586   3N1CN7APXKL870155   Nissan       VERSA               INDIANAPOLIS              IN
91587   3N1CN7APXKL871158   Nissan       VERSA               Bridgeton                 MO
91588   3N1CN7APXKL872259   Nissan       VERSA               Tulsa                     OK
91589   3N1CN7APXKL873606   Nissan       VERSA               New Britain               CT
91590   3N1CN7APXKL876876   Nissan       VERSA               North Billerica           MA
91591   3N1CN8EV3LL808046   Nissan       VERSA               FORT MYERS                FL
91592   3N1CN8EV8LL808544   Nissan       VERSA               ALBANY                    NY
91593   3N1CN8EV8LL860773   Nissan       VERSA               Kansas City               MO
91594   3N1CP5CU0KL497564   Nissan       KICKS               Riverside                 CA
91595   3N1CP5CU5KL565860   Nissan       KICKS               San Antonio               TX
91596   3N1CP5CU6KL498055   Nissan       KICKS               DALLAS                    TX
91597   3N1CP5CV0LL488017   Nissan       KICKS               Miami                     FL
91598   3N1CP5CV0LL490186   Nissan       KICKS               FORT LAUDERDALE           FL
91599   3N1CP5CV0LL490561   Nissan       KICKS               Atlanta                   GA
91600   3N1CP5CV0LL490964   Nissan       KICKS               COLLEGE PARK              GA
91601   3N1CP5CV0LL491001   Nissan       KICKS               KENNER                    LA
91602   3N1CP5CV0LL491192   Nissan       KICKS               ATLANTA                   GA
91603   3N1CP5CV0LL491421   Nissan       KICKS               MEMPHIS                   TN
91604   3N1CP5CV0LL492374   Nissan       KICKS               JACKSON                   MS
91605   3N1CP5CV0LL493217   Nissan       KICKS               MEMPHIS                   TN
91606   3N1CP5CV0LL493444   Nissan       KICKS               HARLEYVILLE               SC
91607   3N1CP5CV0LL497302   Nissan       KICKS               Tulsa                     OK
91608   3N1CP5CV0LL500635   Nissan       KICKS               JACKSON                   MS
91609   3N1CP5CV0LL501719   Nissan       KICKS               ORLANDO                   FL
91610   3N1CP5CV1LL489855   Nissan       KICKS               GAINESVILLE               GA
91611   3N1CP5CV1LL490262   Nissan       KICKS               Atlanta                   GA
91612   3N1CP5CV1LL490973   Nissan       KICKS               TAMPA                     FL
91613   3N1CP5CV1LL491878   Nissan       KICKS               KENNER                    LA
91614   3N1CP5CV1LL494182   Nissan       KICKS               KNOXVILLE                 TN
91615   3N1CP5CV1LL496076   Nissan       KICKS               FORT LAUDERDALE           FL
91616   3N1CP5CV1LL496109   Nissan       KICKS               Tulsa                     OK
91617   3N1CP5CV1LL497079   Nissan       KICKS               MEMPHIS                   TN
91618   3N1CP5CV1LL497258   Nissan       KICKS               CHARLOTTE                 NC
91619   3N1CP5CV1LL501731   Nissan       KICKS               KENNER                    LA
91620   3N1CP5CV2LL487631   Nissan       KICKS               PENSACOLA                 FL
91621   3N1CP5CV2LL487970   Nissan       KICKS               PENSACOLA                 FL
91622   3N1CP5CV2LL488469   Nissan       KICKS               MEMPHIS                   TN
91623   3N1CP5CV2LL489976   Nissan       KICKS               NEW ORLEANS               LA
91624   3N1CP5CV2LL490058   Nissan       KICKS               COLLEGE PARK              GA
91625   3N1CP5CV2LL490786   Nissan       KICKS               KNOXVILLE                 TN
91626   3N1CP5CV2LL491162   Nissan       KICKS               WEST PALM BEACH           FL
91627   3N1CP5CV2LL491212   Nissan       KICKS               MEMPHIS                   TN
91628   3N1CP5CV2LL491890   Nissan       KICKS               PHILADELPHIA              PA
91629   3N1CP5CV2LL491985   Nissan       KICKS               KNOXVILLE                 TN
91630   3N1CP5CV2LL492151   Nissan       KICKS               BIRMINGHAM                AL
91631   3N1CP5CV2LL496507   Nissan       KICKS               Oklahoma City             OK
91632   3N1CP5CV2LL496734   Nissan       KICKS               Oklahoma City             OK
91633   3N1CP5CV2LL497771   Nissan       KICKS               Atlanta                   GA
91634   3N1CP5CV2LL499200   Nissan       KICKS               FORT MYERS                FL
91635   3N1CP5CV2LL501978   Nissan       KICKS               Tulsa                     OK
91636   3N1CP5CV3LL489940   Nissan       KICKS               Atlanta                   GA
91637   3N1CP5CV3LL490067   Nissan       KICKS               NASHVILLE                 TN
91638   3N1CP5CV3LL490182   Nissan       KICKS               Austell                   GA
91639   3N1CP5CV3LL490358   Nissan       KICKS               KNOXVILLE                 TN
91640   3N1CP5CV3LL490618   Nissan       KICKS               JACKSON                   MS
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91641   3N1CP5CV3LL492112   Nissan       KICKS               KENNER                    LA
91642   3N1CP5CV3LL492479   Nissan       KICKS               KNOXVILLE                 TN
91643   3N1CP5CV3LL492661   Nissan       KICKS               TALLAHASSEE               F
91644   3N1CP5CV3LL495981   Nissan       KICKS               BIRMINGHAN                AL
91645   3N1CP5CV3LL496449   Nissan       KICKS               Oklahoma City             OK
91646   3N1CP5CV3LL497813   Nissan       KICKS               DALLAS                    TX
91647   3N1CP5CV3LL500757   Nissan       KICKS               Tulsa                     OK
91648   3N1CP5CV4LL489848   Nissan       KICKS               CHARLESTON                SC
91649   3N1CP5CV4LL490014   Nissan       KICKS               MEMPHIS                   TN
91650   3N1CP5CV4LL490224   Nissan       KICKS               ATLANTA                   GA
91651   3N1CP5CV4LL490966   Nissan       KICKS               Phoenix                   AZ
91652   3N1CP5CV4LL493785   Nissan       KICKS               GAINESVILLE               FL
91653   3N1CP5CV4LL496217   Nissan       KICKS               PENSACOLA                 FL
91654   3N1CP5CV4LL497206   Nissan       KICKS               FORT LAUDERDALE           FL
91655   3N1CP5CV4LL497805   Nissan       KICKS               WEST PALM BEACH           FL
91656   3N1CP5CV4LL502002   Nissan       KICKS               FORT MYERS                FL
91657   3N1CP5CV5LL489857   Nissan       KICKS               Atlanta                   GA
91658   3N1CP5CV5LL489941   Nissan       KICKS               BIRMINGHAM                AL
91659   3N1CP5CV5LL490314   Nissan       KICKS               ALBANY                    GA
91660   3N1CP5CV5LL490331   Nissan       KICKS               SAVANNAH                  GA
91661   3N1CP5CV5LL492385   Nissan       KICKS               PENSACOLA                 FL
91662   3N1CP5CV5LL496100   Nissan       KICKS               BIRMINGHAM                AL
91663   3N1CP5CV5LL496808   Nissan       KICKS               MEMPHIS                   TN
91664   3N1CP5CV5LL504535   Nissan       KICKS               Tulsa                     OK
91665   3N1CP5CV6LL487888   Nissan       KICKS               CHATTANOOGA               TN
91666   3N1CP5CV6LL487907   Nissan       KICKS               PENSACOLA                 FL
91667   3N1CP5CV6LL488720   Nissan       KICKS               PANAMA CITY               FL
91668   3N1CP5CV6LL490208   Nissan       KICKS               KNOXVILLE                 TN
91669   3N1CP5CV6LL490337   Nissan       KICKS               UNION CITY                GA
91670   3N1CP5CV6LL492153   Nissan       KICKS               COLLEGE PARK              GA
91671   3N1CP5CV6LL492198   Nissan       KICKS               PENSACOLA                 FL
91672   3N1CP5CV6LL494212   Nissan       KICKS               ATLANTA                   GA
91673   3N1CP5CV6LL497319   Nissan       KICKS               NEW ORLEANS               LA
91674   3N1CP5CV7LL487964   Nissan       KICKS               Atlanta                   GA
91675   3N1CP5CV7LL490041   Nissan       KICKS               BIRMINGHAN                AL
91676   3N1CP5CV7LL490430   Nissan       KICKS               KNOXVILLE                 TN
91677   3N1CP5CV7LL490587   Nissan       KICKS               HUNTSVILLE                AL
91678   3N1CP5CV7LL490704   Nissan       KICKS               MEMPHIS                   TN
91679   3N1CP5CV7LL491545   Nissan       KICKS               COCOA                     FL
91680   3N1CP5CV7LL491688   Nissan       KICKS               NASHVILLE                 TN
91681   3N1CP5CV7LL491853   Nissan       KICKS               PENSACOLA                 FL
91682   3N1CP5CV7LL492131   Nissan       KICKS               KNOXVILLE                 TN
91683   3N1CP5CV7LL492257   Nissan       KICKS               Fort Walton Bea           FL
91684   3N1CP5CV7LL492484   Nissan       KICKS               NASHVILLE                 TN
91685   3N1CP5CV7LL496003   Nissan       KICKS               Tulsa                     OK
91686   3N1CP5CV7LL496759   Nissan       KICKS               TAMPA                     FL
91687   3N1CP5CV7LL496924   Nissan       KICKS               FORT MYERS                FL
91688   3N1CP5CV7LL497085   Nissan       KICKS               TAMPA                     US
91689   3N1CP5CV8LL487570   Nissan       KICKS               KNOXVILLE                 TN
91690   3N1CP5CV8LL489044   Nissan       KICKS               ORLANDO                   FL
91691   3N1CP5CV8LL491988   Nissan       KICKS               PENSACOLA                 FL
91692   3N1CP5CV8LL492008   Nissan       KICKS               NASHVILLE                 TN
91693   3N1CP5CV8LL493191   Nissan       KICKS               KENNER                    LA
91694   3N1CP5CV8LL495541   Nissan       KICKS               NEW ORLEANS               LA
91695   3N1CP5CV8LL496107   Nissan       KICKS               ORLANDO                   FL
91696   3N1CP5CV8LL496477   Nissan       KICKS               Oklahoma City             OK
91697   3N1CP5CV8LL496544   Nissan       KICKS               Oklahoma City             OK
91698   3N1CP5CV8LL500446   Nissan       KICKS               Baton Rouge               LA
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91699   3N1CP5CV9LL488985   Nissan       KICKS               MEMPHIS                   TN
91700   3N1CP5CV9LL489294   Nissan       KICKS               KNOXVILLE                 TN
91701   3N1CP5CV9LL490607   Nissan       KICKS               KNOXVILLE                 TN
91702   3N1CP5CV9LL491594   Nissan       KICKS               MEMPHIS                   TN
91703   3N1CP5CV9LL491689   Nissan       KICKS               MEMPHIS                   TN
91704   3N1CP5CV9LL491837   Nissan       KICKS               CHATTANOOGA               TN
91705   3N1CP5CV9LL491918   Nissan       KICKS               KNOXVILLE                 TN
91706   3N1CP5CV9LL492339   Nissan       KICKS               KENNER                    LA
91707   3N1CP5CV9LL496827   Nissan       KICKS               SARASOTA                  FL
91708   3N1CP5CV9LL496830   Nissan       KICKS               MEMPHIS                   TN
91709   3N1CP5CV9LL497525   Nissan       KICKS               SAVANNAH                  GA
91710   3N1CP5CV9LL497556   Nissan       KICKS               UNION CITY                GA
91711   3N1CP5CVXLL487943   Nissan       KICKS               ORLANDO                   FL
91712   3N1CP5CVXLL490227   Nissan       KICKS               Austell                   GA
91713   3N1CP5CVXLL490325   Nissan       KICKS               Atlanta                   GA
91714   3N1CP5CVXLL490342   Nissan       KICKS               BIRMINGHAN                AL
91715   3N1CP5CVXLL490907   Nissan       KICKS               Atlanta                   GA
91716   3N1CP5CVXLL491202   Nissan       KICKS               FOLKSTON                  GA
91717   3N1CP5CVXLL491507   Nissan       KICKS               LITTLE ROCK               AR
91718   3N1CP5CVXLL493418   Nissan       KICKS               PALM SPRINGS              CA
91719   3N1CP5CVXLL496982   Nissan       KICKS               FORT MYERS                FL
91720   3N1CP5CVXLL497114   Nissan       KICKS               FORT MYERS                FL
91721   3N1CP5CVXLL504398   Nissan       KICKS               SHREVEPORT                LA
91722   3N6CM0KN3HK700851   Nissan       VAN                 WEST PALM BEACH           FL
91723   3N6CM0KN3JK702895   Nissan       NV                  DFW AIRPORT               TX
91724   3N6CM0KN9JK700715   Nissan       NV                  Irving                    TX
91725   3PCAJ5M10KF128910   Nissan       QX50                SAN FRANCISCO             CA
91726   3PCAJ5M10KF129099   Nissan       QX50                Fresno                    CA
91727   3PCAJ5M10KF129121   Nissan       QX50                SAN FRANCISCO             CA
91728   3PCAJ5M10KF129426   Nissan       QX50                PALM SPRINGS              CA
91729   3PCAJ5M10KF129460   Nissan       QX50                SACRAMENTO                CA
91730   3PCAJ5M10KF130060   Nissan       QX50                LAS VEGAS                 NV
91731   3PCAJ5M10KF131015   Nissan       QX50                DENVER                    CO
91732   3PCAJ5M10KF131094   Nissan       QX50                SAN RAFAEL                CA
91733   3PCAJ5M10KF134285   Nissan       QX50                SAN DIEGO                 CA
91734   3PCAJ5M10KF134495   Nissan       QX50                LOS ANGELES               CA
91735   3PCAJ5M10KF134531   Nissan       QX50                ORANGE COUNTY             CA
91736   3PCAJ5M10KF134545   Nissan       QX50                LOS ANGELES               CA
91737   3PCAJ5M10KF134562   Nissan       QX50                Portland                  OR
91738   3PCAJ5M10KF134609   Nissan       QX50                SAN DIEGO                 CA
91739   3PCAJ5M10KF135601   Nissan       QX50                DENVER                    CO
91740   3PCAJ5M10KF135680   Nissan       QX50                SALT LAKE CITY            US
91741   3PCAJ5M10KF135775   Nissan       QX50                LOS ANGELES               CA
91742   3PCAJ5M10KF135856   Nissan       QX50                GLENOLDEN                 PA
91743   3PCAJ5M10KF135887   Nissan       QX50                LAKEWOOD                  WA
91744   3PCAJ5M10KF135923   Nissan       QX50                DENVER                    CO
91745   3PCAJ5M10KF135954   Nissan       QX50                Hebron                    KY
91746   3PCAJ5M11KF128348   Nissan       QX50                DES MOINES                IA
91747   3PCAJ5M11KF129239   Nissan       QX50                SEATAC                    WA
91748   3PCAJ5M11KF129306   Nissan       QX50                Beaverton                 OR
91749   3PCAJ5M11KF130083   Nissan       QX50                SANTA CLARA               CA
91750   3PCAJ5M11KF130715   Nissan       QX50                LOS ANGELES               CA
91751   3PCAJ5M11KF130889   Nissan       QX50                LOS ANGELES               CA
91752   3PCAJ5M11KF131122   Nissan       QX50                DENVER                    CO
91753   3PCAJ5M11KF131198   Nissan       QX50                SANTA BARBARA             CA
91754   3PCAJ5M11KF134568   Nissan       QX50                SAN FRANCISCO             CA
91755   3PCAJ5M11KF134618   Nissan       QX50                MIAMI                     FL
91756   3PCAJ5M11KF134750   Nissan       QX50                WEST PALM BEACH           FL
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91757   3PCAJ5M11KF135283   Nissan       QX50                PORTLAND                  OR
91758   3PCAJ5M11KF135543   Nissan       QX50                SALT LAKE CITY            US
91759   3PCAJ5M11KF135624   Nissan       QX50                LAS VEGAS                 NV
91760   3PCAJ5M11KF135784   Nissan       QX50                LOS ANGELES               CA
91761   3PCAJ5M11KF135851   Nissan       QX50                LOS ANGELES               CA
91762   3PCAJ5M12KF129184   Nissan       QX50                FORT LAUDERDALE           FL
91763   3PCAJ5M12KF129279   Nissan       QX50                SANTA ANA                 CA
91764   3PCAJ5M12KF131145   Nissan       QX50                ONTARIO                   CA
91765   3PCAJ5M12KF134465   Nissan       QX50                SALT LAKE CITY            UT
91766   3PCAJ5M12KF134532   Nissan       QX50                LOS ANGELES               CA
91767   3PCAJ5M12KF134580   Nissan       QX50                OAKLAND                   CA
91768   3PCAJ5M12KF134725   Nissan       QX50                DENVER                    CO
91769   3PCAJ5M12KF134742   Nissan       QX50                DENVER                    CO
91770   3PCAJ5M12KF135678   Nissan       QX50                SALT LAKE CITY            US
91771   3PCAJ5M12KF135700   Nissan       QX50                Beaverton                 OR
91772   3PCAJ5M12KF135728   Nissan       QX50                SALT LAKE CITY            US
91773   3PCAJ5M12KF135731   Nissan       QX50                LOS ANGELES               CA
91774   3PCAJ5M12KF135826   Nissan       QX50                FRESNO                    CA
91775   3PCAJ5M12KF135907   Nissan       QX50                SAN JOSE                  CA
91776   3PCAJ5M13KF128674   Nissan       QX50                ORANGE COUNTY             CA
91777   3PCAJ5M13KF129503   Nissan       QX50                LOS ANGELES               CA
91778   3PCAJ5M13KF130537   Nissan       QX50                FRESNO                    CA
91779   3PCAJ5M13KF130750   Nissan       QX50                DENVER                    CO
91780   3PCAJ5M13KF131140   Nissan       QX50                SAN FRANCISCO             CA
91781   3PCAJ5M13KF134460   Nissan       QX50                SANTA ANA                 CA
91782   3PCAJ5M13KF134541   Nissan       QX50                SANTA ANA                 CA
91783   3PCAJ5M13KF135639   Nissan       QX50                LOS ANGELES               CA
91784   3PCAJ5M13KF135706   Nissan       QX50                OAKLAND                   CA
91785   3PCAJ5M14KF128876   Nissan       QX50                SAN FRANCISCO             CA
91786   3PCAJ5M14KF129252   Nissan       QX50                LOS ANGELES               CA
91787   3PCAJ5M14KF134483   Nissan       QX50                ONTARIO, RIVERSIDE        CA
91788   3PCAJ5M14KF134497   Nissan       QX50                PALM SPRINGS              CA
91789   3PCAJ5M14KF134502   Nissan       QX50                SAN JOSE                  CA
91790   3PCAJ5M14KF134581   Nissan       QX50                SALT LAKE CITY            US
91791   3PCAJ5M14KF135567   Nissan       QX50                Stockton                  CA
91792   3PCAJ5M14KF135679   Nissan       QX50                DENVER                    CO
91793   3PCAJ5M14KF135701   Nissan       QX50                SAN JOSE                  CA
91794   3PCAJ5M14KF135715   Nissan       QX50                DENVER                    CO
91795   3PCAJ5M14KF135956   Nissan       QX50                SANTA ANA                 CA
91796   3PCAJ5M15KF130149   Nissan       QX50                Aurora                    CO
91797   3PCAJ5M15KF130992   Nissan       QX50                CHICAGO                   IL
91798   3PCAJ5M15KF131110   Nissan       QX50                PHOENIX                   AZ
91799   3PCAJ5M15KF131205   Nissan       QX50                LOS ANGELES               CA
91800   3PCAJ5M15KF134539   Nissan       QX50                SAN FRANCISCO             CA
91801   3PCAJ5M15KF134542   Nissan       QX50                SAN FRANCISCO             CA
91802   3PCAJ5M15KF134721   Nissan       QX50                LAS VEGAS                 NV
91803   3PCAJ5M15KF134766   Nissan       QX50                PORTLAND                  OR
91804   3PCAJ5M15KF135061   Nissan       QX50                SALT LAKE CITY            UT
91805   3PCAJ5M15KF135609   Nissan       QX50                San Antonio               TX
91806   3PCAJ5M15KF135612   Nissan       QX50                SAN JOSE                  CA
91807   3PCAJ5M15KF135660   Nissan       QX50                DETROIT                   MI
91808   3PCAJ5M15KF135786   Nissan       QX50                Lynn                      MA
91809   3PCAJ5M15KF135920   Nissan       QX50                BURBANK                   CA
91810   3PCAJ5M16KF128720   Nissan       QX50                LOS ANGELES               CA
91811   3PCAJ5M16KF128944   Nissan       QX50                Las Vegas                 NV
91812   3PCAJ5M16KF129317   Nissan       QX50                SALT LAKE CITY            US
91813   3PCAJ5M16KF130886   Nissan       QX50                Aurora                    CO
91814   3PCAJ5M16KF131097   Nissan       QX50                SANTA ANA                 CA
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91815   3PCAJ5M16KF134467   Nissan       QX50                SEATAC                    WA
91816   3PCAJ5M16KF134470   Nissan       QX50                LOS ANGELES               CA
91817   3PCAJ5M16KF134484   Nissan       QX50                SACRAMENTO                CA
91818   3PCAJ5M16KF134503   Nissan       QX50                BURBANK                   CA
91819   3PCAJ5M16KF134517   Nissan       QX50                LOS ANGELES               CA
91820   3PCAJ5M16KF134520   Nissan       QX50                LOS ANGELES               CA
91821   3PCAJ5M16KF134582   Nissan       QX50                LAS VEGAS                 NV
91822   3PCAJ5M16KF135277   Nissan       QX50                BURBANK                   CA
91823   3PCAJ5M16KF135523   Nissan       QX50                PORTLAND                  OR
91824   3PCAJ5M16KF135649   Nissan       QX50                OAKLAND                   CA
91825   3PCAJ5M16KF135666   Nissan       QX50                PORTLAND                  OR
91826   3PCAJ5M16KF135845   Nissan       QX50                DENVER                    CO
91827   3PCAJ5M16KF135960   Nissan       QX50                SAINT LOUIS               MO
91828   3PCAJ5M17KF129357   Nissan       QX50                LOS ANGELES               CA
91829   3PCAJ5M17KF130976   Nissan       QX50                Las Vegas                 NV
91830   3PCAJ5M17KF131092   Nissan       QX50                SANTA BARBARA             CA
91831   3PCAJ5M17KF131108   Nissan       QX50                DENVER                    CO
91832   3PCAJ5M17KF131139   Nissan       QX50                DENVER                    CO
91833   3PCAJ5M17KF131173   Nissan       QX50                SALT LAKE CITY            US
91834   3PCAJ5M17KF134347   Nissan       QX50                SAN FRANCISCO             CA
91835   3PCAJ5M17KF134350   Nissan       QX50                Los Angeles               CA
91836   3PCAJ5M17KF134445   Nissan       QX50                LOS ANGELES               CA
91837   3PCAJ5M17KF134509   Nissan       QX50                Lake Elsinore             CA
91838   3PCAJ5M17KF134543   Nissan       QX50                LOS ANGELES AP            CA
91839   3PCAJ5M17KF134588   Nissan       QX50                SAN FRANCISCO             CA
91840   3PCAJ5M17KF134719   Nissan       QX50                Estero                    FL
91841   3PCAJ5M17KF135627   Nissan       QX50                Portland                  OR
91842   3PCAJ5M17KF135725   Nissan       QX50                SEATAC                    WA
91843   3PCAJ5M17KF135756   Nissan       QX50                ORLANDO                   FL
91844   3PCAJ5M17KF135871   Nissan       QX50                SAN JOSE                  CA
91845   3PCAJ5M17KF135904   Nissan       QX50                EL SEGUNDO                CA
91846   3PCAJ5M18KF128203   Nissan       QX50                SACRAMENTO                CA
91847   3PCAJ5M18KF128945   Nissan       QX50                SAN JOSE                  CA
91848   3PCAJ5M18KF129304   Nissan       QX50                BURBANK                   CA
91849   3PCAJ5M18KF129528   Nissan       QX50                SAN JOSE                  CA
91850   3PCAJ5M18KF130887   Nissan       QX50                GYPSUM                    CO
91851   3PCAJ5M18KF130954   Nissan       QX50                PORTLAND                  OR
91852   3PCAJ5M18KF134521   Nissan       QX50                Sacramento                CA
91853   3PCAJ5M18KF134597   Nissan       QX50                LOS ANGELES               CA
91854   3PCAJ5M18KF134616   Nissan       QX50                FRESNO                    CA
91855   3PCAJ5M18KF135541   Nissan       QX50                Burien                    WA
91856   3PCAJ5M18KF135555   Nissan       QX50                PORTLAND                  OR
91857   3PCAJ5M18KF135569   Nissan       QX50                PORTLAND                  OR
91858   3PCAJ5M18KF135703   Nissan       QX50                SALT LAKE CITY            UT
91859   3PCAJ5M18KF135734   Nissan       QX50                SALT LAKE CITY            US
91860   3PCAJ5M18KF135782   Nissan       QX50                DENVER                    CO
91861   3PCAJ5M18KF135846   Nissan       QX50                SALT LAKE CITY            UT
91862   3PCAJ5M18KF135989   Nissan       QX50                LOS ANGELES               CA
91863   3PCAJ5M19KF129599   Nissan       QX50                PHOENIX                   AZ
91864   3PCAJ5M19KF130204   Nissan       QX50                LOS ANGELES               CA
91865   3PCAJ5M19KF130526   Nissan       QX50                DETROIT                   MI
91866   3PCAJ5M19KF131059   Nissan       QX50                SAN FRANCISCO             CA
91867   3PCAJ5M19KF131191   Nissan       QX50                EL PASO                   TX
91868   3PCAJ5M19KF131238   Nissan       QX50                SAN DIEGO                 CA
91869   3PCAJ5M19KF134480   Nissan       QX50                DENVER                    CO
91870   3PCAJ5M19KF134494   Nissan       QX50                LOS ANGELES               CA
91871   3PCAJ5M19KF134544   Nissan       QX50                PALM SPRINGS              CA
91872   3PCAJ5M19KF134558   Nissan       QX50                FRESNO                    CA
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91873   3PCAJ5M19KF134608   Nissan           QX50                SANTA ANA                 CA
91874   3PCAJ5M19KF135273   Nissan           QX50                LAS VEGAS                 NV
91875   3PCAJ5M19KF135533   Nissan           QX50                SALT LAKE CITY            US
91876   3PCAJ5M19KF135547   Nissan           QX50
91877   3PCAJ5M19KF135645   Nissan           QX50                LOS ANGELES               CA
91878   3PCAJ5M19KF135774   Nissan           QX50                DENVER                    CO
91879   3PCAJ5M1XKF128672   Nissan           QX50                SAN DIEGO                 CA
91880   3PCAJ5M1XKF129157   Nissan           QX50                SAN DIEGO                 CA
91881   3PCAJ5M1XKF129370   Nissan           QX50                LOS ANGELES               CA
91882   3PCAJ5M1XKF129451   Nissan           QX50                PALM SPRINGS              CA
91883   3PCAJ5M1XKF130261   Nissan           QX50                CHICAGO                   IL
91884   3PCAJ5M1XKF130616   Nissan           QX50                BURBANK                   CA
91885   3PCAJ5M1XKF130924   Nissan           QX50                OAKLAND                   CA
91886   3PCAJ5M1XKF131121   Nissan           QX50                SAN DIEGO                 CA
91887   3PCAJ5M1XKF134505   Nissan           QX50                SAN JOSE                  CA
91888   3PCAJ5M1XKF134522   Nissan           QX50                Los Angeles               CA
91889   3PCAJ5M1XKF134620   Nissan           QX50                SAN FRANCISCO             CA
91890   3PCAJ5M1XKF134732   Nissan           QX50                SEA TAC                   WA
91891   3PCAJ5M1XKF134794   Nissan           QX50                SEATAC                    WA
91892   3PCAJ5M1XKF135282   Nissan           QX50                CLEVELAND                 OH
91893   3PCAJ5M1XKF135640   Nissan           QX50                Portland                  OR
91894   3PCAJ5M1XKF135802   Nissan           QX50                FORT MYERS                FL
91895   3PCAJ5M1XKF135847   Nissan           QX50                SALT LAKE CITY            UT
91896   3PCAJ5M1XKF135945   Nissan           QX50                LOS ANGELES               CA
91897   3PCAJ5M1XKF136030   Nissan           QX50                Salt Lake City            UT
91898   3TMAZ5CN0KM088353   Toyota           TACOMA              Riverside                 CA
91899   3TMAZ5CN2KM079928   Toyota           TACOMA              Winston‐Salem             NC
91900   3TMAZ5CN2KM109056   Toyota           TACOMA              SALT LAKE CITY            UT
91901   3TMAZ5CN4KM108894   Toyota           TACOMA              MILWAUKEE                 WI
91902   3TMAZ5CN5KM097873   Toyota           TACOMA              PORTLAND                  OR
91903   3TMAZ5CN7KM080699   Toyota           TACOMA              Carleton                  MI
91904   3TMAZ5CN7KM090651   Toyota           TACOMA              LAS VEGAS                 NV
91905   3TMAZ5CN7KM100188   Toyota           TACOMA              NEW BERN                  NC
91906   3TMAZ5CN8KM097995   Toyota           TACOMA              Beaverton                 OR
91907   3TMAZ5CN8KM109367   Toyota           TACOMA              LAS VEGAS                 NV
91908   3TMAZ5CN9KM099089   Toyota           TACOMA              SACRAMENTO                CA
91909   3TMCZ5AN0KM272526   Toyota           TACOMA              SACRAMENTO                CA
91910   3TMCZ5AN1KM210911   Toyota           TACOMA              CHICAGO                   IL
91911   3TMCZ5AN1KM249871   Toyota           TACOMA              WEST COLUMBIA             SC
91912   3TMCZ5AN1KM273538   Toyota           TACOMA              SACRAMENTO                CA
91913   3TMCZ5AN2KM273242   Toyota           TACOMA              FRESNO                    CA
91914   3TMCZ5AN3KM212479   Toyota           TACOMA              Portland                  OR
91915   3TMCZ5AN3KM232568   Toyota           TACOMA              Portland                  OR
91916   3TMCZ5AN3KM273251   Toyota           TACOMA              PLEASANTON                CA
91917   3TMCZ5AN3KM273508   Toyota           TACOMA              SAN JOSE                  CA
91918   3TMCZ5AN5KM221104   Toyota           TACOMA              MIAMI                     FL
91919   3TMCZ5AN5KM273591   Toyota           TACOMA              SACRAMENTO                CA
91920   3TMCZ5AN6KM191773   Toyota           TACOMA              Charlotte                 NC
91921   3TMCZ5AN7KM273592   Toyota           TACOMA              SACRAMENTO                CA
91922   3TMCZ5AN8KM246062   Toyota           TACOMA              LAS VEGAS                 NV
91923   3TMCZ5AN8KM248846   Toyota           TACOMA              Sterling                  VA
91924   3TMCZ5AN9KM233014   Toyota           TACOMA              Beaverton                 OR
91925   3TMCZ5ANXKM273215   Toyota           TACOMA              SACRAMENTO                CA
91926   3TMCZ5ANXKM273232   Toyota           TACOMA              SACRAMENTO                CA
91927   3VV2B7AX0KM063253   Volkswagen       TIGUAN              Chicago                   IL
91928   3VV2B7AX0KM064063   Volkswagen       TIGUAN              Orlando                   FL
91929   3VV2B7AX0KM079310   Volkswagen       TIGUAN              MIAMI                     FL
91930   3VV2B7AX0KM084023   Volkswagen       TIGUAN              Massapequa                NY
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91931   3VV2B7AX0KM084524   Volkswagen       TIGUAN              Winston‐Salem             NC
91932   3VV2B7AX0KM085222   Volkswagen       TIGUAN              KENNER                    LA
91933   3VV2B7AX0KM093126   Volkswagen       TIGUAN              albuquerque               nm
91934   3VV2B7AX0KM093272   Volkswagen       TIGUAN              KENNER                    LA
91935   3VV2B7AX0KM093952   Volkswagen       TIGUAN              HOUSTON                   TX
91936   3VV2B7AX0KM095670   Volkswagen       TIGUAN              Irving                    TX
91937   3VV2B7AX0KM096043   Volkswagen       TIGUAN              LOS ANGELES               CA
91938   3VV2B7AX0KM096107   Volkswagen       TIGUAN              Woodhaven                 MI
91939   3VV2B7AX0KM097029   Volkswagen       TIGUAN              HOUSTON                   TX
91940   3VV2B7AX0KM097967   Volkswagen       TIGUAN              STERLING                  VA
91941   3VV2B7AX0KM099119   Volkswagen       TIGUAN              DALLAS                    TX
91942   3VV2B7AX0KM106134   Volkswagen       TIGUAN              SAN DIEGO                 CA
91943   3VV2B7AX0KM106151   Volkswagen       TIGUAN              SAN DIEGO                 CA
91944   3VV2B7AX0KM115898   Volkswagen       TIGUAN              Los Angeles               CA
91945   3VV2B7AX0KM123628   Volkswagen       TIGUAN              Roseville                 CA
91946   3VV2B7AX0KM127226   Volkswagen       TIGUAN              LAS VEGAS                 NV
91947   3VV2B7AX1KM063827   Volkswagen       TIGUAN              TAMPA                     FL
91948   3VV2B7AX1KM063908   Volkswagen       TIGUAN              ORLANDO                   FL
91949   3VV2B7AX1KM065528   Volkswagen       TIGUAN              Hendersonville            TN
91950   3VV2B7AX1KM097363   Volkswagen       TIGUAN              Houston                   TX
91951   3VV2B7AX1KM097749   Volkswagen       TIGUAN              HOUSTON                   TX
91952   3VV2B7AX1KM098397   Volkswagen       TIGUAN              KENNER                    LA
91953   3VV2B7AX1KM098657   Volkswagen       TIGUAN              TULSA                     OK
91954   3VV2B7AX1KM098755   Volkswagen       TIGUAN              HOUSTON                   TX
91955   3VV2B7AX1KM099128   Volkswagen       TIGUAN              CHARLOTTE                 US
91956   3VV2B7AX1KM100990   Volkswagen       TIGUAN              DALLAS                    TX
91957   3VV2B7AX1KM106806   Volkswagen       TIGUAN              SALT LAKE CITY            UT
91958   3VV2B7AX1KM106921   Volkswagen       TIGUAN              SAN ANTONIO               TX
91959   3VV2B7AX1KM127350   Volkswagen       TIGUAN              LOS ANGELES               CA
91960   3VV2B7AX1KM127462   Volkswagen       TIGUAN              SALT LAKE CITY            UT
91961   3VV2B7AX2KM066459   Volkswagen       TIGUAN              Winston‐Salem             NC
91962   3VV2B7AX2KM081785   Volkswagen       TIGUAN              Richmond                  VA
91963   3VV2B7AX2KM082726   Volkswagen       TIGUAN              Winston‐Salem             NC
91964   3VV2B7AX2KM084122   Volkswagen       TIGUAN              Baltimore                 MD
91965   3VV2B7AX2KM093046   Volkswagen       TIGUAN              KENNER                    LA
91966   3VV2B7AX2KM093984   Volkswagen       TIGUAN              Dallas                    TX
91967   3VV2B7AX2KM094777   Volkswagen       TIGUAN              Euless                    TX
91968   3VV2B7AX2KM095962   Volkswagen       TIGUAN              Stone Mountain            GA
91969   3VV2B7AX2KM095976   Volkswagen       TIGUAN              Houston                   TX
91970   3VV2B7AX2KM096724   Volkswagen       TIGUAN              AUSTIN                    TX
91971   3VV2B7AX2KM096920   Volkswagen       TIGUAN              FORT LAUDERDALE           FL
91972   3VV2B7AX2KM098084   Volkswagen       TIGUAN              CHARLOTTE                 NC
91973   3VV2B7AX2KM099171   Volkswagen       TIGUAN              Stone Mountain            GA
91974   3VV2B7AX2KM099686   Volkswagen       TIGUAN              ORLANDO                   FL
91975   3VV2B7AX2KM155450   Volkswagen       TIGUAN              MONTEREY                  CA
91976   3VV2B7AX3KM063926   Volkswagen       TIGUAN              LOS ANGELES               CA
91977   3VV2B7AX3KM066387   Volkswagen       TIGUAN              COLLEGE PARK              GA
91978   3VV2B7AX3KM082363   Volkswagen       TIGUAN              MIAMI                     FL
91979   3VV2B7AX3KM092357   Volkswagen       TIGUAN              AUSTIN                    TX
91980   3VV2B7AX3KM096179   Volkswagen       TIGUAN              AUSTIN                    TX
91981   3VV2B7AX3KM096327   Volkswagen       TIGUAN              BURBANK                   CA
91982   3VV2B7AX3KM097901   Volkswagen       TIGUAN              JACKSON                   MS
91983   3VV2B7AX3KM100604   Volkswagen       TIGUAN              Lake Elsinore             CA
91984   3VV2B7AX3KM100859   Volkswagen       TIGUAN              DFW AIRPORT               TX
91985   3VV2B7AX3KM104166   Volkswagen       TIGUAN              Austin                    TX
91986   3VV2B7AX3KM104281   Volkswagen       TIGUAN              HOUSTON                   TX
91987   3VV2B7AX3KM106175   Volkswagen       TIGUAN              LOS ANGELES               CA
91988   3VV2B7AX3KM106774   Volkswagen       TIGUAN              LAS VEGAS                 NV
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91989   3VV2B7AX3KM116799   Volkswagen       TIGUAN              Live Oak                  TX
91990   3VV2B7AX3KM127544   Volkswagen       TIGUAN              Scottsdale                AZ
91991   3VV2B7AX3KM127608   Volkswagen       TIGUAN              LOS ANGELES               CA
91992   3VV2B7AX4KM064549   Volkswagen       TIGUAN              Johnston                  RI
91993   3VV2B7AX4KM064583   Volkswagen       TIGUAN              HOUSTON                   TX
91994   3VV2B7AX4KM066141   Volkswagen       TIGUAN              HANOVER                   MD
91995   3VV2B7AX4KM066267   Volkswagen       TIGUAN              Manheim                   PA
91996   3VV2B7AX4KM066365   Volkswagen       TIGUAN              BALTIMORE                 MD
91997   3VV2B7AX4KM079214   Volkswagen       TIGUAN              Rockville Centr           NY
91998   3VV2B7AX4KM082713   Volkswagen       TIGUAN              Jacksonville              FL
91999   3VV2B7AX4KM085174   Volkswagen       TIGUAN              Newark                    NJ
92000   3VV2B7AX4KM093677   Volkswagen       TIGUAN              HOUSTON                   TX
92001   3VV2B7AX4KM094439   Volkswagen       TIGUAN              SANTA ANA                 CA
92002   3VV2B7AX4KM095560   Volkswagen       TIGUAN              Harvey                    LA
92003   3VV2B7AX4KM096143   Volkswagen       TIGUAN              FORT LAUDERDALE           FL
92004   3VV2B7AX4KM096305   Volkswagen       TIGUAN              SAN ANTONIO               TX
92005   3VV2B7AX4KM099883   Volkswagen       TIGUAN              DALLAS                    TX
92006   3VV2B7AX4KM100952   Volkswagen       TIGUAN              JACKSON                   MS
92007   3VV2B7AX4KM102586   Volkswagen       TIGUAN              HOUSTON                   TX
92008   3VV2B7AX4KM102622   Volkswagen       TIGUAN              SAN ANTONIO               TX
92009   3VV2B7AX4KM104080   Volkswagen       TIGUAN              HOUSTON                   TX
92010   3VV2B7AX4KM115189   Volkswagen       TIGUAN              Fontana                   CA
92011   3VV2B7AX4KM127584   Volkswagen       TIGUAN              LAS VEGAS                 NV
92012   3VV2B7AX5KM066326   Volkswagen       TIGUAN              Aberdeen                  MD
92013   3VV2B7AX5KM066424   Volkswagen       TIGUAN              Davie                     FL
92014   3VV2B7AX5KM079559   Volkswagen       TIGUAN              DALLAS                    TX
92015   3VV2B7AX5KM081358   Volkswagen       TIGUAN              Richmond                  VA
92016   3VV2B7AX5KM084017   Volkswagen       TIGUAN              TAMPA                     FL
92017   3VV2B7AX5KM095180   Volkswagen       TIGUAN              HOUSTON                   TX
92018   3VV2B7AX5KM096457   Volkswagen       TIGUAN              AUGUSTA                   GA
92019   3VV2B7AX5KM097852   Volkswagen       TIGUAN              DALLAS                    TX
92020   3VV2B7AX5KM098550   Volkswagen       TIGUAN              MARIETTA                  GA
92021   3VV2B7AX5KM099293   Volkswagen       TIGUAN              Roseville                 CA
92022   3VV2B7AX5KM101754   Volkswagen       TIGUAN              CORPUS CHRISTI            TX
92023   3VV2B7AX5KM104752   Volkswagen       TIGUAN              Winter Park               FL
92024   3VV2B7AX5KM106923   Volkswagen       TIGUAN              Euless                    TX
92025   3VV2B7AX5KM106999   Volkswagen       TIGUAN              SAN RAFAEL                CA
92026   3VV2B7AX5KM123382   Volkswagen       TIGUAN              ONTARIO                   CA
92027   3VV2B7AX5KM123513   Volkswagen       TIGUAN              San Diego                 CA
92028   3VV2B7AX5KM127271   Volkswagen       TIGUAN              LAS VEGAS                 NV
92029   3VV2B7AX5KM127531   Volkswagen       TIGUAN              SARASOTA                  FL
92030   3VV2B7AX5KM127562   Volkswagen       TIGUAN              Riverside                 CA
92031   3VV2B7AX5KM127772   Volkswagen       TIGUAN              MONTEREY                  CA
92032   3VV2B7AX5KM155409   Volkswagen       TIGUAN              INGLEWOOD                 CA
92033   3VV2B7AX6KM063760   Volkswagen       TIGUAN              MIAMI                     FL
92034   3VV2B7AX6KM079375   Volkswagen       TIGUAN              Baltimore                 MD
92035   3VV2B7AX6KM083877   Volkswagen       TIGUAN              MEDINA                    OH
92036   3VV2B7AX6KM095205   Volkswagen       TIGUAN              SAN ANTONIO               TX
92037   3VV2B7AX6KM095656   Volkswagen       TIGUAN              CLEVELAND                 OH
92038   3VV2B7AX6KM097942   Volkswagen       TIGUAN              DALLAS                    TX
92039   3VV2B7AX6KM097987   Volkswagen       TIGUAN              Houston                   TX
92040   3VV2B7AX6KM100743   Volkswagen       TIGUAN              Dallas                    TX
92041   3VV2B7AX6KM102654   Volkswagen       TIGUAN              Lake Elsinore             CA
92042   3VV2B7AX6KM102850   Volkswagen       TIGUAN              Austin                    TX
92043   3VV2B7AX6KM104209   Volkswagen       TIGUAN              BLOOMINGTON               IL
92044   3VV2B7AX6KM104856   Volkswagen       TIGUAN              FAIRFIELD                 CA
92045   3VV2B7AX6KM106073   Volkswagen       TIGUAN              Fontana                   CA
92046   3VV2B7AX6KM114772   Volkswagen       TIGUAN              SALT LAKE CITY            UT
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92047   3VV2B7AX7KM065064   Volkswagen       TIGUAN              Philadelphia              PA
92048   3VV2B7AX7KM095231   Volkswagen       TIGUAN              HOUSTON                   TX
92049   3VV2B7AX7KM095391   Volkswagen       TIGUAN              Dallas                    TX
92050   3VV2B7AX7KM096007   Volkswagen       TIGUAN              SAN DIEGO                 CA
92051   3VV2B7AX7KM096444   Volkswagen       TIGUAN              SAN ANTONIO               TX
92052   3VV2B7AX7KM096573   Volkswagen       TIGUAN              TAMPA                     FL
92053   3VV2B7AX7KM098081   Volkswagen       TIGUAN              DALLAS                    TX
92054   3VV2B7AX7KM098307   Volkswagen       TIGUAN              KANSAS CITY               MO
92055   3VV2B7AX7KM098503   Volkswagen       TIGUAN              PHOENIX                   AZ
92056   3VV2B7AX7KM099179   Volkswagen       TIGUAN              SACRAMENTO                CA
92057   3VV2B7AX7KM100668   Volkswagen       TIGUAN              Harvey                    LA
92058   3VV2B7AX7KM116496   Volkswagen       TIGUAN              PHOENIX                   AZ
92059   3VV2B7AX7KM117213   Volkswagen       TIGUAN              LOS ANGELES               CA
92060   3VV2B7AX7KM117518   Volkswagen       TIGUAN              SAN DIEGO                 CA
92061   3VV2B7AX7KM127577   Volkswagen       TIGUAN              SALT LAKE CITY            UT
92062   3VV2B7AX8KM082648   Volkswagen       TIGUAN              MEDINA                    OH
92063   3VV2B7AX8KM096050   Volkswagen       TIGUAN              Tolleson                  AZ
92064   3VV2B7AX8KM097358   Volkswagen       TIGUAN              ORLANDO                   FL
92065   3VV2B7AX8KM099305   Volkswagen       TIGUAN              HOUSTON                   TX
92066   3VV2B7AX8KM102574   Volkswagen       TIGUAN              OKLAHOMA CITY             OK
92067   3VV2B7AX8KM104938   Volkswagen       TIGUAN              Newport Beach             CA
92068   3VV2B7AX8KM106933   Volkswagen       TIGUAN              SANTA ANA                 CA
92069   3VV2B7AX8KM119164   Volkswagen       TIGUAN              Las Vegas                 NV
92070   3VV2B7AX8KM119486   Volkswagen       TIGUAN              PALM SPRINGS              CA
92071   3VV2B7AX8KM127233   Volkswagen       TIGUAN              Roseville                 CA
92072   3VV2B7AX9KM063526   Volkswagen       TIGUAN              Bensalem                  PA
92073   3VV2B7AX9KM064143   Volkswagen       TIGUAN              Warminster                PA
92074   3VV2B7AX9KM064417   Volkswagen       TIGUAN              TREVOSE                   PA
92075   3VV2B7AX9KM065552   Volkswagen       TIGUAN              BUTLER                    PA
92076   3VV2B7AX9KM086577   Volkswagen       TIGUAN              DALLAS                    TX
92077   3VV2B7AX9KM093156   Volkswagen       TIGUAN              Euless                    TX
92078   3VV2B7AX9KM096302   Volkswagen       TIGUAN              LAS VEGAS                 NV
92079   3VV2B7AX9KM098065   Volkswagen       TIGUAN              Davie                     FL
92080   3VV2B7AX9KM098700   Volkswagen       TIGUAN              HOUSTON                   TX
92081   3VV2B7AX9KM099023   Volkswagen       TIGUAN              LUBBOCK                   TX
92082   3VV2B7AX9KM099085   Volkswagen       TIGUAN              Dallas                    TX
92083   3VV2B7AX9KM099863   Volkswagen       TIGUAN              BURBANK                   CA
92084   3VV2B7AX9KM105340   Volkswagen       TIGUAN              Hendersonville            TN
92085   3VV2B7AX9KM106049   Volkswagen       TIGUAN              SAN DIEGO                 CA
92086   3VV2B7AX9KM106780   Volkswagen       TIGUAN              ORANGE COUNTY             CA
92087   3VV2B7AX9KM106956   Volkswagen       TIGUAN              Euless                    TX
92088   3VV2B7AX9KM106973   Volkswagen       TIGUAN              AUSTIN                    TX
92089   3VV2B7AX9KM127242   Volkswagen       TIGUAN              LOS ANGELES               CA
92090   3VV2B7AXXKM064278   Volkswagen       TIGUAN              Newark                    NJ
92091   3VV2B7AXXKM064457   Volkswagen       TIGUAN              Warminster                PA
92092   3VV2B7AXXKM066466   Volkswagen       TIGUAN              Massapequa                NY
92093   3VV2B7AXXKM079640   Volkswagen       TIGUAN              Richmond                  VA
92094   3VV2B7AXXKM079718   Volkswagen       TIGUAN              BURLINGTON                VT
92095   3VV2B7AXXKM081162   Volkswagen       TIGUAN              Baltimore                 MD
92096   3VV2B7AXXKM095837   Volkswagen       TIGUAN              EL PASO                   TX
92097   3VV2B7AXXKM095966   Volkswagen       TIGUAN              DALLAS                    TX
92098   3VV2B7AXXKM096034   Volkswagen       TIGUAN              BULLHEAD CITY             AZ
92099   3VV2B7AXXKM096065   Volkswagen       TIGUAN              COLUMBIA                  SC
92100   3VV2B7AXXKM096485   Volkswagen       TIGUAN              Dallas                    TX
92101   3VV2B7AXXKM098463   Volkswagen       TIGUAN              HOUSTON                   TX
92102   3VV2B7AXXKM098513   Volkswagen       TIGUAN              FORT MYERS                FL
92103   3VV2B7AXXKM102821   Volkswagen       TIGUAN              PITTSBURGH                PA
92104   3VV2B7AXXKM102902   Volkswagen       TIGUAN              HOUSTON                   TX
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92105   3VV2B7AXXKM127489   Volkswagen       TIGUAN              Reno                      NV
92106   3VV3B7AX0KM066450   Volkswagen       TIGUAN              Detroit                   MI
92107   3VV3B7AX0KM131989   Volkswagen       TIGUAN              CHICAGO                   IL
92108   3VV3B7AX0KM132060   Volkswagen       TIGUAN              DALLAS                    TX
92109   3VV3B7AX0KM132088   Volkswagen       TIGUAN              ONTARIO                   CA
92110   3VV3B7AX0KM132172   Volkswagen       TIGUAN              FAYETTEVILLE              US
92111   3VV3B7AX0KM143687   Volkswagen       TIGUAN              OAKLAND                   CA
92112   3VV3B7AX0KM143835   Volkswagen       TIGUAN              KANSAS CITY               MO
92113   3VV3B7AX0KM143933   Volkswagen       TIGUAN              Harvey                    LA
92114   3VV3B7AX0KM144032   Volkswagen       TIGUAN              Orlando                   FL
92115   3VV3B7AX0KM144497   Volkswagen       TIGUAN              Houston                   TX
92116   3VV3B7AX0KM144516   Volkswagen       TIGUAN              Charlotte                 NC
92117   3VV3B7AX0KM144919   Volkswagen       TIGUAN              Davie                     FL
92118   3VV3B7AX0KM144953   Volkswagen       TIGUAN              HOUSTON                   TX
92119   3VV3B7AX0KM145147   Volkswagen       TIGUAN              Stone Mountain            GA
92120   3VV3B7AX0KM145410   Volkswagen       TIGUAN              Stone Mountain            GA
92121   3VV3B7AX0KM145682   Volkswagen       TIGUAN              DALLAS                    TX
92122   3VV3B7AX0KM145696   Volkswagen       TIGUAN              Kent                      WA
92123   3VV3B7AX0KM145813   Volkswagen       TIGUAN              San Antonio               TX
92124   3VV3B7AX0KM145858   Volkswagen       TIGUAN              HOUSTON                   TX
92125   3VV3B7AX0KM146170   Volkswagen       TIGUAN              SAN ANTONIO               TX
92126   3VV3B7AX0KM146184   Volkswagen       TIGUAN              MARIETTA                  GA
92127   3VV3B7AX0KM146217   Volkswagen       TIGUAN              Dallas                    TX
92128   3VV3B7AX0KM146427   Volkswagen       TIGUAN              HOUSTON                   TX
92129   3VV3B7AX0KM146511   Volkswagen       TIGUAN              SAINT PAUL                MN
92130   3VV3B7AX0KM148601   Volkswagen       TIGUAN              FORT LAUDERDALE           FL
92131   3VV3B7AX0KM148677   Volkswagen       TIGUAN              DALLAS                    TX
92132   3VV3B7AX0KM148789   Volkswagen       TIGUAN              WEST PALM BEACH           FL
92133   3VV3B7AX0KM148792   Volkswagen       TIGUAN              BURBANK                   CA
92134   3VV3B7AX0KM148839   Volkswagen       TIGUAN              HOUSTON                   TX
92135   3VV3B7AX0KM151661   Volkswagen       TIGUAN              Phoenix                   AZ
92136   3VV3B7AX0KM152437   Volkswagen       TIGUAN              HOUSTON                   TX
92137   3VV3B7AX0KM155323   Volkswagen       TIGUAN              DALLAS                    TX
92138   3VV3B7AX0KM155435   Volkswagen       TIGUAN              Newark                    NJ
92139   3VV3B7AX0KM155533   Volkswagen       TIGUAN              SAN FRANCISCO             CA
92140   3VV3B7AX0KM155614   Volkswagen       TIGUAN              AUSTIN                    TX
92141   3VV3B7AX0KM155659   Volkswagen       TIGUAN              DALLAS                    TX
92142   3VV3B7AX0KM155788   Volkswagen       TIGUAN              DALLAS                    TX
92143   3VV3B7AX0KM155807   Volkswagen       TIGUAN              Phoenix                   AZ
92144   3VV3B7AX0KM155953   Volkswagen       TIGUAN              SAINT PAUL                MN
92145   3VV3B7AX0KM155970   Volkswagen       TIGUAN              HOUSTON                   TX
92146   3VV3B7AX0KM156911   Volkswagen       TIGUAN              Houston                   TX
92147   3VV3B7AX0KM157041   Volkswagen       TIGUAN              HOUSTON                   TX
92148   3VV3B7AX0KM157332   Volkswagen       TIGUAN              Austin                    TX
92149   3VV3B7AX0KM158075   Volkswagen       TIGUAN              PHOENIX                   AZ
92150   3VV3B7AX1KM065551   Volkswagen       TIGUAN              Londonderry               NH
92151   3VV3B7AX1KM143746   Volkswagen       TIGUAN              MARIETTA                  GA
92152   3VV3B7AX1KM143973   Volkswagen       TIGUAN              El Paso                   TX
92153   3VV3B7AX1KM144038   Volkswagen       TIGUAN              HOUSTON                   TX
92154   3VV3B7AX1KM144220   Volkswagen       TIGUAN              HOUSTON                   TX
92155   3VV3B7AX1KM144878   Volkswagen       TIGUAN              HOUSTON                   TX
92156   3VV3B7AX1KM145366   Volkswagen       TIGUAN              SACRAMENTO                CA
92157   3VV3B7AX1KM145478   Volkswagen       TIGUAN              KENNER                    LA
92158   3VV3B7AX1KM145500   Volkswagen       TIGUAN              KENNER                    LA
92159   3VV3B7AX1KM145660   Volkswagen       TIGUAN              LOS ANGELES               CA
92160   3VV3B7AX1KM146422   Volkswagen       TIGUAN              Maple Grove               MN
92161   3VV3B7AX1KM146503   Volkswagen       TIGUAN              AUSTIN                    TX
92162   3VV3B7AX1KM146517   Volkswagen       TIGUAN              DALLAS                    TX
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92163   3VV3B7AX1KM146565   Volkswagen       TIGUAN              AUSTIN                    TX
92164   3VV3B7AX1KM148770   Volkswagen       TIGUAN              Kansas City               MO
92165   3VV3B7AX1KM148865   Volkswagen       TIGUAN              PHOENIX                   AZ
92166   3VV3B7AX1KM148879   Volkswagen       TIGUAN              Dallas                    TX
92167   3VV3B7AX1KM151829   Volkswagen       TIGUAN              PHOENIX                   AZ
92168   3VV3B7AX1KM151958   Volkswagen       TIGUAN              LUBBOCK                   TX
92169   3VV3B7AX1KM155282   Volkswagen       TIGUAN              HOUSTON                   TX
92170   3VV3B7AX1KM155332   Volkswagen       TIGUAN              CHICAGO                   IL
92171   3VV3B7AX1KM155461   Volkswagen       TIGUAN              PALM SPRINGS              CA
92172   3VV3B7AX1KM155668   Volkswagen       TIGUAN              DALLAS                    TX
92173   3VV3B7AX1KM155881   Volkswagen       TIGUAN              LAS VEGAS                 NV
92174   3VV3B7AX1KM155931   Volkswagen       TIGUAN              Houston                   TX
92175   3VV3B7AX1KM155959   Volkswagen       TIGUAN              LUBBOCK                   TX
92176   3VV3B7AX1KM156089   Volkswagen       TIGUAN              HOUSTON                   TX
92177   3VV3B7AX1KM156934   Volkswagen       TIGUAN              DALLAS                    TX
92178   3VV3B7AX1KM156982   Volkswagen       TIGUAN              KANSAS CITY               MO
92179   3VV3B7AX1KM157002   Volkswagen       TIGUAN              LAS VEGAS                 NV
92180   3VV3B7AX1KM157470   Volkswagen       TIGUAN              AUSTIN                    TX
92181   3VV3B7AX1KM157503   Volkswagen       TIGUAN              PHOENIX                   AZ
92182   3VV3B7AX1KM157596   Volkswagen       TIGUAN              ALBUQUERQUE               NM
92183   3VV3B7AX2KM063727   Volkswagen       TIGUAN              FORT LAUDERDALE           FL
92184   3VV3B7AX2KM065638   Volkswagen       TIGUAN              ORLANDO                   FL
92185   3VV3B7AX2KM067373   Volkswagen       TIGUAN              Hartford                  CT
92186   3VV3B7AX2KM131878   Volkswagen       TIGUAN              SAN ANTONIO               TX
92187   3VV3B7AX2KM131881   Volkswagen       TIGUAN              MCALLEN                   TX
92188   3VV3B7AX2KM132013   Volkswagen       TIGUAN              Indianapolis              IN
92189   3VV3B7AX2KM143867   Volkswagen       TIGUAN              NEW BERN                  NC
92190   3VV3B7AX2KM144047   Volkswagen       TIGUAN              DALLAS                    TX
92191   3VV3B7AX2KM144341   Volkswagen       TIGUAN              Dallas                    TX
92192   3VV3B7AX2KM144419   Volkswagen       TIGUAN              FORT MYERS                FL
92193   3VV3B7AX2KM144534   Volkswagen       TIGUAN              WICHITA FALLS             TX
92194   3VV3B7AX2KM145201   Volkswagen       TIGUAN              HOUSTON                   TX
92195   3VV3B7AX2KM145215   Volkswagen       TIGUAN              DALLAS                    TX
92196   3VV3B7AX2KM145229   Volkswagen       TIGUAN              AUSTIN                    TX
92197   3VV3B7AX2KM145456   Volkswagen       TIGUAN              CORPUS CHRISTI            TX
92198   3VV3B7AX2KM145716   Volkswagen       TIGUAN              LOS ANGELES               CA
92199   3VV3B7AX2KM145747   Volkswagen       TIGUAN              AUSTIN                    TX
92200   3VV3B7AX2KM145831   Volkswagen       TIGUAN              HOUSTON                   TX
92201   3VV3B7AX2KM145909   Volkswagen       TIGUAN              Greensboro                NC
92202   3VV3B7AX2KM145974   Volkswagen       TIGUAN              Fontana                   CA
92203   3VV3B7AX2KM146106   Volkswagen       TIGUAN              Leesburg                  VA
92204   3VV3B7AX2KM146199   Volkswagen       TIGUAN              HOUSTON                   TX
92205   3VV3B7AX2KM146249   Volkswagen       TIGUAN              AUSTIN                    TX
92206   3VV3B7AX2KM146560   Volkswagen       TIGUAN              HOUSTON                   TX
92207   3VV3B7AX2KM148647   Volkswagen       TIGUAN              Detroit                   MI
92208   3VV3B7AX2KM148762   Volkswagen       TIGUAN              HOUSTON                   TX
92209   3VV3B7AX2KM148857   Volkswagen       TIGUAN              SHREVEPORT                LA
92210   3VV3B7AX2KM148874   Volkswagen       TIGUAN              San Antonio               TX
92211   3VV3B7AX2KM155291   Volkswagen       TIGUAN              Houston                   TX
92212   3VV3B7AX2KM155341   Volkswagen       TIGUAN              San Antonio               TX
92213   3VV3B7AX2KM155405   Volkswagen       TIGUAN              HOUSTON                   TX
92214   3VV3B7AX2KM155467   Volkswagen       TIGUAN              AUSTIN                    TX
92215   3VV3B7AX2KM155579   Volkswagen       TIGUAN              ALBUQERQUE                NM
92216   3VV3B7AX2KM155601   Volkswagen       TIGUAN              Davie                     FL
92217   3VV3B7AX2KM155680   Volkswagen       TIGUAN              SAINT LOUIS               MO
92218   3VV3B7AX2KM155792   Volkswagen       TIGUAN              Warr Acres                OK
92219   3VV3B7AX2KM155873   Volkswagen       TIGUAN              WICHITA FALLS             TX
92220   3VV3B7AX2KM155968   Volkswagen       TIGUAN              AUSTIN                    TX
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92221   3VV3B7AX2KM156067   Volkswagen       TIGUAN              DALLAS                    TX
92222   3VV3B7AX2KM156070   Volkswagen       TIGUAN              SEATAC                    WA
92223   3VV3B7AX2KM156120   Volkswagen       TIGUAN              HOUSTON                   TX
92224   3VV3B7AX2KM156148   Volkswagen       TIGUAN              Oklahoma City             OK
92225   3VV3B7AX2KM156280   Volkswagen       TIGUAN              El Paso                   TX
92226   3VV3B7AX2KM157090   Volkswagen       TIGUAN              Austin                    TX
92227   3VV3B7AX2KM157347   Volkswagen       TIGUAN              DALLAS                    TX
92228   3VV3B7AX2KM157526   Volkswagen       TIGUAN              Houston                   TX
92229   3VV3B7AX2KM157557   Volkswagen       TIGUAN              DALLAS                    TX
92230   3VV3B7AX2KM157588   Volkswagen       TIGUAN              Irving                    TX
92231   3VV3B7AX2KM158191   Volkswagen       TIGUAN              Salt Lake City            UT
92232   3VV3B7AX3KM065650   Volkswagen       TIGUAN              FORT MYERS                FL
92233   3VV3B7AX3KM066300   Volkswagen       TIGUAN              Webster                   NY
92234   3VV3B7AX3KM066376   Volkswagen       TIGUAN              Smithtown                 NY
92235   3VV3B7AX3KM131730   Volkswagen       TIGUAN              HOUSTON                   TX
92236   3VV3B7AX3KM131842   Volkswagen       TIGUAN              HOUSTON                   TX
92237   3VV3B7AX3KM131890   Volkswagen       TIGUAN              DALLAS                    TX
92238   3VV3B7AX3KM132067   Volkswagen       TIGUAN              ALBUQUERQUE               NM
92239   3VV3B7AX3KM132165   Volkswagen       TIGUAN              MIDLAND                   TX
92240   3VV3B7AX3KM143750   Volkswagen       TIGUAN              TUCSON                    AZ
92241   3VV3B7AX3KM143831   Volkswagen       TIGUAN              ALBUQUERQUE               NM
92242   3VV3B7AX3KM143909   Volkswagen       TIGUAN              San Antonio               TX
92243   3VV3B7AX3KM144252   Volkswagen       TIGUAN              DENVER                    CO
92244   3VV3B7AX3KM144364   Volkswagen       TIGUAN              AUSTIN                    TX
92245   3VV3B7AX3KM144428   Volkswagen       TIGUAN              DALLAS                    TX
92246   3VV3B7AX3KM144932   Volkswagen       TIGUAN              DES PLAINES               US
92247   3VV3B7AX3KM145191   Volkswagen       TIGUAN              PHOENIX                   AZ
92248   3VV3B7AX3KM146163   Volkswagen       TIGUAN              Florissant                MO
92249   3VV3B7AX3KM146177   Volkswagen       TIGUAN              CORPUS CHRISTI            TX
92250   3VV3B7AX3KM146406   Volkswagen       TIGUAN              MILWAUKEE                 WI
92251   3VV3B7AX3KM146471   Volkswagen       TIGUAN              DENVER                    CO
92252   3VV3B7AX3KM146647   Volkswagen       TIGUAN              DENVER                    CO
92253   3VV3B7AX3KM147524   Volkswagen       TIGUAN              TULSA                     OK
92254   3VV3B7AX3KM148768   Volkswagen       TIGUAN              HOUSTON                   TX
92255   3VV3B7AX3KM155350   Volkswagen       TIGUAN              HOUSTON                   TX
92256   3VV3B7AX3KM155400   Volkswagen       TIGUAN              Matteson                  IL
92257   3VV3B7AX3KM155431   Volkswagen       TIGUAN              SAN DIEGO                 CA
92258   3VV3B7AX3KM155591   Volkswagen       TIGUAN              DES MOINES                IA
92259   3VV3B7AX3KM155686   Volkswagen       TIGUAN              HOUSTON                   TX
92260   3VV3B7AX3KM155803   Volkswagen       TIGUAN              TULSA                     OK
92261   3VV3B7AX3KM155865   Volkswagen       TIGUAN              Harvey                    LA
92262   3VV3B7AX3KM155963   Volkswagen       TIGUAN              DALLAS                    TX
92263   3VV3B7AX3KM155980   Volkswagen       TIGUAN              DENVER                    CO
92264   3VV3B7AX3KM156000   Volkswagen       TIGUAN              San Antonio               TX
92265   3VV3B7AX3KM156160   Volkswagen       TIGUAN              AUSTIN                    TX
92266   3VV3B7AX3KM157258   Volkswagen       TIGUAN              DALLAS                    TX
92267   3VV3B7AX3KM157440   Volkswagen       TIGUAN              KANSAS CITY               MO
92268   3VV3B7AX4KM066399   Volkswagen       TIGUAN              Davie                     FL
92269   3VV3B7AX4KM067035   Volkswagen       TIGUAN              LOUISVILLE                KY
92270   3VV3B7AX4KM131848   Volkswagen       TIGUAN              LAS VEGAS                 NV
92271   3VV3B7AX4KM131851   Volkswagen       TIGUAN              DALLAS                    TX
92272   3VV3B7AX4KM132076   Volkswagen       TIGUAN              DALLAS                    TX
92273   3VV3B7AX4KM143823   Volkswagen       TIGUAN              SAN ANTONIO               TX
92274   3VV3B7AX4KM143868   Volkswagen       TIGUAN              LAS VEGAS                 NV
92275   3VV3B7AX4KM143885   Volkswagen       TIGUAN              MIDLAND                   TX
92276   3VV3B7AX4KM143949   Volkswagen       TIGUAN              EL PASO                   TX
92277   3VV3B7AX4KM143997   Volkswagen       TIGUAN              DENVER                    CO
92278   3VV3B7AX4KM144051   Volkswagen       TIGUAN              Baltimore                 MD
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92279   3VV3B7AX4KM144177   Volkswagen       TIGUAN              DALLAS                    TX
92280   3VV3B7AX4KM144390   Volkswagen       TIGUAN              HOUSTON                   TX
92281   3VV3B7AX4KM144521   Volkswagen       TIGUAN              Dallas                    TX
92282   3VV3B7AX4KM144924   Volkswagen       TIGUAN              San Antonio               TX
92283   3VV3B7AX4KM144986   Volkswagen       TIGUAN              Phoenix                   AZ
92284   3VV3B7AX4KM145085   Volkswagen       TIGUAN              DALLAS                    TX
92285   3VV3B7AX4KM145099   Volkswagen       TIGUAN              HOUSTON                   TX
92286   3VV3B7AX4KM145183   Volkswagen       TIGUAN              SEATAC                    WA
92287   3VV3B7AX4KM145197   Volkswagen       TIGUAN              DALLAS                    TX
92288   3VV3B7AX4KM145247   Volkswagen       TIGUAN              AUSTIN                    TX
92289   3VV3B7AX4KM145720   Volkswagen       TIGUAN              El Paso                   TX
92290   3VV3B7AX4KM145829   Volkswagen       TIGUAN              Pensacola                 FL
92291   3VV3B7AX4KM145930   Volkswagen       TIGUAN              DALLAS                    TX
92292   3VV3B7AX4KM146043   Volkswagen       TIGUAN              LOS ANGELES               CA
92293   3VV3B7AX4KM146141   Volkswagen       TIGUAN              DALLAS                    TX
92294   3VV3B7AX4KM146415   Volkswagen       TIGUAN              COLUMBIA                  SC
92295   3VV3B7AX4KM146494   Volkswagen       TIGUAN              NASHVILLE                 TN
92296   3VV3B7AX4KM148763   Volkswagen       TIGUAN              KENNER                    LA
92297   3VV3B7AX4KM148858   Volkswagen       TIGUAN              PALM SPRINGS              CA
92298   3VV3B7AX4KM151789   Volkswagen       TIGUAN              HOUSTON                   TX
92299   3VV3B7AX4KM155339   Volkswagen       TIGUAN              TULSA                     OK
92300   3VV3B7AX4KM155566   Volkswagen       TIGUAN              DALLAS                    TX
92301   3VV3B7AX4KM155583   Volkswagen       TIGUAN              Warr Acres                OK
92302   3VV3B7AX4KM156748   Volkswagen       TIGUAN              COLUMBIA                  SC
92303   3VV3B7AX4KM156829   Volkswagen       TIGUAN              Detroit                   MI
92304   3VV3B7AX4KM156832   Volkswagen       TIGUAN              DALLAS                    TX
92305   3VV3B7AX4KM157110   Volkswagen       TIGUAN              DALLAS                    TX
92306   3VV3B7AX4KM157298   Volkswagen       TIGUAN              SACRAMENTO                CA
92307   3VV3B7AX4KM157768   Volkswagen       TIGUAN              Tulsa                     OK
92308   3VV3B7AX4KM157835   Volkswagen       TIGUAN              SAN ANTONIO               TX
92309   3VV3B7AX5KM131857   Volkswagen       TIGUAN              CHICAGO                   IL
92310   3VV3B7AX5KM143684   Volkswagen       TIGUAN              BLOOMINGTON               IL
92311   3VV3B7AX5KM143734   Volkswagen       TIGUAN              Houston                   TX
92312   3VV3B7AX5KM143961   Volkswagen       TIGUAN              COLUMBIA                  SC
92313   3VV3B7AX5KM143989   Volkswagen       TIGUAN              San Antonio               TX
92314   3VV3B7AX5KM144043   Volkswagen       TIGUAN              TULSA                     OK
92315   3VV3B7AX5KM144057   Volkswagen       TIGUAN              Stone Mountain            GA
92316   3VV3B7AX5KM144060   Volkswagen       TIGUAN              SAN DIEGO                 CA
92317   3VV3B7AX5KM144186   Volkswagen       TIGUAN              HOUSTON                   TX
92318   3VV3B7AX5KM144219   Volkswagen       TIGUAN              Florissant                MO
92319   3VV3B7AX5KM144950   Volkswagen       TIGUAN              HOUSTON                   TX
92320   3VV3B7AX5KM145225   Volkswagen       TIGUAN              FRESNO                    CA
92321   3VV3B7AX5KM145306   Volkswagen       TIGUAN              HOUSTON                   TX
92322   3VV3B7AX5KM145418   Volkswagen       TIGUAN              Memphis                   TN
92323   3VV3B7AX5KM145774   Volkswagen       TIGUAN              Live Oak                  TX
92324   3VV3B7AX5KM145967   Volkswagen       TIGUAN              LOS ANGELES               CA
92325   3VV3B7AX5KM146262   Volkswagen       TIGUAN              GRAND RAPIDS              MI
92326   3VV3B7AX5KM146455   Volkswagen       TIGUAN              AUSTIN                    TX
92327   3VV3B7AX5KM146553   Volkswagen       TIGUAN              Elgin                     IL
92328   3VV3B7AX5KM148691   Volkswagen       TIGUAN              DALLAS                    TX
92329   3VV3B7AX5KM148741   Volkswagen       TIGUAN              Hattiesburg               MS
92330   3VV3B7AX5KM148772   Volkswagen       TIGUAN              Maple Grove               MN
92331   3VV3B7AX5KM148819   Volkswagen       TIGUAN              DALLAS                    TX
92332   3VV3B7AX5KM148867   Volkswagen       TIGUAN              MIDLAND                   TX
92333   3VV3B7AX5KM152028   Volkswagen       TIGUAN              San Antonio               TX
92334   3VV3B7AX5KM155348   Volkswagen       TIGUAN              DALLAS                    TX
92335   3VV3B7AX5KM155365   Volkswagen       TIGUAN              ALBUQERQUE                NM
92336   3VV3B7AX5KM155401   Volkswagen       TIGUAN              PHOENIX                   AZ
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92337   3VV3B7AX5KM155463   Volkswagen       TIGUAN              DALLAS                    TX
92338   3VV3B7AX5KM155673   Volkswagen       TIGUAN              DFW AIRPORT               TX
92339   3VV3B7AX5KM155690   Volkswagen       TIGUAN              Riverside                 CA
92340   3VV3B7AX5KM155978   Volkswagen       TIGUAN              EL PASO                   TX
92341   3VV3B7AX5KM155995   Volkswagen       TIGUAN              DALLAS                    TX
92342   3VV3B7AX5KM156015   Volkswagen       TIGUAN              MCALLEN                   TX
92343   3VV3B7AX5KM156130   Volkswagen       TIGUAN              BURBANK                   CA
92344   3VV3B7AX5KM156158   Volkswagen       TIGUAN              WEST PALM BEACH           FL
92345   3VV3B7AX5KM157066   Volkswagen       TIGUAN              DALLAS                    TX
92346   3VV3B7AX5KM157567   Volkswagen       TIGUAN              SAN ANTONIO               TX
92347   3VV3B7AX5KM157570   Volkswagen       TIGUAN              AUSTIN                    TX
92348   3VV3B7AX5KM157763   Volkswagen       TIGUAN              San Antonio               TX
92349   3VV3B7AX6KM061995   Volkswagen       TIGUAN              WEST PALM BEACH           FL
92350   3VV3B7AX6KM131902   Volkswagen       TIGUAN              Houston                   TX
92351   3VV3B7AX6KM143953   Volkswagen       TIGUAN              HOUSTON                   TX
92352   3VV3B7AX6KM144049   Volkswagen       TIGUAN              Elkridge                  MD
92353   3VV3B7AX6KM144617   Volkswagen       TIGUAN              DALLAS                    TX
92354   3VV3B7AX6KM144925   Volkswagen       TIGUAN              Phoenix                   AZ
92355   3VV3B7AX6KM144956   Volkswagen       TIGUAN              Florissant                MO
92356   3VV3B7AX6KM144990   Volkswagen       TIGUAN              DALLAS                    TX
92357   3VV3B7AX6KM145430   Volkswagen       TIGUAN              DALLAS                    TX
92358   3VV3B7AX6KM145489   Volkswagen       TIGUAN              DALLAS                    TX
92359   3VV3B7AX6KM145699   Volkswagen       TIGUAN              LAS VEGAS                 NV
92360   3VV3B7AX6KM145797   Volkswagen       TIGUAN              KENNER                    LA
92361   3VV3B7AX6KM145802   Volkswagen       TIGUAN              HOUSTON                   TX
92362   3VV3B7AX6KM145878   Volkswagen       TIGUAN              HOUSTON                   TX
92363   3VV3B7AX6KM145881   Volkswagen       TIGUAN              NEW ORLEANS               LA
92364   3VV3B7AX6KM146156   Volkswagen       TIGUAN              HOUSTON                   TX
92365   3VV3B7AX6KM146206   Volkswagen       TIGUAN              ALBUQUERQUE               NM
92366   3VV3B7AX6KM146304   Volkswagen       TIGUAN              Aurora                    CO
92367   3VV3B7AX6KM146464   Volkswagen       TIGUAN              PLEASANTON                CA
92368   3VV3B7AX6KM146545   Volkswagen       TIGUAN              OMAHA                     NE
92369   3VV3B7AX6KM151910   Volkswagen       TIGUAN              PHOENIX                   AZ
92370   3VV3B7AX6KM155360   Volkswagen       TIGUAN              HOUSTON                   TX
92371   3VV3B7AX6KM155441   Volkswagen       TIGUAN              Harvey                    LA
92372   3VV3B7AX6KM155634   Volkswagen       TIGUAN              Houston                   TX
92373   3VV3B7AX6KM155732   Volkswagen       TIGUAN              KENNER                    LA
92374   3VV3B7AX6KM155777   Volkswagen       TIGUAN              Albuquerque               NM
92375   3VV3B7AX6KM155794   Volkswagen       TIGUAN              HOUSTON                   TX
92376   3VV3B7AX6KM155956   Volkswagen       TIGUAN              EL PASO                   TX
92377   3VV3B7AX6KM156010   Volkswagen       TIGUAN              DALLAS                    TX
92378   3VV3B7AX6KM156721   Volkswagen       TIGUAN              Austin                    TX
92379   3VV3B7AX6KM156895   Volkswagen       TIGUAN              Houston                   TX
92380   3VV3B7AX6KM156959   Volkswagen       TIGUAN              Albuquerque               NM
92381   3VV3B7AX6KM157335   Volkswagen       TIGUAN              HOUSTON                   TX
92382   3VV3B7AX7KM065702   Volkswagen       TIGUAN              SAN DIEGO                 CA
92383   3VV3B7AX7KM131679   Volkswagen       TIGUAN              DALLAS                    TX
92384   3VV3B7AX7KM131827   Volkswagen       TIGUAN              DALLAS                    TX
92385   3VV3B7AX7KM132007   Volkswagen       TIGUAN              HOUSTON                   TX
92386   3VV3B7AX7KM143881   Volkswagen       TIGUAN              AUSTIN                    TX
92387   3VV3B7AX7KM143895   Volkswagen       TIGUAN              Florissant                MO
92388   3VV3B7AX7KM143945   Volkswagen       TIGUAN              WICHITA FALLS             TX
92389   3VV3B7AX7KM144027   Volkswagen       TIGUAN              Harvey                    LA
92390   3VV3B7AX7KM144139   Volkswagen       TIGUAN              DALLAS                    TX
92391   3VV3B7AX7KM144156   Volkswagen       TIGUAN              HOUSTON                   TX
92392   3VV3B7AX7KM144920   Volkswagen       TIGUAN              ORLANDO                   FL
92393   3VV3B7AX7KM144996   Volkswagen       TIGUAN              EL PASO                   TX
92394   3VV3B7AX7KM145050   Volkswagen       TIGUAN              Corpus Christi            TX
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92395   3VV3B7AX7KM145162   Volkswagen       TIGUAN              HOUSTON                   TX
92396   3VV3B7AX7KM145310   Volkswagen       TIGUAN              LOS ANGELES               CA
92397   3VV3B7AX7KM145355   Volkswagen       TIGUAN              Los Angeles               CA
92398   3VV3B7AX7KM145386   Volkswagen       TIGUAN              MARIETTA                  GA
92399   3VV3B7AX7KM145422   Volkswagen       TIGUAN              AUSTIN                    TX
92400   3VV3B7AX7KM145663   Volkswagen       TIGUAN              KENNER                    LA
92401   3VV3B7AX7KM145744   Volkswagen       TIGUAN              AUSTIN                    TX
92402   3VV3B7AX7KM146036   Volkswagen       TIGUAN              Sanford                   FL
92403   3VV3B7AX7KM146120   Volkswagen       TIGUAN              LAS VEGAS                 NV
92404   3VV3B7AX7KM146196   Volkswagen       TIGUAN              STOCKTON                  CA
92405   3VV3B7AX7KM146294   Volkswagen       TIGUAN              HOUSTON                   TX
92406   3VV3B7AX7KM146392   Volkswagen       TIGUAN              San Antonio               TX
92407   3VV3B7AX7KM148935   Volkswagen       TIGUAN              Albuquerque               NM
92408   3VV3B7AX7KM155321   Volkswagen       TIGUAN              ALBUQERQUE                NM
92409   3VV3B7AX7KM155609   Volkswagen       TIGUAN              Houston                   TX
92410   3VV3B7AX7KM155772   Volkswagen       TIGUAN              CHARLESTON                WV
92411   3VV3B7AX7KM156081   Volkswagen       TIGUAN              SHREVEPORT                LA
92412   3VV3B7AX7KM156145   Volkswagen       TIGUAN              LAS VEGAS                 NV
92413   3VV3B7AX7KM156260   Volkswagen       TIGUAN              Albuquerque               NM
92414   3VV3B7AX7KM156842   Volkswagen       TIGUAN              Indianapolis              IN
92415   3VV3B7AX7KM157036   Volkswagen       TIGUAN              DFW AIRPORT               TX
92416   3VV3B7AX7KM157120   Volkswagen       TIGUAN              DALLAS                    TX
92417   3VV3B7AX7KM157134   Volkswagen       TIGUAN              PALM SPRINGS              CA
92418   3VV3B7AX7KM157358   Volkswagen       TIGUAN              Tolleson                  AZ
92419   3VV3B7AX7KM157523   Volkswagen       TIGUAN              AUSTIN                    TX
92420   3VV3B7AX7KM158185   Volkswagen       TIGUAN              Scottsdale                AZ
92421   3VV3B7AX8KM064185   Volkswagen       TIGUAN              ORLANDO                   FL
92422   3VV3B7AX8KM131884   Volkswagen       TIGUAN              AUSTIN                    TX
92423   3VV3B7AX8KM143906   Volkswagen       TIGUAN              SAN FRANCISCO             CA
92424   3VV3B7AX8KM143985   Volkswagen       TIGUAN              DALLAS                    TX
92425   3VV3B7AX8KM144036   Volkswagen       TIGUAN              Houston                   TX
92426   3VV3B7AX8KM144053   Volkswagen       TIGUAN              HOUSTON                   TX
92427   3VV3B7AX8KM144098   Volkswagen       TIGUAN              KANSAS CITY               MO
92428   3VV3B7AX8KM144361   Volkswagen       TIGUAN              SAN ANTONIO               TX
92429   3VV3B7AX8KM144392   Volkswagen       TIGUAN              Pensacola                 FL
92430   3VV3B7AX8KM144411   Volkswagen       TIGUAN              HOUSTON                   TX
92431   3VV3B7AX8KM144926   Volkswagen       TIGUAN              ALBUQUERQUE               NM
92432   3VV3B7AX8KM145039   Volkswagen       TIGUAN              Memphis                   TN
92433   3VV3B7AX8KM145154   Volkswagen       TIGUAN              DALLAS                    TX
92434   3VV3B7AX8KM145669   Volkswagen       TIGUAN              North Dighton             MA
92435   3VV3B7AX8KM145705   Volkswagen       TIGUAN              DALLAS                    TX
92436   3VV3B7AX8KM145848   Volkswagen       TIGUAN              DALLAS                    TX
92437   3VV3B7AX8KM146143   Volkswagen       TIGUAN              Houston                   TX
92438   3VV3B7AX8KM146224   Volkswagen       TIGUAN              DALLAS                    TX
92439   3VV3B7AX8KM146241   Volkswagen       TIGUAN              OKLAHOMA CITY             OK
92440   3VV3B7AX8KM146269   Volkswagen       TIGUAN              Houston                   TX
92441   3VV3B7AX8KM146322   Volkswagen       TIGUAN              Elkridge                  MD
92442   3VV3B7AX8KM146434   Volkswagen       TIGUAN              LUBBOCK                   TX
92443   3VV3B7AX8KM146904   Volkswagen       TIGUAN              LOS ANGELES               CA
92444   3VV3B7AX8KM148667   Volkswagen       TIGUAN              Bensalem                  PA
92445   3VV3B7AX8KM152363   Volkswagen       TIGUAN              Phoenix                   AZ
92446   3VV3B7AX8KM155554   Volkswagen       TIGUAN              EL PASO                   TX
92447   3VV3B7AX8KM155599   Volkswagen       TIGUAN              SAN ANTONIO               TX
92448   3VV3B7AX8KM155604   Volkswagen       TIGUAN              DALLAS                    TX
92449   3VV3B7AX8KM155800   Volkswagen       TIGUAN              HOUSTON                   TX
92450   3VV3B7AX8KM155957   Volkswagen       TIGUAN              HOUSTON                   TX
92451   3VV3B7AX8KM156008   Volkswagen       TIGUAN              SAN ANTONIO               TX
92452   3VV3B7AX8KM156025   Volkswagen       TIGUAN              LOS ANGELES               CA
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92453   3VV3B7AX8KM156056   Volkswagen       TIGUAN              SAN ANTONIO               TX
92454   3VV3B7AX8KM156073   Volkswagen       TIGUAN              LOS ANGELES               CA
92455   3VV3B7AX8KM156882   Volkswagen       TIGUAN              HOUSTON                   TX
92456   3VV3B7AX8KM156915   Volkswagen       TIGUAN              Houston                   TX
92457   3VV3B7AX8KM156977   Volkswagen       TIGUAN              HOUSTON                   TX
92458   3VV3B7AX8KM157529   Volkswagen       TIGUAN              PHOENIX                   AZ
92459   3VV3B7AX8KM157739   Volkswagen       TIGUAN              Houston                   TX
92460   3VV3B7AX8KM157790   Volkswagen       TIGUAN              Live Oak                  TX
92461   3VV3B7AX9KM065829   Volkswagen       TIGUAN              ATLANTA                   GA
92462   3VV3B7AX9KM066057   Volkswagen       TIGUAN              Jacksonville              FL
92463   3VV3B7AX9KM131893   Volkswagen       TIGUAN              DALLAS                    TX
92464   3VV3B7AX9KM143977   Volkswagen       TIGUAN              Irving                    TX
92465   3VV3B7AX9KM144045   Volkswagen       TIGUAN              Houston                   TX
92466   3VV3B7AX9KM144580   Volkswagen       TIGUAN              HOUSTON                   TX
92467   3VV3B7AX9KM144918   Volkswagen       TIGUAN              HOUSTON                   TX
92468   3VV3B7AX9KM144997   Volkswagen       TIGUAN              Slidell                   LA
92469   3VV3B7AX9KM145017   Volkswagen       TIGUAN              SAN ANTONIO               TX
92470   3VV3B7AX9KM145051   Volkswagen       TIGUAN              Memphis                   TN
92471   3VV3B7AX9KM145082   Volkswagen       TIGUAN              Irving                    TX
92472   3VV3B7AX9KM145325   Volkswagen       TIGUAN              INDIANAPOLIS              IN
92473   3VV3B7AX9KM145406   Volkswagen       TIGUAN              HOUSTON                   TX
92474   3VV3B7AX9KM145700   Volkswagen       TIGUAN              ALBUQUERQUE               NM
92475   3VV3B7AX9KM146071   Volkswagen       TIGUAN              Hamilton                  OH
92476   3VV3B7AX9KM146099   Volkswagen       TIGUAN              Harlingen                 TX
92477   3VV3B7AX9KM146149   Volkswagen       TIGUAN              Charlotte                 NC
92478   3VV3B7AX9KM146443   Volkswagen       TIGUAN              Scottsdale                AZ
92479   3VV3B7AX9KM146457   Volkswagen       TIGUAN              HOUSTON                   TX
92480   3VV3B7AX9KM146541   Volkswagen       TIGUAN              BURBANK                   CA
92481   3VV3B7AX9KM148581   Volkswagen       TIGUAN              DALLAS                    TX
92482   3VV3B7AX9KM148595   Volkswagen       TIGUAN              DALLAS                    TX
92483   3VV3B7AX9KM148760   Volkswagen       TIGUAN              PALM SPRINGS              CA
92484   3VV3B7AX9KM148872   Volkswagen       TIGUAN              EAST BOSTON               MA
92485   3VV3B7AX9KM151898   Volkswagen       TIGUAN              SAN JOSE                  CA
92486   3VV3B7AX9KM152453   Volkswagen       TIGUAN              DALLAS                    TX
92487   3VV3B7AX9KM155241   Volkswagen       TIGUAN              Harvey                    LA
92488   3VV3B7AX9KM155305   Volkswagen       TIGUAN              OKLAHOMA CITY             OK
92489   3VV3B7AX9KM155336   Volkswagen       TIGUAN              HOUSTON                   TX
92490   3VV3B7AX9KM155420   Volkswagen       TIGUAN              AUSTIN                    TX
92491   3VV3B7AX9KM155451   Volkswagen       TIGUAN              HOUSTON                   TX
92492   3VV3B7AX9KM155465   Volkswagen       TIGUAN              ALBUQUERQUE               NM
92493   3VV3B7AX9KM155952   Volkswagen       TIGUAN              EL PASO                   TX
92494   3VV3B7AX9KM155966   Volkswagen       TIGUAN              CORPUS CHRISTI            TX
92495   3VV3B7AX9KM156051   Volkswagen       TIGUAN              CHARLOTTE                 NC
92496   3VV3B7AX9KM156101   Volkswagen       TIGUAN              YUKON                     OK
92497   3VV3B7AX9KM156132   Volkswagen       TIGUAN              EL PASO                   TX
92498   3VV3B7AX9KM156180   Volkswagen       TIGUAN              Florissant                MO
92499   3VV3B7AX9KM157085   Volkswagen       TIGUAN              albuquerque               nm
92500   3VV3B7AX9KM157460   Volkswagen       TIGUAN              AUSTIN                    TX
92501   3VV3B7AX9KM157538   Volkswagen       TIGUAN              OKLAHOMA CITY             OK
92502   3VV3B7AX9KM158138   Volkswagen       TIGUAN              PALM SPRINGS              CA
92503   3VV3B7AXXKM066360   Volkswagen       TIGUAN              Woodhaven                 MI
92504   3VV3B7AXXKM131675   Volkswagen       TIGUAN              Houston                   TX
92505   3VV3B7AXXKM131725   Volkswagen       TIGUAN              DALLAS                    TX
92506   3VV3B7AXXKM131854   Volkswagen       TIGUAN              MEDINA                    OH
92507   3VV3B7AXXKM132048   Volkswagen       TIGUAN              Portland                  OR
92508   3VV3B7AXXKM143812   Volkswagen       TIGUAN              Houston                   TX
92509   3VV3B7AXXKM144068   Volkswagen       TIGUAN              CHICAGO                   IL
92510   3VV3B7AXXKM144071   Volkswagen       TIGUAN              AUSTIN                    TX
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92511   3VV3B7AXXKM144362   Volkswagen       TIGUAN              Houston                   TX
92512   3VV3B7AXXKM144488   Volkswagen       TIGUAN              DALLAS                    TX
92513   3VV3B7AXXKM144944   Volkswagen       TIGUAN              HOUSTON                   TX
92514   3VV3B7AXXKM144992   Volkswagen       TIGUAN              PHOENIX                   AZ
92515   3VV3B7AXXKM145009   Volkswagen       TIGUAN              HOUSTON                   TX
92516   3VV3B7AXXKM145043   Volkswagen       TIGUAN              BIRMINGHAN                AL
92517   3VV3B7AXXKM145091   Volkswagen       TIGUAN              San Antonio               TX
92518   3VV3B7AXXKM145124   Volkswagen       TIGUAN              DALLAS                    TX
92519   3VV3B7AXXKM145169   Volkswagen       TIGUAN              AUSTIN                    TX
92520   3VV3B7AXXKM145205   Volkswagen       TIGUAN              LAS VEGAS                 NV
92521   3VV3B7AXXKM145219   Volkswagen       TIGUAN              AUSTIN                    TX
92522   3VV3B7AXXKM145351   Volkswagen       TIGUAN              LOS ANGELES               CA
92523   3VV3B7AXXKM145804   Volkswagen       TIGUAN              SEATAC                    WA
92524   3VV3B7AXXKM145835   Volkswagen       TIGUAN              SEATTLE                   WA
92525   3VV3B7AXXKM145883   Volkswagen       TIGUAN              Indianapolis              IN
92526   3VV3B7AXXKM146287   Volkswagen       TIGUAN              AUSTIN                    TX
92527   3VV3B7AXXKM146550   Volkswagen       TIGUAN              HOUSTON                   TX
92528   3VV3B7AXXKM148881   Volkswagen       TIGUAN              HOUSTON                   TX
92529   3VV3B7AXXKM152235   Volkswagen       TIGUAN              CHICAGO                   US
92530   3VV3B7AXXKM155264   Volkswagen       TIGUAN              Houston                   TX
92531   3VV3B7AXXKM155457   Volkswagen       TIGUAN              HOUSTON                   TX
92532   3VV3B7AXXKM155572   Volkswagen       TIGUAN              Killeen                   TX
92533   3VV3B7AXXKM155619   Volkswagen       TIGUAN              DALLAS                    TX
92534   3VV3B7AXXKM155698   Volkswagen       TIGUAN              HOUSTON                   TX
92535   3VV3B7AXXKM155782   Volkswagen       TIGUAN              Harvey                    LA
92536   3VV3B7AXXKM155801   Volkswagen       TIGUAN              CHICAGO                   IL
92537   3VV3B7AXXKM155927   Volkswagen       TIGUAN              SAN ANTONIO               TX
92538   3VV3B7AXXKM155944   Volkswagen       TIGUAN              Houston                   TX
92539   3VV3B7AXXKM155961   Volkswagen       TIGUAN              Harvey                    LA
92540   3VV3B7AXXKM155975   Volkswagen       TIGUAN              HOUSTON                   TX
92541   3VV3B7AXXKM156138   Volkswagen       TIGUAN              TAMPA                     FL
92542   3VV3B7AXXKM156608   Volkswagen       TIGUAN              Johnston                  RI
92543   3VV3B7AXXKM157256   Volkswagen       TIGUAN              SHREVEPORT                LA
92544   3VV3B7AXXKM157290   Volkswagen       TIGUAN              SAN ANTONIO               TX
92545   3VV3B7AXXKM157385   Volkswagen       TIGUAN              Warr Acres                OK
92546   3VV3B7AXXKM157533   Volkswagen       TIGUAN              DENVER                    CO
92547   3VV3B7AXXKM157645   Volkswagen       TIGUAN              SACRAMENTO                CA
92548   3VW217AU0GM021175   Volkswagen       GOLF                Norwalk                   CA
92549   3VW267AJ1GM348823   Volkswagen       JETTA               CHICAGO                   IL
92550   3VW267AJ2GM247936   Volkswagen       JETTA               DANIA                     US
92551   3VW267AJ2GM269354   Volkswagen       JETTA               BURBANK                   CA
92552   3VW267AJ2GM370796   Volkswagen       JETTA               NEW YORK DEALER DI        NJ
92553   3VW267AJ2GM375223   Volkswagen       JETTA               MANASSAS                  VA
92554   3VW267AJ3GM258556   Volkswagen       JETTA
92555   3VW267AJ3GM278905   Volkswagen       JETTA               North Dighton             MA
92556   3VW267AJ5GM320538   Volkswagen       JETTA               WESTMINSTER               CA
92557   3VW267AJ7GM209960   Volkswagen       JETTA               BOSTON                    MA
92558   3VW267AJ8GM405518   Volkswagen       JETTA               BURBANK                   CA
92559   3VW2B7AJ0HM258463   Volkswagen       JETTA               DES PLAINES               IL
92560   3VW2B7AJ0HM268362   Volkswagen       JETTA               Fresno                    CA
92561   3VW2B7AJ0HM286988   Volkswagen       JETTA               Cranberry Towns           PA
92562   3VW2B7AJ0HM286991   Volkswagen       JETTA               ROSEVILLE                 CA
92563   3VW2B7AJ0HM301456   Volkswagen       JETTA               Mira Loma                 CA
92564   3VW2B7AJ0HM312490   Volkswagen       JETTA               Las Vegas                 NV
92565   3VW2B7AJ0HM324770   Volkswagen       JETTA               North Dighton             MA
92566   3VW2B7AJ0HM342072   Volkswagen       JETTA               SOUTH SAN FRANCISO        CA
92567   3VW2B7AJ0HM360913   Volkswagen       JETTA               Fontana                   CA
92568   3VW2B7AJ0HM368946   Volkswagen       JETTA               Denver                    CO
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92569   3VW2B7AJ1HM321084   Volkswagen       JETTA               Lake Elsinore             CA
92570   3VW2B7AJ1HM352304   Volkswagen       JETTA               Elkridge                  MD
92571   3VW2B7AJ1HM378966   Volkswagen       JETTA               DENVER                    CO
92572   3VW2B7AJ1HM379809   Volkswagen       JETTA               Elkridge                  MD
92573   3VW2B7AJ1HM380006   Volkswagen       JETTA               WEST CENTRAL DEALE        CO
92574   3VW2B7AJ1HM380653   Volkswagen       JETTA               Englewood                 CO
92575   3VW2B7AJ1JM206023   Volkswagen       JETTA               N. Palm Beach             FL
92576   3VW2B7AJ1JM224036   Volkswagen       JETTA               PHILADELPHIA              PA
92577   3VW2B7AJ1JM235781   Volkswagen       JETTA               PHILADELPHIA              PA
92578   3VW2B7AJ2HM256858   Volkswagen       JETTA               Marietta                  GA
92579   3VW2B7AJ2HM263082   Volkswagen       JETTA               Tolleson                  AZ
92580   3VW2B7AJ2HM283199   Volkswagen       JETTA               Fontana                   CA
92581   3VW2B7AJ2HM301037   Volkswagen       JETTA               San Diego                 CA
92582   3VW2B7AJ2HM304052   Volkswagen       JETTA               Fontana                   CA
92583   3VW2B7AJ2HM315925   Volkswagen       JETTA               Tolleson                  AZ
92584   3VW2B7AJ2HM370570   Volkswagen       JETTA               DENVER                    CO
92585   3VW2B7AJ2JM207908   Volkswagen       JETTA               BURBANK                   CA
92586   3VW2B7AJ3HM275824   Volkswagen       JETTA               MORROW                    GA
92587   3VW2B7AJ3HM326724   Volkswagen       JETTA               DAYTONA BEACH             FL
92588   3VW2B7AJ3HM370173   Volkswagen       JETTA               RICHMOND                  VA
92589   3VW2B7AJ3HM381013   Volkswagen       JETTA               Las Vegas                 NV
92590   3VW2B7AJ3JM222935   Volkswagen       JETTA               PHILADELPHIA              PA
92591   3VW2B7AJ4HM306532   Volkswagen       JETTA               Elkridge                  MD
92592   3VW2B7AJ4HM307437   Volkswagen       JETTA               Fontana                   CA
92593   3VW2B7AJ4HM324416   Volkswagen       JETTA               Miami                     FL
92594   3VW2B7AJ4HM367363   Volkswagen       JETTA               CHICAGO                   IL
92595   3VW2B7AJ5HM311870   Volkswagen       JETTA               DALLAS                    TX
92596   3VW2B7AJ5HM359174   Volkswagen       JETTA               COLLEGE PARK              GA
92597   3VW2B7AJ5HM367873   Volkswagen       JETTA               Fontana                   CA
92598   3VW2B7AJ5HM370188   Volkswagen       JETTA               Tolleson                  AZ
92599   3VW2B7AJ5HM378212   Volkswagen       JETTA               WEST CENTRAL DEALE        CO
92600   3VW2B7AJ6HM247385   Volkswagen       JETTA               SOUTHEAST DST OFFC        OK
92601   3VW2B7AJ6HM309514   Volkswagen       JETTA               Anchorage                 AK
92602   3VW2B7AJ6HM370183   Volkswagen       JETTA               SANTA ANA                 CA
92603   3VW2B7AJ6HM380129   Volkswagen       JETTA               Fort Lauderdale           FL
92604   3VW2B7AJ7HM234743   Volkswagen       JETTA               INGLEWOOD                 CA
92605   3VW2B7AJ7HM301664   Volkswagen       JETTA               PHOENIX                   AZ
92606   3VW2B7AJ7HM316018   Volkswagen       JETTA               Torrance                  CA
92607   3VW2B7AJ7HM325611   Volkswagen       JETTA               Elgin                     IL
92608   3VW2B7AJ7HM377983   Volkswagen       JETTA               LAS VEGAS                 NV
92609   3VW2B7AJ7HM378261   Volkswagen       JETTA               San Antonio               TX
92610   3VW2B7AJ7HM379541   Volkswagen       JETTA               Burien                    WA
92611   3VW2B7AJ7HM380852   Volkswagen       JETTA               Denver                    CO
92612   3VW2B7AJ7JM210383   Volkswagen       JETTA               LOS ANGELES               CA
92613   3VW2B7AJ7JM223862   Volkswagen       JETTA               INDIANAPOLIS              IN
92614   3VW2B7AJ8HM308137   Volkswagen       JETTA               Portland                  OR
92615   3VW2B7AJ8HM317971   Volkswagen       JETTA               Matteson                  IL
92616   3VW2B7AJ8HM324614   Volkswagen       JETTA               Johnston                  RI
92617   3VW2B7AJ8HM357905   Volkswagen       JETTA               COLLEGE PARK              GA
92618   3VW2B7AJ8HM368225   Volkswagen       JETTA               ENGLEWOOD                 CO
92619   3VW2B7AJ8HM368547   Volkswagen       JETTA               PHOENIX                   AZ
92620   3VW2B7AJ8HM370069   Volkswagen       JETTA               EULESS                    TX
92621   3VW2B7AJ8HM378429   Volkswagen       JETTA               Phoenix                   AZ
92622   3VW2B7AJ8HM379113   Volkswagen       JETTA               HANOVER                   MD
92623   3VW2B7AJ8JM215463   Volkswagen       JETTA               LOS ANGELES               CA
92624   3VW2B7AJ9HM249986   Volkswagen       JETTA               BURBANK                   CA
92625   3VW2B7AJ9HM270594   Volkswagen       JETTA               Burlingame                CA
92626   3VW2B7AJ9HM283071   Volkswagen       JETTA               ONTARIO                   CA
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92627   3VW2B7AJ9HM312469   Volkswagen       JETTA               NORTH HOLLYWOOD           CA
92628   3VW2B7AJ9HM352437   Volkswagen       JETTA               South San Franc           CA
92629   3VW2B7AJ9HM370193   Volkswagen       JETTA               LAS VEGAS                 NV
92630   3VW2B7AJ9HM378276   Volkswagen       JETTA               BOSTON, LOGAN AP          MA
92631   3VW2B7AJ9HM378701   Volkswagen       JETTA               Denver                    CO
92632   3VW2B7AJ9JM242560   Volkswagen       JETTA               Philadelphia              PA
92633   3VW2B7AJXHM326851   Volkswagen       JETTA               CHICAGO                   IL
92634   3VW2B7AJXHM380036   Volkswagen       JETTA               SALT LAKE CITY            UT
92635   3VW2B7AJXJM208515   Volkswagen       JETTA               SAN DIEGO                 CA
92636   3VW2B7AJXJM210524   Volkswagen       JETTA               NORTH HOLLYWOOD           CA
92637   3VWC57BU0KM082090   Volkswagen       JETTA               LAS VEGAS                 NV
92638   3VWC57BU0KM130459   Volkswagen       JETTA               JACKSONVILLE              FL
92639   3VWC57BU0KM171545   Volkswagen       JETTA               Phoenix                   AZ
92640   3VWC57BU0KM172646   Volkswagen       JETTA               Phoenix                   AZ
92641   3VWC57BU0KM172839   Volkswagen       JETTA               ANCHORAGE                 AK
92642   3VWC57BU0KM173005   Volkswagen       JETTA               EGG HARBOR TOWN           NJ
92643   3VWC57BU0KM180813   Volkswagen       JETTA               Scottsdale                AZ
92644   3VWC57BU0KM186496   Volkswagen       JETTA               KANSAS CITY               MO
92645   3VWC57BU0KM194078   Volkswagen       JETTA               Salt Lake City            UT
92646   3VWC57BU1KM171392   Volkswagen       JETTA               Hayward                   CA
92647   3VWC57BU1KM171490   Volkswagen       JETTA               Scottsdale                AZ
92648   3VWC57BU1KM171876   Volkswagen       JETTA               BUFFALO                   NY
92649   3VWC57BU1KM172848   Volkswagen       JETTA               Pittsburgh                PA
92650   3VWC57BU1KM173336   Volkswagen       JETTA               SOUTHEAST DST OFFC        OK
92651   3VWC57BU1KM180822   Volkswagen       JETTA               TUCSON                    AZ
92652   3VWC57BU1KM194784   Volkswagen       JETTA               Portland                  OR
92653   3VWC57BU2KM170350   Volkswagen       JETTA               Cranberry Towns           PA
92654   3VWC57BU2KM170963   Volkswagen       JETTA               Cleveland                 OH
92655   3VWC57BU2KM171465   Volkswagen       JETTA               PHOENIX                   AZ
92656   3VWC57BU2KM171532   Volkswagen       JETTA               Stone Mountain            GA
92657   3VWC57BU2KM171840   Volkswagen       JETTA               Miami                     FL
92658   3VWC57BU2KM172468   Volkswagen       JETTA               SACRAMENTO                CA
92659   3VWC57BU2KM173247   Volkswagen       JETTA               Indianapolis              IN
92660   3VWC57BU2KM180828   Volkswagen       JETTA               Portland                  OR
92661   3VWC57BU3KM083377   Volkswagen       JETTA               BURBANK                   CA
92662   3VWC57BU3KM088515   Volkswagen       JETTA               BURBANK                   CA
92663   3VWC57BU3KM170423   Volkswagen       JETTA               Des Plaines               IL
92664   3VWC57BU3KM171443   Volkswagen       JETTA               GREENWOOD                 NE
92665   3VWC57BU3KM172141   Volkswagen       JETTA               Pittsburgh                PA
92666   3VWC57BU3KM187786   Volkswagen       JETTA               BURBANK                   CA
92667   3VWC57BU3KM194625   Volkswagen       JETTA               Portland                  OR
92668   3VWC57BU3KM195287   Volkswagen       JETTA               Portland                  OR
92669   3VWC57BU4KM082822   Volkswagen       JETTA               CENTRAL DIST OFFC         OK
92670   3VWC57BU4KM087731   Volkswagen       JETTA               Las Vegas                 NV
92671   3VWC57BU4KM087843   Volkswagen       JETTA               LAS VEGAS                 NV
92672   3VWC57BU4KM170494   Volkswagen       JETTA               DES MOINES                IA
92673   3VWC57BU4KM172438   Volkswagen       JETTA               WEST PALM BEACH           FL
92674   3VWC57BU4KM172794   Volkswagen       JETTA               ORLANDO                   FL
92675   3VWC57BU4KM173329   Volkswagen       JETTA               Anchorage                 AK
92676   3VWC57BU4KM173797   Volkswagen       JETTA               LOUISVILLE                KY
92677   3VWC57BU4KM180930   Volkswagen       JETTA               Salt Lake City            UT
92678   3VWC57BU4KM194598   Volkswagen       JETTA               Portland                  OR
92679   3VWC57BU4KM197243   Volkswagen       JETTA               Anaheim                   CA
92680   3VWC57BU5KM087866   Volkswagen       JETTA               Las Vegas                 NV
92681   3VWC57BU5KM170102   Volkswagen       JETTA               ANCHORAGE                 AK
92682   3VWC57BU5KM170763   Volkswagen       JETTA               Milwaukee                 WI
92683   3VWC57BU5KM171461   Volkswagen       JETTA               SAINT LOUIS               MO
92684   3VWC57BU5KM172965   Volkswagen       JETTA               Fresno                    CA
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92685   3VWC57BU5KM195274   Volkswagen       JETTA               Beaverton                 OR
92686   3VWC57BU5KM197266   Volkswagen       JETTA               Fresno                    CA
92687   3VWC57BU6KM082367   Volkswagen       JETTA               CENTRAL DIST OFFC         OK
92688   3VWC57BU6KM084233   Volkswagen       JETTA               BURBANK                   CA
92689   3VWC57BU6KM171730   Volkswagen       JETTA               PLEASANTON                CA
92690   3VWC57BU6KM172599   Volkswagen       JETTA               SALT LAKE CITY            UT
92691   3VWC57BU6KM172814   Volkswagen       JETTA               Fresno                    CA
92692   3VWC57BU6KM180671   Volkswagen       JETTA               PORTLAND                  OR
92693   3VWC57BU6KM194263   Volkswagen       JETTA               Portland                  OR
92694   3VWC57BU6KM195252   Volkswagen       JETTA               Roseville                 CA
92695   3VWC57BU6KM196918   Volkswagen       JETTA               Portland                  OR
92696   3VWC57BU7KM170733   Volkswagen       JETTA               Salt Lake City            UT
92697   3VWC57BU7KM171395   Volkswagen       JETTA               Charlotte                 NC
92698   3VWC57BU7KM171414   Volkswagen       JETTA               Salt Lake City            UT
92699   3VWC57BU7KM172207   Volkswagen       JETTA               Florissant                MO
92700   3VWC57BU7KM172868   Volkswagen       JETTA               Caledonia                 WI
92701   3VWC57BU7KM172918   Volkswagen       JETTA               Beaverton                 OR
92702   3VWC57BU7KM173311   Volkswagen       JETTA               KENNER                    LA
92703   3VWC57BU7KM194207   Volkswagen       JETTA               SALT LAKE CITY            US
92704   3VWC57BU7KM194238   Volkswagen       JETTA               FULLERTON                 CA
92705   3VWC57BU7KM196958   Volkswagen       JETTA               PALM SPRINGS              CA
92706   3VWC57BU7KM197138   Volkswagen       JETTA               Dallas                    TX
92707   3VWC57BU8KM171387   Volkswagen       JETTA               SAINT LOUIS               MO
92708   3VWC57BU8KM171602   Volkswagen       JETTA               ANCHORAGE                 AK
92709   3VWC57BU8KM187895   Volkswagen       JETTA               Medford                   NY
92710   3VWC57BU8KM194121   Volkswagen       JETTA               Portland                  OR
92711   3VWC57BU8KM198024   Volkswagen       JETTA               Phoenix                   AZ
92712   3VWC57BU9KM128435   Volkswagen       JETTA               SANTA ANA                 CA
92713   3VWC57BU9KM172256   Volkswagen       JETTA               St. Louis                 MO
92714   3VWC57BU9KM172919   Volkswagen       JETTA               DENVER                    CO
92715   3VWC57BU9KM180728   Volkswagen       JETTA               Ventura                   CA
92716   3VWC57BU9KM187825   Volkswagen       JETTA               DALLAS                    TX
92717   3VWC57BU9KM197660   Volkswagen       JETTA               SALT LAKE CITY            US
92718   3VWC57BUXKM170287   Volkswagen       JETTA               DFW AIRPORT               TX
92719   3VWC57BUXKM171634   Volkswagen       JETTA               Anchorage                 AK
92720   3VWC57BUXKM171715   Volkswagen       JETTA               Salt Lake City            UT
92721   3VWC57BUXKM171844   Volkswagen       JETTA               Warminster                PA
92722   3VWC57BUXKM171861   Volkswagen       JETTA               Philadelphia              PA
92723   3VWC57BUXKM172329   Volkswagen       JETTA               ATLANTA                   GA
92724   3VWC57BUXKM172346   Volkswagen       JETTA               Sacramento                CA
92725   3VWC57BUXKM172511   Volkswagen       JETTA               SALT LAKE CITY            UT
92726   3VWC57BUXKM172685   Volkswagen       JETTA               Miami                     FL
92727   3VWC57BUXKM173447   Volkswagen       JETTA               Atlanta                   GA
92728   3VWC57BUXKM194220   Volkswagen       JETTA               Salt Lake City            UT
92729   3VWC57BUXKM195349   Volkswagen       JETTA               FEDERAL WAY               WA
92730   3VWC57BUXKM198025   Volkswagen       JETTA               Sacramento                CA
92731   3VWCB7BU0KM170517   Volkswagen       JETTA               Pittsburgh                PA
92732   3VWCB7BU0KM172395   Volkswagen       JETTA               Portland                  OR
92733   3VWCB7BU1KM171109   Volkswagen       JETTA               San Diego                 CA
92734   3VWCB7BU1KM172356   Volkswagen       JETTA               Salt Lake City            UT
92735   3VWCB7BU1KM173622   Volkswagen       JETTA               NEW ORLEANS               LA
92736   3VWCB7BU1KM174088   Volkswagen       JETTA               SNELLVILLE                GA
92737   3VWCB7BU1KM200950   Volkswagen       JETTA               Arlington                 WA
92738   3VWCB7BU2KM172205   Volkswagen       JETTA               FORT LAUDERDALE           FL
92739   3VWCB7BU2KM174021   Volkswagen       JETTA               Stockton                  CA
92740   3VWCB7BU2KM174245   Volkswagen       JETTA               KILLEEN                   US
92741   3VWCB7BU2KM200634   Volkswagen       JETTA               Fresno                    CA
92742   3VWCB7BU3KM171872   Volkswagen       JETTA               SOUTHEAST DST OFFC        OK
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92743   3VWCB7BU3KM195122   Volkswagen       JETTA               Portland                  OR
92744   3VWCB7BU4KM172142   Volkswagen       JETTA               Indianapolis              IN
92745   3VWCB7BU4KM173808   Volkswagen       JETTA               Stockton                  CA
92746   3VWCB7BU4KM194089   Volkswagen       JETTA               Fresno                    CA
92747   3VWCB7BU4KM200540   Volkswagen       JETTA               SAN JOSE                  CA
92748   3VWCB7BU5KM172361   Volkswagen       JETTA               CLOVIS                    CA
92749   3VWCB7BU5KM173624   Volkswagen       JETTA               PHILADELPHIA              PA
92750   3VWCB7BU5KM173963   Volkswagen       JETTA               PORTLAND                  OR
92751   3VWCB7BU5KM194117   Volkswagen       JETTA               Portland                  OR
92752   3VWCB7BU5KM197339   Volkswagen       JETTA               SALT LAKE CITY            US
92753   3VWCB7BU6KM127929   Volkswagen       JETTA               PLEASANTON                CA
92754   3VWCB7BU6KM170537   Volkswagen       JETTA               Syracuse                  NY
92755   3VWCB7BU6KM173020   Volkswagen       JETTA               PITTSBURGH                PA
92756   3VWCB7BU6KM174359   Volkswagen       JETTA               Indianapolis              IN
92757   3VWCB7BU6KM200796   Volkswagen       JETTA               Stockton                  CA
92758   3VWCB7BU6KM201026   Volkswagen       JETTA               PLEASANTON                CA
92759   3VWCB7BU7KM167677   Volkswagen       JETTA               Huntington Stat           NY
92760   3VWCB7BU7KM170966   Volkswagen       JETTA               Sacramento                CA
92761   3VWCB7BU7KM171888   Volkswagen       JETTA               Lynn                      MA
92762   3VWCB7BU7KM171924   Volkswagen       JETTA               Syracuse                  NY
92763   3VWCB7BU7KM194376   Volkswagen       JETTA               Portland                  OR
92764   3VWCB7BU8KM194449   Volkswagen       JETTA               Portland                  OR
92765   3VWCB7BU9KM170614   Volkswagen       JETTA               Scottsdale                AZ
92766   3VWCB7BU9KM171522   Volkswagen       JETTA               ANCHORAGE                 AK
92767   3VWCB7BU9KM173366   Volkswagen       JETTA               Pittsburgh                PA
92768   3VWCB7BUXKM172615   Volkswagen       JETTA               PORTLAND                  OR
92769   3VWCB7BUXKM173621   Volkswagen       JETTA               FAIRBANKS                 AK
92770   3VWCB7BUXKM173702   Volkswagen       JETTA               DETROIT                   MI
92771   3VWCB7BUXKM200509   Volkswagen       JETTA               Salt Lake City            UT
92772   3VWD17AJ6HM399128   Volkswagen       JETTA               SAN FRANCISCO             CA
92773   3VWD17AJ9GM401193   Volkswagen       JETTA               SAN JOSE                  CA
92774   3VWFD7AT0KM705314   Volkswagen       BEETLE              Detroit                   MI
92775   3VWFD7AT0KM705698   Volkswagen       BEETLE              EULESS                    TX
92776   3VWFD7AT0KM706897   Volkswagen       BEETLE              FORT MYERS                FL
92777   3VWFD7AT0KM706947   Volkswagen       BEETLE              Miami                     FL
92778   3VWFD7AT0KM707130   Volkswagen       BEETLE              FORT MYERS                FL
92779   3VWFD7AT0KM707144   Volkswagen       BEETLE              Baltimore                 MD
92780   3VWFD7AT0KM707645   Volkswagen       BEETLE              ALBUQUERQUE               NM
92781   3VWFD7AT0KM708942   Volkswagen       BEETLE              APPLETON                  WI
92782   3VWFD7AT0KM709041   Volkswagen       BEETLE              Winston‐Salem             NC
92783   3VWFD7AT0KM709055   Volkswagen       BEETLE              Riverside                 CA
92784   3VWFD7AT0KM709119   Volkswagen       BEETLE              COLUMBIA                  SC
92785   3VWFD7AT0KM709184   Volkswagen       BEETLE              Warminster                PA
92786   3VWFD7AT0KM709198   Volkswagen       BEETLE              AUGUSTA                   GA
92787   3VWFD7AT0KM709203   Volkswagen       BEETLE              Warminster                PA
92788   3VWFD7AT0KM709265   Volkswagen       BEETLE              Harvey                    LA
92789   3VWFD7AT0KM709329   Volkswagen       BEETLE              Richmond                  VA
92790   3VWFD7AT0KM709346   Volkswagen       BEETLE              SARASOTA                  FL
92791   3VWFD7AT0KM711453   Volkswagen       BEETLE              S. San Francisc           CA
92792   3VWFD7AT0KM711579   Volkswagen       BEETLE              Sacramento                CA
92793   3VWFD7AT0KM711775   Volkswagen       BEETLE              Scottsdale                AZ
92794   3VWFD7AT1KM706701   Volkswagen       BEETLE              Austin                    TX
92795   3VWFD7AT1KM707234   Volkswagen       BEETLE              San Diego                 CA
92796   3VWFD7AT1KM708934   Volkswagen       BEETLE              Smithtown                 NY
92797   3VWFD7AT1KM709050   Volkswagen       BEETLE              Tampa                     FL
92798   3VWFD7AT1KM709064   Volkswagen       BEETLE              Norwalk                   CA
92799   3VWFD7AT1KM709288   Volkswagen       BEETLE              Philadelphia              PA
92800   3VWFD7AT1KM711588   Volkswagen       BEETLE              Portland                  OR
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92801   3VWFD7AT1KM711784   Volkswagen       BEETLE              Hendersonville            TN
92802   3VWFD7AT2KM705587   Volkswagen       BEETLE              Richmond                  VA
92803   3VWFD7AT2KM706142   Volkswagen       BEETLE              AUGUSTA                   GA
92804   3VWFD7AT2KM706156   Volkswagen       BEETLE              Winston‐Salem             NC
92805   3VWFD7AT2KM706903   Volkswagen       BEETLE              JACKSONVILLE              FL
92806   3VWFD7AT2KM707419   Volkswagen       BEETLE              Phoenix                   AZ
92807   3VWFD7AT2KM709087   Volkswagen       BEETLE              Sanford                   FL
92808   3VWFD7AT2KM709249   Volkswagen       BEETLE              Las Vegas                 NV
92809   3VWFD7AT2KM711437   Volkswagen       BEETLE              Torrance                  CA
92810   3VWFD7AT2KM711471   Volkswagen       BEETLE              LOS ANGELES               CA
92811   3VWFD7AT2KM711597   Volkswagen       BEETLE              LAS VEGAS                 NV
92812   3VWFD7AT2KM712135   Volkswagen       BEETLE              PLEASANTON                CA
92813   3VWFD7AT3KM706120   Volkswagen       BEETLE              Coraopolis                PA
92814   3VWFD7AT3KM706909   Volkswagen       BEETLE              Phoenix                   AZ
92815   3VWFD7AT3KM707073   Volkswagen       BEETLE              Lake Elsinore             CA
92816   3VWFD7AT3KM707123   Volkswagen       BEETLE              ATLANTA                   GA
92817   3VWFD7AT3KM707560   Volkswagen       BEETLE              Phoenix                   AZ
92818   3VWFD7AT3KM708031   Volkswagen       BEETLE              Tolleson                  AZ
92819   3VWFD7AT3KM708997   Volkswagen       BEETLE              ORLANDO                   FL
92820   3VWFD7AT3KM709079   Volkswagen       BEETLE              NEW BERN                  NC
92821   3VWFD7AT3KM709082   Volkswagen       BEETLE              Richmond                  VA
92822   3VWFD7AT3KM709213   Volkswagen       BEETLE              Cleveland                 OH
92823   3VWFD7AT3KM709244   Volkswagen       BEETLE              Houston                   TX
92824   3VWFD7AT3KM711396   Volkswagen       BEETLE              Las Vegas                 NV
92825   3VWFD7AT3KM711477   Volkswagen       BEETLE              Stockton                  CA
92826   3VWFD7AT3KM711611   Volkswagen       BEETLE              SACRAMENTO                CA
92827   3VWFD7AT4KM702545   Volkswagen       BEETLE              Honolulu                  HI
92828   3VWFD7AT4KM705364   Volkswagen       BEETLE              Webster                   NY
92829   3VWFD7AT4KM706014   Volkswagen       BEETLE              Warminster                PA
92830   3VWFD7AT4KM706188   Volkswagen       BEETLE              Hartford                  CT
92831   3VWFD7AT4KM706272   Volkswagen       BEETLE              Alexandria                VA
92832   3VWFD7AT4KM707020   Volkswagen       BEETLE              TAMPA                     US
92833   3VWFD7AT4KM707163   Volkswagen       BEETLE              FORT MYERS                FL
92834   3VWFD7AT4KM708961   Volkswagen       BEETLE              Houston                   TX
92835   3VWFD7AT4KM709012   Volkswagen       BEETLE              Harvey                    LA
92836   3VWFD7AT4KM709043   Volkswagen       BEETLE              PASADENA                  CA
92837   3VWFD7AT4KM709057   Volkswagen       BEETLE              Lake Elsinore             CA
92838   3VWFD7AT4KM709060   Volkswagen       BEETLE              Torrance                  CA
92839   3VWFD7AT4KM709088   Volkswagen       BEETLE              Colorado Spring           CO
92840   3VWFD7AT4KM709270   Volkswagen       BEETLE              SARASOTA                  FL
92841   3VWFD7AT4KM709298   Volkswagen       BEETLE              FORT MYERS                FL
92842   3VWFD7AT4KM711441   Volkswagen       BEETLE              Fresno                    CA
92843   3VWFD7AT4KM711455   Volkswagen       BEETLE              BOISE                     US
92844   3VWFD7AT4KM711634   Volkswagen       BEETLE              ORANGE COUNTY             CA
92845   3VWFD7AT4KM711813   Volkswagen       BEETLE              Norwalk                   CA
92846   3VWFD7AT5KM702117   Volkswagen       BEETLE              ATLANTA                   GA
92847   3VWFD7AT5KM705650   Volkswagen       BEETLE              Warminster                PA
92848   3VWFD7AT5KM706989   Volkswagen       BEETLE              Pompano Beach             FL
92849   3VWFD7AT5KM707074   Volkswagen       BEETLE              Grove City                OH
92850   3VWFD7AT5KM707124   Volkswagen       BEETLE              Stockton                  CA
92851   3VWFD7AT5KM707138   Volkswagen       BEETLE              Phoenix                   AZ
92852   3VWFD7AT5KM707706   Volkswagen       BEETLE              Sacramento                CA
92853   3VWFD7AT5KM708998   Volkswagen       BEETLE              Costa Mesa                CA
92854   3VWFD7AT5KM709004   Volkswagen       BEETLE              SHAKOPEE                  MN
92855   3VWFD7AT5KM709066   Volkswagen       BEETLE              Las Vegas                 NV
92856   3VWFD7AT5KM709200   Volkswagen       BEETLE              NASHVILLE                 TN
92857   3VWFD7AT5KM709245   Volkswagen       BEETLE              SAN FRANCISCO             CA
92858   3VWFD7AT5KM709293   Volkswagen       BEETLE              Detroit                   MI
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92859   3VWFD7AT5KM709309   Volkswagen       BEETLE              DENVER                    CO
92860   3VWFD7AT5KM711397   Volkswagen       BEETLE              Albuquerque               NM
92861   3VWFD7AT5KM711416   Volkswagen       BEETLE              PASADENA                  CA
92862   3VWFD7AT5KM711464   Volkswagen       BEETLE              Pasadena                  CA
92863   3VWFD7AT5KM711500   Volkswagen       BEETLE              Scottsdale                AZ
92864   3VWFD7AT5KM711576   Volkswagen       BEETLE              PLEASANTON                CA
92865   3VWFD7AT5KM711593   Volkswagen       BEETLE              Lake Elsinore             CA
92866   3VWFD7AT5KM712209   Volkswagen       BEETLE              INGLEWOOD                 CA
92867   3VWFD7AT6KM702580   Volkswagen       BEETLE              Hamilton                  OH
92868   3VWFD7AT6KM707083   Volkswagen       BEETLE              Albuquerque               NM
92869   3VWFD7AT6KM707231   Volkswagen       BEETLE              Dallas                    TX
92870   3VWFD7AT6KM707407   Volkswagen       BEETLE              ONTARIO                   CA
92871   3VWFD7AT6KM707553   Volkswagen       BEETLE              Portland                  OR
92872   3VWFD7AT6KM707780   Volkswagen       BEETLE              LOS ANGELES               CA
92873   3VWFD7AT6KM709089   Volkswagen       BEETLE              Tampa                     FL
92874   3VWFD7AT6KM709125   Volkswagen       BEETLE              Smithtown                 NY
92875   3VWFD7AT6KM709142   Volkswagen       BEETLE              San Diego                 CA
92876   3VWFD7AT6KM709190   Volkswagen       BEETLE              Tolleson                  AZ
92877   3VWFD7AT6KM709206   Volkswagen       BEETLE              SAN DIEGO                 CA
92878   3VWFD7AT6KM709237   Volkswagen       BEETLE              San Antonio               TX
92879   3VWFD7AT6KM711442   Volkswagen       BEETLE              Warr Acres                OK
92880   3VWFD7AT6KM711652   Volkswagen       BEETLE              Roseville                 CA
92881   3VWFD7AT6KM711800   Volkswagen       BEETLE              Lake Elsinore             CA
92882   3VWFD7AT7KM705343   Volkswagen       BEETLE              COLUMBIA                  SC
92883   3VWFD7AT7KM706931   Volkswagen       BEETLE              FORT MYERS                FL
92884   3VWFD7AT7KM706993   Volkswagen       BEETLE              COLUMBIA                  SC
92885   3VWFD7AT7KM707027   Volkswagen       BEETLE              Winston‐Salem             NC
92886   3VWFD7AT7KM707125   Volkswagen       BEETLE              Portland                  OR
92887   3VWFD7AT7KM707237   Volkswagen       BEETLE              Clearwater                FL
92888   3VWFD7AT7KM707397   Volkswagen       BEETLE              ORLANDO                   FL
92889   3VWFD7AT7KM707402   Volkswagen       BEETLE              Johnston                  RI
92890   3VWFD7AT7KM708968   Volkswagen       BEETLE              ALBUQUERQUE               NM
92891   3VWFD7AT7KM709019   Volkswagen       BEETLE              WEST PALM BEACH           FL
92892   3VWFD7AT7KM709070   Volkswagen       BEETLE              WEST PALM BEACH           FL
92893   3VWFD7AT7KM709117   Volkswagen       BEETLE              ORLANDO                   FL
92894   3VWFD7AT7KM709280   Volkswagen       BEETLE              Phoenix                   AZ
92895   3VWFD7AT7KM709327   Volkswagen       BEETLE              Orlando                   FL
92896   3VWFD7AT7KM709330   Volkswagen       BEETLE              Mira Loma                 CA
92897   3VWFD7AT7KM711434   Volkswagen       BEETLE              LOS ANGELES               CA
92898   3VWFD7AT7KM711627   Volkswagen       BEETLE              WOODLAND HILLS            CA
92899   3VWFD7AT8KM706159   Volkswagen       BEETLE              Harlingen                 TX
92900   3VWFD7AT8KM706968   Volkswagen       BEETLE              ATLANTA                   GA
92901   3VWFD7AT8KM707053   Volkswagen       BEETLE              Clearwater                FL
92902   3VWFD7AT8KM707070   Volkswagen       BEETLE              Scottsdale                AZ
92903   3VWFD7AT8KM707232   Volkswagen       BEETLE              PENSACOLA                 FL
92904   3VWFD7AT8KM708879   Volkswagen       BEETLE              MEMPHIS                   TN
92905   3VWFD7AT8KM708915   Volkswagen       BEETLE              Coraopolis                PA
92906   3VWFD7AT8KM709000   Volkswagen       BEETLE              ORLANDO                   FL
92907   3VWFD7AT8KM709059   Volkswagen       BEETLE              Atlanta                   GA
92908   3VWFD7AT8KM709207   Volkswagen       BEETLE              Miami                     FL
92909   3VWFD7AT8KM709255   Volkswagen       BEETLE              INGLEWOOD                 CA
92910   3VWFD7AT8KM711412   Volkswagen       BEETLE              Hayward                   CA
92911   3VWFD7AT8KM711796   Volkswagen       BEETLE              MILWAUKEE                 WI
92912   3VWFD7AT8KM712186   Volkswagen       BEETLE              Fontana                   CA
92913   3VWFD7AT9KM706185   Volkswagen       BEETLE              ORLANDO                   FL
92914   3VWFD7AT9KM706638   Volkswagen       BEETLE              Harlingen                 TX
92915   3VWFD7AT9KM706882   Volkswagen       BEETLE              Dallas                    TX
92916   3VWFD7AT9KM706901   Volkswagen       BEETLE              Phoenix                   AZ
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92917   3VWFD7AT9KM707076   Volkswagen       BEETLE              SARASOTA                  FL
92918   3VWFD7AT9KM707109   Volkswagen       BEETLE              Salt Lake City            UT
92919   3VWFD7AT9KM707207   Volkswagen       BEETLE              Elkridge                  MD
92920   3VWFD7AT9KM707448   Volkswagen       BEETLE              SAN DIEGO                 CA
92921   3VWFD7AT9KM707644   Volkswagen       BEETLE              SAN DIEGO                 CA
92922   3VWFD7AT9KM707949   Volkswagen       BEETLE              Tolleson                  AZ
92923   3VWFD7AT9KM708888   Volkswagen       BEETLE              N. Palm Beach             FL
92924   3VWFD7AT9KM708955   Volkswagen       BEETLE              ORLANDO                   FL
92925   3VWFD7AT9KM709068   Volkswagen       BEETLE              MIAMI                     FL
92926   3VWFD7AT9KM709085   Volkswagen       BEETLE              Warminster                PA
92927   3VWFD7AT9KM709099   Volkswagen       BEETLE              Winter Park               FL
92928   3VWFD7AT9KM709135   Volkswagen       BEETLE              FORT MYERS                FL
92929   3VWFD7AT9KM709295   Volkswagen       BEETLE              BURBANK                   CA
92930   3VWFD7AT9KM709328   Volkswagen       BEETLE              Houston                   TX
92931   3VWFD7AT9KM709345   Volkswagen       BEETLE              TAMPA                     FL
92932   3VWFD7AT9KM711371   Volkswagen       BEETLE              FRESNO                    CA
92933   3VWFD7AT9KM711466   Volkswagen       BEETLE              Las Vegas                 NV
92934   3VWFD7AT9KM711497   Volkswagen       BEETLE              Riverside                 CA
92935   3VWFD7AT9KM711788   Volkswagen       BEETLE              Santa Clara               CA
92936   3VWFD7AT9KM712083   Volkswagen       BEETLE              Sacramento                CA
92937   3VWFD7ATXKM706938   Volkswagen       BEETLE              SARASOTA                  FL
92938   3VWFD7ATXKM706986   Volkswagen       BEETLE              FORT MYERS                FL
92939   3VWFD7ATXKM707152   Volkswagen       BEETLE              Orlando                   FL
92940   3VWFD7ATXKM707247   Volkswagen       BEETLE              MORROW                    GA
92941   3VWFD7ATXKM707250   Volkswagen       BEETLE              ORLANDO                   FL
92942   3VWFD7ATXKM708947   Volkswagen       BEETLE              Sanford                   FL
92943   3VWFD7ATXKM709029   Volkswagen       BEETLE              Orlando                   FL
92944   3VWFD7ATXKM709032   Volkswagen       BEETLE              FORT MYERS                FL
92945   3VWFD7ATXKM709077   Volkswagen       BEETLE              Phoenix                   AZ
92946   3VWFD7ATXKM709080   Volkswagen       BEETLE              PLEASANTON                CA
92947   3VWFD7ATXKM709127   Volkswagen       BEETLE              Louisville                KY
92948   3VWFD7ATXKM709158   Volkswagen       BEETLE              Sanford                   FL
92949   3VWFD7ATXKM709211   Volkswagen       BEETLE              Richmond                  VA
92950   3VWFD7ATXKM709239   Volkswagen       BEETLE              Houston                   TX
92951   3VWFD7ATXKM711587   Volkswagen       BEETLE              Lake Elsinore             CA
92952   3VWFD7ATXKM711606   Volkswagen       BEETLE              BURBANK                   CA
92953   3VWFD7ATXKM711802   Volkswagen       BEETLE              SEATAC                    WA
92954   3VWG17AU0JM266538   Volkswagen       GOLF                Houston                   TX
92955   3VWG17AU7JM277679   Volkswagen       GOLF                Orlando                   FL
92956   3VWG57AU0KM008557   Volkswagen       GOLF                Rock Hill                 SC
92957   3VWG57AU0KM008705   Volkswagen       GOLF                Winston‐Salem             NC
92958   3VWG57AU0KM009014   Volkswagen       GOLF                MEDINA                    OH
92959   3VWG57AU0KM009787   Volkswagen       GOLF                Richmond                  VA
92960   3VWG57AU0KM010079   Volkswagen       GOLF                Marietta                  GA
92961   3VWG57AU0KM012477   Volkswagen       GOLF                ALBUQUERQUE               NM
92962   3VWG57AU0KM012768   Volkswagen       GOLF                Chicago                   IL
92963   3VWG57AU0KM013113   Volkswagen       GOLF                Burien                    WA
92964   3VWG57AU0KM018294   Volkswagen       GOLF                Webster                   NY
92965   3VWG57AU0KM018327   Volkswagen       GOLF                SAN FRANCISCO             CA
92966   3VWG57AU0KM018859   Volkswagen       GOLF                Richmond                  VA
92967   3VWG57AU1KM008602   Volkswagen       GOLF                SAN DIEGO                 US
92968   3VWG57AU1KM008762   Volkswagen       GOLF                Johnston                  RI
92969   3VWG57AU1KM009037   Volkswagen       GOLF                So. San Francis           CA
92970   3VWG57AU1KM010012   Volkswagen       GOLF                Denver                    CO
92971   3VWG57AU1KM010317   Volkswagen       GOLF                Houston                   TX
92972   3VWG57AU1KM013217   Volkswagen       GOLF                Webster                   NY
92973   3VWG57AU1KM015002   Volkswagen       GOLF                Webster                   NY
92974   3VWG57AU1KM019700   Volkswagen       GOLF                Johnston                  RI
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92975   3VWG57AU1KM019731   Volkswagen       GOLF                MILWAUKEE                 WI
92976   3VWG57AU2KM008849   Volkswagen       GOLF                Dallas                    TX
92977   3VWG57AU2KM010410   Volkswagen       GOLF                Rockville Centr           NY
92978   3VWG57AU2KM010424   Volkswagen       GOLF                PHOENIX                   AZ
92979   3VWG57AU2KM012819   Volkswagen       GOLF                Corpus Christi            TX
92980   3VWG57AU2KM013212   Volkswagen       GOLF                Santa Clara               CA
92981   3VWG57AU2KM013582   Volkswagen       GOLF                Colorado Spring           CO
92982   3VWG57AU2KM014795   Volkswagen       GOLF                Newark                    NJ
92983   3VWG57AU2KM015042   Volkswagen       GOLF                Charlotte                 NC
92984   3VWG57AU3KM008939   Volkswagen       GOLF                Windsor Locks             CT
92985   3VWG57AU3KM010240   Volkswagen       GOLF                Scottsdale                AZ
92986   3VWG57AU3KM013090   Volkswagen       GOLF                Englewood                 CO
92987   3VWG57AU3KM013235   Volkswagen       GOLF                Houston                   TX
92988   3VWG57AU3KM017589   Volkswagen       GOLF                Cincinnati                OH
92989   3VWG57AU3KM017592   Volkswagen       GOLF                LAS VEGAS                 NV
92990   3VWG57AU3KM018323   Volkswagen       GOLF                EULESS                    TX
92991   3VWG57AU4KM009243   Volkswagen       GOLF                ALBUQUERQUE               NM
92992   3VWG57AU4KM010053   Volkswagen       GOLF                Louisville                KY
92993   3VWG57AU4KM010084   Volkswagen       GOLF                Detroit                   MI
92994   3VWG57AU4KM010375   Volkswagen       GOLF                Charlotte                 NC
92995   3VWG57AU4KM012496   Volkswagen       GOLF                Harlingen                 TX
92996   3VWG57AU4KM012871   Volkswagen       GOLF                Austin                    TX
92997   3VWG57AU4KM012983   Volkswagen       GOLF                San Antonio               TX
92998   3VWG57AU4KM013213   Volkswagen       GOLF                PHOENIX                   AZ
92999   3VWG57AU4KM014779   Volkswagen       GOLF                CHICAGO                   IL
93000   3VWG57AU4KM017519   Volkswagen       GOLF                Rock Hill                 SC
93001   3VWG57AU4KM017570   Volkswagen       GOLF                Salt Lake City            UT
93002   3VWG57AU4KM017746   Volkswagen       GOLF                Hanover                   MD
93003   3VWG57AU4KM017763   Volkswagen       GOLF                Johnston                  RI
93004   3VWG57AU4KM018122   Volkswagen       GOLF                Hartford                  CT
93005   3VWG57AU4KM018413   Volkswagen       GOLF                Leesburg                  VA
93006   3VWG57AU4KM019660   Volkswagen       GOLF                Philadelphia              PA
93007   3VWG57AU5KM010143   Volkswagen       GOLF                LOS ANGELES               CA
93008   3VWG57AU5KM012717   Volkswagen       GOLF                San Antonio               TX
93009   3VWG57AU5KM013110   Volkswagen       GOLF                Phoenix                   AZ
93010   3VWG57AU5KM013432   Volkswagen       GOLF                Phoenix                   AZ
93011   3VWG57AU5KM013690   Volkswagen       GOLF                SOUTH BEND                IN
93012   3VWG57AU5KM014662   Volkswagen       GOLF                Cincinnati                OH
93013   3VWG57AU5KM014967   Volkswagen       GOLF                MIDLAND                   TX
93014   3VWG57AU5KM015018   Volkswagen       GOLF                Lynn                      MA
93015   3VWG57AU5KM017884   Volkswagen       GOLF                Winston‐Salem             NC
93016   3VWG57AU5KM018307   Volkswagen       GOLF                Charlotte                 NC
93017   3VWG57AU5KM019733   Volkswagen       GOLF                Baltimore                 MD
93018   3VWG57AU6KM012516   Volkswagen       GOLF                Harlingen                 TX
93019   3VWG57AU6KM012600   Volkswagen       GOLF                ST Paul                   MN
93020   3VWG57AU6KM013178   Volkswagen       GOLF                Winston‐Salem             NC
93021   3VWG57AU6KM013214   Volkswagen       GOLF                Hartford                  CT
93022   3VWG57AU6KM017683   Volkswagen       GOLF                Alexandria                VA
93023   3VWG57AU6KM019711   Volkswagen       GOLF                Charleston                WV
93024   3VWG57AU6KM019742   Volkswagen       GOLF                Lynn                      MA
93025   3VWG57AU6KM019899   Volkswagen       GOLF                Webster                   NY
93026   3VWG57AU7KM008667   Volkswagen       GOLF                Dallas                    TX
93027   3VWG57AU7KM009088   Volkswagen       GOLF                Woodhaven                 MI
93028   3VWG57AU7KM010127   Volkswagen       GOLF                Norfolk                   VA
93029   3VWG57AU7KM010449   Volkswagen       GOLF                Torrance                  CA
93030   3VWG57AU7KM012914   Volkswagen       GOLF                N. Palm Beach             FL
93031   3VWG57AU7KM012993   Volkswagen       GOLF                Austin                    TX
93032   3VWG57AU7KM013030   Volkswagen       GOLF                Dallas                    TX
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93033   3VWG57AU7KM013285   Volkswagen       GOLF                Sacramento                CA
93034   3VWG57AU7KM013609   Volkswagen       GOLF                N. Palm Beach             FL
93035   3VWG57AU7KM013626   Volkswagen       GOLF                Austin                    TX
93036   3VWG57AU7KM014789   Volkswagen       GOLF                Webster                   NY
93037   3VWG57AU7KM014954   Volkswagen       GOLF                Marietta                  GA
93038   3VWG57AU7KM014985   Volkswagen       GOLF                COLUMBIA                  SC
93039   3VWG57AU7KM015053   Volkswagen       GOLF                Des Plaines               IL
93040   3VWG57AU7KM017577   Volkswagen       GOLF                LAS VEGAS                 NV
93041   3VWG57AU7KM017613   Volkswagen       GOLF                Santa Clara               CA
93042   3VWG57AU7KM018082   Volkswagen       GOLF                Sacramento                CA
93043   3VWG57AU8KM008807   Volkswagen       GOLF                Charlotte                 NC
93044   3VWG57AU8KM013053   Volkswagen       GOLF                Scottsdale                AZ
93045   3VWG57AU8KM013621   Volkswagen       GOLF                Dallas                    TX
93046   3VWG57AU8KM014834   Volkswagen       GOLF                Winston‐Salem             NC
93047   3VWG57AU8KM017474   Volkswagen       GOLF                Lynn                      MA
93048   3VWG57AU8KM017569   Volkswagen       GOLF                Marietta                  GA
93049   3VWG57AU8KM017684   Volkswagen       GOLF                Riverside                 CA
93050   3VWG57AU8KM017894   Volkswagen       GOLF                Hamilton                  OH
93051   3VWG57AU9KM008587   Volkswagen       GOLF                Houston                   TX
93052   3VWG57AU9KM009741   Volkswagen       GOLF                MEDINA                    OH
93053   3VWG57AU9KM009805   Volkswagen       GOLF                Fresno                    CA
93054   3VWG57AU9KM010050   Volkswagen       GOLF                Newark                    NJ
93055   3VWG57AU9KM011280   Volkswagen       GOLF                Phoenix                   AZ
93056   3VWG57AU9KM012980   Volkswagen       GOLF                Johnston                  RI
93057   3VWG57AU9KM013580   Volkswagen       GOLF                Memphis                   TN
93058   3VWG57AU9KM014986   Volkswagen       GOLF                Cincinnati                OH
93059   3VWG57AU9KM017483   Volkswagen       GOLF                INDIANAPOLIS              IN
93060   3VWG57AU9KM017886   Volkswagen       GOLF                Rockville Centr           NY
93061   3VWG57AU9KM017919   Volkswagen       GOLF                Johnston                  RI
93062   3VWG57AU9KM018374   Volkswagen       GOLF                WARWICK                   RI
93063   3VWG57AU9KM018570   Volkswagen       GOLF                Detroit                   MI
93064   3VWG57AUXKM008825   Volkswagen       GOLF                Tulsa                     OK
93065   3VWG57AUXKM009151   Volkswagen       GOLF                NASHVILLE                 TN
93066   3VWG57AUXKM010414   Volkswagen       GOLF                Cincinnati                OH
93067   3VWG57AUXKM010428   Volkswagen       GOLF                Memphis                   TN
93068   3VWG57AUXKM012471   Volkswagen       GOLF                Houston                   TX
93069   3VWG57AUXKM012681   Volkswagen       GOLF                Hendersonville            TN
93070   3VWG57AUXKM013278   Volkswagen       GOLF                Harvey                    LA
93071   3VWG57AUXKM013622   Volkswagen       GOLF                Austin                    TX
93072   3VWG57AUXKM015208   Volkswagen       GOLF                Lynn                      MA
93073   3VWG57AUXKM017590   Volkswagen       GOLF                PORTLAND                  ME
93074   3VWG57AUXKM017766   Volkswagen       GOLF                Clearwater                FL
93075   3VWG57AUXKM018481   Volkswagen       GOLF                BALTIMORE                 MD
93076   3VWG57AUXKM019792   Volkswagen       GOLF                Massapequa                NY
93077   3VWG57AUXKM019906   Volkswagen       GOLF                Johnston                  RI
93078   3VWL17AJ9FM282491   Volkswagen       JETTA               Hayward                   CA
93079   431BF1FK5HU399543   Toyota           CAMRY               DETROIT                   MI
93080   4JGDA5HB0HA930841   Mercedes         GLE350              North Las Vegas           NV
93081   4JGDA5HB0JB124949   Mercedes         GLE350              DAYTONA BEACH             FL
93082   4JGDA5HB1HA942397   Mercedes         GLE350              Riverside                 CA
93083   4JGDA5HB2JB124922   Mercedes         GLE350              Winter Park               FL
93084   4JGDA5HB2JB125133   Mercedes         GLE350              MIAMI                     FL
93085   4JGDA5HB3HA944460   Mercedes         GLE350              TRACY                     CA
93086   4JGDA5HB4HA935170   Mercedes         GLE350              Riverside                 CA
93087   4JGDA5HB4JB125392   Mercedes         GLE350              Ocoee                     FL
93088   4JGDA5HB4JB137641   Mercedes         GLE350              BROOKLYN                  NY
93089   4JGDA5HB5JB122873   Mercedes         GLE350              WEST PALM BEACH           FL
93090   4JGDA5HB5JB125577   Mercedes         GLE350              ORLANDO                   FL
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93091   4JGDA5HB5JB136496   Mercedes       GLE350              Matteson                  IL
93092   4JGDA5HB6HA934330   Mercedes       GLE350              North Las Vegas           NV
93093   4JGDA5HB6HA935977   Mercedes       GLE350              North Las Vegas           NV
93094   4JGDA5HB6JB123353   Mercedes       GLE350              CHARLESTON                SC
93095   4JGDA5HB6JB124079   Mercedes       GLE350              TAMPA                     FL
93096   4JGDA5HB7JB137259   Mercedes       GLE350              MIAMI                     FL
93097   4JGDA5HB8HA935396   Mercedes       GLE350              Fontana                   CA
93098   4JGDA5HB8HA941831   Mercedes       GLE350              TRACY                     CA
93099   4JGDA5HB8JB123550   Mercedes       GLE350              DAYTONA BEACH             FL
93100   4JGDA5HB8JB132877   Mercedes       GLE350              Tolleson                  AZ
93101   4JGDA5HB9HA934466   Mercedes       GLE350              Honolulu                  HI
93102   4JGDA5HB9HA935570   Mercedes       GLE350              North Las Vegas           NV
93103   4JGDA5HB9JB123184   Mercedes       GLE350              SHREVEPORT                LA
93104   4JGDA5HBXHA935044   Mercedes       GLE350              Riverside                 CA
93105   4JGDF6EE0KB233127   Mercedes       GLS450              Palm Springs              CA
93106   4JGDF6EE0KB238148   Mercedes       GLS450              SANTA ANA                 CA
93107   4JGDF6EE0KB238408   Mercedes       GLS450              RONKONKOMA                NY
93108   4JGDF6EE0KB238554   Mercedes       GLS450              SANTA ANA                 CA
93109   4JGDF6EE1HA945015   Mercedes       GLS450              North Las Vegas           NV
93110   4JGDF6EE1KB233282   Mercedes       GLS450              LOS ANGELES               CA
93111   4JGDF6EE1KB233864   Mercedes       GLS450              BURBANK                   CA
93112   4JGDF6EE1KB234111   Mercedes       GLS450              SAN JOSE                  CA
93113   4JGDF6EE2JB116793   Mercedes       GLS450              DAYTONA BEACH             FL
93114   4JGDF6EE2JB119368   Mercedes       GLS450              West Palm Beach           FL
93115   4JGDF6EE2JB120178   Mercedes       GLS450              San Diego                 CA
93116   4JGDF6EE2JB121878   Mercedes       GLS450              Dania                     FL
93117   4JGDF6EE2KB233548   Mercedes       GLS450              SANTA ANA                 CA
93118   4JGDF6EE2KB237616   Mercedes       GLS450              LOS ANGELES               CA
93119   4JGDF6EE2KB238359   Mercedes       GLS450              BURBANK                   CA
93120   4JGDF6EE3HA943542   Mercedes       GLS450              TRACY                     CA
93121   4JGDF6EE3KB233428   Mercedes       GLS450              PLEASANTON                CA
93122   4JGDF6EE3KB233915   Mercedes       GLS450              ORLANDO                   FL
93123   4JGDF6EE3KB234126   Mercedes       GLS450              SARASOTA                  FL
93124   4JGDF6EE4JB119565   Mercedes       GLS450              MIAMI                     FL
93125   4JGDF6EE4KB234684   Mercedes       GLS450              TRACY                     CA
93126   4JGDF6EE5KB234080   Mercedes       GLS450              SARASOTA                  FL
93127   4JGDF6EE5KB238579   Mercedes       GLS450              Santa Clara               CA
93128   4JGDF6EE6HA948864   Mercedes       GLS450              North Las Vegas           NV
93129   4JGDF6EE6JB120443   Mercedes       GLS450              Clearwater                FL
93130   4JGDF6EE6KB234329   Mercedes       GLS450              FORT MYERS                FL
93131   4JGDF6EE6KB238817   Mercedes       GLS450              LAS VEGAS                 NV
93132   4JGDF6EE7KB233299   Mercedes       GLS450              SEATTLE                   WA
93133   4JGDF6EE7KB233318   Mercedes       GLS450              Lake Elsinore             CA
93134   4JGDF6EE7KB233917   Mercedes       GLS450              FT. LAUDERDALE            FL
93135   4JGDF6EE8HA942984   Mercedes       GLS450              Kahului                   HI
93136   4JGDF6EE9HA942637   Mercedes       GLS450              SAN FRANCISCO             CA
93137   4JGDF6EE9KB233398   Mercedes       GLS450              ORLANDO                   FL
93138   4JGDF6EEXKB234267   Mercedes       GLS450              FT. LAUDERDALE            FL
93139   4S3BNAC61G3040662   Subaru         LEGACY              SOUTH SAN FRANC           CA
93140   4S3BNAC61H3058418   Subaru         LEGACY              TAMPA                     FL
93141   4S3BNAF60J3042177   Subaru         LEGACY              DENVER                    CO
93142   4S3BNAF60J3042244   Subaru         LEGACY              Tampa                     FL
93143   4S3BNAF60J3044883   Subaru         LEGACY              EL PASO                   TX
93144   4S3BNAF60J3045144   Subaru         LEGACY              HARTFORD                  CT
93145   4S3BNAF61J3044827   Subaru         LEGACY              ORLANDO                   FL
93146   4S3BNAF61J3045413   Subaru         LEGACY              SACRAMENTO                CA
93147   4S3BNAF62J3036686   Subaru         LEGACY              BOSTON                    MA
93148   4S3BNAF62J3042374   Subaru         LEGACY              ALBUQERQUE                NM
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93149   4S3BNAF62J3042455   Subaru       LEGACY              LAS VEGAS                 NV
93150   4S3BNAF62J3042830   Subaru       LEGACY              Manheim                   PA
93151   4S3BNAF62J3044822   Subaru       LEGACY              Miami                     FL
93152   4S3BNAF62J3045081   Subaru       LEGACY              STERLING                  VA
93153   4S3BNAF63J3042111   Subaru       LEGACY              DENVER                    CO
93154   4S3BNAF63J3042142   Subaru       LEGACY              Phoenix                   AZ
93155   4S3BNAF63J3042674   Subaru       LEGACY              SAN DIEGO                 CA
93156   4S3BNAF64J3042327   Subaru       LEGACY              DENVER                    CO
93157   4S3BNAF64J3042490   Subaru       LEGACY              Norfolk                   VA
93158   4S3BNAF64J3043168   Subaru       LEGACY              Atlanta                   GA
93159   4S3BNAF65J3045091   Subaru       LEGACY              TAMPA                     FL
93160   4S3BNAF66J3042085   Subaru       LEGACY              San Antonio               TX
93161   4S3BNAF66J3042314   Subaru       LEGACY              GYPSUM                    CO
93162   4S3BNAF66J3042457   Subaru       LEGACY              San Antonio               TX
93163   4S3BNAF66J3042474   Subaru       LEGACY              DENVER                    CO
93164   4S3BNAF66J3042541   Subaru       LEGACY              CHICAGO                   IL
93165   4S3BNAF66J3042636   Subaru       LEGACY              INDIANAPOLIS              IN
93166   4S3BNAF66J3043964   Subaru       LEGACY              COLUMBUS                  OH
93167   4S3BNAF67J3042077   Subaru       LEGACY              TUCSON                    AZ
93168   4S3BNAF67J3042497   Subaru       LEGACY              KENNER                    LA
93169   4S3BNAF67J3042581   Subaru       LEGACY              Euless                    TX
93170   4S3BNAF67J3043083   Subaru       LEGACY              PASADENA                  MD
93171   4S3BNAF67J3043486   Subaru       LEGACY              BROOKLYN                  NY
93172   4S3BNAF68J3041343   Subaru       LEGACY              NORTH PAC                 CA
93173   4S3BNAF68J3041844   Subaru       LEGACY              TAMPA                     US
93174   4S3BNAF68J3041956   Subaru       LEGACY              Slidell                   LA
93175   4S3BNAF68J3042170   Subaru       LEGACY              DENVER                    CO
93176   4S3BNAF69J3041755   Subaru       LEGACY              HOUSTON                   TX
93177   4S3BNAF69J3041979   Subaru       LEGACY              LOS ANGELES               CA
93178   4S3BNAF69J3042212   Subaru       LEGACY              Fredericksburg            VA
93179   4S3BNAF69J3042565   Subaru       LEGACY              GYPSUM                    CO
93180   4S3BNAF69J3043201   Subaru       LEGACY              SAINT LOUIS               MO
93181   4S3BNAF6XJ3036709   Subaru       LEGACY              STERLING                  VA
93182   4S3BNAF6XJ3042140   Subaru       LEGACY              BOISE                     US
93183   4S3BNAF6XJ3042624   Subaru       LEGACY              Aberdeen                  MD
93184   4S3BNAF6XJ3042638   Subaru       LEGACY              Denver                    CO
93185   4S3BNAF6XJ3044390   Subaru       LEGACY              HARTFORD                  CT
93186   4S3BNAN60J3041290   Subaru       LEGACY              AUSTIN                    TX
93187   4S3BNAN61G3052890   Subaru       LEGACY              PALM SPRINGS              CA
93188   4S3BNAN61J3041881   Subaru       LEGACY              SACRAMENTO                CA
93189   4S3BNAN61J3042349   Subaru       LEGACY              DENVER                    CO
93190   4S3BNAN62J3041761   Subaru       LEGACY              Denver                    CO
93191   4S3BNAN63J3044328   Subaru       LEGACY              SAN DIEGO                 CA
93192   4S3BNAN64J3036903   Subaru       LEGACY              Ocoee                     FL
93193   4S3BNAN64J3041499   Subaru       LEGACY              Greensboro                NC
93194   4S3BNAN64J3041762   Subaru       LEGACY              PHOENIX                   AZ
93195   4S3BNAN65G3051354   Subaru       LEGACY              North Dighton             MA
93196   4S3BNAN65J3042211   Subaru       LEGACY              Albuquerque               NM
93197   4S3BNAN65J3043794   Subaru       LEGACY              LOS ANGELES               CA
93198   4S3BNAN67J3040315   Subaru       LEGACY              PHILADELPHIA              PA
93199   4S3BNAN68J3040260   Subaru       LEGACY              DENVER                    CO
93200   4S3BNAN68J3042171   Subaru       LEGACY              Middletown                PA
93201   4S3BNAN69J3041630   Subaru       LEGACY              WINTER PARK               FL
93202   4S3BNAN69J3042051   Subaru       LEGACY              SAN JOSE                  CA
93203   4S3GKAA61K3620021   Subaru       IMPREZA             Scottsdale                AZ
93204   4S3GKAA62K3609495   Subaru       IMPREZA             Portland                  OR
93205   4S3GKAA62K3610761   Subaru       IMPREZA             Las Vegas                 NV
93206   4S3GKAA62K3614311   Subaru       IMPREZA             PALM SPRINGS              CA
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93207   4S3GKAA63K3611210   Subaru       IMPREZA             JACKSON                   MS
93208   4S3GKAA64K3610826   Subaru       IMPREZA             DFW AIRPORT               TX
93209   4S3GKAA64K3614617   Subaru       IMPREZA             SAN DIEGO                 CA
93210   4S3GKAA65K3606736   Subaru       IMPREZA             SAN DIEGO                 CA
93211   4S3GKAA65K3613704   Subaru       IMPREZA             SAN JOSE                  CA
93212   4S3GKAA66K3610732   Subaru       IMPREZA             LAS VEGAS                 NV
93213   4S3GKAA66K3610813   Subaru       IMPREZA             Fresno                    CA
93214   4S3GKAA66K3617583   Subaru       IMPREZA             Phoenix                   AZ
93215   4S3GKAA67K3606690   Subaru       IMPREZA             SANTA BARBARA             CA
93216   4S3GKAA67K3608634   Subaru       IMPREZA             SAN DIEGO                 CA
93217   4S3GKAA67K3613767   Subaru       IMPREZA             Kansas City               MO
93218   4S3GKAA67K3615339   Subaru       IMPREZA             SAN DIEGO                 CA
93219   4S3GKAA67K3621884   Subaru       IMPREZA             Colorado Spring           CO
93220   4S3GKAA68K3615351   Subaru       IMPREZA             SANTA BARBARA             CA
93221   4S3GKAA68K3619139   Subaru       IMPREZA             Phoenix                   AZ
93222   4S3GKAA68K3619142   Subaru       IMPREZA             LOS ANGELES               CA
93223   4S3GKAA68K3624079   Subaru       IMPREZA             Phoenix                   AZ
93224   4S3GKAA68K3625684   Subaru       IMPREZA             Hebron                    KY
93225   4S3GKAA69K3608523   Subaru       IMPREZA             TAMPA                     US
93226   4S3GKAA69K3611275   Subaru       IMPREZA             SAN DIEGO                 CA
93227   4S3GKAA69K3613866   Subaru       IMPREZA             SAINT PAUL                MN
93228   4S3GKAA69K3619229   Subaru       IMPREZA             SEATAC                    WA
93229   4S3GKAA69K3624138   Subaru       IMPREZA             Portland                  OR
93230   4S3GKAA6XK3606733   Subaru       IMPREZA             ONTARIO                   CA
93231   4S3GKAA6XK3608935   Subaru       IMPREZA             SAN DIEGO                 CA
93232   4S3GKAA6XK3613858   Subaru       IMPREZA             NEWARK                    NJ
93233   4S3GKAB64J3621029   Subaru       IMPREZA             Portland                  OR
93234   4S3GKAB68J3619087   Subaru       IMPREZA             SAN JOSE                  CA
93235   4S3GKAB6XJ3618023   Subaru       IMPREZA             Live Oak                  TX
93236   4S3GKAD60J3615905   Subaru       IMPREZA             San Diego                 CA
93237   4S3GKAD61J3622815   Subaru       IMPREZA             Ventura                   CA
93238   4S3GKAD67J3602052   Subaru       IMPREZA             Hayward                   CA
93239   4S3GKAD68J3615344   Subaru       IMPREZA             Statesville               NC
93240   4S4BSAFC0J3379328   Subaru       OUTBACK             PHOENIX                   AZ
93241   4S4BSAFC0J3383007   Subaru       OUTBACK             Atlanta                   GA
93242   4S4BSAFC0K3278257   Subaru       OUTBACK             SAN DIEGO                 CA
93243   4S4BSAFC0K3356018   Subaru       OUTBACK             Matteson                  IL
93244   4S4BSAFC0K3356682   Subaru       OUTBACK             CHICAGO                   IL
93245   4S4BSAFC0K3371263   Subaru       OUTBACK             COLORADO SPRING           CO
93246   4S4BSAFC0K3371876   Subaru       OUTBACK             Salt Lake City            UT
93247   4S4BSAFC1K3281555   Subaru       OUTBACK             DENVER                    CO
93248   4S4BSAFC1K3286836   Subaru       OUTBACK             DENVER                    CO
93249   4S4BSAFC1K3354276   Subaru       OUTBACK             STERLING                  VA
93250   4S4BSAFC2J3360652   Subaru       OUTBACK             Denver                    CO
93251   4S4BSAFC2J3383011   Subaru       OUTBACK             GRAND JUNCTION            C
93252   4S4BSAFC2K3353461   Subaru       OUTBACK             CHICAGO                   IL
93253   4S4BSAFC2K3354223   Subaru       OUTBACK             WINDSOR LOCKS             CT
93254   4S4BSAFC3J3344461   Subaru       OUTBACK             NEWARK                    NJ
93255   4S4BSAFC3J3345657   Subaru       OUTBACK             Cleveland                 OH
93256   4S4BSAFC3J3378321   Subaru       OUTBACK             Hayward                   CA
93257   4S4BSAFC3J3378898   Subaru       OUTBACK             Detroit                   MI
93258   4S4BSAFC3K3276986   Subaru       OUTBACK             ORLANDO                   FL
93259   4S4BSAFC3K3351623   Subaru       OUTBACK             WHITE PLAINS              NY
93260   4S4BSAFC3K3371094   Subaru       OUTBACK             DENVER                    CO
93261   4S4BSAFC4J3364637   Subaru       OUTBACK             LAS VEGAS                 NV
93262   4S4BSAFC4J3381910   Subaru       OUTBACK             SAN DIEGO                 CA
93263   4S4BSAFC4K3275927   Subaru       OUTBACK             SANTA CLARA               CA
93264   4S4BSAFC4K3277502   Subaru       OUTBACK             DENVER                    CO
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93265   4S4BSAFC4K3358564   Subaru       OUTBACK             BOISE                     ID
93266   4S4BSAFC5J3361293   Subaru       OUTBACK             Atlanta                   GA
93267   4S4BSAFC5J3363089   Subaru       OUTBACK             DETROIT                   MI
93268   4S4BSAFC5K3260157   Subaru       OUTBACK             PHOENIX                   AZ
93269   4S4BSAFC5K3329252   Subaru       OUTBACK             DALLAS                    TX
93270   4S4BSAFC5K3358220   Subaru       OUTBACK             DES PLAINES               US
93271   4S4BSAFC6J3369564   Subaru       OUTBACK             Statesville               NC
93272   4S4BSAFC6J3378880   Subaru       OUTBACK             Caledonia                 WI
93273   4S4BSAFC6K3276965   Subaru       OUTBACK             Pheonix                   AZ
93274   4S4BSAFC6K3282197   Subaru       OUTBACK             LOS ANGELES               CA
93275   4S4BSAFC6K3352104   Subaru       OUTBACK             NORFOLK                   VA
93276   4S4BSAFC6K3371929   Subaru       OUTBACK             DES MOINES                IA
93277   4S4BSAFC7J3341787   Subaru       OUTBACK             NEW YORK CITY             NY
93278   4S4BSAFC7J3361599   Subaru       OUTBACK             COLUMBUS                  OH
93279   4S4BSAFC7J3362056   Subaru       OUTBACK             Mira Loma                 CA
93280   4S4BSAFC7J3363093   Subaru       OUTBACK             Bordentown                NJ
93281   4S4BSAFC7K3250004   Subaru       OUTBACK             Dallas                    TX
93282   4S4BSAFC7K3275839   Subaru       OUTBACK             Hebron                    KY
93283   4S4BSAFC7K3278160   Subaru       OUTBACK             DENVER                    CO
93284   4S4BSAFC7K3334324   Subaru       OUTBACK             WEST PALM BEACH           FL
93285   4S4BSAFC7K3353228   Subaru       OUTBACK             Nashville                 TN
93286   4S4BSAFC7K3354136   Subaru       OUTBACK             Fontana                   CA
93287   4S4BSAFC8J3364303   Subaru       OUTBACK             Atlanta                   GA
93288   4S4BSAFC8K3258614   Subaru       OUTBACK             NEW YORK CITY             NY
93289   4S4BSAFC8K3278426   Subaru       OUTBACK             DENVER                    CO
93290   4S4BSAFC8K3287501   Subaru       OUTBACK             GREENSBORO                NC
93291   4S4BSAFC8K3349561   Subaru       OUTBACK             TAMPA                     FL
93292   4S4BSAFC8K3370054   Subaru       OUTBACK             PORTLAND                  OR
93293   4S4BSAFC9J3347882   Subaru       OUTBACK             COLORADO SPRING           CO
93294   4S4BSAFC9J3378274   Subaru       OUTBACK             LAS VEGAS                 NV
93295   4S4BSAFC9K3227890   Subaru       OUTBACK             ALBUQERQUE                NM
93296   4S4BSAFC9K3352081   Subaru       OUTBACK             Teterboro                 NJ
93297   4S4BSAFC9K3354400   Subaru       OUTBACK             GRAND RAPIDS              MI
93298   4S4BSAFC9K3373383   Subaru       OUTBACK             CHICAGO                   IL
93299   4S4BSAFCXJ3358504   Subaru       OUTBACK             DAYTONA BEACH             FL
93300   4S4BSAFCXK3373232   Subaru       OUTBACK             LOS ANGELES               CA
93301   4S4BSANC0K3283492   Subaru       OUTBACK             SAN FRANCISCO             CA
93302   4S4BSANC0K3334991   Subaru       OUTBACK             Denver                    CO
93303   4S4BSANC0K3335235   Subaru       OUTBACK             CHICAGO                   US
93304   4S4BSANC0K3336658   Subaru       OUTBACK             KENNER                    LA
93305   4S4BSANC0K3336773   Subaru       OUTBACK             KENNER                    LA
93306   4S4BSANC0K3337597   Subaru       OUTBACK             RONKONKOMA                NY
93307   4S4BSANC0K3350625   Subaru       OUTBACK             Teterboro                 NJ
93308   4S4BSANC0K3352407   Subaru       OUTBACK             SAINT PAUL                MN
93309   4S4BSANC0K3355405   Subaru       OUTBACK             GYPSUM                    CO
93310   4S4BSANC0K3371314   Subaru       OUTBACK             SALT LAKE CITY            UT
93311   4S4BSANC1K3334756   Subaru       OUTBACK             BOSTON                    MA
93312   4S4BSANC1K3337365   Subaru       OUTBACK             VANDALIA                  OH
93313   4S4BSANC1K3354148   Subaru       OUTBACK             BIRMINGHAN                AL
93314   4S4BSANC1K3354649   Subaru       OUTBACK             EGG HARBOR TOWN           NJ
93315   4S4BSANC1K3354750   Subaru       OUTBACK             ORLANDO                   FL
93316   4S4BSANC1K3355753   Subaru       OUTBACK             CHICAGO                   IL
93317   4S4BSANC1K3356157   Subaru       OUTBACK             Livonia                   MI
93318   4S4BSANC1K3357583   Subaru       OUTBACK             CHICAGO                   IL
93319   4S4BSANC1K3357602   Subaru       OUTBACK             SAINT PAUL                MN
93320   4S4BSANC1K3377185   Subaru       OUTBACK             AUSTIN                    TX
93321   4S4BSANC1K3379857   Subaru       OUTBACK             DENVER                    CO
93322   4S4BSANC2J3374763   Subaru       OUTBACK             LOS ANGELES               CA
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93323   4S4BSANC2K3335012   Subaru       OUTBACK             CHICAGO                   IL
93324   4S4BSANC2K3350691   Subaru       OUTBACK             RICHMOND                  VA
93325   4S4BSANC2K3350982   Subaru       OUTBACK             NORFOLK                   VA
93326   4S4BSANC2K3369936   Subaru       OUTBACK             HANOVER                   MD
93327   4S4BSANC2K3371038   Subaru       OUTBACK             ALBUQUERQUE               NM
93328   4S4BSANC2K3371749   Subaru       OUTBACK             DENVER                    CO
93329   4S4BSANC2K3371881   Subaru       OUTBACK             DES MOINES                IA
93330   4S4BSANC3K3335441   Subaru       OUTBACK             COLUMBUS                  OH
93331   4S4BSANC3K3350621   Subaru       OUTBACK             CHICAGO                   IL
93332   4S4BSANC3K3352126   Subaru       OUTBACK             JAMAICA                   NY
93333   4S4BSANC3K3352479   Subaru       OUTBACK             Schaumburg                IL
93334   4S4BSANC3K3370481   Subaru       OUTBACK             KNOXVILLE                 TN
93335   4S4BSANC4K3284256   Subaru       OUTBACK             CHICAGO                   IL
93336   4S4BSANC4K3351194   Subaru       OUTBACK             RALIEGH                   NC
93337   4S4BSANC4K3355696   Subaru       OUTBACK             FORT MYERS                FL
93338   4S4BSANC4K3356394   Subaru       OUTBACK             GRAND RAPIDS              MI
93339   4S4BSANC4K3356685   Subaru       OUTBACK             Hebron                    KY
93340   4S4BSANC4K3358047   Subaru       OUTBACK             NASHVILLE                 TN
93341   4S4BSANC4K3371056   Subaru       OUTBACK             LAS VEGAS                 NV
93342   4S4BSANC4K3372014   Subaru       OUTBACK             SAN FRANCISCO             CA
93343   4S4BSANC5K3283603   Subaru       OUTBACK             ST PAUL                   MN
93344   4S4BSANC5K3356209   Subaru       OUTBACK             PHILADELPHIA              PA
93345   4S4BSANC5K3356873   Subaru       OUTBACK             CHICAGO                   IL
93346   4S4BSANC5K3357117   Subaru       OUTBACK             Cincinnati                OH
93347   4S4BSANC5K3369669   Subaru       OUTBACK             Dallas                    TX
93348   4S4BSANC5K3375021   Subaru       OUTBACK             DENVER                    CO
93349   4S4BSANC5K3375326   Subaru       OUTBACK             Hebron                    KY
93350   4S4BSANC6K3350192   Subaru       OUTBACK             KANSAS CITY               MO
93351   4S4BSANC6K3350502   Subaru       OUTBACK             GREENWOOD                 IN
93352   4S4BSANC6K3356378   Subaru       OUTBACK             PITTSBURGH                PA
93353   4S4BSANC6K3356977   Subaru       OUTBACK             Parkville                 MD
93354   4S4BSANC6K3357045   Subaru       OUTBACK             DENVER                    CO
93355   4S4BSANC6K3357854   Subaru       OUTBACK             BEAUMONT                  TX
93356   4S4BSANC6K3373469   Subaru       OUTBACK             DENVER                    CO
93357   4S4BSANC6K3376047   Subaru       OUTBACK             TAMPA                     FL
93358   4S4BSANC7J3358753   Subaru       OUTBACK             PHILADELPHIA              PA
93359   4S4BSANC7J3359272   Subaru       OUTBACK             DANIA BEACH               FL
93360   4S4BSANC7K3281318   Subaru       OUTBACK             Atlanta                   GA
93361   4S4BSANC7K3283778   Subaru       OUTBACK             FORT LAUDERDALE           FL
93362   4S4BSANC7K3358494   Subaru       OUTBACK             Atlanta                   GA
93363   4S4BSANC7K3372671   Subaru       OUTBACK             WICHITA FALLS             TX
93364   4S4BSANC7K3376316   Subaru       OUTBACK             Colorado Spring           CO
93365   4S4BSANC8J3337894   Subaru       OUTBACK             BALTIMORE                 MD
93366   4S4BSANC8J3355456   Subaru       OUTBACK             SOUTHEAST DST OFFC        OK
93367   4S4BSANC8J3359135   Subaru       OUTBACK             LAS VEGAS                 NV
93368   4S4BSANC8K3329716   Subaru       OUTBACK             HARTFORD                  CT
93369   4S4BSANC8K3351862   Subaru       OUTBACK             GRAND RAPIDS              MI
93370   4S4BSANC9J3356793   Subaru       OUTBACK             El Paso                   TX
93371   4S4BSANC9J3357541   Subaru       OUTBACK             Bordentown                NJ
93372   4S4BSANC9K3283653   Subaru       OUTBACK             DENVER                    CO
93373   4S4BSANC9K3354687   Subaru       OUTBACK             CHICAGO                   IL
93374   4S4BSANC9K3355497   Subaru       OUTBACK             KNOXVILLE                 TN
93375   4S4BSANC9K3371974   Subaru       OUTBACK             COLLEGE PARK              GA
93376   4S4BSANC9K3373059   Subaru       OUTBACK             Colorado Spring           CO
93377   4S4BSANC9K3376446   Subaru       OUTBACK             DENVER                    CO
93378   4S4BSANCXJ3268562   Subaru       OUTBACK             Ocoee                     FL
93379   4S4BSANCXJ3337704   Subaru       OUTBACK             STERLING                  VA
93380   4S4BSANCXJ3356060   Subaru       OUTBACK             Manheim                   PA
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93381   4S4BSANCXJ3357998   Subaru       OUTBACK             SALT LAKE CITY            US
93382   4S4BSANCXK3281717   Subaru       OUTBACK             DENVER                    CO
93383   4S4BSANCXK3349577   Subaru       OUTBACK             DENVER                    CO
93384   4S4BSANCXK3358540   Subaru       OUTBACK             LOUISVILLE                KY
93385   4T1B11HK0JU053112   Toyota       CAMRY               Jacksonville              FL
93386   4T1B11HK0JU096817   Toyota       CAMRY               ORLANDO                   FL
93387   4T1B11HK0JU096848   Toyota       CAMRY               Hartford                  CT
93388   4T1B11HK0JU097126   Toyota       CAMRY               SEATTLE                   WA
93389   4T1B11HK0JU099054   Toyota       CAMRY               TRACY                     CA
93390   4T1B11HK0JU099393   Toyota       CAMRY               NORTH PAC                 CA
93391   4T1B11HK0JU100655   Toyota       CAMRY               HOUSTON                   TX
93392   4T1B11HK0JU100686   Toyota       CAMRY               NEW ENGLAND DEALER        MA
93393   4T1B11HK0JU101322   Toyota       CAMRY               Atlanta                   GA
93394   4T1B11HK0JU101465   Toyota       CAMRY               Elkridge                  MD
93395   4T1B11HK0JU101546   Toyota       CAMRY               Dallas                    TX
93396   4T1B11HK0JU101966   Toyota       CAMRY               Baltimore                 MD
93397   4T1B11HK0JU103068   Toyota       CAMRY               NEWARK                    NJ
93398   4T1B11HK0JU103412   Toyota       CAMRY               TAMPA                     FL
93399   4T1B11HK0JU112837   Toyota       CAMRY               PLEASANTON                CA
93400   4T1B11HK0JU121991   Toyota       CAMRY               MIAMI                     FL
93401   4T1B11HK0JU123532   Toyota       CAMRY               PHOENIX                   AZ
93402   4T1B11HK0JU124308   Toyota       CAMRY               WEST CENTRAL DEALE        CO
93403   4T1B11HK0JU125216   Toyota       CAMRY               Matteson                  IL
93404   4T1B11HK0JU125426   Toyota       CAMRY               Scottsdale                AZ
93405   4T1B11HK0JU125667   Toyota       CAMRY               Atlanta                   GA
93406   4T1B11HK0JU126527   Toyota       CAMRY               LOS ANGELES               CA
93407   4T1B11HK0JU126897   Toyota       CAMRY               SEATTLE                   WA
93408   4T1B11HK0JU127483   Toyota       CAMRY               SAN JOSE                  CA
93409   4T1B11HK0JU134031   Toyota       CAMRY               PHILADELPHIA              PA
93410   4T1B11HK0JU135227   Toyota       CAMRY               Orlando                   FL
93411   4T1B11HK0JU135258   Toyota       CAMRY               NEW BERN                  NC
93412   4T1B11HK0JU137060   Toyota       CAMRY               Detroit                   MI
93413   4T1B11HK0JU578462   Toyota       CAMRY               Salt Lake City            UT
93414   4T1B11HK0JU604624   Toyota       CAMRY               North Dighton             MA
93415   4T1B11HK0JU606101   Toyota       CAMRY               Schaumburg                IL
93416   4T1B11HK0JU633928   Toyota       CAMRY               Dallas                    TX
93417   4T1B11HK0JU634626   Toyota       CAMRY               BURBANK                   CA
93418   4T1B11HK0JU634688   Toyota       CAMRY               PHOENIX                   AZ
93419   4T1B11HK0JU636313   Toyota       CAMRY               PHILADELPHIA              PA
93420   4T1B11HK0JU636781   Toyota       CAMRY               NORTH HOLLYWOOD           CA
93421   4T1B11HK0JU636960   Toyota       CAMRY               BURBANK                   CA
93422   4T1B11HK0JU637378   Toyota       CAMRY               SANTA ANA                 CA
93423   4T1B11HK0JU638448   Toyota       CAMRY               SAN JOSE                  CA
93424   4T1B11HK0JU649076   Toyota       CAMRY               NOTTINGHAM                MD
93425   4T1B11HK0JU652642   Toyota       CAMRY               Hartford                  CT
93426   4T1B11HK0JU652785   Toyota       CAMRY               Plainfield                IN
93427   4T1B11HK0JU653712   Toyota       CAMRY               CLEVELAND                 OH
93428   4T1B11HK0JU656898   Toyota       CAMRY               Detroit                   MI
93429   4T1B11HK0KU166124   Toyota       CAMRY               SAN DIEGO                 CA
93430   4T1B11HK0KU167466   Toyota       CAMRY               Warr Acres                OK
93431   4T1B11HK0KU167998   Toyota       CAMRY               MURRAY                    KY
93432   4T1B11HK0KU168004   Toyota       CAMRY               Houston                   TX
93433   4T1B11HK0KU168469   Toyota       CAMRY               Santa Clara               CA
93434   4T1B11HK0KU178810   Toyota       CAMRY               KENNER                    LA
93435   4T1B11HK0KU180377   Toyota       CAMRY               Dania                     FL
93436   4T1B11HK0KU180928   Toyota       CAMRY               Atlanta                   GA
93437   4T1B11HK0KU182033   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
93438   4T1B11HK0KU182095   Toyota       CAMRY               ORLANDO                   FL
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93439   4T1B11HK0KU182761   Toyota       CAMRY               SAN ANTONIO               TX
93440   4T1B11HK0KU183683   Toyota       CAMRY               FORT MYERS                FL
93441   4T1B11HK0KU184848   Toyota       CAMRY               ORLANDO                   FL
93442   4T1B11HK0KU186003   Toyota       CAMRY               JACKSONVILLE              FL
93443   4T1B11HK0KU186096   Toyota       CAMRY               FORT MYERS                FL
93444   4T1B11HK0KU193663   Toyota       CAMRY               JACKSONVILLE              FL
93445   4T1B11HK0KU194506   Toyota       CAMRY               TAMPA                     FL
93446   4T1B11HK0KU195591   Toyota       CAMRY               Warr Acres                OK
93447   4T1B11HK0KU195820   Toyota       CAMRY               CHARLOTTE                 NC
93448   4T1B11HK0KU196160   Toyota       CAMRY               ORLANDO                   FL
93449   4T1B11HK0KU196434   Toyota       CAMRY               ORLANDO                   FL
93450   4T1B11HK0KU197387   Toyota       CAMRY               SANFORD                   FL
93451   4T1B11HK0KU197616   Toyota       CAMRY               ATLANTA                   GA
93452   4T1B11HK0KU197700   Toyota       CAMRY               SARASOTA                  FL
93453   4T1B11HK0KU197745   Toyota       CAMRY               MIAMI                     FL
93454   4T1B11HK0KU201146   Toyota       CAMRY               CORPUS CHRISTI            TX
93455   4T1B11HK0KU206590   Toyota       CAMRY               Miami                     FL
93456   4T1B11HK0KU215208   Toyota       CAMRY               Stone Mountain            GA
93457   4T1B11HK0KU215869   Toyota       CAMRY               Santa Clara               CA
93458   4T1B11HK0KU217010   Toyota       CAMRY               Atlanta                   GA
93459   4T1B11HK0KU226810   Toyota       CAMRY               Stone Mountain            GA
93460   4T1B11HK0KU226841   Toyota       CAMRY               KENNER                    LA
93461   4T1B11HK0KU227276   Toyota       CAMRY               MIAMI                     FL
93462   4T1B11HK0KU230226   Toyota       CAMRY               Ft. Myers                 FL
93463   4T1B11HK0KU230811   Toyota       CAMRY               TAMPA                     FL
93464   4T1B11HK0KU232235   Toyota       CAMRY               Stone Mountain            GA
93465   4T1B11HK0KU236074   Toyota       CAMRY               Salt Lake City            UT
93466   4T1B11HK0KU236267   Toyota       CAMRY               JACKSON                   MS
93467   4T1B11HK0KU236964   Toyota       CAMRY               Florissant                MO
93468   4T1B11HK0KU237399   Toyota       CAMRY               Dallas                    TX
93469   4T1B11HK0KU238519   Toyota       CAMRY               TAMPA                     FL
93470   4T1B11HK0KU239251   Toyota       CAMRY               Houston                   TX
93471   4T1B11HK0KU239315   Toyota       CAMRY               Philadelphia              PA
93472   4T1B11HK0KU240352   Toyota       CAMRY               SALT LAKE CITY            UT
93473   4T1B11HK0KU240478   Toyota       CAMRY               Ventura                   CA
93474   4T1B11HK0KU241100   Toyota       CAMRY               LOUISVILLE                KY
93475   4T1B11HK0KU241243   Toyota       CAMRY               Dallas                    TX
93476   4T1B11HK0KU241436   Toyota       CAMRY               PHOENIX                   AZ
93477   4T1B11HK0KU242053   Toyota       CAMRY               Maple Grove               MN
93478   4T1B11HK0KU242733   Toyota       CAMRY               PHOENIX                   AZ
93479   4T1B11HK0KU242800   Toyota       CAMRY               Salt Lake City            UT
93480   4T1B11HK0KU243400   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
93481   4T1B11HK0KU243736   Toyota       CAMRY               Salt Lake City            UT
93482   4T1B11HK0KU251495   Toyota       CAMRY               NEW BERN                  NC
93483   4T1B11HK0KU253134   Toyota       CAMRY               Elkridge                  MD
93484   4T1B11HK0KU253537   Toyota       CAMRY               CHICAGO                   IL
93485   4T1B11HK0KU255000   Toyota       CAMRY               GREENSBORO                NC
93486   4T1B11HK0KU256342   Toyota       CAMRY               West Palm Beach           FL
93487   4T1B11HK0KU258625   Toyota       CAMRY               KNOXVILLE                 TN
93488   4T1B11HK0KU262593   Toyota       CAMRY               St. Louis                 MO
93489   4T1B11HK0KU265025   Toyota       CAMRY               Houston                   TX
93490   4T1B11HK0KU265901   Toyota       CAMRY               KNOXVILLE                 TN
93491   4T1B11HK0KU266000   Toyota       CAMRY               SALT LAKE CITY            US
93492   4T1B11HK0KU266028   Toyota       CAMRY               Portland                  OR
93493   4T1B11HK0KU266434   Toyota       CAMRY               AUSTIN                    TX
93494   4T1B11HK0KU267129   Toyota       CAMRY               Sacramento                CA
93495   4T1B11HK0KU267163   Toyota       CAMRY               Portland                  OR
93496   4T1B11HK0KU267812   Toyota       CAMRY               Dallas                    TX
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93497   4T1B11HK0KU268278   Toyota       CAMRY               SAN ANTONIO               TX
93498   4T1B11HK0KU268555   Toyota       CAMRY               Davie                     FL
93499   4T1B11HK0KU270256   Toyota       CAMRY               DFW AIRPORT               TX
93500   4T1B11HK0KU270953   Toyota       CAMRY               San Diego                 CA
93501   4T1B11HK0KU270984   Toyota       CAMRY               SALT LAKE CITY            UT
93502   4T1B11HK0KU685755   Toyota       CAMRY               Warr Acres                OK
93503   4T1B11HK0KU688526   Toyota       CAMRY               Corpus Christi            TX
93504   4T1B11HK0KU689191   Toyota       CAMRY               Davie                     FL
93505   4T1B11HK0KU689921   Toyota       CAMRY               Rockville Centr           NY
93506   4T1B11HK0KU690650   Toyota       CAMRY               WEST PALM BEACH           FL
93507   4T1B11HK0KU692057   Toyota       CAMRY               DALLAS                    TX
93508   4T1B11HK0KU700853   Toyota       CAMRY               Warr Acres                OK
93509   4T1B11HK0KU704112   Toyota       CAMRY               MIAMI                     FL
93510   4T1B11HK0KU705020   Toyota       CAMRY               ORLANDO                   FL
93511   4T1B11HK0KU705597   Toyota       CAMRY               Atlanta                   GA
93512   4T1B11HK0KU718186   Toyota       CAMRY               Dallas                    TX
93513   4T1B11HK0KU719306   Toyota       CAMRY               Houston                   TX
93514   4T1B11HK0KU728264   Toyota       CAMRY               ORLANDO                   FL
93515   4T1B11HK0KU729060   Toyota       CAMRY               MIAMI                     FL
93516   4T1B11HK0KU729219   Toyota       CAMRY               ORLANDO                   FL
93517   4T1B11HK0KU729222   Toyota       CAMRY               TAMPA                     FL
93518   4T1B11HK0KU753830   Toyota       CAMRY               Atlanta                   GA
93519   4T1B11HK0KU757974   Toyota       CAMRY               JACKSONVILLE              FL
93520   4T1B11HK0KU758686   Toyota       CAMRY               Atlanta                   GA
93521   4T1B11HK0KU765606   Toyota       CAMRY               HOUSTON                   TX
93522   4T1B11HK0KU766299   Toyota       CAMRY               Detroit                   MI
93523   4T1B11HK0KU767632   Toyota       CAMRY               Portland                  OR
93524   4T1B11HK0KU768909   Toyota       CAMRY               LOS ANGELES               CA
93525   4T1B11HK0KU769154   Toyota       CAMRY               JACKSONVILLE              FL
93526   4T1B11HK0KU769414   Toyota       CAMRY               SACRAMENTO                CA
93527   4T1B11HK0KU769865   Toyota       CAMRY               Savannah                  GA
93528   4T1B11HK0KU771714   Toyota       CAMRY               Portland                  OR
93529   4T1B11HK0KU772183   Toyota       CAMRY               ATLANTA                   GA
93530   4T1B11HK0KU773110   Toyota       CAMRY               TAMPA                     FL
93531   4T1B11HK0KU773124   Toyota       CAMRY               Salt Lake City            UT
93532   4T1B11HK0KU773916   Toyota       CAMRY               Detroit                   MI
93533   4T1B11HK0KU775875   Toyota       CAMRY               Irving                    TX
93534   4T1B11HK0KU776069   Toyota       CAMRY               TAMPA                     FL
93535   4T1B11HK0KU788724   Toyota       CAMRY               ORLANDO                   FL
93536   4T1B11HK0KU788965   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
93537   4T1B11HK0KU795334   Toyota       CAMRY               CHICAGO                   IL
93538   4T1B11HK0KU800726   Toyota       CAMRY               Estero                    FL
93539   4T1B11HK0KU803593   Toyota       CAMRY               LAS VEGAS                 NV
93540   4T1B11HK1JU050896   Toyota       CAMRY               SAN JOSE                  CA
93541   4T1B11HK1JU088211   Toyota       CAMRY               Elkridge                  MD
93542   4T1B11HK1JU097510   Toyota       CAMRY               KENNER                    LA
93543   4T1B11HK1JU097913   Toyota       CAMRY               SACRAMENTO                CA
93544   4T1B11HK1JU101426   Toyota       CAMRY               Atlanta                   GA
93545   4T1B11HK1JU101457   Toyota       CAMRY               Winter Park               FL
93546   4T1B11HK1JU101636   Toyota       CAMRY               Cranberry Towns           PA
93547   4T1B11HK1JU102091   Toyota       CAMRY               CHRISTIANSBURG            VA
93548   4T1B11HK1JU102351   Toyota       CAMRY               Smithtown                 NY
93549   4T1B11HK1JU114581   Toyota       CAMRY               BURBANK                   CA
93550   4T1B11HK1JU121997   Toyota       CAMRY               LAS VEGAS                 NV
93551   4T1B11HK1JU122809   Toyota       CAMRY               SANTA ANA                 CA
93552   4T1B11HK1JU124088   Toyota       CAMRY               BURBANK                   CA
93553   4T1B11HK1JU124107   Toyota       CAMRY               BOSTON                    MA
93554   4T1B11HK1JU124138   Toyota       CAMRY               Burien                    WA
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93555   4T1B11HK1JU124494   Toyota       CAMRY               INGLEWOOD                 CA
93556   4T1B11HK1JU124947   Toyota       CAMRY               LOS ANGELES               CA
93557   4T1B11HK1JU126309   Toyota       CAMRY               FORT MYERS                FL
93558   4T1B11HK1JU126746   Toyota       CAMRY               KENNER                    LA
93559   4T1B11HK1JU133566   Toyota       CAMRY               SAN ANTONIO               TX
93560   4T1B11HK1JU610903   Toyota       CAMRY               ANCHORAGE                 AK
93561   4T1B11HK1JU620797   Toyota       CAMRY               LAS VEGAS                 NV
93562   4T1B11HK1JU621531   Toyota       CAMRY               LAS VEGAS                 NV
93563   4T1B11HK1JU634411   Toyota       CAMRY               ONTARIO                   CA
93564   4T1B11HK1JU636000   Toyota       CAMRY               Woodhaven                 MI
93565   4T1B11HK1JU637020   Toyota       CAMRY               Fresno                    CA
93566   4T1B11HK1JU637034   Toyota       CAMRY               Santa Clara               CA
93567   4T1B11HK1JU637809   Toyota       CAMRY               Teterboro                 NJ
93568   4T1B11HK1JU639219   Toyota       CAMRY               SACRAMENTO                CA
93569   4T1B11HK1JU648275   Toyota       CAMRY               Tampa                     FL
93570   4T1B11HK1JU648308   Toyota       CAMRY               ORLANDO                   FL
93571   4T1B11HK1JU651421   Toyota       CAMRY               Winston‐Salem             NC
93572   4T1B11HK1JU651922   Toyota       CAMRY               ORLANDO                   FL
93573   4T1B11HK1JU651953   Toyota       CAMRY               Atlanta                   GA
93574   4T1B11HK1JU652584   Toyota       CAMRY               Detroit                   MI
93575   4T1B11HK1JU653329   Toyota       CAMRY               Philadelphia              PA
93576   4T1B11HK1JU653332   Toyota       CAMRY               WARWICK                   RI
93577   4T1B11HK1JU654139   Toyota       CAMRY               RALEIGH                   NC
93578   4T1B11HK1JU654254   Toyota       CAMRY               NASHVILLE                 TN
93579   4T1B11HK1JU654934   Toyota       CAMRY               TAMPA                     FL
93580   4T1B11HK1JU655842   Toyota       CAMRY               ALBANY                    NY
93581   4T1B11HK1JU656330   Toyota       CAMRY               Jacksonville              FL
93582   4T1B11HK1JU656540   Toyota       CAMRY               PORTLAND                  OR
93583   4T1B11HK1JU658045   Toyota       CAMRY               Rockville Centr           NY
93584   4T1B11HK1KU166164   Toyota       CAMRY               Dallas                    TX
93585   4T1B11HK1KU166228   Toyota       CAMRY               Dallas                    TX
93586   4T1B11HK1KU166276   Toyota       CAMRY               Dallas                    TX
93587   4T1B11HK1KU166858   Toyota       CAMRY               McAllen                   TX
93588   4T1B11HK1KU166875   Toyota       CAMRY               Dallas                    TX
93589   4T1B11HK1KU166908   Toyota       CAMRY               GRAND RAPIDS              MI
93590   4T1B11HK1KU168660   Toyota       CAMRY               DETROIT                   MI
93591   4T1B11HK1KU169808   Toyota       CAMRY               FT. LAUDERDALE            FL
93592   4T1B11HK1KU180548   Toyota       CAMRY               Atlanta                   GA
93593   4T1B11HK1KU181666   Toyota       CAMRY               ORLANDO                   FL
93594   4T1B11HK1KU181800   Toyota       CAMRY               Florissant                MO
93595   4T1B11HK1KU181876   Toyota       CAMRY               NEW YORK CITY             NY
93596   4T1B11HK1KU182445   Toyota       CAMRY               Winston‐Salem             NC
93597   4T1B11HK1KU183031   Toyota       CAMRY               TAMPA                     FL
93598   4T1B11HK1KU184745   Toyota       CAMRY               TAMPA                     FL
93599   4T1B11HK1KU186026   Toyota       CAMRY               ORLANDO                   FL
93600   4T1B11HK1KU186074   Toyota       CAMRY               ORLANDO                   FL
93601   4T1B11HK1KU186107   Toyota       CAMRY               Statesville               NC
93602   4T1B11HK1KU195177   Toyota       CAMRY               KENNER                    LA
93603   4T1B11HK1KU195339   Toyota       CAMRY               INDIANAPOLIS              IN
93604   4T1B11HK1KU195597   Toyota       CAMRY               PHOENIX                   AZ
93605   4T1B11HK1KU195602   Toyota       CAMRY               FORT LAUDERDALE           FL
93606   4T1B11HK1KU195888   Toyota       CAMRY               TAMPA                     FL
93607   4T1B11HK1KU196233   Toyota       CAMRY               West Palm Beach           FL
93608   4T1B11HK1KU197656   Toyota       CAMRY               Houston                   TX
93609   4T1B11HK1KU197785   Toyota       CAMRY               KENNESAW                  GA
93610   4T1B11HK1KU204072   Toyota       CAMRY               SAINT PAUL                MN
93611   4T1B11HK1KU204945   Toyota       CAMRY               JACKSON                   MS
93612   4T1B11HK1KU205402   Toyota       CAMRY               BROOKLYN                  NY
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93613   4T1B11HK1KU205898   Toyota       CAMRY               PITTSBURGH                PA
93614   4T1B11HK1KU223396   Toyota       CAMRY               CHICAGO                   IL
93615   4T1B11HK1KU227352   Toyota       CAMRY               Atlanta                   GA
93616   4T1B11HK1KU229800   Toyota       CAMRY               FORT MYERS                FL
93617   4T1B11HK1KU230798   Toyota       CAMRY               SHAKOPEE                  MN
93618   4T1B11HK1KU231532   Toyota       CAMRY               Miami                     FL
93619   4T1B11HK1KU233197   Toyota       CAMRY               Philadelphia              PA
93620   4T1B11HK1KU233460   Toyota       CAMRY               LOUISVILLE                KY
93621   4T1B11HK1KU235998   Toyota       CAMRY               SALT LAKE CITY            UT
93622   4T1B11HK1KU237203   Toyota       CAMRY               HOUSTON                   TX
93623   4T1B11HK1KU237931   Toyota       CAMRY               Clearwater                FL
93624   4T1B11HK1KU238609   Toyota       CAMRY               LOUISVILLE                KY
93625   4T1B11HK1KU239081   Toyota       CAMRY               Atlanta                   GA
93626   4T1B11HK1KU241509   Toyota       CAMRY               Englewood                 CO
93627   4T1B11HK1KU243387   Toyota       CAMRY               Irving                    TX
93628   4T1B11HK1KU243745   Toyota       CAMRY               DALLAS                    TX
93629   4T1B11HK1KU243874   Toyota       CAMRY               DALLAS                    TX
93630   4T1B11HK1KU252963   Toyota       CAMRY               Charleston                SC
93631   4T1B11HK1KU253594   Toyota       CAMRY               ONTARIO                   CA
93632   4T1B11HK1KU258603   Toyota       CAMRY               SEATAC                    WA
93633   4T1B11HK1KU259444   Toyota       CAMRY               Schaumburg                IL
93634   4T1B11HK1KU260657   Toyota       CAMRY               Florissant                MO
93635   4T1B11HK1KU262103   Toyota       CAMRY               SAINT PAUL                MN
93636   4T1B11HK1KU263834   Toyota       CAMRY               BIRMINGHAM                AL
93637   4T1B11HK1KU266524   Toyota       CAMRY               Beaverton                 OR
93638   4T1B11HK1KU267236   Toyota       CAMRY               S. San Francisc           CA
93639   4T1B11HK1KU267706   Toyota       CAMRY               Portland                  OR
93640   4T1B11HK1KU267883   Toyota       CAMRY               CHICAGO                   IL
93641   4T1B11HK1KU268287   Toyota       CAMRY               LAS VEGAS                 NV
93642   4T1B11HK1KU269147   Toyota       CAMRY               Phoenix                   AZ
93643   4T1B11HK1KU687837   Toyota       CAMRY               ORLANDO                   FL
93644   4T1B11HK1KU704278   Toyota       CAMRY               TAMPA                     FL
93645   4T1B11HK1KU705608   Toyota       CAMRY               TAMPA                     FL
93646   4T1B11HK1KU716141   Toyota       CAMRY               MEMPHIS                   TN
93647   4T1B11HK1KU716656   Toyota       CAMRY               CHICAGO                   IL
93648   4T1B11HK1KU716804   Toyota       CAMRY               Ft. Myers                 FL
93649   4T1B11HK1KU718150   Toyota       CAMRY               TAMPA                     FL
93650   4T1B11HK1KU720738   Toyota       CAMRY               SARASOTA                  FL
93651   4T1B11HK1KU727480   Toyota       CAMRY               Warminster                PA
93652   4T1B11HK1KU728239   Toyota       CAMRY               ATLANTA                   GA
93653   4T1B11HK1KU728354   Toyota       CAMRY               Cedar Rapids              IA
93654   4T1B11HK1KU728578   Toyota       CAMRY               SEATTLE                   WA
93655   4T1B11HK1KU728984   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
93656   4T1B11HK1KU729116   Toyota       CAMRY               Statesville               NC
93657   4T1B11HK1KU729522   Toyota       CAMRY               NEW BERN                  NC
93658   4T1B11HK1KU730475   Toyota       CAMRY               SAN FRANCISCO             CA
93659   4T1B11HK1KU730623   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
93660   4T1B11HK1KU748748   Toyota       CAMRY               FORT LAUDERDALE           FL
93661   4T1B11HK1KU757093   Toyota       CAMRY               Newark                    NJ
93662   4T1B11HK1KU758566   Toyota       CAMRY               Coraopolis                PA
93663   4T1B11HK1KU758633   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
93664   4T1B11HK1KU766263   Toyota       CAMRY               Little Rock               AR
93665   4T1B11HK1KU766277   Toyota       CAMRY               Dallas                    TX
93666   4T1B11HK1KU769275   Toyota       CAMRY               San Antonio               TX
93667   4T1B11HK1KU769678   Toyota       CAMRY               SALT LAKE CITY            UT
93668   4T1B11HK1KU770099   Toyota       CAMRY               Beaverton                 OR
93669   4T1B11HK1KU770457   Toyota       CAMRY               SEATAC                    WA
93670   4T1B11HK1KU770734   Toyota       CAMRY               Austell                   GA
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93671   4T1B11HK1KU773147   Toyota       CAMRY               MIAMI                     FL
93672   4T1B11HK1KU773312   Toyota       CAMRY               FAYETTEVILLE              GA
93673   4T1B11HK1KU773455   Toyota       CAMRY               OXFORD                    MS
93674   4T1B11HK1KU774444   Toyota       CAMRY               FORT MYERS                FL
93675   4T1B11HK1KU775917   Toyota       CAMRY               FORT LAUDERDALE           FL
93676   4T1B11HK1KU789641   Toyota       CAMRY               TAMPA                     FL
93677   4T1B11HK1KU792510   Toyota       CAMRY               STERLING                  VA
93678   4T1B11HK1KU794449   Toyota       CAMRY               Baltimore                 MD
93679   4T1B11HK1KU805059   Toyota       CAMRY               BLOOMINGTON               IL
93680   4T1B11HK1KU805823   Toyota       CAMRY               Los Angeles               CA
93681   4T1B11HK2JU097631   Toyota       CAMRY               PHILADELPHIA              PA
93682   4T1B11HK2JU098262   Toyota       CAMRY               NEW ENGLAND DEALER        MA
93683   4T1B11HK2JU099072   Toyota       CAMRY               ALLENTOWN                 US
93684   4T1B11HK2JU100589   Toyota       CAMRY               SAVANNAH                  GA
93685   4T1B11HK2JU100849   Toyota       CAMRY               Warwick                   RI
93686   4T1B11HK2JU123175   Toyota       CAMRY               Hayward                   CA
93687   4T1B11HK2JU123516   Toyota       CAMRY               PICO RIVERA               CA
93688   4T1B11HK2JU124181   Toyota       CAMRY               LAS VEGAS                 NV
93689   4T1B11HK2JU125377   Toyota       CAMRY               LOS ANGELES               CA
93690   4T1B11HK2JU131566   Toyota       CAMRY               BUFFALO                   NY
93691   4T1B11HK2JU132040   Toyota       CAMRY               FORT LAUDERDALE           FL
93692   4T1B11HK2JU132491   Toyota       CAMRY               GLEN BURNIE               MD
93693   4T1B11HK2JU132765   Toyota       CAMRY               Philadelphia              PA
93694   4T1B11HK2JU601594   Toyota       CAMRY               Charlotte                 NC
93695   4T1B11HK2JU604656   Toyota       CAMRY               Smithtown                 NY
93696   4T1B11HK2JU620257   Toyota       CAMRY               Ventura                   CA
93697   4T1B11HK2JU634580   Toyota       CAMRY               SAN FRANCISCO             CA
93698   4T1B11HK2JU635289   Toyota       CAMRY               PHOENIX                   AZ
93699   4T1B11HK2JU638404   Toyota       CAMRY               ELKRIDGE                  MD
93700   4T1B11HK2JU638418   Toyota       CAMRY               SANTA CLARA               CA
93701   4T1B11HK2JU638970   Toyota       CAMRY               MIAMI                     FL
93702   4T1B11HK2JU639326   Toyota       CAMRY               FT LAUDERDALE             FL
93703   4T1B11HK2JU640007   Toyota       CAMRY               RALEIGH                   NC
93704   4T1B11HK2JU649791   Toyota       CAMRY               Atlanta                   GA
93705   4T1B11HK2JU650519   Toyota       CAMRY               RALIEGH                   NC
93706   4T1B11HK2JU650536   Toyota       CAMRY               Warminster                PA
93707   4T1B11HK2JU653114   Toyota       CAMRY               MORROW                    GA
93708   4T1B11HK2JU654327   Toyota       CAMRY               BALDWIN                   NY
93709   4T1B11HK2JU654344   Toyota       CAMRY               VIRGINIA BEACH            VA
93710   4T1B11HK2JU655252   Toyota       CAMRY               DETROIT                   MI
93711   4T1B11HK2JU655560   Toyota       CAMRY               NEWARK                    NJ
93712   4T1B11HK2JU655574   Toyota       CAMRY               CHICAGO                   IL
93713   4T1B11HK2JU655638   Toyota       CAMRY               ORLANDO                   FL
93714   4T1B11HK2JU655722   Toyota       CAMRY               SOUTH SAN FRANC           CA
93715   4T1B11HK2JU655736   Toyota       CAMRY               San Diego                 CA
93716   4T1B11HK2JU656305   Toyota       CAMRY               Massapequa                NY
93717   4T1B11HK2JU657910   Toyota       CAMRY               Elkridge                  MD
93718   4T1B11HK2JU658071   Toyota       CAMRY               COLUMBIA                  SC
93719   4T1B11HK2JU659978   Toyota       CAMRY               NEW BERN                  NC
93720   4T1B11HK2KU165380   Toyota       CAMRY               CHICAGO                   IL
93721   4T1B11HK2KU165900   Toyota       CAMRY               FORT LAUDERDALE           FL
93722   4T1B11HK2KU166089   Toyota       CAMRY               Florissant                MO
93723   4T1B11HK2KU167436   Toyota       CAMRY               HOUSTON                   TX
93724   4T1B11HK2KU169591   Toyota       CAMRY               Englewood                 CO
93725   4T1B11HK2KU170126   Toyota       CAMRY               Atlanta                   GA
93726   4T1B11HK2KU180316   Toyota       CAMRY               Marietta                  GA
93727   4T1B11HK2KU180560   Toyota       CAMRY               UNION CITY                GA
93728   4T1B11HK2KU181837   Toyota       CAMRY               WEST PALM BEACH           FL
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93729   4T1B11HK2KU185340   Toyota       CAMRY               JACKSONVILLE              FL
93730   4T1B11HK2KU193017   Toyota       CAMRY               Atlanta                   GA
93731   4T1B11HK2KU195866   Toyota       CAMRY               SARASOTA                  FL
93732   4T1B11HK2KU197696   Toyota       CAMRY               WEST PALM BEACH           FL
93733   4T1B11HK2KU197861   Toyota       CAMRY               ORLANDO                   FL
93734   4T1B11HK2KU201214   Toyota       CAMRY               Los Angeles               CA
93735   4T1B11HK2KU201231   Toyota       CAMRY               Phoenix                   AZ
93736   4T1B11HK2KU202377   Toyota       CAMRY               PHOENIX                   AZ
93737   4T1B11HK2KU204792   Toyota       CAMRY               ATLANTA                   GA
93738   4T1B11HK2KU205439   Toyota       CAMRY               TAMPA                     FL
93739   4T1B11HK2KU206204   Toyota       CAMRY               NEW BERN                  NC
93740   4T1B11HK2KU206333   Toyota       CAMRY               ONTARIO                   CA
93741   4T1B11HK2KU206526   Toyota       CAMRY               Omaha                     NE
93742   4T1B11HK2KU206848   Toyota       CAMRY               SACRAMENTO                CA
93743   4T1B11HK2KU226632   Toyota       CAMRY               Ft Pierce                 FL
93744   4T1B11HK2KU227859   Toyota       CAMRY               Atlanta                   GA
93745   4T1B11HK2KU227926   Toyota       CAMRY               Kenner                    LA
93746   4T1B11HK2KU229157   Toyota       CAMRY               Miami                     FL
93747   4T1B11HK2KU230390   Toyota       CAMRY               Irving                    TX
93748   4T1B11HK2KU230857   Toyota       CAMRY               Florissant                MO
93749   4T1B11HK2KU231894   Toyota       CAMRY               DFW AIRPORT               TX
93750   4T1B11HK2KU232124   Toyota       CAMRY               Nashville                 TN
93751   4T1B11HK2KU236478   Toyota       CAMRY               Dallas                    TX
93752   4T1B11HK2KU237176   Toyota       CAMRY               Portland                  OR
93753   4T1B11HK2KU238487   Toyota       CAMRY               COLLEGE PARK              GA
93754   4T1B11HK2KU239266   Toyota       CAMRY               Scottsdale                AZ
93755   4T1B11HK2KU239848   Toyota       CAMRY               Detroit                   MI
93756   4T1B11HK2KU239896   Toyota       CAMRY               WICHITA FALLS             TX
93757   4T1B11HK2KU240451   Toyota       CAMRY               Portland                  OR
93758   4T1B11HK2KU240871   Toyota       CAMRY               Dallas                    TX
93759   4T1B11HK2KU241518   Toyota       CAMRY               INDIANAPOLIS              IN
93760   4T1B11HK2KU241549   Toyota       CAMRY               Kansas City               MO
93761   4T1B11HK2KU241924   Toyota       CAMRY               KILLEEN                   US
93762   4T1B11HK2KU243382   Toyota       CAMRY               Denver                    CO
93763   4T1B11HK2KU262613   Toyota       CAMRY               Charleston                WV
93764   4T1B11HK2KU265575   Toyota       CAMRY               Charlotte                 NC
93765   4T1B11HK2KU265897   Toyota       CAMRY               Houston                   TX
93766   4T1B11HK2KU266158   Toyota       CAMRY               Beaverton                 OR
93767   4T1B11HK2KU268489   Toyota       CAMRY               SAINT PAUL                MN
93768   4T1B11HK2KU270291   Toyota       CAMRY               SALT LAKE CITY            UT
93769   4T1B11HK2KU271053   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
93770   4T1B11HK2KU685806   Toyota       CAMRY               DETROIT                   MI
93771   4T1B11HK2KU687152   Toyota       CAMRY               ORLANDO                   FL
93772   4T1B11HK2KU687670   Toyota       CAMRY               Tulsa                     OK
93773   4T1B11HK2KU689841   Toyota       CAMRY               IRVING                    TX
93774   4T1B11HK2KU702751   Toyota       CAMRY               ORLANDO                   FL
93775   4T1B11HK2KU705665   Toyota       CAMRY               Atlanta                   GA
93776   4T1B11HK2KU705729   Toyota       CAMRY               MIAMI                     FL
93777   4T1B11HK2KU708128   Toyota       CAMRY               TUCSON                    AZ
93778   4T1B11HK2KU716116   Toyota       CAMRY               SARASOTA                  FL
93779   4T1B11HK2KU718769   Toyota       CAMRY               TAMPA                     FL
93780   4T1B11HK2KU719338   Toyota       CAMRY               FORT LAUDERDALE           FL
93781   4T1B11HK2KU719369   Toyota       CAMRY               Atlanta                   GA
93782   4T1B11HK2KU719470   Toyota       CAMRY               JACKSONVILLE              FL
93783   4T1B11HK2KU720053   Toyota       CAMRY               ATLANTA                   GA
93784   4T1B11HK2KU728430   Toyota       CAMRY               TAMPA                     FL
93785   4T1B11HK2KU729612   Toyota       CAMRY               CHICAGO                   IL
93786   4T1B11HK2KU729979   Toyota       CAMRY               Hapeville                 GA
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93787   4T1B11HK2KU730422   Toyota       CAMRY               PANAMA CITY               FL
93788   4T1B11HK2KU746281   Toyota       CAMRY               WEST PALM BEACH           FL
93789   4T1B11HK2KU753585   Toyota       CAMRY               Atlanta                   GA
93790   4T1B11HK2KU754008   Toyota       CAMRY               Atlanta                   GA
93791   4T1B11HK2KU756762   Toyota       CAMRY               FAYETTEVILLE              GA
93792   4T1B11HK2KU757328   Toyota       CAMRY               Leesburg                  VA
93793   4T1B11HK2KU758852   Toyota       CAMRY               Nashville                 TN
93794   4T1B11HK2KU760343   Toyota       CAMRY               Atlanta                   GA
93795   4T1B11HK2KU763534   Toyota       CAMRY               STERLING                  VA
93796   4T1B11HK2KU765333   Toyota       CAMRY               Portland                  OR
93797   4T1B11HK2KU765378   Toyota       CAMRY               Portland                  OR
93798   4T1B11HK2KU769396   Toyota       CAMRY               DFW AIRPORT               TX
93799   4T1B11HK2KU770421   Toyota       CAMRY               Beaverton                 OR
93800   4T1B11HK2KU771245   Toyota       CAMRY               SALT LAKE CITY            US
93801   4T1B11HK2KU772430   Toyota       CAMRY               LAS VEGAS                 NV
93802   4T1B11HK2KU772640   Toyota       CAMRY               ORLANDO                   FL
93803   4T1B11HK2KU773965   Toyota       CAMRY               Atlanta                   GA
93804   4T1B11HK2KU774467   Toyota       CAMRY               SAINT PAUL                MN
93805   4T1B11HK2KU775926   Toyota       CAMRY               SHAKOPEE                  MN
93806   4T1B11HK2KU786618   Toyota       CAMRY               Irving                    TX
93807   4T1B11HK2KU786621   Toyota       CAMRY               TAMPA                     FL
93808   4T1B11HK2KU796288   Toyota       CAMRY               SAINT LOUIS               MO
93809   4T1B11HK2KU801196   Toyota       CAMRY               CHICAGO                   IL
93810   4T1B11HK2KU801957   Toyota       CAMRY               Irving                    TX
93811   4T1B11HK2KU801988   Toyota       CAMRY               Portland                  OR
93812   4T1B11HK2KU802655   Toyota       CAMRY               EULESS                    TX
93813   4T1B11HK2KU803465   Toyota       CAMRY               CHICAGO                   IL
93814   4T1B11HK2KU804406   Toyota       CAMRY               Cincinnati                OH
93815   4T1B11HK2KU805121   Toyota       CAMRY               AUSTIN                    TX
93816   4T1B11HK2KU807709   Toyota       CAMRY               KANSAS CITY               MO
93817   4T1B11HK2KU808259   Toyota       CAMRY               SAN JOSE                  CA
93818   4T1B11HK2KU808469   Toyota       CAMRY               S. San Francisc           CA
93819   4T1B11HK3JU098433   Toyota       CAMRY               LAS VEGAS                 NV
93820   4T1B11HK3JU099081   Toyota       CAMRY               Baltimore                 MD
93821   4T1B11HK3JU099114   Toyota       CAMRY               Warwick                   RI
93822   4T1B11HK3JU099761   Toyota       CAMRY               STERLING                  VA
93823   4T1B11HK3JU100696   Toyota       CAMRY               Davie                     FL
93824   4T1B11HK3JU101539   Toyota       CAMRY               Johnston                  RI
93825   4T1B11HK3JU102061   Toyota       CAMRY               ORLANDO                   FL
93826   4T1B11HK3JU102271   Toyota       CAMRY               HANOVER                   MD
93827   4T1B11HK3JU102285   Toyota       CAMRY               Johnston                  RI
93828   4T1B11HK3JU102805   Toyota       CAMRY               Orlando                   FL
93829   4T1B11HK3JU124562   Toyota       CAMRY               SARASOTA                  FL
93830   4T1B11HK3JU125369   Toyota       CAMRY               San Diego                 CA
93831   4T1B11HK3JU126912   Toyota       CAMRY               Anaheim                   CA
93832   4T1B11HK3JU131513   Toyota       CAMRY               Carleton                  MI
93833   4T1B11HK3JU132452   Toyota       CAMRY               RALEIGH                   NC
93834   4T1B11HK3JU133181   Toyota       CAMRY               ORLANDO                   FL
93835   4T1B11HK3JU133214   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
93836   4T1B11HK3JU136243   Toyota       CAMRY               Detroit                   MI
93837   4T1B11HK3JU136341   Toyota       CAMRY               DES MOINES                IA
93838   4T1B11HK3JU137814   Toyota       CAMRY               Elkridge                  MD
93839   4T1B11HK3JU601569   Toyota       CAMRY               SEATAC                    WA
93840   4T1B11HK3JU619473   Toyota       CAMRY               BURBANK                   CA
93841   4T1B11HK3JU634572   Toyota       CAMRY               FEDERAL WAY               WA
93842   4T1B11HK3JU634748   Toyota       CAMRY               Slidell                   LA
93843   4T1B11HK3JU636063   Toyota       CAMRY               CHANDLER                  AZ
93844   4T1B11HK3JU637293   Toyota       CAMRY               CLEVELAND                 OH
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93845   4T1B11HK3JU649055   Toyota       CAMRY               North Dighton             MA
93846   4T1B11HK3JU652070   Toyota       CAMRY               FORT MYERS                FL
93847   4T1B11HK3JU653154   Toyota       CAMRY               EUGENE                    OR
93848   4T1B11HK3JU653574   Toyota       CAMRY               TAMPA                     FL
93849   4T1B11HK3JU653655   Toyota       CAMRY               BOSTON                    MA
93850   4T1B11HK3JU654272   Toyota       CAMRY               Richmond                  VA
93851   4T1B11HK3JU654787   Toyota       CAMRY               Cedar Rapids              IA
93852   4T1B11HK3JU654806   Toyota       CAMRY               EGG HARBOR TOWN           NJ
93853   4T1B11HK3JU655115   Toyota       CAMRY               RALEIGH                   NC
93854   4T1B11HK3JU655633   Toyota       CAMRY               Los Angeles               CA
93855   4T1B11HK3JU657320   Toyota       CAMRY               CHARLOTTE                 NC
93856   4T1B11HK3JU658919   Toyota       CAMRY               WEST PALM BEACH           FL
93857   4T1B11HK3JU660072   Toyota       CAMRY               Detroit                   MI
93858   4T1B11HK3JU662002   Toyota       CAMRY               PITTSBURGH                PA
93859   4T1B11HK3KU165680   Toyota       CAMRY               Albuquerque               NM
93860   4T1B11HK3KU166019   Toyota       CAMRY               SEATAC                    WA
93861   4T1B11HK3KU166196   Toyota       CAMRY               Austin                    TX
93862   4T1B11HK3KU166201   Toyota       CAMRY               Dallas                    TX
93863   4T1B11HK3KU166263   Toyota       CAMRY               DALLAS                    TX
93864   4T1B11HK3KU166313   Toyota       CAMRY               SAN JOSE                  CA
93865   4T1B11HK3KU166893   Toyota       CAMRY               BLOOMINGTON               IL
93866   4T1B11HK3KU167459   Toyota       CAMRY               SAN JOSE                  CA
93867   4T1B11HK3KU168482   Toyota       CAMRY               Grove City                OH
93868   4T1B11HK3KU169258   Toyota       CAMRY               Norwalk                   CA
93869   4T1B11HK3KU180518   Toyota       CAMRY               Houston                   TX
93870   4T1B11HK3KU180910   Toyota       CAMRY               ORLANDO                   FL
93871   4T1B11HK3KU181703   Toyota       CAMRY               TAMPA                     FL
93872   4T1B11HK3KU185461   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
93873   4T1B11HK3KU186058   Toyota       CAMRY               Orlando                   FL
93874   4T1B11HK3KU193155   Toyota       CAMRY               TAMPA                     FL
93875   4T1B11HK3KU194404   Toyota       CAMRY               Miami                     FL
93876   4T1B11HK3KU194466   Toyota       CAMRY               ORLANDO                   FL
93877   4T1B11HK3KU195150   Toyota       CAMRY               MIAMI                     FL
93878   4T1B11HK3KU196492   Toyota       CAMRY               SAN ANTONIO               TX
93879   4T1B11HK3KU196783   Toyota       CAMRY               WEST PALM BEACH           FL
93880   4T1B11HK3KU196864   Toyota       CAMRY               MEMPHIS                   TN
93881   4T1B11HK3KU197724   Toyota       CAMRY               ORLANDO                   FL
93882   4T1B11HK3KU202422   Toyota       CAMRY               LOS ANGELES               CA
93883   4T1B11HK3KU205546   Toyota       CAMRY               Lynn                      MA
93884   4T1B11HK3KU206471   Toyota       CAMRY               FORT LAUDERDALE           FL
93885   4T1B11HK3KU227627   Toyota       CAMRY               GEORGETOWN                KY
93886   4T1B11HK3KU227885   Toyota       CAMRY               ATLANTA                   GA
93887   4T1B11HK3KU227935   Toyota       CAMRY               WASHINGTON DC             MD
93888   4T1B11HK3KU228406   Toyota       CAMRY               Newark                    NJ
93889   4T1B11HK3KU228731   Toyota       CAMRY               Wilmington                NC
93890   4T1B11HK3KU229068   Toyota       CAMRY               Jamaica                   NY
93891   4T1B11HK3KU229796   Toyota       CAMRY               Atlanta                   GA
93892   4T1B11HK3KU231418   Toyota       CAMRY               KNOXVILLE                 TN
93893   4T1B11HK3KU232214   Toyota       CAMRY               DALLAS                    TX
93894   4T1B11HK3KU234397   Toyota       CAMRY               FT. LAUDERDALE            FL
93895   4T1B11HK3KU236358   Toyota       CAMRY               Memphis                   TN
93896   4T1B11HK3KU237090   Toyota       CAMRY               Florissant                MO
93897   4T1B11HK3KU238269   Toyota       CAMRY               BURBANK                   CA
93898   4T1B11HK3KU238417   Toyota       CAMRY               Houston                   TX
93899   4T1B11HK3KU238479   Toyota       CAMRY               Atlanta                   GA
93900   4T1B11HK3KU238885   Toyota       CAMRY               KNOXVILLE                 TN
93901   4T1B11HK3KU239387   Toyota       CAMRY               SALT LAKE CITY            UT
93902   4T1B11HK3KU241964   Toyota       CAMRY               DES MOINES                IA
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93903   4T1B11HK3KU242600   Toyota       CAMRY               ORLANDO                   FL
93904   4T1B11HK3KU242659   Toyota       CAMRY               Hapeville                 GA
93905   4T1B11HK3KU243200   Toyota       CAMRY               PORTLAND                  OR
93906   4T1B11HK3KU243293   Toyota       CAMRY               MIAMI                     FL
93907   4T1B11HK3KU243956   Toyota       CAMRY               SAN ANTONIO               TX
93908   4T1B11HK3KU253693   Toyota       CAMRY               ORLANDO                   FL
93909   4T1B11HK3KU253760   Toyota       CAMRY               ORLANDO                   FL
93910   4T1B11HK3KU254004   Toyota       CAMRY               Greensboro                NC
93911   4T1B11HK3KU254018   Toyota       CAMRY               PHOENIX                   AZ
93912   4T1B11HK3KU255945   Toyota       CAMRY               LAS VEGAS                 NV
93913   4T1B11HK3KU264502   Toyota       CAMRY               Lexington                 KY
93914   4T1B11HK3KU266055   Toyota       CAMRY               Phoenix                   AZ
93915   4T1B11HK3KU266153   Toyota       CAMRY               LOS ANGELES               CA
93916   4T1B11HK3KU266623   Toyota       CAMRY               EL PASO                   TX
93917   4T1B11HK3KU266668   Toyota       CAMRY               PHOENIX                   AZ
93918   4T1B11HK3KU270901   Toyota       CAMRY               Beaverton                 OR
93919   4T1B11HK3KU271014   Toyota       CAMRY               TULSA                     OK
93920   4T1B11HK3KU685913   Toyota       CAMRY               KENNER                    LA
93921   4T1B11HK3KU686236   Toyota       CAMRY               SAINT PAUL                MN
93922   4T1B11HK3KU686947   Toyota       CAMRY               Smithtown                 NY
93923   4T1B11HK3KU687127   Toyota       CAMRY               NORTH HILLS               CA
93924   4T1B11HK3KU688553   Toyota       CAMRY               HOUSTON                   TX
93925   4T1B11HK3KU690609   Toyota       CAMRY               SANTA ANA                 CA
93926   4T1B11HK3KU691923   Toyota       CAMRY               Tulsa                     OK
93927   4T1B11HK3KU704671   Toyota       CAMRY               MIAMI                     FL
93928   4T1B11HK3KU705724   Toyota       CAMRY               ORLANDO                   FL
93929   4T1B11HK3KU706288   Toyota       CAMRY               MIAMI                     FL
93930   4T1B11HK3KU706386   Toyota       CAMRY               MIAMI                     FL
93931   4T1B11HK3KU716223   Toyota       CAMRY               TAMPA                     FL
93932   4T1B11HK3KU717498   Toyota       CAMRY               Atlanta                   GA
93933   4T1B11HK3KU718201   Toyota       CAMRY               Clearwater                FL
93934   4T1B11HK3KU718778   Toyota       CAMRY               ORLANDO                   FL
93935   4T1B11HK3KU720028   Toyota       CAMRY               Tampa                     FL
93936   4T1B11HK3KU720658   Toyota       CAMRY               Hamilton                  OH
93937   4T1B11HK3KU728209   Toyota       CAMRY               NEWARK                    NJ
93938   4T1B11HK3KU729182   Toyota       CAMRY               Newark                    NJ
93939   4T1B11HK3KU755006   Toyota       CAMRY               ORLANDO                   FL
93940   4T1B11HK3KU761064   Toyota       CAMRY               Atlanta                   GA
93941   4T1B11HK3KU769164   Toyota       CAMRY               Tulsa                     OK
93942   4T1B11HK3KU769259   Toyota       CAMRY               LOS ANGELES               CA
93943   4T1B11HK3KU769651   Toyota       CAMRY               Detroit                   MI
93944   4T1B11HK3KU769729   Toyota       CAMRY               DFW AIRPORT               TX
93945   4T1B11HK3KU769990   Toyota       CAMRY               ALBANY                    GA
93946   4T1B11HK3KU770542   Toyota       CAMRY               Clearwater                FL
93947   4T1B11HK3KU772615   Toyota       CAMRY               BIRMINGHAM                AL
93948   4T1B11HK3KU773358   Toyota       CAMRY               PHOENIX                   AZ
93949   4T1B11HK3KU773540   Toyota       CAMRY               Houston                   TX
93950   4T1B11HK3KU773974   Toyota       CAMRY               Bridgeton                 MO
93951   4T1B11HK3KU774283   Toyota       CAMRY               WOODS CROSS               US
93952   4T1B11HK3KU775322   Toyota       CAMRY               SOUTHWEST DEALER D        TX
93953   4T1B11HK3KU775885   Toyota       CAMRY               FORT MYERS                FL
93954   4T1B11HK3KU776048   Toyota       CAMRY               CHARLOTTE                 US
93955   4T1B11HK3KU784991   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
93956   4T1B11HK3KU785803   Toyota       CAMRY               TAMPA                     FL
93957   4T1B11HK3KU787003   Toyota       CAMRY               ONTARIO, RIVERSIDE        CA
93958   4T1B11HK3KU787857   Toyota       CAMRY               FORT MYERS                FL
93959   4T1B11HK3KU796946   Toyota       CAMRY               SANTA CLARA               CA
93960   4T1B11HK3KU801028   Toyota       CAMRY               Denver                    CO
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93961   4T1B11HK3KU801773   Toyota       CAMRY               DALLAS                    TX
93962   4T1B11HK3KU801787   Toyota       CAMRY               DALLAS                    TX
93963   4T1B11HK3KU805015   Toyota       CAMRY               Florissant                MO
93964   4T1B11HK3KU805256   Toyota       CAMRY               ST Paul                   MN
93965   4T1B11HK3KU805810   Toyota       CAMRY               PHOENIX                   AZ
93966   4T1B11HK4JU098232   Toyota       CAMRY               MATTHEWS                  NC
93967   4T1B11HK4JU098974   Toyota       CAMRY               INDIANAPOLIS              IN
93968   4T1B11HK4JU099137   Toyota       CAMRY               Portland                  OR
93969   4T1B11HK4JU099378   Toyota       CAMRY               BURBANK                   CA
93970   4T1B11HK4JU099607   Toyota       CAMRY               FORT MYERS                FL
93971   4T1B11HK4JU099817   Toyota       CAMRY               BURBANK                   CA
93972   4T1B11HK4JU100738   Toyota       CAMRY               ORLANDO                   FL
93973   4T1B11HK4JU103722   Toyota       CAMRY               PHILADELPHIA              PA
93974   4T1B11HK4JU122772   Toyota       CAMRY               CHARLOTTE                 NC
93975   4T1B11HK4JU124215   Toyota       CAMRY               SAN JOSE                  CA
93976   4T1B11HK4JU124960   Toyota       CAMRY               Charlotte                 NC
93977   4T1B11HK4JU125316   Toyota       CAMRY               COLLEGE PARK              GA
93978   4T1B11HK4JU125381   Toyota       CAMRY               SAN JOSE                  CA
93979   4T1B11HK4JU132444   Toyota       CAMRY               Atlanta                   GA
93980   4T1B11HK4JU134355   Toyota       CAMRY               ORLANDO                   FL
93981   4T1B11HK4JU134839   Toyota       CAMRY               MIDDLE RIVER              MD
93982   4T1B11HK4JU134890   Toyota       CAMRY               CHICAGO                   IL
93983   4T1B11HK4JU135330   Toyota       CAMRY               GLENOLDEN                 PA
93984   4T1B11HK4JU137823   Toyota       CAMRY               PHILADELPHIA              PA
93985   4T1B11HK4JU565326   Toyota       CAMRY               SACRAMENTO                CA
93986   4T1B11HK4JU605324   Toyota       CAMRY               PHILADELPHIA              PA
93987   4T1B11HK4JU606537   Toyota       CAMRY               FORT MYERS                FL
93988   4T1B11HK4JU634130   Toyota       CAMRY               BURBANK                   CA
93989   4T1B11HK4JU637528   Toyota       CAMRY               Santa Clara               CA
93990   4T1B11HK4JU637576   Toyota       CAMRY               TAMPA                     FL
93991   4T1B11HK4JU638453   Toyota       CAMRY               FRESNO                    CA
93992   4T1B11HK4JU638484   Toyota       CAMRY               LOS ANGELES               CA
93993   4T1B11HK4JU638534   Toyota       CAMRY               BURBANK                   CA
93994   4T1B11HK4JU638579   Toyota       CAMRY               Johnston                  RI
93995   4T1B11HK4JU639845   Toyota       CAMRY               ONTARIO, RIVERSIDE        CA
93996   4T1B11HK4JU649789   Toyota       CAMRY               WEST PALM BEACH           FL
93997   4T1B11HK4JU650554   Toyota       CAMRY               College Park              GA
93998   4T1B11HK4JU651431   Toyota       CAMRY               CHICAGO                   IL
93999   4T1B11HK4JU652837   Toyota       CAMRY               WARWICK                   RI
94000   4T1B11HK4JU653146   Toyota       CAMRY               FORT MYERS                FL
94001   4T1B11HK4JU653499   Toyota       CAMRY               BIRMINGHAM                AL
94002   4T1B11HK4JU653602   Toyota       CAMRY               Detroit                   MI
94003   4T1B11HK4JU653616   Toyota       CAMRY               NOTTINGHAM                MD
94004   4T1B11HK4JU654927   Toyota       CAMRY               RALEIGH                   NC
94005   4T1B11HK4JU654930   Toyota       CAMRY               CHATTANOOGA               TN
94006   4T1B11HK4JU655141   Toyota       CAMRY               Cleveland                 OH
94007   4T1B11HK4JU655589   Toyota       CAMRY               Clearwater                FL
94008   4T1B11HK4JU655611   Toyota       CAMRY               Davie                     FL
94009   4T1B11HK4JU655835   Toyota       CAMRY               Ft. Myers                 FL
94010   4T1B11HK4KU166188   Toyota       CAMRY               BURBANK                   CA
94011   4T1B11HK4KU166272   Toyota       CAMRY               COSTA MESA                CA
94012   4T1B11HK4KU167423   Toyota       CAMRY               Woodhaven                 MI
94013   4T1B11HK4KU169785   Toyota       CAMRY               DFW AIRPORT               TX
94014   4T1B11HK4KU170399   Toyota       CAMRY               FLORIDA DEALER DIR        FL
94015   4T1B11HK4KU180284   Toyota       CAMRY               Atlanta                   GA
94016   4T1B11HK4KU180348   Toyota       CAMRY               KNOXVILLE                 TN
94017   4T1B11HK4KU180981   Toyota       CAMRY               Stone Mountain            GA
94018   4T1B11HK4KU181628   Toyota       CAMRY               Sarasota                  FL
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94019   4T1B11HK4KU182181   Toyota       CAMRY               TAMPA                     FL
94020   4T1B11HK4KU182259   Toyota       CAMRY               Dallas                    TX
94021   4T1B11HK4KU183606   Toyota       CAMRY               TAMPA                     FL
94022   4T1B11HK4KU184240   Toyota       CAMRY               MIAMI                     FL
94023   4T1B11HK4KU185937   Toyota       CAMRY               Slidell                   LA
94024   4T1B11HK4KU192998   Toyota       CAMRY               SNELLVILLE                GA
94025   4T1B11HK4KU193813   Toyota       CAMRY               MIAMI                     FL
94026   4T1B11HK4KU195044   Toyota       CAMRY               FORT MYERS                FL
94027   4T1B11HK4KU195318   Toyota       CAMRY               MORROW                    GA
94028   4T1B11HK4KU195738   Toyota       CAMRY               Miami                     FL
94029   4T1B11HK4KU195920   Toyota       CAMRY               Orlando                   FL
94030   4T1B11HK4KU197408   Toyota       CAMRY               DALLAS                    TX
94031   4T1B11HK4KU197814   Toyota       CAMRY               ORLANDO                   FL
94032   4T1B11HK4KU197912   Toyota       CAMRY               Bridgeton                 MO
94033   4T1B11HK4KU202946   Toyota       CAMRY               Palm Springs              CA
94034   4T1B11HK4KU203675   Toyota       CAMRY               PALM SPRINGS              CA
94035   4T1B11HK4KU204969   Toyota       CAMRY               Sacramento                CA
94036   4T1B11HK4KU205393   Toyota       CAMRY               ATLANTA                   GA
94037   4T1B11HK4KU205863   Toyota       CAMRY               Memphis                   TN
94038   4T1B11HK4KU216605   Toyota       CAMRY               Los Angeles               CA
94039   4T1B11HK4KU227846   Toyota       CAMRY               Portland                  OR
94040   4T1B11HK4KU229337   Toyota       CAMRY               FORT LAUDERDALE           FL
94041   4T1B11HK4KU230150   Toyota       CAMRY               FORT MYERS                FL
94042   4T1B11HK4KU232299   Toyota       CAMRY               Indianapolis              IN
94043   4T1B11HK4KU234537   Toyota       CAMRY               KENNER                    LA
94044   4T1B11HK4KU238135   Toyota       CAMRY               ORLANDO                   FL
94045   4T1B11HK4KU238233   Toyota       CAMRY               Dallas                    TX
94046   4T1B11HK4KU238393   Toyota       CAMRY               Hendersonville            TN
94047   4T1B11HK4KU238796   Toyota       CAMRY               Fontana                   CA
94048   4T1B11HK4KU238815   Toyota       CAMRY               Stockton                  CA
94049   4T1B11HK4KU238880   Toyota       CAMRY               LAS VEGAS                 NV
94050   4T1B11HK4KU240256   Toyota       CAMRY               Morrisville               NC
94051   4T1B11HK4KU240614   Toyota       CAMRY               SALT LAKE CITY            UT
94052   4T1B11HK4KU240936   Toyota       CAMRY               Killeen                   TX
94053   4T1B11HK4KU241357   Toyota       CAMRY               ORLANDO                   FL
94054   4T1B11HK4KU241424   Toyota       CAMRY               PHOENIX                   AZ
94055   4T1B11HK4KU242539   Toyota       CAMRY               Hebron                    KY
94056   4T1B11HK4KU242556   Toyota       CAMRY               DENVER                    CO
94057   4T1B11HK4KU243769   Toyota       CAMRY               DALLAS                    TX
94058   4T1B11HK4KU243996   Toyota       CAMRY               CHATTANOOGA               TN
94059   4T1B11HK4KU253296   Toyota       CAMRY               Atlanta                   GA
94060   4T1B11HK4KU259552   Toyota       CAMRY               Nashville                 TN
94061   4T1B11HK4KU263116   Toyota       CAMRY               EULESS                    TX
94062   4T1B11HK4KU267036   Toyota       CAMRY               AUSTIN                    TX
94063   4T1B11HK4KU269059   Toyota       CAMRY               MOSINEE                   WI
94064   4T1B11HK4KU270910   Toyota       CAMRY               HOUSTON                   TX
94065   4T1B11HK4KU685709   Toyota       CAMRY               Dallas                    TX
94066   4T1B11HK4KU685869   Toyota       CAMRY               LOS ANGELES               CA
94067   4T1B11HK4KU688464   Toyota       CAMRY               ONTARIO                   CA
94068   4T1B11HK4KU691882   Toyota       CAMRY               ATHENS                    GA
94069   4T1B11HK4KU691915   Toyota       CAMRY               Dallas                    TX
94070   4T1B11HK4KU703349   Toyota       CAMRY               ORLANDO                   FL
94071   4T1B11HK4KU703657   Toyota       CAMRY               COLLEGE PARK              GA
94072   4T1B11HK4KU703688   Toyota       CAMRY               SARASOTA                  FL
94073   4T1B11HK4KU704288   Toyota       CAMRY               DFW AIRPORT               TX
94074   4T1B11HK4KU705568   Toyota       CAMRY               ORLANDO                   FL
94075   4T1B11HK4KU705621   Toyota       CAMRY               MIAMI                     FL
94076   4T1B11HK4KU706316   Toyota       CAMRY               Hendersonville            TN
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94077   4T1B11HK4KU716151   Toyota       CAMRY               EL PASO                   TX
94078   4T1B11HK4KU716697   Toyota       CAMRY               Windsor Locks             CT
94079   4T1B11HK4KU716747   Toyota       CAMRY               WEST PALM BEACH           FL
94080   4T1B11HK4KU720605   Toyota       CAMRY               WEST PALM BEACH           FL
94081   4T1B11HK4KU726551   Toyota       CAMRY               LOS ANGELES               CA
94082   4T1B11HK4KU727800   Toyota       CAMRY               MIAMI                     FL
94083   4T1B11HK4KU728445   Toyota       CAMRY               WEST PALM BEACH           FL
94084   4T1B11HK4KU728526   Toyota       CAMRY               ALEXANDRIA                VA
94085   4T1B11HK4KU729949   Toyota       CAMRY               WOODSTOCK                 GA
94086   4T1B11HK4KU730258   Toyota       CAMRY               WEST PALM BEACH           FL
94087   4T1B11HK4KU753782   Toyota       CAMRY               Philadelphia              PA
94088   4T1B11HK4KU756066   Toyota       CAMRY               TAMPA                     FL
94089   4T1B11HK4KU756567   Toyota       CAMRY               PENSACOLA                 FL
94090   4T1B11HK4KU758187   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
94091   4T1B11HK4KU767097   Toyota       CAMRY               INDIANAPOLIS              IN
94092   4T1B11HK4KU769111   Toyota       CAMRY               DALLAS                    TX
94093   4T1B11HK4KU770436   Toyota       CAMRY               DALLAS                    TX
94094   4T1B11HK4KU770629   Toyota       CAMRY               Wichita                   KS
94095   4T1B11HK4KU770677   Toyota       CAMRY               ORLANDO                   FL
94096   4T1B11HK4KU770873   Toyota       CAMRY               Portland                  OR
94097   4T1B11HK4KU771358   Toyota       CAMRY               ORLANDO                   FL
94098   4T1B11HK4KU772607   Toyota       CAMRY               Coraopolis                PA
94099   4T1B11HK4KU772719   Toyota       CAMRY               Houston                   TX
94100   4T1B11HK4KU775278   Toyota       CAMRY               Florissant                MO
94101   4T1B11HK4KU783963   Toyota       CAMRY               FORT LAUDERDALE           FL
94102   4T1B11HK4KU784515   Toyota       CAMRY               SALT LAKE CITY            UT
94103   4T1B11HK4KU785664   Toyota       CAMRY               Salt Lake City            UT
94104   4T1B11HK4KU786085   Toyota       CAMRY               Phoenix                   AZ
94105   4T1B11HK4KU788175   Toyota       CAMRY               SAINT PAUL                MN
94106   4T1B11HK4KU790475   Toyota       CAMRY               TAMPA                     FL
94107   4T1B11HK4KU795272   Toyota       CAMRY               Hendersonville            TN
94108   4T1B11HK4KU796292   Toyota       CAMRY               WICHITA FALLS             TX
94109   4T1B11HK4KU801653   Toyota       CAMRY               ATLANTA                   GA
94110   4T1B11HK4KU804150   Toyota       CAMRY               Irving                    TX
94111   4T1B11HK4KU805847   Toyota       CAMRY               Los Angeles               CA
94112   4T1B11HK4KU805931   Toyota       CAMRY               SALT LAKE CITY            US
94113   4T1B11HK5JU095307   Toyota       CAMRY               FORT MYERS                FL
94114   4T1B11HK5JU097722   Toyota       CAMRY               SANTA CLARA               CA
94115   4T1B11HK5JU099177   Toyota       CAMRY               Smithtown                 NY
94116   4T1B11HK5JU099843   Toyota       CAMRY               Houston                   TX
94117   4T1B11HK5JU100022   Toyota       CAMRY               NOTTINGHAM                MD
94118   4T1B11HK5JU100828   Toyota       CAMRY               ORLANDO                   FL
94119   4T1B11HK5JU101560   Toyota       CAMRY               Ft. Myers                 FL
94120   4T1B11HK5JU101641   Toyota       CAMRY               STERLING                  VA
94121   4T1B11HK5JU109528   Toyota       CAMRY               ANCHORAGE                 AK
94122   4T1B11HK5JU122019   Toyota       CAMRY               Rockville Centr           NY
94123   4T1B11HK5JU122053   Toyota       CAMRY               SAN ANTONIO               TX
94124   4T1B11HK5JU124627   Toyota       CAMRY               BURBANK                   CA
94125   4T1B11HK5JU125650   Toyota       CAMRY               NOTTINGHAM                MD
94126   4T1B11HK5JU125745   Toyota       CAMRY               SAN DIEGO                 CA
94127   4T1B11HK5JU131531   Toyota       CAMRY               FORT LAUDERDALE           FL
94128   4T1B11HK5JU134784   Toyota       CAMRY               FAYETTEVILLE              GA
94129   4T1B11HK5JU137829   Toyota       CAMRY               FORT MYERS                FL
94130   4T1B11HK5JU138558   Toyota       CAMRY               Philadelphia              PA
94131   4T1B11HK5JU138611   Toyota       CAMRY               Cleveland                 OH
94132   4T1B11HK5JU580272   Toyota       CAMRY               STERLING                  VA
94133   4T1B11HK5JU602352   Toyota       CAMRY               SEA TAC                   WA
94134   4T1B11HK5JU602612   Toyota       CAMRY               Houston                   TX
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94135   4T1B11HK5JU605462   Toyota       CAMRY               SANFORD                   FL
94136   4T1B11HK5JU616154   Toyota       CAMRY               seatac                    wa
94137   4T1B11HK5JU620687   Toyota       CAMRY               Fresno                    CA
94138   4T1B11HK5JU633892   Toyota       CAMRY               LOS ANGELES               CA
94139   4T1B11HK5JU634525   Toyota       CAMRY               LOS ANGELES AP            CA
94140   4T1B11HK5JU635397   Toyota       CAMRY               CLEVELAND                 OH
94141   4T1B11HK5JU635464   Toyota       CAMRY               Sacramento                CA
94142   4T1B11HK5JU636209   Toyota       CAMRY               PHOENIX                   AZ
94143   4T1B11HK5JU636288   Toyota       CAMRY               LOS ANGELES               CA
94144   4T1B11HK5JU636338   Toyota       CAMRY               BURBANK                   CA
94145   4T1B11HK5JU637439   Toyota       CAMRY               Cleveland                 OH
94146   4T1B11HK5JU639353   Toyota       CAMRY               Jacksonville              NC
94147   4T1B11HK5JU648716   Toyota       CAMRY               Teterboro                 NJ
94148   4T1B11HK5JU654077   Toyota       CAMRY               North Dighton             MA
94149   4T1B11HK5JU655682   Toyota       CAMRY               TAMPA                     FL
94150   4T1B11HK5JU657397   Toyota       CAMRY               NORTH PAC                 CA
94151   4T1B11HK5JU658940   Toyota       CAMRY               Johnston                  RI
94152   4T1B11HK5KU165728   Toyota       CAMRY               SAN JOSE                  CA
94153   4T1B11HK5KU166541   Toyota       CAMRY               Harlingen                 TX
94154   4T1B11HK5KU166880   Toyota       CAMRY               Harvey                    LA
94155   4T1B11HK5KU168080   Toyota       CAMRY               PHOENIX                   AZ
94156   4T1B11HK5KU170394   Toyota       CAMRY               Sacramento                CA
94157   4T1B11HK5KU170802   Toyota       CAMRY               SAN DIEGO                 CA
94158   4T1B11HK5KU181072   Toyota       CAMRY               TAMPA                     FL
94159   4T1B11HK5KU181590   Toyota       CAMRY               FORT LAUDERDALE           FL
94160   4T1B11HK5KU181864   Toyota       CAMRY               TAMPA                     FL
94161   4T1B11HK5KU182352   Toyota       CAMRY               ORLANDO                   FL
94162   4T1B11HK5KU185896   Toyota       CAMRY               TAMPA                     FL
94163   4T1B11HK5KU193674   Toyota       CAMRY               FORT LAUDERDALE           FL
94164   4T1B11HK5KU194386   Toyota       CAMRY               TAMPA                     FL
94165   4T1B11HK5KU194517   Toyota       CAMRY               TAMPA                     FL
94166   4T1B11HK5KU194520   Toyota       CAMRY               TAMPA                     FL
94167   4T1B11HK5KU195831   Toyota       CAMRY               FORT LAUDERDALE           FL
94168   4T1B11HK5KU195862   Toyota       CAMRY               FORT MYERS                FL
94169   4T1B11HK5KU195876   Toyota       CAMRY               Pompano Beach             FL
94170   4T1B11HK5KU196252   Toyota       CAMRY               MIAMI                     FL
94171   4T1B11HK5KU196378   Toyota       CAMRY               Nashville                 TN
94172   4T1B11HK5KU197238   Toyota       CAMRY               PHOENIX                   AZ
94173   4T1B11HK5KU197241   Toyota       CAMRY               FORT LAUDERDALE           FL
94174   4T1B11HK5KU197630   Toyota       CAMRY               ORLANDO                   FL
94175   4T1B11HK5KU201935   Toyota       CAMRY               San Diego                 CA
94176   4T1B11HK5KU204706   Toyota       CAMRY               MILWAUKEE                 WI
94177   4T1B11HK5KU227340   Toyota       CAMRY               Orlando                   FL
94178   4T1B11HK5KU229573   Toyota       CAMRY               BIRMINGHAN                AL
94179   4T1B11HK5KU230383   Toyota       CAMRY               MONROE                    LA
94180   4T1B11HK5KU230559   Toyota       CAMRY               Hamilton                  OH
94181   4T1B11HK5KU232201   Toyota       CAMRY               BOSTON                    MA
94182   4T1B11HK5KU234997   Toyota       CAMRY               ORLANDO                   FL
94183   4T1B11HK5KU236698   Toyota       CAMRY               DES MOINES                IA
94184   4T1B11HK5KU236989   Toyota       CAMRY               Atlanta                   GA
94185   4T1B11HK5KU240475   Toyota       CAMRY               DENVER                    CO
94186   4T1B11HK5KU240525   Toyota       CAMRY               San Antonio               TX
94187   4T1B11HK5KU240993   Toyota       CAMRY               Hendersonville            TN
94188   4T1B11HK5KU241559   Toyota       CAMRY               SAINT LOUIS               MO
94189   4T1B11HK5KU243358   Toyota       CAMRY               SALT LAKE CITY            UT
94190   4T1B11HK5KU243456   Toyota       CAMRY               Bridgeton                 MO
94191   4T1B11HK5KU243750   Toyota       CAMRY               LAS VEGAS                 NV
94192   4T1B11HK5KU253758   Toyota       CAMRY               Atlanta                   GA
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94193   4T1B11HK5KU258622   Toyota       CAMRY               KENNER                    LA
94194   4T1B11HK5KU263142   Toyota       CAMRY               Atlanta                   GA
94195   4T1B11HK5KU266106   Toyota       CAMRY               DALLAS                    TX
94196   4T1B11HK5KU266364   Toyota       CAMRY               Irving                    TX
94197   4T1B11HK5KU267210   Toyota       CAMRY               Los Angeles               CA
94198   4T1B11HK5KU267370   Toyota       CAMRY               SAINT LOUIS               MO
94199   4T1B11HK5KU267711   Toyota       CAMRY               HAYWARD                   CA
94200   4T1B11HK5KU268437   Toyota       CAMRY               Colorado Spring           CO
94201   4T1B11HK5KU269149   Toyota       CAMRY               BURBANK                   CA
94202   4T1B11HK5KU270852   Toyota       CAMRY               Atlanta                   GA
94203   4T1B11HK5KU687887   Toyota       CAMRY               Harvey                    LA
94204   4T1B11HK5KU687940   Toyota       CAMRY               SEATAC                    WA
94205   4T1B11HK5KU688439   Toyota       CAMRY               FLORIDA DEALER DIR        FL
94206   4T1B11HK5KU689784   Toyota       CAMRY               SAN DIEGO                 CA
94207   4T1B11HK5KU702579   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
94208   4T1B11HK5KU705000   Toyota       CAMRY               Lynn                      MA
94209   4T1B11HK5KU705630   Toyota       CAMRY               BIRMINGHAM                AL
94210   4T1B11HK5KU705689   Toyota       CAMRY               KENNER                    LA
94211   4T1B11HK5KU706616   Toyota       CAMRY               SARASOTA                  FL
94212   4T1B11HK5KU707717   Toyota       CAMRY               ORLANDO                   FL
94213   4T1B11HK5KU708172   Toyota       CAMRY               FORT MYERS                FL
94214   4T1B11HK5KU708236   Toyota       CAMRY               FORT LAUDERDALE           FL
94215   4T1B11HK5KU709015   Toyota       CAMRY               JACKSON                   MS
94216   4T1B11HK5KU716868   Toyota       CAMRY               COLLEGE PARK              GA
94217   4T1B11HK5KU726980   Toyota       CAMRY               SEA TAC                   WA
94218   4T1B11HK5KU728583   Toyota       CAMRY               OAKLAND                   CA
94219   4T1B11HK5KU728910   Toyota       CAMRY               RALEIGH                   NC
94220   4T1B11HK5KU730415   Toyota       CAMRY               Manheim                   PA
94221   4T1B11HK5KU730527   Toyota       CAMRY               Newport Beach             CA
94222   4T1B11HK5KU753614   Toyota       CAMRY               FORT MYERS                FL
94223   4T1B11HK5KU754908   Toyota       CAMRY               St. Louis                 MO
94224   4T1B11HK5KU757548   Toyota       CAMRY               TAMPA                     FL
94225   4T1B11HK5KU760403   Toyota       CAMRY               Atlanta                   GA
94226   4T1B11HK5KU761809   Toyota       CAMRY               West Palm Beach           FL
94227   4T1B11HK5KU767769   Toyota       CAMRY               FORT MYERS                FL
94228   4T1B11HK5KU768503   Toyota       CAMRY               Houston                   TX
94229   4T1B11HK5KU768954   Toyota       CAMRY               Salt Lake City            UT
94230   4T1B11HK5KU771417   Toyota       CAMRY               TUCSON                    AZ
94231   4T1B11HK5KU773667   Toyota       CAMRY               Dallas                    TX
94232   4T1B11HK5KU773944   Toyota       CAMRY               CHICAGO                   IL
94233   4T1B11HK5KU774172   Toyota       CAMRY               ORLANDO                   FL
94234   4T1B11HK5KU775094   Toyota       CAMRY               SAN FRANCISCO             CA
94235   4T1B11HK5KU775676   Toyota       CAMRY               NEWARK                    NJ
94236   4T1B11HK5KU775905   Toyota       CAMRY               Teterboro                 NJ
94237   4T1B11HK5KU785477   Toyota       CAMRY               Tampa                     FL
94238   4T1B11HK5KU785964   Toyota       CAMRY               SAN DIEGO                 CA
94239   4T1B11HK5KU787889   Toyota       CAMRY               JACKSON                   MS
94240   4T1B11HK5KU788038   Toyota       CAMRY               Hebron                    KY
94241   4T1B11HK5KU791912   Toyota       CAMRY               TAMPA                     US
94242   4T1B11HK5KU794454   Toyota       CAMRY               UNION CITY                GA
94243   4T1B11HK5KU801712   Toyota       CAMRY               Charlotte                 NC
94244   4T1B11HK5KU802620   Toyota       CAMRY               Salt Lake City            UT
94245   4T1B11HK5KU804206   Toyota       CAMRY               Portland                  OR
94246   4T1B11HK5KU804237   Toyota       CAMRY               LAS VEGAS                 NV
94247   4T1B11HK5KU804500   Toyota       CAMRY               Beaverton                 OR
94248   4T1B11HK5KU808322   Toyota       CAMRY               Irving                    TX
94249   4T1B11HK6JU097535   Toyota       CAMRY               Atlanta                   GA
94250   4T1B11HK6JU098961   Toyota       CAMRY               Warwick                   RI
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94251   4T1B11HK6JU099107   Toyota       CAMRY               PALM SPRINGS              CA
94252   4T1B11HK6JU101504   Toyota       CAMRY               Windsor Locks             CT
94253   4T1B11HK6JU101549   Toyota       CAMRY               HANOVER                   MD
94254   4T1B11HK6JU102295   Toyota       CAMRY               Teterboro                 NJ
94255   4T1B11HK6JU115130   Toyota       CAMRY               ONTARIO                   CA
94256   4T1B11HK6JU121932   Toyota       CAMRY               SPRINGFIELD               VA
94257   4T1B11HK6JU122059   Toyota       CAMRY               Portland                  OR
94258   4T1B11HK6JU122840   Toyota       CAMRY               TRACY                     CA
94259   4T1B11HK6JU123941   Toyota       CAMRY               BURBANK                   CA
94260   4T1B11HK6JU124295   Toyota       CAMRY               LOS ANGELES               CA
94261   4T1B11HK6JU124510   Toyota       CAMRY               SAN JOSE                  CA
94262   4T1B11HK6JU125415   Toyota       CAMRY               FRESNO                    CA
94263   4T1B11HK6JU126046   Toyota       CAMRY               ORLANDO                   FL
94264   4T1B11HK6JU126919   Toyota       CAMRY               LAS VEGAS                 NV
94265   4T1B11HK6JU131201   Toyota       CAMRY               MORROW                    GA
94266   4T1B11HK6JU131859   Toyota       CAMRY               NOTTINGHAM                MD
94267   4T1B11HK6JU136382   Toyota       CAMRY               Winter Park               FL
94268   4T1B11HK6JU137046   Toyota       CAMRY               Detroit                   MI
94269   4T1B11HK6JU603848   Toyota       CAMRY               Hayward                   CA
94270   4T1B11HK6JU607592   Toyota       CAMRY               ANCHORAGE                 AK
94271   4T1B11HK6JU608788   Toyota       CAMRY               ANCHORAGE                 AK
94272   4T1B11HK6JU633836   Toyota       CAMRY               PALM SPRINGS              CA
94273   4T1B11HK6JU634601   Toyota       CAMRY               LOS ANGELES               CA
94274   4T1B11HK6JU636266   Toyota       CAMRY               DENVER                    CO
94275   4T1B11HK6JU636929   Toyota       CAMRY               LOS ANGELES               CA
94276   4T1B11HK6JU636977   Toyota       CAMRY               SACRAMENTO                CA
94277   4T1B11HK6JU636994   Toyota       CAMRY               HANOVER                   MD
94278   4T1B11HK6JU639345   Toyota       CAMRY               STERLING                  VA
94279   4T1B11HK6JU640026   Toyota       CAMRY               CLEVELAND                 OH
94280   4T1B11HK6JU649311   Toyota       CAMRY               Schaumburg                IL
94281   4T1B11HK6JU652824   Toyota       CAMRY               Winston‐Salem             NC
94282   4T1B11HK6JU653519   Toyota       CAMRY               BOSTON                    MA
94283   4T1B11HK6JU653567   Toyota       CAMRY               STERLING                  VA
94284   4T1B11HK6JU654167   Toyota       CAMRY               CLEVELAND                 OH
94285   4T1B11HK6JU654198   Toyota       CAMRY               ORLANDO                   FL
94286   4T1B11HK6JU654279   Toyota       CAMRY               RALEIGH                   NC
94287   4T1B11HK6JU655061   Toyota       CAMRY               Birmingham                AL
94288   4T1B11HK6JU655674   Toyota       CAMRY               UNION CITY                GA
94289   4T1B11HK6JU657330   Toyota       CAMRY               HANOVER                   MD
94290   4T1B11HK6JU660714   Toyota       CAMRY               BOSTON                    MA
94291   4T1B11HK6KU166242   Toyota       CAMRY               Atlanta                   GA
94292   4T1B11HK6KU167908   Toyota       CAMRY               Hamilton                  OH
94293   4T1B11HK6KU167925   Toyota       CAMRY               BEAUMONT                  TX
94294   4T1B11HK6KU168637   Toyota       CAMRY               Houston                   TX
94295   4T1B11HK6KU170131   Toyota       CAMRY               PLEASANTON                CA
94296   4T1B11HK6KU170257   Toyota       CAMRY               HOUSTON                   TX
94297   4T1B11HK6KU177600   Toyota       CAMRY               SAN ANTONIO               TX
94298   4T1B11HK6KU180187   Toyota       CAMRY               Detroit                   MI
94299   4T1B11HK6KU181212   Toyota       CAMRY               Davie                     FL
94300   4T1B11HK6KU181775   Toyota       CAMRY               HANOVER                   MD
94301   4T1B11HK6KU182148   Toyota       CAMRY               Florissant                MO
94302   4T1B11HK6KU182330   Toyota       CAMRY               Winston‐Salem             NC
94303   4T1B11HK6KU182991   Toyota       CAMRY               MIAMI                     FL
94304   4T1B11HK6KU186037   Toyota       CAMRY               Medford                   NY
94305   4T1B11HK6KU193635   Toyota       CAMRY               TAMPA                     FL
94306   4T1B11HK6KU195191   Toyota       CAMRY               TAMPA                     FL
94307   4T1B11HK6KU196146   Toyota       CAMRY               Atlanta                   GA
94308   4T1B11HK6KU196485   Toyota       CAMRY               NEWARK                    NJ
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94309   4T1B11HK6KU202382   Toyota       CAMRY               BURBANK                   CA
94310   4T1B11HK6KU204780   Toyota       CAMRY               NEWARK                    NJ
94311   4T1B11HK6KU205184   Toyota       CAMRY               BOSTON                    MA
94312   4T1B11HK6KU205380   Toyota       CAMRY               DETROIT                   MI
94313   4T1B11HK6KU206111   Toyota       CAMRY               NEW BERN                  NC
94314   4T1B11HK6KU222227   Toyota       CAMRY               Hamilton                  OH
94315   4T1B11HK6KU227217   Toyota       CAMRY               BIRMINGHAM                AL
94316   4T1B11HK6KU227377   Toyota       CAMRY               Atlanta                   GA
94317   4T1B11HK6KU227735   Toyota       CAMRY               Atlanta                   GA
94318   4T1B11HK6KU228464   Toyota       CAMRY               Teterboro                 NJ
94319   4T1B11HK6KU228805   Toyota       CAMRY               Florissant                MO
94320   4T1B11HK6KU229260   Toyota       CAMRY               FORT LAUDERDALE           FL
94321   4T1B11HK6KU229310   Toyota       CAMRY               ORLANDO                   FL
94322   4T1B11HK6KU230814   Toyota       CAMRY               MILWAUKEE                 WI
94323   4T1B11HK6KU231932   Toyota       CAMRY               Newark                    NJ
94324   4T1B11HK6KU236029   Toyota       CAMRY               SALT LAKE CITY            US
94325   4T1B11HK6KU236192   Toyota       CAMRY               KENNER                    LA
94326   4T1B11HK6KU238170   Toyota       CAMRY               Houston                   TX
94327   4T1B11HK6KU238864   Toyota       CAMRY               Fresno                    CA
94328   4T1B11HK6KU239660   Toyota       CAMRY               SAVANNAH                  GA
94329   4T1B11HK6KU241389   Toyota       CAMRY               Atlanta                   GA
94330   4T1B11HK6KU242011   Toyota       CAMRY               ORLANDO                   FL
94331   4T1B11HK6KU242736   Toyota       CAMRY               KANSAS CITY               MO
94332   4T1B11HK6KU253431   Toyota       CAMRY               Coraopolis                PA
94333   4T1B11HK6KU258595   Toyota       CAMRY               SARASOTA                  FL
94334   4T1B11HK6KU258743   Toyota       CAMRY               Florissant                MO
94335   4T1B11HK6KU264395   Toyota       CAMRY               HOUSTON                   TX
94336   4T1B11HK6KU266082   Toyota       CAMRY               Coraopolis                PA
94337   4T1B11HK6KU266180   Toyota       CAMRY               Atlanta                   GA
94338   4T1B11HK6KU267054   Toyota       CAMRY               PORTLAND                  OR
94339   4T1B11HK6KU267121   Toyota       CAMRY               Hapeville                 GA
94340   4T1B11HK6KU267961   Toyota       CAMRY               Dallas                    TX
94341   4T1B11HK6KU269631   Toyota       CAMRY               LAS VEGAS                 NV
94342   4T1B11HK6KU270312   Toyota       CAMRY               Atlanta                   GA
94343   4T1B11HK6KU270715   Toyota       CAMRY               LAS VEGAS                 NV
94344   4T1B11HK6KU270892   Toyota       CAMRY               PHOENIX                   AZ
94345   4T1B11HK6KU685789   Toyota       CAMRY               ONTARIO                   CA
94346   4T1B11HK6KU686375   Toyota       CAMRY               BURBANK                   CA
94347   4T1B11HK6KU688580   Toyota       CAMRY               Coraopolis                PA
94348   4T1B11HK6KU688627   Toyota       CAMRY               SAN FRANCISCO             CA
94349   4T1B11HK6KU689275   Toyota       CAMRY               BURBANK                   CA
94350   4T1B11HK6KU690538   Toyota       CAMRY               Harvey                    LA
94351   4T1B11HK6KU702980   Toyota       CAMRY               ORLANDO                   FL
94352   4T1B11HK6KU703949   Toyota       CAMRY               Fresno                    CA
94353   4T1B11HK6KU705653   Toyota       CAMRY               PHOENIX                   AZ
94354   4T1B11HK6KU705684   Toyota       CAMRY               PENSACOLA                 FL
94355   4T1B11HK6KU706379   Toyota       CAMRY               JACKSON                   MS
94356   4T1B11HK6KU708262   Toyota       CAMRY               Charlotte                 NC
94357   4T1B11HK6KU708360   Toyota       CAMRY               FORT LAUDERDALE           FL
94358   4T1B11HK6KU718211   Toyota       CAMRY               KNOXVILLE                 TN
94359   4T1B11HK6KU719309   Toyota       CAMRY               Atlanta                   GA
94360   4T1B11HK6KU719472   Toyota       CAMRY               Orlando                   FL
94361   4T1B11HK6KU720508   Toyota       CAMRY               ORLANDO                   FL
94362   4T1B11HK6KU720539   Toyota       CAMRY               Atlanta                   GA
94363   4T1B11HK6KU720704   Toyota       CAMRY               MIAMI                     FL
94364   4T1B11HK6KU727913   Toyota       CAMRY               CLEVELAND                 OH
94365   4T1B11HK6KU729662   Toyota       CAMRY               BALTIMORE                 MD
94366   4T1B11HK6KU729922   Toyota       CAMRY               DALLAS                    TX
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94367   4T1B11HK6KU756036   Toyota       CAMRY               MONTGOMERY                AL
94368   4T1B11HK6KU756201   Toyota       CAMRY               ORLANDO                   FL
94369   4T1B11HK6KU756909   Toyota       CAMRY               KNOXVILLE                 TN
94370   4T1B11HK6KU758420   Toyota       CAMRY               Atlanta                   GA
94371   4T1B11HK6KU758756   Toyota       CAMRY               TAMPA                     FL
94372   4T1B11HK6KU768512   Toyota       CAMRY               JACKSON                   MS
94373   4T1B11HK6KU769773   Toyota       CAMRY               Fresno                    CA
94374   4T1B11HK6KU770082   Toyota       CAMRY               SALT LAKE CITY            US
94375   4T1B11HK6KU771491   Toyota       CAMRY               Dallas                    TX
94376   4T1B11HK6KU771734   Toyota       CAMRY               Portland                  OR
94377   4T1B11HK6KU772317   Toyota       CAMRY               EULESS                    TX
94378   4T1B11HK6KU772334   Toyota       CAMRY               Salt Lake City            UT
94379   4T1B11HK6KU772687   Toyota       CAMRY               SARASOTA                  FL
94380   4T1B11HK6KU773208   Toyota       CAMRY               Marietta                  GA
94381   4T1B11HK6KU773628   Toyota       CAMRY               Slidell                   LA
94382   4T1B11HK6KU774827   Toyota       CAMRY               FORT MYERS                FL
94383   4T1B11HK6KU775251   Toyota       CAMRY               St. Louis                 MO
94384   4T1B11HK6KU775623   Toyota       CAMRY               Austell                   GA
94385   4T1B11HK6KU781163   Toyota       CAMRY               San Diego                 CA
94386   4T1B11HK6KU787772   Toyota       CAMRY               NORTH PAC                 CA
94387   4T1B11HK6KU789246   Toyota       CAMRY               Memphis                   TN
94388   4T1B11HK6KU794723   Toyota       CAMRY               KENNER                    LA
94389   4T1B11HK6KU797220   Toyota       CAMRY               HUNTSVILLE                AL
94390   4T1B11HK6KU801010   Toyota       CAMRY               SAINT LOUIS               MO
94391   4T1B11HK6KU801704   Toyota       CAMRY               Portland                  OR
94392   4T1B11HK6KU802819   Toyota       CAMRY               ORLANDO                   FL
94393   4T1B11HK6KU803324   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
94394   4T1B11HK6KU803582   Toyota       CAMRY               AUSTIN                    TX
94395   4T1B11HK6KU803629   Toyota       CAMRY               Florissant                MO
94396   4T1B11HK6KU805610   Toyota       CAMRY               Houston                   TX
94397   4T1B11HK7JU096880   Toyota       CAMRY               North Dighton             MA
94398   4T1B11HK7JU098273   Toyota       CAMRY               Smithtown                 NY
94399   4T1B11HK7JU098533   Toyota       CAMRY               LOS ANGELES               CA
94400   4T1B11HK7JU099231   Toyota       CAMRY               OKLAHOMA CITY             OK
94401   4T1B11HK7JU100779   Toyota       CAMRY               WHITE PLAINS              NY
94402   4T1B11HK7JU100832   Toyota       CAMRY               ORLANDO                   FL
94403   4T1B11HK7JU100846   Toyota       CAMRY               KNOXVILLE                 TN
94404   4T1B11HK7JU100880   Toyota       CAMRY               Johnston                  RI
94405   4T1B11HK7JU101981   Toyota       CAMRY               Smithtown                 NY
94406   4T1B11HK7JU103729   Toyota       CAMRY               SOUTH BURLINGTO           VT
94407   4T1B11HK7JU123592   Toyota       CAMRY               SAN FRANCISCO             CA
94408   4T1B11HK7JU123706   Toyota       CAMRY               SAN ANTONIO               TX
94409   4T1B11HK7JU123947   Toyota       CAMRY               LOS ANGELES               CA
94410   4T1B11HK7JU124225   Toyota       CAMRY               ORLANDO                   FL
94411   4T1B11HK7JU124516   Toyota       CAMRY               TAMPA                     FL
94412   4T1B11HK7JU125682   Toyota       CAMRY               SANTA ANA                 CA
94413   4T1B11HK7JU126007   Toyota       CAMRY               EAU CLAIRE                WI
94414   4T1B11HK7JU126881   Toyota       CAMRY               LOS ANGELES               CA
94415   4T1B11HK7JU131496   Toyota       CAMRY               Statesville               NC
94416   4T1B11HK7JU132390   Toyota       CAMRY               Webster                   NY
94417   4T1B11HK7JU134026   Toyota       CAMRY               Philadelphia              PA
94418   4T1B11HK7JU135239   Toyota       CAMRY               HANOVER                   MD
94419   4T1B11HK7JU140053   Toyota       CAMRY               FORT LAUDERDALE           FL
94420   4T1B11HK7JU141638   Toyota       CAMRY               BOSTON                    MA
94421   4T1B11HK7JU601705   Toyota       CAMRY               LOS ANGELES               CA
94422   4T1B11HK7JU601879   Toyota       CAMRY               Newport Beach             CA
94423   4T1B11HK7JU602854   Toyota       CAMRY               SAN FRANCISCO             CA
94424   4T1B11HK7JU606063   Toyota       CAMRY               RALEIGH                   NC
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94425   4T1B11HK7JU616804   Toyota       CAMRY               LAS VEGAS                 NV
94426   4T1B11HK7JU620304   Toyota       CAMRY               Tolleson                  AZ
94427   4T1B11HK7JU634705   Toyota       CAMRY               Rockville Centr           NY
94428   4T1B11HK7JU634767   Toyota       CAMRY               Boise                     ID
94429   4T1B11HK7JU635448   Toyota       CAMRY               OAKLAND                   CA
94430   4T1B11HK7JU635496   Toyota       CAMRY               LAS VEGAS                 NV
94431   4T1B11HK7JU635966   Toyota       CAMRY               PICO RIVERA               CA
94432   4T1B11HK7JU636230   Toyota       CAMRY               WEST PALM BEACH           FL
94433   4T1B11HK7JU636261   Toyota       CAMRY               SAN DIEGO                 CA
94434   4T1B11HK7JU636387   Toyota       CAMRY               CLEVELAND                 OH
94435   4T1B11HK7JU636776   Toyota       CAMRY               SANTA ANA                 CA
94436   4T1B11HK7JU636874   Toyota       CAMRY               PHOENIX                   AZ
94437   4T1B11HK7JU637037   Toyota       CAMRY               LAS VEGAS                 NV
94438   4T1B11HK7JU638379   Toyota       CAMRY               Grove City                OH
94439   4T1B11HK7JU638575   Toyota       CAMRY               BURBANK                   CA
94440   4T1B11HK7JU651276   Toyota       CAMRY               Jacksonville              FL
94441   4T1B11HK7JU652699   Toyota       CAMRY               Rock Hill                 SC
94442   4T1B11HK7JU652881   Toyota       CAMRY               ORLANDO                   FL
94443   4T1B11HK7JU653397   Toyota       CAMRY               North Dighton             MA
94444   4T1B11HK7JU653464   Toyota       CAMRY               CLEVELAND                 OH
94445   4T1B11HK7JU653531   Toyota       CAMRY               FORT MYERS                FL
94446   4T1B11HK7JU654064   Toyota       CAMRY               BURBANK                   CA
94447   4T1B11HK7JU654307   Toyota       CAMRY               HANOVER                   MD
94448   4T1B11HK7JU654789   Toyota       CAMRY               Coraopolis                PA
94449   4T1B11HK7JU655795   Toyota       CAMRY               Hartford                  CT
94450   4T1B11HK7JU655876   Toyota       CAMRY               GLEN BURNIE               MD
94451   4T1B11HK7JU655943   Toyota       CAMRY               WARWICK                   RI
94452   4T1B11HK7JU656848   Toyota       CAMRY               Smithtown                 NY
94453   4T1B11HK7JU657899   Toyota       CAMRY               WEST PALM BEACH           FL
94454   4T1B11HK7JU658177   Toyota       CAMRY               Richmond                  VA
94455   4T1B11HK7KU167139   Toyota       CAMRY               HOUSTON                   TX
94456   4T1B11HK7KU167173   Toyota       CAMRY               Harvey                    LA
94457   4T1B11HK7KU167495   Toyota       CAMRY               Oklahoma City             OK
94458   4T1B11HK7KU170686   Toyota       CAMRY               Houston                   TX
94459   4T1B11HK7KU170820   Toyota       CAMRY               Dallas                    TX
94460   4T1B11HK7KU170994   Toyota       CAMRY               Houston                   TX
94461   4T1B11HK7KU180439   Toyota       CAMRY               TAMPA                     FL
94462   4T1B11HK7KU180845   Toyota       CAMRY               KANSAS CITY               MO
94463   4T1B11HK7KU181879   Toyota       CAMRY               SAN ANTONIO               TX
94464   4T1B11HK7KU182045   Toyota       CAMRY               ATLANTA                   GA
94465   4T1B11HK7KU182109   Toyota       CAMRY               San Antonio               TX
94466   4T1B11HK7KU184829   Toyota       CAMRY               SARASOTA                  FL
94467   4T1B11HK7KU185379   Toyota       CAMRY               WEST PALM BEACH           FL
94468   4T1B11HK7KU193837   Toyota       CAMRY               FORT LAUDERDALE           FL
94469   4T1B11HK7KU195846   Toyota       CAMRY               MORROW                    GA
94470   4T1B11HK7KU197208   Toyota       CAMRY               FORT MYERS                FL
94471   4T1B11HK7KU201211   Toyota       CAMRY               SEA TAC                   WA
94472   4T1B11HK7KU201824   Toyota       CAMRY               LOS ANGELES               CA
94473   4T1B11HK7KU204738   Toyota       CAMRY               Tampa                     FL
94474   4T1B11HK7KU204965   Toyota       CAMRY               PITTSBURGH                PA
94475   4T1B11HK7KU205159   Toyota       CAMRY               Chicago                   IL
94476   4T1B11HK7KU206585   Toyota       CAMRY               ORLANDO                   FL
94477   4T1B11HK7KU222267   Toyota       CAMRY               TAMPA                     FL
94478   4T1B11HK7KU223449   Toyota       CAMRY               GRAND RAPIDS              MI
94479   4T1B11HK7KU228053   Toyota       CAMRY               Jacksonville              FL
94480   4T1B11HK7KU229901   Toyota       CAMRY               TAMPA                     FL
94481   4T1B11HK7KU235584   Toyota       CAMRY               TAMPA                     FL
94482   4T1B11HK7KU235780   Toyota       CAMRY               San Antonio               TX
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94483   4T1B11HK7KU236900   Toyota       CAMRY               Austin                    TX
94484   4T1B11HK7KU237044   Toyota       CAMRY               Atlanta                   GA
94485   4T1B11HK7KU237898   Toyota       CAMRY               CHICAGO                   IL
94486   4T1B11HK7KU238212   Toyota       CAMRY               WEST PALM BEACH           FL
94487   4T1B11HK7KU238730   Toyota       CAMRY               Stockton                  CA
94488   4T1B11HK7KU239165   Toyota       CAMRY               Atlanta                   GA
94489   4T1B11HK7KU239795   Toyota       CAMRY               Irving                    TX
94490   4T1B11HK7KU240588   Toyota       CAMRY               Atlanta                   GA
94491   4T1B11HK7KU241174   Toyota       CAMRY               Dallas                    TX
94492   4T1B11HK7KU241238   Toyota       CAMRY               CHICAGO                   IL
94493   4T1B11HK7KU242034   Toyota       CAMRY               NEW BERN                  NC
94494   4T1B11HK7KU242650   Toyota       CAMRY               SAN ANTONIO               TX
94495   4T1B11HK7KU243149   Toyota       CAMRY               ORLANDO                   FL
94496   4T1B11HK7KU243698   Toyota       CAMRY               PALM SPRINGS              CA
94497   4T1B11HK7KU251039   Toyota       CAMRY               Atlanta                   GA
94498   4T1B11HK7KU254538   Toyota       CAMRY               ATLANTA                   GA
94499   4T1B11HK7KU255589   Toyota       CAMRY               Winston‐Salem             NC
94500   4T1B11HK7KU257701   Toyota       CAMRY               ORLANDO                   FL
94501   4T1B11HK7KU260114   Toyota       CAMRY               Dallas                    TX
94502   4T1B11HK7KU260663   Toyota       CAMRY               Rock Hill                 SC
94503   4T1B11HK7KU262428   Toyota       CAMRY               SALT LAKE CITY            US
94504   4T1B11HK7KU267211   Toyota       CAMRY               Beaverton                 OR
94505   4T1B11HK7KU267354   Toyota       CAMRY               DALLAS                    TX
94506   4T1B11HK7KU267726   Toyota       CAMRY               Portland                  OR
94507   4T1B11HK7KU268486   Toyota       CAMRY               Salt Lake City            UT
94508   4T1B11HK7KU268519   Toyota       CAMRY               SAINT LOUIS               MO
94509   4T1B11HK7KU269072   Toyota       CAMRY               Portland                  OR
94510   4T1B11HK7KU269542   Toyota       CAMRY               Atlanta                   GA
94511   4T1B11HK7KU270366   Toyota       CAMRY               Santa Clara               CA
94512   4T1B11HK7KU687101   Toyota       CAMRY               PHOENIX                   AZ
94513   4T1B11HK7KU687180   Toyota       CAMRY               Carleton                  MI
94514   4T1B11HK7KU691150   Toyota       CAMRY               Detroit                   MI
94515   4T1B11HK7KU692038   Toyota       CAMRY               DALLAS                    TX
94516   4T1B11HK7KU703393   Toyota       CAMRY               ORLANDO                   FL
94517   4T1B11HK7KU703670   Toyota       CAMRY               TAMPA                     FL
94518   4T1B11HK7KU704317   Toyota       CAMRY               ORLANDO                   FL
94519   4T1B11HK7KU705659   Toyota       CAMRY               Manheim                   PA
94520   4T1B11HK7KU716709   Toyota       CAMRY               MIAMI                     FL
94521   4T1B11HK7KU719318   Toyota       CAMRY               WEST PALM BEACH           FL
94522   4T1B11HK7KU719321   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
94523   4T1B11HK7KU720002   Toyota       CAMRY               WEST PALM BEACH           FL
94524   4T1B11HK7KU725037   Toyota       CAMRY               LOS ANGELES               CA
94525   4T1B11HK7KU728164   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
94526   4T1B11HK7KU728570   Toyota       CAMRY               ONTARIO                   CA
94527   4T1B11HK7KU728973   Toyota       CAMRY               ATLANTA                   GA
94528   4T1B11HK7KU729637   Toyota       CAMRY               WEST PALM BEACH           FL
94529   4T1B11HK7KU748107   Toyota       CAMRY               Houston                   TX
94530   4T1B11HK7KU764789   Toyota       CAMRY               Hamilton                  OH
94531   4T1B11HK7KU766347   Toyota       CAMRY               Houston                   TX
94532   4T1B11HK7KU767983   Toyota       CAMRY               CLARKSVILLE               IN
94533   4T1B11HK7KU769443   Toyota       CAMRY               Slidell                   LA
94534   4T1B11HK7KU769684   Toyota       CAMRY               TAMPA                     FL
94535   4T1B11HK7KU769975   Toyota       CAMRY               Austin                    TX
94536   4T1B11HK7KU770091   Toyota       CAMRY               PORTLAND                  OR
94537   4T1B11HK7KU771189   Toyota       CAMRY               Florissant                MO
94538   4T1B11HK7KU772178   Toyota       CAMRY               ONTARIO                   CA
94539   4T1B11HK7KU772410   Toyota       CAMRY               KNOXVILLE                 TN
94540   4T1B11HK7KU773234   Toyota       CAMRY               Sanford                   FL
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94541   4T1B11HK7KU774092   Toyota       CAMRY               Fresno                    CA
94542   4T1B11HK7KU774190   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
94543   4T1B11HK7KU774349   Toyota       CAMRY               DALLAS                    TX
94544   4T1B11HK7KU774450   Toyota       CAMRY               Dallas                    TX
94545   4T1B11HK7KU774741   Toyota       CAMRY               Portland                  OR
94546   4T1B11HK7KU774948   Toyota       CAMRY               ORLANDO                   FL
94547   4T1B11HK7KU784766   Toyota       CAMRY               Newport Beach             CA
94548   4T1B11HK7KU787392   Toyota       CAMRY               HANOVER                   MD
94549   4T1B11HK7KU789434   Toyota       CAMRY               FORT MYERS                FL
94550   4T1B11HK7KU798439   Toyota       CAMRY               Elgin                     IL
94551   4T1B11HK7KU801680   Toyota       CAMRY               Stockton                  CA
94552   4T1B11HK7KU801744   Toyota       CAMRY               Hayward                   CA
94553   4T1B11HK7KU801906   Toyota       CAMRY               San Antonio               TX
94554   4T1B11HK7KU802053   Toyota       CAMRY               Tulsa                     OK
94555   4T1B11HK7KU803316   Toyota       CAMRY               SACRAMENTO                CA
94556   4T1B11HK7KU806801   Toyota       CAMRY               Sacramento                CA
94557   4T1B11HK8JU096838   Toyota       CAMRY               CHARLOTTE                 NC
94558   4T1B11HK8JU097729   Toyota       CAMRY               Miami                     FL
94559   4T1B11HK8JU098296   Toyota       CAMRY               DALLAS                    TX
94560   4T1B11HK8JU098931   Toyota       CAMRY               Atlanta                   GA
94561   4T1B11HK8JU099092   Toyota       CAMRY               LOS ANGELES AP            CA
94562   4T1B11HK8JU100810   Toyota       CAMRY               NEW ENGLAND DEALER        MA
94563   4T1B11HK8JU101455   Toyota       CAMRY               Matteson                  IL
94564   4T1B11HK8JU102234   Toyota       CAMRY               BOSTON                    MA
94565   4T1B11HK8JU102802   Toyota       CAMRY               NEWARK                    NJ
94566   4T1B11HK8JU102993   Toyota       CAMRY               Kenner                    LA
94567   4T1B11HK8JU103674   Toyota       CAMRY               BOSTON                    MA
94568   4T1B11HK8JU121978   Toyota       CAMRY               SACRAMENTO                CA
94569   4T1B11HK8JU123164   Toyota       CAMRY               Ventura                   CA
94570   4T1B11HK8JU125688   Toyota       CAMRY               SANTA ANA                 CA
94571   4T1B11HK8JU126128   Toyota       CAMRY               LOS ANGELES               CA
94572   4T1B11HK8JU126677   Toyota       CAMRY               NEW ENGLAND DEALER        MA
94573   4T1B11HK8JU131992   Toyota       CAMRY               WARWICK                   RI
94574   4T1B11HK8JU135203   Toyota       CAMRY               Burlingame                CA
94575   4T1B11HK8JU137050   Toyota       CAMRY               CLEVELAND                 OH
94576   4T1B11HK8JU137551   Toyota       CAMRY               Massapequa                NY
94577   4T1B11HK8JU138618   Toyota       CAMRY               Nashville                 TN
94578   4T1B11HK8JU601051   Toyota       CAMRY               SANTA ANA                 CA
94579   4T1B11HK8JU616097   Toyota       CAMRY               PORTLAND                  ME
94580   4T1B11HK8JU633823   Toyota       CAMRY               San Diego                 CA
94581   4T1B11HK8JU635572   Toyota       CAMRY               SAN JOSE                  CA
94582   4T1B11HK8JU636723   Toyota       CAMRY               SANTA CLARA               CA
94583   4T1B11HK8JU636804   Toyota       CAMRY               TAMPA                     FL
94584   4T1B11HK8JU637001   Toyota       CAMRY               Slidell                   LA
94585   4T1B11HK8JU637287   Toyota       CAMRY               ROSEVILLE                 CA
94586   4T1B11HK8JU637807   Toyota       CAMRY               BOSTON                    MA
94587   4T1B11HK8JU650623   Toyota       CAMRY               Baltimore                 MD
94588   4T1B11HK8JU650752   Toyota       CAMRY               Johnston                  RI
94589   4T1B11HK8JU651951   Toyota       CAMRY               Detroit                   MI
94590   4T1B11HK8JU651965   Toyota       CAMRY               Londonderry               NH
94591   4T1B11HK8JU652632   Toyota       CAMRY               Burien                    WA
94592   4T1B11HK8JU652713   Toyota       CAMRY               FAYETTEVILLE              US
94593   4T1B11HK8JU652808   Toyota       CAMRY               West Palm Beach           FL
94594   4T1B11HK8JU652971   Toyota       CAMRY               TAMPA                     FL
94595   4T1B11HK8JU653442   Toyota       CAMRY               CLEVELAND                 OH
94596   4T1B11HK8JU654042   Toyota       CAMRY               Florissant                MO
94597   4T1B11HK8JU654154   Toyota       CAMRY               EGG HARBOR TOWN           NJ
94598   4T1B11HK8JU654994   Toyota       CAMRY               BOSTON                    MA
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94599   4T1B11HK8JU655076   Toyota       CAMRY               JAMAICA                   NY
94600   4T1B11HK8JU655613   Toyota       CAMRY               FORT MYERS                FL
94601   4T1B11HK8JU657457   Toyota       CAMRY               SEATTLE                   WA
94602   4T1B11HK8KU165402   Toyota       CAMRY               Aurora                    CO
94603   4T1B11HK8KU165495   Toyota       CAMRY               SANTA BARBARA             CA
94604   4T1B11HK8KU166789   Toyota       CAMRY               Smithtown                 NY
94605   4T1B11HK8KU167358   Toyota       CAMRY               Salt Lake City            UT
94606   4T1B11HK8KU169188   Toyota       CAMRY               Atlanta                   GA
94607   4T1B11HK8KU169563   Toyota       CAMRY               San Diego                 CA
94608   4T1B11HK8KU181194   Toyota       CAMRY               Indianapolis              IN
94609   4T1B11HK8KU181633   Toyota       CAMRY               TAMPA                     FL
94610   4T1B11HK8KU181843   Toyota       CAMRY               ORLANDO                   FL
94611   4T1B11HK8KU182880   Toyota       CAMRY               TAMPA                     FL
94612   4T1B11HK8KU183611   Toyota       CAMRY               FORT MYERS                FL
94613   4T1B11HK8KU183625   Toyota       CAMRY               ATLANTA                   GA
94614   4T1B11HK8KU184760   Toyota       CAMRY               ORLANDO                   FL
94615   4T1B11HK8KU193040   Toyota       CAMRY               FORT MYERS                FL
94616   4T1B11HK8KU194527   Toyota       CAMRY               Orlando                   FL
94617   4T1B11HK8KU194530   Toyota       CAMRY               ORLANDO                   FL
94618   4T1B11HK8KU195807   Toyota       CAMRY               ORLANDO                   FL
94619   4T1B11HK8KU195886   Toyota       CAMRY               FORT LAUDERDALE           FL
94620   4T1B11HK8KU196374   Toyota       CAMRY               Miami                     FL
94621   4T1B11HK8KU201881   Toyota       CAMRY               Scottsdale                AZ
94622   4T1B11HK8KU203937   Toyota       CAMRY               DALLAS                    TX
94623   4T1B11HK8KU204327   Toyota       CAMRY               TAMPA                     FL
94624   4T1B11HK8KU204800   Toyota       CAMRY               TAMPA                     FL
94625   4T1B11HK8KU204828   Toyota       CAMRY               JACKSONVILLE              FL
94626   4T1B11HK8KU205168   Toyota       CAMRY               Atlanta                   GA
94627   4T1B11HK8KU205445   Toyota       CAMRY               North Dighton             MA
94628   4T1B11HK8KU206580   Toyota       CAMRY               WEST COLUMBIA             SC
94629   4T1B11HK8KU223346   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
94630   4T1B11HK8KU226778   Toyota       CAMRY               Houston                   TX
94631   4T1B11HK8KU227185   Toyota       CAMRY               TAMPA                     FL
94632   4T1B11HK8KU228496   Toyota       CAMRY               TAMPA                     FL
94633   4T1B11HK8KU229924   Toyota       CAMRY               GLASSBORO                 NJ
94634   4T1B11HK8KU230751   Toyota       CAMRY               MIAMI                     FL
94635   4T1B11HK8KU231169   Toyota       CAMRY               Sanford                   FL
94636   4T1B11HK8KU231365   Toyota       CAMRY               WEST PALM BEACH           FL
94637   4T1B11HK8KU231480   Toyota       CAMRY               Orlando                   FL
94638   4T1B11HK8KU235836   Toyota       CAMRY               PORTLAND                  OR
94639   4T1B11HK8KU236694   Toyota       CAMRY               SANFORD                   FL
94640   4T1B11HK8KU237215   Toyota       CAMRY               SAINT PAUL                MN
94641   4T1B11HK8KU237764   Toyota       CAMRY               KENNER                    LA
94642   4T1B11HK8KU240082   Toyota       CAMRY               GLASSBORO                 NJ
94643   4T1B11HK8KU240521   Toyota       CAMRY               MEMPHIS                   TN
94644   4T1B11HK8KU241376   Toyota       CAMRY               ORLANDO                   FL
94645   4T1B11HK8KU241717   Toyota       CAMRY               Florissant                MO
94646   4T1B11HK8KU242656   Toyota       CAMRY               ORLANDO                   FL
94647   4T1B11HK8KU242883   Toyota       CAMRY               CHICAGO                   IL
94648   4T1B11HK8KU243550   Toyota       CAMRY               Slidell                   LA
94649   4T1B11HK8KU252295   Toyota       CAMRY               SALT LAKE CITY            US
94650   4T1B11HK8KU255505   Toyota       CAMRY               Atlanta                   GA
94651   4T1B11HK8KU256105   Toyota       CAMRY               ALBANY                    GA
94652   4T1B11HK8KU257318   Toyota       CAMRY               Teterboro                 NJ
94653   4T1B11HK8KU262471   Toyota       CAMRY               SAN ANTONIO               TX
94654   4T1B11HK8KU264284   Toyota       CAMRY               ORLANDO                   FL
94655   4T1B11HK8KU265970   Toyota       CAMRY               Portland                  OR
94656   4T1B11HK8KU267010   Toyota       CAMRY               DALLAS                    TX
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94657   4T1B11HK8KU267105   Toyota       CAMRY               TAMPA                     FL
94658   4T1B11HK8KU267332   Toyota       CAMRY               Costa Mesa                CA
94659   4T1B11HK8KU267833   Toyota       CAMRY               Dallas                    TX
94660   4T1B11HK8KU271011   Toyota       CAMRY               GREENWOOD                 NE
94661   4T1B11HK8KU685762   Toyota       CAMRY               PHOENIX                   AZ
94662   4T1B11HK8KU687253   Toyota       CAMRY               Dallas                    TX
94663   4T1B11HK8KU687785   Toyota       CAMRY               Charlotte                 NC
94664   4T1B11HK8KU687852   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
94665   4T1B11HK8KU688533   Toyota       CAMRY               ORLANDO                   FL
94666   4T1B11HK8KU690461   Toyota       CAMRY               Warr Acres                OK
94667   4T1B11HK8KU704844   Toyota       CAMRY               SALT LAKE CITY            UT
94668   4T1B11HK8KU705556   Toyota       CAMRY               West Palm Beach           FL
94669   4T1B11HK8KU705671   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
94670   4T1B11HK8KU708327   Toyota       CAMRY               NEW ENGLAND DEALER        MA
94671   4T1B11HK8KU718159   Toyota       CAMRY               Little Rock               AR
94672   4T1B11HK8KU718694   Toyota       CAMRY               WEST PALM BEACH           FL
94673   4T1B11HK8KU719389   Toyota       CAMRY               Nashville                 TN
94674   4T1B11HK8KU720591   Toyota       CAMRY               Atlanta                   GA
94675   4T1B11HK8KU727802   Toyota       CAMRY               TAMPA                     FL
94676   4T1B11HK8KU728318   Toyota       CAMRY               Memphis                   TN
94677   4T1B11HK8KU728450   Toyota       CAMRY               PHOENIX                   AZ
94678   4T1B11HK8KU728500   Toyota       CAMRY               Atlanta                   GA
94679   4T1B11HK8KU729162   Toyota       CAMRY               TAMPA                     FL
94680   4T1B11HK8KU729260   Toyota       CAMRY               Grove City                OH
94681   4T1B11HK8KU729906   Toyota       CAMRY               TAMPA                     FL
94682   4T1B11HK8KU730263   Toyota       CAMRY               FORT LAUDERDALE           FL
94683   4T1B11HK8KU730764   Toyota       CAMRY               Florissant                MO
94684   4T1B11HK8KU740629   Toyota       CAMRY               SALT LAKE CITY            UT
94685   4T1B11HK8KU754594   Toyota       CAMRY               GLENOLDEN                 PA
94686   4T1B11HK8KU754711   Toyota       CAMRY               Hendersonville            TN
94687   4T1B11HK8KU754806   Toyota       CAMRY               FORT LAUDERDALE           FL
94688   4T1B11HK8KU755793   Toyota       CAMRY               PHILADELPHIA              PA
94689   4T1B11HK8KU755924   Toyota       CAMRY               FORT MYERS                FL
94690   4T1B11HK8KU756510   Toyota       CAMRY               JACKSON                   MS
94691   4T1B11HK8KU757480   Toyota       CAMRY               ATLANTA                   GA
94692   4T1B11HK8KU757768   Toyota       CAMRY               TAMPA                     FL
94693   4T1B11HK8KU759682   Toyota       CAMRY               ORLANDO                   FL
94694   4T1B11HK8KU759990   Toyota       CAMRY               Atlanta                   GA
94695   4T1B11HK8KU765997   Toyota       CAMRY               SAN FRANCISCO             CA
94696   4T1B11HK8KU766132   Toyota       CAMRY               DES MOINES                IA
94697   4T1B11HK8KU767636   Toyota       CAMRY               Hebron                    KY
94698   4T1B11HK8KU769032   Toyota       CAMRY               PHOENIX                   AZ
94699   4T1B11HK8KU769144   Toyota       CAMRY               BOSTON                    MA
94700   4T1B11HK8KU769161   Toyota       CAMRY               Chicago                   IL
94701   4T1B11HK8KU771251   Toyota       CAMRY               Scottsdale                AZ
94702   4T1B11HK8KU771279   Toyota       CAMRY               CLARKSVILLE               IN
94703   4T1B11HK8KU771623   Toyota       CAMRY               MEMPHIS                   TN
94704   4T1B11HK8KU771931   Toyota       CAMRY               Atlanta                   GA
94705   4T1B11HK8KU772173   Toyota       CAMRY               Dallas                    TX
94706   4T1B11HK8KU772383   Toyota       CAMRY               Florissant                MO
94707   4T1B11HK8KU773081   Toyota       CAMRY               SAN ANTONIO               TX
94708   4T1B11HK8KU773176   Toyota       CAMRY               Houston                   TX
94709   4T1B11HK8KU774117   Toyota       CAMRY               ORLANDO                   FL
94710   4T1B11HK8KU774697   Toyota       CAMRY               DALLAS                    TX
94711   4T1B11HK8KU785814   Toyota       CAMRY               Richmond                  VA
94712   4T1B11HK8KU786364   Toyota       CAMRY               Portland                  OR
94713   4T1B11HK8KU796182   Toyota       CAMRY               Atlanta                   GA
94714   4T1B11HK8KU801526   Toyota       CAMRY               Dallas                    TX
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94715   4T1B11HK8KU802627   Toyota       CAMRY               Phoenix                   AZ
94716   4T1B11HK8KU802837   Toyota       CAMRY               Hayward                   CA
94717   4T1B11HK8KU803664   Toyota       CAMRY               PHOENIX                   AZ
94718   4T1B11HK8KU805124   Toyota       CAMRY               SANTA BARBARA             CA
94719   4T1B11HK9JU095293   Toyota       CAMRY               HANOVER                   MD
94720   4T1B11HK9JU097559   Toyota       CAMRY               North Dighton             MA
94721   4T1B11HK9JU098422   Toyota       CAMRY               North Dighton             MA
94722   4T1B11HK9JU102968   Toyota       CAMRY               COLLEGE PARK              GA
94723   4T1B11HK9JU103683   Toyota       CAMRY               NEW YORK CITY             NY
94724   4T1B11HK9JU122010   Toyota       CAMRY               Lynn                      MA
94725   4T1B11HK9JU124341   Toyota       CAMRY               Albuquerque               NM
94726   4T1B11HK9JU124596   Toyota       CAMRY               SEATTLE                   WA
94727   4T1B11HK9JU126302   Toyota       CAMRY               Detroit                   MI
94728   4T1B11HK9JU132794   Toyota       CAMRY               NEW YORK CITY             NY
94729   4T1B11HK9JU134450   Toyota       CAMRY               Greensboro                NC
94730   4T1B11HK9JU136229   Toyota       CAMRY               RICHMOND                  VA
94731   4T1B11HK9JU137705   Toyota       CAMRY               Amarillo                  TX
94732   4T1B11HK9JU137803   Toyota       CAMRY               Philadelphia              PA
94733   4T1B11HK9JU600989   Toyota       CAMRY               LOS ANGELES               CA
94734   4T1B11HK9JU602287   Toyota       CAMRY               LOS ANGELES               CA
94735   4T1B11HK9JU605254   Toyota       CAMRY               CLEVELAND                 OH
94736   4T1B11HK9JU606582   Toyota       CAMRY               BALTIMORE                 MD
94737   4T1B11HK9JU606906   Toyota       CAMRY               CHICAGO                   IL
94738   4T1B11HK9JU607067   Toyota       CAMRY               LAS VEGAS                 NV
94739   4T1B11HK9JU634091   Toyota       CAMRY               PHOENIX                   AZ
94740   4T1B11HK9JU635452   Toyota       CAMRY               SAN JOSE                  CA
94741   4T1B11HK9JU635533   Toyota       CAMRY               Las Vegas                 NV
94742   4T1B11HK9JU636102   Toyota       CAMRY               HAYWARD                   CA
94743   4T1B11HK9JU638531   Toyota       CAMRY               SACRAMENTO                CA
94744   4T1B11HK9JU639159   Toyota       CAMRY               SANTA CLARA               CA
94745   4T1B11HK9JU640067   Toyota       CAMRY               LOS ANGELES               CA
94746   4T1B11HK9JU648332   Toyota       CAMRY               Indianapolis              IN
94747   4T1B11HK9JU651926   Toyota       CAMRY               Indianapolis              IN
94748   4T1B11HK9JU652672   Toyota       CAMRY               STERLING                  VA
94749   4T1B11HK9JU653286   Toyota       CAMRY               FORT LAUDERDALE           FL
94750   4T1B11HK9JU654857   Toyota       CAMRY               Smithtown                 NY
94751   4T1B11HK9JU655037   Toyota       CAMRY               Rock Hill                 SC
94752   4T1B11HK9JU655068   Toyota       CAMRY               Leesburg                  VA
94753   4T1B11HK9JU655555   Toyota       CAMRY               Cleveland                 OH
94754   4T1B11HK9JU655569   Toyota       CAMRY               Orlando                   FL
94755   4T1B11HK9JU655880   Toyota       CAMRY               Irving                    TX
94756   4T1B11HK9JU657547   Toyota       CAMRY               SEATTLE                   WA
94757   4T1B11HK9KU165490   Toyota       CAMRY               AUSTIN                    TX
94758   4T1B11HK9KU169152   Toyota       CAMRY               SAN JOSE                  CA
94759   4T1B11HK9KU169779   Toyota       CAMRY               PENSACOLA                 FL
94760   4T1B11HK9KU170429   Toyota       CAMRY               FRESNO                    CA
94761   4T1B11HK9KU170768   Toyota       CAMRY               GREEN BAY                 WI
94762   4T1B11HK9KU180538   Toyota       CAMRY               Atlanta                   GA
94763   4T1B11HK9KU181107   Toyota       CAMRY               FORT LAUDERDALE           FL
94764   4T1B11HK9KU181740   Toyota       CAMRY               Atlanta                   GA
94765   4T1B11HK9KU181804   Toyota       CAMRY               Ft. Myers                 FL
94766   4T1B11HK9KU182192   Toyota       CAMRY               KNOXVILLE                 TN
94767   4T1B11HK9KU182810   Toyota       CAMRY               ORLANDO                   FL
94768   4T1B11HK9KU183567   Toyota       CAMRY               MORROW                    GA
94769   4T1B11HK9KU184279   Toyota       CAMRY               Atlanta                   GA
94770   4T1B11HK9KU184881   Toyota       CAMRY               Atlanta                   GA
94771   4T1B11HK9KU193189   Toyota       CAMRY               FORT LAUDERDALE           FL
94772   4T1B11HK9KU193659   Toyota       CAMRY               Indianapolis              IN
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94773   4T1B11HK9KU194651   Toyota       CAMRY               Atlanta                   GA
94774   4T1B11HK9KU194732   Toyota       CAMRY               Clearwater                FL
94775   4T1B11HK9KU196352   Toyota       CAMRY               ORLANDO                   FL
94776   4T1B11HK9KU196528   Toyota       CAMRY               ORLANDO                   FL
94777   4T1B11HK9KU204062   Toyota       CAMRY               College Park              GA
94778   4T1B11HK9KU204739   Toyota       CAMRY               Florissant                MO
94779   4T1B11HK9KU205793   Toyota       CAMRY               Nashville                 TN
94780   4T1B11HK9KU205941   Toyota       CAMRY               CHARLESTON                WV
94781   4T1B11HK9KU206491   Toyota       CAMRY               Atlanta                   GA
94782   4T1B11HK9KU217460   Toyota       CAMRY               Ontario                   CA
94783   4T1B11HK9KU226689   Toyota       CAMRY               ORLANDO                   FL
94784   4T1B11HK9KU226868   Toyota       CAMRY               ORLANDO                   FL
94785   4T1B11HK9KU229415   Toyota       CAMRY               DALLAS                    TX
94786   4T1B11HK9KU229687   Toyota       CAMRY               Matteson                  IL
94787   4T1B11HK9KU235621   Toyota       CAMRY               Atlanta                   GA
94788   4T1B11HK9KU236624   Toyota       CAMRY               HOUSTON                   TX
94789   4T1B11HK9KU236994   Toyota       CAMRY               NASHVILLE                 TN
94790   4T1B11HK9KU237272   Toyota       CAMRY               NEWARK                    NJ
94791   4T1B11HK9KU237496   Toyota       CAMRY               HOLLY HILL                FL
94792   4T1B11HK9KU237661   Toyota       CAMRY               JACKSON                   MS
94793   4T1B11HK9KU237689   Toyota       CAMRY               FORT MYERS                FL
94794   4T1B11HK9KU237854   Toyota       CAMRY               Florissant                MO
94795   4T1B11HK9KU237871   Toyota       CAMRY               TAMPA                     US
94796   4T1B11HK9KU238387   Toyota       CAMRY               Philadelphia              PA
94797   4T1B11HK9KU239183   Toyota       CAMRY               Cedar Rapids              IA
94798   4T1B11HK9KU239622   Toyota       CAMRY               WEST PALM BEACH           FL
94799   4T1B11HK9KU239751   Toyota       CAMRY               ATHENS                    GA
94800   4T1B11HK9KU240222   Toyota       CAMRY               Atlanta                   GA
94801   4T1B11HK9KU240379   Toyota       CAMRY               FORT MYERS                FL
94802   4T1B11HK9KU240690   Toyota       CAMRY               CHICAGO                   IL
94803   4T1B11HK9KU241306   Toyota       CAMRY               Mira Loma                 CA
94804   4T1B11HK9KU241418   Toyota       CAMRY               SAINT LOUIS               MO
94805   4T1B11HK9KU241483   Toyota       CAMRY               San Antonio               TX
94806   4T1B11HK9KU241855   Toyota       CAMRY               SARASOTA                  FL
94807   4T1B11HK9KU241936   Toyota       CAMRY               MEMPHIS                   TN
94808   4T1B11HK9KU242133   Toyota       CAMRY               SAN ANTONIO               TX
94809   4T1B11HK9KU242682   Toyota       CAMRY               SALT LAKE CITY            US
94810   4T1B11HK9KU242777   Toyota       CAMRY               ORLANDO                   FL
94811   4T1B11HK9KU243878   Toyota       CAMRY               Houston                   TX
94812   4T1B11HK9KU255027   Toyota       CAMRY               MEMPHIS                   TN
94813   4T1B11HK9KU261247   Toyota       CAMRY               Florissant                MO
94814   4T1B11HK9KU265993   Toyota       CAMRY               San Antonio               TX
94815   4T1B11HK9KU266142   Toyota       CAMRY               SAINT LOUIS               MO
94816   4T1B11HK9KU266738   Toyota       CAMRY               Los Angeles               CA
94817   4T1B11HK9KU267985   Toyota       CAMRY               STOCKTON                  CA
94818   4T1B11HK9KU268957   Toyota       CAMRY               San Antonio               TX
94819   4T1B11HK9KU270384   Toyota       CAMRY               Des Moines                IA
94820   4T1B11HK9KU270823   Toyota       CAMRY               Portland                  OR
94821   4T1B11HK9KU685835   Toyota       CAMRY               KENNER                    LA
94822   4T1B11HK9KU687956   Toyota       CAMRY               BURBANK                   CA
94823   4T1B11HK9KU689786   Toyota       CAMRY               NORTH HILLS               CA
94824   4T1B11HK9KU704092   Toyota       CAMRY               Winter Park               FL
94825   4T1B11HK9KU704254   Toyota       CAMRY               WEST PALM BEACH           FL
94826   4T1B11HK9KU706313   Toyota       CAMRY               TAMPA                     FL
94827   4T1B11HK9KU708305   Toyota       CAMRY               KNOXVILLE                 TN
94828   4T1B11HK9KU708336   Toyota       CAMRY               TAMPA                     US
94829   4T1B11HK9KU708384   Toyota       CAMRY               FORT MYERS                FL
94830   4T1B11HK9KU718106   Toyota       CAMRY               ORLANDO                   FL
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94831   4T1B11HK9KU720681   Toyota       CAMRY               Sarasota                  FL
94832   4T1B11HK9KU727825   Toyota       CAMRY               Tampa                     FL
94833   4T1B11HK9KU728277   Toyota       CAMRY               Memphis                   TN
94834   4T1B11HK9KU728473   Toyota       CAMRY               TAMPA                     FL
94835   4T1B11HK9KU729025   Toyota       CAMRY               Orlando                   FL
94836   4T1B11HK9KU730465   Toyota       CAMRY               Philadelphia              PA
94837   4T1B11HK9KU754992   Toyota       CAMRY               FORT LAUDERDALE           FL
94838   4T1B11HK9KU756354   Toyota       CAMRY               Leesburg                  VA
94839   4T1B11HK9KU756547   Toyota       CAMRY               Florissant                MO
94840   4T1B11HK9KU758315   Toyota       CAMRY               Jamaica                   NY
94841   4T1B11HK9KU759092   Toyota       CAMRY               Morrisville               NC
94842   4T1B11HK9KU759612   Toyota       CAMRY               SEATAC                    WA
94843   4T1B11HK9KU760467   Toyota       CAMRY               FORT MYERS                FL
94844   4T1B11HK9KU765264   Toyota       CAMRY               Hapeville                 GA
94845   4T1B11HK9KU765443   Toyota       CAMRY               Atlanta                   GA
94846   4T1B11HK9KU767743   Toyota       CAMRY               Lebanon                   TN
94847   4T1B11HK9KU768455   Toyota       CAMRY               MIAMI                     FL
94848   4T1B11HK9KU769833   Toyota       CAMRY               DALLAS                    TX
94849   4T1B11HK9KU770173   Toyota       CAMRY               TAMPA                     US
94850   4T1B11HK9KU770528   Toyota       CAMRY               Slidell                   LA
94851   4T1B11HK9KU771162   Toyota       CAMRY               Winston‐Salem             NC
94852   4T1B11HK9KU772313   Toyota       CAMRY               PHOENIX                   AZ
94853   4T1B11HK9KU784834   Toyota       CAMRY               RALEIGH                   NC
94854   4T1B11HK9KU787684   Toyota       CAMRY               ORLANDO                   FL
94855   4T1B11HK9KU794683   Toyota       CAMRY               Maple Grove               MN
94856   4T1B11HK9KU797812   Toyota       CAMRY               Portland                  OR
94857   4T1B11HK9KU801048   Toyota       CAMRY               LOS ANGELES               CA
94858   4T1B11HK9KU802717   Toyota       CAMRY               St. Louis                 MO
94859   4T1B11HK9KU804290   Toyota       CAMRY               Houston                   TX
94860   4T1B11HK9KU804869   Toyota       CAMRY               ORLANDO                   FL
94861   4T1B11HK9KU806671   Toyota       CAMRY               S. San Francisc           CA
94862   4T1B11HK9KU806833   Toyota       CAMRY               SOUTHWEST DEALER D        TX
94863   4T1B11HKXJU097666   Toyota       CAMRY               NEW ENGLAND DEALER        MA
94864   4T1B11HKXJU098588   Toyota       CAMRY               LOS ANGELES               CA
94865   4T1B11HKXJU100730   Toyota       CAMRY               Davie                     FL
94866   4T1B11HKXJU100839   Toyota       CAMRY               CHICAGO                   IL
94867   4T1B11HKXJU101571   Toyota       CAMRY               Lynn                      MA
94868   4T1B11HKXJU102252   Toyota       CAMRY               Lynn                      MA
94869   4T1B11HKXJU124333   Toyota       CAMRY               SEATTLE                   WA
94870   4T1B11HKXJU124705   Toyota       CAMRY               PASADENA                  CA
94871   4T1B11HKXJU124848   Toyota       CAMRY               BURBANK                   CA
94872   4T1B11HKXJU125028   Toyota       CAMRY               BURBANK                   CA
94873   4T1B11HKXJU126860   Toyota       CAMRY               Roseville                 CA
94874   4T1B11HKXJU131038   Toyota       CAMRY               Phoenix                   AZ
94875   4T1B11HKXJU131427   Toyota       CAMRY               PHILADELPHIA              PA
94876   4T1B11HKXJU131606   Toyota       CAMRY               COCOA                     FL
94877   4T1B11HKXJU136370   Toyota       CAMRY               CHARLOTTE                 NC
94878   4T1B11HKXJU137759   Toyota       CAMRY               CORPUS CHRISTI            TX
94879   4T1B11HKXJU141732   Toyota       CAMRY               ORLANDO                   FL
94880   4T1B11HKXJU563242   Toyota       CAMRY               Davie                     FL
94881   4T1B11HKXJU604808   Toyota       CAMRY               Detroit                   MI
94882   4T1B11HKXJU605893   Toyota       CAMRY               ORLANDO                   FL
94883   4T1B11HKXJU620782   Toyota       CAMRY               Santa Clara               CA
94884   4T1B11HKXJU634522   Toyota       CAMRY               BURBANK                   CA
94885   4T1B11HKXJU638439   Toyota       CAMRY               BURBANK                   CA
94886   4T1B11HKXJU638487   Toyota       CAMRY               LOS ANGELES AP            CA
94887   4T1B11HKXJU649764   Toyota       CAMRY               WEST PALM BEACH           FL
94888   4T1B11HKXJU652566   Toyota       CAMRY               FT LAUDERDALE             FL
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94889   4T1B11HKXJU654141   Toyota       CAMRY               ORLANDO                   FL
94890   4T1B11HKXJU654351   Toyota       CAMRY               SAVANNAH                  GA
94891   4T1B11HKXJU654964   Toyota       CAMRY               Manheim                   PA
94892   4T1B11HKXJU656410   Toyota       CAMRY               Detroit                   MI
94893   4T1B11HKXKU167202   Toyota       CAMRY               HOUSTON                   TX
94894   4T1B11HKXKU168320   Toyota       CAMRY               San Antonio               TX
94895   4T1B11HKXKU168964   Toyota       CAMRY               Pensacola                 FL
94896   4T1B11HKXKU170164   Toyota       CAMRY               Detroit                   MI
94897   4T1B11HKXKU171010   Toyota       CAMRY               Vandalia                  OH
94898   4T1B11HKXKU179429   Toyota       CAMRY               NORTH HILLS               CA
94899   4T1B11HKXKU180659   Toyota       CAMRY               LOS ANGELES               CA
94900   4T1B11HKXKU181536   Toyota       CAMRY               TAMPA                     FL
94901   4T1B11HKXKU181598   Toyota       CAMRY               SOUTH BURLINGTO           VT
94902   4T1B11HKXKU182427   Toyota       CAMRY               BALTIMORE                 MD
94903   4T1B11HKXKU183058   Toyota       CAMRY               FORT LAUDERDALE           FL
94904   4T1B11HKXKU185277   Toyota       CAMRY               TAMPA                     FL
94905   4T1B11HKXKU185425   Toyota       CAMRY               ORLANDO                   FL
94906   4T1B11HKXKU193136   Toyota       CAMRY               Atlanta                   GA
94907   4T1B11HKXKU193153   Toyota       CAMRY               KENNER                    LA
94908   4T1B11HKXKU194352   Toyota       CAMRY               FORT LAUDERDALE           FL
94909   4T1B11HKXKU194500   Toyota       CAMRY               FORT MYERS                FL
94910   4T1B11HKXKU195209   Toyota       CAMRY               CHARLOTTE                 NC
94911   4T1B11HKXKU195212   Toyota       CAMRY               Orlando                   FL
94912   4T1B11HKXKU196893   Toyota       CAMRY               FORT MYERS                FL
94913   4T1B11HKXKU196957   Toyota       CAMRY               TAMPA                     FL
94914   4T1B11HKXKU196960   Toyota       CAMRY               Oklahoma City             OK
94915   4T1B11HKXKU204734   Toyota       CAMRY               TAMPA                     FL
94916   4T1B11HKXKU206774   Toyota       CAMRY               SARASOTA                  FL
94917   4T1B11HKXKU225809   Toyota       CAMRY               Kenner                    LA
94918   4T1B11HKXKU230301   Toyota       CAMRY               ATLANTA                   GA
94919   4T1B11HKXKU237667   Toyota       CAMRY               Tulsa                     OK
94920   4T1B11HKXKU238219   Toyota       CAMRY               ST. ROBERT                MO
94921   4T1B11HKXKU238267   Toyota       CAMRY               ORLANDO                   FL
94922   4T1B11HKXKU238320   Toyota       CAMRY               Tulsa                     OK
94923   4T1B11HKXKU238379   Toyota       CAMRY               Florissant                MO
94924   4T1B11HKXKU238821   Toyota       CAMRY               KENNER                    LA
94925   4T1B11HKXKU239368   Toyota       CAMRY               Beaverton                 OR
94926   4T1B11HKXKU239693   Toyota       CAMRY               FORT LAUDERDALE           FL
94927   4T1B11HKXKU240066   Toyota       CAMRY               KENNER                    LA
94928   4T1B11HKXKU240245   Toyota       CAMRY               Alexandria                VA
94929   4T1B11HKXKU240391   Toyota       CAMRY               Oklahoma City             OK
94930   4T1B11HKXKU240505   Toyota       CAMRY               NEW BERN                  NC
94931   4T1B11HKXKU240908   Toyota       CAMRY               SOUTHEAST DST OFFC        OK
94932   4T1B11HKXKU241475   Toyota       CAMRY               Dallas                    TX
94933   4T1B11HKXKU242433   Toyota       CAMRY               DAYTON                    OH
94934   4T1B11HKXKU243789   Toyota       CAMRY               Sacramento                CA
94935   4T1B11HKXKU260091   Toyota       CAMRY               DALLAS                    TX
94936   4T1B11HKXKU266571   Toyota       CAMRY               DALLAS                    TX
94937   4T1B11HKXKU266912   Toyota       CAMRY               PHOENIX                   AZ
94938   4T1B11HKXKU267137   Toyota       CAMRY               LAS VEGAS                 NV
94939   4T1B11HKXKU267154   Toyota       CAMRY               Salt Lake City            UT
94940   4T1B11HKXKU267364   Toyota       CAMRY               LOUISVILLE                KY
94941   4T1B11HKXKU269762   Toyota       CAMRY               Portland                  OR
94942   4T1B11HKXKU270250   Toyota       CAMRY               Costa Mesa                CA
94943   4T1B11HKXKU270863   Toyota       CAMRY               CHICAGO                   IL
94944   4T1B11HKXKU686900   Toyota       CAMRY               Salt Lake City            UT
94945   4T1B11HKXKU687755   Toyota       CAMRY               Riverside                 CA
94946   4T1B11HKXKU689599   Toyota       CAMRY               SHREVEPORT                LA
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94947   4T1B11HKXKU690512   Toyota       CAMRY               Dallas                    TX
94948   4T1B11HKXKU703579   Toyota       CAMRY               BOSTON                    MA
94949   4T1B11HKXKU704179   Toyota       CAMRY               ORLANDO                   FL
94950   4T1B11HKXKU705719   Toyota       CAMRY               Rock Hill                 SC
94951   4T1B11HKXKU706854   Toyota       CAMRY               NOTTINGHAM                MD
94952   4T1B11HKXKU708152   Toyota       CAMRY               MIAMI                     FL
94953   4T1B11HKXKU708975   Toyota       CAMRY               Atlanta                   GA
94954   4T1B11HKXKU719197   Toyota       CAMRY               Sarasota                  FL
94955   4T1B11HKXKU720012   Toyota       CAMRY               FORT MYERS                FL
94956   4T1B11HKXKU727879   Toyota       CAMRY               MEBANE                    NC
94957   4T1B11HKXKU730491   Toyota       CAMRY               Massapequa                NY
94958   4T1B11HKXKU730636   Toyota       CAMRY               Davie                     FL
94959   4T1B11HKXKU754144   Toyota       CAMRY               Atlanta                   GA
94960   4T1B11HKXKU754502   Toyota       CAMRY               FRONT ROYAL               VA
94961   4T1B11HKXKU761224   Toyota       CAMRY               Houston                   TX
94962   4T1B11HKXKU765435   Toyota       CAMRY               CHICAGO                   IL
94963   4T1B11HKXKU769176   Toyota       CAMRY               Hattiesburg               MS
94964   4T1B11HKXKU769341   Toyota       CAMRY               Houston                   TX
94965   4T1B11HKXKU770361   Toyota       CAMRY               FORT MYERS                FL
94966   4T1B11HKXKU772689   Toyota       CAMRY               Lexington                 KY
94967   4T1B11HKXKU772806   Toyota       CAMRY               Salt Lake City            UT
94968   4T1B11HKXKU773017   Toyota       CAMRY               ORLANDO                   FL
94969   4T1B11HKXKU774152   Toyota       CAMRY               NEWARK                    NJ
94970   4T1B11HKXKU774281   Toyota       CAMRY               Euless                    TX
94971   4T1B11HKXKU774474   Toyota       CAMRY               CHICAGO                   IL
94972   4T1B11HKXKU776094   Toyota       CAMRY               Florissant                MO
94973   4T1B11HKXKU776144   Toyota       CAMRY               Florissant                MO
94974   4T1B11HKXKU786379   Toyota       CAMRY               NASHVILLE                 TN
94975   4T1B11HKXKU788472   Toyota       CAMRY               TAMPA                     FL
94976   4T1B11HKXKU788570   Toyota       CAMRY               Chicago                   IL
94977   4T1B11HKXKU796149   Toyota       CAMRY               CHICAGO                   IL
94978   4T1B11HKXKU799729   Toyota       CAMRY               KNOXVILLE                 TN
94979   4T1B11HKXKU804881   Toyota       CAMRY               LAS VEGAS                 NV
94980   4T1B11HKXKU808462   Toyota       CAMRY               Fresno                    CA
94981   4T1BF1FK0GU191004   Toyota       CAMRY               Culpeper                  VA
94982   4T1BF1FK0GU526679   Toyota       CAMRY               Tolleson                  AZ
94983   4T1BF1FK0HU388031   Toyota       CAMRY               Mira Loma                 CA
94984   4T1BF1FK0HU397652   Toyota       CAMRY               SAN JOSE                  CA
94985   4T1BF1FK0HU398641   Toyota       CAMRY               Kent                      WA
94986   4T1BF1FK0HU401411   Toyota       CAMRY               SAN DIEGO                 CA
94987   4T1BF1FK0HU429905   Toyota       CAMRY               LOS ANGELES               CA
94988   4T1BF1FK0HU431234   Toyota       CAMRY               CLEVELAND                 OH
94989   4T1BF1FK0HU432688   Toyota       CAMRY               NORTH PAC                 CA
94990   4T1BF1FK0HU436112   Toyota       CAMRY               LOS ANGELES               CA
94991   4T1BF1FK0HU438412   Toyota       CAMRY               SAN JOSE                  CA
94992   4T1BF1FK0HU438491   Toyota       CAMRY               BURBANK                   CA
94993   4T1BF1FK0HU443495   Toyota       CAMRY               LAS VEGAS                 NV
94994   4T1BF1FK0HU450513   Toyota       CAMRY               BURBANK                   CA
94995   4T1BF1FK0HU452522   Toyota       CAMRY               PHOENIX                   AZ
94996   4T1BF1FK0HU673554   Toyota       COROLLA             FORT MYERS                FL
94997   4T1BF1FK0HU703314   Toyota       CAMRY               Elkridge                  MD
94998   4T1BF1FK0HU736989   Toyota       CAMRY               CHICAGO                   IL
94999   4T1BF1FK0HU749273   Toyota       CAMRY               SEATTLE                   WA
95000   4T1BF1FK0HU806538   Toyota       CAMRY               Reno                      NV
95001   4T1BF1FK0HU807947   Toyota       CAMRY               STERLING                  VA
95002   4T1BF1FK0HU810184   Toyota       CAMRY               San Diego                 CA
95003   4T1BF1FK0HU810296   Toyota       CAMRY               SAN JOSE                  CA
95004   4T1BF1FK0HU813408   Toyota       CAMRY               Roseville                 CA
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95005   4T1BF1FK1GU123617   Toyota       CAMRY               OAKLAND                   CA
95006   4T1BF1FK1GU523340   Toyota       CAMRY               Elkridge                  MD
95007   4T1BF1FK1HU327528   Toyota       CAMRY               Ft. Myers                 FL
95008   4T1BF1FK1HU396199   Toyota       CAMRY               BURBANK                   CA
95009   4T1BF1FK1HU396963   Toyota       CAMRY               BURBANK                   CA
95010   4T1BF1FK1HU398616   Toyota       CAMRY               BURBANK                   CA
95011   4T1BF1FK1HU401417   Toyota       CAMRY               BURBANK                   CA
95012   4T1BF1FK1HU406231   Toyota       CAMRY               TRACY                     CA
95013   4T1BF1FK1HU430593   Toyota       CAMRY               BALTIMORE                 MD
95014   4T1BF1FK1HU445644   Toyota       CAMRY               BURBANK                   CA
95015   4T1BF1FK1HU449810   Toyota       CAMRY               SAN JOSE                  CA
95016   4T1BF1FK1HU455011   Toyota       CAMRY               Santa Clara               CA
95017   4T1BF1FK1HU455056   Toyota       CAMRY               Tolleson                  AZ
95018   4T1BF1FK1HU727475   Toyota       CAMRY               Lake Elsinore             CA
95019   4T1BF1FK1HU734118   Toyota       CAMRY               BURBANK                   CA
95020   4T1BF1FK1HU737598   Toyota       CAMRY               BURBANK                   CA
95021   4T1BF1FK1HU747886   Toyota       CAMRY               RICHMOND                  VA
95022   4T1BF1FK1HU763439   Toyota       CAMRY               ROSEVILLE                 CA
95023   4T1BF1FK1HU779012   Toyota       CAMRY               SALT LAKE CITY            UT
95024   4T1BF1FK1HU787885   Toyota       CAMRY               SEATTLE                   WA
95025   4T1BF1FK1HU791189   Toyota       CAMRY               FLORENCE                  MS
95026   4T1BF1FK1HU794917   Toyota       CAMRY               BURBANK                   CA
95027   4T1BF1FK1HU798109   Toyota       CAMRY               Los Angeles               CA
95028   4T1BF1FK1HU801896   Toyota       CAMRY               Arlington                 WA
95029   4T1BF1FK1HU807231   Toyota       CAMRY               SANTA ANA                 CA
95030   4T1BF1FK1HU808086   Toyota       CAMRY               Arlington                 WA
95031   4T1BF1FK1HU813207   Toyota       CAMRY               BURBANK                   CA
95032   4T1BF1FK2HU321897   Toyota       CAMRY               Harvey                    LA
95033   4T1BF1FK2HU397765   Toyota       CAMRY               Elkridge                  MD
95034   4T1BF1FK2HU399175   Toyota       CAMRY               Hurricane                 WV
95035   4T1BF1FK2HU400454   Toyota       CAMRY               BURBANK                   CA
95036   4T1BF1FK2HU419182   Toyota       CAMRY               HANOVER                   MD
95037   4T1BF1FK2HU426696   Toyota       CAMRY               LAS VEGAS                 NV
95038   4T1BF1FK2HU438329   Toyota       CAMRY               BURBANK                   CA
95039   4T1BF1FK2HU452540   Toyota       CAMRY               FLAGSTAFF                 AZ
95040   4T1BF1FK2HU453137   Toyota       CAMRY               LOS ANGELES               CA
95041   4T1BF1FK2HU744477   Toyota       CAMRY               glendale                  ca
95042   4T1BF1FK2HU752353   Toyota       CAMRY               BURBANK                   CA
95043   4T1BF1FK2HU779651   Toyota       CAMRY               HANOVER                   MD
95044   4T1BF1FK2HU779794   Toyota       CAMRY               San Diego                 CA
95045   4T1BF1FK2HU785899   Toyota       CAMRY               LOS ANGELES               CA
95046   4T1BF1FK2HU787250   Toyota       CAMRY               LOS ANGELES               CA
95047   4T1BF1FK2HU788754   Toyota       CAMRY               BURBANK                   CA
95048   4T1BF1FK2HU794926   Toyota       CAMRY               BURBANK                   CA
95049   4T1BF1FK2HU796482   Toyota       CAMRY               Las Vegas                 NV
95050   4T1BF1FK2HU801082   Toyota       CAMRY               SEATTLE                   WA
95051   4T1BF1FK2HU801759   Toyota       CAMRY               BURBANK                   CA
95052   4T1BF1FK2HU804113   Toyota       CAMRY               Statesville               NC
95053   4T1BF1FK3GU197525   Toyota       CAMRY               STERLING                  VA
95054   4T1BF1FK3GU198156   Toyota       CAMRY               ORLANDO                   FL
95055   4T1BF1FK3GU543010   Toyota       CAMRY               North Dighton             MA
95056   4T1BF1FK3HU322363   Toyota       CAMRY               PORTLAND                  OR
95057   4T1BF1FK3HU356111   Toyota       CAMRY               LOS ANGELES               CA
95058   4T1BF1FK3HU357131   Toyota       CAMRY               Harvey                    LA
95059   4T1BF1FK3HU389402   Toyota       CAMRY               Santa Clara               CA
95060   4T1BF1FK3HU399184   Toyota       CAMRY               BURBANK                   CA
95061   4T1BF1FK3HU400494   Toyota       CAMRY               LOS ANGELES               CA
95062   4T1BF1FK3HU427243   Toyota       CAMRY               NEW ENGLAND DEALER        MA
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95063   4T1BF1FK3HU429297   Toyota       CAMRY               HANOVER                   MD
95064   4T1BF1FK3HU434872   Toyota       CAMRY               BURBANK                   CA
95065   4T1BF1FK3HU435603   Toyota       CAMRY               BURBANK                   CA
95066   4T1BF1FK3HU441983   Toyota       CAMRY               BURBANK                   CA
95067   4T1BF1FK3HU444947   Toyota       CAMRY               NORTH PAC                 CA
95068   4T1BF1FK3HU733441   Toyota       CAMRY               LAS VEGAS                 NV
95069   4T1BF1FK3HU747940   Toyota       CAMRY               BURBANK                   CA
95070   4T1BF1FK3HU748120   Toyota       CAMRY               BURBANK                   CA
95071   4T1BF1FK3HU748506   Toyota       CAMRY               Lake Elsinore             CA
95072   4T1BF1FK3HU750191   Toyota       CAMRY               CHICAGO                   IL
95073   4T1BF1FK3HU768948   Toyota       CAMRY               CHICAGO O'HARE AP         IL
95074   4T1BF1FK3HU781473   Toyota       CAMRY               STERLING                  VA
95075   4T1BF1FK3HU785894   Toyota       CAMRY               Hayward                   CA
95076   4T1BF1FK3HU786625   Toyota       CAMRY               SANTA ANA                 CA
95077   4T1BF1FK3HU802659   Toyota       CAMRY               BURBANK                   CA
95078   4T1BF1FK3HU807151   Toyota       CAMRY               San Diego                 CA
95079   4T1BF1FK4GU504684   Toyota       CAMRY               LOS ANGELES               CA
95080   4T1BF1FK4GU521596   Toyota       CAMRY               Los Angeles               CA
95081   4T1BF1FK4HU297411   Toyota       CAMRY               Phoenix                   AZ
95082   4T1BF1FK4HU316653   Toyota       CAMRY               ORLANDO                   FL
95083   4T1BF1FK4HU365173   Toyota       CAMRY               Elkridge                  MD
95084   4T1BF1FK4HU388923   Toyota       CAMRY               LOS ANGELES               CA
95085   4T1BF1FK4HU400729   Toyota       CAMRY               BURBANK                   CA
95086   4T1BF1FK4HU408703   Toyota       CAMRY               DALLAS                    TX
95087   4T1BF1FK4HU425176   Toyota       CAMRY               BURBANK                   CA
95088   4T1BF1FK4HU428434   Toyota       CAMRY               BOSTON                    MA
95089   4T1BF1FK4HU436145   Toyota       CAMRY               Kent                      WA
95090   4T1BF1FK4HU444309   Toyota       CAMRY               Las Vegas                 NV
95091   4T1BF1FK4HU698408   Toyota       CAMRY               KEY WEST                  FL
95092   4T1BF1FK4HU749938   Toyota       CAMRY               BURBANK                   CA
95093   4T1BF1FK4HU750202   Toyota       CAMRY               Portland                  OR
95094   4T1BF1FK4HU762088   Toyota       CAMRY               SAN FRANCISCO             CA
95095   4T1BF1FK4HU782115   Toyota       CAMRY               North Dighton             MA
95096   4T1BF1FK4HU785838   Toyota       CAMRY               North Las Vegas           NV
95097   4T1BF1FK4HU803397   Toyota       CAMRY
95098   4T1BF1FK4HU807322   Toyota       CAMRY               LOS ANGELES               CA
95099   4T1BF1FK4HU811029   Toyota       CAMRY               BURBANK                   CA
95100   4T1BF1FK5HU307153   Toyota       CAMRY               Ventura                   CA
95101   4T1BF1FK5HU388462   Toyota       CAMRY               Fredericksburg            VA
95102   4T1BF1FK5HU389207   Toyota       CAMRY               SEATTLE                   WA
95103   4T1BF1FK5HU396206   Toyota       CAMRY               Kent                      WA
95104   4T1BF1FK5HU396951   Toyota       CAMRY               SEATTLE                   WA
95105   4T1BF1FK5HU401341   Toyota       CAMRY               SAN DIEGO                 CA
95106   4T1BF1FK5HU416700   Toyota       CAMRY               Elkridge                  MD
95107   4T1BF1FK5HU436218   Toyota       CAMRY               BURBANK                   CA
95108   4T1BF1FK5HU438485   Toyota       CAMRY               Burlingame                CA
95109   4T1BF1FK5HU441368   Toyota       CAMRY               Las Vegas                 NV
95110   4T1BF1FK5HU444822   Toyota       CAMRY               MEDINA                    OH
95111   4T1BF1FK5HU446358   Toyota       CAMRY               SANTA ANA                 CA
95112   4T1BF1FK5HU447204   Toyota       CAMRY               LOS ANGELES               CA
95113   4T1BF1FK5HU448482   Toyota       CAMRY               BURBANK                   CA
95114   4T1BF1FK5HU450426   Toyota       CAMRY               SAN DIEGO                 CA
95115   4T1BF1FK5HU453147   Toyota       CAMRY               SANTA ANA                 CA
95116   4T1BF1FK5HU453276   Toyota       CAMRY               NORTH PAC                 CA
95117   4T1BF1FK5HU670357   Toyota       CAMRY               PHOENIX                   AZ
95118   4T1BF1FK5HU747003   Toyota       CAMRY               Roseville                 CA
95119   4T1BF1FK5HU748426   Toyota       CAMRY               Sacramento                CA
95120   4T1BF1FK5HU775481   Toyota       CAMRY               Ventura                   CA
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95121   4T1BF1FK5HU777697   Toyota       CAMRY               North Dighton             MA
95122   4T1BF1FK5HU782981   Toyota       CAMRY               BURBANK                   CA
95123   4T1BF1FK5HU806440   Toyota       CAMRY               BURBANK                   CA
95124   4T1BF1FK5HU809628   Toyota       CAMRY               Beaverton                 OR
95125   4T1BF1FK6GU203348   Toyota       CAMRY               ATLANTA                   GA
95126   4T1BF1FK6HU388566   Toyota       CAMRY               NORTH PAC                 CA
95127   4T1BF1FK6HU389507   Toyota       CAMRY               Fort Lauderdale           FL
95128   4T1BF1FK6HU398210   Toyota       CAMRY               LOS ANGELES               CA
95129   4T1BF1FK6HU412168   Toyota       CAMRY               MEDINA                    OH
95130   4T1BF1FK6HU428502   Toyota       CAMRY               Tolleson                  AZ
95131   4T1BF1FK6HU434980   Toyota       CAMRY               LOS ANGELES               CA
95132   4T1BF1FK6HU437104   Toyota       CAMRY               RICHMOND                  VA
95133   4T1BF1FK6HU439032   Toyota       CAMRY               SAN DIEGO                 CA
95134   4T1BF1FK6HU445039   Toyota       CAMRY               Las Vegas                 NV
95135   4T1BF1FK6HU446501   Toyota       CAMRY               DALLAS                    TX
95136   4T1BF1FK6HU449883   Toyota       CAMRY               Riverside                 CA
95137   4T1BF1FK6HU453965   Toyota       CAMRY               SACRAMENTO                CA
95138   4T1BF1FK6HU734017   Toyota       CAMRY               North Dighton             MA
95139   4T1BF1FK6HU734129   Toyota       CAMRY               BURBANK                   CA
95140   4T1BF1FK6HU748130   Toyota       CAMRY               NORTH PAC                 CA
95141   4T1BF1FK6HU748855   Toyota       CAMRY               South San Franc           CA
95142   4T1BF1FK6HU780513   Toyota       CAMRY               Hanover                   MD
95143   4T1BF1FK6HU785064   Toyota       CAMRY               NORTH PAC                 CA
95144   4T1BF1FK6HU797201   Toyota       CAMRY               Mira Loma                 CA
95145   4T1BF1FK6HU801893   Toyota       CAMRY               BURIEN                    WA
95146   4T1BF1FK6HU808701   Toyota       CAMRY               Baltimore                 MD
95147   4T1BF1FK6HU811050   Toyota       CAMRY               CHICAGO                   IL
95148   4T1BF1FK6HU812604   Toyota       CAMRY               Lake Elsinore             CA
95149   4T1BF1FK6HU813364   Toyota       CAMRY               Los Angeles               CA
95150   4T1BF1FK6HU813378   Toyota       CAMRY               ONTARIO                   CA
95151   4T1BF1FK7GU228940   Toyota       CAMRY               Belton                    MO
95152   4T1BF1FK7HU398801   Toyota       CAMRY               BURBANK                   CA
95153   4T1BF1FK7HU399852   Toyota       CAMRY               LOS ANGELES               CA
95154   4T1BF1FK7HU400482   Toyota       CAMRY               BURBANK                   CA
95155   4T1BF1FK7HU428041   Toyota       CAMRY               RICHMOND                  VA
95156   4T1BF1FK7HU428539   Toyota       CAMRY               COLLEGE PARK              GA
95157   4T1BF1FK7HU450444   Toyota       CAMRY               BURBANK                   CA
95158   4T1BF1FK7HU451335   Toyota       CAMRY               Kent                      WA
95159   4T1BF1FK7HU743020   Toyota       CAMRY               LOS ANGELES               CA
95160   4T1BF1FK7HU745236   Toyota       CAMRY               BURBANK                   CA
95161   4T1BF1FK7HU746578   Toyota       CAMRY               Miami                     FL
95162   4T1BF1FK7HU749318   Toyota       CAMRY               Beaverton                 OR
95163   4T1BF1FK7HU780035   Toyota       CAMRY               BALTIMORE                 MD
95164   4T1BF1FK7HU785283   Toyota       CAMRY               Miami                     FL
95165   4T1BF1FK7HU791150   Toyota       CAMRY               North Las Vegas           NV
95166   4T1BF1FK7HU797255   Toyota       CAMRY               BURBANK                   CA
95167   4T1BF1FK7HU804947   Toyota       CAMRY               Fontana                   CA
95168   4T1BF1FK8GU159918   Toyota       CAMRY               SAN JOSE                  CA
95169   4T1BF1FK8HU373146   Toyota       CAMRY               Harvey                    LA
95170   4T1BF1FK8HU387290   Toyota       CAMRY               LOS ANGELES               CA
95171   4T1BF1FK8HU398189   Toyota       CAMRY               LOS ANGELES               CA
95172   4T1BF1FK8HU442711   Toyota       CAMRY               Ventura                   CA
95173   4T1BF1FK8HU454535   Toyota       CAMRY               Burien                    WA
95174   4T1BF1FK8HU734830   Toyota       CAMRY               Burien                    WA
95175   4T1BF1FK8HU749232   Toyota       CAMRY               NORTH PAC                 CA
95176   4T1BF1FK8HU750056   Toyota       CAMRY               LOS ANGELES               CA
95177   4T1BF1FK8HU792565   Toyota       CAMRY               LOS ANGELES               CA
95178   4T1BF1FK8HU799497   Toyota       CAMRY               NORTH PAC                 CA
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95179   4T1BF1FK8HU801751   Toyota       CAMRY               BURBANK                   CA
95180   4T1BF1FK8HU804195   Toyota       CAMRY               LOS ANGELES               CA
95181   4T1BF1FK8HU808862   Toyota       CAMRY               LOS ANGELES               CA
95182   4T1BF1FK8HU815519   Toyota       CAMRY               Las Vegas                 NV
95183   4T1BF1FK9GU153190   Toyota       CAMRY               LOS ANGELES               CA
95184   4T1BF1FK9GU505216   Toyota       CAMRY               San Diego                 CA
95185   4T1BF1FK9HU388884   Toyota       CAMRY               PHOENIX                   AZ
95186   4T1BF1FK9HU398251   Toyota       CAMRY               BURBANK                   CA
95187   4T1BF1FK9HU398847   Toyota       CAMRY               LOS ANGELES               CA
95188   4T1BF1FK9HU403240   Toyota       CAMRY               Las Vegas                 NV
95189   4T1BF1FK9HU430647   Toyota       CAMRY               LAS VEGAS                 NV
95190   4T1BF1FK9HU433516   Toyota       CAMRY               Atlanta                   GA
95191   4T1BF1FK9HU451773   Toyota       CAMRY               LOS ANGELES               CA
95192   4T1BF1FK9HU455046   Toyota       CAMRY               SALT LAKE CITY            UT
95193   4T1BF1FK9HU694712   Toyota       CAMRY               ORLANDO                   FL
95194   4T1BF1FK9HU733315   Toyota       CAMRY               Lynn                      MA
95195   4T1BF1FK9HU746808   Toyota       CAMRY               Kent                      WA
95196   4T1BF1FK9HU777041   Toyota       CAMRY               SAN BRUNO                 CA
95197   4T1BF1FK9HU797354   Toyota       CAMRY               Kent                      WA
95198   4T1BF1FK9HU801886   Toyota       CAMRY               STERLING                  VA
95199   4T1BF1FK9HU808630   Toyota       CAMRY               NORTH PAC                 CA
95200   4T1BF1FK9HU809633   Toyota       CAMRY               Las Vegas                 NV
95201   4T1BF1FK9HU814038   Toyota       CAMRY               Philadelphia              PA
95202   4T1BF1FK9HU815402   Toyota       CAMRY               Burien                    WA
95203   4T1BF1FKXGU549029   Toyota       CAMRY               DENVER                    CO
95204   4T1BF1FKXHU348992   Toyota       CAMRY               NEW YORK DEALER DI        NJ
95205   4T1BF1FKXHU388425   Toyota       CAMRY               LOS ANGELES               CA
95206   4T1BF1FKXHU400539   Toyota       CAMRY               SACRAMENTO                CA
95207   4T1BF1FKXHU428678   Toyota       CAMRY               BOSTON                    MA
95208   4T1BF1FKXHU438417   Toyota       CAMRY               LOS ANGELES               CA
95209   4T1BF1FKXHU439213   Toyota       CAMRY               Hayward                   CA
95210   4T1BF1FKXHU441902   Toyota       CAMRY               Lake Elsinore             CA
95211   4T1BF1FKXHU450650   Toyota       CAMRY               LOS ANGELES               CA
95212   4T1BF1FKXHU452687   Toyota       CAMRY               SANTA ANA                 CA
95213   4T1BF1FKXHU734344   Toyota       CAMRY               Elkridge                  MD
95214   4T1BF1FKXHU746784   Toyota       CAMRY               ONTARIO                   CA
95215   4T1BF1FKXHU749152   Toyota       CAMRY               Fontana                   CA
95216   4T1BF1FKXHU750110   Toyota       CAMRY               BURBANK                   CA
95217   4T1BF1FKXHU781504   Toyota       CAMRY               RICHMOND                  VA
95218   4T1BF1FKXHU787142   Toyota       CAMRY               Stockton                  CA
95219   4T1BF1FKXHU787349   Toyota       CAMRY               Phoenix                   AZ
95220   4T1BF1FKXHU793376   Toyota       CAMRY               BURBANK                   CA
95221   4T1BF1FKXHU800195   Toyota       CAMRY               LOS ANGELES               CA
95222   4T1BF1FKXHU804117   Toyota       CAMRY               BURBANK                   CA
95223   4T1BF1FKXHU811911   Toyota       CAMRY               BURBANK                   CA
95224   4T1BK1EB0HU253564   Toyota       AVALON              Houston                   TX
95225   4T1BK1EB0JU281399   Toyota       AVALON              GRAND RAPIDS              MI
95226   4T1BK1EB0JU284089   Toyota       AVALON              PANAMA CITY               FL
95227   4T1BK1EB0JU285940   Toyota       AVALON              Anaheim                   CA
95228   4T1BK1EB0JU288062   Toyota       AVALON              SAN FRANCISCO             CA
95229   4T1BK1EB0JU288238   Toyota       AVALON              Irving                    TX
95230   4T1BK1EB0JU289065   Toyota       AVALON              WHITE PLAINS              NY
95231   4T1BK1EB1JU284294   Toyota       AVALON              FORT MYERS                FL
95232   4T1BK1EB1JU284635   Toyota       AVALON              LAS VEGAS                 NV
95233   4T1BK1EB1JU288216   Toyota       AVALON              Roanoke                   VA
95234   4T1BK1EB1JU288233   Toyota       AVALON              HOUSTON                   TX
95235   4T1BK1EB1JU288264   Toyota       AVALON              Charlotte                 NC
95236   4T1BK1EB1JU288443   Toyota       AVALON              PHILADELPHIA              PA
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95237   4T1BK1EB1JU288488   Toyota       AVALON              HEBRON                    KY
95238   4T1BK1EB1JU288572   Toyota       AVALON              IRVING                    TX
95239   4T1BK1EB1JU288636   Toyota       AVALON              Leesburg                  VA
95240   4T1BK1EB1JU288829   Toyota       AVALON              ONTARIO                   CA
95241   4T1BK1EB1JU288846   Toyota       AVALON              Fredericksburg            VA
95242   4T1BK1EB1JU288944   Toyota       AVALON              NEWARK                    NJ
95243   4T1BK1EB2JU285096   Toyota       AVALON              SANTA BARBARA             CA
95244   4T1BK1EB2JU287995   Toyota       AVALON              Manheim                   PA
95245   4T1BK1EB2JU288001   Toyota       AVALON              CHARLOTTE                 NC
95246   4T1BK1EB2JU288662   Toyota       AVALON              BURBANK                   CA
95247   4T1BK1EB2JU289472   Toyota       AVALON              Irving                    TX
95248   4T1BK1EB3JU284314   Toyota       AVALON              SACRAMENTO                CA
95249   4T1BK1EB3JU284488   Toyota       AVALON              Alexandria                VA
95250   4T1BK1EB3JU284622   Toyota       AVALON              PHILADELPHIA              PA
95251   4T1BK1EB3JU285219   Toyota       AVALON              FORT MYERS                FL
95252   4T1BK1EB3JU288136   Toyota       AVALON              PHOENIX                   AZ
95253   4T1BK1EB3JU288525   Toyota       AVALON              IRVING                    TX
95254   4T1BK1EB4JU285794   Toyota       AVALON              KENNER                    LA
95255   4T1BK1EB4JU286217   Toyota       AVALON              DENVER                    CO
95256   4T1BK1EB4JU286444   Toyota       AVALON              ORLANDO                   FL
95257   4T1BK1EB4JU288047   Toyota       AVALON              CLEVELAND                 OH
95258   4T1BK1EB4JU288632   Toyota       AVALON              MIAMI                     FL
95259   4T1BK1EB5HU245878   Toyota       AVALON              LAS VEGAS                 NV
95260   4T1BK1EB5JU283732   Toyota       AVALON              EL SEGUNDO                CA
95261   4T1BK1EB5JU286355   Toyota       AVALON              ROSEVILLE                 CA
95262   4T1BK1EB5JU288073   Toyota       AVALON              BOSTON                    MA
95263   4T1BK1EB5JU288106   Toyota       AVALON              LOS ANGELES               CA
95264   4T1BK1EB5JU288297   Toyota       AVALON              KENNER                    LA
95265   4T1BK1EB5JU288607   Toyota       AVALON              OAKLAND                   CA
95266   4T1BK1EB5JU288655   Toyota       AVALON              SAN FRANCISCO             CA
95267   4T1BK1EB5JU289059   Toyota       AVALON              Hartford                  CT
95268   4T1BK1EB5JU289241   Toyota       AVALON              HANOVER                   MD
95269   4T1BK1EB6JU283674   Toyota       AVALON              LOS ANGELES               CA
95270   4T1BK1EB6JU286493   Toyota       AVALON              San Diego                 CA
95271   4T1BK1EB6JU288194   Toyota       AVALON              LUBBOCK                   TX
95272   4T1BK1EB6JU288499   Toyota       AVALON              RONKONKOMA                NY
95273   4T1BK1EB7JU280931   Toyota       AVALON              PHOENIX                   AZ
95274   4T1BK1EB7JU285210   Toyota       AVALON              SANTA BARBARA             CA
95275   4T1BK1EB7JU285742   Toyota       AVALON              BURBANK                   CA
95276   4T1BK1EB7JU288382   Toyota       AVALON              Detroit                   MI
95277   4T1BK1EB7JU288513   Toyota       AVALON              GAINESVILLE               GA
95278   4T1BK1EB7JU288544   Toyota       AVALON              Cleveland                 OH
95279   4T1BK1EB7JU288737   Toyota       AVALON              ALEXANDRIA                VA
95280   4T1BK1EB7JU289046   Toyota       AVALON              WARWICK                   RI
95281   4T1BK1EB7JU289516   Toyota       AVALON              SAINT PAUL                MN
95282   4T1BK1EB8JU284034   Toyota       AVALON              Burien                    WA
95283   4T1BK1EB8JU288147   Toyota       AVALON              MEDINA                    OH
95284   4T1BK1EB8JU288312   Toyota       AVALON              OKLAHOMA CITY             OK
95285   4T1BK1EB8JU288388   Toyota       AVALON              DALLAS                    TX
95286   4T1BK1EB8JU288505   Toyota       AVALON              MEMPHIS                   TN
95287   4T1BK1EB8JU288973   Toyota       AVALON              Teterboro                 NJ
95288   4T1BK1EB9JU280607   Toyota       AVALON              ONTARIO                   CA
95289   4T1BK1EB9JU284821   Toyota       AVALON              Ventura                   CA
95290   4T1BK1EB9JU286150   Toyota       AVALON              Warwick                   RI
95291   4T1BK1EB9JU288111   Toyota       AVALON              DENVER                    CO
95292   4T1BK1EB9JU288237   Toyota       AVALON              San Diego                 CA
95293   4T1BK1EB9JU288576   Toyota       AVALON              DENVER                    CO
95294   4T1BK1EB9JU288609   Toyota       AVALON              San Diego                 CA
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95295   4T1BK1EB9JU289159   Toyota        AVALON              Elkridge                  MD
95296   4T1BK1EBXJU288005   Toyota        AVALON              WHITE PLAINS              NY
95297   4T1BK1EBXJU288246   Toyota        AVALON              Hayward                   CA
95298   4T1BK1EBXJU288991   Toyota        AVALON              ORLANDO                   FL
95299   4T3BA3BB0FU073296   Toyota        VENZA               DAYTONA BEACH             FL
95300   4T3ZA3BB5FU089945   Toyota        VENZA               BURBANK                   CA
95301   4T4BF1FK5GR543953   Toyota        CAMRY               STERLING                  VA
95302   4T4BF1FK5GR569405   Toyota        CAMRY               GREEN BAY                 WI
95303   4T4BF1FK6GR527485   Toyota        CAMRY               PHOENIX                   AZ
95304   4T4BF1FKXGR523326   Toyota        CAMRY               LOS ANGELES               CA
95305   4T4BF1FKXGR532642   Toyota        CAMRY               SAN DIEGO                 CA
95306   55MS23AD1KH097606   Hyundai       SANTA               North Billerica           MA
95307   55MS23AD2KH085125   Hyundai       SANTA               ORLANDO                   FL
95308   55MS23AD2KH091460   Hyundai       SANTA               MILWAUKEE                 WI
95309   55MS2CAD6KH135458   Hyundai       SANTA               MILWAUKEE                 WI
95310   55PD74LF0HH169356   Hyundai       ELANTRA             Tampa                     FL
95311   55PD74LF0HH172080   Hyundai       ELANTRA             STERLING                  VA
95312   55PD74LF0HH202727   Hyundai       ELANTRA             COSTA MESA                CA
95313   55PD74LF1HH167583   Hyundai       ELANTRA             STERLING                  VA
95314   55PD74LF1HH169348   Hyundai       ELANTRA             PHOENIX                   AZ
95315   55PD74LF1HH179135   Hyundai       ELANTRA             MIAMI                     FL
95316   55PD74LF1HH194816   Hyundai       ELANTRA             BOSTON                    MA
95317   55PD74LF1HH194976   Hyundai       ELANTRA             NORTH PAC                 CA
95318   55PD74LF1HH195500   Hyundai       ELANTRA             BOSTON                    MA
95319   55PD74LF1HH198347   Hyundai       ELANTRA             PHILADELPHIA              PA
95320   55PD74LF1HH209251   Hyundai       ELANTRA             Miami                     FL
95321   55PD74LF1HH210514   Hyundai       ELANTRA             Orlando                   FL
95322   55PD74LF2HH193254   Hyundai       ELANTRA             FLORIDA DEALER DIR        FL
95323   55PD74LF2HH202700   Hyundai       ELANTRA             BURBANK                   CA
95324   55PD74LF2HH203295   Hyundai       ELANTRA             BURBANK                   CA
95325   55PD74LF2HH203913   Hyundai       ELANTRA             OAKLAND                   CA
95326   55PD74LF2HH210604   Hyundai       ELANTRA             MIAMI                     FL
95327   55PD74LF2HH210909   Hyundai       ELANTRA             MEDINA                    OH
95328   55PD74LF2HH211106   Hyundai       ELANTRA             Atlanta                   GA
95329   55PD74LF3HH169657   Hyundai       ELANTRA             Tampa                     FL
95330   55PD74LF3HH194591   Hyundai       ELANTRA             HANOVER                   MD
95331   55PD74LF3HH200633   Hyundai       ELANTRA             Atlanta                   GA
95332   55PD74LF3HH203760   Hyundai       ELANTRA             LOS ANGELES               CA
95333   55PD74LF3HH210451   Hyundai       ELANTRA             Dania                     FL
95334   55PD74LF3HH210577   Hyundai       ELANTRA             Atlanta                   GA
95335   55PD74LF3HH212619   Hyundai       ELANTRA             Fredericksburg            VA
95336   55PD74LF4HH196463   Hyundai       ELANTRA             Fredericksburg            VA
95337   55PD74LF4HH198973   Hyundai       ELANTRA             STERLING                  VA
95338   55PD74LF4HH199315   Hyundai       ELANTRA             Elkridge                  MD
95339   55PD74LF4HH209700   Hyundai       ELANTRA             Fredericksburg            VA
95340   55PD74LF4HH212631   Hyundai       ELANTRA             Tampa                     FL
95341   55PD74LF5HH166789   Hyundai       ELANTRA             Grove City                OH
95342   55PD74LF5HH167568   Hyundai       ELANTRA             Fredericksburg            VA
95343   55PD74LF5HH171927   Hyundai       ELANTRA             North Dighton             MA
95344   55PD74LF5HH193832   Hyundai       ELANTRA             CHICAGO                   IL
95345   55PD74LF5HH194480   Hyundai       ELANTRA             Miami                     FL
95346   55PD74LF5HH194771   Hyundai       ELANTRA             Davie                     FL
95347   55PD74LF5HH195029   Hyundai       ELANTRA             STERLING                  VA
95348   55PD74LF5HH206238   Hyundai       ELANTRA             Fredericksburg            VA
95349   55PD74LF5HH209933   Hyundai       ELANTRA             MEDINA                    OH
95350   55PD74LF5HH211133   Hyundai       ELANTRA             STERLING                  VA
95351   55PD74LF6HH170124   Hyundai       ELANTRA             BOSTON                    MA
95352   55PD74LF6HH170141   Hyundai       ELANTRA             BOSTON                    MA
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95353   55PD74LF6HH202005   Hyundai       ELANTRA             Slidell                   LA
95354   55PD74LF6HH212355   Hyundai       ELANTRA             STERLING                  VA
95355   55PD74LF7HH167572   Hyundai       ELANTRA             HANOVER                   MD
95356   55PD74LF7HH167880   Hyundai       ELANTRA             SPRINGFIELD               VA
95357   55PD74LF7HH170567   Hyundai       ELANTRA             Cleveland                 OH
95358   55PD74LF7HH171976   Hyundai       ELANTRA             HANOVER                   MD
95359   55PD74LF7HH192407   Hyundai       ELANTRA             DANIA BEACH               FL
95360   55PD74LF7HH194593   Hyundai       ELANTRA             GLEN BURNIE               MD
95361   55PD74LF7HH195002   Hyundai       ELANTRA             CHICAGO                   IL
95362   55PD74LF7HH196537   Hyundai       ELANTRA             North Billerica           MA
95363   55PD74LF7HH197333   Hyundai       ELANTRA             Fort Lauderdale           FL
95364   55PD74LF7HH207598   Hyundai       ELANTRA             CLEVELAND                 OH
95365   55PD74LF7HH210808   Hyundai       ELANTRA             HANOVER                   MD
95366   55PD74LF7HH210968   Hyundai       ELANTRA             FT LAUDERDALE             FL
95367   55PD74LF7HH211022   Hyundai       ELANTRA             N. Palm Beach             FL
95368   55PD74LF8HH179035   Hyundai       ELANTRA             Hanover                   MD
95369   55PD74LF8HH193985   Hyundai       ELANTRA             ORLANDO                   FL
95370   55PD74LF8HH194859   Hyundai       ELANTRA             Chicago                   IL
95371   55PD74LF8HH196935   Hyundai       ELANTRA             Davie                     FL
95372   55PD74LF8HH197650   Hyundai       ELANTRA             Miami                     FL
95373   55PD74LF8HH197700   Hyundai       ELANTRA             Tampa                     FL
95374   55PD74LF8HH198135   Hyundai       ELANTRA             DAYTONA BEACH             FL
95375   55PD74LF8HH199320   Hyundai       ELANTRA             N. Palm Beach             FL
95376   55PD74LF8HH210302   Hyundai       ELANTRA             GLASSBORO                 NJ
95377   55PD74LF8HH210509   Hyundai       ELANTRA             Miami                     FL
95378   55PD74LF8HH212387   Hyundai       ELANTRA             Atlanta                   GA
95379   55PD74LF8HH212406   Hyundai       ELANTRA             Tampa                     FL
95380   55PD74LF9HH168822   Hyundai       ELANTRA             Fredericksburg            VA
95381   55PD74LF9HH169324   Hyundai       ELANTRA             North Dighton             MA
95382   55PD74LF9HH194840   Hyundai       ELANTRA             Miami                     FL
95383   55PD74LF9HH195311   Hyundai       ELANTRA             MORROW                    GA
95384   55PD74LF9HH197012   Hyundai       ELANTRA             BURIEN                    WA
95385   55PD74LF9HH207005   Hyundai       ELANTRA             ORLANDO                   FL
95386   55PD74LF9HH212396   Hyundai       ELANTRA             Clearwater                FL
95387   55PD74LFXHH166738   Hyundai       ELANTRA             Morrisville               NC
95388   55PD74LFXHH166741   Hyundai       ELANTRA             DES MOINES                IA
95389   55PD74LFXHH196905   Hyundai       ELANTRA             WEST PALM BEACH           FL
95390   55PD74LFXHH201505   Hyundai       ELANTRA             BURBANK                   CA
95391   55PD74LFXHH210950   Hyundai       ELANTRA             CHICAGO                   IL
95392   55PD74LFXHH212276   Hyundai       ELANTRA             Elkridge                  MD
95393   55PD84LF0KH473615   Hyundai       ELANTRA             ALLENTOWN                 US
95394   55PD84LF0KH474263   Hyundai       ELANTRA             Coraopolis                PA
95395   55PD84LF2JH325724   Hyundai       ELANTRA             ROSEVILLE                 CA
95396   55PD84LF2KH482915   Hyundai       ELANTRA             Kent                      WA
95397   55PD84LF3KH472135   Hyundai       ELANTRA             CLEVELAND                 OH
95398   55PD84LF3KH473317   Hyundai       ELANTRA             Clifton Park              NY
95399   55PD84LF4KH467719   Hyundai       ELANTRA             CHARLESTON                WV
95400   55PD84LF4KH484133   Hyundai       ELANTRA             BOSTON                    MA
95401   55PD84LF5KH471987   Hyundai       ELANTRA             DALLAS                    TX
95402   55PD84LF6KH474431   Hyundai       ELANTRA             Coraopolis                PA
95403   55PE24AF0KH774653   Hyundai       SONATA              HOUSTON                   TX
95404   55PE24AF0KH784373   Hyundai       SONATA              GRAND RAPIDS              MI
95405   55PE24AF0KH784583   Hyundai       SONATA              Newark                    NJ
95406   55PE24AF0KH799195   Hyundai       SONATA              Torrance                  CA
95407   55PE24AF2KH790353   Hyundai       SONATA              Latham                    NY
95408   55PE24AF2KH790868   Hyundai       SONATA              Elgin                     IL
95409   55PE24AF2KH792667   Hyundai       SONATA              SEATAC                    WA
95410   55PE24AF3KH775831   Hyundai       SONATA              Teterboro                 NJ
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95411   55PE24AF4KH775384   Hyundai        SONATA              FORT MYERS                FL
95412   55PE24AF4KH790001   Hyundai        SONATA              FORT MYERS                FL
95413   55PE24AF5KH775538   Hyundai        SONATA              SAINT LOUIS               MO
95414   55PE24AF5KH776298   Hyundai        SONATA              SYRACUSE                  NY
95415   55PE24AF5KH777323   Hyundai        SONATA              SARASOTA                  FL
95416   55PE24AF5KH783316   Hyundai        SONATA              SAINT LOUIS               MO
95417   55PE24AF5KH784188   Hyundai        SONATA              SAINT LOUIS               MO
95418   55PE24AF5KH789973   Hyundai        SONATA              Nashville                 TN
95419   55PE24AF6HH567662   Hyundai        SONATA              SAN FRANCISCO             CA
95420   55PE24AF6KH775399   Hyundai        SONATA              Philadelphia              PA
95421   55PE24AF6KH787245   Hyundai        SONATA              PHILADELPHIA              PA
95422   55PE24AF6KH787584   Hyundai        SONATA              DETROIT                   MI
95423   55PE24AF7KH789960   Hyundai        SONATA              DETROIT                   MI
95424   55PE24AF7KH791031   Hyundai        SONATA              Kent                      WA
95425   55PE24AF7KH791093   Hyundai        SONATA              Syracuse                  NY
95426   55PE24AF8KH775047   Hyundai        SONATA              Rock Hill                 SC
95427   55PE24AF8KH775842   Hyundai        SONATA              INDIANAPOLIS              IN
95428   55PE24AF8KH775890   Hyundai        SONATA              NEW YORK CITY             NY
95429   55PE24AF9HH470861   Hyundai        SONATA              Hanover                   MD
95430   55PE24AF9KH791905   Hyundai        SONATA              Kent                      WA
95431   55PE24AFXKH775907   Hyundai        SONATA              ORLANDO                   FL
95432   55PE24AFXKH789600   Hyundai        SONATA              DALLAS                    TX
95433   55SWF8GB0HU224489   Mercedes       C63                 MIAMI                     FL
95434   55SWF8GB0JU269986   Mercedes       C63                 SAN FRANCISCO             CA
95435   55SWF8GB0KU315527   Mercedes       C63                 SANTA ANA                 CA
95436   55SWF8GB0KU316158   Mercedes       C63                 BURBANK                   CA
95437   55SWF8GB0KU316564   Mercedes       C63                 ORLANDO                   FL
95438   55SWF8GB0LU332068   Mercedes       C63                 JAMAICA                   NY
95439   55SWF8GB0LU332278   Mercedes       C63                 ORLANDO                   FL
95440   55SWF8GB0LU332300   Mercedes       C63                 LOS ANGELES               CA
95441   55SWF8GB0LU332331   Mercedes       C63                 PHOENIX                   AZ
95442   55SWF8GB0LU332443   Mercedes       C63                 SAN FRANCISCO             CA
95443   55SWF8GB0LU332491   Mercedes       C63                 LAS VEGAS                 NV
95444   55SWF8GB0LU332524   Mercedes       C63                 SAN FRANCISCO             CA
95445   55SWF8GB0LU332619   Mercedes       C63                 PHOENIX                   AZ
95446   55SWF8GB0LU332720   Mercedes       C63                 SAN DIEGO                 CA
95447   55SWF8GB0LU332801   Mercedes       C63                 SAN FRANCISCO             CA
95448   55SWF8GB0LU332815   Mercedes       C63                 SAN DIEGO                 CA
95449   55SWF8GB0LU332894   Mercedes       C63                 MIAMI                     FL
95450   55SWF8GB1JU274355   Mercedes       C63                 Lake Elsinore             CA
95451   55SWF8GB1JU276140   Mercedes       C63                 LAS VEGAS                 NV
95452   55SWF8GB1KU315942   Mercedes       C63                 FORT LAUDERDALE           FL
95453   55SWF8GB1LU332077   Mercedes       C63                 ORLANDO                   FL
95454   55SWF8GB1LU332371   Mercedes       C63                 PHOENIX                   AZ
95455   55SWF8GB1LU332421   Mercedes       C63                 ORLANDO                   FL
95456   55SWF8GB1LU332449   Mercedes       C63                 SAN DIEGO                 CA
95457   55SWF8GB1LU332547   Mercedes       C63                 MIAMI                     FL
95458   55SWF8GB1LU332564   Mercedes       C63                 LAS VEGAS                 NV
95459   55SWF8GB2JU272694   Mercedes       C63                 Riverside                 CA
95460   55SWF8GB2LU331696   Mercedes       C63                 MIAMI                     FL
95461   55SWF8GB2LU332315   Mercedes       C63                 MIAMI                     FL
95462   55SWF8GB2LU332377   Mercedes       C63                 ORLANDO                   FL
95463   55SWF8GB2LU332394   Mercedes       C63                 ORLANDO                   FL
95464   55SWF8GB2LU332427   Mercedes       C63                 PHOENIX                   AZ
95465   55SWF8GB2LU332475   Mercedes       C63                 JAMAICA                   NY
95466   55SWF8GB2LU332766   Mercedes       C63                 SAN FRANCISCO             CA
95467   55SWF8GB3KU315019   Mercedes       C63                 PHOENIX                   AZ
95468   55SWF8GB3KU315960   Mercedes       C63                 LAS VEGAS                 NV
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95469   55SWF8GB3KU316543   Mercedes       C63                 ORLANDO                   FL
95470   55SWF8GB3LU331691   Mercedes       C63                 ORLANDO                   FL
95471   55SWF8GB3LU332095   Mercedes       C63                 Miami                     FL
95472   55SWF8GB3LU332257   Mercedes       C63                 PHOENIX                   AZ
95473   55SWF8GB3LU332288   Mercedes       C63                 MIAMI                     FL
95474   55SWF8GB3LU332310   Mercedes       C63                 SAN DIEGO                 CA
95475   55SWF8GB3LU332355   Mercedes       C63                 SAN DIEGO                 CA
95476   55SWF8GB3LU332405   Mercedes       C63                 PHOENIX                   AZ
95477   55SWF8GB3LU332470   Mercedes       C63                 LOS ANGELES               CA
95478   55SWF8GB3LU332517   Mercedes       C63                 LOS ANGELES               CA
95479   55SWF8GB3LU332579   Mercedes       C63                 LOS ANGELES               CA
95480   55SWF8GB3LU332596   Mercedes       C63                 SAN FRANCISCO             CA
95481   55SWF8GB3LU332629   Mercedes       C63                 LOS ANGELES               CA
95482   55SWF8GB3LU332825   Mercedes       C63                 SAN FRANCISCO             CA
95483   55SWF8GB4KU315045   Mercedes       C63                 SACRAMENTO                CA
95484   55SWF8GB4KU315899   Mercedes       C63                 LOS ANGELES               CA
95485   55SWF8GB4KU316342   Mercedes       C63                 SARASOTA                  FL
95486   55SWF8GB4LU331702   Mercedes       C63                 FORT MYERS                FL
95487   55SWF8GB4LU332283   Mercedes       C63                 SAN FRANCISCO             CA
95488   55SWF8GB4LU332297   Mercedes       C63                 LOS ANGELES               CA
95489   55SWF8GB4LU332347   Mercedes       C63                 PHOENIX                   AZ
95490   55SWF8GB4LU332400   Mercedes       C63                 ORLANDO                   FL
95491   55SWF8GB4LU332459   Mercedes       C63                 LOS ANGELES               CA
95492   55SWF8GB4LU332509   Mercedes       C63                 SAN DIEGO                 CA
95493   55SWF8GB4LU332512   Mercedes       C63                 LAS VEGAS                 NV
95494   55SWF8GB4LU332543   Mercedes       C63                 ORLANDO                   FL
95495   55SWF8GB4LU332574   Mercedes       C63                 PHOENIX                   AZ
95496   55SWF8GB4LU332607   Mercedes       C63                 LAS VEGAS                 NV
95497   55SWF8GB4LU332669   Mercedes       C63                 LAS VEGAS                 NV
95498   55SWF8GB4LU332848   Mercedes       C63                 SAN FRANCISCO             CA
95499   55SWF8GB5JU272964   Mercedes       C63                 SEATTLE                   WA
95500   55SWF8GB5KU316401   Mercedes       C63                 Miami                     FL
95501   55SWF8GB5LU331675   Mercedes       C63                 WEST PALM BEACH           FL
95502   55SWF8GB5LU331739   Mercedes       C63                 FORT LAUDERDALE           FL
95503   55SWF8GB5LU331854   Mercedes       C63                 PHOENIX                   AZ
95504   55SWF8GB5LU331904   Mercedes       C63                 FORT LAUDERDALE           FL
95505   55SWF8GB5LU332082   Mercedes       C63                 FORT LAUDERDALE           FL
95506   55SWF8GB5LU332292   Mercedes       C63                 PHOENIX                   AZ
95507   55SWF8GB5LU332342   Mercedes       C63                 SAN FRANCISCO             CA
95508   55SWF8GB5LU332454   Mercedes       C63                 LAS VEGAS                 NV
95509   55SWF8GB5LU332602   Mercedes       C63                 LAS VEGAS                 NV
95510   55SWF8GB5LU332633   Mercedes       C63                 SAN FRANCISCO             CA
95511   55SWF8GB5LU332776   Mercedes       C63                 ORLANDO                   FL
95512   55SWF8GB6JU272973   Mercedes       C63                 SEATTLE                   WA
95513   55SWF8GB6KU315774   Mercedes       C63                 PHOENIX                   AZ
95514   55SWF8GB6KU315855   Mercedes       C63                 LOS ANGELES               CA
95515   55SWF8GB6KU316052   Mercedes       C63                 Reno                      NV
95516   55SWF8GB6KU316147   Mercedes       C63                 ONTARIO                   CA
95517   55SWF8GB6KU317329   Mercedes       C63                 MIAMI                     FL
95518   55SWF8GB6LU331734   Mercedes       C63                 FORT LAUDERDALE           FL
95519   55SWF8GB6LU331846   Mercedes       C63                 PHOENIX                   AZ
95520   55SWF8GB6LU332365   Mercedes       C63                 MIAMI                     FL
95521   55SWF8GB6LU332432   Mercedes       C63                 FORT MYERS                FL
95522   55SWF8GB6LU332480   Mercedes       C63                 SAN DIEGO                 CA
95523   55SWF8GB6LU332558   Mercedes       C63                 LOS ANGELES               CA
95524   55SWF8GB6LU332589   Mercedes       C63                 SAN FRANCISCO             CA
95525   55SWF8GB7KU315816   Mercedes       C63                 LOS ANGELES               CA
95526   55SWF8GB7KU316237   Mercedes       C63                 MIAMI                     FL
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95527   55SWF8GB7KU316710   Mercedes       C63                 SAVANNAH                  GA
95528   55SWF8GB7LU332486   Mercedes       C63                 SOUTH SAN FRANC           CA
95529   55SWF8GB7LU332570   Mercedes       C63                 PHOENIX                   AZ
95530   55SWF8GB7LU332682   Mercedes       C63                 LOS ANGELES               CA
95531   55SWF8GB7LU332696   Mercedes       C63                 LOS ANGELES AP            CA
95532   55SWF8GB7LU332858   Mercedes       C63                 SAN DIEGO                 US
95533   55SWF8GB8JU275762   Mercedes       C63                 SEATTLE                   WA
95534   55SWF8GB8KU316022   Mercedes       C63                 Lake Elsinore             CA
95535   55SWF8GB8KU316313   Mercedes       C63                 LOS ANGELES               CA
95536   55SWF8GB8KU316442   Mercedes       C63                 NEWARK                    NJ
95537   55SWF8GB8KU316523   Mercedes       C63                 SAN JOSE                  CA
95538   55SWF8GB8KU316599   Mercedes       C63                 ORLANDO                   FL
95539   55SWF8GB8LU332089   Mercedes       C63                 FORT MYERS                FL
95540   55SWF8GB8LU332304   Mercedes       C63                 PHOENIX                   AZ
95541   55SWF8GB8LU332416   Mercedes       C63                 SAN FRANCISCO             CA
95542   55SWF8GB8LU332464   Mercedes       C63                 LOS ANGELES               CA
95543   55SWF8GB8LU332531   Mercedes       C63                 LOS ANGELES               CA
95544   55SWF8GB8LU332884   Mercedes       C63                 SAN DIEGO                 CA
95545   55SWF8GB9KU317471   Mercedes       C63                 MIAMI                     FL
95546   55SWF8GB9LU332120   Mercedes       C63                 ORLANDO                   FL
95547   55SWF8GB9LU332358   Mercedes       C63                 SAN FRANCISCO             CA
95548   55SWF8GB9LU332389   Mercedes       C63                 LOS ANGELES               CA
95549   55SWF8GB9LU332411   Mercedes       C63                 SAN DIEGO                 CA
95550   55SWF8GB9LU332506   Mercedes       C63                 LAS VEGAS                 NV
95551   55SWF8GB9LU332537   Mercedes       C63                 LOS ANGELES               CA
95552   55SWF8GBXKU315647   Mercedes       C63                 SAN DIEGO                 CA
95553   55SWF8GBXKU315731   Mercedes       C63                 LOS ANGELES               CA
95554   55SWF8GBXKU316281   Mercedes       C63                 SAN FRANCISCO             CA
95555   55SWF8GBXKU316359   Mercedes       C63                 FORT LAUDERDALE           FL
95556   55SWF8GBXKU316460   Mercedes       C63                 SAN FRANCISCO             CA
95557   55SWF8GBXLU331834   Mercedes       C63                 PHOENIX                   AZ
95558   55SWF8GBXLU332031   Mercedes       C63                 PHOENIX                   AZ
95559   55SWF8GBXLU332336   Mercedes       C63                 PHOENIX                   AZ
95560   55SWF8GBXLU332501   Mercedes       C63                 PHOENIX                   AZ
95561   55SWF8GBXLU332708   Mercedes       C63                 LOS ANGELES               CA
95562   55SWF8GBXLU332837   Mercedes       C63                 ORLANDO                   FL
95563   57XGT4L30HG139297   Kia            OPTIMA              LOS ANGELES               CA
95564   57XGT4L30HG147304   Kia            OPTIMA              CHICAGO                   IL
95565   57XGT4L30JG214411   Kia            OPTIMA              Richmond                  VA
95566   57XGT4L30JG225716   Kia            OPTIMA              NORTH PAC                 CA
95567   57XGT4L30JG228678   Kia            OPTIMA              Kent                      WA
95568   57XGT4L30JG230687   Kia            OPTIMA              PICO RIVERA               CA
95569   57XGT4L30JG231189   Kia            OPTIMA              Hanover                   MD
95570   57XGT4L30JG231354   Kia            OPTIMA              CHARLOTTE                 NC
95571   57XGT4L30JG231371   Kia            OPTIMA              Los Angeles               CA
95572   57XGT4L30JG232939   Kia            OPTIMA              HANOVER                   MD
95573   57XGT4L30JG234092   Kia            OPTIMA              PHILADELPHIA              PA
95574   57XGT4L30JG234478   Kia            OPTIMA              DANIA BEACH               FL
95575   57XGT4L30JG239051   Kia            OPTIMA              SANTA ANA                 CA
95576   57XGT4L30JG239521   Kia            OPTIMA              Detroit                   MI
95577   57XGT4L30JG243696   Kia            OPTIMA              JACKSON                   MS
95578   57XGT4L30JG243911   Kia            OPTIMA              BURBANK                   CA
95579   57XGT4L30JG245769   Kia            OPTIMA              ORLANDO                   FL
95580   57XGT4L30JG246467   Kia            OPTIMA              TAMPA                     FL
95581   57XGT4L30JG247313   Kia            OPTIMA              CENTRAL DIST OFFC         OK
95582   57XGT4L30JG247599   Kia            OPTIMA              DES PLAINES               IL
95583   57XGT4L30JG247733   Kia            OPTIMA              Manheim                   PA
95584   57XGT4L30JG248641   Kia            OPTIMA              Sanford                   FL
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95585   57XGT4L30JG248879   Kia          OPTIMA              Cleveland                 OH
95586   57XGT4L30JG248980   Kia          OPTIMA              FRESNO                    CA
95587   57XGT4L30JG249403   Kia          OPTIMA              STERLING                  VA
95588   57XGT4L30JG249885   Kia          OPTIMA              Bensalem                  PA
95589   57XGT4L30JG249949   Kia          OPTIMA              CENTRAL DIST OFFC         OK
95590   57XGT4L30KG303865   Kia          OPTIMA              Mandeville                LA
95591   57XGT4L30KG335747   Kia          OPTIMA              SAINT LOUIS               MO
95592   57XGT4L30KG339376   Kia          OPTIMA              Lake Elsinore             CA
95593   57XGT4L30KG341452   Kia          OPTIMA              NASHVILLE                 TN
95594   57XGT4L30KG347364   Kia          OPTIMA              FORT MYERS                FL
95595   57XGT4L31HG139289   Kia          OPTIMA              DARLINGTON                SC
95596   57XGT4L31HG146100   Kia          OPTIMA              BOSTON                    MA
95597   57XGT4L31HG147828   Kia          OPTIMA              North Dighton             MA
95598   57XGT4L31HG149546   Kia          OPTIMA              CLEVELAND                 OH
95599   57XGT4L31HG168405   Kia          OPTIMA              Denver                    CO
95600   57XGT4L31JG222808   Kia          OPTIMA              Statesville               NC
95601   57XGT4L31JG225949   Kia          OPTIMA              DALLAS                    TX
95602   57XGT4L31JG227927   Kia          OPTIMA              SANTA ANA                 CA
95603   57XGT4L31JG228835   Kia          OPTIMA              BURBANK                   CA
95604   57XGT4L31JG231282   Kia          OPTIMA              MATTHEWS                  NC
95605   57XGT4L31JG233081   Kia          OPTIMA              MATTHEWS                  NC
95606   57XGT4L31JG234473   Kia          OPTIMA              Atlanta                   GA
95607   57XGT4L31JG239320   Kia          OPTIMA              STERLING                  VA
95608   57XGT4L31JG239477   Kia          OPTIMA              BURBANK                   CA
95609   57XGT4L31JG243903   Kia          OPTIMA              CLEVELAND                 OH
95610   57XGT4L31JG246476   Kia          OPTIMA              WEST PALM BEACH           FL
95611   57XGT4L31JG247210   Kia          OPTIMA              SAN JOSE                  CA
95612   57XGT4L31JG248986   Kia          OPTIMA              Webster                   NY
95613   57XGT4L31JG249152   Kia          OPTIMA              Norwalk                   CA
95614   57XGT4L31JG249474   Kia          OPTIMA              CHARLOTTE                 NC
95615   57XGT4L31JG250205   Kia          OPTIMA              Anaheim                   CA
95616   57XGT4L31KG339662   Kia          OPTIMA              ORLANDO                   FL
95617   57XGT4L31KG342092   Kia          OPTIMA              TAMPA                     FL
95618   57XGT4L31KG342531   Kia          OPTIMA              DETROIT                   MI
95619   57XGT4L31KG346739   Kia          OPTIMA              ORLANDO                   FL
95620   57XGT4L31KG347390   Kia          OPTIMA              NEW ENGLAND DEALER        MA
95621   57XGT4L32HG146753   Kia          OPTIMA              NEW YORK CITY             NY
95622   57XGT4L32HG163889   Kia          OPTIMA              Kent                      WA
95623   57XGT4L32HG167196   Kia          OPTIMA              SEATAC                    WA
95624   57XGT4L32JG218718   Kia          OPTIMA              MIAMI                     FL
95625   57XGT4L32JG223384   Kia          OPTIMA              FT. LAUDERDALE            FL
95626   57XGT4L32JG225944   Kia          OPTIMA              Irving                    TX
95627   57XGT4L32JG226804   Kia          OPTIMA              LOS ANGELES               CA
95628   57XGT4L32JG227130   Kia          OPTIMA              Massapequa                NY
95629   57XGT4L32JG229380   Kia          OPTIMA              FORT LAUDERDALE           FL
95630   57XGT4L32JG230383   Kia          OPTIMA              FORT LAUDERDALE           FL
95631   57XGT4L32JG232070   Kia          OPTIMA              ORLANDO                   FL
95632   57XGT4L32JG232084   Kia          OPTIMA              Atlanta                   GA
95633   57XGT4L32JG233316   Kia          OPTIMA              SAN ANTONIO               TX
95634   57XGT4L32JG239598   Kia          OPTIMA              TAMPA                     FL
95635   57XGT4L32JG247300   Kia          OPTIMA              ORLANDO                   FL
95636   57XGT4L32JG250214   Kia          OPTIMA              Ocoee                     FL
95637   57XGT4L32KG335748   Kia          OPTIMA              Portland                  OR
95638   57XGT4L32KG340089   Kia          OPTIMA              PHILADELPHIA              PA
95639   57XGT4L32KG342005   Kia          OPTIMA              SOUTHEAST DST OFFC        OK
95640   57XGT4L32KG344661   Kia          OPTIMA              TAMPA                     FL
95641   57XGT4L32KG345115   Kia          OPTIMA              TAMPA                     FL
95642   57XGT4L32KG348239   Kia          OPTIMA              North Dighton             MA
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95643   57XGT4L32KG358219   Kia          OPTIMA              ORLANDO                   FL
95644   57XGT4L32KG359516   Kia          OPTIMA              Massapequa                NY
95645   57XGT4L33HG129640   Kia          OPTIMA              Harvey                    LA
95646   57XGT4L33HG139472   Kia          OPTIMA              SACRAMENTO                CA
95647   57XGT4L33HG139648   Kia          OPTIMA              PORTLAND                  OR
95648   57XGT4L33HG147443   Kia          OPTIMA              WEST PALM BEACH           FL
95649   57XGT4L33HG162315   Kia          OPTIMA              PITTSBURGH                PA
95650   57XGT4L33HG168406   Kia          OPTIMA              Portland                  OR
95651   57XGT4L33HG170964   Kia          OPTIMA              SAN FRANCISCO             CA
95652   57XGT4L33JG219277   Kia          OPTIMA              FORT MYERS                FL
95653   57XGT4L33JG220932   Kia          OPTIMA              NORTH PAC                 CA
95654   57XGT4L33JG223619   Kia          OPTIMA              Davie                     FL
95655   57XGT4L33JG228660   Kia          OPTIMA              LOS ANGELES               CA
95656   57XGT4L33JG229789   Kia          OPTIMA              SANTA CLARA               CA
95657   57XGT4L33JG231607   Kia          OPTIMA              SAN DIEGO                 CA
95658   57XGT4L33JG232305   Kia          OPTIMA              Smithtown                 NY
95659   57XGT4L33JG234040   Kia          OPTIMA              WARWICK                   RI
95660   57XGT4L33JG234264   Kia          OPTIMA              ORLANDO                   FL
95661   57XGT4L33JG242591   Kia          OPTIMA              SAN DIEGO                 CA
95662   57XGT4L33JG242610   Kia          OPTIMA              Scottsdale                AZ
95663   57XGT4L33JG242624   Kia          OPTIMA              Norwalk                   CA
95664   57XGT4L33JG243692   Kia          OPTIMA              MILWAUKEE                 WI
95665   57XGT4L33JG244633   Kia          OPTIMA              Denver                    CO
95666   57XGT4L33JG248374   Kia          OPTIMA              BURBANK                   CA
95667   57XGT4L33JG248455   Kia          OPTIMA              Atlanta                   GA
95668   57XGT4L33JG248875   Kia          OPTIMA              WOODSON TERRACE           MO
95669   57XGT4L33KG339789   Kia          OPTIMA              Atlanta                   GA
95670   57XGT4L33KG340912   Kia          OPTIMA              ORLANDO                   FL
95671   57XGT4L33KG341994   Kia          OPTIMA              TAMPA                     FL
95672   57XGT4L33KG344703   Kia          OPTIMA              Lexington                 KY
95673   57XGT4L33KG344717   Kia          OPTIMA              FORT MYERS                FL
95674   57XGT4L33KG347276   Kia          OPTIMA              FORT MYERS                FL
95675   57XGT4L33KG352400   Kia          OPTIMA              Newark                    NJ
95676   57XGT4L34HG147175   Kia          OPTIMA              Richmond                  VA
95677   57XGT4L34HG165112   Kia          OPTIMA              NORTH PAC                 CA
95678   57XGT4L34HG167202   Kia          OPTIMA              PORTLAND                  OR
95679   57XGT4L34HG171282   Kia          OPTIMA              TAMPA                     FL
95680   57XGT4L34JG217795   Kia          OPTIMA              Marietta                  GA
95681   57XGT4L34JG218994   Kia          OPTIMA              CLEVELAND                 OH
95682   57XGT4L34JG227310   Kia          OPTIMA              STERLING                  VA
95683   57XGT4L34JG233026   Kia          OPTIMA              Orlando                   FL
95684   57XGT4L34JG233639   Kia          OPTIMA              CLEVELAND                 OH
95685   57XGT4L34JG234497   Kia          OPTIMA              HANOVER                   MD
95686   57XGT4L34JG238596   Kia          OPTIMA              BURBANK                   CA
95687   57XGT4L34JG238677   Kia          OPTIMA              BURBANK                   CA
95688   57XGT4L34JG239599   Kia          OPTIMA              Matteson                  IL
95689   57XGT4L34JG243541   Kia          OPTIMA              ONTARIO                   CA
95690   57XGT4L34JG244981   Kia          OPTIMA              SAN JOSE                  CA
95691   57XGT4L34JG246956   Kia          OPTIMA              ORLANDO                   FL
95692   57XGT4L34JG247220   Kia          OPTIMA              Detroit                   MI
95693   57XGT4L34JG247492   Kia          OPTIMA              CHARLESTON                WV
95694   57XGT4L34JG247816   Kia          OPTIMA              BURBANK                   CA
95695   57XGT4L34JG249341   Kia          OPTIMA              CHICAGO                   IL
95696   57XGT4L34JG249470   Kia          OPTIMA              Philadelphia              PA
95697   57XGT4L34KG299691   Kia          OPTIMA              ATLANTA                   GA
95698   57XGT4L34KG336089   Kia          OPTIMA              Portland                  OR
95699   57XGT4L34KG336092   Kia          OPTIMA              Norwalk                   CA
95700   57XGT4L34KG340742   Kia          OPTIMA              ORLANDO                   FL
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95701   57XGT4L34KG340837   Kia          OPTIMA              ORLANDO                   FL
95702   57XGT4L34KG341437   Kia          OPTIMA              Elkridge                  MD
95703   57XGT4L34KG343740   Kia          OPTIMA              NEWARK                    NJ
95704   57XGT4L34KG347738   Kia          OPTIMA              PHILADELPHIA              PA
95705   57XGT4L34KG357959   Kia          OPTIMA              ORLANDO                   FL
95706   57XGT4L34KG358089   Kia          OPTIMA              PHILADELPHIA              PA
95707   57XGT4L35JG219216   Kia          OPTIMA              Las Vegas                 NV
95708   57XGT4L35JG219989   Kia          OPTIMA              FORT LAUDERDALE           FL
95709   57XGT4L35JG222181   Kia          OPTIMA              Arlington                 WA
95710   57XGT4L35JG226778   Kia          OPTIMA              Anaheim                   CA
95711   57XGT4L35JG228482   Kia          OPTIMA              DAYTONA BEACH             FL
95712   57XGT4L35JG228854   Kia          OPTIMA              North Dighton             MA
95713   57XGT4L35JG229406   Kia          OPTIMA              Sacramento                CA
95714   57XGT4L35JG232712   Kia          OPTIMA              CHICAGO                   IL
95715   57XGT4L35JG233343   Kia          OPTIMA              Tampa                     FL
95716   57XGT4L35JG246383   Kia          OPTIMA              SAN ANTONIO               TX
95717   57XGT4L35JG247789   Kia          OPTIMA              LOS ANGELES               CA
95718   57XGT4L35JG248327   Kia          OPTIMA              Massapequa                NY
95719   57XGT4L35JG249493   Kia          OPTIMA              Kent                      WA
95720   57XGT4L35JG249526   Kia          OPTIMA              METAIRIE                  LA
95721   57XGT4L35KG339938   Kia          OPTIMA              Tampa                     FL
95722   57XGT4L35KG342774   Kia          OPTIMA              FORT MYERS                FL
95723   57XGT4L35KG359672   Kia          OPTIMA              GROVE CITY                PA
95724   57XGT4L36HG129986   Kia          OPTIMA              TAMPA                     FL
95725   57XGT4L36HG146111   Kia          OPTIMA              ORLANDO                   FL
95726   57XGT4L36HG162910   Kia          OPTIMA              GLEN BURNIE               MD
95727   57XGT4L36HG164513   Kia          OPTIMA              SEATAC                    WA
95728   57XGT4L36JG219631   Kia          OPTIMA              SANTA ANA                 CA
95729   57XGT4L36JG225817   Kia          OPTIMA              KENNER                    LA
95730   57XGT4L36JG225820   Kia          OPTIMA              LUBBOCK                   TX
95731   57XGT4L36JG229558   Kia          OPTIMA              Las Vegas                 NV
95732   57XGT4L36JG234596   Kia          OPTIMA              CLEVELAND                 OH
95733   57XGT4L36JG239278   Kia          OPTIMA              Phoenix                   AZ
95734   57XGT4L36JG242553   Kia          OPTIMA              BURBANK                   CA
95735   57XGT4L36JG243931   Kia          OPTIMA              DFW AIRPORT               TX
95736   57XGT4L36JG244349   Kia          OPTIMA              LOS ANGELES               CA
95737   57XGT4L36JG246053   Kia          OPTIMA              Costa Mesa                CA
95738   57XGT4L36JG246408   Kia          OPTIMA              Statesville               NC
95739   57XGT4L36JG246506   Kia          OPTIMA              LOUISVILLE                KY
95740   57XGT4L36JG246652   Kia          OPTIMA              SANTA ANA                 CA
95741   57XGT4L36JG246800   Kia          OPTIMA              SAN FRANCISCO             CA
95742   57XGT4L36JG248627   Kia          OPTIMA              Miami                     FL
95743   57XGT4L36JG248644   Kia          OPTIMA              COLLEGE PARK              GA
95744   57XGT4L36JG249065   Kia          OPTIMA              ORLANDO                   FL
95745   57XGT4L36JG249518   Kia          OPTIMA              SAN FRANCISCO             CA
95746   57XGT4L36JG249566   Kia          OPTIMA              Las Vegas                 NV
95747   57XGT4L36JG250166   Kia          OPTIMA              Schaumburg                IL
95748   57XGT4L36JG250197   Kia          OPTIMA              INDIANAPOLIS              IN
95749   57XGT4L36KG338765   Kia          OPTIMA              SHAKOPEE                  MN
95750   57XGT4L36KG340614   Kia          OPTIMA              TAMPA                     FL
95751   57XGT4L36KG342086   Kia          OPTIMA              WEST PALM BEACH           FL
95752   57XGT4L36KG347840   Kia          OPTIMA              TAMPA                     US
95753   57XGT4L37HG140379   Kia          OPTIMA              Cleveland                 OH
95754   57XGT4L37HG147445   Kia          OPTIMA              Elkridge                  MD
95755   57XGT4L37HG166853   Kia          OPTIMA              ONTARIO                   CA
95756   57XGT4L37HG167324   Kia          OPTIMA              STERLING                  VA
95757   57XGT4L37HG168800   Kia          OPTIMA              NORTH PAC                 CA
95758   57XGT4L37HG171390   Kia          OPTIMA              Richmond                  VA
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95759   57XGT4L37JG209450   Kia          OPTIMA              KANSAS CITY               MO
95760   57XGT4L37JG219850   Kia          OPTIMA              BOSTON                    MA
95761   57XGT4L37JG220657   Kia          OPTIMA              SACRAMENTO                CA
95762   57XGT4L37JG226121   Kia          OPTIMA              WEST PALM BEACH           FL
95763   57XGT4L37JG231335   Kia          OPTIMA              SAN JOSE                  CA
95764   57XGT4L37JG231609   Kia          OPTIMA              LOS ANGELES               CA
95765   57XGT4L37JG233408   Kia          OPTIMA              Philadelphia              PA
95766   57XGT4L37JG234932   Kia          OPTIMA              FT. LAUDERDALE            FL
95767   57XGT4L37JG236261   Kia          OPTIMA              DALLAS                    TX
95768   57XGT4L37JG243064   Kia          OPTIMA              ORLANDO                   FL
95769   57XGT4L37JG244456   Kia          OPTIMA              NORTH PAC                 CA
95770   57XGT4L37JG245977   Kia          OPTIMA              MORROW                    GA
95771   57XGT4L37JG246126   Kia          OPTIMA              Newark                    NJ
95772   57XGT4L37JG246739   Kia          OPTIMA              WEST PALM BEACH           FL
95773   57XGT4L37JG249320   Kia          OPTIMA              Hamilton                  OH
95774   57XGT4L37KG339553   Kia          OPTIMA              NEW YORK CITY             NY
95775   57XGT4L37KG340914   Kia          OPTIMA              TAMPA                     FL
95776   57XGT4L37KG341089   Kia          OPTIMA              Leesburg                  VA
95777   57XGT4L38HG139340   Kia          OPTIMA              SACRAMENTO                CA
95778   57XGT4L38HG164559   Kia          OPTIMA              NORTH PAC                 CA
95779   57XGT4L38JG216276   Kia          OPTIMA              HANOVER                   MD
95780   57XGT4L38JG218027   Kia          OPTIMA              SAN ANTONIO               TX
95781   57XGT4L38JG220957   Kia          OPTIMA              BURBANK                   CA
95782   57XGT4L38JG225494   Kia          OPTIMA              LOS ANGELES               CA
95783   57XGT4L38JG229559   Kia          OPTIMA              Fresno                    CA
95784   57XGT4L38JG230095   Kia          OPTIMA              NORTH PAC                 CA
95785   57XGT4L38JG230730   Kia          OPTIMA              OAKLAND                   CA
95786   57XGT4L38JG231361   Kia          OPTIMA              PHILADELPHIA              PA
95787   57XGT4L38JG233675   Kia          OPTIMA              DETROIT                   MI
95788   57XGT4L38JG235216   Kia          OPTIMA              Dallas                    TX
95789   57XGT4L38JG235975   Kia          OPTIMA              San Antonio               TX
95790   57XGT4L38JG238309   Kia          OPTIMA              BURBANK                   CA
95791   57XGT4L38JG239380   Kia          OPTIMA              Salt Lake City            UT
95792   57XGT4L38JG239606   Kia          OPTIMA              Colorado Spring           CO
95793   57XGT4L38JG240884   Kia          OPTIMA              Indianapolis              IN
95794   57XGT4L38JG243056   Kia          OPTIMA              ORLANDO                   FL
95795   57XGT4L38JG247866   Kia          OPTIMA              BALDWIN                   NY
95796   57XGT4L38JG247950   Kia          OPTIMA              WOODLAND HILLS            CA
95797   57XGT4L38JG248791   Kia          OPTIMA              GRAND RAPIDS              MI
95798   57XGT4L38JG249682   Kia          OPTIMA              Philadelphia              PA
95799   57XGT4L38JG250220   Kia          OPTIMA              MILWAUKEE                 WI
95800   57XGT4L38KG339917   Kia          OPTIMA              Nashville                 TN
95801   57XGT4L38KG344180   Kia          OPTIMA              ATLANTA                   GA
95802   57XGT4L38KG345880   Kia          OPTIMA              ORLANDO                   FL
95803   57XGT4L38KG346737   Kia          OPTIMA              CHARLOTTE                 US
95804   57XGT4L39HG140643   Kia          OPTIMA              BURBANK                   CA
95805   57XGT4L39JG208381   Kia          OPTIMA              HANOVER                   MD
95806   57XGT4L39JG218893   Kia          OPTIMA              BURBANK                   CA
95807   57XGT4L39JG220143   Kia          OPTIMA              WEST PALM BEACH           FL
95808   57XGT4L39JG223480   Kia          OPTIMA              UNION CITY                GA
95809   57XGT4L39JG228503   Kia          OPTIMA              EL PASO                   TX
95810   57XGT4L39JG229327   Kia          OPTIMA              SAN JOSE                  CA
95811   57XGT4L39JG231336   Kia          OPTIMA              Roseville                 CA
95812   57XGT4L39JG233409   Kia          OPTIMA              Detroit                   MI
95813   57XGT4L39JG234110   Kia          OPTIMA              Rock Hill                 SC
95814   57XGT4L39JG242465   Kia          OPTIMA              BURBANK                   CA
95815   57XGT4L39JG246032   Kia          OPTIMA              Dallas                    TX
95816   57XGT4L39JG247858   Kia          OPTIMA              MEMPHIS                   TN
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95817   57XGT4L39JG248248   Kia          OPTIMA              MILWAUKEE                 WI
95818   57XGT4L39JG248332   Kia          OPTIMA              Fort Lauderdale           FL
95819   57XGT4L39JG248959   Kia          OPTIMA              BURBANK                   CA
95820   57XGT4L39JG250274   Kia          OPTIMA              BURBANK                   CA
95821   57XGT4L39KG301161   Kia          OPTIMA              Ft. Myers                 FL
95822   57XGT4L39KG301371   Kia          OPTIMA              Atlanta                   GA
95823   57XGT4L39KG338890   Kia          OPTIMA              ORLANDO                   FL
95824   57XGT4L39KG339943   Kia          OPTIMA              Tampa                     FL
95825   57XGT4L39KG341451   Kia          OPTIMA              Cranberry Towns           PA
95826   57XGT4L39KG349467   Kia          OPTIMA              FORT MYERS                FL
95827   57XGT4L3XHG146256   Kia          OPTIMA              BOSTON                    MA
95828   57XGT4L3XHG148556   Kia          OPTIMA              ELLWOOD CITY              PA
95829   57XGT4L3XHG165468   Kia          OPTIMA              EAST BOSTON               MA
95830   57XGT4L3XHG167091   Kia          OPTIMA              DES MOINES                IA
95831   57XGT4L3XJG216036   Kia          OPTIMA              NEW YORK CITY             NY
95832   57XGT4L3XJG228624   Kia          OPTIMA              LOS ANGELES AP            CA
95833   57XGT4L3XJG229370   Kia          OPTIMA              Portland                  OR
95834   57XGT4L3XJG231605   Kia          OPTIMA              SAN DIEGO                 CA
95835   57XGT4L3XJG232625   Kia          OPTIMA              Charlotte                 NC
95836   57XGT4L3XJG233726   Kia          OPTIMA              Hebron                    KY
95837   57XGT4L3XJG234956   Kia          OPTIMA              Tampa                     FL
95838   57XGT4L3XJG236092   Kia          OPTIMA              ORLANDO                   FL
95839   57XGT4L3XJG236349   Kia          OPTIMA              North Dighton             MA
95840   57XGT4L3XJG238554   Kia          OPTIMA              MEDINA                    OH
95841   57XGT4L3XJG239445   Kia          OPTIMA              Salt Lake City            UT
95842   57XGT4L3XJG239607   Kia          OPTIMA              BURBANK                   CA
95843   57XGT4L3XJG242605   Kia          OPTIMA              SAN FRANCISCO             CA
95844   57XGT4L3XJG245732   Kia          OPTIMA              SAN FRANCISCO             CA
95845   57XGT4L3XJG246301   Kia          OPTIMA              INDIANAPOLIS              IN
95846   57XGT4L3XJG246525   Kia          OPTIMA              Detroit                   MI
95847   57XGT4L3XJG246864   Kia          OPTIMA              BURBANK                   CA
95848   57XGT4L3XJG248761   Kia          OPTIMA              SAN FRANCISCO             CA
95849   57XGT4L3XJG249005   Kia          OPTIMA              PEORIA                    IL
95850   57XGT4L3XJG249280   Kia          OPTIMA              Matteson                  IL
95851   57XGT4L3XJG250204   Kia          OPTIMA              Memphis                   TN
95852   57XGT4L3XJG250610   Kia          OPTIMA              ORLANDO                   FL
95853   57XGT4L3XKG339675   Kia          OPTIMA              HOLLY HILL                FL
95854   57XGT4L3XKG340888   Kia          OPTIMA              SAVANNAH                  GA
95855   57XGT4L3XKG344729   Kia          OPTIMA              MIAMI                     FL
95856   57XGT4L3XKG347288   Kia          OPTIMA              RALIEGH                   NC
95857   57XGT4L3XKG358243   Kia          OPTIMA              Bensalem                  PA
95858   57XGT4L3XKG358453   Kia          OPTIMA              Bensalem                  PA
95859   57XGT4L3XKG358551   Kia          OPTIMA              Bensalem                  PA
95860   57XGT4L3XKG358579   Kia          OPTIMA              Bensalem                  PA
95861   57YPGDA50JG393537   Kia          SORENTO             Lynn                      MA
95862   57YPGDA51JG414590   Kia          SORENTO             WHITE PLAINS              NY
95863   57YPGDA51JG416744   Kia          SORENTO             NEWARK                    NJ
95864   57YPGDA51JG417800   Kia          SORENTO             PENSACOLA                 FL
95865   57YPGDA52JG416557   Kia          SORENTO             Indianapolis              IN
95866   57YPGDA53JG418642   Kia          SORENTO             Des Plaines               IL
95867   57YPGDA53KG559342   Kia          SORENTO             Warminster                PA
95868   57YPGDA53KG559728   Kia          SORENTO             Dallas                    TX
95869   57YPGDA54JG417807   Kia          SORENTO             Johnston                  RI
95870   57YPGDA55JG418528   Kia          SORENTO             Tampa                     FL
95871   57YPGDA56JG417002   Kia          SORENTO             Tampa                     FL
95872   57YPGDA58JG413212   Kia          SORENTO             Des Plaines               IL
95873   57YPGDA58JG417003   Kia          SORENTO             Bordentown                NJ
95874   57YPGDA59JG413252   Kia          SORENTO             North Dighton             MA
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95875   57YPGDA59JG415101   Kia          SORENTO             Elkridge                  MD
95876   57YPGDA59JG421321   Kia          SORENTO             Tampa                     FL
95877   57YPGDA59JG421366   Kia          SORENTO             Jacksonville              FL
95878   57YPGDA5XJG416726   Kia          SORENTO             Johnston                  RI
95879   57YPGDA5XJG417665   Kia          SORENTO             Statesville               NC
95880   58FBURHE2HP673066   Toyota       CAMRY               LAS VEGAS                 NV
95881   5BZBF0AA0JN851704   Nissan       NV                  Dallas                    TX
95882   5BZBF0AA2JN851834   Nissan       NV                  San Antonio               TX
95883   5BZBF0AA2JN852028   Nissan       NV                  WEST PALM BEACH           FL
95884   5BZBF0AA3JN851955   Nissan       NV
95885   5BZBF0AA5JN851956   Nissan       NV                  WEST PALM BEACH           FL
95886   5BZBF0AA6JN851951   Nissan       NV                  SARASOTA                  FL
95887   5BZBF0AA7JN851960   Nissan       NV                  Plainfield                IN
95888   5BZBF0AA9JN850597   Nissan       NV                  BIRMINGHAM                AL
95889   5BZBF0AA9JN851975   Nissan       NV                  KNOXVILLE                 TN
95890   5BZBF0AAXJN851967   Nissan       NV                  FORT LAUDERDALE           FL
95891   5FNYF5H30JB026405   Honda        PILOT               Caledonia                 WI
95892   5FNYF5H32JB021660   Honda        PILOT               Scottsdale                AZ
95893   5FNYF5H34JB017853   Honda        PILOT               Dallas                    TX
95894   5FNYF5H36JB024836   Honda        PILOT               SANTA ANA                 CA
95895   5FNYF5H37JB020133   Honda        PILOT               Tolleson                  AZ
95896   5FNYF5H37JB023663   Honda        PILOT               Salt Lake City            UT
95897   5FNYF5H37JB025476   Honda        PILOT               TULSA                     OK
95898   5FNYF5H37JB027129   Honda        PILOT               HANOVER                   MD
95899   5FNYF5H39JB024927   Honda        PILOT               PORTLAND                  OR
95900   5FNYF5H3XJB025505   Honda        PILOT               Phoenix                   AZ
95901   5FNYF5H44JB022074   Honda        PILOT               Atlanta                   GA
95902   5FNYF5H51JB020727   Honda        PILOT               Austin                    TX
95903   5FNYF5H52JB027069   Honda        PILOT               KENNER                    LA
95904   5FNYF5H53JB022480   Honda        PILOT               PHOENIX                   AZ
95905   5FNYF5H54JB020981   Honda        PILOT               Santa Clara               CA
95906   5FNYF5H54JB021029   Honda        PILOT               Los Angeles               CA
95907   5FNYF5H54JB021113   Honda        PILOT               PALM SPRINGS              CA
95908   5FNYF5H56JB018780   Honda        PILOT               Las Vegas                 NV
95909   5FNYF5H56JB021632   Honda        PILOT               PHOENIX                   AZ
95910   5FNYF5H58JB018697   Honda        PILOT               Hayward                   CA
95911   5FNYF5H58JB020725   Honda        PILOT               Johnston                  RI
95912   5FNYF5H58JB031031   Honda        PILOT               Carleton                  MI
95913   5FNYF5H59JB022483   Honda        PILOT               PHOENIX                   AZ
95914   5FNYF5H5XJB019740   Honda        PILOT               BURBANK                   CA
95915   5FNYF5H5XJB020502   Honda        PILOT               PHOENIX                   AZ
95916   5FNYF5H5XJB021116   Honda        PILOT               FORT LAUDERDALE           FL
95917   5FNYF5H93HB033184   Honda        PILOT               Charlotte                 NC
95918   5GAERBKW0KJ172231   GM           ENCLAVE             Nashville                 TN
95919   5GAERBKW0KJ172617   GM           ENCLAVE             AUSTIN                    TX
95920   5GAERBKW0KJ179308   GM           ENCLAVE             RENO                      NV
95921   5GAERBKW1KJ169015   GM           ENCLAVE             DETROIT                   MI
95922   5GAERBKW1KJ175963   GM           ENCLAVE             WARWICK                   RI
95923   5GAERBKW1KJ178149   GM           ENCLAVE             SUMTER                    SC
95924   5GAERBKW1KJ179849   GM           ENCLAVE             BURBANK                   CA
95925   5GAERBKW2KJ150764   GM           ENCLAVE             PHOENIX                   AZ
95926   5GAERBKW2KJ168908   GM           ENCLAVE             SOUTHEAST DST OFFC        OK
95927   5GAERBKW2KJ169279   GM           ENCLAVE             RALIEGH                   NC
95928   5GAERBKW2KJ173333   GM           ENCLAVE             DALLAS                    TX
95929   5GAERBKW2KJ182338   GM           ENCLAVE             PHOENIX                   AZ
95930   5GAERBKW2KJ182629   GM           ENCLAVE             SAN FRANCISCO             CA
95931   5GAERBKW3KJ152734   GM           ENCLAVE             AUSTIN                    TX
95932   5GAERBKW3KJ163572   GM           ENCLAVE             NEWARK                    NJ
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95933   5GAERBKW4KJ149678   GM          ENCLAVE             PHOENIX                   AZ
95934   5GAERBKW5KJ165856   GM          ENCLAVE             JAMAICA                   NY
95935   5GAERBKW5KJ165906   GM          ENCLAVE             Ft. Myers                 FL
95936   5GAERBKW5KJ174704   GM          ENCLAVE             KENNER                    LA
95937   5GAERBKW6KJ168670   GM          ENCLAVE             SARASOTA                  FL
95938   5GAERBKW7KJ187387   GM          ENCLAVE             NORFOLK                   VA
95939   5GAERBKW7KJ292396   GM          ENCLAVE             PHILADELPHIA              US
95940   5GAERBKW8KJ156911   GM          ENCLAVE             HOUSTON                   TX
95941   5GAERBKW8KJ163521   GM          ENCLAVE             Tampa                     FL
95942   5GAERBKW8KJ170968   GM          ENCLAVE             CHICAGO                   IL
95943   5GAERBKW9KJ150955   GM          ENCLAVE             Atlanta                   GA
95944   5GAERBKW9KJ151040   GM          ENCLAVE             ORLANDO                   FL
95945   5GAERBKW9KJ175273   GM          ENCLAVE             HOUSTON                   TX
95946   5GAERBKW9KJ183101   GM          ENCLAVE             PALM SPRINGS              CA
95947   5GAERBKW9KJ185172   GM          ENCLAVE             DALLAS                    TX
95948   5GAERBKW9KJ292724   GM          ENCLAVE             BALTIMORE                 MD
95949   5GAERBKWXKJ166498   GM          ENCLAVE             FORT LAUDERDALE           FL
95950   5GAERBKWXKJ187836   GM          ENCLAVE             BUTLER                    PA
95951   5GAEVAKW1KJ155055   GM          ENCLAVE             SAN JOSE                  CA
95952   5GAEVAKW1KJ180120   GM          ENCLAVE             CHICAGO                   IL
95953   5GAEVAKW2KJ158949   GM          ENCLAVE             Manheim                   PA
95954   5GAEVAKW2KJ167408   GM          ENCLAVE             NEWARK                    NY
95955   5GAEVAKW2KJ178294   GM          ENCLAVE             BOSTON                    MA
95956   5GAEVAKW2KJ184595   GM          ENCLAVE             LOS ANGELES               CA
95957   5GAEVAKW2KJ188579   GM          ENCLAVE             MEMPHIS                   TN
95958   5GAEVAKW3KJ164811   GM          ENCLAVE             CLEVELAND                 OH
95959   5GAEVAKW3KJ166199   GM          ENCLAVE             HOUSTON                   TX
95960   5GAEVAKW3KJ170429   GM          ENCLAVE             STERLING                  VA
95961   5GAEVAKW3KJ175100   GM          ENCLAVE             SANTA ANA                 CA
95962   5GAEVAKW4KJ147984   GM          ENCLAVE             ORLANDO                   FL
95963   5GAEVAKW4KJ169368   GM          ENCLAVE             LAS VEGAS                 NV
95964   5GAEVAKW4KJ170195   GM          ENCLAVE             ORLANDO                   FL
95965   5GAEVAKW5KJ158265   GM          ENCLAVE             Portland                  ME
95966   5GAEVAKW5KJ163367   GM          ENCLAVE             Los Angeles               CA
95967   5GAEVAKW5KJ167726   GM          ENCLAVE             JACKSONVILLE              FL
95968   5GAEVAKW5KJ177401   GM          ENCLAVE             Irving                    TX
95969   5GAEVAKW5KJ183442   GM          ENCLAVE             Phoenix                   AZ
95970   5GAEVAKW6KJ160641   GM          ENCLAVE             EGG HARBOR TOWN           NJ
95971   5GAEVAKW6KJ164768   GM          ENCLAVE             PENSACOLA                 FL
95972   5GAEVAKW6KJ166732   GM          ENCLAVE             Ft. Myers                 FL
95973   5GAEVAKW6KJ173373   GM          ENCLAVE             Tustin                    CA
95974   5GAEVAKW6KJ185653   GM          ENCLAVE             Manheim                   PA
95975   5GAEVAKW7KJ157912   GM          ENCLAVE             GRAND RAPIDS              MI
95976   5GAEVAKW7KJ161457   GM          ENCLAVE             FORT LAUDERDALE           FL
95977   5GAEVAKW8KJ178526   GM          ENCLAVE             HOUSTON                   TX
95978   5GAEVAKW9KJ158852   GM          ENCLAVE             UNION CITY                GA
95979   5GAEVAKW9KJ163999   GM          ENCLAVE             INDIANAPOLIS              IN
95980   5GAEVAKW9KJ167020   GM          ENCLAVE             Elkridge                  MD
95981   5GAEVAKW9KJ170435   GM          ENCLAVE             RICHMOND                  VA
95982   5GAEVAKW9KJ170919   GM          ENCLAVE             JACKSON                   MS
95983   5GAEVAKW9KJ180012   GM          ENCLAVE             Euless                    TX
95984   5GAEVAKWXKJ164224   GM          ENCLAVE             JACKSONVILLE              FL
95985   5GXGT4L31HG167335   Kia         OPTIMA              BURBANK                   CA
95986   5J6RM3H32GL021527   Honda       CRV                 COLLEGE PARK              GA
95987   5J6RM3H3XGL000148   Honda       CRV                 CHICAGO                   IL
95988   5J6RM3H44GL024762   Honda       CRV                 HANOVER                   MD
95989   5J6RM4H30GL042754   Honda       CRV                 BOSTON                    MA
95990   5J6RM4H30GL101365   Honda       CRV                 North Dighton             MA
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95991   5J6RM4H34GL079239   Honda        CRV                 Johnston                  RI
95992   5J6RM4H35GL023147   Honda        CRV                 BOSTON                    MA
95993   5J6RM4H36GL002534   Honda        CRV                 Johnston                  RI
95994   5J6RM4H36GL108756   Honda        CRV                 BOSTON                    MA
95995   5J6RM4H37GL003028   Honda        CRV                 BOSTON                    MA
95996   5J6RM4H37GL037258   Honda        CRV                 WEST PALM BEACH           FL
95997   5J6RM4H38GL014541   Honda        CRV                 Elkridge                  MD
95998   5J6RM4H3XFL128460   Honda        CRV                 STERLING                  VA
95999   5J6RM4H3XGL102443   Honda        CRV                 BOSTON                    MA
96000   5J6RM4H3XGL128864   Honda        CRV                 Davie                     FL
96001   5J6RM4H40GL024036   Honda        CRV                 Lynn                      MA
96002   5J6RM4H41GL038902   Honda        CRV                 BOSTON                    MA
96003   5J6RM4H43GL043793   Honda        CRV                 Johnston                  RI
96004   5J6RM4H44GL038957   Honda        CRV                 Lynn                      MA
96005   5J6RM4H45GL086029   Honda        CRV                 Philadelphia              PA
96006   5J6RM4H47GL050276   Honda        CRV                 North Dighton             MA
96007   5J6RM4H48GL034071   Honda        CRV                 PITTSBURGH                PA
96008   5J6RM4H49GL040316   Honda        CRV                 PHILADELPHIA              PA
96009   5J6RM4H49GL071534   Honda        CRV                 BOSTON                    MA
96010   5J6RM4H4XGL028207   Honda        CRV                 North Dighton             MA
96011   5J6RM4H4XGL037084   Honda        CRV                 Johnston                  RI
96012   5J6RM4H50GL069633   Honda        CRV                 BOSTON                    MA
96013   5J6RM4H50GL113968   Honda        CRV                 Cranberry Towns           PA
96014   5J6RM4H55GL028284   Honda        CRV                 Lynn                      MA
96015   5J6RM4H55GL066517   Honda        CRV                 NEW ENGLAND DEALER        MA
96016   5J6RM4H55GL067246   Honda        CRV                 Honolulu                  HI
96017   5J6RM4H55GL089117   Honda        CRV                 EAST BOSTON               MA
96018   5J6RM4H74GL045384   Honda        CRV                 BOSTON                    MA
96019   5J6RM4H78GL027972   Honda        CRV                 Honolulu                  HI
96020   5LMCJ1C96JUL11882   Ford         MKC                 BUFFALO                   NY
96021   5LMCJ2C95JUL03827   Ford         MKC                 BUFFALO                   NY
96022   5LMCJ2C96JUL13802   Ford         MKC                 BUFFALO                   NY
96023   5LMJJ2NT0KEL01687   Ford         CONTINENTAL         DENVER                    CO
96024   5LMJJ2NT0KEL01754   Ford         CONTINENTAL         Teterboro                 NJ
96025   5LMJJ2NT0KEL02676   Ford         CONTINENTAL         LOS ANGELES               CA
96026   5LMJJ2NT0KEL05173   Ford         CONTINENTAL         Denver                    CO
96027   5LMJJ2NT0KEL05187   Ford         CONTINENTAL         SACRAMENTO                CA
96028   5LMJJ2NT0KEL05190   Ford         CONTINENTAL         SACRAMENTO                CA
96029   5LMJJ2NT0KEL06940   Ford         CONTINENTAL         Tolleson                  AZ
96030   5LMJJ2NT1KEL01696   Ford         CONTINENTAL         MIAMI                     FL
96031   5LMJJ2NT1KEL01701   Ford         CONTINENTAL         ORLANDO                   FL
96032   5LMJJ2NT1KEL01732   Ford         CONTINENTAL         DAYTONA BEACH             FL
96033   5LMJJ2NT1KEL01746   Ford         CONTINENTAL         Sarasota                  FL
96034   5LMJJ2NT1KEL02671   Ford         CONTINENTAL         PLEASANTON                CA
96035   5LMJJ2NT1KEL02699   Ford         CONTINENTAL         Ocoee                     FL
96036   5LMJJ2NT1KEL05148   Ford         CONTINENTAL         MILWAUKEE                 WI
96037   5LMJJ2NT1KEL05151   Ford         CONTINENTAL         AUSTIN                    TX
96038   5LMJJ2NT1KEL05165   Ford         CONTINENTAL         PORTLAND                  OR
96039   5LMJJ2NT1KEL06946   Ford         CONTINENTAL         Riverside                 CA
96040   5LMJJ2NT2KEL01688   Ford         CONTINENTAL         Aurora                    CO
96041   5LMJJ2NT2KEL01691   Ford         CONTINENTAL         San Diego                 CA
96042   5LMJJ2NT2KEL01710   Ford         CONTINENTAL         MIAMI                     FL
96043   5LMJJ2NT2KEL01724   Ford         CONTINENTAL         MIAMI                     FL
96044   5LMJJ2NT2KEL01741   Ford         CONTINENTAL         Hialeah                   FL
96045   5LMJJ2NT2KEL05174   Ford         CONTINENTAL         PORTLAND                  OR
96046   5LMJJ2NT2KEL05191   Ford         CONTINENTAL         Hattiesburg               MS
96047   5LMJJ2NT2KEL06955   Ford         CONTINENTAL         Riverside                 CA
96048   5LMJJ2NT3KEL01683   Ford         CONTINENTAL         Aurora                    CO
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96049   5LMJJ2NT3KEL01702   Ford         CONTINENTAL         MIAMI                     FL
96050   5LMJJ2NT3KEL01716   Ford         CONTINENTAL         SANTA ANA                 CA
96051   5LMJJ2NT3KEL02655   Ford         CONTINENTAL         MIAMI                     FL
96052   5LMJJ2NT3KEL05149   Ford         CONTINENTAL         DENVER                    CO
96053   5LMJJ2NT3KEL05166   Ford         CONTINENTAL         Portland                  OR
96054   5LMJJ2NT3KEL06947   Ford         CONTINENTAL         Riverside                 CA
96055   5LMJJ2NT3KEL06950   Ford         CONTINENTAL         Lake Elsinore             CA
96056   5LMJJ2NT4KEL01711   Ford         CONTINENTAL         Denver                    CO
96057   5LMJJ2NT4KEL01739   Ford         CONTINENTAL         SARASOTA                  FL
96058   5LMJJ2NT4KEL01756   Ford         CONTINENTAL         Statesville               NC
96059   5LMJJ2NT4KEL02664   Ford         CONTINENTAL         FRESNO                    CA
96060   5LMJJ2NT4KEL02681   Ford         CONTINENTAL         Bensalem                  PA
96061   5LMJJ2NT4KEL05161   Ford         CONTINENTAL         ORANGE COUNTY             CA
96062   5LMJJ2NT4KEL05175   Ford         CONTINENTAL         SAN FRANCISCO             CA
96063   5LMJJ2NT4KEL06942   Ford         CONTINENTAL         LAS VEGAS                 NV
96064   5LMJJ2NT5KEL01684   Ford         CONTINENTAL         BIRMINGHAN                AL
96065   5LMJJ2NT5KEL01698   Ford         CONTINENTAL         MIAMI                     FL
96066   5LMJJ2NT5KEL01717   Ford         CONTINENTAL         Miami                     FL
96067   5LMJJ2NT5KEL01748   Ford         CONTINENTAL         NEWARK                    NJ
96068   5LMJJ2NT5KEL02656   Ford         CONTINENTAL         NEWARK                    NJ
96069   5LMJJ2NT5KEL05153   Ford         CONTINENTAL         LOS ANGELES               CA
96070   5LMJJ2NT5KEL05170   Ford         CONTINENTAL         Aurora                    CO
96071   5LMJJ2NT5KEL06951   Ford         CONTINENTAL         Fontana                   CA
96072   5LMJJ2NT6KEL01726   Ford         CONTINENTAL         FT. LAUDERDALE            FL
96073   5LMJJ2NT6KEL01743   Ford         CONTINENTAL         ATLANTA                   GA
96074   5LMJJ2NT6KEL05159   Ford         CONTINENTAL         BOISE                     US
96075   5LMJJ2NT6KEL05162   Ford         CONTINENTAL         CHAMBLEE                  GA
96076   5LMJJ2NT6KEL05176   Ford         CONTINENTAL         PORTLAND                  OR
96077   5LMJJ2NT6KEL06957   Ford         CONTINENTAL         Riverside                 CA
96078   5LMJJ2NT7KEL01699   Ford         CONTINENTAL         Dania                     FL
96079   5LMJJ2NT7KEL01704   Ford         CONTINENTAL         Smithtown                 NY
96080   5LMJJ2NT7KEL01718   Ford         CONTINENTAL         NORFOLK                   VA
96081   5LMJJ2NT7KEL01721   Ford         CONTINENTAL         WEST PALM BEACH           FL
96082   5LMJJ2NT7KEL01749   Ford         CONTINENTAL         MIAMI                     FL
96083   5LMJJ2NT7KEL02660   Ford         CONTINENTAL         Fontana                   CA
96084   5LMJJ2NT7KEL05154   Ford         CONTINENTAL         Colorado Spring           CO
96085   5LMJJ2NT7KEL05171   Ford         CONTINENTAL         Charlotte                 NC
96086   5LMJJ2NT7KEL05185   Ford         CONTINENTAL         SANTA ANA                 CA
96087   5LMJJ2NT7KEL06949   Ford         CONTINENTAL         Santa Clara               CA
96088   5LMJJ2NT8KEL01694   Ford         CONTINENTAL         Ventura                   CA
96089   5LMJJ2NT8KEL01727   Ford         CONTINENTAL         Miami                     FL
96090   5LMJJ2NT8KEL01730   Ford         CONTINENTAL         ATLANTA                   GA
96091   5LMJJ2NT8KEL05177   Ford         CONTINENTAL         Fontana                   CA
96092   5LMJJ2NT9KEL01705   Ford         CONTINENTAL         MIAMI                     FL
96093   5LMJJ2NT9KEL01753   Ford         CONTINENTAL         Rockville Centr           NY
96094   5LMJJ2NT9KEL02689   Ford         CONTINENTAL         PORTLAND                  OR
96095   5LMJJ2NT9KEL02692   Ford         CONTINENTAL         LAS VEGAS                 NV
96096   5LMJJ2NT9KEL06953   Ford         CONTINENTAL         Las Vegas                 NV
96097   5LMJJ2NTXKEL01695   Ford         CONTINENTAL         LOS ANGELES               CA
96098   5LMJJ2NTXKEL01700   Ford         CONTINENTAL         MIAMI                     FL
96099   5LMJJ2NTXKEL01714   Ford         CONTINENTAL         Winter Park               FL
96100   5LMJJ2NTXKEL01731   Ford         CONTINENTAL         MIAMI                     FL
96101   5LMJJ2NTXKEL01745   Ford         CONTINENTAL         MARY ESTHER               FL
96102   5LMJJ2NTXKEL02684   Ford         CONTINENTAL         CHARLESTON                WV
96103   5LMJJ2NTXKEL02698   Ford         CONTINENTAL         WEST PALM BEACH           FL
96104   5LMJJ2NTXKEL05147   Ford         CONTINENTAL         DENVER                    CO
96105   5LMJJ2NTXKEL05150   Ford         CONTINENTAL         PHOENIX                   AZ
96106   5LMJJ2NTXKEL05181   Ford         CONTINENTAL         LAS VEGAS                 NV
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96107   5LMJJ2NTXKEL06959   Ford         CONTINENTAL         NEW BERN                  NC
96108   5LMTJ3DH3JUL03840   Ford         MKC                 BUFFALO                   NY
96109   5N1AT2MT0JC777768   Nissan       ROGUE               NEW ORLEANS               LA
96110   5N1AT2MT0JC780718   Nissan       ROGUE               TAMPA                     US
96111   5N1AT2MT0JC782002   Nissan       ROGUE               Culpeper                  VA
96112   5N1AT2MT0JC786938   Nissan       ROGUE               DES PLAINES               IL
96113   5N1AT2MT0JC787913   Nissan       ROGUE               LOS ANGELES               CA
96114   5N1AT2MT0JC788057   Nissan       ROGUE               LAS VEGAS                 NV
96115   5N1AT2MT0KC768019   Nissan       ROGUE               Stockton                  CA
96116   5N1AT2MT0KC768344   Nissan       ROGUE               Clearwater                FL
96117   5N1AT2MT0KC768957   Nissan       ROGUE               Ontario                   CA
96118   5N1AT2MT0KC771082   Nissan       ROGUE               Stone Mountain            GA
96119   5N1AT2MT0KC772362   Nissan       ROGUE               Los Angeles               CA
96120   5N1AT2MT0KC772975   Nissan       ROGUE               SAN DIEGO                 CA
96121   5N1AT2MT0KC774239   Nissan       ROGUE               SAN DIEGO                 CA
96122   5N1AT2MT0LC766479   Nissan       ROGUE               ORLANDO                   FL
96123   5N1AT2MT0LC766661   Nissan       ROGUE               ORLANDO                   FL
96124   5N1AT2MT0LC767874   Nissan       ROGUE               WEST PALM BEACH           FL
96125   5N1AT2MT0LC768443   Nissan       ROGUE               FORT MYERS                FL
96126   5N1AT2MT0LC775036   Nissan       ROGUE               KNOXVILLE                 TN
96127   5N1AT2MT0LC793519   Nissan       ROGUE               LOS ANGELES               CA
96128   5N1AT2MT1JC749669   Nissan       ROGUE               Hayward                   CA
96129   5N1AT2MT1JC749896   Nissan       ROGUE               TRACY                     CA
96130   5N1AT2MT1JC756623   Nissan       ROGUE               HONOLULU                  HI
96131   5N1AT2MT1JC771137   Nissan       ROGUE
96132   5N1AT2MT1JC785474   Nissan       ROGUE               COLORADO SPRING           CO
96133   5N1AT2MT1KC766182   Nissan       ROGUE               Portland                  OR
96134   5N1AT2MT1KC767364   Nissan       ROGUE               SANTA ANA                 CA
96135   5N1AT2MT1KC770572   Nissan       ROGUE               SAN DIEGO                 CA
96136   5N1AT2MT1KC771169   Nissan       ROGUE               Los Angeles               CA
96137   5N1AT2MT1KC771219   Nissan       ROGUE               BURBANK                   CA
96138   5N1AT2MT1KC772175   Nissan       ROGUE               MIDLAND                   TX
96139   5N1AT2MT1KC772273   Nissan       ROGUE               San Diego                 CA
96140   5N1AT2MT1KC772578   Nissan       ROGUE               San Antonio               TX
96141   5N1AT2MT1KC773598   Nissan       ROGUE               LOS ANGELES               CA
96142   5N1AT2MT1LC767169   Nissan       ROGUE               TAMPA                     FL
96143   5N1AT2MT1LC768015   Nissan       ROGUE               TAMPA                     FL
96144   5N1AT2MT1LC774722   Nissan       ROGUE               MEMPHIS                   TN
96145   5N1AT2MT2JC756579   Nissan       ROGUE               Honolulu                  HI
96146   5N1AT2MT2JC757120   Nissan       ROGUE               SAN FRANCISCO             CA
96147   5N1AT2MT2JC760342   Nissan       ROGUE               CHICAGO                   IL
96148   5N1AT2MT2JC778386   Nissan       ROGUE               Atlanta                   GA
96149   5N1AT2MT2JC784382   Nissan       ROGUE               Rockville Centr           NY
96150   5N1AT2MT2JC785581   Nissan       ROGUE               Dallas                    TX
96151   5N1AT2MT2JC790506   Nissan       ROGUE               BURBANK                   CA
96152   5N1AT2MT2KC768457   Nissan       ROGUE               Des Plaines               IL
96153   5N1AT2MT2KC769852   Nissan       ROGUE               ORLANDO                   FL
96154   5N1AT2MT2KC771312   Nissan       ROGUE               Phoenix                   AZ
96155   5N1AT2MT2KC772265   Nissan       ROGUE               ONTARIO                   CA
96156   5N1AT2MT2KC773478   Nissan       ROGUE               Winston‐Salem             NC
96157   5N1AT2MT2KC773707   Nissan       ROGUE               LAS VEGAS                 NV
96158   5N1AT2MT2LC767732   Nissan       ROGUE               DAYTONA BEACH             FL
96159   5N1AT2MT2LC774647   Nissan       ROGUE               INDIANAPOLIS              IN
96160   5N1AT2MT2LC775197   Nissan       ROGUE               MEMPHIS                   TN
96161   5N1AT2MT3JC700313   Nissan       ROGUE               SAN FRANCISCO             CA
96162   5N1AT2MT3JC716155   Nissan       ROGUE               Estero                    FL
96163   5N1AT2MT3JC785105   Nissan       ROGUE               ROSEVILLE                 CA
96164   5N1AT2MT3JC785461   Nissan       ROGUE               BALDWIN                   NY
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96165   5N1AT2MT3JC790577   Nissan       ROGUE               SAN JOSE                  CA
96166   5N1AT2MT3KC771027   Nissan       ROGUE               Ventura                   CA
96167   5N1AT2MT3KC771173   Nissan       ROGUE               CORPUS CHRISTI            TX
96168   5N1AT2MT3KC771481   Nissan       ROGUE               SAN ANTONIO               TX
96169   5N1AT2MT3KC771786   Nissan       ROGUE               ORLANDO                   FL
96170   5N1AT2MT3KC772081   Nissan       ROGUE               SACRAMENTO                CA
96171   5N1AT2MT3KC772405   Nissan       ROGUE               DANIA BEACH               FL
96172   5N1AT2MT3KC772968   Nissan       ROGUE               SEATAC                    WA
96173   5N1AT2MT3KC773117   Nissan       ROGUE               LOS ANGELES               CA
96174   5N1AT2MT3KC773201   Nissan       ROGUE               SAN DIEGO                 CA
96175   5N1AT2MT3KC773344   Nissan       ROGUE               LAS VEGAS                 NV
96176   5N1AT2MT3KC773442   Nissan       ROGUE               LOS ANGELES               CA
96177   5N1AT2MT3KC773523   Nissan       ROGUE               ORANGE COUNTY             CA
96178   5N1AT2MT3LC766220   Nissan       ROGUE               ORLANDO                   FL
96179   5N1AT2MT3LC766248   Nissan       ROGUE               JACKSONVILLE              FL
96180   5N1AT2MT3LC767092   Nissan       ROGUE               ORLANDO                   FL
96181   5N1AT2MT3LC768128   Nissan       ROGUE               JACKSONVILLE              FL
96182   5N1AT2MT3LC770266   Nissan       ROGUE               JACKSONVILLE              FL
96183   5N1AT2MT3LC793255   Nissan       ROGUE               BURBANK                   CA
96184   5N1AT2MT4GC861679   Nissan       ROGUE               Fairburn                  GA
96185   5N1AT2MT4GC889921   Nissan       ROGUE               PHOENIX                   AZ
96186   5N1AT2MT4JC749357   Nissan       ROGUE               PLEASANTON                CA
96187   5N1AT2MT4JC776929   Nissan       ROGUE               North Dighton             MA
96188   5N1AT2MT4JC785615   Nissan       ROGUE               Ft. Myers                 FL
96189   5N1AT2MT4JC787011   Nissan       ROGUE               FORT MYERS                FL
96190   5N1AT2MT4JC787882   Nissan       ROGUE               SANTA ANA                 CA
96191   5N1AT2MT4JC788952   Nissan       ROGUE               STERLING                  VA
96192   5N1AT2MT4JC789843   Nissan       ROGUE               LOS ANGELES               CA
96193   5N1AT2MT4JC792872   Nissan       ROGUE               Burien                    WA
96194   5N1AT2MT4KC765205   Nissan       ROGUE               ORLANDO                   FL
96195   5N1AT2MT4KC770257   Nissan       ROGUE               Dallas                    TX
96196   5N1AT2MT4KC770730   Nissan       ROGUE               BURBANK                   CA
96197   5N1AT2MT4KC771621   Nissan       ROGUE               KENNER                    LA
96198   5N1AT2MT4KC771926   Nissan       ROGUE               NAPLES                    FL
96199   5N1AT2MT4KC772249   Nissan       ROGUE               FRESNO                    CA
96200   5N1AT2MT4KC772493   Nissan       ROGUE               Los Angeles               CA
96201   5N1AT2MT4KC773059   Nissan       ROGUE               UNION CITY                GA
96202   5N1AT2MT4KC773241   Nissan       ROGUE               Portland                  OR
96203   5N1AT2MT4LC766419   Nissan       ROGUE               Ft. Myers                 FL
96204   5N1AT2MT5JC716187   Nissan       ROGUE               DANIA                     FL
96205   5N1AT2MT5JC751893   Nissan       ROGUE               SPRINGFIELD               VA
96206   5N1AT2MT5JC758827   Nissan       ROGUE               Maple Grove               MN
96207   5N1AT2MT5JC770153   Nissan       ROGUE               Rio Linda                 CA
96208   5N1AT2MT5JC780553   Nissan       ROGUE               Dallas                    TX
96209   5N1AT2MT5JC784683   Nissan       ROGUE               Riverside                 CA
96210   5N1AT2MT5JC785459   Nissan       ROGUE               LA HABRA                  CA
96211   5N1AT2MT5KC768811   Nissan       ROGUE               WEST PALM BEACH           FL
96212   5N1AT2MT5KC772129   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
96213   5N1AT2MT5KC772230   Nissan       ROGUE               SAN JOSE                  CA
96214   5N1AT2MT5KC772289   Nissan       ROGUE               Los Angeles               CA
96215   5N1AT2MT5KC772793   Nissan       ROGUE               Dallas                    TX
96216   5N1AT2MT5KC773166   Nissan       ROGUE               San Diego                 CA
96217   5N1AT2MT5LC766364   Nissan       ROGUE               JACKSONVILLE              FL
96218   5N1AT2MT5LC766381   Nissan       ROGUE               FORT LAUDERDALE           FL
96219   5N1AT2MT5LC767028   Nissan       ROGUE               SARASOTA                  FL
96220   5N1AT2MT5LC767207   Nissan       ROGUE               ORLANDO                   FL
96221   5N1AT2MT5LC768180   Nissan       ROGUE               FORT LAUDERDALE           FL
96222   5N1AT2MT5LC774965   Nissan       ROGUE               ATLANTA                   GA
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96223   5N1AT2MT6JC751000   Nissan       ROGUE               Kailua‐Kona               HI
96224   5N1AT2MT6JC753930   Nissan       ROGUE               Elkridge                  MD
96225   5N1AT2MT6JC781677   Nissan       ROGUE               Baltimore                 MD
96226   5N1AT2MT6JC787320   Nissan       ROGUE               Dallas                    TX
96227   5N1AT2MT6JC790167   Nissan       ROGUE               LOS ANGELES               CA
96228   5N1AT2MT6JC791996   Nissan       ROGUE               BURBANK                   CA
96229   5N1AT2MT6KC770910   Nissan       ROGUE               ORLANDO                   FL
96230   5N1AT2MT6KC771345   Nissan       ROGUE               NORFOLK                   VA
96231   5N1AT2MT6KC772687   Nissan       ROGUE               Houston                   TX
96232   5N1AT2MT6KC773094   Nissan       ROGUE               Roseville                 CA
96233   5N1AT2MT6LC766504   Nissan       ROGUE               KEY WEST                  FL
96234   5N1AT2MT6LC767555   Nissan       ROGUE               SAVANNAH                  GA
96235   5N1AT2MT6LC767586   Nissan       ROGUE               ORLANDO                   FL
96236   5N1AT2MT6LC768219   Nissan       ROGUE               JACKSONVILLE              FL
96237   5N1AT2MT7HC894175   Nissan       ROGUE               Atlanta                   GA
96238   5N1AT2MT7JC749210   Nissan       ROGUE               KAHULUI                   HI
96239   5N1AT2MT7JC756092   Nissan       ROGUE               TRACY                     CA
96240   5N1AT2MT7JC759378   Nissan       ROGUE               TAMPA                     FL
96241   5N1AT2MT7JC777296   Nissan       ROGUE               DALLAS                    TX
96242   5N1AT2MT7JC782062   Nissan       ROGUE               NEW ENGLAND DEALER        MA
96243   5N1AT2MT7JC782157   Nissan       ROGUE               TAMPA                     FL
96244   5N1AT2MT7JC784832   Nissan       ROGUE               Dallas                    TX
96245   5N1AT2MT7JC785236   Nissan       ROGUE               Phoenix                   AZ
96246   5N1AT2MT7JC789139   Nissan       ROGUE               Las Vegas                 NV
96247   5N1AT2MT7JC792512   Nissan       ROGUE               SAN FRANCISCO             CA
96248   5N1AT2MT7KC771032   Nissan       ROGUE               Alcoa                     TN
96249   5N1AT2MT7KC772102   Nissan       ROGUE               Harvey                    LA
96250   5N1AT2MT7KC772200   Nissan       ROGUE               SAN JOSE                  CA
96251   5N1AT2MT7KC772407   Nissan       ROGUE               SEATTLE                   WA
96252   5N1AT2MT7KC772701   Nissan       ROGUE               NASHVILLE                 TN
96253   5N1AT2MT7KC772746   Nissan       ROGUE               LAS VEGAS                 NV
96254   5N1AT2MT7KC772925   Nissan       ROGUE               BURBANK                   CA
96255   5N1AT2MT7KC773007   Nissan       ROGUE               PHOENIX                   AZ
96256   5N1AT2MT7KC773251   Nissan       ROGUE               WEST PALM BEACH           FL
96257   5N1AT2MT7KC774268   Nissan       ROGUE               ATLANTA                   GA
96258   5N1AT2MT7LC768469   Nissan       ROGUE               FORT MYERS                FL
96259   5N1AT2MT7LC774580   Nissan       ROGUE               MEMPHIS                   TN
96260   5N1AT2MT8JC754576   Nissan       ROGUE               EWA BEACH                 HI
96261   5N1AT2MT8JC756490   Nissan       ROGUE               Honolulu                  HI
96262   5N1AT2MT8JC778747   Nissan       ROGUE               Miami                     FL
96263   5N1AT2MT8JC790204   Nissan       ROGUE               SANTA ANA                 CA
96264   5N1AT2MT8JC791532   Nissan       ROGUE               SAN FRANCISCO             CA
96265   5N1AT2MT8KC767555   Nissan       ROGUE               SEATAC                    WA
96266   5N1AT2MT8KC768866   Nissan       ROGUE               LOS ANGELES               CA
96267   5N1AT2MT8KC770584   Nissan       ROGUE               Dallas                    TX
96268   5N1AT2MT8KC770679   Nissan       ROGUE               Las Vegas                 NV
96269   5N1AT2MT8KC770729   Nissan       ROGUE               LOS ANGELES               CA
96270   5N1AT2MT8KC771265   Nissan       ROGUE               Hamilton                  OH
96271   5N1AT2MT8KC772013   Nissan       ROGUE               ROSEVILLE                 CA
96272   5N1AT2MT8KC772058   Nissan       ROGUE               WEST PALM BEACH           FL
96273   5N1AT2MT8KC772741   Nissan       ROGUE               Los Angeles               CA
96274   5N1AT2MT8KC772786   Nissan       ROGUE               Winston‐Salem             NC
96275   5N1AT2MT8KC773646   Nissan       ROGUE               ONTARIO                   CA
96276   5N1AT2MT8LC766634   Nissan       ROGUE               ORLANDO                   FL
96277   5N1AT2MT8LC766939   Nissan       ROGUE               ORLANDO                   FL
96278   5N1AT2MT9JC717570   Nissan       ROGUE               CORAL SPRINGS             FL
96279   5N1AT2MT9JC759060   Nissan       ROGUE               Honolulu                  HI
96280   5N1AT2MT9JC769474   Nissan       ROGUE               San Antonio               TX
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96281   5N1AT2MT9JC779275   Nissan       ROGUE               MARIETTA                  GA
96282   5N1AT2MT9JC792169   Nissan       ROGUE               Portland                  OR
96283   5N1AT2MT9KC771307   Nissan       ROGUE               LAS VEGAS                 NV
96284   5N1AT2MT9KC771498   Nissan       ROGUE               LOS ANGELES               CA
96285   5N1AT2MT9KC771730   Nissan       ROGUE               Las Vegas                 NV
96286   5N1AT2MT9KC772098   Nissan       ROGUE               Los Angeles               CA
96287   5N1AT2MT9KC772523   Nissan       ROGUE               Houston                   TX
96288   5N1AT2MT9LC766402   Nissan       ROGUE               ORLANDO                   FL
96289   5N1AT2MT9LC770692   Nissan       ROGUE               MIAMI                     FL
96290   5N1AT2MT9LC770787   Nissan       ROGUE               FORT LAUDERDALE           FL
96291   5N1AT2MT9LC774841   Nissan       ROGUE               KNOXVILLE                 TN
96292   5N1AT2MT9LC775536   Nissan       ROGUE               ATLANTA                   GA
96293   5N1AT2MT9LC775715   Nissan       ROGUE               KNOXVILLE                 TN
96294   5N1AT2MTXJC756183   Nissan       ROGUE               TRACY                     CA
96295   5N1AT2MTXJC789958   Nissan       ROGUE               South San Franc           CA
96296   5N1AT2MTXJC790057   Nissan       ROGUE               SAN JOSE                  CA
96297   5N1AT2MTXJC790429   Nissan       ROGUE               Hayward                   CA
96298   5N1AT2MTXKC766004   Nissan       ROGUE               Atlanta                   GA
96299   5N1AT2MTXKC768531   Nissan       ROGUE               Jamaica                   NY
96300   5N1AT2MTXKC769226   Nissan       ROGUE               Atlanta                   GA
96301   5N1AT2MTXKC772546   Nissan       ROGUE               SACRAMENTO                CA
96302   5N1AT2MTXKC772689   Nissan       ROGUE               FORT MYERS                FL
96303   5N1AT2MTXKC772742   Nissan       ROGUE               SYRACUSE                  NY
96304   5N1AT2MTXKC773065   Nissan       ROGUE               Detroit                   MI
96305   5N1AT2MTXKC773194   Nissan       ROGUE               SEATTLE                   WA
96306   5N1AT2MTXKC773549   Nissan       ROGUE               Norwalk                   CA
96307   5N1AT2MTXLC766201   Nissan       ROGUE               FORT LAUDERDALE           FL
96308   5N1AT2MTXLC766330   Nissan       ROGUE               FORT MYERS                FL
96309   5N1AT2MTXLC766974   Nissan       ROGUE               SAVANNAH                  GA
96310   5N1AT2MV0GC745638   Nissan       ROGUE               Fredericksburg            VA
96311   5N1AT2MV0JC755058   Nissan       ROGUE               Kahului                   HI
96312   5N1AT2MV0JC777657   Nissan       ROGUE               ORLANDO                   FL
96313   5N1AT2MV0JC785189   Nissan       ROGUE               Manheim                   PA
96314   5N1AT2MV0KC766157   Nissan       ROGUE               Kansas City               MO
96315   5N1AT2MV0KC768166   Nissan       ROGUE               Salt Lake City            UT
96316   5N1AT2MV0KC768250   Nissan       ROGUE               SALT LAKE CITY            US
96317   5N1AT2MV0KC769124   Nissan       ROGUE               FRESNO CAR SALES          CA
96318   5N1AT2MV0KC769561   Nissan       ROGUE               North Las Vegas           NV
96319   5N1AT2MV0KC769642   Nissan       ROGUE               ST Paul                   MN
96320   5N1AT2MV0KC769849   Nissan       ROGUE               Salt Lake City            UT
96321   5N1AT2MV0KC769978   Nissan       ROGUE               San Diego                 CA
96322   5N1AT2MV0KC770113   Nissan       ROGUE               Englewood                 CO
96323   5N1AT2MV0KC770208   Nissan       ROGUE               San Antonio               TX
96324   5N1AT2MV0LC710575   Nissan       ROGUE               Florissant                MO
96325   5N1AT2MV0LC710639   Nissan       ROGUE               Irving                    TX
96326   5N1AT2MV0LC710656   Nissan       ROGUE               Newark                    NJ
96327   5N1AT2MV0LC710785   Nissan       ROGUE               Bridgeton                 MO
96328   5N1AT2MV0LC710835   Nissan       ROGUE               Dallas                    TX
96329   5N1AT2MV0LC711080   Nissan       ROGUE               Dallas                    TX
96330   5N1AT2MV0LC711256   Nissan       ROGUE               HARRISBURG                PA
96331   5N1AT2MV0LC711533   Nissan       ROGUE               Marietta                  GA
96332   5N1AT2MV0LC711564   Nissan       ROGUE               Warr Acres                OK
96333   5N1AT2MV0LC711631   Nissan       ROGUE               HAYWARD                   CA
96334   5N1AT2MV0LC712598   Nissan       ROGUE               Louisville                KY
96335   5N1AT2MV0LC713136   Nissan       ROGUE               Torrance                  CA
96336   5N1AT2MV1GC770337   Nissan       ROGUE               Phoenix                   AZ
96337   5N1AT2MV1GC919152   Nissan       ROGUE               Greensboro                NC
96338   5N1AT2MV1JC759197   Nissan       ROGUE               Hayward                   CA
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96339   5N1AT2MV1JC778641   Nissan       ROGUE               SANTA ANA                 CA
96340   5N1AT2MV1JC779577   Nissan       ROGUE               TAMPA                     FL
96341   5N1AT2MV1JC795262   Nissan       ROGUE               Norwalk                   CA
96342   5N1AT2MV1KC758682   Nissan       ROGUE               LOS ANGELES               CA
96343   5N1AT2MV1KC768497   Nissan       ROGUE               Salt Lake City            UT
96344   5N1AT2MV1KC768998   Nissan       ROGUE               San Diego                 CA
96345   5N1AT2MV1KC769312   Nissan       ROGUE               Dallas                    TX
96346   5N1AT2MV1KC769665   Nissan       ROGUE               BALTIMORE                 MD
96347   5N1AT2MV1KC770525   Nissan       ROGUE               ATLANTA                   GA
96348   5N1AT2MV1LC710262   Nissan       ROGUE               Atlanta                   GA
96349   5N1AT2MV1LC710326   Nissan       ROGUE               Dallas                    TX
96350   5N1AT2MV1LC710858   Nissan       ROGUE               Baltimore                 MD
96351   5N1AT2MV1LC711668   Nissan       ROGUE               CARY                      NC
96352   5N1AT2MV1LC711931   Nissan       ROGUE               Webster                   NY
96353   5N1AT2MV1LC712187   Nissan       ROGUE               Austin                    TX
96354   5N1AT2MV1LC712738   Nissan       ROGUE               Marietta                  GA
96355   5N1AT2MV1LC712772   Nissan       ROGUE               Baltimore                 MD
96356   5N1AT2MV1LC712965   Nissan       ROGUE               Riverside                 CA
96357   5N1AT2MV1LC713386   Nissan       ROGUE               Phoenix                   AZ
96358   5N1AT2MV1LC713422   Nissan       ROGUE               Fredericksburg            VA
96359   5N1AT2MV1LC713517   Nissan       ROGUE               Dallas                    TX
96360   5N1AT2MV1LC713758   Nissan       ROGUE               Maple Grove               MN
96361   5N1AT2MV2JC753649   Nissan       ROGUE               Hilo                      HI
96362   5N1AT2MV2JC755269   Nissan       ROGUE               ST Paul                   MN
96363   5N1AT2MV2JC756275   Nissan       ROGUE               KNOXVILLE                 TN
96364   5N1AT2MV2JC757149   Nissan       ROGUE               Kahului                   HI
96365   5N1AT2MV2JC761119   Nissan       ROGUE               Hayward                   CA
96366   5N1AT2MV2JC777224   Nissan       ROGUE               Baltimore                 MD
96367   5N1AT2MV2JC777532   Nissan       ROGUE               Pompano Beach             FL
96368   5N1AT2MV2KC758707   Nissan       ROGUE               Pittsburgh                PA
96369   5N1AT2MV2KC767844   Nissan       ROGUE               Salt Lake City            UT
96370   5N1AT2MV2KC768993   Nissan       ROGUE               SEATTLE                   WA
96371   5N1AT2MV2KC769528   Nissan       ROGUE               ST Paul                   MN
96372   5N1AT2MV2KC769934   Nissan       ROGUE               LOS ANGELES               CA
96373   5N1AT2MV2KC770226   Nissan       ROGUE               Salt Lake City            UT
96374   5N1AT2MV2KC770260   Nissan       ROGUE               SEATTLE                   WA
96375   5N1AT2MV2KC770632   Nissan       ROGUE               Salt Lake City            UT
96376   5N1AT2MV2LC710156   Nissan       ROGUE               MIDDLE RIVER              MD
96377   5N1AT2MV2LC710304   Nissan       ROGUE               MEDINA                    OH
96378   5N1AT2MV2LC710738   Nissan       ROGUE               Webster                   NY
96379   5N1AT2MV2LC710884   Nissan       ROGUE               Baltimore                 MD
96380   5N1AT2MV2LC711517   Nissan       ROGUE               Phoenix                   AZ
96381   5N1AT2MV2LC712215   Nissan       ROGUE               Live Oak                  TX
96382   5N1AT2MV2LC712635   Nissan       ROGUE               Stone Mountain            GA
96383   5N1AT2MV2LC712666   Nissan       ROGUE               CLOVIS                    CA
96384   5N1AT2MV2LC713994   Nissan       ROGUE               Austin                    TX
96385   5N1AT2MV3GC912056   Nissan       ROGUE               DES MOINES                IA
96386   5N1AT2MV3HC780093   Nissan       ROGUE               CHICAGO                   IL
96387   5N1AT2MV3JC755331   Nissan       ROGUE               Hayward                   CA
96388   5N1AT2MV3JC757144   Nissan       ROGUE               TRACY                     CA
96389   5N1AT2MV3JC758407   Nissan       ROGUE               SAN FRANCISCO             CA
96390   5N1AT2MV3JC769410   Nissan       ROGUE               DES PLAINES               US
96391   5N1AT2MV3JC785834   Nissan       ROGUE               Jacksonville              FL
96392   5N1AT2MV3JC802423   Nissan       ROGUE               GRAND RAPIDS              MI
96393   5N1AT2MV3KC758683   Nissan       ROGUE               SALT LAKE CITY            US
96394   5N1AT2MV3KC768453   Nissan       ROGUE               LOUISVILLE                KY
96395   5N1AT2MV3KC768937   Nissan       ROGUE               Newport Beach             CA
96396   5N1AT2MV3KC769084   Nissan       ROGUE               LOS ANGELES               CA
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96397   5N1AT2MV3KC770218   Nissan       ROGUE               SALT LAKE CITY            US
96398   5N1AT2MV3LC710926   Nissan       ROGUE               Bridgeton                 MO
96399   5N1AT2MV3LC711929   Nissan       ROGUE               ATLANTA                   GA
96400   5N1AT2MV3LC712336   Nissan       ROGUE               Estero                    FL
96401   5N1AT2MV3LC712658   Nissan       ROGUE               Austin                    TX
96402   5N1AT2MV3LC712983   Nissan       ROGUE               Salt Lake City            UT
96403   5N1AT2MV3LC713065   Nissan       ROGUE               LAS VEGAS                 NV
96404   5N1AT2MV3LC713891   Nissan       ROGUE               Burien                    WA
96405   5N1AT2MV4GC811947   Nissan       ROGUE               DES PLAINES               US
96406   5N1AT2MV4JC778181   Nissan       ROGUE               North Dighton             MA
96407   5N1AT2MV4JC779427   Nissan       ROGUE               SEATAC                    WA
96408   5N1AT2MV4KC705023   Nissan       ROGUE               DANIA                     US
96409   5N1AT2MV4KC767733   Nissan       ROGUE               LOS ANGELES AP            CA
96410   5N1AT2MV4KC768087   Nissan       ROGUE               PORTLAND                  OR
96411   5N1AT2MV4KC768445   Nissan       ROGUE               Riverside                 CA
96412   5N1AT2MV4KC769160   Nissan       ROGUE               Fresno                    CA
96413   5N1AT2MV4KC770213   Nissan       ROGUE               Salt Lake City            UT
96414   5N1AT2MV4LC710353   Nissan       ROGUE               TAMPA                     FL
96415   5N1AT2MV4LC710594   Nissan       ROGUE               Winter Park               FL
96416   5N1AT2MV4LC711776   Nissan       ROGUE               MORRISVILLE               NC
96417   5N1AT2MV4LC712460   Nissan       ROGUE               Rockville Centr           NY
96418   5N1AT2MV4LC712524   Nissan       ROGUE               Bensalem                  PA
96419   5N1AT2MV5GC873440   Nissan       ROGUE               CHICAGO                   IL
96420   5N1AT2MV5GC924807   Nissan       ROGUE               CHICAGO                   IL
96421   5N1AT2MV5JC758599   Nissan       ROGUE               Maple Grove               MN
96422   5N1AT2MV5JC760563   Nissan       ROGUE               Kahului                   HI
96423   5N1AT2MV5JC778805   Nissan       ROGUE               North Dighton             MA
96424   5N1AT2MV5KC759964   Nissan       ROGUE               LOS ANGELES               CA
96425   5N1AT2MV5KC767823   Nissan       ROGUE               SEATTLE                   WA
96426   5N1AT2MV5KC767966   Nissan       ROGUE               Salt Lake City            UT
96427   5N1AT2MV5KC768387   Nissan       ROGUE               DULUTH                    MN
96428   5N1AT2MV5KC768454   Nissan       ROGUE               Salt Lake City            UT
96429   5N1AT2MV5LC710121   Nissan       ROGUE               Lake in the Hil           IL
96430   5N1AT2MV5LC710619   Nissan       ROGUE               North Dighton             MA
96431   5N1AT2MV5LC710703   Nissan       ROGUE               Slidell                   LA
96432   5N1AT2MV5LC711852   Nissan       ROGUE               CHARLESTON                SC
96433   5N1AT2MV5LC712113   Nissan       ROGUE               Atlanta                   GA
96434   5N1AT2MV5LC712144   Nissan       ROGUE               Atlanta                   GA
96435   5N1AT2MV6HC770593   Nissan       ROGUE               CHICAGO                   IL
96436   5N1AT2MV6JC754237   Nissan       ROGUE               CHICAGO                   IL
96437   5N1AT2MV6JC755808   Nissan       ROGUE               TRACY                     CA
96438   5N1AT2MV6JC759227   Nissan       ROGUE               TRACY                     CA
96439   5N1AT2MV6JC759891   Nissan       ROGUE               TRACY                     CA
96440   5N1AT2MV6JC777534   Nissan       ROGUE               Grove City                OH
96441   5N1AT2MV6JC786881   Nissan       ROGUE               FT LAUDERDALE             FL
96442   5N1AT2MV6JC787674   Nissan       ROGUE               Tolleson                  AZ
96443   5N1AT2MV6KC759200   Nissan       ROGUE               ST Paul                   MN
96444   5N1AT2MV6KC768365   Nissan       ROGUE               Los Angeles               CA
96445   5N1AT2MV6KC769015   Nissan       ROGUE               Roseville                 CA
96446   5N1AT2MV6KC769192   Nissan       ROGUE               WOODLAND HILLS            CA
96447   5N1AT2MV6KC769712   Nissan       ROGUE               Warminster                PA
96448   5N1AT2MV6LC710192   Nissan       ROGUE               Hamilton                  OH
96449   5N1AT2MV6LC711181   Nissan       ROGUE               Webster                   NY
96450   5N1AT2MV6LC711424   Nissan       ROGUE               WOODS CROSS               US
96451   5N1AT2MV6LC711620   Nissan       ROGUE               Irving                    TX
96452   5N1AT2MV6LC711858   Nissan       ROGUE               Dallas                    TX
96453   5N1AT2MV6LC711956   Nissan       ROGUE               Richmond                  VA
96454   5N1AT2MV6LC713061   Nissan       ROGUE               Portland                  OR
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96455   5N1AT2MV6LC713304   Nissan       ROGUE               Burien                    WA
96456   5N1AT2MV6LC713660   Nissan       ROGUE               Harvey                    LA
96457   5N1AT2MV7JC753467   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
96458   5N1AT2MV7JC754215   Nissan       ROGUE               TRACY                     CA
96459   5N1AT2MV7JC759978   Nissan       ROGUE               TRACY                     CA
96460   5N1AT2MV7JC760239   Nissan       ROGUE               Kahului                   HI
96461   5N1AT2MV7JC778028   Nissan       ROGUE               VALLEJO                   CA
96462   5N1AT2MV7JC778255   Nissan       ROGUE               HANOVER                   MD
96463   5N1AT2MV7JC795749   Nissan       ROGUE               FRESNO                    CA
96464   5N1AT2MV7KC758234   Nissan       ROGUE               BURBANK                   CA
96465   5N1AT2MV7KC768648   Nissan       ROGUE               FRESNO                    CA
96466   5N1AT2MV7KC768858   Nissan       ROGUE               TAMPA                     FL
96467   5N1AT2MV7KC769105   Nissan       ROGUE               SALT LAKE CITY            US
96468   5N1AT2MV7KC770402   Nissan       ROGUE               Norwalk                   CA
96469   5N1AT2MV7LC710184   Nissan       ROGUE               Baltimore                 MD
96470   5N1AT2MV7LC710444   Nissan       ROGUE               Florissant                MO
96471   5N1AT2MV7LC710606   Nissan       ROGUE               Rockville Centr           NY
96472   5N1AT2MV7LC710797   Nissan       ROGUE               Tampa                     FL
96473   5N1AT2MV7LC710833   Nissan       ROGUE               Richmond                  VA
96474   5N1AT2MV7LC710864   Nissan       ROGUE               Louisville                KY
96475   5N1AT2MV7LC710931   Nissan       ROGUE               Live Oak                  TX
96476   5N1AT2MV7LC711027   Nissan       ROGUE               San Diego                 CA
96477   5N1AT2MV7LC711206   Nissan       ROGUE               SAN LEANDRO               CA
96478   5N1AT2MV7LC711691   Nissan       ROGUE               Florissant                MO
96479   5N1AT2MV7LC711884   Nissan       ROGUE               Myrtle Beach              SC
96480   5N1AT2MV7LC711951   Nissan       ROGUE               Hartford                  CT
96481   5N1AT2MV7LC712386   Nissan       ROGUE               Live Oak                  TX
96482   5N1AT2MV7LC713666   Nissan       ROGUE               CLOVIS                    CA
96483   5N1AT2MV7LC777030   Nissan       ROGUE               TAMPA                     FL
96484   5N1AT2MV7LC777108   Nissan       ROGUE               PHOENIX                   AZ
96485   5N1AT2MV8GC847382   Nissan       ROGUE               CHICAGO                   IL
96486   5N1AT2MV8JC757432   Nissan       ROGUE               TRACY                     CA
96487   5N1AT2MV8JC757818   Nissan       ROGUE               SPRINGFIELD               VA
96488   5N1AT2MV8JC759780   Nissan       ROGUE               TRACY                     CA
96489   5N1AT2MV8JC760282   Nissan       ROGUE               TRACY                     CA
96490   5N1AT2MV8JC760766   Nissan       ROGUE               TRACY                     CA
96491   5N1AT2MV8JC779205   Nissan       ROGUE               TAMPA                     FL
96492   5N1AT2MV8KC764642   Nissan       ROGUE               BURBANK                   CA
96493   5N1AT2MV8KC766665   Nissan       ROGUE               Caledonia                 WI
96494   5N1AT2MV8KC767685   Nissan       ROGUE               Roseville                 CA
96495   5N1AT2MV8KC768139   Nissan       ROGUE               Coraopolis                PA
96496   5N1AT2MV8KC769453   Nissan       ROGUE               Salt Lake City            UT
96497   5N1AT2MV8KC769503   Nissan       ROGUE               GREEN BAY                 WI
96498   5N1AT2MV8KC769839   Nissan       ROGUE               SAN DIEGO                 CA
96499   5N1AT2MV8KC769856   Nissan       ROGUE               Killeen                   TX
96500   5N1AT2MV8KC769937   Nissan       ROGUE               North Dighton             MA
96501   5N1AT2MV8LC710288   Nissan       ROGUE               Windsor Locks             CT
96502   5N1AT2MV8LC710405   Nissan       ROGUE               Warminster                PA
96503   5N1AT2MV8LC711327   Nissan       ROGUE               MELROSE PARK              IL
96504   5N1AT2MV8LC711361   Nissan       ROGUE               Fontana                   CA
96505   5N1AT2MV8LC711649   Nissan       ROGUE               Riverside                 CA
96506   5N1AT2MV8LC711828   Nissan       ROGUE               Gaston                    SC
96507   5N1AT2MV8LC711831   Nissan       ROGUE               Dallas                    TX
96508   5N1AT2MV8LC712106   Nissan       ROGUE               Bensalem                  PA
96509   5N1AT2MV8LC712185   Nissan       ROGUE               Hartford                  CT
96510   5N1AT2MV8LC712204   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
96511   5N1AT2MV8LC712249   Nissan       ROGUE               Orlando                   FL
96512   5N1AT2MV8LC712624   Nissan       ROGUE               Richmond                  VA
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96513   5N1AT2MV8LC712641   Nissan       ROGUE               NASHVILLE                 TN
96514   5N1AT2MV8LC712722   Nissan       ROGUE               Portland                  OR
96515   5N1AT2MV8LC713059   Nissan       ROGUE               Miami                     FL
96516   5N1AT2MV8LC713093   Nissan       ROGUE               SALT LAKE CITY            UT
96517   5N1AT2MV8LC713823   Nissan       ROGUE               Las Vegas                 NV
96518   5N1AT2MV8LC742741   Nissan       ROGUE               LIHUE                     HI
96519   5N1AT2MV9HC743646   Nissan       ROGUE               CHICAGO                   IL
96520   5N1AT2MV9HC757868   Nissan       ROGUE               CHICAGO                   IL
96521   5N1AT2MV9JC745189   Nissan       ROGUE               Webster                   NY
96522   5N1AT2MV9JC756404   Nissan       ROGUE               Kahului                   HI
96523   5N1AT2MV9JC765944   Nissan       ROGUE               MIAMI                     FL
96524   5N1AT2MV9JC786941   Nissan       ROGUE               RALEIGH                   NC
96525   5N1AT2MV9JC788656   Nissan       ROGUE               Tampa                     FL
96526   5N1AT2MV9KC759966   Nissan       ROGUE               SALT LAKE CITY            UT
96527   5N1AT2MV9KC767694   Nissan       ROGUE               SEATTLE                   WA
96528   5N1AT2MV9KC768411   Nissan       ROGUE               Amarillo                  TX
96529   5N1AT2MV9KC768523   Nissan       ROGUE               ONTARIO, RIVERSIDE        CA
96530   5N1AT2MV9KC768683   Nissan       ROGUE               SALT LAKE CITY            US
96531   5N1AT2MV9KC768778   Nissan       ROGUE               Atlanta                   GA
96532   5N1AT2MV9KC769882   Nissan       ROGUE               SEATTLE                   WA
96533   5N1AT2MV9KC770630   Nissan       ROGUE               CLOVIS                    CA
96534   5N1AT2MV9LC710624   Nissan       ROGUE               Smithtown                 NY
96535   5N1AT2MV9LC711191   Nissan       ROGUE               Phoenix                   AZ
96536   5N1AT2MV9LC711224   Nissan       ROGUE               seatac                    wa
96537   5N1AT2MV9LC711675   Nissan       ROGUE               Corpus Christi            TX
96538   5N1AT2MV9LC711790   Nissan       ROGUE               MEDINA                    OH
96539   5N1AT2MV9LC711935   Nissan       ROGUE               Richmond                  VA
96540   5N1AT2MV9LC712003   Nissan       ROGUE               MEDINA                    OH
96541   5N1AT2MV9LC712115   Nissan       ROGUE               Louisville                KY
96542   5N1AT2MV9LC712163   Nissan       ROGUE               Baltimore                 MD
96543   5N1AT2MV9LC713152   Nissan       ROGUE               BOSTON                    MA
96544   5N1AT2MVXJC731267   Nissan       ROGUE               Nashville                 TN
96545   5N1AT2MVXJC756332   Nissan       ROGUE               Hayward                   CA
96546   5N1AT2MVXJC756430   Nissan       ROGUE               TRACY                     CA
96547   5N1AT2MVXJC757254   Nissan       ROGUE               Maple Grove               MN
96548   5N1AT2MVXJC777357   Nissan       ROGUE               Morrisville               NC
96549   5N1AT2MVXKC759488   Nissan       ROGUE               Los Angeles               CA
96550   5N1AT2MVXKC768143   Nissan       ROGUE               Salt Lake City            UT
96551   5N1AT2MVXKC768207   Nissan       ROGUE               Stockton                  CA
96552   5N1AT2MVXKC769602   Nissan       ROGUE               Maple Grove               MN
96553   5N1AT2MVXKC769793   Nissan       ROGUE               Torrance                  CA
96554   5N1AT2MVXKC770099   Nissan       ROGUE               SANTA ANA                 CA
96555   5N1AT2MVXLC710289   Nissan       ROGUE               Rockville Centr           NY
96556   5N1AT2MVXLC710387   Nissan       ROGUE               Killeen                   TX
96557   5N1AT2MVXLC710549   Nissan       ROGUE               Smithtown                 NY
96558   5N1AT2MVXLC710681   Nissan       ROGUE               Baltimore                 MD
96559   5N1AT2MVXLC711121   Nissan       ROGUE               Elkridge                  MD
96560   5N1AT2MVXLC711748   Nissan       ROGUE               NASHVILLE                 TN
96561   5N1AT2MVXLC713516   Nissan       ROGUE               LAS VEGAS                 NV
96562   5N1AT2MVXLC713970   Nissan       ROGUE               Santa Clara               CA
96563   5N1AZ2BJ0LN100064   Nissan       MURANO              TAMPA                     FL
96564   5N1AZ2BJ0LN100078   Nissan       MURANO              Atlanta                   GA
96565   5N1AZ2BJ0LN100081   Nissan       MURANO              JACKSONVILLE              FL
96566   5N1AZ2BJ0LN100095   Nissan       MURANO              FORT LAUDERDALE           FL
96567   5N1AZ2BJ0LN100114   Nissan       MURANO              ORLANDO                   FL
96568   5N1AZ2BJ0LN100257   Nissan       MURANO              MIAMI                     FL
96569   5N1AZ2BJ0LN100260   Nissan       MURANO              TAMPA                     FL
96570   5N1AZ2BJ0LN100274   Nissan       MURANO              TAMPA                     FL
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96571   5N1AZ2BJ0LN100372   Nissan       MURANO              MIAMI                     FL
96572   5N1AZ2BJ0LN100470   Nissan       MURANO              CHARLESTON                WV
96573   5N1AZ2BJ0LN100551   Nissan       MURANO              SANTA FE                  NM
96574   5N1AZ2BJ0LN100646   Nissan       MURANO              CHICAGO                   IL
96575   5N1AZ2BJ0LN100663   Nissan       MURANO              NASHVILLE                 TN
96576   5N1AZ2BJ0LN100680   Nissan       MURANO              Lafayette                 LA
96577   5N1AZ2BJ0LN100694   Nissan       MURANO              FORT MYERS                FL
96578   5N1AZ2BJ0LN100758   Nissan       MURANO              Atlanta                   GA
96579   5N1AZ2BJ0LN100792   Nissan       MURANO              JACKSONVILLE              FL
96580   5N1AZ2BJ0LN100842   Nissan       MURANO              ORLANDO                   FL
96581   5N1AZ2BJ0LN100890   Nissan       MURANO              DALLAS                    TX
96582   5N1AZ2BJ0LN100937   Nissan       MURANO              CHICAGO                   IL
96583   5N1AZ2BJ0LN100954   Nissan       MURANO              WEST PALM BEACH           FL
96584   5N1AZ2BJ0LN100985   Nissan       MURANO              MIAMI                     FL
96585   5N1AZ2BJ0LN101019   Nissan       MURANO              NAPLES                    FL
96586   5N1AZ2BJ0LN101022   Nissan       MURANO              Tampa                     FL
96587   5N1AZ2BJ0LN101103   Nissan       MURANO              NASHVILLE                 TN
96588   5N1AZ2BJ0LN101120   Nissan       MURANO              Miami                     FL
96589   5N1AZ2BJ0LN101148   Nissan       MURANO              PORTLAND                  OR
96590   5N1AZ2BJ0LN101201   Nissan       MURANO              CHARLOTTE                 NC
96591   5N1AZ2BJ0LN101327   Nissan       MURANO              TAMPA                     FL
96592   5N1AZ2BJ0LN101330   Nissan       MURANO              LAS VEGAS                 NV
96593   5N1AZ2BJ0LN101344   Nissan       MURANO              MIAMI                     FL
96594   5N1AZ2BJ0LN101571   Nissan       MURANO              FORT LAUDERDALE           FL
96595   5N1AZ2BJ0LN101649   Nissan       MURANO              FORT MYERS                FL
96596   5N1AZ2BJ0LN101716   Nissan       MURANO              ORLANDO                   FL
96597   5N1AZ2BJ0LN101750   Nissan       MURANO              ORLANDO                   FL
96598   5N1AZ2BJ0LN101957   Nissan       MURANO              LOS ANGELES               CA
96599   5N1AZ2BJ0LN102168   Nissan       MURANO              Irving                    TX
96600   5N1AZ2BJ0LN102753   Nissan       MURANO              ORLANDO                   FL
96601   5N1AZ2BJ0LN102946   Nissan       MURANO              HOUSTON                   TX
96602   5N1AZ2BJ0LN103286   Nissan       MURANO              LOUISVILLE                KY
96603   5N1AZ2BJ0LN103305   Nissan       MURANO              HOUSTON                   TX
96604   5N1AZ2BJ0LN103319   Nissan       MURANO              albuquerque               nm
96605   5N1AZ2BJ0LN103353   Nissan       MURANO              WEST PALM BEACH           FL
96606   5N1AZ2BJ0LN103367   Nissan       MURANO              SAN ANTONIO               TX
96607   5N1AZ2BJ0LN103370   Nissan       MURANO              CHICAGO                   IL
96608   5N1AZ2BJ0LN103563   Nissan       MURANO              ORLANDO                   FL
96609   5N1AZ2BJ0LN103594   Nissan       MURANO              BALTIMORE                 MD
96610   5N1AZ2BJ0LN103773   Nissan       MURANO              PENSACOLA                 FL
96611   5N1AZ2BJ0LN103921   Nissan       MURANO              SAINT PAUL                MN
96612   5N1AZ2BJ0LN104003   Nissan       MURANO              DFW AIRPORT               TX
96613   5N1AZ2BJ0LN104051   Nissan       MURANO              NASHVILLE                 TN
96614   5N1AZ2BJ0LN104101   Nissan       MURANO              DALLAS                    TX
96615   5N1AZ2BJ0LN104244   Nissan       MURANO              PHILADELPHIA              PA
96616   5N1AZ2BJ0LN104258   Nissan       MURANO              ORLANDO                   FL
96617   5N1AZ2BJ0LN104311   Nissan       MURANO              KENNER                    LA
96618   5N1AZ2BJ0LN104373   Nissan       MURANO              Atlanta                   GA
96619   5N1AZ2BJ0LN104387   Nissan       MURANO              TAMPA                     FL
96620   5N1AZ2BJ0LN104423   Nissan       MURANO              Atlanta                   GA
96621   5N1AZ2BJ0LN104440   Nissan       MURANO              MIAMI                     FL
96622   5N1AZ2BJ0LN104468   Nissan       MURANO              INDIANAPOLIS              IN
96623   5N1AZ2BJ0LN104535   Nissan       MURANO              DALLAS                    TX
96624   5N1AZ2BJ0LN104549   Nissan       MURANO              FORT LAUDERDALE           FL
96625   5N1AZ2BJ0LN104695   Nissan       MURANO              TAMPA                     FL
96626   5N1AZ2BJ0LN104728   Nissan       MURANO              KNOXVILLE                 TN
96627   5N1AZ2BJ0LN104731   Nissan       MURANO              WEST PALM BEACH           FL
96628   5N1AZ2BJ0LN104776   Nissan       MURANO              ROANOKE                   VA
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96629   5N1AZ2BJ0LN104793   Nissan       MURANO              MIDLAND                   TX
96630   5N1AZ2BJ0LN104860   Nissan       MURANO              RONKONKOMA                NY
96631   5N1AZ2BJ0LN104955   Nissan       MURANO              FORT MYERS                FL
96632   5N1AZ2BJ0LN105037   Nissan       MURANO              MIAMI                     FL
96633   5N1AZ2BJ0LN105040   Nissan       MURANO              ORLANDO                   FL
96634   5N1AZ2BJ0LN105085   Nissan       MURANO              ORLANDO                   FL
96635   5N1AZ2BJ0LN105121   Nissan       MURANO              TAMPA                     FL
96636   5N1AZ2BJ0LN105135   Nissan       MURANO              KNOXVILLE                 TN
96637   5N1AZ2BJ0LN105152   Nissan       MURANO              WEST PALM BEACH           FL
96638   5N1AZ2BJ0LN105166   Nissan       MURANO              SOUTHEAST DST OFFC        OK
96639   5N1AZ2BJ0LN105183   Nissan       MURANO              SAINT PAUL                MN
96640   5N1AZ2BJ0LN105331   Nissan       MURANO              HOUSTON                   TX
96641   5N1AZ2BJ0LN105359   Nissan       MURANO              HOUSTON                   TX
96642   5N1AZ2BJ0LN105376   Nissan       MURANO              KNOXVILLE                 TN
96643   5N1AZ2BJ0LN105412   Nissan       MURANO              GRAND RAPIDS              MI
96644   5N1AZ2BJ0LN105426   Nissan       MURANO              PHILADELPHIA              PA
96645   5N1AZ2BJ0LN105507   Nissan       MURANO              HOUSTON                   TX
96646   5N1AZ2BJ0LN105510   Nissan       MURANO              DALLAS                    TX
96647   5N1AZ2BJ0LN105698   Nissan       MURANO              FORT MYERS                FL
96648   5N1AZ2BJ0LN105717   Nissan       MURANO              HOUSTON                   TX
96649   5N1AZ2BJ0LN105720   Nissan       MURANO              DALLAS                    TX
96650   5N1AZ2BJ0LN105734   Nissan       MURANO              DETROIT                   MI
96651   5N1AZ2BJ0LN105829   Nissan       MURANO              CHARLOTTE                 NC
96652   5N1AZ2BJ0LN105863   Nissan       MURANO              ORLANDO                   FL
96653   5N1AZ2BJ0LN105894   Nissan       MURANO              JOHNSTOWN                 PA
96654   5N1AZ2BJ0LN105913   Nissan       MURANO              HOUSTON                   TX
96655   5N1AZ2BJ0LN106026   Nissan       MURANO              JACKSON                   MS
96656   5N1AZ2BJ0LN106060   Nissan       MURANO              TALLAHASSEE               F
96657   5N1AZ2BJ0LN106110   Nissan       MURANO              HOUSTON                   TX
96658   5N1AZ2BJ0LN106124   Nissan       MURANO              BURBANK                   CA
96659   5N1AZ2BJ0LN106169   Nissan       MURANO              DALLAS                    TX
96660   5N1AZ2BJ0LN106267   Nissan       MURANO              ORLANDO                   FL
96661   5N1AZ2BJ0LN106298   Nissan       MURANO              ATLANTA                   GA
96662   5N1AZ2BJ0LN106334   Nissan       MURANO              DALLAS                    TX
96663   5N1AZ2BJ0LN106348   Nissan       MURANO              CORPUS CHRISTI            TX
96664   5N1AZ2BJ0LN106351   Nissan       MURANO              CHICAGO                   IL
96665   5N1AZ2BJ0LN106365   Nissan       MURANO              BIRMINGHAN                AL
96666   5N1AZ2BJ0LN106379   Nissan       MURANO              HOUSTON                   TX
96667   5N1AZ2BJ0LN106382   Nissan       MURANO              PHOENIX                   AZ
96668   5N1AZ2BJ0LN106432   Nissan       MURANO              PHOENIX                   AZ
96669   5N1AZ2BJ0LN106494   Nissan       MURANO              AUSTIN                    TX
96670   5N1AZ2BJ0LN106527   Nissan       MURANO              FORT MYERS                FL
96671   5N1AZ2BJ0LN106558   Nissan       MURANO              MIAMI                     FL
96672   5N1AZ2BJ0LN106656   Nissan       MURANO              EL PASO                   TX
96673   5N1AZ2BJ0LN106673   Nissan       MURANO              AUSTIN                    TX
96674   5N1AZ2BJ0LN106687   Nissan       MURANO              LOS ANGELES               CA
96675   5N1AZ2BJ0LN106690   Nissan       MURANO              DALLAS                    TX
96676   5N1AZ2BJ0LN106754   Nissan       MURANO              CORPUS CHRISTI            TX
96677   5N1AZ2BJ0LN106799   Nissan       MURANO              HOUSTON                   TX
96678   5N1AZ2BJ0LN106804   Nissan       MURANO              CLEVELAND                 OH
96679   5N1AZ2BJ0LN106818   Nissan       MURANO              HOUSTON                   TX
96680   5N1AZ2BJ0LN106821   Nissan       MURANO              ORLANDO                   FL
96681   5N1AZ2BJ0LN106866   Nissan       MURANO              ATLANTA                   GA
96682   5N1AZ2BJ0LN106883   Nissan       MURANO              ROANOKE                   VA
96683   5N1AZ2BJ0LN106897   Nissan       MURANO              NEW BERN                  NC
96684   5N1AZ2BJ0LN106981   Nissan       MURANO              FORT LAUDERDALE           FL
96685   5N1AZ2BJ0LN107080   Nissan       MURANO              DALLAS                    TX
96686   5N1AZ2BJ0LN107094   Nissan       MURANO              DALLAS                    TX
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96687   5N1AZ2BJ0LN107189   Nissan       MURANO              Ft. Myers                 FL
96688   5N1AZ2BJ0LN107290   Nissan       MURANO              TAMPA                     FL
96689   5N1AZ2BJ0LN121383   Nissan       MURANO              ORANGE COUNTY             CA
96690   5N1AZ2BJ0LN122128   Nissan       MURANO              LAS VEGAS                 NV
96691   5N1AZ2BJ0LN122162   Nissan       MURANO              LOS ANGELES               CA
96692   5N1AZ2BJ0LN122274   Nissan       MURANO              ONTARIO                   CA
96693   5N1AZ2BJ0LN122467   Nissan       MURANO              PALM SPRINGS              CA
96694   5N1AZ2BJ0LN122629   Nissan       MURANO              SANTA ANA                 CA
96695   5N1AZ2BJ0LN122839   Nissan       MURANO              BOSTON                    MA
96696   5N1AZ2BJ0LN123070   Nissan       MURANO              PALM SPRINGS              CA
96697   5N1AZ2BJ0LN123358   Nissan       MURANO              INGLEWOOD                 CA
96698   5N1AZ2BJ0LN128267   Nissan       MURANO              FORT LAUDERDALE           FL
96699   5N1AZ2BJ0LN128916   Nissan       MURANO              PALM SPRINGS              CA
96700   5N1AZ2BJ0LN129628   Nissan       MURANO              ORLANDO                   FL
96701   5N1AZ2BJ0LN130181   Nissan       MURANO              FORT LAUDERDALE           FL
96702   5N1AZ2BJ0LN130679   Nissan       MURANO              MIAMI                     FL
96703   5N1AZ2BJ0LN131363   Nissan       MURANO              TAMPA                     FL
96704   5N1AZ2BJ0LN135879   Nissan       MURANO              AUSTIN                    TX
96705   5N1AZ2BJ0LN135882   Nissan       MURANO              FORT MYERS                FL
96706   5N1AZ2BJ0LN135980   Nissan       MURANO              KENNER                    LA
96707   5N1AZ2BJ0LN136076   Nissan       MURANO              CHATTANOOGA               TN
96708   5N1AZ2BJ0LN136577   Nissan       MURANO              FORT LAUDERDALE           FL
96709   5N1AZ2BJ0LN136823   Nissan       MURANO              BUFFALO                   NY
96710   5N1AZ2BJ0LN137812   Nissan       MURANO              SARASOTA                  FL
96711   5N1AZ2BJ0LN137826   Nissan       MURANO              MEMPHIS                   TN
96712   5N1AZ2BJ0LN138085   Nissan       MURANO              MIAMI                     FL
96713   5N1AZ2BJ0LN138801   Nissan       MURANO              HOUSTON                   TX
96714   5N1AZ2BJ0LN139236   Nissan       MURANO              WHITE PLAINS              NY
96715   5N1AZ2BJ0LN139883   Nissan       MURANO              HOUSTON                   TX
96716   5N1AZ2BJ0LN140127   Nissan       MURANO              KNOXVILLE                 TN
96717   5N1AZ2BJ0LN140130   Nissan       MURANO              MEMPHIS                   TN
96718   5N1AZ2BJ0LN140175   Nissan       MURANO              NASHVILLE                 TN
96719   5N1AZ2BJ0LN140581   Nissan       MURANO              HOUSTON                   TX
96720   5N1AZ2BJ0LN140614   Nissan       MURANO              WEST PALM BEACH           FL
96721   5N1AZ2BJ0LN140662   Nissan       MURANO              ATLANTA                   GA
96722   5N1AZ2BJ0LN142413   Nissan       MURANO              TAMPA                     FL
96723   5N1AZ2BJ0LN142492   Nissan       MURANO              TAMPA                     FL
96724   5N1AZ2BJ0LN144257   Nissan       MURANO              DALLAS                    TX
96725   5N1AZ2BJ0LN144260   Nissan       MURANO              AUSTIN                    TX
96726   5N1AZ2BJ0LN144436   Nissan       MURANO              CHICAGO                   IL
96727   5N1AZ2BJ0LN144517   Nissan       MURANO              Dallas                    TX
96728   5N1AZ2BJ0LN144534   Nissan       MURANO              LAS VEGAS                 NV
96729   5N1AZ2BJ0LN144551   Nissan       MURANO              HOUSTON                   TX
96730   5N1AZ2BJ0LN144887   Nissan       MURANO              ATLANTA                   GA
96731   5N1AZ2BJ0LN145067   Nissan       MURANO              BURBANK                   CA
96732   5N1AZ2BJ0LN145084   Nissan       MURANO              SAN DIEGO                 CA
96733   5N1AZ2BJ0LN145229   Nissan       MURANO              MEMPHIS                   TN
96734   5N1AZ2BJ0LN145277   Nissan       MURANO              LOS ANGELES               CA
96735   5N1AZ2BJ0LN145361   Nissan       MURANO              SANTA ANA                 CA
96736   5N1AZ2BJ0LN145828   Nissan       MURANO              Irving                    TX
96737   5N1AZ2BJ0LN145862   Nissan       MURANO              OKLAHOMA CITY             OK
96738   5N1AZ2BJ0LN145876   Nissan       MURANO              DALLAS                    TX
96739   5N1AZ2BJ0LN146008   Nissan       MURANO              Atlanta                   GA
96740   5N1AZ2BJ0LN146171   Nissan       MURANO              LAS VEGAS                 NV
96741   5N1AZ2BJ0LN146316   Nissan       MURANO              ATLANTA                   GA
96742   5N1AZ2BJ0LN146350   Nissan       MURANO              Irving                    TX
96743   5N1AZ2BJ0LN146364   Nissan       MURANO              LAS VEGAS                 NV
96744   5N1AZ2BJ0LN146672   Nissan       MURANO              SANTA ANA                 CA
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96745   5N1AZ2BJ0LN146719   Nissan       MURANO              HOUSTON                   TX
96746   5N1AZ2BJ0LN147076   Nissan       MURANO              HOUSTON                   TX
96747   5N1AZ2BJ0LN147238   Nissan       MURANO              NEWPORT BEACH             CA
96748   5N1AZ2BJ0LN147837   Nissan       MURANO              Dallas                    TX
96749   5N1AZ2BJ0LN148373   Nissan       MURANO              MEMPHIS                   TN
96750   5N1AZ2BJ0LN148437   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
96751   5N1AZ2BJ0LN148454   Nissan       MURANO              SANTA ANA                 CA
96752   5N1AZ2BJ0LN149149   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
96753   5N1AZ2BJ0LN149555   Nissan       MURANO              MEMPHIS                   TN
96754   5N1AZ2BJ0LN149619   Nissan       MURANO              ATLANTA                   GA
96755   5N1AZ2BJ0LN149684   Nissan       MURANO              ATLANTA                   GA
96756   5N1AZ2BJ0LN149796   Nissan       MURANO              ATLANTA                   GA
96757   5N1AZ2BJ0LN150074   Nissan       MURANO              MEMPHIS                   TN
96758   5N1AZ2BJ0LN150091   Nissan       MURANO              ST Paul                   MN
96759   5N1AZ2BJ0LN150124   Nissan       MURANO              MEMPHIS                   TN
96760   5N1AZ2BJ0LN150186   Nissan                           Phoenix                   AZ
96761   5N1AZ2BJ1LN100106   Nissan       MURANO              WEST PALM BEACH           FL
96762   5N1AZ2BJ1LN100168   Nissan       MURANO              ORLANDO                   FL
96763   5N1AZ2BJ1LN100283   Nissan       MURANO              TAMPA                     FL
96764   5N1AZ2BJ1LN100378   Nissan       MURANO              DENVER                    CO
96765   5N1AZ2BJ1LN100459   Nissan       MURANO              ATLANTA                   GA
96766   5N1AZ2BJ1LN100462   Nissan       MURANO              ATLANTA                   GA
96767   5N1AZ2BJ1LN100476   Nissan       MURANO              Atlanta                   GA
96768   5N1AZ2BJ1LN100574   Nissan       MURANO              ORLANDO                   FL
96769   5N1AZ2BJ1LN100610   Nissan       MURANO              VANDALIA                  OH
96770   5N1AZ2BJ1LN100638   Nissan       MURANO              BIRMINGHAM                AL
96771   5N1AZ2BJ1LN100641   Nissan       MURANO              TAMPA                     FL
96772   5N1AZ2BJ1LN100686   Nissan       MURANO              ORLANDO                   FL
96773   5N1AZ2BJ1LN100719   Nissan       MURANO              FORT MYERS                FL
96774   5N1AZ2BJ1LN100851   Nissan       MURANO              HOUSTON                   TX
96775   5N1AZ2BJ1LN100901   Nissan       MURANO              FORT MYERS                FL
96776   5N1AZ2BJ1LN100915   Nissan       MURANO              BIRMINGHAN                AL
96777   5N1AZ2BJ1LN100932   Nissan       MURANO              ORLANDO                   FL
96778   5N1AZ2BJ1LN100946   Nissan       MURANO              BIRMINGHAN                AL
96779   5N1AZ2BJ1LN100977   Nissan       MURANO              WARWICK                   RI
96780   5N1AZ2BJ1LN101000   Nissan       MURANO              Dallas                    TX
96781   5N1AZ2BJ1LN101126   Nissan       MURANO              SAINT LOUIS               MO
96782   5N1AZ2BJ1LN101207   Nissan       MURANO              TAMPA                     FL
96783   5N1AZ2BJ1LN101224   Nissan       MURANO              FORT LAUDERDALE           FL
96784   5N1AZ2BJ1LN101255   Nissan       MURANO              MINNEAPOLIS               MN
96785   5N1AZ2BJ1LN101305   Nissan       MURANO              LAS VEGAS                 NV
96786   5N1AZ2BJ1LN101434   Nissan       MURANO              TUCSON                    AZ
96787   5N1AZ2BJ1LN101451   Nissan       MURANO              FORT MYERS                FL
96788   5N1AZ2BJ1LN101532   Nissan       MURANO              DALLAS                    TX
96789   5N1AZ2BJ1LN101546   Nissan       MURANO              WINDER                    GA
96790   5N1AZ2BJ1LN101580   Nissan       MURANO              MIDLAND                   TX
96791   5N1AZ2BJ1LN101742   Nissan       MURANO              SARASOTA                  FL
96792   5N1AZ2BJ1LN101773   Nissan       MURANO              Atlanta                   GA
96793   5N1AZ2BJ1LN101935   Nissan       MURANO              PALM SPRINGS              CA
96794   5N1AZ2BJ1LN101983   Nissan       MURANO              SACRAMENTO                CA
96795   5N1AZ2BJ1LN102051   Nissan       MURANO              PHOENIX                   AZ
96796   5N1AZ2BJ1LN102258   Nissan       MURANO              MIAMI                     FL
96797   5N1AZ2BJ1LN102311   Nissan       MURANO              AUSTIN                    TX
96798   5N1AZ2BJ1LN102535   Nissan       MURANO              MIAMI                     FL
96799   5N1AZ2BJ1LN102602   Nissan       MURANO              TULSA                     OK
96800   5N1AZ2BJ1LN102843   Nissan       MURANO              MEMPHIS                   TN
96801   5N1AZ2BJ1LN103104   Nissan       MURANO              ORLANDO                   FL
96802   5N1AZ2BJ1LN103149   Nissan       MURANO              HOUSTON                   TX
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96803   5N1AZ2BJ1LN103247   Nissan       MURANO              TAMPA                     FL
96804   5N1AZ2BJ1LN103250   Nissan       MURANO              BIRMINGHAM                AL
96805   5N1AZ2BJ1LN103300   Nissan       MURANO              SAN ANTONIO               TX
96806   5N1AZ2BJ1LN103345   Nissan       MURANO              FORT LAUDERDALE           FL
96807   5N1AZ2BJ1LN103541   Nissan       MURANO              ORLANDO                   FL
96808   5N1AZ2BJ1LN103569   Nissan       MURANO              TAMPA                     FL
96809   5N1AZ2BJ1LN103572   Nissan       MURANO              MIAMI                     FL
96810   5N1AZ2BJ1LN103586   Nissan       MURANO              AUSTIN                    TX
96811   5N1AZ2BJ1LN103832   Nissan       MURANO              RALEIGH                   NC
96812   5N1AZ2BJ1LN103944   Nissan       MURANO              DALLAS                    TX
96813   5N1AZ2BJ1LN104026   Nissan       MURANO              ATLANTA                   GA
96814   5N1AZ2BJ1LN104088   Nissan       MURANO              ORLANDO                   FL
96815   5N1AZ2BJ1LN104091   Nissan       MURANO              AUSTIN                    TX
96816   5N1AZ2BJ1LN104110   Nissan       MURANO              CHICAGO                   IL
96817   5N1AZ2BJ1LN104155   Nissan       MURANO              KANSAS CITY               MO
96818   5N1AZ2BJ1LN104186   Nissan       MURANO              HANOVER                   MD
96819   5N1AZ2BJ1LN104303   Nissan       MURANO              CHARLESTON                SC
96820   5N1AZ2BJ1LN104320   Nissan       MURANO              DALLAS                    TX
96821   5N1AZ2BJ1LN104334   Nissan       MURANO              DALLAS                    TX
96822   5N1AZ2BJ1LN104432   Nissan       MURANO              TAMPA                     FL
96823   5N1AZ2BJ1LN104446   Nissan       MURANO              Lafayette                 LA
96824   5N1AZ2BJ1LN104477   Nissan       MURANO              DALLAS                    TX
96825   5N1AZ2BJ1LN104480   Nissan       MURANO              KENNER                    LA
96826   5N1AZ2BJ1LN104625   Nissan       MURANO              BIRMINGHAM                AL
96827   5N1AZ2BJ1LN104740   Nissan       MURANO              FORT LAUDERDALE           FL
96828   5N1AZ2BJ1LN104754   Nissan       MURANO              MEMPHIS                   TN
96829   5N1AZ2BJ1LN104897   Nissan       MURANO              KNOXVILLE                 TN
96830   5N1AZ2BJ1LN104916   Nissan       MURANO              ATLANTA                   GA
96831   5N1AZ2BJ1LN104964   Nissan       MURANO              MILWAUKEE                 WI
96832   5N1AZ2BJ1LN104978   Nissan       MURANO              BOSTON                    MA
96833   5N1AZ2BJ1LN105001   Nissan       MURANO              MIAMI                     FL
96834   5N1AZ2BJ1LN105032   Nissan       MURANO              AUSTIN                    TX
96835   5N1AZ2BJ1LN105144   Nissan       MURANO              ATLANTA                   GA
96836   5N1AZ2BJ1LN105158   Nissan       MURANO              MIAMI                     FL
96837   5N1AZ2BJ1LN105161   Nissan       MURANO              SHREVEPORT                LA
96838   5N1AZ2BJ1LN105175   Nissan       MURANO              ORLANDO                   FL
96839   5N1AZ2BJ1LN105192   Nissan       MURANO              KNOXVILLE                 TN
96840   5N1AZ2BJ1LN105208   Nissan       MURANO              CHARLOTTE                 NC
96841   5N1AZ2BJ1LN105323   Nissan       MURANO              FORT MYERS                FL
96842   5N1AZ2BJ1LN105354   Nissan       MURANO              Dallas                    TX
96843   5N1AZ2BJ1LN105435   Nissan       MURANO              DALLAS                    TX
96844   5N1AZ2BJ1LN105516   Nissan       MURANO              DALLAS                    TX
96845   5N1AZ2BJ1LN105628   Nissan       MURANO              MIAMI                     FL
96846   5N1AZ2BJ1LN105645   Nissan       MURANO              HOUSTON                   TX
96847   5N1AZ2BJ1LN105662   Nissan       MURANO              SARASOTA                  FL
96848   5N1AZ2BJ1LN105709   Nissan       MURANO              NASHVILLE                 TN
96849   5N1AZ2BJ1LN105712   Nissan       MURANO              Irving                    TX
96850   5N1AZ2BJ1LN105726   Nissan       MURANO              MEMPHIS                   TN
96851   5N1AZ2BJ1LN105757   Nissan       MURANO              Atlanta                   GA
96852   5N1AZ2BJ1LN105760   Nissan       MURANO              HOUSTON                   TX
96853   5N1AZ2BJ1LN105774   Nissan       MURANO              Atlanta                   GA
96854   5N1AZ2BJ1LN105791   Nissan       MURANO              TAMPA                     FL
96855   5N1AZ2BJ1LN105810   Nissan       MURANO              LUBBOCK                   TX
96856   5N1AZ2BJ1LN105886   Nissan       MURANO              WEST PALM BEACH           FL
96857   5N1AZ2BJ1LN105919   Nissan       MURANO              HOUSTON                   TX
96858   5N1AZ2BJ1LN105936   Nissan       MURANO              HOLLY HILL                FL
96859   5N1AZ2BJ1LN105970   Nissan       MURANO              HOUSTON                   TX
96860   5N1AZ2BJ1LN105984   Nissan       MURANO              DALLAS                    TX
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96861   5N1AZ2BJ1LN105998   Nissan       MURANO              SAN ANTONIO               TX
96862   5N1AZ2BJ1LN106052   Nissan       MURANO              WEST PALM BEACH           FL
96863   5N1AZ2BJ1LN106116   Nissan       MURANO              HOUSTON                   TX
96864   5N1AZ2BJ1LN106231   Nissan       MURANO              OKLAHOMA CITY             OK
96865   5N1AZ2BJ1LN106293   Nissan       MURANO              BIRMINGHAM                AL
96866   5N1AZ2BJ1LN106312   Nissan       MURANO              Dallas                    TX
96867   5N1AZ2BJ1LN106326   Nissan       MURANO              HOUSTON                   TX
96868   5N1AZ2BJ1LN106360   Nissan       MURANO              DALLAS                    TX
96869   5N1AZ2BJ1LN106391   Nissan       MURANO              ORLANDO                   FL
96870   5N1AZ2BJ1LN106486   Nissan       MURANO              MIAMI                     FL
96871   5N1AZ2BJ1LN106505   Nissan       MURANO              CHARLOTTE                 NC
96872   5N1AZ2BJ1LN106536   Nissan       MURANO              CHICAGO                   IL
96873   5N1AZ2BJ1LN106584   Nissan       MURANO              SAN ANTONIO               TX
96874   5N1AZ2BJ1LN106598   Nissan       MURANO              SAN ANTONIO               TX
96875   5N1AZ2BJ1LN106617   Nissan       MURANO              MIAMI                     FL
96876   5N1AZ2BJ1LN106648   Nissan       MURANO              HOUSTON                   TX
96877   5N1AZ2BJ1LN106651   Nissan       MURANO              ORLANDO                   FL
96878   5N1AZ2BJ1LN106679   Nissan       MURANO              KANSAS CITY               MO
96879   5N1AZ2BJ1LN106732   Nissan       MURANO              LUBBOCK                   TX
96880   5N1AZ2BJ1LN106777   Nissan       MURANO              PHOENIX                   AZ
96881   5N1AZ2BJ1LN106844   Nissan       MURANO              SHREVEPORT                LA
96882   5N1AZ2BJ1LN106889   Nissan       MURANO              TUCSON                    AZ
96883   5N1AZ2BJ1LN106892   Nissan       MURANO              ORLANDO                   FL
96884   5N1AZ2BJ1LN106939   Nissan       MURANO              COLLEGE PARK              GA
96885   5N1AZ2BJ1LN107430   Nissan       MURANO              TAMPA                     FL
96886   5N1AZ2BJ1LN121246   Nissan       MURANO              LOS ANGELES               CA
96887   5N1AZ2BJ1LN121442   Nissan       MURANO              SAN DIEGO                 CA
96888   5N1AZ2BJ1LN121571   Nissan       MURANO              SAN DIEGO                 CA
96889   5N1AZ2BJ1LN121585   Nissan       MURANO              DALLAS                    TX
96890   5N1AZ2BJ1LN121862   Nissan       MURANO              FRESNO                    CA
96891   5N1AZ2BJ1LN121943   Nissan       MURANO              ORANGE COUNTY             CA
96892   5N1AZ2BJ1LN122199   Nissan       MURANO              FRESNO                    CA
96893   5N1AZ2BJ1LN122218   Nissan       MURANO              LOS ANGELES               CA
96894   5N1AZ2BJ1LN122378   Nissan       MURANO              SAN DIEGO                 CA
96895   5N1AZ2BJ1LN122607   Nissan       MURANO              LAS VEGAS                 NV
96896   5N1AZ2BJ1LN128391   Nissan       MURANO              ORLANDO                   FL
96897   5N1AZ2BJ1LN128567   Nissan       MURANO              ORLANDO                   FL
96898   5N1AZ2BJ1LN128584   Nissan       MURANO              PENSACOLA                 FL
96899   5N1AZ2BJ1LN128892   Nissan       MURANO              TAMPA                     FL
96900   5N1AZ2BJ1LN129864   Nissan       MURANO              SARASOTA                  FL
96901   5N1AZ2BJ1LN130142   Nissan       MURANO              TAMPA                     FL
96902   5N1AZ2BJ1LN130528   Nissan       MURANO              ONTARIO                   CA
96903   5N1AZ2BJ1LN131615   Nissan       MURANO              ORLANDO                   FL
96904   5N1AZ2BJ1LN131730   Nissan       MURANO              LOS ANGELES AP            CA
96905   5N1AZ2BJ1LN132747   Nissan       MURANO              DENVER                    CO
96906   5N1AZ2BJ1LN132988   Nissan       MURANO              LAS VEGAS                 NV
96907   5N1AZ2BJ1LN134837   Nissan       MURANO              ORLANDO                   FL
96908   5N1AZ2BJ1LN135793   Nissan       MURANO              TAMPA                     FL
96909   5N1AZ2BJ1LN135955   Nissan       MURANO              TAMPA                     FL
96910   5N1AZ2BJ1LN135986   Nissan       MURANO              KNOXVILLE                 TN
96911   5N1AZ2BJ1LN136006   Nissan       MURANO              ORLANDO                   FL
96912   5N1AZ2BJ1LN136071   Nissan       MURANO              BOSTON                    MA
96913   5N1AZ2BJ1LN136183   Nissan       MURANO              KNOXVILLE                 TN
96914   5N1AZ2BJ1LN136698   Nissan       MURANO              HOUSTON                   TX
96915   5N1AZ2BJ1LN136765   Nissan       MURANO              CLEVELAND                 OH
96916   5N1AZ2BJ1LN137625   Nissan       MURANO              HOUSTON                   TX
96917   5N1AZ2BJ1LN137656   Nissan       MURANO              FORT MYERS                FL
96918   5N1AZ2BJ1LN138712   Nissan       MURANO              MIAMI                     FL
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96919   5N1AZ2BJ1LN138807   Nissan       MURANO              SAN ANTONIO               TX
96920   5N1AZ2BJ1LN138824   Nissan       MURANO              HOUSTON                   TX
96921   5N1AZ2BJ1LN139259   Nissan       MURANO              SAVANNAH                  GA
96922   5N1AZ2BJ1LN139309   Nissan       MURANO              Atlanta                   GA
96923   5N1AZ2BJ1LN140136   Nissan       MURANO              HOUSTON                   TX
96924   5N1AZ2BJ1LN140153   Nissan       MURANO              LEXINGTON                 KY
96925   5N1AZ2BJ1LN140170   Nissan       MURANO              HOUSTON                   TX
96926   5N1AZ2BJ1LN140458   Nissan       MURANO              HOUSTON                   TX
96927   5N1AZ2BJ1LN140475   Nissan       MURANO              FORT MYERS                FL
96928   5N1AZ2BJ1LN140573   Nissan       MURANO              HOUSTON                   TX
96929   5N1AZ2BJ1LN140637   Nissan       MURANO              HOUSTON                   TX
96930   5N1AZ2BJ1LN143618   Nissan       MURANO              Dallas                    TX
96931   5N1AZ2BJ1LN144297   Nissan       MURANO              Los Angeles               CA
96932   5N1AZ2BJ1LN144302   Nissan       MURANO              DALLAS                    TX
96933   5N1AZ2BJ1LN144560   Nissan       MURANO              SAN ANTONIO               TX
96934   5N1AZ2BJ1LN144607   Nissan       MURANO              SAN ANTONIO               TX
96935   5N1AZ2BJ1LN144820   Nissan       MURANO              MEMPHIS                   TN
96936   5N1AZ2BJ1LN144834   Nissan       MURANO              INDIANAPOLIS              IN
96937   5N1AZ2BJ1LN144848   Nissan       MURANO              ATLANTA                   GA
96938   5N1AZ2BJ1LN145014   Nissan       MURANO              DALLAS                    TX
96939   5N1AZ2BJ1LN145076   Nissan       MURANO              BURBANK                   CA
96940   5N1AZ2BJ1LN145126   Nissan       MURANO              SAN ANTONIO               TX
96941   5N1AZ2BJ1LN145305   Nissan       MURANO              SANTA ANA                 CA
96942   5N1AZ2BJ1LN145322   Nissan       MURANO              KNOXVILLE                 TN
96943   5N1AZ2BJ1LN145384   Nissan       MURANO              LOS ANGELES               CA
96944   5N1AZ2BJ1LN145840   Nissan       MURANO              SAN ANTONIO               TX
96945   5N1AZ2BJ1LN145952   Nissan       MURANO              Irving                    TX
96946   5N1AZ2BJ1LN146065   Nissan       MURANO              KNOXVILLE                 TN
96947   5N1AZ2BJ1LN146289   Nissan       MURANO              BURBANK                   CA
96948   5N1AZ2BJ1LN146292   Nissan       MURANO              SANTA ANA                 CA
96949   5N1AZ2BJ1LN146308   Nissan       MURANO              LAS VEGAS                 NV
96950   5N1AZ2BJ1LN146325   Nissan       MURANO              ATLANTA                   GA
96951   5N1AZ2BJ1LN146549   Nissan       MURANO              SANTA ANA                 CA
96952   5N1AZ2BJ1LN146700   Nissan       MURANO              DALLAS                    TX
96953   5N1AZ2BJ1LN147197   Nissan       MURANO              LOS ANGELES               CA
96954   5N1AZ2BJ1LN147216   Nissan       MURANO              BURBANK                   CA
96955   5N1AZ2BJ1LN147278   Nissan       MURANO              SANTA ANA                 CA
96956   5N1AZ2BJ1LN147295   Nissan       MURANO              SANTA ANA                 CA
96957   5N1AZ2BJ1LN147328   Nissan       MURANO              ATLANTA                   GA
96958   5N1AZ2BJ1LN147474   Nissan       MURANO              DALLAS                    TX
96959   5N1AZ2BJ1LN147829   Nissan       MURANO              Dallas                    TX
96960   5N1AZ2BJ1LN147863   Nissan       MURANO              Dallas                    TX
96961   5N1AZ2BJ1LN148575   Nissan       MURANO              Dallas                    TX
96962   5N1AZ2BJ1LN148818   Nissan       MURANO              SANTA ANA                 CA
96963   5N1AZ2BJ1LN149578   Nissan       MURANO              ATLANTA                   GA
96964   5N1AZ2BJ1LN149581   Nissan       MURANO              SAN ANTONIO               TX
96965   5N1AZ2BJ1LN149709   Nissan       MURANO              SAN ANTONIO               TX
96966   5N1AZ2BJ1LN149726   Nissan       MURANO              ATLANTA                   GA
96967   5N1AZ2BJ1LN149743   Nissan       MURANO              SAN ANTONIO               TX
96968   5N1AZ2BJ1LN149919   Nissan       MURANO              SAN ANTONIO               TX
96969   5N1AZ2BJ1LN150049   Nissan       MURANO              SAN ANTONIO               TX
96970   5N1AZ2BJ1LN150102   Nissan       MURANO              Dallas                    TX
96971   5N1AZ2BJ1LN150147   Nissan       MURANO              BURBANK                   CA
96972   5N1AZ2BJ2LN100082   Nissan       MURANO              ALBANY                    NY
96973   5N1AZ2BJ2LN100101   Nissan       MURANO              Greensboro                NC
96974   5N1AZ2BJ2LN100129   Nissan       MURANO              ATLANTA                   GA
96975   5N1AZ2BJ2LN100230   Nissan       MURANO              Clearwater                FL
96976   5N1AZ2BJ2LN100292   Nissan       MURANO              ORLANDO                   FL
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96977   5N1AZ2BJ2LN100387   Nissan       MURANO              TAMPA                     FL
96978   5N1AZ2BJ2LN100468   Nissan       MURANO              HOUSTON                   TX
96979   5N1AZ2BJ2LN100518   Nissan       MURANO              DALLAS                    TX
96980   5N1AZ2BJ2LN100650   Nissan       MURANO              JACKSONVILLE              FL
96981   5N1AZ2BJ2LN100678   Nissan       MURANO              TAMPA                     FL
96982   5N1AZ2BJ2LN100700   Nissan       MURANO              WEST PALM BEACH           FL
96983   5N1AZ2BJ2LN100776   Nissan       MURANO              Atlanta                   GA
96984   5N1AZ2BJ2LN100843   Nissan       MURANO              FORT LAUDERDALE           FL
96985   5N1AZ2BJ2LN100874   Nissan       MURANO              MIAMI                     FL
96986   5N1AZ2BJ2LN100891   Nissan       MURANO              FORT LAUDERDALE           FL
96987   5N1AZ2BJ2LN100907   Nissan       MURANO              MIAMI                     FL
96988   5N1AZ2BJ2LN100955   Nissan       MURANO              WEST PALM BEACH           FL
96989   5N1AZ2BJ2LN100972   Nissan       MURANO              FORT MYERS                FL
96990   5N1AZ2BJ2LN101023   Nissan       MURANO              BOSTON                    MA
96991   5N1AZ2BJ2LN101085   Nissan       MURANO              FORT LAUDERDALE           FL
96992   5N1AZ2BJ2LN101118   Nissan       MURANO              FORT LAUDERDALE           FL
96993   5N1AZ2BJ2LN101197   Nissan       MURANO              Atlanta                   GA
96994   5N1AZ2BJ2LN101216   Nissan       MURANO              BIRMINGHAM                AL
96995   5N1AZ2BJ2LN101314   Nissan       MURANO              Orlando                   FL
96996   5N1AZ2BJ2LN101328   Nissan       MURANO              ORLANDO                   FL
96997   5N1AZ2BJ2LN101345   Nissan       MURANO              FORT LAUDERDALE           FL
96998   5N1AZ2BJ2LN101359   Nissan       MURANO              PHILADELPHIA              PA
96999   5N1AZ2BJ2LN101362   Nissan       MURANO              FORT LAUDERDALE           FL
97000   5N1AZ2BJ2LN101376   Nissan       MURANO              TAMPA                     FL
97001   5N1AZ2BJ2LN101524   Nissan       MURANO              KEY WEST                  FL
97002   5N1AZ2BJ2LN101541   Nissan       MURANO              ORLANDO                   FL
97003   5N1AZ2BJ2LN101572   Nissan       MURANO              TAMPA                     FL
97004   5N1AZ2BJ2LN101622   Nissan       MURANO              WEST PALM BEACH           FL
97005   5N1AZ2BJ2LN101684   Nissan       MURANO              HOUSTON                   TX
97006   5N1AZ2BJ2LN101698   Nissan       MURANO              FORT MYERS                FL
97007   5N1AZ2BJ2LN101720   Nissan       MURANO              Ocoee                     FL
97008   5N1AZ2BJ2LN101734   Nissan       MURANO              Miami                     FL
97009   5N1AZ2BJ2LN101765   Nissan       MURANO              TUCSON                    AZ
97010   5N1AZ2BJ2LN101779   Nissan       MURANO              OMAHA                     NE
97011   5N1AZ2BJ2LN101944   Nissan       MURANO              LAS VEGAS                 NV
97012   5N1AZ2BJ2LN101989   Nissan       MURANO              PHOENIX                   AZ
97013   5N1AZ2BJ2LN102043   Nissan       MURANO              PHOENIX                   AZ
97014   5N1AZ2BJ2LN102320   Nissan       MURANO              LOS ANGELES               CA
97015   5N1AZ2BJ2LN102365   Nissan       MURANO              Hapeville                 GA
97016   5N1AZ2BJ2LN102379   Nissan       MURANO              KANSAS CITY               MO
97017   5N1AZ2BJ2LN102608   Nissan       MURANO              FORT MYERS                FL
97018   5N1AZ2BJ2LN102866   Nissan       MURANO              HOUSTON                   TX
97019   5N1AZ2BJ2LN102902   Nissan       MURANO              ATLANTA                   GA
97020   5N1AZ2BJ2LN103015   Nissan       MURANO              MIAMI                     FL
97021   5N1AZ2BJ2LN103306   Nissan       MURANO              SAN ANTONIO               TX
97022   5N1AZ2BJ2LN103354   Nissan       MURANO              SARASOTA                  FL
97023   5N1AZ2BJ2LN103371   Nissan       MURANO              DALLAS                    TX
97024   5N1AZ2BJ2LN103449   Nissan       MURANO              FORT MYERS                FL
97025   5N1AZ2BJ2LN103581   Nissan       MURANO              ORLANDO                   FL
97026   5N1AZ2BJ2LN103600   Nissan       MURANO              ORLANDO                   FL
97027   5N1AZ2BJ2LN103662   Nissan       MURANO              WEST PALM BEACH           FL
97028   5N1AZ2BJ2LN103788   Nissan       MURANO              MIAMI                     FL
97029   5N1AZ2BJ2LN103807   Nissan       MURANO              MOBILE                    A
97030   5N1AZ2BJ2LN103841   Nissan       MURANO              FORT MYERS                FL
97031   5N1AZ2BJ2LN103855   Nissan       MURANO              SAN ANTONIO               TX
97032   5N1AZ2BJ2LN104018   Nissan       MURANO              Dallas                    TX
97033   5N1AZ2BJ2LN104083   Nissan       MURANO              WHITE PLAINS              NY
97034   5N1AZ2BJ2LN104102   Nissan       MURANO              HOUSTON                   TX
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97035   5N1AZ2BJ2LN104116   Nissan       MURANO              RICHMOND                  VA
97036   5N1AZ2BJ2LN104164   Nissan       MURANO              DALLAS                    TX
97037   5N1AZ2BJ2LN104181   Nissan       MURANO              ORLANDO                   FL
97038   5N1AZ2BJ2LN104424   Nissan       MURANO              HOUSTON                   TX
97039   5N1AZ2BJ2LN104438   Nissan       MURANO              TULSA                     OK
97040   5N1AZ2BJ2LN104469   Nissan       MURANO              ORLANDO                   FL
97041   5N1AZ2BJ2LN104567   Nissan       MURANO              TAMPA                     US
97042   5N1AZ2BJ2LN104696   Nissan       MURANO              BIRMINGHAM                AL
97043   5N1AZ2BJ2LN104701   Nissan       MURANO              Rock Hill                 SC
97044   5N1AZ2BJ2LN104763   Nissan       MURANO              FORT LAUDERDALE           FL
97045   5N1AZ2BJ2LN104780   Nissan       MURANO              AUSTIN                    TX
97046   5N1AZ2BJ2LN104794   Nissan       MURANO              TAMPA                     FL
97047   5N1AZ2BJ2LN104813   Nissan       MURANO              CHARLOTTE                 NC
97048   5N1AZ2BJ2LN104827   Nissan       MURANO              LOS ANGELES               CA
97049   5N1AZ2BJ2LN104830   Nissan       MURANO              FORT MYERS                FL
97050   5N1AZ2BJ2LN104911   Nissan       MURANO              PHILADELPHIA              PA
97051   5N1AZ2BJ2LN104942   Nissan       MURANO              Atlanta                   GA
97052   5N1AZ2BJ2LN104990   Nissan       MURANO              AUSTIN                    TX
97053   5N1AZ2BJ2LN105007   Nissan       MURANO              Atlanta                   GA
97054   5N1AZ2BJ2LN105055   Nissan       MURANO              KNOXVILLE                 TN
97055   5N1AZ2BJ2LN105105   Nissan       MURANO              ORLANDO                   FL
97056   5N1AZ2BJ2LN105119   Nissan       MURANO              ALBUQERQUE                NM
97057   5N1AZ2BJ2LN105136   Nissan       MURANO              MYRTLE BEACH              SC
97058   5N1AZ2BJ2LN105251   Nissan       MURANO              Atlanta                   GA
97059   5N1AZ2BJ2LN105296   Nissan       MURANO              Atlanta                   GA
97060   5N1AZ2BJ2LN105315   Nissan       MURANO              ATLANTA                   GA
97061   5N1AZ2BJ2LN105329   Nissan       MURANO              GRAND RAPIDS              MI
97062   5N1AZ2BJ2LN105332   Nissan       MURANO              PHOENIX                   AZ
97063   5N1AZ2BJ2LN105380   Nissan       MURANO              DALLAS                    TX
97064   5N1AZ2BJ2LN105475   Nissan       MURANO              HOUSTON                   TX
97065   5N1AZ2BJ2LN105539   Nissan       MURANO              WINTER PARK               FL
97066   5N1AZ2BJ2LN105556   Nissan       MURANO              ORLANDO                   FL
97067   5N1AZ2BJ2LN105573   Nissan       MURANO              ATLANTA                   GA
97068   5N1AZ2BJ2LN105623   Nissan       MURANO              BIRMINGHAN                AL
97069   5N1AZ2BJ2LN105654   Nissan       MURANO              JACKSON                   MS
97070   5N1AZ2BJ2LN105685   Nissan       MURANO              ALBANY                    NY
97071   5N1AZ2BJ2LN105704   Nissan       MURANO              HOUSTON                   TX
97072   5N1AZ2BJ2LN105752   Nissan       MURANO              ORLANDO                   FL
97073   5N1AZ2BJ2LN105833   Nissan       MURANO              HOUSTON                   TX
97074   5N1AZ2BJ2LN105847   Nissan       MURANO              SHREVEPORT                LA
97075   5N1AZ2BJ2LN105900   Nissan       MURANO              RALIEGH                   NC
97076   5N1AZ2BJ2LN105959   Nissan       MURANO              PHOENIX                   AZ
97077   5N1AZ2BJ2LN105993   Nissan       MURANO              PHOENIX                   AZ
97078   5N1AZ2BJ2LN106030   Nissan       MURANO              MIAMI                     FL
97079   5N1AZ2BJ2LN106058   Nissan       MURANO              LAS VEGAS                 NV
97080   5N1AZ2BJ2LN106089   Nissan       MURANO              SAVANNAH                  GA
97081   5N1AZ2BJ2LN106108   Nissan       MURANO              Pompano Beach             FL
97082   5N1AZ2BJ2LN106173   Nissan       MURANO              KENNER                    LA
97083   5N1AZ2BJ2LN106240   Nissan       MURANO              OKLAHOMA CITY             OK
97084   5N1AZ2BJ2LN106254   Nissan       MURANO              TUCSON                    AZ
97085   5N1AZ2BJ2LN106318   Nissan       MURANO              Dallas                    TX
97086   5N1AZ2BJ2LN106321   Nissan       MURANO              AUSTIN                    TX
97087   5N1AZ2BJ2LN106366   Nissan       MURANO              LOS ANGELES               CA
97088   5N1AZ2BJ2LN106383   Nissan       MURANO              ATLANTA                   GA
97089   5N1AZ2BJ2LN106397   Nissan       MURANO              MIAMI                     FL
97090   5N1AZ2BJ2LN106402   Nissan       MURANO              FORT MYERS                FL
97091   5N1AZ2BJ2LN106464   Nissan       MURANO              HOUSTON                   TX
97092   5N1AZ2BJ2LN106478   Nissan       MURANO              KNOXVILLE                 TN
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97093   5N1AZ2BJ2LN106500   Nissan       MURANO              OKLAHOMA CITY             OK
97094   5N1AZ2BJ2LN106531   Nissan       MURANO              AUSTIN                    TX
97095   5N1AZ2BJ2LN106562   Nissan       MURANO              DALLAS                    TX
97096   5N1AZ2BJ2LN106626   Nissan       MURANO              AUSTIN                    TX
97097   5N1AZ2BJ2LN106738   Nissan       MURANO              LOS ANGELES               CA
97098   5N1AZ2BJ2LN106772   Nissan       MURANO              SANTA ANA                 CA
97099   5N1AZ2BJ2LN106786   Nissan       MURANO              HOUSTON                   TX
97100   5N1AZ2BJ2LN106819   Nissan       MURANO              Miami                     FL
97101   5N1AZ2BJ2LN106822   Nissan       MURANO              HOUSTON                   TX
97102   5N1AZ2BJ2LN106853   Nissan       MURANO              LAS VEGAS                 NV
97103   5N1AZ2BJ2LN106884   Nissan       MURANO              BURBANK                   CA
97104   5N1AZ2BJ2LN106951   Nissan       MURANO              SAN DIEGO                 CA
97105   5N1AZ2BJ2LN106979   Nissan       MURANO              MIAMI                     FL
97106   5N1AZ2BJ2LN106996   Nissan       MURANO              MEMPHIS                   TN
97107   5N1AZ2BJ2LN107016   Nissan       MURANO              AUGUSTA                   GA
97108   5N1AZ2BJ2LN107100   Nissan       MURANO              HOUSTON                   TX
97109   5N1AZ2BJ2LN107291   Nissan       MURANO              TAMPA                     FL
97110   5N1AZ2BJ2LN121269   Nissan       MURANO              SAN DIEGO                 CA
97111   5N1AZ2BJ2LN121529   Nissan       MURANO              LAS VEGAS                 NV
97112   5N1AZ2BJ2LN121594   Nissan       MURANO              ONTARIO                   CA
97113   5N1AZ2BJ2LN121613   Nissan       MURANO              PHOENIX                   AZ
97114   5N1AZ2BJ2LN121868   Nissan       MURANO              ONTARIO                   CA
97115   5N1AZ2BJ2LN122227   Nissan       MURANO              LAS VEGAS                 NV
97116   5N1AZ2BJ2LN122261   Nissan       MURANO              SAN DIEGO                 CA
97117   5N1AZ2BJ2LN122339   Nissan       MURANO              LOS ANGELES AP            CA
97118   5N1AZ2BJ2LN122874   Nissan       MURANO              LOS ANGELES               CA
97119   5N1AZ2BJ2LN123006   Nissan       MURANO              BURBANK                   CA
97120   5N1AZ2BJ2LN123488   Nissan       MURANO              PORTLAND                  OR
97121   5N1AZ2BJ2LN128495   Nissan       MURANO              ORLANDO                   FL
97122   5N1AZ2BJ2LN128514   Nissan       MURANO              JACKSONVILLE              FL
97123   5N1AZ2BJ2LN128819   Nissan       MURANO              FORT LAUDERDALE           FL
97124   5N1AZ2BJ2LN129100   Nissan       MURANO              ATLANTA                   GA
97125   5N1AZ2BJ2LN129565   Nissan       MURANO              TAMPA                     FL
97126   5N1AZ2BJ2LN129646   Nissan       MURANO              ORLANDO                   FL
97127   5N1AZ2BJ2LN129677   Nissan       MURANO              FORT MYERS                FL
97128   5N1AZ2BJ2LN129937   Nissan       MURANO              ORLANDO                   FL
97129   5N1AZ2BJ2LN130036   Nissan       MURANO              PALM SPRINGS              CA
97130   5N1AZ2BJ2LN130490   Nissan       MURANO              MIAMI                     FL
97131   5N1AZ2BJ2LN134765   Nissan       MURANO              WEST PALM BEACH           FL
97132   5N1AZ2BJ2LN134880   Nissan       MURANO              BURBANK                   CA
97133   5N1AZ2BJ2LN135219   Nissan       MURANO              KNOXVILLE                 TN
97134   5N1AZ2BJ2LN135270   Nissan       MURANO              MEMPHIS                   TN
97135   5N1AZ2BJ2LN135804   Nissan       MURANO              FORT MYERS                FL
97136   5N1AZ2BJ2LN136046   Nissan       MURANO              SAVANNAH                  GA
97137   5N1AZ2BJ2LN136189   Nissan       MURANO              MIAMI                     FL
97138   5N1AZ2BJ2LN136550   Nissan       MURANO              ORLANDO                   FL
97139   5N1AZ2BJ2LN136774   Nissan       MURANO              NASHVILLE                 TN
97140   5N1AZ2BJ2LN137004   Nissan       MURANO              COLLEGE PARK              GA
97141   5N1AZ2BJ2LN137343   Nissan       MURANO              FT. LAUDERDALE            FL
97142   5N1AZ2BJ2LN137407   Nissan       MURANO              DALLAS                    TX
97143   5N1AZ2BJ2LN137715   Nissan       MURANO              JACKSON                   MS
97144   5N1AZ2BJ2LN138699   Nissan       MURANO              MIAMI                     FL
97145   5N1AZ2BJ2LN138833   Nissan       MURANO              LOS ANGELES               CA
97146   5N1AZ2BJ2LN140145   Nissan       MURANO              SAVANNAH                  GA
97147   5N1AZ2BJ2LN140159   Nissan       MURANO              KNOXVILLE                 TN
97148   5N1AZ2BJ2LN140162   Nissan       MURANO              KNOXVILLE                 TN
97149   5N1AZ2BJ2LN140291   Nissan       MURANO              HOUSTON                   TX
97150   5N1AZ2BJ2LN140548   Nissan       MURANO              LEXINGTON                 KY
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97151   5N1AZ2BJ2LN140680   Nissan       MURANO              COLLEGE PARK              GA
97152   5N1AZ2BJ2LN140730   Nissan       MURANO              Atlanta                   GA
97153   5N1AZ2BJ2LN142672   Nissan       MURANO              KENNER                    LA
97154   5N1AZ2BJ2LN144373   Nissan       MURANO              DALLAS                    TX
97155   5N1AZ2BJ2LN144440   Nissan       MURANO              DALLAS                    TX
97156   5N1AZ2BJ2LN144549   Nissan       MURANO              SAN ANTONIO               TX
97157   5N1AZ2BJ2LN144583   Nissan       MURANO              SAN ANTONIO               TX
97158   5N1AZ2BJ2LN144616   Nissan       MURANO              LAS VEGAS                 NV
97159   5N1AZ2BJ2LN144843   Nissan       MURANO              ALBUQERQUE                NM
97160   5N1AZ2BJ2LN144860   Nissan       MURANO              ATLANTA                   GA
97161   5N1AZ2BJ2LN144907   Nissan       MURANO              ATLANTA                   GA
97162   5N1AZ2BJ2LN145054   Nissan       MURANO              MEMPHIS                   TN
97163   5N1AZ2BJ2LN145104   Nissan       MURANO              Irving                    TX
97164   5N1AZ2BJ2LN145135   Nissan       MURANO              LAS VEGAS                 NV
97165   5N1AZ2BJ2LN145197   Nissan       MURANO              UNION CITY                GA
97166   5N1AZ2BJ2LN145202   Nissan       MURANO              LOS ANGELES               CA
97167   5N1AZ2BJ2LN145233   Nissan       MURANO              KANSAS CITY               MO
97168   5N1AZ2BJ2LN145250   Nissan       MURANO              SAN ANTONIO               TX
97169   5N1AZ2BJ2LN145264   Nissan       MURANO              BURBANK                   CA
97170   5N1AZ2BJ2LN145281   Nissan       MURANO              LOS ANGELES               CA
97171   5N1AZ2BJ2LN145314   Nissan       MURANO              BURBANK                   CA
97172   5N1AZ2BJ2LN145328   Nissan       MURANO              BURBANK                   CA
97173   5N1AZ2BJ2LN145331   Nissan       MURANO              JACKSONVILLE              FL
97174   5N1AZ2BJ2LN145359   Nissan       MURANO              MEMPHIS                   TN
97175   5N1AZ2BJ2LN145376   Nissan       MURANO              ATLANTA                   GA
97176   5N1AZ2BJ2LN145460   Nissan       MURANO              MEMPHIS                   TN
97177   5N1AZ2BJ2LN145801   Nissan       MURANO              DALLAS                    TX
97178   5N1AZ2BJ2LN145832   Nissan       MURANO              SAN ANTONIO               TX
97179   5N1AZ2BJ2LN145927   Nissan       MURANO              MIDLAND                   TX
97180   5N1AZ2BJ2LN145958   Nissan       MURANO              DALLAS                    TX
97181   5N1AZ2BJ2LN145975   Nissan       MURANO              COLLEGE PARK              GA
97182   5N1AZ2BJ2LN145992   Nissan       MURANO              Irving                    TX
97183   5N1AZ2BJ2LN146124   Nissan       MURANO              Irving                    TX
97184   5N1AZ2BJ2LN146155   Nissan       MURANO              DALLAS                    TX
97185   5N1AZ2BJ2LN146267   Nissan       MURANO              ORLANDO                   FL
97186   5N1AZ2BJ2LN146303   Nissan       MURANO              LAS VEGAS                 NV
97187   5N1AZ2BJ2LN146432   Nissan       MURANO              BURBANK                   CA
97188   5N1AZ2BJ2LN146656   Nissan       MURANO              LOS ANGELES               CA
97189   5N1AZ2BJ2LN146737   Nissan       MURANO              LOS ANGELES               CA
97190   5N1AZ2BJ2LN147824   Nissan       MURANO              Dallas                    TX
97191   5N1AZ2BJ2LN147869   Nissan       MURANO              Dallas                    TX
97192   5N1AZ2BJ2LN148004   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
97193   5N1AZ2BJ2LN148309   Nissan       MURANO              MEMPHIS                   TN
97194   5N1AZ2BJ2LN148357   Nissan       MURANO              ATLANTA                   GA
97195   5N1AZ2BJ2LN148391   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
97196   5N1AZ2BJ2LN148553   Nissan       MURANO              SAN ANTONIO               TX
97197   5N1AZ2BJ2LN148827   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
97198   5N1AZ2BJ2LN149637   Nissan       MURANO              ATLANTA                   GA
97199   5N1AZ2BJ2LN149802   Nissan       MURANO              ATLANTA                   GA
97200   5N1AZ2BJ2LN150108   Nissan       MURANO              DALLAS                    TX
97201   5N1AZ2BJ3LN100074   Nissan       MURANO              ORLANDO                   FL
97202   5N1AZ2BJ3LN100091   Nissan       MURANO              FORT LAUDERDALE           FL
97203   5N1AZ2BJ3LN100107   Nissan       MURANO              KNOXVILLE                 TN
97204   5N1AZ2BJ3LN100110   Nissan       MURANO              FORT MYERS                FL
97205   5N1AZ2BJ3LN100236   Nissan       MURANO              Atlanta                   GA
97206   5N1AZ2BJ3LN100303   Nissan       MURANO              FORT LAUDERDALE           FL
97207   5N1AZ2BJ3LN100317   Nissan       MURANO              AMARILLO                  US
97208   5N1AZ2BJ3LN100334   Nissan       MURANO              Teterboro                 NJ
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97209   5N1AZ2BJ3LN100480   Nissan       MURANO              ATLANTA                   GA
97210   5N1AZ2BJ3LN100494   Nissan       MURANO              HOUSTON                   TX
97211   5N1AZ2BJ3LN100558   Nissan       MURANO              DALLAS                    TX
97212   5N1AZ2BJ3LN100768   Nissan       MURANO              SAINT LOUIS               MO
97213   5N1AZ2BJ3LN100849   Nissan       MURANO              SARASOTA                  FL
97214   5N1AZ2BJ3LN100866   Nissan       MURANO              FORT MYERS                FL
97215   5N1AZ2BJ3LN100950   Nissan       MURANO              WEST PALM BEACH           FL
97216   5N1AZ2BJ3LN101015   Nissan       MURANO              PENSACOLA                 FL
97217   5N1AZ2BJ3LN101077   Nissan       MURANO              DALLAS                    TX
97218   5N1AZ2BJ3LN101127   Nissan       MURANO              SAVANNAH                  GA
97219   5N1AZ2BJ3LN101130   Nissan       MURANO              ORLANDO                   FL
97220   5N1AZ2BJ3LN101208   Nissan       MURANO              HOUSTON                   TX
97221   5N1AZ2BJ3LN101211   Nissan       MURANO              DALLAS                    TX
97222   5N1AZ2BJ3LN101225   Nissan       MURANO              AUSTIN                    TX
97223   5N1AZ2BJ3LN101242   Nissan       MURANO              FORT MYERS                FL
97224   5N1AZ2BJ3LN101306   Nissan       MURANO              TUCSON                    AZ
97225   5N1AZ2BJ3LN101368   Nissan       MURANO              JACKSONVILLE              FL
97226   5N1AZ2BJ3LN101385   Nissan       MURANO              OKLAHOMA CITY             OK
97227   5N1AZ2BJ3LN101547   Nissan       MURANO              SAN ANTONIO               TX
97228   5N1AZ2BJ3LN101564   Nissan       MURANO              JACKSONVILLE              FL
97229   5N1AZ2BJ3LN101578   Nissan       MURANO              PHOENIX                   AZ
97230   5N1AZ2BJ3LN101595   Nissan       MURANO              CHICAGO                   IL
97231   5N1AZ2BJ3LN101662   Nissan       MURANO              WEST PALM BEACH           FL
97232   5N1AZ2BJ3LN101709   Nissan       MURANO              JACKSON                   MS
97233   5N1AZ2BJ3LN101872   Nissan       MURANO              KNOXVILLE                 TN
97234   5N1AZ2BJ3LN101886   Nissan       MURANO              PHOENIX                   AZ
97235   5N1AZ2BJ3LN102147   Nissan       MURANO              MEMPHIS                   TN
97236   5N1AZ2BJ3LN102360   Nissan       MURANO              TAMPA                     FL
97237   5N1AZ2BJ3LN102410   Nissan       MURANO              DALLAS                    TX
97238   5N1AZ2BJ3LN102584   Nissan       MURANO              OKLAHOMA CITY             OK
97239   5N1AZ2BJ3LN102763   Nissan       MURANO              FORT LAUDERDALE           FL
97240   5N1AZ2BJ3LN102813   Nissan       MURANO              STERLING                  VA
97241   5N1AZ2BJ3LN102875   Nissan       MURANO              TAMPA                     FL
97242   5N1AZ2BJ3LN102990   Nissan       MURANO              OKLAHOMA CITY             OK
97243   5N1AZ2BJ3LN103038   Nissan       MURANO              SARASOTA                  FL
97244   5N1AZ2BJ3LN103251   Nissan       MURANO              HOUSTON                   TX
97245   5N1AZ2BJ3LN103265   Nissan       MURANO              ALBUQERQUE                NM
97246   5N1AZ2BJ3LN103296   Nissan       MURANO              MEMPHIS                   TN
97247   5N1AZ2BJ3LN103573   Nissan       MURANO              ORLANDO                   FL
97248   5N1AZ2BJ3LN103587   Nissan       MURANO              TAMPA                     FL
97249   5N1AZ2BJ3LN103704   Nissan       MURANO              PENSACOLA                 FL
97250   5N1AZ2BJ3LN103802   Nissan       MURANO              FORT LAUDERDALE           FL
97251   5N1AZ2BJ3LN103900   Nissan       MURANO              HOUSTON                   TX
97252   5N1AZ2BJ3LN103914   Nissan       MURANO              HOUSTON                   TX
97253   5N1AZ2BJ3LN103928   Nissan       MURANO              DALLAS                    TX
97254   5N1AZ2BJ3LN103959   Nissan       MURANO              NEW BERN                  NC
97255   5N1AZ2BJ3LN104027   Nissan       MURANO              HARTFORD                  CT
97256   5N1AZ2BJ3LN104058   Nissan       MURANO              NEW ORLEANS               LA
97257   5N1AZ2BJ3LN104254   Nissan       MURANO              Orlando                   FL
97258   5N1AZ2BJ3LN104271   Nissan       MURANO              DALLAS                    TX
97259   5N1AZ2BJ3LN104335   Nissan       MURANO              SAN ANTONIO               TX
97260   5N1AZ2BJ3LN104349   Nissan       MURANO              JACKSON                   MS
97261   5N1AZ2BJ3LN104383   Nissan       MURANO              KENNER                    LA
97262   5N1AZ2BJ3LN104447   Nissan       MURANO              ORLANDO                   FL
97263   5N1AZ2BJ3LN104464   Nissan       MURANO              BIRMINGHAM                AL
97264   5N1AZ2BJ3LN104559   Nissan       MURANO              TAMPA                     FL
97265   5N1AZ2BJ3LN104626   Nissan       MURANO              HOUSTON                   TX
97266   5N1AZ2BJ3LN104769   Nissan       MURANO              Houston                   TX
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97267   5N1AZ2BJ3LN104867   Nissan       MURANO              ATLANTA                   GA
97268   5N1AZ2BJ3LN104948   Nissan       MURANO              Atlanta                   GA
97269   5N1AZ2BJ3LN104965   Nissan       MURANO              KNOXVILLE                 TN
97270   5N1AZ2BJ3LN104996   Nissan       MURANO              Atlanta                   GA
97271   5N1AZ2BJ3LN105078   Nissan       MURANO              ATLANTA                   GA
97272   5N1AZ2BJ3LN105095   Nissan       MURANO              CHARLOTTE                 NC
97273   5N1AZ2BJ3LN105100   Nissan       MURANO              KENNER                    LA
97274   5N1AZ2BJ3LN105114   Nissan       MURANO              Parkville                 MD
97275   5N1AZ2BJ3LN105128   Nissan       MURANO              ORLANDO                   FL
97276   5N1AZ2BJ3LN105131   Nissan       MURANO              PHILADELPHIA              PA
97277   5N1AZ2BJ3LN105159   Nissan       MURANO              Atlanta                   GA
97278   5N1AZ2BJ3LN105193   Nissan       MURANO              HOUSTON                   TX
97279   5N1AZ2BJ3LN105419   Nissan       MURANO              HOUSTON                   TX
97280   5N1AZ2BJ3LN105436   Nissan       MURANO              LUBBOCK                   TX
97281   5N1AZ2BJ3LN105484   Nissan       MURANO              BEAUMONT                  TX
97282   5N1AZ2BJ3LN105503   Nissan       MURANO              BURBANK                   CA
97283   5N1AZ2BJ3LN105534   Nissan       MURANO              AUSTIN                    TX
97284   5N1AZ2BJ3LN105565   Nissan       MURANO              KENNER                    LA
97285   5N1AZ2BJ3LN105582   Nissan       MURANO              PENSACOLA                 FL
97286   5N1AZ2BJ3LN105596   Nissan       MURANO              WEST PALM BEACH           FL
97287   5N1AZ2BJ3LN105615   Nissan       MURANO              KNOXVILLE                 TN
97288   5N1AZ2BJ3LN105629   Nissan       MURANO              SAN ANTONIO               TX
97289   5N1AZ2BJ3LN105632   Nissan       MURANO              COLLEGE PARK              GA
97290   5N1AZ2BJ3LN105677   Nissan       MURANO              MIAMI                     FL
97291   5N1AZ2BJ3LN105694   Nissan       MURANO              SAN ANTONIO               TX
97292   5N1AZ2BJ3LN105727   Nissan       MURANO              Irving                    TX
97293   5N1AZ2BJ3LN105789   Nissan       MURANO              Atlanta                   GA
97294   5N1AZ2BJ3LN105808   Nissan       MURANO              ORLANDO                   FL
97295   5N1AZ2BJ3LN105873   Nissan       MURANO              MIDLAND                   TX
97296   5N1AZ2BJ3LN105985   Nissan       MURANO              Atlanta                   GA
97297   5N1AZ2BJ3LN106019   Nissan       MURANO              INDIANAPOLIS              IN
97298   5N1AZ2BJ3LN106022   Nissan       MURANO              DALLAS                    TX
97299   5N1AZ2BJ3LN106053   Nissan       MURANO              SAN ANTONIO               TX
97300   5N1AZ2BJ3LN106084   Nissan       MURANO              MYRTLE BEACH              SC
97301   5N1AZ2BJ3LN106103   Nissan       MURANO              MIAMI                     FL
97302   5N1AZ2BJ3LN106215   Nissan       MURANO              Dallas                    TX
97303   5N1AZ2BJ3LN106277   Nissan       MURANO              KNOXVILLE                 TN
97304   5N1AZ2BJ3LN106280   Nissan       MURANO              Scottsdale                AZ
97305   5N1AZ2BJ3LN106327   Nissan       MURANO              HOUSTON                   TX
97306   5N1AZ2BJ3LN106330   Nissan       MURANO              SAINT LOUIS               MO
97307   5N1AZ2BJ3LN106389   Nissan       MURANO              PHOENIX                   AZ
97308   5N1AZ2BJ3LN106392   Nissan       MURANO              OMAHA                     NE
97309   5N1AZ2BJ3LN106411   Nissan       MURANO              PHOENIX                   AZ
97310   5N1AZ2BJ3LN106425   Nissan       MURANO              DALLAS                    TX
97311   5N1AZ2BJ3LN106439   Nissan       MURANO              HOUSTON                   TX
97312   5N1AZ2BJ3LN106442   Nissan       MURANO              FORT LAUDERDALE           FL
97313   5N1AZ2BJ3LN106487   Nissan       MURANO              HOUSTON                   TX
97314   5N1AZ2BJ3LN106490   Nissan       MURANO              JACKSONVILLE              FL
97315   5N1AZ2BJ3LN106506   Nissan       MURANO              SAINT LOUIS               MO
97316   5N1AZ2BJ3LN106540   Nissan       MURANO              SANTA ANA                 CA
97317   5N1AZ2BJ3LN106568   Nissan       MURANO              Dallas                    TX
97318   5N1AZ2BJ3LN106571   Nissan       MURANO              CORPUS CHRISTI            TX
97319   5N1AZ2BJ3LN106649   Nissan       MURANO              AUSTIN                    TX
97320   5N1AZ2BJ3LN106666   Nissan       MURANO              FORT MYERS                FL
97321   5N1AZ2BJ3LN106683   Nissan       MURANO              ROANOKE                   VA
97322   5N1AZ2BJ3LN106733   Nissan       MURANO              HOUSTON                   TX
97323   5N1AZ2BJ3LN106750   Nissan       MURANO              MONTGOMERY                AL
97324   5N1AZ2BJ3LN106781   Nissan       MURANO              HOUSTON                   TX
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97325   5N1AZ2BJ3LN106795   Nissan       MURANO              HOUSTON                   TX
97326   5N1AZ2BJ3LN106862   Nissan       MURANO              LAS VEGAS                 NV
97327   5N1AZ2BJ3LN106876   Nissan       MURANO              TAMPA                     FL
97328   5N1AZ2BJ3LN107008   Nissan       MURANO              FORT MYERS                FL
97329   5N1AZ2BJ3LN107025   Nissan       MURANO              KNOXVILLE                 TN
97330   5N1AZ2BJ3LN107042   Nissan       MURANO              MEMPHIS                   TN
97331   5N1AZ2BJ3LN107056   Nissan       MURANO              PHOENIX                   AZ
97332   5N1AZ2BJ3LN107073   Nissan       MURANO              GREENVILLE                NC
97333   5N1AZ2BJ3LN107090   Nissan       MURANO              LAS VEGAS                 NV
97334   5N1AZ2BJ3LN107106   Nissan       MURANO              PHILADELPHIA              PA
97335   5N1AZ2BJ3LN107350   Nissan       MURANO              CLEVELAND                 OH
97336   5N1AZ2BJ3LN107364   Nissan       MURANO              CHICAGO                   IL
97337   5N1AZ2BJ3LN107784   Nissan       MURANO              CHARLOTTE                 NC
97338   5N1AZ2BJ3LN121376   Nissan       MURANO              LOS ANGELES               CA
97339   5N1AZ2BJ3LN121510   Nissan       MURANO              LAS VEGAS                 NV
97340   5N1AZ2BJ3LN121538   Nissan       MURANO              LAS VEGAS                 NV
97341   5N1AZ2BJ3LN121555   Nissan       MURANO              BURBANK                   CA
97342   5N1AZ2BJ3LN121684   Nissan       MURANO              Tolleson                  AZ
97343   5N1AZ2BJ3LN121801   Nissan       MURANO              BURBANK                   CA
97344   5N1AZ2BJ3LN122205   Nissan       MURANO              DETROIT                   MI
97345   5N1AZ2BJ3LN122284   Nissan       MURANO              SAN DIEGO                 CA
97346   5N1AZ2BJ3LN122298   Nissan       MURANO              PALM SPRINGS              CA
97347   5N1AZ2BJ3LN122480   Nissan       MURANO              LOS ANGELES AP            CA
97348   5N1AZ2BJ3LN122625   Nissan       MURANO              SAN FRANCISCO             CA
97349   5N1AZ2BJ3LN129669   Nissan       MURANO              FORT MYERS                FL
97350   5N1AZ2BJ3LN131955   Nissan       MURANO              MIAMI                     FL
97351   5N1AZ2BJ3LN132491   Nissan       MURANO              CLEVELAND                 OH
97352   5N1AZ2BJ3LN134872   Nissan       MURANO              LOS ANGELES               CA
97353   5N1AZ2BJ3LN135732   Nissan       MURANO              CHATTANOOGA               TN
97354   5N1AZ2BJ3LN135942   Nissan       MURANO              DALLAS                    TX
97355   5N1AZ2BJ3LN136220   Nissan       MURANO              Atlanta                   GA
97356   5N1AZ2BJ3LN137092   Nissan       MURANO              MEMPHIS                   TN
97357   5N1AZ2BJ3LN137402   Nissan       MURANO              Atlanta                   GA
97358   5N1AZ2BJ3LN137996   Nissan       MURANO              MIAMI                     FL
97359   5N1AZ2BJ3LN138579   Nissan       MURANO              TAMPA                     FL
97360   5N1AZ2BJ3LN138730   Nissan       MURANO              FORT MYERS                FL
97361   5N1AZ2BJ3LN139182   Nissan       MURANO              Landover Hills            MD
97362   5N1AZ2BJ3LN140140   Nissan       MURANO              ATLANTA                   GA
97363   5N1AZ2BJ3LN140557   Nissan       MURANO              HOUSTON                   TX
97364   5N1AZ2BJ3LN141675   Nissan       MURANO              ORLANDO                   FL
97365   5N1AZ2BJ3LN142034   Nissan       MURANO              DALLAS                    TX
97366   5N1AZ2BJ3LN142082   Nissan       MURANO              ORLANDO                   FL
97367   5N1AZ2BJ3LN142308   Nissan       MURANO              FT. LAUDERDALE            FL
97368   5N1AZ2BJ3LN143412   Nissan       MURANO              SARASOTA                  FL
97369   5N1AZ2BJ3LN144818   Nissan       MURANO              MEMPHIS                   TN
97370   5N1AZ2BJ3LN144897   Nissan       MURANO              MEMPHIS                   TN
97371   5N1AZ2BJ3LN144902   Nissan       MURANO              COLLEGE PARK              GA
97372   5N1AZ2BJ3LN144950   Nissan       MURANO              ATLANTA                   GA
97373   5N1AZ2BJ3LN144978   Nissan       MURANO              COLLEGE PARK              GA
97374   5N1AZ2BJ3LN145063   Nissan       MURANO              DALLAS                    TX
97375   5N1AZ2BJ3LN145144   Nissan       MURANO              SANTA ANA                 CA
97376   5N1AZ2BJ3LN145225   Nissan       MURANO              ATLANTA                   GA
97377   5N1AZ2BJ3LN145290   Nissan       MURANO              DALLAS                    TX
97378   5N1AZ2BJ3LN145337   Nissan       MURANO              LOS ANGELES               CA
97379   5N1AZ2BJ3LN145368   Nissan       MURANO              LOS ANGELES               CA
97380   5N1AZ2BJ3LN145371   Nissan       MURANO              UNION CITY                GA
97381   5N1AZ2BJ3LN145693   Nissan       MURANO              SAN ANTONIO               TX
97382   5N1AZ2BJ3LN145810   Nissan       MURANO              Dallas                    TX
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97383   5N1AZ2BJ3LN145855   Nissan       MURANO              Irving                    TX
97384   5N1AZ2BJ3LN145922   Nissan       MURANO              DALLAS                    TX
97385   5N1AZ2BJ3LN145970   Nissan       MURANO              HOUSTON                   TX
97386   5N1AZ2BJ3LN145984   Nissan       MURANO              SAN ANTONIO               TX
97387   5N1AZ2BJ3LN146164   Nissan       MURANO              COLLEGE PARK              GA
97388   5N1AZ2BJ3LN146343   Nissan       MURANO              SANTA ANA                 CA
97389   5N1AZ2BJ3LN146410   Nissan       MURANO              NEWPORT BEACH             CA
97390   5N1AZ2BJ3LN146648   Nissan       MURANO              Dallas                    TX
97391   5N1AZ2BJ3LN146665   Nissan       MURANO              HOUSTON                   TX
97392   5N1AZ2BJ3LN146715   Nissan       MURANO              Dallas                    TX
97393   5N1AZ2BJ3LN147153   Nissan       MURANO              NEWPORT BEACH             CA
97394   5N1AZ2BJ3LN148464   Nissan       MURANO              SANTA ANA                 CA
97395   5N1AZ2BJ3LN148531   Nissan       MURANO              SANTA ANA                 CA
97396   5N1AZ2BJ3LN148836   Nissan       MURANO              ATLANTA                   GA
97397   5N1AZ2BJ3LN148853   Nissan       MURANO              ATLANTA                   GA
97398   5N1AZ2BJ3LN149033   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
97399   5N1AZ2BJ3LN149968   Nissan       MURANO              SAN ANTONIO               TX
97400   5N1AZ2BJ3LN150084   Nissan       MURANO              Dallas                    TX
97401   5N1AZ2BJ3LN150117   Nissan                           LOS ANGELES               CA
97402   5N1AZ2BJ3LN150120   Nissan                           Omaha                     NE
97403   5N1AZ2BJ3LN150196   Nissan       MURANO              LA HABRA                  CA
97404   5N1AZ2BJ4LN100200   Nissan       MURANO              SNELLVILLE                GA
97405   5N1AZ2BJ4LN100259   Nissan       MURANO              TAMPA                     FL
97406   5N1AZ2BJ4LN100410   Nissan       MURANO              Teterboro                 NJ
97407   5N1AZ2BJ4LN100472   Nissan       MURANO              SEATAC                    WA
97408   5N1AZ2BJ4LN100519   Nissan       MURANO              AUSTIN                    TX
97409   5N1AZ2BJ4LN100553   Nissan       MURANO              ORLANDO                   FL
97410   5N1AZ2BJ4LN100620   Nissan       MURANO              AUSTIN                    TX
97411   5N1AZ2BJ4LN100648   Nissan       MURANO              Atlanta                   GA
97412   5N1AZ2BJ4LN100665   Nissan       MURANO              ORLANDO                   FL
97413   5N1AZ2BJ4LN100696   Nissan       MURANO              FORT MYERS                FL
97414   5N1AZ2BJ4LN100701   Nissan       MURANO              INDIANAPOLIS              IN
97415   5N1AZ2BJ4LN100715   Nissan       MURANO              DAYTONA BEACH             FL
97416   5N1AZ2BJ4LN100763   Nissan       MURANO              AUGUSTA                   GA
97417   5N1AZ2BJ4LN100780   Nissan       MURANO              PORTLAND                  ME
97418   5N1AZ2BJ4LN100858   Nissan       MURANO              ORLANDO                   FL
97419   5N1AZ2BJ4LN100861   Nissan       MURANO              JACKSONVILLE              FL
97420   5N1AZ2BJ4LN100875   Nissan       MURANO              ORLANDO                   FL
97421   5N1AZ2BJ4LN100911   Nissan       MURANO              JACKSONVILLE              FL
97422   5N1AZ2BJ4LN100925   Nissan       MURANO              ATLANTA                   GA
97423   5N1AZ2BJ4LN100942   Nissan       MURANO              MIAMI                     FL
97424   5N1AZ2BJ4LN100990   Nissan       MURANO              FORT MYERS                FL
97425   5N1AZ2BJ4LN101010   Nissan       MURANO              TITUSVILLE                FL
97426   5N1AZ2BJ4LN101024   Nissan       MURANO              ORLANDO                   FL
97427   5N1AZ2BJ4LN101105   Nissan       MURANO              PENSACOLA                 FL
97428   5N1AZ2BJ4LN101198   Nissan       MURANO              AUSTIN                    TX
97429   5N1AZ2BJ4LN101217   Nissan       MURANO              ORLANDO                   FL
97430   5N1AZ2BJ4LN101394   Nissan       MURANO              PHOENIX                   AZ
97431   5N1AZ2BJ4LN101458   Nissan       MURANO              COLLEGE PARK              GA
97432   5N1AZ2BJ4LN101587   Nissan       MURANO              DALLAS                    TX
97433   5N1AZ2BJ4LN101637   Nissan       MURANO              ORLANDO                   FL
97434   5N1AZ2BJ4LN101640   Nissan       MURANO              JACKSONVILLE              FL
97435   5N1AZ2BJ4LN101704   Nissan       MURANO              FORT LAUDERDALE           FL
97436   5N1AZ2BJ4LN101752   Nissan       MURANO              AUSTIN                    TX
97437   5N1AZ2BJ4LN101766   Nissan       MURANO              FORT LAUDERDALE           FL
97438   5N1AZ2BJ4LN101976   Nissan       MURANO              AUSTIN                    TX
97439   5N1AZ2BJ4LN102139   Nissan       MURANO              INGLEWOOD                 CA
97440   5N1AZ2BJ4LN102237   Nissan       MURANO              GRAND RAPIDS              MI
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97441   5N1AZ2BJ4LN102299   Nissan       MURANO              BOSTON                    MA
97442   5N1AZ2BJ4LN102447   Nissan       MURANO              SACRAMENTO                CA
97443   5N1AZ2BJ4LN103324   Nissan       MURANO              HOUSTON                   TX
97444   5N1AZ2BJ4LN103341   Nissan       MURANO              DALLAS                    TX
97445   5N1AZ2BJ4LN103355   Nissan       MURANO              SAN ANTONIO               TX
97446   5N1AZ2BJ4LN103565   Nissan       MURANO              MIDLAND                   TX
97447   5N1AZ2BJ4LN103582   Nissan       MURANO              Atlanta                   GA
97448   5N1AZ2BJ4LN103596   Nissan       MURANO              ORLANDO                   FL
97449   5N1AZ2BJ4LN103601   Nissan       MURANO              COLUMBIA                  SC
97450   5N1AZ2BJ4LN103680   Nissan       MURANO              INDIANAPOLIS              IN
97451   5N1AZ2BJ4LN103713   Nissan       MURANO              TAMPA                     FL
97452   5N1AZ2BJ4LN103744   Nissan       MURANO              ORLANDO                   FL
97453   5N1AZ2BJ4LN103789   Nissan       MURANO              FORT MYERS                FL
97454   5N1AZ2BJ4LN103811   Nissan       MURANO              KNOXVILLE                 TN
97455   5N1AZ2BJ4LN103825   Nissan       MURANO              ORLANDO                   FL
97456   5N1AZ2BJ4LN103842   Nissan       MURANO              JACKSONVILLE              FL
97457   5N1AZ2BJ4LN103856   Nissan       MURANO              PHOENIX                   AZ
97458   5N1AZ2BJ4LN103873   Nissan       MURANO              LUBBOCK                   TX
97459   5N1AZ2BJ4LN103937   Nissan       MURANO              CLEVELAND                 OH
97460   5N1AZ2BJ4LN103999   Nissan       MURANO              CHICAGO                   IL
97461   5N1AZ2BJ4LN104022   Nissan       MURANO              Clearwater                FL
97462   5N1AZ2BJ4LN104036   Nissan       MURANO              WETUMPKA                  AL
97463   5N1AZ2BJ4LN104070   Nissan       MURANO              MIDLAND                   TX
97464   5N1AZ2BJ4LN104148   Nissan       MURANO              STERLING                  VA
97465   5N1AZ2BJ4LN104263   Nissan       MURANO              CORPUS CHRISTI            TX
97466   5N1AZ2BJ4LN104277   Nissan       MURANO              CHARLOTTE                 NC
97467   5N1AZ2BJ4LN104280   Nissan       MURANO              TAMPA                     FL
97468   5N1AZ2BJ4LN104327   Nissan       MURANO              SAN ANTONIO               TX
97469   5N1AZ2BJ4LN104375   Nissan       MURANO              Atlanta                   GA
97470   5N1AZ2BJ4LN104408   Nissan       MURANO              HOUSTON                   TX
97471   5N1AZ2BJ4LN104456   Nissan       MURANO              HOUSTON                   TX
97472   5N1AZ2BJ4LN104523   Nissan       MURANO              SARASOTA                  FL
97473   5N1AZ2BJ4LN104554   Nissan       MURANO              SAN DIEGO                 CA
97474   5N1AZ2BJ4LN104571   Nissan       MURANO              ROANOKE                   VA
97475   5N1AZ2BJ4LN104618   Nissan       MURANO              NEW ORLEANS               LA
97476   5N1AZ2BJ4LN104750   Nissan       MURANO              DETROIT                   MI
97477   5N1AZ2BJ4LN104764   Nissan       MURANO              Hapeville                 GA
97478   5N1AZ2BJ4LN104781   Nissan       MURANO              SAINT LOUIS               MO
97479   5N1AZ2BJ4LN104893   Nissan       MURANO              MEMPHIS                   TN
97480   5N1AZ2BJ4LN104912   Nissan       MURANO              ATLANTA                   GA
97481   5N1AZ2BJ4LN104926   Nissan       MURANO              RALIEGH                   NC
97482   5N1AZ2BJ4LN104943   Nissan       MURANO              NEW BERN                  NC
97483   5N1AZ2BJ4LN104974   Nissan       MURANO              PENSACOLA                 FL
97484   5N1AZ2BJ4LN105123   Nissan       MURANO              BUFORD                    GA
97485   5N1AZ2BJ4LN105168   Nissan       MURANO              RALIEGH                   NC
97486   5N1AZ2BJ4LN105204   Nissan       MURANO              HOUSTON                   TX
97487   5N1AZ2BJ4LN105297   Nissan       MURANO              TAMPA                     FL
97488   5N1AZ2BJ4LN105316   Nissan       MURANO              CLEVELAND                 OH
97489   5N1AZ2BJ4LN105350   Nissan       MURANO              DALLAS                    TX
97490   5N1AZ2BJ4LN105364   Nissan       MURANO              KNOXVILLE                 TN
97491   5N1AZ2BJ4LN105378   Nissan       MURANO              ORLANDO                   FL
97492   5N1AZ2BJ4LN105543   Nissan       MURANO              AUSTIN                    TX
97493   5N1AZ2BJ4LN105722   Nissan       MURANO              Atlanta                   GA
97494   5N1AZ2BJ4LN105736   Nissan       MURANO              ATLANTA                   GA
97495   5N1AZ2BJ4LN105770   Nissan       MURANO              Atlanta                   GA
97496   5N1AZ2BJ4LN105784   Nissan       MURANO              AUSTIN                    TX
97497   5N1AZ2BJ4LN105798   Nissan       MURANO              DALLAS                    TX
97498   5N1AZ2BJ4LN105820   Nissan       MURANO              HOUSTON                   TX
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97499   5N1AZ2BJ4LN106157   Nissan       MURANO              HOUSTON                   TX
97500   5N1AZ2BJ4LN106224   Nissan       MURANO              SAN ANTONIO               TX
97501   5N1AZ2BJ4LN106238   Nissan       MURANO              PHILADELPHIA              PA
97502   5N1AZ2BJ4LN106286   Nissan       MURANO              NEW BERN                  NC
97503   5N1AZ2BJ4LN106322   Nissan       MURANO              ATLANTA                   GA
97504   5N1AZ2BJ4LN106336   Nissan       MURANO              SANTA ANA                 CA
97505   5N1AZ2BJ4LN106370   Nissan       MURANO              FORT MYERS                FL
97506   5N1AZ2BJ4LN106384   Nissan       MURANO              CHICAGO                   IL
97507   5N1AZ2BJ4LN106417   Nissan       MURANO              FORT LAUDERDALE           FL
97508   5N1AZ2BJ4LN106420   Nissan       MURANO              LUBBOCK                   TX
97509   5N1AZ2BJ4LN106479   Nissan       MURANO              DALLAS                    TX
97510   5N1AZ2BJ4LN106529   Nissan       MURANO              DALLAS                    TX
97511   5N1AZ2BJ4LN106546   Nissan       MURANO              HOUSTON                   TX
97512   5N1AZ2BJ4LN106580   Nissan       MURANO              MIAMI                     FL
97513   5N1AZ2BJ4LN106594   Nissan       MURANO              Dallas                    TX
97514   5N1AZ2BJ4LN106613   Nissan       MURANO              FORT LAUDERDALE           FL
97515   5N1AZ2BJ4LN106644   Nissan       MURANO              CLEVELAND                 OH
97516   5N1AZ2BJ4LN106675   Nissan       MURANO              Hebron                    KY
97517   5N1AZ2BJ4LN106711   Nissan       MURANO              PHOENIX                   AZ
97518   5N1AZ2BJ4LN106739   Nissan       MURANO              Jacksonville              FL
97519   5N1AZ2BJ4LN106756   Nissan       MURANO              JACKSONVILLE              FL
97520   5N1AZ2BJ4LN106806   Nissan       MURANO              HOUSTON                   TX
97521   5N1AZ2BJ4LN106840   Nissan       MURANO              ATLANTA                   GA
97522   5N1AZ2BJ4LN106899   Nissan       MURANO              DALLAS                    TX
97523   5N1AZ2BJ4LN106921   Nissan       MURANO              WEST PALM BEACH           FL
97524   5N1AZ2BJ4LN106997   Nissan       MURANO              MIAMI                     FL
97525   5N1AZ2BJ4LN107020   Nissan       MURANO              PENSACOLA                 FL
97526   5N1AZ2BJ4LN107051   Nissan       MURANO              HOUSTON                   TX
97527   5N1AZ2BJ4LN107129   Nissan       MURANO              STERLING                  VA
97528   5N1AZ2BJ4LN121502   Nissan       MURANO              FRESNO                    CA
97529   5N1AZ2BJ4LN121760   Nissan       MURANO              OAKLAND                   CA
97530   5N1AZ2BJ4LN121841   Nissan       MURANO              LOS ANGELES               CA
97531   5N1AZ2BJ4LN121922   Nissan       MURANO              PHOENIX                   AZ
97532   5N1AZ2BJ4LN121953   Nissan       MURANO              DALLAS                    TX
97533   5N1AZ2BJ4LN122147   Nissan       MURANO              PHOENIX                   AZ
97534   5N1AZ2BJ4LN122195   Nissan       MURANO              ONTARIO                   CA
97535   5N1AZ2BJ4LN122276   Nissan       MURANO              DALLAS                    TX
97536   5N1AZ2BJ4LN122293   Nissan       MURANO              PALM SPRINGS              CA
97537   5N1AZ2BJ4LN122360   Nissan       MURANO              SAN DIEGO                 CA
97538   5N1AZ2BJ4LN122519   Nissan       MURANO              San Francisco             CA
97539   5N1AZ2BJ4LN122603   Nissan       MURANO              LOS ANGELES               CA
97540   5N1AZ2BJ4LN123380   Nissan       MURANO              SAN JOSE                  CA
97541   5N1AZ2BJ4LN128806   Nissan       MURANO              FORT MYERS                FL
97542   5N1AZ2BJ4LN128921   Nissan       MURANO              WEST PALM BEACH           FL
97543   5N1AZ2BJ4LN130152   Nissan       MURANO              FT LAUDERDALE             FL
97544   5N1AZ2BJ4LN130474   Nissan       MURANO              FORT MYERS                FL
97545   5N1AZ2BJ4LN132340   Nissan       MURANO              LOS ANGELES               CA
97546   5N1AZ2BJ4LN133861   Nissan       MURANO              WEST PALM BEACH           FL
97547   5N1AZ2BJ4LN134248   Nissan       MURANO              LAS VEGAS                 NV
97548   5N1AZ2BJ4LN134847   Nissan       MURANO              ORLANDO                   FL
97549   5N1AZ2BJ4LN134895   Nissan       MURANO              MIAMI                     FL
97550   5N1AZ2BJ4LN135268   Nissan       MURANO              KNOXVILLE                 TN
97551   5N1AZ2BJ4LN135917   Nissan       MURANO              FORT MYERS                FL
97552   5N1AZ2BJ4LN135965   Nissan       MURANO              TAMPA                     FL
97553   5N1AZ2BJ4LN136730   Nissan       MURANO              KNOXVILLE                 TN
97554   5N1AZ2BJ4LN137151   Nissan       MURANO              JACKSONVILLE              FL
97555   5N1AZ2BJ4LN137179   Nissan       MURANO              HOUSTON                   TX
97556   5N1AZ2BJ4LN137604   Nissan       MURANO              MEMPHIS                   TN
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97557   5N1AZ2BJ4LN137702   Nissan       MURANO              MEMPHIS                   TN
97558   5N1AZ2BJ4LN137733   Nissan       MURANO              TAMPA                     FL
97559   5N1AZ2BJ4LN137764   Nissan       MURANO              SAN ANTONIO               TX
97560   5N1AZ2BJ4LN137831   Nissan       MURANO              VANDALIA                  OH
97561   5N1AZ2BJ4LN137988   Nissan       MURANO              FORT MYERS                FL
97562   5N1AZ2BJ4LN138719   Nissan       MURANO              DALLAS                    TX
97563   5N1AZ2BJ4LN138722   Nissan       MURANO              MIAMI                     FL
97564   5N1AZ2BJ4LN138803   Nissan       MURANO              HOUSTON                   TX
97565   5N1AZ2BJ4LN139367   Nissan       MURANO              COLLEGE PARK              GA
97566   5N1AZ2BJ4LN139448   Nissan       MURANO              FORT MYERS                FL
97567   5N1AZ2BJ4LN140020   Nissan       MURANO              BOSTON                    MA
97568   5N1AZ2BJ4LN140163   Nissan       MURANO              HOUSTON                   TX
97569   5N1AZ2BJ4LN140177   Nissan       MURANO              MEMPHIS                   TN
97570   5N1AZ2BJ4LN141720   Nissan       MURANO              TITUSVILLE                FL
97571   5N1AZ2BJ4LN142334   Nissan       MURANO              FT. LAUDERDALE            FL
97572   5N1AZ2BJ4LN143631   Nissan       MURANO              Irving                    TX
97573   5N1AZ2BJ4LN144276   Nissan       MURANO              DALLAS                    TX
97574   5N1AZ2BJ4LN144438   Nissan       MURANO              DALLAS                    TX
97575   5N1AZ2BJ4LN144455   Nissan       MURANO              MIDLAND                   TX
97576   5N1AZ2BJ4LN144830   Nissan       MURANO              MEMPHIS                   TN
97577   5N1AZ2BJ4LN144892   Nissan       MURANO              MEMPHIS                   TN
97578   5N1AZ2BJ4LN145024   Nissan       MURANO              SAN ANTONIO               TX
97579   5N1AZ2BJ4LN145119   Nissan       MURANO              MEMPHIS                   TN
97580   5N1AZ2BJ4LN145217   Nissan       MURANO              ATLANTA                   GA
97581   5N1AZ2BJ4LN145248   Nissan       MURANO              ATLANTA                   GA
97582   5N1AZ2BJ4LN145296   Nissan       MURANO              SANTA ANA                 CA
97583   5N1AZ2BJ4LN145301   Nissan       MURANO              ATLANTA                   GA
97584   5N1AZ2BJ4LN145380   Nissan       MURANO              LAS VEGAS                 NV
97585   5N1AZ2BJ4LN145413   Nissan       MURANO              MEMPHIS                   TN
97586   5N1AZ2BJ4LN145797   Nissan       MURANO              DALLAS                    TX
97587   5N1AZ2BJ4LN145864   Nissan       MURANO              LOUISVILLE                KY
97588   5N1AZ2BJ4LN145900   Nissan       MURANO              WEST PALM BEACH           FL
97589   5N1AZ2BJ4LN145962   Nissan       MURANO              DALLAS                    TX
97590   5N1AZ2BJ4LN146173   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
97591   5N1AZ2BJ4LN146271   Nissan       MURANO              Atlanta                   GA
97592   5N1AZ2BJ4LN146366   Nissan       MURANO              Downey                    CA
97593   5N1AZ2BJ4LN146674   Nissan       MURANO              ATLANTA                   GA
97594   5N1AZ2BJ4LN147145   Nissan       MURANO              SANTA ANA                 CA
97595   5N1AZ2BJ4LN147386   Nissan       MURANO              BURBANK                   CA
97596   5N1AZ2BJ4LN147937   Nissan       MURANO              MEMPHIS                   TN
97597   5N1AZ2BJ4LN148389   Nissan       MURANO              SANTA ANA                 CA
97598   5N1AZ2BJ4LN149526   Nissan       MURANO              ATLANTA                   GA
97599   5N1AZ2BJ4LN149736   Nissan       MURANO              ATLANTA                   GA
97600   5N1AZ2BJ4LN149770   Nissan       MURANO              ATLANTA                   GA
97601   5N1AZ2BJ4LN150143   Nissan       MURANO              LOS ANGELES               CA
97602   5N1AZ2BJ5LN100058   Nissan       MURANO              UNION CITY                GA
97603   5N1AZ2BJ5LN100089   Nissan       MURANO              WHITE PLAINS              NY
97604   5N1AZ2BJ5LN100092   Nissan       MURANO              Atlanta                   GA
97605   5N1AZ2BJ5LN100111   Nissan       MURANO              DALLAS                    TX
97606   5N1AZ2BJ5LN100237   Nissan       MURANO              RALIEGH                   NC
97607   5N1AZ2BJ5LN100240   Nissan       MURANO              LEXINGTON                 KY
97608   5N1AZ2BJ5LN100254   Nissan       MURANO              JACKSONVILLE              FL
97609   5N1AZ2BJ5LN100495   Nissan       MURANO              Houston                   TX
97610   5N1AZ2BJ5LN100528   Nissan       MURANO              SARASOTA                  FL
97611   5N1AZ2BJ5LN100559   Nissan       MURANO              MIAMI                     FL
97612   5N1AZ2BJ5LN100643   Nissan       MURANO              ORLANDO                   FL
97613   5N1AZ2BJ5LN100657   Nissan       MURANO              Ft. Myers                 FL
97614   5N1AZ2BJ5LN100674   Nissan       MURANO              TAMPA                     FL
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97615   5N1AZ2BJ5LN100688   Nissan       MURANO              Hebron                    KY
97616   5N1AZ2BJ5LN100691   Nissan       MURANO              Atlanta                   GA
97617   5N1AZ2BJ5LN100710   Nissan       MURANO              WEST COLUMBIA             SC
97618   5N1AZ2BJ5LN100738   Nissan       MURANO              KENNER                    LA
97619   5N1AZ2BJ5LN100819   Nissan       MURANO              CORPUS CHRISTI            TX
97620   5N1AZ2BJ5LN100822   Nissan       MURANO              FORT LAUDERDALE           FL
97621   5N1AZ2BJ5LN100853   Nissan       MURANO              MIAMI                     FL
97622   5N1AZ2BJ5LN100870   Nissan       MURANO              ORLANDO                   FL
97623   5N1AZ2BJ5LN100898   Nissan       MURANO              SARASOTA                  FL
97624   5N1AZ2BJ5LN100903   Nissan       MURANO              ORLANDO                   FL
97625   5N1AZ2BJ5LN100920   Nissan       MURANO              NEW BERN                  NC
97626   5N1AZ2BJ5LN100965   Nissan       MURANO              DALLAS                    TX
97627   5N1AZ2BJ5LN100982   Nissan       MURANO              HOUSTON                   TX
97628   5N1AZ2BJ5LN101016   Nissan       MURANO              MIAMI                     FL
97629   5N1AZ2BJ5LN101033   Nissan       MURANO              FORT MYERS                FL
97630   5N1AZ2BJ5LN101050   Nissan       MURANO              FORT LAUDERDALE           FL
97631   5N1AZ2BJ5LN101081   Nissan       MURANO              Atlanta                   GA
97632   5N1AZ2BJ5LN101159   Nissan       MURANO              TUCSON                    AZ
97633   5N1AZ2BJ5LN101162   Nissan       MURANO              PHOENIX                   AZ
97634   5N1AZ2BJ5LN101193   Nissan       MURANO              FORT MYERS                FL
97635   5N1AZ2BJ5LN101209   Nissan       MURANO              TUCSON                    AZ
97636   5N1AZ2BJ5LN101212   Nissan       MURANO              BUFFALO                   NY
97637   5N1AZ2BJ5LN101243   Nissan       MURANO              STERLING                  VA
97638   5N1AZ2BJ5LN101291   Nissan       MURANO              ORLANDO                   FL
97639   5N1AZ2BJ5LN101310   Nissan       MURANO              Phoenix                   AZ
97640   5N1AZ2BJ5LN101355   Nissan       MURANO              WARWICK                   RI
97641   5N1AZ2BJ5LN101372   Nissan       MURANO              WEST PALM BEACH           FL
97642   5N1AZ2BJ5LN101534   Nissan       MURANO              RONKONKOMA                NY
97643   5N1AZ2BJ5LN101565   Nissan       MURANO              WEST PALM BEACH           FL
97644   5N1AZ2BJ5LN101582   Nissan       MURANO              CHARLOTTE                 NC
97645   5N1AZ2BJ5LN101971   Nissan       MURANO              Lake Elsinore             CA
97646   5N1AZ2BJ5LN102134   Nissan       MURANO              Atlanta                   GA
97647   5N1AZ2BJ5LN102182   Nissan       MURANO              TUCSON                    AZ
97648   5N1AZ2BJ5LN102196   Nissan       MURANO              MILWAUKEE                 WI
97649   5N1AZ2BJ5LN102263   Nissan       MURANO              KENNER                    LA
97650   5N1AZ2BJ5LN102442   Nissan       MURANO              PHOENIX                   AZ
97651   5N1AZ2BJ5LN102845   Nissan       MURANO              KNOXVILLE                 TN
97652   5N1AZ2BJ5LN102909   Nissan       MURANO              KNOXVILLE                 TN
97653   5N1AZ2BJ5LN102926   Nissan       MURANO              WEST PALM BEACH           FL
97654   5N1AZ2BJ5LN103106   Nissan       MURANO              WEST PALM BEACH           FL
97655   5N1AZ2BJ5LN103185   Nissan       MURANO              TAMPA                     US
97656   5N1AZ2BJ5LN103235   Nissan       MURANO              ARLINGTON                 TX
97657   5N1AZ2BJ5LN103266   Nissan       MURANO              LUBBOCK                   TX
97658   5N1AZ2BJ5LN103302   Nissan       MURANO              TAMPA                     FL
97659   5N1AZ2BJ5LN103333   Nissan       MURANO              AUSTIN                    TX
97660   5N1AZ2BJ5LN103364   Nissan       MURANO              OKLAHOMA CITY             OK
97661   5N1AZ2BJ5LN103476   Nissan       MURANO              FORT LAUDERDALE           FL
97662   5N1AZ2BJ5LN103574   Nissan       MURANO              JACKSONVILLE              FL
97663   5N1AZ2BJ5LN103588   Nissan       MURANO              TAMPA                     FL
97664   5N1AZ2BJ5LN103591   Nissan       MURANO              ORLANDO                   FL
97665   5N1AZ2BJ5LN103705   Nissan       MURANO              ORLANDO                   FL
97666   5N1AZ2BJ5LN103784   Nissan       MURANO              WEST PALM BEACH           FL
97667   5N1AZ2BJ5LN103932   Nissan       MURANO              DALLAS                    TX
97668   5N1AZ2BJ5LN103994   Nissan       MURANO              Miami                     FL
97669   5N1AZ2BJ5LN104000   Nissan       MURANO              FORT MYERS                FL
97670   5N1AZ2BJ5LN104028   Nissan       MURANO              OKLAHOMA CITY             OK
97671   5N1AZ2BJ5LN104076   Nissan       MURANO              SAVANNAH                  GA
97672   5N1AZ2BJ5LN104093   Nissan       MURANO              JACKSONVILLE              FL
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97673   5N1AZ2BJ5LN104224   Nissan       MURANO              FORT MYERS                FL
97674   5N1AZ2BJ5LN104269   Nissan       MURANO              Atlanta                   GA
97675   5N1AZ2BJ5LN104319   Nissan       MURANO              PORTLAND                  OR
97676   5N1AZ2BJ5LN104398   Nissan       MURANO              HOUSTON                   TX
97677   5N1AZ2BJ5LN104417   Nissan       MURANO              HOUSTON                   TX
97678   5N1AZ2BJ5LN104420   Nissan       MURANO              HOUSTON                   TX
97679   5N1AZ2BJ5LN104465   Nissan       MURANO              ALBANY                    NY
97680   5N1AZ2BJ5LN104496   Nissan       MURANO              SAN ANTONIO               TX
97681   5N1AZ2BJ5LN104580   Nissan       MURANO              Tampa                     FL
97682   5N1AZ2BJ5LN104675   Nissan       MURANO              MEMPHIS                   TN
97683   5N1AZ2BJ5LN104711   Nissan       MURANO              NORFOLK                   VA
97684   5N1AZ2BJ5LN104756   Nissan       MURANO              KNOXVILLE                 TN
97685   5N1AZ2BJ5LN104935   Nissan       MURANO              KNOXVILLE                 TN
97686   5N1AZ2BJ5LN105065   Nissan       MURANO              ORLANDO                   FL
97687   5N1AZ2BJ5LN105101   Nissan       MURANO              DALLAS                    TX
97688   5N1AZ2BJ5LN105129   Nissan       MURANO              NEW BERN                  NC
97689   5N1AZ2BJ5LN105227   Nissan       MURANO              ORLANDO                   FL
97690   5N1AZ2BJ5LN105230   Nissan       MURANO              LOUISVILLE                KY
97691   5N1AZ2BJ5LN105244   Nissan       MURANO              AUSTIN                    TX
97692   5N1AZ2BJ5LN105292   Nissan       MURANO              CLEVELAND                 OH
97693   5N1AZ2BJ5LN105342   Nissan       MURANO              Little Rock               AR
97694   5N1AZ2BJ5LN105387   Nissan       MURANO              TAMPA                     FL
97695   5N1AZ2BJ5LN105423   Nissan       MURANO              GREENVILLE                NC
97696   5N1AZ2BJ5LN105549   Nissan       MURANO              PENSACOLA                 FL
97697   5N1AZ2BJ5LN105566   Nissan       MURANO              FORT MYERS                FL
97698   5N1AZ2BJ5LN105633   Nissan       MURANO              FORT LAUDERDALE           FL
97699   5N1AZ2BJ5LN105647   Nissan       MURANO              SAVANNAH                  GA
97700   5N1AZ2BJ5LN105695   Nissan       MURANO              ORLANDO                   FL
97701   5N1AZ2BJ5LN105700   Nissan       MURANO              LOUISVILLE                KY
97702   5N1AZ2BJ5LN105714   Nissan       MURANO              Miami                     FL
97703   5N1AZ2BJ5LN105745   Nissan       MURANO              HOUSTON                   TX
97704   5N1AZ2BJ5LN105762   Nissan       MURANO              FORT LAUDERDALE           FL
97705   5N1AZ2BJ5LN105793   Nissan       MURANO              HOUSTON                   TX
97706   5N1AZ2BJ5LN105907   Nissan       MURANO              HOUSTON                   TX
97707   5N1AZ2BJ5LN105969   Nissan       MURANO              DALLAS                    TX
97708   5N1AZ2BJ5LN105972   Nissan       MURANO              SAN ANTONIO               TX
97709   5N1AZ2BJ5LN106006   Nissan       MURANO              Irving                    TX
97710   5N1AZ2BJ5LN106054   Nissan       MURANO              PHOENIX                   AZ
97711   5N1AZ2BJ5LN106068   Nissan       MURANO              HOUSTON                   TX
97712   5N1AZ2BJ5LN106071   Nissan       MURANO              PHOENIX                   AZ
97713   5N1AZ2BJ5LN106121   Nissan       MURANO              WEST PALM BEACH           FL
97714   5N1AZ2BJ5LN106149   Nissan       MURANO              PHOENIX                   AZ
97715   5N1AZ2BJ5LN106183   Nissan       MURANO              PHOENIX                   AZ
97716   5N1AZ2BJ5LN106250   Nissan       MURANO              DALLAS                    TX
97717   5N1AZ2BJ5LN106264   Nissan       MURANO              ALBUQERQUE                NM
97718   5N1AZ2BJ5LN106278   Nissan       MURANO              MCALLEN                   TX
97719   5N1AZ2BJ5LN106314   Nissan       MURANO              DALLAS                    TX
97720   5N1AZ2BJ5LN106362   Nissan       MURANO              MILWAUKEE                 WI
97721   5N1AZ2BJ5LN106443   Nissan       MURANO              ATLANTA                   GA
97722   5N1AZ2BJ5LN106474   Nissan       MURANO              PHOENIX                   AZ
97723   5N1AZ2BJ5LN106524   Nissan       MURANO              SOUTHEAST DST OFFC        OK
97724   5N1AZ2BJ5LN106538   Nissan       MURANO              COLUMBIA                  SC
97725   5N1AZ2BJ5LN106555   Nissan       MURANO              FORT MYERS                FL
97726   5N1AZ2BJ5LN106622   Nissan       MURANO              FORT LAUDERDALE           FL
97727   5N1AZ2BJ5LN106667   Nissan       MURANO              FORT LAUDERDALE           FL
97728   5N1AZ2BJ5LN106670   Nissan       MURANO              BURBANK                   CA
97729   5N1AZ2BJ5LN106698   Nissan       MURANO              DALLAS                    TX
97730   5N1AZ2BJ5LN106717   Nissan       MURANO              PHOENIX                   AZ
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97731   5N1AZ2BJ5LN106765   Nissan       MURANO              Louisville                KY
97732   5N1AZ2BJ5LN106779   Nissan       MURANO              SARASOTA                  FL
97733   5N1AZ2BJ5LN106782   Nissan       MURANO              TUCSON                    AZ
97734   5N1AZ2BJ5LN106801   Nissan       MURANO              TUCSON                    AZ
97735   5N1AZ2BJ5LN106829   Nissan       MURANO              FORT MYERS                FL
97736   5N1AZ2BJ5LN106894   Nissan       MURANO              ORLANDO                   FL
97737   5N1AZ2BJ5LN107043   Nissan       MURANO              CHARLOTTE                 NC
97738   5N1AZ2BJ5LN107088   Nissan       MURANO              PHOENIX                   AZ
97739   5N1AZ2BJ5LN107138   Nissan       MURANO              SAN ANTONIO               TX
97740   5N1AZ2BJ5LN107205   Nissan       MURANO              FORT LAUDERDALE           FL
97741   5N1AZ2BJ5LN121248   Nissan       MURANO              LOS ANGELES               CA
97742   5N1AZ2BJ5LN121931   Nissan       MURANO              LOS ANGELES               CA
97743   5N1AZ2BJ5LN121945   Nissan       MURANO              SAN JOSE                  CA
97744   5N1AZ2BJ5LN122125   Nissan       MURANO              LAS VEGAS                 NV
97745   5N1AZ2BJ5LN122223   Nissan       MURANO              SAN DIEGO                 CA
97746   5N1AZ2BJ5LN122271   Nissan       MURANO              LOS ANGELES               CA
97747   5N1AZ2BJ5LN122447   Nissan       MURANO              LOS ANGELES               CA
97748   5N1AZ2BJ5LN122996   Nissan       MURANO              SAN DIEGO                 CA
97749   5N1AZ2BJ5LN128393   Nissan       MURANO              TAMPA                     US
97750   5N1AZ2BJ5LN128555   Nissan       MURANO              KENNER                    LA
97751   5N1AZ2BJ5LN128961   Nissan       MURANO              LOS ANGELES               CA
97752   5N1AZ2BJ5LN129513   Nissan       MURANO              ORLANDO                   FL
97753   5N1AZ2BJ5LN131567   Nissan       MURANO              SARASOTA                  FL
97754   5N1AZ2BJ5LN134727   Nissan       MURANO              ORLANDO                   FL
97755   5N1AZ2BJ5LN135800   Nissan       MURANO              KENNER                    LA
97756   5N1AZ2BJ5LN135845   Nissan       MURANO              Atlanta                   GA
97757   5N1AZ2BJ5LN136851   Nissan       MURANO              BURBANK                   CA
97758   5N1AZ2BJ5LN137272   Nissan       MURANO              FORT MYERS                FL
97759   5N1AZ2BJ5LN137482   Nissan       MURANO              JACKSONVILLE              FL
97760   5N1AZ2BJ5LN137868   Nissan       MURANO              HOUSTON                   TX
97761   5N1AZ2BJ5LN137966   Nissan       MURANO              JACKSONVILLE              FL
97762   5N1AZ2BJ5LN138695   Nissan       MURANO              HOUSTON                   TX
97763   5N1AZ2BJ5LN138714   Nissan       MURANO              GRAND RAPIDS              MI
97764   5N1AZ2BJ5LN138759   Nissan       MURANO              DALLAS                    TX
97765   5N1AZ2BJ5LN138843   Nissan       MURANO              KENNER                    LA
97766   5N1AZ2BJ5LN139832   Nissan       MURANO              FORT MYERS                FL
97767   5N1AZ2BJ5LN140186   Nissan       MURANO              FORT MYERS                FL
97768   5N1AZ2BJ5LN140477   Nissan       MURANO              KNOXVILLE                 TN
97769   5N1AZ2BJ5LN140530   Nissan       MURANO              HOUSTON                   TX
97770   5N1AZ2BJ5LN140561   Nissan       MURANO              MEMPHIS                   TN
97771   5N1AZ2BJ5LN140740   Nissan       MURANO              MEMPHIS                   TN
97772   5N1AZ2BJ5LN141127   Nissan       MURANO              FORT MYERS                FL
97773   5N1AZ2BJ5LN142147   Nissan       MURANO              FT. LAUDERDALE            FL
97774   5N1AZ2BJ5LN142682   Nissan       MURANO              SAN ANTONIO               TX
97775   5N1AZ2BJ5LN143654   Nissan       MURANO              DALLAS                    TX
97776   5N1AZ2BJ5LN144156   Nissan       MURANO              WEST PALM BEACH           FL
97777   5N1AZ2BJ5LN144349   Nissan       MURANO              Dallas                    TX
97778   5N1AZ2BJ5LN144433   Nissan       MURANO              DALLAS                    TX
97779   5N1AZ2BJ5LN144450   Nissan       MURANO              DALLAS                    TX
97780   5N1AZ2BJ5LN144464   Nissan       MURANO              Dallas                    TX
97781   5N1AZ2BJ5LN144531   Nissan       MURANO              Irving                    TX
97782   5N1AZ2BJ5LN144576   Nissan       MURANO              SAN ANTONIO               TX
97783   5N1AZ2BJ5LN144674   Nissan       MURANO              AUSTIN                    TX
97784   5N1AZ2BJ5LN144822   Nissan       MURANO              SAN ANTONIO               TX
97785   5N1AZ2BJ5LN144836   Nissan       MURANO              ATLANTA                   GA
97786   5N1AZ2BJ5LN144867   Nissan       MURANO              ATLANTA                   GA
97787   5N1AZ2BJ5LN144965   Nissan       MURANO              WARWICK                   RI
97788   5N1AZ2BJ5LN145033   Nissan       MURANO              TULSA                     OK
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97789   5N1AZ2BJ5LN145131   Nissan       MURANO              MEMPHIS                   TN
97790   5N1AZ2BJ5LN145209   Nissan       MURANO              LAS VEGAS                 NV
97791   5N1AZ2BJ5LN145288   Nissan       MURANO              SANTA ANA                 CA
97792   5N1AZ2BJ5LN145324   Nissan       MURANO              BURBANK                   CA
97793   5N1AZ2BJ5LN145470   Nissan       MURANO              MEMPHIS                   TN
97794   5N1AZ2BJ5LN145680   Nissan       MURANO              UNION CITY                GA
97795   5N1AZ2BJ5LN145825   Nissan       MURANO              ATLANTA                   GA
97796   5N1AZ2BJ5LN145873   Nissan       MURANO              DALLAS                    TX
97797   5N1AZ2BJ5LN145890   Nissan       MURANO              ATLANTA                   GA
97798   5N1AZ2BJ5LN146313   Nissan       MURANO              Dallas                    TX
97799   5N1AZ2BJ5LN146330   Nissan       MURANO              SANTA ANA                 CA
97800   5N1AZ2BJ5LN146683   Nissan       MURANO              SAINT LOUIS               MO
97801   5N1AZ2BJ5LN146733   Nissan       MURANO              DALLAS                    TX
97802   5N1AZ2BJ5LN147199   Nissan       MURANO              SANTA ANA                 CA
97803   5N1AZ2BJ5LN147848   Nissan       MURANO              Dallas                    TX
97804   5N1AZ2BJ5LN147977   Nissan       MURANO              MEMPHIS                   TN
97805   5N1AZ2BJ5LN148059   Nissan       MURANO              MEMPHIS                   TN
97806   5N1AZ2BJ5LN148482   Nissan       MURANO              SANTA ANA                 CA
97807   5N1AZ2BJ5LN148563   Nissan       MURANO              Dallas                    TX
97808   5N1AZ2BJ5LN148580   Nissan       MURANO              SAN ANTONIO               TX
97809   5N1AZ2BJ5LN149566   Nissan       MURANO              SAN ANTONIO               TX
97810   5N1AZ2BJ5LN149602   Nissan       MURANO              MEMPHIS                   TN
97811   5N1AZ2BJ5LN149700   Nissan       MURANO              SAN ANTONIO               TX
97812   5N1AZ2BJ5LN149924   Nissan       MURANO              ATLANTA                   GA
97813   5N1AZ2BJ5LN150118   Nissan       MURANO              SANTA ANA                 CA
97814   5N1AZ2BJ5LN150202   Nissan       MURANO              DALLAS                    TX
97815   5N1AZ2BJ6LN100084   Nissan       MURANO              SAVANNAH                  GA
97816   5N1AZ2BJ6LN100120   Nissan       MURANO              TAMPA                     FL
97817   5N1AZ2BJ6LN100148   Nissan       MURANO              HOUSTON                   TX
97818   5N1AZ2BJ6LN100229   Nissan       MURANO              ORLANDO                   FL
97819   5N1AZ2BJ6LN100294   Nissan       MURANO              WEST PALM BEACH           FL
97820   5N1AZ2BJ6LN100313   Nissan       MURANO              ALBANY                    NY
97821   5N1AZ2BJ6LN100425   Nissan       MURANO              PHOENIX                   AZ
97822   5N1AZ2BJ6LN100487   Nissan       MURANO              HOUSTON                   TX
97823   5N1AZ2BJ6LN100490   Nissan       MURANO              HOUSTON                   TX
97824   5N1AZ2BJ6LN100554   Nissan       MURANO              HOUSTON                   TX
97825   5N1AZ2BJ6LN100618   Nissan       MURANO              HOUSTON                   TX
97826   5N1AZ2BJ6LN100716   Nissan       MURANO              FORT MYERS                FL
97827   5N1AZ2BJ6LN100733   Nissan       MURANO              BALTIMORE                 MD
97828   5N1AZ2BJ6LN100800   Nissan       MURANO              MIAMI                     FL
97829   5N1AZ2BJ6LN100859   Nissan       MURANO              SARASOTA                  FL
97830   5N1AZ2BJ6LN100893   Nissan       MURANO              KENNER                    LA
97831   5N1AZ2BJ6LN100960   Nissan       MURANO              HOUSTON                   TX
97832   5N1AZ2BJ6LN100988   Nissan       MURANO              WEST COLUMBIA             SC
97833   5N1AZ2BJ6LN101011   Nissan       MURANO              OKLAHOMA CITY             OK
97834   5N1AZ2BJ6LN101056   Nissan       MURANO              DETROIT                   MI
97835   5N1AZ2BJ6LN101073   Nissan       MURANO              SAVANNAH                  GA
97836   5N1AZ2BJ6LN101350   Nissan       MURANO              Phoenix                   AZ
97837   5N1AZ2BJ6LN101381   Nissan       MURANO              Ft. Myers                 FL
97838   5N1AZ2BJ6LN101395   Nissan       MURANO              PORTLAND                  OR
97839   5N1AZ2BJ6LN101459   Nissan       MURANO              PHOENIX                   AZ
97840   5N1AZ2BJ6LN101543   Nissan       MURANO              WEST PALM BEACH           FL
97841   5N1AZ2BJ6LN101557   Nissan       MURANO              SOUTHEAST DST OFFC        OK
97842   5N1AZ2BJ6LN101560   Nissan       MURANO              JACKSONVILLE              FL
97843   5N1AZ2BJ6LN101588   Nissan       MURANO              RALIEGH                   NC
97844   5N1AZ2BJ6LN101610   Nissan       MURANO              TULSA                     OK
97845   5N1AZ2BJ6LN101705   Nissan       MURANO              Houston                   TX
97846   5N1AZ2BJ6LN101736   Nissan       MURANO              HOUSTON                   TX
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97847   5N1AZ2BJ6LN101784   Nissan       MURANO              DALLAS                    TX
97848   5N1AZ2BJ6LN102174   Nissan       MURANO              PALM SPRINGS              CA
97849   5N1AZ2BJ6LN102336   Nissan       MURANO              PHOENIX                   AZ
97850   5N1AZ2BJ6LN102465   Nissan       MURANO              NEW BERN                  NC
97851   5N1AZ2BJ6LN102482   Nissan       MURANO              FORT MYERS                FL
97852   5N1AZ2BJ6LN102661   Nissan       MURANO              MIDLAND                   TX
97853   5N1AZ2BJ6LN102725   Nissan       MURANO              DALLAS                    TX
97854   5N1AZ2BJ6LN102837   Nissan       MURANO              CLEVELAND                 OH
97855   5N1AZ2BJ6LN102840   Nissan       MURANO              MIAMI                     FL
97856   5N1AZ2BJ6LN102871   Nissan       MURANO              HOUSTON                   TX
97857   5N1AZ2BJ6LN103034   Nissan       MURANO              ATLANTA                   GA
97858   5N1AZ2BJ6LN103129   Nissan       MURANO              WICHITA FALLS             TX
97859   5N1AZ2BJ6LN103132   Nissan       MURANO              Dallas                    TX
97860   5N1AZ2BJ6LN103163   Nissan       MURANO              ORLANDO                   FL
97861   5N1AZ2BJ6LN103194   Nissan       MURANO              ORLANDO                   FL
97862   5N1AZ2BJ6LN103258   Nissan       MURANO              COLLEGE PARK              GA
97863   5N1AZ2BJ6LN103308   Nissan       MURANO              CHICAGO                   IL
97864   5N1AZ2BJ6LN103373   Nissan       MURANO              FORT LAUDERDALE           FL
97865   5N1AZ2BJ6LN103437   Nissan       MURANO              FORT LAUDERDALE           FL
97866   5N1AZ2BJ6LN103468   Nissan       MURANO              Atlanta                   GA
97867   5N1AZ2BJ6LN103518   Nissan       MURANO              AUSTIN                    TX
97868   5N1AZ2BJ6LN103566   Nissan       MURANO              HOUSTON                   TX
97869   5N1AZ2BJ6LN103583   Nissan       MURANO              FORT MYERS                FL
97870   5N1AZ2BJ6LN103597   Nissan       MURANO              Ft. Myers                 FL
97871   5N1AZ2BJ6LN103681   Nissan       MURANO              FORT LAUDERDALE           FL
97872   5N1AZ2BJ6LN103728   Nissan       MURANO              ORLANDO                   FL
97873   5N1AZ2BJ6LN103776   Nissan       MURANO              SARASOTA                  FL
97874   5N1AZ2BJ6LN103812   Nissan       MURANO              WEST PALM BEACH           FL
97875   5N1AZ2BJ6LN103843   Nissan       MURANO              DETROIT                   MI
97876   5N1AZ2BJ6LN103888   Nissan       MURANO              MIAMI                     FL
97877   5N1AZ2BJ6LN103907   Nissan       MURANO              MIAMI                     FL
97878   5N1AZ2BJ6LN103941   Nissan       MURANO              BEAUMONT                  TX
97879   5N1AZ2BJ6LN104006   Nissan       MURANO              SARASOTA                  FL
97880   5N1AZ2BJ6LN104023   Nissan       MURANO              PITTSBURGH                PA
97881   5N1AZ2BJ6LN104068   Nissan       MURANO              FORT MYERS                FL
97882   5N1AZ2BJ6LN104104   Nissan       MURANO              SAN ANTONIO               TX
97883   5N1AZ2BJ6LN104247   Nissan       MURANO              AUSTIN                    TX
97884   5N1AZ2BJ6LN104331   Nissan       MURANO              WEST PALM BEACH           FL
97885   5N1AZ2BJ6LN104345   Nissan       MURANO              GRAND RAPIDS              MI
97886   5N1AZ2BJ6LN104362   Nissan       MURANO              FORT MYERS                FL
97887   5N1AZ2BJ6LN104393   Nissan       MURANO              MEMPHIS                   TN
97888   5N1AZ2BJ6LN104412   Nissan       MURANO              SARASOTA                  FL
97889   5N1AZ2BJ6LN104460   Nissan       MURANO              SAN ANTONIO               TX
97890   5N1AZ2BJ6LN104488   Nissan       MURANO              Irving                    TX
97891   5N1AZ2BJ6LN104586   Nissan       MURANO              BOSTON                    MA
97892   5N1AZ2BJ6LN104698   Nissan       MURANO              BIRMINGHAM                AL
97893   5N1AZ2BJ6LN104717   Nissan       MURANO              KNOXVILLE                 TN
97894   5N1AZ2BJ6LN104734   Nissan       MURANO              AUSTIN                    TX
97895   5N1AZ2BJ6LN104748   Nissan       MURANO              TAMPA                     FL
97896   5N1AZ2BJ6LN104779   Nissan       MURANO              ORLANDO                   FL
97897   5N1AZ2BJ6LN104782   Nissan       MURANO              KNOXVILLE                 TN
97898   5N1AZ2BJ6LN104832   Nissan       MURANO              NASHVILLE                 TN
97899   5N1AZ2BJ6LN104863   Nissan       MURANO              BUFFALO                   NY
97900   5N1AZ2BJ6LN104961   Nissan       MURANO              CUMMING                   GA
97901   5N1AZ2BJ6LN104975   Nissan       MURANO              MYRTLE BEACH              SC
97902   5N1AZ2BJ6LN104992   Nissan       MURANO              INDIANAPOLIS              IN
97903   5N1AZ2BJ6LN105009   Nissan       MURANO              ATLANTA                   GA
97904   5N1AZ2BJ6LN105110   Nissan       MURANO              KNOXVILLE                 TN
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97905   5N1AZ2BJ6LN105124   Nissan       MURANO              FORT MYERS                FL
97906   5N1AZ2BJ6LN105138   Nissan       MURANO              WEST PALM BEACH           FL
97907   5N1AZ2BJ6LN105172   Nissan       MURANO              Atlanta                   GA
97908   5N1AZ2BJ6LN105205   Nissan       MURANO              MEMPHIS                   TN
97909   5N1AZ2BJ6LN105298   Nissan       MURANO              TAMPA                     FL
97910   5N1AZ2BJ6LN105348   Nissan       MURANO              DALLAS                    TX
97911   5N1AZ2BJ6LN105396   Nissan       MURANO              HOUSTON                   TX
97912   5N1AZ2BJ6LN105401   Nissan       MURANO              JOHNSTOWN                 PA
97913   5N1AZ2BJ6LN105446   Nissan       MURANO              HOUSTON                   TX
97914   5N1AZ2BJ6LN105477   Nissan       MURANO              JACKSON                   MS
97915   5N1AZ2BJ6LN105592   Nissan       MURANO              CLEVELAND                 OH
97916   5N1AZ2BJ6LN105639   Nissan       MURANO              HOUSTON                   TX
97917   5N1AZ2BJ6LN105656   Nissan       MURANO              ORLANDO                   FL
97918   5N1AZ2BJ6LN105673   Nissan       MURANO              WEST COLUMBIA             SC
97919   5N1AZ2BJ6LN105687   Nissan       MURANO              MIAMI                     FL
97920   5N1AZ2BJ6LN105706   Nissan       MURANO              SAN ANTONIO               TX
97921   5N1AZ2BJ6LN105737   Nissan       MURANO              SARASOTA                  FL
97922   5N1AZ2BJ6LN105818   Nissan       MURANO              DALLAS                    TX
97923   5N1AZ2BJ6LN105852   Nissan       MURANO              KENNER                    LA
97924   5N1AZ2BJ6LN105902   Nissan       MURANO              MIAMI                     FL
97925   5N1AZ2BJ6LN105916   Nissan       MURANO              COLUMBUS                  OH
97926   5N1AZ2BJ6LN105981   Nissan       MURANO              PHILADELPHIA              PA
97927   5N1AZ2BJ6LN105995   Nissan       MURANO              NEW YORK CITY             NY
97928   5N1AZ2BJ6LN106080   Nissan       MURANO              TAMPA                     FL
97929   5N1AZ2BJ6LN106175   Nissan       MURANO              BEAUMONT                  TX
97930   5N1AZ2BJ6LN106242   Nissan       MURANO              SAN ANTONIO               TX
97931   5N1AZ2BJ6LN106306   Nissan       MURANO              Ft. Myers                 FL
97932   5N1AZ2BJ6LN106354   Nissan       MURANO              PORTLAND                  OR
97933   5N1AZ2BJ6LN106368   Nissan       MURANO              DALLAS                    TX
97934   5N1AZ2BJ6LN106399   Nissan       MURANO              DALLAS                    TX
97935   5N1AZ2BJ6LN106418   Nissan       MURANO              TUCSON                    AZ
97936   5N1AZ2BJ6LN106466   Nissan       MURANO              KNOXVILLE                 TN
97937   5N1AZ2BJ6LN106547   Nissan       MURANO              STERLING                  VA
97938   5N1AZ2BJ6LN106550   Nissan       MURANO              WEST PALM BEACH           FL
97939   5N1AZ2BJ6LN106564   Nissan       MURANO              Dallas                    TX
97940   5N1AZ2BJ6LN106578   Nissan       MURANO              Houston                   TX
97941   5N1AZ2BJ6LN106659   Nissan       MURANO              MIAMI                     FL
97942   5N1AZ2BJ6LN106662   Nissan       MURANO              SAINT PAUL                MN
97943   5N1AZ2BJ6LN106676   Nissan       MURANO              AUSTIN                    TX
97944   5N1AZ2BJ6LN106709   Nissan       MURANO              HOUSTON                   TX
97945   5N1AZ2BJ6LN106788   Nissan       MURANO              TUCSON                    AZ
97946   5N1AZ2BJ6LN106791   Nissan       MURANO              PENSACOLA                 FL
97947   5N1AZ2BJ6LN106810   Nissan       MURANO              ORLANDO                   FL
97948   5N1AZ2BJ6LN106841   Nissan       MURANO              WEST PALM BEACH           FL
97949   5N1AZ2BJ6LN106872   Nissan       MURANO              Phoenix                   AZ
97950   5N1AZ2BJ6LN106936   Nissan       MURANO              KENNER                    LA
97951   5N1AZ2BJ6LN107049   Nissan       MURANO              NORFOLK                   VA
97952   5N1AZ2BJ6LN107066   Nissan       MURANO              HOUSTON                   TX
97953   5N1AZ2BJ6LN107083   Nissan       MURANO              HOUSTON                   TX
97954   5N1AZ2BJ6LN107097   Nissan       MURANO              MEMPHIS                   TN
97955   5N1AZ2BJ6LN107102   Nissan       MURANO              PHOENIX                   AZ
97956   5N1AZ2BJ6LN108041   Nissan       MURANO              HOLLY HILL                FL
97957   5N1AZ2BJ6LN121307   Nissan       MURANO              LOS ANGELES               CA
97958   5N1AZ2BJ6LN121467   Nissan       MURANO              FRESNO                    CA
97959   5N1AZ2BJ6LN121694   Nissan       MURANO              NEWPORT BEACH             CA
97960   5N1AZ2BJ6LN121923   Nissan       MURANO              LAS VEGAS                 NV
97961   5N1AZ2BJ6LN122196   Nissan       MURANO              PALM SPRINGS              CA
97962   5N1AZ2BJ6LN122263   Nissan       MURANO              SEATAC                    WA
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97963   5N1AZ2BJ6LN122506   Nissan       MURANO              SAN DIEGO                 CA
97964   5N1AZ2BJ6LN123395   Nissan       MURANO              LAS VEGAS                 NV
97965   5N1AZ2BJ6LN128418   Nissan       MURANO              FORT MYERS                FL
97966   5N1AZ2BJ6LN130556   Nissan       MURANO              ORLANDO                   FL
97967   5N1AZ2BJ6LN131335   Nissan       MURANO              FORT LAUDERDALE           FL
97968   5N1AZ2BJ6LN131884   Nissan       MURANO              MOBILE                    A
97969   5N1AZ2BJ6LN132114   Nissan       MURANO              ORLANDO                   FL
97970   5N1AZ2BJ6LN133649   Nissan       MURANO              LAS VEGAS                 NV
97971   5N1AZ2BJ6LN135997   Nissan       MURANO              MELBOURNE AP              FL
97972   5N1AZ2BJ6LN137409   Nissan       MURANO              FT. LAUDERDALE            FL
97973   5N1AZ2BJ6LN137636   Nissan       MURANO              Atlanta                   GA
97974   5N1AZ2BJ6LN138219   Nissan       MURANO              MIAMI                     FL
97975   5N1AZ2BJ6LN138334   Nissan       MURANO              ALBANY                    NY
97976   5N1AZ2BJ6LN140133   Nissan       MURANO              NEW ORLEANS               LA
97977   5N1AZ2BJ6LN140374   Nissan       MURANO              HOUSTON                   TX
97978   5N1AZ2BJ6LN140407   Nissan       MURANO              HOUSTON                   TX
97979   5N1AZ2BJ6LN140472   Nissan       MURANO              KNOXVILLE                 TN
97980   5N1AZ2BJ6LN140598   Nissan       MURANO              FORT LAUDERDALE           FL
97981   5N1AZ2BJ6LN140696   Nissan       MURANO              TULSA                     OK
97982   5N1AZ2BJ6LN140701   Nissan       MURANO              HOUSTON                   TX
97983   5N1AZ2BJ6LN140939   Nissan       MURANO              DALLAS                    TX
97984   5N1AZ2BJ6LN140942   Nissan       MURANO              MEMPHIS                   TN
97985   5N1AZ2BJ6LN142139   Nissan       MURANO              TAMPA                     FL
97986   5N1AZ2BJ6LN142156   Nissan       MURANO              ORLANDO                   FL
97987   5N1AZ2BJ6LN142710   Nissan       MURANO              DALLAS                    TX
97988   5N1AZ2BJ6LN144344   Nissan       MURANO              Irving                    TX
97989   5N1AZ2BJ6LN144845   Nissan       MURANO              JACKSONVILLE              FL
97990   5N1AZ2BJ6LN144859   Nissan       MURANO              MEMPHIS                   TN
97991   5N1AZ2BJ6LN144991   Nissan       MURANO              PHOENIX                   AZ
97992   5N1AZ2BJ6LN145042   Nissan       MURANO              DALLAS                    TX
97993   5N1AZ2BJ6LN145087   Nissan       MURANO              MEMPHIS                   TN
97994   5N1AZ2BJ6LN145106   Nissan       MURANO              BURBANK                   CA
97995   5N1AZ2BJ6LN145137   Nissan       MURANO              SAN ANTONIO               TX
97996   5N1AZ2BJ6LN145140   Nissan       MURANO              SANTA ANA                 CA
97997   5N1AZ2BJ6LN145185   Nissan       MURANO              SANTA ANA                 CA
97998   5N1AZ2BJ6LN145204   Nissan       MURANO              LAS VEGAS                 NV
97999   5N1AZ2BJ6LN145235   Nissan       MURANO              DFW AIRPORT               TX
98000   5N1AZ2BJ6LN145266   Nissan       MURANO              SAN ANTONIO               TX
98001   5N1AZ2BJ6LN145283   Nissan       MURANO              Downey                    CA
98002   5N1AZ2BJ6LN145316   Nissan       MURANO              SAN ANTONIO               TX
98003   5N1AZ2BJ6LN145333   Nissan       MURANO              LOS ANGELES               CA
98004   5N1AZ2BJ6LN145347   Nissan       MURANO              SANTA ANA                 CA
98005   5N1AZ2BJ6LN145364   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
98006   5N1AZ2BJ6LN145753   Nissan       MURANO              DALLAS                    TX
98007   5N1AZ2BJ6LN145915   Nissan       MURANO              ATLANTA                   GA
98008   5N1AZ2BJ6LN145932   Nissan       MURANO              DALLAS                    TX
98009   5N1AZ2BJ6LN145977   Nissan       MURANO              Atlanta                   GA
98010   5N1AZ2BJ6LN146191   Nissan       MURANO              ATLANTA                   GA
98011   5N1AZ2BJ6LN146319   Nissan       MURANO              Irving                    TX
98012   5N1AZ2BJ6LN146322   Nissan       MURANO              COLLEGE PARK              GA
98013   5N1AZ2BJ6LN146353   Nissan       MURANO              SANTA ANA                 CA
98014   5N1AZ2BJ6LN148393   Nissan       MURANO              Atlanta                   GA
98015   5N1AZ2BJ6LN148409   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
98016   5N1AZ2BJ6LN148457   Nissan       MURANO              LOS ANGELES               CA
98017   5N1AZ2BJ6LN148474   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
98018   5N1AZ2BJ6LN148555   Nissan       MURANO              Dallas                    TX
98019   5N1AZ2BJ6LN148569   Nissan       MURANO              Dallas                    TX
98020   5N1AZ2BJ6LN149012   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
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98021   5N1AZ2BJ6LN149141   Nissan       MURANO              ATLANTA                   GA
98022   5N1AZ2BJ6LN149530   Nissan       MURANO              ATLANTA                   GA
98023   5N1AZ2BJ6LN149706   Nissan       MURANO              ATLANTA                   GA
98024   5N1AZ2BJ6LN149866   Nissan       MURANO              SAN ANTONIO               TX
98025   5N1AZ2BJ6LN150113   Nissan       MURANO              Dallas                    TX
98026   5N1AZ2BJ7LN100059   Nissan       MURANO              WARWICK                   RI
98027   5N1AZ2BJ7LN100062   Nissan       MURANO              SAINT LOUIS               MO
98028   5N1AZ2BJ7LN100109   Nissan       MURANO              ORLANDO                   FL
98029   5N1AZ2BJ7LN100126   Nissan       MURANO              Atlanta                   GA
98030   5N1AZ2BJ7LN100269   Nissan       MURANO              FORT MYERS                FL
98031   5N1AZ2BJ7LN100272   Nissan       MURANO              MIAMI                     FL
98032   5N1AZ2BJ7LN100384   Nissan       MURANO              KANSAS CITY               MO
98033   5N1AZ2BJ7LN100398   Nissan       MURANO              MIAMI                     FL
98034   5N1AZ2BJ7LN100479   Nissan       MURANO              TAMPA                     FL
98035   5N1AZ2BJ7LN100563   Nissan       MURANO              Colorado Spring           CO
98036   5N1AZ2BJ7LN100644   Nissan       MURANO              OKLAHOMA CITY             OK
98037   5N1AZ2BJ7LN100658   Nissan       MURANO              DULUTH                    GA
98038   5N1AZ2BJ7LN100708   Nissan       MURANO              KENNER                    LA
98039   5N1AZ2BJ7LN100742   Nissan       MURANO              CUMMING                   GA
98040   5N1AZ2BJ7LN100787   Nissan       MURANO              STERLING                  VA
98041   5N1AZ2BJ7LN100806   Nissan       MURANO              WEST PALM BEACH           FL
98042   5N1AZ2BJ7LN100854   Nissan       MURANO              DALLAS                    TX
98043   5N1AZ2BJ7LN100868   Nissan       MURANO              DETROIT                   MI
98044   5N1AZ2BJ7LN100885   Nissan       MURANO              ORLANDO                   FL
98045   5N1AZ2BJ7LN100935   Nissan       MURANO              UNION CITY                GA
98046   5N1AZ2BJ7LN100997   Nissan       MURANO              SARASOTA                  FL
98047   5N1AZ2BJ7LN101048   Nissan       MURANO              ORLANDO                   FL
98048   5N1AZ2BJ7LN101079   Nissan       MURANO              OKLAHOMA CITY             OK
98049   5N1AZ2BJ7LN101096   Nissan       MURANO              MIAMI                     FL
98050   5N1AZ2BJ7LN101101   Nissan       MURANO              Atlanta                   GA
98051   5N1AZ2BJ7LN101129   Nissan       MURANO              MIAMI                     FL
98052   5N1AZ2BJ7LN101213   Nissan       MURANO              KENNER                    LA
98053   5N1AZ2BJ7LN101339   Nissan       MURANO              PITTSBURGH                PA
98054   5N1AZ2BJ7LN101373   Nissan       MURANO              FORT MYERS                FL
98055   5N1AZ2BJ7LN101390   Nissan       MURANO              ORLANDO                   FL
98056   5N1AZ2BJ7LN101406   Nissan       MURANO              CHICAGO                   IL
98057   5N1AZ2BJ7LN101454   Nissan       MURANO              PHOENIX                   AZ
98058   5N1AZ2BJ7LN101471   Nissan       MURANO              FT. LAUDERDALE            FL
98059   5N1AZ2BJ7LN101485   Nissan       MURANO              KANSAS CITY               MO
98060   5N1AZ2BJ7LN101499   Nissan       MURANO              OKLAHOMA CITY             OK
98061   5N1AZ2BJ7LN101521   Nissan       MURANO              JACKSONVILLE              FL
98062   5N1AZ2BJ7LN101549   Nissan       MURANO              MIAMI                     FL
98063   5N1AZ2BJ7LN101552   Nissan       MURANO              CORPUS CHRISTI            TX
98064   5N1AZ2BJ7LN101566   Nissan       MURANO              FORT MYERS                FL
98065   5N1AZ2BJ7LN101597   Nissan       MURANO              RICHMOND                  VA
98066   5N1AZ2BJ7LN101633   Nissan       MURANO              TAMPA                     FL
98067   5N1AZ2BJ7LN101647   Nissan       MURANO              PHILADELPHIA              PA
98068   5N1AZ2BJ7LN101664   Nissan       MURANO              FORT MYERS                FL
98069   5N1AZ2BJ7LN101681   Nissan       MURANO              KNOXVILLE                 TN
98070   5N1AZ2BJ7LN101714   Nissan       MURANO              FORT MYERS                FL
98071   5N1AZ2BJ7LN101745   Nissan       MURANO              TAMPA                     FL
98072   5N1AZ2BJ7LN101762   Nissan       MURANO              MOBILE                    A
98073   5N1AZ2BJ7LN101891   Nissan       MURANO              FRESNO                    CA
98074   5N1AZ2BJ7LN101969   Nissan       MURANO              SAN FRANCISCO             CA
98075   5N1AZ2BJ7LN102278   Nissan       MURANO              LOUISVILLE                KY
98076   5N1AZ2BJ7LN102569   Nissan       MURANO              OMAHA                     NE
98077   5N1AZ2BJ7LN102748   Nissan       MURANO              AUSTIN                    TX
98078   5N1AZ2BJ7LN102779   Nissan       MURANO              RALIEGH                   NC
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98079   5N1AZ2BJ7LN102782   Nissan       MURANO              FORT MYERS                FL
98080   5N1AZ2BJ7LN102815   Nissan       MURANO              Irving                    TX
98081   5N1AZ2BJ7LN102829   Nissan       MURANO              WHITE PLAINS              NY
98082   5N1AZ2BJ7LN102894   Nissan       MURANO              KNOXVILLE                 TN
98083   5N1AZ2BJ7LN102944   Nissan       MURANO              LOUISVILLE                KY
98084   5N1AZ2BJ7LN103043   Nissan       MURANO              SAN ANTONIO               TX
98085   5N1AZ2BJ7LN103138   Nissan       MURANO              HOUSTON                   TX
98086   5N1AZ2BJ7LN103205   Nissan       MURANO              Dallas                    TX
98087   5N1AZ2BJ7LN103317   Nissan       MURANO              OKLAHOMA CITY             OK
98088   5N1AZ2BJ7LN103334   Nissan       MURANO              KENNER                    LA
98089   5N1AZ2BJ7LN103527   Nissan       MURANO              CHARLOTTE                 NC
98090   5N1AZ2BJ7LN103544   Nissan       MURANO              FORT MYERS                FL
98091   5N1AZ2BJ7LN103575   Nissan       MURANO              TAMPA                     FL
98092   5N1AZ2BJ7LN103608   Nissan       MURANO              DAYTONA BEACH             FL
98093   5N1AZ2BJ7LN103673   Nissan       MURANO              WINDSOR LOCKS             CT
98094   5N1AZ2BJ7LN103706   Nissan       MURANO              MIAMI                     FL
98095   5N1AZ2BJ7LN103723   Nissan       MURANO              AUSTIN                    TX
98096   5N1AZ2BJ7LN103768   Nissan       MURANO              JACKSONVILLE              FL
98097   5N1AZ2BJ7LN103771   Nissan       MURANO              FORT LAUDERDALE           FL
98098   5N1AZ2BJ7LN103785   Nissan       MURANO              ORLANDO                   FL
98099   5N1AZ2BJ7LN103799   Nissan       MURANO              ORLANDO                   FL
98100   5N1AZ2BJ7LN103835   Nissan       MURANO              KNOXVILLE                 TN
98101   5N1AZ2BJ7LN103852   Nissan       MURANO              HOUSTON                   TX
98102   5N1AZ2BJ7LN103947   Nissan       MURANO              DFW AIRPORT               TX
98103   5N1AZ2BJ7LN104001   Nissan       MURANO              DALLAS                    TX
98104   5N1AZ2BJ7LN104029   Nissan       MURANO              CHICAGO                   IL
98105   5N1AZ2BJ7LN104032   Nissan       MURANO              COLLEGE PARK              GA
98106   5N1AZ2BJ7LN104063   Nissan       MURANO              ORLANDO                   FL
98107   5N1AZ2BJ7LN104077   Nissan       MURANO              ORLANDO                   FL
98108   5N1AZ2BJ7LN104080   Nissan       MURANO              HOUSTON                   TX
98109   5N1AZ2BJ7LN104094   Nissan       MURANO              BALTIMORE                 MD
98110   5N1AZ2BJ7LN104144   Nissan       MURANO              AUSTIN                    TX
98111   5N1AZ2BJ7LN104175   Nissan       MURANO              LOS ANGELES               CA
98112   5N1AZ2BJ7LN104189   Nissan       MURANO              DALLAS                    TX
98113   5N1AZ2BJ7LN104225   Nissan       MURANO              MIAMI                     FL
98114   5N1AZ2BJ7LN104239   Nissan       MURANO              HOUSTON                   TX
98115   5N1AZ2BJ7LN104323   Nissan       MURANO              ORLANDO                   FL
98116   5N1AZ2BJ7LN104435   Nissan       MURANO              PENSACOLA                 FL
98117   5N1AZ2BJ7LN104452   Nissan       MURANO              Atlanta                   GA
98118   5N1AZ2BJ7LN104564   Nissan       MURANO              PHOENIX                   AZ
98119   5N1AZ2BJ7LN104578   Nissan       MURANO              Los Angeles               CA
98120   5N1AZ2BJ7LN104645   Nissan       MURANO              PENSACOLA                 FL
98121   5N1AZ2BJ7LN104743   Nissan       MURANO              ATLANTA                   GA
98122   5N1AZ2BJ7LN104984   Nissan       MURANO              ORLANDO                   FL
98123   5N1AZ2BJ7LN104998   Nissan       MURANO              Atlanta                   GA
98124   5N1AZ2BJ7LN105004   Nissan       MURANO              ORLANDO                   FL
98125   5N1AZ2BJ7LN105097   Nissan       MURANO              AUSTIN                    TX
98126   5N1AZ2BJ7LN105102   Nissan       MURANO              Austin                    TX
98127   5N1AZ2BJ7LN105150   Nissan       MURANO              ORLANDO                   FL
98128   5N1AZ2BJ7LN105181   Nissan       MURANO              ATLANTA                   GA
98129   5N1AZ2BJ7LN105195   Nissan       MURANO              KNOXVILLE                 TN
98130   5N1AZ2BJ7LN105200   Nissan       MURANO              KNOXVILLE                 TN
98131   5N1AZ2BJ7LN105245   Nissan       MURANO              KENNER                    LA
98132   5N1AZ2BJ7LN105259   Nissan       MURANO              ORLANDO                   FL
98133   5N1AZ2BJ7LN105309   Nissan       MURANO              SAN ANTONIO               TX
98134   5N1AZ2BJ7LN105357   Nissan       MURANO              KNOXVILLE                 TN
98135   5N1AZ2BJ7LN105598   Nissan       MURANO              Atlanta                   GA
98136   5N1AZ2BJ7LN105603   Nissan       MURANO              MEMPHIS                   TN
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98137   5N1AZ2BJ7LN105665   Nissan       MURANO              FORT MYERS                FL
98138   5N1AZ2BJ7LN105729   Nissan       MURANO              HOUSTON                   TX
98139   5N1AZ2BJ7LN105794   Nissan       MURANO              HOUSTON                   TX
98140   5N1AZ2BJ7LN105889   Nissan       MURANO              JACKSONVILLE              FL
98141   5N1AZ2BJ7LN105990   Nissan       MURANO              KENNER                    LA
98142   5N1AZ2BJ7LN106010   Nissan       MURANO              PORTLAND                  ME
98143   5N1AZ2BJ7LN106024   Nissan       MURANO              KENNER                    LA
98144   5N1AZ2BJ7LN106038   Nissan       MURANO              GRAND RAPIDS              MI
98145   5N1AZ2BJ7LN106086   Nissan       MURANO              LOUISVILLE                KY
98146   5N1AZ2BJ7LN106105   Nissan       MURANO              HOUSTON                   TX
98147   5N1AZ2BJ7LN106119   Nissan       MURANO              Houston                   TX
98148   5N1AZ2BJ7LN106122   Nissan       MURANO              TAMPA                     FL
98149   5N1AZ2BJ7LN106136   Nissan       MURANO              OKLAHOMA CITY             OK
98150   5N1AZ2BJ7LN106153   Nissan       MURANO              ORLANDO                   FL
98151   5N1AZ2BJ7LN106167   Nissan       MURANO              Humble                    TX
98152   5N1AZ2BJ7LN106198   Nissan       MURANO              JACKSONVILLE              FL
98153   5N1AZ2BJ7LN106220   Nissan       MURANO              Houston                   TX
98154   5N1AZ2BJ7LN106265   Nissan       MURANO              DALLAS                    TX
98155   5N1AZ2BJ7LN106279   Nissan       MURANO              SAN ANTONIO               TX
98156   5N1AZ2BJ7LN106296   Nissan       MURANO              Tulsa                     OK
98157   5N1AZ2BJ7LN106332   Nissan       MURANO              KENNER                    LA
98158   5N1AZ2BJ7LN106427   Nissan       MURANO              FORT LAUDERDALE           FL
98159   5N1AZ2BJ7LN106444   Nissan       MURANO              PHOENIX                   AZ
98160   5N1AZ2BJ7LN106489   Nissan       MURANO              OKLAHOMA CITY             OK
98161   5N1AZ2BJ7LN106492   Nissan       MURANO              ALBUQERQUE                NM
98162   5N1AZ2BJ7LN106525   Nissan       MURANO              YUKON                     OK
98163   5N1AZ2BJ7LN106606   Nissan       MURANO              TAMPA                     FL
98164   5N1AZ2BJ7LN106637   Nissan       MURANO              KEY WEST                  FL
98165   5N1AZ2BJ7LN106671   Nissan       MURANO              DALLAS                    TX
98166   5N1AZ2BJ7LN106704   Nissan       MURANO              PHOENIX                   AZ
98167   5N1AZ2BJ7LN106752   Nissan       MURANO              HOUSTON                   TX
98168   5N1AZ2BJ7LN106797   Nissan       MURANO              PHOENIX                   AZ
98169   5N1AZ2BJ7LN106802   Nissan       MURANO              DALLAS                    TX
98170   5N1AZ2BJ7LN106816   Nissan       MURANO              LAS VEGAS                 NV
98171   5N1AZ2BJ7LN106833   Nissan       MURANO              HOUSTON                   TX
98172   5N1AZ2BJ7LN106847   Nissan       MURANO              DALLAS                    TX
98173   5N1AZ2BJ7LN106850   Nissan       MURANO              FORT LAUDERDALE           FL
98174   5N1AZ2BJ7LN106864   Nissan       MURANO              PHOENIX                   AZ
98175   5N1AZ2BJ7LN106928   Nissan       MURANO              FORT LAUDERDALE           FL
98176   5N1AZ2BJ7LN106945   Nissan       MURANO              DALLAS                    TX
98177   5N1AZ2BJ7LN106962   Nissan       MURANO              ALBUQERQUE                NM
98178   5N1AZ2BJ7LN107027   Nissan       MURANO              LOS ANGELES               CA
98179   5N1AZ2BJ7LN107030   Nissan       MURANO              PENSACOLA                 FL
98180   5N1AZ2BJ7LN107075   Nissan       MURANO              FORT LAUDERDALE           FL
98181   5N1AZ2BJ7LN107092   Nissan       MURANO              SAN JOSE                  CA
98182   5N1AZ2BJ7LN107108   Nissan       MURANO              ORLANDO                   FL
98183   5N1AZ2BJ7LN107125   Nissan       MURANO              COLUMBUS                  OH
98184   5N1AZ2BJ7LN107139   Nissan       MURANO              ORLANDO                   FL
98185   5N1AZ2BJ7LN107304   Nissan       MURANO              Atlanta                   GA
98186   5N1AZ2BJ7LN107433   Nissan       MURANO              WEST PALM BEACH           FL
98187   5N1AZ2BJ7LN121252   Nissan       MURANO              LOS ANGELES               CA
98188   5N1AZ2BJ7LN121607   Nissan       MURANO              SAN DIEGO                 CA
98189   5N1AZ2BJ7LN121686   Nissan       MURANO              LA HABRA                  CA
98190   5N1AZ2BJ7LN121929   Nissan       MURANO              SAN DIEGO                 US
98191   5N1AZ2BJ7LN122188   Nissan       MURANO              LOS ANGELES AP            CA
98192   5N1AZ2BJ7LN122269   Nissan       MURANO              LAS VEGAS                 NV
98193   5N1AZ2BJ7LN122370   Nissan       MURANO              PHOENIX                   AZ
98194   5N1AZ2BJ7LN122787   Nissan       MURANO              ONTARIO                   CA
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98195   5N1AZ2BJ7LN122790   Nissan       MURANO              ORLANDO                   FL
98196   5N1AZ2BJ7LN123356   Nissan       MURANO              SACRAMENTO                CA
98197   5N1AZ2BJ7LN123390   Nissan       MURANO              BURBANK                   CA
98198   5N1AZ2BJ7LN123485   Nissan       MURANO              Buena Park                CA
98199   5N1AZ2BJ7LN129660   Nissan       MURANO              TAMPA                     FL
98200   5N1AZ2BJ7LN131327   Nissan       MURANO              WEST PALM BEACH           FL
98201   5N1AZ2BJ7LN131649   Nissan       MURANO              ORLANDO                   FL
98202   5N1AZ2BJ7LN134874   Nissan       MURANO              TAMPA                     FL
98203   5N1AZ2BJ7LN135765   Nissan       MURANO              FORT MYERS                FL
98204   5N1AZ2BJ7LN135796   Nissan       MURANO              FORT MYERS                FL
98205   5N1AZ2BJ7LN135863   Nissan       MURANO              FORT MYERS                FL
98206   5N1AZ2BJ7LN135877   Nissan       MURANO              FORT MYERS                FL
98207   5N1AZ2BJ7LN136222   Nissan       MURANO              FORT MYERS                FL
98208   5N1AZ2BJ7LN136785   Nissan       MURANO              KENNER                    LA
98209   5N1AZ2BJ7LN136849   Nissan       MURANO              Atlanta                   GA
98210   5N1AZ2BJ7LN136883   Nissan       MURANO              MILWAUKEE                 WI
98211   5N1AZ2BJ7LN137032   Nissan       MURANO              MIAMI                     FL
98212   5N1AZ2BJ7LN137130   Nissan       MURANO              CHARLESTON                SC
98213   5N1AZ2BJ7LN137158   Nissan       MURANO              ORLANDO                   FL
98214   5N1AZ2BJ7LN137189   Nissan       MURANO              KNOXVILLE                 TN
98215   5N1AZ2BJ7LN137516   Nissan       MURANO              NASHVILLE                 TN
98216   5N1AZ2BJ7LN137824   Nissan       MURANO              GRAND RAPIDS              MI
98217   5N1AZ2BJ7LN138665   Nissan       MURANO              Irving                    TX
98218   5N1AZ2BJ7LN139895   Nissan       MURANO              HOUSTON                   TX
98219   5N1AZ2BJ7LN139993   Nissan       MURANO              FORT MYERS                FL
98220   5N1AZ2BJ7LN140156   Nissan       MURANO              HOUSTON                   TX
98221   5N1AZ2BJ7LN140173   Nissan       MURANO              DALLAS                    TX
98222   5N1AZ2BJ7LN140447   Nissan       MURANO              INDIANAPOLIS              IN
98223   5N1AZ2BJ7LN140674   Nissan       MURANO              DALLAS                    TX
98224   5N1AZ2BJ7LN140724   Nissan       MURANO              KNOXVILLE                 TN
98225   5N1AZ2BJ7LN140951   Nissan       MURANO              Dallas                    TX
98226   5N1AZ2BJ7LN144076   Nissan       MURANO              WEST PALM BEACH           FL
98227   5N1AZ2BJ7LN144269   Nissan       MURANO              SAN ANTONIO               TX
98228   5N1AZ2BJ7LN144370   Nissan       MURANO              DALLAS                    TX
98229   5N1AZ2BJ7LN144482   Nissan       MURANO              DALLAS                    TX
98230   5N1AZ2BJ7LN144546   Nissan       MURANO              SAN ANTONIO               TX
98231   5N1AZ2BJ7LN144563   Nissan       MURANO              LAS VEGAS                 NV
98232   5N1AZ2BJ7LN144837   Nissan       MURANO              UNION CITY                GA
98233   5N1AZ2BJ7LN144899   Nissan       MURANO              ATLANTA                   GA
98234   5N1AZ2BJ7LN144904   Nissan       MURANO              ATLANTA                   GA
98235   5N1AZ2BJ7LN144935   Nissan       MURANO              BURBANK                   CA
98236   5N1AZ2BJ7LN145177   Nissan       MURANO              LAS VEGAS                 NV
98237   5N1AZ2BJ7LN145227   Nissan       MURANO              NEWPORT BEACH             CA
98238   5N1AZ2BJ7LN145261   Nissan       MURANO              Atlanta                   GA
98239   5N1AZ2BJ7LN145275   Nissan       MURANO              BURBANK                   CA
98240   5N1AZ2BJ7LN145373   Nissan       MURANO              SAN ANTONIO               TX
98241   5N1AZ2BJ7LN145843   Nissan       MURANO              LAS VEGAS                 NV
98242   5N1AZ2BJ7LN145888   Nissan       MURANO              SAN ANTONIO               TX
98243   5N1AZ2BJ7LN146359   Nissan       MURANO              Irving                    TX
98244   5N1AZ2BJ7LN146362   Nissan       MURANO              LAS VEGAS                 NV
98245   5N1AZ2BJ7LN146703   Nissan       MURANO              DALLAS                    TX
98246   5N1AZ2BJ7LN146717   Nissan       MURANO              MEMPHIS                   TN
98247   5N1AZ2BJ7LN148046   Nissan       MURANO              MEMPHIS                   TN
98248   5N1AZ2BJ7LN148516   Nissan       MURANO              Dallas                    TX
98249   5N1AZ2BJ7LN149634   Nissan       MURANO              ATLANTA                   GA
98250   5N1AZ2BJ7LN149682   Nissan       MURANO              SAN ANTONIO               TX
98251   5N1AZ2BJ7LN150007   Nissan       MURANO              SAN ANTONIO               TX
98252   5N1AZ2BJ7LN150122   Nissan       MURANO              MEMPHIS                   TN
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98253   5N1AZ2BJ8LN100068   Nissan       MURANO              Tampa                     FL
98254   5N1AZ2BJ8LN100071   Nissan       MURANO              STERLING                  VA
98255   5N1AZ2BJ8LN100085   Nissan       MURANO              ORLANDO                   FL
98256   5N1AZ2BJ8LN100216   Nissan       MURANO              COLLEGE PARK              GA
98257   5N1AZ2BJ8LN100247   Nissan       MURANO              BROOKLYN                  NY
98258   5N1AZ2BJ8LN100250   Nissan       MURANO              ORLANDO                   FL
98259   5N1AZ2BJ8LN100345   Nissan       MURANO              ORLANDO                   FL
98260   5N1AZ2BJ8LN100376   Nissan       MURANO              Miami                     FL
98261   5N1AZ2BJ8LN100569   Nissan       MURANO              WEST PALM BEACH           FL
98262   5N1AZ2BJ8LN100572   Nissan       MURANO              DALLAS                    TX
98263   5N1AZ2BJ8LN100636   Nissan       MURANO              HOUSTON                   TX
98264   5N1AZ2BJ8LN100653   Nissan       MURANO              CLEVELAND                 OH
98265   5N1AZ2BJ8LN100667   Nissan       MURANO              CLEVELAND                 OH
98266   5N1AZ2BJ8LN100670   Nissan       MURANO              Atlanta                   GA
98267   5N1AZ2BJ8LN100698   Nissan       MURANO              ORLANDO                   FL
98268   5N1AZ2BJ8LN100717   Nissan       MURANO              WARWICK                   RI
98269   5N1AZ2BJ8LN100720   Nissan       MURANO              RICHMOND                  VA
98270   5N1AZ2BJ8LN100748   Nissan       MURANO              ATLANTA                   GA
98271   5N1AZ2BJ8LN100815   Nissan       MURANO              HARRISBURG                PA
98272   5N1AZ2BJ8LN100832   Nissan       MURANO              SAN FRANCISCO             CA
98273   5N1AZ2BJ8LN100863   Nissan       MURANO              DALLAS                    TX
98274   5N1AZ2BJ8LN100880   Nissan       MURANO              WEST PALM BEACH           FL
98275   5N1AZ2BJ8LN100930   Nissan       MURANO              JACKSONVILLE              FL
98276   5N1AZ2BJ8LN101110   Nissan       MURANO              COLLEGE PARK              GA
98277   5N1AZ2BJ8LN101124   Nissan       MURANO              NEW ORLEANS               LA
98278   5N1AZ2BJ8LN101155   Nissan       MURANO              TUCSON                    AZ
98279   5N1AZ2BJ8LN101222   Nissan       MURANO              KENNER                    LA
98280   5N1AZ2BJ8LN101253   Nissan       MURANO              JACKSONVILLE              FL
98281   5N1AZ2BJ8LN101270   Nissan       MURANO              MILWAUKEE                 WI
98282   5N1AZ2BJ8LN101317   Nissan       MURANO              ALBANY                    GA
98283   5N1AZ2BJ8LN101320   Nissan       MURANO              RONKONKOMA                NY
98284   5N1AZ2BJ8LN101334   Nissan       MURANO              SEATAC                    WA
98285   5N1AZ2BJ8LN101348   Nissan       MURANO              DALLAS                    TX
98286   5N1AZ2BJ8LN101365   Nissan       MURANO              MIAMI                     FL
98287   5N1AZ2BJ8LN101401   Nissan       MURANO              DALLAS                    TX
98288   5N1AZ2BJ8LN101429   Nissan       MURANO              PHILADELPHIA              PA
98289   5N1AZ2BJ8LN101530   Nissan       MURANO              TAMPA                     FL
98290   5N1AZ2BJ8LN101544   Nissan       MURANO              SAVANNAH                  GA
98291   5N1AZ2BJ8LN101561   Nissan       MURANO              ORLANDO                   FL
98292   5N1AZ2BJ8LN101768   Nissan       MURANO              WEST PALM BEACH           FL
98293   5N1AZ2BJ8LN101835   Nissan       MURANO              BUFFALO                   NY
98294   5N1AZ2BJ8LN101902   Nissan       MURANO              ALBUQUERQUE               NM
98295   5N1AZ2BJ8LN101947   Nissan       MURANO              JACKSON                   MS
98296   5N1AZ2BJ8LN101964   Nissan       MURANO              Oklahoma City             OK
98297   5N1AZ2BJ8LN102094   Nissan       MURANO              PHOENIX                   AZ
98298   5N1AZ2BJ8LN102239   Nissan       MURANO              DALLAS                    TX
98299   5N1AZ2BJ8LN102273   Nissan       MURANO              TULSA                     OK
98300   5N1AZ2BJ8LN102306   Nissan       MURANO              TULSA                     OK
98301   5N1AZ2BJ8LN102354   Nissan       MURANO              Tulsa                     OK
98302   5N1AZ2BJ8LN102368   Nissan       MURANO              TAMPA                     FL
98303   5N1AZ2BJ8LN102547   Nissan       MURANO              ORLANDO                   FL
98304   5N1AZ2BJ8LN102564   Nissan       MURANO              FORT MYERS                FL
98305   5N1AZ2BJ8LN102645   Nissan       MURANO              Austin                    TX
98306   5N1AZ2BJ8LN102659   Nissan       MURANO              AUSTIN                    TX
98307   5N1AZ2BJ8LN102810   Nissan       MURANO              RICHMOND                  VA
98308   5N1AZ2BJ8LN102824   Nissan       MURANO              MIAMI                     FL
98309   5N1AZ2BJ8LN102855   Nissan       MURANO              DALLAS                    TX
98310   5N1AZ2BJ8LN103116   Nissan       MURANO              FORT MYERS                FL
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98311   5N1AZ2BJ8LN103133   Nissan       MURANO              HOUSTON                   TX
98312   5N1AZ2BJ8LN103214   Nissan       MURANO              TAMPA                     FL
98313   5N1AZ2BJ8LN103259   Nissan       MURANO              AUSTIN                    TX
98314   5N1AZ2BJ8LN103293   Nissan       MURANO              HOUSTON                   TX
98315   5N1AZ2BJ8LN103343   Nissan       MURANO              KEY WEST                  FL
98316   5N1AZ2BJ8LN103360   Nissan       MURANO              Dallas                    TX
98317   5N1AZ2BJ8LN103469   Nissan       MURANO              BIRMINGHAM                AL
98318   5N1AZ2BJ8LN103598   Nissan       MURANO              ORLANDO                   FL
98319   5N1AZ2BJ8LN103603   Nissan       MURANO              FORT MYERS                FL
98320   5N1AZ2BJ8LN103665   Nissan       MURANO              SAN ANTONIO               TX
98321   5N1AZ2BJ8LN103682   Nissan       MURANO              SAN ANTONIO               TX
98322   5N1AZ2BJ8LN103696   Nissan       MURANO              ATLANTA                   GA
98323   5N1AZ2BJ8LN103794   Nissan       MURANO              PHOENIX                   AZ
98324   5N1AZ2BJ8LN103973   Nissan       MURANO              DALLAS                    TX
98325   5N1AZ2BJ8LN104038   Nissan       MURANO              BIRMINGHAM                AL
98326   5N1AZ2BJ8LN104041   Nissan       MURANO              Miami                     FL
98327   5N1AZ2BJ8LN104153   Nissan       MURANO              BOSTON                    MA
98328   5N1AZ2BJ8LN104203   Nissan       MURANO              JACKSONVILLE              FL
98329   5N1AZ2BJ8LN104265   Nissan       MURANO              FORT LAUDERDALE           FL
98330   5N1AZ2BJ8LN104279   Nissan       MURANO              HOUSTON                   TX
98331   5N1AZ2BJ8LN104394   Nissan       MURANO              SAN ANTONIO               TX
98332   5N1AZ2BJ8LN104444   Nissan       MURANO              KNOXVILLE                 TN
98333   5N1AZ2BJ8LN104461   Nissan       MURANO              HOUSTON                   TX
98334   5N1AZ2BJ8LN104508   Nissan       MURANO              HOUSTON                   TX
98335   5N1AZ2BJ8LN104542   Nissan       MURANO              MIAMI                     FL
98336   5N1AZ2BJ8LN104573   Nissan       MURANO              JACKSONVILLE              FL
98337   5N1AZ2BJ8LN104606   Nissan       MURANO              WEST PALM BEACH           FL
98338   5N1AZ2BJ8LN104654   Nissan       MURANO              MEMPHIS                   TN
98339   5N1AZ2BJ8LN104735   Nissan       MURANO              BIRMINGHAM                AL
98340   5N1AZ2BJ8LN104749   Nissan       MURANO              NEWARK                    NJ
98341   5N1AZ2BJ8LN104752   Nissan       MURANO              CHARLOTTE                 NC
98342   5N1AZ2BJ8LN104850   Nissan       MURANO              MIAMI                     FL
98343   5N1AZ2BJ8LN104900   Nissan       MURANO              WEST PALM BEACH           FL
98344   5N1AZ2BJ8LN104959   Nissan       MURANO              COLLEGE PARK              GA
98345   5N1AZ2BJ8LN104962   Nissan       MURANO              WICHITA FALLS             TX
98346   5N1AZ2BJ8LN105027   Nissan       MURANO              Atlanta                   GA
98347   5N1AZ2BJ8LN105044   Nissan       MURANO              ORLANDO                   FL
98348   5N1AZ2BJ8LN105061   Nissan       MURANO              ATLANTA                   GA
98349   5N1AZ2BJ8LN105111   Nissan       MURANO              LAS VEGAS                 NV
98350   5N1AZ2BJ8LN105139   Nissan       MURANO              CHICAGO                   IL
98351   5N1AZ2BJ8LN105142   Nissan       MURANO              BIRMINGHAM                AL
98352   5N1AZ2BJ8LN105156   Nissan       MURANO              PHOENIX                   AZ
98353   5N1AZ2BJ8LN105318   Nissan       MURANO              KENNER                    LA
98354   5N1AZ2BJ8LN105335   Nissan       MURANO              HOUSTON                   TX
98355   5N1AZ2BJ8LN105366   Nissan       MURANO              CHARLESTON                SC
98356   5N1AZ2BJ8LN105397   Nissan       MURANO              ONTARIO, RIVERSIDE        CA
98357   5N1AZ2BJ8LN105481   Nissan       MURANO              HOUSTON                   TX
98358   5N1AZ2BJ8LN105495   Nissan       MURANO              SAN ANTONIO               TX
98359   5N1AZ2BJ8LN105559   Nissan       MURANO              ORLANDO                   FL
98360   5N1AZ2BJ8LN105609   Nissan       MURANO              PHOENIX                   AZ
98361   5N1AZ2BJ8LN105626   Nissan       MURANO              TAMPA                     FL
98362   5N1AZ2BJ8LN105643   Nissan       MURANO              FORT MYERS                FL
98363   5N1AZ2BJ8LN105657   Nissan       MURANO              MIAMI                     FL
98364   5N1AZ2BJ8LN105660   Nissan       MURANO              KENNER                    LA
98365   5N1AZ2BJ8LN105688   Nissan       MURANO              KNOXVILLE                 TN
98366   5N1AZ2BJ8LN105724   Nissan       MURANO              HOUSTON                   TX
98367   5N1AZ2BJ8LN105741   Nissan       MURANO              HOUSTON                   TX
98368   5N1AZ2BJ8LN105755   Nissan       MURANO              JACKSONVILLE              FL
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98369   5N1AZ2BJ8LN105805   Nissan       MURANO              REDDING                   CA
98370   5N1AZ2BJ8LN105819   Nissan       MURANO              FORT MYERS                FL
98371   5N1AZ2BJ8LN105917   Nissan       MURANO              CORPUS CHRISTI            TX
98372   5N1AZ2BJ8LN106033   Nissan       MURANO              Atlanta                   GA
98373   5N1AZ2BJ8LN106047   Nissan       MURANO              DALLAS                    TX
98374   5N1AZ2BJ8LN106050   Nissan       MURANO              AUSTIN                    TX
98375   5N1AZ2BJ8LN106114   Nissan       MURANO              HOUSTON                   TX
98376   5N1AZ2BJ8LN106209   Nissan       MURANO              HOUSTON                   TX
98377   5N1AZ2BJ8LN106226   Nissan       MURANO              HOUSTON                   TX
98378   5N1AZ2BJ8LN106260   Nissan       MURANO              MCALLEN                   TX
98379   5N1AZ2BJ8LN106291   Nissan       MURANO              Miami                     FL
98380   5N1AZ2BJ8LN106324   Nissan       MURANO              MANCHESTER                US
98381   5N1AZ2BJ8LN106405   Nissan       MURANO              MIAMI                     FL
98382   5N1AZ2BJ8LN106419   Nissan       MURANO              DALLAS                    TX
98383   5N1AZ2BJ8LN106484   Nissan       MURANO              Atlanta                   GA
98384   5N1AZ2BJ8LN106498   Nissan       MURANO              DANIA BEACH               FL
98385   5N1AZ2BJ8LN106601   Nissan       MURANO              FORT MYERS                FL
98386   5N1AZ2BJ8LN106694   Nissan       MURANO              LOS ANGELES               CA
98387   5N1AZ2BJ8LN106713   Nissan       MURANO              CHICAGO                   IL
98388   5N1AZ2BJ8LN106727   Nissan       MURANO              JACKSONVILLE              FL
98389   5N1AZ2BJ8LN106730   Nissan       MURANO              WEST PALM BEACH           FL
98390   5N1AZ2BJ8LN106808   Nissan       MURANO              Downey                    CA
98391   5N1AZ2BJ8LN106873   Nissan       MURANO              CHARLOTTE                 NC
98392   5N1AZ2BJ8LN106923   Nissan       MURANO              PHOENIX                   AZ
98393   5N1AZ2BJ8LN106940   Nissan       MURANO              BOSTON                    MA
98394   5N1AZ2BJ8LN106954   Nissan       MURANO              WEST PALM BEACH           FL
98395   5N1AZ2BJ8LN106999   Nissan       MURANO              DALLAS                    TX
98396   5N1AZ2BJ8LN107070   Nissan       MURANO              TAMPA                     FL
98397   5N1AZ2BJ8LN107344   Nissan       MURANO              ORLANDO                   FL
98398   5N1AZ2BJ8LN121258   Nissan       MURANO              SANTA ANA                 CA
98399   5N1AZ2BJ8LN121535   Nissan       MURANO              DES MOINES                IA
98400   5N1AZ2BJ8LN122121   Nissan       MURANO              PALM SPRINGS              CA
98401   5N1AZ2BJ8LN122135   Nissan       MURANO              SAN DIEGO                 US
98402   5N1AZ2BJ8LN122149   Nissan       MURANO              LAS VEGAS                 NV
98403   5N1AZ2BJ8LN122197   Nissan       MURANO              SAN JOSE                  CA
98404   5N1AZ2BJ8LN122362   Nissan       MURANO              SACRAMENTO                CA
98405   5N1AZ2BJ8LN122457   Nissan       MURANO              ONTARIO                   CA
98406   5N1AZ2BJ8LN122555   Nissan       MURANO              LOS ANGELES               CA
98407   5N1AZ2BJ8LN123348   Nissan       MURANO              SAN DIEGO                 CA
98408   5N1AZ2BJ8LN123365   Nissan       MURANO              LOS ANGELES               CA
98409   5N1AZ2BJ8LN128422   Nissan       MURANO              Tampa                     FL
98410   5N1AZ2BJ8LN128565   Nissan       MURANO              MIAMI                     FL
98411   5N1AZ2BJ8LN128758   Nissan       MURANO              TAMPA                     FL
98412   5N1AZ2BJ8LN128808   Nissan       MURANO              LOS ANGELES               CA
98413   5N1AZ2BJ8LN128954   Nissan       MURANO              TAMPA                     FL
98414   5N1AZ2BJ8LN129022   Nissan       MURANO              Miami                     FL
98415   5N1AZ2BJ8LN129151   Nissan       MURANO              SAINT LOUIS               MO
98416   5N1AZ2BJ8LN129330   Nissan       MURANO              BUFORD                    GA
98417   5N1AZ2BJ8LN130168   Nissan       MURANO              MIAMI                     FL
98418   5N1AZ2BJ8LN130459   Nissan       MURANO              LOS ANGELES               CA
98419   5N1AZ2BJ8LN131000   Nissan       MURANO              LAS VEGAS                 NV
98420   5N1AZ2BJ8LN133376   Nissan       MURANO              LOS ANGELES               CA
98421   5N1AZ2BJ8LN134236   Nissan       MURANO              LOS ANGELES               CA
98422   5N1AZ2BJ8LN134866   Nissan       MURANO              BURBANK                   CA
98423   5N1AZ2BJ8LN135192   Nissan       MURANO              ORLANDO                   FL
98424   5N1AZ2BJ8LN135323   Nissan       MURANO              HOUSTON                   TX
98425   5N1AZ2BJ8LN135760   Nissan       MURANO              ORLANDO                   FL
98426   5N1AZ2BJ8LN136178   Nissan       MURANO              ORLANDO                   FL
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98427   5N1AZ2BJ8LN136228   Nissan       MURANO              HOUSTON                   TX
98428   5N1AZ2BJ8LN136763   Nissan       MURANO              NEW ORLEANS               LA
98429   5N1AZ2BJ8LN136875   Nissan       MURANO              LOS ANGELES               CA
98430   5N1AZ2BJ8LN137167   Nissan       MURANO              JACKSON                   MS
98431   5N1AZ2BJ8LN137203   Nissan       MURANO              MILWAUKEE                 WI
98432   5N1AZ2BJ8LN137394   Nissan       MURANO              FORT MYERS                FL
98433   5N1AZ2BJ8LN137959   Nissan       MURANO              Jacksonville              FL
98434   5N1AZ2BJ8LN137976   Nissan       MURANO              FORT MYERS                FL
98435   5N1AZ2BJ8LN138724   Nissan       MURANO              DALLAS                    TX
98436   5N1AZ2BJ8LN139856   Nissan       MURANO              BIRMINGHAM                AL
98437   5N1AZ2BJ8LN140134   Nissan       MURANO              ATLANTA                   GA
98438   5N1AZ2BJ8LN140179   Nissan       MURANO              HOUSTON                   TX
98439   5N1AZ2BJ8LN140456   Nissan       MURANO              KANSAS CITY               MO
98440   5N1AZ2BJ8LN140523   Nissan       MURANO              HOUSTON                   TX
98441   5N1AZ2BJ8LN140733   Nissan       MURANO              DALLAS                    TX
98442   5N1AZ2BJ8LN142305   Nissan       MURANO              ORLANDO                   FL
98443   5N1AZ2BJ8LN142675   Nissan       MURANO              ORLANDO                   FL
98444   5N1AZ2BJ8LN144149   Nissan       MURANO              WEST PALM BEACH           FL
98445   5N1AZ2BJ8LN144278   Nissan       MURANO              Irving                    TX
98446   5N1AZ2BJ8LN144426   Nissan       MURANO              HOUSTON                   TX
98447   5N1AZ2BJ8LN144555   Nissan       MURANO              LAS VEGAS                 NV
98448   5N1AZ2BJ8LN144569   Nissan       MURANO              LAS VEGAS                 NV
98449   5N1AZ2BJ8LN144586   Nissan       MURANO              DALLAS                    TX
98450   5N1AZ2BJ8LN144670   Nissan       MURANO              DALLAS                    TX
98451   5N1AZ2BJ8LN144877   Nissan       MURANO              ATLANTA                   GA
98452   5N1AZ2BJ8LN144944   Nissan       MURANO              DALLAS                    TX
98453   5N1AZ2BJ8LN144958   Nissan       MURANO              LOS ANGELES               CA
98454   5N1AZ2BJ8LN145091   Nissan       MURANO              DALLAS                    TX
98455   5N1AZ2BJ8LN145219   Nissan       MURANO              SANTA ANA                 CA
98456   5N1AZ2BJ8LN145298   Nissan       MURANO              SANTA ANA                 CA
98457   5N1AZ2BJ8LN145382   Nissan       MURANO              MEMPHIS                   TN
98458   5N1AZ2BJ8LN145768   Nissan       MURANO              DALLAS                    TX
98459   5N1AZ2BJ8LN145799   Nissan       MURANO              JACKSONVILLE              FL
98460   5N1AZ2BJ8LN145804   Nissan       MURANO              ATLANTA                   GA
98461   5N1AZ2BJ8LN145950   Nissan       MURANO              LAS VEGAS                 NV
98462   5N1AZ2BJ8LN146158   Nissan       MURANO              COLLEGE PARK              GA
98463   5N1AZ2BJ8LN146368   Nissan       MURANO              SANTA ANA                 CA
98464   5N1AZ2BJ8LN146547   Nissan       MURANO              Dallas                    TX
98465   5N1AZ2BJ8LN147049   Nissan       MURANO              AUSTIN                    TX
98466   5N1AZ2BJ8LN147164   Nissan       MURANO              SANTA ANA                 CA
98467   5N1AZ2BJ8LN147293   Nissan       MURANO              SANTA ANA                 CA
98468   5N1AZ2BJ8LN147360   Nissan       MURANO              LOS ANGELES               CA
98469   5N1AZ2BJ8LN148167   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
98470   5N1AZ2BJ8LN148363   Nissan       MURANO              MEMPHIS                   TN
98471   5N1AZ2BJ8LN148573   Nissan       MURANO              Dallas                    TX
98472   5N1AZ2BJ8LN149206   Nissan       MURANO              ATLANTA                   GA
98473   5N1AZ2BJ8LN149626   Nissan       MURANO              ATLANTA                   GA
98474   5N1AZ2BJ8LN149724   Nissan       MURANO              ATLANTA                   GA
98475   5N1AZ2BJ8LN149805   Nissan       MURANO              SAN ANTONIO               TX
98476   5N1AZ2BJ8LN150064   Nissan       MURANO              MEMPHIS                   TN
98477   5N1AZ2BJ8LN150095   Nissan       MURANO              Dallas                    TX
98478   5N1AZ2BJ8LN150100   Nissan       MURANO              BURBANK                   CA
98479   5N1AZ2BJ9LN100080   Nissan       MURANO              Atlanta                   GA
98480   5N1AZ2BJ9LN100094   Nissan       MURANO              Atlanta                   GA
98481   5N1AZ2BJ9LN100113   Nissan       MURANO              TAMPA                     FL
98482   5N1AZ2BJ9LN100242   Nissan       MURANO              JACKSONVILLE              FL
98483   5N1AZ2BJ9LN100287   Nissan       MURANO              FORT MYERS                FL
98484   5N1AZ2BJ9LN100368   Nissan       MURANO              KENNER                    LA
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98485   5N1AZ2BJ9LN100404   Nissan       MURANO              WEST COLUMBIA             SC
98486   5N1AZ2BJ9LN100466   Nissan       MURANO              FORT LAUDERDALE           FL
98487   5N1AZ2BJ9LN100483   Nissan       MURANO              Atlanta                   GA
98488   5N1AZ2BJ9LN100564   Nissan       MURANO              DALLAS                    TX
98489   5N1AZ2BJ9LN100578   Nissan       MURANO              AUSTIN                    TX
98490   5N1AZ2BJ9LN100581   Nissan       MURANO              WARWICK                   RI
98491   5N1AZ2BJ9LN100628   Nissan       MURANO              JACKSONVILLE              FL
98492   5N1AZ2BJ9LN100693   Nissan       MURANO              SARASOTA                  FL
98493   5N1AZ2BJ9LN100726   Nissan       MURANO              SYRACUSE                  NY
98494   5N1AZ2BJ9LN100791   Nissan       MURANO              KNOXVILLE                 TN
98495   5N1AZ2BJ9LN100838   Nissan       MURANO              ORLANDO                   FL
98496   5N1AZ2BJ9LN100886   Nissan       MURANO              TAMPA                     FL
98497   5N1AZ2BJ9LN100905   Nissan       MURANO              ATLANTA                   GA
98498   5N1AZ2BJ9LN100922   Nissan       MURANO              MIAMI                     FL
98499   5N1AZ2BJ9LN100970   Nissan       MURANO              WEST COLUMBIA             SC
98500   5N1AZ2BJ9LN100984   Nissan       MURANO              TAMPA                     FL
98501   5N1AZ2BJ9LN101035   Nissan       MURANO              FORT MYERS                FL
98502   5N1AZ2BJ9LN101116   Nissan       MURANO              TAMPA                     FL
98503   5N1AZ2BJ9LN101147   Nissan       MURANO              PHOENIX                   AZ
98504   5N1AZ2BJ9LN101195   Nissan       MURANO              Atlanta                   GA
98505   5N1AZ2BJ9LN101200   Nissan       MURANO              FORT MYERS                FL
98506   5N1AZ2BJ9LN101214   Nissan       MURANO              CHICAGO                   IL
98507   5N1AZ2BJ9LN101245   Nissan       MURANO              ORLANDO                   FL
98508   5N1AZ2BJ9LN101357   Nissan       MURANO              WEST COLUMBIA             SC
98509   5N1AZ2BJ9LN101391   Nissan       MURANO              ORLANDO                   FL
98510   5N1AZ2BJ9LN101424   Nissan       MURANO              HOUSTON                   TX
98511   5N1AZ2BJ9LN101469   Nissan       MURANO              ROCHESTER                 NY
98512   5N1AZ2BJ9LN101522   Nissan       MURANO              PHOENIX                   AZ
98513   5N1AZ2BJ9LN101536   Nissan       MURANO              TAMPA                     FL
98514   5N1AZ2BJ9LN101651   Nissan       MURANO              JACKSONVILLE              FL
98515   5N1AZ2BJ9LN101679   Nissan       MURANO              DALLAS                    TX
98516   5N1AZ2BJ9LN101729   Nissan       MURANO              TAMPA                     FL
98517   5N1AZ2BJ9LN101746   Nissan       MURANO              HOUSTON                   TX
98518   5N1AZ2BJ9LN102170   Nissan       MURANO              LAS VEGAS                 NV
98519   5N1AZ2BJ9LN102377   Nissan       MURANO              TAMPA                     FL
98520   5N1AZ2BJ9LN102458   Nissan       MURANO              BIRMINGHAM                AL
98521   5N1AZ2BJ9LN102525   Nissan       MURANO              DALLAS                    TX
98522   5N1AZ2BJ9LN103027   Nissan       MURANO              CORPUS CHRISTI            TX
98523   5N1AZ2BJ9LN103044   Nissan       MURANO              COLUMBIA                  SC
98524   5N1AZ2BJ9LN103089   Nissan       MURANO              WICHITA FALLS             TX
98525   5N1AZ2BJ9LN103173   Nissan       MURANO              AUSTIN                    TX
98526   5N1AZ2BJ9LN103187   Nissan       MURANO              Leesburg                  VA
98527   5N1AZ2BJ9LN103318   Nissan       MURANO              HOUSTON                   TX
98528   5N1AZ2BJ9LN103352   Nissan       MURANO              DANIA BEACH               FL
98529   5N1AZ2BJ9LN103528   Nissan       MURANO              WARWICK                   RI
98530   5N1AZ2BJ9LN103562   Nissan       MURANO              ORLANDO                   FL
98531   5N1AZ2BJ9LN103657   Nissan       MURANO              HANOVER                   MD
98532   5N1AZ2BJ9LN103819   Nissan       MURANO              ORLANDO                   FL
98533   5N1AZ2BJ9LN103867   Nissan       MURANO              TAMPA                     FL
98534   5N1AZ2BJ9LN103917   Nissan       MURANO              CLEVELAND                 OH
98535   5N1AZ2BJ9LN103934   Nissan       MURANO              TULSA                     OK
98536   5N1AZ2BJ9LN103996   Nissan       MURANO              DALLAS                    TX
98537   5N1AZ2BJ9LN104016   Nissan       MURANO              ORLANDO                   FL
98538   5N1AZ2BJ9LN104047   Nissan       MURANO              CHICAGO                   IL
98539   5N1AZ2BJ9LN104100   Nissan       MURANO              AUSTIN                    TX
98540   5N1AZ2BJ9LN104131   Nissan       MURANO              SAINT LOUIS               MO
98541   5N1AZ2BJ9LN104145   Nissan       MURANO              AUSTIN                    TX
98542   5N1AZ2BJ9LN104176   Nissan       MURANO              AUSTIN                    TX
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98543   5N1AZ2BJ9LN104226   Nissan       MURANO              Atlanta                   GA
98544   5N1AZ2BJ9LN104257   Nissan       MURANO              SOUTH SAN FRANC           CA
98545   5N1AZ2BJ9LN104260   Nissan       MURANO              SAINT PAUL                MN
98546   5N1AZ2BJ9LN104291   Nissan       MURANO              Atlanta                   GA
98547   5N1AZ2BJ9LN104307   Nissan       MURANO              CLEVELAND                 OH
98548   5N1AZ2BJ9LN104338   Nissan       MURANO              Atlanta                   GA
98549   5N1AZ2BJ9LN104436   Nissan       MURANO              HOUSTON                   TX
98550   5N1AZ2BJ9LN104551   Nissan       MURANO              WEST COLUMBIA             SC
98551   5N1AZ2BJ9LN104680   Nissan       MURANO              NASHVILLE                 TN
98552   5N1AZ2BJ9LN104730   Nissan       MURANO              BOSTON                    MA
98553   5N1AZ2BJ9LN104744   Nissan       MURANO              DALLAS                    TX
98554   5N1AZ2BJ9LN104758   Nissan       MURANO              CATONSVILLE               MD
98555   5N1AZ2BJ9LN104789   Nissan       MURANO              TAMPA                     FL
98556   5N1AZ2BJ9LN104792   Nissan       MURANO              MILWAUKEE                 WI
98557   5N1AZ2BJ9LN104811   Nissan       MURANO              TAMPA                     FL
98558   5N1AZ2BJ9LN104839   Nissan       MURANO              COLLEGE PARK              GA
98559   5N1AZ2BJ9LN104873   Nissan       MURANO              COLLEGE PARK              GA
98560   5N1AZ2BJ9LN104906   Nissan       MURANO              PHILADELPHIA              PA
98561   5N1AZ2BJ9LN105084   Nissan       MURANO              BIRMINGHAM                AL
98562   5N1AZ2BJ9LN105098   Nissan       MURANO              FORT MYERS                FL
98563   5N1AZ2BJ9LN105117   Nissan       MURANO              ORLANDO                   FL
98564   5N1AZ2BJ9LN105148   Nissan       MURANO              ATLANTA                   GA
98565   5N1AZ2BJ9LN105165   Nissan       MURANO              ATLANTA                   GA
98566   5N1AZ2BJ9LN105215   Nissan       MURANO              MIAMI                     FL
98567   5N1AZ2BJ9LN105232   Nissan       MURANO              SAINT LOUIS               MO
98568   5N1AZ2BJ9LN105263   Nissan       MURANO              DALLAS                    TX
98569   5N1AZ2BJ9LN105313   Nissan       MURANO              ORLANDO                   FL
98570   5N1AZ2BJ9LN105344   Nissan       MURANO              SACRAMENTO                CA
98571   5N1AZ2BJ9LN105408   Nissan       MURANO              NORFOLK                   VA
98572   5N1AZ2BJ9LN105585   Nissan       MURANO              HOUSTON                   TX
98573   5N1AZ2BJ9LN105621   Nissan       MURANO              ATLANTA                   GA
98574   5N1AZ2BJ9LN105652   Nissan       MURANO              SHREVEPORT                LA
98575   5N1AZ2BJ9LN105702   Nissan       MURANO              BEAUMONT                  TX
98576   5N1AZ2BJ9LN105747   Nissan       MURANO              ORLANDO                   FL
98577   5N1AZ2BJ9LN105764   Nissan       MURANO              DALLAS                    TX
98578   5N1AZ2BJ9LN105778   Nissan       MURANO              CORPUS CHRISTI            TX
98579   5N1AZ2BJ9LN105814   Nissan       MURANO              AUSTIN                    TX
98580   5N1AZ2BJ9LN105909   Nissan       MURANO              PITTSBURGH                PA
98581   5N1AZ2BJ9LN105943   Nissan       MURANO              AUSTIN                    TX
98582   5N1AZ2BJ9LN105988   Nissan       MURANO              Marietta                  GA
98583   5N1AZ2BJ9LN106039   Nissan       MURANO              HOUSTON                   TX
98584   5N1AZ2BJ9LN106056   Nissan       MURANO              Grand Prairie             TX
98585   5N1AZ2BJ9LN106204   Nissan       MURANO              JACKSONVILLE              FL
98586   5N1AZ2BJ9LN106252   Nissan       MURANO              BOSTON                    MA
98587   5N1AZ2BJ9LN106297   Nissan       MURANO              PHOENIX                   AZ
98588   5N1AZ2BJ9LN106302   Nissan       MURANO              SHREVEPORT                LA
98589   5N1AZ2BJ9LN106316   Nissan       MURANO              HOUSTON                   TX
98590   5N1AZ2BJ9LN106378   Nissan       MURANO              FORT LAUDERDALE           FL
98591   5N1AZ2BJ9LN106428   Nissan       MURANO              HOUSTON                   TX
98592   5N1AZ2BJ9LN106459   Nissan       MURANO              PHOENIX                   AZ
98593   5N1AZ2BJ9LN106493   Nissan       MURANO              SAN ANTONIO               TX
98594   5N1AZ2BJ9LN106512   Nissan       MURANO              HOUSTON                   TX
98595   5N1AZ2BJ9LN106641   Nissan       MURANO              ORLANDO                   FL
98596   5N1AZ2BJ9LN106719   Nissan       MURANO              DALLAS                    TX
98597   5N1AZ2BJ9LN106722   Nissan       MURANO              HOUSTON                   TX
98598   5N1AZ2BJ9LN106767   Nissan       MURANO              FORT LAUDERDALE           FL
98599   5N1AZ2BJ9LN106770   Nissan       MURANO              KEY WEST                  FL
98600   5N1AZ2BJ9LN106784   Nissan       MURANO              PHOENIX                   AZ
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98601   5N1AZ2BJ9LN106879   Nissan       MURANO              SACRAMENTO                CA
98602   5N1AZ2BJ9LN106901   Nissan       MURANO              SOUTH SAN FRANC           CA
98603   5N1AZ2BJ9LN106963   Nissan       MURANO              OAKLAND                   CA
98604   5N1AZ2BJ9LN106980   Nissan       MURANO              PHOENIX                   AZ
98605   5N1AZ2BJ9LN107031   Nissan       MURANO              DULUTH                    GA
98606   5N1AZ2BJ9LN107059   Nissan       MURANO              TAMPA                     FL
98607   5N1AZ2BJ9LN107143   Nissan       MURANO              BUFFALO                   NY
98608   5N1AZ2BJ9LN121477   Nissan       MURANO              ONTARIO                   CA
98609   5N1AZ2BJ9LN121530   Nissan       MURANO              SAN DIEGO                 CA
98610   5N1AZ2BJ9LN121558   Nissan       MURANO              LAS VEGAS                 NV
98611   5N1AZ2BJ9LN121575   Nissan       MURANO              LAS VEGAS                 NV
98612   5N1AZ2BJ9LN121592   Nissan       MURANO              PALM SPRINGS              CA
98613   5N1AZ2BJ9LN121821   Nissan       MURANO              SACRAMENTO                CA
98614   5N1AZ2BJ9LN121947   Nissan       MURANO              San Diego                 CA
98615   5N1AZ2BJ9LN122161   Nissan       MURANO              LAS VEGAS                 NV
98616   5N1AZ2BJ9LN122337   Nissan       MURANO              LOS ANGELES               CA
98617   5N1AZ2BJ9LN122354   Nissan       MURANO              SAN JOSE                  CA
98618   5N1AZ2BJ9LN122368   Nissan       MURANO              SAN DIEGO                 CA
98619   5N1AZ2BJ9LN122533   Nissan       MURANO              SAN DIEGO                 CA
98620   5N1AZ2BJ9LN123343   Nissan       MURANO              COSTA MESA                CA
98621   5N1AZ2BJ9LN123360   Nissan       MURANO              SAN DIEGO                 CA
98622   5N1AZ2BJ9LN128848   Nissan       MURANO              LOS ANGELES AP            CA
98623   5N1AZ2BJ9LN128896   Nissan       MURANO              ASHEVILLE                 NC
98624   5N1AZ2BJ9LN128963   Nissan       MURANO              FORT LAUDERDALE           FL
98625   5N1AZ2BJ9LN130504   Nissan       MURANO              SAINT PAUL                MN
98626   5N1AZ2BJ9LN131796   Nissan       MURANO              LOS ANGELES               CA
98627   5N1AZ2BJ9LN131863   Nissan       MURANO              ROCHESTER                 NY
98628   5N1AZ2BJ9LN132981   Nissan       MURANO              LAS VEGAS                 NV
98629   5N1AZ2BJ9LN135119   Nissan       MURANO              LOS ANGELES               CA
98630   5N1AZ2BJ9LN136254   Nissan       MURANO              ORLANDO                   FL
98631   5N1AZ2BJ9LN136738   Nissan       MURANO              ORLANDO                   FL
98632   5N1AZ2BJ9LN137002   Nissan       MURANO              JACKSONVILLE              FL
98633   5N1AZ2BJ9LN137971   Nissan       MURANO              FORT LAUDERDALE           FL
98634   5N1AZ2BJ9LN138005   Nissan       MURANO              GAINESVILLE               FL
98635   5N1AZ2BJ9LN138439   Nissan       MURANO              UNION CITY                GA
98636   5N1AZ2BJ9LN138747   Nissan       MURANO              FORT MYERS                FL
98637   5N1AZ2BJ9LN138859   Nissan       MURANO              HOUSTON                   TX
98638   5N1AZ2BJ9LN139333   Nissan       MURANO              FORT MYERS                FL
98639   5N1AZ2BJ9LN140126   Nissan       MURANO              NEW BERN                  NC
98640   5N1AZ2BJ9LN140157   Nissan       MURANO              HOUSTON                   TX
98641   5N1AZ2BJ9LN140191   Nissan       MURANO              KNOXVILLE                 TN
98642   5N1AZ2BJ9LN140420   Nissan       MURANO              DALLAS                    TX
98643   5N1AZ2BJ9LN140448   Nissan       MURANO              MEMPHIS                   TN
98644   5N1AZ2BJ9LN140644   Nissan       MURANO              MEMPHIS                   TN
98645   5N1AZ2BJ9LN140711   Nissan       MURANO              DALLAS                    TX
98646   5N1AZ2BJ9LN141115   Nissan       MURANO              FORT MYERS                FL
98647   5N1AZ2BJ9LN142524   Nissan       MURANO              TAMPA                     FL
98648   5N1AZ2BJ9LN142667   Nissan       MURANO              MIAMI                     FL
98649   5N1AZ2BJ9LN142684   Nissan       MURANO              TAMPA                     FL
98650   5N1AZ2BJ9LN144340   Nissan       MURANO              DALLAS                    TX
98651   5N1AZ2BJ9LN144581   Nissan       MURANO              SAN ANTONIO               TX
98652   5N1AZ2BJ9LN144970   Nissan       MURANO              LOS ANGELES               CA
98653   5N1AZ2BJ9LN145200   Nissan       MURANO              LAS VEGAS                 NV
98654   5N1AZ2BJ9LN145259   Nissan       MURANO              ATLANTA                   GA
98655   5N1AZ2BJ9LN145293   Nissan       MURANO              BURBANK                   CA
98656   5N1AZ2BJ9LN145309   Nissan       MURANO              SAN DIEGO                 CA
98657   5N1AZ2BJ9LN145326   Nissan       MURANO              HOUSTON                   TX
98658   5N1AZ2BJ9LN145357   Nissan       MURANO              SANTA ANA                 CA
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98659   5N1AZ2BJ9LN145813   Nissan       MURANO              RICHMOND                  VA
98660   5N1AZ2BJ9LN145844   Nissan       MURANO              ATLANTA                   GA
98661   5N1AZ2BJ9LN145942   Nissan       MURANO              SAN ANTONIO               TX
98662   5N1AZ2BJ9LN145956   Nissan       MURANO              LAS VEGAS                 NV
98663   5N1AZ2BJ9LN145990   Nissan       MURANO              DALLAS                    TX
98664   5N1AZ2BJ9LN146220   Nissan       MURANO              Atlanta                   GA
98665   5N1AZ2BJ9LN146296   Nissan       MURANO              MEMPHIS                   TN
98666   5N1AZ2BJ9LN146492   Nissan       MURANO              DALLAS                    TX
98667   5N1AZ2BJ9LN146654   Nissan       MURANO              SANTA ANA                 CA
98668   5N1AZ2BJ9LN146668   Nissan       MURANO              DALLAS                    TX
98669   5N1AZ2BJ9LN147240   Nissan       MURANO              BURBANK                   CA
98670   5N1AZ2BJ9LN147254   Nissan       MURANO              BURBANK                   CA
98671   5N1AZ2BJ9LN147285   Nissan       MURANO              SANTA ANA                 CA
98672   5N1AZ2BJ9LN147299   Nissan       MURANO              SANTA ANA                 CA
98673   5N1AZ2BJ9LN147366   Nissan       MURANO              LOS ANGELES               CA
98674   5N1AZ2BJ9LN147853   Nissan       MURANO              Dallas                    TX
98675   5N1AZ2BJ9LN147996   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
98676   5N1AZ2BJ9LN148453   Nissan       MURANO              NEWPORT BEACH             CA
98677   5N1AZ2BJ9LN148548   Nissan       MURANO              Dallas                    TX
98678   5N1AZ2BJ9LN148551   Nissan       MURANO              SAN ANTONIO               TX
98679   5N1AZ2BJ9LN148565   Nissan       MURANO              SAN ANTONIO               TX
98680   5N1AZ2BJ9LN148842   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
98681   5N1AZ2BJ9LN148856   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
98682   5N1AZ2BJ9LN148906   Nissan       MURANO              SANTA ANA                 CA
98683   5N1AZ2BJ9LN149117   Nissan       MURANO              MEMPHIS                   TN
98684   5N1AZ2BJ9LN149974   Nissan                           SAN ANTONIO               TX
98685   5N1AZ2BJ9LN150042   Nissan       MURANO              SAN ANTONIO               TX
98686   5N1AZ2BJ9LN150073   Nissan                           LOS ANGELES               CA
98687   5N1AZ2BJ9LN150087   Nissan       MURANO              SANTA ANA                 CA
98688   5N1AZ2BJ9LN150106   Nissan       MURANO              SANTA ANA                 CA
98689   5N1AZ2BJXLN100069   Nissan       MURANO              FORT MYERS                FL
98690   5N1AZ2BJXLN100220   Nissan       MURANO              TAMPA                     FL
98691   5N1AZ2BJXLN100377   Nissan       MURANO              WARWICK                   RI
98692   5N1AZ2BJXLN100380   Nissan       MURANO              FORT LAUDERDALE           FL
98693   5N1AZ2BJXLN100427   Nissan       MURANO              COLLEGE PARK              GA
98694   5N1AZ2BJXLN100461   Nissan       MURANO              JACKSONVILLE              FL
98695   5N1AZ2BJXLN100489   Nissan       MURANO              AUSTIN                    TX
98696   5N1AZ2BJXLN100654   Nissan       MURANO              TAMPA                     FL
98697   5N1AZ2BJXLN100735   Nissan       MURANO              Atlanta                   GA
98698   5N1AZ2BJXLN100752   Nissan       MURANO              COLUMBIA                  SC
98699   5N1AZ2BJXLN100766   Nissan       MURANO              DALLAS                    TX
98700   5N1AZ2BJXLN100864   Nissan       MURANO              DALLAS                    TX
98701   5N1AZ2BJXLN100878   Nissan       MURANO              MIAMI                     FL
98702   5N1AZ2BJXLN100881   Nissan       MURANO              ORLANDO                   FL
98703   5N1AZ2BJXLN100895   Nissan       MURANO              ORLANDO                   FL
98704   5N1AZ2BJXLN100945   Nissan       MURANO              STERLING                  VA
98705   5N1AZ2BJXLN100962   Nissan       MURANO              MIAMI                     FL
98706   5N1AZ2BJXLN101027   Nissan       MURANO              HOUSTON                   TX
98707   5N1AZ2BJXLN101092   Nissan       MURANO              HOLLY HILL                FL
98708   5N1AZ2BJXLN101187   Nissan       MURANO              TUCSON                    AZ
98709   5N1AZ2BJXLN101190   Nissan       MURANO              RONKONKOMA                NY
98710   5N1AZ2BJXLN101206   Nissan       MURANO              HOUSTON                   TX
98711   5N1AZ2BJXLN101223   Nissan       MURANO              MIAMI                     FL
98712   5N1AZ2BJXLN101237   Nissan       MURANO              SAN ANTONIO               TX
98713   5N1AZ2BJXLN101335   Nissan       MURANO              LAS VEGAS                 NV
98714   5N1AZ2BJXLN101352   Nissan       MURANO              DALLAS                    TX
98715   5N1AZ2BJXLN101383   Nissan       MURANO              ORLANDO                   FL
98716   5N1AZ2BJXLN101397   Nissan       MURANO              LAS VEGAS                 NV
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98717   5N1AZ2BJXLN101402   Nissan       MURANO              OKLAHOMA CITY             OK
98718   5N1AZ2BJXLN101562   Nissan       MURANO              ORLANDO                   FL
98719   5N1AZ2BJXLN101593   Nissan       MURANO              SHREVEPORT                LA
98720   5N1AZ2BJXLN101609   Nissan       MURANO              TAMPA                     FL
98721   5N1AZ2BJXLN101612   Nissan       MURANO              DALLAS                    TX
98722   5N1AZ2BJXLN101643   Nissan       MURANO              ORLANDO                   FL
98723   5N1AZ2BJXLN101724   Nissan       MURANO              AUSTIN                    TX
98724   5N1AZ2BJXLN101741   Nissan       MURANO              ORLANDO                   FL
98725   5N1AZ2BJXLN101822   Nissan       MURANO              PHOENIX                   AZ
98726   5N1AZ2BJXLN102243   Nissan       MURANO              LITTLE ROCK               AR
98727   5N1AZ2BJXLN102341   Nissan       MURANO              KENNER                    LA
98728   5N1AZ2BJXLN102503   Nissan       MURANO              PHOENIX                   AZ
98729   5N1AZ2BJXLN102520   Nissan       MURANO              FORT MYERS                FL
98730   5N1AZ2BJXLN102551   Nissan       MURANO              FORT MYERS                FL
98731   5N1AZ2BJXLN102744   Nissan       MURANO              INDIANAPOLIS              IN
98732   5N1AZ2BJXLN102758   Nissan       MURANO              WEST PALM BEACH           FL
98733   5N1AZ2BJXLN102761   Nissan       MURANO              WEST PALM BEACH           FL
98734   5N1AZ2BJXLN102873   Nissan       MURANO              Little Rock               AR
98735   5N1AZ2BJXLN102940   Nissan       MURANO              AUSTIN                    TX
98736   5N1AZ2BJXLN102985   Nissan       MURANO              KANSAS CITY               MO
98737   5N1AZ2BJXLN103067   Nissan       MURANO              PHOENIX                   AZ
98738   5N1AZ2BJXLN103148   Nissan       MURANO              FORT MYERS                FL
98739   5N1AZ2BJXLN103277   Nissan       MURANO              HOUSTON                   TX
98740   5N1AZ2BJXLN103313   Nissan       MURANO              HOUSTON                   TX
98741   5N1AZ2BJXLN103358   Nissan       MURANO              MIAMI                     FL
98742   5N1AZ2BJXLN103408   Nissan       MURANO              SAN ANTONIO               TX
98743   5N1AZ2BJXLN103439   Nissan       MURANO              MIAMI                     FL
98744   5N1AZ2BJXLN103473   Nissan       MURANO              BIRMINGHAM                AL
98745   5N1AZ2BJXLN103568   Nissan       MURANO              ROANOKE                   VA
98746   5N1AZ2BJXLN103571   Nissan       MURANO              FORT LAUDERDALE           FL
98747   5N1AZ2BJXLN103666   Nissan       MURANO              KANSAS CITY               MO
98748   5N1AZ2BJXLN103845   Nissan       MURANO              ORLANDO                   FL
98749   5N1AZ2BJXLN103862   Nissan       MURANO              SAINT LOUIS               MO
98750   5N1AZ2BJXLN103943   Nissan       MURANO              SHREVEPORT                LA
98751   5N1AZ2BJXLN103974   Nissan       MURANO              Atlanta                   GA
98752   5N1AZ2BJXLN103988   Nissan       MURANO              KNOXVILLE                 TN
98753   5N1AZ2BJXLN103991   Nissan       MURANO              SACRAMENTO                CA
98754   5N1AZ2BJXLN104008   Nissan       MURANO              DALLAS                    TX
98755   5N1AZ2BJXLN104042   Nissan       MURANO              SAN ANTONIO               TX
98756   5N1AZ2BJXLN104056   Nissan       MURANO              DALLAS                    TX
98757   5N1AZ2BJXLN104090   Nissan       MURANO              DALLAS                    TX
98758   5N1AZ2BJXLN104106   Nissan       MURANO              SARASOTA                  FL
98759   5N1AZ2BJXLN104204   Nissan       MURANO              ATLANTA                   GA
98760   5N1AZ2BJXLN104249   Nissan       MURANO              MIAMI                     FL
98761   5N1AZ2BJXLN104316   Nissan       MURANO              KNOXVILLE                 TN
98762   5N1AZ2BJXLN104400   Nissan       MURANO              WEST PALM BEACH           FL
98763   5N1AZ2BJXLN104428   Nissan       MURANO              KNOXVILLE                 TN
98764   5N1AZ2BJXLN104431   Nissan       MURANO              GRAND RAPIDS              MI
98765   5N1AZ2BJXLN104445   Nissan       MURANO              KNOXVILLE                 TN
98766   5N1AZ2BJXLN104459   Nissan       MURANO              KENNER                    LA
98767   5N1AZ2BJXLN104607   Nissan       MURANO              BIRMINGHAN                AL
98768   5N1AZ2BJXLN104610   Nissan       MURANO              DETROIT                   MI
98769   5N1AZ2BJXLN104638   Nissan       MURANO              NASHVILLE                 TN
98770   5N1AZ2BJXLN104641   Nissan       MURANO              ORLANDO                   FL
98771   5N1AZ2BJXLN104798   Nissan       MURANO              FORT LAUDERDALE           FL
98772   5N1AZ2BJXLN104901   Nissan       MURANO              Atlanta                   GA
98773   5N1AZ2BJXLN105059   Nissan       MURANO              BIRMINGHAM                AL
98774   5N1AZ2BJXLN105109   Nissan       MURANO              SAINT LOUIS               MO
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98775   5N1AZ2BJXLN105112   Nissan       MURANO              PORTLAND                  ME
98776   5N1AZ2BJXLN105126   Nissan       MURANO              DALLAS                    TX
98777   5N1AZ2BJXLN105157   Nissan       MURANO              MIAMI                     FL
98778   5N1AZ2BJXLN105160   Nissan       MURANO              SAINT LOUIS               MO
98779   5N1AZ2BJXLN105191   Nissan       MURANO              HOUSTON                   TX
98780   5N1AZ2BJXLN105272   Nissan       MURANO              SYRACUSE                  NY
98781   5N1AZ2BJXLN105353   Nissan       MURANO              HOUSTON                   TX
98782   5N1AZ2BJXLN105532   Nissan       MURANO              Atlanta                   GA
98783   5N1AZ2BJXLN105546   Nissan       MURANO              JACKSONVILLE              FL
98784   5N1AZ2BJXLN105577   Nissan       MURANO              DALLAS                    TX
98785   5N1AZ2BJXLN105594   Nissan       MURANO              Hebron                    KY
98786   5N1AZ2BJXLN105675   Nissan       MURANO              TUCSON                    AZ
98787   5N1AZ2BJXLN105692   Nissan       MURANO              ORLANDO                   FL
98788   5N1AZ2BJXLN105725   Nissan       MURANO              CHATTANOOGA               TN
98789   5N1AZ2BJXLN105739   Nissan       MURANO              SAN ANTONIO               TX
98790   5N1AZ2BJXLN105840   Nissan       MURANO              KNOXVILLE                 TN
98791   5N1AZ2BJXLN105904   Nissan       MURANO              UNION CITY                GA
98792   5N1AZ2BJXLN105918   Nissan       MURANO              CHICAGO                   IL
98793   5N1AZ2BJXLN105921   Nissan       MURANO              KNOXVILLE                 TN
98794   5N1AZ2BJXLN105949   Nissan       MURANO              HOUSTON                   TX
98795   5N1AZ2BJXLN106017   Nissan       MURANO              SHREVEPORT                LA
98796   5N1AZ2BJXLN106051   Nissan       MURANO              CORPUS CHRISTI            TX
98797   5N1AZ2BJXLN106079   Nissan       MURANO              AUSTIN                    TX
98798   5N1AZ2BJXLN106096   Nissan       MURANO              FORT LAUDERDALE           FL
98799   5N1AZ2BJXLN106129   Nissan       MURANO              MCALLEN                   TX
98800   5N1AZ2BJXLN106163   Nissan       MURANO              LAS VEGAS                 NV
98801   5N1AZ2BJXLN106177   Nissan       MURANO              FORT MYERS                FL
98802   5N1AZ2BJXLN106244   Nissan       MURANO              ATLANTA                   GA
98803   5N1AZ2BJXLN106258   Nissan       MURANO              ORLANDO                   FL
98804   5N1AZ2BJXLN106275   Nissan       MURANO              SAN ANTONIO               TX
98805   5N1AZ2BJXLN106289   Nissan       MURANO              BIRMINGHAM                AL
98806   5N1AZ2BJXLN106308   Nissan       MURANO              MEMPHIS                   TN
98807   5N1AZ2BJXLN106311   Nissan       MURANO              DAYTONA BEACH             FL
98808   5N1AZ2BJXLN106356   Nissan       MURANO              WEST PALM BEACH           FL
98809   5N1AZ2BJXLN106440   Nissan       MURANO              KENNER                    LA
98810   5N1AZ2BJXLN106471   Nissan       MURANO              PORTLAND                  OR
98811   5N1AZ2BJXLN106552   Nissan       MURANO              BALTIMORE                 MD
98812   5N1AZ2BJXLN106597   Nissan       MURANO              NEW ORLEANS               LA
98813   5N1AZ2BJXLN106616   Nissan       MURANO              FORT LAUDERDALE           FL
98814   5N1AZ2BJXLN106633   Nissan       MURANO              KANSAS CITY               MO
98815   5N1AZ2BJXLN106647   Nissan       MURANO              LUBBOCK                   TX
98816   5N1AZ2BJXLN106664   Nissan       MURANO              FORT MYERS                FL
98817   5N1AZ2BJXLN106678   Nissan       MURANO              PHOENIX                   AZ
98818   5N1AZ2BJXLN106745   Nissan       MURANO              ONTARIO                   CA
98819   5N1AZ2BJXLN106793   Nissan       MURANO              FORT LAUDERDALE           FL
98820   5N1AZ2BJXLN106812   Nissan       MURANO              CORPUS CHRISTI            TX
98821   5N1AZ2BJXLN106843   Nissan       MURANO              SARASOTA                  FL
98822   5N1AZ2BJXLN107023   Nissan       MURANO              PENSACOLA                 FL
98823   5N1AZ2BJXLN107040   Nissan       MURANO              NASHVILLE                 TN
98824   5N1AZ2BJXLN107071   Nissan       MURANO              ORLANDO                   FL
98825   5N1AZ2BJXLN107104   Nissan       MURANO              TULSA                     OK
98826   5N1AZ2BJXLN107197   Nissan       MURANO              ORLANDO                   FL
98827   5N1AZ2BJXLN107247   Nissan       MURANO              JACKSONVILLE              FL
98828   5N1AZ2BJXLN121424   Nissan       MURANO              LOS ANGELES               CA
98829   5N1AZ2BJXLN121729   Nissan       MURANO              SAN DIEGO                 CA
98830   5N1AZ2BJXLN122122   Nissan       MURANO              ORANGE COUNTY             CA
98831   5N1AZ2BJXLN122220   Nissan       MURANO              SAN DIEGO                 CA
98832   5N1AZ2BJXLN122279   Nissan       MURANO              LOS ANGELES               CA
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98833   5N1AZ2BJXLN122282   Nissan       MURANO              OAKLAND                   CA
98834   5N1AZ2BJXLN122296   Nissan       MURANO              FRESNO                    CA
98835   5N1AZ2BJXLN122301   Nissan       MURANO              LAS VEGAS                 NV
98836   5N1AZ2BJXLN122461   Nissan       MURANO              BURBANK                   CA
98837   5N1AZ2BJXLN122489   Nissan       MURANO              LAS VEGAS                 NV
98838   5N1AZ2BJXLN123318   Nissan       MURANO              INGLEWOOD                 CA
98839   5N1AZ2BJXLN123352   Nissan       MURANO              ONTARIO                   CA
98840   5N1AZ2BJXLN128552   Nissan       MURANO              WEST PALM BEACH           FL
98841   5N1AZ2BJXLN128843   Nissan       MURANO              LOS ANGELES               CA
98842   5N1AZ2BJXLN129667   Nissan       MURANO              FORT MYERS                FL
98843   5N1AZ2BJXLN131001   Nissan       MURANO              PENSACOLA                 FL
98844   5N1AZ2BJXLN131645   Nissan       MURANO              FORT LAUDERDALE           FL
98845   5N1AZ2BJXLN134027   Nissan       MURANO              ATLANTA                   GA
98846   5N1AZ2BJXLN134724   Nissan       MURANO              HARRISBURG                PA
98847   5N1AZ2BJXLN135095   Nissan       MURANO              FORT MYERS                FL
98848   5N1AZ2BJXLN135923   Nissan       MURANO              ATLANTA                   GA
98849   5N1AZ2BJXLN135999   Nissan       MURANO              HOUSTON                   TX
98850   5N1AZ2BJXLN136022   Nissan       MURANO              KNOXVILLE                 TN
98851   5N1AZ2BJXLN136506   Nissan       MURANO              ORLANDO                   FL
98852   5N1AZ2BJXLN136604   Nissan       MURANO              LOS ANGELES               CA
98853   5N1AZ2BJXLN137641   Nissan       MURANO              WOODSON TERRACE           MO
98854   5N1AZ2BJXLN138000   Nissan       MURANO              TAMPA                     FL
98855   5N1AZ2BJXLN138417   Nissan       MURANO              DALLAS                    TX
98856   5N1AZ2BJXLN138577   Nissan       MURANO              TAMPA                     FL
98857   5N1AZ2BJXLN138644   Nissan       MURANO              ATLANTA                   GA
98858   5N1AZ2BJXLN139342   Nissan       MURANO              ORLANDO                   FL
98859   5N1AZ2BJXLN139468   Nissan       MURANO              FORT MYERS                FL
98860   5N1AZ2BJXLN140006   Nissan       MURANO              MIAMI                     FL
98861   5N1AZ2BJXLN140202   Nissan       MURANO              WEST PALM BEACH           FL
98862   5N1AZ2BJXLN140443   Nissan       MURANO              HOUSTON                   TX
98863   5N1AZ2BJXLN140460   Nissan       MURANO              HOUSTON                   TX
98864   5N1AZ2BJXLN140474   Nissan       MURANO              ATLANTA                   GA
98865   5N1AZ2BJXLN140667   Nissan       MURANO              DALLAS                    TX
98866   5N1AZ2BJXLN140765   Nissan       MURANO              HOUSTON                   TX
98867   5N1AZ2BJXLN141740   Nissan       MURANO              FORT MYERS                FL
98868   5N1AZ2BJXLN142046   Nissan       MURANO              ORLANDO                   FL
98869   5N1AZ2BJXLN142189   Nissan       MURANO              NEW BERN                  NC
98870   5N1AZ2BJXLN142502   Nissan       MURANO              SAN DIEGO                 CA
98871   5N1AZ2BJXLN142550   Nissan       MURANO              TAMPA                     FL
98872   5N1AZ2BJXLN144010   Nissan       MURANO              WEST PALM BEACH           FL
98873   5N1AZ2BJXLN144590   Nissan       MURANO              LAS VEGAS                 NV
98874   5N1AZ2BJXLN144850   Nissan       MURANO              ATLANTA                   GA
98875   5N1AZ2BJXLN144993   Nissan       MURANO              ATLANTA                   GA
98876   5N1AZ2BJXLN145061   Nissan       MURANO              DALLAS                    TX
98877   5N1AZ2BJXLN145111   Nissan       MURANO              DALLAS                    TX
98878   5N1AZ2BJXLN145142   Nissan       MURANO              NORFOLK                   VA
98879   5N1AZ2BJXLN145206   Nissan       MURANO              MEMPHIS                   TN
98880   5N1AZ2BJXLN145240   Nissan       MURANO              BURBANK                   CA
98881   5N1AZ2BJXLN145335   Nissan       MURANO              KNOXVILLE                 TN
98882   5N1AZ2BJXLN145352   Nissan       MURANO              KNOXVILLE                 TN
98883   5N1AZ2BJXLN145786   Nissan       MURANO              SAN ANTONIO               TX
98884   5N1AZ2BJXLN145884   Nissan       MURANO              LAS VEGAS                 NV
98885   5N1AZ2BJXLN146310   Nissan       MURANO              SANTA ANA                 CA
98886   5N1AZ2BJXLN146372   Nissan       MURANO              LAS VEGAS                 NV
98887   5N1AZ2BJXLN146663   Nissan       MURANO              NEWPORT BEACH             CA
98888   5N1AZ2BJXLN146680   Nissan       MURANO              ORLANDO                   FL
98889   5N1AZ2BJXLN147148   Nissan       MURANO              LOS ANGELES               CA
98890   5N1AZ2BJXLN148347   Nissan       MURANO              ATLANTA                   GA
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98891   5N1AZ2BJXLN148820   Nissan       MURANO              SANTA ANA                 CA
98892   5N1AZ2BJXLN149059   Nissan       MURANO              ATLANTA                   GA
98893   5N1AZ2BJXLN149594   Nissan       MURANO              ATLANTA                   GA
98894   5N1AZ2BJXLN149739   Nissan       MURANO              SAN ANTONIO               TX
98895   5N1AZ2BJXLN149837   Nissan       MURANO              Dallas                    TX
98896   5N1AZ2BJXLN149966   Nissan       MURANO              SAN ANTONIO               TX
98897   5N1AZ2BJXLN150082   Nissan       MURANO              NEW ORLEANS               LA
98898   5N1AZ2BJXLN150115   Nissan       MURANO              MEMPHIS                   TN
98899   5N1AZ2BJXLN150132   Nissan       MURANO              ATLANTA                   GA
98900   5N1AZ2BS0LN100204   Nissan       MURANO              FRESNO                    CA
98901   5N1AZ2BS0LN100395   Nissan       MURANO              NEWARK                    NJ
98902   5N1AZ2BS0LN100414   Nissan       MURANO              LOS ANGELES AP            CA
98903   5N1AZ2BS0LN100428   Nissan       MURANO              GREENSBORO                NC
98904   5N1AZ2BS0LN100512   Nissan       MURANO              Atlanta                   GA
98905   5N1AZ2BS0LN100607   Nissan       MURANO              PALM SPRINGS              CA
98906   5N1AZ2BS0LN101093   Nissan       MURANO              SACRAMENTO                CA
98907   5N1AZ2BS0LN101174   Nissan       MURANO              PHOENIX                   AZ
98908   5N1AZ2BS0LN101384   Nissan       MURANO              BURBANK                   CA
98909   5N1AZ2BS0LN101420   Nissan       MURANO              TAMPA                     FL
98910   5N1AZ2BS0LN101756   Nissan       MURANO              NASHVILLE                 TN
98911   5N1AZ2BS0LN101787   Nissan       MURANO              KNOXVILLE                 TN
98912   5N1AZ2BS0LN101837   Nissan       MURANO              WEST PALM BEACH           FL
98913   5N1AZ2BS0LN102308   Nissan       MURANO              SAN JOSE                  CA
98914   5N1AZ2BS0LN103197   Nissan       MURANO              HOUSTON                   TX
98915   5N1AZ2BS0LN103202   Nissan       MURANO              PHILADELPHIA              PA
98916   5N1AZ2BS0LN103216   Nissan       MURANO              WEST COLUMBIA             SC
98917   5N1AZ2BS0LN103281   Nissan       MURANO              Atlanta                   GA
98918   5N1AZ2BS0LN103524   Nissan       MURANO              FRESNO                    CA
98919   5N1AZ2BS0LN103538   Nissan       MURANO              Irving                    TX
98920   5N1AZ2BS0LN103555   Nissan       MURANO              SAN ANTONIO               TX
98921   5N1AZ2BS0LN103619   Nissan       MURANO              Los Angeles               CA
98922   5N1AZ2BS0LN103717   Nissan       MURANO              CHICAGO                   IL
98923   5N1AZ2BS0LN103751   Nissan       MURANO              MORRISVILLE               NC
98924   5N1AZ2BS0LN103765   Nissan       MURANO              BIRMINGHAM                AL
98925   5N1AZ2BS0LN103782   Nissan       MURANO              ROANOKE                   VA
98926   5N1AZ2BS0LN103815   Nissan       MURANO              BLOOMINGTON               IL
98927   5N1AZ2BS0LN103863   Nissan       MURANO              TUCSON                    AZ
98928   5N1AZ2BS0LN103894   Nissan       MURANO              PHILADELPHIA              PA
98929   5N1AZ2BS0LN103961   Nissan       MURANO              CHARLOTTE                 NC
98930   5N1AZ2BS0LN103975   Nissan       MURANO              PHOENIX                   AZ
98931   5N1AZ2BS0LN103989   Nissan       MURANO              CHARLOTTE                 NC
98932   5N1AZ2BS0LN103992   Nissan       MURANO              PORTLAND                  ME
98933   5N1AZ2BS0LN104009   Nissan       MURANO              NEW ORLEANS               LA
98934   5N1AZ2BS0LN104012   Nissan       MURANO              HOUSTON                   TX
98935   5N1AZ2BS0LN104043   Nissan       MURANO              Atlanta                   GA
98936   5N1AZ2BS0LN104169   Nissan       MURANO              HOUSTON                   TX
98937   5N1AZ2BS0LN104172   Nissan       MURANO              DFW AIRPORT               TX
98938   5N1AZ2BS0LN104219   Nissan       MURANO              PENSACOLA                 FL
98939   5N1AZ2BS0LN104222   Nissan       MURANO              HOUSTON                   TX
98940   5N1AZ2BS0LN104348   Nissan       MURANO              SANTA CLARA               CA
98941   5N1AZ2BS0LN104382   Nissan       MURANO              CORPUS CHRISTI            TX
98942   5N1AZ2BS0LN104463   Nissan       MURANO              FEDERAL WAY               WA
98943   5N1AZ2BS0LN104544   Nissan       MURANO              ORANGE COUNTY             CA
98944   5N1AZ2BS0LN104589   Nissan       MURANO              TAMPA                     FL
98945   5N1AZ2BS0LN104639   Nissan       MURANO              MIAMI                     FL
98946   5N1AZ2BS0LN104656   Nissan       MURANO              HARRISBURG                PA
98947   5N1AZ2BS0LN104673   Nissan       MURANO              HOUSTON                   TX
98948   5N1AZ2BS0LN104737   Nissan       MURANO              GRAND RAPIDS              MI
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98949   5N1AZ2BS0LN104768   Nissan       MURANO              ORLANDO                   FL
98950   5N1AZ2BS0LN104785   Nissan       MURANO              NASHVILLE                 TN
98951   5N1AZ2BS0LN104852   Nissan       MURANO              LAS VEGAS                 NV
98952   5N1AZ2BS0LN104866   Nissan       MURANO              RALIEGH                   NC
98953   5N1AZ2BS0LN104902   Nissan       MURANO              Des Moines                IA
98954   5N1AZ2BS0LN104933   Nissan       MURANO              SANTA CLARA               CA
98955   5N1AZ2BS0LN104947   Nissan       MURANO              PHOENIX                   AZ
98956   5N1AZ2BS0LN105046   Nissan       MURANO              ORLANDO                   FL
98957   5N1AZ2BS0LN105063   Nissan       MURANO              PITTSBURGH                PA
98958   5N1AZ2BS0LN105077   Nissan       MURANO              MEMPHIS                   TN
98959   5N1AZ2BS0LN105189   Nissan       MURANO              BALTIMORE                 MD
98960   5N1AZ2BS0LN105242   Nissan       MURANO              MONTEREY                  CA
98961   5N1AZ2BS0LN105306   Nissan       MURANO              ATLANTA                   GA
98962   5N1AZ2BS0LN105337   Nissan       MURANO              ORLANDO                   FL
98963   5N1AZ2BS0LN105340   Nissan       MURANO              LOS ANGELES               CA
98964   5N1AZ2BS0LN105368   Nissan       MURANO              FORT LAUDERDALE           FL
98965   5N1AZ2BS0LN105404   Nissan       MURANO              STERLING                  VA
98966   5N1AZ2BS0LN105421   Nissan       MURANO              CHARLOTTESVILLE           VA
98967   5N1AZ2BS0LN105466   Nissan       MURANO              SARASOTA                  FL
98968   5N1AZ2BS0LN105502   Nissan       MURANO              RENO                      NV
98969   5N1AZ2BS0LN105600   Nissan       MURANO              FORT MYERS                FL
98970   5N1AZ2BS0LN105807   Nissan       MURANO              KNOXVILLE                 TN
98971   5N1AZ2BS0LN105824   Nissan       MURANO              FORT MYERS                FL
98972   5N1AZ2BS0LN105869   Nissan       MURANO              Landover Hills            MD
98973   5N1AZ2BS0LN105872   Nissan       MURANO              SACRAMENTO                CA
98974   5N1AZ2BS0LN105967   Nissan       MURANO              ORLANDO                   FL
98975   5N1AZ2BS0LN106066   Nissan       MURANO              MIAMI                     FL
98976   5N1AZ2BS0LN106097   Nissan       MURANO              JACKSONVILLE              FL
98977   5N1AZ2BS0LN106150   Nissan       MURANO              CHICAGO                   IL
98978   5N1AZ2BS0LN106164   Nissan       MURANO              SARASOTA                  FL
98979   5N1AZ2BS0LN106178   Nissan       MURANO              CHARLESTON                SC
98980   5N1AZ2BS0LN106195   Nissan       MURANO              CHICAGO                   IL
98981   5N1AZ2BS0LN106228   Nissan       MURANO              PHILADELPHIA              PA
98982   5N1AZ2BS0LN106245   Nissan       MURANO              RENO                      NV
98983   5N1AZ2BS0LN106262   Nissan       MURANO              SEA TAC                   WA
98984   5N1AZ2BS0LN106309   Nissan       MURANO              DETROIT                   MI
98985   5N1AZ2BS0LN106357   Nissan       MURANO              AUSTIN                    TX
98986   5N1AZ2BS0LN106374   Nissan       MURANO              HOUSTON                   TX
98987   5N1AZ2BS0LN106407   Nissan       MURANO              NEWPORT BEACH             CA
98988   5N1AZ2BS0LN106424   Nissan       MURANO              PALM SPRINGS              CA
98989   5N1AZ2BS0LN106455   Nissan       MURANO              LOS ANGELES AP            CA
98990   5N1AZ2BS0LN106665   Nissan       MURANO              FORT MYERS                FL
98991   5N1AZ2BS0LN106696   Nissan       MURANO              ONTARIO                   CA
98992   5N1AZ2BS0LN106715   Nissan       MURANO              FORT LAUDERDALE           FL
98993   5N1AZ2BS0LN106729   Nissan       MURANO              SAN DIEGO                 CA
98994   5N1AZ2BS0LN106746   Nissan       MURANO              SAN FRANCISCO             CA
98995   5N1AZ2BS0LN106763   Nissan       MURANO              PHILADELPHIA              US
98996   5N1AZ2BS0LN106780   Nissan       MURANO              SEATAC                    WA
98997   5N1AZ2BS0LN106827   Nissan       MURANO              Scottsdale                AZ
98998   5N1AZ2BS0LN106830   Nissan       MURANO              Phoenix                   AZ
98999   5N1AZ2BS0LN106911   Nissan       MURANO              HANOVER                   MD
99000   5N1AZ2BS0LN106925   Nissan       MURANO              LOS ANGELES               CA
99001   5N1AZ2BS0LN106942   Nissan       MURANO              SAN DIEGO                 CA
99002   5N1AZ2BS0LN106956   Nissan       MURANO              Los Angeles               CA
99003   5N1AZ2BS0LN106973   Nissan       MURANO              Buena Park                CA
99004   5N1AZ2BS0LN106987   Nissan       MURANO              ORLANDO                   FL
99005   5N1AZ2BS0LN106990   Nissan       MURANO              SEATAC                    WA
99006   5N1AZ2BS0LN107007   Nissan       MURANO              SANTA CLARA               CA
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99007   5N1AZ2BS0LN107055   Nissan       MURANO              HERMOSA BEACH             CA
99008   5N1AZ2BS0LN121456   Nissan       MURANO              BOSTON                    MA
99009   5N1AZ2BS0LN121487   Nissan       MURANO              CLEVELAND                 OH
99010   5N1AZ2BS0LN121540   Nissan       MURANO              CHARLOTTE                 NC
99011   5N1AZ2BS0LN121652   Nissan       MURANO              GREENSBORO                NC
99012   5N1AZ2BS0LN121666   Nissan       MURANO              STERLING                  VA
99013   5N1AZ2BS0LN121733   Nissan       MURANO              PITTSBURGH                PA
99014   5N1AZ2BS0LN121831   Nissan       MURANO              FORT MYERS                FL
99015   5N1AZ2BS0LN122283   Nissan       MURANO              SYRACUSE                  NY
99016   5N1AZ2BS0LN122395   Nissan       MURANO              WARWICK                   RI
99017   5N1AZ2BS0LN122414   Nissan       MURANO              ALBANY                    NY
99018   5N1AZ2BS0LN122445   Nissan       MURANO              SANTA ANA                 CA
99019   5N1AZ2BS0LN122493   Nissan       MURANO              RICHMOND                  VA
99020   5N1AZ2BS0LN122591   Nissan       MURANO              PITTSBURGH                PA
99021   5N1AZ2BS0LN122610   Nissan       MURANO              RALEIGH                   NC
99022   5N1AZ2BS0LN122638   Nissan       MURANO              BLOOMINGTON               IL
99023   5N1AZ2BS0LN122705   Nissan       MURANO              SAINT LOUIS               MO
99024   5N1AZ2BS0LN122915   Nissan       MURANO              DETROIT                   MI
99025   5N1AZ2BS0LN122929   Nissan       MURANO              PITTSBURGH                PA
99026   5N1AZ2BS0LN123000   Nissan       MURANO              SAVANNAH                  GA
99027   5N1AZ2BS0LN123014   Nissan       MURANO              Tampa                     FL
99028   5N1AZ2BS0LN123093   Nissan       MURANO              CHICAGO                   IL
99029   5N1AZ2BS0LN123109   Nissan       MURANO              NEW BERN                  NC
99030   5N1AZ2BS0LN123207   Nissan       MURANO              MILWAUKEE                 WI
99031   5N1AZ2BS0LN123272   Nissan       MURANO              RICHMOND                  VA
99032   5N1AZ2BS0LN123286   Nissan       MURANO              CHICAGO                   IL
99033   5N1AZ2BS0LN123322   Nissan       MURANO              NORFOLK                   VA
99034   5N1AZ2BS0LN123353   Nissan       MURANO              PHILADELPHIA              PA
99035   5N1AZ2BS0LN123384   Nissan       MURANO              JACKSONVILLE              FL
99036   5N1AZ2BS0LN123398   Nissan       MURANO              PHILADELPHIA              PA
99037   5N1AZ2BS0LN123479   Nissan       MURANO              ALLENTOWN                 US
99038   5N1AZ2BS0LN123501   Nissan       MURANO              WHITE PLAINS              NY
99039   5N1AZ2BS0LN123613   Nissan       MURANO              VANDALIA                  OH
99040   5N1AZ2BS0LN123692   Nissan       MURANO              OMAHA                     NE
99041   5N1AZ2BS0LN123806   Nissan       MURANO              NORFOLK                   VA
99042   5N1AZ2BS0LN123885   Nissan       MURANO              WOODSON TERRACE           MO
99043   5N1AZ2BS0LN123899   Nissan       MURANO              ROANOKE                   VA
99044   5N1AZ2BS0LN123918   Nissan       MURANO              CLEVELAND                 OH
99045   5N1AZ2BS0LN123921   Nissan       MURANO              ALBANY                    NY
99046   5N1AZ2BS0LN124079   Nissan       MURANO              NORFOLK                   VA
99047   5N1AZ2BS0LN124082   Nissan       MURANO              RALEIGH                   NC
99048   5N1AZ2BS0LN124132   Nissan       MURANO              PITTSBURGH                PA
99049   5N1AZ2BS0LN124146   Nissan       MURANO              SANTA FE                  NM
99050   5N1AZ2BS0LN124177   Nissan       MURANO              DULUTH                    GA
99051   5N1AZ2BS0LN124292   Nissan       MURANO              RICHMOND                  VA
99052   5N1AZ2BS0LN124308   Nissan       MURANO              BOSTON                    MA
99053   5N1AZ2BS0LN124342   Nissan       MURANO              STERLING                  VA
99054   5N1AZ2BS0LN124406   Nissan       MURANO              STERLING                  VA
99055   5N1AZ2BS0LN124423   Nissan       MURANO              GOLDSBORO                 NC
99056   5N1AZ2BS0LN124454   Nissan       MURANO              NEW BERN                  NC
99057   5N1AZ2BS0LN124485   Nissan       MURANO              NEW ORLEANS               LA
99058   5N1AZ2BS0LN124499   Nissan       MURANO              ALLENTOWN                 US
99059   5N1AZ2BS0LN124504   Nissan       MURANO              PHILADELPHIA              PA
99060   5N1AZ2BS0LN124518   Nissan       MURANO              Atlanta                   GA
99061   5N1AZ2BS0LN124549   Nissan       MURANO              WARWICK                   RI
99062   5N1AZ2BS0LN124633   Nissan       MURANO              BOSTON                    MA
99063   5N1AZ2BS0LN124681   Nissan       MURANO              CHICAGO O'HARE AP         IL
99064   5N1AZ2BS0LN124812   Nissan       MURANO              SAINT LOUIS               MO
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99065   5N1AZ2BS0LN124857   Nissan       MURANO              BOSTON                    MA
99066   5N1AZ2BS0LN128729   Nissan       MURANO              STERLING                  VA
99067   5N1AZ2BS0LN128942   Nissan       MURANO              DETROIT                   MI
99068   5N1AZ2BS0LN128987   Nissan       MURANO              DETROIT                   MI
99069   5N1AZ2BS0LN129010   Nissan       MURANO              PORTLAND                  ME
99070   5N1AZ2BS0LN129198   Nissan       MURANO              LOUISVILLE                KY
99071   5N1AZ2BS0LN129234   Nissan       MURANO              SANTA ANA                 CA
99072   5N1AZ2BS0LN129735   Nissan       MURANO              LOUISVILLE                KY
99073   5N1AZ2BS0LN129895   Nissan       MURANO              BOSTON                    MA
99074   5N1AZ2BS0LN129914   Nissan       MURANO              SACRAMENTO                CA
99075   5N1AZ2BS0LN130013   Nissan       MURANO              LOS ANGELES               CA
99076   5N1AZ2BS0LN130125   Nissan       MURANO              CLEVELAND                 OH
99077   5N1AZ2BS0LN130416   Nissan       MURANO              SANTA ANA                 CA
99078   5N1AZ2BS0LN131288   Nissan       MURANO              CLEVELAND                 OH
99079   5N1AZ2BS0LN131338   Nissan       MURANO              CHICAGO                   IL
99080   5N1AZ2BS0LN131629   Nissan       MURANO              WOODSON TERRACE           MO
99081   5N1AZ2BS0LN131937   Nissan       MURANO              SAINT LOUIS               MO
99082   5N1AZ2BS0LN132196   Nissan       MURANO              STERLING                  VA
99083   5N1AZ2BS0LN132506   Nissan       MURANO              PORTLAND                  ME
99084   5N1AZ2BS0LN133185   Nissan       MURANO              CLEVELAND                 OH
99085   5N1AZ2BS0LN133428   Nissan       MURANO              SAINT LOUIS               MO
99086   5N1AZ2BS0LN133431   Nissan       MURANO              LOS ANGELES               CA
99087   5N1AZ2BS0LN133560   Nissan       MURANO              SAINT LOUIS               MO
99088   5N1AZ2BS0LN133722   Nissan       MURANO              SAN FRANCISCO             CA
99089   5N1AZ2BS0LN133784   Nissan       MURANO              SACRAMENTO                CA
99090   5N1AZ2BS0LN133901   Nissan       MURANO              ROCHESTER                 NY
99091   5N1AZ2BS0LN133994   Nissan       MURANO              CLEVELAND                 OH
99092   5N1AZ2BS0LN134000   Nissan       MURANO              GRAND RAPIDS              MI
99093   5N1AZ2BS0LN134241   Nissan       MURANO              JACKSON                   MS
99094   5N1AZ2BS0LN134322   Nissan       MURANO              KNOXVILLE                 TN
99095   5N1AZ2BS0LN134885   Nissan       MURANO              CHARLESTON                SC
99096   5N1AZ2BS0LN134904   Nissan       MURANO              CHICAGO                   IL
99097   5N1AZ2BS0LN134997   Nissan       MURANO              BALTIMORE                 MD
99098   5N1AZ2BS0LN135051   Nissan       MURANO              ATLANTA                   GA
99099   5N1AZ2BS0LN135146   Nissan       MURANO              RALIEGH                   NC
99100   5N1AZ2BS0LN135180   Nissan       MURANO              HANOVER                   MD
99101   5N1AZ2BS0LN135244   Nissan       MURANO              ALEXANDRIA                VA
99102   5N1AZ2BS0LN135289   Nissan       MURANO              RALEIGH                   NC
99103   5N1AZ2BS0LN135678   Nissan       MURANO              CHICAGO                   IL
99104   5N1AZ2BS0LN135695   Nissan       MURANO              PEORIA                    IL
99105   5N1AZ2BS0LN135812   Nissan       MURANO              PITTSBURGH                PA
99106   5N1AZ2BS0LN136703   Nissan       MURANO              BOSTON                    MA
99107   5N1AZ2BS0LN137222   Nissan       MURANO              CHICAGO                   IL
99108   5N1AZ2BS0LN137513   Nissan       MURANO              MILWAUKEE AIRPORT         WI
99109   5N1AZ2BS0LN138337   Nissan       MURANO              WARWICK                   RI
99110   5N1AZ2BS0LN138855   Nissan       MURANO              PROVIDENCE                RI
99111   5N1AZ2BS0LN138905   Nissan       MURANO              PHILADELPHIA              PA
99112   5N1AZ2BS0LN139181   Nissan       MURANO              SAINT PAUL                MN
99113   5N1AZ2BS0LN139195   Nissan       MURANO              PHILADELPHIA              PA
99114   5N1AZ2BS0LN139245   Nissan       MURANO              INDIANAPOLIS              IN
99115   5N1AZ2BS0LN139486   Nissan       MURANO              PHILADELPHIA              PA
99116   5N1AZ2BS0LN139567   Nissan       MURANO              BOSTON                    MA
99117   5N1AZ2BS0LN139620   Nissan       MURANO              SAINT PAUL                MN
99118   5N1AZ2BS0LN139746   Nissan       MURANO              SARASOTA                  FL
99119   5N1AZ2BS0LN139763   Nissan       MURANO              COLUMBIA                  MO
99120   5N1AZ2BS0LN139794   Nissan       MURANO              KANSAS CITY               MO
99121   5N1AZ2BS0LN139830   Nissan       MURANO              Des Moines                IA
99122   5N1AZ2BS0LN139844   Nissan       MURANO              SAINT PAUL                MN
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99123   5N1AZ2BS0LN140427   Nissan       MURANO              CHICAGO                   IL
99124   5N1AZ2BS0LN140461   Nissan       MURANO              BOSTON                    MA
99125   5N1AZ2BS0LN141089   Nissan       MURANO              PITTSBURGH                PA
99126   5N1AZ2BS0LN141206   Nissan       MURANO              WEST COLUMBIA             SC
99127   5N1AZ2BS0LN141223   Nissan       MURANO              RALEIGH                   NC
99128   5N1AZ2BS0LN141299   Nissan       MURANO              KNOXVILLE                 TN
99129   5N1AZ2BS0LN142257   Nissan       MURANO              PHILADELPHIA              PA
99130   5N1AZ2BS0LN143019   Nissan       MURANO              ALEXANDRIA                VA
99131   5N1AZ2BS0LN143036   Nissan       MURANO              BALTIMORE                 MD
99132   5N1AZ2BS0LN143084   Nissan       MURANO              Elmhurst                  IL
99133   5N1AZ2BS0LN143554   Nissan       MURANO              East Boston               MA
99134   5N1AZ2BS0LN144008   Nissan       MURANO              ALEXANDRIA                VA
99135   5N1AZ2BS0LN144042   Nissan       MURANO              ALEXANDRIA                VA
99136   5N1AZ2BS0LN144106   Nissan       MURANO              ALEXANDRIA                VA
99137   5N1AZ2BS0LN145031   Nissan       MURANO              NEWARK                    NJ
99138   5N1AZ2BS0LN146986   Nissan       MURANO              CHARLOTTE                 US
99139   5N1AZ2BS0LN147166   Nissan       MURANO              Teterboro                 NJ
99140   5N1AZ2BS0LN147491   Nissan       MURANO              PITTSBURGH                PA
99141   5N1AZ2BS0LN147572   Nissan       MURANO              SAINT PAUL                MN
99142   5N1AZ2BS0LN147832   Nissan       MURANO              NEWARK                    NJ
99143   5N1AZ2BS0LN148107   Nissan       MURANO              CHARLOTTE                 US
99144   5N1AZ2BS0LN148155   Nissan       MURANO              CHARLOTTE                 US
99145   5N1AZ2BS0LN148270   Nissan       MURANO              RICHMOND                  VA
99146   5N1AZ2BS0LN148284   Nissan       MURANO              RICHMOND                  VA
99147   5N1AZ2BS0LN148561   Nissan       MURANO              RICHMOND                  VA
99148   5N1AZ2BS0LN148768   Nissan       MURANO              NEWARK                    NJ
99149   5N1AZ2BS0LN148771   Nissan       MURANO              CHARLOTTE                 US
99150   5N1AZ2BS0LN148964   Nissan       MURANO              DES MOINES                IA
99151   5N1AZ2BS0LN149001   Nissan       MURANO              OMAHA                     NE
99152   5N1AZ2BS0LN149015   Nissan       MURANO              OMAHA                     NE
99153   5N1AZ2BS0LN149080   Nissan                           NEWARK                    NY
99154   5N1AZ2BS0LN149130   Nissan       MURANO              NEWARK                    NJ
99155   5N1AZ2BS0LN149192   Nissan       MURANO              CHARLOTTE                 US
99156   5N1AZ2BS0LN149208   Nissan       MURANO              NEWARK                    NJ
99157   5N1AZ2BS0LN149211   Nissan       MURANO              NEWARK                    NJ
99158   5N1AZ2BS0LN149323   Nissan       MURANO              Des Moines                IA
99159   5N1AZ2BS0LN149483   Nissan       MURANO              NEWARK                    NJ
99160   5N1AZ2BS0LN149516   Nissan       MURANO              NEWARK                    NJ
99161   5N1AZ2BS1LN100065   Nissan       MURANO              LEXINGTON                 KY
99162   5N1AZ2BS1LN100096   Nissan       MURANO              LOUISVILLE                KY
99163   5N1AZ2BS1LN100132   Nissan       MURANO              ORLANDO                   FL
99164   5N1AZ2BS1LN100163   Nissan       MURANO              ORLANDO                   FL
99165   5N1AZ2BS1LN100308   Nissan       MURANO              MILWAUKEE                 WI
99166   5N1AZ2BS1LN100423   Nissan       MURANO              CHICAGO                   IL
99167   5N1AZ2BS1LN100440   Nissan       MURANO              TAMPA                     FL
99168   5N1AZ2BS1LN100454   Nissan       MURANO              ORLANDO                   FL
99169   5N1AZ2BS1LN100485   Nissan       MURANO              SAN JOSE                  CA
99170   5N1AZ2BS1LN100504   Nissan       MURANO              RONKONKOMA                NY
99171   5N1AZ2BS1LN100552   Nissan       MURANO              LAS VEGAS                 NV
99172   5N1AZ2BS1LN100969   Nissan       MURANO              STERLING                  VA
99173   5N1AZ2BS1LN101054   Nissan       MURANO              NEW BERN                  NC
99174   5N1AZ2BS1LN101071   Nissan       MURANO              PITTSBURGH                PA
99175   5N1AZ2BS1LN101152   Nissan       MURANO              JACKSONVILLE              FL
99176   5N1AZ2BS1LN101202   Nissan       MURANO              SAN JOSE                  CA
99177   5N1AZ2BS1LN101250   Nissan       MURANO              AUSTIN                    TX
99178   5N1AZ2BS1LN101278   Nissan       MURANO              PORTLAND                  OR
99179   5N1AZ2BS1LN101295   Nissan       MURANO              FORT MYERS                FL
99180   5N1AZ2BS1LN101426   Nissan       MURANO              OAKLAND                   CA
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99181   5N1AZ2BS1LN101460   Nissan       MURANO              SAN FRANCISCO             CA
99182   5N1AZ2BS1LN101488   Nissan       MURANO              Atlanta                   GA
99183   5N1AZ2BS1LN101569   Nissan       MURANO              ATLANTA                   GA
99184   5N1AZ2BS1LN101653   Nissan       MURANO              CHICAGO                   IL
99185   5N1AZ2BS1LN101801   Nissan       MURANO              TAMPA                     FL
99186   5N1AZ2BS1LN101829   Nissan       MURANO              ATLANTA                   GA
99187   5N1AZ2BS1LN102057   Nissan       MURANO              SACRAMENTO                CA
99188   5N1AZ2BS1LN103225   Nissan       MURANO              NEWARK                    NJ
99189   5N1AZ2BS1LN103239   Nissan       MURANO              CHARLOTTE                 NC
99190   5N1AZ2BS1LN103385   Nissan       MURANO              FORT MYERS                FL
99191   5N1AZ2BS1LN103399   Nissan       MURANO              DALLAS FORT WORTH AP      TX
99192   5N1AZ2BS1LN103502   Nissan       MURANO              Statesville               NC
99193   5N1AZ2BS1LN103726   Nissan       MURANO              CHICAGO                   IL
99194   5N1AZ2BS1LN103760   Nissan       MURANO              MILWAUKEE                 WI
99195   5N1AZ2BS1LN103824   Nissan       MURANO              BIRMINGHAM                AL
99196   5N1AZ2BS1LN103869   Nissan       MURANO              GRAND RAPIDS              MI
99197   5N1AZ2BS1LN103922   Nissan       MURANO              CHARLOTTE                 NC
99198   5N1AZ2BS1LN103953   Nissan       MURANO              OAKLAND                   CA
99199   5N1AZ2BS1LN103967   Nissan       MURANO              SACRAMENTO                CA
99200   5N1AZ2BS1LN103970   Nissan       MURANO              LOS ANGELES               CA
99201   5N1AZ2BS1LN103984   Nissan       MURANO              SAN FRANCISCO             CA
99202   5N1AZ2BS1LN104066   Nissan       MURANO              SHREVEPORT                LA
99203   5N1AZ2BS1LN104262   Nissan       MURANO              MILWAUKEE                 WI
99204   5N1AZ2BS1LN104360   Nissan       MURANO              PHILADELPHIA              PA
99205   5N1AZ2BS1LN104391   Nissan       MURANO              KNOXVILLE                 TN
99206   5N1AZ2BS1LN104410   Nissan       MURANO              WILMINGTON                NC
99207   5N1AZ2BS1LN104455   Nissan       MURANO              ORLANDO                   FL
99208   5N1AZ2BS1LN104522   Nissan       MURANO              TAMPA                     FL
99209   5N1AZ2BS1LN104536   Nissan       MURANO              SAN JOSE                  CA
99210   5N1AZ2BS1LN104553   Nissan       MURANO              ORLANDO                   FL
99211   5N1AZ2BS1LN104598   Nissan       MURANO              FORT LAUDERDALE           FL
99212   5N1AZ2BS1LN104603   Nissan       MURANO              PALM SPRINGS              CA
99213   5N1AZ2BS1LN104617   Nissan       MURANO              SARASOTA                  FL
99214   5N1AZ2BS1LN104620   Nissan       MURANO              Dallas                    TX
99215   5N1AZ2BS1LN104634   Nissan       MURANO              Miami                     FL
99216   5N1AZ2BS1LN104665   Nissan       MURANO              WEST PALM BEACH           FL
99217   5N1AZ2BS1LN104746   Nissan       MURANO              LOUISVILLE                KY
99218   5N1AZ2BS1LN104875   Nissan       MURANO              STERLING                  VA
99219   5N1AZ2BS1LN104908   Nissan       MURANO              FORT LAUDERDALE           FL
99220   5N1AZ2BS1LN104925   Nissan       MURANO              RENO                      NV
99221   5N1AZ2BS1LN104987   Nissan       MURANO              TALLAHASSEE               FL
99222   5N1AZ2BS1LN105024   Nissan       MURANO              GRAND RAPIDS              MI
99223   5N1AZ2BS1LN105038   Nissan       MURANO              UNION CITY                GA
99224   5N1AZ2BS1LN105041   Nissan       MURANO              CHICAGO                   IL
99225   5N1AZ2BS1LN105086   Nissan       MURANO              SEATAC                    WA
99226   5N1AZ2BS1LN105153   Nissan       MURANO              SAN JOSE                  CA
99227   5N1AZ2BS1LN105220   Nissan       MURANO              TUCSON                    AZ
99228   5N1AZ2BS1LN105234   Nissan       MURANO              LOS ANGELES               CA
99229   5N1AZ2BS1LN105346   Nissan       MURANO              HARRISBURG                PA
99230   5N1AZ2BS1LN105363   Nissan       MURANO              STERLING                  VA
99231   5N1AZ2BS1LN105427   Nissan       MURANO              LOS ANGELES               CA
99232   5N1AZ2BS1LN105489   Nissan       MURANO              ORLANDO                   FL
99233   5N1AZ2BS1LN105492   Nissan       MURANO              TAMPA                     FL
99234   5N1AZ2BS1LN105511   Nissan       MURANO              SACRAMENTO                CA
99235   5N1AZ2BS1LN105699   Nissan       MURANO              Atlanta                   GA
99236   5N1AZ2BS1LN105718   Nissan       MURANO              SAVANNAH                  GA
99237   5N1AZ2BS1LN105735   Nissan       MURANO              SAN FRANCISCO             CA
99238   5N1AZ2BS1LN105749   Nissan       MURANO              ORLANDO                   FL
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99239   5N1AZ2BS1LN105766   Nissan       MURANO              PITTSBURGH                PA
99240   5N1AZ2BS1LN105783   Nissan       MURANO              LOS ANGELES               CA
99241   5N1AZ2BS1LN105797   Nissan       MURANO              PHILADELPHIA              PA
99242   5N1AZ2BS1LN105816   Nissan       MURANO              ATLANTA                   GA
99243   5N1AZ2BS1LN105864   Nissan       MURANO              FORT LAUDERDALE           FL
99244   5N1AZ2BS1LN105878   Nissan       MURANO              Atlanta                   GA
99245   5N1AZ2BS1LN105881   Nissan       MURANO              NEW BERN                  NC
99246   5N1AZ2BS1LN105895   Nissan       MURANO              RONKONKOMA                NY
99247   5N1AZ2BS1LN105962   Nissan       MURANO              DALLAS                    TX
99248   5N1AZ2BS1LN106125   Nissan       MURANO              PITTSBURGH                PA
99249   5N1AZ2BS1LN106142   Nissan       MURANO              KNOXVILLE                 TN
99250   5N1AZ2BS1LN106156   Nissan       MURANO              ORLANDO                   FL
99251   5N1AZ2BS1LN106206   Nissan       MURANO              CHARLESTON                WV
99252   5N1AZ2BS1LN106304   Nissan       MURANO              Teterboro                 NJ
99253   5N1AZ2BS1LN106335   Nissan       MURANO              PHILADELPHIA              PA
99254   5N1AZ2BS1LN106349   Nissan       MURANO              NEW YORK DEALER DI        NJ
99255   5N1AZ2BS1LN106352   Nissan       MURANO              CHARLOTTE                 NC
99256   5N1AZ2BS1LN106416   Nissan       MURANO              CHARLESTON                SC
99257   5N1AZ2BS1LN106433   Nissan       MURANO              FORT LAUDERDALE           FL
99258   5N1AZ2BS1LN106450   Nissan       MURANO              LAS VEGAS                 NV
99259   5N1AZ2BS1LN106495   Nissan       MURANO              Bridgeton                 MO
99260   5N1AZ2BS1LN106514   Nissan       MURANO              ROCHESTER                 NY
99261   5N1AZ2BS1LN106657   Nissan       MURANO              CHICAGO                   IL
99262   5N1AZ2BS1LN106741   Nissan       MURANO              NEWARK                    NJ
99263   5N1AZ2BS1LN106836   Nissan       MURANO              GRAND RAPIDS              MI
99264   5N1AZ2BS1LN106867   Nissan       MURANO              PHOENIX                   AZ
99265   5N1AZ2BS1LN106917   Nissan       MURANO              SAN DIEGO                 CA
99266   5N1AZ2BS1LN106920   Nissan       MURANO              LOS ANGELES               CA
99267   5N1AZ2BS1LN106934   Nissan       MURANO              LOS ANGELES               CA
99268   5N1AZ2BS1LN106948   Nissan       MURANO              LOS ANGELES               CA
99269   5N1AZ2BS1LN121515   Nissan       MURANO              ORANGE COUNTY             CA
99270   5N1AZ2BS1LN121658   Nissan       MURANO              EL PASO                   TX
99271   5N1AZ2BS1LN121689   Nissan       MURANO              RICHMOND                  VA
99272   5N1AZ2BS1LN121708   Nissan       MURANO              FORT LAUDERDALE           FL
99273   5N1AZ2BS1LN121773   Nissan       MURANO              CHARLOTTE                 NC
99274   5N1AZ2BS1LN121840   Nissan       MURANO              Atlanta                   GA
99275   5N1AZ2BS1LN121854   Nissan       MURANO              CHARLOTTE                 US
99276   5N1AZ2BS1LN121871   Nissan       MURANO              PITTSBURGH                PA
99277   5N1AZ2BS1LN122423   Nissan       MURANO              SANDSTON                  VA
99278   5N1AZ2BS1LN122454   Nissan       MURANO              SYRACUSE                  NY
99279   5N1AZ2BS1LN122471   Nissan       MURANO              WARWICK                   RI
99280   5N1AZ2BS1LN122485   Nissan       MURANO              CHARLOTTE                 NC
99281   5N1AZ2BS1LN122521   Nissan       MURANO              ROANOKE                   VA
99282   5N1AZ2BS1LN122535   Nissan       MURANO              PHILADELPHIA              PA
99283   5N1AZ2BS1LN122552   Nissan       MURANO              MYRTLE BEACH              SC
99284   5N1AZ2BS1LN122650   Nissan       MURANO              GREENVILLE                NC
99285   5N1AZ2BS1LN122700   Nissan       MURANO              PHILADELPHIA              PA
99286   5N1AZ2BS1LN122745   Nissan       MURANO              CHICAGO                   IL
99287   5N1AZ2BS1LN122857   Nissan       MURANO              PITTSBURGH                PA
99288   5N1AZ2BS1LN122860   Nissan       MURANO              STERLING                  VA
99289   5N1AZ2BS1LN122938   Nissan       MURANO              PHILADELPHIA              PA
99290   5N1AZ2BS1LN123023   Nissan       MURANO              Atlanta                   GA
99291   5N1AZ2BS1LN123135   Nissan       MURANO              PHILADELPHIA              PA
99292   5N1AZ2BS1LN123247   Nissan       MURANO              PHILADELPHIA              PA
99293   5N1AZ2BS1LN123295   Nissan       MURANO              WEST COLUMBIA             SC
99294   5N1AZ2BS1LN123331   Nissan       MURANO              HARRISBURG                PA
99295   5N1AZ2BS1LN123393   Nissan       MURANO              JONESBORO                 AR
99296   5N1AZ2BS1LN123619   Nissan       MURANO              CHICAGO                   IL
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99297   5N1AZ2BS1LN123863   Nissan       MURANO              Parkville                 MD
99298   5N1AZ2BS1LN123894   Nissan       MURANO              GREENVILLE                NC
99299   5N1AZ2BS1LN123930   Nissan       MURANO              STERLING                  VA
99300   5N1AZ2BS1LN124012   Nissan       MURANO              MYRTLE BEACH              SC
99301   5N1AZ2BS1LN124043   Nissan       MURANO              KENNER                    LA
99302   5N1AZ2BS1LN124060   Nissan       MURANO              BUFFALO                   NY
99303   5N1AZ2BS1LN124110   Nissan       MURANO              CHARLOTTE                 NC
99304   5N1AZ2BS1LN124169   Nissan       MURANO              CINCINNATI                OH
99305   5N1AZ2BS1LN124186   Nissan       MURANO              HANOVER                   MD
99306   5N1AZ2BS1LN124236   Nissan       MURANO              MARIETTA                  GA
99307   5N1AZ2BS1LN124253   Nissan       MURANO              STERLING                  VA
99308   5N1AZ2BS1LN124351   Nissan       MURANO              STERLING                  VA
99309   5N1AZ2BS1LN124396   Nissan       MURANO              BOISE                     ID
99310   5N1AZ2BS1LN124494   Nissan       MURANO              BOSTON                    MA
99311   5N1AZ2BS1LN124530   Nissan       MURANO              CHICAGO                   IL
99312   5N1AZ2BS1LN124687   Nissan       MURANO              RICHMOND                  VA
99313   5N1AZ2BS1LN124964   Nissan       MURANO              ALLENTOWN                 US
99314   5N1AZ2BS1LN125094   Nissan       MURANO              DES MOINES                IA
99315   5N1AZ2BS1LN128657   Nissan       MURANO              LOS ANGELES               CA
99316   5N1AZ2BS1LN128755   Nissan       MURANO              COSTA MESA                CA
99317   5N1AZ2BS1LN128786   Nissan       MURANO              LAS VEGAS                 NV
99318   5N1AZ2BS1LN128805   Nissan       MURANO              DETROIT                   MI
99319   5N1AZ2BS1LN128853   Nissan       MURANO              CLEVELAND                 OH
99320   5N1AZ2BS1LN129162   Nissan       MURANO              WEST COLUMBIA             SC
99321   5N1AZ2BS1LN129212   Nissan       MURANO              SAN DIEGO                 CA
99322   5N1AZ2BS1LN129243   Nissan       MURANO              LOS ANGELES               CA
99323   5N1AZ2BS1LN129274   Nissan       MURANO              SAINT LOUIS               MO
99324   5N1AZ2BS1LN129730   Nissan       MURANO              INDIANAPOLIS              IN
99325   5N1AZ2BS1LN129744   Nissan       MURANO              KANSAS CITY               MO
99326   5N1AZ2BS1LN129792   Nissan       MURANO              LOS ANGELES               CA
99327   5N1AZ2BS1LN129890   Nissan       MURANO              SAN DIEGO                 CA
99328   5N1AZ2BS1LN130005   Nissan       MURANO              STERLING                  VA
99329   5N1AZ2BS1LN130098   Nissan       MURANO              SAINT LOUIS               MO
99330   5N1AZ2BS1LN130408   Nissan       MURANO              LOS ANGELES AP            CA
99331   5N1AZ2BS1LN130439   Nissan       MURANO              LOS ANGELES               CA
99332   5N1AZ2BS1LN130697   Nissan       MURANO              LAS VEGAS                 NV
99333   5N1AZ2BS1LN130747   Nissan       MURANO              ALBANY                    N
99334   5N1AZ2BS1LN131008   Nissan       MURANO              SAN DIEGO                 CA
99335   5N1AZ2BS1LN131347   Nissan       MURANO              CLEVELAND                 OH
99336   5N1AZ2BS1LN131932   Nissan       MURANO              SAINT LOUIS               MO
99337   5N1AZ2BS1LN132269   Nissan       MURANO              Hebron                    KY
99338   5N1AZ2BS1LN132529   Nissan       MURANO              DETROIT                   MI
99339   5N1AZ2BS1LN133177   Nissan       MURANO              RENO                      NV
99340   5N1AZ2BS1LN133423   Nissan       MURANO              LOS ANGELES               CA
99341   5N1AZ2BS1LN133583   Nissan       MURANO              SAINT LOUIS               MO
99342   5N1AZ2BS1LN133695   Nissan       MURANO              ATLANTA                   GA
99343   5N1AZ2BS1LN133860   Nissan       MURANO              EAST BOSTON               MA
99344   5N1AZ2BS1LN133972   Nissan       MURANO              TAMPA                     FL
99345   5N1AZ2BS1LN135141   Nissan       MURANO              INDIANAPOLIS              IN
99346   5N1AZ2BS1LN135169   Nissan       MURANO              SAINT LOUIS               MO
99347   5N1AZ2BS1LN135866   Nissan       MURANO              RALEIGH                   NC
99348   5N1AZ2BS1LN136144   Nissan       MURANO              BALTIMORE                 MD
99349   5N1AZ2BS1LN136287   Nissan       MURANO              CHARLESTON                SC
99350   5N1AZ2BS1LN136323   Nissan       MURANO              RALIEGH                   NC
99351   5N1AZ2BS1LN136581   Nissan       MURANO              CHICAGO                   IL
99352   5N1AZ2BS1LN137309   Nissan       MURANO              PITTSBURGH                PA
99353   5N1AZ2BS1LN137651   Nissan       MURANO              ALEXANDRIA                VA
99354   5N1AZ2BS1LN138296   Nissan       MURANO              CHICAGO                   IL
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99355   5N1AZ2BS1LN138475   Nissan       MURANO              PHILADELPHIA              US
99356   5N1AZ2BS1LN138587   Nissan       MURANO              CHICAGO                   IL
99357   5N1AZ2BS1LN138590   Nissan       MURANO              EAST BOSTON               MA
99358   5N1AZ2BS1LN138637   Nissan       MURANO              NORFOLK                   VA
99359   5N1AZ2BS1LN138931   Nissan       MURANO              TAMPA                     FL
99360   5N1AZ2BS1LN139187   Nissan       MURANO              KNOXVILLE                 TN
99361   5N1AZ2BS1LN139206   Nissan       MURANO              PITTSBURGH                PA
99362   5N1AZ2BS1LN139237   Nissan       MURANO              BOSTON                    MA
99363   5N1AZ2BS1LN139254   Nissan       MURANO              PHILADELPHIA              PA
99364   5N1AZ2BS1LN139285   Nissan       MURANO              GREENVILLE                NC
99365   5N1AZ2BS1LN139464   Nissan       MURANO              INDIANAPOLIS              IN
99366   5N1AZ2BS1LN139674   Nissan       MURANO              SAINT PAUL                MN
99367   5N1AZ2BS1LN139688   Nissan       MURANO              BOSTON                    MA
99368   5N1AZ2BS1LN139836   Nissan       MURANO              BOSTON                    MA
99369   5N1AZ2BS1LN139884   Nissan       MURANO              KANSAS CITY               MO
99370   5N1AZ2BS1LN139898   Nissan       MURANO              BOSTON                    MA
99371   5N1AZ2BS1LN139996   Nissan       MURANO              KANSAS CITY               MO
99372   5N1AZ2BS1LN140212   Nissan       MURANO              PHILADELPHIA              PA
99373   5N1AZ2BS1LN140310   Nissan       MURANO              CHICAGO                   IL
99374   5N1AZ2BS1LN140419   Nissan       MURANO              BOSTON                    MA
99375   5N1AZ2BS1LN141103   Nissan       MURANO              PITTSBURGH                PA
99376   5N1AZ2BS1LN141246   Nissan       MURANO              NEW BERN                  NC
99377   5N1AZ2BS1LN141358   Nissan       MURANO              PITTSBURGH                PA
99378   5N1AZ2BS1LN141375   Nissan       MURANO              PITTSBURGH                PA
99379   5N1AZ2BS1LN141554   Nissan       MURANO              RALIEGH                   NC
99380   5N1AZ2BS1LN141778   Nissan       MURANO              CHICAGO                   IL
99381   5N1AZ2BS1LN142087   Nissan       MURANO              ALEXANDRIA                VA
99382   5N1AZ2BS1LN143014   Nissan       MURANO              ROCHESTER                 NY
99383   5N1AZ2BS1LN143028   Nissan       MURANO              PHILADELPHIA              PA
99384   5N1AZ2BS1LN143076   Nissan       MURANO              CHICAGO                   IL
99385   5N1AZ2BS1LN143093   Nissan       MURANO              CHICAGO                   IL
99386   5N1AZ2BS1LN143496   Nissan       MURANO              BOSTON, LOGAN AP          MA
99387   5N1AZ2BS1LN143594   Nissan       MURANO              CHICAGO                   IL
99388   5N1AZ2BS1LN144051   Nissan       MURANO              ALEXANDRIA                VA
99389   5N1AZ2BS1LN144227   Nissan       MURANO              SAINT PAUL                MN
99390   5N1AZ2BS1LN146107   Nissan       MURANO              NEWARK                    NJ
99391   5N1AZ2BS1LN146771   Nissan       MURANO              Teterboro                 NJ
99392   5N1AZ2BS1LN147449   Nissan       MURANO              PITTSBURGH                PA
99393   5N1AZ2BS1LN147466   Nissan       MURANO              PITTSBURGH                PA
99394   5N1AZ2BS1LN147483   Nissan       MURANO              PITTSBURGH                PA
99395   5N1AZ2BS1LN147841   Nissan       MURANO              NEWARK                    NJ
99396   5N1AZ2BS1LN147872   Nissan       MURANO              NEWARK                    NJ
99397   5N1AZ2BS1LN147886   Nissan       MURANO              PITTSBURGH                PA
99398   5N1AZ2BS1LN147919   Nissan       MURANO              PITTSBURGH                PA
99399   5N1AZ2BS1LN148052   Nissan       MURANO              CHARLOTTE                 US
99400   5N1AZ2BS1LN148181   Nissan       MURANO              CHARLOTTE                 US
99401   5N1AZ2BS1LN148262   Nissan       MURANO              PITTSBURGH                PA
99402   5N1AZ2BS1LN148424   Nissan       MURANO              BOSTON                    MA
99403   5N1AZ2BS1LN148486   Nissan       MURANO              NEWARK                    NJ
99404   5N1AZ2BS1LN148522   Nissan       MURANO              PITTSBURGH                PA
99405   5N1AZ2BS1LN148570   Nissan       MURANO              CHARLOTTE                 US
99406   5N1AZ2BS1LN149010   Nissan       MURANO              NEWARK                    NJ
99407   5N1AZ2BS1LN149122   Nissan       MURANO              LINCOLN‐OMAHA             NE
99408   5N1AZ2BS1LN149198   Nissan       MURANO              MINNEAPOLIS               MN
99409   5N1AZ2BS1LN149217   Nissan       MURANO              CHARLOTTE                 US
99410   5N1AZ2BS1LN149220   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
99411   5N1AZ2BS1LN149380   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
99412   5N1AZ2BS1LN149489   Nissan       MURANO              OMAHA                     NE
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99413   5N1AZ2BS1LN149492   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
99414   5N1AZ2BS1LN149718   Nissan       MURANO              NEWARK                    NJ
99415   5N1AZ2BS1LN149878   Nissan                           NEWARK                    NY
99416   5N1AZ2BS1LN149881   Nissan       MURANO              NEWARK                    NJ
99417   5N1AZ2BS1LN149928   Nissan       MURANO              NEWARK                    NY
99418   5N1AZ2BS1LN149945   Nissan       MURANO              NEWARK                    NJ
99419   5N1AZ2BS1LN149993   Nissan       MURANO              CHARLOTTE                 US
99420   5N1AZ2BS1LN150092   Nissan       MURANO              PITTSBURGH                PA
99421   5N1AZ2BS2LN100057   Nissan       MURANO              CHICAGO                   IL
99422   5N1AZ2BS2LN100060   Nissan       MURANO              GRAND RAPIDS              MI
99423   5N1AZ2BS2LN100155   Nissan       MURANO              ORLANDO                   FL
99424   5N1AZ2BS2LN100172   Nissan       MURANO              RALEIGH                   NC
99425   5N1AZ2BS2LN100298   Nissan       MURANO              RALEIGH                   NC
99426   5N1AZ2BS2LN100401   Nissan       MURANO              WEST PALM BEACH           FL
99427   5N1AZ2BS2LN100415   Nissan       MURANO              TAMPA                     FL
99428   5N1AZ2BS2LN100429   Nissan       MURANO              KENNER                    LA
99429   5N1AZ2BS2LN100432   Nissan       MURANO              DALLAS                    TX
99430   5N1AZ2BS2LN100561   Nissan       MURANO              MIAMI                     FL
99431   5N1AZ2BS2LN100589   Nissan       MURANO              WHITE PLAINS              NY
99432   5N1AZ2BS2LN100592   Nissan       MURANO              NEW YORK CITY             NY
99433   5N1AZ2BS2LN100608   Nissan       MURANO              ORLANDO                   FL
99434   5N1AZ2BS2LN100799   Nissan       MURANO              SACRAMENTO                CA
99435   5N1AZ2BS2LN100981   Nissan       MURANO              CLEVELAND                 OH
99436   5N1AZ2BS2LN101001   Nissan       MURANO              MONROE                    OH
99437   5N1AZ2BS2LN101113   Nissan       MURANO              SAN JOSE                  CA
99438   5N1AZ2BS2LN101239   Nissan       MURANO              TAMPA                     US
99439   5N1AZ2BS2LN101323   Nissan       MURANO              CHICAGO                   IL
99440   5N1AZ2BS2LN101337   Nissan       MURANO              Reno                      NV
99441   5N1AZ2BS2LN101340   Nissan       MURANO              WEST PALM BEACH           FL
99442   5N1AZ2BS2LN101404   Nissan       MURANO              BURBANK                   CA
99443   5N1AZ2BS2LN101452   Nissan       MURANO              CHICAGO                   IL
99444   5N1AZ2BS2LN101466   Nissan       MURANO              CHICAGO                   IL
99445   5N1AZ2BS2LN101757   Nissan       MURANO              PHILADELPHIA              PA
99446   5N1AZ2BS2LN101810   Nissan       MURANO              ORLANDO                   FL
99447   5N1AZ2BS2LN102830   Nissan       MURANO              PITTSBURGH                PA
99448   5N1AZ2BS2LN102858   Nissan       MURANO              MILWAUKEE                 WI
99449   5N1AZ2BS2LN103007   Nissan       MURANO              PHILADELPHIA              PA
99450   5N1AZ2BS2LN103136   Nissan       MURANO              HOUSTON                   TX
99451   5N1AZ2BS2LN103184   Nissan       MURANO              NORFOLK                   VA
99452   5N1AZ2BS2LN103198   Nissan       MURANO              KENNER                    LA
99453   5N1AZ2BS2LN103217   Nissan       MURANO              TAMPA                     FL
99454   5N1AZ2BS2LN103329   Nissan       MURANO              SAINT PAUL                MN
99455   5N1AZ2BS2LN103363   Nissan       MURANO              NORFOLK                   VA
99456   5N1AZ2BS2LN103394   Nissan       MURANO              SAN JOSE                  CA
99457   5N1AZ2BS2LN103413   Nissan       MURANO              NEW YORK CITY             NY
99458   5N1AZ2BS2LN103427   Nissan       MURANO              SAN DIEGO                 CA
99459   5N1AZ2BS2LN103458   Nissan       MURANO              DALLAS                    TX
99460   5N1AZ2BS2LN103489   Nissan       MURANO              SAVANNAH                  GA
99461   5N1AZ2BS2LN103492   Nissan       MURANO              PORTLAND                  ME
99462   5N1AZ2BS2LN103511   Nissan       MURANO              AUGUSTA                   GA
99463   5N1AZ2BS2LN103525   Nissan       MURANO              ONTARIO                   CA
99464   5N1AZ2BS2LN103668   Nissan       MURANO              CLEVELAND                 OH
99465   5N1AZ2BS2LN103699   Nissan       MURANO              DALLAS                    TX
99466   5N1AZ2BS2LN103749   Nissan       MURANO              BIRMINGHAM                AL
99467   5N1AZ2BS2LN103766   Nissan       MURANO              STERLING                  VA
99468   5N1AZ2BS2LN103850   Nissan       MURANO              DULUTH                    GA
99469   5N1AZ2BS2LN103895   Nissan       MURANO              WEST PALM BEACH           FL
99470   5N1AZ2BS2LN103931   Nissan       MURANO              NEW BERN                  NC
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99471   5N1AZ2BS2LN103945   Nissan       MURANO              KENNER                    LA
99472   5N1AZ2BS2LN103976   Nissan       MURANO              MIAMI                     FL
99473   5N1AZ2BS2LN104075   Nissan       MURANO              DALLAS                    TX
99474   5N1AZ2BS2LN104108   Nissan       MURANO              DALLAS FORT WORTH AP      TX
99475   5N1AZ2BS2LN104187   Nissan       MURANO              SAN FRANCISCO             CA
99476   5N1AZ2BS2LN104299   Nissan       MURANO              ORLANDO                   FL
99477   5N1AZ2BS2LN104478   Nissan       MURANO              SAN DIEGO                 CA
99478   5N1AZ2BS2LN104500   Nissan       MURANO              FORT LAUDERDALE           FL
99479   5N1AZ2BS2LN104514   Nissan       MURANO              Los Angeles               CA
99480   5N1AZ2BS2LN104528   Nissan       MURANO              SAN DIEGO                 CA
99481   5N1AZ2BS2LN104531   Nissan       MURANO              RENO                      NV
99482   5N1AZ2BS2LN104545   Nissan       MURANO              SARASOTA                  FL
99483   5N1AZ2BS2LN104562   Nissan       MURANO              SAINT PAUL                MN
99484   5N1AZ2BS2LN104576   Nissan       MURANO              FORT MYERS                FL
99485   5N1AZ2BS2LN104612   Nissan       MURANO              KENNER                    LA
99486   5N1AZ2BS2LN104643   Nissan       MURANO              LAS VEGAS                 NV
99487   5N1AZ2BS2LN104660   Nissan       MURANO              JACKSONVILLE              FL
99488   5N1AZ2BS2LN104688   Nissan       MURANO              ORLANDO                   FL
99489   5N1AZ2BS2LN104691   Nissan       MURANO              KENNER                    LA
99490   5N1AZ2BS2LN104724   Nissan       MURANO              KNOXVILLE                 TN
99491   5N1AZ2BS2LN104755   Nissan       MURANO              Atlanta                   GA
99492   5N1AZ2BS2LN104870   Nissan       MURANO              RALEIGH                   NC
99493   5N1AZ2BS2LN104898   Nissan       MURANO              DES MOINES                IA
99494   5N1AZ2BS2LN104917   Nissan       MURANO              COLLEGE PARK              GA
99495   5N1AZ2BS2LN104920   Nissan       MURANO              BOSTON                    MA
99496   5N1AZ2BS2LN105002   Nissan       MURANO              Atlanta                   GA
99497   5N1AZ2BS2LN105064   Nissan       MURANO              MIAMI                     FL
99498   5N1AZ2BS2LN105209   Nissan       MURANO              PALM SPRINGS              CA
99499   5N1AZ2BS2LN105212   Nissan       MURANO              TAMPA                     FL
99500   5N1AZ2BS2LN105274   Nissan       MURANO              SAN DIEGO                 CA
99501   5N1AZ2BS2LN105324   Nissan       MURANO              ATLANTA                   GA
99502   5N1AZ2BS2LN105338   Nissan       MURANO              OAKLAND                   CA
99503   5N1AZ2BS2LN105386   Nissan       MURANO              Atlanta                   GA
99504   5N1AZ2BS2LN105422   Nissan       MURANO              NEWPORT BEACH             CA
99505   5N1AZ2BS2LN105467   Nissan       MURANO              FRESNO                    CA
99506   5N1AZ2BS2LN105498   Nissan       MURANO              SAINT PAUL                MN
99507   5N1AZ2BS2LN105517   Nissan       MURANO              SAN FRANCISCO             CA
99508   5N1AZ2BS2LN105646   Nissan       MURANO              JACKSONVILLE              FL
99509   5N1AZ2BS2LN105663   Nissan       MURANO              ORLANDO                   FL
99510   5N1AZ2BS2LN105761   Nissan       MURANO              KENNER                    LA
99511   5N1AZ2BS2LN105775   Nissan       MURANO              KNOXVILLE                 TN
99512   5N1AZ2BS2LN105792   Nissan       MURANO              PHOENIX                   AZ
99513   5N1AZ2BS2LN105811   Nissan       MURANO              PORTLAND                  ME
99514   5N1AZ2BS2LN105923   Nissan       MURANO              BUFFALO                   NY
99515   5N1AZ2BS2LN105940   Nissan       MURANO              HOUSTON                   TX
99516   5N1AZ2BS2LN105954   Nissan       MURANO              FORT LAUDERDALE           FL
99517   5N1AZ2BS2LN105999   Nissan       MURANO              DALLAS                    TX
99518   5N1AZ2BS2LN106005   Nissan       MURANO              BALTIMORE                 MD
99519   5N1AZ2BS2LN106067   Nissan       MURANO              LAS VEGAS                 NV
99520   5N1AZ2BS2LN106070   Nissan       MURANO              CHARLESTON                SC
99521   5N1AZ2BS2LN106098   Nissan       MURANO              NORFOLK                   VA
99522   5N1AZ2BS2LN106134   Nissan       MURANO              ONTARIO                   CA
99523   5N1AZ2BS2LN106148   Nissan       MURANO              DES MOINES                IA
99524   5N1AZ2BS2LN106151   Nissan       MURANO              JACKSONVILLE              FL
99525   5N1AZ2BS2LN106165   Nissan       MURANO              BURBANK                   CA
99526   5N1AZ2BS2LN106182   Nissan       MURANO              BUFFALO                   NY
99527   5N1AZ2BS2LN106201   Nissan       MURANO              MIAMI                     FL
99528   5N1AZ2BS2LN106246   Nissan       MURANO              PHILADELPHIA              PA
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99529   5N1AZ2BS2LN106294   Nissan       MURANO              NEW YORK CITY             NY
99530   5N1AZ2BS2LN106344   Nissan       MURANO              NORTH HILLS               CA
99531   5N1AZ2BS2LN106604   Nissan       MURANO              ALLENTOWN                 US
99532   5N1AZ2BS2LN106621   Nissan       MURANO              HOUSTON                   TX
99533   5N1AZ2BS2LN106635   Nissan       MURANO              MONTEREY                  CA
99534   5N1AZ2BS2LN106652   Nissan       MURANO              Statesville               NC
99535   5N1AZ2BS2LN106702   Nissan       MURANO              CLEVELAND                 OH
99536   5N1AZ2BS2LN106716   Nissan       MURANO              Parkville                 MD
99537   5N1AZ2BS2LN106747   Nissan       MURANO              NEWARK                    NJ
99538   5N1AZ2BS2LN106800   Nissan       MURANO              LOS ANGELES               CA
99539   5N1AZ2BS2LN106893   Nissan       MURANO              ONTARIO                   CA
99540   5N1AZ2BS2LN106909   Nissan       MURANO              BURLINGAME                CA
99541   5N1AZ2BS2LN106943   Nissan       MURANO              SAINT LOUIS               MO
99542   5N1AZ2BS2LN106974   Nissan       MURANO              STERLING                  VA
99543   5N1AZ2BS2LN106988   Nissan       MURANO              SANTA ANA                 CA
99544   5N1AZ2BS2LN121670   Nissan       MURANO              SAINT PAUL                MN
99545   5N1AZ2BS2LN121779   Nissan       MURANO              PHILADELPHIA              PA
99546   5N1AZ2BS2LN121815   Nissan       MURANO              ROCHESTER                 NY
99547   5N1AZ2BS2LN121913   Nissan       MURANO              FORT LAUDERDALE           FL
99548   5N1AZ2BS2LN122267   Nissan       MURANO              SAINT LOUIS               MO
99549   5N1AZ2BS2LN122401   Nissan       MURANO              WARWICK                   RI
99550   5N1AZ2BS2LN122429   Nissan       MURANO              HARTFORD                  CT
99551   5N1AZ2BS2LN122544   Nissan       MURANO              PHILADELPHIA              PA
99552   5N1AZ2BS2LN122575   Nissan       MURANO              COLUMBIA                  SC
99553   5N1AZ2BS2LN122656   Nissan       MURANO              Portland                  ME
99554   5N1AZ2BS2LN122737   Nissan       MURANO              ALLENTOWN                 US
99555   5N1AZ2BS2LN122821   Nissan       MURANO              NEW BERN                  NC
99556   5N1AZ2BS2LN122978   Nissan       MURANO              FORT MYERS                FL
99557   5N1AZ2BS2LN123080   Nissan       MURANO              MANCHESTER                US
99558   5N1AZ2BS2LN123256   Nissan       MURANO              ALBANY                    NY
99559   5N1AZ2BS2LN123595   Nissan       MURANO              RICHMOND                  VA
99560   5N1AZ2BS2LN123600   Nissan       MURANO              PHILADELPHIA              PA
99561   5N1AZ2BS2LN123614   Nissan       MURANO              KNOXVILLE                 TN
99562   5N1AZ2BS2LN123628   Nissan       MURANO              WEST PALM BEACH           FL
99563   5N1AZ2BS2LN123631   Nissan       MURANO              BLOOMINGTON               IL
99564   5N1AZ2BS2LN123838   Nissan       MURANO              COLLEGE PARK              GA
99565   5N1AZ2BS2LN123905   Nissan       MURANO              PHILA                     PA
99566   5N1AZ2BS2LN123936   Nissan       MURANO              BALTIMORE                 MD
99567   5N1AZ2BS2LN123953   Nissan       MURANO              PHILADELPHIA              PA
99568   5N1AZ2BS2LN124083   Nissan       MURANO              LAS VEGAS                 NV
99569   5N1AZ2BS2LN124150   Nissan       MURANO              CHICAGO                   IL
99570   5N1AZ2BS2LN124200   Nissan       MURANO              CHARLOTTE                 US
99571   5N1AZ2BS2LN124245   Nissan       MURANO              SAINT LOUIS               MO
99572   5N1AZ2BS2LN124469   Nissan       MURANO              STERLING                  US
99573   5N1AZ2BS2LN124472   Nissan       MURANO              MILWAUKEE                 WI
99574   5N1AZ2BS2LN124567   Nissan       MURANO              CHARLESTON                SC
99575   5N1AZ2BS2LN124603   Nissan       MURANO              BOSTON                    MA
99576   5N1AZ2BS2LN124794   Nissan       MURANO              DETROIT                   MI
99577   5N1AZ2BS2LN124892   Nissan       MURANO              HARRISBURG                PA
99578   5N1AZ2BS2LN128439   Nissan       MURANO              LAS VEGAS                 NV
99579   5N1AZ2BS2LN128778   Nissan       MURANO              PALM SPRINGS              CA
99580   5N1AZ2BS2LN128795   Nissan       MURANO              LOS ANGELES AP            CA
99581   5N1AZ2BS2LN129252   Nissan       MURANO              LAUREL                    MD
99582   5N1AZ2BS2LN129848   Nissan       MURANO              LOUISVILLE                KY
99583   5N1AZ2BS2LN129851   Nissan       MURANO              LOUISVILLE                KY
99584   5N1AZ2BS2LN129932   Nissan       MURANO              ALBANY                    NY
99585   5N1AZ2BS2LN130028   Nissan       MURANO              DANIA BEACH               FL
99586   5N1AZ2BS2LN130109   Nissan       MURANO              SAINT LOUIS               MO
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99587   5N1AZ2BS2LN130403   Nissan       MURANO              DETROIT                   MI
99588   5N1AZ2BS2LN130580   Nissan       MURANO              ALBANY                    NY
99589   5N1AZ2BS2LN130692   Nissan       MURANO              Atlanta                   GA
99590   5N1AZ2BS2LN131051   Nissan       MURANO              BOSTON                    MA
99591   5N1AZ2BS2LN131275   Nissan       MURANO              WOODSON TERRACE           MO
99592   5N1AZ2BS2LN131308   Nissan       MURANO              Culver City               CA
99593   5N1AZ2BS2LN131597   Nissan       MURANO              SAINT LOUIS               MO
99594   5N1AZ2BS2LN131650   Nissan       MURANO              SAINT LOUIS               MO
99595   5N1AZ2BS2LN131941   Nissan       MURANO              CLEVELAND                 OH
99596   5N1AZ2BS2LN132166   Nissan       MURANO              FORT LAUDERDALE           FL
99597   5N1AZ2BS2LN132538   Nissan       MURANO              ALBANY                    NY
99598   5N1AZ2BS2LN133382   Nissan       MURANO              CLEVELAND                 OH
99599   5N1AZ2BS2LN133446   Nissan       MURANO              STERLING                  VA
99600   5N1AZ2BS2LN133480   Nissan       MURANO              FORT LAUDERDALE           FL
99601   5N1AZ2BS2LN133575   Nissan       MURANO              LOS ANGELES               CA
99602   5N1AZ2BS2LN133608   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
99603   5N1AZ2BS2LN134922   Nissan       MURANO              GRAND RAPIDS              MI
99604   5N1AZ2BS2LN134953   Nissan       MURANO              MEMPHIS                   TN
99605   5N1AZ2BS2LN134967   Nissan       MURANO              STERLING                  US
99606   5N1AZ2BS2LN134998   Nissan       MURANO              CHICAGO                   IL
99607   5N1AZ2BS2LN135049   Nissan       MURANO              CHICAGO                   IL
99608   5N1AZ2BS2LN135195   Nissan       MURANO              ALEXANDRIA                VA
99609   5N1AZ2BS2LN135309   Nissan       MURANO              CHICAGO                   IL
99610   5N1AZ2BS2LN135665   Nissan       MURANO              CHARLESTON                SC
99611   5N1AZ2BS2LN135892   Nissan       MURANO              CHARLOTTE                 NC
99612   5N1AZ2BS2LN138176   Nissan       MURANO              ALEXANDRIA                VA
99613   5N1AZ2BS2LN138307   Nissan       MURANO              RALIEGH                   NC
99614   5N1AZ2BS2LN138596   Nissan       MURANO              HARRISBURG                PA
99615   5N1AZ2BS2LN138601   Nissan       MURANO              KANSAS CITY               MO
99616   5N1AZ2BS2LN138615   Nissan       MURANO              CHARLOTTE                 NC
99617   5N1AZ2BS2LN139201   Nissan       MURANO              HARRISBURG                PA
99618   5N1AZ2BS2LN139215   Nissan       MURANO              RALEIGH                   NC
99619   5N1AZ2BS2LN139229   Nissan       MURANO              CHICAGO                   IL
99620   5N1AZ2BS2LN139411   Nissan       MURANO              PHILADELPHIA              PA
99621   5N1AZ2BS2LN139425   Nissan       MURANO              RALEIGH                   NC
99622   5N1AZ2BS2LN139473   Nissan       MURANO              PHILADELPHIA              PA
99623   5N1AZ2BS2LN139490   Nissan       MURANO              TAMPA                     FL
99624   5N1AZ2BS2LN139604   Nissan       MURANO              SAN ANTONIO               TX
99625   5N1AZ2BS2LN139859   Nissan       MURANO              EAST BOSTON               MA
99626   5N1AZ2BS2LN140106   Nissan       MURANO              CHICAGO                   IL
99627   5N1AZ2BS2LN140218   Nissan       MURANO              CHICAGO                   IL
99628   5N1AZ2BS2LN140543   Nissan       MURANO              PHILADELPHIA              PA
99629   5N1AZ2BS2LN140588   Nissan       MURANO              PHILADELPHIA              PA
99630   5N1AZ2BS2LN141109   Nissan       MURANO              PHILADELPHIA              PA
99631   5N1AZ2BS2LN141112   Nissan       MURANO              PHILADELPHIA              PA
99632   5N1AZ2BS2LN141160   Nissan       MURANO              KANSAS CITY               MO
99633   5N1AZ2BS2LN141191   Nissan       MURANO              PHILADELPHIA              PA
99634   5N1AZ2BS2LN141238   Nissan       MURANO              KANSAS CITY               MO
99635   5N1AZ2BS2LN141255   Nissan       MURANO              KANSAS CITY               MO
99636   5N1AZ2BS2LN141286   Nissan       MURANO              PHILADELPHIA              PA
99637   5N1AZ2BS2LN141319   Nissan       MURANO              NEW BERN                  NC
99638   5N1AZ2BS2LN141322   Nissan       MURANO              KANSAS CITY               MO
99639   5N1AZ2BS2LN141370   Nissan       MURANO              RALIEGH                   NC
99640   5N1AZ2BS2LN141417   Nissan       MURANO              KANSAS CITY               MO
99641   5N1AZ2BS2LN141420   Nissan       MURANO              PHILADELPHIA              PA
99642   5N1AZ2BS2LN141434   Nissan       MURANO              RALIEGH                   NC
99643   5N1AZ2BS2LN141563   Nissan       MURANO              STERLING                  VA
99644   5N1AZ2BS2LN141725   Nissan       MURANO              HARTFORD                  CT
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99645   5N1AZ2BS2LN141742   Nissan       MURANO              CHICAGO                   IL
99646   5N1AZ2BS2LN143006   Nissan       MURANO              CHICAGO                   IL
99647   5N1AZ2BS2LN143202   Nissan       MURANO              BOSTON                    MA
99648   5N1AZ2BS2LN143264   Nissan       MURANO              CHICAGO                   IL
99649   5N1AZ2BS2LN143362   Nissan       MURANO              MINNEAPOLIS               MN
99650   5N1AZ2BS2LN143474   Nissan       MURANO              SAINT PAUL                MN
99651   5N1AZ2BS2LN143488   Nissan       MURANO              SAINT PAUL                MN
99652   5N1AZ2BS2LN143507   Nissan       MURANO              SAINT PAUL                MN
99653   5N1AZ2BS2LN144009   Nissan       MURANO              SAINT PAUL                MN
99654   5N1AZ2BS2LN144107   Nissan       MURANO              ALEXANDRIA                VA
99655   5N1AZ2BS2LN144205   Nissan       MURANO              ALEXANDRIA                VA
99656   5N1AZ2BS2LN144446   Nissan       MURANO              ALEXANDRIA                VA
99657   5N1AZ2BS2LN146214   Nissan       MURANO              NEWARK                    NJ
99658   5N1AZ2BS2LN146939   Nissan       MURANO              PHILADELPHIA              PA
99659   5N1AZ2BS2LN147072   Nissan       MURANO              CHARLOTTE                 US
99660   5N1AZ2BS2LN147461   Nissan       MURANO              CHARLOTTE                 US
99661   5N1AZ2BS2LN147816   Nissan       MURANO              PITTSBURGH                PA
99662   5N1AZ2BS2LN147895   Nissan       MURANO              CHARLOTTE                 US
99663   5N1AZ2BS2LN147914   Nissan       MURANO              Teterboro                 NJ
99664   5N1AZ2BS2LN147959   Nissan       MURANO              RICHMOND                  VA
99665   5N1AZ2BS2LN147976   Nissan       MURANO              PITTSBURGH                PA
99666   5N1AZ2BS2LN148030   Nissan       MURANO              WHITE PLAINS              NY
99667   5N1AZ2BS2LN148139   Nissan       MURANO              NEWARK                    NJ
99668   5N1AZ2BS2LN148142   Nissan       MURANO              CHARLOTTE                 US
99669   5N1AZ2BS2LN148495   Nissan       MURANO              PHILADELPHIA              PA
99670   5N1AZ2BS2LN148559   Nissan       MURANO              NEWARK                    NJ
99671   5N1AZ2BS2LN148562   Nissan       MURANO              RICHMOND                  VA
99672   5N1AZ2BS2LN148755   Nissan       MURANO              NEWARK                    NJ
99673   5N1AZ2BS2LN148769   Nissan       MURANO              NEWARK                    NJ
99674   5N1AZ2BS2LN148772   Nissan       MURANO              NEWARK                    NJ
99675   5N1AZ2BS2LN148951   Nissan       MURANO              OMAHA                     NE
99676   5N1AZ2BS2LN149047   Nissan       MURANO              Teterboro                 NJ
99677   5N1AZ2BS2LN149095   Nissan       MURANO              PLAINFIELD                NJ
99678   5N1AZ2BS2LN149114   Nissan       MURANO              NEWARK                    NJ
99679   5N1AZ2BS2LN149131   Nissan       MURANO              NEWARK                    NJ
99680   5N1AZ2BS2LN149162   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
99681   5N1AZ2BS2LN149193   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
99682   5N1AZ2BS2LN149212   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
99683   5N1AZ2BS2LN149646   Nissan       MURANO              RICHMOND                  VA
99684   5N1AZ2BS2LN149937   Nissan       MURANO              NEWARK                    NJ
99685   5N1AZ2BS2LN150151   Nissan       MURANO              NEWARK                    NJ
99686   5N1AZ2BS3LN100133   Nissan       MURANO              ORLANDO                   FL
99687   5N1AZ2BS3LN100150   Nissan       MURANO              FORT LAUDERDALE           FL
99688   5N1AZ2BS3LN100164   Nissan       MURANO              BOSTON                    MA
99689   5N1AZ2BS3LN100178   Nissan       MURANO              TALLAHASSEE               F
99690   5N1AZ2BS3LN100181   Nissan       MURANO              ROANOKE                   VA
99691   5N1AZ2BS3LN100195   Nissan       MURANO              SOUTH SAN FRANC           CA
99692   5N1AZ2BS3LN100214   Nissan       MURANO              ONTARIO                   CA
99693   5N1AZ2BS3LN100276   Nissan       MURANO              CHARLOTTE                 US
99694   5N1AZ2BS3LN100293   Nissan       MURANO              HEBRON                    KY
99695   5N1AZ2BS3LN100438   Nissan       MURANO              ORANGE COUNTY             CA
99696   5N1AZ2BS3LN100455   Nissan       MURANO              TAMPA                     FL
99697   5N1AZ2BS3LN100567   Nissan       MURANO              LOS ANGELES               CA
99698   5N1AZ2BS3LN100584   Nissan       MURANO              MIAMI                     FL
99699   5N1AZ2BS3LN101086   Nissan       MURANO              STERLING                  US
99700   5N1AZ2BS3LN101167   Nissan       MURANO              Tampa                     FL
99701   5N1AZ2BS3LN101170   Nissan       MURANO              MIAMI                     FL
99702   5N1AZ2BS3LN101184   Nissan       MURANO              OAKLAND                   CA
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99703   5N1AZ2BS3LN101248   Nissan       MURANO              Atlanta                   GA
99704   5N1AZ2BS3LN101296   Nissan       MURANO              Atlanta                   GA
99705   5N1AZ2BS3LN101329   Nissan       MURANO              DAYTONA BEACH             FL
99706   5N1AZ2BS3LN101380   Nissan       MURANO              DANIA BEACH               FL
99707   5N1AZ2BS3LN101413   Nissan       MURANO              LOUISVILLE                KY
99708   5N1AZ2BS3LN101427   Nissan       MURANO              HOUSTON                   TX
99709   5N1AZ2BS3LN101430   Nissan       MURANO              SACRAMENTO                CA
99710   5N1AZ2BS3LN101444   Nissan       MURANO              MOBILE                    A
99711   5N1AZ2BS3LN101489   Nissan       MURANO              ORLANDO                   FL
99712   5N1AZ2BS3LN101511   Nissan       MURANO              RENO                      NV
99713   5N1AZ2BS3LN101606   Nissan       MURANO              JACKSON                   MS
99714   5N1AZ2BS3LN101718   Nissan       MURANO              SACRAMENTO                CA
99715   5N1AZ2BS3LN101783   Nissan       MURANO              Hebron                    KY
99716   5N1AZ2BS3LN101797   Nissan       MURANO              SACRAMENTO                CA
99717   5N1AZ2BS3LN101816   Nissan       MURANO              SAN DIEGO                 CA
99718   5N1AZ2BS3LN101847   Nissan       MURANO              SACRAMENTO                CA
99719   5N1AZ2BS3LN102741   Nissan       MURANO              BURLINGAME                CA
99720   5N1AZ2BS3LN103131   Nissan       MURANO              HOUSTON                   TX
99721   5N1AZ2BS3LN103209   Nissan       MURANO              DES MOINES                IA
99722   5N1AZ2BS3LN103243   Nissan       MURANO              CHICAGO                   IL
99723   5N1AZ2BS3LN103310   Nissan       MURANO              RALIEGH                   NC
99724   5N1AZ2BS3LN103372   Nissan       MURANO              ATLANTA                   GA
99725   5N1AZ2BS3LN103386   Nissan       MURANO              SEATAC                    WA
99726   5N1AZ2BS3LN103405   Nissan       MURANO              ORLANDO                   FL
99727   5N1AZ2BS3LN103436   Nissan       MURANO              SAN ANTONIO               TX
99728   5N1AZ2BS3LN103470   Nissan       MURANO              HOUSTON                   TX
99729   5N1AZ2BS3LN103498   Nissan       MURANO              DALLAS                    TX
99730   5N1AZ2BS3LN103517   Nissan       MURANO              TULSA                     OK
99731   5N1AZ2BS3LN103534   Nissan       MURANO              HOUSTON                   TX
99732   5N1AZ2BS3LN103663   Nissan       MURANO              KNOXVILLE                 TN
99733   5N1AZ2BS3LN103694   Nissan       MURANO              CHARLOTTE                 NC
99734   5N1AZ2BS3LN103727   Nissan       MURANO              SACRAMENTO                CA
99735   5N1AZ2BS3LN103968   Nissan       MURANO              PHOENIX                   AZ
99736   5N1AZ2BS3LN103985   Nissan       MURANO              FORT MYERS                FL
99737   5N1AZ2BS3LN104344   Nissan       MURANO              HARTFORD                  CT
99738   5N1AZ2BS3LN104389   Nissan       MURANO              WEST PALM BEACH           FL
99739   5N1AZ2BS3LN104442   Nissan       MURANO              AUSTIN                    TX
99740   5N1AZ2BS3LN104487   Nissan       MURANO              Atlanta                   GA
99741   5N1AZ2BS3LN104490   Nissan       MURANO              DES MOINES                IA
99742   5N1AZ2BS3LN104506   Nissan       MURANO              ORLANDO                   FL
99743   5N1AZ2BS3LN104537   Nissan       MURANO              BURBANK                   CA
99744   5N1AZ2BS3LN104540   Nissan       MURANO              KNOXVILLE                 TN
99745   5N1AZ2BS3LN104568   Nissan       MURANO              TAMPA                     US
99746   5N1AZ2BS3LN104585   Nissan       MURANO              Lexington                 KY
99747   5N1AZ2BS3LN104621   Nissan       MURANO              JACKSONVILLE              FL
99748   5N1AZ2BS3LN104649   Nissan       MURANO              RICHMOND                  VA
99749   5N1AZ2BS3LN104652   Nissan       MURANO              SANTA CLARA               CA
99750   5N1AZ2BS3LN104683   Nissan       MURANO              NEW YORK CITY             NY
99751   5N1AZ2BS3LN104697   Nissan       MURANO              CHARLESTON                SC
99752   5N1AZ2BS3LN104800   Nissan       MURANO              BLOOMINGTON               IL
99753   5N1AZ2BS3LN104859   Nissan       MURANO              WEST PALM BEACH           FL
99754   5N1AZ2BS3LN104862   Nissan       MURANO              PALM SPRINGS              CA
99755   5N1AZ2BS3LN104876   Nissan       MURANO              NASHVILLE                 TN
99756   5N1AZ2BS3LN104909   Nissan       MURANO              SHREVEPORT                LA
99757   5N1AZ2BS3LN105008   Nissan       MURANO              SAVANNAH                  GA
99758   5N1AZ2BS3LN105025   Nissan       MURANO              EL PASO                   TX
99759   5N1AZ2BS3LN105039   Nissan       MURANO              TAMPA                     FL
99760   5N1AZ2BS3LN105042   Nissan       MURANO              ATLANTA                   GA
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99761   5N1AZ2BS3LN105073   Nissan       MURANO              PITTSBURGH                PA
99762   5N1AZ2BS3LN105252   Nissan       MURANO              TAMPA                     FL
99763   5N1AZ2BS3LN105333   Nissan       MURANO              ORLANDO                   FL
99764   5N1AZ2BS3LN105381   Nissan       MURANO              WHITE PLAINS              NY
99765   5N1AZ2BS3LN105445   Nissan       MURANO              JACKSONVILLE              FL
99766   5N1AZ2BS3LN105512   Nissan       MURANO              HOUSTON                   TX
99767   5N1AZ2BS3LN105588   Nissan       MURANO              SARASOTA                  FL
99768   5N1AZ2BS3LN105624   Nissan       MURANO              FORT LAUDERDALE           FL
99769   5N1AZ2BS3LN105638   Nissan       MURANO              MORRISVILLE               NC
99770   5N1AZ2BS3LN105641   Nissan       MURANO              ATLANTA                   GA
99771   5N1AZ2BS3LN105655   Nissan       MURANO              FORT LAUDERDALE           FL
99772   5N1AZ2BS3LN105753   Nissan       MURANO              BEAUFORT                  SC
99773   5N1AZ2BS3LN105767   Nissan       MURANO              Warwick                   RI
99774   5N1AZ2BS3LN105803   Nissan       MURANO              HANOVER                   MD
99775   5N1AZ2BS3LN105896   Nissan       MURANO              Philadelphia              PA
99776   5N1AZ2BS3LN105929   Nissan       MURANO              COLLEGE PARK              GA
99777   5N1AZ2BS3LN105932   Nissan       MURANO              WEST PALM BEACH           FL
99778   5N1AZ2BS3LN105994   Nissan       MURANO              KNOXVILLE                 TN
99779   5N1AZ2BS3LN106031   Nissan       MURANO              OAKLAND                   CA
99780   5N1AZ2BS3LN106062   Nissan       MURANO              SYRACUSE                  NY
99781   5N1AZ2BS3LN106076   Nissan       MURANO              Atlanta                   GA
99782   5N1AZ2BS3LN106112   Nissan       MURANO              DALLAS                    TX
99783   5N1AZ2BS3LN106207   Nissan       MURANO              WEST COLUMBIA             SC
99784   5N1AZ2BS3LN106272   Nissan       MURANO              SAN FRANCISCO             CA
99785   5N1AZ2BS3LN106403   Nissan       MURANO              WEST COLUMBIA             SC
99786   5N1AZ2BS3LN106434   Nissan       MURANO              OAKLAND                   CA
99787   5N1AZ2BS3LN106482   Nissan       MURANO              CHARLOTTE                 NC
99788   5N1AZ2BS3LN106496   Nissan       MURANO              Aberdeen                  MD
99789   5N1AZ2BS3LN106532   Nissan       MURANO              Teterboro                 NJ
99790   5N1AZ2BS3LN106630   Nissan       MURANO              AUGUSTA                   GA
99791   5N1AZ2BS3LN106708   Nissan       MURANO              CLEVELAND                 OH
99792   5N1AZ2BS3LN106742   Nissan       MURANO              EGG HARBOR TOWN           NJ
99793   5N1AZ2BS3LN106773   Nissan       MURANO              SANTA FE                  NM
99794   5N1AZ2BS3LN106837   Nissan       MURANO              SACRAMENTO                CA
99795   5N1AZ2BS3LN106868   Nissan       MURANO              LOS ANGELES               CA
99796   5N1AZ2BS3LN106885   Nissan       MURANO              SAN JOSE                  CA
99797   5N1AZ2BS3LN106918   Nissan       MURANO              WEST PALM BEACH           FL
99798   5N1AZ2BS3LN106949   Nissan       MURANO              KENNER                    LA
99799   5N1AZ2BS3LN106966   Nissan       MURANO              INGLEWOOD                 CA
99800   5N1AZ2BS3LN106983   Nissan       MURANO              SAN FRANCISCO             CA
99801   5N1AZ2BS3LN107003   Nissan       MURANO              COLLEGE PARK              GA
99802   5N1AZ2BS3LN108443   Nissan       MURANO              ORLANDO                   FL
99803   5N1AZ2BS3LN121483   Nissan       MURANO              ATLANTA                   GA
99804   5N1AZ2BS3LN121550   Nissan       MURANO              ALLENTOWN                 US
99805   5N1AZ2BS3LN121662   Nissan       MURANO              MILWAUKEE                 WI
99806   5N1AZ2BS3LN121693   Nissan       MURANO              STERLING                  VA
99807   5N1AZ2BS3LN121712   Nissan       MURANO              WARWICK                   RI
99808   5N1AZ2BS3LN121743   Nissan       MURANO              CHARLOTTE                 NC
99809   5N1AZ2BS3LN121810   Nissan       MURANO              BUFFALO                   NY
99810   5N1AZ2BS3LN122133   Nissan       MURANO              PHILADELPHIA              PA
99811   5N1AZ2BS3LN122150   Nissan       MURANO              BALTIMORE                 MD
99812   5N1AZ2BS3LN122312   Nissan       MURANO              LUBBOCK                   TX
99813   5N1AZ2BS3LN122486   Nissan       MURANO              Hebron                    KY
99814   5N1AZ2BS3LN122648   Nissan       MURANO              PITTSBURGH                PA
99815   5N1AZ2BS3LN122696   Nissan       MURANO              CHARLESTON                SC
99816   5N1AZ2BS3LN123153   Nissan       MURANO              PHILADELPHIA              PA
99817   5N1AZ2BS3LN123265   Nissan       MURANO              ALBANY                    NY
99818   5N1AZ2BS3LN123301   Nissan       MURANO              LORTON                    VA
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99819   5N1AZ2BS3LN123539   Nissan       MURANO              MILWAUKEE                 WI
99820   5N1AZ2BS3LN123637   Nissan       MURANO              NORFOLK                   VA
99821   5N1AZ2BS3LN123654   Nissan       MURANO              SAN DIEGO                 CA
99822   5N1AZ2BS3LN123735   Nissan       MURANO              ORLANDO                   FL
99823   5N1AZ2BS3LN123833   Nissan       MURANO              LOUISVILLE                KY
99824   5N1AZ2BS3LN123864   Nissan       MURANO              WHITE PLAINS              NY
99825   5N1AZ2BS3LN123881   Nissan       MURANO              BALTIMORE                 MD
99826   5N1AZ2BS3LN124108   Nissan       MURANO              GREENVILLE                NC
99827   5N1AZ2BS3LN124139   Nissan       MURANO              COLUMBIA                  SC
99828   5N1AZ2BS3LN124156   Nissan       MURANO              DES MOINES                IA
99829   5N1AZ2BS3LN124206   Nissan       MURANO              GREENSBORO                NC
99830   5N1AZ2BS3LN124304   Nissan       MURANO              INDIANAPOLIS              IN
99831   5N1AZ2BS3LN124349   Nissan       MURANO              BUFFALO                   NY
99832   5N1AZ2BS3LN124352   Nissan       MURANO              STERLING                  VA
99833   5N1AZ2BS3LN124450   Nissan       MURANO              ORLANDO                   FL
99834   5N1AZ2BS3LN124657   Nissan       MURANO              RALEIGH                   NC
99835   5N1AZ2BS3LN124660   Nissan       MURANO              RICHMOND                  VA
99836   5N1AZ2BS3LN124724   Nissan       MURANO              CHICAGO                   IL
99837   5N1AZ2BS3LN124738   Nissan       MURANO              ALBUQUERQUE               NM
99838   5N1AZ2BS3LN124741   Nissan       MURANO              KANSAS CITY               MO
99839   5N1AZ2BS3LN124772   Nissan       MURANO              CHICAGO O'HARE AP         IL
99840   5N1AZ2BS3LN124805   Nissan       MURANO              GREENSBORO                NC
99841   5N1AZ2BS3LN124836   Nissan       MURANO              ALBANY                    NY
99842   5N1AZ2BS3LN124884   Nissan       MURANO              WEST PALM BEACH           FL
99843   5N1AZ2BS3LN124982   Nissan       MURANO              MIAMI                     FL
99844   5N1AZ2BS3LN125131   Nissan       MURANO              KANSAS CITY               MO
99845   5N1AZ2BS3LN128434   Nissan       MURANO              MIAMI                     FL
99846   5N1AZ2BS3LN128448   Nissan       MURANO              WHITE PLAINS              NY
99847   5N1AZ2BS3LN129082   Nissan       MURANO              New Britain               CT
99848   5N1AZ2BS3LN129227   Nissan       MURANO              PALM SPRINGS              CA
99849   5N1AZ2BS3LN129244   Nissan       MURANO              INGLEWOOD                 CA
99850   5N1AZ2BS3LN129261   Nissan       MURANO              COLLEGE PARK              GA
99851   5N1AZ2BS3LN129292   Nissan       MURANO              MIAMI                     FL
99852   5N1AZ2BS3LN129762   Nissan       MURANO              WARWICK                   RI
99853   5N1AZ2BS3LN129910   Nissan       MURANO              PITTSBURGH                PA
99854   5N1AZ2BS3LN130118   Nissan       MURANO              BLOOMINGTON               IL
99855   5N1AZ2BS3LN130264   Nissan       MURANO              CLEVELAND                 OH
99856   5N1AZ2BS3LN130443   Nissan       MURANO              CHARLESTON                WV
99857   5N1AZ2BS3LN130569   Nissan       MURANO              SAINT LOUIS               MO
99858   5N1AZ2BS3LN130717   Nissan       MURANO              SACRAMENTO                CA
99859   5N1AZ2BS3LN130751   Nissan       MURANO              PHILADELPHIA              PA
99860   5N1AZ2BS3LN130877   Nissan       MURANO              CLEVELAND                 OH
99861   5N1AZ2BS3LN131012   Nissan       MURANO              PHOENIX                   AZ
99862   5N1AZ2BS3LN131169   Nissan       MURANO              DETROIT                   MI
99863   5N1AZ2BS3LN131298   Nissan       MURANO              HARTFORD                  CT
99864   5N1AZ2BS3LN131592   Nissan       MURANO              SAINT LOUIS               MO
99865   5N1AZ2BS3LN132449   Nissan       MURANO              SAINT LOUIS               MO
99866   5N1AZ2BS3LN133522   Nissan       MURANO              LOS ANGELES               CA
99867   5N1AZ2BS3LN133651   Nissan       MURANO              ORANGE COUNTY             CA
99868   5N1AZ2BS3LN133925   Nissan       MURANO              DETROIT                   MI
99869   5N1AZ2BS3LN134234   Nissan       MURANO              SAN DIEGO                 CA
99870   5N1AZ2BS3LN134265   Nissan       MURANO              SOUTH BURLINGTO           VT
99871   5N1AZ2BS3LN134413   Nissan       MURANO              CHARLOTTE                 US
99872   5N1AZ2BS3LN134489   Nissan       MURANO              PEORIA                    IL
99873   5N1AZ2BS3LN134945   Nissan       MURANO              ALEXANDRIA                VA
99874   5N1AZ2BS3LN134962   Nissan       MURANO              ALEXANDRIA                VA
99875   5N1AZ2BS3LN135190   Nissan       MURANO              ALEXANDRIA                VA
99876   5N1AZ2BS3LN135206   Nissan       MURANO              ALEXANDRIA                VA
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99877   5N1AZ2BS3LN135223   Nissan       MURANO              ALEXANDRIA                VA
99878   5N1AZ2BS3LN135237   Nissan       MURANO              RALIEGH                   NC
99879   5N1AZ2BS3LN135254   Nissan       MURANO              ALEXANDRIA                VA
99880   5N1AZ2BS3LN135285   Nissan       MURANO              STERLING                  VA
99881   5N1AZ2BS3LN135657   Nissan       MURANO              RALIEGH                   NC
99882   5N1AZ2BS3LN135691   Nissan       MURANO              BLOOMINGTON               IL
99883   5N1AZ2BS3LN135755   Nissan       MURANO              RALIEGH                   NC
99884   5N1AZ2BS3LN135853   Nissan       MURANO              AUGUSTA                   GA
99885   5N1AZ2BS3LN136291   Nissan       MURANO              CHARLOTTE                 NC
99886   5N1AZ2BS3LN136565   Nissan       MURANO              CHICAGO                   IL
99887   5N1AZ2BS3LN136579   Nissan       MURANO              SAINT LOUIS               MO
99888   5N1AZ2BS3LN136839   Nissan       MURANO              CHICAGO                   IL
99889   5N1AZ2BS3LN136999   Nissan       MURANO              RALEIGH                   NC
99890   5N1AZ2BS3LN137943   Nissan       MURANO              PITTSBURGH                PA
99891   5N1AZ2BS3LN138249   Nissan       MURANO              PHILADELPHIA              PA
99892   5N1AZ2BS3LN138557   Nissan       MURANO              PHILADELPHIA              PA
99893   5N1AZ2BS3LN138560   Nissan       MURANO              ALEXANDRIA                VA
99894   5N1AZ2BS3LN138686   Nissan       MURANO              RALIEGH                   NC
99895   5N1AZ2BS3LN139210   Nissan       MURANO              HOUSTON                   TX
99896   5N1AZ2BS3LN139479   Nissan       MURANO              PHILADELPHIA              PA
99897   5N1AZ2BS3LN139546   Nissan       MURANO              SAINT PAUL                MN
99898   5N1AZ2BS3LN139661   Nissan       MURANO              SAINT PAUL                MN
99899   5N1AZ2BS3LN139725   Nissan       MURANO              SAINT PAUL                MN
99900   5N1AZ2BS3LN139840   Nissan       MURANO              ALEXANDRIA                VA
99901   5N1AZ2BS3LN140244   Nissan       MURANO              PROVIDENCE                MA
99902   5N1AZ2BS3LN140261   Nissan       MURANO              CHICAGO                   IL
99903   5N1AZ2BS3LN140468   Nissan       MURANO              SANTA FE                  NM
99904   5N1AZ2BS3LN140583   Nissan       MURANO              PHILADELPHIA              PA
99905   5N1AZ2BS3LN141121   Nissan       MURANO              CHARLOTTE                 NC
99906   5N1AZ2BS3LN141202   Nissan       MURANO              CHARLOTTE                 NC
99907   5N1AZ2BS3LN141295   Nissan       MURANO              PHILADELPHIA              PA
99908   5N1AZ2BS3LN141328   Nissan       MURANO              PHILADELPHIA              PA
99909   5N1AZ2BS3LN141331   Nissan       MURANO              RALIEGH                   NC
99910   5N1AZ2BS3LN141362   Nissan       MURANO              PITTSBURGH                PA
99911   5N1AZ2BS3LN141393   Nissan       MURANO              KANSAS CITY               MO
99912   5N1AZ2BS3LN141457   Nissan       MURANO              RALEIGH                   NC
99913   5N1AZ2BS3LN141734   Nissan       MURANO              CLEVELAND                 OH
99914   5N1AZ2BS3LN141751   Nissan       MURANO              HARTFORD                  CT
99915   5N1AZ2BS3LN141796   Nissan       MURANO              BOSTON                    MA
99916   5N1AZ2BS3LN142186   Nissan       MURANO              BOSTON                    MA
99917   5N1AZ2BS3LN142267   Nissan       MURANO              CHICAGO                   IL
99918   5N1AZ2BS3LN142897   Nissan       MURANO              PHILADELPHIA              PA
99919   5N1AZ2BS3LN143029   Nissan       MURANO              ALEXANDRIA                VA
99920   5N1AZ2BS3LN143077   Nissan       MURANO              CHICAGO                   IL
99921   5N1AZ2BS3LN143175   Nissan       MURANO              CHICAGO                   IL
99922   5N1AZ2BS3LN143967   Nissan       MURANO              ALEXANDRIA                VA
99923   5N1AZ2BS3LN144083   Nissan       MURANO              SAINT PAUL                MN
99924   5N1AZ2BS3LN144200   Nissan       MURANO              ALEXANDRIA                VA
99925   5N1AZ2BS3LN147114   Nissan       MURANO              OMAHA                     NE
99926   5N1AZ2BS3LN147369   Nissan       MURANO              OMAHA                     NE
99927   5N1AZ2BS3LN147453   Nissan       MURANO              PITTSBURGH                PA
99928   5N1AZ2BS3LN147596   Nissan       MURANO              PITTSBURGH                PA
99929   5N1AZ2BS3LN147629   Nissan       MURANO              CHARLOTTE                 US
99930   5N1AZ2BS3LN147856   Nissan       MURANO              PITTSBURGH                PA
99931   5N1AZ2BS3LN148134   Nissan       MURANO              NEWARK                    NJ
99932   5N1AZ2BS3LN148280   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
99933   5N1AZ2BS3LN148313   Nissan       MURANO              CHARLOTTE                 US
99934   5N1AZ2BS3LN148456   Nissan       MURANO              CHARLOTTE                 US
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99935   5N1AZ2BS3LN148537   Nissan       MURANO              WHITE PLAINS              NY
99936   5N1AZ2BS3LN148540   Nissan       MURANO              NEWARK                    NJ
99937   5N1AZ2BS3LN148568   Nissan       MURANO              Teterboro                 NJ
99938   5N1AZ2BS3LN148764   Nissan       MURANO              CHARLOTTE                 US
99939   5N1AZ2BS3LN148912   Nissan       MURANO              OMAHA                     NE
99940   5N1AZ2BS3LN149087   Nissan       MURANO              OMAHA                     NE
99941   5N1AZ2BS3LN149123   Nissan       MURANO              OMAHA                     NE
99942   5N1AZ2BS3LN149168   Nissan       MURANO              NEWARK                    NJ
99943   5N1AZ2BS3LN149199   Nissan       MURANO              PHILADELPHIA              US
99944   5N1AZ2BS3LN149221   Nissan       MURANO              MINNEAPOLIS               MN
99945   5N1AZ2BS3LN149395   Nissan       MURANO              NEWARK                    NJ
99946   5N1AZ2BS3LN149400   Nissan       MURANO              NEWARK                    NJ
99947   5N1AZ2BS3LN149476   Nissan       MURANO              OMAHA                     NE
99948   5N1AZ2BS3LN149512   Nissan       MURANO              NEWARK                    NJ
99949   5N1AZ2BS3LN149560   Nissan       MURANO              OMAHA                     NE
99950   5N1AZ2BS3LN149610   Nissan       MURANO              CLEVELAND                 OH
99951   5N1AZ2BS4LN100139   Nissan       MURANO              JAMAICA                   NY
99952   5N1AZ2BS4LN100142   Nissan       MURANO              WEST PALM BEACH           FL
99953   5N1AZ2BS4LN100187   Nissan       MURANO              SAN FRANCISCO             CA
99954   5N1AZ2BS4LN100190   Nissan       MURANO              STERLING                  VA
99955   5N1AZ2BS4LN100450   Nissan       MURANO              DALLAS                    TX
99956   5N1AZ2BS4LN100562   Nissan       MURANO              ORLANDO                   FL
99957   5N1AZ2BS4LN100576   Nissan       MURANO              SEATAC                    WA
99958   5N1AZ2BS4LN100609   Nissan       MURANO              Atlanta                   GA
99959   5N1AZ2BS4LN100805   Nissan       MURANO              RONKONKOMA                NY
99960   5N1AZ2BS4LN100979   Nissan       MURANO              DETROIT                   MI
99961   5N1AZ2BS4LN101002   Nissan       MURANO              PHILADELPHIA              PA
99962   5N1AZ2BS4LN101095   Nissan       MURANO              PLATTSBURGH               NY
99963   5N1AZ2BS4LN101114   Nissan       MURANO              BLOOMINGTON               IL
99964   5N1AZ2BS4LN101288   Nissan       MURANO              ORLANDO                   FL
99965   5N1AZ2BS4LN101369   Nissan       MURANO              SARASOTA                  FL
99966   5N1AZ2BS4LN101386   Nissan       MURANO              ATLANTA                   GA
99967   5N1AZ2BS4LN101405   Nissan       MURANO              MILWAUKEE                 WI
99968   5N1AZ2BS4LN101484   Nissan       MURANO              FRESNO                    CA
99969   5N1AZ2BS4LN101498   Nissan       MURANO              ORLANDO                   FL
99970   5N1AZ2BS4LN101503   Nissan       MURANO              ALLENTOWN                 US
99971   5N1AZ2BS4LN101677   Nissan       MURANO              SEATAC                    WA
99972   5N1AZ2BS4LN101730   Nissan       MURANO              OAKLAND                   CA
99973   5N1AZ2BS4LN101761   Nissan       MURANO              CHICAGO                   IL
99974   5N1AZ2BS4LN101775   Nissan       MURANO              SARASOTA                  FL
99975   5N1AZ2BS4LN101789   Nissan       MURANO              SACRAMENTO                CA
99976   5N1AZ2BS4LN101792   Nissan       MURANO              ORLANDO                   FL
99977   5N1AZ2BS4LN101808   Nissan       MURANO              Tampa                     FL
99978   5N1AZ2BS4LN102716   Nissan       MURANO              SAN JOSE                  CA
99979   5N1AZ2BS4LN102862   Nissan       MURANO              NEW YORK CITY             NY
99980   5N1AZ2BS4LN102960   Nissan       MURANO              DETROIT                   MI
99981   5N1AZ2BS4LN103140   Nissan       MURANO              HOUSTON                   TX
99982   5N1AZ2BS4LN103221   Nissan       MURANO              ROANOKE                   VA
99983   5N1AZ2BS4LN103378   Nissan       MURANO              SANTA ANA                 CA
99984   5N1AZ2BS4LN103395   Nissan       MURANO              ONTARIO                   CA
99985   5N1AZ2BS4LN103400   Nissan       MURANO              Downey                    CA
99986   5N1AZ2BS4LN103414   Nissan       MURANO              San Francisco             CA
99987   5N1AZ2BS4LN103428   Nissan       MURANO              FORT MYERS                FL
99988   5N1AZ2BS4LN103459   Nissan       MURANO              SAN ANTONIO               TX
99989   5N1AZ2BS4LN103493   Nissan       MURANO              RALEIGH                   NC
99990   5N1AZ2BS4LN103509   Nissan       MURANO              COLLEGE PARK              GA
99991   5N1AZ2BS4LN103624   Nissan       MURANO              HOUSTON                   TX
99992   5N1AZ2BS4LN103736   Nissan       MURANO              ALEXANDRIA                VA
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 99993   5N1AZ2BS4LN103767   Nissan       MURANO              DALLAS                    TX
 99994   5N1AZ2BS4LN103798   Nissan       MURANO              HOUSTON                   TX
 99995   5N1AZ2BS4LN103803   Nissan       MURANO              BUFFALO                   NY
 99996   5N1AZ2BS4LN103851   Nissan       MURANO              AUSTIN                    TX
 99997   5N1AZ2BS4LN103879   Nissan       MURANO              HOUSTON                   TX
 99998   5N1AZ2BS4LN103882   Nissan       MURANO              FORT MYERS                FL
 99999   5N1AZ2BS4LN103963   Nissan       MURANO              SAN JOSE                  CA
100000   5N1AZ2BS4LN103980   Nissan       MURANO              NEW BERN                  NC
100001   5N1AZ2BS4LN104014   Nissan       MURANO              TAMPA                     FL
100002   5N1AZ2BS4LN104031   Nissan       MURANO              SAN ANTONIO               TX
100003   5N1AZ2BS4LN104062   Nissan       MURANO              DALLAS                    TX
100004   5N1AZ2BS4LN104160   Nissan       MURANO              Tulsa                     OK
100005   5N1AZ2BS4LN104188   Nissan       MURANO              Reno                      NV
100006   5N1AZ2BS4LN104272   Nissan       MURANO              JACKSONVILLE              FL
100007   5N1AZ2BS4LN104367   Nissan       MURANO              BIRMINGHAM                AL
100008   5N1AZ2BS4LN104482   Nissan       MURANO              INDIANAPOLIS              IN
100009   5N1AZ2BS4LN104515   Nissan       MURANO              PITTSBURGH                PA
100010   5N1AZ2BS4LN104563   Nissan       MURANO              Estero                    FL
100011   5N1AZ2BS4LN104577   Nissan       MURANO              LOUISVILLE                KY
100012   5N1AZ2BS4LN104627   Nissan       MURANO              Teterboro                 NJ
100013   5N1AZ2BS4LN104644   Nissan       MURANO              SAVANNAH                  GA
100014   5N1AZ2BS4LN104658   Nissan       MURANO              FORT LAUDERDALE           FL
100015   5N1AZ2BS4LN104742   Nissan       MURANO              KENNER                    LA
100016   5N1AZ2BS4LN104823   Nissan       MURANO              TAMPA                     FL
100017   5N1AZ2BS4LN104899   Nissan       MURANO              ALBUQUERQUE               NM
100018   5N1AZ2BS4LN104997   Nissan       MURANO              LOS ANGELES               CA
100019   5N1AZ2BS4LN105003   Nissan       MURANO              ORLANDO                   FL
100020   5N1AZ2BS4LN105020   Nissan       MURANO              KANSAS CITY               MO
100021   5N1AZ2BS4LN105048   Nissan       MURANO              BEAUMONT                  TX
100022   5N1AZ2BS4LN105051   Nissan       MURANO              WEST PALM BEACH           FL
100023   5N1AZ2BS4LN105079   Nissan       MURANO              DALLAS                    TX
100024   5N1AZ2BS4LN105163   Nissan       MURANO              WICHITA FALLS             TX
100025   5N1AZ2BS4LN105177   Nissan       MURANO              KENNER                    LA
100026   5N1AZ2BS4LN105194   Nissan       MURANO              WHITE PLAINS              NY
100027   5N1AZ2BS4LN105258   Nissan       MURANO              SANTA ANA                 CA
100028   5N1AZ2BS4LN105275   Nissan       MURANO              KENNER                    LA
100029   5N1AZ2BS4LN105311   Nissan       MURANO              SACRAMENTO                CA
100030   5N1AZ2BS4LN105356   Nissan       MURANO              CHARLOTTE                 NC
100031   5N1AZ2BS4LN105437   Nissan       MURANO              SARASOTA                  FL
100032   5N1AZ2BS4LN105454   Nissan       MURANO              SACRAMENTO                CA
100033   5N1AZ2BS4LN105504   Nissan       MURANO              Reno                      NV
100034   5N1AZ2BS4LN105521   Nissan       MURANO              OAKLAND                   CA
100035   5N1AZ2BS4LN105552   Nissan       MURANO              PHILADELPHIA              PA
100036   5N1AZ2BS4LN105616   Nissan       MURANO              ORLANDO                   FL
100037   5N1AZ2BS4LN105809   Nissan       MURANO              SAN JOSE                  CA
100038   5N1AZ2BS4LN105812   Nissan       MURANO              RALEIGH                   NC
100039   5N1AZ2BS4LN105843   Nissan       MURANO              Raleigh                   NC
100040   5N1AZ2BS4LN105857   Nissan       MURANO              CHICAGO                   IL
100041   5N1AZ2BS4LN105888   Nissan       MURANO              CHARLESTON                WV
100042   5N1AZ2BS4LN105938   Nissan       MURANO              ORLANDO                   FL
100043   5N1AZ2BS4LN105941   Nissan       MURANO              FRESNO                    CA
100044   5N1AZ2BS4LN106085   Nissan       MURANO              ALBANY                    NY
100045   5N1AZ2BS4LN106099   Nissan       MURANO              MEMPHIS                   TN
100046   5N1AZ2BS4LN106104   Nissan       MURANO              MEMPHIS                   TN
100047   5N1AZ2BS4LN106135   Nissan       MURANO              NEW BERN                  NC
100048   5N1AZ2BS4LN106152   Nissan       MURANO              BEAUMONT                  TX
100049   5N1AZ2BS4LN106233   Nissan       MURANO              San Francisco             CA
100050   5N1AZ2BS4LN106247   Nissan       MURANO              LAS VEGAS                 NV
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100051   5N1AZ2BS4LN106281   Nissan       MURANO              FORT MYERS                FL
100052   5N1AZ2BS4LN106331   Nissan       MURANO              FRESNO                    CA
100053   5N1AZ2BS4LN106345   Nissan       MURANO              SAN FRANCISCO             CA
100054   5N1AZ2BS4LN106359   Nissan       MURANO              AUSTIN                    TX
100055   5N1AZ2BS4LN106376   Nissan       MURANO              PALM SPRINGS              CA
100056   5N1AZ2BS4LN106409   Nissan       MURANO              FORT LAUDERDALE           FL
100057   5N1AZ2BS4LN106412   Nissan       MURANO              SCRANTON                  PA
100058   5N1AZ2BS4LN106457   Nissan       MURANO              MIAMI                     FL
100059   5N1AZ2BS4LN106460   Nissan       MURANO              SAN FRANCISCO             CA
100060   5N1AZ2BS4LN106491   Nissan       MURANO              STERLING                  VA
100061   5N1AZ2BS4LN106510   Nissan       MURANO              Atlanta                   GA
100062   5N1AZ2BS4LN106619   Nissan       MURANO              SAN FRANCISCO             CA
100063   5N1AZ2BS4LN106653   Nissan       MURANO              SAN JOSE                  CA
100064   5N1AZ2BS4LN106684   Nissan       MURANO              ALBANY                    NY
100065   5N1AZ2BS4LN106734   Nissan       MURANO              RALIEGH                   NC
100066   5N1AZ2BS4LN106748   Nissan       MURANO              NEW BERN                  NC
100067   5N1AZ2BS4LN106751   Nissan       MURANO              NEWARK                    NJ
100068   5N1AZ2BS4LN106815   Nissan       MURANO              SAN FRANCISCO             CA
100069   5N1AZ2BS4LN106930   Nissan       MURANO              LAS VEGAS                 NV
100070   5N1AZ2BS4LN106958   Nissan       MURANO              BURBANK                   CA
100071   5N1AZ2BS4LN107057   Nissan       MURANO              Reno                      NV
100072   5N1AZ2BS4LN107074   Nissan       MURANO              LOS ANGELES               CA
100073   5N1AZ2BS4LN107110   Nissan       MURANO              SACRAMENTO                CA
100074   5N1AZ2BS4LN107141   Nissan       MURANO              CHARLOTTE                 NC
100075   5N1AZ2BS4LN121668   Nissan       MURANO              PHILADELPHIA              PA
100076   5N1AZ2BS4LN121783   Nissan       MURANO              CHARLESTON                SC
100077   5N1AZ2BS4LN121797   Nissan       MURANO              MYRTLE BEACH              SC
100078   5N1AZ2BS4LN121833   Nissan       MURANO              GREENVILLE                NC
100079   5N1AZ2BS4LN121847   Nissan       MURANO              NEW BERN                  NC
100080   5N1AZ2BS4LN121959   Nissan       MURANO              WARWICK                   RI
100081   5N1AZ2BS4LN122108   Nissan       MURANO              INDIANAPOLIS              IN
100082   5N1AZ2BS4LN122206   Nissan       MURANO              PHILADELPHIA              PA
100083   5N1AZ2BS4LN122349   Nissan       MURANO              PEORIA                    IL
100084   5N1AZ2BS4LN122366   Nissan       MURANO              FORT LAUDERDALE           FL
100085   5N1AZ2BS4LN122416   Nissan       MURANO              GLEN BURNIE               MD
100086   5N1AZ2BS4LN122500   Nissan       MURANO              SUMTER                    SC
100087   5N1AZ2BS4LN122531   Nissan       MURANO              WEST PALM BEACH           FL
100088   5N1AZ2BS4LN122559   Nissan       MURANO              PITTSBURGH                PA
100089   5N1AZ2BS4LN122691   Nissan       MURANO              PHILADELPHIA              PA
100090   5N1AZ2BS4LN122710   Nissan       MURANO              BUFFALO                   NY
100091   5N1AZ2BS4LN122920   Nissan       MURANO              WHITE PLAINS              NY
100092   5N1AZ2BS4LN122982   Nissan       MURANO              JACKSON                   MS
100093   5N1AZ2BS4LN123033   Nissan       MURANO              PITTSBURGH                PA
100094   5N1AZ2BS4LN123128   Nissan       MURANO              SAINT PAUL                MN
100095   5N1AZ2BS4LN123260   Nissan       MURANO              TULSA                     OK
100096   5N1AZ2BS4LN123291   Nissan       MURANO              ATLANTA                   GA
100097   5N1AZ2BS4LN123355   Nissan       MURANO              Atlanta                   GA
100098   5N1AZ2BS4LN123601   Nissan       MURANO              BOSTON                    MA
100099   5N1AZ2BS4LN123758   Nissan       MURANO              STERLING                  VA
100100   5N1AZ2BS4LN123873   Nissan       MURANO              PHILADELPHIA              PA
100101   5N1AZ2BS4LN123887   Nissan       MURANO              PORTLAND                  ME
100102   5N1AZ2BS4LN123971   Nissan       MURANO              PHILADELPHIA              PA
100103   5N1AZ2BS4LN124196   Nissan       MURANO              CHARLOTTE                 NC
100104   5N1AZ2BS4LN124215   Nissan       MURANO              GREENVILLE                NC
100105   5N1AZ2BS4LN124229   Nissan       MURANO              Morrisville               NC
100106   5N1AZ2BS4LN124246   Nissan       MURANO              WHITE PLAINS              NY
100107   5N1AZ2BS4LN124263   Nissan       MURANO              RALIEGH                   NC
100108   5N1AZ2BS4LN124280   Nissan       MURANO              INDIANAPOLIS              IN
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100109   5N1AZ2BS4LN124375   Nissan       MURANO              WARWICK                   RI
100110   5N1AZ2BS4LN124389   Nissan       MURANO              PHILADELPHIA              PA
100111   5N1AZ2BS4LN124473   Nissan       MURANO              OMAHA                     NE
100112   5N1AZ2BS4LN124540   Nissan       MURANO              PITTSBURGH                PA
100113   5N1AZ2BS4LN124666   Nissan       MURANO              STERLING                  VA
100114   5N1AZ2BS4LN124702   Nissan       MURANO              COLLEGE PARK              GA
100115   5N1AZ2BS4LN124733   Nissan       MURANO              CHICAGO O'HARE AP         IL
100116   5N1AZ2BS4LN124859   Nissan       MURANO              KNOXVILLE                 TN
100117   5N1AZ2BS4LN124862   Nissan       MURANO              HARRISBURG                PA
100118   5N1AZ2BS4LN124943   Nissan       MURANO              CHICAGO                   IL
100119   5N1AZ2BS4LN124974   Nissan       MURANO              WEST PALM BEACH           FL
100120   5N1AZ2BS4LN124988   Nissan       MURANO              KNOXVILLE                 TN
100121   5N1AZ2BS4LN128913   Nissan       MURANO              LOUISVILLE                KY
100122   5N1AZ2BS4LN128989   Nissan       MURANO              LOS ANGELES               CA
100123   5N1AZ2BS4LN129012   Nissan       MURANO              KNOXVILLE                 TN
100124   5N1AZ2BS4LN129091   Nissan       MURANO              HOUSTON                   TX
100125   5N1AZ2BS4LN129138   Nissan       MURANO              CLEVELAND                 OH
100126   5N1AZ2BS4LN129172   Nissan       MURANO              WHITE PLAINS              NY
100127   5N1AZ2BS4LN129267   Nissan       MURANO              ORANGE COUNTY             CA
100128   5N1AZ2BS4LN129740   Nissan       MURANO              CLEVELAND                 OH
100129   5N1AZ2BS4LN129799   Nissan       MURANO              Lake Elsinore             CA
100130   5N1AZ2BS4LN129835   Nissan       MURANO              CATONSVILLE               MD
100131   5N1AZ2BS4LN130080   Nissan       MURANO              PHILADELPHIA              PA
100132   5N1AZ2BS4LN130127   Nissan       MURANO              CLEVELAND                 OH
100133   5N1AZ2BS4LN130340   Nissan       MURANO              MIAMI                     FL
100134   5N1AZ2BS4LN130421   Nissan       MURANO              BUFFALO                   NY
100135   5N1AZ2BS4LN130449   Nissan       MURANO              LOS ANGELES               CA
100136   5N1AZ2BS4LN130578   Nissan       MURANO              SAINT LOUIS               MO
100137   5N1AZ2BS4LN130743   Nissan       MURANO              PHILADELPHIA              PA
100138   5N1AZ2BS4LN131018   Nissan       MURANO              DETROIT                   MI
100139   5N1AZ2BS4LN131021   Nissan       MURANO              INGLEWOOD                 CA
100140   5N1AZ2BS4LN131293   Nissan       MURANO              SAINT LOUIS               MO
100141   5N1AZ2BS4LN131424   Nissan       MURANO              SAINT PAUL                MN
100142   5N1AZ2BS4LN131892   Nissan       MURANO              Hebron                    KY
100143   5N1AZ2BS4LN132203   Nissan       MURANO              SAINT LOUIS               MO
100144   5N1AZ2BS4LN132234   Nissan       MURANO              BOSTON                    MA
100145   5N1AZ2BS4LN132461   Nissan       MURANO              SAINT LOUIS               MO
100146   5N1AZ2BS4LN132508   Nissan       MURANO              PHILADELPHIA              PA
100147   5N1AZ2BS4LN133433   Nissan       MURANO              LOS ANGELES               CA
100148   5N1AZ2BS4LN133853   Nissan       MURANO              AUGUSTA                   GA
100149   5N1AZ2BS4LN135019   Nissan       MURANO              CHICAGO                   IL
100150   5N1AZ2BS4LN135053   Nissan       MURANO              CHICAGO                   IL
100151   5N1AZ2BS4LN135148   Nissan       MURANO              BURLINGTON                VT
100152   5N1AZ2BS4LN135957   Nissan       MURANO              RALIEGH                   NC
100153   5N1AZ2BS4LN136090   Nissan       MURANO              BALTIMORE                 MD
100154   5N1AZ2BS4LN136218   Nissan       MURANO              RALIEGH                   NC
100155   5N1AZ2BS4LN136557   Nissan       MURANO              CHICAGO                   IL
100156   5N1AZ2BS4LN136834   Nissan       MURANO              STERLING                  VA
100157   5N1AZ2BS4LN137353   Nissan       MURANO              WEST COLUMBIA             SC
100158   5N1AZ2BS4LN138163   Nissan       MURANO              GRAND RAPIDS              MI
100159   5N1AZ2BS4LN138955   Nissan       MURANO              CHICAGO                   IL
100160   5N1AZ2BS4LN139197   Nissan       MURANO              PHILADELPHIA              PA
100161   5N1AZ2BS4LN139295   Nissan       MURANO              CHICAGO                   IL
100162   5N1AZ2BS4LN139524   Nissan       MURANO              PITTSBURGH                PA
100163   5N1AZ2BS4LN139653   Nissan       MURANO              SAINT PAUL                MN
100164   5N1AZ2BS4LN140219   Nissan       MURANO              HARTFORD                  CT
100165   5N1AZ2BS4LN141113   Nissan       MURANO              KANSAS CITY               MO
100166   5N1AZ2BS4LN141225   Nissan       MURANO              Raleigh                   NC
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100167   5N1AZ2BS4LN141306   Nissan       MURANO              NEW BERN                  NC
100168   5N1AZ2BS4LN141371   Nissan       MURANO              KANSAS CITY               MO
100169   5N1AZ2BS4LN141421   Nissan       MURANO              PENSACOLA                 FL
100170   5N1AZ2BS4LN142309   Nissan       MURANO              CHICAGO                   IL
100171   5N1AZ2BS4LN142343   Nissan       MURANO              CHICAGO                   IL
100172   5N1AZ2BS4LN142942   Nissan       MURANO              ALEXANDRIA                VA
100173   5N1AZ2BS4LN142990   Nissan       MURANO              ALEXANDRIA                VA
100174   5N1AZ2BS4LN143024   Nissan       MURANO              PHILADELPHIA              PA
100175   5N1AZ2BS4LN143301   Nissan       MURANO              PHILADELPHIA              PA
100176   5N1AZ2BS4LN143590   Nissan       MURANO              WARWICK                   RI
100177   5N1AZ2BS4LN144044   Nissan       MURANO              ALEXANDRIA                VA
100178   5N1AZ2BS4LN144223   Nissan       MURANO              SAINT PAUL                MN
100179   5N1AZ2BS4LN146098   Nissan       MURANO              NEWARK                    NJ
100180   5N1AZ2BS4LN146232   Nissan       MURANO              NEWARK                    NJ
100181   5N1AZ2BS4LN147820   Nissan       MURANO              CHARLOTTE                 US
100182   5N1AZ2BS4LN147851   Nissan       MURANO              PITTSBURGH                PA
100183   5N1AZ2BS4LN147929   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
100184   5N1AZ2BS4LN148014   Nissan       MURANO              NEWARK                    NJ
100185   5N1AZ2BS4LN148126   Nissan       MURANO              PITTSBURGH                PA
100186   5N1AZ2BS4LN148160   Nissan       MURANO              NEWARK                    NJ
100187   5N1AZ2BS4LN148224   Nissan       MURANO              SAINT PAUL                MN
100188   5N1AZ2BS4LN148269   Nissan       MURANO              RICHMOND                  VA
100189   5N1AZ2BS4LN148272   Nissan       MURANO              RICHMOND                  VA
100190   5N1AZ2BS4LN148448   Nissan       MURANO              CHARLOTTE                 US
100191   5N1AZ2BS4LN148465   Nissan       MURANO              NEWARK                    NJ
100192   5N1AZ2BS4LN148546   Nissan       MURANO              RICHMOND                  VA
100193   5N1AZ2BS4LN148577   Nissan       MURANO              NEWARK                    NJ
100194   5N1AZ2BS4LN148661   Nissan       MURANO              NEWARK                    NJ
100195   5N1AZ2BS4LN148756   Nissan       MURANO              CHARLOTTE                 US
100196   5N1AZ2BS4LN148952   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
100197   5N1AZ2BS4LN149115   Nissan       MURANO              OMAHA                     NE
100198   5N1AZ2BS4LN149132   Nissan       MURANO              OMAHA                     NE
100199   5N1AZ2BS4LN149163   Nissan       MURANO              OMAHA                     NE
100200   5N1AZ2BS4LN149230   Nissan       MURANO              PHILADELPHIA              PA
100201   5N1AZ2BS4LN149325   Nissan       MURANO              NEWARK                    NJ
100202   5N1AZ2BS4LN149390   Nissan       MURANO              OMAHA                     NE
100203   5N1AZ2BS4LN149499   Nissan       MURANO              OMAHA                     NE
100204   5N1AZ2BS4LN149504   Nissan       MURANO              OMAHA                     NE
100205   5N1AZ2BS4LN149518   Nissan       MURANO              LINCOLN‐OMAHA             NE
100206   5N1AZ2BS4LN149521   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
100207   5N1AZ2BS4LN149857   Nissan       MURANO              NEWARK                    NJ
100208   5N1AZ2BS4LN149907   Nissan       MURANO              CHARLOTTE                 US
100209   5N1AZ2BS5LN100179   Nissan       MURANO              BOSTON                    MA
100210   5N1AZ2BS5LN100201   Nissan       MURANO              PALM SPRINGS              CA
100211   5N1AZ2BS5LN100215   Nissan       MURANO              Medford                   NY
100212   5N1AZ2BS5LN100389   Nissan       MURANO              BOSTON                    MA
100213   5N1AZ2BS5LN100392   Nissan       MURANO              COLLEGE PARK              GA
100214   5N1AZ2BS5LN100411   Nissan       MURANO              RALEIGH                   NC
100215   5N1AZ2BS5LN100442   Nissan       MURANO              CLEVELAND                 OH
100216   5N1AZ2BS5LN100537   Nissan       MURANO              SEATAC                    WA
100217   5N1AZ2BS5LN100568   Nissan       MURANO              ORLANDO                   FL
100218   5N1AZ2BS5LN100571   Nissan       MURANO              FORT MYERS                FL
100219   5N1AZ2BS5LN101039   Nissan       MURANO              BOSTON                    MA
100220   5N1AZ2BS5LN101042   Nissan       MURANO              WHITE PLAINS              NY
100221   5N1AZ2BS5LN101140   Nissan       MURANO              SAN FRANCISCO             CA
100222   5N1AZ2BS5LN101154   Nissan       MURANO              PALM SPRINGS              CA
100223   5N1AZ2BS5LN101171   Nissan       MURANO              FORT MYERS                FL
100224   5N1AZ2BS5LN101302   Nissan       MURANO              ORLANDO                   FL
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100225   5N1AZ2BS5LN101347   Nissan       MURANO              LOS ANGELES               CA
100226   5N1AZ2BS5LN101364   Nissan       MURANO              TAMPA                     FL
100227   5N1AZ2BS5LN101414   Nissan       MURANO              SAN FRANCISCO             CA
100228   5N1AZ2BS5LN101431   Nissan       MURANO              PALM SPRINGS              CA
100229   5N1AZ2BS5LN101624   Nissan       MURANO              PHOENIX                   AZ
100230   5N1AZ2BS5LN101641   Nissan       MURANO              BLOOMINGTON               IL
100231   5N1AZ2BS5LN101672   Nissan       MURANO              DALLAS                    TX
100232   5N1AZ2BS5LN101882   Nissan       MURANO              BURBANK                   CA
100233   5N1AZ2BS5LN102384   Nissan       MURANO              SAN DIEGO                 CA
100234   5N1AZ2BS5LN102885   Nissan       MURANO              PHILADELPHIA              PA
100235   5N1AZ2BS5LN103261   Nissan       MURANO              FAYETTEVILLE              US
100236   5N1AZ2BS5LN103325   Nissan       MURANO              SHREVEPORT                LA
100237   5N1AZ2BS5LN103387   Nissan       MURANO              HARTFORD                  CT
100238   5N1AZ2BS5LN103471   Nissan       MURANO              TAMPA                     FL
100239   5N1AZ2BS5LN103602   Nissan       MURANO              STERLING                  VA
100240   5N1AZ2BS5LN103700   Nissan       MURANO              NEW BERN                  NC
100241   5N1AZ2BS5LN103714   Nissan       MURANO              CHICAGO                   IL
100242   5N1AZ2BS5LN103745   Nissan       MURANO              WEST PALM BEACH           FL
100243   5N1AZ2BS5LN103762   Nissan       MURANO              SAVANNAH                  GA
100244   5N1AZ2BS5LN103809   Nissan       MURANO              DALLAS                    TX
100245   5N1AZ2BS5LN103938   Nissan       MURANO              HOUSTON                   TX
100246   5N1AZ2BS5LN103986   Nissan       MURANO              SACRAMENTO                CA
100247   5N1AZ2BS5LN104071   Nissan       MURANO              LUBBOCK                   TX
100248   5N1AZ2BS5LN104149   Nissan       MURANO              AUSTIN                    TX
100249   5N1AZ2BS5LN104250   Nissan       MURANO              Clearwater                FL
100250   5N1AZ2BS5LN104264   Nissan       MURANO              Stockton                  CA
100251   5N1AZ2BS5LN104281   Nissan       MURANO              Atlanta                   GA
100252   5N1AZ2BS5LN104314   Nissan       MURANO              LOS ANGELES               CA
100253   5N1AZ2BS5LN104409   Nissan       MURANO              CLEVELAND                 OH
100254   5N1AZ2BS5LN104457   Nissan       MURANO              DALLAS                    TX
100255   5N1AZ2BS5LN104507   Nissan       MURANO              LOS ANGELES               CA
100256   5N1AZ2BS5LN104510   Nissan       MURANO              AUGUSTA                   GA
100257   5N1AZ2BS5LN104541   Nissan       MURANO              SAVANNAH                  GA
100258   5N1AZ2BS5LN104555   Nissan       MURANO              SAN DIEGO                 CA
100259   5N1AZ2BS5LN104569   Nissan       MURANO              PORTLAND                  ME
100260   5N1AZ2BS5LN104572   Nissan       MURANO              GAINESVILLE               FL
100261   5N1AZ2BS5LN104605   Nissan       MURANO              ORLANDO                   FL
100262   5N1AZ2BS5LN104619   Nissan       MURANO              TAMPA                     FL
100263   5N1AZ2BS5LN104636   Nissan       MURANO              TAMPA                     FL
100264   5N1AZ2BS5LN104653   Nissan       MURANO              LAS VEGAS                 NV
100265   5N1AZ2BS5LN104670   Nissan       MURANO              Atlanta                   GA
100266   5N1AZ2BS5LN104684   Nissan       MURANO              KNOXVILLE                 TN
100267   5N1AZ2BS5LN104720   Nissan       MURANO              Irving                    TX
100268   5N1AZ2BS5LN104927   Nissan       MURANO              SAN DIEGO                 CA
100269   5N1AZ2BS5LN105060   Nissan       MURANO              RONKONKOMA                NY
100270   5N1AZ2BS5LN105091   Nissan       MURANO              BURBANK                   CA
100271   5N1AZ2BS5LN105155   Nissan       MURANO              LOS ANGELES               CA
100272   5N1AZ2BS5LN105186   Nissan       MURANO              HOUSTON                   TX
100273   5N1AZ2BS5LN105219   Nissan       MURANO              PHILADELPHIA              PA
100274   5N1AZ2BS5LN105222   Nissan       MURANO              KNOXVILLE                 TN
100275   5N1AZ2BS5LN105270   Nissan       MURANO              N. Palm Beach             FL
100276   5N1AZ2BS5LN105365   Nissan       MURANO              Ft. Myers                 FL
100277   5N1AZ2BS5LN105379   Nissan       MURANO              PORTLAND                  OR
100278   5N1AZ2BS5LN105494   Nissan       MURANO              SAN FRANCISCO             CA
100279   5N1AZ2BS5LN105513   Nissan       MURANO              Miami                     FL
100280   5N1AZ2BS5LN105527   Nissan       MURANO              LOS ANGELES               CA
100281   5N1AZ2BS5LN105530   Nissan       MURANO              FORT MYERS                FL
100282   5N1AZ2BS5LN105544   Nissan       MURANO              JACKSONVILLE              FL
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100283   5N1AZ2BS5LN105575   Nissan       MURANO              SAN DIEGO                 CA
100284   5N1AZ2BS5LN105589   Nissan       MURANO              PENSACOLA                 FL
100285   5N1AZ2BS5LN105740   Nissan       MURANO              Ontario                   CA
100286   5N1AZ2BS5LN105785   Nissan       MURANO              SARASOTA                  FL
100287   5N1AZ2BS5LN105821   Nissan       MURANO              RALEIGH                   NC
100288   5N1AZ2BS5LN105835   Nissan       MURANO              ORLANDO                   FL
100289   5N1AZ2BS5LN105883   Nissan       MURANO              Philadelphia              PA
100290   5N1AZ2BS5LN105933   Nissan       MURANO              ORLANDO                   FL
100291   5N1AZ2BS5LN105947   Nissan       MURANO              AUSTIN                    TX
100292   5N1AZ2BS5LN105950   Nissan       MURANO              NEW YORK CITY             NY
100293   5N1AZ2BS5LN105964   Nissan       MURANO              BIRMINGHAM                AL
100294   5N1AZ2BS5LN106077   Nissan       MURANO              Atlanta                   GA
100295   5N1AZ2BS5LN106094   Nissan       MURANO              TAMPA                     FL
100296   5N1AZ2BS5LN106127   Nissan       MURANO              PHOENIX                   AZ
100297   5N1AZ2BS5LN106130   Nissan       MURANO              FRESNO                    CA
100298   5N1AZ2BS5LN106144   Nissan       MURANO              RENO                      NV
100299   5N1AZ2BS5LN106158   Nissan       MURANO              ORANGE COUNTY             CA
100300   5N1AZ2BS5LN106161   Nissan       MURANO              FULLERTON                 CA
100301   5N1AZ2BS5LN106225   Nissan       MURANO              AUSTIN                    TX
100302   5N1AZ2BS5LN106287   Nissan       MURANO              BUFFALO                   NY
100303   5N1AZ2BS5LN106290   Nissan       MURANO              ONTARIO                   CA
100304   5N1AZ2BS5LN106323   Nissan       MURANO              SAN JOSE                  CA
100305   5N1AZ2BS5LN106337   Nissan       MURANO              STERLING                  VA
100306   5N1AZ2BS5LN106340   Nissan       MURANO              LOS ANGELES               CA
100307   5N1AZ2BS5LN106404   Nissan       MURANO              SARASOTA                  FL
100308   5N1AZ2BS5LN106421   Nissan       MURANO              BALTIMORE                 MD
100309   5N1AZ2BS5LN106452   Nissan       MURANO              BURBANK                   CA
100310   5N1AZ2BS5LN106497   Nissan       MURANO              MEMPHIS                   TN
100311   5N1AZ2BS5LN106502   Nissan       MURANO              FORT LAUDERDALE           FL
100312   5N1AZ2BS5LN106533   Nissan       MURANO              KENNER                    LA
100313   5N1AZ2BS5LN106600   Nissan       MURANO              RONKONKOMA                NY
100314   5N1AZ2BS5LN106614   Nissan       MURANO              HARTFORD                  CT
100315   5N1AZ2BS5LN106631   Nissan       MURANO              SAN JOSE                  CA
100316   5N1AZ2BS5LN106774   Nissan       MURANO              FORT LAUDERDALE           FL
100317   5N1AZ2BS5LN106855   Nissan       MURANO              SARASOTA                  FL
100318   5N1AZ2BS5LN106886   Nissan       MURANO              SAN DIEGO                 CA
100319   5N1AZ2BS5LN106922   Nissan       MURANO              RALEIGH                   NC
100320   5N1AZ2BS5LN106967   Nissan       MURANO              SAN FRANCISCO             CA
100321   5N1AZ2BS5LN106970   Nissan       MURANO              LOS ANGELES               CA
100322   5N1AZ2BS5LN107116   Nissan       MURANO              CHICAGO                   IL
100323   5N1AZ2BS5LN107133   Nissan       MURANO              LAS VEGAS                 NV
100324   5N1AZ2BS5LN109304   Nissan       MURANO              PHILADELPHIA              PA
100325   5N1AZ2BS5LN121758   Nissan       MURANO              GREENSBORO                NC
100326   5N1AZ2BS5LN121775   Nissan       MURANO              STERLING                  VA
100327   5N1AZ2BS5LN121789   Nissan       MURANO              CHARLOTTE                 NC
100328   5N1AZ2BS5LN122229   Nissan       MURANO              HOUSTON                   TX
100329   5N1AZ2BS5LN122280   Nissan       MURANO              PHILADELPHIA              PA
100330   5N1AZ2BS5LN122344   Nissan       MURANO              KNOXVILLE                 TN
100331   5N1AZ2BS5LN122389   Nissan       MURANO              SAINT PAUL                MN
100332   5N1AZ2BS5LN122456   Nissan       MURANO              STERLING                  VA
100333   5N1AZ2BS5LN122523   Nissan       MURANO              BALTIMORE                 MD
100334   5N1AZ2BS5LN122540   Nissan       MURANO              PHILADELPHIA              PA
100335   5N1AZ2BS5LN122568   Nissan       MURANO              ALLENTOWN                 US
100336   5N1AZ2BS5LN122585   Nissan       MURANO              RICHMOND                  VA
100337   5N1AZ2BS5LN122974   Nissan       MURANO              RICHMOND                  VA
100338   5N1AZ2BS5LN122988   Nissan       MURANO              BOSTON                    MA
100339   5N1AZ2BS5LN123039   Nissan       MURANO              JAMAICA                   NY
100340   5N1AZ2BS5LN123106   Nissan       MURANO              CLEVELAND                 OH
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100341   5N1AZ2BS5LN123168   Nissan       MURANO              SAINT PAUL                MN
100342   5N1AZ2BS5LN123221   Nissan       MURANO              SAINT PAUL                MN
100343   5N1AZ2BS5LN123333   Nissan       MURANO              BALTIMORE                 MD
100344   5N1AZ2BS5LN123381   Nissan       MURANO              MIAMI                     FL
100345   5N1AZ2BS5LN123414   Nissan       MURANO              PHILADELPHIA              PA
100346   5N1AZ2BS5LN123624   Nissan       MURANO              MYRTLE BEACH              SC
100347   5N1AZ2BS5LN123641   Nissan       MURANO              CHICAGO                   IL
100348   5N1AZ2BS5LN123817   Nissan       MURANO              STERLING                  VA
100349   5N1AZ2BS5LN123882   Nissan       MURANO              PITTSBURGH                PA
100350   5N1AZ2BS5LN124000   Nissan       MURANO              Hebron                    KY
100351   5N1AZ2BS5LN124014   Nissan       MURANO              Atlanta                   GA
100352   5N1AZ2BS5LN124076   Nissan       MURANO              STERLING                  VA
100353   5N1AZ2BS5LN124093   Nissan       MURANO              PHILADELPHIA              PA
100354   5N1AZ2BS5LN124191   Nissan       MURANO              GREENVILLE                NC
100355   5N1AZ2BS5LN124255   Nissan       MURANO              GREENVILLE                NC
100356   5N1AZ2BS5LN124434   Nissan       MURANO              NEW BERN                  NC
100357   5N1AZ2BS5LN124482   Nissan       MURANO              SYRACUSE                  NY
100358   5N1AZ2BS5LN124532   Nissan       MURANO              PHILADELPHIA              PA
100359   5N1AZ2BS5LN124689   Nissan       MURANO              RICHMOND                  VA
100360   5N1AZ2BS5LN124692   Nissan       MURANO              RICHMOND                  VA
100361   5N1AZ2BS5LN124739   Nissan       MURANO              MILWAUKEE                 WI
100362   5N1AZ2BS5LN124742   Nissan       MURANO              WHITE PLAINS              NY
100363   5N1AZ2BS5LN124854   Nissan       MURANO              RICHMOND                  VA
100364   5N1AZ2BS5LN124997   Nissan       MURANO              PALM SPRINGS              CA
100365   5N1AZ2BS5LN128452   Nissan       MURANO              LOS ANGELES AP            CA
100366   5N1AZ2BS5LN128547   Nissan       MURANO              LAS VEGAS                 NV
100367   5N1AZ2BS5LN128757   Nissan       MURANO              ST LOUIS                  MO
100368   5N1AZ2BS5LN128788   Nissan       MURANO              JACKSON                   MS
100369   5N1AZ2BS5LN129004   Nissan       MURANO              PHILADELPHIA              PA
100370   5N1AZ2BS5LN129018   Nissan       MURANO              CLEVELAND                 OH
100371   5N1AZ2BS5LN129133   Nissan       MURANO              CHICAGO                   IL
100372   5N1AZ2BS5LN129150   Nissan       MURANO              LOUISVILLE                KY
100373   5N1AZ2BS5LN129276   Nissan       MURANO              PHILADELPHIA              PA
100374   5N1AZ2BS5LN129455   Nissan       MURANO              LAS VEGAS                 NV
100375   5N1AZ2BS5LN129777   Nissan       MURANO              Hebron                    KY
100376   5N1AZ2BS5LN129908   Nissan       MURANO              RICHMOND                  VA
100377   5N1AZ2BS5LN129987   Nissan       MURANO              LAS VEGAS                 NV
100378   5N1AZ2BS5LN130007   Nissan       MURANO              INGLEWOOD                 CA
100379   5N1AZ2BS5LN130105   Nissan       MURANO              FORT LAUDERDALE           FL
100380   5N1AZ2BS5LN130413   Nissan       MURANO              BLOOMINGTON               IL
100381   5N1AZ2BS5LN130430   Nissan       MURANO              CLEVELAND                 OH
100382   5N1AZ2BS5LN130458   Nissan       MURANO              LOS ANGELES               CA
100383   5N1AZ2BS5LN130637   Nissan       MURANO              SAINT LOUIS               MO
100384   5N1AZ2BS5LN131044   Nissan       MURANO              GRAND RAPIDS              MI
100385   5N1AZ2BS5LN131190   Nissan       MURANO              NORFOLK                   VA
100386   5N1AZ2BS5LN132176   Nissan       MURANO              GRAND RAPIDS              MI
100387   5N1AZ2BS5LN132243   Nissan       MURANO              DETROIT                   MI
100388   5N1AZ2BS5LN132453   Nissan       MURANO              SAINT LOUIS               MO
100389   5N1AZ2BS5LN132484   Nissan       MURANO              BALTIMORE                 MD
100390   5N1AZ2BS5LN132503   Nissan       MURANO              MIAMI                     FL
100391   5N1AZ2BS5LN132517   Nissan       MURANO              CLEVELAND                 OH
100392   5N1AZ2BS5LN133165   Nissan       MURANO              SAINT PAUL                MN
100393   5N1AZ2BS5LN133389   Nissan       MURANO              DES MOINES                IA
100394   5N1AZ2BS5LN133392   Nissan       MURANO              LOS ANGELES               CA
100395   5N1AZ2BS5LN133537   Nissan       MURANO              LAS VEGAS                 NV
100396   5N1AZ2BS5LN133750   Nissan       MURANO              LOS ANGELES               CA
100397   5N1AZ2BS5LN133893   Nissan       MURANO              BOSTON                    MA
100398   5N1AZ2BS5LN133991   Nissan       MURANO              WESTLAKE                  OH
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100399   5N1AZ2BS5LN134011   Nissan       MURANO              BUFFALO                   NY
100400   5N1AZ2BS5LN134252   Nissan       MURANO              SOUTH BURLINGTO           VT
100401   5N1AZ2BS5LN135000   Nissan       MURANO              CHICAGO                   IL
100402   5N1AZ2BS5LN135157   Nissan       MURANO              CHARLESTON                SC
100403   5N1AZ2BS5LN135188   Nissan       MURANO              ALEXANDRIA                VA
100404   5N1AZ2BS5LN135210   Nissan       MURANO              RALIEGH                   NC
100405   5N1AZ2BS5LN135661   Nissan       MURANO              BALTIMORE                 SC
100406   5N1AZ2BS5LN135675   Nissan       MURANO              CHICAGO                   IL
100407   5N1AZ2BS5LN135689   Nissan       MURANO              RALIEGH                   NC
100408   5N1AZ2BS5LN135787   Nissan       MURANO              PITTSBURGH                PA
100409   5N1AZ2BS5LN136177   Nissan       MURANO              CHICAGO                   IL
100410   5N1AZ2BS5LN138687   Nissan       MURANO              PHILADELPHIA              US
100411   5N1AZ2BS5LN138785   Nissan       MURANO              PITTSBURGH                PA
100412   5N1AZ2BS5LN139189   Nissan       MURANO              MINNEAPOLIS               MN
100413   5N1AZ2BS5LN139208   Nissan       MURANO              RALEIGH                   NC
100414   5N1AZ2BS5LN139225   Nissan       MURANO              TAMPA                     FL
100415   5N1AZ2BS5LN139242   Nissan       MURANO              PHILADELPHIA              PA
100416   5N1AZ2BS5LN139404   Nissan       MURANO              CHARLOTTE                 NC
100417   5N1AZ2BS5LN139709   Nissan       MURANO              KANSAS CITY               MO
100418   5N1AZ2BS5LN139841   Nissan       MURANO              PORTLAND                  ME
100419   5N1AZ2BS5LN139886   Nissan       MURANO              KANSAS CITY               MO
100420   5N1AZ2BS5LN140021   Nissan       MURANO              LOS ANGELES               CA
100421   5N1AZ2BS5LN140214   Nissan       MURANO              HARTFORD                  CT
100422   5N1AZ2BS5LN140259   Nissan       MURANO              CHICAGO                   IL
100423   5N1AZ2BS5LN140343   Nissan       MURANO              PROVIDENCE                RI
100424   5N1AZ2BS5LN140469   Nissan       MURANO              NEW YORK CITY             NY
100425   5N1AZ2BS5LN141234   Nissan       MURANO              PITTSBURGH                PA
100426   5N1AZ2BS5LN141377   Nissan       MURANO              RALIEGH                   NC
100427   5N1AZ2BS5LN141766   Nissan       MURANO              CHICAGO                   IL
100428   5N1AZ2BS5LN142187   Nissan       MURANO              BOSTON                    MA
100429   5N1AZ2BS5LN143033   Nissan       MURANO              PHILADELPHIA              PA
100430   5N1AZ2BS5LN143422   Nissan       MURANO              MINNEAPOLIS               MN
100431   5N1AZ2BS5LN143503   Nissan       MURANO              SAINT PAUL                MN
100432   5N1AZ2BS5LN143551   Nissan       MURANO              BOSTON                    MA
100433   5N1AZ2BS5LN144070   Nissan       MURANO              ALEXANDRIA                VA
100434   5N1AZ2BS5LN144201   Nissan       MURANO              ALEXANDRIA                VA
100435   5N1AZ2BS5LN146837   Nissan       MURANO              CHARLOTTE                 US
100436   5N1AZ2BS5LN147468   Nissan       MURANO              PITTSBURGH                PA
100437   5N1AZ2BS5LN147471   Nissan       MURANO              PITTSBURGH                PA
100438   5N1AZ2BS5LN147499   Nissan       MURANO              PITTSBURGH                PA
100439   5N1AZ2BS5LN147504   Nissan       MURANO              CHARLOTTE                 US
100440   5N1AZ2BS5LN147812   Nissan       MURANO              RICHMOND                  VA
100441   5N1AZ2BS5LN147843   Nissan       MURANO              PITTSBURGH                PA
100442   5N1AZ2BS5LN147860   Nissan       MURANO              NEWARK                    NJ
100443   5N1AZ2BS5LN147910   Nissan       MURANO              NEWARK                    NJ
100444   5N1AZ2BS5LN147924   Nissan       MURANO              OMAHA                     NE
100445   5N1AZ2BS5LN148264   Nissan       MURANO              CHARLOTTE                 US
100446   5N1AZ2BS5LN148278   Nissan       MURANO              CHARLOTTE                 US
100447   5N1AZ2BS5LN148328   Nissan       MURANO              Teterboro                 NJ
100448   5N1AZ2BS5LN148331   Nissan       MURANO              NEWARK                    NY
100449   5N1AZ2BS5LN148426   Nissan       MURANO              NEWARK                    NJ
100450   5N1AZ2BS5LN148488   Nissan       MURANO              NEWARK                    NJ
100451   5N1AZ2BS5LN148510   Nissan       MURANO              NEWARK                    NJ
100452   5N1AZ2BS5LN148538   Nissan       MURANO              RICHMOND                  VA
100453   5N1AZ2BS5LN148541   Nissan       MURANO              NEWARK                    NJ
100454   5N1AZ2BS5LN148605   Nissan       MURANO              NEW YORK CITY             NY
100455   5N1AZ2BS5LN148751   Nissan       MURANO              CHARLOTTE                 US
100456   5N1AZ2BS5LN148765   Nissan       MURANO              NEWARK                    NJ
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100457   5N1AZ2BS5LN148913   Nissan                           LAS VEGAS CAR CONTROL     CA
100458   5N1AZ2BS5LN149107   Nissan       MURANO              NEWARK                    NJ
100459   5N1AZ2BS5LN149155   Nissan       MURANO              NEWARK                    NJ
100460   5N1AZ2BS5LN149169   Nissan       MURANO              NEWARK                    NY
100461   5N1AZ2BS5LN149205   Nissan       MURANO              NEWARK                    NJ
100462   5N1AZ2BS5LN149219   Nissan       MURANO              MINNEAPOLIS               MN
100463   5N1AZ2BS5LN149480   Nissan       MURANO              OMAHA                     NE
100464   5N1AZ2BS5LN149513   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
100465   5N1AZ2BS5LN149527   Nissan       MURANO              NEWARK                    NJ
100466   5N1AZ2BS5LN149558   Nissan       MURANO              Des Moines                IA
100467   5N1AZ2BS5LN149589   Nissan       MURANO              OMAHA                     NE
100468   5N1AZ2BS5LN149785   Nissan       MURANO              OMAHA                     NE
100469   5N1AZ2BS5LN149947   Nissan                           FORT LAUDERDALE           FL
100470   5N1AZ2BS5LN150032   Nissan                           NEWARK                    NY
100471   5N1AZ2BS5LN150211   Nissan       MURANO              NEWARK                    NJ
100472   5N1AZ2BS6LN100188   Nissan       MURANO              PHOENIX                   AZ
100473   5N1AZ2BS6LN100207   Nissan       MURANO              Ft. Myers                 FL
100474   5N1AZ2BS6LN100210   Nissan       MURANO              ORLANDO                   FL
100475   5N1AZ2BS6LN100305   Nissan       MURANO              Columbia                  MD
100476   5N1AZ2BS6LN100319   Nissan       MURANO              Atlanta                   GA
100477   5N1AZ2BS6LN100336   Nissan       MURANO              DALLAS                    TX
100478   5N1AZ2BS6LN100403   Nissan       MURANO              PENSACOLA                 FL
100479   5N1AZ2BS6LN100420   Nissan       MURANO              SAN DIEGO                 CA
100480   5N1AZ2BS6LN100434   Nissan       MURANO              MIAMI                     FL
100481   5N1AZ2BS6LN100529   Nissan       MURANO              KANSAS CITY               MO
100482   5N1AZ2BS6LN100532   Nissan       MURANO              NEW BERN                  NC
100483   5N1AZ2BS6LN100577   Nissan       MURANO              STERLING                  VA
100484   5N1AZ2BS6LN100613   Nissan       MURANO              FORT MYERS                FL
100485   5N1AZ2BS6LN100823   Nissan       MURANO              STERLING                  VA
100486   5N1AZ2BS6LN101082   Nissan       MURANO              LOS ANGELES               CA
100487   5N1AZ2BS6LN101115   Nissan       MURANO              BLOOMINGTON               IL
100488   5N1AZ2BS6LN101146   Nissan       MURANO              MONTEREY                  CA
100489   5N1AZ2BS6LN101180   Nissan       MURANO              NASHVILLE                 TN
100490   5N1AZ2BS6LN101759   Nissan       MURANO              CHICAGO                   IL
100491   5N1AZ2BS6LN101843   Nissan       MURANO              Bridgeton                 MO
100492   5N1AZ2BS6LN101857   Nissan       MURANO              WEST PALM BEACH           FL
100493   5N1AZ2BS6LN102734   Nissan       MURANO              SACRAMENTO                CA
100494   5N1AZ2BS6LN102930   Nissan       MURANO              PHILADELPHIA              PA
100495   5N1AZ2BS6LN103169   Nissan       MURANO              SAN FRANCISCO             CA
100496   5N1AZ2BS6LN103253   Nissan       MURANO              NASHVILLE                 TN
100497   5N1AZ2BS6LN103267   Nissan       MURANO              FAYETTEVILLE              US
100498   5N1AZ2BS6LN103270   Nissan       MURANO              WEST COLUMBIA             SC
100499   5N1AZ2BS6LN103298   Nissan       MURANO              CHICAGO                   IL
100500   5N1AZ2BS6LN103348   Nissan       MURANO              PENSACOLA                 FL
100501   5N1AZ2BS6LN103382   Nissan       MURANO              BURBANK                   CA
100502   5N1AZ2BS6LN103401   Nissan       MURANO              TAMPA                     FL
100503   5N1AZ2BS6LN103513   Nissan       MURANO              SAN ANTONIO               TX
100504   5N1AZ2BS6LN103642   Nissan       MURANO              COLLEGE PARK              GA
100505   5N1AZ2BS6LN103656   Nissan       MURANO              MONTEREY                  CA
100506   5N1AZ2BS6LN103804   Nissan       MURANO              GREENVILLE                NC
100507   5N1AZ2BS6LN103818   Nissan       MURANO              STERLING                  VA
100508   5N1AZ2BS6LN103883   Nissan       MURANO              BUFFALO                   NY
100509   5N1AZ2BS6LN103897   Nissan       MURANO              PITTSBURGH                PA
100510   5N1AZ2BS6LN103933   Nissan       MURANO              MANCHESTER                US
100511   5N1AZ2BS6LN103964   Nissan       MURANO              BURBANK                   CA
100512   5N1AZ2BS6LN103995   Nissan       MURANO              KANSAS CITY               MO
100513   5N1AZ2BS6LN104404   Nissan       MURANO              SAN ANTONIO               TX
100514   5N1AZ2BS6LN104483   Nissan       MURANO              CLEVELAND                 OH
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100515   5N1AZ2BS6LN104533   Nissan       MURANO              DALLAS                    TX
100516   5N1AZ2BS6LN104550   Nissan       MURANO              ATLANTA                   GA
100517   5N1AZ2BS6LN104614   Nissan       MURANO              ATLANTA                   GA
100518   5N1AZ2BS6LN104631   Nissan       MURANO              MIAMI                     FL
100519   5N1AZ2BS6LN104676   Nissan       MURANO              TAMPA                     FL
100520   5N1AZ2BS6LN104726   Nissan       MURANO              JACKSONVILLE              FL
100521   5N1AZ2BS6LN104788   Nissan       MURANO              SAINT PAUL                MN
100522   5N1AZ2BS6LN104838   Nissan       MURANO              LAS VEGAS                 NV
100523   5N1AZ2BS6LN104905   Nissan       MURANO              FORT MYERS                FL
100524   5N1AZ2BS6LN104936   Nissan       MURANO              MONROE                    NC
100525   5N1AZ2BS6LN105018   Nissan       MURANO              Houston                   TX
100526   5N1AZ2BS6LN105021   Nissan       MURANO              NEW BERN                  NC
100527   5N1AZ2BS6LN105049   Nissan       MURANO              STERLING                  VA
100528   5N1AZ2BS6LN105066   Nissan       MURANO              Atlanta                   GA
100529   5N1AZ2BS6LN105147   Nissan       MURANO              WEST COLUMBIA             SC
100530   5N1AZ2BS6LN105178   Nissan       MURANO              BURBANK                   CA
100531   5N1AZ2BS6LN105214   Nissan       MURANO              Lake Elsinore             CA
100532   5N1AZ2BS6LN105228   Nissan       MURANO              PALM SPRINGS              CA
100533   5N1AZ2BS6LN105262   Nissan       MURANO              SAN FRANCISCO             CA
100534   5N1AZ2BS6LN105312   Nissan       MURANO              NEWARK                    NJ
100535   5N1AZ2BS6LN105326   Nissan       MURANO              ORLANDO                   FL
100536   5N1AZ2BS6LN105388   Nissan       MURANO              Atlanta                   GA
100537   5N1AZ2BS6LN105438   Nissan       MURANO              SAN DIEGO                 CA
100538   5N1AZ2BS6LN105522   Nissan       MURANO              SANTA ANA                 CA
100539   5N1AZ2BS6LN105567   Nissan       MURANO              ORANGE COUNTY             CA
100540   5N1AZ2BS6LN105584   Nissan       MURANO              COCOA                     FL
100541   5N1AZ2BS6LN105648   Nissan       MURANO              MIAMI                     FL
100542   5N1AZ2BS6LN105732   Nissan       MURANO              SMITHFIELD                NC
100543   5N1AZ2BS6LN105746   Nissan       MURANO              KANSAS CITY               MO
100544   5N1AZ2BS6LN105763   Nissan       MURANO              LOS ANGELES               CA
100545   5N1AZ2BS6LN105777   Nissan       MURANO              Atlanta                   GA
100546   5N1AZ2BS6LN105780   Nissan       MURANO              STERLING                  VA
100547   5N1AZ2BS6LN105827   Nissan       MURANO              LOS ANGELES               CA
100548   5N1AZ2BS6LN105830   Nissan       MURANO              MOBILE                    A
100549   5N1AZ2BS6LN105844   Nissan       MURANO              STERLING                  VA
100550   5N1AZ2BS6LN105858   Nissan       MURANO              Atlanta                   GA
100551   5N1AZ2BS6LN105892   Nissan       MURANO              MIAMI                     FL
100552   5N1AZ2BS6LN105911   Nissan       MURANO              SACRAMENTO                CA
100553   5N1AZ2BS6LN105925   Nissan       MURANO              BIRMINGHAM                AL
100554   5N1AZ2BS6LN105942   Nissan       MURANO              GLASSBORO                 NJ
100555   5N1AZ2BS6LN105956   Nissan       MURANO              SAN ANTONIO               TX
100556   5N1AZ2BS6LN105973   Nissan       MURANO              WEST PALM BEACH           FL
100557   5N1AZ2BS6LN106041   Nissan       MURANO              SAN FRANCISCO             CA
100558   5N1AZ2BS6LN106069   Nissan       MURANO              CHARLESTON                SC
100559   5N1AZ2BS6LN106170   Nissan       MURANO              Reno                      NV
100560   5N1AZ2BS6LN106184   Nissan       MURANO              BLOOMINGTON               IL
100561   5N1AZ2BS6LN106315   Nissan       MURANO              BLOOMINGTON               IL
100562   5N1AZ2BS6LN106377   Nissan       MURANO              NEWARK                    NJ
100563   5N1AZ2BS6LN106394   Nissan       MURANO              BURBANK                   CA
100564   5N1AZ2BS6LN106413   Nissan       MURANO              Phoenix                   AZ
100565   5N1AZ2BS6LN106461   Nissan       MURANO              SAN FRANCISCO             CA
100566   5N1AZ2BS6LN106475   Nissan       MURANO              West Mifflin              PA
100567   5N1AZ2BS6LN106542   Nissan       MURANO              CHARLOTTE                 NC
100568   5N1AZ2BS6LN106668   Nissan       MURANO              SARASOTA                  FL
100569   5N1AZ2BS6LN106685   Nissan       MURANO              COLUMBIA                  SC
100570   5N1AZ2BS6LN106718   Nissan       MURANO              SAN JOSE                  CA
100571   5N1AZ2BS6LN106735   Nissan       MURANO              STERLING                  VA
100572   5N1AZ2BS6LN106749   Nissan       MURANO              GREENSBORO                NC
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100573   5N1AZ2BS6LN106766   Nissan       MURANO              SAN DIEGO                 CA
100574   5N1AZ2BS6LN106783   Nissan       MURANO              NEW BERN                  NC
100575   5N1AZ2BS6LN106895   Nissan       MURANO              STERLING                  VA
100576   5N1AZ2BS6LN106914   Nissan       MURANO              Reno                      NV
100577   5N1AZ2BS6LN106976   Nissan       MURANO              SAN JOSE                  CA
100578   5N1AZ2BS6LN121705   Nissan       MURANO              CHICAGO                   IL
100579   5N1AZ2BS6LN121722   Nissan       MURANO              PITTSBURGH                PA
100580   5N1AZ2BS6LN121803   Nissan       MURANO              WEST PALM BEACH           FL
100581   5N1AZ2BS6LN121817   Nissan       MURANO              CHARLOTTE                 NC
100582   5N1AZ2BS6LN121851   Nissan       MURANO              NEW BERN                  NC
100583   5N1AZ2BS6LN121896   Nissan       MURANO              STERLING                  VA
100584   5N1AZ2BS6LN122451   Nissan       MURANO              JACKSONVILLE              FL
100585   5N1AZ2BS6LN122465   Nissan       MURANO              PHILADELPHIA              PA
100586   5N1AZ2BS6LN122479   Nissan       MURANO              LEXINGTON                 KY
100587   5N1AZ2BS6LN122899   Nissan       MURANO              KNOXVILLE                 TN
100588   5N1AZ2BS6LN122949   Nissan       MURANO              ATLANTA                   GA
100589   5N1AZ2BS6LN123082   Nissan       MURANO              STERLING                  VA
100590   5N1AZ2BS6LN123101   Nissan       MURANO              CHATTANOOGA               TN
100591   5N1AZ2BS6LN123115   Nissan       MURANO              RALIEGH                   NC
100592   5N1AZ2BS6LN123308   Nissan       MURANO              SAINT PAUL                MN
100593   5N1AZ2BS6LN123387   Nissan       MURANO              SARASOTA                  FL
100594   5N1AZ2BS6LN123597   Nissan       MURANO              RALIEGH                   NC
100595   5N1AZ2BS6LN123616   Nissan       MURANO              CHICAGO MIDWAY            IL
100596   5N1AZ2BS6LN123633   Nissan       MURANO              NEW BERN                  NC
100597   5N1AZ2BS6LN123647   Nissan       MURANO              PITTSBURGH                PA
100598   5N1AZ2BS6LN123650   Nissan       MURANO              BOSTON                    MA
100599   5N1AZ2BS6LN123728   Nissan       MURANO              CHARLOTTE                 NC
100600   5N1AZ2BS6LN123826   Nissan       MURANO              PITTSBURGH                PA
100601   5N1AZ2BS6LN123843   Nissan       MURANO              NEW BERN                  NC
100602   5N1AZ2BS6LN123938   Nissan       MURANO              RALEIGH                   NC
100603   5N1AZ2BS6LN124068   Nissan       MURANO              Hebron                    KY
100604   5N1AZ2BS6LN124135   Nissan       MURANO              ATLANTA                   GA
100605   5N1AZ2BS6LN124409   Nissan       MURANO              Kansas City               MO
100606   5N1AZ2BS6LN124605   Nissan       MURANO              HARTFORD                  CT
100607   5N1AZ2BS6LN124622   Nissan       MURANO              STERLING                  VA
100608   5N1AZ2BS6LN124670   Nissan       MURANO              NORFOLK                   VA
100609   5N1AZ2BS6LN124751   Nissan       MURANO              ROANOKE                   VA
100610   5N1AZ2BS6LN124765   Nissan       MURANO              EL PASO                   TX
100611   5N1AZ2BS6LN124877   Nissan       MURANO              PORTLAND                  ME
100612   5N1AZ2BS6LN125026   Nissan       MURANO              CHICAGO                   IL
100613   5N1AZ2BS6LN128427   Nissan       MURANO              INGLEWOOD                 CA
100614   5N1AZ2BS6LN128668   Nissan       MURANO              LAS VEGAS                 NV
100615   5N1AZ2BS6LN128816   Nissan       MURANO              CLEVELAND                 OH
100616   5N1AZ2BS6LN129044   Nissan       MURANO              BOSTON                    MA
100617   5N1AZ2BS6LN129173   Nissan       MURANO              LAS VEGAS                 NV
100618   5N1AZ2BS6LN129190   Nissan       MURANO              LAS VEGAS                 NV
100619   5N1AZ2BS6LN129741   Nissan       MURANO              GRAND RAPIDS              MI
100620   5N1AZ2BS6LN129853   Nissan       MURANO              STERLING                  VA
100621   5N1AZ2BS6LN129920   Nissan       MURANO              FORT LAUDERDALE           FL
100622   5N1AZ2BS6LN129934   Nissan       MURANO              HARTFORD                  CT
100623   5N1AZ2BS6LN129948   Nissan       MURANO              CHICAGO                   IL
100624   5N1AZ2BS6LN130047   Nissan       MURANO              CHARLOTTE                 NC
100625   5N1AZ2BS6LN130095   Nissan       MURANO              SAINT LOUIS               MO
100626   5N1AZ2BS6LN130338   Nissan       MURANO              SAINT LOUIS               MO
100627   5N1AZ2BS6LN130405   Nissan       MURANO              SAINT LOUIS               MO
100628   5N1AZ2BS6LN130419   Nissan       MURANO              PHILADELPHIA              PA
100629   5N1AZ2BS6LN130520   Nissan       MURANO              SAINT LOUIS               MO
100630   5N1AZ2BS6LN130680   Nissan       MURANO              PORTLAND                  OR
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100631   5N1AZ2BS6LN131005   Nissan       MURANO              RALEIGH                   NC
100632   5N1AZ2BS6LN131232   Nissan       MURANO              SAINT LOUIS               MO
100633   5N1AZ2BS6LN131294   Nissan       MURANO              ORLANDO                   FL
100634   5N1AZ2BS6LN131568   Nissan       MURANO              SAINT LOUIS               MO
100635   5N1AZ2BS6LN132428   Nissan       MURANO              AMARILLO                  US
100636   5N1AZ2BS6LN132476   Nissan       MURANO              CLEVELAND                 OH
100637   5N1AZ2BS6LN132512   Nissan       MURANO              CLEVELAND                 OH
100638   5N1AZ2BS6LN133028   Nissan       MURANO              YUKON                     OK
100639   5N1AZ2BS6LN133160   Nissan       MURANO              LAS VEGAS                 NV
100640   5N1AZ2BS6LN133272   Nissan       MURANO              CLEVELAND                 OH
100641   5N1AZ2BS6LN133448   Nissan       MURANO              LAS VEGAS                 NV
100642   5N1AZ2BS6LN133482   Nissan       MURANO              SAN DIEGO                 CA
100643   5N1AZ2BS6LN133661   Nissan       MURANO              DETROIT                   MI
100644   5N1AZ2BS6LN133899   Nissan       MURANO              SAN DIEGO                 CA
100645   5N1AZ2BS6LN134003   Nissan       MURANO              DETROIT                   MI
100646   5N1AZ2BS6LN134227   Nissan       MURANO              HANOVER                   MD
100647   5N1AZ2BS6LN134244   Nissan       MURANO              DES MOINES                IA
100648   5N1AZ2BS6LN134261   Nissan       MURANO              ORLANDO                   FL
100649   5N1AZ2BS6LN134339   Nissan       MURANO              DETROIT                   MI
100650   5N1AZ2BS6LN134437   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
100651   5N1AZ2BS6LN135152   Nissan       MURANO              BALTIMORE                 MD
100652   5N1AZ2BS6LN135166   Nissan       MURANO              CHICAGO                   IL
100653   5N1AZ2BS6LN135281   Nissan       MURANO              ALEXANDRIA                VA
100654   5N1AZ2BS6LN135295   Nissan       MURANO              BOSTON                    MA
100655   5N1AZ2BS6LN135667   Nissan       MURANO              RALIEGH                   NC
100656   5N1AZ2BS6LN135703   Nissan       MURANO              BOSTON                    MA
100657   5N1AZ2BS6LN136074   Nissan       MURANO              STERLING                  VA
100658   5N1AZ2BS6LN136205   Nissan       MURANO              HANOVER                   MD
100659   5N1AZ2BS6LN136298   Nissan       MURANO              RALIEGH                   NC
100660   5N1AZ2BS6LN137077   Nissan       MURANO              CHARLESTON                SC
100661   5N1AZ2BS6LN138181   Nissan       MURANO              CHARLESTON                SC
100662   5N1AZ2BS6LN138195   Nissan       MURANO              KANSAS CITY               MO
100663   5N1AZ2BS6LN138276   Nissan       MURANO              RALIEGH                   NC
100664   5N1AZ2BS6LN138309   Nissan       MURANO              SAINT PAUL                MN
100665   5N1AZ2BS6LN138424   Nissan       MURANO              BLOOMINGTON               IL
100666   5N1AZ2BS6LN138567   Nissan       MURANO              SAINT LOUIS               MO
100667   5N1AZ2BS6LN138598   Nissan       MURANO              PITTSBURGH                PA
100668   5N1AZ2BS6LN138634   Nissan       MURANO              PORTLAND                  ME
100669   5N1AZ2BS6LN138715   Nissan       MURANO              DALLAS                    TX
100670   5N1AZ2BS6LN138925   Nissan       MURANO              HARRISBURG                PA
100671   5N1AZ2BS6LN138956   Nissan       MURANO              PHILADELPHIA              PA
100672   5N1AZ2BS6LN139203   Nissan       MURANO              PHILADELPHIA              PA
100673   5N1AZ2BS6LN139220   Nissan       MURANO              CHARLOTTE                 NC
100674   5N1AZ2BS6LN139301   Nissan       MURANO              PHILADELPHIA              PA
100675   5N1AZ2BS6LN139332   Nissan       MURANO              PHILADELPHIA              PA
100676   5N1AZ2BS6LN139413   Nissan       MURANO              PHILADELPHIA              PA
100677   5N1AZ2BS6LN139458   Nissan       MURANO              PHILADELPHIA              PA
100678   5N1AZ2BS6LN139721   Nissan       MURANO              SAINT PAUL                MN
100679   5N1AZ2BS6LN139797   Nissan       MURANO              WARWICK                   RI
100680   5N1AZ2BS6LN139847   Nissan       MURANO              SAINT PAUL                MN
100681   5N1AZ2BS6LN139864   Nissan       MURANO              MINNEAPOLIS               MN
100682   5N1AZ2BS6LN140092   Nissan       MURANO              BOISE                     ID
100683   5N1AZ2BS6LN140478   Nissan       MURANO              HARTFORD                  CT
100684   5N1AZ2BS6LN141095   Nissan       MURANO              CHARLOTTE                 US
100685   5N1AZ2BS6LN141243   Nissan       MURANO              RALIEGH                   NC
100686   5N1AZ2BS6LN141386   Nissan       MURANO              PHILADELPHIA              PA
100687   5N1AZ2BS6LN141758   Nissan       MURANO              PEORIA                    IL
100688   5N1AZ2BS6LN142313   Nissan       MURANO              BOSTON                    MA
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100689   5N1AZ2BS6LN142702   Nissan       MURANO              ALEXANDRIA                VA
100690   5N1AZ2BS6LN143025   Nissan       MURANO              ALEXANDRIA                VA
100691   5N1AZ2BS6LN143266   Nissan       MURANO              CHICAGO                   IL
100692   5N1AZ2BS6LN143400   Nissan       MURANO              SAINT PAUL                MN
100693   5N1AZ2BS6LN143414   Nissan       MURANO              SAINT PAUL                MN
100694   5N1AZ2BS6LN143526   Nissan       MURANO              MINNEAPOLIS               MN
100695   5N1AZ2BS6LN143588   Nissan       MURANO              CHICAGO                   IL
100696   5N1AZ2BS6LN144126   Nissan       MURANO              ALEXANDRIA                VA
100697   5N1AZ2BS6LN144210   Nissan       MURANO              BOSTON                    MA
100698   5N1AZ2BS6LN146152   Nissan       MURANO              NEWARK                    NJ
100699   5N1AZ2BS6LN146166   Nissan       MURANO              NEWARK                    NJ
100700   5N1AZ2BS6LN146216   Nissan       MURANO              NEWARK                    NJ
100701   5N1AZ2BS6LN146233   Nissan       MURANO              NEWARK                    NJ
100702   5N1AZ2BS6LN147060   Nissan       MURANO              NEWARK                    NJ
100703   5N1AZ2BS6LN147138   Nissan       MURANO              NEWARK                    NJ
100704   5N1AZ2BS6LN147463   Nissan       MURANO              CHARLOTTE                 US
100705   5N1AZ2BS6LN147544   Nissan       MURANO              PITTSBURGH                PA
100706   5N1AZ2BS6LN147835   Nissan       MURANO              CHARLOTTE                 US
100707   5N1AZ2BS6LN147897   Nissan       MURANO              PITTSBURGH                PA
100708   5N1AZ2BS6LN148192   Nissan       MURANO              NEWARK                    NJ
100709   5N1AZ2BS6LN148256   Nissan       MURANO              RICHMOND                  VA
100710   5N1AZ2BS6LN148306   Nissan       MURANO              CHARLOTTE                 US
100711   5N1AZ2BS6LN148497   Nissan       MURANO              NEWARK                    NJ
100712   5N1AZ2BS6LN148547   Nissan       MURANO              RICHMOND                  VA
100713   5N1AZ2BS6LN148564   Nissan       MURANO              WHITE PLAINS              NY
100714   5N1AZ2BS6LN148600   Nissan       MURANO              NEWARK                    NJ
100715   5N1AZ2BS6LN149150   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
100716   5N1AZ2BS6LN149214   Nissan       MURANO              MINNEAPOLIS               MN
100717   5N1AZ2BS6LN149228   Nissan       MURANO              CHARLOTTE                 US
100718   5N1AZ2BS6LN149231   Nissan       MURANO              MINNEAPOLIS               MN
100719   5N1AZ2BS6LN149388   Nissan       MURANO              OMAHA                     NE
100720   5N1AZ2BS6LN149424   Nissan       MURANO              NEWARK                    NJ
100721   5N1AZ2BS6LN149665   Nissan       MURANO              RICHMOND                  VA
100722   5N1AZ2BS6LN149780   Nissan       MURANO              RICHMOND                  VA
100723   5N1AZ2BS6LN149889   Nissan       MURANO              CHARLOTTE                 US
100724   5N1AZ2BS6LN149942   Nissan       MURANO              PITTSBURGH                PA
100725   5N1AZ2BS6LN150038   Nissan                           PITTSBURGH                MD
100726   5N1AZ2BS6LN150072   Nissan       MURANO              Des Moines                IA
100727   5N1AZ2BS6LN150105   Nissan       MURANO              PITTSBURGH                PA
100728   5N1AZ2BS7LN100135   Nissan       MURANO              Clearwater                FL
100729   5N1AZ2BS7LN100152   Nissan       MURANO              PHILADELPHIA              PA
100730   5N1AZ2BS7LN100197   Nissan       MURANO              Downey                    CA
100731   5N1AZ2BS7LN100393   Nissan       MURANO              CHICAGO                   IL
100732   5N1AZ2BS7LN100443   Nissan       MURANO              SCRANTON                  PA
100733   5N1AZ2BS7LN100507   Nissan       MURANO              LOUISVILLE                KY
100734   5N1AZ2BS7LN100619   Nissan       MURANO              Sarasota                  FL
100735   5N1AZ2BS7LN101060   Nissan       MURANO              PHILADELPHIA              PA
100736   5N1AZ2BS7LN101088   Nissan       MURANO              DES PLAINES               US
100737   5N1AZ2BS7LN101091   Nissan       MURANO              LITTLE ROCK               AR
100738   5N1AZ2BS7LN101107   Nissan       MURANO              SAN FRANCISCO             CA
100739   5N1AZ2BS7LN101141   Nissan       MURANO              NEWARK                    NJ
100740   5N1AZ2BS7LN101169   Nissan       MURANO              ORLANDO                   FL
100741   5N1AZ2BS7LN101186   Nissan       MURANO              TUCSON                    AZ
100742   5N1AZ2BS7LN101415   Nissan       MURANO              LOS ANGELES               CA
100743   5N1AZ2BS7LN101463   Nissan       MURANO              SAINT PAUL                MN
100744   5N1AZ2BS7LN101480   Nissan       MURANO              MEMPHIS                   TN
100745   5N1AZ2BS7LN101575   Nissan       MURANO              JACKSON                   MS
100746   5N1AZ2BS7LN101754   Nissan       MURANO              DES MOINES                IA
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100747   5N1AZ2BS7LN101799   Nissan       MURANO              ORLANDO                   FL
100748   5N1AZ2BS7LN101821   Nissan       MURANO              Phoenix                   AZ
100749   5N1AZ2BS7LN101849   Nissan       MURANO              MIAMI                     FL
100750   5N1AZ2BS7LN102774   Nissan       MURANO              ONTARIO                   CA
100751   5N1AZ2BS7LN103164   Nissan       MURANO              AUSTIN                    TX
100752   5N1AZ2BS7LN103231   Nissan       MURANO              Atlanta                   GA
100753   5N1AZ2BS7LN103262   Nissan       MURANO              STERLING                  VA
100754   5N1AZ2BS7LN103309   Nissan       MURANO              DES PLAINES               IL
100755   5N1AZ2BS7LN103312   Nissan       MURANO              GRAND RAPIDS              MI
100756   5N1AZ2BS7LN103326   Nissan       MURANO              DETROIT                   MI
100757   5N1AZ2BS7LN103407   Nissan       MURANO              SAINT LOUIS               MO
100758   5N1AZ2BS7LN103410   Nissan       MURANO              SACRAMENTO                CA
100759   5N1AZ2BS7LN103438   Nissan       MURANO              ROANOKE                   VA
100760   5N1AZ2BS7LN103486   Nissan       MURANO              AUSTIN                    TX
100761   5N1AZ2BS7LN103519   Nissan       MURANO              ROANOKE                   VA
100762   5N1AZ2BS7LN103522   Nissan       MURANO              West Mifflin              PA
100763   5N1AZ2BS7LN103617   Nissan       MURANO              LOS ANGELES               CA
100764   5N1AZ2BS7LN103634   Nissan       MURANO              NEW BERN                  NC
100765   5N1AZ2BS7LN103648   Nissan       MURANO              Reno                      NV
100766   5N1AZ2BS7LN103942   Nissan       MURANO              LAS VEGAS                 NV
100767   5N1AZ2BS7LN103990   Nissan       MURANO              KNOXVILLE                 TN
100768   5N1AZ2BS7LN104105   Nissan       MURANO              HOUSTON                   TX
100769   5N1AZ2BS7LN104170   Nissan       MURANO              CHICAGO                   IL
100770   5N1AZ2BS7LN104220   Nissan       MURANO              SAN JOSE                  CA
100771   5N1AZ2BS7LN104248   Nissan       MURANO              SAN JOSE                  CA
100772   5N1AZ2BS7LN104377   Nissan       MURANO              SAN FRANCISCO             CA
100773   5N1AZ2BS7LN104430   Nissan       MURANO              SACRAMENTO                CA
100774   5N1AZ2BS7LN104475   Nissan       MURANO              RALIEGH                   NC
100775   5N1AZ2BS7LN104511   Nissan       MURANO              BIRMINGHAM                AL
100776   5N1AZ2BS7LN104556   Nissan       MURANO              COLLEGE PARK              GA
100777   5N1AZ2BS7LN104766   Nissan       MURANO              FORT MYERS                FL
100778   5N1AZ2BS7LN104864   Nissan       MURANO              SACRAMENTO                CA
100779   5N1AZ2BS7LN104895   Nissan       MURANO              LOS ANGELES               CA
100780   5N1AZ2BS7LN104928   Nissan       MURANO              CHARLESTON                WV
100781   5N1AZ2BS7LN104931   Nissan       MURANO              San Francisco             CA
100782   5N1AZ2BS7LN104993   Nissan       MURANO              Atlanta                   GA
100783   5N1AZ2BS7LN105075   Nissan       MURANO              MYRTLE BEACH              SC
100784   5N1AZ2BS7LN105108   Nissan       MURANO              KNOXVILLE                 TN
100785   5N1AZ2BS7LN105125   Nissan       MURANO              SAN FRANCISCO             CA
100786   5N1AZ2BS7LN105223   Nissan       MURANO              PHILADELPHIA              PA
100787   5N1AZ2BS7LN105254   Nissan       MURANO              SACRAMENTO                CA
100788   5N1AZ2BS7LN105271   Nissan       MURANO              FORT MYERS                FL
100789   5N1AZ2BS7LN105285   Nissan       MURANO              NASHVILLE                 TN
100790   5N1AZ2BS7LN105349   Nissan       MURANO              PHILADELPHIA              PA
100791   5N1AZ2BS7LN105352   Nissan       MURANO              FORT MYERS                FL
100792   5N1AZ2BS7LN105433   Nissan       MURANO              MIAMI                     FL
100793   5N1AZ2BS7LN105447   Nissan       MURANO              MIAMI                     FL
100794   5N1AZ2BS7LN105576   Nissan       MURANO              BALTIMORE                 MD
100795   5N1AZ2BS7LN105593   Nissan       MURANO              Atlanta                   GA
100796   5N1AZ2BS7LN105769   Nissan       MURANO              ORLANDO                   FL
100797   5N1AZ2BS7LN105884   Nissan       MURANO              PITTSBURGH                PA
100798   5N1AZ2BS7LN105898   Nissan       MURANO              SARASOTA                  FL
100799   5N1AZ2BS7LN105948   Nissan       MURANO              FORT MYERS                FL
100800   5N1AZ2BS7LN105965   Nissan       MURANO              BIRMINGHAM                AL
100801   5N1AZ2BS7LN105996   Nissan       MURANO              HOUSTON                   TX
100802   5N1AZ2BS7LN106078   Nissan       MURANO              ORLANDO                   FL
100803   5N1AZ2BS7LN106081   Nissan       MURANO              ORLANDO                   FL
100804   5N1AZ2BS7LN106145   Nissan       MURANO              Atlanta                   GA
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100805   5N1AZ2BS7LN106159   Nissan       MURANO              LAS VEGAS                 NV
100806   5N1AZ2BS7LN106193   Nissan       MURANO              BURBANK                   CA
100807   5N1AZ2BS7LN106212   Nissan       MURANO              Baltimore                 MD
100808   5N1AZ2BS7LN106243   Nissan       MURANO              CHARLESTON                WV
100809   5N1AZ2BS7LN106274   Nissan       MURANO              SAN JOSE                  CA
100810   5N1AZ2BS7LN106288   Nissan       MURANO              OAKLAND                   CA
100811   5N1AZ2BS7LN106307   Nissan       MURANO              SAN FRANCISCO             CA
100812   5N1AZ2BS7LN106310   Nissan       MURANO              PHOENIX                   AZ
100813   5N1AZ2BS7LN106338   Nissan       MURANO              KNOXVILLE                 TN
100814   5N1AZ2BS7LN106341   Nissan       MURANO              MONTEREY                  CA
100815   5N1AZ2BS7LN106355   Nissan       MURANO              TUCSON                    AZ
100816   5N1AZ2BS7LN106369   Nissan       MURANO              INGLEWOOD                 CA
100817   5N1AZ2BS7LN106372   Nissan       MURANO              SAN JOSE                  CA
100818   5N1AZ2BS7LN106386   Nissan       MURANO              ATLANTA                   GA
100819   5N1AZ2BS7LN106422   Nissan       MURANO              SAN JOSE                  CA
100820   5N1AZ2BS7LN106467   Nissan       MURANO              Portland                  ME
100821   5N1AZ2BS7LN106503   Nissan       MURANO              NEW BERN                  NC
100822   5N1AZ2BS7LN106520   Nissan       MURANO              PITTSBURGH                PA
100823   5N1AZ2BS7LN106548   Nissan       MURANO              WEST COLUMBIA             SC
100824   5N1AZ2BS7LN106565   Nissan       MURANO              ROANOKE                   VA
100825   5N1AZ2BS7LN106615   Nissan       MURANO              ATLANTA                   GA
100826   5N1AZ2BS7LN106758   Nissan       MURANO              SAN FRANCISCO             CA
100827   5N1AZ2BS7LN106761   Nissan       MURANO              SYRACUSE                  NY
100828   5N1AZ2BS7LN106789   Nissan       MURANO              NEW BERN                  NC
100829   5N1AZ2BS7LN106887   Nissan       MURANO              LAS VEGAS                 NV
100830   5N1AZ2BS7LN107084   Nissan       MURANO              SAN JOSE                  CA
100831   5N1AZ2BS7LN107117   Nissan       MURANO              RONKONKOMA                NY
100832   5N1AZ2BS7LN121406   Nissan       MURANO              STERLING                  VA
100833   5N1AZ2BS7LN121714   Nissan       MURANO              Annapolis                 MD
100834   5N1AZ2BS7LN121793   Nissan       MURANO              MORRISVILLE               NC
100835   5N1AZ2BS7LN121812   Nissan       MURANO              COLUMBIA                  SC
100836   5N1AZ2BS7LN121826   Nissan       MURANO              Warwick                   RI
100837   5N1AZ2BS7LN121843   Nissan       MURANO              KNOXVILLE                 TN
100838   5N1AZ2BS7LN122152   Nissan       MURANO              ATLANTA                   GA
100839   5N1AZ2BS7LN122328   Nissan       MURANO              SAINT LOUIS               MO
100840   5N1AZ2BS7LN122412   Nissan       MURANO              CHICAGO                   IL
100841   5N1AZ2BS7LN122460   Nissan       MURANO              WHITE PLAINS              NY
100842   5N1AZ2BS7LN122538   Nissan       MURANO              BOSTON                    MA
100843   5N1AZ2BS7LN122894   Nissan       MURANO              DALLAS                    TX
100844   5N1AZ2BS7LN122913   Nissan       MURANO              PHILADELPHIA              PA
100845   5N1AZ2BS7LN123009   Nissan       MURANO              ORLANDO                   FL
100846   5N1AZ2BS7LN123091   Nissan       MURANO              ALBANY                    NY
100847   5N1AZ2BS7LN123124   Nissan       MURANO              STERLING                  VA
100848   5N1AZ2BS7LN123138   Nissan       MURANO              SANTA ANA                 CA
100849   5N1AZ2BS7LN123141   Nissan       MURANO              WEST COLUMBIA             SC
100850   5N1AZ2BS7LN123270   Nissan       MURANO              PHILADELPHIA              PA
100851   5N1AZ2BS7LN123303   Nissan       MURANO              PHILADELPHIA              PA
100852   5N1AZ2BS7LN123351   Nissan       MURANO              PHILADELPHIA              PA
100853   5N1AZ2BS7LN123379   Nissan       MURANO              PHILADELPHIA              PA
100854   5N1AZ2BS7LN123396   Nissan       MURANO              BALTIMORE                 MD
100855   5N1AZ2BS7LN123415   Nissan       MURANO              STERLING                  VA
100856   5N1AZ2BS7LN123513   Nissan       MURANO              RICHMOND                  VA
100857   5N1AZ2BS7LN123611   Nissan       MURANO              STERLING                  VA
100858   5N1AZ2BS7LN123625   Nissan       MURANO              CLEVELAND                 OH
100859   5N1AZ2BS7LN123656   Nissan       MURANO              BOSTON                    MA
100860   5N1AZ2BS7LN123737   Nissan       MURANO              RICHMOND                  VA
100861   5N1AZ2BS7LN123866   Nissan       MURANO              KANSAS CITY               MO
100862   5N1AZ2BS7LN123897   Nissan       MURANO              NEW BERN                  NC
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100863   5N1AZ2BS7LN123902   Nissan       MURANO              Atlanta                   GA
100864   5N1AZ2BS7LN123916   Nissan       MURANO              PHILADELPHIA              PA
100865   5N1AZ2BS7LN123947   Nissan       MURANO              WHITE PLAINS              NY
100866   5N1AZ2BS7LN123964   Nissan       MURANO              BOSTON                    MA
100867   5N1AZ2BS7LN123995   Nissan       MURANO              FORT MYERS                FL
100868   5N1AZ2BS7LN124029   Nissan       MURANO              KNOXVILLE                 TN
100869   5N1AZ2BS7LN124208   Nissan       MURANO              ALLENTOWN                 US
100870   5N1AZ2BS7LN124242   Nissan       MURANO              ALBANY                    N
100871   5N1AZ2BS7LN124290   Nissan       MURANO              MIAMI                     FL
100872   5N1AZ2BS7LN124399   Nissan       MURANO              FORT MYERS                FL
100873   5N1AZ2BS7LN124421   Nissan       MURANO              Richmond                  VA
100874   5N1AZ2BS7LN124466   Nissan       MURANO              KNOXVILLE                 TN
100875   5N1AZ2BS7LN124516   Nissan       MURANO              Hurricane                 WV
100876   5N1AZ2BS7LN124550   Nissan       MURANO              INDIANAPOLIS              IN
100877   5N1AZ2BS7LN124614   Nissan       MURANO              STERLING                  VA
100878   5N1AZ2BS7LN124760   Nissan       MURANO              RALEIGH                   NC
100879   5N1AZ2BS7LN124807   Nissan       MURANO              ALBUQUERQUE               NM
100880   5N1AZ2BS7LN124905   Nissan       MURANO              PHILADELPHIA              PA
100881   5N1AZ2BS7LN124970   Nissan       MURANO              SAN DIEGO                 CA
100882   5N1AZ2BS7LN125066   Nissan       MURANO              CHICAGO                   IL
100883   5N1AZ2BS7LN128436   Nissan       MURANO              GRAND RAPIDS              MI
100884   5N1AZ2BS7LN128727   Nissan       MURANO              CHICAGO                   IL
100885   5N1AZ2BS7LN128856   Nissan       MURANO              GRAND RAPIDS              MI
100886   5N1AZ2BS7LN128906   Nissan       MURANO              SAN DIEGO                 CA
100887   5N1AZ2BS7LN129005   Nissan       MURANO              LOS ANGELES               CA
100888   5N1AZ2BS7LN129036   Nissan       MURANO              LAS VEGAS                 NV
100889   5N1AZ2BS7LN129070   Nissan       MURANO              FORT LAUDERDALE           FL
100890   5N1AZ2BS7LN129215   Nissan       MURANO              ONTARIO, RIVERSIDE        CA
100891   5N1AZ2BS7LN129229   Nissan       MURANO              Portland                  ME
100892   5N1AZ2BS7LN130011   Nissan       MURANO              SAN DIEGO                 CA
100893   5N1AZ2BS7LN130039   Nissan       MURANO              SAINT LOUIS               MO
100894   5N1AZ2BS7LN130509   Nissan       MURANO              BLOOMINGTON               IL
100895   5N1AZ2BS7LN130705   Nissan       MURANO              STERLING                  VA
100896   5N1AZ2BS7LN130719   Nissan       MURANO              LOS ANGELES               CA
100897   5N1AZ2BS7LN131014   Nissan       MURANO              LOS ANGELES               CA
100898   5N1AZ2BS7LN131031   Nissan       MURANO              PORTLAND                  ME
100899   5N1AZ2BS7LN131563   Nissan       MURANO              SAINT LOUIS               MO
100900   5N1AZ2BS7LN131594   Nissan       MURANO              WOODSON TERRACE           MO
100901   5N1AZ2BS7LN131658   Nissan       MURANO              INDIANAPOLIS              IN
100902   5N1AZ2BS7LN131661   Nissan       MURANO              NEWARK                    NY
100903   5N1AZ2BS7LN131871   Nissan       MURANO              ROCHESTER                 NY
100904   5N1AZ2BS7LN131935   Nissan       MURANO              CHARLESTON                WV
100905   5N1AZ2BS7LN132227   Nissan       MURANO              Atlanta                   GA
100906   5N1AZ2BS7LN132244   Nissan       MURANO              HOUSTON                   TX
100907   5N1AZ2BS7LN132468   Nissan       MURANO              WEST PALM BEACH           FL
100908   5N1AZ2BS7LN132731   Nissan       MURANO              GRAND RAPIDS              MI
100909   5N1AZ2BS7LN132762   Nissan       MURANO              PITTSBURGH                PA
100910   5N1AZ2BS7LN133443   Nissan       MURANO              COLUMBIA                  SC
100911   5N1AZ2BS7LN133460   Nissan       MURANO              LOS ANGELES               CA
100912   5N1AZ2BS7LN133734   Nissan       MURANO              BUFFALO                   NY
100913   5N1AZ2BS7LN133975   Nissan       MURANO              CLEVELAND                 OH
100914   5N1AZ2BS7LN134432   Nissan       MURANO              CLEVELAND                 OH
100915   5N1AZ2BS7LN134494   Nissan       MURANO              CLEVELAND                 OH
100916   5N1AZ2BS7LN134916   Nissan       MURANO              ALEXANDRIA                VA
100917   5N1AZ2BS7LN134933   Nissan       MURANO              BLOOMINGTON               IL
100918   5N1AZ2BS7LN135208   Nissan       MURANO              RALIEGH                   NC
100919   5N1AZ2BS7LN135502   Nissan       MURANO              PHILADELPHIA              PA
100920   5N1AZ2BS7LN135659   Nissan       MURANO              CHICAGO                   IL
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100921   5N1AZ2BS7LN135693   Nissan       MURANO              RALIEGH                   NC
100922   5N1AZ2BS7LN135791   Nissan       MURANO              PITTSBURGH                PA
100923   5N1AZ2BS7LN136486   Nissan       MURANO              BOSTON                    MA
100924   5N1AZ2BS7LN136570   Nissan       MURANO              RALIEGH                   NC
100925   5N1AZ2BS7LN136777   Nissan       MURANO              BALTIMORE                 MD
100926   5N1AZ2BS7LN137220   Nissan       MURANO              HOUSTON                   TX
100927   5N1AZ2BS7LN137671   Nissan       MURANO              BOSTON                    MA
100928   5N1AZ2BS7LN137735   Nissan       MURANO              BOSTON                    MA
100929   5N1AZ2BS7LN138187   Nissan       MURANO              KNOXVILLE                 TN
100930   5N1AZ2BS7LN138223   Nissan       MURANO              East Boston               MA
100931   5N1AZ2BS7LN138304   Nissan       MURANO              STERLING                  VA
100932   5N1AZ2BS7LN138318   Nissan       MURANO              PROVIDENCE                RI
100933   5N1AZ2BS7LN138402   Nissan       MURANO              RALIEGH                   NC
100934   5N1AZ2BS7LN138769   Nissan       MURANO              CHICAGO                   IL
100935   5N1AZ2BS7LN138917   Nissan       MURANO              Atlanta                   GA
100936   5N1AZ2BS7LN138948   Nissan       MURANO              PHILADELPHIA              PA
100937   5N1AZ2BS7LN139193   Nissan       MURANO              NEW YORK CITY             NY
100938   5N1AZ2BS7LN139209   Nissan       MURANO              LOUISVILLE                KY
100939   5N1AZ2BS7LN139226   Nissan       MURANO              CHARLESTON                SC
100940   5N1AZ2BS7LN139467   Nissan       MURANO              CHICAGO                   IL
100941   5N1AZ2BS7LN139498   Nissan       MURANO              PITTSBURGH                PA
100942   5N1AZ2BS7LN139534   Nissan       MURANO              WARWICK                   RI
100943   5N1AZ2BS7LN139596   Nissan       MURANO              CHICAGO                   IL
100944   5N1AZ2BS7LN139758   Nissan       MURANO              CHICAGO                   IL
100945   5N1AZ2BS7LN139825   Nissan       MURANO              SAINT PAUL                MN
100946   5N1AZ2BS7LN140232   Nissan       MURANO              CHICAGO                   IL
100947   5N1AZ2BS7LN140358   Nissan       MURANO              CHICAGO                   IL
100948   5N1AZ2BS7LN140652   Nissan       MURANO              PHILADELPHIA              PA
100949   5N1AZ2BS7LN141199   Nissan       MURANO              PHILADELPHIA              PA
100950   5N1AZ2BS7LN141235   Nissan       MURANO              ALLENTOWN                 US
100951   5N1AZ2BS7LN141364   Nissan       MURANO              NEW BERN                  NC
100952   5N1AZ2BS7LN141381   Nissan       MURANO              KANSAS CITY               MO
100953   5N1AZ2BS7LN141753   Nissan       MURANO              CHICAGO                   IL
100954   5N1AZ2BS7LN142997   Nissan       MURANO              PHILADELPHIA              US
100955   5N1AZ2BS7LN143003   Nissan       MURANO              PHILADELPHIA              PA
100956   5N1AZ2BS7LN143308   Nissan       MURANO              STERLING                  VA
100957   5N1AZ2BS7LN143597   Nissan       MURANO              CHICAGO                   IL
100958   5N1AZ2BS7LN144104   Nissan       MURANO              BOSTON                    MA
100959   5N1AZ2BS7LN144202   Nissan       MURANO              EAST BOSTON               MA
100960   5N1AZ2BS7LN147097   Nissan       MURANO              NEWARK                    NJ
100961   5N1AZ2BS7LN147505   Nissan       MURANO              PITTSBURGH                PA
100962   5N1AZ2BS7LN147522   Nissan       MURANO              CHARLOTTE                 US
100963   5N1AZ2BS7LN147827   Nissan       MURANO              PITTSBURGH                PA
100964   5N1AZ2BS7LN147844   Nissan       MURANO              RICHMOND                  VA
100965   5N1AZ2BS7LN147875   Nissan       MURANO              RICHMOND                  VA
100966   5N1AZ2BS7LN147942   Nissan       MURANO              CHARLOTTE                 US
100967   5N1AZ2BS7LN148010   Nissan       MURANO              CHARLOTTE                 US
100968   5N1AZ2BS7LN148248   Nissan       MURANO              NEWARK                    NJ
100969   5N1AZ2BS7LN148296   Nissan       MURANO              PITTSBURGH                PA
100970   5N1AZ2BS7LN148377   Nissan       MURANO              NEWARK                    NJ
100971   5N1AZ2BS7LN148430   Nissan       MURANO              CHARLOTTE                 US
100972   5N1AZ2BS7LN148556   Nissan       MURANO              RICHMOND                  VA
100973   5N1AZ2BS7LN148752   Nissan       MURANO              NEWARK                    NJ
100974   5N1AZ2BS7LN148783   Nissan       MURANO              NEWARK                    NJ
100975   5N1AZ2BS7LN148797   Nissan       MURANO              NEWARK                    NJ
100976   5N1AZ2BS7LN149027   Nissan       MURANO              NEWARK                    NJ
100977   5N1AZ2BS7LN149092   Nissan       MURANO              NEWARK                    NJ
100978   5N1AZ2BS7LN149478   Nissan       MURANO              ALBANY                    NY
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100979   5N1AZ2BS7LN149481   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
100980   5N1AZ2BS7LN149688   Nissan       MURANO              OMAHA                     NE
100981   5N1AZ2BS8LN100158   Nissan       MURANO              GREENVILLE                NC
100982   5N1AZ2BS8LN100192   Nissan       MURANO              MIAMI                     FL
100983   5N1AZ2BS8LN100211   Nissan       MURANO              PHILADELPHIA              PA
100984   5N1AZ2BS8LN100306   Nissan       MURANO              SAINT PAUL                MN
100985   5N1AZ2BS8LN100418   Nissan       MURANO              ORLANDO                   FL
100986   5N1AZ2BS8LN100435   Nissan       MURANO              MIAMI                     FL
100987   5N1AZ2BS8LN100449   Nissan       MURANO              CHARLOTTE                 NC
100988   5N1AZ2BS8LN100452   Nissan       MURANO              DFW AIRPORT               TX
100989   5N1AZ2BS8LN100497   Nissan       MURANO              CHARLESTON                SC
100990   5N1AZ2BS8LN100547   Nissan       MURANO              LAS VEGAS                 NV
100991   5N1AZ2BS8LN100595   Nissan       MURANO              ORLANDO                   FL
100992   5N1AZ2BS8LN100631   Nissan       MURANO              COLUMBUS                  OH
100993   5N1AZ2BS8LN100998   Nissan       MURANO              RONKONKOMA                NY
100994   5N1AZ2BS8LN101049   Nissan       MURANO              ORLANDO                   FL
100995   5N1AZ2BS8LN101066   Nissan       MURANO              STERLING                  VA
100996   5N1AZ2BS8LN101083   Nissan       MURANO              SAN JOSE                  CA
100997   5N1AZ2BS8LN101102   Nissan       MURANO              NEW ORLEANS               LA
100998   5N1AZ2BS8LN101150   Nissan       MURANO              JACKSONVILLE              FL
100999   5N1AZ2BS8LN101181   Nissan       MURANO              WHITE PLAINS              NY
101000   5N1AZ2BS8LN101309   Nissan       MURANO              MIAMI                     FL
101001   5N1AZ2BS8LN101374   Nissan       MURANO              KNOXVILLE                 TN
101002   5N1AZ2BS8LN101519   Nissan       MURANO              ORLANDO                   FL
101003   5N1AZ2BS8LN101584   Nissan       MURANO              TUCSON                    AZ
101004   5N1AZ2BS8LN101763   Nissan       MURANO              CHICAGO                   IL
101005   5N1AZ2BS8LN101780   Nissan       MURANO              MIAMI                     FL
101006   5N1AZ2BS8LN101830   Nissan       MURANO              MIAMI                     FL
101007   5N1AZ2BS8LN102864   Nissan       MURANO              PHILADELPHIA              PA
101008   5N1AZ2BS8LN103271   Nissan       MURANO              CHICAGO                   IL
101009   5N1AZ2BS8LN103304   Nissan       MURANO              MILWAUKEE                 WI
101010   5N1AZ2BS8LN103349   Nissan       MURANO              CHARLOTTE                 NC
101011   5N1AZ2BS8LN103366   Nissan       MURANO              PENSACOLA                 FL
101012   5N1AZ2BS8LN103383   Nissan       MURANO              CHARLESTON                SC
101013   5N1AZ2BS8LN103416   Nissan       MURANO              FORT LAUDERDALE           FL
101014   5N1AZ2BS8LN103433   Nissan       MURANO              SAN DIEGO                 CA
101015   5N1AZ2BS8LN103478   Nissan       MURANO              Houston                   TX
101016   5N1AZ2BS8LN103481   Nissan       MURANO              DES MOINES                IA
101017   5N1AZ2BS8LN103593   Nissan       MURANO              CUMMING                   GA
101018   5N1AZ2BS8LN103660   Nissan       MURANO              SAVANNAH                  GA
101019   5N1AZ2BS8LN103674   Nissan       MURANO              HOUSTON                   TX
101020   5N1AZ2BS8LN103822   Nissan       MURANO              SYRACUSE                  NY
101021   5N1AZ2BS8LN103836   Nissan       MURANO              KANSAS CITY               MO
101022   5N1AZ2BS8LN103948   Nissan       MURANO              CHICAGO                   IL
101023   5N1AZ2BS8LN103951   Nissan       MURANO              Atlanta                   GA
101024   5N1AZ2BS8LN103965   Nissan       MURANO              SAN JOSE                  CA
101025   5N1AZ2BS8LN103979   Nissan       MURANO              Atlanta                   GA
101026   5N1AZ2BS8LN103982   Nissan       MURANO              SAN DIEGO                 CA
101027   5N1AZ2BS8LN104050   Nissan       MURANO              HOUSTON                   TX
101028   5N1AZ2BS8LN104159   Nissan       MURANO              HOUSTON                   TX
101029   5N1AZ2BS8LN104162   Nissan       MURANO              AMARILLO                  US
101030   5N1AZ2BS8LN104386   Nissan       MURANO              NORFOLK                   VA
101031   5N1AZ2BS8LN104422   Nissan       MURANO              DULUTH                    GA
101032   5N1AZ2BS8LN104453   Nissan       MURANO              Union City                GA
101033   5N1AZ2BS8LN104470   Nissan       MURANO              SAN ANTONIO               TX
101034   5N1AZ2BS8LN104517   Nissan       MURANO              ORLANDO                   FL
101035   5N1AZ2BS8LN104548   Nissan       MURANO              TAMPA                     FL
101036   5N1AZ2BS8LN104565   Nissan       MURANO              AUGUSTA                   GA
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101037   5N1AZ2BS8LN104579   Nissan       MURANO              AUSTIN                    TX
101038   5N1AZ2BS8LN104632   Nissan       MURANO              Atlanta                   GA
101039   5N1AZ2BS8LN104646   Nissan       MURANO              RALIEGH                   NC
101040   5N1AZ2BS8LN104663   Nissan       MURANO              ORLANDO                   FL
101041   5N1AZ2BS8LN104677   Nissan       MURANO              WEST PALM BEACH           FL
101042   5N1AZ2BS8LN104694   Nissan       MURANO              Atlanta                   GA
101043   5N1AZ2BS8LN104727   Nissan       MURANO              WHITE PLAINS              NY
101044   5N1AZ2BS8LN104890   Nissan       MURANO              ORLANDO                   FL
101045   5N1AZ2BS8LN104954   Nissan       MURANO              ORLANDO                   FL
101046   5N1AZ2BS8LN105022   Nissan       MURANO              Tampa                     FL
101047   5N1AZ2BS8LN105182   Nissan       MURANO              LAS VEGAS                 NV
101048   5N1AZ2BS8LN105201   Nissan       MURANO              PORTLAND                  OR
101049   5N1AZ2BS8LN105280   Nissan       MURANO              WEST PALM BEACH           FL
101050   5N1AZ2BS8LN105327   Nissan       MURANO              Atlanta                   GA
101051   5N1AZ2BS8LN105330   Nissan       MURANO              OKLAHOMA CITY             OK
101052   5N1AZ2BS8LN105358   Nissan       MURANO              STERLING                  VA
101053   5N1AZ2BS8LN105361   Nissan       MURANO              SYRACUSE                  NY
101054   5N1AZ2BS8LN105392   Nissan       MURANO              PITTSBURGH                PA
101055   5N1AZ2BS8LN105411   Nissan       MURANO              NORFOLK                   VA
101056   5N1AZ2BS8LN105425   Nissan       MURANO              BURBANK                   CA
101057   5N1AZ2BS8LN105487   Nissan       MURANO              RALIEGH                   NC
101058   5N1AZ2BS8LN105506   Nissan       MURANO              RENO                      NV
101059   5N1AZ2BS8LN105523   Nissan       MURANO              DALLAS                    TX
101060   5N1AZ2BS8LN105554   Nissan       MURANO              MIAMI                     FL
101061   5N1AZ2BS8LN105604   Nissan       MURANO              FORT LAUDERDALE           FL
101062   5N1AZ2BS8LN105716   Nissan       MURANO              OAKLAND                   CA
101063   5N1AZ2BS8LN105781   Nissan       MURANO              SYRACUSE                  NY
101064   5N1AZ2BS8LN105859   Nissan       MURANO              FORT MYERS                FL
101065   5N1AZ2BS8LN105926   Nissan       MURANO              STERLING                  VA
101066   5N1AZ2BS8LN105960   Nissan       MURANO              TAMPA                     FL
101067   5N1AZ2BS8LN106008   Nissan       MURANO              FORT LAUDERDALE           FL
101068   5N1AZ2BS8LN106073   Nissan       MURANO              FT. LAUDERDALE            FL
101069   5N1AZ2BS8LN106090   Nissan       MURANO              FORT LAUDERDALE           FL
101070   5N1AZ2BS8LN106106   Nissan       MURANO              Atlanta                   GA
101071   5N1AZ2BS8LN106154   Nissan       MURANO              Warwick                   RI
101072   5N1AZ2BS8LN106168   Nissan       MURANO              PHILADELPHIA              PA
101073   5N1AZ2BS8LN106171   Nissan       MURANO              FORT LAUDERDALE           FL
101074   5N1AZ2BS8LN106221   Nissan       MURANO              ATLANTA                   GA
101075   5N1AZ2BS8LN106235   Nissan       MURANO              Manheim                   PA
101076   5N1AZ2BS8LN106249   Nissan       MURANO              Elkridge                  MD
101077   5N1AZ2BS8LN106283   Nissan       MURANO              SAN FRANCISCO             CA
101078   5N1AZ2BS8LN106350   Nissan       MURANO              HOUSTON                   TX
101079   5N1AZ2BS8LN106395   Nissan       MURANO              OAKLAND                   CA
101080   5N1AZ2BS8LN106431   Nissan       MURANO              AUGUSTA                   GA
101081   5N1AZ2BS8LN106462   Nissan       MURANO              FRESNO                    CA
101082   5N1AZ2BS8LN106509   Nissan       MURANO              Atlanta                   GA
101083   5N1AZ2BS8LN106543   Nissan       MURANO              SHREVEPORT                LA
101084   5N1AZ2BS8LN106607   Nissan       MURANO              ORANGE COUNTY             CA
101085   5N1AZ2BS8LN106638   Nissan       MURANO              STERLING                  VA
101086   5N1AZ2BS8LN106669   Nissan       MURANO              FORT LAUDERDALE           FL
101087   5N1AZ2BS8LN106686   Nissan       MURANO              LOS ANGELES               CA
101088   5N1AZ2BS8LN106705   Nissan       MURANO              ATLANTA                   GA
101089   5N1AZ2BS8LN106798   Nissan       MURANO              SANTA CLARA               CA
101090   5N1AZ2BS8LN106817   Nissan       MURANO              PHOENIX                   AZ
101091   5N1AZ2BS8LN106848   Nissan       MURANO              PORTLAND                  ME
101092   5N1AZ2BS8LN106851   Nissan       MURANO              LOS ANGELES               CA
101093   5N1AZ2BS8LN106865   Nissan       MURANO              SAN FRANCISCO             CA
101094   5N1AZ2BS8LN106946   Nissan       MURANO              SAN DIEGO                 CA
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101095   5N1AZ2BS8LN106994   Nissan       MURANO              SARASOTA                  FL
101096   5N1AZ2BS8LN107000   Nissan       MURANO              CHARLESTON                WV
101097   5N1AZ2BS8LN107093   Nissan       MURANO              BURBANK                   CA
101098   5N1AZ2BS8LN121656   Nissan       MURANO              HARRISBURG                PA
101099   5N1AZ2BS8LN121687   Nissan       MURANO              RICHMOND                  VA
101100   5N1AZ2BS8LN121849   Nissan       MURANO              Coraopolis                PA
101101   5N1AZ2BS8LN121852   Nissan       MURANO              KENNER                    LA
101102   5N1AZ2BS8LN122208   Nissan       MURANO              WEST COLUMBIA             SC
101103   5N1AZ2BS8LN122287   Nissan       MURANO              OMAHA                     NE
101104   5N1AZ2BS8LN122306   Nissan       MURANO              ALLENTOWN                 US
101105   5N1AZ2BS8LN122435   Nissan       MURANO              BALTIMORE                 MD
101106   5N1AZ2BS8LN122502   Nissan       MURANO              PHILADELPHIA              PA
101107   5N1AZ2BS8LN122516   Nissan       MURANO              Atlanta                   GA
101108   5N1AZ2BS8LN122581   Nissan       MURANO              WARWICK                   RI
101109   5N1AZ2BS8LN122600   Nissan       MURANO              HARTFORD                  CT
101110   5N1AZ2BS8LN122614   Nissan       MURANO              CHARLOTTE                 NC
101111   5N1AZ2BS8LN123021   Nissan       MURANO              HARRISBURG                PA
101112   5N1AZ2BS8LN123049   Nissan       MURANO              STERLING                  VA
101113   5N1AZ2BS8LN123181   Nissan       MURANO              CHICAGO                   IL
101114   5N1AZ2BS8LN123228   Nissan       MURANO              Atlanta                   GA
101115   5N1AZ2BS8LN123312   Nissan       MURANO              ALEXANDRIA                VA
101116   5N1AZ2BS8LN123424   Nissan       MURANO              Portland                  ME
101117   5N1AZ2BS8LN123536   Nissan       MURANO              PITTSBURGH                PA
101118   5N1AZ2BS8LN123567   Nissan       MURANO              BUFFALO                   NY
101119   5N1AZ2BS8LN123603   Nissan       MURANO              AUSTIN                    TX
101120   5N1AZ2BS8LN123830   Nissan       MURANO              ATLANTA                   GA
101121   5N1AZ2BS8LN123875   Nissan       MURANO              GREENVILLE                NC
101122   5N1AZ2BS8LN123889   Nissan       MURANO              WARWICK                   RI
101123   5N1AZ2BS8LN123908   Nissan       MURANO              NEW BERN                  NC
101124   5N1AZ2BS8LN123956   Nissan       MURANO              WHITE PLAINS              NY
101125   5N1AZ2BS8LN124038   Nissan       MURANO              WEST PALM BEACH           FL
101126   5N1AZ2BS8LN124055   Nissan       MURANO              ALBANY                    NY
101127   5N1AZ2BS8LN124122   Nissan       MURANO              SCRANTON                  PA
101128   5N1AZ2BS8LN124153   Nissan       MURANO              PITTSBURGH                PA
101129   5N1AZ2BS8LN124198   Nissan       MURANO              CHARLOTTE                 NC
101130   5N1AZ2BS8LN124315   Nissan       MURANO              PHILADELPHIA              PA
101131   5N1AZ2BS8LN124377   Nissan       MURANO              BUFFALO                   NY
101132   5N1AZ2BS8LN124475   Nissan       MURANO              PHILADELPHIA              PA
101133   5N1AZ2BS8LN124489   Nissan       MURANO              PHILADELPHIA              PA
101134   5N1AZ2BS8LN124511   Nissan       MURANO              RICHMOND                  VA
101135   5N1AZ2BS8LN124525   Nissan       MURANO              NEW BERN                  NC
101136   5N1AZ2BS8LN124587   Nissan       MURANO              DALLAS                    TX
101137   5N1AZ2BS8LN124699   Nissan       MURANO              JACKSONVILLE              FL
101138   5N1AZ2BS8LN124704   Nissan       MURANO              PORTLAND                  OR
101139   5N1AZ2BS8LN124931   Nissan       MURANO              ALBANY                    NY
101140   5N1AZ2BS8LN128445   Nissan       MURANO              BOSTON                    MA
101141   5N1AZ2BS8LN128803   Nissan       MURANO              CLEVELAND                 OH
101142   5N1AZ2BS8LN129000   Nissan       MURANO              BLOOMINGTON               IL
101143   5N1AZ2BS8LN129109   Nissan       MURANO              LOS ANGELES               CA
101144   5N1AZ2BS8LN129983   Nissan       MURANO              DETROIT                   MI
101145   5N1AZ2BS8LN130437   Nissan       MURANO              SAN DIEGO                 CA
101146   5N1AZ2BS8LN130695   Nissan       MURANO              Hebron                    KY
101147   5N1AZ2BS8LN130700   Nissan       MURANO              LAS VEGAS                 NV
101148   5N1AZ2BS8LN130714   Nissan       MURANO              LAS VEGAS                 NV
101149   5N1AZ2BS8LN131037   Nissan       MURANO              STERLING                  VA
101150   5N1AZ2BS8LN131328   Nissan       MURANO              CHARLOTTE                 NC
101151   5N1AZ2BS8LN131345   Nissan       MURANO              CLEVELAND                 OH
101152   5N1AZ2BS8LN131894   Nissan       MURANO              CLEVELAND                 OH
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101153   5N1AZ2BS8LN132222   Nissan       MURANO              SAINT LOUIS               MO
101154   5N1AZ2BS8LN132480   Nissan       MURANO              SAINT LOUIS               MO
101155   5N1AZ2BS8LN133385   Nissan       MURANO              CLEVELAND                 OH
101156   5N1AZ2BS8LN133497   Nissan       MURANO              DETROIT                   MI
101157   5N1AZ2BS8LN133581   Nissan       MURANO              Miami                     FL
101158   5N1AZ2BS8LN133824   Nissan       MURANO              FRESNO                    CA
101159   5N1AZ2BS8LN134231   Nissan       MURANO              DETROIT                   MI
101160   5N1AZ2BS8LN134357   Nissan       MURANO              CLEVELAND                 OH
101161   5N1AZ2BS8LN134911   Nissan       MURANO              KANSAS CITY               MO
101162   5N1AZ2BS8LN135038   Nissan       MURANO              CHICAGO                   IL
101163   5N1AZ2BS8LN135072   Nissan       MURANO              CHICAGO                   IL
101164   5N1AZ2BS8LN135265   Nissan       MURANO              RALIEGH                   NC
101165   5N1AZ2BS8LN135492   Nissan       MURANO              HARTFORD                  CT
101166   5N1AZ2BS8LN135525   Nissan       MURANO              ORLANDO                   FL
101167   5N1AZ2BS8LN135749   Nissan       MURANO              RALEIGH                   NC
101168   5N1AZ2BS8LN135945   Nissan       MURANO              BALTIMORE                 MD
101169   5N1AZ2BS8LN136691   Nissan       MURANO              BOSTON                    MA
101170   5N1AZ2BS8LN137064   Nissan       MURANO              JACKSONVILLE              FL
101171   5N1AZ2BS8LN137615   Nissan       MURANO              RALIEGH                   NC
101172   5N1AZ2BS8LN137680   Nissan       MURANO              BOSTON                    MA
101173   5N1AZ2BS8LN138148   Nissan       MURANO              MINNEAPOLIS               MN
101174   5N1AZ2BS8LN138294   Nissan       MURANO              ALEXANDRIA                VA
101175   5N1AZ2BS8LN138585   Nissan       MURANO              RALEIGH                   NC
101176   5N1AZ2BS8LN138912   Nissan       MURANO              RALIEGH                   NC
101177   5N1AZ2BS8LN139185   Nissan       MURANO              PHILADELPHIA              PA
101178   5N1AZ2BS8LN139199   Nissan       MURANO              RALIEGH                   NC
101179   5N1AZ2BS8LN139218   Nissan       MURANO              MYRTLE BEACH              SC
101180   5N1AZ2BS8LN139266   Nissan       MURANO              FORT LAUDERDALE           FL
101181   5N1AZ2BS8LN139347   Nissan       MURANO              PHILADELPHIA              PA
101182   5N1AZ2BS8LN139431   Nissan       MURANO              SAINT PAUL                MN
101183   5N1AZ2BS8LN139445   Nissan       MURANO              BALTIMORE                 MD
101184   5N1AZ2BS8LN139476   Nissan       MURANO              PHILADELPHIA              PA
101185   5N1AZ2BS8LN139493   Nissan       MURANO              CHARLOTTE                 NC
101186   5N1AZ2BS8LN139543   Nissan       MURANO              BOSTON                    MA
101187   5N1AZ2BS8LN139655   Nissan       MURANO              KANSAS CITY               MO
101188   5N1AZ2BS8LN139834   Nissan       MURANO              SAINT PAUL                MN
101189   5N1AZ2BS8LN139848   Nissan       MURANO              KANSAS CITY               MO
101190   5N1AZ2BS8LN139851   Nissan       MURANO              ALEXANDRIA                VA
101191   5N1AZ2BS8LN139879   Nissan       MURANO              BOSTON                    MA
101192   5N1AZ2BS8LN139963   Nissan       MURANO              SAINT PAUL                MN
101193   5N1AZ2BS8LN139994   Nissan       MURANO              BOSTON                    MA
101194   5N1AZ2BS8LN140286   Nissan       MURANO              PROVIDENCE                RI
101195   5N1AZ2BS8LN140319   Nissan       MURANO              NEW BERN                  NC
101196   5N1AZ2BS8LN140529   Nissan       MURANO              JACKSON                   MS
101197   5N1AZ2BS8LN140630   Nissan       MURANO              PHILADELPHIA              PA
101198   5N1AZ2BS8LN140675   Nissan       MURANO              PHILADELPHIA              PA
101199   5N1AZ2BS8LN140708   Nissan       MURANO              SAINT PAUL                MN
101200   5N1AZ2BS8LN140725   Nissan       MURANO              PHILADELPHIA              PA
101201   5N1AZ2BS8LN141194   Nissan       MURANO              KNOXVILLE                 TN
101202   5N1AZ2BS8LN141292   Nissan       MURANO              KANSAS CITY               MO
101203   5N1AZ2BS8LN141387   Nissan       MURANO              Atlanta                   GA
101204   5N1AZ2BS8LN141423   Nissan       MURANO              PITTSBURGH                PA
101205   5N1AZ2BS8LN141535   Nissan       MURANO              RALIEGH                   NC
101206   5N1AZ2BS8LN141583   Nissan       MURANO              RALIEGH                   NC
101207   5N1AZ2BS8LN141731   Nissan       MURANO              KANSAS CITY               MO
101208   5N1AZ2BS8LN141776   Nissan       MURANO              HARTFORD                  CT
101209   5N1AZ2BS8LN142152   Nissan       MURANO              CHICAGO                   IL
101210   5N1AZ2BS8LN142992   Nissan       MURANO              PHILADELPHIA              PA
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101211   5N1AZ2BS8LN143060   Nissan       MURANO              ALEXANDRIA                VA
101212   5N1AZ2BS8LN143558   Nissan       MURANO              MINNEAPOLIS               MN
101213   5N1AZ2BS8LN143723   Nissan       MURANO              EAST BOSTON               MA
101214   5N1AZ2BS8LN146153   Nissan       MURANO              WHITE PLAINS              NY
101215   5N1AZ2BS8LN146282   Nissan       MURANO              NEWARK                    NJ
101216   5N1AZ2BS8LN146850   Nissan       MURANO              PHILADELPHIA              PA
101217   5N1AZ2BS8LN147044   Nissan       MURANO              CHARLOTTE                 US
101218   5N1AZ2BS8LN147089   Nissan       MURANO              PITTSBURGH                PA
101219   5N1AZ2BS8LN147478   Nissan       MURANO              PITTSBURGH                PA
101220   5N1AZ2BS8LN147819   Nissan       MURANO              PITTSBURGH                PA
101221   5N1AZ2BS8LN147836   Nissan       MURANO              NEWARK                    NJ
101222   5N1AZ2BS8LN147884   Nissan       MURANO              RICHMOND                  VA
101223   5N1AZ2BS8LN147898   Nissan       MURANO              PITTSBURGH                PA
101224   5N1AZ2BS8LN147917   Nissan       MURANO              CHARLOTTE                 US
101225   5N1AZ2BS8LN147965   Nissan       MURANO              CHARLOTTE                 US
101226   5N1AZ2BS8LN148033   Nissan       MURANO              CHARLOTTE                 US
101227   5N1AZ2BS8LN148064   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
101228   5N1AZ2BS8LN148131   Nissan       MURANO              NEWARK                    NJ
101229   5N1AZ2BS8LN148162   Nissan       MURANO              NEWARK                    NJ
101230   5N1AZ2BS8LN148176   Nissan       MURANO              NEWARK                    NJ
101231   5N1AZ2BS8LN148288   Nissan       MURANO              PITTSBURGH                PA
101232   5N1AZ2BS8LN148341   Nissan       MURANO              NEWARK                    NJ
101233   5N1AZ2BS8LN148405   Nissan       MURANO              CHARLOTTE                 US
101234   5N1AZ2BS8LN148467   Nissan       MURANO              NEWARK                    NJ
101235   5N1AZ2BS8LN148517   Nissan       MURANO              PITTSBURGH                PA
101236   5N1AZ2BS8LN148579   Nissan       MURANO              RICHMOND                  VA
101237   5N1AZ2BS8LN148758   Nissan       MURANO              NEWARK                    NJ
101238   5N1AZ2BS8LN148761   Nissan       MURANO              NEWARK                    NJ
101239   5N1AZ2BS8LN149098   Nissan       MURANO              NEWARK                    NJ
101240   5N1AZ2BS8LN149196   Nissan       MURANO              CHARLOTTE                 US
101241   5N1AZ2BS8LN149201   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
101242   5N1AZ2BS8LN149473   Nissan       MURANO              NEWARK                    NJ
101243   5N1AZ2BS8LN149487   Nissan       MURANO              SAINT PAUL                MN
101244   5N1AZ2BS8LN149649   Nissan       MURANO              NEWARK                    NJ
101245   5N1AZ2BS8LN149778   Nissan       MURANO              NEWARK                    NJ
101246   5N1AZ2BS8LN149862   Nissan       MURANO              NEWARK                    NJ
101247   5N1AZ2BS8LN149912   Nissan       MURANO              NEWARK                    NJ
101248   5N1AZ2BS8LN149926   Nissan       MURANO              NEWARK                    NJ
101249   5N1AZ2BS8LN150011   Nissan       MURANO              NEWARK                    NY
101250   5N1AZ2BS8LN150056   Nissan       MURANO              NEWARK                    NJ
101251   5N1AZ2BS8LN150185   Nissan                           PITTSBURGH                MD
101252   5N1AZ2BS8LN150199   Nissan                           NEWARK                    NY
101253   5N1AZ2BS9LN100086   Nissan       MURANO              GRAND RAPIDS              MI
101254   5N1AZ2BS9LN100153   Nissan       MURANO              ALLENTOWN                 US
101255   5N1AZ2BS9LN100217   Nissan       MURANO              MYRTLE BEACH              SC
101256   5N1AZ2BS9LN100279   Nissan       MURANO              WILMINGTON                NC
101257   5N1AZ2BS9LN100430   Nissan       MURANO              INGLEWOOD                 CA
101258   5N1AZ2BS9LN100444   Nissan       MURANO              Clearwater                FL
101259   5N1AZ2BS9LN100492   Nissan       MURANO              PORTLAND                  OR
101260   5N1AZ2BS9LN100511   Nissan       MURANO              Hebron                    KY
101261   5N1AZ2BS9LN100542   Nissan       MURANO              SANTA CLARA               CA
101262   5N1AZ2BS9LN100556   Nissan       MURANO              FORT MYERS                FL
101263   5N1AZ2BS9LN100573   Nissan       MURANO              MIAMI                     FL
101264   5N1AZ2BS9LN100623   Nissan       MURANO              STERLING                  VA
101265   5N1AZ2BS9LN101061   Nissan       MURANO              PORTLAND                  ME
101266   5N1AZ2BS9LN101156   Nissan       MURANO              SACRAMENTO                CA
101267   5N1AZ2BS9LN101254   Nissan       MURANO              SACRAMENTO                CA
101268   5N1AZ2BS9LN101318   Nissan       MURANO              Atlanta                   GA
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101269   5N1AZ2BS9LN101416   Nissan       MURANO              CHICAGO                   IL
101270   5N1AZ2BS9LN101450   Nissan       MURANO              CHICAGO                   IL
101271   5N1AZ2BS9LN101500   Nissan       MURANO              LAS VEGAS                 NV
101272   5N1AZ2BS9LN101528   Nissan       MURANO              Atlanta                   GA
101273   5N1AZ2BS9LN101707   Nissan       MURANO              HOUSTON                   TX
101274   5N1AZ2BS9LN101769   Nissan       MURANO              MIAMI                     FL
101275   5N1AZ2BS9LN101786   Nissan       MURANO              CHICAGO                   IL
101276   5N1AZ2BS9LN101805   Nissan       MURANO              Reno                      NV
101277   5N1AZ2BS9LN101884   Nissan       MURANO              LOS ANGELES               CA
101278   5N1AZ2BS9LN102887   Nissan       MURANO              RALIEGH                   NC
101279   5N1AZ2BS9LN102968   Nissan       MURANO              MILWAUKEE                 WI
101280   5N1AZ2BS9LN103179   Nissan       MURANO              HOUSTON                   TX
101281   5N1AZ2BS9LN103229   Nissan       MURANO              FAYETTEVILLE              US
101282   5N1AZ2BS9LN103232   Nissan       MURANO              PHILADELPHIA              PA
101283   5N1AZ2BS9LN103330   Nissan       MURANO              CHICAGO                   IL
101284   5N1AZ2BS9LN103344   Nissan       MURANO              HOUSTON                   TX
101285   5N1AZ2BS9LN103389   Nissan       MURANO              SARASOTA                  FL
101286   5N1AZ2BS9LN103411   Nissan       MURANO              SANTA ANA                 CA
101287   5N1AZ2BS9LN103442   Nissan       MURANO              DFW AIRPORT               TX
101288   5N1AZ2BS9LN103487   Nissan       MURANO              LAS VEGAS                 NV
101289   5N1AZ2BS9LN103585   Nissan       MURANO              ORLANDO                   FL
101290   5N1AZ2BS9LN103697   Nissan       MURANO              CHARLESTON                SC
101291   5N1AZ2BS9LN103814   Nissan       MURANO              PITTSBURGH                PA
101292   5N1AZ2BS9LN103828   Nissan       MURANO              PORTLAND                  OR
101293   5N1AZ2BS9LN103957   Nissan       MURANO              SAN FRANCISCO             CA
101294   5N1AZ2BS9LN104199   Nissan       MURANO              DALLAS                    TX
101295   5N1AZ2BS9LN104235   Nissan       MURANO              DETROIT                   MI
101296   5N1AZ2BS9LN104364   Nissan       MURANO              TAMPA                     FL
101297   5N1AZ2BS9LN104378   Nissan       MURANO              KNOXVILLE                 TN
101298   5N1AZ2BS9LN104414   Nissan       MURANO              BIRMINGHAM                AL
101299   5N1AZ2BS9LN104462   Nissan       MURANO              SAN FRANCISCO             CA
101300   5N1AZ2BS9LN104476   Nissan       MURANO              Jacksonville              FL
101301   5N1AZ2BS9LN104526   Nissan       MURANO              SACRAMENTO                CA
101302   5N1AZ2BS9LN104669   Nissan       MURANO              Hebron                    KY
101303   5N1AZ2BS9LN104686   Nissan       MURANO              ORLANDO                   FL
101304   5N1AZ2BS9LN104736   Nissan       MURANO              ALBANY                    NY
101305   5N1AZ2BS9LN104770   Nissan       MURANO              TAMPA                     FL
101306   5N1AZ2BS9LN104817   Nissan       MURANO              ORLANDO                   FL
101307   5N1AZ2BS9LN104848   Nissan       MURANO              LOS ANGELES               CA
101308   5N1AZ2BS9LN104882   Nissan       MURANO              KANSAS CITY               MO
101309   5N1AZ2BS9LN104915   Nissan       MURANO              TALLAHASSEE               FL
101310   5N1AZ2BS9LN104946   Nissan       MURANO              LAS VEGAS                 NV
101311   5N1AZ2BS9LN104963   Nissan       MURANO              MIAMI                     FL
101312   5N1AZ2BS9LN104994   Nissan       MURANO              KNOXVILLE                 TN
101313   5N1AZ2BS9LN105000   Nissan       MURANO              BIRMINGHAM                AL
101314   5N1AZ2BS9LN105028   Nissan       MURANO              DAYTONA BEACH             FL
101315   5N1AZ2BS9LN105143   Nissan       MURANO              CHICAGO                   IL
101316   5N1AZ2BS9LN105188   Nissan       MURANO              MIAMI                     FL
101317   5N1AZ2BS9LN105210   Nissan       MURANO              CHARLOTTE                 NC
101318   5N1AZ2BS9LN105224   Nissan       MURANO              LOUISVILLE                KY
101319   5N1AZ2BS9LN105238   Nissan       MURANO              LOS ANGELES AP            CA
101320   5N1AZ2BS9LN105286   Nissan       MURANO              WHITE PLAINS              NY
101321   5N1AZ2BS9LN105322   Nissan       MURANO              CHARLOTTE                 NC
101322   5N1AZ2BS9LN105336   Nissan       MURANO              MIAMI                     FL
101323   5N1AZ2BS9LN105403   Nissan       MURANO              OAKLAND                   CA
101324   5N1AZ2BS9LN105420   Nissan       MURANO              WILMINGTON                NC
101325   5N1AZ2BS9LN105434   Nissan       MURANO              OAKLAND                   CA
101326   5N1AZ2BS9LN105482   Nissan       MURANO              HOUSTON                   TX
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101327   5N1AZ2BS9LN105496   Nissan       MURANO              EAU CLAIRE                WI
101328   5N1AZ2BS9LN105501   Nissan       MURANO              PORTLAND                  OR
101329   5N1AZ2BS9LN105515   Nissan       MURANO              PENSACOLA                 FL
101330   5N1AZ2BS9LN105563   Nissan       MURANO              JACKSONVILLE              FL
101331   5N1AZ2BS9LN105613   Nissan       MURANO              ORLANDO                   FL
101332   5N1AZ2BS9LN105644   Nissan       MURANO              LOS ANGELES               CA
101333   5N1AZ2BS9LN105658   Nissan       MURANO              FORT LAUDERDALE           FL
101334   5N1AZ2BS9LN105689   Nissan       MURANO              BURBANK                   CA
101335   5N1AZ2BS9LN105708   Nissan       MURANO              SAN DIEGO                 CA
101336   5N1AZ2BS9LN105773   Nissan       MURANO              KNOXVILLE                 TN
101337   5N1AZ2BS9LN105787   Nissan       MURANO              LOS ANGELES               CA
101338   5N1AZ2BS9LN105806   Nissan       MURANO              SAVANNAH                  GA
101339   5N1AZ2BS9LN105823   Nissan       MURANO              SAN FRANCISCO             CA
101340   5N1AZ2BS9LN105899   Nissan       MURANO              Statesville               NC
101341   5N1AZ2BS9LN105952   Nissan       MURANO              SACRAMENTO                CA
101342   5N1AZ2BS9LN105966   Nissan       MURANO              NASHVILLE                 TN
101343   5N1AZ2BS9LN105983   Nissan       MURANO              Atlanta                   GA
101344   5N1AZ2BS9LN106101   Nissan       MURANO              Miami                     FL
101345   5N1AZ2BS9LN106115   Nissan       MURANO              WOODSON TERRACE           MO
101346   5N1AZ2BS9LN106180   Nissan       MURANO              TAMPA                     FL
101347   5N1AZ2BS9LN106194   Nissan       MURANO              LOS ANGELES               CA
101348   5N1AZ2BS9LN106230   Nissan       MURANO              CHARLOTTE                 NC
101349   5N1AZ2BS9LN106261   Nissan       MURANO              OAKLAND                   CA
101350   5N1AZ2BS9LN106387   Nissan       MURANO              SAN DIEGO                 CA
101351   5N1AZ2BS9LN106423   Nissan       MURANO              LOS ANGELES               CA
101352   5N1AZ2BS9LN106437   Nissan       MURANO              PALM SPRINGS              CA
101353   5N1AZ2BS9LN106499   Nissan       MURANO              CHICAGO                   IL
101354   5N1AZ2BS9LN106504   Nissan       MURANO              RALEIGH                   NC
101355   5N1AZ2BS9LN106549   Nissan       MURANO              MIAMI                     FL
101356   5N1AZ2BS9LN106583   Nissan       MURANO              INDIANAPOLIS              IN
101357   5N1AZ2BS9LN106650   Nissan       MURANO              WHITE PLAINS              NY
101358   5N1AZ2BS9LN106695   Nissan       MURANO              HANOVER                   MD
101359   5N1AZ2BS9LN106700   Nissan       MURANO              STERLING                  US
101360   5N1AZ2BS9LN106731   Nissan       MURANO              SAN FRANCISCO             CA
101361   5N1AZ2BS9LN106776   Nissan       MURANO              albuquerque               nm
101362   5N1AZ2BS9LN106891   Nissan       MURANO              ROANOKE                   VA
101363   5N1AZ2BS9LN106986   Nissan       MURANO              Reno                      NV
101364   5N1AZ2BS9LN107006   Nissan       MURANO              LOS ANGELES               CA
101365   5N1AZ2BS9LN121438   Nissan       MURANO              PHILADELPHIA              PA
101366   5N1AZ2BS9LN121679   Nissan       MURANO              PITTSBURGH                PA
101367   5N1AZ2BS9LN121682   Nissan       MURANO              Clearwater                FL
101368   5N1AZ2BS9LN121763   Nissan       MURANO              NEW ORLEANS               LA
101369   5N1AZ2BS9LN121861   Nissan       MURANO              COLLEGE PARK              GA
101370   5N1AZ2BS9LN122136   Nissan       MURANO              CLEVELAND                 OH
101371   5N1AZ2BS9LN122332   Nissan       MURANO              STERLING                  VA
101372   5N1AZ2BS9LN122380   Nissan       MURANO              WEST COLUMBIA             SC
101373   5N1AZ2BS9LN122640   Nissan       MURANO              PHILADELPHIA              PA
101374   5N1AZ2BS9LN122654   Nissan       MURANO              PHILADELPHIA              PA
101375   5N1AZ2BS9LN122735   Nissan       MURANO              JACKSONVILLE              FL
101376   5N1AZ2BS9LN122959   Nissan       MURANO              TAMPA                     FL
101377   5N1AZ2BS9LN123030   Nissan       MURANO              STERLING                  VA
101378   5N1AZ2BS9LN123089   Nissan       MURANO              Revere                    MA
101379   5N1AZ2BS9LN123366   Nissan       MURANO              CHICAGO                   IL
101380   5N1AZ2BS9LN123383   Nissan       MURANO              Portland                  ME
101381   5N1AZ2BS9LN123643   Nissan       MURANO              ORLANDO                   FL
101382   5N1AZ2BS9LN123836   Nissan       MURANO              PHILADELPHIA              PA
101383   5N1AZ2BS9LN123853   Nissan       MURANO              Parkville                 MD
101384   5N1AZ2BS9LN123867   Nissan       MURANO              NORFOLK                   VA
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101385   5N1AZ2BS9LN123903   Nissan       MURANO              TAMPA                     FL
101386   5N1AZ2BS9LN123951   Nissan       MURANO              PHILADELPHIA              PA
101387   5N1AZ2BS9LN124002   Nissan       MURANO              ALBUQUERQUE               NM
101388   5N1AZ2BS9LN124078   Nissan       MURANO              BOSTON                    MA
101389   5N1AZ2BS9LN124176   Nissan       MURANO              GREENSBORO                NC
101390   5N1AZ2BS9LN124193   Nissan       MURANO              RONKONKOMA                NY
101391   5N1AZ2BS9LN124226   Nissan       MURANO              ALLENTOWN                 US
101392   5N1AZ2BS9LN124243   Nissan       MURANO              PITTSBURGH                PA
101393   5N1AZ2BS9LN124260   Nissan       MURANO              PHILADELPHIA              PA
101394   5N1AZ2BS9LN124355   Nissan       MURANO              PHILADELPHIA              PA
101395   5N1AZ2BS9LN124369   Nissan       MURANO              BURBANK                   CA
101396   5N1AZ2BS9LN124386   Nissan       MURANO              TAMPA                     FL
101397   5N1AZ2BS9LN124503   Nissan       MURANO              NORFOLK                   VA
101398   5N1AZ2BS9LN124520   Nissan       MURANO              CLEVELAND                 OH
101399   5N1AZ2BS9LN124694   Nissan       MURANO              North Dighton             MA
101400   5N1AZ2BS9LN124713   Nissan       MURANO              HARRISBURG                PA
101401   5N1AZ2BS9LN124744   Nissan       MURANO              CHICAGO                   IL
101402   5N1AZ2BS9LN124792   Nissan       MURANO              CHICAGO O'HARE AP         IL
101403   5N1AZ2BS9LN124839   Nissan       MURANO              WARWICK                   RI
101404   5N1AZ2BS9LN124842   Nissan       MURANO              Parkville                 MD
101405   5N1AZ2BS9LN124968   Nissan       MURANO              MEMPHIS                   TN
101406   5N1AZ2BS9LN125005   Nissan       MURANO              NEW BERN                  NC
101407   5N1AZ2BS9LN129037   Nissan       MURANO              WHITE PLAINS              NY
101408   5N1AZ2BS9LN129085   Nissan       MURANO              BOSTON                    MA
101409   5N1AZ2BS9LN129104   Nissan       MURANO              SAN DIEGO                 CA
101410   5N1AZ2BS9LN129734   Nissan       MURANO              SAINT PAUL                MN
101411   5N1AZ2BS9LN129748   Nissan       MURANO              WOODSON TERRACE           MO
101412   5N1AZ2BS9LN129751   Nissan       MURANO              SAN JOSE                  CA
101413   5N1AZ2BS9LN129796   Nissan       MURANO              SAINT LOUIS               MO
101414   5N1AZ2BS9LN129832   Nissan       MURANO              LOS ANGELES               CA
101415   5N1AZ2BS9LN129958   Nissan       MURANO              ORLANDO                   FL
101416   5N1AZ2BS9LN131029   Nissan       MURANO              HARTFORD                  CT
101417   5N1AZ2BS9LN131032   Nissan       MURANO              Lake Elsinore             CA
101418   5N1AZ2BS9LN131256   Nissan       MURANO              WOODSON TERRACE           MO
101419   5N1AZ2BS9LN131290   Nissan       MURANO              KANSAS CITY               MO
101420   5N1AZ2BS9LN131581   Nissan       MURANO              SAINT LOUIS               MO
101421   5N1AZ2BS9LN131872   Nissan       MURANO              CLEVELAND                 OH
101422   5N1AZ2BS9LN132066   Nissan       MURANO              LEXINGTON                 KY
101423   5N1AZ2BS9LN132164   Nissan       MURANO              FORT LAUDERDALE           FL
101424   5N1AZ2BS9LN132195   Nissan       MURANO              AKRON                     OH
101425   5N1AZ2BS9LN132486   Nissan       MURANO              DANIA BEACH               FL
101426   5N1AZ2BS9LN132519   Nissan       MURANO              DETROIT                   MI
101427   5N1AZ2BS9LN132536   Nissan       MURANO              GRAND RAPIDS              MI
101428   5N1AZ2BS9LN132682   Nissan       MURANO              CLEVELAND                 OH
101429   5N1AZ2BS9LN133525   Nissan       MURANO              SAN DIEGO                 CA
101430   5N1AZ2BS9LN133573   Nissan       MURANO              SOUTH BURLINGTO           VT
101431   5N1AZ2BS9LN133931   Nissan       MURANO              NEW BERN                  NC
101432   5N1AZ2BS9LN134237   Nissan       MURANO              DETROIT                   MI
101433   5N1AZ2BS9LN134447   Nissan       MURANO              Canton                    MI
101434   5N1AZ2BS9LN134481   Nissan       MURANO              ORANGE COUNTY             CA
101435   5N1AZ2BS9LN135145   Nissan       MURANO              RALIEGH                   NC
101436   5N1AZ2BS9LN135159   Nissan       MURANO              CHARLESTON                SC
101437   5N1AZ2BS9LN135274   Nissan       MURANO              HANOVER                   MD
101438   5N1AZ2BS9LN135470   Nissan       MURANO              RALIEGH                   NC
101439   5N1AZ2BS9LN136053   Nissan       MURANO              HANOVER                   MD
101440   5N1AZ2BS9LN136232   Nissan       MURANO              BOSTON                    MA
101441   5N1AZ2BS9LN137669   Nissan       MURANO              SAINT PAUL                MN
101442   5N1AZ2BS9LN137929   Nissan       MURANO              TULSA                     OK
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101443   5N1AZ2BS9LN138210   Nissan       MURANO              RALIEGH                   NC
101444   5N1AZ2BS9LN138269   Nissan       MURANO              CHARLOTTE                 NC
101445   5N1AZ2BS9LN138286   Nissan       MURANO              CHICAGO                   IL
101446   5N1AZ2BS9LN138370   Nissan       MURANO              CHICAGO                   IL
101447   5N1AZ2BS9LN138563   Nissan       MURANO              KANSAS CITY               MO
101448   5N1AZ2BS9LN138689   Nissan       MURANO              PHILADELPHIA              PA
101449   5N1AZ2BS9LN138854   Nissan       MURANO              SAINT PAUL                MN
101450   5N1AZ2BS9LN138921   Nissan       MURANO              PROVIDENCE                RI
101451   5N1AZ2BS9LN139213   Nissan       MURANO              PHILADELPHIA              PA
101452   5N1AZ2BS9LN139521   Nissan       MURANO              McHenry                   IL
101453   5N1AZ2BS9LN139583   Nissan       MURANO              KANSAS CITY               MO
101454   5N1AZ2BS9LN139714   Nissan       MURANO              WINDSOR LOCKS             CT
101455   5N1AZ2BS9LN139762   Nissan       MURANO              SAINT PAUL                MN
101456   5N1AZ2BS9LN139812   Nissan       MURANO              BOSTON                    MA
101457   5N1AZ2BS9LN139843   Nissan       MURANO              KANSAS CITY               MO
101458   5N1AZ2BS9LN139857   Nissan       MURANO              MINNEAPOLIS               MN
101459   5N1AZ2BS9LN139860   Nissan       MURANO              SAINT PAUL                MN
101460   5N1AZ2BS9LN139874   Nissan       MURANO              KANSAS CITY               MO
101461   5N1AZ2BS9LN139955   Nissan       MURANO              CHICAGO                   IL
101462   5N1AZ2BS9LN140264   Nissan       MURANO              HARTFORD                  CT
101463   5N1AZ2BS9LN140345   Nissan       MURANO              PROVIDENCE                RI
101464   5N1AZ2BS9LN140376   Nissan       MURANO              CHARLOTTE                 NC
101465   5N1AZ2BS9LN140409   Nissan       MURANO              Atlanta                   GA
101466   5N1AZ2BS9LN140622   Nissan       MURANO              PHILADELPHIA              PA
101467   5N1AZ2BS9LN141186   Nissan       MURANO              PHILADELPHIA              PA
101468   5N1AZ2BS9LN141303   Nissan       MURANO              PHILADELPHIA              PA
101469   5N1AZ2BS9LN141317   Nissan       MURANO              PHILADELPHIA              PA
101470   5N1AZ2BS9LN141365   Nissan       MURANO              RALIEGH                   NC
101471   5N1AZ2BS9LN141396   Nissan       MURANO              PHILADELPHIA              PA
101472   5N1AZ2BS9LN141463   Nissan       MURANO              RALEIGH                   NC
101473   5N1AZ2BS9LN141673   Nissan       MURANO              RALIEGH                   NC
101474   5N1AZ2BS9LN141771   Nissan       MURANO              CHICAGO                   IL
101475   5N1AZ2BS9LN142080   Nissan       MURANO              ALEXANDRIA                VA
101476   5N1AZ2BS9LN143021   Nissan       MURANO              PHILADELPHIA              US
101477   5N1AZ2BS9LN143035   Nissan       MURANO              ALEXANDRIA                VA
101478   5N1AZ2BS9LN143584   Nissan       MURANO              MINNEAPOLIS               MN
101479   5N1AZ2BS9LN146209   Nissan       MURANO              Atlanta                   GA
101480   5N1AZ2BS9LN146792   Nissan       MURANO              CHARLOTTE                 US
101481   5N1AZ2BS9LN147036   Nissan       MURANO              ATLANTA                   GA
101482   5N1AZ2BS9LN147120   Nissan       MURANO              DES MOINES                IA
101483   5N1AZ2BS9LN147487   Nissan       MURANO              PITTSBURGH                PA
101484   5N1AZ2BS9LN147828   Nissan       MURANO              NEWARK                    NJ
101485   5N1AZ2BS9LN147845   Nissan       MURANO              NEWARK                    NJ
101486   5N1AZ2BS9LN147859   Nissan       MURANO              CHARLOTTE                 US
101487   5N1AZ2BS9LN147876   Nissan       MURANO              DES MOINES                IA
101488   5N1AZ2BS9LN147912   Nissan       MURANO              PITTSBURGH                PA
101489   5N1AZ2BS9LN147926   Nissan       MURANO              RICHMOND                  VA
101490   5N1AZ2BS9LN148042   Nissan       MURANO              RONKONKOMA                NY
101491   5N1AZ2BS9LN148137   Nissan       MURANO              CHARLOTTE                 US
101492   5N1AZ2BS9LN148266   Nissan       MURANO              PITTSBURGH                PA
101493   5N1AZ2BS9LN148297   Nissan       MURANO              PITTSBURGH                PA
101494   5N1AZ2BS9LN148753   Nissan       MURANO              CHARLOTTE                 US
101495   5N1AZ2BS9LN148767   Nissan       MURANO              PHILADELPHIA              US
101496   5N1AZ2BS9LN149028   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
101497   5N1AZ2BS9LN149112   Nissan       MURANO              LAS VEGAS CAR CONTROL     CA
101498   5N1AZ2BS9LN149157   Nissan       MURANO              OMAHA                     NE
101499   5N1AZ2BS9LN149515   Nissan       MURANO              DES MOINES                IA
101500   5N1AZ2BS9LN149790   Nissan       MURANO              OMAHA                     NE
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101501   5N1AZ2BS9LN149949   Nissan       MURANO              CHARLOTTE                 US
101502   5N1AZ2BSXLN100162   Nissan       MURANO              WHITE PLAINS              NY
101503   5N1AZ2BSXLN100209   Nissan       MURANO              OAKLAND                   CA
101504   5N1AZ2BSXLN100212   Nissan       MURANO              SANTA ANA                 CA
101505   5N1AZ2BSXLN100338   Nissan       MURANO              LOUISVILLE                KY
101506   5N1AZ2BSXLN100341   Nissan       MURANO              WEST PALM BEACH           FL
101507   5N1AZ2BSXLN100419   Nissan       MURANO              JACKSONVILLE              FL
101508   5N1AZ2BSXLN100498   Nissan       MURANO              STERLING                  VA
101509   5N1AZ2BSXLN100503   Nissan       MURANO              FORT LAUDERDALE           FL
101510   5N1AZ2BSXLN100548   Nissan       MURANO              SARASOTA                  FL
101511   5N1AZ2BSXLN100579   Nissan       MURANO              FORT LAUDERDALE           FL
101512   5N1AZ2BSXLN100615   Nissan       MURANO              KNOXVILLE                 TN
101513   5N1AZ2BSXLN100629   Nissan       MURANO              Hebron                    KY
101514   5N1AZ2BSXLN101005   Nissan       MURANO              NEW BERN                  NC
101515   5N1AZ2BSXLN101067   Nissan       MURANO              STERLING                  US
101516   5N1AZ2BSXLN101117   Nissan       MURANO              SANTA ANA                 CA
101517   5N1AZ2BSXLN101165   Nissan       MURANO              ORLANDO                   FL
101518   5N1AZ2BSXLN101179   Nissan       MURANO              LOS ANGELES               CA
101519   5N1AZ2BSXLN101196   Nissan       MURANO              SAN DIEGO                 CA
101520   5N1AZ2BSXLN101232   Nissan       MURANO              WEST PALM BEACH           FL
101521   5N1AZ2BSXLN101313   Nissan       MURANO              SEATAC                    WA
101522   5N1AZ2BSXLN101358   Nissan       MURANO              STERLING                  VA
101523   5N1AZ2BSXLN101392   Nissan       MURANO              FORT MYERS                FL
101524   5N1AZ2BSXLN101411   Nissan       MURANO              CHATTANOOGA               TN
101525   5N1AZ2BSXLN101442   Nissan       MURANO              SAN DIEGO                 CA
101526   5N1AZ2BSXLN101506   Nissan       MURANO              MIAMI                     FL
101527   5N1AZ2BSXLN101585   Nissan       MURANO              ORLANDO                   FL
101528   5N1AZ2BSXLN101604   Nissan       MURANO              TUCSON                    AZ
101529   5N1AZ2BSXLN101733   Nissan       MURANO              COLLEGE PARK              GA
101530   5N1AZ2BSXLN102123   Nissan       MURANO              BURBANK                   CA
101531   5N1AZ2BSXLN102879   Nissan       MURANO              MIAMI                     FL
101532   5N1AZ2BSXLN102929   Nissan       MURANO              NASHVILLE                 TN
101533   5N1AZ2BSXLN103028   Nissan       MURANO              DALLAS                    TX
101534   5N1AZ2BSXLN103238   Nissan       MURANO              COLUMBUS                  OH
101535   5N1AZ2BSXLN103269   Nissan       MURANO              DALLAS                    TX
101536   5N1AZ2BSXLN103403   Nissan       MURANO              CLEVELAND                 OH
101537   5N1AZ2BSXLN103417   Nissan       MURANO              TAMPA                     FL
101538   5N1AZ2BSXLN103496   Nissan       MURANO              CHARLOTTE                 NC
101539   5N1AZ2BSXLN103501   Nissan       MURANO              DALLAS                    TX
101540   5N1AZ2BSXLN103515   Nissan       MURANO              OKLAHOMA CITY             OK
101541   5N1AZ2BSXLN103529   Nissan       MURANO              AUSTIN                    TX
101542   5N1AZ2BSXLN103546   Nissan       MURANO              DALLAS                    TX
101543   5N1AZ2BSXLN103577   Nissan       MURANO              SAN FRANCISCO             CA
101544   5N1AZ2BSXLN103630   Nissan       MURANO              SOUTH SAN FRANC           CA
101545   5N1AZ2BSXLN103742   Nissan       MURANO              ALLENTOWN                 US
101546   5N1AZ2BSXLN103823   Nissan       MURANO              NEW BERN                  NC
101547   5N1AZ2BSXLN103837   Nissan       MURANO              ATLANTA                   GA
101548   5N1AZ2BSXLN103868   Nissan       MURANO              RALIEGH                   NC
101549   5N1AZ2BSXLN103899   Nissan       MURANO              KENNER                    LA
101550   5N1AZ2BSXLN103997   Nissan       MURANO              HOUSTON                   TX
101551   5N1AZ2BSXLN104017   Nissan       MURANO              KENNER                    LA
101552   5N1AZ2BSXLN104342   Nissan       MURANO              LOS ANGELES               CA
101553   5N1AZ2BSXLN104390   Nissan       MURANO              TAMPA                     FL
101554   5N1AZ2BSXLN104499   Nissan       MURANO              FORT LAUDERDALE           FL
101555   5N1AZ2BSXLN104504   Nissan       MURANO              LOS ANGELES               CA
101556   5N1AZ2BSXLN104552   Nissan       MURANO              JACKSONVILLE              FL
101557   5N1AZ2BSXLN104566   Nissan       MURANO              ATLANTA                   GA
101558   5N1AZ2BSXLN104650   Nissan       MURANO              ALBANY                    NY
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101559   5N1AZ2BSXLN104678   Nissan       MURANO              RALEIGH                   NC
101560   5N1AZ2BSXLN104681   Nissan       MURANO              DES MOINES                IA
101561   5N1AZ2BSXLN104745   Nissan       MURANO              PHILADELPHIA              PA
101562   5N1AZ2BSXLN104826   Nissan       MURANO              WHITE PLAINS              NY
101563   5N1AZ2BSXLN104843   Nissan       MURANO              ORLANDO                   FL
101564   5N1AZ2BSXLN104857   Nissan       MURANO              Atlanta                   GA
101565   5N1AZ2BSXLN104907   Nissan       MURANO              KANSAS CITY               MO
101566   5N1AZ2BSXLN104924   Nissan       MURANO              BOSTON                    MA
101567   5N1AZ2BSXLN104969   Nissan       MURANO              Atlanta                   GA
101568   5N1AZ2BSXLN104972   Nissan       MURANO              DES MOINES                IA
101569   5N1AZ2BSXLN105054   Nissan       MURANO              SAINT LOUIS               MO
101570   5N1AZ2BSXLN105118   Nissan       MURANO              JACKSONVILLE              FL
101571   5N1AZ2BSXLN105197   Nissan       MURANO              SACRAMENTO                CA
101572   5N1AZ2BSXLN105202   Nissan       MURANO              LOS ANGELES               CA
101573   5N1AZ2BSXLN105278   Nissan       MURANO              Atlanta                   GA
101574   5N1AZ2BSXLN105345   Nissan       MURANO              LAS VEGAS                 NV
101575   5N1AZ2BSXLN105409   Nissan       MURANO              WEST COLUMBIA             SC
101576   5N1AZ2BSXLN105488   Nissan       MURANO              PORTLAND                  OR
101577   5N1AZ2BSXLN105538   Nissan       MURANO              PENSACOLA                 FL
101578   5N1AZ2BSXLN105569   Nissan       MURANO              ORLANDO                   FL
101579   5N1AZ2BSXLN105586   Nissan       MURANO              SAN JOSE                  CA
101580   5N1AZ2BSXLN105605   Nissan       MURANO              DETROIT                   MI
101581   5N1AZ2BSXLN105667   Nissan       MURANO              FORT LAUDERDALE           FL
101582   5N1AZ2BSXLN105703   Nissan       MURANO              JACKSONVILLE              FL
101583   5N1AZ2BSXLN105748   Nissan       MURANO              MIAMI                     FL
101584   5N1AZ2BSXLN105801   Nissan       MURANO              CHARLOTTE                 NC
101585   5N1AZ2BSXLN105815   Nissan       MURANO              MORRISVILLE               NC
101586   5N1AZ2BSXLN105927   Nissan       MURANO              SAINT PAUL                MN
101587   5N1AZ2BSXLN105975   Nissan       MURANO              ORLANDO                   FL
101588   5N1AZ2BSXLN105992   Nissan       MURANO              ATLANTA                   GA
101589   5N1AZ2BSXLN106138   Nissan       MURANO              LOS ANGELES               CA
101590   5N1AZ2BSXLN106141   Nissan       MURANO              LOS ANGELES               CA
101591   5N1AZ2BSXLN106222   Nissan       MURANO              SYRACUSE                  NY
101592   5N1AZ2BSXLN106253   Nissan       MURANO              Manheim                   PA
101593   5N1AZ2BSXLN106270   Nissan       MURANO              CHICAGO                   IL
101594   5N1AZ2BSXLN106284   Nissan       MURANO              WHITE PLAINS              NY
101595   5N1AZ2BSXLN106317   Nissan       MURANO              SAN FRANCISCO             CA
101596   5N1AZ2BSXLN106415   Nissan       MURANO              SACRAMENTO                CA
101597   5N1AZ2BSXLN106429   Nissan       MURANO              Leesburg                  VA
101598   5N1AZ2BSXLN106530   Nissan       MURANO              SACRAMENTO                CA
101599   5N1AZ2BSXLN106544   Nissan       MURANO              WEST PALM BEACH           FL
101600   5N1AZ2BSXLN106589   Nissan       MURANO              WEST PALM BEACH           FL
101601   5N1AZ2BSXLN106592   Nissan       MURANO              MIAMI                     FL
101602   5N1AZ2BSXLN106611   Nissan       MURANO              ONTARIO                   CA
101603   5N1AZ2BSXLN106639   Nissan       MURANO              JAMAICA                   NY
101604   5N1AZ2BSXLN106642   Nissan       MURANO              LOS ANGELES               CA
101605   5N1AZ2BSXLN106723   Nissan       MURANO              OAKLAND                   CA
101606   5N1AZ2BSXLN106740   Nissan       MURANO              FRESNO                    CA
101607   5N1AZ2BSXLN106768   Nissan       MURANO              CHARLOTTESVILLE           VA
101608   5N1AZ2BSXLN106785   Nissan       MURANO              NEW BERN                  NC
101609   5N1AZ2BSXLN106835   Nissan       MURANO              Smithtown                 NY
101610   5N1AZ2BSXLN106902   Nissan       MURANO              FRESNO                    CA
101611   5N1AZ2BSXLN106947   Nissan       MURANO              KNOXVILLE                 TN
101612   5N1AZ2BSXLN106978   Nissan       MURANO              MIAMI                     FL
101613   5N1AZ2BSXLN107130   Nissan       MURANO              ATLANTA                   GA
101614   5N1AZ2BSXLN121481   Nissan       MURANO              RONKONKOMA                NY
101615   5N1AZ2BSXLN121660   Nissan       MURANO              BOSTON                    MA
101616   5N1AZ2BSXLN121674   Nissan       MURANO              DALLAS                    TX
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101617   5N1AZ2BSXLN121710   Nissan       MURANO              NEW BERN                  NC
101618   5N1AZ2BSXLN122498   Nissan       MURANO              Cicero                    NY
101619   5N1AZ2BSXLN122565   Nissan       MURANO              PHILADELPHIA              PA
101620   5N1AZ2BSXLN122579   Nissan       MURANO              ATLANTA                   GA
101621   5N1AZ2BSXLN122596   Nissan       MURANO              GREENSBORO                NC
101622   5N1AZ2BSXLN122601   Nissan       MURANO              PORTLAND                  ME
101623   5N1AZ2BSXLN122615   Nissan       MURANO              PHILADELPHIA              PA
101624   5N1AZ2BSXLN122825   Nissan       MURANO              WEST PALM BEACH           FL
101625   5N1AZ2BSXLN122937   Nissan       MURANO              MYRTLE BEACH              SC
101626   5N1AZ2BSXLN123084   Nissan       MURANO              SYRACUSE                  NY
101627   5N1AZ2BSXLN123103   Nissan       MURANO              WEST PALM BEACH           FL
101628   5N1AZ2BSXLN123151   Nissan       MURANO              SEA TAC                   WA
101629   5N1AZ2BSXLN123229   Nissan       MURANO              PITTSBURGH                PA
101630   5N1AZ2BSXLN123344   Nissan       MURANO              ALBANY                    NY
101631   5N1AZ2BSXLN123506   Nissan       MURANO              COLUMBIA                  SC
101632   5N1AZ2BSXLN123523   Nissan       MURANO              PORTLAND                  ME
101633   5N1AZ2BSXLN123568   Nissan       MURANO              KANSAS CITY               MO
101634   5N1AZ2BSXLN123599   Nissan       MURANO              WEST COLUMBIA             SC
101635   5N1AZ2BSXLN123618   Nissan       MURANO              WHITE PLAINS              NY
101636   5N1AZ2BSXLN123635   Nissan       MURANO              RICHMOND                  VA
101637   5N1AZ2BSXLN123649   Nissan       MURANO              STERLING                  VA
101638   5N1AZ2BSXLN123814   Nissan       MURANO              STERLING                  VA
101639   5N1AZ2BSXLN123859   Nissan       MURANO              NORFOLK                   VA
101640   5N1AZ2BSXLN123926   Nissan       MURANO              SAN DIEGO                 CA
101641   5N1AZ2BSXLN123960   Nissan       MURANO              PHILADELPHIA              PA
101642   5N1AZ2BSXLN124137   Nissan       MURANO              SEATAC                    WA
101643   5N1AZ2BSXLN124140   Nissan       MURANO              Landover Hills            MD
101644   5N1AZ2BSXLN124168   Nissan       MURANO              WICHITA FALLS             TX
101645   5N1AZ2BSXLN124171   Nissan       MURANO              WEST COLUMBIA             SC
101646   5N1AZ2BSXLN124204   Nissan       MURANO              Atlanta                   GA
101647   5N1AZ2BSXLN124249   Nissan       MURANO              KANSAS CITY               MO
101648   5N1AZ2BSXLN124252   Nissan       MURANO              RICHMOND                  VA
101649   5N1AZ2BSXLN124395   Nissan       MURANO              NORFOLK                   VA
101650   5N1AZ2BSXLN124400   Nissan       MURANO              NEW BERN                  NC
101651   5N1AZ2BSXLN124428   Nissan       MURANO              KANSAS CITY               MO
101652   5N1AZ2BSXLN124459   Nissan       MURANO              BOSTON, LOGAN AP          MA
101653   5N1AZ2BSXLN124462   Nissan       MURANO              PHILADELPHIA              PA
101654   5N1AZ2BSXLN124493   Nissan       MURANO              Atlanta                   GA
101655   5N1AZ2BSXLN124509   Nissan       MURANO              STERLING                  VA
101656   5N1AZ2BSXLN124641   Nissan       MURANO              WEST PALM BEACH           FL
101657   5N1AZ2BSXLN124655   Nissan       MURANO              RICHMOND                  VA
101658   5N1AZ2BSXLN124722   Nissan       MURANO              Des Moines                IA
101659   5N1AZ2BSXLN124770   Nissan       MURANO              HANOVER                   MD
101660   5N1AZ2BSXLN124834   Nissan       MURANO              ALLENTOWN                 US
101661   5N1AZ2BSXLN124882   Nissan       MURANO              ALBANY                    NY
101662   5N1AZ2BSXLN124946   Nissan       MURANO              STERLING                  VA
101663   5N1AZ2BSXLN125031   Nissan       MURANO              CLEVELAND                 OH
101664   5N1AZ2BSXLN128723   Nissan       MURANO              SAINT LOUIS               MO
101665   5N1AZ2BSXLN129175   Nissan       MURANO              STERLING                  VA
101666   5N1AZ2BSXLN129208   Nissan       MURANO              LOS ANGELES               CA
101667   5N1AZ2BSXLN129225   Nissan       MURANO              LEXINGTON                 KY
101668   5N1AZ2BSXLN129760   Nissan       MURANO              LOUISVILLE                KY
101669   5N1AZ2BSXLN129788   Nissan       MURANO              MIAMI                     FL
101670   5N1AZ2BSXLN129919   Nissan       MURANO              BUFFALO                   NY
101671   5N1AZ2BSXLN129998   Nissan       MURANO              SAINT LOUIS               MO
101672   5N1AZ2BSXLN130004   Nissan       MURANO              NEWARK                    NJ
101673   5N1AZ2BSXLN130066   Nissan       MURANO              BLOOMINGTON               IL
101674   5N1AZ2BSXLN130293   Nissan       MURANO              WOODSON TERRACE           MO
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101675   5N1AZ2BSXLN130441   Nissan       MURANO              ONTARIO                   CA
101676   5N1AZ2BSXLN130567   Nissan       MURANO              WOODSON TERRACE           MO
101677   5N1AZ2BSXLN130620   Nissan       MURANO              SAINT LOUIS               MO
101678   5N1AZ2BSXLN130682   Nissan       MURANO              SAINT LOUIS               MO
101679   5N1AZ2BSXLN130763   Nissan       MURANO              HARRISBURG                PA
101680   5N1AZ2BSXLN130844   Nissan       MURANO              CHARLOTTE                 NC
101681   5N1AZ2BSXLN131024   Nissan       MURANO              WILMINGTON                NC
101682   5N1AZ2BSXLN131198   Nissan       MURANO              DETROIT                   MI
101683   5N1AZ2BSXLN131220   Nissan       MURANO              GRAND RAPIDS              MI
101684   5N1AZ2BSXLN131315   Nissan       MURANO              SAINT LOUIS               MO
101685   5N1AZ2BSXLN131864   Nissan       MURANO              CLEVELAND                 OH
101686   5N1AZ2BSXLN132237   Nissan       MURANO              SAINT LOUIS               MO
101687   5N1AZ2BSXLN132478   Nissan       MURANO              PITTSBURGH                PA
101688   5N1AZ2BSXLN133517   Nissan       MURANO              SAN DIEGO                 US
101689   5N1AZ2BSXLN133923   Nissan       MURANO              CLEVELAND                 OH
101690   5N1AZ2BSXLN133968   Nissan       MURANO              SAN DIEGO                 CA
101691   5N1AZ2BSXLN133971   Nissan       MURANO              LOS ANGELES AP            CA
101692   5N1AZ2BSXLN133985   Nissan       MURANO              CLEVELAND                 OH
101693   5N1AZ2BSXLN134232   Nissan       MURANO              PHILADELPHIA              PA
101694   5N1AZ2BSXLN134330   Nissan       MURANO              DETROIT                   MI
101695   5N1AZ2BSXLN134375   Nissan       MURANO              DETROIT                   MI
101696   5N1AZ2BSXLN134392   Nissan       MURANO              DETROIT                   MI
101697   5N1AZ2BSXLN134490   Nissan       MURANO              DETROIT                   MI
101698   5N1AZ2BSXLN134618   Nissan       MURANO              Hebron                    KY
101699   5N1AZ2BSXLN134943   Nissan       MURANO              HANOVER                   MD
101700   5N1AZ2BSXLN134957   Nissan       MURANO              KANSAS CITY               MO
101701   5N1AZ2BSXLN135221   Nissan       MURANO              CHICAGO                   IL
101702   5N1AZ2BSXLN135235   Nissan       MURANO              BALTIMORE                 MD
101703   5N1AZ2BSXLN135252   Nissan       MURANO              ALEXANDRIA                VA
101704   5N1AZ2BSXLN135963   Nissan       MURANO              CHICAGO                   IL
101705   5N1AZ2BSXLN136322   Nissan       MURANO              ROANOKE                   VA
101706   5N1AZ2BSXLN137664   Nissan       MURANO              SAINT PAUL                MN
101707   5N1AZ2BSXLN138202   Nissan       MURANO              RALIEGH                   NC
101708   5N1AZ2BSXLN138250   Nissan       MURANO              DALLAS                    TX
101709   5N1AZ2BSXLN138426   Nissan       MURANO              ALEXANDRIA                VA
101710   5N1AZ2BSXLN138717   Nissan       MURANO              WARWICK                   RI
101711   5N1AZ2BSXLN138720   Nissan       MURANO              PHILADELPHIA              PA
101712   5N1AZ2BSXLN138815   Nissan       MURANO              RALIEGH                   NC
101713   5N1AZ2BSXLN138832   Nissan       MURANO              SAINT LOUIS               MO
101714   5N1AZ2BSXLN139222   Nissan       MURANO              SAINT PAUL                MN
101715   5N1AZ2BSXLN139267   Nissan       MURANO              PHILADELPHIA              PA
101716   5N1AZ2BSXLN139303   Nissan       MURANO              NEW BERN                  NC
101717   5N1AZ2BSXLN139754   Nissan       MURANO              PROVIDENCE                RI
101718   5N1AZ2BSXLN139902   Nissan       MURANO              CHICAGO                   IL
101719   5N1AZ2BSXLN139947   Nissan       MURANO              KANSAS CITY               MO
101720   5N1AZ2BSXLN140340   Nissan       MURANO              HARTFORD                  CT
101721   5N1AZ2BSXLN140564   Nissan       MURANO              BLOOMINGTON               IL
101722   5N1AZ2BSXLN140628   Nissan       MURANO              PHILADELPHIA              PA
101723   5N1AZ2BSXLN141164   Nissan       MURANO              RALIEGH                   NC
101724   5N1AZ2BSXLN141200   Nissan       MURANO              PHILADELPHIA              PA
101725   5N1AZ2BSXLN141309   Nissan       MURANO              SAINT PAUL                MN
101726   5N1AZ2BSXLN141360   Nissan       MURANO              NEW BERN                  NC
101727   5N1AZ2BSXLN141410   Nissan       MURANO              MYRTLE BEACH              SC
101728   5N1AZ2BSXLN141424   Nissan       MURANO              NEW BERN                  NC
101729   5N1AZ2BSXLN141729   Nissan       MURANO              CHICAGO                   IL
101730   5N1AZ2BSXLN142055   Nissan       MURANO              ALEXANDRIA                VA
101731   5N1AZ2BSXLN142203   Nissan       MURANO              EAST BOSTON               MA
101732   5N1AZ2BSXLN143027   Nissan       MURANO              ALEXANDRIA                VA
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101733   5N1AZ2BSXLN143528   Nissan       MURANO              CHICAGO                   IL
101734   5N1AZ2BSXLN144064   Nissan       MURANO              ALEXANDRIA                VA
101735   5N1AZ2BSXLN144095   Nissan       MURANO              ALEXANDRIA                VA
101736   5N1AZ2BSXLN144176   Nissan       MURANO              BOSTON, LOGAN AP          MA
101737   5N1AZ2BSXLN144226   Nissan       MURANO              ALEXANDRIA                VA
101738   5N1AZ2BSXLN146932   Nissan       MURANO              MEMPHIS                   TN
101739   5N1AZ2BSXLN147451   Nissan       MURANO              PITTSBURGH                PA
101740   5N1AZ2BSXLN148258   Nissan       MURANO              RICHMOND                  VA
101741   5N1AZ2BSXLN148275   Nissan       MURANO              CHARLOTTE                 US
101742   5N1AZ2BSXLN148325   Nissan       MURANO              CHARLOTTE                 US
101743   5N1AZ2BSXLN148504   Nissan       MURANO              CHARLOTTE                 US
101744   5N1AZ2BSXLN148521   Nissan       MURANO              RICHMOND                  VA
101745   5N1AZ2BSXLN148552   Nissan       MURANO              PITTSBURGH                PA
101746   5N1AZ2BSXLN149152   Nissan       MURANO              OMAHA                     NE
101747   5N1AZ2BSXLN149216   Nissan       MURANO              MINNEAPOLIS               MN
101748   5N1AZ2BSXLN149362   Nissan       MURANO              OMAHA                     NE
101749   5N1AZ2BSXLN149524   Nissan       MURANO              OMAHA                     NE
101750   5N1AZ2BSXLN149961   Nissan       MURANO              CHARLOTTE                 US
101751   5N1AZ2BSXLN149989   Nissan       MURANO              CHARLOTTE                 US
101752   5N1AZ2MG0JN122743   Nissan       MURANO              Hayward                   CA
101753   5N1AZ2MG1JN103036   Nissan       MURANO              PHILADELPHIA              PA
101754   5N1AZ2MG1JN107135   Nissan       MURANO              TAMPA                     FL
101755   5N1AZ2MG1JN114702   Nissan       MURANO              Webster                   NY
101756   5N1AZ2MG1JN123240   Nissan       MURANO              SAINT LOUIS               MO
101757   5N1AZ2MG2JN104339   Nissan       MURANO              Cranberry Towns           PA
101758   5N1AZ2MG2JN123585   Nissan       MURANO              FORT MYERS                FL
101759   5N1AZ2MG3JN109257   Nissan       MURANO              Ft. Myers                 FL
101760   5N1AZ2MG3JN135728   Nissan       MURANO              PHOENIX                   AZ
101761   5N1AZ2MG4JN103614   Nissan       MURANO              Chicago                   IL
101762   5N1AZ2MG5JN134354   Nissan       MURANO              Tolleson                  AZ
101763   5N1AZ2MG5JN135083   Nissan       MURANO              San Antonio               TX
101764   5N1AZ2MG5JN136119   Nissan       MURANO              PLEASANTON                CA
101765   5N1AZ2MG6JN101430   Nissan       MURANO              FORT MYERS                FL
101766   5N1AZ2MG6JN106191   Nissan       MURANO              TAMPA                     FL
101767   5N1AZ2MG6JN137120   Nissan       MURANO              Fresno                    CA
101768   5N1AZ2MG7JN117359   Nissan       MURANO              West Palm Beach           FL
101769   5N1AZ2MG8JN135255   Nissan       MURANO              KANSAS CITY               MO
101770   5N1AZ2MG9JN103513   Nissan       MURANO              Cranberry Towns           PA
101771   5N1AZ2MH0JN101965   Nissan       MURANO              Statesville               NC
101772   5N1AZ2MH0JN126722   Nissan       MURANO              Kailua‐Kona               HI
101773   5N1AZ2MH0JN126851   Nissan       MURANO              SAN FRANCISCO             CA
101774   5N1AZ2MH0JN127269   Nissan       MURANO              North Las Vegas           NV
101775   5N1AZ2MH0JN135517   Nissan       MURANO              Manheim                   PA
101776   5N1AZ2MH1JN126227   Nissan       MURANO              Honolulu                  HI
101777   5N1AZ2MH1JN132481   Nissan       MURANO              Ocoee                     FL
101778   5N1AZ2MH2JN101918   Nissan       MURANO              Manheim                   PA
101779   5N1AZ2MH2JN126883   Nissan       MURANO              Kahului                   HI
101780   5N1AZ2MH2JN127208   Nissan       MURANO              Honolulu                  HI
101781   5N1AZ2MH2JN127404   Nissan       MURANO              WEST HARTFORD             CT
101782   5N1AZ2MH2JN142324   Nissan       MURANO              Stockton                  CA
101783   5N1AZ2MH3JN126259   Nissan       MURANO              SAN FRANCISCO             CA
101784   5N1AZ2MH3JN126603   Nissan       MURANO              Hayward                   CA
101785   5N1AZ2MH3JN142641   Nissan       MURANO              FORT LAUDERDALE           FL
101786   5N1AZ2MH3JN145037   Nissan       MURANO              Lynn                      MA
101787   5N1AZ2MH4JN120499   Nissan       MURANO              SEATAC                    WA
101788   5N1AZ2MH4JN125525   Nissan       MURANO              Kahului                   HI
101789   5N1AZ2MH4JN125556   Nissan       MURANO              PLEASANTON                CA
101790   5N1AZ2MH4JN126237   Nissan       MURANO              SAN FRANCISCO             CA
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101791   5N1AZ2MH4JN140557   Nissan       MURANO              Dallas                    TX
101792   5N1AZ2MH5JN126196   Nissan       MURANO              BURBANK                   CA
101793   5N1AZ2MH5JN126926   Nissan       MURANO              SAN FRANCISCO             CA
101794   5N1AZ2MH5JN136369   Nissan       MURANO              Detroit                   MI
101795   5N1AZ2MH5JN140681   Nissan       MURANO              North Dighton             MA
101796   5N1AZ2MH6JN105048   Nissan       MURANO              Fountain                  CO
101797   5N1AZ2MH6JN126479   Nissan       MURANO              SAN FRANCISCO             CA
101798   5N1AZ2MH6JN126983   Nissan       MURANO              SAN FRANCISCO             CA
101799   5N1AZ2MH6JN127406   Nissan       MURANO              Honolulu                  HI
101800   5N1AZ2MH6JN127471   Nissan       MURANO              SAN FRANCISCO             CA
101801   5N1AZ2MH7JN125549   Nissan       MURANO              SAN FRANCISCO             CA
101802   5N1AZ2MH7JN125986   Nissan       MURANO              Kahului                   HI
101803   5N1AZ2MH7JN127639   Nissan       MURANO              Kailua‐Kona               HI
101804   5N1AZ2MH7JN135367   Nissan       MURANO              North Dighton             MA
101805   5N1AZ2MH7JN142433   Nissan       MURANO              Manheim                   PA
101806   5N1AZ2MH8JN118254   Nissan       MURANO              SEATAC                    WA
101807   5N1AZ2MH8JN127214   Nissan       MURANO              SAN FRANCISCO             CA
101808   5N1AZ2MH8JN144496   Nissan       MURANO              BOSTON                    MA
101809   5N1AZ2MH9JN126041   Nissan       MURANO              SAN FRANCISCO             CA
101810   5N1AZ2MH9JN126265   Nissan       MURANO              Hilo                      HI
101811   5N1AZ2MH9JN126606   Nissan       MURANO              SAN FRANCISCO             CA
101812   5N1AZ2MH9JN126766   Nissan       MURANO              HILO                      HI
101813   5N1AZ2MH9JN135306   Nissan       MURANO              FORT MYERS                FL
101814   5N1AZ2MHXJN126579   Nissan       MURANO              SAN FRANCISCO             CA
101815   5N1AZ2MHXJN126906   Nissan       MURANO              Stockton                  CA
101816   5N1DL0MM0JC518496   Nissan       QX60                Hayward                   CA
101817   5N1DL0MM0JC523536   Nissan       QX60                North Dighton             MA
101818   5N1DL0MM0JC530082   Nissan       QX60                FORT MYERS                FL
101819   5N1DL0MM0JC533256   Nissan       QX60                FORT LAUDERDALE           FL
101820   5N1DL0MM0KC550690   Nissan       QX60                MIAMI                     FL
101821   5N1DL0MM0KC550799   Nissan       QX60                RENO                      NV
101822   5N1DL0MM0KC551077   Nissan       QX60                ALBUQUERQUE               NM
101823   5N1DL0MM0KC551239   Nissan       QX60                FAYETTEVILLE              GA
101824   5N1DL0MM0KC551256   Nissan       QX60                ST Paul                   MN
101825   5N1DL0MM0KC551273   Nissan       QX60                Atlanta                   GA
101826   5N1DL0MM0KC551340   Nissan       QX60                FORT MYERS                FL
101827   5N1DL0MM0KC551421   Nissan       QX60                FORT MYERS                FL
101828   5N1DL0MM0KC551600   Nissan       QX60                PENSACOLA                 FL
101829   5N1DL0MM0KC551645   Nissan       QX60                FORT LAUDERDALE           FL
101830   5N1DL0MM0KC551712   Nissan       QX60                SALT LAKE CITY            US
101831   5N1DL0MM0KC551970   Nissan       QX60                COLORADO SPRING           CO
101832   5N1DL0MM0KC551984   Nissan       QX60                Riverside                 CA
101833   5N1DL0MM0KC552195   Nissan       QX60                RENO                      NV
101834   5N1DL0MM0KC552780   Nissan       QX60                RICHMOND                  VA
101835   5N1DL0MM0KC553041   Nissan       QX60                SACRAMENTO                CA
101836   5N1DL0MM0KC553086   Nissan       QX60                SAC                       CA
101837   5N1DL0MM0KC553170   Nissan       QX60                Roseville                 CA
101838   5N1DL0MM0KC553184   Nissan       QX60                Riverside                 CA
101839   5N1DL0MM0KC553296   Nissan       QX60                BURLINGAME                CA
101840   5N1DL0MM0KC553377   Nissan       QX60                DENVER                    CO
101841   5N1DL0MM0KC555856   Nissan       QX60                BALTIMORE                 MD
101842   5N1DL0MM0KC556277   Nissan       QX60                WEST PALM BEACH           FL
101843   5N1DL0MM0KC556330   Nissan       QX60                SALT LAKE CITY            US
101844   5N1DL0MM0KC556361   Nissan       QX60                ORLANDO                   FL
101845   5N1DL0MM0KC556473   Nissan       QX60                LAS VEGAS                 NV
101846   5N1DL0MM0KC556683   Nissan       QX60                Nashville                 TN
101847   5N1DL0MM0KC556909   Nissan       QX60                BOSTON                    MA
101848   5N1DL0MM0KC556988   Nissan       QX60                ORLANDO                   FL
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101849   5N1DL0MM0KC557123   Nissan       QX60                Riverside                 CA
101850   5N1DL0MM0KC557154   Nissan       QX60                BOISE                     US
101851   5N1DL0MM0KC557476   Nissan       QX60                SAN JOSE                  CA
101852   5N1DL0MM0KC557607   Nissan       QX60                ALBUQUERQUE               NM
101853   5N1DL0MM0KC557624   Nissan       QX60                Sarasota                  FL
101854   5N1DL0MM0KC557672   Nissan       QX60                SANTA CLARA               CA
101855   5N1DL0MM0KC557686   Nissan       QX60                SALT LAKE CITY            US
101856   5N1DL0MM0KC557820   Nissan       QX60                Lake Elsinore             CA
101857   5N1DL0MM0KC557865   Nissan       QX60                INDIANAPOLIS              IN
101858   5N1DL0MM0KC558059   Nissan       QX60                Detroit                   MI
101859   5N1DL0MM0KC558191   Nissan       QX60                FORT MYERS                FL
101860   5N1DL0MM0LC525659   Nissan       QX60                STERLING                  VA
101861   5N1DL0MM0LC525886   Nissan       QX60                SEATAC                    WA
101862   5N1DL0MM0LC526309   Nissan       QX60                APPLETON                  WI
101863   5N1DL0MM0LC526553   Nissan       QX60                DALLAS                    TX
101864   5N1DL0MM0LC526763   Nissan       QX60                BALTIMORE                 MD
101865   5N1DL0MM0LC527122   Nissan       QX60                SEATAC                    WA
101866   5N1DL0MM0LC527184   Nissan       QX60                SALT LAKE CITY            US
101867   5N1DL0MM0LC527203   Nissan       QX60                PITTSBURGH                PA
101868   5N1DL0MM0LC527475   Nissan       QX60                PITTSBURGH                PA
101869   5N1DL0MM0LC527539   Nissan       QX60                RALEIGH                   NC
101870   5N1DL0MM0LC527542   Nissan       QX60                PANAMA CITY               FL
101871   5N1DL0MM0LC527721   Nissan       QX60                SEATAC                    WA
101872   5N1DL0MM0LC527752   Nissan       QX60                ATLANTA                   GA
101873   5N1DL0MM0LC527900   Nissan       QX60                NORFOLK                   VA
101874   5N1DL0MM0LC528013   Nissan       QX60                PORTLAND                  OR
101875   5N1DL0MM0LC528030   Nissan       QX60                MILWAUKEE                 WI
101876   5N1DL0MM0LC528075   Nissan       QX60                HOUSTON                   TX
101877   5N1DL0MM0LC528416   Nissan       QX60                ATLANTA                   GA
101878   5N1DL0MM0LC528433   Nissan       QX60                RICHMOND                  VA
101879   5N1DL0MM0LC528559   Nissan       QX60                MIAMI                     FL
101880   5N1DL0MM0LC529288   Nissan       QX60                PORTLAND                  OR
101881   5N1DL0MM0LC529470   Nissan       QX60                PITTSBURGH                PA
101882   5N1DL0MM0LC529601   Nissan       QX60                LOS ANGELES               CA
101883   5N1DL0MM0LC529646   Nissan       QX60                DENVER                    CO
101884   5N1DL0MM0LC529677   Nissan       QX60                STERLING                  VA
101885   5N1DL0MM0LC529680   Nissan       QX60                SALT LAKE CITY            US
101886   5N1DL0MM0LC529775   Nissan       QX60                PORTLAND                  OR
101887   5N1DL0MM0LC529789   Nissan       QX60                STERLING                  VA
101888   5N1DL0MM0LC529808   Nissan       QX60                LOUISVILLE                KY
101889   5N1DL0MM0LC529842   Nissan       QX60                SEATAC                    WA
101890   5N1DL0MM0LC529968   Nissan       QX60                SALT LAKE CITY            US
101891   5N1DL0MM0LC530005   Nissan       QX60                CHICAGO O'HARE AP         IL
101892   5N1DL0MM0LC530022   Nissan       QX60                DENVER                    CO
101893   5N1DL0MM0LC530067   Nissan       QX60                SALT LAKE CITY            US
101894   5N1DL0MM0LC530084   Nissan       QX60                SAINT LOUIS               MO
101895   5N1DL0MM0LC530327   Nissan       QX60                CHICAGO                   IL
101896   5N1DL0MM0LC530344   Nissan       QX60                LOUISVILLE                KY
101897   5N1DL0MM0LC530358   Nissan       QX60                KNOXVILLE                 TN
101898   5N1DL0MM0LC530456   Nissan       QX60                BOSTON                    MA
101899   5N1DL0MM0LC530490   Nissan       QX60                DAYTON                    OH
101900   5N1DL0MM0LC530585   Nissan       QX60                BALTIMORE                 MD
101901   5N1DL0MM0LC530604   Nissan       QX60                DETROIT                   MI
101902   5N1DL0MM0LC530618   Nissan       QX60                DENVER                    CO
101903   5N1DL0MM0LC530702   Nissan       QX60                KNOXVILLE                 TN
101904   5N1DL0MM0LC530750   Nissan       QX60                SAINT PAUL                MN
101905   5N1DL0MM0LC530764   Nissan       QX60                DENVER                    CO
101906   5N1DL0MM0LC530800   Nissan       QX60                DENVER                    CO
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101907   5N1DL0MM0LC530814   Nissan       QX60                DENVER                    CO
101908   5N1DL0MM0LC530828   Nissan       QX60                DENVER                    CO
101909   5N1DL0MM0LC530909   Nissan       QX60                PITTSBURGH                PA
101910   5N1DL0MM0LC530926   Nissan       QX60                Raleigh                   NC
101911   5N1DL0MM0LC530960   Nissan       QX60                SALT LAKE CITY            US
101912   5N1DL0MM0LC531008   Nissan       QX60                SEATAC                    WA
101913   5N1DL0MM0LC531039   Nissan       QX60                BALTIMORE                 MD
101914   5N1DL0MM0LC531137   Nissan       QX60                PORTLAND                  OR
101915   5N1DL0MM0LC531154   Nissan       QX60                PORTLAND                  OR
101916   5N1DL0MM0LC531185   Nissan       QX60                DENVER                    CO
101917   5N1DL0MM0LC531199   Nissan       QX60                CHEEKTOWAGA               NY
101918   5N1DL0MM0LC531204   Nissan       QX60                SALT LAKE CITY            UT
101919   5N1DL0MM0LC531266   Nissan       QX60                SAINT PAUL                MN
101920   5N1DL0MM0LC531297   Nissan       QX60                PORTLAND                  OR
101921   5N1DL0MM0LC531350   Nissan       QX60                PHILADELPHIA              PA
101922   5N1DL0MM0LC531428   Nissan       QX60                Hebron                    KY
101923   5N1DL0MM0LC531445   Nissan       QX60                Raleigh                   NC
101924   5N1DL0MM0LC531509   Nissan       QX60                PITTSBURGH                PA
101925   5N1DL0MM0LC531512   Nissan       QX60                PORTLAND                  OR
101926   5N1DL0MM0LC531557   Nissan       QX60                Obetz                     OH
101927   5N1DL0MM0LC531686   Nissan       QX60                URBANDALE                 IA
101928   5N1DL0MM0LC531722   Nissan       QX60                BALTIMORE                 MD
101929   5N1DL0MM1JC512643   Nissan       QX60                TRACY                     CA
101930   5N1DL0MM1JC522038   Nissan       QX60                Oceanside                 CA
101931   5N1DL0MM1JC530530   Nissan       QX60                DETROIT                   MI
101932   5N1DL0MM1JC533332   Nissan       QX60                Clearwater                FL
101933   5N1DL0MM1KC550777   Nissan       QX60                Dallas                    TX
101934   5N1DL0MM1KC550925   Nissan       QX60                LAS VEGAS                 NV
101935   5N1DL0MM1KC551282   Nissan       QX60                FORT LAUDERDALE           FL
101936   5N1DL0MM1KC551301   Nissan       QX60                Atlanta                   GA
101937   5N1DL0MM1KC551492   Nissan       QX60                LAS VEGAS                 NV
101938   5N1DL0MM1KC551573   Nissan       QX60                ORLANDO                   FL
101939   5N1DL0MM1KC551606   Nissan       QX60                DENVER                    CO
101940   5N1DL0MM1KC551623   Nissan       QX60                SAN JOSE                  CA
101941   5N1DL0MM1KC551802   Nissan       QX60                Des Moines                IA
101942   5N1DL0MM1KC552058   Nissan       QX60                LOS ANGELES               CA
101943   5N1DL0MM1KC552075   Nissan       QX60                Fresno                    CA
101944   5N1DL0MM1KC552111   Nissan       QX60                SALT LAKE CITY            US
101945   5N1DL0MM1KC552531   Nissan       QX60                CHARLESTON                WV
101946   5N1DL0MM1KC552612   Nissan       QX60                NEW BERN                  NC
101947   5N1DL0MM1KC553162   Nissan       QX60                Riverside                 CA
101948   5N1DL0MM1KC553176   Nissan       QX60                Los Angeles               CA
101949   5N1DL0MM1KC553193   Nissan       QX60                SAN FRANCISCO             CA
101950   5N1DL0MM1KC553243   Nissan       QX60                BURBANK                   CA
101951   5N1DL0MM1KC553257   Nissan       QX60                Denver                    CO
101952   5N1DL0MM1KC553307   Nissan       QX60                LOS ANGELES               CA
101953   5N1DL0MM1KC553372   Nissan       QX60                PHOENIX                   AZ
101954   5N1DL0MM1KC553386   Nissan       QX60                SALT LAKE CITY            UT
101955   5N1DL0MM1KC553453   Nissan       QX60                DENVER                    CO
101956   5N1DL0MM1KC553503   Nissan       QX60                DENVER                    CO
101957   5N1DL0MM1KC555851   Nissan       QX60                Los Angeles               CA
101958   5N1DL0MM1KC556045   Nissan       QX60                MILWAUKEE                 WI
101959   5N1DL0MM1KC556322   Nissan       QX60                Houston                   TX
101960   5N1DL0MM1KC556630   Nissan       QX60                DES PLAINES               US
101961   5N1DL0MM1KC556708   Nissan       QX60                LAS VEGAS                 NV
101962   5N1DL0MM1KC556806   Nissan       QX60                Ft. Myers                 FL
101963   5N1DL0MM1KC556840   Nissan       QX60                SAN JOSE                  CA
101964   5N1DL0MM1KC557003   Nissan       QX60                Fresno                    CA
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101965   5N1DL0MM1KC557129   Nissan       QX60                DENVER                    CO
101966   5N1DL0MM1KC557437   Nissan       QX60                Philadelphia              PA
101967   5N1DL0MM1KC557616   Nissan       QX60                CLEVELAND                 OH
101968   5N1DL0MM1KC557678   Nissan       QX60                ROY                       UT
101969   5N1DL0MM1KC557695   Nissan       QX60                SAVANNAH                  GA
101970   5N1DL0MM1KC557843   Nissan       QX60                Tolleson                  AZ
101971   5N1DL0MM1KC557907   Nissan       QX60                PHOENIX                   AZ
101972   5N1DL0MM1KC558345   Nissan       QX60                SAN FRANCISCO             CA
101973   5N1DL0MM1KC558359   Nissan       QX60                Riverside                 CA
101974   5N1DL0MM1KC558524   Nissan       QX60                Scottsdale                AZ
101975   5N1DL0MM1KC558538   Nissan       QX60                LOS ANGELES               CA
101976   5N1DL0MM1KC558796   Nissan       QX60                SACRAMENTO                CA
101977   5N1DL0MM1LC525914   Nissan       QX60                LOUISVILLE                KY
101978   5N1DL0MM1LC525928   Nissan       QX60                MILWAUKEE                 WI
101979   5N1DL0MM1LC526237   Nissan       QX60                HANOVER                   MD
101980   5N1DL0MM1LC526271   Nissan       QX60                MILWAUKEE                 WI
101981   5N1DL0MM1LC526349   Nissan       QX60                MILWAUKEE                 WI
101982   5N1DL0MM1LC526772   Nissan       QX60                BALTIMORE                 MD
101983   5N1DL0MM1LC526948   Nissan       QX60                SALT LAKE CITY            US
101984   5N1DL0MM1LC527078   Nissan       QX60                CLEVELAND                 OH
101985   5N1DL0MM1LC527095   Nissan       QX60                SEATAC                    WA
101986   5N1DL0MM1LC527128   Nissan       QX60                CLEVELAND                 OH
101987   5N1DL0MM1LC527131   Nissan       QX60                STERLING                  VA
101988   5N1DL0MM1LC527159   Nissan       QX60                PITTSBURGH                PA
101989   5N1DL0MM1LC527162   Nissan       QX60                STERLING                  VA
101990   5N1DL0MM1LC527212   Nissan       QX60                CLEVELAND                 OH
101991   5N1DL0MM1LC527226   Nissan       QX60                COLUMBUS                  OH
101992   5N1DL0MM1LC527243   Nissan       QX60                KNOXVILLE                 TN
101993   5N1DL0MM1LC527257   Nissan       QX60                CLEVELAND                 OH
101994   5N1DL0MM1LC527470   Nissan       QX60                CLEVELAND                 OH
101995   5N1DL0MM1LC527520   Nissan       QX60                CLEVELAND                 OH
101996   5N1DL0MM1LC527825   Nissan       QX60                CHARLOTTE                 NC
101997   5N1DL0MM1LC527842   Nissan       QX60                AUSTIN                    TX
101998   5N1DL0MM1LC527856   Nissan       QX60                MANHATTAN                 NY
101999   5N1DL0MM1LC527887   Nissan       QX60                HOUSTON                   TX
102000   5N1DL0MM1LC527890   Nissan       QX60                OKLAHOMA CITY             OK
102001   5N1DL0MM1LC527923   Nissan       QX60                CHICAGO                   IL
102002   5N1DL0MM1LC528005   Nissan       QX60                INDIANAPOLIS              IN
102003   5N1DL0MM1LC528022   Nissan       QX60                PHILADELPHIA              PA
102004   5N1DL0MM1LC528117   Nissan       QX60                CLEVELAND                 OH
102005   5N1DL0MM1LC528120   Nissan       QX60                CLEVELAND                 OH
102006   5N1DL0MM1LC528246   Nissan       QX60                Atlanta                   GA
102007   5N1DL0MM1LC528361   Nissan       QX60                JACKSONVILLE              FL
102008   5N1DL0MM1LC528392   Nissan       QX60                PHOENIX                   AZ
102009   5N1DL0MM1LC528408   Nissan       QX60                CHARLOTTE                 NC
102010   5N1DL0MM1LC528411   Nissan       QX60                CHATTANOOGA               TN
102011   5N1DL0MM1LC528439   Nissan       QX60                Warminster                PA
102012   5N1DL0MM1LC528456   Nissan       QX60                RICHMOND                  VA
102013   5N1DL0MM1LC528537   Nissan       QX60                CHARLOTTE                 NC
102014   5N1DL0MM1LC528764   Nissan       QX60                PITTSBURGH                PA
102015   5N1DL0MM1LC528778   Nissan       QX60                CHARLOTTE                 NC
102016   5N1DL0MM1LC528960   Nissan       QX60                PORTLAND                  ME
102017   5N1DL0MM1LC529252   Nissan       QX60                BOSTON                    MA
102018   5N1DL0MM1LC529266   Nissan       QX60                DENVER                    CO
102019   5N1DL0MM1LC529428   Nissan       QX60                RALEIGH                   NC
102020   5N1DL0MM1LC529431   Nissan       QX60                PHILADELPHIA              PA
102021   5N1DL0MM1LC529591   Nissan       QX60                CHARLESTON                WV
102022   5N1DL0MM1LC529638   Nissan       QX60                WHITE PLAINS              NY
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102023   5N1DL0MM1LC529798   Nissan       QX60                PITTSBURGH                PA
102024   5N1DL0MM1LC529915   Nissan       QX60                DENVER                    CO
102025   5N1DL0MM1LC529932   Nissan       QX60                DENVER                    CO
102026   5N1DL0MM1LC529980   Nissan       QX60                CHICAGO                   IL
102027   5N1DL0MM1LC530000   Nissan       QX60                CHICAGO                   IL
102028   5N1DL0MM1LC530045   Nissan       QX60                CHICAGO                   IL
102029   5N1DL0MM1LC530109   Nissan       QX60                CHICAGO                   IL
102030   5N1DL0MM1LC530143   Nissan       QX60                DENVER                    CO
102031   5N1DL0MM1LC530157   Nissan       QX60                CHICAGO                   IL
102032   5N1DL0MM1LC530207   Nissan       QX60                CHICAGO                   IL
102033   5N1DL0MM1LC530255   Nissan       QX60                PHILADELPHIA              US
102034   5N1DL0MM1LC530269   Nissan       QX60                SAINT PAUL                MN
102035   5N1DL0MM1LC530286   Nissan       QX60                RICHMOND                  VA
102036   5N1DL0MM1LC530305   Nissan       QX60                BALTIMORE                 MD
102037   5N1DL0MM1LC530319   Nissan       QX60                INDIANAPOLIS              IN
102038   5N1DL0MM1LC530384   Nissan       QX60                LOUISVILLE                KY
102039   5N1DL0MM1LC530398   Nissan       QX60                PORTLAND                  ME
102040   5N1DL0MM1LC530403   Nissan       QX60                Hebron                    KY
102041   5N1DL0MM1LC530420   Nissan       QX60                ORLANDO                   FL
102042   5N1DL0MM1LC530434   Nissan       QX60                CHICAGO                   IL
102043   5N1DL0MM1LC530496   Nissan       QX60                ROCHESTER                 NY
102044   5N1DL0MM1LC530501   Nissan       QX60                DETROIT                   MI
102045   5N1DL0MM1LC530532   Nissan       QX60                PORTLAND                  OR
102046   5N1DL0MM1LC530594   Nissan       QX60                SAINT PAUL                MN
102047   5N1DL0MM1LC530613   Nissan       QX60                DETROIT                   MI
102048   5N1DL0MM1LC530627   Nissan       QX60                GYPSUM                    CO
102049   5N1DL0MM1LC530630   Nissan       QX60                DENVER                    CO
102050   5N1DL0MM1LC530658   Nissan       QX60                SEATAC                    WA
102051   5N1DL0MM1LC530708   Nissan       QX60                UNION CITY                GA
102052   5N1DL0MM1LC530711   Nissan       QX60                LOUISVILLE                KY
102053   5N1DL0MM1LC530725   Nissan       QX60                WARWICK                   RI
102054   5N1DL0MM1LC530756   Nissan       QX60                DENVER                    CO
102055   5N1DL0MM1LC530806   Nissan       QX60                DENVER                    CO
102056   5N1DL0MM1LC530823   Nissan       QX60                DENVER                    CO
102057   5N1DL0MM1LC530837   Nissan       QX60                FEDERAL WAY               WA
102058   5N1DL0MM1LC530840   Nissan       QX60                PORTLAND                  OR
102059   5N1DL0MM1LC530868   Nissan       QX60                DENVER                    CO
102060   5N1DL0MM1LC530885   Nissan       QX60                Des Moines                IA
102061   5N1DL0MM1LC530949   Nissan       QX60                CUMMING                   GA
102062   5N1DL0MM1LC530952   Nissan       QX60                Raleigh                   NC
102063   5N1DL0MM1LC531051   Nissan       QX60                BOSTON                    MA
102064   5N1DL0MM1LC531082   Nissan       QX60                NORFOLK                   VA
102065   5N1DL0MM1LC531146   Nissan       QX60                PORTLAND                  OR
102066   5N1DL0MM1LC531194   Nissan       QX60                SALT LAKE CITY            UT
102067   5N1DL0MM1LC531261   Nissan       QX60                JACKSONVILLE              FL
102068   5N1DL0MM1LC531308   Nissan       QX60                NEW BERN                  NC
102069   5N1DL0MM1LC531342   Nissan       QX60                Hebron                    KY
102070   5N1DL0MM1LC531387   Nissan       QX60                DETROIT                   MI
102071   5N1DL0MM1LC531390   Nissan       QX60                DETROIT                   MI
102072   5N1DL0MM1LC531406   Nissan       QX60                PHILADELPHIA              PA
102073   5N1DL0MM1LC531423   Nissan       QX60                PORTLAND                  OR
102074   5N1DL0MM1LC531695   Nissan       QX60                Hebron                    KY
102075   5N1DL0MM2JC519424   Nissan       QX60                FAYETTEVILLE              GA
102076   5N1DL0MM2JC526809   Nissan       QX60                Riverside                 CA
102077   5N1DL0MM2JC532920   Nissan       QX60                PITTSBURGH                PA
102078   5N1DL0MM2KC551081   Nissan       QX60                PHILADELPHIA              PA
102079   5N1DL0MM2KC551145   Nissan       QX60                FORT LAUDERDALE           FL
102080   5N1DL0MM2KC551226   Nissan       QX60                SAINT PAUL                MN
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102081   5N1DL0MM2KC551579   Nissan       QX60                ORLANDO                   FL
102082   5N1DL0MM2KC551730   Nissan       QX60                SALT LAKE CITY            UT
102083   5N1DL0MM2KC551758   Nissan       QX60                PHOENIX                   AZ
102084   5N1DL0MM2KC551890   Nissan       QX60                DFW AIRPORT               TX
102085   5N1DL0MM2KC552019   Nissan       QX60                Honolulu                  HI
102086   5N1DL0MM2KC552148   Nissan       QX60                DENVER                    CO
102087   5N1DL0MM2KC552411   Nissan       QX60
102088   5N1DL0MM2KC552442   Nissan       QX60                ROSWELL                   GA
102089   5N1DL0MM2KC552795   Nissan       QX60                Sarasota                  FL
102090   5N1DL0MM2KC552814   Nissan       QX60                ORLANDO                   FL
102091   5N1DL0MM2KC552862   Nissan       QX60                SAN FRANCISCO             CA
102092   5N1DL0MM2KC552893   Nissan       QX60                ONTARIO                   CA
102093   5N1DL0MM2KC553011   Nissan       QX60                Tampa                     FL
102094   5N1DL0MM2KC553400   Nissan       QX60                DENVER                    CO
102095   5N1DL0MM2KC555809   Nissan       QX60                DENVER                    CO
102096   5N1DL0MM2KC555843   Nissan       QX60                Riverside                 CA
102097   5N1DL0MM2KC555891   Nissan       QX60                SALT LAKE CITY            UT
102098   5N1DL0MM2KC555910   Nissan       QX60                BURBANK                   CA
102099   5N1DL0MM2KC555941   Nissan       QX60                SALT LAKE CITY            US
102100   5N1DL0MM2KC556099   Nissan       QX60                DENVER                    CO
102101   5N1DL0MM2KC556247   Nissan       QX60                CHICAGO                   IL
102102   5N1DL0MM2KC556278   Nissan       QX60                Salt Lake City            UT
102103   5N1DL0MM2KC556328   Nissan       QX60                KNOXVILLE                 TN
102104   5N1DL0MM2KC556359   Nissan       QX60                Tampa                     FL
102105   5N1DL0MM2KC556717   Nissan       QX60                DENVER                    CO
102106   5N1DL0MM2KC556930   Nissan       QX60                ORLANDO                   FL
102107   5N1DL0MM2KC557284   Nissan       QX60                SALT LAKE CITY            US
102108   5N1DL0MM2KC557382   Nissan       QX60                BOSTON                    MA
102109   5N1DL0MM2KC557785   Nissan       QX60                GREENVILLE                NC
102110   5N1DL0MM2KC557933   Nissan       QX60                DAYTONA BEACH             FL
102111   5N1DL0MM2KC558015   Nissan       QX60                OAKLAND                   CA
102112   5N1DL0MM2KC558080   Nissan       QX60                Fresno                    CA
102113   5N1DL0MM2KC558127   Nissan       QX60                SACRAMENTO                CA
102114   5N1DL0MM2KC558192   Nissan       QX60                TAMPA                     FL
102115   5N1DL0MM2KC558404   Nissan       QX60                SAN FRANCISCO             CA
102116   5N1DL0MM2KC558421   Nissan       QX60                Rio Linda                 CA
102117   5N1DL0MM2LC526084   Nissan       QX60                SEATAC                    WA
102118   5N1DL0MM2LC526098   Nissan       QX60                SEATAC                    WA
102119   5N1DL0MM2LC526117   Nissan       QX60                SEA TAC                   WA
102120   5N1DL0MM2LC526294   Nissan       QX60                MILWAUKEE                 WI
102121   5N1DL0MM2LC526313   Nissan       QX60                MILWAUKEE                 WI
102122   5N1DL0MM2LC526778   Nissan       QX60                SEATAC                    WA
102123   5N1DL0MM2LC526795   Nissan       QX60                MYRTLE BEACH              SC
102124   5N1DL0MM2LC526893   Nissan       QX60                SALT LAKE CITY            US
102125   5N1DL0MM2LC526926   Nissan       QX60                SALT LAKE CITY            US
102126   5N1DL0MM2LC526943   Nissan       QX60                STERLING                  VA
102127   5N1DL0MM2LC526974   Nissan       QX60                SALT LAKE CITY            US
102128   5N1DL0MM2LC527008   Nissan       QX60                SALT LAKE CITY            UT
102129   5N1DL0MM2LC527123   Nissan       QX60                SEATAC                    WA
102130   5N1DL0MM2LC527137   Nissan       QX60                CHARLESTON                WV
102131   5N1DL0MM2LC527204   Nissan       QX60                FORT LAUDERDALE           FL
102132   5N1DL0MM2LC527249   Nissan       QX60                CLEVELAND                 OH
102133   5N1DL0MM2LC527445   Nissan       QX60                PITTSBURGH                PA
102134   5N1DL0MM2LC527493   Nissan       QX60                CLEVELAND                 OH
102135   5N1DL0MM2LC527638   Nissan       QX60                CLEVELAND                 OH
102136   5N1DL0MM2LC527896   Nissan       QX60                SEATTLE                   WA
102137   5N1DL0MM2LC528014   Nissan       QX60                STERLING                  VA
102138   5N1DL0MM2LC528126   Nissan       QX60                PITTSBURGH                PA
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102139   5N1DL0MM2LC528272   Nissan       QX60                WARWICK                   RI
102140   5N1DL0MM2LC528367   Nissan       QX60                CLEVELAND                 OH
102141   5N1DL0MM2LC528384   Nissan       QX60                CHARLOTTE                 NC
102142   5N1DL0MM2LC528403   Nissan       QX60                RALEIGH                   NC
102143   5N1DL0MM2LC528417   Nissan       QX60                COLUMBIA                  SC
102144   5N1DL0MM2LC528420   Nissan       QX60                CLEVELAND                 OH
102145   5N1DL0MM2LC528739   Nissan       QX60                ATLANTA                   GA
102146   5N1DL0MM2LC529146   Nissan       QX60                CHARLOTTE                 NC
102147   5N1DL0MM2LC529342   Nissan       QX60                PORTLAND                  OR
102148   5N1DL0MM2LC529356   Nissan       QX60                PORTLAND                  OR
102149   5N1DL0MM2LC529437   Nissan       QX60                Raleigh                   NC
102150   5N1DL0MM2LC529454   Nissan       QX60                KNOXVILLE                 TN
102151   5N1DL0MM2LC529471   Nissan       QX60                RICHMOND                  VA
102152   5N1DL0MM2LC529535   Nissan       QX60                HANOVER                   MD
102153   5N1DL0MM2LC529549   Nissan       QX60                PORTLAND                  OR
102154   5N1DL0MM2LC529664   Nissan       QX60                SALT LAKE CITY            US
102155   5N1DL0MM2LC529678   Nissan       QX60                PHILADELPHIA              PA
102156   5N1DL0MM2LC529891   Nissan       QX60                CLEVELAND                 OH
102157   5N1DL0MM2LC529972   Nissan       QX60                DENVER                    CO
102158   5N1DL0MM2LC530037   Nissan       QX60                DENVER                    CO
102159   5N1DL0MM2LC530054   Nissan       QX60                RALEIGH                   NC
102160   5N1DL0MM2LC530068   Nissan       QX60                CHICAGO                   IL
102161   5N1DL0MM2LC530118   Nissan       QX60                BOSTON                    MA
102162   5N1DL0MM2LC530166   Nissan       QX60                PITTSBURGH                PA
102163   5N1DL0MM2LC530197   Nissan       QX60                BOSTON                    MA
102164   5N1DL0MM2LC530250   Nissan       QX60                MILWAUKEE                 WI
102165   5N1DL0MM2LC530264   Nissan       QX60                BALTIMORE                 MD
102166   5N1DL0MM2LC530295   Nissan       QX60                Obetz                     OH
102167   5N1DL0MM2LC530314   Nissan       QX60                RALEIGH                   NC
102168   5N1DL0MM2LC530331   Nissan       QX60                INDIANAPOLIS              IN
102169   5N1DL0MM2LC530345   Nissan       QX60                INDIANAPOLIS              IN
102170   5N1DL0MM2LC530426   Nissan       QX60                MILWAUKEE                 WI
102171   5N1DL0MM2LC530460   Nissan       QX60                HANOVER                   MD
102172   5N1DL0MM2LC530488   Nissan       QX60                CHICAGO                   IL
102173   5N1DL0MM2LC530491   Nissan       QX60                INDIANAPOLIS              IN
102174   5N1DL0MM2LC530507   Nissan       QX60                BALTIMORE                 MD
102175   5N1DL0MM2LC530524   Nissan       QX60                GRAND RAPIDS              MI
102176   5N1DL0MM2LC530622   Nissan       QX60                LOUISVILLE                KY
102177   5N1DL0MM2LC530636   Nissan       QX60                DETROIT                   MI
102178   5N1DL0MM2LC530698   Nissan       QX60                PORTLAND                  OR
102179   5N1DL0MM2LC530717   Nissan       QX60                DETROIT                   MI
102180   5N1DL0MM2LC530748   Nissan       QX60                LOS ANGELES               CA
102181   5N1DL0MM2LC530796   Nissan       QX60                GYPSUM                    CO
102182   5N1DL0MM2LC530801   Nissan       QX60                BOSTON                    MA
102183   5N1DL0MM2LC530829   Nissan       QX60                SAN FRANCISCO             CA
102184   5N1DL0MM2LC530877   Nissan       QX60                DENVER                    CO
102185   5N1DL0MM2LC530880   Nissan       QX60                DENVER                    CO
102186   5N1DL0MM2LC530927   Nissan       QX60                GREENSBORO                NC
102187   5N1DL0MM2LC530930   Nissan       QX60                DURHAM                    NC
102188   5N1DL0MM2LC530961   Nissan       QX60                HARRISBURG                PA
102189   5N1DL0MM2LC531026   Nissan       QX60                PORTLAND                  OR
102190   5N1DL0MM2LC531043   Nissan       QX60                SALT LAKE CITY            US
102191   5N1DL0MM2LC531057   Nissan       QX60                SALT LAKE CITY            US
102192   5N1DL0MM2LC531088   Nissan       QX60                SALT LAKE CITY            US
102193   5N1DL0MM2LC531138   Nissan       QX60                PORTLAND                  OR
102194   5N1DL0MM2LC531172   Nissan       QX60                MILWAUKEE                 WI
102195   5N1DL0MM2LC531236   Nissan       QX60                PORTLAND                  OR
102196   5N1DL0MM2LC531253   Nissan       QX60                NEWARK                    NJ
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102197   5N1DL0MM2LC531270   Nissan       QX60                SAINT PAUL                MN
102198   5N1DL0MM2LC531284   Nissan       QX60                JACKSON                   WY
102199   5N1DL0MM2LC531365   Nissan       QX60                DETROIT                   MI
102200   5N1DL0MM2LC531379   Nissan       QX60                CHICAGO                   IL
102201   5N1DL0MM2LC531382   Nissan       QX60                DETROIT                   MI
102202   5N1DL0MM2LC531415   Nissan       QX60                SAINT PAUL                MN
102203   5N1DL0MM2LC531432   Nissan       QX60                MINNEAPOLIS               MN
102204   5N1DL0MM2LC531480   Nissan       QX60                DETROIT                   MI
102205   5N1DL0MM2LC531558   Nissan       QX60                DETROIT                   MI
102206   5N1DL0MM2LC531639   Nissan       QX60                INDIANAPOLIS              IN
102207   5N1DL0MM2LC531754   Nissan       QX60                HARRISBURG                PA
102208   5N1DL0MM3JC533249   Nissan       QX60                Philadelphia              PA
102209   5N1DL0MM3JC533915   Nissan       QX60                Smithtown                 NY
102210   5N1DL0MM3KC550716   Nissan       QX60                HOUSTON                   TX
102211   5N1DL0MM3KC551221   Nissan       QX60                WARWICK                   RI
102212   5N1DL0MM3KC551848   Nissan       QX60                Pheonix                   AZ
102213   5N1DL0MM3KC551932   Nissan       QX60                Riverside                 CA
102214   5N1DL0MM3KC552062   Nissan       QX60                LOS ANGELES               CA
102215   5N1DL0MM3KC552188   Nissan       QX60                Statesville               NC
102216   5N1DL0MM3KC552207   Nissan       QX60                Detroit                   MI
102217   5N1DL0MM3KC552644   Nissan       QX60                Philadelphia              PA
102218   5N1DL0MM3KC552787   Nissan       QX60                ORLANDO                   FL
102219   5N1DL0MM3KC552790   Nissan       QX60                Tampa                     FL
102220   5N1DL0MM3KC552837   Nissan       QX60                Riverside                 CA
102221   5N1DL0MM3KC552904   Nissan       QX60                LOS ANGELES               CA
102222   5N1DL0MM3KC553065   Nissan       QX60                Anaheim                   CA
102223   5N1DL0MM3KC553096   Nissan       QX60                PHOENIX                   AZ
102224   5N1DL0MM3KC553115   Nissan       QX60                FORT LAUDERDALE           FL
102225   5N1DL0MM3KC553194   Nissan       QX60                ORANGE COUNTY             CA
102226   5N1DL0MM3KC553325   Nissan       QX60                LAS VEGAS                 NV
102227   5N1DL0MM3KC553440   Nissan       QX60                PLEASANTON                CA
102228   5N1DL0MM3KC553499   Nissan       QX60                Salt Lake City            UT
102229   5N1DL0MM3KC556077   Nissan       QX60                DENVER                    CO
102230   5N1DL0MM3KC556290   Nissan       QX60                SAN JOSE                  CA
102231   5N1DL0MM3KC556368   Nissan       QX60                SACRAMENTO                CA
102232   5N1DL0MM3KC556385   Nissan       QX60                DENVER                    CO
102233   5N1DL0MM3KC556659   Nissan       QX60                JACKSON                   MS
102234   5N1DL0MM3KC556824   Nissan       QX60                INDIANAPOLIS              IN
102235   5N1DL0MM3KC556855   Nissan       QX60                BOSTON                    MA
102236   5N1DL0MM3KC556872   Nissan       QX60                FORT MYERS                FL
102237   5N1DL0MM3KC556936   Nissan       QX60                PHILADELPHIA              PA
102238   5N1DL0MM3KC557083   Nissan       QX60                WARWICK                   RI
102239   5N1DL0MM3KC557259   Nissan       QX60                SALT LAKE CITY            US
102240   5N1DL0MM3KC557293   Nissan       QX60                SAN JOSE                  CA
102241   5N1DL0MM3KC557312   Nissan       QX60                Riverside                 CA
102242   5N1DL0MM3KC557374   Nissan       QX60                Detroit                   MI
102243   5N1DL0MM3KC557469   Nissan       QX60                NEW BERN                  NC
102244   5N1DL0MM3KC557827   Nissan       QX60                Stockton                  CA
102245   5N1DL0MM3KC558007   Nissan       QX60                SOUTH SAN FRANC           CA
102246   5N1DL0MM3KC558055   Nissan       QX60                Riverside                 CA
102247   5N1DL0MM3KC558069   Nissan       QX60                Riverside                 CA
102248   5N1DL0MM3KC558279   Nissan       QX60                CHARLOTTE                 NC
102249   5N1DL0MM3KC558315   Nissan       QX60                Jacksonville              FL
102250   5N1DL0MM3KC558394   Nissan       QX60                BURBANK                   CA
102251   5N1DL0MM3KC558542   Nissan       QX60                SAN FRANCISCO             CA
102252   5N1DL0MM3KC558556   Nissan       QX60                LOS ANGELES               CA
102253   5N1DL0MM3LC525672   Nissan       QX60                MILWAUKEE                 WI
102254   5N1DL0MM3LC526546   Nissan       QX60                PHOENIX                   AZ
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102255   5N1DL0MM3LC526594   Nissan       QX60                SALT LAKE CITY            UT
102256   5N1DL0MM3LC526773   Nissan       QX60                SEATAC                    WA
102257   5N1DL0MM3LC526787   Nissan       QX60                SCRANTON                  PA
102258   5N1DL0MM3LC526868   Nissan       QX60                SALT LAKE CITY            US
102259   5N1DL0MM3LC526885   Nissan       QX60                SALT LAKE CITY            US
102260   5N1DL0MM3LC526904   Nissan       QX60                SALT LAKE CITY            US
102261   5N1DL0MM3LC526935   Nissan       QX60                SALT LAKE CITY            US
102262   5N1DL0MM3LC526983   Nissan       QX60                CHICAGO                   IL
102263   5N1DL0MM3LC527065   Nissan       QX60                CLEVELAND                 OH
102264   5N1DL0MM3LC527115   Nissan       QX60                SEATAC                    WA
102265   5N1DL0MM3LC527163   Nissan       QX60                SALT LAKE CITY            US
102266   5N1DL0MM3LC527289   Nissan       QX60                CLEVELAND                 OH
102267   5N1DL0MM3LC527292   Nissan       QX60                CLEVELAND                 OH
102268   5N1DL0MM3LC527387   Nissan       QX60                PORTLAND                  OR
102269   5N1DL0MM3LC527423   Nissan       QX60                OMAHA                     NE
102270   5N1DL0MM3LC527440   Nissan       QX60                SALT LAKE CITY            UT
102271   5N1DL0MM3LC527468   Nissan       QX60                CLEVELAND                 OH
102272   5N1DL0MM3LC527471   Nissan       QX60                PITTSBURGH                PA
102273   5N1DL0MM3LC527891   Nissan       QX60                SEATAC                    WA
102274   5N1DL0MM3LC527924   Nissan       QX60                INDIANAPOLIS              IN
102275   5N1DL0MM3LC527941   Nissan       QX60                STERLING                  VA
102276   5N1DL0MM3LC527955   Nissan       QX60                PHILADELPHIA              PA
102277   5N1DL0MM3LC527972   Nissan       QX60                LOS ANGELES AP            CA
102278   5N1DL0MM3LC528023   Nissan       QX60                SAVANNAH                  GA
102279   5N1DL0MM3LC528118   Nissan       QX60                STERLING                  VA
102280   5N1DL0MM3LC528152   Nissan       QX60                BALTIMORE                 MD
102281   5N1DL0MM3LC528362   Nissan       QX60                PHILADELPHIA              PA
102282   5N1DL0MM3LC528409   Nissan       QX60                KNOXVILLE                 TN
102283   5N1DL0MM3LC528412   Nissan       QX60                ATLANTA                   GA
102284   5N1DL0MM3LC528586   Nissan       QX60                GREENSBORO                NC
102285   5N1DL0MM3LC529334   Nissan       QX60                PORTLAND                  OR
102286   5N1DL0MM3LC529348   Nissan       QX60                PORTLAND                  OR
102287   5N1DL0MM3LC529530   Nissan       QX60                DENVER                    CO
102288   5N1DL0MM3LC529592   Nissan       QX60                STERLING                  VA
102289   5N1DL0MM3LC529625   Nissan       QX60                HARRISBURG                PA
102290   5N1DL0MM3LC529642   Nissan       QX60                PORTLAND                  OR
102291   5N1DL0MM3LC529768   Nissan       QX60                BOSTON                    MA
102292   5N1DL0MM3LC529799   Nissan       QX60                STERLING                  VA
102293   5N1DL0MM3LC529978   Nissan       QX60                CHICAGO                   IL
102294   5N1DL0MM3LC530001   Nissan       QX60                CHICAGO                   IL
102295   5N1DL0MM3LC530046   Nissan       QX60                CHICAGO                   IL
102296   5N1DL0MM3LC530063   Nissan       QX60                DENVER                    CO
102297   5N1DL0MM3LC530127   Nissan       QX60                CHICAGO                   IL
102298   5N1DL0MM3LC530144   Nissan       QX60                DENVER                    CO
102299   5N1DL0MM3LC530161   Nissan       QX60                SAINT PAUL                MN
102300   5N1DL0MM3LC530242   Nissan       QX60                GRAND RAPIDS              MI
102301   5N1DL0MM3LC530287   Nissan       QX60                PITTSBURGH                PA
102302   5N1DL0MM3LC530290   Nissan       QX60                BOSTON                    MA
102303   5N1DL0MM3LC530368   Nissan       QX60                LOUISVILLE                KY
102304   5N1DL0MM3LC530399   Nissan       QX60                FORT MYERS                FL
102305   5N1DL0MM3LC530421   Nissan       QX60                HARTFORD                  CT
102306   5N1DL0MM3LC530435   Nissan       QX60                GREEN BAY                 WI
102307   5N1DL0MM3LC530452   Nissan       QX60                CLEVELAND                 OH
102308   5N1DL0MM3LC530497   Nissan       QX60                SAINT PAUL                MN
102309   5N1DL0MM3LC530502   Nissan       QX60                BALTIMORE                 MD
102310   5N1DL0MM3LC530614   Nissan       QX60                LOUISVILLE                KY
102311   5N1DL0MM3LC530628   Nissan       QX60                DENVER                    CO
102312   5N1DL0MM3LC530631   Nissan       QX60                DENVER                    CO
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102313   5N1DL0MM3LC530709   Nissan       QX60                DENVER                    CO
102314   5N1DL0MM3LC530712   Nissan       QX60                KNOXVILLE                 TN
102315   5N1DL0MM3LC530760   Nissan       QX60                PHOENIX                   AZ
102316   5N1DL0MM3LC530807   Nissan       QX60                PHILADELPHIA              PA
102317   5N1DL0MM3LC530810   Nissan       QX60                DENVER                    CO
102318   5N1DL0MM3LC530824   Nissan       QX60                GRAND JUNCTION            C
102319   5N1DL0MM3LC530919   Nissan       QX60                Salt Lake City            UT
102320   5N1DL0MM3LC531004   Nissan       QX60                ALLENTOWN                 US
102321   5N1DL0MM3LC531049   Nissan       QX60                MIAMI                     FL
102322   5N1DL0MM3LC531052   Nissan       QX60                SALT LAKE CITY            US
102323   5N1DL0MM3LC531083   Nissan       QX60                DURHAM                    NC
102324   5N1DL0MM3LC531133   Nissan       QX60                PORTLAND                  OR
102325   5N1DL0MM3LC531164   Nissan       QX60                SAINT PAUL                MN
102326   5N1DL0MM3LC531200   Nissan       QX60                SALT LAKE CITY            US
102327   5N1DL0MM3LC531326   Nissan       QX60                SAINT PAUL                MN
102328   5N1DL0MM3LC531343   Nissan       QX60                SAINT PAUL                MN
102329   5N1DL0MM3LC531360   Nissan       QX60                DETROIT                   MI
102330   5N1DL0MM3LC531374   Nissan       QX60                DETROIT                   MI
102331   5N1DL0MM3LC531388   Nissan       QX60                GREENSBORO                NC
102332   5N1DL0MM3LC531567   Nissan       QX60                PITTSBURGH                PA
102333   5N1DL0MM3LC531620   Nissan       QX60                PORTLAND                  OR
102334   5N1DL0MM3LC531634   Nissan       QX60                CHICAGO                   IL
102335   5N1DL0MM3LC531648   Nissan       QX60                CHICAGO                   IL
102336   5N1DL0MM3LC531682   Nissan       QX60                GRAND RAPIDS              MI
102337   5N1DL0MM3LC531729   Nissan       QX60                DETROIT                   MI
102338   5N1DL0MM4KC550367   Nissan       QX60                N. Palm Beach             FL
102339   5N1DL0MM4KC550711   Nissan       QX60                FORT LAUDERDALE           FL
102340   5N1DL0MM4KC550904   Nissan       QX60                DENVER                    CO
102341   5N1DL0MM4KC551194   Nissan       QX60                INDIANAPOLIS              IN
102342   5N1DL0MM4KC552183   Nissan       QX60                PALM SPRINGS              CA
102343   5N1DL0MM4KC552216   Nissan       QX60                DENVER                    CO
102344   5N1DL0MM4KC552250   Nissan       QX60                LAS VEGAS                 NV
102345   5N1DL0MM4KC552359   Nissan       QX60                PITTSBURGH                PA
102346   5N1DL0MM4KC552376   Nissan       QX60                TRACY                     CA
102347   5N1DL0MM4KC552393   Nissan       QX60                NORTH HILLS               CA
102348   5N1DL0MM4KC552619   Nissan       QX60                Raleigh                   NC
102349   5N1DL0MM4KC552636   Nissan       QX60                DANIA BEACH               FL
102350   5N1DL0MM4KC552670   Nissan       QX60                WEST PALM BEACH           FL
102351   5N1DL0MM4KC552829   Nissan       QX60                BOSTON                    MA
102352   5N1DL0MM4KC552894   Nissan       QX60                SARASOTA                  FL
102353   5N1DL0MM4KC553009   Nissan       QX60                SAN DIEGO                 CA
102354   5N1DL0MM4KC553012   Nissan       QX60                Philadelphia              PA
102355   5N1DL0MM4KC553026   Nissan       QX60                LOS ANGELES               CA
102356   5N1DL0MM4KC553219   Nissan       QX60                SOUTH SAN FRANC           CA
102357   5N1DL0MM4KC555827   Nissan       QX60                DENVER                    CO
102358   5N1DL0MM4KC556010   Nissan       QX60                DENVER                    CO
102359   5N1DL0MM4KC556072   Nissan       QX60                DENVER                    CO
102360   5N1DL0MM4KC556539   Nissan       QX60                BURBANK                   CA
102361   5N1DL0MM4KC556587   Nissan       QX60                LAS VEGAS                 NV
102362   5N1DL0MM4KC556671   Nissan       QX60                Schaumburg                IL
102363   5N1DL0MM4KC557027   Nissan       QX60                Elkridge                  MD
102364   5N1DL0MM4KC557092   Nissan       QX60                MIAMI                     FL
102365   5N1DL0MM4KC557111   Nissan       QX60                CLEVELAND                 OH
102366   5N1DL0MM4KC557299   Nissan       QX60                PHOENIX                   AZ
102367   5N1DL0MM4KC557352   Nissan       QX60                SALT LAKE CITY            US
102368   5N1DL0MM4KC557481   Nissan       QX60                LOS ANGELES AP            CA
102369   5N1DL0MM4KC557707   Nissan       QX60                Riverside                 CA
102370   5N1DL0MM4KC557819   Nissan       QX60                Riverside                 CA
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102371   5N1DL0MM4KC557934   Nissan       QX60                PENSACOLA                 FL
102372   5N1DL0MM4KC558128   Nissan       QX60                Riverside                 CA
102373   5N1DL0MM4KC558226   Nissan       QX60                FEDERAL WAY               WA
102374   5N1DL0MM4KC558243   Nissan       QX60                Riverside                 CA
102375   5N1DL0MM4KC558310   Nissan       QX60                Fontana                   CA
102376   5N1DL0MM4KC558372   Nissan       QX60                ONTARIO                   CA
102377   5N1DL0MM4KC558405   Nissan       QX60                SAN JOSE                  CA
102378   5N1DL0MM4KC558520   Nissan       QX60                TUCSON                    AZ
102379   5N1DL0MM4LC525907   Nissan       QX60                STERLING                  VA
102380   5N1DL0MM4LC526183   Nissan       QX60                SEATAC                    WA
102381   5N1DL0MM4LC526202   Nissan       QX60                MILWAUKEE                 WI
102382   5N1DL0MM4LC526216   Nissan       QX60                CHICAGO                   IL
102383   5N1DL0MM4LC526264   Nissan       QX60                INDIANAPOLIS              IN
102384   5N1DL0MM4LC526460   Nissan       QX60                SEATAC                    WA
102385   5N1DL0MM4LC526510   Nissan       QX60                SALT LAKE CITY            US
102386   5N1DL0MM4LC526569   Nissan       QX60                SALT LAKE CITY            US
102387   5N1DL0MM4LC526572   Nissan       QX60                SEATAC                    WA
102388   5N1DL0MM4LC526717   Nissan       QX60                MILWAUKEE                 WI
102389   5N1DL0MM4LC526734   Nissan       QX60                MILWAUKEE                 WI
102390   5N1DL0MM4LC526748   Nissan       QX60                MILWAUKEE AIRPORT         WI
102391   5N1DL0MM4LC526765   Nissan       QX60                FORT LAUDERDALE           FL
102392   5N1DL0MM4LC526782   Nissan       QX60                SEATAC                    WA
102393   5N1DL0MM4LC526927   Nissan       QX60                SALT LAKE CITY            US
102394   5N1DL0MM4LC526944   Nissan       QX60                SALT LAKE CITY            US
102395   5N1DL0MM4LC527074   Nissan       QX60                CLEVELAND                 OH
102396   5N1DL0MM4LC527107   Nissan       QX60                PORTLAND                  OR
102397   5N1DL0MM4LC527124   Nissan       QX60                SEATAC                    WA
102398   5N1DL0MM4LC527172   Nissan       QX60                SALT LAKE CITY            UT
102399   5N1DL0MM4LC527236   Nissan       QX60                DETROIT                   MI
102400   5N1DL0MM4LC527284   Nissan       QX60                SALT LAKE CITY            US
102401   5N1DL0MM4LC527463   Nissan       QX60                NEWARK                    NJ
102402   5N1DL0MM4LC527477   Nissan       QX60                PHILADELPHIA              PA
102403   5N1DL0MM4LC527494   Nissan       QX60                CLEVELAND                 OH
102404   5N1DL0MM4LC527544   Nissan       QX60                RONKONKOMA                NY
102405   5N1DL0MM4LC527592   Nissan       QX60                CLEVELAND                 OH
102406   5N1DL0MM4LC527642   Nissan       QX60                DETROIT                   MI
102407   5N1DL0MM4LC527740   Nissan       QX60                ORLANDO                   FL
102408   5N1DL0MM4LC527818   Nissan       QX60                PHILADELPHIA              PA
102409   5N1DL0MM4LC527821   Nissan       QX60                ATLANTA                   GA
102410   5N1DL0MM4LC527902   Nissan       QX60                SEATAC                    WA
102411   5N1DL0MM4LC527916   Nissan       QX60                STERLING                  VA
102412   5N1DL0MM4LC527981   Nissan       QX60                MEMPHIS                   TN
102413   5N1DL0MM4LC528015   Nissan       QX60                RICHMOND                  VA
102414   5N1DL0MM4LC528130   Nissan       QX60                FAYETTEVILLE              US
102415   5N1DL0MM4LC528208   Nissan       QX60                CHICAGO                   IL
102416   5N1DL0MM4LC528368   Nissan       QX60                WHITE PLAINS              NY
102417   5N1DL0MM4LC528550   Nissan       QX60                ALLENTOWN                 US
102418   5N1DL0MM4LC529455   Nissan       QX60                SAINT PAUL                MN
102419   5N1DL0MM4LC529505   Nissan       QX60                STERLING                  US
102420   5N1DL0MM4LC529620   Nissan       QX60                PITTSBURGH                PA
102421   5N1DL0MM4LC529648   Nissan       QX60                HOUSTON                   TX
102422   5N1DL0MM4LC529956   Nissan       QX60                CHICAGO                   IL
102423   5N1DL0MM4LC530010   Nissan       QX60                CHICAGO                   IL
102424   5N1DL0MM4LC530038   Nissan       QX60                KANSAS CITY               MO
102425   5N1DL0MM4LC530069   Nissan       QX60                Des Moines                IA
102426   5N1DL0MM4LC530105   Nissan       QX60                PORTLAND                  OR
102427   5N1DL0MM4LC530122   Nissan       QX60                HARRISBURG                PA
102428   5N1DL0MM4LC530279   Nissan       QX60                GRAND RAPIDS              MI
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102429   5N1DL0MM4LC530301   Nissan       QX60                DETROIT                   MI
102430   5N1DL0MM4LC530346   Nissan       QX60                CHICAGO                   IL
102431   5N1DL0MM4LC530363   Nissan       QX60                BURBANK                   CA
102432   5N1DL0MM4LC530377   Nissan       QX60                BOSTON                    MA
102433   5N1DL0MM4LC530511   Nissan       QX60                WARWICK                   RI
102434   5N1DL0MM4LC530525   Nissan       QX60                DETROIT                   MI
102435   5N1DL0MM4LC530640   Nissan       QX60                DENVER                    CO
102436   5N1DL0MM4LC530721   Nissan       QX60                DENVER                    CO
102437   5N1DL0MM4LC530749   Nissan       QX60                LAS VEGAS                 NV
102438   5N1DL0MM4LC530802   Nissan       QX60                KNOXVILLE                 TN
102439   5N1DL0MM4LC530816   Nissan       QX60                DENVER                    CO
102440   5N1DL0MM4LC530847   Nissan       QX60                GYPSUM                    CO
102441   5N1DL0MM4LC530864   Nissan       QX60                DENVER                    CO
102442   5N1DL0MM4LC530962   Nissan       QX60                PHILADELPHIA              PA
102443   5N1DL0MM4LC531044   Nissan       QX60                SALT LAKE CITY            US
102444   5N1DL0MM4LC531058   Nissan       QX60                GREENSBORO                NC
102445   5N1DL0MM4LC531075   Nissan       QX60                RALIEGH                   NC
102446   5N1DL0MM4LC531156   Nissan       QX60                SALT LAKE CITY            US
102447   5N1DL0MM4LC531173   Nissan       QX60                SAINT PAUL                MN
102448   5N1DL0MM4LC531187   Nissan       QX60                ST PAUL                   MN
102449   5N1DL0MM4LC531190   Nissan       QX60                SALT LAKE CITY            UT
102450   5N1DL0MM4LC531271   Nissan       QX60                SAINT PAUL                MN
102451   5N1DL0MM4LC531304   Nissan       QX60                SACRAMENTO                CA
102452   5N1DL0MM4LC531366   Nissan       QX60                SAINT PAUL                MN
102453   5N1DL0MM4LC531450   Nissan       QX60                PORTLAND                  OR
102454   5N1DL0MM4LC531514   Nissan       QX60                PITTSBURGH                PA
102455   5N1DL0MM4LC531528   Nissan       QX60                LEXINGTON                 KY
102456   5N1DL0MM4LC531626   Nissan       QX60                SAINT PAUL                MN
102457   5N1DL0MM4LC531688   Nissan       QX60                OMAHA                     NE
102458   5N1DL0MM4LC531724   Nissan       QX60                RALEIGH                   NC
102459   5N1DL0MM4LC531741   Nissan       QX60                PHILADELPHIA              PA
102460   5N1DL0MM4LC531755   Nissan       QX60                PITTSBURGH                PA
102461   5N1DL0MM5HC530363   Nissan       QX60                WEST PALM BEACH           FL
102462   5N1DL0MM5HC549270   Nissan       QX60                Riverside                 CA
102463   5N1DL0MM5JC525184   Nissan       QX60                Fontana                   CA
102464   5N1DL0MM5JC528814   Nissan       QX60                Riverside                 CA
102465   5N1DL0MM5JC532099   Nissan       QX60                Atlanta                   GA
102466   5N1DL0MM5JC533026   Nissan       QX60                Bordentown                NJ
102467   5N1DL0MM5JC533365   Nissan       QX60                Hayward                   CA
102468   5N1DL0MM5KC550359   Nissan       QX60                SAN JOSE                  CA
102469   5N1DL0MM5KC550717   Nissan       QX60                RICHMOND                  VA
102470   5N1DL0MM5KC550720   Nissan       QX60                FORT MYERS                FL
102471   5N1DL0MM5KC551043   Nissan       QX60                BRONX                     NY
102472   5N1DL0MM5KC551401   Nissan       QX60                DENVER                    CO
102473   5N1DL0MM5KC551477   Nissan       QX60                Sacramento                CA
102474   5N1DL0MM5KC551494   Nissan       QX60                Hayward                   CA
102475   5N1DL0MM5KC551592   Nissan       QX60                Hayward                   CA
102476   5N1DL0MM5KC551642   Nissan       QX60                ONTARIO                   CA
102477   5N1DL0MM5KC551897   Nissan       QX60                Riverside                 CA
102478   5N1DL0MM5KC552127   Nissan       QX60                DENVER                    CO
102479   5N1DL0MM5KC552273   Nissan       QX60                WEST PALM BEACH           FL
102480   5N1DL0MM5KC552368   Nissan       QX60                OAKLAND                   CA
102481   5N1DL0MM5KC552581   Nissan       QX60                INDIANAPOLIS              IN
102482   5N1DL0MM5KC552709   Nissan       QX60                N. Palm Beach             FL
102483   5N1DL0MM5KC552712   Nissan       QX60                Riverside                 CA
102484   5N1DL0MM5KC552919   Nissan       QX60                Fresno                    CA
102485   5N1DL0MM5KC552970   Nissan       QX60                LAS VEGAS                 NV
102486   5N1DL0MM5KC553004   Nissan       QX60                SANTA ANA                 CA
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102487   5N1DL0MM5KC553049   Nissan       QX60                ONTARIO                   CA
102488   5N1DL0MM5KC553262   Nissan       QX60                BURBANK                   CA
102489   5N1DL0MM5KC553276   Nissan       QX60                PORTLAND                  OR
102490   5N1DL0MM5KC553391   Nissan       QX60                DENVER                    CO
102491   5N1DL0MM5KC553407   Nissan       QX60                LAS VEGAS                 NV
102492   5N1DL0MM5KC556131   Nissan       QX60                DULUTH                    GA
102493   5N1DL0MM5KC556646   Nissan       QX60                BURBANK                   CA
102494   5N1DL0MM5KC556789   Nissan       QX60                FORT LAUDERDALE           FL
102495   5N1DL0MM5KC556808   Nissan       QX60                DENVER                    CO
102496   5N1DL0MM5KC556873   Nissan       QX60                Atlanta                   GA
102497   5N1DL0MM5KC556937   Nissan       QX60                BOSTON                    MA
102498   5N1DL0MM5KC557456   Nissan       QX60                WHITE PLAINS              NY
102499   5N1DL0MM5KC557621   Nissan       QX60                RALEIGH                   NC
102500   5N1DL0MM5KC557831   Nissan       QX60                SAN FRANCISCO             CA
102501   5N1DL0MM5KC557876   Nissan       QX60                TAMPA                     FL
102502   5N1DL0MM5KC558090   Nissan       QX60                ORLANDO                   FL
102503   5N1DL0MM5KC558400   Nissan       QX60                Salt Lake City            UT
102504   5N1DL0MM5KC558526   Nissan       QX60                LAS VEGAS                 NV
102505   5N1DL0MM5LC526256   Nissan       QX60                CHICAGO                   IL
102506   5N1DL0MM5LC526273   Nissan       QX60                CHICAGO                   IL
102507   5N1DL0MM5LC526368   Nissan       QX60                CHICAGO                   IL
102508   5N1DL0MM5LC526404   Nissan       QX60                STERLING                  VA
102509   5N1DL0MM5LC526564   Nissan       QX60                MILWAUKEE                 WI
102510   5N1DL0MM5LC526581   Nissan       QX60                SEATAC                    WA
102511   5N1DL0MM5LC526757   Nissan       QX60                MILWAUKEE                 WI
102512   5N1DL0MM5LC526922   Nissan       QX60                SALT LAKE CITY            UT
102513   5N1DL0MM5LC526998   Nissan       QX60                PITTSBURGH                PA
102514   5N1DL0MM5LC527097   Nissan       QX60                SEATAC                    WA
102515   5N1DL0MM5LC527178   Nissan       QX60                SALT LAKE CITY            UT
102516   5N1DL0MM5LC527195   Nissan       QX60                ROY                       UT
102517   5N1DL0MM5LC527200   Nissan       QX60                KANSAS CITY               MO
102518   5N1DL0MM5LC527214   Nissan       QX60                CLEVELAND                 OH
102519   5N1DL0MM5LC527245   Nissan       QX60                CLEVELAND                 OH
102520   5N1DL0MM5LC527424   Nissan       QX60                GREENVILLE                NC
102521   5N1DL0MM5LC527620   Nissan       QX60                CLEVELAND                 OH
102522   5N1DL0MM5LC527679   Nissan       QX60                CLEVELAND                 OH
102523   5N1DL0MM5LC527732   Nissan       QX60                CLEVELAND                 OH
102524   5N1DL0MM5LC527794   Nissan       QX60                Hebron                    KY
102525   5N1DL0MM5LC527990   Nissan       QX60                DALLAS                    TX
102526   5N1DL0MM5LC528010   Nissan       QX60                SEATAC                    WA
102527   5N1DL0MM5LC528086   Nissan       QX60                GREENSBORO                NC
102528   5N1DL0MM5LC528122   Nissan       QX60                CLEVELAND                 OH
102529   5N1DL0MM5LC528136   Nissan       QX60                STERLING                  VA
102530   5N1DL0MM5LC528167   Nissan       QX60                RALEIGH                   NC
102531   5N1DL0MM5LC528184   Nissan       QX60                DETROIT                   MI
102532   5N1DL0MM5LC528203   Nissan       QX60                PHILADELPHIA              PA
102533   5N1DL0MM5LC528251   Nissan       QX60                HARTFORD                  CT
102534   5N1DL0MM5LC528380   Nissan       QX60                DURHAM                    NC
102535   5N1DL0MM5LC528556   Nissan       QX60                MORRISVILLE               NC
102536   5N1DL0MM5LC528783   Nissan       QX60                RALIEGH                   NC
102537   5N1DL0MM5LC529335   Nissan       QX60                PORTLAND                  OR
102538   5N1DL0MM5LC529349   Nissan       QX60                PORTLAND                  OR
102539   5N1DL0MM5LC529366   Nissan       QX60                MINNEAPOLIS               MN
102540   5N1DL0MM5LC529481   Nissan       QX60                PORTLAND                  OR
102541   5N1DL0MM5LC529528   Nissan       QX60                STERLING                  VA
102542   5N1DL0MM5LC529576   Nissan       QX60                Raleigh                   NC
102543   5N1DL0MM5LC529626   Nissan       QX60                PHILADELPHIA              PA
102544   5N1DL0MM5LC529772   Nissan       QX60                BIRMINGHAM                AL
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102545   5N1DL0MM5LC529822   Nissan       QX60                CHARLOTTE                 NC
102546   5N1DL0MM5LC529884   Nissan       QX60                DENVER                    CO
102547   5N1DL0MM5LC529951   Nissan       QX60                DENVER                    CO
102548   5N1DL0MM5LC529965   Nissan       QX60                CHICAGO O'HARE AP         IL
102549   5N1DL0MM5LC530100   Nissan       QX60                GRAND RAPIDS              MI
102550   5N1DL0MM5LC530114   Nissan       QX60                DALLAS                    TX
102551   5N1DL0MM5LC530159   Nissan       QX60                LOUISVILLE                KY
102552   5N1DL0MM5LC530212   Nissan       QX60                MANCHESTER                US
102553   5N1DL0MM5LC530243   Nissan       QX60                Teterboro                 NJ
102554   5N1DL0MM5LC530257   Nissan       QX60                MORRISVILLE               NC
102555   5N1DL0MM5LC530291   Nissan       QX60                SAINT PAUL                MN
102556   5N1DL0MM5LC530307   Nissan       QX60                SAINT PAUL                MN
102557   5N1DL0MM5LC530324   Nissan       QX60                KNOXVILLE                 TN
102558   5N1DL0MM5LC530355   Nissan       QX60                ALBANY                    N
102559   5N1DL0MM5LC530369   Nissan       QX60                CHICAGO                   IL
102560   5N1DL0MM5LC530386   Nissan       QX60                CHICAGO                   IL
102561   5N1DL0MM5LC530498   Nissan       QX60                STERLING                  VA
102562   5N1DL0MM5LC530520   Nissan       QX60                GRAND RAPIDS              MI
102563   5N1DL0MM5LC530596   Nissan       QX60                STERLING                  VA
102564   5N1DL0MM5LC530601   Nissan       QX60                WEST COLUMBIA             SC
102565   5N1DL0MM5LC530663   Nissan       QX60                HOUSTON                   TX
102566   5N1DL0MM5LC530677   Nissan       QX60                DENVER                    CO
102567   5N1DL0MM5LC530680   Nissan       QX60                DENVER                    CO
102568   5N1DL0MM5LC530744   Nissan       QX60                DALLAS                    TX
102569   5N1DL0MM5LC530811   Nissan       QX60                DENVER                    CO
102570   5N1DL0MM5LC530923   Nissan       QX60                STERLING                  VA
102571   5N1DL0MM5LC530940   Nissan       QX60                CHARLOTTE                 NC
102572   5N1DL0MM5LC531022   Nissan       QX60                RALIEGH                   NC
102573   5N1DL0MM5LC531036   Nissan       QX60                SALT LAKE CITY            US
102574   5N1DL0MM5LC531053   Nissan       QX60                PHILADELPHIA              PA
102575   5N1DL0MM5LC531070   Nissan       QX60                Atlanta                   GA
102576   5N1DL0MM5LC531084   Nissan       QX60                CHARLOTTE                 NC
102577   5N1DL0MM5LC531196   Nissan       QX60                SALT LAKE CITY            US
102578   5N1DL0MM5LC531201   Nissan       QX60                SALT LAKE CITY            US
102579   5N1DL0MM5LC531215   Nissan       QX60                BOSTON                    MA
102580   5N1DL0MM5LC531263   Nissan       QX60                WARWICK                   RI
102581   5N1DL0MM5LC531294   Nissan       QX60                SAN DIEGO                 CA
102582   5N1DL0MM5LC531375   Nissan       QX60                MILWAUKEE                 WI
102583   5N1DL0MM5LC531442   Nissan       QX60                SAINT PAUL                MN
102584   5N1DL0MM5LC531506   Nissan       QX60                PITTSBURGH                PA
102585   5N1DL0MM5LC531568   Nissan       QX60                PITTSBURGH                PA
102586   5N1DL0MM5LC531571   Nissan       QX60                PITTSBURGH                PA
102587   5N1DL0MM5LC531652   Nissan       QX60                GRAND RAPIDS              MI
102588   5N1DL0MM5LC531683   Nissan       QX60                DES PLAINES               US
102589   5N1DL0MM5LC531702   Nissan       QX60                BALTIMORE                 MD
102590   5N1DL0MM5LC531781   Nissan       QX60                PORTLAND                  OR
102591   5N1DL0MM6JC518941   Nissan       QX60                MILWAUKEE AIRPORT         WI
102592   5N1DL0MM6JC533424   Nissan       QX60                Fontana                   CA
102593   5N1DL0MM6KC551018   Nissan       QX60                PHOENIX                   AZ
102594   5N1DL0MM6KC551584   Nissan       QX60                RENO                      NV
102595   5N1DL0MM6KC551732   Nissan       QX60                GYPSUM                    CO
102596   5N1DL0MM6KC551780   Nissan       QX60                DENVER                    CO
102597   5N1DL0MM6KC551794   Nissan       QX60                SEATAC                    WA
102598   5N1DL0MM6KC552248   Nissan       QX60                PHILADELPHIA              PA
102599   5N1DL0MM6KC552329   Nissan       QX60                LOS ANGELES               CA
102600   5N1DL0MM6KC552718   Nissan       QX60                SAN FRANCISCO             CA
102601   5N1DL0MM6KC552721   Nissan       QX60                WEST PALM BEACH           FL
102602   5N1DL0MM6KC552735   Nissan       QX60                WEST PALM BEACH           FL
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102603   5N1DL0MM6KC552797   Nissan       QX60                ORLANDO                   FL
102604   5N1DL0MM6KC552833   Nissan       QX60                TUCSON                    AZ
102605   5N1DL0MM6KC552959   Nissan       QX60                BURLINGAME                CA
102606   5N1DL0MM6KC552993   Nissan       QX60                SEATAC                    WA
102607   5N1DL0MM6KC553044   Nissan       QX60                LOS ANGELES               CA
102608   5N1DL0MM6KC553058   Nissan       QX60                LAS VEGAS                 NV
102609   5N1DL0MM6KC553318   Nissan       QX60                LOS ANGELES               CA
102610   5N1DL0MM6KC553321   Nissan       QX60                PHOENIX                   AZ
102611   5N1DL0MM6KC553349   Nissan       QX60                DENVER                    CO
102612   5N1DL0MM6KC553366   Nissan       QX60                Stockton                  CA
102613   5N1DL0MM6KC553416   Nissan       QX60                TRACY                     CA
102614   5N1DL0MM6KC553447   Nissan       QX60                BURBANK                   CA
102615   5N1DL0MM6KC555828   Nissan       QX60                PHOENIX                   AZ
102616   5N1DL0MM6KC556235   Nissan       QX60                SALT LAKE CITY            UT
102617   5N1DL0MM6KC556266   Nissan       QX60                Jacksonville              FL
102618   5N1DL0MM6KC556297   Nissan       QX60                LAS VEGAS                 NV
102619   5N1DL0MM6KC556378   Nissan       QX60                WHITE PLAINS              NY
102620   5N1DL0MM6KC556753   Nissan       QX60                Aurora                    CO
102621   5N1DL0MM6KC556820   Nissan       QX60                NEWNAN                    GA
102622   5N1DL0MM6KC557093   Nissan       QX60                Clearwater                FL
102623   5N1DL0MM6KC557272   Nissan       QX60                SALT LAKE CITY            US
102624   5N1DL0MM6KC557398   Nissan       QX60                JACKSONVILLE              FL
102625   5N1DL0MM6KC557451   Nissan       QX60                Riverside                 CA
102626   5N1DL0MM6KC557675   Nissan       QX60                SAN JOSE                  CA
102627   5N1DL0MM6KC557952   Nissan       QX60                SAN DIEGO                 CA
102628   5N1DL0MM6KC558003   Nissan       QX60                DENVER                    CO
102629   5N1DL0MM6KC558387   Nissan       QX60                Phoenix                   AZ
102630   5N1DL0MM6KC558471   Nissan       QX60                SAN JOSE                  CA
102631   5N1DL0MM6KC558566   Nissan       QX60                TRACY                     CA
102632   5N1DL0MM6KC558602   Nissan       QX60                Roseville                 CA
102633   5N1DL0MM6LC525892   Nissan       QX60                SEATAC                    WA
102634   5N1DL0MM6LC525911   Nissan       QX60                SEATAC                    WA
102635   5N1DL0MM6LC526136   Nissan       QX60                STERLING                  VA
102636   5N1DL0MM6LC526282   Nissan       QX60                CHICAGO                   IL
102637   5N1DL0MM6LC526587   Nissan       QX60                SEA TAC                   WA
102638   5N1DL0MM6LC526783   Nissan       QX60                SEATAC                    WA
102639   5N1DL0MM6LC526993   Nissan       QX60                SALT LAKE CITY            US
102640   5N1DL0MM6LC527058   Nissan       QX60                CLEVELAND                 OH
102641   5N1DL0MM6LC527092   Nissan       QX60                GRAND RAPIDS              MI
102642   5N1DL0MM6LC527108   Nissan       QX60                SEATAC                    WA
102643   5N1DL0MM6LC527142   Nissan       QX60                GYPSUM                    CO
102644   5N1DL0MM6LC527190   Nissan       QX60                PITTSBURGH                PA
102645   5N1DL0MM6LC527223   Nissan       QX60                BOSTON                    MA
102646   5N1DL0MM6LC527240   Nissan       QX60                CLEVELAND                 OH
102647   5N1DL0MM6LC527299   Nissan       QX60                SEA TAC                   WA
102648   5N1DL0MM6LC527397   Nissan       QX60                PORTLAND                  OR
102649   5N1DL0MM6LC527528   Nissan       QX60                LOS ANGELES               CA
102650   5N1DL0MM6LC527531   Nissan       QX60                CLEVELAND                 OH
102651   5N1DL0MM6LC527545   Nissan       QX60                WEST PALM BEACH           FL
102652   5N1DL0MM6LC527710   Nissan       QX60                SEATAC                    WA
102653   5N1DL0MM6LC527867   Nissan       QX60                Teterboro                 NJ
102654   5N1DL0MM6LC527884   Nissan       QX60                Raleigh                   NC
102655   5N1DL0MM6LC527917   Nissan       QX60                CLEVELAND                 OH
102656   5N1DL0MM6LC527948   Nissan       QX60                WEST COLUMBIA             SC
102657   5N1DL0MM6LC528064   Nissan       QX60                ATLANTA                   GA
102658   5N1DL0MM6LC528100   Nissan       QX60                NEW BERN                  NC
102659   5N1DL0MM6LC528128   Nissan       QX60                STERLING                  VA
102660   5N1DL0MM6LC528145   Nissan       QX60                Atlanta                   GA
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102661   5N1DL0MM6LC528159   Nissan       QX60                HANOVER                   MD
102662   5N1DL0MM6LC528176   Nissan       QX60                ATLANTA                   GA
102663   5N1DL0MM6LC528212   Nissan       QX60                BOSTON                    MA
102664   5N1DL0MM6LC528436   Nissan       QX60                CHATTANOOGA               TN
102665   5N1DL0MM6LC528596   Nissan       QX60                MYRTLE BEACH              SC
102666   5N1DL0MM6LC528615   Nissan       QX60                CHARLESTON                SC
102667   5N1DL0MM6LC529294   Nissan       QX60                BOSTON, LOGAN AP          MA
102668   5N1DL0MM6LC529456   Nissan       QX60                PHILADELPHIA              PA
102669   5N1DL0MM6LC529487   Nissan       QX60                PORTLAND                  OR
102670   5N1DL0MM6LC529490   Nissan       QX60                RALIEGH                   NC
102671   5N1DL0MM6LC529554   Nissan       QX60                SEATAC                    WA
102672   5N1DL0MM6LC529585   Nissan       QX60                RALIEGH                   NC
102673   5N1DL0MM6LC529604   Nissan       QX60                PORTLAND                  OR
102674   5N1DL0MM6LC529635   Nissan       QX60                PHILADELPHIA              PA
102675   5N1DL0MM6LC529831   Nissan       QX60                PITTSBURGH                PA
102676   5N1DL0MM6LC529845   Nissan       QX60                SEATAC                    WA
102677   5N1DL0MM6LC529988   Nissan       QX60                MEMPHIS                   TN
102678   5N1DL0MM6LC530025   Nissan       QX60                DENVER                    CO
102679   5N1DL0MM6LC530056   Nissan       QX60                GYPSUM                    CO
102680   5N1DL0MM6LC530140   Nissan       QX60                SANTA ANA                 CA
102681   5N1DL0MM6LC530168   Nissan       QX60                MILWAUKEE                 WI
102682   5N1DL0MM6LC530199   Nissan       QX60                SAINT PAUL                MN
102683   5N1DL0MM6LC530283   Nissan       QX60                DETROIT                   MI
102684   5N1DL0MM6LC530347   Nissan       QX60                WARWICK                   RI
102685   5N1DL0MM6LC530364   Nissan       QX60                CLEVELAND                 OH
102686   5N1DL0MM6LC530378   Nissan       QX60                CHICAGO                   IL
102687   5N1DL0MM6LC530395   Nissan       QX60                WARWICK                   RI
102688   5N1DL0MM6LC530400   Nissan       QX60                BOSTON                    MA
102689   5N1DL0MM6LC530445   Nissan       QX60                CHICAGO                   IL
102690   5N1DL0MM6LC530512   Nissan       QX60                BOSTON, LOGAN AP          MA
102691   5N1DL0MM6LC530591   Nissan       QX60                BOSTON, LOGAN AP          MA
102692   5N1DL0MM6LC530638   Nissan       QX60                WARWICK                   RI
102693   5N1DL0MM6LC530655   Nissan       QX60                CHARLOTTE                 NC
102694   5N1DL0MM6LC530736   Nissan       QX60                LOUISVILLE                KY
102695   5N1DL0MM6LC530767   Nissan       QX60                DENVER                    CO
102696   5N1DL0MM6LC530798   Nissan       QX60                GYPSUM                    CO
102697   5N1DL0MM6LC530803   Nissan       QX60                DENVER                    CO
102698   5N1DL0MM6LC530851   Nissan       QX60                DENVER                    CO
102699   5N1DL0MM6LC530932   Nissan       QX60                RALIEGH                   NC
102700   5N1DL0MM6LC531059   Nissan       QX60                RALEIGH                   NC
102701   5N1DL0MM6LC531076   Nissan       QX60                RALIEGH                   NC
102702   5N1DL0MM6LC531093   Nissan       QX60                PORTLAND                  OR
102703   5N1DL0MM6LC531112   Nissan       QX60                PORTLAND                  OR
102704   5N1DL0MM6LC531157   Nissan       QX60                SALT LAKE CITY            UT
102705   5N1DL0MM6LC531191   Nissan       QX60                SALT LAKE CITY            US
102706   5N1DL0MM6LC531269   Nissan       QX60                MILWAUKEE AIRPORT         WI
102707   5N1DL0MM6LC531370   Nissan       QX60                SAINT PAUL                MN
102708   5N1DL0MM6LC531384   Nissan       QX60                DETROIT                   MI
102709   5N1DL0MM6LC531417   Nissan       QX60                DES PLAINES               US
102710   5N1DL0MM6LC531577   Nissan       QX60                PORTLAND                  OR
102711   5N1DL0MM6LC531630   Nissan       QX60                DETROIT                   MI
102712   5N1DL0MM6LC531658   Nissan       QX60                CLEVELAND                 OH
102713   5N1DL0MM6LC531692   Nissan       QX60                DETROIT                   MI
102714   5N1DL0MM6LC531742   Nissan       QX60                BALTIMORE                 MD
102715   5N1DL0MM6LC531787   Nissan       QX60                CHARLESTON                WV
102716   5N1DL0MM7JC516390   Nissan       QX60                FORT MYERS                FL
102717   5N1DL0MM7JC521105   Nissan       QX60                PHOENIX                   AZ
102718   5N1DL0MM7JC525073   Nissan       QX60                Matteson                  IL
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102719   5N1DL0MM7JC530628   Nissan       QX60                San Diego                 CA
102720   5N1DL0MM7KC550489   Nissan       QX60                SOUTHEAST DST OFFC        OK
102721   5N1DL0MM7KC550735   Nissan       QX60                MIAMI                     FL
102722   5N1DL0MM7KC550976   Nissan       QX60                CHICAGO                   IL
102723   5N1DL0MM7KC551285   Nissan       QX60                DENVER                    CO
102724   5N1DL0MM7KC551447   Nissan       QX60                FORT MYERS                FL
102725   5N1DL0MM7KC552176   Nissan       QX60                NEWARK                    NJ
102726   5N1DL0MM7KC552338   Nissan       QX60                PHILADELPHIA              PA
102727   5N1DL0MM7KC552484   Nissan       QX60                FORT LAUDERDALE           FL
102728   5N1DL0MM7KC552582   Nissan       QX60                HANOVER                   MD
102729   5N1DL0MM7KC552629   Nissan       QX60                WEST PALM BEACH           FL
102730   5N1DL0MM7KC552825   Nissan       QX60                FORT MYERS                FL
102731   5N1DL0MM7KC553005   Nissan       QX60                Hayward                   CA
102732   5N1DL0MM7KC553098   Nissan       QX60                SAN FRANCISCO             CA
102733   5N1DL0MM7KC553151   Nissan       QX60                SOUTH SAN FRANC           CA
102734   5N1DL0MM7KC553201   Nissan       QX60                LAS VEGAS                 NV
102735   5N1DL0MM7KC553215   Nissan       QX60                Riverside                 CA
102736   5N1DL0MM7KC553229   Nissan       QX60                LAS VEGAS                 NV
102737   5N1DL0MM7KC553280   Nissan       QX60                LAS VEGAS                 NV
102738   5N1DL0MM7KC553327   Nissan       QX60                DENVER                    CO
102739   5N1DL0MM7KC553411   Nissan       QX60                Aurora                    CO
102740   5N1DL0MM7KC553425   Nissan       QX60                SOUTH SAN FRANC           CA
102741   5N1DL0MM7KC553442   Nissan       QX60                DETROIT                   MI
102742   5N1DL0MM7KC555899   Nissan       QX60                LAS VEGAS                 NV
102743   5N1DL0MM7KC555997   Nissan       QX60                Fontana                   CA
102744   5N1DL0MM7KC556017   Nissan       QX60                DENVER                    CO
102745   5N1DL0MM7KC556227   Nissan       QX60                LAS VEGAS                 NV
102746   5N1DL0MM7KC557121   Nissan       QX60                Fairburn                  GA
102747   5N1DL0MM7KC557149   Nissan       QX60                LAS VEGAS                 NV
102748   5N1DL0MM7KC557331   Nissan       QX60                DENVER                    CO
102749   5N1DL0MM7KC557491   Nissan       QX60                ORLANDO                   FL
102750   5N1DL0MM7KC557541   Nissan       QX60                Ventura                   CA
102751   5N1DL0MM7KC557586   Nissan       QX60                Bensalem                  PA
102752   5N1DL0MM7KC557653   Nissan       QX60                Phoenix                   AZ
102753   5N1DL0MM7KC557703   Nissan       QX60                SEATAC                    WA
102754   5N1DL0MM7KC557846   Nissan       QX60                SALT LAKE CITY            US
102755   5N1DL0MM7KC557877   Nissan       QX60                LOS ANGELES               CA
102756   5N1DL0MM7KC558186   Nissan       QX60                SAN FRANCISCO             CA
102757   5N1DL0MM7KC558463   Nissan       QX60                Riverside                 CA
102758   5N1DL0MM7KC558592   Nissan       QX60                LAS VEGAS                 NV
102759   5N1DL0MM7KC558611   Nissan       QX60                LOS ANGELES               CA
102760   5N1DL0MM7KC558625   Nissan       QX60                SAN FRANCISCO             CA
102761   5N1DL0MM7LC525805   Nissan       QX60                GYPSUM                    CO
102762   5N1DL0MM7LC525836   Nissan       QX60                CHICAGO                   IL
102763   5N1DL0MM7LC526159   Nissan       QX60                SEATAC                    WA
102764   5N1DL0MM7LC526212   Nissan       QX60                SEATAC                    WA
102765   5N1DL0MM7LC526274   Nissan       QX60                MILWAUKEE                 WI
102766   5N1DL0MM7LC526291   Nissan       QX60                MILWAUKEE                 WI
102767   5N1DL0MM7LC526369   Nissan       QX60                ATLANTA                   GA
102768   5N1DL0MM7LC526758   Nissan       QX60                WASHINGTON DC             MD
102769   5N1DL0MM7LC526789   Nissan       QX60                SAN DIEGO                 US
102770   5N1DL0MM7LC526792   Nissan       QX60                MILWAUKEE                 WI
102771   5N1DL0MM7LC526873   Nissan       QX60                STERLING                  VA
102772   5N1DL0MM7LC526906   Nissan       QX60                SALT LAKE CITY            UT
102773   5N1DL0MM7LC526923   Nissan       QX60                BALTIMORE                 MD
102774   5N1DL0MM7LC526968   Nissan       QX60                LAS VEGAS                 NV
102775   5N1DL0MM7LC526999   Nissan       QX60                KNOXVILLE                 TN
102776   5N1DL0MM7LC527103   Nissan       QX60                SEATAC                    WA
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102777   5N1DL0MM7LC527120   Nissan       QX60                SEATAC                    WA
102778   5N1DL0MM7LC527165   Nissan       QX60                SALT LAKE CITY            US
102779   5N1DL0MM7LC527263   Nissan       QX60                PHILADELPHIA              PA
102780   5N1DL0MM7LC527439   Nissan       QX60                Hebron                    KY
102781   5N1DL0MM7LC527442   Nissan       QX60                KNOXVILLE                 TN
102782   5N1DL0MM7LC527456   Nissan       QX60                ONTARIO, RIVERSIDE        CA
102783   5N1DL0MM7LC527893   Nissan       QX60                DALLAS                    TX
102784   5N1DL0MM7LC527957   Nissan       QX60                WESTLAKE                  OH
102785   5N1DL0MM7LC527988   Nissan       QX60                CLEVELAND                 OH
102786   5N1DL0MM7LC528008   Nissan       QX60                STERLING                  VA
102787   5N1DL0MM7LC528025   Nissan       QX60                NEW ORLEANS               LA
102788   5N1DL0MM7LC528087   Nissan       QX60                ATLANTA                   GA
102789   5N1DL0MM7LC528137   Nissan       QX60                STERLING                  VA
102790   5N1DL0MM7LC528185   Nissan       QX60                PHILADELPHIA              PA
102791   5N1DL0MM7LC528395   Nissan       QX60                COLUMBIA                  SC
102792   5N1DL0MM7LC528400   Nissan       QX60                LOUISVILLE                KY
102793   5N1DL0MM7LC528414   Nissan       QX60                GREENSBORO                NC
102794   5N1DL0MM7LC528770   Nissan       QX60                ROANOKE                   VA
102795   5N1DL0MM7LC528879   Nissan       QX60                GREENVILLE                NC
102796   5N1DL0MM7LC529238   Nissan       QX60                BOSTON                    MA
102797   5N1DL0MM7LC529255   Nissan       QX60                BOSTON                    MA
102798   5N1DL0MM7LC529403   Nissan       QX60                MINNEAPOLIS               MN
102799   5N1DL0MM7LC529451   Nissan       QX60                HANOVER                   MD
102800   5N1DL0MM7LC529496   Nissan       QX60                PORTLAND                  OR
102801   5N1DL0MM7LC529594   Nissan       QX60                NORFOLK                   VA
102802   5N1DL0MM7LC529675   Nissan       QX60                SALT LAKE CITY            US
102803   5N1DL0MM7LC529692   Nissan       QX60                VIRGINIA BEACH            VA
102804   5N1DL0MM7LC529773   Nissan       QX60                PORTLAND                  OR
102805   5N1DL0MM7LC529787   Nissan       QX60                PITTSBURGH                PA
102806   5N1DL0MM7LC529806   Nissan       QX60                PORTLAND                  OR
102807   5N1DL0MM7LC529840   Nissan       QX60                HARRISBURG                PA
102808   5N1DL0MM7LC529868   Nissan       QX60                GYPSUM                    CO
102809   5N1DL0MM7LC529952   Nissan       QX60                DENVER                    CO
102810   5N1DL0MM7LC529966   Nissan       QX60                DENVER                    CO
102811   5N1DL0MM7LC530020   Nissan       QX60                WOODSON TERRACE           MO
102812   5N1DL0MM7LC530051   Nissan       QX60                CHICAGO O'HARE AP         IL
102813   5N1DL0MM7LC530079   Nissan       QX60                DENVER                    CO
102814   5N1DL0MM7LC530096   Nissan       QX60                WHITE PLAINS              NY
102815   5N1DL0MM7LC530101   Nissan       QX60                KANSAS CITY               MO
102816   5N1DL0MM7LC530177   Nissan       QX60                STERLING                  VA
102817   5N1DL0MM7LC530230   Nissan       QX60                BALTIMORE                 MD
102818   5N1DL0MM7LC530258   Nissan       QX60                SAINT PAUL                MN
102819   5N1DL0MM7LC530275   Nissan       QX60                EAST BOSTON               MA
102820   5N1DL0MM7LC530339   Nissan       QX60                CHICAGO                   IL
102821   5N1DL0MM7LC530373   Nissan       QX60                CHICAGO                   IL
102822   5N1DL0MM7LC530406   Nissan       QX60                BLOOMINGTON               IL
102823   5N1DL0MM7LC530454   Nissan       QX60                CHICAGO                   IL
102824   5N1DL0MM7LC530504   Nissan       QX60                CLEVELAND                 OH
102825   5N1DL0MM7LC530597   Nissan       QX60                SAINT PAUL                MN
102826   5N1DL0MM7LC530602   Nissan       QX60                SAINT PAUL                MN
102827   5N1DL0MM7LC530616   Nissan       QX60                DETROIT                   MI
102828   5N1DL0MM7LC530664   Nissan       QX60                DENVER                    CO
102829   5N1DL0MM7LC530762   Nissan       QX60                DENVER                    CO
102830   5N1DL0MM7LC530793   Nissan       QX60                SEATAC                    WA
102831   5N1DL0MM7LC530843   Nissan       QX60                DENVER                    CO
102832   5N1DL0MM7LC530860   Nissan       QX60                LOS ANGELES               CA
102833   5N1DL0MM7LC530874   Nissan       QX60                DENVER                    CO
102834   5N1DL0MM7LC530969   Nissan       QX60                DETROIT                   MI
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102835   5N1DL0MM7LC530972   Nissan       QX60                SALT LAKE CITY            UT
102836   5N1DL0MM7LC531006   Nissan       QX60                PORTLAND                  OR
102837   5N1DL0MM7LC531037   Nissan       QX60                PITTSBURGH                PA
102838   5N1DL0MM7LC531040   Nissan       QX60                PHILADELPHIA              PA
102839   5N1DL0MM7LC531054   Nissan       QX60                PHILADELPHIA              PA
102840   5N1DL0MM7LC531197   Nissan       QX60                SALT LAKE CITY            UT
102841   5N1DL0MM7LC531202   Nissan       QX60                SALT LAKE CITY            US
102842   5N1DL0MM7LC531247   Nissan       QX60                NEW YORK CITY             NY
102843   5N1DL0MM7LC531300   Nissan       QX60                GREENSBORO                NC
102844   5N1DL0MM7LC531331   Nissan       QX60                SAINT PAUL                MN
102845   5N1DL0MM7LC531345   Nissan       QX60                SAINT PAUL                MN
102846   5N1DL0MM7LC531359   Nissan       QX60                DETROIT                   MI
102847   5N1DL0MM7LC531393   Nissan       QX60                PHILADELPHIA              PA
102848   5N1DL0MM7LC531507   Nissan       QX60                PHILADELPHIA              PA
102849   5N1DL0MM7LC531541   Nissan       QX60                CLEVELAND                 OH
102850   5N1DL0MM7LC531586   Nissan       QX60                SAN FRANCISCO             CA
102851   5N1DL0MM7LC531605   Nissan       QX60                CHICAGO                   IL
102852   5N1DL0MM7LC531670   Nissan       QX60                DETROIT                   MI
102853   5N1DL0MM7LC531684   Nissan       QX60                DETROIT                   MI
102854   5N1DL0MM7LC531717   Nissan       QX60                STERLING                  VA
102855   5N1DL0MM7LC531720   Nissan       QX60                STERLING                  VA
102856   5N1DL0MM7LC531748   Nissan       QX60                GRAND RAPIDS              MI
102857   5N1DL0MM7LC531751   Nissan       QX60                BALTIMORE                 MD
102858   5N1DL0MM8JC519704   Nissan       QX60                BIRMINGHAM                AL
102859   5N1DL0MM8JC526524   Nissan       QX60                Hayward                   CA
102860   5N1DL0MM8JC533246   Nissan       QX60                Manheim                   PA
102861   5N1DL0MM8KC550405   Nissan       QX60                BOSTON                    MA
102862   5N1DL0MM8KC550713   Nissan       QX60                FORT MYERS                FL
102863   5N1DL0MM8KC551506   Nissan       QX60                LAS VEGAS                 NV
102864   5N1DL0MM8KC551800   Nissan       QX60                DENVER                    CO
102865   5N1DL0MM8KC551862   Nissan       QX60                Fontana                   CA
102866   5N1DL0MM8KC552090   Nissan       QX60                SAN FRANCISCO             CA
102867   5N1DL0MM8KC552333   Nissan       QX60                AUSTIN                    TX
102868   5N1DL0MM8KC552395   Nissan       QX60                Aurora                    CO
102869   5N1DL0MM8KC552638   Nissan       QX60                SARASOTA                  FL
102870   5N1DL0MM8KC552686   Nissan       QX60                FORT MYERS                FL
102871   5N1DL0MM8KC552817   Nissan       QX60                TAMPA                     FL
102872   5N1DL0MM8KC552879   Nissan       QX60                OAKLAND                   CA
102873   5N1DL0MM8KC552882   Nissan       QX60                Riverside                 CA
102874   5N1DL0MM8KC552980   Nissan       QX60                Riverside                 CA
102875   5N1DL0MM8KC553014   Nissan       QX60                LOS ANGELES               CA
102876   5N1DL0MM8KC553126   Nissan       QX60                LOS ANGELES               CA
102877   5N1DL0MM8KC553238   Nissan       QX60                Pasadena                  CA
102878   5N1DL0MM8KC553269   Nissan       QX60                FRESNO                    CA
102879   5N1DL0MM8KC553353   Nissan       QX60                OAKLAND                   CA
102880   5N1DL0MM8KC555992   Nissan       QX60                SANTA ANA                 CA
102881   5N1DL0MM8KC556012   Nissan       QX60                ONTARIO                   CA
102882   5N1DL0MM8KC556205   Nissan       QX60                COLORADO SPRING           CO
102883   5N1DL0MM8KC556639   Nissan       QX60                Tolleson                  AZ
102884   5N1DL0MM8KC556821   Nissan       QX60                Atlanta                   GA
102885   5N1DL0MM8KC556897   Nissan       QX60                WEST PALM BEACH           FL
102886   5N1DL0MM8KC557158   Nissan       QX60                Lynn                      MA
102887   5N1DL0MM8KC557502   Nissan       QX60                PHILADELPHIA              US
102888   5N1DL0MM8KC557757   Nissan       QX60                Hayward                   CA
102889   5N1DL0MM8KC557869   Nissan       QX60                DENVER                    CO
102890   5N1DL0MM8KC557922   Nissan       QX60                Roseville                 CA
102891   5N1DL0MM8KC557998   Nissan       QX60                EL SEGUNDO                CA
102892   5N1DL0MM8KC558102   Nissan       QX60                Slidell                   LA
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102893   5N1DL0MM8KC558133   Nissan       QX60                SAN JOSE                  CA
102894   5N1DL0MM8KC558195   Nissan       QX60                GRAND RAPIDS              MI
102895   5N1DL0MM8KC558259   Nissan       QX60                LAS VEGAS                 NV
102896   5N1DL0MM8KC558360   Nissan       QX60                LOS ANGELES               CA
102897   5N1DL0MM8KC558598   Nissan       QX60                FORT MYERS                FL
102898   5N1DL0MM8LC525876   Nissan       QX60                SAINT PAUL                MN
102899   5N1DL0MM8LC525893   Nissan       QX60                MILWAUKEE                 WI
102900   5N1DL0MM8LC526073   Nissan       QX60                HOUSTON                   TX
102901   5N1DL0MM8LC526090   Nissan       QX60                MILWAUKEE                 WI
102902   5N1DL0MM8LC526414   Nissan       QX60                SEATAC                    WA
102903   5N1DL0MM8LC526493   Nissan       QX60                SEATAC                    WA
102904   5N1DL0MM8LC526509   Nissan       QX60                SALT LAKE CITY            UT
102905   5N1DL0MM8LC526722   Nissan       QX60                MILWAUKEE                 WI
102906   5N1DL0MM8LC526879   Nissan       QX60                SALT LAKE CITY            US
102907   5N1DL0MM8LC526882   Nissan       QX60                NORFOLK                   VA
102908   5N1DL0MM8LC526915   Nissan       QX60                SACRAMENTO                CA
102909   5N1DL0MM8LC526932   Nissan       QX60                SALT LAKE CITY            US
102910   5N1DL0MM8LC527076   Nissan       QX60                CLEVELAND                 OH
102911   5N1DL0MM8LC527109   Nissan       QX60                SEATAC                    WA
102912   5N1DL0MM8LC527112   Nissan       QX60                SEA TAC                   WA
102913   5N1DL0MM8LC527126   Nissan       QX60                SEATAC                    WA
102914   5N1DL0MM8LC527143   Nissan       QX60                PITTSBURGH                PA
102915   5N1DL0MM8LC527191   Nissan       QX60                SALT LAKE CITY            UT
102916   5N1DL0MM8LC527255   Nissan       QX60                STERLING                  VA
102917   5N1DL0MM8LC527465   Nissan       QX60                PHILADELPHIA              PA
102918   5N1DL0MM8LC527482   Nissan       QX60                PHILADELPHIA              US
102919   5N1DL0MM8LC527515   Nissan       QX60                BOSTON                    MA
102920   5N1DL0MM8LC527529   Nissan       QX60                STERLING                  VA
102921   5N1DL0MM8LC527563   Nissan       QX60                CLEVELAND                 OH
102922   5N1DL0MM8LC527658   Nissan       QX60                CLEVELAND                 OH
102923   5N1DL0MM8LC527899   Nissan       QX60                SEA TAC                   WA
102924   5N1DL0MM8LC527921   Nissan       QX60                NORFOLK                   VA
102925   5N1DL0MM8LC528048   Nissan       QX60                PHILADELPHIA              PA
102926   5N1DL0MM8LC528079   Nissan       QX60                STERLING                  VA
102927   5N1DL0MM8LC528115   Nissan       QX60                ALEXANDRIA                VA
102928   5N1DL0MM8LC528132   Nissan       QX60                NORFOLK                   VA
102929   5N1DL0MM8LC528146   Nissan       QX60                BALTIMORE                 MD
102930   5N1DL0MM8LC528390   Nissan       QX60                KNOXVILLE                 TN
102931   5N1DL0MM8LC528406   Nissan       QX60                CHARLESTON                SC
102932   5N1DL0MM8LC528423   Nissan       QX60                LOUISVILLE                KY
102933   5N1DL0MM8LC528549   Nissan       QX60                LEXINGTON                 KY
102934   5N1DL0MM8LC528616   Nissan       QX60                WEST COLUMBIA             SC
102935   5N1DL0MM8LC528728   Nissan       QX60                STERLING                  VA
102936   5N1DL0MM8LC528826   Nissan       QX60                Teterboro                 NJ
102937   5N1DL0MM8LC529149   Nissan       QX60                MILWAUKEE                 WI
102938   5N1DL0MM8LC529510   Nissan       QX60                BALTIMORE                 MD
102939   5N1DL0MM8LC529538   Nissan       QX60                HOUSTON                   TX
102940   5N1DL0MM8LC529569   Nissan       QX60                CHICAGO                   IL
102941   5N1DL0MM8LC529586   Nissan       QX60                CHARLOTTE                 NC
102942   5N1DL0MM8LC529636   Nissan       QX60                PORTLAND                  OR
102943   5N1DL0MM8LC529796   Nissan       QX60                CHEEKTOWAGA               NY
102944   5N1DL0MM8LC529801   Nissan       QX60                CLEVELAND                 OH
102945   5N1DL0MM8LC529829   Nissan       QX60                PORTLAND                  OR
102946   5N1DL0MM8LC529877   Nissan       QX60                CHICAGO O'HARE AP         IL
102947   5N1DL0MM8LC529958   Nissan       QX60                INDIANAPOLIS              IN
102948   5N1DL0MM8LC530012   Nissan       QX60                DES PLAINES               US
102949   5N1DL0MM8LC530060   Nissan       QX60                RALEIGH                   NC
102950   5N1DL0MM8LC530155   Nissan       QX60                CHICAGO                   IL
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102951   5N1DL0MM8LC530253   Nissan       QX60                SAINT PAUL                MN
102952   5N1DL0MM8LC530317   Nissan       QX60                BOSTON                    MA
102953   5N1DL0MM8LC530348   Nissan       QX60                LEXINGTON                 KY
102954   5N1DL0MM8LC530382   Nissan       QX60                GRAND RAPIDS              MI
102955   5N1DL0MM8LC530415   Nissan       QX60                DES PLAINES               US
102956   5N1DL0MM8LC530513   Nissan       QX60                BOSTON                    MA
102957   5N1DL0MM8LC530592   Nissan       QX60                BOSTON                    MA
102958   5N1DL0MM8LC530642   Nissan       QX60                SAINT PAUL                MN
102959   5N1DL0MM8LC530687   Nissan       QX60                COLORADO SPRING           CO
102960   5N1DL0MM8LC530690   Nissan       QX60                DENVER                    CO
102961   5N1DL0MM8LC530771   Nissan       QX60                GYPSUM                    CO
102962   5N1DL0MM8LC530804   Nissan       QX60                BOSTON                    MA
102963   5N1DL0MM8LC530849   Nissan       QX60                DENVER                    CO
102964   5N1DL0MM8LC530883   Nissan       QX60                Brighton                  CO
102965   5N1DL0MM8LC530897   Nissan       QX60                CLEVELAND                 OH
102966   5N1DL0MM8LC530947   Nissan       QX60                ATLANTA                   GA
102967   5N1DL0MM8LC530950   Nissan       QX60                CHARLOTTE                 NC
102968   5N1DL0MM8LC530964   Nissan       QX60                SALT LAKE CITY            UT
102969   5N1DL0MM8LC531001   Nissan       QX60                Atlanta                   GA
102970   5N1DL0MM8LC531077   Nissan       QX60                GREENSBORO                NC
102971   5N1DL0MM8LC531158   Nissan       QX60                SALT LAKE CITY            US
102972   5N1DL0MM8LC531161   Nissan       QX60                DETROIT                   MI
102973   5N1DL0MM8LC531192   Nissan       QX60                SALT LAKE CITY            US
102974   5N1DL0MM8LC531225   Nissan       QX60                RALIEGH                   NC
102975   5N1DL0MM8LC531256   Nissan       QX60                PHILADELPHIA              US
102976   5N1DL0MM8LC531273   Nissan       QX60                PORTLAND                  ME
102977   5N1DL0MM8LC531371   Nissan       QX60                LOUISVILLE                KY
102978   5N1DL0MM8LC531385   Nissan       QX60                EGG HARBOR TOWN           NJ
102979   5N1DL0MM8LC531452   Nissan       QX60                DETROIT                   MI
102980   5N1DL0MM8LC531466   Nissan       QX60                DETROIT                   MI
102981   5N1DL0MM8LC531502   Nissan       QX60                PITTSBURGH                PA
102982   5N1DL0MM8LC531564   Nissan       QX60                CLEVELAND                 OH
102983   5N1DL0MM8LC531578   Nissan       QX60                DETROIT                   MI
102984   5N1DL0MM8LC531595   Nissan       QX60                CHICAGO                   IL
102985   5N1DL0MM8LC531659   Nissan       QX60                DES MOINES                IA
102986   5N1DL0MM9JC530873   Nissan       QX60                Ocoee                     FL
102987   5N1DL0MM9JC532896   Nissan       QX60                Smithtown                 NY
102988   5N1DL0MM9JC533529   Nissan       QX60                Bensalem                  PA
102989   5N1DL0MM9KC550333   Nissan       QX60                LAS VEGAS                 NV
102990   5N1DL0MM9KC550347   Nissan       QX60                EGG HARBOR TOWN           NJ
102991   5N1DL0MM9KC550770   Nissan       QX60                FORT MYERS                FL
102992   5N1DL0MM9KC551174   Nissan       QX60                KENNER                    LA
102993   5N1DL0MM9KC551286   Nissan       QX60                BOSTON                    MA
102994   5N1DL0MM9KC551465   Nissan       QX60                DAYTONA BEACH             FL
102995   5N1DL0MM9KC551577   Nissan       QX60                Winter Park               FL
102996   5N1DL0MM9KC551580   Nissan       QX60                HARRISBURG                PA
102997   5N1DL0MM9KC551692   Nissan       QX60                Riverside                 CA
102998   5N1DL0MM9KC551871   Nissan       QX60                Englewood                 CO
102999   5N1DL0MM9KC552079   Nissan       QX60                Aurora                    CO
103000   5N1DL0MM9KC552129   Nissan       QX60                LAS VEGAS                 NV
103001   5N1DL0MM9KC552132   Nissan       QX60                SANTA CLARA               C
103002   5N1DL0MM9KC552213   Nissan       QX60                LOS ANGELES               CA
103003   5N1DL0MM9KC552535   Nissan       QX60                North Canton              OH
103004   5N1DL0MM9KC552650   Nissan       QX60                JACKSONVILLE              FL
103005   5N1DL0MM9KC552731   Nissan       QX60                DANIA BEACH               FL
103006   5N1DL0MM9KC552924   Nissan       QX60                SAN FRANCISCO             CA
103007   5N1DL0MM9KC553118   Nissan       QX60                GYPSUM                    CO
103008   5N1DL0MM9KC553202   Nissan       QX60                albuquerque               nm
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103009   5N1DL0MM9KC553250   Nissan       QX60                ONTARIO, RIVERSIDE        CA
103010   5N1DL0MM9KC553331   Nissan       QX60                OKLAHOMA CITY             OK
103011   5N1DL0MM9KC553507   Nissan       QX60                LOS ANGELES               CA
103012   5N1DL0MM9KC555824   Nissan       QX60                JACKSONVILLE              FL
103013   5N1DL0MM9KC556147   Nissan       QX60                DENVER                    CO
103014   5N1DL0MM9KC556505   Nissan       QX60                Tolleson                  AZ
103015   5N1DL0MM9KC556567   Nissan       QX60                Hayward                   CA
103016   5N1DL0MM9KC556651   Nissan       QX60                DENVER                    CO
103017   5N1DL0MM9KC556777   Nissan       QX60                Miami                     FL
103018   5N1DL0MM9KC557363   Nissan       QX60                GRAND RAPIDS              MI
103019   5N1DL0MM9KC557377   Nissan       QX60                DENVER                    CO
103020   5N1DL0MM9KC557489   Nissan       QX60                FORT LAUDERDALE           FL
103021   5N1DL0MM9KC557590   Nissan       QX60                DENVER                    CO
103022   5N1DL0MM9KC557699   Nissan       QX60                Fresno                    CA
103023   5N1DL0MM9KC557962   Nissan       QX60                LOS ANGELES               CA
103024   5N1DL0MM9KC557976   Nissan       QX60                SAN FRANCISCO             CA
103025   5N1DL0MM9KC558173   Nissan       QX60                RENO                      NV
103026   5N1DL0MM9KC558545   Nissan       QX60                SANTA ANA                 CA
103027   5N1DL0MM9LC525935   Nissan       QX60                MILWAUKEE                 WI
103028   5N1DL0MM9LC526194   Nissan       QX60                SEATAC                    WA
103029   5N1DL0MM9LC526227   Nissan       QX60                SEATAC                    WA
103030   5N1DL0MM9LC526308   Nissan       QX60                MILWAUKEE                 WI
103031   5N1DL0MM9LC526342   Nissan       QX60                MILWAUKEE                 WI
103032   5N1DL0MM9LC526471   Nissan       QX60                LAS VEGAS                 NV
103033   5N1DL0MM9LC526499   Nissan       QX60                SALT LAKE CITY            US
103034   5N1DL0MM9LC526695   Nissan       QX60                MILWAUKEE                 WI
103035   5N1DL0MM9LC526745   Nissan       QX60                PORTLAND                  OR
103036   5N1DL0MM9LC526888   Nissan       QX60                DENVER                    CO
103037   5N1DL0MM9LC526941   Nissan       QX60                SALT LAKE CITY            US
103038   5N1DL0MM9LC527121   Nissan       QX60                SEATAC                    WA
103039   5N1DL0MM9LC527135   Nissan       QX60                SALT LAKE CITY            US
103040   5N1DL0MM9LC527295   Nissan       QX60                PORTLAND                  OR
103041   5N1DL0MM9LC527328   Nissan       QX60                CLEVELAND                 OH
103042   5N1DL0MM9LC527555   Nissan       QX60                BUFFALO                   NY
103043   5N1DL0MM9LC527572   Nissan       QX60                PHILADELPHIA              PA
103044   5N1DL0MM9LC527670   Nissan       QX60                DETROIT                   MI
103045   5N1DL0MM9LC527703   Nissan       QX60                SEA TAC                   WA
103046   5N1DL0MM9LC527877   Nissan       QX60                STERLING                  VA
103047   5N1DL0MM9LC527894   Nissan       QX60                PHILADELPHIA              PA
103048   5N1DL0MM9LC527958   Nissan       QX60                CLEVELAND                 OH
103049   5N1DL0MM9LC528026   Nissan       QX60                WARWICK                   RI
103050   5N1DL0MM9LC528141   Nissan       QX60                HARRISBURG                PA
103051   5N1DL0MM9LC528155   Nissan       QX60                PORTLAND                  ME
103052   5N1DL0MM9LC528172   Nissan       QX60                Des Moines                IA
103053   5N1DL0MM9LC528253   Nissan       QX60                CHARLOTTE                 NC
103054   5N1DL0MM9LC528401   Nissan       QX60                CHARLOTTE                 NC
103055   5N1DL0MM9LC528415   Nissan       QX60                WEST COLUMBIA             SC
103056   5N1DL0MM9LC528432   Nissan       QX60                Atlanta                   GA
103057   5N1DL0MM9LC528544   Nissan       QX60                COLUMBIA                  SC
103058   5N1DL0MM9LC528835   Nissan       QX60                DETROIT                   MI
103059   5N1DL0MM9LC529211   Nissan       QX60                PORTLAND                  OR
103060   5N1DL0MM9LC529337   Nissan       QX60                SEATAC                    WA
103061   5N1DL0MM9LC529368   Nissan       QX60                HOUSTON                   TX
103062   5N1DL0MM9LC529631   Nissan       QX60                GRAND RAPIDS              MI
103063   5N1DL0MM9LC529662   Nissan       QX60                HANOVER                   MD
103064   5N1DL0MM9LC529676   Nissan       QX60                PHOENIX                   AZ
103065   5N1DL0MM9LC529922   Nissan       QX60                INDIANAPOLIS              IN
103066   5N1DL0MM9LC529967   Nissan       QX60                INDIANAPOLIS              IN
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103067   5N1DL0MM9LC529970   Nissan       QX60                DENVER                    CO
103068   5N1DL0MM9LC529998   Nissan       QX60                DENVER                    CO
103069   5N1DL0MM9LC530035   Nissan       QX60                DENVER                    CO
103070   5N1DL0MM9LC530102   Nissan       QX60                CHICAGO                   IL
103071   5N1DL0MM9LC530147   Nissan       QX60                CHICAGO                   IL
103072   5N1DL0MM9LC530164   Nissan       QX60                CHICAGO                   IL
103073   5N1DL0MM9LC530231   Nissan       QX60                MIAMI                     FL
103074   5N1DL0MM9LC530293   Nissan       QX60                MYRTLE BEACH              SC
103075   5N1DL0MM9LC530312   Nissan       QX60                STERLING                  VA
103076   5N1DL0MM9LC530343   Nissan       QX60                BOSTON                    MA
103077   5N1DL0MM9LC530374   Nissan       QX60                CHICAGO                   IL
103078   5N1DL0MM9LC530388   Nissan       QX60                CHICAGO                   IL
103079   5N1DL0MM9LC530391   Nissan       QX60                PHILADELPHIA              PA
103080   5N1DL0MM9LC530424   Nissan       QX60                FORT MYERS                FL
103081   5N1DL0MM9LC530505   Nissan       QX60                NEW ORLEANS               LA
103082   5N1DL0MM9LC530522   Nissan       QX60                RICHMOND                  VA
103083   5N1DL0MM9LC530584   Nissan       QX60                BOSTON                    MA
103084   5N1DL0MM9LC530634   Nissan       QX60                STERLING                  VA
103085   5N1DL0MM9LC530679   Nissan       QX60                EL PASO                   TX
103086   5N1DL0MM9LC530715   Nissan       QX60                SAINT LOUIS               MO
103087   5N1DL0MM9LC530729   Nissan       QX60                GRAND RAPIDS              MI
103088   5N1DL0MM9LC530827   Nissan       QX60                DENVER                    CO
103089   5N1DL0MM9LC530830   Nissan       QX60                DENVER                    CO
103090   5N1DL0MM9LC530858   Nissan       QX60                DENVER                    CO
103091   5N1DL0MM9LC530990   Nissan       QX60                BALTIMORE                 MD
103092   5N1DL0MM9LC531007   Nissan       QX60                PORTLAND                  OR
103093   5N1DL0MM9LC531038   Nissan       QX60                SALT LAKE CITY            US
103094   5N1DL0MM9LC531041   Nissan       QX60                SALT LAKE CITY            US
103095   5N1DL0MM9LC531105   Nissan       QX60                PORTLAND                  OR
103096   5N1DL0MM9LC531136   Nissan       QX60                DALLAS                    TX
103097   5N1DL0MM9LC531167   Nissan       QX60                SAINT PAUL                MN
103098   5N1DL0MM9LC531198   Nissan       QX60                PHILADELPHIA              PA
103099   5N1DL0MM9LC531203   Nissan       QX60                PHILADELPHIA              PA
103100   5N1DL0MM9LC531234   Nissan       QX60                RALIEGH                   NC
103101   5N1DL0MM9LC531265   Nissan       QX60                PHILADELPHIA              PA
103102   5N1DL0MM9LC531329   Nissan       QX60                SAINT PAUL                MN
103103   5N1DL0MM9LC531377   Nissan       QX60                SAINT PAUL                MN
103104   5N1DL0MM9LC531380   Nissan       QX60                DETROIT                   MI
103105   5N1DL0MM9LC531427   Nissan       QX60                SAINT PAUL                MN
103106   5N1DL0MM9LC531461   Nissan       QX60                SEATAC                    WA
103107   5N1DL0MM9LC531492   Nissan       QX60                DETROIT                   MI
103108   5N1DL0MM9LC531508   Nissan       QX60                INDIANAPOLIS              IN
103109   5N1DL0MM9LC531749   Nissan       QX60                DETROIT                   MI
103110   5N1DL0MM9LC531752   Nissan       QX60                EGG HARBOR TOWN           NJ
103111   5N1DL0MM9LC531816   Nissan       QX60                DETROIT                   MI
103112   5N1DL0MMXJC514715   Nissan       QX60                Orlando                   FL
103113   5N1DL0MMXJC526959   Nissan       QX60                Oceanside                 CA
103114   5N1DL0MMXKC550339   Nissan       QX60                LOS ANGELES               CA
103115   5N1DL0MMXKC550342   Nissan       QX60                DENVER                    CO
103116   5N1DL0MMXKC550762   Nissan       QX60                FORT LAUDERDALE           FL
103117   5N1DL0MMXKC550924   Nissan       QX60                SEATAC                    WA
103118   5N1DL0MMXKC550938   Nissan       QX60                Stone Mountain            GA
103119   5N1DL0MMXKC551345   Nissan       QX60                PHOENIX                   AZ
103120   5N1DL0MMXKC552236   Nissan       QX60                BOSTON                    MA
103121   5N1DL0MMXKC552480   Nissan       QX60                Atlanta                   GA
103122   5N1DL0MMXKC552608   Nissan       QX60                FORT LAUDERDALE           FL
103123   5N1DL0MMXKC552852   Nissan       QX60                Riverside                 CA
103124   5N1DL0MMXKC552883   Nissan       QX60                FORT LAUDERDALE           FL
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103125   5N1DL0MMXKC552902   Nissan       QX60                SAN FRANCISCO             CA
103126   5N1DL0MMXKC553032   Nissan       QX60                RENO                      NV
103127   5N1DL0MMXKC553113   Nissan       QX60                OAKLAND                   CA
103128   5N1DL0MMXKC553161   Nissan       QX60                Riverside                 CA
103129   5N1DL0MMXKC553208   Nissan       QX60                LAS VEGAS                 NV
103130   5N1DL0MMXKC553211   Nissan       QX60                LOS ANGELES               CA
103131   5N1DL0MMXKC553418   Nissan       QX60                Denver                    CO
103132   5N1DL0MMXKC553516   Nissan       QX60                PANAMA CITY               FL
103133   5N1DL0MMXKC556142   Nissan       QX60                DENVER                    CO
103134   5N1DL0MMXKC556156   Nissan       QX60                DENVER                    CO
103135   5N1DL0MMXKC556450   Nissan       QX60                FORT MYERS                FL
103136   5N1DL0MMXKC556612   Nissan       QX60                BOSTON                    MA
103137   5N1DL0MMXKC556772   Nissan       QX60                FORT MYERS                FL
103138   5N1DL0MMXKC556903   Nissan       QX60                Aurora                    CO
103139   5N1DL0MMXKC556948   Nissan       QX60                PHILADELPHIA              PA
103140   5N1DL0MMXKC556951   Nissan       QX60                ORLANDO                   FL
103141   5N1DL0MMXKC557288   Nissan       QX60                ALBUQUERQUE               NM
103142   5N1DL0MMXKC557405   Nissan       QX60                ALBUQUERQUE               NM
103143   5N1DL0MMXKC557484   Nissan       QX60                MIAMI                     FL
103144   5N1DL0MMXKC557601   Nissan       QX60                Davie                     FL
103145   5N1DL0MMXKC557940   Nissan       QX60                FORT MYERS                FL
103146   5N1DL0MMXKC558036   Nissan       QX60                SAN JOSE                  CA
103147   5N1DL0MMXKC558070   Nissan       QX60                SEATAC                    WA
103148   5N1DL0MMXKC558084   Nissan       QX60                Riverside                 CA
103149   5N1DL0MMXKC558313   Nissan       QX60                SAN DIEGO                 CA
103150   5N1DL0MMXKC558554   Nissan       QX60                Riverside                 CA
103151   5N1DL0MMXKC558568   Nissan       QX60                PHOENIX                   AZ
103152   5N1DL0MMXKC558604   Nissan       QX60                ORANGE COUNTY             CA
103153   5N1DL0MMXLC525863   Nissan       QX60                HANOVER                   MD
103154   5N1DL0MMXLC525877   Nissan       QX60                SEATAC                    WA
103155   5N1DL0MMXLC526088   Nissan       QX60                NEWARK                    NJ
103156   5N1DL0MMXLC526091   Nissan       QX60                PORTLAND                  OR
103157   5N1DL0MMXLC526253   Nissan       QX60                MILWAUKEE                 WI
103158   5N1DL0MMXLC526267   Nissan       QX60                CHICAGO                   IL
103159   5N1DL0MMXLC526320   Nissan       QX60                MILWAUKEE                 WI
103160   5N1DL0MMXLC526429   Nissan       QX60                MILWAUKEE                 WI
103161   5N1DL0MMXLC526432   Nissan       QX60                MILWAUKEE                 WI
103162   5N1DL0MMXLC526480   Nissan       QX60                EAST BOSTON               MA
103163   5N1DL0MMXLC526527   Nissan       QX60                MILWAUKEE                 WI
103164   5N1DL0MMXLC526723   Nissan       QX60                CHICAGO                   IL
103165   5N1DL0MMXLC526740   Nissan       QX60                CHICAGO                   IL
103166   5N1DL0MMXLC526804   Nissan       QX60                SEATAC                    WA
103167   5N1DL0MMXLC526866   Nissan       QX60                CHARLOTTESVILLE           VA
103168   5N1DL0MMXLC526883   Nissan       QX60                CHARLOTTE                 NC
103169   5N1DL0MMXLC526902   Nissan       QX60                JAMAICA                   NY
103170   5N1DL0MMXLC527127   Nissan       QX60                KNOXVILLE                 TN
103171   5N1DL0MMXLC527497   Nissan       QX60                KNOXVILLE                 TN
103172   5N1DL0MMXLC527550   Nissan       QX60                ROCHESTER                 NY
103173   5N1DL0MMXLC527712   Nissan       QX60                SEATAC                    WA
103174   5N1DL0MMXLC527936   Nissan       QX60                CLEVELAND                 OH
103175   5N1DL0MMXLC527970   Nissan       QX60                BOSTON                    MA
103176   5N1DL0MMXLC527984   Nissan       QX60                ALEXANDRIA                VA
103177   5N1DL0MMXLC528374   Nissan       QX60                Atlanta                   GA
103178   5N1DL0MMXLC528388   Nissan       QX60                CHARLOTTE                 NC
103179   5N1DL0MMXLC528407   Nissan       QX60                COLUMBIA                  SC
103180   5N1DL0MMXLC528424   Nissan       QX60                CHARLESTON                SC
103181   5N1DL0MMXLC528827   Nissan       QX60                PENSACOLA                 FL
103182   5N1DL0MMXLC529508   Nissan       QX60                SCRANTON                  PA
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103183   5N1DL0MMXLC529623   Nissan       QX60                PHILADELPHIA              PA
103184   5N1DL0MMXLC529671   Nissan       QX60                SALT LAKE CITY            US
103185   5N1DL0MMXLC529850   Nissan       QX60                PITTSBURGH                PA
103186   5N1DL0MMXLC529928   Nissan       QX60                CHICAGO                   IL
103187   5N1DL0MMXLC529959   Nissan       QX60                INDIANAPOLIS              IN
103188   5N1DL0MMXLC530058   Nissan       QX60                GYPSUM                    CO
103189   5N1DL0MMXLC530142   Nissan       QX60                MILWAUKEE                 WI
103190   5N1DL0MMXLC530187   Nissan       QX60                NEWARK                    NJ
103191   5N1DL0MMXLC530237   Nissan       QX60                DENVER                    CO
103192   5N1DL0MMXLC530240   Nissan       QX60                LOUISVILLE                KY
103193   5N1DL0MMXLC530254   Nissan       QX60                SAINT PAUL                MN
103194   5N1DL0MMXLC530271   Nissan       QX60                PHILADELPHIA              PA
103195   5N1DL0MMXLC530285   Nissan       QX60                BALTIMORE                 MD
103196   5N1DL0MMXLC530318   Nissan       QX60                BOSTON                    MA
103197   5N1DL0MMXLC530349   Nissan       QX60                MILWAUKEE                 WI
103198   5N1DL0MMXLC530352   Nissan       QX60                WARWICK                   RI
103199   5N1DL0MMXLC530383   Nissan       QX60                CHICAGO                   IL
103200   5N1DL0MMXLC530464   Nissan       QX60                CHICAGO                   IL
103201   5N1DL0MMXLC530593   Nissan       QX60                CHICAGO O'HARE AP         IL
103202   5N1DL0MMXLC530626   Nissan       QX60                INDIANAPOLIS              IN
103203   5N1DL0MMXLC530688   Nissan       QX60                DENVER                    CO
103204   5N1DL0MMXLC530707   Nissan       QX60                BOSTON, LOGAN AP          MA
103205   5N1DL0MMXLC530724   Nissan       QX60                CHICAGO                   IL
103206   5N1DL0MMXLC530738   Nissan       QX60                GYPSUM                    CO
103207   5N1DL0MMXLC530805   Nissan       QX60                COLORADO SPRING           CO
103208   5N1DL0MMXLC530822   Nissan       QX60                PROVIDENCE                RI
103209   5N1DL0MMXLC530920   Nissan       QX60                PHILADELPHIA              PA
103210   5N1DL0MMXLC530934   Nissan       QX60                DURHAM                    NC
103211   5N1DL0MMXLC531047   Nissan       QX60                SALT LAKE CITY            UT
103212   5N1DL0MMXLC531064   Nissan       QX60                LOS ANGELES               CA
103213   5N1DL0MMXLC531078   Nissan       QX60                RALEIGH                   NC
103214   5N1DL0MMXLC531100   Nissan       QX60                RALIEGH                   NC
103215   5N1DL0MMXLC531131   Nissan       QX60                PORTLAND                  OR
103216   5N1DL0MMXLC531162   Nissan       QX60                SAINT PAUL                MN
103217   5N1DL0MMXLC531193   Nissan       QX60                SALT LAKE CITY            US
103218   5N1DL0MMXLC531310   Nissan       QX60                DURHAM                    NC
103219   5N1DL0MMXLC531369   Nissan       QX60                DETROIT                   MI
103220   5N1DL0MMXLC531372   Nissan       QX60                ROANOKE                   VA
103221   5N1DL0MMXLC531548   Nissan       QX60                AUSTIN                    TX
103222   5N1DL0MMXLC531565   Nissan       QX60                PITTSBURGH                PA
103223   5N1DL0MMXLC531579   Nissan       QX60                PORTLAND                  OR
103224   5N1DL0MMXLC531582   Nissan       QX60                PITTSBURGH                PA
103225   5N1DL0MMXLC531629   Nissan       QX60                PORTLAND                  OR
103226   5N1DL0MMXLC531677   Nissan       QX60                DETROIT                   MI
103227   5N1DL0MMXLC531713   Nissan       QX60                BALTIMORE                 MD
103228   5N1DL0MMXLC531811   Nissan       QX60                DETROIT                   MI
103229   5N1DL0MN0LC523564   Nissan       QX60                Ft. Myers                 FL
103230   5N1DL0MN0LC524844   Nissan       QX60                SANTA ANA                 CA
103231   5N1DL0MN0LC524889   Nissan       QX60                TUCSON                    AZ
103232   5N1DL0MN0LC526013   Nissan       QX60                ORLANDO                   FL
103233   5N1DL0MN0LC526187   Nissan       QX60                ORANGE COUNTY             CA
103234   5N1DL0MN0LC526190   Nissan       QX60                CHARLESTON                SC
103235   5N1DL0MN0LC526223   Nissan       QX60                UNION CITY                GA
103236   5N1DL0MN0LC526447   Nissan       QX60                CHARLESTON                SC
103237   5N1DL0MN0LC527047   Nissan       QX60                SAN FRANCISCO             CA
103238   5N1DL0MN0LC527324   Nissan       QX60                ORLANDO                   FL
103239   5N1DL0MN0LC527579   Nissan       QX60                FORT MYERS                FL
103240   5N1DL0MN0LC527596   Nissan       QX60                FORT MYERS                FL
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103241   5N1DL0MN0LC527680   Nissan       QX60                SAN FRANCISCO             CA
103242   5N1DL0MN0LC528232   Nissan       QX60                FRESNO                    CA
103243   5N1DL0MN0LC528523   Nissan       QX60                SAN FRANCISCO             CA
103244   5N1DL0MN0LC528862   Nissan       QX60                SAN DIEGO                 CA
103245   5N1DL0MN0LC528926   Nissan       QX60                TUCSON                    AZ
103246   5N1DL0MN0LC529042   Nissan       QX60                NASHVILLE                 TN
103247   5N1DL0MN0LC529140   Nissan       QX60                Fresno                    CA
103248   5N1DL0MN0LC529168   Nissan       QX60                SAN JOSE                  CA
103249   5N1DL0MN0LC529204   Nissan       QX60                ORANGE COUNTY             CA
103250   5N1DL0MN0LC529316   Nissan       QX60                ONTARIO                   CA
103251   5N1DL0MN0LC529364   Nissan       QX60                SAN FRANCISCO             CA
103252   5N1DL0MN0LC529557   Nissan       QX60                LOS ANGELES               CA
103253   5N1DL0MN0LC529560   Nissan       QX60                SANTA ANA                 CA
103254   5N1DL0MN0LC529736   Nissan       QX60                STERLING                  VA
103255   5N1DL0MN0LC529784   Nissan       QX60                KNOXVILLE                 TN
103256   5N1DL0MN0LC529851   Nissan       QX60                KNOXVILLE                 TN
103257   5N1DL0MN0LC529896   Nissan       QX60                SAN DIEGO                 CA
103258   5N1DL0MN0LC529929   Nissan       QX60                PHOENIX                   AZ
103259   5N1DL0MN0LC530028   Nissan       QX60                HOUSTON                   TX
103260   5N1DL0MN0LC530093   Nissan       QX60                PALM SPRINGS              CA
103261   5N1DL0MN0LC530160   Nissan       QX60                SANTA ANA                 CA
103262   5N1DL0MN0LC530188   Nissan       QX60                DALLAS                    TX
103263   5N1DL0MN0LC530191   Nissan       QX60                SANTA ANA                 CA
103264   5N1DL0MN0LC530353   Nissan       QX60                LOS ANGELES               CA
103265   5N1DL0MN0LC530448   Nissan       QX60                ORANGE COUNTY             CA
103266   5N1DL0MN0LC530465   Nissan       QX60                ALBUQERQUE                NM
103267   5N1DL0MN0LC530482   Nissan       QX60                BURBANK                   CA
103268   5N1DL0MN0LC530546   Nissan       QX60                OAKLAND                   CA
103269   5N1DL0MN0LC530661   Nissan       QX60                SAN FRANCISCO             CA
103270   5N1DL0MN0LC530675   Nissan       QX60                LAS VEGAS                 NV
103271   5N1DL0MN0LC530692   Nissan       QX60                LOS ANGELES               CA
103272   5N1DL0MN0LC530899   Nissan       QX60                STERLING                  VA
103273   5N1DL0MN0LC530904   Nissan       QX60                KNOXVILLE                 TN
103274   5N1DL0MN0LC530983   Nissan       QX60                MEMPHIS                   TN
103275   5N1DL0MN0LC531101   Nissan       QX60                CLEVELAND                 OH
103276   5N1DL0MN0LC531129   Nissan       QX60                PHOENIX                   AZ
103277   5N1DL0MN0LC531163   Nissan       QX60                FRESNO                    CA
103278   5N1DL0MN0LC531244   Nissan       QX60                Atlanta                   GA
103279   5N1DL0MN0LC531275   Nissan       QX60                RENO                      NV
103280   5N1DL0MN0LC531325   Nissan       QX60                Atlanta                   GA
103281   5N1DL0MN0LC531339   Nissan       QX60                KNOXVILLE                 TN
103282   5N1DL0MN0LC531454   Nissan       QX60                DENVER                    CO
103283   5N1DL0MN0LC531471   Nissan       QX60                SAN ANTONIO               TX
103284   5N1DL0MN0LC531549   Nissan       QX60                CORPUS CHRISTI            TX
103285   5N1DL0MN0LC531650   Nissan       QX60                SARASOTA                  FL
103286   5N1DL0MN0LC532264   Nissan       QX60                KNOXVILLE                 TN
103287   5N1DL0MN0LC532278   Nissan       QX60                NASHVILLE                 TN
103288   5N1DL0MN0LC532281   Nissan       QX60                Atlanta                   GA
103289   5N1DL0MN0LC532314   Nissan       QX60                NASHVILLE                 TN
103290   5N1DL0MN0LC532328   Nissan       QX60                OMAHA                     NE
103291   5N1DL0MN0LC532345   Nissan       QX60                FORT MYERS                FL
103292   5N1DL0MN0LC532376   Nissan       QX60                WEST PALM BEACH           FL
103293   5N1DL0MN0LC532443   Nissan       QX60                MIAMI                     FL
103294   5N1DL0MN0LC532457   Nissan       QX60                FORT MYERS                FL
103295   5N1DL0MN0LC532488   Nissan       QX60                FORT MYERS                FL
103296   5N1DL0MN0LC532491   Nissan       QX60                ORLANDO                   FL
103297   5N1DL0MN0LC532507   Nissan       QX60                ORLANDO                   FL
103298   5N1DL0MN0LC532524   Nissan       QX60                MIAMI                     FL
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103299   5N1DL0MN0LC532538   Nissan       QX60                FORT LAUDERDALE           FL
103300   5N1DL0MN0LC532586   Nissan       QX60                TUCSON                    AZ
103301   5N1DL0MN0LC532622   Nissan       QX60                WEST PALM BEACH           FL
103302   5N1DL0MN0LC532636   Nissan       QX60                HOUSTON                   TX
103303   5N1DL0MN0LC532667   Nissan       QX60                JACKSON                   MS
103304   5N1DL0MN0LC532703   Nissan       QX60                Las Vegas                 NV
103305   5N1DL0MN0LC532717   Nissan       QX60                WARWICK                   RI
103306   5N1DL0MN0LC532734   Nissan       QX60                DALLAS                    TX
103307   5N1DL0MN0LC532748   Nissan       QX60                DALLAS                    TX
103308   5N1DL0MN0LC532765   Nissan       QX60                TULSA                     OK
103309   5N1DL0MN0LC532779   Nissan       QX60                CHICAGO                   IL
103310   5N1DL0MN0LC532782   Nissan       QX60                ALBUQERQUE                NM
103311   5N1DL0MN0LC532796   Nissan       QX60                HOUSTON                   TX
103312   5N1DL0MN0LC532801   Nissan       QX60                HOUSTON                   TX
103313   5N1DL0MN0LC532815   Nissan       QX60                DALLAS                    TX
103314   5N1DL0MN0LC532829   Nissan       QX60                HOUSTON                   TX
103315   5N1DL0MN0LC532832   Nissan       QX60                SAN ANTONIO               TX
103316   5N1DL0MN0LC532846   Nissan       QX60                Tulsa                     OK
103317   5N1DL0MN0LC532863   Nissan       QX60                BOSTON                    MA
103318   5N1DL0MN0LC532877   Nissan       QX60                DALLAS                    TX
103319   5N1DL0MN0LC532880   Nissan       QX60                HOUSTON                   TX
103320   5N1DL0MN0LC532894   Nissan       QX60                HOUSTON                   TX
103321   5N1DL0MN0LC532913   Nissan       QX60                DALLAS                    TX
103322   5N1DL0MN0LC532927   Nissan       QX60                HOUSTON                   TX
103323   5N1DL0MN0LC532930   Nissan       QX60                SAN FRANCISCO             CA
103324   5N1DL0MN0LC532958   Nissan       QX60                KENNER                    LA
103325   5N1DL0MN0LC532961   Nissan       QX60                LAS VEGAS                 NV
103326   5N1DL0MN0LC532975   Nissan       QX60                LAS VEGAS                 NV
103327   5N1DL0MN0LC532989   Nissan       QX60                DALLAS                    TX
103328   5N1DL0MN0LC532992   Nissan       QX60                HOUSTON                   TX
103329   5N1DL0MN0LC533009   Nissan       QX60                HOUSTON                   TX
103330   5N1DL0MN0LC533012   Nissan       QX60                TULSA                     OK
103331   5N1DL0MN0LC533026   Nissan       QX60                ALBUQERQUE                NM
103332   5N1DL0MN0LC533057   Nissan       QX60                BURBANK                   CA
103333   5N1DL0MN0LC533060   Nissan       QX60                ALBUQERQUE                NM
103334   5N1DL0MN0LC533074   Nissan       QX60                DALLAS                    TX
103335   5N1DL0MN0LC533088   Nissan       QX60                DALLAS                    TX
103336   5N1DL0MN0LC533091   Nissan       QX60                Tulsa                     OK
103337   5N1DL0MN0LC533107   Nissan       QX60                PHOENIX                   AZ
103338   5N1DL0MN0LC533110   Nissan       QX60                Tulsa                     OK
103339   5N1DL0MN0LC533642   Nissan       QX60                KENNER                    LA
103340   5N1DL0MN0LC533656   Nissan       QX60                KENNER                    LA
103341   5N1DL0MN0LC533723   Nissan       QX60                HOUSTON                   TX
103342   5N1DL0MN0LC533737   Nissan       QX60                KANSAS CITY               MO
103343   5N1DL0MN0LC533740   Nissan       QX60                KANSAS CITY               MO
103344   5N1DL0MN0LC533771   Nissan       QX60                DALLAS                    TX
103345   5N1DL0MN0LC533799   Nissan       QX60                KANSAS CITY               MO
103346   5N1DL0MN0LC533866   Nissan       QX60                DALLAS                    TX
103347   5N1DL0MN0LC533883   Nissan       QX60                DALLAS                    TX
103348   5N1DL0MN0LC533902   Nissan       QX60                KENNER                    LA
103349   5N1DL0MN0LC533916   Nissan       QX60                DALLAS                    TX
103350   5N1DL0MN1LC521760   Nissan       QX60                FORT MYERS                FL
103351   5N1DL0MN1LC522620   Nissan       QX60                FORT MYERS                FL
103352   5N1DL0MN1LC523590   Nissan       QX60                FORT MYERS                FL
103353   5N1DL0MN1LC523637   Nissan       QX60                AMARILLO                  US
103354   5N1DL0MN1LC524769   Nissan       QX60                DENVER                    CO
103355   5N1DL0MN1LC524996   Nissan       QX60                ORLANDO                   FL
103356   5N1DL0MN1LC525047   Nissan       QX60                TUCSON                    AZ
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103357   5N1DL0MN1LC525064   Nissan       QX60                LOS ANGELES               CA
103358   5N1DL0MN1LC525145   Nissan       QX60                KNOXVILLE                 TN
103359   5N1DL0MN1LC525176   Nissan       QX60                KNOXVILLE                 TN
103360   5N1DL0MN1LC525985   Nissan       QX60                ORLANDO                   FL
103361   5N1DL0MN1LC526165   Nissan       QX60                SAN JOSE                  CA
103362   5N1DL0MN1LC526179   Nissan       QX60                Atlanta                   GA
103363   5N1DL0MN1LC526229   Nissan       QX60                SANTA ANA                 CA
103364   5N1DL0MN1LC526537   Nissan       QX60                CHARLESTON                SC
103365   5N1DL0MN1LC527056   Nissan       QX60                SAN FRANCISCO             CA
103366   5N1DL0MN1LC527087   Nissan       QX60                FORT LAUDERDALE           FL
103367   5N1DL0MN1LC527090   Nissan       QX60                FORT LAUDERDALE           FL
103368   5N1DL0MN1LC527610   Nissan       QX60                SAN FRANCISCO             CA
103369   5N1DL0MN1LC527834   Nissan       QX60                SAN JOSE                  CA
103370   5N1DL0MN1LC528496   Nissan       QX60                TUCSON                    AZ
103371   5N1DL0MN1LC528515   Nissan       QX60                PHOENIX                   AZ
103372   5N1DL0MN1LC528661   Nissan       QX60                SAN FRANCISCO             CA
103373   5N1DL0MN1LC528790   Nissan       QX60                MONTEREY                  CA
103374   5N1DL0MN1LC528871   Nissan       QX60                LOS ANGELES               CA
103375   5N1DL0MN1LC528904   Nissan       QX60                LOUISVILLE                KY
103376   5N1DL0MN1LC528983   Nissan       QX60                BIRMINGHAN                AL
103377   5N1DL0MN1LC528997   Nissan       QX60                PALM SPRINGS              CA
103378   5N1DL0MN1LC529034   Nissan       QX60                TUCSON                    AZ
103379   5N1DL0MN1LC529048   Nissan       QX60                BURBANK                   CA
103380   5N1DL0MN1LC529051   Nissan       QX60                PHOENIX                   AZ
103381   5N1DL0MN1LC529079   Nissan       QX60                PHOENIX                   AZ
103382   5N1DL0MN1LC529101   Nissan       QX60                LOS ANGELES               CA
103383   5N1DL0MN1LC529132   Nissan       QX60                SOUTH SAN FRANC           CA
103384   5N1DL0MN1LC529163   Nissan       QX60                LOS ANGELES               CA
103385   5N1DL0MN1LC529177   Nissan       QX60                SACRAMENTO                CA
103386   5N1DL0MN1LC529180   Nissan       QX60                Hebron                    KY
103387   5N1DL0MN1LC529308   Nissan       QX60                LOS ANGELES               CA
103388   5N1DL0MN1LC529325   Nissan       QX60                CORPUS CHRISTI            TX
103389   5N1DL0MN1LC529390   Nissan       QX60                SOUTH SAN FRANC           CA
103390   5N1DL0MN1LC529423   Nissan       QX60                FORT MYERS                FL
103391   5N1DL0MN1LC529518   Nissan       QX60                LOS ANGELES               CA
103392   5N1DL0MN1LC529745   Nissan       QX60                SAN FRANCISCO             CA
103393   5N1DL0MN1LC529860   Nissan       QX60                SANTA ANA                 CA
103394   5N1DL0MN1LC529910   Nissan       QX60                PHOENIX                   AZ
103395   5N1DL0MN1LC529955   Nissan       QX60                ORANGE COUNTY             CA
103396   5N1DL0MN1LC530006   Nissan       QX60                PHOENIX                   AZ
103397   5N1DL0MN1LC530104   Nissan       QX60                PHOENIX                   AZ
103398   5N1DL0MN1LC530202   Nissan       QX60                LOS ANGELES AP            CA
103399   5N1DL0MN1LC530247   Nissan       QX60                SOUTH SAN FRANC           CA
103400   5N1DL0MN1LC530281   Nissan       QX60                FORT MYERS                FL
103401   5N1DL0MN1LC530359   Nissan       QX60                SANTA ANA                 CA
103402   5N1DL0MN1LC530541   Nissan       QX60                PALM SPRINGS              CA
103403   5N1DL0MN1LC530555   Nissan       QX60                PALM SPRINGS              CA
103404   5N1DL0MN1LC530572   Nissan       QX60                FORT MYERS                FL
103405   5N1DL0MN1LC530619   Nissan       QX60                PHOENIX                   AZ
103406   5N1DL0MN1LC530720   Nissan       QX60                PHOENIX                   AZ
103407   5N1DL0MN1LC530782   Nissan       QX60                PALM SPRINGS              CA
103408   5N1DL0MN1LC530832   Nissan       QX60                HOUSTON                   TX
103409   5N1DL0MN1LC530863   Nissan       QX60                SAN FRANCISCO             CA
103410   5N1DL0MN1LC530913   Nissan       QX60                NASHVILLE                 TN
103411   5N1DL0MN1LC530989   Nissan       QX60                CHARLESTON                SC
103412   5N1DL0MN1LC530992   Nissan       QX60                SAVANNAH                  GA
103413   5N1DL0MN1LC531009   Nissan       QX60                MIAMI                     FL
103414   5N1DL0MN1LC531012   Nissan       QX60                ATLANTA                   GA
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103415   5N1DL0MN1LC531074   Nissan       QX60                BURBANK                   CA
103416   5N1DL0MN1LC531205   Nissan       QX60                CHARLESTON                SC
103417   5N1DL0MN1LC531222   Nissan       QX60                CHARLESTON                SC
103418   5N1DL0MN1LC531463   Nissan       QX60                HOUSTON                   TX
103419   5N1DL0MN1LC531477   Nissan       QX60                AUSTIN                    TX
103420   5N1DL0MN1LC531527   Nissan       QX60                SAN DIEGO                 CA
103421   5N1DL0MN1LC531589   Nissan       QX60                DALLAS                    TX
103422   5N1DL0MN1LC531673   Nissan       QX60                ORLANDO                   FL
103423   5N1DL0MN1LC531706   Nissan       QX60                FORT LAUDERDALE           FL
103424   5N1DL0MN1LC531737   Nissan       QX60                MIAMI                     FL
103425   5N1DL0MN1LC531771   Nissan       QX60                HOUSTON                   TX
103426   5N1DL0MN1LC532225   Nissan       QX60                ORLANDO                   FL
103427   5N1DL0MN1LC532242   Nissan       QX60                ORLANDO                   FL
103428   5N1DL0MN1LC532256   Nissan       QX60                TUCSON                    AZ
103429   5N1DL0MN1LC532290   Nissan       QX60                TAMPA                     FL
103430   5N1DL0MN1LC532306   Nissan       QX60                CHARLESTON                SC
103431   5N1DL0MN1LC532340   Nissan       QX60                WEST PALM BEACH           FL
103432   5N1DL0MN1LC532399   Nissan       QX60                DETROIT                   MI
103433   5N1DL0MN1LC532435   Nissan       QX60                ALBUQERQUE                NM
103434   5N1DL0MN1LC532483   Nissan       QX60                MIAMI                     FL
103435   5N1DL0MN1LC532497   Nissan       QX60                PENSACOLA                 FL
103436   5N1DL0MN1LC532502   Nissan       QX60                TAMPA                     FL
103437   5N1DL0MN1LC532547   Nissan       QX60                TUCSON                    AZ
103438   5N1DL0MN1LC532581   Nissan       QX60                SAN ANTONIO               TX
103439   5N1DL0MN1LC532631   Nissan       QX60                KNOXVILLE                 TN
103440   5N1DL0MN1LC532662   Nissan       QX60                KENNER                    LA
103441   5N1DL0MN1LC532676   Nissan       QX60                CLEVELAND                 OH
103442   5N1DL0MN1LC532709   Nissan       QX60                MANCHESTER                US
103443   5N1DL0MN1LC532712   Nissan       QX60                RALEIGH                   NC
103444   5N1DL0MN1LC532726   Nissan       QX60                HOUSTON                   TX
103445   5N1DL0MN1LC532743   Nissan       QX60                Tulsa                     OK
103446   5N1DL0MN1LC532760   Nissan       QX60                TULSA                     OK
103447   5N1DL0MN1LC532774   Nissan       QX60                KANSAS CITY               MO
103448   5N1DL0MN1LC532788   Nissan       QX60                SAINT LOUIS               MO
103449   5N1DL0MN1LC532791   Nissan       QX60                DALLAS                    TX
103450   5N1DL0MN1LC532810   Nissan       QX60                ALBUQERQUE                NM
103451   5N1DL0MN1LC532824   Nissan       QX60                SHREVEPORT                LA
103452   5N1DL0MN1LC532841   Nissan       QX60                PORTLAND                  OR
103453   5N1DL0MN1LC532855   Nissan       QX60                SAN ANTONIO               TX
103454   5N1DL0MN1LC532869   Nissan       QX60                KNOXVILLE                 TN
103455   5N1DL0MN1LC532872   Nissan       QX60                HOUSTON                   TX
103456   5N1DL0MN1LC532886   Nissan       QX60                HOUSTON                   TX
103457   5N1DL0MN1LC532905   Nissan       QX60                LAS VEGAS                 NV
103458   5N1DL0MN1LC532919   Nissan       QX60                LAS VEGAS                 NV
103459   5N1DL0MN1LC532922   Nissan       QX60                AUSTIN                    TX
103460   5N1DL0MN1LC532936   Nissan       QX60                HOUSTON                   TX
103461   5N1DL0MN1LC532953   Nissan       QX60                AUSTIN                    TX
103462   5N1DL0MN1LC532967   Nissan       QX60                ALBANY                    NY
103463   5N1DL0MN1LC532970   Nissan       QX60                LAS VEGAS                 NV
103464   5N1DL0MN1LC532984   Nissan       QX60                LAS VEGAS                 NV
103465   5N1DL0MN1LC532998   Nissan       QX60                DALLAS                    TX
103466   5N1DL0MN1LC533004   Nissan       QX60                HOUSTON                   TX
103467   5N1DL0MN1LC533018   Nissan       QX60                HOUSTON                   TX
103468   5N1DL0MN1LC533021   Nissan       QX60                SAN ANTONIO               TX
103469   5N1DL0MN1LC533066   Nissan       QX60                SAN ANTONIO               TX
103470   5N1DL0MN1LC533083   Nissan       QX60                HOUSTON                   TX
103471   5N1DL0MN1LC533102   Nissan       QX60                ALBUQERQUE                NM
103472   5N1DL0MN1LC533116   Nissan       QX60                TULSA                     OK
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103473   5N1DL0MN1LC533133   Nissan       QX60                KENNER                    LA
103474   5N1DL0MN1LC533147   Nissan       QX60                ALBUQERQUE                NM
103475   5N1DL0MN1LC533150   Nissan       QX60                RALEIGH                   NC
103476   5N1DL0MN1LC533665   Nissan       QX60                TULSA                     OK
103477   5N1DL0MN1LC533679   Nissan       QX60                DALLAS                    TX
103478   5N1DL0MN1LC533696   Nissan       QX60                Des Moines                IA
103479   5N1DL0MN1LC533729   Nissan       QX60                Tulsa                     OK
103480   5N1DL0MN1LC533746   Nissan       QX60                DALLAS                    TX
103481   5N1DL0MN1LC533777   Nissan       QX60                DALLAS                    TX
103482   5N1DL0MN1LC533780   Nissan       QX60                TULSA                     OK
103483   5N1DL0MN1LC533844   Nissan       QX60                KANSAS CITY               MO
103484   5N1DL0MN1LC533861   Nissan       QX60                DALLAS                    TX
103485   5N1DL0MN1LC533875   Nissan       QX60                DALLAS                    TX
103486   5N1DL0MN1LC533889   Nissan       QX60                Dallas                    TX
103487   5N1DL0MN1LC533892   Nissan       QX60                DALLAS                    TX
103488   5N1DL0MN1LC533908   Nissan       QX60                KANSAS CITY               MO
103489   5N1DL0MN1LC533939   Nissan       QX60                KENNER                    LA
103490   5N1DL0MN2LC522562   Nissan       QX60                FORT MYERS                FL
103491   5N1DL0MN2LC523310   Nissan       QX60                WHITE PLAINS              NY
103492   5N1DL0MN2LC523548   Nissan       QX60                FORT MYERS                FL
103493   5N1DL0MN2LC523579   Nissan       QX60                Ft. Myers                 FL
103494   5N1DL0MN2LC523615   Nissan       QX60                FORT MYERS                FL
103495   5N1DL0MN2LC524988   Nissan       QX60                MIAMI                     FL
103496   5N1DL0MN2LC525025   Nissan       QX60                TUCSON                    AZ
103497   5N1DL0MN2LC525087   Nissan       QX60                SACRAMENTO                CA
103498   5N1DL0MN2LC525395   Nissan       QX60                KNOXVILLE                 TN
103499   5N1DL0MN2LC525977   Nissan       QX60                Atlanta                   GA
103500   5N1DL0MN2LC526028   Nissan       QX60                MIAMI                     FL
103501   5N1DL0MN2LC526059   Nissan       QX60                SAVANNAH                  GA
103502   5N1DL0MN2LC526188   Nissan       QX60                SAVANNAH                  GA
103503   5N1DL0MN2LC527311   Nissan       QX60                FORT LAUDERDALE           FL
103504   5N1DL0MN2LC527356   Nissan       QX60                SAN FRANCISCO             CA
103505   5N1DL0MN2LC527518   Nissan       QX60                FORT MYERS                FL
103506   5N1DL0MN2LC527616   Nissan       QX60                SAN JOSE                  CA
103507   5N1DL0MN2LC527647   Nissan       QX60                SAN FRANCISCO             CA
103508   5N1DL0MN2LC527664   Nissan       QX60                ORANGE COUNTY             CA
103509   5N1DL0MN2LC527678   Nissan       QX60                SACRAMENTO                CA
103510   5N1DL0MN2LC527714   Nissan       QX60                SAN FRANCISCO             CA
103511   5N1DL0MN2LC528054   Nissan       QX60                FORT MYERS                FL
103512   5N1DL0MN2LC528295   Nissan       QX60                TUCSON                    AZ
103513   5N1DL0MN2LC528460   Nissan       QX60                Costa Mesa                CA
103514   5N1DL0MN2LC528572   Nissan       QX60                SAN FRANCISCO             CA
103515   5N1DL0MN2LC528653   Nissan       QX60                SAN FRANCISCO             CA
103516   5N1DL0MN2LC528989   Nissan       QX60                LOUISVILLE                KY
103517   5N1DL0MN2LC529009   Nissan       QX60                LOUISVILLE                KY
103518   5N1DL0MN2LC529057   Nissan       QX60                AUSTIN                    TX
103519   5N1DL0MN2LC529060   Nissan       QX60                PHOENIX                   AZ
103520   5N1DL0MN2LC529219   Nissan       QX60                LOS ANGELES AP            CA
103521   5N1DL0MN2LC529236   Nissan       QX60                COSTA MESA                CA
103522   5N1DL0MN2LC529298   Nissan       QX60                LOS ANGELES               CA
103523   5N1DL0MN2LC529303   Nissan       QX60                SEATAC                    WA
103524   5N1DL0MN2LC529351   Nissan       QX60                SANTA ANA                 CA
103525   5N1DL0MN2LC529401   Nissan       QX60                DALLAS                    TX
103526   5N1DL0MN2LC529415   Nissan       QX60                FORT MYERS                FL
103527   5N1DL0MN2LC529513   Nissan       QX60                SANTA ANA                 CA
103528   5N1DL0MN2LC529561   Nissan       QX60                NEWARK                    NJ
103529   5N1DL0MN2LC529706   Nissan       QX60                PORTLAND                  OR
103530   5N1DL0MN2LC529737   Nissan       QX60                HANOVER                   MD
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103531   5N1DL0MN2LC529804   Nissan       QX60                KNOXVILLE                 TN
103532   5N1DL0MN2LC529849   Nissan       QX60                LOUISVILLE                KY
103533   5N1DL0MN2LC529852   Nissan       QX60                KNOXVILLE                 TN
103534   5N1DL0MN2LC529866   Nissan       QX60                LAS VEGAS                 NV
103535   5N1DL0MN2LC529902   Nissan       QX60                PHOENIX                   AZ
103536   5N1DL0MN2LC529933   Nissan       QX60                DENVER                    CO
103537   5N1DL0MN2LC530130   Nissan       QX60                KNOXVILLE                 TN
103538   5N1DL0MN2LC530239   Nissan       QX60                LOS ANGELES               CA
103539   5N1DL0MN2LC530354   Nissan       QX60                LOS ANGELES               CA
103540   5N1DL0MN2LC530371   Nissan       QX60                SAN JOSE                  CA
103541   5N1DL0MN2LC530418   Nissan       QX60                SANTA ANA                 CA
103542   5N1DL0MN2LC530466   Nissan       QX60                PALM SPRINGS              CA
103543   5N1DL0MN2LC530547   Nissan       QX60                ONTARIO                   CA
103544   5N1DL0MN2LC530550   Nissan       QX60                PHOENIX                   AZ
103545   5N1DL0MN2LC530564   Nissan       QX60                FORT MYERS                FL
103546   5N1DL0MN2LC530645   Nissan       QX60                PHOENIX                   AZ
103547   5N1DL0MN2LC530662   Nissan       QX60                FRESNO                    CA
103548   5N1DL0MN2LC530693   Nissan       QX60                PHOENIX                   AZ
103549   5N1DL0MN2LC530788   Nissan       QX60                PHOENIX                   AZ
103550   5N1DL0MN2LC530791   Nissan       QX60                SAN FRANCISCO             CA
103551   5N1DL0MN2LC530838   Nissan       QX60                LAS VEGAS                 NV
103552   5N1DL0MN2LC530841   Nissan       QX60                PALM SPRINGS              CA
103553   5N1DL0MN2LC531066   Nissan       QX60                OAKLAND                   CA
103554   5N1DL0MN2LC531147   Nissan       QX60                KNOXVILLE                 TN
103555   5N1DL0MN2LC531181   Nissan       QX60                SACRAMENTO                CA
103556   5N1DL0MN2LC531228   Nissan       QX60                WEST COLUMBIA             SC
103557   5N1DL0MN2LC531259   Nissan       QX60                AUSTIN                    TX
103558   5N1DL0MN2LC531262   Nissan       QX60                DALLAS                    TX
103559   5N1DL0MN2LC531455   Nissan       QX60                HOUSTON                   TX
103560   5N1DL0MN2LC531469   Nissan       QX60                ATLANTA                   GA
103561   5N1DL0MN2LC531472   Nissan       QX60                AUSTIN                    TX
103562   5N1DL0MN2LC531519   Nissan       QX60                LOS ANGELES               CA
103563   5N1DL0MN2LC531553   Nissan       QX60                AUSTIN                    TX
103564   5N1DL0MN2LC531617   Nissan       QX60                WEST PALM BEACH           FL
103565   5N1DL0MN2LC531715   Nissan       QX60                FORT LAUDERDALE           FL
103566   5N1DL0MN2LC531777   Nissan       QX60                OAKLAND                   CA
103567   5N1DL0MN2LC531780   Nissan       QX60                LAS VEGAS                 NV
103568   5N1DL0MN2LC531813   Nissan       QX60                CLEVELAND                 OH
103569   5N1DL0MN2LC532248   Nissan       QX60                RALEIGH                   NC
103570   5N1DL0MN2LC532265   Nissan       QX60                ATLANTA                   GA
103571   5N1DL0MN2LC532279   Nissan       QX60                WEST PALM BEACH           FL
103572   5N1DL0MN2LC532282   Nissan       QX60                PHILADELPHIA              PA
103573   5N1DL0MN2LC532296   Nissan       QX60                RALEIGH                   NC
103574   5N1DL0MN2LC532301   Nissan       QX60                GYPSUM                    CO
103575   5N1DL0MN2LC532315   Nissan       QX60                LOUISVILLE                KY
103576   5N1DL0MN2LC532329   Nissan       QX60                KNOXVILLE                 TN
103577   5N1DL0MN2LC532332   Nissan       QX60                HOUSTON                   TX
103578   5N1DL0MN2LC532394   Nissan       QX60                WEST PALM BEACH           FL
103579   5N1DL0MN2LC532427   Nissan       QX60                FORT LAUDERDALE           FL
103580   5N1DL0MN2LC532444   Nissan       QX60                CHARLOTTE                 US
103581   5N1DL0MN2LC532458   Nissan       QX60                ORLANDO                   FL
103582   5N1DL0MN2LC532489   Nissan       QX60                MIAMI                     FL
103583   5N1DL0MN2LC532508   Nissan       QX60                WEST PALM BEACH           FL
103584   5N1DL0MN2LC532525   Nissan       QX60                RONKONKOMA                NY
103585   5N1DL0MN2LC532539   Nissan       QX60                ALBUQERQUE                NM
103586   5N1DL0MN2LC532590   Nissan       QX60                WARWICK                   RI
103587   5N1DL0MN2LC532606   Nissan       QX60                BOSTON                    MA
103588   5N1DL0MN2LC532623   Nissan       QX60                ALBUQERQUE                NM
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103589   5N1DL0MN2LC532640   Nissan       QX60                KENNER                    LA
103590   5N1DL0MN2LC532654   Nissan       QX60                PENSACOLA                 FL
103591   5N1DL0MN2LC532668   Nissan       QX60                HOUSTON                   TX
103592   5N1DL0MN2LC532671   Nissan       QX60                PORTLAND                  ME
103593   5N1DL0MN2LC532699   Nissan       QX60                ALBUQERQUE                NM
103594   5N1DL0MN2LC532704   Nissan       QX60                ALBUQERQUE                NM
103595   5N1DL0MN2LC532718   Nissan       QX60                WARWICK                   RI
103596   5N1DL0MN2LC532721   Nissan       QX60                KANSAS CITY               US
103597   5N1DL0MN2LC532735   Nissan       QX60                ALBUQERQUE                NM
103598   5N1DL0MN2LC532752   Nissan       QX60                NEW ORLEANS               LA
103599   5N1DL0MN2LC532783   Nissan       QX60                MILWAUKEE                 WI
103600   5N1DL0MN2LC532797   Nissan       QX60                HOUSTON                   TX
103601   5N1DL0MN2LC532816   Nissan       QX60                CHARLOTTESVILLE           VA
103602   5N1DL0MN2LC532833   Nissan       QX60                HOUSTON                   TX
103603   5N1DL0MN2LC532847   Nissan       QX60                OKLAHOMA CITY             OK
103604   5N1DL0MN2LC532850   Nissan       QX60                HOUSTON                   TX
103605   5N1DL0MN2LC532864   Nissan       QX60                ALBANY                    N
103606   5N1DL0MN2LC532878   Nissan       QX60                DALLAS                    TX
103607   5N1DL0MN2LC532881   Nissan       QX60                TULSA                     OK
103608   5N1DL0MN2LC532895   Nissan       QX60                Dallas                    TX
103609   5N1DL0MN2LC532914   Nissan       QX60                DES MOINES                IA
103610   5N1DL0MN2LC532931   Nissan       QX60                HOUSTON                   TX
103611   5N1DL0MN2LC532945   Nissan       QX60                DALLAS                    TX
103612   5N1DL0MN2LC532962   Nissan       QX60                ALBUQERQUE                NM
103613   5N1DL0MN2LC532976   Nissan       QX60                ALBUQERQUE                NM
103614   5N1DL0MN2LC532993   Nissan       QX60                DALLAS                    TX
103615   5N1DL0MN2LC533013   Nissan       QX60                LAS VEGAS                 NV
103616   5N1DL0MN2LC533030   Nissan       QX60                LAS VEGAS                 NV
103617   5N1DL0MN2LC533044   Nissan       QX60                ALBUQERQUE                NM
103618   5N1DL0MN2LC533058   Nissan       QX60                LAS VEGAS                 NV
103619   5N1DL0MN2LC533061   Nissan       QX60                SAN ANTONIO               TX
103620   5N1DL0MN2LC533075   Nissan       QX60                TULSA                     OK
103621   5N1DL0MN2LC533089   Nissan       QX60                SAN ANTONIO               TX
103622   5N1DL0MN2LC533092   Nissan       QX60                TULSA                     OK
103623   5N1DL0MN2LC533111   Nissan       QX60                TULSA                     OK
103624   5N1DL0MN2LC533125   Nissan       QX60                AUSTIN                    TX
103625   5N1DL0MN2LC533139   Nissan       QX60                AUSTIN                    TX
103626   5N1DL0MN2LC533156   Nissan       QX60                TULSA                     OK
103627   5N1DL0MN2LC533643   Nissan       QX60                OAKLAND                   CA
103628   5N1DL0MN2LC533674   Nissan       QX60                ATLANTA                   GA
103629   5N1DL0MN2LC533691   Nissan       QX60                SAINT LOUIS               MO
103630   5N1DL0MN2LC533707   Nissan       QX60                KANSAS CITY               MO
103631   5N1DL0MN2LC533710   Nissan       QX60                DALLAS                    TX
103632   5N1DL0MN2LC533755   Nissan       QX60                BIRMINGHAM                AL
103633   5N1DL0MN2LC533853   Nissan       QX60                DALLAS                    TX
103634   5N1DL0MN2LC533867   Nissan       QX60                DALLAS                    TX
103635   5N1DL0MN2LC533870   Nissan       QX60                NORTH HILLS               CA
103636   5N1DL0MN2LC533884   Nissan       QX60                DALLAS                    TX
103637   5N1DL0MN2LC533898   Nissan       QX60                ST LOUIS                  MO
103638   5N1DL0MN2LC533903   Nissan       QX60                DALLAS                    TX
103639   5N1DL0MN2LC533917   Nissan       QX60                DALLAS                    TX
103640   5N1DL0MN3LC523574   Nissan       QX60                Miami                     FL
103641   5N1DL0MN3LC523624   Nissan       QX60                JACKSONVILLE              FL
103642   5N1DL0MN3LC524384   Nissan       QX60                UNION CITY                GA
103643   5N1DL0MN3LC524840   Nissan       QX60                SANTA ANA                 CA
103644   5N1DL0MN3LC524918   Nissan       QX60                SANTA ANA                 CA
103645   5N1DL0MN3LC524949   Nissan       QX60                FORT MYERS                FL
103646   5N1DL0MN3LC524983   Nissan       QX60                MIAMI                     FL
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103647   5N1DL0MN3LC525003   Nissan       QX60                ORLANDO                   FL
103648   5N1DL0MN3LC525230   Nissan       QX60                TUCSON                    AZ
103649   5N1DL0MN3LC525387   Nissan       QX60                TUCSON                    AZ
103650   5N1DL0MN3LC526054   Nissan       QX60                ORLANDO                   FL
103651   5N1DL0MN3LC526443   Nissan       QX60                MORRISVILLE               NC
103652   5N1DL0MN3LC526457   Nissan       QX60                CHARLESTON                SC
103653   5N1DL0MN3LC526555   Nissan       QX60                Atlanta                   GA
103654   5N1DL0MN3LC527317   Nissan       QX60                BURBANK                   CA
103655   5N1DL0MN3LC527687   Nissan       QX60                MIAMI                     FL
103656   5N1DL0MN3LC527737   Nissan       QX60                FORT MYERS                FL
103657   5N1DL0MN3LC527883   Nissan       QX60                SAN FRANCISCO             CA
103658   5N1DL0MN3LC527933   Nissan       QX60                SAN JOSE                  CA
103659   5N1DL0MN3LC528290   Nissan       QX60                LOS ANGELES               CA
103660   5N1DL0MN3LC528323   Nissan       QX60                PORTLAND                  OR
103661   5N1DL0MN3LC528466   Nissan       QX60                SAN JOSE                  CA
103662   5N1DL0MN3LC528516   Nissan       QX60                SAN FRANCISCO             CA
103663   5N1DL0MN3LC528533   Nissan       QX60                MIAMI                     FL
103664   5N1DL0MN3LC528581   Nissan       QX60                SAN FRANCISCO             CA
103665   5N1DL0MN3LC528791   Nissan       QX60                SAN FRANCISCO             CA
103666   5N1DL0MN3LC528838   Nissan       QX60                SAN JOSE                  CA
103667   5N1DL0MN3LC528855   Nissan       QX60                ONTARIO                   CA
103668   5N1DL0MN3LC528886   Nissan       QX60                SALT LAKE CITY            UT
103669   5N1DL0MN3LC528905   Nissan       QX60                LOS ANGELES               CA
103670   5N1DL0MN3LC528919   Nissan       QX60                FAYETTEVILLE              GA
103671   5N1DL0MN3LC529035   Nissan       QX60                LOS ANGELES AP            CA
103672   5N1DL0MN3LC529097   Nissan       QX60                KNOXVILLE                 TN
103673   5N1DL0MN3LC529200   Nissan       QX60                ORANGE COUNTY             CA
103674   5N1DL0MN3LC529214   Nissan       QX60                SACRAMENTO                CA
103675   5N1DL0MN3LC529231   Nissan       QX60                AUSTIN                    TX
103676   5N1DL0MN3LC529259   Nissan       QX60                SANTA ANA                 CA
103677   5N1DL0MN3LC529262   Nissan       QX60                LOS ANGELES               CA
103678   5N1DL0MN3LC529293   Nissan       QX60                SAN ANTONIO               TX
103679   5N1DL0MN3LC529407   Nissan       QX60                SAN FRANCISCO             CA
103680   5N1DL0MN3LC529438   Nissan       QX60                SAN FRANCISCO             CA
103681   5N1DL0MN3LC529472   Nissan       QX60                SAN FRANCISCO             CA
103682   5N1DL0MN3LC529486   Nissan       QX60                ORANGE COUNTY             CA
103683   5N1DL0MN3LC529570   Nissan       QX60                OAKLAND                   CA
103684   5N1DL0MN3LC529715   Nissan       QX60                LOS ANGELES               CA
103685   5N1DL0MN3LC529729   Nissan       QX60                PITTSBURGH                PA
103686   5N1DL0MN3LC529732   Nissan       QX60                OAKLAND                   CA
103687   5N1DL0MN3LC529746   Nissan       QX60                SOUTH SAN FRANC           CA
103688   5N1DL0MN3LC529794   Nissan       QX60                FORT MYERS                FL
103689   5N1DL0MN3LC529875   Nissan       QX60                SANTA ANA                 CA
103690   5N1DL0MN3LC529942   Nissan       QX60                LOS ANGELES               CA
103691   5N1DL0MN3LC529973   Nissan       QX60                PHOENIX                   AZ
103692   5N1DL0MN3LC529990   Nissan       QX60                TUCSON                    AZ
103693   5N1DL0MN3LC530184   Nissan       QX60                LAS VEGAS                 NV
103694   5N1DL0MN3LC530203   Nissan       QX60                HOUSTON                   TX
103695   5N1DL0MN3LC530217   Nissan       QX60                LOS ANGELES               CA
103696   5N1DL0MN3LC530329   Nissan       QX60                SANTA ANA                 CA
103697   5N1DL0MN3LC530380   Nissan       QX60                PHOENIX                   AZ
103698   5N1DL0MN3LC530413   Nissan       QX60                PALM SPRINGS              CA
103699   5N1DL0MN3LC530430   Nissan       QX60                LOS ANGELES               CA
103700   5N1DL0MN3LC530461   Nissan       QX60                AUSTIN                    TX
103701   5N1DL0MN3LC530475   Nissan       QX60                LOS ANGELES AP            CA
103702   5N1DL0MN3LC530539   Nissan       QX60                SANTA BARBARA             CA
103703   5N1DL0MN3LC530556   Nissan       QX60                LOS ANGELES               CA
103704   5N1DL0MN3LC530654   Nissan       QX60                SACRAMENTO                CA
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103705   5N1DL0MN3LC530668   Nissan       QX60                LOS ANGELES               CA
103706   5N1DL0MN3LC530704   Nissan       QX60                PHOENIX                   AZ
103707   5N1DL0MN3LC530881   Nissan       QX60                SAN FRANCISCO             CA
103708   5N1DL0MN3LC530945   Nissan       QX60                SAN JOSE                  CA
103709   5N1DL0MN3LC530993   Nissan       QX60                KNOXVILLE                 TN
103710   5N1DL0MN3LC531092   Nissan       QX60                COLUMBIA                  SC
103711   5N1DL0MN3LC531108   Nissan       QX60                JACKSONVILLE              FL
103712   5N1DL0MN3LC531206   Nissan       QX60                TAMPA                     FL
103713   5N1DL0MN3LC531223   Nissan       QX60                TAMPA                     FL
103714   5N1DL0MN3LC531237   Nissan       QX60                ORLANDO                   FL
103715   5N1DL0MN3LC531593   Nissan       QX60                SAN ANTONIO               TX
103716   5N1DL0MN3LC531674   Nissan       QX60                FORT MYERS                FL
103717   5N1DL0MN3LC531691   Nissan       QX60                FORT LAUDERDALE           FL
103718   5N1DL0MN3LC531707   Nissan       QX60                WEST PALM BEACH           FL
103719   5N1DL0MN3LC531738   Nissan       QX60                CHAMBLEE                  GA
103720   5N1DL0MN3LC531769   Nissan       QX60                LAS VEGAS                 NV
103721   5N1DL0MN3LC531786   Nissan       QX60                ALBUQUERQUE               NM
103722   5N1DL0MN3LC532257   Nissan       QX60                ATLANTA                   GA
103723   5N1DL0MN3LC532260   Nissan       QX60                BIRMINGHAN                AL
103724   5N1DL0MN3LC532274   Nissan       QX60                NASHVILLE                 TN
103725   5N1DL0MN3LC532288   Nissan       QX60                ATLANTA                   GA
103726   5N1DL0MN3LC532291   Nissan       QX60                UNION CITY                GA
103727   5N1DL0MN3LC532307   Nissan       QX60                KNOXVILLE                 TN
103728   5N1DL0MN3LC532310   Nissan       QX60                KNOXVILLE                 TN
103729   5N1DL0MN3LC532324   Nissan       QX60                NEW BERN                  NC
103730   5N1DL0MN3LC532338   Nissan       QX60                FORT LAUDERDALE           FL
103731   5N1DL0MN3LC532372   Nissan       QX60                DETROIT                   MI
103732   5N1DL0MN3LC532386   Nissan       QX60                WEST PALM BEACH           FL
103733   5N1DL0MN3LC532405   Nissan       QX60                TAMPA                     FL
103734   5N1DL0MN3LC532484   Nissan       QX60                FORT LAUDERDALE           FL
103735   5N1DL0MN3LC532498   Nissan       QX60                PHILADELPHIA              PA
103736   5N1DL0MN3LC532534   Nissan       QX60                FORT MYERS                FL
103737   5N1DL0MN3LC532551   Nissan       QX60                PHOENIX                   AZ
103738   5N1DL0MN3LC532582   Nissan       QX60                TUCSON                    AZ
103739   5N1DL0MN3LC532596   Nissan       QX60                LOS ANGELES               CA
103740   5N1DL0MN3LC532601   Nissan       QX60                BOSTON                    MA
103741   5N1DL0MN3LC532615   Nissan       QX60                ALBANY                    N
103742   5N1DL0MN3LC532629   Nissan       QX60                HOUSTON                   TX
103743   5N1DL0MN3LC532632   Nissan       QX60                MANHATTAN                 NY
103744   5N1DL0MN3LC532646   Nissan       QX60                NEW ORLEANS               LA
103745   5N1DL0MN3LC532680   Nissan       QX60                PHILADELPHIA              PA
103746   5N1DL0MN3LC532694   Nissan       QX60                LAS VEGAS                 NV
103747   5N1DL0MN3LC532713   Nissan       QX60                WICHITA FALLS             TX
103748   5N1DL0MN3LC532727   Nissan       QX60                HOUSTON                   TX
103749   5N1DL0MN3LC532730   Nissan       QX60                AUSTIN                    TX
103750   5N1DL0MN3LC532758   Nissan       QX60                HOUSTON                   TX
103751   5N1DL0MN3LC532761   Nissan       QX60                ALBUQERQUE                NM
103752   5N1DL0MN3LC532775   Nissan       QX60                KANSAS CITY               MO
103753   5N1DL0MN3LC532789   Nissan       QX60                SAINT LOUIS               MO
103754   5N1DL0MN3LC532792   Nissan       QX60                KANSAS CITY               MO
103755   5N1DL0MN3LC532808   Nissan       QX60                ALBUQUERQUE               NM
103756   5N1DL0MN3LC532811   Nissan       QX60                ALBUQERQUE                NM
103757   5N1DL0MN3LC532825   Nissan       QX60                ALBUQERQUE                NM
103758   5N1DL0MN3LC532842   Nissan       QX60                LAS VEGAS                 NV
103759   5N1DL0MN3LC532856   Nissan       QX60                HOUSTON                   TX
103760   5N1DL0MN3LC532873   Nissan       QX60                HOUSTON                   TX
103761   5N1DL0MN3LC532887   Nissan       QX60                HOUSTON                   TX
103762   5N1DL0MN3LC532890   Nissan       QX60                AUGUSTA                   GA
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103763   5N1DL0MN3LC532906   Nissan       QX60                DALLAS                    TX
103764   5N1DL0MN3LC532923   Nissan       QX60                TULSA                     OK
103765   5N1DL0MN3LC532937   Nissan       QX60                DALLAS                    TX
103766   5N1DL0MN3LC532940   Nissan       QX60                DALLAS                    TX
103767   5N1DL0MN3LC532954   Nissan       QX60                SAN ANTONIO               TX
103768   5N1DL0MN3LC532985   Nissan       QX60                Reno                      NV
103769   5N1DL0MN3LC532999   Nissan       QX60                DALLAS                    TX
103770   5N1DL0MN3LC533005   Nissan       QX60                HOUSTON                   TX
103771   5N1DL0MN3LC533022   Nissan       QX60                TULSA                     OK
103772   5N1DL0MN3LC533036   Nissan       QX60                ALBUQERQUE                NM
103773   5N1DL0MN3LC533053   Nissan       QX60                DALLAS                    TX
103774   5N1DL0MN3LC533067   Nissan       QX60                SAN ANTONIO               TX
103775   5N1DL0MN3LC533070   Nissan       QX60                NEWARK                    NJ
103776   5N1DL0MN3LC533084   Nissan       QX60                SAN ANTONIO               TX
103777   5N1DL0MN3LC533098   Nissan       QX60                ALBUQERQUE                NM
103778   5N1DL0MN3LC533117   Nissan       QX60                STERLING                  US
103779   5N1DL0MN3LC533120   Nissan       QX60                PENSACOLA                 FL
103780   5N1DL0MN3LC533148   Nissan       QX60                ALBUQERQUE                NM
103781   5N1DL0MN3LC533649   Nissan       QX60                ATLANTA                   GA
103782   5N1DL0MN3LC533683   Nissan       QX60                ATLANTA                   GA
103783   5N1DL0MN3LC533750   Nissan       QX60                INDIANAPOLIS              IN
103784   5N1DL0MN3LC533764   Nissan       QX60                INDIANAPOLIS              IN
103785   5N1DL0MN3LC533778   Nissan       QX60                HOUSTON                   TX
103786   5N1DL0MN3LC533814   Nissan       QX60                KENNER                    LA
103787   5N1DL0MN3LC533831   Nissan       QX60                NEW ORLEANS               LA
103788   5N1DL0MN3LC533859   Nissan       QX60                KANSAS CITY               MO
103789   5N1DL0MN3LC533862   Nissan       QX60                DALLAS                    TX
103790   5N1DL0MN3LC533893   Nissan       QX60                Dallas                    TX
103791   5N1DL0MN3LC533912   Nissan       QX60                HOUSTON                   TX
103792   5N1DL0MN3LC533926   Nissan       QX60                DALLAS                    TX
103793   5N1DL0MN3LC533960   Nissan       QX60                SAINT LOUIS               MO
103794   5N1DL0MN4LC523616   Nissan       QX60                MIAMI                     FL
103795   5N1DL0MN4LC523664   Nissan       QX60                JAMAICA                   NY
103796   5N1DL0MN4LC524829   Nissan       QX60                PHOENIX                   AZ
103797   5N1DL0MN4LC525057   Nissan       QX60                ORANGE COUNTY             CA
103798   5N1DL0MN4LC525091   Nissan       QX60                TUCSON                    AZ
103799   5N1DL0MN4LC525334   Nissan       QX60                KNOXVILLE                 TN
103800   5N1DL0MN4LC525379   Nissan       QX60                NASHVILLE                 TN
103801   5N1DL0MN4LC525981   Nissan       QX60                TAMPA                     FL
103802   5N1DL0MN4LC526029   Nissan       QX60                SARASOTA                  FL
103803   5N1DL0MN4LC526032   Nissan       QX60                STERLING                  VA
103804   5N1DL0MN4LC526192   Nissan       QX60                ORANGE COUNTY             CA
103805   5N1DL0MN4LC526497   Nissan       QX60                Atlanta                   GA
103806   5N1DL0MN4LC527052   Nissan       QX60                SAN FRANCISCO             CA
103807   5N1DL0MN4LC527648   Nissan       QX60                SEATAC                    WA
103808   5N1DL0MN4LC527763   Nissan       QX60                FORT MYERS                FL
103809   5N1DL0MN4LC527875   Nissan       QX60                TUCSON                    AZ
103810   5N1DL0MN4LC528346   Nissan       QX60                SAN JOSE                  CA
103811   5N1DL0MN4LC528363   Nissan       QX60                OAKLAND                   CA
103812   5N1DL0MN4LC528492   Nissan       QX60                TUCSON                    AZ
103813   5N1DL0MN4LC528511   Nissan       QX60                TUCSON                    AZ
103814   5N1DL0MN4LC528637   Nissan       QX60                SAN DIEGO                 CA
103815   5N1DL0MN4LC528640   Nissan       QX60                SACRAMENTO                CA
103816   5N1DL0MN4LC528766   Nissan       QX60                OAKLAND                   CA
103817   5N1DL0MN4LC528847   Nissan       QX60                LOS ANGELES               CA
103818   5N1DL0MN4LC528864   Nissan       QX60                LOS ANGELES               CA
103819   5N1DL0MN4LC528895   Nissan       QX60                FORT MYERS                FL
103820   5N1DL0MN4LC528945   Nissan       QX60                DENVER                    CO
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103821   5N1DL0MN4LC528959   Nissan       QX60                TULSA                     OK
103822   5N1DL0MN4LC528976   Nissan       QX60                PHOENIX                   AZ
103823   5N1DL0MN4LC529030   Nissan       QX60                TUCSON                    AZ
103824   5N1DL0MN4LC529089   Nissan       QX60                KNOXVILLE                 TN
103825   5N1DL0MN4LC529108   Nissan       QX60                RENO                      NV
103826   5N1DL0MN4LC529125   Nissan       QX60                SAN DIEGO                 CA
103827   5N1DL0MN4LC529142   Nissan       QX60                SAN FRANCISCO             CA
103828   5N1DL0MN4LC529190   Nissan       QX60                FORT MYERS                FL
103829   5N1DL0MN4LC529271   Nissan       QX60                SAN FRANCISCO             CA
103830   5N1DL0MN4LC529285   Nissan       QX60                LOS ANGELES               CA
103831   5N1DL0MN4LC529318   Nissan       QX60                ORANGE COUNTY             CA
103832   5N1DL0MN4LC529321   Nissan       QX60                ONTARIO, RIVERSIDE        CA
103833   5N1DL0MN4LC529383   Nissan       QX60                SAN JOSE                  CA
103834   5N1DL0MN4LC529609   Nissan       QX60                FORT LAUDERDALE           FL
103835   5N1DL0MN4LC529707   Nissan       QX60                OAKLAND                   CA
103836   5N1DL0MN4LC529710   Nissan       QX60                Irving                    TX
103837   5N1DL0MN4LC529741   Nissan       QX60                BOISE                     US
103838   5N1DL0MN4LC529819   Nissan       QX60                FORT MYERS                FL
103839   5N1DL0MN4LC529898   Nissan       QX60                SACRAMENTO                CA
103840   5N1DL0MN4LC529903   Nissan       QX60                PALM SPRINGS              CA
103841   5N1DL0MN4LC530016   Nissan       QX60                PHOENIX                   AZ
103842   5N1DL0MN4LC530033   Nissan       QX60                DENVER                    CO
103843   5N1DL0MN4LC530047   Nissan       QX60                SACRAMENTO                CA
103844   5N1DL0MN4LC530128   Nissan       QX60                PALM SPRINGS              CA
103845   5N1DL0MN4LC530131   Nissan       QX60                SAN DIEGO                 CA
103846   5N1DL0MN4LC530145   Nissan       QX60                LOS ANGELES               CA
103847   5N1DL0MN4LC530209   Nissan       QX60                SANTA ANA                 CA
103848   5N1DL0MN4LC530226   Nissan       QX60                NEWPORT BEACH             CA
103849   5N1DL0MN4LC530260   Nissan       QX60                SAN JOSE                  CA
103850   5N1DL0MN4LC530288   Nissan       QX60                SAN FRANCISCO             CA
103851   5N1DL0MN4LC530341   Nissan       QX60                PHOENIX                   AZ
103852   5N1DL0MN4LC530467   Nissan       QX60                LOS ANGELES               CA
103853   5N1DL0MN4LC530484   Nissan       QX60                HOUSTON                   TX
103854   5N1DL0MN4LC530551   Nissan       QX60                PALM SPRINGS              CA
103855   5N1DL0MN4LC530694   Nissan       QX60                PHOENIX                   AZ
103856   5N1DL0MN4LC530792   Nissan       QX60                OAKLAND                   CA
103857   5N1DL0MN4LC530825   Nissan       QX60                AUSTIN                    TX
103858   5N1DL0MN4LC530839   Nissan       QX60                FRESNO                    CA
103859   5N1DL0MN4LC530873   Nissan       QX60                PHOENIX                   AZ
103860   5N1DL0MN4LC530954   Nissan       QX60                OAKLAND                   CA
103861   5N1DL0MN4LC531103   Nissan       QX60                GREENVILLE                NC
103862   5N1DL0MN4LC531151   Nissan       QX60                FORT MYERS                FL
103863   5N1DL0MN4LC531165   Nissan       QX60                FRESNO                    CA
103864   5N1DL0MN4LC531179   Nissan       QX60                SAN DIEGO                 CA
103865   5N1DL0MN4LC531246   Nissan       QX60                ORLANDO                   FL
103866   5N1DL0MN4LC531330   Nissan       QX60                ATLANTA                   GA
103867   5N1DL0MN4LC531344   Nissan       QX60                HUNTSVILLE                AL
103868   5N1DL0MN4LC531358   Nissan       QX60                LAS VEGAS                 NV
103869   5N1DL0MN4LC531425   Nissan       QX60                Atlanta                   GA
103870   5N1DL0MN4LC531439   Nissan       QX60                CHARLOTTE                 NC
103871   5N1DL0MN4LC531487   Nissan       QX60                DALLAS                    TX
103872   5N1DL0MN4LC531537   Nissan       QX60                SAN FRANCISCO             CA
103873   5N1DL0MN4LC531621   Nissan       QX60                ATLANTA                   GA
103874   5N1DL0MN4LC531697   Nissan       QX60                FORT LAUDERDALE           FL
103875   5N1DL0MN4LC531747   Nissan       QX60                WEST PALM BEACH           FL
103876   5N1DL0MN4LC531778   Nissan       QX60                FORT MYERS                FL
103877   5N1DL0MN4LC532218   Nissan       QX60                DANIA BEACH               FL
103878   5N1DL0MN4LC532221   Nissan       QX60                JACKSONVILLE              FL
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103879   5N1DL0MN4LC532266   Nissan       QX60                OXFORD                    MS
103880   5N1DL0MN4LC532283   Nissan       QX60                NEWARK                    NJ
103881   5N1DL0MN4LC532297   Nissan       QX60                NASHVILLE                 TN
103882   5N1DL0MN4LC532302   Nissan       QX60                KNOXVILLE                 TN
103883   5N1DL0MN4LC532414   Nissan       QX60                ORLANDO                   FL
103884   5N1DL0MN4LC532445   Nissan       QX60                FORT LAUDERDALE           FL
103885   5N1DL0MN4LC532512   Nissan       QX60                FORT LAUDERDALE           FL
103886   5N1DL0MN4LC532526   Nissan       QX60                FORT LAUDERDALE           FL
103887   5N1DL0MN4LC532557   Nissan       QX60                WEST PALM BEACH           FL
103888   5N1DL0MN4LC532560   Nissan       QX60                TAMPA                     FL
103889   5N1DL0MN4LC532588   Nissan       QX60                ORLANDO                   FL
103890   5N1DL0MN4LC532591   Nissan       QX60                TUCSON                    AZ
103891   5N1DL0MN4LC532607   Nissan       QX60                PHILADELPHIA              PA
103892   5N1DL0MN4LC532610   Nissan       QX60                ALBUQERQUE                NM
103893   5N1DL0MN4LC532624   Nissan       QX60                NEWARK                    NJ
103894   5N1DL0MN4LC532638   Nissan       QX60                PROVIDENCE                RI
103895   5N1DL0MN4LC532686   Nissan       QX60                SALT LAKE CITY            UT
103896   5N1DL0MN4LC532705   Nissan       QX60                SAN ANTONIO               TX
103897   5N1DL0MN4LC532753   Nissan       QX60                LAS VEGAS                 NV
103898   5N1DL0MN4LC532767   Nissan       QX60                HOUSTON                   TX
103899   5N1DL0MN4LC532770   Nissan       QX60                HOUSTON                   TX
103900   5N1DL0MN4LC532784   Nissan       QX60                OMAHA                     NE
103901   5N1DL0MN4LC532798   Nissan       QX60                HOUSTON                   TX
103902   5N1DL0MN4LC532803   Nissan       QX60                KENNER                    LA
103903   5N1DL0MN4LC532817   Nissan       QX60                PHILADELPHIA              PA
103904   5N1DL0MN4LC532820   Nissan       QX60                ALBUQERQUE                NM
103905   5N1DL0MN4LC532834   Nissan       QX60                LAS VEGAS                 NV
103906   5N1DL0MN4LC532848   Nissan       QX60                SAN ANTONIO               TX
103907   5N1DL0MN4LC532851   Nissan       QX60                NEW YORK CITY             NY
103908   5N1DL0MN4LC532865   Nissan       QX60                Dallas                    TX
103909   5N1DL0MN4LC532879   Nissan       QX60                HOUSTON                   TX
103910   5N1DL0MN4LC532882   Nissan       QX60                DALLAS                    TX
103911   5N1DL0MN4LC532896   Nissan       QX60                SAN ANTONIO               TX
103912   5N1DL0MN4LC532901   Nissan       QX60                HOUSTON                   TX
103913   5N1DL0MN4LC532915   Nissan       QX60                PITTSBURGH                PA
103914   5N1DL0MN4LC532929   Nissan       QX60                HOUSTON                   TX
103915   5N1DL0MN4LC532932   Nissan       QX60                KENNER                    LA
103916   5N1DL0MN4LC532946   Nissan       QX60                OKLAHOMA CITY             OK
103917   5N1DL0MN4LC532977   Nissan       QX60                SAN ANTONIO               TX
103918   5N1DL0MN4LC532980   Nissan       QX60                SAN ANTONIO               TX
103919   5N1DL0MN4LC532994   Nissan       QX60                DALLAS                    TX
103920   5N1DL0MN4LC533000   Nissan       QX60                Tulsa                     OK
103921   5N1DL0MN4LC533014   Nissan       QX60                LAS VEGAS                 NV
103922   5N1DL0MN4LC533028   Nissan       QX60                TULSA                     OK
103923   5N1DL0MN4LC533031   Nissan       QX60                ALBUQERQUE                NM
103924   5N1DL0MN4LC533062   Nissan       QX60                LAS VEGAS                 NV
103925   5N1DL0MN4LC533076   Nissan       QX60                CORPUS CHRISTI            TX
103926   5N1DL0MN4LC533093   Nissan       QX60                SAN JOSE                  CA
103927   5N1DL0MN4LC533112   Nissan       QX60                OKLAHOMA CITY             OK
103928   5N1DL0MN4LC533126   Nissan       QX60                AUSTIN                    TX
103929   5N1DL0MN4LC533661   Nissan       QX60                TULSA                     OK
103930   5N1DL0MN4LC533675   Nissan       QX60                HOUSTON                   TX
103931   5N1DL0MN4LC533689   Nissan       QX60                ATLANTA                   GA
103932   5N1DL0MN4LC533692   Nissan       QX60                Kansas City               MO
103933   5N1DL0MN4LC533711   Nissan       QX60                SAINT LOUIS               MO
103934   5N1DL0MN4LC533742   Nissan       QX60                KANSAS CITY               MO
103935   5N1DL0MN4LC533790   Nissan       QX60                KANSAS CITY               MO
103936   5N1DL0MN4LC533837   Nissan       QX60                NEW ORLEANS               LA
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103937   5N1DL0MN4LC533840   Nissan       QX60                KENNER                    LA
103938   5N1DL0MN4LC533854   Nissan       QX60                KENNER                    LA
103939   5N1DL0MN4LC533868   Nissan       QX60                KENNER                    LA
103940   5N1DL0MN4LC533871   Nissan       QX60                PENSACOLA                 FL
103941   5N1DL0MN4LC533885   Nissan       QX60                DALLAS                    TX
103942   5N1DL0MN4LC533904   Nissan       QX60                Houston                   TX
103943   5N1DL0MN4LC533921   Nissan       QX60                DALLAS                    TX
103944   5N1DL0MN5LC523527   Nissan       QX60                Atlanta                   GA
103945   5N1DL0MN5LC523558   Nissan       QX60                FORT MYERS                FL
103946   5N1DL0MN5LC525102   Nissan       QX60                LOS ANGELES AP            CA
103947   5N1DL0MN5LC525195   Nissan       QX60                KNOXVILLE                 TN
103948   5N1DL0MN5LC525200   Nissan       QX60                NEWPORT BEACH             CA
103949   5N1DL0MN5LC525391   Nissan       QX60                CHARLESTON                WV
103950   5N1DL0MN5LC525424   Nissan       QX60                KNOXVILLE                 TN
103951   5N1DL0MN5LC525990   Nissan       QX60                MIAMI                     FL
103952   5N1DL0MN5LC526041   Nissan       QX60                RALIEGH                   NC
103953   5N1DL0MN5LC526170   Nissan       QX60                SANTA ANA                 CA
103954   5N1DL0MN5LC526203   Nissan       QX60                NORFOLK                   VA
103955   5N1DL0MN5LC527089   Nissan       QX60                SACRAMENTO                CA
103956   5N1DL0MN5LC527304   Nissan       QX60                WEST PALM BEACH           FL
103957   5N1DL0MN5LC527349   Nissan       QX60                SAN FRANCISCO             CA
103958   5N1DL0MN5LC527626   Nissan       QX60                SAN FRANCISCO             CA
103959   5N1DL0MN5LC527660   Nissan       QX60                West Palm Beach           FL
103960   5N1DL0MN5LC527819   Nissan       QX60                SOUTH SAN FRANC           CA
103961   5N1DL0MN5LC527920   Nissan       QX60                SAN FRANCISCO             CA
103962   5N1DL0MN5LC528050   Nissan       QX60                MIAMI                     FL
103963   5N1DL0MN5LC528324   Nissan       QX60                PHOENIX                   AZ
103964   5N1DL0MN5LC528338   Nissan       QX60                JACKSON                   MS
103965   5N1DL0MN5LC528484   Nissan       QX60                OAKLAND                   CA
103966   5N1DL0MN5LC528758   Nissan       QX60                SAN JOSE                  CA
103967   5N1DL0MN5LC528775   Nissan       QX60                SAN JOSE                  CA
103968   5N1DL0MN5LC528856   Nissan       QX60                KNOXVILLE                 TN
103969   5N1DL0MN5LC528890   Nissan       QX60                LOS ANGELES               CA
103970   5N1DL0MN5LC528940   Nissan       QX60                PHOENIX                   AZ
103971   5N1DL0MN5LC528985   Nissan       QX60                LOS ANGELES AP            CA
103972   5N1DL0MN5LC529036   Nissan       QX60                TUCSON                    AZ
103973   5N1DL0MN5LC529053   Nissan       QX60                DALLAS                    TX
103974   5N1DL0MN5LC529117   Nissan       QX60                PALM SPRINGS              CA
103975   5N1DL0MN5LC529134   Nissan       QX60                FRESNO                    CA
103976   5N1DL0MN5LC529165   Nissan       QX60                SAN FRANCISCO             CA
103977   5N1DL0MN5LC529277   Nissan       QX60                SAN DIEGO                 CA
103978   5N1DL0MN5LC529327   Nissan       QX60                FORT MYERS                FL
103979   5N1DL0MN5LC529330   Nissan       QX60                ORANGE COUNTY             CA
103980   5N1DL0MN5LC529361   Nissan       QX60                SAN FRANCISCO             CA
103981   5N1DL0MN5LC529375   Nissan       QX60                RENO                      NV
103982   5N1DL0MN5LC529389   Nissan       QX60                SAN DIEGO                 CA
103983   5N1DL0MN5LC529392   Nissan       QX60                SOUTH SAN FRANC           CA
103984   5N1DL0MN5LC529411   Nissan       QX60                SOUTH SAN FRANC           CA
103985   5N1DL0MN5LC529425   Nissan       QX60                SAN JOSE                  CA
103986   5N1DL0MN5LC529506   Nissan       QX60                albuquerque               nm
103987   5N1DL0MN5LC529523   Nissan       QX60                LOS ANGELES               CA
103988   5N1DL0MN5LC529571   Nissan       QX60                DALLAS                    TX
103989   5N1DL0MN5LC529697   Nissan       QX60                SAN JOSE                  CA
103990   5N1DL0MN5LC529702   Nissan       QX60                SAN JOSE                  CA
103991   5N1DL0MN5LC529747   Nissan       QX60                SANTA CLARA               CA
103992   5N1DL0MN5LC529750   Nissan       QX60                SAN FRANCISCO             CA
103993   5N1DL0MN5LC529859   Nissan       QX60                PHOENIX                   AZ
103994   5N1DL0MN5LC529862   Nissan       QX60                PHOENIX                   AZ
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103995   5N1DL0MN5LC529893   Nissan       QX60                PHOENIX                   AZ
103996   5N1DL0MN5LC529909   Nissan       QX60                PHOENIX                   AZ
103997   5N1DL0MN5LC529912   Nissan       QX60                PHOENIX                   AZ
103998   5N1DL0MN5LC529926   Nissan       QX60                PHOENIX                   AZ
103999   5N1DL0MN5LC530039   Nissan       QX60                PHOENIX                   AZ
104000   5N1DL0MN5LC530042   Nissan       QX60                FRESNO                    CA
104001   5N1DL0MN5LC530106   Nissan       QX60                DALLAS                    TX
104002   5N1DL0MN5LC530123   Nissan       QX60                SAN DIEGO                 CA
104003   5N1DL0MN5LC530137   Nissan       QX60                ALBUQUERQUE               NM
104004   5N1DL0MN5LC530185   Nissan       QX60                INDIANAPOLIS              IN
104005   5N1DL0MN5LC530204   Nissan       QX60                BURBANK                   CA
104006   5N1DL0MN5LC530218   Nissan       QX60                SAN DIEGO                 CA
104007   5N1DL0MN5LC530221   Nissan       QX60                BURBANK                   CA
104008   5N1DL0MN5LC530333   Nissan       QX60                SAN JOSE                  CA
104009   5N1DL0MN5LC530350   Nissan       QX60                PORTLAND                  OR
104010   5N1DL0MN5LC530462   Nissan       QX60                SAN DIEGO                 CA
104011   5N1DL0MN5LC530476   Nissan       QX60                LOS ANGELES               CA
104012   5N1DL0MN5LC530543   Nissan       QX60                SAN DIEGO                 CA
104013   5N1DL0MN5LC530669   Nissan       QX60                LOS ANGELES               CA
104014   5N1DL0MN5LC530672   Nissan       QX60                PHOENIX                   AZ
104015   5N1DL0MN5LC530686   Nissan       QX60                tustin                    ca
104016   5N1DL0MN5LC530753   Nissan       QX60                SAN DIEGO                 CA
104017   5N1DL0MN5LC530784   Nissan       QX60                PALM SPRINGS              CA
104018   5N1DL0MN5LC530834   Nissan       QX60                SAN DIEGO                 CA
104019   5N1DL0MN5LC530879   Nissan       QX60                SAN FRANCISCO             CA
104020   5N1DL0MN5LC530915   Nissan       QX60                CHARLESTON                SC
104021   5N1DL0MN5LC530929   Nissan       QX60                AUSTIN                    TX
104022   5N1DL0MN5LC530980   Nissan       QX60                FORT MYERS                FL
104023   5N1DL0MN5LC531000   Nissan       QX60                CHARLESTON                SC
104024   5N1DL0MN5LC531028   Nissan       QX60                CHARLESTON                SC
104025   5N1DL0MN5LC531031   Nissan       QX60                CHARLESTON                WV
104026   5N1DL0MN5LC531174   Nissan       QX60                SAN FRANCISCO             CA
104027   5N1DL0MN5LC531207   Nissan       QX60                SARASOTA                  FL
104028   5N1DL0MN5LC531210   Nissan       QX60                CHARLESTON                SC
104029   5N1DL0MN5LC531224   Nissan       QX60                JACKSONVILLE              FL
104030   5N1DL0MN5LC531241   Nissan       QX60                AUSTIN                    TX
104031   5N1DL0MN5LC531322   Nissan       QX60                Union City                GA
104032   5N1DL0MN5LC531465   Nissan       QX60                MIAMI                     FL
104033   5N1DL0MN5LC531529   Nissan       QX60                HOUSTON                   TX
104034   5N1DL0MN5LC531689   Nissan       QX60                TAMPA                     FL
104035   5N1DL0MN5LC531806   Nissan       QX60                FORT MYERS                FL
104036   5N1DL0MN5LC532261   Nissan       QX60                CHICAGO                   IL
104037   5N1DL0MN5LC532275   Nissan       QX60                CHARLESTON                SC
104038   5N1DL0MN5LC532289   Nissan       QX60                CHARLESTON                SC
104039   5N1DL0MN5LC532292   Nissan       QX60                KNOXVILLE                 TN
104040   5N1DL0MN5LC532308   Nissan       QX60                COLUMBIA                  SC
104041   5N1DL0MN5LC532325   Nissan       QX60                COLUMBIA                  SC
104042   5N1DL0MN5LC532387   Nissan       QX60                BALTIMORE                 MD
104043   5N1DL0MN5LC532437   Nissan       QX60                ORLANDO                   FL
104044   5N1DL0MN5LC532440   Nissan       QX60                CHARLOTTE                 NC
104045   5N1DL0MN5LC532468   Nissan       QX60                WEST PALM BEACH           FL
104046   5N1DL0MN5LC532485   Nissan       QX60                WEST PALM BEACH           FL
104047   5N1DL0MN5LC532552   Nissan       QX60                TALLAHASSEE               F
104048   5N1DL0MN5LC532583   Nissan       QX60                PHOENIX                   AZ
104049   5N1DL0MN5LC532616   Nissan       QX60                ALBUQERQUE                NM
104050   5N1DL0MN5LC532633   Nissan       QX60                HOUSTON                   TX
104051   5N1DL0MN5LC532678   Nissan       QX60                DETROIT                   MI
104052   5N1DL0MN5LC532695   Nissan       QX60                KENNER                    LA
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104053   5N1DL0MN5LC532700   Nissan       QX60                TULSA                     OK
104054   5N1DL0MN5LC532714   Nissan       QX60                BOSTON                    MA
104055   5N1DL0MN5LC532728   Nissan       QX60                HOUSTON                   TX
104056   5N1DL0MN5LC532745   Nissan       QX60                ALBUQERQUE                NM
104057   5N1DL0MN5LC532759   Nissan       QX60                TULSA                     OK
104058   5N1DL0MN5LC532762   Nissan       QX60                ALBUQERQUE                NM
104059   5N1DL0MN5LC532776   Nissan       QX60                SAINT LOUIS               MO
104060   5N1DL0MN5LC532809   Nissan       QX60                LAS VEGAS                 NV
104061   5N1DL0MN5LC532812   Nissan       QX60                Longmont                  CO
104062   5N1DL0MN5LC532826   Nissan       QX60                HARTFORD                  CT
104063   5N1DL0MN5LC532843   Nissan       QX60                HOUSTON                   TX
104064   5N1DL0MN5LC532857   Nissan       QX60                HOUSTON                   TX
104065   5N1DL0MN5LC532860   Nissan       QX60                LAS VEGAS                 NV
104066   5N1DL0MN5LC532874   Nissan       QX60                HOUSTON                   TX
104067   5N1DL0MN5LC532888   Nissan       QX60                Tulsa                     OK
104068   5N1DL0MN5LC532891   Nissan       QX60                DALLAS                    TX
104069   5N1DL0MN5LC532907   Nissan       QX60                NEW YORK CITY             NY
104070   5N1DL0MN5LC532910   Nissan       QX60                DALLAS                    TX
104071   5N1DL0MN5LC532924   Nissan       QX60                SAN ANTONIO               TX
104072   5N1DL0MN5LC532938   Nissan       QX60                DALLAS                    TX
104073   5N1DL0MN5LC532941   Nissan       QX60                AUSTIN                    TX
104074   5N1DL0MN5LC532955   Nissan       QX60                ALBUQUERQUE               NM
104075   5N1DL0MN5LC532969   Nissan       QX60                DETROIT                   MI
104076   5N1DL0MN5LC532986   Nissan       QX60                SAN ANTONIO               TX
104077   5N1DL0MN5LC533006   Nissan       QX60                DALLAS                    TX
104078   5N1DL0MN5LC533023   Nissan       QX60                DURYEA                    PA
104079   5N1DL0MN5LC533037   Nissan       QX60                LAS VEGAS                 NV
104080   5N1DL0MN5LC533040   Nissan       QX60                ALBUQERQUE                NM
104081   5N1DL0MN5LC533068   Nissan       QX60                SAN ANTONIO               TX
104082   5N1DL0MN5LC533071   Nissan       QX60                DALLAS                    TX
104083   5N1DL0MN5LC533085   Nissan       QX60                LAS VEGAS                 NV
104084   5N1DL0MN5LC533099   Nissan       QX60                DALLAS                    TX
104085   5N1DL0MN5LC533118   Nissan       QX60                ALBANY                    N
104086   5N1DL0MN5LC533121   Nissan       QX60                Tulsa                     OK
104087   5N1DL0MN5LC533135   Nissan       QX60                KENNER                    LA
104088   5N1DL0MN5LC533152   Nissan       QX60                TULSA                     OK
104089   5N1DL0MN5LC533653   Nissan       QX60                Atlanta                   GA
104090   5N1DL0MN5LC533667   Nissan       QX60                HOUSTON                   TX
104091   5N1DL0MN5LC533684   Nissan       QX60                ATLANTA                   GA
104092   5N1DL0MN5LC533703   Nissan       QX60                KANSAS CITY               MO
104093   5N1DL0MN5LC533720   Nissan       QX60                KENNER                    LA
104094   5N1DL0MN5LC533734   Nissan       QX60                CHICAGO                   IL
104095   5N1DL0MN5LC533751   Nissan       QX60                SAINT LOUIS               MO
104096   5N1DL0MN5LC533796   Nissan       QX60                KANSAS CITY               MO
104097   5N1DL0MN5LC533863   Nissan       QX60                DALLAS                    TX
104098   5N1DL0MN5LC533877   Nissan       QX60                DALLAS                    TX
104099   5N1DL0MN5LC533880   Nissan       QX60                DALLAS                    TX
104100   5N1DL0MN5LC533894   Nissan       QX60                DALLAS                    TX
104101   5N1DL0MN5LC533913   Nissan       QX60                KENNER                    LA
104102   5N1DL0MN5LC533944   Nissan       QX60                DALLAS                    TX
104103   5N1DL0MN5LC533961   Nissan       QX60                DALLAS                    TX
104104   5N1DL0MN6LC523309   Nissan       QX60                SALT LAKE CITY            US
104105   5N1DL0MN6LC523519   Nissan       QX60                GYPSUM                    CO
104106   5N1DL0MN6LC524671   Nissan       QX60                Tampa                     FL
104107   5N1DL0MN6LC525223   Nissan       QX60                TUCSON                    AZ
104108   5N1DL0MN6LC526016   Nissan       QX60                WEST PALM BEACH           FL
104109   5N1DL0MN6LC526033   Nissan       QX60                ORLANDO                   FL
104110   5N1DL0MN6LC526162   Nissan       QX60                CHARLESTON                SC
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104111   5N1DL0MN6LC526176   Nissan       QX60                KNOXVILLE                 TN
104112   5N1DL0MN6LC526226   Nissan       QX60                CHARLOTTE                 NC
104113   5N1DL0MN6LC526436   Nissan       QX60                CHARLESTON                SC
104114   5N1DL0MN6LC526534   Nissan       QX60                SAVANNAH                  GA
104115   5N1DL0MN6LC526596   Nissan       QX60                ATLANTA                   GA
104116   5N1DL0MN6LC527330   Nissan       QX60                ORLANDO                   FL
104117   5N1DL0MN6LC527599   Nissan       QX60                SAN JOSE                  CA
104118   5N1DL0MN6LC527652   Nissan       QX60                SAN FRANCISCO             CA
104119   5N1DL0MN6LC527795   Nissan       QX60                FORT MYERS                FL
104120   5N1DL0MN6LC528042   Nissan       QX60                SAN FRANCISCO             CA
104121   5N1DL0MN6LC528106   Nissan       QX60                SAN FRANCISCO             CA
104122   5N1DL0MN6LC528283   Nissan       QX60                HEBRON                    KY
104123   5N1DL0MN6LC528509   Nissan       QX60                ONTARIO                   CA
104124   5N1DL0MN6LC528610   Nissan       QX60                SAN FRANCISCO             CA
104125   5N1DL0MN6LC528803   Nissan       QX60                LOS ANGELES               CA
104126   5N1DL0MN6LC528980   Nissan       QX60                KNOXVILLE                 TN
104127   5N1DL0MN6LC528994   Nissan       QX60                PHOENIX                   AZ
104128   5N1DL0MN6LC529014   Nissan       QX60                ATLANTA                   GA
104129   5N1DL0MN6LC529188   Nissan       QX60                FRESNO                    CA
104130   5N1DL0MN6LC529210   Nissan       QX60                SACRAMENTO                CA
104131   5N1DL0MN6LC529269   Nissan       QX60                PALM SPRINGS              CA
104132   5N1DL0MN6LC529272   Nissan       QX60                SANTA ANA                 CA
104133   5N1DL0MN6LC529305   Nissan       QX60                SAN DIEGO                 CA
104134   5N1DL0MN6LC529448   Nissan       QX60                SACRAMENTO                CA
104135   5N1DL0MN6LC529465   Nissan       QX60                SAN ANTONIO               TX
104136   5N1DL0MN6LC529546   Nissan       QX60                SAN DIEGO                 CA
104137   5N1DL0MN6LC529563   Nissan       QX60                ONTARIO                   CA
104138   5N1DL0MN6LC529577   Nissan       QX60                SACRAMENTO                CA
104139   5N1DL0MN6LC529580   Nissan       QX60                LOS ANGELES               CA
104140   5N1DL0MN6LC529613   Nissan       QX60                PITTSBURGH                PA
104141   5N1DL0MN6LC529871   Nissan       QX60                PHOENIX                   AZ
104142   5N1DL0MN6LC529918   Nissan       QX60                Dallas                    TX
104143   5N1DL0MN6LC529935   Nissan       QX60                LAS VEGAS                 NV
104144   5N1DL0MN6LC530003   Nissan       QX60                PHOENIX                   AZ
104145   5N1DL0MN6LC530017   Nissan       QX60                PHOENIX                   AZ
104146   5N1DL0MN6LC530132   Nissan       QX60                SAN DIEGO                 CA
104147   5N1DL0MN6LC530146   Nissan       QX60                LOS ANGELES AP            CA
104148   5N1DL0MN6LC530194   Nissan       QX60                LOS ANGELES               CA
104149   5N1DL0MN6LC530227   Nissan       QX60                PHOENIX                   AZ
104150   5N1DL0MN6LC530292   Nissan       QX60                SAN JOSE                  CA
104151   5N1DL0MN6LC530311   Nissan       QX60                MIAMI                     FL
104152   5N1DL0MN6LC530356   Nissan       QX60                PROVIDENCE                RI
104153   5N1DL0MN6LC530387   Nissan       QX60                SALT LAKE CITY            UT
104154   5N1DL0MN6LC530390   Nissan       QX60                CHICAGO                   IL
104155   5N1DL0MN6LC530440   Nissan       QX60                PHOENIX                   AZ
104156   5N1DL0MN6LC530468   Nissan       QX60                SACRAMENTO                CA
104157   5N1DL0MN6LC530535   Nissan       QX60                ORANGE COUNTY             CA
104158   5N1DL0MN6LC530647   Nissan       QX60                SANTA ANA                 CA
104159   5N1DL0MN6LC530650   Nissan       QX60                FORT MYERS                FL
104160   5N1DL0MN6LC530681   Nissan       QX60                AUSTIN                    TX
104161   5N1DL0MN6LC530695   Nissan       QX60                PHOENIX                   AZ
104162   5N1DL0MN6LC530731   Nissan       QX60                PHOENIX                   AZ
104163   5N1DL0MN6LC530745   Nissan       QX60                PHOENIX                   AZ
104164   5N1DL0MN6LC530888   Nissan       QX60                WEST COLUMBIA             SC
104165   5N1DL0MN6LC530986   Nissan       QX60                JACKSONVILLE              FL
104166   5N1DL0MN6LC531068   Nissan       QX60                LOS ANGELES               CA
104167   5N1DL0MN6LC531071   Nissan       QX60                SACRAMENTO                CA
104168   5N1DL0MN6LC531104   Nissan       QX60                MIAMI                     FL
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104169   5N1DL0MN6LC531118   Nissan       QX60                CHARLESTON                SC
104170   5N1DL0MN6LC531135   Nissan       QX60                COLUMBIA                  SC
104171   5N1DL0MN6LC531314   Nissan       QX60                BUFORD                    GA
104172   5N1DL0MN6LC531412   Nissan       QX60                KENNER                    LA
104173   5N1DL0MN6LC531457   Nissan       QX60                ATLANTA                   GA
104174   5N1DL0MN6LC531538   Nissan       QX60                AUSTIN                    TX
104175   5N1DL0MN6LC531555   Nissan       QX60                SAN ANTONIO               TX
104176   5N1DL0MN6LC531734   Nissan       QX60                PENSACOLA                 FL
104177   5N1DL0MN6LC531779   Nissan       QX60                FORT MYERS                FL
104178   5N1DL0MN6LC531815   Nissan       QX60                RALIEGH                   NC
104179   5N1DL0MN6LC532253   Nissan       QX60                KNOXVILLE                 TN
104180   5N1DL0MN6LC532270   Nissan       QX60                CHARLESTON                SC
104181   5N1DL0MN6LC532284   Nissan       QX60                Atlanta                   GA
104182   5N1DL0MN6LC532298   Nissan       QX60                Atlanta                   GA
104183   5N1DL0MN6LC532303   Nissan       QX60                BIRMINGHAM                AL
104184   5N1DL0MN6LC532320   Nissan       QX60                GREENVILLE                NC
104185   5N1DL0MN6LC532401   Nissan       QX60                ORLANDO                   FL
104186   5N1DL0MN6LC532415   Nissan       QX60                LOS ANGELES               CA
104187   5N1DL0MN6LC532429   Nissan       QX60                MIAMI                     FL
104188   5N1DL0MN6LC532446   Nissan       QX60                Miami                     FL
104189   5N1DL0MN6LC532480   Nissan       QX60                MIAMI                     FL
104190   5N1DL0MN6LC532494   Nissan       QX60                FORT LAUDERDALE           FL
104191   5N1DL0MN6LC532513   Nissan       QX60                FORT LAUDERDALE           FL
104192   5N1DL0MN6LC532530   Nissan       QX60                WEST PALM BEACH           FL
104193   5N1DL0MN6LC532558   Nissan       QX60                FORT LAUDERDALE           FL
104194   5N1DL0MN6LC532561   Nissan       QX60                TAMPA                     FL
104195   5N1DL0MN6LC532592   Nissan       QX60                PHOENIX                   AZ
104196   5N1DL0MN6LC532611   Nissan       QX60                SACRAMENTO                CA
104197   5N1DL0MN6LC532625   Nissan       QX60                LAS VEGAS                 NV
104198   5N1DL0MN6LC532639   Nissan       QX60                HOUSTON                   TX
104199   5N1DL0MN6LC532642   Nissan       QX60                KENNER                    LA
104200   5N1DL0MN6LC532687   Nissan       QX60                ALBUQERQUE                NM
104201   5N1DL0MN6LC532690   Nissan       QX60                ALBUQUERQUE               NM
104202   5N1DL0MN6LC532706   Nissan       QX60                Houston                   TX
104203   5N1DL0MN6LC532723   Nissan       QX60                KANSAS CITY               MO
104204   5N1DL0MN6LC532737   Nissan       QX60                ALBUQUERQUE               NM
104205   5N1DL0MN6LC532740   Nissan       QX60                TULSA                     OK
104206   5N1DL0MN6LC532768   Nissan       QX60                HOUSTON                   TX
104207   5N1DL0MN6LC532771   Nissan       QX60                HOUSTON                   TX
104208   5N1DL0MN6LC532785   Nissan       QX60                HOUSTON                   TX
104209   5N1DL0MN6LC532799   Nissan       QX60                HOUSTON                   TX
104210   5N1DL0MN6LC532804   Nissan       QX60                SALT LAKE CITY            US
104211   5N1DL0MN6LC532818   Nissan       QX60                STERLING                  VA
104212   5N1DL0MN6LC532835   Nissan       QX60                DALLAS                    TX
104213   5N1DL0MN6LC532849   Nissan       QX60                HOUSTON                   TX
104214   5N1DL0MN6LC532852   Nissan       QX60                BOSTON                    MA
104215   5N1DL0MN6LC532866   Nissan       QX60                TULSA                     OK
104216   5N1DL0MN6LC532883   Nissan       QX60                HOUSTON                   TX
104217   5N1DL0MN6LC532897   Nissan       QX60                DALLAS                    TX
104218   5N1DL0MN6LC532902   Nissan       QX60                SAN ANTONIO               TX
104219   5N1DL0MN6LC532916   Nissan       QX60                GRAND RAPIDS              MI
104220   5N1DL0MN6LC532933   Nissan       QX60                HOUSTON                   TX
104221   5N1DL0MN6LC532947   Nissan       QX60                HOUSTON                   TX
104222   5N1DL0MN6LC532950   Nissan       QX60                Dallas                    TX
104223   5N1DL0MN6LC532978   Nissan       QX60                ALBANY                    N
104224   5N1DL0MN6LC532981   Nissan       QX60                ALBANY                    N
104225   5N1DL0MN6LC532995   Nissan       QX60                DALLAS                    TX
104226   5N1DL0MN6LC533001   Nissan       QX60                OKLAHOMA CITY             OK
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104227   5N1DL0MN6LC533015   Nissan       QX60                ALBANY                    N
104228   5N1DL0MN6LC533029   Nissan       QX60                albuquerque               nm
104229   5N1DL0MN6LC533032   Nissan       QX60                LAS VEGAS                 NV
104230   5N1DL0MN6LC533046   Nissan       QX60                ALBUQERQUE                NM
104231   5N1DL0MN6LC533063   Nissan       QX60                CHICAGO                   IL
104232   5N1DL0MN6LC533077   Nissan       QX60                KANSAS CITY               MO
104233   5N1DL0MN6LC533094   Nissan       QX60                SAN ANTONIO               TX
104234   5N1DL0MN6LC533127   Nissan       QX60                CORPUS CHRISTI            TX
104235   5N1DL0MN6LC533130   Nissan       QX60                JACKSON                   MS
104236   5N1DL0MN6LC533161   Nissan       QX60                TULSA                     OK
104237   5N1DL0MN6LC533757   Nissan       QX60                OKLAHOMA CITY             OK
104238   5N1DL0MN6LC533774   Nissan       QX60                OKLAHOMA CITY HLE         OK
104239   5N1DL0MN6LC533824   Nissan       QX60                DALLAS                    TX
104240   5N1DL0MN6LC533869   Nissan       QX60                NEW ORLEANS               LA
104241   5N1DL0MN6LC533886   Nissan       QX60                DALLAS                    TX
104242   5N1DL0MN6LC533905   Nissan       QX60                DALLAS                    TX
104243   5N1DL0MN6LC533919   Nissan       QX60                HOUSTON                   TX
104244   5N1DL0MN7LC522637   Nissan       QX60                AUSTIN                    TX
104245   5N1DL0MN7LC523318   Nissan       QX60                Dallas                    TX
104246   5N1DL0MN7LC523559   Nissan       QX60                JACKSONVILLE              FL
104247   5N1DL0MN7LC523626   Nissan       QX60                PROVIDENCE                RI
104248   5N1DL0MN7LC524954   Nissan       QX60                ORLANDO                   FL
104249   5N1DL0MN7LC525084   Nissan       QX60                Tolleson                  AZ
104250   5N1DL0MN7LC525196   Nissan       QX60                KNOXVILLE                 TN
104251   5N1DL0MN7LC525425   Nissan       QX60                MEMPHIS                   TN
104252   5N1DL0MN7LC525649   Nissan       QX60                SANTA ANA                 CA
104253   5N1DL0MN7LC525991   Nissan       QX60                MIAMI                     FL
104254   5N1DL0MN7LC526025   Nissan       QX60                JACKSONVILLE              FL
104255   5N1DL0MN7LC526039   Nissan       QX60                Phoenix                   AZ
104256   5N1DL0MN7LC526235   Nissan       QX60                TUCSON                    AZ
104257   5N1DL0MN7LC526526   Nissan       QX60                SANTA ANA                 CA
104258   5N1DL0MN7LC526736   Nissan       QX60                NASHVILLE                 TN
104259   5N1DL0MN7LC527045   Nissan       QX60                ORLANDO                   FL
104260   5N1DL0MN7LC527062   Nissan       QX60                WEST PALM BEACH           FL
104261   5N1DL0MN7LC527336   Nissan       QX60                SACRAMENTO                CA
104262   5N1DL0MN7LC527370   Nissan       QX60                WEST PALM BEACH           FL
104263   5N1DL0MN7LC527935   Nissan       QX60                SACRAMENTO                CA
104264   5N1DL0MN7LC528289   Nissan       QX60                SAN JOSE                  CA
104265   5N1DL0MN7LC528292   Nissan       QX60                SACRAMENTO                CA
104266   5N1DL0MN7LC528521   Nissan       QX60                PHOENIX                   AZ
104267   5N1DL0MN7LC528812   Nissan       QX60                LOS ANGELES               CA
104268   5N1DL0MN7LC528860   Nissan       QX60                SAN JOSE                  CA
104269   5N1DL0MN7LC529068   Nissan       QX60                PALM SPRINGS              CA
104270   5N1DL0MN7LC529085   Nissan       QX60                SAN DIEGO                 CA
104271   5N1DL0MN7LC529104   Nissan       QX60                OAKLAND                   CA
104272   5N1DL0MN7LC529202   Nissan       QX60                OAKLAND                   CA
104273   5N1DL0MN7LC529264   Nissan       QX60                SAN DIEGO                 CA
104274   5N1DL0MN7LC529362   Nissan       QX60                SACRAMENTO                CA
104275   5N1DL0MN7LC529409   Nissan       QX60                RENO                      NV
104276   5N1DL0MN7LC529460   Nissan       QX60                SAN FRANCISCO             CA
104277   5N1DL0MN7LC529491   Nissan       QX60                LOS ANGELES AP            CA
104278   5N1DL0MN7LC529524   Nissan       QX60                CHICAGO                   IL
104279   5N1DL0MN7LC529541   Nissan       QX60                LOS ANGELES               CA
104280   5N1DL0MN7LC529703   Nissan       QX60                SAN JOSE                  CA
104281   5N1DL0MN7LC529720   Nissan       QX60                HEBRON                    KY
104282   5N1DL0MN7LC529748   Nissan       QX60                SACRAMENTO                CA
104283   5N1DL0MN7LC529782   Nissan       QX60                NASHVILLE                 TN
104284   5N1DL0MN7LC529880   Nissan       QX60                PHOENIX                   AZ
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104285   5N1DL0MN7LC529930   Nissan       QX60                SANTA ANA                 CA
104286   5N1DL0MN7LC529975   Nissan       QX60                PHOENIX                   AZ
104287   5N1DL0MN7LC530043   Nissan       QX60                SAN DIEGO                 CA
104288   5N1DL0MN7LC530107   Nissan       QX60                ORANGE COUNTY             CA
104289   5N1DL0MN7LC530110   Nissan       QX60                PHOENIX                   AZ
104290   5N1DL0MN7LC530138   Nissan       QX60                PALM SPRINGS              CA
104291   5N1DL0MN7LC530186   Nissan       QX60                ORANGE COUNTY             CA
104292   5N1DL0MN7LC530236   Nissan       QX60                LOS ANGELES               CA
104293   5N1DL0MN7LC530303   Nissan       QX60                SAN FRANCISCO             CA
104294   5N1DL0MN7LC530429   Nissan       QX60                SANTA ANA                 CA
104295   5N1DL0MN7LC530432   Nissan       QX60                LAS VEGAS                 NV
104296   5N1DL0MN7LC530463   Nissan       QX60                SACRAMENTO                CA
104297   5N1DL0MN7LC530561   Nissan       QX60                SAN JOSE                  CA
104298   5N1DL0MN7LC530575   Nissan       QX60                FORT MYERS                FL
104299   5N1DL0MN7LC530656   Nissan       QX60                PHOENIX                   AZ
104300   5N1DL0MN7LC530706   Nissan       QX60                SACRAMENTO                CA
104301   5N1DL0MN7LC530785   Nissan       QX60                BURBANK                   CA
104302   5N1DL0MN7LC530835   Nissan       QX60                SAN FRANCISCO             CA
104303   5N1DL0MN7LC530978   Nissan       QX60                FORT MYERS                FL
104304   5N1DL0MN7LC530995   Nissan       QX60                KNOXVILLE                 TN
104305   5N1DL0MN7LC531113   Nissan       QX60                WEST COLUMBIA             SC
104306   5N1DL0MN7LC531242   Nissan       QX60                AUSTIN                    TX
104307   5N1DL0MN7LC531306   Nissan       QX60                AUSTIN                    TX
104308   5N1DL0MN7LC531368   Nissan       QX60                SAN JOSE                  CA
104309   5N1DL0MN7LC531533   Nissan       QX60                AUSTIN                    TX
104310   5N1DL0MN7LC531547   Nissan       QX60                AUSTIN                    TX
104311   5N1DL0MN7LC531614   Nissan       QX60                Atlanta                   GA
104312   5N1DL0MN7LC531709   Nissan       QX60                Ft. Myers                 FL
104313   5N1DL0MN7LC531743   Nissan       QX60                FORT LAUDERDALE           FL
104314   5N1DL0MN7LC531757   Nissan       QX60                DALLAS                    TX
104315   5N1DL0MN7LC531760   Nissan       QX60                LAS VEGAS                 NV
104316   5N1DL0MN7LC531774   Nissan       QX60                HOUSTON                   TX
104317   5N1DL0MN7LC531788   Nissan       QX60                Atlanta                   GA
104318   5N1DL0MN7LC531810   Nissan       QX60                FORT MYERS                FL
104319   5N1DL0MN7LC532214   Nissan       QX60                DES MOINES                IA
104320   5N1DL0MN7LC532245   Nissan       QX60                ORLANDO                   FL
104321   5N1DL0MN7LC532259   Nissan       QX60                MEMPHIS                   TN
104322   5N1DL0MN7LC532262   Nissan       QX60                MEMPHIS                   TN
104323   5N1DL0MN7LC532276   Nissan       QX60                LEXINGTON                 KY
104324   5N1DL0MN7LC532293   Nissan       QX60                CHARLESTON                SC
104325   5N1DL0MN7LC532312   Nissan       QX60                CHAMBLEE                  GA
104326   5N1DL0MN7LC532326   Nissan       QX60                NASHVILLE                 TN
104327   5N1DL0MN7LC532360   Nissan       QX60                WEST PALM BEACH           FL
104328   5N1DL0MN7LC532374   Nissan       QX60                CHARLOTTE                 NC
104329   5N1DL0MN7LC532388   Nissan       QX60                DALLAS                    TX
104330   5N1DL0MN7LC532441   Nissan       QX60                FORT MYERS                FL
104331   5N1DL0MN7LC532486   Nissan       QX60                WEST PALM BEACH           FL
104332   5N1DL0MN7LC532505   Nissan       QX60                SAINT LOUIS               MO
104333   5N1DL0MN7LC532522   Nissan       QX60                DALLAS                    TX
104334   5N1DL0MN7LC532536   Nissan       QX60                ORLANDO                   FL
104335   5N1DL0MN7LC532553   Nissan       QX60                BOSTON                    MA
104336   5N1DL0MN7LC532584   Nissan       QX60                TUCSON                    AZ
104337   5N1DL0MN7LC532603   Nissan       QX60                ALBUQERQUE                NM
104338   5N1DL0MN7LC532617   Nissan       QX60                SALT LAKE CITY            US
104339   5N1DL0MN7LC532634   Nissan       QX60                HOUSTON                   TX
104340   5N1DL0MN7LC532648   Nissan       QX60                KENNER                    LA
104341   5N1DL0MN7LC532651   Nissan       QX60                JACKSON                   MS
104342   5N1DL0MN7LC532665   Nissan       QX60                JACKSON                   MS
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104343   5N1DL0MN7LC532679   Nissan       QX60                RICHMOND                  VA
104344   5N1DL0MN7LC532696   Nissan       QX60                Tulsa                     OK
104345   5N1DL0MN7LC532701   Nissan       QX60                LAS VEGAS                 NV
104346   5N1DL0MN7LC532729   Nissan       QX60                HOUSTON                   TX
104347   5N1DL0MN7LC532732   Nissan       QX60                WHITE PLAINS              NY
104348   5N1DL0MN7LC532763   Nissan       QX60                TULSA                     OK
104349   5N1DL0MN7LC532777   Nissan       QX60                SAINT LOUIS               MO
104350   5N1DL0MN7LC532794   Nissan       QX60                DALLAS                    TX
104351   5N1DL0MN7LC532813   Nissan       QX60                ALBUQERQUE                NM
104352   5N1DL0MN7LC532827   Nissan       QX60                HOUSTON                   TX
104353   5N1DL0MN7LC532830   Nissan       QX60                GYPSUM                    CO
104354   5N1DL0MN7LC532844   Nissan       QX60                Irving                    TX
104355   5N1DL0MN7LC532858   Nissan       QX60                DALLAS                    TX
104356   5N1DL0MN7LC532861   Nissan       QX60                HOUSTON                   TX
104357   5N1DL0MN7LC532875   Nissan       QX60                KANSAS CITY               MO
104358   5N1DL0MN7LC532889   Nissan       QX60                HOUSTON                   TX
104359   5N1DL0MN7LC532892   Nissan       QX60                HOUSTON                   TX
104360   5N1DL0MN7LC532908   Nissan       QX60                HOUSTON                   TX
104361   5N1DL0MN7LC532911   Nissan       QX60                HOUSTON                   TX
104362   5N1DL0MN7LC532925   Nissan       QX60                AUSTIN                    TX
104363   5N1DL0MN7LC532939   Nissan       QX60                Dallas                    TX
104364   5N1DL0MN7LC532942   Nissan       QX60                DALLAS                    TX
104365   5N1DL0MN7LC532956   Nissan       QX60                DALLAS                    TX
104366   5N1DL0MN7LC532987   Nissan       QX60                TULSA                     OK
104367   5N1DL0MN7LC532990   Nissan       QX60                TULSA                     OK
104368   5N1DL0MN7LC533007   Nissan       QX60                TULSA                     OK
104369   5N1DL0MN7LC533010   Nissan       QX60                AUSTIN                    TX
104370   5N1DL0MN7LC533024   Nissan       QX60                DALLAS                    TX
104371   5N1DL0MN7LC533041   Nissan       QX60                ALBUQERQUE                NM
104372   5N1DL0MN7LC533055   Nissan       QX60                ALBANY                    N
104373   5N1DL0MN7LC533069   Nissan       QX60                JAMAICA                   NY
104374   5N1DL0MN7LC533072   Nissan       QX60                SAN ANTONIO               TX
104375   5N1DL0MN7LC533086   Nissan       QX60                AUSTIN                    TX
104376   5N1DL0MN7LC533119   Nissan       QX60                TULSA                     OK
104377   5N1DL0MN7LC533122   Nissan       QX60                SAN ANTONIO               TX
104378   5N1DL0MN7LC533640   Nissan       QX60                ATLANTA                   GA
104379   5N1DL0MN7LC533654   Nissan       QX60                Atlanta                   GA
104380   5N1DL0MN7LC533668   Nissan       QX60                ATLANTA                   GA
104381   5N1DL0MN7LC533721   Nissan       QX60                ALEXANDRIA                LA
104382   5N1DL0MN7LC533735   Nissan       QX60                Tulsa                     OK
104383   5N1DL0MN7LC533752   Nissan       QX60                LAS VEGAS                 NV
104384   5N1DL0MN7LC533766   Nissan       QX60                INDIANAPOLIS              IN
104385   5N1DL0MN7LC533783   Nissan       QX60                KANSAS CITY               MO
104386   5N1DL0MN7LC533850   Nissan       QX60                DALLAS                    TX
104387   5N1DL0MN7LC533864   Nissan       QX60                GRAND RAPIDS              MI
104388   5N1DL0MN7LC533878   Nissan       QX60                DALLAS                    TX
104389   5N1DL0MN7LC533881   Nissan       QX60                DALLAS                    TX
104390   5N1DL0MN7LC533900   Nissan       QX60                HOUSTON                   TX
104391   5N1DL0MN7LC533914   Nissan       QX60                DALLAS                    TX
104392   5N1DL0MN8LC522565   Nissan       QX60                CHICAGO                   IL
104393   5N1DL0MN8LC523618   Nissan       QX60                FORT LAUDERDALE           FL
104394   5N1DL0MN8LC524882   Nissan       QX60                TUCSON                    AZ
104395   5N1DL0MN8LC525126   Nissan       QX60                ORANGE COUNTY             CA
104396   5N1DL0MN8LC525157   Nissan       QX60                Downey                    CA
104397   5N1DL0MN8LC525434   Nissan       QX60                KNOXVILLE                 TN
104398   5N1DL0MN8LC526003   Nissan       QX60                WEST PALM BEACH           FL
104399   5N1DL0MN8LC526034   Nissan       QX60                FORT LAUDERDALE           FL
104400   5N1DL0MN8LC526258   Nissan       QX60                SANTA ANA                 CA
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104401   5N1DL0MN8LC526468   Nissan       QX60                TUCSON                    AZ
104402   5N1DL0MN8LC527720   Nissan       QX60                SAN FRANCISCO             CA
104403   5N1DL0MN8LC527846   Nissan       QX60                MIAMI                     FL
104404   5N1DL0MN8LC528043   Nissan       QX60                ORLANDO                   FL
104405   5N1DL0MN8LC528267   Nissan       QX60                SAN FRANCISCO             CA
104406   5N1DL0MN8LC528298   Nissan       QX60                SANTA BARBARA             CA
104407   5N1DL0MN8LC528589   Nissan       QX60                SACRAMENTO                CA
104408   5N1DL0MN8LC528611   Nissan       QX60                SAN FRANCISCO             CA
104409   5N1DL0MN8LC528849   Nissan       QX60                PALM SPRINGS              CA
104410   5N1DL0MN8LC528852   Nissan       QX60                ONTARIO                   CA
104411   5N1DL0MN8LC528883   Nissan       QX60                KNOXVILLE                 TN
104412   5N1DL0MN8LC528933   Nissan       QX60                TUCSON                    AZ
104413   5N1DL0MN8LC528947   Nissan       QX60                INDIANAPOLIS              IN
104414   5N1DL0MN8LC528978   Nissan       QX60                MEMPHIS                   TN
104415   5N1DL0MN8LC528995   Nissan       QX60                NASHVILLE                 TN
104416   5N1DL0MN8LC529063   Nissan       QX60                SAN DIEGO                 CA
104417   5N1DL0MN8LC529080   Nissan       QX60                NASHVILLE                 TN
104418   5N1DL0MN8LC529127   Nissan       QX60                ORANGE COUNTY             CA
104419   5N1DL0MN8LC529144   Nissan       QX60                FORT MYERS                FL
104420   5N1DL0MN8LC529208   Nissan       QX60                SANTA ANA                 CA
104421   5N1DL0MN8LC529225   Nissan       QX60                SAN DIEGO                 CA
104422   5N1DL0MN8LC529340   Nissan       QX60                SAN DIEGO                 CA
104423   5N1DL0MN8LC529385   Nissan       QX60                OAKLAND                   CA
104424   5N1DL0MN8LC529435   Nissan       QX60                CHARLESTON                SC
104425   5N1DL0MN8LC529466   Nissan       QX60                Irving                    TX
104426   5N1DL0MN8LC529581   Nissan       QX60                Hebron                    KY
104427   5N1DL0MN8LC529600   Nissan       QX60                KNOXVILLE                 TN
104428   5N1DL0MN8LC529709   Nissan       QX60                SAN FRANCISCO             CA
104429   5N1DL0MN8LC529712   Nissan       QX60                SACRAMENTO                CA
104430   5N1DL0MN8LC529743   Nissan       QX60                OAKLAND                   CA
104431   5N1DL0MN8LC529905   Nissan       QX60                SALT LAKE CITY            US
104432   5N1DL0MN8LC530133   Nissan       QX60                INGLEWOOD                 CA
104433   5N1DL0MN8LC530150   Nissan       QX60                PHOENIX                   AZ
104434   5N1DL0MN8LC530178   Nissan       QX60                SAN FRANCISCO             CA
104435   5N1DL0MN8LC530245   Nissan       QX60                LOS ANGELES               CA
104436   5N1DL0MN8LC530259   Nissan       QX60                SARASOTA                  FL
104437   5N1DL0MN8LC530360   Nissan       QX60                SAN DIEGO                 CA
104438   5N1DL0MN8LC530455   Nissan       QX60                PHOENIX                   AZ
104439   5N1DL0MN8LC530486   Nissan       QX60                LOS ANGELES               CA
104440   5N1DL0MN8LC530536   Nissan       QX60                PALM SPRINGS              CA
104441   5N1DL0MN8LC530553   Nissan       QX60                SAN FRANCISCO             CA
104442   5N1DL0MN8LC530651   Nissan       QX60                Scottsdale                AZ
104443   5N1DL0MN8LC530701   Nissan       QX60                MIAMI                     FL
104444   5N1DL0MN8LC530763   Nissan       QX60                BURBANK                   CA
104445   5N1DL0MN8LC530780   Nissan       QX60                LOS ANGELES               CA
104446   5N1DL0MN8LC530794   Nissan       QX60                ORANGE COUNTY             CA
104447   5N1DL0MN8LC530861   Nissan       QX60                PHOENIX                   AZ
104448   5N1DL0MN8LC531122   Nissan       QX60                CHARLESTON                SC
104449   5N1DL0MN8LC531279   Nissan       QX60                BURLINGAME                CA
104450   5N1DL0MN8LC531296   Nissan       QX60                DALLAS                    TX
104451   5N1DL0MN8LC531542   Nissan       QX60                AUSTIN                    TX
104452   5N1DL0MN8LC531587   Nissan       QX60                ORLANDO                   FL
104453   5N1DL0MN8LC531606   Nissan       QX60                ORLANDO                   FL
104454   5N1DL0MN8LC531637   Nissan       QX60                GREENSBORO                NC
104455   5N1DL0MN8LC531704   Nissan       QX60                SACRAMENTO                CA
104456   5N1DL0MN8LC531735   Nissan       QX60                LAS VEGAS                 NV
104457   5N1DL0MN8LC531783   Nissan       QX60                LAS VEGAS                 NV
104458   5N1DL0MN8LC532206   Nissan       QX60                TAMPA                     US
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104459   5N1DL0MN8LC532223   Nissan       QX60                WEST PALM BEACH           FL
104460   5N1DL0MN8LC532254   Nissan       QX60                STERLING                  VA
104461   5N1DL0MN8LC532268   Nissan       QX60                CHARLESTON                SC
104462   5N1DL0MN8LC532271   Nissan       QX60                CHARLESTON                SC
104463   5N1DL0MN8LC532299   Nissan       QX60                NASHVILLE                 TN
104464   5N1DL0MN8LC532304   Nissan       QX60                CHARLESTON                SC
104465   5N1DL0MN8LC532321   Nissan       QX60                ATLANTA                   GA
104466   5N1DL0MN8LC532352   Nissan       QX60                WEST PALM BEACH           FL
104467   5N1DL0MN8LC532450   Nissan       QX60                FORT LAUDERDALE           FL
104468   5N1DL0MN8LC532478   Nissan       QX60                FORT MYERS                FL
104469   5N1DL0MN8LC532495   Nissan       QX60                WEST PALM BEACH           FL
104470   5N1DL0MN8LC532500   Nissan       QX60                ATLANTA                   GA
104471   5N1DL0MN8LC532531   Nissan       QX60                FORT MYERS                FL
104472   5N1DL0MN8LC532545   Nissan       QX60                PHOENIX                   AZ
104473   5N1DL0MN8LC532559   Nissan       QX60                KENNER                    LA
104474   5N1DL0MN8LC532576   Nissan       QX60                GYPSUM                    CO
104475   5N1DL0MN8LC532626   Nissan       QX60                JACKSON                   MS
104476   5N1DL0MN8LC532660   Nissan       QX60                KENNER                    LA
104477   5N1DL0MN8LC532674   Nissan       QX60                SACRAMENTO                CA
104478   5N1DL0MN8LC532688   Nissan       QX60                LAS VEGAS                 NV
104479   5N1DL0MN8LC532691   Nissan       QX60                ALBANY                    N
104480   5N1DL0MN8LC532707   Nissan       QX60                HOUSTON                   TX
104481   5N1DL0MN8LC532710   Nissan       QX60                PHILADELPHIA              US
104482   5N1DL0MN8LC532724   Nissan       QX60                KANSAS CITY               MO
104483   5N1DL0MN8LC532738   Nissan       QX60                OKLAHOMA CITY             OK
104484   5N1DL0MN8LC532741   Nissan       QX60                LAS VEGAS                 NV
104485   5N1DL0MN8LC532769   Nissan       QX60                HOUSTON                   TX
104486   5N1DL0MN8LC532772   Nissan       QX60                HOUSTON                   TX
104487   5N1DL0MN8LC532819   Nissan       QX60                NEW ORLEANS               LA
104488   5N1DL0MN8LC532822   Nissan       QX60                BOSTON                    MA
104489   5N1DL0MN8LC532836   Nissan       QX60                CHICAGO                   IL
104490   5N1DL0MN8LC532853   Nissan       QX60                BOSTON                    MA
104491   5N1DL0MN8LC532867   Nissan       QX60                HOUSTON                   TX
104492   5N1DL0MN8LC532870   Nissan       QX60                DALLAS                    TX
104493   5N1DL0MN8LC532884   Nissan       QX60                HOUSTON                   TX
104494   5N1DL0MN8LC532898   Nissan       QX60                HOUSTON                   TX
104495   5N1DL0MN8LC532903   Nissan       QX60                HOUSTON                   TX
104496   5N1DL0MN8LC532917   Nissan       QX60                WEST PALM BEACH           FL
104497   5N1DL0MN8LC532920   Nissan       QX60                ST. ROBERT                MO
104498   5N1DL0MN8LC532934   Nissan       QX60                HOUSTON                   TX
104499   5N1DL0MN8LC532948   Nissan       QX60                TULSA                     OK
104500   5N1DL0MN8LC532951   Nissan       QX60                DALLAS                    TX
104501   5N1DL0MN8LC532979   Nissan       QX60                SAN ANTONIO               TX
104502   5N1DL0MN8LC532982   Nissan       QX60                SAN ANTONIO               TX
104503   5N1DL0MN8LC532996   Nissan       QX60                Tulsa                     OK
104504   5N1DL0MN8LC533016   Nissan       QX60                HOUSTON                   TX
104505   5N1DL0MN8LC533047   Nissan       QX60                LAS VEGAS                 NV
104506   5N1DL0MN8LC533064   Nissan       QX60                HOUSTON                   TX
104507   5N1DL0MN8LC533078   Nissan       QX60                AUSTIN                    TX
104508   5N1DL0MN8LC533114   Nissan       QX60                WICHITA FALLS             TX
104509   5N1DL0MN8LC533128   Nissan       QX60                TULSA                     OK
104510   5N1DL0MN8LC533646   Nissan       QX60                KENNER                    LA
104511   5N1DL0MN8LC533663   Nissan       QX60                Tulsa                     OK
104512   5N1DL0MN8LC533677   Nissan       QX60                Houston                   TX
104513   5N1DL0MN8LC533680   Nissan       QX60                DALLAS                    TX
104514   5N1DL0MN8LC533694   Nissan       QX60                ATLANTA                   GA
104515   5N1DL0MN8LC533713   Nissan       QX60                KANSAS CITY               MO
104516   5N1DL0MN8LC533727   Nissan       QX60                ATLANTA                   GA
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104517   5N1DL0MN8LC533730   Nissan       QX60                TULSA                     OK
104518   5N1DL0MN8LC533744   Nissan       QX60                MILWAUKEE                 WI
104519   5N1DL0MN8LC533758   Nissan       QX60                DALLAS                    TX
104520   5N1DL0MN8LC533808   Nissan       QX60                ORLANDO                   FL
104521   5N1DL0MN8LC533842   Nissan       QX60                SAINT LOUIS               MO
104522   5N1DL0MN8LC533856   Nissan       QX60                Dallas                    TX
104523   5N1DL0MN8LC533873   Nissan       QX60                DALLAS                    TX
104524   5N1DL0MN8LC533887   Nissan       QX60                DALLAS                    TX
104525   5N1DL0MN8LC533890   Nissan       QX60                DFW AIRPORT               TX
104526   5N1DL0MN8LC533906   Nissan       QX60                DALLAS                    TX
104527   5N1DL0MN8LC533923   Nissan       QX60                DALLAS                    TX
104528   5N1DL0MN9LC523515   Nissan       QX60                BOSTON                    MA
104529   5N1DL0MN9LC523594   Nissan       QX60                ORLANDO                   FL
104530   5N1DL0MN9LC525118   Nissan       QX60                SANTA ANA                 CA
104531   5N1DL0MN9LC525152   Nissan       QX60                KNOXVILLE                 TN
104532   5N1DL0MN9LC525393   Nissan       QX60                NASHVILLE                 TN
104533   5N1DL0MN9LC525412   Nissan       QX60                KNOXVILLE                 TN
104534   5N1DL0MN9LC525989   Nissan       QX60                FORT LAUDERDALE           FL
104535   5N1DL0MN9LC526186   Nissan       QX60                FORT MYERS                FL
104536   5N1DL0MN9LC526205   Nissan       QX60                BLOOMINGTON               IL
104537   5N1DL0MN9LC526513   Nissan       QX60                PHOENIX                   AZ
104538   5N1DL0MN9LC526544   Nissan       QX60                UNION CITY                GA
104539   5N1DL0MN9LC527337   Nissan       QX60                LAS VEGAS                 NV
104540   5N1DL0MN9LC527449   Nissan       QX60                KNOXVILLE                 TN
104541   5N1DL0MN9LC527838   Nissan       QX60                TAMPA                     FL
104542   5N1DL0MN9LC527905   Nissan       QX60                SAN JOSE                  CA
104543   5N1DL0MN9LC528018   Nissan       QX60                SAN FRANCISCO             CA
104544   5N1DL0MN9LC528312   Nissan       QX60                TUCSON                    AZ
104545   5N1DL0MN9LC528326   Nissan       QX60                Phoenix                   AZ
104546   5N1DL0MN9LC528486   Nissan       QX60                SAN FRANCISCO             CA
104547   5N1DL0MN9LC528570   Nissan       QX60                OAKLAND                   CA
104548   5N1DL0MN9LC528598   Nissan       QX60                TAMPA                     FL
104549   5N1DL0MN9LC528813   Nissan       QX60                SAN FRANCISCO             CA
104550   5N1DL0MN9LC528830   Nissan       QX60                SAN DIEGO                 CA
104551   5N1DL0MN9LC528956   Nissan       QX60                MILWAUKEE                 WI
104552   5N1DL0MN9LC529055   Nissan       QX60                SANTA ANA                 CA
104553   5N1DL0MN9LC529086   Nissan       QX60                EL SEGUNDO                CA
104554   5N1DL0MN9LC529119   Nissan       QX60                SAN JOSE                  CA
104555   5N1DL0MN9LC529122   Nissan       QX60                LOS ANGELES               CA
104556   5N1DL0MN9LC529136   Nissan       QX60                SACRAMENTO                CA
104557   5N1DL0MN9LC529170   Nissan       QX60                SAN FRANCISCO             CA
104558   5N1DL0MN9LC529198   Nissan       QX60                DETROIT                   MI
104559   5N1DL0MN9LC529234   Nissan       QX60                NEW ORLEANS               LA
104560   5N1DL0MN9LC529248   Nissan       QX60                Ft. Myers                 FL
104561   5N1DL0MN9LC529282   Nissan       QX60                PHOENIX                   AZ
104562   5N1DL0MN9LC529296   Nissan       QX60                SALT LAKE CITY            US
104563   5N1DL0MN9LC529301   Nissan       QX60                LOS ANGELES               CA
104564   5N1DL0MN9LC529346   Nissan       QX60                SALT LAKE CITY            UT
104565   5N1DL0MN9LC529394   Nissan       QX60                PHOENIX                   AZ
104566   5N1DL0MN9LC529413   Nissan       QX60                SAN FRANCISCO             CA
104567   5N1DL0MN9LC529427   Nissan       QX60                SAN JOSE                  CA
104568   5N1DL0MN9LC529492   Nissan       QX60                LOS ANGELES               CA
104569   5N1DL0MN9LC529590   Nissan       QX60                SOUTH BEND                IN
104570   5N1DL0MN9LC529637   Nissan       QX60                FORT MYERS                FL
104571   5N1DL0MN9LC529640   Nissan       QX60                KNOXVILLE                 TN
104572   5N1DL0MN9LC529699   Nissan       QX60                SACRAMENTO                CA
104573   5N1DL0MN9LC529718   Nissan       QX60                SACRAMENTO                CA
104574   5N1DL0MN9LC529735   Nissan       QX60                SACRAMENTO                CA
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104575   5N1DL0MN9LC529749   Nissan       QX60                LOS ANGELES               CA
104576   5N1DL0MN9LC529847   Nissan       QX60                MEMPHIS                   TN
104577   5N1DL0MN9LC529878   Nissan       QX60                PHOENIX                   AZ
104578   5N1DL0MN9LC529976   Nissan       QX60                SACRAMENTO                CA
104579   5N1DL0MN9LC530013   Nissan       QX60                PHOENIX                   AZ
104580   5N1DL0MN9LC530027   Nissan       QX60                PHOENIX                   AZ
104581   5N1DL0MN9LC530044   Nissan       QX60                PHOENIX                   AZ
104582   5N1DL0MN9LC530173   Nissan       QX60                HOUSTON                   TX
104583   5N1DL0MN9LC530268   Nissan       QX60                PITTSBURGH                PA
104584   5N1DL0MN9LC530545   Nissan       QX60                ORANGE COUNTY             CA
104585   5N1DL0MN9LC530559   Nissan       QX60                PALM SPRINGS              CA
104586   5N1DL0MN9LC530657   Nissan       QX60                TAMPA                     FL
104587   5N1DL0MN9LC530660   Nissan       QX60                ORANGE COUNTY             CA
104588   5N1DL0MN9LC530691   Nissan       QX60                PHOENIX                   AZ
104589   5N1DL0MN9LC530769   Nissan       QX60                SANTA ANA                 CA
104590   5N1DL0MN9LC530786   Nissan       QX60                NEWPORT BEACH             CA
104591   5N1DL0MN9LC530836   Nissan       QX60                SAN FRANCISCO             CA
104592   5N1DL0MN9LC530884   Nissan       QX60                SAN FRANCISCO             CA
104593   5N1DL0MN9LC530948   Nissan       QX60                AUSTIN                    TX
104594   5N1DL0MN9LC531081   Nissan       QX60                SAN JOSE                  CA
104595   5N1DL0MN9LC531095   Nissan       QX60                WEST COLUMBIA             SC
104596   5N1DL0MN9LC531209   Nissan       QX60                DETROIT                   MI
104597   5N1DL0MN9LC531212   Nissan       QX60                CHARLESTON                SC
104598   5N1DL0MN9LC531274   Nissan       QX60                SAN FRANCISCO             CA
104599   5N1DL0MN9LC531291   Nissan       QX60                Atlanta                   GA
104600   5N1DL0MN9LC531405   Nissan       QX60                LIHUE                     HI
104601   5N1DL0MN9LC531467   Nissan       QX60                SAN ANTONIO               TX
104602   5N1DL0MN9LC531517   Nissan       QX60                DENVER                    CO
104603   5N1DL0MN9LC531534   Nissan       QX60                LOS ANGELES               CA
104604   5N1DL0MN9LC531596   Nissan       QX60                CHICAGO                   IL
104605   5N1DL0MN9LC531615   Nissan       QX60                AUSTIN                    TX
104606   5N1DL0MN9LC531632   Nissan       QX60                SAN ANTONIO               TX
104607   5N1DL0MN9LC531694   Nissan       QX60                FORT MYERS                FL
104608   5N1DL0MN9LC531727   Nissan       QX60                FT. LAUDERDALE            FL
104609   5N1DL0MN9LC531758   Nissan       QX60                FORT MYERS                FL
104610   5N1DL0MN9LC531761   Nissan       QX60                AUSTIN                    TX
104611   5N1DL0MN9LC532263   Nissan       QX60                CHARLESTON                SC
104612   5N1DL0MN9LC532277   Nissan       QX60                COLLEGE PARK              GA
104613   5N1DL0MN9LC532280   Nissan       QX60                ATLANTA                   GA
104614   5N1DL0MN9LC532294   Nissan       QX60                WILMINGTON                NC
104615   5N1DL0MN9LC532313   Nissan       QX60                KNOXVILLE                 TN
104616   5N1DL0MN9LC532327   Nissan       QX60                CHAMBLEE                  GA
104617   5N1DL0MN9LC532330   Nissan       QX60                CHARLOTTE                 US
104618   5N1DL0MN9LC532392   Nissan       QX60                KANSAS CITY               MO
104619   5N1DL0MN9LC532442   Nissan       QX60                WEST PALM BEACH           FL
104620   5N1DL0MN9LC532523   Nissan       QX60                CHARLOTTE                 NC
104621   5N1DL0MN9LC532537   Nissan       QX60                SCRANTON                  PA
104622   5N1DL0MN9LC532540   Nissan       QX60                FORT MYERS                FL
104623   5N1DL0MN9LC532554   Nissan       QX60                NEW ORLEANS               LA
104624   5N1DL0MN9LC532618   Nissan       QX60                LAS VEGAS                 NV
104625   5N1DL0MN9LC532621   Nissan       QX60                ALBUQERQUE                NM
104626   5N1DL0MN9LC532635   Nissan       QX60                HOUSTON                   TX
104627   5N1DL0MN9LC532652   Nissan       QX60                KENNER                    LA
104628   5N1DL0MN9LC532697   Nissan       QX60                ALBUQERQUE                NM
104629   5N1DL0MN9LC532716   Nissan       QX60                PORTLAND                  ME
104630   5N1DL0MN9LC532733   Nissan       QX60                TULSA                     OK
104631   5N1DL0MN9LC532747   Nissan       QX60                ALBUQUERQUE               NM
104632   5N1DL0MN9LC532750   Nissan       QX60                TULSA                     OK
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104633   5N1DL0MN9LC532764   Nissan       QX60                ALBUQUERQUE               NM
104634   5N1DL0MN9LC532778   Nissan       QX60                KANSAS CITY               MO
104635   5N1DL0MN9LC532781   Nissan       QX60                NEW YORK CITY             NY
104636   5N1DL0MN9LC532795   Nissan       QX60                AUSTIN                    TX
104637   5N1DL0MN9LC532800   Nissan       QX60                HOUSTON                   TX
104638   5N1DL0MN9LC532828   Nissan       QX60                HOUSTON                   TX
104639   5N1DL0MN9LC532831   Nissan       QX60                SAN ANTONIO               TX
104640   5N1DL0MN9LC532845   Nissan       QX60                DALLAS                    TX
104641   5N1DL0MN9LC532859   Nissan       QX60                HOUSTON                   TX
104642   5N1DL0MN9LC532862   Nissan       QX60                CHICAGO                   IL
104643   5N1DL0MN9LC532876   Nissan       QX60                SAN ANTONIO               TX
104644   5N1DL0MN9LC532909   Nissan       QX60                SAN ANTONIO               TX
104645   5N1DL0MN9LC532912   Nissan       QX60                DALLAS                    TX
104646   5N1DL0MN9LC532926   Nissan       QX60                AUSTIN                    TX
104647   5N1DL0MN9LC532943   Nissan       QX60                HOUSTON                   TX
104648   5N1DL0MN9LC532957   Nissan       QX60                PHOENIX                   AZ
104649   5N1DL0MN9LC532960   Nissan       QX60                LAS VEGAS                 NV
104650   5N1DL0MN9LC532974   Nissan       QX60                PHILADELPHIA              PA
104651   5N1DL0MN9LC532988   Nissan       QX60                HOUSTON                   TX
104652   5N1DL0MN9LC533008   Nissan       QX60                SAINT PAUL                MN
104653   5N1DL0MN9LC533011   Nissan       QX60                HOUSTON                   TX
104654   5N1DL0MN9LC533039   Nissan       QX60                HOUSTON                   TX
104655   5N1DL0MN9LC533042   Nissan       QX60                PHOENIX                   AZ
104656   5N1DL0MN9LC533056   Nissan       QX60                ALBUQERQUE                NM
104657   5N1DL0MN9LC533073   Nissan       QX60                SAN ANTONIO               TX
104658   5N1DL0MN9LC533087   Nissan       QX60                SAN ANTONIO               TX
104659   5N1DL0MN9LC533090   Nissan       QX60                AUSTIN                    TX
104660   5N1DL0MN9LC533123   Nissan       QX60                LAS VEGAS                 NV
104661   5N1DL0MN9LC533137   Nissan       QX60                Tulsa                     OK
104662   5N1DL0MN9LC533154   Nissan       QX60                KANSAS CITY               MO
104663   5N1DL0MN9LC533655   Nissan       QX60                ATLANTA                   GA
104664   5N1DL0MN9LC533686   Nissan       QX60                INDIANAPOLIS              IN
104665   5N1DL0MN9LC533705   Nissan       QX60                WICHITA FALLS             TX
104666   5N1DL0MN9LC533753   Nissan       QX60                KENNER                    LA
104667   5N1DL0MN9LC533767   Nissan       QX60                INDIANAPOLIS              IN
104668   5N1DL0MN9LC533784   Nissan       QX60                DALLAS                    TX
104669   5N1DL0MN9LC533865   Nissan       QX60                Irving                    TX
104670   5N1DL0MN9LC533882   Nissan       QX60                DALLAS                    TX
104671   5N1DL0MN9LC533896   Nissan       QX60                DALLAS                    TX
104672   5N1DL0MN9LC533901   Nissan       QX60                DALLAS                    TX
104673   5N1DL0MN9LC533929   Nissan       QX60                Dallas                    TX
104674   5N1DL0MNXLC523197   Nissan       QX60                SAN ANTONIO               TX
104675   5N1DL0MNXLC523524   Nissan       QX60                Atlanta                   GA
104676   5N1DL0MNXLC524835   Nissan       QX60                TUCSON                    AZ
104677   5N1DL0MNXLC525046   Nissan       QX60                TUCSON                    AZ
104678   5N1DL0MNXLC525158   Nissan       QX60                PHOENIX                   AZ
104679   5N1DL0MNXLC525984   Nissan       QX60                ORLANDO                   FL
104680   5N1DL0MNXLC525998   Nissan       QX60                ORLANDO                   FL
104681   5N1DL0MNXLC526407   Nissan       QX60                CHARLOTTE                 NC
104682   5N1DL0MNXLC526424   Nissan       QX60                FORT MYERS                FL
104683   5N1DL0MNXLC526441   Nissan       QX60                SANTA ANA                 CA
104684   5N1DL0MNXLC527041   Nissan       QX60                OAKLAND                   CA
104685   5N1DL0MNXLC527086   Nissan       QX60                SAN FRANCISCO             CA
104686   5N1DL0MNXLC528240   Nissan       QX60                SAN FRANCISCO             CA
104687   5N1DL0MNXLC528335   Nissan       QX60                TUCSON                    AZ
104688   5N1DL0MNXLC528495   Nissan       QX60                PHOENIX                   AZ
104689   5N1DL0MNXLC528528   Nissan       QX60                SAN JOSE                  CA
104690   5N1DL0MNXLC528545   Nissan       QX60                SAN DIEGO                 US
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104691   5N1DL0MNXLC528576   Nissan       QX60                SAN FRANCISCO             CA
104692   5N1DL0MNXLC528612   Nissan       QX60                SACRAMENTO                CA
104693   5N1DL0MNXLC528805   Nissan       QX60                AUSTIN                    TX
104694   5N1DL0MNXLC528853   Nissan       QX60                ORANGE COUNTY             CA
104695   5N1DL0MNXLC528917   Nissan       QX60                KNOXVILLE                 TN
104696   5N1DL0MNXLC529047   Nissan       QX60                TUCSON                    AZ
104697   5N1DL0MNXLC529050   Nissan       QX60                PHOENIX                   AZ
104698   5N1DL0MNXLC529100   Nissan       QX60                LOS ANGELES               CA
104699   5N1DL0MNXLC529159   Nissan       QX60                SACRAMENTO                CA
104700   5N1DL0MNXLC529257   Nissan       QX60                SAN JOSE                  CA
104701   5N1DL0MNXLC529260   Nissan       QX60                HOUSTON                   TX
104702   5N1DL0MNXLC529274   Nissan       QX60                PHOENIX                   AZ
104703   5N1DL0MNXLC529307   Nissan       QX60                AUSTIN                    TX
104704   5N1DL0MNXLC529338   Nissan       QX60                SAN JOSE                  CA
104705   5N1DL0MNXLC529372   Nissan       QX60                INGLEWOOD                 CA
104706   5N1DL0MNXLC529405   Nissan       QX60                Costa Mesa                CA
104707   5N1DL0MNXLC529419   Nissan       QX60                SEATAC                    WA
104708   5N1DL0MNXLC529534   Nissan       QX60                SAN DIEGO                 CA
104709   5N1DL0MNXLC529551   Nissan       QX60                LOS ANGELES               CA
104710   5N1DL0MNXLC529730   Nissan       QX60                MIAMI                     FL
104711   5N1DL0MNXLC529744   Nissan       QX60                HEBRON                    KY
104712   5N1DL0MNXLC529873   Nissan       QX60                LOS ANGELES               CA
104713   5N1DL0MNXLC529985   Nissan       QX60                OAKLAND                   CA
104714   5N1DL0MNXLC529999   Nissan       QX60                PHOENIX                   AZ
104715   5N1DL0MNXLC530053   Nissan       QX60                PHOENIX                   AZ
104716   5N1DL0MNXLC530098   Nissan       QX60                SANTA ANA                 CA
104717   5N1DL0MNXLC530134   Nissan       QX60                PALM SPRINGS              CA
104718   5N1DL0MNXLC530182   Nissan       QX60                LOS ANGELES AP            CA
104719   5N1DL0MNXLC530201   Nissan       QX60                PHOENIX                   AZ
104720   5N1DL0MNXLC530246   Nissan       QX60                SAN DIEGO                 CA
104721   5N1DL0MNXLC530280   Nissan       QX60                SAN FRANCISCO             CA
104722   5N1DL0MNXLC530294   Nissan       QX60                Los Angeles               CA
104723   5N1DL0MNXLC530313   Nissan       QX60                FORT MYERS                FL
104724   5N1DL0MNXLC530330   Nissan       QX60                LAS VEGAS                 NV
104725   5N1DL0MNXLC530442   Nissan       QX60                CLEVELAND                 OH
104726   5N1DL0MNXLC530487   Nissan       QX60                HOUSTON                   TX
104727   5N1DL0MNXLC530537   Nissan       QX60                SACRAMENTO                CA
104728   5N1DL0MNXLC530540   Nissan       QX60                PHOENIX                   AZ
104729   5N1DL0MNXLC530649   Nissan       QX60                Roseville                 CA
104730   5N1DL0MNXLC530778   Nissan       QX60                LOS ANGELES               CA
104731   5N1DL0MNXLC530781   Nissan       QX60                SANTA ANA                 CA
104732   5N1DL0MNXLC530862   Nissan       QX60                PHOENIX                   AZ
104733   5N1DL0MNXLC531011   Nissan       QX60                JACKSONVILLE              FL
104734   5N1DL0MNXLC531073   Nissan       QX60                SANTA CLARA               CA
104735   5N1DL0MNXLC531090   Nissan       QX60                CHARLESTON                SC
104736   5N1DL0MNXLC531140   Nissan       QX60                FORT MYERS                FL
104737   5N1DL0MNXLC531235   Nissan       QX60                HOUSTON                   TX
104738   5N1DL0MNXLC531395   Nissan       QX60                AUSTIN                    TX
104739   5N1DL0MNXLC531476   Nissan       QX60                DALLAS                    TX
104740   5N1DL0MNXLC531526   Nissan       QX60                PHOENIX                   AZ
104741   5N1DL0MNXLC531560   Nissan       QX60                SAN FRANCISCO             CA
104742   5N1DL0MNXLC531588   Nissan       QX60                ORLANDO                   FL
104743   5N1DL0MNXLC531655   Nissan       QX60                FORT MYERS                FL
104744   5N1DL0MNXLC531719   Nissan       QX60                FORT LAUDERDALE           FL
104745   5N1DL0MNXLC531770   Nissan       QX60                SALT LAKE CITY            UT
104746   5N1DL0MNXLC531784   Nissan       QX60                FORT MYERS                FL
104747   5N1DL0MNXLC532241   Nissan       QX60                TAMPA                     FL
104748   5N1DL0MNXLC532255   Nissan       QX60                CHARLESTON                SC
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104749   5N1DL0MNXLC532272   Nissan       QX60                CHARLOTTE                 NC
104750   5N1DL0MNXLC532286   Nissan       QX60                KNOXVILLE                 TN
104751   5N1DL0MNXLC532319   Nissan       QX60                KNOXVILLE                 TN
104752   5N1DL0MNXLC532322   Nissan       QX60                DETROIT                   MI
104753   5N1DL0MNXLC532336   Nissan       QX60                Atlanta                   GA
104754   5N1DL0MNXLC532420   Nissan       QX60                Landover Hills            MD
104755   5N1DL0MNXLC532479   Nissan       QX60                FORT LAUDERDALE           FL
104756   5N1DL0MNXLC532482   Nissan       QX60                TAMPA                     FL
104757   5N1DL0MNXLC532496   Nissan       QX60                WEST PALM BEACH           FL
104758   5N1DL0MNXLC532501   Nissan       QX60                ATLANTA                   GA
104759   5N1DL0MNXLC532515   Nissan       QX60                HOUSTON                   TX
104760   5N1DL0MNXLC532529   Nissan       QX60                ORLANDO                   FL
104761   5N1DL0MNXLC532563   Nissan       QX60                FORT LAUDERDALE           FL
104762   5N1DL0MNXLC532577   Nissan       QX60                PHOENIX                   AZ
104763   5N1DL0MNXLC532580   Nissan       QX60                TUCSON                    AZ
104764   5N1DL0MNXLC532594   Nissan       QX60                ALBANY                    N
104765   5N1DL0MNXLC532613   Nissan       QX60                PHILADELPHIA              PA
104766   5N1DL0MNXLC532627   Nissan       QX60                KENNER                    LA
104767   5N1DL0MNXLC532644   Nissan       QX60                NEW ORLEANS               LA
104768   5N1DL0MNXLC532661   Nissan       QX60                NEW ORLEANS               LA
104769   5N1DL0MNXLC532708   Nissan       QX60                SAN ANTONIO               TX
104770   5N1DL0MNXLC532711   Nissan       QX60                SAINT LOUIS               MO
104771   5N1DL0MNXLC532725   Nissan       QX60                OMAHA                     NE
104772   5N1DL0MNXLC532739   Nissan       QX60                AUSTIN                    TX
104773   5N1DL0MNXLC532742   Nissan       QX60                ALBUQERQUE                NM
104774   5N1DL0MNXLC532756   Nissan       QX60                Tulsa                     OK
104775   5N1DL0MNXLC532773   Nissan       QX60                SAINT LOUIS               MO
104776   5N1DL0MNXLC532787   Nissan       QX60                HOUSTON                   TX
104777   5N1DL0MNXLC532790   Nissan       QX60                KANSAS CITY               MO
104778   5N1DL0MNXLC532823   Nissan       QX60                RALIEGH                   NC
104779   5N1DL0MNXLC532837   Nissan       QX60                LAS VEGAS                 NV
104780   5N1DL0MNXLC532840   Nissan       QX60                HOUSTON                   TX
104781   5N1DL0MNXLC532868   Nissan       QX60                HOUSTON                   TX
104782   5N1DL0MNXLC532871   Nissan       QX60                HOUSTON                   TX
104783   5N1DL0MNXLC532885   Nissan       QX60                HOUSTON                   TX
104784   5N1DL0MNXLC532899   Nissan       QX60                DALLAS                    TX
104785   5N1DL0MNXLC532904   Nissan       QX60                AUSTIN                    TX
104786   5N1DL0MNXLC532918   Nissan       QX60                SAN ANTONIO               TX
104787   5N1DL0MNXLC532921   Nissan       QX60                SAN ANTONIO               TX
104788   5N1DL0MNXLC532949   Nissan       QX60                DALLAS                    TX
104789   5N1DL0MNXLC532952   Nissan       QX60                HOUSTON                   TX
104790   5N1DL0MNXLC532966   Nissan       QX60                STERLING                  US
104791   5N1DL0MNXLC532983   Nissan       QX60                SAN ANTONIO               TX
104792   5N1DL0MNXLC532997   Nissan       QX60                HOUSTON                   TX
104793   5N1DL0MNXLC533003   Nissan       QX60                Tulsa                     OK
104794   5N1DL0MNXLC533017   Nissan       QX60                ATLANTA                   GA
104795   5N1DL0MNXLC533020   Nissan       QX60                Tulsa                     OK
104796   5N1DL0MNXLC533051   Nissan       QX60                NEWARK                    NJ
104797   5N1DL0MNXLC533065   Nissan       QX60                SAN ANTONIO               TX
104798   5N1DL0MNXLC533079   Nissan       QX60                SAN ANTONIO               TX
104799   5N1DL0MNXLC533082   Nissan       QX60                Tulsa                     OK
104800   5N1DL0MNXLC533096   Nissan       QX60                MIDLAND                   TX
104801   5N1DL0MNXLC533101   Nissan       QX60                MIDLAND                   TX
104802   5N1DL0MNXLC533115   Nissan       QX60                OKLAHOMA CITY             OK
104803   5N1DL0MNXLC533129   Nissan       QX60                SAN ANTONIO               TX
104804   5N1DL0MNXLC533132   Nissan       QX60                PROVIDENCE                RI
104805   5N1DL0MNXLC533163   Nissan       QX60                DALLAS                    TX
104806   5N1DL0MNXLC533633   Nissan       QX60                CHICAGO                   IL
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104807   5N1DL0MNXLC533678   Nissan       QX60                CHICAGO                   IL
104808   5N1DL0MNXLC533700   Nissan       QX60                JAMAICA                   NY
104809   5N1DL0MNXLC533728   Nissan       QX60                TULSA                     OK
104810   5N1DL0MNXLC533759   Nissan       QX60                DALLAS                    TX
104811   5N1DL0MNXLC533762   Nissan       QX60                INDIANAPOLIS              IN
104812   5N1DL0MNXLC533776   Nissan       QX60                OKLAHOMA CITY             OK
104813   5N1DL0MNXLC533812   Nissan       QX60                DALLAS                    TX
104814   5N1DL0MNXLC533826   Nissan       QX60                DALLAS                    TX
104815   5N1DL0MNXLC533874   Nissan       QX60                AUSTIN                    TX
104816   5N1DL0MNXLC533888   Nissan       QX60                DALLAS                    TX
104817   5N1DL0MNXLC533891   Nissan       QX60                HOUSTON                   TX
104818   5N1DL0MNXLC533924   Nissan       QX60                NEW ORLEANS               LA
104819   5N1DL0MNXLC533955   Nissan       QX60                NEW ORLEANS               LA
104820   5N1DR2BM0LC594459   Nissan       PATHFINDER          SYRACUSE                  NY
104821   5N1DR2BM0LC595191   Nissan       PATHFINDER          FRESNO                    CA
104822   5N1DR2BM0LC596969   Nissan       PATHFINDER          BOSTON                    MA
104823   5N1DR2BM0LC597099   Nissan       PATHFINDER          CHICAGO                   IL
104824   5N1DR2BM0LC597362   Nissan       PATHFINDER          Tampa                     FL
104825   5N1DR2BM0LC597717   Nissan       PATHFINDER          BOSTON                    MA
104826   5N1DR2BM0LC597815   Nissan       PATHFINDER          BOSTON                    MA
104827   5N1DR2BM0LC599645   Nissan       PATHFINDER          ROCHESTER                 NY
104828   5N1DR2BM0LC599760   Nissan       PATHFINDER          CHARLESTON                SC
104829   5N1DR2BM0LC601507   Nissan       PATHFINDER          KANSAS CITY               MO
104830   5N1DR2BM0LC601703   Nissan       PATHFINDER          FORT LAUDERDALE           FL
104831   5N1DR2BM0LC601734   Nissan       PATHFINDER          SOUTH BEND                IN
104832   5N1DR2BM0LC601877   Nissan       PATHFINDER          CHARLOTTE                 NC
104833   5N1DR2BM0LC601880   Nissan       PATHFINDER          BOSTON                    MA
104834   5N1DR2BM0LC601927   Nissan       PATHFINDER          MIAMI                     FL
104835   5N1DR2BM0LC601930   Nissan       PATHFINDER          FORT MYERS                FL
104836   5N1DR2BM0LC601958   Nissan       PATHFINDER          ORLANDO                   FL
104837   5N1DR2BM0LC602012   Nissan       PATHFINDER          MILWAUKEE                 WI
104838   5N1DR2BM0LC602026   Nissan       PATHFINDER          DES MOINES                IA
104839   5N1DR2BM0LC602043   Nissan       PATHFINDER          TAMPA                     FL
104840   5N1DR2BM0LC602074   Nissan       PATHFINDER          TAMPA                     FL
104841   5N1DR2BM0LC602107   Nissan       PATHFINDER          INDIANAPOLIS              IN
104842   5N1DR2BM0LC602169   Nissan       PATHFINDER          ORLANDO                   FL
104843   5N1DR2BM0LC602205   Nissan       PATHFINDER          PORTLAND                  ME
104844   5N1DR2BM0LC602219   Nissan       PATHFINDER          BOSTON, LOGAN AP          MA
104845   5N1DR2BM0LC602236   Nissan       PATHFINDER          ORLANDO                   FL
104846   5N1DR2BM0LC602298   Nissan       PATHFINDER          JAMAICA                   NY
104847   5N1DR2BM0LC602320   Nissan       PATHFINDER          ORLANDO                   FL
104848   5N1DR2BM0LC602379   Nissan       PATHFINDER          ALBANY                    NY
104849   5N1DR2BM0LC602544   Nissan       PATHFINDER          ORLANDO                   FL
104850   5N1DR2BM0LC602799   Nissan       PATHFINDER          PENSACOLA                 FL
104851   5N1DR2BM0LC606917   Nissan       PATHFINDER          CHICAGO                   IL
104852   5N1DR2BM0LC607193   Nissan       PATHFINDER          MIAMI                     FL
104853   5N1DR2BM0LC607551   Nissan       PATHFINDER          ORLANDO                   FL
104854   5N1DR2BM0LC607744   Nissan       PATHFINDER          STERLING                  VA
104855   5N1DR2BM0LC608067   Nissan       PATHFINDER          STERLING                  VA
104856   5N1DR2BM0LC608148   Nissan       PATHFINDER          SAINT PAUL                MN
104857   5N1DR2BM0LC608246   Nissan       PATHFINDER          WHITE PLAINS              NY
104858   5N1DR2BM0LC609204   Nissan       PATHFINDER          KNOXVILLE                 TN
104859   5N1DR2BM0LC609543   Nissan       PATHFINDER          NEW BERN                  NC
104860   5N1DR2BM0LC609834   Nissan       PATHFINDER          RALEIGH                   NC
104861   5N1DR2BM0LC609946   Nissan       PATHFINDER          GRAND RAPIDS              MI
104862   5N1DR2BM0LC610109   Nissan       PATHFINDER          BIRMINGHAN                AL
104863   5N1DR2BM0LC610384   Nissan       PATHFINDER          CHICAGO                   IL
104864   5N1DR2BM0LC610532   Nissan       PATHFINDER          CLEVELAND                 OH
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104865   5N1DR2BM0LC612006   Nissan       PATHFINDER          CHICAGO                   IL
104866   5N1DR2BM0LC615391   Nissan       PATHFINDER          CHICAGO                   IL
104867   5N1DR2BM0LC615939   Nissan       PATHFINDER          CHICAGO                   IL
104868   5N1DR2BM0LC616072   Nissan       PATHFINDER          CHICAGO                   IL
104869   5N1DR2BM0LC616511   Nissan       PATHFINDER          CHICAGO                   IL
104870   5N1DR2BM0LC616802   Nissan       PATHFINDER          CHICAGO                   IL
104871   5N1DR2BM0LC616850   Nissan       PATHFINDER          WICHITA FALLS             TX
104872   5N1DR2BM0LC616945   Nissan       PATHFINDER          CHICAGO                   IL
104873   5N1DR2BM0LC617416   Nissan       PATHFINDER          CHICAGO                   IL
104874   5N1DR2BM1LC596589   Nissan       PATHFINDER          HARRISBURG                PA
104875   5N1DR2BM1LC596768   Nissan       PATHFINDER          SCRANTON                  PA
104876   5N1DR2BM1LC597127   Nissan       PATHFINDER          BOSTON                    MA
104877   5N1DR2BM1LC597242   Nissan       PATHFINDER          MANCHESTER                US
104878   5N1DR2BM1LC597550   Nissan       PATHFINDER          NEWARK                    NJ
104879   5N1DR2BM1LC597595   Nissan       PATHFINDER          MILWAUKEE                 WI
104880   5N1DR2BM1LC597760   Nissan       PATHFINDER          CHICAGO                   IL
104881   5N1DR2BM1LC597788   Nissan       PATHFINDER          WARWICK                   RI
104882   5N1DR2BM1LC598293   Nissan       PATHFINDER          SYRACUSE                  NY
104883   5N1DR2BM1LC599878   Nissan       PATHFINDER          ORLANDO                   FL
104884   5N1DR2BM1LC601418   Nissan       PATHFINDER          CHICAGO                   IL
104885   5N1DR2BM1LC601452   Nissan       PATHFINDER          TAMPA                     FL
104886   5N1DR2BM1LC601564   Nissan       PATHFINDER          ORLANDO                   FL
104887   5N1DR2BM1LC601628   Nissan       PATHFINDER          FORT MYERS                FL
104888   5N1DR2BM1LC601631   Nissan       PATHFINDER          SAINT PAUL                MN
104889   5N1DR2BM1LC601905   Nissan       PATHFINDER          COLLEGE PARK              GA
104890   5N1DR2BM1LC601919   Nissan       PATHFINDER          ORLANDO                   FL
104891   5N1DR2BM1LC601970   Nissan       PATHFINDER          BOSTON                    MA
104892   5N1DR2BM1LC602018   Nissan       PATHFINDER          HOLLY HILL                FL
104893   5N1DR2BM1LC602097   Nissan       PATHFINDER          Tampa                     FL
104894   5N1DR2BM1LC602164   Nissan       PATHFINDER          SAINT PAUL                MN
104895   5N1DR2BM1LC602214   Nissan       PATHFINDER          MIAMI                     FL
104896   5N1DR2BM1LC602245   Nissan       PATHFINDER          ORLANDO                   FL
104897   5N1DR2BM1LC602259   Nissan       PATHFINDER          Miami                     FL
104898   5N1DR2BM1LC602410   Nissan       PATHFINDER          SAINT PAUL                MN
104899   5N1DR2BM1LC602455   Nissan       PATHFINDER          WEST COLUMBIA             SC
104900   5N1DR2BM1LC606229   Nissan       PATHFINDER          SAINT PAUL                MN
104901   5N1DR2BM1LC606389   Nissan       PATHFINDER          BALTIMORE                 MD
104902   5N1DR2BM1LC606571   Nissan       PATHFINDER          WARWICK                   RI
104903   5N1DR2BM1LC606828   Nissan       PATHFINDER          PORTLAND                  OR
104904   5N1DR2BM1LC607428   Nissan       PATHFINDER          PENSACOLA                 FL
104905   5N1DR2BM1LC607638   Nissan       PATHFINDER          NEW YORK CITY             NY
104906   5N1DR2BM1LC607980   Nissan       PATHFINDER          SAINT PAUL                MN
104907   5N1DR2BM1LC608434   Nissan       PATHFINDER          MIAMI                     FL
104908   5N1DR2BM1LC608496   Nissan       PATHFINDER          SAVANNAH                  GA
104909   5N1DR2BM1LC608515   Nissan       PATHFINDER          SAINT PAUL                MN
104910   5N1DR2BM1LC609292   Nissan       PATHFINDER          ATLANTA                   GA
104911   5N1DR2BM1LC609390   Nissan       PATHFINDER          CHICAGO                   IL
104912   5N1DR2BM1LC609924   Nissan       PATHFINDER          SAINT PAUL                MN
104913   5N1DR2BM1LC610278   Nissan       PATHFINDER          INDIANAPOLIS              IN
104914   5N1DR2BM1LC610619   Nissan       PATHFINDER          SAINT PAUL                MN
104915   5N1DR2BM1LC615688   Nissan       PATHFINDER          CHICAGO                   IL
104916   5N1DR2BM1LC616596   Nissan       PATHFINDER          WICHITA FALLS             TX
104917   5N1DR2BM1LC616923   Nissan       PATHFINDER          WICHITA FALLS             TX
104918   5N1DR2BM1LC617179   Nissan       PATHFINDER          WICHITA FALLS             TX
104919   5N1DR2BM2LC594222   Nissan       PATHFINDER          SOUTH BURLINGTO           VT
104920   5N1DR2BM2LC594379   Nissan       PATHFINDER          SYRACUSE                  NY
104921   5N1DR2BM2LC594690   Nissan       PATHFINDER          RALIEGH                   NC
104922   5N1DR2BM2LC596598   Nissan       PATHFINDER          WHITE PLAINS              NY
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104923   5N1DR2BM2LC596634   Nissan       PATHFINDER          SYRACUSE                  NY
104924   5N1DR2BM2LC596780   Nissan       PATHFINDER          Teterboro                 NJ
104925   5N1DR2BM2LC597055   Nissan       PATHFINDER          ALBANY                    NY
104926   5N1DR2BM2LC597122   Nissan       PATHFINDER          GREENSBORO                NC
104927   5N1DR2BM2LC597248   Nissan       PATHFINDER          WARWICK                   RI
104928   5N1DR2BM2LC597461   Nissan       PATHFINDER          SYRACUSE                  NY
104929   5N1DR2BM2LC597749   Nissan       PATHFINDER          CHICAGO                   IL
104930   5N1DR2BM2LC599050   Nissan       PATHFINDER          SYRACUSE                  NY
104931   5N1DR2BM2LC601461   Nissan       PATHFINDER          CHICAGO O'HARE AP         IL
104932   5N1DR2BM2LC601511   Nissan       PATHFINDER          FORT LAUDERDALE           FL
104933   5N1DR2BM2LC601704   Nissan       PATHFINDER          KANSAS CITY               MO
104934   5N1DR2BM2LC601718   Nissan       PATHFINDER          Ft. Myers                 FL
104935   5N1DR2BM2LC601735   Nissan       PATHFINDER          BOSTON                    MA
104936   5N1DR2BM2LC601797   Nissan       PATHFINDER          WEST PALM BEACH           FL
104937   5N1DR2BM2LC602013   Nissan       PATHFINDER          TAMPA                     FL
104938   5N1DR2BM2LC602142   Nissan       PATHFINDER          BOSTON                    MA
104939   5N1DR2BM2LC602190   Nissan       PATHFINDER          MANCHESTER                US
104940   5N1DR2BM2LC602352   Nissan       PATHFINDER          FORT MYERS                FL
104941   5N1DR2BM2LC602397   Nissan       PATHFINDER          FORT LAUDERDALE           FL
104942   5N1DR2BM2LC602447   Nissan       PATHFINDER          NEW ORLEANS               LA
104943   5N1DR2BM2LC605798   Nissan       PATHFINDER          WEST PALM BEACH           FL
104944   5N1DR2BM2LC606434   Nissan       PATHFINDER          CLEVELAND                 OH
104945   5N1DR2BM2LC607521   Nissan       PATHFINDER          NEWARK                    NJ
104946   5N1DR2BM2LC607583   Nissan       PATHFINDER          PITTSBURGH                PA
104947   5N1DR2BM2LC609012   Nissan       PATHFINDER          RICHMOND                  VA
104948   5N1DR2BM2LC609091   Nissan       PATHFINDER          CHARLESTON                SC
104949   5N1DR2BM2LC609916   Nissan       PATHFINDER          CHARLESTON                SC
104950   5N1DR2BM2LC610242   Nissan       PATHFINDER          FORT MYERS                FL
104951   5N1DR2BM2LC610421   Nissan       PATHFINDER          SAINT PAUL                MN
104952   5N1DR2BM2LC610788   Nissan       PATHFINDER          SARASOTA                  FL
104953   5N1DR2BM2LC611911   Nissan       PATHFINDER          FORT LAUDERDALE           FL
104954   5N1DR2BM2LC616395   Nissan       PATHFINDER          CHICAGO                   IL
104955   5N1DR2BM2LC616459   Nissan       PATHFINDER          WICHITA FALLS             TX
104956   5N1DR2BM2LC616817   Nissan       PATHFINDER          CHICAGO                   IL
104957   5N1DR2BM2LC616848   Nissan       PATHFINDER          CHICAGO                   IL
104958   5N1DR2BM2LC616994   Nissan       PATHFINDER          CHICAGO                   IL
104959   5N1DR2BM3LC595525   Nissan       PATHFINDER          BOSTON                    MA
104960   5N1DR2BM3LC596481   Nissan       PATHFINDER          ROCHESTER                 NY
104961   5N1DR2BM3LC596948   Nissan       PATHFINDER          BOSTON                    MA
104962   5N1DR2BM3LC597176   Nissan       PATHFINDER          ALBANY                    NY
104963   5N1DR2BM3LC597436   Nissan       PATHFINDER          CLEVELAND                 OH
104964   5N1DR2BM3LC597551   Nissan       PATHFINDER          CHICAGO                   IL
104965   5N1DR2BM3LC601422   Nissan       PATHFINDER          SARASOTA                  FL
104966   5N1DR2BM3LC601548   Nissan       PATHFINDER          COLLEGE PARK              GA
104967   5N1DR2BM3LC601565   Nissan       PATHFINDER          DES MOINES                IA
104968   5N1DR2BM3LC601579   Nissan       PATHFINDER          KANSAS CITY               MO
104969   5N1DR2BM3LC601825   Nissan       PATHFINDER          FORT LAUDERDALE           FL
104970   5N1DR2BM3LC601937   Nissan       PATHFINDER          STERLING                  VA
104971   5N1DR2BM3LC602117   Nissan       PATHFINDER          ORLANDO                   FL
104972   5N1DR2BM3LC602246   Nissan       PATHFINDER          ORLANDO                   FL
104973   5N1DR2BM3LC602330   Nissan       PATHFINDER          ALBANY                    NY
104974   5N1DR2BM3LC602344   Nissan       PATHFINDER          KANSAS CITY               MO
104975   5N1DR2BM3LC602358   Nissan       PATHFINDER          SAINT LOUIS               MO
104976   5N1DR2BM3LC602795   Nissan       PATHFINDER          Saint Paul                MN
104977   5N1DR2BM3LC602893   Nissan       PATHFINDER          ORLANDO                   FL
104978   5N1DR2BM3LC606233   Nissan       PATHFINDER          PHILADELPHIA              US
104979   5N1DR2BM3LC606510   Nissan       PATHFINDER          SYRACUSE                  NY
104980   5N1DR2BM3LC606670   Nissan       PATHFINDER          ROCHESTER                 NY
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104981   5N1DR2BM3LC606801   Nissan       PATHFINDER          LOUISVILLE                KY
104982   5N1DR2BM3LC608239   Nissan       PATHFINDER          NEWARK                    NJ
104983   5N1DR2BM3LC608273   Nissan       PATHFINDER          ORLANDO                   FL
104984   5N1DR2BM3LC609021   Nissan       PATHFINDER          RALEIGH                   NC
104985   5N1DR2BM3LC609696   Nissan       PATHFINDER          WHITE PLAINS              NY
104986   5N1DR2BM3LC609875   Nissan       PATHFINDER          BOSTON                    MA
104987   5N1DR2BM3LC610380   Nissan       PATHFINDER          CHEEKTOWAGA               NY
104988   5N1DR2BM3LC616034   Nissan       PATHFINDER          WICHITA FALLS             TX
104989   5N1DR2BM3LC616521   Nissan       PATHFINDER          CHICAGO                   IL
104990   5N1DR2BM3LC616695   Nissan       PATHFINDER          CHICAGO                   IL
104991   5N1DR2BM3LC616714   Nissan       PATHFINDER          CHICAGO                   IL
104992   5N1DR2BM3LC616986   Nissan       PATHFINDER          CHICAGO                   IL
104993   5N1DR2BM3LC617054   Nissan       PATHFINDER          CHICAGO                   IL
104994   5N1DR2BM3LC617121   Nissan       PATHFINDER          CHICAGO                   IL
104995   5N1DR2BM4LC594352   Nissan       PATHFINDER          RICHMOND                  VA
104996   5N1DR2BM4LC594898   Nissan       PATHFINDER          BUFFALO                   NY
104997   5N1DR2BM4LC596599   Nissan       PATHFINDER          Atlanta                   GA
104998   5N1DR2BM4LC596716   Nissan       PATHFINDER          BOSTON                    MA
104999   5N1DR2BM4LC597087   Nissan       PATHFINDER          RALEIGH                   NC
105000   5N1DR2BM4LC599292   Nissan       PATHFINDER          SYRACUSE                  NY
105001   5N1DR2BM4LC601459   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105002   5N1DR2BM4LC601493   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105003   5N1DR2BM4LC601526   Nissan       PATHFINDER          MIAMI                     FL
105004   5N1DR2BM4LC601641   Nissan       PATHFINDER          BOSTON                    MA
105005   5N1DR2BM4LC601803   Nissan       PATHFINDER          ROCHESTER                 NY
105006   5N1DR2BM4LC601994   Nissan       PATHFINDER          ORLANDO                   FL
105007   5N1DR2BM4LC602028   Nissan       PATHFINDER          OMAHA                     NE
105008   5N1DR2BM4LC602112   Nissan       PATHFINDER          BOSTON                    MA
105009   5N1DR2BM4LC602286   Nissan       PATHFINDER          SAINT PAUL                MN
105010   5N1DR2BM4LC602305   Nissan       PATHFINDER          MILWAUKEE                 WI
105011   5N1DR2BM4LC602479   Nissan       PATHFINDER          BUFFALO                   NY
105012   5N1DR2BM4LC602658   Nissan       PATHFINDER          CHICAGO                   IL
105013   5N1DR2BM4LC602689   Nissan       PATHFINDER          TAMPA                     FL
105014   5N1DR2BM4LC602692   Nissan       PATHFINDER          MIAMI                     FL
105015   5N1DR2BM4LC602854   Nissan       PATHFINDER          TAMPA                     FL
105016   5N1DR2BM4LC607357   Nissan       PATHFINDER          PHILADELPHIA              PA
105017   5N1DR2BM4LC608136   Nissan       PATHFINDER          Atlanta                   GA
105018   5N1DR2BM4LC608461   Nissan       PATHFINDER          SAINT PAUL                MN
105019   5N1DR2BM4LC608752   Nissan       PATHFINDER          Teterboro                 NJ
105020   5N1DR2BM4LC609416   Nissan       PATHFINDER          CHICAGO                   IL
105021   5N1DR2BM4LC609691   Nissan       PATHFINDER          CLEVELAND                 OH
105022   5N1DR2BM4LC610551   Nissan       PATHFINDER          WARWICK                   RI
105023   5N1DR2BM4LC610646   Nissan       PATHFINDER          NEWARK                    NJ
105024   5N1DR2BM4LC610761   Nissan       PATHFINDER          CHICAGO                   IL
105025   5N1DR2BM4LC610842   Nissan       PATHFINDER          INDIANAPOLIS              IN
105026   5N1DR2BM4LC615524   Nissan       PATHFINDER          CHICAGO                   IL
105027   5N1DR2BM4LC617144   Nissan       PATHFINDER          CHICAGO                   IL
105028   5N1DR2BM5LC597258   Nissan       PATHFINDER          WARWICK                   RI
105029   5N1DR2BM5LC597566   Nissan       PATHFINDER          BOSTON                    MA
105030   5N1DR2BM5LC600000   Nissan       PATHFINDER          PORTLAND                  ME
105031   5N1DR2BM5LC601468   Nissan       PATHFINDER          Tampa                     FL
105032   5N1DR2BM5LC601485   Nissan       PATHFINDER          Portland                  ME
105033   5N1DR2BM5LC601633   Nissan       PATHFINDER          WARWICK                   RI
105034   5N1DR2BM5LC601891   Nissan       PATHFINDER          GRAND RAPIDS              MI
105035   5N1DR2BM5LC601969   Nissan       PATHFINDER          CHICAGO                   IL
105036   5N1DR2BM5LC602085   Nissan       PATHFINDER          BOSTON                    MA
105037   5N1DR2BM5LC602121   Nissan       PATHFINDER          BUFFALO                   NY
105038   5N1DR2BM5LC602152   Nissan       PATHFINDER          TAMPA                     FL
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105039   5N1DR2BM5LC602586   Nissan       PATHFINDER          CHICAGO                   IL
105040   5N1DR2BM5LC602670   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105041   5N1DR2BM5LC602815   Nissan       PATHFINDER          Miami                     FL
105042   5N1DR2BM5LC602863   Nissan       PATHFINDER          MIAMI                     FL
105043   5N1DR2BM5LC605830   Nissan       PATHFINDER          BALTIMORE                 MD
105044   5N1DR2BM5LC605861   Nissan       PATHFINDER          PHILADELPHIA              PA
105045   5N1DR2BM5LC606802   Nissan       PATHFINDER          STERLING                  VA
105046   5N1DR2BM5LC607111   Nissan       PATHFINDER          TAMPA                     FL
105047   5N1DR2BM5LC607383   Nissan       PATHFINDER          KNOXVILLE                 TN
105048   5N1DR2BM5LC607691   Nissan       PATHFINDER          BOSTON                    MA
105049   5N1DR2BM5LC608193   Nissan       PATHFINDER          MANCHESTER                US
105050   5N1DR2BM5LC608534   Nissan       PATHFINDER          Teterboro                 NJ
105051   5N1DR2BM5LC609148   Nissan       PATHFINDER          MORRISVILLE               NC
105052   5N1DR2BM5LC609280   Nissan       PATHFINDER          NEWARK                    NJ
105053   5N1DR2BM5LC609313   Nissan       PATHFINDER          CHARLOTTE                 NC
105054   5N1DR2BM5LC609702   Nissan       PATHFINDER          RALIEGH                   NC
105055   5N1DR2BM5LC610865   Nissan       PATHFINDER          SAINT PAUL                MN
105056   5N1DR2BM5LC610896   Nissan       PATHFINDER          CLEVELAND                 OH
105057   5N1DR2BM5LC611028   Nissan       PATHFINDER          RONKONKOMA                NY
105058   5N1DR2BM5LC616763   Nissan       PATHFINDER          CHICAGO                   IL
105059   5N1DR2BM5LC617072   Nissan       PATHFINDER          CHICAGO                   IL
105060   5N1DR2BM5LC617170   Nissan       PATHFINDER          WICHITA FALLS             TX
105061   5N1DR2BM5LC617301   Nissan       PATHFINDER          WICHITA FALLS             TX
105062   5N1DR2BM6LC594417   Nissan       PATHFINDER          WARWICK                   RI
105063   5N1DR2BM6LC594482   Nissan       PATHFINDER          PROVIDENCE                RI
105064   5N1DR2BM6LC594949   Nissan       PATHFINDER          HOUSTON                   TX
105065   5N1DR2BM6LC596622   Nissan       PATHFINDER          SYRACUSE                  NY
105066   5N1DR2BM6LC596930   Nissan       PATHFINDER          CHARLOTTE                 NC
105067   5N1DR2BM6LC597074   Nissan       PATHFINDER          BOSTON                    MA
105068   5N1DR2BM6LC597320   Nissan       PATHFINDER          KENNER                    LA
105069   5N1DR2BM6LC597351   Nissan       PATHFINDER          SYRACUSE                  NY
105070   5N1DR2BM6LC597365   Nissan       PATHFINDER          STERLING                  VA
105071   5N1DR2BM6LC597558   Nissan       PATHFINDER          NEW BERN                  NC
105072   5N1DR2BM6LC597625   Nissan       PATHFINDER          DETROIT                   MI
105073   5N1DR2BM6LC597642   Nissan       PATHFINDER          HARTFORD                  CT
105074   5N1DR2BM6LC601429   Nissan       PATHFINDER          BOISE                     ID
105075   5N1DR2BM6LC601589   Nissan       PATHFINDER          ORLANDO                   FL
105076   5N1DR2BM6LC601625   Nissan       PATHFINDER          TAMPA                     FL
105077   5N1DR2BM6LC601897   Nissan       PATHFINDER          WEST PALM BEACH           FL
105078   5N1DR2BM6LC601978   Nissan       PATHFINDER          SAINT PAUL                MN
105079   5N1DR2BM6LC602077   Nissan       PATHFINDER          SAINT PAUL                MN
105080   5N1DR2BM6LC602130   Nissan       PATHFINDER          DES MOINES                IA
105081   5N1DR2BM6LC602158   Nissan       PATHFINDER          PITTSBURGH                PA
105082   5N1DR2BM6LC602368   Nissan       PATHFINDER          ORLANDO                   FL
105083   5N1DR2BM6LC602418   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105084   5N1DR2BM6LC602466   Nissan       PATHFINDER          NEWARK                    NJ
105085   5N1DR2BM6LC602533   Nissan       PATHFINDER          CHICAGO                   IL
105086   5N1DR2BM6LC602838   Nissan       PATHFINDER          BUFFALO                   NY
105087   5N1DR2BM6LC605951   Nissan       PATHFINDER          ALLENTOWN                 US
105088   5N1DR2BM6LC606016   Nissan       PATHFINDER          HANOVER                   MD
105089   5N1DR2BM6LC606579   Nissan       PATHFINDER          CHICAGO                   IL
105090   5N1DR2BM6LC606856   Nissan       PATHFINDER          PHILADELPHIA              PA
105091   5N1DR2BM6LC607862   Nissan       PATHFINDER          BLOOMINGTON               IL
105092   5N1DR2BM6LC608171   Nissan       PATHFINDER          NEWARK                    NJ
105093   5N1DR2BM6LC609093   Nissan       PATHFINDER          RALIEGH                   NC
105094   5N1DR2BM6LC609336   Nissan       PATHFINDER          KNOXVILLE                 TN
105095   5N1DR2BM6LC609756   Nissan       PATHFINDER          COLUMBIA                  SC
105096   5N1DR2BM6LC610681   Nissan       PATHFINDER          SAINT PAUL                MN
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105097   5N1DR2BM6LC610907   Nissan       PATHFINDER          WHITE PLAINS              NY
105098   5N1DR2BM6LC610924   Nissan       PATHFINDER          SAINT PAUL                MN
105099   5N1DR2BM6LC615444   Nissan       PATHFINDER          CHICAGO                   IL
105100   5N1DR2BM6LC616285   Nissan       PATHFINDER          CHICAGO                   IL
105101   5N1DR2BM6LC617307   Nissan       PATHFINDER          WICHITA FALLS             TX
105102   5N1DR2BM6LC617324   Nissan       PATHFINDER          WICHITA FALLS             TX
105103   5N1DR2BM7LC594376   Nissan       PATHFINDER          STERLING                  VA
105104   5N1DR2BM7LC595205   Nissan       PATHFINDER          BOSTON                    MA
105105   5N1DR2BM7LC597360   Nissan       PATHFINDER          BLOOMINGTON               IL
105106   5N1DR2BM7LC597391   Nissan       PATHFINDER          SYRACUSE                  NY
105107   5N1DR2BM7LC597696   Nissan       PATHFINDER          EAST BOSTON               MA
105108   5N1DR2BM7LC597763   Nissan       PATHFINDER          KNOXVILLE                 TN
105109   5N1DR2BM7LC597780   Nissan       PATHFINDER          BOSTON                    MA
105110   5N1DR2BM7LC601598   Nissan       PATHFINDER          SARASOTA                  FL
105111   5N1DR2BM7LC601620   Nissan       PATHFINDER          CHICAGO                   IL
105112   5N1DR2BM7LC601665   Nissan       PATHFINDER          ORLANDO                   FL
105113   5N1DR2BM7LC601682   Nissan       PATHFINDER          TALLAHASSEE               F
105114   5N1DR2BM7LC601827   Nissan       PATHFINDER          GRAND RAPIDS              MI
105115   5N1DR2BM7LC602122   Nissan       PATHFINDER          CHICAGO                   IL
105116   5N1DR2BM7LC602220   Nissan       PATHFINDER          NEW YORK CITY             NY
105117   5N1DR2BM7LC602234   Nissan       PATHFINDER          SAINT PAUL                MN
105118   5N1DR2BM7LC602282   Nissan       PATHFINDER          ST LOUIS                  MO
105119   5N1DR2BM7LC602332   Nissan       PATHFINDER          WARWICK                   RI
105120   5N1DR2BM7LC602430   Nissan       PATHFINDER          DES MOINES                IA
105121   5N1DR2BM7LC602654   Nissan       PATHFINDER          HARTFORD                  CT
105122   5N1DR2BM7LC602668   Nissan       PATHFINDER          ORLANDO                   FL
105123   5N1DR2BM7LC602699   Nissan       PATHFINDER          DES MOINES                IA
105124   5N1DR2BM7LC602721   Nissan       PATHFINDER          CHICAGO                   IL
105125   5N1DR2BM7LC602878   Nissan       PATHFINDER          ORLANDO                   FL
105126   5N1DR2BM7LC605960   Nissan       PATHFINDER          PHILADELPHIA              PA
105127   5N1DR2BM7LC607742   Nissan       PATHFINDER          Teterboro                 NJ
105128   5N1DR2BM7LC607949   Nissan       PATHFINDER          ALBUQERQUE                NM
105129   5N1DR2BM7LC609054   Nissan       PATHFINDER          STERLING                  VA
105130   5N1DR2BM7LC609233   Nissan       PATHFINDER          DALLAS                    TX
105131   5N1DR2BM7LC609541   Nissan       PATHFINDER          NEW BERN                  NC
105132   5N1DR2BM7LC609653   Nissan       PATHFINDER          CHICAGO                   IL
105133   5N1DR2BM7LC609670   Nissan       PATHFINDER          DETROIT                   MI
105134   5N1DR2BM7LC615694   Nissan       PATHFINDER          Elmhurst                  IL
105135   5N1DR2BM7LC615971   Nissan       PATHFINDER          WICHITA FALLS             TX
105136   5N1DR2BM7LC616537   Nissan       PATHFINDER          CHICAGO                   IL
105137   5N1DR2BM7LC616540   Nissan       PATHFINDER          WICHITA FALLS             TX
105138   5N1DR2BM7LC616733   Nissan       PATHFINDER          CHICAGO                   IL
105139   5N1DR2BM7LC617056   Nissan       PATHFINDER          CHICAGO                   IL
105140   5N1DR2BM7LC617302   Nissan       PATHFINDER          WICHITA FALLS             TX
105141   5N1DR2BM8LC594855   Nissan       PATHFINDER          STERLING                  VA
105142   5N1DR2BM8LC595519   Nissan       PATHFINDER          NEWARK                    NJ
105143   5N1DR2BM8LC597609   Nissan       PATHFINDER          WARWICK                   RI
105144   5N1DR2BM8LC597724   Nissan       PATHFINDER          NEWARK                    NJ
105145   5N1DR2BM8LC597805   Nissan       PATHFINDER          BLOOMINGTON               IL
105146   5N1DR2BM8LC599778   Nissan       PATHFINDER          STERLING                  VA
105147   5N1DR2BM8LC601495   Nissan       PATHFINDER          ORLANDO                   FL
105148   5N1DR2BM8LC601500   Nissan       PATHFINDER          PORTLAND                  ME
105149   5N1DR2BM8LC601593   Nissan       PATHFINDER          CHICAGO O'HARE AP         IL
105150   5N1DR2BM8LC601609   Nissan       PATHFINDER          WARWICK                   RI
105151   5N1DR2BM8LC601657   Nissan       PATHFINDER          Saint Paul                MN
105152   5N1DR2BM8LC601805   Nissan       PATHFINDER          FORT MYERS                FL
105153   5N1DR2BM8LC601819   Nissan       PATHFINDER          ORLANDO                   FL
105154   5N1DR2BM8LC601903   Nissan       PATHFINDER          ALBANY                    NY
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105155   5N1DR2BM8LC601965   Nissan       PATHFINDER          SAINT PAUL                MN
105156   5N1DR2BM8LC602310   Nissan       PATHFINDER          FORT MYERS                FL
105157   5N1DR2BM8LC602341   Nissan       PATHFINDER          FORT MYERS                FL
105158   5N1DR2BM8LC602436   Nissan       PATHFINDER          NEWARK                    NJ
105159   5N1DR2BM8LC602548   Nissan       PATHFINDER          ORLANDO                   FL
105160   5N1DR2BM8LC602632   Nissan       PATHFINDER          ORLANDO                   FL
105161   5N1DR2BM8LC607894   Nissan       PATHFINDER          HOLLY HILL                FL
105162   5N1DR2BM8LC607992   Nissan       PATHFINDER          CHICAGO O'HARE AP         IL
105163   5N1DR2BM8LC609130   Nissan       PATHFINDER          RALIEGH                   NC
105164   5N1DR2BM8LC609158   Nissan       PATHFINDER          RALEIGH                   NC
105165   5N1DR2BM8LC615431   Nissan       PATHFINDER          CHICAGO                   IL
105166   5N1DR2BM8LC615526   Nissan       PATHFINDER          Elmhurst                  IL
105167   5N1DR2BM8LC615736   Nissan       PATHFINDER          Elmhurst                  IL
105168   5N1DR2BM8LC616661   Nissan       PATHFINDER          WICHITA FALLS             TX
105169   5N1DR2BM8LC617194   Nissan       PATHFINDER          CHICAGO                   IL
105170   5N1DR2BM9LC594525   Nissan       PATHFINDER          BUFFALO                   NY
105171   5N1DR2BM9LC594606   Nissan       PATHFINDER          NEWARK                    NJ
105172   5N1DR2BM9LC596579   Nissan       PATHFINDER          ALBNAY                    NY
105173   5N1DR2BM9LC596677   Nissan       PATHFINDER          Ft. Myers                 FL
105174   5N1DR2BM9LC599840   Nissan       PATHFINDER          FORT MYERS                FL
105175   5N1DR2BM9LC600033   Nissan       PATHFINDER          Tulsa                     OK
105176   5N1DR2BM9LC601652   Nissan       PATHFINDER          FORT MYERS                FL
105177   5N1DR2BM9LC601733   Nissan       PATHFINDER          RONKONKOMA                NY
105178   5N1DR2BM9LC601909   Nissan       PATHFINDER          BUFFALO                   NY
105179   5N1DR2BM9LC601988   Nissan       PATHFINDER          WEST PALM BEACH           FL
105180   5N1DR2BM9LC602008   Nissan       PATHFINDER          BOSTON                    MA
105181   5N1DR2BM9LC602106   Nissan       PATHFINDER          ORLANDO                   FL
105182   5N1DR2BM9LC602154   Nissan       PATHFINDER          SAINT PAUL                MN
105183   5N1DR2BM9LC602171   Nissan       PATHFINDER          JAMAICA                   NY
105184   5N1DR2BM9LC602221   Nissan       PATHFINDER          SAINT PAUL                MN
105185   5N1DR2BM9LC602235   Nissan       PATHFINDER          CHICAGO O'HARE AP         IL
105186   5N1DR2BM9LC602252   Nissan       PATHFINDER          MIAMI                     FL
105187   5N1DR2BM9LC602297   Nissan       PATHFINDER          MIAMI                     FL
105188   5N1DR2BM9LC602364   Nissan       PATHFINDER          HARTFORD                  CT
105189   5N1DR2BM9LC602431   Nissan       PATHFINDER          SHREVEPORT                LA
105190   5N1DR2BM9LC602476   Nissan       PATHFINDER          BOSTON                    MA
105191   5N1DR2BM9LC602512   Nissan       PATHFINDER          CHICAGO                   IL
105192   5N1DR2BM9LC606480   Nissan       PATHFINDER          NEW YORK CITY             NY
105193   5N1DR2BM9LC607015   Nissan       PATHFINDER          SARASOTA                  FL
105194   5N1DR2BM9LC607368   Nissan       PATHFINDER          MILWAUKEE                 WI
105195   5N1DR2BM9LC608343   Nissan       PATHFINDER          BOSTON                    MA
105196   5N1DR2BM9LC608486   Nissan       PATHFINDER          TAMPA                     FL
105197   5N1DR2BM9LC608827   Nissan       PATHFINDER          DENVER                    CO
105198   5N1DR2BM9LC609007   Nissan       PATHFINDER          INDIANAPOLIS              IN
105199   5N1DR2BM9LC609668   Nissan       PATHFINDER          CHICAGO                   IL
105200   5N1DR2BM9LC610853   Nissan       PATHFINDER          SAINT PAUL                MN
105201   5N1DR2BM9LC615454   Nissan       PATHFINDER          WICHITA FALLS             TX
105202   5N1DR2BM9LC615583   Nissan       PATHFINDER          CHICAGO                   IL
105203   5N1DR2BM9LC615955   Nissan       PATHFINDER          WICHITA FALLS             TX
105204   5N1DR2BM9LC616071   Nissan       PATHFINDER          WICHITA FALLS             TX
105205   5N1DR2BM9LC616331   Nissan       PATHFINDER          CHICAGO                   IL
105206   5N1DR2BM9LC616992   Nissan       PATHFINDER          CHICAGO                   IL
105207   5N1DR2BM9LC617138   Nissan       PATHFINDER          CHICAGO                   IL
105208   5N1DR2BM9LC617172   Nissan       PATHFINDER          WICHITA FALLS             TX
105209   5N1DR2BMXLC596784   Nissan       PATHFINDER          ROCHESTER                 NY
105210   5N1DR2BMXLC597255   Nissan       PATHFINDER          NORFOLK                   VA
105211   5N1DR2BMXLC597496   Nissan       PATHFINDER          SYRACUSE                  NY
105212   5N1DR2BMXLC597661   Nissan       PATHFINDER          GRAND RAPIDS              MI
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105213   5N1DR2BMXLC597806   Nissan       PATHFINDER          CHICAGO                   IL
105214   5N1DR2BMXLC601434   Nissan       PATHFINDER          SARASOTA                  FL
105215   5N1DR2BMXLC601661   Nissan       PATHFINDER          MIAMI                     FL
105216   5N1DR2BMXLC601692   Nissan       PATHFINDER          SAINT PAUL                MN
105217   5N1DR2BMXLC601708   Nissan       PATHFINDER          OMAHA                     NE
105218   5N1DR2BMXLC601790   Nissan       PATHFINDER          BLOOMINGTON               IL
105219   5N1DR2BMXLC601918   Nissan       PATHFINDER          PORTLAND                  ME
105220   5N1DR2BMXLC602177   Nissan       PATHFINDER          SAINT PAUL                MN
105221   5N1DR2BMXLC602194   Nissan       PATHFINDER          ORLANDO                   FL
105222   5N1DR2BMXLC602227   Nissan       PATHFINDER          WEST PALM BEACH           FL
105223   5N1DR2BMXLC602244   Nissan       PATHFINDER          SARASOTA                  FL
105224   5N1DR2BMXLC602342   Nissan       PATHFINDER          CHEEKTOWAGA               NY
105225   5N1DR2BMXLC602356   Nissan       PATHFINDER          CHICAGO                   IL
105226   5N1DR2BMXLC602485   Nissan       PATHFINDER          MILWAUKEE                 WI
105227   5N1DR2BMXLC602518   Nissan       PATHFINDER          ORLANDO                   FL
105228   5N1DR2BMXLC602812   Nissan       PATHFINDER          WEST PALM BEACH           FL
105229   5N1DR2BMXLC602860   Nissan       PATHFINDER          DANIA BEACH               FL
105230   5N1DR2BMXLC602874   Nissan       PATHFINDER          DES MOINES                IA
105231   5N1DR2BMXLC605936   Nissan       PATHFINDER          BALTIMORE                 MD
105232   5N1DR2BMXLC607251   Nissan       PATHFINDER          WHITE PLAINS              NY
105233   5N1DR2BMXLC607265   Nissan       PATHFINDER          CHICAGO                   IL
105234   5N1DR2BMXLC607492   Nissan       PATHFINDER          ALBANY                    NY
105235   5N1DR2BMXLC608061   Nissan       PATHFINDER          SAINT PAUL                MN
105236   5N1DR2BMXLC608237   Nissan       PATHFINDER          BOSTON                    MA
105237   5N1DR2BMXLC609050   Nissan       PATHFINDER          BIRMINGHAM                AL
105238   5N1DR2BMXLC609226   Nissan       PATHFINDER          RONKONKOMA                NY
105239   5N1DR2BMXLC609260   Nissan       PATHFINDER          FORT MYERS                FL
105240   5N1DR2BMXLC609372   Nissan       PATHFINDER          RALEIGH                   NC
105241   5N1DR2BMXLC610859   Nissan       PATHFINDER          CHICAGO                   IL
105242   5N1DR2BMXLC615415   Nissan       PATHFINDER          WICHITA FALLS             TX
105243   5N1DR2BMXLC615575   Nissan       PATHFINDER          CHICAGO                   IL
105244   5N1DR2BMXLC615818   Nissan       PATHFINDER          WICHITA FALLS             TX
105245   5N1DR2BMXLC616239   Nissan       PATHFINDER          CHICAGO                   IL
105246   5N1DR2BMXLC617018   Nissan       PATHFINDER          CHICAGO                   IL
105247   5N1DR2BN0LC594552   Nissan       PATHFINDER          HOUSTON                   TX
105248   5N1DR2BN0LC594681   Nissan       PATHFINDER          HOUSTON                   TX
105249   5N1DR2BN0LC595085   Nissan       PATHFINDER          KENNER                    LA
105250   5N1DR2BN0LC595183   Nissan       PATHFINDER          PHILADELPHIA              US
105251   5N1DR2BN0LC595300   Nissan       PATHFINDER          SAINT LOUIS               MO
105252   5N1DR2BN0LC595779   Nissan       PATHFINDER          KENNER                    LA
105253   5N1DR2BN0LC595877   Nissan       PATHFINDER          AUSTIN                    TX
105254   5N1DR2BN0LC596169   Nissan       PATHFINDER          HOUSTON                   TX
105255   5N1DR2BN0LC596429   Nissan       PATHFINDER          ORLANDO                   FL
105256   5N1DR2BN0LC597273   Nissan       PATHFINDER          AUSTIN                    TX
105257   5N1DR2BN0LC598939   Nissan       PATHFINDER          KNOXVILLE                 TN
105258   5N1DR2BN0LC598942   Nissan       PATHFINDER          PALM SPRINGS              CA
105259   5N1DR2BN0LC599010   Nissan       PATHFINDER          PALM SPRINGS              CA
105260   5N1DR2BN0LC599279   Nissan       PATHFINDER          SAN ANTONIO               TX
105261   5N1DR2BN0LC599461   Nissan       PATHFINDER          INGLEWOOD                 CA
105262   5N1DR2BN0LC599489   Nissan       PATHFINDER          Atlanta                   GA
105263   5N1DR2BN0LC599508   Nissan       PATHFINDER          MEMPHIS                   TN
105264   5N1DR2BN0LC600320   Nissan       PATHFINDER          FORT MYERS                FL
105265   5N1DR2BN0LC600947   Nissan       PATHFINDER          SHREVEPORT                LA
105266   5N1DR2BN0LC601046   Nissan       PATHFINDER          LOS ANGELES               CA
105267   5N1DR2BN0LC601077   Nissan       PATHFINDER          AUSTIN                    TX
105268   5N1DR2BN0LC601130   Nissan       PATHFINDER          HOUSTON                   TX
105269   5N1DR2BN0LC601144   Nissan       PATHFINDER          PHOENIX                   AZ
105270   5N1DR2BN0LC601242   Nissan       PATHFINDER          ORANGE COUNTY             CA
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105271   5N1DR2BN0LC601337   Nissan       PATHFINDER          LOS ANGELES               CA
105272   5N1DR2BN0LC601340   Nissan       PATHFINDER          LOS ANGELES               CA
105273   5N1DR2BN0LC601421   Nissan       PATHFINDER          DALLAS                    TX
105274   5N1DR2BN0LC601550   Nissan       PATHFINDER          HOUSTON                   TX
105275   5N1DR2BN0LC601676   Nissan       PATHFINDER          DALLAS                    TX
105276   5N1DR2BN0LC601712   Nissan       PATHFINDER          LAS VEGAS                 NV
105277   5N1DR2BN0LC601760   Nissan       PATHFINDER          TULSA                     OK
105278   5N1DR2BN0LC601774   Nissan       PATHFINDER          LOS ANGELES               CA
105279   5N1DR2BN0LC601810   Nissan       PATHFINDER          FRESNO                    CA
105280   5N1DR2BN0LC601838   Nissan       PATHFINDER          PHOENIX                   AZ
105281   5N1DR2BN0LC601886   Nissan       PATHFINDER          Tulsa                     OK
105282   5N1DR2BN0LC601936   Nissan       PATHFINDER          Los Angeles               CA
105283   5N1DR2BN0LC601967   Nissan       PATHFINDER          DALLAS                    TX
105284   5N1DR2BN0LC602021   Nissan       PATHFINDER          INGLEWOOD                 CA
105285   5N1DR2BN0LC602035   Nissan       PATHFINDER          LOS ANGELES               CA
105286   5N1DR2BN0LC602049   Nissan       PATHFINDER          SAN DIEGO                 CA
105287   5N1DR2BN0LC602147   Nissan       PATHFINDER          LOS ANGELES               CA
105288   5N1DR2BN0LC602195   Nissan       PATHFINDER          LOS ANGELES               CA
105289   5N1DR2BN0LC602200   Nissan       PATHFINDER          SACRAMENTO                CA
105290   5N1DR2BN0LC602326   Nissan       PATHFINDER          RENO                      NV
105291   5N1DR2BN0LC602441   Nissan       PATHFINDER          PHOENIX                   AZ
105292   5N1DR2BN0LC602682   Nissan       PATHFINDER          LAS VEGAS                 NV
105293   5N1DR2BN0LC602732   Nissan       PATHFINDER          SANTA ANA                 CA
105294   5N1DR2BN0LC602813   Nissan       PATHFINDER          HOUSTON                   TX
105295   5N1DR2BN0LC602858   Nissan       PATHFINDER          DALLAS                    TX
105296   5N1DR2BN0LC602908   Nissan       PATHFINDER          OMAHA                     NE
105297   5N1DR2BN0LC604061   Nissan       PATHFINDER          ORLANDO                   FL
105298   5N1DR2BN0LC604142   Nissan       PATHFINDER          FORT MYERS                FL
105299   5N1DR2BN0LC604190   Nissan       PATHFINDER          SAN FRANCISCO             CA
105300   5N1DR2BN0LC604321   Nissan       PATHFINDER          STERLING                  VA
105301   5N1DR2BN0LC604450   Nissan       PATHFINDER          TAMPA                     FL
105302   5N1DR2BN0LC604478   Nissan       PATHFINDER          ORLANDO                   FL
105303   5N1DR2BN0LC604481   Nissan       PATHFINDER          BIRMINGHAM                AL
105304   5N1DR2BN0LC604500   Nissan       PATHFINDER          PHOENIX                   AZ
105305   5N1DR2BN0LC604514   Nissan       PATHFINDER          TAMPA                     US
105306   5N1DR2BN0LC604528   Nissan       PATHFINDER          TAMPA                     FL
105307   5N1DR2BN0LC604559   Nissan       PATHFINDER          MEMPHIS                   TN
105308   5N1DR2BN0LC604562   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105309   5N1DR2BN0LC604612   Nissan       PATHFINDER          TAMPA                     FL
105310   5N1DR2BN0LC604660   Nissan       PATHFINDER          ORLANDO                   FL
105311   5N1DR2BN0LC604710   Nissan       PATHFINDER          MYRTLE BEACH              SC
105312   5N1DR2BN0LC604724   Nissan       PATHFINDER          TAMPA                     FL
105313   5N1DR2BN0LC604741   Nissan       PATHFINDER          ORLANDO                   FL
105314   5N1DR2BN0LC604819   Nissan       PATHFINDER          GREENVILLE                NC
105315   5N1DR2BN0LC604867   Nissan       PATHFINDER          FORT MYERS                FL
105316   5N1DR2BN0LC604898   Nissan       PATHFINDER          MYRTLE BEACH              SC
105317   5N1DR2BN0LC604903   Nissan       PATHFINDER          FORT MYERS                FL
105318   5N1DR2BN0LC604920   Nissan       PATHFINDER          FORT MYERS                FL
105319   5N1DR2BN0LC605128   Nissan       PATHFINDER          FORT MYERS                FL
105320   5N1DR2BN0LC605193   Nissan       PATHFINDER          DANIA                     FL
105321   5N1DR2BN0LC605243   Nissan       PATHFINDER          PALM SPRINGS              CA
105322   5N1DR2BN0LC605260   Nissan       PATHFINDER          COLLEGE PARK              GA
105323   5N1DR2BN0LC605341   Nissan       PATHFINDER          BURBANK                   CA
105324   5N1DR2BN0LC605355   Nissan       PATHFINDER          LAS VEGAS                 NV
105325   5N1DR2BN0LC605419   Nissan       PATHFINDER          SEATTLE                   WA
105326   5N1DR2BN0LC605484   Nissan       PATHFINDER          FORT MYERS                FL
105327   5N1DR2BN0LC605582   Nissan       PATHFINDER          TAMPA                     FL
105328   5N1DR2BN0LC605601   Nissan       PATHFINDER          ROANOKE                   VA
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105329   5N1DR2BN0LC605629   Nissan       PATHFINDER          SANTA ANA                 CA
105330   5N1DR2BN0LC605713   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105331   5N1DR2BN0LC605730   Nissan       PATHFINDER          SAN DIEGO                 CA
105332   5N1DR2BN0LC605839   Nissan       PATHFINDER          PENSACOLA                 FL
105333   5N1DR2BN0LC605873   Nissan       PATHFINDER          SAN DIEGO                 CA
105334   5N1DR2BN0LC606442   Nissan       PATHFINDER          Miami                     FL
105335   5N1DR2BN0LC606912   Nissan       PATHFINDER          COLLEGE PARK              GA
105336   5N1DR2BN0LC607011   Nissan       PATHFINDER          JACKSONVILLE              FL
105337   5N1DR2BN0LC607123   Nissan       PATHFINDER          LOS ANGELES               CA
105338   5N1DR2BN0LC607347   Nissan       PATHFINDER          PHOENIX                   AZ
105339   5N1DR2BN0LC613620   Nissan       PATHFINDER          PHOENIX                   AZ
105340   5N1DR2BN0LC613634   Nissan       PATHFINDER          Phoenix                   AZ
105341   5N1DR2BN0LC614072   Nissan       PATHFINDER          Dallas                    TX
105342   5N1DR2BN0LC614248   Nissan       PATHFINDER          Phoenix                   AZ
105343   5N1DR2BN0LC614718   Nissan       PATHFINDER          HOUSTON                   TX
105344   5N1DR2BN0LC615058   Nissan       PATHFINDER          Phoenix                   AZ
105345   5N1DR2BN0LC615237   Nissan       PATHFINDER          Phoenix                   AZ
105346   5N1DR2BN0LC615402   Nissan       PATHFINDER          Phoenix                   AZ
105347   5N1DR2BN0LC615562   Nissan       PATHFINDER          Phoenix                   AZ
105348   5N1DR2BN0LC616002   Nissan       PATHFINDER          PHOENIX                   AZ
105349   5N1DR2BN0LC616694   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105350   5N1DR2BN0LC617294   Nissan       PATHFINDER          Dallas                    TX
105351   5N1DR2BN0LC617425   Nissan       PATHFINDER          PHOENIX                   AZ
105352   5N1DR2BN1LC595032   Nissan       PATHFINDER          LOUISVILLE                KY
105353   5N1DR2BN1LC595144   Nissan       PATHFINDER          AUSTIN                    TX
105354   5N1DR2BN1LC595161   Nissan       PATHFINDER          KNOXVILLE                 TN
105355   5N1DR2BN1LC595192   Nissan       PATHFINDER          LAS VEGAS                 NV
105356   5N1DR2BN1LC595385   Nissan       PATHFINDER          LOS ANGELES               CA
105357   5N1DR2BN1LC595838   Nissan       PATHFINDER          DALLAS                    TX
105358   5N1DR2BN1LC595970   Nissan       PATHFINDER          Dallas                    TX
105359   5N1DR2BN1LC596018   Nissan       PATHFINDER          AUSTIN                    TX
105360   5N1DR2BN1LC596164   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105361   5N1DR2BN1LC596343   Nissan       PATHFINDER          SAN DIEGO                 CA
105362   5N1DR2BN1LC596567   Nissan       PATHFINDER          KNOXVILLE                 TN
105363   5N1DR2BN1LC596570   Nissan       PATHFINDER          ORANGE COUNTY             CA
105364   5N1DR2BN1LC597010   Nissan       PATHFINDER          PHOENIX                   AZ
105365   5N1DR2BN1LC597542   Nissan       PATHFINDER          ORANGE COUNTY             CA
105366   5N1DR2BN1LC597864   Nissan       PATHFINDER          PENSACOLA                 FL
105367   5N1DR2BN1LC597962   Nissan       PATHFINDER          DALLAS                    TX
105368   5N1DR2BN1LC598030   Nissan       PATHFINDER          NEWPORT BEACH             CA
105369   5N1DR2BN1LC598108   Nissan       PATHFINDER          TAMPA                     FL
105370   5N1DR2BN1LC599131   Nissan       PATHFINDER          MEMPHIS                   TN
105371   5N1DR2BN1LC599369   Nissan       PATHFINDER          ORLANDO                   FL
105372   5N1DR2BN1LC599694   Nissan       PATHFINDER          EL SEGUNDO                CA
105373   5N1DR2BN1LC600004   Nissan       PATHFINDER          PALM SPRINGS              CA
105374   5N1DR2BN1LC600052   Nissan       PATHFINDER          PHOENIX                   AZ
105375   5N1DR2BN1LC600293   Nissan       PATHFINDER          ORLANDO                   FL
105376   5N1DR2BN1LC600939   Nissan       PATHFINDER          DFW AIRPORT               TX
105377   5N1DR2BN1LC600987   Nissan       PATHFINDER          PALM SPRINGS              CA
105378   5N1DR2BN1LC601041   Nissan       PATHFINDER          FRESNO                    CA
105379   5N1DR2BN1LC601055   Nissan       PATHFINDER          HOUSTON                   TX
105380   5N1DR2BN1LC601069   Nissan       PATHFINDER          DALLAS                    TX
105381   5N1DR2BN1LC601119   Nissan       PATHFINDER          AUSTIN                    TX
105382   5N1DR2BN1LC601122   Nissan       PATHFINDER          DALLAS                    TX
105383   5N1DR2BN1LC601248   Nissan       PATHFINDER          LAS VEGAS                 NV
105384   5N1DR2BN1LC601282   Nissan       PATHFINDER          SAN ANTONIO               TX
105385   5N1DR2BN1LC601377   Nissan       PATHFINDER          HOUSTON                   TX
105386   5N1DR2BN1LC601489   Nissan       PATHFINDER          PALM SPRINGS              CA
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105387   5N1DR2BN1LC601508   Nissan       PATHFINDER          PALM SPRINGS              CA
105388   5N1DR2BN1LC601900   Nissan       PATHFINDER          LOS ANGELES               CA
105389   5N1DR2BN1LC601914   Nissan       PATHFINDER          LAS VEGAS                 NV
105390   5N1DR2BN1LC601976   Nissan       PATHFINDER          LAS VEGAS                 NV
105391   5N1DR2BN1LC602027   Nissan       PATHFINDER          SEATAC                    WA
105392   5N1DR2BN1LC602092   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105393   5N1DR2BN1LC602125   Nissan       PATHFINDER          ALBANY                    NY
105394   5N1DR2BN1LC602139   Nissan       PATHFINDER          DALLAS                    TX
105395   5N1DR2BN1LC602271   Nissan       PATHFINDER          PHOENIX                   AZ
105396   5N1DR2BN1LC602285   Nissan       PATHFINDER          LAS VEGAS                 NV
105397   5N1DR2BN1LC602335   Nissan       PATHFINDER          ORANGE COUNTY             CA
105398   5N1DR2BN1LC602478   Nissan       PATHFINDER          SAN DIEGO                 CA
105399   5N1DR2BN1LC602562   Nissan       PATHFINDER          PALM SPRINGS              CA
105400   5N1DR2BN1LC602643   Nissan       PATHFINDER          LOS ANGELES               CA
105401   5N1DR2BN1LC602707   Nissan       PATHFINDER          FRESNO                    CA
105402   5N1DR2BN1LC602710   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105403   5N1DR2BN1LC602819   Nissan       PATHFINDER          KENNER                    LA
105404   5N1DR2BN1LC602870   Nissan       PATHFINDER          LAS VEGAS                 NV
105405   5N1DR2BN1LC602903   Nissan       PATHFINDER          PHOENIX                   AZ
105406   5N1DR2BN1LC602965   Nissan       PATHFINDER          ONTARIO                   CA
105407   5N1DR2BN1LC602979   Nissan       PATHFINDER          PALM SPRINGS              CA
105408   5N1DR2BN1LC603078   Nissan       PATHFINDER          ONTARIO                   CA
105409   5N1DR2BN1LC603176   Nissan       PATHFINDER          LAS VEGAS                 NV
105410   5N1DR2BN1LC604182   Nissan       PATHFINDER          KNOXVILLE                 TN
105411   5N1DR2BN1LC604411   Nissan       PATHFINDER          SAN DIEGO                 CA
105412   5N1DR2BN1LC604425   Nissan       PATHFINDER          BURLINGTON                KY
105413   5N1DR2BN1LC604456   Nissan       PATHFINDER          TAMPA                     FL
105414   5N1DR2BN1LC604490   Nissan       PATHFINDER          ATLANTA                   GA
105415   5N1DR2BN1LC604537   Nissan       PATHFINDER          TUCSON                    AZ
105416   5N1DR2BN1LC604540   Nissan       PATHFINDER          SAVANNAH                  GA
105417   5N1DR2BN1LC604554   Nissan       PATHFINDER          RAPID CITY                SD
105418   5N1DR2BN1LC604568   Nissan       PATHFINDER          JACKSONVILLE              FL
105419   5N1DR2BN1LC604599   Nissan       PATHFINDER          PHOENIX                   AZ
105420   5N1DR2BN1LC604604   Nissan       PATHFINDER          PHOENIX                   AZ
105421   5N1DR2BN1LC604621   Nissan       PATHFINDER          SAN JOSE                  CA
105422   5N1DR2BN1LC604635   Nissan       PATHFINDER          PHOENIX                   AZ
105423   5N1DR2BN1LC604666   Nissan       PATHFINDER          FORT MYERS                FL
105424   5N1DR2BN1LC604733   Nissan       PATHFINDER          FORT MYERS                FL
105425   5N1DR2BN1LC604778   Nissan       PATHFINDER          ORLANDO                   FL
105426   5N1DR2BN1LC604781   Nissan       PATHFINDER          ORLANDO                   FL
105427   5N1DR2BN1LC604800   Nissan       PATHFINDER          ORLANDO                   FL
105428   5N1DR2BN1LC604845   Nissan       PATHFINDER          TAMPA                     FL
105429   5N1DR2BN1LC604859   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105430   5N1DR2BN1LC604893   Nissan       PATHFINDER          KNOXVILLE                 TN
105431   5N1DR2BN1LC604912   Nissan       PATHFINDER          WEST PALM BEACH           FL
105432   5N1DR2BN1LC604943   Nissan       PATHFINDER          WEST PALM BEACH           FL
105433   5N1DR2BN1LC605011   Nissan       PATHFINDER          MIAMI                     FL
105434   5N1DR2BN1LC605042   Nissan       PATHFINDER          ORLANDO                   FL
105435   5N1DR2BN1LC605073   Nissan       PATHFINDER          TAMPA                     FL
105436   5N1DR2BN1LC605087   Nissan       PATHFINDER          ORLANDO                   FL
105437   5N1DR2BN1LC605106   Nissan       PATHFINDER          FORT MYERS                FL
105438   5N1DR2BN1LC605123   Nissan       PATHFINDER          MIAMI                     FL
105439   5N1DR2BN1LC605154   Nissan       PATHFINDER          San Francisco             CA
105440   5N1DR2BN1LC605168   Nissan       PATHFINDER          MIAMI                     FL
105441   5N1DR2BN1LC605185   Nissan       PATHFINDER          WEST PALM BEACH           FL
105442   5N1DR2BN1LC605266   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105443   5N1DR2BN1LC605316   Nissan       PATHFINDER          CHICAGO                   IL
105444   5N1DR2BN1LC605347   Nissan       PATHFINDER          FORT MYERS                FL
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105445   5N1DR2BN1LC605350   Nissan       PATHFINDER          SAN DIEGO                 CA
105446   5N1DR2BN1LC605364   Nissan       PATHFINDER          Miami                     FL
105447   5N1DR2BN1LC605400   Nissan       PATHFINDER          LOS ANGELES               CA
105448   5N1DR2BN1LC605414   Nissan       PATHFINDER          EL PASO                   TX
105449   5N1DR2BN1LC605459   Nissan       PATHFINDER          ORLANDO                   FL
105450   5N1DR2BN1LC605509   Nissan       PATHFINDER          LOS ANGELES               CA
105451   5N1DR2BN1LC605574   Nissan       PATHFINDER          ORLANDO                   FL
105452   5N1DR2BN1LC605588   Nissan       PATHFINDER          ORLANDO                   FL
105453   5N1DR2BN1LC605610   Nissan       PATHFINDER          ORANGE COUNTY             CA
105454   5N1DR2BN1LC605638   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105455   5N1DR2BN1LC605669   Nissan       PATHFINDER          SAN DIEGO                 CA
105456   5N1DR2BN1LC605719   Nissan       PATHFINDER          ORLANDO                   FL
105457   5N1DR2BN1LC605722   Nissan       PATHFINDER          ORLANDO                   FL
105458   5N1DR2BN1LC605753   Nissan       PATHFINDER          PHOENIX                   AZ
105459   5N1DR2BN1LC605896   Nissan       PATHFINDER          WEST PALM BEACH           FL
105460   5N1DR2BN1LC605980   Nissan       PATHFINDER          LOS ANGELES               CA
105461   5N1DR2BN1LC606031   Nissan       PATHFINDER          FORT MYERS                FL
105462   5N1DR2BN1LC606577   Nissan       PATHFINDER          PANAMA CITY               FL
105463   5N1DR2BN1LC607177   Nissan       PATHFINDER          CHICAGO O'HARE AP         IL
105464   5N1DR2BN1LC607356   Nissan       PATHFINDER          FORT MYERS                FL
105465   5N1DR2BN1LC607504   Nissan       PATHFINDER          LOS ANGELES               CA
105466   5N1DR2BN1LC613335   Nissan       PATHFINDER          AUSTIN                    TX
105467   5N1DR2BN1LC613402   Nissan       PATHFINDER          PHOENIX                   AZ
105468   5N1DR2BN1LC613464   Nissan       PATHFINDER          PHOENIX                   AZ
105469   5N1DR2BN1LC613481   Nissan       PATHFINDER          ORANGE COUNTY             CA
105470   5N1DR2BN1LC614078   Nissan       PATHFINDER          KENNER                    LA
105471   5N1DR2BN1LC614484   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105472   5N1DR2BN1LC614520   Nissan       PATHFINDER          PHOENIX                   AZ
105473   5N1DR2BN1LC614890   Nissan       PATHFINDER          PHOENIX                   AZ
105474   5N1DR2BN1LC615165   Nissan       PATHFINDER          MIDLAND                   TX
105475   5N1DR2BN1LC615294   Nissan       PATHFINDER          Phoenix                   AZ
105476   5N1DR2BN1LC615344   Nissan       PATHFINDER          Phoenix                   AZ
105477   5N1DR2BN1LC615473   Nissan       PATHFINDER          PHOENIX                   AZ
105478   5N1DR2BN1LC616350   Nissan       PATHFINDER          Dallas                    TX
105479   5N1DR2BN1LC616610   Nissan       PATHFINDER          Dallas                    TX
105480   5N1DR2BN1LC616865   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105481   5N1DR2BN1LC617269   Nissan       PATHFINDER          PHOENIX                   AZ
105482   5N1DR2BN2LC594763   Nissan       PATHFINDER          SAN ANTONIO               TX
105483   5N1DR2BN2LC595010   Nissan       PATHFINDER          BIRMINGHAN                AL
105484   5N1DR2BN2LC595024   Nissan       PATHFINDER          KNOXVILLE                 TN
105485   5N1DR2BN2LC595363   Nissan       PATHFINDER          DALLAS                    TX
105486   5N1DR2BN2LC595914   Nissan       PATHFINDER          SHREVEPORT                LA
105487   5N1DR2BN2LC596044   Nissan       PATHFINDER          SAN DIEGO                 CA
105488   5N1DR2BN2LC596111   Nissan       PATHFINDER          COLLEGE PARK              GA
105489   5N1DR2BN2LC596139   Nissan       PATHFINDER          AUSTIN                    TX
105490   5N1DR2BN2LC596187   Nissan       PATHFINDER          CHARLESTON                SC
105491   5N1DR2BN2LC596545   Nissan       PATHFINDER          SANTA ANA                 CA
105492   5N1DR2BN2LC596576   Nissan       PATHFINDER          Portland                  ME
105493   5N1DR2BN2LC596982   Nissan       PATHFINDER          SANTA ANA                 CA
105494   5N1DR2BN2LC597095   Nissan       PATHFINDER          INGLEWOOD                 CA
105495   5N1DR2BN2LC597632   Nissan       PATHFINDER          SAN DIEGO                 CA
105496   5N1DR2BN2LC597873   Nissan       PATHFINDER          JACKSON                   MS
105497   5N1DR2BN2LC597890   Nissan       PATHFINDER          WHITE PLAINS              NY
105498   5N1DR2BN2LC597971   Nissan       PATHFINDER          DFW AIRPORT               TX
105499   5N1DR2BN2LC599378   Nissan       PATHFINDER          ONTARIO                   CA
105500   5N1DR2BN2LC599462   Nissan       PATHFINDER          PHOENIX                   AZ
105501   5N1DR2BN2LC599915   Nissan       PATHFINDER          MEMPHIS                   TN
105502   5N1DR2BN2LC600111   Nissan       PATHFINDER          PENSACOLA                 FL
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105503   5N1DR2BN2LC600254   Nissan       PATHFINDER          MIAMI                     FL
105504   5N1DR2BN2LC600996   Nissan       PATHFINDER          HOUSTON                   TX
105505   5N1DR2BN2LC601047   Nissan       PATHFINDER          HOUSTON                   TX
105506   5N1DR2BN2LC601064   Nissan       PATHFINDER          PALM SPRINGS              CA
105507   5N1DR2BN2LC601095   Nissan       PATHFINDER          DALLAS                    TX
105508   5N1DR2BN2LC601145   Nissan       PATHFINDER          LAS VEGAS                 NV
105509   5N1DR2BN2LC601176   Nissan       PATHFINDER          DALLAS                    TX
105510   5N1DR2BN2LC601243   Nissan       PATHFINDER          DALLAS                    TX
105511   5N1DR2BN2LC601260   Nissan       PATHFINDER          SEA TAC                   WA
105512   5N1DR2BN2LC601274   Nissan       PATHFINDER          DALLAS                    TX
105513   5N1DR2BN2LC601291   Nissan       PATHFINDER          PHOENIX                   AZ
105514   5N1DR2BN2LC601324   Nissan       PATHFINDER          WICHITA FALLS             TX
105515   5N1DR2BN2LC601338   Nissan       PATHFINDER          INGLEWOOD                 CA
105516   5N1DR2BN2LC601355   Nissan       PATHFINDER          SAINT LOUIS               MO
105517   5N1DR2BN2LC601369   Nissan       PATHFINDER          LOS ANGELES               CA
105518   5N1DR2BN2LC601405   Nissan       PATHFINDER          HAYDEN LAKE               ID
105519   5N1DR2BN2LC601436   Nissan       PATHFINDER          MIDLAND                   TX
105520   5N1DR2BN2LC601484   Nissan       PATHFINDER          PHOENIX                   AZ
105521   5N1DR2BN2LC601517   Nissan       PATHFINDER          CORPUS CHRISTI            TX
105522   5N1DR2BN2LC601582   Nissan       PATHFINDER          PALM SPRINGS              CA
105523   5N1DR2BN2LC601646   Nissan       PATHFINDER          DALLAS                    TX
105524   5N1DR2BN2LC601677   Nissan       PATHFINDER          HOUSTON                   TX
105525   5N1DR2BN2LC601680   Nissan       PATHFINDER          LAS VEGAS                 NV
105526   5N1DR2BN2LC601758   Nissan       PATHFINDER          MOBILE                    A
105527   5N1DR2BN2LC601789   Nissan       PATHFINDER          LOS ANGELES               CA
105528   5N1DR2BN2LC601839   Nissan       PATHFINDER          BURBANK                   CA
105529   5N1DR2BN2LC601906   Nissan       PATHFINDER          HOUSTON                   TX
105530   5N1DR2BN2LC602005   Nissan       PATHFINDER          BURBANK                   CA
105531   5N1DR2BN2LC602067   Nissan       PATHFINDER          LOS ANGELES               CA
105532   5N1DR2BN2LC602084   Nissan       PATHFINDER          INGLEWOOD                 CA
105533   5N1DR2BN2LC602098   Nissan       PATHFINDER          SAN DIEGO                 CA
105534   5N1DR2BN2LC602120   Nissan       PATHFINDER          BURBANK                   CA
105535   5N1DR2BN2LC602182   Nissan       PATHFINDER          PALM SPRINGS              CA
105536   5N1DR2BN2LC602313   Nissan       PATHFINDER          SAN DIEGO                 CA
105537   5N1DR2BN2LC602487   Nissan       PATHFINDER          SAN DIEGO                 CA
105538   5N1DR2BN2LC602523   Nissan       PATHFINDER          LAS VEGAS                 NV
105539   5N1DR2BN2LC602697   Nissan       PATHFINDER          LAS VEGAS                 NV
105540   5N1DR2BN2LC602778   Nissan       PATHFINDER          HOUSTON                   TX
105541   5N1DR2BN2LC604238   Nissan       PATHFINDER          SAN ANTONIO               TX
105542   5N1DR2BN2LC604532   Nissan       PATHFINDER          KEY WEST                  FL
105543   5N1DR2BN2LC604577   Nissan       PATHFINDER          WEST PALM BEACH           FL
105544   5N1DR2BN2LC604644   Nissan       PATHFINDER          TAMPA                     FL
105545   5N1DR2BN2LC604658   Nissan       PATHFINDER          NASHVILLE                 TN
105546   5N1DR2BN2LC604675   Nissan       PATHFINDER          ORLANDO                   FL
105547   5N1DR2BN2LC604711   Nissan       PATHFINDER          MIAMI                     FL
105548   5N1DR2BN2LC604773   Nissan       PATHFINDER          COLUMBIA                  SC
105549   5N1DR2BN2LC604837   Nissan       PATHFINDER          PENSACOLA                 FL
105550   5N1DR2BN2LC604921   Nissan       PATHFINDER          FORT MYERS                FL
105551   5N1DR2BN2LC604949   Nissan       PATHFINDER          TAMPA                     FL
105552   5N1DR2BN2LC604983   Nissan       PATHFINDER          ORLANDO                   FL
105553   5N1DR2BN2LC605048   Nissan       PATHFINDER          TAMPA                     FL
105554   5N1DR2BN2LC605082   Nissan       PATHFINDER          BURBANK                   CA
105555   5N1DR2BN2LC605096   Nissan       PATHFINDER          ORLANDO                   FL
105556   5N1DR2BN2LC605163   Nissan       PATHFINDER          LAS VEGAS                 NV
105557   5N1DR2BN2LC605180   Nissan       PATHFINDER          Miami                     FL
105558   5N1DR2BN2LC605275   Nissan       PATHFINDER          ONTARIO, RIVERSIDE        CA
105559   5N1DR2BN2LC605311   Nissan       PATHFINDER          LAS VEGAS                 NV
105560   5N1DR2BN2LC605356   Nissan       PATHFINDER          TUCSON                    AZ
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105561   5N1DR2BN2LC605373   Nissan       PATHFINDER          PALM SPRINGS              CA
105562   5N1DR2BN2LC605390   Nissan       PATHFINDER          MIAMI                     FL
105563   5N1DR2BN2LC605437   Nissan       PATHFINDER          SAN DIEGO                 CA
105564   5N1DR2BN2LC605504   Nissan       PATHFINDER          SAN DIEGO                 CA
105565   5N1DR2BN2LC605518   Nissan       PATHFINDER          ORLANDO                   FL
105566   5N1DR2BN2LC605633   Nissan       PATHFINDER          HOUSTON                   TX
105567   5N1DR2BN2LC605650   Nissan       PATHFINDER          ORLANDO                   FL
105568   5N1DR2BN2LC605664   Nissan       PATHFINDER          INGLEWOOD                 CA
105569   5N1DR2BN2LC605678   Nissan       PATHFINDER          PHOENIX                   AZ
105570   5N1DR2BN2LC605695   Nissan       PATHFINDER          LOS ANGELES               CA
105571   5N1DR2BN2LC605941   Nissan       PATHFINDER          ORLANDO                   FL
105572   5N1DR2BN2LC605972   Nissan       PATHFINDER          ORLANDO                   FL
105573   5N1DR2BN2LC606068   Nissan       PATHFINDER          MIAMI                     FL
105574   5N1DR2BN2LC606958   Nissan       PATHFINDER          MEMPHIS                   TN
105575   5N1DR2BN2LC606992   Nissan       PATHFINDER          ATLANTA                   GA
105576   5N1DR2BN2LC607009   Nissan       PATHFINDER          Atlanta                   GA
105577   5N1DR2BN2LC613814   Nissan       PATHFINDER          KENNER                    LA
105578   5N1DR2BN2LC613845   Nissan       PATHFINDER          Phoenix                   AZ
105579   5N1DR2BN2LC614011   Nissan       PATHFINDER          Phoenix                   AZ
105580   5N1DR2BN2LC614249   Nissan       PATHFINDER          Dallas                    TX
105581   5N1DR2BN2LC614428   Nissan       PATHFINDER          KENNER                    LA
105582   5N1DR2BN2LC614476   Nissan       PATHFINDER          PHOENIX                   AZ
105583   5N1DR2BN2LC614784   Nissan       PATHFINDER          PHOENIX                   AZ
105584   5N1DR2BN2LC614851   Nissan       PATHFINDER          PHOENIX                   AZ
105585   5N1DR2BN2LC614929   Nissan       PATHFINDER          SHREVEPORT                LA
105586   5N1DR2BN2LC615188   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105587   5N1DR2BN2LC615269   Nissan       PATHFINDER          DALLAS                    TX
105588   5N1DR2BN2LC616857   Nissan       PATHFINDER          PHOENIX                   AZ
105589   5N1DR2BN3LC595940   Nissan       PATHFINDER          Dallas                    TX
105590   5N1DR2BN3LC596151   Nissan       PATHFINDER          SACRAMENTO                CA
105591   5N1DR2BN3LC596232   Nissan       PATHFINDER          BEAUMONT                  TX
105592   5N1DR2BN3LC596294   Nissan       PATHFINDER          SAN ANTONIO               TX
105593   5N1DR2BN3LC596327   Nissan       PATHFINDER          SAN JOSE                  CA
105594   5N1DR2BN3LC596361   Nissan       PATHFINDER          HOUSTON                   TX
105595   5N1DR2BN3LC596389   Nissan       PATHFINDER          Lake Elsinore             CA
105596   5N1DR2BN3LC596683   Nissan       PATHFINDER          SAN ANTONIO               TX
105597   5N1DR2BN3LC596957   Nissan       PATHFINDER          SAN ANTONIO               TX
105598   5N1DR2BN3LC597204   Nissan       PATHFINDER          HOUSTON                   TX
105599   5N1DR2BN3LC597476   Nissan       PATHFINDER          BURBANK                   CA
105600   5N1DR2BN3LC597591   Nissan       PATHFINDER          PALM SPRINGS              CA
105601   5N1DR2BN3LC597607   Nissan       PATHFINDER          PALM SPRINGS              CA
105602   5N1DR2BN3LC597767   Nissan       PATHFINDER          DALLAS                    TX
105603   5N1DR2BN3LC597851   Nissan       PATHFINDER          SAN FRANCISCO             CA
105604   5N1DR2BN3LC597932   Nissan       PATHFINDER          ORLANDO                   FL
105605   5N1DR2BN3LC597994   Nissan       PATHFINDER          SAN JOSE                  CA
105606   5N1DR2BN3LC598157   Nissan       PATHFINDER          MONTEREY                  CA
105607   5N1DR2BN3LC599230   Nissan       PATHFINDER          ATLANTA                   GA
105608   5N1DR2BN3LC599907   Nissan       PATHFINDER          ORLANDO                   FL
105609   5N1DR2BN3LC600084   Nissan       PATHFINDER          ATLANTA                   GA
105610   5N1DR2BN3LC600196   Nissan       PATHFINDER          INDIANAPOLIS              IN
105611   5N1DR2BN3LC600943   Nissan       PATHFINDER          DALLAS                    TX
105612   5N1DR2BN3LC600957   Nissan       PATHFINDER          LOS ANGELES               CA
105613   5N1DR2BN3LC600960   Nissan       PATHFINDER          LOS ANGELES               CA
105614   5N1DR2BN3LC600988   Nissan       PATHFINDER          DALLAS                    TX
105615   5N1DR2BN3LC601011   Nissan       PATHFINDER          SAN FRANCISCO             CA
105616   5N1DR2BN3LC601025   Nissan       PATHFINDER          DALLAS                    TX
105617   5N1DR2BN3LC601087   Nissan       PATHFINDER          ONTARIO                   CA
105618   5N1DR2BN3LC601123   Nissan       PATHFINDER          SACRAMENTO                CA
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105619   5N1DR2BN3LC601154   Nissan       PATHFINDER          AUSTIN                    TX
105620   5N1DR2BN3LC601168   Nissan       PATHFINDER          DALLAS                    TX
105621   5N1DR2BN3LC601235   Nissan       PATHFINDER          HOUSTON                   TX
105622   5N1DR2BN3LC601283   Nissan       PATHFINDER          DALLAS                    TX
105623   5N1DR2BN3LC601297   Nissan       PATHFINDER          AUSTIN                    TX
105624   5N1DR2BN3LC601316   Nissan       PATHFINDER          ORANGE COUNTY             CA
105625   5N1DR2BN3LC601347   Nissan       PATHFINDER          HOUSTON                   TX
105626   5N1DR2BN3LC601395   Nissan       PATHFINDER          ORANGE COUNTY             CA
105627   5N1DR2BN3LC601400   Nissan       PATHFINDER          BURBANK                   CA
105628   5N1DR2BN3LC601462   Nissan       PATHFINDER          SAN DIEGO                 CA
105629   5N1DR2BN3LC601722   Nissan       PATHFINDER          ONTARIO                   CA
105630   5N1DR2BN3LC601767   Nissan       PATHFINDER          LOS ANGELES               CA
105631   5N1DR2BN3LC601848   Nissan       PATHFINDER          DALLAS                    TX
105632   5N1DR2BN3LC602000   Nissan       PATHFINDER          LOS ANGELES               CA
105633   5N1DR2BN3LC602076   Nissan       PATHFINDER          LOS ANGELES               CA
105634   5N1DR2BN3LC602143   Nissan       PATHFINDER          LAS VEGAS                 NV
105635   5N1DR2BN3LC602224   Nissan       PATHFINDER          PHOENIX                   AZ
105636   5N1DR2BN3LC602532   Nissan       PATHFINDER          HOUSTON                   TX
105637   5N1DR2BN3LC603793   Nissan       PATHFINDER          PHOENIX                   AZ
105638   5N1DR2BN3LC604068   Nissan       PATHFINDER          TAMPA                     FL
105639   5N1DR2BN3LC604328   Nissan       PATHFINDER          PHOENIX                   AZ
105640   5N1DR2BN3LC604457   Nissan       PATHFINDER          ORLANDO                   FL
105641   5N1DR2BN3LC604510   Nissan       PATHFINDER          PENSACOLA                 FL
105642   5N1DR2BN3LC604555   Nissan       PATHFINDER          ORLANDO                   FL
105643   5N1DR2BN3LC604619   Nissan       PATHFINDER          KNOXVILLE                 TN
105644   5N1DR2BN3LC604636   Nissan       PATHFINDER          PHOENIX                   AZ
105645   5N1DR2BN3LC604734   Nissan       PATHFINDER          TAMPA                     FL
105646   5N1DR2BN3LC604751   Nissan       PATHFINDER          ORLANDO                   FL
105647   5N1DR2BN3LC604815   Nissan       PATHFINDER          MIAMI                     FL
105648   5N1DR2BN3LC604877   Nissan       PATHFINDER          ORLANDO                   FL
105649   5N1DR2BN3LC604930   Nissan       PATHFINDER          STERLING                  VA
105650   5N1DR2BN3LC604944   Nissan       PATHFINDER          WEST PALM BEACH           FL
105651   5N1DR2BN3LC604958   Nissan       PATHFINDER          JACKSONVILLE              FL
105652   5N1DR2BN3LC604975   Nissan       PATHFINDER          ORLANDO                   FL
105653   5N1DR2BN3LC604989   Nissan       PATHFINDER          SACRAMENTO                CA
105654   5N1DR2BN3LC605009   Nissan       PATHFINDER          CHICAGO                   IL
105655   5N1DR2BN3LC605284   Nissan       PATHFINDER          MIAMI                     FL
105656   5N1DR2BN3LC605317   Nissan       PATHFINDER          JACKSONVILLE              FL
105657   5N1DR2BN3LC605320   Nissan       PATHFINDER          ORLANDO                   FL
105658   5N1DR2BN3LC605432   Nissan       PATHFINDER          SANTA ANA                 CA
105659   5N1DR2BN3LC605642   Nissan       PATHFINDER          LAS VEGAS                 NV
105660   5N1DR2BN3LC605673   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105661   5N1DR2BN3LC605687   Nissan       PATHFINDER          ORLANDO                   FL
105662   5N1DR2BN3LC605690   Nissan       PATHFINDER          Miami                     FL
105663   5N1DR2BN3LC606161   Nissan       PATHFINDER          WEST PALM BEACH           FL
105664   5N1DR2BN3LC606189   Nissan       PATHFINDER          WEST PALM BEACH           FL
105665   5N1DR2BN3LC606404   Nissan       PATHFINDER          WEST PALM BEACH           FL
105666   5N1DR2BN3LC606452   Nissan       PATHFINDER          TAMPA                     FL
105667   5N1DR2BN3LC606497   Nissan       PATHFINDER          PENSACOLA                 FL
105668   5N1DR2BN3LC606676   Nissan       PATHFINDER          Ft. Myers                 FL
105669   5N1DR2BN3LC606788   Nissan       PATHFINDER          KNOXVILLE                 TN
105670   5N1DR2BN3LC606841   Nissan       PATHFINDER          MEMPHIS                   TN
105671   5N1DR2BN3LC606905   Nissan       PATHFINDER          HOUSTON                   TX
105672   5N1DR2BN3LC606922   Nissan       PATHFINDER          Atlanta                   GA
105673   5N1DR2BN3LC606970   Nissan       PATHFINDER          MEMPHIS                   TN
105674   5N1DR2BN3LC606984   Nissan       PATHFINDER          LOS ANGELES               CA
105675   5N1DR2BN3LC607004   Nissan       PATHFINDER          AUSTIN                    TX
105676   5N1DR2BN3LC607598   Nissan       PATHFINDER          ONTARIO, RIVERSIDE        CA
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105677   5N1DR2BN3LC613532   Nissan       PATHFINDER          PHOENIX                   AZ
105678   5N1DR2BN3LC613577   Nissan       PATHFINDER          PHOENIX                   AZ
105679   5N1DR2BN3LC614051   Nissan       PATHFINDER          KENNER                    LA
105680   5N1DR2BN3LC614180   Nissan       PATHFINDER          KENNER                    LA
105681   5N1DR2BN3LC614454   Nissan       PATHFINDER          DALLAS                    TX
105682   5N1DR2BN3LC614485   Nissan       PATHFINDER          KENNER                    LA
105683   5N1DR2BN3LC614549   Nissan       PATHFINDER          Phoenix                   AZ
105684   5N1DR2BN3LC614602   Nissan       PATHFINDER          KENNER                    LA
105685   5N1DR2BN3LC614793   Nissan       PATHFINDER          DALLAS                    TX
105686   5N1DR2BN3LC615734   Nissan       PATHFINDER          DALLAS                    TX
105687   5N1DR2BN3LC616091   Nissan       PATHFINDER          DALLAS                    TX
105688   5N1DR2BN4LC594733   Nissan       PATHFINDER          KANSAS CITY               MO
105689   5N1DR2BN4LC594926   Nissan       PATHFINDER          HOUSTON                   TX
105690   5N1DR2BN4LC595347   Nissan       PATHFINDER          AUSTIN                    TX
105691   5N1DR2BN4LC596336   Nissan       PATHFINDER          DALLAS                    TX
105692   5N1DR2BN4LC596594   Nissan       PATHFINDER          HOUSTON                   TX
105693   5N1DR2BN4LC596689   Nissan       PATHFINDER          PALM SPRINGS              CA
105694   5N1DR2BN4LC596790   Nissan       PATHFINDER          LOS ANGELES               CA
105695   5N1DR2BN4LC597275   Nissan       PATHFINDER          Buena Park                CA
105696   5N1DR2BN4LC598068   Nissan       PATHFINDER          FORT MYERS                FL
105697   5N1DR2BN4LC598118   Nissan       PATHFINDER          DALLAS                    TX
105698   5N1DR2BN4LC600059   Nissan       PATHFINDER          MIAMI                     FL
105699   5N1DR2BN4LC600093   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105700   5N1DR2BN4LC600935   Nissan       PATHFINDER          DALLAS                    TX
105701   5N1DR2BN4LC600966   Nissan       PATHFINDER          DALLAS                    TX
105702   5N1DR2BN4LC601020   Nissan       PATHFINDER          DALLAS                    TX
105703   5N1DR2BN4LC601079   Nissan       PATHFINDER          Dallas                    TX
105704   5N1DR2BN4LC601082   Nissan       PATHFINDER          DALLAS                    TX
105705   5N1DR2BN4LC601213   Nissan       PATHFINDER          DALLAS                    TX
105706   5N1DR2BN4LC601308   Nissan       PATHFINDER          LOS ANGELES               CA
105707   5N1DR2BN4LC601311   Nissan       PATHFINDER          DALLAS                    TX
105708   5N1DR2BN4LC601356   Nissan       PATHFINDER          HOUSTON                   TX
105709   5N1DR2BN4LC601387   Nissan       PATHFINDER          SAN FRANCISCO             CA
105710   5N1DR2BN4LC601499   Nissan       PATHFINDER          FRESNO                    CA
105711   5N1DR2BN4LC601504   Nissan       PATHFINDER          SANTA ANA                 CA
105712   5N1DR2BN4LC601549   Nissan       PATHFINDER          SANTA ANA                 CA
105713   5N1DR2BN4LC601681   Nissan       PATHFINDER          PHOENIX                   AZ
105714   5N1DR2BN4LC601695   Nissan       PATHFINDER          LOS ANGELES               CA
105715   5N1DR2BN4LC601700   Nissan       PATHFINDER          SAN DIEGO                 CA
105716   5N1DR2BN4LC601745   Nissan       PATHFINDER          LAS VEGAS                 NV
105717   5N1DR2BN4LC601793   Nissan       PATHFINDER          SANTA ANA                 CA
105718   5N1DR2BN4LC601812   Nissan       PATHFINDER          SAN ANTONIO               TX
105719   5N1DR2BN4LC601910   Nissan       PATHFINDER          CORPUS CHRISTI            TX
105720   5N1DR2BN4LC601986   Nissan       PATHFINDER          LOS ANGELES               CA
105721   5N1DR2BN4LC602037   Nissan       PATHFINDER          TUCSON                    AZ
105722   5N1DR2BN4LC602054   Nissan       PATHFINDER          NEW BERN                  NC
105723   5N1DR2BN4LC602068   Nissan       PATHFINDER          OAKLAND                   CA
105724   5N1DR2BN4LC602099   Nissan       PATHFINDER          ORANGE COUNTY             CA
105725   5N1DR2BN4LC602197   Nissan       PATHFINDER          SANTA ANA                 CA
105726   5N1DR2BN4LC602202   Nissan       PATHFINDER          KANSAS CITY               MO
105727   5N1DR2BN4LC602247   Nissan       PATHFINDER          LOS ANGELES               CA
105728   5N1DR2BN4LC602295   Nissan       PATHFINDER          LAS VEGAS                 NV
105729   5N1DR2BN4LC602300   Nissan       PATHFINDER          LAS VEGAS                 NV
105730   5N1DR2BN4LC602359   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105731   5N1DR2BN4LC602362   Nissan       PATHFINDER          LAS VEGAS                 NV
105732   5N1DR2BN4LC602636   Nissan       PATHFINDER          LAS VEGAS                 NV
105733   5N1DR2BN4LC602765   Nissan       PATHFINDER          DALLAS                    TX
105734   5N1DR2BN4LC604144   Nissan       PATHFINDER          KNOXVILLE                 TN
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105735   5N1DR2BN4LC604161   Nissan       PATHFINDER          KNOXVILLE                 TN
105736   5N1DR2BN4LC604208   Nissan       PATHFINDER          KNOXVILLE                 TN
105737   5N1DR2BN4LC604306   Nissan       PATHFINDER          NEW ORLEANS               LA
105738   5N1DR2BN4LC604452   Nissan       PATHFINDER          NEW ORLEANS               LA
105739   5N1DR2BN4LC604502   Nissan       PATHFINDER          MIAMI                     FL
105740   5N1DR2BN4LC604547   Nissan       PATHFINDER          PHOENIX                   AZ
105741   5N1DR2BN4LC604550   Nissan       PATHFINDER          TUCSON                    AZ
105742   5N1DR2BN4LC604564   Nissan       PATHFINDER          PHOENIX                   AZ
105743   5N1DR2BN4LC604631   Nissan       PATHFINDER          KNOXVILLE                 TN
105744   5N1DR2BN4LC604693   Nissan       PATHFINDER          Miami                     FL
105745   5N1DR2BN4LC604774   Nissan       PATHFINDER          ORLANDO                   FL
105746   5N1DR2BN4LC604788   Nissan       PATHFINDER          Miami                     FL
105747   5N1DR2BN4LC604807   Nissan       PATHFINDER          FORT MYERS                FL
105748   5N1DR2BN4LC604824   Nissan       PATHFINDER          WEST PALM BEACH           FL
105749   5N1DR2BN4LC604855   Nissan       PATHFINDER          WEST PALM BEACH           FL
105750   5N1DR2BN4LC604869   Nissan       PATHFINDER          TAMPA                     FL
105751   5N1DR2BN4LC604872   Nissan       PATHFINDER          FORT MYERS                FL
105752   5N1DR2BN4LC604905   Nissan       PATHFINDER          WEST PALM BEACH           FL
105753   5N1DR2BN4LC604953   Nissan       PATHFINDER          FORT MYERS                FL
105754   5N1DR2BN4LC604967   Nissan       PATHFINDER          LAS VEGAS                 NV
105755   5N1DR2BN4LC604984   Nissan       PATHFINDER          DALLAS                    TX
105756   5N1DR2BN4LC604998   Nissan       PATHFINDER          SAN DIEGO                 CA
105757   5N1DR2BN4LC605018   Nissan       PATHFINDER          WEST PALM BEACH           FL
105758   5N1DR2BN4LC605052   Nissan       PATHFINDER          COLLEGE PARK              GA
105759   5N1DR2BN4LC605066   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105760   5N1DR2BN4LC605097   Nissan       PATHFINDER          WEST PALM BEACH           FL
105761   5N1DR2BN4LC605116   Nissan       PATHFINDER          MIAMI                     FL
105762   5N1DR2BN4LC605150   Nissan       PATHFINDER          ORLANDO                   FL
105763   5N1DR2BN4LC605200   Nissan       PATHFINDER          ORLANDO                   FL
105764   5N1DR2BN4LC605245   Nissan       PATHFINDER          ONTARIO, RIVERSIDE        CA
105765   5N1DR2BN4LC605262   Nissan       PATHFINDER          TAMPA                     FL
105766   5N1DR2BN4LC605309   Nissan       PATHFINDER          STERLING                  VA
105767   5N1DR2BN4LC605360   Nissan       PATHFINDER          MIAMI                     FL
105768   5N1DR2BN4LC605374   Nissan       PATHFINDER          LAS VEGAS                 NV
105769   5N1DR2BN4LC605388   Nissan       PATHFINDER          SAN DIEGO                 CA
105770   5N1DR2BN4LC605438   Nissan       PATHFINDER          ORANGE COUNTY             CA
105771   5N1DR2BN4LC605455   Nissan       PATHFINDER          TAMPA                     FL
105772   5N1DR2BN4LC605469   Nissan       PATHFINDER          ORANGE COUNTY             CA
105773   5N1DR2BN4LC605536   Nissan       PATHFINDER          LOS ANGELES               CA
105774   5N1DR2BN4LC605617   Nissan       PATHFINDER          Atlanta                   GA
105775   5N1DR2BN4LC605634   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105776   5N1DR2BN4LC605682   Nissan       PATHFINDER          ORLANDO                   FL
105777   5N1DR2BN4LC605732   Nissan       PATHFINDER          LAS VEGAS                 NV
105778   5N1DR2BN4LC605875   Nissan       PATHFINDER          PALM SPRINGS              CA
105779   5N1DR2BN4LC606265   Nissan       PATHFINDER          SANTA ANA                 CA
105780   5N1DR2BN4LC606816   Nissan       PATHFINDER          BIRMINGHAN                AL
105781   5N1DR2BN4LC606833   Nissan       PATHFINDER          DALLAS                    TX
105782   5N1DR2BN4LC606881   Nissan       PATHFINDER          PHOENIX                   AZ
105783   5N1DR2BN4LC606900   Nissan       PATHFINDER          LOS ANGELES               CA
105784   5N1DR2BN4LC607237   Nissan       PATHFINDER          ONTARIO                   CA
105785   5N1DR2BN4LC607268   Nissan       PATHFINDER          INDIANAPOLIS              IN
105786   5N1DR2BN4LC607349   Nissan       PATHFINDER          PHOENIX                   AZ
105787   5N1DR2BN4LC607528   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105788   5N1DR2BN4LC607626   Nissan       PATHFINDER          JACKSONVILLE              FL
105789   5N1DR2BN4LC613863   Nissan       PATHFINDER          Phoenix                   AZ
105790   5N1DR2BN4LC613877   Nissan       PATHFINDER          Phoenix                   AZ
105791   5N1DR2BN4LC614012   Nissan       PATHFINDER          KENNER                    LA
105792   5N1DR2BN4LC614074   Nissan       PATHFINDER          KENNER                    LA
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105793   5N1DR2BN4LC614107   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105794   5N1DR2BN4LC614320   Nissan       PATHFINDER          PHOENIX                   AZ
105795   5N1DR2BN4LC614642   Nissan       PATHFINDER          HOUSTON                   TX
105796   5N1DR2BN4LC614821   Nissan       PATHFINDER          KNOXVILLE                 TN
105797   5N1DR2BN4LC615015   Nissan       PATHFINDER          PHOENIX                   AZ
105798   5N1DR2BN4LC615225   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105799   5N1DR2BN4LC615273   Nissan       PATHFINDER          DES MOINES                IA
105800   5N1DR2BN4LC615404   Nissan       PATHFINDER          Phoenix                   AZ
105801   5N1DR2BN4LC615600   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105802   5N1DR2BN4LC616746   Nissan       PATHFINDER          SAN DIEGO                 CA
105803   5N1DR2BN4LC617427   Nissan       PATHFINDER          PHOENIX                   AZ
105804   5N1DR2BN5LC594675   Nissan       PATHFINDER          DETROIT                   MI
105805   5N1DR2BN5LC594711   Nissan       PATHFINDER          TUCSON                    AZ
105806   5N1DR2BN5LC595048   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105807   5N1DR2BN5LC595146   Nissan       PATHFINDER          HOUSTON                   TX
105808   5N1DR2BN5LC596202   Nissan       PATHFINDER          Dallas                    TX
105809   5N1DR2BN5LC596538   Nissan       PATHFINDER          PANAMA CITY               FL
105810   5N1DR2BN5LC597964   Nissan       PATHFINDER          Atlanta                   GA
105811   5N1DR2BN5LC598001   Nissan       PATHFINDER          MEMPHIS                   TN
105812   5N1DR2BN5LC598161   Nissan       PATHFINDER          BIRMINGHAM                AL
105813   5N1DR2BN5LC599035   Nissan       PATHFINDER          LOS ANGELES AP            CA
105814   5N1DR2BN5LC599889   Nissan       PATHFINDER          LOS ANGELES               CA
105815   5N1DR2BN5LC599987   Nissan       PATHFINDER          MARY ESTHER               FL
105816   5N1DR2BN5LC600054   Nissan       PATHFINDER          ORLANDO                   FL
105817   5N1DR2BN5LC600944   Nissan       PATHFINDER          DALLAS                    TX
105818   5N1DR2BN5LC601026   Nissan       PATHFINDER          DALLAS                    TX
105819   5N1DR2BN5LC601091   Nissan       PATHFINDER          DALLAS                    TX
105820   5N1DR2BN5LC601110   Nissan       PATHFINDER          HOUSTON                   TX
105821   5N1DR2BN5LC601138   Nissan       PATHFINDER          DALLAS                    TX
105822   5N1DR2BN5LC601141   Nissan       PATHFINDER          LAS VEGAS                 NV
105823   5N1DR2BN5LC601219   Nissan       PATHFINDER          DALLAS                    TX
105824   5N1DR2BN5LC601320   Nissan       PATHFINDER          DALLAS                    TX
105825   5N1DR2BN5LC601348   Nissan       PATHFINDER          DALLAS                    TX
105826   5N1DR2BN5LC601351   Nissan       PATHFINDER          DALLAS                    TX
105827   5N1DR2BN5LC601463   Nissan       PATHFINDER          BURLINGAME                CA
105828   5N1DR2BN5LC601480   Nissan       PATHFINDER          LOS ANGELES               CA
105829   5N1DR2BN5LC601608   Nissan       PATHFINDER          SACRAMENTO                CA
105830   5N1DR2BN5LC601740   Nissan       PATHFINDER          SAN DIEGO                 CA
105831   5N1DR2BN5LC601799   Nissan       PATHFINDER          LAS VEGAS                 NV
105832   5N1DR2BN5LC601821   Nissan       PATHFINDER          HOUSTON                   TX
105833   5N1DR2BN5LC601902   Nissan       PATHFINDER          LOS ANGELES               CA
105834   5N1DR2BN5LC601916   Nissan       PATHFINDER          DALLAS                    TX
105835   5N1DR2BN5LC601964   Nissan       PATHFINDER          LOS ANGELES               CA
105836   5N1DR2BN5LC602032   Nissan       PATHFINDER          Dallas                    TX
105837   5N1DR2BN5LC602161   Nissan       PATHFINDER          KANSAS CITY               MO
105838   5N1DR2BN5LC602175   Nissan       PATHFINDER          LAS VEGAS                 NV
105839   5N1DR2BN5LC602287   Nissan       PATHFINDER          LAS VEGAS                 NV
105840   5N1DR2BN5LC602340   Nissan       PATHFINDER          Atlanta                   GA
105841   5N1DR2BN5LC602399   Nissan       PATHFINDER          SAN DIEGO                 CA
105842   5N1DR2BN5LC602421   Nissan       PATHFINDER          OMAHA                     NE
105843   5N1DR2BN5LC602483   Nissan       PATHFINDER          HOUSTON                   TX
105844   5N1DR2BN5LC602788   Nissan       PATHFINDER          PHOENIX                   AZ
105845   5N1DR2BN5LC602869   Nissan       PATHFINDER          SAN ANTONIO               TX
105846   5N1DR2BN5LC602922   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105847   5N1DR2BN5LC603049   Nissan       PATHFINDER          LOS ANGELES               CA
105848   5N1DR2BN5LC603052   Nissan       PATHFINDER          HOUSTON                   TX
105849   5N1DR2BN5LC603536   Nissan       PATHFINDER          MILWAUKEE                 WI
105850   5N1DR2BN5LC603715   Nissan       PATHFINDER          DALLAS                    TX
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105851   5N1DR2BN5LC604086   Nissan       PATHFINDER          MEMPHIS                   TN
105852   5N1DR2BN5LC604170   Nissan       PATHFINDER          FORT MYERS                FL
105853   5N1DR2BN5LC604265   Nissan       PATHFINDER          PHOENIX                   AZ
105854   5N1DR2BN5LC604329   Nissan       PATHFINDER          LAS VEGAS                 NV
105855   5N1DR2BN5LC604475   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105856   5N1DR2BN5LC604511   Nissan       PATHFINDER          ORLANDO                   FL
105857   5N1DR2BN5LC604542   Nissan       PATHFINDER          ORLANDO                   FL
105858   5N1DR2BN5LC604587   Nissan       PATHFINDER          GREENSBORO                NC
105859   5N1DR2BN5LC604704   Nissan       PATHFINDER          WEST PALM BEACH           FL
105860   5N1DR2BN5LC604718   Nissan       PATHFINDER          FORT MYERS                FL
105861   5N1DR2BN5LC604721   Nissan       PATHFINDER          MIAMI                     FL
105862   5N1DR2BN5LC604783   Nissan       PATHFINDER          WEST PALM BEACH           FL
105863   5N1DR2BN5LC604802   Nissan       PATHFINDER          ORLANDO                   FL
105864   5N1DR2BN5LC604881   Nissan       PATHFINDER          TAMPA                     FL
105865   5N1DR2BN5LC604900   Nissan       PATHFINDER          TAMPA                     US
105866   5N1DR2BN5LC604931   Nissan       PATHFINDER          PHILADELPHIA              PA
105867   5N1DR2BN5LC605013   Nissan       PATHFINDER          ORLANDO                   FL
105868   5N1DR2BN5LC605027   Nissan       PATHFINDER          ORLANDO                   FL
105869   5N1DR2BN5LC605061   Nissan       PATHFINDER          ORLANDO                   FL
105870   5N1DR2BN5LC605075   Nissan       PATHFINDER          Miami                     FL
105871   5N1DR2BN5LC605125   Nissan       PATHFINDER          TAMPA                     FL
105872   5N1DR2BN5LC605139   Nissan       PATHFINDER          MIAMI                     FL
105873   5N1DR2BN5LC605142   Nissan       PATHFINDER          BOSTON                    MA
105874   5N1DR2BN5LC605187   Nissan       PATHFINDER          ORLANDO                   FL
105875   5N1DR2BN5LC605206   Nissan       PATHFINDER          ORLANDO                   FL
105876   5N1DR2BN5LC605223   Nissan       PATHFINDER          KNOXVILLE                 TN
105877   5N1DR2BN5LC605268   Nissan       PATHFINDER          TUCSON                    AZ
105878   5N1DR2BN5LC605304   Nissan       PATHFINDER          MIAMI                     FL
105879   5N1DR2BN5LC605335   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105880   5N1DR2BN5LC605349   Nissan       PATHFINDER          PALM SPRINGS              CA
105881   5N1DR2BN5LC605383   Nissan       PATHFINDER          SANTA ANA                 CA
105882   5N1DR2BN5LC605402   Nissan       PATHFINDER          LAS VEGAS                 NV
105883   5N1DR2BN5LC605433   Nissan       PATHFINDER          ORANGE COUNTY             CA
105884   5N1DR2BN5LC605447   Nissan       PATHFINDER          MIAMI                     FL
105885   5N1DR2BN5LC605464   Nissan       PATHFINDER          MIAMI                     FL
105886   5N1DR2BN5LC605478   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105887   5N1DR2BN5LC605514   Nissan       PATHFINDER          ORLANDO                   FL
105888   5N1DR2BN5LC605593   Nissan       PATHFINDER          LOS ANGELES               CA
105889   5N1DR2BN5LC605674   Nissan       PATHFINDER          SARASOTA                  FL
105890   5N1DR2BN5LC605688   Nissan       PATHFINDER          PHOENIX                   AZ
105891   5N1DR2BN5LC605710   Nissan       PATHFINDER          BURBANK                   CA
105892   5N1DR2BN5LC605724   Nissan       PATHFINDER          BURBANK                   CA
105893   5N1DR2BN5LC605738   Nissan       PATHFINDER          NEW BERN                  NC
105894   5N1DR2BN5LC605755   Nissan       PATHFINDER          BURBANK                   CA
105895   5N1DR2BN5LC606209   Nissan       PATHFINDER          WEST PALM BEACH           FL
105896   5N1DR2BN5LC606324   Nissan       PATHFINDER          ORLANDO                   FL
105897   5N1DR2BN5LC606338   Nissan       PATHFINDER          MIAMI                     FL
105898   5N1DR2BN5LC606758   Nissan       PATHFINDER          DALLAS                    TX
105899   5N1DR2BN5LC607022   Nissan       PATHFINDER          SAN FRANCISCO             CA
105900   5N1DR2BN5LC607148   Nissan       PATHFINDER          PALM SPRINGS              CA
105901   5N1DR2BN5LC613709   Nissan       PATHFINDER          ORLANDO                   FL
105902   5N1DR2BN5LC613841   Nissan       PATHFINDER          PHOENIX                   AZ
105903   5N1DR2BN5LC614083   Nissan       PATHFINDER          DFW AIRPORT               TX
105904   5N1DR2BN5LC614360   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105905   5N1DR2BN5LC614441   Nissan       PATHFINDER          PHOENIX                   AZ
105906   5N1DR2BN5LC614469   Nissan       PATHFINDER          Dallas                    TX
105907   5N1DR2BN5LC615038   Nissan       PATHFINDER          PITTSBURGH                PA
105908   5N1DR2BN5LC615220   Nissan       PATHFINDER          Phoenix                   AZ
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105909   5N1DR2BN5LC615265   Nissan       PATHFINDER          SAN ANTONIO               TX
105910   5N1DR2BN5LC615699   Nissan       PATHFINDER          SEATAC                    WA
105911   5N1DR2BN5LC616870   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105912   5N1DR2BN5LC617033   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105913   5N1DR2BN6LC594832   Nissan       PATHFINDER          BURBANK                   CA
105914   5N1DR2BN6LC595107   Nissan       PATHFINDER          LOS ANGELES               CA
105915   5N1DR2BN6LC595141   Nissan       PATHFINDER          PENSACOLA                 FL
105916   5N1DR2BN6LC595303   Nissan       PATHFINDER          OKLAHOMA CITY             OK
105917   5N1DR2BN6LC595446   Nissan       PATHFINDER          HOUSTON                   TX
105918   5N1DR2BN6LC595544   Nissan       PATHFINDER          Irving                    TX
105919   5N1DR2BN6LC595916   Nissan       PATHFINDER          Irving                    TX
105920   5N1DR2BN6LC596323   Nissan       PATHFINDER          NASHVILLE                 TN
105921   5N1DR2BN6LC596483   Nissan       PATHFINDER          DALLAS                    TX
105922   5N1DR2BN6LC596550   Nissan       PATHFINDER          AUSTIN                    TX
105923   5N1DR2BN6LC596872   Nissan       PATHFINDER          Dallas                    TX
105924   5N1DR2BN6LC596998   Nissan       PATHFINDER          DALLAS                    TX
105925   5N1DR2BN6LC598041   Nissan       PATHFINDER          HOUSTON                   TX
105926   5N1DR2BN6LC598167   Nissan       PATHFINDER          DALLAS                    TX
105927   5N1DR2BN6LC599352   Nissan       PATHFINDER          PALM SPRINGS              CA
105928   5N1DR2BN6LC599447   Nissan       PATHFINDER          PALM SPRINGS              CA
105929   5N1DR2BN6LC599450   Nissan       PATHFINDER          LOS ANGELES               CA
105930   5N1DR2BN6LC599514   Nissan       PATHFINDER          ORLANDO                   FL
105931   5N1DR2BN6LC599903   Nissan       PATHFINDER          SAINT LOUIS               MO
105932   5N1DR2BN6LC600239   Nissan       PATHFINDER          ORLANDO                   FL
105933   5N1DR2BN6LC600936   Nissan       PATHFINDER          BURLINGAME                CA
105934   5N1DR2BN6LC601049   Nissan       PATHFINDER          AUSTIN                    TX
105935   5N1DR2BN6LC601245   Nissan       PATHFINDER          DALLAS                    TX
105936   5N1DR2BN6LC601276   Nissan       PATHFINDER          HOUSTON                   TX
105937   5N1DR2BN6LC601312   Nissan       PATHFINDER          KENNER                    LA
105938   5N1DR2BN6LC601407   Nissan       PATHFINDER          SAN ANTONIO               TX
105939   5N1DR2BN6LC601424   Nissan       PATHFINDER          PALM SPRINGS              CA
105940   5N1DR2BN6LC601486   Nissan       PATHFINDER          SANTA BARBARA             CA
105941   5N1DR2BN6LC601553   Nissan       PATHFINDER          LAS VEGAS                 NV
105942   5N1DR2BN6LC601584   Nissan       PATHFINDER          FRESNO                    CA
105943   5N1DR2BN6LC601679   Nissan       PATHFINDER          SAN ANTONIO               TX
105944   5N1DR2BN6LC601777   Nissan       PATHFINDER          AUSTIN                    TX
105945   5N1DR2BN6LC601830   Nissan       PATHFINDER          LOS ANGELES               CA
105946   5N1DR2BN6LC601875   Nissan       PATHFINDER          NEWPORT BEACH             CA
105947   5N1DR2BN6LC601892   Nissan       PATHFINDER          DALLAS                    TX
105948   5N1DR2BN6LC601911   Nissan       PATHFINDER          LOS ANGELES               CA
105949   5N1DR2BN6LC601939   Nissan       PATHFINDER          FLORENCE                  SC
105950   5N1DR2BN6LC601956   Nissan       PATHFINDER          LOS ANGELES               CA
105951   5N1DR2BN6LC602086   Nissan       PATHFINDER          SANTA ANA                 CA
105952   5N1DR2BN6LC602119   Nissan       PATHFINDER          AUSTIN                    TX
105953   5N1DR2BN6LC602198   Nissan       PATHFINDER          HOUSTON                   TX
105954   5N1DR2BN6LC602377   Nissan       PATHFINDER          LAS VEGAS                 NV
105955   5N1DR2BN6LC602492   Nissan       PATHFINDER          Los Angeles               CA
105956   5N1DR2BN6LC602511   Nissan       PATHFINDER          LAS VEGAS                 NV
105957   5N1DR2BN6LC602590   Nissan       PATHFINDER          PALM SPRINGS              CA
105958   5N1DR2BN6LC602671   Nissan       PATHFINDER          LOS ANGELES AP            CA
105959   5N1DR2BN6LC602735   Nissan       PATHFINDER          CORPUS CHRISTI            TX
105960   5N1DR2BN6LC602802   Nissan       PATHFINDER          DALLAS                    TX
105961   5N1DR2BN6LC603268   Nissan       PATHFINDER          AUSTIN                    TX
105962   5N1DR2BN6LC603416   Nissan       PATHFINDER          SAN JOSE                  CA
105963   5N1DR2BN6LC603965   Nissan       PATHFINDER          LAS VEGAS                 NV
105964   5N1DR2BN6LC604095   Nissan       PATHFINDER          FORT MYERS                FL
105965   5N1DR2BN6LC604260   Nissan       PATHFINDER          PHOENIX                   AZ
105966   5N1DR2BN6LC604274   Nissan       PATHFINDER          FORT MYERS                FL
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105967   5N1DR2BN6LC604338   Nissan       PATHFINDER          ORLANDO                   FL
105968   5N1DR2BN6LC604419   Nissan       PATHFINDER          KENNER                    LA
105969   5N1DR2BN6LC604520   Nissan       PATHFINDER          TUCSON                    AZ
105970   5N1DR2BN6LC604534   Nissan       PATHFINDER          PHOENIX                   AZ
105971   5N1DR2BN6LC604548   Nissan       PATHFINDER          PORTLAND                  ME
105972   5N1DR2BN6LC604565   Nissan       PATHFINDER          MEMPHIS                   TN
105973   5N1DR2BN6LC604582   Nissan       PATHFINDER          TUCSON                    AZ
105974   5N1DR2BN6LC604601   Nissan       PATHFINDER          FORT LAUDERDALE           FL
105975   5N1DR2BN6LC604615   Nissan       PATHFINDER          MIAMI                     FL
105976   5N1DR2BN6LC604663   Nissan       PATHFINDER          SARASOTA                  FL
105977   5N1DR2BN6LC604713   Nissan       PATHFINDER          TAMPA                     FL
105978   5N1DR2BN6LC604730   Nissan       PATHFINDER          El Segundo                CA
105979   5N1DR2BN6LC604744   Nissan       PATHFINDER          JACKSONVILLE              FL
105980   5N1DR2BN6LC604789   Nissan       PATHFINDER          SAVANNAH                  GA
105981   5N1DR2BN6LC604808   Nissan       PATHFINDER          MIAMI                     FL
105982   5N1DR2BN6LC604825   Nissan       PATHFINDER          FORT MYERS                FL
105983   5N1DR2BN6LC604842   Nissan       PATHFINDER          MIAMI                     FL
105984   5N1DR2BN6LC604906   Nissan       PATHFINDER          TAMPA                     FL
105985   5N1DR2BN6LC604940   Nissan       PATHFINDER          WEST PALM BEACH           FL
105986   5N1DR2BN6LC604985   Nissan       PATHFINDER          Lake Elsinore             CA
105987   5N1DR2BN6LC605005   Nissan       PATHFINDER          ORLANDO                   FL
105988   5N1DR2BN6LC605117   Nissan       PATHFINDER          LAS VEGAS                 NV
105989   5N1DR2BN6LC605134   Nissan       PATHFINDER          ORLANDO                   FL
105990   5N1DR2BN6LC605165   Nissan       PATHFINDER          BURBANK                   CA
105991   5N1DR2BN6LC605179   Nissan       PATHFINDER          BIRMINGHAM                AL
105992   5N1DR2BN6LC605196   Nissan       PATHFINDER          ONTARIO                   CA
105993   5N1DR2BN6LC605215   Nissan       PATHFINDER          ORLANDO                   FL
105994   5N1DR2BN6LC605294   Nissan       PATHFINDER          NEW ORLEANS               LA
105995   5N1DR2BN6LC605313   Nissan       PATHFINDER          SANTA ANA                 CA
105996   5N1DR2BN6LC605358   Nissan       PATHFINDER          MONTEREY                  CA
105997   5N1DR2BN6LC605473   Nissan       PATHFINDER          LAS VEGAS                 NV
105998   5N1DR2BN6LC605487   Nissan       PATHFINDER          SAN DIEGO                 CA
105999   5N1DR2BN6LC605537   Nissan       PATHFINDER          ORLANDO                   FL
106000   5N1DR2BN6LC605604   Nissan       PATHFINDER          PHOENIX                   AZ
106001   5N1DR2BN6LC605618   Nissan       PATHFINDER          ORLANDO                   FL
106002   5N1DR2BN6LC605621   Nissan       PATHFINDER          Miami                     FL
106003   5N1DR2BN6LC605649   Nissan       PATHFINDER          PALM SPRINGS              CA
106004   5N1DR2BN6LC605683   Nissan       PATHFINDER          Ft. Myers                 FL
106005   5N1DR2BN6LC605716   Nissan       PATHFINDER          LOS ANGELES               CA
106006   5N1DR2BN6LC605733   Nissan       PATHFINDER          EL SEGUNDO                CA
106007   5N1DR2BN6LC605778   Nissan       PATHFINDER          SAN ANTONIO               TX
106008   5N1DR2BN6LC605814   Nissan       PATHFINDER          PHOENIX                   AZ
106009   5N1DR2BN6LC605845   Nissan       PATHFINDER          ORLANDO                   FL
106010   5N1DR2BN6LC605859   Nissan       PATHFINDER          TAMPA                     FL
106011   5N1DR2BN6LC605912   Nissan       PATHFINDER          MIAMI                     FL
106012   5N1DR2BN6LC605943   Nissan       PATHFINDER          TAMPA                     FL
106013   5N1DR2BN6LC606252   Nissan       PATHFINDER          PHOENIX                   AZ
106014   5N1DR2BN6LC606574   Nissan       PATHFINDER          KENNER                    LA
106015   5N1DR2BN6LC607014   Nissan       PATHFINDER          CHATTANOOGA               TN
106016   5N1DR2BN6LC607210   Nissan       PATHFINDER          PALM SPRINGS              CA
106017   5N1DR2BN6LC607272   Nissan       PATHFINDER          CLEVELAND                 OH
106018   5N1DR2BN6LC607336   Nissan       PATHFINDER          FRESNO                    CA
106019   5N1DR2BN6LC607613   Nissan       PATHFINDER          HARRISBURG                PA
106020   5N1DR2BN6LC607630   Nissan       PATHFINDER          ORLANDO                   FL
106021   5N1DR2BN6LC613721   Nissan       PATHFINDER          PHOENIX                   AZ
106022   5N1DR2BN6LC614108   Nissan       PATHFINDER          KENNER                    LA
106023   5N1DR2BN6LC614285   Nissan       PATHFINDER          KENNER                    LA
106024   5N1DR2BN6LC614383   Nissan       PATHFINDER          PHOENIX                   AZ
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106025   5N1DR2BN6LC614464   Nissan       PATHFINDER          PHOENIX                   AZ
106026   5N1DR2BN6LC614657   Nissan       PATHFINDER          PHOENIX                   AZ
106027   5N1DR2BN6LC615145   Nissan       PATHFINDER          DALLAS                    TX
106028   5N1DR2BN6LC615243   Nissan       PATHFINDER          Phoenix                   AZ
106029   5N1DR2BN6LC615730   Nissan       PATHFINDER          Phoenix                   AZ
106030   5N1DR2BN6LC616697   Nissan       PATHFINDER          Phoenix                   AZ
106031   5N1DR2BN6LC616702   Nissan       PATHFINDER          Phoenix                   AZ
106032   5N1DR2BN6LC616845   Nissan       PATHFINDER          Phoenix                   AZ
106033   5N1DR2BN6LC616974   Nissan       PATHFINDER          PHOENIX                   AZ
106034   5N1DR2BN6LC617204   Nissan       PATHFINDER          PHOENIX                   AZ
106035   5N1DR2BN7LC594791   Nissan       PATHFINDER          HOUSTON                   TX
106036   5N1DR2BN7LC595830   Nissan       PATHFINDER          HOUSTON                   TX
106037   5N1DR2BN7LC595844   Nissan       PATHFINDER          HOUSTON                   TX
106038   5N1DR2BN7LC596198   Nissan       PATHFINDER          ATLANTA                   GA
106039   5N1DR2BN7LC596329   Nissan       PATHFINDER          Irving                    TX
106040   5N1DR2BN7LC596332   Nissan       PATHFINDER          SANTA ANA                 CA
106041   5N1DR2BN7LC596363   Nissan       PATHFINDER          LOS ANGELES               CA
106042   5N1DR2BN7LC596430   Nissan       PATHFINDER          WEST PALM BEACH           FL
106043   5N1DR2BN7LC596623   Nissan       PATHFINDER          AUSTIN                    TX
106044   5N1DR2BN7LC596802   Nissan       PATHFINDER          LOS ANGELES AP            CA
106045   5N1DR2BN7LC597223   Nissan       PATHFINDER          HOUSTON                   TX
106046   5N1DR2BN7LC597285   Nissan       PATHFINDER          HOUSTON                   TX
106047   5N1DR2BN7LC597352   Nissan       PATHFINDER          DALLAS                    TX
106048   5N1DR2BN7LC597447   Nissan       PATHFINDER          LOS ANGELES AP            CA
106049   5N1DR2BN7LC597514   Nissan       PATHFINDER          Downey                    CA
106050   5N1DR2BN7LC597531   Nissan       PATHFINDER          SAN FRANCISCO             CA
106051   5N1DR2BN7LC597769   Nissan       PATHFINDER          INDIANAPOLIS              IN
106052   5N1DR2BN7LC597951   Nissan       PATHFINDER          DALLAS                    TX
106053   5N1DR2BN7LC599134   Nissan       PATHFINDER          KNOXVILLE                 TN
106054   5N1DR2BN7LC600024   Nissan       PATHFINDER          SARASOTA                  FL
106055   5N1DR2BN7LC600038   Nissan       PATHFINDER          PHOENIX                   AZ
106056   5N1DR2BN7LC600069   Nissan       PATHFINDER          KNOXVILLE                 TN
106057   5N1DR2BN7LC600167   Nissan       PATHFINDER          BOSTON                    MA
106058   5N1DR2BN7LC600945   Nissan       PATHFINDER          HOUSTON                   TX
106059   5N1DR2BN7LC601044   Nissan       PATHFINDER          ORANGE COUNTY             CA
106060   5N1DR2BN7LC601058   Nissan       PATHFINDER          BURBANK                   CA
106061   5N1DR2BN7LC601075   Nissan       PATHFINDER          DALLAS                    TX
106062   5N1DR2BN7LC601111   Nissan       PATHFINDER          ORANGE COUNTY             CA
106063   5N1DR2BN7LC601156   Nissan       PATHFINDER          Irving                    TX
106064   5N1DR2BN7LC601187   Nissan       PATHFINDER          DALLAS                    TX
106065   5N1DR2BN7LC601223   Nissan       PATHFINDER          MEMPHIS                   TN
106066   5N1DR2BN7LC601237   Nissan       PATHFINDER          SAN ANTONIO               TX
106067   5N1DR2BN7LC601304   Nissan       PATHFINDER          SANTA ANA                 CA
106068   5N1DR2BN7LC601318   Nissan       PATHFINDER          DALLAS                    TX
106069   5N1DR2BN7LC601352   Nissan       PATHFINDER          BLOOMINGTON               IL
106070   5N1DR2BN7LC601545   Nissan       PATHFINDER          LOS ANGELES               CA
106071   5N1DR2BN7LC601626   Nissan       PATHFINDER          LAS VEGAS                 NV
106072   5N1DR2BN7LC601688   Nissan       PATHFINDER          LOS ANGELES AP            CA
106073   5N1DR2BN7LC601691   Nissan       PATHFINDER          Lake Elsinore             CA
106074   5N1DR2BN7LC601724   Nissan       PATHFINDER          SAN ANTONIO               TX
106075   5N1DR2BN7LC601755   Nissan       PATHFINDER          PHOENIX                   AZ
106076   5N1DR2BN7LC601786   Nissan       PATHFINDER          DALLAS                    TX
106077   5N1DR2BN7LC601836   Nissan       PATHFINDER          SAN JOSE                  CA
106078   5N1DR2BN7LC601951   Nissan       PATHFINDER          HOUSTON                   TX
106079   5N1DR2BN7LC601979   Nissan       PATHFINDER          CHICAGO                   IL
106080   5N1DR2BN7LC601996   Nissan       PATHFINDER          SAN DIEGO                 CA
106081   5N1DR2BN7LC602081   Nissan       PATHFINDER          Irving                    TX
106082   5N1DR2BN7LC602131   Nissan       PATHFINDER          SANTA ANA                 CA
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106083   5N1DR2BN7LC602159   Nissan       PATHFINDER          RENO                      NV
106084   5N1DR2BN7LC602260   Nissan       PATHFINDER          LOS ANGELES               CA
106085   5N1DR2BN7LC602422   Nissan       PATHFINDER          LOS ANGELES AP            CA
106086   5N1DR2BN7LC602579   Nissan       PATHFINDER          HOUSTON                   TX
106087   5N1DR2BN7LC602937   Nissan       PATHFINDER          HOUSTON                   TX
106088   5N1DR2BN7LC603084   Nissan       PATHFINDER          SAN DIEGO                 CA
106089   5N1DR2BN7LC603229   Nissan       PATHFINDER          PALM SPRINGS              CA
106090   5N1DR2BN7LC603361   Nissan       PATHFINDER          SANTA ANA                 CA
106091   5N1DR2BN7LC603957   Nissan       PATHFINDER          LAS VEGAS                 NV
106092   5N1DR2BN7LC604056   Nissan       PATHFINDER          FORT MYERS                FL
106093   5N1DR2BN7LC604302   Nissan       PATHFINDER          BIRMINGHAN                AL
106094   5N1DR2BN7LC604350   Nissan       PATHFINDER          PORTLAND                  OR
106095   5N1DR2BN7LC604459   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106096   5N1DR2BN7LC604509   Nissan       PATHFINDER          PHOENIX                   AZ
106097   5N1DR2BN7LC604560   Nissan       PATHFINDER          ORLANDO                   FL
106098   5N1DR2BN7LC604607   Nissan       PATHFINDER          FORT MYERS                FL
106099   5N1DR2BN7LC604610   Nissan       PATHFINDER          TUCSON                    AZ
106100   5N1DR2BN7LC604719   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106101   5N1DR2BN7LC604753   Nissan       PATHFINDER          TAMPA                     FL
106102   5N1DR2BN7LC604770   Nissan       PATHFINDER          JACKSONVILLE              FL
106103   5N1DR2BN7LC604820   Nissan       PATHFINDER          FORT MYERS                FL
106104   5N1DR2BN7LC604848   Nissan       PATHFINDER          MIAMI                     FL
106105   5N1DR2BN7LC604882   Nissan       PATHFINDER          BOSTON                    MA
106106   5N1DR2BN7LC604896   Nissan       PATHFINDER          MIAMI                     FL
106107   5N1DR2BN7LC604915   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106108   5N1DR2BN7LC604932   Nissan       PATHFINDER          ATLANTA                   GA
106109   5N1DR2BN7LC605000   Nissan       PATHFINDER          ORLANDO                   FL
106110   5N1DR2BN7LC605014   Nissan       PATHFINDER          PHOENIX                   AZ
106111   5N1DR2BN7LC605031   Nissan       PATHFINDER          MIAMI                     FL
106112   5N1DR2BN7LC605157   Nissan       PATHFINDER          LOS ANGELES AP            CA
106113   5N1DR2BN7LC605188   Nissan       PATHFINDER          SEATTLE                   WA
106114   5N1DR2BN7LC605238   Nissan       PATHFINDER          ORLANDO                   FL
106115   5N1DR2BN7LC605241   Nissan       PATHFINDER          MIAMI                     FL
106116   5N1DR2BN7LC605255   Nissan       PATHFINDER          DAVIE                     FL
106117   5N1DR2BN7LC605286   Nissan       PATHFINDER          Miami                     FL
106118   5N1DR2BN7LC605367   Nissan       PATHFINDER          RICHMOND                  VA
106119   5N1DR2BN7LC605398   Nissan       PATHFINDER          ORLANDO                   FL
106120   5N1DR2BN7LC605448   Nissan       PATHFINDER          FORT MYERS                FL
106121   5N1DR2BN7LC605501   Nissan       PATHFINDER          LAS VEGAS                 NV
106122   5N1DR2BN7LC605563   Nissan       PATHFINDER          LAS VEGAS                 NV
106123   5N1DR2BN7LC605613   Nissan       PATHFINDER          MIAMI                     FL
106124   5N1DR2BN7LC605630   Nissan       PATHFINDER          PHOENIX                   AZ
106125   5N1DR2BN7LC605644   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106126   5N1DR2BN7LC605661   Nissan       PATHFINDER          SAN DIEGO                 CA
106127   5N1DR2BN7LC605739   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106128   5N1DR2BN7LC605885   Nissan       PATHFINDER          WEST PALM BEACH           FL
106129   5N1DR2BN7LC606079   Nissan       PATHFINDER          Lake Elsinore             CA
106130   5N1DR2BN7LC606180   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106131   5N1DR2BN7LC606681   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106132   5N1DR2BN7LC606714   Nissan       PATHFINDER          WEST PALM BEACH           FL
106133   5N1DR2BN7LC606793   Nissan       PATHFINDER          LOS ANGELES               CA
106134   5N1DR2BN7LC606955   Nissan       PATHFINDER          FORT MYERS                FL
106135   5N1DR2BN7LC607183   Nissan       PATHFINDER          LOS ANGELES               CA
106136   5N1DR2BN7LC607541   Nissan       PATHFINDER          MIAMI                     FL
106137   5N1DR2BN7LC613615   Nissan       PATHFINDER          Phoenix                   AZ
106138   5N1DR2BN7LC613999   Nissan       PATHFINDER          PHOENIX                   AZ
106139   5N1DR2BN7LC614165   Nissan       PATHFINDER          KENNER                    LA
106140   5N1DR2BN7LC614408   Nissan       PATHFINDER          KENNER                    LA
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106141   5N1DR2BN7LC614425   Nissan       PATHFINDER          PHOENIX                   AZ
106142   5N1DR2BN7LC614554   Nissan       PATHFINDER          OKLAHOMA CITY             OK
106143   5N1DR2BN7LC614974   Nissan       PATHFINDER          KENNER                    LA
106144   5N1DR2BN7LC615168   Nissan       PATHFINDER          PHOENIX                   AZ
106145   5N1DR2BN7LC615414   Nissan       PATHFINDER          PHOENIX                   AZ
106146   5N1DR2BN7LC617079   Nissan       PATHFINDER          OKLAHOMA CITY             OK
106147   5N1DR2BN7LC617177   Nissan       PATHFINDER          PHOENIX                   AZ
106148   5N1DR2BN8LC594850   Nissan       PATHFINDER          DALLAS                    TX
106149   5N1DR2BN8LC595142   Nissan       PATHFINDER          MONTGOMERY                AL
106150   5N1DR2BN8LC595593   Nissan       PATHFINDER          AUSTIN                    TX
106151   5N1DR2BN8LC595822   Nissan       PATHFINDER          HOUSTON                   TX
106152   5N1DR2BN8LC595836   Nissan       PATHFINDER          SAN ANTONIO               TX
106153   5N1DR2BN8LC595853   Nissan       PATHFINDER          LOS ANGELES               CA
106154   5N1DR2BN8LC596100   Nissan       PATHFINDER          PORTLAND                  OR
106155   5N1DR2BN8LC596131   Nissan       PATHFINDER          HOUSTON                   TX
106156   5N1DR2BN8LC596162   Nissan       PATHFINDER          ONTARIO                   CA
106157   5N1DR2BN8LC596176   Nissan       PATHFINDER          INGLEWOOD                 CA
106158   5N1DR2BN8LC596324   Nissan       PATHFINDER          PALM SPRINGS              CA
106159   5N1DR2BN8LC596338   Nissan       PATHFINDER          SCRANTON                  PA
106160   5N1DR2BN8LC596467   Nissan       PATHFINDER          WARWICK                   RI
106161   5N1DR2BN8LC596520   Nissan       PATHFINDER          MEMPHIS                   TN
106162   5N1DR2BN8LC596694   Nissan       PATHFINDER          PALM SPRINGS              CA
106163   5N1DR2BN8LC596811   Nissan       PATHFINDER          LOS ANGELES               CA
106164   5N1DR2BN8LC597036   Nissan       PATHFINDER          ONTARIO                   CA
106165   5N1DR2BN8LC597053   Nissan       PATHFINDER          SANTA ANA                 CA
106166   5N1DR2BN8LC597232   Nissan       PATHFINDER          SAN ANTONIO               TX
106167   5N1DR2BN8LC597313   Nissan       PATHFINDER          BEAUMONT                  TX
106168   5N1DR2BN8LC597442   Nissan       PATHFINDER          LOS ANGELES               CA
106169   5N1DR2BN8LC597859   Nissan       PATHFINDER          WILSON                    NC
106170   5N1DR2BN8LC597909   Nissan       PATHFINDER          STERLING                  VA
106171   5N1DR2BN8LC598123   Nissan       PATHFINDER          Dallas                    TX
106172   5N1DR2BN8LC598283   Nissan       PATHFINDER          PHOENIX                   AZ
106173   5N1DR2BN8LC599014   Nissan       PATHFINDER          SAN FRANCISCO             CA
106174   5N1DR2BN8LC599238   Nissan       PATHFINDER          PALM SPRINGS              CA
106175   5N1DR2BN8LC599885   Nissan       PATHFINDER          ORLANDO                   FL
106176   5N1DR2BN8LC600047   Nissan       PATHFINDER          LOS ANGELES               CA
106177   5N1DR2BN8LC600940   Nissan       PATHFINDER          PENSACOLA                 FL
106178   5N1DR2BN8LC601022   Nissan       PATHFINDER          LOS ANGELES               CA
106179   5N1DR2BN8LC601103   Nissan       PATHFINDER          Irving                    TX
106180   5N1DR2BN8LC601117   Nissan       PATHFINDER          DALLAS                    TX
106181   5N1DR2BN8LC601120   Nissan       PATHFINDER          Irving                    TX
106182   5N1DR2BN8LC601201   Nissan       PATHFINDER          SANTA ANA                 CA
106183   5N1DR2BN8LC601246   Nissan       PATHFINDER          AUSTIN                    TX
106184   5N1DR2BN8LC601277   Nissan       PATHFINDER          DALLAS                    TX
106185   5N1DR2BN8LC601392   Nissan       PATHFINDER          SAN DIEGO                 CA
106186   5N1DR2BN8LC601442   Nissan       PATHFINDER          LAS VEGAS                 NV
106187   5N1DR2BN8LC601506   Nissan       PATHFINDER          MIAMI                     FL
106188   5N1DR2BN8LC601585   Nissan       PATHFINDER          LAS VEGAS                 NV
106189   5N1DR2BN8LC601618   Nissan       PATHFINDER          ORANGE COUNTY             CA
106190   5N1DR2BN8LC601649   Nissan       PATHFINDER          PALM SPRINGS              CA
106191   5N1DR2BN8LC601697   Nissan       PATHFINDER          PHOENIX                   AZ
106192   5N1DR2BN8LC601747   Nissan       PATHFINDER          AUSTIN                    TX
106193   5N1DR2BN8LC601764   Nissan       PATHFINDER          SEATTLE                   WA
106194   5N1DR2BN8LC601828   Nissan       PATHFINDER          AUSTIN                    TX
106195   5N1DR2BN8LC601991   Nissan       PATHFINDER          HOUSTON                   TX
106196   5N1DR2BN8LC602073   Nissan       PATHFINDER          IRVING                    TX
106197   5N1DR2BN8LC602204   Nissan       PATHFINDER          HARTFORD                  CT
106198   5N1DR2BN8LC602249   Nissan       PATHFINDER          SALT LAKE CITY            US
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106199   5N1DR2BN8LC602395   Nissan       PATHFINDER          LOS ANGELES               CA
106200   5N1DR2BN8LC602414   Nissan       PATHFINDER          LAS VEGAS                 NV
106201   5N1DR2BN8LC602493   Nissan       PATHFINDER          LOS ANGELES               CA
106202   5N1DR2BN8LC602882   Nissan       PATHFINDER          PHOENIX                   AZ
106203   5N1DR2BN8LC603160   Nissan       PATHFINDER          LOS ANGELES               CA
106204   5N1DR2BN8LC603661   Nissan       PATHFINDER          LOS ANGELES               CA
106205   5N1DR2BN8LC604065   Nissan       PATHFINDER          WESTLAKE                  OH
106206   5N1DR2BN8LC604275   Nissan       PATHFINDER          PHOENIX                   AZ
106207   5N1DR2BN8LC604308   Nissan       PATHFINDER          ATLANTA                   GA
106208   5N1DR2BN8LC604499   Nissan       PATHFINDER          PHOENIX                   AZ
106209   5N1DR2BN8LC604678   Nissan       PATHFINDER          ORLANDO                   FL
106210   5N1DR2BN8LC604700   Nissan       PATHFINDER          FORT MYERS                FL
106211   5N1DR2BN8LC604793   Nissan       PATHFINDER          MIAMI                     FL
106212   5N1DR2BN8LC604809   Nissan       PATHFINDER          SARASOTA                  FL
106213   5N1DR2BN8LC604812   Nissan       PATHFINDER          TAMPA                     FL
106214   5N1DR2BN8LC604860   Nissan       PATHFINDER          ORLANDO                   FL
106215   5N1DR2BN8LC604888   Nissan       PATHFINDER          TAMPA                     FL
106216   5N1DR2BN8LC604891   Nissan       PATHFINDER          ORLANDO                   FL
106217   5N1DR2BN8LC604941   Nissan       PATHFINDER          KNOXVILLE                 TN
106218   5N1DR2BN8LC604955   Nissan       PATHFINDER          TAMPA                     US
106219   5N1DR2BN8LC604972   Nissan       PATHFINDER          WEST PALM BEACH           FL
106220   5N1DR2BN8LC605006   Nissan       PATHFINDER          FORT MYERS                FL
106221   5N1DR2BN8LC605054   Nissan       PATHFINDER          MIAMI                     FL
106222   5N1DR2BN8LC605068   Nissan       PATHFINDER          WEST PALM BEACH           FL
106223   5N1DR2BN8LC605085   Nissan       PATHFINDER          ORLANDO                   FL
106224   5N1DR2BN8LC605099   Nissan       PATHFINDER          JACKSONVILLE              FL
106225   5N1DR2BN8LC605104   Nissan       PATHFINDER          SAN JOSE                  CA
106226   5N1DR2BN8LC605152   Nissan       PATHFINDER          FORT MYERS                FL
106227   5N1DR2BN8LC605264   Nissan       PATHFINDER          LAS VEGAS                 NV
106228   5N1DR2BN8LC605281   Nissan       PATHFINDER          ORLANDO                   FL
106229   5N1DR2BN8LC605314   Nissan       PATHFINDER          MIAMI                     FL
106230   5N1DR2BN8LC605362   Nissan       PATHFINDER          ORLANDO                   FL
106231   5N1DR2BN8LC605409   Nissan       PATHFINDER          ORLANDO                   FL
106232   5N1DR2BN8LC605474   Nissan       PATHFINDER          OAKLAND                   CA
106233   5N1DR2BN8LC605510   Nissan       PATHFINDER          Los Angeles               CA
106234   5N1DR2BN8LC605541   Nissan       PATHFINDER          LAS VEGAS                 NV
106235   5N1DR2BN8LC605555   Nissan       PATHFINDER          ORLANDO                   FL
106236   5N1DR2BN8LC605569   Nissan       PATHFINDER          BOSTON                    MA
106237   5N1DR2BN8LC605572   Nissan       PATHFINDER          SARASOTA                  FL
106238   5N1DR2BN8LC605586   Nissan       PATHFINDER          LOS ANGELES               CA
106239   5N1DR2BN8LC605605   Nissan       PATHFINDER          ORANGE COUNTY             CA
106240   5N1DR2BN8LC605622   Nissan       PATHFINDER          LOS ANGELES               CA
106241   5N1DR2BN8LC605684   Nissan       PATHFINDER          ORLANDO                   FL
106242   5N1DR2BN8LC605703   Nissan       PATHFINDER          SAN DIEGO                 CA
106243   5N1DR2BN8LC605734   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106244   5N1DR2BN8LC605748   Nissan       PATHFINDER          LOS ANGELES               CA
106245   5N1DR2BN8LC605796   Nissan       PATHFINDER          SAN DIEGO                 CA
106246   5N1DR2BN8LC605829   Nissan       PATHFINDER          SANTA ANA                 CA
106247   5N1DR2BN8LC605846   Nissan       PATHFINDER          ALBUQUERQUE               NM
106248   5N1DR2BN8LC605880   Nissan       PATHFINDER          ONTARIO                   CA
106249   5N1DR2BN8LC606026   Nissan       PATHFINDER          BURBANK                   CA
106250   5N1DR2BN8LC606527   Nissan       PATHFINDER          PANAMA CITY               FL
106251   5N1DR2BN8LC606530   Nissan       PATHFINDER          GRAND RAPIDS              MI
106252   5N1DR2BN8LC606575   Nissan       PATHFINDER          ORLANDO                   FL
106253   5N1DR2BN8LC606804   Nissan       PATHFINDER          DALLAS                    TX
106254   5N1DR2BN8LC606852   Nissan       PATHFINDER          MIAMI                     FL
106255   5N1DR2BN8LC606981   Nissan       PATHFINDER          COLLEGE PARK              GA
106256   5N1DR2BN8LC607077   Nissan       PATHFINDER          FORT LAUDERDALE           FL
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106257   5N1DR2BN8LC607094   Nissan       PATHFINDER          MIAMI                     FL
106258   5N1DR2BN8LC607208   Nissan       PATHFINDER          SANTA ANA                 CA
106259   5N1DR2BN8LC613333   Nissan       PATHFINDER          HOUSTON                   TX
106260   5N1DR2BN8LC613784   Nissan       PATHFINDER          PHOENIX                   AZ
106261   5N1DR2BN8LC613803   Nissan       PATHFINDER          OKLAHOMA CITY             OK
106262   5N1DR2BN8LC614370   Nissan       PATHFINDER          Phoenix                   AZ
106263   5N1DR2BN8LC614479   Nissan       PATHFINDER          DALLAS                    TX
106264   5N1DR2BN8LC614661   Nissan       PATHFINDER          KENNER                    LA
106265   5N1DR2BN8LC614773   Nissan       PATHFINDER          DALLAS                    TX
106266   5N1DR2BN8LC614983   Nissan       PATHFINDER          Phoenix                   AZ
106267   5N1DR2BN8LC615079   Nissan       PATHFINDER          PHOENIX                   AZ
106268   5N1DR2BN8LC615311   Nissan       PATHFINDER          TULSA                     OK
106269   5N1DR2BN9LC594713   Nissan       PATHFINDER          HOUSTON                   TX
106270   5N1DR2BN9LC594808   Nissan       PATHFINDER          ORLANDO                   FL
106271   5N1DR2BN9LC595084   Nissan       PATHFINDER          KANSAS CITY               MO
106272   5N1DR2BN9LC595179   Nissan       PATHFINDER          DALLAS                    TX
106273   5N1DR2BN9LC595568   Nissan       PATHFINDER          HOUSTON                   TX
106274   5N1DR2BN9LC596008   Nissan       PATHFINDER          NEWPORT BEACH             CA
106275   5N1DR2BN9LC596526   Nissan       PATHFINDER          LOS ANGELES AP            CA
106276   5N1DR2BN9LC597983   Nissan       PATHFINDER          KENNER                    LA
106277   5N1DR2BN9LC599197   Nissan       PATHFINDER          Downey                    CA
106278   5N1DR2BN9LC599393   Nissan       PATHFINDER          Lake Elsinore             CA
106279   5N1DR2BN9LC601031   Nissan       PATHFINDER          LAS VEGAS                 NV
106280   5N1DR2BN9LC601062   Nissan       PATHFINDER          SAN DIEGO                 CA
106281   5N1DR2BN9LC601112   Nissan       PATHFINDER          DALLAS                    TX
106282   5N1DR2BN9LC601224   Nissan       PATHFINDER          KNOXVILLE                 TN
106283   5N1DR2BN9LC601238   Nissan       PATHFINDER          DALLAS                    TX
106284   5N1DR2BN9LC601241   Nissan       PATHFINDER          OMAHA                     NE
106285   5N1DR2BN9LC601269   Nissan       PATHFINDER          LAS VEGAS                 NV
106286   5N1DR2BN9LC601272   Nissan       PATHFINDER          ORANGE COUNTY             CA
106287   5N1DR2BN9LC601286   Nissan       PATHFINDER          DALLAS                    TX
106288   5N1DR2BN9LC601322   Nissan       PATHFINDER          SANTA ANA                 CA
106289   5N1DR2BN9LC601501   Nissan       PATHFINDER          WOODLAND HILLS            CA
106290   5N1DR2BN9LC601515   Nissan       PATHFINDER          NEWPORT BEACH             CA
106291   5N1DR2BN9LC601580   Nissan       PATHFINDER          SAN FRANCISCO             CA
106292   5N1DR2BN9LC601594   Nissan       PATHFINDER          PALM SPRINGS              CA
106293   5N1DR2BN9LC601689   Nissan       PATHFINDER          INGLEWOOD                 CA
106294   5N1DR2BN9LC601773   Nissan       PATHFINDER          HOUSTON                   TX
106295   5N1DR2BN9LC601823   Nissan       PATHFINDER          TUCSON                    AZ
106296   5N1DR2BN9LC601837   Nissan       PATHFINDER          HOUSTON                   TX
106297   5N1DR2BN9LC601868   Nissan       PATHFINDER          HOUSTON                   TX
106298   5N1DR2BN9LC601885   Nissan       PATHFINDER          SAN DIEGO                 CA
106299   5N1DR2BN9LC601904   Nissan       PATHFINDER          LAS VEGAS                 NV
106300   5N1DR2BN9LC601935   Nissan       PATHFINDER          DALLAS                    TX
106301   5N1DR2BN9LC602017   Nissan       PATHFINDER          SANTA ANA                 CA
106302   5N1DR2BN9LC602020   Nissan       PATHFINDER          LOS ANGELES               CA
106303   5N1DR2BN9LC602129   Nissan       PATHFINDER          NEWPORT BEACH             CA
106304   5N1DR2BN9LC602180   Nissan       PATHFINDER          HOUSTON                   TX
106305   5N1DR2BN9LC602406   Nissan       PATHFINDER          SAN ANTONIO               TX
106306   5N1DR2BN9LC602468   Nissan       PATHFINDER          DALLAS                    TX
106307   5N1DR2BN9LC602504   Nissan       PATHFINDER          LAS VEGAS                 NV
106308   5N1DR2BN9LC602678   Nissan       PATHFINDER          SACRAMENTO                CA
106309   5N1DR2BN9LC602714   Nissan       PATHFINDER          LAS VEGAS                 NV
106310   5N1DR2BN9LC602826   Nissan       PATHFINDER          HOUSTON                   TX
106311   5N1DR2BN9LC602843   Nissan       PATHFINDER          Buena Park                CA
106312   5N1DR2BN9LC603216   Nissan       PATHFINDER          ONTARIO                   CA
106313   5N1DR2BN9LC604141   Nissan       PATHFINDER          MEMPHIS                   TN
106314   5N1DR2BN9LC604205   Nissan       PATHFINDER          SARASOTA                  FL
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106315   5N1DR2BN9LC604415   Nissan       PATHFINDER          TULSA                     OK
106316   5N1DR2BN9LC604463   Nissan       PATHFINDER          RICHMOND                  VA
106317   5N1DR2BN9LC604480   Nissan       PATHFINDER          PHOENIX                   AZ
106318   5N1DR2BN9LC604527   Nissan       PATHFINDER          HOUSTON                   TX
106319   5N1DR2BN9LC604589   Nissan       PATHFINDER          PHOENIX                   AZ
106320   5N1DR2BN9LC604611   Nissan       PATHFINDER          LUBBOCK                   TX
106321   5N1DR2BN9LC604706   Nissan       PATHFINDER          FORT MYERS                FL
106322   5N1DR2BN9LC604754   Nissan       PATHFINDER          ORLANDO                   FL
106323   5N1DR2BN9LC604771   Nissan       PATHFINDER          FORT MYERS                FL
106324   5N1DR2BN9LC604785   Nissan       PATHFINDER          MEMPHIS                   TN
106325   5N1DR2BN9LC604804   Nissan       PATHFINDER          ORLANDO                   FL
106326   5N1DR2BN9LC604818   Nissan       PATHFINDER          MIAMI                     FL
106327   5N1DR2BN9LC604849   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106328   5N1DR2BN9LC604978   Nissan       PATHFINDER          SAN FRANCISCO             CA
106329   5N1DR2BN9LC605029   Nissan       PATHFINDER          Ft. Myers                 FL
106330   5N1DR2BN9LC605032   Nissan       PATHFINDER          ORLANDO                   FL
106331   5N1DR2BN9LC605127   Nissan       PATHFINDER          LAS VEGAS                 NV
106332   5N1DR2BN9LC605192   Nissan       PATHFINDER          ORLANDO                   FL
106333   5N1DR2BN9LC605208   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106334   5N1DR2BN9LC605256   Nissan       PATHFINDER          ORLANDO                   FL
106335   5N1DR2BN9LC605323   Nissan       PATHFINDER          FORT MYERS                FL
106336   5N1DR2BN9LC605337   Nissan       PATHFINDER          AUSTIN                    TX
106337   5N1DR2BN9LC605385   Nissan       PATHFINDER          Atlanta                   GA
106338   5N1DR2BN9LC605418   Nissan       PATHFINDER          SANTA ANA                 CA
106339   5N1DR2BN9LC605449   Nissan       PATHFINDER          MIAMI                     FL
106340   5N1DR2BN9LC605550   Nissan       PATHFINDER          PALM SPRINGS              CA
106341   5N1DR2BN9LC605578   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106342   5N1DR2BN9LC605595   Nissan       PATHFINDER          ONTARIO                   CA
106343   5N1DR2BN9LC605628   Nissan       PATHFINDER          ORLANDO                   FL
106344   5N1DR2BN9LC605676   Nissan       PATHFINDER          DANIA BEACH               FL
106345   5N1DR2BN9LC605693   Nissan       PATHFINDER          LOS ANGELES               CA
106346   5N1DR2BN9LC605760   Nissan       PATHFINDER          TAMPA                     FL
106347   5N1DR2BN9LC605774   Nissan       PATHFINDER          SAN DIEGO                 CA
106348   5N1DR2BN9LC606035   Nissan       PATHFINDER          LAS VEGAS                 NV
106349   5N1DR2BN9LC606102   Nissan       PATHFINDER          SAN ANTONIO               TX
106350   5N1DR2BN9LC606228   Nissan       PATHFINDER          ORLANDO                   FL
106351   5N1DR2BN9LC606858   Nissan       PATHFINDER          MEMPHIS                   TN
106352   5N1DR2BN9LC606889   Nissan       PATHFINDER          LAS VEGAS                 NV
106353   5N1DR2BN9LC606908   Nissan       PATHFINDER          MEMPHIS                   TN
106354   5N1DR2BN9LC606925   Nissan       PATHFINDER          Atlanta                   GA
106355   5N1DR2BN9LC606990   Nissan       PATHFINDER          LOS ANGELES               CA
106356   5N1DR2BN9LC607203   Nissan       PATHFINDER          ATLANTA                   GA
106357   5N1DR2BN9LC607217   Nissan       PATHFINDER          KNOXVILLE                 TN
106358   5N1DR2BN9LC607573   Nissan       PATHFINDER          MIAMI                     FL
106359   5N1DR2BN9LC613423   Nissan       PATHFINDER          PHOENIX                   AZ
106360   5N1DR2BN9LC613552   Nissan       PATHFINDER          PHOENIX                   AZ
106361   5N1DR2BN9LC613583   Nissan       PATHFINDER          OKLAHOMA CITY             OK
106362   5N1DR2BN9LC613650   Nissan       PATHFINDER          AUSTIN                    TX
106363   5N1DR2BN9LC613793   Nissan       PATHFINDER          DALLAS                    TX
106364   5N1DR2BN9LC614233   Nissan       PATHFINDER          OKLAHOMA CITY             OK
106365   5N1DR2BN9LC614622   Nissan       PATHFINDER          DALLAS                    TX
106366   5N1DR2BN9LC614765   Nissan       PATHFINDER          Phoenix                   AZ
106367   5N1DR2BN9LC614829   Nissan       PATHFINDER          PHOENIX                   AZ
106368   5N1DR2BN9LC614832   Nissan       PATHFINDER          PHOENIX                   AZ
106369   5N1DR2BN9LC615012   Nissan       PATHFINDER          PHOENIX                   AZ
106370   5N1DR2BN9LC615043   Nissan       PATHFINDER          PHOENIX                   AZ
106371   5N1DR2BN9LC615317   Nissan       PATHFINDER          DALLAS                    TX
106372   5N1DR2BN9LC615320   Nissan       PATHFINDER          PHOENIX                   AZ
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106373   5N1DR2BN9LC615351   Nissan       PATHFINDER          PHOENIX                   AZ
106374   5N1DR2BN9LC615463   Nissan       PATHFINDER          Phoenix                   AZ
106375   5N1DR2BN9LC616645   Nissan       PATHFINDER          OKLAHOMA CITY             OK
106376   5N1DR2BN9LC616922   Nissan       PATHFINDER          Dallas                    TX
106377   5N1DR2BN9LC617178   Nissan       PATHFINDER          PHOENIX                   AZ
106378   5N1DR2BNXLC594655   Nissan       PATHFINDER          Buena Park                CA
106379   5N1DR2BNXLC594915   Nissan       PATHFINDER          HOUSTON                   TX
106380   5N1DR2BNXLC594932   Nissan       PATHFINDER          KNOXVILLE                 TN
106381   5N1DR2BNXLC596275   Nissan       PATHFINDER          KNOXVILLE                 TN
106382   5N1DR2BNXLC596325   Nissan       PATHFINDER          LOS ANGELES               CA
106383   5N1DR2BNXLC597104   Nissan       PATHFINDER          PALM SPRINGS              CA
106384   5N1DR2BNXLC597300   Nissan       PATHFINDER          HOUSTON                   TX
106385   5N1DR2BNXLC597474   Nissan       PATHFINDER          Dallas                    TX
106386   5N1DR2BNXLC597569   Nissan       PATHFINDER          LOS ANGELES               CA
106387   5N1DR2BNXLC597846   Nissan       PATHFINDER          SAN DIEGO                 CA
106388   5N1DR2BNXLC598060   Nissan       PATHFINDER          Atlanta                   GA
106389   5N1DR2BNXLC598155   Nissan       PATHFINDER          LOS ANGELES AP            CA
106390   5N1DR2BNXLC598320   Nissan       PATHFINDER          DALLAS                    TX
106391   5N1DR2BNXLC599385   Nissan       PATHFINDER          SAN ANTONIO               TX
106392   5N1DR2BNXLC599614   Nissan       PATHFINDER          STATESBORO                GA
106393   5N1DR2BNXLC599872   Nissan       PATHFINDER          ORLANDO                   FL
106394   5N1DR2BNXLC600938   Nissan       PATHFINDER          SAN DIEGO                 CA
106395   5N1DR2BNXLC600955   Nissan       PATHFINDER          HOUSTON                   TX
106396   5N1DR2BNXLC600969   Nissan       PATHFINDER          FULLERTON                 CA
106397   5N1DR2BNXLC600986   Nissan       PATHFINDER          CHARLESTON                SC
106398   5N1DR2BNXLC601006   Nissan       PATHFINDER          HOUSTON                   TX
106399   5N1DR2BNXLC601149   Nissan       PATHFINDER          Irving                    TX
106400   5N1DR2BNXLC601183   Nissan       PATHFINDER          WEST COLUMBIA             SC
106401   5N1DR2BNXLC601233   Nissan       PATHFINDER          DALLAS                    TX
106402   5N1DR2BNXLC601295   Nissan       PATHFINDER          DALLAS                    TX
106403   5N1DR2BNXLC601300   Nissan       PATHFINDER          SAN DIEGO                 CA
106404   5N1DR2BNXLC601328   Nissan       PATHFINDER          SAN DIEGO                 CA
106405   5N1DR2BNXLC601412   Nissan       PATHFINDER          LAS VEGAS                 NV
106406   5N1DR2BNXLC601457   Nissan       PATHFINDER          LOS ANGELES AP            CA
106407   5N1DR2BNXLC601605   Nissan       PATHFINDER          AUSTIN                    TX
106408   5N1DR2BNXLC601619   Nissan       PATHFINDER          PORTLAND                  OR
106409   5N1DR2BNXLC601622   Nissan       PATHFINDER          DALLAS                    TX
106410   5N1DR2BNXLC601653   Nissan       PATHFINDER          LOS ANGELES AP            CA
106411   5N1DR2BNXLC601667   Nissan       PATHFINDER          FRESNO                    CA
106412   5N1DR2BNXLC601670   Nissan       PATHFINDER          SACRAMENTO                CA
106413   5N1DR2BNXLC602110   Nissan       PATHFINDER          STERLING                  VA
106414   5N1DR2BNXLC602155   Nissan       PATHFINDER          AUSTIN                    TX
106415   5N1DR2BNXLC602222   Nissan       PATHFINDER          BOSTON                    MA
106416   5N1DR2BNXLC602253   Nissan       PATHFINDER          SAN DIEGO                 CA
106417   5N1DR2BNXLC602334   Nissan       PATHFINDER          LAS VEGAS                 NV
106418   5N1DR2BNXLC602446   Nissan       PATHFINDER          LAS VEGAS                 NV
106419   5N1DR2BNXLC602477   Nissan       PATHFINDER          LAS VEGAS                 NV
106420   5N1DR2BNXLC602480   Nissan       PATHFINDER          AUSTIN                    TX
106421   5N1DR2BNXLC602575   Nissan       PATHFINDER          PALM SPRINGS              CA
106422   5N1DR2BNXLC602690   Nissan       PATHFINDER          SANTA ANA                 CA
106423   5N1DR2BNXLC602706   Nissan       PATHFINDER          SACRAMENTO                CA
106424   5N1DR2BNXLC602883   Nissan       PATHFINDER          DFW AIRPORT               TX
106425   5N1DR2BNXLC603287   Nissan       PATHFINDER          LOS ANGELES               CA
106426   5N1DR2BNXLC603533   Nissan       PATHFINDER          SAN DIEGO                 CA
106427   5N1DR2BNXLC603614   Nissan       PATHFINDER          SEATAC                    WA
106428   5N1DR2BNXLC604052   Nissan       PATHFINDER          KENNER                    LA
106429   5N1DR2BNXLC604097   Nissan       PATHFINDER          FORT MYERS                FL
106430   5N1DR2BNXLC604178   Nissan       PATHFINDER          ORANGE COUNTY             CA
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106431   5N1DR2BNXLC604374   Nissan       PATHFINDER          SARASOTA                  FL
106432   5N1DR2BNXLC604455   Nissan       PATHFINDER          PHOENIX                   AZ
106433   5N1DR2BNXLC604472   Nissan       PATHFINDER          PHOENIX                   AZ
106434   5N1DR2BNXLC604505   Nissan       PATHFINDER          KANSAS CITY               MO
106435   5N1DR2BNXLC604620   Nissan       PATHFINDER          TUCSON                    AZ
106436   5N1DR2BNXLC604651   Nissan       PATHFINDER          PHOENIX                   AZ
106437   5N1DR2BNXLC604682   Nissan       PATHFINDER          FORT MYERS                FL
106438   5N1DR2BNXLC604696   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106439   5N1DR2BNXLC604701   Nissan       PATHFINDER          ORLANDO                   FL
106440   5N1DR2BNXLC604827   Nissan       PATHFINDER          TAMPA                     FL
106441   5N1DR2BNXLC604844   Nissan       PATHFINDER          ORLANDO                   FL
106442   5N1DR2BNXLC604858   Nissan       PATHFINDER          Ft. Myers                 FL
106443   5N1DR2BNXLC604892   Nissan       PATHFINDER          MIAMI                     FL
106444   5N1DR2BNXLC604911   Nissan       PATHFINDER          TAMPA                     FL
106445   5N1DR2BNXLC604956   Nissan       PATHFINDER          JACKSONVILLE              FL
106446   5N1DR2BNXLC605038   Nissan       PATHFINDER          PHOENIX                   AZ
106447   5N1DR2BNXLC605041   Nissan       PATHFINDER          WEST PALM BEACH           FL
106448   5N1DR2BNXLC605086   Nissan       PATHFINDER          LOS ANGELES               CA
106449   5N1DR2BNXLC605119   Nissan       PATHFINDER          FORT MYERS                FL
106450   5N1DR2BNXLC605167   Nissan       PATHFINDER          JACKSONVILLE              FL
106451   5N1DR2BNXLC605184   Nissan       PATHFINDER          BUFFALO                   NY
106452   5N1DR2BNXLC605203   Nissan       PATHFINDER          FORT MYERS                FL
106453   5N1DR2BNXLC605217   Nissan       PATHFINDER          ORLANDO                   FL
106454   5N1DR2BNXLC605220   Nissan       PATHFINDER          ORLANDO                   FL
106455   5N1DR2BNXLC605251   Nissan       PATHFINDER          LAS VEGAS                 NV
106456   5N1DR2BNXLC605301   Nissan       PATHFINDER          MIAMI                     FL
106457   5N1DR2BNXLC605315   Nissan       PATHFINDER          TAMPA                     FL
106458   5N1DR2BNXLC605346   Nissan       PATHFINDER          TALLAHASSEE               FL
106459   5N1DR2BNXLC605363   Nissan       PATHFINDER          PHOENIX                   AZ
106460   5N1DR2BNXLC605413   Nissan       PATHFINDER          LOS ANGELES               CA
106461   5N1DR2BNXLC605427   Nissan       PATHFINDER          ORLANDO                   FL
106462   5N1DR2BNXLC605461   Nissan       PATHFINDER          Buena Park                CA
106463   5N1DR2BNXLC605475   Nissan       PATHFINDER          LOS ANGELES               CA
106464   5N1DR2BNXLC605489   Nissan       PATHFINDER          ORLANDO                   FL
106465   5N1DR2BNXLC605492   Nissan       PATHFINDER          MIAMI                     FL
106466   5N1DR2BNXLC605508   Nissan       PATHFINDER          ORLANDO                   FL
106467   5N1DR2BNXLC605590   Nissan       PATHFINDER          ORANGE COUNTY             CA
106468   5N1DR2BNXLC605606   Nissan       PATHFINDER          ORLANDO                   FL
106469   5N1DR2BNXLC605637   Nissan       PATHFINDER          LOS ANGELES AP            CA
106470   5N1DR2BNXLC605640   Nissan       PATHFINDER          LOS ANGELES               CA
106471   5N1DR2BNXLC605654   Nissan       PATHFINDER          ORLANDO                   FL
106472   5N1DR2BNXLC605668   Nissan       PATHFINDER          MIAMI                     FL
106473   5N1DR2BNXLC605685   Nissan       PATHFINDER          BURBANK                   CA
106474   5N1DR2BNXLC605718   Nissan       PATHFINDER          TAMPA                     FL
106475   5N1DR2BNXLC605721   Nissan       PATHFINDER          LOS ANGELES AP            CA
106476   5N1DR2BNXLC605735   Nissan       PATHFINDER          SAN JOSE                  CA
106477   5N1DR2BNXLC606027   Nissan       PATHFINDER          MIAMI                     FL
106478   5N1DR2BNXLC606058   Nissan       PATHFINDER          LOS ANGELES               CA
106479   5N1DR2BNXLC606139   Nissan       PATHFINDER          FORT MYERS                FL
106480   5N1DR2BNXLC606352   Nissan       PATHFINDER          KNOXVILLE                 TN
106481   5N1DR2BNXLC606478   Nissan       PATHFINDER          WEST PALM BEACH           FL
106482   5N1DR2BNXLC606948   Nissan       PATHFINDER          UNION CITY                GA
106483   5N1DR2BNXLC607033   Nissan       PATHFINDER          KENNER                    LA
106484   5N1DR2BNXLC607081   Nissan       PATHFINDER          Atlanta                   GA
106485   5N1DR2BNXLC607100   Nissan       PATHFINDER          LOS ANGELES               CA
106486   5N1DR2BNXLC607162   Nissan       PATHFINDER          LAS VEGAS                 NV
106487   5N1DR2BNXLC607176   Nissan       PATHFINDER          WEST PALM BEACH           FL
106488   5N1DR2BNXLC607257   Nissan       PATHFINDER          PHOENIX                   AZ
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106489   5N1DR2BNXLC607436   Nissan       PATHFINDER          ORLANDO                   FL
106490   5N1DR2BNXLC613379   Nissan       PATHFINDER          AUSTIN                    TX
106491   5N1DR2BNXLC613608   Nissan       PATHFINDER          PHOENIX                   AZ
106492   5N1DR2BNXLC613642   Nissan       PATHFINDER          PHOENIX                   AZ
106493   5N1DR2BNXLC613897   Nissan       PATHFINDER          OKLAHOMA CITY             OK
106494   5N1DR2BNXLC613947   Nissan       PATHFINDER          PHOENIX                   AZ
106495   5N1DR2BNXLC613964   Nissan       PATHFINDER          OKLAHOMA CITY             OK
106496   5N1DR2BNXLC614208   Nissan       PATHFINDER          DALLAS                    TX
106497   5N1DR2BNXLC614211   Nissan       PATHFINDER          DALLAS                    TX
106498   5N1DR2BNXLC614256   Nissan       PATHFINDER          MILWAUKEE                 WI
106499   5N1DR2BNXLC614290   Nissan       PATHFINDER          PHOENIX                   AZ
106500   5N1DR2BNXLC614676   Nissan       PATHFINDER          DALLAS                    TX
106501   5N1DR2BNXLC615004   Nissan       PATHFINDER          NEW ORLEANS               LA
106502   5N1DR2BNXLC615309   Nissan       PATHFINDER          Phoenix                   AZ
106503   5N1DR2BNXLC615438   Nissan       PATHFINDER          Phoenix                   AZ
106504   5N1DR2BNXLC615729   Nissan       PATHFINDER          OKLAHOMA CITY             OK
106505   5N1DR2BNXLC616153   Nissan       PATHFINDER          SAINT PAUL                MN
106506   5N1DR2BNXLC616430   Nissan       PATHFINDER          Dallas                    TX
106507   5N1DR2BNXLC617111   Nissan       PATHFINDER          PHOENIX                   AZ
106508   5N1DR2BNXLC617206   Nissan       PATHFINDER          PHOENIX                   AZ
106509   5N1DR2MM0JC618205   Nissan       PATHFINDER          Mt. Juliet                TN
106510   5N1DR2MM0JC635084   Nissan       PATHFINDER          North Dighton             MA
106511   5N1DR2MM0JC639037   Nissan       PATHFINDER          WAIMEA                    HI
106512   5N1DR2MM0JC639197   Nissan       PATHFINDER          KAILUA KONA               HI
106513   5N1DR2MM0JC639894   Nissan       PATHFINDER          Kailua‐Kona               HI
106514   5N1DR2MM0JC640611   Nissan       PATHFINDER          KAILUA KONA               HI
106515   5N1DR2MM0JC640897   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106516   5N1DR2MM0JC641094   Nissan       PATHFINDER          KALAOA                    HI
106517   5N1DR2MM0JC641175   Nissan       PATHFINDER          Hilo                      HI
106518   5N1DR2MM0JC641189   Nissan       PATHFINDER          SAN FRANCISCO             CA
106519   5N1DR2MM0JC641466   Nissan       PATHFINDER          ROANOKE                   VA
106520   5N1DR2MM0JC641922   Nissan       PATHFINDER          HILO                      HI
106521   5N1DR2MM0JC642004   Nissan       PATHFINDER          Mira Loma                 CA
106522   5N1DR2MM0JC642066   Nissan       PATHFINDER          Kailua‐Kona               HI
106523   5N1DR2MM0JC642410   Nissan       PATHFINDER          WAIMEA                    HI
106524   5N1DR2MM0JC642679   Nissan       PATHFINDER          Framingham                MA
106525   5N1DR2MM0JC642939   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106526   5N1DR2MM0JC642973   Nissan       PATHFINDER          Hilo                      HI
106527   5N1DR2MM0JC643234   Nissan       PATHFINDER          KAILUA KONA               HI
106528   5N1DR2MM0JC645792   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106529   5N1DR2MM0JC646330   Nissan       PATHFINDER          North Dighton             MA
106530   5N1DR2MM0JC646859   Nissan       PATHFINDER          RICHMOND                  VA
106531   5N1DR2MM0JC651625   Nissan       PATHFINDER          TRACY                     CA
106532   5N1DR2MM0JC651995   Nissan       PATHFINDER          Manheim                   PA
106533   5N1DR2MM0JC652709   Nissan       PATHFINDER          Kent                      WA
106534   5N1DR2MM0JC653360   Nissan       PATHFINDER          Manheim                   PA
106535   5N1DR2MM0JC654010   Nissan       PATHFINDER          FORT MYERS                FL
106536   5N1DR2MM0JC654668   Nissan       PATHFINDER          BOSTON                    MA
106537   5N1DR2MM0JC654685   Nissan       PATHFINDER          Hamilton                  OH
106538   5N1DR2MM0JC659028   Nissan       PATHFINDER          Bridgeton                 MO
106539   5N1DR2MM0JC659045   Nissan       PATHFINDER          PHILADELPHIA              PA
106540   5N1DR2MM0JC660387   Nissan       PATHFINDER          MARIETTA                  GA
106541   5N1DR2MM0JC660616   Nissan       PATHFINDER          Elkridge                  MD
106542   5N1DR2MM0JC660700   Nissan       PATHFINDER          MIAMI                     FL
106543   5N1DR2MM0JC661068   Nissan       PATHFINDER          ST PAUL                   MN
106544   5N1DR2MM0JC661488   Nissan       PATHFINDER          SAN ANTONIO               TX
106545   5N1DR2MM0JC662298   Nissan       PATHFINDER          North Dighton             MA
106546   5N1DR2MM0JC662933   Nissan       PATHFINDER          Omaha                     NE
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106547   5N1DR2MM0JC663063   Nissan       PATHFINDER          ALBUQUERQUE               NM
106548   5N1DR2MM0JC663161   Nissan       PATHFINDER          Tampa                     FL
106549   5N1DR2MM0JC663211   Nissan       PATHFINDER          HARTFORD                  CT
106550   5N1DR2MM0JC663404   Nissan       PATHFINDER          CLEVELAND                 OH
106551   5N1DR2MM0JC663483   Nissan       PATHFINDER          STERLING                  VA
106552   5N1DR2MM0JC663922   Nissan       PATHFINDER          ORLANDO                   FL
106553   5N1DR2MM0JC668182   Nissan       PATHFINDER          RONKONKOMA                NY
106554   5N1DR2MM0JC668568   Nissan       PATHFINDER          PHOENIX                   AZ
106555   5N1DR2MM0JC669543   Nissan       PATHFINDER          SAN FRANCISCO             CA
106556   5N1DR2MM0JC669686   Nissan       PATHFINDER          Elkridge                  MD
106557   5N1DR2MM0JC669722   Nissan       PATHFINDER          Hamilton                  OH
106558   5N1DR2MM0JC669901   Nissan       PATHFINDER          SAN JOSE                  CA
106559   5N1DR2MM0JC669932   Nissan       PATHFINDER          SAN JOSE                  CA
106560   5N1DR2MM0JC669977   Nissan       PATHFINDER          Tolleson                  AZ
106561   5N1DR2MM0JC670143   Nissan       PATHFINDER          DENVER                    CO
106562   5N1DR2MM0JC670580   Nissan       PATHFINDER          GRAND JUNCTION            C
106563   5N1DR2MM0JC670790   Nissan       PATHFINDER          LAS VEGAS                 NV
106564   5N1DR2MM0JC670918   Nissan       PATHFINDER          FRESNO                    CA
106565   5N1DR2MM0JC671003   Nissan       PATHFINDER          RENO                      NV
106566   5N1DR2MM0JC671020   Nissan       PATHFINDER          Fontana                   CA
106567   5N1DR2MM1JC617161   Nissan       PATHFINDER          FORT MYERS                FL
106568   5N1DR2MM1JC633196   Nissan       PATHFINDER          North Dighton             MA
106569   5N1DR2MM1JC635529   Nissan       PATHFINDER          North Dighton             MA
106570   5N1DR2MM1JC636244   Nissan       PATHFINDER          Bridgeton                 MO
106571   5N1DR2MM1JC639273   Nissan       PATHFINDER          HILO                      HI
106572   5N1DR2MM1JC640844   Nissan       PATHFINDER          BURBANK                   CA
106573   5N1DR2MM1JC641573   Nissan       PATHFINDER          Hamilton                  OH
106574   5N1DR2MM1JC641640   Nissan       PATHFINDER          MIAMI                     FL
106575   5N1DR2MM1JC641654   Nissan       PATHFINDER          HILO                      HI
106576   5N1DR2MM1JC641847   Nissan       PATHFINDER          KAILUA‐KONA               HI
106577   5N1DR2MM1JC642089   Nissan       PATHFINDER          Hilo                      HI
106578   5N1DR2MM1JC642366   Nissan       PATHFINDER          HILO                      HI
106579   5N1DR2MM1JC642402   Nissan       PATHFINDER          KALAOA                    HI
106580   5N1DR2MM1JC642772   Nissan       PATHFINDER          SOUTHEAST DST OFFC        OK
106581   5N1DR2MM1JC642951   Nissan       PATHFINDER          KAILUA‐KONA               HI
106582   5N1DR2MM1JC642965   Nissan       PATHFINDER          Hilo                      HI
106583   5N1DR2MM1JC643114   Nissan       PATHFINDER          HILO                      HI
106584   5N1DR2MM1JC643307   Nissan       PATHFINDER          KALAOA                    HI
106585   5N1DR2MM1JC643324   Nissan       PATHFINDER          SAN FRANCISCO             CA
106586   5N1DR2MM1JC643811   Nissan       PATHFINDER          Hilo                      HI
106587   5N1DR2MM1JC644022   Nissan       PATHFINDER          MIAMI                     FL
106588   5N1DR2MM1JC645154   Nissan       PATHFINDER          North Dighton             MA
106589   5N1DR2MM1JC645395   Nissan       PATHFINDER          Atlanta                   GA
106590   5N1DR2MM1JC646255   Nissan       PATHFINDER          Hamilton                  OH
106591   5N1DR2MM1JC646482   Nissan       PATHFINDER          STERLING                  VA
106592   5N1DR2MM1JC647454   Nissan       PATHFINDER          RONKONKOMA                NY
106593   5N1DR2MM1JC647731   Nissan       PATHFINDER          STERLING                  VA
106594   5N1DR2MM1JC648510   Nissan       PATHFINDER          Tampa                     FL
106595   5N1DR2MM1JC651536   Nissan       PATHFINDER          ORLANDO                   FL
106596   5N1DR2MM1JC651570   Nissan       PATHFINDER          North Dighton             MA
106597   5N1DR2MM1JC651858   Nissan       PATHFINDER          COSTA MESA                CA
106598   5N1DR2MM1JC652959   Nissan       PATHFINDER          Houston                   TX
106599   5N1DR2MM1JC654209   Nissan       PATHFINDER          BOSTON                    MA
106600   5N1DR2MM1JC654596   Nissan       PATHFINDER          BOSTON                    MA
106601   5N1DR2MM1JC654694   Nissan       PATHFINDER          MIAMI                     FL
106602   5N1DR2MM1JC655263   Nissan       PATHFINDER          CLARKSVILLE               IN
106603   5N1DR2MM1JC659555   Nissan       PATHFINDER          ORLANDO                   FL
106604   5N1DR2MM1JC661113   Nissan       PATHFINDER          Hamilton                  OH
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106605   5N1DR2MM1JC661435   Nissan       PATHFINDER          Annapolis                 MD
106606   5N1DR2MM1JC661774   Nissan       PATHFINDER          Detroit                   MI
106607   5N1DR2MM1JC662116   Nissan       PATHFINDER          NEWARK                    NJ
106608   5N1DR2MM1JC662214   Nissan       PATHFINDER          PHILADELPHIA              PA
106609   5N1DR2MM1JC662424   Nissan       PATHFINDER          WARWICK                   RI
106610   5N1DR2MM1JC663055   Nissan       PATHFINDER          FORT MYERS                FL
106611   5N1DR2MM1JC668062   Nissan       PATHFINDER          Matteson                  IL
106612   5N1DR2MM1JC668272   Nissan       PATHFINDER          ST Paul                   MN
106613   5N1DR2MM1JC668417   Nissan       PATHFINDER          STERLING                  VA
106614   5N1DR2MM1JC669647   Nissan       PATHFINDER          LAS VEGAS                 NV
106615   5N1DR2MM1JC669809   Nissan       PATHFINDER          SAN FRANCISCO             CA
106616   5N1DR2MM1JC669969   Nissan       PATHFINDER          Stone Mountain            GA
106617   5N1DR2MM1JC670006   Nissan       PATHFINDER          TRACY                     CA
106618   5N1DR2MM1JC670071   Nissan       PATHFINDER          PENSACOLA                 FL
106619   5N1DR2MM1JC670104   Nissan       PATHFINDER          Greensboro                NC
106620   5N1DR2MM1JC671043   Nissan       PATHFINDER          PHOENIX                   AZ
106621   5N1DR2MM1JC671172   Nissan       PATHFINDER          SAN FRANCISCO             CA
106622   5N1DR2MM1JC671401   Nissan       PATHFINDER          Statesville               NC
106623   5N1DR2MM2JC625057   Nissan       PATHFINDER          Houston                   TX
106624   5N1DR2MM2JC630131   Nissan       PATHFINDER          Fontana                   CA
106625   5N1DR2MM2JC631098   Nissan       PATHFINDER          Pasadena                  CA
106626   5N1DR2MM2JC633241   Nissan       PATHFINDER          LOS ANGELES               CA
106627   5N1DR2MM2JC635796   Nissan       PATHFINDER          Philadelphia              PA
106628   5N1DR2MM2JC639055   Nissan       PATHFINDER          Ft. Myers                 FL
106629   5N1DR2MM2JC640576   Nissan       PATHFINDER          Aurora                    CO
106630   5N1DR2MM2JC640643   Nissan       PATHFINDER          North Las Vegas           NV
106631   5N1DR2MM2JC640822   Nissan       PATHFINDER          KAILUA‐KONA               HI
106632   5N1DR2MM2JC640903   Nissan       PATHFINDER          SAN FRANCISCO             CA
106633   5N1DR2MM2JC641002   Nissan       PATHFINDER          KALAOA                    HI
106634   5N1DR2MM2JC641100   Nissan       PATHFINDER          KALAOA                    HI
106635   5N1DR2MM2JC641307   Nissan       PATHFINDER          BURBANK                   CA
106636   5N1DR2MM2JC641694   Nissan       PATHFINDER          BURBANK                   CA
106637   5N1DR2MM2JC642053   Nissan       PATHFINDER          Hilo                      HI
106638   5N1DR2MM2JC642778   Nissan       PATHFINDER          FAYETTEVILLE              US
106639   5N1DR2MM2JC642974   Nissan       PATHFINDER          SAN FRANCISCO             CA
106640   5N1DR2MM2JC643266   Nissan       PATHFINDER          SAN FRANCISCO             CA
106641   5N1DR2MM2JC643302   Nissan       PATHFINDER          RALEIGH, DURHAM           NC
106642   5N1DR2MM2JC643316   Nissan       PATHFINDER          HILO                      HI
106643   5N1DR2MM2JC643526   Nissan       PATHFINDER          SAN FRANCISCO             CA
106644   5N1DR2MM2JC645549   Nissan       PATHFINDER          Rockville Centr           NY
106645   5N1DR2MM2JC645616   Nissan       PATHFINDER          Fontana                   CA
106646   5N1DR2MM2JC648029   Nissan       PATHFINDER          BOSTON                    MA
106647   5N1DR2MM2JC651979   Nissan       PATHFINDER          HANOVER                   MD
106648   5N1DR2MM2JC652498   Nissan       PATHFINDER          STERLING                  VA
106649   5N1DR2MM2JC652601   Nissan       PATHFINDER          SEATTLE                   WA
106650   5N1DR2MM2JC652694   Nissan       PATHFINDER          Pasadena                  CA
106651   5N1DR2MM2JC652761   Nissan       PATHFINDER          Londonderry               NH
106652   5N1DR2MM2JC653523   Nissan       PATHFINDER          West Bountiful            UT
106653   5N1DR2MM2JC653697   Nissan       PATHFINDER          North Dighton             MA
106654   5N1DR2MM2JC654834   Nissan       PATHFINDER          STERLING                  VA
106655   5N1DR2MM2JC661122   Nissan       PATHFINDER          SEA TAC                   WA
106656   5N1DR2MM2JC661556   Nissan       PATHFINDER          Baltimore                 MD
106657   5N1DR2MM2JC661637   Nissan       PATHFINDER          Atlanta                   GA
106658   5N1DR2MM2JC662013   Nissan       PATHFINDER          FORT MYERS                FL
106659   5N1DR2MM2JC662061   Nissan       PATHFINDER          North Dighton             MA
106660   5N1DR2MM2JC662139   Nissan       PATHFINDER          PHILADELPHIA              PA
106661   5N1DR2MM2JC662268   Nissan       PATHFINDER          SALT LAKE CITY            UT
106662   5N1DR2MM2JC662335   Nissan       PATHFINDER          North Dighton             MA
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106663   5N1DR2MM2JC662402   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106664   5N1DR2MM2JC663579   Nissan       PATHFINDER          Memphis                   TN
106665   5N1DR2MM2JC664182   Nissan       PATHFINDER          North Dighton             MA
106666   5N1DR2MM2JC668071   Nissan       PATHFINDER          SEATTLE                   WA
106667   5N1DR2MM2JC668104   Nissan       PATHFINDER          Chicago                   IL
106668   5N1DR2MM2JC669317   Nissan       PATHFINDER          TRACY                     CA
106669   5N1DR2MM2JC669480   Nissan       PATHFINDER          SAN JOSE                  CA
106670   5N1DR2MM2JC669866   Nissan       PATHFINDER          STERLING                  VA
106671   5N1DR2MM2JC669995   Nissan       PATHFINDER          GYPSUM                    CO
106672   5N1DR2MM2JC670242   Nissan       PATHFINDER          Morrisville               NC
106673   5N1DR2MM2JC670726   Nissan       PATHFINDER          Phoenix                   AZ
106674   5N1DR2MM2JC670953   Nissan       PATHFINDER          Fontana                   CA
106675   5N1DR2MM2JC671035   Nissan       PATHFINDER          SAN JOSE                  CA
106676   5N1DR2MM2JC671178   Nissan       PATHFINDER          ORANGE COUNTY             CA
106677   5N1DR2MM3JC622281   Nissan       PATHFINDER          Hayward                   CA
106678   5N1DR2MM3JC632275   Nissan       PATHFINDER          LAS VEGAS                 NV
106679   5N1DR2MM3JC632583   Nissan       PATHFINDER          DAYTONA BEACH             FL
106680   5N1DR2MM3JC632714   Nissan       PATHFINDER          Tampa                     FL
106681   5N1DR2MM3JC635354   Nissan       PATHFINDER          Hamilton                  OH
106682   5N1DR2MM3JC639498   Nissan       PATHFINDER          Bordentown                NJ
106683   5N1DR2MM3JC639503   Nissan       PATHFINDER          SAN FRANCISCO             CA
106684   5N1DR2MM3JC639565   Nissan       PATHFINDER          KAILUA‐KONA               HI
106685   5N1DR2MM3JC639677   Nissan       PATHFINDER          SARASOTA                  FL
106686   5N1DR2MM3JC641056   Nissan       PATHFINDER          ORLANDO                   FL
106687   5N1DR2MM3JC641297   Nissan       PATHFINDER          SOUTHEAST DST OFFC        OK
106688   5N1DR2MM3JC641431   Nissan       PATHFINDER          HILO                      HI
106689   5N1DR2MM3JC641526   Nissan       PATHFINDER          Hayward                   CA
106690   5N1DR2MM3JC641770   Nissan       PATHFINDER          Clarksville               IN
106691   5N1DR2MM3JC641784   Nissan       PATHFINDER          HILO                      HI
106692   5N1DR2MM3JC641915   Nissan       PATHFINDER          Hilo                      HI
106693   5N1DR2MM3JC642269   Nissan       PATHFINDER          Manheim                   PA
106694   5N1DR2MM3JC642501   Nissan       PATHFINDER          SAN FRANCISCO             CA
106695   5N1DR2MM3JC642644   Nissan       PATHFINDER          Hilo                      HI
106696   5N1DR2MM3JC642661   Nissan       PATHFINDER          Hilo                      HI
106697   5N1DR2MM3JC643132   Nissan       PATHFINDER          SAN FRANCISCO             CA
106698   5N1DR2MM3JC643325   Nissan       PATHFINDER          SAN FRANCISCO             CA
106699   5N1DR2MM3JC643468   Nissan       PATHFINDER          Kailua‐Kona               HI
106700   5N1DR2MM3JC643793   Nissan       PATHFINDER          Ft. Myers                 FL
106701   5N1DR2MM3JC644474   Nissan       PATHFINDER          Humble                    TX
106702   5N1DR2MM3JC645849   Nissan       PATHFINDER          Baltimore                 MD
106703   5N1DR2MM3JC647083   Nissan       PATHFINDER          Lake Elsinore             CA
106704   5N1DR2MM3JC652428   Nissan       PATHFINDER          INDIANAPOLIS              IN
106705   5N1DR2MM3JC652946   Nissan       PATHFINDER          Aurora                    CO
106706   5N1DR2MM3JC654499   Nissan       PATHFINDER          Bridgeton                 MO
106707   5N1DR2MM3JC659069   Nissan       PATHFINDER          DETROIT                   MI
106708   5N1DR2MM3JC659914   Nissan       PATHFINDER          PITTSBURGH                PA
106709   5N1DR2MM3JC659959   Nissan       PATHFINDER          FORT LAUDERDALE           FL
106710   5N1DR2MM3JC659962   Nissan       PATHFINDER          Statesville               NC
106711   5N1DR2MM3JC660075   Nissan       PATHFINDER          Newark                    NJ
106712   5N1DR2MM3JC660271   Nissan       PATHFINDER          ROCHESTER                 NY
106713   5N1DR2MM3JC660481   Nissan       PATHFINDER          Atlanta                   GA
106714   5N1DR2MM3JC660626   Nissan       PATHFINDER          Windsor Locks             CT
106715   5N1DR2MM3JC660738   Nissan       PATHFINDER          Atlanta                   GA
106716   5N1DR2MM3JC660996   Nissan       PATHFINDER          Coraopolis                PA
106717   5N1DR2MM3JC661193   Nissan       PATHFINDER          PHILADELPHIA              PA
106718   5N1DR2MM3JC661257   Nissan       PATHFINDER          FORT MYERS                FL
106719   5N1DR2MM3JC661551   Nissan       PATHFINDER          SAN JOSE                  CA
106720   5N1DR2MM3JC661811   Nissan       PATHFINDER          North Dighton             MA
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106721   5N1DR2MM3JC661999   Nissan       PATHFINDER          SARASOTA                  FL
106722   5N1DR2MM3JC662831   Nissan       PATHFINDER          Elkridge                  MD
106723   5N1DR2MM3JC662893   Nissan       PATHFINDER          Smithtown                 NY
106724   5N1DR2MM3JC663056   Nissan       PATHFINDER          Smithtown                 NY
106725   5N1DR2MM3JC663686   Nissan       PATHFINDER          Portland                  OR
106726   5N1DR2MM3JC664000   Nissan       PATHFINDER          SYRACUSE                  NY
106727   5N1DR2MM3JC668239   Nissan       PATHFINDER          DENVER                    CO
106728   5N1DR2MM3JC669617   Nissan       PATHFINDER          PHOENIX                   AZ
106729   5N1DR2MM3JC669715   Nissan       PATHFINDER          Denver                    CO
106730   5N1DR2MM3JC669813   Nissan       PATHFINDER          OAKLAND                   CA
106731   5N1DR2MM3JC670122   Nissan       PATHFINDER          Detroit                   MI
106732   5N1DR2MM3JC670833   Nissan       PATHFINDER          CHICAGO O'HARE AP         IL
106733   5N1DR2MM3JC671061   Nissan       PATHFINDER          SAN DIEGO                 CA
106734   5N1DR2MM3JC671139   Nissan       PATHFINDER          SALT LAKE CITY            UT
106735   5N1DR2MM4JC624685   Nissan       PATHFINDER          Statesville               NC
106736   5N1DR2MM4JC631099   Nissan       PATHFINDER          Torrance                  CA
106737   5N1DR2MM4JC632043   Nissan       PATHFINDER          Hapeville                 GA
106738   5N1DR2MM4JC633290   Nissan       PATHFINDER          MORROW                    GA
106739   5N1DR2MM4JC635413   Nissan       PATHFINDER          Fredericksburg            VA
106740   5N1DR2MM4JC639753   Nissan       PATHFINDER          Hamilton                  OH
106741   5N1DR2MM4JC640174   Nissan       PATHFINDER          KALAOA                    HI
106742   5N1DR2MM4JC641003   Nissan       PATHFINDER          SAN FRANCISCO             CA
106743   5N1DR2MM4JC641339   Nissan       PATHFINDER          KALAOA                    HI
106744   5N1DR2MM4JC641647   Nissan       PATHFINDER          SAN FRANCISCO             CA
106745   5N1DR2MM4JC641731   Nissan       PATHFINDER          Kailua‐Kona               HI
106746   5N1DR2MM4JC642023   Nissan       PATHFINDER          SAN FRANCISCO             CA
106747   5N1DR2MM4JC642040   Nissan       PATHFINDER          KALAOA                    HI
106748   5N1DR2MM4JC642202   Nissan       PATHFINDER          Kailua‐Kona               HI
106749   5N1DR2MM4JC642345   Nissan       PATHFINDER          WEST HARTFORD             CT
106750   5N1DR2MM4JC642670   Nissan       PATHFINDER          KALAOA                    HI
106751   5N1DR2MM4JC643298   Nissan       PATHFINDER          HILO                      HI
106752   5N1DR2MM4JC643320   Nissan       PATHFINDER          KAILUA‐KONA               HI
106753   5N1DR2MM4JC644869   Nissan       PATHFINDER          APPLETON                  WI
106754   5N1DR2MM4JC645066   Nissan       PATHFINDER          North Dighton             MA
106755   5N1DR2MM4JC645570   Nissan       PATHFINDER          BALTIMORE                 MD
106756   5N1DR2MM4JC645942   Nissan       PATHFINDER          PORTLAND                  ME
106757   5N1DR2MM4JC646265   Nissan       PATHFINDER          Manheim                   PA
106758   5N1DR2MM4JC646685   Nissan       PATHFINDER          North Dighton             MA
106759   5N1DR2MM4JC651756   Nissan       PATHFINDER          Manheim                   PA
106760   5N1DR2MM4JC651790   Nissan       PATHFINDER          SEA TAC                   WA
106761   5N1DR2MM4JC652034   Nissan       PATHFINDER          DENVER                    CO
106762   5N1DR2MM4JC652065   Nissan       PATHFINDER          PITTSBURGH                PA
106763   5N1DR2MM4JC652499   Nissan       PATHFINDER          Manheim                   PA
106764   5N1DR2MM4JC653622   Nissan       PATHFINDER          UNION CITY                GA
106765   5N1DR2MM4JC653720   Nissan       PATHFINDER          North Dighton             MA
106766   5N1DR2MM4JC654141   Nissan       PATHFINDER          UNION CITY                GA
106767   5N1DR2MM4JC654222   Nissan       PATHFINDER          Manheim                   PA
106768   5N1DR2MM4JC654382   Nissan       PATHFINDER          INGLEWOOD                 CA
106769   5N1DR2MM4JC654480   Nissan       PATHFINDER          North Dighton             MA
106770   5N1DR2MM4JC654558   Nissan       PATHFINDER          BOSTON                    MA
106771   5N1DR2MM4JC655189   Nissan       PATHFINDER          Manheim                   PA
106772   5N1DR2MM4JC659310   Nissan       PATHFINDER          Manheim                   PA
106773   5N1DR2MM4JC660568   Nissan       PATHFINDER          ODESSA                    TX
106774   5N1DR2MM4JC660957   Nissan       PATHFINDER          Rio Linda                 CA
106775   5N1DR2MM4JC661249   Nissan       PATHFINDER          NEWARK                    NJ
106776   5N1DR2MM4JC661316   Nissan       PATHFINDER          North Dighton             MA
106777   5N1DR2MM4JC661722   Nissan       PATHFINDER          WARWICK                   RI
106778   5N1DR2MM4JC661882   Nissan       PATHFINDER          Euless                    TX
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106779   5N1DR2MM4JC661915   Nissan       PATHFINDER          BOSTON                    MA
106780   5N1DR2MM4JC661929   Nissan       PATHFINDER          RALIEGH                   NC
106781   5N1DR2MM4JC661977   Nissan       PATHFINDER          HOUSTON                   TX
106782   5N1DR2MM4JC662272   Nissan       PATHFINDER          KENNER                    LA
106783   5N1DR2MM4JC662613   Nissan       PATHFINDER          HOUSTON                   TX
106784   5N1DR2MM4JC663082   Nissan       PATHFINDER          BLOOMINGTON               IL
106785   5N1DR2MM4JC663177   Nissan       PATHFINDER          Smithtown                 NY
106786   5N1DR2MM4JC663180   Nissan       PATHFINDER          North Dighton             MA
106787   5N1DR2MM4JC663423   Nissan       PATHFINDER          Ronkonkoma                NY
106788   5N1DR2MM4JC663499   Nissan       PATHFINDER          Manheim                   PA
106789   5N1DR2MM4JC667763   Nissan       PATHFINDER          Lake Elsinore             CA
106790   5N1DR2MM4JC668315   Nissan       PATHFINDER          Hamilton                  OH
106791   5N1DR2MM4JC669724   Nissan       PATHFINDER          Smithtown                 NY
106792   5N1DR2MM4JC669755   Nissan       PATHFINDER          Riverside                 CA
106793   5N1DR2MM4JC669870   Nissan       PATHFINDER          LAKEWOOD                  WA
106794   5N1DR2MM4JC669884   Nissan       PATHFINDER          Ocoee                     FL
106795   5N1DR2MM4JC670761   Nissan       PATHFINDER          LOS ANGELES               CA
106796   5N1DR2MM4JC670839   Nissan       PATHFINDER          SAN FRANCISCO             CA
106797   5N1DR2MM4JC671070   Nissan       PATHFINDER          TEXARKANA                 AR
106798   5N1DR2MM5JC632553   Nissan       PATHFINDER          Rio Linda                 CA
106799   5N1DR2MM5JC633976   Nissan       PATHFINDER          JACKSONVILLE              FL
106800   5N1DR2MM5JC639826   Nissan       PATHFINDER          KALAOA                    HI
106801   5N1DR2MM5JC640815   Nissan       PATHFINDER          HILO                      HI
106802   5N1DR2MM5JC641415   Nissan       PATHFINDER          SAN FRANCISCO             CA
106803   5N1DR2MM5JC641446   Nissan       PATHFINDER          Kailua‐Kona               HI
106804   5N1DR2MM5JC641463   Nissan       PATHFINDER          ORLANDO                   FL
106805   5N1DR2MM5JC641902   Nissan       PATHFINDER          HILO                      HI
106806   5N1DR2MM5JC642421   Nissan       PATHFINDER          Hilo                      HI
106807   5N1DR2MM5JC642516   Nissan       PATHFINDER          KALAOA                    HI
106808   5N1DR2MM5JC642547   Nissan       PATHFINDER          BURBANK                   CA
106809   5N1DR2MM5JC642614   Nissan       PATHFINDER          KALAOA                    HI
106810   5N1DR2MM5JC642693   Nissan       PATHFINDER          HILO                      HI
106811   5N1DR2MM5JC642855   Nissan       PATHFINDER          RALEIGH                   NC
106812   5N1DR2MM5JC643312   Nissan       PATHFINDER          West Palm Beach           FL
106813   5N1DR2MM5JC644329   Nissan       PATHFINDER          Hilo                      HI
106814   5N1DR2MM5JC645125   Nissan       PATHFINDER          North Dighton             MA
106815   5N1DR2MM5JC646842   Nissan       PATHFINDER          ORLANDO                   FL
106816   5N1DR2MM5JC647330   Nissan       PATHFINDER          RONKONKOMA                NY
106817   5N1DR2MM5JC648347   Nissan       PATHFINDER          Greensboro                NC
106818   5N1DR2MM5JC652141   Nissan       PATHFINDER          BALTIMORE                 MD
106819   5N1DR2MM5JC652589   Nissan       PATHFINDER          North Dighton             MA
106820   5N1DR2MM5JC652799   Nissan       PATHFINDER          DENVER                    CO
106821   5N1DR2MM5JC653323   Nissan       PATHFINDER          Greensboro                NC
106822   5N1DR2MM5JC653919   Nissan       PATHFINDER          MILWAUKEE                 WI
106823   5N1DR2MM5JC654066   Nissan       PATHFINDER          BOSTON                    MA
106824   5N1DR2MM5JC654150   Nissan       PATHFINDER          LAS VEGAS                 NV
106825   5N1DR2MM5JC654536   Nissan       PATHFINDER          Coraopolis                PA
106826   5N1DR2MM5JC654651   Nissan       PATHFINDER          North Dighton             MA
106827   5N1DR2MM5JC654780   Nissan       PATHFINDER          Webster                   NY
106828   5N1DR2MM5JC654942   Nissan       PATHFINDER          Davie                     FL
106829   5N1DR2MM5JC655136   Nissan       PATHFINDER          NEWARK                    NJ
106830   5N1DR2MM5JC659168   Nissan       PATHFINDER          SALT LAKE CITY            US
106831   5N1DR2MM5JC660854   Nissan       PATHFINDER          FORT MYERS                FL
106832   5N1DR2MM5JC661079   Nissan       PATHFINDER          Statesville               NC
106833   5N1DR2MM5JC661485   Nissan       PATHFINDER          Miami                     FL
106834   5N1DR2MM5JC661549   Nissan       PATHFINDER          PHILADELPHIA              PA
106835   5N1DR2MM5JC661647   Nissan       PATHFINDER          Aurora                    CO
106836   5N1DR2MM5JC661924   Nissan       PATHFINDER          RICHMOND                  VA
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106837   5N1DR2MM5JC662345   Nissan       PATHFINDER          PROVIDENCE                RI
106838   5N1DR2MM5JC663656   Nissan       PATHFINDER          KNOXVILLE                 TN
106839   5N1DR2MM5JC668114   Nissan       PATHFINDER          ROANOKE                   VA
106840   5N1DR2MM5JC668565   Nissan       PATHFINDER          SEA TAC                   WA
106841   5N1DR2MM5JC669330   Nissan       PATHFINDER          Hamilton                  OH
106842   5N1DR2MM5JC669358   Nissan       PATHFINDER          OAKLAND                   CA
106843   5N1DR2MM5JC669716   Nissan       PATHFINDER          RENO                      NV
106844   5N1DR2MM5JC669747   Nissan       PATHFINDER          Atlanta                   GA
106845   5N1DR2MM5JC669764   Nissan       PATHFINDER          MONTEREY                  CA
106846   5N1DR2MM5JC670025   Nissan       PATHFINDER          JAMAICA                   NY
106847   5N1DR2MM5JC670140   Nissan       PATHFINDER          DENVER                    CO
106848   5N1DR2MM5JC670798   Nissan       PATHFINDER          ALBUQUERQUE               NM
106849   5N1DR2MM5JC671160   Nissan       PATHFINDER          Rio Linda                 CA
106850   5N1DR2MM5JC671384   Nissan       PATHFINDER          SHREVEPORT                LA
106851   5N1DR2MM6JC634943   Nissan       PATHFINDER          Statesville               NC
106852   5N1DR2MM6JC635719   Nissan       PATHFINDER          Sterling                  VA
106853   5N1DR2MM6JC639768   Nissan       PATHFINDER          INDIANAPOLIS              IN
106854   5N1DR2MM6JC639818   Nissan       PATHFINDER          Hamilton                  OH
106855   5N1DR2MM6JC639849   Nissan       PATHFINDER          WAIMEA                    HI
106856   5N1DR2MM6JC640483   Nissan       PATHFINDER          HILO                      HI
106857   5N1DR2MM6JC640631   Nissan       PATHFINDER          North Las Vegas           NV
106858   5N1DR2MM6JC641682   Nissan       PATHFINDER          Kailua‐Kona               HI
106859   5N1DR2MM6JC641696   Nissan       PATHFINDER          KALAOA                    HI
106860   5N1DR2MM6JC641715   Nissan       PATHFINDER          FORT MYERS                FL
106861   5N1DR2MM6JC641827   Nissan       PATHFINDER          KALAOA                    HI
106862   5N1DR2MM6JC642914   Nissan       PATHFINDER          Ft. Myers                 FL
106863   5N1DR2MM6JC643240   Nissan       PATHFINDER          Kailua‐Kona               HI
106864   5N1DR2MM6JC643299   Nissan       PATHFINDER          SAN FRANCISCO             CA
106865   5N1DR2MM6JC643349   Nissan       PATHFINDER          Kailua‐Kona               HI
106866   5N1DR2MM6JC645960   Nissan       PATHFINDER          Davie                     FL
106867   5N1DR2MM6JC646865   Nissan       PATHFINDER          Manheim                   PA
106868   5N1DR2MM6JC647157   Nissan       PATHFINDER          Smithtown                 NY
106869   5N1DR2MM6JC647305   Nissan       PATHFINDER          North Billerica           MA
106870   5N1DR2MM6JC647434   Nissan       PATHFINDER          Fontana                   CA
106871   5N1DR2MM6JC647725   Nissan       PATHFINDER          Bordentown                NJ
106872   5N1DR2MM6JC647840   Nissan       PATHFINDER          Smithtown                 NY
106873   5N1DR2MM6JC648017   Nissan       PATHFINDER          Matteson                  IL
106874   5N1DR2MM6JC648499   Nissan       PATHFINDER          DETROIT                   MI
106875   5N1DR2MM6JC651970   Nissan       PATHFINDER          CHARLOTTE                 NC
106876   5N1DR2MM6JC652164   Nissan       PATHFINDER          Smithtown                 NY
106877   5N1DR2MM6JC653170   Nissan       PATHFINDER          Elkridge                  MD
106878   5N1DR2MM6JC653461   Nissan       PATHFINDER          Manheim                   PA
106879   5N1DR2MM6JC654268   Nissan       PATHFINDER          Johnston                  RI
106880   5N1DR2MM6JC654495   Nissan       PATHFINDER          Smithtown                 NY
106881   5N1DR2MM6JC659941   Nissan       PATHFINDER          TULSA                     OK
106882   5N1DR2MM6JC660331   Nissan       PATHFINDER          Rio Linda                 CA
106883   5N1DR2MM6JC661012   Nissan       PATHFINDER          Teterboro                 NJ
106884   5N1DR2MM6JC661219   Nissan       PATHFINDER          SARASOTA                  FL
106885   5N1DR2MM6JC661236   Nissan       PATHFINDER          FORT MYERS                FL
106886   5N1DR2MM6JC661365   Nissan       PATHFINDER          ORLANDO                   FL
106887   5N1DR2MM6JC661558   Nissan       PATHFINDER          FORT MYERS                FL
106888   5N1DR2MM6JC661964   Nissan       PATHFINDER          Statesville               NC
106889   5N1DR2MM6JC661978   Nissan       PATHFINDER          BOSTON                    MA
106890   5N1DR2MM6JC662029   Nissan       PATHFINDER          PHILADELPHIA              PA
106891   5N1DR2MM6JC662094   Nissan       PATHFINDER          Greensboro                NC
106892   5N1DR2MM6JC662628   Nissan       PATHFINDER          Smithtown                 NY
106893   5N1DR2MM6JC662743   Nissan       PATHFINDER          SOUTH SALT LAKE           UT
106894   5N1DR2MM6JC663021   Nissan       PATHFINDER          North Dighton             MA
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106895   5N1DR2MM6JC663746   Nissan       PATHFINDER          TAMPA                     FL
106896   5N1DR2MM6JC663892   Nissan       PATHFINDER          Cranberry Towns           PA
106897   5N1DR2MM6JC668395   Nissan       PATHFINDER          Hayward                   CA
106898   5N1DR2MM6JC668431   Nissan       PATHFINDER          Austin                    TX
106899   5N1DR2MM6JC668445   Nissan       PATHFINDER          Las Vegas                 NV
106900   5N1DR2MM6JC669420   Nissan       PATHFINDER          DENVER                    CO
106901   5N1DR2MM6JC669689   Nissan       PATHFINDER          Fontana                   CA
106902   5N1DR2MM6JC669739   Nissan       PATHFINDER          RICHMOND                  VA
106903   5N1DR2MM6JC669837   Nissan       PATHFINDER          North Dighton             MA
106904   5N1DR2MM6JC669840   Nissan       PATHFINDER          Torrance                  CA
106905   5N1DR2MM6JC670115   Nissan       PATHFINDER          Torrance                  CA
106906   5N1DR2MM6JC670163   Nissan       PATHFINDER          Fontana                   CA
106907   5N1DR2MM6JC670907   Nissan       PATHFINDER          Detroit                   MI
106908   5N1DR2MM6JC671023   Nissan       PATHFINDER          SAN DIEGO                 CA
106909   5N1DR2MM6JC671362   Nissan       PATHFINDER          SAN JOSE                  CA
106910   5N1DR2MM7HC648750   Nissan       PATHFINDER          Austin                    TX
106911   5N1DR2MM7JC623045   Nissan       PATHFINDER          North Dighton             MA
106912   5N1DR2MM7JC624938   Nissan       PATHFINDER          North Dighton             MA
106913   5N1DR2MM7JC625037   Nissan       PATHFINDER          Greensboro                NC
106914   5N1DR2MM7JC631498   Nissan       PATHFINDER          Ventura                   CA
106915   5N1DR2MM7JC631601   Nissan       PATHFINDER          Anaheim                   CA
106916   5N1DR2MM7JC635003   Nissan       PATHFINDER          HANOVER                   MD
106917   5N1DR2MM7JC639195   Nissan       PATHFINDER          Hayward                   CA
106918   5N1DR2MM7JC639701   Nissan       PATHFINDER          Hamilton                  OH
106919   5N1DR2MM7JC640671   Nissan       PATHFINDER          KAILUA‐KONA               HI
106920   5N1DR2MM7JC641285   Nissan       PATHFINDER          Hilo                      HI
106921   5N1DR2MM7JC641318   Nissan       PATHFINDER          Hilo                      HI
106922   5N1DR2MM7JC641464   Nissan       PATHFINDER          Detroit                   MI
106923   5N1DR2MM7JC641772   Nissan       PATHFINDER          SAN FRANCISCO             CA
106924   5N1DR2MM7JC642064   Nissan       PATHFINDER          Hayward                   CA
106925   5N1DR2MM7JC642467   Nissan       PATHFINDER          Kailua‐Kona               HI
106926   5N1DR2MM7JC642601   Nissan       PATHFINDER          HILO                      HI
106927   5N1DR2MM7JC642646   Nissan       PATHFINDER          Kailua‐Kona               HI
106928   5N1DR2MM7JC642680   Nissan       PATHFINDER          Ft. Myers                 FL
106929   5N1DR2MM7JC642968   Nissan       PATHFINDER          HILO                      HI
106930   5N1DR2MM7JC644381   Nissan       PATHFINDER          Hilo                      HI
106931   5N1DR2MM7JC644400   Nissan       PATHFINDER          SAN FRANCISCO             CA
106932   5N1DR2MM7JC645207   Nissan       PATHFINDER          Hamilton                  OH
106933   5N1DR2MM7JC645580   Nissan       PATHFINDER          North Dighton             MA
106934   5N1DR2MM7JC645644   Nissan       PATHFINDER          Hamilton                  OH
106935   5N1DR2MM7JC646583   Nissan       PATHFINDER          Bensalem                  PA
106936   5N1DR2MM7JC647362   Nissan       PATHFINDER          Teterboro                 NJ
106937   5N1DR2MM7JC648026   Nissan       PATHFINDER          MEDINA                    OH
106938   5N1DR2MM7JC651606   Nissan       PATHFINDER          Cranberry Towns           PA
106939   5N1DR2MM7JC651668   Nissan       PATHFINDER          ORLANDO                   FL
106940   5N1DR2MM7JC652299   Nissan       PATHFINDER          BOSTON                    MA
106941   5N1DR2MM7JC652514   Nissan       PATHFINDER          North Dighton             MA
106942   5N1DR2MM7JC653095   Nissan       PATHFINDER          DAYTONA BEACH             FL
106943   5N1DR2MM7JC653288   Nissan       PATHFINDER          CLEVELAND                 OH
106944   5N1DR2MM7JC653856   Nissan       PATHFINDER          Cleveland                 OH
106945   5N1DR2MM7JC653999   Nissan       PATHFINDER          GRAND RAPIDS              MI
106946   5N1DR2MM7JC654103   Nissan       PATHFINDER          Statesville               NC
106947   5N1DR2MM7JC660645   Nissan       PATHFINDER          PHILADELPHIA              PA
106948   5N1DR2MM7JC660712   Nissan       PATHFINDER          ORLANDO                   FL
106949   5N1DR2MM7JC660810   Nissan       PATHFINDER          North Dighton             MA
106950   5N1DR2MM7JC661441   Nissan       PATHFINDER          SARASOTA                  FL
106951   5N1DR2MM7JC661746   Nissan       PATHFINDER          Dallas                    TX
106952   5N1DR2MM7JC661780   Nissan       PATHFINDER          SPRINGFIELD               OH
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106953   5N1DR2MM7JC661827   Nissan       PATHFINDER          Smithtown                 NY
106954   5N1DR2MM7JC662055   Nissan       PATHFINDER          NEW YORK CITY             NY
106955   5N1DR2MM7JC662721   Nissan       PATHFINDER          Atlanta                   GA
106956   5N1DR2MM7JC663464   Nissan       PATHFINDER          Greensboro                NC
106957   5N1DR2MM7JC663643   Nissan       PATHFINDER          North Dighton             MA
106958   5N1DR2MM7JC667689   Nissan       PATHFINDER          TRACY                     CA
106959   5N1DR2MM7JC667725   Nissan       PATHFINDER          Hayward                   CA
106960   5N1DR2MM7JC668163   Nissan       PATHFINDER          DETROIT                   MI
106961   5N1DR2MM7JC669409   Nissan       PATHFINDER          GYPSUM                    CO
106962   5N1DR2MM7JC669605   Nissan       PATHFINDER          SEATTLE                   WA
106963   5N1DR2MM7JC669636   Nissan       PATHFINDER          Bridgeton                 MO
106964   5N1DR2MM7JC669670   Nissan       PATHFINDER          SAN JOSE                  CA
106965   5N1DR2MM7JC669779   Nissan       PATHFINDER          INGLEWOOD                 CA
106966   5N1DR2MM7JC669975   Nissan       PATHFINDER          MIAMI                     FL
106967   5N1DR2MM7JC670866   Nissan       PATHFINDER          LOS ANGELES               CA
106968   5N1DR2MM7JC671080   Nissan       PATHFINDER          Fontana                   CA
106969   5N1DR2MM7JC671449   Nissan       PATHFINDER          SACRAMENTO                CA
106970   5N1DR2MM7JC671466   Nissan       PATHFINDER          LOS ANGELES               CA
106971   5N1DR2MM8JC632658   Nissan       PATHFINDER          JAMAICA                   NY
106972   5N1DR2MM8JC639464   Nissan       PATHFINDER          Ocoee                     FL
106973   5N1DR2MM8JC639481   Nissan       PATHFINDER          Johnston                  RI
106974   5N1DR2MM8JC639965   Nissan       PATHFINDER          SAN FRANCISCO             CA
106975   5N1DR2MM8JC640081   Nissan       PATHFINDER          SAN FRANCISCO             CA
106976   5N1DR2MM8JC640209   Nissan       PATHFINDER          KALAOA                    HI
106977   5N1DR2MM8JC640422   Nissan       PATHFINDER          HOUSTON                   TX
106978   5N1DR2MM8JC641537   Nissan       PATHFINDER          SAVANNAH                  GA
106979   5N1DR2MM8JC641716   Nissan       PATHFINDER          Hayward                   CA
106980   5N1DR2MM8JC641974   Nissan       PATHFINDER          Las Vegas                 NV
106981   5N1DR2MM8JC642235   Nissan       PATHFINDER          North Las Vegas           NV
106982   5N1DR2MM8JC642381   Nissan       PATHFINDER          KAILUA‐KONA               HI
106983   5N1DR2MM8JC642512   Nissan       PATHFINDER          Euless                    TX
106984   5N1DR2MM8JC642557   Nissan       PATHFINDER          KALAOA                    HI
106985   5N1DR2MM8JC642574   Nissan       PATHFINDER          Ocoee                     FL
106986   5N1DR2MM8JC643286   Nissan       PATHFINDER          KAILUA‐KONA               HI
106987   5N1DR2MM8JC644616   Nissan       PATHFINDER          Greensboro                NC
106988   5N1DR2MM8JC644728   Nissan       PATHFINDER          BALTIMORE                 MD
106989   5N1DR2MM8JC645278   Nissan       PATHFINDER          EAST BOSTON               MA
106990   5N1DR2MM8JC647791   Nissan       PATHFINDER          Smithtown                 NY
106991   5N1DR2MM8JC651582   Nissan       PATHFINDER          Elkridge                  MD
106992   5N1DR2MM8JC651856   Nissan       PATHFINDER          Manheim                   PA
106993   5N1DR2MM8JC652750   Nissan       PATHFINDER          Miami                     FL
106994   5N1DR2MM8JC653154   Nissan       PATHFINDER          TAMPA                     FL
106995   5N1DR2MM8JC653672   Nissan       PATHFINDER          Webster                   NY
106996   5N1DR2MM8JC653784   Nissan       PATHFINDER          CHARLESTON                WV
106997   5N1DR2MM8JC653851   Nissan       PATHFINDER          Manheim                   PA
106998   5N1DR2MM8JC653896   Nissan       PATHFINDER          MIAMI                     FL
106999   5N1DR2MM8JC653980   Nissan       PATHFINDER          STERLING                  VA
107000   5N1DR2MM8JC654675   Nissan       PATHFINDER          Manheim                   PA
107001   5N1DR2MM8JC660153   Nissan       PATHFINDER          BIRMINGHAM                AL
107002   5N1DR2MM8JC660850   Nissan       PATHFINDER          DALLAS                    TX
107003   5N1DR2MM8JC661593   Nissan       PATHFINDER          Statesville               NC
107004   5N1DR2MM8JC662095   Nissan       PATHFINDER          WEST COLUMBIA             SC
107005   5N1DR2MM8JC663795   Nissan       PATHFINDER          TAMPA                     FL
107006   5N1DR2MM8JC667992   Nissan       PATHFINDER          LAS VEGAS                 NV
107007   5N1DR2MM8JC668253   Nissan       PATHFINDER          Aurora                    CO
107008   5N1DR2MM8JC668317   Nissan       PATHFINDER          FRESNO                    CA
107009   5N1DR2MM8JC668320   Nissan       PATHFINDER          DALLAS                    TX
107010   5N1DR2MM8JC669645   Nissan       PATHFINDER          DENVER                    CO
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107011   5N1DR2MM8JC669760   Nissan       PATHFINDER          SEATTLE                   WA
107012   5N1DR2MM8JC670164   Nissan       PATHFINDER          LAS VEGAS                 NV
107013   5N1DR2MM8JC671198   Nissan       PATHFINDER          Saint Paul                MN
107014   5N1DR2MM8JC671394   Nissan       PATHFINDER          Phoenix                   AZ
107015   5N1DR2MM8JC671444   Nissan       PATHFINDER          GRAND RAPIDS              MI
107016   5N1DR2MM9HC694676   Nissan       PATHFINDER          ALBUQERQUE                NM
107017   5N1DR2MM9JC629395   Nissan       PATHFINDER          Hayward                   CA
107018   5N1DR2MM9JC635259   Nissan       PATHFINDER          PHOENIX                   AZ
107019   5N1DR2MM9JC636220   Nissan       PATHFINDER          Leesburg                  VA
107020   5N1DR2MM9JC639179   Nissan       PATHFINDER          Fontana                   CA
107021   5N1DR2MM9JC639375   Nissan       PATHFINDER          Manheim                   PA
107022   5N1DR2MM9JC639733   Nissan       PATHFINDER          Bordentown                NJ
107023   5N1DR2MM9JC639814   Nissan       PATHFINDER          Smithtown                 NY
107024   5N1DR2MM9JC639845   Nissan       PATHFINDER          Hamilton                  OH
107025   5N1DR2MM9JC641305   Nissan       PATHFINDER          Hilo                      HI
107026   5N1DR2MM9JC641515   Nissan       PATHFINDER          San Diego                 CA
107027   5N1DR2MM9JC641563   Nissan       PATHFINDER          SAN FRANCISCO             CA
107028   5N1DR2MM9JC641630   Nissan       PATHFINDER          North Las Vegas           NV
107029   5N1DR2MM9JC641837   Nissan       PATHFINDER          Elkridge                  MD
107030   5N1DR2MM9JC642647   Nissan       PATHFINDER          KALAOA                    HI
107031   5N1DR2MM9JC642910   Nissan       PATHFINDER          Hilo                      HI
107032   5N1DR2MM9JC642972   Nissan       PATHFINDER          SAN FRANCISCO             CA
107033   5N1DR2MM9JC643068   Nissan       PATHFINDER          HOUSTON                   TX
107034   5N1DR2MM9JC643295   Nissan       PATHFINDER          Kailua‐Kona               HI
107035   5N1DR2MM9JC643331   Nissan       PATHFINDER          KAILUA KONA               HI
107036   5N1DR2MM9JC644379   Nissan       PATHFINDER          Hamilton                  OH
107037   5N1DR2MM9JC644429   Nissan       PATHFINDER          WAIMEA                    HI
107038   5N1DR2MM9JC644463   Nissan       PATHFINDER          SAN FRANCISCO             CA
107039   5N1DR2MM9JC644933   Nissan       PATHFINDER          SEATTLE                   WA
107040   5N1DR2MM9JC645886   Nissan       PATHFINDER          Newark                    NJ
107041   5N1DR2MM9JC646584   Nissan       PATHFINDER          North Dighton             MA
107042   5N1DR2MM9JC647606   Nissan       PATHFINDER          Smithtown                 NY
107043   5N1DR2MM9JC652515   Nissan       PATHFINDER          KNOXVILLE                 TN
107044   5N1DR2MM9JC653132   Nissan       PATHFINDER          Fayetteville              NC
107045   5N1DR2MM9JC653535   Nissan       PATHFINDER          PHILADELPHIA              PA
107046   5N1DR2MM9JC653812   Nissan       PATHFINDER          Newark                    NJ
107047   5N1DR2MM9JC653843   Nissan       PATHFINDER          ATLANTA                   GA
107048   5N1DR2MM9JC654555   Nissan       PATHFINDER          JAMAICA                   NY
107049   5N1DR2MM9JC655060   Nissan       PATHFINDER          Hartford                  CT
107050   5N1DR2MM9JC655088   Nissan       PATHFINDER          COLUMBUS                  OH
107051   5N1DR2MM9JC659397   Nissan       PATHFINDER          NORFOLK                   VA
107052   5N1DR2MM9JC660615   Nissan       PATHFINDER          SAN JOSE                  CA
107053   5N1DR2MM9JC660811   Nissan       PATHFINDER          Manheim                   PA
107054   5N1DR2MM9JC660839   Nissan       PATHFINDER          GREENVILLE                NC
107055   5N1DR2MM9JC661036   Nissan       PATHFINDER          Tampa                     FL
107056   5N1DR2MM9JC661053   Nissan       PATHFINDER          PHILADELPHIA              PA
107057   5N1DR2MM9JC661067   Nissan       PATHFINDER          Rock Hill                 SC
107058   5N1DR2MM9JC661165   Nissan       PATHFINDER          Portland                  OR
107059   5N1DR2MM9JC661442   Nissan       PATHFINDER          LOS ANGELES               CA
107060   5N1DR2MM9JC661926   Nissan       PATHFINDER          Davie                     FL
107061   5N1DR2MM9JC662123   Nissan       PATHFINDER          Plainfield                IN
107062   5N1DR2MM9JC662249   Nissan       PATHFINDER          LOUISVILLE                KY
107063   5N1DR2MM9JC662963   Nissan       PATHFINDER          BOSTON                    MA
107064   5N1DR2MM9JC664180   Nissan       PATHFINDER          Smithtown                 NY
107065   5N1DR2MM9JC668245   Nissan       PATHFINDER          SAN FRANCISCO             CA
107066   5N1DR2MM9JC668312   Nissan       PATHFINDER          San Diego                 CA
107067   5N1DR2MM9JC668603   Nissan       PATHFINDER          Hayward                   CA
107068   5N1DR2MM9JC669332   Nissan       PATHFINDER          SACRAMENTO                CA
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107069   5N1DR2MM9JC669623   Nissan       PATHFINDER          NORTH PAC                 CA
107070   5N1DR2MM9JC669685   Nissan       PATHFINDER          SALT LAKE CITY            US
107071   5N1DR2MM9JC669816   Nissan       PATHFINDER          Los Angeles               CA
107072   5N1DR2MM9JC669959   Nissan       PATHFINDER          FRESNO                    CA
107073   5N1DR2MM9JC670187   Nissan       PATHFINDER          LAS VEGAS                 NV
107074   5N1DR2MM9JC670383   Nissan       PATHFINDER          SACRAMENTO                CA
107075   5N1DR2MM9JC670822   Nissan       PATHFINDER          SAN FRANCISCO             CA
107076   5N1DR2MM9JC671100   Nissan       PATHFINDER          SAN DIEGO                 CA
107077   5N1DR2MM9JC671288   Nissan       PATHFINDER          GYPSUM                    CO
107078   5N1DR2MM9JC671338   Nissan       PATHFINDER          Rio Linda                 CA
107079   5N1DR2MM9JC671484   Nissan       PATHFINDER          CATHEDRAL CITY            CA
107080   5N1DR2MMXJC628773   Nissan       PATHFINDER          Hayward                   CA
107081   5N1DR2MMXJC632631   Nissan       PATHFINDER          Manheim                   PA
107082   5N1DR2MMXJC632953   Nissan       PATHFINDER          DENVER                    CO
107083   5N1DR2MMXJC634928   Nissan       PATHFINDER          Matteson                  IL
107084   5N1DR2MMXJC639580   Nissan       PATHFINDER          TAMPA                     FL
107085   5N1DR2MMXJC639658   Nissan       PATHFINDER          OMAHA                     NE
107086   5N1DR2MMXJC640504   Nissan       PATHFINDER          HILO                      HI
107087   5N1DR2MMXJC640602   Nissan       PATHFINDER          WAIMEA                    HI
107088   5N1DR2MMXJC640664   Nissan       PATHFINDER          HILO                      HI
107089   5N1DR2MMXJC641720   Nissan       PATHFINDER          Warwick                   RI
107090   5N1DR2MMXJC641832   Nissan       PATHFINDER          Kailua‐Kona               HI
107091   5N1DR2MMXJC642060   Nissan       PATHFINDER          KALAOA                    HI
107092   5N1DR2MMXJC642222   Nissan       PATHFINDER          HILO                      HI
107093   5N1DR2MMXJC642785   Nissan       PATHFINDER          KAILUA‐KONA               HI
107094   5N1DR2MMXJC642835   Nissan       PATHFINDER          Kailua‐Kona               HI
107095   5N1DR2MMXJC643225   Nissan       PATHFINDER          KALAOA                    HI
107096   5N1DR2MMXJC643676   Nissan       PATHFINDER          HILO                      HI
107097   5N1DR2MMXJC643998   Nissan       PATHFINDER          Hilo                      HI
107098   5N1DR2MMXJC644536   Nissan       PATHFINDER          KALAOA                    HI
107099   5N1DR2MMXJC644598   Nissan       PATHFINDER          Memphis                   TN
107100   5N1DR2MMXJC646660   Nissan       PATHFINDER          Elkridge                  MD
107101   5N1DR2MMXJC647064   Nissan       PATHFINDER          Manheim                   PA
107102   5N1DR2MMXJC647078   Nissan       PATHFINDER          Newark                    NJ
107103   5N1DR2MMXJC647887   Nissan       PATHFINDER          FORT LAUDERDALE           FL
107104   5N1DR2MMXJC647999   Nissan       PATHFINDER          North Dighton             MA
107105   5N1DR2MMXJC651549   Nissan       PATHFINDER          KNOXVILLE                 TN
107106   5N1DR2MMXJC652944   Nissan       PATHFINDER          Lynn                      MA
107107   5N1DR2MMXJC653088   Nissan       PATHFINDER          ORLANDO                   FL
107108   5N1DR2MMXJC653480   Nissan       PATHFINDER          UNION CITY                GA
107109   5N1DR2MMXJC653494   Nissan       PATHFINDER          Manheim                   PA
107110   5N1DR2MMXJC653608   Nissan       PATHFINDER          SEATAC                    WA
107111   5N1DR2MMXJC654094   Nissan       PATHFINDER          Rockville Centr           NY
107112   5N1DR2MMXJC654127   Nissan       PATHFINDER          North Dighton             MA
107113   5N1DR2MMXJC654130   Nissan       PATHFINDER          MANCHESTER                US
107114   5N1DR2MMXJC654208   Nissan       PATHFINDER          Smithtown                 NY
107115   5N1DR2MMXJC654452   Nissan       PATHFINDER          Jamaica                   NY
107116   5N1DR2MMXJC655391   Nissan       PATHFINDER          NASHVILLE                 TN
107117   5N1DR2MMXJC659716   Nissan       PATHFINDER          ROCHESTER                 NY
107118   5N1DR2MMXJC659750   Nissan       PATHFINDER          DETROIT                   MI
107119   5N1DR2MMXJC659828   Nissan       PATHFINDER          RONKONKOMA                NY
107120   5N1DR2MMXJC660381   Nissan       PATHFINDER          CUMMING                   GA
107121   5N1DR2MMXJC660784   Nissan       PATHFINDER          SARASOTA                  FL
107122   5N1DR2MMXJC660915   Nissan       PATHFINDER          RONKONKOMA                NY
107123   5N1DR2MMXJC661059   Nissan       PATHFINDER          Statesville               NC
107124   5N1DR2MMXJC661465   Nissan       PATHFINDER          Tampa                     FL
107125   5N1DR2MMXJC662227   Nissan       PATHFINDER          CHARLOTTE                 NC
107126   5N1DR2MMXJC662292   Nissan       PATHFINDER          ORLANDO                   FL
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107127   5N1DR2MMXJC662566   Nissan        PATHFINDER          DETROIT                   MI
107128   5N1DR2MMXJC663121   Nissan        PATHFINDER          WEST PALM BEACH           FL
107129   5N1DR2MMXJC663829   Nissan        PATHFINDER          LOS ANGELES               CA
107130   5N1DR2MMXJC668447   Nissan        PATHFINDER          Kent                      WA
107131   5N1DR2MMXJC669324   Nissan        PATHFINDER          Salt Lake City            UT
107132   5N1DR2MMXJC669839   Nissan        PATHFINDER          KENNER                    LA
107133   5N1DR2MMXJC670036   Nissan        PATHFINDER          LAS VEGAS                 NV
107134   5N1DR2MMXJC670117   Nissan        PATHFINDER          Hebron                    KY
107135   5N1DR2MMXJC670750   Nissan        PATHFINDER          FORT MYERS                FL
107136   5N1DR2MMXJC670893   Nissan        PATHFINDER          TUCSON                    AZ
107137   5N1DR2MMXJC670909   Nissan        PATHFINDER          DENVER                    CO
107138   5N1DR2MMXJC671090   Nissan        PATHFINDER          SALT LAKE CITY            US
107139   5N1DR2MMXJC671218   Nissan        PATHFINDER          MIAMI                     FL
107140   5N1DR2MMXJC671221   Nissan        PATHFINDER          SAN DIEGO                 CA
107141   5N1DR2MMXJC671249   Nissan        PATHFINDER          OAKLAND                   CA
107142   5N1DR2MMXJC671302   Nissan        PATHFINDER          NEW YORK CITY             NY
107143   5N1DR2MMXJC671316   Nissan        PATHFINDER          LAS VEGAS                 NV
107144   5N1DR2MN0HC685423   Nissan        PATHFINDER          Los Angeles               CA
107145   5N1DR2MN5HC686728   Nissan        PATHFINDER          Philadelphia              PA
107146   5N1DR2MN5HC900696   Nissan        PATHFINDER          North Dighton             MA
107147   5NMS23AD0KH084393   Hyundai       SANTA               Davie                     FL
107148   5NMS23AD0KH116503   Hyundai       SANTA               BIRMINGHAM                AL
107149   5NMS23AD2KH088879   Hyundai       SANTA               Phoenix                   AZ
107150   5NMS23AD3KH102059   Hyundai       SANTA               MEBANE                    NC
107151   5NMS23AD6KH085662   Hyundai       SANTA               SOUTHEAST DST OFFC        OK
107152   5NMS23AD6KH103738   Hyundai       SANTA               Medford                   NY
107153   5NMS23AD8KH110660   Hyundai       SANTA               CLEVELAND                 OH
107154   5NMS23AD9KH083646   Hyundai       SANTA               West Columbia             SC
107155   5NMS23AD9KH097630   Hyundai       SANTA               Memphis                   TN
107156   5NMS23AD9KH109369   Hyundai       SANTA               Statesville               NC
107157   5NMS23ADXKH117755   Hyundai       SANTA               Hebron                    KY
107158   5NMS2CAD0KH116775   Hyundai       SANTA               Austell                   GA
107159   5NMS2CAD2KH083262   Hyundai       SANTA               Dallas                    TX
107160   5NMS2CAD2KH124618   Hyundai       SANTA               Latham                    NY
107161   5NMS2CAD2KH131892   Hyundai       SANTA               Detroit                   MI
107162   5NMS2CAD2LH153229   Hyundai       SANTA               Orlando                   FL
107163   5NMS2CAD3KH096621   Hyundai       SANTA               Woodhaven                 MI
107164   5NMS2CAD3KH096988   Hyundai       SANTA               Middletown                PA
107165   5NMS2CAD3KH117273   Hyundai       SANTA               Detroit                   MI
107166   5NMZT3LB0JH072072   Hyundai       SANTA               SAN FRANCISCO             CA
107167   5NMZT3LB8JH090805   Hyundai       SANTA               LOS ANGELES               CA
107168   5NMZU3LB2HH018490   Hyundai       SANTA               LAS VEGAS                 NV
107169   5NMZU3LB5HH006432   Hyundai       SANTA               Phoenix                   AZ
107170   5NMZU3LB5HH033341   Hyundai       SANTA               SANTA ANA                 CA
107171   5NMZU3LB6HH013793   Hyundai       SANTA               LOS ANGELES               CA
107172   5NMZU3LB7HH020266   Hyundai       SANTA               LOS ANGELES               CA
107173   5NMZU3LBXHH026174   Hyundai       SANTA               Phoenix                   AZ
107174   5NPD74LF0HH050609   Hyundai       ELANTRA             SHREVEPORT                LA
107175   5NPD74LF0HH104894   Hyundai       ELANTRA             Matteson                  IL
107176   5NPD74LF0HH112610   Hyundai       ELANTRA             Cleveland                 OH
107177   5NPD74LF0HH126779   Hyundai       ELANTRA             Elkridge                  MD
107178   5NPD74LF0HH141556   Hyundai       ELANTRA             Elgin                     IL
107179   5NPD74LF0HH145784   Hyundai       ELANTRA             SAN DIEGO                 CA
107180   5NPD74LF0HH146367   Hyundai       ELANTRA             PHILADELPHIA              PA
107181   5NPD74LF0HH148748   Hyundai       ELANTRA             SANTA ANA                 CA
107182   5NPD74LF0HH149429   Hyundai       ELANTRA             Fort Lauderdale           FL
107183   5NPD74LF0HH152248   Hyundai       ELANTRA             Hayward                   CA
107184   5NPD74LF0HH161287   Hyundai       ELANTRA             CHICAGO                   IL
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107185   5NPD74LF0HH162553   Hyundai       ELANTRA             Sacramento                CA
107186   5NPD74LF0HH163038   Hyundai       ELANTRA             FT. LAUDERDALE            FL
107187   5NPD74LF0HH163606   Hyundai       ELANTRA             KENNER                    LA
107188   5NPD74LF0HH164268   Hyundai       ELANTRA             SCHILLER PARK             IL
107189   5NPD74LF0HH164495   Hyundai       ELANTRA             BURBANK                   CA
107190   5NPD74LF0HH164898   Hyundai       ELANTRA             Lake in the Hil           IL
107191   5NPD74LF0HH166473   Hyundai       ELANTRA             CHICAGO                   IL
107192   5NPD74LF0HH166814   Hyundai       ELANTRA             San Diego                 CA
107193   5NPD74LF0HH180325   Hyundai       ELANTRA             STERLING                  VA
107194   5NPD74LF0HH186545   Hyundai       ELANTRA             SAN JOSE                  CA
107195   5NPD74LF0HH188389   Hyundai       ELANTRA             North Dighton             MA
107196   5NPD74LF0HH189123   Hyundai       ELANTRA             Stockton                  CA
107197   5NPD74LF0HH189543   Hyundai       ELANTRA             Torrance                  CA
107198   5NPD74LF0HH189574   Hyundai       ELANTRA             LAS VEGAS                 NV
107199   5NPD74LF0HH193902   Hyundai       ELANTRA             MORROW                    GA
107200   5NPD74LF0HH194967   Hyundai       ELANTRA             HANOVER                   MD
107201   5NPD74LF0HH199277   Hyundai       ELANTRA             DES MOINES                IA
107202   5NPD74LF0HH200993   Hyundai       ELANTRA             Elkridge                  MD
107203   5NPD74LF0HH201531   Hyundai       ELANTRA             San Diego                 CA
107204   5NPD74LF0HH202887   Hyundai       ELANTRA             SAN FRANCISCO             CA
107205   5NPD74LF0HH209242   Hyundai       ELANTRA             OCEANSIDE                 CA
107206   5NPD74LF0HH209404   Hyundai       ELANTRA             CLEVELAND                 OH
107207   5NPD74LF0HH209418   Hyundai       ELANTRA             MORROW                    GA
107208   5NPD74LF0HH209421   Hyundai       ELANTRA             Elkridge                  MD
107209   5NPD74LF0HH211718   Hyundai       ELANTRA             NORTH PAC                 CA
107210   5NPD74LF0HH211914   Hyundai       ELANTRA             PHOENIX                   AZ
107211   5NPD74LF0KH440522   Hyundai       ELANTRA             DALLAS                    TX
107212   5NPD74LF0KH442805   Hyundai       ELANTRA             SOUTH SAN FRANC           CA
107213   5NPD74LF0KH450810   Hyundai       ELANTRA             Miami                     FL
107214   5NPD74LF0KH491728   Hyundai       ELANTRA             DALLAS                    TX
107215   5NPD74LF0KH493107   Hyundai       ELANTRA             FORT MYERS                FL
107216   5NPD74LF1HH112485   Hyundai       ELANTRA             HANOVER                   MD
107217   5NPD74LF1HH135507   Hyundai       ELANTRA             Davie                     FL
107218   5NPD74LF1HH139010   Hyundai       ELANTRA             HANOVER                   MD
107219   5NPD74LF1HH147480   Hyundai       ELANTRA             NOTTINGHAM                MD
107220   5NPD74LF1HH148810   Hyundai       ELANTRA             CHICAGO                   IL
107221   5NPD74LF1HH150928   Hyundai       ELANTRA             North Dighton             MA
107222   5NPD74LF1HH151352   Hyundai       ELANTRA             Tampa                     FL
107223   5NPD74LF1HH161492   Hyundai       ELANTRA             DES MOINES                IA
107224   5NPD74LF1HH163730   Hyundai       ELANTRA             San Antonio               TX
107225   5NPD74LF1HH182925   Hyundai       ELANTRA             Tampa                     FL
107226   5NPD74LF1HH189051   Hyundai       ELANTRA             SANTA ANA                 CA
107227   5NPD74LF1HH189499   Hyundai       ELANTRA             CHICAGO                   IL
107228   5NPD74LF1HH201456   Hyundai       ELANTRA             BURBANK                   CA
107229   5NPD74LF1HH210688   Hyundai       ELANTRA             Statesville               NC
107230   5NPD74LF1HH212019   Hyundai       ELANTRA             AUSTIN                    TX
107231   5NPD74LF1JH399672   Hyundai       ELANTRA             WEST PALM BEACH           FL
107232   5NPD74LF1KH487719   Hyundai       ELANTRA             Salt Lake City            UT
107233   5NPD74LF1KH491723   Hyundai       ELANTRA             PASADENA                  CA
107234   5NPD74LF1KH494511   Hyundai       ELANTRA             Cleveland                 OH
107235   5NPD74LF2HH104024   Hyundai       ELANTRA             HANOVER                   MD
107236   5NPD74LF2HH127058   Hyundai       ELANTRA             Marietta                  GA
107237   5NPD74LF2HH140635   Hyundai       ELANTRA             Elkridge                  MD
107238   5NPD74LF2HH146693   Hyundai       ELANTRA             CHICAGO                   IL
107239   5NPD74LF2HH147083   Hyundai       ELANTRA             MORROW                    GA
107240   5NPD74LF2HH150534   Hyundai       ELANTRA             Philadelphia              PA
107241   5NPD74LF2HH150940   Hyundai       ELANTRA             PHILADELPHIA              PA
107242   5NPD74LF2HH160187   Hyundai       ELANTRA             Chicago                   IL
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107243   5NPD74LF2HH171190   Hyundai       ELANTRA             MEDINA                    OH
107244   5NPD74LF2HH188555   Hyundai       ELANTRA             LOS ANGELES               CA
107245   5NPD74LF2HH188636   Hyundai       ELANTRA             BURBANK                   CA
107246   5NPD74LF2HH188698   Hyundai       ELANTRA             Mira Loma                 CA
107247   5NPD74LF2HH190838   Hyundai       ELANTRA             South San Franc           CA
107248   5NPD74LF2HH193013   Hyundai       ELANTRA             Santa Clara               CA
107249   5NPD74LF2HH200462   Hyundai       ELANTRA             MORROW                    GA
107250   5NPD74LF2HH201434   Hyundai       ELANTRA             ROSEVILLE                 CA
107251   5NPD74LF2HH201613   Hyundai       ELANTRA             BURBANK                   CA
107252   5NPD74LF2HH209257   Hyundai       ELANTRA             Fredericksburg            VA
107253   5NPD74LF2HH211753   Hyundai       ELANTRA             Elkridge                  MD
107254   5NPD74LF2HH211848   Hyundai       ELANTRA             NEW YORK DEALER DI        NJ
107255   5NPD74LF2JH396926   Hyundai       ELANTRA             Slidell                   LA
107256   5NPD74LF2KH433328   Hyundai       ELANTRA             Lexington                 KY
107257   5NPD74LF2KH487311   Hyundai       ELANTRA             Dallas                    TX
107258   5NPD74LF2KH491732   Hyundai       ELANTRA             DALLAS                    TX
107259   5NPD74LF3HH083653   Hyundai       ELANTRA             PHOENIX                   AZ
107260   5NPD74LF3HH113430   Hyundai       ELANTRA             Hanover                   MD
107261   5NPD74LF3HH137372   Hyundai       ELANTRA             PROVIDENCE                RI
107262   5NPD74LF3HH138523   Hyundai       ELANTRA             Matteson                  IL
107263   5NPD74LF3HH140532   Hyundai       ELANTRA             HANOVER                   MD
107264   5NPD74LF3HH145567   Hyundai       ELANTRA             North Dighton             MA
107265   5NPD74LF3HH146802   Hyundai       ELANTRA             SAN DIEGO                 CA
107266   5NPD74LF3HH162496   Hyundai       ELANTRA             North Dighton             MA
107267   5NPD74LF3HH162546   Hyundai       ELANTRA             PANARAMA CITY             ca
107268   5NPD74LF3HH165060   Hyundai       ELANTRA             LOS ANGELES               CA
107269   5NPD74LF3HH166287   Hyundai       ELANTRA             SAN FRANCISCO             CA
107270   5NPD74LF3HH190508   Hyundai       ELANTRA             PICO RIVERA               CA
107271   5NPD74LF3HH201135   Hyundai       ELANTRA             Las Vegas                 NV
107272   5NPD74LF3HH201264   Hyundai       ELANTRA             BURBANK                   CA
107273   5NPD74LF3HH201409   Hyundai       ELANTRA             LOS ANGELES               CA
107274   5NPD74LF3HH201426   Hyundai       ELANTRA             BURBANK                   CA
107275   5NPD74LF3HH201491   Hyundai       ELANTRA             LOS ANGELES               CA
107276   5NPD74LF3HH201667   Hyundai       ELANTRA             TRACY                     CA
107277   5NPD74LF3HH201720   Hyundai       ELANTRA             Fresno                    CA
107278   5NPD74LF3HH205847   Hyundai       ELANTRA             ARLINGTON                 TX
107279   5NPD74LF3HH208828   Hyundai       ELANTRA             Matteson                  IL
107280   5NPD74LF3HH209431   Hyundai       ELANTRA             Matteson                  IL
107281   5NPD74LF3HH211955   Hyundai       ELANTRA             Elkridge                  MD
107282   5NPD74LF3HH212023   Hyundai       ELANTRA             BOSTON                    MA
107283   5NPD74LF3KH440482   Hyundai       ELANTRA             SAINT PAUL                MN
107284   5NPD74LF3KH490847   Hyundai       ELANTRA             SAN ANTONIO               TX
107285   5NPD74LF4HH112125   Hyundai       ELANTRA             SOUTHEAST DST OFFC        OK
107286   5NPD74LF4HH132813   Hyundai       ELANTRA             MORROW                    GA
107287   5NPD74LF4HH138871   Hyundai       ELANTRA             Tampa                     FL
107288   5NPD74LF4HH139745   Hyundai       ELANTRA             Elkridge                  MD
107289   5NPD74LF4HH141494   Hyundai       ELANTRA             Elkridge                  MD
107290   5NPD74LF4HH145822   Hyundai       ELANTRA             Elkridge                  MD
107291   5NPD74LF4HH147280   Hyundai       ELANTRA             Fort Worth                TX
107292   5NPD74LF4HH148073   Hyundai       ELANTRA             DES MOINES                IA
107293   5NPD74LF4HH148672   Hyundai       ELANTRA             SHREVEPORT                LA
107294   5NPD74LF4HH150082   Hyundai       ELANTRA             HANOVER                   MD
107295   5NPD74LF4HH162894   Hyundai       ELANTRA             Hapeville                 GA
107296   5NPD74LF4HH164242   Hyundai       ELANTRA             Schaumburg                IL
107297   5NPD74LF4HH180098   Hyundai       ELANTRA             Philadelphia              PA
107298   5NPD74LF4HH182868   Hyundai       ELANTRA             TAMPA                     FL
107299   5NPD74LF4HH187813   Hyundai       ELANTRA             Las Vegas                 NV
107300   5NPD74LF4HH189545   Hyundai       ELANTRA             South San Franc           CA
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107301   5NPD74LF4HH189576   Hyundai       ELANTRA             Elkridge                  MD
107302   5NPD74LF4HH190209   Hyundai       ELANTRA             Mira Loma                 CA
107303   5NPD74LF4HH193899   Hyundai       ELANTRA             CHICAGO                   IL
107304   5NPD74LF4HH196141   Hyundai       ELANTRA             HANOVER                   MD
107305   5NPD74LF4HH196415   Hyundai       ELANTRA             DALLAS                    TX
107306   5NPD74LF4HH201466   Hyundai       ELANTRA             SANTA ANA                 CA
107307   5NPD74LF4HH209485   Hyundai       ELANTRA             DES MOINES                IA
107308   5NPD74LF4JH394580   Hyundai       ELANTRA             Tulsa                     OK
107309   5NPD74LF4JH399861   Hyundai       ELANTRA             ORLANDO                   FL
107310   5NPD74LF4KH432617   Hyundai       ELANTRA             NEW BERN                  NC
107311   5NPD74LF4KH433847   Hyundai       ELANTRA             Davie                     FL
107312   5NPD74LF4KH440278   Hyundai       ELANTRA             FORT MYERS                FL
107313   5NPD74LF4KH441754   Hyundai       ELANTRA             North Canton              OH
107314   5NPD74LF4KH490775   Hyundai       ELANTRA             Houston                   TX
107315   5NPD74LF5HH091804   Hyundai       ELANTRA             Hanover                   MD
107316   5NPD74LF5HH112120   Hyundai       ELANTRA             NEW YORK DEALER DI        NJ
107317   5NPD74LF5HH112246   Hyundai       ELANTRA             SCHILLER PARK             IL
107318   5NPD74LF5HH126650   Hyundai       ELANTRA             NOTTINGHAM                MD
107319   5NPD74LF5HH128401   Hyundai       ELANTRA             PITTSBURGH                PA
107320   5NPD74LF5HH137969   Hyundai       ELANTRA             CLEVELAND                 OH
107321   5NPD74LF5HH138071   Hyundai       ELANTRA             Elkridge                  MD
107322   5NPD74LF5HH147515   Hyundai       ELANTRA             Davie                     FL
107323   5NPD74LF5HH148082   Hyundai       ELANTRA             CHICAGO                   IL
107324   5NPD74LF5HH148910   Hyundai       ELANTRA             Atlanta                   GA
107325   5NPD74LF5HH151970   Hyundai       ELANTRA             Hayward                   CA
107326   5NPD74LF5HH159017   Hyundai       ELANTRA             BURBANK                   CA
107327   5NPD74LF5HH160040   Hyundai       ELANTRA             OAKLAND                   CA
107328   5NPD74LF5HH160068   Hyundai       ELANTRA             BURBANK                   CA
107329   5NPD74LF5HH165447   Hyundai       ELANTRA             SOUTHEAST DST OFFC        OK
107330   5NPD74LF5HH177078   Hyundai       ELANTRA             Elkridge                  MD
107331   5NPD74LF5HH183639   Hyundai       ELANTRA             Elkridge                  MD
107332   5NPD74LF5HH185701   Hyundai       ELANTRA             LOS ANGELES AP            CA
107333   5NPD74LF5HH186010   Hyundai       ELANTRA             CHICAGO                   IL
107334   5NPD74LF5HH189523   Hyundai       ELANTRA             NORTH HOLLYWOOD           CA
107335   5NPD74LF5HH189876   Hyundai       ELANTRA             ROSEVILLE                 CA
107336   5NPD74LF5HH196701   Hyundai       ELANTRA             MIAMI                     FL
107337   5NPD74LF5HH199856   Hyundai       ELANTRA             PICO RIVERA               CA
107338   5NPD74LF5HH200844   Hyundai       ELANTRA             North Dighton             MA
107339   5NPD74LF5HH201301   Hyundai       ELANTRA             Fontana                   CA
107340   5NPD74LF5HH201881   Hyundai       ELANTRA             LOS ANGELES               CA
107341   5NPD74LF5HH207051   Hyundai       ELANTRA             Elkridge                  MD
107342   5NPD74LF5HH208653   Hyundai       ELANTRA             WARWICK                   RI
107343   5NPD74LF5HH208863   Hyundai       ELANTRA             Elkridge                  MD
107344   5NPD74LF5HH209687   Hyundai       ELANTRA             Elkridge                  MD
107345   5NPD74LF5HH210869   Hyundai       ELANTRA             GLEN BURNIE               MD
107346   5NPD74LF5KH432612   Hyundai       ELANTRA             HOUSTON                   TX
107347   5NPD74LF5KH486802   Hyundai       ELANTRA             San Antonio               TX
107348   5NPD74LF5KH491806   Hyundai       ELANTRA             HOUSTON                   TX
107349   5NPD74LF6HH037346   Hyundai       ELANTRA             SAVANNAH                  GA
107350   5NPD74LF6HH095909   Hyundai       ELANTRA             ROSEVILLE                 CA
107351   5NPD74LF6HH126608   Hyundai       ELANTRA             DES PLAINES               US
107352   5NPD74LF6HH137253   Hyundai       ELANTRA             CHICAGO                   IL
107353   5NPD74LF6HH139522   Hyundai       ELANTRA             Philadelphia              PA
107354   5NPD74LF6HH139701   Hyundai       ELANTRA             Elkridge                  MD
107355   5NPD74LF6HH148916   Hyundai       ELANTRA             TAMPA                     FL
107356   5NPD74LF6HH151542   Hyundai       ELANTRA             MORROW                    GA
107357   5NPD74LF6HH163478   Hyundai       ELANTRA             MEDINA                    OH
107358   5NPD74LF6HH164226   Hyundai       ELANTRA             Elkridge                  MD
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107359   5NPD74LF6HH165327   Hyundai       ELANTRA             Hanover                   MD
107360   5NPD74LF6HH165635   Hyundai       ELANTRA             SAN DIEGO                 US
107361   5NPD74LF6HH166333   Hyundai       ELANTRA             KNOXVILLE                 TN
107362   5NPD74LF6HH166493   Hyundai       ELANTRA             SAN FRANCISCO             CA
107363   5NPD74LF6HH166607   Hyundai       ELANTRA             Mira Loma                 CA
107364   5NPD74LF6HH166865   Hyundai       ELANTRA             HANOVER                   MD
107365   5NPD74LF6HH183472   Hyundai       ELANTRA             NOTTINGHAM                MD
107366   5NPD74LF6HH185903   Hyundai       ELANTRA             BURBANK                   CA
107367   5NPD74LF6HH187201   Hyundai       ELANTRA             SACRAMENTO                CA
107368   5NPD74LF6HH188316   Hyundai       ELANTRA             North Las Vegas           NV
107369   5NPD74LF6HH188638   Hyundai       ELANTRA             LOS ANGELES               CA
107370   5NPD74LF6HH189109   Hyundai       ELANTRA             North Las Vegas           NV
107371   5NPD74LF6HH190017   Hyundai       ELANTRA             COSTA MESA                CA
107372   5NPD74LF6HH191958   Hyundai       ELANTRA             CLEVELAND                 OH
107373   5NPD74LF6HH193788   Hyundai       ELANTRA             Carleton                  MI
107374   5NPD74LF6HH193807   Hyundai       ELANTRA             Sterling                  VA
107375   5NPD74LF6HH196416   Hyundai       ELANTRA             Johnston                  RI
107376   5NPD74LF6HH200819   Hyundai       ELANTRA             Newark                    NJ
107377   5NPD74LF6HH201145   Hyundai       ELANTRA             LOS ANGELES               CA
107378   5NPD74LF6HH201422   Hyundai       ELANTRA             NORTH HOLLYWOOD           CA
107379   5NPD74LF6HH204496   Hyundai       ELANTRA             Atlanta                   GA
107380   5NPD74LF6HH205907   Hyundai       ELANTRA             MIAMI INT'L AP            FL
107381   5NPD74LF6HH206278   Hyundai       ELANTRA             ELKRIDGE                  MD
107382   5NPD74LF6HH206345   Hyundai       ELANTRA             Winston‐Salem             NC
107383   5NPD74LF6HH209004   Hyundai       ELANTRA             Matteson                  IL
107384   5NPD74LF6HH209410   Hyundai       ELANTRA             Hanover                   MD
107385   5NPD74LF6HH210668   Hyundai       ELANTRA             Miami                     FL
107386   5NPD74LF6HH212100   Hyundai       ELANTRA             SHREVEPORT                LA
107387   5NPD74LF6JH380146   Hyundai       ELANTRA             Cedar Rapids              IA
107388   5NPD74LF6JH388022   Hyundai       ELANTRA             ORLANDO                   FL
107389   5NPD74LF6JH394161   Hyundai       ELANTRA             ORLANDO                   FL
107390   5NPD74LF7HH061090   Hyundai       ELANTRA             ORLANDO                   FL
107391   5NPD74LF7HH135382   Hyundai       ELANTRA             Sterling                  VA
107392   5NPD74LF7HH138606   Hyundai       ELANTRA             Hanover                   MD
107393   5NPD74LF7HH140775   Hyundai       ELANTRA             DAYTONA BEACH             FL
107394   5NPD74LF7HH150741   Hyundai       ELANTRA             N MIAMI BEACH             FL
107395   5NPD74LF7HH160718   Hyundai       ELANTRA             PICO RIVERA               CA
107396   5NPD74LF7HH161092   Hyundai       ELANTRA             HANOVER                   MD
107397   5NPD74LF7HH162369   Hyundai       ELANTRA
107398   5NPD74LF7HH162792   Hyundai       ELANTRA             HANOVER                   MD
107399   5NPD74LF7HH166535   Hyundai       ELANTRA             LAS VEGAS                 NV
107400   5NPD74LF7HH166907   Hyundai       ELANTRA             Chicago                   IL
107401   5NPD74LF7HH171542   Hyundai       ELANTRA             NOTTINGHAM                MD
107402   5NPD74LF7HH182900   Hyundai       ELANTRA             Statesville               NC
107403   5NPD74LF7HH184632   Hyundai       ELANTRA             Atlanta                   GA
107404   5NPD74LF7HH184713   Hyundai       ELANTRA             Davie                     FL
107405   5NPD74LF7HH188390   Hyundai       ELANTRA             Santa Clara               CA
107406   5NPD74LF7HH189975   Hyundai       ELANTRA
107407   5NPD74LF7HH195310   Hyundai       ELANTRA             Morrisville               NC
107408   5NPD74LF7HH196988   Hyundai       ELANTRA             CLEVELAND                 OH
107409   5NPD74LF7HH199521   Hyundai       ELANTRA             HANOVER                   MD
107410   5NPD74LF7HH200943   Hyundai       ELANTRA             DENVER                    CO
107411   5NPD74LF7HH201333   Hyundai       ELANTRA             CHICAGO                   IL
107412   5NPD74LF7HH201381   Hyundai       ELANTRA             Riverside                 CA
107413   5NPD74LF7HH201574   Hyundai       ELANTRA             LOS ANGELES               CA
107414   5NPD74LF7HH201591   Hyundai       ELANTRA             BURBANK                   CA
107415   5NPD74LF7HH201722   Hyundai       ELANTRA             LOS ANGELES               CA
107416   5NPD74LF7HH201817   Hyundai       ELANTRA             BURBANK                   CA
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107417   5NPD74LF7HH206404   Hyundai       ELANTRA             North Dighton             MA
107418   5NPD74LF7HH210162   Hyundai       ELANTRA             Davie                     FL
107419   5NPD74LF7HH211134   Hyundai       ELANTRA             ORLANDO                   FL
107420   5NPD74LF7HH211179   Hyundai       ELANTRA             STERLING                  VA
107421   5NPD74LF7JH396176   Hyundai       ELANTRA             Phoenix                   AZ
107422   5NPD74LF7KH441747   Hyundai       ELANTRA             Detroit                   MI
107423   5NPD74LF7KH490849   Hyundai       ELANTRA             MIAMI                     FL
107424   5NPD74LF7KH491807   Hyundai       ELANTRA             Hebron                    KY
107425   5NPD74LF8HH074835   Hyundai       ELANTRA             Marietta                  GA
107426   5NPD74LF8HH137433   Hyundai       ELANTRA             Fredericksburg            VA
107427   5NPD74LF8HH147816   Hyundai       ELANTRA             Elkridge                  MD
107428   5NPD74LF8HH159982   Hyundai       ELANTRA             BURBANK                   CA
107429   5NPD74LF8HH162736   Hyundai       ELANTRA             Elkridge                  MD
107430   5NPD74LF8HH165085   Hyundai       ELANTRA             LAS VEGAS                 NV
107431   5NPD74LF8HH166043   Hyundai       ELANTRA             BURBANK                   CA
107432   5NPD74LF8HH180881   Hyundai       ELANTRA             Euless                    TX
107433   5NPD74LF8HH189483   Hyundai       ELANTRA             NORTH HOLLYWOOD           CA
107434   5NPD74LF8HH189631   Hyundai       ELANTRA             SEATAC                    WA
107435   5NPD74LF8HH194960   Hyundai       ELANTRA             DAYTONA BEACH             FL
107436   5NPD74LF8HH196501   Hyundai       ELANTRA             SPRINGFIELD               VA
107437   5NPD74LF8HH199267   Hyundai       ELANTRA             Cleveland                 OH
107438   5NPD74LF8HH200546   Hyundai       ELANTRA             Tampa                     FL
107439   5NPD74LF8HH201308   Hyundai       ELANTRA             hollywood                 CA
107440   5NPD74LF8HH201468   Hyundai       ELANTRA             Santa Clara               CA
107441   5NPD74LF8HH201910   Hyundai       ELANTRA             North Las Vegas           NV
107442   5NPD74LF8HH204452   Hyundai       ELANTRA             SEATAC                    WA
107443   5NPD74LF8HH205228   Hyundai       ELANTRA             MIAMI                     FL
107444   5NPD74LF8HH208615   Hyundai       ELANTRA             CHICAGO                   IL
107445   5NPD74LF8HH208811   Hyundai       ELANTRA             Fredericksburg            VA
107446   5NPD74LF8HH211885   Hyundai       ELANTRA             Hanover                   MD
107447   5NPD74LF8JH387812   Hyundai       ELANTRA             Dallas                    TX
107448   5NPD74LF8KH440204   Hyundai       ELANTRA             Miami                     FL
107449   5NPD74LF8KH487345   Hyundai       ELANTRA             Houston                   TX
107450   5NPD74LF8KH490777   Hyundai       ELANTRA             SAINT PAUL                MN
107451   5NPD74LF8KH490844   Hyundai       ELANTRA             San Antonio               TX
107452   5NPD74LF9HH052665   Hyundai       ELANTRA             SEATAC                    WA
107453   5NPD74LF9HH081308   Hyundai       ELANTRA             SANTA ANA                 CA
107454   5NPD74LF9HH104909   Hyundai       ELANTRA             Matteson                  IL
107455   5NPD74LF9HH111634   Hyundai       ELANTRA             North Dighton             MA
107456   5NPD74LF9HH127025   Hyundai       ELANTRA             Fort Lauderdale           FL
107457   5NPD74LF9HH132404   Hyundai       ELANTRA             Pensacola                 FL
107458   5NPD74LF9HH138798   Hyundai       ELANTRA             ELKRIDGE                  MD
107459   5NPD74LF9HH148912   Hyundai       ELANTRA             DES PLAINES               IL
107460   5NPD74LF9HH162874   Hyundai       ELANTRA             Cleveland                 OH
107461   5NPD74LF9HH163524   Hyundai       ELANTRA             WASHINGTON DC             MD
107462   5NPD74LF9HH164818   Hyundai       ELANTRA             SAN JOSE                  CA
107463   5NPD74LF9HH165077   Hyundai       ELANTRA             BURBANK                   CA
107464   5NPD74LF9HH166276   Hyundai       ELANTRA             Marietta                  GA
107465   5NPD74LF9HH166620   Hyundai       ELANTRA             NEW YORK DEALER DI        NJ
107466   5NPD74LF9HH166827   Hyundai       ELANTRA             BURLINGAME                CA
107467   5NPD74LF9HH166973   Hyundai       ELANTRA             Stockton                  CA
107468   5NPD74LF9HH167136   Hyundai       ELANTRA             BURBANK                   CA
107469   5NPD74LF9HH170389   Hyundai       ELANTRA             Hayward                   CA
107470   5NPD74LF9HH171543   Hyundai       ELANTRA             North Dighton             MA
107471   5NPD74LF9HH177990   Hyundai       ELANTRA             TAMPA                     FL
107472   5NPD74LF9HH179710   Hyundai       ELANTRA             DAYTONA BEACH             FL
107473   5NPD74LF9HH185328   Hyundai       ELANTRA             TRACY                     CA
107474   5NPD74LF9HH185345   Hyundai       ELANTRA             BURBANK                   CA
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107475   5NPD74LF9HH188987   Hyundai       ELANTRA             LOS ANGELES               CA
107476   5NPD74LF9HH189489   Hyundai       ELANTRA             Los Angeles               CA
107477   5NPD74LF9HH189508   Hyundai       ELANTRA             Lake Elsinore             CA
107478   5NPD74LF9HH190769   Hyundai       ELANTRA             SAN JOSE                  CA
107479   5NPD74LF9HH191386   Hyundai       ELANTRA             Detroit                   MI
107480   5NPD74LF9HH192893   Hyundai       ELANTRA             MEDINA                    OH
107481   5NPD74LF9HH193929   Hyundai       ELANTRA             Tolleson                  AZ
107482   5NPD74LF9HH194563   Hyundai       ELANTRA             NEW YORK DEALER DI        NJ
107483   5NPD74LF9HH200488   Hyundai       ELANTRA             FAYETTEVILLE              GA
107484   5NPD74LF9HH201060   Hyundai       ELANTRA             BURBANK                   CA
107485   5NPD74LF9HH204430   Hyundai       ELANTRA             SAN JOSE                  CA
107486   5NPD74LF9HH205142   Hyundai       ELANTRA             CONYERS                   GA
107487   5NPD74LF9HH206047   Hyundai       ELANTRA             NORTH PAC                 CA
107488   5NPD74LF9HH207540   Hyundai       ELANTRA             Kansas City               MO
107489   5NPD74LF9HH209496   Hyundai       ELANTRA             STERLING                  VA
107490   5NPD74LF9HH211832   Hyundai       ELANTRA             Sterling                  VA
107491   5NPD74LF9HH212687   Hyundai       ELANTRA             Atlanta                   GA
107492   5NPD74LF9JH390184   Hyundai       ELANTRA             WEST PALM BEACH           FL
107493   5NPD74LF9KH436274   Hyundai       ELANTRA             Beaverton                 OR
107494   5NPD74LF9KH440454   Hyundai       ELANTRA             BURLINGAME                CA
107495   5NPD74LF9KH452751   Hyundai       ELANTRA             El Paso                   TX
107496   5NPD74LF9KH490092   Hyundai       ELANTRA             BURBANK                   CA
107497   5NPD74LFXHH089742   Hyundai       ELANTRA             Philadelphia              PA
107498   5NPD74LFXHH128054   Hyundai       ELANTRA             Slidell                   LA
107499   5NPD74LFXHH138423   Hyundai       ELANTRA             Matteson                  IL
107500   5NPD74LFXHH139068   Hyundai       ELANTRA             Slidell                   LA
107501   5NPD74LFXHH140379   Hyundai       ELANTRA             Kansas City               MO
107502   5NPD74LFXHH149504   Hyundai       ELANTRA             BOSTON                    MA
107503   5NPD74LFXHH149924   Hyundai       ELANTRA             Tampa                     FL
107504   5NPD74LFXHH166416   Hyundai       ELANTRA             DFW AIRPORT               TX
107505   5NPD74LFXHH166691   Hyundai       ELANTRA             NORTH PAC                 CA
107506   5NPD74LFXHH167128   Hyundai       ELANTRA             LOS ANGELES               CA
107507   5NPD74LFXHH167310   Hyundai       ELANTRA             PHILADELPHIA              PA
107508   5NPD74LFXHH167470   Hyundai       ELANTRA             Morrisville               NC
107509   5NPD74LFXHH171101   Hyundai       ELANTRA             Baltimore                 MD
107510   5NPD74LFXHH171857   Hyundai       ELANTRA             Charlotte                 NC
107511   5NPD74LFXHH178663   Hyundai       ELANTRA             Greensboro                NC
107512   5NPD74LFXHH181112   Hyundai       ELANTRA             Costa Mesa                CA
107513   5NPD74LFXHH184365   Hyundai       ELANTRA             Davie                     FL
107514   5NPD74LFXHH185919   Hyundai       ELANTRA             Elkridge                  MD
107515   5NPD74LFXHH188626   Hyundai       ELANTRA             SANTA ANA                 CA
107516   5NPD74LFXHH190294   Hyundai       ELANTRA             Las Vegas                 NV
107517   5NPD74LFXHH190330   Hyundai       ELANTRA             SEATAC                    WA
107518   5NPD74LFXHH190425   Hyundai       ELANTRA             SAN FRANCISCO             CA
107519   5NPD74LFXHH194054   Hyundai       ELANTRA             CHICAGO                   IL
107520   5NPD74LFXHH195916   Hyundai       ELANTRA             SPRINGFIELD               VA
107521   5NPD74LFXHH196712   Hyundai       ELANTRA             Elgin                     IL
107522   5NPD74LFXHH196774   Hyundai       ELANTRA             PHILADELPHIA              PA
107523   5NPD74LFXHH201424   Hyundai       ELANTRA             BURBANK                   CA
107524   5NPD74LFXHH202024   Hyundai       ELANTRA             Los Angeles               CA
107525   5NPD74LFXHH202198   Hyundai       ELANTRA             BURBANK                   CA
107526   5NPD74LFXHH202556   Hyundai       ELANTRA             Denver                    CO
107527   5NPD74LFXHH202654   Hyundai       ELANTRA             BURBANK                   CA
107528   5NPD74LFXHH203772   Hyundai       ELANTRA             SAN FRANCISCO             CA
107529   5NPD74LFXHH204758   Hyundai       ELANTRA             LAS VEGAS                 NV
107530   5NPD74LFXHH204937   Hyundai       ELANTRA             CENTRAL DIST OFFC         OK
107531   5NPD74LFXHH206963   Hyundai       ELANTRA             Elkridge                  MD
107532   5NPD74LFXHH210088   Hyundai       ELANTRA             SCHILLER PARK             IL
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107533   5NPD74LFXHH211886   Hyundai       ELANTRA             Dallas                    TX
107534   5NPD74LFXJH398553   Hyundai       ELANTRA             ORLANDO                   FL
107535   5NPD74LFXJH398567   Hyundai       ELANTRA             FORT MYERS                FL
107536   5NPD74LFXJH399430   Hyundai       ELANTRA             HANOVER                   MD
107537   5NPD74LFXKH435070   Hyundai       ELANTRA             PHOENIX                   AZ
107538   5NPD74LFXKH450779   Hyundai       ELANTRA             PHOENIX                   AZ
107539   5NPD74LFXKH451947   Hyundai       ELANTRA             ORLANDO                   FL
107540   5NPD74LFXKH487881   Hyundai       ELANTRA             CHICAGO                   IL
107541   5NPD74LFXKH490828   Hyundai       ELANTRA             MIDLAND                   TX
107542   5NPD84LF0HH000497   Hyundai       ELANTRA             Tolleson                  AZ
107543   5NPD84LF0HH001617   Hyundai       ELANTRA             CHARLOTTE                 NC
107544   5NPD84LF0HH023942   Hyundai       ELANTRA             MEDINA                    OH
107545   5NPD84LF0HH030258   Hyundai       ELANTRA             Johnston                  RI
107546   5NPD84LF0HH043348   Hyundai       ELANTRA             Fredericksburg            VA
107547   5NPD84LF0HH068850   Hyundai       ELANTRA             ROSEVILLE                 CA
107548   5NPD84LF0HH070498   Hyundai       ELANTRA             WARWICK                   RI
107549   5NPD84LF0HH074003   Hyundai       ELANTRA             CHARLESTON                WV
107550   5NPD84LF0HH076723   Hyundai       ELANTRA             Manheim                   PA
107551   5NPD84LF0HH093943   Hyundai       ELANTRA             Riverside                 CA
107552   5NPD84LF0HH160704   Hyundai       ELANTRA             HAMPTON                   VA
107553   5NPD84LF0JH300451   Hyundai       ELANTRA             Denver                    CO
107554   5NPD84LF0JH300594   Hyundai       ELANTRA             Newark                    NJ
107555   5NPD84LF0JH303978   Hyundai       ELANTRA             SAN FRANCISCO             CA
107556   5NPD84LF0JH304418   Hyundai       ELANTRA             Tulsa                     OK
107557   5NPD84LF0JH305682   Hyundai       ELANTRA             NORTH PAC                 CA
107558   5NPD84LF0JH305715   Hyundai       ELANTRA             BURBANK                   CA
107559   5NPD84LF0JH306007   Hyundai       ELANTRA             SOUTH SAN FRANCISO        CA
107560   5NPD84LF0JH306217   Hyundai       ELANTRA             Austin                    TX
107561   5NPD84LF0JH306492   Hyundai       ELANTRA             Phoenix                   AZ
107562   5NPD84LF0JH306699   Hyundai       ELANTRA             Ventura                   CA
107563   5NPD84LF0JH306895   Hyundai       ELANTRA             SAN DIEGO                 CA
107564   5NPD84LF0JH307089   Hyundai       ELANTRA             Costa Mesa                CA
107565   5NPD84LF0JH307190   Hyundai       ELANTRA             LAS VEGAS                 NV
107566   5NPD84LF0JH307366   Hyundai       ELANTRA             Phoenix                   AZ
107567   5NPD84LF0JH309067   Hyundai       ELANTRA             NORTH PAC                 CA
107568   5NPD84LF0JH311806   Hyundai       ELANTRA             BURBANK                   CA
107569   5NPD84LF0JH312728   Hyundai       ELANTRA             BURBANK                   CA
107570   5NPD84LF0JH314317   Hyundai       ELANTRA             Webster                   NY
107571   5NPD84LF0JH319758   Hyundai       ELANTRA             DES MOINES                IA
107572   5NPD84LF0JH319887   Hyundai       ELANTRA             Atlanta                   GA
107573   5NPD84LF0JH324653   Hyundai       ELANTRA             Phoenix                   AZ
107574   5NPD84LF0JH326094   Hyundai       ELANTRA             SAN JOSE                  CA
107575   5NPD84LF0JH327150   Hyundai       ELANTRA             BURBANK                   CA
107576   5NPD84LF0JH329836   Hyundai       ELANTRA             HOBOKEN                   NJ
107577   5NPD84LF0JH330338   Hyundai       ACCENT              Smithtown                 NY
107578   5NPD84LF0JH330551   Hyundai       ELANTRA             CHICAGO                   IL
107579   5NPD84LF0JH333448   Hyundai       ELANTRA             Roseville                 CA
107580   5NPD84LF0JH339038   Hyundai       ELANTRA             BURBANK                   CA
107581   5NPD84LF0JH340352   Hyundai       ELANTRA             CLAIRTON                  PA
107582   5NPD84LF0JH340383   Hyundai       ELANTRA             INDIANAPOLIS              IN
107583   5NPD84LF0JH349004   Hyundai       ELANTRA             DES MOINES                IA
107584   5NPD84LF0JH356275   Hyundai       ELANTRA             DES PLAINES               US
107585   5NPD84LF0JH362755   Hyundai       ELANTRA             Tampa                     FL
107586   5NPD84LF0JH367745   Hyundai       ELANTRA             Amarillo                  TX
107587   5NPD84LF0JH372606   Hyundai       ELANTRA             MILWAUKEE                 WI
107588   5NPD84LF0KH408652   Hyundai       ELANTRA             SAN JOSE                  CA
107589   5NPD84LF0KH408862   Hyundai       ELANTRA             TAMPA                     FL
107590   5NPD84LF0KH408960   Hyundai       ELANTRA             TAMPA                     FL
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107591   5NPD84LF0KH408974   Hyundai       ELANTRA             Rock Hill                 SC
107592   5NPD84LF0KH413592   Hyundai       ELANTRA             Las Vegas                 NV
107593   5NPD84LF0KH456524   Hyundai       ELANTRA             COLUMBIA                  SC
107594   5NPD84LF0KH457009   Hyundai       ELANTRA             WEST PALM BEACH           FL
107595   5NPD84LF0KH457642   Hyundai       ELANTRA             Portland                  OR
107596   5NPD84LF0KH458287   Hyundai       ELANTRA             Webster                   NY
107597   5NPD84LF0KH458497   Hyundai       ELANTRA             CLOVIS                    CA
107598   5NPD84LF0KH458547   Hyundai       ELANTRA             PHOENIX                   AZ
107599   5NPD84LF0KH458564   Hyundai       ELANTRA             Santa Clara               CA
107600   5NPD84LF0KH458628   Hyundai       ELANTRA             Santa Clara               CA
107601   5NPD84LF0KH458631   Hyundai       ELANTRA             Tulsa                     OK
107602   5NPD84LF0KH458919   Hyundai       ELANTRA             Pasadena                  CA
107603   5NPD84LF0KH467135   Hyundai       ELANTRA             Schaumburg                IL
107604   5NPD84LF0KH467202   Hyundai       ELANTRA             KNOXVILLE                 TN
107605   5NPD84LF0KH467507   Hyundai       ELANTRA             SOUTHEAST DST OFFC        OK
107606   5NPD84LF0KH468303   Hyundai       ELANTRA             Kansas City               MO
107607   5NPD84LF0KH468432   Hyundai       ELANTRA             KNOXVILLE                 TN
107608   5NPD84LF0KH468592   Hyundai       ELANTRA             HARLEYVILLE               SC
107609   5NPD84LF0KH471346   Hyundai       ELANTRA             Newark                    NJ
107610   5NPD84LF0KH482170   Hyundai       ELANTRA             Kansas City               MO
107611   5NPD84LF1HH004882   Hyundai       ELANTRA             BURBANK                   CA
107612   5NPD84LF1HH015980   Hyundai       ELANTRA             SAN FRANCISCO             CA
107613   5NPD84LF1HH030172   Hyundai       ELANTRA             Ft. Myers                 FL
107614   5NPD84LF1HH040250   Hyundai       ELANTRA             Indianapolis              IN
107615   5NPD84LF1HH076178   Hyundai       ELANTRA             SAN DIEGO                 CA
107616   5NPD84LF1HH096639   Hyundai       ELANTRA             Chicago                   IL
107617   5NPD84LF1HH108000   Hyundai       ELANTRA             Baltimore                 MD
107618   5NPD84LF1HH113844   Hyundai       ELANTRA             BURBANK                   CA
107619   5NPD84LF1JH223766   Hyundai       ELANTRA             Fredericksburg            VA
107620   5NPD84LF1JH294501   Hyundai       ELANTRA             NORTH PAC                 CA
107621   5NPD84LF1JH297897   Hyundai       ELANTRA             LOS ANGELES               CA
107622   5NPD84LF1JH300460   Hyundai       ELANTRA             ORLANDO                   FL
107623   5NPD84LF1JH303679   Hyundai       ELANTRA             Estero                    FL
107624   5NPD84LF1JH303911   Hyundai       ELANTRA             LOS ANGELES               CA
107625   5NPD84LF1JH304587   Hyundai       ELANTRA             NORTH PAC                 CA
107626   5NPD84LF1JH305979   Hyundai       ELANTRA             Phoenix                   AZ
107627   5NPD84LF1JH306422   Hyundai       ELANTRA             CHICAGO                   IL
107628   5NPD84LF1JH306596   Hyundai       ELANTRA             CHICAGO                   IL
107629   5NPD84LF1JH307070   Hyundai       ELANTRA             SAN FRANCISCO             CA
107630   5NPD84LF1JH307117   Hyundai       ELANTRA             BURBANK                   CA
107631   5NPD84LF1JH307148   Hyundai       ELANTRA             BURBANK                   CA
107632   5NPD84LF1JH309482   Hyundai       ELANTRA             Portland                  OR
107633   5NPD84LF1JH314214   Hyundai       ELANTRA             LAS VEGAS                 NV
107634   5NPD84LF1JH314486   Hyundai       ELANTRA             Denver                    CO
107635   5NPD84LF1JH315282   Hyundai       ELANTRA             CHANDLER                  AZ
107636   5NPD84LF1JH315539   Hyundai       ELANTRA             Los Angeles               CA
107637   5NPD84LF1JH315766   Hyundai       ELANTRA             SAN DIEGO                 CA
107638   5NPD84LF1JH325195   Hyundai       ELANTRA             LAS VEGAS                 NV
107639   5NPD84LF1JH326590   Hyundai       ELANTRA             Las Vegas                 NV
107640   5NPD84LF1JH330171   Hyundai       ACCENT              Johnston                  RI
107641   5NPD84LF1JH330252   Hyundai       ELANTRA             Denver                    CO
107642   5NPD84LF1JH340473   Hyundai       ELANTRA             SANTA ANA                 CA
107643   5NPD84LF1JH342109   Hyundai       ELANTRA             Ventura                   CA
107644   5NPD84LF1JH347293   Hyundai       ELANTRA             Los Angeles               CA
107645   5NPD84LF1JH375532   Hyundai       ELANTRA             SOUTHWEST DEALER D        TX
107646   5NPD84LF1JH398647   Hyundai       ELANTRA             Tampa                     FL
107647   5NPD84LF1JH401630   Hyundai       ELANTRA             CHARLOTTE                 NC
107648   5NPD84LF1KH402035   Hyundai       ELANTRA             Dallas                    TX
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107649   5NPD84LF1KH408854   Hyundai       ELANTRA             PHOENIX                   AZ
107650   5NPD84LF1KH408868   Hyundai       ELANTRA             Florissant                MO
107651   5NPD84LF1KH408871   Hyundai       ELANTRA             Albuquerque               NM
107652   5NPD84LF1KH408952   Hyundai       ELANTRA             Winston‐Salem             NC
107653   5NPD84LF1KH408997   Hyundai       ELANTRA             Tolleson                  AZ
107654   5NPD84LF1KH409020   Hyundai       ELANTRA             PHOENIX                   AZ
107655   5NPD84LF1KH409079   Hyundai       ELANTRA             Phoenix                   AZ
107656   5NPD84LF1KH409115   Hyundai       ELANTRA             LAS VEGAS                 NV
107657   5NPD84LF1KH409177   Hyundai       ELANTRA             RENO                      NV
107658   5NPD84LF1KH416727   Hyundai       ELANTRA             Rock Hill                 SC
107659   5NPD84LF1KH446388   Hyundai       ELANTRA             Marietta                  GA
107660   5NPD84LF1KH455513   Hyundai       ELANTRA             Burien                    WA
107661   5NPD84LF1KH455821   Hyundai       ELANTRA             Ventura                   CA
107662   5NPD84LF1KH456466   Hyundai       ELANTRA             PHOENIX                   AZ
107663   5NPD84LF1KH456645   Hyundai       ELANTRA             Hendersonville            TN
107664   5NPD84LF1KH456726   Hyundai       ELANTRA             MIDDLE RIVER              MD
107665   5NPD84LF1KH456774   Hyundai       ELANTRA             Hayward                   CA
107666   5NPD84LF1KH456788   Hyundai       ELANTRA             SANFORD                   FL
107667   5NPD84LF1KH456791   Hyundai       ELANTRA             MORROW                    GA
107668   5NPD84LF1KH456824   Hyundai       ELANTRA             Jacksonville              FL
107669   5NPD84LF1KH456998   Hyundai       ELANTRA             Cleveland                 OH
107670   5NPD84LF1KH457018   Hyundai       ELANTRA             Rock Hill                 SC
107671   5NPD84LF1KH457052   Hyundai       ELANTRA             Rockville Centr           NY
107672   5NPD84LF1KH458198   Hyundai       ELANTRA             Hayward                   CA
107673   5NPD84LF1KH458394   Hyundai       ELANTRA             Stockton                  CA
107674   5NPD84LF1KH458489   Hyundai       ELANTRA             Beaverton                 OR
107675   5NPD84LF1KH458590   Hyundai       ELANTRA             SAN LEANDRO               CA
107676   5NPD84LF1KH468052   Hyundai       ELANTRA             Hartford                  CT
107677   5NPD84LF1KH468651   Hyundai       ELANTRA             Johnston                  RI
107678   5NPD84LF1KH468746   Hyundai       ELANTRA             Atlanta                   GA
107679   5NPD84LF1KH468830   Hyundai       ELANTRA             Winston‐Salem             NC
107680   5NPD84LF1KH469007   Hyundai       ELANTRA             Bensalem                  PA
107681   5NPD84LF1KH480296   Hyundai       ELANTRA             Rock Hill                 SC
107682   5NPD84LF1KH480637   Hyundai       ELANTRA             ORLANDO                   FL
107683   5NPD84LF1KH484753   Hyundai       ELANTRA             Schaumburg                IL
107684   5NPD84LF2HH009167   Hyundai       ELANTRA             North Dighton             MA
107685   5NPD84LF2HH010190   Hyundai       ELANTRA             Tampa                     FL
107686   5NPD84LF2HH031265   Hyundai       ELANTRA             Cleveland                 OH
107687   5NPD84LF2HH035381   Hyundai       ELANTRA             LOS ANGELES               CA
107688   5NPD84LF2HH036580   Hyundai       ELANTRA             Marietta                  GA
107689   5NPD84LF2HH037664   Hyundai       ELANTRA             TAMPA                     FL
107690   5NPD84LF2HH045358   Hyundai       ELANTRA             Tampa                     FL
107691   5NPD84LF2HH058966   Hyundai       ELANTRA             Atlanta                   GA
107692   5NPD84LF2HH070910   Hyundai       ELANTRA             NEW ENGLAND DEALER        MA
107693   5NPD84LF2HH071104   Hyundai       ELANTRA             Manheim                   PA
107694   5NPD84LF2HH093944   Hyundai       ELANTRA             ST Paul                   MN
107695   5NPD84LF2JH299870   Hyundai       ELANTRA             Denver                    CO
107696   5NPD84LF2JH303917   Hyundai       ELANTRA             HANOVER                   MD
107697   5NPD84LF2JH303920   Hyundai       ELANTRA             NORTH PAC                 CA
107698   5NPD84LF2JH305912   Hyundai       ELANTRA             los angeles               ca
107699   5NPD84LF2JH306364   Hyundai       ELANTRA             BURBANK                   CA
107700   5NPD84LF2JH306994   Hyundai       ELANTRA             Burien                    WA
107701   5NPD84LF2JH307837   Hyundai       ELANTRA             SAN DIEGO                 CA
107702   5NPD84LF2JH307949   Hyundai       ELANTRA             MEDINA                    OH
107703   5NPD84LF2JH308857   Hyundai       ELANTRA             San Diego                 CA
107704   5NPD84LF2JH308888   Hyundai       ELANTRA             STERLING                  VA
107705   5NPD84LF2JH314352   Hyundai       ELANTRA             BURBANK                   CA
107706   5NPD84LF2JH318613   Hyundai       ELANTRA             EL PASO                   TX
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107707   5NPD84LF2JH319275   Hyundai       ELANTRA             CHICAGO                   IL
107708   5NPD84LF2JH319888   Hyundai       ELANTRA             DES MOINES                IA
107709   5NPD84LF2JH324718   Hyundai       ELANTRA             Rio Linda                 CA
107710   5NPD84LF2JH324931   Hyundai       ELANTRA             NORTH PAC                 CA
107711   5NPD84LF2JH325187   Hyundai       ELANTRA             ALBUQUERQUE               NM
107712   5NPD84LF2JH325237   Hyundai       ELANTRA             DES PLAINES               IL
107713   5NPD84LF2JH325299   Hyundai       ELANTRA             SAN DIEGO                 CA
107714   5NPD84LF2JH330387   Hyundai       ELANTRA             LAS VEGAS                 NV
107715   5NPD84LF2JH330437   Hyundai       ELANTRA             NORTH PAC                 CA
107716   5NPD84LF2JH334438   Hyundai       ELANTRA             Anaheim                   CA
107717   5NPD84LF2JH334682   Hyundai       ELANTRA             Aurora                    CO
107718   5NPD84LF2JH335704   Hyundai       ELANTRA             DALLAS                    TX
107719   5NPD84LF2JH335976   Hyundai       ELANTRA             Roseville                 CA
107720   5NPD84LF2JH338750   Hyundai       ELANTRA             N. Palm Beach             FL
107721   5NPD84LF2JH340210   Hyundai       ELANTRA             Newark                    NJ
107722   5NPD84LF2JH340790   Hyundai       ELANTRA             Englewood                 CO
107723   5NPD84LF2JH363373   Hyundai       ELANTRA             MELROSE PARK              IL
107724   5NPD84LF2JH363471   Hyundai       ELANTRA             DES MOINES                IA
107725   5NPD84LF2JH370727   Hyundai       ELANTRA             CHICAGO                   IL
107726   5NPD84LF2JH372641   Hyundai       ELANTRA             Birmingham                AL
107727   5NPD84LF2JH373465   Hyundai       ELANTRA             Chicago                   IL
107728   5NPD84LF2JH381470   Hyundai       ELANTRA             Jacksonville              FL
107729   5NPD84LF2JH398348   Hyundai       ELANTRA             St. Louis                 MO
107730   5NPD84LF2KH404375   Hyundai       ELANTRA             KENNER                    LA
107731   5NPD84LF2KH408815   Hyundai       ELANTRA             Euless                    TX
107732   5NPD84LF2KH408913   Hyundai       ELANTRA             Phoenix                   AZ
107733   5NPD84LF2KH408927   Hyundai       ELANTRA             NEW YORK CITY             NY
107734   5NPD84LF2KH408958   Hyundai       ELANTRA             Warminster                PA
107735   5NPD84LF2KH409043   Hyundai       ELANTRA             Sacramento                CA
107736   5NPD84LF2KH409107   Hyundai       ELANTRA             Santa Clara               CA
107737   5NPD84LF2KH409222   Hyundai       ELANTRA             Las Vegas                 NV
107738   5NPD84LF2KH409463   Hyundai       ELANTRA             OAKLAND                   CA
107739   5NPD84LF2KH444861   Hyundai       ELANTRA             COLUMBIA                  SC
107740   5NPD84LF2KH456282   Hyundai       ELANTRA             Denver                    CO
107741   5NPD84LF2KH456573   Hyundai       ELANTRA             DALLAS                    TX
107742   5NPD84LF2KH456671   Hyundai       ELANTRA             Hendersonville            TN
107743   5NPD84LF2KH456945   Hyundai       ELANTRA             MIDDLE RIVER              MD
107744   5NPD84LF2KH457013   Hyundai       ELANTRA             Philadelphia              PA
107745   5NPD84LF2KH457755   Hyundai       ELANTRA             Phoenix                   AZ
107746   5NPD84LF2KH457819   Hyundai       ELANTRA             Anaheim                   CA
107747   5NPD84LF2KH457853   Hyundai       ELANTRA             BURBANK                   CA
107748   5NPD84LF2KH457982   Hyundai       ELANTRA             SANTA ANA                 CA
107749   5NPD84LF2KH458484   Hyundai       ELANTRA             SEATAC                    WA
107750   5NPD84LF2KH458548   Hyundai       ELANTRA             Portland                  OR
107751   5NPD84LF2KH458677   Hyundai       ELANTRA             ST Paul                   MN
107752   5NPD84LF2KH458808   Hyundai       ELANTRA             DES MOINES                IA
107753   5NPD84LF2KH459313   Hyundai       ELANTRA             TAMPA                     US
107754   5NPD84LF2KH459781   Hyundai       ELANTRA             Richmond                  VA
107755   5NPD84LF2KH461479   Hyundai       ELANTRA             Londonderry               NH
107756   5NPD84LF2KH462079   Hyundai       ELANTRA             Coraopolis                PA
107757   5NPD84LF2KH463345   Hyundai       ELANTRA             Smithtown                 NY
107758   5NPD84LF2KH467718   Hyundai       ELANTRA             Webster                   NY
107759   5NPD84LF2KH467721   Hyundai       ELANTRA             Hamilton                  OH
107760   5NPD84LF2KH467802   Hyundai       ELANTRA             HARTFORD                  CT
107761   5NPD84LF2KH468027   Hyundai       ELANTRA             Atlanta                   GA
107762   5NPD84LF2KH468299   Hyundai       ELANTRA             SPRINGFIELD               VA
107763   5NPD84LF2KH468836   Hyundai       ELANTRA             Johnston                  RI
107764   5NPD84LF2KH468884   Hyundai       ELANTRA             MORROW                    GA
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107765   5NPD84LF2KH469016   Hyundai       ELANTRA             AUGUSTA                   GA
107766   5NPD84LF2KH480517   Hyundai       ELANTRA             BOSTON                    MA
107767   5NPD84LF2KH481196   Hyundai       ELANTRA             DES MOINES                IA
107768   5NPD84LF2KH484390   Hyundai       ELANTRA             Indianapolis              IN
107769   5NPD84LF2KH485300   Hyundai       ELANTRA             North Dighton             MA
107770   5NPD84LF2KH491159   Hyundai       ELANTRA             Salt Lake City            UT
107771   5NPD84LF3HH008609   Hyundai       ELANTRA             Houston                   TX
107772   5NPD84LF3HH015978   Hyundai       ELANTRA             CHICAGO                   IL
107773   5NPD84LF3HH026866   Hyundai       ELANTRA             Tampa                     FL
107774   5NPD84LF3HH027466   Hyundai       ELANTRA             Massapequa                NY
107775   5NPD84LF3HH057308   Hyundai       ELANTRA             Winston‐Salem             NC
107776   5NPD84LF3HH063853   Hyundai       ELANTRA             Louisville                KY
107777   5NPD84LF3HH076358   Hyundai       ELANTRA             Las Vegas                 NV
107778   5NPD84LF3HH089997   Hyundai       ELANTRA             Rockville Centr           NY
107779   5NPD84LF3HH096738   Hyundai       ELANTRA             Johnston                  RI
107780   5NPD84LF3HH118141   Hyundai       ELANTRA             Alcoa                     TN
107781   5NPD84LF3HH136266   Hyundai       ELANTRA             SAN DIEGO                 CA
107782   5NPD84LF3JH235272   Hyundai       ELANTRA             BURBANK                   CA
107783   5NPD84LF3JH295164   Hyundai       ELANTRA             Los Angeles               CA
107784   5NPD84LF3JH300251   Hyundai       ELANTRA             ORANGE COUNTY             CA
107785   5NPD84LF3JH303490   Hyundai       ELANTRA             BURBANK                   CA
107786   5NPD84LF3JH304297   Hyundai       ELANTRA             LOS ANGELES               CA
107787   5NPD84LF3JH304669   Hyundai       ELANTRA             Elkridge                  MD
107788   5NPD84LF3JH305840   Hyundai       ELANTRA             Irving                    TX
107789   5NPD84LF3JH305935   Hyundai       ELANTRA             PHOENIX                   AZ
107790   5NPD84LF3JH305983   Hyundai       ELANTRA             Fontana                   CA
107791   5NPD84LF3JH306423   Hyundai       ELANTRA             ROSEVILLE                 CA
107792   5NPD84LF3JH306504   Hyundai       ELANTRA             CHARLOTTE                 NC
107793   5NPD84LF3JH306678   Hyundai       ELANTRA             NORTH PAC                 CA
107794   5NPD84LF3JH306969   Hyundai       ELANTRA             Hayward                   CA
107795   5NPD84LF3JH307460   Hyundai       ELANTRA             BURBANK                   CA
107796   5NPD84LF3JH307488   Hyundai       ELANTRA             Roseville                 CA
107797   5NPD84LF3JH309659   Hyundai       ELANTRA             Chicago                   IL
107798   5NPD84LF3JH314103   Hyundai       ELANTRA             Santa Clara               CA
107799   5NPD84LF3JH316336   Hyundai       ELANTRA             Fredericksburg            VA
107800   5NPD84LF3JH316594   Hyundai       ELANTRA             MORROW                    GA
107801   5NPD84LF3JH316918   Hyundai       ELANTRA             DES MOINES                IA
107802   5NPD84LF3JH318961   Hyundai       ELANTRA             CHICAGO                   IL
107803   5NPD84LF3JH319088   Hyundai       ELANTRA             BURBANK                   CA
107804   5NPD84LF3JH319785   Hyundai       ELANTRA             DES PLAINES               IL
107805   5NPD84LF3JH319818   Hyundai       ELANTRA             NEW ORLEANS               LA
107806   5NPD84LF3JH326154   Hyundai       ELANTRA             FLORIDA DEALER DIR        FL
107807   5NPD84LF3JH329359   Hyundai       ELANTRA             SAN JOSE                  CA
107808   5NPD84LF3JH330317   Hyundai       ELANTRA             Massapequa                NY
107809   5NPD84LF3JH333444   Hyundai       ELANTRA             CHATTANOOGA               TN
107810   5NPD84LF3JH333461   Hyundai       ELANTRA             Rock Hill                 SC
107811   5NPD84LF3JH334139   Hyundai       ELANTRA             Tolleson                  AZ
107812   5NPD84LF3JH335212   Hyundai       ELANTRA             NEW ENGLAND DEALER        MA
107813   5NPD84LF3JH337526   Hyundai       ELANTRA             FULLERTON                 CA
107814   5NPD84LF3JH339048   Hyundai       ELANTRA             Live Oak                  TX
107815   5NPD84LF3JH351913   Hyundai       ELANTRA             Atlanta                   GA
107816   5NPD84LF3JH367500   Hyundai       ELANTRA             FORT MYERS                FL
107817   5NPD84LF3JH368940   Hyundai       ELANTRA             PLEASANTON                CA
107818   5NPD84LF3JH372972   Hyundai       ELANTRA             TITUSVILLE                FL
107819   5NPD84LF3JH386323   Hyundai       ELANTRA             ORLANDO                   FL
107820   5NPD84LF3JH399296   Hyundai       ELANTRA             ORLANDO                   FL
107821   5NPD84LF3KH408600   Hyundai       ELANTRA             Memphis                   TN
107822   5NPD84LF3KH408953   Hyundai       ELANTRA             Bridgeton                 MO
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107823   5NPD84LF3KH409021   Hyundai       ELANTRA             San Antonio               TX
107824   5NPD84LF3KH409049   Hyundai       ELANTRA             ALBUQERQUE                NM
107825   5NPD84LF3KH409066   Hyundai       ELANTRA             Tulsa                     OK
107826   5NPD84LF3KH409083   Hyundai       ELANTRA             LOS ANGELES               CA
107827   5NPD84LF3KH409228   Hyundai       ELANTRA             BURBANK                   CA
107828   5NPD84LF3KH409505   Hyundai       ELANTRA             Little Rock               AR
107829   5NPD84LF3KH411142   Hyundai       ELANTRA             Tampa                     FL
107830   5NPD84LF3KH434100   Hyundai       ELANTRA             Stone Mountain            GA
107831   5NPD84LF3KH439961   Hyundai       ELANTRA             San Antonio               TX
107832   5NPD84LF3KH450930   Hyundai       ELANTRA             Hendersonville            TN
107833   5NPD84LF3KH455867   Hyundai       ELANTRA             Jacksonville              FL
107834   5NPD84LF3KH456520   Hyundai       ELANTRA             Indianapolis              IN
107835   5NPD84LF3KH456789   Hyundai       ELANTRA             Johnston                  RI
107836   5NPD84LF3KH456971   Hyundai       ELANTRA             San Diego                 CA
107837   5NPD84LF3KH457652   Hyundai       ELANTRA             PLEASANTON                CA
107838   5NPD84LF3KH457750   Hyundai       ELANTRA             S. San Francisc           CA
107839   5NPD84LF3KH458042   Hyundai       ELANTRA             Burien                    WA
107840   5NPD84LF3KH458154   Hyundai       ELANTRA             Florissant                MO
107841   5NPD84LF3KH458199   Hyundai       ELANTRA             Burien                    WA
107842   5NPD84LF3KH458204   Hyundai       ELANTRA             Burien                    WA
107843   5NPD84LF3KH458395   Hyundai       ELANTRA             Tolleson                  AZ
107844   5NPD84LF3KH458428   Hyundai       ELANTRA             Burien                    WA
107845   5NPD84LF3KH458493   Hyundai       ELANTRA             Elkridge                  MD
107846   5NPD84LF3KH458543   Hyundai       ELANTRA             Beaverton                 OR
107847   5NPD84LF3KH458560   Hyundai       ELANTRA             Roseville                 CA
107848   5NPD84LF3KH458669   Hyundai       ELANTRA             Santa Clara               CA
107849   5NPD84LF3KH460213   Hyundai       ELANTRA             BOSTON, LOGAN AP          MA
107850   5NPD84LF3KH461717   Hyundai       ELANTRA             PHOENIX                   AZ
107851   5NPD84LF3KH467808   Hyundai       ELANTRA             Johnston                  RI
107852   5NPD84LF3KH467954   Hyundai       ELANTRA             BURNSVILLE                MN
107853   5NPD84LF3KH468070   Hyundai       ELANTRA             CHARLESTON                SC
107854   5NPD84LF3KH468599   Hyundai       ELANTRA             Harvey                    LA
107855   5NPD84LF3KH468814   Hyundai       ELANTRA             ATLANTA                   GA
107856   5NPD84LF3KH469008   Hyundai       ELANTRA             Marietta                  GA
107857   5NPD84LF3KH469011   Hyundai       ELANTRA             Newark                    NJ
107858   5NPD84LF3KH471423   Hyundai       ELANTRA             Coraopolis                PA
107859   5NPD84LF3KH472426   Hyundai       ELANTRA             TAMPA                     FL
107860   5NPD84LF3KH489663   Hyundai       ELANTRA             SOUTH BURLINGTO           VT
107861   5NPD84LF4HH004634   Hyundai       ELANTRA             NORTH PAC                 CA
107862   5NPD84LF4HH010238   Hyundai       ELANTRA             CHICAGO                   IL
107863   5NPD84LF4HH018369   Hyundai       ELANTRA             SAN DIEGO                 US
107864   5NPD84LF4HH018520   Hyundai       ELANTRA             EGG HARBOR TOWN           NJ
107865   5NPD84LF4HH023264   Hyundai       ELANTRA             Clarksville               IN
107866   5NPD84LF4HH033762   Hyundai       ELANTRA             Pittsburgh                PA
107867   5NPD84LF4HH035673   Hyundai       ELANTRA             Charlotte                 NC
107868   5NPD84LF4HH042994   Hyundai       ELANTRA             EL PASO                   TX
107869   5NPD84LF4HH075655   Hyundai       ELANTRA             SACRAMENTO                CA
107870   5NPD84LF4HH082993   Hyundai       ELANTRA             Detroit                   MI
107871   5NPD84LF4HH092729   Hyundai       ELANTRA             Rock Hill                 SC
107872   5NPD84LF4HH118147   Hyundai       ELANTRA             COLUMBUS                  OH
107873   5NPD84LF4HH152654   Hyundai       ELANTRA             OAKLAND                   CA
107874   5NPD84LF4JH214446   Hyundai       ELANTRA             DES PLAINES               US
107875   5NPD84LF4JH300193   Hyundai       ELANTRA             Elkridge                  MD
107876   5NPD84LF4JH303580   Hyundai       ELANTRA             BURBANK                   CA
107877   5NPD84LF4JH304583   Hyundai       ELANTRA             PHOENIX                   AZ
107878   5NPD84LF4JH306401   Hyundai       ELANTRA             LOS ANGELES               CA
107879   5NPD84LF4JH306432   Hyundai       ELANTRA             BURBANK                   CA
107880   5NPD84LF4JH306835   Hyundai       ELANTRA             BURBANK                   CA
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107881   5NPD84LF4JH307967   Hyundai       ELANTRA             Norwalk                   CA
107882   5NPD84LF4JH308049   Hyundai       ELANTRA             Carleton                  MI
107883   5NPD84LF4JH314532   Hyundai       ELANTRA             SANTA ANA                 CA
107884   5NPD84LF4JH314983   Hyundai       ELANTRA             BURBANK                   CA
107885   5NPD84LF4JH315485   Hyundai       ELANTRA             BURBANK                   CA
107886   5NPD84LF4JH316684   Hyundai       ELANTRA             SAN JOSE                  CA
107887   5NPD84LF4JH317575   Hyundai       ELANTRA             Bensalem                  PA
107888   5NPD84LF4JH318368   Hyundai       ELANTRA             FLORIDA DEALER DIR        FL
107889   5NPD84LF4JH318578   Hyundai       ELANTRA             DES PLAINES               IL
107890   5NPD84LF4JH319729   Hyundai       ELANTRA             DES MOINES                IA
107891   5NPD84LF4JH319732   Hyundai       ELANTRA             NORTH PAC                 CA
107892   5NPD84LF4JH324722   Hyundai       ELANTRA             Riverside                 CA
107893   5NPD84LF4JH325014   Hyundai       ELANTRA             COLLEGE PARK              GA
107894   5NPD84LF4JH325207   Hyundai       ELANTRA             Anaheim                   CA
107895   5NPD84LF4JH326597   Hyundai       ELANTRA             ALBUQUERQUE               NM
107896   5NPD84LF4JH335980   Hyundai       ELANTRA             BURBANK                   CA
107897   5NPD84LF4JH338555   Hyundai       ACCENT              Winter Park               FL
107898   5NPD84LF4JH338751   Hyundai       ELANTRA             Tampa                     FL
107899   5NPD84LF4JH340029   Hyundai       ELANTRA             LAS VEGAS                 NV
107900   5NPD84LF4JH340662   Hyundai       ELANTRA             BURBANK                   CA
107901   5NPD84LF4JH369949   Hyundai       ELANTRA             CHICAGO                   IL
107902   5NPD84LF4JH377730   Hyundai       ELANTRA             LAS VEGAS                 NV
107903   5NPD84LF4JH377890   Hyundai       ELANTRA             Las Vegas                 NV
107904   5NPD84LF4JH385259   Hyundai       ELANTRA             ORLANDO                   FL
107905   5NPD84LF4JH398738   Hyundai       ELANTRA             Miami                     FL
107906   5NPD84LF4KH408699   Hyundai       ELANTRA             Phoenix                   AZ
107907   5NPD84LF4KH408864   Hyundai       ELANTRA             Stockton                  CA
107908   5NPD84LF4KH408962   Hyundai       ELANTRA             Los Angeles               CA
107909   5NPD84LF4KH409013   Hyundai       ELANTRA             Phoenix                   AZ
107910   5NPD84LF4KH409075   Hyundai       ELANTRA             Salt Lake City            UT
107911   5NPD84LF4KH409108   Hyundai       ELANTRA             San Diego                 CA
107912   5NPD84LF4KH409173   Hyundai       ELANTRA             SANTA FE                  NM
107913   5NPD84LF4KH409450   Hyundai       ELANTRA             Salt Lake City            UT
107914   5NPD84LF4KH416415   Hyundai       ELANTRA             MIAMI                     FL
107915   5NPD84LF4KH441427   Hyundai       ELANTRA             SPRINGFIELD               VA
107916   5NPD84LF4KH442884   Hyundai       ELANTRA             Winston‐Salem             NC
107917   5NPD84LF4KH455358   Hyundai       ELANTRA             Woodhaven                 MI
107918   5NPD84LF4KH455599   Hyundai       ELANTRA             Las Vegas                 NV
107919   5NPD84LF4KH456395   Hyundai       ELANTRA             Estero                    FL
107920   5NPD84LF4KH456476   Hyundai       ELANTRA             ORLANDO                   FL
107921   5NPD84LF4KH456641   Hyundai       ELANTRA             Baltimore                 MD
107922   5NPD84LF4KH456722   Hyundai       ELANTRA             North Dighton             MA
107923   5NPD84LF4KH457711   Hyundai       ELANTRA             PLEASANTON                CA
107924   5NPD84LF4KH458292   Hyundai       ELANTRA             Florissant                MO
107925   5NPD84LF4KH458499   Hyundai       ELANTRA             FULLERTON                 CA
107926   5NPD84LF4KH459555   Hyundai       ELANTRA             ORLANDO                   FL
107927   5NPD84LF4KH459829   Hyundai       ELANTRA             Tampa                     FL
107928   5NPD84LF4KH468577   Hyundai       ELANTRA             Johnston                  RI
107929   5NPD84LF4KH468594   Hyundai       ELANTRA             Richmond                  VA
107930   5NPD84LF4KH468644   Hyundai       ELANTRA             Smithtown                 NY
107931   5NPD84LF4KH468806   Hyundai       ELANTRA             Massapequa                NY
107932   5NPD84LF4KH468949   Hyundai       ELANTRA             ORLANDO                   FL
107933   5NPD84LF4KH469406   Hyundai       ELANTRA             Johnston                  RI
107934   5NPD84LF4KH469549   Hyundai       ELANTRA             Chicago                   IL
107935   5NPD84LF4KH469728   Hyundai       ELANTRA             COLUMBIA                  SC
107936   5NPD84LF4KH481345   Hyundai       ELANTRA             Wichita                   KS
107937   5NPD84LF4KH489669   Hyundai       ELANTRA             Rock Hill                 SC
107938   5NPD84LF4KH491292   Hyundai       ELANTRA             Anaheim                   CA
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107939   5NPD84LF5HH048321   Hyundai       ELANTRA             BURBANK                   CA
107940   5NPD84LF5HH054913   Hyundai       ELANTRA             Miami                     FL
107941   5NPD84LF5HH068634   Hyundai       ELANTRA             Hartford                  CT
107942   5NPD84LF5HH085787   Hyundai       ELANTRA             Tolleson                  AZ
107943   5NPD84LF5HH114768   Hyundai       ELANTRA             Windsor Locks             CT
107944   5NPD84LF5HH154493   Hyundai       ELANTRA             Costa Mesa                CA
107945   5NPD84LF5JH302938   Hyundai       ELANTRA             LOS ANGELES               CA
107946   5NPD84LF5JH303975   Hyundai       ELANTRA             BURBANK                   CA
107947   5NPD84LF5JH306116   Hyundai       ELANTRA             BURBANK                   CA
107948   5NPD84LF5JH306410   Hyundai       ELANTRA             BURBANK                   CA
107949   5NPD84LF5JH306617   Hyundai       ELANTRA             Phoenix                   AZ
107950   5NPD84LF5JH306648   Hyundai       ELANTRA             BURBANK                   CA
107951   5NPD84LF5JH307055   Hyundai       ELANTRA             Colorado Spring           CO
107952   5NPD84LF5JH308643   Hyundai       ELANTRA             BURBANK                   CA
107953   5NPD84LF5JH308769   Hyundai       ELANTRA             NORTH PAC                 CA
107954   5NPD84LF5JH309341   Hyundai       ELANTRA             SEATAC                    WA
107955   5NPD84LF5JH314569   Hyundai       ELANTRA             Stockton                  CA
107956   5NPD84LF5JH314829   Hyundai       ELANTRA             LAS VEGAS                 NV
107957   5NPD84LF5JH316810   Hyundai       ELANTRA             Rock Hill                 SC
107958   5NPD84LF5JH318833   Hyundai       ELANTRA             Las Vegas                 NV
107959   5NPD84LF5JH318895   Hyundai       ELANTRA             DES MOINES                IA
107960   5NPD84LF5JH319237   Hyundai       ELANTRA             RICHMOND                  VA
107961   5NPD84LF5JH320033   Hyundai       ACCENT              TAMPA                     FL
107962   5NPD84LF5JH324440   Hyundai       ELANTRA             Roseville                 CA
107963   5NPD84LF5JH324454   Hyundai       ELANTRA             SANTA ANA                 CA
107964   5NPD84LF5JH325250   Hyundai       ELANTRA             Cleveland                 OH
107965   5NPD84LF5JH325720   Hyundai       ELANTRA             ONTARIO, RIVERSIDE        CA
107966   5NPD84LF5JH329377   Hyundai       ELANTRA             Memphis                   TN
107967   5NPD84LF5JH329444   Hyundai       ELANTRA             Phoenix                   AZ
107968   5NPD84LF5JH334692   Hyundai       ELANTRA             Kent                      WA
107969   5NPD84LF5JH336510   Hyundai       ELANTRA             DES PLAINES               US
107970   5NPD84LF5JH336944   Hyundai       ELANTRA             TAMPA                     FL
107971   5NPD84LF5JH339066   Hyundai       ELANTRA             LAS VEGAS                 NV
107972   5NPD84LF5JH340377   Hyundai       ELANTRA             DES MOINES                IA
107973   5NPD84LF5JH348480   Hyundai       ELANTRA             BURBANK                   CA
107974   5NPD84LF5JH348785   Hyundai       ELANTRA             BURBANK                   CA
107975   5NPD84LF5JH356790   Hyundai       ELANTRA             N. Las Vegas              NV
107976   5NPD84LF5JH364999   Hyundai       ELANTRA             SARASOTA                  FL
107977   5NPD84LF5JH373797   Hyundai       ELANTRA             ORLANDO                   FL
107978   5NPD84LF5JH379678   Hyundai       ELANTRA             Philadelphia              PA
107979   5NPD84LF5JH393015   Hyundai       ELANTRA             Tucson                    AZ
107980   5NPD84LF5KH408596   Hyundai       ELANTRA             FLORIDA DEALER DIR        FL
107981   5NPD84LF5KH408811   Hyundai       ELANTRA             Anaheim                   CA
107982   5NPD84LF5KH408873   Hyundai       ELANTRA             Tampa                     FL
107983   5NPD84LF5KH408999   Hyundai       ELANTRA             Aurora                    CO
107984   5NPD84LF5KH409022   Hyundai       ELANTRA             PHOENIX                   AZ
107985   5NPD84LF5KH409473   Hyundai       ELANTRA             LOS ANGELES               CA
107986   5NPD84LF5KH413913   Hyundai       ELANTRA             Harlingen                 TX
107987   5NPD84LF5KH417962   Hyundai       ELANTRA             N. Palm Beach             FL
107988   5NPD84LF5KH439105   Hyundai       ELANTRA             Clearwater                FL
107989   5NPD84LF5KH455515   Hyundai       ELANTRA             Riverside                 CA
107990   5NPD84LF5KH456647   Hyundai       ELANTRA             Memphis                   TN
107991   5NPD84LF5KH457006   Hyundai       ELANTRA             Tampa                     FL
107992   5NPD84LF5KH457068   Hyundai       ELANTRA             Richmond                  VA
107993   5NPD84LF5KH457135   Hyundai       ELANTRA             Bridgeton                 MO
107994   5NPD84LF5KH457619   Hyundai       ELANTRA             Ventura                   CA
107995   5NPD84LF5KH458060   Hyundai       ELANTRA             DES MOINES                IA
107996   5NPD84LF5KH458074   Hyundai       ELANTRA             Roseville                 CA
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107997   5NPD84LF5KH458124   Hyundai       ELANTRA             Burien                    WA
107998   5NPD84LF5KH458429   Hyundai       ELANTRA             Santa Clara               CA
107999   5NPD84LF5KH459564   Hyundai       ELANTRA             TAMPA                     FL
108000   5NPD84LF5KH459578   Hyundai       ELANTRA             COLUMBIA                  SC
108001   5NPD84LF5KH459807   Hyundai       ELANTRA             Sanford                   FL
108002   5NPD84LF5KH467809   Hyundai       ELANTRA             Johnston                  RI
108003   5NPD84LF5KH468037   Hyundai       ELANTRA             Webster                   NY
108004   5NPD84LF5KH468751   Hyundai       ELANTRA             Massapequa                NY
108005   5NPD84LF5KH469012   Hyundai       ELANTRA             Lynn                      MA
108006   5NPD84LF5KH469057   Hyundai       ELANTRA             St. Louis                 MO
108007   5NPD84LF5KH469107   Hyundai       ELANTRA             Rock Hill                 SC
108008   5NPD84LF5KH469222   Hyundai       ELANTRA             SOUTHEAST DST OFFC        OK
108009   5NPD84LF5KH469284   Hyundai       ELANTRA             Baltimore                 MD
108010   5NPD84LF5KH469401   Hyundai       ELANTRA             Warr Acres                OK
108011   5NPD84LF5KH472329   Hyundai       ELANTRA             Florissant                MO
108012   5NPD84LF6HH009771   Hyundai       ELANTRA             Tampa                     FL
108013   5NPD84LF6HH011228   Hyundai       ELANTRA             CHANDLER                  AZ
108014   5NPD84LF6HH031298   Hyundai       ELANTRA             Davie                     FL
108015   5NPD84LF6HH036534   Hyundai       ELANTRA             SALT LAKE CITY            US
108016   5NPD84LF6HH109272   Hyundai       ELANTRA             Atlanta                   GA
108017   5NPD84LF6HH168984   Hyundai       ELANTRA             Hamilton                  OH
108018   5NPD84LF6HH189754   Hyundai       ELANTRA             BOSTON                    MA
108019   5NPD84LF6JH299757   Hyundai       ELANTRA             COLLEGE PARK              GA
108020   5NPD84LF6JH300227   Hyundai       ELANTRA             SAN FRANCISCO             CA
108021   5NPD84LF6JH302902   Hyundai       ELANTRA             LAS VEGAS                 NV
108022   5NPD84LF6JH303726   Hyundai       ELANTRA             BURBANK                   CA
108023   5NPD84LF6JH303936   Hyundai       ELANTRA             LAS VEGAS                 NV
108024   5NPD84LF6JH305766   Hyundai       ELANTRA             LAS VEGAS                 NV
108025   5NPD84LF6JH305962   Hyundai       ELANTRA             Ventura                   CA
108026   5NPD84LF6JH305993   Hyundai       ELANTRA             LAS VEGAS                 NV
108027   5NPD84LF6JH306402   Hyundai       ELANTRA             INGLEWOOD                 CA
108028   5NPD84LF6JH306500   Hyundai       ELANTRA             San Diego                 CA
108029   5NPD84LF6JH306562   Hyundai       ELANTRA             BURBANK                   CA
108030   5NPD84LF6JH306710   Hyundai       ELANTRA             LAS VEGAS                 NV
108031   5NPD84LF6JH307470   Hyundai       ELANTRA             Anaheim                   CA
108032   5NPD84LF6JH307954   Hyundai       ELANTRA             BURBANK                   CA
108033   5NPD84LF6JH308084   Hyundai       ELANTRA             LAS VEGAS                 NV
108034   5NPD84LF6JH308764   Hyundai       ELANTRA             PHOENIX                   AZ
108035   5NPD84LF6JH309638   Hyundai       ELANTRA             Phoenix                   AZ
108036   5NPD84LF6JH312829   Hyundai       ELANTRA             HOUSTON                   TX
108037   5NPD84LF6JH315164   Hyundai       ELANTRA             Rock Hill                 SC
108038   5NPD84LF6JH322065   Hyundai       ELANTRA             Matteson                  IL
108039   5NPD84LF6JH324706   Hyundai       ELANTRA             San Diego                 CA
108040   5NPD84LF6JH325287   Hyundai       ELANTRA             FRESNO                    CA
108041   5NPD84LF6JH325886   Hyundai       ELANTRA             LAS VEGAS                 NV
108042   5NPD84LF6JH326455   Hyundai       ELANTRA             LOS ANGELES               CA
108043   5NPD84LF6JH327069   Hyundai       ELANTRA             BURBANK                   CA
108044   5NPD84LF6JH327136   Hyundai       ELANTRA             BURBANK                   CA
108045   5NPD84LF6JH329453   Hyundai       ELANTRA             Los Angeles               CA
108046   5NPD84LF6JH333194   Hyundai       ELANTRA             BROOK PARK                OH
108047   5NPD84LF6JH335026   Hyundai       ELANTRA             DES MOINES                IA
108048   5NPD84LF6JH337553   Hyundai       ELANTRA             Tolleson                  AZ
108049   5NPD84LF6JH337844   Hyundai       ACCENT              Elkridge                  MD
108050   5NPD84LF6JH342462   Hyundai       ELANTRA             LOS ANGELES               CA
108051   5NPD84LF6JH346544   Hyundai       ELANTRA             San Diego                 CA
108052   5NPD84LF6JH348956   Hyundai       ELANTRA             Leesburg                  VA
108053   5NPD84LF6JH367569   Hyundai       ELANTRA             LAS VEGAS                 NV
108054   5NPD84LF6JH370939   Hyundai       ELANTRA             DES MOINES                IA
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108055   5NPD84LF6KH408851   Hyundai       ELANTRA             Sacramento                CA
108056   5NPD84LF6KH408915   Hyundai       ELANTRA             Clarksville               IN
108057   5NPD84LF6KH408946   Hyundai       ELANTRA             Austin                    TX
108058   5NPD84LF6KH409062   Hyundai       ELANTRA             PLEASANTON                CA
108059   5NPD84LF6KH409076   Hyundai       ELANTRA             Sacramento                CA
108060   5NPD84LF6KH409109   Hyundai       ELANTRA             SAN LEANDRO               CA
108061   5NPD84LF6KH409191   Hyundai       ELANTRA             Corpus Christi            TX
108062   5NPD84LF6KH444829   Hyundai       ELANTRA             Rock Hill                 SC
108063   5NPD84LF6KH456396   Hyundai       ELANTRA             Lynn                      MA
108064   5NPD84LF6KH456771   Hyundai       ELANTRA             San Diego                 CA
108065   5NPD84LF6KH456950   Hyundai       ELANTRA             MIDDLE RIVER              MD
108066   5NPD84LF6KH457063   Hyundai       ELANTRA             Johnston                  RI
108067   5NPD84LF6KH457144   Hyundai       ELANTRA             Bensalem                  PA
108068   5NPD84LF6KH458195   Hyundai       ELANTRA             Salt Lake City            UT
108069   5NPD84LF6KH458245   Hyundai       ELANTRA             Sacramento                CA
108070   5NPD84LF6KH458293   Hyundai       ELANTRA             Roseville                 CA
108071   5NPD84LF6KH458388   Hyundai       ELANTRA             Denver                    CO
108072   5NPD84LF6KH458553   Hyundai       ELANTRA             Roseville                 CA
108073   5NPD84LF6KH459959   Hyundai       ELANTRA             Nashville                 TN
108074   5NPD84LF6KH461274   Hyundai       ELANTRA             Louisville                KY
108075   5NPD84LF6KH467690   Hyundai       ELANTRA             St. Louis                 MO
108076   5NPD84LF6KH468578   Hyundai       ELANTRA             Johnston                  RI
108077   5NPD84LF6KH469276   Hyundai       ELANTRA             Bridgeton                 MO
108078   5NPD84LF6KH483095   Hyundai       ELANTRA             Coraopolis                PA
108079   5NPD84LF7HH007172   Hyundai       ELANTRA             WEST PALM BEACH           FL
108080   5NPD84LF7HH020682   Hyundai       ELANTRA             FORT MYERS                FL
108081   5NPD84LF7HH026868   Hyundai       ELANTRA             Baltimore                 MD
108082   5NPD84LF7HH046134   Hyundai       ELANTRA             PHOENIX                   AZ
108083   5NPD84LF7HH055688   Hyundai       ELANTRA             LOS ANGELES               CA
108084   5NPD84LF7HH067064   Hyundai       ELANTRA             Ft. Myers                 FL
108085   5NPD84LF7HH094653   Hyundai       ELANTRA             STERLING                  VA
108086   5NPD84LF7HH098587   Hyundai       ELANTRA             Orlando                   FL
108087   5NPD84LF7JH234576   Hyundai       ELANTRA             Los Angeles               CA
108088   5NPD84LF7JH289934   Hyundai       ELANTRA             JACKSON                   MS
108089   5NPD84LF7JH290999   Hyundai       ELANTRA             DOWNEY                    CA
108090   5NPD84LF7JH300799   Hyundai       ELANTRA             BURBANK                   CA
108091   5NPD84LF7JH300821   Hyundai       ELANTRA             North Dighton             MA
108092   5NPD84LF7JH301001   Hyundai       ELANTRA             NORTH PAC                 CA
108093   5NPD84LF7JH303072   Hyundai       ELANTRA             SAN JOSE                  CA
108094   5NPD84LF7JH303945   Hyundai       ELANTRA             BURBANK                   CA
108095   5NPD84LF7JH304352   Hyundai       ELANTRA             Anaheim                   CA
108096   5NPD84LF7JH305582   Hyundai       ELANTRA             NORTH HOLLYWOOD           CA
108097   5NPD84LF7JH305632   Hyundai       ELANTRA             LOS ANGELES               CA
108098   5NPD84LF7JH305727   Hyundai       ELANTRA             LAS VEGAS                 NV
108099   5NPD84LF7JH306117   Hyundai       ELANTRA             SAN JOSE                  CA
108100   5NPD84LF7JH306733   Hyundai       ELANTRA             SANTA ANA                 CA
108101   5NPD84LF7JH306912   Hyundai       ELANTRA             SALT LAKE CITY            UT
108102   5NPD84LF7JH307011   Hyundai       ELANTRA             BURBANK                   CA
108103   5NPD84LF7JH309079   Hyundai       ELANTRA             CENTRAL DIST OFFC         OK
108104   5NPD84LF7JH312757   Hyundai       ELANTRA             LA HABRA                  CA
108105   5NPD84LF7JH314668   Hyundai       ELANTRA             DAYTONA BEACH             FL
108106   5NPD84LF7JH315464   Hyundai       ELANTRA             North Las Vegas           NV
108107   5NPD84LF7JH318414   Hyundai       ELANTRA             DAYTONA BEACH             FL
108108   5NPD84LF7JH318784   Hyundai       ELANTRA             CHARLOTTE                 NC
108109   5NPD84LF7JH318915   Hyundai       ELANTRA             Coraopolis                PA
108110   5NPD84LF7JH319000   Hyundai       ELANTRA             DENVER                    CO
108111   5NPD84LF7JH319031   Hyundai       ELANTRA             CHICAGO                   IL
108112   5NPD84LF7JH320034   Hyundai       ELANTRA             FORT LAUDERDALE           FL
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108113   5NPD84LF7JH324181   Hyundai       ELANTRA             RICHMOND                  VA
108114   5NPD84LF7JH326870   Hyundai       ELANTRA             Dallas                    TX
108115   5NPD84LF7JH330403   Hyundai       ELANTRA             Ventura                   CA
108116   5NPD84LF7JH330871   Hyundai       ELANTRA             DES PLAINES               IL
108117   5NPD84LF7JH337139   Hyundai       ELANTRA             Schaumburg                IL
108118   5NPD84LF7JH338761   Hyundai       ELANTRA             CHICAGO                   IL
108119   5NPD84LF7JH339277   Hyundai       ELANTRA             MEMPHIS                   TN
108120   5NPD84LF7JH340767   Hyundai       ELANTRA             Portland                  OR
108121   5NPD84LF7JH348481   Hyundai       ELANTRA             Miami                     FL
108122   5NPD84LF7JH353700   Hyundai       ELANTRA             DANIA BEACH               FL
108123   5NPD84LF7JH356306   Hyundai       ELANTRA             Sacramento                CA
108124   5NPD84LF7JH367631   Hyundai       ELANTRA             CENTRAL DIST OFFC         OK
108125   5NPD84LF7JH368066   Hyundai       ELANTRA             Atlanta                   GA
108126   5NPD84LF7JH369749   Hyundai       ELANTRA             CHICAGO                   IL
108127   5NPD84LF7KH407546   Hyundai       ELANTRA             INDIANAPOLIS              IN
108128   5NPD84LF7KH408664   Hyundai       ELANTRA             LAS VEGAS                 NV
108129   5NPD84LF7KH408941   Hyundai       ELANTRA             NEW ORLEANS               LA
108130   5NPD84LF7KH409023   Hyundai       ELANTRA             Rockville Centr           NY
108131   5NPD84LF7KH409104   Hyundai       ELANTRA             Lake Elsinore             CA
108132   5NPD84LF7KH409362   Hyundai       ELANTRA             North Las Vegas           NV
108133   5NPD84LF7KH409913   Hyundai       ELANTRA             SAN FRANCISCO             CA
108134   5NPD84LF7KH411032   Hyundai       ELANTRA             DANIA BEACH               FL
108135   5NPD84LF7KH411838   Hyundai       ELANTRA             Indianapolis              IN
108136   5NPD84LF7KH412276   Hyundai       ELANTRA             Estero                    FL
108137   5NPD84LF7KH453426   Hyundai       ELANTRA             Baltimore                 MD
108138   5NPD84LF7KH455449   Hyundai       ELANTRA             San Diego                 CA
108139   5NPD84LF7KH456682   Hyundai       ELANTRA             Dallas                    TX
108140   5NPD84LF7KH456732   Hyundai       ELANTRA             Torrance                  CA
108141   5NPD84LF7KH456780   Hyundai       ELANTRA             FORT MYERS                FL
108142   5NPD84LF7KH456861   Hyundai       ELANTRA             Charlotte                 NC
108143   5NPD84LF7KH457069   Hyundai       ELANTRA             Winston‐Salem             NC
108144   5NPD84LF7KH457136   Hyundai       ELANTRA             Smithtown                 NY
108145   5NPD84LF7KH457654   Hyundai       ELANTRA             Phoenix                   AZ
108146   5NPD84LF7KH457704   Hyundai       ELANTRA             Lake Elsinore             CA
108147   5NPD84LF7KH457945   Hyundai       ELANTRA             Santa Clara               CA
108148   5NPD84LF7KH458027   Hyundai       ELANTRA             BURBANK                   CA
108149   5NPD84LF7KH458044   Hyundai       ELANTRA             TAMPA                     FL
108150   5NPD84LF7KH458058   Hyundai       ELANTRA             Salt Lake City            UT
108151   5NPD84LF7KH458531   Hyundai       ELANTRA             ST Paul                   MN
108152   5NPD84LF7KH459291   Hyundai       ELANTRA             Jacksonville              FL
108153   5NPD84LF7KH459565   Hyundai       ELANTRA             Tampa                     FL
108154   5NPD84LF7KH467682   Hyundai       ELANTRA             Baltimore                 MD
108155   5NPD84LF7KH467794   Hyundai       ELANTRA             Atlanta                   GA
108156   5NPD84LF7KH467813   Hyundai       ELANTRA             KNOXVILLE                 TN
108157   5NPD84LF7KH467956   Hyundai       ELANTRA             Lynn                      MA
108158   5NPD84LF7KH468038   Hyundai       ELANTRA             Florissant                MO
108159   5NPD84LF7KH468072   Hyundai       ELANTRA             Webster                   NY
108160   5NPD84LF7KH468153   Hyundai       ELANTRA             AUGUSTA                   GA
108161   5NPD84LF7KH470646   Hyundai       ELANTRA             Indianapolis              IN
108162   5NPD84LF7KH480688   Hyundai       ELANTRA             Baltimore                 MD
108163   5NPD84LF7KH491254   Hyundai       ELANTRA             Baltimore                 MD
108164   5NPD84LF8HH008671   Hyundai       ELANTRA             ORLANDO                   FL
108165   5NPD84LF8HH012347   Hyundai       ELANTRA             Hamilton                  OH
108166   5NPD84LF8HH029715   Hyundai       ELANTRA             WEST PALM BEACH           FL
108167   5NPD84LF8HH064433   Hyundai       ELANTRA             STERLING                  VA
108168   5NPD84LF8HH081670   Hyundai       ELANTRA             Birmingham                AL
108169   5NPD84LF8HH092071   Hyundai       ELANTRA             Warminster                PA
108170   5NPD84LF8HH096847   Hyundai       ELANTRA             KEY WEST                  FL
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108171   5NPD84LF8HH098100   Hyundai       ELANTRA             Warwick                   RI
108172   5NPD84LF8HH098517   Hyundai       ELANTRA             DALLAS                    TX
108173   5NPD84LF8HH132388   Hyundai       ELANTRA             Coraopolis                PA
108174   5NPD84LF8JH224123   Hyundai       ELANTRA             LOS ANGELES               CA
108175   5NPD84LF8JH258630   Hyundai       ELANTRA             BURBANK                   CA
108176   5NPD84LF8JH284189   Hyundai       ELANTRA             LAS VEGAS                 NV
108177   5NPD84LF8JH290204   Hyundai       ELANTRA             CHICAGO                   IL
108178   5NPD84LF8JH299887   Hyundai       ELANTRA             DENVER                    CO
108179   5NPD84LF8JH303257   Hyundai       ELANTRA             SAN FRANCISCO             CA
108180   5NPD84LF8JH303937   Hyundai       ELANTRA             BURBANK                   CA
108181   5NPD84LF8JH304392   Hyundai       ELANTRA             North Dighton             MA
108182   5NPD84LF8JH305817   Hyundai       ELANTRA             BURBANK                   CA
108183   5NPD84LF8JH305929   Hyundai       ELANTRA             SACRAMENTO                CA
108184   5NPD84LF8JH307017   Hyundai       ELANTRA             SAN FRANCISCO             CA
108185   5NPD84LF8JH308202   Hyundai       ELANTRA             Santa Clara               CA
108186   5NPD84LF8JH309656   Hyundai       ELANTRA             BURBANK                   CA
108187   5NPD84LF8JH314775   Hyundai       ELANTRA             FRESNO                    CA
108188   5NPD84LF8JH319300   Hyundai       ELANTRA             CHICAGO                   IL
108189   5NPD84LF8JH319863   Hyundai       ELANTRA             TAMPA                     FL
108190   5NPD84LF8JH324979   Hyundai       ELANTRA             OAKLAND                   CA
108191   5NPD84LF8JH325260   Hyundai       ELANTRA             Fontana                   CA
108192   5NPD84LF8JH325307   Hyundai       ELANTRA             Salt Lake City            UT
108193   5NPD84LF8JH325694   Hyundai       ELANTRA             Roseville                 CA
108194   5NPD84LF8JH325839   Hyundai       ELANTRA             SANTA ANA                 CA
108195   5NPD84LF8JH329387   Hyundai       ELANTRA             CHICAGO                   IL
108196   5NPD84LF8JH329390   Hyundai       ELANTRA             Rock Hill                 SC
108197   5NPD84LF8JH330023   Hyundai       ELANTRA             Hayward                   CA
108198   5NPD84LF8JH334265   Hyundai       ELANTRA             San Diego                 CA
108199   5NPD84LF8JH335285   Hyundai       ELANTRA             St. Louis                 MO
108200   5NPD84LF8JH337196   Hyundai       ELANTRA             CHICAGO                   IL
108201   5NPD84LF8JH337716   Hyundai       ELANTRA             CHICAGO                   IL
108202   5NPD84LF8JH346822   Hyundai       ELANTRA             NORTH PAC                 CA
108203   5NPD84LF8JH353995   Hyundai       ELANTRA             CHICAGO                   IL
108204   5NPD84LF8JH370425   Hyundai       ELANTRA             SAINT PAUL                MN
108205   5NPD84LF8JH370652   Hyundai       ELANTRA             CHICAGO                   IL
108206   5NPD84LF8JH374037   Hyundai       ELANTRA             Manheim                   PA
108207   5NPD84LF8JH375141   Hyundai       ELANTRA             Alcoa                     TN
108208   5NPD84LF8JH385376   Hyundai       ELANTRA             ORLANDO                   FL
108209   5NPD84LF8JH386818   Hyundai       ELANTRA             Columbus                  OH
108210   5NPD84LF8KH405692   Hyundai       ELANTRA             DANIA BEACH               FL
108211   5NPD84LF8KH408513   Hyundai       ELANTRA             KENNER                    LA
108212   5NPD84LF8KH408754   Hyundai       ELANTRA             S. San Francisc           CA
108213   5NPD84LF8KH408852   Hyundai       ELANTRA             Phoenix                   AZ
108214   5NPD84LF8KH408964   Hyundai       ELANTRA             TAMPA                     FL
108215   5NPD84LF8KH408978   Hyundai       ELANTRA             BURBANK                   CA
108216   5NPD84LF8KH409015   Hyundai       ELANTRA             Phoenix                   AZ
108217   5NPD84LF8KH409046   Hyundai       ELANTRA             Austin                    TX
108218   5NPD84LF8KH409063   Hyundai       ELANTRA             TAMPA                     US
108219   5NPD84LF8KH409113   Hyundai       ELANTRA             Pheonix                   AZ
108220   5NPD84LF8KH409354   Hyundai       ELANTRA             West Palm Beach           FL
108221   5NPD84LF8KH409497   Hyundai       ELANTRA             North Las Vegas           NV
108222   5NPD84LF8KH410813   Hyundai       ELANTRA             Sacramento                CA
108223   5NPD84LF8KH413470   Hyundai       ELANTRA             Albuquerque               NM
108224   5NPD84LF8KH438756   Hyundai       ELANTRA             Marietta                  GA
108225   5NPD84LF8KH439910   Hyundai       ELANTRA             HOUSTON                   TX
108226   5NPD84LF8KH451894   Hyundai       ELANTRA             Johnston                  RI
108227   5NPD84LF8KH455671   Hyundai       ELANTRA             Ventura                   CA
108228   5NPD84LF8KH456609   Hyundai       ELANTRA             Wilmington                NC
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108229   5NPD84LF8KH456948   Hyundai       ELANTRA             MEDINA                    OH
108230   5NPD84LF8KH457016   Hyundai       ELANTRA             Hamilton                  OH
108231   5NPD84LF8KH457825   Hyundai       ELANTRA             Burien                    WA
108232   5NPD84LF8KH457856   Hyundai       ELANTRA             SEA TAC                   WA
108233   5NPD84LF8KH458103   Hyundai       ELANTRA             Portland                  OR
108234   5NPD84LF8KH458165   Hyundai       ELANTRA             Nashville                 TN
108235   5NPD84LF8KH458196   Hyundai       ELANTRA             Sacramento                CA
108236   5NPD84LF8KH458229   Hyundai       ELANTRA             LOS ANGELES               CA
108237   5NPD84LF8KH458232   Hyundai       ELANTRA             Portland                  OR
108238   5NPD84LF8KH458330   Hyundai       ELANTRA             Burien                    WA
108239   5NPD84LF8KH458554   Hyundai       ELANTRA             Lake in the Hil           IL
108240   5NPD84LF8KH459610   Hyundai       ELANTRA             FT LAUDERDALE             FL
108241   5NPD84LF8KH467500   Hyundai       ELANTRA             Atlanta                   GA
108242   5NPD84LF8KH467724   Hyundai       ELANTRA             Charlotte                 NC
108243   5NPD84LF8KH468033   Hyundai       ELANTRA             Windsor Locks             CT
108244   5NPD84LF8KH468050   Hyundai       ELANTRA             Rockville Centr           NY
108245   5NPD84LF8KH468436   Hyundai       ELANTRA             Baltimore                 MD
108246   5NPD84LF8KH468579   Hyundai       ELANTRA             Johnston                  RI
108247   5NPD84LF8KH470025   Hyundai       ELANTRA             Stone Mountain            GA
108248   5NPD84LF8KH471630   Hyundai       ELANTRA             Baltimore                 MD
108249   5NPD84LF8KH491294   Hyundai       ELANTRA             Las Vegas                 NV
108250   5NPD84LF9HH005181   Hyundai       ELANTRA             NEW ENGLAND DEALER        MA
108251   5NPD84LF9HH026127   Hyundai       ELANTRA             Coraopolis                PA
108252   5NPD84LF9HH036303   Hyundai       ELANTRA             NORTH PAC                 CA
108253   5NPD84LF9HH036981   Hyundai       ELANTRA             Honolulu                  HI
108254   5NPD84LF9HH042926   Hyundai       ELANTRA             Riverside                 CA
108255   5NPD84LF9HH048158   Hyundai       ELANTRA             TAMPA                     FL
108256   5NPD84LF9HH052274   Hyundai       ELANTRA             TAMPA                     FL
108257   5NPD84LF9HH078714   Hyundai       ELANTRA             Davie                     FL
108258   5NPD84LF9HH084495   Hyundai       ELANTRA             PHOENIX                   AZ
108259   5NPD84LF9HH088398   Hyundai       ELANTRA             BOSTON                    MA
108260   5NPD84LF9HH101957   Hyundai       ELANTRA             PORTLAND                  OR
108261   5NPD84LF9HH124767   Hyundai       ELANTRA             Ft. Myers                 FL
108262   5NPD84LF9HH160457   Hyundai       ELANTRA             PHOENIX                   AZ
108263   5NPD84LF9HH169840   Hyundai       ELANTRA             FLORIDA DEALER DIR        FL
108264   5NPD84LF9JH291006   Hyundai       ELANTRA             Newark                    NJ
108265   5NPD84LF9JH300447   Hyundai       ELANTRA             PHOENIX                   AZ
108266   5NPD84LF9JH300996   Hyundai       ELANTRA             PHOENIX                   AZ
108267   5NPD84LF9JH303929   Hyundai       ELANTRA             BURBANK                   CA
108268   5NPD84LF9JH303932   Hyundai       ELANTRA             BURBANK                   CA
108269   5NPD84LF9JH304014   Hyundai       ELANTRA             Phoenix                   AZ
108270   5NPD84LF9JH304661   Hyundai       ELANTRA             Santa Clara               CA
108271   5NPD84LF9JH305194   Hyundai       ELANTRA             Wood Cross                UT
108272   5NPD84LF9JH305924   Hyundai       ELANTRA             Englewood                 CO
108273   5NPD84LF9JH306197   Hyundai       ELANTRA             Phoenix                   AZ
108274   5NPD84LF9JH306667   Hyundai       ELANTRA             NORTH PAC                 CA
108275   5NPD84LF9JH306703   Hyundai       ELANTRA             BURBANK                   CA
108276   5NPD84LF9JH307141   Hyundai       ELANTRA             BURBANK                   CA
108277   5NPD84LF9JH307379   Hyundai       ELANTRA             BURBANK                   CA
108278   5NPD84LF9JH308614   Hyundai       ACCENT              Manheim                   PA
108279   5NPD84LF9JH312338   Hyundai       ELANTRA             SAN DIEGO                 CA
108280   5NPD84LF9JH312825   Hyundai       ELANTRA             BURBANK                   CA
108281   5NPD84LF9JH313666   Hyundai       ELANTRA             Chandler                  AZ
108282   5NPD84LF9JH316972   Hyundai       ELANTRA             Atlanta                   GA
108283   5NPD84LF9JH318284   Hyundai       ELANTRA             STERLING                  VA
108284   5NPD84LF9JH324019   Hyundai       ELANTRA             BURBANK                   CA
108285   5NPD84LF9JH325168   Hyundai       ELANTRA             Denver                    CO
108286   5NPD84LF9JH325297   Hyundai       ELANTRA             Riverside                 CA
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108287   5NPD84LF9JH325686   Hyundai       ELANTRA             San Antonio               TX
108288   5NPD84LF9JH326076   Hyundai       ELANTRA             Torrance                  CA
108289   5NPD84LF9JH329298   Hyundai       ACCENT              BOSTON                    MA
108290   5NPD84LF9JH329950   Hyundai       ELANTRA             KNOXVILLE                 TN
108291   5NPD84LF9JH337823   Hyundai       ELANTRA             Rock Hill                 SC
108292   5NPD84LF9JH338258   Hyundai       ELANTRA             SOUTHEAST DST OFFC        OK
108293   5NPD84LF9JH338681   Hyundai       ELANTRA             DES PLAINES               IL
108294   5NPD84LF9JH339457   Hyundai       ELANTRA             Santa Clara               CA
108295   5NPD84LF9JH340303   Hyundai       ELANTRA             Anaheim                   CA
108296   5NPD84LF9JH348479   Hyundai       ELANTRA             DENVER                    CO
108297   5NPD84LF9JH354086   Hyundai       ELANTRA             CHICAGO                   IL
108298   5NPD84LF9JH362883   Hyundai       ELANTRA             SACRAMENTO                CA
108299   5NPD84LF9JH363872   Hyundai       ELANTRA             DES MOINES                IA
108300   5NPD84LF9JH370725   Hyundai       ELANTRA             DES MOINES                IA
108301   5NPD84LF9JH371230   Hyundai       ELANTRA             CHICAGO                   IL
108302   5NPD84LF9JH372023   Hyundai       ELANTRA             CLEVELAND                 OH
108303   5NPD84LF9JH393969   Hyundai       ELANTRA             Des Plaines               IL
108304   5NPD84LF9KH408598   Hyundai       ELANTRA             Sacramento                CA
108305   5NPD84LF9KH408665   Hyundai       ELANTRA             Las Vegas                 NV
108306   5NPD84LF9KH408973   Hyundai       ELANTRA             LAS VEGAS                 NV
108307   5NPD84LF9KH409007   Hyundai       ELANTRA             Tucson                    AZ
108308   5NPD84LF9KH409041   Hyundai       ELANTRA             Philadelphia              PA
108309   5NPD84LF9KH409301   Hyundai       ELANTRA             Salt Lake City            UT
108310   5NPD84LF9KH409329   Hyundai       ELANTRA             Florissant                MO
108311   5NPD84LF9KH409363   Hyundai       ELANTRA             Costa Mesa                CA
108312   5NPD84LF9KH409508   Hyundai       ELANTRA             DALLAS                    TX
108313   5NPD84LF9KH415826   Hyundai       ELANTRA             TAMPA                     FL
108314   5NPD84LF9KH440757   Hyundai       ELANTRA             Smithtown                 NY
108315   5NPD84LF9KH455601   Hyundai       ELANTRA             San Diego                 CA
108316   5NPD84LF9KH456604   Hyundai       ELANTRA             Roseville                 CA
108317   5NPD84LF9KH456828   Hyundai       ELANTRA             Chicago                   IL
108318   5NPD84LF9KH456862   Hyundai       ELANTRA             Atlanta                   GA
108319   5NPD84LF9KH458031   Hyundai       ELANTRA             Costa Mesa                CA
108320   5NPD84LF9KH458062   Hyundai       ELANTRA             Portland                  OR
108321   5NPD84LF9KH458157   Hyundai       ELANTRA             Burien                    WA
108322   5NPD84LF9KH458255   Hyundai       ELANTRA             Sacramento                CA
108323   5NPD84LF9KH458417   Hyundai       ELANTRA             Pasadena                  CA
108324   5NPD84LF9KH458420   Hyundai       ELANTRA             Portland                  OR
108325   5NPD84LF9KH458675   Hyundai       ELANTRA             Las Vegas                 NV
108326   5NPD84LF9KH459406   Hyundai       ELANTRA             Johnston                  RI
108327   5NPD84LF9KH459616   Hyundai       ELANTRA             Florissant                MO
108328   5NPD84LF9KH460703   Hyundai       ELANTRA             CHARLESTON                WV
108329   5NPD84LF9KH467439   Hyundai       ELANTRA             Live Oak                  TX
108330   5NPD84LF9KH467683   Hyundai       ELANTRA             Jacksonville              FL
108331   5NPD84LF9KH468588   Hyundai       ELANTRA             Hartford                  CT
108332   5NPD84LF9KH468882   Hyundai       ELANTRA             Harvey                    LA
108333   5NPD84LF9KH469403   Hyundai       ELANTRA             Webster                   NY
108334   5NPD84LFXHH029716   Hyundai       ELANTRA             ONTARIO                   CA
108335   5NPD84LFXHH049562   Hyundai       ELANTRA             FORT MYERS                FL
108336   5NPD84LFXHH051117   Hyundai       ELANTRA             Indianapolis              IN
108337   5NPD84LFXHH060660   Hyundai       ELANTRA             Elkridge                  MD
108338   5NPD84LFXHH140542   Hyundai       ELANTRA             BURBANK                   CA
108339   5NPD84LFXHH165845   Hyundai       ELANTRA             SARASOTA                  FL
108340   5NPD84LFXJH299793   Hyundai       ELANTRA             Burien                    WA
108341   5NPD84LFXJH302451   Hyundai       ELANTRA             HARVEY                    LA
108342   5NPD84LFXJH303955   Hyundai       ELANTRA             BURBANK                   CA
108343   5NPD84LFXJH304619   Hyundai       ELANTRA             LOS ANGELES               CA
108344   5NPD84LFXJH307102   Hyundai       ELANTRA             Colorado Spring           CO
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108345   5NPD84LFXJH307424   Hyundai       ELANTRA             Portland                  OR
108346   5NPD84LFXJH307830   Hyundai       ELANTRA             OAKLAND                   CA
108347   5NPD84LFXJH307875   Hyundai       ELANTRA             BOSTON                    MA
108348   5NPD84LFXJH309075   Hyundai       ELANTRA             Miami                     FL
108349   5NPD84LFXJH309125   Hyundai       ELANTRA             Stockton                  CA
108350   5NPD84LFXJH313157   Hyundai       ELANTRA             PHILADELPHIA              PA
108351   5NPD84LFXJH313417   Hyundai       ELANTRA             Anaheim                   CA
108352   5NPD84LFXJH314096   Hyundai       ELANTRA             Roseville                 CA
108353   5NPD84LFXJH314499   Hyundai       ELANTRA             AUSTIN                    TX
108354   5NPD84LFXJH314776   Hyundai       ELANTRA             South San Franc           CA
108355   5NPD84LFXJH316222   Hyundai       ACCENT              Philadelphia              PA
108356   5NPD84LFXJH318424   Hyundai       ELANTRA             CHICAGO                   IL
108357   5NPD84LFXJH318987   Hyundai       ELANTRA             DES PLAINES               IL
108358   5NPD84LFXJH319086   Hyundai       ELANTRA             Atlanta                   GA
108359   5NPD84LFXJH319296   Hyundai       ELANTRA             CHICAGO                   IL
108360   5NPD84LFXJH319377   Hyundai       ELANTRA             Chicago                   IL
108361   5NPD84LFXJH322070   Hyundai       ELANTRA             FT. LAUDERDALE            FL
108362   5NPD84LFXJH325809   Hyundai       ELANTRA             SAN FRANCISCO             CA
108363   5NPD84LFXJH326006   Hyundai       ELANTRA             BURBANK                   CA
108364   5NPD84LFXJH327141   Hyundai       ELANTRA             Anaheim                   CA
108365   5NPD84LFXJH327186   Hyundai       ELANTRA             SAN FRANCISCO             CA
108366   5NPD84LFXJH329469   Hyundai       ELANTRA             FORT LAUDERDALE           FL
108367   5NPD84LFXJH334039   Hyundai       ELANTRA             Salt Lake City            UT
108368   5NPD84LFXJH338561   Hyundai       ELANTRA             Matteson                  IL
108369   5NPD84LFXJH347003   Hyundai       ELANTRA             SAN DIEGO                 CA
108370   5NPD84LFXJH347809   Hyundai       ELANTRA             ALBUQUERQUE               NM
108371   5NPD84LFXJH356204   Hyundai       ELANTRA             DES MOINES                IA
108372   5NPD84LFXJH370622   Hyundai       ELANTRA             SCHILLER PARK             IL
108373   5NPD84LFXJH370829   Hyundai       ELANTRA             DES MOINES                IA
108374   5NPD84LFXJH373407   Hyundai       ELANTRA             Webster                   NY
108375   5NPD84LFXJH382530   Hyundai       ELANTRA             Estero                    FL
108376   5NPD84LFXJH382608   Hyundai       ELANTRA             SOUTH BEND                IN
108377   5NPD84LFXJH384097   Hyundai       ELANTRA             MIDDLE RIVER              MD
108378   5NPD84LFXKH408660   Hyundai       ELANTRA             Tolleson                  AZ
108379   5NPD84LFXKH409064   Hyundai       ELANTRA             Fontana                   CA
108380   5NPD84LFXKH409372   Hyundai       ELANTRA             Windsor Locks             CT
108381   5NPD84LFXKH455820   Hyundai       ELANTRA             Phoenix                   AZ
108382   5NPD84LFXKH456269   Hyundai       ELANTRA             Rock Hill                 SC
108383   5NPD84LFXKH456515   Hyundai       ELANTRA             Hartford                  CT
108384   5NPD84LFXKH456711   Hyundai       ELANTRA             NEWARK                    NJ
108385   5NPD84LFXKH456899   Hyundai       ELANTRA             Burien                    WA
108386   5NPD84LFXKH457101   Hyundai       ELANTRA             Indianapolis              IN
108387   5NPD84LFXKH457647   Hyundai       ELANTRA             Des Plaines               IL
108388   5NPD84LFXKH457650   Hyundai       ELANTRA             Fontana                   CA
108389   5NPD84LFXKH457910   Hyundai       ELANTRA             SEATTLE                   WA
108390   5NPD84LFXKH458071   Hyundai       ELANTRA             Burien                    WA
108391   5NPD84LFXKH458121   Hyundai       ELANTRA             Smithtown                 NY
108392   5NPD84LFXKH458197   Hyundai       ELANTRA             Sacramento                CA
108393   5NPD84LFXKH458393   Hyundai       ELANTRA             Portland                  OR
108394   5NPD84LFXKH458409   Hyundai       ELANTRA             LAS VEGAS                 NV
108395   5NPD84LFXKH458667   Hyundai       ELANTRA             Salt Lake City            UT
108396   5NPD84LFXKH459771   Hyundai       ELANTRA             Colorado Spring           CO
108397   5NPD84LFXKH459866   Hyundai       ELANTRA             Norfolk                   VA
108398   5NPD84LFXKH467370   Hyundai       ELANTRA             CHARLESTON                WV
108399   5NPD84LFXKH467806   Hyundai       ELANTRA             INDIANAPOLIS              IN
108400   5NPD84LFXKH467966   Hyundai       ELANTRA             ORLANDO                   FL
108401   5NPD84LFXKH467983   Hyundai       ELANTRA             Florissant                MO
108402   5NPD84LFXKH468034   Hyundai       ELANTRA             Louisville                KY
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108403   5NPD84LFXKH468082   Hyundai       ELANTRA             Smithtown                 NY
108404   5NPD84LFXKH468146   Hyundai       ELANTRA             Baltimore                 MD
108405   5NPD84LFXKH468292   Hyundai       ELANTRA             Cranberry Towns           PA
108406   5NPD84LFXKH468759   Hyundai       ELANTRA             COLUMBIA                  SC
108407   5NPD84LFXKH469006   Hyundai       ELANTRA             Winston‐Salem             NC
108408   5NPDH4AE0GH760194   Hyundai       ELANTRA             PHOENIX                   AZ
108409   5NPDH4AE1GH727348   Hyundai       ELANTRA             Elkridge                  MD
108410   5NPDH4AE2GH719596   Hyundai       ELANTRA             Lake Elsinore             CA
108411   5NPDH4AE2GH734681   Hyundai       ELANTRA             N. Las Vegas              NV
108412   5NPDH4AE3GH768970   Hyundai       ELANTRA             Atlanta                   GA
108413   5NPDH4AE3GH781380   Hyundai       ELANTRA             Sterling                  VA
108414   5NPDH4AE4GH717624   Hyundai       ELANTRA             Kent                      WA
108415   5NPDH4AE4GH765124   Hyundai       ELANTRA             Coraopolis                PA
108416   5NPDH4AE5GH742354   Hyundai       ELANTRA             TRACY                     CA
108417   5NPDH4AE6FH651656   Hyundai       ELANTRA             LOUISVILLE                KY
108418   5NPDH4AE6GH769403   Hyundai       ELANTRA             Elkridge                  MD
108419   5NPDH4AE6GH799355   Hyundai       ELANTRA             Fort Lauderdale           FL
108420   5NPDH4AE7GH670993   Hyundai       ELANTRA             Phoenix                   AZ
108421   5NPDH4AE8GH682327   Hyundai       ELANTRA             DES MOINES                IA
108422   5NPDH4AE8GH722518   Hyundai       ELANTRA             N. Palm Beach             FL
108423   5NPDH4AE8GH757933   Hyundai       ELANTRA             SAN JOSE                  CA
108424   5NPDH4AE8GH783402   Hyundai       ELANTRA             Baltimore                 MD
108425   5NPDH4AE9FH585927   Hyundai       ELANTRA             Elkridge                  MD
108426   5NPDH4AE9GH673667   Hyundai       ELANTRA             DALLAS                    TX
108427   5NPDH4AE9GH755009   Hyundai       ELANTRA             FAYETTEVILLE              GA
108428   5NPDH4AEXFH582132   Hyundai       ELANTRA             Lynn                      MA
108429   5NPDH4AEXGH721645   Hyundai       ELANTRA             BURBANK                   CA
108430   5NPDH4AEXGH744150   Hyundai       ELANTRA             Elkridge                  MD
108431   5NPDH4AEXGH748943   Hyundai       ELANTRA             Elkridge                  MD
108432   5NPDH4AEXGH759389   Hyundai       ELANTRA             Los Angeles               CA
108433   5NPE24AF0HH451938   Hyundai       SONATA              Fontana                   CA
108434   5NPE24AF0HH452636   Hyundai       SONATA              Stone Mountain            GA
108435   5NPE24AF0HH453785   Hyundai       SONATA              BURBANK                   CA
108436   5NPE24AF0HH487399   Hyundai       SONATA              Fairburn                  GA
108437   5NPE24AF0HH488861   Hyundai       SONATA              BURBANK                   CA
108438   5NPE24AF0HH518845   Hyundai       SONATA              North Las Vegas           NV
108439   5NPE24AF0HH519199   Hyundai       SONATA              Norwalk                   CA
108440   5NPE24AF0HH526444   Hyundai       SONATA              San Diego                 CA
108441   5NPE24AF0HH527187   Hyundai       SONATA              BURBANK                   CA
108442   5NPE24AF0HH528128   Hyundai       SONATA              LOS ANGELES               CA
108443   5NPE24AF0HH529781   Hyundai       SONATA              SAN DIEGO                 CA
108444   5NPE24AF0HH531837   Hyundai       SONATA              Denver                    CO
108445   5NPE24AF0HH557192   Hyundai       SONATA              LAS VEGAS                 NV
108446   5NPE24AF0HH558116   Hyundai       SONATA              SEATTLE                   WA
108447   5NPE24AF0HH558567   Hyundai       SONATA              Torrance                  CA
108448   5NPE24AF0HH558939   Hyundai       SONATA              Anaheim                   CA
108449   5NPE24AF0HH559394   Hyundai       SONATA              SAN DIEGO                 CA
108450   5NPE24AF0HH559413   Hyundai       SONATA              BURBANK                   CA
108451   5NPE24AF0HH561601   Hyundai       SONATA              ONTARIO                   CA
108452   5NPE24AF0HH563817   Hyundai       SONATA              Stone Mountain            GA
108453   5NPE24AF0HH568483   Hyundai       SONATA              Hanover                   MD
108454   5NPE24AF0HH569438   Hyundai       SONATA              BOSTON                    MA
108455   5NPE24AF0HH572839   Hyundai       SONATA              North Las Vegas           NV
108456   5NPE24AF0HH573764   Hyundai       SONATA              BURBANK                   CA
108457   5NPE24AF0HH574493   Hyundai       SONATA              BURBANK                   CA
108458   5NPE24AF0HH574672   Hyundai       SONATA              SAN ANTONIO               TX
108459   5NPE24AF0HH575210   Hyundai       SONATA              WOODLAND HILLS            CA
108460   5NPE24AF0HH576728   Hyundai       SONATA              SANTA ANA                 CA
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108461   5NPE24AF0HH577166   Hyundai       SONATA              BURBANK                   CA
108462   5NPE24AF0HH577264   Hyundai       SONATA              ONTARIO                   CA
108463   5NPE24AF0HH577510   Hyundai       SONATA              Riverside                 CA
108464   5NPE24AF0HH578043   Hyundai       SONATA              SAN DIEGO                 US
108465   5NPE24AF0HH579113   Hyundai       SONATA              BURBANK                   CA
108466   5NPE24AF0HH579208   Hyundai       SONATA              BURBANK                   CA
108467   5NPE24AF0HH579399   Hyundai       SONATA              LOS ANGELES               CA
108468   5NPE24AF0HH579418   Hyundai       SONATA              LAS VEGAS                 NV
108469   5NPE24AF0HH579824   Hyundai       SONATA              BURBANK                   CA
108470   5NPE24AF0HH579886   Hyundai       SONATA              LOS ANGELES               CA
108471   5NPE24AF0HH580066   Hyundai       SONATA              BURBANK                   CA
108472   5NPE24AF0HH580603   Hyundai       SONATA              OAKLAND                   CA
108473   5NPE24AF0HH581184   Hyundai       SONATA              Matteson                  IL
108474   5NPE24AF0HH581959   Hyundai       SONATA              SAN DIEGO                 CA
108475   5NPE24AF0HH583159   Hyundai       SONATA              BURBANK                   CA
108476   5NPE24AF0HH583274   Hyundai       SONATA              BURBANK                   CA
108477   5NPE24AF0HH583842   Hyundai       SONATA              North Las Vegas           NV
108478   5NPE24AF0HH586188   Hyundai       SONATA              SAN FRANCISCO             CA
108479   5NPE24AF0KH767637   Hyundai       SONATA              Buffalo                   NY
108480   5NPE24AF0KH775608   Hyundai       SONATA              SOUTHEAST DST OFFC        OK
108481   5NPE24AF0KH783661   Hyundai       SONATA              Rochester                 NY
108482   5NPE24AF0KH783773   Hyundai       SONATA              Buffalo                   NY
108483   5NPE24AF1FH169871   Hyundai       SONATA              LOS ANGELES               CA
108484   5NPE24AF1HH454508   Hyundai       SONATA              Phoenix                   AZ
108485   5NPE24AF1HH485239   Hyundai       SONATA
108486   5NPE24AF1HH521821   Hyundai       SONATA              DES PLAINES               IL
108487   5NPE24AF1HH524878   Hyundai       SONATA              SAN DIEGO                 CA
108488   5NPE24AF1HH527392   Hyundai       SONATA              BURBANK                   CA
108489   5NPE24AF1HH527909   Hyundai       SONATA              OAKLAND                   CA
108490   5NPE24AF1HH533063   Hyundai       SONATA              BURBANK                   CA
108491   5NPE24AF1HH537081   Hyundai       SONATA              Tolleson                  AZ
108492   5NPE24AF1HH557587   Hyundai       SONATA              BURBANK                   CA
108493   5NPE24AF1HH558349   Hyundai       SONATA              n hollywood               ca
108494   5NPE24AF1HH559307   Hyundai       SONATA              CHICAGO                   IL
108495   5NPE24AF1HH559551   Hyundai       SONATA              Hayward                   CA
108496   5NPE24AF1HH559579   Hyundai       SONATA              Norwalk                   CA
108497   5NPE24AF1HH560540   Hyundai       SONATA              DES PLAINES               IL
108498   5NPE24AF1HH560795   Hyundai       SONATA              Las Vegas                 NV
108499   5NPE24AF1HH569447   Hyundai       SONATA              HANOVER                   MD
108500   5NPE24AF1HH570274   Hyundai       SONATA              Elkridge                  MD
108501   5NPE24AF1HH572932   Hyundai       SONATA              BURBANK                   CA
108502   5NPE24AF1HH573000   Hyundai       SONATA              BURBANK                   CA
108503   5NPE24AF1HH573109   Hyundai       SONATA              SAN FRANCISCO             CA
108504   5NPE24AF1HH573160   Hyundai       SONATA              Irving                    TX
108505   5NPE24AF1HH573336   Hyundai       SONATA              BOSTON                    MA
108506   5NPE24AF1HH573854   Hyundai       SONATA              SAN DIEGO                 CA
108507   5NPE24AF1HH575278   Hyundai       SONATA              Burien                    WA
108508   5NPE24AF1HH576155   Hyundai       SONATA              TRACY                     CA
108509   5NPE24AF1HH576656   Hyundai       SONATA              Lake Elsinore             CA
108510   5NPE24AF1HH576754   Hyundai       SONATA              SAN FRANCISCO             CA
108511   5NPE24AF1HH576799   Hyundai       SONATA              South San Franc           CA
108512   5NPE24AF1HH576804   Hyundai       SONATA              BURBANK                   CA
108513   5NPE24AF1HH576852   Hyundai       SONATA              NORTH PAC                 CA
108514   5NPE24AF1HH576947   Hyundai       SONATA              BURBANK                   CA
108515   5NPE24AF1HH578049   Hyundai       SONATA              Rio Linda                 CA
108516   5NPE24AF1HH578326   Hyundai       SONATA              Las Vegas                 NV
108517   5NPE24AF1HH578469   Hyundai       SONATA              NORTH PAC                 CA
108518   5NPE24AF1HH579265   Hyundai       SONATA              Denver                    CO
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108519   5NPE24AF1HH579685   Hyundai       SONATA              San Diego                 CA
108520   5NPE24AF1HH579895   Hyundai       SONATA              Stockton                  CA
108521   5NPE24AF1HH580321   Hyundai       SONATA              Honolulu                  HI
108522   5NPE24AF1HH581100   Hyundai       SONATA              BURBANK                   CA
108523   5NPE24AF1HH581209   Hyundai       SONATA              Fontana                   CA
108524   5NPE24AF1HH581341   Hyundai       SONATA              NORTH PAC                 CA
108525   5NPE24AF1HH581632   Hyundai       SONATA              Stockton                  CA
108526   5NPE24AF1HH582392   Hyundai       SONATA              SAN FRANCISCO             CA
108527   5NPE24AF1HH583056   Hyundai       SONATA              BURBANK                   CA
108528   5NPE24AF1HH583459   Hyundai       SONATA              Fontana                   CA
108529   5NPE24AF1KH735098   Hyundai       SONATA              Pensacola                 FL
108530   5NPE24AF1KH741726   Hyundai       SONATA              Nashville                 TN
108531   5NPE24AF2GH407423   Hyundai       SONATA              BURBANK                   CA
108532   5NPE24AF2HH485797   Hyundai       SONATA              LOS ANGELES               CA
108533   5NPE24AF2HH491485   Hyundai       SONATA              BURBANK                   CA
108534   5NPE24AF2HH516000   Hyundai       SONATA              CONYERS                   GA
108535   5NPE24AF2HH527269   Hyundai       SONATA              Los Angeles               CA
108536   5NPE24AF2HH529202   Hyundai       SONATA              GRAHAM                    WA
108537   5NPE24AF2HH530687   Hyundai       SONATA              TRACY                     CA
108538   5NPE24AF2HH533055   Hyundai       SONATA              NORTH PAC                 CA
108539   5NPE24AF2HH552270   Hyundai       SONATA              BURBANK                   CA
108540   5NPE24AF2HH554570   Hyundai       SONATA              BURBANK                   CA
108541   5NPE24AF2HH557596   Hyundai       SONATA              SAN FRANCISCO             CA
108542   5NPE24AF2HH558246   Hyundai       SONATA              BURBANK                   CA
108543   5NPE24AF2HH558344   Hyundai       SONATA              LOS ANGELES               CA
108544   5NPE24AF2HH558358   Hyundai       SONATA              NORTH PAC                 CA
108545   5NPE24AF2HH561096   Hyundai       SONATA              Santa Clara               CA
108546   5NPE24AF2HH561518   Hyundai       SONATA              Fontana                   CA
108547   5NPE24AF2HH562152   Hyundai       SONATA              BURBANK                   CA
108548   5NPE24AF2HH563107   Hyundai       SONATA              BURBANK                   CA
108549   5NPE24AF2HH568503   Hyundai       SONATA              BOSTON                    MA
108550   5NPE24AF2HH573751   Hyundai       SONATA              BURBANK                   CA
108551   5NPE24AF2HH573801   Hyundai       SONATA              Los Angeles               CA
108552   5NPE24AF2HH574916   Hyundai       SONATA              Costa Mesa                CA
108553   5NPE24AF2HH575404   Hyundai       SONATA              BURLINGAME                CA
108554   5NPE24AF2HH575659   Hyundai       SONATA              CHICAGO                   IL
108555   5NPE24AF2HH578111   Hyundai       SONATA              NORTH PAC                 CA
108556   5NPE24AF2HH578996   Hyundai       SONATA              SANTA ANA                 CA
108557   5NPE24AF2HH579226   Hyundai       SONATA              OWINGS MILLS              MD
108558   5NPE24AF2HH579548   Hyundai       SONATA              Denver                    CO
108559   5NPE24AF2HH579551   Hyundai       SONATA              Anaheim                   CA
108560   5NPE24AF2HH579694   Hyundai       SONATA              Denver                    CO
108561   5NPE24AF2HH579923   Hyundai       SONATA              SACRAMENTO                CA
108562   5NPE24AF2HH579937   Hyundai       SONATA              Portland                  OR
108563   5NPE24AF2HH580182   Hyundai       SONATA              LOS ANGELES               CA
108564   5NPE24AF2HH580800   Hyundai       SONATA              LOS ANGELES               CA
108565   5NPE24AF2HH582482   Hyundai       SONATA              OAKLAND                   CA
108566   5NPE24AF2HH582501   Hyundai       SONATA              LOS ANGELES               CA
108567   5NPE24AF2HH584068   Hyundai       SONATA              SACRAMENTO                CA
108568   5NPE24AF2HH584913   Hyundai       SONATA              LOS ANGELES               CA
108569   5NPE24AF2HH585253   Hyundai       SONATA              LOS ANGELES               CA
108570   5NPE24AF2HH585298   Hyundai       SONATA              Fredericksburg            VA
108571   5NPE24AF2KH742125   Hyundai       SONATA              KENNER                    LA
108572   5NPE24AF2KH743999   Hyundai       SONATA              HARVEY                    LA
108573   5NPE24AF3GH272355   Hyundai       SONATA              Tolleson                  AZ
108574   5NPE24AF3HH468524   Hyundai       SONATA              Phoenix                   AZ
108575   5NPE24AF3HH477899   Hyundai       SONATA              BURBANK                   CA
108576   5NPE24AF3HH528351   Hyundai       SONATA              BURIEN                    WA
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108577   5NPE24AF3HH531248   Hyundai       SONATA              NORTH PAC                 CA
108578   5NPE24AF3HH531492   Hyundai       SONATA              HANOVER                   MD
108579   5NPE24AF3HH532870   Hyundai       SONATA
108580   5NPE24AF3HH533940   Hyundai       SONATA              CHICAGO                   IL
108581   5NPE24AF3HH536238   Hyundai       SONATA              Elkridge                  MD
108582   5NPE24AF3HH541813   Hyundai       SONATA              DES MOINES                IA
108583   5NPE24AF3HH556313   Hyundai       SONATA              SAN FRANCISCO             CA
108584   5NPE24AF3HH557445   Hyundai       SONATA              Elkridge                  MD
108585   5NPE24AF3HH557493   Hyundai       SONATA              SANTA ANA                 CA
108586   5NPE24AF3HH558062   Hyundai       SONATA              BURBANK                   CA
108587   5NPE24AF3HH559051   Hyundai       SONATA              LAS VEGAS                 NV
108588   5NPE24AF3HH560751   Hyundai       SONATA              Chicago                   IL
108589   5NPE24AF3HH560765   Hyundai       SONATA              BURBANK                   CA
108590   5NPE24AF3HH562130   Hyundai       SONATA              Tolleson                  AZ
108591   5NPE24AF3HH567831   Hyundai       SONATA              FORT MYERS                FL
108592   5NPE24AF3HH570289   Hyundai       SONATA              Atlanta                   GA
108593   5NPE24AF3HH572205   Hyundai       SONATA              CHICAGO                   IL
108594   5NPE24AF3HH573158   Hyundai       SONATA              CHICAGO O'HARE AP         IL
108595   5NPE24AF3HH573211   Hyundai       SONATA              PHOENIX                   AZ
108596   5NPE24AF3HH573810   Hyundai       SONATA              BURBANK                   CA
108597   5NPE24AF3HH574455   Hyundai       SONATA              Costa Mesa                CA
108598   5NPE24AF3HH574987   Hyundai       SONATA              BURBANK                   CA
108599   5NPE24AF3HH575251   Hyundai       SONATA              LOS ANGELES               CA
108600   5NPE24AF3HH575282   Hyundai       SONATA              North Las Vegas           NV
108601   5NPE24AF3HH575640   Hyundai       SONATA              BURBANK                   CA
108602   5NPE24AF3HH576352   Hyundai       SONATA              Anaheim                   CA
108603   5NPE24AF3HH579137   Hyundai       SONATA              SAN DIEGO                 CA
108604   5NPE24AF3HH579297   Hyundai       SONATA              PHILADELPHIA              PA
108605   5NPE24AF3HH579560   Hyundai       SONATA              SAN FRANCISCO             CA
108606   5NPE24AF3HH579834   Hyundai       SONATA              North Las Vegas           NV
108607   5NPE24AF3HH579901   Hyundai       SONATA              BURBANK                   CA
108608   5NPE24AF3HH580398   Hyundai       SONATA              LOS ANGELES               CA
108609   5NPE24AF3HH580546   Hyundai       SONATA              NORTH PAC                 CA
108610   5NPE24AF3HH580630   Hyundai       SONATA              SAN FRANCISCO             CA
108611   5NPE24AF3HH580899   Hyundai       SONATA              Rio Linda                 CA
108612   5NPE24AF3HH581342   Hyundai       SONATA              SAN JOSE                  CA
108613   5NPE24AF3HH581924   Hyundai       SONATA              BURBANK                   CA
108614   5NPE24AF3HH582068   Hyundai       SONATA              BURBANK                   CA
108615   5NPE24AF3HH583060   Hyundai       SONATA              NORTH HOLLYWOOD           CA
108616   5NPE24AF3HH584807   Hyundai       SONATA              Cleveland                 OH
108617   5NPE24AF3KH784769   Hyundai       SONATA              CHICAGO                   IL
108618   5NPE24AF4FH098844   Hyundai       SONATA              Elkridge                  MD
108619   5NPE24AF4HH454731   Hyundai       SONATA              BURBANK                   CA
108620   5NPE24AF4HH457385   Hyundai       SONATA              BURBANK                   CA
108621   5NPE24AF4HH458780   Hyundai       SONATA              Chicago                   IL
108622   5NPE24AF4HH472145   Hyundai       SONATA              FLORIDA DEALER DIR        FL
108623   5NPE24AF4HH477152   Hyundai       SONATA              PHOENIX                   AZ
108624   5NPE24AF4HH477913   Hyundai       SONATA              Tolleson                  AZ
108625   5NPE24AF4HH491181   Hyundai       SONATA              LOS ANGELES               CA
108626   5NPE24AF4HH519206   Hyundai       SONATA              STERLING                  VA
108627   5NPE24AF4HH532540   Hyundai       SONATA              Burien                    WA
108628   5NPE24AF4HH534045   Hyundai       SONATA              BURBANK                   CA
108629   5NPE24AF4HH536085   Hyundai       SONATA              Portland                  OR
108630   5NPE24AF4HH541903   Hyundai       SONATA              Mira Loma                 CA
108631   5NPE24AF4HH542453   Hyundai       SONATA              Manheim                   PA
108632   5NPE24AF4HH558233   Hyundai       SONATA              SANTA ANA                 CA
108633   5NPE24AF4HH561438   Hyundai       SONATA              Las Vegas                 NV
108634   5NPE24AF4HH561505   Hyundai       SONATA              BURBANK                   CA
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108635   5NPE24AF4HH561780   Hyundai       SONATA              SAN FRANCISCO             CA
108636   5NPE24AF4HH561844   Hyundai       SONATA              LAS VEGAS                 NV
108637   5NPE24AF4HH567238   Hyundai       SONATA              BOSTON                    MA
108638   5NPE24AF4HH572469   Hyundai       SONATA              BURBANK                   CA
108639   5NPE24AF4HH572911   Hyundai       SONATA              SEATTLE                   WA
108640   5NPE24AF4HH572939   Hyundai       SONATA              Las Vegas                 NV
108641   5NPE24AF4HH572942   Hyundai       SONATA              BURBANK                   CA
108642   5NPE24AF4HH573069   Hyundai       SONATA              Fontana                   CA
108643   5NPE24AF4HH573461   Hyundai       SONATA              SCHILLER PARK             IL
108644   5NPE24AF4HH573735   Hyundai       SONATA              CENTRAL DIST OFFC         OK
108645   5NPE24AF4HH575002   Hyundai       SONATA              BURBANK                   CA
108646   5NPE24AF4HH575050   Hyundai       SONATA              SANTA ANA                 CA
108647   5NPE24AF4HH575937   Hyundai       SONATA              SAN DIEGO                 CA
108648   5NPE24AF4HH576330   Hyundai       SONATA              Kent                      WA
108649   5NPE24AF4HH576411   Hyundai       SONATA              TRACY                     CA
108650   5NPE24AF4HH577638   Hyundai       SONATA              Hayward                   CA
108651   5NPE24AF4HH577719   Hyundai       SONATA              BURBANK                   CA
108652   5NPE24AF4HH579910   Hyundai       SONATA              SAN JOSE                  CA
108653   5NPE24AF4HH579955   Hyundai       SONATA              Roseville                 CA
108654   5NPE24AF4HH580247   Hyundai       SONATA              CHICAGO                   IL
108655   5NPE24AF4HH580605   Hyundai       SONATA              Kent                      WA
108656   5NPE24AF4HH580670   Hyundai       SONATA              LAS VEGAS                 NV
108657   5NPE24AF4HH580717   Hyundai       SONATA              HAYWARD                   CA
108658   5NPE24AF4HH581205   Hyundai       SONATA              BURBANK                   CA
108659   5NPE24AF4HH581656   Hyundai       SONATA              BURBANK                   CA
108660   5NPE24AF4HH581818   Hyundai       SONATA              TRACY                     CA
108661   5NPE24AF4HH581995   Hyundai       SONATA              ENGLEWOOD                 CO
108662   5NPE24AF4HH584296   Hyundai       SONATA              Ventura                   CA
108663   5NPE24AF4HH584539   Hyundai       SONATA              BURBANK                   CA
108664   5NPE24AF4HH584928   Hyundai       SONATA              BOSTON                    MA
108665   5NPE24AF4KH745446   Hyundai       SONATA              HARVEY                    LA
108666   5NPE24AF4KH765390   Hyundai       SONATA              ORLANDO                   FL
108667   5NPE24AF4KH775546   Hyundai       SONATA              SOUTHEAST DST OFFC        OK
108668   5NPE24AF4KH785235   Hyundai       SONATA              KENNER                    LA
108669   5NPE24AF4KH790869   Hyundai       SONATA              ATLANTA                   GA
108670   5NPE24AF5GH407156   Hyundai       SONATA              Elkridge                  MD
108671   5NPE24AF5HH451417   Hyundai       SONATA              FORT MYERS                FL
108672   5NPE24AF5HH466242   Hyundai       SONATA              Pasadena                  CA
108673   5NPE24AF5HH473353   Hyundai       SONATA              BOSTON                    MA
108674   5NPE24AF5HH485647   Hyundai       SONATA              Ventura                   CA
108675   5NPE24AF5HH488239   Hyundai       SONATA              San Diego                 CA
108676   5NPE24AF5HH491948   Hyundai       SONATA              Los Angeles               CA
108677   5NPE24AF5HH512877   Hyundai       SONATA              Tampa                     FL
108678   5NPE24AF5HH513401   Hyundai       SONATA              DES MOINES                IA
108679   5NPE24AF5HH529985   Hyundai       SONATA              LOS ANGELES               CA
108680   5NPE24AF5HH531008   Hyundai       SONATA              BURBANK                   CA
108681   5NPE24AF5HH532594   Hyundai       SONATA              SANTA ANA                 CA
108682   5NPE24AF5HH532854   Hyundai       SONATA              NOTTINGHAM                MD
108683   5NPE24AF5HH532966   Hyundai       SONATA              FT LAUDERDALE             FL
108684   5NPE24AF5HH556765   Hyundai       SONATA              BURBANK                   CA
108685   5NPE24AF5HH557382   Hyundai       SONATA              LOS ANGELES               CA
108686   5NPE24AF5HH557608   Hyundai       SONATA              LAS VEGAS                 NV
108687   5NPE24AF5HH557611   Hyundai       SONATA              Stockton                  CA
108688   5NPE24AF5HH558239   Hyundai       SONATA              NORTH PAC                 CA
108689   5NPE24AF5HH558967   Hyundai       SONATA              BURBANK                   CA
108690   5NPE24AF5HH559410   Hyundai       SONATA              Fontana                   CA
108691   5NPE24AF5HH561108   Hyundai       SONATA              BURBANK                   CA
108692   5NPE24AF5HH563926   Hyundai       SONATA              Denver                    CO
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108693   5NPE24AF5HH570388   Hyundai       SONATA              Hayward                   CA
108694   5NPE24AF5HH573730   Hyundai       SONATA              Ventura                   CA
108695   5NPE24AF5HH573761   Hyundai       SONATA              SANTA ANA                 CA
108696   5NPE24AF5HH574909   Hyundai       SONATA              BURBANK                   CA
108697   5NPE24AF5HH575199   Hyundai       SONATA              BURBANK                   CA
108698   5NPE24AF5HH576224   Hyundai       SONATA              SOUTH SAN FRANC           CA
108699   5NPE24AF5HH576238   Hyundai       SONATA              SAN JOSE                  CA
108700   5NPE24AF5HH576885   Hyundai       SONATA              PICO RIVERA               CA
108701   5NPE24AF5HH577115   Hyundai       SONATA              BURBANK                   CA
108702   5NPE24AF5HH577132   Hyundai       SONATA              Burien                    WA
108703   5NPE24AF5HH577440   Hyundai       SONATA              SAN FRANCISCO             CA
108704   5NPE24AF5HH578863   Hyundai       SONATA              Portland                  OR
108705   5NPE24AF5HH579012   Hyundai       SONATA              BURBANK                   CA
108706   5NPE24AF5HH579365   Hyundai       SONATA              PHOENIX                   AZ
108707   5NPE24AF5HH580600   Hyundai       SONATA              SAN DIEGO                 CA
108708   5NPE24AF5HH580788   Hyundai       SONATA              glendale                  ca
108709   5NPE24AF5HH581312   Hyundai       SONATA              BURBANK                   CA
108710   5NPE24AF5HH581701   Hyundai       SONATA              BURBANK                   CA
108711   5NPE24AF5HH581715   Hyundai       SONATA              Atlanta                   GA
108712   5NPE24AF5HH582167   Hyundai       SONATA              BURLINGAME                CA
108713   5NPE24AF5HH582881   Hyundai       SONATA              SAN DIEGO                 CA
108714   5NPE24AF5HH583044   Hyundai       SONATA              Pasadena                  CA
108715   5NPE24AF5HH584064   Hyundai       SONATA              SAN DIEGO                 CA
108716   5NPE24AF5HH584629   Hyundai       SONATA              SAN DIEGO                 CA
108717   5NPE24AF5HH584968   Hyundai       SONATA              FORT LAUDERDALE           FL
108718   5NPE24AF5KH768069   Hyundai       SONATA              Atlanta                   GA
108719   5NPE24AF5KH791609   Hyundai       SONATA              Atlanta                   GA
108720   5NPE24AF6HH458909   Hyundai       SONATA              BURBANK                   CA
108721   5NPE24AF6HH493496   Hyundai       SONATA              Atlanta                   GA
108722   5NPE24AF6HH513486   Hyundai       SONATA              FT LAUDERDALE             FL
108723   5NPE24AF6HH518817   Hyundai       SONATA              HANOVER                   MD
108724   5NPE24AF6HH519238   Hyundai       SONATA              Denver                    CO
108725   5NPE24AF6HH528487   Hyundai       SONATA              CHICAGO                   IL
108726   5NPE24AF6HH530921   Hyundai       SONATA              Fontana                   CA
108727   5NPE24AF6HH532135   Hyundai       SONATA              CHICAGO                   IL
108728   5NPE24AF6HH535472   Hyundai       SONATA              BURBANK                   CA
108729   5NPE24AF6HH554376   Hyundai       SONATA              BURBANK                   CA
108730   5NPE24AF6HH554975   Hyundai       SONATA              NORTH HOLLYWOOD           CA
108731   5NPE24AF6HH557973   Hyundai       SONATA              BURBANK                   CA
108732   5NPE24AF6HH558430   Hyundai       SONATA              Kansas City               MO
108733   5NPE24AF6HH561134   Hyundai       SONATA              Matteson                  IL
108734   5NPE24AF6HH561960   Hyundai       SONATA              ROSEVILLE                 CA
108735   5NPE24AF6HH562719   Hyundai       SONATA              Lake Elsinore             CA
108736   5NPE24AF6HH563689   Hyundai       SONATA              BURBANK                   CA
108737   5NPE24AF6HH567743   Hyundai       SONATA              Elgin                     IL
108738   5NPE24AF6HH567760   Hyundai       SONATA              North Dighton             MA
108739   5NPE24AF6HH568522   Hyundai       SONATA              HANOVER                   MD
108740   5NPE24AF6HH570559   Hyundai       SONATA              FT LAUDERDALE             FL
108741   5NPE24AF6HH571047   Hyundai       SONATA              Miami                     FL
108742   5NPE24AF6HH571209   Hyundai       SONATA              Manheim                   PA
108743   5NPE24AF6HH571341   Hyundai       SONATA              Baltimore                 MD
108744   5NPE24AF6HH574479   Hyundai       SONATA              BURBANK                   CA
108745   5NPE24AF6HH575048   Hyundai       SONATA              BURBANK                   CA
108746   5NPE24AF6HH575051   Hyundai       SONATA              NORTH PAC                 CA
108747   5NPE24AF6HH575096   Hyundai       SONATA              North Las Vegas           NV
108748   5NPE24AF6HH575518   Hyundai       SONATA              BURBANK                   CA
108749   5NPE24AF6HH575860   Hyundai       SONATA              Ventura                   CA
108750   5NPE24AF6HH576166   Hyundai       SONATA              North Las Vegas           NV
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108751   5NPE24AF6HH577298   Hyundai       SONATA              BURBANK                   CA
108752   5NPE24AF6HH577401   Hyundai       SONATA              Las Vegas                 NV
108753   5NPE24AF6HH577561   Hyundai       SONATA              SAN FRANCISCO             CA
108754   5NPE24AF6HH579097   Hyundai       SONATA              BURBANK                   CA
108755   5NPE24AF6HH579102   Hyundai       SONATA              BURBANK                   CA
108756   5NPE24AF6HH579200   Hyundai       SONATA              BURBANK                   CA
108757   5NPE24AF6HH579553   Hyundai       SONATA              San Diego                 CA
108758   5NPE24AF6HH579780   Hyundai       SONATA              Burien                    WA
108759   5NPE24AF6HH579925   Hyundai       SONATA              LOS ANGELES               CA
108760   5NPE24AF6HH580332   Hyundai       SONATA              CHICAGO O'HARE AP         IL
108761   5NPE24AF6HH580587   Hyundai       SONATA              Mira Loma                 CA
108762   5NPE24AF6HH580704   Hyundai       SONATA              Las Vegas                 NV
108763   5NPE24AF6HH580735   Hyundai       SONATA              PLEASANTON                CA
108764   5NPE24AF6HH580749   Hyundai       SONATA              STERLING                  VA
108765   5NPE24AF6HH580962   Hyundai       SONATA              FT LAUDERDALE             FL
108766   5NPE24AF6HH581237   Hyundai       SONATA              Kent                      WA
108767   5NPE24AF6HH581349   Hyundai       SONATA              BURBANK                   CA
108768   5NPE24AF6HH581478   Hyundai       SONATA              Los Angeles               CA
108769   5NPE24AF6HH582856   Hyundai       SONATA              STERLING                  VA
108770   5NPE24AF6HH583344   Hyundai       SONATA              Davie                     FL
108771   5NPE24AF6HH584560   Hyundai       SONATA              SAN FRANCISCO             CA
108772   5NPE24AF6HH585871   Hyundai       SONATA              EAST BOSTON               MA
108773   5NPE24AF6KH735761   Hyundai       SONATA              HARVEY                    LA
108774   5NPE24AF6KH736277   Hyundai       SONATA              KENNER                    LA
108775   5NPE24AF6KH741172   Hyundai       SONATA              DALLAS                    TX
108776   5NPE24AF6KH743729   Hyundai       SONATA              ORLANDO                   FL
108777   5NPE24AF6KH745108   Hyundai       SONATA              KENNER                    LA
108778   5NPE24AF6KH790355   Hyundai       SONATA              Caledonia                 WI
108779   5NPE24AF7GH385418   Hyundai       SONATA              Atlanta                   GA
108780   5NPE24AF7HH469613   Hyundai       SONATA              TAMPA                     FL
108781   5NPE24AF7HH470695   Hyundai       SONATA              SAN DIEGO                 CA
108782   5NPE24AF7HH491238   Hyundai       SONATA              San Diego                 CA
108783   5NPE24AF7HH496245   Hyundai       SONATA              HANOVER                   MD
108784   5NPE24AF7HH515473   Hyundai       SONATA              Baltimore                 MD
108785   5NPE24AF7HH515487   Hyundai       SONATA              Burien                    WA
108786   5NPE24AF7HH526988   Hyundai       SONATA              DENVER                    CO
108787   5NPE24AF7HH528689   Hyundai       SONATA              Burien                    WA
108788   5NPE24AF7HH531009   Hyundai       SONATA              BURBANK                   CA
108789   5NPE24AF7HH534296   Hyundai       SONATA              Slidell                   LA
108790   5NPE24AF7HH534864   Hyundai       SONATA              BURBANK                   CA
108791   5NPE24AF7HH547727   Hyundai       SONATA              BURBANK                   CA
108792   5NPE24AF7HH557206   Hyundai       SONATA              BURBANK                   CA
108793   5NPE24AF7HH559148   Hyundai       SONATA              SANTA ANA                 CA
108794   5NPE24AF7HH560123   Hyundai       SONATA              BURBANK                   CA
108795   5NPE24AF7HH562390   Hyundai       SONATA              STERLING                  VA
108796   5NPE24AF7HH567847   Hyundai       SONATA              STERLING                  VA
108797   5NPE24AF7HH569274   Hyundai       SONATA              North Las Vegas           NV
108798   5NPE24AF7HH570926   Hyundai       SONATA              Winston‐Salem             NC
108799   5NPE24AF7HH571400   Hyundai       SONATA              Chicago                   IL
108800   5NPE24AF7HH573096   Hyundai       SONATA              Riverside                 CA
108801   5NPE24AF7HH573728   Hyundai       SONATA              BURBANK                   CA
108802   5NPE24AF7HH575477   Hyundai       SONATA              BURBANK                   CA
108803   5NPE24AF7HH575589   Hyundai       SONATA              BURBANK                   CA
108804   5NPE24AF7HH576225   Hyundai       SONATA              BURBANK                   CA
108805   5NPE24AF7HH576693   Hyundai       SONATA              Mira Loma                 CA
108806   5NPE24AF7HH577617   Hyundai       SONATA              BURBANK                   CA
108807   5NPE24AF7HH579139   Hyundai       SONATA              SANTA CLARA               CA
108808   5NPE24AF7HH579464   Hyundai       SONATA              North Las Vegas           NV
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108809   5NPE24AF7HH579481   Hyundai       SONATA              SAN DIEGO                 CA
108810   5NPE24AF7HH579691   Hyundai       SONATA              BURBANK                   CA
108811   5NPE24AF7HH579870   Hyundai       SONATA              NORTH PAC                 CA
108812   5NPE24AF7HH579982   Hyundai       SONATA              Rio Linda                 CA
108813   5NPE24AF7HH580369   Hyundai       SONATA              NORTH HOLLYWOOD           CA
108814   5NPE24AF7HH580758   Hyundai       SONATA              Portland                  OR
108815   5NPE24AF7HH581229   Hyundai       SONATA              BURBANK                   CA
108816   5NPE24AF7HH581330   Hyundai       SONATA              BURBANK                   CA
108817   5NPE24AF7HH581554   Hyundai       SONATA              Stockton                  CA
108818   5NPE24AF7HH581859   Hyundai       SONATA              BURBANK                   CA
108819   5NPE24AF7HH581926   Hyundai       SONATA              BURBANK                   CA
108820   5NPE24AF7HH582381   Hyundai       SONATA              BURBANK                   CA
108821   5NPE24AF7HH582395   Hyundai       SONATA              Hayward                   CA
108822   5NPE24AF7HH582445   Hyundai       SONATA              LOS ANGELES               CA
108823   5NPE24AF7HH582543   Hyundai       SONATA              SAN JOSE                  CA
108824   5NPE24AF7HH582574   Hyundai       SONATA              BURBANK                   CA
108825   5NPE24AF7HH586186   Hyundai       SONATA              SACRAMENTO                CA
108826   5NPE24AF7KH744341   Hyundai       SONATA              WEST PALM BEACH           FL
108827   5NPE24AF7KH767635   Hyundai       SONATA              CHICAGO                   IL
108828   5NPE24AF8HH491944   Hyundai       SONATA              PHOENIX                   AZ
108829   5NPE24AF8HH508483   Hyundai       SONATA              North Las Vegas           NV
108830   5NPE24AF8HH517328   Hyundai       SONATA              SPRINGFIELD               VA
108831   5NPE24AF8HH523582   Hyundai       SONATA              NORTH PAC                 CA
108832   5NPE24AF8HH528930   Hyundai       SONATA              Burien                    WA
108833   5NPE24AF8HH531455   Hyundai       SONATA              SANDSTON                  VA
108834   5NPE24AF8HH558560   Hyundai       SONATA              Stockton                  CA
108835   5NPE24AF8HH559398   Hyundai       SONATA              NORTH PAC                 CA
108836   5NPE24AF8HH560633   Hyundai       SONATA              ONTARIO                   CA
108837   5NPE24AF8HH560647   Hyundai       SONATA              BURIEN                    WA
108838   5NPE24AF8HH562169   Hyundai       SONATA              BURBANK                   CA
108839   5NPE24AF8HH567596   Hyundai       SONATA              Honolulu                  HI
108840   5NPE24AF8HH569249   Hyundai       SONATA              HANOVER                   MD
108841   5NPE24AF8HH569333   Hyundai       SONATA              Elkridge                  MD
108842   5NPE24AF8HH570532   Hyundai       SONATA              SANTA ANA                 CA
108843   5NPE24AF8HH572975   Hyundai       SONATA              Fresno                    CA
108844   5NPE24AF8HH574368   Hyundai       SONATA              SAN DIEGO                 CA
108845   5NPE24AF8HH575245   Hyundai       SONATA              TRACY                     CA
108846   5NPE24AF8HH575360   Hyundai       SONATA              SACRAMENTO                CA
108847   5NPE24AF8HH575388   Hyundai       SONATA              LOS ANGELES               CA
108848   5NPE24AF8HH575679   Hyundai       SONATA              BURBANK                   CA
108849   5NPE24AF8HH576167   Hyundai       SONATA              Lake Elsinore             CA
108850   5NPE24AF8HH576461   Hyundai       SONATA              Stockton                  CA
108851   5NPE24AF8HH576668   Hyundai       SONATA              SAN DIEGO                 CA
108852   5NPE24AF8HH579005   Hyundai       SONATA              NORTH HOLLYWOOD           CA
108853   5NPE24AF8HH579179   Hyundai       SONATA              SACRAMENTO                CA
108854   5NPE24AF8HH579943   Hyundai       SONATA              Denver                    CO
108855   5NPE24AF8HH580638   Hyundai       SONATA              BURBANK                   CA
108856   5NPE24AF8HH581174   Hyundai       SONATA              BURBANK                   CA
108857   5NPE24AF8HH581224   Hyundai       SONATA              BURBANK                   CA
108858   5NPE24AF8HH581272   Hyundai       SONATA              SOUTHWEST DEALER D        TX
108859   5NPE24AF8HH581689   Hyundai       SONATA              SAN DIEGO                 CA
108860   5NPE24AF8HH582485   Hyundai       SONATA              Kent                      WA
108861   5NPE24AF8HH582843   Hyundai       SONATA              BURBANK                   CA
108862   5NPE24AF8HH583796   Hyundai       SONATA              SAN FRANCISCO             CA
108863   5NPE24AF8HH583958   Hyundai       SONATA              BURBANK                   CA
108864   5NPE24AF8HH584821   Hyundai       SONATA              Richmond                  VA
108865   5NPE24AF8KH776263   Hyundai       SONATA              PITTSBURGH                PA
108866   5NPE24AF9GH313703   Hyundai       SONATA              BURBANK                   CA
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108867   5NPE24AF9GH322126   Hyundai       SONATA              BURBANK                   CA
108868   5NPE24AF9GH394606   Hyundai       SONATA              Smithtown                 NY
108869   5NPE24AF9HH452568   Hyundai       SONATA              BURBANK                   CA
108870   5NPE24AF9HH461268   Hyundai       SONATA              ORLANDO                   FL
108871   5NPE24AF9HH508024   Hyundai       SONATA              BURBANK                   CA
108872   5NPE24AF9HH515605   Hyundai       SONATA              N HOLLYWOOD               CA
108873   5NPE24AF9HH519024   Hyundai       SONATA              LAS VEGAS                 NV
108874   5NPE24AF9HH519962   Hyundai       SONATA              TRACY                     CA
108875   5NPE24AF9HH523672   Hyundai       SONATA              LAS VEGAS                 NV
108876   5NPE24AF9HH525177   Hyundai       SONATA              glendale                  ca
108877   5NPE24AF9HH530489   Hyundai       SONATA              San Diego                 CA
108878   5NPE24AF9HH533165   Hyundai       SONATA              CHICAGO                   IL
108879   5NPE24AF9HH541752   Hyundai       SONATA              Hayward                   CA
108880   5NPE24AF9HH543100   Hyundai       SONATA              Fontana                   CA
108881   5NPE24AF9HH544733   Hyundai       SONATA              TRACY                     CA
108882   5NPE24AF9HH557255   Hyundai       SONATA              LAS VEGAS                 NV
108883   5NPE24AF9HH557482   Hyundai       SONATA              North Las Vegas           NV
108884   5NPE24AF9HH558115   Hyundai       SONATA              Denver                    CO
108885   5NPE24AF9HH558485   Hyundai       SONATA              SANTA CLARA               CA
108886   5NPE24AF9HH559524   Hyundai       SONATA              DES MOINES                IA
108887   5NPE24AF9HH560768   Hyundai       SONATA              STERLING                  VA
108888   5NPE24AF9HH561435   Hyundai       SONATA              Cleveland                 OH
108889   5NPE24AF9HH563363   Hyundai       SONATA              Tampa                     FL
108890   5NPE24AF9HH569440   Hyundai       SONATA              Elkridge                  MD
108891   5NPE24AF9HH569681   Hyundai       SONATA              Sterling                  VA
108892   5NPE24AF9HH570586   Hyundai       SONATA              North Dighton             MA
108893   5NPE24AF9HH572385   Hyundai       SONATA              LOS ANGELES               CA
108894   5NPE24AF9HH573116   Hyundai       SONATA              LOS ANGELES               CA
108895   5NPE24AF9HH573195   Hyundai       SONATA              North Las Vegas           NV
108896   5NPE24AF9HH574377   Hyundai       SONATA              SAN JOSE                  CA
108897   5NPE24AF9HH574427   Hyundai       SONATA              BURBANK                   CA
108898   5NPE24AF9HH574458   Hyundai       SONATA              LOS ANGELES               CA
108899   5NPE24AF9HH574461   Hyundai       SONATA              BURBANK                   CA
108900   5NPE24AF9HH575013   Hyundai       SONATA              Los Angeles               CA
108901   5NPE24AF9HH575397   Hyundai       SONATA              BURBANK                   CA
108902   5NPE24AF9HH575691   Hyundai       SONATA              BURBANK                   CA
108903   5NPE24AF9HH576694   Hyundai       SONATA              SAN JOSE                  CA
108904   5NPE24AF9HH576940   Hyundai       SONATA              Salt Lake City            UT
108905   5NPE24AF9HH577067   Hyundai       SONATA              SAN FRANCISCO             CA
108906   5NPE24AF9HH577599   Hyundai       SONATA              NORTH PAC                 CA
108907   5NPE24AF9HH577988   Hyundai       SONATA              NORTH PAC                 CA
108908   5NPE24AF9HH578445   Hyundai       SONATA              NORTH HOLLYWOOD           CA
108909   5NPE24AF9HH579076   Hyundai       SONATA              North Las Vegas           NV
108910   5NPE24AF9HH579109   Hyundai       SONATA              PICO RIVERA               CA
108911   5NPE24AF9HH579224   Hyundai       SONATA              BURBANK                   CA
108912   5NPE24AF9HH579482   Hyundai       SONATA              BURBANK                   CA
108913   5NPE24AF9HH579885   Hyundai       SONATA              BURBANK                   CA
108914   5NPE24AF9HH580017   Hyundai       SONATA              BURBANK                   CA
108915   5NPE24AF9HH580048   Hyundai       SONATA              North Dighton             MA
108916   5NPE24AF9HH580440   Hyundai       SONATA              San Diego                 CA
108917   5NPE24AF9HH581152   Hyundai       SONATA              BURBANK                   CA
108918   5NPE24AF9HH581183   Hyundai       SONATA              NORTH PAC                 CA
108919   5NPE24AF9HH581457   Hyundai       SONATA              LAS VEGAS                 NV
108920   5NPE24AF9HH582558   Hyundai       SONATA              FAYETTEVILLE              GA
108921   5NPE24AF9HH582995   Hyundai       SONATA              BURBANK                   CA
108922   5NPE24AF9HH584052   Hyundai       SONATA              BURBANK                   CA
108923   5NPE24AF9HH584066   Hyundai       SONATA              BURBANK                   CA
108924   5NPE24AF9HH584567   Hyundai       SONATA              RIVERSIDE                 CA
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108925   5NPE24AF9KH784047   Hyundai       SONATA              Atlanta                   GA
108926   5NPE24AFXFH188953   Hyundai       SONATA              SAN FRANCISCO             CA
108927   5NPE24AFXGH396073   Hyundai       SONATA              FRESNO                    CA
108928   5NPE24AFXGH401854   Hyundai       SONATA              Denver                    CO
108929   5NPE24AFXGH404592   Hyundai       SONATA              KENNER                    LA
108930   5NPE24AFXHH534857   Hyundai       SONATA              Portland                  OR
108931   5NPE24AFXHH534860   Hyundai       SONATA              BURBANK                   CA
108932   5NPE24AFXHH535930   Hyundai       SONATA              HAYWARD                   CA
108933   5NPE24AFXHH555403   Hyundai       SONATA              Hayward                   CA
108934   5NPE24AFXHH557698   Hyundai       SONATA              SANTA ANA                 CA
108935   5NPE24AFXHH557877   Hyundai       SONATA              SAN FRANCISCO             CA
108936   5NPE24AFXHH558172   Hyundai       SONATA              SANTA ANA                 CA
108937   5NPE24AFXHH558334   Hyundai       SONATA              North Las Vegas           NV
108938   5NPE24AFXHH561380   Hyundai       SONATA              Mira Loma                 CA
108939   5NPE24AFXHH561444   Hyundai       SONATA              SAN DIEGO                 CA
108940   5NPE24AFXHH561508   Hyundai       SONATA              SAN DIEGO                 CA
108941   5NPE24AFXHH562397   Hyundai       SONATA              CHICAGO                   IL
108942   5NPE24AFXHH567809   Hyundai       SONATA              BOSTON                    MA
108943   5NPE24AFXHH570984   Hyundai       SONATA              CHICAGO                   IL
108944   5NPE24AFXHH573190   Hyundai       SONATA              BURBANK                   CA
108945   5NPE24AFXHH573836   Hyundai       SONATA              SAN FRANCISCO             CA
108946   5NPE24AFXHH573951   Hyundai       SONATA              BURBANK                   CA
108947   5NPE24AFXHH574839   Hyundai       SONATA              BURBANK                   CA
108948   5NPE24AFXHH574873   Hyundai       SONATA              North Las Vegas           NV
108949   5NPE24AFXHH575277   Hyundai       SONATA              Fontana                   CA
108950   5NPE24AFXHH576171   Hyundai       SONATA              BURBANK                   CA
108951   5NPE24AFXHH576333   Hyundai       SONATA              SAN FRANCISCO             CA
108952   5NPE24AFXHH576350   Hyundai       SONATA              BURBANK                   CA
108953   5NPE24AFXHH576591   Hyundai       SONATA              San Diego                 CA
108954   5NPE24AFXHH577661   Hyundai       SONATA              SAN JOSE                  CA
108955   5NPE24AFXHH578101   Hyundai       SONATA              LOS ANGELES               CA
108956   5NPE24AFXHH578700   Hyundai       SONATA              Las Vegas                 NV
108957   5NPE24AFXHH579085   Hyundai       SONATA              San Diego                 CA
108958   5NPE24AFXHH579443   Hyundai       SONATA              Norwalk                   CA
108959   5NPE24AFXHH579846   Hyundai       SONATA              SAN JOSE                  CA
108960   5NPE24AFXHH579930   Hyundai       SONATA              BURBANK                   CA
108961   5NPE24AFXHH580169   Hyundai       SONATA              North Las Vegas           NV
108962   5NPE24AFXHH580768   Hyundai       SONATA              Fontana                   CA
108963   5NPE24AFXHH580950   Hyundai       SONATA              BURBANK                   CA
108964   5NPE24AFXHH581094   Hyundai       SONATA              BUBANK                    CA
108965   5NPE24AFXHH581337   Hyundai       SONATA              SAN DIEGO                 CA
108966   5NPE24AFXHH581726   Hyundai       SONATA              Las Vegas                 NV
108967   5NPE24AFXHH582259   Hyundai       SONATA              Los Angeles               CA
108968   5NPE24AFXHH582455   Hyundai       SONATA              LOS ANGELES               CA
108969   5NPE24AFXHH582536   Hyundai       SONATA              NORTH PAC                 CA
108970   5NPE24AFXHH582696   Hyundai       SONATA              BURBANK                   CA
108971   5NPE24AFXHH583198   Hyundai       SONATA              Elkridge                  MD
108972   5NPE34AF0GH268809   Hyundai       SONATA              HARVEY                    LA
108973   5NPE34AF0GH318141   Hyundai       SONATA              Phoenix                   AZ
108974   5NPE34AF0GH333349   Hyundai       SONATA              SANTA ANA                 CA
108975   5NPE34AF0GH340804   Hyundai       SONATA              Tolleson                  AZ
108976   5NPE34AF0GH355531   Hyundai       SONATA              Richmond                  VA
108977   5NPE34AF0GH388982   Hyundai       SONATA              Pittsburgh                PA
108978   5NPE34AF0HH450737   Hyundai       SONATA              WEST PALM BEACH           FL
108979   5NPE34AF0KH768462   Hyundai       SONATA              Anaheim                   CA
108980   5NPE34AF0KH777128   Hyundai       SONATA              Manheim                   PA
108981   5NPE34AF0KH783169   Hyundai       SONATA              Lawndale                  CA
108982   5NPE34AF1FH182455   Hyundai       SONATA              SANTA ANA                 CA
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108983   5NPE34AF1GH288180   Hyundai       SONATA              HARVEY                    LA
108984   5NPE34AF1GH422699   Hyundai       SONATA              BURBANK                   CA
108985   5NPE34AF2GH366689   Hyundai       SONATA              FRESNO                    CA
108986   5NPE34AF2GH435283   Hyundai       SONATA              PHOENIX                   AZ
108987   5NPE34AF2HH440419   Hyundai       SONATA              ORLANDO                   FL
108988   5NPE34AF2HH465563   Hyundai       SONATA              Warminster                PA
108989   5NPE34AF2KH776983   Hyundai       SONATA              MILWAUKEE                 WI
108990   5NPE34AF2KH778085   Hyundai       SONATA              Hebron                    KY
108991   5NPE34AF3GH307568   Hyundai       SONATA              Tolleson                  AZ
108992   5NPE34AF3HH571567   Hyundai       SONATA              Phoenix                   AZ
108993   5NPE34AF3KH773851   Hyundai       SONATA              NEW ORLEANS               LA
108994   5NPE34AF3KH785045   Hyundai       SONATA              SOUTH BEND                IN
108995   5NPE34AF4GH280090   Hyundai       SONATA              CHANDLER                  AZ
108996   5NPE34AF4HH452068   Hyundai       SONATA              TAMPA                     FL
108997   5NPE34AF5GH320998   Hyundai       SONATA              ROSEVILLE                 CA
108998   5NPE34AF5GH366752   Hyundai       SONATA              ORLANDO                   FL
108999   5NPE34AF5HH483362   Hyundai       SONATA              BURBANK                   CA
109000   5NPE34AF6GH263551   Hyundai       SONATA              SAN DIEGO                 CA
109001   5NPE34AF6GH322551   Hyundai       SONATA              SEATAC                    WA
109002   5NPE34AF6GH420317   Hyundai       SONATA              NEW ENGLAND DEALER        MA
109003   5NPE34AF7KH774209   Hyundai       SONATA              FORT MYERS                FL
109004   5NPE34AF8GH322275   Hyundai       SONATA              Stockton                  CA
109005   5NPE34AF8GH352814   Hyundai       SONATA              PHOENIX                   AZ
109006   5NPE34AF8GH402952   Hyundai       SONATA              CHANDLER                  AZ
109007   5NPE34AF9GH340350   Hyundai       SONATA              Jacksonville              FL
109008   5NPE34AF9GH342664   Hyundai       SONATA              LOS ANGELES               CA
109009   5NPE34AF9HH506352   Hyundai       SONATA              Costa Mesa                CA
109010   5NPE34AFXGH313111   Hyundai       SONATA              LOS ANGELES               CA
109011   5NPE34AFXGH420546   Hyundai       SONATA              BURBANK                   CA
109012   5NPE34AFXHH439647   Hyundai       SONATA              Norwalk                   CA
109013   5NPE34AFXKH768355   Hyundai       SONATA              Anaheim                   CA
109014   5TDBY5G10JS163954   Toyota        SEQUOIA             Salt Lake City            UT
109015   5TDBY5G10KS169660   Toyota        SEQUOIA             CHICAGO                   IL
109016   5TDBY5G10KS169769   Toyota        SEQUOIA             Tolleson                  AZ
109017   5TDBY5G10KS170646   Toyota        SEQUOIA             Rio Linda                 CA
109018   5TDBY5G10KS170856   Toyota        SEQUOIA             ROCHESTER                 NY
109019   5TDBY5G10KS170971   Toyota        SEQUOIA             Smithtown                 NY
109020   5TDBY5G10KS173465   Toyota        SEQUOIA             CHICAGO                   IL
109021   5TDBY5G11KS169604   Toyota        SEQUOIA             Portland                  OR
109022   5TDBY5G11KS169618   Toyota        SEQUOIA             ST PAUL                   MN
109023   5TDBY5G11KS169957   Toyota        SEQUOIA             Portland                  OR
109024   5TDBY5G11KS170056   Toyota        SEQUOIA             KANSAS CITY               MO
109025   5TDBY5G11KS170154   Toyota        SEQUOIA             DES MOINES                IA
109026   5TDBY5G11KS170932   Toyota        SEQUOIA             Rockville Centr           NY
109027   5TDBY5G11KS173393   Toyota        SEQUOIA             Phoenix                   AZ
109028   5TDBY5G12JS163146   Toyota        SEQUOIA             MANCHESTER                US
109029   5TDBY5G12JS163177   Toyota        SEQUOIA             HANOVER                   MD
109030   5TDBY5G12KS169336   Toyota        SEQUOIA             CHICAGO                   IL
109031   5TDBY5G12KS169367   Toyota        SEQUOIA             ST PAUL                   MN
109032   5TDBY5G12KS169689   Toyota        SEQUOIA             LAKEWOOD                  WA
109033   5TDBY5G12KS170664   Toyota        SEQUOIA             ALBANY                    NY
109034   5TDBY5G12KS170678   Toyota        SEQUOIA             Houston                   TX
109035   5TDBY5G13KS170138   Toyota        SEQUOIA             Anaheim                   CA
109036   5TDBY5G14KS170889   Toyota        SEQUOIA             MOBILE                    A
109037   5TDBY5G15KS170741   Toyota        SEQUOIA             SALT LAKE CITY            UT
109038   5TDBY5G15KS170786   Toyota        SEQUOIA             Chicago                   IL
109039   5TDBY5G16JS159035   Toyota        SEQUOIA             Slidell                   LA
109040   5TDBY5G16JS163215   Toyota        SEQUOIA             Smithtown                 NY
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109041   5TDBY5G16JS163974   Toyota       SEQUOIA             GRAND JUNCTION            C
109042   5TDBY5G16KS170165   Toyota       SEQUOIA             CHICAGO                   IL
109043   5TDBY5G16KS170473   Toyota       SEQUOIA             Des Moines                IA
109044   5TDBY5G16KS170957   Toyota       SEQUOIA             MANCHESTER                US
109045   5TDBY5G16KS170960   Toyota       SEQUOIA             WINDSOR LOCKS             CT
109046   5TDBY5G16KS173308   Toyota       SEQUOIA             Denver                    CO
109047   5TDBY5G16KS173373   Toyota       SEQUOIA             OAKLAND                   CA
109048   5TDBY5G17KS173186   Toyota       SEQUOIA             CHICAGO O'HARE AP         IL
109049   5TDBY5G18JS164236   Toyota       SEQUOIA             Massapequa                NY
109050   5TDBY5G18KS170488   Toyota       SEQUOIA             PORTLAND                  OR
109051   5TDBY5G19JS164360   Toyota       SEQUOIA             JAMAICA                   NY
109052   5TDBY5G19KS169835   Toyota       SEQUOIA             Tolleson                  AZ
109053   5TDBY5G19KS169902   Toyota       SEQUOIA             CHICAGO                   IL
109054   5TDBY5G19KS169916   Toyota       SEQUOIA             CHICAGO                   IL
109055   5TDBY5G19KS170130   Toyota       SEQUOIA             Woodhaven                 MI
109056   5TDBY5G19KS170788   Toyota       SEQUOIA             TAMPA                     FL
109057   5TDBY5G19KS170905   Toyota       SEQUOIA             PORTLAND                  ME
109058   5TDBY5G1XJS164058   Toyota       SEQUOIA             MANHATTAN                 KS
109059   5TDBY5G1XKS169827   Toyota       SEQUOIA             ST PAUL                   MN
109060   5TDBY5G1XKS169889   Toyota       SEQUOIA             CHICAGO                   IL
109061   5TDBY5G1XKS170038   Toyota       SEQUOIA             KANSAS CITY               MO
109062   5TDBY5G1XKS170119   Toyota       SEQUOIA             SAINT PAUL                MN
109063   5TDBY5G1XKS170783   Toyota       SEQUOIA             ATLANTA AP                GA
109064   5TDBZRFH0KS922641   Toyota       HIGHLANDER          Teterboro                 NJ
109065   5TDBZRFH0KS922901   Toyota       HIGHLANDER          Winston‐Salem             NC
109066   5TDBZRFH0KS923045   Toyota       HIGHLANDER          KENNER                    LA
109067   5TDBZRFH0KS923255   Toyota       HIGHLANDER          NORFOLK                   VA
109068   5TDBZRFH0KS923322   Toyota       HIGHLANDER          DANIA                     FL
109069   5TDBZRFH0KS923451   Toyota       HIGHLANDER          Revere                    MA
109070   5TDBZRFH0KS924079   Toyota       HIGHLANDER          NEWARK                    NJ
109071   5TDBZRFH0KS924809   Toyota       HIGHLANDER          WARWICK                   RI
109072   5TDBZRFH0KS924857   Toyota       HIGHLANDER          HANOVER                   MD
109073   5TDBZRFH0KS943778   Toyota       HIGHLANDER          TAMPA                     US
109074   5TDBZRFH0KS943814   Toyota       HIGHLANDER          San Diego                 CA
109075   5TDBZRFH0KS943845   Toyota       HIGHLANDER          NEW BERN                  NC
109076   5TDBZRFH0KS943926   Toyota       HIGHLANDER          FRESNO                    CA
109077   5TDBZRFH0KS944221   Toyota       HIGHLANDER          TAMPA                     US
109078   5TDBZRFH0KS944347   Toyota       HIGHLANDER          LAKEWOOD                  WA
109079   5TDBZRFH0KS944610   Toyota       HIGHLANDER          West Palm Beach           FL
109080   5TDBZRFH0KS944705   Toyota       HIGHLANDER          MIAMI                     FL
109081   5TDBZRFH0KS945143   Toyota       HIGHLANDER          FORT MYERS                FL
109082   5TDBZRFH0KS945160   Toyota       HIGHLANDER          NORFOLK                   VA
109083   5TDBZRFH0KS945577   Toyota       HIGHLANDER          Atlanta                   GA
109084   5TDBZRFH0KS945630   Toyota       HIGHLANDER          SAVANNAH                  GA
109085   5TDBZRFH0KS945644   Toyota       HIGHLANDER          PHILADELPHIA              PA
109086   5TDBZRFH0KS946017   Toyota       HIGHLANDER          WEST COLUMBIA             SC
109087   5TDBZRFH0KS946258   Toyota       HIGHLANDER          Miami                     FL
109088   5TDBZRFH0KS946521   Toyota       HIGHLANDER          UNION CITY                GA
109089   5TDBZRFH0KS960483   Toyota       HIGHLANDER          MORRISVILLE               NC
109090   5TDBZRFH0KS960869   Toyota       HIGHLANDER          PHILADELPHIA              PA
109091   5TDBZRFH0KS960886   Toyota       HIGHLANDER          CHEEKTOWAGA               NY
109092   5TDBZRFH0KS961830   Toyota       HIGHLANDER          FAYETTEVILLE              GA
109093   5TDBZRFH0KS962279   Toyota       HIGHLANDER          CLEVELAND                 OH
109094   5TDBZRFH0KS962671   Toyota       HIGHLANDER          NEW YORK CITY             NY
109095   5TDBZRFH0KS963447   Toyota       HIGHLANDER          PITTSBURGH                PA
109096   5TDBZRFH0KS963450   Toyota       HIGHLANDER          STERLING                  US
109097   5TDBZRFH0KS963481   Toyota       HIGHLANDER          TULSA                     OK
109098   5TDBZRFH0KS963495   Toyota       HIGHLANDER          LAS VEGAS                 NV
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109099   5TDBZRFH0KS963609   Toyota       HIGHLANDER          CLEVELAND                 OH
109100   5TDBZRFH0KS963951   Toyota       HIGHLANDER          NASHVILLE                 TN
109101   5TDBZRFH0KS964033   Toyota       HIGHLANDER          STERLING                  VA
109102   5TDBZRFH0KS964081   Toyota       HIGHLANDER          ORLANDO                   FL
109103   5TDBZRFH0KS964114   Toyota       HIGHLANDER          CHARLOTTE                 US
109104   5TDBZRFH0KS964436   Toyota       HIGHLANDER          ORLANDO                   FL
109105   5TDBZRFH0KS964484   Toyota       HIGHLANDER          PITTSBURGH                PA
109106   5TDBZRFH0KS964503   Toyota       HIGHLANDER          CHARLESTON                WV
109107   5TDBZRFH0KS964520   Toyota       HIGHLANDER          FAYETTEVILLE              GA
109108   5TDBZRFH1KS922650   Toyota       HIGHLANDER          HANOVER                   MD
109109   5TDBZRFH1KS922762   Toyota       HIGHLANDER          BOSTON                    MA
109110   5TDBZRFH1KS922809   Toyota       HIGHLANDER          MANCHESTER                US
109111   5TDBZRFH1KS922843   Toyota       HIGHLANDER          HANOVER                   MD
109112   5TDBZRFH1KS922891   Toyota       HIGHLANDER          ROANOKE                   VA
109113   5TDBZRFH1KS923183   Toyota       HIGHLANDER          CHARLESTON                WV
109114   5TDBZRFH1KS923426   Toyota       HIGHLANDER          Cincinnati                OH
109115   5TDBZRFH1KS923524   Toyota       HIGHLANDER          PHILADELPHIA              PA
109116   5TDBZRFH1KS923751   Toyota       HIGHLANDER          Atlanta                   GA
109117   5TDBZRFH1KS923801   Toyota       HIGHLANDER          PHILADELPHIA              PA
109118   5TDBZRFH1KS923944   Toyota       HIGHLANDER          STERLING                  US
109119   5TDBZRFH1KS924043   Toyota       HIGHLANDER          West Palm Beach           FL
109120   5TDBZRFH1KS924107   Toyota       HIGHLANDER          DANIA                     FL
109121   5TDBZRFH1KS924172   Toyota       HIGHLANDER          Miami                     FL
109122   5TDBZRFH1KS924432   Toyota       HIGHLANDER          CLEVELAND                 OH
109123   5TDBZRFH1KS924530   Toyota       HIGHLANDER          CLEVELAND                 OH
109124   5TDBZRFH1KS924561   Toyota       HIGHLANDER          Revere                    MA
109125   5TDBZRFH1KS924687   Toyota       HIGHLANDER          HANOVER                   MD
109126   5TDBZRFH1KS924835   Toyota       HIGHLANDER          NEWARK                    NJ
109127   5TDBZRFH1KS925158   Toyota       HIGHLANDER          Coraopolis                PA
109128   5TDBZRFH1KS942347   Toyota       HIGHLANDER          SEATAC                    WA
109129   5TDBZRFH1KS943398   Toyota       HIGHLANDER          ORLANDO                   FL
109130   5TDBZRFH1KS943563   Toyota       HIGHLANDER          LOS ANGELES               CA
109131   5TDBZRFH1KS943756   Toyota       HIGHLANDER          FORT MYERS                FL
109132   5TDBZRFH1KS943837   Toyota       HIGHLANDER          FORT MYERS                FL
109133   5TDBZRFH1KS944017   Toyota       HIGHLANDER          SEATAC                    WA
109134   5TDBZRFH1KS944258   Toyota       HIGHLANDER          OCEANSIDE                 CA
109135   5TDBZRFH1KS944289   Toyota       HIGHLANDER          PORTLAND                  OR
109136   5TDBZRFH1KS944633   Toyota       HIGHLANDER          West Palm Beach           FL
109137   5TDBZRFH1KS944650   Toyota       HIGHLANDER          ATLANTA                   GA
109138   5TDBZRFH1KS944888   Toyota       HIGHLANDER          PORTLAND                  OR
109139   5TDBZRFH1KS945118   Toyota       HIGHLANDER          ORLANDO                   FL
109140   5TDBZRFH1KS945166   Toyota       HIGHLANDER          CHARLESTON                SC
109141   5TDBZRFH1KS945278   Toyota       HIGHLANDER          MIAMI                     FL
109142   5TDBZRFH1KS945281   Toyota       HIGHLANDER          Miami                     FL
109143   5TDBZRFH1KS945670   Toyota       HIGHLANDER          Atlanta                   GA
109144   5TDBZRFH1KS945782   Toyota       HIGHLANDER          PORTLAND                  OR
109145   5TDBZRFH1KS946026   Toyota       HIGHLANDER          Miami                     FL
109146   5TDBZRFH1KS946043   Toyota       HIGHLANDER          PHOENIX                   AZ
109147   5TDBZRFH1KS946057   Toyota       HIGHLANDER          West Palm Beach           FL
109148   5TDBZRFH1KS946091   Toyota       HIGHLANDER          KENNER                    LA
109149   5TDBZRFH1KS946513   Toyota       HIGHLANDER          FORT MYERS                FL
109150   5TDBZRFH1KS946561   Toyota       HIGHLANDER          Atlanta                   GA
109151   5TDBZRFH1KS946639   Toyota       HIGHLANDER          CLEVELAND                 OH
109152   5TDBZRFH1KS960296   Toyota       HIGHLANDER          NEWARK                    NJ
109153   5TDBZRFH1KS960377   Toyota       HIGHLANDER          JACKSONVILLE              FL
109154   5TDBZRFH1KS960931   Toyota       HIGHLANDER          JACKSONVILLE              FL
109155   5TDBZRFH1KS961402   Toyota       HIGHLANDER          WEST COLUMBIA             SC
109156   5TDBZRFH1KS962310   Toyota       HIGHLANDER          PHILADELPHIA              PA
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109157   5TDBZRFH1KS962758   Toyota       HIGHLANDER          MEMPHIS                   TN
109158   5TDBZRFH1KS962761   Toyota       HIGHLANDER          ROCHESTER                 NY
109159   5TDBZRFH1KS963084   Toyota       HIGHLANDER          STERLING                  VA
109160   5TDBZRFH1KS963134   Toyota       HIGHLANDER          WARWICK                   RI
109161   5TDBZRFH1KS963506   Toyota       HIGHLANDER          OKLAHOMA CITY             OK
109162   5TDBZRFH1KS963618   Toyota       HIGHLANDER          MONTGOMERY                AL
109163   5TDBZRFH1KS963666   Toyota       HIGHLANDER          BOSTON                    MA
109164   5TDBZRFH1KS964025   Toyota       HIGHLANDER          MIAMI                     FL
109165   5TDBZRFH1KS964560   Toyota       HIGHLANDER          TAMPA                     US
109166   5TDBZRFH2KS920096   Toyota       HIGHLANDER          CHARLOTTE                 NC
109167   5TDBZRFH2KS922933   Toyota       HIGHLANDER          NEW BERN                  NC
109168   5TDBZRFH2KS923371   Toyota       HIGHLANDER          BOSTON                    MA
109169   5TDBZRFH2KS923399   Toyota       HIGHLANDER          BOSTON                    MA
109170   5TDBZRFH2KS923435   Toyota       HIGHLANDER          SHREVEPORT                US
109171   5TDBZRFH2KS923550   Toyota       HIGHLANDER          WEST PALM BEACH           FL
109172   5TDBZRFH2KS923564   Toyota       HIGHLANDER          Woodhaven                 MI
109173   5TDBZRFH2KS923824   Toyota       HIGHLANDER          TAMPA                     US
109174   5TDBZRFH2KS923905   Toyota       HIGHLANDER          HEBRON                    KY
109175   5TDBZRFH2KS924293   Toyota       HIGHLANDER          PENSACOLA                 FL
109176   5TDBZRFH2KS924312   Toyota       HIGHLANDER          Teterboro                 NJ
109177   5TDBZRFH2KS924603   Toyota       HIGHLANDER          DANIA                     FL
109178   5TDBZRFH2KS924973   Toyota       HIGHLANDER          Baltimore                 MD
109179   5TDBZRFH2KS925069   Toyota       HIGHLANDER          ALBANY                    N
109180   5TDBZRFH2KS925122   Toyota       HIGHLANDER          Baltimore                 MD
109181   5TDBZRFH2KS925136   Toyota       HIGHLANDER          Atlanta                   GA
109182   5TDBZRFH2KS941871   Toyota       HIGHLANDER          LOS ANGELES               CA
109183   5TDBZRFH2KS943250   Toyota       HIGHLANDER          Miami                     FL
109184   5TDBZRFH2KS943345   Toyota       HIGHLANDER          KNOXVILLE                 TN
109185   5TDBZRFH2KS943426   Toyota       HIGHLANDER          BIRMINGHAN                AL
109186   5TDBZRFH2KS943748   Toyota       HIGHLANDER          Miami                     FL
109187   5TDBZRFH2KS943751   Toyota       HIGHLANDER          WEST PALM BEACH           FL
109188   5TDBZRFH2KS943961   Toyota       HIGHLANDER          WEST PALM BEACH           FL
109189   5TDBZRFH2KS943989   Toyota       HIGHLANDER          PHOENIX                   AZ
109190   5TDBZRFH2KS944205   Toyota       HIGHLANDER          WEST COLUMBIA             SC
109191   5TDBZRFH2KS944379   Toyota       HIGHLANDER          STERLING                  US
109192   5TDBZRFH2KS944611   Toyota       HIGHLANDER          ORLANDO                   FL
109193   5TDBZRFH2KS944642   Toyota       HIGHLANDER          TAMPA                     US
109194   5TDBZRFH2KS944656   Toyota       HIGHLANDER          ORLANDO                   FL
109195   5TDBZRFH2KS944687   Toyota       HIGHLANDER          Miami                     FL
109196   5TDBZRFH2KS944740   Toyota       HIGHLANDER          CLEVELAND                 OH
109197   5TDBZRFH2KS944818   Toyota       HIGHLANDER          Miami                     FL
109198   5TDBZRFH2KS945144   Toyota       HIGHLANDER          SARASOTA                  FL
109199   5TDBZRFH2KS945161   Toyota       HIGHLANDER          ORLANDO                   FL
109200   5TDBZRFH2KS945662   Toyota       HIGHLANDER          RICHMOND                  VA
109201   5TDBZRFH2KS945712   Toyota       HIGHLANDER          CLEVELAND                 OH
109202   5TDBZRFH2KS946083   Toyota       HIGHLANDER          MIAMI                     FL
109203   5TDBZRFH2KS946181   Toyota       HIGHLANDER          NAPLES                    FL
109204   5TDBZRFH2KS946245   Toyota       HIGHLANDER          TAMPA                     US
109205   5TDBZRFH2KS946567   Toyota       HIGHLANDER          Miami                     FL
109206   5TDBZRFH2KS946570   Toyota       HIGHLANDER          TAMPA                     US
109207   5TDBZRFH2KS946651   Toyota       HIGHLANDER          UNION CITY                GA
109208   5TDBZRFH2KS960940   Toyota       HIGHLANDER          BOSTON                    MA
109209   5TDBZRFH2KS961862   Toyota       HIGHLANDER          FORT MYERS                FL
109210   5TDBZRFH2KS962476   Toyota       HIGHLANDER          CHICAGO                   IL
109211   5TDBZRFH2KS962686   Toyota       HIGHLANDER          SAINT LOUIS               MO
109212   5TDBZRFH2KS962722   Toyota       HIGHLANDER          WEST COLUMBIA             SC
109213   5TDBZRFH2KS962820   Toyota       HIGHLANDER          MILWAUKEE AIRPORT         WI
109214   5TDBZRFH2KS963157   Toyota       HIGHLANDER          ORLANDO                   FL
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109215   5TDBZRFH2KS963188   Toyota       HIGHLANDER          HANOVER                   MD
109216   5TDBZRFH2KS964096   Toyota       HIGHLANDER          HARRISBURG                PA
109217   5TDBZRFH2KS964325   Toyota       HIGHLANDER          DANIA                     FL
109218   5TDBZRFH2KS964468   Toyota       HIGHLANDER          STERLING                  VA
109219   5TDBZRFH2KS964518   Toyota       HIGHLANDER          MEDFORD                   MA
109220   5TDBZRFH3KS921600   Toyota       HIGHLANDER          Atlanta                   GA
109221   5TDBZRFH3KS922651   Toyota       HIGHLANDER          PHILADELPHIA              PA
109222   5TDBZRFH3KS922813   Toyota       HIGHLANDER          UNION CITY                GA
109223   5TDBZRFH3KS923282   Toyota       HIGHLANDER          NEW YORK CITY             NY
109224   5TDBZRFH3KS923363   Toyota       HIGHLANDER          ALEXANDRIA                VA
109225   5TDBZRFH3KS923699   Toyota       HIGHLANDER          PHILADELPHIA              PA
109226   5TDBZRFH3KS923718   Toyota       HIGHLANDER          NORFOLK                   VA
109227   5TDBZRFH3KS923735   Toyota       HIGHLANDER          Detroit                   MI
109228   5TDBZRFH3KS924156   Toyota       HIGHLANDER          WHITE PLAINS              NY
109229   5TDBZRFH3KS924268   Toyota       HIGHLANDER          PHILADELPHIA              PA
109230   5TDBZRFH3KS924352   Toyota       HIGHLANDER          INDIANAPOLIS              IN
109231   5TDBZRFH3KS924366   Toyota       HIGHLANDER          CHEEKTOWAGA               NY
109232   5TDBZRFH3KS924402   Toyota       HIGHLANDER          Teterboro                 NJ
109233   5TDBZRFH3KS924495   Toyota       HIGHLANDER          MORRISVILLE               NC
109234   5TDBZRFH3KS943239   Toyota       HIGHLANDER          SARASOTA                  FL
109235   5TDBZRFH3KS943418   Toyota       HIGHLANDER          TAMPA                     US
109236   5TDBZRFH3KS943760   Toyota       HIGHLANDER          HEBRON                    KY
109237   5TDBZRFH3KS943788   Toyota       HIGHLANDER          DANIA                     FL
109238   5TDBZRFH3KS943810   Toyota       HIGHLANDER          DANIA                     FL
109239   5TDBZRFH3KS944228   Toyota       HIGHLANDER          TAMPA                     US
109240   5TDBZRFH3KS944262   Toyota       HIGHLANDER          SAN DIEGO                 CA
109241   5TDBZRFH3KS944617   Toyota       HIGHLANDER          UNION CITY                GA
109242   5TDBZRFH3KS944715   Toyota       HIGHLANDER          TAMPA                     US
109243   5TDBZRFH3KS945086   Toyota       HIGHLANDER          NEW ORLEANS               LA
109244   5TDBZRFH3KS945184   Toyota       HIGHLANDER          PORTLAND                  OR
109245   5TDBZRFH3KS945623   Toyota       HIGHLANDER          NEW BERN                  NC
109246   5TDBZRFH3KS945735   Toyota       HIGHLANDER          ORLANDO                   FL
109247   5TDBZRFH3KS946092   Toyota       HIGHLANDER          Miami                     FL
109248   5TDBZRFH3KS946125   Toyota       HIGHLANDER          JACKSONVILLE              FL
109249   5TDBZRFH3KS946478   Toyota       HIGHLANDER          West Palm Beach           FL
109250   5TDBZRFH3KS946545   Toyota       HIGHLANDER          ORLANDO                   FL
109251   5TDBZRFH3KS946593   Toyota       HIGHLANDER          Miami                     FL
109252   5TDBZRFH3KS955262   Toyota       HIGHLANDER          PHILADELPHIA              PA
109253   5TDBZRFH3KS960350   Toyota       HIGHLANDER          ORLANDO                   FL
109254   5TDBZRFH3KS960476   Toyota       HIGHLANDER          NORFOLK                   VA
109255   5TDBZRFH3KS960851   Toyota       HIGHLANDER          EAST BOSTON               MA
109256   5TDBZRFH3KS961384   Toyota       HIGHLANDER          FAYETTEVILLE              GA
109257   5TDBZRFH3KS961398   Toyota       HIGHLANDER          EAST BOSTON               MA
109258   5TDBZRFH3KS962289   Toyota       HIGHLANDER          NEWARK                    NJ
109259   5TDBZRFH3KS962499   Toyota       HIGHLANDER          NEW BERN                  NC
109260   5TDBZRFH3KS962633   Toyota       HIGHLANDER          Cincinnati                OH
109261   5TDBZRFH3KS962678   Toyota       HIGHLANDER          Hebron                    KY
109262   5TDBZRFH3KS962695   Toyota       HIGHLANDER          PITTSBURGH                PA
109263   5TDBZRFH3KS962714   Toyota       HIGHLANDER          SCOTRUN                   PA
109264   5TDBZRFH3KS962731   Toyota       HIGHLANDER          WARWICK                   RI
109265   5TDBZRFH3KS962745   Toyota       HIGHLANDER          CHEEKTOWAGA               NY
109266   5TDBZRFH3KS963197   Toyota       HIGHLANDER          PHILADELPHIA              PA
109267   5TDBZRFH3KS963541   Toyota       HIGHLANDER          Kansas City               MO
109268   5TDBZRFH3KS963622   Toyota       HIGHLANDER          NEW BERN                  NC
109269   5TDBZRFH3KS963913   Toyota       HIGHLANDER          STERLING                  US
109270   5TDBZRFH3KS963930   Toyota       HIGHLANDER          UNION CITY                GA
109271   5TDBZRFH4KS921119   Toyota       HIGHLANDER          LOUISVILLE                KY
109272   5TDBZRFH4KS922674   Toyota       HIGHLANDER          UNION CITY                GA
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109273   5TDBZRFH4KS922691   Toyota       HIGHLANDER          PHILADELPHIA              PA
109274   5TDBZRFH4KS922710   Toyota       HIGHLANDER          DANIA                     FL
109275   5TDBZRFH4KS922917   Toyota       HIGHLANDER          ALBANY                    N
109276   5TDBZRFH4KS922951   Toyota       HIGHLANDER          WARWICK                   RI
109277   5TDBZRFH4KS923419   Toyota       HIGHLANDER          KENNER                    LA
109278   5TDBZRFH4KS923985   Toyota       HIGHLANDER          WARWICK                   RI
109279   5TDBZRFH4KS924148   Toyota       HIGHLANDER          HARTFORD                  CT
109280   5TDBZRFH4KS924425   Toyota       HIGHLANDER          WARWICK                   RI
109281   5TDBZRFH4KS925025   Toyota       HIGHLANDER          NEW YORK CITY             NY
109282   5TDBZRFH4KS925073   Toyota       HIGHLANDER          STERLING                  VA
109283   5TDBZRFH4KS943458   Toyota       HIGHLANDER          SACRAMENTO                CA
109284   5TDBZRFH4KS943606   Toyota       HIGHLANDER          DFW AIRPORT               TX
109285   5TDBZRFH4KS943816   Toyota       HIGHLANDER          RICHMOND                  VA
109286   5TDBZRFH4KS944027   Toyota       HIGHLANDER          LOS ANGELES               CA
109287   5TDBZRFH4KS944271   Toyota       HIGHLANDER          Miami                     FL
109288   5TDBZRFH4KS944349   Toyota       HIGHLANDER          TAMPA                     US
109289   5TDBZRFH4KS944626   Toyota       HIGHLANDER          KNOXVILLE                 TN
109290   5TDBZRFH4KS944674   Toyota       HIGHLANDER          Miami                     FL
109291   5TDBZRFH4KS944688   Toyota       HIGHLANDER          PHILADELPHIA              PA
109292   5TDBZRFH4KS944707   Toyota       HIGHLANDER          ORLANDO                   FL
109293   5TDBZRFH4KS944755   Toyota       HIGHLANDER          KANSAS CITY               MO
109294   5TDBZRFH4KS945078   Toyota       HIGHLANDER          Dania Beach               FL
109295   5TDBZRFH4KS945131   Toyota       HIGHLANDER          SAVANNAH                  GA
109296   5TDBZRFH4KS945565   Toyota       HIGHLANDER          Miami                     FL
109297   5TDBZRFH4KS945632   Toyota       HIGHLANDER          West Palm Beach           FL
109298   5TDBZRFH4KS945758   Toyota       HIGHLANDER          CHICAGO                   IL
109299   5TDBZRFH4KS946103   Toyota       HIGHLANDER          MORRISVILLE               NC
109300   5TDBZRFH4KS946537   Toyota       HIGHLANDER          TAMPA                     US
109301   5TDBZRFH4KS960731   Toyota       HIGHLANDER          TULS                      OK
109302   5TDBZRFH4KS960759   Toyota       HIGHLANDER          WARWICK                   RI
109303   5TDBZRFH4KS960891   Toyota       HIGHLANDER          PHILADELPHIA              PA
109304   5TDBZRFH4KS961068   Toyota       HIGHLANDER          NEW BERN                  NC
109305   5TDBZRFH4KS961362   Toyota       HIGHLANDER          West Palm Beach           FL
109306   5TDBZRFH4KS962379   Toyota       HIGHLANDER          BOSTON                    MA
109307   5TDBZRFH4KS962690   Toyota       HIGHLANDER          FORT MYERS                FL
109308   5TDBZRFH4KS962754   Toyota       HIGHLANDER          PHILADELPHIA              PA
109309   5TDBZRFH4KS963130   Toyota       HIGHLANDER          DANIA                     FL
109310   5TDBZRFH4KS963161   Toyota       HIGHLANDER          Atlanta                   GA
109311   5TDBZRFH4KS963208   Toyota       HIGHLANDER          Atlanta                   GA
109312   5TDBZRFH4KS963614   Toyota       HIGHLANDER          GRAND RAPIDS              MI
109313   5TDBZRFH4KS963662   Toyota       HIGHLANDER          West Palm Beach           FL
109314   5TDBZRFH4KS964066   Toyota       HIGHLANDER          Revere                    MA
109315   5TDBZRFH4KS964083   Toyota       HIGHLANDER          MONTGOMERY                AL
109316   5TDBZRFH4KS964469   Toyota       HIGHLANDER          KNOXVILLE                 TN
109317   5TDBZRFH5KS922215   Toyota       HIGHLANDER          Cleveland                 OH
109318   5TDBZRFH5KS922683   Toyota       HIGHLANDER          UNION CITY                GA
109319   5TDBZRFH5KS922795   Toyota       HIGHLANDER          GRAND RAPIDS              MI
109320   5TDBZRFH5KS922859   Toyota       HIGHLANDER          NEWARK                    NJ
109321   5TDBZRFH5KS922909   Toyota       HIGHLANDER          NORFOLK                   VA
109322   5TDBZRFH5KS923011   Toyota       HIGHLANDER          CLEVELAND                 OH
109323   5TDBZRFH5KS923056   Toyota       HIGHLANDER          UNION CITY                GA
109324   5TDBZRFH5KS923378   Toyota       HIGHLANDER          PHILADELPHIA              PA
109325   5TDBZRFH5KS923459   Toyota       HIGHLANDER          TAMPA                     US
109326   5TDBZRFH5KS923512   Toyota       HIGHLANDER          PHILADELPHIA              US
109327   5TDBZRFH5KS923557   Toyota       HIGHLANDER          Atlanta                   GA
109328   5TDBZRFH5KS924062   Toyota       HIGHLANDER          HARRISBURG                PA
109329   5TDBZRFH5KS924143   Toyota       HIGHLANDER          INDIANAPOLIS              IN
109330   5TDBZRFH5KS924272   Toyota       HIGHLANDER          WHITE PLAINS              NY
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109331   5TDBZRFH5KS924594   Toyota       HIGHLANDER          NEW YORK CITY             NY
109332   5TDBZRFH5KS924871   Toyota       HIGHLANDER          NEW YORK CITY             NY
109333   5TDBZRFH5KS924983   Toyota       HIGHLANDER          PEABODY                   MA
109334   5TDBZRFH5KS925096   Toyota       HIGHLANDER          STERLING                  US
109335   5TDBZRFH5KS925129   Toyota       HIGHLANDER          PHILADELPHIA              PA
109336   5TDBZRFH5KS943310   Toyota       HIGHLANDER          BIRMINGHAN                AL
109337   5TDBZRFH5KS943338   Toyota       HIGHLANDER          CHARLOTTE                 US
109338   5TDBZRFH5KS943372   Toyota       HIGHLANDER          ST PAUL                   MN
109339   5TDBZRFH5KS943520   Toyota       HIGHLANDER          MOBILE                    A
109340   5TDBZRFH5KS943582   Toyota       HIGHLANDER          BURLINGAME                CA
109341   5TDBZRFH5KS943596   Toyota       HIGHLANDER          PORTLAND                  OR
109342   5TDBZRFH5KS943646   Toyota       HIGHLANDER          LOS ANGELES               CA
109343   5TDBZRFH5KS943713   Toyota       HIGHLANDER          ORLANDO                   FL
109344   5TDBZRFH5KS943811   Toyota       HIGHLANDER          Dania Beach               FL
109345   5TDBZRFH5KS943856   Toyota       HIGHLANDER          FORT MYERS                FL
109346   5TDBZRFH5KS943968   Toyota       HIGHLANDER          WEST COLUMBIA             SC
109347   5TDBZRFH5KS943985   Toyota       HIGHLANDER          BURLINGAME                CA
109348   5TDBZRFH5KS944277   Toyota       HIGHLANDER          WEST PALM BEACH           FL
109349   5TDBZRFH5KS944280   Toyota       HIGHLANDER          BIRMINGHAN                AL
109350   5TDBZRFH5KS944750   Toyota       HIGHLANDER          PHOENIX                   AZ
109351   5TDBZRFH5KS944764   Toyota       HIGHLANDER          Miami                     FL
109352   5TDBZRFH5KS944800   Toyota       HIGHLANDER          KENNER                    LA
109353   5TDBZRFH5KS944814   Toyota       HIGHLANDER          PITTSBURGH                PA
109354   5TDBZRFH5KS944909   Toyota       HIGHLANDER          RENO                      NV
109355   5TDBZRFH5KS945123   Toyota       HIGHLANDER          NAPLES                    FL
109356   5TDBZRFH5KS945140   Toyota       HIGHLANDER          Dania Beach               FL
109357   5TDBZRFH5KS945154   Toyota       HIGHLANDER          FORT MYERS                FL
109358   5TDBZRFH5KS945168   Toyota       HIGHLANDER          ONTARIO                   CA
109359   5TDBZRFH5KS945171   Toyota       HIGHLANDER          UNION CITY                GA
109360   5TDBZRFH5KS945588   Toyota       HIGHLANDER          Atlanta                   GA
109361   5TDBZRFH5KS945607   Toyota       HIGHLANDER          LOUISVILLE                KY
109362   5TDBZRFH5KS946076   Toyota       HIGHLANDER          Miami                     FL
109363   5TDBZRFH5KS946109   Toyota       HIGHLANDER          KENNER                    LA
109364   5TDBZRFH5KS946482   Toyota       HIGHLANDER          Miami                     FL
109365   5TDBZRFH5KS946515   Toyota       HIGHLANDER          Charlotte                 NC
109366   5TDBZRFH5KS960379   Toyota       HIGHLANDER          EGG HARBOR TOWN           NJ
109367   5TDBZRFH5KS960883   Toyota       HIGHLANDER          CLEVELAND                 OH
109368   5TDBZRFH5KS962312   Toyota       HIGHLANDER          NORFOLK                   VA
109369   5TDBZRFH5KS962682   Toyota       HIGHLANDER          ALEXANDRIA                VA
109370   5TDBZRFH5KS963072   Toyota       HIGHLANDER          CHEEKTOWAGA               NY
109371   5TDBZRFH5KS963444   Toyota       HIGHLANDER          WHITE PLAINS              NY
109372   5TDBZRFH5KS963508   Toyota       HIGHLANDER          KANSAS CITY               MO
109373   5TDBZRFH5KS963511   Toyota       HIGHLANDER          WINDSOR LOCKS             CT
109374   5TDBZRFH5KS963752   Toyota       HIGHLANDER          LAS VEGAS                 NV
109375   5TDBZRFH5KS963895   Toyota       HIGHLANDER          ODESSA                    TX
109376   5TDBZRFH5KS963900   Toyota       HIGHLANDER          Dallas                    TX
109377   5TDBZRFH5KS964013   Toyota       HIGHLANDER          AUSTIN                    TX
109378   5TDBZRFH5KS964111   Toyota       HIGHLANDER          STERLING                  US
109379   5TDBZRFH5KS964125   Toyota       HIGHLANDER          STERLING                  VA
109380   5TDBZRFH5KS964514   Toyota       HIGHLANDER          Teterboro                 NJ
109381   5TDBZRFH6KS921669   Toyota       HIGHLANDER          Revere                    MA
109382   5TDBZRFH6KS922627   Toyota       HIGHLANDER          FORT MYERS                FL
109383   5TDBZRFH6KS922742   Toyota       HIGHLANDER          Miami                     FL
109384   5TDBZRFH6KS922790   Toyota       HIGHLANDER          NORFOLK                   VA
109385   5TDBZRFH6KS922823   Toyota       HIGHLANDER          MORRISVILLE               NC
109386   5TDBZRFH6KS923342   Toyota       HIGHLANDER          NEWARK                    NJ
109387   5TDBZRFH6KS923471   Toyota       HIGHLANDER          Revere                    MA
109388   5TDBZRFH6KS923583   Toyota       HIGHLANDER          PHILADELPHIA              PA
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109389   5TDBZRFH6KS923762   Toyota       HIGHLANDER          LOUISVILLE                KY
109390   5TDBZRFH6KS923776   Toyota       HIGHLANDER          JACKSON                   MS
109391   5TDBZRFH6KS923793   Toyota       HIGHLANDER          PHILADELPHIA              PA
109392   5TDBZRFH6KS923891   Toyota       HIGHLANDER          FLORENCE                  KY
109393   5TDBZRFH6KS924409   Toyota       HIGHLANDER          DANIA                     FL
109394   5TDBZRFH6KS924572   Toyota       HIGHLANDER          MORRISVILLE               NC
109395   5TDBZRFH6KS924765   Toyota       HIGHLANDER          CHARLESTON                WV
109396   5TDBZRFH6KS924779   Toyota       HIGHLANDER          Miami                     FL
109397   5TDBZRFH6KS924877   Toyota       HIGHLANDER          EGG HARBOR TOWN           NJ
109398   5TDBZRFH6KS924961   Toyota       HIGHLANDER          PHILADELPHIA              PA
109399   5TDBZRFH6KS925009   Toyota       HIGHLANDER          NEWARK                    NJ
109400   5TDBZRFH6KS925043   Toyota       HIGHLANDER          WEST COLUMBIA             SC
109401   5TDBZRFH6KS941002   Toyota       HIGHLANDER          Portland                  OR
109402   5TDBZRFH6KS943509   Toyota       HIGHLANDER          MIAMI                     FL
109403   5TDBZRFH6KS943963   Toyota       HIGHLANDER          Reno                      NV
109404   5TDBZRFH6KS944045   Toyota       HIGHLANDER          LAS VEGAS                 NV
109405   5TDBZRFH6KS944398   Toyota       HIGHLANDER          PORTLAND                  OR
109406   5TDBZRFH6KS945079   Toyota       HIGHLANDER          Miami                     FL
109407   5TDBZRFH6KS945082   Toyota       HIGHLANDER          Miami                     FL
109408   5TDBZRFH6KS945101   Toyota       HIGHLANDER          NAPLES                    FL
109409   5TDBZRFH6KS945549   Toyota       HIGHLANDER          TAMPA                     US
109410   5TDBZRFH6KS945552   Toyota       HIGHLANDER          UNION CITY                GA
109411   5TDBZRFH6KS946149   Toyota       HIGHLANDER          BURBANK                   CA
109412   5TDBZRFH6KS946247   Toyota       HIGHLANDER          TAMPA                     US
109413   5TDBZRFH6KS946488   Toyota       HIGHLANDER          ORLANDO                   FL
109414   5TDBZRFH6KS960388   Toyota       HIGHLANDER          RONKONKOMA                NY
109415   5TDBZRFH6KS960486   Toyota       HIGHLANDER          RICHMOND                  VA
109416   5TDBZRFH6KS960908   Toyota       HIGHLANDER          SYRACUSE                  NY
109417   5TDBZRFH6KS961380   Toyota       HIGHLANDER          STERLING                  VA
109418   5TDBZRFH6KS961394   Toyota       HIGHLANDER          UNION CITY                GA
109419   5TDBZRFH6KS962271   Toyota       HIGHLANDER          WARWICK                   RI
109420   5TDBZRFH6KS962626   Toyota       HIGHLANDER          LAS VEGAS                 NV
109421   5TDBZRFH6KS962738   Toyota       HIGHLANDER          MEMPHIS                   TN
109422   5TDBZRFH6KS962917   Toyota       HIGHLANDER          TULSA                     OK
109423   5TDBZRFH6KS963999   Toyota       HIGHLANDER          TUCSON                    US
109424   5TDBZRFH6KS964554   Toyota       HIGHLANDER          FAYETTEVILLE              GA
109425   5TDBZRFH7KS920675   Toyota       HIGHLANDER          NEWARK                    NJ
109426   5TDBZRFH7KS922670   Toyota       HIGHLANDER          TAMPA                     US
109427   5TDBZRFH7KS922684   Toyota       HIGHLANDER          RICHMOND                  VA
109428   5TDBZRFH7KS922944   Toyota       HIGHLANDER          NEWARK                    NJ
109429   5TDBZRFH7KS922961   Toyota       HIGHLANDER          NEWARK                    NJ
109430   5TDBZRFH7KS923172   Toyota       HIGHLANDER          ALEXANDRIA                VA
109431   5TDBZRFH7KS923303   Toyota       HIGHLANDER          Mt. Juliet                TN
109432   5TDBZRFH7KS923463   Toyota       HIGHLANDER          HANOVER                   MD
109433   5TDBZRFH7KS923575   Toyota       HIGHLANDER          HANOVER                   MD
109434   5TDBZRFH7KS923768   Toyota       HIGHLANDER          HANOVER                   MD
109435   5TDBZRFH7KS923804   Toyota       HIGHLANDER          NEWARK                    NJ
109436   5TDBZRFH7KS923849   Toyota       HIGHLANDER          SYRACUSE                  NY
109437   5TDBZRFH7KS923883   Toyota       HIGHLANDER          PHILADELPHIA              PA
109438   5TDBZRFH7KS923897   Toyota       HIGHLANDER          CHEEKTOWAGA               NY
109439   5TDBZRFH7KS923916   Toyota       HIGHLANDER          CHARLOTTE                 NC
109440   5TDBZRFH7KS924029   Toyota       HIGHLANDER          CHAMBLEE                  GA
109441   5TDBZRFH7KS924175   Toyota       HIGHLANDER          NEWARK                    NJ
109442   5TDBZRFH7KS924256   Toyota       HIGHLANDER          HANOVER                   MD
109443   5TDBZRFH7KS924371   Toyota       HIGHLANDER          NEW BERN                  NC
109444   5TDBZRFH7KS924385   Toyota       HIGHLANDER          WARWICK                   RI
109445   5TDBZRFH7KS924466   Toyota       HIGHLANDER          NEWARK                    NJ
109446   5TDBZRFH7KS924628   Toyota       HIGHLANDER          Miami                     FL
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109447   5TDBZRFH7KS924774   Toyota       HIGHLANDER          DANIA                     FL
109448   5TDBZRFH7KS924788   Toyota       HIGHLANDER          Cincinnati                OH
109449   5TDBZRFH7KS924791   Toyota       HIGHLANDER          MYRTLE BEACH              SC
109450   5TDBZRFH7KS924905   Toyota       HIGHLANDER          Hebron                    KY
109451   5TDBZRFH7KS943292   Toyota       HIGHLANDER          ORLANDO                   FL
109452   5TDBZRFH7KS943325   Toyota       HIGHLANDER          KNOXVILLE                 TN
109453   5TDBZRFH7KS943437   Toyota       HIGHLANDER          FORT MYERS                FL
109454   5TDBZRFH7KS943468   Toyota       HIGHLANDER          ORLANDO                   FL
109455   5TDBZRFH7KS943499   Toyota       HIGHLANDER          LAS VEGAS                 NV
109456   5TDBZRFH7KS943857   Toyota       HIGHLANDER          LOS ANGELES               CA
109457   5TDBZRFH7KS943955   Toyota       HIGHLANDER          NEWARK                    NJ
109458   5TDBZRFH7KS943972   Toyota       HIGHLANDER          LOS ANGELES               CA
109459   5TDBZRFH7KS944216   Toyota       HIGHLANDER          DETROIT                   MI
109460   5TDBZRFH7KS944300   Toyota       HIGHLANDER          BIRMINGHAN                AL
109461   5TDBZRFH7KS944426   Toyota       HIGHLANDER          MIAMI                     FL
109462   5TDBZRFH7KS944636   Toyota       HIGHLANDER          FORT MYERS                FL
109463   5TDBZRFH7KS945107   Toyota       HIGHLANDER          SARASOTA                  FL
109464   5TDBZRFH7KS945575   Toyota       HIGHLANDER          MIAMI                     FL
109465   5TDBZRFH7KS945608   Toyota       HIGHLANDER          JACKSON                   MS
109466   5TDBZRFH7KS945639   Toyota       HIGHLANDER          KNOXVILLE                 TN
109467   5TDBZRFH7KS945723   Toyota       HIGHLANDER          LOS ANGELES               CA
109468   5TDBZRFH7KS946046   Toyota       HIGHLANDER          CHARLOTTE                 NC
109469   5TDBZRFH7KS946113   Toyota       HIGHLANDER          Miami                     FL
109470   5TDBZRFH7KS946581   Toyota       HIGHLANDER          GREENVILLE                NC
109471   5TDBZRFH7KS946631   Toyota       HIGHLANDER          Dania Beach               FL
109472   5TDBZRFH7KS960156   Toyota       HIGHLANDER          JACKSONVILLE              FL
109473   5TDBZRFH7KS960268   Toyota       HIGHLANDER          LOS ANGELES               CA
109474   5TDBZRFH7KS960318   Toyota       HIGHLANDER          CHEEKTOWAGA               NY
109475   5TDBZRFH7KS960495   Toyota       HIGHLANDER          HANOVER                   MD
109476   5TDBZRFH7KS960643   Toyota       HIGHLANDER          KNOXVILLE                 TN
109477   5TDBZRFH7KS960979   Toyota       HIGHLANDER          BOSTON                    MA
109478   5TDBZRFH7KS961372   Toyota       HIGHLANDER          SAINT LOUIS               MO
109479   5TDBZRFH7KS961386   Toyota       HIGHLANDER          PHILADELPHIA              PA
109480   5TDBZRFH7KS961405   Toyota       HIGHLANDER          NEWARK                    NJ
109481   5TDBZRFH7KS961615   Toyota       HIGHLANDER          HOUSTON                   TX
109482   5TDBZRFH7KS962277   Toyota       HIGHLANDER          JAMAICA                   NY
109483   5TDBZRFH7KS962294   Toyota       HIGHLANDER          FAYETTEVILLE              GA
109484   5TDBZRFH7KS962442   Toyota       HIGHLANDER          RICHMOND                  VA
109485   5TDBZRFH7KS962750   Toyota       HIGHLANDER          CHEEKTOWAGA               NY
109486   5TDBZRFH7KS963140   Toyota       HIGHLANDER          Revere                    MA
109487   5TDBZRFH7KS963462   Toyota       HIGHLANDER          PITTSBURGH                PA
109488   5TDBZRFH7KS963641   Toyota       HIGHLANDER          ALBANY                    N
109489   5TDBZRFH7KS963963   Toyota       HIGHLANDER          NEW BERN                  NC
109490   5TDBZRFH7KS964093   Toyota       HIGHLANDER          Hebron                    KY
109491   5TDBZRFH7KS964451   Toyota       HIGHLANDER          LOUISVILLE                KY
109492   5TDBZRFH7KS964496   Toyota       HIGHLANDER          FAYETTEVILLE              US
109493   5TDBZRFH8KS920586   Toyota       HIGHLANDER          PHILADELPHIA              PA
109494   5TDBZRFH8KS921107   Toyota       HIGHLANDER          INDIANAPOLIS              IN
109495   5TDBZRFH8KS922144   Toyota       HIGHLANDER          TAMPA                     US
109496   5TDBZRFH8KS922760   Toyota       HIGHLANDER          PASADENA                  MD
109497   5TDBZRFH8KS922869   Toyota       HIGHLANDER          WHITE PLAINS              NY
109498   5TDBZRFH8KS923018   Toyota       HIGHLANDER          BOSTON                    MA
109499   5TDBZRFH8KS923214   Toyota       HIGHLANDER          NEWARK                    NJ
109500   5TDBZRFH8KS924220   Toyota       HIGHLANDER          SARASOTA                  FL
109501   5TDBZRFH8KS924380   Toyota       HIGHLANDER          ROANOKE                   VA
109502   5TDBZRFH8KS924573   Toyota       HIGHLANDER          NAPLES                    FL
109503   5TDBZRFH8KS924671   Toyota       HIGHLANDER          PHILADELPHIA              PA
109504   5TDBZRFH8KS924797   Toyota       HIGHLANDER          WARWICK                   RI
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109505   5TDBZRFH8KS925044   Toyota       HIGHLANDER          NEWARK                    NJ
109506   5TDBZRFH8KS925058   Toyota       HIGHLANDER          JACKSONVILLE              FL
109507   5TDBZRFH8KS925092   Toyota       HIGHLANDER          HANOVER                   MD
109508   5TDBZRFH8KS925108   Toyota       HIGHLANDER          Teterboro                 NJ
109509   5TDBZRFH8KS925142   Toyota       HIGHLANDER          CHARLOTTE                 NC
109510   5TDBZRFH8KS940918   Toyota       HIGHLANDER          SEATAC                    WA
109511   5TDBZRFH8KS943527   Toyota       HIGHLANDER          Miami                     FL
109512   5TDBZRFH8KS943821   Toyota       HIGHLANDER          COSTA MESA                CA
109513   5TDBZRFH8KS943866   Toyota       HIGHLANDER          LAS VEGAS                 NV
109514   5TDBZRFH8KS943897   Toyota       HIGHLANDER          Miami                     FL
109515   5TDBZRFH8KS943995   Toyota       HIGHLANDER          SACRAMENTO                CA
109516   5TDBZRFH8KS944242   Toyota       HIGHLANDER          Atlanta                   GA
109517   5TDBZRFH8KS944418   Toyota       HIGHLANDER          PHOENIX                   AZ
109518   5TDBZRFH8KS944614   Toyota       HIGHLANDER          Miami                     FL
109519   5TDBZRFH8KS944791   Toyota       HIGHLANDER          Reno                      NV
109520   5TDBZRFH8KS945584   Toyota       HIGHLANDER          RICHMOND                  VA
109521   5TDBZRFH8KS945617   Toyota       HIGHLANDER          FORT MYERS                FL
109522   5TDBZRFH8KS946086   Toyota       HIGHLANDER          CHARLESTON                SC
109523   5TDBZRFH8KS946198   Toyota       HIGHLANDER          DANIA                     FL
109524   5TDBZRFH8KS946279   Toyota       HIGHLANDER          Revere                    MA
109525   5TDBZRFH8KS946587   Toyota       HIGHLANDER          TAMPA                     US
109526   5TDBZRFH8KS946637   Toyota       HIGHLANDER          ST PAUL                   MN
109527   5TDBZRFH8KS960232   Toyota       HIGHLANDER          BIRMINGHAN                AL
109528   5TDBZRFH8KS960408   Toyota       HIGHLANDER          Revere                    MA
109529   5TDBZRFH8KS960845   Toyota       HIGHLANDER          NEW BERN                  NC
109530   5TDBZRFH8KS960893   Toyota       HIGHLANDER          Detroit                   MI
109531   5TDBZRFH8KS960926   Toyota       HIGHLANDER          Smithtown                 NY
109532   5TDBZRFH8KS962076   Toyota       HIGHLANDER          FAYETTEVILLE              GA
109533   5TDBZRFH8KS962269   Toyota       HIGHLANDER          GOLDSBORO                 NC
109534   5TDBZRFH8KS962675   Toyota       HIGHLANDER          FORT MYERS                FL
109535   5TDBZRFH8KS962692   Toyota       HIGHLANDER          ROCHESTER                 NY
109536   5TDBZRFH8KS962708   Toyota       HIGHLANDER          ALEXANDRIA                VA
109537   5TDBZRFH8KS962725   Toyota       HIGHLANDER          ALBANY                    N
109538   5TDBZRFH8KS963194   Toyota       HIGHLANDER          RICHMOND                  VA
109539   5TDBZRFH8KS963213   Toyota       HIGHLANDER          RICHMOND                  VA
109540   5TDBZRFH8KS963471   Toyota       HIGHLANDER          SUMTER                    SC
109541   5TDBZRFH8KS963597   Toyota       HIGHLANDER          SAINT LOUIS               MO
109542   5TDBZRFH8KS963602   Toyota       HIGHLANDER          WHITE PLAINS              NY
109543   5TDBZRFH8KS964099   Toyota       HIGHLANDER          WEST COLUMBIA             SC
109544   5TDBZRFH8KS964278   Toyota       HIGHLANDER          MEDINA                    OH
109545   5TDBZRFH8KS964443   Toyota       HIGHLANDER          CHICAGO                   IL
109546   5TDBZRFH8KS964460   Toyota       HIGHLANDER          WINDSOR LOCKS             CT
109547   5TDBZRFH9KS920158   Toyota       HIGHLANDER          NEW YORK CITY             NY
109548   5TDBZRFH9KS920628   Toyota       HIGHLANDER          SAVANNAH                  GA
109549   5TDBZRFH9KS921116   Toyota       HIGHLANDER          PHILADELPHIA              PA
109550   5TDBZRFH9KS922699   Toyota       HIGHLANDER          WINDSOR LOCKS             CT
109551   5TDBZRFH9KS922752   Toyota       HIGHLANDER          HANOVER                   MD
109552   5TDBZRFH9KS922816   Toyota       HIGHLANDER          DANIA                     FL
109553   5TDBZRFH9KS923206   Toyota       HIGHLANDER          KENNER                    LA
109554   5TDBZRFH9KS923786   Toyota       HIGHLANDER          Detroit                   MI
109555   5TDBZRFH9KS923917   Toyota       HIGHLANDER          ORLANDO                   FL
109556   5TDBZRFH9KS924050   Toyota       HIGHLANDER          INDIANAPOLIS              IN
109557   5TDBZRFH9KS924260   Toyota       HIGHLANDER          ORLANDO                   FL
109558   5TDBZRFH9KS924341   Toyota       HIGHLANDER          SAINT LOUIS               MO
109559   5TDBZRFH9KS924615   Toyota       HIGHLANDER          Revere                    MA
109560   5TDBZRFH9KS924694   Toyota       HIGHLANDER          TAMPA                     US
109561   5TDBZRFH9KS924937   Toyota       HIGHLANDER          PITTSBURGH                PA
109562   5TDBZRFH9KS924971   Toyota       HIGHLANDER          NEWARK                    NJ
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109563   5TDBZRFH9KS943245   Toyota       HIGHLANDER          SAINT LOUIS               MO
109564   5TDBZRFH9KS943312   Toyota       HIGHLANDER          DANIA                     FL
109565   5TDBZRFH9KS943360   Toyota       HIGHLANDER          BOSTON                    MA
109566   5TDBZRFH9KS943567   Toyota       HIGHLANDER          FRESNO                    CA
109567   5TDBZRFH9KS943861   Toyota       HIGHLANDER          FORT MYERS                FL
109568   5TDBZRFH9KS943889   Toyota       HIGHLANDER          DRB                       UT
109569   5TDBZRFH9KS943892   Toyota       HIGHLANDER          SEATAC                    WA
109570   5TDBZRFH9KS944010   Toyota       HIGHLANDER          OAKLAND                   CA
109571   5TDBZRFH9KS944055   Toyota       HIGHLANDER          OAKLAND                   CA
109572   5TDBZRFH9KS944203   Toyota       HIGHLANDER          JACKSONVILLE              FL
109573   5TDBZRFH9KS944248   Toyota       HIGHLANDER          HEBRON                    KY
109574   5TDBZRFH9KS944377   Toyota       HIGHLANDER          Revere                    MA
109575   5TDBZRFH9KS944444   Toyota       HIGHLANDER          FRESNO                    CA
109576   5TDBZRFH9KS944721   Toyota       HIGHLANDER          WILLIAMSBURG              US
109577   5TDBZRFH9KS944752   Toyota       HIGHLANDER          ORLANDO                   FL
109578   5TDBZRFH9KS945075   Toyota       HIGHLANDER          Miami                     FL
109579   5TDBZRFH9KS945108   Toyota       HIGHLANDER          ORLANDO                   FL
109580   5TDBZRFH9KS945545   Toyota       HIGHLANDER          Miami                     FL
109581   5TDBZRFH9KS945707   Toyota       HIGHLANDER          SANTA ANA                 CA
109582   5TDBZRFH9KS946033   Toyota       HIGHLANDER          West Palm Beach           FL
109583   5TDBZRFH9KS946050   Toyota       HIGHLANDER          DANIA                     FL
109584   5TDBZRFH9KS946159   Toyota       HIGHLANDER          WEST PALM BEACH           FL
109585   5TDBZRFH9KS946503   Toyota       HIGHLANDER          Miami                     FL
109586   5TDBZRFH9KS946548   Toyota       HIGHLANDER          FRESNO                    CA
109587   5TDBZRFH9KS946629   Toyota       HIGHLANDER          JACKSONVILLE              FL
109588   5TDBZRFH9KS960482   Toyota       HIGHLANDER          TAMPA                     US
109589   5TDBZRFH9KS960708   Toyota       HIGHLANDER          UNION CITY                GA
109590   5TDBZRFH9KS960935   Toyota       HIGHLANDER          DANIA                     FL
109591   5TDBZRFH9KS962300   Toyota       HIGHLANDER          UNION CITY                GA
109592   5TDBZRFH9KS962720   Toyota       HIGHLANDER          HANOVER                   MD
109593   5TDBZRFH9KS963155   Toyota       HIGHLANDER          UNION CITY                GA
109594   5TDBZRFH9KS963205   Toyota       HIGHLANDER          SYRACUSE                  NY
109595   5TDBZRFH9KS963639   Toyota       HIGHLANDER          HARRISBURG                PA
109596   5TDBZRFH9KS963673   Toyota       HIGHLANDER          SYRACUSE                  NY
109597   5TDBZRFH9KS964046   Toyota       HIGHLANDER          CHAMBERSBURG              PA
109598   5TDBZRFH9KS964113   Toyota       HIGHLANDER          Revere                    MA
109599   5TDBZRFH9KS964144   Toyota       HIGHLANDER          WICHITA FALLS             TX
109600   5TDBZRFH9KS964337   Toyota       HIGHLANDER          WINDSOR LOCKS             CT
109601   5TDBZRFH9KS964497   Toyota       HIGHLANDER          SAN ANTONIO               TX
109602   5TDBZRFHXKS920069   Toyota       HIGHLANDER          NEWARK                    NJ
109603   5TDBZRFHXKS922663   Toyota       HIGHLANDER          DANIA                     FL
109604   5TDBZRFHXKS922856   Toyota       HIGHLANDER          SYRACUSE                  NY
109605   5TDBZRFHXKS923294   Toyota       HIGHLANDER          SYRACUSE                  NY
109606   5TDBZRFHXKS923361   Toyota       HIGHLANDER          PHILADELPHIA              PA
109607   5TDBZRFHXKS923487   Toyota       HIGHLANDER          Teterboro                 NJ
109608   5TDBZRFHXKS923604   Toyota       HIGHLANDER          BOSTON                    MA
109609   5TDBZRFHXKS924493   Toyota       HIGHLANDER          Teterboro                 NJ
109610   5TDBZRFHXKS924834   Toyota       HIGHLANDER          Woodhaven                 MI
109611   5TDBZRFHXKS924851   Toyota       HIGHLANDER          NEWARK                    NJ
109612   5TDBZRFHXKS924896   Toyota       HIGHLANDER          GREENSBORO                NC
109613   5TDBZRFHXKS924901   Toyota       HIGHLANDER          NORFOLK                   VA
109614   5TDBZRFHXKS942332   Toyota       HIGHLANDER          LAKEWOOD                  WA
109615   5TDBZRFHXKS943285   Toyota       HIGHLANDER          WEST PALM BEACH           FL
109616   5TDBZRFHXKS943609   Toyota       HIGHLANDER          SEATAC                    WA
109617   5TDBZRFHXKS943903   Toyota       HIGHLANDER          SAN JOSE                  CA
109618   5TDBZRFHXKS944212   Toyota       HIGHLANDER          ORLANDO                   FL
109619   5TDBZRFHXKS944484   Toyota       HIGHLANDER          LOS ANGELES               CA
109620   5TDBZRFHXKS944646   Toyota       HIGHLANDER          SARASOTA                  FL
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109621   5TDBZRFHXKS944789   Toyota       HIGHLANDER          JACKSON                   MS
109622   5TDBZRFHXKS945117   Toyota       HIGHLANDER          MEMPHIS                   TN
109623   5TDBZRFHXKS945666   Toyota       HIGHLANDER          JACKSONVILLE              FL
109624   5TDBZRFHXKS945683   Toyota       HIGHLANDER          WEST PALM BEACH           FL
109625   5TDBZRFHXKS946042   Toyota       HIGHLANDER          Miami                     FL
109626   5TDBZRFHXKS946185   Toyota       HIGHLANDER          COSTA MESA                CA
109627   5TDBZRFHXKS946557   Toyota       HIGHLANDER          West Palm Beach           FL
109628   5TDBZRFHXKS960927   Toyota       HIGHLANDER          HANOVER                   MD
109629   5TDBZRFHXKS960944   Toyota       HIGHLANDER          MORRISVILLE               NC
109630   5TDBZRFHXKS962287   Toyota       HIGHLANDER          Dania Beach               FL
109631   5TDBZRFHXKS962306   Toyota       HIGHLANDER          MANCHESTER                US
109632   5TDBZRFHXKS962418   Toyota       HIGHLANDER          ST PAUL                   MN
109633   5TDBZRFHXKS962676   Toyota       HIGHLANDER          Atlanta                   GA
109634   5TDBZRFHXKS962743   Toyota       HIGHLANDER          CLEVELAND                 OH
109635   5TDBZRFHXKS963021   Toyota       HIGHLANDER          KANSAS CITY               MO
109636   5TDBZRFHXKS963178   Toyota       HIGHLANDER          CLEVELAND                 OH
109637   5TDBZRFHXKS963200   Toyota       HIGHLANDER          GREENVILLE                NC
109638   5TDBZRFHXKS963455   Toyota       HIGHLANDER          KNOXVILLE                 TN
109639   5TDBZRFHXKS963908   Toyota       HIGHLANDER          HOUSTON                   TX
109640   5TDBZRFHXKS963990   Toyota       HIGHLANDER          LOUISVILLE                KY
109641   5TDBZRFHXKS964007   Toyota       HIGHLANDER          LOS ANGELES               CA
109642   5TDBZRFHXKS964041   Toyota       HIGHLANDER          HANOVER                   MD
109643   5TDBZRFHXKS964444   Toyota       HIGHLANDER          Dania Beach               FL
109644   5TDBZRFHXKS964492   Toyota       HIGHLANDER          LITTLE ROCK               AR
109645   5TDBZRFHXKS964511   Toyota       HIGHLANDER          Bensalem                  PA
109646   5TDBZRFHXKS964556   Toyota       HIGHLANDER          WARWICK                   RI
109647   5TDDGRFH2KS072865   Toyota       HIGHLANDER          NEWARK                    NJ
109648   5TDGZRAH0LS004936   Toyota       HIGHLANDER          LOS ANGELES               CA
109649   5TDGZRAH0LS005374   Toyota       HIGHLANDER          COLLEGE PARK              GA
109650   5TDGZRAH0LS005553   Toyota       HIGHLANDER          INGLEWOOD                 CA
109651   5TDGZRAH0LS006735   Toyota       HIGHLANDER          NORTH HILLS               CA
109652   5TDGZRAH0LS006816   Toyota       HIGHLANDER          Atlanta                   GA
109653   5TDGZRAH0LS006993   Toyota       HIGHLANDER          LAS VEGAS                 NV
109654   5TDGZRAH0LS007013   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109655   5TDGZRAH0LS007206   Toyota       HIGHLANDER          SAINT LOUIS               MO
109656   5TDGZRAH0LS007335   Toyota       HIGHLANDER          KNOXVILLE                 TN
109657   5TDGZRAH0LS009375   Toyota       HIGHLANDER          PHOENIX                   AZ
109658   5TDGZRAH0LS010168   Toyota       HIGHLANDER          Phoenix                   AZ
109659   5TDGZRAH0LS010803   Toyota       HIGHLANDER          SAN DIEGO                 CA
109660   5TDGZRAH0LS010834   Toyota       HIGHLANDER          HOUSTON                   TX
109661   5TDGZRAH0LS501677   Toyota       HIGHLANDER          SAN JOSE                  CA
109662   5TDGZRAH0LS501954   Toyota       HIGHLANDER          LAS VEGAS                 NV
109663   5TDGZRAH0LS501968   Toyota       HIGHLANDER          SAN DIEGO                 CA
109664   5TDGZRAH0LS502151   Toyota       HIGHLANDER          MONTCLAIR                 CA
109665   5TDGZRAH0LS502389   Toyota       HIGHLANDER          PHOENIX                   AZ
109666   5TDGZRAH0LS502585   Toyota       HIGHLANDER          BURBANK                   CA
109667   5TDGZRAH0LS502747   Toyota       HIGHLANDER          PORTLAND                  OR
109668   5TDGZRAH0LS502750   Toyota       HIGHLANDER          BURBANK                   CA
109669   5TDGZRAH0LS502926   Toyota       HIGHLANDER          ATLANTA                   GA
109670   5TDGZRAH0LS502943   Toyota       HIGHLANDER          SAN DIEGO                 CA
109671   5TDGZRAH0LS503073   Toyota       HIGHLANDER          LAS VEGAS                 NV
109672   5TDGZRAH0LS504725   Toyota       HIGHLANDER          PHOENIX                   AZ
109673   5TDGZRAH0LS505373   Toyota       HIGHLANDER          KNOXVILLE                 TN
109674   5TDGZRAH0LS505812   Toyota       HIGHLANDER          PHOENIX                   AZ
109675   5TDGZRAH1LS004864   Toyota       HIGHLANDER          PENSACOLA                 FL
109676   5TDGZRAH1LS004945   Toyota       HIGHLANDER          SAN DIEGO                 US
109677   5TDGZRAH1LS004962   Toyota       HIGHLANDER          LOS ANGELES               CA
109678   5TDGZRAH1LS005125   Toyota       HIGHLANDER          BIRMINGHAN                AL
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109679   5TDGZRAH1LS005528   Toyota       HIGHLANDER          MEMPHIS                   TN
109680   5TDGZRAH1LS005559   Toyota       HIGHLANDER          LOS ANGELES               CA
109681   5TDGZRAH1LS006503   Toyota       HIGHLANDER          INGLEWOOD                 CA
109682   5TDGZRAH1LS006517   Toyota       HIGHLANDER          OAKLAND                   CA
109683   5TDGZRAH1LS006713   Toyota       HIGHLANDER          LOS ANGELES               CA
109684   5TDGZRAH1LS006985   Toyota       HIGHLANDER          LAS VEGAS                 NV
109685   5TDGZRAH1LS007005   Toyota       HIGHLANDER          SANTA ANA                 CA
109686   5TDGZRAH1LS009286   Toyota       HIGHLANDER          SANTA ANA                 CA
109687   5TDGZRAH1LS501865   Toyota       HIGHLANDER          Tulsa                     OK
109688   5TDGZRAH1LS502322   Toyota       HIGHLANDER          SACRAMENTO                CA
109689   5TDGZRAH1LS502398   Toyota       HIGHLANDER          LOS ANGELES               CA
109690   5TDGZRAH1LS502708   Toyota       HIGHLANDER          BIRMINGHAN                AL
109691   5TDGZRAH1LS502756   Toyota       HIGHLANDER          LOS ANGELES               CA
109692   5TDGZRAH1LS503115   Toyota       HIGHLANDER          LOS ANGELES               CA
109693   5TDGZRAH1LS503678   Toyota       HIGHLANDER          SAINT LOUIS               MO
109694   5TDGZRAH1LS504913   Toyota       HIGHLANDER          PHOENIX                   AZ
109695   5TDGZRAH1LS505611   Toyota       HIGHLANDER          PHOENIX                   AZ
109696   5TDGZRAH2LS004856   Toyota       HIGHLANDER          CLEVELAND                 OH
109697   5TDGZRAH2LS005179   Toyota       HIGHLANDER          ORANGE COUNTY             CA
109698   5TDGZRAH2LS005537   Toyota       HIGHLANDER          Atlanta                   GA
109699   5TDGZRAH2LS005540   Toyota       HIGHLANDER          ATLANTA                   GA
109700   5TDGZRAH2LS005649   Toyota       HIGHLANDER          LOS ANGELES               CA
109701   5TDGZRAH2LS005764   Toyota       HIGHLANDER          COLLEGE PARK              GA
109702   5TDGZRAH2LS005814   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109703   5TDGZRAH2LS005862   Toyota       HIGHLANDER          PALM SPRINGS              CA
109704   5TDGZRAH2LS006087   Toyota       HIGHLANDER          SAN DIEGO                 CA
109705   5TDGZRAH2LS006249   Toyota       HIGHLANDER          BIRMINGHAM                AL
109706   5TDGZRAH2LS006400   Toyota       HIGHLANDER          CHARLESTON                WV
109707   5TDGZRAH2LS006431   Toyota       HIGHLANDER          LOS ANGELES               CA
109708   5TDGZRAH2LS006445   Toyota       HIGHLANDER          BIRMINGHAM                AL
109709   5TDGZRAH2LS006686   Toyota       HIGHLANDER          OKLAHOMA CITY             OK
109710   5TDGZRAH2LS006770   Toyota       HIGHLANDER          LOS ANGELES               CA
109711   5TDGZRAH2LS006851   Toyota       HIGHLANDER          LAS VEGAS                 NV
109712   5TDGZRAH2LS007000   Toyota       HIGHLANDER          SAN DIEGO                 CA
109713   5TDGZRAH2LS008065   Toyota       HIGHLANDER          LOUISVILLE                KY
109714   5TDGZRAH2LS010009   Toyota       HIGHLANDER          Atlanta                   GA
109715   5TDGZRAH2LS010172   Toyota       HIGHLANDER          PHOENIX                   AZ
109716   5TDGZRAH2LS010589   Toyota       HIGHLANDER          PHOENIX                   AZ
109717   5TDGZRAH2LS501454   Toyota       HIGHLANDER          NEW ORLEANS               LA
109718   5TDGZRAH2LS501650   Toyota       HIGHLANDER          BIRMINGHAM                AL
109719   5TDGZRAH2LS501860   Toyota       HIGHLANDER          FRESNO                    CA
109720   5TDGZRAH2LS501955   Toyota       HIGHLANDER          PORTLAND                  OR
109721   5TDGZRAH2LS502166   Toyota       HIGHLANDER          PALM SPRINGS              CA
109722   5TDGZRAH2LS502443   Toyota       HIGHLANDER          BURBANK                   CA
109723   5TDGZRAH2LS502555   Toyota       HIGHLANDER          DALLAS                    TX
109724   5TDGZRAH2LS502748   Toyota       HIGHLANDER          SACRAMENTO                CA
109725   5TDGZRAH2LS503110   Toyota       HIGHLANDER          SAN DIEGO                 US
109726   5TDGZRAH2LS504922   Toyota       HIGHLANDER          PHOENIX                   AZ
109727   5TDGZRAH2LS505150   Toyota       HIGHLANDER          CHAMBLEE                  GA
109728   5TDGZRAH2LS505598   Toyota       HIGHLANDER          TUCSON                    AZ
109729   5TDGZRAH2LS505939   Toyota       HIGHLANDER          PHOENIX                   AZ
109730   5TDGZRAH3LS004851   Toyota       HIGHLANDER          PORTLAND                  OR
109731   5TDGZRAH3LS005143   Toyota       HIGHLANDER          ONTARIO                   CA
109732   5TDGZRAH3LS005742   Toyota       HIGHLANDER          SEATTLE                   WA
109733   5TDGZRAH3LS005840   Toyota       HIGHLANDER          Tulsa                     OK
109734   5TDGZRAH3LS006146   Toyota       HIGHLANDER          LOS ANGELES               CA
109735   5TDGZRAH3LS006292   Toyota       HIGHLANDER          ORANGE COUNTY             CA
109736   5TDGZRAH3LS006308   Toyota       HIGHLANDER          BURBANK                   CA
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109737   5TDGZRAH3LS006678   Toyota       HIGHLANDER          NOEMAN                    OK
109738   5TDGZRAH3LS006759   Toyota       HIGHLANDER          PICO RIVERA               CA
109739   5TDGZRAH3LS006955   Toyota       HIGHLANDER          LOS ANGELES               CA
109740   5TDGZRAH3LS007023   Toyota       HIGHLANDER          NORTH HILLS               CA
109741   5TDGZRAH3LS007815   Toyota       HIGHLANDER          SAINT LOUIS               MO
109742   5TDGZRAH3LS008091   Toyota       HIGHLANDER          KNOXVILLE                 TN
109743   5TDGZRAH3LS009449   Toyota       HIGHLANDER          PHOENIX                   AZ
109744   5TDGZRAH3LS502158   Toyota       HIGHLANDER          Dallas                    TX
109745   5TDGZRAH3LS502161   Toyota       HIGHLANDER          LOS ANGELES               CA
109746   5TDGZRAH3LS502399   Toyota       HIGHLANDER          LOS ANGELES               CA
109747   5TDGZRAH3LS502936   Toyota       HIGHLANDER          Tulsa                     OK
109748   5TDGZRAH3LS504945   Toyota       HIGHLANDER          ATLANTA                   GA
109749   5TDGZRAH3LS505593   Toyota       HIGHLANDER          PHOENIX                   AZ
109750   5TDGZRAH4LS004258   Toyota       HIGHLANDER          HOUSTON                   TX
109751   5TDGZRAH4LS005118   Toyota       HIGHLANDER          PANAMA CITY               FL
109752   5TDGZRAH4LS005183   Toyota       HIGHLANDER          PALM SPRINGS              CA
109753   5TDGZRAH4LS005409   Toyota       HIGHLANDER          SANTA ANA                 CA
109754   5TDGZRAH4LS005412   Toyota       HIGHLANDER          DALLAS                    TX
109755   5TDGZRAH4LS005829   Toyota       HIGHLANDER          DALLAS                    TX
109756   5TDGZRAH4LS005863   Toyota       HIGHLANDER          Victorville               CA
109757   5TDGZRAH4LS006088   Toyota       HIGHLANDER          ST PAUL                   MN
109758   5TDGZRAH4LS006303   Toyota       HIGHLANDER          Seattle                   WA
109759   5TDGZRAH4LS006785   Toyota       HIGHLANDER          SAN JOSE                  CA
109760   5TDGZRAH4LS007421   Toyota       HIGHLANDER          Tulsa                     OK
109761   5TDGZRAH4LS502430   Toyota       HIGHLANDER          ONTARIO                   CA
109762   5TDGZRAH4LS502718   Toyota       HIGHLANDER          KNOXVILLE                 TN
109763   5TDGZRAH4LS502735   Toyota       HIGHLANDER          DFW AIRPORT               TX
109764   5TDGZRAH4LS502945   Toyota       HIGHLANDER          BURBANK                   CA
109765   5TDGZRAH4LS505859   Toyota       HIGHLANDER          Phoenix                   AZ
109766   5TDGZRAH5LS003927   Toyota       HIGHLANDER          DALLAS                    TX
109767   5TDGZRAH5LS004947   Toyota       HIGHLANDER          OAKLAND                   CA
109768   5TDGZRAH5LS005094   Toyota       HIGHLANDER          PENSACOLA                 FL
109769   5TDGZRAH5LS005158   Toyota       HIGHLANDER          OKLAHOMA CITY             OK
109770   5TDGZRAH5LS005189   Toyota       HIGHLANDER          LOS ANGELES               CA
109771   5TDGZRAH5LS005323   Toyota       HIGHLANDER          BURBANK                   CA
109772   5TDGZRAH5LS005502   Toyota       HIGHLANDER          ATLANTA                   GA
109773   5TDGZRAH5LS005810   Toyota       HIGHLANDER          ONTARIO                   CA
109774   5TDGZRAH5LS005855   Toyota       HIGHLANDER          LOS ANGELES               CA
109775   5TDGZRAH5LS006021   Toyota       HIGHLANDER          BIRMINGHAM                AL
109776   5TDGZRAH5LS006262   Toyota       HIGHLANDER          LAS VEGAS                 NV
109777   5TDGZRAH5LS006312   Toyota       HIGHLANDER          LOS ANGELES               CA
109778   5TDGZRAH5LS006665   Toyota       HIGHLANDER          Atlanta                   GA
109779   5TDGZRAH5LS006701   Toyota       HIGHLANDER          SAN DIEGO                 CA
109780   5TDGZRAH5LS006763   Toyota       HIGHLANDER          LOS ANGELES               CA
109781   5TDGZRAH5LS007427   Toyota       HIGHLANDER          MEMPHIS                   TN
109782   5TDGZRAH5LS008111   Toyota       HIGHLANDER          KNOXVILLE                 TN
109783   5TDGZRAH5LS008304   Toyota       HIGHLANDER          GRAND RAPIDS              MI
109784   5TDGZRAH5LS501870   Toyota       HIGHLANDER          SANTA CLARA               CA
109785   5TDGZRAH5LS502162   Toyota       HIGHLANDER          LOS ANGELES               CA
109786   5TDGZRAH5LS502274   Toyota       HIGHLANDER          AUSTIN                    TX
109787   5TDGZRAH5LS502565   Toyota       HIGHLANDER          LOS ANGELES               CA
109788   5TDGZRAH5LS502596   Toyota       HIGHLANDER          KNOXVILLE                 TN
109789   5TDGZRAH5LS502940   Toyota       HIGHLANDER          SAN DIEGO                 US
109790   5TDGZRAH5LS503506   Toyota       HIGHLANDER          SAINT LOUIS               MO
109791   5TDGZRAH5LS503683   Toyota       HIGHLANDER          KNOXVILLE                 TN
109792   5TDGZRAH5LS505594   Toyota       HIGHLANDER          Phoenix                   AZ
109793   5TDGZRAH6LS004052   Toyota       HIGHLANDER          AUSTIN                    TX
109794   5TDGZRAH6LS004925   Toyota       HIGHLANDER          SANTA BARBARA             CA
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109795   5TDGZRAH6LS004939   Toyota       HIGHLANDER          LOS ANGELES               CA
109796   5TDGZRAH6LS004973   Toyota       HIGHLANDER          PALM SPRINGS              CA
109797   5TDGZRAH6LS005427   Toyota       HIGHLANDER          PHOENIX                   AZ
109798   5TDGZRAH6LS005993   Toyota       HIGHLANDER          SAN DIEGO                 CA
109799   5TDGZRAH6LS006092   Toyota       HIGHLANDER          SACRAMENTO                CA
109800   5TDGZRAH6LS006321   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109801   5TDGZRAH6LS006450   Toyota       HIGHLANDER          LAS VEGAS                 NV
109802   5TDGZRAH6LS006514   Toyota       HIGHLANDER          FRESNO                    CA
109803   5TDGZRAH6LS006660   Toyota       HIGHLANDER          BIRMINGHAN                AL
109804   5TDGZRAH6LS006786   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109805   5TDGZRAH6LS008022   Toyota       HIGHLANDER          SAINT LOUIS               MO
109806   5TDGZRAH6LS009476   Toyota       HIGHLANDER          PHOENIX                   AZ
109807   5TDGZRAH6LS010501   Toyota       HIGHLANDER          PHOENIX                   AZ
109808   5TDGZRAH6LS501702   Toyota       HIGHLANDER          ONTARIO                   CA
109809   5TDGZRAH6LS501974   Toyota       HIGHLANDER          PALM SPRINGS              CA
109810   5TDGZRAH6LS502316   Toyota       HIGHLANDER          PHOENIX                   AZ
109811   5TDGZRAH6LS502350   Toyota       HIGHLANDER          KNOXVILLE                 TN
109812   5TDGZRAH6LS502400   Toyota       HIGHLANDER          PANAMA CITY               FL
109813   5TDGZRAH6LS502414   Toyota       HIGHLANDER          ONTARIO                   CA
109814   5TDGZRAH6LS502431   Toyota       HIGHLANDER          LOS ANGELES               CA
109815   5TDGZRAH6LS502722   Toyota       HIGHLANDER          BIRMINGHAN                AL
109816   5TDGZRAH6LS502946   Toyota       HIGHLANDER          LOS ANGELES               CA
109817   5TDGZRAH6LS503109   Toyota       HIGHLANDER          LOS ANGELES               CA
109818   5TDGZRAH6LS503112   Toyota       HIGHLANDER          SEATAC                    WA
109819   5TDGZRAH6LS503238   Toyota       HIGHLANDER          CHATTANOOGA               TN
109820   5TDGZRAH6LS504812   Toyota       HIGHLANDER          SAINT LOUIS               MO
109821   5TDGZRAH6LS505393   Toyota       HIGHLANDER          PHOENIX                   AZ
109822   5TDGZRAH7LS005422   Toyota       HIGHLANDER          Tulsa                     OK
109823   5TDGZRAH7LS005551   Toyota       HIGHLANDER          FORT MYERS                FL
109824   5TDGZRAH7LS006084   Toyota       HIGHLANDER          PHOENIX                   AZ
109825   5TDGZRAH7LS006442   Toyota       HIGHLANDER          KNOXVILLE                 TN
109826   5TDGZRAH7LS006778   Toyota       HIGHLANDER          SAN DIEGO                 CA
109827   5TDGZRAH7LS007753   Toyota       HIGHLANDER          SAINT LOUIS               MO
109828   5TDGZRAH7LS009180   Toyota       HIGHLANDER          MEMPHIS                   TN
109829   5TDGZRAH7LS009325   Toyota       HIGHLANDER          Phoenix                   AZ
109830   5TDGZRAH7LS010586   Toyota       HIGHLANDER          PHOENIX                   AZ
109831   5TDGZRAH7LS501711   Toyota       HIGHLANDER          BURBANK                   CA
109832   5TDGZRAH7LS501823   Toyota       HIGHLANDER          DALLAS                    TX
109833   5TDGZRAH7LS501868   Toyota       HIGHLANDER          DES MOINES                IA
109834   5TDGZRAH7LS501966   Toyota       HIGHLANDER          LOS ANGELES               CA
109835   5TDGZRAH7LS502602   Toyota       HIGHLANDER          MILWAUKEE AIRPORT         WI
109836   5TDGZRAH7LS502759   Toyota       HIGHLANDER          LOS ANGELES               CA
109837   5TDGZRAH7LS502874   Toyota       HIGHLANDER          BIRMINGHAM                AL
109838   5TDGZRAH7LS503104   Toyota       HIGHLANDER          PICO RIVERA               CA
109839   5TDGZRAH7LS503118   Toyota       HIGHLANDER          ONTARIO                   CA
109840   5TDGZRAH7LS504642   Toyota       HIGHLANDER          MEMPHIS                   TN
109841   5TDGZRAH7LS504897   Toyota       HIGHLANDER          PHOENIX                   AZ
109842   5TDGZRAH7LS505032   Toyota       HIGHLANDER          PHOENIX                   AZ
109843   5TDGZRAH7LS505807   Toyota       HIGHLANDER          PHOENIX                   AZ
109844   5TDGZRAH8LS004912   Toyota       HIGHLANDER          KENNER                    LA
109845   5TDGZRAH8LS004943   Toyota       HIGHLANDER          LOS ANGELES               CA
109846   5TDGZRAH8LS005137   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109847   5TDGZRAH8LS005610   Toyota       HIGHLANDER          DALLAS                    TX
109848   5TDGZRAH8LS005865   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109849   5TDGZRAH8LS006305   Toyota       HIGHLANDER          PHOENIX                   AZ
109850   5TDGZRAH8LS006434   Toyota       HIGHLANDER          JACKSON                   MS
109851   5TDGZRAH8LS006448   Toyota       HIGHLANDER          BIRMINGHAM                AL
109852   5TDGZRAH8LS006465   Toyota       HIGHLANDER          LAS VEGAS                 NV
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109853   5TDGZRAH8LS006773   Toyota       HIGHLANDER          LOS ANGELES               CA
109854   5TDGZRAH8LS007003   Toyota       HIGHLANDER          Lake Elsinore             CA
109855   5TDGZRAH8LS007194   Toyota       HIGHLANDER          MEMPHIS                   TN
109856   5TDGZRAH8LS007230   Toyota       HIGHLANDER          RICHMOND                  VA
109857   5TDGZRAH8LS007650   Toyota       HIGHLANDER          KNOXVILLE                 TN
109858   5TDGZRAH8LS009382   Toyota       HIGHLANDER          FAYETTEVILLE              GA
109859   5TDGZRAH8LS009589   Toyota       HIGHLANDER          JAMAICA                   NY
109860   5TDGZRAH8LS009849   Toyota       HIGHLANDER          DALLAS                    TX
109861   5TDGZRAH8LS501653   Toyota       HIGHLANDER          MEMPHIS                   TN
109862   5TDGZRAH8LS501684   Toyota       HIGHLANDER          BURBANK                   CA
109863   5TDGZRAH8LS502138   Toyota       HIGHLANDER          SAN DIEGO                 CA
109864   5TDGZRAH8LS502253   Toyota       HIGHLANDER          Atlanta                   GA
109865   5TDGZRAH8LS502303   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109866   5TDGZRAH8LS502320   Toyota       HIGHLANDER          LAS VEGAS                 NV
109867   5TDGZRAH8LS502429   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109868   5TDGZRAH8LS502446   Toyota       HIGHLANDER          LOS ANGELES               CA
109869   5TDGZRAH8LS502933   Toyota       HIGHLANDER          LOS ANGELES               CA
109870   5TDGZRAH8LS503113   Toyota       HIGHLANDER          EL SEGUNDO                CA
109871   5TDGZRAH8LS504942   Toyota       HIGHLANDER          Atlanta                   GA
109872   5TDGZRAH9LS004059   Toyota       HIGHLANDER          SAINT LOUIS               MO
109873   5TDGZRAH9LS005406   Toyota       HIGHLANDER          Lake Elsinore             CA
109874   5TDGZRAH9LS005535   Toyota       HIGHLANDER          LOS ANGELES               CA
109875   5TDGZRAH9LS005583   Toyota       HIGHLANDER          HOUSTON                   TX
109876   5TDGZRAH9LS005647   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109877   5TDGZRAH9LS006474   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109878   5TDGZRAH9LS006636   Toyota       HIGHLANDER          BURBANK                   CA
109879   5TDGZRAH9LS007348   Toyota       HIGHLANDER          MEMPHIS                   TN
109880   5TDGZRAH9LS007463   Toyota       HIGHLANDER          SAINT LOUIS               MO
109881   5TDGZRAH9LS501645   Toyota       HIGHLANDER          Atlanta                   GA
109882   5TDGZRAH9LS501841   Toyota       HIGHLANDER          HOUSTON                   TX
109883   5TDGZRAH9LS501872   Toyota       HIGHLANDER          LOS ANGELES               CA
109884   5TDGZRAH9LS502147   Toyota       HIGHLANDER          PALM SPRINGS              CA
109885   5TDGZRAH9LS502164   Toyota       HIGHLANDER          LAS VEGAS                 NV
109886   5TDGZRAH9LS502309   Toyota       HIGHLANDER          ORANGE COUNTY             CA
109887   5TDGZRAH9LS502391   Toyota       HIGHLANDER          LOS ANGELES               CA
109888   5TDGZRAH9LS502441   Toyota       HIGHLANDER          LOS ANGELES               CA
109889   5TDGZRAH9LS502519   Toyota       HIGHLANDER          COLLEGE PARK              GA
109890   5TDGZRAH9LS502942   Toyota       HIGHLANDER          OMAHA                     NE
109891   5TDGZRAH9LS503069   Toyota       HIGHLANDER          PHOENIX                   AZ
109892   5TDGZRAH9LS503105   Toyota       HIGHLANDER          LAS VEGAS                 NV
109893   5TDGZRAH9LS503119   Toyota       HIGHLANDER          LOS ANGELES               CA
109894   5TDGZRAH9LS503346   Toyota       HIGHLANDER          KNOXVILLE                 TN
109895   5TDGZRAHXLS005625   Toyota       HIGHLANDER          Tulsa                     OK
109896   5TDGZRAHXLS005754   Toyota       HIGHLANDER          PHOENIX                   AZ
109897   5TDGZRAHXLS006001   Toyota       HIGHLANDER          BURBANK                   CA
109898   5TDGZRAHXLS006077   Toyota       HIGHLANDER          BURBANK                   CA
109899   5TDGZRAHXLS006290   Toyota       HIGHLANDER          LOS ANGELES AP            CA
109900   5TDGZRAHXLS006760   Toyota       HIGHLANDER          FOLSOM                    CA
109901   5TDGZRAHXLS006774   Toyota       HIGHLANDER          SAN JOSE                  CA
109902   5TDGZRAHXLS006998   Toyota       HIGHLANDER          DALLAS                    TX
109903   5TDGZRAHXLS007195   Toyota       HIGHLANDER          MEMPHIS                   TN
109904   5TDGZRAHXLS007407   Toyota       HIGHLANDER          SAINT LOUIS               MO
109905   5TDGZRAHXLS009996   Toyota       HIGHLANDER          ORLANDO                   FL
109906   5TDGZRAHXLS010498   Toyota       HIGHLANDER          PHOENIX                   AZ
109907   5TDGZRAHXLS502013   Toyota       HIGHLANDER          SAN JOSE                  CA
109908   5TDGZRAHXLS502321   Toyota       HIGHLANDER          LOS ANGELES               CA
109909   5TDGZRAHXLS502447   Toyota       HIGHLANDER          LOS ANGELES               CA
109910   5TDGZRAHXLS502769   Toyota       HIGHLANDER          ORANGE COUNTY             CA
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109911   5TDGZRAHXLS502786   Toyota       HIGHLANDER          ONTARIO                   CA
109912   5TDGZRAHXLS502934   Toyota       HIGHLANDER          SAN DIEGO                 CA
109913   5TDGZRAHXLS502948   Toyota       HIGHLANDER          SAN DIEGO                 US
109914   5TDGZRAHXLS502951   Toyota       HIGHLANDER          BURBANK                   CA
109915   5TDGZRAHXLS503386   Toyota       HIGHLANDER          MEMPHIS                   TN
109916   5TDGZRAHXLS504716   Toyota       HIGHLANDER          PHOENIX                   AZ
109917   5TDGZRAHXLS505865   Toyota       HIGHLANDER          Phoenix                   AZ
109918   5TDGZRBH0LS007883   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109919   5TDGZRBH0LS008256   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109920   5TDGZRBH0LS008340   Toyota       HIGHLANDER          SEATAC                    WA
109921   5TDGZRBH0LS008838   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109922   5TDGZRBH0LS009567   Toyota       HIGHLANDER          ONTARIO                   CA
109923   5TDGZRBH0LS009942   Toyota       HIGHLANDER          PALM SPRINGS              CA
109924   5TDGZRBH0LS010248   Toyota       HIGHLANDER          PHILADELPHIA              US
109925   5TDGZRBH0LS010492   Toyota       HIGHLANDER          KANSAS CITY               MO
109926   5TDGZRBH0LS010895   Toyota       HIGHLANDER          LOS ANGELES               CA
109927   5TDGZRBH0LS011335   Toyota       HIGHLANDER          COLLEGE PARK              GA
109928   5TDGZRBH0LS011688   Toyota       HIGHLANDER          NEW YORK CITY             NY
109929   5TDGZRBH0LS011819   Toyota       HIGHLANDER          CLEVELAND                 OH
109930   5TDGZRBH0LS011870   Toyota       HIGHLANDER          LOS ANGELES               CA
109931   5TDGZRBH0LS012534   Toyota       HIGHLANDER          ANCHORAGE                 AK
109932   5TDGZRBH0LS012954   Toyota       HIGHLANDER          ANCHORAGE                 AK
109933   5TDGZRBH0LS013294   Toyota       HIGHLANDER          WOODSON TERRACE           MO
109934   5TDGZRBH0LS016941   Toyota       HIGHLANDER          ORLANDO                   FL
109935   5TDGZRBH0LS502746   Toyota       HIGHLANDER          Los Angeles               CA
109936   5TDGZRBH0LS502973   Toyota       HIGHLANDER          CLEVELAND                 OH
109937   5TDGZRBH0LS503170   Toyota       HIGHLANDER          SAN JOSE                  CA
109938   5TDGZRBH0LS503704   Toyota       HIGHLANDER          OMAHA                     NE
109939   5TDGZRBH0LS503928   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109940   5TDGZRBH0LS504125   Toyota       HIGHLANDER          WARWICK                   RI
109941   5TDGZRBH0LS504156   Toyota       HIGHLANDER          DETROIT                   MI
109942   5TDGZRBH0LS504187   Toyota       HIGHLANDER          SANTA ANA                 CA
109943   5TDGZRBH0LS504934   Toyota       HIGHLANDER          ANCHORAGE                 AK
109944   5TDGZRBH0LS505775   Toyota       HIGHLANDER          VANDALIA                  OH
109945   5TDGZRBH0LS505789   Toyota       HIGHLANDER          ANCHORAGE                 AK
109946   5TDGZRBH0LS508188   Toyota       HIGHLANDER          MIAMI                     FL
109947   5TDGZRBH1LS008010   Toyota       HIGHLANDER          PALM SPRINGS              CA
109948   5TDGZRBH1LS008704   Toyota       HIGHLANDER          DALLAS                    TX
109949   5TDGZRBH1LS008721   Toyota       HIGHLANDER          SEATAC                    WA
109950   5TDGZRBH1LS008847   Toyota       HIGHLANDER          WARWICK                   RI
109951   5TDGZRBH1LS009061   Toyota       HIGHLANDER          PORTLAND                  ME
109952   5TDGZRBH1LS009609   Toyota       HIGHLANDER          SACRAMENTO                CA
109953   5TDGZRBH1LS010243   Toyota       HIGHLANDER          East Boston               MA
109954   5TDGZRBH1LS010386   Toyota       HIGHLANDER          SAN JOSE                  CA
109955   5TDGZRBH1LS010548   Toyota       HIGHLANDER          EAST BOSTON               MA
109956   5TDGZRBH1LS010811   Toyota       HIGHLANDER          KANSAS CITY               MO
109957   5TDGZRBH1LS010842   Toyota       HIGHLANDER          GRAND RAPIDS              MI
109958   5TDGZRBH1LS010985   Toyota       HIGHLANDER          CHICAGO                   IL
109959   5TDGZRBH1LS011005   Toyota       HIGHLANDER          SANTA ANA                 CA
109960   5TDGZRBH1LS011294   Toyota       HIGHLANDER          East Boston               MA
109961   5TDGZRBH1LS011358   Toyota       HIGHLANDER          Grove City                OH
109962   5TDGZRBH1LS011389   Toyota       HIGHLANDER          KANSAS CITY               MO
109963   5TDGZRBH1LS011442   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109964   5TDGZRBH1LS011795   Toyota       HIGHLANDER          CLEVELAND                 OH
109965   5TDGZRBH1LS012199   Toyota       HIGHLANDER          Hebron                    KY
109966   5TDGZRBH1LS012526   Toyota       HIGHLANDER          LOUISVILLE                KY
109967   5TDGZRBH1LS012865   Toyota       HIGHLANDER          WOODSON TERRACE           MO
109968   5TDGZRBH1LS012896   Toyota       HIGHLANDER          WOODSON TERRACE           MO
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109969   5TDGZRBH1LS013613   Toyota       HIGHLANDER          TAYLOR                    MI
109970   5TDGZRBH1LS013658   Toyota       HIGHLANDER          FAIRBANKS                 AK
109971   5TDGZRBH1LS015930   Toyota       HIGHLANDER          STERLING                  VA
109972   5TDGZRBH1LS016298   Toyota       HIGHLANDER          TAMPA                     FL
109973   5TDGZRBH1LS016317   Toyota       HIGHLANDER          NO CHARLESTON             SC
109974   5TDGZRBH1LS018150   Toyota       HIGHLANDER          SAVANNAH                  GA
109975   5TDGZRBH1LS018388   Toyota       HIGHLANDER          FT. LAUDERDALE            FL
109976   5TDGZRBH1LS502514   Toyota       HIGHLANDER          SAN JOSE                  CA
109977   5TDGZRBH1LS502738   Toyota       HIGHLANDER          ST PAUL                   MN
109978   5TDGZRBH1LS502996   Toyota       HIGHLANDER          SEA TAC                   WA
109979   5TDGZRBH1LS503016   Toyota       HIGHLANDER          SANTA CLARA               CA
109980   5TDGZRBH1LS503419   Toyota       HIGHLANDER          SEA TAC                   WA
109981   5TDGZRBH1LS503436   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109982   5TDGZRBH1LS503677   Toyota       HIGHLANDER          PITTSBURGH                PA
109983   5TDGZRBH1LS504120   Toyota       HIGHLANDER          BOSTON                    MA
109984   5TDGZRBH1LS504134   Toyota       HIGHLANDER          BUCKNER                   MO
109985   5TDGZRBH1LS504148   Toyota       HIGHLANDER          DETROIT                   MI
109986   5TDGZRBH1LS504151   Toyota       HIGHLANDER          SAN JOSE                  CA
109987   5TDGZRBH1LS504165   Toyota       HIGHLANDER          SAN DIEGO                 CA
109988   5TDGZRBH1LS504408   Toyota       HIGHLANDER          SACRAMENTO                CA
109989   5TDGZRBH1LS504604   Toyota       HIGHLANDER          BOSTON                    MA
109990   5TDGZRBH1LS504621   Toyota       HIGHLANDER          PITTSBURGH                PA
109991   5TDGZRBH1LS504683   Toyota       HIGHLANDER          GRAND RAPIDS              MI
109992   5TDGZRBH1LS506983   Toyota       HIGHLANDER          ANCHORAGE                 AK
109993   5TDGZRBH1LS508216   Toyota       HIGHLANDER          COLLEGE PARK              GA
109994   5TDGZRBH1LS508488   Toyota       HIGHLANDER          ORLANDO                   FL
109995   5TDGZRBH1LS508510   Toyota       HIGHLANDER          SAVANNAH                  GA
109996   5TDGZRBH2LS008419   Toyota       HIGHLANDER          WARWICK                   RI
109997   5TDGZRBH2LS008825   Toyota       HIGHLANDER          SANTA CLARA               CA
109998   5TDGZRBH2LS009229   Toyota       HIGHLANDER          SAN FRANCISCO             CA
109999   5TDGZRBH2LS009635   Toyota       HIGHLANDER          SAN FRANCISCO             CA
110000   5TDGZRBH2LS010056   Toyota       HIGHLANDER          CLEVELAND                 OH
110001   5TDGZRBH2LS010090   Toyota       HIGHLANDER          GRAND RAPIDS              MI
110002   5TDGZRBH2LS010381   Toyota       HIGHLANDER          SOUTH SAN FRANC           CA
110003   5TDGZRBH2LS011403   Toyota       HIGHLANDER          SYRACUSE                  NY
110004   5TDGZRBH2LS012549   Toyota       HIGHLANDER          SAINT LOUIS               MO
110005   5TDGZRBH2LS012762   Toyota       HIGHLANDER          FAIRBANKS                 AK
110006   5TDGZRBH2LS012907   Toyota       HIGHLANDER          ANCHORAGE                 AK
110007   5TDGZRBH2LS013197   Toyota       HIGHLANDER          KNOXVILLE                 TN
110008   5TDGZRBH2LS013362   Toyota       HIGHLANDER          SEWARD                    AK
110009   5TDGZRBH2LS015211   Toyota       HIGHLANDER          INDIANAPOLIS              IN
110010   5TDGZRBH2LS018044   Toyota       HIGHLANDER          RICHMOND                  VA
110011   5TDGZRBH2LS018092   Toyota       HIGHLANDER          Atlanta                   GA
110012   5TDGZRBH2LS019517   Toyota       HIGHLANDER          Hebron                    KY
110013   5TDGZRBH2LS503462   Toyota       HIGHLANDER          Carson                    CA
110014   5TDGZRBH2LS503641   Toyota       HIGHLANDER          BOSTON, LOGAN AP          MA
110015   5TDGZRBH2LS503719   Toyota       HIGHLANDER          CHICAGO                   IL
110016   5TDGZRBH2LS504143   Toyota       HIGHLANDER          BOSTON                    MA
110017   5TDGZRBH2LS504160   Toyota       HIGHLANDER          ROCHESTER                 NY
110018   5TDGZRBH2LS504613   Toyota       HIGHLANDER          ROCHESTER                 NY
110019   5TDGZRBH2LS509830   Toyota       HIGHLANDER          ORLANDO                   FL
110020   5TDGZRBH3LS007960   Toyota       HIGHLANDER          SEA TAC                   WA
110021   5TDGZRBH3LS009174   Toyota       HIGHLANDER          SEATAC                    WA
110022   5TDGZRBH3LS009708   Toyota       HIGHLANDER          PORTLAND                  ME
110023   5TDGZRBH3LS009997   Toyota       HIGHLANDER          WARWICK                   RI
110024   5TDGZRBH3LS010020   Toyota       HIGHLANDER          GRAND RAPIDS              MI
110025   5TDGZRBH3LS010051   Toyota       HIGHLANDER          ATLANTA                   GA
110026   5TDGZRBH3LS010308   Toyota       HIGHLANDER          MILWAUKEE AIRPORT         WI
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110027   5TDGZRBH3LS010471   Toyota       HIGHLANDER          DETROIT                   MI
110028   5TDGZRBH3LS010552   Toyota       HIGHLANDER          SAN FRANCISCO             CA
110029   5TDGZRBH3LS011880   Toyota       HIGHLANDER          Reno                      NV
110030   5TDGZRBH3LS012088   Toyota       HIGHLANDER          ANCHORAGE                 AK
110031   5TDGZRBH3LS012124   Toyota       HIGHLANDER          ANCHORAGE                 AK
110032   5TDGZRBH3LS012219   Toyota       HIGHLANDER          MEMPHIS                   TN
110033   5TDGZRBH3LS012480   Toyota       HIGHLANDER          Fairbanks                 AK
110034   5TDGZRBH3LS012768   Toyota       HIGHLANDER          Tulsa                     OK
110035   5TDGZRBH3LS013211   Toyota       HIGHLANDER          NEW BERN                  NC
110036   5TDGZRBH3LS013502   Toyota       HIGHLANDER          FAIRBANKS                 AK
110037   5TDGZRBH3LS014505   Toyota       HIGHLANDER          ATLANTA                   GA
110038   5TDGZRBH3LS015881   Toyota       HIGHLANDER          NEW BERN                  NC
110039   5TDGZRBH3LS016934   Toyota       HIGHLANDER          ORLANDO                   FL
110040   5TDGZRBH3LS017016   Toyota       HIGHLANDER          MEMPHIS                   TN
110041   5TDGZRBH3LS018506   Toyota       HIGHLANDER          SAVANNAH                  GA
110042   5TDGZRBH3LS502739   Toyota       HIGHLANDER          BURLINGAME                CA
110043   5TDGZRBH3LS502868   Toyota       HIGHLANDER          WARWICK                   RI
110044   5TDGZRBH3LS503454   Toyota       HIGHLANDER          SAN FRANCISCO             CA
110045   5TDGZRBH3LS503647   Toyota       HIGHLANDER          East Boston               MA
110046   5TDGZRBH3LS503714   Toyota       HIGHLANDER          CLEVELAND                 OH
110047   5TDGZRBH3LS503860   Toyota       HIGHLANDER          WARWICK                   RI
110048   5TDGZRBH3LS503910   Toyota       HIGHLANDER          LOS ANGELES               CA
110049   5TDGZRBH3LS504183   Toyota       HIGHLANDER          ATLANTA                   GA
110050   5TDGZRBH3LS504345   Toyota       HIGHLANDER          Tulsa                     OK
110051   5TDGZRBH3LS504572   Toyota       HIGHLANDER          PROVIDENCE                RI
110052   5TDGZRBH3LS504586   Toyota       HIGHLANDER          BURBANK                   CA
110053   5TDGZRBH3LS504913   Toyota       HIGHLANDER          ANCHORAGE                 AK
110054   5TDGZRBH3LS505222   Toyota       HIGHLANDER          SAINT LOUIS               MO
110055   5TDGZRBH3LS506600   Toyota       HIGHLANDER          ANCHORAGE                 AK
110056   5TDGZRBH3LS508198   Toyota       HIGHLANDER          ORLANDO                   FL
110057   5TDGZRBH3LS508492   Toyota       HIGHLANDER          FORT MYERS                FL
110058   5TDGZRBH3LS509819   Toyota       HIGHLANDER          FORT MYERS                FL
110059   5TDGZRBH4LS008373   Toyota       HIGHLANDER          SAN JOSE                  CA
110060   5TDGZRBH4LS009202   Toyota       HIGHLANDER          SANTA CLARA               CA
110061   5TDGZRBH4LS010060   Toyota       HIGHLANDER          AKRON                     OH
110062   5TDGZRBH4LS010530   Toyota       HIGHLANDER          GRAND RAPIDS              MI
110063   5TDGZRBH4LS011001   Toyota       HIGHLANDER          NEW BERN                  NC
110064   5TDGZRBH4LS011340   Toyota       HIGHLANDER          DETROIT                   MI
110065   5TDGZRBH4LS011726   Toyota       HIGHLANDER          STERLING                  VA
110066   5TDGZRBH4LS012164   Toyota       HIGHLANDER          ANCHORAGE                 AK
110067   5TDGZRBH4LS012522   Toyota       HIGHLANDER          LOUISVILLE                KY
110068   5TDGZRBH4LS013170   Toyota       HIGHLANDER          LOUISVILLE                KY
110069   5TDGZRBH4LS016196   Toyota       HIGHLANDER          FORT MYERS                FL
110070   5TDGZRBH4LS016506   Toyota       HIGHLANDER          SAINT LOUIS               MO
110071   5TDGZRBH4LS017719   Toyota       HIGHLANDER          SAVANNAH                  GA
110072   5TDGZRBH4LS020734   Toyota       HIGHLANDER          GRAND RAPIDS              MI
110073   5TDGZRBH4LS502930   Toyota       HIGHLANDER          OAKLAND                   CA
110074   5TDGZRBH4LS503446   Toyota       HIGHLANDER          SAN JOSE                  CA
110075   5TDGZRBH4LS503866   Toyota       HIGHLANDER          WARWICK                   RI
110076   5TDGZRBH4LS503947   Toyota       HIGHLANDER          SAN FRANCISCO             CA
110077   5TDGZRBH4LS504158   Toyota       HIGHLANDER          HARRISBURG                PA
110078   5TDGZRBH4LS504175   Toyota       HIGHLANDER          SAINT LOUIS               MO
110079   5TDGZRBH4LS504371   Toyota       HIGHLANDER          GRAND RAPIDS              MI
110080   5TDGZRBH4LS504418   Toyota       HIGHLANDER          Hamilton                  OH
110081   5TDGZRBH4LS504595   Toyota       HIGHLANDER          WICHITA FALLS             TX
110082   5TDGZRBH4LS504614   Toyota       HIGHLANDER          GRAND RAPIDS              MI
110083   5TDGZRBH4LS504676   Toyota       HIGHLANDER          Detroit                   MI
110084   5TDGZRBH4LS505486   Toyota       HIGHLANDER          ANCHORAGE                 AK
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110085   5TDGZRBH4LS506055   Toyota       HIGHLANDER          PASADENA                  MD
110086   5TDGZRBH4LS507898   Toyota       HIGHLANDER          ORLANDO                   FL
110087   5TDGZRBH4LS508212   Toyota       HIGHLANDER          ORLANDO                   FL
110088   5TDGZRBH4LS510607   Toyota       HIGHLANDER          GRAND RAPIDS              MI
110089   5TDGZRBH5LS007989   Toyota       HIGHLANDER          SACRAMENTO                CA
110090   5TDGZRBH5LS008253   Toyota       HIGHLANDER          SAN FRANCISCO             CA
110091   5TDGZRBH5LS008706   Toyota       HIGHLANDER          SAN FRANCISCO             CA
110092   5TDGZRBH5LS010052   Toyota       HIGHLANDER          CLEVELAND                 OH
110093   5TDGZRBH5LS010262   Toyota       HIGHLANDER          PORTLAND                  ME
110094   5TDGZRBH5LS010827   Toyota       HIGHLANDER          EGG HARBOR TOWN           NJ
110095   5TDGZRBH5LS011444   Toyota       HIGHLANDER          SANTA FE                  NM
110096   5TDGZRBH5LS011816   Toyota       HIGHLANDER          CLEVELAND                 OH
110097   5TDGZRBH5LS011847   Toyota       HIGHLANDER          Kansas City               MO
110098   5TDGZRBH5LS012254   Toyota       HIGHLANDER          SAINT LOUIS               MO
110099   5TDGZRBH5LS012531   Toyota       HIGHLANDER          ANCHORAGE                 AK
110100   5TDGZRBH5LS013582   Toyota       HIGHLANDER          COLUMBUS                  OH
110101   5TDGZRBH5LS502516   Toyota       HIGHLANDER          SAINT PAUL                MN
110102   5TDGZRBH5LS502810   Toyota       HIGHLANDER          SAN FRANCISCO             CA
110103   5TDGZRBH5LS503195   Toyota       HIGHLANDER          EAST BOSTON               MA
110104   5TDGZRBH5LS503357   Toyota       HIGHLANDER          WARWICK                   RI
110105   5TDGZRBH5LS503701   Toyota       HIGHLANDER          EGG HARBOR TOWN           NJ
110106   5TDGZRBH5LS503889   Toyota       HIGHLANDER          CLEVELAND                 OH
110107   5TDGZRBH5LS503911   Toyota       HIGHLANDER          SANTA CLARA               CA
110108   5TDGZRBH5LS503925   Toyota       HIGHLANDER          LOS ANGELES               CA
110109   5TDGZRBH5LS504380   Toyota       HIGHLANDER          GRAND RAPIDS              MI
110110   5TDGZRBH5LS505187   Toyota       HIGHLANDER          SAINT LOUIS               MO
110111   5TDGZRBH5LS505500   Toyota       HIGHLANDER          SAINT LOUIS               MO
110112   5TDGZRBH5LS508400   Toyota       HIGHLANDER          Hebron                    KY
110113   5TDGZRBH5LS508770   Toyota       HIGHLANDER          ORLANDO                   FL
110114   5TDGZRBH5LS509191   Toyota       HIGHLANDER          ORLANDO                   FL
110115   5TDGZRBH6LS008407   Toyota       HIGHLANDER          LAS VEGAS                 NV
110116   5TDGZRBH6LS008715   Toyota       HIGHLANDER          SAN FRANCISCO             CA
110117   5TDGZRBH6LS008813   Toyota       HIGHLANDER          SAN FRANCISCO             CA
110118   5TDGZRBH6LS010075   Toyota       HIGHLANDER          KANSAS CITY               MO
110119   5TDGZRBH6LS010481   Toyota       HIGHLANDER          CLEVELAND                 OH
110120   5TDGZRBH6LS011405   Toyota       HIGHLANDER          DETROIT                   MI
110121   5TDGZRBH6LS011789   Toyota       HIGHLANDER          OMAHA                     NE
110122   5TDGZRBH6LS012425   Toyota       HIGHLANDER          Fairbanks                 AK
110123   5TDGZRBH6LS014854   Toyota       HIGHLANDER          ANCHORAGE                 AK
110124   5TDGZRBH6LS503688   Toyota       HIGHLANDER          CLEVELAND                 OH
110125   5TDGZRBH6LS503707   Toyota       HIGHLANDER          Atlanta                   GA
110126   5TDGZRBH6LS503920   Toyota       HIGHLANDER          CHICAGO                   IL
110127   5TDGZRBH6LS503934   Toyota       HIGHLANDER          SACRAMENTO                CA
110128   5TDGZRBH6LS504176   Toyota       HIGHLANDER          WICHITA FALLS             TX
110129   5TDGZRBH6LS504386   Toyota       HIGHLANDER          LA HABRA                  CA
110130   5TDGZRBH6LS504405   Toyota       HIGHLANDER          FRESNO                    CA
110131   5TDGZRBH6LS504887   Toyota       HIGHLANDER          SAINT LOUIS               MO
110132   5TDGZRBH6LS504940   Toyota       HIGHLANDER          FAIRBANKS                 AK
110133   5TDGZRBH6LS505151   Toyota       HIGHLANDER          FAIRBANKS                 AK
110134   5TDGZRBH6LS505778   Toyota       HIGHLANDER          SEWARD                    AK
110135   5TDGZRBH6LS508714   Toyota       HIGHLANDER          SAINT LOUIS               MO
110136   5TDGZRBH6LS509085   Toyota       HIGHLANDER          MIAMI                     FL
110137   5TDGZRBH7LS008139   Toyota       HIGHLANDER          CHARLESTON                WV
110138   5TDGZRBH7LS008772   Toyota       HIGHLANDER          WHITE PLAINS              NY
110139   5TDGZRBH7LS010313   Toyota       HIGHLANDER          MILWAUKEE AIRPORT         WI
110140   5TDGZRBH7LS010991   Toyota       HIGHLANDER          DETROIT                   MI
110141   5TDGZRBH7LS011283   Toyota       HIGHLANDER          NEW YORK CITY             NY
110142   5TDGZRBH7LS011333   Toyota       HIGHLANDER          ST PAUL                   MN
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110143   5TDGZRBH7LS011378   Toyota       HIGHLANDER          KANSAS CITY               MO
110144   5TDGZRBH7LS011381   Toyota       HIGHLANDER          BALTIMORE                 MD
110145   5TDGZRBH7LS011400   Toyota       HIGHLANDER          SANTA CLARA               CA
110146   5TDGZRBH7LS011767   Toyota       HIGHLANDER          DETROIT                   MI
110147   5TDGZRBH7LS012076   Toyota       HIGHLANDER          ANCHORAGE                 AK
110148   5TDGZRBH7LS012448   Toyota       HIGHLANDER          Hebron                    KY
110149   5TDGZRBH7LS012935   Toyota       HIGHLANDER          ANCHORAGE                 AK
110150   5TDGZRBH7LS013020   Toyota       HIGHLANDER          Hebron                    KY
110151   5TDGZRBH7LS013776   Toyota       HIGHLANDER          BLOOMINGTON               IL
110152   5TDGZRBH7LS014510   Toyota       HIGHLANDER          ANCHORAGE                 AK
110153   5TDGZRBH7LS502503   Toyota       HIGHLANDER          SAN FRANCISCO             CA
110154   5TDGZRBH7LS502761   Toyota       HIGHLANDER          SAN JOSE                  CA
110155   5TDGZRBH7LS503389   Toyota       HIGHLANDER          PORTLAND                  ME
110156   5TDGZRBH7LS503439   Toyota       HIGHLANDER          SAINT PAUL                MN
110157   5TDGZRBH7LS503893   Toyota       HIGHLANDER          SYRACUSE                  NY
110158   5TDGZRBH7LS504087   Toyota       HIGHLANDER          ALBANY                    N
110159   5TDGZRBH7LS504140   Toyota       HIGHLANDER          Kansas City               MO
110160   5TDGZRBH7LS504669   Toyota       HIGHLANDER          GRAND RAPIDS              MI
110161   5TDGZRBH7LS504915   Toyota       HIGHLANDER          LOUISVILLE                KY
110162   5TDGZRBH7LS505191   Toyota       HIGHLANDER          DETROIT                   MI
110163   5TDGZRBH7LS505501   Toyota       HIGHLANDER          COLUMBUS                  OH
110164   5TDGZRBH7LS508186   Toyota       HIGHLANDER          ORLANDO                   FL
110165   5TDGZRBH7LS508706   Toyota       HIGHLANDER          SAINT LOUIS               MO
110166   5TDGZRBH7LS510519   Toyota       HIGHLANDER          DETROIT                   MI
110167   5TDGZRBH8LS008439   Toyota       HIGHLANDER          MIAMI                     FL
110168   5TDGZRBH8LS009235   Toyota       HIGHLANDER          SAN FRANCISCO             CA
110169   5TDGZRBH8LS009493   Toyota       HIGHLANDER          WARWICK                   RI
110170   5TDGZRBH8LS010045   Toyota       HIGHLANDER          SACRAMENTO                CA
110171   5TDGZRBH8LS010319   Toyota       HIGHLANDER          BURLINGTON                VT
110172   5TDGZRBH8LS010384   Toyota       HIGHLANDER          SAN JOSE                  CA
110173   5TDGZRBH8LS010823   Toyota       HIGHLANDER          HARTFORD                  CT
110174   5TDGZRBH8LS011261   Toyota       HIGHLANDER          SACRAMENTO                CA
110175   5TDGZRBH8LS011423   Toyota       HIGHLANDER          SAN JOSE                  CA
110176   5TDGZRBH8LS011843   Toyota       HIGHLANDER          MILWAUKEE                 WI
110177   5TDGZRBH8LS012099   Toyota       HIGHLANDER          MYRTLE BEACH              SC
110178   5TDGZRBH8LS012507   Toyota       HIGHLANDER          SAINT LOUIS               MO
110179   5TDGZRBH8LS013639   Toyota       HIGHLANDER          ANCHORAGE                 AK
110180   5TDGZRBH8LS016783   Toyota       HIGHLANDER          ORLANDO                   FL
110181   5TDGZRBH8LS016914   Toyota       HIGHLANDER          ORLANDO                   FL
110182   5TDGZRBH8LS016993   Toyota       HIGHLANDER          FORT MYERS                FL
110183   5TDGZRBH8LS018436   Toyota       HIGHLANDER          SAVANNAH                  GA
110184   5TDGZRBH8LS019280   Toyota       HIGHLANDER          Miami                     FL
110185   5TDGZRBH8LS020493   Toyota       HIGHLANDER          SAINT PAUL                MN
110186   5TDGZRBH8LS502459   Toyota       HIGHLANDER          EAST BOSTON               MA
110187   5TDGZRBH8LS504325   Toyota       HIGHLANDER          EAST BOSTON               MA
110188   5TDGZRBH8LS505149   Toyota       HIGHLANDER          ANCHORAGE                 AK
110189   5TDGZRBH8LS505748   Toyota       HIGHLANDER          ANCHORAGE                 AK
110190   5TDGZRBH8LS505765   Toyota       HIGHLANDER          SAINT LOUIS               MO
110191   5TDGZRBH8LS508116   Toyota       HIGHLANDER          STERLING                  VA
110192   5TDGZRBH8LS508178   Toyota       HIGHLANDER          ORLANDO                   FL
110193   5TDGZRBH8LS508472   Toyota       HIGHLANDER          FORT MYERS                FL
110194   5TDGZRBH8LS509833   Toyota       HIGHLANDER          ORLANDO                   FL
110195   5TDGZRBH8LS510576   Toyota       HIGHLANDER          Hebron                    KY
110196   5TDGZRBH9LS007719   Toyota       HIGHLANDER          RICHMOND                  VA
110197   5TDGZRBH9LS008496   Toyota       HIGHLANDER          PROVIDENCE                RI
110198   5TDGZRBH9LS008692   Toyota       HIGHLANDER          FOLSOM                    CA
110199   5TDGZRBH9LS009180   Toyota       HIGHLANDER          NEW YORK CITY             NY
110200   5TDGZRBH9LS010135   Toyota       HIGHLANDER          KINGSTON                  MA
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110201   5TDGZRBH9LS010829   Toyota       HIGHLANDER          BOSTON                    MA
110202   5TDGZRBH9LS010913   Toyota       HIGHLANDER          CLEVELAND                 OH
110203   5TDGZRBH9LS011009   Toyota       HIGHLANDER          SAN JOSE                  CA
110204   5TDGZRBH9LS011706   Toyota       HIGHLANDER          SAINT PAUL                MN
110205   5TDGZRBH9LS012175   Toyota       HIGHLANDER          DETROIT                   MI
110206   5TDGZRBH9LS012256   Toyota       HIGHLANDER          FAIRBANKS                 AK
110207   5TDGZRBH9LS012628   Toyota       HIGHLANDER          ANCHORAGE                 AK
110208   5TDGZRBH9LS013357   Toyota       HIGHLANDER          ANCHORAGE                 AK
110209   5TDGZRBH9LS013648   Toyota       HIGHLANDER          ANCHORAGE                 AK
110210   5TDGZRBH9LS016999   Toyota       HIGHLANDER          ORLANDO                   FL
110211   5TDGZRBH9LS020731   Toyota       HIGHLANDER          Hebron                    KY
110212   5TDGZRBH9LS502809   Toyota       HIGHLANDER          SACRAMENTO                CA
110213   5TDGZRBH9LS502812   Toyota       HIGHLANDER          BURBANK                   CA
110214   5TDGZRBH9LS503698   Toyota       HIGHLANDER          PHILADELPHIA              PA
110215   5TDGZRBH9LS503930   Toyota       HIGHLANDER          KANSAS CITY               MO
110216   5TDGZRBH9LS504186   Toyota       HIGHLANDER          Atlanta                   GA
110217   5TDGZRBH9LS505497   Toyota       HIGHLANDER          ANCHORAGE                 AK
110218   5TDGZRBH9LS507542   Toyota       HIGHLANDER          SAINT LOUIS               MO
110219   5TDGZRBH9LS508738   Toyota       HIGHLANDER          CHARLESTON                WV
110220   5TDGZRBH9LS509839   Toyota       HIGHLANDER          ORLANDO                   FL
110221   5TDGZRBHXLS007972   Toyota       HIGHLANDER          LOS ANGELES AP            CA
110222   5TDGZRBHXLS008278   Toyota       HIGHLANDER          SAN FRANCISCO             CA
110223   5TDGZRBHXLS008362   Toyota       HIGHLANDER          SAN JOSE                  CA
110224   5TDGZRBHXLS010421   Toyota       HIGHLANDER          CHICAGO                   IL
110225   5TDGZRBHXLS010581   Toyota       HIGHLANDER          WARWICK                   RI
110226   5TDGZRBHXLS010998   Toyota       HIGHLANDER          WARWICK                   RI
110227   5TDGZRBHXLS011018   Toyota       HIGHLANDER          BOSTON                    MA
110228   5TDGZRBHXLS011391   Toyota       HIGHLANDER          CHICAGO                   IL
110229   5TDGZRBHXLS011830   Toyota       HIGHLANDER          CHICAGO                   IL
110230   5TDGZRBHXLS012962   Toyota       HIGHLANDER          FAIRBANKS                 AK
110231   5TDGZRBHXLS013013   Toyota       HIGHLANDER          SALT LAKE CITY            UT
110232   5TDGZRBHXLS013271   Toyota       HIGHLANDER          FAIRBANKS                 AK
110233   5TDGZRBHXLS013321   Toyota       HIGHLANDER          ANCHORAGE                 AK
110234   5TDGZRBHXLS013772   Toyota       HIGHLANDER          SAINT LOUIS               MO
110235   5TDGZRBHXLS016249   Toyota       HIGHLANDER          ORLANDO                   FL
110236   5TDGZRBHXLS016672   Toyota       HIGHLANDER          Atlanta                   GA
110237   5TDGZRBHXLS016929   Toyota       HIGHLANDER          ORLANDO                   FL
110238   5TDGZRBHXLS018731   Toyota       HIGHLANDER          SAVANNAH                  GA
110239   5TDGZRBHXLS502740   Toyota       HIGHLANDER          SOUTH SAN FRANC           CA
110240   5TDGZRBHXLS503130   Toyota       HIGHLANDER          WARWICK                   RI
110241   5TDGZRBHXLS503449   Toyota       HIGHLANDER          SAN JOSE                  CA
110242   5TDGZRBHXLS503726   Toyota       HIGHLANDER          SEA TAC                   WA
110243   5TDGZRBHXLS503905   Toyota       HIGHLANDER          OMAHA                     NE
110244   5TDGZRBHXLS504116   Toyota       HIGHLANDER          CLEVELAND                 OH
110245   5TDGZRBHXLS504164   Toyota       HIGHLANDER          ST PAUL                   MN
110246   5TDGZRBHXLS504293   Toyota       HIGHLANDER          WINDSOR LOCKS             CT
110247   5TDGZRBHXLS504407   Toyota       HIGHLANDER          DETROIT                   MI
110248   5TDGZRBHXLS504570   Toyota       HIGHLANDER          WARWICK                   RI
110249   5TDGZRBHXLS504584   Toyota       HIGHLANDER          East Boston               MA
110250   5TDGZRBHXLS504942   Toyota       HIGHLANDER          SAINT LOUIS               MO
110251   5TDGZRBHXLS506061   Toyota       HIGHLANDER          ANCHORAGE                 AK
110252   5TDGZRBHXLS507548   Toyota       HIGHLANDER          ANCHORAGE                 AK
110253   5TDJZRFH0JS536957   Toyota       HIGHLANDER          Philadelphia              PA
110254   5TDJZRFH0JS541320   Toyota       HIGHLANDER          Ft. Myers                 FL
110255   5TDJZRFH0JS834683   Toyota       HIGHLANDER          San Diego                 CA
110256   5TDJZRFH0JS842217   Toyota       HIGHLANDER          ORLANDO                   FL
110257   5TDJZRFH0KS564906   Toyota       HIGHLANDER          DAYTON                    OH
110258   5TDJZRFH0KS564940   Toyota       HIGHLANDER          Revere                    MA
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110259   5TDJZRFH0KS565084   Toyota       HIGHLANDER          NAPLES                    FL
110260   5TDJZRFH0KS565117   Toyota       HIGHLANDER          NEW YORK CITY             NY
110261   5TDJZRFH0KS565120   Toyota       HIGHLANDER          PHILADELPHIA              PA
110262   5TDJZRFH0KS565277   Toyota       HIGHLANDER          HANOVER                   MD
110263   5TDJZRFH0KS565344   Toyota       HIGHLANDER          PHILADELPHIA              PA
110264   5TDJZRFH0KS565473   Toyota       HIGHLANDER          Cincinnati                OH
110265   5TDJZRFH0KS565652   Toyota       HIGHLANDER          Rockville Centr           NY
110266   5TDJZRFH0KS573069   Toyota       HIGHLANDER          DANIA                     FL
110267   5TDJZRFH0KS573217   Toyota       HIGHLANDER          PENSACOLA                 FL
110268   5TDJZRFH0KS573606   Toyota       HIGHLANDER          PENSACOLA                 FL
110269   5TDJZRFH0KS580698   Toyota       HIGHLANDER          PHILADELPHIA              PA
110270   5TDJZRFH0KS580703   Toyota       HIGHLANDER          NEW YORK CITY             NY
110271   5TDJZRFH0KS581351   Toyota       HIGHLANDER          Revere                    MA
110272   5TDJZRFH0KS581608   Toyota       HIGHLANDER          WHITE PLAINS              NY
110273   5TDJZRFH0KS581799   Toyota       HIGHLANDER          SAVANNAH                  GA
110274   5TDJZRFH0KS582368   Toyota       HIGHLANDER          ALBANY                    N
110275   5TDJZRFH0KS582435   Toyota       HIGHLANDER          Atlanta                   GA
110276   5TDJZRFH0KS922845   Toyota       HIGHLANDER          BOSTON                    MA
110277   5TDJZRFH0KS923350   Toyota       HIGHLANDER          TAMPA                     US
110278   5TDJZRFH0KS944361   Toyota       HIGHLANDER          ALEXANDRIA                VA
110279   5TDJZRFH0KS946868   Toyota       HIGHLANDER          FORT MYERS                FL
110280   5TDJZRFH0KS962746   Toyota       HIGHLANDER          Miami                     FL
110281   5TDJZRFH0KS963668   Toyota       HIGHLANDER          HEBRON                    KY
110282   5TDJZRFH0KS964092   Toyota       HIGHLANDER          ALBANY                    N
110283   5TDJZRFH1JS541651   Toyota       HIGHLANDER          DENVER                    CO
110284   5TDJZRFH1JS819870   Toyota       HIGHLANDER          DENVER                    CO
110285   5TDJZRFH1JS831906   Toyota       HIGHLANDER          GYPSUM                    CO
110286   5TDJZRFH1KS564994   Toyota       HIGHLANDER          ORLANDO                   FL
110287   5TDJZRFH1KS565482   Toyota       HIGHLANDER          PHILADELPHIA              PA
110288   5TDJZRFH1KS565501   Toyota       HIGHLANDER          NEW BERN                  NC
110289   5TDJZRFH1KS565658   Toyota       HIGHLANDER          NEWARK                    NJ
110290   5TDJZRFH1KS565675   Toyota       HIGHLANDER          Miami                     FL
110291   5TDJZRFH1KS572965   Toyota       HIGHLANDER          ORLANDO                   FL
110292   5TDJZRFH1KS573078   Toyota       HIGHLANDER          TAMPA                     US
110293   5TDJZRFH1KS573341   Toyota       HIGHLANDER          WEST PALM BEACH           FL
110294   5TDJZRFH1KS573498   Toyota       HIGHLANDER          MIAMI                     FL
110295   5TDJZRFH1KS573906   Toyota       HIGHLANDER          ORLANDO                   FL
110296   5TDJZRFH1KS580693   Toyota       HIGHLANDER          HANOVER                   MD
110297   5TDJZRFH1KS580712   Toyota       HIGHLANDER          PORTLAND                  ME
110298   5TDJZRFH1KS580936   Toyota       HIGHLANDER          Revere                    MA
110299   5TDJZRFH1KS580953   Toyota       HIGHLANDER          STERLING                  US
110300   5TDJZRFH1KS581150   Toyota       HIGHLANDER          PHILADELPHIA              PA
110301   5TDJZRFH1KS581374   Toyota       HIGHLANDER          PHILADELPHIA              PA
110302   5TDJZRFH1KS581603   Toyota       HIGHLANDER          PHILADELPHIA              PA
110303   5TDJZRFH1KS581925   Toyota       HIGHLANDER          STERLING                  VA
110304   5TDJZRFH1KS582332   Toyota       HIGHLANDER          WARWICK                   RI
110305   5TDJZRFH1KS582363   Toyota       HIGHLANDER          EAST BOSTON               MA
110306   5TDJZRFH1KS582542   Toyota       HIGHLANDER          FAYETTEVILLE              GA
110307   5TDJZRFH1KS921851   Toyota       HIGHLANDER          Hebron                    KY
110308   5TDJZRFH1KS923406   Toyota       HIGHLANDER          Baltimore                 MD
110309   5TDJZRFH1KS923745   Toyota       HIGHLANDER          Ronkonkoma                NY
110310   5TDJZRFH1KS943798   Toyota       HIGHLANDER          Miami                     FL
110311   5TDJZRFH1KS943848   Toyota       HIGHLANDER          ORLANDO                   FL
110312   5TDJZRFH1KS944109   Toyota       HIGHLANDER          DANIA                     FL
110313   5TDJZRFH1KS945969   Toyota       HIGHLANDER          HEBRON                    KY
110314   5TDJZRFH1KS946233   Toyota       HIGHLANDER          JACKSON                   MS
110315   5TDJZRFH1KS946684   Toyota       HIGHLANDER          SAVANNAH                  GA
110316   5TDJZRFH2JS536233   Toyota       HIGHLANDER          PHOENIX                   AZ
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110317   5TDJZRFH2JS832210   Toyota       HIGHLANDER          LOS ANGELES               CA
110318   5TDJZRFH2JS842879   Toyota       HIGHLANDER          Baltimore                 MD
110319   5TDJZRFH2KS564776   Toyota       HIGHLANDER          Dania Beach               FL
110320   5TDJZRFH2KS564924   Toyota       HIGHLANDER          WEST COLUMBIA             SC
110321   5TDJZRFH2KS565040   Toyota       HIGHLANDER          TAMPA                     US
110322   5TDJZRFH2KS565152   Toyota       HIGHLANDER          NEWARK                    NJ
110323   5TDJZRFH2KS565166   Toyota       HIGHLANDER          ORLANDO                   FL
110324   5TDJZRFH2KS565300   Toyota       HIGHLANDER          RICHMOND                  VA
110325   5TDJZRFH2KS572697   Toyota       HIGHLANDER          Miami                     FL
110326   5TDJZRFH2KS573221   Toyota       HIGHLANDER          FRONT ROYAL               VA
110327   5TDJZRFH2KS573929   Toyota       HIGHLANDER          BIRMINGHAN                AL
110328   5TDJZRFH2KS581299   Toyota       HIGHLANDER          TULSA                     OK
110329   5TDJZRFH2KS581724   Toyota       HIGHLANDER          ORLANDO                   FL
110330   5TDJZRFH2KS581738   Toyota       HIGHLANDER          HARTFORD                  CT
110331   5TDJZRFH2KS582615   Toyota       HIGHLANDER          BOSTON                    MA
110332   5TDJZRFH2KS923544   Toyota       HIGHLANDER          NAPLES                    FL
110333   5TDJZRFH2KS943552   Toyota       HIGHLANDER          ORLANDO                   FL
110334   5TDJZRFH2KS943888   Toyota       HIGHLANDER          ORLANDO                   FL
110335   5TDJZRFH2KS944197   Toyota       HIGHLANDER          ORLANDO                   FL
110336   5TDJZRFH2KS944653   Toyota       HIGHLANDER          JACKSONVILLE              FL
110337   5TDJZRFH2KS944684   Toyota       HIGHLANDER          Miami                     FL
110338   5TDJZRFH2KS945043   Toyota       HIGHLANDER          WEST COLUMBIA             SC
110339   5TDJZRFH2KS945947   Toyota       HIGHLANDER          TAMPA                     US
110340   5TDJZRFH2KS946208   Toyota       HIGHLANDER          West Palm Beach           FL
110341   5TDJZRFH2KS961808   Toyota       HIGHLANDER          PITTSBURGH                PA
110342   5TDJZRFH2KS963154   Toyota       HIGHLANDER          SCRANTON                  PA
110343   5TDJZRFH2KS963655   Toyota       HIGHLANDER          ROCHESTER                 NY
110344   5TDJZRFH2KS964546   Toyota       HIGHLANDER          HANOVER                   MD
110345   5TDJZRFH3JS536001   Toyota       HIGHLANDER          Smithtown                 NY
110346   5TDJZRFH3JS540680   Toyota       HIGHLANDER          West Palm Beach           FL
110347   5TDJZRFH3KS564933   Toyota       HIGHLANDER          Woodhaven                 MI
110348   5TDJZRFH3KS565158   Toyota       HIGHLANDER          ORLANDO                   FL
110349   5TDJZRFH3KS565287   Toyota       HIGHLANDER          PHILADELPHIA              PA
110350   5TDJZRFH3KS565290   Toyota       HIGHLANDER          NORFOLK                   VA
110351   5TDJZRFH3KS565385   Toyota       HIGHLANDER          CLEVELAND                 OH
110352   5TDJZRFH3KS572871   Toyota       HIGHLANDER          ORLANDO                   FL
110353   5TDJZRFH3KS574412   Toyota       HIGHLANDER          FORT MYERS                FL
110354   5TDJZRFH3KS580940   Toyota       HIGHLANDER          CLEVELAND                 OH
110355   5TDJZRFH3KS581358   Toyota       HIGHLANDER          NEW YORK CITY             NY
110356   5TDJZRFH3KS581795   Toyota       HIGHLANDER          MEDFORD                   MA
110357   5TDJZRFH3KS582199   Toyota       HIGHLANDER          PHILADELPHIA              PA
110358   5TDJZRFH3KS582607   Toyota       HIGHLANDER          NORFOLK                   VA
110359   5TDJZRFH3KS922709   Toyota       HIGHLANDER          West Palm Beach           FL
110360   5TDJZRFH3KS922886   Toyota       HIGHLANDER          NEW YORK CITY             NY
110361   5TDJZRFH3KS924766   Toyota       HIGHLANDER          CHARLOTTE                 NC
110362   5TDJZRFH3KS943379   Toyota       HIGHLANDER          UNION CITY                GA
110363   5TDJZRFH3KS943415   Toyota       HIGHLANDER          JACKSONVILLE              FL
110364   5TDJZRFH3KS944113   Toyota       HIGHLANDER          FORT MYERS                FL
110365   5TDJZRFH3KS945052   Toyota       HIGHLANDER          JACKSONVILLE              FL
110366   5TDJZRFH3KS945682   Toyota       HIGHLANDER          COLUMBIA                  SC
110367   5TDJZRFH3KS945892   Toyota       HIGHLANDER          HIGH POINT                NC
110368   5TDJZRFH3KS945973   Toyota       HIGHLANDER          DANIA                     FL
110369   5TDJZRFH3KS946766   Toyota       HIGHLANDER          RICHMOND                  VA
110370   5TDJZRFH3KS946895   Toyota       HIGHLANDER          West Palm Beach           FL
110371   5TDJZRFH4JS536198   Toyota       HIGHLANDER          Denver                    CO
110372   5TDJZRFH4JS818499   Toyota       HIGHLANDER          Maple Grove               MN
110373   5TDJZRFH4JS830698   Toyota       HIGHLANDER          Dania Beach               FL
110374   5TDJZRFH4JS831818   Toyota       HIGHLANDER          Burien                    WA
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110375   5TDJZRFH4KS565153   Toyota       HIGHLANDER          MORRISVILLE               NC
110376   5TDJZRFH4KS565492   Toyota       HIGHLANDER          PHILADELPHIA              PA
110377   5TDJZRFH4KS565539   Toyota       HIGHLANDER          MEDFORD                   MA
110378   5TDJZRFH4KS565606   Toyota       HIGHLANDER          WEST COLUMBIA             SC
110379   5TDJZRFH4KS565637   Toyota       HIGHLANDER          Atlanta                   GA
110380   5TDJZRFH4KS572961   Toyota       HIGHLANDER          WEST PALM BEACH           FL
110381   5TDJZRFH4KS573737   Toyota       HIGHLANDER          Dania Beach               FL
110382   5TDJZRFH4KS574144   Toyota       HIGHLANDER          UNION CITY                GA
110383   5TDJZRFH4KS581157   Toyota       HIGHLANDER          EAST BOSTON               MA
110384   5TDJZRFH4KS581160   Toyota       HIGHLANDER          SAVANNAH                  GA
110385   5TDJZRFH4KS581613   Toyota       HIGHLANDER          SYRACUSE                  NY
110386   5TDJZRFH4KS581790   Toyota       HIGHLANDER          NORFOLK                   VA
110387   5TDJZRFH4KS581899   Toyota       HIGHLANDER          WHITE PLAINS              NY
110388   5TDJZRFH4KS582549   Toyota       HIGHLANDER          HEBRON                    KY
110389   5TDJZRFH4KS582583   Toyota       HIGHLANDER          WARWICK                   RI
110390   5TDJZRFH4KS920614   Toyota       HIGHLANDER          MORRISVILLE               NC
110391   5TDJZRFH4KS922346   Toyota       HIGHLANDER          ALEXANDRIA                VA
110392   5TDJZRFH4KS924825   Toyota       HIGHLANDER          MEMPHIS                   TN
110393   5TDJZRFH4KS943942   Toyota       HIGHLANDER          RICHMOND                  VA
110394   5TDJZRFH4KS944668   Toyota       HIGHLANDER          SARASOTA                  FL
110395   5TDJZRFH4KS944993   Toyota       HIGHLANDER          SAVANNAH                  GA
110396   5TDJZRFH4KS945125   Toyota       HIGHLANDER          PITTSBURGH                PA
110397   5TDJZRFH4KS945562   Toyota       HIGHLANDER          UNION CITY                GA
110398   5TDJZRFH4KS945593   Toyota       HIGHLANDER          EAST BOSTON               MA
110399   5TDJZRFH4KS946193   Toyota       HIGHLANDER          ORLANDO                   FL
110400   5TDJZRFH4KS946243   Toyota       HIGHLANDER          Miami                     FL
110401   5TDJZRFH4KS946386   Toyota       HIGHLANDER          WEST PALM BEACH           FL
110402   5TDJZRFH4KS946579   Toyota       HIGHLANDER          DANIA                     FL
110403   5TDJZRFH4KS964127   Toyota       HIGHLANDER          LOUISVILLE                KY
110404   5TDJZRFH5JS833187   Toyota       HIGHLANDER          HOUSTON                   TX
110405   5TDJZRFH5JS841922   Toyota       HIGHLANDER          Miami                     FL
110406   5TDJZRFH5JS844335   Toyota       HIGHLANDER          SARASOTA                  FL
110407   5TDJZRFH5KS564898   Toyota       HIGHLANDER          GREENWOOD                 IN
110408   5TDJZRFH5KS565632   Toyota       HIGHLANDER          TAMPA                     US
110409   5TDJZRFH5KS572869   Toyota       HIGHLANDER          Miami                     FL
110410   5TDJZRFH5KS573617   Toyota       HIGHLANDER          ORLANDO                   FL
110411   5TDJZRFH5KS573908   Toyota       HIGHLANDER          Atlanta                   GA
110412   5TDJZRFH5KS580695   Toyota       HIGHLANDER          RONKONKOMA                NY
110413   5TDJZRFH5KS580938   Toyota       HIGHLANDER          SAINT LOUIS               MO
110414   5TDJZRFH5KS582012   Toyota       HIGHLANDER          BOSTON                    MA
110415   5TDJZRFH5KS582141   Toyota       HIGHLANDER          STERLING                  US
110416   5TDJZRFH5KS582348   Toyota       HIGHLANDER          MANCHESTER                US
110417   5TDJZRFH5KS582530   Toyota       HIGHLANDER          BOSTON, LOGAN AP          MA
110418   5TDJZRFH5KS943366   Toyota       HIGHLANDER          Miami                     FL
110419   5TDJZRFH5KS943433   Toyota       HIGHLANDER          SARASOTA                  FL
110420   5TDJZRFH5KS943769   Toyota       HIGHLANDER          JACKSONVILLE              FL
110421   5TDJZRFH5KS944274   Toyota       HIGHLANDER          Miami                     FL
110422   5TDJZRFH5KS944291   Toyota       HIGHLANDER          STERLING                  VA
110423   5TDJZRFH5KS944856   Toyota       HIGHLANDER          Miami                     FL
110424   5TDJZRFH5KS944999   Toyota       HIGHLANDER          JACKSONVILLE              FL
110425   5TDJZRFH5KS960488   Toyota       HIGHLANDER          TAMPA                     US
110426   5TDJZRFH5KS963195   Toyota       HIGHLANDER          CLEVELAND                 OH
110427   5TDJZRFH5KS964119   Toyota       HIGHLANDER          EAST BOSTON               MA
110428   5TDJZRFH6JS537076   Toyota       HIGHLANDER          San Diego                 CA
110429   5TDJZRFH6KS564926   Toyota       HIGHLANDER          NEWARK                    NJ
110430   5TDJZRFH6KS565395   Toyota       HIGHLANDER          LITHIA SPRINGS            GA
110431   5TDJZRFH6KS565476   Toyota       HIGHLANDER          ALEXANDRIA                VA
110432   5TDJZRFH6KS565526   Toyota       HIGHLANDER          WARWICK                   RI
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110433   5TDJZRFH6KS565624   Toyota       HIGHLANDER          PHILADELPHIA              PA
110434   5TDJZRFH6KS565705   Toyota       HIGHLANDER          FORT MYERS                FL
110435   5TDJZRFH6KS572699   Toyota       HIGHLANDER          ORLANDO                   FL
110436   5TDJZRFH6KS572962   Toyota       HIGHLANDER          DANIA                     FL
110437   5TDJZRFH6KS573223   Toyota       HIGHLANDER          Miami                     FL
110438   5TDJZRFH6KS573352   Toyota       HIGHLANDER          ORLANDO                   FL
110439   5TDJZRFH6KS573478   Toyota       HIGHLANDER          FORT MYERS                FL
110440   5TDJZRFH6KS574372   Toyota       HIGHLANDER          Baltimore                 MD
110441   5TDJZRFH6KS574582   Toyota       HIGHLANDER          Miami                     FL
110442   5TDJZRFH6KS580706   Toyota       HIGHLANDER          PHILADELPHIA              PA
110443   5TDJZRFH6KS581144   Toyota       HIGHLANDER          SYRACUSE                  NY
110444   5TDJZRFH6KS581158   Toyota       HIGHLANDER          BOSTON                    MA
110445   5TDJZRFH6KS581354   Toyota       HIGHLANDER          ALEXANDRIA                VA
110446   5TDJZRFH6KS581371   Toyota       HIGHLANDER          Revere                    MA
110447   5TDJZRFH6KS582195   Toyota       HIGHLANDER          WINDSOR LOCKS             CT
110448   5TDJZRFH6KS582598   Toyota       HIGHLANDER          FAYETTEVILLE              GA
110449   5TDJZRFH6KS582620   Toyota       HIGHLANDER          STERLING                  VA
110450   5TDJZRFH6KS922669   Toyota       HIGHLANDER          PHILADELPHIA              PA
110451   5TDJZRFH6KS922705   Toyota       HIGHLANDER          Manheim                   PA
110452   5TDJZRFH6KS922851   Toyota       HIGHLANDER          NEWARK                    NJ
110453   5TDJZRFH6KS924437   Toyota       HIGHLANDER          RICHMOND                  VA
110454   5TDJZRFH6KS924793   Toyota       HIGHLANDER          NEW BERN                  NC
110455   5TDJZRFH6KS943876   Toyota       HIGHLANDER          ORLANDO                   FL
110456   5TDJZRFH6KS943988   Toyota       HIGHLANDER          WEST PALM BEACH           FL
110457   5TDJZRFH6KS946230   Toyota       HIGHLANDER          KENNER                    LA
110458   5TDJZRFH6KS962573   Toyota       HIGHLANDER          ORLANDO                   FL
110459   5TDJZRFH7JS536728   Toyota       HIGHLANDER          SACRAMENTO                CA
110460   5TDJZRFH7JS830761   Toyota       HIGHLANDER          Little Rock               AR
110461   5TDJZRFH7JS833482   Toyota       HIGHLANDER          FORT MYERS                FL
110462   5TDJZRFH7JS844322   Toyota       HIGHLANDER          TALLAHASSEE               US
110463   5TDJZRFH7JS845759   Toyota       HIGHLANDER          TAMPA                     US
110464   5TDJZRFH7KS564062   Toyota       HIGHLANDER          COLUMBIA                  SC
110465   5TDJZRFH7KS564210   Toyota       HIGHLANDER          STERLING                  VA
110466   5TDJZRFH7KS564434   Toyota       HIGHLANDER          Manheim                   PA
110467   5TDJZRFH7KS564921   Toyota       HIGHLANDER          Detroit                   MI
110468   5TDJZRFH7KS564997   Toyota       HIGHLANDER          FORT MYERS                FL
110469   5TDJZRFH7KS565003   Toyota       HIGHLANDER          ORLANDO                   FL
110470   5TDJZRFH7KS565082   Toyota       HIGHLANDER          WEST COLUMBIA             SC
110471   5TDJZRFH7KS565101   Toyota       HIGHLANDER          LOUISVILLE                KY
110472   5TDJZRFH7KS565115   Toyota       HIGHLANDER          BUTLER                    PA
110473   5TDJZRFH7KS565339   Toyota       HIGHLANDER          HANOVER                   MD
110474   5TDJZRFH7KS565423   Toyota       HIGHLANDER          NAPLES                    FL
110475   5TDJZRFH7KS572629   Toyota       HIGHLANDER          KENNER                    LA
110476   5TDJZRFH7KS572887   Toyota       HIGHLANDER          BIRMINGHAN                AL
110477   5TDJZRFH7KS573067   Toyota       HIGHLANDER          DETROIT                   MI
110478   5TDJZRFH7KS573764   Toyota       HIGHLANDER          DANIA                     FL
110479   5TDJZRFH7KS574140   Toyota       HIGHLANDER          TAMPA                     US
110480   5TDJZRFH7KS574395   Toyota       HIGHLANDER          UNION CITY                GA
110481   5TDJZRFH7KS574560   Toyota       HIGHLANDER          FORT MYERS                FL
110482   5TDJZRFH7KS581377   Toyota       HIGHLANDER          GRAND RAPIDS              MI
110483   5TDJZRFH7KS581797   Toyota       HIGHLANDER          DANIA                     FL
110484   5TDJZRFH7KS582433   Toyota       HIGHLANDER          NORFOLK                   VA
110485   5TDJZRFH7KS582447   Toyota       HIGHLANDER          CHARLOTTE                 NC
110486   5TDJZRFH7KS921191   Toyota       HIGHLANDER          DANIA                     FL
110487   5TDJZRFH7KS923927   Toyota       HIGHLANDER          Miami                     FL
110488   5TDJZRFH7KS943644   Toyota       HIGHLANDER          JACKSONVILLE              FL
110489   5TDJZRFH7KS943806   Toyota       HIGHLANDER          Detroit                   MI
110490   5TDJZRFH7KS944020   Toyota       HIGHLANDER          Revere                    MA
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110491   5TDJZRFH7KS944678   Toyota       HIGHLANDER          NEW BERN                  NC
110492   5TDJZRFH7KS945958   Toyota       HIGHLANDER          MOBILE                    A
110493   5TDJZRFH7KS946432   Toyota       HIGHLANDER          SARASOTA                  FL
110494   5TDJZRFH7KS963912   Toyota       HIGHLANDER          Detroit                   MI
110495   5TDJZRFH8JS532543   Toyota       HIGHLANDER          DENVER                    CO
110496   5TDJZRFH8JS536401   Toyota       HIGHLANDER          Beaverton                 OR
110497   5TDJZRFH8JS541677   Toyota       HIGHLANDER          TAMPA                     US
110498   5TDJZRFH8JS833989   Toyota       HIGHLANDER          Bensalem                  PA
110499   5TDJZRFH8KS564930   Toyota       HIGHLANDER          NEWARK                    NJ
110500   5TDJZRFH8KS564944   Toyota       HIGHLANDER          Detroit                   MI
110501   5TDJZRFH8KS564961   Toyota       HIGHLANDER          WINDSOR LOCKS             CT
110502   5TDJZRFH8KS565009   Toyota       HIGHLANDER          STERLING                  VA
110503   5TDJZRFH8KS565074   Toyota       HIGHLANDER          ORLANDO                   FL
110504   5TDJZRFH8KS565141   Toyota       HIGHLANDER          ALEXANDRIA                VA
110505   5TDJZRFH8KS565253   Toyota       HIGHLANDER          WEST COLUMBIA             SC
110506   5TDJZRFH8KS565513   Toyota       HIGHLANDER          WEST COLUMBIA             SC
110507   5TDJZRFH8KS572641   Toyota       HIGHLANDER          DANIA                     FL
110508   5TDJZRFH8KS574017   Toyota       HIGHLANDER          TAMPA                     US
110509   5TDJZRFH8KS574289   Toyota       HIGHLANDER          Atlanta                   GA
110510   5TDJZRFH8KS574566   Toyota       HIGHLANDER          FORT MYERS                FL
110511   5TDJZRFH8KS580724   Toyota       HIGHLANDER          CHARLOTTE                 US
110512   5TDJZRFH8KS580951   Toyota       HIGHLANDER          BOSTON                    MA
110513   5TDJZRFH8KS581355   Toyota       HIGHLANDER          BURLINGTON                VT
110514   5TDJZRFH8KS581369   Toyota       HIGHLANDER          SYRACUSE                  NY
110515   5TDJZRFH8KS581520   Toyota       HIGHLANDER          PORTLAND                  OR
110516   5TDJZRFH8KS581601   Toyota       HIGHLANDER          Revere                    MA
110517   5TDJZRFH8KS581730   Toyota       HIGHLANDER          SARASOTA                  FL
110518   5TDJZRFH8KS582005   Toyota       HIGHLANDER          TAMPA                     US
110519   5TDJZRFH8KS582019   Toyota       HIGHLANDER          BOSTON                    MA
110520   5TDJZRFH8KS582201   Toyota       HIGHLANDER          MEDFORD                   MA
110521   5TDJZRFH8KS582344   Toyota       HIGHLANDER          WARWICK                   RI
110522   5TDJZRFH8KS922687   Toyota       HIGHLANDER          Hebron                    KY
110523   5TDJZRFH8KS923337   Toyota       HIGHLANDER          JAMAICA                   NY
110524   5TDJZRFH8KS924259   Toyota       HIGHLANDER          EGG HARBOR TOWN           NJ
110525   5TDJZRFH8KS943569   Toyota       HIGHLANDER          INDIANAPOLIS              IN
110526   5TDJZRFH8KS943765   Toyota       HIGHLANDER          Tampa                     FL
110527   5TDJZRFH8KS945709   Toyota       HIGHLANDER          Coraopolis                PA
110528   5TDJZRFH8KS946701   Toyota       HIGHLANDER          ORLANDO                   FL
110529   5TDJZRFH9JS827067   Toyota       HIGHLANDER          LAS VEGAS                 NV
110530   5TDJZRFH9JS830213   Toyota       HIGHLANDER          WHITE PLAINS              NY
110531   5TDJZRFH9KS564919   Toyota       HIGHLANDER          NAPLES                    FL
110532   5TDJZRFH9KS565035   Toyota       HIGHLANDER          STERLING                  VA
110533   5TDJZRFH9KS565391   Toyota       HIGHLANDER          COLUMBIA                  SC
110534   5TDJZRFH9KS565505   Toyota       HIGHLANDER          CHARLOTTE                 NC
110535   5TDJZRFH9KS573944   Toyota       HIGHLANDER          WEST PALM BEACH           FL
110536   5TDJZRFH9KS580926   Toyota       HIGHLANDER          BOSTON                    MA
110537   5TDJZRFH9KS581302   Toyota       HIGHLANDER          DFW AIRPORT               TX
110538   5TDJZRFH9KS581610   Toyota       HIGHLANDER          EAST BOSTON               MA
110539   5TDJZRFH9KS582143   Toyota       HIGHLANDER          COLUMBIA                  SC
110540   5TDJZRFH9KS582191   Toyota       HIGHLANDER          BOSTON                    MA
110541   5TDJZRFH9KS582627   Toyota       HIGHLANDER          BOSTON                    MA
110542   5TDJZRFH9KS925016   Toyota       HIGHLANDER          PHILADELPHIA              PA
110543   5TDJZRFH9KS943774   Toyota       HIGHLANDER          KNOXVILLE                 TN
110544   5TDJZRFH9KS944701   Toyota       HIGHLANDER          TAMPA                     US
110545   5TDJZRFH9KS945069   Toyota       HIGHLANDER          ORLANDO                   FL
110546   5TDJZRFH9KS945198   Toyota       HIGHLANDER          Miami                     FL
110547   5TDJZRFH9KS945220   Toyota       HIGHLANDER          ORLANDO                   FL
110548   5TDJZRFH9KS945475   Toyota       HIGHLANDER          FORT MYERS                FL
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110549   5TDJZRFH9KS945511   Toyota       HIGHLANDER          ORLANDO                   FL
110550   5TDJZRFH9KS946187   Toyota       HIGHLANDER          TAMPA                     FL
110551   5TDJZRFH9KS946383   Toyota       HIGHLANDER          JACKSONVILLE              FL
110552   5TDJZRFH9KS946884   Toyota       HIGHLANDER          STERLING                  VA
110553   5TDJZRFH9KS946903   Toyota       HIGHLANDER          Miami                     FL
110554   5TDJZRFHXKS564217   Toyota       HIGHLANDER          ORLANDO                   FL
110555   5TDJZRFHXKS564721   Toyota       HIGHLANDER          MORRISVILLE               NC
110556   5TDJZRFHXKS564895   Toyota       HIGHLANDER          PENSACOLA                 FL
110557   5TDJZRFHXKS565139   Toyota       HIGHLANDER          BROOKLYN                  NY
110558   5TDJZRFHXKS565173   Toyota       HIGHLANDER          PHILADELPHIA              PA
110559   5TDJZRFHXKS565495   Toyota       HIGHLANDER          NEWARK                    NJ
110560   5TDJZRFHXKS565612   Toyota       HIGHLANDER          Atlanta                   GA
110561   5TDJZRFHXKS565643   Toyota       HIGHLANDER          DETROIT                   MI
110562   5TDJZRFHXKS572804   Toyota       HIGHLANDER          DANIA                     FL
110563   5TDJZRFHXKS573340   Toyota       HIGHLANDER          TAMPA                     US
110564   5TDJZRFHXKS573354   Toyota       HIGHLANDER          ORLANDO                   FL
110565   5TDJZRFHXKS573502   Toyota       HIGHLANDER          FORT MYERS                FL
110566   5TDJZRFHXKS573614   Toyota       HIGHLANDER          UNION CITY                GA
110567   5TDJZRFHXKS574021   Toyota       HIGHLANDER          Atlanta                   GA
110568   5TDJZRFHXKS574553   Toyota       HIGHLANDER          MIAMI                     FL
110569   5TDJZRFHXKS581762   Toyota       HIGHLANDER          SEATAC                    WA
110570   5TDJZRFHXKS582006   Toyota       HIGHLANDER          ORLANDO                   FL
110571   5TDJZRFHXKS582135   Toyota       HIGHLANDER          PITTSBURGH                PA
110572   5TDJZRFHXKS582149   Toyota       HIGHLANDER          BOSTON                    MA
110573   5TDJZRFHXKS582183   Toyota       HIGHLANDER          SYRACUSE                  NY
110574   5TDJZRFHXKS923937   Toyota       HIGHLANDER          Teterboro                 NJ
110575   5TDJZRFHXKS924344   Toyota       HIGHLANDER          Teterboro                 NJ
110576   5TDJZRFHXKS944321   Toyota       HIGHLANDER          ORLANDO                   FL
110577   5TDJZRFHXKS944514   Toyota       HIGHLANDER          LOUISVILLE                KY
110578   5TDJZRFHXKS945064   Toyota       HIGHLANDER          Atlanta                   GA
110579   5TDJZRFHXKS945582   Toyota       HIGHLANDER          Miami                     FL
110580   5TDJZRFHXKS946456   Toyota       HIGHLANDER          FORT MYERS                FL
110581   5TDJZRFHXKS946487   Toyota       HIGHLANDER          BOSTON                    MA
110582   5TDJZRFHXKS964133   Toyota       HIGHLANDER          BOSTON                    MA
110583   5TDKK3DC8GS742033   Toyota       SIENNA              ANCHORAGE                 AK
110584   5TDKY5G17JS070400   Toyota       COROLLA             Davie                     FL
110585   5TDKZ3DC0JS905437   Toyota       SIENNA              TAMPA                     US
110586   5TDKZ3DC0JS905695   Toyota       SIENNA              WEST PALM BEACH           FL
110587   5TDKZ3DC0JS905728   Toyota       SIENNA              ORLANDO                   FL
110588   5TDKZ3DC0JS950328   Toyota       SIENNA              ALEXANDRIA                VA
110589   5TDKZ3DC0JS950619   Toyota       SIENNA              FAYETTEVILLE              GA
110590   5TDKZ3DC1JS905771   Toyota       SIENNA              ORLANDO                   FL
110591   5TDKZ3DC1JS906306   Toyota       SIENNA              FORT MYERS                FL
110592   5TDKZ3DC1JS952539   Toyota       SIENNA              West Palm Beach           FL
110593   5TDKZ3DC1JS952797   Toyota       SIENNA              DANIA                     FL
110594   5TDKZ3DC2JS906248   Toyota       SIENNA              West Palm Beach           FL
110595   5TDKZ3DC2JS940688   Toyota       SIENNA              LOS ANGELES               CA
110596   5TDKZ3DC2JS944045   Toyota       SIENNA              LAS VEGAS                 NV
110597   5TDKZ3DC2JS951366   Toyota       SIENNA              Smithtown                 NY
110598   5TDKZ3DC2JS960732   Toyota       SIENNA              ORLANDO                   FL
110599   5TDKZ3DC3JS904735   Toyota       SIENNA              MIAMI                     FL
110600   5TDKZ3DC3JS905867   Toyota       SIENNA              DANIA                     FL
110601   5TDKZ3DC3JS906369   Toyota       SIENNA              Dania Beach               FL
110602   5TDKZ3DC3JS942577   Toyota       SIENNA              San Diego                 CA
110603   5TDKZ3DC3JS942627   Toyota       SIENNA              ATLANTA AP                GA
110604   5TDKZ3DC3JS950971   Toyota       SIENNA              MYRTLE BEACH              SC
110605   5TDKZ3DC3JS952834   Toyota       SIENNA              WEST PALM BEACH           FL
110606   5TDKZ3DC4JS904713   Toyota       SIENNA              ORLANDO                   FL
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110607   5TDKZ3DC4JS904727   Toyota       SIENNA              ORLANDO                   FL
110608   5TDKZ3DC4JS905263   Toyota       SIENNA              WEST PALM BEACH           FL
110609   5TDKZ3DC4JS905666   Toyota       SIENNA              MIAMI                     FL
110610   5TDKZ3DC4JS906607   Toyota       SIENNA              MIAMI                     FL
110611   5TDKZ3DC4JS933595   Toyota       SIENNA              ALBUQUERQUE               NM
110612   5TDKZ3DC4JS951479   Toyota       SIENNA              FORT MYERS                FL
110613   5TDKZ3DC4JS952504   Toyota       SIENNA              RONKONKOMA                NY
110614   5TDKZ3DC4JS952552   Toyota       SIENNA              PHOENIX                   AZ
110615   5TDKZ3DC4JS952826   Toyota       SIENNA              STERLING                  US
110616   5TDKZ3DC5JS905076   Toyota       SIENNA              Baltimore                 MD
110617   5TDKZ3DC5JS905224   Toyota       SIENNA              ORLANDO                   FL
110618   5TDKZ3DC5JS905708   Toyota       SIENNA              STERLING                  VA
110619   5TDKZ3DC6JS951421   Toyota       SIENNA              ORLANDO                   FL
110620   5TDKZ3DC6JS960314   Toyota       SIENNA              Dania Beach               FL
110621   5TDKZ3DC7JS904737   Toyota       SIENNA              SARASOTA                  FL
110622   5TDKZ3DC7JS906200   Toyota       SIENNA              FORT MYERS                FL
110623   5TDKZ3DC7JS935292   Toyota       SIENNA              SANTA ANA                 CA
110624   5TDKZ3DC7JS941027   Toyota       SIENNA              SAN FRANCISCO             CA
110625   5TDKZ3DC7JS951301   Toyota       SIENNA              LOS ANGELES               CA
110626   5TDKZ3DC7JS951363   Toyota       SIENNA              SARASOTA                  FL
110627   5TDKZ3DC7JS952545   Toyota       SIENNA              FAYETTEVILLE              GA
110628   5TDKZ3DC8JS905685   Toyota       SIENNA              ORLANDO                   FL
110629   5TDKZ3DC8JS940887   Toyota       SIENNA              Hartford                  CT
110630   5TDKZ3DC8JS941389   Toyota       SIENNA              North Las Vegas           NV
110631   5TDKZ3DC8JS950576   Toyota       SIENNA              LOS ANGELES               CA
110632   5TDKZ3DC9JS905081   Toyota       SIENNA
110633   5TDKZ3DC9JS906005   Toyota       SIENNA              Tampa                     FL
110634   5TDKZ3DC9JS906103   Toyota       SIENNA              MIAMI                     FL
110635   5TDKZ3DC9JS906490   Toyota       SIENNA              ORLANDO                   FL
110636   5TDKZ3DC9JS940445   Toyota       SIENNA              LOS ANGELES               CA
110637   5TDKZ3DC9JS950263   Toyota       SIENNA              DANIA                     FL
110638   5TDKZ3DC9JS951171   Toyota       SIENNA              ORLANDO                   FL
110639   5TDKZ3DC9JS951459   Toyota       SIENNA              CHARLESTON                SC
110640   5TDKZ3DC9JS952448   Toyota       SIENNA              ORLANDO                   FL
110641   5TDKZ3DCXJS904425   Toyota       SIENNA              DANIA                     FL
110642   5TDKZ3DCXJS906045   Toyota       SIENNA              ORLANDO                   FL
110643   5TDKZ3DCXJS906806   Toyota       SIENNA              NORFOLK                   VA
110644   5TDKZ3DCXJS940261   Toyota       SIENNA              Coraopolis                PA
110645   5TDKZ3DCXJS950224   Toyota       SIENNA              Dania                     FL
110646   5TDKZ3DCXJS950529   Toyota       SIENNA              ORLANDO                   FL
110647   5TDKZRFH0JS270697   Toyota       HIGHLANDER          HOUSTON                   TX
110648   5TDKZRFH0JS536249   Toyota       HIGHLANDER          Louisville                KY
110649   5TDKZRFH0JS536493   Toyota       HIGHLANDER          FORT MYERS                FL
110650   5TDKZRFH0JS541578   Toyota       HIGHLANDER          MEDINA                    OH
110651   5TDKZRFH0JS550278   Toyota       HIGHLANDER          KANSAS CITY               MO
110652   5TDKZRFH0KS304445   Toyota       HIGHLANDER          ST PAUL                   MN
110653   5TDKZRFH0KS308222   Toyota       HIGHLANDER          PHILADELPHIA              PA
110654   5TDKZRFH0KS309239   Toyota       HIGHLANDER          Revere                    MA
110655   5TDKZRFH0KS312593   Toyota       HIGHLANDER          DENVER                    CO
110656   5TDKZRFH0KS313453   Toyota       HIGHLANDER          UNION CITY                GA
110657   5TDKZRFH0KS314313   Toyota       HIGHLANDER          LOS ANGELES               CA
110658   5TDKZRFH0KS314781   Toyota       HIGHLANDER          ONTARIO                   CA
110659   5TDKZRFH0KS552100   Toyota       HIGHLANDER          LOS ANGELES               CA
110660   5TDKZRFH0KS552114   Toyota       HIGHLANDER          TAMPA                     US
110661   5TDKZRFH0KS555871   Toyota       HIGHLANDER          FORT MYERS                FL
110662   5TDKZRFH0KS557457   Toyota       HIGHLANDER          LOS ANGELES               CA
110663   5TDKZRFH0KS557510   Toyota       HIGHLANDER          BURLINGAME                CA
110664   5TDKZRFH0KS557555   Toyota       HIGHLANDER          PHOENIX                   AZ
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110665   5TDKZRFH0KS557586   Toyota       HIGHLANDER          LOS ANGELES               CA
110666   5TDKZRFH0KS557667   Toyota       HIGHLANDER          CHICAGO                   IL
110667   5TDKZRFH0KS557670   Toyota       HIGHLANDER          OAKLAND                   CA
110668   5TDKZRFH0KS558723   Toyota       HIGHLANDER          ORLANDO                   FL
110669   5TDKZRFH0KS558771   Toyota       HIGHLANDER          SHREVEPORT                US
110670   5TDKZRFH0KS558897   Toyota       HIGHLANDER          NASHVILLE                 TN
110671   5TDKZRFH0KS558947   Toyota       HIGHLANDER          HIGH POINT                NC
110672   5TDKZRFH0KS559080   Toyota       HIGHLANDER          LAS VEGAS                 NV
110673   5TDKZRFH0KS560097   Toyota       HIGHLANDER          ST PAUL                   MN
110674   5TDKZRFH0KS560634   Toyota       HIGHLANDER          BURBANK                   CA
110675   5TDKZRFH0KS560911   Toyota       HIGHLANDER          INDIANAPOLIS              IN
110676   5TDKZRFH0KS561427   Toyota       HIGHLANDER          JACKSONVILLE              FL
110677   5TDKZRFH1JS256002   Toyota       HIGHLANDER          SEATTLE                   WA
110678   5TDKZRFH1JS272166   Toyota       HIGHLANDER          Euless                    TX
110679   5TDKZRFH1JS538933   Toyota       HIGHLANDER          NAPLES                    FL
110680   5TDKZRFH1JS541718   Toyota       HIGHLANDER          BUFORD                    GA
110681   5TDKZRFH1JS550502   Toyota       HIGHLANDER          HOUSTON                   TX
110682   5TDKZRFH1KS292077   Toyota       HIGHLANDER          UNION CITY                GA
110683   5TDKZRFH1KS293584   Toyota       HIGHLANDER          Atlanta                   GA
110684   5TDKZRFH1KS293617   Toyota       HIGHLANDER          RONKONKOMA                NY
110685   5TDKZRFH1KS303479   Toyota       HIGHLANDER          SACRAMENTO                CA
110686   5TDKZRFH1KS304079   Toyota       HIGHLANDER          LOS ANGELES               CA
110687   5TDKZRFH1KS313672   Toyota       HIGHLANDER          CHARLESTON                SC
110688   5TDKZRFH1KS321206   Toyota       HIGHLANDER          MIAMI                     FL
110689   5TDKZRFH1KS331914   Toyota       HIGHLANDER          Atlanta                   GA
110690   5TDKZRFH1KS551974   Toyota       HIGHLANDER          PHILADELPHIA              PA
110691   5TDKZRFH1KS551988   Toyota       HIGHLANDER          LOS ANGELES               CA
110692   5TDKZRFH1KS552509   Toyota       HIGHLANDER          SEATAC                    WA
110693   5TDKZRFH1KS555457   Toyota       HIGHLANDER          LOS ANGELES               CA
110694   5TDKZRFH1KS557287   Toyota       HIGHLANDER          TUCSON                    US
110695   5TDKZRFH1KS557452   Toyota       HIGHLANDER          PHOENIX                   AZ
110696   5TDKZRFH1KS557564   Toyota       HIGHLANDER          PHOENIX                   AZ
110697   5TDKZRFH1KS557578   Toyota       HIGHLANDER          LOS ANGELES               CA
110698   5TDKZRFH1KS557614   Toyota       HIGHLANDER          TUCSON                    US
110699   5TDKZRFH1KS557628   Toyota       HIGHLANDER          PHOENIX                   AZ
110700   5TDKZRFH1KS557631   Toyota       HIGHLANDER          LOS ANGELES               CA
110701   5TDKZRFH1KS558603   Toyota       HIGHLANDER          NORFOLK                   VA
110702   5TDKZRFH1KS558701   Toyota       HIGHLANDER          Atlanta                   GA
110703   5TDKZRFH1KS558780   Toyota       HIGHLANDER          LOUISVILLE                KY
110704   5TDKZRFH1KS559086   Toyota       HIGHLANDER          PALM SPRINGS              CA
110705   5TDKZRFH1KS560125   Toyota       HIGHLANDER          BATON ROUGE               LA
110706   5TDKZRFH1KS561517   Toyota       HIGHLANDER          BIRMINGHAN                AL
110707   5TDKZRFH1KS561551   Toyota       HIGHLANDER          ORLANDO                   FL
110708   5TDKZRFH1KS561565   Toyota       HIGHLANDER          Atlanta                   GA
110709   5TDKZRFH1KS561601   Toyota       HIGHLANDER          SYRACUSE                  NY
110710   5TDKZRFH2JS271530   Toyota       HIGHLANDER          Norwalk                   CA
110711   5TDKZRFH2JS536785   Toyota       HIGHLANDER          PHILADELPHIA              PA
110712   5TDKZRFH2JS539122   Toyota       HIGHLANDER          PALM SPRINGS              CA
110713   5TDKZRFH2KS291634   Toyota       HIGHLANDER          DALLAS                    TX
110714   5TDKZRFH2KS299183   Toyota       HIGHLANDER          MIAMI                     FL
110715   5TDKZRFH2KS303782   Toyota       HIGHLANDER          NEWPORT BEACH             CA
110716   5TDKZRFH2KS304589   Toyota       HIGHLANDER          SAN JOSE                  CA
110717   5TDKZRFH2KS304723   Toyota       HIGHLANDER          EL SEGUNDO                CA
110718   5TDKZRFH2KS305001   Toyota       HIGHLANDER          JACKSON                   MS
110719   5TDKZRFH2KS307959   Toyota       HIGHLANDER          FAYETTEVILLE              US
110720   5TDKZRFH2KS308786   Toyota       HIGHLANDER          PHILADELPHIA              PA
110721   5TDKZRFH2KS309761   Toyota       HIGHLANDER          San Diego                 CA
110722   5TDKZRFH2KS313759   Toyota       HIGHLANDER          LOUISVILLE                KY
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110723   5TDKZRFH2KS314247   Toyota       HIGHLANDER          SAN ANTONIO               TX
110724   5TDKZRFH2KS325734   Toyota       HIGHLANDER          FRESNO                    CA
110725   5TDKZRFH2KS331646   Toyota       HIGHLANDER          CHATTANOOGA               TN
110726   5TDKZRFH2KS552521   Toyota       HIGHLANDER          TAMPA                     US
110727   5TDKZRFH2KS554690   Toyota       HIGHLANDER          DFW AIRPORT               TX
110728   5TDKZRFH2KS555449   Toyota       HIGHLANDER          PHOENIX                   AZ
110729   5TDKZRFH2KS556553   Toyota       HIGHLANDER          TAMPA                     US
110730   5TDKZRFH2KS557296   Toyota       HIGHLANDER          LOS ANGELES               CA
110731   5TDKZRFH2KS557489   Toyota       HIGHLANDER          LAKEWOOD                  WA
110732   5TDKZRFH2KS557511   Toyota       HIGHLANDER          WICHITA FALLS             TX
110733   5TDKZRFH2KS557668   Toyota       HIGHLANDER          SAN FRANCISCO             CA
110734   5TDKZRFH2KS559064   Toyota       HIGHLANDER          SANTA ANA                 CA
110735   5TDKZRFH2KS560019   Toyota       HIGHLANDER          ONTARIO, RIVERSIDE        CA
110736   5TDKZRFH2KS560196   Toyota       HIGHLANDER          BURLINGAME                CA
110737   5TDKZRFH2KS561476   Toyota       HIGHLANDER          Atlanta                   GA
110738   5TDKZRFH3JS251934   Toyota       HIGHLANDER          Cleveland                 OH
110739   5TDKZRFH3JS270306   Toyota       HIGHLANDER          Bensalem                  PA
110740   5TDKZRFH3JS270967   Toyota       HIGHLANDER          ST Paul                   MN
110741   5TDKZRFH3JS287736   Toyota       HIGHLANDER          MANCHESTER                US
110742   5TDKZRFH3JS539288   Toyota       HIGHLANDER          GRAND RAPIDS              MI
110743   5TDKZRFH3JS541431   Toyota       HIGHLANDER          BURBANK                   CA
110744   5TDKZRFH3KS291383   Toyota       HIGHLANDER          RICHMOND                  VA
110745   5TDKZRFH3KS303743   Toyota       HIGHLANDER          PHOENIX                   AZ
110746   5TDKZRFH3KS308974   Toyota       HIGHLANDER          UNION CITY                GA
110747   5TDKZRFH3KS312961   Toyota       HIGHLANDER          ORLANDO                   FL
110748   5TDKZRFH3KS313169   Toyota       HIGHLANDER          Portland                  OR
110749   5TDKZRFH3KS313690   Toyota       HIGHLANDER          HEBRON                    KY
110750   5TDKZRFH3KS313740   Toyota       HIGHLANDER          Omaha                     NE
110751   5TDKZRFH3KS313950   Toyota       HIGHLANDER          LOS ANGELES               CA
110752   5TDKZRFH3KS314970   Toyota       HIGHLANDER          BIRMINGHAN                AL
110753   5TDKZRFH3KS319960   Toyota       HIGHLANDER          NEW BERN                  NC
110754   5TDKZRFH3KS324608   Toyota       HIGHLANDER          LOS ANGELES               CA
110755   5TDKZRFH3KS552012   Toyota       HIGHLANDER          DETROIT                   MI
110756   5TDKZRFH3KS552107   Toyota       HIGHLANDER          CHARLESTON                SC
110757   5TDKZRFH3KS552267   Toyota       HIGHLANDER          LAS VEGAS                 NV
110758   5TDKZRFH3KS553029   Toyota       HIGHLANDER          CORPUS CHRISTI            TX
110759   5TDKZRFH3KS555170   Toyota       HIGHLANDER          ROUND ROCK                TX
110760   5TDKZRFH3KS555721   Toyota       HIGHLANDER          ORLANDO                   FL
110761   5TDKZRFH3KS557498   Toyota       HIGHLANDER          LOS ANGELES               CA
110762   5TDKZRFH3KS557582   Toyota       HIGHLANDER          PHOENIX                   AZ
110763   5TDKZRFH3KS558649   Toyota       HIGHLANDER          KNOXVILLE                 TN
110764   5TDKZRFH3KS558716   Toyota       HIGHLANDER          Dania Beach               FL
110765   5TDKZRFH3KS560191   Toyota       HIGHLANDER          OKLAHOMA CITY             OK
110766   5TDKZRFH3KS560384   Toyota       HIGHLANDER          LOS ANGELES               CA
110767   5TDKZRFH3KS560675   Toyota       HIGHLANDER          PALM SPRINGS              CA
110768   5TDKZRFH3KS560787   Toyota       HIGHLANDER          Miami                     FL
110769   5TDKZRFH3KS560918   Toyota       HIGHLANDER          PITTSBURGH                PA
110770   5TDKZRFH3KS561518   Toyota       HIGHLANDER          JACKSONVILLE              FL
110771   5TDKZRFH3KS561521   Toyota       HIGHLANDER          FORT MYERS                FL
110772   5TDKZRFH3KS561731   Toyota       HIGHLANDER          DANIA                     FL
110773   5TDKZRFH4JS251800   Toyota       HIGHLANDER          ORLANDO                   FL
110774   5TDKZRFH4JS286255   Toyota       HIGHLANDER          ST PAUL                   MN
110775   5TDKZRFH4JS536206   Toyota       HIGHLANDER          FORT MYERS                FL
110776   5TDKZRFH4JS536397   Toyota       HIGHLANDER          PHILADELPHIA              PA
110777   5TDKZRFH4JS540899   Toyota       HIGHLANDER          SAN DIEGO                 CA
110778   5TDKZRFH4JS543205   Toyota       HIGHLANDER          LAKEWOOD                  WA
110779   5TDKZRFH4KS292588   Toyota       HIGHLANDER          INDIANAPOLIS              IN
110780   5TDKZRFH4KS304089   Toyota       HIGHLANDER          ONTARIO, RIVERSIDE        CA
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110781   5TDKZRFH4KS304397   Toyota       HIGHLANDER          LOS ANGELES               CA
110782   5TDKZRFH4KS304707   Toyota       HIGHLANDER          San Diego                 CA
110783   5TDKZRFH4KS309535   Toyota       HIGHLANDER          Des Moines                IA
110784   5TDKZRFH4KS312886   Toyota       HIGHLANDER          LAKEWOOD                  WA
110785   5TDKZRFH4KS319403   Toyota       HIGHLANDER          PHILADELPHIA              PA
110786   5TDKZRFH4KS331034   Toyota       HIGHLANDER          WEST PALM BEACH           FL
110787   5TDKZRFH4KS551824   Toyota       HIGHLANDER          JACKSONVILLE              FL
110788   5TDKZRFH4KS551970   Toyota       HIGHLANDER          ORLANDO                   FL
110789   5TDKZRFH4KS552410   Toyota       HIGHLANDER          UNION CITY                GA
110790   5TDKZRFH4KS555436   Toyota       HIGHLANDER          SHREVEPORT                US
110791   5TDKZRFH4KS557364   Toyota       HIGHLANDER          PHOENIX                   AZ
110792   5TDKZRFH4KS557512   Toyota       HIGHLANDER          PHOENIX                   AZ
110793   5TDKZRFH4KS557591   Toyota       HIGHLANDER          PALM SPRINGS              CA
110794   5TDKZRFH4KS557638   Toyota       HIGHLANDER          MONTCLAIR                 CA
110795   5TDKZRFH4KS557669   Toyota       HIGHLANDER          ST PAUL                   MN
110796   5TDKZRFH4KS558689   Toyota       HIGHLANDER          PHILADELPHIA              PA
110797   5TDKZRFH4KS558949   Toyota       HIGHLANDER          SANTA ANA                 CA
110798   5TDKZRFH4KS558952   Toyota       HIGHLANDER          MONTGOMERY                AL
110799   5TDKZRFH4KS560586   Toyota       HIGHLANDER          LOS ANGELES               CA
110800   5TDKZRFH4KS560913   Toyota       HIGHLANDER          KNOXVILLE                 TN
110801   5TDKZRFH4KS561477   Toyota       HIGHLANDER          Atlanta                   GA
110802   5TDKZRFH4KS561544   Toyota       HIGHLANDER          FORT MYERS                FL
110803   5TDKZRFH4KS561608   Toyota       HIGHLANDER          JACKSONVILLE              FL
110804   5TDKZRFH5JS261106   Toyota       HIGHLANDER          SALT LAKE CITY            UT
110805   5TDKZRFH5JS264541   Toyota       HIGHLANDER          LUBBOCK                   TX
110806   5TDKZRFH5JS271747   Toyota       HIGHLANDER          LOS ANGELES               CA
110807   5TDKZRFH5JS288287   Toyota       HIGHLANDER          Dallas                    TX
110808   5TDKZRFH5JS541172   Toyota       HIGHLANDER          SANTA ANA                 CA
110809   5TDKZRFH5JS541768   Toyota       HIGHLANDER          HOUSTON                   TX
110810   5TDKZRFH5JS545058   Toyota       HIGHLANDER          FAYETTEVILLE              GA
110811   5TDKZRFH5KS298867   Toyota       HIGHLANDER          Miami                     FL
110812   5TDKZRFH5KS313089   Toyota       HIGHLANDER          HOUSTON                   TX
110813   5TDKZRFH5KS313352   Toyota       HIGHLANDER          LOS ANGELES               CA
110814   5TDKZRFH5KS313402   Toyota       HIGHLANDER          BURLINGAME                CA
110815   5TDKZRFH5KS319118   Toyota       HIGHLANDER          AUGUSTA                   GA
110816   5TDKZRFH5KS551976   Toyota       HIGHLANDER          NASHVILLE                 TN
110817   5TDKZRFH5KS555915   Toyota       HIGHLANDER          ORLANDO                   FL
110818   5TDKZRFH5KS557292   Toyota       HIGHLANDER          PHOENIX                   AZ
110819   5TDKZRFH5KS557325   Toyota       HIGHLANDER          ALBUQUERQUE               NM
110820   5TDKZRFH5KS557454   Toyota       HIGHLANDER          PORTLAND                  OR
110821   5TDKZRFH5KS557499   Toyota       HIGHLANDER          San Diego                 CA
110822   5TDKZRFH5KS557566   Toyota       HIGHLANDER          PALM SPRINGS              CA
110823   5TDKZRFH5KS559012   Toyota       HIGHLANDER          CLEVELAND                 OH
110824   5TDKZRFH5KS559088   Toyota       HIGHLANDER          LOS ANGELES               CA
110825   5TDKZRFH5KS560127   Toyota       HIGHLANDER          SAN ANTONIO               TX
110826   5TDKZRFH5KS560371   Toyota       HIGHLANDER          LOS ANGELES               CA
110827   5TDKZRFH5KS560385   Toyota       HIGHLANDER          SYRACUSE                  NY
110828   5TDKZRFH5KS560788   Toyota       HIGHLANDER          Dallas                    TX
110829   5TDKZRFH5KS560922   Toyota       HIGHLANDER          BURLINGAME                CA
110830   5TDKZRFH5KS561696   Toyota       HIGHLANDER          KNOXVILLE                 TN
110831   5TDKZRFH5KS561729   Toyota       HIGHLANDER          FT. LAUDERDALE            FL
110832   5TDKZRFH6JS250700   Toyota       HIGHLANDER          BOSTON                    MA
110833   5TDKZRFH6JS259848   Toyota       HIGHLANDER          Portland                  OR
110834   5TDKZRFH6JS288413   Toyota       HIGHLANDER          EL PASO                   US
110835   5TDKZRFH6JS536546   Toyota       HIGHLANDER          WEST PALM BEACH           FL
110836   5TDKZRFH6JS538572   Toyota       HIGHLANDER          DANIA                     FL
110837   5TDKZRFH6JS538863   Toyota       HIGHLANDER          ORLANDO                   FL
110838   5TDKZRFH6JS539088   Toyota       HIGHLANDER          TAMPA                     FL
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110839   5TDKZRFH6JS541133   Toyota       HIGHLANDER          Des Plaines               IL
110840   5TDKZRFH6KS292642   Toyota       HIGHLANDER          NASHVILLE                 TN
110841   5TDKZRFH6KS293077   Toyota       HIGHLANDER          LOUISVILLE                KY
110842   5TDKZRFH6KS303719   Toyota       HIGHLANDER          SACRAMENTO                CA
110843   5TDKZRFH6KS308497   Toyota       HIGHLANDER          KENNER                    LA
110844   5TDKZRFH6KS552117   Toyota       HIGHLANDER          FAYETTEVILLE              GA
110845   5TDKZRFH6KS552330   Toyota       HIGHLANDER          Atlanta                   GA
110846   5TDKZRFH6KS552943   Toyota       HIGHLANDER          ALEXANDRIA                VA
110847   5TDKZRFH6KS555910   Toyota       HIGHLANDER          LAS VEGAS                 NV
110848   5TDKZRFH6KS557320   Toyota       HIGHLANDER          PHOENIX                   AZ
110849   5TDKZRFH6KS557401   Toyota       HIGHLANDER          PALM SPRINGS              CA
110850   5TDKZRFH6KS557463   Toyota       HIGHLANDER          MCALLEN                   TX
110851   5TDKZRFH6KS557513   Toyota       HIGHLANDER          SAN DIEGO                 CA
110852   5TDKZRFH6KS557527   Toyota       HIGHLANDER          BURBANK                   CA
110853   5TDKZRFH6KS558628   Toyota       HIGHLANDER          DANIA                     FL
110854   5TDKZRFH6KS558631   Toyota       HIGHLANDER          MYRTLE BEACH              SC
110855   5TDKZRFH6KS558953   Toyota       HIGHLANDER          NASHVILLE                 TN
110856   5TDKZRFH6KS558967   Toyota       HIGHLANDER          LOS ANGELES               CA
110857   5TDKZRFH6KS559049   Toyota       HIGHLANDER          UNION CITY                GA
110858   5TDKZRFH6KS560380   Toyota       HIGHLANDER          HOUSTON                   TX
110859   5TDKZRFH6KS560802   Toyota       HIGHLANDER          FRESNO                    CA
110860   5TDKZRFH7JS255128   Toyota       HIGHLANDER          FORT MYERS                FL
110861   5TDKZRFH7JS288503   Toyota       HIGHLANDER          HOUSTON                   TX
110862   5TDKZRFH7JS537169   Toyota       HIGHLANDER          Massapequa                NY
110863   5TDKZRFH7JS540766   Toyota       HIGHLANDER          HOUSTON                   TX
110864   5TDKZRFH7JS541190   Toyota       HIGHLANDER          DALLAS                    TX
110865   5TDKZRFH7JS541433   Toyota       HIGHLANDER          LAS VEGAS                 NV
110866   5TDKZRFH7KS291824   Toyota       HIGHLANDER          JAMAICA                   NY
110867   5TDKZRFH7KS296540   Toyota       HIGHLANDER          LOS ANGELES               CA
110868   5TDKZRFH7KS298224   Toyota       HIGHLANDER          WEST PALM BEACH           FL
110869   5TDKZRFH7KS304586   Toyota       HIGHLANDER          San Diego                 CA
110870   5TDKZRFH7KS315054   Toyota       HIGHLANDER          BURBANK                   CA
110871   5TDKZRFH7KS331660   Toyota       HIGHLANDER          JACKSON                   MS
110872   5TDKZRFH7KS552143   Toyota       HIGHLANDER          DANIA                     FL
110873   5TDKZRFH7KS552367   Toyota       HIGHLANDER          SAINT LOUIS               MO
110874   5TDKZRFH7KS552658   Toyota       HIGHLANDER          PHILADELPHIA              PA
110875   5TDKZRFH7KS555446   Toyota       HIGHLANDER          KANSAS CITY               MO
110876   5TDKZRFH7KS557407   Toyota       HIGHLANDER          CLEVELAND                 OH
110877   5TDKZRFH7KS558590   Toyota       HIGHLANDER          NEW ORLEANS               LA
110878   5TDKZRFH7KS558914   Toyota       HIGHLANDER          DALLAS                    TX
110879   5TDKZRFH7KS559061   Toyota       HIGHLANDER          LITTLE ROCK               AR
110880   5TDKZRFH7KS560792   Toyota       HIGHLANDER          ST PAUL                   MN
110881   5TDKZRFH7KS561697   Toyota       HIGHLANDER          Revere                    MA
110882   5TDKZRFH7KS561747   Toyota       HIGHLANDER          BOSTON                    MA
110883   5TDKZRFH7KS561831   Toyota       HIGHLANDER          NEW BERN                  NC
110884   5TDKZRFH8JS251315   Toyota       HIGHLANDER          FORT MYERS                FL
110885   5TDKZRFH8JS260791   Toyota       HIGHLANDER          LOS ANGELES               CA
110886   5TDKZRFH8JS267059   Toyota       HIGHLANDER          OKLAHOMA CITY             OK
110887   5TDKZRFH8JS536290   Toyota       HIGHLANDER          LAS VEGAS                 NV
110888   5TDKZRFH8JS539108   Toyota       HIGHLANDER          Carleton                  MI
110889   5TDKZRFH8JS540887   Toyota       HIGHLANDER          JACKSON                   MS
110890   5TDKZRFH8KS292092   Toyota       HIGHLANDER          CORPUS CHRISTI            TX
110891   5TDKZRFH8KS302944   Toyota       HIGHLANDER          LOS ANGELES               CA
110892   5TDKZRFH8KS312616   Toyota       HIGHLANDER          LAKEWOOD                  WA
110893   5TDKZRFH8KS312969   Toyota       HIGHLANDER          HEBRON                    KY
110894   5TDKZRFH8KS313717   Toyota       HIGHLANDER          WICHITA FALLS             TX
110895   5TDKZRFH8KS313751   Toyota       HIGHLANDER          HOUSTON                   TX
110896   5TDKZRFH8KS552927   Toyota       HIGHLANDER          PHILADELPHIA              PA
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110897   5TDKZRFH8KS557450   Toyota       HIGHLANDER          PHOENIX                   AZ
110898   5TDKZRFH8KS557495   Toyota       HIGHLANDER          PHOENIX                   AZ
110899   5TDKZRFH8KS557559   Toyota       HIGHLANDER          GRAND RAPIDS              MI
110900   5TDKZRFH8KS557562   Toyota       HIGHLANDER          Des Moines                IA
110901   5TDKZRFH8KS557660   Toyota       HIGHLANDER          LAS VEGAS                 NV
110902   5TDKZRFH8KS558940   Toyota       HIGHLANDER          CLEVELAND                 OH
110903   5TDKZRFH8KS558954   Toyota       HIGHLANDER          PITTSBURGH                PA
110904   5TDKZRFH8KS558999   Toyota       HIGHLANDER          Revere                    MA
110905   5TDKZRFH8KS560199   Toyota       HIGHLANDER          ONTARIO, RIVERSIDE        CA
110906   5TDKZRFH8KS560588   Toyota       HIGHLANDER          LOS ANGELES               CA
110907   5TDKZRFH8KS560669   Toyota       HIGHLANDER          Omaha                     NE
110908   5TDKZRFH9JS254790   Toyota       HIGHLANDER          Ventura                   CA
110909   5TDKZRFH9JS255714   Toyota       HIGHLANDER          ORLANDO                   FL
110910   5TDKZRFH9JS266129   Toyota       HIGHLANDER          HOUSTON                   TX
110911   5TDKZRFH9JS288924   Toyota       HIGHLANDER          SAN JOSE                  CA
110912   5TDKZRFH9KS296944   Toyota       HIGHLANDER          PHOENIX                   AZ
110913   5TDKZRFH9KS303665   Toyota       HIGHLANDER          PHOENIX                   AZ
110914   5TDKZRFH9KS304069   Toyota       HIGHLANDER          LOS ANGELES               CA
110915   5TDKZRFH9KS304928   Toyota       HIGHLANDER          SACRAMENTO                CA
110916   5TDKZRFH9KS304959   Toyota       HIGHLANDER          BURLINGAME                CA
110917   5TDKZRFH9KS312771   Toyota       HIGHLANDER          CLEVELAND                 OH
110918   5TDKZRFH9KS312852   Toyota       HIGHLANDER          PHOENIX                   AZ
110919   5TDKZRFH9KS318425   Toyota       HIGHLANDER          INDIANAPOLIS              IN
110920   5TDKZRFH9KS320174   Toyota       HIGHLANDER          FAYETTEVILLE              GA
110921   5TDKZRFH9KS324077   Toyota       HIGHLANDER          Omaha                     NE
110922   5TDKZRFH9KS324614   Toyota       HIGHLANDER          CHICAGO                   IL
110923   5TDKZRFH9KS552368   Toyota       HIGHLANDER          DANIA                     FL
110924   5TDKZRFH9KS552810   Toyota       HIGHLANDER          MIAMI                     FL
110925   5TDKZRFH9KS557344   Toyota       HIGHLANDER          PHOENIX                   AZ
110926   5TDKZRFH9KS557490   Toyota       HIGHLANDER          WARWICK                   RI
110927   5TDKZRFH9KS557599   Toyota       HIGHLANDER          SEATAC                    WA
110928   5TDKZRFH9KS557604   Toyota       HIGHLANDER          FOLSOM                    CA
110929   5TDKZRFH9KS557618   Toyota       HIGHLANDER          SANTA BARBARA             CA
110930   5TDKZRFH9KS557652   Toyota       HIGHLANDER          Omaha                     NE
110931   5TDKZRFH9KS558896   Toyota       HIGHLANDER          NEW BERN                  NC
110932   5TDKZRFH9KS558915   Toyota       HIGHLANDER          DALLAS                    TX
110933   5TDKZRFH9KS560311   Toyota       HIGHLANDER          MIDLAND                   TX
110934   5TDKZRFH9KS561412   Toyota       HIGHLANDER          SAINT LOUIS               MO
110935   5TDKZRFHXJS255155   Toyota       HIGHLANDER          Manheim                   PA
110936   5TDKZRFHXJS255169   Toyota       HIGHLANDER          Riverside                 CA
110937   5TDKZRFHXJS536100   Toyota       HIGHLANDER          Sacramento                CA
110938   5TDKZRFHXJS543130   Toyota       HIGHLANDER          HOUSTON                   TX
110939   5TDKZRFHXJS549851   Toyota       HIGHLANDER          AMARILLO                  US
110940   5TDKZRFHXKS297343   Toyota       HIGHLANDER          Detroit                   MI
110941   5TDKZRFHXKS309443   Toyota       HIGHLANDER          COSTA MESA                CA
110942   5TDKZRFHXKS312858   Toyota       HIGHLANDER          Atlanta                   GA
110943   5TDKZRFHXKS313153   Toyota       HIGHLANDER          LOS ANGELES               CA
110944   5TDKZRFHXKS313217   Toyota       HIGHLANDER          DALLAS                    TX
110945   5TDKZRFHXKS552606   Toyota       HIGHLANDER          SAN ANTONIO               TX
110946   5TDKZRFHXKS554842   Toyota       HIGHLANDER          LUBBOCK                   TX
110947   5TDKZRFHXKS555926   Toyota       HIGHLANDER          DFW AIRPORT               TX
110948   5TDKZRFHXKS557286   Toyota       HIGHLANDER          DENVER                    CO
110949   5TDKZRFHXKS557448   Toyota       HIGHLANDER          HANOVER                   MD
110950   5TDKZRFHXKS557451   Toyota       HIGHLANDER          BURBANK                   CA
110951   5TDKZRFHXKS557529   Toyota       HIGHLANDER          CHARLOTTE                 NC
110952   5TDKZRFHXKS557546   Toyota       HIGHLANDER          Detroit                   MI
110953   5TDKZRFHXKS557563   Toyota       HIGHLANDER          PHOENIX                   AZ
110954   5TDKZRFHXKS557580   Toyota       HIGHLANDER          PHOENIX                   AZ
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110955   5TDKZRFHXKS557644   Toyota       HIGHLANDER          LOS ANGELES               CA
110956   5TDKZRFHXKS557658   Toyota       HIGHLANDER          PHOENIX                   AZ
110957   5TDKZRFHXKS558633   Toyota       HIGHLANDER          HANOVER                   MD
110958   5TDKZRFHXKS558650   Toyota       HIGHLANDER          LOS ANGELES               CA
110959   5TDKZRFHXKS558891   Toyota       HIGHLANDER          Atlanta                   GA
110960   5TDKZRFHXKS561595   Toyota       HIGHLANDER          KNOXVILLE                 TN
110961   5TDKZRFHXKS561600   Toyota       HIGHLANDER          HANOVER                   MD
110962   5TDKZRFHXKS561645   Toyota       HIGHLANDER          MIAMI                     FL
110963   5TDXZ3DC0JS909381   Toyota       SIENNA              NEWPORT BEACH             CA
110964   5TDXZ3DC0JS915777   Toyota       SIENNA              HANOVER                   MD
110965   5TDXZ3DC0JS916489   Toyota       SIENNA              Fontana                   CA
110966   5TDXZ3DC0JS916993   Toyota       SIENNA              HANOVER                   MD
110967   5TDXZ3DC0JS917349   Toyota       SIENNA              Baltimore                 MD
110968   5TDXZ3DC0JS950433   Toyota       SIENNA              ORLANDO                   FL
110969   5TDXZ3DC0JS951081   Toyota       SIENNA              MANCHESTER                US
110970   5TDXZ3DC0JS952764   Toyota       SIENNA              SAVANNAH                  GA
110971   5TDXZ3DC0KS976502   Toyota       SIENNA              NASHVILLE                 TN
110972   5TDXZ3DC0KS976547   Toyota       SIENNA              ORLANDO                   FL
110973   5TDXZ3DC0KS977634   Toyota       SIENNA              JACKSONVILLE              FL
110974   5TDXZ3DC0KS978119   Toyota       SIENNA              ALEXANDRIA                VA
110975   5TDXZ3DC0KS978234   Toyota       SIENNA              FORT MYERS                FL
110976   5TDXZ3DC0KS978489   Toyota       SIENNA              ORLANDO                   FL
110977   5TDXZ3DC0KS978699   Toyota       SIENNA              SAINT LOUIS               MO
110978   5TDXZ3DC0KS978783   Toyota       SIENNA              Miami                     FL
110979   5TDXZ3DC0KS978797   Toyota       SIENNA              DANIA                     FL
110980   5TDXZ3DC0KS982557   Toyota       SIENNA              ONTARIO, RIVERSIDE        CA
110981   5TDXZ3DC0KS983403   Toyota       SIENNA              JACKSONVILLE              FL
110982   5TDXZ3DC0KS983563   Toyota       SIENNA              ORLANDO                   FL
110983   5TDXZ3DC0KS984034   Toyota       SIENNA              ORLANDO                   FL
110984   5TDXZ3DC0KS984115   Toyota       SIENNA              LAS VEGAS                 NV
110985   5TDXZ3DC0KS984339   Toyota       SIENNA              UNION CITY                GA
110986   5TDXZ3DC0KS984986   Toyota       SIENNA              LAS VEGAS                 NV
110987   5TDXZ3DC0KS985085   Toyota       SIENNA              LOS ANGELES               CA
110988   5TDXZ3DC0KS985409   Toyota       SIENNA              BURLINGAME                CA
110989   5TDXZ3DC0KS985443   Toyota       SIENNA              BIRMINGHAN                AL
110990   5TDXZ3DC0KS985605   Toyota       SIENNA              FORT MYERS                FL
110991   5TDXZ3DC0KS985703   Toyota       SIENNA              PHOENIX                   AZ
110992   5TDXZ3DC0KS985927   Toyota       SIENNA              WEST PALM BEACH           FL
110993   5TDXZ3DC0KS986608   Toyota       SIENNA              Miami                     FL
110994   5TDXZ3DC0KS986737   Toyota       SIENNA              Miami                     FL
110995   5TDXZ3DC0KS986933   Toyota       SIENNA              Miami                     FL
110996   5TDXZ3DC0KS990755   Toyota       SIENNA              SAN DIEGO                 CA
110997   5TDXZ3DC0KS990965   Toyota       SIENNA              SAN FRANCISCO             CA
110998   5TDXZ3DC0KS991226   Toyota       SIENNA              BURBANK                   CA
110999   5TDXZ3DC0KS991386   Toyota       SIENNA              LAKEWOOD                  WA
111000   5TDXZ3DC0KS991453   Toyota       SIENNA              SAN JOSE                  CA
111001   5TDXZ3DC0KS992134   Toyota       SIENNA              SAN FRANCISCO             CA
111002   5TDXZ3DC0KS992859   Toyota       SIENNA              San Diego                 CA
111003   5TDXZ3DC1JS915349   Toyota       SIENNA              Dania                     FL
111004   5TDXZ3DC1JS915982   Toyota       SIENNA              Manheim                   PA
111005   5TDXZ3DC1JS916761   Toyota       SIENNA              FORT MYERS                FL
111006   5TDXZ3DC1JS917179   Toyota       SIENNA              UNION CITY                GA
111007   5TDXZ3DC1JS921846   Toyota       SIENNA              ANCHORAGE                 AK
111008   5TDXZ3DC1JS923533   Toyota       SIENNA              LOS ANGELES               CA
111009   5TDXZ3DC1JS927078   Toyota       SIENNA              DENVER                    CO
111010   5TDXZ3DC1JS927288   Toyota       SIENNA              LAS VEGAS                 NV
111011   5TDXZ3DC1JS950327   Toyota       SIENNA              BOSTON                    MA
111012   5TDXZ3DC1JS950778   Toyota       SIENNA              DENVER                    CO
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111013   5TDXZ3DC1JS951252   Toyota       SIENNA              Baltimore                 MD
111014   5TDXZ3DC1JS951588   Toyota       SIENNA              FORT MYERS                FL
111015   5TDXZ3DC1JS952207   Toyota       SIENNA              West Palm Beach           FL
111016   5TDXZ3DC1JS952479   Toyota       SIENNA              NEW BERN                  NC
111017   5TDXZ3DC1JS952997   Toyota       SIENNA              Louisville                KY
111018   5TDXZ3DC1JS958220   Toyota       SIENNA              Winston‐Salem             NC
111019   5TDXZ3DC1KS976282   Toyota       SIENNA              ORLANDO                   FL
111020   5TDXZ3DC1KS977450   Toyota       SIENNA              ORLANDO                   FL
111021   5TDXZ3DC1KS978226   Toyota       SIENNA              UNION CITY                GA
111022   5TDXZ3DC1KS978422   Toyota       SIENNA              FORT MYERS                FL
111023   5TDXZ3DC1KS978467   Toyota       SIENNA              NEW BERN                  NC
111024   5TDXZ3DC1KS978582   Toyota       SIENNA              HANOVER                   MD
111025   5TDXZ3DC1KS978842   Toyota       SIENNA              TAMPA                     US
111026   5TDXZ3DC1KS983832   Toyota       SIENNA              DANIA                     FL
111027   5TDXZ3DC1KS984043   Toyota       SIENNA              FORT MYERS                FL
111028   5TDXZ3DC1KS984222   Toyota       SIENNA              PHOENIX                   AZ
111029   5TDXZ3DC1KS984270   Toyota       SIENNA              LAKEWOOD                  WA
111030   5TDXZ3DC1KS984415   Toyota       SIENNA              Houston                   TX
111031   5TDXZ3DC1KS984639   Toyota       SIENNA              DANIA                     FL
111032   5TDXZ3DC1KS984690   Toyota       SIENNA              LAKEWOOD                  WA
111033   5TDXZ3DC1KS984866   Toyota       SIENNA              DENVER                    CO
111034   5TDXZ3DC1KS985712   Toyota       SIENNA              LOS ANGELES               CA
111035   5TDXZ3DC1KS985919   Toyota       SIENNA              ORLANDO                   FL
111036   5TDXZ3DC1KS986360   Toyota       SIENNA              San Diego                 CA
111037   5TDXZ3DC1KS986388   Toyota       SIENNA              SAN DIEGO                 CA
111038   5TDXZ3DC1KS986584   Toyota       SIENNA              ATLANTA AP                GA
111039   5TDXZ3DC1KS986617   Toyota       SIENNA              BIRMINGHAN                AL
111040   5TDXZ3DC1KS990392   Toyota       SIENNA              SANTA CLARA               CA
111041   5TDXZ3DC1KS990778   Toyota       SIENNA              COLORADO SPRING           CO
111042   5TDXZ3DC1KS990831   Toyota       SIENNA              COSTA MESA                CA
111043   5TDXZ3DC1KS990862   Toyota       SIENNA              CHARLOTTE                 NC
111044   5TDXZ3DC2JS916090   Toyota       SIENNA              Miami                     FL
111045   5TDXZ3DC2JS918860   Toyota       SIENNA              ORLANDO                   FL
111046   5TDXZ3DC2JS919216   Toyota       SIENNA
111047   5TDXZ3DC2JS924917   Toyota       SIENNA              SAN DIEGO                 CA
111048   5TDXZ3DC2JS926036   Toyota       SIENNA              RONKONKOMA                NY
111049   5TDXZ3DC2JS932449   Toyota       SIENNA              Sacramento                CA
111050   5TDXZ3DC2JS950756   Toyota       SIENNA              Houston                   TX
111051   5TDXZ3DC2JS950823   Toyota       SIENNA              ORLANDO                   FL
111052   5TDXZ3DC2JS951177   Toyota       SIENNA              CHARLOTTE                 NC
111053   5TDXZ3DC2JS951938   Toyota       SIENNA              WEST COLUMBIA             SC
111054   5TDXZ3DC2JS952135   Toyota       SIENNA              BOSTON                    MA
111055   5TDXZ3DC2JS952751   Toyota       SIENNA              Baltimore                 MD
111056   5TDXZ3DC2KS975836   Toyota       SIENNA              Coraopolis                PA
111057   5TDXZ3DC2KS977408   Toyota       SIENNA              DETROIT                   MI
111058   5TDXZ3DC2KS977537   Toyota       SIENNA              ORLANDO                   FL
111059   5TDXZ3DC2KS977568   Toyota       SIENNA              CHARLOTTE                 US
111060   5TDXZ3DC2KS977781   Toyota       SIENNA              NAPLES                    FL
111061   5TDXZ3DC2KS978204   Toyota       SIENNA              Memphis                   TN
111062   5TDXZ3DC2KS978641   Toyota       SIENNA              WEST PALM BEACH           FL
111063   5TDXZ3DC2KS978980   Toyota       SIENNA              Miami                     FL
111064   5TDXZ3DC2KS984262   Toyota       SIENNA              PORTLAND                  OR
111065   5TDXZ3DC2KS984472   Toyota       SIENNA              PALM SPRINGS              CA
111066   5TDXZ3DC2KS984536   Toyota       SIENNA              LOS ANGELES               CA
111067   5TDXZ3DC2KS984679   Toyota       SIENNA              DENVER                    CO
111068   5TDXZ3DC2KS984777   Toyota       SIENNA              SALT LAKE CITY            UT
111069   5TDXZ3DC2KS984908   Toyota       SIENNA              ORLANDO                   FL
111070   5TDXZ3DC2KS985962   Toyota       SIENNA              ORLANDO                   FL
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111071   5TDXZ3DC2KS986111   Toyota       SIENNA              Miami                     FL
111072   5TDXZ3DC2KS986304   Toyota       SIENNA              LOS ANGELES               CA
111073   5TDXZ3DC2KS987033   Toyota       SIENNA              SAINT LOUIS               MO
111074   5TDXZ3DC2KS988148   Toyota       SIENNA              ORLANDO                   FL
111075   5TDXZ3DC2KS990370   Toyota       SIENNA              SAN JOSE                  CA
111076   5TDXZ3DC2KS990644   Toyota       SIENNA              PORTLAND                  OR
111077   5TDXZ3DC2KS990708   Toyota       SIENNA              PHOENIX                   AZ
111078   5TDXZ3DC2KS991065   Toyota       SIENNA              LOS ANGELES               CA
111079   5TDXZ3DC2KS991597   Toyota       SIENNA              DRB                       UT
111080   5TDXZ3DC2KS992085   Toyota       SIENNA              San Diego                 CA
111081   5TDXZ3DC2KS992796   Toyota       SIENNA              BURBANK                   CA
111082   5TDXZ3DC3JS917054   Toyota       SIENNA              Teterboro                 NJ
111083   5TDXZ3DC3JS919449   Toyota       SIENNA              MIAMI                     FL
111084   5TDXZ3DC3JS923677   Toyota       SIENNA              BURBANK                   CA
111085   5TDXZ3DC3JS946750   Toyota       SIENNA              ANCHORAGE                 AK
111086   5TDXZ3DC3JS947283   Toyota       SIENNA              anchorage,                ak
111087   5TDXZ3DC3JS950281   Toyota       SIENNA              ORLANDO                   FL
111088   5TDXZ3DC3JS950426   Toyota       SIENNA              ORLANDO                   FL
111089   5TDXZ3DC3JS950474   Toyota       SIENNA              ORLANDO                   FL
111090   5TDXZ3DC3JS950989   Toyota       SIENNA              DANIA                     FL
111091   5TDXZ3DC3JS951074   Toyota       SIENNA              Baltimore                 MD
111092   5TDXZ3DC3JS951172   Toyota       SIENNA              MIAMI                     FL
111093   5TDXZ3DC3JS951415   Toyota       SIENNA              WHITE PLAINS              NY
111094   5TDXZ3DC3JS952189   Toyota       SIENNA              PHILADELPHIA              PA
111095   5TDXZ3DC3JS953004   Toyota       SIENNA              MEMPHIS                   TN
111096   5TDXZ3DC3KS978180   Toyota       SIENNA              ORLANDO                   FL
111097   5TDXZ3DC3KS978292   Toyota       SIENNA              Cranberry Towns           PA
111098   5TDXZ3DC3KS978891   Toyota       SIENNA              NASHVILLE                 TN
111099   5TDXZ3DC3KS978986   Toyota       SIENNA              OKLAHOMA CITY             OK
111100   5TDXZ3DC3KS979006   Toyota       SIENNA              West Palm Beach           FL
111101   5TDXZ3DC3KS982908   Toyota       SIENNA              ORLANDO                   FL
111102   5TDXZ3DC3KS983766   Toyota       SIENNA              Miami                     FL
111103   5TDXZ3DC3KS984383   Toyota       SIENNA              SARASOTA                  FL
111104   5TDXZ3DC3KS984481   Toyota       SIENNA              CHICAGO                   IL
111105   5TDXZ3DC3KS985033   Toyota       SIENNA              DENVER                    CO
111106   5TDXZ3DC3KS985145   Toyota       SIENNA              LAS VEGAS                 NV
111107   5TDXZ3DC3KS985274   Toyota       SIENNA              LOS ANGELES               CA
111108   5TDXZ3DC3KS985369   Toyota       SIENNA              LOS ANGELES               CA
111109   5TDXZ3DC3KS986084   Toyota       SIENNA              ORLANDO                   FL
111110   5TDXZ3DC3KS986179   Toyota       SIENNA              DANIA                     FL
111111   5TDXZ3DC3KS986523   Toyota       SIENNA              PENSACOLA                 FL
111112   5TDXZ3DC3KS986554   Toyota       SIENNA              PENSACOLA                 FL
111113   5TDXZ3DC3KS986876   Toyota       SIENNA              DANIA                     FL
111114   5TDXZ3DC3KS986957   Toyota       SIENNA              DENVER                    CO
111115   5TDXZ3DC3KS986988   Toyota       SIENNA              ALBUQUERQUE               NM
111116   5TDXZ3DC3KS990622   Toyota       SIENNA              San Diego                 CA
111117   5TDXZ3DC3KS991236   Toyota       SIENNA              SALT LAKE CITY            UT
111118   5TDXZ3DC4JS916866   Toyota       SIENNA              ORLANDO                   FL
111119   5TDXZ3DC4JS924773   Toyota       SIENNA              LOS ANGELES               CA
111120   5TDXZ3DC4JS940651   Toyota       SIENNA              DES PLAINES               IL
111121   5TDXZ3DC4JS941590   Toyota       SIENNA              SEATAC                    WA
111122   5TDXZ3DC4JS942979   Toyota       SIENNA              MIAMI                     FL
111123   5TDXZ3DC4JS951049   Toyota       SIENNA              Massapequa                NY
111124   5TDXZ3DC4JS951116   Toyota       SIENNA              ORLANDO                   FL
111125   5TDXZ3DC4JS951200   Toyota       SIENNA              NAPLES                    FL
111126   5TDXZ3DC4JS951570   Toyota       SIENNA              NEWARK                    NJ
111127   5TDXZ3DC4KS975918   Toyota       SIENNA              LAKEWOOD                  WA
111128   5TDXZ3DC4KS977507   Toyota       SIENNA              UNION CITY                GA
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111129   5TDXZ3DC4KS977670   Toyota       SIENNA              Miami                     FL
111130   5TDXZ3DC4KS977927   Toyota       SIENNA              FORT MYERS                FL
111131   5TDXZ3DC4KS977944   Toyota       SIENNA              WHITE PLAINS              NY
111132   5TDXZ3DC4KS978334   Toyota       SIENNA              FORT MYERS                FL
111133   5TDXZ3DC4KS984067   Toyota       SIENNA              OKLAHOMA CITY             OK
111134   5TDXZ3DC4KS984098   Toyota       SIENNA              LOS ANGELES               CA
111135   5TDXZ3DC4KS984196   Toyota       SIENNA              SAN JOSE                  CA
111136   5TDXZ3DC4KS984330   Toyota       SIENNA              SAN JOSE                  CA
111137   5TDXZ3DC4KS984389   Toyota       SIENNA              JACKSONVILLE              FL
111138   5TDXZ3DC4KS984490   Toyota       SIENNA              PITTSBURGH                PA
111139   5TDXZ3DC4KS984697   Toyota       SIENNA              SAINT LOUIS               MO
111140   5TDXZ3DC4KS985042   Toyota       SIENNA              PHOENIX                   AZ
111141   5TDXZ3DC4KS985378   Toyota       SIENNA              ORLANDO                   FL
111142   5TDXZ3DC4KS986014   Toyota       SIENNA              PORTLAND                  OR
111143   5TDXZ3DC4KS986224   Toyota       SIENNA              Miami                     FL
111144   5TDXZ3DC4KS986532   Toyota       SIENNA              BIRMINGHAN                AL
111145   5TDXZ3DC4KS986918   Toyota       SIENNA              EL SEGUNDO                CA
111146   5TDXZ3DC4KS990726   Toyota       SIENNA              Dallas                    TX
111147   5TDXZ3DC4KS990743   Toyota       SIENNA              LOS ANGELES               CA
111148   5TDXZ3DC4KS991195   Toyota       SIENNA              BURLINGAME                CA
111149   5TDXZ3DC4KS991858   Toyota       SIENNA              FRESNO                    CA
111150   5TDXZ3DC4KS992444   Toyota       SIENNA              LOS ANGELES               CA
111151   5TDXZ3DC4KS992511   Toyota       SIENNA              PORTLAND                  OR
111152   5TDXZ3DC5JS911417   Toyota       SIENNA              NEW BERN                  NC
111153   5TDXZ3DC5JS918223   Toyota       SIENNA              Sacramento                CA
111154   5TDXZ3DC5JS925415   Toyota       SIENNA              JACKSONVILLE              FL
111155   5TDXZ3DC5JS925740   Toyota       SIENNA              ONTARIO, RIVERSIDE        CA
111156   5TDXZ3DC5JS925933   Toyota       SIENNA              NEW ORLEANS               LA
111157   5TDXZ3DC5JS926256   Toyota       SIENNA              Portland                  OR
111158   5TDXZ3DC5JS926497   Toyota       SIENNA              WEST PALM BEACH           FL
111159   5TDXZ3DC5JS926743   Toyota       SIENNA              HOUSTON                   TX
111160   5TDXZ3DC5JS927732   Toyota       SIENNA              Mira Loma                 CA
111161   5TDXZ3DC5JS940058   Toyota       SIENNA              LAS VEGAS                 NV
111162   5TDXZ3DC5JS942117   Toyota       SIENNA              Burien                    WA
111163   5TDXZ3DC5JS944336   Toyota       SIENNA              North Dighton             MA
111164   5TDXZ3DC5JS946765   Toyota       SIENNA              ANCHORAGE                 AK
111165   5TDXZ3DC5JS949794   Toyota       SIENNA              PORTLAND                  OR
111166   5TDXZ3DC5JS950640   Toyota       SIENNA              ALBUQUERQUE               NM
111167   5TDXZ3DC5JS950783   Toyota       SIENNA              WEST PALM BEACH           FL
111168   5TDXZ3DC5JS951478   Toyota       SIENNA              WEST PALM BEACH           FL
111169   5TDXZ3DC5JS951559   Toyota       SIENNA              BOSTON                    MA
111170   5TDXZ3DC5JS952288   Toyota       SIENNA              Alexandria                LA
111171   5TDXZ3DC5JS952324   Toyota       SIENNA              TAMPA                     US
111172   5TDXZ3DC5KS977418   Toyota       SIENNA              ORLANDO                   FL
111173   5TDXZ3DC5KS977791   Toyota       SIENNA              DANIA                     FL
111174   5TDXZ3DC5KS978312   Toyota       SIENNA              ORLANDO                   FL
111175   5TDXZ3DC5KS978326   Toyota       SIENNA              DANIA                     FL
111176   5TDXZ3DC5KS978553   Toyota       SIENNA              KENNER                    LA
111177   5TDXZ3DC5KS978777   Toyota       SIENNA              Tampa                     FL
111178   5TDXZ3DC5KS984367   Toyota       SIENNA              ORLANDO                   FL
111179   5TDXZ3DC5KS984501   Toyota       SIENNA              LOS ANGELES               CA
111180   5TDXZ3DC5KS985065   Toyota       SIENNA              SAN FRANCISCO             CA
111181   5TDXZ3DC5KS985647   Toyota       SIENNA              BURLINGAME                CA
111182   5TDXZ3DC5KS985678   Toyota       SIENNA              KENNER                    LA
111183   5TDXZ3DC5KS986233   Toyota       SIENNA              DANIA                     FL
111184   5TDXZ3DC5KS986281   Toyota       SIENNA              MIAMI                     FL
111185   5TDXZ3DC5KS986510   Toyota       SIENNA              LOS ANGELES               CA
111186   5TDXZ3DC5KS986801   Toyota       SIENNA              Miami                     FL
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111187   5TDXZ3DC5KS986846   Toyota       SIENNA              TAMPA                     US
111188   5TDXZ3DC5KS990492   Toyota       SIENNA              DRB                       UT
111189   5TDXZ3DC5KS991500   Toyota       SIENNA              FRESNO                    CA
111190   5TDXZ3DC5KS991822   Toyota       SIENNA              LOS ANGELES               CA
111191   5TDXZ3DC5KS992355   Toyota       SIENNA              DRB                       UT
111192   5TDXZ3DC5KS992534   Toyota       SIENNA              RENO                      NV
111193   5TDXZ3DC5KS992744   Toyota       SIENNA              DENVER                    CO
111194   5TDXZ3DC6JS910311   Toyota       SIENNA              Statesville               NC
111195   5TDXZ3DC6JS916254   Toyota       SIENNA              KENNER                    LA
111196   5TDXZ3DC6JS920224   Toyota       SIENNA              SALT LAKE CITY            US
111197   5TDXZ3DC6JS920532   Toyota       SIENNA              SALT LAKE CITY            UT
111198   5TDXZ3DC6JS921535   Toyota       SIENNA              anchorage,                ak
111199   5TDXZ3DC6JS925052   Toyota       SIENNA              WHITE PLAINS              NY
111200   5TDXZ3DC6JS927500   Toyota       SIENNA              DENVER                    CO
111201   5TDXZ3DC6JS932616   Toyota       SIENNA              TUCSON                    US
111202   5TDXZ3DC6JS939811   Toyota       SIENNA              San Diego                 CA
111203   5TDXZ3DC6JS944183   Toyota       SIENNA              Las Vegas                 NV
111204   5TDXZ3DC6JS949836   Toyota       SIENNA              SANTA CLARA               CA
111205   5TDXZ3DC6JS950209   Toyota       SIENNA              TAMPA                     US
111206   5TDXZ3DC6JS950940   Toyota       SIENNA              Smithtown                 NY
111207   5TDXZ3DC6JS951019   Toyota       SIENNA              WEST PALM BEACH           FL
111208   5TDXZ3DC6JS951098   Toyota       SIENNA              JACKSONVILLE              FL
111209   5TDXZ3DC6JS951425   Toyota       SIENNA              FORT MYERS                FL
111210   5TDXZ3DC6JS951506   Toyota       SIENNA              PHOENIX                   AZ
111211   5TDXZ3DC6JS951893   Toyota       SIENNA              MIAMI                     FL
111212   5TDXZ3DC6JS952512   Toyota       SIENNA              DANIA                     FL
111213   5TDXZ3DC6JS952655   Toyota       SIENNA              MIAMI                     FL
111214   5TDXZ3DC6JS952929   Toyota       SIENNA              NEWARK                    NJ
111215   5TDXZ3DC6KS975872   Toyota       SIENNA              PENSACOLA                 FL
111216   5TDXZ3DC6KS977458   Toyota       SIENNA              MORRISVILLE               NC
111217   5TDXZ3DC6KS977685   Toyota       SIENNA              GREENSBORO                NC
111218   5TDXZ3DC6KS977914   Toyota       SIENNA              ORLANDO                   FL
111219   5TDXZ3DC6KS977962   Toyota       SIENNA              ALEXANDRIA                VA
111220   5TDXZ3DC6KS978111   Toyota       SIENNA              NAPLES                    FL
111221   5TDXZ3DC6KS978481   Toyota       SIENNA              FORT MYERS                FL
111222   5TDXZ3DC6KS978741   Toyota       SIENNA              TAMPA                     US
111223   5TDXZ3DC6KS978805   Toyota       SIENNA              DANIA                     FL
111224   5TDXZ3DC6KS978898   Toyota       SIENNA              MYRTLE BEACH              SC
111225   5TDXZ3DC6KS983230   Toyota       SIENNA              OAKLAND                   CA
111226   5TDXZ3DC6KS984622   Toyota       SIENNA              SARASOTA                  FL
111227   5TDXZ3DC6KS984782   Toyota       SIENNA              RIVERSIDE LOCAL EDITION   CA
111228   5TDXZ3DC6KS985012   Toyota       SIENNA              LOS ANGELES               CA
111229   5TDXZ3DC6KS985253   Toyota       SIENNA              ORLANDO                   FL
111230   5TDXZ3DC6KS985611   Toyota       SIENNA              Miami                     FL
111231   5TDXZ3DC6KS985639   Toyota       SIENNA              Miami                     FL
111232   5TDXZ3DC6KS986158   Toyota       SIENNA              ORLANDO                   FL
111233   5TDXZ3DC6KS986211   Toyota       SIENNA              Miami                     FL
111234   5TDXZ3DC6KS986791   Toyota       SIENNA              Dania Beach               FL
111235   5TDXZ3DC6KS986855   Toyota       SIENNA              SACRAMENTO                CA
111236   5TDXZ3DC6KS986970   Toyota       SIENNA              LAS VEGAS                 NV
111237   5TDXZ3DC6KS987018   Toyota       SIENNA              Miami                     FL
111238   5TDXZ3DC6KS990677   Toyota       SIENNA              FRESNO                    CA
111239   5TDXZ3DC6KS990954   Toyota       SIENNA              BIRMINGHAN                AL
111240   5TDXZ3DC6KS991053   Toyota       SIENNA              North Dighton             MA
111241   5TDXZ3DC6KS991179   Toyota       SIENNA              LOS ANGELES               CA
111242   5TDXZ3DC6KS991828   Toyota       SIENNA              BURBANK                   CA
111243   5TDXZ3DC6KS992154   Toyota       SIENNA              PORTLAND                  OR
111244   5TDXZ3DC6KS992848   Toyota       SIENNA              PHOENIX                   AZ
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111245   5TDXZ3DC7JS916554   Toyota       SIENNA              West Palm Beach           FL
111246   5TDXZ3DC7JS920085   Toyota       SIENNA              FULLERTON                 CA
111247   5TDXZ3DC7JS934763   Toyota       SIENNA              Fontana                   CA
111248   5TDXZ3DC7JS940482   Toyota       SIENNA              SALT LAKE CITY            US
111249   5TDXZ3DC7JS941423   Toyota       SIENNA              DENVER                    CO
111250   5TDXZ3DC7JS949814   Toyota       SIENNA              PITTSBURGH                PA
111251   5TDXZ3DC7JS949991   Toyota       SIENNA              Coraopolis                PA
111252   5TDXZ3DC7JS950543   Toyota       SIENNA              FORT MYERS                FL
111253   5TDXZ3DC7JS951031   Toyota       SIENNA              NEW YORK CITY             NY
111254   5TDXZ3DC7JS951708   Toyota       SIENNA              TAMPA                     US
111255   5TDXZ3DC7JS951949   Toyota       SIENNA              HANOVER                   MD
111256   5TDXZ3DC7JS952664   Toyota       SIENNA              NAPLES                    FL
111257   5TDXZ3DC7JS952681   Toyota       SIENNA              Santa Clara               CA
111258   5TDXZ3DC7JS952969   Toyota       SIENNA              Atlanta                   GA
111259   5TDXZ3DC7JS953068   Toyota       SIENNA              BOSTON                    MA
111260   5TDXZ3DC7KS977470   Toyota       SIENNA              TAMPA                     US
111261   5TDXZ3DC7KS977517   Toyota       SIENNA              FORT MYERS                FL
111262   5TDXZ3DC7KS977646   Toyota       SIENNA              Massapequa                NY
111263   5TDXZ3DC7KS977811   Toyota       SIENNA              FORT MYERS                FL
111264   5TDXZ3DC7KS977825   Toyota       SIENNA              ORLANDO                   FL
111265   5TDXZ3DC7KS978005   Toyota       SIENNA              NEW YORK CITY             NY
111266   5TDXZ3DC7KS978196   Toyota       SIENNA              Miami                     FL
111267   5TDXZ3DC7KS978358   Toyota       SIENNA              West Palm Beach           FL
111268   5TDXZ3DC7KS978831   Toyota       SIENNA              KENNER                    LA
111269   5TDXZ3DC7KS978909   Toyota       SIENNA              COLUMBUS                  OH
111270   5TDXZ3DC7KS982524   Toyota       SIENNA              Miami                     FL
111271   5TDXZ3DC7KS984516   Toyota       SIENNA              LOS ANGELES               CA
111272   5TDXZ3DC7KS984628   Toyota       SIENNA              PALM SPRINGS              CA
111273   5TDXZ3DC7KS984709   Toyota       SIENNA              ORLANDO                   FL
111274   5TDXZ3DC7KS985262   Toyota       SIENNA              SAN DIEGO                 CA
111275   5TDXZ3DC7KS985956   Toyota       SIENNA              PORTLAND                  OR
111276   5TDXZ3DC7KS986248   Toyota       SIENNA              Miami                     FL
111277   5TDXZ3DC7KS986265   Toyota       SIENNA              GRAND RAPIDS              MI
111278   5TDXZ3DC7KS986685   Toyota       SIENNA              COLUMBUS                  OH
111279   5TDXZ3DC7KS986900   Toyota       SIENNA              Dania Beach               FL
111280   5TDXZ3DC7KS990820   Toyota       SIENNA              LOS ANGELES               CA
111281   5TDXZ3DC7KS991160   Toyota       SIENNA              LOS ANGELES               CA
111282   5TDXZ3DC7KS991417   Toyota       SIENNA              DENVER                    CO
111283   5TDXZ3DC7KS992471   Toyota       SIENNA              LOS ANGELES               CA
111284   5TDXZ3DC8JS915784   Toyota       SIENNA              FORT MYERS                FL
111285   5TDXZ3DC8JS916420   Toyota       SIENNA              MIAMI                     FL
111286   5TDXZ3DC8JS916451   Toyota       SIENNA              MIAMI                     FL
111287   5TDXZ3DC8JS919995   Toyota       SIENNA              ORLANDO                   FL
111288   5TDXZ3DC8JS923108   Toyota       SIENNA              Fontana                   CA
111289   5TDXZ3DC8JS924968   Toyota       SIENNA              PORTLAND                  OR
111290   5TDXZ3DC8JS945576   Toyota       SIENNA              ANCHORAGE                 AK
111291   5TDXZ3DC8JS947053   Toyota       SIENNA              anchorage,                ak
111292   5TDXZ3DC8JS950454   Toyota       SIENNA              Baltimore                 MD
111293   5TDXZ3DC8JS950647   Toyota       SIENNA              LAS VEGAS                 NV
111294   5TDXZ3DC8JS951345   Toyota       SIENNA              West Palm Beach           FL
111295   5TDXZ3DC8JS952771   Toyota       SIENNA              NASHVILLE                 TN
111296   5TDXZ3DC8KS975808   Toyota       SIENNA              INDIANAPOLIS              IN
111297   5TDXZ3DC8KS977476   Toyota       SIENNA              ORLANDO                   FL
111298   5TDXZ3DC8KS977543   Toyota       SIENNA              FORT MYERS                FL
111299   5TDXZ3DC8KS977767   Toyota       SIENNA              FORT MYERS                FL
111300   5TDXZ3DC8KS978028   Toyota       SIENNA              KENNER                    LA
111301   5TDXZ3DC8KS978269   Toyota       SIENNA              Miami                     FL
111302   5TDXZ3DC8KS978403   Toyota       SIENNA              ORLANDO                   FL
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111303   5TDXZ3DC8KS978501   Toyota       SIENNA              MIAMI                     FL
111304   5TDXZ3DC8KS978529   Toyota       SIENNA              TAMPA                     US
111305   5TDXZ3DC8KS978661   Toyota       SIENNA              NEW YORK CITY             NY
111306   5TDXZ3DC8KS978692   Toyota       SIENNA              ALLENTOWN                 US
111307   5TDXZ3DC8KS978756   Toyota       SIENNA              STERLING                  US
111308   5TDXZ3DC8KS984007   Toyota       SIENNA              AUSTIN                    TX
111309   5TDXZ3DC8KS984508   Toyota       SIENNA              BURLINGAME                CA
111310   5TDXZ3DC8KS984833   Toyota       SIENNA              DENVER                    CO
111311   5TDXZ3DC8KS985268   Toyota       SIENNA              SEATAC                    WA
111312   5TDXZ3DC8KS986257   Toyota       SIENNA              FORT MYERS                FL
111313   5TDXZ3DC8KS986310   Toyota       SIENNA              ORLANDO                   FL
111314   5TDXZ3DC8KS986758   Toyota       SIENNA              DANIA                     FL
111315   5TDXZ3DC8KS990700   Toyota       SIENNA              ATLANTA AP                GA
111316   5TDXZ3DC8KS991538   Toyota       SIENNA              SAN FRANCISCO             CA
111317   5TDXZ3DC8KS991720   Toyota       SIENNA              PALM SPRINGS              CA
111318   5TDXZ3DC8KS992589   Toyota       SIENNA              DRB                       UT
111319   5TDXZ3DC8KS992785   Toyota       SIENNA              SAN FRANCISCO             CA
111320   5TDXZ3DC9JS908715   Toyota       SIENNA
111321   5TDXZ3DC9JS919441   Toyota       SIENNA              Miami                     FL
111322   5TDXZ3DC9JS926535   Toyota       SIENNA              DENVER                    CO
111323   5TDXZ3DC9JS941021   Toyota       SIENNA              AUSTIN                    TX
111324   5TDXZ3DC9JS943237   Toyota       SIENNA              ORLANDO                   FL
111325   5TDXZ3DC9JS950298   Toyota       SIENNA              ORLANDO                   FL
111326   5TDXZ3DC9JS950799   Toyota       SIENNA              Harvey                    LA
111327   5TDXZ3DC9JS952584   Toyota       SIENNA              ORLANDO                   FL
111328   5TDXZ3DC9JS958384   Toyota       SIENNA              ORLANDO                   FL
111329   5TDXZ3DC9KS976837   Toyota       SIENNA              ORLANDO                   FL
111330   5TDXZ3DC9KS977440   Toyota       SIENNA              Miami                     FL
111331   5TDXZ3DC9KS977499   Toyota       SIENNA              UNION CITY                GA
111332   5TDXZ3DC9KS978085   Toyota       SIENNA              Miami                     FL
111333   5TDXZ3DC9KS978135   Toyota       SIENNA              ORLANDO                   FL
111334   5TDXZ3DC9KS978152   Toyota       SIENNA              ORLANDO                   FL
111335   5TDXZ3DC9KS978720   Toyota       SIENNA              DANIA                     FL
111336   5TDXZ3DC9KS983867   Toyota       SIENNA              ORLANDO                   FL
111337   5TDXZ3DC9KS984078   Toyota       SIENNA              SARASOTA                  FL
111338   5TDXZ3DC9KS984145   Toyota       SIENNA              SAINT LOUIS               MO
111339   5TDXZ3DC9KS984176   Toyota       SIENNA              DRB                       UT
111340   5TDXZ3DC9KS984288   Toyota       SIENNA              FORT MYERS                FL
111341   5TDXZ3DC9KS984646   Toyota       SIENNA              FORT MYERS                FL
111342   5TDXZ3DC9KS984730   Toyota       SIENNA              LAS VEGAS                 NV
111343   5TDXZ3DC9KS985120   Toyota       SIENNA              PALM SPRINGS              CA
111344   5TDXZ3DC9KS985554   Toyota       SIENNA              MIAMI                     FL
111345   5TDXZ3DC9KS985568   Toyota       SIENNA              UNION CITY                GA
111346   5TDXZ3DC9KS985683   Toyota       SIENNA              ORLANDO                   FL
111347   5TDXZ3DC9KS986218   Toyota       SIENNA              ORLANDO                   FL
111348   5TDXZ3DC9KS986350   Toyota       SIENNA              ORLANDO                   FL
111349   5TDXZ3DC9KS986543   Toyota       SIENNA              Tampa                     FL
111350   5TDXZ3DC9KS986719   Toyota       SIENNA              San Diego                 CA
111351   5TDXZ3DC9KS986896   Toyota       SIENNA              WEST PALM BEACH           FL
111352   5TDXZ3DC9KS990317   Toyota       SIENNA              DENVER                    CO
111353   5TDXZ3DC9KS990611   Toyota       SIENNA              San Diego                 CA
111354   5TDXZ3DC9KS990785   Toyota       SIENNA              DRB                       UT
111355   5TDXZ3DC9KS990852   Toyota       SIENNA              LOS ANGELES               CA
111356   5TDXZ3DC9KS990950   Toyota       SIENNA              ALBUQUERQUE               NM
111357   5TDXZ3DC9KS991029   Toyota       SIENNA              SAN JOSE                  CA
111358   5TDXZ3DC9KS991046   Toyota       SIENNA              PHOENIX                   AZ
111359   5TDXZ3DC9KS991466   Toyota       SIENNA              DENVER                    CO
111360   5TDXZ3DCXJS909517   Toyota       SIENNA              SALT LAKE CITY            US
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111361   5TDXZ3DCXJS917374   Toyota       SIENNA              Hayward                   CA
111362   5TDXZ3DCXJS922039   Toyota       SIENNA              ANCHORAGE                 AK
111363   5TDXZ3DCXJS950116   Toyota       SIENNA              MEDINA                    OH
111364   5TDXZ3DCXJS950536   Toyota       SIENNA              Warminster                PA
111365   5TDXZ3DCXJS951802   Toyota       SIENNA              San Diego                 CA
111366   5TDXZ3DCXJS952433   Toyota       SIENNA              NORFOLK                   VA
111367   5TDXZ3DCXKS976104   Toyota       SIENNA              FEDERAL WAY               WA
111368   5TDXZ3DCXKS977558   Toyota       SIENNA              DANIA                     FL
111369   5TDXZ3DCXKS977897   Toyota       SIENNA              FORT MYERS                FL
111370   5TDXZ3DCXKS978144   Toyota       SIENNA              FORT MYERS                FL
111371   5TDXZ3DCXKS978368   Toyota       SIENNA              DENVER                    CO
111372   5TDXZ3DCXKS978435   Toyota       SIENNA              ORLANDO                   FL
111373   5TDXZ3DCXKS978676   Toyota       SIENNA              ORLANDO                   FL
111374   5TDXZ3DCXKS983151   Toyota       SIENNA              UNION CITY                GA
111375   5TDXZ3DCXKS984087   Toyota       SIENNA              Atlanta                   GA
111376   5TDXZ3DCXKS984106   Toyota       SIENNA              ORLANDO                   FL
111377   5TDXZ3DCXKS984204   Toyota       SIENNA              DRB                       UT
111378   5TDXZ3DCXKS984297   Toyota       SIENNA              Miami                     FL
111379   5TDXZ3DCXKS984669   Toyota       SIENNA              Miami                     FL
111380   5TDXZ3DCXKS984736   Toyota       SIENNA              DRB                       UT
111381   5TDXZ3DCXKS984798   Toyota       SIENNA              LAS VEGAS                 NV
111382   5TDXZ3DCXKS985076   Toyota       SIENNA              BURBANK                   CA
111383   5TDXZ3DCXKS985451   Toyota       SIENNA              PHOENIX                   AZ
111384   5TDXZ3DCXKS986244   Toyota       SIENNA              Miami                     FL
111385   5TDXZ3DCXKS986907   Toyota       SIENNA              PHILADELPHIA              PA
111386   5TDXZ3DCXKS990486   Toyota       SIENNA              BURBANK                   CA
111387   5TDXZ3DCXKS990844   Toyota       SIENNA              PHOENIX                   AZ
111388   5TDXZ3DCXKS991122   Toyota       SIENNA              LOS ANGELES               CA
111389   5TDXZ3DCXKS991217   Toyota       SIENNA              HOUSTON                   TX
111390   5TDXZ3DCXKS991640   Toyota       SIENNA              DRB                       UT
111391   5TDXZ3DCXKS991699   Toyota       SIENNA              LOS ANGELES               CA
111392   5TDXZ3DCXKS992268   Toyota       SIENNA              LAS VEGAS                 NV
111393   5TDYZ3DC0JS918781   Toyota       SIENNA              DANIA                     FL
111394   5TDYZ3DC0JS923009   Toyota       SIENNA              SEATAC                    WA
111395   5TDYZ3DC0JS944670   Toyota       SIENNA              Atlanta                   GA
111396   5TDYZ3DC0JS950047   Toyota       SIENNA              SALT LAKE CITY            US
111397   5TDYZ3DC0JS950663   Toyota       SIENNA              MONTCLAIR                 CA
111398   5TDYZ3DC0KS975807   Toyota       SIENNA              Philadelphia              PA
111399   5TDYZ3DC0KS975970   Toyota       SIENNA              TUCSON                    US
111400   5TDYZ3DC0KS976133   Toyota       SIENNA              ORLANDO                   FL
111401   5TDYZ3DC0KS976519   Toyota       SIENNA              ORLANDO                   FL
111402   5TDYZ3DC0KS977377   Toyota       SIENNA              ORLANDO                   FL
111403   5TDYZ3DC0KS977542   Toyota       SIENNA              LOS ANGELES               CA
111404   5TDYZ3DC0KS977766   Toyota       SIENNA              ORLANDO                   FL
111405   5TDYZ3DC0KS977850   Toyota       SIENNA              RONKONKOMA                NY
111406   5TDYZ3DC0KS977931   Toyota       SIENNA              NASHVILLE                 TN
111407   5TDYZ3DC0KS978402   Toyota       SIENNA              Miami                     FL
111408   5TDYZ3DC0KS984099   Toyota       SIENNA              DENVER                    CO
111409   5TDYZ3DC0KS984331   Toyota       SIENNA              EL SEGUNDO                CA
111410   5TDYZ3DC0KS984426   Toyota       SIENNA              LAS VEGAS                 NV
111411   5TDYZ3DC0KS984720   Toyota       SIENNA              SAINT LOUIS               MO
111412   5TDYZ3DC0KS984846   Toyota       SIENNA              NAPLES                    FL
111413   5TDYZ3DC0KS984894   Toyota       SIENNA              TAMPA                     US
111414   5TDYZ3DC0KS985057   Toyota       SIENNA              OKLAHOMA CITY             OK
111415   5TDYZ3DC0KS985172   Toyota       SIENNA              DANIA                     FL
111416   5TDYZ3DC0KS985284   Toyota       SIENNA              LAKEWOOD                  WA
111417   5TDYZ3DC0KS985365   Toyota       SIENNA              PORTLAND                  OR
111418   5TDYZ3DC0KS985835   Toyota       SIENNA              Miami                     FL
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111419   5TDYZ3DC0KS985866   Toyota       SIENNA              Miami                     FL
111420   5TDYZ3DC0KS985897   Toyota       SIENNA              BURLINGAME                CA
111421   5TDYZ3DC0KS986483   Toyota       SIENNA              WEST PALM BEACH           FL
111422   5TDYZ3DC0KS986497   Toyota       SIENNA              Miami                     FL
111423   5TDYZ3DC0KS986774   Toyota       SIENNA              LAS VEGAS                 NV
111424   5TDYZ3DC0KS989626   Toyota       SIENNA              PORTLAND                  OR
111425   5TDYZ3DC0KS989867   Toyota       SIENNA              DFW AIRPORT               TX
111426   5TDYZ3DC0KS991599   Toyota       SIENNA              OAKLAND                   CA
111427   5TDYZ3DC0KS991909   Toyota       SIENNA              SACRAMENTO                CA
111428   5TDYZ3DC0KS992235   Toyota       SIENNA              LAS VEGAS                 NV
111429   5TDYZ3DC0KS992896   Toyota       SIENNA              LAKEWOOD                  WA
111430   5TDYZ3DC0KS992915   Toyota       SIENNA              DRB                       UT
111431   5TDYZ3DC1JS917509   Toyota       SIENNA              NEWARK                    NJ
111432   5TDYZ3DC1JS919311   Toyota       SIENNA              AUSTIN                    TX
111433   5TDYZ3DC1JS949747   Toyota       SIENNA              Atlanta                   GA
111434   5TDYZ3DC1JS951658   Toyota       SIENNA              NEWARK                    NJ
111435   5TDYZ3DC1JS952129   Toyota       SIENNA              SALT LAKE CITY            US
111436   5TDYZ3DC1JS952776   Toyota       SIENNA              JACKSONVILLE              FL
111437   5TDYZ3DC1JS952874   Toyota       SIENNA              ONTARIO                   CA
111438   5TDYZ3DC1KS976206   Toyota       SIENNA              DANIA                     FL
111439   5TDYZ3DC1KS976304   Toyota       SIENNA              PHOENIX                   AZ
111440   5TDYZ3DC1KS976514   Toyota       SIENNA              WEST PALM BEACH           FL
111441   5TDYZ3DC1KS978148   Toyota       SIENNA              DANIA                     FL
111442   5TDYZ3DC1KS978442   Toyota       SIENNA              Miami                     FL
111443   5TDYZ3DC1KS978456   Toyota       SIENNA              SANTA ANA                 CA
111444   5TDYZ3DC1KS983625   Toyota       SIENNA              DENVER                    CO
111445   5TDYZ3DC1KS983947   Toyota       SIENNA              Teterboro                 NJ
111446   5TDYZ3DC1KS983995   Toyota       SIENNA              DANIA                     FL
111447   5TDYZ3DC1KS984046   Toyota       SIENNA              DFW AIRPORT               TX
111448   5TDYZ3DC1KS984077   Toyota       SIENNA              SACRAMENTO                CA
111449   5TDYZ3DC1KS984953   Toyota       SIENNA              Memphis                   TN
111450   5TDYZ3DC1KS985293   Toyota       SIENNA              LAS VEGAS                 NV
111451   5TDYZ3DC1KS985486   Toyota       SIENNA              ORLANDO                   FL
111452   5TDYZ3DC1KS985813   Toyota       SIENNA              ORLANDO                   FL
111453   5TDYZ3DC1KS985889   Toyota       SIENNA              SANTA ANA                 CA
111454   5TDYZ3DC1KS986749   Toyota       SIENNA              DETROIT                   MI
111455   5TDYZ3DC1KS988453   Toyota       SIENNA              ORLANDO                   FL
111456   5TDYZ3DC1KS990784   Toyota       SIENNA              BURLINGAME                CA
111457   5TDYZ3DC1KS991546   Toyota       SIENNA              OAKLAND                   CA
111458   5TDYZ3DC1KS991594   Toyota       SIENNA              BURLINGAME                CA
111459   5TDYZ3DC1KS992261   Toyota       SIENNA              Hebron                    KY
111460   5TDYZ3DC1KS992793   Toyota       SIENNA              PHOENIX                   AZ
111461   5TDYZ3DC2JS920581   Toyota       SIENNA              Santa Clara               CA
111462   5TDYZ3DC2JS922511   Toyota       SIENNA              anchorage,                ak
111463   5TDYZ3DC2JS926932   Toyota       SIENNA              HANOVER                   MD
111464   5TDYZ3DC2JS928082   Toyota       SIENNA              NEWPORT BEACH             CA
111465   5TDYZ3DC2JS947117   Toyota       SIENNA              anchorage,                ak
111466   5TDYZ3DC2JS950177   Toyota       SIENNA              ORLANDO                   FL
111467   5TDYZ3DC2JS958344   Toyota       SIENNA              SAINT LOUIS               MO
111468   5TDYZ3DC2KS976151   Toyota       SIENNA              Miami                     FL
111469   5TDYZ3DC2KS976764   Toyota       SIENNA              DANIA                     FL
111470   5TDYZ3DC2KS977249   Toyota       SIENNA              LOS ANGELES               CA
111471   5TDYZ3DC2KS977784   Toyota       SIENNA              Miami                     FL
111472   5TDYZ3DC2KS977834   Toyota       SIENNA              WINSDOR LOCKS             CT
111473   5TDYZ3DC2KS978126   Toyota       SIENNA              ORLANDO                   FL
111474   5TDYZ3DC2KS978451   Toyota       SIENNA              West Palm Beach           FL
111475   5TDYZ3DC2KS978918   Toyota       SIENNA              PHILADELPHIA              PA
111476   5TDYZ3DC2KS984055   Toyota       SIENNA              ALBUQUERQUE               NM
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111477   5TDYZ3DC2KS984685   Toyota       SIENNA              Dania Beach               FL
111478   5TDYZ3DC2KS985612   Toyota       SIENNA              LOS ANGELES               CA
111479   5TDYZ3DC2KS985917   Toyota       SIENNA              SAN FRANCISCO             CA
111480   5TDYZ3DC2KS986114   Toyota       SIENNA              Miami                     FL
111481   5TDYZ3DC2KS986176   Toyota       SIENNA              PHOENIX                   AZ
111482   5TDYZ3DC2KS986226   Toyota       SIENNA              DRB                       UT
111483   5TDYZ3DC2KS986498   Toyota       SIENNA              DENVER                    CO
111484   5TDYZ3DC2KS986579   Toyota       SIENNA              ORLANDO                   FL
111485   5TDYZ3DC2KS990583   Toyota       SIENNA              SACRAMENTO                CA
111486   5TDYZ3DC2KS991894   Toyota       SIENNA              SACRAMENTO                CA
111487   5TDYZ3DC2KS992592   Toyota       SIENNA              PETALUMA                  CA
111488   5TDYZ3DC3JS917379   Toyota       SIENNA              SEATAC                    WA
111489   5TDYZ3DC3JS919231   Toyota       SIENNA              ORLANDO                   FL
111490   5TDYZ3DC3JS921335   Toyota       SIENNA              ANCHORAGE                 AK
111491   5TDYZ3DC3JS925921   Toyota       SIENNA              LOS ANGELES               CA
111492   5TDYZ3DC3JS940662   Toyota       SIENNA              Anaheim                   CA
111493   5TDYZ3DC3JS950432   Toyota       SIENNA              ORLANDO                   FL
111494   5TDYZ3DC3JS950740   Toyota       SIENNA              WEST COLUMBIA             SC
111495   5TDYZ3DC3JS951502   Toyota       SIENNA              Fontana                   CA
111496   5TDYZ3DC3JS951774   Toyota       SIENNA              Hebron                    KY
111497   5TDYZ3DC3KS976109   Toyota       SIENNA              FORT MYERS                FL
111498   5TDYZ3DC3KS976501   Toyota       SIENNA              ORLANDO                   FL
111499   5TDYZ3DC3KS976806   Toyota       SIENNA              SARASOTA                  FL
111500   5TDYZ3DC3KS977129   Toyota       SIENNA              TAMPA                     US
111501   5TDYZ3DC3KS977518   Toyota       SIENNA              ORLANDO                   FL
111502   5TDYZ3DC3KS978118   Toyota       SIENNA              ORLANDO                   FL
111503   5TDYZ3DC3KS978197   Toyota       SIENNA              UNION CITY                GA
111504   5TDYZ3DC3KS978829   Toyota       SIENNA              TAMPA                     US
111505   5TDYZ3DC3KS983920   Toyota       SIENNA              Miami                     FL
111506   5TDYZ3DC3KS984310   Toyota       SIENNA              NEWARK                    NJ
111507   5TDYZ3DC3KS984971   Toyota       SIENNA              PHOENIX                   AZ
111508   5TDYZ3DC3KS985036   Toyota       SIENNA              SANTA ANA                 CA
111509   5TDYZ3DC3KS985165   Toyota       SIENNA              KENNER                    LA
111510   5TDYZ3DC3KS985876   Toyota       SIENNA              San Diego                 CA
111511   5TDYZ3DC3KS986106   Toyota       SIENNA              Miami                     FL
111512   5TDYZ3DC3KS986137   Toyota       SIENNA              ORLANDO                   FL
111513   5TDYZ3DC3KS990883   Toyota       SIENNA              LAKEWOOD                  WA
111514   5TDYZ3DC4JS910585   Toyota       SIENNA              SAN JOSE                  CA
111515   5TDYZ3DC4JS918122   Toyota       SIENNA              Miami                     FL
111516   5TDYZ3DC4JS919898   Toyota       SIENNA              ORLANDO                   FL
111517   5TDYZ3DC4JS922879   Toyota       SIENNA              SEATAC                    WA
111518   5TDYZ3DC4JS949970   Toyota       SIENNA              RONKONKOMA                NY
111519   5TDYZ3DC4JS950858   Toyota       SIENNA              DENVER                    CO
111520   5TDYZ3DC4JS951377   Toyota       SIENNA              LAS VEGAS                 NV
111521   5TDYZ3DC4JS951511   Toyota       SIENNA              SAN DIEGO                 CA
111522   5TDYZ3DC4KS976135   Toyota       SIENNA              Miami                     FL
111523   5TDYZ3DC4KS976765   Toyota       SIENNA              NEW ORLEANS               LA
111524   5TDYZ3DC4KS977186   Toyota       SIENNA              ORLANDO                   FL
111525   5TDYZ3DC4KS977530   Toyota       SIENNA              ORLANDO                   FL
111526   5TDYZ3DC4KS977544   Toyota       SIENNA              DANIA                     FL
111527   5TDYZ3DC4KS977737   Toyota       SIENNA              Atlanta                   GA
111528   5TDYZ3DC4KS977818   Toyota       SIENNA              Miami                     FL
111529   5TDYZ3DC4KS978094   Toyota       SIENNA              ORLANDO                   FL
111530   5TDYZ3DC4KS978175   Toyota       SIENNA              Miami                     FL
111531   5TDYZ3DC4KS978256   Toyota       SIENNA              PHOENIX                   AZ
111532   5TDYZ3DC4KS978418   Toyota       SIENNA              Memphis                   TN
111533   5TDYZ3DC4KS978855   Toyota       SIENNA              ORLANDO                   FL
111534   5TDYZ3DC4KS978922   Toyota       SIENNA              PANAMA CITY               FL
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111535   5TDYZ3DC4KS983909   Toyota       SIENNA              Miami                     FL
111536   5TDYZ3DC4KS984008   Toyota       SIENNA              Mt. Juliet                TN
111537   5TDYZ3DC4KS984073   Toyota       SIENNA              SANTA ANA                 CA
111538   5TDYZ3DC4KS984221   Toyota       SIENNA              Miami                     FL
111539   5TDYZ3DC4KS984252   Toyota       SIENNA              PENSACOLA                 FL
111540   5TDYZ3DC4KS984641   Toyota       SIENNA              Portland                  OR
111541   5TDYZ3DC4KS986115   Toyota       SIENNA              LOS ANGELES               CA
111542   5TDYZ3DC4KS986437   Toyota       SIENNA              LOS ANGELES               CA
111543   5TDYZ3DC4KS986454   Toyota       SIENNA              PHILADELPHIA              PA
111544   5TDYZ3DC4KS986468   Toyota       SIENNA              ORLANDO                   FL
111545   5TDYZ3DC4KS988902   Toyota       SIENNA              BURLINGAME                CA
111546   5TDYZ3DC4KS990522   Toyota       SIENNA              OAKLAND                   CA
111547   5TDYZ3DC4KS990889   Toyota       SIENNA              LAS VEGAS                 NV
111548   5TDYZ3DC4KS990942   Toyota       SIENNA              SAN JOSE                  CA
111549   5TDYZ3DC4KS992576   Toyota       SIENNA              COLORADO SPRING           CO
111550   5TDYZ3DC5JS911745   Toyota       SIENNA              Jacksonville              FL
111551   5TDYZ3DC5JS918257   Toyota       SIENNA              ATLANTA AP                GA
111552   5TDYZ3DC5JS919523   Toyota       SIENNA              TAMPA                     US
111553   5TDYZ3DC5JS919957   Toyota       SIENNA              ONTARIO                   CA
111554   5TDYZ3DC5JS920977   Toyota       SIENNA              ANCHORAGE                 AK
111555   5TDYZ3DC5JS924608   Toyota       SIENNA              SANTA CLARA               CA
111556   5TDYZ3DC5JS945281   Toyota       SIENNA              PHOENIX                   AZ
111557   5TDYZ3DC5JS951212   Toyota       SIENNA              PICO RIVERA               CA
111558   5TDYZ3DC5JS951906   Toyota       SIENNA              Tampa                     FL
111559   5TDYZ3DC5JS951971   Toyota       SIENNA              Tustin                    CA
111560   5TDYZ3DC5JS960783   Toyota       SIENNA              ORLANDO                   FL
111561   5TDYZ3DC5KS976189   Toyota       SIENNA              Miami                     FL
111562   5TDYZ3DC5KS977522   Toyota       SIENNA              PHILADELPHIA              US
111563   5TDYZ3DC5KS977858   Toyota       SIENNA              MONTGOMERY                AL
111564   5TDYZ3DC5KS978816   Toyota       SIENNA              JACKSONVILLE              FL
111565   5TDYZ3DC5KS983997   Toyota       SIENNA              ORLANDO                   FL
111566   5TDYZ3DC5KS984048   Toyota       SIENNA              DENVER                    CO
111567   5TDYZ3DC5KS984227   Toyota       SIENNA              LAS VEGAS                 NV
111568   5TDYZ3DC5KS984342   Toyota       SIENNA              LOS ANGELES               CA
111569   5TDYZ3DC5KS984535   Toyota       SIENNA              Miami                     FL
111570   5TDYZ3DC5KS984647   Toyota       SIENNA              SANTA ANA                 CA
111571   5TDYZ3DC5KS984938   Toyota       SIENNA              DANIA                     FL
111572   5TDYZ3DC5KS985054   Toyota       SIENNA              DENVER                    CO
111573   5TDYZ3DC5KS985264   Toyota       SIENNA              DANIA                     FL
111574   5TDYZ3DC5KS985829   Toyota       SIENNA              ORLANDO                   FL
111575   5TDYZ3DC5KS986219   Toyota       SIENNA              DFW AIRPORT               TX
111576   5TDYZ3DC5KS989606   Toyota       SIENNA              SALT LAKE CITY            UT
111577   5TDYZ3DC5KS991243   Toyota       SIENNA              BURLINGAME                CA
111578   5TDYZ3DC5KS991890   Toyota       SIENNA              PORTLAND                  OR
111579   5TDYZ3DC5KS992229   Toyota       SIENNA              MCALLEN                   TX
111580   5TDYZ3DC6JS917182   Toyota       SIENNA              MIAMI                     FL
111581   5TDYZ3DC6JS919899   Toyota       SIENNA              ORLANDO                   FL
111582   5TDYZ3DC6JS920292   Toyota       SIENNA              STERLING                  VA
111583   5TDYZ3DC6JS924455   Toyota       SIENNA              LOS ANGELES               CA
111584   5TDYZ3DC6JS950599   Toyota       SIENNA              Orlando                   FL
111585   5TDYZ3DC6JS951039   Toyota       SIENNA              Beaverton                 OR
111586   5TDYZ3DC6JS951106   Toyota       SIENNA              Beaverton                 OR
111587   5TDYZ3DC6JS953096   Toyota       SIENNA              LAS VEGAS                 NV
111588   5TDYZ3DC6KS976167   Toyota       SIENNA              FORT MYERS                FL
111589   5TDYZ3DC6KS976170   Toyota       SIENNA              ORLANDO                   FL
111590   5TDYZ3DC6KS976461   Toyota       SIENNA              ORLANDO                   FL
111591   5TDYZ3DC6KS977108   Toyota       SIENNA              ORLANDO                   FL
111592   5TDYZ3DC6KS978145   Toyota       SIENNA              ORLANDO                   FL
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111593   5TDYZ3DC6KS978405   Toyota       SIENNA              SARASOTA                  FL
111594   5TDYZ3DC6KS978436   Toyota       SIENNA              Smithtown                 NY
111595   5TDYZ3DC6KS978484   Toyota       SIENNA              ORLANDO                   FL
111596   5TDYZ3DC6KS978534   Toyota       SIENNA              LOS ANGELES               CA
111597   5TDYZ3DC6KS978792   Toyota       SIENNA              DANIA                     FL
111598   5TDYZ3DC6KS978839   Toyota       SIENNA              Dania Beach               FL
111599   5TDYZ3DC6KS983958   Toyota       SIENNA              Dania Beach               FL
111600   5TDYZ3DC6KS984057   Toyota       SIENNA              GAINESVILLE               GA
111601   5TDYZ3DC6KS984088   Toyota       SIENNA              LAS VEGAS                 NV
111602   5TDYZ3DC6KS984687   Toyota       SIENNA              DENVER                    CO
111603   5TDYZ3DC6KS984852   Toyota       SIENNA              DANIA                     FL
111604   5TDYZ3DC6KS984883   Toyota       SIENNA              RIVERSIDE LOCAL EDITION   CA
111605   5TDYZ3DC6KS984916   Toyota       SIENNA              TUCSON                    US
111606   5TDYZ3DC6KS985922   Toyota       SIENNA              DFW AIRPORT               TX
111607   5TDYZ3DC6KS990571   Toyota       SIENNA              HOUSTON                   TX
111608   5TDYZ3DC6KS990585   Toyota       SIENNA              Baltimore                 MD
111609   5TDYZ3DC6KS990957   Toyota       SIENNA              LOS ANGELES               CA
111610   5TDYZ3DC6KS991896   Toyota       SIENNA              TUCSON                    US
111611   5TDYZ3DC6KS992241   Toyota       SIENNA              DENVER                    CO
111612   5TDYZ3DC6KS992563   Toyota       SIENNA              DENVER                    CO
111613   5TDYZ3DC6KS992580   Toyota       SIENNA              DRB                       UT
111614   5TDYZ3DC7JS909706   Toyota       SIENNA              MIAMI                     FL
111615   5TDYZ3DC7JS909852   Toyota       SIENNA              DENVER                    CO
111616   5TDYZ3DC7JS919183   Toyota       SIENNA              TAMPA                     US
111617   5TDYZ3DC7JS926098   Toyota       SIENNA              DANIA                     FL
111618   5TDYZ3DC7JS941801   Toyota       SIENNA              Memphis                   TN
111619   5TDYZ3DC7JS948943   Toyota       SIENNA              KANSAS CITY               MO
111620   5TDYZ3DC7JS949929   Toyota       SIENNA              Norwalk                   CA
111621   5TDYZ3DC7JS950076   Toyota       SIENNA              BOSTON                    MA
111622   5TDYZ3DC7JS952152   Toyota       SIENNA              Atlanta                   GA
111623   5TDYZ3DC7JS952667   Toyota       SIENNA              SANTA ANA                 CA
111624   5TDYZ3DC7JS953009   Toyota       SIENNA              HANOVER                   MD
111625   5TDYZ3DC7JS960350   Toyota       SIENNA              DANIA                     FL
111626   5TDYZ3DC7KS976579   Toyota       SIENNA              NEWARK                    NJ
111627   5TDYZ3DC7KS977800   Toyota       SIENNA              MOBILE                    A
111628   5TDYZ3DC7KS978106   Toyota       SIENNA              ORLANDO                   FL
111629   5TDYZ3DC7KS978252   Toyota       SIENNA              PHILADELPHIA              PA
111630   5TDYZ3DC7KS978414   Toyota       SIENNA              Miami                     FL
111631   5TDYZ3DC7KS978462   Toyota       SIENNA              ALEXANDRIA                VA
111632   5TDYZ3DC7KS978476   Toyota       SIENNA              Miami                     FL
111633   5TDYZ3DC7KS978509   Toyota       SIENNA              ORLANDO                   FL
111634   5TDYZ3DC7KS978705   Toyota       SIENNA              Dania Beach               FL
111635   5TDYZ3DC7KS978820   Toyota       SIENNA              RICHMOND                  VA
111636   5TDYZ3DC7KS978851   Toyota       SIENNA              Miami                     FL
111637   5TDYZ3DC7KS978865   Toyota       SIENNA              TAMPA                     US
111638   5TDYZ3DC7KS983984   Toyota       SIENNA              EGG HARBOR TOWN           NJ
111639   5TDYZ3DC7KS984245   Toyota       SIENNA              Miami                     FL
111640   5TDYZ3DC7KS984410   Toyota       SIENNA              LAS VEGAS                 NV
111641   5TDYZ3DC7KS984553   Toyota       SIENNA              ROY                       UT
111642   5TDYZ3DC7KS984617   Toyota       SIENNA              ORLANDO                   FL
111643   5TDYZ3DC7KS984911   Toyota       SIENNA              MIAMI                     FL
111644   5TDYZ3DC7KS985203   Toyota       SIENNA              SAN FRANCISCO             CA
111645   5TDYZ3DC7KS985640   Toyota       SIENNA              Dania Beach               FL
111646   5TDYZ3DC7KS985900   Toyota       SIENNA              INDIANAPOLIS              IN
111647   5TDYZ3DC7KS985959   Toyota       SIENNA              SANTA ANA                 CA
111648   5TDYZ3DC7KS986433   Toyota       SIENNA              DANIA                     FL
111649   5TDYZ3DC7KS986755   Toyota       SIENNA              ORLANDO                   FL
111650   5TDYZ3DC7KS990577   Toyota       SIENNA              BURLINGAME                CA
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111651   5TDYZ3DC7KS991258   Toyota       SIENNA              SAN JOSE                  CA
111652   5TDYZ3DC7KS991843   Toyota       SIENNA              SAN ANTONIO               TX
111653   5TDYZ3DC7KS992250   Toyota       SIENNA              SANTA ANA                 CA
111654   5TDYZ3DC7KS992586   Toyota       SIENNA              PHOENIX                   AZ
111655   5TDYZ3DC8JS923646   Toyota       SIENNA              Mira Loma                 CA
111656   5TDYZ3DC8JS925932   Toyota       SIENNA              ORLANDO                   FL
111657   5TDYZ3DC8JS950085   Toyota       SIENNA              Matteson                  IL
111658   5TDYZ3DC8JS950331   Toyota       SIENNA              Baltimore                 MD
111659   5TDYZ3DC8JS951883   Toyota       SIENNA              LOS ANGELES               CA
111660   5TDYZ3DC8JS958042   Toyota       SIENNA              ORLANDO                   FL
111661   5TDYZ3DC8KS975831   Toyota       SIENNA              FORT MYERS                FL
111662   5TDYZ3DC8KS975845   Toyota       SIENNA              DANIA                     FL
111663   5TDYZ3DC8KS976509   Toyota       SIENNA              ORLANDO                   FL
111664   5TDYZ3DC8KS976543   Toyota       SIENNA              NEW BERN                  NC
111665   5TDYZ3DC8KS976557   Toyota       SIENNA              COLUMBUS                  OH
111666   5TDYZ3DC8KS976753   Toyota       SIENNA              NEWARK                    NJ
111667   5TDYZ3DC8KS976767   Toyota       SIENNA              SYRACUSE                  NY
111668   5TDYZ3DC8KS976803   Toyota       SIENNA              CLEVELAND                 OH
111669   5TDYZ3DC8KS977076   Toyota       SIENNA              ORLANDO                   FL
111670   5TDYZ3DC8KS977417   Toyota       SIENNA              NEWARK                    NJ
111671   5TDYZ3DC8KS977921   Toyota       SIENNA              BURBANK                   CA
111672   5TDYZ3DC8KS978048   Toyota       SIENNA              Miami                     FL
111673   5TDYZ3DC8KS978115   Toyota       SIENNA              GAINESVILLE               GA
111674   5TDYZ3DC8KS978177   Toyota       SIENNA              ORLANDO                   FL
111675   5TDYZ3DC8KS978454   Toyota       SIENNA              LOS ANGELES               CA
111676   5TDYZ3DC8KS978468   Toyota       SIENNA              DANIA                     FL
111677   5TDYZ3DC8KS978499   Toyota       SIENNA              Miami                     FL
111678   5TDYZ3DC8KS978874   Toyota       SIENNA              ORLANDO                   FL
111679   5TDYZ3DC8KS983895   Toyota       SIENNA              ORLANDO                   FL
111680   5TDYZ3DC8KS984061   Toyota       SIENNA              DENVER                    CO
111681   5TDYZ3DC8KS984089   Toyota       SIENNA              PALM SPRINGS              CA
111682   5TDYZ3DC8KS984254   Toyota       SIENNA              LOS ANGELES               CA
111683   5TDYZ3DC8KS984271   Toyota       SIENNA              JAMAICA                   NY
111684   5TDYZ3DC8KS984867   Toyota       SIENNA              MIAMI                     FL
111685   5TDYZ3DC8KS984948   Toyota       SIENNA              UNION CITY                GA
111686   5TDYZ3DC8KS984951   Toyota       SIENNA              DENVER                    CO
111687   5TDYZ3DC8KS985260   Toyota       SIENNA              ORLANDO                   FL
111688   5TDYZ3DC8KS985520   Toyota       SIENNA              WEST PALM BEACH           FL
111689   5TDYZ3DC8KS985565   Toyota       SIENNA              LAS VEGAS                 NV
111690   5TDYZ3DC8KS985596   Toyota       SIENNA              ONTARIO, RIVERSIDE        CA
111691   5TDYZ3DC8KS986442   Toyota       SIENNA              SARASOTA                  FL
111692   5TDYZ3DC8KS986845   Toyota       SIENNA              ORLANDO                   FL
111693   5TDYZ3DC8KS990765   Toyota       SIENNA              DENVER                    CO
111694   5TDYZ3DC8KS991172   Toyota       SIENNA              MONTCLAIR                 CA
111695   5TDYZ3DC8KS991415   Toyota       SIENNA              LOS ANGELES               CA
111696   5TDYZ3DC8KS992595   Toyota       SIENNA              SAN ANTONIO               TX
111697   5TDYZ3DC9JS919086   Toyota       SIENNA              BIRMINGHAM                AL
111698   5TDYZ3DC9JS920478   Toyota       SIENNA              Baltimore                 MD
111699   5TDYZ3DC9JS925373   Toyota       SIENNA              DENVER                    CO
111700   5TDYZ3DC9JS942416   Toyota       SIENNA              ORLANDO                   FL
111701   5TDYZ3DC9JS950371   Toyota       SIENNA              LOS ANGELES               CA
111702   5TDYZ3DC9JS950385   Toyota       SIENNA              JACKSONVILLE              FL
111703   5TDYZ3DC9JS950662   Toyota       SIENNA              ORLANDO                   FL
111704   5TDYZ3DC9JS950967   Toyota       SIENNA              DENVER                    CO
111705   5TDYZ3DC9JS951133   Toyota       SIENNA              MIAMI                     FL
111706   5TDYZ3DC9JS951231   Toyota       SIENNA              NEWARK                    NJ
111707   5TDYZ3DC9JS951262   Toyota       SIENNA              Webster                   NY
111708   5TDYZ3DC9JS951794   Toyota       SIENNA              BURLINGAME                CA
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111709   5TDYZ3DC9JS952704   Toyota       SIENNA              SAN JOSE                  CA
111710   5TDYZ3DC9JS960317   Toyota       SIENNA              ORLANDO                   FL
111711   5TDYZ3DC9KS975904   Toyota       SIENNA              CHARLOTTE                 NC
111712   5TDYZ3DC9KS976616   Toyota       SIENNA              DRB                       UT
111713   5TDYZ3DC9KS976860   Toyota       SIENNA              BURLINGAME                CA
111714   5TDYZ3DC9KS977183   Toyota       SIENNA              SAVANNAH                  GA
111715   5TDYZ3DC9KS977510   Toyota       SIENNA              ORLANDO                   FL
111716   5TDYZ3DC9KS977720   Toyota       SIENNA              NASHVILLE                 TN
111717   5TDYZ3DC9KS977796   Toyota       SIENNA              ORLANDO                   FL
111718   5TDYZ3DC9KS978530   Toyota       SIENNA              LOS ANGELES               CA
111719   5TDYZ3DC9KS978818   Toyota       SIENNA              NAPLES                    FL
111720   5TDYZ3DC9KS984084   Toyota       SIENNA              DRB                       UT
111721   5TDYZ3DC9KS984103   Toyota       SIENNA              SACRAMENTO                CA
111722   5TDYZ3DC9KS984375   Toyota       SIENNA              Miami                     FL
111723   5TDYZ3DC9KS984926   Toyota       SIENNA              Memphis                   TN
111724   5TDYZ3DC9KS986742   Toyota       SIENNA              CHARLESTON                WV
111725   5TDYZ3DC9KS990483   Toyota       SIENNA              DRB                       UT
111726   5TDYZ3DC9KS990872   Toyota       SIENNA              Detroit                   MI
111727   5TDYZ3DC9KS990922   Toyota       SIENNA              San Diego                 CA
111728   5TDYZ3DC9KS990936   Toyota       SIENNA              EL SEGUNDO                CA
111729   5TDYZ3DC9KS991827   Toyota       SIENNA              LOS ANGELES               CA
111730   5TDYZ3DCXJS911739   Toyota       SIENNA              Riverside                 CA
111731   5TDYZ3DCXJS920196   Toyota       SIENNA              Ft. Myers                 FL
111732   5TDYZ3DCXJS921770   Toyota       SIENNA              ANCHORAGE                 AK
111733   5TDYZ3DCXJS922837   Toyota       SIENNA              Hayward                   CA
111734   5TDYZ3DCXJS924765   Toyota       SIENNA              SAN ANTONIO               TX
111735   5TDYZ3DCXJS925334   Toyota       SIENNA              San Diego                 CA
111736   5TDYZ3DCXJS942764   Toyota       SIENNA              Baltimore                 MD
111737   5TDYZ3DCXJS950704   Toyota       SIENNA              DENVER                    CO
111738   5TDYZ3DCXJS951223   Toyota       SIENNA              INDIANAPOLIS              IN
111739   5TDYZ3DCXJS951738   Toyota       SIENNA              OAKLAND                   CA
111740   5TDYZ3DCXJS952985   Toyota       SIENNA              DENVER                    CO
111741   5TDYZ3DCXJS960181   Toyota       SIENNA              ORLANDO                   FL
111742   5TDYZ3DCXJS960309   Toyota       SIENNA              RICHMOND                  VA
111743   5TDYZ3DCXKS975765   Toyota       SIENNA              Alexandria                LA
111744   5TDYZ3DCXKS976527   Toyota       SIENNA              Miami                     FL
111745   5TDYZ3DCXKS977421   Toyota       SIENNA              Miami                     FL
111746   5TDYZ3DCXKS977788   Toyota       SIENNA              MYRTLE BEACH              SC
111747   5TDYZ3DCXKS977838   Toyota       SIENNA              Atlanta                   GA
111748   5TDYZ3DCXKS977919   Toyota       SIENNA              LOS ANGELES               CA
111749   5TDYZ3DCXKS978438   Toyota       SIENNA              FORT MYERS                FL
111750   5TDYZ3DCXKS978472   Toyota       SIENNA              UNION CITY                GA
111751   5TDYZ3DCXKS978813   Toyota       SIENNA              ORLANDO                   FL
111752   5TDYZ3DCXKS984059   Toyota       SIENNA              OAKLAND                   CA
111753   5TDYZ3DCXKS984417   Toyota       SIENNA              ONTARIO, RIVERSIDE        CA
111754   5TDYZ3DCXKS985180   Toyota       SIENNA              BURBANK                   CA
111755   5TDYZ3DCXKS985227   Toyota       SIENNA              TAMPA                     US
111756   5TDYZ3DCXKS985356   Toyota       SIENNA              ALBUQUERQUE               NM
111757   5TDYZ3DCXKS985809   Toyota       SIENNA              TAMPA                     US
111758   5TDYZ3DCXKS985860   Toyota       SIENNA              ORLANDO                   FL
111759   5TDYZ3DCXKS986099   Toyota       SIENNA              KENNER                    LA
111760   5TDYZ3DCXKS986412   Toyota       SIENNA              PITTSBURGH                PA
111761   5TDYZ3DCXKS986457   Toyota       SIENNA              Miami                     FL
111762   5TDYZ3DCXKS990458   Toyota       SIENNA              LOS ANGELES               CA
111763   5TDYZ3DCXKS990511   Toyota       SIENNA              TULSA                     OK
111764   5TDYZ3DCXKS990556   Toyota       SIENNA              DRB                       UT
111765   5TDYZ3DCXKS990587   Toyota       SIENNA              PHOENIX                   AZ
111766   5TDYZ3DCXKS990590   Toyota       SIENNA              BURBANK                   CA
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111767   5TDYZ3DCXKS990606   Toyota       SIENNA              LOS ANGELES               CA
111768   5TDYZ3DCXKS990878   Toyota       SIENNA              LOS ANGELES               CA
111769   5TDYZ3DCXKS990962   Toyota       SIENNA              LAS VEGAS                 NV
111770   5TDYZ3DCXKS991271   Toyota       SIENNA              ONTARIO, RIVERSIDE        CA
111771   5TDYZ3DCXKS992100   Toyota       SIENNA              LAS VEGAS                 NV
111772   5TDYZ3DCXKS992565   Toyota       SIENNA              SACRAMENTO                CA
111773   5TDZZRFH0KS292134   Toyota       HIGHLANDER          ORLANDO                   FL
111774   5TDZZRFH0KS292229   Toyota       HIGHLANDER          DANIA                     FL
111775   5TDZZRFH0KS292389   Toyota       HIGHLANDER          WHITE PLAINS              NY
111776   5TDZZRFH0KS293008   Toyota       HIGHLANDER          MOBILE                    A
111777   5TDZZRFH0KS293347   Toyota       HIGHLANDER          PHILADELPHIA              PA
111778   5TDZZRFH0KS297401   Toyota       HIGHLANDER          MORRISVILLE               NC
111779   5TDZZRFH0KS297558   Toyota       HIGHLANDER          TAMPA                     US
111780   5TDZZRFH0KS298824   Toyota       HIGHLANDER          RALEIGH                   NC
111781   5TDZZRFH0KS299262   Toyota       HIGHLANDER          GREENWOOD                 IN
111782   5TDZZRFH0KS303410   Toyota       HIGHLANDER          DANIA                     FL
111783   5TDZZRFH0KS303519   Toyota       HIGHLANDER          Dania Beach               FL
111784   5TDZZRFH0KS303763   Toyota       HIGHLANDER          ALEXANDRIA                VA
111785   5TDZZRFH0KS303780   Toyota       HIGHLANDER          Dania Beach               FL
111786   5TDZZRFH0KS304492   Toyota       HIGHLANDER          BLOOMINGTON               US
111787   5TDZZRFH0KS304539   Toyota       HIGHLANDER          KNOXVILLE                 TN
111788   5TDZZRFH0KS304752   Toyota       HIGHLANDER          TAMPA                     US
111789   5TDZZRFH0KS308283   Toyota       HIGHLANDER          KNOXVILLE                 TN
111790   5TDZZRFH0KS308297   Toyota       HIGHLANDER          Dallas                    TX
111791   5TDZZRFH0KS309479   Toyota       HIGHLANDER          LOS ANGELES               CA
111792   5TDZZRFH0KS309563   Toyota       HIGHLANDER          San Diego                 CA
111793   5TDZZRFH0KS312902   Toyota       HIGHLANDER          LOS ANGELES               CA
111794   5TDZZRFH0KS313161   Toyota       HIGHLANDER          LAS VEGAS                 NV
111795   5TDZZRFH0KS313211   Toyota       HIGHLANDER          LAS VEGAS                 NV
111796   5TDZZRFH0KS313340   Toyota       HIGHLANDER          DALLAS                    TX
111797   5TDZZRFH0KS313452   Toyota       HIGHLANDER          HOUSTON                   TX
111798   5TDZZRFH0KS313693   Toyota       HIGHLANDER          LAS VEGAS                 NV
111799   5TDZZRFH0KS313905   Toyota       HIGHLANDER          ONTARIO                   CA
111800   5TDZZRFH0KS313919   Toyota       HIGHLANDER          San Diego                 CA
111801   5TDZZRFH0KS314746   Toyota       HIGHLANDER          LAS VEGAS                 NV
111802   5TDZZRFH0KS317775   Toyota       HIGHLANDER          HOUSTON                   TX
111803   5TDZZRFH0KS318148   Toyota       HIGHLANDER          MEMPHIS                   TN
111804   5TDZZRFH0KS318313   Toyota       HIGHLANDER          KNOXVILLE                 TN
111805   5TDZZRFH0KS318506   Toyota       HIGHLANDER          NEW ORLEANS               LA
111806   5TDZZRFH0KS318537   Toyota       HIGHLANDER          ATLANTA AP                GA
111807   5TDZZRFH0KS318781   Toyota       HIGHLANDER          HOUSTON                   TX
111808   5TDZZRFH0KS319235   Toyota       HIGHLANDER          FORT MYERS                FL
111809   5TDZZRFH0KS319400   Toyota       HIGHLANDER          KANSAS CITY               MO
111810   5TDZZRFH0KS319509   Toyota       HIGHLANDER          ORLANDO                   FL
111811   5TDZZRFH0KS319669   Toyota       HIGHLANDER          PENSACOLA                 FL
111812   5TDZZRFH0KS320157   Toyota       HIGHLANDER          DETROIT                   MI
111813   5TDZZRFH0KS320286   Toyota       HIGHLANDER          INDIANAPOLIS              IN
111814   5TDZZRFH0KS321020   Toyota       HIGHLANDER          FAYETTEVILLE              GA
111815   5TDZZRFH0KS321101   Toyota       HIGHLANDER          TAMPA                     US
111816   5TDZZRFH0KS321129   Toyota       HIGHLANDER          CHARLOTTE                 US
111817   5TDZZRFH0KS324788   Toyota       HIGHLANDER          HOUSTON                   TX
111818   5TDZZRFH0KS325312   Toyota       HIGHLANDER          LOUISVILLE                KY
111819   5TDZZRFH0KS326363   Toyota       HIGHLANDER          Atlanta                   GA
111820   5TDZZRFH0KS326640   Toyota       HIGHLANDER          AUSTIN                    TX
111821   5TDZZRFH0KS330106   Toyota       HIGHLANDER          BIRMINGHAN                AL
111822   5TDZZRFH0KS336701   Toyota       HIGHLANDER          TULSA                     OK
111823   5TDZZRFH1KS291770   Toyota       HIGHLANDER          DANIA                     FL
111824   5TDZZRFH1KS292580   Toyota       HIGHLANDER          West Palm Beach           FL
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111825   5TDZZRFH1KS292594   Toyota       HIGHLANDER          TAMPA                     US
111826   5TDZZRFH1KS292790   Toyota       HIGHLANDER          TULSA                     OK
111827   5TDZZRFH1KS293356   Toyota       HIGHLANDER          Miami                     FL
111828   5TDZZRFH1KS293423   Toyota       HIGHLANDER          DANIA                     FL
111829   5TDZZRFH1KS293647   Toyota       HIGHLANDER          Darlington                SC
111830   5TDZZRFH1KS297374   Toyota       HIGHLANDER          Mt. Juliet                TN
111831   5TDZZRFH1KS297617   Toyota       HIGHLANDER          DALLAS                    TX
111832   5TDZZRFH1KS298198   Toyota       HIGHLANDER          DANIA                     FL
111833   5TDZZRFH1KS298248   Toyota       HIGHLANDER          PHILADELPHIA              PA
111834   5TDZZRFH1KS302914   Toyota       HIGHLANDER          COLUMBIA                  SC
111835   5TDZZRFH1KS303030   Toyota       HIGHLANDER          KANSAS CITY               MO
111836   5TDZZRFH1KS303769   Toyota       HIGHLANDER          FORT LAUDERDALE           FL
111837   5TDZZRFH1KS303853   Toyota       HIGHLANDER          PHOENIX                   AZ
111838   5TDZZRFH1KS304033   Toyota       HIGHLANDER          ORLANDO                   FL
111839   5TDZZRFH1KS304064   Toyota       HIGHLANDER          ORLANDO                   FL
111840   5TDZZRFH1KS304646   Toyota       HIGHLANDER          ORLANDO                   FL
111841   5TDZZRFH1KS304873   Toyota       HIGHLANDER          SAVANNAH                  GA
111842   5TDZZRFH1KS309264   Toyota       HIGHLANDER          LAS VEGAS                 NV
111843   5TDZZRFH1KS312746   Toyota       HIGHLANDER          HANOVER                   MD
111844   5TDZZRFH1KS314349   Toyota       HIGHLANDER          COLUMBUS                  OH
111845   5TDZZRFH1KS314500   Toyota       HIGHLANDER          SAN ANTONIO               TX
111846   5TDZZRFH1KS314898   Toyota       HIGHLANDER          HOUSTON                   TX
111847   5TDZZRFH1KS318014   Toyota       HIGHLANDER          ORLANDO                   FL
111848   5TDZZRFH1KS319258   Toyota       HIGHLANDER          Atlanta                   GA
111849   5TDZZRFH1KS319390   Toyota       HIGHLANDER          ORLANDO                   FL
111850   5TDZZRFH1KS319485   Toyota       HIGHLANDER          ORLANDO                   FL
111851   5TDZZRFH1KS319664   Toyota       HIGHLANDER          ORLANDO                   FL
111852   5TDZZRFH1KS319910   Toyota       HIGHLANDER          WEST COLUMBIA             SC
111853   5TDZZRFH1KS320605   Toyota       HIGHLANDER          PHOENIX                   AZ
111854   5TDZZRFH1KS320765   Toyota       HIGHLANDER          DETROIT                   MI
111855   5TDZZRFH1KS324203   Toyota       HIGHLANDER          AUSTIN                    TX
111856   5TDZZRFH1KS325822   Toyota       HIGHLANDER          HOUSTON                   TX
111857   5TDZZRFH2KS291373   Toyota       HIGHLANDER          ORLANDO                   FL
111858   5TDZZRFH2KS291406   Toyota       HIGHLANDER          SARASOTA                  FL
111859   5TDZZRFH2KS291860   Toyota       HIGHLANDER          DANIA                     FL
111860   5TDZZRFH2KS292684   Toyota       HIGHLANDER          WEST PALM BEACH           FL
111861   5TDZZRFH2KS292863   Toyota       HIGHLANDER          FAYETTEVILLE              GA
111862   5TDZZRFH2KS293043   Toyota       HIGHLANDER          BURBANK                   CA
111863   5TDZZRFH2KS293186   Toyota       HIGHLANDER          WEST COLUMBIA             SC
111864   5TDZZRFH2KS293575   Toyota       HIGHLANDER          RONKONKOMA                NY
111865   5TDZZRFH2KS297349   Toyota       HIGHLANDER          SAVANNAH                  GA
111866   5TDZZRFH2KS299361   Toyota       HIGHLANDER          HOUSTON                   TX
111867   5TDZZRFH2KS302985   Toyota       HIGHLANDER          Miami                     FL
111868   5TDZZRFH2KS303022   Toyota       HIGHLANDER          BURBANK                   CA
111869   5TDZZRFH2KS303263   Toyota       HIGHLANDER          Miami                     FL
111870   5TDZZRFH2KS303327   Toyota       HIGHLANDER          SAN FRANCISCO             CA
111871   5TDZZRFH2KS303473   Toyota       HIGHLANDER          PHOENIX                   AZ
111872   5TDZZRFH2KS303652   Toyota       HIGHLANDER          COSTA MESA                CA
111873   5TDZZRFH2KS303697   Toyota       HIGHLANDER          MOBILE                    A
111874   5TDZZRFH2KS304087   Toyota       HIGHLANDER          NAPLES                    FL
111875   5TDZZRFH2KS304154   Toyota       HIGHLANDER          JACKSONVILLE              FL
111876   5TDZZRFH2KS304753   Toyota       HIGHLANDER          TAMPA                     US
111877   5TDZZRFH2KS308012   Toyota       HIGHLANDER          SAVANNAH                  GA
111878   5TDZZRFH2KS308768   Toyota       HIGHLANDER          ORLANDO                   FL
111879   5TDZZRFH2KS308849   Toyota       HIGHLANDER          CHARLESTON                SC
111880   5TDZZRFH2KS309080   Toyota       HIGHLANDER          PALM SPRINGS              CA
111881   5TDZZRFH2KS312478   Toyota       HIGHLANDER          LOS ANGELES               CA
111882   5TDZZRFH2KS312612   Toyota       HIGHLANDER          Omaha                     NE
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111883   5TDZZRFH2KS312626   Toyota       HIGHLANDER          UNION CITY                GA
111884   5TDZZRFH2KS312917   Toyota       HIGHLANDER          BURLINGAME                CA
111885   5TDZZRFH2KS313002   Toyota       HIGHLANDER          DANIA                     FL
111886   5TDZZRFH2KS313629   Toyota       HIGHLANDER          UNION CITY                GA
111887   5TDZZRFH2KS313856   Toyota       HIGHLANDER          LOS ANGELES               CA
111888   5TDZZRFH2KS313954   Toyota       HIGHLANDER          BURBANK                   CA
111889   5TDZZRFH2KS314148   Toyota       HIGHLANDER          LOS ANGELES               CA
111890   5TDZZRFH2KS314991   Toyota       HIGHLANDER          ST PAUL                   MN
111891   5TDZZRFH2KS319155   Toyota       HIGHLANDER          NEW BERN                  NC
111892   5TDZZRFH2KS319432   Toyota       HIGHLANDER          RICHMOND                  VA
111893   5TDZZRFH2KS319642   Toyota       HIGHLANDER          HOUSTON                   TX
111894   5TDZZRFH2KS319866   Toyota       HIGHLANDER          CHARLOTTE                 NC
111895   5TDZZRFH2KS320161   Toyota       HIGHLANDER          MOBILE                    A
111896   5TDZZRFH2KS320175   Toyota       HIGHLANDER          HANOVER                   MD
111897   5TDZZRFH2KS320788   Toyota       HIGHLANDER          BOSTON                    MA
111898   5TDZZRFH2KS321147   Toyota       HIGHLANDER          FORT MYERS                FL
111899   5TDZZRFH2KS321231   Toyota       HIGHLANDER          WEST COLUMBIA             SC
111900   5TDZZRFH2KS324730   Toyota       HIGHLANDER          NASHVILLE                 TN
111901   5TDZZRFH2KS325098   Toyota       HIGHLANDER          DALLAS                    TX
111902   5TDZZRFH2KS332035   Toyota       HIGHLANDER          NEW ORLEANS               LA
111903   5TDZZRFH2KS336893   Toyota       HIGHLANDER          OKLAHOMA CITY             OK
111904   5TDZZRFH3KS292354   Toyota       HIGHLANDER          KENNER                    LA
111905   5TDZZRFH3KS292645   Toyota       HIGHLANDER          Miami                     FL
111906   5TDZZRFH3KS293147   Toyota       HIGHLANDER          ST PAUL                   MN
111907   5TDZZRFH3KS297621   Toyota       HIGHLANDER          DFW AIRPORT               TX
111908   5TDZZRFH3KS302848   Toyota       HIGHLANDER          NAPLES                    FL
111909   5TDZZRFH3KS302879   Toyota       HIGHLANDER          Baltimore                 MD
111910   5TDZZRFH3KS302932   Toyota       HIGHLANDER          INDIANAPOLIS              IN
111911   5TDZZRFH3KS302946   Toyota       HIGHLANDER          West Palm Beach           FL
111912   5TDZZRFH3KS303191   Toyota       HIGHLANDER          Miami                     FL
111913   5TDZZRFH3KS303210   Toyota       HIGHLANDER          CLEVELAND                 OH
111914   5TDZZRFH3KS303305   Toyota       HIGHLANDER          NEW ORLEANS               LA
111915   5TDZZRFH3KS303398   Toyota       HIGHLANDER          UNION CITY                GA
111916   5TDZZRFH3KS303515   Toyota       HIGHLANDER          West Palm Beach           FL
111917   5TDZZRFH3KS303773   Toyota       HIGHLANDER          DANIA                     FL
111918   5TDZZRFH3KS304065   Toyota       HIGHLANDER          SARASOTA                  FL
111919   5TDZZRFH3KS304423   Toyota       HIGHLANDER          TAMPA                     US
111920   5TDZZRFH3KS304454   Toyota       HIGHLANDER          ORLANDO                   FL
111921   5TDZZRFH3KS304468   Toyota       HIGHLANDER          Atlanta                   GA
111922   5TDZZRFH3KS304521   Toyota       HIGHLANDER          KENNER                    LA
111923   5TDZZRFH3KS304700   Toyota       HIGHLANDER          KNOXVILLE                 TN
111924   5TDZZRFH3KS305054   Toyota       HIGHLANDER          UNION CITY                GA
111925   5TDZZRFH3KS305071   Toyota       HIGHLANDER          HOUSTON                   TX
111926   5TDZZRFH3KS307967   Toyota       HIGHLANDER          HANOVER                   MD
111927   5TDZZRFH3KS308956   Toyota       HIGHLANDER          JACKSONVILLE              FL
111928   5TDZZRFH3KS309296   Toyota       HIGHLANDER          SOUTH SAN FRANC           CA
111929   5TDZZRFH3KS312649   Toyota       HIGHLANDER          DALLAS                    TX
111930   5TDZZRFH3KS312831   Toyota       HIGHLANDER          DALLAS                    TX
111931   5TDZZRFH3KS312909   Toyota       HIGHLANDER          Omaha                     NE
111932   5TDZZRFH3KS313090   Toyota       HIGHLANDER          LAS VEGAS                 NV
111933   5TDZZRFH3KS313154   Toyota       HIGHLANDER          DALLAS                    TX
111934   5TDZZRFH3KS313204   Toyota       HIGHLANDER          MILWAUKEE AIRPORT         WI
111935   5TDZZRFH3KS313266   Toyota       HIGHLANDER          PALM SPRINGS              CA
111936   5TDZZRFH3KS313428   Toyota       HIGHLANDER          LAS VEGAS                 NV
111937   5TDZZRFH3KS313736   Toyota       HIGHLANDER          PALM SPRINGS              CA
111938   5TDZZRFH3KS313834   Toyota       HIGHLANDER          SAN FRANCISCO             CA
111939   5TDZZRFH3KS315115   Toyota       HIGHLANDER          LOS ANGELES               CA
111940   5TDZZRFH3KS317169   Toyota       HIGHLANDER          DANIA                     FL
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111941   5TDZZRFH3KS318435   Toyota       HIGHLANDER          Atlanta                   GA
111942   5TDZZRFH3KS319195   Toyota       HIGHLANDER          GREENSBORO                NC
111943   5TDZZRFH3KS319830   Toyota       HIGHLANDER          Atlanta                   GA
111944   5TDZZRFH3KS319889   Toyota       HIGHLANDER          MEMPHIS                   TN
111945   5TDZZRFH3KS320167   Toyota       HIGHLANDER          MIAMI                     FL
111946   5TDZZRFH3KS320377   Toyota       HIGHLANDER          Hebron                    KY
111947   5TDZZRFH3KS320511   Toyota       HIGHLANDER          CHARLOTTE                 NC
111948   5TDZZRFH3KS320637   Toyota       HIGHLANDER          PENSACOLA                 FL
111949   5TDZZRFH3KS320931   Toyota       HIGHLANDER          BIRMINGHAN                AL
111950   5TDZZRFH3KS336627   Toyota       HIGHLANDER          Atlanta                   GA
111951   5TDZZRFH4KS291889   Toyota       HIGHLANDER          TAMPA                     US
111952   5TDZZRFH4KS292380   Toyota       HIGHLANDER          PHILADELPHIA              PA
111953   5TDZZRFH4KS292699   Toyota       HIGHLANDER          NEW BERN                  NC
111954   5TDZZRFH4KS292752   Toyota       HIGHLANDER          FORT MYERS                FL
111955   5TDZZRFH4KS293352   Toyota       HIGHLANDER          FORT MYERS                FL
111956   5TDZZRFH4KS293383   Toyota       HIGHLANDER          FORT MYERS                FL
111957   5TDZZRFH4KS293674   Toyota       HIGHLANDER          SAVANNAH                  GA
111958   5TDZZRFH4KS296199   Toyota       HIGHLANDER          PHOENIX                   AZ
111959   5TDZZRFH4KS296591   Toyota       HIGHLANDER          NEW YORK CITY             NY
111960   5TDZZRFH4KS296817   Toyota       HIGHLANDER          HOUSTON                   TX
111961   5TDZZRFH4KS297305   Toyota       HIGHLANDER          KENNER                    LA
111962   5TDZZRFH4KS297370   Toyota       HIGHLANDER          CHICAGO                   IL
111963   5TDZZRFH4KS297398   Toyota       HIGHLANDER          CHARLOTTE                 US
111964   5TDZZRFH4KS298518   Toyota       HIGHLANDER          Atlanta                   GA
111965   5TDZZRFH4KS298552   Toyota       HIGHLANDER          ORLANDO                   FL
111966   5TDZZRFH4KS298776   Toyota       HIGHLANDER          FAYETTEVILLE              GA
111967   5TDZZRFH4KS302955   Toyota       HIGHLANDER          Manheim                   PA
111968   5TDZZRFH4KS303149   Toyota       HIGHLANDER          TAMPA                     US
111969   5TDZZRFH4KS303894   Toyota       HIGHLANDER          KENNER                    LA
111970   5TDZZRFH4KS303992   Toyota       HIGHLANDER          PITTSBURGH                PA
111971   5TDZZRFH4KS304107   Toyota       HIGHLANDER          ORLANDO                   FL
111972   5TDZZRFH4KS304172   Toyota       HIGHLANDER          NORFOLK                   VA
111973   5TDZZRFH4KS304933   Toyota       HIGHLANDER          FORT MYERS                FL
111974   5TDZZRFH4KS308951   Toyota       HIGHLANDER          KENNER                    LA
111975   5TDZZRFH4KS309145   Toyota       HIGHLANDER          Dallas                    TX
111976   5TDZZRFH4KS309470   Toyota       HIGHLANDER          San Diego                 CA
111977   5TDZZRFH4KS313048   Toyota       HIGHLANDER          ONTARIO, RIVERSIDE        CA
111978   5TDZZRFH4KS313194   Toyota       HIGHLANDER          SAN ANTONIO               TX
111979   5TDZZRFH4KS313213   Toyota       HIGHLANDER          LOS ANGELES               CA
111980   5TDZZRFH4KS313695   Toyota       HIGHLANDER          LOS ANGELES               CA
111981   5TDZZRFH4KS313728   Toyota       HIGHLANDER          UNION CITY                GA
111982   5TDZZRFH4KS314023   Toyota       HIGHLANDER          LOS ANGELES               CA
111983   5TDZZRFH4KS314281   Toyota       HIGHLANDER          LOS ANGELES               CA
111984   5TDZZRFH4KS314961   Toyota       HIGHLANDER          LAS VEGAS                 NV
111985   5TDZZRFH4KS315060   Toyota       HIGHLANDER          HOUSTON                   TX
111986   5TDZZRFH4KS315091   Toyota       HIGHLANDER          ORLANDO                   FL
111987   5TDZZRFH4KS316936   Toyota       HIGHLANDER          HOUSTON                   TX
111988   5TDZZRFH4KS318153   Toyota       HIGHLANDER          NEW BERN                  NC
111989   5TDZZRFH4KS319450   Toyota       HIGHLANDER          DALLAS                    TX
111990   5TDZZRFH4KS319755   Toyota       HIGHLANDER          MEMPHIS                   TN
111991   5TDZZRFH4KS320193   Toyota       HIGHLANDER          KNOXVILLE                 TN
111992   5TDZZRFH4KS320422   Toyota       HIGHLANDER          WEST COLUMBIA             SC
111993   5TDZZRFH4KS320520   Toyota       HIGHLANDER          WEST COLUMBIA             SC
111994   5TDZZRFH4KS320873   Toyota       HIGHLANDER          AUSTIN                    TX
111995   5TDZZRFH4KS320940   Toyota       HIGHLANDER          SAN ANTONIO               TX
111996   5TDZZRFH4KS321070   Toyota       HIGHLANDER          WINSDOR LOCKS             CT
111997   5TDZZRFH4KS321120   Toyota       HIGHLANDER          DETROIT                   MI
111998   5TDZZRFH4KS324549   Toyota       HIGHLANDER          KENNER                    LA
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111999   5TDZZRFH4KS331890   Toyota       HIGHLANDER          MEMPHIS                   TN
112000   5TDZZRFH4KS332845   Toyota       HIGHLANDER          LOUISVILLE                KY
112001   5TDZZRFH4KS335776   Toyota       HIGHLANDER          HOUSTON                   TX
112002   5TDZZRFH4KS336300   Toyota       HIGHLANDER          ORLANDO                   FL
112003   5TDZZRFH4KS336457   Toyota       HIGHLANDER          DALLAS                    TX
112004   5TDZZRFH4KS337236   Toyota       HIGHLANDER          HOUSTON                   TX
112005   5TDZZRFH5KS291545   Toyota       HIGHLANDER          DFW AIRPORT               TX
112006   5TDZZRFH5KS291643   Toyota       HIGHLANDER          NEW ORLEANS               LA
112007   5TDZZRFH5KS291724   Toyota       HIGHLANDER          BOSTON                    MA
112008   5TDZZRFH5KS292341   Toyota       HIGHLANDER          NEWARK                    NJ
112009   5TDZZRFH5KS292467   Toyota       HIGHLANDER          ST PAUL                   MN
112010   5TDZZRFH5KS292985   Toyota       HIGHLANDER          AUSTIN                    TX
112011   5TDZZRFH5KS293070   Toyota       HIGHLANDER          West Palm Beach           FL
112012   5TDZZRFH5KS293327   Toyota       HIGHLANDER          Miami                     FL
112013   5TDZZRFH5KS293425   Toyota       HIGHLANDER          Revere                    MA
112014   5TDZZRFH5KS293439   Toyota       HIGHLANDER          TAMPA                     US
112015   5TDZZRFH5KS297619   Toyota       HIGHLANDER          LAS VEGAS                 NV
112016   5TDZZRFH5KS298298   Toyota       HIGHLANDER          ORLANDO                   FL
112017   5TDZZRFH5KS298558   Toyota       HIGHLANDER          CHARLESTON                SC
112018   5TDZZRFH5KS299502   Toyota       HIGHLANDER          PITTSBURGH                PA
112019   5TDZZRFH5KS302995   Toyota       HIGHLANDER          ORLANDO                   FL
112020   5TDZZRFH5KS303144   Toyota       HIGHLANDER          SARASOTA                  FL
112021   5TDZZRFH5KS303256   Toyota       HIGHLANDER          FAYETTEVILLE              GA
112022   5TDZZRFH5KS303287   Toyota       HIGHLANDER          DANIA                     FL
112023   5TDZZRFH5KS303421   Toyota       HIGHLANDER          PHILADELPHIA              PA
112024   5TDZZRFH5KS303774   Toyota       HIGHLANDER          TAMPA                     US
112025   5TDZZRFH5KS304150   Toyota       HIGHLANDER          COLUMBIA                  SC
112026   5TDZZRFH5KS304164   Toyota       HIGHLANDER          Dania Beach               FL
112027   5TDZZRFH5KS304584   Toyota       HIGHLANDER          CHARLOTTE                 US
112028   5TDZZRFH5KS304665   Toyota       HIGHLANDER          ALEXANDRIA                VA
112029   5TDZZRFH5KS304777   Toyota       HIGHLANDER          COLUMBUS                  OH
112030   5TDZZRFH5KS308117   Toyota       HIGHLANDER          Atlanta                   GA
112031   5TDZZRFH5KS308280   Toyota       HIGHLANDER          Dania Beach               FL
112032   5TDZZRFH5KS312653   Toyota       HIGHLANDER          DALLAS                    TX
112033   5TDZZRFH5KS312829   Toyota       HIGHLANDER          LOS ANGELES               CA
112034   5TDZZRFH5KS313317   Toyota       HIGHLANDER          BIRMINGHAN                AL
112035   5TDZZRFH5KS313480   Toyota       HIGHLANDER          GRAND RAPIDS              MI
112036   5TDZZRFH5KS313818   Toyota       HIGHLANDER          HOUSTON                   TX
112037   5TDZZRFH5KS313883   Toyota       HIGHLANDER          BURLINGAME                CA
112038   5TDZZRFH5KS314208   Toyota       HIGHLANDER          BALTIMORE                 MD
112039   5TDZZRFH5KS314466   Toyota       HIGHLANDER          KENNER                    LA
112040   5TDZZRFH5KS314502   Toyota       HIGHLANDER          ALBUQUERQUE               NM
112041   5TDZZRFH5KS314516   Toyota       HIGHLANDER          BURBANK                   CA
112042   5TDZZRFH5KS314824   Toyota       HIGHLANDER          PHOENIX                   AZ
112043   5TDZZRFH5KS315102   Toyota       HIGHLANDER          Omaha                     NE
112044   5TDZZRFH5KS318419   Toyota       HIGHLANDER          STERLING                  US
112045   5TDZZRFH5KS318498   Toyota       HIGHLANDER          PHOENIX                   AZ
112046   5TDZZRFH5KS318694   Toyota       HIGHLANDER          EAST BOSTON               MA
112047   5TDZZRFH5KS319215   Toyota       HIGHLANDER          FAYETTEVILLE              GA
112048   5TDZZRFH5KS319649   Toyota       HIGHLANDER          NASHVILLE                 TN
112049   5TDZZRFH5KS319652   Toyota       HIGHLANDER          HOUSTON                   TX
112050   5TDZZRFH5KS319795   Toyota       HIGHLANDER          KNOXVILLE                 TN
112051   5TDZZRFH5KS319814   Toyota       HIGHLANDER          ORLANDO                   FL
112052   5TDZZRFH5KS319845   Toyota       HIGHLANDER          KNOXVILLE                 TN
112053   5TDZZRFH5KS319862   Toyota       HIGHLANDER          KNOXVILLE                 TN
112054   5TDZZRFH5KS320302   Toyota       HIGHLANDER          AUSTIN                    TX
112055   5TDZZRFH5KS320364   Toyota       HIGHLANDER          FAYETTEVILLE              GA
112056   5TDZZRFH5KS320462   Toyota       HIGHLANDER          LOUISVILLE                KY
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112057   5TDZZRFH5KS320641   Toyota       HIGHLANDER          FAYETTEVILLE              GA
112058   5TDZZRFH5KS320994   Toyota       HIGHLANDER          MIAMI                     FL
112059   5TDZZRFH5KS324270   Toyota       HIGHLANDER          AUSTIN                    TX
112060   5TDZZRFH5KS324737   Toyota       HIGHLANDER          DFW AIRPORT               TX
112061   5TDZZRFH5KS324821   Toyota       HIGHLANDER          CHARLOTTE                 US
112062   5TDZZRFH5KS325595   Toyota       HIGHLANDER          SAN ANTONIO               TX
112063   5TDZZRFH5KS325886   Toyota       HIGHLANDER          DFW AIRPORT               TX
112064   5TDZZRFH5KS336578   Toyota       HIGHLANDER          HOUSTON                   TX
112065   5TDZZRFH5KS337312   Toyota       HIGHLANDER          DFW AIRPORT               TX
112066   5TDZZRFH5KS337472   Toyota       HIGHLANDER          SAN ANTONIO               TX
112067   5TDZZRFH6KS291702   Toyota       HIGHLANDER          UNION CITY                GA
112068   5TDZZRFH6KS292879   Toyota       HIGHLANDER          ORLANDO                   FL
112069   5TDZZRFH6KS292896   Toyota       HIGHLANDER          ALBUQUERQUE               NM
112070   5TDZZRFH6KS292977   Toyota       HIGHLANDER          Dania Beach               FL
112071   5TDZZRFH6KS293403   Toyota       HIGHLANDER          WARWICK                   RI
112072   5TDZZRFH6KS293420   Toyota       HIGHLANDER          UNION CITY                GA
112073   5TDZZRFH6KS293787   Toyota       HIGHLANDER          Dallas                    TX
112074   5TDZZRFH6KS298407   Toyota       HIGHLANDER          HOUSTON                   TX
112075   5TDZZRFH6KS299587   Toyota       HIGHLANDER          SARASOTA                  FL
112076   5TDZZRFH6KS302861   Toyota       HIGHLANDER          KNOXVILLE                 TN
112077   5TDZZRFH6KS303170   Toyota       HIGHLANDER          BURBANK                   CA
112078   5TDZZRFH6KS304173   Toyota       HIGHLANDER          TAMPA                     US
112079   5TDZZRFH6KS304674   Toyota       HIGHLANDER          WEST PALM BEACH           FL
112080   5TDZZRFH6KS307963   Toyota       HIGHLANDER          PHILADELPHIA              PA
112081   5TDZZRFH6KS308157   Toyota       HIGHLANDER          LEXINGTON                 KY
112082   5TDZZRFH6KS309177   Toyota       HIGHLANDER          CHICAGO                   IL
112083   5TDZZRFH6KS309745   Toyota       HIGHLANDER          TAMPA                     US
112084   5TDZZRFH6KS312564   Toyota       HIGHLANDER          PALM SPRINGS              CA
112085   5TDZZRFH6KS313066   Toyota       HIGHLANDER          HOUSTON                   TX
112086   5TDZZRFH6KS313181   Toyota       HIGHLANDER          HOUSTON                   TX
112087   5TDZZRFH6KS313195   Toyota       HIGHLANDER          DALLAS                    TX
112088   5TDZZRFH6KS313312   Toyota       HIGHLANDER          CHICAGO                   IL
112089   5TDZZRFH6KS313374   Toyota       HIGHLANDER          BURLINGAME                CA
112090   5TDZZRFH6KS313410   Toyota       HIGHLANDER          CHICAGO                   IL
112091   5TDZZRFH6KS313469   Toyota       HIGHLANDER          PHOENIX                   AZ
112092   5TDZZRFH6KS313701   Toyota       HIGHLANDER          HOUSTON                   TX
112093   5TDZZRFH6KS313732   Toyota       HIGHLANDER          DALLAS                    TX
112094   5TDZZRFH6KS314007   Toyota       HIGHLANDER          OAKLAND                   CA
112095   5TDZZRFH6KS314072   Toyota       HIGHLANDER          LOS ANGELES               CA
112096   5TDZZRFH6KS314198   Toyota       HIGHLANDER          CHICAGO                   IL
112097   5TDZZRFH6KS314654   Toyota       HIGHLANDER          LOS ANGELES               CA
112098   5TDZZRFH6KS318428   Toyota       HIGHLANDER          SHREVEPORT                US
112099   5TDZZRFH6KS318655   Toyota       HIGHLANDER          ATLANTA AP                GA
112100   5TDZZRFH6KS319420   Toyota       HIGHLANDER          BIRMINGHAN                AL
112101   5TDZZRFH6KS319501   Toyota       HIGHLANDER          NEW ORLEANS               LA
112102   5TDZZRFH6KS319613   Toyota       HIGHLANDER          NEW ORLEANS               LA
112103   5TDZZRFH6KS319885   Toyota       HIGHLANDER          Atlanta                   GA
112104   5TDZZRFH6KS319949   Toyota       HIGHLANDER          PENSACOLA                 FL
112105   5TDZZRFH6KS320051   Toyota       HIGHLANDER          Atlanta                   GA
112106   5TDZZRFH6KS320339   Toyota       HIGHLANDER          Hebron                    KY
112107   5TDZZRFH6KS320647   Toyota       HIGHLANDER          HEBRON                    KY
112108   5TDZZRFH6KS320745   Toyota       HIGHLANDER          MEMPHIS                   TN
112109   5TDZZRFH6KS324388   Toyota       HIGHLANDER          HANOVER                   MD
112110   5TDZZRFH6KS331793   Toyota       HIGHLANDER          MEMPHIS                   TN
112111   5TDZZRFH6KS336069   Toyota       HIGHLANDER          BIRMINGHAN                AL
112112   5TDZZRFH6KS337125   Toyota       HIGHLANDER          HOUSTON                   TX
112113   5TDZZRFH7KS291501   Toyota       HIGHLANDER          RICHMOND                  VA
112114   5TDZZRFH7KS291918   Toyota       HIGHLANDER          UNION CITY                GA
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112115   5TDZZRFH7KS292082   Toyota       HIGHLANDER          STERLING                  US
112116   5TDZZRFH7KS292731   Toyota       HIGHLANDER          CHICAGO                   IL
112117   5TDZZRFH7KS293510   Toyota       HIGHLANDER          Des Moines                IA
112118   5TDZZRFH7KS296293   Toyota       HIGHLANDER          Des Moines                IA
112119   5TDZZRFH7KS296729   Toyota       HIGHLANDER          SAN ANTONIO               TX
112120   5TDZZRFH7KS298285   Toyota       HIGHLANDER          UNION CITY                GA
112121   5TDZZRFH7KS298299   Toyota       HIGHLANDER          KANSAS CITY               MO
112122   5TDZZRFH7KS298304   Toyota       HIGHLANDER          TAMPA                     US
112123   5TDZZRFH7KS298481   Toyota       HIGHLANDER          Miami                     FL
112124   5TDZZRFH7KS298903   Toyota       HIGHLANDER          NORFOLK                   VA
112125   5TDZZRFH7KS303257   Toyota       HIGHLANDER          DANIA                     FL
112126   5TDZZRFH7KS303517   Toyota       HIGHLANDER          CHARLOTTE                 NC
112127   5TDZZRFH7KS303792   Toyota       HIGHLANDER          West Palm Beach           FL
112128   5TDZZRFH7KS304036   Toyota       HIGHLANDER          SARASOTA                  FL
112129   5TDZZRFH7KS304098   Toyota       HIGHLANDER          NORFOLK                   VA
112130   5TDZZRFH7KS304716   Toyota       HIGHLANDER          MIAMI                     FL
112131   5TDZZRFH7KS305056   Toyota       HIGHLANDER          TAMPA                     US
112132   5TDZZRFH7KS307972   Toyota       HIGHLANDER          PHILADELPHIA              PA
112133   5TDZZRFH7KS308233   Toyota       HIGHLANDER          RONKONKOMA                NY
112134   5TDZZRFH7KS308264   Toyota       HIGHLANDER          HARRISBURG                PA
112135   5TDZZRFH7KS308426   Toyota       HIGHLANDER          NEWARK                    NJ
112136   5TDZZRFH7KS308779   Toyota       HIGHLANDER          FAYETTEVILLE              GA
112137   5TDZZRFH7KS312623   Toyota       HIGHLANDER          COLUMBIA                  SC
112138   5TDZZRFH7KS313299   Toyota       HIGHLANDER          San Diego                 CA
112139   5TDZZRFH7KS313643   Toyota       HIGHLANDER          SAN ANTONIO               TX
112140   5TDZZRFH7KS313707   Toyota       HIGHLANDER          TULS                      OK
112141   5TDZZRFH7KS314209   Toyota       HIGHLANDER          LAS VEGAS                 NV
112142   5TDZZRFH7KS314212   Toyota       HIGHLANDER          KANSAS CITY               MO
112143   5TDZZRFH7KS314274   Toyota       HIGHLANDER          UNION CITY                GA
112144   5TDZZRFH7KS314419   Toyota       HIGHLANDER          BURBANK                   CA
112145   5TDZZRFH7KS314422   Toyota       HIGHLANDER          Dallas                    TX
112146   5TDZZRFH7KS314677   Toyota       HIGHLANDER          BURBANK                   CA
112147   5TDZZRFH7KS314985   Toyota       HIGHLANDER          EL SEGUNDO                CA
112148   5TDZZRFH7KS314999   Toyota       HIGHLANDER          SANTA BARBARA             CA
112149   5TDZZRFH7KS316932   Toyota       HIGHLANDER          Des Moines                IA
112150   5TDZZRFH7KS318504   Toyota       HIGHLANDER          Austell                   GA
112151   5TDZZRFH7KS318924   Toyota       HIGHLANDER          ALLENTOWN                 US
112152   5TDZZRFH7KS319247   Toyota       HIGHLANDER          SAN ANTONIO               TX
112153   5TDZZRFH7KS319684   Toyota       HIGHLANDER          JACKSONVILLE              FL
112154   5TDZZRFH7KS319734   Toyota       HIGHLANDER          SAINT LOUIS               MO
112155   5TDZZRFH7KS320253   Toyota       HIGHLANDER          FORT MYERS                FL
112156   5TDZZRFH7KS320334   Toyota       HIGHLANDER          ORLANDO                   FL
112157   5TDZZRFH7KS320432   Toyota       HIGHLANDER          HANOVER                   MD
112158   5TDZZRFH7KS320706   Toyota       HIGHLANDER          PHILADELPHIA              PA
112159   5TDZZRFH7KS320785   Toyota       HIGHLANDER          SAN DIEGO                 CA
112160   5TDZZRFH7KS320866   Toyota       HIGHLANDER          Atlanta                   GA
112161   5TDZZRFH7KS320916   Toyota       HIGHLANDER          KNOXVILLE                 TN
112162   5TDZZRFH7KS320978   Toyota       HIGHLANDER          CLEVELAND                 OH
112163   5TDZZRFH7KS329616   Toyota       HIGHLANDER          RICHMOND                  VA
112164   5TDZZRFH7KS331284   Toyota       HIGHLANDER          COLUMBUS                  OH
112165   5TDZZRFH7KS331625   Toyota       HIGHLANDER          ORLANDO                   FL
112166   5TDZZRFH7KS337263   Toyota       HIGHLANDER          DFW AIRPORT               TX
112167   5TDZZRFH8KS291376   Toyota       HIGHLANDER          SAN ANTONIO               TX
112168   5TDZZRFH8KS292172   Toyota       HIGHLANDER          HOUSTON                   TX
112169   5TDZZRFH8KS292995   Toyota       HIGHLANDER          STERLING                  VA
112170   5TDZZRFH8KS293578   Toyota       HIGHLANDER          Miami                     FL
112171   5TDZZRFH8KS293645   Toyota       HIGHLANDER          DANIA                     FL
112172   5TDZZRFH8KS297145   Toyota       HIGHLANDER          KNOXVILLE                 TN
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112173   5TDZZRFH8KS297551   Toyota       HIGHLANDER          SAINT LOUIS               MO
112174   5TDZZRFH8KS298165   Toyota       HIGHLANDER          SAINT LOUIS               MO
112175   5TDZZRFH8KS298506   Toyota       HIGHLANDER          TAMPA                     US
112176   5TDZZRFH8KS298568   Toyota       HIGHLANDER          DALLAS                    TX
112177   5TDZZRFH8KS302876   Toyota       HIGHLANDER          ORLANDO                   FL
112178   5TDZZRFH8KS302912   Toyota       HIGHLANDER          ORLANDO                   FL
112179   5TDZZRFH8KS303252   Toyota       HIGHLANDER          CHARLOTTE                 NC
112180   5TDZZRFH8KS303266   Toyota       HIGHLANDER          FORT MYERS                FL
112181   5TDZZRFH8KS303283   Toyota       HIGHLANDER          Miami                     FL
112182   5TDZZRFH8KS303980   Toyota       HIGHLANDER          NAPLES                    FL
112183   5TDZZRFH8KS304126   Toyota       HIGHLANDER          HANOVER                   MD
112184   5TDZZRFH8KS304353   Toyota       HIGHLANDER          NAPLES                    FL
112185   5TDZZRFH8KS304658   Toyota       HIGHLANDER          Miami                     FL
112186   5TDZZRFH8KS304837   Toyota       HIGHLANDER          ORLANDO                   FL
112187   5TDZZRFH8KS305051   Toyota       HIGHLANDER          TAMPA                     US
112188   5TDZZRFH8KS305065   Toyota       HIGHLANDER          ORLANDO                   FL
112189   5TDZZRFH8KS307785   Toyota       HIGHLANDER          SAINT LOUIS               MO
112190   5TDZZRFH8KS308001   Toyota       HIGHLANDER          PHILADELPHIA              PA
112191   5TDZZRFH8KS308726   Toyota       HIGHLANDER          Atlanta                   GA
112192   5TDZZRFH8KS308886   Toyota       HIGHLANDER          LOUISVILLE                KY
112193   5TDZZRFH8KS312517   Toyota       HIGHLANDER          DALLAS                    TX
112194   5TDZZRFH8KS312758   Toyota       HIGHLANDER          Atlanta                   GA
112195   5TDZZRFH8KS312940   Toyota       HIGHLANDER          WICHITA FALLS             TX
112196   5TDZZRFH8KS313036   Toyota       HIGHLANDER          Cincinnati                OH
112197   5TDZZRFH8KS313389   Toyota       HIGHLANDER          SAVANNAH                  GA
112198   5TDZZRFH8KS313442   Toyota       HIGHLANDER          SAN ANTONIO               TX
112199   5TDZZRFH8KS313456   Toyota       HIGHLANDER          SAN ANTONIO               TX
112200   5TDZZRFH8KS313554   Toyota       HIGHLANDER          LOS ANGELES               CA
112201   5TDZZRFH8KS313716   Toyota       HIGHLANDER          KENNER                    LA
112202   5TDZZRFH8KS314820   Toyota       HIGHLANDER          SAINT LOUIS               MO
112203   5TDZZRFH8KS314929   Toyota       HIGHLANDER          DFW AIRPORT               TX
112204   5TDZZRFH8KS315031   Toyota       HIGHLANDER          PHOENIX                   AZ
112205   5TDZZRFH8KS317247   Toyota       HIGHLANDER          FORT LAUDERDALE           FL
112206   5TDZZRFH8KS317846   Toyota       HIGHLANDER          NEW BERN                  NC
112207   5TDZZRFH8KS319533   Toyota       HIGHLANDER          CHARLOTTE                 NC
112208   5TDZZRFH8KS319869   Toyota       HIGHLANDER          HOUSTON                   TX
112209   5TDZZRFH8KS320097   Toyota       HIGHLANDER          ORLANDO                   FL
112210   5TDZZRFH8KS320181   Toyota       HIGHLANDER          KNOXVILLE                 TN
112211   5TDZZRFH8KS320214   Toyota       HIGHLANDER          MOBILE                    A
112212   5TDZZRFH8KS321007   Toyota       HIGHLANDER          DETROIT                   MI
112213   5TDZZRFH8KS325607   Toyota       HIGHLANDER          Detroit                   MI
112214   5TDZZRFH8KS337515   Toyota       HIGHLANDER          KNOXVILLE                 TN
112215   5TDZZRFH9KS291421   Toyota       HIGHLANDER          WOODLAND HILLS            CA
112216   5TDZZRFH9KS291497   Toyota       HIGHLANDER          Atlanta                   GA
112217   5TDZZRFH9KS293475   Toyota       HIGHLANDER          ALEXANDRIA                VA
112218   5TDZZRFH9KS293573   Toyota       HIGHLANDER          FORT MYERS                FL
112219   5TDZZRFH9KS293783   Toyota       HIGHLANDER          Revere                    MA
112220   5TDZZRFH9KS296909   Toyota       HIGHLANDER          ORLANDO                   FL
112221   5TDZZRFH9KS297672   Toyota       HIGHLANDER          KENNER                    LA
112222   5TDZZRFH9KS298269   Toyota       HIGHLANDER          SAN ANTONIO               TX
112223   5TDZZRFH9KS299695   Toyota       HIGHLANDER          LOS ANGELES               CA
112224   5TDZZRFH9KS302983   Toyota       HIGHLANDER          LOUISVILLE                KY
112225   5TDZZRFH9KS303227   Toyota       HIGHLANDER          WEST PALM BEACH           FL
112226   5TDZZRFH9KS303440   Toyota       HIGHLANDER          BIRMINGHAN                AL
112227   5TDZZRFH9KS303633   Toyota       HIGHLANDER          WEST COLUMBIA             SC
112228   5TDZZRFH9KS303910   Toyota       HIGHLANDER          DANIA                     FL
112229   5TDZZRFH9KS304006   Toyota       HIGHLANDER          MORRISVILLE               NC
112230   5TDZZRFH9KS304376   Toyota       HIGHLANDER          ORLANDO                   FL
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112231   5TDZZRFH9KS304393   Toyota       HIGHLANDER          SHREVEPORT                US
112232   5TDZZRFH9KS304667   Toyota       HIGHLANDER          PHILADELPHIA              PA
112233   5TDZZRFH9KS304801   Toyota       HIGHLANDER          SAINT LOUIS               MO
112234   5TDZZRFH9KS304815   Toyota       HIGHLANDER          PHILADELPHIA              PA
112235   5TDZZRFH9KS304863   Toyota       HIGHLANDER          HEBRON                    KY
112236   5TDZZRFH9KS308251   Toyota       HIGHLANDER          Dania Beach               FL
112237   5TDZZRFH9KS308458   Toyota       HIGHLANDER          ORLANDO                   FL
112238   5TDZZRFH9KS308623   Toyota       HIGHLANDER          ALEXANDRIA                VA
112239   5TDZZRFH9KS308802   Toyota       HIGHLANDER          EAST BOSTON               MA
112240   5TDZZRFH9KS309173   Toyota       HIGHLANDER          BURLINGAME                CA
112241   5TDZZRFH9KS309738   Toyota       HIGHLANDER          DFW AIRPORT               TX
112242   5TDZZRFH9KS312610   Toyota       HIGHLANDER          BURBANK                   CA
112243   5TDZZRFH9KS312817   Toyota       HIGHLANDER          LOS ANGELES               CA
112244   5TDZZRFH9KS313093   Toyota       HIGHLANDER          San Diego                 CA
112245   5TDZZRFH9KS313143   Toyota       HIGHLANDER          Detroit                   MI
112246   5TDZZRFH9KS313207   Toyota       HIGHLANDER          LOS ANGELES               CA
112247   5TDZZRFH9KS313370   Toyota       HIGHLANDER          LAKEWOOD                  WA
112248   5TDZZRFH9KS313661   Toyota       HIGHLANDER          DALLAS                    TX
112249   5TDZZRFH9KS313885   Toyota       HIGHLANDER          San Diego                 CA
112250   5TDZZRFH9KS313935   Toyota       HIGHLANDER          Dallas                    TX
112251   5TDZZRFH9KS314194   Toyota       HIGHLANDER          PHOENIX                   AZ
112252   5TDZZRFH9KS314745   Toyota       HIGHLANDER          Atlanta                   GA
112253   5TDZZRFH9KS315085   Toyota       HIGHLANDER          FORT MYERS                FL
112254   5TDZZRFH9KS318603   Toyota       HIGHLANDER          Hebron                    KY
112255   5TDZZRFH9KS318777   Toyota       HIGHLANDER          MIAMI                     FL
112256   5TDZZRFH9KS319881   Toyota       HIGHLANDER          CLEVELAND                 OH
112257   5TDZZRFH9KS320013   Toyota       HIGHLANDER          LITTLE ROCK               AR
112258   5TDZZRFH9KS320755   Toyota       HIGHLANDER          Atlanta                   GA
112259   5TDZZRFH9KS321047   Toyota       HIGHLANDER          ORLANDO                   FL
112260   5TDZZRFH9KS324272   Toyota       HIGHLANDER          SHREVEPORT                LA
112261   5TDZZRFH9KS325082   Toyota       HIGHLANDER          Alexandria                LA
112262   5TDZZRFH9KS326104   Toyota       HIGHLANDER          PENSACOLA                 FL
112263   5TDZZRFH9KS329438   Toyota       HIGHLANDER          HOUSTON                   TX
112264   5TDZZRFH9KS330802   Toyota       HIGHLANDER          HOUSTON                   TX
112265   5TDZZRFHXKS291542   Toyota       HIGHLANDER          LOS ANGELES               CA
112266   5TDZZRFHXKS291752   Toyota       HIGHLANDER          HOUSTON                   TX
112267   5TDZZRFHXKS292058   Toyota       HIGHLANDER          SAN ANTONIO               TX
112268   5TDZZRFHXKS292352   Toyota       HIGHLANDER          RONKONKOMA                NY
112269   5TDZZRFHXKS292450   Toyota       HIGHLANDER          DFW AIRPORT               TX
112270   5TDZZRFHXKS292674   Toyota       HIGHLANDER          CHARLESTON                SC
112271   5TDZZRFHXKS292884   Toyota       HIGHLANDER          ORLANDO                   FL
112272   5TDZZRFHXKS293114   Toyota       HIGHLANDER          Atlanta                   GA
112273   5TDZZRFHXKS293419   Toyota       HIGHLANDER          ORLANDO                   FL
112274   5TDZZRFHXKS293601   Toyota       HIGHLANDER          NAPLES                    FL
112275   5TDZZRFHXKS293694   Toyota       HIGHLANDER          WEST COLUMBIA             SC
112276   5TDZZRFHXKS298071   Toyota       HIGHLANDER          HOUSTON                   TX
112277   5TDZZRFHXKS298295   Toyota       HIGHLANDER          Miami                     FL
112278   5TDZZRFHXKS298314   Toyota       HIGHLANDER          West Palm Beach           FL
112279   5TDZZRFHXKS298510   Toyota       HIGHLANDER          INDIANAPOLIS              IN
112280   5TDZZRFHXKS298944   Toyota       HIGHLANDER          ORLANDO                   FL
112281   5TDZZRFHXKS303009   Toyota       HIGHLANDER          FORT MYERS                FL
112282   5TDZZRFHXKS303138   Toyota       HIGHLANDER          JACKSONVILLE              FL
112283   5TDZZRFHXKS304077   Toyota       HIGHLANDER          Atlanta                   GA
112284   5TDZZRFHXKS304113   Toyota       HIGHLANDER          WEST COLUMBIA             SC
112285   5TDZZRFHXKS304161   Toyota       HIGHLANDER          Miami                     FL
112286   5TDZZRFHXKS304192   Toyota       HIGHLANDER          LOS ANGELES               CA
112287   5TDZZRFHXKS304788   Toyota       HIGHLANDER          LOS ANGELES               CA
112288   5TDZZRFHXKS305004   Toyota       HIGHLANDER          BIRMINGHAN                AL
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112289   5TDZZRFHXKS307822   Toyota       HIGHLANDER          CHARLOTTE                 US
112290   5TDZZRFHXKS308162   Toyota       HIGHLANDER          NASHVILLE                 TN
112291   5TDZZRFHXKS308467   Toyota       HIGHLANDER          KENNER                    LA
112292   5TDZZRFHXKS308792   Toyota       HIGHLANDER          SAINT LOUIS               MO
112293   5TDZZRFHXKS308839   Toyota       HIGHLANDER          LOUISVILLE                KY
112294   5TDZZRFHXKS308873   Toyota       HIGHLANDER          Dallas                    TX
112295   5TDZZRFHXKS309151   Toyota       HIGHLANDER          San Diego                 CA
112296   5TDZZRFHXKS309778   Toyota       HIGHLANDER          WOODLAND HILLS            CA
112297   5TDZZRFHXKS312826   Toyota       HIGHLANDER          BURBANK                   CA
112298   5TDZZRFHXKS313412   Toyota       HIGHLANDER          SAN ANTONIO               TX
112299   5TDZZRFHXKS313720   Toyota       HIGHLANDER          WEST COLUMBIA             SC
112300   5TDZZRFHXKS314172   Toyota       HIGHLANDER          DFW AIRPORT               TX
112301   5TDZZRFHXKS314706   Toyota       HIGHLANDER          MONTCLAIR                 CA
112302   5TDZZRFHXKS314995   Toyota       HIGHLANDER          INDIANAPOLIS              IN
112303   5TDZZRFHXKS317606   Toyota       HIGHLANDER          ORLANDO                   FL
112304   5TDZZRFHXKS317895   Toyota       HIGHLANDER          SAN ANTONIO               TX
112305   5TDZZRFHXKS318416   Toyota       HIGHLANDER          CHARLOTTE                 US
112306   5TDZZRFHXKS319016   Toyota       HIGHLANDER          SARASOTA                  FL
112307   5TDZZRFHXKS319100   Toyota       HIGHLANDER          Atlanta                   GA
112308   5TDZZRFHXKS319579   Toyota       HIGHLANDER          GRAND RAPIDS              MI
112309   5TDZZRFHXKS320232   Toyota       HIGHLANDER          MEMPHIS                   TN
112310   5TDZZRFHXKS320926   Toyota       HIGHLANDER          Atlanta                   GA
112311   5TDZZRFHXKS326452   Toyota       HIGHLANDER          HOUSTON                   TX
112312   5TDZZRFHXKS330162   Toyota       HIGHLANDER          Alexandria                LA
112313   5TDZZRFHXKS332574   Toyota       HIGHLANDER          Atlanta                   GA
112314   5TDZZRFHXKS334664   Toyota       HIGHLANDER          DALLAS                    TX
112315   5TDZZRFHXKS338245   Toyota       HIGHLANDER          SAN ANTONIO               TX
112316   5TFAZ5CN1KX081096   Toyota       TACOMA              NORTH PAC                 CA
112317   5TFAZ5CN1KX081633   Toyota       TACOMA              Leesburg                  VA
112318   5TFAZ5CN3KX085358   Toyota       TACOMA              CHICAGO                   IL
112319   5TFAZ5CN3KX085635   Toyota       TACOMA              TAMPA                     FL
112320   5TFAZ5CN4KX079858   Toyota       TACOMA              Carleton                  MI
112321   5TFAZ5CN7KX081667   Toyota       TACOMA              Philadelphia              PA
112322   5TFAZ5CN8KX072315   Toyota       TACOMA              Fountain                  CO
112323   5TFAZ5CN8KX083962   Toyota       TACOMA              Milwaukee                 WI
112324   5TFCZ5AN1KX200065   Toyota       TACOMA              MIDLAND                   TX
112325   5TFCZ5AN2KX172406   Toyota       TACOMA              Coraopolis                PA
112326   5TFCZ5AN2KX200236   Toyota       TACOMA              KENNER                    LA
112327   5TFCZ5AN7KX194613   Toyota       TACOMA              AUSTIN                    TX
112328   5TFCZ5AN7KX195048   Toyota       TACOMA              PORTLAND                  ME
112329   5TFCZ5AN9KX200234   Toyota       TACOMA              DALLAS                    TX
112330   5TFCZ5ANXKX167809   Toyota       TACOMA              Louisville                KY
112331   5TFCZ5ANXKX194301   Toyota       TACOMA              WHITE PLAINS              NY
112332   5TFCZ5ANXKX195772   Toyota       TACOMA              EL PASO                   TX
112333   5TFUW5F10KX835152   Toyota       TUNDRA              LOS ANGELES               CA
112334   5TFUW5F12KX836559   Toyota       TUNDRA              MIDLAND                   TX
112335   5TFUW5F15KX828424   Toyota       TUNDRA              HOUSTON                   TX
112336   5TFUW5F17KX828912   Toyota       TUNDRA              ALBUQUERQUE               NM
112337   5TFUW5F19KX844979   Toyota       TUNDRA              MISSOULA                  MT
112338   5TFUW5F1XKX844537   Toyota       TUNDRA              Houston                   TX
112339   5TFUY5F10JX713481   Toyota       TUNDRA              Rio Linda                 CA
112340   5TFUY5F10KX852673   Toyota       TUNDRA              DENVER                    CO
112341   5TFUY5F12KX803796   Toyota       TUNDRA              BURBANK                   CA
112342   5TFUY5F12KX808609   Toyota       TUNDRA              SAN JOSE                  CA
112343   5TFUY5F12KX814748   Toyota       TUNDRA              TUCSON                    US
112344   5TFUY5F13KX808652   Toyota       TUNDRA              FRESNO                    CA
112345   5TFUY5F13KX853171   Toyota       TUNDRA              DENVER                    CO
112346   5TFUY5F13KX860413   Toyota       TUNDRA              Santa Clara               CA
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112347   5TFUY5F13KX861092   Toyota       TUNDRA              SAN JOSE                  CA
112348   5TFUY5F14KX860663   Toyota       TUNDRA              OAKLAND                   CA
112349   5TFUY5F15KX814470   Toyota       TUNDRA              DETROIT                   MI
112350   5TFUY5F16KX804627   Toyota       TUNDRA              HOUSTON                   TX
112351   5TFUY5F16KX813165   Toyota       TUNDRA              Cranberry Towns           PA
112352   5TFUY5F16KX852287   Toyota       TUNDRA              DENVER                    CO
112353   5TFUY5F17KX805043   Toyota       TUNDRA              OAKLAND                   CA
112354   5TFUY5F17KX805477   Toyota       TUNDRA              Des Moines                IA
112355   5TFUY5F17KX859636   Toyota       TUNDRA              Los Angeles               CA
112356   5TFUY5F1XKX808681   Toyota       TUNDRA              DENVER                    CO
112357   5TFUY5F1XKX853359   Toyota       TUNDRA              DENVER                    CO
112358   5UXCR6C00L9B91342   BMW          X5                  LAS VEGAS                 NV
112359   5UXCR6C00L9B91647   BMW          X5                  LAS VEGAS                 NV
112360   5UXCR6C00L9B94130   BMW          X5                  LOS ANGELES               CA
112361   5UXCR6C00L9B94175   BMW          X5                  SAN FRANCISCO             CA
112362   5UXCR6C00L9B94435   BMW          X5                  ONTARIO, RIVERSIDE        CA
112363   5UXCR6C00L9B94452   BMW          X5                  SAN FRANCISCO             CA
112364   5UXCR6C00L9B95004   BMW          X5                  PHOENIX                   AZ
112365   5UXCR6C00L9B95052   BMW          X5                  FORT LAUDERDALE           FL
112366   5UXCR6C00L9B99117   BMW          X5                  FT. LAUDERDALE            FL
112367   5UXCR6C00L9B99148   BMW          X5                  FT. LAUDERDALE            FL
112368   5UXCR6C00L9B99280   BMW          X5                  ORLANDO                   FL
112369   5UXCR6C00L9C02209   BMW          X5                  DETROIT                   MI
112370   5UXCR6C00L9C05904   BMW          X5                  DENVER                    CO
112371   5UXCR6C00L9C29927   BMW          X5                  SAN FRANCISCO             CA
112372   5UXCR6C00L9C29975   BMW          X5                  FORT MYERS                FL
112373   5UXCR6C00L9C30110   BMW          X5                  SAN FRANCISCO             CA
112374   5UXCR6C00L9C30124   BMW          X5                  SAN FRANCISCO             CA
112375   5UXCR6C00L9C31919   BMW          X5                  WEST PALM BEACH           FL
112376   5UXCR6C00L9C31936   BMW          X5                  SAN FRANCISCO             CA
112377   5UXCR6C00L9C31953   BMW          X5                  ORLANDO                   FL
112378   5UXCR6C00L9C31998   BMW          X5                  MIAMI                     FL
112379   5UXCR6C00L9C32004   BMW          X5                  MIAMI                     FL
112380   5UXCR6C00L9C32021   BMW          X5                  ORLANDO                   FL
112381   5UXCR6C00L9C33539   BMW          X5                  MIAMI                     FL
112382   5UXCR6C00L9C33573   BMW          X5                  Miami                     FL
112383   5UXCR6C00L9C34819   BMW          X5                  LAS VEGAS                 NV
112384   5UXCR6C00L9C34917   BMW          X5                  LAS VEGAS                 NV
112385   5UXCR6C00L9C34979   BMW          X5                  LOS ANGELES               CA
112386   5UXCR6C00L9C35016   BMW          X5                  SACRAMENTO                CA
112387   5UXCR6C00L9C35064   BMW          X5                  BURLINGAME                CA
112388   5UXCR6C00L9C35100   BMW          X5                  Miami                     FL
112389   5UXCR6C00L9C35114   BMW          X5                  ORLANDO                   FL
112390   5UXCR6C00L9C38241   BMW          X5                  FORT MYERS                FL
112391   5UXCR6C01L9B91639   BMW          X5                  PHOENIX                   AZ
112392   5UXCR6C01L9B91673   BMW          X5                  LOS ANGELES               CA
112393   5UXCR6C01L9B94444   BMW          X5                  LOS ANGELES               CA
112394   5UXCR6C01L9B95030   BMW          X5                  CORAL SPRINGS             FL
112395   5UXCR6C01L9B95044   BMW          X5                  TAMPA                     FL
112396   5UXCR6C01L9B95058   BMW          X5                  FORT LAUDERDALE           FL
112397   5UXCR6C01L9B99272   BMW          X5                  FORT LAUDERDALE           FL
112398   5UXCR6C01L9C02087   BMW          X5                  DENVER                    CO
112399   5UXCR6C01L9C31914   BMW          X5                  ORLANDO                   FL
112400   5UXCR6C01L9C31945   BMW          X5                  LOS ANGELES               CA
112401   5UXCR6C01L9C32027   BMW          X5                  CLEVELAND                 OH
112402   5UXCR6C01L9C32044   BMW          X5                  FORT MYERS                FL
112403   5UXCR6C01L9C33579   BMW          X5                  MIAMI                     FL
112404   5UXCR6C01L9C34876   BMW          X5                  LAS VEGAS                 NV
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112405   5UXCR6C01L9C34893   BMW          X5                  LAS VEGAS                 NV
112406   5UXCR6C01L9C34926   BMW          X5                  LAS VEGAS                 NV
112407   5UXCR6C01L9C34974   BMW          X5                  LOS ANGELES AP            CA
112408   5UXCR6C01L9C35106   BMW          X5                  Miami                     FL
112409   5UXCR6C01L9C35171   BMW          X5                  ORLANDO                   FL
112410   5UXCR6C01L9C38071   BMW          X5                  LOS ANGELES AP            CA
112411   5UXCR6C01L9C38085   BMW          X5                  LOS ANGELES AP            CA
112412   5UXCR6C01L9C38121   BMW          X5                  LOS ANGELES               CA
112413   5UXCR6C01L9C38247   BMW          X5                  FORT MYERS                FL
112414   5UXCR6C02L9B91360   BMW          X5                  LAS VEGAS                 NV
112415   5UXCR6C02L9B91374   BMW          X5                  PHOENIX                   AZ
112416   5UXCR6C02L9B91651   BMW          X5                  LAS VEGAS                 NV
112417   5UXCR6C02L9B91665   BMW          X5                  LAS VEGAS                 NV
112418   5UXCR6C02L9B93027   BMW          X5                  OAKLAND                   CA
112419   5UXCR6C02L9B94162   BMW          X5                  LOS ANGELES               CA
112420   5UXCR6C02L9B94467   BMW          X5                  LOS ANGELES               CA
112421   5UXCR6C02L9B95005   BMW          X5                  PHOENIX                   AZ
112422   5UXCR6C02L9B96168   BMW          X5                  PHOENIX                   AZ
112423   5UXCR6C02L9B98440   BMW          X5                  PHOENIX                   AZ
112424   5UXCR6C02L9B99300   BMW          X5                  FT. LAUDERDALE            FL
112425   5UXCR6C02L9C02146   BMW          X5                  DENVER                    CO
112426   5UXCR6C02L9C02244   BMW          X5                  GYPSUM                    CO
112427   5UXCR6C02L9C03247   BMW          X5                  DENVER                    CO
112428   5UXCR6C02L9C29878   BMW          X5                  LAS VEGAS                 NV
112429   5UXCR6C02L9C29900   BMW          X5                  LAS VEGAS                 NV
112430   5UXCR6C02L9C31937   BMW          X5                  Miami                     FL
112431   5UXCR6C02L9C33512   BMW          X5                  PHOENIX                   AZ
112432   5UXCR6C02L9C33557   BMW          X5                  FORT MYERS                FL
112433   5UXCR6C02L9C34868   BMW          X5                  LAS VEGAS                 NV
112434   5UXCR6C02L9C34949   BMW          X5                  LOS ANGELES AP            CA
112435   5UXCR6C02L9C35213   BMW          X5                  FORT MYERS                FL
112436   5UXCR6C02L9C38144   BMW          X5                  LOS ANGELES AP            CA
112437   5UXCR6C02L9C38161   BMW          X5                  SAN FRANCISCO             CA
112438   5UXCR6C02L9C38211   BMW          X5                  ORLANDO                   FL
112439   5UXCR6C03L9B91304   BMW          X5                  HOUSTON                   TX
112440   5UXCR6C03L9B91657   BMW          X5                  LAS VEGAS                 NV
112441   5UXCR6C03L9B91660   BMW          X5                  LAS VEGAS                 NV
112442   5UXCR6C03L9B94218   BMW          X5                  ORANGE COUNTY             CA
112443   5UXCR6C03L9B94297   BMW          X5                  LOS ANGELES               CA
112444   5UXCR6C03L9B94428   BMW          X5                  LOS ANGELES               CA
112445   5UXCR6C03L9B94459   BMW          X5                  BURBANK                   CA
112446   5UXCR6C03L9B94462   BMW          X5                  LOS ANGELES               CA
112447   5UXCR6C03L9B98074   BMW          X5                  TALLAHASSEE               F
112448   5UXCR6C03L9B98432   BMW          X5                  PHOENIX                   AZ
112449   5UXCR6C03L9B99273   BMW          X5                  FORT LAUDERDALE           FL
112450   5UXCR6C03L9B99287   BMW          X5                  WEST PALM BEACH           FL
112451   5UXCR6C03L9B99306   BMW          X5                  FORT LAUDERDALE           FL
112452   5UXCR6C03L9C02088   BMW          X5                  BIRMINGHAM                AL
112453   5UXCR6C03L9C02172   BMW          X5                  DENVER                    CO
112454   5UXCR6C03L9C02205   BMW          X5                  DENVER                    CO
112455   5UXCR6C03L9C02267   BMW          X5                  OAKLAND                   CA
112456   5UXCR6C03L9C05928   BMW          X5                  DENVER                    CO
112457   5UXCR6C03L9C29890   BMW          X5                  LAS VEGAS                 NV
112458   5UXCR6C03L9C30036   BMW          X5                  LOS ANGELES               CA
112459   5UXCR6C03L9C30053   BMW          X5                  LOS ANGELES AP            CA
112460   5UXCR6C03L9C30084   BMW          X5                  SAN FRANCISCO             CA
112461   5UXCR6C03L9C30098   BMW          X5                  SAN FRANCISCO             CA
112462   5UXCR6C03L9C31932   BMW          X5                  Miami                     FL
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112463   5UXCR6C03L9C31977   BMW          X5                  PHOENIX                   AZ
112464   5UXCR6C03L9C31980   BMW          X5                  FORT MYERS                FL
112465   5UXCR6C03L9C33468   BMW          X5                  LAS VEGAS                 NV
112466   5UXCR6C03L9C33552   BMW          X5                  SAN FRANCISCO             CA
112467   5UXCR6C03L9C33583   BMW          X5                  FORT MYERS                FL
112468   5UXCR6C03L9C33597   BMW          X5                  MIAMI                     FL
112469   5UXCR6C03L9C33602   BMW          X5                  ORLANDO                   FL
112470   5UXCR6C03L9C34992   BMW          X5                  LOS ANGELES AP            CA
112471   5UXCR6C03L9C35169   BMW          X5                  ORLANDO                   FL
112472   5UXCR6C03L9C35219   BMW          X5                  FORT MYERS                FL
112473   5UXCR6C03L9C38167   BMW          X5                  SAN FRANCISCO             CA
112474   5UXCR6C04L9B91327   BMW          X5                  PHOENIX                   AZ
112475   5UXCR6C04L9B93028   BMW          X5                  FORT LAUDERDALE           FL
112476   5UXCR6C04L9B94082   BMW          X5                  RENO                      NV
112477   5UXCR6C04L9B94230   BMW          X5                  ORANGE COUNTY             CA
112478   5UXCR6C04L9B94311   BMW          X5                  SACRAMENTO                CA
112479   5UXCR6C04L9B94325   BMW          X5                  SAN FRANCISCO             CA
112480   5UXCR6C04L9B94373   BMW          X5                  SACRAMENTO                CA
112481   5UXCR6C04L9B94454   BMW          X5                  BURLINGAME                CA
112482   5UXCR6C04L9B94955   BMW          X5                  MIAMI                     FL
112483   5UXCR6C04L9B99105   BMW          X5                  FORT LAUDERDALE           FL
112484   5UXCR6C04L9C02116   BMW          X5                  DENVER                    CO
112485   5UXCR6C04L9C02178   BMW          X5                  DENVER                    CO
112486   5UXCR6C04L9C02245   BMW          X5                  DENVER                    CO
112487   5UXCR6C04L9C03251   BMW          X5                  DENVER                    CO
112488   5UXCR6C04L9C30093   BMW          X5                  SAN FRANCISCO             CA
112489   5UXCR6C04L9C31907   BMW          X5                  MIAMI                     FL
112490   5UXCR6C04L9C31941   BMW          X5                  LOS ANGELES               CA
112491   5UXCR6C04L9C31986   BMW          X5                  Miami                     FL
112492   5UXCR6C04L9C33477   BMW          X5                  LAS VEGAS                 NV
112493   5UXCR6C04L9C33592   BMW          X5                  Miami                     FL
112494   5UXCR6C04L9C34841   BMW          X5                  LAS VEGAS                 NV
112495   5UXCR6C04L9C35052   BMW          X5                  SACRAMENTO                CA
112496   5UXCR6C04L9C35181   BMW          X5                  ORLANDO                   FL
112497   5UXCR6C04L9C38131   BMW          X5                  LOS ANGELES AP            CA
112498   5UXCR6C04L9C38226   BMW          X5                  MIAMI                     FL
112499   5UXCR6C05L9B91319   BMW          X5                  SANTA ANA                 CA
112500   5UXCR6C05L9B93040   BMW          X5                  EL PASO                   TX
112501   5UXCR6C05L9B94169   BMW          X5                  LOS ANGELES               CA
112502   5UXCR6C05L9B94186   BMW          X5                  LOS ANGELES AP            CA
112503   5UXCR6C05L9B94205   BMW          X5                  SANTA ANA                 CA
112504   5UXCR6C05L9B94303   BMW          X5                  LOS ANGELES               CA
112505   5UXCR6C05L9B94379   BMW          X5                  SAN FRANCISCO             CA
112506   5UXCR6C05L9B94396   BMW          X5                  SAN FRANCISCO             CA
112507   5UXCR6C05L9B94401   BMW          X5                  SAN FRANCISCO             CA
112508   5UXCR6C05L9B94432   BMW          X5                  SAN FRANCISCO             CA
112509   5UXCR6C05L9B94480   BMW          X5                  SAN FRANCISCO             CA
112510   5UXCR6C05L9B98450   BMW          X5                  FORT LAUDERDALE           FL
112511   5UXCR6C05L9B99291   BMW          X5                  DANIA BEACH               FL
112512   5UXCR6C05L9C02142   BMW          X5                  DENVER                    CO
112513   5UXCR6C05L9C02254   BMW          X5                  DENVER                    CO
112514   5UXCR6C05L9C03260   BMW          X5                  DENVER                    CO
112515   5UXCR6C05L9C29938   BMW          X5                  SAN FRANCISCO             CA
112516   5UXCR6C05L9C29955   BMW          X5                  PORTLAND                  OR
112517   5UXCR6C05L9C29972   BMW          X5                  ORLANDO                   FL
112518   5UXCR6C05L9C30068   BMW          X5                  LOS ANGELES               CA
112519   5UXCR6C05L9C31897   BMW          X5                  MIAMI                     FL
112520   5UXCR6C05L9C31947   BMW          X5                  WEST PALM BEACH           FL
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112521   5UXCR6C05L9C32001   BMW          X5                  ORLANDO                   FL
112522   5UXCR6C05L9C34881   BMW          X5                  LAS VEGAS                 NV
112523   5UXCR6C05L9C34962   BMW          X5                  LOS ANGELES AP            CA
112524   5UXCR6C05L9C35206   BMW          X5                  FORT MYERS                FL
112525   5UXCR6C05L9C38137   BMW          X5                  LOS ANGELES AP            CA
112526   5UXCR6C05L9C38154   BMW          X5                  LOS ANGELES AP            CA
112527   5UXCR6C05L9C38235   BMW          X5                  STERLING                  VA
112528   5UXCR6C05L9C56167   BMW          X5                  NEWARK                    NJ
112529   5UXCR6C06L9B91653   BMW          X5                  LAS VEGAS                 NV
112530   5UXCR6C06L9B91670   BMW          X5                  LAS VEGAS                 NV
112531   5UXCR6C06L9B93032   BMW          X5                  PHOENIX                   AZ
112532   5UXCR6C06L9B94097   BMW          X5                  LAS VEGAS                 NV
112533   5UXCR6C06L9B94147   BMW          X5                  LOS ANGELES               CA
112534   5UXCR6C06L9B94438   BMW          X5                  LOS ANGELES               CA
112535   5UXCR6C06L9B94469   BMW          X5                  SOUTH SAN FRANC           CA
112536   5UXCR6C06L9B94973   BMW          X5                  FT. LAUDERDALE            FL
112537   5UXCR6C06L9B95024   BMW          X5                  LOS ANGELES               CA
112538   5UXCR6C06L9B96139   BMW          X5                  SAN FRANCISCO             CA
112539   5UXCR6C06L9B98067   BMW          X5                  PHOENIX                   AZ
112540   5UXCR6C06L9B99266   BMW          X5                  WEST PALM BEACH           FL
112541   5UXCR6C06L9C02201   BMW          X5                  DENVER                    CO
112542   5UXCR6C06L9C02232   BMW          X5                  DENVER                    CO
112543   5UXCR6C06L9C05941   BMW          X5                  DENVER                    CO
112544   5UXCR6C06L9C29916   BMW          X5                  LOS ANGELES               CA
112545   5UXCR6C06L9C30063   BMW          X5                  Los Angeles               CA
112546   5UXCR6C06L9C31942   BMW          X5                  MIAMI                     FL
112547   5UXCR6C06L9C32007   BMW          X5                  MIAMI                     FL
112548   5UXCR6C06L9C32024   BMW          X5                  BALTIMORE                 MD
112549   5UXCR6C06L9C32041   BMW          X5                  FORT MYERS                FL
112550   5UXCR6C06L9C33495   BMW          X5                  LOS ANGELES               CA
112551   5UXCR6C06L9C33545   BMW          X5                  FORT MYERS                FL
112552   5UXCR6C06L9C33576   BMW          X5                  FORT MYERS                FL
112553   5UXCR6C06L9C34887   BMW          X5                  LAS VEGAS                 NV
112554   5UXCR6C06L9C34906   BMW          X5                  LAS VEGAS                 NV
112555   5UXCR6C06L9C34999   BMW          X5                  OAKLAND                   CA
112556   5UXCR6C06L9C35022   BMW          X5                  SAN FRANCISCO             CA
112557   5UXCR6C06L9C35179   BMW          X5                  ORLANDO                   FL
112558   5UXCR6C06L9C38115   BMW          X5                  LOS ANGELES               CA
112559   5UXCR6C07L9B91659   BMW          X5                  LAS VEGAS                 NV
112560   5UXCR6C07L9B93038   BMW          X5                  BURBANK                   CA
112561   5UXCR6C07L9B94416   BMW          X5                  SAN FRANCISCO             CA
112562   5UXCR6C07L9B94447   BMW          X5                  Los Angeles               CA
112563   5UXCR6C07L9B94450   BMW          X5                  SACRAMENTO                CA
112564   5UXCR6C07L9B94464   BMW          X5                  SAN FRANCISCO             CA
112565   5UXCR6C07L9B95016   BMW          X5                  PHOENIX                   AZ
112566   5UXCR6C07L9B95033   BMW          X5                  FORT LAUDERDALE           FL
112567   5UXCR6C07L9B96134   BMW          X5                  OAKLAND                   CA
112568   5UXCR6C07L9B96165   BMW          X5                  PHOENIX                   AZ
112569   5UXCR6C07L9B96196   BMW          X5                  WARWICK                   RI
112570   5UXCR6C07L9B98031   BMW          X5                  OAKLAND                   CA
112571   5UXCR6C07L9B98448   BMW          X5                  PHOENIX                   AZ
112572   5UXCR6C07L9B99308   BMW          X5                  ATLANTA                   GA
112573   5UXCR6C07L9B99325   BMW          X5                  WEST PALM BEACH           FL
112574   5UXCR6C07L9C02093   BMW          X5                  DENVER                    CO
112575   5UXCR6C07L9C05947   BMW          X5                  DENVER                    CO
112576   5UXCR6C07L9C29911   BMW          X5                  LOS ANGELES AP            CA
112577   5UXCR6C07L9C30072   BMW          X5                  LAS VEGAS                 NV
112578   5UXCR6C07L9C31951   BMW          X5                  SAN FRANCISCO             CA
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112579   5UXCR6C07L9C32050   BMW          X5                  FORT MYERS                FL
112580   5UXCR6C07L9C33554   BMW          X5                  PHOENIX                   AZ
112581   5UXCR6C07L9C34901   BMW          X5                  LAS VEGAS                 NV
112582   5UXCR6C07L9C35191   BMW          X5                  WEST PALM BEACH           FL
112583   5UXCR6C07L9C35207   BMW          X5                  FORT MYERS                FL
112584   5UXCR6C08L9B91671   BMW          X5                  LAS VEGAS                 NV
112585   5UXCR6C08L9B93033   BMW          X5                  LAS VEGAS                 NV
112586   5UXCR6C08L9B94117   BMW          X5                  LAS VEGAS                 NV
112587   5UXCR6C08L9B94246   BMW          X5                  LOS ANGELES               CA
112588   5UXCR6C08L9B94344   BMW          X5                  FRESNO                    CA
112589   5UXCR6C08L9B94361   BMW          X5                  SAN FRANCISCO             CA
112590   5UXCR6C08L9B94389   BMW          X5                  SAN FRANCISCO             CA
112591   5UXCR6C08L9B94439   BMW          X5                  LOS ANGELES               CA
112592   5UXCR6C08L9B94442   BMW          X5                  LOS ANGELES               CA
112593   5UXCR6C08L9B95039   BMW          X5                  Ft. Myers                 FL
112594   5UXCR6C08L9B95204   BMW          X5                  SAN FRANCISCO             CA
112595   5UXCR6C08L9B96157   BMW          X5                  SAN JOSE                  CA
112596   5UXCR6C08L9B96207   BMW          X5                  FT. LAUDERDALE            FL
112597   5UXCR6C08L9B98426   BMW          X5                  LAS VEGAS                 NV
112598   5UXCR6C08L9B98443   BMW          X5                  PHOENIX                   AZ
112599   5UXCR6C08L9B99317   BMW          X5                  FORT LAUDERDALE           FL
112600   5UXCR6C08L9C02149   BMW          X5                  DENVER                    CO
112601   5UXCR6C08L9C02183   BMW          X5                  DENVER                    CO
112602   5UXCR6C08L9C02328   BMW          X5                  DENVER                    CO
112603   5UXCR6C08L9C03270   BMW          X5                  DENVER                    CO
112604   5UXCR6C08L9C05911   BMW          X5                  CHICAGO                   IL
112605   5UXCR6C08L9C29884   BMW          X5                  LAS VEGAS                 NV
112606   5UXCR6C08L9C30047   BMW          X5                  LOS ANGELES               CA
112607   5UXCR6C08L9C30078   BMW          X5                  LOS ANGELES AP            CA
112608   5UXCR6C08L9C31926   BMW          X5                  FORT LAUDERDALE           FL
112609   5UXCR6C08L9C31960   BMW          X5                  ORLANDO                   FL
112610   5UXCR6C08L9C31974   BMW          X5                  FORT MYERS                FL
112611   5UXCR6C08L9C31988   BMW          X5                  FORT MYERS                FL
112612   5UXCR6C08L9C31991   BMW          X5                  FORT LAUDERDALE           FL
112613   5UXCR6C08L9C32011   BMW          X5                  ORLANDO                   FL
112614   5UXCR6C08L9C32039   BMW          X5                  FORT MYERS                FL
112615   5UXCR6C08L9C33482   BMW          X5                  LAS VEGAS                 NV
112616   5UXCR6C08L9C33580   BMW          X5                  Miami                     FL
112617   5UXCR6C08L9C33613   BMW          X5                  Miami                     FL
112618   5UXCR6C08L9C34860   BMW          X5                  LAS VEGAS                 NV
112619   5UXCR6C08L9C34941   BMW          X5                  LAS VEGAS                 NV
112620   5UXCR6C08L9C35006   BMW          X5                  SAN FRANCISCO             CA
112621   5UXCR6C08L9C35166   BMW          X5                  MIAMI                     FL
112622   5UXCR6C08L9C35197   BMW          X5                  FORT MYERS                FL
112623   5UXCR6C08L9C38102   BMW          X5                  LOS ANGELES               CA
112624   5UXCR6C09L9B91291   BMW          X5                  LOS ANGELES               CA
112625   5UXCR6C09L9B91310   BMW          X5                  HOUSTON                   TX
112626   5UXCR6C09L9B91632   BMW          X5                  LAS VEGAS                 NV
112627   5UXCR6C09L9B91646   BMW          X5                  SANTA ANA                 CA
112628   5UXCR6C09L9B93025   BMW          X5                  LAS VEGAS                 NV
112629   5UXCR6C09L9B94224   BMW          X5                  LOS ANGELES               CA
112630   5UXCR6C09L9B94336   BMW          X5                  LOS ANGELES               CA
112631   5UXCR6C09L9B94949   BMW          X5                  FORT LAUDERDALE           FL
112632   5UXCR6C09L9B95020   BMW          X5                  PHOENIX                   AZ
112633   5UXCR6C09L9B95051   BMW          X5                  FORT LAUDERDALE           FL
112634   5UXCR6C09L9B96202   BMW          X5                  FORT LAUDERDALE           FL
112635   5UXCR6C09L9B98418   BMW          X5                  LAS VEGAS                 NV
112636   5UXCR6C09L9B99293   BMW          X5                  FORT LAUDERDALE           FL
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112637   5UXCR6C09L9C02127   BMW          X5                  DENVER                    CO
112638   5UXCR6C09L9C02239   BMW          X5                  DENVER                    CO
112639   5UXCR6C09L9C02273   BMW          X5                  DENVER                    CO
112640   5UXCR6C09L9C03259   BMW          X5                  COLORADO SPRING           CO
112641   5UXCR6C09L9C05898   BMW          X5                  DENVER                    CO
112642   5UXCR6C09L9C05920   BMW          X5                  DENVER                    CO
112643   5UXCR6C09L9C29943   BMW          X5                  SAN FRANCISCO             CA
112644   5UXCR6C09L9C29960   BMW          X5                  ORLANDO                   FL
112645   5UXCR6C09L9C30042   BMW          X5                  LOS ANGELES AP            CA
112646   5UXCR6C09L9C30106   BMW          X5                  SAN FRANCISCO             CA
112647   5UXCR6C09L9C31885   BMW          X5                  PHOENIX                   AZ
112648   5UXCR6C09L9C31966   BMW          X5                  FORT LAUDERDALE           FL
112649   5UXCR6C09L9C32017   BMW          X5                  TAMPA                     FL
112650   5UXCR6C09L9C33488   BMW          X5                  LOS ANGELES AP            CA
112651   5UXCR6C09L9C33586   BMW          X5                  HOUSTON                   TX
112652   5UXCR6C09L9C35032   BMW          X5                  SAN FRANCISCO             CA
112653   5UXCR6C09L9C35077   BMW          X5                  BURBANK                   CA
112654   5UXCR6C09L9C35094   BMW          X5                  ORLANDO                   FL
112655   5UXCR6C09L9C35175   BMW          X5                  MIAMI                     FL
112656   5UXCR6C09L9C35211   BMW          X5                  FORT MYERS                FL
112657   5UXCR6C09L9C35225   BMW          X5                  FORT MYERS                FL
112658   5UXCR6C09L9C38254   BMW          X5                  FORT MYERS                FL
112659   5UXCR6C0XL9B91350   BMW          X5                  SALT LAKE CITY            UT
112660   5UXCR6C0XL9B91641   BMW          X5                  LOS ANGELES               CA
112661   5UXCR6C0XL9B93020   BMW          X5                  HOUSTON                   TX
112662   5UXCR6C0XL9B94104   BMW          X5                  BOSTON                    MA
112663   5UXCR6C0XL9B94121   BMW          X5                  LOS ANGELES               CA
112664   5UXCR6C0XL9B94278   BMW          X5                  LOS ANGELES               CA
112665   5UXCR6C0XL9B94426   BMW          X5                  BURBANK                   CA
112666   5UXCR6C0XL9B94474   BMW          X5                  SAN FRANCISCO             CA
112667   5UXCR6C0XL9B94961   BMW          X5                  FORT LAUDERDALE           FL
112668   5UXCR6C0XL9B95026   BMW          X5                  JACKSONVILLE              FL
112669   5UXCR6C0XL9B95060   BMW          X5                  ATLANTA                   GA
112670   5UXCR6C0XL9B95205   BMW          X5                  DANIA BEACH               FL
112671   5UXCR6C0XL9B96127   BMW          X5                  SACRAMENTO                CA
112672   5UXCR6C0XL9B96189   BMW          X5                  FORT MYERS                FL
112673   5UXCR6C0XL9B96211   BMW          X5                  Teterboro                 NJ
112674   5UXCR6C0XL9B98024   BMW          X5                  NEWARK                    NJ
112675   5UXCR6C0XL9B98055   BMW          X5                  SACRAMENTO                CA
112676   5UXCR6C0XL9B99268   BMW          X5                  FORT LAUDERDALE           FL
112677   5UXCR6C0XL9B99285   BMW          X5                  FORT LAUDERDALE           FL
112678   5UXCR6C0XL9B99299   BMW          X5                  MIAMI                     FL
112679   5UXCR6C0XL9B99321   BMW          X5                  WEST PALM BEACH           FL
112680   5UXCR6C0XL9C02122   BMW          X5                  SALT LAKE CITY            UT
112681   5UXCR6C0XL9C02301   BMW          X5                  DENVER                    CO
112682   5UXCR6C0XL9C29921   BMW          X5                  OAKLAND                   CA
112683   5UXCR6C0XL9C30051   BMW          X5                  LOS ANGELES               CA
112684   5UXCR6C0XL9C30079   BMW          X5                  DES PLAINES               US
112685   5UXCR6C0XL9C30101   BMW          X5                  SACRAMENTO                CA
112686   5UXCR6C0XL9C31880   BMW          X5                  PHOENIX                   AZ
112687   5UXCR6C0XL9C31930   BMW          X5                  LOS ANGELES AP            CA
112688   5UXCR6C0XL9C31992   BMW          X5                  MIAMI                     FL
112689   5UXCR6C0XL9C32026   BMW          X5                  TAMPA                     FL
112690   5UXCR6C0XL9C33502   BMW          X5                  LOS ANGELES               CA
112691   5UXCR6C0XL9C33533   BMW          X5                  ORLANDO                   FL
112692   5UXCR6C0XL9C33550   BMW          X5                  SYRACUSE                  NY
112693   5UXCR6C0XL9C33564   BMW          X5                  FORT MYERS                FL
112694   5UXCR6C0XL9C34987   BMW          X5                  LOS ANGELES AP            CA
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112695   5UXCR6C0XL9C35038   BMW          X5                  SAN FRANCISCO             CA
112696   5UXCR6C0XL9C35119   BMW          X5                  KEY WEST                  FL
112697   5UXCR6C0XL9C35136   BMW          X5                  ORLANDO                   FL
112698   5UXCR6C0XL9C35198   BMW          X5                  FORT MYERS                FL
112699   5UXCR6C0XL9C35217   BMW          X5                  FORT MYERS                FL
112700   5UXCW2C01L9C24754   BMW          X7                  MIAMI                     FL
112701   5UXCW2C01L9C24785   BMW          X7                  MIAMI                     FL
112702   5UXCW2C02L9C24763   BMW          X7                  WEST PALM BEACH           FL
112703   5UXCW2C03L9C24660   BMW          X7                  MIAMI                     FL
112704   5UXCW2C03L9C24707   BMW          X7                  MIAMI                     FL
112705   5UXCW2C03L9C24738   BMW          X7                  WHITE PLAINS              NY
112706   5UXCW2C03L9C24741   BMW          X7                  MIAMI                     FL
112707   5UXCW2C04L9C24781   BMW          X7                  WEST PALM BEACH           FL
112708   5UXCW2C05L9C24689   BMW          X7                  ORLANDO                   FL
112709   5UXCW2C09L9C24677   BMW          X7                  ATLANTA                   GA
112710   5UXTR7C50KLE96066   BMW          X3                  LOS ANGELES               CA
112711   5UXTR7C50KLE98514   BMW          X3                  SAN DIEGO                 CA
112712   5UXTR7C50KLF24111   BMW          X3                  SAN DIEGO                 CA
112713   5UXTR7C50KLF34220   BMW          X3                  MYRTLE BEACH              SC
112714   5UXTR7C50KLF34248   BMW          X3                  TAMPA                     FL
112715   5UXTR7C50KLF34251   BMW          X3                  BOSTON                    MA
112716   5UXTR7C50KLF34265   BMW          X3                  FORT MYERS                FL
112717   5UXTR7C50KLF34332   BMW          X3                  NEW BERN                  NC
112718   5UXTR7C50KLF34346   BMW          X3                  PALM SPRINGS              CA
112719   5UXTR7C50KLF34363   BMW          X3                  ORLANDO                   FL
112720   5UXTR7C50KLF34380   BMW          X3                  CHARLOTTE                 NC
112721   5UXTR7C50KLF34394   BMW          X3                  FAYETTEVILLE              GA
112722   5UXTR7C50KLF34458   BMW          X3                  PHILADELPHIA              PA
112723   5UXTR7C50KLF34489   BMW          X3                  SAN FRANCISCO             CA
112724   5UXTR7C50KLF34492   BMW          X3                  Los Angeles               CA
112725   5UXTR7C50KLF34508   BMW          X3                  NEWPORT BEACH             CA
112726   5UXTR7C50KLF34525   BMW          X3                  SANTA ANA                 CA
112727   5UXTR7C50KLR38759   BMW          X3                  LAS VEGAS                 NV
112728   5UXTR7C50KLR38793   BMW          X3                  PALM S                    CA
112729   5UXTR7C50KLR39460   BMW          X3                  CHICAGO                   IL
112730   5UXTR7C50KLR39488   BMW          X3                  LOS ANGELES               CA
112731   5UXTR7C50KLR39541   BMW          X3                  San Francisco             CA
112732   5UXTR7C50KLR39555   BMW          X3                  LOS ANGELES               CA
112733   5UXTR7C50KLR39622   BMW          X3                  Atlanta                   GA
112734   5UXTR7C50KLR39653   BMW          X3                  Phoenix                   AZ
112735   5UXTR7C50KLR39703   BMW          X3                  SALT LAKE CITY            UT
112736   5UXTR7C50KLR39734   BMW          X3                  LAS VEGAS                 NV
112737   5UXTR7C50KLR39765   BMW          X3                  LAS VEGAS                 NV
112738   5UXTR7C50KLR39863   BMW          X3                  SAN FRANCISCO             CA
112739   5UXTR7C50KLR39877   BMW          X3                  SAN DIEGO                 CA
112740   5UXTR7C50KLR39880   BMW          X3                  SOUTH SAN FRANC           CA
112741   5UXTR7C50KLR39927   BMW          X3                  LOS ANGELES               CA
112742   5UXTR7C50KLR39930   BMW          X3                  Riverside                 CA
112743   5UXTR7C50KLR39944   BMW          X3                  PHOENIX                   AZ
112744   5UXTR7C50KLR39958   BMW          X3                  PHOENIX                   AZ
112745   5UXTR7C50KLR39961   BMW          X3                  TUCSON                    AZ
112746   5UXTR7C50KLR39975   BMW          X3                  LA HABRA                  CA
112747   5UXTR7C50KLR43623   BMW          X3                  LOS ANGELES               CA
112748   5UXTR7C50KLR43654   BMW          X3                  SAN DIEGO                 CA
112749   5UXTR7C50KLR43668   BMW          X3                  SACRAMENTO                CA
112750   5UXTR7C50KLR43699   BMW          X3                  PHOENIX                   AZ
112751   5UXTR7C50KLR43718   BMW          X3                  BOSTON                    MA
112752   5UXTR7C50KLR43721   BMW          X3                  JAMAICA                   NY
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112753   5UXTR7C50KLR43735   BMW          X3                  NEWARK                    NJ
112754   5UXTR7C50KLR43752   BMW          X3                  BALTIMORE                 MD
112755   5UXTR7C50KLR43766   BMW          X3                  MILWAUKEE                 WI
112756   5UXTR7C50KLR43783   BMW          X3                  ORLANDO                   FL
112757   5UXTR7C50KLR43802   BMW          X3                  STERLING                  VA
112758   5UXTR7C50KLR43816   BMW          X3                  Lynn                      MA
112759   5UXTR7C50KLR43833   BMW          X3                  PHILADELPHIA              PA
112760   5UXTR7C50KLR43864   BMW          X3                  ORLANDO                   FL
112761   5UXTR7C50KLR43878   BMW          X3                  NEW YORK CITY             NY
112762   5UXTR7C50KLR43895   BMW          X3                  ORLANDO                   FL
112763   5UXTR7C50KLR43900   BMW          X3                  ORLANDO                   FL
112764   5UXTR7C50KLR43945   BMW          X3                  Tampa                     FL
112765   5UXTR7C50KLR43993   BMW          X3                  MIAMI                     FL
112766   5UXTR7C50KLR44027   BMW          X3                  Atlanta                   GA
112767   5UXTR7C50KLR44044   BMW          X3                  ORLANDO                   FL
112768   5UXTR7C50KLR44058   BMW          X3                  FORT LAUDERDALE           FL
112769   5UXTR7C50KLR44061   BMW          X3                  SAN JOSE                  CA
112770   5UXTR7C50KLR44075   BMW          X3                  NEWARK                    NJ
112771   5UXTR7C50KLR44089   BMW          X3                  WEST PALM BEACH           FL
112772   5UXTR7C50KLR44108   BMW          X3                  FORT MYERS                FL
112773   5UXTR7C50KLR44335   BMW          X3                  WEST PALM BEACH           FL
112774   5UXTR7C50KLR44349   BMW          X3                  NEW YORK CITY             NY
112775   5UXTR7C50KLR44366   BMW          X3                  Tampa                     FL
112776   5UXTR7C50KLR44478   BMW          X3                  MIAMI                     FL
112777   5UXTR7C50KLR44495   BMW          X3                  SAN FRANCISCO             CA
112778   5UXTR7C50KLR44514   BMW          X3                  TAMPA                     US
112779   5UXTR7C50KLR44545   BMW          X3                  WEST PALM BEACH           FL
112780   5UXTR7C50KLR44562   BMW          X3                  FORT MYERS                FL
112781   5UXTR7C50KLR44576   BMW          X3                  FORT LAUDERDALE           FL
112782   5UXTR7C51KLE96092   BMW          X3                  SAN DIEGO                 US
112783   5UXTR7C51KLF34243   BMW          X3                  HARTFORD                  CT
112784   5UXTR7C51KLF34257   BMW          X3                  INDIANAPOLIS              IN
112785   5UXTR7C51KLF34274   BMW          X3                  FORT MYERS                FL
112786   5UXTR7C51KLF34355   BMW          X3                  LAS VEGAS                 NV
112787   5UXTR7C51KLF34369   BMW          X3                  ORLANDO                   FL
112788   5UXTR7C51KLF34386   BMW          X3                  Leesburg                  VA
112789   5UXTR7C51KLF34405   BMW          X3                  STERLING                  VA
112790   5UXTR7C51KLF34467   BMW          X3                  TAMPA                     FL
112791   5UXTR7C51KLF34498   BMW          X3                  SAN FRANCISCO             CA
112792   5UXTR7C51KLF34520   BMW          X3                  SEATAC                    WA
112793   5UXTR7C51KLR39466   BMW          X3                  LAS VEGAS                 NV
112794   5UXTR7C51KLR39483   BMW          X3                  BURLINGAME                CA
112795   5UXTR7C51KLR39497   BMW          X3                  North Las Vegas           NV
112796   5UXTR7C51KLR39516   BMW          X3                  Denver                    CO
112797   5UXTR7C51KLR39533   BMW          X3                  LOS ANGELES               CA
112798   5UXTR7C51KLR39550   BMW          X3                  LOS ANGELES               CA
112799   5UXTR7C51KLR39631   BMW          X3                  Atlanta                   GA
112800   5UXTR7C51KLR39774   BMW          X3                  SPRINGFIELD               NJ
112801   5UXTR7C51KLR39791   BMW          X3                  SAN FRANCISCO             CA
112802   5UXTR7C51KLR39824   BMW          X3                  SAN FRANCISCO             CA
112803   5UXTR7C51KLR39869   BMW          X3                  LOS ANGELES               CA
112804   5UXTR7C51KLR39872   BMW          X3                  SACRAMENTO                CA
112805   5UXTR7C51KLR39919   BMW          X3                  SACRAMENTO                CA
112806   5UXTR7C51KLR39922   BMW          X3                  ALBUQUERQUE               NM
112807   5UXTR7C51KLR39967   BMW          X3                  PHOENIX                   AZ
112808   5UXTR7C51KLR39970   BMW          X3                  LAS VEGAS                 NV
112809   5UXTR7C51KLR39984   BMW          X3                  PHOENIX                   AZ
112810   5UXTR7C51KLR43615   BMW          X3                  SACRAMENTO                CA
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112811   5UXTR7C51KLR43629   BMW          X3                  SAN DIEGO                 CA
112812   5UXTR7C51KLR43646   BMW          X3                  DENVER                    CO
112813   5UXTR7C51KLR43663   BMW          X3                  OAKLAND                   CA
112814   5UXTR7C51KLR43694   BMW          X3                  LAS VEGAS                 NV
112815   5UXTR7C51KLR43713   BMW          X3                  BLOOMFIELD                NJ
112816   5UXTR7C51KLR43727   BMW          X3                  Teterboro                 NJ
112817   5UXTR7C51KLR43730   BMW          X3                  NEWARK                    NJ
112818   5UXTR7C51KLR43744   BMW          X3                  SAVANNAH                  GA
112819   5UXTR7C51KLR43761   BMW          X3                  MONTGOMERY                AL
112820   5UXTR7C51KLR43789   BMW          X3                  DAYTONA BEACH             FL
112821   5UXTR7C51KLR43792   BMW          X3                  Tampa                     FL
112822   5UXTR7C51KLR43808   BMW          X3                  HANOVER                   MD
112823   5UXTR7C51KLR43811   BMW          X3                  SAN FRANCISCO             CA
112824   5UXTR7C51KLR43839   BMW          X3                  BOSTON, LOGAN AP          MA
112825   5UXTR7C51KLR43842   BMW          X3                  HANOVER                   MD
112826   5UXTR7C51KLR43873   BMW          X3                  DETROIT                   MI
112827   5UXTR7C51KLR43940   BMW          X3                  FORT LAUDERDALE           FL
112828   5UXTR7C51KLR43968   BMW          X3                  SALT LAKE CITY            UT
112829   5UXTR7C51KLR43971   BMW          X3                  Kent                      WA
112830   5UXTR7C51KLR43985   BMW          X3                  ORLANDO                   FL
112831   5UXTR7C51KLR44005   BMW          X3                  CEDAR RAPIDS              IA
112832   5UXTR7C51KLR44022   BMW          X3                  ORLANDO                   FL
112833   5UXTR7C51KLR44067   BMW          X3                  Winter Park               FL
112834   5UXTR7C51KLR44070   BMW          X3                  FORT MYERS                FL
112835   5UXTR7C51KLR44084   BMW          X3                  Ft. Myers                 FL
112836   5UXTR7C51KLR44098   BMW          X3                  Tampa                     FL
112837   5UXTR7C51KLR44103   BMW          X3                  FORT LAUDERDALE           FL
112838   5UXTR7C51KLR44117   BMW          X3                  ORLANDO                   FL
112839   5UXTR7C51KLR44327   BMW          X3                  WEST PALM BEACH           FL
112840   5UXTR7C51KLR44330   BMW          X3                  FORT MYERS                FL
112841   5UXTR7C51KLR44344   BMW          X3                  JACKSONVILLE              FL
112842   5UXTR7C51KLR44442   BMW          X3                  JACKSONVILLE              FL
112843   5UXTR7C51KLR44537   BMW          X3                  ORLANDO                   FL
112844   5UXTR7C51KLR44554   BMW          X3                  MIAMI                     FL
112845   5UXTR7C51KLR44568   BMW          X3                  SARASOTA                  FL
112846   5UXTR7C51KLR44571   BMW          X3                  FORT LAUDERDALE           FL
112847   5UXTR7C52KLF34249   BMW          X3                  HARTFORD                  CT
112848   5UXTR7C52KLF34252   BMW          X3                  NORFOLK                   US
112849   5UXTR7C52KLF34364   BMW          X3                  CHICAGO                   IL
112850   5UXTR7C52KLF34395   BMW          X3                  STERLING                  VA
112851   5UXTR7C52KLF34414   BMW          X3                  LAS VEGAS                 NV
112852   5UXTR7C52KLF34431   BMW          X3                  TRACY                     CA
112853   5UXTR7C52KLF34459   BMW          X3                  BALTIMORE                 MD
112854   5UXTR7C52KLF34462   BMW          X3                  OZONE PARK                NY
112855   5UXTR7C52KLF34509   BMW          X3                  SAN FRANCISCO             CA
112856   5UXTR7C52KLF34512   BMW          X3                  LOS ANGELES               CA
112857   5UXTR7C52KLR38777   BMW          X3                  BURLINGAME                CA
112858   5UXTR7C52KLR39461   BMW          X3                  LOS ANGELES               CA
112859   5UXTR7C52KLR39525   BMW          X3                  PHOENIX                   AZ
112860   5UXTR7C52KLR39539   BMW          X3                  SAN FRANCISCO             CA
112861   5UXTR7C52KLR39542   BMW          X3                  LOS ANGELES               CA
112862   5UXTR7C52KLR39654   BMW          X3                  DENVER                    CO
112863   5UXTR7C52KLR39668   BMW          X3                  ORANGE COUNTY             CA
112864   5UXTR7C52KLR39699   BMW          X3                  PALM SPRINGS              CA
112865   5UXTR7C52KLR39704   BMW          X3                  SALT LAKE CITY            US
112866   5UXTR7C52KLR39718   BMW          X3                  Atlanta                   GA
112867   5UXTR7C52KLR39735   BMW          X3                  LAS VEGAS                 NV
112868   5UXTR7C52KLR39928   BMW          X3                  DENVER                    CO
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112869   5UXTR7C52KLR39945   BMW          X3                  Phoenix                   AZ
112870   5UXTR7C52KLR39959   BMW          X3                  DENVER                    CO
112871   5UXTR7C52KLR39993   BMW          X3                  EULESS                    TX
112872   5UXTR7C52KLR43624   BMW          X3                  LAS VEGAS                 NV
112873   5UXTR7C52KLR43638   BMW          X3                  SACRAMENTO                CA
112874   5UXTR7C52KLR43655   BMW          X3                  OAKLAND                   CA
112875   5UXTR7C52KLR43672   BMW          X3                  SAN FRANCISCO             CA
112876   5UXTR7C52KLR43722   BMW          X3                  SAINT PAUL                MN
112877   5UXTR7C52KLR43784   BMW          X3                  CHICAGO                   IL
112878   5UXTR7C52KLR43803   BMW          X3                  MIAMI                     FL
112879   5UXTR7C52KLR43834   BMW          X3                  PITTSBURGH                PA
112880   5UXTR7C52KLR43851   BMW          X3                  NEWARK                    NJ
112881   5UXTR7C52KLR43879   BMW          X3                  STERLING                  VA
112882   5UXTR7C52KLR43882   BMW          X3                  ORLANDO                   FL
112883   5UXTR7C52KLR43896   BMW          X3                  PANAMA CITY               FL
112884   5UXTR7C52KLR43915   BMW          X3                  MIAMI                     FL
112885   5UXTR7C52KLR43929   BMW          X3                  ORLANDO                   FL
112886   5UXTR7C52KLR43977   BMW          X3                  ORLANDO                   FL
112887   5UXTR7C52KLR43980   BMW          X3                  ORLANDO                   FL
112888   5UXTR7C52KLR43994   BMW          X3                  FORT LAUDERDALE           FL
112889   5UXTR7C52KLR44000   BMW          X3                  FORT LAUDERDALE           FL
112890   5UXTR7C52KLR44014   BMW          X3                  TAMPA                     FL
112891   5UXTR7C52KLR44028   BMW          X3                  SOUTHEAST DST OFFC        OK
112892   5UXTR7C52KLR44031   BMW          X3                  Atlanta                   GA
112893   5UXTR7C52KLR44076   BMW          X3                  TAMPA                     FL
112894   5UXTR7C52KLR44093   BMW          X3                  FORT LAUDERDALE           FL
112895   5UXTR7C52KLR44109   BMW          X3                  ORLANDO                   FL
112896   5UXTR7C52KLR44370   BMW          X3                  TAMPA                     FL
112897   5UXTR7C52KLR44479   BMW          X3                  DANIA                     FL
112898   5UXTR7C52KLR44482   BMW          X3                  WEST PALM BEACH           FL
112899   5UXTR7C53KLF23602   BMW          X3                  SAN DIEGO                 CA
112900   5UXTR7C53KLF25382   BMW          X3                  LOS ANGELES               CA
112901   5UXTR7C53KLF34227   BMW          X3                  WEST PALM BEACH           FL
112902   5UXTR7C53KLF34230   BMW          X3                  Dallas                    TX
112903   5UXTR7C53KLF34258   BMW          X3                  MIAMI                     FL
112904   5UXTR7C53KLF34261   BMW          X3                  SOUTHEAST DST OFFC        OK
112905   5UXTR7C53KLF34275   BMW          X3                  JACKSONVILLE              FL
112906   5UXTR7C53KLF34342   BMW          X3                  MIAMI                     FL
112907   5UXTR7C53KLF34373   BMW          X3                  FORT LAUDERDALE           FL
112908   5UXTR7C53KLF34387   BMW          X3                  PROVIDENCE                RI
112909   5UXTR7C53KLF34390   BMW          X3                  BOSTON                    MA
112910   5UXTR7C53KLF34485   BMW          X3                  FORT LAUDERDALE           FL
112911   5UXTR7C53KLF34499   BMW          X3                  SANTA ANA                 CA
112912   5UXTR7C53KLF34518   BMW          X3                  PORTLAND                  OR
112913   5UXTR7C53KLF34521   BMW          X3                  LAS VEGAS                 NV
112914   5UXTR7C53KLR38772   BMW          X3                  Phoenix                   AZ
112915   5UXTR7C53KLR39467   BMW          X3                  SALT LAKE CITY            UT
112916   5UXTR7C53KLR39503   BMW          X3                  LAS VEGAS                 NV
112917   5UXTR7C53KLR39517   BMW          X3                  ONTARIO                   CA
112918   5UXTR7C53KLR39548   BMW          X3                  LOS ANGELES               CA
112919   5UXTR7C53KLR39551   BMW          X3                  SAN DIEGO                 US
112920   5UXTR7C53KLR39565   BMW          X3                  DES MOINES                IA
112921   5UXTR7C53KLR39596   BMW          X3                  Houston                   TX
112922   5UXTR7C53KLR39632   BMW          X3                  MIAMI                     FL
112923   5UXTR7C53KLR39646   BMW          X3                  LOS ANGELES               CA
112924   5UXTR7C53KLR39680   BMW          X3                  Austin                    TX
112925   5UXTR7C53KLR39727   BMW          X3                  SAN DIEGO                 US
112926   5UXTR7C53KLR39761   BMW          X3                  San Francisco             CA
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112927   5UXTR7C53KLR39811   BMW          X3                  LOS ANGELES               CA
112928   5UXTR7C53KLR39856   BMW          X3                  FRESNO                    CA
112929   5UXTR7C53KLR39873   BMW          X3                  LOS ANGELES               CA
112930   5UXTR7C53KLR39887   BMW          X3                  Riverside                 CA
112931   5UXTR7C53KLR39906   BMW          X3                  SAN FRANCISCO             CA
112932   5UXTR7C53KLR39923   BMW          X3                  SAN FRANCISCO             CA
112933   5UXTR7C53KLR39937   BMW          X3                  BOISE                     US
112934   5UXTR7C53KLR39940   BMW          X3                  PHOENIX                   AZ
112935   5UXTR7C53KLR39971   BMW          X3                  SAN JOSE                  CA
112936   5UXTR7C53KLR43616   BMW          X3                  Scottsdale                AZ
112937   5UXTR7C53KLR43633   BMW          X3                  BALTIMORE                 MD
112938   5UXTR7C53KLR43650   BMW          X3                  Burlingame                CA
112939   5UXTR7C53KLR43664   BMW          X3                  PORTLAND                  OR
112940   5UXTR7C53KLR43695   BMW          X3                  Lake Elsinore             CA
112941   5UXTR7C53KLR43714   BMW          X3                  HARTFORD                  CT
112942   5UXTR7C53KLR43728   BMW          X3                  TAMPA                     FL
112943   5UXTR7C53KLR43731   BMW          X3                  OZONE PARK                NY
112944   5UXTR7C53KLR43745   BMW          X3                  STERLING                  VA
112945   5UXTR7C53KLR43759   BMW          X3                  ALEXANDRIA                VA
112946   5UXTR7C53KLR43762   BMW          X3                  DALLAS                    TX
112947   5UXTR7C53KLR43776   BMW          X3                  Silver Spring             MD
112948   5UXTR7C53KLR43793   BMW          X3                  ORLANDO                   FL
112949   5UXTR7C53KLR43809   BMW          X3                  KNOXVILLE                 TN
112950   5UXTR7C53KLR43812   BMW          X3                  BOSTON                    MA
112951   5UXTR7C53KLR43826   BMW          X3                  Lynn                      MA
112952   5UXTR7C53KLR43843   BMW          X3                  FORT LAUDERDALE           FL
112953   5UXTR7C53KLR43857   BMW          X3                  Dallas                    TX
112954   5UXTR7C53KLR43888   BMW          X3                  DETROIT                   MI
112955   5UXTR7C53KLR43891   BMW          X3                  NEWARK                    NJ
112956   5UXTR7C53KLR43924   BMW          X3                  MIAMI INT'L AP            FL
112957   5UXTR7C53KLR43938   BMW          X3                  Tampa                     FL
112958   5UXTR7C53KLR43941   BMW          X3                  MILWAUKEE                 WI
112959   5UXTR7C53KLR43955   BMW          X3                  DENVER                    CO
112960   5UXTR7C53KLR43986   BMW          X3                  FORT MYERS                FL
112961   5UXTR7C53KLR44040   BMW          X3                  SOUTHEAST DST OFFC        OK
112962   5UXTR7C53KLR44054   BMW          X3                  WEST PALM BEACH           FL
112963   5UXTR7C53KLR44068   BMW          X3                  DANIA                     FL
112964   5UXTR7C53KLR44071   BMW          X3                  FORT LAUDERDALE           FL
112965   5UXTR7C53KLR44085   BMW          X3                  Estero                    FL
112966   5UXTR7C53KLR44099   BMW          X3                  ORLANDO                   FL
112967   5UXTR7C53KLR44118   BMW          X3                  COLUMBUS                  OH
112968   5UXTR7C53KLR44135   BMW          X3                  MIAMI                     FL
112969   5UXTR7C53KLR44149   BMW          X3                  Hebron                    KY
112970   5UXTR7C53KLR44247   BMW          X3                  FORT LAUDERDALE           FL
112971   5UXTR7C53KLR44328   BMW          X3                  KEY WEST                  FL
112972   5UXTR7C53KLR44331   BMW          X3                  SOUTHEAST DST OFFC        OK
112973   5UXTR7C53KLR44409   BMW          X3                  MIAMI                     FL
112974   5UXTR7C53KLR44569   BMW          X3                  DANIA                     FL
112975   5UXTR7C53KLR44572   BMW          X3                  FORT LAUDERDALE           FL
112976   5UXTR7C54KLE98564   BMW          X3                  SAN DIEGO                 CA
112977   5UXTR7C54KLF34155   BMW          X3                  WEST PALM BEACH           FL
112978   5UXTR7C54KLF34253   BMW          X3                  Leesburg                  VA
112979   5UXTR7C54KLF34267   BMW          X3                  MIAMI                     FL
112980   5UXTR7C54KLF34284   BMW          X3                  Houston                   TX
112981   5UXTR7C54KLF34298   BMW          X3                  STERLING                  VA
112982   5UXTR7C54KLF34348   BMW          X3                  DALLAS                    TX
112983   5UXTR7C54KLF34365   BMW          X3                  DANIA BEACH               FL
112984   5UXTR7C54KLF34379   BMW          X3                  MIAMI                     FL
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112985   5UXTR7C54KLF34382   BMW          X3                  GLASTONBURY               CT
112986   5UXTR7C54KLF34396   BMW          X3                  ORLANDO                   FL
112987   5UXTR7C54KLF34432   BMW          X3                  LOS ANGELES               CA
112988   5UXTR7C54KLF34446   BMW          X3                  BOSTON                    MA
112989   5UXTR7C54KLF34463   BMW          X3                  ORLANDO                   FL
112990   5UXTR7C54KLF34477   BMW          X3                  ORLANDO                   FL
112991   5UXTR7C54KLF34480   BMW          X3                  TUCSON                    AZ
112992   5UXTR7C54KLF34494   BMW          X3                  LOS ANGELES               CA
112993   5UXTR7C54KLR38795   BMW          X3                  SALT LAKE CITY            US
112994   5UXTR7C54KLR39509   BMW          X3                  LOS ANGELES               CA
112995   5UXTR7C54KLR39512   BMW          X3                  LOS ANGELES               CA
112996   5UXTR7C54KLR39557   BMW          X3                  San Francisco             CA
112997   5UXTR7C54KLR39560   BMW          X3                  EULESS                    TX
112998   5UXTR7C54KLR39624   BMW          X3                  ATLANTA                   GA
112999   5UXTR7C54KLR39641   BMW          X3                  SALT LAKE CITY            US
113000   5UXTR7C54KLR39655   BMW          X3                  SAN DIEGO                 US
113001   5UXTR7C54KLR39672   BMW          X3                  LOS ANGELES AP            CA
113002   5UXTR7C54KLR39705   BMW          X3                  Scottsdale                AZ
113003   5UXTR7C54KLR39722   BMW          X3                  TAMPA                     FL
113004   5UXTR7C54KLR39736   BMW          X3                  BURLINGAME                CA
113005   5UXTR7C54KLR39770   BMW          X3                  SALT LAKE CITY            UT
113006   5UXTR7C54KLR39803   BMW          X3                  LAS VEGAS                 NV
113007   5UXTR7C54KLR39820   BMW          X3                  SAN FRANCISCO             CA
113008   5UXTR7C54KLR39848   BMW          X3                  ONTARIO                   CA
113009   5UXTR7C54KLR39851   BMW          X3                  SAN FRANCISCO             CA
113010   5UXTR7C54KLR39865   BMW          X3                  SOUTH SAN FRANC           CA
113011   5UXTR7C54KLR39879   BMW          X3                  LOS ANGELES AP            CA
113012   5UXTR7C54KLR39915   BMW          X3                  ORANGE COUNTY             CA
113013   5UXTR7C54KLR39929   BMW          X3                  DENVER                    CO
113014   5UXTR7C54KLR39932   BMW          X3                  LAS VEGAS                 NV
113015   5UXTR7C54KLR39946   BMW          X3                  PHOENIX                   AZ
113016   5UXTR7C54KLR39977   BMW          X3                  SAN DIEGO                 CA
113017   5UXTR7C54KLR39980   BMW          X3                  SAN FRANCISCO             CA
113018   5UXTR7C54KLR43706   BMW          X3                  NEW YORK CITY             NY
113019   5UXTR7C54KLR43723   BMW          X3                  WARWICK                   RI
113020   5UXTR7C54KLR43737   BMW          X3                  PHILADELPHIA              PA
113021   5UXTR7C54KLR43740   BMW          X3                  PORTLAND                  OR
113022   5UXTR7C54KLR43768   BMW          X3                  LAS VEGAS                 NV
113023   5UXTR7C54KLR43771   BMW          X3                  WARWICK                   RI
113024   5UXTR7C54KLR43799   BMW          X3                  Slidell                   LA
113025   5UXTR7C54KLR43804   BMW          X3                  NEWARK                    NJ
113026   5UXTR7C54KLR43821   BMW          X3                  PHILADELPHIA              PA
113027   5UXTR7C54KLR43849   BMW          X3                  ATLANTA                   GA
113028   5UXTR7C54KLR43852   BMW          X3                  EL PASO                   TX
113029   5UXTR7C54KLR43897   BMW          X3                  STERLING                  VA
113030   5UXTR7C54KLR43902   BMW          X3                  KNOXVILLE                 TN
113031   5UXTR7C54KLR43933   BMW          X3                  WEST PALM BEACH           FL
113032   5UXTR7C54KLR43947   BMW          X3                  FORT LAUDERDALE           FL
113033   5UXTR7C54KLR43950   BMW          X3                  FORT LAUDERDALE           FL
113034   5UXTR7C54KLR43978   BMW          X3                  ORLANDO                   FL
113035   5UXTR7C54KLR43995   BMW          X3                  WEST PALM BEACH           FL
113036   5UXTR7C54KLR44001   BMW          X3                  CHARLOTTE                 NC
113037   5UXTR7C54KLR44063   BMW          X3                  N. Palm Beach             FL
113038   5UXTR7C54KLR44077   BMW          X3                  Tampa                     FL
113039   5UXTR7C54KLR44080   BMW          X3                  FORT LAUDERDALE           FL
113040   5UXTR7C54KLR44368   BMW          X3                  TAMPA                     FL
113041   5UXTR7C54KLR44385   BMW          X3                  ALEXANDRIA                VA
113042   5UXTR7C54KLR44404   BMW          X3                  NEW BERN                  NC
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113043   5UXTR7C54KLR44421   BMW          X3                  SARASOTA                  FL
113044   5UXTR7C54KLR44449   BMW          X3                  WEST PALM BEACH           FL
113045   5UXTR7C54KLR44595   BMW          X3                  MIAMI                     FL
113046   5UXTR7C55KLF23603   BMW          X3                  SAN DIEGO                 CA
113047   5UXTR7C55KLF26209   BMW          X3                  ONTARIO                   CA
113048   5UXTR7C55KLF34228   BMW          X3                  Stone Mountain            GA
113049   5UXTR7C55KLF34245   BMW          X3                  Schaumburg                IL
113050   5UXTR7C55KLF34259   BMW          X3                  NEWARK                    NJ
113051   5UXTR7C55KLF34276   BMW          X3                  STERLING                  VA
113052   5UXTR7C55KLF34293   BMW          X3                  OMAHA                     NE
113053   5UXTR7C55KLF34357   BMW          X3                  FORT LAUDERDALE           FL
113054   5UXTR7C55KLF34391   BMW          X3                  BOSTON, LOGAN AP          MA
113055   5UXTR7C55KLF34407   BMW          X3                  JACKSON                   MS
113056   5UXTR7C55KLF34455   BMW          X3                  FORT LAUDERDALE           FL
113057   5UXTR7C55KLF34505   BMW          X3                  TRACY                     CA
113058   5UXTR7C55KLF34519   BMW          X3                  BOISE                     US
113059   5UXTR7C55KLR38787   BMW          X3                  LOS ANGELES AP            CA
113060   5UXTR7C55KLR38790   BMW          X3                  LAS VEGAS                 NV
113061   5UXTR7C55KLR39468   BMW          X3                  LAS VEGAS                 NV
113062   5UXTR7C55KLR39485   BMW          X3                  SANTA ANA                 CA
113063   5UXTR7C55KLR39521   BMW          X3                  SAN JOSE                  CA
113064   5UXTR7C55KLR39552   BMW          X3                  LAS VEGAS                 NV
113065   5UXTR7C55KLR39695   BMW          X3                  PHOENIX                   AZ
113066   5UXTR7C55KLR39728   BMW          X3                  Atlanta                   GA
113067   5UXTR7C55KLR39731   BMW          X3                  LOS ANGELES               CA
113068   5UXTR7C55KLR39812   BMW          X3                  LAS VEGAS                 NV
113069   5UXTR7C55KLR39857   BMW          X3                  RENO                      NV
113070   5UXTR7C55KLR39874   BMW          X3                  Santa Clara               CA
113071   5UXTR7C55KLR39891   BMW          X3                  Las Vegas                 NV
113072   5UXTR7C55KLR39910   BMW          X3                  Riverside                 CA
113073   5UXTR7C55KLR39955   BMW          X3                  LAS VEGAS                 NV
113074   5UXTR7C55KLR39969   BMW          X3                  LAS VEGAS                 NV
113075   5UXTR7C55KLR39986   BMW          X3                  SAN FRANCISCO             CA
113076   5UXTR7C55KLR43620   BMW          X3                  LOS ANGELES               CA
113077   5UXTR7C55KLR43634   BMW          X3                  Los Angeles               CA
113078   5UXTR7C55KLR43651   BMW          X3                  TRACY                     CA
113079   5UXTR7C55KLR43679   BMW          X3                  SAN FRANCISCO             CA
113080   5UXTR7C55KLR43696   BMW          X3                  SAN FRANCISCO             CA
113081   5UXTR7C55KLR43701   BMW          X3                  OAKLAND                   CA
113082   5UXTR7C55KLR43715   BMW          X3                  Teterboro                 NJ
113083   5UXTR7C55KLR43729   BMW          X3                  PHILADELPHIA              PA
113084   5UXTR7C55KLR43732   BMW          X3                  STERLING                  VA
113085   5UXTR7C55KLR43763   BMW          X3                  WHITE PLAINS              NY
113086   5UXTR7C55KLR43813   BMW          X3                  Bordentown                NJ
113087   5UXTR7C55KLR43830   BMW          X3                  PORTLAND                  ME
113088   5UXTR7C55KLR43889   BMW          X3                  MIAMI                     FL
113089   5UXTR7C55KLR43925   BMW          X3                  MIAMI                     FL
113090   5UXTR7C55KLR43939   BMW          X3                  TAMPA                     FL
113091   5UXTR7C55KLR43942   BMW          X3                  WEST PALM BEACH           FL
113092   5UXTR7C55KLR43987   BMW          X3                  Atlanta                   GA
113093   5UXTR7C55KLR44007   BMW          X3                  WEST PALM BEACH           FL
113094   5UXTR7C55KLR44010   BMW          X3                  TAMPA                     FL
113095   5UXTR7C55KLR44024   BMW          X3                  KNOXVILLE                 TN
113096   5UXTR7C55KLR44038   BMW          X3                  Stone Mountain            GA
113097   5UXTR7C55KLR44055   BMW          X3                  MIAMI                     FL
113098   5UXTR7C55KLR44069   BMW          X3                  STERLING                  VA
113099   5UXTR7C55KLR44072   BMW          X3                  PROVIDENCE                RI
113100   5UXTR7C55KLR44086   BMW          X3                  TAMPA                     FL
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113101   5UXTR7C55KLR44105   BMW          X3                  FORT MYERS                FL
113102   5UXTR7C55KLR44220   BMW          X3                  DALLAS                    TX
113103   5UXTR7C55KLR44315   BMW          X3                  FORT LAUDERDALE           FL
113104   5UXTR7C55KLR44332   BMW          X3                  MIAMI                     FL
113105   5UXTR7C55KLR44377   BMW          X3                  Tampa                     FL
113106   5UXTR7C55KLR44458   BMW          X3                  WEST PALM BEACH           FL
113107   5UXTR7C55KLR44461   BMW          X3                  PITTSBURGH                PA
113108   5UXTR7C55KLR44489   BMW          X3                  MIAMI                     FL
113109   5UXTR7C55KLR44511   BMW          X3                  SOUTHEAST DST OFFC        OK
113110   5UXTR7C55KLR44539   BMW          X3                  FORT MYERS                FL
113111   5UXTR7C56KLE98369   BMW          X3                  Lake Elsinore             CA
113112   5UXTR7C56KLE98503   BMW          X3                  SAN FRANCISCO             CA
113113   5UXTR7C56KLF34156   BMW          X3                  MIAMI                     FL
113114   5UXTR7C56KLF34237   BMW          X3                  Dallas                    TX
113115   5UXTR7C56KLF34254   BMW          X3                  ROCHESTER                 NY
113116   5UXTR7C56KLF34268   BMW          X3                  MIAMI                     FL
113117   5UXTR7C56KLF34271   BMW          X3                  TAMPA                     FL
113118   5UXTR7C56KLF34285   BMW          X3                  KENNER                    LA
113119   5UXTR7C56KLF34318   BMW          X3                  PHILADELPHIA              PA
113120   5UXTR7C56KLF34335   BMW          X3                  TAMPA                     US
113121   5UXTR7C56KLF34383   BMW          X3                  CLEVELAND                 OH
113122   5UXTR7C56KLF34397   BMW          X3                  MORRISVILLE               NC
113123   5UXTR7C56KLF34402   BMW          X3                  PENSACOLA                 FL
113124   5UXTR7C56KLF34450   BMW          X3                  SAN FRANCISCO             CA
113125   5UXTR7C56KLF34464   BMW          X3                  TAMPA                     FL
113126   5UXTR7C56KLF34478   BMW          X3                  CHICAGO                   IL
113127   5UXTR7C56KLF34481   BMW          X3                  STERLING                  VA
113128   5UXTR7C56KLF34514   BMW          X3                  LAS VEGAS                 NV
113129   5UXTR7C56KLR38779   BMW          X3                  SEA TAC                   WA
113130   5UXTR7C56KLR39477   BMW          X3                  SAN JOSE                  CA
113131   5UXTR7C56KLR39608   BMW          X3                  TAMPA                     FL
113132   5UXTR7C56KLR39625   BMW          X3                  Stone Mountain            GA
113133   5UXTR7C56KLR39690   BMW          X3                  North Las Vegas           NV
113134   5UXTR7C56KLR39737   BMW          X3                  LOS ANGELES               CA
113135   5UXTR7C56KLR39740   BMW          X3                  SALT LAKE CITY            US
113136   5UXTR7C56KLR39866   BMW          X3                  SAN DIEGO                 CA
113137   5UXTR7C56KLR39897   BMW          X3                  COSTA MESA                CA
113138   5UXTR7C56KLR39902   BMW          X3                  TUCSON                    AZ
113139   5UXTR7C56KLR39916   BMW          X3                  DENVER                    CO
113140   5UXTR7C56KLR39950   BMW          X3                  SAN DIEGO                 CA
113141   5UXTR7C56KLR39978   BMW          X3                  LOS ANGELES               CA
113142   5UXTR7C56KLR39995   BMW          X3                  SAN FRANCISCO             CA
113143   5UXTR7C56KLR43612   BMW          X3                  SAN FRANCISCO             CA
113144   5UXTR7C56KLR43688   BMW          X3                  DFW AIRPORT               TX
113145   5UXTR7C56KLR43707   BMW          X3                  BOSTON                    MA
113146   5UXTR7C56KLR43710   BMW          X3                  BOSTON                    MA
113147   5UXTR7C56KLR43724   BMW          X3                  DETROIT                   MI
113148   5UXTR7C56KLR43738   BMW          X3                  Grove City                OH
113149   5UXTR7C56KLR43755   BMW          X3                  PORTLAND                  OR
113150   5UXTR7C56KLR43769   BMW          X3                  RICHMOND                  VA
113151   5UXTR7C56KLR43772   BMW          X3                  ORLANDO                   FL
113152   5UXTR7C56KLR43786   BMW          X3                  DETROIT                   MI
113153   5UXTR7C56KLR43819   BMW          X3                  JAMAICA                   NY
113154   5UXTR7C56KLR43822   BMW          X3                  BOSTON                    MA
113155   5UXTR7C56KLR43836   BMW          X3                  Teterboro                 NJ
113156   5UXTR7C56KLR43870   BMW          X3                  Clearwater                FL
113157   5UXTR7C56KLR43884   BMW          X3                  North Dighton             MA
113158   5UXTR7C56KLR43898   BMW          X3                  FORT LAUDERDALE           FL
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113159   5UXTR7C56KLR43903   BMW          X3                  MIAMI                     FL
113160   5UXTR7C56KLR43917   BMW          X3                  MIAMI                     FL
113161   5UXTR7C56KLR43920   BMW          X3                  HOUSTON                   TX
113162   5UXTR7C56KLR43934   BMW          X3                  NEW ORLEANS               LA
113163   5UXTR7C56KLR43951   BMW          X3                  KNOXVILLE                 TN
113164   5UXTR7C56KLR43979   BMW          X3                  JACKSONVILLE              FL
113165   5UXTR7C56KLR43982   BMW          X3                  MIAMI                     FL
113166   5UXTR7C56KLR43996   BMW          X3                  FORT LAUDERDALE           FL
113167   5UXTR7C56KLR44016   BMW          X3                  Atlanta                   GA
113168   5UXTR7C56KLR44081   BMW          X3                  TAMPA                     FL
113169   5UXTR7C56KLR44114   BMW          X3                  DANIA BEACH               FL
113170   5UXTR7C56KLR44145   BMW          X3                  BURBANK                   CA
113171   5UXTR7C56KLR44324   BMW          X3                  Sarasota                  FL
113172   5UXTR7C56KLR44355   BMW          X3                  MIAMI                     FL
113173   5UXTR7C56KLR44369   BMW          X3                  DANIA                     FL
113174   5UXTR7C56KLR44372   BMW          X3                  WEST PALM BEACH           FL
113175   5UXTR7C56KLR44453   BMW          X3                  FORT MYERS                FL
113176   5UXTR7C56KLR44467   BMW          X3                  MIAMI                     FL
113177   5UXTR7C56KLR44470   BMW          X3                  ATLANTA                   GA
113178   5UXTR7C56KLR44520   BMW          X3                  FT. LAUDERDALE            FL
113179   5UXTR7C56KLR44534   BMW          X3                  BOSTON                    MA
113180   5UXTR7C56KLR44596   BMW          X3                  FORT MYERS                FL
113181   5UXTR7C57KLE98882   BMW          X3                  Live Oak                  TX
113182   5UXTR7C57KLF34229   BMW          X3                  MIAMI                     FL
113183   5UXTR7C57KLF34232   BMW          X3                  LOS ANGELES               CA
113184   5UXTR7C57KLF34277   BMW          X3                  Atlanta                   GA
113185   5UXTR7C57KLF34294   BMW          X3                  IRVING                    TX
113186   5UXTR7C57KLF34330   BMW          X3                  Leesburg                  VA
113187   5UXTR7C57KLF34358   BMW          X3                  FORT LAUDERDALE           FL
113188   5UXTR7C57KLF34361   BMW          X3                  MIAMI                     FL
113189   5UXTR7C57KLF34375   BMW          X3                  FORT LAUDERDALE           FL
113190   5UXTR7C57KLF34392   BMW          X3                  NEWARK                    NJ
113191   5UXTR7C57KLF34456   BMW          X3                  FORT LAUDERDALE           FL
113192   5UXTR7C57KLF34487   BMW          X3                  LAS VEGAS                 NV
113193   5UXTR7C57KLF34506   BMW          X3                  SAN FRANCISCO             CA
113194   5UXTR7C57KLF34537   BMW          X3                  LAS VEGAS                 NV
113195   5UXTR7C57KLR38757   BMW          X3                  LAS VEGAS                 NV
113196   5UXTR7C57KLR38760   BMW          X3                  NORWALK                   CA
113197   5UXTR7C57KLR38791   BMW          X3                  Las Vegas                 NV
113198   5UXTR7C57KLR39486   BMW          X3                  LAS VEGAS                 NV
113199   5UXTR7C57KLR39522   BMW          X3                  LOS ANGELES               CA
113200   5UXTR7C57KLR39553   BMW          X3                  OAKLAND                   CA
113201   5UXTR7C57KLR39620   BMW          X3                  Alcoa                     TN
113202   5UXTR7C57KLR39651   BMW          X3                  LOS ANGELES AP            CA
113203   5UXTR7C57KLR39715   BMW          X3                  LAS VEGAS                 NV
113204   5UXTR7C57KLR39794   BMW          X3                  SEATAC                    WA
113205   5UXTR7C57KLR39813   BMW          X3                  ALBUQERQUE                NM
113206   5UXTR7C57KLR39858   BMW          X3                  OAKLAND                   CA
113207   5UXTR7C57KLR39889   BMW          X3                  Riverside                 CA
113208   5UXTR7C57KLR39892   BMW          X3                  INGLEWOOD                 CA
113209   5UXTR7C57KLR39911   BMW          X3                  TRACY                     CA
113210   5UXTR7C57KLR39925   BMW          X3                  SALT LAKE CITY            UT
113211   5UXTR7C57KLR39942   BMW          X3                  GYPSUM                    CO
113212   5UXTR7C57KLR39956   BMW          X3                  ORANGE COUNTY             CA
113213   5UXTR7C57KLR39987   BMW          X3                  Riverside                 CA
113214   5UXTR7C57KLR43618   BMW          X3                  OAKLAND                   CA
113215   5UXTR7C57KLR43621   BMW          X3                  SAN FRANCISCO             CA
113216   5UXTR7C57KLR43649   BMW          X3                  OAKLAND                   CA
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113217   5UXTR7C57KLR43652   BMW          X3                  SANTA ANA                 CA
113218   5UXTR7C57KLR43666   BMW          X3                  OAKLAND                   CA
113219   5UXTR7C57KLR43697   BMW          X3                  SAN FRANCISCO             CA
113220   5UXTR7C57KLR43702   BMW          X3                  SAN JOSE                  CA
113221   5UXTR7C57KLR43733   BMW          X3                  EAST BOSTON               MA
113222   5UXTR7C57KLR43747   BMW          X3                  BIRMINGHAN                AL
113223   5UXTR7C57KLR43750   BMW          X3                  NEWARK                    NJ
113224   5UXTR7C57KLR43764   BMW          X3                  OMAHA                     NE
113225   5UXTR7C57KLR43781   BMW          X3                  WEST PALM BEACH           FL
113226   5UXTR7C57KLR43795   BMW          X3                  MIAMI                     FL
113227   5UXTR7C57KLR43800   BMW          X3                  FORT LAUDERDALE           FL
113228   5UXTR7C57KLR43814   BMW          X3                  HAWTHORNE                 CA
113229   5UXTR7C57KLR43828   BMW          X3                  BOSTON                    MA
113230   5UXTR7C57KLR43845   BMW          X3                  NEW BERN                  NC
113231   5UXTR7C57KLR43859   BMW          X3                  TUCSON                    AZ
113232   5UXTR7C57KLR43876   BMW          X3                  MIAMI                     FL
113233   5UXTR7C57KLR43893   BMW          X3                  HANOVER                   MD
113234   5UXTR7C57KLR43909   BMW          X3                  FORT MYERS                FL
113235   5UXTR7C57KLR43943   BMW          X3                  FORT LAUDERDALE           FL
113236   5UXTR7C57KLR43974   BMW          X3                  METAIRIE                  LA
113237   5UXTR7C57KLR43988   BMW          X3                  TAMPA                     FL
113238   5UXTR7C57KLR43991   BMW          X3                  TAMPA                     FL
113239   5UXTR7C57KLR44008   BMW          X3                  WEST PALM BEACH           FL
113240   5UXTR7C57KLR44011   BMW          X3                  FORT MYERS                FL
113241   5UXTR7C57KLR44039   BMW          X3                  PORTLAND                  ME
113242   5UXTR7C57KLR44042   BMW          X3                  NEW BERN                  NC
113243   5UXTR7C57KLR44056   BMW          X3                  ORLANDO                   FL
113244   5UXTR7C57KLR44090   BMW          X3                  FORT LAUDERDALE           FL
113245   5UXTR7C57KLR44106   BMW          X3                  MIAMI INT'L AP            FL
113246   5UXTR7C57KLR44316   BMW          X3                  WEST PALM BEACH           FL
113247   5UXTR7C57KLR44350   BMW          X3                  SAINT LOUIS               MO
113248   5UXTR7C57KLR44364   BMW          X3                  WEST PALM BEACH           FL
113249   5UXTR7C57KLR44414   BMW          X3                  ROANOKE                   VA
113250   5UXTR7C57KLR44431   BMW          X3                  WEST PALM BEACH           FL
113251   5UXTR7C57KLR44459   BMW          X3                  Davie                     FL
113252   5UXTR7C57KLR44462   BMW          X3                  WOODS CROSS               US
113253   5UXTR7C57KLR44509   BMW          X3                  TAMPA                     US
113254   5UXTR7C57KLR44543   BMW          X3                  SARASOTA                  FL
113255   5UXTR7C57KLR44574   BMW          X3                  WEST PALM BEACH           FL
113256   5UXTR7C58KLE98616   BMW          X3                  SAN JOSE                  CA
113257   5UXTR7C58KLF24163   BMW          X3                  SAN DIEGO                 CA
113258   5UXTR7C58KLF34157   BMW          X3                  Aurora                    CO
113259   5UXTR7C58KLF34160   BMW          X3                  WEST PALM BEACH           FL
113260   5UXTR7C58KLF34384   BMW          X3                  HANOVER                   MD
113261   5UXTR7C58KLF34398   BMW          X3                  HANOVER                   MD
113262   5UXTR7C58KLF34465   BMW          X3                  ST PETERSBURG             FL
113263   5UXTR7C58KLF34479   BMW          X3                  Winter Park               FL
113264   5UXTR7C58KLF34482   BMW          X3                  Tampa                     FL
113265   5UXTR7C58KLR39500   BMW          X3                  FULLERTON                 CA
113266   5UXTR7C58KLR39514   BMW          X3                  LAS VEGAS                 NV
113267   5UXTR7C58KLR39531   BMW          X3                  LOS ANGELES               CA
113268   5UXTR7C58KLR39559   BMW          X3                  OAKLAND                   CA
113269   5UXTR7C58KLR39657   BMW          X3                  TUCSON                    AZ
113270   5UXTR7C58KLR39674   BMW          X3                  LOS ANGELES               CA
113271   5UXTR7C58KLR39707   BMW          X3                  LAS VEGAS                 NV
113272   5UXTR7C58KLR39724   BMW          X3                  Hapeville                 GA
113273   5UXTR7C58KLR39738   BMW          X3                  LAS VEGAS                 NV
113274   5UXTR7C58KLR39769   BMW          X3                  PHOENIX                   AZ
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113275   5UXTR7C58KLR39786   BMW          X3                  SAN DIEGO                 CA
113276   5UXTR7C58KLR39805   BMW          X3                  PORTLAND                  OR
113277   5UXTR7C58KLR39867   BMW          X3                  BOISE                     US
113278   5UXTR7C58KLR39870   BMW          X3                  SANTA ANA                 CA
113279   5UXTR7C58KLR39898   BMW          X3                  SAN FRANCISCO             CA
113280   5UXTR7C58KLR39903   BMW          X3                  PHOENIX                   AZ
113281   5UXTR7C58KLR39917   BMW          X3                  SAN JOSE                  CA
113282   5UXTR7C58KLR39934   BMW          X3                  LAS VEGAS                 NV
113283   5UXTR7C58KLR39996   BMW          X3                  SAN FRANCISCO             CA
113284   5UXTR7C58KLR43658   BMW          X3                  OAKLAND                   CA
113285   5UXTR7C58KLR43661   BMW          X3                  OAKLAND                   CA
113286   5UXTR7C58KLR43675   BMW          X3                  SAN FRANCISCO             CA
113287   5UXTR7C58KLR43692   BMW          X3                  DURHAM                    NC
113288   5UXTR7C58KLR43708   BMW          X3                  NEWARK                    NJ
113289   5UXTR7C58KLR43742   BMW          X3                  SYRACUSE                  NY
113290   5UXTR7C58KLR43787   BMW          X3                  BLOOMINGTON               IL
113291   5UXTR7C58KLR43790   BMW          X3                  WEST PALM BEACH           FL
113292   5UXTR7C58KLR43823   BMW          X3                  NEWARK                    NJ
113293   5UXTR7C58KLR43837   BMW          X3                  WILMINGTON                NC
113294   5UXTR7C58KLR43854   BMW          X3                  DALLAS                    TX
113295   5UXTR7C58KLR43871   BMW          X3                  FORT LAUDERDALE           FL
113296   5UXTR7C58KLR43885   BMW          X3                  NEWARK                    NJ
113297   5UXTR7C58KLR43899   BMW          X3                  Ft. Myers                 FL
113298   5UXTR7C58KLR43921   BMW          X3                  MIAMI                     FL
113299   5UXTR7C58KLR43949   BMW          X3                  SARASOTA                  FL
113300   5UXTR7C58KLR43966   BMW          X3                  SAINT PAUL                MN
113301   5UXTR7C58KLR43983   BMW          X3                  MIAMI                     FL
113302   5UXTR7C58KLR43997   BMW          X3                  ORLANDO                   FL
113303   5UXTR7C58KLR44020   BMW          X3                  WOODSON TERRACE           MO
113304   5UXTR7C58KLR44051   BMW          X3                  MIAMI                     FL
113305   5UXTR7C58KLR44065   BMW          X3                  FORT LAUDERDALE           FL
113306   5UXTR7C58KLR44082   BMW          X3                  DANIA                     FL
113307   5UXTR7C58KLR44115   BMW          X3                  LAS VEGAS                 NV
113308   5UXTR7C58KLR44390   BMW          X3                  FORT MYERS                FL
113309   5UXTR7C58KLR44518   BMW          X3                  KENNER                    LA
113310   5UXTR7C58KLR44521   BMW          X3                  WEST PALM BEACH           FL
113311   5UXTR7C58KLR44549   BMW          X3                  HANOVER                   MD
113312   5UXTR7C59KLF34233   BMW          X3                  ORLANDO                   FL
113313   5UXTR7C59KLF34247   BMW          X3                  NEWARK                    NJ
113314   5UXTR7C59KLF34264   BMW          X3                  TAMPA                     FL
113315   5UXTR7C59KLF34331   BMW          X3                  NEWARK                    NJ
113316   5UXTR7C59KLF34345   BMW          X3                  Lake Elsinore             CA
113317   5UXTR7C59KLF34359   BMW          X3                  ORLANDO                   FL
113318   5UXTR7C59KLF34460   BMW          X3                  BALTIMORE                 MD
113319   5UXTR7C59KLF34474   BMW          X3                  FORT LAUDERDALE           FL
113320   5UXTR7C59KLF34491   BMW          X3                  seatac                    wa
113321   5UXTR7C59KLF34510   BMW          X3                  SAN JOSE                  CA
113322   5UXTR7C59KLR38792   BMW          X3                  SANTA BARBARA             CA
113323   5UXTR7C59KLR39473   BMW          X3                  LOS ANGELES AP            CA
113324   5UXTR7C59KLR39490   BMW          X3                  SAN JOSE                  CA
113325   5UXTR7C59KLR39506   BMW          X3                  DENVER                    CO
113326   5UXTR7C59KLR39635   BMW          X3                  LAS VEGAS                 NV
113327   5UXTR7C59KLR39649   BMW          X3                  CLEVELAND                 OH
113328   5UXTR7C59KLR39683   BMW          X3                  SALT LAKE CITY            UT
113329   5UXTR7C59KLR39733   BMW          X3                  Salt Lake City            UT
113330   5UXTR7C59KLR39750   BMW          X3                  SALT LAKE CITY            UT
113331   5UXTR7C59KLR39781   BMW          X3                  SAN DIEGO                 CA
113332   5UXTR7C59KLR39814   BMW          X3                  SAN FRANCISCO             CA
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113333   5UXTR7C59KLR39859   BMW          X3                  SAN DIEGO                 CA
113334   5UXTR7C59KLR39876   BMW          X3                  LOS ANGELES               CA
113335   5UXTR7C59KLR39909   BMW          X3                  LOS ANGELES               CA
113336   5UXTR7C59KLR39912   BMW          X3                  LAS VEGAS                 NV
113337   5UXTR7C59KLR39926   BMW          X3                  Phoenix                   AZ
113338   5UXTR7C59KLR39943   BMW          X3                  PHOENIX                   AZ
113339   5UXTR7C59KLR39960   BMW          X3                  PITTSBURGH                PA
113340   5UXTR7C59KLR39991   BMW          X3                  LOS ANGELES               CA
113341   5UXTR7C59KLR43619   BMW          X3                  Lake Elsinore             CA
113342   5UXTR7C59KLR43622   BMW          X3                  Scottsdale                AZ
113343   5UXTR7C59KLR43653   BMW          X3                  PHOENIX                   AZ
113344   5UXTR7C59KLR43667   BMW          X3                  Rio Linda                 CA
113345   5UXTR7C59KLR43703   BMW          X3                  PHOENIX                   AZ
113346   5UXTR7C59KLR43717   BMW          X3                  NEWARK                    NJ
113347   5UXTR7C59KLR43720   BMW          X3                  PHOENIX                   AZ
113348   5UXTR7C59KLR43734   BMW          X3                  STERLING                  VA
113349   5UXTR7C59KLR43748   BMW          X3                  HARTFORD                  CT
113350   5UXTR7C59KLR43782   BMW          X3                  FORT MYERS                FL
113351   5UXTR7C59KLR43796   BMW          X3                  WEST PALM BEACH           FL
113352   5UXTR7C59KLR43801   BMW          X3                  FORT MYERS                FL
113353   5UXTR7C59KLR43815   BMW          X3                  MILWAUKEE                 WI
113354   5UXTR7C59KLR43829   BMW          X3                  PHILADELPHIA              PA
113355   5UXTR7C59KLR43832   BMW          X3                  HANOVER                   MD
113356   5UXTR7C59KLR43846   BMW          X3                  FORT MYERS                FL
113357   5UXTR7C59KLR43894   BMW          X3                  BOSTON                    MA
113358   5UXTR7C59KLR43944   BMW          X3                  FRESNO                    CA
113359   5UXTR7C59KLR43989   BMW          X3                  FORT MYERS                FL
113360   5UXTR7C59KLR43992   BMW          X3                  STERLING                  VA
113361   5UXTR7C59KLR44009   BMW          X3                  FORT LAUDERDALE           FL
113362   5UXTR7C59KLR44012   BMW          X3                  TAMPA                     FL
113363   5UXTR7C59KLR44026   BMW          X3                  BIRMINGHAM                AL
113364   5UXTR7C59KLR44043   BMW          X3                  DANIA BEACH               FL
113365   5UXTR7C59KLR44057   BMW          X3                  RICHMOND                  VA
113366   5UXTR7C59KLR44060   BMW          X3                  FORT LAUDERDALE           FL
113367   5UXTR7C59KLR44091   BMW          X3                  Davie                     FL
113368   5UXTR7C59KLR44110   BMW          X3                  Tampa                     FL
113369   5UXTR7C59KLR44317   BMW          X3                  INDIANAPOLIS              IN
113370   5UXTR7C59KLR44365   BMW          X3                  TAMPA                     US
113371   5UXTR7C59KLR44379   BMW          X3                  MIAMI                     FL
113372   5UXTR7C59KLR44446   BMW          X3                  MIAMI                     FL
113373   5UXTR7C59KLR44530   BMW          X3                  Tampa                     FL
113374   5UXTR7C59KLR44544   BMW          X3                  DAYTONA BEACH             FL
113375   5UXTR7C59KLR44575   BMW          X3                  SOUTHEAST DST OFFC        OK
113376   5UXTR7C5XKLE98293   BMW          X3                  LAS VEGAS                 NV
113377   5UXTR7C5XKLF34161   BMW          X3                  Atlanta                   GA
113378   5UXTR7C5XKLF34239   BMW          X3                  Warminster                PA
113379   5UXTR7C5XKLF34256   BMW          X3                  NEW BERN                  NC
113380   5UXTR7C5XKLF34273   BMW          X3                  ORLANDO                   FL
113381   5UXTR7C5XKLF34337   BMW          X3                  SARASOTA                  FL
113382   5UXTR7C5XKLF34354   BMW          X3                  PALM SPRINGS              CA
113383   5UXTR7C5XKLF34399   BMW          X3                  RICHMOND                  VA
113384   5UXTR7C5XKLF34404   BMW          X3                  ORLANDO                   FL
113385   5UXTR7C5XKLF34452   BMW          X3                  ORLANDO                   FL
113386   5UXTR7C5XKLF34516   BMW          X3                  BURBANK                   CA
113387   5UXTR7C5XKLR38767   BMW          X3                  Boise                     ID
113388   5UXTR7C5XKLR39496   BMW          X3                  LOS ANGELES               CA
113389   5UXTR7C5XKLR39577   BMW          X3                  CHICAGO                   IL
113390   5UXTR7C5XKLR39692   BMW          X3                  LOS ANGELES               CA
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113391   5UXTR7C5XKLR39854   BMW          X3                  Los Angeles               CA
113392   5UXTR7C5XKLR39868   BMW          X3                  LOS ANGELES AP            CA
113393   5UXTR7C5XKLR39871   BMW          X3                  LOS ANGELES AP            CA
113394   5UXTR7C5XKLR39899   BMW          X3                  Palm Springs              CA
113395   5UXTR7C5XKLR39904   BMW          X3                  PHOENIX                   AZ
113396   5UXTR7C5XKLR39918   BMW          X3                  PHOENIX                   AZ
113397   5UXTR7C5XKLR39949   BMW          X3                  DENVER                    CO
113398   5UXTR7C5XKLR39952   BMW          X3                  LOS ANGELES               CA
113399   5UXTR7C5XKLR39966   BMW          X3                  SAN JOSE                  CA
113400   5UXTR7C5XKLR39983   BMW          X3                  OAKLAND                   CA
113401   5UXTR7C5XKLR43614   BMW          X3                  SAN DIEGO                 CA
113402   5UXTR7C5XKLR43628   BMW          X3                  Riverside                 CA
113403   5UXTR7C5XKLR43676   BMW          X3                  BOSTON                    MA
113404   5UXTR7C5XKLR43693   BMW          X3                  SAN FRANCISCO             CA
113405   5UXTR7C5XKLR43709   BMW          X3                  MIAMI                     FL
113406   5UXTR7C5XKLR43712   BMW          X3                  North Dighton             MA
113407   5UXTR7C5XKLR43726   BMW          X3                  NEWARK                    NJ
113408   5UXTR7C5XKLR43757   BMW          X3                  PHILADELPHIA              PA
113409   5UXTR7C5XKLR43807   BMW          X3                  Atlanta                   GA
113410   5UXTR7C5XKLR43810   BMW          X3                  PITTSBURGH                PA
113411   5UXTR7C5XKLR43824   BMW          X3                  STERLING                  VA
113412   5UXTR7C5XKLR43838   BMW          X3                  WHITE PLAINS              NY
113413   5UXTR7C5XKLR43841   BMW          X3                  Philadelphia              PA
113414   5UXTR7C5XKLR43855   BMW          X3                  LAS VEGAS                 NV
113415   5UXTR7C5XKLR43869   BMW          X3                  FT. LAUDERDALE            FL
113416   5UXTR7C5XKLR43886   BMW          X3                  BOSTON                    MA
113417   5UXTR7C5XKLR43905   BMW          X3                  ORLANDO                   FL
113418   5UXTR7C5XKLR43919   BMW          X3                  WEST PALM BEACH           FL
113419   5UXTR7C5XKLR43922   BMW          X3                  TAMPA                     FL
113420   5UXTR7C5XKLR43936   BMW          X3                  WEST PALM BEACH           FL
113421   5UXTR7C5XKLR43984   BMW          X3                  ORLANDO                   FL
113422   5UXTR7C5XKLR43998   BMW          X3                  MIAMI                     FL
113423   5UXTR7C5XKLR44004   BMW          X3                  MIAMI                     FL
113424   5UXTR7C5XKLR44049   BMW          X3                  WEST PALM BEACH           FL
113425   5UXTR7C5XKLR44052   BMW          X3                  CORPUS CHRISTI            TX
113426   5UXTR7C5XKLR44066   BMW          X3                  STERLING                  VA
113427   5UXTR7C5XKLR44083   BMW          X3                  BEAVERTON                 OR
113428   5UXTR7C5XKLR44116   BMW          X3                  DANIA                     FL
113429   5UXTR7C5XKLR44133   BMW          X3                  SOUTHEAST DST OFFC        OK
113430   5UXTR7C5XKLR44360   BMW          X3                  ORLANDO                   FL
113431   5UXTR7C5XKLR44438   BMW          X3                  DETROIT                   MI
113432   5UXTR7C5XKLR44469   BMW          X3                  FORT MYERS                FL
113433   5UXTR7C5XKLR44486   BMW          X3                  Orlando                   FL
113434   5UXTR7C5XKLR44505   BMW          X3                  Nashville                 TN
113435   5UXTR7C5XKLR44522   BMW          X3                  FORT MYERS                FL
113436   5UXTR7C5XKLR44553   BMW          X3                  MIAMI                     FL
113437   5UXTR7C5XKLR44567   BMW          X3                  TAMPA                     FL
113438   5UXTY3C00L9B57662   BMW          X3                  LOS ANGELES               CA
113439   5UXTY3C00L9B57709   BMW          X3                  SEATAC                    WA
113440   5UXTY3C00L9B57726   BMW          X3                  PHOENIX                   AZ
113441   5UXTY3C00L9B57774   BMW          X3                  PHOENIX                   AZ
113442   5UXTY3C00L9B58200   BMW          X3                  FORT MYERS                FL
113443   5UXTY3C00L9B58262   BMW          X3                  FORT MYERS                FL
113444   5UXTY3C00L9B58553   BMW          X3                  WINTER PARK               FL
113445   5UXTY3C00L9B59606   BMW          X3                  WEST PALM BEACH           FL
113446   5UXTY3C00L9B59637   BMW          X3                  LOS ANGELES               CA
113447   5UXTY3C00L9B62389   BMW          X3                  SEATAC                    WA
113448   5UXTY3C00L9B63851   BMW          X3                  SEATAC                    WA
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113449   5UXTY3C00L9B63901   BMW          X3                  LOS ANGELES               CA
113450   5UXTY3C00L9B65311   BMW          X3                  FORT MYERS                FL
113451   5UXTY3C00L9B65325   BMW          X3                  FORT MYERS                FL
113452   5UXTY3C00L9B65339   BMW          X3                  SEATAC                    WA
113453   5UXTY3C00L9B65597   BMW          X3                  FORT MYERS                FL
113454   5UXTY3C00L9B69729   BMW          X3                  LAS VEGAS                 NV
113455   5UXTY3C00L9B69827   BMW          X3                  LAS VEGAS                 NV
113456   5UXTY3C00L9B69925   BMW          X3                  NEWARK                    NJ
113457   5UXTY3C00L9B69956   BMW          X3                  HOUSTON                   TX
113458   5UXTY3C00L9B70427   BMW          X3                  DALLAS                    TX
113459   5UXTY3C00L9B70444   BMW          X3                  HOUSTON                   TX
113460   5UXTY3C00L9B71870   BMW          X3                  PHOENIX                   AZ
113461   5UXTY3C00L9B71898   BMW          X3                  HANOVER                   MD
113462   5UXTY3C00L9B71917   BMW          X3                  FORT LAUDERDALE           FL
113463   5UXTY3C00L9B71920   BMW          X3                  MIAMI                     FL
113464   5UXTY3C00L9B71948   BMW          X3                  HOUSTON                   TX
113465   5UXTY3C00L9B71979   BMW          X3                  EL PASO                   TX
113466   5UXTY3C00L9B74168   BMW          X3                  DETROIT                   MI
113467   5UXTY3C00L9B74204   BMW          X3                  HOUSTON                   TX
113468   5UXTY3C00L9B93240   BMW          X3                  NEWARK                    NJ
113469   5UXTY3C00L9B93268   BMW          X3                  BOSTON                    MA
113470   5UXTY3C00L9B93285   BMW          X3                  BOSTON                    MA
113471   5UXTY3C00L9B93464   BMW          X3                  PORTLAND                  ME
113472   5UXTY3C00L9B95389   BMW          X3                  NEW YORK CITY             NY
113473   5UXTY3C00L9B95392   BMW          X3                  NEWARK                    NJ
113474   5UXTY3C00L9B95408   BMW          X3                  BOSTON                    MA
113475   5UXTY3C00L9B95425   BMW          X3                  PETERSBURG                VA
113476   5UXTY3C00L9B95456   BMW          X3                  NEWARK                    NJ
113477   5UXTY3C00L9B95473   BMW          X3                  SACRAMENTO                CA
113478   5UXTY3C00L9B95490   BMW          X3                  SAN FRANCISCO             CA
113479   5UXTY3C00L9B97059   BMW          X3                  NEW YORK CITY             NY
113480   5UXTY3C00L9C00798   BMW          X3                  BOSTON                    MA
113481   5UXTY3C00L9C00803   BMW          X3                  MANHATTAN                 NY
113482   5UXTY3C00L9C01448   BMW          X3                  SAN FRANCISCO             CA
113483   5UXTY3C00L9C01451   BMW          X3                  SAN FRANCISCO             CA
113484   5UXTY3C00L9C30688   BMW          X3                  CHARLOTTE                 NC
113485   5UXTY3C00L9C30691   BMW          X3                  SHREVEPORT                LA
113486   5UXTY3C00L9C30738   BMW          X3                  BOSTON                    MA
113487   5UXTY3C00L9C32490   BMW          X3                  WARWICK                   RI
113488   5UXTY3C00L9C32652   BMW          X3                  CHARLOTTE                 NC
113489   5UXTY3C00L9C32697   BMW          X3                  BOSTON                    MA
113490   5UXTY3C00L9C32702   BMW          X3                  GRAND RAPIDS              MI
113491   5UXTY3C01L9B57637   BMW          X3                  INGLEWOOD                 CA
113492   5UXTY3C01L9B57668   BMW          X3                  LOS ANGELES               CA
113493   5UXTY3C01L9B57671   BMW          X3                  LOS ANGELES               CA
113494   5UXTY3C01L9B57718   BMW          X3                  SAN JOSE                  CA
113495   5UXTY3C01L9B57721   BMW          X3                  PORTLAND                  OR
113496   5UXTY3C01L9B57783   BMW          X3                  LOS ANGELES               CA
113497   5UXTY3C01L9B57797   BMW          X3                  TUCSON                    AZ
113498   5UXTY3C01L9B58223   BMW          X3                  ATLANTA                   GA
113499   5UXTY3C01L9B58240   BMW          X3                  PORTLAND                  OR
113500   5UXTY3C01L9B58559   BMW          X3                  FORT MYERS                FL
113501   5UXTY3C01L9B62398   BMW          X3                  KENNER                    LA
113502   5UXTY3C01L9B63888   BMW          X3                  TUCSON                    AZ
113503   5UXTY3C01L9B63907   BMW          X3                  PHOENIX                   AZ
113504   5UXTY3C01L9B63910   BMW          X3                  WEST PALM BEACH           FL
113505   5UXTY3C01L9B69738   BMW          X3                  LOS ANGELES               CA
113506   5UXTY3C01L9B69772   BMW          X3                  LOS ANGELES               CA
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113507   5UXTY3C01L9B69853   BMW          X3                  PALM SPRINGS              CA
113508   5UXTY3C01L9B69884   BMW          X3                  PHOENIX                   AZ
113509   5UXTY3C01L9B69917   BMW          X3                  BRONX                     NY
113510   5UXTY3C01L9B69948   BMW          X3                  FORT LAUDERDALE           FL
113511   5UXTY3C01L9B70355   BMW          X3                  WEST PALM BEACH           FL
113512   5UXTY3C01L9B70422   BMW          X3                  HOUSTON                   TX
113513   5UXTY3C01L9B71859   BMW          X3                  LAS VEGAS                 NV
113514   5UXTY3C01L9B71862   BMW          X3                  LAS VEGAS                 NV
113515   5UXTY3C01L9B71893   BMW          X3                  Miami                     FL
113516   5UXTY3C01L9B71960   BMW          X3                  CORPUS CHRISTI            TX
113517   5UXTY3C01L9B75748   BMW          X3                  DALLAS                    TX
113518   5UXTY3C01L9B93229   BMW          X3                  WARWICK                   RI
113519   5UXTY3C01L9B93313   BMW          X3                  NEWARK                    NJ
113520   5UXTY3C01L9B93327   BMW          X3                  PHILADELPHIA              PA
113521   5UXTY3C01L9B93490   BMW          X3                  HARTFORD                  CT
113522   5UXTY3C01L9B95370   BMW          X3                  BOSTON                    MA
113523   5UXTY3C01L9B95398   BMW          X3                  NORFOLK                   VA
113524   5UXTY3C01L9B95403   BMW          X3                  JAMAICA                   NY
113525   5UXTY3C01L9B95448   BMW          X3                  BALTIMORE                 MD
113526   5UXTY3C01L9B95482   BMW          X3                  SAN FRANCISCO             CA
113527   5UXTY3C01L9B95501   BMW          X3                  SAN FRANCISCO             CA
113528   5UXTY3C01L9B97359   BMW          X3                  NEWARK                    NJ
113529   5UXTY3C01L9C00809   BMW          X3                  ORLANDO                   FL
113530   5UXTY3C01L9C01457   BMW          X3                  OAKLAND                   CA
113531   5UXTY3C01L9C30635   BMW          X3                  WEST PALM BEACH           FL
113532   5UXTY3C01L9C30666   BMW          X3                  ATLANTA                   GA
113533   5UXTY3C01L9C30702   BMW          X3                  CHARLOTTE                 NC
113534   5UXTY3C01L9C30750   BMW          X3                  CHARLOTTE                 NC
113535   5UXTY3C01L9C32675   BMW          X3                  NEWARK                    NJ
113536   5UXTY3C02L9B57663   BMW          X3                  LAS VEGAS                 NV
113537   5UXTY3C02L9B57677   BMW          X3                  SEATAC                    WA
113538   5UXTY3C02L9B57680   BMW          X3                  SEATAC                    WA
113539   5UXTY3C02L9B57713   BMW          X3                  SEATAC                    WA
113540   5UXTY3C02L9B58005   BMW          X3                  LOS ANGELES               CA
113541   5UXTY3C02L9B58196   BMW          X3                  FORT LAUDERDALE           FL
113542   5UXTY3C02L9B59526   BMW          X3                  SANTA ANA                 CA
113543   5UXTY3C02L9B59560   BMW          X3                  FORT LAUDERDALE           FL
113544   5UXTY3C02L9B59638   BMW          X3                  FORT MYERS                FL
113545   5UXTY3C02L9B59932   BMW          X3                  FORT MYERS                FL
113546   5UXTY3C02L9B62247   BMW          X3                  LAS VEGAS                 NV
113547   5UXTY3C02L9B62393   BMW          X3                  SEATAC                    WA
113548   5UXTY3C02L9B63849   BMW          X3                  SANTA ANA                 CA
113549   5UXTY3C02L9B63866   BMW          X3                  SEATAC                    WA
113550   5UXTY3C02L9B65312   BMW          X3                  FORT LAUDERDALE           FL
113551   5UXTY3C02L9B65343   BMW          X3                  SEATAC                    WA
113552   5UXTY3C02L9B69781   BMW          X3                  LAS VEGAS                 NV
113553   5UXTY3C02L9B69831   BMW          X3                  LOS ANGELES               CA
113554   5UXTY3C02L9B69845   BMW          X3                  LAS VEGAS                 NV
113555   5UXTY3C02L9B69893   BMW          X3                  NEWARK                    NJ
113556   5UXTY3C02L9B69943   BMW          X3                  MIAMI                     FL
113557   5UXTY3C02L9B70333   BMW          X3                  Phoenix                   AZ
113558   5UXTY3C02L9B70347   BMW          X3                  WEST PALM BEACH           FL
113559   5UXTY3C02L9B70378   BMW          X3                  HOUSTON                   TX
113560   5UXTY3C02L9B70414   BMW          X3                  AUSTIN                    TX
113561   5UXTY3C02L9B70428   BMW          X3                  DALLAS                    TX
113562   5UXTY3C02L9B70431   BMW          X3                  MYRTLE BEACH              SC
113563   5UXTY3C02L9B71837   BMW          X3                  SAN DIEGO                 CA
113564   5UXTY3C02L9B71885   BMW          X3                  RONKONKOMA                NY
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113565   5UXTY3C02L9B71904   BMW          X3                  NEWARK                    NJ
113566   5UXTY3C02L9B71935   BMW          X3                  SAN ANTONIO               TX
113567   5UXTY3C02L9B71966   BMW          X3                  HOUSTON                   TX
113568   5UXTY3C02L9B71983   BMW          X3                  HOUSTON                   TX
113569   5UXTY3C02L9B74172   BMW          X3                  HOUSTON                   TX
113570   5UXTY3C02L9B93255   BMW          X3                  BOSTON                    MA
113571   5UXTY3C02L9B93286   BMW          X3                  BOSTON                    MA
113572   5UXTY3C02L9B93322   BMW          X3                  Atlanta                   GA
113573   5UXTY3C02L9B95488   BMW          X3                  INGLEWOOD                 CA
113574   5UXTY3C02L9B96849   BMW          X3                  NORFOLK                   VA
113575   5UXTY3C02L9B96866   BMW          X3                  PHILADELPHIA              PA
113576   5UXTY3C02L9B96897   BMW          X3                  WARWICK                   RI
113577   5UXTY3C02L9B96978   BMW          X3                  NEW YORK CITY             NY
113578   5UXTY3C02L9C00785   BMW          X3                  JAMAICA                   NY
113579   5UXTY3C02L9C00804   BMW          X3                  WHITE PLAINS              NY
113580   5UXTY3C02L9C30465   BMW          X3                  WEST PALM BEACH           FL
113581   5UXTY3C02L9C30496   BMW          X3                  WEST PALM BEACH           FL
113582   5UXTY3C02L9C30627   BMW          X3                  WEST PALM BEACH           FL
113583   5UXTY3C02L9C30630   BMW          X3                  BALTIMORE                 MD
113584   5UXTY3C02L9C30644   BMW          X3                  FORT LAUDERDALE           FL
113585   5UXTY3C02L9C30661   BMW          X3                  FORT LAUDERDALE           FL
113586   5UXTY3C03L9B57669   BMW          X3                  LAS VEGAS                 NV
113587   5UXTY3C03L9B57672   BMW          X3                  LAS VEGAS                 NV
113588   5UXTY3C03L9B57736   BMW          X3                  PHOENIX                   AZ
113589   5UXTY3C03L9B58188   BMW          X3                  WEST PALM BEACH           FL
113590   5UXTY3C03L9B58191   BMW          X3                  WEST PALM BEACH           FL
113591   5UXTY3C03L9B58207   BMW          X3                  FORT MYERS                FL
113592   5UXTY3C03L9B58269   BMW          X3                  MIAMI                     FL
113593   5UXTY3C03L9B58272   BMW          X3                  WEST PALM BEACH           FL
113594   5UXTY3C03L9B58322   BMW          X3                  LOS ANGELES               CA
113595   5UXTY3C03L9B59552   BMW          X3                  FORT MYERS                FL
113596   5UXTY3C03L9B59860   BMW          X3                  WEST PALM BEACH           FL
113597   5UXTY3C03L9B63861   BMW          X3                  SEATAC                    WA
113598   5UXTY3C03L9B63875   BMW          X3                  SALT LAKE CITY            UT
113599   5UXTY3C03L9B63892   BMW          X3                  PHOENIX                   AZ
113600   5UXTY3C03L9B65318   BMW          X3                  FORT MYERS                FL
113601   5UXTY3C03L9B65321   BMW          X3                  FORT MYERS                FL
113602   5UXTY3C03L9B65335   BMW          X3                  FORT MYERS                FL
113603   5UXTY3C03L9B65349   BMW          X3                  SEATAC                    WA
113604   5UXTY3C03L9B65352   BMW          X3                  SEATAC                    WA
113605   5UXTY3C03L9B69725   BMW          X3                  SAN DIEGO                 CA
113606   5UXTY3C03L9B69756   BMW          X3                  LOS ANGELES               CA
113607   5UXTY3C03L9B69787   BMW          X3                  SAN DIEGO                 CA
113608   5UXTY3C03L9B69840   BMW          X3                  SALT LAKE CITY            UT
113609   5UXTY3C03L9B69868   BMW          X3                  SAN JOSE                  CA
113610   5UXTY3C03L9B69952   BMW          X3                  ORLANDO                   FL
113611   5UXTY3C03L9B70339   BMW          X3                  STERLING                  VA
113612   5UXTY3C03L9B70373   BMW          X3                  Houston                   TX
113613   5UXTY3C03L9B70390   BMW          X3                  HOUSTON                   TX
113614   5UXTY3C03L9B70406   BMW          X3                  CORPUS CHRISTI            TX
113615   5UXTY3C03L9B71846   BMW          X3                  LAS VEGAS                 NV
113616   5UXTY3C03L9B71863   BMW          X3                  LAS VEGAS                 NV
113617   5UXTY3C03L9B71880   BMW          X3                  TUCSON                    AZ
113618   5UXTY3C03L9B71913   BMW          X3                  Hebron                    KY
113619   5UXTY3C03L9B71975   BMW          X3                  Dallas                    TX
113620   5UXTY3C03L9B74178   BMW          X3                  Euless                    TX
113621   5UXTY3C03L9B74181   BMW          X3                  TULSA                     OK
113622   5UXTY3C03L9B74200   BMW          X3                  DALLAS                    TX
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113623   5UXTY3C03L9B75752   BMW          X3                  DFW AIRPORT               TX
113624   5UXTY3C03L9B75766   BMW          X3                  HOUSTON                   TX
113625   5UXTY3C03L9B93233   BMW          X3                  PORTLAND                  ME
113626   5UXTY3C03L9B93247   BMW          X3                  Alexandria                VA
113627   5UXTY3C03L9B93278   BMW          X3                  BOSTON                    MA
113628   5UXTY3C03L9B93281   BMW          X3                  STERLING                  VA
113629   5UXTY3C03L9B93300   BMW          X3                  HARTFORD                  CT
113630   5UXTY3C03L9B95385   BMW          X3                  NEW YORK CITY             NY
113631   5UXTY3C03L9B95421   BMW          X3                  NEWARK                    NJ
113632   5UXTY3C03L9B96861   BMW          X3                  NEWARK                    NJ
113633   5UXTY3C03L9C00813   BMW          X3                  NEW YORK CITY             NY
113634   5UXTY3C03L9C30619   BMW          X3                  WEST PALM BEACH           FL
113635   5UXTY3C03L9C30622   BMW          X3                  WEST PALM BEACH           FL
113636   5UXTY3C03L9C30636   BMW          X3                  WEST PALM BEACH           FL
113637   5UXTY3C03L9C30653   BMW          X3                  FORT LAUDERDALE           FL
113638   5UXTY3C03L9C30670   BMW          X3                  FORT MYERS                FL
113639   5UXTY3C03L9C30698   BMW          X3                  BOSTON                    MA
113640   5UXTY3C03L9C32676   BMW          X3                  CHARLOTTE                 NC
113641   5UXTY3C03L9C32693   BMW          X3                  PROVIDENCE                RI
113642   5UXTY3C03L9C63278   BMW          X3                  NEWARK                    NJ
113643   5UXTY3C03L9C63295   BMW          X3                  BOSTON                    MA
113644   5UXTY3C04L9B57650   BMW          X3                  HOUSTON                   TX
113645   5UXTY3C04L9B57681   BMW          X3                  SEATAC                    WA
113646   5UXTY3C04L9B57700   BMW          X3                  SEA TAC                   WA
113647   5UXTY3C04L9B57762   BMW          X3                  PHOENIX                   AZ
113648   5UXTY3C04L9B57812   BMW          X3                  CHICAGO                   IL
113649   5UXTY3C04L9B57972   BMW          X3                  SAN FRANCISCO             CA
113650   5UXTY3C04L9B58152   BMW          X3                  PHOENIX                   AZ
113651   5UXTY3C04L9B58183   BMW          X3                  LAS VEGAS                 NV
113652   5UXTY3C04L9B58216   BMW          X3                  FORT MYERS                FL
113653   5UXTY3C04L9B58250   BMW          X3                  FORT MYERS                FL
113654   5UXTY3C04L9B58264   BMW          X3                  FORT MYERS                FL
113655   5UXTY3C04L9B59897   BMW          X3                  FORT MYERS                FL
113656   5UXTY3C04L9B62394   BMW          X3                  KENNER                    LA
113657   5UXTY3C04L9B63853   BMW          X3                  SEATAC                    WA
113658   5UXTY3C04L9B63898   BMW          X3                  SAN DIEGO                 CA
113659   5UXTY3C04L9B63917   BMW          X3                  WEST PALM BEACH           FL
113660   5UXTY3C04L9B65327   BMW          X3                  FORT MYERS                FL
113661   5UXTY3C04L9B69717   BMW          X3                  SAN DIEGO                 CA
113662   5UXTY3C04L9B69779   BMW          X3                  San Diego                 CA
113663   5UXTY3C04L9B69796   BMW          X3                  LAS VEGAS                 NV
113664   5UXTY3C04L9B69829   BMW          X3                  LAS VEGAS                 NV
113665   5UXTY3C04L9B69863   BMW          X3                  PHOENIX                   AZ
113666   5UXTY3C04L9B69930   BMW          X3                  HARTFORD                  CT
113667   5UXTY3C04L9B69975   BMW          X3                  HOUSTON                   TX
113668   5UXTY3C04L9B70317   BMW          X3                  SAN FRANCISCO             CA
113669   5UXTY3C04L9B70334   BMW          X3                  PHOENIX                   AZ
113670   5UXTY3C04L9B70351   BMW          X3                  PHILADELPHIA              PA
113671   5UXTY3C04L9B70365   BMW          X3                  ORLANDO                   FL
113672   5UXTY3C04L9B70379   BMW          X3                  Dallas                    TX
113673   5UXTY3C04L9B70401   BMW          X3                  DALLAS                    TX
113674   5UXTY3C04L9B71838   BMW          X3                  LOS ANGELES               CA
113675   5UXTY3C04L9B71869   BMW          X3                  PHOENIX                   AZ
113676   5UXTY3C04L9B71936   BMW          X3                  Houston                   TX
113677   5UXTY3C04L9B71953   BMW          X3                  Dallas                    TX
113678   5UXTY3C04L9B74190   BMW          X3                  DALLAS                    TX
113679   5UXTY3C04L9B93273   BMW          X3                  BOSTON, LOGAN AP          MA
113680   5UXTY3C04L9B93287   BMW          X3                  MANCHESTER                US
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113681   5UXTY3C04L9B95377   BMW          X3                  FORT MYERS                FL
113682   5UXTY3C04L9B95430   BMW          X3                  WHITE PLAINS              NY
113683   5UXTY3C04L9B95444   BMW          X3                  CLEVELAND                 OH
113684   5UXTY3C04L9B95461   BMW          X3                  BROOKLYN                  NY
113685   5UXTY3C04L9B96836   BMW          X3                  BOSTON                    MA
113686   5UXTY3C04L9B96853   BMW          X3                  WARWICK                   RI
113687   5UXTY3C04L9C01436   BMW          X3                  SAN FRANCISCO             CA
113688   5UXTY3C04L9C30399   BMW          X3                  WEST PALM BEACH           FL
113689   5UXTY3C04L9C30645   BMW          X3                  WEST PALM BEACH           FL
113690   5UXTY3C04L9C30693   BMW          X3                  MILWAUKEE                 WI
113691   5UXTY3C05L9B57642   BMW          X3                  NEW YORK CITY             NY
113692   5UXTY3C05L9B57656   BMW          X3                  Los Angeles               CA
113693   5UXTY3C05L9B57723   BMW          X3                  LAKEWOOD                  WA
113694   5UXTY3C05L9B57804   BMW          X3                  ORLANDO                   FL
113695   5UXTY3C05L9B58385   BMW          X3                  INGLEWOOD                 CA
113696   5UXTY3C05L9B59567   BMW          X3                  PHOENIX                   AZ
113697   5UXTY3C05L9B59715   BMW          X3                  PORTLAND                  OR
113698   5UXTY3C05L9B59813   BMW          X3                  LAS VEGAS                 NV
113699   5UXTY3C05L9B60086   BMW          X3                  CHICAGO                   IL
113700   5UXTY3C05L9B63859   BMW          X3                  SEATAC                    WA
113701   5UXTY3C05L9B63862   BMW          X3                  SACRAMENTO                CA
113702   5UXTY3C05L9B63926   BMW          X3                  PHOENIX                   AZ
113703   5UXTY3C05L9B65322   BMW          X3                  FORT MYERS                FL
113704   5UXTY3C05L9B65353   BMW          X3                  SEATAC                    WA
113705   5UXTY3C05L9B69905   BMW          X3                  NEWARK                    NJ
113706   5UXTY3C05L9B69967   BMW          X3                  HOUSTON                   TX
113707   5UXTY3C05L9B70388   BMW          X3                  HOUSTON                   TX
113708   5UXTY3C05L9B70410   BMW          X3                  LAS VEGAS                 NV
113709   5UXTY3C05L9B70424   BMW          X3                  SAN ANTONIO               TX
113710   5UXTY3C05L9B71833   BMW          X3                  SANTA ANA                 CA
113711   5UXTY3C05L9B71881   BMW          X3                  PHOENIX                   AZ
113712   5UXTY3C05L9B71914   BMW          X3                  WEST PALM BEACH           FL
113713   5UXTY3C05L9B71928   BMW          X3                  MIAMI                     FL
113714   5UXTY3C05L9B71931   BMW          X3                  HOUSTON                   TX
113715   5UXTY3C05L9B71962   BMW          X3                  HOUSTON                   TX
113716   5UXTY3C05L9B74179   BMW          X3                  HOUSTON                   TX
113717   5UXTY3C05L9B74182   BMW          X3                  DALLAS                    TX
113718   5UXTY3C05L9B75753   BMW          X3                  Dallas                    TX
113719   5UXTY3C05L9B75767   BMW          X3                  Dallas                    TX
113720   5UXTY3C05L9B75770   BMW          X3                  DALLAS                    TX
113721   5UXTY3C05L9B93248   BMW          X3                  NEWARK                    NJ
113722   5UXTY3C05L9B93279   BMW          X3                  BOSTON                    MA
113723   5UXTY3C05L9B93296   BMW          X3                  HOUSTON                   TX
113724   5UXTY3C05L9B93301   BMW          X3                  NEWARK                    NJ
113725   5UXTY3C05L9B95386   BMW          X3                  NEWARK                    NJ
113726   5UXTY3C05L9B95405   BMW          X3                  JAMAICA                   NY
113727   5UXTY3C05L9B95422   BMW          X3                  NEWARK                    NJ
113728   5UXTY3C05L9B95467   BMW          X3                  ALBANY                    N
113729   5UXTY3C05L9B95470   BMW          X3                  SAN FRANCISCO             CA
113730   5UXTY3C05L9B95498   BMW          X3                  SAN FRANCISCO             CA
113731   5UXTY3C05L9B96859   BMW          X3                  BOSTON                    MA
113732   5UXTY3C05L9B96862   BMW          X3                  PHILADELPHIA              PA
113733   5UXTY3C05L9C30654   BMW          X3                  TAMPA                     FL
113734   5UXTY3C05L9C30685   BMW          X3                  PITTSBURGH                PA
113735   5UXTY3C05L9C32694   BMW          X3                  WARWICK                   RI
113736   5UXTY3C06L9B57732   BMW          X3                  PHOENIX                   AZ
113737   5UXTY3C06L9B58122   BMW          X3                  SOUTH SAN FRANC           CA
113738   5UXTY3C06L9B58153   BMW          X3                  PHOENIX                   AZ
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113739   5UXTY3C06L9B58556   BMW          X3                  FORT MYERS                FL
113740   5UXTY3C06L9B59982   BMW          X3                  PORTLAND                  OR
113741   5UXTY3C06L9B60095   BMW          X3                  PORTLAND                  OR
113742   5UXTY3C06L9B62400   BMW          X3                  KENNER                    LA
113743   5UXTY3C06L9B63837   BMW          X3                  SALT LAKE CITY            UT
113744   5UXTY3C06L9B63854   BMW          X3                  SEATAC                    WA
113745   5UXTY3C06L9B63885   BMW          X3                  LAS VEGAS                 NV
113746   5UXTY3C06L9B63918   BMW          X3                  WEST PALM BEACH           FL
113747   5UXTY3C06L9B63966   BMW          X3                  WEST PALM BEACH           FL
113748   5UXTY3C06L9B65331   BMW          X3                  FORT MYERS                FL
113749   5UXTY3C06L9B69847   BMW          X3                  LAS VEGAS                 NV
113750   5UXTY3C06L9B69850   BMW          X3                  LOS ANGELES               CA
113751   5UXTY3C06L9B69895   BMW          X3                  CHARLOTTE                 NC
113752   5UXTY3C06L9B70299   BMW          X3                  SAN FRANCISCO             CA
113753   5UXTY3C06L9B70318   BMW          X3                  SAN FRANCISCO             CA
113754   5UXTY3C06L9B70321   BMW          X3                  SAN DIEGO                 CA
113755   5UXTY3C06L9B70366   BMW          X3                  FORT LAUDERDALE           FL
113756   5UXTY3C06L9B70397   BMW          X3                  HOUSTON                   TX
113757   5UXTY3C06L9B70402   BMW          X3                  Houston                   TX
113758   5UXTY3C06L9B70416   BMW          X3                  Houston                   TX
113759   5UXTY3C06L9B70450   BMW          X3                  DALLAS                    TX
113760   5UXTY3C06L9B71873   BMW          X3                  PHOENIX                   AZ
113761   5UXTY3C06L9B71937   BMW          X3                  HOUSTON                   TX
113762   5UXTY3C06L9B71940   BMW          X3                  DALLAS                    TX
113763   5UXTY3C06L9B71954   BMW          X3                  DALLAS                    TX
113764   5UXTY3C06L9B74160   BMW          X3                  HOUSTON                   TX
113765   5UXTY3C06L9B74191   BMW          X3                  Leesburg                  VA
113766   5UXTY3C06L9B75745   BMW          X3                  JAMAICA                   NY
113767   5UXTY3C06L9B93226   BMW          X3                  WARWICK                   RI
113768   5UXTY3C06L9B93307   BMW          X3                  CHARLOTTE                 NC
113769   5UXTY3C06L9B93436   BMW          X3                  NEWARK                    NJ
113770   5UXTY3C06L9B95364   BMW          X3                  BOSTON                    MA
113771   5UXTY3C06L9B95431   BMW          X3                  WEST PALM BEACH           FL
113772   5UXTY3C06L9B95476   BMW          X3                  LOS ANGELES AP            CA
113773   5UXTY3C06L9B96837   BMW          X3                  PITTSBURGH                PA
113774   5UXTY3C06L9B97440   BMW          X3                  OZONE PARK                NY
113775   5UXTY3C06L9C00790   BMW          X3                  NEW YORK CITY             NY
113776   5UXTY3C06L9C01454   BMW          X3                  SAN FRANCISCO             CA
113777   5UXTY3C06L9C30632   BMW          X3                  TAMPA                     US
113778   5UXTY3C06L9C32655   BMW          X3                  CHARLOTTE                 NC
113779   5UXTY3C06L9C32669   BMW          X3                  CHARLOTTE                 NC
113780   5UXTY3C07L9B57660   BMW          X3                  ONTARIO                   CA
113781   5UXTY3C07L9B57674   BMW          X3                  PORTLAND                  OR
113782   5UXTY3C07L9B57691   BMW          X3                  SEATAC                    WA
113783   5UXTY3C07L9B57707   BMW          X3                  SEA TAC                   WA
113784   5UXTY3C07L9B57741   BMW          X3                  PHOENIX                   AZ
113785   5UXTY3C07L9B57786   BMW          X3                  TUCSON                    AZ
113786   5UXTY3C07L9B58243   BMW          X3                  FORT MYERS                FL
113787   5UXTY3C07L9B59554   BMW          X3                  SEATAC                    WA
113788   5UXTY3C07L9B59778   BMW          X3                  PORTLAND                  OR
113789   5UXTY3C07L9B63846   BMW          X3                  SEATAC                    WA
113790   5UXTY3C07L9B63880   BMW          X3                  PHOENIX                   AZ
113791   5UXTY3C07L9B63894   BMW          X3                  PHOENIX                   AZ
113792   5UXTY3C07L9B63913   BMW          X3                  WEST PALM BEACH           FL
113793   5UXTY3C07L9B63927   BMW          X3                  WEST PALM BEACH           FL
113794   5UXTY3C07L9B64043   BMW          X3                  ORLANDO                   FL
113795   5UXTY3C07L9B65323   BMW          X3                  FORT MYERS                FL
113796   5UXTY3C07L9B65337   BMW          X3                  FORT LAUDERDALE           FL
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113797   5UXTY3C07L9B69792   BMW          X3                  SAN DIEGO                 CA
113798   5UXTY3C07L9B69811   BMW          X3                  LAS VEGAS                 NV
113799   5UXTY3C07L9B69887   BMW          X3                  PHOENIX                   AZ
113800   5UXTY3C07L9B69954   BMW          X3                  HOUSTON                   TX
113801   5UXTY3C07L9B70389   BMW          X3                  DALLAS                    TX
113802   5UXTY3C07L9B70439   BMW          X3                  DFW AIRPORT               TX
113803   5UXTY3C07L9B71865   BMW          X3                  LAS VEGAS                 NV
113804   5UXTY3C07L9B71882   BMW          X3                  PHOENIX                   AZ
113805   5UXTY3C07L9B71901   BMW          X3                  PHILADELPHIA              PA
113806   5UXTY3C07L9B71932   BMW          X3                  HOUSTON                   TX
113807   5UXTY3C07L9B71980   BMW          X3                  DALLAS                    TX
113808   5UXTY3C07L9B93235   BMW          X3                  TALLAHASSEE               F
113809   5UXTY3C07L9B93249   BMW          X3                  BOSTON                    MA
113810   5UXTY3C07L9B93316   BMW          X3                  NEWARK                    NJ
113811   5UXTY3C07L9B95423   BMW          X3                  BOSTON                    MA
113812   5UXTY3C07L9B96846   BMW          X3                  MANCHESTER                US
113813   5UXTY3C07L9C00815   BMW          X3                  NEWARK                    NJ
113814   5UXTY3C07L9C01432   BMW          X3                  CHICAGO                   IL
113815   5UXTY3C07L9C24127   BMW          X3                  DENVER                    CO
113816   5UXTY3C07L9C30624   BMW          X3                  WEST PALM BEACH           FL
113817   5UXTY3C07L9C30672   BMW          X3                  CHARLOTTE                 US
113818   5UXTY3C07L9C32664   BMW          X3                  CHARLOTTE                 NC
113819   5UXTY3C07L9C32678   BMW          X3                  CHARLOTTE                 NC
113820   5UXTY3C08L9B57635   BMW          X3                  LOS ANGELES               CA
113821   5UXTY3C08L9B57652   BMW          X3                  LOS ANGELES               CA
113822   5UXTY3C08L9B57683   BMW          X3                  SEATAC                    WA
113823   5UXTY3C08L9B57716   BMW          X3                  SEATAC                    WA
113824   5UXTY3C08L9B57747   BMW          X3                  PHOENIX                   AZ
113825   5UXTY3C08L9B57750   BMW          X3                  PHOENIX                   AZ
113826   5UXTY3C08L9B57764   BMW          X3                  HOUSTON                   TX
113827   5UXTY3C08L9B57795   BMW          X3                  NASHVILLE                 TN
113828   5UXTY3C08L9B59501   BMW          X3                  SAN FRANCISCO             CA
113829   5UXTY3C08L9B59708   BMW          X3                  FORT MYERS                FL
113830   5UXTY3C08L9B62396   BMW          X3                  KENNER                    LA
113831   5UXTY3C08L9B62401   BMW          X3                  KENNER                    LA
113832   5UXTY3C08L9B63838   BMW          X3                  LOS ANGELES               CA
113833   5UXTY3C08L9B63841   BMW          X3                  SEA TAC                   WA
113834   5UXTY3C08L9B63872   BMW          X3                  PHOENIX                   AZ
113835   5UXTY3C08L9B63905   BMW          X3                  PHOENIX                   AZ
113836   5UXTY3C08L9B63922   BMW          X3                  WEST PALM BEACH           FL
113837   5UXTY3C08L9B63984   BMW          X3                  FORT MYERS                FL
113838   5UXTY3C08L9B65329   BMW          X3                  FORT MYERS                FL
113839   5UXTY3C08L9B69753   BMW          X3                  SAN FRANCISCO             CA
113840   5UXTY3C08L9B69784   BMW          X3                  SALT LAKE CITY            UT
113841   5UXTY3C08L9B69803   BMW          X3                  LAS VEGAS                 NV
113842   5UXTY3C08L9B69834   BMW          X3                  LAS VEGAS                 NV
113843   5UXTY3C08L9B69865   BMW          X3                  TUCSON                    AZ
113844   5UXTY3C08L9B69901   BMW          X3                  BOSTON                    MA
113845   5UXTY3C08L9B69932   BMW          X3                  BALTIMORE                 MD
113846   5UXTY3C08L9B70336   BMW          X3                  PHOENIX                   AZ
113847   5UXTY3C08L9B70370   BMW          X3                  Houston                   TX
113848   5UXTY3C08L9B70420   BMW          X3                  HOUSTON                   TX
113849   5UXTY3C08L9B70434   BMW          X3                  DALLAS                    TX
113850   5UXTY3C08L9B71843   BMW          X3                  PHOENIX, AZ               AZ
113851   5UXTY3C08L9B71874   BMW          X3                  DENVER                    CO
113852   5UXTY3C08L9B71907   BMW          X3                  WARWICK                   RI
113853   5UXTY3C08L9B71924   BMW          X3                  FORT MYERS                FL
113854   5UXTY3C08L9B71969   BMW          X3                  DALLAS                    TX
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113855   5UXTY3C08L9B74158   BMW          X3                  DALLAS                    TX
113856   5UXTY3C08L9B93311   BMW          X3                  SAVANNAH                  GA
113857   5UXTY3C08L9B93325   BMW          X3                  PHILADELPHIA              US
113858   5UXTY3C08L9B95379   BMW          X3                  CORONA                    NY
113859   5UXTY3C08L9B95480   BMW          X1                  SAN FRANCISCO             CA
113860   5UXTY3C08L9B96855   BMW          X3                  RALEIGH                   NC
113861   5UXTY3C08L9B96869   BMW          X3                  BOSTON                    MA
113862   5UXTY3C08L9B97004   BMW          X3                  PHILADELPHIA              PA
113863   5UXTY3C08L9C00788   BMW          X3                  GRAND RAPIDS              MI
113864   5UXTY3C08L9C00810   BMW          X3                  ALEXANDRIA                VA
113865   5UXTY3C08L9C30647   BMW          X3                  WEST PALM BEACH           FL
113866   5UXTY3C08L9C30650   BMW          X3                  FORT MYERS                FL
113867   5UXTY3C08L9C30664   BMW          X3                  GREENSBORO                NC
113868   5UXTY3C08L9C30681   BMW          X3                  CHARLOTTE                 NC
113869   5UXTY3C08L9C30714   BMW          X3                  BIRMINGHAM                AL
113870   5UXTY3C08L9C32673   BMW          X3                  CHARLOTTE                 NC
113871   5UXTY3C08L9C32687   BMW          X3                  STERLING                  VA
113872   5UXTY3C08L9C32706   BMW          X3                  RALEIGH                   NC
113873   5UXTY3C08L9C63275   BMW          X3                  WARWICK                   RI
113874   5UXTY3C09L9B57630   BMW          X3                  LOS ANGELES               CA
113875   5UXTY3C09L9B57658   BMW          X3                  SAN DIEGO                 CA
113876   5UXTY3C09L9B57739   BMW          X3                  LOS ANGELES               CA
113877   5UXTY3C09L9B57742   BMW          X3                  STERLING                  VA
113878   5UXTY3C09L9B57756   BMW          X3                  PHOENIX                   AZ
113879   5UXTY3C09L9B57773   BMW          X3                  PHOENIX                   AZ
113880   5UXTY3C09L9B62388   BMW          X3                  ORANGE COUNTY             CA
113881   5UXTY3C09L9B63864   BMW          X3                  SEATAC                    WA
113882   5UXTY3C09L9B63878   BMW          X3                  PHOENIX                   AZ
113883   5UXTY3C09L9B63900   BMW          X3                  PHOENIX                   AZ
113884   5UXTY3C09L9B64013   BMW          X3                  FORT MYERS                FL
113885   5UXTY3C09L9B65341   BMW          X3                  SEATAC                    WA
113886   5UXTY3C09L9B65355   BMW          X3                  SEATAC                    WA
113887   5UXTY3C09L9B69731   BMW          X3                  SAN JOSE                  CA
113888   5UXTY3C09L9B69759   BMW          X3                  SAN DIEGO                 CA
113889   5UXTY3C09L9B69857   BMW          X3                  SALT LAKE CITY            US
113890   5UXTY3C09L9B70247   BMW          X3                  Los Angeles               CA
113891   5UXTY3C09L9B70328   BMW          X3                  LOS ANGELES               CA
113892   5UXTY3C09L9B70345   BMW          X3                  BALTIMORE                 MD
113893   5UXTY3C09L9B70359   BMW          X3                  DANIA BEACH               FL
113894   5UXTY3C09L9B70376   BMW          X3                  HOUSTON                   TX
113895   5UXTY3C09L9B70409   BMW          X3                  HOUSTON                   TX
113896   5UXTY3C09L9B70412   BMW          X3                  DALLAS                    TX
113897   5UXTY3C09L9B70443   BMW          X3                  HOUSTON                   TX
113898   5UXTY3C09L9B71849   BMW          X3                  SAN FRANCISCO             CA
113899   5UXTY3C09L9B71852   BMW          X3                  LAS VEGAS                 NV
113900   5UXTY3C09L9B71981   BMW          X3                  Dallas                    TX
113901   5UXTY3C09L9B74170   BMW          X3                  HOUSTON                   TX
113902   5UXTY3C09L9B93298   BMW          X3                  PORTLAND                  ME
113903   5UXTY3C09L9B93317   BMW          X3                  WARWICK                   RI
113904   5UXTY3C09L9B93544   BMW          X3                  BOSTON                    MA
113905   5UXTY3C09L9B95231   BMW          X3                  CHICAGO                   IL
113906   5UXTY3C09L9B95441   BMW          X3                  BOSTON                    MA
113907   5UXTY3C09L9B95469   BMW          X3                  SAN JOSE                  CA
113908   5UXTY3C09L9C00797   BMW          X3                  NEWARK                    NJ
113909   5UXTY3C09L9C00802   BMW          X3                  FORT MYERS                FL
113910   5UXTY3C09L9C01433   BMW          X3                  NEWARK                    NJ
113911   5UXTY3C09L9C30639   BMW          X3                  WEST PALM BEACH           FL
113912   5UXTY3C09L9C30642   BMW          X3                  WEST PALM BEACH           FL
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113913   5UXTY3C09L9C30673   BMW          X3                  CHARLOTTE                 NC
113914   5UXTY3C09L9C30690   BMW          X3                  GREENVILLE                NC
113915   5UXTY3C09L9C32648   BMW          X3                  NEW BERN                  NC
113916   5UXTY3C09L9C32651   BMW          X3                  GREENSBORO                NC
113917   5UXTY3C09L9C32679   BMW          X3                  WILMINGTON                NC
113918   5UXTY3C09L9C32682   BMW          X3                  GREENSBORO                NC
113919   5UXTY3C09L9C32696   BMW          X3                  EGG HARBOR TOWN           NJ
113920   5UXTY3C0XL9B57653   BMW          X3                  Los Angeles               CA
113921   5UXTY3C0XL9B57698   BMW          X3                  SEATAC                    WA
113922   5UXTY3C0XL9B57703   BMW          X3                  SEATAC                    WA
113923   5UXTY3C0XL9B57748   BMW          X3                  SAN DIEGO                 CA
113924   5UXTY3C0XL9B57779   BMW          X3                  TUCSON                    AZ
113925   5UXTY3C0XL9B57782   BMW          X3                  OAKLAND                   CA
113926   5UXTY3C0XL9B58155   BMW          X3                  INGLEWOOD                 CA
113927   5UXTY3C0XL9B58446   BMW          X3                  WEST PALM BEACH           FL
113928   5UXTY3C0XL9B59547   BMW          X3                  KANSAS CITY               MO
113929   5UXTY3C0XL9B59712   BMW          X3                  FORT MYERS                FL
113930   5UXTY3C0XL9B59810   BMW          X3                  WEST PALM BEACH           FL
113931   5UXTY3C0XL9B59841   BMW          X3                  SEA TAC                   WA
113932   5UXTY3C0XL9B63873   BMW          X3                  PHOENIX                   AZ
113933   5UXTY3C0XL9B63887   BMW          X3                  PHOENIX                   AZ
113934   5UXTY3C0XL9B63890   BMW          X3                  PHOENIX                   AZ
113935   5UXTY3C0XL9B65333   BMW          X3                  SEATAC                    WA
113936   5UXTY3C0XL9B65347   BMW          X3                  PORTLAND                  OR
113937   5UXTY3C0XL9B65350   BMW          X3                  PORTLAND                  OR
113938   5UXTY3C0XL9B69821   BMW          X3                  DENVER                    CO
113939   5UXTY3C0XL9B69883   BMW          X3                  PHOENIX                   AZ
113940   5UXTY3C0XL9B69978   BMW          X3                  HOUSTON                   TX
113941   5UXTY3C0XL9B70323   BMW          X3                  LOS ANGELES               CA
113942   5UXTY3C0XL9B70354   BMW          X3                  FORT LAUDERDALE           FL
113943   5UXTY3C0XL9B70404   BMW          X3                  HOUSTON                   TX
113944   5UXTY3C0XL9B70449   BMW          X3                  SAN ANTONIO               TX
113945   5UXTY3C0XL9B71830   BMW          X3                  SAN DIEGO                 CA
113946   5UXTY3C0XL9B71858   BMW          X3                  LOS ANGELES AP            CA
113947   5UXTY3C0XL9B71861   BMW          X3                  LOS ANGELES               CA
113948   5UXTY3C0XL9B71892   BMW          X3                  PORTLAND                  ME
113949   5UXTY3C0XL9B71942   BMW          X3                  HOUSTON                   TX
113950   5UXTY3C0XL9B71973   BMW          X3                  DALLAS                    TX
113951   5UXTY3C0XL9B74145   BMW          X3                  HOUSTON                   TX
113952   5UXTY3C0XL9B74176   BMW          X3                  HOUSTON                   TX
113953   5UXTY3C0XL9B75764   BMW          X3                  AUSTIN                    TX
113954   5UXTY3C0XL9B93262   BMW          X3                  BOSTON                    MA
113955   5UXTY3C0XL9B93293   BMW          X3                  BOSTON                    MA
113956   5UXTY3C0XL9B93309   BMW          X3                  Medford                   NY
113957   5UXTY3C0XL9B95366   BMW          X3                  JAMAICA                   NY
113958   5UXTY3C0XL9B95464   BMW          X3                  NEWARK                    NJ
113959   5UXTY3C0XL9B95500   BMW          X3                  LOS ANGELES               CA
113960   5UXTY3C0XL9B96842   BMW          X3                  BOSTON                    MA
113961   5UXTY3C0XL9B96856   BMW          X3                  BOSTON                    MA
113962   5UXTY3C0XL9B96873   BMW          X3                  NORFOLK                   VA
113963   5UXTY3C0XL9B96923   BMW          X3                  NEWARK                    NJ
113964   5UXTY3C0XL9C01439   BMW          X3                  SAN FRANCISCO             CA
113965   5UXTY3C0XL9C01456   BMW          X3                  SAN FRANCISCO             CA
113966   5UXTY3C0XL9C30567   BMW          X3                  WEST PALM BEACH           FL
113967   5UXTY3C0XL9C30617   BMW          X3                  WEST PALM BEACH           FL
113968   5UXTY3C0XL9C30620   BMW          X3                  PENSACOLA                 FL
113969   5UXTY3C0XL9C30648   BMW          X3                  MIAMI                     FL
113970   5UXTY3C0XL9C30679   BMW          X3                  ORLANDO                   FL
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113971   5UXTY3C0XL9C30682   BMW         X3                  KNOXVILLE                 TN
113972   5UXTY3C0XL9C30696   BMW         X3                  BOSTON                    MA
113973   5UXTY3C0XL9C30701   BMW         X3                  BOSTON                    MA
113974   5UXTY3C0XL9C32657   BMW         X3                  CHARLOTTE                 NC
113975   5UXTY3C0XL9C32691   BMW         X3                  MANCHESTER                US
113976   5UXTY3C0XL9C32724   BMW         X3                  BOSTON                    MA
113977   5XXGM4A70FG469117   Kia         OPTIMA              SAN JOSE                  CA
113978   5XXGM4A75FG512057   Kia         OPTIMA              Elgin                     IL
113979   5XXGN4A70FG510827   Kia         OPTIMA              HANOVER                   MD
113980   5XXGT4L10GG055655   Kia         OPTIMA              BURBANK                   CA
113981   5XXGT4L15GG033456   Kia         OPTIMA              ONTARIO                   CA
113982   5XXGT4L30GG022950   Kia         OPTIMA              SANTA ANA                 CA
113983   5XXGT4L30GG035908   Kia         OPTIMA              SANTA ANA                 CA
113984   5XXGT4L30GG039618   Kia         OPTIMA              Torrance                  CA
113985   5XXGT4L30HG164961   Kia         OPTIMA              Johnston                  RI
113986   5XXGT4L30HG166855   Kia         OPTIMA              Tolleson                  AZ
113987   5XXGT4L30HG167438   Kia         OPTIMA              Tolleson                  AZ
113988   5XXGT4L30HG167682   Kia         OPTIMA              San Leandro               CA
113989   5XXGT4L30HG168458   Kia         OPTIMA              Davie                     FL
113990   5XXGT4L30HG172462   Kia         OPTIMA              MARIETTA                  GA
113991   5XXGT4L30JG185153   Kia         OPTIMA              BURBANK                   CA
113992   5XXGT4L30JG186934   Kia         OPTIMA              Burien                    WA
113993   5XXGT4L30JG189896   Kia         OPTIMA              BURBANK                   CA
113994   5XXGT4L30JG195357   Kia         OPTIMA              Kent                      WA
113995   5XXGT4L30JG196797   Kia         OPTIMA              Tampa                     FL
113996   5XXGT4L30JG197223   Kia         OPTIMA              Atlanta                   GA
113997   5XXGT4L30JG199571   Kia         OPTIMA              SAN JOSE                  CA
113998   5XXGT4L30JG199845   Kia         OPTIMA              SALT LAKE CITY            US
113999   5XXGT4L30JG200847   Kia         OPTIMA              Portland                  OR
114000   5XXGT4L30JG209726   Kia         OPTIMA              FLORIDA DEALER DIR        FL
114001   5XXGT4L30JG211217   Kia         OPTIMA              CHICAGO                   IL
114002   5XXGT4L30JG211718   Kia         OPTIMA              Dallas                    TX
114003   5XXGT4L30JG213002   Kia         OPTIMA              Atlanta                   GA
114004   5XXGT4L30JG213808   Kia         OPTIMA              HARVEY                    LA
114005   5XXGT4L30JG213839   Kia         OPTIMA              STERLING                  VA
114006   5XXGT4L30JG217339   Kia         OPTIMA              LOS ANGELES               CA
114007   5XXGT4L30JG218670   Kia         OPTIMA              CHANDLER                  AZ
114008   5XXGT4L30JG220483   Kia         OPTIMA              NEW ENGLAND DEALER        MA
114009   5XXGT4L30JG221844   Kia         OPTIMA              DALLAS                    TX
114010   5XXGT4L30JG223030   Kia         OPTIMA              ORLANDO                   FL
114011   5XXGT4L30JG223447   Kia         OPTIMA              Bridgeton                 MO
114012   5XXGT4L30JG226672   Kia         OPTIMA              Dania                     FL
114013   5XXGT4L30JG228969   Kia         OPTIMA              WEST PALM BEACH           FL
114014   5XXGT4L30JG229068   Kia         OPTIMA              Baltimore                 MD
114015   5XXGT4L30JG230012   Kia         OPTIMA              CHANDLER                  AZ
114016   5XXGT4L30JG235792   Kia         OPTIMA              KENNER                    LA
114017   5XXGT4L30JG236022   Kia         OPTIMA              CHICAGO                   IL
114018   5XXGT4L30JG239471   Kia         OPTIMA              SOUTH BURLINGTO           VT
114019   5XXGT4L30JG248929   Kia         OPTIMA              DES MOINES                IA
114020   5XXGT4L30KG275291   Kia         OPTIMA              Norwalk                   CA
114021   5XXGT4L30KG275355   Kia         OPTIMA              CHARLOTTE                 NC
114022   5XXGT4L30KG275467   Kia         OPTIMA              SALT LAKE CITY            US
114023   5XXGT4L30KG275470   Kia         OPTIMA              NORTH PAC                 CA
114024   5XXGT4L30KG275551   Kia         OPTIMA              INDIANAPOLIS              IN
114025   5XXGT4L30KG275596   Kia         OPTIMA              PHOENIX                   AZ
114026   5XXGT4L30KG275615   Kia         OPTIMA              Denver                    CO
114027   5XXGT4L30KG275632   Kia         OPTIMA              Sacramento                CA
114028   5XXGT4L30KG275761   Kia         OPTIMA              PORTLAND                  OR
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114029   5XXGT4L30KG275842   Kia          OPTIMA              LOS ANGELES               CA
114030   5XXGT4L30KG275906   Kia          OPTIMA              BURBANK                   CA
114031   5XXGT4L30KG275985   Kia          OPTIMA              Ventura                   CA
114032   5XXGT4L30KG275999   Kia          OPTIMA              SACRAMENTO                CA
114033   5XXGT4L30KG276098   Kia          OPTIMA              SEATAC                    WA
114034   5XXGT4L30KG276232   Kia          OPTIMA              Jacksonville              FL
114035   5XXGT4L30KG276389   Kia          OPTIMA              NORTH PAC                 CA
114036   5XXGT4L30KG276392   Kia          OPTIMA              LAS VEGAS                 NV
114037   5XXGT4L30KG276473   Kia          OPTIMA              SALT LAKE CITY            US
114038   5XXGT4L30KG276523   Kia          OPTIMA              BURBANK                   CA
114039   5XXGT4L30KG276537   Kia          OPTIMA              Sacramento                CA
114040   5XXGT4L30KG276540   Kia          OPTIMA              OAKLAND                   CA
114041   5XXGT4L30KG276747   Kia          OPTIMA              Atlanta                   GA
114042   5XXGT4L30KG276764   Kia          OPTIMA              Atlanta                   GA
114043   5XXGT4L30KG276781   Kia          OPTIMA              LOS ANGELES               CA
114044   5XXGT4L30KG276909   Kia          OPTIMA              ROSEVILLE                 CA
114045   5XXGT4L30KG276912   Kia          OPTIMA              SAN JOSE                  CA
114046   5XXGT4L30KG276926   Kia          OPTIMA              LAS VEGAS                 NV
114047   5XXGT4L30KG277011   Kia          OPTIMA              SEATAC                    WA
114048   5XXGT4L30KG277171   Kia          OPTIMA              HOUSTON                   TX
114049   5XXGT4L30KG277235   Kia          OPTIMA              SAN JOSE                  CA
114050   5XXGT4L30KG277252   Kia          OPTIMA              Phoenix                   AZ
114051   5XXGT4L30KG277347   Kia          OPTIMA              SAN JOSE                  CA
114052   5XXGT4L30KG277476   Kia          OPTIMA              PORTLAND                  OR
114053   5XXGT4L30KG277512   Kia          OPTIMA              RONKONKOMA                NY
114054   5XXGT4L30KG277719   Kia          OPTIMA              SAN ANTONIO               TX
114055   5XXGT4L30KG277722   Kia          OPTIMA              SAN JOSE                  CA
114056   5XXGT4L30KG277851   Kia          OPTIMA              SACRAMENTO                CA
114057   5XXGT4L30KG277879   Kia          OPTIMA              SEATAC                    WA
114058   5XXGT4L30KG277896   Kia          OPTIMA              NORTH PAC                 CA
114059   5XXGT4L30KG277915   Kia          OPTIMA              BURBANK                   CA
114060   5XXGT4L30KG278336   Kia          OPTIMA              GREENVILLE                NC
114061   5XXGT4L30KG278739   Kia          OPTIMA              SANTA CLARA               CA
114062   5XXGT4L30KG278952   Kia          OPTIMA              SAN JOSE                  CA
114063   5XXGT4L30KG279194   Kia          OPTIMA              Burlingame                CA
114064   5XXGT4L30KG279311   Kia          OPTIMA              SAN FRANCISCO             CA
114065   5XXGT4L30KG279339   Kia          OPTIMA              Live Oak                  TX
114066   5XXGT4L30KG279485   Kia          OPTIMA              TAMPA                     FL
114067   5XXGT4L30KG279650   Kia          OPTIMA              FORT LAUDERDALE           FL
114068   5XXGT4L30KG279714   Kia          OPTIMA              Smithtown                 NY
114069   5XXGT4L30KG279941   Kia          OPTIMA              STERLING                  VA
114070   5XXGT4L30KG281530   Kia          OPTIMA              Elkridge                  MD
114071   5XXGT4L30KG281866   Kia          OPTIMA              Elkridge                  MD
114072   5XXGT4L30KG281933   Kia          OPTIMA              GRAND RAPIDS              MI
114073   5XXGT4L30KG281981   Kia          OPTIMA              Detroit                   MI
114074   5XXGT4L30KG282029   Kia          OPTIMA              FORT LAUDERDALE           FL
114075   5XXGT4L30KG282113   Kia          OPTIMA              Jamaica                   NY
114076   5XXGT4L30KG282189   Kia          OPTIMA              BUTLER                    PA
114077   5XXGT4L30KG282628   Kia          OPTIMA              Fredericksburg            VA
114078   5XXGT4L30KG282998   Kia          OPTIMA              LOS ANGELES               CA
114079   5XXGT4L30KG283567   Kia          OPTIMA              SANTA ANA                 CA
114080   5XXGT4L30KG283617   Kia          OPTIMA              CHICAGO                   IL
114081   5XXGT4L30KG283620   Kia          OPTIMA              CHARLOTTE                 NC
114082   5XXGT4L30KG283648   Kia          OPTIMA              Atlanta                   GA
114083   5XXGT4L30KG283651   Kia          OPTIMA              Clarksville               IN
114084   5XXGT4L30KG283732   Kia          OPTIMA              SAN DIEGO                 CA
114085   5XXGT4L30KG283827   Kia          OPTIMA              STERLING                  VA
114086   5XXGT4L30KG283844   Kia          OPTIMA              SACRAMENTO                CA
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114087   5XXGT4L30KG283889   Kia          OPTIMA              San Antonio               TX
114088   5XXGT4L30KG283939   Kia          OPTIMA              Mira Loma                 CA
114089   5XXGT4L30KG284041   Kia          OPTIMA              OAKLAND                   CA
114090   5XXGT4L30KG284055   Kia          OPTIMA              FLORIDA DEALER DIR        FL
114091   5XXGT4L30KG284069   Kia          OPTIMA              FORT MYERS                FL
114092   5XXGT4L30KG284072   Kia          OPTIMA              TAMPA                     FL
114093   5XXGT4L30KG284119   Kia          OPTIMA              ORANGE COUNTY             CA
114094   5XXGT4L30KG284198   Kia          OPTIMA              Anaheim                   CA
114095   5XXGT4L30KG284203   Kia          OPTIMA              FRESNO                    CA
114096   5XXGT4L30KG284248   Kia          OPTIMA              RENO                      NV
114097   5XXGT4L30KG284301   Kia          OPTIMA              MINNEAPOLIS               MN
114098   5XXGT4L30KG284346   Kia          OPTIMA              BURBANK                   CA
114099   5XXGT4L30KG284623   Kia          OPTIMA              PHILADELPHIA              PA
114100   5XXGT4L30KG284671   Kia          OPTIMA              Phoenix                   AZ
114101   5XXGT4L30KG285156   Kia          OPTIMA              OAKLAND                   CA
114102   5XXGT4L30KG285285   Kia          OPTIMA              ORANGE COUNTY             CA
114103   5XXGT4L30KG285299   Kia          OPTIMA              Salt Lake City            UT
114104   5XXGT4L30KG285514   Kia          OPTIMA              LOS ANGELES AP            CA
114105   5XXGT4L30KG285691   Kia          OPTIMA              SALT LAKE CITY            UT
114106   5XXGT4L30KG286274   Kia          OPTIMA              BOISE                     US
114107   5XXGT4L30KG286324   Kia          OPTIMA              ONTARIO                   CA
114108   5XXGT4L30KG286341   Kia          OPTIMA              OAKLAND                   CA
114109   5XXGT4L30KG286372   Kia          OPTIMA              PHOENIX                   AZ
114110   5XXGT4L30KG286453   Kia          OPTIMA              KENNER                    LA
114111   5XXGT4L30KG286517   Kia          OPTIMA              Phoenix                   AZ
114112   5XXGT4L30KG286520   Kia          OPTIMA              PHOENIX                   AZ
114113   5XXGT4L30KG286744   Kia          OPTIMA              SALT LAKE CITY            US
114114   5XXGT4L30KG286890   Kia          OPTIMA              PORTLAND                  OR
114115   5XXGT4L30KG287439   Kia          OPTIMA              TUCSON                    AZ
114116   5XXGT4L30KG287652   Kia          OPTIMA              SACRAMENTO                CA
114117   5XXGT4L30KG287666   Kia          OPTIMA              PHOENIX                   AZ
114118   5XXGT4L30KG288297   Kia          OPTIMA              Norwalk                   CA
114119   5XXGT4L30KG288641   Kia          OPTIMA              PHOENIX                   AZ
114120   5XXGT4L30KG288719   Kia          OPTIMA              HOUSTON                   TX
114121   5XXGT4L30KG289269   Kia          OPTIMA              LAS VEGAS                 NV
114122   5XXGT4L30KG289367   Kia          OPTIMA              San Antonio               TX
114123   5XXGT4L30KG289384   Kia          OPTIMA              MEMPHIS                   TN
114124   5XXGT4L30KG289420   Kia          OPTIMA              SAN JOSE                  CA
114125   5XXGT4L30KG289448   Kia          OPTIMA              DALLAS                    TX
114126   5XXGT4L30KG289451   Kia          OPTIMA              WARWICK                   RI
114127   5XXGT4L30KG289577   Kia          OPTIMA              WEST PALM BEACH           FL
114128   5XXGT4L30KG289580   Kia          OPTIMA              SEATAC                    WA
114129   5XXGT4L30KG289613   Kia          OPTIMA              PHOENIX                   AZ
114130   5XXGT4L30KG289742   Kia          OPTIMA              SALT LAKE CITY            US
114131   5XXGT4L30KG289790   Kia          OPTIMA              SANTA ANA                 CA
114132   5XXGT4L30KG289918   Kia          OPTIMA              SAN DIEGO                 CA
114133   5XXGT4L30KG289966   Kia          OPTIMA              LOS ANGELES               CA
114134   5XXGT4L30KG289983   Kia          OPTIMA              EL PASO                   US
114135   5XXGT4L30KG290096   Kia          OPTIMA              MIAMI                     FL
114136   5XXGT4L30KG290244   Kia          OPTIMA              Manheim                   PA
114137   5XXGT4L30KG290292   Kia          OPTIMA              Jacksonville              FL
114138   5XXGT4L30KG290373   Kia          OPTIMA              PHOENIX                   AZ
114139   5XXGT4L30KG290714   Kia          OPTIMA              TAMPA                     FL
114140   5XXGT4L30KG290745   Kia          OPTIMA              Rockville Centr           NY
114141   5XXGT4L30KG290762   Kia          OPTIMA              SEATAC                    WA
114142   5XXGT4L30KG290793   Kia          OPTIMA              LOS ANGELES AP            CA
114143   5XXGT4L30KG290809   Kia          OPTIMA              PHOENIX                   AZ
114144   5XXGT4L30KG290938   Kia          OPTIMA              San Antonio               TX
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114145   5XXGT4L30KG290986   Kia          OPTIMA              Clarksville               IN
114146   5XXGT4L30KG291023   Kia          OPTIMA              Scottsdale                AZ
114147   5XXGT4L30KG291071   Kia          OPTIMA              LOS ANGELES               CA
114148   5XXGT4L30KG291118   Kia          OPTIMA              MARIETTA                  GA
114149   5XXGT4L30KG291135   Kia          OPTIMA              PHOENIX                   AZ
114150   5XXGT4L30KG291572   Kia          OPTIMA              WEST PALM BEACH           FL
114151   5XXGT4L30KG291636   Kia          OPTIMA              AUSTIN                    TX
114152   5XXGT4L30KG291782   Kia          OPTIMA              SACRAMENTO                CA
114153   5XXGT4L30KG291944   Kia          OPTIMA              Woodhaven                 MI
114154   5XXGT4L30KG291961   Kia          OPTIMA              DALLAS                    TX
114155   5XXGT4L30KG292057   Kia          OPTIMA              MIAMI                     FL
114156   5XXGT4L30KG292320   Kia          OPTIMA              Smithtown                 NY
114157   5XXGT4L30KG292656   Kia          OPTIMA              Jacksonville              FL
114158   5XXGT4L30KG292673   Kia          OPTIMA              ATLANTA                   GA
114159   5XXGT4L30KG292737   Kia          OPTIMA              WEST PALM BEACH           FL
114160   5XXGT4L30KG293094   Kia          OPTIMA              KNOXVILLE                 TN
114161   5XXGT4L30KG293158   Kia          OPTIMA              DALLAS                    TX
114162   5XXGT4L30KG293161   Kia          OPTIMA              KENNER                    LA
114163   5XXGT4L30KG293175   Kia          OPTIMA              SAN ANTONIO               TX
114164   5XXGT4L30KG294021   Kia          OPTIMA              SAINT PAUL                MN
114165   5XXGT4L30KG299896   Kia          OPTIMA              Manheim                   PA
114166   5XXGT4L30KG311500   Kia          OPTIMA              Austell                   GA
114167   5XXGT4L30KG317832   Kia          OPTIMA              WEST PALM BEACH           FL
114168   5XXGT4L30KG321699   Kia          OPTIMA              NASHVILLE                 TN
114169   5XXGT4L30KG321766   Kia          OPTIMA              SALT LAKE CITY            UT
114170   5XXGT4L30KG323291   Kia          OPTIMA              DES MOINES                IA
114171   5XXGT4L30KG324506   Kia          OPTIMA              Portland                  OR
114172   5XXGT4L30KG324862   Kia          OPTIMA              SAINT PAUL                MN
114173   5XXGT4L30KG326949   Kia          OPTIMA              CLOVIS                    CA
114174   5XXGT4L30KG327406   Kia          OPTIMA              LUBBOCK                   TX
114175   5XXGT4L30KG329110   Kia          OPTIMA              Beaverton                 OR
114176   5XXGT4L30KG332721   Kia          OPTIMA              MIAMI                     FL
114177   5XXGT4L30KG333061   Kia          OPTIMA              Cleveland                 OH
114178   5XXGT4L30KG335408   Kia          OPTIMA              TRACY                     CA
114179   5XXGT4L30KG335411   Kia          OPTIMA              Fontana                   CA
114180   5XXGT4L30KG340317   Kia          OPTIMA              TAMPA                     FL
114181   5XXGT4L30KG342178   Kia          OPTIMA              WEST PALM BEACH           FL
114182   5XXGT4L30KG343640   Kia          OPTIMA              Fontana                   CA
114183   5XXGT4L30LG386392   Kia          OPTIMA              SANTA ANA                 CA
114184   5XXGT4L30LG386487   Kia          OPTIMA              Smithtown                 NY
114185   5XXGT4L30LG386618   Kia          OPTIMA              PALM SPRINGS              CA
114186   5XXGT4L30LG386683   Kia          OPTIMA              Las Vegas                 NV
114187   5XXGT4L30LG386733   Kia          OPTIMA              ORANGE COUNTY             CA
114188   5XXGT4L30LG386747   Kia          OPTIMA              San Diego                 CA
114189   5XXGT4L30LG386750   Kia          OPTIMA              LOS ANGELES               CA
114190   5XXGT4L30LG386828   Kia          OPTIMA              BURBANK                   CA
114191   5XXGT4L30LG386862   Kia          OPTIMA              SAN DIEGO                 CA
114192   5XXGT4L30LG386893   Kia          OPTIMA              SANTA ANA                 CA
114193   5XXGT4L30LG386912   Kia          OPTIMA              Leesburg                  VA
114194   5XXGT4L30LG386926   Kia          OPTIMA              BURBANK                   CA
114195   5XXGT4L30LG386974   Kia          OPTIMA              LAS VEGAS                 NV
114196   5XXGT4L30LG387025   Kia          OPTIMA              Downey                    CA
114197   5XXGT4L30LG387039   Kia          OPTIMA              LOS ANGELES               CA
114198   5XXGT4L30LG387056   Kia          OPTIMA              BURBANK                   CA
114199   5XXGT4L30LG387140   Kia          OPTIMA              ONTARIO, RIVERSIDE        CA
114200   5XXGT4L30LG387185   Kia          OPTIMA              Ventura                   CA
114201   5XXGT4L30LG387395   Kia          OPTIMA              ONTARIO                   CA
114202   5XXGT4L30LG387476   Kia          OPTIMA              LOS ANGELES               CA
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114203   5XXGT4L30LG388241   Kia          OPTIMA              LAS VEGAS                 NV
114204   5XXGT4L30LG388269   Kia          OPTIMA              LOS ANGELES               CA
114205   5XXGT4L30LG388420   Kia          OPTIMA              Burien                    WA
114206   5XXGT4L30LG389387   Kia          OPTIMA              LOS ANGELES               CA
114207   5XXGT4L30LG389597   Kia          OPTIMA              ORANGE COUNTY             CA
114208   5XXGT4L30LG389602   Kia          OPTIMA              LOS ANGELES               CA
114209   5XXGT4L30LG389681   Kia          OPTIMA              Downey                    CA
114210   5XXGT4L30LG389700   Kia          OPTIMA              Portland                  OR
114211   5XXGT4L30LG389714   Kia          OPTIMA              PORTLAND                  OR
114212   5XXGT4L30LG389762   Kia          OPTIMA              San Diego                 CA
114213   5XXGT4L30LG389776   Kia          OPTIMA              LOS ANGELES               CA
114214   5XXGT4L30LG389888   Kia          OPTIMA              SEATAC                    WA
114215   5XXGT4L30LG390085   Kia          OPTIMA              LOS ANGELES               CA
114216   5XXGT4L30LG390118   Kia          OPTIMA              SAN DIEGO                 CA
114217   5XXGT4L30LG390121   Kia          OPTIMA              LAS VEGAS                 NV
114218   5XXGT4L30LG390202   Kia          OPTIMA              PORTLAND                  OR
114219   5XXGT4L30LG390300   Kia          OPTIMA              SANTA ANA                 CA
114220   5XXGT4L30LG390457   Kia          OPTIMA              ORANGE COUNTY             CA
114221   5XXGT4L30LG390460   Kia          OPTIMA              PALM SPRINGS              CA
114222   5XXGT4L30LG390491   Kia          OPTIMA              LOS ANGELES AP            CA
114223   5XXGT4L30LG390524   Kia          OPTIMA              SAN JOSE                  CA
114224   5XXGT4L30LG390569   Kia          OPTIMA              LAS VEGAS                 NV
114225   5XXGT4L30LG390782   Kia          OPTIMA              SEATAC                    WA
114226   5XXGT4L30LG390829   Kia          OPTIMA              MELROSE PARK              IL
114227   5XXGT4L30LG391107   Kia          OPTIMA              LOS ANGELES               CA
114228   5XXGT4L30LG391155   Kia          OPTIMA              BURBANK                   CA
114229   5XXGT4L30LG391284   Kia          OPTIMA              San Antonio               TX
114230   5XXGT4L30LG391317   Kia          OPTIMA              MIAMI                     FL
114231   5XXGT4L30LG391379   Kia          OPTIMA              PORTLAND                  OR
114232   5XXGT4L30LG391401   Kia          OPTIMA              FORT MYERS                FL
114233   5XXGT4L30LG391415   Kia          OPTIMA              SAN DIEGO                 CA
114234   5XXGT4L30LG391513   Kia          OPTIMA              LOS ANGELES               CA
114235   5XXGT4L30LG391527   Kia          OPTIMA              LOS ANGELES AP            CA
114236   5XXGT4L30LG391530   Kia          OPTIMA              SACRAMENTO                CA
114237   5XXGT4L30LG391561   Kia          OPTIMA              Austin                    TX
114238   5XXGT4L30LG391611   Kia          OPTIMA              Webster                   NY
114239   5XXGT4L30LG391625   Kia          OPTIMA              SANTA ANA                 CA
114240   5XXGT4L30LG391642   Kia          OPTIMA              ONTARIO                   CA
114241   5XXGT4L30LG391785   Kia          OPTIMA              ORANGE COUNTY             CA
114242   5XXGT4L30LG391818   Kia          OPTIMA              Roseville                 CA
114243   5XXGT4L30LG391835   Kia          OPTIMA              LAS VEGAS                 NV
114244   5XXGT4L30LG391964   Kia          OPTIMA              LAS VEGAS                 NV
114245   5XXGT4L30LG392046   Kia          OPTIMA              Sacramento                CA
114246   5XXGT4L30LG392385   Kia          OPTIMA              Costa Mesa                CA
114247   5XXGT4L30LG392399   Kia          OPTIMA              ONTARIO                   CA
114248   5XXGT4L30LG394007   Kia          OPTIMA              ORLANDO                   FL
114249   5XXGT4L30LG394038   Kia          OPTIMA              Slidell                   LA
114250   5XXGT4L30LG394394   Kia          OPTIMA              Hendersonville            TN
114251   5XXGT4L30LG394539   Kia          OPTIMA              Live Oak                  TX
114252   5XXGT4L30LG395142   Kia          OPTIMA              HAYWARD                   CA
114253   5XXGT4L30LG395528   Kia          OPTIMA              LAS VEGAS                 NV
114254   5XXGT4L30LG398798   Kia          OPTIMA              Roseville                 CA
114255   5XXGT4L30LG398817   Kia          OPTIMA              LOS ANGELES               CA
114256   5XXGT4L30LG407449   Kia          OPTIMA              GAINESVILLE               FL
114257   5XXGT4L30LG407466   Kia          OPTIMA              Richmond                  VA
114258   5XXGT4L30LG407497   Kia          OPTIMA              ORLANDO                   FL
114259   5XXGT4L30LG411906   Kia          OPTIMA              Schaumburg                IL
114260   5XXGT4L30LG424509   Kia          OPTIMA              Warr Acres                OK
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114261   5XXGT4L30LG424512   Kia          OPTIMA              Dallas                    TX
114262   5XXGT4L30LG425109   Kia          OPTIMA              Clearwater                FL
114263   5XXGT4L30LG425353   Kia          OPTIMA              ALBUQUERQUE               NM
114264   5XXGT4L30LG425725   Kia          OPTIMA              KNOXVILLE                 TN
114265   5XXGT4L30LG429032   Kia          OPTIMA              ATLANTA                   GA
114266   5XXGT4L31GG094966   Kia          OPTIMA              LOS ANGELES               CA
114267   5XXGT4L31HG146307   Kia          OPTIMA              Baltimore                 MD
114268   5XXGT4L31HG154455   Kia          OPTIMA              Honolulu                  HI
114269   5XXGT4L31HG168730   Kia          OPTIMA              South San Franc           CA
114270   5XXGT4L31HG171529   Kia          OPTIMA              CENTRAL DIST OFFC         OK
114271   5XXGT4L31HG172860   Kia          OPTIMA              HAYWARD                   CA
114272   5XXGT4L31HG173006   Kia          OPTIMA              BURBANK                   CA
114273   5XXGT4L31HG173362   Kia          OPTIMA              Los Angeles               CA
114274   5XXGT4L31JG188630   Kia          OPTIMA              Los Angeles               CA
114275   5XXGT4L31JG189471   Kia          OPTIMA              BOSTON                    MA
114276   5XXGT4L31JG196775   Kia          OPTIMA              LOS ANGELES               CA
114277   5XXGT4L31JG198039   Kia          OPTIMA              CHICAGO                   IL
114278   5XXGT4L31JG198834   Kia          OPTIMA              LOS ANGELES               CA
114279   5XXGT4L31JG211324   Kia          OPTIMA              SAN ANTONIO               TX
114280   5XXGT4L31JG212473   Kia          OPTIMA              DFW AIRPORT               TX
114281   5XXGT4L31JG213476   Kia          OPTIMA              MIDDLE RIVER              MD
114282   5XXGT4L31JG214983   Kia          OPTIMA              BURBANK                   CA
114283   5XXGT4L31JG215308   Kia          OPTIMA              SACRAMENTO                CA
114284   5XXGT4L31JG215311   Kia          OPTIMA              Santa Clara               CA
114285   5XXGT4L31JG217334   Kia          OPTIMA              LOS ANGELES               CA
114286   5XXGT4L31JG219407   Kia          OPTIMA              ORLANDO                   FL
114287   5XXGT4L31JG219844   Kia          OPTIMA              Aurora                    CO
114288   5XXGT4L31JG220234   Kia          OPTIMA              BURBANK                   CA
114289   5XXGT4L31JG224235   Kia          OPTIMA              Slidell                   LA
114290   5XXGT4L31JG228172   Kia          OPTIMA              Fairburn                  GA
114291   5XXGT4L31JG228589   Kia          OPTIMA              TAMPA                     FL
114292   5XXGT4L31JG228995   Kia          OPTIMA              DALLAS                    TX
114293   5XXGT4L31JG229404   Kia          OPTIMA              JACKSONVILLE              FL
114294   5XXGT4L31JG230861   Kia          OPTIMA              BURBANK                   CA
114295   5XXGT4L31JG232223   Kia          OPTIMA              MEMPHIS                   TN
114296   5XXGT4L31JG233176   Kia          OPTIMA              Chicago                   IL
114297   5XXGT4L31JG233601   Kia          OPTIMA              SAN ANTONIO               TX
114298   5XXGT4L31JG234005   Kia          OPTIMA              Atlanta                   GA
114299   5XXGT4L31JG234246   Kia          OPTIMA              TAMPA                     FL
114300   5XXGT4L31JG234814   Kia          OPTIMA              Detroit                   MI
114301   5XXGT4L31JG245344   Kia          OPTIMA              Tolleson                  AZ
114302   5XXGT4L31JG247577   Kia          OPTIMA              JACKSONVILLE              FL
114303   5XXGT4L31JG247921   Kia          OPTIMA              RICHMOND                  VA
114304   5XXGT4L31JG268638   Kia          OPTIMA              BURBANK                   CA
114305   5XXGT4L31KG275297   Kia          OPTIMA              Teterboro                 NJ
114306   5XXGT4L31KG275333   Kia          OPTIMA              LOS ANGELES               CA
114307   5XXGT4L31KG275378   Kia          OPTIMA              SAN JOSE                  CA
114308   5XXGT4L31KG275462   Kia          OPTIMA              Des Plaines               IL
114309   5XXGT4L31KG275543   Kia          OPTIMA              HOUSTON                   TX
114310   5XXGT4L31KG275638   Kia          OPTIMA              Costa Mesa                CA
114311   5XXGT4L31KG275641   Kia          OPTIMA              Rio Linda                 CA
114312   5XXGT4L31KG275705   Kia          OPTIMA              BOSTON                    MA
114313   5XXGT4L31KG275803   Kia          OPTIMA              SACRAMENTO                CA
114314   5XXGT4L31KG275834   Kia          OPTIMA              PHOENIX                   AZ
114315   5XXGT4L31KG275851   Kia          OPTIMA              OAKLAND                   CA
114316   5XXGT4L31KG275946   Kia          OPTIMA              FORT MYERS                FL
114317   5XXGT4L31KG275994   Kia          OPTIMA              PHOENIX                   AZ
114318   5XXGT4L31KG276045   Kia          OPTIMA              DENVER                    CO
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114319   5XXGT4L31KG276238   Kia          OPTIMA              BURBANK                   CA
114320   5XXGT4L31KG276241   Kia          OPTIMA              ONTARIO                   CA
114321   5XXGT4L31KG276353   Kia          OPTIMA              WEST PALM BEACH           FL
114322   5XXGT4L31KG276384   Kia          OPTIMA              INGLEWOOD                 CA
114323   5XXGT4L31KG276515   Kia          OPTIMA              BURBANK                   CA
114324   5XXGT4L31KG276613   Kia          OPTIMA              SEATAC                    WA
114325   5XXGT4L31KG276790   Kia          OPTIMA              LAS VEGAS                 NV
114326   5XXGT4L31KG276823   Kia          OPTIMA              NEW ORLEANS               LA
114327   5XXGT4L31KG276899   Kia          OPTIMA              KENNER                    LA
114328   5XXGT4L31KG276918   Kia          OPTIMA              DENVER                    CO
114329   5XXGT4L31KG276983   Kia          OPTIMA              Birmingham                AL
114330   5XXGT4L31KG276997   Kia          OPTIMA              Sacramento                CA
114331   5XXGT4L31KG277065   Kia          OPTIMA              Roseville                 CA
114332   5XXGT4L31KG277101   Kia          OPTIMA              SAN JOSE                  CA
114333   5XXGT4L31KG277132   Kia          OPTIMA              PITTSBURGH                PA
114334   5XXGT4L31KG277163   Kia          OPTIMA              Caledonia                 WI
114335   5XXGT4L31KG277423   Kia          OPTIMA              HARRISBURG                PA
114336   5XXGT4L31KG277518   Kia          OPTIMA              SAINT PAUL                MN
114337   5XXGT4L31KG277700   Kia          OPTIMA              SACRAMENTO                CA
114338   5XXGT4L31KG277714   Kia          OPTIMA              SAN DIEGO                 CA
114339   5XXGT4L31KG277857   Kia          OPTIMA              LAS VEGAS                 NV
114340   5XXGT4L31KG277860   Kia          OPTIMA              LOS ANGELES               CA
114341   5XXGT4L31KG278149   Kia          OPTIMA              GRAND RAPIDS              MI
114342   5XXGT4L31KG278202   Kia          OPTIMA              LAS VEGAS                 NV
114343   5XXGT4L31KG278328   Kia          OPTIMA              NEWARK                    NJ
114344   5XXGT4L31KG278927   Kia          OPTIMA              Wichita                   KS
114345   5XXGT4L31KG278930   Kia          OPTIMA              Detroit                   MI
114346   5XXGT4L31KG279270   Kia          OPTIMA              AUSTIN                    TX
114347   5XXGT4L31KG279639   Kia          OPTIMA              MILWAUKEE                 WI
114348   5XXGT4L31KG279897   Kia          OPTIMA              ORLANDO                   FL
114349   5XXGT4L31KG281147   Kia          OPTIMA              INDIANAPOLIS              IN
114350   5XXGT4L31KG281651   Kia          OPTIMA              TAMPA                     FL
114351   5XXGT4L31KG281942   Kia          OPTIMA              Newark                    NJ
114352   5XXGT4L31KG282427   Kia          OPTIMA              NEW BERN                  NC
114353   5XXGT4L31KG283321   Kia          OPTIMA              NAPLES                    FL
114354   5XXGT4L31KG283366   Kia          OPTIMA              SAN DIEGO                 CA
114355   5XXGT4L31KG283612   Kia          OPTIMA              Atlanta                   GA
114356   5XXGT4L31KG283626   Kia          OPTIMA              LOS ANGELES               CA
114357   5XXGT4L31KG283643   Kia          OPTIMA              Des Plaines               IL
114358   5XXGT4L31KG283724   Kia          OPTIMA              LOS ANGELES AP            CA
114359   5XXGT4L31KG283819   Kia          OPTIMA              South San Franc           CA
114360   5XXGT4L31KG283920   Kia          OPTIMA              FORT MYERS                FL
114361   5XXGT4L31KG284467   Kia          OPTIMA              TAMPA                     FL
114362   5XXGT4L31KG284470   Kia          OPTIMA              ATLANTA                   GA
114363   5XXGT4L31KG284582   Kia          OPTIMA              SARASOTA                  FL
114364   5XXGT4L31KG284923   Kia          OPTIMA              Burien                    WA
114365   5XXGT4L31KG284940   Kia          OPTIMA              LOS ANGELES               CA
114366   5XXGT4L31KG284968   Kia          OPTIMA              SAN FRANCISCO             CA
114367   5XXGT4L31KG284999   Kia          OPTIMA              Statesville               NC
114368   5XXGT4L31KG285005   Kia          OPTIMA              FORT LAUDERDALE           FL
114369   5XXGT4L31KG285019   Kia          OPTIMA              TUCSON                    AZ
114370   5XXGT4L31KG285053   Kia          OPTIMA              SAINT LOUIS               MO
114371   5XXGT4L31KG285103   Kia          OPTIMA              SAN DIEGO                 CA
114372   5XXGT4L31KG285182   Kia          OPTIMA              TUCSON                    AZ
114373   5XXGT4L31KG285490   Kia          OPTIMA              WEST PALM BEACH           FL
114374   5XXGT4L31KG285795   Kia          OPTIMA              SAN DIEGO                 CA
114375   5XXGT4L31KG285800   Kia          OPTIMA              LAS VEGAS                 NV
114376   5XXGT4L31KG286218   Kia          OPTIMA              WILMINGTON                CA
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114377   5XXGT4L31KG286333   Kia          OPTIMA              Norwalk                   CA
114378   5XXGT4L31KG286378   Kia          OPTIMA              SAN FRANCISCO             CA
114379   5XXGT4L31KG286512   Kia          OPTIMA              SEATAC                    WA
114380   5XXGT4L31KG286736   Kia          OPTIMA              Hattiesburg               MS
114381   5XXGT4L31KG286915   Kia          OPTIMA              Las Vegas                 NV
114382   5XXGT4L31KG287577   Kia          OPTIMA              OAKLAND                   CA
114383   5XXGT4L31KG287658   Kia          OPTIMA              LAS VEGAS                 NV
114384   5XXGT4L31KG288115   Kia          OPTIMA              LOS ANGELES               CA
114385   5XXGT4L31KG288146   Kia          OPTIMA              SAN FRANCISCO             CA
114386   5XXGT4L31KG288860   Kia          OPTIMA              TAMPA                     FL
114387   5XXGT4L31KG289281   Kia          OPTIMA              KNOXVILLE                 TN
114388   5XXGT4L31KG289328   Kia          OPTIMA              LOS ANGELES               CA
114389   5XXGT4L31KG289457   Kia          OPTIMA              DENVER                    CO
114390   5XXGT4L31KG289765   Kia          OPTIMA              Houston                   TX
114391   5XXGT4L31KG289801   Kia          OPTIMA              BURBANK                   CA
114392   5XXGT4L31KG289863   Kia          OPTIMA              KANSAS CITY               MO
114393   5XXGT4L31KG290012   Kia          OPTIMA              PALM SPRINGS              CA
114394   5XXGT4L31KG290091   Kia          OPTIMA              LOS ANGELES               CA
114395   5XXGT4L31KG290155   Kia          OPTIMA              SACRAMENTO                CA
114396   5XXGT4L31KG290219   Kia          OPTIMA              SAINT PAUL                MN
114397   5XXGT4L31KG290267   Kia          OPTIMA              JACKSONVILLE              FL
114398   5XXGT4L31KG290625   Kia          OPTIMA              KNOXVILLE                 TN
114399   5XXGT4L31KG290656   Kia          OPTIMA              PHOENIX                   AZ
114400   5XXGT4L31KG290804   Kia          OPTIMA              LOS ANGELES               CA
114401   5XXGT4L31KG290866   Kia          OPTIMA              North Billerica           MA
114402   5XXGT4L31KG291175   Kia          OPTIMA              Costa Mesa                CA
114403   5XXGT4L31KG291287   Kia          OPTIMA              SARASOTA                  FL
114404   5XXGT4L31KG291483   Kia          OPTIMA              Harvey                    LA
114405   5XXGT4L31KG291516   Kia          OPTIMA              MIDDLE RIVER              MD
114406   5XXGT4L31KG291600   Kia          OPTIMA              DANIA BEACH               FL
114407   5XXGT4L31KG291645   Kia          OPTIMA              TAMPA                     FL
114408   5XXGT4L31KG291774   Kia          OPTIMA              SAN JOSE                  CA
114409   5XXGT4L31KG291953   Kia          OPTIMA              FORT LAUDERDALE           FL
114410   5XXGT4L31KG291970   Kia          OPTIMA              MIAMI                     FL
114411   5XXGT4L31KG292214   Kia          OPTIMA              CHICAGO                   IL
114412   5XXGT4L31KG292455   Kia          OPTIMA              NEW YORK CITY             NY
114413   5XXGT4L31KG292701   Kia          OPTIMA              CHICAGO                   IL
114414   5XXGT4L31KG292973   Kia          OPTIMA              SAN ANTONIO               TX
114415   5XXGT4L31KG307956   Kia          OPTIMA              NAPLES                    FL
114416   5XXGT4L31KG311053   Kia          OPTIMA              ORLANDO                   FL
114417   5XXGT4L31KG312252   Kia          OPTIMA              ORLANDO                   FL
114418   5XXGT4L31KG317368   Kia          OPTIMA              ORLANDO                   FL
114419   5XXGT4L31KG319864   Kia          OPTIMA              TAMPA                     FL
114420   5XXGT4L31KG321565   Kia          OPTIMA              BURBANK                   CA
114421   5XXGT4L31KG322795   Kia          OPTIMA              San Antonio               TX
114422   5XXGT4L31KG323123   Kia          OPTIMA              SACRAMENTO                CA
114423   5XXGT4L31KG323266   Kia          OPTIMA              Dallas                    TX
114424   5XXGT4L31KG323302   Kia          OPTIMA              DALLAS                    TX
114425   5XXGT4L31KG323316   Kia          OPTIMA              SAN FRANCISCO             CA
114426   5XXGT4L31KG323381   Kia          OPTIMA              San Antonio               TX
114427   5XXGT4L31KG323509   Kia          OPTIMA              SARASOTA                  FL
114428   5XXGT4L31KG324059   Kia          OPTIMA              Portland                  OR
114429   5XXGT4L31KG325020   Kia          OPTIMA              BURBANK                   CA
114430   5XXGT4L31KG326278   Kia          OPTIMA              Portland                  OR
114431   5XXGT4L31KG327026   Kia          OPTIMA              FORT MYERS                FL
114432   5XXGT4L31KG327222   Kia          OPTIMA              San Diego                 CA
114433   5XXGT4L31KG327849   Kia          OPTIMA              Portland                  OR
114434   5XXGT4L31KG331285   Kia          OPTIMA              MIAMI                     FL
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114435   5XXGT4L31KG335109   Kia          OPTIMA              Austin                    TX
114436   5XXGT4L31KG348054   Kia          OPTIMA              SOUTHEAST DST OFFC        OK
114437   5XXGT4L31KG348863   Kia          OPTIMA              Jacksonville              FL
114438   5XXGT4L31LG386627   Kia          OPTIMA              LAS VEGAS                 NV
114439   5XXGT4L31LG386739   Kia          OPTIMA              LOS ANGELES               CA
114440   5XXGT4L31LG386742   Kia          OPTIMA              ONTARIO                   CA
114441   5XXGT4L31LG386773   Kia          OPTIMA              LOS ANGELES               CA
114442   5XXGT4L31LG386806   Kia          OPTIMA              ONTARIO                   CA
114443   5XXGT4L31LG386871   Kia          OPTIMA              FRESNO                    CA
114444   5XXGT4L31LG386899   Kia          OPTIMA              Ventura                   CA
114445   5XXGT4L31LG386921   Kia          OPTIMA              LOS ANGELES               CA
114446   5XXGT4L31LG386935   Kia          OPTIMA              BURBANK                   CA
114447   5XXGT4L31LG386949   Kia          OPTIMA              CLARKSVILLE               IN
114448   5XXGT4L31LG386966   Kia          OPTIMA              Sacramento                CA
114449   5XXGT4L31LG386983   Kia          OPTIMA              BURBANK                   CA
114450   5XXGT4L31LG387017   Kia          OPTIMA              LAS VEGAS                 NV
114451   5XXGT4L31LG387048   Kia          OPTIMA              CLOVIS                    CA
114452   5XXGT4L31LG387051   Kia          OPTIMA              LOS ANGELES               CA
114453   5XXGT4L31LG387065   Kia          OPTIMA              SAN DIEGO                 CA
114454   5XXGT4L31LG387096   Kia          OPTIMA              SAN DIEGO                 CA
114455   5XXGT4L31LG387101   Kia          OPTIMA              BURBANK                   CA
114456   5XXGT4L31LG387471   Kia          OPTIMA              WILMINGTON                CA
114457   5XXGT4L31LG387485   Kia          OPTIMA              FRESNO                    CA
114458   5XXGT4L31LG388359   Kia          OPTIMA              Florissant                MO
114459   5XXGT4L31LG389351   Kia          OPTIMA              SANTA ANA                 CA
114460   5XXGT4L31LG389561   Kia          OPTIMA              PALM SPRINGS              CA
114461   5XXGT4L31LG389608   Kia          OPTIMA              LAS VEGAS                 NV
114462   5XXGT4L31LG389673   Kia          OPTIMA              SAN DIEGO                 CA
114463   5XXGT4L31LG389687   Kia          OPTIMA              BURBANK                   CA
114464   5XXGT4L31LG389690   Kia          OPTIMA              LAS VEGAS                 NV
114465   5XXGT4L31LG389740   Kia          OPTIMA              PALM SPRINGS              CA
114466   5XXGT4L31LG389771   Kia          OPTIMA              CLOVIS                    CA
114467   5XXGT4L31LG389964   Kia          OPTIMA              ONTARIO                   CA
114468   5XXGT4L31LG390175   Kia          OPTIMA              SEATTLE                   WA
114469   5XXGT4L31LG390340   Kia          OPTIMA              Salt Lake City            UT
114470   5XXGT4L31LG390452   Kia          OPTIMA              Dallas                    TX
114471   5XXGT4L31LG390483   Kia          OPTIMA              Buena Park                CA
114472   5XXGT4L31LG390516   Kia          OPTIMA              LOS ANGELES               CA
114473   5XXGT4L31LG390564   Kia          OPTIMA              LOS ANGELES               CA
114474   5XXGT4L31LG390614   Kia          OPTIMA              SANTA BARBARA             CA
114475   5XXGT4L31LG390628   Kia          OPTIMA              BURBANK                   CA
114476   5XXGT4L31LG390726   Kia          OPTIMA              SAN DIEGO                 CA
114477   5XXGT4L31LG390760   Kia          OPTIMA              LOS ANGELES               CA
114478   5XXGT4L31LG390824   Kia          OPTIMA              LAS VEGAS                 NV
114479   5XXGT4L31LG391116   Kia          OPTIMA              SAN DIEGO                 CA
114480   5XXGT4L31LG391133   Kia          OPTIMA              SEATAC                    WA
114481   5XXGT4L31LG391231   Kia          OPTIMA              Harvey                    LA
114482   5XXGT4L31LG391293   Kia          OPTIMA              Killeen                   TX
114483   5XXGT4L31LG391312   Kia          OPTIMA              Austin                    TX
114484   5XXGT4L31LG391326   Kia          OPTIMA              Louisville                KY
114485   5XXGT4L31LG391424   Kia          OPTIMA              ALBUQUERQUE               NM
114486   5XXGT4L31LG391441   Kia          OPTIMA              ONTARIO                   CA
114487   5XXGT4L31LG391469   Kia          OPTIMA              LOS ANGELES               CA
114488   5XXGT4L31LG391472   Kia          OPTIMA              SAN DIEGO                 US
114489   5XXGT4L31LG391486   Kia          OPTIMA              Hamilton                  OH
114490   5XXGT4L31LG391522   Kia          OPTIMA              SANTA ANA                 CA
114491   5XXGT4L31LG391567   Kia          OPTIMA              Fontana                   CA
114492   5XXGT4L31LG391570   Kia          OPTIMA              Dallas                    TX
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114493   5XXGT4L31LG391598   Kia          OPTIMA              LAS VEGAS                 NV
114494   5XXGT4L31LG391620   Kia          OPTIMA              BURBANK                   CA
114495   5XXGT4L31LG391634   Kia          OPTIMA              LOS ANGELES               CA
114496   5XXGT4L31LG391696   Kia          OPTIMA              LA HABRA                  CA
114497   5XXGT4L31LG391715   Kia          OPTIMA              LOS ANGELES               CA
114498   5XXGT4L31LG391777   Kia          OPTIMA              LOS ANGELES               CA
114499   5XXGT4L31LG391830   Kia          OPTIMA              SANTA ANA                 CA
114500   5XXGT4L31LG391892   Kia          OPTIMA              BURBANK                   CA
114501   5XXGT4L31LG391908   Kia          OPTIMA              INGLEWOOD                 CA
114502   5XXGT4L31LG391911   Kia          OPTIMA              LOS ANGELES               CA
114503   5XXGT4L31LG392105   Kia          OPTIMA              CLOVIS                    CA
114504   5XXGT4L31LG392637   Kia          OPTIMA              LAS VEGAS                 NV
114505   5XXGT4L31LG392721   Kia          OPTIMA              S. San Francisc           CA
114506   5XXGT4L31LG392816   Kia          OPTIMA              SAN FRANCISCO             CA
114507   5XXGT4L31LG397367   Kia          OPTIMA              SAN DIEGO                 CA
114508   5XXGT4L31LG397384   Kia          OPTIMA              Sacramento                CA
114509   5XXGT4L31LG407217   Kia          OPTIMA              KENNER                    LA
114510   5XXGT4L31LG408593   Kia          OPTIMA              Austin                    TX
114511   5XXGT4L31LG424275   Kia          OPTIMA              Davie                     FL
114512   5XXGT4L31LG424423   Kia          OPTIMA              Clearwater                FL
114513   5XXGT4L31LG424664   Kia          OPTIMA              Tulsa                     OK
114514   5XXGT4L31LG425720   Kia          OPTIMA              CLARKSVILLE               IN
114515   5XXGT4L31LG425815   Kia          OPTIMA              NASHVILLE                 TN
114516   5XXGT4L31LG428911   Kia          OPTIMA              Estero                    FL
114517   5XXGT4L32GG028412   Kia          OPTIMA              BOSTON                    MA
114518   5XXGT4L32HG123280   Kia          OPTIMA              Fresno                    CA
114519   5XXGT4L32HG128446   Kia          OPTIMA              TRACY                     CA
114520   5XXGT4L32HG130262   Kia          OPTIMA              CHICAGO                   IL
114521   5XXGT4L32HG141567   Kia          OPTIMA              Atlanta                   GA
114522   5XXGT4L32HG144162   Kia          OPTIMA              DAYTONA BEACH             FL
114523   5XXGT4L32HG153900   Kia          OPTIMA              HANOVER                   MD
114524   5XXGT4L32HG161866   Kia          OPTIMA              DANIA BEACH               FL
114525   5XXGT4L32HG167117   Kia          OPTIMA              Anaheim                   CA
114526   5XXGT4L32HG170728   Kia          OPTIMA              LOS ANGELES               CA
114527   5XXGT4L32HG173208   Kia          OPTIMA              LOS ANGELES               CA
114528   5XXGT4L32HG173211   Kia          OPTIMA              LOS ANGELES               CA
114529   5XXGT4L32HG173354   Kia          OPTIMA              BURBANK                   CA
114530   5XXGT4L32JG194548   Kia          OPTIMA              ROSEVILLE                 CA
114531   5XXGT4L32JG196378   Kia          OPTIMA              OAKLAND                   CA
114532   5XXGT4L32JG196784   Kia          OPTIMA              SAN FRANCISCO             CA
114533   5XXGT4L32JG197269   Kia          OPTIMA              BURBANK                   CA
114534   5XXGT4L32JG197837   Kia          OPTIMA              North Dighton             MA
114535   5XXGT4L32JG198342   Kia          OPTIMA              ORLANDO                   FL
114536   5XXGT4L32JG199118   Kia          OPTIMA              PHILADELPHIA              PA
114537   5XXGT4L32JG199412   Kia          OPTIMA              LOS ANGELES               CA
114538   5XXGT4L32JG199572   Kia          OPTIMA              Burien                    WA
114539   5XXGT4L32JG209727   Kia          OPTIMA              BOSTON                    MA
114540   5XXGT4L32JG212000   Kia          OPTIMA              LAS VEGAS                 NV
114541   5XXGT4L32JG214944   Kia          OPTIMA              Arlington                 WA
114542   5XXGT4L32JG215611   Kia          OPTIMA              MEDINA                    OH
114543   5XXGT4L32JG215866   Kia          OPTIMA              HANOVER                   MD
114544   5XXGT4L32JG217343   Kia          OPTIMA              GLEN BURNIE               MD
114545   5XXGT4L32JG218749   Kia          OPTIMA              Dallas                    TX
114546   5XXGT4L32JG224616   Kia          OPTIMA              SANTA ANA                 CA
114547   5XXGT4L32JG227631   Kia          OPTIMA              Hattiesburg               MS
114548   5XXGT4L32JG228715   Kia          OPTIMA              SAN ANTONIO               TX
114549   5XXGT4L32JG229377   Kia          OPTIMA              BOSTON                    MA
114550   5XXGT4L32JG231663   Kia          OPTIMA              DFW AIRPORT               TX
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114551   5XXGT4L32JG233168   Kia          OPTIMA              HOUSTON                   TX
114552   5XXGT4L32JG233557   Kia          OPTIMA              Hamilton                  OH
114553   5XXGT4L32JG234000   Kia          OPTIMA              ORLANDO                   FL
114554   5XXGT4L32JG234563   Kia          OPTIMA              LAS VEGAS                 NV
114555   5XXGT4L32JG235194   Kia          OPTIMA              Baltimore                 MD
114556   5XXGT4L32JG235230   Kia          OPTIMA              Tampa                     FL
114557   5XXGT4L32JG235549   Kia          OPTIMA              FORT MYERS                FL
114558   5XXGT4L32JG235664   Kia          OPTIMA              SEATAC                    WA
114559   5XXGT4L32JG244882   Kia          OPTIMA              Pittsburgh                PA
114560   5XXGT4L32JG245370   Kia          OPTIMA              LAWNDALE                  CA
114561   5XXGT4L32JG247202   Kia          OPTIMA              Orlando                   FL
114562   5XXGT4L32JG249984   Kia          OPTIMA              BOSTON                    MA
114563   5XXGT4L32JG250245   Kia          OPTIMA              Tampa                     FL
114564   5XXGT4L32KG275177   Kia          OPTIMA              Las Vegas                 NV
114565   5XXGT4L32KG275180   Kia          OPTIMA              PORTLAND                  OR
114566   5XXGT4L32KG275311   Kia          OPTIMA              NORTH PAC                 CA
114567   5XXGT4L32KG275373   Kia          OPTIMA              LAS VEGAS                 NV
114568   5XXGT4L32KG275468   Kia          OPTIMA              DETROIT                   MI
114569   5XXGT4L32KG275552   Kia          OPTIMA              LAS VEGAS                 NV
114570   5XXGT4L32KG275583   Kia          OPTIMA              LOS ANGELES               CA
114571   5XXGT4L32KG275597   Kia          OPTIMA              MOBILE                    A
114572   5XXGT4L32KG275616   Kia          OPTIMA              INGLEWOOD                 CA
114573   5XXGT4L32KG275776   Kia          OPTIMA              LAS VEGAS                 NV
114574   5XXGT4L32KG275857   Kia          OPTIMA              SAN DIEGO                 CA
114575   5XXGT4L32KG275860   Kia          OPTIMA              SAN FRANCISCO             CA
114576   5XXGT4L32KG275907   Kia          OPTIMA              NORTH HOLLYWOOD           CA
114577   5XXGT4L32KG276023   Kia          OPTIMA              Norwalk                   CA
114578   5XXGT4L32KG276040   Kia          OPTIMA              SACRAMENTO                CA
114579   5XXGT4L32KG276314   Kia          OPTIMA              SANTA ANA                 CA
114580   5XXGT4L32KG276376   Kia          OPTIMA              PHOENIX                   AZ
114581   5XXGT4L32KG276393   Kia          OPTIMA              Portland                  OR
114582   5XXGT4L32KG276541   Kia          OPTIMA              LOS ANGELES               CA
114583   5XXGT4L32KG276555   Kia          OPTIMA              LOS ANGELES               CA
114584   5XXGT4L32KG276605   Kia          OPTIMA              SAN FRANCISCO             CA
114585   5XXGT4L32KG276703   Kia          OPTIMA              OAKLAND                   CA
114586   5XXGT4L32KG276751   Kia          OPTIMA              DALLAS                    TX
114587   5XXGT4L32KG276829   Kia          OPTIMA              LAS VEGAS                 NV
114588   5XXGT4L32KG276832   Kia          OPTIMA              SAN DIEGO                 CA
114589   5XXGT4L32KG276894   Kia          OPTIMA              FORT LAUDERDALE           FL
114590   5XXGT4L32KG276975   Kia          OPTIMA              SANTA CLARA               CA
114591   5XXGT4L32KG276989   Kia          OPTIMA              PALM SPRINGS              CA
114592   5XXGT4L32KG277107   Kia          OPTIMA              SAN JOSE                  CA
114593   5XXGT4L32KG277138   Kia          OPTIMA              FAYETTEVILLE              GA
114594   5XXGT4L32KG277141   Kia          OPTIMA              FORT LAUDERDALE           FL
114595   5XXGT4L32KG277172   Kia          OPTIMA              DES MOINES                IA
114596   5XXGT4L32KG277236   Kia          OPTIMA              OAKLAND                   CA
114597   5XXGT4L32KG277253   Kia          OPTIMA              CLEVELAND                 OH
114598   5XXGT4L32KG277334   Kia          OPTIMA              BURBANK                   CA
114599   5XXGT4L32KG277382   Kia          OPTIMA              RENO                      NV
114600   5XXGT4L32KG277401   Kia          OPTIMA              SEATAC                    WA
114601   5XXGT4L32KG277446   Kia          OPTIMA              SAN DIEGO                 CA
114602   5XXGT4L32KG277625   Kia          OPTIMA              Tulsa                     OK
114603   5XXGT4L32KG277706   Kia          OPTIMA              BURBANK                   CA
114604   5XXGT4L32KG277821   Kia          OPTIMA              SAN FRANCISCO             CA
114605   5XXGT4L32KG277849   Kia          OPTIMA              BURBANK                   CA
114606   5XXGT4L32KG277852   Kia          OPTIMA              INDIANAPOLIS              IN
114607   5XXGT4L32KG277866   Kia          OPTIMA              NORTH PAC                 CA
114608   5XXGT4L32KG277902   Kia          OPTIMA              SEATAC                    WA
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114609   5XXGT4L32KG277916   Kia          OPTIMA              ROSEVILLE                 CA
114610   5XXGT4L32KG278161   Kia          OPTIMA              Manheim                   PA
114611   5XXGT4L32KG278175   Kia          OPTIMA              STERLING                  VA
114612   5XXGT4L32KG278337   Kia          OPTIMA              Manheim                   PA
114613   5XXGT4L32KG279102   Kia          OPTIMA              KANSAS CITY               MO
114614   5XXGT4L32KG279133   Kia          OPTIMA              Cincinnati                OH
114615   5XXGT4L32KG279150   Kia          OPTIMA              Houston                   TX
114616   5XXGT4L32KG279200   Kia          OPTIMA              SEA TAC                   WA
114617   5XXGT4L32KG279326   Kia          OPTIMA              CHICAGO                   IL
114618   5XXGT4L32KG279486   Kia          OPTIMA              ATLANTA                   GA
114619   5XXGT4L32KG279567   Kia          OPTIMA              CHICAGO                   IL
114620   5XXGT4L32KG279634   Kia          OPTIMA              Jamaica                   NY
114621   5XXGT4L32KG279830   Kia          OPTIMA              DES PLAINES               IL
114622   5XXGT4L32KG279875   Kia          OPTIMA              TAMPA                     FL
114623   5XXGT4L32KG279911   Kia          OPTIMA              MEMPHIS                   TN
114624   5XXGT4L32KG279939   Kia          OPTIMA              FORT MYERS                FL
114625   5XXGT4L32KG280623   Kia          OPTIMA              DES PLAINES               IL
114626   5XXGT4L32KG281139   Kia          OPTIMA              WARWICK                   RI
114627   5XXGT4L32KG281142   Kia          OPTIMA              Portland                  OR
114628   5XXGT4L32KG281934   Kia          OPTIMA              MARIETTA                  GA
114629   5XXGT4L32KG281979   Kia          OPTIMA              TAMPA                     FL
114630   5XXGT4L32KG282016   Kia          OPTIMA              WARWICK                   RI
114631   5XXGT4L32KG282226   Kia          OPTIMA              CHARLOTTE                 US
114632   5XXGT4L32KG282405   Kia          OPTIMA              DETROIT                   MI
114633   5XXGT4L32KG282422   Kia          OPTIMA              ORLANDO                   FL
114634   5XXGT4L32KG282615   Kia          OPTIMA              Manheim                   PA
114635   5XXGT4L32KG282632   Kia          OPTIMA              WHITE PLAINS              NY
114636   5XXGT4L32KG283361   Kia          OPTIMA              Atlanta                   GA
114637   5XXGT4L32KG283375   Kia          OPTIMA              Atlanta                   GA
114638   5XXGT4L32KG283506   Kia          OPTIMA              TAMPA                     FL
114639   5XXGT4L32KG283523   Kia          OPTIMA              KNOXVILLE                 TN
114640   5XXGT4L32KG283649   Kia          OPTIMA              SAN FRANCISCO             CA
114641   5XXGT4L32KG283652   Kia          OPTIMA              ORLANDO                   FL
114642   5XXGT4L32KG283733   Kia          OPTIMA              SAN JOSE                  CA
114643   5XXGT4L32KG283747   Kia          OPTIMA              LOS ANGELES               CA
114644   5XXGT4L32KG283764   Kia          OPTIMA              DALLAS                    TX
114645   5XXGT4L32KG283800   Kia          OPTIMA              WEST PALM BEACH           FL
114646   5XXGT4L32KG283960   Kia          OPTIMA              SAN DIEGO                 CA
114647   5XXGT4L32KG284039   Kia          OPTIMA              ONTARIO                   CA
114648   5XXGT4L32KG284073   Kia          OPTIMA              SAN DIEGO                 CA
114649   5XXGT4L32KG284199   Kia          OPTIMA              LOS ANGELES               CA
114650   5XXGT4L32KG284249   Kia          OPTIMA              LOS ANGELES               CA
114651   5XXGT4L32KG284283   Kia          OPTIMA              PHOENIX                   AZ
114652   5XXGT4L32KG284297   Kia          OPTIMA              SAN JOSE                  CA
114653   5XXGT4L32KG284347   Kia          OPTIMA              SANTA CLARA               CA
114654   5XXGT4L32KG284350   Kia          OPTIMA              Tulsa                     OK
114655   5XXGT4L32KG284459   Kia          OPTIMA              FAYETTEVILLE              GA
114656   5XXGT4L32KG284624   Kia          OPTIMA              INDIANAPOLIS              IN
114657   5XXGT4L32KG284686   Kia          OPTIMA              SAN JOSE                  CA
114658   5XXGT4L32KG284879   Kia          OPTIMA              CHICAGO                   IL
114659   5XXGT4L32KG285465   Kia          OPTIMA              SAN JOSE                  CA
114660   5XXGT4L32KG285496   Kia          OPTIMA              RONKONKOMA                NY
114661   5XXGT4L32KG285742   Kia          OPTIMA              SAN FRANCISCO             CA
114662   5XXGT4L32KG285918   Kia          OPTIMA              SANTA ANA                 CA
114663   5XXGT4L32KG285952   Kia          OPTIMA              OAKLAND                   CA
114664   5XXGT4L32KG286289   Kia          OPTIMA              Lake Elsinore             CA
114665   5XXGT4L32KG286485   Kia          OPTIMA              PHOENIX                   AZ
114666   5XXGT4L32KG286518   Kia          OPTIMA              Maple Grove               MN
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114667   5XXGT4L32KG286714   Kia          OPTIMA              DENVER                    CO
114668   5XXGT4L32KG286728   Kia          OPTIMA              FORT MYERS                FL
114669   5XXGT4L32KG286745   Kia          OPTIMA              ROSEVILLE                 CA
114670   5XXGT4L32KG286759   Kia          OPTIMA              PHOENIX                   AZ
114671   5XXGT4L32KG286776   Kia          OPTIMA              PHOENIX                   AZ
114672   5XXGT4L32KG287653   Kia          OPTIMA              SEATAC                    WA
114673   5XXGT4L32KG288107   Kia          OPTIMA              Pheonix                   AZ
114674   5XXGT4L32KG288124   Kia          OPTIMA              EL PASO                   TX
114675   5XXGT4L32KG288141   Kia          OPTIMA              BURBANK                   CA
114676   5XXGT4L32KG288625   Kia          OPTIMA              LOS ANGELES               CA
114677   5XXGT4L32KG288639   Kia          OPTIMA              DENVER                    CO
114678   5XXGT4L32KG289189   Kia          OPTIMA              Miami                     FL
114679   5XXGT4L32KG289256   Kia          OPTIMA              MEMPHIS                   TN
114680   5XXGT4L32KG289449   Kia          OPTIMA              ELKRIDGE                  MD
114681   5XXGT4L32KG289516   Kia          OPTIMA              Torrance                  CA
114682   5XXGT4L32KG289757   Kia          OPTIMA              DALLAS                    TX
114683   5XXGT4L32KG289855   Kia          OPTIMA              INGLEWOOD                 CA
114684   5XXGT4L32KG289919   Kia          OPTIMA              IRVING                    TX
114685   5XXGT4L32KG289967   Kia          OPTIMA              LAS VEGAS                 NV
114686   5XXGT4L32KG290052   Kia          OPTIMA              DENVER                    CO
114687   5XXGT4L32KG290195   Kia          OPTIMA              SAN FRANCISCO             CA
114688   5XXGT4L32KG290200   Kia          OPTIMA              SANTA ANA                 CA
114689   5XXGT4L32KG290343   Kia          OPTIMA              LOS ANGELES               CA
114690   5XXGT4L32KG290567   Kia          OPTIMA              EL PASO                   US
114691   5XXGT4L32KG290648   Kia          OPTIMA              NORTH HILLS               CA
114692   5XXGT4L32KG290746   Kia          OPTIMA              SAN DIEGO                 CA
114693   5XXGT4L32KG290794   Kia          OPTIMA              Tustin                    CA
114694   5XXGT4L32KG290858   Kia          OPTIMA              FORT MYERS                FL
114695   5XXGT4L32KG290942   Kia          OPTIMA              CHICAGO                   IL
114696   5XXGT4L32KG291007   Kia          OPTIMA              Irving                    TX
114697   5XXGT4L32KG291010   Kia          OPTIMA              SAN ANTONIO               TX
114698   5XXGT4L32KG291119   Kia          OPTIMA              Hapeville                 GA
114699   5XXGT4L32KG291380   Kia          OPTIMA              FT. LAUDERDALE            FL
114700   5XXGT4L32KG291444   Kia          OPTIMA              HOUSTON                   TX
114701   5XXGT4L32KG291492   Kia          OPTIMA              DETROIT                   MI
114702   5XXGT4L32KG291766   Kia          OPTIMA              TAMPA                     FL
114703   5XXGT4L32KG291864   Kia          OPTIMA              FORT LAUDERDALE           FL
114704   5XXGT4L32KG291878   Kia          OPTIMA              DANIA                     FL
114705   5XXGT4L32KG291900   Kia          OPTIMA              ORLANDO                   FL
114706   5XXGT4L32KG291931   Kia          OPTIMA              BOISE                     ID
114707   5XXGT4L32KG292075   Kia          OPTIMA              MIAMI                     FL
114708   5XXGT4L32KG292092   Kia          OPTIMA              FAYETTEVILLE              GA
114709   5XXGT4L32KG292321   Kia          OPTIMA              FORT MYERS                FL
114710   5XXGT4L32KG292657   Kia          OPTIMA              Pensacola                 FL
114711   5XXGT4L32KG292688   Kia          OPTIMA              Detroit                   MI
114712   5XXGT4L32KG293078   Kia          OPTIMA              KNOXVILLE                 TN
114713   5XXGT4L32KG293114   Kia          OPTIMA              FORT MYERS                FL
114714   5XXGT4L32KG293159   Kia          OPTIMA              SANTA ANA                 CA
114715   5XXGT4L32KG300742   Kia          OPTIMA              Slidell                   LA
114716   5XXGT4L32KG301616   Kia          OPTIMA              Austin                    TX
114717   5XXGT4L32KG302460   Kia          OPTIMA              ORLANDO                   FL
114718   5XXGT4L32KG319839   Kia          OPTIMA              DALLAS                    TX
114719   5XXGT4L32KG322546   Kia          OPTIMA              Slidell                   LA
114720   5XXGT4L32KG322739   Kia          OPTIMA              Hayward                   CA
114721   5XXGT4L32KG322806   Kia          OPTIMA              FORT MYERS                FL
114722   5XXGT4L32KG322823   Kia          OPTIMA              Richmond                  VA
114723   5XXGT4L32KG323020   Kia          OPTIMA              WEST PALM BEACH           FL
114724   5XXGT4L32KG323115   Kia          OPTIMA              ORLANDO                   FL
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114725   5XXGT4L32KG323759   Kia          OPTIMA              FULLERTON                 CA
114726   5XXGT4L32KG324006   Kia          OPTIMA              Dallas                    TX
114727   5XXGT4L32KG324622   Kia          OPTIMA              PLEASANTON                CA
114728   5XXGT4L32KG324667   Kia          OPTIMA              Salt Lake City            UT
114729   5XXGT4L32KG325317   Kia          OPTIMA              Salt Lake City            UT
114730   5XXGT4L32KG325513   Kia          OPTIMA              LOS ANGELES               CA
114731   5XXGT4L32KG326015   Kia          OPTIMA              Syracuse                  NY
114732   5XXGT4L32KG326094   Kia          OPTIMA              Riverside                 CA
114733   5XXGT4L32KG327410   Kia          OPTIMA              Portland                  OR
114734   5XXGT4L32KG328881   Kia          OPTIMA              Sacramento                CA
114735   5XXGT4L32KG347883   Kia          OPTIMA              ORLANDO                   FL
114736   5XXGT4L32KG349004   Kia          OPTIMA              Jacksonville              FL
114737   5XXGT4L32LG386488   Kia          OPTIMA              LOS ANGELES               CA
114738   5XXGT4L32LG386524   Kia          OPTIMA              LOS ANGELES               CA
114739   5XXGT4L32LG386538   Kia          OPTIMA              CLOVIS                    CA
114740   5XXGT4L32LG386586   Kia          OPTIMA              LOS ANGELES               CA
114741   5XXGT4L32LG386619   Kia          OPTIMA              SEATAC                    WA
114742   5XXGT4L32LG386622   Kia          OPTIMA              LOS ANGELES               CA
114743   5XXGT4L32LG386684   Kia          OPTIMA              Sacramento                CA
114744   5XXGT4L32LG386703   Kia          OPTIMA              SAN DIEGO                 CA
114745   5XXGT4L32LG386717   Kia          OPTIMA              Vandalia                  OH
114746   5XXGT4L32LG386734   Kia          OPTIMA              Buena Park                CA
114747   5XXGT4L32LG386751   Kia          OPTIMA              BURBANK                   CA
114748   5XXGT4L32LG386765   Kia          OPTIMA              LOS ANGELES               CA
114749   5XXGT4L32LG386779   Kia          OPTIMA              INGLEWOOD                 CA
114750   5XXGT4L32LG386782   Kia          OPTIMA              SANTA ANA                 CA
114751   5XXGT4L32LG386815   Kia          OPTIMA              MONTCLAIR                 CA
114752   5XXGT4L32LG386944   Kia          OPTIMA              SAN DIEGO                 CA
114753   5XXGT4L32LG386992   Kia          OPTIMA              PHOENIX                   AZ
114754   5XXGT4L32LG387026   Kia          OPTIMA              Albuquerque               NM
114755   5XXGT4L32LG387074   Kia          OPTIMA              Las Vegas                 NV
114756   5XXGT4L32LG387091   Kia          OPTIMA              LOS ANGELES               CA
114757   5XXGT4L32LG387124   Kia          OPTIMA              Roseville                 CA
114758   5XXGT4L32LG387155   Kia          OPTIMA              PALM SPRINGS              CA
114759   5XXGT4L32LG387303   Kia          OPTIMA              SAN DIEGO                 CA
114760   5XXGT4L32LG387317   Kia          OPTIMA              PLEASANTON                CA
114761   5XXGT4L32LG387320   Kia          OPTIMA              LOS ANGELES               CA
114762   5XXGT4L32LG387396   Kia          OPTIMA              LOS ANGELES               CA
114763   5XXGT4L32LG387494   Kia          OPTIMA              SAN DIEGO                 CA
114764   5XXGT4L32LG387981   Kia          OPTIMA              LOS ANGELES               CA
114765   5XXGT4L32LG388001   Kia          OPTIMA              FULLERTON                 CA
114766   5XXGT4L32LG388273   Kia          OPTIMA              SANTA BARBARA             CA
114767   5XXGT4L32LG388306   Kia          OPTIMA              Columbus                  OH
114768   5XXGT4L32LG388354   Kia          OPTIMA              SANTA ANA                 CA
114769   5XXGT4L32LG388418   Kia          OPTIMA              LOS ANGELES               CA
114770   5XXGT4L32LG388905   Kia          OPTIMA              LOS ANGELES               CA
114771   5XXGT4L32LG389343   Kia          OPTIMA              SAN DIEGO                 CA
114772   5XXGT4L32LG389536   Kia          OPTIMA              LOS ANGELES               CA
114773   5XXGT4L32LG389598   Kia          OPTIMA              PORTLAND                  OR
114774   5XXGT4L32LG389665   Kia          OPTIMA              BURBANK                   CA
114775   5XXGT4L32LG389679   Kia          OPTIMA              SEATAC                    WA
114776   5XXGT4L32LG389746   Kia          OPTIMA              ORANGE COUNTY             CA
114777   5XXGT4L32LG390119   Kia          OPTIMA              LAS VEGAS                 NV
114778   5XXGT4L32LG390122   Kia          OPTIMA              SAN DIEGO                 CA
114779   5XXGT4L32LG390136   Kia          OPTIMA              BURBANK                   CA
114780   5XXGT4L32LG390198   Kia          OPTIMA              LOS ANGELES               CA
114781   5XXGT4L32LG390301   Kia          OPTIMA              SAN DIEGO                 CA
114782   5XXGT4L32LG390489   Kia          OPTIMA              ONTARIO                   CA
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114783   5XXGT4L32LG390606   Kia          OPTIMA              ONTARIO, RIVERSIDE        CA
114784   5XXGT4L32LG390623   Kia          OPTIMA              FRESNO                    CA
114785   5XXGT4L32LG390752   Kia          OPTIMA              PORTLAND                  OR
114786   5XXGT4L32LG390959   Kia          OPTIMA              LOS ANGELES               CA
114787   5XXGT4L32LG391111   Kia          OPTIMA              Salt Lake City            UT
114788   5XXGT4L32LG391237   Kia          OPTIMA              Harvey                    LA
114789   5XXGT4L32LG391299   Kia          OPTIMA              Warr Acres                OK
114790   5XXGT4L32LG391304   Kia          OPTIMA              PORTLAND                  OR
114791   5XXGT4L32LG391321   Kia          OPTIMA              Dania Beach               FL
114792   5XXGT4L32LG391447   Kia          OPTIMA              LAS VEGAS                 NV
114793   5XXGT4L32LG391450   Kia          OPTIMA              BURBANK                   CA
114794   5XXGT4L32LG391464   Kia          OPTIMA              FRESNO                    CA
114795   5XXGT4L32LG391531   Kia          OPTIMA              LAS VEGAS                 NV
114796   5XXGT4L32LG391626   Kia          OPTIMA              LOS ANGELES               CA
114797   5XXGT4L32LG391657   Kia          OPTIMA              CLARKSVILLE               IN
114798   5XXGT4L32LG391691   Kia          OPTIMA              LOS ANGELES               CA
114799   5XXGT4L32LG391769   Kia          OPTIMA              LOS ANGELES AP            CA
114800   5XXGT4L32LG391819   Kia          OPTIMA              SEATAC                    WA
114801   5XXGT4L32LG391822   Kia          OPTIMA              SAN DIEGO                 CA
114802   5XXGT4L32LG391867   Kia          OPTIMA              EMERYVILLE                CA
114803   5XXGT4L32LG391917   Kia          OPTIMA              LOS ANGELES               CA
114804   5XXGT4L32LG391965   Kia          OPTIMA              LAS VEGAS                 NV
114805   5XXGT4L32LG392047   Kia          OPTIMA              DANIA BEACH               FL
114806   5XXGT4L32LG392159   Kia          OPTIMA              PLEASANTON                CA
114807   5XXGT4L32LG392324   Kia          OPTIMA              ONTARIO                   CA
114808   5XXGT4L32LG392422   Kia          OPTIMA              Sacramento                CA
114809   5XXGT4L32LG392646   Kia          OPTIMA              LAS VEGAS                 NV
114810   5XXGT4L32LG392663   Kia          OPTIMA              SAN LEANDRO               CA
114811   5XXGT4L32LG392808   Kia          OPTIMA              Baltimore                 MD
114812   5XXGT4L32LG394249   Kia          OPTIMA              Harvey                    LA
114813   5XXGT4L32LG394347   Kia          OPTIMA              Irving                    TX
114814   5XXGT4L32LG394459   Kia          OPTIMA              Phoenix                   AZ
114815   5XXGT4L32LG397491   Kia          OPTIMA              CLOVIS                    CA
114816   5XXGT4L32LG406562   Kia          OPTIMA              Warr Acres                OK
114817   5XXGT4L32LG406612   Kia          OPTIMA              JACKSONVILLE              FL
114818   5XXGT4L32LG406917   Kia          OPTIMA              Austin                    TX
114819   5XXGT4L32LG407498   Kia          OPTIMA              Harvey                    LA
114820   5XXGT4L32LG412295   Kia          OPTIMA              Miami                     FL
114821   5XXGT4L32LG412961   Kia          OPTIMA              Estero                    FL
114822   5XXGT4L32LG418971   Kia          OPTIMA              Englewood                 CO
114823   5XXGT4L32LG423572   Kia          OPTIMA              EULESS                    TX
114824   5XXGT4L32LG424690   Kia          OPTIMA              Oklahoma City             OK
114825   5XXGT4L32LG425533   Kia          OPTIMA              Irving                    TX
114826   5XXGT4L32LG425788   Kia          OPTIMA              Hendersonville            TN
114827   5XXGT4L32LG425807   Kia          OPTIMA              Ft Pierce                 FL
114828   5XXGT4L32LG428822   Kia          OPTIMA              Tulsa                     OK
114829   5XXGT4L32LG428836   Kia          OPTIMA              Killeen                   TX
114830   5XXGT4L32LG429386   Kia          OPTIMA              Tampa                     FL
114831   5XXGT4L32LG430425   Kia          OPTIMA              Winston‐Salem             NC
114832   5XXGT4L33GG076839   Kia          OPTIMA              Seattle                   WA
114833   5XXGT4L33HG128486   Kia          OPTIMA              ORLANDO                   FL
114834   5XXGT4L33HG146695   Kia          OPTIMA              BURBANK                   CA
114835   5XXGT4L33HG155221   Kia          OPTIMA              Philadelphia              PA
114836   5XXGT4L33HG161665   Kia          OPTIMA              Lynn                      MA
114837   5XXGT4L33HG166364   Kia          OPTIMA              Kent                      WA
114838   5XXGT4L33HG166865   Kia          OPTIMA              Portland                  OR
114839   5XXGT4L33HG171077   Kia          OPTIMA              Tampa                     FL
114840   5XXGT4L33JG181629   Kia          OPTIMA              NORTH PAC                 CA
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114841   5XXGT4L33JG184322   Kia          OPTIMA              Atlanta                   GA
114842   5XXGT4L33JG194106   Kia          OPTIMA              Lake Elsinore             CA
114843   5XXGT4L33JG197765   Kia          OPTIMA              SANTA ANA                 CA
114844   5XXGT4L33JG198169   Kia          OPTIMA              LOS ANGELES               CA
114845   5XXGT4L33JG198933   Kia          OPTIMA              BURBANK                   CA
114846   5XXGT4L33JG199287   Kia          OPTIMA              SAN JOSE                  CA
114847   5XXGT4L33JG199435   Kia          OPTIMA              CHICAGO                   IL
114848   5XXGT4L33JG207677   Kia          OPTIMA              CLEVELAND                 OH
114849   5XXGT4L33JG209493   Kia          OPTIMA              RALEIGH                   NC
114850   5XXGT4L33JG210563   Kia          OPTIMA              TAMPA                     FL
114851   5XXGT4L33JG211891   Kia          OPTIMA              KNOXVILLE                 TN
114852   5XXGT4L33JG213060   Kia          OPTIMA              SEATAC                    WA
114853   5XXGT4L33JG215052   Kia          OPTIMA              SAN DIEGO                 CA
114854   5XXGT4L33JG215312   Kia          OPTIMA              Los Angeles               CA
114855   5XXGT4L33JG215455   Kia          OPTIMA              Elkridge                  MD
114856   5XXGT4L33JG216377   Kia          OPTIMA              Atlanta                   GA
114857   5XXGT4L33JG217481   Kia          OPTIMA              HANOVER                   MD
114858   5XXGT4L33JG222146   Kia          OPTIMA              NORTH PAC                 CA
114859   5XXGT4L33JG224639   Kia          OPTIMA              Memphis                   TN
114860   5XXGT4L33JG225712   Kia          OPTIMA              SEATAC                    WA
114861   5XXGT4L33JG226259   Kia          OPTIMA              CHARLOTTE                 NC
114862   5XXGT4L33JG226679   Kia          OPTIMA              PHOENIX                   AZ
114863   5XXGT4L33JG227735   Kia          OPTIMA              CHANDLER                  AZ
114864   5XXGT4L33JG234748   Kia          OPTIMA              Davie                     FL
114865   5XXGT4L33JG235026   Kia          OPTIMA              FT. LAUDERDALE            FL
114866   5XXGT4L33JG235611   Kia          OPTIMA              PHILADELPHIA              PA
114867   5XXGT4L33JG235625   Kia          OPTIMA              Tampa                     FL
114868   5XXGT4L33JG236189   Kia          OPTIMA              ORLANDO                   FL
114869   5XXGT4L33JG238783   Kia          OPTIMA              PHILADELPHIA              PA
114870   5XXGT4L33KG275284   Kia          OPTIMA              MONTEREY                  CA
114871   5XXGT4L33KG275303   Kia          OPTIMA              OAKLAND                   CA
114872   5XXGT4L33KG275334   Kia          OPTIMA              Sacramento                CA
114873   5XXGT4L33KG275544   Kia          OPTIMA              BURBANK                   CA
114874   5XXGT4L33KG275608   Kia          OPTIMA              SEATTLE                   WA
114875   5XXGT4L33KG275639   Kia          OPTIMA              GYPSUM                    CO
114876   5XXGT4L33KG275642   Kia          OPTIMA              Norwalk                   CA
114877   5XXGT4L33KG275754   Kia          OPTIMA              SANTA ANA                 CA
114878   5XXGT4L33KG275785   Kia          OPTIMA              SAN DIEGO                 CA
114879   5XXGT4L33KG276175   Kia          OPTIMA              BURBANK                   CA
114880   5XXGT4L33KG276239   Kia          OPTIMA              SANTA ANA                 CA
114881   5XXGT4L33KG276242   Kia          OPTIMA              BURBANK                   CA
114882   5XXGT4L33KG276385   Kia          OPTIMA              SAN FRANCISCO             CA
114883   5XXGT4L33KG276466   Kia          OPTIMA              ROANOKE                   VA
114884   5XXGT4L33KG276533   Kia          OPTIMA              BURBANK                   CA
114885   5XXGT4L33KG276693   Kia          OPTIMA              Des Moines                IA
114886   5XXGT4L33KG276757   Kia          OPTIMA              CHICAGO                   IL
114887   5XXGT4L33KG276919   Kia          OPTIMA              OAKLAND                   CA
114888   5XXGT4L33KG276953   Kia          OPTIMA              TAMPA                     FL
114889   5XXGT4L33KG277147   Kia          OPTIMA              Harvey                    LA
114890   5XXGT4L33KG277214   Kia          OPTIMA              SAINT PAUL                MN
114891   5XXGT4L33KG277228   Kia          OPTIMA              ONTARIO, RIVERSIDE        CA
114892   5XXGT4L33KG277455   Kia          OPTIMA              Hayward                   CA
114893   5XXGT4L33KG277505   Kia          OPTIMA              SOUTHEAST DST OFFC        OK
114894   5XXGT4L33KG278217   Kia          OPTIMA              SEATAC                    WA
114895   5XXGT4L33KG278282   Kia          OPTIMA              Ventura                   CA
114896   5XXGT4L33KG278315   Kia          OPTIMA              ORLANDO                   FL
114897   5XXGT4L33KG278587   Kia          OPTIMA              PLEASANTON                CA
114898   5XXGT4L33KG278637   Kia          OPTIMA              Matteson                  IL
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114899   5XXGT4L33KG278735   Kia          OPTIMA              TUCSON                    AZ
114900   5XXGT4L33KG278900   Kia          OPTIMA              TAMPA                     FL
114901   5XXGT4L33KG278945   Kia          OPTIMA              PHOENIX                   AZ
114902   5XXGT4L33KG279125   Kia          OPTIMA              CHARLESTON                SC
114903   5XXGT4L33KG279156   Kia          OPTIMA              INDIANAPOLIS              IN
114904   5XXGT4L33KG279206   Kia          OPTIMA              PALM SPRINGS              CA
114905   5XXGT4L33KG279271   Kia          OPTIMA              NEW BERN                  NC
114906   5XXGT4L33KG279383   Kia          OPTIMA              ATLANTA                   GA
114907   5XXGT4L33KG279478   Kia          OPTIMA              Hebron                    KY
114908   5XXGT4L33KG279884   Kia          OPTIMA              DES PLAINES               IL
114909   5XXGT4L33KG279898   Kia          OPTIMA              Rio Linda                 CA
114910   5XXGT4L33KG279948   Kia          OPTIMA              ORLANDO                   FL
114911   5XXGT4L33KG280243   Kia          OPTIMA              TAMPA                     FL
114912   5XXGT4L33KG281702   Kia          OPTIMA              Englewood                 CO
114913   5XXGT4L33KG281747   Kia          OPTIMA              Cicero                    NY
114914   5XXGT4L33KG281750   Kia          OPTIMA              North Dighton             MA
114915   5XXGT4L33KG282025   Kia          OPTIMA              PHILADELPHIA              PA
114916   5XXGT4L33KG282185   Kia          OPTIMA              DFW AIRPORT               TX
114917   5XXGT4L33KG282316   Kia          OPTIMA              TAMPA                     FL
114918   5XXGT4L33KG282381   Kia          OPTIMA              DANIA BEACH               FL
114919   5XXGT4L33KG282414   Kia          OPTIMA              Atlanta                   GA
114920   5XXGT4L33KG282591   Kia          OPTIMA              KEY WEST                  FL
114921   5XXGT4L33KG282610   Kia          OPTIMA              Teterboro                 NJ
114922   5XXGT4L33KG282624   Kia          OPTIMA              JACKSONVILLE              FL
114923   5XXGT4L33KG282672   Kia          OPTIMA              Hapeville                 GA
114924   5XXGT4L33KG283000   Kia          OPTIMA              Fredericksburg            VA
114925   5XXGT4L33KG283126   Kia          OPTIMA              WARWICK                   RI
114926   5XXGT4L33KG283515   Kia          OPTIMA              LOS ANGELES               CA
114927   5XXGT4L33KG283577   Kia          OPTIMA              NASHVILLE                 TN
114928   5XXGT4L33KG283630   Kia          OPTIMA              ORANGE COUNTY             CA
114929   5XXGT4L33KG283644   Kia          OPTIMA              ORLANDO                   FL
114930   5XXGT4L33KG283725   Kia          OPTIMA              Ft. Myers                 FL
114931   5XXGT4L33KG283742   Kia          OPTIMA              FORT MYERS                FL
114932   5XXGT4L33KG283773   Kia          OPTIMA              ORLANDO                   FL
114933   5XXGT4L33KG283823   Kia          OPTIMA              ONTARIO                   CA
114934   5XXGT4L33KG283840   Kia          OPTIMA              SAN JOSE                  CA
114935   5XXGT4L33KG283885   Kia          OPTIMA              TAMPA                     FL
114936   5XXGT4L33KG283921   Kia          OPTIMA              CLEVELAND                 OH
114937   5XXGT4L33KG284079   Kia          OPTIMA              BURBANK                   CA
114938   5XXGT4L33KG284194   Kia          OPTIMA              Englewood                 CO
114939   5XXGT4L33KG284440   Kia          OPTIMA              ORLANDO                   FL
114940   5XXGT4L33KG284454   Kia          OPTIMA              Dallas                    TX
114941   5XXGT4L33KG284468   Kia          OPTIMA              PHILADELPHIA              PA
114942   5XXGT4L33KG284549   Kia          OPTIMA              FORT MYERS                FL
114943   5XXGT4L33KG284552   Kia          OPTIMA              MCALLEN                   TX
114944   5XXGT4L33KG284583   Kia          OPTIMA              Atlanta                   GA
114945   5XXGT4L33KG284616   Kia          OPTIMA              Wilmington                NC
114946   5XXGT4L33KG284678   Kia          OPTIMA              PHOENIX                   AZ
114947   5XXGT4L33KG284972   Kia          OPTIMA              DENVER                    CO
114948   5XXGT4L33KG285183   Kia          OPTIMA              Lake Elsinore             CA
114949   5XXGT4L33KG285295   Kia          OPTIMA              CHANDLER                  AZ
114950   5XXGT4L33KG285457   Kia          OPTIMA              INGLEWOOD                 CA
114951   5XXGT4L33KG285510   Kia          OPTIMA              Phoenix                   AZ
114952   5XXGT4L33KG285958   Kia          OPTIMA              Phoenix                   AZ
114953   5XXGT4L33KG286284   Kia          OPTIMA              PHOENIX                   AZ
114954   5XXGT4L33KG286320   Kia          OPTIMA              LAS VEGAS                 NV
114955   5XXGT4L33KG286379   Kia          OPTIMA              LOS ANGELES               CA
114956   5XXGT4L33KG286382   Kia          OPTIMA              Atlanta                   GA
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114957   5XXGT4L33KG286477   Kia          OPTIMA              DENVER                    CO
114958   5XXGT4L33KG286513   Kia          OPTIMA              ONTARIO                   CA
114959   5XXGT4L33KG286723   Kia          OPTIMA              WHITE PLAINS              NY
114960   5XXGT4L33KG286737   Kia          OPTIMA              GUNNISON                  CO
114961   5XXGT4L33KG286902   Kia          OPTIMA              LOS ANGELES               CA
114962   5XXGT4L33KG287578   Kia          OPTIMA              TUCSON                    AZ
114963   5XXGT4L33KG287581   Kia          OPTIMA              SPOKANE                   WA
114964   5XXGT4L33KG288147   Kia          OPTIMA              INDIANAPOLIS              IN
114965   5XXGT4L33KG288150   Kia          OPTIMA              PHOENIX                   AZ
114966   5XXGT4L33KG288276   Kia          OPTIMA              SAN ANTONIO               TX
114967   5XXGT4L33KG288617   Kia          OPTIMA              SANTA CLARA               CA
114968   5XXGT4L33KG288861   Kia          OPTIMA              AUSTIN                    TX
114969   5XXGT4L33KG288875   Kia          OPTIMA              LOS ANGELES               CA
114970   5XXGT4L33KG289203   Kia          OPTIMA              TAMPA                     FL
114971   5XXGT4L33KG289248   Kia          OPTIMA              Costa Mesa                CA
114972   5XXGT4L33KG289315   Kia          OPTIMA              LOS ANGELES               CA
114973   5XXGT4L33KG289329   Kia          OPTIMA              SAN LEANDRO               CA
114974   5XXGT4L33KG289377   Kia          OPTIMA              Irving                    TX
114975   5XXGT4L33KG289444   Kia          OPTIMA              Des Moines                IA
114976   5XXGT4L33KG289489   Kia          OPTIMA              EL PASO                   TX
114977   5XXGT4L33KG289508   Kia          OPTIMA              ONTARIO                   CA
114978   5XXGT4L33KG289802   Kia          OPTIMA              Phoenix                   AZ
114979   5XXGT4L33KG289847   Kia          OPTIMA              MIAMI                     FL
114980   5XXGT4L33KG289878   Kia          OPTIMA              LAS VEGAS                 NV
114981   5XXGT4L33KG290108   Kia          OPTIMA              LOS ANGELES               CA
114982   5XXGT4L33KG290111   Kia          OPTIMA              BURBANK                   CA
114983   5XXGT4L33KG290139   Kia          OPTIMA              FORT MYERS                FL
114984   5XXGT4L33KG290156   Kia          OPTIMA              SAN DIEGO                 CA
114985   5XXGT4L33KG290223   Kia          OPTIMA              Harlingen                 TX
114986   5XXGT4L33KG290268   Kia          OPTIMA              Ventura                   CA
114987   5XXGT4L33KG290271   Kia          OPTIMA              FRESNO                    CA
114988   5XXGT4L33KG290299   Kia          OPTIMA              SARASOTA                  FL
114989   5XXGT4L33KG290335   Kia          OPTIMA              BURBANK                   CA
114990   5XXGT4L33KG290528   Kia          OPTIMA              HOUSTON                   TX
114991   5XXGT4L33KG290657   Kia          OPTIMA              LOS ANGELES               CA
114992   5XXGT4L33KG290660   Kia          OPTIMA              ORANGE COUNTY             CA
114993   5XXGT4L33KG290769   Kia          OPTIMA              KANSAS CITY               MO
114994   5XXGT4L33KG290805   Kia          OPTIMA              SAN DIEGO                 CA
114995   5XXGT4L33KG290934   Kia          OPTIMA              DETROIT                   MI
114996   5XXGT4L33KG291047   Kia          OPTIMA              ORLANDO                   FL
114997   5XXGT4L33KG291114   Kia          OPTIMA              Rock Hill                 SC
114998   5XXGT4L33KG291131   Kia          OPTIMA              Austin                    TX
114999   5XXGT4L33KG291243   Kia          OPTIMA              OAKLAND                   CA
115000   5XXGT4L33KG291484   Kia          OPTIMA              ONTARIO                   CA
115001   5XXGT4L33KG291811   Kia          OPTIMA              SAN FRANCISCO             CA
115002   5XXGT4L33KG291968   Kia          OPTIMA              FORT MYERS                FL
115003   5XXGT4L33KG291985   Kia          OPTIMA              LOS ANGELES               CA
115004   5XXGT4L33KG292070   Kia          OPTIMA              HARTFORD                  CT
115005   5XXGT4L33KG292215   Kia          OPTIMA              CLEVELAND                 OH
115006   5XXGT4L33KG292473   Kia          OPTIMA              CHICAGO                   IL
115007   5XXGT4L33KG292974   Kia          OPTIMA              Miami                     FL
115008   5XXGT4L33KG293087   Kia          OPTIMA              KANSAS CITY               MO
115009   5XXGT4L33KG293106   Kia          OPTIMA              ORLANDO                   FL
115010   5XXGT4L33KG308817   Kia          OPTIMA              TAMPA                     FL
115011   5XXGT4L33KG312267   Kia          OPTIMA              Springfield               MO
115012   5XXGT4L33KG321969   Kia          OPTIMA              SEATAC                    WA
115013   5XXGT4L33KG321972   Kia          OPTIMA              Burien                    WA
115014   5XXGT4L33KG322555   Kia          OPTIMA              Orlando                   FL
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115015   5XXGT4L33KG323110   Kia          OPTIMA              Hapeville                 GA
115016   5XXGT4L33KG323592   Kia          OPTIMA              Stone Mountain            GA
115017   5XXGT4L33KG324483   Kia          OPTIMA              EULESS                    TX
115018   5XXGT4L33KG324659   Kia          OPTIMA              Las Vegas                 NV
115019   5XXGT4L33KG325441   Kia          OPTIMA              ROY                       UT
115020   5XXGT4L33KG325584   Kia          OPTIMA              Newark                    NJ
115021   5XXGT4L33KG326069   Kia          OPTIMA              Portland                  OR
115022   5XXGT4L33KG327027   Kia          OPTIMA              San Diego                 CA
115023   5XXGT4L33KG327125   Kia          OPTIMA              ONTARIO                   CA
115024   5XXGT4L33KG327206   Kia          OPTIMA              LOS ANGELES               CA
115025   5XXGT4L33KG331501   Kia          OPTIMA              SOUTHEAST DST OFFC        OK
115026   5XXGT4L33KG331532   Kia          OPTIMA              SOUTHEAST DST OFFC        OK
115027   5XXGT4L33KG333278   Kia          OPTIMA              ORLANDO                   FL
115028   5XXGT4L33KG336925   Kia          OPTIMA              LOUISVILLE                KY
115029   5XXGT4L33KG348492   Kia          OPTIMA              HOUSTON                   TX
115030   5XXGT4L33KG349478   Kia          OPTIMA              ORLANDO                   FL
115031   5XXGT4L33LG386516   Kia          OPTIMA              ORANGE COUNTY             CA
115032   5XXGT4L33LG386547   Kia          OPTIMA              LAS VEGAS                 NV
115033   5XXGT4L33LG386600   Kia          OPTIMA              INGLEWOOD                 CA
115034   5XXGT4L33LG386659   Kia          OPTIMA              Indianapolis              IN
115035   5XXGT4L33LG386791   Kia          OPTIMA              BURBANK                   CA
115036   5XXGT4L33LG386936   Kia          OPTIMA              SEATTLE                   WA
115037   5XXGT4L33LG386998   Kia          OPTIMA              Scottsdale                AZ
115038   5XXGT4L33LG387083   Kia          OPTIMA              SANTA ANA                 CA
115039   5XXGT4L33LG387097   Kia          OPTIMA              LAS VEGAS                 NV
115040   5XXGT4L33LG387200   Kia          OPTIMA              LAS VEGAS                 NV
115041   5XXGT4L33LG387407   Kia          OPTIMA              SAN DIEGO                 CA
115042   5XXGT4L33LG387441   Kia          OPTIMA              SACRAMENTO                CA
115043   5XXGT4L33LG387486   Kia          OPTIMA              SAN DIEGO                 CA
115044   5XXGT4L33LG387505   Kia          OPTIMA              BURBANK                   CA
115045   5XXGT4L33LG389352   Kia          OPTIMA              Los Angeles               CA
115046   5XXGT4L33LG389416   Kia          OPTIMA              MEDINA                    OH
115047   5XXGT4L33LG389447   Kia          OPTIMA              Warr Acres                OK
115048   5XXGT4L33LG389450   Kia          OPTIMA              LOS ANGELES               CA
115049   5XXGT4L33LG389562   Kia          OPTIMA              SACRAMENTO                CA
115050   5XXGT4L33LG389593   Kia          OPTIMA              Portland                  OR
115051   5XXGT4L33LG389643   Kia          OPTIMA              LOS ANGELES               CA
115052   5XXGT4L33LG389674   Kia          OPTIMA              Richmond                  VA
115053   5XXGT4L33LG389688   Kia          OPTIMA              Des Moines                IA
115054   5XXGT4L33LG389691   Kia          OPTIMA              Portland                  OR
115055   5XXGT4L33LG389755   Kia          OPTIMA              ORANGE COUNTY             CA
115056   5XXGT4L33LG390307   Kia          OPTIMA              BURBANK                   CA
115057   5XXGT4L33LG390324   Kia          OPTIMA              PALM SPRINGS              CA
115058   5XXGT4L33LG390467   Kia          OPTIMA              SAN FRANCISCO             CA
115059   5XXGT4L33LG390498   Kia          OPTIMA              LOS ANGELES               CA
115060   5XXGT4L33LG390520   Kia          OPTIMA              LAS VEGAS                 NV
115061   5XXGT4L33LG390565   Kia          OPTIMA              SAN DIEGO                 CA
115062   5XXGT4L33LG390601   Kia          OPTIMA              SAN FRANCISCO             CA
115063   5XXGT4L33LG390615   Kia          OPTIMA              SAN JOSE                  CA
115064   5XXGT4L33LG390629   Kia          OPTIMA              SAN JOSE                  CA
115065   5XXGT4L33LG390677   Kia          OPTIMA              SEATAC                    WA
115066   5XXGT4L33LG390680   Kia          OPTIMA              SEATAC                    WA
115067   5XXGT4L33LG390761   Kia          OPTIMA              SEA TAC                   WA
115068   5XXGT4L33LG390808   Kia          OPTIMA              Beaverton                 OR
115069   5XXGT4L33LG390985   Kia          OPTIMA              Irving                    TX
115070   5XXGT4L33LG391120   Kia          OPTIMA              LOS ANGELES               CA
115071   5XXGT4L33LG391277   Kia          OPTIMA              Dallas                    TX
115072   5XXGT4L33LG391358   Kia          OPTIMA              Portland                  OR
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115073   5XXGT4L33LG391375   Kia          OPTIMA              SANTA ANA                 CA
115074   5XXGT4L33LG391425   Kia          OPTIMA              DALLAS                    TX
115075   5XXGT4L33LG391439   Kia          OPTIMA              Dallas                    TX
115076   5XXGT4L33LG391442   Kia          OPTIMA              OAKLAND                   CA
115077   5XXGT4L33LG391506   Kia          OPTIMA              LAS VEGAS                 NV
115078   5XXGT4L33LG391537   Kia          OPTIMA              FORT MYERS                FL
115079   5XXGT4L33LG391540   Kia          OPTIMA              Los Angeles               CA
115080   5XXGT4L33LG391554   Kia          OPTIMA              LOS ANGELES AP            CA
115081   5XXGT4L33LG391652   Kia          OPTIMA              Killeen                   TX
115082   5XXGT4L33LG391716   Kia          OPTIMA              SAN JOSE                  CA
115083   5XXGT4L33LG391764   Kia          OPTIMA              Downey                    CA
115084   5XXGT4L33LG391778   Kia          OPTIMA              PALM SPRINGS              CA
115085   5XXGT4L33LG391781   Kia          OPTIMA              SANTA ANA                 CA
115086   5XXGT4L33LG391800   Kia          OPTIMA              SAN DIEGO                 CA
115087   5XXGT4L33LG391828   Kia          OPTIMA              LOS ANGELES               CA
115088   5XXGT4L33LG391831   Kia          OPTIMA              SAN DIEGO                 CA
115089   5XXGT4L33LG391845   Kia          OPTIMA              RENO                      NV
115090   5XXGT4L33LG391859   Kia          OPTIMA              SANTA ANA                 CA
115091   5XXGT4L33LG391862   Kia          OPTIMA              SANTA BARBARA             CA
115092   5XXGT4L33LG391926   Kia          OPTIMA              SANTA ANA                 CA
115093   5XXGT4L33LG392283   Kia          OPTIMA              Sacramento                CA
115094   5XXGT4L33LG392297   Kia          OPTIMA              Costa Mesa                CA
115095   5XXGT4L33LG392445   Kia          OPTIMA              LOS ANGELES AP            CA
115096   5XXGT4L33LG392655   Kia          OPTIMA              San Diego                 CA
115097   5XXGT4L33LG392803   Kia          OPTIMA              NORTH PAC                 CA
115098   5XXGT4L33LG392896   Kia          OPTIMA              SAN DIEGO                 CA
115099   5XXGT4L33LG394034   Kia          OPTIMA              Phoenix                   AZ
115100   5XXGT4L33LG394082   Kia          OPTIMA              Tulsa                     OK
115101   5XXGT4L33LG394387   Kia          OPTIMA              San Antonio               TX
115102   5XXGT4L33LG394485   Kia          OPTIMA              Dallas                    TX
115103   5XXGT4L33LG397421   Kia          OPTIMA              Costa Mesa                CA
115104   5XXGT4L33LG403038   Kia          OPTIMA              SEATAC                    WA
115105   5XXGT4L33LG407445   Kia          OPTIMA              Dallas                    TX
115106   5XXGT4L33LG412936   Kia          OPTIMA              MELROSE PARK              IL
115107   5XXGT4L33LG423774   Kia          OPTIMA              Roseville                 CA
115108   5XXGT4L33LG423970   Kia          OPTIMA              Warr Acres                OK
115109   5XXGT4L33LG424360   Kia          OPTIMA              Tampa                     FL
115110   5XXGT4L33LG424861   Kia          OPTIMA              Tulsa                     OK
115111   5XXGT4L33LG424889   Kia          OPTIMA              Oklahoma City             OK
115112   5XXGT4L33LG425072   Kia          OPTIMA              FT LAUDERDALE             FL
115113   5XXGT4L33LG425279   Kia          OPTIMA              ATLANTA                   GA
115114   5XXGT4L33LG425301   Kia          OPTIMA              ATLANTA                   GA
115115   5XXGT4L33LG425380   Kia          OPTIMA              ATLANTA                   GA
115116   5XXGT4L33LG425816   Kia          OPTIMA              Memphis                   TN
115117   5XXGT4L33LG428912   Kia          OPTIMA              Jacksonville              FL
115118   5XXGT4L33LG429784   Kia          OPTIMA              Central Square            NY
115119   5XXGT4L33LG430188   Kia          OPTIMA              Warr Acres                OK
115120   5XXGT4L34GG078678   Kia          OPTIMA              TAMPA                     US
115121   5XXGT4L34GG101411   Kia          OPTIMA              LOS ANGELES               CA
115122   5XXGT4L34HG129260   Kia          OPTIMA              SAN DIEGO                 CA
115123   5XXGT4L34HG130635   Kia          OPTIMA              CHICAGO                   IL
115124   5XXGT4L34HG153610   Kia          OPTIMA              SAN FRANCISCO             CA
115125   5XXGT4L34HG155731   Kia          OPTIMA              BOSTON                    MA
115126   5XXGT4L34HG158595   Kia          OPTIMA              ORLANDO                   FL
115127   5XXGT4L34HG164431   Kia          OPTIMA              SPRINGFIELD               VA
115128   5XXGT4L34HG164946   Kia          OPTIMA              MALDEN                    MA
115129   5XXGT4L34HG170729   Kia          OPTIMA              LOS ANGELES               CA
115130   5XXGT4L34HG170780   Kia          OPTIMA              ROSEVILLE                 CA
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115131   5XXGT4L34HG172576   Kia          OPTIMA              SAN FRANCISCO             CA
115132   5XXGT4L34HG172660   Kia          OPTIMA              MEDINA                    OH
115133   5XXGT4L34HG172903   Kia          OPTIMA              Fountain                  CO
115134   5XXGT4L34JG180831   Kia          OPTIMA              SOUTHEAST DST OFFC        OK
115135   5XXGT4L34JG184538   Kia          OPTIMA              ONTARIO                   CA
115136   5XXGT4L34JG195362   Kia          OPTIMA              Kent                      WA
115137   5XXGT4L34JG196656   Kia          OPTIMA              BURBANK                   CA
115138   5XXGT4L34JG197158   Kia          OPTIMA              BURBANK                   CA
115139   5XXGT4L34JG197273   Kia          OPTIMA              SANTA ANA                 CA
115140   5XXGT4L34JG198164   Kia          OPTIMA              LOS ANGELES               CA
115141   5XXGT4L34JG198410   Kia          OPTIMA              BALDWIN                   NY
115142   5XXGT4L34JG198505   Kia          OPTIMA              Santa Clara               CA
115143   5XXGT4L34JG198665   Kia          OPTIMA              BURBANK                   CA
115144   5XXGT4L34JG198827   Kia          OPTIMA              SAN JOSE                  CA
115145   5XXGT4L34JG198861   Kia          OPTIMA              MORROW                    GA
115146   5XXGT4L34JG199573   Kia          OPTIMA              SACRAMENTO                CA
115147   5XXGT4L34JG199587   Kia          OPTIMA              Stone Mountain            GA
115148   5XXGT4L34JG200852   Kia          OPTIMA              BURBANK                   CA
115149   5XXGT4L34JG209230   Kia          OPTIMA              DENVER                    CO
115150   5XXGT4L34JG209440   Kia          OPTIMA              ROCHESTER                 NY
115151   5XXGT4L34JG212208   Kia          OPTIMA              CHICAGO                   IL
115152   5XXGT4L34JG213391   Kia          OPTIMA              LOS ANGELES               CA
115153   5XXGT4L34JG214475   Kia          OPTIMA              Austin                    TX
115154   5XXGT4L34JG216582   Kia          OPTIMA              CHANDLER                  AZ
115155   5XXGT4L34JG216971   Kia          OPTIMA              Dallas                    TX
115156   5XXGT4L34JG218395   Kia          OPTIMA              PICO RIVERA               CA
115157   5XXGT4L34JG221801   Kia          OPTIMA              HANOVER                   MD
115158   5XXGT4L34JG226240   Kia          OPTIMA              San Antonio               TX
115159   5XXGT4L34JG227856   Kia          OPTIMA              CHARLOTTE                 NC
115160   5XXGT4L34JG229414   Kia          OPTIMA              NORTH PAC                 CA
115161   5XXGT4L34JG229543   Kia          OPTIMA              Las Vegas                 NV
115162   5XXGT4L34JG230000   Kia          OPTIMA              FT LAUDERDALE             FL
115163   5XXGT4L34JG234712   Kia          OPTIMA              Ft. Myers                 FL
115164   5XXGT4L34JG235391   Kia          OPTIMA              Los Angeles               CA
115165   5XXGT4L34JG236945   Kia          OPTIMA              HARVEY                    LA
115166   5XXGT4L34JG242471   Kia          OPTIMA              Bridgeton                 MO
115167   5XXGT4L34JG248920   Kia          OPTIMA              WILLITS                   CA
115168   5XXGT4L34JG249145   Kia          OPTIMA              LOS ANGELES               CA
115169   5XXGT4L34JG249811   Kia          OPTIMA              NORTHEAST DISTRICT        NJ
115170   5XXGT4L34KG275178   Kia          OPTIMA              FRESNO                    CA
115171   5XXGT4L34KG275276   Kia          OPTIMA              BURBANK                   CA
115172   5XXGT4L34KG275469   Kia          OPTIMA              BURBANK                   CA
115173   5XXGT4L34KG275567   Kia          OPTIMA              SACRAMENTO                CA
115174   5XXGT4L34KG275598   Kia          OPTIMA              ST PAUL                   MN
115175   5XXGT4L34KG275763   Kia          OPTIMA              Riverside                 CA
115176   5XXGT4L34KG275780   Kia          OPTIMA              BURBANK                   CA
115177   5XXGT4L34KG275861   Kia          OPTIMA              North Dighton             MA
115178   5XXGT4L34KG275911   Kia          OPTIMA              OAKLAND                   CA
115179   5XXGT4L34KG275956   Kia          OPTIMA              DALLAS                    TX
115180   5XXGT4L34KG275973   Kia          OPTIMA              LOS ANGELES               CA
115181   5XXGT4L34KG275987   Kia          OPTIMA              BURBANK                   CA
115182   5XXGT4L34KG276024   Kia          OPTIMA              OKLAHOMA CITY             OK
115183   5XXGT4L34KG276041   Kia          OPTIMA              TUCSON                    AZ
115184   5XXGT4L34KG276072   Kia          OPTIMA              CHARLOTTE                 NC
115185   5XXGT4L34KG276086   Kia          OPTIMA              NORTH PAC                 CA
115186   5XXGT4L34KG276153   Kia          OPTIMA              SAN FRANCISCO             CA
115187   5XXGT4L34KG276167   Kia          OPTIMA              ONTARIO                   CA
115188   5XXGT4L34KG276170   Kia          OPTIMA              BURBANK                   CA
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115189   5XXGT4L34KG276380   Kia          OPTIMA              ONTARIO                   CA
115190   5XXGT4L34KG276475   Kia          OPTIMA              LOS ANGELES               CA
115191   5XXGT4L34KG276508   Kia          OPTIMA              LAS VEGAS                 NV
115192   5XXGT4L34KG276525   Kia          OPTIMA              BURBANK                   CA
115193   5XXGT4L34KG276606   Kia          OPTIMA              DES MOINES                IA
115194   5XXGT4L34KG276752   Kia          OPTIMA              ORLANDO                   FL
115195   5XXGT4L34KG276833   Kia          OPTIMA              NORTH PAC                 CA
115196   5XXGT4L34KG276847   Kia          OPTIMA              Burien                    WA
115197   5XXGT4L34KG276976   Kia          OPTIMA              BURBANK                   CA
115198   5XXGT4L34KG276993   Kia          OPTIMA              Salt Lake City            UT
115199   5XXGT4L34KG277237   Kia          OPTIMA              LOS ANGELES               CA
115200   5XXGT4L34KG277321   Kia          OPTIMA              Phoenix                   AZ
115201   5XXGT4L34KG277366   Kia          OPTIMA              Matteson                  IL
115202   5XXGT4L34KG277402   Kia          OPTIMA              SEATAC                    WA
115203   5XXGT4L34KG277447   Kia          OPTIMA              LAS VEGAS                 NV
115204   5XXGT4L34KG277481   Kia          OPTIMA              Manheim                   PA
115205   5XXGT4L34KG277710   Kia          OPTIMA              TRACY                     CA
115206   5XXGT4L34KG277755   Kia          OPTIMA              SEATAC                    WA
115207   5XXGT4L34KG277786   Kia          OPTIMA              Harlingen                 TX
115208   5XXGT4L34KG277822   Kia          OPTIMA              BURBANK                   CA
115209   5XXGT4L34KG277853   Kia          OPTIMA              BURBANK                   CA
115210   5XXGT4L34KG277870   Kia          OPTIMA              PHOENIX                   AZ
115211   5XXGT4L34KG277898   Kia          OPTIMA              BURBANK                   CA
115212   5XXGT4L34KG278209   Kia          OPTIMA              Portland                  OR
115213   5XXGT4L34KG278274   Kia          OPTIMA              PORTLAND                  OR
115214   5XXGT4L34KG278310   Kia          OPTIMA              Webster                   NY
115215   5XXGT4L34KG278324   Kia          OPTIMA              ROCHESTER                 NY
115216   5XXGT4L34KG278730   Kia          OPTIMA              SEATAC                    WA
115217   5XXGT4L34KG278890   Kia          OPTIMA              Chicago                   IL
115218   5XXGT4L34KG279196   Kia          OPTIMA              LAS VEGAS                 NV
115219   5XXGT4L34KG279215   Kia          OPTIMA              SEATAC                    WA
115220   5XXGT4L34KG279487   Kia          OPTIMA              Smithtown                 NY
115221   5XXGT4L34KG279568   Kia          OPTIMA              ST Paul                   MN
115222   5XXGT4L34KG279649   Kia          OPTIMA              ROCHESTER                 NY
115223   5XXGT4L34KG279876   Kia          OPTIMA              MEMPHIS                   TN
115224   5XXGT4L34KG279912   Kia          OPTIMA              BOSTON                    MA
115225   5XXGT4L34KG280350   Kia          OPTIMA              DETROIT                   MI
115226   5XXGT4L34KG280509   Kia          OPTIMA              ATLANTA                   GA
115227   5XXGT4L34KG281112   Kia          OPTIMA              Detroit                   MI
115228   5XXGT4L34KG281207   Kia          OPTIMA              PHOENIX                   AZ
115229   5XXGT4L34KG281210   Kia          OPTIMA              Riverside                 CA
115230   5XXGT4L34KG281708   Kia          OPTIMA              Hamilton                  OH
115231   5XXGT4L34KG281739   Kia          OPTIMA              SOUTHEAST DST OFFC        OK
115232   5XXGT4L34KG282115   Kia          OPTIMA              Carleton                  MI
115233   5XXGT4L34KG282230   Kia          OPTIMA              ORLANDO                   FL
115234   5XXGT4L34KG282406   Kia          OPTIMA              Jamaica                   NY
115235   5XXGT4L34KG282633   Kia          OPTIMA              Teterboro                 NJ
115236   5XXGT4L34KG282681   Kia          OPTIMA              WHITE PLAINS              NY
115237   5XXGT4L34KG283331   Kia          OPTIMA              Atlanta                   GA
115238   5XXGT4L34KG283555   Kia          OPTIMA              CHICAGO                   IL
115239   5XXGT4L34KG283572   Kia          OPTIMA              NEW BERN                  NC
115240   5XXGT4L34KG283619   Kia          OPTIMA              OKLAHOMA CITY             OK
115241   5XXGT4L34KG283622   Kia          OPTIMA              MIAMI                     FL
115242   5XXGT4L34KG283636   Kia          OPTIMA              BULLHEAD CITY             AZ
115243   5XXGT4L34KG283748   Kia          OPTIMA              OAKLAND                   CA
115244   5XXGT4L34KG283751   Kia          OPTIMA              Tolleson                  AZ
115245   5XXGT4L34KG283863   Kia          OPTIMA              WEST PALM BEACH           FL
115246   5XXGT4L34KG283958   Kia          OPTIMA              BURBANK                   CA
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115247   5XXGT4L34KG284057   Kia          OPTIMA              FORT MYERS                FL
115248   5XXGT4L34KG284088   Kia          OPTIMA              ORLANDO                   FL
115249   5XXGT4L34KG284091   Kia          OPTIMA              ATLANTA                   GA
115250   5XXGT4L34KG284303   Kia          OPTIMA              SAN FRANCISCO             CA
115251   5XXGT4L34KG284351   Kia          OPTIMA              SEATAC                    WA
115252   5XXGT4L34KG284477   Kia          OPTIMA              CHICAGO                   IL
115253   5XXGT4L34KG284575   Kia          OPTIMA              WEST PALM BEACH           FL
115254   5XXGT4L34KG284639   Kia          OPTIMA              TAMPA                     US
115255   5XXGT4L34KG284642   Kia          OPTIMA              FORT LAUDERDALE           FL
115256   5XXGT4L34KG284690   Kia          OPTIMA              SAN DIEGO                 CA
115257   5XXGT4L34KG284740   Kia          OPTIMA              MIAMI                     FL
115258   5XXGT4L34KG284964   Kia          OPTIMA              Cincinnati                OH
115259   5XXGT4L34KG284995   Kia          OPTIMA              Tampa                     FL
115260   5XXGT4L34KG285113   Kia          OPTIMA              ATLANTA                   GA
115261   5XXGT4L34KG285158   Kia          OPTIMA              PHOENIX                   AZ
115262   5XXGT4L34KG285466   Kia          OPTIMA              ONTARIO                   CA
115263   5XXGT4L34KG285497   Kia          OPTIMA              SEATAC                    WA
115264   5XXGT4L34KG285886   Kia          OPTIMA              LOS ANGELES               CA
115265   5XXGT4L34KG285953   Kia          OPTIMA              LOS ANGELES               CA
115266   5XXGT4L34KG286116   Kia          OPTIMA              LOS ANGELES               CA
115267   5XXGT4L34KG286293   Kia          OPTIMA              PHOENIX                   AZ
115268   5XXGT4L34KG286374   Kia          OPTIMA              BURBANK                   CA
115269   5XXGT4L34KG286455   Kia          OPTIMA              BURBANK                   CA
115270   5XXGT4L34KG286486   Kia          OPTIMA              TUCSON                    AZ
115271   5XXGT4L34KG286505   Kia          OPTIMA              Salt Lake City            UT
115272   5XXGT4L34KG286763   Kia          OPTIMA              SAN FRANCISCO             CA
115273   5XXGT4L34KG286780   Kia          OPTIMA              PHOENIX                   AZ
115274   5XXGT4L34KG288142   Kia          OPTIMA              PHOENIX                   AZ
115275   5XXGT4L34KG288481   Kia          OPTIMA              SAINT PAUL                MN
115276   5XXGT4L34KG288643   Kia          OPTIMA              SAN DIEGO                 CA
115277   5XXGT4L34KG288903   Kia          OPTIMA              North Las Vegas           NV
115278   5XXGT4L34KG289064   Kia          OPTIMA              BURBANK                   CA
115279   5XXGT4L34KG289145   Kia          OPTIMA              RENO                      NV
115280   5XXGT4L34KG289193   Kia          OPTIMA              DENVER                    CO
115281   5XXGT4L34KG289288   Kia          OPTIMA              NORTH HILLS               CA
115282   5XXGT4L34KG289307   Kia          OPTIMA              HOUSTON                   TX
115283   5XXGT4L34KG289405   Kia          OPTIMA              LOS ANGELES               CA
115284   5XXGT4L34KG289484   Kia          OPTIMA              FRESNO                    CA
115285   5XXGT4L34KG289825   Kia          OPTIMA              STERLING                  VA
115286   5XXGT4L34KG289923   Kia          OPTIMA              TAMPA                     FL
115287   5XXGT4L34KG290084   Kia          OPTIMA              FORT LAUDERDALE           FL
115288   5XXGT4L34KG290103   Kia          OPTIMA              Newark                    NJ
115289   5XXGT4L34KG290196   Kia          OPTIMA              LOS ANGELES               CA
115290   5XXGT4L34KG290232   Kia          OPTIMA              Clearwater                FL
115291   5XXGT4L34KG290327   Kia          OPTIMA              LAS VEGAS                 NV
115292   5XXGT4L34KG290652   Kia          OPTIMA              SAN JOSE                  CA
115293   5XXGT4L34KG290716   Kia          OPTIMA              FORT LAUDERDALE           FL
115294   5XXGT4L34KG290750   Kia          OPTIMA              GYPSUM                    CO
115295   5XXGT4L34KG290926   Kia          OPTIMA              WEST PALM BEACH           FL
115296   5XXGT4L34KG291039   Kia          OPTIMA              STERLING                  VA
115297   5XXGT4L34KG291509   Kia          OPTIMA              KENNER                    LA
115298   5XXGT4L34KG291512   Kia          OPTIMA              KENNER                    LA
115299   5XXGT4L34KG291641   Kia          OPTIMA              DALLAS                    TX
115300   5XXGT4L34KG291817   Kia          OPTIMA              Coraopolis                PA
115301   5XXGT4L34KG291879   Kia          OPTIMA              ROCHESTER                 NY
115302   5XXGT4L34KG291896   Kia          OPTIMA              West Palm Beach           FL
115303   5XXGT4L34KG292319   Kia          OPTIMA              Atlanta                   GA
115304   5XXGT4L34KG292420   Kia          OPTIMA              MIAMI                     FL
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115305   5XXGT4L34KG292661   Kia          OPTIMA              INDIANAPOLIS              IN
115306   5XXGT4L34KG292689   Kia          OPTIMA              JACKSONVILLE              FL
115307   5XXGT4L34KG293082   Kia          OPTIMA              ST Paul                   MN
115308   5XXGT4L34KG293101   Kia          OPTIMA              TAMPA                     FL
115309   5XXGT4L34KG293602   Kia          OPTIMA              MELROSE PARK              IL
115310   5XXGT4L34KG300239   Kia          OPTIMA              CHARLESTON                WV
115311   5XXGT4L34KG311743   Kia          OPTIMA              Lake in the Hil           IL
115312   5XXGT4L34KG319857   Kia          OPTIMA              STATE COLLEGE             PA
115313   5XXGT4L34KG322323   Kia          OPTIMA              DENVER                    CO
115314   5XXGT4L34KG322810   Kia          OPTIMA              ORLANDO                   FL
115315   5XXGT4L34KG322998   Kia          OPTIMA              Salt Lake City            UT
115316   5XXGT4L34KG323035   Kia          OPTIMA              Fredericksburg            VA
115317   5XXGT4L34KG323049   Kia          OPTIMA              Houston                   TX
115318   5XXGT4L34KG323763   Kia          OPTIMA              SAN JOSE                  CA
115319   5XXGT4L34KG324234   Kia          OPTIMA              SEATAC                    WA
115320   5XXGT4L34KG324251   Kia          OPTIMA              PLEASANTON                CA
115321   5XXGT4L34KG325142   Kia          OPTIMA              Salt Lake City            UT
115322   5XXGT4L34KG326940   Kia          OPTIMA              Torrance                  CA
115323   5XXGT4L34KG331006   Kia          OPTIMA              TAMPA                     FL
115324   5XXGT4L34KG332155   Kia          OPTIMA              KNOXVILLE                 TN
115325   5XXGT4L34KG334889   Kia          OPTIMA              Orlando                   FL
115326   5XXGT4L34KG335220   Kia          OPTIMA              Fontana                   CA
115327   5XXGT4L34KG348369   Kia          OPTIMA              Atlanta                   GA
115328   5XXGT4L34KG349506   Kia          OPTIMA              Jacksonville              FL
115329   5XXGT4L34LG386511   Kia          OPTIMA              BURBANK                   CA
115330   5XXGT4L34LG386539   Kia          OPTIMA              Los Angeles               CA
115331   5XXGT4L34LG386542   Kia          OPTIMA              ATLANTA                   GA
115332   5XXGT4L34LG386640   Kia          OPTIMA              BURBANK                   CA
115333   5XXGT4L34LG386721   Kia          OPTIMA              BURBANK                   CA
115334   5XXGT4L34LG386752   Kia          OPTIMA              LOS ANGELES               CA
115335   5XXGT4L34LG386766   Kia          OPTIMA              LAS VEGAS                 NV
115336   5XXGT4L34LG386881   Kia          OPTIMA              LOS ANGELES               CA
115337   5XXGT4L34LG387092   Kia          OPTIMA              PALM SPRINGS              CA
115338   5XXGT4L34LG387397   Kia          OPTIMA              SAN DIEGO                 CA
115339   5XXGT4L34LG388355   Kia          OPTIMA              Portland                  OR
115340   5XXGT4L34LG389635   Kia          OPTIMA              LAS VEGAS                 NV
115341   5XXGT4L34LG389652   Kia          OPTIMA              INGLEWOOD                 CA
115342   5XXGT4L34LG389683   Kia          OPTIMA              WOODLAND HILLS            CA
115343   5XXGT4L34LG389750   Kia          OPTIMA              LAS VEGAS                 NV
115344   5XXGT4L34LG389781   Kia          OPTIMA              OAKLAND                   CA
115345   5XXGT4L34LG390011   Kia          OPTIMA              San Diego                 CA
115346   5XXGT4L34LG390106   Kia          OPTIMA              BURBANK                   CA
115347   5XXGT4L34LG390137   Kia          OPTIMA              ONTARIO                   CA
115348   5XXGT4L34LG390302   Kia          OPTIMA              INGLEWOOD                 CA
115349   5XXGT4L34LG390400   Kia          OPTIMA              SALT LAKE CITY            UT
115350   5XXGT4L34LG390459   Kia          OPTIMA              GARDENA                   CA
115351   5XXGT4L34LG390493   Kia          OPTIMA              SAN DIEGO                 CA
115352   5XXGT4L34LG390607   Kia          OPTIMA              Roseville                 CA
115353   5XXGT4L34LG390610   Kia          OPTIMA              SAN JOSE                  CA
115354   5XXGT4L34LG390722   Kia          OPTIMA              Phoenix                   AZ
115355   5XXGT4L34LG390784   Kia          OPTIMA              SANTA ANA                 CA
115356   5XXGT4L34LG390963   Kia          OPTIMA              San Antonio               TX
115357   5XXGT4L34LG391000   Kia          OPTIMA              Albuquerque               NM
115358   5XXGT4L34LG391076   Kia          OPTIMA              SANTA ANA                 CA
115359   5XXGT4L34LG391112   Kia          OPTIMA              SEATAC                    WA
115360   5XXGT4L34LG391157   Kia          OPTIMA              LAS VEGAS                 NV
115361   5XXGT4L34LG391174   Kia          OPTIMA              Bridgeton                 MO
115362   5XXGT4L34LG391238   Kia          OPTIMA              Irving                    TX
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115363   5XXGT4L34LG391241   Kia          OPTIMA              SAN JOSE                  CA
115364   5XXGT4L34LG391286   Kia          OPTIMA              HOLLY HILL                FL
115365   5XXGT4L34LG391353   Kia          OPTIMA              Warr Acres                OK
115366   5XXGT4L34LG391384   Kia          OPTIMA              Sacramento                CA
115367   5XXGT4L34LG391403   Kia          OPTIMA              Houston                   TX
115368   5XXGT4L34LG391434   Kia          OPTIMA              Costa Mesa                CA
115369   5XXGT4L34LG391448   Kia          OPTIMA              SAN JOSE                  CA
115370   5XXGT4L34LG391658   Kia          OPTIMA              FORT MYERS                FL
115371   5XXGT4L34LG391725   Kia          OPTIMA              Dallas                    TX
115372   5XXGT4L34LG391787   Kia          OPTIMA              LOS ANGELES               CA
115373   5XXGT4L34LG391790   Kia          OPTIMA              Stockton                  CA
115374   5XXGT4L34LG391868   Kia          OPTIMA              LOS ANGELES               CA
115375   5XXGT4L34LG391952   Kia          OPTIMA              LOS ANGELES               CA
115376   5XXGT4L34LG391966   Kia          OPTIMA              LOS ANGELES               CA
115377   5XXGT4L34LG391997   Kia          OPTIMA              SANTA ANA                 CA
115378   5XXGT4L34LG392261   Kia          OPTIMA              HAYWARD                   CA
115379   5XXGT4L34LG392275   Kia          OPTIMA              Hayward                   CA
115380   5XXGT4L34LG392695   Kia          OPTIMA              Fresno                    CA
115381   5XXGT4L34LG392700   Kia          OPTIMA              ONTARIO                   CA
115382   5XXGT4L34LG393863   Kia          OPTIMA              Dallas                    TX
115383   5XXGT4L34LG393880   Kia          OPTIMA              Hanover                   MD
115384   5XXGT4L34LG394303   Kia          OPTIMA              Slidell                   LA
115385   5XXGT4L34LG394737   Kia          OPTIMA              Salt Lake City            UT
115386   5XXGT4L34LG397329   Kia          OPTIMA              SAN JOSE                  CA
115387   5XXGT4L34LG406966   Kia          OPTIMA              Irving                    TX
115388   5XXGT4L34LG407048   Kia          OPTIMA              Austin                    TX
115389   5XXGT4L34LG407132   Kia          OPTIMA              Coraopolis                PA
115390   5XXGT4L34LG407227   Kia          OPTIMA              TAMPA                     FL
115391   5XXGT4L34LG407308   Kia          OPTIMA              Hendersonville            TN
115392   5XXGT4L34LG412685   Kia          OPTIMA              COLUMBIA                  SC
115393   5XXGT4L34LG413013   Kia          OPTIMA              Coraopolis                PA
115394   5XXGT4L34LG424478   Kia          OPTIMA              Dallas                    TX
115395   5XXGT4L34LG424917   Kia          OPTIMA              Oklahoma City             OK
115396   5XXGT4L34LG424948   Kia          OPTIMA              Warr Acres                OK
115397   5XXGT4L34LG425047   Kia          OPTIMA              FORT MYERS                FL
115398   5XXGT4L34LG425050   Kia          OPTIMA              ATLANTA                   GA
115399   5XXGT4L34LG425243   Kia          OPTIMA              ATLANTA                   GA
115400   5XXGT4L34LG425551   Kia          OPTIMA              Aurora                    CO
115401   5XXGT4L34LG428837   Kia          OPTIMA              Tulsa                     OK
115402   5XXGT4L34LG429065   Kia          OPTIMA              SANFORD                   FL
115403   5XXGT4L34LG429342   Kia          OPTIMA              ATLANTA                   GA
115404   5XXGT4L35GG042384   Kia          OPTIMA              DES MOINES                IA
115405   5XXGT4L35GG120629   Kia          OPTIMA              MIAMI                     FL
115406   5XXGT4L35HG124018   Kia          OPTIMA              SPRINGFIELD               VA
115407   5XXGT4L35HG148528   Kia          OPTIMA              Tampa                     FL
115408   5XXGT4L35HG153678   Kia          OPTIMA              Baltimore                 MD
115409   5XXGT4L35HG164700   Kia          OPTIMA              PHILADELPHIA              PA
115410   5XXGT4L35HG167435   Kia          OPTIMA              SAN JOSE                  CA
115411   5XXGT4L35HG170707   Kia          OPTIMA              LOS ANGELES               CA
115412   5XXGT4L35HG173414   Kia          OPTIMA              LOS ANGELES               CA
115413   5XXGT4L35HG173932   Kia          OPTIMA              LAS VEGAS                 NV
115414   5XXGT4L35JG181826   Kia          OPTIMA              Orlando                   FL
115415   5XXGT4L35JG183169   Kia          OPTIMA              NAPLES                    FL
115416   5XXGT4L35JG196665   Kia          OPTIMA              SAN DIEGO                 CA
115417   5XXGT4L35JG197069   Kia          OPTIMA              BALTIMORE                 MD
115418   5XXGT4L35JG197685   Kia          OPTIMA              SANTA ANA                 CA
115419   5XXGT4L35JG197945   Kia          OPTIMA              STERLING                  VA
115420   5XXGT4L35JG199159   Kia          OPTIMA              BURBANK                   CA
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115421   5XXGT4L35JG211388   Kia          OPTIMA              Tampa                     FL
115422   5XXGT4L35JG211620   Kia          OPTIMA              CHICAGO                   IL
115423   5XXGT4L35JG214145   Kia          OPTIMA              Rockville Centr           NY
115424   5XXGT4L35JG214467   Kia          OPTIMA              TAMPA                     FL
115425   5XXGT4L35JG215778   Kia          OPTIMA              DALLAS                    TX
115426   5XXGT4L35JG216106   Kia          OPTIMA              Irving                    TX
115427   5XXGT4L35JG221385   Kia          OPTIMA              HANOVER                   MD
115428   5XXGT4L35JG221421   Kia          OPTIMA              PHILADELPHIA              PA
115429   5XXGT4L35JG222004   Kia          OPTIMA              BOSTON                    MA
115430   5XXGT4L35JG226943   Kia          OPTIMA              Honolulu                  HI
115431   5XXGT4L35JG227154   Kia          OPTIMA              Tampa                     FL
115432   5XXGT4L35JG229616   Kia          OPTIMA              LAS VEGAS                 NV
115433   5XXGT4L35JG229714   Kia          OPTIMA              DENVER                    CO
115434   5XXGT4L35JG231365   Kia          OPTIMA              Caledonia                 WI
115435   5XXGT4L35JG232046   Kia          OPTIMA              Smithtown                 NY
115436   5XXGT4L35JG232757   Kia          OPTIMA              LOS ANGELES               CA
115437   5XXGT4L35JG235349   Kia          OPTIMA              Estero                    FL
115438   5XXGT4L35JG235500   Kia          OPTIMA              TAMPA                     FL
115439   5XXGT4L35JG235626   Kia          OPTIMA              Elkridge                  MD
115440   5XXGT4L35JG235965   Kia          OPTIMA              ORLANDO                   FL
115441   5XXGT4L35JG236453   Kia          OPTIMA              Tolleson                  AZ
115442   5XXGT4L35JG239501   Kia          OPTIMA              EULESS                    TX
115443   5XXGT4L35JG246321   Kia          OPTIMA              LOS ANGELES               CA
115444   5XXGT4L35JG250241   Kia          OPTIMA              Dallas                    TX
115445   5XXGT4L35JG252944   Kia          OPTIMA              Irving                    TX
115446   5XXGT4L35KG275299   Kia          OPTIMA              Anaheim                   CA
115447   5XXGT4L35KG275335   Kia          OPTIMA              SAN FRANCISCO             CA
115448   5XXGT4L35KG275349   Kia          OPTIMA              CLEVELAND                 OH
115449   5XXGT4L35KG275545   Kia          OPTIMA              RENO                      NV
115450   5XXGT4L35KG275559   Kia          OPTIMA              CHICAGO                   IL
115451   5XXGT4L35KG275576   Kia          OPTIMA              Cranberry Towns           PA
115452   5XXGT4L35KG275612   Kia          OPTIMA              CENTRAL DIST OFFC         OK
115453   5XXGT4L35KG275691   Kia          OPTIMA              SAN JOSE                  CA
115454   5XXGT4L35KG275755   Kia          OPTIMA              Dallas                    TX
115455   5XXGT4L35KG275786   Kia          OPTIMA              SAN JOSE                  CA
115456   5XXGT4L35KG275805   Kia          OPTIMA              SALT LAKE CITY            US
115457   5XXGT4L35KG275836   Kia          OPTIMA              PHOENIX                   AZ
115458   5XXGT4L35KG275853   Kia          OPTIMA              COLORADO SPRING           CO
115459   5XXGT4L35KG275948   Kia          OPTIMA              San Antonio               TX
115460   5XXGT4L35KG276081   Kia          OPTIMA              Norwalk                   CA
115461   5XXGT4L35KG276128   Kia          OPTIMA              NORTH PAC                 CA
115462   5XXGT4L35KG276176   Kia          OPTIMA              Ventura                   CA
115463   5XXGT4L35KG276226   Kia          OPTIMA              BURBANK                   CA
115464   5XXGT4L35KG276310   Kia          OPTIMA              BURBANK                   CA
115465   5XXGT4L35KG276369   Kia          OPTIMA              HANOVER                   MD
115466   5XXGT4L35KG276484   Kia          OPTIMA              SAN JOSE                  CA
115467   5XXGT4L35KG276565   Kia          OPTIMA              NORTH PAC                 CA
115468   5XXGT4L35KG276615   Kia          OPTIMA              Portland                  OR
115469   5XXGT4L35KG276744   Kia          OPTIMA              Phoenix                   AZ
115470   5XXGT4L35KG276758   Kia          OPTIMA              DES PLAINES               IL
115471   5XXGT4L35KG276789   Kia          OPTIMA              PHOENIX                   AZ
115472   5XXGT4L35KG276890   Kia          OPTIMA              BURBANK                   CA
115473   5XXGT4L35KG276923   Kia          OPTIMA              CHARLOTTE                 NC
115474   5XXGT4L35KG276999   Kia          OPTIMA              TUCSON                    AZ
115475   5XXGT4L35KG277067   Kia          OPTIMA              LOS ANGELES               CA
115476   5XXGT4L35KG277120   Kia          OPTIMA              BURBANK                   CA
115477   5XXGT4L35KG277134   Kia          OPTIMA              SANTA ANA                 CA
115478   5XXGT4L35KG277246   Kia          OPTIMA              ALEXANDRIA                VA
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115479   5XXGT4L35KG278073   Kia          OPTIMA              Rogersville               MO
115480   5XXGT4L35KG278199   Kia          OPTIMA              Austell                   GA
115481   5XXGT4L35KG278588   Kia          OPTIMA              SEATAC                    WA
115482   5XXGT4L35KG278901   Kia          OPTIMA              TAMPA                     FL
115483   5XXGT4L35KG279160   Kia          OPTIMA              BOSTON                    MA
115484   5XXGT4L35KG279319   Kia          OPTIMA              BLOOMINGTON               IL
115485   5XXGT4L35KG279384   Kia          OPTIMA              Hartford                  CT
115486   5XXGT4L35KG279854   Kia          OPTIMA              Richmond                  VA
115487   5XXGT4L35KG279899   Kia          OPTIMA              NEW YORK CITY             NY
115488   5XXGT4L35KG279918   Kia          OPTIMA              Manheim                   PA
115489   5XXGT4L35KG279935   Kia          OPTIMA              Houston                   TX
115490   5XXGT4L35KG281135   Kia          OPTIMA              NORTH PAC                 CA
115491   5XXGT4L35KG281197   Kia          OPTIMA              Hayward                   CA
115492   5XXGT4L35KG281930   Kia          OPTIMA              NEW BERN                  NC
115493   5XXGT4L35KG282107   Kia          OPTIMA              SOUTHEAST DST OFFC        OK
115494   5XXGT4L35KG282169   Kia          OPTIMA              Morrisville               NC
115495   5XXGT4L35KG282317   Kia          OPTIMA              ORLANDO                   FL
115496   5XXGT4L35KG282320   Kia          OPTIMA              DETROIT                   MI
115497   5XXGT4L35KG282575   Kia          OPTIMA              RONKONKOMA                NY
115498   5XXGT4L35KG282592   Kia          OPTIMA              BUFFALO                   NY
115499   5XXGT4L35KG282611   Kia          OPTIMA              Atlanta                   GA
115500   5XXGT4L35KG283001   Kia          OPTIMA              ROCHESTER                 NY
115501   5XXGT4L35KG283323   Kia          OPTIMA              CLEVELAND                 OH
115502   5XXGT4L35KG283368   Kia          OPTIMA              LOS ANGELES               CA
115503   5XXGT4L35KG283581   Kia          OPTIMA              FRESNO                    CA
115504   5XXGT4L35KG283614   Kia          OPTIMA              ORLANDO                   FL
115505   5XXGT4L35KG283743   Kia          OPTIMA              ORLANDO                   FL
115506   5XXGT4L35KG283788   Kia          OPTIMA              ATLANTA                   GA
115507   5XXGT4L35KG283807   Kia          OPTIMA              WEST PALM BEACH           FL
115508   5XXGT4L35KG283810   Kia          OPTIMA              PANAMA                    FL
115509   5XXGT4L35KG283936   Kia          OPTIMA              SALT LAKE CITY            US
115510   5XXGT4L35KG284102   Kia          OPTIMA              Orlando                   FL
115511   5XXGT4L35KG284116   Kia          OPTIMA              LOS ANGELES               CA
115512   5XXGT4L35KG284195   Kia          OPTIMA              Las Vegas                 NV
115513   5XXGT4L35KG284441   Kia          OPTIMA              Indianapolis              IN
115514   5XXGT4L35KG284469   Kia          OPTIMA              WEST PALM BEACH           FL
115515   5XXGT4L35KG284570   Kia          OPTIMA              DES MOINES                IA
115516   5XXGT4L35KG284634   Kia          OPTIMA              TUCKER                    GA
115517   5XXGT4L35KG284679   Kia          OPTIMA              Hebron                    KY
115518   5XXGT4L35KG284892   Kia          OPTIMA              SOUTH BEND                IN
115519   5XXGT4L35KG284908   Kia          OPTIMA              FRESNO                    CA
115520   5XXGT4L35KG284939   Kia          OPTIMA              OAKLAND                   CA
115521   5XXGT4L35KG285010   Kia          OPTIMA              SAN DIEGO                 CA
115522   5XXGT4L35KG285119   Kia          OPTIMA              MIAMI                     FL
115523   5XXGT4L35KG285184   Kia          OPTIMA              SAN DIEGO                 CA
115524   5XXGT4L35KG285248   Kia          OPTIMA              LOS ANGELES               CA
115525   5XXGT4L35KG285315   Kia          OPTIMA              SACRAMENTO                CA
115526   5XXGT4L35KG285458   Kia          OPTIMA              PHOENIX                   AZ
115527   5XXGT4L35KG285489   Kia          OPTIMA              Kansas City               MO
115528   5XXGT4L35KG285878   Kia          OPTIMA              SAN JOSE                  CA
115529   5XXGT4L35KG285928   Kia          OPTIMA              LOS ANGELES               CA
115530   5XXGT4L35KG286237   Kia          OPTIMA              SAN FRANCISCO             CA
115531   5XXGT4L35KG286366   Kia          OPTIMA              PHOENIX                   AZ
115532   5XXGT4L35KG286514   Kia          OPTIMA              Harvey                    LA
115533   5XXGT4L35KG286867   Kia          OPTIMA              SARASOTA                  FL
115534   5XXGT4L35KG286917   Kia          OPTIMA              Portland                  OR
115535   5XXGT4L35KG286920   Kia          OPTIMA              LAS VEGAS                 NV
115536   5XXGT4L35KG287548   Kia          OPTIMA              PALM SPRINGS              CA
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115537   5XXGT4L35KG287582   Kia          OPTIMA              LOS ANGELES               CA
115538   5XXGT4L35KG287808   Kia          OPTIMA              RALEIGH                   NC
115539   5XXGT4L35KG288148   Kia          OPTIMA              Las Vegas                 NV
115540   5XXGT4L35KG288151   Kia          OPTIMA              SAN DIEGO                 CA
115541   5XXGT4L35KG288473   Kia          OPTIMA              Houston                   TX
115542   5XXGT4L35KG288487   Kia          OPTIMA              OAKLAND                   CA
115543   5XXGT4L35KG288795   Kia          OPTIMA              PHOENIX                   AZ
115544   5XXGT4L35KG288909   Kia          OPTIMA              ORANGE COUNTY             CA
115545   5XXGT4L35KG289137   Kia          OPTIMA              MIAMI                     FL
115546   5XXGT4L35KG289235   Kia          OPTIMA              NEW ORLEANS               LA
115547   5XXGT4L35KG289252   Kia          OPTIMA              LOS ANGELES               CA
115548   5XXGT4L35KG289316   Kia          OPTIMA              OAKLAND                   CA
115549   5XXGT4L35KG289445   Kia          OPTIMA              NASHVILLE                 TN
115550   5XXGT4L35KG289476   Kia          OPTIMA              PHOENIX                   AZ
115551   5XXGT4L35KG289512   Kia          OPTIMA              LOS ANGELES AP            CA
115552   5XXGT4L35KG289770   Kia          OPTIMA              PHOENIX                   AZ
115553   5XXGT4L35KG289798   Kia          OPTIMA              ONTARIO                   CA
115554   5XXGT4L35KG289851   Kia          OPTIMA              Greensboro                NC
115555   5XXGT4L35KG290532   Kia          OPTIMA              ST Paul                   MN
115556   5XXGT4L35KG290580   Kia          OPTIMA              NORTH HOLLYWOOD           CA
115557   5XXGT4L35KG290644   Kia          OPTIMA              SAN FRANCISCO             CA
115558   5XXGT4L35KG290756   Kia          OPTIMA              SANTA BARBARA             CA
115559   5XXGT4L35KG290806   Kia          OPTIMA              SANTA ANA                 CA
115560   5XXGT4L35KG290935   Kia          OPTIMA              Nashville                 TN
115561   5XXGT4L35KG291051   Kia          OPTIMA              DFW AIRPORT               TX
115562   5XXGT4L35KG291194   Kia          OPTIMA              MORROW                    GA
115563   5XXGT4L35KG291244   Kia          OPTIMA              Sacramento                CA
115564   5XXGT4L35KG291504   Kia          OPTIMA              Pensacola                 FL
115565   5XXGT4L35KG291521   Kia          OPTIMA              Harlingen                 TX
115566   5XXGT4L35KG291597   Kia          OPTIMA              HARTFORD                  CT
115567   5XXGT4L35KG291969   Kia          OPTIMA              SAN ANTONIO               TX
115568   5XXGT4L35KG291972   Kia          OPTIMA              FORT LAUDERDALE           FL
115569   5XXGT4L35KG291986   Kia          OPTIMA              TAMPA                     FL
115570   5XXGT4L35KG292071   Kia          OPTIMA              Matteson                  IL
115571   5XXGT4L35KG292216   Kia          OPTIMA              Pittsburgh                PA
115572   5XXGT4L35KG292460   Kia          OPTIMA              Bridgeton                 MO
115573   5XXGT4L35KG292958   Kia          OPTIMA              Pensacola                 FL
115574   5XXGT4L35KG292961   Kia          OPTIMA              FORT LAUDERDALE           FL
115575   5XXGT4L35KG293107   Kia          OPTIMA              KANSAS CITY               MO
115576   5XXGT4L35KG293110   Kia          OPTIMA              WEST PALM BEACH           FL
115577   5XXGT4L35KG316143   Kia          OPTIMA              Atlanta                   GA
115578   5XXGT4L35KG316577   Kia          OPTIMA              Dallas                    TX
115579   5XXGT4L35KG317678   Kia          OPTIMA              TAMPA                     FL
115580   5XXGT4L35KG319835   Kia          OPTIMA              SALT LAKE CITY            US
115581   5XXGT4L35KG322623   Kia          OPTIMA              SAINT PAUL                MN
115582   5XXGT4L35KG322816   Kia          OPTIMA              ST Paul                   MN
115583   5XXGT4L35KG323271   Kia          OPTIMA              FORT MYERS                FL
115584   5XXGT4L35KG323285   Kia          OPTIMA              Salt Lake City            UT
115585   5XXGT4L35KG323318   Kia          OPTIMA              Atlanta                   GA
115586   5XXGT4L35KG323495   Kia          OPTIMA              DALLAS                    TX
115587   5XXGT4L35KG323593   Kia          OPTIMA              DALLAS                    TX
115588   5XXGT4L35KG325571   Kia          OPTIMA              Portland                  OR
115589   5XXGT4L35KG335341   Kia          OPTIMA              PLEASANTON                CA
115590   5XXGT4L35KG335744   Kia          OPTIMA              Salt Lake City            UT
115591   5XXGT4L35KG339972   Kia          OPTIMA              Bensalem                  PA
115592   5XXGT4L35KG341009   Kia          OPTIMA              HANOVER                   MD
115593   5XXGT4L35KG341494   Kia          OPTIMA              Syracuse                  NY
115594   5XXGT4L35LG386520   Kia          OPTIMA              Salt Lake City            UT
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115595   5XXGT4L35LG386596   Kia          OPTIMA              LAS VEGAS                 NV
115596   5XXGT4L35LG386601   Kia          OPTIMA              PALM SPRINGS              CA
115597   5XXGT4L35LG386615   Kia          OPTIMA              LAS VEGAS                 NV
115598   5XXGT4L35LG386971   Kia          OPTIMA              LAS VEGAS                 NV
115599   5XXGT4L35LG387196   Kia          OPTIMA              SANTA ANA                 CA
115600   5XXGT4L35LG387439   Kia          OPTIMA              Smithtown                 NY
115601   5XXGT4L35LG387442   Kia          OPTIMA              LOS ANGELES               CA
115602   5XXGT4L35LG387473   Kia          OPTIMA              LOS ANGELES               CA
115603   5XXGT4L35LG387490   Kia          OPTIMA              SAN DIEGO                 CA
115604   5XXGT4L35LG387991   Kia          OPTIMA              SANTA ANA                 CA
115605   5XXGT4L35LG388283   Kia          OPTIMA              Ventura                   CA
115606   5XXGT4L35LG388378   Kia          OPTIMA              LOS ANGELES               CA
115607   5XXGT4L35LG389353   Kia          OPTIMA              Roseville                 CA
115608   5XXGT4L35LG389417   Kia          OPTIMA              LAS VEGAS                 NV
115609   5XXGT4L35LG389448   Kia          OPTIMA              ONTARIO, RIVERSIDE        CA
115610   5XXGT4L35LG389482   Kia          OPTIMA              ONTARIO, RIVERSIDE        CA
115611   5XXGT4L35LG389532   Kia          OPTIMA              ONTARIO                   CA
115612   5XXGT4L35LG389577   Kia          OPTIMA              SANTA ANA                 CA
115613   5XXGT4L35LG389594   Kia          OPTIMA              Ventura                   CA
115614   5XXGT4L35LG389613   Kia          OPTIMA              LOS ANGELES               CA
115615   5XXGT4L35LG389627   Kia          OPTIMA              FORT LAUDERDALE           FL
115616   5XXGT4L35LG389661   Kia          OPTIMA              PORTLAND                  OR
115617   5XXGT4L35LG389708   Kia          OPTIMA              CLARKSVILLE               IN
115618   5XXGT4L35LG389711   Kia          OPTIMA              Chicago                   IL
115619   5XXGT4L35LG389742   Kia          OPTIMA              BURBANK                   CA
115620   5XXGT4L35LG389935   Kia          OPTIMA              LAS VEGAS                 NV
115621   5XXGT4L35LG390146   Kia          OPTIMA              LOS ANGELES               CA
115622   5XXGT4L35LG390177   Kia          OPTIMA              PALM SPRINGS              CA
115623   5XXGT4L35LG390194   Kia          OPTIMA              SEATAC                    WA
115624   5XXGT4L35LG390227   Kia          OPTIMA              PALM SPRINGS              CA
115625   5XXGT4L35LG390342   Kia          OPTIMA              LAS VEGAS                 NV
115626   5XXGT4L35LG390454   Kia          OPTIMA              LAS VEGAS                 NV
115627   5XXGT4L35LG390521   Kia          OPTIMA              LOS ANGELES               CA
115628   5XXGT4L35LG390597   Kia          OPTIMA              SAN DIEGO                 US
115629   5XXGT4L35LG390793   Kia          OPTIMA              SEATAC                    WA
115630   5XXGT4L35LG390809   Kia          OPTIMA              SEA TAC                   WA
115631   5XXGT4L35LG391121   Kia          OPTIMA              Salt Lake City            UT
115632   5XXGT4L35LG391183   Kia          OPTIMA              SHREVEPORT                LA
115633   5XXGT4L35LG391233   Kia          OPTIMA              Florissant                MO
115634   5XXGT4L35LG391247   Kia          OPTIMA              ALBUQUERQUE               NM
115635   5XXGT4L35LG391314   Kia          OPTIMA              LAS VEGAS                 NV
115636   5XXGT4L35LG391474   Kia          OPTIMA              LOS ANGELES               CA
115637   5XXGT4L35LG391510   Kia          OPTIMA              LOS ANGELES               CA
115638   5XXGT4L35LG391619   Kia          OPTIMA              PALM SPRINGS              CA
115639   5XXGT4L35LG391653   Kia          OPTIMA              Hapeville                 GA
115640   5XXGT4L35LG391667   Kia          OPTIMA              MELROSE PARK              IL
115641   5XXGT4L35LG391684   Kia          OPTIMA              SAN DIEGO                 CA
115642   5XXGT4L35LG391779   Kia          OPTIMA              LOS ANGELES               CA
115643   5XXGT4L35LG391782   Kia          OPTIMA              LAS VEGAS                 NV
115644   5XXGT4L35LG391796   Kia          OPTIMA              LOS ANGELES               CA
115645   5XXGT4L35LG391880   Kia          OPTIMA              Riverside                 CA
115646   5XXGT4L35LG391927   Kia          OPTIMA              LOS ANGELES               CA
115647   5XXGT4L35LG392222   Kia          OPTIMA              Hamilton                  OH
115648   5XXGT4L35LG392270   Kia          OPTIMA              Riverside                 CA
115649   5XXGT4L35LG392401   Kia          OPTIMA              FRESNO                    CA
115650   5XXGT4L35LG392768   Kia          OPTIMA              HAYWARD                   CA
115651   5XXGT4L35LG392771   Kia          OPTIMA              PLEASANTON                CA
115652   5XXGT4L35LG392852   Kia          OPTIMA              Stockton                  CA
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115653   5XXGT4L35LG393581   Kia          OPTIMA              Hayward                   CA
115654   5XXGT4L35LG393936   Kia          OPTIMA              San Diego                 CA
115655   5XXGT4L35LG394729   Kia          OPTIMA              Davie                     FL
115656   5XXGT4L35LG397016   Kia          OPTIMA              LOS ANGELES               CA
115657   5XXGT4L35LG406927   Kia          OPTIMA              Irving                    TX
115658   5XXGT4L35LG406961   Kia          OPTIMA              DALLAS                    TX
115659   5XXGT4L35LG407222   Kia          OPTIMA              Florissant                MO
115660   5XXGT4L35LG409326   Kia          OPTIMA              Florissant                MO
115661   5XXGT4L35LG411447   Kia          OPTIMA              Lake in the Hil           IL
115662   5XXGT4L35LG411884   Kia          OPTIMA              Omaha                     NE
115663   5XXGT4L35LG413358   Kia          OPTIMA              MELROSE PARK              IL
115664   5XXGT4L35LG424389   Kia          OPTIMA              Irving                    TX
115665   5XXGT4L35LG424649   Kia          OPTIMA              Tulsa                     OK
115666   5XXGT4L35LG424943   Kia          OPTIMA              Warr Acres                OK
115667   5XXGT4L35LG424974   Kia          OPTIMA              Warr Acres                OK
115668   5XXGT4L35LG424991   Kia          OPTIMA              WEST PALM BEACH           FL
115669   5XXGT4L35LG425283   Kia          OPTIMA              Tulsa                     OK
115670   5XXGT4L35LG425817   Kia          OPTIMA              NASHVILLE                 TN
115671   5XXGT4L36GG025920   Kia          OPTIMA              North Dighton             MA
115672   5XXGT4L36HG126392   Kia          OPTIMA              BURBANK                   CA
115673   5XXGT4L36HG141586   Kia          OPTIMA              LOS ANGELES               CA
115674   5XXGT4L36HG142219   Kia          OPTIMA              PHOENIX                   AZ
115675   5XXGT4L36HG146075   Kia          OPTIMA              PHILADELPHIA              PA
115676   5XXGT4L36HG147890   Kia          OPTIMA              GLASSBORO                 NJ
115677   5XXGT4L36HG155729   Kia          OPTIMA              Dania                     FL
115678   5XXGT4L36HG161854   Kia          OPTIMA              PHILADELPHIA              PA
115679   5XXGT4L36HG166052   Kia          OPTIMA              Tampa                     FL
115680   5XXGT4L36HG167587   Kia          OPTIMA              BURBANK                   CA
115681   5XXGT4L36HG170859   Kia          OPTIMA              SPRINGFIELD               VA
115682   5XXGT4L36HG171008   Kia          OPTIMA              OAKLAND                   CA
115683   5XXGT4L36HG172630   Kia          OPTIMA              RALEIGH                   NC
115684   5XXGT4L36JG179664   Kia          OPTIMA              Stone Mountain            GA
115685   5XXGT4L36JG188154   Kia          OPTIMA              CHICAGO                   IL
115686   5XXGT4L36JG194097   Kia          OPTIMA              Los Angeles               CA
115687   5XXGT4L36JG194178   Kia          OPTIMA              Las Vegas                 NV
115688   5XXGT4L36JG195699   Kia          OPTIMA              ONTARIO                   CA
115689   5XXGT4L36JG198215   Kia          OPTIMA              SEATAC                    WA
115690   5XXGT4L36JG198313   Kia          OPTIMA              BURBANK                   CA
115691   5XXGT4L36JG198831   Kia          OPTIMA              Costa Mesa                CA
115692   5XXGT4L36JG206992   Kia          OPTIMA              IRVING                    TX
115693   5XXGT4L36JG208998   Kia          OPTIMA              SAN ANTONIO               TX
115694   5XXGT4L36JG210444   Kia          OPTIMA              Harvey                    LA
115695   5XXGT4L36JG211562   Kia          OPTIMA              MARIETTA                  GA
115696   5XXGT4L36JG212937   Kia          OPTIMA              Philadelphia              PA
115697   5XXGT4L36JG213814   Kia          OPTIMA              SAN ANTONIO               TX
115698   5XXGT4L36JG215045   Kia          OPTIMA              Denver                    CO
115699   5XXGT4L36JG217524   Kia          OPTIMA              Harvey                    LA
115700   5XXGT4L36JG218513   Kia          OPTIMA              Atlanta                   GA
115701   5XXGT4L36JG221119   Kia          OPTIMA              CHARLOTTE                 NC
115702   5XXGT4L36JG221377   Kia          OPTIMA              NEW ENGLAND DEALER        MA
115703   5XXGT4L36JG225185   Kia          OPTIMA              FORT MYERS                FL
115704   5XXGT4L36JG225686   Kia          OPTIMA              Richmond                  VA
115705   5XXGT4L36JG226241   Kia          OPTIMA              Miami                     FL
115706   5XXGT4L36JG228815   Kia          OPTIMA              North Las Vegas           NV
115707   5XXGT4L36JG229009   Kia          OPTIMA              DAYTONA BEACH             FL
115708   5XXGT4L36JG229544   Kia          OPTIMA              BURIEN                    WA
115709   5XXGT4L36JG232931   Kia          OPTIMA              STERLING                  VA
115710   5XXGT4L36JG233626   Kia          OPTIMA              Atlanta                   GA
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115711   5XXGT4L36JG235019   Kia          OPTIMA              SPRINGFIELD               VA
115712   5XXGT4L36JG235084   Kia          OPTIMA              FORT LAUDERDALE           FL
115713   5XXGT4L36JG247770   Kia          OPTIMA              FAYETTEVILLE              GA
115714   5XXGT4L36JG249776   Kia          OPTIMA              JACKSONVILLE              FL
115715   5XXGT4L36JG249924   Kia          OPTIMA              HANOVER                   MD
115716   5XXGT4L36KG275182   Kia          OPTIMA              SANTA ANA                 CA
115717   5XXGT4L36KG275277   Kia          OPTIMA              NORTH PAC                 CA
115718   5XXGT4L36KG275568   Kia          OPTIMA              DETROIT                   MI
115719   5XXGT4L36KG275618   Kia          OPTIMA              RENO                      NV
115720   5XXGT4L36KG275635   Kia          OPTIMA              LOS ANGELES               CA
115721   5XXGT4L36KG275747   Kia          OPTIMA              SAN JOSE                  CA
115722   5XXGT4L36KG275778   Kia          OPTIMA              PHOENIX                   AZ
115723   5XXGT4L36KG275912   Kia          OPTIMA              Tolleson                  AZ
115724   5XXGT4L36KG275988   Kia          OPTIMA              SAN JOSE                  CA
115725   5XXGT4L36KG275991   Kia          OPTIMA              San Antonio               TX
115726   5XXGT4L36KG276039   Kia          OPTIMA              Charlotte                 NC
115727   5XXGT4L36KG276137   Kia          OPTIMA              Portland                  OR
115728   5XXGT4L36KG276154   Kia          OPTIMA              Anaheim                   CA
115729   5XXGT4L36KG276171   Kia          OPTIMA              SAN FRANCISCO             CA
115730   5XXGT4L36KG276199   Kia          OPTIMA              Ventura                   CA
115731   5XXGT4L36KG276252   Kia          OPTIMA              PHOENIX                   AZ
115732   5XXGT4L36KG276400   Kia          OPTIMA              SAN FRANCISCO             CA
115733   5XXGT4L36KG276526   Kia          OPTIMA              Los Angeles               CA
115734   5XXGT4L36KG276543   Kia          OPTIMA              OAKLAND                   CA
115735   5XXGT4L36KG276624   Kia          OPTIMA              Phoenix                   AZ
115736   5XXGT4L36KG276848   Kia          OPTIMA              NORTH PAC                 CA
115737   5XXGT4L36KG277000   Kia          OPTIMA              SAN JOSE                  CA
115738   5XXGT4L36KG277014   Kia          OPTIMA              SEATAC                    WA
115739   5XXGT4L36KG277028   Kia          OPTIMA              BURBANK                   CA
115740   5XXGT4L36KG277224   Kia          OPTIMA              Roseville                 CA
115741   5XXGT4L36KG277353   Kia          OPTIMA              WEST PALM BEACH           FL
115742   5XXGT4L36KG277367   Kia          OPTIMA              CLARKSVILLE               IN
115743   5XXGT4L36KG277451   Kia          OPTIMA              INDIANAPOLIS              IN
115744   5XXGT4L36KG277515   Kia          OPTIMA              LOS ANGELES               CA
115745   5XXGT4L36KG277708   Kia          OPTIMA              SAN JOSE                  CA
115746   5XXGT4L36KG277711   Kia          OPTIMA              PLEASANTON                CA
115747   5XXGT4L36KG277756   Kia          OPTIMA              Bridgeton                 MO
115748   5XXGT4L36KG277773   Kia          OPTIMA              NEW YORK CITY             NY
115749   5XXGT4L36KG277868   Kia          OPTIMA              FRESNO                    CA
115750   5XXGT4L36KG277871   Kia          OPTIMA              BURBANK                   CA
115751   5XXGT4L36KG277904   Kia          OPTIMA              Chicago                   IL
115752   5XXGT4L36KG277918   Kia          OPTIMA              HARTFORD                  CT
115753   5XXGT4L36KG278180   Kia          OPTIMA              Mira Loma                 CA
115754   5XXGT4L36KG278194   Kia          OPTIMA              CLEVELAND                 OH
115755   5XXGT4L36KG278275   Kia          OPTIMA              LOS ANGELES AP            CA
115756   5XXGT4L36KG278325   Kia          OPTIMA              FORT LAUDERDALE           FL
115757   5XXGT4L36KG278714   Kia          OPTIMA              Woodhaven                 MI
115758   5XXGT4L36KG278776   Kia          OPTIMA              ORLANDO                   FL
115759   5XXGT4L36KG278891   Kia          OPTIMA              LAS VEGAS                 NV
115760   5XXGT4L36KG278941   Kia          OPTIMA              ORLANDO                   FL
115761   5XXGT4L36KG279216   Kia          OPTIMA              SACRAMENTO                CA
115762   5XXGT4L36KG279264   Kia          OPTIMA              CHEEKTOWAGA               NY
115763   5XXGT4L36KG279295   Kia          OPTIMA              Winston‐Salem             NC
115764   5XXGT4L36KG279832   Kia          OPTIMA              AMARILLO                  US
115765   5XXGT4L36KG279863   Kia          OPTIMA              Detroit                   MI
115766   5XXGT4L36KG279913   Kia          OPTIMA              PHILADELPHIA              PA
115767   5XXGT4L36KG280401   Kia          OPTIMA              INDIANAPOLIS              IN
115768   5XXGT4L36KG281113   Kia          OPTIMA              DETROIT                   MI
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115769   5XXGT4L36KG281144   Kia          OPTIMA              Atlanta                   GA
115770   5XXGT4L36KG281662   Kia          OPTIMA              Sarasota                  FL
115771   5XXGT4L36KG281984   Kia          OPTIMA              ORLANDO                   FL
115772   5XXGT4L36KG282066   Kia          OPTIMA              STERLING                  VA
115773   5XXGT4L36KG282097   Kia          OPTIMA              Bridgeton                 MO
115774   5XXGT4L36KG282102   Kia          OPTIMA              NEWARK                    NJ
115775   5XXGT4L36KG282164   Kia          OPTIMA              ORLANDO                   FL
115776   5XXGT4L36KG282228   Kia          OPTIMA              WEST PALM BEACH           FL
115777   5XXGT4L36KG282617   Kia          OPTIMA              BOSTON                    MA
115778   5XXGT4L36KG282620   Kia          OPTIMA              McHenry                   IL
115779   5XXGT4L36KG283167   Kia          OPTIMA              Manheim                   PA
115780   5XXGT4L36KG283556   Kia          OPTIMA              HOUSTON                   TX
115781   5XXGT4L36KG283637   Kia          OPTIMA              Salt Lake City            UT
115782   5XXGT4L36KG283640   Kia          OPTIMA              Columbus                  OH
115783   5XXGT4L36KG283959   Kia          OPTIMA              Phoenix                   AZ
115784   5XXGT4L36KG284030   Kia          OPTIMA              MIAMI                     FL
115785   5XXGT4L36KG284240   Kia          OPTIMA              SAN DIEGO                 CA
115786   5XXGT4L36KG284299   Kia          OPTIMA              LOS ANGELES               CA
115787   5XXGT4L36KG284349   Kia          OPTIMA              NORTH PAC                 CA
115788   5XXGT4L36KG284433   Kia          OPTIMA              LOS ANGELES               CA
115789   5XXGT4L36KG284464   Kia          OPTIMA              COLLEGE PARK              GA
115790   5XXGT4L36KG284545   Kia          OPTIMA              ATLANTA                   GA
115791   5XXGT4L36KG284593   Kia          OPTIMA              TAMPA                     FL
115792   5XXGT4L36KG284626   Kia          OPTIMA              MIAMI                     FL
115793   5XXGT4L36KG284674   Kia          OPTIMA              WEST PALM BEACH           FL
115794   5XXGT4L36KG284688   Kia          OPTIMA              SAN JOSE                  CA
115795   5XXGT4L36KG284691   Kia          OPTIMA              LAS VEGAS                 NV
115796   5XXGT4L36KG284738   Kia          OPTIMA              FORT LAUDERDALE           FL
115797   5XXGT4L36KG284948   Kia          OPTIMA              LOS ANGELES               CA
115798   5XXGT4L36KG285002   Kia          OPTIMA              MIAMI                     FL
115799   5XXGT4L36KG285260   Kia          OPTIMA              BURBANK                   CA
115800   5XXGT4L36KG285467   Kia          OPTIMA              BURBANK                   CA
115801   5XXGT4L36KG285484   Kia          OPTIMA              PHOENIX                   AZ
115802   5XXGT4L36KG285498   Kia          OPTIMA              LOS ANGELES               CA
115803   5XXGT4L36KG285520   Kia          OPTIMA              CHICAGO                   IL
115804   5XXGT4L36KG285744   Kia          OPTIMA              TUCSON                    AZ
115805   5XXGT4L36KG285887   Kia          OPTIMA              ORANGE COUNTY             CA
115806   5XXGT4L36KG285906   Kia          OPTIMA              SACRAMENTO                CA
115807   5XXGT4L36KG285954   Kia          OPTIMA              BURBANK                   CA
115808   5XXGT4L36KG286294   Kia          OPTIMA              LAS VEGAS                 NV
115809   5XXGT4L36KG286313   Kia          OPTIMA              LOS ANGELES               CA
115810   5XXGT4L36KG286375   Kia          OPTIMA              SANTA ANA                 CA
115811   5XXGT4L36KG286487   Kia          OPTIMA              SEATAC                    WA
115812   5XXGT4L36KG286490   Kia          OPTIMA              PHOENIX                   AZ
115813   5XXGT4L36KG286716   Kia          OPTIMA              DENVER                    CO
115814   5XXGT4L36KG286926   Kia          OPTIMA              SAN JOSE                  CA
115815   5XXGT4L36KG288143   Kia          OPTIMA              FRESNO                    CA
115816   5XXGT4L36KG288188   Kia          OPTIMA              ONTARIO                   CA
115817   5XXGT4L36KG288627   Kia          OPTIMA              Norwalk                   CA
115818   5XXGT4L36KG289308   Kia          OPTIMA              PHOENIX                   AZ
115819   5XXGT4L36KG289468   Kia          OPTIMA              CHICAGO                   IL
115820   5XXGT4L36KG289762   Kia          OPTIMA              Charlotte                 NC
115821   5XXGT4L36KG289874   Kia          OPTIMA              WEST PALM BEACH           FL
115822   5XXGT4L36KG289891   Kia          OPTIMA              CHICAGO                   IL
115823   5XXGT4L36KG289910   Kia          OPTIMA              LAS VEGAS                 NV
115824   5XXGT4L36KG290071   Kia          OPTIMA              NEW BERN                  NC
115825   5XXGT4L36KG290216   Kia          OPTIMA              TAMPA                     FL
115826   5XXGT4L36KG290247   Kia          OPTIMA              WEST PALM BEACH           FL
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115827   5XXGT4L36KG290264   Kia          OPTIMA              SEATAC                    WA
115828   5XXGT4L36KG290300   Kia          OPTIMA              DULUTH                    GA
115829   5XXGT4L36KG290328   Kia          OPTIMA              SAN DIEGO                 CA
115830   5XXGT4L36KG290376   Kia          OPTIMA              SAN FRANCISCO             CA
115831   5XXGT4L36KG290524   Kia          OPTIMA              CHICAGO O'HARE AP         IL
115832   5XXGT4L36KG290653   Kia          OPTIMA              PHOENIX                   AZ
115833   5XXGT4L36KG290698   Kia          OPTIMA              SAN DIEGO                 CA
115834   5XXGT4L36KG290717   Kia          OPTIMA              Framingham                MA
115835   5XXGT4L36KG290734   Kia          OPTIMA              Sacramento                CA
115836   5XXGT4L36KG290801   Kia          OPTIMA              NORTH PAC                 CA
115837   5XXGT4L36KG290927   Kia          OPTIMA              AUSTIN                    TX
115838   5XXGT4L36KG290958   Kia          OPTIMA              MILWAUKEE                 WI
115839   5XXGT4L36KG291074   Kia          OPTIMA              SACRAMENTO                CA
115840   5XXGT4L36KG291477   Kia          OPTIMA              ONTARIO                   CA
115841   5XXGT4L36KG291592   Kia          OPTIMA              CHICAGO                   IL
115842   5XXGT4L36KG291785   Kia          OPTIMA              JACKSONVILLE              FL
115843   5XXGT4L36KG291821   Kia          OPTIMA              CLEVELAND                 OH
115844   5XXGT4L36KG291964   Kia          OPTIMA              CLEVELAND                 OH
115845   5XXGT4L36KG292046   Kia          OPTIMA              RICHMOND                  VA
115846   5XXGT4L36KG292063   Kia          OPTIMA              SALT LAKE CITY            UT
115847   5XXGT4L36KG292211   Kia          OPTIMA              MIAMI                     FL
115848   5XXGT4L36KG292449   Kia          OPTIMA              TAMPA                     FL
115849   5XXGT4L36KG293102   Kia          OPTIMA              ORLANDO                   FL
115850   5XXGT4L36KG293133   Kia          OPTIMA              SAINT PAUL                MN
115851   5XXGT4L36KG293603   Kia          OPTIMA              CHICAGO                   IL
115852   5XXGT4L36KG298865   Kia          OPTIMA              Atlanta                   GA
115853   5XXGT4L36KG301361   Kia          OPTIMA              Atlanta                   GA
115854   5XXGT4L36KG317401   Kia          OPTIMA              Dallas                    TX
115855   5XXGT4L36KG319861   Kia          OPTIMA              Hattiesburg               MS
115856   5XXGT4L36KG319875   Kia          OPTIMA              BIRMINGHAM                AL
115857   5XXGT4L36KG321609   Kia          OPTIMA              Pensacola                 FL
115858   5XXGT4L36KG321612   Kia          OPTIMA              SAINT LOUIS               MO
115859   5XXGT4L36KG322145   Kia          OPTIMA              Portland                  OR
115860   5XXGT4L36KG322307   Kia          OPTIMA              DALLAS                    TX
115861   5XXGT4L36KG322792   Kia          OPTIMA              HOUSTON                   TX
115862   5XXGT4L36KG322811   Kia          OPTIMA              Dallas                    TX
115863   5XXGT4L36KG323067   Kia          OPTIMA              Philadelphia              PA
115864   5XXGT4L36KG323294   Kia          OPTIMA              DALLAS                    TX
115865   5XXGT4L36KG324171   Kia          OPTIMA              ROSEVILLE                 CA
115866   5XXGT4L36KG325630   Kia          OPTIMA              FORT MYERS                FL
115867   5XXGT4L36KG326017   Kia          OPTIMA              EGG HARBOR TOWN           NJ
115868   5XXGT4L36KG326101   Kia          OPTIMA              ORLANDO                   FL
115869   5XXGT4L36KG326258   Kia          OPTIMA              LOS ANGELES               CA
115870   5XXGT4L36KG345649   Kia          OPTIMA              Lake Elsinore             CA
115871   5XXGT4L36KG348423   Kia          OPTIMA              FORT MYERS                FL
115872   5XXGT4L36KG349572   Kia          OPTIMA              PHILADELPHIA              PA
115873   5XXGT4L36LG386543   Kia          OPTIMA              LOS ANGELES               CA
115874   5XXGT4L36LG386557   Kia          OPTIMA              LOS ANGELES               CA
115875   5XXGT4L36LG386607   Kia          OPTIMA              WOODS CROSS               US
115876   5XXGT4L36LG387062   Kia          OPTIMA              LOS ANGELES               CA
115877   5XXGT4L36LG387076   Kia          OPTIMA              OAKLAND                   CA
115878   5XXGT4L36LG387319   Kia          OPTIMA              LAS VEGAS                 NV
115879   5XXGT4L36LG387336   Kia          OPTIMA              LOS ANGELES               CA
115880   5XXGT4L36LG387398   Kia          OPTIMA              LOS ANGELES               CA
115881   5XXGT4L36LG387448   Kia          OPTIMA              ORANGE COUNTY             CA
115882   5XXGT4L36LG387451   Kia          OPTIMA              SAN DIEGO                 CA
115883   5XXGT4L36LG389412   Kia          OPTIMA              OAKLAND                   CA
115884   5XXGT4L36LG389507   Kia          OPTIMA              ONTARIO                   CA
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115885   5XXGT4L36LG389605   Kia          OPTIMA              WOODS CROSS               US
115886   5XXGT4L36LG389667   Kia          OPTIMA              LOS ANGELES               CA
115887   5XXGT4L36LG389670   Kia          OPTIMA              SAN DIEGO                 CA
115888   5XXGT4L36LG389698   Kia          OPTIMA              PALM SPRINGS              CA
115889   5XXGT4L36LG389720   Kia          OPTIMA              Roseville                 CA
115890   5XXGT4L36LG389765   Kia          OPTIMA              LOS ANGELES AP            CA
115891   5XXGT4L36LG389913   Kia          OPTIMA              Downey                    CA
115892   5XXGT4L36LG390012   Kia          OPTIMA              LOS ANGELES               CA
115893   5XXGT4L36LG390110   Kia          OPTIMA              LOS ANGELES               CA
115894   5XXGT4L36LG390138   Kia          OPTIMA              Woodhaven                 MI
115895   5XXGT4L36LG390186   Kia          OPTIMA              LOS ANGELES               CA
115896   5XXGT4L36LG390205   Kia          OPTIMA              INGLEWOOD                 CA
115897   5XXGT4L36LG390253   Kia          OPTIMA              Salt Lake City            UT
115898   5XXGT4L36LG390463   Kia          OPTIMA              SANTA ANA                 CA
115899   5XXGT4L36LG390480   Kia          OPTIMA              Salt Lake City            UT
115900   5XXGT4L36LG390592   Kia          OPTIMA              SAN DIEGO                 CA
115901   5XXGT4L36LG390608   Kia          OPTIMA              ORANGE COUNTY             CA
115902   5XXGT4L36LG390625   Kia          OPTIMA              OAKLAND                   CA
115903   5XXGT4L36LG391080   Kia          OPTIMA              LAS VEGAS                 NV
115904   5XXGT4L36LG391130   Kia          OPTIMA              LOS ANGELES               CA
115905   5XXGT4L36LG391144   Kia          OPTIMA              Dallas                    TX
115906   5XXGT4L36LG391158   Kia          OPTIMA              AUGUSTA                   GA
115907   5XXGT4L36LG391161   Kia          OPTIMA              PORTLAND                  OR
115908   5XXGT4L36LG391189   Kia          OPTIMA              BURBANK                   CA
115909   5XXGT4L36LG391225   Kia          OPTIMA              COLUMBIA                  SC
115910   5XXGT4L36LG391242   Kia          OPTIMA              SEATAC                    WA
115911   5XXGT4L36LG391323   Kia          OPTIMA              Dallas                    TX
115912   5XXGT4L36LG391340   Kia          OPTIMA              SANTA ANA                 CA
115913   5XXGT4L36LG391385   Kia          OPTIMA              SANTA ANA                 CA
115914   5XXGT4L36LG391418   Kia          OPTIMA              LAS VEGAS                 NV
115915   5XXGT4L36LG391435   Kia          OPTIMA              Portland                  OR
115916   5XXGT4L36LG391449   Kia          OPTIMA              ORANGE COUNTY             CA
115917   5XXGT4L36LG391452   Kia          OPTIMA              SACRAMENTO                CA
115918   5XXGT4L36LG391502   Kia          OPTIMA              PALM SPRINGS              CA
115919   5XXGT4L36LG391581   Kia          OPTIMA              Honolulu                  HI
115920   5XXGT4L36LG391595   Kia          OPTIMA              LOS ANGELES               CA
115921   5XXGT4L36LG391659   Kia          OPTIMA              Irving                    TX
115922   5XXGT4L36LG391693   Kia          OPTIMA              ONTARIO                   CA
115923   5XXGT4L36LG391788   Kia          OPTIMA              LAS VEGAS                 NV
115924   5XXGT4L36LG391841   Kia          OPTIMA              SEATAC                    WA
115925   5XXGT4L36LG391855   Kia          OPTIMA              SALT LAKE CITY            UT
115926   5XXGT4L36LG391919   Kia          OPTIMA              Jacksonville              FL
115927   5XXGT4L36LG391936   Kia          OPTIMA              Portland                  OR
115928   5XXGT4L36LG391953   Kia          OPTIMA              LAS VEGAS                 NV
115929   5XXGT4L36LG391967   Kia          OPTIMA              SAN FRANCISCO             CA
115930   5XXGT4L36LG392262   Kia          OPTIMA              MIDDLE RIVER              MD
115931   5XXGT4L36LG392326   Kia          OPTIMA              Fresno                    CA
115932   5XXGT4L36LG392438   Kia          OPTIMA              SAN LEANDRO               CA
115933   5XXGT4L36LG392567   Kia          OPTIMA              Richmond                  VA
115934   5XXGT4L36LG392603   Kia          OPTIMA              SAN DIEGO                 CA
115935   5XXGT4L36LG392858   Kia          OPTIMA              LAS VEGAS                 NV
115936   5XXGT4L36LG393525   Kia          OPTIMA              LIHUE                     HI
115937   5XXGT4L36LG394027   Kia          OPTIMA              Irving                    TX
115938   5XXGT4L36LG397493   Kia          OPTIMA              San Francisco             CA
115939   5XXGT4L36LG406998   Kia          OPTIMA              Live Oak                  TX
115940   5XXGT4L36LG407522   Kia          OPTIMA              Warr Acres                OK
115941   5XXGT4L36LG411926   Kia          OPTIMA              Schaumburg                IL
115942   5XXGT4L36LG424272   Kia          OPTIMA              DALLAS                    TX
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115943   5XXGT4L36LG424420   Kia          OPTIMA              Fresno                    CA
115944   5XXGT4L36LG424644   Kia          OPTIMA              Warr Acres                OK
115945   5XXGT4L36LG424840   Kia          OPTIMA              ALBUQERQUE                NM
115946   5XXGT4L36LG425096   Kia          OPTIMA              Jacksonville              FL
115947   5XXGT4L36LG425308   Kia          OPTIMA              ATLANTA                   GA
115948   5XXGT4L36LG425714   Kia          OPTIMA              NASHVILLE                 TN
115949   5XXGT4L36LG425809   Kia          OPTIMA              NASHVILLE                 TN
115950   5XXGT4L36LG429035   Kia          OPTIMA              DAYTONA BEACH             FL
115951   5XXGT4L36LG429343   Kia          OPTIMA              Clearwater                FL
115952   5XXGT4L36LG430105   Kia          OPTIMA              Nashville                 TN
115953   5XXGT4L37GG024775   Kia          OPTIMA              Fontana                   CA
115954   5XXGT4L37GG053418   Kia          OPTIMA              Torrance                  CA
115955   5XXGT4L37HG123954   Kia          OPTIMA              Matteson                  IL
115956   5XXGT4L37HG126630   Kia          OPTIMA              MIAMI                     FL
115957   5XXGT4L37HG128541   Kia          OPTIMA              PEABODY                   MA
115958   5XXGT4L37HG137661   Kia          OPTIMA              FORT MYERS                FL
115959   5XXGT4L37HG154041   Kia          OPTIMA              North Dighton             MA
115960   5XXGT4L37HG160972   Kia          OPTIMA              PHILADELPHIA              PA
115961   5XXGT4L37HG165623   Kia          OPTIMA              Davie                     FL
115962   5XXGT4L37HG166867   Kia          OPTIMA              Portland                  OR
115963   5XXGT4L37HG166870   Kia          OPTIMA              NORTH HOLLYWOOD           CA
115964   5XXGT4L37HG170871   Kia          OPTIMA              PITTSBURGH                PA
115965   5XXGT4L37HG170921   Kia          OPTIMA              PHOENIX                   AZ
115966   5XXGT4L37HG172877   Kia          OPTIMA              SAN FRANCISCO             CA
115967   5XXGT4L37HG173012   Kia          OPTIMA              BURBANK                   CA
115968   5XXGT4L37HG173611   Kia          OPTIMA              MEDINA                    OH
115969   5XXGT4L37JG183349   Kia          OPTIMA              Stone Mountain            GA
115970   5XXGT4L37JG185067   Kia          OPTIMA              LOS ANGELES               CA
115971   5XXGT4L37JG187076   Kia          OPTIMA              NEW YORK DEALER DI        NJ
115972   5XXGT4L37JG196781   Kia          OPTIMA              VAN NUYS                  CA
115973   5XXGT4L37JG196876   Kia          OPTIMA              Mira Loma                 CA
115974   5XXGT4L37JG197025   Kia          OPTIMA              SANTA ANA                 CA
115975   5XXGT4L37JG197266   Kia          OPTIMA              CERRITOS                  CA
115976   5XXGT4L37JG198305   Kia          OPTIMA              BURBANK                   CA
115977   5XXGT4L37JG198658   Kia          OPTIMA              SAN FRANCISCO             CA
115978   5XXGT4L37JG201235   Kia          OPTIMA              NOTTINGHAM                MD
115979   5XXGT4L37JG202126   Kia          OPTIMA              Denver                    CO
115980   5XXGT4L37JG207276   Kia          OPTIMA              SPRINGFIELD               VA
115981   5XXGT4L37JG209724   Kia          OPTIMA              SPRINGFIELD               VA
115982   5XXGT4L37JG212784   Kia          OPTIMA              Davie                     FL
115983   5XXGT4L37JG214289   Kia          OPTIMA              SAN ANTONIO               TX
115984   5XXGT4L37JG214308   Kia          OPTIMA              FT LAUDERDALE             FL
115985   5XXGT4L37JG216365   Kia          OPTIMA              Warminster                PA
115986   5XXGT4L37JG218486   Kia          OPTIMA              Morrisville               NC
115987   5XXGT4L37JG219038   Kia          OPTIMA              San Antonio               TX
115988   5XXGT4L37JG219055   Kia          OPTIMA              DFW AIRPORT               TX
115989   5XXGT4L37JG219279   Kia          OPTIMA              Springfield               MO
115990   5XXGT4L37JG219752   Kia          OPTIMA              San Antonio               TX
115991   5XXGT4L37JG221517   Kia          OPTIMA              DANIA BEACH               FL
115992   5XXGT4L37JG225941   Kia          OPTIMA              SAN FRANCISCO             CA
115993   5XXGT4L37JG228368   Kia          OPTIMA              COLLEGE PARK              GA
115994   5XXGT4L37JG229195   Kia          OPTIMA              Matteson                  IL
115995   5XXGT4L37JG229603   Kia          OPTIMA              CHANDLER                  AZ
115996   5XXGT4L37JG233232   Kia          OPTIMA              Rock Hill                 SC
115997   5XXGT4L37JG234817   Kia          OPTIMA              North Dighton             MA
115998   5XXGT4L37JG235076   Kia          OPTIMA              Phoenix                   AZ
115999   5XXGT4L37JG235272   Kia          OPTIMA              CLEVELAND                 OH
116000   5XXGT4L37JG235336   Kia          OPTIMA              PHOENIX                   AZ
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116001   5XXGT4L37JG235630   Kia          OPTIMA              SEATAC                    WA
116002   5XXGT4L37JG244277   Kia          OPTIMA              Burien                    WA
116003   5XXGT4L37JG244957   Kia          OPTIMA              SEATTLE                   WA
116004   5XXGT4L37JG245963   Kia          OPTIMA              LOS ANGELES               CA
116005   5XXGT4L37JG265713   Kia          OPTIMA              Dallas                    TX
116006   5XXGT4L37KG275546   Kia          OPTIMA              SAN DIEGO                 CA
116007   5XXGT4L37KG275594   Kia          OPTIMA              FORT MYERS                FL
116008   5XXGT4L37KG275627   Kia          OPTIMA              FRESNO                    CA
116009   5XXGT4L37KG275756   Kia          OPTIMA              PLEASANTON                CA
116010   5XXGT4L37KG275806   Kia          OPTIMA              TRACY                     CA
116011   5XXGT4L37KG275904   Kia          OPTIMA              CLEVELAND                 OH
116012   5XXGT4L37KG276082   Kia          OPTIMA              Birmingham                AL
116013   5XXGT4L37KG276096   Kia          OPTIMA              SANTA ANA                 CA
116014   5XXGT4L37KG276129   Kia          OPTIMA              Portland                  OR
116015   5XXGT4L37KG276132   Kia          OPTIMA              Newport Beach             CA
116016   5XXGT4L37KG276387   Kia          OPTIMA              BURBANK                   CA
116017   5XXGT4L37KG276518   Kia          OPTIMA              Phoenix                   AZ
116018   5XXGT4L37KG276549   Kia          OPTIMA              NORTH PAC                 CA
116019   5XXGT4L37KG276910   Kia          OPTIMA              OMAHA                     NE
116020   5XXGT4L37KG276924   Kia          OPTIMA              Colorado Spring           CO
116021   5XXGT4L37KG276986   Kia          OPTIMA              SAN DIEGO                 CA
116022   5XXGT4L37KG277068   Kia          OPTIMA              SEATAC                    WA
116023   5XXGT4L37KG277099   Kia          OPTIMA              LAS VEGAS                 NV
116024   5XXGT4L37KG277121   Kia          OPTIMA              LAS VEGAS                 NV
116025   5XXGT4L37KG277197   Kia          OPTIMA              PALM SPRINGS              CA
116026   5XXGT4L37KG277328   Kia          OPTIMA              SEATAC                    WA
116027   5XXGT4L37KG277331   Kia          OPTIMA              BURBANK                   CA
116028   5XXGT4L37KG277510   Kia          OPTIMA              SACRAMENTO                CA
116029   5XXGT4L37KG277684   Kia          OPTIMA              TAMPA                     FL
116030   5XXGT4L37KG277698   Kia          OPTIMA              San Diego                 CA
116031   5XXGT4L37KG277734   Kia          OPTIMA              SALT LAKE CITY            UT
116032   5XXGT4L37KG277894   Kia          OPTIMA              Riverside                 CA
116033   5XXGT4L37KG277927   Kia          OPTIMA              SACRAMENTO                CA
116034   5XXGT4L37KG278057   Kia          OPTIMA              INDIANAPOLIS              IN
116035   5XXGT4L37KG278074   Kia          OPTIMA              Cincinnati                OH
116036   5XXGT4L37KG278138   Kia          OPTIMA              North Dighton             MA
116037   5XXGT4L37KG278205   Kia          OPTIMA              SEATAC                    WA
116038   5XXGT4L37KG278270   Kia          OPTIMA              OAKLAND                   CA
116039   5XXGT4L37KG278740   Kia          OPTIMA              TAMPA                     FL
116040   5XXGT4L37KG278950   Kia          OPTIMA              EAU CLAIRE                WI
116041   5XXGT4L37KG279113   Kia          OPTIMA              STERLING                  VA
116042   5XXGT4L37KG279323   Kia          OPTIMA              Fort Lauderdale           FL
116043   5XXGT4L37KG281198   Kia          OPTIMA              BURBANK                   CA
116044   5XXGT4L37KG281864   Kia          OPTIMA              WARWICK                   RI
116045   5XXGT4L37KG282058   Kia          OPTIMA              NORTH PAC                 CA
116046   5XXGT4L37KG282108   Kia          OPTIMA              RONKONKOMA                NY
116047   5XXGT4L37KG282187   Kia          OPTIMA              ORLANDO                   FL
116048   5XXGT4L37KG282190   Kia          OPTIMA              BALTIMORE                 MD
116049   5XXGT4L37KG282626   Kia          OPTIMA              Elkridge                  MD
116050   5XXGT4L37KG283114   Kia          OPTIMA              ORLANDO                   FL
116051   5XXGT4L37KG283615   Kia          OPTIMA              WARWICK                   RI
116052   5XXGT4L37KG283730   Kia          OPTIMA              KANSAS CITY               MO
116053   5XXGT4L37KG283744   Kia          OPTIMA              SAN DIEGO                 CA
116054   5XXGT4L37KG283825   Kia          OPTIMA              LOS ANGELES               CA
116055   5XXGT4L37KG283839   Kia          OPTIMA              Las Vegas                 NV
116056   5XXGT4L37KG283937   Kia          OPTIMA              Austell                   GA
116057   5XXGT4L37KG283940   Kia          OPTIMA              LAS VEGAS                 NV
116058   5XXGT4L37KG284098   Kia          OPTIMA              ROANOKE                   VA
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116059   5XXGT4L37KG284103   Kia          OPTIMA              Detroit                   MI
116060   5XXGT4L37KG284117   Kia          OPTIMA              LOS ANGELES               CA
116061   5XXGT4L37KG284246   Kia          OPTIMA              PHOENIX                   AZ
116062   5XXGT4L37KG284344   Kia          OPTIMA              SAN DIEGO                 CA
116063   5XXGT4L37KG284635   Kia          OPTIMA              FORT MYERS                FL
116064   5XXGT4L37KG284652   Kia          OPTIMA              Orlando                   FL
116065   5XXGT4L37KG284747   Kia          OPTIMA              ORLANDO                   FL
116066   5XXGT4L37KG284876   Kia          OPTIMA              LAS VEGAS                 NV
116067   5XXGT4L37KG284909   Kia          OPTIMA              DENVER                    CO
116068   5XXGT4L37KG284943   Kia          OPTIMA              NORTH PAC                 CA
116069   5XXGT4L37KG285249   Kia          OPTIMA              PHOENIX                   AZ
116070   5XXGT4L37KG285283   Kia          OPTIMA              SACRAMENTO                CA
116071   5XXGT4L37KG285459   Kia          OPTIMA              Portland                  OR
116072   5XXGT4L37KG285753   Kia          OPTIMA              FORT LAUDERDALE           FL
116073   5XXGT4L37KG285882   Kia          OPTIMA              Lauderdale Lake           FL
116074   5XXGT4L37KG286336   Kia          OPTIMA              LOS ANGELES               CA
116075   5XXGT4L37KG286725   Kia          OPTIMA              SAN DIEGO                 US
116076   5XXGT4L37KG286773   Kia          OPTIMA              ALBUQUERQUE               NM
116077   5XXGT4L37KG286904   Kia          OPTIMA              LAS VEGAS                 NV
116078   5XXGT4L37KG286918   Kia          OPTIMA              MARIETTA                  GA
116079   5XXGT4L37KG286921   Kia          OPTIMA              LOS ANGELES               CA
116080   5XXGT4L37KG287440   Kia          OPTIMA              Des Moines                IA
116081   5XXGT4L37KG287454   Kia          OPTIMA              ORLANDO                   FL
116082   5XXGT4L37KG287681   Kia          OPTIMA              WEST PALM BEACH           FL
116083   5XXGT4L37KG287812   Kia          OPTIMA              PENSACOLA                 FL
116084   5XXGT4L37KG288118   Kia          OPTIMA              INDIANAPOLIS              IN
116085   5XXGT4L37KG288149   Kia          OPTIMA              LAS VEGAS                 NV
116086   5XXGT4L37KG288507   Kia          OPTIMA              Roseville                 CA
116087   5XXGT4L37KG288619   Kia          OPTIMA              LOS ANGELES               CA
116088   5XXGT4L37KG288636   Kia          OPTIMA              SANTA ANA                 CA
116089   5XXGT4L37KG288720   Kia          OPTIMA              Marietta                  GA
116090   5XXGT4L37KG288751   Kia          OPTIMA              WEST PALM BEACH           FL
116091   5XXGT4L37KG288913   Kia          OPTIMA              Pheonix                   AZ
116092   5XXGT4L37KG289057   Kia          OPTIMA              PALM SPRINGS              CA
116093   5XXGT4L37KG289060   Kia          OPTIMA              LAS VEGAS                 NV
116094   5XXGT4L37KG289317   Kia          OPTIMA              SAN FRANCISCO             CA
116095   5XXGT4L37KG289365   Kia          OPTIMA              Slidell                   LA
116096   5XXGT4L37KG289785   Kia          OPTIMA              Warminster                PA
116097   5XXGT4L37KG290080   Kia          OPTIMA              EGG HARBOR TOWN           NJ
116098   5XXGT4L37KG290192   Kia          OPTIMA              ONTARIO                   CA
116099   5XXGT4L37KG290256   Kia          OPTIMA              SEATAC                    WA
116100   5XXGT4L37KG290340   Kia          OPTIMA              ORANGE COUNTY             CA
116101   5XXGT4L37KG290368   Kia          OPTIMA              SAN DIEGO                 CA
116102   5XXGT4L37KG290516   Kia          OPTIMA              OKLAHOMA CITY             OK
116103   5XXGT4L37KG290581   Kia          OPTIMA              SAN JOSE                  CA
116104   5XXGT4L37KG290600   Kia          OPTIMA              TAMPA                     FL
116105   5XXGT4L37KG290645   Kia          OPTIMA              San Diego                 CA
116106   5XXGT4L37KG290757   Kia          OPTIMA              LAS VEGAS                 NV
116107   5XXGT4L37KG290919   Kia          OPTIMA              EULESS                    TX
116108   5XXGT4L37KG291018   Kia          OPTIMA              LAS VEGAS                 NV
116109   5XXGT4L37KG291178   Kia          OPTIMA              BURBANK                   CA
116110   5XXGT4L37KG291388   Kia          OPTIMA              FORT MYERS                FL
116111   5XXGT4L37KG291391   Kia          OPTIMA              LAS VEGAS                 NV
116112   5XXGT4L37KG291407   Kia          OPTIMA              DALLAS                    TX
116113   5XXGT4L37KG291455   Kia          OPTIMA              Dallas                    TX
116114   5XXGT4L37KG291648   Kia          OPTIMA              LOS ANGELES               CA
116115   5XXGT4L37KG291830   Kia          OPTIMA              KANSAS CITY               MO
116116   5XXGT4L37KG291908   Kia          OPTIMA              Omaha                     NE
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116117   5XXGT4L37KG291973   Kia          OPTIMA              TAMPA                     FL
116118   5XXGT4L37KG292461   Kia          OPTIMA              CHARLOTTE                 US
116119   5XXGT4L37KG292475   Kia          OPTIMA              Clearwater                FL
116120   5XXGT4L37KG292654   Kia          OPTIMA              ATLANTA                   GA
116121   5XXGT4L37KG292668   Kia          OPTIMA              PITTSBURGH                PA
116122   5XXGT4L37KG292704   Kia          OPTIMA              JACKSONVILLE              FL
116123   5XXGT4L37KG293089   Kia          OPTIMA              Atlanta                   GA
116124   5XXGT4L37KG294033   Kia          OPTIMA              INDIANAPOLIS              IN
116125   5XXGT4L37KG298874   Kia          OPTIMA              ORLANDO                   FL
116126   5XXGT4L37KG316435   Kia          OPTIMA              Bridgeton                 MO
116127   5XXGT4L37KG322252   Kia          OPTIMA              SARASOTA                  FL
116128   5XXGT4L37KG322350   Kia          OPTIMA              DALLAS                    TX
116129   5XXGT4L37KG323028   Kia          OPTIMA              INDIANAPOLIS              IN
116130   5XXGT4L37KG323031   Kia          OPTIMA              WEST PALM BEACH           FL
116131   5XXGT4L37KG323501   Kia          OPTIMA              WEST PALM BEACH           FL
116132   5XXGT4L37KG323708   Kia          OPTIMA              ORLANDO                   FL
116133   5XXGT4L37KG324180   Kia          OPTIMA              LOS ANGELES               CA
116134   5XXGT4L37KG324728   Kia          OPTIMA              CLOVIS                    CA
116135   5XXGT4L37KG324776   Kia          OPTIMA              LAS VEGAS                 NV
116136   5XXGT4L37KG325569   Kia          OPTIMA              Portland                  OR
116137   5XXGT4L37KG326267   Kia          OPTIMA              OAKLAND                   CA
116138   5XXGT4L37KG326706   Kia          OPTIMA              SACRAMENTO                CA
116139   5XXGT4L37KG329105   Kia          OPTIMA              S. San Francisc           CA
116140   5XXGT4L37KG329475   Kia          OPTIMA              SAN DIEGO                 CA
116141   5XXGT4L37KG331999   Kia          OPTIMA              PHOENIX                   AZ
116142   5XXGT4L37KG332294   Kia          OPTIMA              Miami                     FL
116143   5XXGT4L37KG333073   Kia          OPTIMA              INDIANAPOLIS              IN
116144   5XXGT4L37KG339522   Kia          OPTIMA              ORLANDO                   FL
116145   5XXGT4L37KG348057   Kia          OPTIMA              Des Plaines               IL
116146   5XXGT4L37KG348933   Kia          OPTIMA              Dallas                    TX
116147   5XXGT4L37KG350276   Kia          OPTIMA              ATLANTA                   GA
116148   5XXGT4L37LG386521   Kia          OPTIMA              SAN DIEGO                 CA
116149   5XXGT4L37LG386535   Kia          OPTIMA              Denver                    CO
116150   5XXGT4L37LG386602   Kia          OPTIMA              LAS VEGAS                 NV
116151   5XXGT4L37LG387393   Kia          OPTIMA              INGLEWOOD                 CA
116152   5XXGT4L37LG387443   Kia          OPTIMA              BURBANK                   CA
116153   5XXGT4L37LG387460   Kia          OPTIMA              SEATTLE                   WA
116154   5XXGT4L37LG387488   Kia          OPTIMA              SAN DIEGO                 CA
116155   5XXGT4L37LG388415   Kia          OPTIMA              BURBANK                   CA
116156   5XXGT4L37LG389418   Kia          OPTIMA              LOS ANGELES               CA
116157   5XXGT4L37LG389483   Kia          OPTIMA              SAN JOSE                  CA
116158   5XXGT4L37LG389502   Kia          OPTIMA              MELROSE PARK              IL
116159   5XXGT4L37LG389564   Kia          OPTIMA              LOS ANGELES               CA
116160   5XXGT4L37LG389581   Kia          OPTIMA              Live Oak                  TX
116161   5XXGT4L37LG389595   Kia          OPTIMA              LAS VEGAS                 NV
116162   5XXGT4L37LG389614   Kia          OPTIMA              SAN JOSE                  CA
116163   5XXGT4L37LG389628   Kia          OPTIMA              SEATAC                    WA
116164   5XXGT4L37LG389645   Kia          OPTIMA              LOS ANGELES               CA
116165   5XXGT4L37LG389662   Kia          OPTIMA              LAS VEGAS                 NV
116166   5XXGT4L37LG389757   Kia          OPTIMA              BURBANK                   CA
116167   5XXGT4L37LG389760   Kia          OPTIMA              SEATAC                    WA
116168   5XXGT4L37LG389774   Kia          OPTIMA              LOS ANGELES               CA
116169   5XXGT4L37LG389919   Kia          OPTIMA              LOS ANGELES               CA
116170   5XXGT4L37LG389967   Kia          OPTIMA              LOS ANGELES               CA
116171   5XXGT4L37LG390049   Kia          OPTIMA              LAS VEGAS                 NV
116172   5XXGT4L37LG390066   Kia          OPTIMA              SEATAC                    WA
116173   5XXGT4L37LG390083   Kia          OPTIMA              SALT LAKE CITY            UT
116174   5XXGT4L37LG390133   Kia          OPTIMA              LOS ANGELES               CA
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116175   5XXGT4L37LG390147   Kia          OPTIMA              Salt Lake City            UT
116176   5XXGT4L37LG390181   Kia          OPTIMA              SANTA ANA                 CA
116177   5XXGT4L37LG390200   Kia          OPTIMA              INGLEWOOD                 CA
116178   5XXGT4L37LG390357   Kia          OPTIMA              SALT LAKE CITY            US
116179   5XXGT4L37LG390486   Kia          OPTIMA              BURBANK                   CA
116180   5XXGT4L37LG390519   Kia          OPTIMA              LOS ANGELES               CA
116181   5XXGT4L37LG390522   Kia          OPTIMA              ONTARIO                   CA
116182   5XXGT4L37LG390620   Kia          OPTIMA              LOS ANGELES               CA
116183   5XXGT4L37LG390648   Kia          OPTIMA              PALM SPRINGS              CA
116184   5XXGT4L37LG390679   Kia          OPTIMA              SANTA ANA                 CA
116185   5XXGT4L37LG391069   Kia          OPTIMA              LOS ANGELES               CA
116186   5XXGT4L37LG391105   Kia          OPTIMA              Phoenix                   AZ
116187   5XXGT4L37LG391217   Kia          OPTIMA              SAN FRANCISCO             CA
116188   5XXGT4L37LG391220   Kia          OPTIMA              SEATAC                    WA
116189   5XXGT4L37LG391301   Kia          OPTIMA              LAS VEGAS                 NV
116190   5XXGT4L37LG391329   Kia          OPTIMA              CHARLOTTE                 NC
116191   5XXGT4L37LG391332   Kia          OPTIMA              SEA TAC                   WA
116192   5XXGT4L37LG391363   Kia          OPTIMA              PALM SPRINGS              CA
116193   5XXGT4L37LG391413   Kia          OPTIMA              INGLEWOOD                 CA
116194   5XXGT4L37LG391427   Kia          OPTIMA              ONTARIO                   CA
116195   5XXGT4L37LG391458   Kia          OPTIMA              BURLINGAME                CA
116196   5XXGT4L37LG391461   Kia          OPTIMA              LOS ANGELES               CA
116197   5XXGT4L37LG391475   Kia          OPTIMA              LOS ANGELES               CA
116198   5XXGT4L37LG391489   Kia          OPTIMA              SAN DIEGO                 CA
116199   5XXGT4L37LG391492   Kia          OPTIMA              ORANGE COUNTY             CA
116200   5XXGT4L37LG391508   Kia          OPTIMA              LOS ANGELES               CA
116201   5XXGT4L37LG391511   Kia          OPTIMA              BURBANK                   CA
116202   5XXGT4L37LG391525   Kia          OPTIMA              LOS ANGELES AP            CA
116203   5XXGT4L37LG391587   Kia          OPTIMA              Killeen                   TX
116204   5XXGT4L37LG391640   Kia          OPTIMA              LOS ANGELES               CA
116205   5XXGT4L37LG391671   Kia          OPTIMA              LOS ANGELES               CA
116206   5XXGT4L37LG391685   Kia          OPTIMA              SAN DIEGO                 CA
116207   5XXGT4L37LG391783   Kia          OPTIMA              PALM SPRINGS              CA
116208   5XXGT4L37LG391797   Kia          OPTIMA              SEATAC                    WA
116209   5XXGT4L37LG391816   Kia          OPTIMA              SAN DIEGO                 CA
116210   5XXGT4L37LG391847   Kia          OPTIMA              LOS ANGELES               CA
116211   5XXGT4L37LG391959   Kia          OPTIMA              HAYWARD                   CA
116212   5XXGT4L37LG392108   Kia          OPTIMA              Roseville                 CA
116213   5XXGT4L37LG392447   Kia          OPTIMA              LOS ANGELES               CA
116214   5XXGT4L37LG392450   Kia          OPTIMA              LOS ANGELES               CA
116215   5XXGT4L37LG392545   Kia          OPTIMA              Fresno                    CA
116216   5XXGT4L37LG392657   Kia          OPTIMA              SAN DIEGO                 CA
116217   5XXGT4L37LG392688   Kia          OPTIMA              BURBANK                   CA
116218   5XXGT4L37LG392805   Kia          OPTIMA              Sacramento                CA
116219   5XXGT4L37LG394392   Kia          OPTIMA              LOS ANGELES               CA
116220   5XXGT4L37LG406895   Kia          OPTIMA              Dallas                    TX
116221   5XXGT4L37LG407089   Kia          OPTIMA              Harlingen                 TX
116222   5XXGT4L37LG407450   Kia          OPTIMA              Austin                    TX
116223   5XXGT4L37LG407478   Kia          OPTIMA              Oklahoma City             OK
116224   5XXGT4L37LG407738   Kia          OPTIMA              Dallas                    TX
116225   5XXGT4L37LG411904   Kia          OPTIMA              Louisville                KY
116226   5XXGT4L37LG411949   Kia          OPTIMA              Bensalem                  PA
116227   5XXGT4L37LG414091   Kia          OPTIMA              Jacksonville              FL
116228   5XXGT4L37LG423096   Kia          OPTIMA              Florissant                MO
116229   5XXGT4L37LG424412   Kia          OPTIMA              Dallas                    TX
116230   5XXGT4L37LG424457   Kia          OPTIMA              Hayward                   CA
116231   5XXGT4L37LG424460   Kia          OPTIMA              SAN LEANDRO               CA
116232   5XXGT4L37LG425107   Kia          OPTIMA              Tampa                     FL
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116233   5XXGT4L37LG425298   Kia          OPTIMA              Orlando                   FL
116234   5XXGT4L38GG007452   Kia          OPTIMA              Rock Hill                 SC
116235   5XXGT4L38HG129973   Kia          OPTIMA              Dania                     FL
116236   5XXGT4L38HG160883   Kia          OPTIMA              Atlanta                   GA
116237   5XXGT4L38HG167588   Kia          OPTIMA              BURBANK                   CA
116238   5XXGT4L38HG170894   Kia          OPTIMA              HANOVER                   MD
116239   5XXGT4L38HG171155   Kia          OPTIMA              LOS ANGELES               CA
116240   5XXGT4L38HG172581   Kia          OPTIMA              SAN FRANCISCO             CA
116241   5XXGT4L38HG173374   Kia          OPTIMA              BURBANK                   CA
116242   5XXGT4L38JG185093   Kia          OPTIMA              BURBANK                   CA
116243   5XXGT4L38JG185854   Kia          OPTIMA              HAPERVILLE                US
116244   5XXGT4L38JG187541   Kia          OPTIMA              Carleton                  MI
116245   5XXGT4L38JG188043   Kia          OPTIMA              LOS ANGELES               CA
116246   5XXGT4L38JG194098   Kia          OPTIMA              NORTH PAC                 CA
116247   5XXGT4L38JG197275   Kia          OPTIMA              SAN JOSE                  CA
116248   5XXGT4L38JG198362   Kia          OPTIMA              SEATAC                    WA
116249   5XXGT4L38JG198653   Kia          OPTIMA              SAN FRANCISCO             CA
116250   5XXGT4L38JG203365   Kia          OPTIMA              Atlanta                   GA
116251   5XXGT4L38JG205617   Kia          OPTIMA              Detroit                   MI
116252   5XXGT4L38JG207464   Kia          OPTIMA              Kent                      WA
116253   5XXGT4L38JG207495   Kia          OPTIMA              SAN JOSE                  CA
116254   5XXGT4L38JG216066   Kia          OPTIMA              Austin                    TX
116255   5XXGT4L38JG216567   Kia          OPTIMA              BURBANK                   CA
116256   5XXGT4L38JG217413   Kia          OPTIMA              Cincinnati                OH
116257   5XXGT4L38JG217525   Kia          OPTIMA              Miami                     FL
116258   5XXGT4L38JG219307   Kia          OPTIMA              Torrance                  CA
116259   5XXGT4L38JG221669   Kia          OPTIMA              DENVER                    CO
116260   5XXGT4L38JG226225   Kia          OPTIMA              Massapequa                NY
116261   5XXGT4L38JG226483   Kia          OPTIMA              NOTTINGHAM                MD
116262   5XXGT4L38JG228136   Kia          OPTIMA              Detroit                   MI
116263   5XXGT4L38JG228198   Kia          OPTIMA              CHICAGO                   IL
116264   5XXGT4L38JG228895   Kia          OPTIMA              HANOVER                   MD
116265   5XXGT4L38JG229058   Kia          OPTIMA              ORLANDO                   FL
116266   5XXGT4L38JG234132   Kia          OPTIMA              WEST PALM BEACH           FL
116267   5XXGT4L38JG235085   Kia          OPTIMA              DALLAS                    TX
116268   5XXGT4L38JG235281   Kia          OPTIMA              Clarksville               IN
116269   5XXGT4L38JG235362   Kia          OPTIMA              FORT MYERS                FL
116270   5XXGT4L38JG235846   Kia          OPTIMA              LAS VEGAS                 NV
116271   5XXGT4L38JG236298   Kia          OPTIMA              LOS ANGELES               CA
116272   5XXGT4L38JG236754   Kia          OPTIMA              Atlanta                   GA
116273   5XXGT4L38JG250265   Kia          OPTIMA              SAN FRANCISCO             CA
116274   5XXGT4L38JG251352   Kia          OPTIMA              COLLEGE PARK              GA
116275   5XXGT4L38KG275183   Kia          OPTIMA              Dallas                    TX
116276   5XXGT4L38KG275281   Kia          OPTIMA              Torrance                  CA
116277   5XXGT4L38KG275295   Kia          OPTIMA              SACRAMENTO                CA
116278   5XXGT4L38KG275300   Kia          OPTIMA              NORTH PAC                 CA
116279   5XXGT4L38KG275460   Kia          OPTIMA              Marietta                  GA
116280   5XXGT4L38KG275796   Kia          OPTIMA              LOS ANGELES               CA
116281   5XXGT4L38KG275801   Kia          OPTIMA              LAS VEGAS                 NV
116282   5XXGT4L38KG276320   Kia          OPTIMA              STERLING                  VA
116283   5XXGT4L38KG276365   Kia          OPTIMA              ORLANDO                   FL
116284   5XXGT4L38KG276379   Kia          OPTIMA              Salt Lake City            UT
116285   5XXGT4L38KG276382   Kia          OPTIMA              SEATAC                    WA
116286   5XXGT4L38KG276513   Kia          OPTIMA              LOS ANGELES               CA
116287   5XXGT4L38KG276558   Kia          OPTIMA              BURBANK                   CA
116288   5XXGT4L38KG276706   Kia          OPTIMA              SACRAMENTO                CA
116289   5XXGT4L38KG276785   Kia          OPTIMA              PHOENIX                   AZ
116290   5XXGT4L38KG276849   Kia          OPTIMA              LOS ANGELES               CA
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116291   5XXGT4L38KG276916   Kia          OPTIMA              SAN JOSE                  CA
116292   5XXGT4L38KG276933   Kia          OPTIMA              Costa Mesa                CA
116293   5XXGT4L38KG277015   Kia          OPTIMA              PORTLAND                  OR
116294   5XXGT4L38KG277063   Kia          OPTIMA              DALLAS                    TX
116295   5XXGT4L38KG277189   Kia          OPTIMA              PHILADELPHIA              PA
116296   5XXGT4L38KG277242   Kia          OPTIMA              SEATAC                    WA
116297   5XXGT4L38KG277337   Kia          OPTIMA              LAS VEGAS                 NV
116298   5XXGT4L38KG277354   Kia          OPTIMA              Lynn                      MA
116299   5XXGT4L38KG277368   Kia          OPTIMA              TAMPA                     FL
116300   5XXGT4L38KG277418   Kia          OPTIMA              STOCKTON                  CA
116301   5XXGT4L38KG277452   Kia          OPTIMA              Tolleson                  AZ
116302   5XXGT4L38KG277709   Kia          OPTIMA              Roseville                 CA
116303   5XXGT4L38KG277760   Kia          OPTIMA              Las Vegas                 NV
116304   5XXGT4L38KG277774   Kia          OPTIMA              HARTFORD                  CT
116305   5XXGT4L38KG277807   Kia          OPTIMA              CHICAGO                   IL
116306   5XXGT4L38KG277855   Kia          OPTIMA              NORTH HILLS               CA
116307   5XXGT4L38KG277872   Kia          OPTIMA              INGLEWOOD                 CA
116308   5XXGT4L38KG278312   Kia          OPTIMA              Lake in the Hil           IL
116309   5XXGT4L38KG278326   Kia          OPTIMA              Savannah                  GA
116310   5XXGT4L38KG278374   Kia          OPTIMA              Tucson                    AZ
116311   5XXGT4L38KG278584   Kia          OPTIMA              PORTLAND                  OR
116312   5XXGT4L38KG278732   Kia          OPTIMA              Tolleson                  AZ
116313   5XXGT4L38KG278889   Kia          OPTIMA              KANSAS CITY               MO
116314   5XXGT4L38KG278911   Kia          OPTIMA              ORLANDO                   FL
116315   5XXGT4L38KG279122   Kia          OPTIMA              DETROIT                   MI
116316   5XXGT4L38KG279198   Kia          OPTIMA              LAS VEGAS                 NV
116317   5XXGT4L38KG279217   Kia          OPTIMA              Florissant                MO
116318   5XXGT4L38KG279265   Kia          OPTIMA              Atlanta                   GA
116319   5XXGT4L38KG279864   Kia          OPTIMA              INDIANAPOLIS              IN
116320   5XXGT4L38KG280240   Kia          OPTIMA              FORT LAUDERDALE           FL
116321   5XXGT4L38KG280352   Kia          OPTIMA              DENVER                    CO
116322   5XXGT4L38KG280397   Kia          OPTIMA              TAMPA                     FL
116323   5XXGT4L38KG281176   Kia          OPTIMA              MIAMI                     FL
116324   5XXGT4L38KG281209   Kia          OPTIMA              Detroit                   MI
116325   5XXGT4L38KG281937   Kia          OPTIMA              SEATAC                    WA
116326   5XXGT4L38KG281985   Kia          OPTIMA              DANIA BEACH               FL
116327   5XXGT4L38KG282067   Kia          OPTIMA              Manheim                   PA
116328   5XXGT4L38KG282165   Kia          OPTIMA              ORLANDO                   FL
116329   5XXGT4L38KG282232   Kia          OPTIMA              ORLANDO                   FL
116330   5XXGT4L38KG282408   Kia          OPTIMA              ORLANDO                   FL
116331   5XXGT4L38KG282411   Kia          OPTIMA              ORLANDO                   FL
116332   5XXGT4L38KG282425   Kia          OPTIMA              ROANOKE                   VA
116333   5XXGT4L38KG283316   Kia          OPTIMA              STERLING                  VA
116334   5XXGT4L38KG283364   Kia          OPTIMA              OAKLAND                   CA
116335   5XXGT4L38KG283557   Kia          OPTIMA              MAHOPAC                   NY
116336   5XXGT4L38KG283607   Kia          OPTIMA              CHICAGO                   IL
116337   5XXGT4L38KG283638   Kia          OPTIMA              SACRAMENTO                CA
116338   5XXGT4L38KG283641   Kia          OPTIMA              ST Paul                   MN
116339   5XXGT4L38KG283722   Kia          OPTIMA              HARTFORD                  CT
116340   5XXGT4L38KG283770   Kia          OPTIMA              TAMPA                     FL
116341   5XXGT4L38KG283798   Kia          OPTIMA              WEST PALM BEACH           FL
116342   5XXGT4L38KG283820   Kia          OPTIMA              SAN DIEGO                 CA
116343   5XXGT4L38KG283865   Kia          OPTIMA              FORT MYERS                FL
116344   5XXGT4L38KG283929   Kia          OPTIMA              CHICAGO                   IL
116345   5XXGT4L38KG283932   Kia          OPTIMA              BUFFALO                   NY
116346   5XXGT4L38KG284238   Kia          OPTIMA              DENVER                    CO
116347   5XXGT4L38KG284546   Kia          OPTIMA              WEST PALM BEACH           FL
116348   5XXGT4L38KG284594   Kia          OPTIMA              ORLANDO                   FL
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116349   5XXGT4L38KG284627   Kia          OPTIMA              ORLANDO                   FL
116350   5XXGT4L38KG284689   Kia          OPTIMA              Salt Lake City            UT
116351   5XXGT4L38KG284739   Kia          OPTIMA              ROCHESTER                 NY
116352   5XXGT4L38KG285101   Kia          OPTIMA              Warminster                PA
116353   5XXGT4L38KG285289   Kia          OPTIMA              ORLANDO                   FL
116354   5XXGT4L38KG285454   Kia          OPTIMA              LOS ANGELES               CA
116355   5XXGT4L38KG285518   Kia          OPTIMA              PHOENIX                   AZ
116356   5XXGT4L38KG285535   Kia          OPTIMA              ATLANTA AP                GA
116357   5XXGT4L38KG286233   Kia          OPTIMA              SALT LAKE CITY            UT
116358   5XXGT4L38KG286510   Kia          OPTIMA              LAS VEGAS                 NV
116359   5XXGT4L38KG286720   Kia          OPTIMA              Houston                   TX
116360   5XXGT4L38KG286779   Kia          OPTIMA              DFW AIRPORT               TX
116361   5XXGT4L38KG287575   Kia          OPTIMA              SAN DIEGO                 CA
116362   5XXGT4L38KG287656   Kia          OPTIMA              ONTARIO                   CA
116363   5XXGT4L38KG287690   Kia          OPTIMA              ATLANTA                   GA
116364   5XXGT4L38KG288144   Kia          OPTIMA              PHOENIX                   AZ
116365   5XXGT4L38KG288449   Kia          OPTIMA              BULLHEAD CITY             AZ
116366   5XXGT4L38KG288452   Kia          OPTIMA              Tulsa                     OK
116367   5XXGT4L38KG288483   Kia          OPTIMA              SAN DIEGO                 CA
116368   5XXGT4L38KG289245   Kia          OPTIMA              Norfolk                   VA
116369   5XXGT4L38KG289276   Kia          OPTIMA              Stone Mountain            GA
116370   5XXGT4L38KG289293   Kia          OPTIMA              JACKSON                   MS
116371   5XXGT4L38KG289388   Kia          OPTIMA              Killeen                   TX
116372   5XXGT4L38KG289441   Kia          OPTIMA              FORT MYERS                FL
116373   5XXGT4L38KG289469   Kia          OPTIMA              METAIRIE                  LA
116374   5XXGT4L38KG289472   Kia          OPTIMA              Morrisville               NC
116375   5XXGT4L38KG289505   Kia          OPTIMA              Englewood                 CO
116376   5XXGT4L38KG289875   Kia          OPTIMA              SAN ANTONIO               TX
116377   5XXGT4L38KG290072   Kia          OPTIMA              Portland                  ME
116378   5XXGT4L38KG290184   Kia          OPTIMA              SAN JOSE                  CA
116379   5XXGT4L38KG290203   Kia          OPTIMA              ONTARIO                   CA
116380   5XXGT4L38KG290248   Kia          OPTIMA              West Palm Beach           FL
116381   5XXGT4L38KG290296   Kia          OPTIMA              ATLANTA                   GA
116382   5XXGT4L38KG290363   Kia          OPTIMA              LOS ANGELES               CA
116383   5XXGT4L38KG290508   Kia          OPTIMA              FORT LAUDERDALE           FL
116384   5XXGT4L38KG291030   Kia          OPTIMA              TULSA                     OK
116385   5XXGT4L38KG291187   Kia          OPTIMA              INGLEWOOD                 CA
116386   5XXGT4L38KG291383   Kia          OPTIMA              MIAMI                     FL
116387   5XXGT4L38KG291576   Kia          OPTIMA              TAMPA                     FL
116388   5XXGT4L38KG291769   Kia          OPTIMA              EAST BOSTON               MA
116389   5XXGT4L38KG291867   Kia          OPTIMA              LOS ANGELES               CA
116390   5XXGT4L38KG291884   Kia          OPTIMA              PHOENIX                   AZ
116391   5XXGT4L38KG291920   Kia          OPTIMA              Slidell                   LA
116392   5XXGT4L38KG291948   Kia          OPTIMA              NEWARK                    NJ
116393   5XXGT4L38KG292047   Kia          OPTIMA              WARWICK                   RI
116394   5XXGT4L38KG292212   Kia          OPTIMA              ORLANDO                   FL
116395   5XXGT4L38KG292968   Kia          OPTIMA              FORT LAUDERDALE           FL
116396   5XXGT4L38KG293103   Kia          OPTIMA              Tampa                     FL
116397   5XXGT4L38KG293604   Kia          OPTIMA              TAMPA                     FL
116398   5XXGT4L38KG299824   Kia          OPTIMA              PHOENIX                   AZ
116399   5XXGT4L38KG321708   Kia          OPTIMA              Killeen                   TX
116400   5XXGT4L38KG323507   Kia          OPTIMA              Scottsdale                AZ
116401   5XXGT4L38KG323779   Kia          OPTIMA              Dallas                    TX
116402   5XXGT4L38KG324043   Kia          OPTIMA              SACRAMENTO                CA
116403   5XXGT4L38KG324057   Kia          OPTIMA              Burien                    WA
116404   5XXGT4L38KG325080   Kia          OPTIMA              Stockton                  CA
116405   5XXGT4L38KG325516   Kia          OPTIMA              DENVER                    CO
116406   5XXGT4L38KG325676   Kia          OPTIMA              PLEASANTON                CA
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116407   5XXGT4L38KG326150   Kia          OPTIMA              Roseville                 CA
116408   5XXGT4L38KG326245   Kia          OPTIMA              Portland                  OR
116409   5XXGT4L38KG327024   Kia          OPTIMA              Sacramento                CA
116410   5XXGT4L38KG329114   Kia          OPTIMA              Las Vegas                 NV
116411   5XXGT4L38KG331509   Kia          OPTIMA              PHOENIX                   AZ
116412   5XXGT4L38KG341750   Kia          OPTIMA              Newark                    NJ
116413   5XXGT4L38KG342171   Kia          OPTIMA              TAMPA                     FL
116414   5XXGT4L38KG346933   Kia          OPTIMA              Philadelphia              PA
116415   5XXGT4L38KG350481   Kia          OPTIMA              Marietta                  GA
116416   5XXGT4L38LG386527   Kia          OPTIMA              Denver                    CO
116417   5XXGT4L38LG386592   Kia          OPTIMA              Las Vegas                 NV
116418   5XXGT4L38LG387404   Kia          OPTIMA              LAS VEGAS                 NV
116419   5XXGT4L38LG387449   Kia          OPTIMA              LOS ANGELES               CA
116420   5XXGT4L38LG387452   Kia          OPTIMA              BURBANK                   CA
116421   5XXGT4L38LG388276   Kia          OPTIMA              ORANGE COUNTY             CA
116422   5XXGT4L38LG388309   Kia          OPTIMA              ONTARIO                   CA
116423   5XXGT4L38LG389511   Kia          OPTIMA              SAN DIEGO                 CA
116424   5XXGT4L38LG389606   Kia          OPTIMA              LOS ANGELES               CA
116425   5XXGT4L38LG389668   Kia          OPTIMA              BURBANK                   CA
116426   5XXGT4L38LG389685   Kia          OPTIMA              Tustin                    CA
116427   5XXGT4L38LG389718   Kia          OPTIMA              SAN DIEGO                 CA
116428   5XXGT4L38LG389749   Kia          OPTIMA              SEA TAC                   WA
116429   5XXGT4L38LG390027   Kia          OPTIMA              SAN DIEGO                 CA
116430   5XXGT4L38LG390030   Kia          OPTIMA              SAN DIEGO                 CA
116431   5XXGT4L38LG390108   Kia          OPTIMA              LOS ANGELES AP            CA
116432   5XXGT4L38LG390173   Kia          OPTIMA              SEATAC                    WA
116433   5XXGT4L38LG390223   Kia          OPTIMA              SAN DIEGO                 CA
116434   5XXGT4L38LG390285   Kia          OPTIMA              LOS ANGELES               CA
116435   5XXGT4L38LG390304   Kia          OPTIMA              ONTARIO                   CA
116436   5XXGT4L38LG390464   Kia          OPTIMA              Roseville                 CA
116437   5XXGT4L38LG390495   Kia          OPTIMA              LAS VEGAS                 NV
116438   5XXGT4L38LG390559   Kia          OPTIMA              ONTARIO                   CA
116439   5XXGT4L38LG390562   Kia          OPTIMA              SAN JOSE                  CA
116440   5XXGT4L38LG390593   Kia          OPTIMA              PALM SPRINGS              CA
116441   5XXGT4L38LG390609   Kia          OPTIMA              ORANGE COUNTY             CA
116442   5XXGT4L38LG390612   Kia          OPTIMA              SAN DIEGO                 CA
116443   5XXGT4L38LG390786   Kia          OPTIMA              Las Vegas                 NV
116444   5XXGT4L38LG390822   Kia          OPTIMA              FEDERAL WAY               WA
116445   5XXGT4L38LG390884   Kia          OPTIMA              LOS ANGELES               CA
116446   5XXGT4L38LG390917   Kia          OPTIMA              LAS VEGAS                 NV
116447   5XXGT4L38LG391064   Kia          OPTIMA              Beaverton                 OR
116448   5XXGT4L38LG391145   Kia          OPTIMA              Harvey                    LA
116449   5XXGT4L38LG391162   Kia          OPTIMA              Beaverton                 OR
116450   5XXGT4L38LG391209   Kia          OPTIMA              Portland                  OR
116451   5XXGT4L38LG391369   Kia          OPTIMA              LOS ANGELES               CA
116452   5XXGT4L38LG391386   Kia          OPTIMA              LOS ANGELES               CA
116453   5XXGT4L38LG391498   Kia          OPTIMA              SAN FRANCISCO             CA
116454   5XXGT4L38LG391503   Kia          OPTIMA              LOS ANGELES               CA
116455   5XXGT4L38LG391517   Kia          OPTIMA              ORANGE COUNTY             CA
116456   5XXGT4L38LG391520   Kia          OPTIMA              ONTARIO                   CA
116457   5XXGT4L38LG391534   Kia          OPTIMA              LOS ANGELES               CA
116458   5XXGT4L38LG391551   Kia          OPTIMA              ONTARIO                   CA
116459   5XXGT4L38LG391677   Kia          OPTIMA              Dallas                    TX
116460   5XXGT4L38LG391680   Kia          OPTIMA              SAN DIEGO                 CA
116461   5XXGT4L38LG391694   Kia          OPTIMA              LAS VEGAS                 NV
116462   5XXGT4L38LG391744   Kia          OPTIMA              Irving                    TX
116463   5XXGT4L38LG391825   Kia          OPTIMA              BULLHEAD CITY             AZ
116464   5XXGT4L38LG391940   Kia          OPTIMA              FRESNO                    CA
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116465   5XXGT4L38LG391985   Kia          OPTIMA              ORANGE COUNTY             CA
116466   5XXGT4L38LG391999   Kia          OPTIMA              LAS VEGAS                 NV
116467   5XXGT4L38LG392165   Kia          OPTIMA              Fresno                    CA
116468   5XXGT4L38LG392442   Kia          OPTIMA              Sacramento                CA
116469   5XXGT4L38LG393445   Kia          OPTIMA              Roseville                 CA
116470   5XXGT4L38LG393865   Kia          OPTIMA              COLUMBIA                  SC
116471   5XXGT4L38LG394031   Kia          OPTIMA              SAN JOSE                  CA
116472   5XXGT4L38LG394501   Kia          OPTIMA              SAN DIEGO                 CA
116473   5XXGT4L38LG394529   Kia          OPTIMA              Phoenix                   AZ
116474   5XXGT4L38LG406341   Kia          OPTIMA              ORLANDO                   FL
116475   5XXGT4L38LG406484   Kia          OPTIMA              Denver                    CO
116476   5XXGT4L38LG406873   Kia          OPTIMA              SARASOTA                  FL
116477   5XXGT4L38LG407022   Kia          OPTIMA              Irving                    TX
116478   5XXGT4L38LG407487   Kia          OPTIMA              Irving                    TX
116479   5XXGT4L38LG411099   Kia          OPTIMA              Schaumburg                IL
116480   5XXGT4L38LG412687   Kia          OPTIMA              ATLANTA                   GA
116481   5XXGT4L38LG423981   Kia          OPTIMA              Euless                    TX
116482   5XXGT4L38LG424547   Kia          OPTIMA              Lake in the Hil           IL
116483   5XXGT4L38LG424810   Kia          OPTIMA              Hendersonville            TN
116484   5XXGT4L38LG424970   Kia          OPTIMA              Kansas City               MO
116485   5XXGT4L38LG425200   Kia          OPTIMA              Miami                     FL
116486   5XXGT4L38LG425309   Kia          OPTIMA              Tampa                     FL
116487   5XXGT4L38LG425777   Kia          OPTIMA              Hendersonville            TN
116488   5XXGT4L38LG430235   Kia          OPTIMA              Nashville                 TN
116489   5XXGT4L39GG035633   Kia          OPTIMA              .                         GA
116490   5XXGT4L39GG074268   Kia          OPTIMA              Estero                    FL
116491   5XXGT4L39GG102313   Kia          OPTIMA              Miami                     FL
116492   5XXGT4L39HG147589   Kia          OPTIMA              Fort Lauderdale           FL
116493   5XXGT4L39HG161296   Kia          OPTIMA              CHICAGO                   IL
116494   5XXGT4L39HG166370   Kia          OPTIMA              SANTA ANA                 CA
116495   5XXGT4L39HG167440   Kia          OPTIMA              glendale                  ca
116496   5XXGT4L39HG169768   Kia          OPTIMA              Santa Clara               CA
116497   5XXGT4L39HG171746   Kia          OPTIMA              WEST PALM BEACH           FL
116498   5XXGT4L39HG173352   Kia          OPTIMA              ORLANDO                   FL
116499   5XXGT4L39HG174016   Kia          OPTIMA              North Las Vegas           NV
116500   5XXGT4L39JG180968   Kia          OPTIMA              Atlanta                   GA
116501   5XXGT4L39JG183000   Kia          OPTIMA              Davie                     FL
116502   5XXGT4L39JG184437   Kia          OPTIMA              Miami                     FL
116503   5XXGT4L39JG184664   Kia          OPTIMA              ONTARIO                   CA
116504   5XXGT4L39JG187077   Kia          OPTIMA              MIAMI                     FL
116505   5XXGT4L39JG197284   Kia          OPTIMA              Mira Loma                 CA
116506   5XXGT4L39JG198032   Kia          OPTIMA              PORTLAND                  OR
116507   5XXGT4L39JG198449   Kia          OPTIMA              Kent                      WA
116508   5XXGT4L39JG198662   Kia          OPTIMA              BURBANK                   CA
116509   5XXGT4L39JG209305   Kia          OPTIMA              SAN DIEGO                 CA
116510   5XXGT4L39JG211751   Kia          OPTIMA              Atlanta                   GA
116511   5XXGT4L39JG212916   Kia          OPTIMA              SAN ANTONIO               TX
116512   5XXGT4L39JG214004   Kia          OPTIMA              San Antonio               TX
116513   5XXGT4L39JG215623   Kia          OPTIMA              Miami                     FL
116514   5XXGT4L39JG216903   Kia          OPTIMA              CHICAGO                   IL
116515   5XXGT4L39JG222152   Kia          OPTIMA              PHILADELPHIA              PA
116516   5XXGT4L39JG223754   Kia          OPTIMA              CHICAGO                   IL
116517   5XXGT4L39JG229280   Kia          OPTIMA              CHANDLER                  AZ
116518   5XXGT4L39JG229652   Kia          OPTIMA              SAN JOSE                  CA
116519   5XXGT4L39JG232311   Kia          OPTIMA              Winter Park               FL
116520   5XXGT4L39JG234706   Kia          OPTIMA              Slidell                   LA
116521   5XXGT4L39JG235340   Kia          OPTIMA              SAINT LOUIS               MO
116522   5XXGT4L39JG235452   Kia          OPTIMA              COCOA                     FL
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116523   5XXGT4L39JG236813   Kia          OPTIMA              San Diego                 CA
116524   5XXGT4L39JG246726   Kia          OPTIMA              Davie                     FL
116525   5XXGT4L39JG249495   Kia          OPTIMA              TAMPA                     US
116526   5XXGT4L39JG250596   Kia          OPTIMA              Houston                   TX
116527   5XXGT4L39JG254891   Kia          OPTIMA              Tolleson                  AZ
116528   5XXGT4L39KG275483   Kia          OPTIMA              Portland                  OR
116529   5XXGT4L39KG275550   Kia          OPTIMA              BURBANK                   CA
116530   5XXGT4L39KG275595   Kia          OPTIMA              CHICAGO                   IL
116531   5XXGT4L39KG275760   Kia          OPTIMA              Winter Park               FL
116532   5XXGT4L39KG275788   Kia          OPTIMA              BURBANK                   CA
116533   5XXGT4L39KG275838   Kia          OPTIMA              South San Franc           CA
116534   5XXGT4L39KG275841   Kia          OPTIMA              Rio Linda                 CA
116535   5XXGT4L39KG275967   Kia          OPTIMA              PHOENIX                   AZ
116536   5XXGT4L39KG275998   Kia          OPTIMA              South San Franc           CA
116537   5XXGT4L39KG276097   Kia          OPTIMA              PHOENIX                   AZ
116538   5XXGT4L39KG276178   Kia          OPTIMA              BURBANK                   CA
116539   5XXGT4L39KG276200   Kia          OPTIMA              CHICAGO                   IL
116540   5XXGT4L39KG276245   Kia          OPTIMA              BURBANK                   CA
116541   5XXGT4L39KG276312   Kia          OPTIMA              North Las Vegas           NV
116542   5XXGT4L39KG276374   Kia          OPTIMA              CHICAGO                   IL
116543   5XXGT4L39KG276391   Kia          OPTIMA              PHOENIX                   AZ
116544   5XXGT4L39KG276567   Kia          OPTIMA              SAN FRANCISCO             CA
116545   5XXGT4L39KG276620   Kia          OPTIMA              LAS VEGAS                 NV
116546   5XXGT4L39KG276715   Kia          OPTIMA              SAN FRANCISCO             CA
116547   5XXGT4L39KG276830   Kia          OPTIMA              ONTARIO                   CA
116548   5XXGT4L39KG276844   Kia          OPTIMA              Lake Elsinore             CA
116549   5XXGT4L39KG276908   Kia          OPTIMA              HOUSTON                   TX
116550   5XXGT4L39KG276911   Kia          OPTIMA              FRESNO                    CA
116551   5XXGT4L39KG276925   Kia          OPTIMA              Lake Elsinore             CA
116552   5XXGT4L39KG276942   Kia          OPTIMA              TAMPA                     FL
116553   5XXGT4L39KG276987   Kia          OPTIMA              PHOENIX                   AZ
116554   5XXGT4L39KG277010   Kia          OPTIMA              PORTLAND                  OR
116555   5XXGT4L39KG277105   Kia          OPTIMA              SAN LEANDRO               CA
116556   5XXGT4L39KG277153   Kia          OPTIMA              MEBANE                    NC
116557   5XXGT4L39KG277234   Kia          OPTIMA              SAN DIEGO                 CA
116558   5XXGT4L39KG277329   Kia          OPTIMA              Seattle                   WA
116559   5XXGT4L39KG277332   Kia          OPTIMA              BURBANK                   CA
116560   5XXGT4L39KG277346   Kia          OPTIMA              Portland                  OR
116561   5XXGT4L39KG277461   Kia          OPTIMA              PHOENIX                   AZ
116562   5XXGT4L39KG277699   Kia          OPTIMA              WEST COLUMBIA             SC
116563   5XXGT4L39KG277783   Kia          OPTIMA              MILWAUKEE                 WI
116564   5XXGT4L39KG277816   Kia          OPTIMA              COLORADO SPRING           CO
116565   5XXGT4L39KG277864   Kia          OPTIMA              DENVER                    CO
116566   5XXGT4L39KG277878   Kia          OPTIMA              TUCSON                    AZ
116567   5XXGT4L39KG277881   Kia          OPTIMA              RENO                      NV
116568   5XXGT4L39KG277914   Kia          OPTIMA              LOS ANGELES               CA
116569   5XXGT4L39KG277928   Kia          OPTIMA              Norwalk                   CA
116570   5XXGT4L39KG278058   Kia          OPTIMA              CHICAGO                   IL
116571   5XXGT4L39KG278206   Kia          OPTIMA              SEATAC                    WA
116572   5XXGT4L39KG278268   Kia          OPTIMA              ALBUQUERQUE               NM
116573   5XXGT4L39KG278271   Kia          OPTIMA              SEATAC                    WA
116574   5XXGT4L39KG278335   Kia          OPTIMA              RALIEGH                   NC
116575   5XXGT4L39KG278934   Kia          OPTIMA              MILWAUKEE                 WI
116576   5XXGT4L39KG278948   Kia          OPTIMA              FORT MYERS                FL
116577   5XXGT4L39KG278951   Kia          OPTIMA              Norfolk                   VA
116578   5XXGT4L39KG279128   Kia          OPTIMA              FORT MYERS                FL
116579   5XXGT4L39KG279291   Kia          OPTIMA              Smithtown                 NY
116580   5XXGT4L39KG279307   Kia          OPTIMA              KNOXVILLE                 TN
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116581   5XXGT4L39KG279341   Kia          OPTIMA              ROY                       UT
116582   5XXGT4L39KG279646   Kia          OPTIMA              BOSTON                    MA
116583   5XXGT4L39KG280229   Kia          OPTIMA              MILWAUKEE                 WI
116584   5XXGT4L39KG281137   Kia          OPTIMA              LOS ANGELES               CA
116585   5XXGT4L39KG281199   Kia          OPTIMA              PHOENIX                   AZ
116586   5XXGT4L39KG281753   Kia          OPTIMA              Florissant                MO
116587   5XXGT4L39KG281865   Kia          OPTIMA              SALT LAKE CITY            US
116588   5XXGT4L39KG281929   Kia          OPTIMA              Slidell                   LA
116589   5XXGT4L39KG282028   Kia          OPTIMA              ALBANY                    NY
116590   5XXGT4L39KG282059   Kia          OPTIMA              TUPELO                    MS
116591   5XXGT4L39KG282109   Kia          OPTIMA              WEST PALM BEACH           FL
116592   5XXGT4L39KG282191   Kia          OPTIMA              SPOKANE                   WA
116593   5XXGT4L39KG282577   Kia          OPTIMA              Louisville                KY
116594   5XXGT4L39KG282630   Kia          OPTIMA              ALLENTOWN                 US
116595   5XXGT4L39KG283521   Kia          OPTIMA              LOS ANGELES               CA
116596   5XXGT4L39KG283745   Kia          OPTIMA              Riverside                 CA
116597   5XXGT4L39KG283793   Kia          OPTIMA              SAN JOSE                  CA
116598   5XXGT4L39KG283826   Kia          OPTIMA              ORANGE COUNTY             CA
116599   5XXGT4L39KG283843   Kia          OPTIMA              PALM SPRINGS              CA
116600   5XXGT4L39KG283938   Kia          OPTIMA              LAS VEGAS                 NV
116601   5XXGT4L39KG283986   Kia          OPTIMA              PHOENIX                   AZ
116602   5XXGT4L39KG284118   Kia          OPTIMA              PHOENIX                   AZ
116603   5XXGT4L39KG284345   Kia          OPTIMA              SANTA ANA                 CA
116604   5XXGT4L39KG284586   Kia          OPTIMA              KANSAS CITY               MO
116605   5XXGT4L39KG284684   Kia          OPTIMA              ONTARIO                   CA
116606   5XXGT4L39KG284734   Kia          OPTIMA              GRAND RAPIDS              MI
116607   5XXGT4L39KG284829   Kia          OPTIMA              SAN DIEGO                 CA
116608   5XXGT4L39KG284877   Kia          OPTIMA              PHOENIX                   AZ
116609   5XXGT4L39KG284992   Kia          OPTIMA              FRESNO                    CA
116610   5XXGT4L39KG285012   Kia          OPTIMA              BURBANK                   CA
116611   5XXGT4L39KG285110   Kia          OPTIMA              WHITE PLAINS              NY
116612   5XXGT4L39KG285317   Kia          OPTIMA              Caledonia                 WI
116613   5XXGT4L39KG285463   Kia          OPTIMA              ONTARIO                   CA
116614   5XXGT4L39KG285799   Kia          OPTIMA              SOUTH SAN FRANC           CA
116615   5XXGT4L39KG285883   Kia          OPTIMA              SAINT PAUL                MN
116616   5XXGT4L39KG286337   Kia          OPTIMA              PHOENIX                   AZ
116617   5XXGT4L39KG286743   Kia          OPTIMA              SEATAC                    WA
116618   5XXGT4L39KG286760   Kia          OPTIMA              ALBUQUERQUE               NM
116619   5XXGT4L39KG288119   Kia          OPTIMA              Sacramento                CA
116620   5XXGT4L39KG288296   Kia          OPTIMA              BURBANK                   CA
116621   5XXGT4L39KG288377   Kia          OPTIMA              SACRAMENTO                CA
116622   5XXGT4L39KG288637   Kia          OPTIMA              LOS ANGELES               CA
116623   5XXGT4L39KG288640   Kia          OPTIMA              ALBUQUERQUE               NM
116624   5XXGT4L39KG288704   Kia          OPTIMA              PHOENIX                   AZ
116625   5XXGT4L39KG288797   Kia          OPTIMA              FRESNO                    CA
116626   5XXGT4L39KG288881   Kia          OPTIMA              Houston                   TX
116627   5XXGT4L39KG289304   Kia          OPTIMA              Slidell                   LA
116628   5XXGT4L39KG289321   Kia          OPTIMA              SANTA ANA                 CA
116629   5XXGT4L39KG289464   Kia          OPTIMA              WEST COLUMBIA             SC
116630   5XXGT4L39KG289481   Kia          OPTIMA              PALM SPRINGS              CA
116631   5XXGT4L39KG289738   Kia          OPTIMA              ALBUQUERQUE               NM
116632   5XXGT4L39KG289822   Kia          OPTIMA              MEDINA                    OH
116633   5XXGT4L39KG290064   Kia          OPTIMA              Pheonix                   AZ
116634   5XXGT4L39KG290095   Kia          OPTIMA              ORLANDO                   FL
116635   5XXGT4L39KG290100   Kia          OPTIMA              MCALLEN                   TX
116636   5XXGT4L39KG290212   Kia          OPTIMA              AUSTIN                    TX
116637   5XXGT4L39KG290324   Kia          OPTIMA              FORT LAUDERDALE           FL
116638   5XXGT4L39KG290579   Kia          OPTIMA              PLEASANTON                CA
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116639   5XXGT4L39KG290761   Kia          OPTIMA              NORTH PAC                 CA
116640   5XXGT4L39KG290792   Kia          OPTIMA              SACRAMENTO                CA
116641   5XXGT4L39KG291067   Kia          OPTIMA              BURLINGAME                CA
116642   5XXGT4L39KG291134   Kia          OPTIMA              ATLANTA                   GA
116643   5XXGT4L39KG291392   Kia          OPTIMA              DALLAS                    TX
116644   5XXGT4L39KG291456   Kia          OPTIMA              ORLANDO                   FL
116645   5XXGT4L39KG291585   Kia          OPTIMA              CHARLOTTE                 NC
116646   5XXGT4L39KG291649   Kia          OPTIMA              TUCSON                    AZ
116647   5XXGT4L39KG291652   Kia          OPTIMA              OKLAHOMA CITY             OK
116648   5XXGT4L39KG291814   Kia          OPTIMA              Smithtown                 NY
116649   5XXGT4L39KG291957   Kia          OPTIMA              NASHVILLE                 TN
116650   5XXGT4L39KG292705   Kia          OPTIMA              TAMPA                     FL
116651   5XXGT4L39KG292753   Kia          OPTIMA              MCALLEN                   TX
116652   5XXGT4L39KG293093   Kia          OPTIMA              TAMPA                     US
116653   5XXGT4L39KG298178   Kia          OPTIMA              TAMPA                     FL
116654   5XXGT4L39KG298830   Kia          OPTIMA              FAYETTEVILLE              GA
116655   5XXGT4L39KG321541   Kia          OPTIMA              SAN FRANCISCO             CA
116656   5XXGT4L39KG321622   Kia          OPTIMA              DALLAS                    TX
116657   5XXGT4L39KG321992   Kia          OPTIMA              Hayward                   CA
116658   5XXGT4L39KG322799   Kia          OPTIMA              WEST COLUMBIA             SC
116659   5XXGT4L39KG323323   Kia          OPTIMA              St. Louis                 MO
116660   5XXGT4L39KG323676   Kia          OPTIMA              SALT LAKE CITY            US
116661   5XXGT4L39KG323967   Kia          OPTIMA              SAINT PAUL                MN
116662   5XXGT4L39KG324777   Kia          OPTIMA              Nashville                 TN
116663   5XXGT4L39KG324780   Kia          OPTIMA              St. Louis                 MO
116664   5XXGT4L39KG328635   Kia          OPTIMA              Roseville                 CA
116665   5XXGT4L39KG330756   Kia          OPTIMA              Atlanta                   GA
116666   5XXGT4L39KG331485   Kia          OPTIMA              ORLANDO                   FL
116667   5XXGT4L39KG332815   Kia          OPTIMA              Englewood                 CO
116668   5XXGT4L39KG334242   Kia          OPTIMA              GOLDSBORO                 NC
116669   5XXGT4L39KG335469   Kia          OPTIMA              NASHVILLE                 TN
116670   5XXGT4L39KG335763   Kia          OPTIMA              PHOENIX                   AZ
116671   5XXGT4L39KG340235   Kia          OPTIMA              JACKSONVILLE              FL
116672   5XXGT4L39LG386553   Kia          OPTIMA              LOS ANGELES               CA
116673   5XXGT4L39LG386603   Kia          OPTIMA              LOS ANGELES               CA
116674   5XXGT4L39LG386732   Kia          OPTIMA              Los Angeles               CA
116675   5XXGT4L39LG387296   Kia          OPTIMA              LOS ANGELES               CA
116676   5XXGT4L39LG387394   Kia          OPTIMA              LOS ANGELES               CA
116677   5XXGT4L39LG387489   Kia          OPTIMA              LOS ANGELES               CA
116678   5XXGT4L39LG387508   Kia          OPTIMA              SAN DIEGO                 CA
116679   5XXGT4L39LG388903   Kia          OPTIMA              Portland                  OR
116680   5XXGT4L39LG389484   Kia          OPTIMA              LAS VEGAS                 NV
116681   5XXGT4L39LG389503   Kia          OPTIMA              LOS ANGELES               CA
116682   5XXGT4L39LG389534   Kia          OPTIMA              SARASOTA                  FL
116683   5XXGT4L39LG389565   Kia          OPTIMA              SAN JOSE                  CA
116684   5XXGT4L39LG389615   Kia          OPTIMA              LOS ANGELES               CA
116685   5XXGT4L39LG389629   Kia          OPTIMA              BURBANK                   CA
116686   5XXGT4L39LG389646   Kia          OPTIMA              LOS ANGELES               CA
116687   5XXGT4L39LG389694   Kia          OPTIMA              FORT MYERS                FL
116688   5XXGT4L39LG389713   Kia          OPTIMA              SEATAC                    WA
116689   5XXGT4L39LG389744   Kia          OPTIMA              SANTA ANA                 CA
116690   5XXGT4L39LG389758   Kia          OPTIMA              LOS ANGELES AP            CA
116691   5XXGT4L39LG389775   Kia          OPTIMA              LAS VEGAS                 NV
116692   5XXGT4L39LG390067   Kia          OPTIMA              LOS ANGELES               CA
116693   5XXGT4L39LG390134   Kia          OPTIMA              BURBANK                   CA
116694   5XXGT4L39LG390165   Kia          OPTIMA              BURBANK                   CA
116695   5XXGT4L39LG390182   Kia          OPTIMA              SANTA ANA                 CA
116696   5XXGT4L39LG390196   Kia          OPTIMA              SAN DIEGO                 CA
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116697   5XXGT4L39LG390201   Kia          OPTIMA              SANTA BARBARA             CA
116698   5XXGT4L39LG390408   Kia          OPTIMA              LAS VEGAS                 NV
116699   5XXGT4L39LG390487   Kia          OPTIMA              LAS VEGAS                 NV
116700   5XXGT4L39LG390490   Kia          OPTIMA              LOS ANGELES               CA
116701   5XXGT4L39LG390554   Kia          OPTIMA              LAS VEGAS                 NV
116702   5XXGT4L39LG390568   Kia          OPTIMA              SAN FRANCISCO             CA
116703   5XXGT4L39LG390599   Kia          OPTIMA              LOS ANGELES               CA
116704   5XXGT4L39LG390621   Kia          OPTIMA              SANTA ANA                 CA
116705   5XXGT4L39LG390649   Kia          OPTIMA              LOS ANGELES               CA
116706   5XXGT4L39LG390697   Kia          OPTIMA              Burien                    WA
116707   5XXGT4L39LG391137   Kia          OPTIMA              Irving                    TX
116708   5XXGT4L39LG391221   Kia          OPTIMA              MORROW                    GA
116709   5XXGT4L39LG391316   Kia          OPTIMA              ST Paul                   MN
116710   5XXGT4L39LG391333   Kia          OPTIMA              PORTLAND                  OR
116711   5XXGT4L39LG391347   Kia          OPTIMA              LAS VEGAS                 NV
116712   5XXGT4L39LG391350   Kia          OPTIMA              Dallas                    TX
116713   5XXGT4L39LG391414   Kia          OPTIMA              SAN DIEGO                 CA
116714   5XXGT4L39LG391445   Kia          OPTIMA              Elkridge                  MD
116715   5XXGT4L39LG391459   Kia          OPTIMA              LOS ANGELES               CA
116716   5XXGT4L39LG391493   Kia          OPTIMA              LOS ANGELES               CA
116717   5XXGT4L39LG391509   Kia          OPTIMA              LOS ANGELES               CA
116718   5XXGT4L39LG391512   Kia          OPTIMA              SACRAMENTO                CA
116719   5XXGT4L39LG391557   Kia          OPTIMA              FORT MYERS                FL
116720   5XXGT4L39LG391574   Kia          OPTIMA              SHREVEPORT                LA
116721   5XXGT4L39LG391736   Kia          OPTIMA              BALTIMORE                 MD
116722   5XXGT4L39LG391784   Kia          OPTIMA              LOS ANGELES               CA
116723   5XXGT4L39LG391848   Kia          OPTIMA              SAN FRANCISCO             CA
116724   5XXGT4L39LG391851   Kia          OPTIMA              CLOVIS                    CA
116725   5XXGT4L39LG391865   Kia          OPTIMA              San Diego                 CA
116726   5XXGT4L39LG391929   Kia          OPTIMA              ORANGE COUNTY             CA
116727   5XXGT4L39LG391980   Kia          OPTIMA              ORANGE COUNTY             CA
116728   5XXGT4L39LG392000   Kia          OPTIMA              LAS VEGAS                 NV
116729   5XXGT4L39LG392238   Kia          OPTIMA              Roseville                 CA
116730   5XXGT4L39LG392613   Kia          OPTIMA              LIHUE                     HI
116731   5XXGT4L39LG393051   Kia          OPTIMA              HAYWARD                   CA
116732   5XXGT4L39LG393955   Kia          OPTIMA              Dallas                    TX
116733   5XXGT4L39LG394037   Kia          OPTIMA              Atlanta                   GA
116734   5XXGT4L39LG394099   Kia          OPTIMA              Hamilton                  OH
116735   5XXGT4L39LG394250   Kia          OPTIMA              Philadelphia              PA
116736   5XXGT4L39LG394474   Kia          OPTIMA              Louisville                KY
116737   5XXGT4L39LG395592   Kia          OPTIMA              Roseville                 CA
116738   5XXGT4L39LG398802   Kia          OPTIMA              SAN DIEGO                 CA
116739   5XXGT4L39LG399173   Kia          OPTIMA              CLOVIS                    CA
116740   5XXGT4L39LG406915   Kia          OPTIMA              Memphis                   TN
116741   5XXGT4L39LG407028   Kia          OPTIMA              Austin                    TX
116742   5XXGT4L39LG407224   Kia          OPTIMA              Irving                    TX
116743   5XXGT4L39LG407448   Kia          OPTIMA              NASHVILLE                 TN
116744   5XXGT4L39LG407692   Kia          OPTIMA              San Antonio               TX
116745   5XXGT4L39LG407739   Kia          OPTIMA              Tulsa                     OK
116746   5XXGT4L39LG412309   Kia          OPTIMA              ATLANTA                   GA
116747   5XXGT4L39LG413007   Kia          OPTIMA              Marietta                  GA
116748   5XXGT4L39LG424203   Kia          OPTIMA              Roseville                 CA
116749   5XXGT4L39LG424265   Kia          OPTIMA              Pompano Beach             FL
116750   5XXGT4L39LG425108   Kia          OPTIMA              Tampa                     FL
116751   5XXGT4L39LG425299   Kia          OPTIMA              Clearwater                FL
116752   5XXGT4L39LG425626   Kia          OPTIMA              Chicago                   IL
116753   5XXGT4L39LG428817   Kia          OPTIMA              Louisville                KY
116754   5XXGT4L39LG429031   Kia          OPTIMA              Clearwater                FL
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116755   5XXGT4L3XGG009784   Kia          OPTIMA              Chandler                  AZ
116756   5XXGT4L3XHG128680   Kia          OPTIMA              LOS ANGELES               CA
116757   5XXGT4L3XHG129831   Kia          OPTIMA              DANIA                     FL
116758   5XXGT4L3XHG161386   Kia          OPTIMA              SPRINGFIELD               VA
116759   5XXGT4L3XHG165681   Kia          OPTIMA              LOS ANGELES               CA
116760   5XXGT4L3XHG170623   Kia          OPTIMA              BURBANK                   CA
116761   5XXGT4L3XHG170783   Kia          OPTIMA              LOS ANGELES               CA
116762   5XXGT4L3XHG171609   Kia          OPTIMA              LOS ANGELES               CA
116763   5XXGT4L3XHG172582   Kia          OPTIMA              BURBANK                   CA
116764   5XXGT4L3XJG194734   Kia          OPTIMA              PICO RIVERA               CA
116765   5XXGT4L3XJG196869   Kia          OPTIMA              BURBANK                   CA
116766   5XXGT4L3XJG197147   Kia          OPTIMA              BURBANK                   CA
116767   5XXGT4L3XJG197701   Kia          OPTIMA              North Dighton             MA
116768   5XXGT4L3XJG198038   Kia          OPTIMA              SANTA ANA                 CA
116769   5XXGT4L3XJG198654   Kia          OPTIMA              BURBANK                   CA
116770   5XXGT4L3XJG198928   Kia          OPTIMA              BURBANK                   CA
116771   5XXGT4L3XJG199416   Kia          OPTIMA              SEATAC                    WA
116772   5XXGT4L3XJG201231   Kia          OPTIMA              CHICAGO                   IL
116773   5XXGT4L3XJG209703   Kia          OPTIMA              DAYTONA BEACH             FL
116774   5XXGT4L3XJG212780   Kia          OPTIMA              HANOVER                   MD
116775   5XXGT4L3XJG212973   Kia          OPTIMA              Atlanta                   GA
116776   5XXGT4L3XJG213363   Kia          OPTIMA              BOSTON                    MA
116777   5XXGT4L3XJG213492   Kia          OPTIMA              SANFORD                   FL
116778   5XXGT4L3XJG213816   Kia          OPTIMA              DALLAS                    TX
116779   5XXGT4L3XJG215050   Kia          OPTIMA              BURBANK                   CA
116780   5XXGT4L3XJG215310   Kia          OPTIMA              SANTA ANA                 CA
116781   5XXGT4L3XJG219051   Kia          OPTIMA              IRVING                    TX
116782   5XXGT4L3XJG221415   Kia          OPTIMA              CHICAGO                   IL
116783   5XXGT4L3XJG233600   Kia          OPTIMA              Lake in the Hil           IL
116784   5XXGT4L3XJG235198   Kia          OPTIMA              Detroit                   MI
116785   5XXGT4L3XJG236612   Kia          OPTIMA              LOS ANGELES               CA
116786   5XXGT4L3XJG247447   Kia          OPTIMA              Scottsdale                AZ
116787   5XXGT4L3XJG247867   Kia          OPTIMA              WEST PALM BEACH           FL
116788   5XXGT4L3XJG248632   Kia          OPTIMA              Matteson                  IL
116789   5XXGT4L3XJG249487   Kia          OPTIMA              CHARLOTTE                 NC
116790   5XXGT4L3XJG250588   Kia          OPTIMA              DENVER                    CO
116791   5XXGT4L3XKG275279   Kia          OPTIMA              CENTRAL DIST OFFC         OK
116792   5XXGT4L3XKG275296   Kia          OPTIMA              LAS VEGAS                 NV
116793   5XXGT4L3XKG275346   Kia          OPTIMA              SAINT PAUL                MN
116794   5XXGT4L3XKG275461   Kia          OPTIMA              SAN DIEGO                 CA
116795   5XXGT4L3XKG275573   Kia          OPTIMA              BURBANK                   CA
116796   5XXGT4L3XKG275623   Kia          OPTIMA              Matteson                  IL
116797   5XXGT4L3XKG275749   Kia          OPTIMA              BURBANK                   CA
116798   5XXGT4L3XKG275783   Kia          OPTIMA              SANTA ANA                 CA
116799   5XXGT4L3XKG275797   Kia          OPTIMA              BURBANK                   CA
116800   5XXGT4L3XKG275802   Kia          OPTIMA              LOS ANGELES               CA
116801   5XXGT4L3XKG275833   Kia          OPTIMA              SAN JOSE                  CA
116802   5XXGT4L3XKG275847   Kia          OPTIMA              BURBANK                   CA
116803   5XXGT4L3XKG275850   Kia          OPTIMA              BURBANK                   CA
116804   5XXGT4L3XKG275945   Kia          OPTIMA              Mt. Juliet                TN
116805   5XXGT4L3XKG275976   Kia          OPTIMA              NORTH PAC                 CA
116806   5XXGT4L3XKG275993   Kia          OPTIMA              KNOXVILLE                 TN
116807   5XXGT4L3XKG276027   Kia          OPTIMA              BURBANK                   CA
116808   5XXGT4L3XKG276075   Kia          OPTIMA              JACKSONVILLE              FL
116809   5XXGT4L3XKG276092   Kia          OPTIMA              NORTH PAC                 CA
116810   5XXGT4L3XKG276254   Kia          OPTIMA              LOS ANGELES               CA
116811   5XXGT4L3XKG276349   Kia          OPTIMA              PITTSBURGH                PA
116812   5XXGT4L3XKG276397   Kia          OPTIMA              SAN JOSE                  CA
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116813   5XXGT4L3XKG276514   Kia          OPTIMA              NORTH PAC                 CA
116814   5XXGT4L3XKG276920   Kia          OPTIMA              BURBANK                   CA
116815   5XXGT4L3XKG276982   Kia          OPTIMA              ORANGE COUNTY             CA
116816   5XXGT4L3XKG276996   Kia          OPTIMA              PHOENIX                   AZ
116817   5XXGT4L3XKG277002   Kia          OPTIMA              SEATAC                    WA
116818   5XXGT4L3XKG277064   Kia          OPTIMA              SAN JOSE                  CA
116819   5XXGT4L3XKG277145   Kia          OPTIMA              Colorado Spring           CO
116820   5XXGT4L3XKG277159   Kia          OPTIMA              Estero                    FL
116821   5XXGT4L3XKG277212   Kia          OPTIMA              CHICAGO                   IL
116822   5XXGT4L3XKG277355   Kia          OPTIMA              ORLANDO                   FL
116823   5XXGT4L3XKG277386   Kia          OPTIMA              SEATAC                    WA
116824   5XXGT4L3XKG277520   Kia          OPTIMA              Roseville                 CA
116825   5XXGT4L3XKG277775   Kia          OPTIMA              PITTSBURGH                PA
116826   5XXGT4L3XKG277808   Kia          OPTIMA              SOUTHEAST DST OFFC        OK
116827   5XXGT4L3XKG277906   Kia          OPTIMA              LOS ANGELES               CA
116828   5XXGT4L3XKG278182   Kia          OPTIMA              Newark                    NJ
116829   5XXGT4L3XKG278201   Kia          OPTIMA              MIAMI                     FL
116830   5XXGT4L3XKG278215   Kia          OPTIMA              Phoenix                   AZ
116831   5XXGT4L3XKG278327   Kia          OPTIMA              PHILADELPHIA              PA
116832   5XXGT4L3XKG278330   Kia          OPTIMA              CHICAGO                   IL
116833   5XXGT4L3XKG278585   Kia          OPTIMA              TUCSON                    AZ
116834   5XXGT4L3XKG278893   Kia          OPTIMA              Berwyn                    IL
116835   5XXGT4L3XKG278909   Kia          OPTIMA              Matteson                  IL
116836   5XXGT4L3XKG279025   Kia          OPTIMA              KENNER                    LA
116837   5XXGT4L3XKG279123   Kia          OPTIMA              BURBANK                   CA
116838   5XXGT4L3XKG279199   Kia          OPTIMA              PORTLAND                  OR
116839   5XXGT4L3XKG279218   Kia          OPTIMA              FRESNO                    CA
116840   5XXGT4L3XKG279641   Kia          OPTIMA              WARWICK                   RI
116841   5XXGT4L3XKG279834   Kia          OPTIMA              Hendersonville            TN
116842   5XXGT4L3XKG280353   Kia          OPTIMA              ONTARIO                   CA
116843   5XXGT4L3XKG281132   Kia          OPTIMA              Atlanta                   GA
116844   5XXGT4L3XKG281146   Kia          OPTIMA              Orlando                   FL
116845   5XXGT4L3XKG281180   Kia          OPTIMA              Atlanta                   GA
116846   5XXGT4L3XKG281700   Kia          OPTIMA              MIAMI                     FL
116847   5XXGT4L3XKG282054   Kia          OPTIMA              WHITE PLAINS              NY
116848   5XXGT4L3XKG282071   Kia          OPTIMA              Philadelphia              PA
116849   5XXGT4L3XKG282104   Kia          OPTIMA              Coraopolis                PA
116850   5XXGT4L3XKG282409   Kia          OPTIMA              MIAMI                     FL
116851   5XXGT4L3XKG282572   Kia          OPTIMA              Detroit                   MI
116852   5XXGT4L3XKG283365   Kia          OPTIMA              PHOENIX                   AZ
116853   5XXGT4L3XKG283379   Kia          OPTIMA              PALM SPRINGS              CA
116854   5XXGT4L3XKG283558   Kia          OPTIMA              SAN ANTONIO               TX
116855   5XXGT4L3XKG283561   Kia          OPTIMA              PHILADELPHIA              PA
116856   5XXGT4L3XKG283575   Kia          OPTIMA              FORT LAUDERDALE           FL
116857   5XXGT4L3XKG283639   Kia          OPTIMA              SAN JOSE                  CA
116858   5XXGT4L3XKG283723   Kia          OPTIMA              SARASOTA                  FL
116859   5XXGT4L3XKG283818   Kia          OPTIMA              MONTEREY                  CA
116860   5XXGT4L3XKG284046   Kia          OPTIMA              FORT MYERS                FL
116861   5XXGT4L3XKG284158   Kia          OPTIMA              Fontana                   CA
116862   5XXGT4L3XKG284354   Kia          OPTIMA              MIDLAND                   TX
116863   5XXGT4L3XKG284502   Kia          OPTIMA              ORLANDO                   FL
116864   5XXGT4L3XKG284581   Kia          OPTIMA              SEATAC                    WA
116865   5XXGT4L3XKG284595   Kia          OPTIMA              RALEIGH                   NC
116866   5XXGT4L3XKG284631   Kia          OPTIMA              BIRMINGHAM                AL
116867   5XXGT4L3XKG284693   Kia          OPTIMA              PHOENIX                   AZ
116868   5XXGT4L3XKG284919   Kia          OPTIMA              PHOENIX                   AZ
116869   5XXGT4L3XKG285181   Kia          OPTIMA              LAS VEGAS                 NV
116870   5XXGT4L3XKG285293   Kia          OPTIMA              Phoenix                   AZ
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116871   5XXGT4L3XKG285309   Kia          OPTIMA              SACRAMENTO                CA
116872   5XXGT4L3XKG285455   Kia          OPTIMA              Salt Lake City            UT
116873   5XXGT4L3XKG285486   Kia          OPTIMA              LOS ANGELES               CA
116874   5XXGT4L3XKG285519   Kia          OPTIMA              DENVER                    CO
116875   5XXGT4L3XKG285889   Kia          OPTIMA              PHOENIX                   AZ
116876   5XXGT4L3XKG285942   Kia          OPTIMA              SAINT PAUL                MN
116877   5XXGT4L3XKG286315   Kia          OPTIMA              Phoenix                   AZ
116878   5XXGT4L3XKG286380   Kia          OPTIMA              SANTA ANA                 CA
116879   5XXGT4L3XKG286508   Kia          OPTIMA              LAS VEGAS                 NV
116880   5XXGT4L3XKG286721   Kia          OPTIMA              BURBANK                   CA
116881   5XXGT4L3XKG286735   Kia          OPTIMA              LOS ANGELES               CA
116882   5XXGT4L3XKG286928   Kia          OPTIMA              San Francisco             CA
116883   5XXGT4L3XKG287822   Kia          OPTIMA              NEW BERN                  NC
116884   5XXGT4L3XKG288128   Kia          OPTIMA              PHOENIX                   AZ
116885   5XXGT4L3XKG288792   Kia          OPTIMA              GRAND RAPIDS              MI
116886   5XXGT4L3XKG289148   Kia          OPTIMA              SAN DIEGO                 CA
116887   5XXGT4L3XKG289201   Kia          OPTIMA              Atlanta                   GA
116888   5XXGT4L3XKG289277   Kia          OPTIMA              MIAMI                     FL
116889   5XXGT4L3XKG289313   Kia          OPTIMA              BURBANK                   CA
116890   5XXGT4L3XKG289361   Kia          OPTIMA              JACKSON                   MS
116891   5XXGT4L3XKG289408   Kia          OPTIMA              Santa Clara               CA
116892   5XXGT4L3XKG289750   Kia          OPTIMA              OAKLAND                   CA
116893   5XXGT4L3XKG289862   Kia          OPTIMA              KANSAS CITY               MO
116894   5XXGT4L3XKG289988   Kia          OPTIMA              HARRISBURG                PA
116895   5XXGT4L3XKG290011   Kia          OPTIMA              LOS ANGELES               CA
116896   5XXGT4L3XKG290056   Kia          OPTIMA              ROCHESTER                 NY
116897   5XXGT4L3XKG290252   Kia          OPTIMA              N. Palm Beach             FL
116898   5XXGT4L3XKG290364   Kia          OPTIMA              Los Angeles               CA
116899   5XXGT4L3XKG290509   Kia          OPTIMA              Winter Park               FL
116900   5XXGT4L3XKG290512   Kia          OPTIMA              Atlanta                   GA
116901   5XXGT4L3XKG290624   Kia          OPTIMA              PHOENIX                   AZ
116902   5XXGT4L3XKG290638   Kia          OPTIMA              SEATAC                    WA
116903   5XXGT4L3XKG290672   Kia          OPTIMA              SAN DIEGO                 CA
116904   5XXGT4L3XKG290722   Kia          OPTIMA              Hebron                    KY
116905   5XXGT4L3XKG290753   Kia          OPTIMA              PALM SPRINGS              CA
116906   5XXGT4L3XKG290798   Kia          OPTIMA              ORANGE COUNTY             CA
116907   5XXGT4L3XKG291059   Kia          OPTIMA              SOUTH SAN FRANC           CA
116908   5XXGT4L3XKG291174   Kia          OPTIMA              Portland                  OR
116909   5XXGT4L3XKG291191   Kia          OPTIMA              LAS VEGAS                 NV
116910   5XXGT4L3XKG291403   Kia          OPTIMA              DALLAS                    TX
116911   5XXGT4L3XKG291448   Kia          OPTIMA              JACKSONVILLE              FL
116912   5XXGT4L3XKG291451   Kia          OPTIMA              St. Louis                 MO
116913   5XXGT4L3XKG291515   Kia          OPTIMA              SANTA ANA                 CA
116914   5XXGT4L3XKG291823   Kia          OPTIMA              Bridgeton                 MO
116915   5XXGT4L3XKG291871   Kia          OPTIMA              HOUSTON                   TX
116916   5XXGT4L3XKG291921   Kia          OPTIMA              ORLANDO                   FL
116917   5XXGT4L3XKG292096   Kia          OPTIMA              DENVER                    CO
116918   5XXGT4L3XKG292308   Kia          OPTIMA              Estero                    FL
116919   5XXGT4L3XKG292471   Kia          OPTIMA              FORT LAUDERDALE           FL
116920   5XXGT4L3XKG292664   Kia          OPTIMA              WEST PALM BEACH           FL
116921   5XXGT4L3XKG292681   Kia          OPTIMA              NEWARK                    NJ
116922   5XXGT4L3XKG292700   Kia          OPTIMA              Tampa                     FL
116923   5XXGT4L3XKG292745   Kia          OPTIMA              Houston                   TX
116924   5XXGT4L3XKG293166   Kia          OPTIMA              ONTARIO                   CA
116925   5XXGT4L3XKG293619   Kia          OPTIMA              Florissant                MO
116926   5XXGT4L3XKG321631   Kia          OPTIMA              Atlanta                   GA
116927   5XXGT4L3XKG322410   Kia          OPTIMA              PHILADELPHIA              PA
116928   5XXGT4L3XKG322536   Kia          OPTIMA              GRAND PRAIRIE             TX
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116929   5XXGT4L3XKG323587   Kia          OPTIMA              ROCHESTER                 NY
116930   5XXGT4L3XKG323671   Kia          OPTIMA              Slidell                   LA
116931   5XXGT4L3XKG323783   Kia          OPTIMA              Salt Lake City            UT
116932   5XXGT4L3XKG324237   Kia          OPTIMA              Portland                  OR
116933   5XXGT4L3XKG324478   Kia          OPTIMA              SHREVEPORT                LA
116934   5XXGT4L3XKG324528   Kia          OPTIMA              SAN DIEGO                 CA
116935   5XXGT4L3XKG324657   Kia          OPTIMA              SALT LAKE CITY            UT
116936   5XXGT4L3XKG325002   Kia          OPTIMA              Burien                    WA
116937   5XXGT4L3XKG326277   Kia          OPTIMA              Portland                  OR
116938   5XXGT4L3XKG327204   Kia          OPTIMA              SAN DIEGO                 CA
116939   5XXGT4L3XKG329079   Kia          OPTIMA              Salt Lake City            UT
116940   5XXGT4L3XKG331964   Kia          OPTIMA              SCHILLER PARK             IL
116941   5XXGT4L3XKG334749   Kia          OPTIMA              SOUTHEAST DST OFFC        OK
116942   5XXGT4L3XKG348988   Kia          OPTIMA              Slidell                   LA
116943   5XXGT4L3XKG349087   Kia          OPTIMA              Slidell                   LA
116944   5XXGT4L3XKG359294   Kia          OPTIMA              ORLANDO                   FL
116945   5XXGT4L3XLG386531   Kia          OPTIMA              Lake Elsinore             CA
116946   5XXGT4L3XLG386562   Kia          OPTIMA              BURBANK                   CA
116947   5XXGT4L3XLG387291   Kia          OPTIMA              Buena Park                CA
116948   5XXGT4L3XLG387405   Kia          OPTIMA              LAS VEGAS                 NV
116949   5XXGT4L3XLG388361   Kia          OPTIMA              ORANGE COUNTY             CA
116950   5XXGT4L3XLG388408   Kia          OPTIMA              ONTARIO                   CA
116951   5XXGT4L3XLG389350   Kia          OPTIMA              SAN JOSE                  CA
116952   5XXGT4L3XLG389414   Kia          OPTIMA              LOS ANGELES               CA
116953   5XXGT4L3XLG389509   Kia          OPTIMA              LOS ANGELES               CA
116954   5XXGT4L3XLG389512   Kia          OPTIMA              LOS ANGELES               CA
116955   5XXGT4L3XLG389591   Kia          OPTIMA              FRESNO                    CA
116956   5XXGT4L3XLG389610   Kia          OPTIMA              LAS VEGAS                 NV
116957   5XXGT4L3XLG389719   Kia          OPTIMA              PALM SPRINGS              CA
116958   5XXGT4L3XLG390143   Kia          OPTIMA              Ventura                   CA
116959   5XXGT4L3XLG390174   Kia          OPTIMA              BURBANK                   CA
116960   5XXGT4L3XLG390191   Kia          OPTIMA              Baltimore                 MD
116961   5XXGT4L3XLG390269   Kia          OPTIMA              FULLERTON                 CA
116962   5XXGT4L3XLG390353   Kia          OPTIMA              Riverside                 CA
116963   5XXGT4L3XLG390465   Kia          OPTIMA              Wilmington                NC
116964   5XXGT4L3XLG390613   Kia          OPTIMA              SACRAMENTO                CA
116965   5XXGT4L3XLG390725   Kia          OPTIMA              San Diego                 CA
116966   5XXGT4L3XLG390756   Kia          OPTIMA              PORTLAND                  OR
116967   5XXGT4L3XLG390787   Kia          OPTIMA              SANTA ANA                 CA
116968   5XXGT4L3XLG390790   Kia          OPTIMA              SAN DIEGO                 CA
116969   5XXGT4L3XLG390840   Kia          OPTIMA              OMAHA                     NE
116970   5XXGT4L3XLG390935   Kia          OPTIMA              Portland                  OR
116971   5XXGT4L3XLG391003   Kia          OPTIMA              LAS VEGAS                 NV
116972   5XXGT4L3XLG391034   Kia          OPTIMA              ONTARIO                   CA
116973   5XXGT4L3XLG391048   Kia          OPTIMA              SEATAC                    WA
116974   5XXGT4L3XLG391051   Kia          OPTIMA              LAS VEGAS                 NV
116975   5XXGT4L3XLG391177   Kia          OPTIMA              Hamilton                  OH
116976   5XXGT4L3XLG391308   Kia          OPTIMA              SACRAMENTO                CA
116977   5XXGT4L3XLG391339   Kia          OPTIMA              Portland                  OR
116978   5XXGT4L3XLG391373   Kia          OPTIMA              SEATAC                    WA
116979   5XXGT4L3XLG391437   Kia          OPTIMA              SEATTLE                   WA
116980   5XXGT4L3XLG391485   Kia          OPTIMA              MEDINA                    OH
116981   5XXGT4L3XLG391521   Kia          OPTIMA              LOS ANGELES               CA
116982   5XXGT4L3XLG391597   Kia          OPTIMA              ONTARIO, RIVERSIDE        CA
116983   5XXGT4L3XLG391633   Kia          OPTIMA              LOS ANGELES               CA
116984   5XXGT4L3XLG391695   Kia          OPTIMA              LOS ANGELES               CA
116985   5XXGT4L3XLG391728   Kia          OPTIMA              Woodhaven                 MI
116986   5XXGT4L3XLG391762   Kia          OPTIMA              SAN DIEGO                 CA
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116987   5XXGT4L3XLG391793   Kia          OPTIMA              LAS VEGAS                 NV
116988   5XXGT4L3XLG391938   Kia          OPTIMA              ORANGE COUNTY             CA
116989   5XXGT4L3XLG391955   Kia          OPTIMA              LAS VEGAS                 NV
116990   5XXGT4L3XLG392166   Kia          OPTIMA              SAN FRANCISCO             CA
116991   5XXGT4L3XLG392216   Kia          OPTIMA              LOS ANGELES               CA
116992   5XXGT4L3XLG392393   Kia          OPTIMA              Roseville                 CA
116993   5XXGT4L3XLG392698   Kia          OPTIMA              SAN LEANDRO               CA
116994   5XXGT4L3XLG395214   Kia          OPTIMA              SAN DIEGO                 CA
116995   5XXGT4L3XLG397013   Kia          OPTIMA              Nashville                 TN
116996   5XXGT4L3XLG397352   Kia          OPTIMA              BURBANK                   CA
116997   5XXGT4L3XLG406583   Kia          OPTIMA              ORLANDO                   FL
116998   5XXGT4L3XLG407815   Kia          OPTIMA              Austin                    TX
116999   5XXGT4L3XLG409032   Kia          OPTIMA              KENNER                    LA
117000   5XXGT4L3XLG411881   Kia          OPTIMA              Florissant                MO
117001   5XXGT4L3XLG412934   Kia          OPTIMA              Woodhaven                 MI
117002   5XXGT4L3XLG413372   Kia          OPTIMA              Florissant                MO
117003   5XXGT4L3XLG422704   Kia          OPTIMA              FRESNO                    CA
117004   5XXGT4L3XLG422749   Kia          OPTIMA              Salt Lake City            UT
117005   5XXGT4L3XLG423819   Kia          OPTIMA              San Antonio               TX
117006   5XXGT4L3XLG425070   Kia          OPTIMA              ATLANTA                   GA
117007   5XXGT4L3XLG425554   Kia          OPTIMA              Irving                    TX
117008   5XXGT4L3XLG425683   Kia          OPTIMA              Costa Mesa                CA
117009   5XXGT4L3XLG428597   Kia          OPTIMA              Clearwater                FL
117010   5XXGT4L3XLG429054   Kia          OPTIMA              Clearwater                FL
117011   5XXGT4L3XLG432875   Kia          OPTIMA              Austell                   GA
117012   5XXGU4L30GG040491   Kia          OPTIMA              ATLANTA                   GA
117013   5XXGU4L30HG122237   Kia          OPTIMA              DANIA BEACH               FL
117014   5XXGU4L31GG004132   Kia          OPTIMA              SANTA ANA                 CA
117015   5XXGU4L31GG053301   Kia          OPTIMA              ORLANDO                   FL
117016   5XXGU4L31GG085455   Kia          OPTIMA              NEW YORK CITY             NY
117017   5XXGU4L32GG006438   Kia          OPTIMA              South San Franc           CA
117018   5XXGU4L32GG034577   Kia          OPTIMA              Elkridge                  MD
117019   5XXGU4L32GG090860   Kia          OPTIMA              KNOXVILLE                 TN
117020   5XXGU4L33GG034927   Kia          OPTIMA              STERLING                  VA
117021   5XXGU4L34GG014153   Kia          OPTIMA              LOS ANGELES               CA
117022   5XXGU4L34GG031342   Kia          OPTIMA              SAN DIEGO                 CA
117023   5XXGU4L34GG105116   Kia          OPTIMA              DALLAS                    TX
117024   5XXGU4L34HG160313   Kia          OPTIMA              WEST CENTRAL DEALE        CO
117025   5XXGU4L35GG087600   Kia          OPTIMA              Tolleson                  AZ
117026   5XXGU4L35GG088360   Kia          OPTIMA              WEST PALM BEACH           FL
117027   5XXGU4L35JG199157   Kia          OPTIMA              Phoenix                   AZ
117028   5XXGU4L36GG094670   Kia          OPTIMA              Norwalk                   CA
117029   5XXGU4L36JG183517   Kia          OPTIMA              CHANDLER                  AZ
117030   5XXGU4L37GG031075   Kia          OPTIMA              CHICAGO                   IL
117031   5XXGU4L37GG108057   Kia          OPTIMA              BURBANK                   CA
117032   5XXGU4L37HG134126   Kia          OPTIMA              CHANDLER                  AZ
117033   5XXGU4L38GG044918   Kia          OPTIMA              BURBANK                   CA
117034   5XXGU4L39GG008431   Kia          OPTIMA              Pasadena                  CA
117035   5XXGU4L39GG035029   Kia          OPTIMA              Los Angeles               CA
117036   5XXGU4L3XGG007482   Kia          OPTIMA              Sterling                  VA
117037   5XXGU4L3XGG069352   Kia          OPTIMA              SAN DIEGO                 CA
117038   5XXGU4L3XGG086894   Kia          OPTIMA              RONKONKOMA                NY
117039   5XYPG4A30HG267803   Kia          SORENTO             Newark                    NJ
117040   5XYPG4A50KG465922   Kia          SORENTO             SAN FRANCISCO             CA
117041   5XYPG4A50KG467203   Kia          SORENTO             Los Angeles               CA
117042   5XYPG4A50KG468044   Kia          SORENTO             PHOENIX                   AZ
117043   5XYPG4A50KG480582   Kia          SORENTO             HOUSTON                   TX
117044   5XYPG4A50KG481263   Kia          SORENTO             PHOENIX                   AZ
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117045   5XYPG4A50KG481862   Kia          SORENTO             RALIEGH                   NC
117046   5XYPG4A50KG482168   Kia          SORENTO             HOUSTON                   TX
117047   5XYPG4A50KG482395   Kia          SORENTO             BIRMINGHAN                AL
117048   5XYPG4A50KG484034   Kia          SORENTO             Bensalem                  PA
117049   5XYPG4A50KG485037   Kia          SORENTO             BIRMINGHAM                AL
117050   5XYPG4A50KG552896   Kia          SORENTO             ORLANDO                   FL
117051   5XYPG4A50KG554471   Kia          SORENTO             Atlanta                   GA
117052   5XYPG4A50KG559007   Kia          SORENTO             KANSAS CITY               MO
117053   5XYPG4A50LG611835   Kia          SORENTO             ALBUQERQUE                NM
117054   5XYPG4A50LG611866   Kia          SORENTO             SAN ANTONIO               TX
117055   5XYPG4A50LG611916   Kia          SORENTO             LOUISVILLE                KY
117056   5XYPG4A50LG611964   Kia          SORENTO             Dallas                    TX
117057   5XYPG4A50LG612029   Kia          SORENTO             KANSAS CITY               MO
117058   5XYPG4A50LG612144   Kia          SORENTO             DALLAS                    TX
117059   5XYPG4A50LG612600   Kia          SORENTO             HOUSTON                   TX
117060   5XYPG4A50LG612676   Kia          SORENTO             LOUISVILLE                KY
117061   5XYPG4A50LG613035   Kia          SORENTO             NORFOLK                   VA
117062   5XYPG4A50LG613245   Kia          SORENTO             KANSAS CITY               MO
117063   5XYPG4A50LG614041   Kia          SORENTO             Portland                  OR
117064   5XYPG4A50LG615433   Kia          SORENTO             SAN ANTONIO               TX
117065   5XYPG4A50LG615531   Kia          SORENTO             NEW BERN                  NC
117066   5XYPG4A50LG615691   Kia          SORENTO             MOBILE                    A
117067   5XYPG4A50LG615707   Kia          SORENTO             Atlanta                   GA
117068   5XYPG4A50LG615805   Kia          SORENTO             NORFOLK                   VA
117069   5XYPG4A50LG616081   Kia          SORENTO             NEW BERN                  NC
117070   5XYPG4A50LG616159   Kia          SORENTO             STERLING                  VA
117071   5XYPG4A50LG616274   Kia          SORENTO             STERLING                  VA
117072   5XYPG4A50LG616372   Kia          SORENTO             RICHMOND                  VA
117073   5XYPG4A50LG616405   Kia          SORENTO             WOODSON TERRACE           MO
117074   5XYPG4A50LG619076   Kia          SORENTO             ALBUQUERQUE               NM
117075   5XYPG4A50LG619577   Kia          SORENTO             LOS ANGELES               CA
117076   5XYPG4A50LG619580   Kia          SORENTO             LOS ANGELES               CA
117077   5XYPG4A50LG619613   Kia          SORENTO             LOS ANGELES               CA
117078   5XYPG4A50LG619806   Kia          SORENTO             ONTARIO                   CA
117079   5XYPG4A50LG619885   Kia          SORENTO             SANTA BARBARA             CA
117080   5XYPG4A50LG620003   Kia          SORENTO             BURBANK                   CA
117081   5XYPG4A50LG620048   Kia          SORENTO             PALM SPRINGS              CA
117082   5XYPG4A50LG620230   Kia          SORENTO             SACRAMENTO                CA
117083   5XYPG4A50LG620258   Kia          SORENTO             OAKLAND                   CA
117084   5XYPG4A50LG620292   Kia          SORENTO             PHOENIX                   AZ
117085   5XYPG4A50LG620308   Kia          SORENTO             LOS ANGELES               CA
117086   5XYPG4A50LG620325   Kia          SORENTO             PHOENIX                   AZ
117087   5XYPG4A50LG621068   Kia          SORENTO             SAN DIEGO                 CA
117088   5XYPG4A50LG621880   Kia          SORENTO             PHOENIX                   AZ
117089   5XYPG4A50LG622074   Kia          SORENTO             PHOENIX                   AZ
117090   5XYPG4A50LG622107   Kia          SORENTO             TUCSON                    AZ
117091   5XYPG4A50LG622172   Kia          SORENTO             PHOENIX                   AZ
117092   5XYPG4A50LG622219   Kia          SORENTO             ALBUQUERQUE               NM
117093   5XYPG4A50LG622236   Kia          SORENTO             BURBANK                   CA
117094   5XYPG4A50LG622267   Kia          SORENTO             TUCSON                    AZ
117095   5XYPG4A50LG622320   Kia          SORENTO             LOS ANGELES               CA
117096   5XYPG4A50LG622351   Kia          SORENTO             PHOENIX                   AZ
117097   5XYPG4A50LG622365   Kia          SORENTO             PALM SPRINGS              CA
117098   5XYPG4A50LG622379   Kia          SORENTO             PHOENIX                   AZ
117099   5XYPG4A50LG622382   Kia          SORENTO             PALM SPRINGS              CA
117100   5XYPG4A50LG622396   Kia          SORENTO             LOS ANGELES               CA
117101   5XYPG4A50LG622544   Kia          SORENTO             TUCSON                    AZ
117102   5XYPG4A50LG622561   Kia          SORENTO             LAS VEGAS                 NV
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117103   5XYPG4A50LG622785   Kia          SORENTO             DALLAS                    TX
117104   5XYPG4A50LG622821   Kia          SORENTO             PHOENIX                   AZ
117105   5XYPG4A50LG622835   Kia          SORENTO             PHOENIX                   AZ
117106   5XYPG4A50LG622849   Kia          SORENTO             DALLAS                    TX
117107   5XYPG4A50LG622852   Kia          SORENTO             ALBUQUERQUE               NM
117108   5XYPG4A50LG623872   Kia          SORENTO             TUCSON                    AZ
117109   5XYPG4A50LG625542   Kia          SORENTO             PHOENIX                   AZ
117110   5XYPG4A50LG625671   Kia          SORENTO             TUCSON                    AZ
117111   5XYPG4A50LG625850   Kia          SORENTO             PHOENIX                   AZ
117112   5XYPG4A50LG626111   Kia          SORENTO             BURBANK                   CA
117113   5XYPG4A50LG626206   Kia          SORENTO             Denver                    CO
117114   5XYPG4A50LG626528   Kia          SORENTO             PHOENIX                   AZ
117115   5XYPG4A50LG626948   Kia          SORENTO             LAS VEGAS                 NV
117116   5XYPG4A50LG627128   Kia          SORENTO             PHOENIX                   AZ
117117   5XYPG4A50LG628067   Kia          SORENTO             Tulsa                     OK
117118   5XYPG4A50LG628991   Kia          SORENTO             LAS VEGAS                 NV
117119   5XYPG4A50LG630949   Kia          SORENTO             FT LAUDERDALE             FL
117120   5XYPG4A50LG631597   Kia          SORENTO             ATLANTA                   GA
117121   5XYPG4A50LG631969   Kia          SORENTO             FORT MYERS                FL
117122   5XYPG4A51KG467243   Kia          SORENTO             TUCSON                    AZ
117123   5XYPG4A51KG475312   Kia          SORENTO             LOS ANGELES               CA
117124   5XYPG4A51KG475746   Kia          SORENTO             PHOENIX                   AZ
117125   5XYPG4A51KG482003   Kia          SORENTO             PANAMA CITY               FL
117126   5XYPG4A51KG482051   Kia          SORENTO             ALLENTOWN                 US
117127   5XYPG4A51KG482776   Kia          SORENTO             ROCHESTER                 NY
117128   5XYPG4A51KG483085   Kia          SORENTO             STERLING                  VA
117129   5XYPG4A51KG483457   Kia          SORENTO             Estero                    FL
117130   5XYPG4A51KG485550   Kia          SORENTO             Smithtown                 NY
117131   5XYPG4A51KG489811   Kia          SORENTO             Marietta                  GA
117132   5XYPG4A51KG552700   Kia          SORENTO             Massapequa                NY
117133   5XYPG4A51KG553880   Kia          SORENTO             PENSACOLA                 FL
117134   5XYPG4A51KG554396   Kia          SORENTO             FORT MYERS                FL
117135   5XYPG4A51LG611889   Kia          SORENTO             HOUSTON                   TX
117136   5XYPG4A51LG611942   Kia          SORENTO             OMAHA                     NE
117137   5XYPG4A51LG612248   Kia          SORENTO             LOUISVILLE                KY
117138   5XYPG4A51LG612296   Kia          SORENTO             KNOXVILLE                 TN
117139   5XYPG4A51LG612315   Kia          SORENTO             BIRMINGHAM                AL
117140   5XYPG4A51LG613108   Kia          SORENTO             MEBANE                    NC
117141   5XYPG4A51LG613285   Kia          SORENTO             FORT MYERS                FL
117142   5XYPG4A51LG613383   Kia          SORENTO             MEMPHIS                   TN
117143   5XYPG4A51LG613478   Kia          SORENTO             WEST COLUMBIA             SC
117144   5XYPG4A51LG615148   Kia          SORENTO             UNION CITY                GA
117145   5XYPG4A51LG615280   Kia          SORENTO             GRAND RAPIDS              MI
117146   5XYPG4A51LG615828   Kia          SORENTO             Hebron                    KY
117147   5XYPG4A51LG615960   Kia          SORENTO             GRAND RAPIDS              MI
117148   5XYPG4A51LG616008   Kia          SORENTO             Atlanta                   GA
117149   5XYPG4A51LG616039   Kia          SORENTO             MORRISVILLE               NC
117150   5XYPG4A51LG616042   Kia          SORENTO             SAINT LOUIS               MO
117151   5XYPG4A51LG616073   Kia          SORENTO             SAINT LOUIS               MO
117152   5XYPG4A51LG616106   Kia          SORENTO             STERLING                  VA
117153   5XYPG4A51LG616140   Kia          SORENTO             NORFOLK                   VA
117154   5XYPG4A51LG616168   Kia          SORENTO             NEW BERN                  NC
117155   5XYPG4A51LG616316   Kia          SORENTO             PENSACOLA                 FL
117156   5XYPG4A51LG616400   Kia          SORENTO             Stone Mountain            GA
117157   5XYPG4A51LG616414   Kia          SORENTO             Hebron                    KY
117158   5XYPG4A51LG616512   Kia          SORENTO             MILWAUKEE                 WI
117159   5XYPG4A51LG616672   Kia          SORENTO             ONTARIO                   CA
117160   5XYPG4A51LG617787   Kia          SORENTO             PHOENIX                   AZ
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117161   5XYPG4A51LG619653   Kia          SORENTO             SAN DIEGO                 CA
117162   5XYPG4A51LG619684   Kia          SORENTO             SAN FRANCISCO             CA
117163   5XYPG4A51LG619765   Kia          SORENTO             SAN DIEGO                 CA
117164   5XYPG4A51LG619782   Kia          SORENTO             Phoenix                   AZ
117165   5XYPG4A51LG619880   Kia          SORENTO             FRESNO                    CA
117166   5XYPG4A51LG619989   Kia          SORENTO             SANTA ANA                 CA
117167   5XYPG4A51LG620138   Kia          SORENTO             PALM SPRINGS              CA
117168   5XYPG4A51LG620172   Kia          SORENTO             LOS ANGELES               CA
117169   5XYPG4A51LG620222   Kia          SORENTO             PHOENIX                   AZ
117170   5XYPG4A51LG620267   Kia          SORENTO             LOS ANGELES               CA
117171   5XYPG4A51LG620270   Kia          SORENTO             SAN DIEGO                 CA
117172   5XYPG4A51LG620494   Kia          SORENTO             SAN DIEGO                 CA
117173   5XYPG4A51LG620530   Kia          SORENTO             Phoenix                   AZ
117174   5XYPG4A51LG620902   Kia          SORENTO             PHOENIX                   AZ
117175   5XYPG4A51LG621080   Kia          SORENTO             PHOENIX                   AZ
117176   5XYPG4A51LG621984   Kia          SORENTO             PHOENIX                   AZ
117177   5XYPG4A51LG622035   Kia          SORENTO             LAS VEGAS                 NV
117178   5XYPG4A51LG622357   Kia          SORENTO             PHOENIX                   AZ
117179   5XYPG4A51LG622388   Kia          SORENTO             PHOENIX                   AZ
117180   5XYPG4A51LG622391   Kia          SORENTO             SANTA FE                  NM
117181   5XYPG4A51LG622407   Kia          SORENTO             PHOENIX                   AZ
117182   5XYPG4A51LG622472   Kia          SORENTO             PHOENIX                   AZ
117183   5XYPG4A51LG622567   Kia          SORENTO             PHOENIX                   AZ
117184   5XYPG4A51LG622780   Kia          SORENTO             HOUSTON                   TX
117185   5XYPG4A51LG622813   Kia          SORENTO             PHOENIX                   AZ
117186   5XYPG4A51LG623329   Kia          SORENTO             CLEVELAND                 OH
117187   5XYPG4A51LG625260   Kia          SORENTO             PHOENIX                   AZ
117188   5XYPG4A51LG625663   Kia          SORENTO             PHOENIX                   AZ
117189   5XYPG4A51LG625744   Kia          SORENTO             PHOENIX                   AZ
117190   5XYPG4A51LG625761   Kia          SORENTO             PHOENIX                   AZ
117191   5XYPG4A51LG626134   Kia          SORENTO             ALBUQUERQUE               NM
117192   5XYPG4A51LG626263   Kia          SORENTO             PHOENIX                   AZ
117193   5XYPG4A51LG626828   Kia          SORENTO             ALBUQUERQUE               NM
117194   5XYPG4A51LG627090   Kia          SORENTO             LAS VEGAS                 NV
117195   5XYPG4A51LG627218   Kia          SORENTO             LOS ANGELES AP            CA
117196   5XYPG4A51LG628143   Kia          SORENTO             Tolleson                  AZ
117197   5XYPG4A51LG628935   Kia          SORENTO             LOS ANGELES               CA
117198   5XYPG4A51LG629163   Kia          SORENTO             LAS VEGAS                 NV
117199   5XYPG4A51LG629339   Kia          SORENTO             LAS VEGAS                 NV
117200   5XYPG4A51LG632306   Kia          SORENTO             FORT MYERS                FL
117201   5XYPG4A52KG465632   Kia          SORENTO             LOS ANGELES               CA
117202   5XYPG4A52KG467073   Kia          SORENTO             SAN ANTONIO               TX
117203   5XYPG4A52KG467221   Kia          SORENTO             DALLAS                    TX
117204   5XYPG4A52KG474802   Kia          SORENTO             SEATTLE                   WA
117205   5XYPG4A52KG481118   Kia          SORENTO             Orlando                   FL
117206   5XYPG4A52KG482186   Kia          SORENTO             MORROW                    GA
117207   5XYPG4A52KG482401   Kia          SORENTO             Atlanta                   GA
117208   5XYPG4A52KG482785   Kia          SORENTO             STERLING                  VA
117209   5XYPG4A52KG483368   Kia          SORENTO             Webster                   NY
117210   5XYPG4A52KG485282   Kia          SORENTO             DENVER                    CO
117211   5XYPG4A52KG489221   Kia          SORENTO             AUSTIN                    TX
117212   5XYPG4A52KG490112   Kia          SORENTO             Smithtown                 NY
117213   5XYPG4A52KG547019   Kia          SORENTO             CUMMING                   GA
117214   5XYPG4A52KG551863   Kia          SORENTO             SAN ANTONIO               TX
117215   5XYPG4A52KG552897   Kia          SORENTO             Tampa                     FL
117216   5XYPG4A52KG553418   Kia          SORENTO             WEST COLUMBIA             SC
117217   5XYPG4A52KG554469   Kia          SORENTO             Atlanta                   GA
117218   5XYPG4A52LG611805   Kia          SORENTO             Irving                    TX
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117219   5XYPG4A52LG611867   Kia          SORENTO             STERLING                  VA
117220   5XYPG4A52LG611884   Kia          SORENTO             PHILADELPHIA              PA
117221   5XYPG4A52LG611934   Kia          SORENTO             WICHITA FALLS             TX
117222   5XYPG4A52LG612016   Kia          SORENTO             DALLAS                    TX
117223   5XYPG4A52LG612145   Kia          SORENTO             MIDLAND                   TX
117224   5XYPG4A52LG612338   Kia          SORENTO             NEW ORLEANS               LA
117225   5XYPG4A52LG612405   Kia          SORENTO             KENNER                    LA
117226   5XYPG4A52LG612453   Kia          SORENTO             COLUMBUS                  OH
117227   5XYPG4A52LG612808   Kia          SORENTO             MIAMI                     FL
117228   5XYPG4A52LG613554   Kia          SORENTO             INDIANAPOLIS              IN
117229   5XYPG4A52LG613814   Kia          SORENTO             Hebron                    KY
117230   5XYPG4A52LG614171   Kia          SORENTO             NORFOLK                   VA
117231   5XYPG4A52LG614199   Kia          SORENTO             ATLANTA                   GA
117232   5XYPG4A52LG614719   Kia          SORENTO             CLEVELAND                 OH
117233   5XYPG4A52LG615420   Kia          SORENTO             NEWARK                    NJ
117234   5XYPG4A52LG615644   Kia          SORENTO             COLUMBUS                  OH
117235   5XYPG4A52LG615790   Kia          SORENTO             MOBILE                    A
117236   5XYPG4A52LG615868   Kia          SORENTO             LOUISVILLE                KY
117237   5XYPG4A52LG616003   Kia          SORENTO             PHOENIX                   AZ
117238   5XYPG4A52LG616079   Kia          SORENTO             KNOXVILLE                 TN
117239   5XYPG4A52LG616082   Kia          SORENTO             Atlanta                   GA
117240   5XYPG4A52LG616115   Kia          SORENTO             RONKONKOMA                NY
117241   5XYPG4A52LG616129   Kia          SORENTO             DALLAS                    TX
117242   5XYPG4A52LG616213   Kia          SORENTO             PALM SPRINGS              CA
117243   5XYPG4A52LG616244   Kia          SORENTO             PHOENIX                   AZ
117244   5XYPG4A52LG616289   Kia          SORENTO             DALLAS                    TX
117245   5XYPG4A52LG616311   Kia          SORENTO             ROANOKE                   VA
117246   5XYPG4A52LG616356   Kia          SORENTO             DENVER                    CO
117247   5XYPG4A52LG616440   Kia          SORENTO             INGLEWOOD                 CA
117248   5XYPG4A52LG616650   Kia          SORENTO             PHOENIX                   AZ
117249   5XYPG4A52LG618186   Kia          SORENTO             LAS VEGAS                 NV
117250   5XYPG4A52LG619533   Kia          SORENTO             SACRAMENTO                CA
117251   5XYPG4A52LG619581   Kia          SORENTO             PHOENIX                   AZ
117252   5XYPG4A52LG620018   Kia          SORENTO             LOS ANGELES               CA
117253   5XYPG4A52LG620049   Kia          SORENTO             LAS VEGAS                 NV
117254   5XYPG4A52LG620150   Kia          SORENTO             LOS ANGELES               CA
117255   5XYPG4A52LG620259   Kia          SORENTO             LOS ANGELES               CA
117256   5XYPG4A52LG620326   Kia          SORENTO             LOS ANGELES AP            CA
117257   5XYPG4A52LG620598   Kia          SORENTO             PHOENIX                   AZ
117258   5XYPG4A52LG620973   Kia          SORENTO             CHICAGO                   IL
117259   5XYPG4A52LG621587   Kia          SORENTO             SOUTH BEND                IN
117260   5XYPG4A52LG621962   Kia          SORENTO             PHOENIX                   AZ
117261   5XYPG4A52LG622030   Kia          SORENTO             PHOENIX                   AZ
117262   5XYPG4A52LG622075   Kia          SORENTO             LAS VEGAS                 NV
117263   5XYPG4A52LG622125   Kia          SORENTO             PHOENIX                   AZ
117264   5XYPG4A52LG622240   Kia          SORENTO             PHOENIX                   AZ
117265   5XYPG4A52LG622299   Kia          SORENTO             PHOENIX                   AZ
117266   5XYPG4A52LG622335   Kia          SORENTO             PHOENIX                   AZ
117267   5XYPG4A52LG622352   Kia          SORENTO             LOS ANGELES               CA
117268   5XYPG4A52LG622383   Kia          SORENTO             TUCSON                    AZ
117269   5XYPG4A52LG622447   Kia          SORENTO             PHOENIX                   AZ
117270   5XYPG4A52LG622531   Kia          SORENTO             PALM SPRINGS              CA
117271   5XYPG4A52LG622545   Kia          SORENTO             ALBUQUERQUE               NM
117272   5XYPG4A52LG623209   Kia          SORENTO             COLUMBUS                  OH
117273   5XYPG4A52LG623517   Kia          SORENTO             PALM SPRINGS              CA
117274   5XYPG4A52LG624876   Kia          SORENTO             Tulsa                     OK
117275   5XYPG4A52LG625252   Kia          SORENTO             PHOENIX                   AZ
117276   5XYPG4A52LG625543   Kia          SORENTO             PHOENIX                   AZ
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117277   5XYPG4A52LG625669   Kia          SORENTO             SAN DIEGO                 CA
117278   5XYPG4A52LG625767   Kia          SORENTO             PHOENIX                   AZ
117279   5XYPG4A52LG626112   Kia          SORENTO             PHOENIX                   AZ
117280   5XYPG4A52LG626322   Kia          SORENTO             TUCSON                    AZ
117281   5XYPG4A52LG627082   Kia          SORENTO             TUCSON                    AZ
117282   5XYPG4A52LG627096   Kia          SORENTO             TUCSON                    AZ
117283   5XYPG4A52LG627101   Kia          SORENTO             PHOENIX                   AZ
117284   5XYPG4A52LG628409   Kia          SORENTO             LOS ANGELES               CA
117285   5XYPG4A52LG628541   Kia          SORENTO             Colorado Spring           CO
117286   5XYPG4A52LG628572   Kia          SORENTO             ONTARIO                   CA
117287   5XYPG4A52LG628992   Kia          SORENTO             BURBANK                   CA
117288   5XYPG4A52LG629009   Kia          SORENTO             Estero                    FL
117289   5XYPG4A52LG630502   Kia          SORENTO             FORT LAUDERDALE           FL
117290   5XYPG4A53KG465252   Kia          SORENTO             LAS VEGAS                 NV
117291   5XYPG4A53KG468216   Kia          SORENTO             Smithtown                 NY
117292   5XYPG4A53KG475067   Kia          SORENTO             Manheim                   PA
117293   5XYPG4A53KG475313   Kia          SORENTO             Manheim                   PA
117294   5XYPG4A53KG479233   Kia          SORENTO             SAN ANTONIO               TX
117295   5XYPG4A53KG481077   Kia          SORENTO             ORLANDO                   FL
117296   5XYPG4A53KG481841   Kia          SORENTO             Davie                     FL
117297   5XYPG4A53KG481922   Kia          SORENTO             SAN ANTONIO               TX
117298   5XYPG4A53KG482018   Kia          SORENTO             SOUTHEAST DST OFFC        OK
117299   5XYPG4A53KG482147   Kia          SORENTO             Elkridge                  MD
117300   5XYPG4A53KG483010   Kia          SORENTO             Lake Elsinore             CA
117301   5XYPG4A53KG488918   Kia          SORENTO             KENNER                    LA
117302   5XYPG4A53KG552696   Kia          SORENTO             ORLANDO                   FL
117303   5XYPG4A53LG611814   Kia          SORENTO             SAN ANTONIO               TX
117304   5XYPG4A53LG611828   Kia          SORENTO             DALLAS                    TX
117305   5XYPG4A53LG611926   Kia          SORENTO             DALLAS                    TX
117306   5XYPG4A53LG611960   Kia          SORENTO             AUSTIN                    TX
117307   5XYPG4A53LG612235   Kia          SORENTO             DALLAS                    TX
117308   5XYPG4A53LG612249   Kia          SORENTO             LEXINGTON                 KY
117309   5XYPG4A53LG612252   Kia          SORENTO             Landover Hills            MD
117310   5XYPG4A53LG612316   Kia          SORENTO             DALLAS                    TX
117311   5XYPG4A53LG612381   Kia          SORENTO             Los Angeles               CA
117312   5XYPG4A53LG612669   Kia          SORENTO             STERLING                  VA
117313   5XYPG4A53LG613031   Kia          SORENTO             INDIANAPOLIS              IN
117314   5XYPG4A53LG613045   Kia          SORENTO             SAINT LOUIS               MO
117315   5XYPG4A53LG613238   Kia          SORENTO             JACKSONVILLE              FL
117316   5XYPG4A53LG613434   Kia          SORENTO             DALLAS                    TX
117317   5XYPG4A53LG613756   Kia          SORENTO             GOLDSBORO                 NC
117318   5XYPG4A53LG614454   Kia          SORENTO             INDIANAPOLIS              IN
117319   5XYPG4A53LG615457   Kia          SORENTO             AUSTIN                    TX
117320   5XYPG4A53LG615720   Kia          SORENTO             RALIEGH                   NC
117321   5XYPG4A53LG615748   Kia          SORENTO             COLUMBIA                  SC
117322   5XYPG4A53LG616074   Kia          SORENTO             DETROIT                   MI
117323   5XYPG4A53LG616091   Kia          SORENTO             CHICAGO                   IL
117324   5XYPG4A53LG616138   Kia          SORENTO             Phoenix                   AZ
117325   5XYPG4A53LG616155   Kia          SORENTO             WEST COLUMBIA             SC
117326   5XYPG4A53LG616284   Kia          SORENTO             RICHMOND                  VA
117327   5XYPG4A53LG616320   Kia          SORENTO             MILWAUKEE                 WI
117328   5XYPG4A53LG616379   Kia          SORENTO             ST LOUIS                  MO
117329   5XYPG4A53LG616401   Kia          SORENTO             OMAHA                     NE
117330   5XYPG4A53LG619685   Kia          SORENTO             BURBANK                   CA
117331   5XYPG4A53LG619850   Kia          SORENTO             PHOENIX                   AZ
117332   5XYPG4A53LG619976   Kia          SORENTO             BURBANK                   CA
117333   5XYPG4A53LG619993   Kia          SORENTO             SAN DIEGO                 CA
117334   5XYPG4A53LG620044   Kia          SORENTO             PHOENIX                   AZ
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117335   5XYPG4A53LG620108   Kia          SORENTO             EL PASO                   TX
117336   5XYPG4A53LG620125   Kia          SORENTO             PHOENIX                   AZ
117337   5XYPG4A53LG620142   Kia          SORENTO             LOS ANGELES               CA
117338   5XYPG4A53LG620223   Kia          SORENTO             Lake Elsinore             CA
117339   5XYPG4A53LG620318   Kia          SORENTO             LOS ANGELES               CA
117340   5XYPG4A53LG620383   Kia          SORENTO             Phoenix                   AZ
117341   5XYPG4A53LG620450   Kia          SORENTO             PORTLAND                  OR
117342   5XYPG4A53LG620495   Kia          SORENTO             AUSTIN                    TX
117343   5XYPG4A53LG620562   Kia          SORENTO             PHOENIX                   AZ
117344   5XYPG4A53LG621131   Kia          SORENTO             SAN DIEGO                 CA
117345   5XYPG4A53LG621906   Kia          SORENTO             PHOENIX                   AZ
117346   5XYPG4A53LG621968   Kia          SORENTO             PHOENIX                   AZ
117347   5XYPG4A53LG621971   Kia          SORENTO             PHOENIX                   AZ
117348   5XYPG4A53LG622036   Kia          SORENTO             PHOENIX                   AZ
117349   5XYPG4A53LG622179   Kia          SORENTO             PHOENIX                   AZ
117350   5XYPG4A53LG622358   Kia          SORENTO             BURBANK                   CA
117351   5XYPG4A53LG622375   Kia          SORENTO             Phoenix                   AZ
117352   5XYPG4A53LG622439   Kia          SORENTO             LOS ANGELES               CA
117353   5XYPG4A53LG622795   Kia          SORENTO             LUBBOCK                   TX
117354   5XYPG4A53LG622800   Kia          SORENTO             SAINT PAUL                MN
117355   5XYPG4A53LG622831   Kia          SORENTO             PHOENIX                   AZ
117356   5XYPG4A53LG623302   Kia          SORENTO             CLEVELAND                 OH
117357   5XYPG4A53LG625261   Kia          SORENTO             PHOENIX                   AZ
117358   5XYPG4A53LG625339   Kia          SORENTO             TUCSON                    AZ
117359   5XYPG4A53LG625471   Kia          SORENTO             PHOENIX                   AZ
117360   5XYPG4A53LG625616   Kia          SORENTO             PHOENIX                   AZ
117361   5XYPG4A53LG626443   Kia          SORENTO             TUCSON                    AZ
117362   5XYPG4A53LG626491   Kia          SORENTO             PHOENIX                   AZ
117363   5XYPG4A53LG626734   Kia          SORENTO             PHOENIX                   AZ
117364   5XYPG4A53LG627074   Kia          SORENTO             PHOENIX                   AZ
117365   5XYPG4A53LG627236   Kia          SORENTO             PHOENIX                   AZ
117366   5XYPG4A53LG628287   Kia          SORENTO             LOS ANGELES               CA
117367   5XYPG4A53LG629066   Kia          SORENTO             Davie                     FL
117368   5XYPG4A53LG633022   Kia          SORENTO             FORT MYERS                FL
117369   5XYPG4A54KG465115   Kia          SORENTO             Webster                   NY
117370   5XYPG4A54KG476079   Kia          SORENTO             SEATAC                    WA
117371   5XYPG4A54KG481461   Kia          SORENTO             ROY                       UT
117372   5XYPG4A54KG481797   Kia          SORENTO             Manheim                   PA
117373   5XYPG4A54KG482724   Kia          SORENTO             College Park              GA
117374   5XYPG4A54KG483047   Kia          SORENTO             WESLACO                   TX
117375   5XYPG4A54KG484277   Kia          SORENTO             HOUSTON                   TX
117376   5XYPG4A54KG484540   Kia          SORENTO             Hamilton                  OH
117377   5XYPG4A54KG490080   Kia          SORENTO             HOUSTON                   TX
117378   5XYPG4A54KG547622   Kia          SORENTO             SOUTHEAST DST OFFC        OK
117379   5XYPG4A54KG548172   Kia          SORENTO             MORROW                    GA
117380   5XYPG4A54KG553341   Kia          SORENTO             MILWAUKEE                 WI
117381   5XYPG4A54LG611868   Kia          SORENTO             DALLAS                    TX
117382   5XYPG4A54LG612082   Kia          SORENTO             TULSA                     OK
117383   5XYPG4A54LG612275   Kia          SORENTO             WEST COLUMBIA             SC
117384   5XYPG4A54LG612292   Kia          SORENTO             CHARLOTTE                 NC
117385   5XYPG4A54LG612759   Kia          SORENTO             Dallas                    TX
117386   5XYPG4A54LG613085   Kia          SORENTO             NEW BERN                  NC
117387   5XYPG4A54LG613300   Kia          SORENTO             Montgomery                AL
117388   5XYPG4A54LG614219   Kia          SORENTO             Phoenix                   AZ
117389   5XYPG4A54LG615502   Kia          SORENTO             CHARLOTTE                 US
117390   5XYPG4A54LG615774   Kia          SORENTO             KANSAS CITY               MO
117391   5XYPG4A54LG615872   Kia          SORENTO             AUSTIN                    TX
117392   5XYPG4A54LG616035   Kia          SORENTO             NEW BERN                  NC
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117393   5XYPG4A54LG616309   Kia          SORENTO             CHARLESTON                WV
117394   5XYPG4A54LG616505   Kia          SORENTO             NORFOLK                   VA
117395   5XYPG4A54LG616682   Kia          SORENTO             FRESNO                    CA
117396   5XYPG4A54LG617072   Kia          SORENTO             PHOENIX                   AZ
117397   5XYPG4A54LG619064   Kia          SORENTO             ALBUQUERQUE               NM
117398   5XYPG4A54LG619677   Kia          SORENTO             LOS ANGELES               CA
117399   5XYPG4A54LG619761   Kia          SORENTO             LOS ANGELES               CA
117400   5XYPG4A54LG620019   Kia          SORENTO             SANTA ANA                 CA
117401   5XYPG4A54LG620036   Kia          SORENTO             PHOENIX                   AZ
117402   5XYPG4A54LG620098   Kia          SORENTO             TUCSON                    AZ
117403   5XYPG4A54LG620151   Kia          SORENTO             ONTARIO                   CA
117404   5XYPG4A54LG620196   Kia          SORENTO             RALIEGH                   NC
117405   5XYPG4A54LG620201   Kia          SORENTO             LOS ANGELES               CA
117406   5XYPG4A54LG620246   Kia          SORENTO             NEWPORT BEACH             CA
117407   5XYPG4A54LG620263   Kia          SORENTO             SAN JOSE                  CA
117408   5XYPG4A54LG620523   Kia          SORENTO             TUCSON                    AZ
117409   5XYPG4A54LG620537   Kia          SORENTO             ALBUQUERQUE               NM
117410   5XYPG4A54LG620599   Kia          SORENTO             LOS ANGELES               CA
117411   5XYPG4A54LG621123   Kia          SORENTO             PHOENIX                   AZ
117412   5XYPG4A54LG621624   Kia          SORENTO             PHOENIX                   AZ
117413   5XYPG4A54LG621879   Kia          SORENTO             BURBANK                   CA
117414   5XYPG4A54LG621896   Kia          SORENTO             INGLEWOOD                 CA
117415   5XYPG4A54LG621963   Kia          SORENTO             PHOENIX                   AZ
117416   5XYPG4A54LG621980   Kia          SORENTO             PHOENIX                   AZ
117417   5XYPG4A54LG622241   Kia          SORENTO             BURBANK                   CA
117418   5XYPG4A54LG622286   Kia          SORENTO             ALBUQERQUE                NM
117419   5XYPG4A54LG622319   Kia          SORENTO             DENVER                    CO
117420   5XYPG4A54LG622336   Kia          SORENTO             LAS VEGAS                 NV
117421   5XYPG4A54LG622353   Kia          SORENTO             SAN DIEGO                 CA
117422   5XYPG4A54LG622367   Kia          SORENTO             PHOENIX                   AZ
117423   5XYPG4A54LG622403   Kia          SORENTO             PHOENIX                   AZ
117424   5XYPG4A54LG622515   Kia          SORENTO             PHOENIX                   AZ
117425   5XYPG4A54LG622692   Kia          SORENTO             LAS VEGAS                 NV
117426   5XYPG4A54LG622742   Kia          SORENTO             SANTA FE                  NM
117427   5XYPG4A54LG622787   Kia          SORENTO             EL PASO                   TX
117428   5XYPG4A54LG625737   Kia          SORENTO             PHOENIX                   AZ
117429   5XYPG4A54LG625785   Kia          SORENTO             PHOENIX                   AZ
117430   5XYPG4A54LG626662   Kia          SORENTO             PHOENIX                   AZ
117431   5XYPG4A54LG626807   Kia          SORENTO             Phoenix                   AZ
117432   5XYPG4A54LG627102   Kia          SORENTO             BURBANK                   CA
117433   5XYPG4A54LG627813   Kia          SORENTO             PHOENIX                   AZ
117434   5XYPG4A54LG628122   Kia          SORENTO             Los Angeles               CA
117435   5XYPG4A54LG629089   Kia          SORENTO             LOS ANGELES               CA
117436   5XYPG4A54LG629271   Kia          SORENTO             LAS VEGAS                 NV
117437   5XYPG4A55KG464670   Kia          SORENTO             LAS VEGAS                 NV
117438   5XYPG4A55KG466094   Kia          SORENTO             Denver                    CO
117439   5XYPG4A55KG466256   Kia          SORENTO             ONTARIO                   CA
117440   5XYPG4A55KG468542   Kia          SORENTO             CHICAGO                   IL
117441   5XYPG4A55KG479234   Kia          SORENTO             SYRACUSE                  NY
117442   5XYPG4A55KG481503   Kia          SORENTO             Smithtown                 NY
117443   5XYPG4A55KG481517   Kia          SORENTO             WEST PALM BEACH           FL
117444   5XYPG4A55KG483042   Kia          SORENTO             WEST PALM BEACH           FL
117445   5XYPG4A55KG483395   Kia          SORENTO             Cranberry Towns           PA
117446   5XYPG4A55KG484272   Kia          SORENTO             KANSAS CITY               MO
117447   5XYPG4A55KG484594   Kia          SORENTO             College Park              GA
117448   5XYPG4A55KG484742   Kia          SORENTO             MARIETTA                  GA
117449   5XYPG4A55KG485583   Kia          SORENTO             WEST PALM BEACH           FL
117450   5XYPG4A55KG489830   Kia          SORENTO             NEWARK                    NJ
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117451   5XYPG4A55KG509591   Kia          SORENTO             UNION CITY                GA
117452   5XYPG4A55KG551291   Kia          SORENTO             Baltimore                 MD
117453   5XYPG4A55KG554174   Kia          SORENTO             SANFORD                   FL
117454   5XYPG4A55LG611832   Kia          SORENTO             HOUSTON                   TX
117455   5XYPG4A55LG611863   Kia          SORENTO             HOUSTON                   TX
117456   5XYPG4A55LG611913   Kia          SORENTO             Des Moines                IA
117457   5XYPG4A55LG611992   Kia          SORENTO             CORPUS CHRISTI            TX
117458   5XYPG4A55LG612348   Kia          SORENTO             HOUSTON                   TX
117459   5XYPG4A55LG612706   Kia          SORENTO             Austell                   GA
117460   5XYPG4A55LG613208   Kia          SORENTO             SAN JOSE                  CA
117461   5XYPG4A55LG613581   Kia          SORENTO             BIRMINGHAN                AL
117462   5XYPG4A55LG613841   Kia          SORENTO             INDIANAPOLIS              IN
117463   5XYPG4A55LG613905   Kia          SORENTO             SAINT PAUL                MN
117464   5XYPG4A55LG615265   Kia          SORENTO             WEST COLUMBIA             SC
117465   5XYPG4A55LG615458   Kia          SORENTO             Austell                   GA
117466   5XYPG4A55LG615492   Kia          SORENTO             PALM SPRINGS              CA
117467   5XYPG4A55LG615606   Kia          SORENTO             FORT MYERS                FL
117468   5XYPG4A55LG615721   Kia          SORENTO             DFW AIRPORT               TX
117469   5XYPG4A55LG616027   Kia          SORENTO             DETROIT                   MI
117470   5XYPG4A55LG616089   Kia          SORENTO             HOUSTON                   TX
117471   5XYPG4A55LG616125   Kia          SORENTO             HOUSTON                   TX
117472   5XYPG4A55LG616139   Kia          SORENTO             BALTIMORE                 MD
117473   5XYPG4A55LG616223   Kia          SORENTO             Statesville               NC
117474   5XYPG4A55LG616268   Kia          SORENTO             LOUISVILLE                KY
117475   5XYPG4A55LG616299   Kia          SORENTO             DALLAS                    TX
117476   5XYPG4A55LG616304   Kia          SORENTO             HOUSTON                   TX
117477   5XYPG4A55LG616321   Kia          SORENTO             COLUMBIA                  SC
117478   5XYPG4A55LG618182   Kia          SORENTO             Phoenix                   AZ
117479   5XYPG4A55LG619803   Kia          SORENTO             ONTARIO                   CA
117480   5XYPG4A55LG619980   Kia          SORENTO             PHOENIX                   AZ
117481   5XYPG4A55LG619994   Kia          SORENTO             PHOENIX                   AZ
117482   5XYPG4A55LG620059   Kia          SORENTO             TUCSON                    AZ
117483   5XYPG4A55LG620109   Kia          SORENTO             PHOENIX                   AZ
117484   5XYPG4A55LG620143   Kia          SORENTO             ORANGE COUNTY             CA
117485   5XYPG4A55LG620255   Kia          SORENTO             LAS VEGAS                 NV
117486   5XYPG4A55LG620272   Kia          SORENTO             BURBANK                   CA
117487   5XYPG4A55LG620322   Kia          SORENTO             TUCSON                    AZ
117488   5XYPG4A55LG620577   Kia          SORENTO             TUCSON                    AZ
117489   5XYPG4A55LG621132   Kia          SORENTO             TUCSON                    AZ
117490   5XYPG4A55LG621891   Kia          SORENTO             SAN DIEGO                 US
117491   5XYPG4A55LG621907   Kia          SORENTO             PHOENIX                   AZ
117492   5XYPG4A55LG622023   Kia          SORENTO             LAS VEGAS                 NV
117493   5XYPG4A55LG622040   Kia          SORENTO             SAN DIEGO                 CA
117494   5XYPG4A55LG622183   Kia          SORENTO             PHOENIX                   AZ
117495   5XYPG4A55LG622216   Kia          SORENTO             PHOENIX                   AZ
117496   5XYPG4A55LG622376   Kia          SORENTO             PHOENIX                   AZ
117497   5XYPG4A55LG622443   Kia          SORENTO             LAS VEGAS                 NV
117498   5XYPG4A55LG622698   Kia          SORENTO             PHOENIX                   AZ
117499   5XYPG4A55LG622765   Kia          SORENTO             Atlanta                   GA
117500   5XYPG4A55LG623186   Kia          SORENTO             PHOENIX                   AZ
117501   5XYPG4A55LG623415   Kia          SORENTO             PHOENIX                   AZ
117502   5XYPG4A55LG625164   Kia          SORENTO             ALBUQUERQUE               NM
117503   5XYPG4A55LG625262   Kia          SORENTO             PHOENIX                   AZ
117504   5XYPG4A55LG625570   Kia          SORENTO             PHOENIX                   AZ
117505   5XYPG4A55LG625911   Kia          SORENTO             PALM SPRINGS              CA
117506   5XYPG4A55LG626010   Kia          SORENTO             PHOENIX                   AZ
117507   5XYPG4A55LG626539   Kia          SORENTO             PHOENIX                   AZ
117508   5XYPG4A55LG626668   Kia          SORENTO             PHOENIX                   AZ
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117509   5XYPG4A55LG626749   Kia          SORENTO             PHOENIX                   AZ
117510   5XYPG4A55LG627108   Kia          SORENTO             ALBUQUERQUE               NM
117511   5XYPG4A55LG627125   Kia          SORENTO             LOS ANGELES               CA
117512   5XYPG4A55LG628047   Kia          SORENTO             Tulsa                     OK
117513   5XYPG4A55LG629568   Kia          SORENTO             FORT MYERS                FL
117514   5XYPG4A55LG631465   Kia          SORENTO             FORT MYERS                FL
117515   5XYPG4A56KG469070   Kia          SORENTO             PALM SPRINGS              CA
117516   5XYPG4A56KG476052   Kia          SORENTO             DENVER                    CO
117517   5XYPG4A56KG481784   Kia          SORENTO             HOUSTON                   TX
117518   5XYPG4A56KG481929   Kia          SORENTO             SAN ANTONIO               TX
117519   5XYPG4A56KG482711   Kia          SORENTO             FORT MYERS                FL
117520   5XYPG4A56KG483387   Kia          SORENTO             Cranberry Towns           PA
117521   5XYPG4A56KG483390   Kia          SORENTO             TAMPA                     US
117522   5XYPG4A56KG483552   Kia          SORENTO             FORT MYERS                FL
117523   5XYPG4A56KG483857   Kia          SORENTO             Woodhaven                 MI
117524   5XYPG4A56KG484006   Kia          SORENTO             SAINT PAUL                MN
117525   5XYPG4A56KG484300   Kia          SORENTO             STATE COLLEGE             PA
117526   5XYPG4A56KG484748   Kia          SORENTO             SHREVEPORT                LA
117527   5XYPG4A56KG484958   Kia          SORENTO             Estero                    FL
117528   5XYPG4A56KG485107   Kia          SORENTO             HOUSTON                   TX
117529   5XYPG4A56KG551641   Kia          SORENTO             FAYETTEVILLE              AR
117530   5XYPG4A56KG552675   Kia          SORENTO             PALM SPRINGS              CA
117531   5XYPG4A56LG611984   Kia          SORENTO             AUSTIN                    TX
117532   5XYPG4A56LG612035   Kia          SORENTO             OKLAHOMA CITY             OK
117533   5XYPG4A56LG612066   Kia          SORENTO             SAN ANTONIO               TX
117534   5XYPG4A56LG612309   Kia          SORENTO             CHICAGO                   IL
117535   5XYPG4A56LG612603   Kia          SORENTO             HOUSTON                   TX
117536   5XYPG4A56LG613038   Kia          SORENTO             SAINT PAUL                MN
117537   5XYPG4A56LG613475   Kia          SORENTO             Atlanta                   GA
117538   5XYPG4A56LG614223   Kia          SORENTO             Statesville               NC
117539   5XYPG4A56LG614450   Kia          SORENTO             BIRMINGHAM                AL
117540   5XYPG4A56LG615677   Kia          SORENTO             DALLAS                    TX
117541   5XYPG4A56LG615873   Kia          SORENTO             DALLAS                    TX
117542   5XYPG4A56LG615954   Kia          SORENTO             LOS ANGELES               CA
117543   5XYPG4A56LG616084   Kia          SORENTO             PHILADELPHIA              PA
117544   5XYPG4A56LG616215   Kia          SORENTO             Atlanta                   GA
117545   5XYPG4A56LG616327   Kia          SORENTO             BALTIMORE                 MD
117546   5XYPG4A56LG616389   Kia          SORENTO             BIRMINGHAN                AL
117547   5XYPG4A56LG616392   Kia          SORENTO             Atlanta                   GA
117548   5XYPG4A56LG616442   Kia          SORENTO             Saint Paul                MN
117549   5XYPG4A56LG616649   Kia          SORENTO             PHOENIX                   AZ
117550   5XYPG4A56LG619650   Kia          SORENTO             PHOENIX                   AZ
117551   5XYPG4A56LG619678   Kia          SORENTO             MONTEREY                  CA
117552   5XYPG4A56LG619714   Kia          SORENTO             LAS VEGAS                 NV
117553   5XYPG4A56LG620006   Kia          SORENTO             PHOENIX                   AZ
117554   5XYPG4A56LG620040   Kia          SORENTO             PALM SPRINGS              CA
117555   5XYPG4A56LG620085   Kia          SORENTO             PHOENIX                   AZ
117556   5XYPG4A56LG620099   Kia          SORENTO             PHOENIX                   AZ
117557   5XYPG4A56LG620359   Kia          SORENTO             PHOENIX                   AZ
117558   5XYPG4A56LG620510   Kia          SORENTO             PHOENIX                   AZ
117559   5XYPG4A56LG620653   Kia          SORENTO             COLUMBUS                  OH
117560   5XYPG4A56LG621124   Kia          SORENTO             TUCSON                    AZ
117561   5XYPG4A56LG621902   Kia          SORENTO             PHOENIX                   AZ
117562   5XYPG4A56LG621964   Kia          SORENTO             PHOENIX                   AZ
117563   5XYPG4A56LG621978   Kia          SORENTO             Scottsdale                AZ
117564   5XYPG4A56LG622015   Kia          SORENTO             ALBUQUERQUE               NM
117565   5XYPG4A56LG622063   Kia          SORENTO             ALBUQERQUE                NM
117566   5XYPG4A56LG622080   Kia          SORENTO             PHOENIX                   AZ
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117567   5XYPG4A56LG622127   Kia          SORENTO             PHOENIX                   AZ
117568   5XYPG4A56LG622211   Kia          SORENTO             Portland                  OR
117569   5XYPG4A56LG622239   Kia          SORENTO             PHOENIX                   AZ
117570   5XYPG4A56LG622404   Kia          SORENTO             ALBUQUERQUE               NM
117571   5XYPG4A56LG622497   Kia          SORENTO             SAINT LOUIS               MO
117572   5XYPG4A56LG622502   Kia          SORENTO             LOS ANGELES               CA
117573   5XYPG4A56LG622516   Kia          SORENTO             PHOENIX                   AZ
117574   5XYPG4A56LG622693   Kia          SORENTO             ALBUQERQUE                NM
117575   5XYPG4A56LG622810   Kia          SORENTO             OMAHA                     NE
117576   5XYPG4A56LG625741   Kia          SORENTO             PHOENIX                   AZ
117577   5XYPG4A56LG625965   Kia          SORENTO             SANTA ANA                 CA
117578   5XYPG4A56LG626324   Kia          SORENTO             Sacramento                CA
117579   5XYPG4A56LG626405   Kia          SORENTO             PHOENIX                   AZ
117580   5XYPG4A56LG626565   Kia          SORENTO             PHOENIX                   AZ
117581   5XYPG4A56LG626629   Kia          SORENTO             PHOENIX                   AZ
117582   5XYPG4A56LG626632   Kia          SORENTO             BURBANK                   CA
117583   5XYPG4A56LG627084   Kia          SORENTO             Pheonix                   AZ
117584   5XYPG4A56LG627635   Kia          SORENTO             West Columbia             SC
117585   5XYPG4A56LG627974   Kia          SORENTO             PHOENIX                   AZ
117586   5XYPG4A56LG628204   Kia          SORENTO             LAS VEGAS                 NV
117587   5XYPG4A56LG629479   Kia          SORENTO             FORT MYERS                FL
117588   5XYPG4A56LG630468   Kia          SORENTO             Leesburg                  VA
117589   5XYPG4A56LG632317   Kia          SORENTO             LAS VEGAS                 NV
117590   5XYPG4A57KG465304   Kia          SORENTO             BOSTON                    MA
117591   5XYPG4A57KG467120   Kia          SORENTO             OAKLAND                   CA
117592   5XYPG4A57KG482829   Kia          SORENTO             Smithtown                 NY
117593   5XYPG4A57KG483656   Kia          SORENTO             ORLANDO                   FL
117594   5XYPG4A57KG483866   Kia          SORENTO             MIAMI                     FL
117595   5XYPG4A57KG484046   Kia          SORENTO             Dallas                    TX
117596   5XYPG4A57KG484306   Kia          SORENTO             SOUTHEAST DST OFFC        OK
117597   5XYPG4A57KG490087   Kia          SORENTO             TAMPA                     FL
117598   5XYPG4A57KG550997   Kia          SORENTO             CINCINNATI                OH
117599   5XYPG4A57KG554161   Kia          SORENTO             INDIANAPOLIS              IN
117600   5XYPG4A57LG611802   Kia          SORENTO             HOUSTON                   TX
117601   5XYPG4A57LG611833   Kia          SORENTO             SAN ANTONIO               TX
117602   5XYPG4A57LG611959   Kia          SORENTO             DALLAS                    TX
117603   5XYPG4A57LG612030   Kia          SORENTO             PHOENIX                   AZ
117604   5XYPG4A57LG612237   Kia          SORENTO             DALLAS                    TX
117605   5XYPG4A57LG612268   Kia          SORENTO             DALLAS                    TX
117606   5XYPG4A57LG612335   Kia          SORENTO             INDIANAPOLIS              IN
117607   5XYPG4A57LG612349   Kia          SORENTO             HOUSTON                   TX
117608   5XYPG4A57LG612982   Kia          SORENTO             BALTIMORE                 MD
117609   5XYPG4A57LG613095   Kia          SORENTO             FORT MYERS                FL
117610   5XYPG4A57LG613145   Kia          SORENTO             PORTLAND                  OR
117611   5XYPG4A57LG613159   Kia          SORENTO             LOUISVILLE                KY
117612   5XYPG4A57LG614716   Kia          SORENTO             CHICAGO                   IL
117613   5XYPG4A57LG615199   Kia          SORENTO             CHICAGO                   IL
117614   5XYPG4A57LG615641   Kia          SORENTO             PHILADELPHIA              PA
117615   5XYPG4A57LG615882   Kia          SORENTO             FRESNO                    CA
117616   5XYPG4A57LG615929   Kia          SORENTO             ATLANTA AP                GA
117617   5XYPG4A57LG615932   Kia          SORENTO             RICHMOND                  VA
117618   5XYPG4A57LG616028   Kia          SORENTO             Atlanta                   GA
117619   5XYPG4A57LG616160   Kia          SORENTO             PITTSBURGH                PA
117620   5XYPG4A57LG616188   Kia          SORENTO             FAYETTEVILLE              US
117621   5XYPG4A57LG616448   Kia          SORENTO             NEW BERN                  NC
117622   5XYPG4A57LG616479   Kia          SORENTO             INGLEWOOD                 CA
117623   5XYPG4A57LG619088   Kia          SORENTO             ALBUQUERQUE               NM
117624   5XYPG4A57LG619625   Kia          SORENTO             Las Vegas                 NV
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117625   5XYPG4A57LG619737   Kia          SORENTO             LOS ANGELES               CA
117626   5XYPG4A57LG620015   Kia          SORENTO             PHOENIX                   AZ
117627   5XYPG4A57LG620144   Kia          SORENTO             LOS ANGELES               CA
117628   5XYPG4A57LG620354   Kia          SORENTO             PHOENIX                   AZ
117629   5XYPG4A57LG620497   Kia          SORENTO             PHOENIX                   AZ
117630   5XYPG4A57LG620905   Kia          SORENTO             TUCSON                    AZ
117631   5XYPG4A57LG621567   Kia          SORENTO             LAS VEGAS                 NV
117632   5XYPG4A57LG621665   Kia          SORENTO             LOS ANGELES               CA
117633   5XYPG4A57LG622184   Kia          SORENTO             PHOENIX                   AZ
117634   5XYPG4A57LG622251   Kia          SORENTO             PHOENIX                   AZ
117635   5XYPG4A57LG622296   Kia          SORENTO             LOS ANGELES               CA
117636   5XYPG4A57LG622301   Kia          SORENTO             PHOENIX                   AZ
117637   5XYPG4A57LG622346   Kia          SORENTO             PHOENIX                   AZ
117638   5XYPG4A57LG622363   Kia          SORENTO             LAS VEGAS                 NV
117639   5XYPG4A57LG622444   Kia          SORENTO             PHOENIX                   AZ
117640   5XYPG4A57LG622816   Kia          SORENTO             Atlanta                   GA
117641   5XYPG4A57LG622833   Kia          SORENTO             MCALLEN                   TX
117642   5XYPG4A57LG622900   Kia          SORENTO             PHOENIX                   AZ
117643   5XYPG4A57LG623397   Kia          SORENTO             PHOENIX                   AZ
117644   5XYPG4A57LG623433   Kia          SORENTO             LAS VEGAS                 NV
117645   5XYPG4A57LG625571   Kia          SORENTO             PHOENIX                   AZ
117646   5XYPG4A57LG625604   Kia          SORENTO             PHOENIX                   AZ
117647   5XYPG4A57LG625666   Kia          SORENTO             TUCSON                    AZ
117648   5XYPG4A57LG625862   Kia          SORENTO             PHOENIX                   AZ
117649   5XYPG4A57LG625909   Kia          SORENTO             PHOENIX                   AZ
117650   5XYPG4A57LG625912   Kia          SORENTO             BURBANK                   CA
117651   5XYPG4A57LG626610   Kia          SORENTO             PHOENIX                   AZ
117652   5XYPG4A57LG626624   Kia          SORENTO             ONTARIO                   CA
117653   5XYPG4A57LG626932   Kia          SORENTO             LAS VEGAS                 NV
117654   5XYPG4A57LG627093   Kia          SORENTO             LOS ANGELES               CA
117655   5XYPG4A57LG627126   Kia          SORENTO             SAN DIEGO                 US
117656   5XYPG4A57LG629023   Kia          SORENTO             PALM SPRINGS              CA
117657   5XYPG4A57LG630057   Kia          SORENTO             Miami                     FL
117658   5XYPG4A58KG465022   Kia          SORENTO             PHOENIX                   AZ
117659   5XYPG4A58KG467336   Kia          SORENTO             SALT LAKE CITY            UT
117660   5XYPG4A58KG468101   Kia          SORENTO             NEWPORT BEACH             CA
117661   5XYPG4A58KG481544   Kia          SORENTO             SARASOTA                  FL
117662   5XYPG4A58KG483360   Kia          SORENTO             ORLANDO                   FL
117663   5XYPG4A58KG485996   Kia          SORENTO             Portland                  OR
117664   5XYPG4A58KG488929   Kia          SORENTO             Ft. Myers                 FL
117665   5XYPG4A58KG489451   Kia          SORENTO             FORT MYERS                FL
117666   5XYPG4A58KG547574   Kia          SORENTO             PHOENIX                   AZ
117667   5XYPG4A58LG611873   Kia          SORENTO             HOUSTON                   TX
117668   5XYPG4A58LG611923   Kia          SORENTO             SAINT LOUIS               MO
117669   5XYPG4A58LG612201   Kia          SORENTO             RENO                      NV
117670   5XYPG4A58LG612733   Kia          SORENTO             Jacksonville              FL
117671   5XYPG4A58LG612750   Kia          SORENTO             INDIANAPOLIS              IN
117672   5XYPG4A58LG613008   Kia          SORENTO             RALEIGH                   NC
117673   5XYPG4A58LG613042   Kia          SORENTO             SAINT LOUIS               MO
117674   5XYPG4A58LG613199   Kia          SORENTO             NEW BERN                  NC
117675   5XYPG4A58LG613753   Kia          SORENTO             SAINT LOUIS               MO
117676   5XYPG4A58LG615535   Kia          SORENTO             CHARLESTON                WV
117677   5XYPG4A58LG615762   Kia          SORENTO             HOUSTON                   TX
117678   5XYPG4A58LG615972   Kia          SORENTO             PITTSBURGH                PA
117679   5XYPG4A58LG616085   Kia          SORENTO             Statesville               NC
117680   5XYPG4A58LG616278   Kia          SORENTO             SAINT PAUL                MN
117681   5XYPG4A58LG616359   Kia          SORENTO             Statesville               NC
117682   5XYPG4A58LG616491   Kia          SORENTO             CLEVELAND                 OH
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117683   5XYPG4A58LG619990   Kia          SORENTO             LAS VEGAS                 NV
117684   5XYPG4A58LG620010   Kia          SORENTO             TUCSON                    AZ
117685   5XYPG4A58LG620086   Kia          SORENTO             PHOENIX                   AZ
117686   5XYPG4A58LG620184   Kia          SORENTO             LOS ANGELES               CA
117687   5XYPG4A58LG620296   Kia          SORENTO             LOS ANGELES               CA
117688   5XYPG4A58LG620329   Kia          SORENTO             SAN DIEGO                 CA
117689   5XYPG4A58LG620363   Kia          SORENTO             PHOENIX                   AZ
117690   5XYPG4A58LG620377   Kia          SORENTO             PHOENIX                   AZ
117691   5XYPG4A58LG620475   Kia          SORENTO             PHOENIX                   AZ
117692   5XYPG4A58LG620525   Kia          SORENTO             PHOENIX                   AZ
117693   5XYPG4A58LG620654   Kia          SORENTO             LOS ANGELES AP            CA
117694   5XYPG4A58LG621495   Kia          SORENTO             FORT MYERS                FL
117695   5XYPG4A58LG621626   Kia          SORENTO             PHOENIX                   AZ
117696   5XYPG4A58LG621951   Kia          SORENTO             ALBUQUERQUE               NM
117697   5XYPG4A58LG621979   Kia          SORENTO             LOS ANGELES               CA
117698   5XYPG4A58LG621982   Kia          SORENTO             LOS ANGELES               CA
117699   5XYPG4A58LG622016   Kia          SORENTO             PHOENIX                   AZ
117700   5XYPG4A58LG622078   Kia          SORENTO             PHOENIX                   AZ
117701   5XYPG4A58LG622128   Kia          SORENTO             SAN DIEGO                 CA
117702   5XYPG4A58LG622131   Kia          SORENTO             PHOENIX                   AZ
117703   5XYPG4A58LG622212   Kia          SORENTO             PHOENIX                   AZ
117704   5XYPG4A58LG622307   Kia          SORENTO             Phoenix                   AZ
117705   5XYPG4A58LG622369   Kia          SORENTO             PHOENIX                   AZ
117706   5XYPG4A58LG622436   Kia          SORENTO             LAS VEGAS                 NV
117707   5XYPG4A58LG622517   Kia          SORENTO             PHOENIX                   AZ
117708   5XYPG4A58LG622520   Kia          SORENTO             PHOENIX                   AZ
117709   5XYPG4A58LG622694   Kia          SORENTO             CHICAGO                   IL
117710   5XYPG4A58LG622744   Kia          SORENTO             LOS ANGELES               CA
117711   5XYPG4A58LG622761   Kia          SORENTO             PHOENIX                   AZ
117712   5XYPG4A58LG622789   Kia          SORENTO             GRAND JUNCTION            C
117713   5XYPG4A58LG622792   Kia          SORENTO             PHOENIX                   AZ
117714   5XYPG4A58LG622808   Kia          SORENTO             PHOENIX                   AZ
117715   5XYPG4A58LG622873   Kia          SORENTO             STERLING                  VA
117716   5XYPG4A58LG624901   Kia          SORENTO             FORT MYERS                FL
117717   5XYPG4A58LG625675   Kia          SORENTO             PHOENIX                   AZ
117718   5XYPG4A58LG625739   Kia          SORENTO             PHOENIX                   AZ
117719   5XYPG4A58LG626115   Kia          SORENTO             PHOENIX                   AZ
117720   5XYPG4A58LG626325   Kia          SORENTO             PHOENIX                   AZ
117721   5XYPG4A58LG626907   Kia          SORENTO             BURBANK                   CA
117722   5XYPG4A58LG627118   Kia          SORENTO             PHOENIX                   AZ
117723   5XYPG4A58LG627586   Kia          SORENTO             PALM SPRINGS              CA
117724   5XYPG4A58LG627703   Kia          SORENTO             Statesville               NC
117725   5XYPG4A58LG628110   Kia          SORENTO             BURBANK                   CA
117726   5XYPG4A58LG630018   Kia          SORENTO             LOS ANGELES               CA
117727   5XYPG4A58LG631783   Kia          SORENTO             TAMPA                     FL
117728   5XYPG4A59JG394198   Kia          SORENTO             TAMPA                     FL
117729   5XYPG4A59KG464963   Kia          SORENTO             DALLAS                    TX
117730   5XYPG4A59KG465627   Kia          SORENTO             SACRAMENTO                CA
117731   5XYPG4A59KG466597   Kia          SORENTO             LUBBOCK                   TX
117732   5XYPG4A59KG479754   Kia          SORENTO             Estero                    FL
117733   5XYPG4A59KG480595   Kia          SORENTO             TAMPA                     FL
117734   5XYPG4A59KG482072   Kia          SORENTO             MIAMI                     FL
117735   5XYPG4A59KG482878   Kia          SORENTO             HOUSTON                   TX
117736   5XYPG4A59KG483058   Kia          SORENTO             TAMPA                     FL
117737   5XYPG4A59KG483528   Kia          SORENTO             MCALLEN                   TX
117738   5XYPG4A59KG484503   Kia          SORENTO             SAN DIEGO                 CA
117739   5XYPG4A59KG484792   Kia          SORENTO             PHOENIX                   AZ
117740   5XYPG4A59KG489460   Kia          SORENTO             ALLENTOWN                 US
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117741   5XYPG4A59KG489796   Kia          SORENTO             LOS ANGELES               CA
117742   5XYPG4A59KG489801   Kia          SORENTO             Richmond                  VA
117743   5XYPG4A59KG546062   Kia          SORENTO             BIRMINGHAM                AL
117744   5XYPG4A59KG547437   Kia          SORENTO             LOS ANGELES               CA
117745   5XYPG4A59KG551682   Kia          SORENTO             ST Paul                   MN
117746   5XYPG4A59KG552170   Kia          SORENTO             Orlando                   FL
117747   5XYPG4A59KG572984   Kia          SORENTO             Elkridge                  MD
117748   5XYPG4A59LG611803   Kia          SORENTO             DALLAS                    TX
117749   5XYPG4A59LG611817   Kia          SORENTO             DALLAS                    TX
117750   5XYPG4A59LG611820   Kia          SORENTO             KANSAS CITY               MO
117751   5XYPG4A59LG611834   Kia          SORENTO             AUSTIN                    TX
117752   5XYPG4A59LG611882   Kia          SORENTO             CORPUS CHRISTI            TX
117753   5XYPG4A59LG612241   Kia          SORENTO             KANSAS CITY               MO
117754   5XYPG4A59LG612272   Kia          SORENTO             CHICAGO                   IL
117755   5XYPG4A59LG612319   Kia          SORENTO             COLUMBUS                  OH
117756   5XYPG4A59LG612921   Kia          SORENTO             HOUSTON                   TX
117757   5XYPG4A59LG613082   Kia          SORENTO             Birmingham                AL
117758   5XYPG4A59LG615219   Kia          SORENTO             CHICAGO                   IL
117759   5XYPG4A59LG615513   Kia          SORENTO             LEXINGTON                 KY
117760   5XYPG4A59LG615818   Kia          SORENTO             LOUISVILLE                KY
117761   5XYPG4A59LG615981   Kia          SORENTO             Atlanta                   GA
117762   5XYPG4A59LG616113   Kia          SORENTO             DETROIT                   MI
117763   5XYPG4A59LG616127   Kia          SORENTO             CLEVELAND                 OH
117764   5XYPG4A59LG616130   Kia          SORENTO             SHREVEPORT                LA
117765   5XYPG4A59LG616158   Kia          SORENTO             LYNCHBURG                 VA
117766   5XYPG4A59LG616418   Kia          SORENTO             LOUISVILLE                KY
117767   5XYPG4A59LG616435   Kia          SORENTO             KNOXVILLE                 TN
117768   5XYPG4A59LG619741   Kia          SORENTO             LOS ANGELES               CA
117769   5XYPG4A59LG619805   Kia          SORENTO             ORANGE COUNTY             CA
117770   5XYPG4A59LG619870   Kia          SORENTO             PHOENIX                   AZ
117771   5XYPG4A59LG619884   Kia          SORENTO             PALM SPRINGS              CA
117772   5XYPG4A59LG619982   Kia          SORENTO             PHOENIX                   AZ
117773   5XYPG4A59LG620002   Kia          SORENTO             SANTA CLARA               CA
117774   5XYPG4A59LG620081   Kia          SORENTO             BURBANK                   CA
117775   5XYPG4A59LG620114   Kia          SORENTO             LAS VEGAS                 NV
117776   5XYPG4A59LG620176   Kia          SORENTO             ALBUQUERQUE               NM
117777   5XYPG4A59LG621019   Kia          SORENTO             KNOXVILLE                 TN
117778   5XYPG4A59LG622039   Kia          SORENTO             ONTARIO                   CA
117779   5XYPG4A59LG622106   Kia          SORENTO             LOS ANGELES               CA
117780   5XYPG4A59LG622123   Kia          SORENTO             LAS VEGAS                 NV
117781   5XYPG4A59LG622171   Kia          SORENTO             EL PASO                   TX
117782   5XYPG4A59LG622204   Kia          SORENTO             ALBUQUERQUE               NM
117783   5XYPG4A59LG622218   Kia          SORENTO             PHOENIX                   AZ
117784   5XYPG4A59LG622378   Kia          SORENTO             PHOENIX                   AZ
117785   5XYPG4A59LG622445   Kia          SORENTO             PHOENIX                   AZ
117786   5XYPG4A59LG622736   Kia          SORENTO             PHOENIX                   AZ
117787   5XYPG4A59LG622848   Kia          SORENTO             PHOENIX                   AZ
117788   5XYPG4A59LG622851   Kia          SORENTO             PHOENIX                   AZ
117789   5XYPG4A59LG622946   Kia          SORENTO             PHOENIX                   AZ
117790   5XYPG4A59LG625393   Kia          SORENTO             TUCSON                    AZ
117791   5XYPG4A59LG625667   Kia          SORENTO             PHOENIX                   AZ
117792   5XYPG4A59LG625877   Kia          SORENTO             LAS VEGAS                 NV
117793   5XYPG4A59LG626320   Kia          SORENTO             PHOENIX                   AZ
117794   5XYPG4A59LG626639   Kia          SORENTO             PHOENIX                   AZ
117795   5XYPG4A59LG626656   Kia          SORENTO             LOS ANGELES               CA
117796   5XYPG4A59LG626804   Kia          SORENTO             TUCSON                    AZ
117797   5XYPG4A59LG627080   Kia          SORENTO             PHOENIX                   AZ
117798   5XYPG4A59LG627094   Kia          SORENTO             PHOENIX                   AZ
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117799   5XYPG4A59LG627161   Kia          SORENTO             KNOXVILLE                 TN
117800   5XYPG4A59LG627595   Kia          SORENTO             Scottsdale                AZ
117801   5XYPG4A59LG627743   Kia          SORENTO             Lebanon                   TN
117802   5XYPG4A59LG630772   Kia          SORENTO             Leesburg                  VA
117803   5XYPG4A5XKG465541   Kia          SORENTO             Lake Elsinore             CA
117804   5XYPG4A5XKG467922   Kia          SORENTO             SANTA ANA                 CA
117805   5XYPG4A5XKG482128   Kia          SORENTO             PHOENIX                   AZ
117806   5XYPG4A5XKG482209   Kia          SORENTO             ATLANTA                   GA
117807   5XYPG4A5XKG482243   Kia          SORENTO             Tulsa                     OK
117808   5XYPG4A5XKG482811   Kia          SORENTO             Cleveland                 OH
117809   5XYPG4A5XKG483392   Kia          SORENTO             DALLAS                    TX
117810   5XYPG4A5XKG483585   Kia          SORENTO             TAMPA                     US
117811   5XYPG4A5XKG483909   Kia          SORENTO             SAVANNAH                  GA
117812   5XYPG4A5XKG484445   Kia          SORENTO             GUNNISON                  CO
117813   5XYPG4A5XKG484459   Kia          SORENTO             Newark                    NJ
117814   5XYPG4A5XKG489452   Kia          SORENTO             FORT MYERS                FL
117815   5XYPG4A5XKG489810   Kia          SORENTO             ORLANDO                   FL
117816   5XYPG4A5XKG490097   Kia          SORENTO             Phoenix                   AZ
117817   5XYPG4A5XKG551089   Kia          SORENTO             FORT MYERS                FL
117818   5XYPG4A5XKG551092   Kia          SORENTO             GREENSBORO                NC
117819   5XYPG4A5XKG553411   Kia          SORENTO             Orlando                   FL
117820   5XYPG4A5XKG581144   Kia          SORENTO             SOUTHEAST DST OFFC        OK
117821   5XYPG4A5XLG612295   Kia          SORENTO             SHREVEPORT                LA
117822   5XYPG4A5XLG612331   Kia          SORENTO             KENNER                    LA
117823   5XYPG4A5XLG613088   Kia          SORENTO             Statesville               NC
117824   5XYPG4A5XLG613091   Kia          SORENTO             BIRMINGHAN                AL
117825   5XYPG4A5XLG613155   Kia          SORENTO             FORT MYERS                FL
117826   5XYPG4A5XLG613320   Kia          SORENTO             LOUISVILLE                KY
117827   5XYPG4A5XLG613558   Kia          SORENTO             SEATAC                    WA
117828   5XYPG4A5XLG615181   Kia          SORENTO             BLOOMINGTON               IL
117829   5XYPG4A5XLG615472   Kia          SORENTO             FORT MYERS                FL
117830   5XYPG4A5XLG615598   Kia          SORENTO             FORT MYERS                FL
117831   5XYPG4A5XLG615830   Kia          SORENTO             Atlanta                   GA
117832   5XYPG4A5XLG615956   Kia          SORENTO             LOS ANGELES               CA
117833   5XYPG4A5XLG616105   Kia          SORENTO             NEWARK                    NJ
117834   5XYPG4A5XLG616122   Kia          SORENTO             BIRMINGHAM                AL
117835   5XYPG4A5XLG616265   Kia          SORENTO             PORTLAND                  OR
117836   5XYPG4A5XLG616301   Kia          SORENTO             HOUSTON                   TX
117837   5XYPG4A5XLG616508   Kia          SORENTO             LOUISVILLE                KY
117838   5XYPG4A5XLG619537   Kia          SORENTO             LOS ANGELES               CA
117839   5XYPG4A5XLG619568   Kia          SORENTO             PHOENIX                   AZ
117840   5XYPG4A5XLG619649   Kia          SORENTO             LAS VEGAS                 NV
117841   5XYPG4A5XLG619652   Kia          SORENTO             PHOENIX                   AZ
117842   5XYPG4A5XLG620171   Kia          SORENTO             SAN DIEGO                 CA
117843   5XYPG4A5XLG620185   Kia          SORENTO             BURBANK                   CA
117844   5XYPG4A5XLG620221   Kia          SORENTO             LOS ANGELES               CA
117845   5XYPG4A5XLG620235   Kia          SORENTO             PHOENIX                   AZ
117846   5XYPG4A5XLG620459   Kia          SORENTO             PHOENIX                   AZ
117847   5XYPG4A5XLG620462   Kia          SORENTO             PHOENIX                   AZ
117848   5XYPG4A5XLG620574   Kia          SORENTO             PHOENIX                   AZ
117849   5XYPG4A5XLG620610   Kia          SORENTO             LAS VEGAS                 NV
117850   5XYPG4A5XLG621000   Kia          SORENTO             PHOENIX                   AZ
117851   5XYPG4A5XLG621904   Kia          SORENTO             LOS ANGELES               CA
117852   5XYPG4A5XLG621966   Kia          SORENTO             PHOENIX                   AZ
117853   5XYPG4A5XLG621983   Kia          SORENTO             PHOENIX                   AZ
117854   5XYPG4A5XLG622051   Kia          SORENTO             PHOENIX                   AZ
117855   5XYPG4A5XLG622115   Kia          SORENTO             PHOENIX                   AZ
117856   5XYPG4A5XLG622180   Kia          SORENTO             PHOENIX                   AZ
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117857   5XYPG4A5XLG622261   Kia         SORENTO             ALBUQERQUE                NM
117858   5XYPG4A5XLG622311   Kia         SORENTO             PHOENIX                   AZ
117859   5XYPG4A5XLG622356   Kia         SORENTO             TUCSON                    AZ
117860   5XYPG4A5XLG622499   Kia         SORENTO             TUCSON                    AZ
117861   5XYPG4A5XLG622793   Kia         SORENTO             TUCSON                    AZ
117862   5XYPG4A5XLG622809   Kia         SORENTO             ALBUQUERQUE               NM
117863   5XYPG4A5XLG622812   Kia         SORENTO             ALBUQUERQUE               NM
117864   5XYPG4A5XLG622941   Kia         SORENTO             PHOENIX                   AZ
117865   5XYPG4A5XLG623233   Kia         SORENTO             Phoenix                   AZ
117866   5XYPG4A5XLG625662   Kia         SORENTO             LOS ANGELES               CA
117867   5XYPG4A5XLG625998   Kia         SORENTO             PHOENIX                   AZ
117868   5XYPG4A5XLG626097   Kia         SORENTO             PHOENIX                   AZ
117869   5XYPG4A5XLG626505   Kia         SORENTO             PHOENIX                   AZ
117870   5XYPG4A5XLG626813   Kia         SORENTO             LOS ANGELES               CA
117871   5XYPG4A5XLG627475   Kia         SORENTO             FORT MYERS                FL
117872   5XYPG4A5XLG630019   Kia         SORENTO             LAS VEGAS                 NV
117873   5XYPG4A5XLG630103   Kia         SORENTO             FORT MYERS                FL
117874   5XYPG4A5XLG630439   Kia         SORENTO             FORT MYERS                FL
117875   5XYPGDA30GG170812   Kia         SORENTO             New Stanton               PA
117876   5XYPGDA50JG371201   Kia         SORENTO             Fontana                   CA
117877   5XYPGDA50JG418758   Kia         SORENTO             Slidell                   LA
117878   5XYPGDA50KG458310   Kia         SORENTO             PORTLAND                  OR
117879   5XYPGDA50KG461949   Kia         SORENTO             Carleton                  MI
117880   5XYPGDA50KG466259   Kia         SORENTO             SALT LAKE CITY            US
117881   5XYPGDA50KG468254   Kia         SORENTO             LOS ANGELES               CA
117882   5XYPGDA50KG468609   Kia         SORENTO             PHOENIX                   AZ
117883   5XYPGDA50KG468772   Kia         SORENTO             Pheonix                   AZ
117884   5XYPGDA50KG476080   Kia         SORENTO             AUSTIN                    TX
117885   5XYPGDA50KG476614   Kia         SORENTO             Lexington                 KY
117886   5XYPGDA50KG477309   Kia         SORENTO             ORLANDO                   FL
117887   5XYPGDA50KG482753   Kia         SORENTO             Hanover                   MD
117888   5XYPGDA50KG484888   Kia         SORENTO             North Dighton             MA
117889   5XYPGDA50KG536813   Kia         SORENTO             WHITE PLAINS              NY
117890   5XYPGDA50KG537427   Kia         SORENTO             DALLAS                    TX
117891   5XYPGDA50KG546290   Kia         SORENTO             CLEVELAND                 OH
117892   5XYPGDA50KG546404   Kia         SORENTO             Sterling                  VA
117893   5XYPGDA50KG547021   Kia         SORENTO             Winston‐Salem             NC
117894   5XYPGDA50KG551389   Kia         SORENTO             STERLING                  VA
117895   5XYPGDA50LG614105   Kia         SORENTO             DALLAS                    TX
117896   5XYPGDA50LG614489   Kia         SORENTO             SAN FRANCISCO             CA
117897   5XYPGDA50LG615156   Kia         SORENTO             SEATAC                    WA
117898   5XYPGDA50LG615335   Kia         SORENTO             Portland                  OR
117899   5XYPGDA50LG617361   Kia         SORENTO             SEATAC                    WA
117900   5XYPGDA50LG617389   Kia         SORENTO             PORTLAND                  OR
117901   5XYPGDA50LG618056   Kia         SORENTO             LOS ANGELES               CA
117902   5XYPGDA50LG619014   Kia         SORENTO             LOS ANGELES               CA
117903   5XYPGDA50LG620132   Kia         SORENTO             INGLEWOOD                 CA
117904   5XYPGDA51JG376259   Kia         SORENTO             Ocoee                     FL
117905   5XYPGDA51JG416792   Kia         SORENTO             Ft. Myers                 FL
117906   5XYPGDA51JG420101   Kia         SORENTO             Dallas                    TX
117907   5XYPGDA51KG445260   Kia         SORENTO             NEWARK                    NJ
117908   5XYPGDA51KG454265   Kia         SORENTO             Riverside                 CA
117909   5XYPGDA51KG454783   Kia         SORENTO             ORLANDO                   FL
117910   5XYPGDA51KG457828   Kia         SORENTO             MARIETTA                  GA
117911   5XYPGDA51KG464679   Kia         SORENTO             SALT LAKE CITY            UT
117912   5XYPGDA51KG464908   Kia         SORENTO             CHARLOTTE                 NC
117913   5XYPGDA51KG466688   Kia         SORENTO             Las Vegas                 NV
117914   5XYPGDA51KG466836   Kia         SORENTO             LAS VEGAS                 NV
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117915   5XYPGDA51KG467422   Kia          SORENTO             Tolleson                  AZ
117916   5XYPGDA51KG467470   Kia          SORENTO             DENVER                    CO
117917   5XYPGDA51KG467789   Kia          SORENTO             SAN DIEGO                 CA
117918   5XYPGDA51KG467808   Kia          SORENTO             PHOENIX                   AZ
117919   5XYPGDA51KG468201   Kia          SORENTO             FORT MYERS                FL
117920   5XYPGDA51KG468456   Kia          SORENTO             DENVER                    CO
117921   5XYPGDA51KG468800   Kia          SORENTO             LAS VEGAS                 NV
117922   5XYPGDA51KG469221   Kia          SORENTO             GRAND RAPIDS              MI
117923   5XYPGDA51KG469784   Kia          SORENTO             Denver                    CO
117924   5XYPGDA51KG469929   Kia          SORENTO             RONKONKOMA                NY
117925   5XYPGDA51KG472216   Kia          SORENTO             DENVER                    CO
117926   5XYPGDA51KG474824   Kia          SORENTO             Maple Grove               MN
117927   5XYPGDA51KG475844   Kia          SORENTO             Coraopolis                PA
117928   5XYPGDA51KG482079   Kia          SORENTO             DENVER                    CO
117929   5XYPGDA51KG527781   Kia          SORENTO             FORT MYERS                FL
117930   5XYPGDA51KG545181   Kia          SORENTO             AUSTIN                    TX
117931   5XYPGDA51KG551448   Kia          SORENTO             CONYERS                   GA
117932   5XYPGDA51LG613240   Kia          SORENTO             ANGOLA                    NY
117933   5XYPGDA51LG614307   Kia          SORENTO             FAYETTEVILLE              GA
117934   5XYPGDA51LG617367   Kia          SORENTO             PORTLAND                  OR
117935   5XYPGDA51LG617370   Kia          SORENTO             PORTLAND                  OR
117936   5XYPGDA51LG617496   Kia          SORENTO             PORTLAND                  OR
117937   5XYPGDA52JG371474   Kia          SORENTO             Fontana                   CA
117938   5XYPGDA52JG371703   Kia          SORENTO             SAN FRANCISCO             CA
117939   5XYPGDA52JG421211   Kia          SORENTO             PHOENIX                   AZ
117940   5XYPGDA52KG455862   Kia          SORENTO             Pasadena                  CA
117941   5XYPGDA52KG456123   Kia          SORENTO             PHOENIX                   AZ
117942   5XYPGDA52KG456784   Kia          SORENTO             Lake Elsinore             CA
117943   5XYPGDA52KG456896   Kia          SORENTO             COLUMBUS                  OH
117944   5XYPGDA52KG459779   Kia          SORENTO             Webster                   NY
117945   5XYPGDA52KG464948   Kia          SORENTO             SAN JOSE                  CA
117946   5XYPGDA52KG466778   Kia          SORENTO             LOS ANGELES               CA
117947   5XYPGDA52KG467476   Kia          SORENTO             DENVER                    CO
117948   5XYPGDA52KG467915   Kia          SORENTO             Salt Lake City            UT
117949   5XYPGDA52KG468000   Kia          SORENTO             SOUTH SAN FRANC           CA
117950   5XYPGDA52KG468806   Kia          SORENTO             Salt Lake City            UT
117951   5XYPGDA52KG469602   Kia          SORENTO             LOS ANGELES               CA
117952   5XYPGDA52KG470202   Kia          SORENTO             Austell                   GA
117953   5XYPGDA52KG471303   Kia          SORENTO             Smithtown                 NY
117954   5XYPGDA52KG476470   Kia          SORENTO             CASTLE ROCK               CO
117955   5XYPGDA52KG482057   Kia          SORENTO             Warminster                PA
117956   5XYPGDA52KG483192   Kia          SORENTO             ELLWOOD CITY              PA
117957   5XYPGDA52KG528440   Kia          SORENTO             ATLANTA AP                GA
117958   5XYPGDA52KG530365   Kia          SORENTO             Sterling                  VA
117959   5XYPGDA52KG534190   Kia          SORENTO             DICKINSON AP              ND
117960   5XYPGDA52KG549434   Kia          SORENTO             SAINT LOUIS               MO
117961   5XYPGDA52KG551135   Kia          SORENTO             SANDSTON                  VA
117962   5XYPGDA52KG551457   Kia          SORENTO             Newark                    NJ
117963   5XYPGDA52KG552284   Kia          SORENTO             HOUSTON                   TX
117964   5XYPGDA52KG552902   Kia          SORENTO             SAN DIEGO                 CA
117965   5XYPGDA52KG571479   Kia          SORENTO             Philadelphia              PA
117966   5XYPGDA52LG612212   Kia          SORENTO             RONKONKOMA                NY
117967   5XYPGDA52LG614977   Kia          SORENTO             LAKEWOOD                  WA
117968   5XYPGDA52LG615336   Kia          SORENTO             LAS VEGAS                 NV
117969   5XYPGDA52LG617393   Kia          SORENTO             PORTLAND                  OR
117970   5XYPGDA52LG617443   Kia          SORENTO             SEA TAC                   WA
117971   5XYPGDA52LG617488   Kia          SORENTO             PORTLAND                  OR
117972   5XYPGDA52LG617555   Kia          SORENTO             LAS VEGAS                 NV
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117973   5XYPGDA52LG617569   Kia          SORENTO             PORTLAND                  OR
117974   5XYPGDA52LG617619   Kia          SORENTO             SEATAC                    WA
117975   5XYPGDA53JG371693   Kia          SORENTO             KAUAI                     HI
117976   5XYPGDA53KG455076   Kia          SORENTO             OAKLAND                   CA
117977   5XYPGDA53KG456471   Kia          SORENTO             MONTEREY                  CA
117978   5XYPGDA53KG467194   Kia          SORENTO             Anaheim                   CA
117979   5XYPGDA53KG468233   Kia          SORENTO             PORTLAND                  OR
117980   5XYPGDA53KG468247   Kia          SORENTO             ROSWELL                   GA
117981   5XYPGDA53KG469236   Kia          SORENTO             LOS ANGELES AP            CA
117982   5XYPGDA53KG469608   Kia          SORENTO             Anaheim                   CA
117983   5XYPGDA53KG471441   Kia          SORENTO             Denver                    CO
117984   5XYPGDA53KG471861   Kia          SORENTO             BOISE                     US
117985   5XYPGDA53KG472816   Kia          SORENTO             DENVER                    CO
117986   5XYPGDA53KG477062   Kia          SORENTO             Des Moines                IA
117987   5XYPGDA53KG482522   Kia          SORENTO             North Billerica           MA
117988   5XYPGDA53KG522971   Kia          SORENTO             DETROIT                   MI
117989   5XYPGDA53KG522985   Kia          SORENTO             Salt Lake City            UT
117990   5XYPGDA53KG523005   Kia          SORENTO             WARWICK                   RI
117991   5XYPGDA53KG551368   Kia          SORENTO             Indianapolis              IN
117992   5XYPGDA53KG551872   Kia          SORENTO             SARASOTA                  FL
117993   5XYPGDA53KG552018   Kia          SORENTO             Philadelphia              PA
117994   5XYPGDA53KG553265   Kia          SORENTO             NORFOLK                   VA
117995   5XYPGDA53KG553427   Kia          SORENTO             Coraopolis                PA
117996   5XYPGDA53KG553444   Kia          SORENTO             LOS ANGELES               CA
117997   5XYPGDA53KG554030   Kia          SORENTO             MILWAUKEE                 WI
117998   5XYPGDA53KG554173   Kia          SORENTO             CHICAGO                   IL
117999   5XYPGDA53LG614390   Kia          SORENTO             ONTARIO                   CA
118000   5XYPGDA53LG614406   Kia          SORENTO             Reno                      NV
118001   5XYPGDA53LG615328   Kia          SORENTO             PORTLAND                  OR
118002   5XYPGDA53LG617354   Kia          SORENTO             SEATAC                    WA
118003   5XYPGDA53LG617385   Kia          SORENTO             FEDERAL WAY               WA
118004   5XYPGDA53LG617452   Kia          SORENTO             SEATAC                    WA
118005   5XYPGDA53LG620058   Kia          SORENTO             SAN DIEGO                 CA
118006   5XYPGDA54KG455443   Kia          SORENTO             INGLEWOOD                 CA
118007   5XYPGDA54KG456480   Kia          SORENTO             TRACY                     CA
118008   5XYPGDA54KG461274   Kia          SORENTO             FORT MYERS                FL
118009   5XYPGDA54KG466247   Kia          SORENTO             LOS ANGELES AP            CA
118010   5XYPGDA54KG466605   Kia          SORENTO             DENVER                    CO
118011   5XYPGDA54KG467480   Kia          SORENTO             ORANGE COUNTY             CA
118012   5XYPGDA54KG468788   Kia          SORENTO             EULESS                    TX
118013   5XYPGDA54KG469164   Kia          SORENTO             SALT LAKE CITY            UT
118014   5XYPGDA54KG469598   Kia          SORENTO             Anaheim                   CA
118015   5XYPGDA54KG469925   Kia          SORENTO             DENVER                    CO
118016   5XYPGDA54KG470444   Kia          SORENTO             LOS ANGELES               CA
118017   5XYPGDA54KG476132   Kia          SORENTO             DETROIT                   MI
118018   5XYPGDA54KG476857   Kia          SORENTO             ST Paul                   MN
118019   5XYPGDA54KG477488   Kia          SORENTO             PETALUMA                  CA
118020   5XYPGDA54KG482920   Kia          SORENTO             SANTA CLARA               CA
118021   5XYPGDA54KG537267   Kia          SORENTO             DENVER                    CO
118022   5XYPGDA54KG549452   Kia          SORENTO             MILWAUKEE                 WI
118023   5XYPGDA54KG550620   Kia          SORENTO             LOUISVILLE                KY
118024   5XYPGDA54KG550861   Kia          SORENTO             Teterboro                 NJ
118025   5XYPGDA54KG550908   Kia          SORENTO             KNOXVILLE                 TN
118026   5XYPGDA54KG551671   Kia          SORENTO             BOSTON                    MA
118027   5XYPGDA54KG551962   Kia          SORENTO             BRONX                     NY
118028   5XYPGDA54KG552352   Kia          SORENTO             Philadelphia              PA
118029   5XYPGDA54LG614804   Kia          SORENTO             PORTLAND                  OR
118030   5XYPGDA54LG615029   Kia          SORENTO             MEMPHIS                   TN
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118031   5XYPGDA54LG617332   Kia          SORENTO             PALM SPRINGS              CA
118032   5XYPGDA54LG617346   Kia          SORENTO             SEATAC                    WA
118033   5XYPGDA54LG617427   Kia          SORENTO             SAN FRANCISCO             CA
118034   5XYPGDA54LG617489   Kia          SORENTO             OAKLAND                   CA
118035   5XYPGDA54LG618674   Kia          SORENTO             SACRAMENTO                CA
118036   5XYPGDA54LG620277   Kia          SORENTO             PALM SPRINGS              CA
118037   5XYPGDA54LG620344   Kia          SORENTO             LOS ANGELES               CA
118038   5XYPGDA54LG620585   Kia          SORENTO             SAN DIEGO                 CA
118039   5XYPGDA55JG373493   Kia          SORENTO             SAN FRANCISCO             CA
118040   5XYPGDA55JG374031   Kia          SORENTO             EWA BEACH                 HI
118041   5XYPGDA55JG421249   Kia          SORENTO             BALTIMORE                 MD
118042   5XYPGDA55KG455015   Kia          SORENTO             SAN DIEGO                 CA
118043   5XYPGDA55KG455614   Kia          SORENTO             SAN DIEGO                 CA
118044   5XYPGDA55KG456617   Kia          SORENTO             FEDERAL WAY               WA
118045   5XYPGDA55KG456973   Kia          SORENTO             LAS VEGAS                 NV
118046   5XYPGDA55KG457623   Kia          SORENTO             NEW ORLEANS               LA
118047   5XYPGDA55KG458108   Kia          SORENTO             Oklahoma City             OK
118048   5XYPGDA55KG465608   Kia          SORENTO             SACRAMENTO                CA
118049   5XYPGDA55KG466628   Kia          SORENTO             Mt. Juliet                TN
118050   5XYPGDA55KG467343   Kia          SORENTO             DENVER                    CO
118051   5XYPGDA55KG468198   Kia          SORENTO             Tolleson                  AZ
118052   5XYPGDA55KG469903   Kia          SORENTO             PHOENIX                   AZ
118053   5XYPGDA55KG482098   Kia          SORENTO             PHOENIX                   AZ
118054   5XYPGDA55KG482795   Kia          SORENTO             HOUSTON                   TX
118055   5XYPGDA55KG483154   Kia          SORENTO             Johnston                  RI
118056   5XYPGDA55KG532286   Kia          SORENTO             OKLAHOMA CITY             OK
118057   5XYPGDA55KG545071   Kia          SORENTO             Philadelphia              PA
118058   5XYPGDA55KG545894   Kia          SORENTO             DALLAS                    TX
118059   5XYPGDA55KG551503   Kia          SORENTO             MILWAUKEE                 WI
118060   5XYPGDA55KG552263   Kia          SORENTO             FRESNO                    CA
118061   5XYPGDA55LG613662   Kia          SORENTO             Reno                      NV
118062   5XYPGDA55LG614472   Kia          SORENTO             DALLAS                    TX
118063   5XYPGDA55LG617436   Kia          SORENTO             PORTLAND                  OR
118064   5XYPGDA55LG617470   Kia          SORENTO             SAN FRANCISCO             CA
118065   5XYPGDA55LG620286   Kia          SORENTO             LOS ANGELES               CA
118066   5XYPGDA55LG620711   Kia          SORENTO             LOS ANGELES               CA
118067   5XYPGDA56JG371817   Kia          SORENTO             TRACY                     CA
118068   5XYPGDA56KG456884   Kia          SORENTO             PHOENIX                   AZ
118069   5XYPGDA56KG457002   Kia          SORENTO             Fredericksburg            VA
118070   5XYPGDA56KG457632   Kia          SORENTO             Colorado Spring           CO
118071   5XYPGDA56KG458117   Kia          SORENTO             LOS ANGELES               CA
118072   5XYPGDA56KG458313   Kia          SORENTO             Las Vegas                 NV
118073   5XYPGDA56KG458392   Kia          SORENTO             FRESNO                    CA
118074   5XYPGDA56KG459056   Kia          SORENTO             West Bountiful            UT
118075   5XYPGDA56KG466251   Kia          SORENTO             DENVER                    CO
118076   5XYPGDA56KG467187   Kia          SORENTO             DENVER                    CO
118077   5XYPGDA56KG467433   Kia          SORENTO             BURBANK                   CA
118078   5XYPGDA56KG467531   Kia          SORENTO             Nashville                 TN
118079   5XYPGDA56KG467819   Kia          SORENTO             ORLANDO                   FL
118080   5XYPGDA56KG468548   Kia          SORENTO             SAN DIEGO                 CA
118081   5XYPGDA56KG469098   Kia          SORENTO             DENVER                    CO
118082   5XYPGDA56KG469649   Kia          SORENTO             San Diego                 CA
118083   5XYPGDA56KG470090   Kia          SORENTO             KILLEEN                   TX
118084   5XYPGDA56KG472664   Kia          SORENTO             AUSTIN                    TX
118085   5XYPGDA56KG475208   Kia          SORENTO             FORT LAUDERDALE           FL
118086   5XYPGDA56KG476696   Kia          SORENTO             Hanover                   MD
118087   5XYPGDA56KG477055   Kia          SORENTO             ORLANDO                   FL
118088   5XYPGDA56KG481042   Kia          SORENTO             SARASOTA                  FL
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118089   5XYPGDA56KG521698   Kia          SORENTO             JACKSONVILLE              FL
118090   5XYPGDA56KG530997   Kia          SORENTO             SALT LAKE CITY            UT
118091   5XYPGDA56KG538646   Kia          SORENTO             Teterboro                 NJ
118092   5XYPGDA56KG545094   Kia          SORENTO             Teterboro                 NJ
118093   5XYPGDA56LG617364   Kia          SORENTO             SEATAC                    WA
118094   5XYPGDA56LG617493   Kia          SORENTO             PORTLAND                  OR
118095   5XYPGDA56LG617803   Kia          SORENTO             PORTLAND                  OR
118096   5XYPGDA56LG617865   Kia          SORENTO             SAN FRANCISCO             CA
118097   5XYPGDA56LG620281   Kia          SORENTO             BURBANK                   CA
118098   5XYPGDA56LG620720   Kia          SORENTO             Buena Park                CA
118099   5XYPGDA57JG373494   Kia          SORENTO             SAN FRANCISCO             CA
118100   5XYPGDA57KG454139   Kia          SORENTO             DENVER                    CO
118101   5XYPGDA57KG457638   Kia          SORENTO             Santa Clara               CA
118102   5XYPGDA57KG457915   Kia          SORENTO             DENVER                    CO
118103   5XYPGDA57KG466887   Kia          SORENTO             Anaheim                   CA
118104   5XYPGDA57KG467425   Kia          SORENTO             North Las Vegas           NV
118105   5XYPGDA57KG468199   Kia          SORENTO             SACRAMENTO                CA
118106   5XYPGDA57KG469031   Kia          SORENTO             Norwalk                   CA
118107   5XYPGDA57KG469210   Kia          SORENTO             CLEVELAND                 OH
118108   5XYPGDA57KG469224   Kia          SORENTO             DENVER                    CO
118109   5XYPGDA57KG469529   Kia          SORENTO             Norwalk                   CA
118110   5XYPGDA57KG469627   Kia          SORENTO             CHICAGO                   IL
118111   5XYPGDA57KG470003   Kia          SORENTO             DENVER                    CO
118112   5XYPGDA57KG470079   Kia          SORENTO             GRAND RAPIDS              MI
118113   5XYPGDA57KG475444   Kia          SORENTO             SAN DIEGO                 CA
118114   5XYPGDA57KG475959   Kia          SORENTO             Plainfield                IN
118115   5XYPGDA57KG476139   Kia          SORENTO             Winston‐Salem             NC
118116   5XYPGDA57KG476187   Kia          SORENTO             ROSWELL                   GA
118117   5XYPGDA57KG481051   Kia          SORENTO             St. Louis                 MO
118118   5XYPGDA57KG482510   Kia          SORENTO             FAYETTEVILLE              GA
118119   5XYPGDA57KG482779   Kia          SORENTO             KNOXVILLE                 TN
118120   5XYPGDA57KG483186   Kia          SORENTO             PHILADELPHIA              PA
118121   5XYPGDA57KG483365   Kia          SORENTO             Smithtown                 NY
118122   5XYPGDA57KG547324   Kia          SORENTO             TAMPA                     US
118123   5XYPGDA57KG550580   Kia          SORENTO             Sacramento                CA
118124   5XYPGDA57LG614490   Kia          SORENTO             EL PASO                   US
118125   5XYPGDA57LG615185   Kia          SORENTO             SACRAMENTO                CA
118126   5XYPGDA57LG617339   Kia          SORENTO             Reno                      NV
118127   5XYPGDA57LG617342   Kia          SORENTO             LA HABRA                  CA
118128   5XYPGDA57LG617406   Kia          SORENTO             SEATAC                    WA
118129   5XYPGDA57LG617423   Kia          SORENTO             SACRAMENTO                CA
118130   5XYPGDA57LG617616   Kia          SORENTO             SEATAC                    WA
118131   5XYPGDA58JG372645   Kia          SORENTO             Sterling                  VA
118132   5XYPGDA58JG392040   Kia          SORENTO             Plainfield                IN
118133   5XYPGDA58KG454456   Kia          SORENTO             DAYTONA BEACH             FL
118134   5XYPGDA58KG454778   Kia          SORENTO             Longmont                  CO
118135   5XYPGDA58KG455414   Kia          SORENTO             WEST PALM BEACH           FL
118136   5XYPGDA58KG455624   Kia          SORENTO             CHARLOTTE                 NC
118137   5XYPGDA58KG455820   Kia          SORENTO             FRESNO                    CA
118138   5XYPGDA58KG456465   Kia          SORENTO             SANTA BARBARA             CA
118139   5XYPGDA58KG465621   Kia          SORENTO             LOS ANGELES AP            CA
118140   5XYPGDA58KG467269   Kia          SORENTO             Winter Park               FL
118141   5XYPGDA58KG468857   Kia          SORENTO             DENVER                    CO
118142   5XYPGDA58KG469832   Kia          SORENTO             GYPSUM                    CO
118143   5XYPGDA58KG469880   Kia          SORENTO             Manheim                   PA
118144   5XYPGDA58KG470222   Kia          SORENTO             DENVER                    CO
118145   5XYPGDA58KG472827   Kia          SORENTO             DENVER                    CO
118146   5XYPGDA58KG472875   Kia          SORENTO             PHOENIX                   AZ
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118147   5XYPGDA58KG480099   Kia          SORENTO             SOUTHEAST DST OFFC        OK
118148   5XYPGDA58KG481009   Kia          SORENTO             DAYTONA BEACH             FL
118149   5XYPGDA58KG482340   Kia          SORENTO             Savannah                  GA
118150   5XYPGDA58KG531391   Kia          SORENTO             Webster                   NY
118151   5XYPGDA58KG536185   Kia          SORENTO             DETROIT                   MI
118152   5XYPGDA58KG538647   Kia          SORENTO             Medford                   NY
118153   5XYPGDA58KG546263   Kia          SORENTO             Phoenix                   AZ
118154   5XYPGDA58KG550586   Kia          SORENTO             FORT MYERS                FL
118155   5XYPGDA58KG551057   Kia          SORENTO             Los Angeles               CA
118156   5XYPGDA58KG552659   Kia          SORENTO             ALBANY                    N
118157   5XYPGDA58KG552886   Kia          SORENTO             MEMPHIS                   TN
118158   5XYPGDA58KG570322   Kia          SORENTO             Philadelphia              PA
118159   5XYPGDA58LG613672   Kia          SORENTO             New Britain               CT
118160   5XYPGDA58LG614398   Kia          SORENTO             PORTLAND                  OR
118161   5XYPGDA58LG614479   Kia          SORENTO             SACRAMENTO                CA
118162   5XYPGDA58LG615325   Kia          SORENTO             SEATAC                    WA
118163   5XYPGDA58LG617396   Kia          SORENTO             FRESNO                    CA
118164   5XYPGDA58LG617477   Kia          SORENTO             SAN DIEGO                 CA
118165   5XYPGDA58LG617821   Kia          SORENTO             LOS ANGELES               CA
118166   5XYPGDA58LG618158   Kia          SORENTO             PALM SPRINGS              CA
118167   5XYPGDA58LG620623   Kia          SORENTO             SANTA CLARA               CA
118168   5XYPGDA59JG367423   Kia          SORENTO             Fredericksburg            VA
118169   5XYPGDA59JG419651   Kia          SORENTO             Chicago                   IL
118170   5XYPGDA59KG455308   Kia          SORENTO             WOODLAND HILLS            CA
118171   5XYPGDA59KG457429   Kia          SORENTO             LOS ANGELES               CA
118172   5XYPGDA59KG458211   Kia          SORENTO             LOS ANGELES               CA
118173   5XYPGDA59KG458435   Kia          SORENTO             SANTA ANA                 CA
118174   5XYPGDA59KG467281   Kia          SORENTO             Hayward                   CA
118175   5XYPGDA59KG467815   Kia          SORENTO             PITTSBURGH                PA
118176   5XYPGDA59KG468012   Kia          SORENTO             Mira Loma                 CA
118177   5XYPGDA59KG468219   Kia          SORENTO             TUCSON                    AZ
118178   5XYPGDA59KG468785   Kia          SORENTO             SAINT LOUIS               MO
118179   5XYPGDA59KG469662   Kia          SORENTO             Atlanta                   GA
118180   5XYPGDA59KG469807   Kia          SORENTO             DENVER                    CO
118181   5XYPGDA59KG470102   Kia          SORENTO             DENVER                    CO
118182   5XYPGDA59KG471976   Kia          SORENTO             CLEVELAND                 OH
118183   5XYPGDA59KG472304   Kia          SORENTO             PHOENIX                   AZ
118184   5XYPGDA59KG472786   Kia          SORENTO             DENVER                    CO
118185   5XYPGDA59KG482766   Kia          SORENTO             RICHMOND                  VA
118186   5XYPGDA59KG483237   Kia          SORENTO             NEWARK                    NJ
118187   5XYPGDA59LG614958   Kia          SORENTO             SACRAMENTO                CA
118188   5XYPGDA59LG617357   Kia          SORENTO             SAN FRANCISCO             CA
118189   5XYPGDA59LG617360   Kia          SORENTO             SEATAC                    WA
118190   5XYPGDA59LG617553   Kia          SORENTO             SEATAC                    WA
118191   5XYPGDA59LG617763   Kia          SORENTO             SEATAC                    WA
118192   5XYPGDA59LG617911   Kia          SORENTO             LOS ANGELES               CA
118193   5XYPGDA59LG618606   Kia          SORENTO             SANTA ANA                 CA
118194   5XYPGDA59LG619559   Kia          SORENTO             SAN FRANCISCO             CA
118195   5XYPGDA59LG620579   Kia          SORENTO             SAN JOSE                  CA
118196   5XYPGDA5XJG340747   Kia          SORENTO             Austell                   GA
118197   5XYPGDA5XJG370413   Kia          SORENTO             MORROW                    GA
118198   5XYPGDA5XKG442034   Kia          SORENTO             Manheim                   PA
118199   5XYPGDA5XKG445113   Kia          SORENTO             BOSTON                    MA
118200   5XYPGDA5XKG455091   Kia          SORENTO             Portland                  OR
118201   5XYPGDA5XKG455446   Kia          SORENTO             SEATAC                    WA
118202   5XYPGDA5XKG455690   Kia          SORENTO             LOS ANGELES               CA
118203   5XYPGDA5XKG457617   Kia          SORENTO             LOS ANGELES               CA
118204   5XYPGDA5XKG458394   Kia          SORENTO             LAS VEGAS                 NV
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118205   5XYPGDA5XKG467435   Kia           SORENTO             Tolleson                  AZ
118206   5XYPGDA5XKG467483   Kia           SORENTO             Anaheim                   CA
118207   5XYPGDA5XKG468441   Kia           SORENTO             Aurora                    CO
118208   5XYPGDA5XKG470206   Kia           SORENTO             STERLING                  VA
118209   5XYPGDA5XKG476913   Kia           SORENTO             Bridgeton                 MO
118210   5XYPGDA5XKG477382   Kia           SORENTO             Bensalem                  PA
118211   5XYPGDA5XKG483120   Kia           SORENTO             Dania                     FL
118212   5XYPGDA5XKG547317   Kia           SORENTO             FORT MYERS                FL
118213   5XYPGDA5XKG550993   Kia           SORENTO             NASHVILLE                 TN
118214   5XYPGDA5XLG613382   Kia           SORENTO             PORTLAND                  OR
118215   5XYPGDA5XLG617383   Kia           SORENTO             LAS VEGAS                 NV
118216   5XYPGDA5XLG617450   Kia           SORENTO             SEATAC                    WA
118217   5XYPGDA5XLG619022   Kia           SORENTO             LOS ANGELES               CA
118218   5XYPH4A13HG325382   Kia           SORENTO             Stockton                  CA
118219   5XYZT3LB0HG496341   Hyundai       SANTA               Columbus                  OH
118220   5XYZT3LB0JG553160   Hyundai       SANTA               BURBANK                   CA
118221   5XYZT3LB5JG527153   Hyundai       SANTA               San Diego                 CA
118222   5XYZT3LB6HG492147   Hyundai       SANTA               SANTA ANA                 CA
118223   5XYZT3LB7JG510967   Hyundai       SANTA               North Las Vegas           NV
118224   5XYZT3LB8JG568702   Hyundai       SANTA               LAS VEGAS                 NV
118225   5XYZT3LB9HG485791   Hyundai       SANTA               WEST PALM BEACH           FL
118226   5XYZT3LBXJG545325   Hyundai       SANTA               SAN JOSE                  CA
118227   5XYZU3LB2HG399123   Hyundai       SANTA               NORTH PAC                 CA
118228   5XYZU3LB4GG328133   Hyundai       SANTA               BURBANK                   CA
118229   5XYZU3LBXJG563448   Hyundai       SANTA               SANTA ANA                 CA
118230   5YFBPRHE0JP760722   Toyota        COROLLA             ORLANDO                   FL
118231   5YFBURHE0GP492207   Toyota        COROLLA             FAYETTEVILLE              GA
118232   5YFBURHE0GP523908   Toyota        COROLLA             BURBANK                   CA
118233   5YFBURHE0HP587996   Toyota        COROLLA             LAS VEGAS                 NV
118234   5YFBURHE0HP613111   Toyota        COROLLA             BOSTON                    MA
118235   5YFBURHE0HP619295   Toyota        COROLLA             Florissant                MO
118236   5YFBURHE0HP627851   Toyota        COROLLA             LAS VEGAS                 NV
118237   5YFBURHE0HP628577   Toyota        COROLLA             HAYWARD                   CA
118238   5YFBURHE0HP630622   Toyota        COROLLA             Miami                     FL
118239   5YFBURHE0HP639370   Toyota        COROLLA             BURBANK                   CA
118240   5YFBURHE0HP640745   Toyota        COROLLA             NORTH PAC                 CA
118241   5YFBURHE0HP640860   Toyota        COROLLA             LOS ANGELES               CA
118242   5YFBURHE0HP641278   Toyota        COROLLA             Dallas                    TX
118243   5YFBURHE0HP642723   Toyota        COROLLA             COLLEGE PARK              GA
118244   5YFBURHE0HP643306   Toyota        COROLLA             RIVERSIDE                 CA
118245   5YFBURHE0HP643497   Toyota        COROLLA             Hayward                   CA
118246   5YFBURHE0HP644584   Toyota        COROLLA             Fontana                   CA
118247   5YFBURHE0HP644763   Toyota        COROLLA             DFW AIRPORT               TX
118248   5YFBURHE0HP651972   Toyota        COROLLA             LOS ANGELES               CA
118249   5YFBURHE0HP652457   Toyota        COROLLA             Ventura                   CA
118250   5YFBURHE0HP656654   Toyota        COROLLA             SAN ANTONIO               TX
118251   5YFBURHE0HP657013   Toyota        COROLLA             Seattle                   WA
118252   5YFBURHE0HP674734   Toyota        COROLLA             LAS VEGAS                 NV
118253   5YFBURHE0HP675706   Toyota        COROLLA             DFW AIRPORT               TX
118254   5YFBURHE0HP676662   Toyota        COROLLA             LAS VEGAS                 NV
118255   5YFBURHE0HP682736   Toyota        COROLLA             BURBANK                   CA
118256   5YFBURHE0HP684583   Toyota        COROLLA             LOS ANGELES               CA
118257   5YFBURHE0HP686690   Toyota        COROLLA             BURBANK                   CA
118258   5YFBURHE0HP687340   Toyota        COROLLA             BURBANK                   CA
118259   5YFBURHE0HP689668   Toyota        COROLLA             SAN DIEGO                 CA
118260   5YFBURHE0HP689881   Toyota        COROLLA             SAN FRANCISCO             CA
118261   5YFBURHE0HP690349   Toyota        COROLLA             BURBANK                   CA
118262   5YFBURHE0HP703715   Toyota        COROLLA             IRVING                    TX
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118263   5YFBURHE0HP704105   Toyota       COROLLA             PHOENIX                   AZ
118264   5YFBURHE0HP706663   Toyota       COROLLA             Florissant                MO
118265   5YFBURHE0HP707487   Toyota       COROLLA             PORTLAND                  OR
118266   5YFBURHE0HP736875   Toyota       COROLLA             HOUSTON                   TX
118267   5YFBURHE0JP760812   Toyota       COROLLA             SHREVEPORT                US
118268   5YFBURHE0JP787976   Toyota       COROLLA             HAYWARD                   CA
118269   5YFBURHE0JP789436   Toyota       COROLLA             Ft. Myers                 FL
118270   5YFBURHE0JP790585   Toyota       COROLLA             LOS ANGELES               CA
118271   5YFBURHE0JP790828   Toyota       COROLLA             Miami                     FL
118272   5YFBURHE0JP790957   Toyota       COROLLA             BIRMINGHAN                AL
118273   5YFBURHE0JP790974   Toyota       COROLLA             NORTH PAC                 CA
118274   5YFBURHE0JP791218   Toyota       COROLLA             ATLANTA                   GA
118275   5YFBURHE0JP791588   Toyota       COROLLA             PHOENIX                   AZ
118276   5YFBURHE0JP791591   Toyota       COROLLA             TAMPA                     US
118277   5YFBURHE0JP791820   Toyota       COROLLA             PHOENIX                   AZ
118278   5YFBURHE0JP791879   Toyota       COROLLA             LA HARBRA                 CA
118279   5YFBURHE0JP791929   Toyota       COROLLA             TAMPA                     US
118280   5YFBURHE0JP792188   Toyota       COROLLA             Miami                     FL
118281   5YFBURHE0JP792255   Toyota       COROLLA             FT. LAUDERDALE            FL
118282   5YFBURHE0JP792787   Toyota       COROLLA             PHOENIX                   AZ
118283   5YFBURHE0JP792837   Toyota       COROLLA             PHOENIX                   AZ
118284   5YFBURHE0JP799495   Toyota       COROLLA             BURBANK                   CA
118285   5YFBURHE0JP800631   Toyota       COROLLA             ORLANDO                   FL
118286   5YFBURHE0JP800922   Toyota       COROLLA             MANASSAS                  VA
118287   5YFBURHE0JP801522   Toyota       COROLLA             TAMPA                     US
118288   5YFBURHE0JP801603   Toyota       COROLLA             ORLANDO                   FL
118289   5YFBURHE0JP802590   Toyota       COROLLA             TAMPA                     US
118290   5YFBURHE0JP802671   Toyota       COROLLA             TAMPA                     US
118291   5YFBURHE0JP802749   Toyota       COROLLA             WEST PALM BEACH           FL
118292   5YFBURHE0JP803223   Toyota       COROLLA             DANIA                     FL
118293   5YFBURHE0JP804033   Toyota       COROLLA             DANIA                     FL
118294   5YFBURHE0JP810947   Toyota       COROLLA             Miami                     FL
118295   5YFBURHE0JP812195   Toyota       COROLLA             West Palm Beach           FL
118296   5YFBURHE0JP813413   Toyota       COROLLA             West Palm Beach           FL
118297   5YFBURHE0JP814027   Toyota       COROLLA             DENVER                    CO
118298   5YFBURHE0JP814657   Toyota       COROLLA             Hayward                   CA
118299   5YFBURHE0JP814674   Toyota       COROLLA             Los Angeles               CA
118300   5YFBURHE0JP815307   Toyota       COROLLA             Palm Springs              CA
118301   5YFBURHE0JP815873   Toyota       COROLLA             PHOENIX                   AZ
118302   5YFBURHE0JP815906   Toyota       COROLLA             HAYWARD                   CA
118303   5YFBURHE0JP815937   Toyota       COROLLA             San Diego                 CA
118304   5YFBURHE0JP816408   Toyota       COROLLA             TAMPA                     US
118305   5YFBURHE0JP818269   Toyota       COROLLA             Cincinnati                OH
118306   5YFBURHE0JP818305   Toyota       COROLLA             DALLAS                    TX
118307   5YFBURHE0JP818952   Toyota       COROLLA             Anaheim                   CA
118308   5YFBURHE0JP819003   Toyota       COROLLA             LAS VEGAS                 NV
118309   5YFBURHE0JP819602   Toyota       COROLLA             BIRMINGHAN                AL
118310   5YFBURHE0JP826260   Toyota       COROLLA             FORT MYERS                FL
118311   5YFBURHE0JP826310   Toyota       COROLLA             PHILADELPHIA              PA
118312   5YFBURHE0JP826520   Toyota       COROLLA             LITTLE ROCK               AR
118313   5YFBURHE0JP826923   Toyota       COROLLA             ORLANDO                   FL
118314   5YFBURHE0JP827022   Toyota       COROLLA             ORLANDO                   FL
118315   5YFBURHE0JP827487   Toyota       COROLLA             FORT MYERS                FL
118316   5YFBURHE0JP829028   Toyota       COROLLA             Smithtown                 NY
118317   5YFBURHE0JP829563   Toyota       COROLLA             CLOVIS                    CA
118318   5YFBURHE0JP829997   Toyota       COROLLA             SAN DIEGO                 CA
118319   5YFBURHE0JP830194   Toyota       COROLLA             GRAND RAPIDS              MI
118320   5YFBURHE0JP831474   Toyota       COROLLA             ORLANDO                   FL
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118321   5YFBURHE0JP831751   Toyota       COROLLA             Louisville                KY
118322   5YFBURHE0JP832057   Toyota       COROLLA             Miami                     FL
118323   5YFBURHE0JP832107   Toyota       COROLLA             NASHVILLE                 TN
118324   5YFBURHE0JP832138   Toyota       COROLLA             UNION CITY                GA
118325   5YFBURHE0JP832320   Toyota       COROLLA             UNION CITY                GA
118326   5YFBURHE0JP833595   Toyota       COROLLA             DANIA                     FL
118327   5YFBURHE0JP836738   Toyota       COROLLA             West Palm Beach           FL
118328   5YFBURHE0JP837422   Toyota       COROLLA             Atlanta                   GA
118329   5YFBURHE0JP838201   Toyota       COROLLA             Pasadena                  CA
118330   5YFBURHE0JP838442   Toyota       COROLLA             WEST PALM BEACH           FL
118331   5YFBURHE0JP839395   Toyota       COROLLA             Louisville                KY
118332   5YFBURHE0JP839638   Toyota       COROLLA             South San Franc           CA
118333   5YFBURHE0JP839963   Toyota       COROLLA             SEATAC                    WA
118334   5YFBURHE0JP840188   Toyota       COROLLA             CLEVELAND                 OH
118335   5YFBURHE0JP840790   Toyota       COROLLA             UNION CITY                GA
118336   5YFBURHE0JP840918   Toyota       COROLLA             Miami                     FL
118337   5YFBURHE0JP841826   Toyota       COROLLA             SAN DIEGO                 CA
118338   5YFBURHE0JP842183   Toyota       COROLLA             UNION CITY                GA
118339   5YFBURHE0JP842863   Toyota       COROLLA             Detroit                   MI
118340   5YFBURHE0JP843446   Toyota       COROLLA             LOS ANGELES               CA
118341   5YFBURHE0JP843639   Toyota       COROLLA             SAN JOSE                  CA
118342   5YFBURHE0JP844595   Toyota       COROLLA             ORLANDO                   FL
118343   5YFBURHE0JP845648   Toyota       COROLLA             ORLANDO                   FL
118344   5YFBURHE0JP846475   Toyota       COROLLA             IRVING                    TX
118345   5YFBURHE0JP846833   Toyota       COROLLA             LOS ANGELES               CA
118346   5YFBURHE0JP847237   Toyota       COROLLA             SAN FRANCISCO             CA
118347   5YFBURHE0JP847710   Toyota       COROLLA             FORT MYERS                FL
118348   5YFBURHE0JP847769   Toyota       COROLLA             KNOXVILLE                 TN
118349   5YFBURHE0JP852423   Toyota       COROLLA             KENT                      WA
118350   5YFBURHE0JP854124   Toyota       COROLLA             SAN ANTONIO               TX
118351   5YFBURHE0JP854334   Toyota       COROLLA             DRB                       UT
118352   5YFBURHE0JP854351   Toyota       COROLLA             CATHEDRAL CITY            CA
118353   5YFBURHE0JP854379   Toyota       COROLLA             CHICAGO                   IL
118354   5YFBURHE0JP854642   Toyota       COROLLA             ORLANDO                   FL
118355   5YFBURHE0JP854902   Toyota       COROLLA             NASHVILLE                 TN
118356   5YFBURHE0JP854964   Toyota       COROLLA             DRB                       UT
118357   5YFBURHE0JP855208   Toyota       COROLLA             ALBUQUERQUE               NM
118358   5YFBURHE0JP855354   Toyota       COROLLA             BURLINGAME                CA
118359   5YFBURHE0JP855919   Toyota       COROLLA             CHARLESTON                WV
118360   5YFBURHE0KP882233   Toyota       COROLLA             ORLANDO                   FL
118361   5YFBURHE0KP883270   Toyota       COROLLA             WEST PALM BEACH           FL
118362   5YFBURHE0KP883639   Toyota       COROLLA             West Palm Beach           FL
118363   5YFBURHE0KP884368   Toyota       COROLLA             ORLANDO                   FL
118364   5YFBURHE0KP884726   Toyota       COROLLA             PITTSBURGH                PA
118365   5YFBURHE0KP884953   Toyota       COROLLA             WEST COLUMBIA             SC
118366   5YFBURHE0KP885259   Toyota       COROLLA             SALT LAKE CITY            UT
118367   5YFBURHE0KP885309   Toyota       COROLLA             DALLAS                    TX
118368   5YFBURHE0KP885357   Toyota       COROLLA             DANIA                     FL
118369   5YFBURHE0KP887447   Toyota       COROLLA             SAN ANTONIO               TX
118370   5YFBURHE0KP887674   Toyota       COROLLA             JACKSONVILLE              FL
118371   5YFBURHE0KP887741   Toyota       COROLLA             ORLANDO                   FL
118372   5YFBURHE0KP888274   Toyota       COROLLA             TAMPA                     US
118373   5YFBURHE0KP888601   Toyota       COROLLA             DANIA                     FL
118374   5YFBURHE0KP888632   Toyota       COROLLA             West Palm Beach           FL
118375   5YFBURHE0KP889313   Toyota       COROLLA             PHOENIX                   AZ
118376   5YFBURHE0KP889781   Toyota       COROLLA             PHOENIX                   AZ
118377   5YFBURHE0KP889909   Toyota       COROLLA             ORLANDO                   FL
118378   5YFBURHE0KP890624   Toyota       COROLLA             SARASOTA                  FL
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118379   5YFBURHE0KP897766   Toyota       COROLLA             ORLANDO                   FL
118380   5YFBURHE0KP898500   Toyota       COROLLA             TAMPA                     US
118381   5YFBURHE0KP899470   Toyota       COROLLA             ORLANDO                   FL
118382   5YFBURHE0KP899677   Toyota       COROLLA             ORLANDO                   FL
118383   5YFBURHE0KP902075   Toyota       COROLLA             FAYETTEVILLE              US
118384   5YFBURHE0KP914002   Toyota       COROLLA             WEST PALM BEACH           FL
118385   5YFBURHE0KP917031   Toyota       COROLLA             MIAMI                     FL
118386   5YFBURHE0KP917093   Toyota       COROLLA             MIAMI                     FL
118387   5YFBURHE0KP917630   Toyota       COROLLA             DANIA                     FL
118388   5YFBURHE0KP917868   Toyota       COROLLA             TAMPA                     US
118389   5YFBURHE0KP917885   Toyota       COROLLA             MIAMI                     FL
118390   5YFBURHE0KP918051   Toyota       COROLLA             TAMPA                     US
118391   5YFBURHE0KP918163   Toyota       COROLLA             DANIA                     FL
118392   5YFBURHE0KP918406   Toyota       COROLLA             SARASOTA                  FL
118393   5YFBURHE0KP918468   Toyota       COROLLA             West Palm Beach           FL
118394   5YFBURHE0KP918471   Toyota       COROLLA             ORLANDO                   FL
118395   5YFBURHE0KP919409   Toyota       COROLLA             MIAMI                     FL
118396   5YFBURHE0KP919443   Toyota       COROLLA             FORT MYERS                FL
118397   5YFBURHE0KP919619   Toyota       COROLLA             DANIA                     FL
118398   5YFBURHE0KP919684   Toyota       COROLLA             TAMPA                     US
118399   5YFBURHE0KP919796   Toyota       COROLLA             ORLANDO                   FL
118400   5YFBURHE0KP919829   Toyota       COROLLA             FORT MYERS                FL
118401   5YFBURHE0KP919961   Toyota       COROLLA             FORT MYERS                FL
118402   5YFBURHE0KP920124   Toyota       COROLLA             TAMPA                     US
118403   5YFBURHE0KP920477   Toyota       COROLLA             TAMPA                     US
118404   5YFBURHE0KP920897   Toyota       COROLLA             DANIA                     FL
118405   5YFBURHE0KP920981   Toyota       COROLLA             Jacksonville              FL
118406   5YFBURHE0KP921127   Toyota       COROLLA             ORLANDO                   FL
118407   5YFBURHE0KP921385   Toyota       COROLLA             TAMPA                     US
118408   5YFBURHE0KP921516   Toyota       COROLLA             NAPLES                    FL
118409   5YFBURHE0KP921550   Toyota       COROLLA             JACKSONVILLE              FL
118410   5YFBURHE0KP921838   Toyota       COROLLA             ORLANDO                   FL
118411   5YFBURHE0KP921841   Toyota       COROLLA             DANIA                     FL
118412   5YFBURHE0KP922102   Toyota       COROLLA             WEST PALM BEACH           FL
118413   5YFBURHE0KP922553   Toyota       COROLLA             DANIA                     FL
118414   5YFBURHE0KP926988   Toyota       COROLLA             JACKSONVILLE              FL
118415   5YFBURHE0KP927414   Toyota       COROLLA             ORLANDO                   FL
118416   5YFBURHE0KP927526   Toyota       COROLLA             JACKSONVILLE              FL
118417   5YFBURHE0KP927915   Toyota       COROLLA             WEST PALM BEACH           FL
118418   5YFBURHE0KP928403   Toyota       COROLLA             ORLANDO                   FL
118419   5YFBURHE0KP928434   Toyota       COROLLA             TAMPA                     US
118420   5YFBURHE0KP928840   Toyota       COROLLA             Dania Beach               FL
118421   5YFBURHE0KP928854   Toyota       COROLLA             WEST PALM BEACH           FL
118422   5YFBURHE0KP933620   Toyota       COROLLA             ORLANDO                   FL
118423   5YFBURHE0KP934007   Toyota       COROLLA             TAMPA                     US
118424   5YFBURHE0KP934072   Toyota       COROLLA             ORLANDO                   FL
118425   5YFBURHE0KP934542   Toyota       COROLLA             TAMPA                     US
118426   5YFBURHE0KP934587   Toyota       COROLLA             Miami                     FL
118427   5YFBURHE0KP934959   Toyota       COROLLA             DANIA                     FL
118428   5YFBURHE0KP934976   Toyota       COROLLA             FORT MYERS                FL
118429   5YFBURHE0KP935285   Toyota       COROLLA             ORLANDO                   FL
118430   5YFBURHE0KP935920   Toyota       COROLLA             FORT MYERS                FL
118431   5YFBURHE0KP935934   Toyota       COROLLA             West Palm Beach           FL
118432   5YFBURHE0KP936713   Toyota       COROLLA             ORLANDO                   FL
118433   5YFBURHE0KP936730   Toyota       COROLLA             WEST PALM BEACH           FL
118434   5YFBURHE0KP937215   Toyota       COROLLA             FORT MYERS                FL
118435   5YFBURHE0KP937277   Toyota       COROLLA             ORLANDO                   FL
118436   5YFBURHE0KP937280   Toyota       COROLLA             Miami                     FL
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118437   5YFBURHE0KP938347   Toyota       COROLLA             ORLANDO                   FL
118438   5YFBURHE1HP608595   Toyota       COROLLA             DANIA                     FL
118439   5YFBURHE1HP614882   Toyota       COROLLA             Dania Beach               FL
118440   5YFBURHE1HP618415   Toyota       COROLLA             Miami                     FL
118441   5YFBURHE1HP624229   Toyota       COROLLA             LOS ANGELES               CA
118442   5YFBURHE1HP627602   Toyota       COROLLA             LAS VEGAS                 NV
118443   5YFBURHE1HP627681   Toyota       COROLLA             HAYWARD                   CA
118444   5YFBURHE1HP628135   Toyota       COROLLA             LAS VEGAS                 NV
118445   5YFBURHE1HP629687   Toyota       COROLLA             LOS ANGELES               CA
118446   5YFBURHE1HP640978   Toyota       COROLLA             BURBANK                   CA
118447   5YFBURHE1HP654864   Toyota       COROLLA             BURBANK                   CA
118448   5YFBURHE1HP655402   Toyota       COROLLA             BURBANK                   CA
118449   5YFBURHE1HP658994   Toyota       COROLLA             DENVER                    CO
118450   5YFBURHE1HP659207   Toyota       COROLLA             LOS ANGELES               CA
118451   5YFBURHE1HP660549   Toyota       COROLLA             SAN JOSE                  CA
118452   5YFBURHE1HP675519   Toyota       COROLLA             SAN ANTONIO               TX
118453   5YFBURHE1HP684429   Toyota       COROLLA             UNION CITY                GA
118454   5YFBURHE1HP690019   Toyota       COROLLA             LOS ANGELES               CA
118455   5YFBURHE1HP702928   Toyota       COROLLA             DFW AIRPORT               TX
118456   5YFBURHE1HP708664   Toyota       COROLLA             HARVEY                    LA
118457   5YFBURHE1JP767378   Toyota       COROLLA             DANIA                     FL
118458   5YFBURHE1JP772161   Toyota       COROLLA             BURBANK                   CA
118459   5YFBURHE1JP790692   Toyota       COROLLA             Harvey                    LA
118460   5YFBURHE1JP790868   Toyota       COROLLA             MIAMI                     FL
118461   5YFBURHE1JP791096   Toyota       COROLLA             TAMPA                     US
118462   5YFBURHE1JP791650   Toyota       COROLLA             MIAMI                     FL
118463   5YFBURHE1JP791664   Toyota       COROLLA             JACKSONVILLE              FL
118464   5YFBURHE1JP792359   Toyota       COROLLA             TAMPA                     US
118465   5YFBURHE1JP794550   Toyota       COROLLA             BURBANK                   CA
118466   5YFBURHE1JP796069   Toyota       COROLLA             RENTON                    WA
118467   5YFBURHE1JP798307   Toyota       COROLLA             Cincinnati                OH
118468   5YFBURHE1JP798467   Toyota       COROLLA             HARVEY                    LA
118469   5YFBURHE1JP798873   Toyota       COROLLA             HARVEY                    LA
118470   5YFBURHE1JP799733   Toyota       COROLLA             Dania Beach               FL
118471   5YFBURHE1JP800279   Toyota       COROLLA             ORLANDO                   FL
118472   5YFBURHE1JP801545   Toyota       COROLLA             ORLANDO                   FL
118473   5YFBURHE1JP802601   Toyota       COROLLA             JACKSONVILLE              FL
118474   5YFBURHE1JP802887   Toyota       COROLLA             Bensalem                  PA
118475   5YFBURHE1JP802923   Toyota       COROLLA             Smithtown                 NY
118476   5YFBURHE1JP802940   Toyota       COROLLA             DANIA                     FL
118477   5YFBURHE1JP803375   Toyota       COROLLA             TAMPA                     US
118478   5YFBURHE1JP806955   Toyota       COROLLA             PLEASANT HILL             CA
118479   5YFBURHE1JP807930   Toyota       COROLLA             SAN DIEGO                 CA
118480   5YFBURHE1JP813646   Toyota       COROLLA             BURBANK                   CA
118481   5YFBURHE1JP813808   Toyota       COROLLA             DANIA                     FL
118482   5YFBURHE1JP813839   Toyota       COROLLA             TAMPA                     US
118483   5YFBURHE1JP814389   Toyota       COROLLA             DANIA                     FL
118484   5YFBURHE1JP814408   Toyota       COROLLA             ORLANDO                   FL
118485   5YFBURHE1JP814571   Toyota       COROLLA             SACRAMENTO                CA
118486   5YFBURHE1JP815008   Toyota       COROLLA             Miami                     FL
118487   5YFBURHE1JP815171   Toyota       COROLLA             NORTH PAC                 CA
118488   5YFBURHE1JP815235   Toyota       COROLLA             DALLAS                    TX
118489   5YFBURHE1JP815302   Toyota       COROLLA             LOS ANGELES               CA
118490   5YFBURHE1JP815574   Toyota       COROLLA             Matteson                  IL
118491   5YFBURHE1JP815879   Toyota       COROLLA             WEST PALM BEACH           FL
118492   5YFBURHE1JP816515   Toyota       COROLLA             ONTARIO, RIVERSIDE        CA
118493   5YFBURHE1JP816577   Toyota       COROLLA             PHOENIX                   AZ
118494   5YFBURHE1JP816949   Toyota       COROLLA             WESTMINSTER               CA
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118495   5YFBURHE1JP818992   Toyota       COROLLA             PHOENIX                   AZ
118496   5YFBURHE1JP821830   Toyota       COROLLA             LOS ANGELES               CA
118497   5YFBURHE1JP822671   Toyota       COROLLA             MIAMI                     FL
118498   5YFBURHE1JP824047   Toyota       COROLLA             FT. LAUDERDALE            FL
118499   5YFBURHE1JP824405   Toyota       COROLLA             BURBANK                   CA
118500   5YFBURHE1JP826302   Toyota       COROLLA             KNOXVILLE                 TN
118501   5YFBURHE1JP826834   Toyota       COROLLA             CHARLOTTE                 NC
118502   5YFBURHE1JP826879   Toyota       COROLLA             SAN FRANCISCO             CA
118503   5YFBURHE1JP827031   Toyota       COROLLA             BURBANK                   CA
118504   5YFBURHE1JP827417   Toyota       COROLLA             KENNER                    LA
118505   5YFBURHE1JP828261   Toyota       COROLLA             SAN ANTONIO               TX
118506   5YFBURHE1JP828731   Toyota       COROLLA             CHICAGO                   IL
118507   5YFBURHE1JP828793   Toyota       COROLLA             DANIA                     FL
118508   5YFBURHE1JP828874   Toyota       COROLLA             SAN FRANCISCO             CA
118509   5YFBURHE1JP828907   Toyota       COROLLA             MONTCLAIR                 CA
118510   5YFBURHE1JP829295   Toyota       COROLLA             WEST PALM BEACH           FL
118511   5YFBURHE1JP829412   Toyota       COROLLA             LOS ANGELES               CA
118512   5YFBURHE1JP829443   Toyota       COROLLA             NEW ORLEANS               LA
118513   5YFBURHE1JP829961   Toyota       COROLLA             CHARLOTTE                 NC
118514   5YFBURHE1JP830012   Toyota       COROLLA             UNION CITY                GA
118515   5YFBURHE1JP830186   Toyota       COROLLA             LOS ANGELES               CA
118516   5YFBURHE1JP830656   Toyota       COROLLA             BURBANK                   CA
118517   5YFBURHE1JP830785   Toyota       COROLLA             PHOENIX                   AZ
118518   5YFBURHE1JP831662   Toyota       COROLLA             PHOENIX                   AZ
118519   5YFBURHE1JP832536   Toyota       COROLLA             PENSACOLA                 FL
118520   5YFBURHE1JP832892   Toyota       COROLLA             PORTLAND                  OR
118521   5YFBURHE1JP833637   Toyota       COROLLA             KANSAS CITY               MO
118522   5YFBURHE1JP834366   Toyota       COROLLA             SAN DIEGO                 CA
118523   5YFBURHE1JP834383   Toyota       COROLLA             WEST COLUMBIA             SC
118524   5YFBURHE1JP835078   Toyota       COROLLA             Atlanta                   GA
118525   5YFBURHE1JP835176   Toyota       COROLLA             LOS ANGELES               CA
118526   5YFBURHE1JP835436   Toyota       COROLLA             UNION CITY                GA
118527   5YFBURHE1JP838224   Toyota       COROLLA             SARASOTA                  FL
118528   5YFBURHE1JP841236   Toyota       COROLLA             ORLANDO                   FL
118529   5YFBURHE1JP841320   Toyota       COROLLA             BURLINGAME                CA
118530   5YFBURHE1JP841589   Toyota       COROLLA             TAMPA                     US
118531   5YFBURHE1JP841723   Toyota       COROLLA             NEWARK                    NJ
118532   5YFBURHE1JP841835   Toyota       COROLLA             BURBANK                   CA
118533   5YFBURHE1JP842614   Toyota       COROLLA             LAS VEGAS                 NV
118534   5YFBURHE1JP842824   Toyota       COROLLA             Atlanta                   GA
118535   5YFBURHE1JP843178   Toyota       COROLLA             LOS ANGELES               CA
118536   5YFBURHE1JP843424   Toyota       COROLLA             OAKLAND                   CA
118537   5YFBURHE1JP843519   Toyota       COROLLA             West Palm Beach           FL
118538   5YFBURHE1JP843522   Toyota       COROLLA             RICHMOND                  VA
118539   5YFBURHE1JP843987   Toyota       COROLLA             MORRISVILLE               NC
118540   5YFBURHE1JP843990   Toyota       COROLLA             MIAMI                     FL
118541   5YFBURHE1JP844783   Toyota       COROLLA             JACKSONVILLE              FL
118542   5YFBURHE1JP844802   Toyota       COROLLA             Massapequa                NY
118543   5YFBURHE1JP845187   Toyota       COROLLA             UNION CITY                GA
118544   5YFBURHE1JP845223   Toyota       COROLLA             BURBANK                   CA
118545   5YFBURHE1JP845724   Toyota       COROLLA             Atlanta                   GA
118546   5YFBURHE1JP846338   Toyota       COROLLA             Miami                     FL
118547   5YFBURHE1JP847098   Toyota       COROLLA             KNOXVILLE                 TN
118548   5YFBURHE1JP847523   Toyota       COROLLA             SACRAMENTO                CA
118549   5YFBURHE1JP847814   Toyota       COROLLA             Miami                     FL
118550   5YFBURHE1JP847845   Toyota       COROLLA             LOS ANGELES               CA
118551   5YFBURHE1JP848395   Toyota       COROLLA             DANIA                     FL
118552   5YFBURHE1JP852186   Toyota       COROLLA             Miami                     FL
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118553   5YFBURHE1JP853841   Toyota       COROLLA             LAS VEGAS                 NV
118554   5YFBURHE1JP854052   Toyota       COROLLA             STOCKTON                  CA
118555   5YFBURHE1JP854147   Toyota       COROLLA             GREENSBORO                NC
118556   5YFBURHE1JP854424   Toyota       COROLLA             SAN DIEGO                 CA
118557   5YFBURHE1JP854861   Toyota       COROLLA             DRB                       UT
118558   5YFBURHE1JP854973   Toyota       COROLLA             PALM SPRINGS              CA
118559   5YFBURHE1KP883200   Toyota       COROLLA             JACKSONVILLE              FL
118560   5YFBURHE1KP883830   Toyota       COROLLA             JACKSONVILLE              FL
118561   5YFBURHE1KP884220   Toyota       COROLLA             MIAMI                     FL
118562   5YFBURHE1KP884640   Toyota       COROLLA             TAMPA                     US
118563   5YFBURHE1KP884654   Toyota       COROLLA             BURLINGAME                CA
118564   5YFBURHE1KP884928   Toyota       COROLLA             JACKSONVILLE              FL
118565   5YFBURHE1KP884931   Toyota       COROLLA             ORLANDO                   FL
118566   5YFBURHE1KP885061   Toyota       COROLLA             DANIA                     FL
118567   5YFBURHE1KP885237   Toyota       COROLLA             PHOENIX                   AZ
118568   5YFBURHE1KP885366   Toyota       COROLLA             FORT MYERS                FL
118569   5YFBURHE1KP885402   Toyota       COROLLA             FORT MYERS                FL
118570   5YFBURHE1KP885450   Toyota       COROLLA             ORLANDO                   FL
118571   5YFBURHE1KP885741   Toyota       COROLLA             ALBUQUERQUE               NM
118572   5YFBURHE1KP885979   Toyota       COROLLA             PITTSBURGH                PA
118573   5YFBURHE1KP886016   Toyota       COROLLA             ORLANDO                   FL
118574   5YFBURHE1KP886033   Toyota       COROLLA             West Palm Beach           FL
118575   5YFBURHE1KP886503   Toyota       COROLLA             ORLANDO                   FL
118576   5YFBURHE1KP886582   Toyota       COROLLA             DANIA                     FL
118577   5YFBURHE1KP886632   Toyota       COROLLA             PHILADELPHIA              PA
118578   5YFBURHE1KP887120   Toyota       COROLLA             ORLANDO                   FL
118579   5YFBURHE1KP887537   Toyota       COROLLA             DRB                       UT
118580   5YFBURHE1KP888283   Toyota       COROLLA             WEST PALM BEACH           FL
118581   5YFBURHE1KP888817   Toyota       COROLLA             Miami                     FL
118582   5YFBURHE1KP889353   Toyota       COROLLA             ORLANDO                   FL
118583   5YFBURHE1KP895136   Toyota       COROLLA             DANIA                     FL
118584   5YFBURHE1KP895198   Toyota       COROLLA             DANIA                     FL
118585   5YFBURHE1KP895220   Toyota       COROLLA             ORLANDO                   FL
118586   5YFBURHE1KP895508   Toyota       COROLLA             TAMPA                     US
118587   5YFBURHE1KP895640   Toyota       COROLLA             FORT MYERS                FL
118588   5YFBURHE1KP896867   Toyota       COROLLA             WEST COLUMBIA             SC
118589   5YFBURHE1KP897999   Toyota       COROLLA             LOS ANGELES               CA
118590   5YFBURHE1KP898229   Toyota       COROLLA             Miami                     FL
118591   5YFBURHE1KP899039   Toyota       COROLLA             WILMINGTON                NC
118592   5YFBURHE1KP899428   Toyota       COROLLA             SANTA ANA                 CA
118593   5YFBURHE1KP899476   Toyota       COROLLA             ORLANDO                   FL
118594   5YFBURHE1KP900030   Toyota       COROLLA             MIAMI                     FL
118595   5YFBURHE1KP901016   Toyota       COROLLA             TAMPA                     US
118596   5YFBURHE1KP915496   Toyota       COROLLA             TAMPA                     US
118597   5YFBURHE1KP916776   Toyota       COROLLA             TAMPA                     US
118598   5YFBURHE1KP917541   Toyota       COROLLA             TALLAHASSEE               US
118599   5YFBURHE1KP917572   Toyota       COROLLA             Miami                     FL
118600   5YFBURHE1KP918155   Toyota       COROLLA             Dania Beach               FL
118601   5YFBURHE1KP918530   Toyota       COROLLA             TAMPA                     US
118602   5YFBURHE1KP918592   Toyota       COROLLA             JACKSONVILLE              FL
118603   5YFBURHE1KP918902   Toyota       COROLLA             ORLANDO                   FL
118604   5YFBURHE1KP919192   Toyota       COROLLA             WEST PALM BEACH           FL
118605   5YFBURHE1KP919239   Toyota       COROLLA             Miami                     FL
118606   5YFBURHE1KP919287   Toyota       COROLLA             West Palm Beach           FL
118607   5YFBURHE1KP919306   Toyota       COROLLA             Miami                     FL
118608   5YFBURHE1KP919421   Toyota       COROLLA             Miami                     FL
118609   5YFBURHE1KP919435   Toyota       COROLLA             TAMPA                     US
118610   5YFBURHE1KP919774   Toyota       COROLLA             WEST PALM BEACH           FL
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118611   5YFBURHE1KP919841   Toyota       COROLLA             TAMPA                     US
118612   5YFBURHE1KP920021   Toyota       COROLLA             ORLANDO                   FL
118613   5YFBURHE1KP920083   Toyota       COROLLA             ORLANDO                   FL
118614   5YFBURHE1KP920553   Toyota       COROLLA             DANIA                     FL
118615   5YFBURHE1KP920651   Toyota       COROLLA             WEST PALM BEACH           FL
118616   5YFBURHE1KP921010   Toyota       COROLLA             ORLANDO                   FL
118617   5YFBURHE1KP921833   Toyota       COROLLA             Dania Beach               FL
118618   5YFBURHE1KP927860   Toyota       COROLLA             TAMPA                     US
118619   5YFBURHE1KP927874   Toyota       COROLLA             SARASOTA                  FL
118620   5YFBURHE1KP930936   Toyota       COROLLA             ORLANDO                   FL
118621   5YFBURHE1KP932962   Toyota       COROLLA             DANIA                     FL
118622   5YFBURHE1KP934002   Toyota       COROLLA             Miami                     FL
118623   5YFBURHE1KP934033   Toyota       COROLLA             DANIA                     FL
118624   5YFBURHE1KP934100   Toyota       COROLLA             MIAMI                     FL
118625   5YFBURHE1KP934856   Toyota       COROLLA             ORLANDO                   FL
118626   5YFBURHE1KP935229   Toyota       COROLLA             ORLANDO                   FL
118627   5YFBURHE1KP935280   Toyota       COROLLA             JACKSONVILLE              FL
118628   5YFBURHE1KP936767   Toyota       COROLLA             Miami                     FL
118629   5YFBURHE1KP938499   Toyota       COROLLA             JACKSONVILLE              FL
118630   5YFBURHE1KP940592   Toyota       COROLLA             ORLANDO                   FL
118631   5YFBURHE2GP462299   Toyota       COROLLA             Harvey                    LA
118632   5YFBURHE2GP478843   Toyota       COROLLA             DFW AIRPORT               TX
118633   5YFBURHE2GP506074   Toyota       COROLLA             BURBANK                   CA
118634   5YFBURHE2HP581763   Toyota       COROLLA             SAN ANTONIO               TX
118635   5YFBURHE2HP627298   Toyota       COROLLA             Anaheim                   CA
118636   5YFBURHE2HP627527   Toyota       COROLLA             NORTH PAC                 CA
118637   5YFBURHE2HP628872   Toyota       COROLLA             LOS ANGELES               CA
118638   5YFBURHE2HP642366   Toyota       COROLLA             LOS ANGELES               CA
118639   5YFBURHE2HP645347   Toyota       COROLLA             LOS ANGELES               CA
118640   5YFBURHE2HP645509   Toyota       COROLLA             Anaheim                   CA
118641   5YFBURHE2HP645901   Toyota       COROLLA             LA HARBRA                 CA
118642   5YFBURHE2HP646689   Toyota       COROLLA             BURBANK                   CA
118643   5YFBURHE2HP655733   Toyota       COROLLA             Fontana                   CA
118644   5YFBURHE2HP656025   Toyota       COROLLA             BURBANK                   CA
118645   5YFBURHE2HP656090   Toyota       COROLLA             Elkridge                  MD
118646   5YFBURHE2HP658678   Toyota       COROLLA             DENVER                    CO
118647   5YFBURHE2HP673729   Toyota       COROLLA             AURORA                    CO
118648   5YFBURHE2HP675285   Toyota       COROLLA             AURORA                    CO
118649   5YFBURHE2HP688361   Toyota       COROLLA             SAN DIEGO                 CA
118650   5YFBURHE2HP689235   Toyota       COROLLA             BURBANK                   CA
118651   5YFBURHE2HP689252   Toyota       COROLLA             BURBANK                   CA
118652   5YFBURHE2HP707460   Toyota       COROLLA             SAN ANTONIO               TX
118653   5YFBURHE2HP727062   Toyota       COROLLA             UNION CITY                GA
118654   5YFBURHE2JP759421   Toyota       COROLLA             Stockton                  CA
118655   5YFBURHE2JP759869   Toyota       COROLLA             LOS ANGELES               CA
118656   5YFBURHE2JP791771   Toyota       COROLLA             HAYWARD                   CA
118657   5YFBURHE2JP791947   Toyota       COROLLA             COLLEGE PARK              GA
118658   5YFBURHE2JP794797   Toyota       COROLLA             PHOENIX                   AZ
118659   5YFBURHE2JP798879   Toyota       COROLLA             MORRISVILLE               NC
118660   5YFBURHE2JP800503   Toyota       COROLLA             BURBANK                   CA
118661   5YFBURHE2JP800663   Toyota       COROLLA             CLEVELAND                 OH
118662   5YFBURHE2JP800940   Toyota       COROLLA             AUGUSTA                   GA
118663   5YFBURHE2JP800954   Toyota       COROLLA             Woodhaven                 MI
118664   5YFBURHE2JP801960   Toyota       COROLLA             ATLANTA AP                GA
118665   5YFBURHE2JP802140   Toyota       COROLLA             TAMPA                     US
118666   5YFBURHE2JP802557   Toyota       COROLLA             MIAMI                     FL
118667   5YFBURHE2JP802736   Toyota       COROLLA             PHILADELPHIA              PA
118668   5YFBURHE2JP802946   Toyota       COROLLA             Miami                     FL
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118669   5YFBURHE2JP806446   Toyota       COROLLA             COLLEGE PARK              GA
118670   5YFBURHE2JP807676   Toyota       COROLLA             DANIA                     FL
118671   5YFBURHE2JP810514   Toyota       COROLLA             FT. LAUDERDALE            FL
118672   5YFBURHE2JP811579   Toyota       COROLLA             FORT MYERS                FL
118673   5YFBURHE2JP813929   Toyota       COROLLA             KILLEEN                   US
118674   5YFBURHE2JP814322   Toyota       COROLLA             DANIA                     FL
118675   5YFBURHE2JP814689   Toyota       COROLLA             ONTARIO                   CA
118676   5YFBURHE2JP814918   Toyota       COROLLA             Hamilton                  OH
118677   5YFBURHE2JP814949   Toyota       COROLLA             ORLANDO                   FL
118678   5YFBURHE2JP815065   Toyota       COROLLA             JACKSON                   MS
118679   5YFBURHE2JP815146   Toyota       COROLLA             DFW AIRPORT               TX
118680   5YFBURHE2JP815616   Toyota       COROLLA             DECATUR                   GA
118681   5YFBURHE2JP815888   Toyota       COROLLA             LOS ANGELES               CA
118682   5YFBURHE2JP817026   Toyota       COROLLA             HANOVER                   MD
118683   5YFBURHE2JP817611   Toyota       COROLLA             CHARLOTTE                 NC
118684   5YFBURHE2JP818967   Toyota       COROLLA             PORTLAND                  OR
118685   5YFBURHE2JP819388   Toyota       COROLLA             PLEASANTON                CA
118686   5YFBURHE2JP824364   Toyota       COROLLA             LAS VEGAS                 NV
118687   5YFBURHE2JP825546   Toyota       COROLLA             KENT                      WA
118688   5YFBURHE2JP826051   Toyota       COROLLA             SAN ANTONIO               TX
118689   5YFBURHE2JP826938   Toyota       COROLLA             OAKLAND                   CA
118690   5YFBURHE2JP827006   Toyota       COROLLA             PHOENIX                   AZ
118691   5YFBURHE2JP827491   Toyota       COROLLA             FORT MYERS                FL
118692   5YFBURHE2JP827555   Toyota       COROLLA             PLEASANT HILL             CA
118693   5YFBURHE2JP827944   Toyota       COROLLA             ORLANDO                   FL
118694   5YFBURHE2JP828009   Toyota       COROLLA             CORPUS CHRISTI            TX
118695   5YFBURHE2JP828219   Toyota       COROLLA             WESTMINSTER               CA
118696   5YFBURHE2JP828270   Toyota       COROLLA             Manheim                   PA
118697   5YFBURHE2JP828818   Toyota       COROLLA             SAN FRANCISCO             CA
118698   5YFBURHE2JP829421   Toyota       COROLLA             Atlanta                   GA
118699   5YFBURHE2JP829483   Toyota       COROLLA             SANTA ANA                 CA
118700   5YFBURHE2JP829595   Toyota       COROLLA             NEW BERN                  NC
118701   5YFBURHE2JP829855   Toyota       COROLLA             MIDLAND                   TX
118702   5YFBURHE2JP829984   Toyota       COROLLA             WEST PALM BEACH           FL
118703   5YFBURHE2JP830164   Toyota       COROLLA             SAN FRANCISCO             CA
118704   5YFBURHE2JP831931   Toyota       COROLLA             Dania Beach               FL
118705   5YFBURHE2JP833212   Toyota       COROLLA             ORLANDO                   FL
118706   5YFBURHE2JP833579   Toyota       COROLLA             TAMPA                     US
118707   5YFBURHE2JP834215   Toyota       COROLLA             TAMPA                     US
118708   5YFBURHE2JP834330   Toyota       COROLLA             Anaheim                   CA
118709   5YFBURHE2JP834389   Toyota       COROLLA             Bensalem                  PA
118710   5YFBURHE2JP834523   Toyota       COROLLA             COSTA MESA                CA
118711   5YFBURHE2JP834747   Toyota       COROLLA             TAMPA                     US
118712   5YFBURHE2JP836434   Toyota       COROLLA             KENNER                    LA
118713   5YFBURHE2JP838152   Toyota       COROLLA             FORT MYERS                FL
118714   5YFBURHE2JP838930   Toyota       COROLLA             CHICAGO                   IL
118715   5YFBURHE2JP838958   Toyota       COROLLA             FORT MYERS                FL
118716   5YFBURHE2JP840435   Toyota       COROLLA             KENNER                    LA
118717   5YFBURHE2JP840936   Toyota       COROLLA             Atlanta                   GA
118718   5YFBURHE2JP841486   Toyota       COROLLA             ORLANDO                   FL
118719   5YFBURHE2JP842539   Toyota       COROLLA             CATHEDRAL CITY            CA
118720   5YFBURHE2JP842881   Toyota       COROLLA             ORLANDO                   FL
118721   5YFBURHE2JP843092   Toyota       COROLLA             PHOENIX                   AZ
118722   5YFBURHE2JP843299   Toyota       COROLLA             SAN DIEGO                 CA
118723   5YFBURHE2JP843481   Toyota       COROLLA             SHREVEPORT                US
118724   5YFBURHE2JP843514   Toyota       COROLLA             PITTSBURGH                PA
118725   5YFBURHE2JP843769   Toyota       COROLLA             LOS ANGELES               CA
118726   5YFBURHE2JP844002   Toyota       COROLLA             WINDSOR LOCKS             CT
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118727   5YFBURHE2JP844159   Toyota       COROLLA             ORLANDO                   FL
118728   5YFBURHE2JP844470   Toyota       COROLLA             PHOENIX                   AZ
118729   5YFBURHE2JP844517   Toyota       COROLLA             Coraopolis                PA
118730   5YFBURHE2JP844792   Toyota       COROLLA             ATLANTA AP                GA
118731   5YFBURHE2JP845117   Toyota       COROLLA             HOUSTON                   TX
118732   5YFBURHE2JP845814   Toyota       COROLLA             UNION CITY                GA
118733   5YFBURHE2JP845845   Toyota       COROLLA             WHITE PLAINS              NY
118734   5YFBURHE2JP845909   Toyota       COROLLA             COLORADO SPRING           CO
118735   5YFBURHE2JP846915   Toyota       COROLLA             UNION CITY                GA
118736   5YFBURHE2JP847580   Toyota       COROLLA             ATLANTA                   GA
118737   5YFBURHE2JP847594   Toyota       COROLLA             PHOENIX                   AZ
118738   5YFBURHE2JP847871   Toyota       COROLLA             DETROIT                   MI
118739   5YFBURHE2JP853721   Toyota       COROLLA             LOS ANGELES               CA
118740   5YFBURHE2JP853749   Toyota       COROLLA             BURBANK                   CA
118741   5YFBURHE2JP853797   Toyota       COROLLA             SALT LAKE CITY            UT
118742   5YFBURHE2JP854173   Toyota       COROLLA             HOUSTON                   TX
118743   5YFBURHE2JP854626   Toyota       COROLLA             RENTON                    WA
118744   5YFBURHE2JP854688   Toyota       COROLLA             HANOVER                   MD
118745   5YFBURHE2JP854724   Toyota       COROLLA             UNION CITY                GA
118746   5YFBURHE2KP861786   Toyota       COROLLA             JACKSONVILLE              FL
118747   5YFBURHE2KP883075   Toyota       COROLLA             FORT MYERS                FL
118748   5YFBURHE2KP884551   Toyota       COROLLA             SAN DIEGO                 CA
118749   5YFBURHE2KP885201   Toyota       COROLLA             ONTARIO                   CA
118750   5YFBURHE2KP885344   Toyota       COROLLA             BURLINGAME                CA
118751   5YFBURHE2KP886171   Toyota       COROLLA             STOCKTON                  CA
118752   5YFBURHE2KP886347   Toyota       COROLLA             BURLINGAME                CA
118753   5YFBURHE2KP886851   Toyota       COROLLA             ONTARIO                   CA
118754   5YFBURHE2KP886879   Toyota       COROLLA             PHOENIX                   AZ
118755   5YFBURHE2KP886946   Toyota       COROLLA             COLLEGE PARK              GA
118756   5YFBURHE2KP887501   Toyota       COROLLA             MONTGOMERY                AL
118757   5YFBURHE2KP887630   Toyota       COROLLA             Miami                     FL
118758   5YFBURHE2KP888826   Toyota       COROLLA             ORLANDO                   FL
118759   5YFBURHE2KP889135   Toyota       COROLLA             ORLANDO                   FL
118760   5YFBURHE2KP889264   Toyota       COROLLA             TAMPA                     US
118761   5YFBURHE2KP889278   Toyota       COROLLA             ORLANDO                   FL
118762   5YFBURHE2KP895226   Toyota       COROLLA             SARASOTA                  FL
118763   5YFBURHE2KP896795   Toyota       COROLLA             PHOENIX                   AZ
118764   5YFBURHE2KP899163   Toyota       COROLLA             ORLANDO                   FL
118765   5YFBURHE2KP900456   Toyota       COROLLA             JACKSONVILLE              FL
118766   5YFBURHE2KP911666   Toyota       COROLLA             ORLANDO                   FL
118767   5YFBURHE2KP914700   Toyota       COROLLA             WEST PALM BEACH           FL
118768   5YFBURHE2KP917385   Toyota       COROLLA             SARASOTA                  FL
118769   5YFBURHE2KP917600   Toyota       COROLLA             Miami                     FL
118770   5YFBURHE2KP917855   Toyota       COROLLA             DANIA                     FL
118771   5YFBURHE2KP918004   Toyota       COROLLA             ORLANDO                   FL
118772   5YFBURHE2KP918519   Toyota       COROLLA             ORLANDO                   FL
118773   5YFBURHE2KP919279   Toyota       COROLLA             DANIA                     FL
118774   5YFBURHE2KP919301   Toyota       COROLLA             JACKSONVILLE              FL
118775   5YFBURHE2KP919332   Toyota       COROLLA             ORLANDO                   FL
118776   5YFBURHE2KP919363   Toyota       COROLLA             West Palm Beach           FL
118777   5YFBURHE2KP919380   Toyota       COROLLA             FORT MYERS                FL
118778   5YFBURHE2KP919430   Toyota       COROLLA             JACKSONVILLE              FL
118779   5YFBURHE2KP919556   Toyota       COROLLA             TAMPA                     US
118780   5YFBURHE2KP919573   Toyota       COROLLA             WEST PALM BEACH           FL
118781   5YFBURHE2KP919864   Toyota       COROLLA             FORT MYERS                FL
118782   5YFBURHE2KP919976   Toyota       COROLLA             JACKSONVILLE              FL
118783   5YFBURHE2KP920044   Toyota       COROLLA             JACKSONVILLE              FL
118784   5YFBURHE2KP920089   Toyota       COROLLA             ORLANDO                   FL
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118785   5YFBURHE2KP920142   Toyota       COROLLA             ORLANDO                   FL
118786   5YFBURHE2KP920738   Toyota       COROLLA             TAMPA                     US
118787   5YFBURHE2KP921162   Toyota       COROLLA             ORLANDO                   FL
118788   5YFBURHE2KP921372   Toyota       COROLLA             West Palm Beach           FL
118789   5YFBURHE2KP921484   Toyota       COROLLA             SARASOTA                  FL
118790   5YFBURHE2KP921503   Toyota       COROLLA             TAMPA                     US
118791   5YFBURHE2KP921565   Toyota       COROLLA             ORLANDO                   FL
118792   5YFBURHE2KP921775   Toyota       COROLLA             SAVANNAH                  GA
118793   5YFBURHE2KP922389   Toyota       COROLLA             DANIA                     FL
118794   5YFBURHE2KP922490   Toyota       COROLLA             FORT MYERS                FL
118795   5YFBURHE2KP922537   Toyota       COROLLA             JACKSONVILLE              FL
118796   5YFBURHE2KP927043   Toyota       COROLLA             WEST PALM BEACH           FL
118797   5YFBURHE2KP927267   Toyota       COROLLA             LAS VEGAS                 NV
118798   5YFBURHE2KP928385   Toyota       COROLLA             DANIA                     FL
118799   5YFBURHE2KP928905   Toyota       COROLLA             Miami                     FL
118800   5YFBURHE2KP933862   Toyota       COROLLA             SARASOTA                  FL
118801   5YFBURHE2KP934381   Toyota       COROLLA             JACKSONVILLE              FL
118802   5YFBURHE2KP934459   Toyota       COROLLA             FORT MYERS                FL
118803   5YFBURHE2KP934929   Toyota       COROLLA             FORT MYERS                FL
118804   5YFBURHE2KP935627   Toyota       COROLLA             ORLANDO                   FL
118805   5YFBURHE2KP935837   Toyota       COROLLA             TAMPA                     US
118806   5YFBURHE2KP936521   Toyota       COROLLA             FORT MYERS                FL
118807   5YFBURHE2KP937684   Toyota       COROLLA             Miami                     FL
118808   5YFBURHE2KP940732   Toyota       COROLLA             TAMPA                     US
118809   5YFBURHE3GP433314   Toyota       COROLLA             COLLEGE PARK              GA
118810   5YFBURHE3GP507671   Toyota       COROLLA             NORTH PAC                 CA
118811   5YFBURHE3GP544560   Toyota       COROLLA             SAN DIEGO                 CA
118812   5YFBURHE3HP583246   Toyota       COROLLA             CHICAGO                   IL
118813   5YFBURHE3HP640352   Toyota       COROLLA             Anaheim                   CA
118814   5YFBURHE3HP641470   Toyota       COROLLA             Anaheim                   CA
118815   5YFBURHE3HP642943   Toyota       COROLLA             KENNER                    LA
118816   5YFBURHE3HP643932   Toyota       COROLLA             HARVEY                    LA
118817   5YFBURHE3HP644076   Toyota       COROLLA             Elkridge                  MD
118818   5YFBURHE3HP645373   Toyota       COROLLA             SAN FRANCISCO             CA
118819   5YFBURHE3HP645678   Toyota       COROLLA             Harvey                    LA
118820   5YFBURHE3HP646099   Toyota       COROLLA             LOS ANGELES               CA
118821   5YFBURHE3HP656194   Toyota       COROLLA             SAN JOSE                  CA
118822   5YFBURHE3HP656891   Toyota       COROLLA             Hayward                   CA
118823   5YFBURHE3HP658267   Toyota       COROLLA             LOS ANGELES               CA
118824   5YFBURHE3HP658690   Toyota       COROLLA             CHICAGO                   IL
118825   5YFBURHE3HP675800   Toyota       COROLLA             COLLEGE PARK              GA
118826   5YFBURHE3HP686179   Toyota       COROLLA             WESTMINSTER               CA
118827   5YFBURHE3HP686683   Toyota       COROLLA             LAS VEGAS                 NV
118828   5YFBURHE3HP686750   Toyota       COROLLA             LAS VEGAS                 NV
118829   5YFBURHE3HP689003   Toyota       COROLLA             BURBANK                   CA
118830   5YFBURHE3HP696047   Toyota       COROLLA             PHOENIX                   AZ
118831   5YFBURHE3HP703529   Toyota       COROLLA             DFW AIRPORT               TX
118832   5YFBURHE3HP705121   Toyota       COROLLA             KENNER                    LA
118833   5YFBURHE3HP706396   Toyota       COROLLA             DFW AIRPORT               TX
118834   5YFBURHE3HP708889   Toyota       COROLLA             COLLEGE PARK              GA
118835   5YFBURHE3JP756995   Toyota       COROLLA             ORLANDO                   FL
118836   5YFBURHE3JP787941   Toyota       COROLLA             South San Franc           CA
118837   5YFBURHE3JP789432   Toyota       COROLLA             NASHVILLE                 TN
118838   5YFBURHE3JP789981   Toyota       COROLLA             KENNER                    LA
118839   5YFBURHE3JP790466   Toyota       COROLLA             LA HARBRA                 CA
118840   5YFBURHE3JP790662   Toyota       COROLLA             ORLANDO                   FL
118841   5YFBURHE3JP791102   Toyota       COROLLA             Baltimore                 MD
118842   5YFBURHE3JP791228   Toyota       COROLLA             COLLEGE PARK              GA
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118843   5YFBURHE3JP791634   Toyota       COROLLA             NORTH PAC                 CA
118844   5YFBURHE3JP791780   Toyota       COROLLA             COLLEGE PARK              GA
118845   5YFBURHE3JP791861   Toyota       COROLLA             LAS VEGAS                 NV
118846   5YFBURHE3JP791908   Toyota       COROLLA             PHOENIX                   AZ
118847   5YFBURHE3JP792136   Toyota       COROLLA             Dearborn                  MI
118848   5YFBURHE3JP792301   Toyota       COROLLA             EAST BOSTON               MA
118849   5YFBURHE3JP792363   Toyota       COROLLA             ORLANDO                   FL
118850   5YFBURHE3JP792525   Toyota       COROLLA             BURBANK                   CA
118851   5YFBURHE3JP798695   Toyota       COROLLA             TAMPA                     US
118852   5YFBURHE3JP800106   Toyota       COROLLA             FORT MYERS                FL
118853   5YFBURHE3JP803202   Toyota       COROLLA             FORT MYERS                FL
118854   5YFBURHE3JP806276   Toyota       COROLLA             HOUSTON                   TX
118855   5YFBURHE3JP806343   Toyota       COROLLA             COLLEGE PARK              GA
118856   5YFBURHE3JP809078   Toyota       COROLLA             KENT                      WA
118857   5YFBURHE3JP812207   Toyota       COROLLA             ORLANDO                   FL
118858   5YFBURHE3JP814295   Toyota       COROLLA             CHARLOTTE                 NC
118859   5YFBURHE3JP814362   Toyota       COROLLA             ORLANDO                   FL
118860   5YFBURHE3JP814488   Toyota       COROLLA             TAMPA                     US
118861   5YFBURHE3JP814684   Toyota       COROLLA             PHOENIX                   AZ
118862   5YFBURHE3JP814720   Toyota       COROLLA             Coraopolis                PA
118863   5YFBURHE3JP814927   Toyota       COROLLA             UNION CITY                GA
118864   5YFBURHE3JP815026   Toyota       COROLLA             ORLANDO                   FL
118865   5YFBURHE3JP815592   Toyota       COROLLA             TAMPA                     US
118866   5YFBURHE3JP817665   Toyota       COROLLA             BURBANK                   CA
118867   5YFBURHE3JP817679   Toyota       COROLLA             Cleveland                 OH
118868   5YFBURHE3JP818217   Toyota       COROLLA             PHOENIX                   AZ
118869   5YFBURHE3JP818279   Toyota       COROLLA             COLLEGE PARK              GA
118870   5YFBURHE3JP818959   Toyota       COROLLA             SAN DIEGO                 CA
118871   5YFBURHE3JP819013   Toyota       COROLLA             BURBANK                   CA
118872   5YFBURHE3JP822784   Toyota       COROLLA             LA HARBRA                 CA
118873   5YFBURHE3JP824356   Toyota       COROLLA             SAN FRANCISCO             CA
118874   5YFBURHE3JP826401   Toyota       COROLLA             Burien                    WA
118875   5YFBURHE3JP827032   Toyota       COROLLA             NEWARK                    NJ
118876   5YFBURHE3JP828116   Toyota       COROLLA             Detroit                   MI
118877   5YFBURHE3JP828701   Toyota       COROLLA             ORLANDO                   FL
118878   5YFBURHE3JP828956   Toyota       COROLLA             Tallahassee               FL
118879   5YFBURHE3JP829542   Toyota       COROLLA             UNION CITY                GA
118880   5YFBURHE3JP830173   Toyota       COROLLA             ONTARIO, RIVERSIDE        CA
118881   5YFBURHE3JP830657   Toyota       COROLLA             TAMPA                     US
118882   5YFBURHE3JP830660   Toyota       COROLLA             JACKSONVILLE              FL
118883   5YFBURHE3JP831226   Toyota       COROLLA             BURBANK                   CA
118884   5YFBURHE3JP831372   Toyota       COROLLA             HOUSTON                   TX
118885   5YFBURHE3JP832327   Toyota       COROLLA             Miami                     FL
118886   5YFBURHE3JP833008   Toyota       COROLLA             Woodhaven                 MI
118887   5YFBURHE3JP833350   Toyota       COROLLA             RENO                      NV
118888   5YFBURHE3JP835714   Toyota       COROLLA             CORPUS CHRISTI            TX
118889   5YFBURHE3JP838449   Toyota       COROLLA             BURBANK                   CA
118890   5YFBURHE3JP839360   Toyota       COROLLA             FRESNO                    CA
118891   5YFBURHE3JP840363   Toyota       COROLLA             SAN FRANCISCO             CA
118892   5YFBURHE3JP840802   Toyota       COROLLA             BIRMINGHAM                AL
118893   5YFBURHE3JP841156   Toyota       COROLLA             SANTA ANA                 CA
118894   5YFBURHE3JP841559   Toyota       COROLLA             Atlanta                   GA
118895   5YFBURHE3JP842002   Toyota       COROLLA             SAN ANTONIO               TX
118896   5YFBURHE3JP842243   Toyota       COROLLA             Miami                     FL
118897   5YFBURHE3JP842355   Toyota       COROLLA             PHOENIX                   AZ
118898   5YFBURHE3JP842520   Toyota       COROLLA             WESTMINSTER               CA
118899   5YFBURHE3JP842890   Toyota       COROLLA             RICHMOND                  VA
118900   5YFBURHE3JP842968   Toyota       COROLLA             PHOENIX                   AZ
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118901   5YFBURHE3JP843828   Toyota       COROLLA             BURBANK                   CA
118902   5YFBURHE3JP843943   Toyota       COROLLA             Albuquerque               NM
118903   5YFBURHE3JP843991   Toyota       COROLLA             SACRAMENTO                CA
118904   5YFBURHE3JP844025   Toyota       COROLLA             PHILADELPHIA              PA
118905   5YFBURHE3JP844459   Toyota       COROLLA             SANTA ANA                 CA
118906   5YFBURHE3JP844493   Toyota       COROLLA             ALBUQUERQUE               NM
118907   5YFBURHE3JP844574   Toyota       COROLLA             LAS VEGAS                 NV
118908   5YFBURHE3JP845160   Toyota       COROLLA             Tallahassee               FL
118909   5YFBURHE3JP845563   Toyota       COROLLA             PHOENIX                   AZ
118910   5YFBURHE3JP846406   Toyota       COROLLA             BURBANK                   CA
118911   5YFBURHE3JP846423   Toyota       COROLLA             Cicero                    NY
118912   5YFBURHE3JP846907   Toyota       COROLLA             Cincinnati                OH
118913   5YFBURHE3JP847572   Toyota       COROLLA             BIRMINGHAN                AL
118914   5YFBURHE3JP853730   Toyota       COROLLA             PORTLAND                  OR
118915   5YFBURHE3JP853744   Toyota       COROLLA             San Diego                 CA
118916   5YFBURHE3JP853789   Toyota       COROLLA             MOBILE                    A
118917   5YFBURHE3JP853856   Toyota       COROLLA             PHILADELPHIA              PA
118918   5YFBURHE3JP853923   Toyota       COROLLA             BALTIMORE                 MD
118919   5YFBURHE3JP854683   Toyota       COROLLA             Beaverton                 OR
118920   5YFBURHE3JP855140   Toyota       COROLLA             PHOENIX                   AZ
118921   5YFBURHE3JP855817   Toyota       COROLLA             FORT MYERS                FL
118922   5YFBURHE3JP855834   Toyota       COROLLA             TAMPA                     US
118923   5YFBURHE3JP855963   Toyota       COROLLA             WILMINGTON                NC
118924   5YFBURHE3KP882386   Toyota       COROLLA             TAMPA                     US
118925   5YFBURHE3KP883621   Toyota       COROLLA             GAINESVILLE               GA
118926   5YFBURHE3KP883862   Toyota       COROLLA             TAMPA                     US
118927   5YFBURHE3KP884851   Toyota       COROLLA             Dania Beach               FL
118928   5YFBURHE3KP885031   Toyota       COROLLA             SANTA ANA                 CA
118929   5YFBURHE3KP885319   Toyota       COROLLA             ATLANTA AP                GA
118930   5YFBURHE3KP885496   Toyota       COROLLA             FORT MYERS                FL
118931   5YFBURHE3KP885854   Toyota       COROLLA             West Palm Beach           FL
118932   5YFBURHE3KP885949   Toyota       COROLLA             ORLANDO                   FL
118933   5YFBURHE3KP886020   Toyota       COROLLA             TAMPA                     US
118934   5YFBURHE3KP886342   Toyota       COROLLA             MIAMI                     FL
118935   5YFBURHE3KP886437   Toyota       COROLLA             LOS ANGELES               CA
118936   5YFBURHE3KP886504   Toyota       COROLLA             JACKSONVILLE              FL
118937   5YFBURHE3KP886602   Toyota       COROLLA             Miami                     FL
118938   5YFBURHE3KP886616   Toyota       COROLLA             ORLANDO                   FL
118939   5YFBURHE3KP886647   Toyota       COROLLA             TALLAHASSEE               US
118940   5YFBURHE3KP886938   Toyota       COROLLA             SARASOTA                  FL
118941   5YFBURHE3KP887698   Toyota       COROLLA             FORT MYERS                FL
118942   5YFBURHE3KP887703   Toyota       COROLLA             WEST PALM BEACH           FL
118943   5YFBURHE3KP888558   Toyota       COROLLA             TAMPA                     US
118944   5YFBURHE3KP889208   Toyota       COROLLA             CHARLOTTE                 NC
118945   5YFBURHE3KP889760   Toyota       COROLLA             ALBUQUERQUE               NM
118946   5YFBURHE3KP889936   Toyota       COROLLA             WEST PALM BEACH           FL
118947   5YFBURHE3KP896529   Toyota       COROLLA             DANIA                     FL
118948   5YFBURHE3KP897387   Toyota       COROLLA             ORLANDO                   FL
118949   5YFBURHE3KP898569   Toyota       COROLLA             JACKSONVILLE              FL
118950   5YFBURHE3KP899687   Toyota       COROLLA             MIAMI                     FL
118951   5YFBURHE3KP900160   Toyota       COROLLA             COLLEGE PARK              GA
118952   5YFBURHE3KP917055   Toyota       COROLLA             FORT MYERS                FL
118953   5YFBURHE3KP917489   Toyota       COROLLA             TAMPA                     US
118954   5YFBURHE3KP917511   Toyota       COROLLA             MIAMI                     FL
118955   5YFBURHE3KP917542   Toyota       COROLLA             TAMPA                     US
118956   5YFBURHE3KP917623   Toyota       COROLLA             Dania Beach               FL
118957   5YFBURHE3KP917895   Toyota       COROLLA             ORLANDO                   FL
118958   5YFBURHE3KP918061   Toyota       COROLLA             DANIA                     FL
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118959   5YFBURHE3KP918996   Toyota       COROLLA             TAMPA                     US
118960   5YFBURHE3KP919100   Toyota       COROLLA             DANIA                     FL
118961   5YFBURHE3KP919128   Toyota       COROLLA             FORT MYERS                FL
118962   5YFBURHE3KP919257   Toyota       COROLLA             MIAMI                     FL
118963   5YFBURHE3KP919260   Toyota       COROLLA             Miami                     FL
118964   5YFBURHE3KP919274   Toyota       COROLLA             FORT MYERS                FL
118965   5YFBURHE3KP919436   Toyota       COROLLA             TAMPA                     US
118966   5YFBURHE3KP919565   Toyota       COROLLA             ORLANDO                   FL
118967   5YFBURHE3KP919629   Toyota       COROLLA             JACKSONVILLE              FL
118968   5YFBURHE3KP919758   Toyota       COROLLA             FORT MYERS                FL
118969   5YFBURHE3KP919792   Toyota       COROLLA             West Palm Beach           FL
118970   5YFBURHE3KP919811   Toyota       COROLLA             FORT MYERS                FL
118971   5YFBURHE3KP920084   Toyota       COROLLA             FORT MYERS                FL
118972   5YFBURHE3KP920134   Toyota       COROLLA             FORT MYERS                FL
118973   5YFBURHE3KP920747   Toyota       COROLLA             TAMPA                     US
118974   5YFBURHE3KP920778   Toyota       COROLLA             Miami                     FL
118975   5YFBURHE3KP921090   Toyota       COROLLA             JACKSONVILLE              FL
118976   5YFBURHE3KP921588   Toyota       COROLLA             SARASOTA                  FL
118977   5YFBURHE3KP921591   Toyota       COROLLA             ORLANDO                   FL
118978   5YFBURHE3KP921820   Toyota       COROLLA             ORLANDO                   FL
118979   5YFBURHE3KP921879   Toyota       COROLLA
118980   5YFBURHE3KP922546   Toyota       COROLLA             Miami                     FL
118981   5YFBURHE3KP928427   Toyota       COROLLA             FORT MYERS                FL
118982   5YFBURHE3KP933725   Toyota       COROLLA             ORLANDO                   FL
118983   5YFBURHE3KP933871   Toyota       COROLLA             TAMPA                     US
118984   5YFBURHE3KP933966   Toyota       COROLLA             West Palm Beach           FL
118985   5YFBURHE3KP934227   Toyota       COROLLA             TAMPA                     US
118986   5YFBURHE3KP934616   Toyota       COROLLA             ORLANDO                   FL
118987   5YFBURHE3KP934910   Toyota       COROLLA             DANIA                     FL
118988   5YFBURHE3KP934969   Toyota       COROLLA             ORLANDO                   FL
118989   5YFBURHE3KP935099   Toyota       COROLLA             JACKSONVILLE              FL
118990   5YFBURHE3KP935250   Toyota       COROLLA             West Palm Beach           FL
118991   5YFBURHE3KP935331   Toyota       COROLLA             TAMPA                     US
118992   5YFBURHE3KP935345   Toyota       COROLLA             TAMPA                     US
118993   5YFBURHE3KP935622   Toyota       COROLLA             TAMPA                     US
118994   5YFBURHE3KP935684   Toyota       COROLLA             WEST PALM BEACH           FL
118995   5YFBURHE3KP936009   Toyota       COROLLA             FORT MYERS                FL
118996   5YFBURHE3KP936267   Toyota       COROLLA             FT. LAUDERDALE            FL
118997   5YFBURHE3KP937855   Toyota       COROLLA             TAMPA                     US
118998   5YFBURHE3KP938973   Toyota       COROLLA             SAVANNAH                  GA
118999   5YFBURHE3KP940559   Toyota       COROLLA             West Palm Beach           FL
119000   5YFBURHE3KP940609   Toyota       COROLLA             Miami                     FL
119001   5YFBURHE4GP425318   Toyota       COROLLA             LOS ANGELES               CA
119002   5YFBURHE4GP555468   Toyota       COROLLA             Dania Beach               FL
119003   5YFBURHE4HP614181   Toyota       COROLLA             MARIETTA                  GA
119004   5YFBURHE4HP628517   Toyota       COROLLA             LAS VEGAS                 NV
119005   5YFBURHE4HP639842   Toyota       COROLLA             SAN FRANCISCO             CA
119006   5YFBURHE4HP640568   Toyota       COROLLA             BURBANK                   CA
119007   5YFBURHE4HP642661   Toyota       COROLLA             SALT LAKE CITY            UT
119008   5YFBURHE4HP643244   Toyota       COROLLA             SAN FRANCISCO             CA
119009   5YFBURHE4HP645009   Toyota       COROLLA             BURBANK                   CA
119010   5YFBURHE4HP645897   Toyota       COROLLA             Chicago                   IL
119011   5YFBURHE4HP655782   Toyota       COROLLA             BURBANK                   CA
119012   5YFBURHE4HP657466   Toyota       COROLLA             BURBANK                   CA
119013   5YFBURHE4HP671576   Toyota       COROLLA             LOS ANGELES               CA
119014   5YFBURHE4HP672310   Toyota       COROLLA             MANASSAS                  VA
119015   5YFBURHE4HP676390   Toyota       COROLLA             RENTON                    WA
119016   5YFBURHE4HP684392   Toyota       COROLLA             Los Angeles               CA
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119017   5YFBURHE4HP685185   Toyota       COROLLA             BURBANK                   CA
119018   5YFBURHE4HP685218   Toyota       COROLLA             WESTMINSTER               CA
119019   5YFBURHE4HP685929   Toyota       COROLLA             LAS VEGAS                 NV
119020   5YFBURHE4HP688636   Toyota       COROLLA             LOS ANGELES               CA
119021   5YFBURHE4HP702549   Toyota       COROLLA             SAN ANTONIO               TX
119022   5YFBURHE4HP704429   Toyota       COROLLA             Dallas                    TX
119023   5YFBURHE4HP707024   Toyota       COROLLA             Grove City                OH
119024   5YFBURHE4HP707105   Toyota       COROLLA             LAS VEGAS                 NV
119025   5YFBURHE4HP707220   Toyota       COROLLA             Anaheim                   CA
119026   5YFBURHE4HP707895   Toyota       COROLLA             NORTH PAC                 CA
119027   5YFBURHE4JP753801   Toyota       COROLLA             Atlanta                   GA
119028   5YFBURHE4JP757914   Toyota       COROLLA             WESTMINSTER               CA
119029   5YFBURHE4JP783476   Toyota       COROLLA             FORT MYERS                FL
119030   5YFBURHE4JP787981   Toyota       COROLLA             CHICAGO                   IL
119031   5YFBURHE4JP790119   Toyota       COROLLA             ONTARIO                   CA
119032   5YFBURHE4JP790895   Toyota       COROLLA             HARVEY                    LA
119033   5YFBURHE4JP791268   Toyota       COROLLA             ORLANDO                   FL
119034   5YFBURHE4JP791321   Toyota       COROLLA             SAN FRANCISCO             CA
119035   5YFBURHE4JP791545   Toyota       COROLLA             DFW AIRPORT               TX
119036   5YFBURHE4JP791643   Toyota       COROLLA             ORLANDO                   FL
119037   5YFBURHE4JP791691   Toyota       COROLLA             ORLANDO                   FL
119038   5YFBURHE4JP791822   Toyota       COROLLA             COLLEGE PARK              GA
119039   5YFBURHE4JP792114   Toyota       COROLLA             EGG HARBOR TOWN           NJ
119040   5YFBURHE4JP792159   Toyota       COROLLA             FORT MYERS                FL
119041   5YFBURHE4JP792825   Toyota       COROLLA             SAN ANTONIO               TX
119042   5YFBURHE4JP794073   Toyota       COROLLA             MIDLAND                   TX
119043   5YFBURHE4JP798589   Toyota       COROLLA             NEWARK                    NJ
119044   5YFBURHE4JP798902   Toyota       COROLLA             COLLEGE PARK              GA
119045   5YFBURHE4JP798964   Toyota       COROLLA             DENVER                    CO
119046   5YFBURHE4JP800096   Toyota       COROLLA             Elkridge                  MD
119047   5YFBURHE4JP800311   Toyota       COROLLA             Baltimore                 MD
119048   5YFBURHE4JP800390   Toyota       COROLLA             Baltimore                 MD
119049   5YFBURHE4JP800924   Toyota       COROLLA             ORLANDO                   FL
119050   5YFBURHE4JP801099   Toyota       COROLLA             Baltimore                 MD
119051   5YFBURHE4JP801572   Toyota       COROLLA             ORLANDO                   FL
119052   5YFBURHE4JP803399   Toyota       COROLLA             PHILADELPHIA              PA
119053   5YFBURHE4JP805430   Toyota       COROLLA             HARVEY                    LA
119054   5YFBURHE4JP808960   Toyota       COROLLA             IRVING                    TX
119055   5YFBURHE4JP809820   Toyota       COROLLA             LOS ANGELES               CA
119056   5YFBURHE4JP810482   Toyota       COROLLA             BURBANK                   CA
119057   5YFBURHE4JP813768   Toyota       COROLLA             Atlanta                   GA
119058   5YFBURHE4JP813950   Toyota       COROLLA             BURBANK                   CA
119059   5YFBURHE4JP814080   Toyota       COROLLA             PHOENIX                   AZ
119060   5YFBURHE4JP814130   Toyota       COROLLA             HAYWARD                   CA
119061   5YFBURHE4JP814242   Toyota       COROLLA             MCALLEN                   TX
119062   5YFBURHE4JP814368   Toyota       COROLLA             BIRMINGHAM                AL
119063   5YFBURHE4JP814614   Toyota       COROLLA             WESTMINSTER               CA
119064   5YFBURHE4JP814855   Toyota       COROLLA             FT. LAUDERDALE            FL
119065   5YFBURHE4JP814872   Toyota       COROLLA             Miami                     FL
119066   5YFBURHE4JP815293   Toyota       COROLLA             Roseville                 CA
119067   5YFBURHE4JP815715   Toyota       COROLLA             SAN DIEGO                 CA
119068   5YFBURHE4JP815911   Toyota       COROLLA             PHOENIX                   AZ
119069   5YFBURHE4JP816380   Toyota       COROLLA             Sacramento                CA
119070   5YFBURHE4JP817089   Toyota       COROLLA             PHOENIX                   AZ
119071   5YFBURHE4JP817724   Toyota       COROLLA             JACKSONVILLE              FL
119072   5YFBURHE4JP818291   Toyota       COROLLA             ORLANDO                   FL
119073   5YFBURHE4JP818369   Toyota       COROLLA             LAS VEGAS                 NV
119074   5YFBURHE4JP818985   Toyota       COROLLA             FRESNO                    CA
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119075   5YFBURHE4JP819490   Toyota       COROLLA             MIAMI                     FL
119076   5YFBURHE4JP819568   Toyota       COROLLA             DANIA                     FL
119077   5YFBURHE4JP826262   Toyota       COROLLA             Alexandria                LA
119078   5YFBURHE4JP826326   Toyota       COROLLA             FULLERTON                 CA
119079   5YFBURHE4JP826813   Toyota       COROLLA             TAMPA                     US
119080   5YFBURHE4JP827394   Toyota       COROLLA             Miami                     FL
119081   5YFBURHE4JP827427   Toyota       COROLLA             PHOENIX                   AZ
119082   5YFBURHE4JP828089   Toyota       COROLLA             Sacramento                CA
119083   5YFBURHE4JP828142   Toyota       COROLLA             UNION CITY                GA
119084   5YFBURHE4JP828187   Toyota       COROLLA             DETROIT                   MI
119085   5YFBURHE4JP828223   Toyota       COROLLA             PALM SPRINGS              CA
119086   5YFBURHE4JP829887   Toyota       COROLLA             FORT MYERS                FL
119087   5YFBURHE4JP830148   Toyota       COROLLA             ONTARIO                   CA
119088   5YFBURHE4JP830733   Toyota       COROLLA             SAINT LOUIS               MO
119089   5YFBURHE4JP831090   Toyota       COROLLA             PHOENIX                   AZ
119090   5YFBURHE4JP831493   Toyota       COROLLA             BURLINGAME                CA
119091   5YFBURHE4JP831672   Toyota       COROLLA             LAS VEGAS                 NV
119092   5YFBURHE4JP831879   Toyota       COROLLA             ORLANDO                   FL
119093   5YFBURHE4JP834734   Toyota       COROLLA             SAN ANTONIO               TX
119094   5YFBURHE4JP837133   Toyota       COROLLA             Tallahassee               FL
119095   5YFBURHE4JP838069   Toyota       COROLLA             Miami                     FL
119096   5YFBURHE4JP838637   Toyota       COROLLA             KNOXVILLE                 TN
119097   5YFBURHE4JP840212   Toyota       COROLLA             DANIA                     FL
119098   5YFBURHE4JP840906   Toyota       COROLLA             West Palm Beach           FL
119099   5YFBURHE4JP841375   Toyota       COROLLA             SAN ANTONIO               TX
119100   5YFBURHE4JP842607   Toyota       COROLLA             PHOENIX                   AZ
119101   5YFBURHE4JP842848   Toyota       COROLLA             PENSACOLA                 FL
119102   5YFBURHE4JP842882   Toyota       COROLLA             UNION CITY                GA
119103   5YFBURHE4JP843353   Toyota       COROLLA             FULLERTON                 CA
119104   5YFBURHE4JP843417   Toyota       COROLLA             INDIANAPOLIS              IN
119105   5YFBURHE4JP843921   Toyota       COROLLA             BURBANK                   CA
119106   5YFBURHE4JP844034   Toyota       COROLLA             DANIA                     FL
119107   5YFBURHE4JP844390   Toyota       COROLLA             Las Vegas                 NV
119108   5YFBURHE4JP844406   Toyota       COROLLA             ORLANDO                   FL
119109   5YFBURHE4JP845054   Toyota       COROLLA             KENNER                    LA
119110   5YFBURHE4JP845166   Toyota       COROLLA             CHARLESTON                WV
119111   5YFBURHE4JP845555   Toyota       COROLLA             SHREVEPORT                US
119112   5YFBURHE4JP845829   Toyota       COROLLA             MILWAUKEE AIRPORT         WI
119113   5YFBURHE4JP847032   Toyota       COROLLA             LAS VEGAS                 NV
119114   5YFBURHE4JP847810   Toyota       COROLLA             CLEVELAND                 OH
119115   5YFBURHE4JP855020   Toyota       COROLLA             Louisville                KY
119116   5YFBURHE4JP855129   Toyota       COROLLA             ALEXANDRIA                VA
119117   5YFBURHE4JP855146   Toyota       COROLLA             COSTA MESA                CA
119118   5YFBURHE4JP855387   Toyota       COROLLA             SALT LAKE CITY            UT
119119   5YFBURHE4KP866178   Toyota       COROLLA             ORLANDO                   FL
119120   5YFBURHE4KP884163   Toyota       COROLLA             ORLANDO                   FL
119121   5YFBURHE4KP884793   Toyota       COROLLA             TALLAHASSEE               US
119122   5YFBURHE4KP884809   Toyota       COROLLA             DENVER                    CO
119123   5YFBURHE4KP884907   Toyota       COROLLA             ALEXANDRIA                VA
119124   5YFBURHE4KP884910   Toyota       COROLLA             FORT MYERS                FL
119125   5YFBURHE4KP885006   Toyota       COROLLA             ORLANDO                   FL
119126   5YFBURHE4KP885670   Toyota       COROLLA             LOS ANGELES               CA
119127   5YFBURHE4KP886057   Toyota       COROLLA             Dania Beach               FL
119128   5YFBURHE4KP886060   Toyota       COROLLA             ORLANDO                   FL
119129   5YFBURHE4KP886267   Toyota       COROLLA             BURLINGAME                CA
119130   5YFBURHE4KP886284   Toyota       COROLLA             LAS VEGAS                 NV
119131   5YFBURHE4KP886432   Toyota       COROLLA             DETROIT                   MI
119132   5YFBURHE4KP886446   Toyota       COROLLA             ORLANDO                   FL
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119133   5YFBURHE4KP886513   Toyota       COROLLA             ORLANDO                   FL
119134   5YFBURHE4KP886589   Toyota       COROLLA             DANIA                     FL
119135   5YFBURHE4KP886592   Toyota       COROLLA             Miami                     FL
119136   5YFBURHE4KP886947   Toyota       COROLLA             LOS ANGELES               CA
119137   5YFBURHE4KP886950   Toyota       COROLLA             RONKONKOMA                NY
119138   5YFBURHE4KP887127   Toyota       COROLLA             ORLANDO                   FL
119139   5YFBURHE4KP887161   Toyota       COROLLA             DANIA                     FL
119140   5YFBURHE4KP887273   Toyota       COROLLA             ALBUQUERQUE               NM
119141   5YFBURHE4KP887287   Toyota       COROLLA             San Diego                 CA
119142   5YFBURHE4KP887483   Toyota       COROLLA             ORLANDO                   FL
119143   5YFBURHE4KP887872   Toyota       COROLLA             San Diego                 CA
119144   5YFBURHE4KP888617   Toyota       COROLLA             Dania Beach               FL
119145   5YFBURHE4KP888794   Toyota       COROLLA             Miami                     FL
119146   5YFBURHE4KP889251   Toyota       COROLLA             ORLANDO                   FL
119147   5YFBURHE4KP889833   Toyota       COROLLA             SARASOTA                  FL
119148   5YFBURHE4KP891758   Toyota       COROLLA             Carleton                  MI
119149   5YFBURHE4KP894434   Toyota       COROLLA             ORLANDO                   FL
119150   5YFBURHE4KP895339   Toyota       COROLLA             ALEXANDRIA                VA
119151   5YFBURHE4KP895812   Toyota       COROLLA             FORT MYERS                FL
119152   5YFBURHE4KP896202   Toyota       COROLLA             ORLANDO                   FL
119153   5YFBURHE4KP897365   Toyota       COROLLA             TAMPA                     US
119154   5YFBURHE4KP897754   Toyota       COROLLA             KILLEEN                   US
119155   5YFBURHE4KP898239   Toyota       COROLLA             Anaheim                   CA
119156   5YFBURHE4KP898595   Toyota       COROLLA             ORLANDO                   FL
119157   5YFBURHE4KP898936   Toyota       COROLLA             FORT MYERS                FL
119158   5YFBURHE4KP900426   Toyota       COROLLA             Miami                     FL
119159   5YFBURHE4KP914018   Toyota       COROLLA             TAMPA                     US
119160   5YFBURHE4KP918165   Toyota       COROLLA             ORLANDO                   FL
119161   5YFBURHE4KP918327   Toyota       COROLLA             SARASOTA                  FL
119162   5YFBURHE4KP918473   Toyota       COROLLA             ORLANDO                   FL
119163   5YFBURHE4KP918571   Toyota       COROLLA             ORLANDO                   FL
119164   5YFBURHE4KP918991   Toyota       COROLLA             DANIA                     FL
119165   5YFBURHE4KP919168   Toyota       COROLLA             TAMPA                     US
119166   5YFBURHE4KP919252   Toyota       COROLLA             West Palm Beach           FL
119167   5YFBURHE4KP919400   Toyota       COROLLA             JACKSONVILLE              FL
119168   5YFBURHE4KP919543   Toyota       COROLLA             Miami                     FL
119169   5YFBURHE4KP920126   Toyota       COROLLA             ORLANDO                   FL
119170   5YFBURHE4KP920191   Toyota       COROLLA             MIAMI                     FL
119171   5YFBURHE4KP920451   Toyota       COROLLA             JACKSONVILLE              FL
119172   5YFBURHE4KP920773   Toyota       COROLLA             DANIA                     FL
119173   5YFBURHE4KP920952   Toyota       COROLLA             Dania Beach               FL
119174   5YFBURHE4KP921017   Toyota       COROLLA             FORT MYERS                FL
119175   5YFBURHE4KP921020   Toyota       COROLLA             ORLANDO                   FL
119176   5YFBURHE4KP921390   Toyota       COROLLA             WEST PALM BEACH           FL
119177   5YFBURHE4KP921678   Toyota       COROLLA             DANIA                     FL
119178   5YFBURHE4KP921812   Toyota       COROLLA             Miami                     FL
119179   5YFBURHE4KP922071   Toyota       COROLLA             JACKSONVILLE              FL
119180   5YFBURHE4KP922555   Toyota       COROLLA             Miami                     FL
119181   5YFBURHE4KP927559   Toyota       COROLLA             ORLANDO                   FL
119182   5YFBURHE4KP928467   Toyota       COROLLA             ORLANDO                   FL
119183   5YFBURHE4KP933524   Toyota       COROLLA             MIAMI                     FL
119184   5YFBURHE4KP933880   Toyota       COROLLA             West Palm Beach           FL
119185   5YFBURHE4KP933913   Toyota       COROLLA             WEST PALM BEACH           FL
119186   5YFBURHE4KP933958   Toyota       COROLLA             MIAMI                     FL
119187   5YFBURHE4KP933989   Toyota       COROLLA             FORT MYERS                FL
119188   5YFBURHE4KP934351   Toyota       COROLLA             ORLANDO                   FL
119189   5YFBURHE4KP934463   Toyota       COROLLA             JACKSONVILLE              FL
119190   5YFBURHE4KP934477   Toyota       COROLLA             ORLANDO                   FL
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119191   5YFBURHE4KP935256   Toyota       COROLLA             DANIA                     FL
119192   5YFBURHE4KP935516   Toyota       COROLLA             DANIA                     FL
119193   5YFBURHE4KP935807   Toyota       COROLLA             FORT MYERS                FL
119194   5YFBURHE4KP936052   Toyota       COROLLA             West Palm Beach           FL
119195   5YFBURHE4KP936259   Toyota       COROLLA             TAMPA                     US
119196   5YFBURHE4KP936777   Toyota       COROLLA             JACKSONVILLE              FL
119197   5YFBURHE4KP938268   Toyota       COROLLA             DANIA                     FL
119198   5YFBURHE4KP940585   Toyota       COROLLA             FORT MYERS                FL
119199   5YFBURHE4KP946208   Toyota       COROLLA             TAMPA                     US
119200   5YFBURHE5GP479632   Toyota       COROLLA             BURBANK                   CA
119201   5YFBURHE5HP579263   Toyota       COROLLA             IRVING                    TX
119202   5YFBURHE5HP586259   Toyota       COROLLA             LAS VEGAS                 NV
119203   5YFBURHE5HP623228   Toyota       COROLLA             Roseville                 CA
119204   5YFBURHE5HP634083   Toyota       COROLLA             SAN DIEGO                 CA
119205   5YFBURHE5HP639543   Toyota       COROLLA             BURBANK                   CA
119206   5YFBURHE5HP640594   Toyota       COROLLA             SAN ANTONIO               TX
119207   5YFBURHE5HP644418   Toyota       COROLLA             RIVERSIDE                 CA
119208   5YFBURHE5HP644547   Toyota       COROLLA             LOS ANGELES               CA
119209   5YFBURHE5HP645343   Toyota       COROLLA             LAS VEGAS                 NV
119210   5YFBURHE5HP656553   Toyota       COROLLA             HANOVER                   MD
119211   5YFBURHE5HP656830   Toyota       COROLLA             SAN FRANCISCO             CA
119212   5YFBURHE5HP658237   Toyota       COROLLA             Dallas                    TX
119213   5YFBURHE5HP658853   Toyota       COROLLA             LAS VEGAS                 NV
119214   5YFBURHE5HP660439   Toyota       COROLLA             Hayward                   CA
119215   5YFBURHE5HP672607   Toyota       COROLLA             KENT                      WA
119216   5YFBURHE5HP673482   Toyota       COROLLA             AUSTIN                    TX
119217   5YFBURHE5HP675653   Toyota       COROLLA             MELROSE PARK              IL
119218   5YFBURHE5HP675779   Toyota       COROLLA             DENVER                    CO
119219   5YFBURHE5HP685471   Toyota       COROLLA             Fontana                   CA
119220   5YFBURHE5HP687804   Toyota       COROLLA             LAS VEGAS                 NV
119221   5YFBURHE5HP688256   Toyota       COROLLA             AURORA                    CO
119222   5YFBURHE5HP706867   Toyota       COROLLA             COLLEGE PARK              GA
119223   5YFBURHE5HP707257   Toyota       COROLLA             MANASSAS                  VA
119224   5YFBURHE5HP733874   Toyota       COROLLA             Miami                     FL
119225   5YFBURHE5HP734880   Toyota       COROLLA             Sandston                  VA
119226   5YFBURHE5JP761616   Toyota       COROLLA             MIAMI                     FL
119227   5YFBURHE5JP784328   Toyota       COROLLA             EL MONTE                  CA
119228   5YFBURHE5JP789559   Toyota       COROLLA             Miami                     FL
119229   5YFBURHE5JP789643   Toyota       COROLLA             SAN DIEGO                 CA
119230   5YFBURHE5JP790193   Toyota       COROLLA             Charlotte                 NC
119231   5YFBURHE5JP790291   Toyota       COROLLA             Manheim                   PA
119232   5YFBURHE5JP790694   Toyota       COROLLA             LOS ANGELES               CA
119233   5YFBURHE5JP790971   Toyota       COROLLA             DANIA                     FL
119234   5YFBURHE5JP792056   Toyota       COROLLA             DANIA                     FL
119235   5YFBURHE5JP792400   Toyota       COROLLA             HARVEY                    LA
119236   5YFBURHE5JP792509   Toyota       COROLLA             MIDLAND                   TX
119237   5YFBURHE5JP798990   Toyota       COROLLA             WEST COLUMBIA             SC
119238   5YFBURHE5JP799301   Toyota       COROLLA             ORLANDO                   FL
119239   5YFBURHE5JP799699   Toyota       COROLLA             COLLEGE PARK              GA
119240   5YFBURHE5JP800205   Toyota       COROLLA             Miami                     FL
119241   5YFBURHE5JP800351   Toyota       COROLLA             ORLANDO                   FL
119242   5YFBURHE5JP801550   Toyota       COROLLA             TAMPA                     US
119243   5YFBURHE5JP802083   Toyota       COROLLA             KNOXVILLE                 TN
119244   5YFBURHE5JP803184   Toyota       COROLLA             TAMPA                     US
119245   5YFBURHE5JP803489   Toyota       COROLLA             DANIA                     FL
119246   5YFBURHE5JP809485   Toyota       COROLLA             ORLANDO                   FL
119247   5YFBURHE5JP812872   Toyota       COROLLA             FORT MYERS                FL
119248   5YFBURHE5JP813360   Toyota       COROLLA             Miami                     FL
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119249   5YFBURHE5JP814105   Toyota       COROLLA             DALLAS                    TX
119250   5YFBURHE5JP814640   Toyota       COROLLA             SAN FRANCISCO             CA
119251   5YFBURHE5JP814699   Toyota       COROLLA             BURBANK                   CA
119252   5YFBURHE5JP814718   Toyota       COROLLA             LAS VEGAS                 NV
119253   5YFBURHE5JP814900   Toyota       COROLLA             ORLANDO                   FL
119254   5YFBURHE5JP814962   Toyota       COROLLA             ORLANDO                   FL
119255   5YFBURHE5JP816839   Toyota       COROLLA             HOUSTON                   TX
119256   5YFBURHE5JP816968   Toyota       COROLLA             SANTA CLARA               CA
119257   5YFBURHE5JP817280   Toyota       COROLLA             DALLAS                    TX
119258   5YFBURHE5JP818333   Toyota       COROLLA             SAN DIEGO                 CA
119259   5YFBURHE5JP818395   Toyota       COROLLA             SAN JOSE                  CA
119260   5YFBURHE5JP818882   Toyota       COROLLA             DANIA                     FL
119261   5YFBURHE5JP818901   Toyota       COROLLA             BURBANK                   CA
119262   5YFBURHE5JP819563   Toyota       COROLLA             OAKLAND                   CA
119263   5YFBURHE5JP819577   Toyota       COROLLA             DANIA                     FL
119264   5YFBURHE5JP819627   Toyota       COROLLA             TAMPA                     US
119265   5YFBURHE5JP822155   Toyota       COROLLA             FORT MYERS                FL
119266   5YFBURHE5JP823628   Toyota       COROLLA             BURBANK                   CA
119267   5YFBURHE5JP825959   Toyota       COROLLA             PHOENIX                   AZ
119268   5YFBURHE5JP825976   Toyota       COROLLA             Tampa                     FL
119269   5YFBURHE5JP826836   Toyota       COROLLA             Miami                     FL
119270   5YFBURHE5JP826870   Toyota       COROLLA             LAS VEGAS                 NV
119271   5YFBURHE5JP827291   Toyota       COROLLA             HOUSTON                   TX
119272   5YFBURHE5JP827498   Toyota       COROLLA             PHILADELPHIA              PA
119273   5YFBURHE5JP827520   Toyota       COROLLA             Carleton                  MI
119274   5YFBURHE5JP827646   Toyota       COROLLA             MANASSAS                  VA
119275   5YFBURHE5JP828828   Toyota       COROLLA             MIAMI                     FL
119276   5YFBURHE5JP829929   Toyota       COROLLA             FORT MYERS                FL
119277   5YFBURHE5JP829977   Toyota       COROLLA             SAVANNAH                  GA
119278   5YFBURHE5JP830062   Toyota       COROLLA             SAN ANTONIO               TX
119279   5YFBURHE5JP830160   Toyota       COROLLA             BURBANK                   CA
119280   5YFBURHE5JP831423   Toyota       COROLLA             DECATUR                   GA
119281   5YFBURHE5JP831454   Toyota       COROLLA             DETROIT                   MI
119282   5YFBURHE5JP831602   Toyota       COROLLA             FORT MYERS                FL
119283   5YFBURHE5JP831924   Toyota       COROLLA             LAS VEGAS                 NV
119284   5YFBURHE5JP832006   Toyota       COROLLA             UNION CITY                GA
119285   5YFBURHE5JP832250   Toyota       COROLLA             UNION CITY                GA
119286   5YFBURHE5JP833835   Toyota       COROLLA             ORLANDO                   FL
119287   5YFBURHE5JP836797   Toyota       COROLLA             ORLANDO                   FL
119288   5YFBURHE5JP836816   Toyota       COROLLA             STERLING                  VA
119289   5YFBURHE5JP837464   Toyota       COROLLA             CLEVELAND                 OH
119290   5YFBURHE5JP838064   Toyota       COROLLA             DANIA                     FL
119291   5YFBURHE5JP839537   Toyota       COROLLA             Des Moines                IA
119292   5YFBURHE5JP839649   Toyota       COROLLA             Miami                     FL
119293   5YFBURHE5JP839781   Toyota       COROLLA             Miami                     FL
119294   5YFBURHE5JP840946   Toyota       COROLLA             DANIA                     FL
119295   5YFBURHE5JP841479   Toyota       COROLLA             NORFOLK                   VA
119296   5YFBURHE5JP842213   Toyota       COROLLA             SANTA ANA                 CA
119297   5YFBURHE5JP842244   Toyota       COROLLA             MEMPHIS                   TN
119298   5YFBURHE5JP842468   Toyota       COROLLA             PLEASANT HILL             CA
119299   5YFBURHE5JP843216   Toyota       COROLLA             LOS ANGELES               CA
119300   5YFBURHE5JP843524   Toyota       COROLLA             DANIA                     FL
119301   5YFBURHE5JP843863   Toyota       COROLLA             LAS VEGAS                 NV
119302   5YFBURHE5JP844169   Toyota       COROLLA             AUGUSTA                   GA
119303   5YFBURHE5JP844463   Toyota       COROLLA             FORT MYERS                FL
119304   5YFBURHE5JP844477   Toyota       COROLLA             PHOENIX                   AZ
119305   5YFBURHE5JP844737   Toyota       COROLLA             BURBANK                   CA
119306   5YFBURHE5JP844981   Toyota       COROLLA             LAS VEGAS                 NV
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119307   5YFBURHE5JP845094   Toyota       COROLLA             ORLANDO                   FL
119308   5YFBURHE5JP845189   Toyota       COROLLA             Atlanta                   GA
119309   5YFBURHE5JP845841   Toyota       COROLLA             TAMPA                     US
119310   5YFBURHE5JP846228   Toyota       COROLLA             CHICAGO                   IL
119311   5YFBURHE5JP846391   Toyota       COROLLA             FORT MYERS                FL
119312   5YFBURHE5JP846410   Toyota       COROLLA             HOUSTON                   TX
119313   5YFBURHE5JP846584   Toyota       COROLLA             ORLANDO                   FL
119314   5YFBURHE5JP847041   Toyota       COROLLA             San Diego                 CA
119315   5YFBURHE5JP847122   Toyota       COROLLA             Dearborn                  MI
119316   5YFBURHE5JP847721   Toyota       COROLLA             DENVER                    CO
119317   5YFBURHE5JP847816   Toyota       COROLLA             ORLANDO                   FL
119318   5YFBURHE5JP853700   Toyota       COROLLA             LAS VEGAS                 NV
119319   5YFBURHE5JP853728   Toyota       COROLLA             SAN FRANCISCO             CA
119320   5YFBURHE5JP854149   Toyota       COROLLA             SEATAC                    WA
119321   5YFBURHE5JP854345   Toyota       COROLLA             LOS ANGELES               CA
119322   5YFBURHE5JP854362   Toyota       COROLLA             SAN JOSE                  CA
119323   5YFBURHE5JP854619   Toyota       COROLLA             LAS VEGAS                 NV
119324   5YFBURHE5JP854779   Toyota       COROLLA             EL SEGUNDO                CA
119325   5YFBURHE5JP855639   Toyota       COROLLA             LAS VEGAS                 NV
119326   5YFBURHE5JP855947   Toyota       COROLLA             PHOENIX                   AZ
119327   5YFBURHE5KP856257   Toyota       COROLLA             TAMPA                     US
119328   5YFBURHE5KP884527   Toyota       COROLLA             LOS ANGELES               CA
119329   5YFBURHE5KP884768   Toyota       COROLLA             ORLANDO                   FL
119330   5YFBURHE5KP884799   Toyota       COROLLA             SAVANNAH                  GA
119331   5YFBURHE5KP884902   Toyota       COROLLA             Miami                     FL
119332   5YFBURHE5KP884950   Toyota       COROLLA             Dania Beach               FL
119333   5YFBURHE5KP885306   Toyota       COROLLA             Miami                     FL
119334   5YFBURHE5KP885435   Toyota       COROLLA             TAMPA                     US
119335   5YFBURHE5KP885791   Toyota       COROLLA             Miami                     FL
119336   5YFBURHE5KP886519   Toyota       COROLLA             ORLANDO                   FL
119337   5YFBURHE5KP886522   Toyota       COROLLA             Riverside                 CA
119338   5YFBURHE5KP886536   Toyota       COROLLA             PINELLAS PARK             FL
119339   5YFBURHE5KP886584   Toyota       COROLLA             NAPLES                    FL
119340   5YFBURHE5KP886830   Toyota       COROLLA             BURBANK                   CA
119341   5YFBURHE5KP887072   Toyota       COROLLA             SAN JOSE                  CA
119342   5YFBURHE5KP887167   Toyota       COROLLA             TAMPA                     US
119343   5YFBURHE5KP887377   Toyota       COROLLA             TUCSON                    US
119344   5YFBURHE5KP887413   Toyota       COROLLA             LAS VEGAS                 NV
119345   5YFBURHE5KP888027   Toyota       COROLLA             FRESNO                    CA
119346   5YFBURHE5KP888402   Toyota       COROLLA             ALBUQUERQUE               NM
119347   5YFBURHE5KP889372   Toyota       COROLLA             MIAMI                     FL
119348   5YFBURHE5KP889954   Toyota       COROLLA             ORLANDO                   FL
119349   5YFBURHE5KP890554   Toyota       COROLLA             GOLDSBORO                 NC
119350   5YFBURHE5KP895110   Toyota       COROLLA             Miami                     FL
119351   5YFBURHE5KP895155   Toyota       COROLLA             ORLANDO                   FL
119352   5YFBURHE5KP895690   Toyota       COROLLA             DANIA                     FL
119353   5YFBURHE5KP896287   Toyota       COROLLA             TUCSON                    US
119354   5YFBURHE5KP896354   Toyota       COROLLA             Killeen                   TX
119355   5YFBURHE5KP897486   Toyota       COROLLA             TALLAHASSEE               US
119356   5YFBURHE5KP898556   Toyota       COROLLA             WEST COLUMBIA             SC
119357   5YFBURHE5KP898976   Toyota       COROLLA             ORLANDO                   FL
119358   5YFBURHE5KP899612   Toyota       COROLLA             ORLANDO                   FL
119359   5YFBURHE5KP902654   Toyota       COROLLA             FORT MYERS                FL
119360   5YFBURHE5KP915565   Toyota       COROLLA             FORT MYERS                FL
119361   5YFBURHE5KP917381   Toyota       COROLLA             ORLANDO                   FL
119362   5YFBURHE5KP917607   Toyota       COROLLA             ORLANDO                   FL
119363   5YFBURHE5KP918417   Toyota       COROLLA             JACKSONVILLE              FL
119364   5YFBURHE5KP918580   Toyota       COROLLA             MIAMI                     FL
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119365   5YFBURHE5KP918935   Toyota       COROLLA             DANIA                     FL
119366   5YFBURHE5KP919146   Toyota       COROLLA             DANIA                     FL
119367   5YFBURHE5KP919177   Toyota       COROLLA             Miami                     FL
119368   5YFBURHE5KP919213   Toyota       COROLLA             ORLANDO                   FL
119369   5YFBURHE5KP919275   Toyota       COROLLA             DANIA                     FL
119370   5YFBURHE5KP919356   Toyota       COROLLA             JACKSONVILLE              FL
119371   5YFBURHE5KP919406   Toyota       COROLLA             MIAMI                     FL
119372   5YFBURHE5KP919857   Toyota       COROLLA             DANIA                     FL
119373   5YFBURHE5KP919941   Toyota       COROLLA             TAMPA                     US
119374   5YFBURHE5KP919986   Toyota       COROLLA             DANIA                     FL
119375   5YFBURHE5KP920068   Toyota       COROLLA             TAMPA                     US
119376   5YFBURHE5KP920121   Toyota       COROLLA             MIAMI                     FL
119377   5YFBURHE5KP920295   Toyota       COROLLA             Miami                     FL
119378   5YFBURHE5KP920331   Toyota       COROLLA             TAMPA                     US
119379   5YFBURHE5KP920569   Toyota       COROLLA             FORT MYERS                FL
119380   5YFBURHE5KP920717   Toyota       COROLLA             TAMPA                     US
119381   5YFBURHE5KP920734   Toyota       COROLLA             ORLANDO                   FL
119382   5YFBURHE5KP920944   Toyota       COROLLA             TAMPA                     US
119383   5YFBURHE5KP921009   Toyota       COROLLA             TALLAHASSEE               US
119384   5YFBURHE5KP921849   Toyota       COROLLA             TAMPA                     US
119385   5YFBURHE5KP922449   Toyota       COROLLA             ORLANDO                   FL
119386   5YFBURHE5KP928350   Toyota       COROLLA             JACKSONVILLE              FL
119387   5YFBURHE5KP928820   Toyota       COROLLA             Miami                     FL
119388   5YFBURHE5KP931894   Toyota       COROLLA             West Palm Beach           FL
119389   5YFBURHE5KP933273   Toyota       COROLLA             JACKSONVILLE              FL
119390   5YFBURHE5KP933869   Toyota       COROLLA             JACKSONVILLE              FL
119391   5YFBURHE5KP933919   Toyota       COROLLA             TAMPA                     US
119392   5YFBURHE5KP934164   Toyota       COROLLA             FORT MYERS                FL
119393   5YFBURHE5KP934861   Toyota       COROLLA             SAVANNAH                  GA
119394   5YFBURHE5KP934875   Toyota       COROLLA             TAMPA                     US
119395   5YFBURHE5KP935265   Toyota       COROLLA             TAMPA                     US
119396   5YFBURHE5KP935296   Toyota       COROLLA             Miami                     FL
119397   5YFBURHE5KP935749   Toyota       COROLLA             ORLANDO                   FL
119398   5YFBURHE5KP936691   Toyota       COROLLA             Dania Beach               FL
119399   5YFBURHE5KP938294   Toyota       COROLLA             MIAMI                     FL
119400   5YFBURHE5KP940577   Toyota       COROLLA             SARASOTA                  FL
119401   5YFBURHE6HP584682   Toyota       COROLLA             CHICAGO                   IL
119402   5YFBURHE6HP586108   Toyota       COROLLA             SAN ANTONIO               TX
119403   5YFBURHE6HP627160   Toyota       COROLLA             BURBANK                   CA
119404   5YFBURHE6HP628843   Toyota       COROLLA             Fontana                   CA
119405   5YFBURHE6HP632603   Toyota       CAMRY               Miami                     FL
119406   5YFBURHE6HP641835   Toyota       COROLLA             SAN FRANCISCO             CA
119407   5YFBURHE6HP642290   Toyota       COROLLA             HAYWARD                   CA
119408   5YFBURHE6HP642855   Toyota       COROLLA             Sacramento                CA
119409   5YFBURHE6HP644721   Toyota       COROLLA             DENVER                    CO
119410   5YFBURHE6HP644797   Toyota       COROLLA             DANIA                     FL
119411   5YFBURHE6HP645237   Toyota       COROLLA             BURBANK                   CA
119412   5YFBURHE6HP645724   Toyota       COROLLA             MANASSAS                  VA
119413   5YFBURHE6HP645772   Toyota       COROLLA             HAYWARD                   CA
119414   5YFBURHE6HP654827   Toyota       COROLLA             SAN ANTONIO               TX
119415   5YFBURHE6HP661292   Toyota       COROLLA             CHICAGO                   IL
119416   5YFBURHE6HP668663   Toyota       CAMRY               MIAMI                     FL
119417   5YFBURHE6HP670297   Toyota       COROLLA             Slidell                   LA
119418   5YFBURHE6HP704013   Toyota       COROLLA             DFW AIRPORT               TX
119419   5YFBURHE6HP704383   Toyota       COROLLA             IRVING                    TX
119420   5YFBURHE6HP704934   Toyota       COROLLA             Rio Linda                 CA
119421   5YFBURHE6HP705081   Toyota       COROLLA             CHICAGO                   IL
119422   5YFBURHE6JP758109   Toyota       COROLLA             SAN DIEGO                 CA
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119423   5YFBURHE6JP761334   Toyota       COROLLA             Miami                     FL
119424   5YFBURHE6JP788839   Toyota       COROLLA             LAS VEGAS                 NV
119425   5YFBURHE6JP789120   Toyota       COROLLA             IRVING                    TX
119426   5YFBURHE6JP789487   Toyota       COROLLA             MANASSAS                  VA
119427   5YFBURHE6JP789733   Toyota       COROLLA             BURBANK                   CA
119428   5YFBURHE6JP790073   Toyota       COROLLA             DANIA                     FL
119429   5YFBURHE6JP790090   Toyota       COROLLA             Dania Beach               FL
119430   5YFBURHE6JP790302   Toyota       COROLLA             DANIA                     FL
119431   5YFBURHE6JP790378   Toyota       COROLLA             DANIA                     FL
119432   5YFBURHE6JP790932   Toyota       COROLLA             Dallas                    TX
119433   5YFBURHE6JP795595   Toyota       COROLLA             NORTH PAC                 CA
119434   5YFBURHE6JP799033   Toyota       COROLLA             ORLANDO                   FL
119435   5YFBURHE6JP799100   Toyota       COROLLA             COLLEGE PARK              GA
119436   5YFBURHE6JP800049   Toyota       COROLLA             Carleton                  MI
119437   5YFBURHE6JP800231   Toyota       COROLLA             FORT MYERS                FL
119438   5YFBURHE6JP800326   Toyota       COROLLA             ORLANDO                   FL
119439   5YFBURHE6JP801413   Toyota       COROLLA             DANIA                     FL
119440   5YFBURHE6JP801492   Toyota       COROLLA             SARASOTA                  FL
119441   5YFBURHE6JP802125   Toyota       COROLLA             DENVER                    CO
119442   5YFBURHE6JP802190   Toyota       COROLLA             ORLANDO                   FL
119443   5YFBURHE6JP802870   Toyota       COROLLA             HARVEY                    LA
119444   5YFBURHE6JP802903   Toyota       COROLLA             Dallas                    TX
119445   5YFBURHE6JP813870   Toyota       COROLLA             DANIA                     FL
119446   5YFBURHE6JP814534   Toyota       COROLLA             FORT MYERS                FL
119447   5YFBURHE6JP814646   Toyota       COROLLA             Ventura                   CA
119448   5YFBURHE6JP814811   Toyota       COROLLA             Des Moines                IA
119449   5YFBURHE6JP815022   Toyota       COROLLA             CHEEKTOWAGA               NY
119450   5YFBURHE6JP815697   Toyota       COROLLA             TULSA                     OK
119451   5YFBURHE6JP816509   Toyota       COROLLA             OAKLAND                   CA
119452   5YFBURHE6JP816767   Toyota       COROLLA             FORT MYERS                FL
119453   5YFBURHE6JP817448   Toyota       COROLLA             KENNER                    LA
119454   5YFBURHE6JP817627   Toyota       COROLLA             CATHEDRAL CITY            CA
119455   5YFBURHE6JP817711   Toyota       COROLLA             LOS ANGELES               CA
119456   5YFBURHE6JP817756   Toyota       COROLLA             COLORADO SPRING           CO
119457   5YFBURHE6JP818275   Toyota       COROLLA             BURBANK                   CA
119458   5YFBURHE6JP818941   Toyota       COROLLA             SAN JOSE                  CA
119459   5YFBURHE6JP825999   Toyota       COROLLA             TAMPA                     US
119460   5YFBURHE6JP826151   Toyota       COROLLA             SACRAMENTO                CA
119461   5YFBURHE6JP826165   Toyota       COROLLA             SYRACUSE                  NY
119462   5YFBURHE6JP826215   Toyota       COROLLA             DANIA                     FL
119463   5YFBURHE6JP826912   Toyota       COROLLA             ORLANDO                   FL
119464   5YFBURHE6JP826943   Toyota       COROLLA             SAN DIEGO                 CA
119465   5YFBURHE6JP827493   Toyota       COROLLA             ORLANDO                   FL
119466   5YFBURHE6JP828157   Toyota       COROLLA             LOS ANGELES               CA
119467   5YFBURHE6JP828742   Toyota       COROLLA             NEW BERN                  NC
119468   5YFBURHE6JP828823   Toyota       COROLLA             MIAMI                     FL
119469   5YFBURHE6JP828837   Toyota       COROLLA             FORT MYERS                FL
119470   5YFBURHE6JP828868   Toyota       COROLLA             MORRISVILLE               NC
119471   5YFBURHE6JP828921   Toyota       COROLLA             BURBANK                   CA
119472   5YFBURHE6JP828983   Toyota       COROLLA             ONTARIO                   CA
119473   5YFBURHE6JP829406   Toyota       COROLLA             Revere                    MA
119474   5YFBURHE6JP830121   Toyota       COROLLA             San Diego                 CA
119475   5YFBURHE6JP830555   Toyota       COROLLA             ORLANDO                   FL
119476   5YFBURHE6JP831642   Toyota       COROLLA             LOS ANGELES               CA
119477   5YFBURHE6JP831964   Toyota       COROLLA             DANIA                     FL
119478   5YFBURHE6JP832676   Toyota       COROLLA             DANIA                     FL
119479   5YFBURHE6JP833794   Toyota       COROLLA             LOS ANGELES               CA
119480   5YFBURHE6JP834038   Toyota       COROLLA             PHOENIX                   AZ
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119481   5YFBURHE6JP837313   Toyota       COROLLA             CHARLOTTE                 NC
119482   5YFBURHE6JP838249   Toyota       COROLLA             Hebron                    KY
119483   5YFBURHE6JP838672   Toyota       COROLLA             LOS ANGELES               CA
119484   5YFBURHE6JP839014   Toyota       COROLLA             Winston‐Salem             NC
119485   5YFBURHE6JP839420   Toyota       COROLLA             CHARLESTON                SC
119486   5YFBURHE6JP839711   Toyota       COROLLA             ST PAUL                   MN
119487   5YFBURHE6JP840034   Toyota       COROLLA             LAS VEGAS                 NV
119488   5YFBURHE6JP840308   Toyota       COROLLA             WARWICK                   RI
119489   5YFBURHE6JP841071   Toyota       COROLLA             LOS ANGELES               CA
119490   5YFBURHE6JP841345   Toyota       COROLLA             DFW AIRPORT               TX
119491   5YFBURHE6JP841863   Toyota       COROLLA             Ventura                   CA
119492   5YFBURHE6JP842348   Toyota       COROLLA             Omaha                     NE
119493   5YFBURHE6JP842544   Toyota       COROLLA             LAS VEGAS                 NV
119494   5YFBURHE6JP843290   Toyota       COROLLA             ONTARIO                   CA
119495   5YFBURHE6JP843404   Toyota       COROLLA             Louisville                KY
119496   5YFBURHE6JP843872   Toyota       COROLLA             TUCSON                    US
119497   5YFBURHE6JP844150   Toyota       COROLLA             FORT MYERS                FL
119498   5YFBURHE6JP845931   Toyota       COROLLA             LAS VEGAS                 NV
119499   5YFBURHE6JP846285   Toyota       COROLLA             DANIA                     FL
119500   5YFBURHE6JP846514   Toyota       COROLLA             MEMPHIS                   TN
119501   5YFBURHE6JP847212   Toyota       COROLLA             Cincinnati                OH
119502   5YFBURHE6JP848182   Toyota       COROLLA             FORT MYERS                FL
119503   5YFBURHE6JP852314   Toyota       COROLLA             FT. LAUDERDALE            FL
119504   5YFBURHE6JP854080   Toyota       COROLLA             Atlanta                   GA
119505   5YFBURHE6JP854287   Toyota       COROLLA             Torrance                  CA
119506   5YFBURHE6JP854399   Toyota       COROLLA             ALBUQUERQUE               NM
119507   5YFBURHE6JP854659   Toyota       COROLLA             JACKSONVILLE              FL
119508   5YFBURHE6JP854886   Toyota       COROLLA             PALM SPRINGS              CA
119509   5YFBURHE6JP855522   Toyota       COROLLA             LOS ANGELES               CA
119510   5YFBURHE6JP855942   Toyota       COROLLA             BURBANK                   CA
119511   5YFBURHE6KP882138   Toyota       COROLLA             Miami                     FL
119512   5YFBURHE6KP882706   Toyota       COROLLA             WEST PALM BEACH           FL
119513   5YFBURHE6KP884584   Toyota       COROLLA             PHOENIX                   AZ
119514   5YFBURHE6KP884939   Toyota       COROLLA             DANIA                     FL
119515   5YFBURHE6KP885461   Toyota       COROLLA             TAMPA                     US
119516   5YFBURHE6KP885850   Toyota       COROLLA             COSTA MESA                CA
119517   5YFBURHE6KP885895   Toyota       COROLLA             Matteson                  IL
119518   5YFBURHE6KP886030   Toyota       COROLLA             Miami                     FL
119519   5YFBURHE6KP886335   Toyota       COROLLA             CATHEDRAL CITY            CA
119520   5YFBURHE6KP886433   Toyota       COROLLA             WEST PALM BEACH           FL
119521   5YFBURHE6KP886562   Toyota       COROLLA             DANIA                     FL
119522   5YFBURHE6KP886626   Toyota       COROLLA             ORLANDO                   FL
119523   5YFBURHE6KP887081   Toyota       COROLLA             TAMPA                     US
119524   5YFBURHE6KP887131   Toyota       COROLLA             NEW BERN                  NC
119525   5YFBURHE6KP887484   Toyota       COROLLA             TAMPA                     US
119526   5YFBURHE6KP887727   Toyota       COROLLA             TAMPA                     US
119527   5YFBURHE6KP888103   Toyota       COROLLA             ORLANDO                   FL
119528   5YFBURHE6KP888313   Toyota       COROLLA             ORLANDO                   FL
119529   5YFBURHE6KP888540   Toyota       COROLLA             DALLAS                    TX
119530   5YFBURHE6KP888604   Toyota       COROLLA             LAS VEGAS                 NV
119531   5YFBURHE6KP889719   Toyota       COROLLA             MIAMI                     FL
119532   5YFBURHE6KP890529   Toyota       COROLLA             DANIA                     FL
119533   5YFBURHE6KP895360   Toyota       COROLLA             TALLAHASSEE               FL
119534   5YFBURHE6KP895505   Toyota       COROLLA             NEW YORK CITY             NY
119535   5YFBURHE6KP895648   Toyota       COROLLA             TAMPA                     US
119536   5YFBURHE6KP896900   Toyota       COROLLA             Miami                     FL
119537   5YFBURHE6KP898386   Toyota       COROLLA             ORLANDO                   FL
119538   5YFBURHE6KP899585   Toyota       COROLLA             JACKSONVILLE              FL
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119539   5YFBURHE6KP899733   Toyota       COROLLA             ORLANDO                   FL
119540   5YFBURHE6KP907488   Toyota       COROLLA             TAMPA                     US
119541   5YFBURHE6KP914487   Toyota       COROLLA             TAMPA                     US
119542   5YFBURHE6KP917972   Toyota       COROLLA             West Palm Beach           FL
119543   5YFBURHE6KP918121   Toyota       COROLLA             SARASOTA                  FL
119544   5YFBURHE6KP918961   Toyota       COROLLA             West Palm Beach           FL
119545   5YFBURHE6KP919205   Toyota       COROLLA             DANIA                     FL
119546   5YFBURHE6KP919298   Toyota       COROLLA             Miami                     FL
119547   5YFBURHE6KP919401   Toyota       COROLLA             FORT MYERS                FL
119548   5YFBURHE6KP919432   Toyota       COROLLA             West Palm Beach           FL
119549   5YFBURHE6KP919463   Toyota       COROLLA             West Palm Beach           FL
119550   5YFBURHE6KP919575   Toyota       COROLLA             FORT MYERS                FL
119551   5YFBURHE6KP919656   Toyota       COROLLA             ORLANDO                   FL
119552   5YFBURHE6KP919771   Toyota       COROLLA             Miami                     FL
119553   5YFBURHE6KP919978   Toyota       COROLLA             ORLANDO                   FL
119554   5YFBURHE6KP920080   Toyota       COROLLA             ORLANDO                   FL
119555   5YFBURHE6KP920662   Toyota       COROLLA             ORLANDO                   FL
119556   5YFBURHE6KP920936   Toyota       COROLLA             FORT MYERS                FL
119557   5YFBURHE6KP921035   Toyota       COROLLA             West Palm Beach           FL
119558   5YFBURHE6KP921343   Toyota       COROLLA             NAPLES                    FL
119559   5YFBURHE6KP921830   Toyota       COROLLA             ORLANDO                   FL
119560   5YFBURHE6KP922248   Toyota       COROLLA             WEST PALM BEACH           FL
119561   5YFBURHE6KP928311   Toyota       COROLLA             ORLANDO                   FL
119562   5YFBURHE6KP928857   Toyota       COROLLA             ORLANDO                   FL
119563   5YFBURHE6KP931872   Toyota       COROLLA             MIAMI                     FL
119564   5YFBURHE6KP934965   Toyota       COROLLA             TAMPA                     US
119565   5YFBURHE6KP935095   Toyota       COROLLA             JACKSONVILLE              FL
119566   5YFBURHE6KP935243   Toyota       COROLLA             SARASOTA                  FL
119567   5YFBURHE6KP935498   Toyota       COROLLA             DANIA                     FL
119568   5YFBURHE6KP936263   Toyota       COROLLA             ORLANDO                   FL
119569   5YFBURHE6KP937218   Toyota       COROLLA             DANIA                     FL
119570   5YFBURHE7GP460063   Toyota       COROLLA             ORLANDO                   US
119571   5YFBURHE7GP492267   Toyota       COROLLA             San Antonio               TX
119572   5YFBURHE7HP585663   Toyota       COROLLA             Bridgeton                 MO
119573   5YFBURHE7HP595772   Toyota       COROLLA             BURBANK                   CA
119574   5YFBURHE7HP626342   Toyota       COROLLA             ONTARIO                   CA
119575   5YFBURHE7HP627748   Toyota       COROLLA             LAS VEGAS                 NV
119576   5YFBURHE7HP627930   Toyota       COROLLA             SAN FRANCISCO             CA
119577   5YFBURHE7HP639480   Toyota       COROLLA             BURBANK                   CA
119578   5YFBURHE7HP639639   Toyota       COROLLA             Hayward                   CA
119579   5YFBURHE7HP639706   Toyota       COROLLA             SAN ANTONIO               TX
119580   5YFBURHE7HP641200   Toyota       COROLLA             LOS ANGELES               CA
119581   5YFBURHE7HP642122   Toyota       COROLLA             SAN FRANCISCO             CA
119582   5YFBURHE7HP644274   Toyota       COROLLA             BURBANK                   CA
119583   5YFBURHE7HP644839   Toyota       COROLLA             LOS ANGELES               CA
119584   5YFBURHE7HP645098   Toyota       COROLLA             MIAMI                     FL
119585   5YFBURHE7HP651502   Toyota       COROLLA             SAN DIEGO                 CA
119586   5YFBURHE7HP652536   Toyota       COROLLA             LOS ANGELES               CA
119587   5YFBURHE7HP655422   Toyota       COROLLA             PLEASANT HILL             CA
119588   5YFBURHE7HP655601   Toyota       COROLLA             Revere                    MA
119589   5YFBURHE7HP656246   Toyota       COROLLA             DFW AIRPORT               TX
119590   5YFBURHE7HP658837   Toyota       COROLLA             LOS ANGELES               CA
119591   5YFBURHE7HP670664   Toyota       COROLLA             IRVING                    TX
119592   5YFBURHE7HP672544   Toyota       COROLLA             FT. LAUDERDALE            FL
119593   5YFBURHE7HP673130   Toyota       COROLLA             Miami                     FL
119594   5YFBURHE7HP673967   Toyota       COROLLA             NASHVILLE                 TN
119595   5YFBURHE7HP676593   Toyota       COROLLA             AURORA                    CO
119596   5YFBURHE7HP676626   Toyota       COROLLA             SAN ANTONIO               TX
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119597   5YFBURHE7HP684984   Toyota       COROLLA             BURBANK                   CA
119598   5YFBURHE7HP685973   Toyota       COROLLA             LAS VEGAS                 NV
119599   5YFBURHE7HP687741   Toyota       COROLLA             RENTON                    WA
119600   5YFBURHE7HP707146   Toyota       COROLLA             Cleveland                 OH
119601   5YFBURHE7HP707454   Toyota       COROLLA             CHICAGO                   IL
119602   5YFBURHE7JP738967   Toyota       COROLLA             MIAMI                     FL
119603   5YFBURHE7JP765263   Toyota       COROLLA             ONTARIO                   CA
119604   5YFBURHE7JP772567   Toyota       COROLLA             RENTON                    WA
119605   5YFBURHE7JP789787   Toyota       COROLLA             LAS VEGAS                 NV
119606   5YFBURHE7JP790552   Toyota       COROLLA             Los Angeles               CA
119607   5YFBURHE7JP790874   Toyota       COROLLA             Lebanon                   TN
119608   5YFBURHE7JP792270   Toyota       COROLLA             ORLANDO                   FL
119609   5YFBURHE7JP792723   Toyota       COROLLA             COLORADO SPRING           CO
119610   5YFBURHE7JP792737   Toyota       COROLLA             Hattiesburg               MS
119611   5YFBURHE7JP792902   Toyota       COROLLA             Smithtown                 NY
119612   5YFBURHE7JP793161   Toyota       COROLLA             BURBANK                   CA
119613   5YFBURHE7JP799574   Toyota       COROLLA             TAMPA                     US
119614   5YFBURHE7JP799638   Toyota       COROLLA             Carleton                  MI
119615   5YFBURHE7JP800948   Toyota       COROLLA             Philadelphia              PA
119616   5YFBURHE7JP801582   Toyota       COROLLA             FT. LAUDERDALE            FL
119617   5YFBURHE7JP802134   Toyota       COROLLA             TAMPA                     US
119618   5YFBURHE7JP803381   Toyota       COROLLA             BALTIMORE                 MD
119619   5YFBURHE7JP803445   Toyota       COROLLA             TAMPA                     US
119620   5YFBURHE7JP803459   Toyota       COROLLA             GREENSBORO                NC
119621   5YFBURHE7JP804062   Toyota       COROLLA             DANIA                     FL
119622   5YFBURHE7JP811920   Toyota       COROLLA             STERLING                  US
119623   5YFBURHE7JP812226   Toyota       COROLLA             FORT MYERS                FL
119624   5YFBURHE7JP814252   Toyota       COROLLA             PHOENIX                   AZ
119625   5YFBURHE7JP815286   Toyota       COROLLA             IRVING                    TX
119626   5YFBURHE7JP815871   Toyota       COROLLA             Dearborn                  MI
119627   5YFBURHE7JP815899   Toyota       COROLLA             SACRAMENTO                CA
119628   5YFBURHE7JP815904   Toyota       COROLLA             San Diego                 CA
119629   5YFBURHE7JP816308   Toyota       COROLLA             CHARLOTTE                 NC
119630   5YFBURHE7JP816485   Toyota       COROLLA             WESTMINSTER               CA
119631   5YFBURHE7JP817538   Toyota       COROLLA             Atlanta                   GA
119632   5YFBURHE7JP817779   Toyota       COROLLA             SAN DIEGO                 CA
119633   5YFBURHE7JP818284   Toyota       COROLLA             BURBANK                   CA
119634   5YFBURHE7JP818351   Toyota       COROLLA             NEWARK                    NJ
119635   5YFBURHE7JP819483   Toyota       COROLLA             ATLANTA AP                GA
119636   5YFBURHE7JP819631   Toyota       COROLLA             JACKSONVILLE              FL
119637   5YFBURHE7JP820505   Toyota       COROLLA             PITTSBURGH                PA
119638   5YFBURHE7JP823050   Toyota       COROLLA             BURBANK                   CA
119639   5YFBURHE7JP823758   Toyota       COROLLA             OAKLAND                   CA
119640   5YFBURHE7JP825705   Toyota       COROLLA             ORLANDO                   FL
119641   5YFBURHE7JP826112   Toyota       COROLLA             ORLANDO                   FL
119642   5YFBURHE7JP826207   Toyota       COROLLA             SAN DIEGO                 CA
119643   5YFBURHE7JP826711   Toyota       COROLLA             SARASOTA                  FL
119644   5YFBURHE7JP827681   Toyota       COROLLA             AUSTIN                    TX
119645   5YFBURHE7JP828099   Toyota       COROLLA             FORT MYERS                FL
119646   5YFBURHE7JP828300   Toyota       COROLLA             LAS VEGAS                 NV
119647   5YFBURHE7JP828958   Toyota       COROLLA             PHOENIX                   AZ
119648   5YFBURHE7JP829480   Toyota       COROLLA             Ventura                   CA
119649   5YFBURHE7JP829494   Toyota       COROLLA             ORLANDO                   FL
119650   5YFBURHE7JP829849   Toyota       COROLLA             MONTCLAIR                 CA
119651   5YFBURHE7JP829981   Toyota       COROLLA             MIDLAND                   TX
119652   5YFBURHE7JP829995   Toyota       COROLLA             BIRMINGHAM                AL
119653   5YFBURHE7JP830029   Toyota       COROLLA             Sandston                  VA
119654   5YFBURHE7JP830080   Toyota       COROLLA             SAN DIEGO                 CA
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119655   5YFBURHE7JP830788   Toyota       COROLLA             BURBANK                   CA
119656   5YFBURHE7JP831858   Toyota       COROLLA             UNION CITY                GA
119657   5YFBURHE7JP831911   Toyota       COROLLA             ALEXANDRIA                VA
119658   5YFBURHE7JP831987   Toyota       COROLLA             LAS VEGAS                 NV
119659   5YFBURHE7JP832072   Toyota       COROLLA             JACKSONVILLE              FL
119660   5YFBURHE7JP832184   Toyota       COROLLA             KENT                      WA
119661   5YFBURHE7JP832587   Toyota       COROLLA             LAS VEGAS                 NV
119662   5YFBURHE7JP832654   Toyota       COROLLA             Atlanta                   GA
119663   5YFBURHE7JP835151   Toyota       COROLLA             UNION CITY                GA
119664   5YFBURHE7JP835943   Toyota       COROLLA             Anaheim                   CA
119665   5YFBURHE7JP837837   Toyota       COROLLA             Warminster                PA
119666   5YFBURHE7JP839958   Toyota       COROLLA             OAKLAND                   CA
119667   5YFBURHE7JP840611   Toyota       COROLLA             TAMPA                     US
119668   5YFBURHE7JP840625   Toyota       COROLLA             LOS ANGELES               CA
119669   5YFBURHE7JP840916   Toyota       COROLLA             MIAMI                     FL
119670   5YFBURHE7JP841676   Toyota       COROLLA             LOS ANGELES               CA
119671   5YFBURHE7JP841953   Toyota       COROLLA             Burien                    WA
119672   5YFBURHE7JP842231   Toyota       COROLLA             FORT MYERS                FL
119673   5YFBURHE7JP842357   Toyota       COROLLA             SALT LAKE CITY            UT
119674   5YFBURHE7JP842889   Toyota       COROLLA             SAINT LOUIS               MO
119675   5YFBURHE7JP843069   Toyota       COROLLA             SAN FRANCISCO             CA
119676   5YFBURHE7JP843363   Toyota       COROLLA             FORT MYERS                FL
119677   5YFBURHE7JP843430   Toyota       COROLLA             LAS VEGAS                 NV
119678   5YFBURHE7JP844061   Toyota       COROLLA             BIRMINGHAN                AL
119679   5YFBURHE7JP844108   Toyota       COROLLA             LOS ANGELES               CA
119680   5YFBURHE7JP845081   Toyota       COROLLA             NORFOLK                   VA
119681   5YFBURHE7JP845162   Toyota       COROLLA             FRESNO                    CA
119682   5YFBURHE7JP846179   Toyota       COROLLA             WEST COLUMBIA             SC
119683   5YFBURHE7JP846571   Toyota       COROLLA             BURBANK                   CA
119684   5YFBURHE7JP847008   Toyota       COROLLA             JACKSONVILLE              FL
119685   5YFBURHE7JP847266   Toyota       COROLLA             HOUSTON                   TX
119686   5YFBURHE7JP847641   Toyota       COROLLA             Hartford                  CT
119687   5YFBURHE7JP853777   Toyota       COROLLA             Stockton                  CA
119688   5YFBURHE7JP854069   Toyota       COROLLA             Portland                  OR
119689   5YFBURHE7JP854119   Toyota       COROLLA             SAN JOSE                  CA
119690   5YFBURHE7JP854542   Toyota       COROLLA             Burien                    WA
119691   5YFBURHE7JP854637   Toyota       COROLLA             MORRISVILLE               NC
119692   5YFBURHE7JP854959   Toyota       COROLLA             FRESNO                    CA
119693   5YFBURHE7JP855156   Toyota       COROLLA             LOS ANGELES               CA
119694   5YFBURHE7KP883248   Toyota       COROLLA             TAMPA                     US
119695   5YFBURHE7KP883654   Toyota       COROLLA             TAMPA                     US
119696   5YFBURHE7KP884593   Toyota       COROLLA             PHOENIX                   AZ
119697   5YFBURHE7KP884948   Toyota       COROLLA             JACKSONVILLE              FL
119698   5YFBURHE7KP885453   Toyota       COROLLA             Miami                     FL
119699   5YFBURHE7KP885470   Toyota       COROLLA             ORLANDO                   FL
119700   5YFBURHE7KP885811   Toyota       COROLLA             DANIA                     FL
119701   5YFBURHE7KP885971   Toyota       COROLLA             FT. LAUDERDALE            FL
119702   5YFBURHE7KP885985   Toyota       COROLLA             Miami                     FL
119703   5YFBURHE7KP886392   Toyota       COROLLA             TUCSON                    US
119704   5YFBURHE7KP886537   Toyota       COROLLA             NAPLES                    FL
119705   5YFBURHE7KP886750   Toyota       COROLLA             LAS VEGAS                 NV
119706   5YFBURHE7KP887090   Toyota       COROLLA             TAMPA                     US
119707   5YFBURHE7KP887185   Toyota       COROLLA             FORT MYERS                FL
119708   5YFBURHE7KP887686   Toyota       COROLLA             DANIA                     FL
119709   5YFBURHE7KP887736   Toyota       COROLLA             DANIA                     FL
119710   5YFBURHE7KP888384   Toyota       COROLLA             LAS VEGAS                 NV
119711   5YFBURHE7KP888790   Toyota       COROLLA             JACKSONVILLE              FL
119712   5YFBURHE7KP889311   Toyota       COROLLA             WEST PALM BEACH           FL
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119713   5YFBURHE7KP889339   Toyota       COROLLA             ORLANDO                   FL
119714   5YFBURHE7KP889356   Toyota       COROLLA             FORT MYERS                FL
119715   5YFBURHE7KP889390   Toyota       COROLLA             ORLANDO                   FL
119716   5YFBURHE7KP889518   Toyota       COROLLA             FORT MYERS                FL
119717   5YFBURHE7KP890118   Toyota       COROLLA             Dania Beach               FL
119718   5YFBURHE7KP891091   Toyota       COROLLA             Dania Beach               FL
119719   5YFBURHE7KP895755   Toyota       COROLLA             LOS ANGELES               CA
119720   5YFBURHE7KP895870   Toyota       COROLLA             ORLANDO                   FL
119721   5YFBURHE7KP896372   Toyota       COROLLA             WEST PALM BEACH           FL
119722   5YFBURHE7KP897408   Toyota       COROLLA             FRESNO                    CA
119723   5YFBURHE7KP897733   Toyota       COROLLA             ORLANDO                   FL
119724   5YFBURHE7KP897859   Toyota       COROLLA             Miami                     FL
119725   5YFBURHE7KP898221   Toyota       COROLLA             SAVANNAH                  GA
119726   5YFBURHE7KP899627   Toyota       COROLLA             GREENSBORO                NC
119727   5YFBURHE7KP899983   Toyota       COROLLA             Miami                     FL
119728   5YFBURHE7KP916815   Toyota       COROLLA             ORLANDO                   FL
119729   5YFBURHE7KP917057   Toyota       COROLLA             JACKSONVILLE              FL
119730   5YFBURHE7KP917639   Toyota       COROLLA             TAMPA                     US
119731   5YFBURHE7KP918029   Toyota       COROLLA             DANIA                     FL
119732   5YFBURHE7KP918113   Toyota       COROLLA             ORLANDO                   FL
119733   5YFBURHE7KP918371   Toyota       COROLLA             ORLANDO                   FL
119734   5YFBURHE7KP918516   Toyota       COROLLA             ORLANDO                   FL
119735   5YFBURHE7KP919116   Toyota       COROLLA             ORLANDO                   FL
119736   5YFBURHE7KP919214   Toyota       COROLLA             FORT MYERS                FL
119737   5YFBURHE7KP919388   Toyota       COROLLA             WEST PALM BEACH           FL
119738   5YFBURHE7KP919634   Toyota       COROLLA             MIAMI                     FL
119739   5YFBURHE7KP919813   Toyota       COROLLA             TAMPA                     US
119740   5YFBURHE7KP919827   Toyota       COROLLA             ORLANDO                   FL
119741   5YFBURHE7KP919844   Toyota       COROLLA             ORLANDO                   FL
119742   5YFBURHE7KP919987   Toyota       COROLLA             ORLANDO                   FL
119743   5YFBURHE7KP920086   Toyota       COROLLA             Miami                     FL
119744   5YFBURHE7KP920539   Toyota       COROLLA             ORLANDO                   FL
119745   5YFBURHE7KP920797   Toyota       COROLLA             JACKSONVILLE              FL
119746   5YFBURHE7KP920976   Toyota       COROLLA             Miami                     FL
119747   5YFBURHE7KP921027   Toyota       COROLLA             ORLANDO                   FL
119748   5YFBURHE7KP921044   Toyota       COROLLA             DANIA                     FL
119749   5YFBURHE7KP921416   Toyota       COROLLA             DANIA                     FL
119750   5YFBURHE7KP921450   Toyota       COROLLA             ORLANDO                   FL
119751   5YFBURHE7KP921500   Toyota       COROLLA             ORLANDO                   FL
119752   5YFBURHE7KP921528   Toyota       COROLLA             ORLANDO                   FL
119753   5YFBURHE7KP921836   Toyota       COROLLA             JACKSONVILLE              FL
119754   5YFBURHE7KP921903   Toyota       COROLLA             DANIA                     FL
119755   5YFBURHE7KP922520   Toyota       COROLLA             Miami                     FL
119756   5YFBURHE7KP927071   Toyota       COROLLA             Dania Beach               FL
119757   5YFBURHE7KP928320   Toyota       COROLLA             WEST PALM BEACH           FL
119758   5YFBURHE7KP928446   Toyota       COROLLA             WEST PALM BEACH           FL
119759   5YFBURHE7KP928978   Toyota       COROLLA             MIAMI                     FL
119760   5YFBURHE7KP933971   Toyota       COROLLA             ORLANDO                   FL
119761   5YFBURHE7KP935140   Toyota       COROLLA             TAMPA                     US
119762   5YFBURHE7KP935641   Toyota       COROLLA             Jacksonville              FL
119763   5YFBURHE7KP935719   Toyota       COROLLA             DANIA                     FL
119764   5YFBURHE7KP936790   Toyota       COROLLA             FORT MYERS                FL
119765   5YFBURHE7KP937809   Toyota       COROLLA             ORLANDO                   FL
119766   5YFBURHE7KP941603   Toyota       COROLLA             JACKSONVILLE              FL
119767   5YFBURHE7KP944775   Toyota       COROLLA             N. Palm Beach             FL
119768   5YFBURHE8GP375572   Toyota       COROLLA             BURBANK                   CA
119769   5YFBURHE8HP589365   Toyota       COROLLA             BURBANK                   CA
119770   5YFBURHE8HP591276   Toyota       COROLLA             FORT MYERS                FL
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119771   5YFBURHE8HP627872   Toyota       COROLLA             South San Franc           CA
119772   5YFBURHE8HP646129   Toyota       COROLLA             BURBANK                   CA
119773   5YFBURHE8HP654439   Toyota       COROLLA             Aurora                    CO
119774   5YFBURHE8HP654750   Toyota       COROLLA             LAS VEGAS                 NV
119775   5YFBURHE8HP655221   Toyota       COROLLA             Los Angeles               CA
119776   5YFBURHE8HP656160   Toyota       COROLLA             PHOENIX                   AZ
119777   5YFBURHE8HP670219   Toyota       COROLLA             HANOVER                   MD
119778   5YFBURHE8HP684637   Toyota       COROLLA             LOS ANGELES               CA
119779   5YFBURHE8HP684962   Toyota       COROLLA             SAN JOSE                  CA
119780   5YFBURHE8HP685819   Toyota       COROLLA             BURLINGAME                CA
119781   5YFBURHE8HP685898   Toyota       COROLLA             BURBANK                   CA
119782   5YFBURHE8HP687411   Toyota       COROLLA             LOS ANGELES               CA
119783   5YFBURHE8HP688204   Toyota       COROLLA             BURBANK                   CA
119784   5YFBURHE8HP689529   Toyota       COROLLA             BURBANK                   CA
119785   5YFBURHE8HP689594   Toyota       COROLLA             SAN DIEGO                 CA
119786   5YFBURHE8HP691216   Toyota       COROLLA             Anaheim                   CA
119787   5YFBURHE8HP694746   Toyota       COROLLA             Miami                     FL
119788   5YFBURHE8HP704112   Toyota       COROLLA             PHOENIX                   AZ
119789   5YFBURHE8HP705180   Toyota       COROLLA             SAN JOSE                  CA
119790   5YFBURHE8HP725798   Toyota       COROLLA             ORLANDO                   FL
119791   5YFBURHE8HP736896   Toyota       COROLLA             LAS VEGAS                 NV
119792   5YFBURHE8JP760637   Toyota       COROLLA             SARASOTA                  FL
119793   5YFBURHE8JP760878   Toyota       COROLLA             BURBANK                   CA
119794   5YFBURHE8JP775591   Toyota       COROLLA             KENT                      WA
119795   5YFBURHE8JP777504   Toyota       COROLLA             PHOENIX                   AZ
119796   5YFBURHE8JP777969   Toyota       COROLLA             SAN FRANCISCO             CA
119797   5YFBURHE8JP786672   Toyota       COROLLA             IRVING                    TX
119798   5YFBURHE8JP789569   Toyota       COROLLA             WEST PALM BEACH           FL
119799   5YFBURHE8JP789586   Toyota       COROLLA             SACRAMENTO                CA
119800   5YFBURHE8JP789622   Toyota       COROLLA             BURBANK                   CA
119801   5YFBURHE8JP789863   Toyota       COROLLA             HAYWARD                   CA
119802   5YFBURHE8JP791614   Toyota       COROLLA             FRESNO                    CA
119803   5YFBURHE8JP792018   Toyota       COROLLA             HARVEY                    LA
119804   5YFBURHE8JP792679   Toyota       COROLLA             FORT MYERS                FL
119805   5YFBURHE8JP794318   Toyota       COROLLA             Atlanta                   GA
119806   5YFBURHE8JP795646   Toyota       COROLLA             BURLINGAME                CA
119807   5YFBURHE8JP797476   Toyota       COROLLA             WESTMINSTER               CA
119808   5YFBURHE8JP797624   Toyota       COROLLA             BURBANK                   CA
119809   5YFBURHE8JP798949   Toyota       COROLLA             NEW YORK CITY             NY
119810   5YFBURHE8JP800263   Toyota       COROLLA             WHITE PLAINS              NY
119811   5YFBURHE8JP801400   Toyota       COROLLA             ORLANDO                   FL
119812   5YFBURHE8JP802692   Toyota       COROLLA             Atlanta                   GA
119813   5YFBURHE8JP803454   Toyota       COROLLA             COLLEGE PARK              GA
119814   5YFBURHE8JP807245   Toyota       COROLLA             COLLEGE PARK              GA
119815   5YFBURHE8JP812834   Toyota       COROLLA             ORLANDO                   FL
119816   5YFBURHE8JP813434   Toyota       COROLLA             WEST PALM BEACH           FL
119817   5YFBURHE8JP813630   Toyota       COROLLA             LAKEWOOD                  WA
119818   5YFBURHE8JP814289   Toyota       COROLLA             Miami                     FL
119819   5YFBURHE8JP814342   Toyota       COROLLA             WEST PALM BEACH           FL
119820   5YFBURHE8JP814387   Toyota       COROLLA             HOUSTON                   TX
119821   5YFBURHE8JP814633   Toyota       COROLLA             SANTA ANA                 CA
119822   5YFBURHE8JP814695   Toyota       COROLLA             SAN FRANCISCO             CA
119823   5YFBURHE8JP814910   Toyota       COROLLA             PENSACOLA                 FL
119824   5YFBURHE8JP815054   Toyota       COROLLA             EL SEGUNDO                CA
119825   5YFBURHE8JP815216   Toyota       COROLLA             UNION CITY                GA
119826   5YFBURHE8JP815314   Toyota       COROLLA             NEW ENGLAND DEALER        MA
119827   5YFBURHE8JP815569   Toyota       COROLLA             SYRACUSE                  NY
119828   5YFBURHE8JP815684   Toyota       COROLLA             SACRAMENTO                CA
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119829   5YFBURHE8JP815880   Toyota       COROLLA             LOS ANGELES               CA
119830   5YFBURHE8JP818259   Toyota       COROLLA             PHOENIX                   AZ
119831   5YFBURHE8JP818388   Toyota       COROLLA             SALT LAKE CITY            UT
119832   5YFBURHE8JP819590   Toyota       COROLLA             SACRAMENTO                CA
119833   5YFBURHE8JP819623   Toyota       COROLLA             WOODLAND HILLS            CA
119834   5YFBURHE8JP823333   Toyota       COROLLA             CHICAGO                   IL
119835   5YFBURHE8JP825034   Toyota       COROLLA             ATLANTA                   GA
119836   5YFBURHE8JP825163   Toyota       COROLLA             TAMPA                     US
119837   5YFBURHE8JP826071   Toyota       COROLLA             BURBANK                   CA
119838   5YFBURHE8JP826247   Toyota       COROLLA             ORLANDO                   FL
119839   5YFBURHE8JP826877   Toyota       COROLLA             LOS ANGELES               CA
119840   5YFBURHE8JP827589   Toyota       COROLLA             FRESNO                    CA
119841   5YFBURHE8JP827611   Toyota       COROLLA             PORTLAND                  OR
119842   5YFBURHE8JP828127   Toyota       COROLLA             NEWARK                    NJ
119843   5YFBURHE8JP828211   Toyota       COROLLA             NORTH PAC                 CA
119844   5YFBURHE8JP829181   Toyota       COROLLA             West Palm Beach           FL
119845   5YFBURHE8JP829858   Toyota       COROLLA             SAN JOSE                  CA
119846   5YFBURHE8JP830041   Toyota       COROLLA             SARASOTA                  FL
119847   5YFBURHE8JP830086   Toyota       COROLLA             BALTIMORE                 MD
119848   5YFBURHE8JP830167   Toyota       COROLLA             SACRAMENTO                CA
119849   5YFBURHE8JP830170   Toyota       COROLLA             FRESNO                    CA
119850   5YFBURHE8JP830752   Toyota       COROLLA             LOS ANGELES               CA
119851   5YFBURHE8JP831545   Toyota       COROLLA             LAS VEGAS                 NV
119852   5YFBURHE8JP831707   Toyota       COROLLA             FORT MYERS                FL
119853   5YFBURHE8JP832551   Toyota       COROLLA             ALBUQUERQUE               NM
119854   5YFBURHE8JP834364   Toyota       COROLLA             SAN FRANCISCO             CA
119855   5YFBURHE8JP835272   Toyota       COROLLA             Manheim                   PA
119856   5YFBURHE8JP837782   Toyota       COROLLA             FORT MYERS                FL
119857   5YFBURHE8JP838754   Toyota       COROLLA             WEST COLUMBIA             SC
119858   5YFBURHE8JP839340   Toyota       COROLLA             PORTLAND                  OR
119859   5YFBURHE8JP840133   Toyota       COROLLA             DANIA                     FL
119860   5YFBURHE8JP841458   Toyota       COROLLA             FORT MYERS                FL
119861   5YFBURHE8JP841850   Toyota       COROLLA             LAS VEGAS                 NV
119862   5YFBURHE8JP841945   Toyota       COROLLA             PORTLAND                  OR
119863   5YFBURHE8JP842559   Toyota       COROLLA             SAN FRANCISCO             CA
119864   5YFBURHE8JP842836   Toyota       COROLLA             LOUISVILLE                KY
119865   5YFBURHE8JP843128   Toyota       COROLLA             SANTA ANA                 CA
119866   5YFBURHE8JP843338   Toyota       COROLLA             KENT                      WA
119867   5YFBURHE8JP843534   Toyota       COROLLA             TAMPA                     US
119868   5YFBURHE8JP843727   Toyota       COROLLA             Dallas                    TX
119869   5YFBURHE8JP843825   Toyota       COROLLA             PHOENIX                   AZ
119870   5YFBURHE8JP843999   Toyota       COROLLA             UNION CITY                GA
119871   5YFBURHE8JP844473   Toyota       COROLLA             San Diego                 CA
119872   5YFBURHE8JP844702   Toyota       COROLLA             Dania Beach               FL
119873   5YFBURHE8JP844909   Toyota       COROLLA             SYRACUSE                  NY
119874   5YFBURHE8JP844926   Toyota       COROLLA             NASHVILLE                 TN
119875   5YFBURHE8JP845073   Toyota       COROLLA             HANOVER                   MD
119876   5YFBURHE8JP846191   Toyota       COROLLA             FT. LAUDERDALE            FL
119877   5YFBURHE8JP846241   Toyota       COROLLA             OAKLAND                   CA
119878   5YFBURHE8JP846398   Toyota       COROLLA             Cincinnati                OH
119879   5YFBURHE8JP847101   Toyota       COROLLA             HOUSTON                   TX
119880   5YFBURHE8JP847597   Toyota       COROLLA             Memphis                   TN
119881   5YFBURHE8JP847633   Toyota       COROLLA             CHICAGO                   IL
119882   5YFBURHE8JP847759   Toyota       COROLLA             PORTLAND                  OR
119883   5YFBURHE8JP848197   Toyota       COROLLA             NEW BERN                  NC
119884   5YFBURHE8JP853822   Toyota       COROLLA             SANTA ANA                 CA
119885   5YFBURHE8JP854386   Toyota       COROLLA             MIAMI                     FL
119886   5YFBURHE8JP854632   Toyota       COROLLA             LOS ANGELES               CA
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119887   5YFBURHE8JP854663   Toyota       COROLLA             LAS VEGAS                 NV
119888   5YFBURHE8JP854680   Toyota       COROLLA             San Diego                 CA
119889   5YFBURHE8JP854890   Toyota       COROLLA             FORT MYERS                FL
119890   5YFBURHE8JP854985   Toyota       COROLLA             LOS ANGELES               CA
119891   5YFBURHE8JP855361   Toyota       COROLLA             Anaheim                   CA
119892   5YFBURHE8KP882710   Toyota       COROLLA             WEST PALM BEACH           FL
119893   5YFBURHE8KP884859   Toyota       COROLLA             TUCSON                    US
119894   5YFBURHE8KP884912   Toyota       COROLLA             FORT MYERS                FL
119895   5YFBURHE8KP885302   Toyota       COROLLA             Dania Beach               FL
119896   5YFBURHE8KP885428   Toyota       COROLLA             RICHMOND                  VA
119897   5YFBURHE8KP885722   Toyota       COROLLA             LOS ANGELES               CA
119898   5YFBURHE8KP885915   Toyota       COROLLA             Miami                     FL
119899   5YFBURHE8KP885963   Toyota       COROLLA             TAMPA                     US
119900   5YFBURHE8KP886353   Toyota       COROLLA             TUCSON                    US
119901   5YFBURHE8KP887132   Toyota       COROLLA             Dania Beach               FL
119902   5YFBURHE8KP887633   Toyota       COROLLA             TAMPA                     US
119903   5YFBURHE8KP888202   Toyota       COROLLA             Dallas                    TX
119904   5YFBURHE8KP888247   Toyota       COROLLA             MIAMI                     FL
119905   5YFBURHE8KP888698   Toyota       COROLLA             ALBUQUERQUE               NM
119906   5YFBURHE8KP888782   Toyota       COROLLA             JACKSONVILLE              FL
119907   5YFBURHE8KP889365   Toyota       COROLLA             ORLANDO                   FL
119908   5YFBURHE8KP896610   Toyota       COROLLA             West Palm Beach           FL
119909   5YFBURHE8KP897143   Toyota       COROLLA             PHOENIX                   AZ
119910   5YFBURHE8KP897787   Toyota       COROLLA             ORLANDO                   FL
119911   5YFBURHE8KP897840   Toyota       COROLLA             MIAMI                     FL
119912   5YFBURHE8KP898051   Toyota       COROLLA             RALEIGH                   NC
119913   5YFBURHE8KP899491   Toyota       COROLLA             MIAMI                     FL
119914   5YFBURHE8KP899622   Toyota       COROLLA             FORT MYERS                FL
119915   5YFBURHE8KP916936   Toyota       COROLLA             JACKSONVILLE              FL
119916   5YFBURHE8KP917102   Toyota       COROLLA             TALLAHASSEE               US
119917   5YFBURHE8KP917116   Toyota       COROLLA             ORLANDO                   FL
119918   5YFBURHE8KP917617   Toyota       COROLLA             DANIA                     FL
119919   5YFBURHE8KP917634   Toyota       COROLLA             Miami                     FL
119920   5YFBURHE8KP917956   Toyota       COROLLA             TAMPA                     US
119921   5YFBURHE8KP917987   Toyota       COROLLA             TAMPA                     US
119922   5YFBURHE8KP918105   Toyota       COROLLA             SARASOTA                  FL
119923   5YFBURHE8KP918413   Toyota       COROLLA             West Palm Beach           FL
119924   5YFBURHE8KP918587   Toyota       COROLLA             SARASOTA                  FL
119925   5YFBURHE8KP919013   Toyota       COROLLA             MIAMI                     FL
119926   5YFBURHE8KP919092   Toyota       COROLLA             DANIA                     FL
119927   5YFBURHE8KP919187   Toyota       COROLLA             TAMPA                     US
119928   5YFBURHE8KP919223   Toyota       COROLLA             West Palm Beach           FL
119929   5YFBURHE8KP919335   Toyota       COROLLA             ORLANDO                   FL
119930   5YFBURHE8KP919528   Toyota       COROLLA             ORLANDO                   FL
119931   5YFBURHE8KP919562   Toyota       COROLLA             Miami                     FL
119932   5YFBURHE8KP919786   Toyota       COROLLA             Dania Beach               FL
119933   5YFBURHE8KP919805   Toyota       COROLLA             TAMPA                     US
119934   5YFBURHE8KP919867   Toyota       COROLLA             WEST PALM BEACH           FL
119935   5YFBURHE8KP919917   Toyota       COROLLA             MIAMI                     FL
119936   5YFBURHE8KP920016   Toyota       COROLLA             ORLANDO                   FL
119937   5YFBURHE8KP920095   Toyota       COROLLA             JACKSONVILLE              FL
119938   5YFBURHE8KP920100   Toyota       COROLLA             SAVANNAH                  GA
119939   5YFBURHE8KP920470   Toyota       COROLLA             JACKSONVILLE              FL
119940   5YFBURHE8KP920761   Toyota       COROLLA             ORLANDO                   FL
119941   5YFBURHE8KP920775   Toyota       COROLLA             TAMPA                     US
119942   5YFBURHE8KP920789   Toyota       COROLLA             ORLANDO                   FL
119943   5YFBURHE8KP921179   Toyota       COROLLA             Miami                     FL
119944   5YFBURHE8KP921506   Toyota       COROLLA             ORLANDO                   FL
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119945   5YFBURHE8KP921540   Toyota       COROLLA             ORLANDO                   FL
119946   5YFBURHE8KP921571   Toyota       COROLLA             FORT MYERS                FL
119947   5YFBURHE8KP921862   Toyota       COROLLA             TAMPA                     US
119948   5YFBURHE8KP922431   Toyota       COROLLA             ORLANDO                   FL
119949   5YFBURHE8KP922543   Toyota       COROLLA             ORLANDO                   FL
119950   5YFBURHE8KP923448   Toyota       COROLLA             MIAMI                     FL
119951   5YFBURHE8KP931887   Toyota       COROLLA             ORLANDO                   FL
119952   5YFBURHE8KP933249   Toyota       COROLLA             TAMPA                     US
119953   5YFBURHE8KP933803   Toyota       COROLLA             SARASOTA                  FL
119954   5YFBURHE8KP934076   Toyota       COROLLA             West Palm Beach           FL
119955   5YFBURHE8KP934787   Toyota       COROLLA             Miami                     FL
119956   5YFBURHE8KP934983   Toyota       COROLLA             FORT MYERS                FL
119957   5YFBURHE8KP935034   Toyota       COROLLA             ORLANDO                   FL
119958   5YFBURHE8KP935048   Toyota       COROLLA             Dania Beach               FL
119959   5YFBURHE8KP935292   Toyota       COROLLA             Miami                     FL
119960   5YFBURHE8KP935342   Toyota       COROLLA             FORT MYERS                FL
119961   5YFBURHE8KP936300   Toyota       COROLLA             ORLANDO                   FL
119962   5YFBURHE8KP938211   Toyota       COROLLA             CHARLOTTE                 NC
119963   5YFBURHE8KP938418   Toyota       COROLLA             Miami                     FL
119964   5YFBURHE9GP450246   Toyota       COROLLA             SAN DIEGO                 CA
119965   5YFBURHE9GP453969   Toyota       COROLLA             BURBANK                   CA
119966   5YFBURHE9HP589990   Toyota       COROLLA             BURBANK                   CA
119967   5YFBURHE9HP628318   Toyota       COROLLA             DENVER                    CO
119968   5YFBURHE9HP630490   Toyota       COROLLA             Roseville                 CA
119969   5YFBURHE9HP638024   Toyota       COROLLA             STERLING                  VA
119970   5YFBURHE9HP640680   Toyota       COROLLA             BURBANK                   CA
119971   5YFBURHE9HP643899   Toyota       COROLLA             MEDINA                    OH
119972   5YFBURHE9HP643904   Toyota       COROLLA             Park Ridge                IL
119973   5YFBURHE9HP644132   Toyota       COROLLA             LAS VEGAS                 NV
119974   5YFBURHE9HP644289   Toyota       COROLLA             BURBANK                   CA
119975   5YFBURHE9HP644891   Toyota       COROLLA             LAS VEGAS                 NV
119976   5YFBURHE9HP645619   Toyota       COROLLA             Hayward                   CA
119977   5YFBURHE9HP646026   Toyota       COROLLA             BURBANK                   CA
119978   5YFBURHE9HP653493   Toyota       COROLLA             BURBANK                   CA
119979   5YFBURHE9HP654112   Toyota       COROLLA             LOS ANGELES               CA
119980   5YFBURHE9HP657527   Toyota       COROLLA             HARVEY                    LA
119981   5YFBURHE9HP657978   Toyota       COROLLA             LAS VEGAS                 NV
119982   5YFBURHE9HP658824   Toyota       COROLLA             Anaheim                   CA
119983   5YFBURHE9HP660475   Toyota       COROLLA             SAN FRANCISCO             CA
119984   5YFBURHE9HP665983   Toyota       COROLLA             ORLANDO                   FL
119985   5YFBURHE9HP669189   Toyota       COROLLA             Revere                    MA
119986   5YFBURHE9HP671900   Toyota       COROLLA             CHICAGO                   IL
119987   5YFBURHE9HP672075   Toyota       COROLLA             KENNER                    LA
119988   5YFBURHE9HP674635   Toyota       COROLLA             Coraopolis                PA
119989   5YFBURHE9HP684243   Toyota       COROLLA             DFW AIRPORT               TX
119990   5YFBURHE9HP684436   Toyota       COROLLA             Norwalk                   CA
119991   5YFBURHE9HP705205   Toyota       COROLLA             SOUTH SAN FRANC           CA
119992   5YFBURHE9HP705303   Toyota       COROLLA             Norwalk                   CA
119993   5YFBURHE9HP706550   Toyota       COROLLA             COLUMBIA STATIO           OH
119994   5YFBURHE9HP708041   Toyota       COROLLA             HARVEY                    LA
119995   5YFBURHE9HP721260   Toyota       CAMRY               COLLEGE PARK              GA
119996   5YFBURHE9JP749033   Toyota       COROLLA             CATHEDRAL CITY            CA
119997   5YFBURHE9JP762770   Toyota       COROLLA             LAS VEGAS                 NV
119998   5YFBURHE9JP766141   Toyota       COROLLA             KENNER                    LA
119999   5YFBURHE9JP767192   Toyota       COROLLA             AURORA                    CO
120000   5YFBURHE9JP789337   Toyota       COROLLA             LAS VEGAS                 NV
120001   5YFBURHE9JP789340   Toyota       COROLLA             TAMPA                     US
120002   5YFBURHE9JP790424   Toyota       COROLLA             ORLANDO                   FL
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120003   5YFBURHE9JP790598   Toyota       COROLLA             LAS VEGAS                 NV
120004   5YFBURHE9JP790861   Toyota       COROLLA             Charlotte                 NC
120005   5YFBURHE9JP792500   Toyota       COROLLA             DENVER                    CO
120006   5YFBURHE9JP792612   Toyota       COROLLA             Philadelphia              PA
120007   5YFBURHE9JP792707   Toyota       COROLLA             RALEIGH                   NC
120008   5YFBURHE9JP792805   Toyota       COROLLA             Manheim                   PA
120009   5YFBURHE9JP792822   Toyota       COROLLA             LOS ANGELES               CA
120010   5YFBURHE9JP794294   Toyota       COROLLA             MEMPHIS                   TN
120011   5YFBURHE9JP798331   Toyota       COROLLA             UNION CITY                GA
120012   5YFBURHE9JP799172   Toyota       COROLLA             ORLANDO                   FL
120013   5YFBURHE9JP800160   Toyota       COROLLA             ORLANDO                   FL
120014   5YFBURHE9JP800241   Toyota       COROLLA             Teterboro                 NJ
120015   5YFBURHE9JP803172   Toyota       COROLLA             WEST PALM BEACH           FL
120016   5YFBURHE9JP803267   Toyota       COROLLA             ORLANDO                   FL
120017   5YFBURHE9JP803382   Toyota       COROLLA             TAMPA                     US
120018   5YFBURHE9JP803463   Toyota       COROLLA             NEW BERN                  NC
120019   5YFBURHE9JP811711   Toyota       COROLLA             Detroit                   MI
120020   5YFBURHE9JP812132   Toyota       COROLLA             MOBILE                    A
120021   5YFBURHE9JP812258   Toyota       COROLLA             Atlanta                   GA
120022   5YFBURHE9JP812454   Toyota       COROLLA             JACKSONVILLE              FL
120023   5YFBURHE9JP813474   Toyota       COROLLA             DANIA                     FL
120024   5YFBURHE9JP814088   Toyota       COROLLA             KNOXVILLE                 TN
120025   5YFBURHE9JP815242   Toyota       COROLLA             FORT MYERS                FL
120026   5YFBURHE9JP815256   Toyota       COROLLA             PHOENIX                   AZ
120027   5YFBURHE9JP815869   Toyota       COROLLA             LOS ANGELES               CA
120028   5YFBURHE9JP815998   Toyota       COROLLA             BOISE                     US
120029   5YFBURHE9JP816469   Toyota       COROLLA             BURBANK                   CA
120030   5YFBURHE9JP816570   Toyota       COROLLA             HAYWARD                   CA
120031   5YFBURHE9JP817069   Toyota       COROLLA             SAN ANTONIO               TX
120032   5YFBURHE9JP817718   Toyota       COROLLA             NEW YORK CITY             NY
120033   5YFBURHE9JP818318   Toyota       COROLLA             SAN FRANCISCO             CA
120034   5YFBURHE9JP819565   Toyota       COROLLA             BIRMINGHAM                AL
120035   5YFBURHE9JP819579   Toyota       COROLLA             DANIA                     FL
120036   5YFBURHE9JP824037   Toyota       COROLLA             CORPUS CHRISTI            TX
120037   5YFBURHE9JP828119   Toyota       COROLLA             TUCSON                    US
120038   5YFBURHE9JP828167   Toyota       COROLLA             ORLANDO                   FL
120039   5YFBURHE9JP828220   Toyota       COROLLA             KNOXVILLE                 TN
120040   5YFBURHE9JP828895   Toyota       COROLLA             BURBANK                   CA
120041   5YFBURHE9JP829934   Toyota       COROLLA             CLEVELAND                 OH
120042   5YFBURHE9JP830100   Toyota       COROLLA             ORLANDO                   FL
120043   5YFBURHE9JP831151   Toyota       COROLLA             FORT MYERS                FL
120044   5YFBURHE9JP831179   Toyota       COROLLA             MORRISVILLE               NC
120045   5YFBURHE9JP832784   Toyota       COROLLA             DALLAS                    TX
120046   5YFBURHE9JP833255   Toyota       COROLLA             Warminster                PA
120047   5YFBURHE9JP833398   Toyota       COROLLA             DALLAS                    TX
120048   5YFBURHE9JP833904   Toyota       COROLLA             CLEVELAND                 OH
120049   5YFBURHE9JP834776   Toyota       COROLLA             TAMPA                     US
120050   5YFBURHE9JP835104   Toyota       COROLLA             LAS VEGAS                 NV
120051   5YFBURHE9JP835135   Toyota       COROLLA             KNOXVILLE                 TN
120052   5YFBURHE9JP835636   Toyota       COROLLA             Baltimore                 MD
120053   5YFBURHE9JP836317   Toyota       COROLLA             MOBILE                    A
120054   5YFBURHE9JP836446   Toyota       COROLLA             CHARLESTON                SC
120055   5YFBURHE9JP836608   Toyota       COROLLA             FORT MYERS                FL
120056   5YFBURHE9JP840027   Toyota       COROLLA             ONTARIO, RIVERSIDE        CA
120057   5YFBURHE9JP841582   Toyota       COROLLA             Atlanta                   GA
120058   5YFBURHE9JP841842   Toyota       COROLLA             LOS ANGELES               CA
120059   5YFBURHE9JP842036   Toyota       COROLLA             SACRAMENTO                CA
120060   5YFBURHE9JP842523   Toyota       COROLLA             RIVERSIDE                 CA
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120061   5YFBURHE9JP842831   Toyota       COROLLA             TAMPA                     US
120062   5YFBURHE9JP843204   Toyota       COROLLA             PHOENIX                   AZ
120063   5YFBURHE9JP845230   Toyota       COROLLA             BUFORD                    GA
120064   5YFBURHE9JP845583   Toyota       COROLLA             LOS ANGELES               CA
120065   5YFBURHE9JP846183   Toyota       COROLLA             CHARLESTON                SC
120066   5YFBURHE9JP847060   Toyota       COROLLA             PHOENIX                   AZ
120067   5YFBURHE9JP847222   Toyota       COROLLA             KENNER                    LA
120068   5YFBURHE9JP853862   Toyota       COROLLA             MIAMI                     FL
120069   5YFBURHE9JP854039   Toyota       COROLLA             LOS ANGELES               CA
120070   5YFBURHE9JP854140   Toyota       COROLLA             PALM SPRINGS              CA
120071   5YFBURHE9JP854316   Toyota       COROLLA             SANTA CLARA               CA
120072   5YFBURHE9JP854347   Toyota       COROLLA             PHOENIX                   AZ
120073   5YFBURHE9JP854400   Toyota       COROLLA             STOCKTON                  CA
120074   5YFBURHE9JP854414   Toyota       COROLLA             RIVERSIDE LOCAL EDITION   CA
120075   5YFBURHE9JP854624   Toyota       COROLLA             PHOENIX                   AZ
120076   5YFBURHE9JP854641   Toyota       COROLLA             LOS ANGELES               CA
120077   5YFBURHE9JP854915   Toyota       COROLLA             COLORADO SPRING           CO
120078   5YFBURHE9JP855028   Toyota       COROLLA             CHICAGO                   IL
120079   5YFBURHE9KP881971   Toyota       COROLLA             Dania Beach               FL
120080   5YFBURHE9KP884482   Toyota       COROLLA             Pasadena                  CA
120081   5YFBURHE9KP884661   Toyota       COROLLA             LOS ANGELES               CA
120082   5YFBURHE9KP884885   Toyota       COROLLA             Miami                     FL
120083   5YFBURHE9KP884921   Toyota       COROLLA             DANIA                     FL
120084   5YFBURHE9KP884983   Toyota       COROLLA             ORLANDO                   FL
120085   5YFBURHE9KP885454   Toyota       COROLLA             DANIA                     FL
120086   5YFBURHE9KP885471   Toyota       COROLLA             West Palm Beach           FL
120087   5YFBURHE9KP885485   Toyota       COROLLA             MIAMI                     FL
120088   5YFBURHE9KP885552   Toyota       COROLLA             Miami                     FL
120089   5YFBURHE9KP886023   Toyota       COROLLA             MIAMI                     FL
120090   5YFBURHE9KP886216   Toyota       COROLLA             Riverside                 CA
120091   5YFBURHE9KP886569   Toyota       COROLLA             JACKSONVILLE              FL
120092   5YFBURHE9KP886670   Toyota       COROLLA             SAN JOSE                  CA
120093   5YFBURHE9KP886815   Toyota       COROLLA             MIAMI                     FL
120094   5YFBURHE9KP887091   Toyota       COROLLA             ORLANDO                   FL
120095   5YFBURHE9KP887138   Toyota       COROLLA             SARASOTA                  FL
120096   5YFBURHE9KP887155   Toyota       COROLLA             SAVANNAH                  GA
120097   5YFBURHE9KP887561   Toyota       COROLLA             SAN JOSE                  CA
120098   5YFBURHE9KP887916   Toyota       COROLLA             DANIA                     FL
120099   5YFBURHE9KP888242   Toyota       COROLLA             JACKSONVILLE              FL
120100   5YFBURHE9KP888256   Toyota       COROLLA             TAMPA                     US
120101   5YFBURHE9KP889181   Toyota       COROLLA             DANIA                     FL
120102   5YFBURHE9KP889374   Toyota       COROLLA             Davie                     FL
120103   5YFBURHE9KP889875   Toyota       COROLLA             FORT MYERS                FL
120104   5YFBURHE9KP895384   Toyota       COROLLA             San Antonio               TX
120105   5YFBURHE9KP896857   Toyota       COROLLA             ORLANDO                   FL
120106   5YFBURHE9KP898494   Toyota       COROLLA             Dania Beach               FL
120107   5YFBURHE9KP898513   Toyota       COROLLA             TAMPA                     US
120108   5YFBURHE9KP917531   Toyota       COROLLA             FORT MYERS                FL
120109   5YFBURHE9KP919103   Toyota       COROLLA             Miami                     FL
120110   5YFBURHE9KP919165   Toyota       COROLLA             WEST PALM BEACH           FL
120111   5YFBURHE9KP919215   Toyota       COROLLA             DANIA                     FL
120112   5YFBURHE9KP919263   Toyota       COROLLA             ORLANDO                   FL
120113   5YFBURHE9KP919327   Toyota       COROLLA             TAMPA                     US
120114   5YFBURHE9KP919330   Toyota       COROLLA             ORLANDO                   FL
120115   5YFBURHE9KP919554   Toyota       COROLLA             WEST PALM BEACH           FL
120116   5YFBURHE9KP919568   Toyota       COROLLA             FORT MYERS                FL
120117   5YFBURHE9KP919621   Toyota       COROLLA             ORLANDO                   FL
120118   5YFBURHE9KP919750   Toyota       COROLLA             ORLANDO                   FL
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120119   5YFBURHE9KP920011   Toyota       COROLLA             ORLANDO                   FL
120120   5YFBURHE9KP920669   Toyota       COROLLA             ORLANDO                   FL
120121   5YFBURHE9KP921059   Toyota       COROLLA             TAMPA                     US
120122   5YFBURHE9KP921109   Toyota       COROLLA             ORLANDO                   FL
120123   5YFBURHE9KP921157   Toyota       COROLLA             ORLANDO                   FL
120124   5YFBURHE9KP921367   Toyota       COROLLA             NAPLES                    FL
120125   5YFBURHE9KP921918   Toyota       COROLLA             FORT MYERS                FL
120126   5YFBURHE9KP922258   Toyota       COROLLA             TAMPA                     US
120127   5YFBURHE9KP922485   Toyota       COROLLA             JACKSONVILLE              FL
120128   5YFBURHE9KP922535   Toyota       COROLLA             JACKSONVILLE              FL
120129   5YFBURHE9KP927539   Toyota       COROLLA             DANIA                     FL
120130   5YFBURHE9KP928299   Toyota       COROLLA             Miami                     FL
120131   5YFBURHE9KP928366   Toyota       COROLLA             ORLANDO                   FL
120132   5YFBURHE9KP933664   Toyota       COROLLA             TAMPA                     US
120133   5YFBURHE9KP933857   Toyota       COROLLA             JACKSONVILLE              FL
120134   5YFBURHE9KP934023   Toyota       COROLLA             FORT MYERS                FL
120135   5YFBURHE9KP934250   Toyota       COROLLA             TALLAHASSEE               US
120136   5YFBURHE9KP934474   Toyota       COROLLA             DANIA                     FL
120137   5YFBURHE9KP934488   Toyota       COROLLA             JACKSONVILLE              FL
120138   5YFBURHE9KP935107   Toyota       COROLLA             TAMPA                     US
120139   5YFBURHE9KP935270   Toyota       COROLLA             WEST PALM BEACH           FL
120140   5YFBURHE9KP935866   Toyota       COROLLA             ORLANDO                   FL
120141   5YFBURHEXGP429499   Toyota       COROLLA             LOS ANGELES               CA
120142   5YFBURHEXGP498550   Toyota       COROLLA             North Dighton             MA
120143   5YFBURHEXHP611947   Toyota       COROLLA             LAS VEGAS                 NV
120144   5YFBURHEXHP616968   Toyota       COROLLA             LA HARBRA                 CA
120145   5YFBURHEXHP626674   Toyota       COROLLA             PHOENIX                   AZ
120146   5YFBURHEXHP634273   Toyota       COROLLA             BURBANK                   CA
120147   5YFBURHEXHP639683   Toyota       COROLLA             BURBANK                   CA
120148   5YFBURHEXHP641692   Toyota       COROLLA             SACRAMENTO                CA
120149   5YFBURHEXHP641854   Toyota       COROLLA             NORTH PAC                 CA
120150   5YFBURHEXHP642079   Toyota       COROLLA             SAN FRANCISCO             CA
120151   5YFBURHEXHP642745   Toyota       COROLLA             LOS ANGELES               CA
120152   5YFBURHEXHP642955   Toyota       COROLLA             Manheim                   PA
120153   5YFBURHEXHP644981   Toyota       COROLLA             Statesville               NC
120154   5YFBURHEXHP645533   Toyota       COROLLA             LAS VEGAS                 NV
120155   5YFBURHEXHP646293   Toyota       COROLLA             SAN ANTONIO               TX
120156   5YFBURHEXHP646438   Toyota       COROLLA             Miami                     FL
120157   5YFBURHEXHP646570   Toyota       COROLLA             RIVERSIDE                 CA
120158   5YFBURHEXHP652742   Toyota       COROLLA             Los Angeles               CA
120159   5YFBURHEXHP655253   Toyota       COROLLA             SAN FRANCISCO             CA
120160   5YFBURHEXHP657102   Toyota       COROLLA             DALLAS                    TX
120161   5YFBURHEXHP657696   Toyota       COROLLA             Anaheim                   CA
120162   5YFBURHEXHP658038   Toyota       COROLLA             SANTA CLARA               CA
120163   5YFBURHEXHP659965   Toyota       COROLLA             AURORA                    CO
120164   5YFBURHEXHP674790   Toyota       COROLLA             HOUSTON                   TX
120165   5YFBURHEXHP685496   Toyota       COROLLA             Sacramento                CA
120166   5YFBURHEXHP688818   Toyota       COROLLA             Hayward                   CA
120167   5YFBURHEXHP689225   Toyota       COROLLA             BURBANK                   CA
120168   5YFBURHEXHP689936   Toyota       COROLLA             BURBANK                   CA
120169   5YFBURHEXHP705651   Toyota       COROLLA             DFW AIRPORT               TX
120170   5YFBURHEXHP731831   Toyota       CAMRY               Miami                     FL
120171   5YFBURHEXJP780792   Toyota       COROLLA             LAS VEGAS                 NV
120172   5YFBURHEXJP787337   Toyota       COROLLA             BURBANK                   CA
120173   5YFBURHEXJP789363   Toyota       COROLLA             Miami                     FL
120174   5YFBURHEXJP789475   Toyota       COROLLA             DENVER                    CO
120175   5YFBURHEXJP789850   Toyota       COROLLA             BURBANK                   CA
120176   5YFBURHEXJP790321   Toyota       COROLLA             Davie                     FL
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120177   5YFBURHEXJP790478   Toyota       COROLLA             SAN DIEGO                 CA
120178   5YFBURHEXJP790853   Toyota       COROLLA             DANIA                     FL
120179   5YFBURHEXJP791176   Toyota       COROLLA             BURBANK                   CA
120180   5YFBURHEXJP791632   Toyota       COROLLA             PENSACOLA                 FL
120181   5YFBURHEXJP791730   Toyota       COROLLA             Miami                     FL
120182   5YFBURHEXJP792540   Toyota       COROLLA             FT. LAUDERDALE            FL
120183   5YFBURHEXJP792618   Toyota       COROLLA             LAS VEGAS                 NV
120184   5YFBURHEXJP792652   Toyota       COROLLA             PHOENIX                   AZ
120185   5YFBURHEXJP798922   Toyota       COROLLA             Tampa                     FL
120186   5YFBURHEXJP799293   Toyota       COROLLA             HOUSTON                   TX
120187   5YFBURHEXJP799715   Toyota       COROLLA             Miami                     FL
120188   5YFBURHEXJP799794   Toyota       COROLLA             ORLANDO                   FL
120189   5YFBURHEXJP800541   Toyota       COROLLA             Beaverton                 OR
120190   5YFBURHEXJP802080   Toyota       COROLLA             DANIA                     FL
120191   5YFBURHEXJP802208   Toyota       COROLLA             ORLANDO                   FL
120192   5YFBURHEXJP802693   Toyota       COROLLA             ORLANDO                   FL
120193   5YFBURHEXJP806453   Toyota       COROLLA             COLLEGE PARK              GA
120194   5YFBURHEXJP807778   Toyota       COROLLA             WESTMINSTER               CA
120195   5YFBURHEXJP809790   Toyota       COROLLA             NASHVILLE                 TN
120196   5YFBURHEXJP812222   Toyota       COROLLA             Winston‐Salem             NC
120197   5YFBURHEXJP813984   Toyota       COROLLA             Atlanta                   GA
120198   5YFBURHEXJP814102   Toyota       COROLLA             HARVEY                    LA
120199   5YFBURHEXJP814617   Toyota       COROLLA             Mira Loma                 CA
120200   5YFBURHEXJP815282   Toyota       COROLLA             LA HARBRA                 CA
120201   5YFBURHEXJP815508   Toyota       COROLLA             Elkridge                  MD
120202   5YFBURHEXJP817713   Toyota       COROLLA             COLLEGE PARK              GA
120203   5YFBURHEXJP818344   Toyota       COROLLA             PHOENIX                   AZ
120204   5YFBURHEXJP818988   Toyota       COROLLA             North Las Vegas           NV
120205   5YFBURHEXJP820515   Toyota       COROLLA             SAN FRANCISCO             CA
120206   5YFBURHEXJP825049   Toyota       COROLLA             BURBANK                   CA
120207   5YFBURHEXJP825231   Toyota       COROLLA             PENSACOLA                 FL
120208   5YFBURHEXJP826816   Toyota       COROLLA             SHREVEPORT                US
120209   5YFBURHEXJP826928   Toyota       COROLLA             BURBANK                   CA
120210   5YFBURHEXJP827450   Toyota       COROLLA             MIAMI                     FL
120211   5YFBURHEXJP827478   Toyota       COROLLA             DENVER                    CO
120212   5YFBURHEXJP829411   Toyota       COROLLA             NORFOLK                   VA
120213   5YFBURHEXJP829571   Toyota       COROLLA             LAS VEGAS                 NV
120214   5YFBURHEXJP830123   Toyota       COROLLA             HARVEY                    LA
120215   5YFBURHEXJP830560   Toyota       COROLLA             CLARKSVILLE               IN
120216   5YFBURHEXJP831045   Toyota       COROLLA             Philadelphia              PA
120217   5YFBURHEXJP831210   Toyota       COROLLA             ORLANDO                   FL
120218   5YFBURHEXJP831238   Toyota       COROLLA             EGG HARBOR TOWN           NJ
120219   5YFBURHEXJP831465   Toyota       COROLLA             San Diego                 CA
120220   5YFBURHEXJP831546   Toyota       COROLLA             ORLANDO                   FL
120221   5YFBURHEXJP831563   Toyota       COROLLA             PHOENIX                   AZ
120222   5YFBURHEXJP831577   Toyota       COROLLA             JACKSONVILLE              FL
120223   5YFBURHEXJP832020   Toyota       COROLLA             Pasadena                  CA
120224   5YFBURHEXJP832051   Toyota       COROLLA             ALEXANDRIA                VA
120225   5YFBURHEXJP832664   Toyota       COROLLA             Sacramento                CA
120226   5YFBURHEXJP835418   Toyota       COROLLA             SAN ANTONIO               TX
120227   5YFBURHEXJP838383   Toyota       COROLLA             ONTARIO, RIVERSIDE        CA
120228   5YFBURHEXJP838903   Toyota       COROLLA             MORRISVILLE               NC
120229   5YFBURHEXJP840540   Toyota       COROLLA             KNOXVILLE                 TN
120230   5YFBURHEXJP841462   Toyota       COROLLA             Alexandria                LA
120231   5YFBURHEXJP841476   Toyota       COROLLA             WEST PALM BEACH           FL
120232   5YFBURHEXJP842322   Toyota       COROLLA             EL SEGUNDO                CA
120233   5YFBURHEXJP842448   Toyota       COROLLA             LOS ANGELES               CA
120234   5YFBURHEXJP842496   Toyota       COROLLA             SAN FRANCISCO             CA
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120235   5YFBURHEXJP843454   Toyota       COROLLA             LOS ANGELES               CA
120236   5YFBURHEXJP844815   Toyota       COROLLA             FORT MYERS                FL
120237   5YFBURHEXJP845091   Toyota       COROLLA             Revere                    MA
120238   5YFBURHEXJP845706   Toyota       COROLLA             Tallahassee               FL
120239   5YFBURHEXJP845897   Toyota       COROLLA             Atlanta                   GA
120240   5YFBURHEXJP846502   Toyota       COROLLA             NEW BERN                  NC
120241   5YFBURHEXJP846578   Toyota       COROLLA             UNION CITY                GA
120242   5YFBURHEXJP847536   Toyota       COROLLA             UNION CITY                GA
120243   5YFBURHEXJP847763   Toyota       COROLLA             BURBANK                   CA
120244   5YFBURHEXJP849531   Toyota       COROLLA             CHICAGO                   IL
120245   5YFBURHEXJP853689   Toyota       COROLLA             LOS ANGELES               CA
120246   5YFBURHEXJP853692   Toyota       COROLLA             COLORADO SPRING           CO
120247   5YFBURHEXJP853885   Toyota       COROLLA             CHICAGO                   IL
120248   5YFBURHEXJP853997   Toyota       COROLLA             LOS ANGELES               CA
120249   5YFBURHEXJP854387   Toyota       COROLLA             LAS VEGAS                 NV
120250   5YFBURHEXJP855152   Toyota       COROLLA             STOCKTON                  CA
120251   5YFBURHEXJP855961   Toyota       COROLLA             BURBANK                   CA
120252   5YFBURHEXKP884619   Toyota       COROLLA             LAS VEGAS                 NV
120253   5YFBURHEXKP884703   Toyota       COROLLA             LAS VEGAS                 NV
120254   5YFBURHEXKP884779   Toyota       COROLLA             DANIA                     FL
120255   5YFBURHEXKP884894   Toyota       COROLLA             ORLANDO                   FL
120256   5YFBURHEXKP885172   Toyota       COROLLA             CLEVELAND                 OH
120257   5YFBURHEXKP885205   Toyota       COROLLA             STOCKTON                  CA
120258   5YFBURHEXKP885396   Toyota       COROLLA             Miami                     FL
120259   5YFBURHEXKP885429   Toyota       COROLLA             ORLANDO                   FL
120260   5YFBURHEXKP885866   Toyota       COROLLA             JACKSONVILLE              FL
120261   5YFBURHEXKP885916   Toyota       COROLLA             JACKSONVILLE              FL
120262   5YFBURHEXKP886077   Toyota       COROLLA             ORLANDO                   FL
120263   5YFBURHEXKP886466   Toyota       COROLLA             ORLANDO                   FL
120264   5YFBURHEXKP886564   Toyota       COROLLA             West Palm Beach           FL
120265   5YFBURHEXKP886595   Toyota       COROLLA             ORLANDO                   FL
120266   5YFBURHEXKP887083   Toyota       COROLLA             FORT MYERS                FL
120267   5YFBURHEXKP887276   Toyota       COROLLA             PHOENIX                   AZ
120268   5YFBURHEXKP887584   Toyota       COROLLA             FORT LAUDERDALE           FL
120269   5YFBURHEXKP887651   Toyota       COROLLA             JACKSONVILLE              FL
120270   5YFBURHEXKP887729   Toyota       COROLLA             SARASOTA                  FL
120271   5YFBURHEXKP888136   Toyota       COROLLA             ORLANDO                   FL
120272   5YFBURHEXKP889013   Toyota       COROLLA             ORLANDO                   FL
120273   5YFBURHEXKP889335   Toyota       COROLLA             STOCKTON                  CA
120274   5YFBURHEXKP889948   Toyota       COROLLA             ORLANDO                   FL
120275   5YFBURHEXKP890579   Toyota       COROLLA             TAMPA                     US
120276   5YFBURHEXKP895765   Toyota       COROLLA             ORLANDO                   FL
120277   5YFBURHEXKP895894   Toyota       COROLLA             SARASOTA                  FL
120278   5YFBURHEXKP896303   Toyota       COROLLA             NEW BERN                  NC
120279   5YFBURHEXKP896432   Toyota       COROLLA             ORLANDO                   FL
120280   5YFBURHEXKP897791   Toyota       COROLLA             Miami                     FL
120281   5YFBURHEXKP898035   Toyota       COROLLA             MIAMI                     FL
120282   5YFBURHEXKP899167   Toyota       COROLLA             TAMPA                     US
120283   5YFBURHEXKP899671   Toyota       COROLLA             SARASOTA                  FL
120284   5YFBURHEXKP900169   Toyota       COROLLA             TAMPA                     US
120285   5YFBURHEXKP916999   Toyota       COROLLA             DANIA                     FL
120286   5YFBURHEXKP917084   Toyota       COROLLA             ORLANDO                   FL
120287   5YFBURHEXKP917120   Toyota       COROLLA             DANIA                     FL
120288   5YFBURHEXKP917327   Toyota       COROLLA             Miami                     FL
120289   5YFBURHEXKP917361   Toyota       COROLLA             ORLANDO                   FL
120290   5YFBURHEXKP917649   Toyota       COROLLA             TAMPA                     US
120291   5YFBURHEXKP918039   Toyota       COROLLA             TAMPA                     US
120292   5YFBURHEXKP918140   Toyota       COROLLA             MIAMI                     FL
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120293   5YFBURHEXKP918896   Toyota       COROLLA             TAMPA                     US
120294   5YFBURHEXKP918946   Toyota       COROLLA             WEST PALM BEACH           FL
120295   5YFBURHEXKP919109   Toyota       COROLLA             Miami                     FL
120296   5YFBURHEXKP919322   Toyota       COROLLA             ORLANDO                   FL
120297   5YFBURHEXKP919420   Toyota       COROLLA             CORAL SPRINGS             FL
120298   5YFBURHEXKP919434   Toyota       COROLLA             SARASOTA                  FL
120299   5YFBURHEXKP919594   Toyota       COROLLA             DANIA                     FL
120300   5YFBURHEXKP919613   Toyota       COROLLA             TALLAHASSEE               US
120301   5YFBURHEXKP919630   Toyota       COROLLA             TAMPA                     US
120302   5YFBURHEXKP919689   Toyota       COROLLA             ORLANDO                   FL
120303   5YFBURHEXKP919739   Toyota       COROLLA             WEST PALM BEACH           FL
120304   5YFBURHEXKP919806   Toyota       COROLLA             Miami                     FL
120305   5YFBURHEXKP919983   Toyota       COROLLA             ORLANDO                   FL
120306   5YFBURHEXKP920180   Toyota       COROLLA             FORT MYERS                FL
120307   5YFBURHEXKP920552   Toyota       COROLLA             FORT MYERS                FL
120308   5YFBURHEXKP920728   Toyota       COROLLA             FORT MYERS                FL
120309   5YFBURHEXKP920793   Toyota       COROLLA             ORLANDO                   FL
120310   5YFBURHEXKP921524   Toyota       COROLLA             ORLANDO                   FL
120311   5YFBURHEXKP921586   Toyota       COROLLA             Miami                     FL
120312   5YFBURHEXKP921703   Toyota       COROLLA             JACKSONVILLE              FL
120313   5YFBURHEXKP921801   Toyota       COROLLA             TAMPA                     US
120314   5YFBURHEXKP922222   Toyota       COROLLA             ORLANDO                   FL
120315   5YFBURHEXKP922480   Toyota       COROLLA             Miami                     FL
120316   5YFBURHEXKP922527   Toyota       COROLLA             SARASOTA                  FL
120317   5YFBURHEXKP922558   Toyota       COROLLA             WEST PALM BEACH           FL
120318   5YFBURHEXKP927064   Toyota       COROLLA             FORT MYERS                FL
120319   5YFBURHEXKP927470   Toyota       COROLLA             FORT MYERS                FL
120320   5YFBURHEXKP927954   Toyota       COROLLA             FORT MYERS                FL
120321   5YFBURHEXKP928439   Toyota       COROLLA             ORLANDO                   FL
120322   5YFBURHEXKP932393   Toyota       COROLLA             DANIA                     FL
120323   5YFBURHEXKP933558   Toyota       COROLLA             DANIA                     FL
120324   5YFBURHEXKP934595   Toyota       COROLLA             JACKSONVILLE              FL
120325   5YFBURHEXKP934869   Toyota       COROLLA             WEST PALM BEACH           FL
120326   5YFBURHEXKP934970   Toyota       COROLLA             ORLANDO                   FL
120327   5YFBURHEXKP935309   Toyota       COROLLA             FORT MYERS                FL
120328   5YFBURHEXKP935312   Toyota       COROLLA             TALLAHASSEE               US
120329   5YFBURHEXKP936069   Toyota       COROLLA             ORLANDO                   FL
120330   5YFBURHEXKP937349   Toyota       COROLLA             Miami                     FL
120331   5YFBURHEXKP938565   Toyota       COROLLA             DANIA                     FL
120332   5YFEPRAE0LP097288   Toyota       COROLLA             Hayward                   CA
120333   5YFEPRAE1LP021448   Toyota       COROLLA             FORT MYERS                FL
120334   5YFEPRAE1LP025239   Toyota       COROLLA             Des Moines                IA
120335   5YFEPRAE2LP018185   Toyota       COROLLA             Tulsa                     OK
120336   5YFEPRAE2LP061148   Toyota       COROLLA             Austell                   GA
120337   5YFEPRAE2LP089533   Toyota       COROLLA             ORLANDO                   FL
120338   5YFEPRAE3LP025260   Toyota       COROLLA             Bridgeton                 MO
120339   5YFEPRAE3LP040101   Toyota       COROLLA             NASHVILLE                 TN
120340   5YFEPRAE3LP076323   Toyota       COROLLA             SAN ANTONIO               TX
120341   5YFEPRAE3LP085457   Toyota       COROLLA             FORT MYERS                FL
120342   5YFEPRAE3LP094059   Toyota       COROLLA             Brighton                  CO
120343   5YFEPRAE3LP097849   Toyota       COROLLA             SAN ANTONIO               TX
120344   5YFEPRAE3LP098922   Toyota       COROLLA             SAN ANTONIO               TX
120345   5YFEPRAE4LP077268   Toyota       COROLLA             Oklahoma City             OK
120346   5YFEPRAE4LP118398   Toyota       COROLLA             SEATTLE                   WA
120347   5YFEPRAE5LP021131   Toyota       COROLLA             Oklahoma City             OK
120348   5YFEPRAE6LP019632   Toyota       COROLLA             Houston                   TX
120349   5YFEPRAE6LP039587   Toyota       COROLLA             Cudahy                    WI
120350   5YFEPRAE6LP065168   Toyota       COROLLA             SAN ANTONIO               TX
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120351   5YFEPRAE7LP066555   Toyota           COROLLA             Jacksonville              FL
120352   5YFEPRAE7LP094470   Toyota           COROLLA             Wood Cross                UT
120353   5YFEPRAE8LP020720   Toyota           COROLLA             KNOXVILLE                 TN
120354   5YFEPRAE8LP067195   Toyota           COROLLA             NORTH PAC                 CA
120355   5YFEPRAE8LP076754   Toyota           COROLLA             San Antonio               TX
120356   5YFEPRAE8LP086703   Toyota           COROLLA             FORT MYERS                FL
120357   5YFEPRAE8LP103872   Toyota           COROLLA             Fresno                    CA
120358   5YFEPRAE8LP117660   Toyota           COROLLA             Jacksonville              FL
120359   5YFEPRAEXLP023005   Toyota           COROLLA             Hutchins                  TX
120360   5YFEPRAEXLP037180   Toyota           COROLLA             Austell                   GA
120361   7FARW5H36HE005108   Honda            CIVIC               WEST PALM BEACH           FL
120362   JA4AD2A30KZ012414   Mitsubishi       OUTLANDER           LAS VEGAS                 NV
120363   JA4AD2A31KZ052632   Mitsubishi       OUTLANDER           Dallas                    TX
120364   JA4AD2A32KZ009577   Mitsubishi       OUTLANDER           SACRAMENTO                CA
120365   JA4AD2A33KZ021155   Mitsubishi       OUTLANDER           Detroit                   MI
120366   JA4AD2A34KZ055296   Mitsubishi       OUTLANDER           SALT LAKE CITY            UT
120367   JA4AD2A35KZ003708   Mitsubishi       OUTLANDER           Indianapolis              IN
120368   JA4AD2A37KZ011132   Mitsubishi       OUTLANDER           Winston‐Salem             NC
120369   JA4AD2A39KZ013092   Mitsubishi       OUTLANDER           Detroit                   MI
120370   JA4AD3A31JZ009199   Mitsubishi       OUTLANDER           Wilmington                NC
120371   JA4AD3A31JZ016055   Mitsubishi       OUTLANDER           NORTH PAC                 CA
120372   JA4AD3A31KZ012475   Mitsubishi       OUTLANDER           Burien                    WA
120373   JA4AD3A32JJ001014   Mitsubishi       OUTLANDER           Fontana                   CA
120374   JA4AD3A32KZ026496   Mitsubishi       OUTLANDER           DALLAS                    TX
120375   JA4AD3A34JZ015644   Mitsubishi       OUTLANDER           CHICAGO                   IL
120376   JA4AD3A34JZ031178   Mitsubishi       OUTLANDER           Atlanta                   GA
120377   JA4AD3A34JZ040270   Mitsubishi       OUTLANDER           Maple Grove               MN
120378   JA4AD3A36JZ015337   Mitsubishi       OUTLANDER           Colorado Spring           CO
120379   JA4AD3A37JJ000988   Mitsubishi       OUTLANDER           FRESNO                    CA
120380   JA4AD3A3XJZ009718   Mitsubishi       OUTLANDER           Hayward                   CA
120381   JA4AP3AU0KU000220   Mitsubishi       OUTLANDER           Smithtown                 NY
120382   JA4AP3AU0KU000363   Mitsubishi       OUTLANDER           LAS VEGAS                 NV
120383   JA4AP3AU0KU006275   Mitsubishi       OUTLANDER           LOS ANGELES               CA
120384   JA4AP3AU0KU007202   Mitsubishi       OUTLANDER           Pittsburgh                PA
120385   JA4AP3AU0KU009922   Mitsubishi       OUTLANDER           Tampa                     FL
120386   JA4AP3AU0KU015218   Mitsubishi       OUTLANDER           ST PAUL                   MN
120387   JA4AP3AU0KU015249   Mitsubishi       OUTLANDER           Florissant                MO
120388   JA4AP3AU0KU018328   Mitsubishi       OUTLANDER           Huntington Stat           NY
120389   JA4AP3AU0KU018426   Mitsubishi       OUTLANDER           Richmond                  VA
120390   JA4AP3AU0KU018829   Mitsubishi       OUTLANDER           BULLHEAD CITY             AZ
120391   JA4AP3AU0KU019074   Mitsubishi       OUTLANDER           Charleston                WV
120392   JA4AP3AU0KU019947   Mitsubishi       OUTLANDER           Smithtown                 NY
120393   JA4AP3AU0KU021181   Mitsubishi       OUTLANDER           Atlanta                   GA
120394   JA4AP3AU0KU022539   Mitsubishi       OUTLANDER           Milwaukee                 WI
120395   JA4AP3AU0KU026266   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120396   JA4AP3AU0KU028759   Mitsubishi       OUTLANDER           WEST PALM BEACH           FL
120397   JA4AP3AU0KU031810   Mitsubishi       OUTLANDER           BLOOMINGTON               IL
120398   JA4AP3AU0KU031886   Mitsubishi       OUTLANDER           St. Louis                 MO
120399   JA4AP3AU1JU018160   Mitsubishi       OUTLANDER           SAN DIEGO                 US
120400   JA4AP3AU1KU000226   Mitsubishi       OUTLANDER           CHICAGO                   IL
120401   JA4AP3AU1KU000369   Mitsubishi       OUTLANDER           LAS VEGAS                 NV
120402   JA4AP3AU1KU004177   Mitsubishi       OUTLANDER           DALLAS                    TX
120403   JA4AP3AU1KU007872   Mitsubishi       OUTLANDER           ORLANDO                   FL
120404   JA4AP3AU1KU009749   Mitsubishi       OUTLANDER           FORT LAUDERDALE           FL
120405   JA4AP3AU1KU010206   Mitsubishi       OUTLANDER           Windsor Locks             CT
120406   JA4AP3AU1KU010481   Mitsubishi       OUTLANDER           LOS ANGELES               CA
120407   JA4AP3AU1KU014823   Mitsubishi       OUTLANDER           NEW BERN                  NC
120408   JA4AP3AU1KU014952   Mitsubishi       OUTLANDER           Carleton                  MI
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120409   JA4AP3AU1KU018337   Mitsubishi       OUTLANDER           Hebron                    KY
120410   JA4AP3AU1KU018340   Mitsubishi       OUTLANDER           Rock Hill                 SC
120411   JA4AP3AU1KU020122   Mitsubishi       OUTLANDER           Tampa                     FL
120412   JA4AP3AU1KU020153   Mitsubishi       OUTLANDER           PHOENIX                   AZ
120413   JA4AP3AU1KU020654   Mitsubishi       OUTLANDER           PHOENIX                   AZ
120414   JA4AP3AU1KU020928   Mitsubishi       OUTLANDER           INDIANAPOLIS              IN
120415   JA4AP3AU1KU020945   Mitsubishi       OUTLANDER           Pittsburgh                PA
120416   JA4AP3AU1KU020962   Mitsubishi       OUTLANDER           Kansas City               MO
120417   JA4AP3AU1KU021013   Mitsubishi       OUTLANDER           CHICAGO                   IL
120418   JA4AP3AU1KU021335   Mitsubishi       OUTLANDER           Stone Mountain            GA
120419   JA4AP3AU1KU023716   Mitsubishi       OUTLANDER           SOUTHEAST DST OFFC        OK
120420   JA4AP3AU1KU026406   Mitsubishi       OUTLANDER           FORT MYERS                FL
120421   JA4AP3AU1KU027295   Mitsubishi       OUTLANDER           Pittsburgh                PA
120422   JA4AP3AU1KU027734   Mitsubishi       OUTLANDER           PHOENIX                   AZ
120423   JA4AP3AU1KU028060   Mitsubishi       OUTLANDER           ST Paul                   MN
120424   JA4AP3AU1KU028592   Mitsubishi       OUTLANDER           Nashville                 TN
120425   JA4AP3AU1KU029032   Mitsubishi       OUTLANDER           CORPUS CHRISTI            TX
120426   JA4AP3AU1KU029340   Mitsubishi       OUTLANDER           BLOOMINGTON               IL
120427   JA4AP3AU2JZ018042   Mitsubishi       OUTLANDER           NORTH PAC                 CA
120428   JA4AP3AU2KU001725   Mitsubishi       OUTLANDER           AUGUSTA                   GA
120429   JA4AP3AU2KU005564   Mitsubishi       OUTLANDER           PHOENIX                   AZ
120430   JA4AP3AU2KU009081   Mitsubishi       OUTLANDER           Smithtown                 NY
120431   JA4AP3AU2KU009226   Mitsubishi       OUTLANDER           FORT MYERS                FL
120432   JA4AP3AU2KU010621   Mitsubishi       OUTLANDER           SEA TAC                   WA
120433   JA4AP3AU2KU012689   Mitsubishi       OUTLANDER           CHICAGO                   IL
120434   JA4AP3AU2KU013888   Mitsubishi       OUTLANDER           ROCHESTER                 NY
120435   JA4AP3AU2KU014541   Mitsubishi       OUTLANDER           COLUMBIA                  SC
120436   JA4AP3AU2KU014894   Mitsubishi       OUTLANDER           Memphis                   TN
120437   JA4AP3AU2KU019657   Mitsubishi       OUTLANDER           HOLLY HILL                FL
120438   JA4AP3AU2KU020193   Mitsubishi       OUTLANDER           GLASSBORO                 NJ
120439   JA4AP3AU2KU021411   Mitsubishi       OUTLANDER           Manheim                   PA
120440   JA4AP3AU2KU021697   Mitsubishi       OUTLANDER           Leesburg                  VA
120441   JA4AP3AU2KU022025   Mitsubishi       OUTLANDER           Rockville Centr           NY
120442   JA4AP3AU2KU024289   Mitsubishi       OUTLANDER           Nashville                 TN
120443   JA4AP3AU2KU024423   Mitsubishi       OUTLANDER           Indianapolis              IN
120444   JA4AP3AU2KU026995   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120445   JA4AP3AU2KU027693   Mitsubishi       OUTLANDER           Richmond                  VA
120446   JA4AP3AU2KU028150   Mitsubishi       OUTLANDER           Indianapolis              IN
120447   JA4AP3AU2KU028603   Mitsubishi       OUTLANDER           SEATAC                    WA
120448   JA4AP3AU2KU029248   Mitsubishi       OUTLANDER           Atlanta                   GA
120449   JA4AP3AU2KU031078   Mitsubishi       OUTLANDER           Des Moines                IA
120450   JA4AP3AU2KU031453   Mitsubishi       OUTLANDER           Pittsburgh                PA
120451   JA4AP3AU3KU000521   Mitsubishi       OUTLANDER           San Antonio               TX
120452   JA4AP3AU3KU005539   Mitsubishi       OUTLANDER           LOS ANGELES               CA
120453   JA4AP3AU3KU009333   Mitsubishi       OUTLANDER           SEATAC                    WA
120454   JA4AP3AU3KU009641   Mitsubishi       OUTLANDER           Florissant                MO
120455   JA4AP3AU3KU009963   Mitsubishi       OUTLANDER           LOS ANGELES               CA
120456   JA4AP3AU3KU019442   Mitsubishi       OUTLANDER           N. Palm Beach             FL
120457   JA4AP3AU3KU019599   Mitsubishi       OUTLANDER           CHICAGO                   IL
120458   JA4AP3AU3KU020123   Mitsubishi       OUTLANDER           WEST PALM BEACH           FL
120459   JA4AP3AU3KU020638   Mitsubishi       OUTLANDER           Cedar Rapids              IA
120460   JA4AP3AU3KU020896   Mitsubishi       OUTLANDER           Cedar Rapids              IA
120461   JA4AP3AU3KU021028   Mitsubishi       OUTLANDER           Las Vegas                 NV
120462   JA4AP3AU3KU021448   Mitsubishi       OUTLANDER           COLUMBIA                  SC
120463   JA4AP3AU3KU022163   Mitsubishi       OUTLANDER           CLARKSVILLE               IN
120464   JA4AP3AU3KU022597   Mitsubishi       OUTLANDER           Warminster                PA
120465   JA4AP3AU3KU023202   Mitsubishi       OUTLANDER           Tampa                     FL
120466   JA4AP3AU3KU026794   Mitsubishi       OUTLANDER           Irving                    TX
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120467   JA4AP3AU3KU028223   Mitsubishi       OUTLANDER           Pittsburgh                PA
120468   JA4AP3AU3KU028688   Mitsubishi       OUTLANDER           FORT MYERS                FL
120469   JA4AP3AU3KU029159   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120470   JA4AP3AU3KU029257   Mitsubishi       OUTLANDER           CHICAGO                   IL
120471   JA4AP3AU3KU031025   Mitsubishi       OUTLANDER           Hebron                    KY
120472   JA4AP3AU3KU031302   Mitsubishi       OUTLANDER           Schaumburg                IL
120473   JA4AP3AU3KU031753   Mitsubishi       OUTLANDER           Windsor Locks             CT
120474   JA4AP3AU4HZ053224   Mitsubishi       OUTLANDER           AUSTIN                    TX
120475   JA4AP3AU4KU005131   Mitsubishi       OUTLANDER           Dallas                    TX
120476   JA4AP3AU4KU005792   Mitsubishi       OUTLANDER           Nashville                 TN
120477   JA4AP3AU4KU006134   Mitsubishi       OUTLANDER           SAN FRANCISCO             CA
120478   JA4AP3AU4KU008529   Mitsubishi       OUTLANDER           Richmond                  VA
120479   JA4AP3AU4KU010510   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120480   JA4AP3AU4KU014959   Mitsubishi       OUTLANDER           MIAMI                     FL
120481   JA4AP3AU4KU015707   Mitsubishi       OUTLANDER           Carleton                  MI
120482   JA4AP3AU4KU016436   Mitsubishi       OUTLANDER           Pittsburgh                PA
120483   JA4AP3AU4KU018946   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120484   JA4AP3AU4KU019451   Mitsubishi       OUTLANDER           NEWARK                    NJ
120485   JA4AP3AU4KU020177   Mitsubishi       OUTLANDER           Hamilton                  OH
120486   JA4AP3AU4KU020390   Mitsubishi       OUTLANDER           Davie                     FL
120487   JA4AP3AU4KU020776   Mitsubishi       OUTLANDER           PHOENIX                   AZ
120488   JA4AP3AU4KU020793   Mitsubishi       OUTLANDER           CHICAGO                   IL
120489   JA4AP3AU4KU021328   Mitsubishi       OUTLANDER           North Dighton             MA
120490   JA4AP3AU4KU021409   Mitsubishi       OUTLANDER           Pittsburgh                PA
120491   JA4AP3AU4KU021491   Mitsubishi       OUTLANDER           SARASOTA                  FL
120492   JA4AP3AU4KU021734   Mitsubishi       OUTLANDER           Chicago                   IL
120493   JA4AP3AU4KU023225   Mitsubishi       OUTLANDER           BOSTON                    MA
120494   JA4AP3AU4KU024567   Mitsubishi       OUTLANDER           FORT MYERS                FL
120495   JA4AP3AU4KU027968   Mitsubishi       OUTLANDER           HARTFORD                  CT
120496   JA4AP3AU4KU028943   Mitsubishi       OUTLANDER           Atlanta                   GA
120497   JA4AP3AU4KU029185   Mitsubishi       OUTLANDER           NEWARK                    NJ
120498   JA4AP3AU4KU031972   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120499   JA4AP3AU4LU016826   Mitsubishi       OUTLANDER           FORT MYERS                FL
120500   JA4AP3AU5KU005865   Mitsubishi       OUTLANDER           CHICAGO                   IL
120501   JA4AP3AU5KU006174   Mitsubishi       OUTLANDER           SOUTHEAST DST OFFC        OK
120502   JA4AP3AU5KU007633   Mitsubishi       OUTLANDER           Manheim                   PA
120503   JA4AP3AU5KU009088   Mitsubishi       OUTLANDER           Salt Lake City            UT
120504   JA4AP3AU5KU009463   Mitsubishi       OUTLANDER           Hebron                    KY
120505   JA4AP3AU5KU009933   Mitsubishi       OUTLANDER           Pensacola                 FL
120506   JA4AP3AU5KU011942   Mitsubishi       OUTLANDER           STOCKTON                  CA
120507   JA4AP3AU5KU014758   Mitsubishi       OUTLANDER           FORT MYERS                FL
120508   JA4AP3AU5KU014954   Mitsubishi       OUTLANDER           Chicago                   IL
120509   JA4AP3AU5KU015859   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120510   JA4AP3AU5KU018440   Mitsubishi       OUTLANDER           Smithtown                 NY
120511   JA4AP3AU5KU019362   Mitsubishi       OUTLANDER           MIDDLE RIVER              MD
120512   JA4AP3AU5KU020849   Mitsubishi       OUTLANDER           LOS ANGELES               CA
120513   JA4AP3AU5KU021032   Mitsubishi       OUTLANDER           Dania                     FL
120514   JA4AP3AU5KU021287   Mitsubishi       OUTLANDER           Latham                    NY
120515   JA4AP3AU5KU021323   Mitsubishi       OUTLANDER           Hamilton                  OH
120516   JA4AP3AU5KU021631   Mitsubishi       OUTLANDER           Richmond                  VA
120517   JA4AP3AU5KU021807   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120518   JA4AP3AU5KU023573   Mitsubishi       OUTLANDER           MIAMI                     FL
120519   JA4AP3AU5KU028143   Mitsubishi       OUTLANDER           Pittsburgh                PA
120520   JA4AP3AU5KU028529   Mitsubishi       OUTLANDER           Hebron                    KY
120521   JA4AP3AU5KU028899   Mitsubishi       OUTLANDER           Detroit                   MI
120522   JA4AP3AU5KU029115   Mitsubishi       OUTLANDER           DETROIT                   MI
120523   JA4AP3AU5KU029227   Mitsubishi       OUTLANDER           Chicago                   IL
120524   JA4AP3AU5KU031625   Mitsubishi       OUTLANDER           Atlanta                   GA
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120525   JA4AP3AU6KU002408   Mitsubishi       OUTLANDER           ST Paul                   MN
120526   JA4AP3AU6KU004000   Mitsubishi       OUTLANDER           SOUTH BEND                IN
120527   JA4AP3AU6KU005826   Mitsubishi       OUTLANDER           LOS ANGELES               CA
120528   JA4AP3AU6KU006412   Mitsubishi       OUTLANDER           PHOENIX                   AZ
120529   JA4AP3AU6KU009262   Mitsubishi       OUTLANDER           Florissant                MO
120530   JA4AP3AU6KU010153   Mitsubishi       OUTLANDER           Schaumburg                IL
120531   JA4AP3AU6KU018267   Mitsubishi       OUTLANDER           Windsor Locks             CT
120532   JA4AP3AU6KU018706   Mitsubishi       OUTLANDER           TULSA                     OK
120533   JA4AP3AU6KU018916   Mitsubishi       OUTLANDER           CHICAGO                   IL
120534   JA4AP3AU6KU019810   Mitsubishi       OUTLANDER           ALBANY                    N
120535   JA4AP3AU6KU020505   Mitsubishi       OUTLANDER           Tampa                     FL
120536   JA4AP3AU6KU021282   Mitsubishi       OUTLANDER           TAMPA                     FL
120537   JA4AP3AU6KU021315   Mitsubishi       OUTLANDER           Manheim                   PA
120538   JA4AP3AU6KU022948   Mitsubishi       OUTLANDER           GRAND RAPIDS              MI
120539   JA4AP3AU6KU023016   Mitsubishi       OUTLANDER           LOS ANGELES               CA
120540   JA4AP3AU6KU026093   Mitsubishi       OUTLANDER           GRAND JUNCTION            C
120541   JA4AP3AU6KU027972   Mitsubishi       OUTLANDER           DAYTONA BEACH             FL
120542   JA4AP3AU6KU028054   Mitsubishi       OUTLANDER           CHICAGO                   IL
120543   JA4AP3AU6KU029057   Mitsubishi       OUTLANDER           CHICAGO                   IL
120544   JA4AP3AU6KU029110   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120545   JA4AP3AU6KU030905   Mitsubishi       OUTLANDER           Pittsburgh                PA
120546   JA4AP3AU6KU031956   Mitsubishi       OUTLANDER           CHICAGO                   IL
120547   JA4AP3AU7KU001591   Mitsubishi       OUTLANDER           PHOENIX                   AZ
120548   JA4AP3AU7KU004085   Mitsubishi       OUTLANDER           Tulsa                     OK
120549   JA4AP3AU7KU004992   Mitsubishi       OUTLANDER           Bensalem                  PA
120550   JA4AP3AU7KU005169   Mitsubishi       OUTLANDER           Sarasota                  FL
120551   JA4AP3AU7KU006189   Mitsubishi       OUTLANDER           OAKLAND                   CA
120552   JA4AP3AU7KU006791   Mitsubishi       OUTLANDER           Chicago                   IL
120553   JA4AP3AU7KU007214   Mitsubishi       OUTLANDER           GLENOLDEN                 PA
120554   JA4AP3AU7KU012171   Mitsubishi       OUTLANDER           Statesville               NC
120555   JA4AP3AU7KU012770   Mitsubishi       OUTLANDER           MILWAUKEE                 WI
120556   JA4AP3AU7KU013854   Mitsubishi       OUTLANDER           CHICAGO                   IL
120557   JA4AP3AU7KU019895   Mitsubishi       OUTLANDER           Jamaica                   NY
120558   JA4AP3AU7KU020108   Mitsubishi       OUTLANDER           Newark                    NJ
120559   JA4AP3AU7KU020707   Mitsubishi       OUTLANDER           SALT LAKE CITY            US
120560   JA4AP3AU7KU020903   Mitsubishi       OUTLANDER           CHICAGO                   IL
120561   JA4AP3AU7KU020951   Mitsubishi       OUTLANDER           ST Paul                   MN
120562   JA4AP3AU7KU021338   Mitsubishi       OUTLANDER           CHICAGO                   IL
120563   JA4AP3AU7KU021923   Mitsubishi       OUTLANDER           Lynn                      MA
120564   JA4AP3AU7KU022974   Mitsubishi       OUTLANDER           Houston                   TX
120565   JA4AP3AU7KU027091   Mitsubishi       OUTLANDER           Chicago                   IL
120566   JA4AP3AU7KU027219   Mitsubishi       OUTLANDER           Pittsburgh                PA
120567   JA4AP3AU7KU027429   Mitsubishi       OUTLANDER           Newark                    NJ
120568   JA4AP3AU7KU027995   Mitsubishi       OUTLANDER           WILMINGTON                CA
120569   JA4AP3AU7KU029195   Mitsubishi       OUTLANDER           Indianapolis              IN
120570   JA4AP3AU7KU029309   Mitsubishi       OUTLANDER           ST PAUL                   MN
120571   JA4AP3AU7KU029360   Mitsubishi       OUTLANDER           Alexandria                VA
120572   JA4AP3AU7KU031142   Mitsubishi       OUTLANDER           Pittsburgh                PA
120573   JA4AP3AU8GZ040622   Mitsubishi       OUTLANDER           Scottsdale                AZ
120574   JA4AP3AU8KU004421   Mitsubishi       OUTLANDER           TAMPA                     FL
120575   JA4AP3AU8KU008713   Mitsubishi       OUTLANDER           ORLANDO                   FL
120576   JA4AP3AU8KU009022   Mitsubishi       OUTLANDER           Syracuse                  NY
120577   JA4AP3AU8KU014611   Mitsubishi       OUTLANDER           Columbus                  OH
120578   JA4AP3AU8KU015113   Mitsubishi       OUTLANDER           FORT LAUDERDALE           FL
120579   JA4AP3AU8KU019128   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120580   JA4AP3AU8KU019176   Mitsubishi       OUTLANDER           CHICAGO                   IL
120581   JA4AP3AU8KU020215   Mitsubishi       OUTLANDER           Phoenix                   AZ
120582   JA4AP3AU8KU020229   Mitsubishi       OUTLANDER           Hamilton                  OH
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120583   JA4AP3AU8KU020411   Mitsubishi       OUTLANDER           Latham                    NY
120584   JA4AP3AU8KU020683   Mitsubishi       OUTLANDER           Florissant                MO
120585   JA4AP3AU8KU021574   Mitsubishi       OUTLANDER           Berwyn                    IL
120586   JA4AP3AU8KU023714   Mitsubishi       OUTLANDER           Smithtown                 NY
120587   JA4AP3AU8KU027052   Mitsubishi       OUTLANDER           Hamilton                  OH
120588   JA4AP3AU8KU029285   Mitsubishi       OUTLANDER           SPOKANE                   WA
120589   JA4AP3AU8KU031117   Mitsubishi       OUTLANDER           Chicago                   IL
120590   JA4AP3AU8KU031960   Mitsubishi       OUTLANDER           GRAND JUNCTION            C
120591   JA4AP3AU9KU001432   Mitsubishi       OUTLANDER           Cranberry Towns           PA
120592   JA4AP3AU9KU004282   Mitsubishi       OUTLANDER           ORLANDO                   FL
120593   JA4AP3AU9KU004508   Mitsubishi       OUTLANDER           Tampa                     FL
120594   JA4AP3AU9KU007084   Mitsubishi       OUTLANDER           MIAMI                     FL
120595   JA4AP3AU9KU007568   Mitsubishi       OUTLANDER           NEW BERN                  NC
120596   JA4AP3AU9KU009871   Mitsubishi       OUTLANDER           ATLANTA                   GA
120597   JA4AP3AU9KU010003   Mitsubishi       OUTLANDER           WEST PALM BEACH           FL
120598   JA4AP3AU9KU014648   Mitsubishi       OUTLANDER           WEST PALM BEACH           FL
120599   JA4AP3AU9KU019722   Mitsubishi       OUTLANDER           Baltimore                 MD
120600   JA4AP3AU9KU020031   Mitsubishi       OUTLANDER           PHILADELPHIA              PA
120601   JA4AP3AU9KU021082   Mitsubishi       OUTLANDER           SEA TAC                   WA
120602   JA4AP3AU9KU021129   Mitsubishi       OUTLANDER           Milwaukee                 WI
120603   JA4AP3AU9KU021163   Mitsubishi       OUTLANDER           CLEVELAND                 OH
120604   JA4AP3AU9KU021762   Mitsubishi       OUTLANDER           CHICAGO                   IL
120605   JA4AP3AU9KU021857   Mitsubishi       OUTLANDER           BLOOMINGTON               IL
120606   JA4AP3AU9KU023981   Mitsubishi       OUTLANDER           FORT MYERS                FL
120607   JA4AP3AU9KU026248   Mitsubishi       OUTLANDER           LOS ANGELES               CA
120608   JA4AP3AU9KU027657   Mitsubishi       OUTLANDER           Pittsburgh                PA
120609   JA4AP3AU9KU028968   Mitsubishi       OUTLANDER           CHICAGO                   IL
120610   JA4AP3AU9KU029229   Mitsubishi       OUTLANDER           Schaumburg                IL
120611   JA4AP3AU9KU029389   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120612   JA4AP3AU9KU030882   Mitsubishi       OUTLANDER           Chicago                   IL
120613   JA4AP3AU9KU030901   Mitsubishi       OUTLANDER           Schaumburg                IL
120614   JA4AP3AU9KU031031   Mitsubishi       OUTLANDER           CHICAGO                   IL
120615   JA4AP3AU9KU032745   Mitsubishi       OUTLANDER           FORT MYERS                FL
120616   JA4AP3AU9LU017096   Mitsubishi       OUTLANDER           FORT MYERS                FL
120617   JA4AP3AUXKU001620   Mitsubishi       OUTLANDER           Sarasota                  FL
120618   JA4AP3AUXKU002122   Mitsubishi       OUTLANDER           PHILADELPHIA              PA
120619   JA4AP3AUXKU005201   Mitsubishi       OUTLANDER           WEST DUNDEE               IL
120620   JA4AP3AUXKU005604   Mitsubishi       OUTLANDER           LOS ANGELES               CA
120621   JA4AP3AUXKU008230   Mitsubishi       OUTLANDER           Coraopolis                PA
120622   JA4AP3AUXKU009023   Mitsubishi       OUTLANDER           FORT MYERS                FL
120623   JA4AP3AUXKU009474   Mitsubishi       OUTLANDER           WEST PALM BEACH           FL
120624   JA4AP3AUXKU010866   Mitsubishi       OUTLANDER           WARWICK                   RI
120625   JA4AP3AUXKU012794   Mitsubishi       OUTLANDER           PHOENIX                   AZ
120626   JA4AP3AUXKU014318   Mitsubishi       OUTLANDER           Massapequa                NY
120627   JA4AP3AUXKU018577   Mitsubishi       OUTLANDER           Chicago                   IL
120628   JA4AP3AUXKU019289   Mitsubishi       OUTLANDER           NASHVILLE                 TN
120629   JA4AP3AUXKU019292   Mitsubishi       OUTLANDER           Hamilton                  OH
120630   JA4AP3AUXKU020460   Mitsubishi       OUTLANDER           Richmond                  VA
120631   JA4AP3AUXKU020636   Mitsubishi       OUTLANDER           CHICAGO                   IL
120632   JA4AP3AUXKU020801   Mitsubishi       OUTLANDER           ONTARIO, RIVERSIDE        CA
120633   JA4AP3AUXKU021267   Mitsubishi       OUTLANDER           NEWARK                    NJ
120634   JA4AP3AUXKU021303   Mitsubishi       OUTLANDER           Louisville                KY
120635   JA4AP3AUXKU021799   Mitsubishi       OUTLANDER           Maple Grove               MN
120636   JA4AP3AUXKU022841   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120637   JA4AP3AUXKU023617   Mitsubishi       OUTLANDER           Milwaukee                 WI
120638   JA4AP3AUXKU029045   Mitsubishi       OUTLANDER           Berwyn                    IL
120639   JA4AP3AUXKU030969   Mitsubishi       OUTLANDER           St. Louis                 MO
120640   JA4AP3AUXKU031135   Mitsubishi       OUTLANDER           SAINT PAUL                MN
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120641   JA4AP3AUXKU031829   Mitsubishi       OUTLANDER           MILWAUKEE                 WI
120642   JA4AP4AU2LU005006   Mitsubishi       OUTLANDER           FORT MYERS                FL
120643   JA4AP4AU3LU008402   Mitsubishi       OUTLANDER           FORT MYERS                FL
120644   JA4AP4AU4LU005153   Mitsubishi       OUTLANDER           FORT MYERS                FL
120645   JA4AP4AU5LU008112   Mitsubishi       OUTLANDER           FORT MYERS                FL
120646   JA4AP4AW9KU014480   Mitsubishi       OUTLANDER           Tampa                     FL
120647   JA4AR3AU0KU005573   Mitsubishi       OUTLANDER           Winston‐Salem             NC
120648   JA4AR3AU0KU020199   Mitsubishi       OUTLANDER           Atlanta                   GA
120649   JA4AR3AU1KU010054   Mitsubishi       OUTLANDER           Clarksville               IN
120650   JA4AR3AU1KU019224   Mitsubishi       OUTLANDER           Portland                  OR
120651   JA4AR3AU2KU000861   Mitsubishi       OUTLANDER           Phoenix                   AZ
120652   JA4AR3AU2KU006532   Mitsubishi       OUTLANDER           Clearwater                FL
120653   JA4AR3AU2KU015635   Mitsubishi       OUTLANDER           Richmond                  VA
120654   JA4AR3AU2KU022861   Mitsubishi       OUTLANDER           Lake in the Hil           IL
120655   JA4AR3AU3KU007883   Mitsubishi       OUTLANDER           Orlando                   FL
120656   JA4AR3AU3KU015658   Mitsubishi       OUTLANDER           Salt Lake City            UT
120657   JA4AR3AU4JZ007022   Mitsubishi       OUTLANDER           Tolleson                  AZ
120658   JA4AR3AU4KU018438   Mitsubishi       OUTLANDER           Anaheim                   CA
120659   JA4AR3AU4KU021064   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120660   JA4AR3AU5KU006797   Mitsubishi       OUTLANDER           Bridgeton                 MO
120661   JA4AR3AU5KU007965   Mitsubishi       OUTLANDER           Scottsdale                AZ
120662   JA4AR3AU5KU010123   Mitsubishi       OUTLANDER           St. Louis                 MO
120663   JA4AR3AU5KU020862   Mitsubishi       OUTLANDER           ONTARIO                   CA
120664   JA4AR3AU5KU022823   Mitsubishi       OUTLANDER           SAINT PAUL                MN
120665   JA4AR3AU6KU009482   Mitsubishi       OUTLANDER           Tolleson                  AZ
120666   JA4AR3AU6KU019395   Mitsubishi       OUTLANDER           Smithtown                 NY
120667   JA4AR3AU6KU021048   Mitsubishi       OUTLANDER           INDIANAPOLIS              IN
120668   JA4AR3AU7KU007790   Mitsubishi       OUTLANDER           Tolleson                  AZ
120669   JA4AR3AU7KU022905   Mitsubishi       OUTLANDER           Maple Grove               MN
120670   JA4AR3AU8KU006552   Mitsubishi       OUTLANDER           Coraopolis                PA
120671   JA4AR3AU8KU020712   Mitsubishi       OUTLANDER           Warminster                PA
120672   JA4AR3AU8KU020841   Mitsubishi       OUTLANDER           ALBUQUERQUE               NM
120673   JA4AR3AU8KU021052   Mitsubishi       OUTLANDER           Salt Lake City            UT
120674   JA4AR3AU8KU021133   Mitsubishi       OUTLANDER           ORLANDO                   FL
120675   JA4AR3AU8KU021231   Mitsubishi       OUTLANDER           Indianapolis              IN
120676   JA4AR3AU9KU007726   Mitsubishi       OUTLANDER           PALM SPRINGS              CA
120677   JA4AR3AUXKU007850   Mitsubishi       OUTLANDER           Phoenix                   AZ
120678   JA4AR3AUXKU010456   Mitsubishi       OUTLANDER           MEDINA                    OH
120679   JA4AT4AA0JZ045991   Mitsubishi       ECLIPSE             SAN FRANCISCO             CA
120680   JA4AT4AA9JZ048081   Mitsubishi       ECLIPSE             FRESNO                    CA
120681   JA4AT5AA4JZ047958   Mitsubishi       ECLIPSE             LOS ANGELES               CA
120682   JA4AT5AA7JZ041202   Mitsubishi       ECLIPSE             LAS VEGAS                 NV
120683   JA4AT5AA7JZ041698   Mitsubishi       ECLIPSE             Stockton                  CA
120684   JA4AT5AA8JZ046005   Mitsubishi       ECLIPSE             CLOVIS                    CA
120685   JA4AZ3A31KZ010209   Mitsubishi       OUTLANDER           Scottsdale                AZ
120686   JA4AZ3A32KZ010168   Mitsubishi       OUTLANDER           S. San Francisc           CA
120687   JA4AZ3A33KZ013046   Mitsubishi       OUTLANDER           MIDDLE RIVER              MD
120688   JA4AZ3A35JZ041171   Mitsubishi       OUTLANDER           Scottsdale                AZ
120689   JA4AZ3A39KZ011088   Mitsubishi       OUTLANDER           Honolulu                  HI
120690   JF1VA1N67H8812131   Subaru           WRX                 Hendersonville            TN
120691   JF2GPABC8G8347936   Subaru           CROSSTREK           Tolleson                  AZ
120692   JF2GTABC4JH311129   Subaru           CROSSTREK           Lynn                      MA
120693   JF2GTAEC7KH272534   Subaru           CROSSTREK           Greensboro                NC
120694   JF2GTALC6JH249926   Subaru           CROSSTREK           Webster                   NY
120695   JF2SJADC9FH489705   Subaru           FORESTER            Elkridge                  MD
120696   JF2SJAEC1HH528109   Subaru           FORESTER            Davie                     FL
120697   JF2SJAFC8GH469346   Subaru           FORESTER            CHANDLER                  AZ
120698   JF2SKAEC3KH465809   Subaru           FORESTER            APPLETON                  WI
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120699   JF2SKAEC7KH465974   Subaru       FORESTER            Houston                   TX
120700   JF2SKAECXKH465564   Subaru       FORESTER            NEWARK                    NJ
120701   JHMGK5H52HS007276   Honda        FIT                 BOZEMAN                   MT
120702   JHMGK5H53GX032284   Honda        FIT                 SAN ANTONIO               TX
120703   JHMGK5H56GS008669   Honda        FIT                 TAMPA                     FL
120704   JHMGK5H58GS008012   Honda        FIT                 Winston‐Salem             NC
120705   JM1BM1U70G1295518   Mazda        MAZDA               BURBANK                   CA
120706   JM1BM1U76G1334631   Mazda        MAZDA               Hanover                   MD
120707   JM1BM1U79G1289619   Mazda        MAZDA               SANTA ANA                 CA
120708   JM1BM1W7XG1283213   Mazda        MAZDA               Revere                    MA
120709   JM1DKDB70K0431793   Mazda        CX3                 Sacramento                CA
120710   JM1DKDB70K0435326   Mazda        CX3                 Detroit                   MI
120711   JM1DKDB70K0435679   Mazda        CX3                 Pasadena                  CA
120712   JM1DKDB70L1466037   Mazda        CX3                 San Diego                 CA
120713   JM1DKDB71K0435643   Mazda        CX3                 Live Oak                  TX
120714   JM1DKDB72K0427969   Mazda        CX3                 TAMPA                     US
120715   JM1DKDB72K0435537   Mazda        CX3                 DUBLIN                    CA
120716   JM1DKDB73K0432839   Mazda        CX3                 Sacramento                CA
120717   JM1DKDB73K0433571   Mazda        CX3                 Scottsdale                AZ
120718   JM1DKDB73K0435532   Mazda        CX3                 Norwalk                   CA
120719   JM1DKDB74K0435118   Mazda        CX3                 COSTA MESA                CA
120720   JM1DKDB75K0430851   Mazda        CX3                 Schaumburg                IL
120721   JM1DKDB75K0433300   Mazda        CX3                 PLEASANTON                CA
120722   JM1DKDB75K0434835   Mazda        CX3                 Dallas                    TX
120723   JM1DKDB75K0434883   Mazda        CX3                 Phoenix                   AZ
120724   JM1DKDB76K1431288   Mazda        CX3                 Albuquerque               NM
120725   JM1DKDB77K0434867   Mazda        CX3                 S. San Francisc           CA
120726   JM1DKDB78K0434764   Mazda        CX3                 Stockton                  CA
120727   JM1DKDB79K0431825   Mazda        CX3                 Ventura                   CA
120728   JM1DKDB79K0434062   Mazda        CX3                 Phoenix                   AZ
120729   JM1DKDB79K0434823   Mazda        CX3                 EXETER                    RI
120730   JM1DKDB79K0435695   Mazda        CX3                 S. San Francisc           CA
120731   JM1DKDC72J0329554   Mazda        CX3                 DALLAS                    TX
120732   JM1GJ1U51G1445942   Mazda        MAZDA               BURBANK                   CA
120733   JM1GJ1U55G1458323   Mazda        MAZDA               BOSTON                    MA
120734   JM1GJ1V57G1474540   Mazda        MAZDA               Los Angeles               CA
120735   JM1GL1V53H1112409   Mazda        MAZDA               Santa Clara               CA
120736   JM3KE2BY8G0740275   Mazda        CX5                 PALM SPRINGS              CA
120737   JM3KE2CY0G0781997   Mazda        CX5                 Fontana                   CA
120738   JM3KE2CY7G0622796   Mazda        CX5                 Hayward                   CA
120739   JM3KE2CY8G0698978   Mazda        CX5                 Costa Mesa                CA
120740   JM3KE4CY6G0786519   Mazda        CX5                 CHICAGO                   IL
120741   JM3KFACM0L0723418   Mazda        CX5                 Miami                     FL
120742   JM3KFACM0L0723774   Mazda        CX5                 TAMPA                     FL
120743   JM3KFACM0L0724021   Mazda        CX5                 ORLANDO                   FL
120744   JM3KFACM0L0724052   Mazda        CX5                 DANIA BEACH               FL
120745   JM3KFACM0L0724245   Mazda        CX5                 TAMPA                     FL
120746   JM3KFACM0L0724438   Mazda        CX5                 TAMPA                     US
120747   JM3KFACM0L0724553   Mazda        CX5                 FORT LAUDERDALE           FL
120748   JM3KFACM0L0724570   Mazda        CX5                 FORT MYERS                FL
120749   JM3KFACM0L0724682   Mazda        CX5                 Miami                     FL
120750   JM3KFACM0L0724858   Mazda        CX5                 ORLANDO                   FL
120751   JM3KFACM0L0724939   Mazda        CX5                 FORT MYERS                FL
120752   JM3KFACM0L0725055   Mazda        CX5                 ORLANDO                   FL
120753   JM3KFACM0L0725685   Mazda        CX5                 TALLAHASSEE               F
120754   JM3KFACM0L0725749   Mazda        CX5                 JACKSONVILLE              FL
120755   JM3KFACM0L0725914   Mazda        CX5                 MIAMI                     FL
120756   JM3KFACM0L0726108   Mazda        CX5                 KENNER                    LA
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120757   JM3KFACM0L0726142   Mazda        CX5                 ORLANDO                   FL
120758   JM3KFACM0L0726447   Mazda        CX5                 Ft. Myers                 FL
120759   JM3KFACM0L0726867   Mazda        CX5                 FORT LAUDERDALE           FL
120760   JM3KFACM0L0726979   Mazda        CX5                 ORLANDO                   FL
120761   JM3KFACM0L0727226   Mazda        CX5                 JACKSONVILLE              FL
120762   JM3KFACM0L0727260   Mazda        CX5                 SARASOTA                  FL
120763   JM3KFACM0L0727355   Mazda        CX5                 ORLANDO                   FL
120764   JM3KFACM0L0727582   Mazda        CX5                 ORLANDO                   FL
120765   JM3KFACM0L0727596   Mazda        CX5                 WEST PALM BEACH           FL
120766   JM3KFACM0L0727601   Mazda        CX5                 LOUISVILLE                KY
120767   JM3KFACM0L0727632   Mazda        CX5                 JACKSONVILLE              FL
120768   JM3KFACM0L0727744   Mazda        CX5                 WEST PALM BEACH           FL
120769   JM3KFACM0L0727954   Mazda        CX5                 TAMPA                     FL
120770   JM3KFACM0L0728022   Mazda        CX5                 FORT MYERS                FL
120771   JM3KFACM0L0728117   Mazda        CX5                 ATLANTA                   GA
120772   JM3KFACM0L0728148   Mazda        CX5                 FORT LAUDERDALE           FL
120773   JM3KFACM0L0728179   Mazda        CX5                 TAMPA                     FL
120774   JM3KFACM0L0728439   Mazda        CX5                 FORT MYERS                FL
120775   JM3KFACM0L0728487   Mazda        CX5                 FORT LAUDERDALE           FL
120776   JM3KFACM0L0728909   Mazda        CX5                 SARASOTA                  FL
120777   JM3KFACM0L0728926   Mazda        CX5                 WEST PALM BEACH           FL
120778   JM3KFACM0L0728957   Mazda        CX5                 ORLANDO                   FL
120779   JM3KFACM0L0729364   Mazda        CX5                 TAMPA                     US
120780   JM3KFACM0L0729803   Mazda        CX5                 ORLANDO                   FL
120781   JM3KFACM0L0730885   Mazda        CX5                 FORT LAUDERDALE           FL
120782   JM3KFACM0L0730949   Mazda        CX5                 TAMPA                     US
120783   JM3KFACM0L0730966   Mazda        CX5                 FT. LAUDERDALE            FL
120784   JM3KFACM0L0732166   Mazda        CX5                 ORLANDO                   FL
120785   JM3KFACM0L0732877   Mazda        CX5                 TAMPA                     FL
120786   JM3KFACM0L0733141   Mazda        CX5                 TAMPA                     FL
120787   JM3KFACM0L0733172   Mazda        CX5                 TAMPA                     FL
120788   JM3KFACM0L0733401   Mazda        CX5                 FORT MYERS                FL
120789   JM3KFACM0L0734435   Mazda        CX5                 ORLANDO                   FL
120790   JM3KFACM0L0735522   Mazda        CX5                 FT LAUDERDALE             FL
120791   JM3KFACM0L0735665   Mazda        CX5                 PENSACOLA                 FL
120792   JM3KFACM0L0735861   Mazda        CX5                 FORT MYERS                FL
120793   JM3KFACM0L0736167   Mazda        CX5                 FORT LAUDERDALE           FL
120794   JM3KFACM0L0736296   Mazda        CX5                 ORLANDO                   FL
120795   JM3KFACM0L0736301   Mazda        CX5                 FORT LAUDERDALE           FL
120796   JM3KFACM0L0765670   Mazda        CX5                 WEST PALM BEACH           FL
120797   JM3KFACM0L0766804   Mazda        CX5                 FORT MYERS                FL
120798   JM3KFACM0L0767595   Mazda        CX5                 FT. LAUDERDALE            FL
120799   JM3KFACM0L0768441   Mazda        CX5                 WEST PALM BEACH           FL
120800   JM3KFACM0L0768553   Mazda        CX5                 ORLANDO                   FL
120801   JM3KFACM0L0768729   Mazda        CX5                 JACKSONVILLE              FL
120802   JM3KFACM0L0768939   Mazda        CX5                 FORT LAUDERDALE           FL
120803   JM3KFACM0L0769217   Mazda        CX5                 FORT LAUDERDALE           FL
120804   JM3KFACM0L0769234   Mazda        CX5                 FORT MYERS                FL
120805   JM3KFACM0L0769413   Mazda        CX5                 ORLANDO                   FL
120806   JM3KFACM0L0769427   Mazda        CX5                 MIAMI                     FL
120807   JM3KFACM0L0770044   Mazda        CX5                 WEST PALM BEACH           FL
120808   JM3KFACM0L0774949   Mazda        CX5                 FORT MYERS                FL
120809   JM3KFACM0L0775373   Mazda        CX5                 JACKSONVILLE              FL
120810   JM3KFACM0L0788530   Mazda        CX5                 Tulsa                     OK
120811   JM3KFACM0L0792271   Mazda        CX5                 Tulsa                     OK
120812   JM3KFACM1L0723377   Mazda        CX5                 MIAMI                     FL
120813   JM3KFACM1L0723413   Mazda        CX5                 ORLANDO                   FL
120814   JM3KFACM1L0723668   Mazda        CX5                 FORT MYERS                FL
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120815   JM3KFACM1L0723752   Mazda        CX5                 MIAMI                     FL
120816   JM3KFACM1L0723881   Mazda        CX5                 ORLANDO                   FL
120817   JM3KFACM1L0724108   Mazda        CX5                 ORLANDO                   FL
120818   JM3KFACM1L0724206   Mazda        CX5                 FORT MYERS                FL
120819   JM3KFACM1L0724335   Mazda        CX5                 DANIA BEACH               FL
120820   JM3KFACM1L0725100   Mazda        CX5                 SARASOTA                  FL
120821   JM3KFACM1L0725243   Mazda        CX5                 MIAMI                     FL
120822   JM3KFACM1L0725310   Mazda        CX5                 MIAMI                     FL
120823   JM3KFACM1L0725338   Mazda        CX5                 TAMPA                     FL
120824   JM3KFACM1L0725369   Mazda        CX5                 WEST PALM BEACH           FL
120825   JM3KFACM1L0725579   Mazda        CX5                 MIAMI                     FL
120826   JM3KFACM1L0725923   Mazda        CX5                 ORLANDO                   FL
120827   JM3KFACM1L0725954   Mazda        CX5                 FORT MYERS                FL
120828   JM3KFACM1L0726022   Mazda        CX5                 Tampa                     FL
120829   JM3KFACM1L0726053   Mazda        CX5                 FORT MYERS                FL
120830   JM3KFACM1L0726487   Mazda        CX5                 FORT LAUDERDALE           FL
120831   JM3KFACM1L0726540   Mazda        CX5                 MIAMI                     FL
120832   JM3KFACM1L0726599   Mazda        CX5                 FORT MYERS                FL
120833   JM3KFACM1L0726635   Mazda        CX5                 JACKSONVILLE              FL
120834   JM3KFACM1L0726909   Mazda        CX5                 Bridgeton                 MO
120835   JM3KFACM1L0726926   Mazda        CX5                 WEST PALM BEACH           FL
120836   JM3KFACM1L0726957   Mazda        CX5                 TAMPA                     FL
120837   JM3KFACM1L0727204   Mazda        CX5                 ORLANDO                   FL
120838   JM3KFACM1L0727316   Mazda        CX5                 WEST PALM BEACH           FL
120839   JM3KFACM1L0727431   Mazda        CX5                 WEST PALM BEACH           FL
120840   JM3KFACM1L0727445   Mazda        CX5                 FORT MYERS                FL
120841   JM3KFACM1L0727722   Mazda        CX5                 Columbus                  OH
120842   JM3KFACM1L0727753   Mazda        CX5                 ORLANDO                   FL
120843   JM3KFACM1L0728157   Mazda        CX5                 MIAMI                     FL
120844   JM3KFACM1L0728160   Mazda        CX5                 FORT LAUDERDALE           FL
120845   JM3KFACM1L0728319   Mazda        CX5                 FORT MYERS                FL
120846   JM3KFACM1L0728420   Mazda        CX5                 WEST PALM BEACH           FL
120847   JM3KFACM1L0728501   Mazda        CX5                 MIAMI                     FL
120848   JM3KFACM1L0729308   Mazda        CX5                 KEY WEST                  FL
120849   JM3KFACM1L0729728   Mazda        CX5                 WEST PALM BEACH           FL
120850   JM3KFACM1L0729793   Mazda        CX5                 FORT MYERS                FL
120851   JM3KFACM1L0730085   Mazda        CX5                 ORLANDO                   FL
120852   JM3KFACM1L0730183   Mazda        CX5                 TAMPA                     FL
120853   JM3KFACM1L0733536   Mazda        CX5                 Clearwater                FL
120854   JM3KFACM1L0734217   Mazda        CX5                 SAVANNAH                  GA
120855   JM3KFACM1L0735318   Mazda        CX5                 FORT LAUDERDALE           FL
120856   JM3KFACM1L0735416   Mazda        CX5                 FORT MYERS                FL
120857   JM3KFACM1L0735884   Mazda        CX5                 ORLANDO                   FL
120858   JM3KFACM1L0766634   Mazda        CX5                 SARASOTA                  FL
120859   JM3KFACM1L0766679   Mazda        CX5                 FORT LAUDERDALE           FL
120860   JM3KFACM1L0767069   Mazda        CX5                 TAMPA                     FL
120861   JM3KFACM1L0767086   Mazda        CX5                 WEST PALM BEACH           FL
120862   JM3KFACM1L0767721   Mazda        CX5                 JACKSONVILLE              FL
120863   JM3KFACM1L0768030   Mazda        CX5                 MIAMI                     FL
120864   JM3KFACM1L0768416   Mazda        CX5                 Ft. Myers                 FL
120865   JM3KFACM1L0768528   Mazda        CX5                 WEST PALM BEACH           FL
120866   JM3KFACM1L0768724   Mazda        CX5                 FORT MYERS                FL
120867   JM3KFACM1L0769386   Mazda        CX5                 TAMPA                     FL
120868   JM3KFACM1L0769436   Mazda        CX5                 TAMPA                     FL
120869   JM3KFACM1L0769808   Mazda        CX5                 ORLANDO                   FL
120870   JM3KFACM1L0769856   Mazda        CX5                 Miami                     FL
120871   JM3KFACM1L0770117   Mazda        CX5                 ORLANDO                   FL
120872   JM3KFACM1L0770232   Mazda        CX5                 ORLANDO                   FL
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120873   JM3KFACM1L0770327   Mazda        CX5                 Jacksonville              FL
120874   JM3KFACM1L0771140   Mazda        CX5                 TAMPA                     US
120875   JM3KFACM1L0771395   Mazda        CX5                 WEST PALM BEACH           FL
120876   JM3KFACM1L0771431   Mazda        CX5                 Jacksonville              FL
120877   JM3KFACM1L0774846   Mazda        CX5                 MIAMI                     FL
120878   JM3KFACM1L0775382   Mazda        CX5                 WEST PALM BEACH           FL
120879   JM3KFACM1L0787886   Mazda        CX5                 KENNER                    LA
120880   JM3KFACM1L1732655   Mazda        CX5                 ORLANDO                   FL
120881   JM3KFACM2L0723291   Mazda        CX5                 SARASOTA                  FL
120882   JM3KFACM2L0723422   Mazda        CX5                 FORT LAUDERDALE           FL
120883   JM3KFACM2L0723534   Mazda        CX5                 ORLANDO                   FL
120884   JM3KFACM2L0723730   Mazda        CX5                 Scottsdale                AZ
120885   JM3KFACM2L0723792   Mazda        CX5                 WEST PALM BEACH           FL
120886   JM3KFACM2L0723971   Mazda        CX5                 FORT LAUDERDALE           FL
120887   JM3KFACM2L0724165   Mazda        CX5                 ORLANDO                   FL
120888   JM3KFACM2L0724389   Mazda        CX5                 FORT LAUDERDALE           FL
120889   JM3KFACM2L0724456   Mazda        CX5                 FORT MYERS                FL
120890   JM3KFACM2L0724554   Mazda        CX5                 FORT LAUDERDALE           FL
120891   JM3KFACM2L0724568   Mazda        CX5                 ORLANDO                   FL
120892   JM3KFACM2L0724571   Mazda        CX5                 FORT LAUDERDALE           FL
120893   JM3KFACM2L0724764   Mazda        CX5                 Atlanta                   GA
120894   JM3KFACM2L0725087   Mazda        CX5                 ORLANDO                   FL
120895   JM3KFACM2L0725199   Mazda        CX5                 FORT LAUDERDALE           FL
120896   JM3KFACM2L0725316   Mazda        CX5                 FORT MYERS                FL
120897   JM3KFACM2L0725378   Mazda        CX5                 FORT LAUDERDALE           FL
120898   JM3KFACM2L0725381   Mazda        CX5                 TAMPA                     FL
120899   JM3KFACM2L0725400   Mazda        CX5                 TAMPA                     FL
120900   JM3KFACM2L0725638   Mazda        CX5                 WEST PALM BEACH           FL
120901   JM3KFACM2L0725719   Mazda        CX5                 ORLANDO                   FL
120902   JM3KFACM2L0726000   Mazda        CX5                 INDIANAPOLIS              IN
120903   JM3KFACM2L0726109   Mazda        CX5                 MIAMI                     FL
120904   JM3KFACM2L0726434   Mazda        CX5                 FORT MYERS                FL
120905   JM3KFACM2L0726501   Mazda        CX5                 Orlando                   FL
120906   JM3KFACM2L0726563   Mazda        CX5                 TAMPA                     FL
120907   JM3KFACM2L0726613   Mazda        CX5                 JACKSONVILLE              FL
120908   JM3KFACM2L0726840   Mazda        CX5                 MIAMI                     FL
120909   JM3KFACM2L0727048   Mazda        CX5                 ORLANDO                   FL
120910   JM3KFACM2L0727101   Mazda        CX5                 FORT MYERS                FL
120911   JM3KFACM2L0727163   Mazda        CX5                 ORLANDO                   FL
120912   JM3KFACM2L0727339   Mazda        CX5                 JACKSONVILLE              FL
120913   JM3KFACM2L0727387   Mazda        CX5                 ORLANDO                   FL
120914   JM3KFACM2L0727549   Mazda        CX5                 ORLANDO                   FL
120915   JM3KFACM2L0727616   Mazda        CX5                 ORLANDO                   FL
120916   JM3KFACM2L0727907   Mazda        CX5                 ORLANDO                   FL
120917   JM3KFACM2L0728121   Mazda        CX5                 FORT LAUDERDALE           FL
120918   JM3KFACM2L0728135   Mazda        CX5                 WEST PALM BEACH           FL
120919   JM3KFACM2L0728216   Mazda        CX5                 FORT MYERS                FL
120920   JM3KFACM2L0728359   Mazda        CX5                 FORT LAUDERDALE           FL
120921   JM3KFACM2L0728443   Mazda        CX5                 WINTER PARK               FL
120922   JM3KFACM2L0728474   Mazda        CX5                 WEST PALM BEACH           FL
120923   JM3KFACM2L0728507   Mazda        CX5                 ORLANDO                   FL
120924   JM3KFACM2L0728524   Mazda        CX5                 SARASOTA                  FL
120925   JM3KFACM2L0728541   Mazda        CX5                 TAMPA                     FL
120926   JM3KFACM2L0728782   Mazda        CX5                 WEST PALM BEACH           FL
120927   JM3KFACM2L0728894   Mazda        CX5                 ORLANDO                   FL
120928   JM3KFACM2L0729317   Mazda        CX5                 MIAMI                     FL
120929   JM3KFACM2L0730063   Mazda        CX5                 FORT MYERS                FL
120930   JM3KFACM2L0730158   Mazda        CX5                 ORLANDO                   FL
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120931   JM3KFACM2L0730516   Mazda        CX5                 Tampa                     FL
120932   JM3KFACM2L0731200   Mazda        CX5                 Lexington                 KY
120933   JM3KFACM2L0731309   Mazda        CX5                 AUGUSTA                   GA
120934   JM3KFACM2L0732489   Mazda        CX5                 ORLANDO                   FL
120935   JM3KFACM2L0732525   Mazda        CX5                 ORLANDO                   FL
120936   JM3KFACM2L0733593   Mazda        CX5                 ORLANDO                   FL
120937   JM3KFACM2L0733657   Mazda        CX5                 FORT MYERS                FL
120938   JM3KFACM2L0733710   Mazda        CX5                 WEST PALM BEACH           FL
120939   JM3KFACM2L0733724   Mazda        CX5                 WEST PALM BEACH           FL
120940   JM3KFACM2L0734131   Mazda        CX5                 TAMPA                     FL
120941   JM3KFACM2L0734940   Mazda        CX5                 WEST PALM BEACH           FL
120942   JM3KFACM2L0735070   Mazda        CX5                 FORT LAUDERDALE           FL
120943   JM3KFACM2L0735649   Mazda        CX5                 TAMPA                     FL
120944   JM3KFACM2L0735859   Mazda        CX5                 ORLANDO                   FL
120945   JM3KFACM2L0736266   Mazda        CX5                 WEST PALM BEACH           FL
120946   JM3KFACM2L0765430   Mazda        CX5                 TAMPA                     FL
120947   JM3KFACM2L0765976   Mazda        CX5                 DALLAS                    TX
120948   JM3KFACM2L0766044   Mazda        CX5                 JACKSONVILLE              FL
120949   JM3KFACM2L0766108   Mazda        CX5                 MIAMI                     FL
120950   JM3KFACM2L0766870   Mazda        CX5                 FORT MYERS                FL
120951   JM3KFACM2L0767047   Mazda        CX5                 TITUSVILLE                FL
120952   JM3KFACM2L0767310   Mazda        CX5                 WEST PALM BEACH           FL
120953   JM3KFACM2L0767629   Mazda        CX5                 FORT MYERS                FL
120954   JM3KFACM2L0767887   Mazda        CX5                 ORLANDO                   FL
120955   JM3KFACM2L0768893   Mazda        CX5                 ORLANDO                   FL
120956   JM3KFACM2L0770076   Mazda        CX5                 WEST PALM BEACH           FL
120957   JM3KFACM2L0770241   Mazda        CX5                 SAVANNAH                  GA
120958   JM3KFACM2L0770594   Mazda        CX5                 TAMPA                     FL
120959   JM3KFACM2L0774001   Mazda        CX5                 Miami                     FL
120960   JM3KFACM2L0774029   Mazda        CX5                 ORLANDO                   FL
120961   JM3KFACM2L0774032   Mazda        CX5                 JACKSONVILLE              FL
120962   JM3KFACM2L0774435   Mazda        CX5                 ORLANDO                   FL
120963   JM3KFACM2L0774838   Mazda        CX5                 FORT MYERS                FL
120964   JM3KFACM2L0775178   Mazda        CX5                 JACKSONVILLE              FL
120965   JM3KFACM2L0775374   Mazda        CX5                 TITUSVILLE                FL
120966   JM3KFACM2L0781689   Mazda        CX5                 Tulsa                     OK
120967   JM3KFACM2L1723012   Mazda        CX5                 MIAMI                     FL
120968   JM3KFACM2L1723043   Mazda        CX5                 TULSA                     OK
120969   JM3KFACM2L1782030   Mazda        CX5                 Tulsa                     OK
120970   JM3KFACM3L0723428   Mazda        CX5                 ORLANDO                   FL
120971   JM3KFACM3L0723476   Mazda        CX5                 FORT MYERS                FL
120972   JM3KFACM3L0723705   Mazda        CX5                 MIAMI                     FL
120973   JM3KFACM3L0723719   Mazda        CX5                 WEST PALM BEACH           FL
120974   JM3KFACM3L0724305   Mazda        CX5                 FORT MYERS                FL
120975   JM3KFACM3L0724319   Mazda        CX5                 FORT LAUDERDALE           FL
120976   JM3KFACM3L0724532   Mazda        CX5                 MIAMI                     FL
120977   JM3KFACM3L0724546   Mazda        CX5                 JACKSONVILLE              FL
120978   JM3KFACM3L0724692   Mazda        CX5                 ORLANDO                   FL
120979   JM3KFACM3L0724756   Mazda        CX5                 Tampa                     FL
120980   JM3KFACM3L0725017   Mazda        CX5                 TAMPA                     FL
120981   JM3KFACM3L0725213   Mazda        CX5                 FORT LAUDERDALE           FL
120982   JM3KFACM3L0725292   Mazda        CX5                 MIAMI                     FL
120983   JM3KFACM3L0725339   Mazda        CX5                 TAMPA                     FL
120984   JM3KFACM3L0725633   Mazda        CX5                 DAYTONA BEACH             FL
120985   JM3KFACM3L0725910   Mazda        CX5                 FORT MYERS                FL
120986   JM3KFACM3L0725924   Mazda        CX5                 ATLANTA                   GA
120987   JM3KFACM3L0726104   Mazda        CX5                 SARASOTA                  FL
120988   JM3KFACM3L0726183   Mazda        CX5                 FORT LAUDERDALE           FL
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120989   JM3KFACM3L0726197   Mazda        CX5                 FORT MYERS                FL
120990   JM3KFACM3L0726457   Mazda        CX5                 Miami                     FL
120991   JM3KFACM3L0726524   Mazda        CX5                 ORLANDO                   FL
120992   JM3KFACM3L0726555   Mazda        CX5                 ORLANDO                   FL
120993   JM3KFACM3L0726930   Mazda        CX5                 MIAMI                     FL
120994   JM3KFACM3L0726961   Mazda        CX5                 JACKSONVILLE              FL
120995   JM3KFACM3L0727429   Mazda        CX5                 LOS ANGELES               CA
120996   JM3KFACM3L0727964   Mazda        CX5                 FORT MYERS                FL
120997   JM3KFACM3L0728077   Mazda        CX5                 WEST PALM BEACH           FL
120998   JM3KFACM3L0728080   Mazda        CX5                 ORLANDO                   FL
120999   JM3KFACM3L0728094   Mazda        CX5                 MIAMI                     FL
121000   JM3KFACM3L0728113   Mazda        CX5                 ORLANDO                   FL
121001   JM3KFACM3L0728144   Mazda        CX5                 FORT LAUDERDALE           FL
121002   JM3KFACM3L0728533   Mazda        CX5                 FORT MYERS                FL
121003   JM3KFACM3L0728547   Mazda        CX5                 MIAMI                     FL
121004   JM3KFACM3L0728550   Mazda        CX5                 WEST PALM BEACH           FL
121005   JM3KFACM3L0728936   Mazda        CX5                 ORLANDO                   FL
121006   JM3KFACM3L0729357   Mazda        CX5                 FORT MYERS                FL
121007   JM3KFACM3L0729374   Mazda        CX5                 FORT LAUDERDALE           FL
121008   JM3KFACM3L0730511   Mazda        CX5                 SARASOTA                  FL
121009   JM3KFACM3L0730542   Mazda        CX5                 ORLANDO                   FL
121010   JM3KFACM3L0730881   Mazda        CX5                 MIAMI                     FL
121011   JM3KFACM3L0730962   Mazda        CX5                 WEST PALM BEACH           FL
121012   JM3KFACM3L0731240   Mazda        CX5                 ORLANDO                   FL
121013   JM3KFACM3L0731304   Mazda        CX5                 TAMPA                     FL
121014   JM3KFACM3L0731464   Mazda        CX5                 WEST PALM BEACH           FL
121015   JM3KFACM3L0732162   Mazda        CX5                 TAMPA                     FL
121016   JM3KFACM3L0732209   Mazda        CX5                 TAMPA                     FL
121017   JM3KFACM3L0732212   Mazda        CX5                 ATLANTA                   GA
121018   JM3KFACM3L0732260   Mazda        CX5                 SARASOTA                  FL
121019   JM3KFACM3L0733182   Mazda        CX5                 MIAMI                     FL
121020   JM3KFACM3L0733294   Mazda        CX5                 FORT MYERS                FL
121021   JM3KFACM3L0733702   Mazda        CX5                 WEST PALM BEACH           FL
121022   JM3KFACM3L0734008   Mazda        CX5                 WEST PALM BEACH           FL
121023   JM3KFACM3L0734557   Mazda        CX5                 SARASOTA                  FL
121024   JM3KFACM3L0734624   Mazda        CX5                 ORLANDO                   FL
121025   JM3KFACM3L0734803   Mazda        CX5                 GAINESVILLE               FL
121026   JM3KFACM3L0734915   Mazda        CX5                 FORT LAUDERDALE           FL
121027   JM3KFACM3L0735031   Mazda        CX5                 FORT LAUDERDALE           FL
121028   JM3KFACM3L0737572   Mazda        CX5                 JACKSONVILLE              FL
121029   JM3KFACM3L0766036   Mazda        CX5                 FORT MYERS                FL
121030   JM3KFACM3L0766103   Mazda        CX5                 FORT LAUDERDALE           FL
121031   JM3KFACM3L0766683   Mazda        CX5                 ORLANDO                   FL
121032   JM3KFACM3L0766702   Mazda        CX5                 FORT MYERS                FL
121033   JM3KFACM3L0766778   Mazda        CX5                 JACKSONVILLE              FL
121034   JM3KFACM3L0766957   Mazda        CX5                 WEST PALM BEACH           FL
121035   JM3KFACM3L0767252   Mazda        CX5                 TAMPA                     FL
121036   JM3KFACM3L0767848   Mazda        CX5                 ORLANDO                   FL
121037   JM3KFACM3L0767963   Mazda        CX5                 TAMPA                     FL
121038   JM3KFACM3L0768398   Mazda        CX5                 ORLANDO                   FL
121039   JM3KFACM3L0768546   Mazda        CX5                 JACKSONVILLE              FL
121040   JM3KFACM3L0768787   Mazda        CX5                 JACKSONVILLE              FL
121041   JM3KFACM3L0768840   Mazda        CX5                 FORT MYERS                FL
121042   JM3KFACM3L0768868   Mazda        CX5                 FORT MYERS                FL
121043   JM3KFACM3L0768949   Mazda        CX5                 FORT MYERS                FL
121044   JM3KFACM3L0770331   Mazda        CX5                 JACKSONVILLE              FL
121045   JM3KFACM3L0770376   Mazda        CX5                 TAMPA                     FL
121046   JM3KFACM3L0770491   Mazda        CX5                 MIAMI                     FL
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121047   JM3KFACM3L0770619   Mazda        CX5                 GAINESVILLE               FL
121048   JM3KFACM3L0770975   Mazda        CX5                 ORLANDO                   FL
121049   JM3KFACM3L1786183   Mazda        CX5                 SAINT LOUIS               MO
121050   JM3KFACM4L0723096   Mazda        CX5                 ORLANDO                   FL
121051   JM3KFACM4L0724037   Mazda        CX5                 FORT MYERS                FL
121052   JM3KFACM4L0724264   Mazda        CX5                 ORLANDO                   FL
121053   JM3KFACM4L0724586   Mazda        CX5                 WEST PALM BEACH           FL
121054   JM3KFACM4L0724782   Mazda        CX5                 WEST PALM BEACH           FL
121055   JM3KFACM4L0724832   Mazda        CX5                 ORLANDO                   FL
121056   JM3KFACM4L0724846   Mazda        CX5                 MIAMI                     FL
121057   JM3KFACM4L0724958   Mazda        CX5                 ORLANDO                   FL
121058   JM3KFACM4L0725012   Mazda        CX5                 ORLANDO                   FL
121059   JM3KFACM4L0725222   Mazda        CX5                 FT. LAUDERDALE            FL
121060   JM3KFACM4L0725723   Mazda        CX5                 TAMPA                     FL
121061   JM3KFACM4L0725754   Mazda        CX5                 ORLANDO                   FL
121062   JM3KFACM4L0725804   Mazda        CX5                 FORT MYERS                FL
121063   JM3KFACM4L0725818   Mazda        CX5                 FAYETTEVILLE              GA
121064   JM3KFACM4L0725821   Mazda        CX5                 SARASOTA                  FL
121065   JM3KFACM4L0725933   Mazda        CX5                 FORT MYERS                FL
121066   JM3KFACM4L0725995   Mazda        CX5                 TAMPA                     FL
121067   JM3KFACM4L0726077   Mazda        CX5                 MIAMI                     FL
121068   JM3KFACM4L0726189   Mazda        CX5                 WEST PALM BEACH           FL
121069   JM3KFACM4L0726483   Mazda        CX5                 Miami                     FL
121070   JM3KFACM4L0726516   Mazda        CX5                 ORLANDO                   FL
121071   JM3KFACM4L0726547   Mazda        CX5                 West Palm Beach           FL
121072   JM3KFACM4L0726564   Mazda        CX5                 TAMPA                     FL
121073   JM3KFACM4L0726600   Mazda        CX5                 ORLANDO                   FL
121074   JM3KFACM4L0726631   Mazda        CX5                 WEST PALM BEACH           FL
121075   JM3KFACM4L0726919   Mazda        CX5                 TAMPA                     FL
121076   JM3KFACM4L0727309   Mazda        CX5                 FORT LAUDERDALE           FL
121077   JM3KFACM4L0727360   Mazda        CX5                 FORT MYERS                FL
121078   JM3KFACM4L0727391   Mazda        CX5                 FORT MYERS                FL
121079   JM3KFACM4L0727617   Mazda        CX5                 Leesburg                  VA
121080   JM3KFACM4L0727701   Mazda        CX5                 WEST PALM BEACH           FL
121081   JM3KFACM4L0728170   Mazda        CX5                 TAMPA                     FL
121082   JM3KFACM4L0728184   Mazda        CX5                 ATLANTA                   GA
121083   JM3KFACM4L0728539   Mazda        CX5                 ORLANDO                   FL
121084   JM3KFACM4L0728816   Mazda        CX5                 ORLANDO                   FL
121085   JM3KFACM4L0728945   Mazda        CX5                 TAMPA                     FL
121086   JM3KFACM4L0729769   Mazda        CX5                 ORLANDO                   FL
121087   JM3KFACM4L0729805   Mazda        CX5                 TAMPA                     FL
121088   JM3KFACM4L0730436   Mazda        CX5                 JACKSONVILLE              FL
121089   JM3KFACM4L0730582   Mazda        CX5                 WEST PALM BEACH           FL
121090   JM3KFACM4L0731165   Mazda        CX5                 ORLANDO                   FL
121091   JM3KFACM4L0732686   Mazda        CX5                 ORLANDO                   FL
121092   JM3KFACM4L0732798   Mazda        CX5                 ORLANDO                   FL
121093   JM3KFACM4L0733742   Mazda        CX5                 TAMPA                     FL
121094   JM3KFACM4L0733952   Mazda        CX5                 TAMPA                     FL
121095   JM3KFACM4L0734079   Mazda        CX5                 FORT LAUDERDALE           FL
121096   JM3KFACM4L0734373   Mazda        CX5                 ORLANDO                   FL
121097   JM3KFACM4L0734888   Mazda        CX5                 ORLANDO                   FL
121098   JM3KFACM4L0734907   Mazda        CX5                 Ft. Myers                 FL
121099   JM3KFACM4L0735233   Mazda        CX5                 TAMPA                     FL
121100   JM3KFACM4L0735376   Mazda        CX5                 MIAMI                     FL
121101   JM3KFACM4L0735720   Mazda        CX5                 MIAMI                     FL
121102   JM3KFACM4L0736687   Mazda        CX5                 ORLANDO                   FL
121103   JM3KFACM4L0736706   Mazda        CX5                 SARASOTA                  FL
121104   JM3KFACM4L0737578   Mazda        CX5                 ORLANDO                   FL
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121105   JM3KFACM4L0765140   Mazda        CX5                 MIAMI                     FL
121106   JM3KFACM4L0765638   Mazda        CX5                 MIAMI                     FL
121107   JM3KFACM4L0765655   Mazda        CX5                 FORT LAUDERDALE           FL
121108   JM3KFACM4L0765963   Mazda        CX5                 ORLANDO                   FL
121109   JM3KFACM4L0766014   Mazda        CX5                 FORT MYERS                FL
121110   JM3KFACM4L0766028   Mazda        CX5                 SARASOTA                  FL
121111   JM3KFACM4L0766577   Mazda        CX5                 ORLANDO                   FL
121112   JM3KFACM4L0766904   Mazda        CX5                 TALLAHASSEE               F
121113   JM3KFACM4L0767602   Mazda        CX5                 ORLANDO                   FL
121114   JM3KFACM4L0767678   Mazda        CX5                 FORT LAUDERDALE           FL
121115   JM3KFACM4L0767891   Mazda        CX5                 SARASOTA                  FL
121116   JM3KFACM4L0767955   Mazda        CX5                 ORLANDO                   FL
121117   JM3KFACM4L0767969   Mazda        CX5                 SARASOTA                  FL
121118   JM3KFACM4L0770015   Mazda        CX5                 FORT MYERS                FL
121119   JM3KFACM4L0770533   Mazda        CX5                 MIAMI                     FL
121120   JM3KFACM4L0771097   Mazda        CX5                 FORT LAUDERDALE           FL
121121   JM3KFACM4L1784085   Mazda        CX5                 NEW BERN                  NC
121122   JM3KFACM5L0723107   Mazda        CX5                 FORT MYERS                FL
121123   JM3KFACM5L0723155   Mazda        CX5                 KEY WEST                  FL
121124   JM3KFACM5L0723172   Mazda        CX5                 Miami                     FL
121125   JM3KFACM5L0723768   Mazda        CX5                 FORT MYERS                FL
121126   JM3KFACM5L0723771   Mazda        CX5                 Hebron                    KY
121127   JM3KFACM5L0723804   Mazda        CX5                 FORT LAUDERDALE           FL
121128   JM3KFACM5L0724192   Mazda        CX5                 TAMPA                     FL
121129   JM3KFACM5L0724452   Mazda        CX5                 FORT MYERS                FL
121130   JM3KFACM5L0724760   Mazda        CX5                 ATLANTA                   GA
121131   JM3KFACM5L0725150   Mazda        CX5                 FORT LAUDERDALE           FL
121132   JM3KFACM5L0725388   Mazda        CX5                 WEST PALM BEACH           FL
121133   JM3KFACM5L0725407   Mazda        CX5                 ATLANTA                   GA
121134   JM3KFACM5L0725780   Mazda        CX5                 SARASOTA                  FL
121135   JM3KFACM5L0725794   Mazda        CX5                 FORT LAUDERDALE           FL
121136   JM3KFACM5L0725827   Mazda        CX5                 WEST PALM BEACH           FL
121137   JM3KFACM5L0725830   Mazda        CX5                 WEST PALM BEACH           FL
121138   JM3KFACM5L0726072   Mazda        CX5                 JACKSONVILLE              FL
121139   JM3KFACM5L0726539   Mazda        CX5                 SARASOTA                  FL
121140   JM3KFACM5L0726556   Mazda        CX5                 ORLANDO                   FL
121141   JM3KFACM5L0726685   Mazda        CX5                 MIAMI                     FL
121142   JM3KFACM5L0726797   Mazda        CX5                 MIAMI                     FL
121143   JM3KFACM5L0727304   Mazda        CX5                 FORT LAUDERDALE           FL
121144   JM3KFACM5L0727383   Mazda        CX5                 FORT LAUDERDALE           FL
121145   JM3KFACM5L0727593   Mazda        CX5                 ORLANDO                   FL
121146   JM3KFACM5L0727691   Mazda        CX5                 WEST PALM BEACH           FL
121147   JM3KFACM5L0727738   Mazda        CX5                 FORT MYERS                FL
121148   JM3KFACM5L0727741   Mazda        CX5                 DANIA BEACH               FL
121149   JM3KFACM5L0727898   Mazda        CX5                 ORLANDO                   FL
121150   JM3KFACM5L0728095   Mazda        CX5                 TAMPA                     FL
121151   JM3KFACM5L0728128   Mazda        CX5                 WEST PALM BEACH           FL
121152   JM3KFACM5L0728470   Mazda        CX5                 ORLANDO                   FL
121153   JM3KFACM5L0728548   Mazda        CX5                 MIAMI                     FL
121154   JM3KFACM5L0728954   Mazda        CX5                 ORLANDO                   FL
121155   JM3KFACM5L0729358   Mazda        CX5                 WEST PALM BEACH           FL
121156   JM3KFACM5L0729361   Mazda        CX5                 SARASOTA                  FL
121157   JM3KFACM5L0729733   Mazda        CX5                 FORT LAUDERDALE           FL
121158   JM3KFACM5L0729764   Mazda        CX5                 ATLANTA                   GA
121159   JM3KFACM5L0730185   Mazda        CX5                 TAMPA                     FL
121160   JM3KFACM5L0730879   Mazda        CX5                 FORT MYERS                FL
121161   JM3KFACM5L0731157   Mazda        CX5                 WEST PALM BEACH           FL
121162   JM3KFACM5L0731269   Mazda        CX5                 DETROIT                   MI
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121163   JM3KFACM5L0732177   Mazda        CX5                 KANSAS CITY               MO
121164   JM3KFACM5L0732180   Mazda        CX5                 TAMPA                     FL
121165   JM3KFACM5L0732762   Mazda        CX5                 SARASOTA                  FL
121166   JM3KFACM5L0732809   Mazda        CX5                 ORLANDO                   FL
121167   JM3KFACM5L0733006   Mazda        CX5                 MIAMI                     FL
121168   JM3KFACM5L0733037   Mazda        CX5                 GAINESVILLE               FL
121169   JM3KFACM5L0733149   Mazda        CX5                 FORT MYERS                FL
121170   JM3KFACM5L0733832   Mazda        CX5                 FORT MYERS                FL
121171   JM3KFACM5L0734012   Mazda        CX5                 FORT MYERS                FL
121172   JM3KFACM5L0735225   Mazda        CX5                 ORLANDO                   FL
121173   JM3KFACM5L0735662   Mazda        CX5                 FORT LAUDERDALE           FL
121174   JM3KFACM5L0735855   Mazda        CX5                 WEST PALM BEACH           FL
121175   JM3KFACM5L0735872   Mazda        CX5                 MIAMI                     FL
121176   JM3KFACM5L0736262   Mazda        CX5                 TAMPA                     FL
121177   JM3KFACM5L0736570   Mazda        CX5                 ORLANDO                   FL
121178   JM3KFACM5L0736682   Mazda        CX5                 FORT LAUDERDALE           FL
121179   JM3KFACM5L0736701   Mazda        CX5                 FORT LAUDERDALE           FL
121180   JM3KFACM5L0765938   Mazda        CX5                 FORT LAUDERDALE           FL
121181   JM3KFACM5L0766443   Mazda        CX5                 MIAMI                     FL
121182   JM3KFACM5L0766524   Mazda        CX5                 JACKSONVILLE              FL
121183   JM3KFACM5L0766622   Mazda        CX5                 TAMPA                     FL
121184   JM3KFACM5L0767091   Mazda        CX5                 FORT MYERS                FL
121185   JM3KFACM5L0767527   Mazda        CX5                 DAYTONA BEACH             FL
121186   JM3KFACM5L0767592   Mazda        CX5                 WEST PALM BEACH           FL
121187   JM3KFACM5L0767866   Mazda        CX5                 FORT MYERS                FL
121188   JM3KFACM5L0768550   Mazda        CX5                 FORT MYERS                FL
121189   JM3KFACM5L0768855   Mazda        CX5                 FORT MYERS                FL
121190   JM3KFACM5L0768872   Mazda        CX5                 ORLANDO                   FL
121191   JM3KFACM5L0768905   Mazda        CX5                 TAMPA                     FL
121192   JM3KFACM5L0769438   Mazda        CX5                 TAMPA                     FL
121193   JM3KFACM5L0769486   Mazda        CX5                 FORT MYERS                FL
121194   JM3KFACM5L0770041   Mazda        CX5                 FORT MYERS                FL
121195   JM3KFACM5L0770119   Mazda        CX5                 ORLANDO                   FL
121196   JM3KFACM5L0770217   Mazda        CX5                 JACKSONVILLE              FL
121197   JM3KFACM5L0770542   Mazda        CX5                 CORAL SPRINGS             FL
121198   JM3KFACM5L0771044   Mazda        CX5                 TAMPA                     FL
121199   JM3KFACM5L0774042   Mazda        CX5                 MIAMI                     FL
121200   JM3KFACM5L0774431   Mazda        CX5                 TAMPA                     FL
121201   JM3KFACM5L0774929   Mazda        CX5                 SARASOTA                  FL
121202   JM3KFACM5L0775031   Mazda        CX5                 ORLANDO                   FL
121203   JM3KFACM5L0789530   Mazda        CX5                 Tulsa                     OK
121204   JM3KFACM5L1727782   Mazda        CX5                 MIAMI                     FL
121205   JM3KFACM6L0723729   Mazda        CX5                 Ft. Myers                 FL
121206   JM3KFACM6L0723777   Mazda        CX5                 JACKSONVILLE              FL
121207   JM3KFACM6L0724007   Mazda        CX5                 ORLANDO                   FL
121208   JM3KFACM6L0724198   Mazda        CX5                 WEST PALM BEACH           FL
121209   JM3KFACM6L0724217   Mazda        CX5                 ORLANDO                   FL
121210   JM3KFACM6L0724489   Mazda        CX5                 FORT LAUDERDALE           FL
121211   JM3KFACM6L0724752   Mazda        CX5                 Stone Mountain            GA
121212   JM3KFACM6L0725321   Mazda        CX5                 MIAMI                     FL
121213   JM3KFACM6L0725531   Mazda        CX5                 MIAMI                     FL
121214   JM3KFACM6L0725741   Mazda        CX5                 ATLANTA                   GA
121215   JM3KFACM6L0725819   Mazda        CX5                 COLLEGE PARK              GA
121216   JM3KFACM6L0726193   Mazda        CX5                 WEST PALM BEACH           FL
121217   JM3KFACM6L0726288   Mazda        CX5                 Atlanta                   GA
121218   JM3KFACM6L0726548   Mazda        CX5                 Atlanta                   GA
121219   JM3KFACM6L0726615   Mazda        CX5                 ORLANDO                   FL
121220   JM3KFACM6L0726629   Mazda        CX5                 MIAMI                     FL
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121221   JM3KFACM6L0726694   Mazda        CX5                 JACKSONVILLE              FL
121222   JM3KFACM6L0726825   Mazda        CX5                 FORT LAUDERDALE           FL
121223   JM3KFACM6L0726842   Mazda        CX5                 FAYETTEVILLE              GA
121224   JM3KFACM6L0726887   Mazda        CX5                 ORLANDO                   FL
121225   JM3KFACM6L0726971   Mazda        CX5                 FORT MYERS                FL
121226   JM3KFACM6L0727151   Mazda        CX5                 FORT MYERS                FL
121227   JM3KFACM6L0727277   Mazda        CX5                 ORLANDO                   FL
121228   JM3KFACM6L0727313   Mazda        CX5                 WEST PALM BEACH           FL
121229   JM3KFACM6L0727361   Mazda        CX5                 WEST PALM BEACH           FL
121230   JM3KFACM6L0727523   Mazda        CX5                 FORT LAUDERDALE           FL
121231   JM3KFACM6L0727764   Mazda        CX5                 ORLANDO                   FL
121232   JM3KFACM6L0727831   Mazda        CX5                 Atlanta                   GA
121233   JM3KFACM6L0727943   Mazda        CX5                 ORLANDO                   FL
121234   JM3KFACM6L0728039   Mazda        CX5                 ORLANDO                   FL
121235   JM3KFACM6L0728154   Mazda        CX5                 FORT LAUDERDALE           FL
121236   JM3KFACM6L0728168   Mazda        CX5                 ORLANDO                   FL
121237   JM3KFACM6L0728302   Mazda        CX5                 MIAMI                     FL
121238   JM3KFACM6L0728509   Mazda        CX5                 SAINT LOUIS               MO
121239   JM3KFACM6L0728543   Mazda        CX5                 TAMPA                     FL
121240   JM3KFACM6L0728557   Mazda        CX5                 MIAMI                     FL
121241   JM3KFACM6L0728980   Mazda        CX5                 FORT MYERS                FL
121242   JM3KFACM6L0729286   Mazda        CX5                 ORLANDO                   FL
121243   JM3KFACM6L0729370   Mazda        CX5                 FORT MYERS                FL
121244   JM3KFACM6L0730177   Mazda        CX5                 TAMPA                     FL
121245   JM3KFACM6L0730485   Mazda        CX5                 ORLANDO                   FL
121246   JM3KFACM6L0730941   Mazda        CX5                 ORLANDO                   FL
121247   JM3KFACM6L0731555   Mazda        CX5                 FORT MYERS                FL
121248   JM3KFACM6L0731572   Mazda        CX5                 TAMPA                     FL
121249   JM3KFACM6L0732124   Mazda        CX5                 TAMPA                     FL
121250   JM3KFACM6L0732205   Mazda        CX5                 ORLANDO                   FL
121251   JM3KFACM6L0732253   Mazda        CX5                 TAMPA                     FL
121252   JM3KFACM6L0732835   Mazda        CX5                 FORT MYERS                FL
121253   JM3KFACM6L0733029   Mazda        CX5                 KEY WEST                  FL
121254   JM3KFACM6L0733385   Mazda        CX5                 MIAMI                     FL
121255   JM3KFACM6L0734004   Mazda        CX5                 FORT MYERS                FL
121256   JM3KFACM6L0734052   Mazda        CX5                 MIAMI                     FL
121257   JM3KFACM6L0734634   Mazda        CX5                 FORT LAUDERDALE           FL
121258   JM3KFACM6L0735217   Mazda        CX5                 Miami                     FL
121259   JM3KFACM6L0735668   Mazda        CX5                 FT. LAUDERDALE            FL
121260   JM3KFACM6L0735914   Mazda        CX5                 MIAMI                     FL
121261   JM3KFACM6L0736092   Mazda        CX5                 ORLANDO                   FL
121262   JM3KFACM6L0736187   Mazda        CX5                 FT. LAUDERDALE            FL
121263   JM3KFACM6L0736190   Mazda        CX5                 ORLANDO                   FL
121264   JM3KFACM6L0765589   Mazda        CX5                 MIAMI                     FL
121265   JM3KFACM6L0765656   Mazda        CX5                 MIAMI                     FL
121266   JM3KFACM6L0766094   Mazda        CX5                 JACKSONVILLE              FL
121267   JM3KFACM6L0767522   Mazda        CX5                 TAMPA                     FL
121268   JM3KFACM6L0767620   Mazda        CX5                 FORT MYERS                FL
121269   JM3KFACM6L0767889   Mazda        CX5                 FORT MYERS                FL
121270   JM3KFACM6L0768041   Mazda        CX5                 WEST PALM BEACH           FL
121271   JM3KFACM6L0768427   Mazda        CX5                 WEST PALM BEACH           FL
121272   JM3KFACM6L0768587   Mazda        CX5                 WEST PALM BEACH           FL
121273   JM3KFACM6L0769755   Mazda        CX5                 FORT MYERS                FL
121274   JM3KFACM6L0770324   Mazda        CX5                 TAMPA                     FL
121275   JM3KFACM6L0770341   Mazda        CX5                 ORLANDO                   FL
121276   JM3KFACM6L0770467   Mazda        CX5                 FORT MYERS                FL
121277   JM3KFACM6L0770498   Mazda        CX5                 Miami                     FL
121278   JM3KFACM6L0770517   Mazda        CX5                 FORT MYERS                FL
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121279   JM3KFACM6L0770548   Mazda        CX5                 TAMPA                     FL
121280   JM3KFACM6L0773885   Mazda        CX5                 JACKSONVILLE              FL
121281   JM3KFACM6L0774034   Mazda        CX5                 FORT MYERS                FL
121282   JM3KFACM6L0774728   Mazda        CX5                 FORT MYERS                FL
121283   JM3KFACM6L0774938   Mazda        CX5                 MIAMI                     FL
121284   JM3KFACM6L0774972   Mazda        CX5                 TAMPA                     FL
121285   JM3KFACM6L0775197   Mazda        CX5                 FORT LAUDERDALE           FL
121286   JM3KFACM6L0781940   Mazda        CX5                 MOBILE                    A
121287   JM3KFACM6L0783557   Mazda        CX5                 DETROIT                   MI
121288   JM3KFACM6L0784921   Mazda        CX5                 BIRMINGHAN                AL
121289   JM3KFACM6L1726981   Mazda        CX5                 FORT MYERS                FL
121290   JM3KFACM6L1775498   Mazda        CX5                 MEMPHIS                   TN
121291   JM3KFACM7L0723755   Mazda        CX5                 ATLANTA                   GA
121292   JM3KFACM7L0724033   Mazda        CX5                 FORT MYERS                FL
121293   JM3KFACM7L0724260   Mazda        CX5                 TAMPA                     FL
121294   JM3KFACM7L0724467   Mazda        CX5                 ORLANDO                   FL
121295   JM3KFACM7L0724520   Mazda        CX5                 FORT MYERS                FL
121296   JM3KFACM7L0724551   Mazda        CX5                 DANIA BEACH               FL
121297   JM3KFACM7L0724579   Mazda        CX5                 SARASOTA                  FL
121298   JM3KFACM7L0724680   Mazda        CX5                 TAMPA                     FL
121299   JM3KFACM7L0724730   Mazda        CX5                 ORLANDO                   FL
121300   JM3KFACM7L0725019   Mazda        CX5                 TAMPA                     FL
121301   JM3KFACM7L0725053   Mazda        CX5                 Miami                     FL
121302   JM3KFACM7L0725246   Mazda        CX5                 ORLANDO                   FL
121303   JM3KFACM7L0725733   Mazda        CX5                 FORT MYERS                FL
121304   JM3KFACM7L0725814   Mazda        CX5                 LOS ANGELES               CA
121305   JM3KFACM7L0726199   Mazda        CX5                 PENSACOLA                 FL
121306   JM3KFACM7L0726591   Mazda        CX5                 FORT MYERS                FL
121307   JM3KFACM7L0726624   Mazda        CX5                 ORLANDO                   FL
121308   JM3KFACM7L0726834   Mazda        CX5                 JACKSONVILLE              FL
121309   JM3KFACM7L0726848   Mazda        CX5                 ORLANDO                   FL
121310   JM3KFACM7L0726851   Mazda        CX5                 ORLANDO                   FL
121311   JM3KFACM7L0726963   Mazda        CX5                 WEST PALM BEACH           FL
121312   JM3KFACM7L0727191   Mazda        CX5                 TAMPA                     FL
121313   JM3KFACM7L0727384   Mazda        CX5                 MIAMI                     FL
121314   JM3KFACM7L0727398   Mazda        CX5                 Miami                     FL
121315   JM3KFACM7L0727496   Mazda        CX5                 FORT MYERS                FL
121316   JM3KFACM7L0727594   Mazda        CX5                 FORT LAUDERDALE           FL
121317   JM3KFACM7L0727613   Mazda        CX5                 FORT LAUDERDALE           FL
121318   JM3KFACM7L0727756   Mazda        CX5                 FORT LAUDERDALE           FL
121319   JM3KFACM7L0728101   Mazda        CX5                 JACKSONVILLE              FL
121320   JM3KFACM7L0728132   Mazda        CX5                 ORLANDO                   FL
121321   JM3KFACM7L0728177   Mazda        CX5                 TAMPA                     FL
121322   JM3KFACM7L0728258   Mazda        CX5                 ORLANDO                   FL
121323   JM3KFACM7L0728311   Mazda        CX5                 WEST PALM BEACH           FL
121324   JM3KFACM7L0728440   Mazda        CX5                 KNOXVILLE                 TN
121325   JM3KFACM7L0728552   Mazda        CX5                 TAMPA                     FL
121326   JM3KFACM7L0729281   Mazda        CX5                 ORLANDO                   FL
121327   JM3KFACM7L0729376   Mazda        CX5                 ORLANDO                   FL
121328   JM3KFACM7L0729796   Mazda        CX5                 WEST PALM BEACH           FL
121329   JM3KFACM7L0729801   Mazda        CX5                 JACKSONVILLE              FL
121330   JM3KFACM7L0730172   Mazda        CX5                 ORLANDO                   FL
121331   JM3KFACM7L0732262   Mazda        CX5                 TAMPA                     FL
121332   JM3KFACM7L0732343   Mazda        CX5                 ORLANDO                   FL
121333   JM3KFACM7L0734206   Mazda        CX5                 ORLANDO                   FL
121334   JM3KFACM7L0734562   Mazda        CX5                 TAMPA                     FL
121335   JM3KFACM7L0734612   Mazda        CX5                 Ft. Myers                 FL
121336   JM3KFACM7L0735467   Mazda        CX5                 ORLANDO                   FL
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121337   JM3KFACM7L0736148   Mazda        CX5                 TAMPA                     FL
121338   JM3KFACM7L0736697   Mazda        CX5                 Ft. Myers                 FL
121339   JM3KFACM7L0765634   Mazda        CX5                 MIAMI                     FL
121340   JM3KFACM7L0765648   Mazda        CX5                 FORT LAUDERDALE           FL
121341   JM3KFACM7L0765844   Mazda        CX5                 OMAHA                     NE
121342   JM3KFACM7L0766637   Mazda        CX5                 SARASOTA                  FL
121343   JM3KFACM7L0766718   Mazda        CX5                 Jacksonville              FL
121344   JM3KFACM7L0767447   Mazda        CX5                 FORT LAUDERDALE           FL
121345   JM3KFACM7L0767464   Mazda        CX5                 WEST PALM BEACH           FL
121346   JM3KFACM7L0767531   Mazda        CX5                 ORLANDO                   FL
121347   JM3KFACM7L0767836   Mazda        CX5                 SARASOTA                  FL
121348   JM3KFACM7L0767996   Mazda        CX5                 WEST PALM BEACH           FL
121349   JM3KFACM7L0768324   Mazda        CX5                 TAMPA                     FL
121350   JM3KFACM7L0768551   Mazda        CX5                 WEST PALM BEACH           FL
121351   JM3KFACM7L0769490   Mazda        CX5                 FORT MYERS                FL
121352   JM3KFACM7L0769716   Mazda        CX5                 FORT MYERS                FL
121353   JM3KFACM7L0770459   Mazda        CX5                 WEST PALM BEACH           FL
121354   JM3KFACM7L0771451   Mazda        CX5                 Ft. Myers                 FL
121355   JM3KFACM7L0774821   Mazda        CX5                 FORT MYERS                FL
121356   JM3KFACM7L0775015   Mazda        CX5                 ORLANDO                   FL
121357   JM3KFACM7L0775208   Mazda        CX5                 MIAMI                     FL
121358   JM3KFACM7L0780165   Mazda        CX5                 JACKSON                   MS
121359   JM3KFACM7L0789416   Mazda        CX5                 Tulsa                     OK
121360   JM3KFACM8L0723408   Mazda        CX5                 ORLANDO                   FL
121361   JM3KFACM8L0723554   Mazda        CX5                 Atlanta                   GA
121362   JM3KFACM8L0723795   Mazda        CX5                 DAVIE                     FL
121363   JM3KFACM8L0723957   Mazda        CX5                 MIAMI                     FL
121364   JM3KFACM8L0724171   Mazda        CX5                 TAMPA                     FL
121365   JM3KFACM8L0724316   Mazda        CX5                 JACKSONVILLE              FL
121366   JM3KFACM8L0724333   Mazda        CX5                 WEST PALM BEACH           FL
121367   JM3KFACM8L0724414   Mazda        CX5                 ORLANDO                   FL
121368   JM3KFACM8L0724574   Mazda        CX5                 JACKSONVILLE              FL
121369   JM3KFACM8L0724882   Mazda        CX5                 WEST PALM BEACH           FL
121370   JM3KFACM8L0724901   Mazda        CX5                 TAMPA                     FL
121371   JM3KFACM8L0724915   Mazda        CX5                 WEST PALM BEACH           FL
121372   JM3KFACM8L0724963   Mazda        CX5                 WEST PALM BEACH           FL
121373   JM3KFACM8L0725014   Mazda        CX5                 FORT LAUDERDALE           FL
121374   JM3KFACM8L0725255   Mazda        CX5                 GAINESVILLE               FL
121375   JM3KFACM8L0725367   Mazda        CX5                 TAMPA                     FL
121376   JM3KFACM8L0725479   Mazda        CX5                 ORLANDO                   FL
121377   JM3KFACM8L0725529   Mazda        CX5                 ORLANDO                   FL
121378   JM3KFACM8L0725806   Mazda        CX5                 FORT LAUDERDALE           FL
121379   JM3KFACM8L0725921   Mazda        CX5                 MIAMI                     FL
121380   JM3KFACM8L0726003   Mazda        CX5                 HOLLY HILL                FL
121381   JM3KFACM8L0726468   Mazda        CX5                 El Segundo                CA
121382   JM3KFACM8L0726521   Mazda        CX5                 TAMPA                     FL
121383   JM3KFACM8L0726762   Mazda        CX5                 FORT MYERS                FL
121384   JM3KFACM8L0726924   Mazda        CX5                 FORT MYERS                FL
121385   JM3KFACM8L0726941   Mazda        CX5                 MIAMI                     FL
121386   JM3KFACM8L0726969   Mazda        CX5                 FORT MYERS                FL
121387   JM3KFACM8L0727216   Mazda        CX5                 MIAMI                     FL
121388   JM3KFACM8L0727331   Mazda        CX5                 MIAMI                     FL
121389   JM3KFACM8L0727393   Mazda        CX5                 FORT LAUDERDALE           FL
121390   JM3KFACM8L0727541   Mazda        CX5                 KEY WEST                  FL
121391   JM3KFACM8L0727703   Mazda        CX5                 JACKSONVILLE              FL
121392   JM3KFACM8L0728060   Mazda        CX5                 WEST PALM BEACH           FL
121393   JM3KFACM8L0728138   Mazda        CX5                 ORLANDO                   FL
121394   JM3KFACM8L0728141   Mazda        CX5                 MIAMI                     FL
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121395   JM3KFACM8L0728172   Mazda        CX5                 FORT MYERS                FL
121396   JM3KFACM8L0728544   Mazda        CX5                 ORLANDO                   FL
121397   JM3KFACM8L0728561   Mazda        CX5                 SARASOTA                  FL
121398   JM3KFACM8L0728950   Mazda        CX5                 JACKSONVILLE              FL
121399   JM3KFACM8L0729340   Mazda        CX5                 WEST PALM BEACH           FL
121400   JM3KFACM8L0729368   Mazda        CX5                 FORT MYERS                FL
121401   JM3KFACM8L0729757   Mazda        CX5                 FORT LAUDERDALE           FL
121402   JM3KFACM8L0729791   Mazda        CX5                 GRAND RAPIDS              MI
121403   JM3KFACM8L0730178   Mazda        CX5                 ORLANDO                   FL
121404   JM3KFACM8L0730469   Mazda        CX5                 SARASOTA                  FL
121405   JM3KFACM8L0730858   Mazda        CX5                 TAMPA                     FL
121406   JM3KFACM8L0730939   Mazda        CX5                 ORLANDO                   FL
121407   JM3KFACM8L0731525   Mazda        CX5                 WEST PALM BEACH           FL
121408   JM3KFACM8L0732402   Mazda        CX5                 FORT MYERS                FL
121409   JM3KFACM8L0733291   Mazda        CX5                 ORLANDO                   FL
121410   JM3KFACM8L0734134   Mazda        CX5                 FORT LAUDERDALE           FL
121411   JM3KFACM8L0734408   Mazda        CX5                 FORT LAUDERDALE           FL
121412   JM3KFACM8L0734456   Mazda        CX5                 ORLANDO                   FL
121413   JM3KFACM8L0735333   Mazda        CX5                 WEST PALM BEACH           FL
121414   JM3KFACM8L0736112   Mazda        CX5                 DALLAS                    TX
121415   JM3KFACM8L0736613   Mazda        CX5                 FORT LAUDERDALE           FL
121416   JM3KFACM8L0736630   Mazda        CX5                 ORLANDO                   FL
121417   JM3KFACM8L0736644   Mazda        CX5                 FORT MYERS                FL
121418   JM3KFACM8L0764394   Mazda        CX5                 ORLANDO                   FL
121419   JM3KFACM8L0766565   Mazda        CX5                 ORLANDO                   FL
121420   JM3KFACM8L0766579   Mazda        CX5                 ORLANDO                   FL
121421   JM3KFACM8L0767019   Mazda        CX5                 Orlando                   FL
121422   JM3KFACM8L0767084   Mazda        CX5                 TAMPA                     FL
121423   JM3KFACM8L0767666   Mazda        CX5                 ORLANDO                   FL
121424   JM3KFACM8L0767957   Mazda        CX5                 FORT MYERS                FL
121425   JM3KFACM8L0768039   Mazda        CX5                 ORLANDO                   FL
121426   JM3KFACM8L0769787   Mazda        CX5                 TAMPA                     FL
121427   JM3KFACM8L0770566   Mazda        CX5                 Miami                     FL
121428   JM3KFACM8L0774035   Mazda        CX5                 ORLANDO                   FL
121429   JM3KFACM8L0775024   Mazda        CX5                 TAMPA                     FL
121430   JM3KFACM8L0775346   Mazda        CX5                 MIAMI                     FL
121431   JM3KFACM8L0780546   Mazda        CX5                 SAN FRANCISCO             CA
121432   JM3KFACM8L0788355   Mazda        CX5                 Tulsa                     OK
121433   JM3KFACM9L0723773   Mazda        CX5                 Miami                     FL
121434   JM3KFACM9L0723806   Mazda        CX5                 TAMPA                     FL
121435   JM3KFACM9L0724177   Mazda        CX5                 TAMPA                     FL
121436   JM3KFACM9L0724213   Mazda        CX5                 Miami                     FL
121437   JM3KFACM9L0724535   Mazda        CX5                 MIAMI                     FL
121438   JM3KFACM9L0724583   Mazda        CX5                 TAMPA                     FL
121439   JM3KFACM9L0724695   Mazda        CX5                 TAMPA                     FL
121440   JM3KFACM9L0724714   Mazda        CX5                 SOUTHEAST DST OFFC        OK
121441   JM3KFACM9L0724731   Mazda        CX5                 Houston                   TX
121442   JM3KFACM9L0724776   Mazda        CX5                 FORT MYERS                FL
121443   JM3KFACM9L0725068   Mazda        CX5                 ORLANDO                   FL
121444   JM3KFACM9L0725099   Mazda        CX5                 MIAMI                     FL
121445   JM3KFACM9L0725183   Mazda        CX5                 SARASOTA                  FL
121446   JM3KFACM9L0725751   Mazda        CX5                 TAMPA                     FL
121447   JM3KFACM9L0725765   Mazda        CX5                 TAMPA                     FL
121448   JM3KFACM9L0725930   Mazda        CX5                 WEST PALM BEACH           FL
121449   JM3KFACM9L0726186   Mazda        CX5                 ORLANDO                   FL
121450   JM3KFACM9L0726401   Mazda        CX5                 JACKSONVILLE              FL
121451   JM3KFACM9L0726446   Mazda        CX5                 TAMPA                     FL
121452   JM3KFACM9L0726480   Mazda        CX5                 ORLANDO                   FL
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121453   JM3KFACM9L0726690   Mazda        CX5                 JACKSONVILLE              FL
121454   JM3KFACM9L0726768   Mazda        CX5                 MIAMI                     FL
121455   JM3KFACM9L0726804   Mazda        CX5                 WEST PALM BEACH           FL
121456   JM3KFACM9L0726821   Mazda        CX5                 MIAMI                     FL
121457   JM3KFACM9L0726950   Mazda        CX5                 FORT MYERS                FL
121458   JM3KFACM9L0727466   Mazda        CX5                 FORT MYERS                FL
121459   JM3KFACM9L0727547   Mazda        CX5                 FORT LAUDERDALE           FL
121460   JM3KFACM9L0727550   Mazda        CX5                 PHOENIX                   AZ
121461   JM3KFACM9L0727595   Mazda        CX5                 DAYTONA BEACH             FL
121462   JM3KFACM9L0727709   Mazda        CX5                 FORT LAUDERDALE           FL
121463   JM3KFACM9L0727712   Mazda        CX5                 FORT MYERS                FL
121464   JM3KFACM9L0727760   Mazda        CX5                 ORLANDO                   FL
121465   JM3KFACM9L0728388   Mazda        CX5                 FORT LAUDERDALE           FL
121466   JM3KFACM9L0728553   Mazda        CX5                 SARASOTA                  FL
121467   JM3KFACM9L0728987   Mazda        CX5                 TAMPA                     FL
121468   JM3KFACM9L0730187   Mazda        CX5                 FORT LAUDERDALE           FL
121469   JM3KFACM9L0730481   Mazda        CX5                 BIRMINGHAM                AL
121470   JM3KFACM9L0731596   Mazda        CX5                 WEST PALM BEACH           FL
121471   JM3KFACM9L0731680   Mazda        CX5                 FORT LAUDERDALE           FL
121472   JM3KFACM9L0732554   Mazda        CX5                 TAMPA                     FL
121473   JM3KFACM9L0732733   Mazda        CX5                 Miami                     FL
121474   JM3KFACM9L0732859   Mazda        CX5                 JACKSONVILLE              FL
121475   JM3KFACM9L0733154   Mazda        CX5                 FORT MYERS                FL
121476   JM3KFACM9L0733719   Mazda        CX5                 ORLANDO                   FL
121477   JM3KFACM9L0733834   Mazda        CX5                 JACKSONVILLE              FL
121478   JM3KFACM9L0734627   Mazda        CX5                 Atlanta                   GA
121479   JM3KFACM9L0735471   Mazda        CX5                 JACKSONVILLE              FL
121480   JM3KFACM9L0737575   Mazda        CX5                 FORT LAUDERDALE           FL
121481   JM3KFACM9L0765764   Mazda        CX5                 JACKSONVILLE              FL
121482   JM3KFACM9L0766588   Mazda        CX5                 ORLANDO                   FL
121483   JM3KFACM9L0766655   Mazda        CX5                 JACKSONVILLE              FL
121484   JM3KFACM9L0767000   Mazda        CX5                 FORT MYERS                FL
121485   JM3KFACM9L0767241   Mazda        CX5                 TAMPA                     FL
121486   JM3KFACM9L0768518   Mazda        CX5                 TAMPA                     FL
121487   JM3KFACM9L0768776   Mazda        CX5                 TAMPA                     FL
121488   JM3KFACM9L0769409   Mazda        CX5                 MIAMI                     FL
121489   JM3KFACM9L0769829   Mazda        CX5                 FORT MYERS                FL
121490   JM3KFACM9L0770186   Mazda        CX5                 FORT MYERS                FL
121491   JM3KFACM9L0770298   Mazda        CX5                 WEST PALM BEACH           FL
121492   JM3KFACM9L0770320   Mazda        CX5                 ORLANDO                   FL
121493   JM3KFACM9L0771337   Mazda        CX5                 TAMPA                     FL
121494   JM3KFACM9L0771399   Mazda        CX5                 TAMPA                     FL
121495   JM3KFACM9L0775338   Mazda        CX5                 TAMPA                     FL
121496   JM3KFACM9L0783505   Mazda        CX5                 KENNER                    LA
121497   JM3KFACM9L1734315   Mazda        CX5                 MIAMI                     FL
121498   JM3KFACMXL0723409   Mazda        CX5                 TAMPA                     FL
121499   JM3KFACMXL0723426   Mazda        CX5                 ORLANDO                   FL
121500   JM3KFACMXL0724463   Mazda        CX5                 PENSACOLA                 FL
121501   JM3KFACMXL0724530   Mazda        CX5                 ORLANDO                   FL
121502   JM3KFACMXL0724575   Mazda        CX5                 JACKSONVILLE              FL
121503   JM3KFACMXL0724589   Mazda        CX5                 ORLANDO                   FL
121504   JM3KFACMXL0724690   Mazda        CX5                 JACKSONVILLE              FL
121505   JM3KFACMXL0724754   Mazda        CX5                 WEST PALM BEACH           FL
121506   JM3KFACMXL0724771   Mazda        CX5                 FORT MYERS                FL
121507   JM3KFACMXL0724785   Mazda        CX5                 TAMPA                     FL
121508   JM3KFACMXL0724897   Mazda        CX5                 MIAMI                     FL
121509   JM3KFACMXL0725032   Mazda        CX5                 JACKSONVILLE              FL
121510   JM3KFACMXL0725094   Mazda        CX5                 MIAMI                     FL
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121511   JM3KFACMXL0725144   Mazda        CX5                 ORLANDO                   FL
121512   JM3KFACMXL0725161   Mazda        CX5                 CLEVELAND                 OH
121513   JM3KFACMXL0725385   Mazda        CX5                 LOUISVILLE                KY
121514   JM3KFACMXL0725791   Mazda        CX5                 ORLANDO                   FL
121515   JM3KFACMXL0725810   Mazda        CX5                 ORLANDO                   FL
121516   JM3KFACMXL0725824   Mazda        CX5                 FORT LAUDERDALE           FL
121517   JM3KFACMXL0726150   Mazda        CX5                 FORT MYERS                FL
121518   JM3KFACMXL0726178   Mazda        CX5                 TAMPA                     FL
121519   JM3KFACMXL0726195   Mazda        CX5                 Columbus                  OH
121520   JM3KFACMXL0726455   Mazda        CX5                 JACKSONVILLE              FL
121521   JM3KFACMXL0726486   Mazda        CX5                 CLEVELAND                 OH
121522   JM3KFACMXL0726519   Mazda        CX5                 MIAMI                     FL
121523   JM3KFACMXL0726536   Mazda        CX5                 ORLANDO                   FL
121524   JM3KFACMXL0726746   Mazda        CX5                 WEST PALM BEACH           FL
121525   JM3KFACMXL0726830   Mazda        CX5                 SARASOTA                  FL
121526   JM3KFACMXL0727167   Mazda        CX5                 Miami                     FL
121527   JM3KFACMXL0727220   Mazda        CX5                 FORT LAUDERDALE           FL
121528   JM3KFACMXL0727296   Mazda        CX5                 Tampa                     FL
121529   JM3KFACMXL0727301   Mazda        CX5                 ORLANDO                   FL
121530   JM3KFACMXL0727377   Mazda        CX5                 MIAMI                     FL
121531   JM3KFACMXL0727394   Mazda        CX5                 MIAMI                     FL
121532   JM3KFACMXL0727492   Mazda        CX5                 ORLANDO                   FL
121533   JM3KFACMXL0727637   Mazda        CX5                 SARASOTA                  FL
121534   JM3KFACMXL0727668   Mazda        CX5                 ORLANDO                   FL
121535   JM3KFACMXL0727749   Mazda        CX5                 JACKSONVILLE              FL
121536   JM3KFACMXL0727878   Mazda        CX5                 Atlanta                   GA
121537   JM3KFACMXL0728125   Mazda        CX5                 FORT MYERS                FL
121538   JM3KFACMXL0728187   Mazda        CX5                 FORT MYERS                FL
121539   JM3KFACMXL0728285   Mazda        CX5                 MIAMI                     FL
121540   JM3KFACMXL0728318   Mazda        CX5                 ORLANDO                   FL
121541   JM3KFACMXL0728416   Mazda        CX5                 ORLANDO                   FL
121542   JM3KFACMXL0728495   Mazda        CX5                 FORT LAUDERDALE           FL
121543   JM3KFACMXL0728898   Mazda        CX5                 ORLANDO                   FL
121544   JM3KFACMXL0728934   Mazda        CX5                 MIAMI                     FL
121545   JM3KFACMXL0729310   Mazda        CX5                 MIAMI                     FL
121546   JM3KFACMXL0729341   Mazda        CX5                 MIAMI                     FL
121547   JM3KFACMXL0730067   Mazda        CX5                 MIAMI                     FL
121548   JM3KFACMXL0730148   Mazda        CX5                 ORLANDO                   FL
121549   JM3KFACMXL0730442   Mazda        CX5                 ORLANDO                   FL
121550   JM3KFACMXL0730957   Mazda        CX5                 Atlanta                   GA
121551   JM3KFACMXL0731249   Mazda        CX5                 MIAMI                     FL
121552   JM3KFACMXL0731588   Mazda        CX5                 WEST PALM BEACH           FL
121553   JM3KFACMXL0732109   Mazda        CX5                 Jacksonville              FL
121554   JM3KFACMXL0732174   Mazda        CX5                 MIAMI                     FL
121555   JM3KFACMXL0732336   Mazda        CX5                 Tampa                     FL
121556   JM3KFACMXL0732949   Mazda        CX5                 KEY WEST                  FL
121557   JM3KFACMXL0733177   Mazda        CX5                 MIAMI                     FL
121558   JM3KFACMXL0733650   Mazda        CX5                 ORLANDO                   FL
121559   JM3KFACMXL0735298   Mazda        CX5                 ORLANDO                   FL
121560   JM3KFACMXL0736659   Mazda        CX5                 MIAMI                     FL
121561   JM3KFACMXL0737570   Mazda        CX5                 FORT MYERS                FL
121562   JM3KFACMXL0765580   Mazda        CX5                 ORLANDO                   FL
121563   JM3KFACMXL0766115   Mazda        CX5                 Miami                     FL
121564   JM3KFACMXL0766616   Mazda        CX5                 MIAMI                     FL
121565   JM3KFACMXL0767538   Mazda        CX5                 MIAMI                     FL
121566   JM3KFACMXL0767572   Mazda        CX5                 ORLANDO                   FL
121567   JM3KFACMXL0767717   Mazda        CX5                 FORT MYERS                FL
121568   JM3KFACMXL0768897   Mazda        CX5                 WEST PALM BEACH           FL
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121569   JM3KFACMXL0770472   Mazda        CX5                 WEST PALM BEACH           FL
121570   JM3KFACMXL0770987   Mazda        CX5                 Ft. Myers                 FL
121571   JM3KFACMXL0774909   Mazda        CX5                 MIAMI                     FL
121572   JM3KFACMXL0775431   Mazda        CX5                 JACKSONVILLE              FL
121573   JM3KFACMXL0786929   Mazda        CX5                 Atlanta                   GA
121574   JM3KFACMXL1723825   Mazda        CX5                 MIAMI                     FL
121575   JM3KFBCM0J0344907   Mazda        CX5                 Hayward                   CA
121576   JM3KFBCM0J0345541   Mazda        CX5
121577   JM3KFBCM0J0349024   Mazda        CX5                 SAN FRANCISCO             CA
121578   JM3KFBCM0J0350044   Mazda        CX5                 Kahului                   HI
121579   JM3KFBCM0J0350299   Mazda        CX5                 Hayward                   CA
121580   JM3KFBCM1J0346505   Mazda        CX5                 HILO                      HI
121581   JM3KFBCM1J0346522   Mazda        CX5                 PLEASANTON                CA
121582   JM3KFBCM1J0346939   Mazda        CX5                 TRACY                     CA
121583   JM3KFBCM1J0349193   Mazda        CX5                 HONOLULU                  HI
121584   JM3KFBCM2J0341958   Mazda        CX5                 TRACY                     CA
121585   JM3KFBCM2J0342382   Mazda        CX5                 SAN FRANCISCO             CA
121586   JM3KFBCM2J0345010   Mazda        CX5                 S. San Francisc           CA
121587   JM3KFBCM2J0346254   Mazda        CX5                 HILO                      HI
121588   JM3KFBCM2J0346318   Mazda        CX5                 Honolulu                  HI
121589   JM3KFBCM2J0346576   Mazda        CX5                 Honolulu                  HI
121590   JM3KFBCM2J0350627   Mazda        CX5                 Maple Grove               MN
121591   JM3KFBCM2J0350689   Mazda        CX5                 Kahului                   HI
121592   JM3KFBCM3J0341581   Mazda        CX5                 EWA BEACH                 HI
121593   JM3KFBCM3J0346439   Mazda        CX5                 SAN FRANCISCO             CA
121594   JM3KFBCM4J0341959   Mazda        CX5                 Honolulu                  HI
121595   JM3KFBCM4J0342013   Mazda        CX5                 SAN FRANCISCO             CA
121596   JM3KFBCM4J0342044   Mazda        CX5                 TRACY                     CA
121597   JM3KFBCM4J0346403   Mazda        CX5                 TRACY                     CA
121598   JM3KFBCM4J0347230   Mazda        CX5                 TRACY                     CA
121599   JM3KFBCM4J0348149   Mazda        CX5                 EWA BEACH                 HI
121600   JM3KFBCM4J0350922   Mazda        CX5                 TRACY                     CA
121601   JM3KFBCM5J0341355   Mazda        CX5                 Hayward                   CA
121602   JM3KFBCM5J0347513   Mazda        CX5                 TRACY                     CA
121603   JM3KFBCM5J0350606   Mazda        CX5                 Hilo                      HI
121604   JM3KFBCM6J0342062   Mazda        CX5                 TRACY                     CA
121605   JM3KFBCM6J0346175   Mazda        CX5                 KAHULUI                   HI
121606   JM3KFBCM6J0348590   Mazda        CX5                 SAN FRANCISCO             CA
121607   JM3KFBCM6J0351991   Mazda        CX5                 TRACY                     CA
121608   JM3KFBCM6J0352557   Mazda        CX5                 TRACY                     CA
121609   JM3KFBCM7J0341356   Mazda        CX5                 Maple Grove               MN
121610   JM3KFBCM7J0342183   Mazda        CX5                 TRACY                     CA
121611   JM3KFBCM7J0342331   Mazda        CX5                 TRACY                     CA
121612   JM3KFBCM7J0346170   Mazda        CX5                 Hayward                   CA
121613   JM3KFBCM7J0346489   Mazda        CX5                 TRACY                     CA
121614   JM3KFBCM7J0347657   Mazda        CX5                 SAN FRANCISCO             CA
121615   JM3KFBCM7J0352714   Mazda        CX5                 West Bountiful            UT
121616   JM3KFBCM8J0341589   Mazda        CX5                 BURBANK                   CA
121617   JM3KFBCM8J0342063   Mazda        CX5                 TRACY                     CA
121618   JM3KFBCM8J0346470   Mazda        CX5                 Beaverton                 OR
121619   JM3KFBCM9J0342377   Mazda        CX5                 TRACY                     CA
121620   JM3KFBCM9J0342380   Mazda        CX5                 TRACY                     CA
121621   JM3KFBCM9J0346235   Mazda        CX5                 TRACY                     CA
121622   JM3KFBCM9J0346607   Mazda        CX5                 TRACY                     CA
121623   JM3KFBCM9J0350348   Mazda        CX5                 Hilo                      HI
121624   JM3KFBCMXJ0342100   Mazda        CX5                 PLEASANTON                CA
121625   JM3KFBCMXJ0347085   Mazda        CX5                 SAN FRANCISCO             CA
121626   JM3KFBCMXJ0349760   Mazda        CX5                 TRACY                     CA
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121627   JM3KFBCMXJ0350505   Mazda        CX5                 SAN FRANCISCO             CA
121628   JM3KFBCMXJ0350732   Mazda        CX5                 TRACY                     CA
121629   JM3TCACY4J0213358   Mazda        CX9                 Tolleson                  AZ
121630   JM3TCADY1L0408612   Mazda        CX9                 DETROIT                   MI
121631   JM3TCADY2L0409462   Mazda        CX9                 FORT MYERS                FL
121632   JM3TCADY3L0407896   Mazda        CX9                 DETROIT                   MI
121633   JM3TCADY3L0408546   Mazda        CX9                 FORT MYERS                FL
121634   JM3TCADY7L0408677   Mazda        CX9                 FORT MYERS                FL
121635   JM3TCADY8L0407683   Mazda        CX9                 FORT MYERS                FL
121636   JM3TCADY8L0408137   Mazda        CX9                 HEBRON                    KY
121637   JM3TCADYXL0408804   Mazda        CX9                 FORT MYERS                FL
121638   JN1AR5EF1JM710364   Nissan       GTR                 Riverside                 CA
121639   JN1AR5EF7JM710384   Nissan       GTR                 Riverside                 CA
121640   JN1BJ1CP0JW101772   Nissan       ROGUE               Orlando                   FL
121641   JN1BJ1CP0JW163365   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
121642   JN1BJ1CP0JW190632   Nissan       ROGUE               ATLANTA                   GA
121643   JN1BJ1CP0JW192560   Nissan       ROGUE               ORLANDO                   FL
121644   JN1BJ1CP0KW215367   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
121645   JN1BJ1CP0KW215871   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
121646   JN1BJ1CP1JW103210   Nissan       ROGUE               Atlanta                   GA
121647   JN1BJ1CP1JW103255   Nissan       ROGUE               Lynn                      MA
121648   JN1BJ1CP1JW105734   Nissan       ROGUE               Cleveland                 OH
121649   JN1BJ1CP1JW150558   Nissan       ROGUE               SAINT PAUL                MN
121650   JN1BJ1CP1JW150561   Nissan       ROGUE               Anaheim                   CA
121651   JN1BJ1CP1JW150981   Nissan       ROGUE               LOS ANGELES               CA
121652   JN1BJ1CP1JW153671   Nissan       ROGUE               SAN JOSE                  CA
121653   JN1BJ1CP1JW192065   Nissan       ROGUE               COLUMBUS                  OH
121654   JN1BJ1CP1JW192230   Nissan       ROGUE               ORLANDO                   FL
121655   JN1BJ1CP1JW192258   Nissan       ROGUE               MIAMI                     FL
121656   JN1BJ1CP1JW192308   Nissan       ROGUE               FORT LAUDERDALE           FL
121657   JN1BJ1CP1JW192731   Nissan       ROGUE               TAMPA                     FL
121658   JN1BJ1CP1KW215748   Nissan       ROGUE               DETROIT                   MI
121659   JN1BJ1CP1KW520148   Nissan       ROGUE               DALLAS                    TX
121660   JN1BJ1CP2JW150326   Nissan       ROGUE               CHICAGO                   IL
121661   JN1BJ1CP2JW150567   Nissan       ROGUE               PHOENIX                   AZ
121662   JN1BJ1CP2JW150617   Nissan       ROGUE               NORTH PAC                 CA
121663   JN1BJ1CP2JW192267   Nissan       ROGUE               TAMPA                     FL
121664   JN1BJ1CP2JW192396   Nissan       ROGUE               CHARLOTTE                 NC
121665   JN1BJ1CP2JW192544   Nissan       ROGUE               ORLANDO                   FL
121666   JN1BJ1CP2JW500795   Nissan       ROGUE               HANOVER                   MD
121667   JN1BJ1CP2JW500800   Nissan       ROGUE               Tampa                     FL
121668   JN1BJ1CP2KW215130   Nissan       ROGUE               TAMPA                     FL
121669   JN1BJ1CP2KW524435   Nissan       ROGUE               COLUMBUS                  OH
121670   JN1BJ1CP3JW102575   Nissan       ROGUE               FORT MYERS                FL
121671   JN1BJ1CP3JW150366   Nissan       ROGUE               LAS VEGAS                 NV
121672   JN1BJ1CP3JW151047   Nissan       ROGUE               Rio Linda                 CA
121673   JN1BJ1CP3JW163425   Nissan       ROGUE               ORLANDO                   FL
121674   JN1BJ1CP3KW220336   Nissan       ROGUE               DALLAS                    TX
121675   JN1BJ1CP3KW524394   Nissan       ROGUE               ORLANDO                   FL
121676   JN1BJ1CP4JW103024   Nissan       ROGUE               WEST PALM BEACH           FL
121677   JN1BJ1CP4JW104013   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
121678   JN1BJ1CP4JW105873   Nissan       ROGUE               SHREVEPORT                LA
121679   JN1BJ1CP4JW150604   Nissan       ROGUE               SALT LAKE CITY            UT
121680   JN1BJ1CP4JW150845   Nissan       ROGUE               BOSTON                    MA
121681   JN1BJ1CP4JW150909   Nissan       ROGUE               NORTH PAC                 CA
121682   JN1BJ1CP4JW150943   Nissan       ROGUE               DALLAS                    TX
121683   JN1BJ1CP4JW151042   Nissan       ROGUE               NORTH PAC                 CA
121684   JN1BJ1CP4JW161103   Nissan       ROGUE               WEST PALM BEACH           FL
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121685   JN1BJ1CP4KW210799   Nissan       ROGUE               FORT MYERS                FL
121686   JN1BJ1CP4KW215968   Nissan       ROGUE               Chicago                   IL
121687   JN1BJ1CP4KW216036   Nissan       ROGUE               MIAMI                     FL
121688   JN1BJ1CP4KW520225   Nissan       ROGUE               FORT MYERS                FL
121689   JN1BJ1CP5JW104246   Nissan       ROGUE               CHARLOTTE                 NC
121690   JN1BJ1CP5JW105610   Nissan       ROGUE               ATLANTA                   GA
121691   JN1BJ1CP5JW105784   Nissan       ROGUE               FORT MYERS                FL
121692   JN1BJ1CP5JW106207   Nissan       ROGUE               FORT MYERS                FL
121693   JN1BJ1CP5JW151003   Nissan       ROGUE               STERLING                  VA
121694   JN1BJ1CP5JW163961   Nissan       ROGUE               LAS VEGAS                 NV
121695   JN1BJ1CP5JW190769   Nissan       ROGUE               ATLANTA                   GA
121696   JN1BJ1CP5JW500578   Nissan       ROGUE               Hamilton                  OH
121697   JN1BJ1CP5JW500807   Nissan       ROGUE               MIAMI                     FL
121698   JN1BJ1CP5KW215204   Nissan       ROGUE               ORLANDO                   FL
121699   JN1BJ1CP5KW215526   Nissan       ROGUE               TAMPA                     US
121700   JN1BJ1CP5KW523991   Nissan       ROGUE               MIAMI                     FL
121701   JN1BJ1CP6HW033603   Nissan       ROGUE               Warminster                PA
121702   JN1BJ1CP6JW106328   Nissan       ROGUE               Slidell                   LA
121703   JN1BJ1CP6JW150944   Nissan       ROGUE               LOS ANGELES               CA
121704   JN1BJ1CP6JW151009   Nissan       ROGUE               ORLANDO                   FL
121705   JN1BJ1CP6JW192157   Nissan       ROGUE               Chicago                   IL
121706   JN1BJ1CP6JW192188   Nissan       ROGUE               FORT MYERS                FL
121707   JN1BJ1CP6JW192885   Nissan       ROGUE               FORT MYERS                FL
121708   JN1BJ1CP6KW215230   Nissan       ROGUE               FLORIDA DEALER DIR        FL
121709   JN1BJ1CP6KW216023   Nissan       ROGUE               Windsor Locks             CT
121710   JN1BJ1CP6KW223912   Nissan       ROGUE               ORLANDO                   FL
121711   JN1BJ1CP7JW103244   Nissan       ROGUE               TAMPA                     FL
121712   JN1BJ1CP7JW103647   Nissan       ROGUE               LAS VEGAS                 NV
121713   JN1BJ1CP7JW105494   Nissan       ROGUE               NEW BERN                  NC
121714   JN1BJ1CP7JW150953   Nissan       ROGUE               Florissant                MO
121715   JN1BJ1CP7JW151326   Nissan       ROGUE               Tampa                     FL
121716   JN1BJ1CP7JW152461   Nissan       ROGUE               ORLANDO                   FL
121717   JN1BJ1CP7JW192555   Nissan       ROGUE               ATLANTA                   GA
121718   JN1BJ1CP7JW500680   Nissan       ROGUE               SARASOTA                  FL
121719   JN1BJ1CP7KW520252   Nissan       ROGUE               MERRIVILLE                IN
121720   JN1BJ1CP8JW105763   Nissan       ROGUE               Hamilton                  OH
121721   JN1BJ1CP8JW162819   Nissan       ROGUE               ORLANDO                   FL
121722   JN1BJ1CP8JW190605   Nissan       ROGUE               Davie                     FL
121723   JN1BJ1CP8JW192032   Nissan       ROGUE               LOS ANGELES               CA
121724   JN1BJ1CP8JW193181   Nissan       ROGUE               Atlanta                   GA
121725   JN1BJ1CP8KW213883   Nissan       ROGUE               TAMPA                     FL
121726   JN1BJ1CP8KW215665   Nissan       ROGUE               FORT LAUDERDALE           FL
121727   JN1BJ1CP8KW522172   Nissan       ROGUE               Clearwater                FL
121728   JN1BJ1CP8KW524262   Nissan       ROGUE               JACKSON                   MS
121729   JN1BJ1CP9JW101401   Nissan       ROGUE               FORT LAUDERDALE           FL
121730   JN1BJ1CP9JW106372   Nissan       ROGUE               APPLETON                  WI
121731   JN1BJ1CP9JW150341   Nissan       ROGUE               Slidell                   LA
121732   JN1BJ1CP9JW150355   Nissan       ROGUE               SAN JOSE                  CA
121733   JN1BJ1CP9JW192279   Nissan       ROGUE               FORT MYERS                FL
121734   JN1BJ1CP9JW500566   Nissan       ROGUE               NEW BERN                  NC
121735   JN1BJ1CP9JW500616   Nissan       ROGUE               JACKSONVILLE              FL
121736   JN1BJ1CP9KW520205   Nissan       ROGUE               CLEARWATER                FL
121737   JN1BJ1CP9KW524125   Nissan       ROGUE               ORLANDO                   FL
121738   JN1BJ1CPXHW035838   Nissan       ROGUE               MEMPHIS                   TN
121739   JN1BJ1CPXJW100337   Nissan       ROGUE               ORLANDO                   FL
121740   JN1BJ1CPXJW104260   Nissan       ROGUE               FORT MYERS                FL
121741   JN1BJ1CPXJW105540   Nissan       ROGUE               TAMPA                     FL
121742   JN1BJ1CPXJW108860   Nissan       ROGUE               WARWICK                   RI
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121743   JN1BJ1CPXJW150364   Nissan       ROGUE               BURBANK                   CA
121744   JN1BJ1CPXJW150719   Nissan       ROGUE               BURBANK                   CA
121745   JN1BJ1CPXJW150848   Nissan       ROGUE               TALLAHASSEE               FL
121746   JN1BJ1CPXJW162448   Nissan       ROGUE               TAMPA                     FL
121747   JN1BJ1CPXJW192114   Nissan       ROGUE               Clearwater                FL
121748   JN1BJ1CPXJW192484   Nissan       ROGUE               FORT LAUDERDALE           FL
121749   JN1BJ1CPXJW500656   Nissan       ROGUE               WEST PALM BEACH           FL
121750   JN1BJ1CPXKW213786   Nissan       ROGUE               Hapeville                 GA
121751   JN1BJ1CPXKW219975   Nissan       ROGUE               Houston                   TX
121752   JN1BJ1CPXKW219992   Nissan       ROGUE               MIAMI                     FL
121753   JN1BJ1CPXKW520410   Nissan       ROGUE               ORLANDO                   FL
121754   JN1BJ1CPXKW522450   Nissan       ROGUE               ORLANDO                   FL
121755   JN1BJ1CR0JW207799   Nissan       ROGUE               LOS ANGELES               CA
121756   JN1BJ1CR0JW208404   Nissan       ROGUE               Johnston                  RI
121757   JN1BJ1CR0JW251155   Nissan       ROGUE               COLLEGE PARK              GA
121758   JN1BJ1CR1JW206385   Nissan       ROGUE               DETROIT                   MI
121759   JN1BJ1CR1JW251102   Nissan       ROGUE               ORLANDO                   FL
121760   JN1BJ1CR2JW206511   Nissan       ROGUE               SAVANNAH                  GA
121761   JN1BJ1CR2JW207156   Nissan       ROGUE               DETROIT                   MI
121762   JN1BJ1CR2JW208162   Nissan       ROGUE               DALLAS                    TX
121763   JN1BJ1CR2JW251111   Nissan       ROGUE               SALT LAKE CITY            UT
121764   JN1BJ1CR2JW292421   Nissan       ROGUE               TAMPA                     FL
121765   JN1BJ1CR2JW294489   Nissan       ROGUE               LOUISVILLE                KY
121766   JN1BJ1CR2KW315441   Nissan       ROGUE               DANIA BEACH               FL
121767   JN1BJ1CR3JW208509   Nissan       ROGUE               Hebron                    KY
121768   JN1BJ1CR3JW250176   Nissan       ROGUE               SANTA ANA                 CA
121769   JN1BJ1CR3JW255250   Nissan       ROGUE               TRACY                     CA
121770   JN1BJ1CR3JW259234   Nissan       ROGUE               Fontana                   CA
121771   JN1BJ1CR4JW205490   Nissan       ROGUE               FORT MYERS                FL
121772   JN1BJ1CR4JW250199   Nissan       ROGUE               STERLING                  VA
121773   JN1BJ1CR4JW250381   Nissan       ROGUE               North Dighton             MA
121774   JN1BJ1CR4JW250834   Nissan       ROGUE               HANOVER                   MD
121775   JN1BJ1CR4JW251143   Nissan       ROGUE               North Dighton             MA
121776   JN1BJ1CR4JW251238   Nissan       ROGUE               ORLANDO                   FL
121777   JN1BJ1CR4JW254530   Nissan       ROGUE               Chicago                   IL
121778   JN1BJ1CR4JW254589   Nissan       ROGUE               Atlanta                   GA
121779   JN1BJ1CR5JW251331   Nissan       ROGUE               FT. LAUDERDALE            FL
121780   JN1BJ1CR5JW251359   Nissan       ROGUE               CENTRAL DIST OFFC         OK
121781   JN1BJ1CR6JW207953   Nissan       ROGUE               WEST COLUMBIA             SC
121782   JN1BJ1CR6JW250947   Nissan       ROGUE               DECATUR                   GA
121783   JN1BJ1CR6JW251225   Nissan       ROGUE               NEWARK                    NY
121784   JN1BJ1CR7JW250746   Nissan       ROGUE               MATTHEWS                  NC
121785   JN1BJ1CR7JW294150   Nissan       ROGUE               KNOXVILLE                 TN
121786   JN1BJ1CR8JW207226   Nissan       ROGUE               LAS VEGAS                 NV
121787   JN1BJ1CR8JW260508   Nissan       ROGUE               DANIA BEACH               FL
121788   JN1BJ1CR9JW207154   Nissan       ROGUE               TAMPA                     FL
121789   JN1BJ1CR9JW207199   Nissan       ROGUE               DETROIT                   MI
121790   JN1BJ1CR9JW208773   Nissan       ROGUE               Louisville                KY
121791   JN1BJ1CR9JW251056   Nissan       ROGUE               St. Louis                 MO
121792   JN1BJ1CR9JW251283   Nissan       ROGUE               BURBANK                   CA
121793   JN1BJ1CR9JW294134   Nissan       ROGUE               Omaha                     NE
121794   JN1BJ1CV0LW256808   Nissan       ROGUE               Oklahoma City             OK
121795   JN1BJ1CV0LW542304   Nissan       ROGUE               LOS ANGELES               CA
121796   JN1BJ1CV2LW261718   Nissan       ROGUE               Tulsa                     OK
121797   JN1BJ1CV3LW256012   Nissan       ROGUE               FORT MYERS                FL
121798   JN1BJ1CV3LW256074   Nissan       ROGUE               FORT MYERS                FL
121799   JN1BJ1CV6LW255999   Nissan       ROGUE               FORT MYERS                FL
121800   JN1BJ1CV6LW257364   Nissan       ROGUE               FORT MYERS                FL
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121801   JN1BJ1CV6LW262290   Nissan       ROGUE               Tulsa                     OK
121802   JN1BJ1CV6LW541884   Nissan       ROGUE               Florence                  MS
121803   JN1BJ1CV7LW256143   Nissan       ROGUE               FORT MYERS                FL
121804   JN1BJ1CV8LW256636   Nissan       ROGUE               FORT MYERS                FL
121805   JN1BJ1CV9LW256628   Nissan       ROGUE               FORT MYERS                FL
121806   JN1BJ1CVXLW261174   Nissan       ROGUE               FORT MYERS                FL
121807   JN1BJ1CW1LW374861   Nissan       ROGUE               LOS ANGELES               CA
121808   JN1BY1AP0JM180600   Nissan       Q70                 North Las Vegas           NV
121809   JN1BY1AP2HM741471   Nissan       Q70                 DANIA                     FL
121810   JN1BY1AP2JM181120   Nissan       Q70                 HONOLULU                  HI
121811   JN1BY1AP3JM181255   Nissan       Q70                 San Diego                 CA
121812   JN1BY1AP7HM741031   Nissan       Q70                 Dania                     FL
121813   JN1BY1AP7JM180948   Nissan       Q70                 Rochester                 NY
121814   JN1BY1AP7JM181047   Nissan       Q70                 SARASOTA                  FL
121815   JN1BY1AP7JM181128   Nissan       Q70                 KAHULUI                   HI
121816   JN1BY1AP7JM181162   Nissan       Q70                 JACKSONVILLE              FL
121817   JN1BY1AP9JM181079   Nissan       Q70                 HONOLULU                  HI
121818   JN1BY1APXHM740620   Nissan       Q70                 LOS ANGELES               CA
121819   JN1BY1APXJM180961   Nissan       Q70                 Manheim                   PA
121820   JN1BY1AR3JM220864   Nissan       Q70                 HONOLULU                  HI
121821   JN1BY1AR4JM220873   Nissan       Q70                 KAHULUI                   HI
121822   JN1BY1AR9JM220867   Nissan       Q70                 KAHULUI                   HI
121823   JN1BY1ARXJM220277   Nissan       Q70                 BURBANK                   CA
121824   JN1EV7AP0KM517597   Nissan       Q50                 ALBUQUERQUE               NM
121825   JN1EV7AP1JM591464   Nissan       Q50                 TAMPA                     FL
121826   JN1EV7AP1JM591545   Nissan       Q50                 SEATAC                    WA
121827   JN1EV7AP2KM515866   Nissan       Q50                 NEW BERN                  NC
121828   JN1EV7AP2KM517777   Nissan       Q50                 LOS ANGELES AP            CA
121829   JN1EV7AP3JM590140   Nissan       Q50                 SACRAMENTO                CA
121830   JN1EV7AP3JM590185   Nissan       Q50                 MARIETTA                  GA
121831   JN1EV7AP3KM515536   Nissan       Q50                 MIAMI                     FL
121832   JN1EV7AP4JM361515   Nissan       Q50                 Slidell                   LA
121833   JN1EV7AP4JM590325   Nissan       Q50                 BRONX                     NY
121834   JN1EV7AP4KM515755   Nissan       Q50                 TAMPA                     FL
121835   JN1EV7AP5JM590060   Nissan       Q50                 WEST PALM BEACH           FL
121836   JN1EV7AP5JM591614   Nissan       Q50                 WEST PALM BEACH           FL
121837   JN1EV7AP5KM515635   Nissan       Q50                 Hebron                    KY
121838   JN1EV7AP6JM358504   Nissan       Q50                 CHICAGO O'HARE AP         IL
121839   JN1EV7AP6JM361483   Nissan       Q50                 FAYETTEVILLE              GA
121840   JN1EV7AP6JM365114   Nissan       Q50                 Kent                      WA
121841   JN1EV7AP6JM590360   Nissan       Q50                 SEATTLE                   WA
121842   JN1EV7AP6JM591590   Nissan       Q50                 Lake Elsinore             CA
121843   JN1EV7AP7JM363243   Nissan       Q50                 Revere                    MA
121844   JN1EV7AP7KM515720   Nissan       Q50                 ORLANDO                   FL
121845   JN1EV7AP7KM515748   Nissan       Q50                 WEST PALM BEACH           FL
121846   JN1EV7AP7KM517631   Nissan       Q50                 PALM SPRINGS              CA
121847   JN1EV7AP8KM517881   Nissan       Q50                 LOS ANGELES               CA
121848   JN1EV7APXJM591429   Nissan       Q50                 SEATAC                    WA
121849   JN1EV7APXKM515713   Nissan       Q50                 Sarasota                  FL
121850   JN1EV7APXKM517803   Nissan       Q50                 Salt Lake City            UT
121851   JN1EV7AR0JM610796   Nissan       Q50                 KAHULUI                   HI
121852   JN1EV7AR0JM610829   Nissan       Q50                 Honolulu                  HI
121853   JN1EV7AR0JM610913   Nissan       Q50                 HONOLULU                  HI
121854   JN1EV7AR0JM611060   Nissan       Q50                 HONOLULU                  HI
121855   JN1EV7AR0KM557678   Nissan       Q50                 LOS ANGELES               CA
121856   JN1EV7AR0KM558829   Nissan       Q50                 Costa Mesa                CA
121857   JN1EV7AR1JM610869   Nissan       Q50                 KAHULUI                   HI
121858   JN1EV7AR1KM557740   Nissan       Q50                 PASADENA                  CA
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121859   JN1EV7AR2JM610783   Nissan       Q50                 Kahului                   HI
121860   JN1EV7AR2JM610797   Nissan       Q50                 HONOLULU                  HI
121861   JN1EV7AR2JM610802   Nissan       Q50                 Kahului                   HI
121862   JN1EV7AR2JM610850   Nissan       Q50                 KAHULUI                   HI
121863   JN1EV7AR2JM610878   Nissan       Q50                 KAHULUI                   HI
121864   JN1EV7AR2JM610895   Nissan       Q50                 Honolulu                  HI
121865   JN1EV7AR2KM557441   Nissan       Q50                 OAKLAND                   CA
121866   JN1EV7AR2KM557844   Nissan       Q50                 LOS ANGELES               CA
121867   JN1EV7AR2KM558539   Nissan       Q50                 North Dighton             MA
121868   JN1EV7AR3JM432060   Nissan       Q50                 Ventura                   CA
121869   JN1EV7AR3JM610775   Nissan       Q50                 KAHULUI                   HI
121870   JN1EV7AR3JM610789   Nissan       Q50                 KAHULUI MAUI              HI
121871   JN1EV7AR3JM610825   Nissan       Q50                 Kahului                   HI
121872   JN1EV7AR3JM610873   Nissan       Q50                 Honolulu                  HI
121873   JN1EV7AR3JM610906   Nissan       Q50                 Kahului                   HI
121874   JN1EV7AR3JM611084   Nissan       Q50                 HONOLULU                  HI
121875   JN1EV7AR3JM611103   Nissan       Q50                 Honolulu                  HI
121876   JN1EV7AR3KM557593   Nissan       Q50                 Riverside                 CA
121877   JN1EV7AR3KM558825   Nissan       Q50                 Roseville                 CA
121878   JN1EV7AR4JM443603   Nissan       Q50                 San Diego                 CA
121879   JN1EV7AR4JM610865   Nissan       Q50                 HONOLULU                  HI
121880   JN1EV7AR4JM611062   Nissan       Q50                 Honolulu                  HI
121881   JN1EV7AR4JM611109   Nissan       Q50                 HONOLULU                  HI
121882   JN1EV7AR4KM557568   Nissan       Q50                 Riverside                 CA
121883   JN1EV7AR4KM558817   Nissan       Q50                 PHOENIX                   AZ
121884   JN1EV7AR4KM559692   Nissan       Q50                 RALEIGH                   NC
121885   JN1EV7AR5JM610776   Nissan       Q50                 Kahului                   HI
121886   JN1EV7AR5JM610891   Nissan       Q50                 Honolulu                  HI
121887   JN1EV7AR5KM557515   Nissan       Q50                 OXNARD AP                 CA
121888   JN1EV7AR5KM557952   Nissan       Q50                 LAS VEGAS                 NV
121889   JN1EV7AR5KM558373   Nissan       Q50                 WEST PALM BEACH           FL
121890   JN1EV7AR6JM610995   Nissan       Q50                 Atlanta                   GA
121891   JN1EV7AR6KM557748   Nissan       Q50                 LAS VEGAS                 NV
121892   JN1EV7AR6KM557751   Nissan       Q50                 Tampa                     FL
121893   JN1EV7AR6KM558026   Nissan       Q50                 ONTARIO, RIVERSIDE        CA
121894   JN1EV7AR6KM558222   Nissan       Q50                 Pasadena                  CA
121895   JN1EV7AR6KM558494   Nissan       Q50                 LOS ANGELES               CA
121896   JN1EV7AR7JM440761   Nissan       Q50                 TUCSON                    AZ
121897   JN1EV7AR7JM610813   Nissan       Q50                 KAHULUI                   HI
121898   JN1EV7AR7JM610844   Nissan       Q50                 Kahului                   HI
121899   JN1EV7AR7JM610892   Nissan       Q50                 KAHULUI                   HI
121900   JN1EV7AR7KM557709   Nissan       Q50                 SAN FRANCISCO             CA
121901   JN1EV7AR8JM610870   Nissan       Q50                 Kahului                   HI
121902   JN1EV7AR8JM611016   Nissan       Q50                 HONOLULU                  HI
121903   JN1EV7AR8KM557637   Nissan       Q50                 OAKLAND                   CA
121904   JN1EV7AR8KM558027   Nissan       Q50                 SANTA ANA                 CA
121905   JN1EV7AR8KM558481   Nissan       Q50                 LOS ANGELES AP            CA
121906   JN1EV7AR8KM559615   Nissan       Q50                 STERLING                  VA
121907   JN1EV7AR8KM559677   Nissan       Q50                 North Dighton             MA
121908   JN1EV7AR9JM610778   Nissan       Q50                 KAHULUI                   HI
121909   JN1EV7AR9JM610800   Nissan       Q50                 KAHULUI                   HI
121910   JN1EV7AR9JM610991   Nissan       Q50                 HONOLULU                  HI
121911   JN1EV7AR9KM557761   Nissan       Q50                 BURBANK                   CA
121912   JN1EV7AR9KM558473   Nissan       Q50                 Warwick                   RI
121913   JN1EV7ARXJM441659   Nissan       Q50                 KNOXVILLE                 TN
121914   JN1EV7ARXJM443069   Nissan       Q50                 CHICAGO O'HARE AP         IL
121915   JN1EV7ARXJM611079   Nissan       Q50                 Honolulu                  HI
121916   JN1EV7ARXJM611082   Nissan       Q50                 Honolulu                  HI
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121917   JN1EV7ARXJM611096   Nissan       Q50                 Norwalk                      CA
121918   JN1EV7ARXKM558028   Nissan       Q50                 LOS ANGELES                  CA
121919   JN1EV7ARXKM558434   Nissan       Q50                 Caledonia                    WI
121920   JN1EV7EK2JM341391   Nissan       Q60                 Grove City                   OH
121921   JN1EV7EK3JM340864   Nissan       Q60                 DANIA                        FL
121922   JN1EV7EK3JM341917   Nissan       Q60                 WOODS CROSS                  US
121923   JN1EV7EK3JM342338   Nissan       Q60                 North Las Vegas              NV
121924   JN1EV7EK4JM342669   Nissan       Q60                 Aurora                       CO
121925   JN1EV7EK5JM341689   Nissan       Q60                 Grove City                   OH
121926   JN1EV7EK6JM342690   Nissan       Q60                 LAS VEGAS                    NV
121927   JN1EV7EK8JM342495   Nissan       Q60                 Maple Grove                  MN
121928   JN1EV7EKXJM341820   Nissan       Q60                 PHOENIX                      AZ
121929   JN1EV7EKXJM342336   Nissan       Q60                 Santa Clara                  CA
121930   JN1EV7EKXJM342546   Nissan       Q60                 MIAMI                        FL
121931   JN1EV7EL3JM392228   Nissan       Q60                 Houston                      TX
121932   JN1EV7EL4JM391444   Nissan       Q60                 Slidell                      LA
121933   JN1EV7EL5HM553740   Nissan       Q60                 INDIANAPOLIS                 IN
121934   JN1EV7EL9JM390855   Nissan       Q60                 PHOENIX                      AZ
121935   JN8AE2KP0H9168504   Nissan       QUEST               HAYWARD                      CA
121936   JN8AE2KP0H9170348   Nissan       QUEST               TRACY                        CA
121937   JN8AE2KP1H9170293   Nissan       QUEST               SAN FRANCISCO                CA
121938   JN8AE2KP4H9167002   Nissan       QUEST               CHEEKTOWAGA                  NY
121939   JN8AE2KP7H9170301   Nissan       QUEST               Hayward                      CA
121940   JN8AE2KP8H9170307   Nissan       QUEST               S. San Francisc              CA
121941   JN8AE2KPXH9170311   Nissan       QUEST               TRACY                        CA
121942   JN8AS5MV0FW771358   Nissan       ROGUE               WASHINGTON DC, NATIONAL AP   DC
121943   JN8AT2MT0HW130854   Nissan       ROGUE               Mira Loma                    CA
121944   JN8AT2MT0HW392325   Nissan       ROGUE               BURBANK                      CA
121945   JN8AT2MT0JW450116   Nissan       ROGUE               Miami                        FL
121946   JN8AT2MT0JW451816   Nissan       ROGUE               Elkridge                     MD
121947   JN8AT2MT0JW452089   Nissan       ROGUE               LAS VEGAS                    NV
121948   JN8AT2MT0JW453050   Nissan       ROGUE               HARVEY                       LA
121949   JN8AT2MT0JW453212   Nissan       ROGUE               DANIA BEACH                  FL
121950   JN8AT2MT0JW454148   Nissan       ROGUE               DANIA BEACH                  FL
121951   JN8AT2MT0JW465294   Nissan       ROGUE               Maple Grove                  MN
121952   JN8AT2MT0JW465392   Nissan       ROGUE               Kahului                      HI
121953   JN8AT2MT0JW465506   Nissan       ROGUE               Honolulu                     HI
121954   JN8AT2MT0JW465523   Nissan       ROGUE               TRACY                        CA
121955   JN8AT2MT0JW465778   Nissan       ROGUE               TRACY                        CA
121956   JN8AT2MT0JW465828   Nissan       ROGUE               KAHULUI                      HI
121957   JN8AT2MT0JW465943   Nissan       ROGUE               TRACY                        CA
121958   JN8AT2MT0LW010593   Nissan       ROGUE               FORT MYERS                   FL
121959   JN8AT2MT0LW010979   Nissan       ROGUE               SOUTHEAST DST OFFC           OK
121960   JN8AT2MT0LW011257   Nissan       ROGUE               Clearwater                   FL
121961   JN8AT2MT0LW011369   Nissan       ROGUE               Harvey                       LA
121962   JN8AT2MT0LW011470   Nissan       ROGUE               Las Vegas                    NV
121963   JN8AT2MT0LW011548   Nissan       ROGUE               Houston                      TX
121964   JN8AT2MT0LW011761   Nissan       ROGUE               Tulsa                        OK
121965   JN8AT2MT0LW012098   Nissan       ROGUE               Austin                       TX
121966   JN8AT2MT0LW038278   Nissan       ROGUE               DAYTONA BEACH                FL
121967   JN8AT2MT0LW038300   Nissan       ROGUE               FORT LAUDERDALE              FL
121968   JN8AT2MT0LW038426   Nissan       ROGUE               JACKSONVILLE                 FL
121969   JN8AT2MT0LW038538   Nissan       ROGUE               FT. LAUDERDALE               FL
121970   JN8AT2MT0LW038717   Nissan       ROGUE               ORLANDO                      FL
121971   JN8AT2MT0LW038720   Nissan       ROGUE               ORLANDO                      FL
121972   JN8AT2MT0LW038765   Nissan       ROGUE               FT LAUDERDALE                FL
121973   JN8AT2MT0LW038796   Nissan       ROGUE               ORLANDO                      FL
121974   JN8AT2MT0LW038829   Nissan       ROGUE               JACKSONVILLE                 FL
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121975   JN8AT2MT0LW038846   Nissan       ROGUE               FORT MYERS                FL
121976   JN8AT2MT0LW038927   Nissan       ROGUE               HOLLY HILL                FL
121977   JN8AT2MT0LW038930   Nissan       ROGUE               ORLANDO                   FL
121978   JN8AT2MT0LW038958   Nissan       ROGUE               ORLANDO                   FL
121979   JN8AT2MT0LW038961   Nissan       ROGUE               ORLANDO                   FL
121980   JN8AT2MT0LW038975   Nissan       ROGUE               ORLANDO                   FL
121981   JN8AT2MT0LW038992   Nissan       ROGUE               MIAMI                     FL
121982   JN8AT2MT0LW039141   Nissan       ROGUE               ORLANDO                   FL
121983   JN8AT2MT0LW039172   Nissan       ROGUE               FORT MYERS                FL
121984   JN8AT2MT0LW039205   Nissan       ROGUE               WEST PALM BEACH           FL
121985   JN8AT2MT0LW039219   Nissan       ROGUE               FORT MYERS                FL
121986   JN8AT2MT0LW039222   Nissan       ROGUE               ORLANDO                   FL
121987   JN8AT2MT0LW039253   Nissan       ROGUE               ORLANDO                   FL
121988   JN8AT2MT0LW039284   Nissan       ROGUE               ORLANDO                   FL
121989   JN8AT2MT0LW039298   Nissan       ROGUE               MIAMI                     FL
121990   JN8AT2MT0LW039317   Nissan       ROGUE               ORLANDO                   FL
121991   JN8AT2MT0LW039379   Nissan       ROGUE               ALBUQUERQUE               NM
121992   JN8AT2MT0LW039396   Nissan       ROGUE               JACKSONVILLE              FL
121993   JN8AT2MT0LW039401   Nissan       ROGUE               ORLANDO                   FL
121994   JN8AT2MT0LW039446   Nissan       ROGUE               ORLANDO                   FL
121995   JN8AT2MT0LW039463   Nissan       ROGUE               ONTARIO                   CA
121996   JN8AT2MT0LW039530   Nissan       ROGUE               FORT LAUDERDALE           FL
121997   JN8AT2MT0LW039544   Nissan       ROGUE               JACKSONVILLE              FL
121998   JN8AT2MT0LW039558   Nissan       ROGUE               WEST PALM BEACH           FL
121999   JN8AT2MT0LW039561   Nissan       ROGUE               FORT LAUDERDALE           FL
122000   JN8AT2MT0LW039575   Nissan       ROGUE               JACKSONVILLE              FL
122001   JN8AT2MT0LW039589   Nissan       ROGUE               MIAMI                     FL
122002   JN8AT2MT0LW039592   Nissan       ROGUE               ORLANDO                   FL
122003   JN8AT2MT0LW039608   Nissan       ROGUE               FORT LAUDERDALE           FL
122004   JN8AT2MT0LW039611   Nissan       ROGUE               WEST PALM BEACH           FL
122005   JN8AT2MT0LW039639   Nissan       ROGUE               ORLANDO                   FL
122006   JN8AT2MT0LW039673   Nissan       ROGUE               MIAMI                     FL
122007   JN8AT2MT0LW039687   Nissan       ROGUE               FORT MYERS                FL
122008   JN8AT2MT0LW039706   Nissan       ROGUE               TAMPA                     FL
122009   JN8AT2MT0LW039804   Nissan       ROGUE               FORT MYERS                FL
122010   JN8AT2MT0LW039835   Nissan       ROGUE               FORT MYERS                FL
122011   JN8AT2MT0LW039933   Nissan       ROGUE               FORT MYERS                FL
122012   JN8AT2MT0LW039978   Nissan       ROGUE               JACKSONVILLE              FL
122013   JN8AT2MT0LW039995   Nissan       ROGUE               MIAMI                     FL
122014   JN8AT2MT0LW040063   Nissan       ROGUE               ORLANDO                   FL
122015   JN8AT2MT0LW040113   Nissan       ROGUE               TAMPA                     FL
122016   JN8AT2MT0LW040130   Nissan       ROGUE               FORT MYERS                FL
122017   JN8AT2MT0LW041827   Nissan       ROGUE               PHOENIX                   AZ
122018   JN8AT2MT1HW391622   Nissan       ROGUE               Davie                     FL
122019   JN8AT2MT1HW394178   Nissan       ROGUE               HANOVER                   MD
122020   JN8AT2MT1JW452201   Nissan       ROGUE               SAN JOSE                  CA
122021   JN8AT2MT1JW452716   Nissan       ROGUE               SANTA ANA                 CA
122022   JN8AT2MT1JW465336   Nissan       ROGUE               Honolulu                  HI
122023   JN8AT2MT1JW465384   Nissan       ROGUE               S. San Francisc           CA
122024   JN8AT2MT1JW465529   Nissan       ROGUE               TRACY                     CA
122025   JN8AT2MT1JW465756   Nissan       ROGUE               SAN FRANCISCO             CA
122026   JN8AT2MT1LW010358   Nissan       ROGUE               Winter Park               FL
122027   JN8AT2MT1LW010814   Nissan       ROGUE               ORLANDO                   FL
122028   JN8AT2MT1LW010828   Nissan       ROGUE               Clearwater                FL
122029   JN8AT2MT1LW011106   Nissan       ROGUE               Leesburg                  VA
122030   JN8AT2MT1LW011140   Nissan       ROGUE               Atlanta                   GA
122031   JN8AT2MT1LW011557   Nissan       ROGUE               Harlingen                 TX
122032   JN8AT2MT1LW011655   Nissan       ROGUE               Houston                   TX
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122033   JN8AT2MT1LW011770   Nissan       ROGUE               Austin                    TX
122034   JN8AT2MT1LW011851   Nissan       ROGUE               WEST PALM BEACH           FL
122035   JN8AT2MT1LW012062   Nissan       ROGUE               Warr Acres                OK
122036   JN8AT2MT1LW038404   Nissan       ROGUE               WEST PALM BEACH           FL
122037   JN8AT2MT1LW038502   Nissan       ROGUE               TAMPA                     FL
122038   JN8AT2MT1LW038662   Nissan       ROGUE               TAMPA                     FL
122039   JN8AT2MT1LW038726   Nissan       ROGUE               STERLING                  VA
122040   JN8AT2MT1LW038743   Nissan       ROGUE               HARTFORD                  CT
122041   JN8AT2MT1LW038984   Nissan       ROGUE               NEWARK                    NJ
122042   JN8AT2MT1LW038998   Nissan       ROGUE               WEST PALM BEACH           FL
122043   JN8AT2MT1LW039066   Nissan       ROGUE               ORLANDO                   FL
122044   JN8AT2MT1LW039164   Nissan       ROGUE               ORLANDO                   FL
122045   JN8AT2MT1LW039214   Nissan       ROGUE               FORT MYERS                FL
122046   JN8AT2MT1LW039293   Nissan       ROGUE               ORLANDO                   FL
122047   JN8AT2MT1LW039326   Nissan       ROGUE               ORLANDO                   FL
122048   JN8AT2MT1LW039391   Nissan       ROGUE               ORLANDO                   FL
122049   JN8AT2MT1LW039486   Nissan       ROGUE               ORLANDO                   FL
122050   JN8AT2MT1LW039522   Nissan       ROGUE               FORT LAUDERDALE           FL
122051   JN8AT2MT1LW039536   Nissan       ROGUE               JACKSONVILLE              FL
122052   JN8AT2MT1LW039553   Nissan       ROGUE               FORT LAUDERDALE           FL
122053   JN8AT2MT1LW039598   Nissan       ROGUE               FORT LAUDERDALE           FL
122054   JN8AT2MT1LW039617   Nissan       ROGUE               WEST PALM BEACH           FL
122055   JN8AT2MT1LW039620   Nissan       ROGUE               JACKSONVILLE              FL
122056   JN8AT2MT1LW039634   Nissan       ROGUE               FORT MYERS                FL
122057   JN8AT2MT1LW039648   Nissan       ROGUE               WEST PALM BEACH           FL
122058   JN8AT2MT1LW039651   Nissan       ROGUE               FORT MYERS                FL
122059   JN8AT2MT1LW039679   Nissan       ROGUE               TAMPA                     FL
122060   JN8AT2MT1LW039696   Nissan       ROGUE               TAMPA                     FL
122061   JN8AT2MT1LW039732   Nissan       ROGUE               ORLANDO                   FL
122062   JN8AT2MT1LW039746   Nissan       ROGUE               WARWICK                   RI
122063   JN8AT2MT1LW039861   Nissan       ROGUE               MIAMI                     FL
122064   JN8AT2MT1LW039908   Nissan       ROGUE               FORT MYERS                FL
122065   JN8AT2MT1LW039942   Nissan       ROGUE               JACKSONVILLE              FL
122066   JN8AT2MT1LW039956   Nissan       ROGUE               MIAMI                     FL
122067   JN8AT2MT1LW040010   Nissan       ROGUE               FORT MYERS                FL
122068   JN8AT2MT1LW040055   Nissan       ROGUE               FORT MYERS                FL
122069   JN8AT2MT1LW040136   Nissan       ROGUE               FORT MYERS                FL
122070   JN8AT2MT1LW041786   Nissan       ROGUE               PHOENIX                   AZ
122071   JN8AT2MT1LW041934   Nissan       ROGUE               Phoenix                   AZ
122072   JN8AT2MT2HW131309   Nissan       ROGUE               LOS ANGELES               CA
122073   JN8AT2MT2JW450442   Nissan       ROGUE               LAS VEGAS                 NV
122074   JN8AT2MT2JW450635   Nissan       ROGUE               BURBANK                   CA
122075   JN8AT2MT2JW450912   Nissan       ROGUE               HANOVER                   MD
122076   JN8AT2MT2JW452885   Nissan       ROGUE               LOS ANGELES               CA
122077   JN8AT2MT2JW453972   Nissan       ROGUE               FORT LAUDERDALE           FL
122078   JN8AT2MT2JW465460   Nissan       ROGUE               Hayward                   CA
122079   JN8AT2MT2JW465524   Nissan       ROGUE               KAHULUI                   HI
122080   JN8AT2MT2JW465605   Nissan       ROGUE               TRACY                     CA
122081   JN8AT2MT2JW465636   Nissan       ROGUE               TRACY                     CA
122082   JN8AT2MT2JW465670   Nissan       ROGUE               TRACY                     CA
122083   JN8AT2MT2JW465698   Nissan       ROGUE               PLEASANTON                CA
122084   JN8AT2MT2JW465832   Nissan       ROGUE               SAN FRANCISCO             CA
122085   JN8AT2MT2LW010319   Nissan       ROGUE               Cincinnati                OH
122086   JN8AT2MT2LW010322   Nissan       ROGUE               Marietta                  GA
122087   JN8AT2MT2LW010336   Nissan       ROGUE               Tampa                     FL
122088   JN8AT2MT2LW010594   Nissan       ROGUE               ORLANDO                   FL
122089   JN8AT2MT2LW010966   Nissan       ROGUE               Atlanta                   GA
122090   JN8AT2MT2LW010997   Nissan       ROGUE               Rockville Centr           NY
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122091   JN8AT2MT2LW011101   Nissan       ROGUE               Clearwater                FL
122092   JN8AT2MT2LW011258   Nissan       ROGUE               Atlanta                   GA
122093   JN8AT2MT2LW011308   Nissan       ROGUE               Richmond                  VA
122094   JN8AT2MT2LW011311   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
122095   JN8AT2MT2LW011390   Nissan       ROGUE               Dallas                    TX
122096   JN8AT2MT2LW011406   Nissan       ROGUE               Houston                   TX
122097   JN8AT2MT2LW011471   Nissan       ROGUE               BATON ROUGE               LA
122098   JN8AT2MT2LW011504   Nissan       ROGUE               Euless                    TX
122099   JN8AT2MT2LW011857   Nissan       ROGUE               Houston                   TX
122100   JN8AT2MT2LW035429   Nissan       ROGUE               FORT LAUDERDALE           FL
122101   JN8AT2MT2LW036175   Nissan       ROGUE               ORLANDO                   FL
122102   JN8AT2MT2LW038394   Nissan       ROGUE               PORTLAND                  ME
122103   JN8AT2MT2LW038444   Nissan       ROGUE               INDIANAPOLIS              IN
122104   JN8AT2MT2LW038542   Nissan       ROGUE               BUFFALO                   NY
122105   JN8AT2MT2LW038637   Nissan       ROGUE               WEST PALM BEACH           FL
122106   JN8AT2MT2LW038735   Nissan       ROGUE               ORLANDO                   FL
122107   JN8AT2MT2LW038783   Nissan       ROGUE               TAMPA                     FL
122108   JN8AT2MT2LW038881   Nissan       ROGUE               WEST PALM BEACH           FL
122109   JN8AT2MT2LW038900   Nissan       ROGUE               FORT LAUDERDALE           FL
122110   JN8AT2MT2LW038931   Nissan       ROGUE               ORLANDO                   FL
122111   JN8AT2MT2LW038976   Nissan       ROGUE               TUCSON                    AZ
122112   JN8AT2MT2LW039013   Nissan       ROGUE               WEST PALM BEACH           FL
122113   JN8AT2MT2LW039030   Nissan       ROGUE               TAMPA                     FL
122114   JN8AT2MT2LW039058   Nissan       ROGUE               ORLANDO                   FL
122115   JN8AT2MT2LW039173   Nissan       ROGUE               TAMPA                     FL
122116   JN8AT2MT2LW039187   Nissan       ROGUE               FORT LAUDERDALE           FL
122117   JN8AT2MT2LW039237   Nissan       ROGUE               TAMPA                     FL
122118   JN8AT2MT2LW039321   Nissan       ROGUE               Atlanta                   GA
122119   JN8AT2MT2LW039450   Nissan       ROGUE               ORLANDO                   FL
122120   JN8AT2MT2LW039481   Nissan       ROGUE               TAMPA                     FL
122121   JN8AT2MT2LW039500   Nissan       ROGUE               MIAMI                     FL
122122   JN8AT2MT2LW039514   Nissan       ROGUE               FORT MYERS                FL
122123   JN8AT2MT2LW039528   Nissan       ROGUE               WEST PALM BEACH           FL
122124   JN8AT2MT2LW039545   Nissan       ROGUE               FORT LAUDERDALE           FL
122125   JN8AT2MT2LW039559   Nissan       ROGUE               ORLANDO                   FL
122126   JN8AT2MT2LW039593   Nissan       ROGUE               ORLANDO                   FL
122127   JN8AT2MT2LW039612   Nissan       ROGUE               JACKSONVILLE              FL
122128   JN8AT2MT2LW039657   Nissan       ROGUE               WEST PALM BEACH           FL
122129   JN8AT2MT2LW039710   Nissan       ROGUE               JACKSONVILLE              FL
122130   JN8AT2MT2LW039805   Nissan       ROGUE               FORT MYERS                FL
122131   JN8AT2MT2LW039819   Nissan       ROGUE               FORT MYERS                FL
122132   JN8AT2MT2LW039822   Nissan       ROGUE               FORT MYERS                FL
122133   JN8AT2MT2LW039836   Nissan       ROGUE               FORT MYERS                FL
122134   JN8AT2MT2LW039867   Nissan       ROGUE               MIAMI                     FL
122135   JN8AT2MT2LW039898   Nissan       ROGUE               SAVANNAH                  GA
122136   JN8AT2MT2LW039917   Nissan       ROGUE               MIAMI                     FL
122137   JN8AT2MT2LW039948   Nissan       ROGUE               ORLANDO                   FL
122138   JN8AT2MT2LW039951   Nissan       ROGUE               ORLANDO                   FL
122139   JN8AT2MT2LW039965   Nissan       ROGUE               JACKSONVILLE              FL
122140   JN8AT2MT2LW040002   Nissan       ROGUE               MIAMI                     FL
122141   JN8AT2MT2LW040100   Nissan       ROGUE               ORLANDO                   FL
122142   JN8AT2MT2LW040114   Nissan       ROGUE               ORLANDO                   FL
122143   JN8AT2MT2LW040131   Nissan       ROGUE               MIAMI                     FL
122144   JN8AT2MT2LW041862   Nissan       ROGUE               Phoenix                   AZ
122145   JN8AT2MT3GW019651   Nissan       ROGUE               NORTH PAC                 CA
122146   JN8AT2MT3HW393985   Nissan       ROGUE               DALLAS                    TX
122147   JN8AT2MT3JW452023   Nissan       ROGUE               N MIAMI BEACH             FL
122148   JN8AT2MT3JW452104   Nissan       ROGUE               LOS ANGELES               CA
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122149   JN8AT2MT3JW452765   Nissan       ROGUE               LAS VEGAS                 NV
122150   JN8AT2MT3JW465645   Nissan       ROGUE               Kahului                   HI
122151   JN8AT2MT3JW465726   Nissan       ROGUE               Fontana                   CA
122152   JN8AT2MT3JW465757   Nissan       ROGUE               PLEASANTON                CA
122153   JN8AT2MT3JW465810   Nissan       ROGUE               PLEASANTON                CA
122154   JN8AT2MT3JW465936   Nissan       ROGUE               KAHULUI                   HI
122155   JN8AT2MT3LW010278   Nissan       ROGUE               Atlanta                   GA
122156   JN8AT2MT3LW010345   Nissan       ROGUE               Orlando                   FL
122157   JN8AT2MT3LW010992   Nissan       ROGUE               KNOXVILLE                 TN
122158   JN8AT2MT3LW011236   Nissan       ROGUE               Baltimore                 MD
122159   JN8AT2MT3LW011351   Nissan       ROGUE               Denver                    CO
122160   JN8AT2MT3LW011382   Nissan       ROGUE               Live Oak                  TX
122161   JN8AT2MT3LW011530   Nissan       ROGUE               Houston                   TX
122162   JN8AT2MT3LW011835   Nissan       ROGUE               Houston                   TX
122163   JN8AT2MT3LW012046   Nissan       ROGUE               Houston                   TX
122164   JN8AT2MT3LW030126   Nissan       ROGUE               MIAMI                     FL
122165   JN8AT2MT3LW030188   Nissan       ROGUE               WEST PALM BEACH           FL
122166   JN8AT2MT3LW030353   Nissan       ROGUE               GREENVILLE                NC
122167   JN8AT2MT3LW038419   Nissan       ROGUE               MIAMI                     FL
122168   JN8AT2MT3LW038517   Nissan       ROGUE               SAVANNAH                  GA
122169   JN8AT2MT3LW038582   Nissan       ROGUE               ORLANDO                   FL
122170   JN8AT2MT3LW038632   Nissan       ROGUE               MIAMI                     FL
122171   JN8AT2MT3LW038677   Nissan       ROGUE               ORLANDO                   FL
122172   JN8AT2MT3LW038761   Nissan       ROGUE               JACKSONVILLE              FL
122173   JN8AT2MT3LW038775   Nissan       ROGUE               ORLANDO                   FL
122174   JN8AT2MT3LW038789   Nissan       ROGUE               ORLANDO                   FL
122175   JN8AT2MT3LW038811   Nissan       ROGUE               ORLANDO                   FL
122176   JN8AT2MT3LW038839   Nissan       ROGUE               FORT LAUDERDALE           FL
122177   JN8AT2MT3LW038842   Nissan       ROGUE               ORLANDO                   FL
122178   JN8AT2MT3LW038873   Nissan       ROGUE               FORT LAUDERDALE           FL
122179   JN8AT2MT3LW038887   Nissan       ROGUE               ORLANDO                   FL
122180   JN8AT2MT3LW038890   Nissan       ROGUE               ORLANDO                   FL
122181   JN8AT2MT3LW038906   Nissan       ROGUE               TALLAHASSEE               FL
122182   JN8AT2MT3LW038937   Nissan       ROGUE               HOLLY HILL                FL
122183   JN8AT2MT3LW038968   Nissan       ROGUE               TAMPA                     FL
122184   JN8AT2MT3LW038999   Nissan       ROGUE               JACKSONVILLE              FL
122185   JN8AT2MT3LW039036   Nissan       ROGUE               ORLANDO                   FL
122186   JN8AT2MT3LW039053   Nissan       ROGUE               TAMPA                     FL
122187   JN8AT2MT3LW039067   Nissan       ROGUE               TAMPA                     FL
122188   JN8AT2MT3LW039084   Nissan       ROGUE               SARASOTA                  FL
122189   JN8AT2MT3LW039148   Nissan       ROGUE               FORT MYERS                FL
122190   JN8AT2MT3LW039201   Nissan       ROGUE               JACKSONVILLE              FL
122191   JN8AT2MT3LW039215   Nissan       ROGUE               ORLANDO                   FL
122192   JN8AT2MT3LW039246   Nissan       ROGUE               FORT MYERS                FL
122193   JN8AT2MT3LW039313   Nissan       ROGUE               ORLANDO                   FL
122194   JN8AT2MT3LW039344   Nissan       ROGUE               FORT MYERS                FL
122195   JN8AT2MT3LW039487   Nissan       ROGUE               JACKSONVILLE              FL
122196   JN8AT2MT3LW039490   Nissan       ROGUE               ORLANDO                   FL
122197   JN8AT2MT3LW039554   Nissan       ROGUE               FORT MYERS                FL
122198   JN8AT2MT3LW039585   Nissan       ROGUE               ORLANDO                   FL
122199   JN8AT2MT3LW039604   Nissan       ROGUE               WEST PALM BEACH           FL
122200   JN8AT2MT3LW039621   Nissan       ROGUE               FORT MYERS                FL
122201   JN8AT2MT3LW039635   Nissan       ROGUE               JACKSONVILLE              FL
122202   JN8AT2MT3LW039649   Nissan       ROGUE               MIAMI                     FL
122203   JN8AT2MT3LW039652   Nissan       ROGUE               FORT LAUDERDALE           FL
122204   JN8AT2MT3LW039666   Nissan       ROGUE               ORLANDO                   FL
122205   JN8AT2MT3LW039733   Nissan       ROGUE               FORT MYERS                FL
122206   JN8AT2MT3LW039764   Nissan       ROGUE               FORT MYERS                FL
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122207   JN8AT2MT3LW039781   Nissan       ROGUE               TAMPA                     FL
122208   JN8AT2MT3LW039795   Nissan       ROGUE               SAVANNAH                  GA
122209   JN8AT2MT3LW039828   Nissan       ROGUE               ORLANDO                   FL
122210   JN8AT2MT3LW039859   Nissan       ROGUE               FORT MYERS                FL
122211   JN8AT2MT3LW039893   Nissan       ROGUE               SAVANNAH                  GA
122212   JN8AT2MT3LW039926   Nissan       ROGUE               MIAMI                     FL
122213   JN8AT2MT3LW039960   Nissan       ROGUE               JACKSONVILLE              FL
122214   JN8AT2MT3LW039974   Nissan       ROGUE               FORT MYERS                FL
122215   JN8AT2MT3LW040008   Nissan       ROGUE               MIAMI                     FL
122216   JN8AT2MT3LW040011   Nissan       ROGUE               MIAMI                     FL
122217   JN8AT2MT3LW040025   Nissan       ROGUE               TAMPA                     FL
122218   JN8AT2MT3LW040056   Nissan       ROGUE               ORLANDO                   FL
122219   JN8AT2MT3LW040073   Nissan       ROGUE               Miami                     FL
122220   JN8AT2MT3LW040140   Nissan       ROGUE               FORT MYERS                FL
122221   JN8AT2MT4GW020789   Nissan       ROGUE               CHICAGO                   IL
122222   JN8AT2MT4JW450717   Nissan       ROGUE               SAN CARLOS                CA
122223   JN8AT2MT4JW452211   Nissan       ROGUE               Oakland                   CA
122224   JN8AT2MT4JW453875   Nissan       ROGUE               DAYTONA BEACH             FL
122225   JN8AT2MT4JW465296   Nissan       ROGUE               Hilo                      HI
122226   JN8AT2MT4JW465427   Nissan       ROGUE               S. San Francisc           CA
122227   JN8AT2MT4JW465444   Nissan       ROGUE               LIHUE                     HI
122228   JN8AT2MT4JW465525   Nissan       ROGUE               SAN FRANCISCO             CA
122229   JN8AT2MT4JW465542   Nissan       ROGUE               Kailua Kona               HI
122230   JN8AT2MT4JW465587   Nissan       ROGUE               Fontana                   CA
122231   JN8AT2MT4JW465640   Nissan       ROGUE               TRACY                     CA
122232   JN8AT2MT4JW465699   Nissan       ROGUE               LIHUE                     HI
122233   JN8AT2MT4JW465928   Nissan       ROGUE               PLEASANTON                CA
122234   JN8AT2MT4LW010340   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
122235   JN8AT2MT4LW010452   Nissan       ROGUE               COLUMBIA                  SC
122236   JN8AT2MT4LW010662   Nissan       ROGUE               TAMPA                     FL
122237   JN8AT2MT4LW010869   Nissan       ROGUE               Memphis                   TN
122238   JN8AT2MT4LW010886   Nissan       ROGUE               Marietta                  GA
122239   JN8AT2MT4LW010905   Nissan       ROGUE               ATLANTA                   GA
122240   JN8AT2MT4LW011052   Nissan       ROGUE               Atlanta                   GA
122241   JN8AT2MT4LW011309   Nissan       ROGUE               TAMPA                     FL
122242   JN8AT2MT4LW011407   Nissan       ROGUE               Warr Acres                OK
122243   JN8AT2MT4LW011410   Nissan       ROGUE               San Antonio               TX
122244   JN8AT2MT4LW011486   Nissan       ROGUE               San Antonio               TX
122245   JN8AT2MT4LW011522   Nissan       ROGUE               Killeen                   TX
122246   JN8AT2MT4LW011665   Nissan       ROGUE               Houston                   TX
122247   JN8AT2MT4LW011682   Nissan       ROGUE               San Antonio               TX
122248   JN8AT2MT4LW011696   Nissan       ROGUE               Scottsdale                AZ
122249   JN8AT2MT4LW011794   Nissan       ROGUE               Houston                   TX
122250   JN8AT2MT4LW011987   Nissan       ROGUE               Houston                   TX
122251   JN8AT2MT4LW012024   Nissan       ROGUE               San Antonio               TX
122252   JN8AT2MT4LW030121   Nissan       ROGUE               FORT MYERS                FL
122253   JN8AT2MT4LW038252   Nissan       ROGUE               TAMPA                     FL
122254   JN8AT2MT4LW038302   Nissan       ROGUE               FORT LAUDERDALE           FL
122255   JN8AT2MT4LW038476   Nissan       ROGUE               TAMPA                     FL
122256   JN8AT2MT4LW038526   Nissan       ROGUE               TAMPA                     FL
122257   JN8AT2MT4LW038588   Nissan       ROGUE               TAMPA                     FL
122258   JN8AT2MT4LW038669   Nissan       ROGUE               TAMPA                     FL
122259   JN8AT2MT4LW038719   Nissan       ROGUE               ORLANDO                   FL
122260   JN8AT2MT4LW038770   Nissan       ROGUE               KEY WEST                  FL
122261   JN8AT2MT4LW038803   Nissan       ROGUE               WEST PALM BEACH           FL
122262   JN8AT2MT4LW038851   Nissan       ROGUE               ORLANDO                   FL
122263   JN8AT2MT4LW038879   Nissan       ROGUE               FORT LAUDERDALE           FL
122264   JN8AT2MT4LW038882   Nissan       ROGUE               ORLANDO                   FL
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122265   JN8AT2MT4LW038901   Nissan       ROGUE               WEST PALM BEACH           FL
122266   JN8AT2MT4LW038932   Nissan       ROGUE               ORLANDO                   FL
122267   JN8AT2MT4LW038994   Nissan       ROGUE               ORLANDO                   FL
122268   JN8AT2MT4LW039028   Nissan       ROGUE               ORLANDO                   FL
122269   JN8AT2MT4LW039031   Nissan       ROGUE               SANTA ANA                 CA
122270   JN8AT2MT4LW039126   Nissan       ROGUE               WEST PALM BEACH           FL
122271   JN8AT2MT4LW039174   Nissan       ROGUE               NEW YORK CITY             NY
122272   JN8AT2MT4LW039188   Nissan       ROGUE               FORT MYERS                FL
122273   JN8AT2MT4LW039241   Nissan       ROGUE               ORLANDO                   FL
122274   JN8AT2MT4LW039255   Nissan       ROGUE               ORLANDO                   FL
122275   JN8AT2MT4LW039305   Nissan       ROGUE               TAMPA                     FL
122276   JN8AT2MT4LW039370   Nissan       ROGUE               DAYTONA BEACH             FL
122277   JN8AT2MT4LW039434   Nissan       ROGUE               ORLANDO                   FL
122278   JN8AT2MT4LW039482   Nissan       ROGUE               ORLANDO                   FL
122279   JN8AT2MT4LW039496   Nissan       ROGUE               ORLANDO                   FL
122280   JN8AT2MT4LW039501   Nissan       ROGUE               MIAMI                     FL
122281   JN8AT2MT4LW039515   Nissan       ROGUE               ORLANDO                   FL
122282   JN8AT2MT4LW039563   Nissan       ROGUE               JACKSONVILLE              FL
122283   JN8AT2MT4LW039594   Nissan       ROGUE               MIAMI                     FL
122284   JN8AT2MT4LW039630   Nissan       ROGUE               FORT LAUDERDALE           FL
122285   JN8AT2MT4LW039644   Nissan       ROGUE               JACKSONVILLE              FL
122286   JN8AT2MT4LW039739   Nissan       ROGUE               TAMPA                     FL
122287   JN8AT2MT4LW039742   Nissan       ROGUE               FORT MYERS                FL
122288   JN8AT2MT4LW039790   Nissan       ROGUE               ORLANDO                   FL
122289   JN8AT2MT4LW039823   Nissan       ROGUE               FORT MYERS                FL
122290   JN8AT2MT4LW039837   Nissan       ROGUE               FORT MYERS                FL
122291   JN8AT2MT4LW039854   Nissan       ROGUE               SAVANNAH                  GA
122292   JN8AT2MT4LW039871   Nissan       ROGUE               JACKSONVILLE              FL
122293   JN8AT2MT4LW039935   Nissan       ROGUE               JACKSONVILLE              FL
122294   JN8AT2MT4LW039949   Nissan       ROGUE               JACKSONVILLE              FL
122295   JN8AT2MT4LW039983   Nissan       ROGUE               JACKSONVILLE              FL
122296   JN8AT2MT4LW040017   Nissan       ROGUE               FORT MYERS                FL
122297   JN8AT2MT4LW040096   Nissan       ROGUE               JACKSONVILLE              FL
122298   JN8AT2MT4LW040115   Nissan       ROGUE               MIAMI                     FL
122299   JN8AT2MT4LW041927   Nissan       ROGUE               Phoenix                   AZ
122300   JN8AT2MT5GW017819   Nissan       ROGUE               SEATAC                    WA
122301   JN8AT2MT5GW022356   Nissan       ROGUE               KENNER                    LA
122302   JN8AT2MT5HW134589   Nissan       ROGUE               Phoenix                   AZ
122303   JN8AT2MT5HW391994   Nissan       ROGUE               Kent                      WA
122304   JN8AT2MT5JW450760   Nissan       ROGUE               STERLING                  VA
122305   JN8AT2MT5JW450838   Nissan       ROGUE               BURBANK                   CA
122306   JN8AT2MT5JW451391   Nissan       ROGUE               Tampa                     FL
122307   JN8AT2MT5JW452685   Nissan       ROGUE               NORTH PAC                 CA
122308   JN8AT2MT5JW453691   Nissan       ROGUE               WEST PALM BEACH           FL
122309   JN8AT2MT5JW465355   Nissan       ROGUE               WAIMEA                    HI
122310   JN8AT2MT5JW465565   Nissan       ROGUE               Hilo                      HI
122311   JN8AT2MT5JW465789   Nissan       ROGUE               Hayward                   CA
122312   JN8AT2MT5JW465839   Nissan       ROGUE               Fontana                   CA
122313   JN8AT2MT5LW010282   Nissan       ROGUE               ATLANTA                   GA
122314   JN8AT2MT5LW010363   Nissan       ROGUE               El Segundo                CA
122315   JN8AT2MT5LW010539   Nissan       ROGUE               Houston                   TX
122316   JN8AT2MT5LW010668   Nissan       ROGUE               Winter Park               FL
122317   JN8AT2MT5LW011092   Nissan       ROGUE               PHILADELPHIA              PA
122318   JN8AT2MT5LW011304   Nissan       ROGUE               Atlanta                   GA
122319   JN8AT2MT5LW011318   Nissan       ROGUE               Atlanta                   GA
122320   JN8AT2MT5LW011397   Nissan       ROGUE               AUSTIN                    TX
122321   JN8AT2MT5LW011481   Nissan       ROGUE               Houston                   TX
122322   JN8AT2MT5LW011738   Nissan       ROGUE               Chicago                   IL
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122323   JN8AT2MT5LW011769   Nissan       ROGUE               Houston                   TX
122324   JN8AT2MT5LW011917   Nissan       ROGUE               Killeen                   TX
122325   JN8AT2MT5LW012131   Nissan       ROGUE               Manheim                   PA
122326   JN8AT2MT5LW030242   Nissan       ROGUE               FORT LAUDERDALE           FL
122327   JN8AT2MT5LW038308   Nissan       ROGUE               ORLANDO                   FL
122328   JN8AT2MT5LW038390   Nissan       ROGUE               TAMPA                     FL
122329   JN8AT2MT5LW038504   Nissan       ROGUE               TAMPA                     FL
122330   JN8AT2MT5LW038602   Nissan       ROGUE               FORT MYERS                FL
122331   JN8AT2MT5LW038647   Nissan       ROGUE               TAMPA                     FL
122332   JN8AT2MT5LW038650   Nissan       ROGUE               ORLANDO                   FL
122333   JN8AT2MT5LW038664   Nissan       ROGUE               TAMPA                     FL
122334   JN8AT2MT5LW038681   Nissan       ROGUE               ORLANDO                   FL
122335   JN8AT2MT5LW038714   Nissan       ROGUE               TAMPA                     FL
122336   JN8AT2MT5LW038728   Nissan       ROGUE               TAMPA                     FL
122337   JN8AT2MT5LW038812   Nissan       ROGUE               FORT MYERS                FL
122338   JN8AT2MT5LW038860   Nissan       ROGUE               WEST PALM BEACH           FL
122339   JN8AT2MT5LW038888   Nissan       ROGUE               TAMPA                     FL
122340   JN8AT2MT5LW038941   Nissan       ROGUE               TAMPA                     FL
122341   JN8AT2MT5LW038955   Nissan       ROGUE               ORLANDO                   FL
122342   JN8AT2MT5LW038972   Nissan       ROGUE               ORLANDO                   FL
122343   JN8AT2MT5LW039006   Nissan       ROGUE               SARASOTA                  FL
122344   JN8AT2MT5LW039023   Nissan       ROGUE               FORT LAUDERDALE           FL
122345   JN8AT2MT5LW039037   Nissan       ROGUE               SARASOTA                  FL
122346   JN8AT2MT5LW039121   Nissan       ROGUE               FORT MYERS                FL
122347   JN8AT2MT5LW039166   Nissan       ROGUE               FORT MYERS                FL
122348   JN8AT2MT5LW039197   Nissan       ROGUE               FORT MYERS                FL
122349   JN8AT2MT5LW039250   Nissan       ROGUE               TAMPA                     FL
122350   JN8AT2MT5LW039295   Nissan       ROGUE               ORLANDO                   FL
122351   JN8AT2MT5LW039328   Nissan       ROGUE               ALBANY                    NY
122352   JN8AT2MT5LW039457   Nissan       ROGUE               ORLANDO                   FL
122353   JN8AT2MT5LW039474   Nissan       ROGUE               ORLANDO                   FL
122354   JN8AT2MT5LW039488   Nissan       ROGUE               ORLANDO                   FL
122355   JN8AT2MT5LW039491   Nissan       ROGUE               ORLANDO                   FL
122356   JN8AT2MT5LW039524   Nissan       ROGUE               ORLANDO                   FL
122357   JN8AT2MT5LW039555   Nissan       ROGUE               WEST PALM BEACH           FL
122358   JN8AT2MT5LW039569   Nissan       ROGUE               WEST PALM BEACH           FL
122359   JN8AT2MT5LW039605   Nissan       ROGUE               MIAMI                     FL
122360   JN8AT2MT5LW039636   Nissan       ROGUE               MIAMI                     FL
122361   JN8AT2MT5LW039653   Nissan       ROGUE               JACKSONVILLE              FL
122362   JN8AT2MT5LW039667   Nissan       ROGUE               TAMPA                     FL
122363   JN8AT2MT5LW039670   Nissan       ROGUE               FORT MYERS                FL
122364   JN8AT2MT5LW039684   Nissan       ROGUE               WEST PALM BEACH           FL
122365   JN8AT2MT5LW039698   Nissan       ROGUE               TAMPA                     FL
122366   JN8AT2MT5LW039703   Nissan       ROGUE               TAMPA                     FL
122367   JN8AT2MT5LW039832   Nissan       ROGUE               ORLANDO                   FL
122368   JN8AT2MT5LW039894   Nissan       ROGUE               SAVANNAH                  GA
122369   JN8AT2MT5LW039913   Nissan       ROGUE               FORT MYERS                FL
122370   JN8AT2MT5LW039961   Nissan       ROGUE               MIAMI                     FL
122371   JN8AT2MT5LW039975   Nissan       ROGUE               FORT MYERS                FL
122372   JN8AT2MT5LW039989   Nissan       ROGUE               MIAMI                     FL
122373   JN8AT2MT5LW040009   Nissan       ROGUE               MIAMI                     FL
122374   JN8AT2MT5LW040074   Nissan       ROGUE               SAVANNAH                  GA
122375   JN8AT2MT5LW040110   Nissan       ROGUE               KNOXVILLE                 TN
122376   JN8AT2MT5LW040124   Nissan       ROGUE               FORT MYERS                FL
122377   JN8AT2MT6GW015416   Nissan       ROGUE               Matteson                  IL
122378   JN8AT2MT6HW149750   Nissan       ROGUE               BURBANK                   CA
122379   JN8AT2MT6JW450301   Nissan       ROGUE               MIAMI                     FL
122380   JN8AT2MT6JW451769   Nissan       ROGUE               BURBANK                   CA
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122381   JN8AT2MT6JW465364   Nissan       ROGUE               BURBANK                   CA
122382   JN8AT2MT6JW465459   Nissan       ROGUE               North Las Vegas           NV
122383   JN8AT2MT6JW465462   Nissan       ROGUE               Fontana                   CA
122384   JN8AT2MT6JW465557   Nissan       ROGUE               SAN FRANCISCO             CA
122385   JN8AT2MT6JW465560   Nissan       ROGUE               TRACY                     CA
122386   JN8AT2MT6JW465624   Nissan       ROGUE               PLEASANTON                CA
122387   JN8AT2MT6JW465641   Nissan       ROGUE               Maple Grove               MN
122388   JN8AT2MT6JW465803   Nissan       ROGUE               Beaverton                 OR
122389   JN8AT2MT6JW465865   Nissan       ROGUE               Kahului                   HI
122390   JN8AT2MT6LW010274   Nissan       ROGUE               JACKSONVILLE              FL
122391   JN8AT2MT6LW010596   Nissan       ROGUE               Baltimore                 MD
122392   JN8AT2MT6LW010839   Nissan       ROGUE               Atlanta                   GA
122393   JN8AT2MT6LW011036   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
122394   JN8AT2MT6LW011098   Nissan       ROGUE               TAMPA                     US
122395   JN8AT2MT6LW011215   Nissan       ROGUE               Atlanta                   GA
122396   JN8AT2MT6LW011330   Nissan       ROGUE               Memphis                   TN
122397   JN8AT2MT6LW011618   Nissan       ROGUE               Denver                    CO
122398   JN8AT2MT6LW011859   Nissan       ROGUE               Riverside                 CA
122399   JN8AT2MT6LW011991   Nissan       ROGUE               Riverside                 CA
122400   JN8AT2MT6LW012039   Nissan       ROGUE               Houston                   TX
122401   JN8AT2MT6LW030184   Nissan       ROGUE               MIAMI                     FL
122402   JN8AT2MT6LW036227   Nissan       ROGUE               ORLANDO                   FL
122403   JN8AT2MT6LW038303   Nissan       ROGUE               Miami                     FL
122404   JN8AT2MT6LW038477   Nissan       ROGUE               TAMPA                     FL
122405   JN8AT2MT6LW038558   Nissan       ROGUE               MIAMI                     FL
122406   JN8AT2MT6LW038575   Nissan       ROGUE               ORLANDO                   FL
122407   JN8AT2MT6LW038611   Nissan       ROGUE               ORLANDO                   FL
122408   JN8AT2MT6LW038656   Nissan       ROGUE               ORLANDO                   FL
122409   JN8AT2MT6LW038799   Nissan       ROGUE               WEST PALM BEACH           FL
122410   JN8AT2MT6LW038804   Nissan       ROGUE               WEST PALM BEACH           FL
122411   JN8AT2MT6LW038821   Nissan       ROGUE               CORAL SPRINGS             FL
122412   JN8AT2MT6LW038849   Nissan       ROGUE               ORLANDO                   FL
122413   JN8AT2MT6LW038866   Nissan       ROGUE               ORLANDO                   FL
122414   JN8AT2MT6LW038897   Nissan       ROGUE               FORT LAUDERDALE           FL
122415   JN8AT2MT6LW038950   Nissan       ROGUE               ORLANDO                   FL
122416   JN8AT2MT6LW038978   Nissan       ROGUE               ORLANDO                   FL
122417   JN8AT2MT6LW039015   Nissan       ROGUE               ORLANDO                   FL
122418   JN8AT2MT6LW039029   Nissan       ROGUE               ORLANDO                   FL
122419   JN8AT2MT6LW039063   Nissan       ROGUE               ORLANDO                   FL
122420   JN8AT2MT6LW039080   Nissan       ROGUE               ORLANDO                   FL
122421   JN8AT2MT6LW039113   Nissan       ROGUE               ORLANDO                   FL
122422   JN8AT2MT6LW039144   Nissan       ROGUE               MIAMI                     FL
122423   JN8AT2MT6LW039175   Nissan       ROGUE               ORLANDO                   FL
122424   JN8AT2MT6LW039208   Nissan       ROGUE               MIAMI                     FL
122425   JN8AT2MT6LW039239   Nissan       ROGUE               FORT MYERS                FL
122426   JN8AT2MT6LW039256   Nissan       ROGUE               TAMPA                     FL
122427   JN8AT2MT6LW039287   Nissan       ROGUE               FORT MYERS                FL
122428   JN8AT2MT6LW039306   Nissan       ROGUE               MELBOURNE AP              FL
122429   JN8AT2MT6LW039354   Nissan       ROGUE               ORLANDO                   FL
122430   JN8AT2MT6LW039371   Nissan       ROGUE               FORT MYERS                FL
122431   JN8AT2MT6LW039404   Nissan       ROGUE               PORTLAND                  ME
122432   JN8AT2MT6LW039435   Nissan       ROGUE               ORLANDO                   FL
122433   JN8AT2MT6LW039550   Nissan       ROGUE               WEST PALM BEACH           FL
122434   JN8AT2MT6LW039581   Nissan       ROGUE               FORT MYERS                FL
122435   JN8AT2MT6LW039595   Nissan       ROGUE               JACKSONVILLE              FL
122436   JN8AT2MT6LW039614   Nissan       ROGUE               SAVANNAH                  GA
122437   JN8AT2MT6LW039628   Nissan       ROGUE               WEST PALM BEACH           FL
122438   JN8AT2MT6LW039631   Nissan       ROGUE               WEST PALM BEACH           FL
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122439   JN8AT2MT6LW039645   Nissan       ROGUE               WEST PALM BEACH           FL
122440   JN8AT2MT6LW039659   Nissan       ROGUE               WEST PALM BEACH           FL
122441   JN8AT2MT6LW039662   Nissan       ROGUE               WEST PALM BEACH           FL
122442   JN8AT2MT6LW039709   Nissan       ROGUE               FORT MYERS                FL
122443   JN8AT2MT6LW039712   Nissan       ROGUE               JACKSONVILLE              FL
122444   JN8AT2MT6LW039743   Nissan       ROGUE               ORLANDO                   FL
122445   JN8AT2MT6LW039760   Nissan       ROGUE               FORT MYERS                FL
122446   JN8AT2MT6LW039791   Nissan       ROGUE               FORT MYERS                FL
122447   JN8AT2MT6LW039807   Nissan       ROGUE               MIAMI                     FL
122448   JN8AT2MT6LW039824   Nissan       ROGUE               TAMPA                     FL
122449   JN8AT2MT6LW039838   Nissan       ROGUE               FORT MYERS                FL
122450   JN8AT2MT6LW039905   Nissan       ROGUE               Miami                     FL
122451   JN8AT2MT6LW039953   Nissan       ROGUE               FORT MYERS                FL
122452   JN8AT2MT6LW039984   Nissan       ROGUE               ORLANDO                   FL
122453   JN8AT2MT6LW039998   Nissan       ROGUE               MIAMI                     FL
122454   JN8AT2MT6LW040004   Nissan       ROGUE               ORLANDO                   FL
122455   JN8AT2MT6LW040018   Nissan       ROGUE               FORT MYERS                FL
122456   JN8AT2MT6LW040035   Nissan       ROGUE               TAMPA                     FL
122457   JN8AT2MT6LW040066   Nissan       ROGUE               TAMPA                     FL
122458   JN8AT2MT6LW040083   Nissan       ROGUE               SAVANNAH                  GA
122459   JN8AT2MT6LW040133   Nissan       ROGUE               MIAMI                     FL
122460   JN8AT2MT6LW041833   Nissan       ROGUE               Phoenix                   AZ
122461   JN8AT2MT7HW393889   Nissan       ROGUE               BURBANK                   CA
122462   JN8AT2MT7JW450159   Nissan       ROGUE               DALLAS                    TX
122463   JN8AT2MT7JW453594   Nissan       ROGUE               ORLANDO                   FL
122464   JN8AT2MT7JW465325   Nissan       ROGUE               SAN FRANCISCO             CA
122465   JN8AT2MT7JW465387   Nissan       ROGUE               TRACY                     CA
122466   JN8AT2MT7JW465485   Nissan       ROGUE               Kahului                   HI
122467   JN8AT2MT7JW465812   Nissan       ROGUE               Hayward                   CA
122468   JN8AT2MT7LW010798   Nissan       ROGUE               Warr Acres                OK
122469   JN8AT2MT7LW010901   Nissan       ROGUE               Atlanta                   GA
122470   JN8AT2MT7LW011224   Nissan       ROGUE               TAMPA                     US
122471   JN8AT2MT7LW011384   Nissan       ROGUE               Houston                   TX
122472   JN8AT2MT7LW011658   Nissan       ROGUE               Florissant                MO
122473   JN8AT2MT7LW011837   Nissan       ROGUE               San Antonio               TX
122474   JN8AT2MT7LW011904   Nissan       ROGUE               EULESS                    TX
122475   JN8AT2MT7LW011918   Nissan       ROGUE               Dallas                    TX
122476   JN8AT2MT7LW038312   Nissan       ROGUE               JACKSONVILLE              FL
122477   JN8AT2MT7LW038469   Nissan       ROGUE               SARASOTA                  FL
122478   JN8AT2MT7LW038472   Nissan       ROGUE               WEST PALM BEACH           FL
122479   JN8AT2MT7LW038505   Nissan       ROGUE               BUFFALO                   NY
122480   JN8AT2MT7LW038567   Nissan       ROGUE               ORLANDO                   FL
122481   JN8AT2MT7LW038570   Nissan       ROGUE               FORT MYERS                FL
122482   JN8AT2MT7LW038598   Nissan       ROGUE               INDIANAPOLIS              IN
122483   JN8AT2MT7LW038617   Nissan       ROGUE               WEST PALM BEACH           FL
122484   JN8AT2MT7LW038679   Nissan       ROGUE               TAMPA                     FL
122485   JN8AT2MT7LW038729   Nissan       ROGUE               JACKSONVILLE              FL
122486   JN8AT2MT7LW038732   Nissan       ROGUE               ORLANDO                   FL
122487   JN8AT2MT7LW038892   Nissan       ROGUE               ORLANDO                   FL
122488   JN8AT2MT7LW038942   Nissan       ROGUE               ORLANDO                   FL
122489   JN8AT2MT7LW038956   Nissan       ROGUE               MIAMI                     FL
122490   JN8AT2MT7LW038973   Nissan       ROGUE               ORLANDO                   FL
122491   JN8AT2MT7LW038990   Nissan       ROGUE               MEMPHIS                   TN
122492   JN8AT2MT7LW039007   Nissan       ROGUE               ORLANDO                   FL
122493   JN8AT2MT7LW039153   Nissan       ROGUE               ORLANDO                   FL
122494   JN8AT2MT7LW039167   Nissan       ROGUE               ORLANDO                   FL
122495   JN8AT2MT7LW039198   Nissan       ROGUE               ORLANDO                   FL
122496   JN8AT2MT7LW039220   Nissan       ROGUE               FORT LAUDERDALE           FL
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122497   JN8AT2MT7LW039265   Nissan       ROGUE               ORLANDO                   FL
122498   JN8AT2MT7LW039282   Nissan       ROGUE               FORT MYERS                FL
122499   JN8AT2MT7LW039413   Nissan       ROGUE               JACKSONVILLE              FL
122500   JN8AT2MT7LW039458   Nissan       ROGUE               FORT LAUDERDALE           FL
122501   JN8AT2MT7LW039489   Nissan       ROGUE               JACKSONVILLE              FL
122502   JN8AT2MT7LW039511   Nissan       ROGUE               FORT LAUDERDALE           FL
122503   JN8AT2MT7LW039525   Nissan       ROGUE               FORT LAUDERDALE           FL
122504   JN8AT2MT7LW039539   Nissan       ROGUE               COLUMBIA                  SC
122505   JN8AT2MT7LW039542   Nissan       ROGUE               FORT LAUDERDALE           FL
122506   JN8AT2MT7LW039587   Nissan       ROGUE               FORT LAUDERDALE           FL
122507   JN8AT2MT7LW039606   Nissan       ROGUE               ORLANDO                   FL
122508   JN8AT2MT7LW039623   Nissan       ROGUE               FORT LAUDERDALE           FL
122509   JN8AT2MT7LW039637   Nissan       ROGUE               JACKSONVILLE              FL
122510   JN8AT2MT7LW039640   Nissan       ROGUE               FORT MYERS                FL
122511   JN8AT2MT7LW039654   Nissan       ROGUE               WEST PALM BEACH           FL
122512   JN8AT2MT7LW039671   Nissan       ROGUE               FORT MYERS                FL
122513   JN8AT2MT7LW039685   Nissan       ROGUE               MILWAUKEE                 WI
122514   JN8AT2MT7LW039721   Nissan       ROGUE               ORLANDO                   FL
122515   JN8AT2MT7LW039802   Nissan       ROGUE               TAMPA                     FL
122516   JN8AT2MT7LW039864   Nissan       ROGUE               MIAMI                     FL
122517   JN8AT2MT7LW039881   Nissan       ROGUE               WEST PALM BEACH           FL
122518   JN8AT2MT7LW039895   Nissan       ROGUE               SAVANNAH                  GA
122519   JN8AT2MT7LW039914   Nissan       ROGUE               SAVANNAH                  GA
122520   JN8AT2MT7LW039931   Nissan       ROGUE               JACKSONVILLE              FL
122521   JN8AT2MT7LW039962   Nissan       ROGUE               FORT MYERS                FL
122522   JN8AT2MT7LW040061   Nissan       ROGUE               SAVANNAH                  GA
122523   JN8AT2MT7LW040075   Nissan       ROGUE               Miami                     FL
122524   JN8AT2MT7LW040111   Nissan       ROGUE               TAMPA                     FL
122525   JN8AT2MT7LW040139   Nissan       ROGUE               Miami                     FL
122526   JN8AT2MT7LW040142   Nissan       ROGUE               ORLANDO                   FL
122527   JN8AT2MT7LW041825   Nissan       ROGUE               Phoenix                   AZ
122528   JN8AT2MT7LW041839   Nissan       ROGUE               PHOENIX                   AZ
122529   JN8AT2MT8HW406620   Nissan       ROGUE               Schaumburg                IL
122530   JN8AT2MT8JW450980   Nissan       ROGUE               CHICAGO                   IL
122531   JN8AT2MT8JW451322   Nissan       ROGUE               HANOVER                   MD
122532   JN8AT2MT8JW453121   Nissan       ROGUE               STERLING                  VA
122533   JN8AT2MT8JW465611   Nissan       ROGUE               SAN FRANCISCO             CA
122534   JN8AT2MT8JW465690   Nissan       ROGUE               TRACY                     CA
122535   JN8AT2MT8LW010289   Nissan       ROGUE               Clearwater                FL
122536   JN8AT2MT8LW010292   Nissan       ROGUE               N. Palm Beach             FL
122537   JN8AT2MT8LW010597   Nissan       ROGUE               Miami                     FL
122538   JN8AT2MT8LW010695   Nissan       ROGUE               MIAMI                     FL
122539   JN8AT2MT8LW010941   Nissan       ROGUE               ATLANTA                   GA
122540   JN8AT2MT8LW011068   Nissan       ROGUE               Atlanta                   GA
122541   JN8AT2MT8LW011085   Nissan       ROGUE               Richmond                  VA
122542   JN8AT2MT8LW011779   Nissan       ROGUE               Atlanta                   GA
122543   JN8AT2MT8LW011796   Nissan       ROGUE               Dallas                    TX
122544   JN8AT2MT8LW012091   Nissan       ROGUE               Houston                   TX
122545   JN8AT2MT8LW012138   Nissan       ROGUE               Austin                    TX
122546   JN8AT2MT8LW030221   Nissan       ROGUE               FORT LAUDERDALE           FL
122547   JN8AT2MT8LW038240   Nissan       ROGUE               MIAMI                     FL
122548   JN8AT2MT8LW038335   Nissan       ROGUE               ORLANDO                   FL
122549   JN8AT2MT8LW038397   Nissan       ROGUE               FORT MYERS                FL
122550   JN8AT2MT8LW038416   Nissan       ROGUE               JACKSONVILLE              FL
122551   JN8AT2MT8LW038481   Nissan       ROGUE               ORLANDO                   FL
122552   JN8AT2MT8LW038626   Nissan       ROGUE               WINTER PARK               FL
122553   JN8AT2MT8LW038660   Nissan       ROGUE               FORT MYERS                FL
122554   JN8AT2MT8LW038710   Nissan       ROGUE               TAMPA                     FL
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122555   JN8AT2MT8LW038769   Nissan       ROGUE               DENVER                    CO
122556   JN8AT2MT8LW038853   Nissan       ROGUE               KEY WEST                  FL
122557   JN8AT2MT8LW038867   Nissan       ROGUE               MIAMI                     FL
122558   JN8AT2MT8LW038903   Nissan       ROGUE               ORLANDO                   FL
122559   JN8AT2MT8LW038951   Nissan       ROGUE               ORLANDO                   FL
122560   JN8AT2MT8LW038982   Nissan       ROGUE               FORT MYERS                FL
122561   JN8AT2MT8LW038996   Nissan       ROGUE               MIAMI                     FL
122562   JN8AT2MT8LW039016   Nissan       ROGUE               TAMPA                     FL
122563   JN8AT2MT8LW039081   Nissan       ROGUE               ORLANDO                   FL
122564   JN8AT2MT8LW039145   Nissan       ROGUE               ORLANDO                   FL
122565   JN8AT2MT8LW039162   Nissan       ROGUE               HOUSTON                   TX
122566   JN8AT2MT8LW039176   Nissan       ROGUE               FORT MYERS                FL
122567   JN8AT2MT8LW039193   Nissan       ROGUE               FORT MYERS                FL
122568   JN8AT2MT8LW039209   Nissan       ROGUE               FORT MYERS                FL
122569   JN8AT2MT8LW039212   Nissan       ROGUE               WEST PALM BEACH           FL
122570   JN8AT2MT8LW039226   Nissan       ROGUE               TAMPA                     FL
122571   JN8AT2MT8LW039419   Nissan       ROGUE               ORLANDO                   FL
122572   JN8AT2MT8LW039517   Nissan       ROGUE               JACKSONVILLE              FL
122573   JN8AT2MT8LW039520   Nissan       ROGUE               WEST PALM BEACH           FL
122574   JN8AT2MT8LW039548   Nissan       ROGUE               MIAMI                     FL
122575   JN8AT2MT8LW039551   Nissan       ROGUE               FORT MYERS                FL
122576   JN8AT2MT8LW039582   Nissan       ROGUE               FORT LAUDERDALE           FL
122577   JN8AT2MT8LW039596   Nissan       ROGUE               JACKSONVILLE              FL
122578   JN8AT2MT8LW039601   Nissan       ROGUE               JACKSONVILLE              FL
122579   JN8AT2MT8LW039632   Nissan       ROGUE               ORLANDO                   FL
122580   JN8AT2MT8LW039727   Nissan       ROGUE               WEST PALM BEACH           FL
122581   JN8AT2MT8LW039825   Nissan       ROGUE               TAMPA                     FL
122582   JN8AT2MT8LW039842   Nissan       ROGUE               MIAMI                     FL
122583   JN8AT2MT8LW039887   Nissan       ROGUE               FORT MYERS                FL
122584   JN8AT2MT8LW039923   Nissan       ROGUE               MIAMI                     FL
122585   JN8AT2MT8LW039937   Nissan       ROGUE               JACKSONVILLE              FL
122586   JN8AT2MT8LW039954   Nissan       ROGUE               MIAMI                     FL
122587   JN8AT2MT8LW039971   Nissan       ROGUE               TALLAHASSEE               FL
122588   JN8AT2MT8LW040019   Nissan       ROGUE               Tampa                     FL
122589   JN8AT2MT8LW040067   Nissan       ROGUE               ORLANDO                   FL
122590   JN8AT2MT8LW041848   Nissan       ROGUE               PHOENIX                   AZ
122591   JN8AT2MT8LW041865   Nissan       ROGUE               Phoenix                   AZ
122592   JN8AT2MT9HW132487   Nissan       ROGUE               Atlanta                   GA
122593   JN8AT2MT9HW387057   Nissan       ROGUE               Miami                     FL
122594   JN8AT2MT9JW450244   Nissan       ROGUE               CHICAGO                   IL
122595   JN8AT2MT9JW450423   Nissan       ROGUE               Des Plaines               IL
122596   JN8AT2MT9JW452771   Nissan       ROGUE               NORTH PAC                 CA
122597   JN8AT2MT9JW452866   Nissan       ROGUE               Santa Clara               CA
122598   JN8AT2MT9JW453239   Nissan       ROGUE               HANOVER                   MD
122599   JN8AT2MT9JW465360   Nissan       ROGUE               Beaverton                 OR
122600   JN8AT2MT9JW465469   Nissan       ROGUE               TRACY                     CA
122601   JN8AT2MT9JW465486   Nissan       ROGUE               Hayward                   CA
122602   JN8AT2MT9JW465505   Nissan       ROGUE               SAN FRANCISCO             CA
122603   JN8AT2MT9JW465519   Nissan       ROGUE               Maple Grove               MN
122604   JN8AT2MT9JW465570   Nissan       ROGUE               Hilo                      HI
122605   JN8AT2MT9JW465603   Nissan       ROGUE               TRACY                     CA
122606   JN8AT2MT9JW465648   Nissan       ROGUE               TRACY                     CA
122607   JN8AT2MT9JW465682   Nissan       ROGUE               Hayward                   CA
122608   JN8AT2MT9JW465696   Nissan       ROGUE               TRACY                     CA
122609   JN8AT2MT9JW465858   Nissan       ROGUE               TRACY                     CA
122610   JN8AT2MT9LW010253   Nissan       ROGUE               Schaumburg                IL
122611   JN8AT2MT9LW010267   Nissan       ROGUE               TAMPA                     FL
122612   JN8AT2MT9LW010284   Nissan       ROGUE               Winter Park               FL
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122613   JN8AT2MT9LW010298   Nissan       ROGUE               Hapeville                 GA
122614   JN8AT2MT9LW010592   Nissan       ROGUE               Stone Mountain            GA
122615   JN8AT2MT9LW011113   Nissan       ROGUE               Atlanta                   GA
122616   JN8AT2MT9LW011144   Nissan       ROGUE               Richmond                  VA
122617   JN8AT2MT9LW011466   Nissan       ROGUE               Hamilton                  OH
122618   JN8AT2MT9LW011483   Nissan       ROGUE               CHICAGO                   IL
122619   JN8AT2MT9LW011578   Nissan       ROGUE               Houston                   TX
122620   JN8AT2MT9LW011709   Nissan       ROGUE               Houston                   TX
122621   JN8AT2MT9LW011838   Nissan       ROGUE               Dallas                    TX
122622   JN8AT2MT9LW038344   Nissan       ROGUE               ORLANDO                   FL
122623   JN8AT2MT9LW038425   Nissan       ROGUE               ORLANDO                   FL
122624   JN8AT2MT9LW038439   Nissan       ROGUE               TAMPA                     FL
122625   JN8AT2MT9LW038635   Nissan       ROGUE               WEST PALM BEACH           FL
122626   JN8AT2MT9LW038666   Nissan       ROGUE               ORLANDO                   FL
122627   JN8AT2MT9LW038747   Nissan       ROGUE               TAMPA                     FL
122628   JN8AT2MT9LW038764   Nissan       ROGUE               ORLANDO                   FL
122629   JN8AT2MT9LW038828   Nissan       ROGUE               JACKSONVILLE              FL
122630   JN8AT2MT9LW038960   Nissan       ROGUE               FORT MYERS                FL
122631   JN8AT2MT9LW038991   Nissan       ROGUE               ORLANDO                   FL
122632   JN8AT2MT9LW039073   Nissan       ROGUE               ORLANDO                   FL
122633   JN8AT2MT9LW039154   Nissan       ROGUE               TAMPA                     FL
122634   JN8AT2MT9LW039168   Nissan       ROGUE               ORLANDO                   FL
122635   JN8AT2MT9LW039218   Nissan       ROGUE               FORT MYERS                FL
122636   JN8AT2MT9LW039249   Nissan       ROGUE               TAMPA                     FL
122637   JN8AT2MT9LW039297   Nissan       ROGUE               ORLANDO                   FL
122638   JN8AT2MT9LW039316   Nissan       ROGUE               ORLANDO                   FL
122639   JN8AT2MT9LW039459   Nissan       ROGUE               ORLANDO                   FL
122640   JN8AT2MT9LW039476   Nissan       ROGUE               WEST PALM BEACH           FL
122641   JN8AT2MT9LW039493   Nissan       ROGUE               ORLANDO                   FL
122642   JN8AT2MT9LW039557   Nissan       ROGUE               MIAMI                     FL
122643   JN8AT2MT9LW039607   Nissan       ROGUE               FORT LAUDERDALE           FL
122644   JN8AT2MT9LW039610   Nissan       ROGUE               ORLANDO                   FL
122645   JN8AT2MT9LW039624   Nissan       ROGUE               JACKSONVILLE              FL
122646   JN8AT2MT9LW039641   Nissan       ROGUE               FORT LAUDERDALE           FL
122647   JN8AT2MT9LW039672   Nissan       ROGUE               TAMPA                     FL
122648   JN8AT2MT9LW039753   Nissan       ROGUE               WEST PALM BEACH           FL
122649   JN8AT2MT9LW039767   Nissan       ROGUE               FORT MYERS                FL
122650   JN8AT2MT9LW039803   Nissan       ROGUE               FORT LAUDERDALE           FL
122651   JN8AT2MT9LW039820   Nissan       ROGUE               WEST PALM BEACH           FL
122652   JN8AT2MT9LW039834   Nissan       ROGUE               FORT MYERS                FL
122653   JN8AT2MT9LW039946   Nissan       ROGUE               JACKSONVILLE              FL
122654   JN8AT2MT9LW039994   Nissan       ROGUE               MIAMI                     FL
122655   JN8AT2MT9LW040062   Nissan       ROGUE               FORT MYERS                FL
122656   JN8AT2MT9LW040109   Nissan       ROGUE               FORT MYERS                FL
122657   JN8AT2MT9LW040112   Nissan       ROGUE               Miami                     FL
122658   JN8AT2MT9LW040126   Nissan       ROGUE               MIAMI                     FL
122659   JN8AT2MT9LW041826   Nissan       ROGUE               PEORIA                    IL
122660   JN8AT2MT9LW041874   Nissan       ROGUE               Phoenix                   AZ
122661   JN8AT2MTXHW133714   Nissan       ROGUE
122662   JN8AT2MTXJW450155   Nissan       ROGUE               CHICAGO                   IL
122663   JN8AT2MTXJW450186   Nissan       ROGUE               TAMPA                     FL
122664   JN8AT2MTXJW451290   Nissan       ROGUE               Estero                    FL
122665   JN8AT2MTXJW453816   Nissan       ROGUE               SAN FRANCISCO             CA
122666   JN8AT2MTXJW465335   Nissan       ROGUE               Honolulu                  HI
122667   JN8AT2MTXJW465433   Nissan       ROGUE               Hayward                   CA
122668   JN8AT2MTXJW465500   Nissan       ROGUE               BURBANK                   CA
122669   JN8AT2MTXJW465528   Nissan       ROGUE               KAHULUI                   HI
122670   JN8AT2MTXJW465612   Nissan       ROGUE               Kahului                   HI
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122671   JN8AT2MTXJW465674   Nissan       ROGUE               TRACY                     CA
122672   JN8AT2MTXJW465691   Nissan       ROGUE               Kahului                   HI
122673   JN8AT2MTXJW465755   Nissan       ROGUE               Fontana                   CA
122674   JN8AT2MTXJW465867   Nissan       ROGUE               PLEASANTON                CA
122675   JN8AT2MTXLW010648   Nissan       ROGUE               Orlando                   FL
122676   JN8AT2MTXLW010908   Nissan       ROGUE               ATLANTA                   GA
122677   JN8AT2MTXLW011122   Nissan       ROGUE               Atlanta                   GA
122678   JN8AT2MTXLW011251   Nissan       ROGUE               Charleston                WV
122679   JN8AT2MTXLW011296   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
122680   JN8AT2MTXLW011590   Nissan       ROGUE               Windsor Locks             CT
122681   JN8AT2MTXLW011900   Nissan       ROGUE               Austin                    TX
122682   JN8AT2MTXLW012044   Nissan       ROGUE               Houston                   TX
122683   JN8AT2MTXLW012092   Nissan       ROGUE               SANFORD                   FL
122684   JN8AT2MTXLW038577   Nissan       ROGUE               ORLANDO                   FL
122685   JN8AT2MTXLW038594   Nissan       ROGUE               Miami                     FL
122686   JN8AT2MTXLW038689   Nissan       ROGUE               ORLANDO                   FL
122687   JN8AT2MTXLW038711   Nissan       ROGUE               WEST PALM BEACH           FL
122688   JN8AT2MTXLW038725   Nissan       ROGUE               WEST PALM BEACH           FL
122689   JN8AT2MTXLW038739   Nissan       ROGUE               TAMPA                     FL
122690   JN8AT2MTXLW038823   Nissan       ROGUE               SARASOTA                  FL
122691   JN8AT2MTXLW038840   Nissan       ROGUE               ORLANDO                   FL
122692   JN8AT2MTXLW038904   Nissan       ROGUE               TAMPA                     FL
122693   JN8AT2MTXLW038935   Nissan       ROGUE               CHARLESTON                SC
122694   JN8AT2MTXLW038949   Nissan       ROGUE               ORLANDO                   FL
122695   JN8AT2MTXLW038966   Nissan       ROGUE               TAMPA                     FL
122696   JN8AT2MTXLW038983   Nissan       ROGUE               TAMPA                     FL
122697   JN8AT2MTXLW039129   Nissan       ROGUE               ORLANDO                   FL
122698   JN8AT2MTXLW039132   Nissan       ROGUE               ORLANDO                   FL
122699   JN8AT2MTXLW039194   Nissan       ROGUE               ORLANDO                   FL
122700   JN8AT2MTXLW039230   Nissan       ROGUE               FORT MYERS                FL
122701   JN8AT2MTXLW039244   Nissan       ROGUE               CHICAGO                   IL
122702   JN8AT2MTXLW039289   Nissan       ROGUE               FORT MYERS                FL
122703   JN8AT2MTXLW039311   Nissan       ROGUE               FORT MYERS                FL
122704   JN8AT2MTXLW039356   Nissan       ROGUE               ORLANDO                   FL
122705   JN8AT2MTXLW039423   Nissan       ROGUE               ORLANDO                   FL
122706   JN8AT2MTXLW039468   Nissan       ROGUE               MIAMI                     FL
122707   JN8AT2MTXLW039499   Nissan       ROGUE               ORLANDO                   FL
122708   JN8AT2MTXLW039521   Nissan       ROGUE               ORLANDO                   FL
122709   JN8AT2MTXLW039535   Nissan       ROGUE               JACKSONVILLE              FL
122710   JN8AT2MTXLW039549   Nissan       ROGUE               JACKSONVILLE              FL
122711   JN8AT2MTXLW039552   Nissan       ROGUE               ORLANDO                   FL
122712   JN8AT2MTXLW039566   Nissan       ROGUE               WEST PALM BEACH           FL
122713   JN8AT2MTXLW039583   Nissan       ROGUE               FORT LAUDERDALE           FL
122714   JN8AT2MTXLW039602   Nissan       ROGUE               ORLANDO                   FL
122715   JN8AT2MTXLW039647   Nissan       ROGUE               WEST PALM BEACH           FL
122716   JN8AT2MTXLW039650   Nissan       ROGUE               MIAMI                     FL
122717   JN8AT2MTXLW039678   Nissan       ROGUE               ORLANDO                   FL
122718   JN8AT2MTXLW039695   Nissan       ROGUE               ORLANDO                   FL
122719   JN8AT2MTXLW039700   Nissan       ROGUE               JACKSONVILLE              FL
122720   JN8AT2MTXLW039745   Nissan       ROGUE               WEST PALM BEACH           FL
122721   JN8AT2MTXLW039759   Nissan       ROGUE               JACKSONVILLE              FL
122722   JN8AT2MTXLW039776   Nissan       ROGUE               FORT MYERS                FL
122723   JN8AT2MTXLW039793   Nissan       ROGUE               ORLANDO                   FL
122724   JN8AT2MTXLW039809   Nissan       ROGUE               TAMPA                     FL
122725   JN8AT2MTXLW039826   Nissan       ROGUE               TAMPA                     FL
122726   JN8AT2MTXLW039888   Nissan       ROGUE               FORT MYERS                FL
122727   JN8AT2MTXLW039891   Nissan       ROGUE               SAVANNAH                  GA
122728   JN8AT2MTXLW039907   Nissan       ROGUE               MIAMI                     FL
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122729   JN8AT2MTXLW039910   Nissan       ROGUE               FORT MYERS                FL
122730   JN8AT2MTXLW039955   Nissan       ROGUE               ORLANDO                   FL
122731   JN8AT2MTXLW039986   Nissan       ROGUE               FORT MYERS                FL
122732   JN8AT2MTXLW040006   Nissan       ROGUE               MIAMI                     FL
122733   JN8AT2MTXLW040023   Nissan       ROGUE               TAMPA                     FL
122734   JN8AT2MTXLW040068   Nissan       ROGUE               SAVANNAH                  GA
122735   JN8AT2MTXLW040085   Nissan       ROGUE               SAVANNAH                  GA
122736   JN8AT2MTXLW040118   Nissan       ROGUE               FORT MYERS                FL
122737   JN8AT2MV0LW138057   Nissan       ROGUE               TAMPA                     FL
122738   JN8AT2MV0LW138107   Nissan       ROGUE               TAMPA                     FL
122739   JN8AT2MV1GW152779   Nissan       ROGUE               Dallas                    TX
122740   JN8AT2MV1HW251782   Nissan       ROGUE               CHICAGO                   IL
122741   JN8AT2MV1JW300159   Nissan       ROGUE               Rio Linda                 CA
122742   JN8AT2MV1JW307774   Nissan       ROGUE               North Dighton             MA
122743   JN8AT2MV1JW317575   Nissan       ROGUE               Elkridge                  MD
122744   JN8AT2MV2LW138092   Nissan       ROGUE               TAMPA                     FL
122745   JN8AT2MV2LW138156   Nissan       ROGUE               ALBANY                    NY
122746   JN8AT2MV3GW145414   Nissan       ROGUE               DALLAS                    TX
122747   JN8AT2MV3KW389511   Nissan       ROGUE               Syracuse                  NY
122748   JN8AT2MV4GW150590   Nissan       ROGUE               CHICAGO                   IL
122749   JN8AT2MV5GW135595   Nissan       ROGUE               Indianapolis              IN
122750   JN8AT2MV5JW327879   Nissan       ROGUE               MILWAUKEE                 WI
122751   JN8AT2MV7HW270613   Nissan       ROGUE               Mira Loma                 CA
122752   JN8AT2MV7HW275570   Nissan       ROGUE               INGLEWOOD                 CA
122753   JN8AT2MV8HW001245   Nissan       ROGUE               Dallas                    TX
122754   JN8AT2MV8LW134239   Nissan       ROGUE               GLASSBORO                 NJ
122755   JN8AT2MVXGW134247   Nissan       ROGUE               CHICAGO                   IL
122756   JN8AT2MVXKW389456   Nissan       ROGUE               FORT MYERS                FL
122757   JN8AY2NC0JX501513   Nissan       ARMADA              HILO                      HI
122758   JN8AY2NC0JX501544   Nissan       ARMADA              LIHUE                     HI
122759   JN8AY2NC0JX501558   Nissan       ARMADA              HONOLULU                  HI
122760   JN8AY2NC0JX502693   Nissan       ARMADA              KAILUA‐KONA               HI
122761   JN8AY2NC0L9617043   Nissan       ARMADA              CHICAGO                   IL
122762   JN8AY2NC0L9617057   Nissan       ARMADA              CHICAGO                   IL
122763   JN8AY2NC0L9617205   Nissan       ARMADA              PORTLAND                  OR
122764   JN8AY2NC0L9617480   Nissan       ARMADA              DETROIT                   MI
122765   JN8AY2NC0L9617673   Nissan                           SANTA ANA                 CA
122766   JN8AY2NC0L9617771   Nissan                           BURBANK                   CA
122767   JN8AY2NC0L9617947   Nissan                           SAN ANTONIO               TX
122768   JN8AY2NC0L9617978   Nissan       ARMADA              DALLAS                    TX
122769   JN8AY2NC0L9618144   Nissan       ARMADA              PHOENIX                   AZ
122770   JN8AY2NC0L9618208   Nissan       ARMADA              PHOENIX                   AZ
122771   JN8AY2NC0L9618211   Nissan       ARMADA              PHOENIX                   AZ
122772   JN8AY2NC0L9618306   Nissan       ARMADA              PHOENIX                   AZ
122773   JN8AY2NC0L9618337   Nissan                           SAN DIEGO                 CA
122774   JN8AY2NC0L9618368   Nissan                           OAKLAND                   CA
122775   JN8AY2NC0L9618385   Nissan                           LOS ANGELES               CA
122776   JN8AY2NC0LX516483   Nissan       ARMADA              BOSTON                    MA
122777   JN8AY2NC0LX516502   Nissan       ARMADA              STERLING                  VA
122778   JN8AY2NC0LX516550   Nissan       ARMADA              NEWARK                    NJ
122779   JN8AY2NC0LX516709   Nissan       ARMADA              CHICAGO                   IL
122780   JN8AY2NC0LX516712   Nissan       ARMADA              CHICAGO                   IL
122781   JN8AY2NC0LX516757   Nissan       ARMADA              BOSTON                    MA
122782   JN8AY2NC0LX516760   Nissan       ARMADA              SAVANNAH                  GA
122783   JN8AY2NC0LX516807   Nissan       ARMADA              NEWARK                    NJ
122784   JN8AY2NC0LX516869   Nissan       ARMADA              CHARLOTTE                 NC
122785   JN8AY2NC0LX517116   Nissan       ARMADA              KANSAS CITY               MO
122786   JN8AY2NC0LX517147   Nissan       ARMADA              DETROIT                   MI
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122787   JN8AY2NC0LX517360   Nissan       ARMADA              PHILADELPHIA              PA
122788   JN8AY2NC0LX517410   Nissan       ARMADA              BOSTON                    MA
122789   JN8AY2NC0LX517424   Nissan       ARMADA              BOSTON                    MA
122790   JN8AY2NC0LX517441   Nissan       ARMADA              BOSTON                    MA
122791   JN8AY2NC0LX517469   Nissan       ARMADA              BOSTON                    MA
122792   JN8AY2NC0LX517505   Nissan       ARMADA              BOSTON                    MA
122793   JN8AY2NC0LX517519   Nissan       ARMADA              BOSTON                    MA
122794   JN8AY2NC0LX517536   Nissan       ARMADA              BOSTON                    MA
122795   JN8AY2NC0LX517701   Nissan       ARMADA              CHARLOTTE                 US
122796   JN8AY2NC0LX517911   Nissan       ARMADA              CHICAGO                   IL
122797   JN8AY2NC0LX517942   Nissan       ARMADA              HOUSTON                   TX
122798   JN8AY2NC0LX518010   Nissan       ARMADA              MILWAUKEE                 WI
122799   JN8AY2NC0LX518041   Nissan       ARMADA              CHICAGO                   IL
122800   JN8AY2NC0LX518086   Nissan       ARMADA              CHICAGO                   IL
122801   JN8AY2NC0LX518105   Nissan       ARMADA              CHICAGO                   IL
122802   JN8AY2NC0LX518153   Nissan       ARMADA              CHICAGO                   IL
122803   JN8AY2NC0LX518170   Nissan       ARMADA              MIAMI                     FL
122804   JN8AY2NC0LX518234   Nissan       ARMADA              PITTSBURGH                PA
122805   JN8AY2NC0LX518606   Nissan                           SAN DIEGO                 CA
122806   JN8AY2NC0LX518623   Nissan       ARMADA              CHARLOTTE                 NC
122807   JN8AY2NC0LX518637   Nissan                           SANTA ANA                 CA
122808   JN8AY2NC0LX518668   Nissan       ARMADA              CHARLOTTE                 US
122809   JN8AY2NC0LX518671   Nissan       ARMADA              CHARLOTTE                 US
122810   JN8AY2NC0LX518685   Nissan       ARMADA              CHARLOTTE                 NC
122811   JN8AY2NC0LX518704   Nissan       ARMADA              INGLEWOOD                 CA
122812   JN8AY2NC0LX518718   Nissan                           HOUSTON                   TX
122813   JN8AY2NC0LX518752   Nissan       ARMADA              DALLAS                    TX
122814   JN8AY2NC0LX518847   Nissan       ARMADA              PHOENIX                   AZ
122815   JN8AY2NC0LX518864   Nissan       ARMADA              PHOENIX                   AZ
122816   JN8AY2NC0LX518914   Nissan       ARMADA              PHOENIX                   AZ
122817   JN8AY2NC0LX519061   Nissan       ARMADA              Hebron                    KY
122818   JN8AY2NC1L9616905   Nissan       ARMADA              DETROIT                   MI
122819   JN8AY2NC1L9616936   Nissan                           SAINT LOUIS               MO
122820   JN8AY2NC1L9617049   Nissan       ARMADA              CHICAGO                   IL
122821   JN8AY2NC1L9617083   Nissan       ARMADA              CHICAGO                   IL
122822   JN8AY2NC1L9617097   Nissan       ARMADA              CHICAGO                   IL
122823   JN8AY2NC1L9617102   Nissan       ARMADA              CHICAGO                   IL
122824   JN8AY2NC1L9617228   Nissan       ARMADA              NEW BERN                  NC
122825   JN8AY2NC1L9617391   Nissan       ARMADA              Hebron                    KY
122826   JN8AY2NC1L9617410   Nissan       ARMADA              Atlanta                   GA
122827   JN8AY2NC1L9617732   Nissan                           BURBANK                   CA
122828   JN8AY2NC1L9617911   Nissan       ARMADA              DALLAS                    TX
122829   JN8AY2NC1L9617973   Nissan                           SAN ANTONIO               TX
122830   JN8AY2NC1L9617987   Nissan       ARMADA              ORLANDO                   FL
122831   JN8AY2NC1L9617990   Nissan       ARMADA              HOUSTON                   TX
122832   JN8AY2NC1L9618119   Nissan       ARMADA              Dallas                    TX
122833   JN8AY2NC1L9618346   Nissan                           SAN DIEGO                 CA
122834   JN8AY2NC1LX516458   Nissan       ARMADA              WHITE PLAINS              NY
122835   JN8AY2NC1LX516489   Nissan                           WHITE PLAINS              NY
122836   JN8AY2NC1LX516492   Nissan                           HANOVER                   MD
122837   JN8AY2NC1LX516704   Nissan       ARMADA              CHICAGO                   IL
122838   JN8AY2NC1LX516721   Nissan                           BOSTON                    MA
122839   JN8AY2NC1LX516797   Nissan       ARMADA              FORT LAUDERDALE           FL
122840   JN8AY2NC1LX516816   Nissan                           BOSTON                    MA
122841   JN8AY2NC1LX516881   Nissan       ARMADA              CHARLOTTE                 NC
122842   JN8AY2NC1LX516914   Nissan       ARMADA              BOSTON                    MA
122843   JN8AY2NC1LX517027   Nissan                           LAS VEGAS                 NV
122844   JN8AY2NC1LX517058   Nissan       ARMADA              CHICAGO                   IL
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122845   JN8AY2NC1LX517061   Nissan       ARMADA              CHICAGO                   IL
122846   JN8AY2NC1LX517089   Nissan       ARMADA              CHICAGO                   IL
122847   JN8AY2NC1LX517092   Nissan       ARMADA              CHICAGO                   IL
122848   JN8AY2NC1LX517237   Nissan       ARMADA              CHICAGO                   IL
122849   JN8AY2NC1LX517299   Nissan       ARMADA              CHICAGO                   IL
122850   JN8AY2NC1LX517352   Nissan       ARMADA              CHICAGO                   IL
122851   JN8AY2NC1LX517397   Nissan                           WARWICK                   RI
122852   JN8AY2NC1LX517416   Nissan       ARMADA              Revere                    MA
122853   JN8AY2NC1LX517450   Nissan       ARMADA              WEST COLUMBIA             SC
122854   JN8AY2NC1LX517464   Nissan       ARMADA              BOSTON, LOGAN AP          MA
122855   JN8AY2NC1LX517478   Nissan       ARMADA              BOSTON                    MA
122856   JN8AY2NC1LX517531   Nissan       ARMADA              NEWARK                    NJ
122857   JN8AY2NC1LX517545   Nissan       ARMADA              WARWICK                   RI
122858   JN8AY2NC1LX517559   Nissan       ARMADA              BOSTON                    MA
122859   JN8AY2NC1LX517691   Nissan       ARMADA              SAN FRANCISCO             CA
122860   JN8AY2NC1LX517741   Nissan       ARMADA              CHARLOTTE                 NC
122861   JN8AY2NC1LX517772   Nissan       ARMADA              BURBANK                   CA
122862   JN8AY2NC1LX517917   Nissan       ARMADA              CHICAGO                   IL
122863   JN8AY2NC1LX517920   Nissan       ARMADA              HANOVER                   MD
122864   JN8AY2NC1LX517948   Nissan       ARMADA              CHICAGO                   IL
122865   JN8AY2NC1LX517996   Nissan       ARMADA              BLOOMINGTON               IL
122866   JN8AY2NC1LX518033   Nissan       ARMADA              INDIANAPOLIS              IN
122867   JN8AY2NC1LX518226   Nissan       ARMADA              CHICAGO                   IL
122868   JN8AY2NC1LX518274   Nissan       ARMADA              MILWAUKEE                 WI
122869   JN8AY2NC1LX518632   Nissan       ARMADA              HOUSTON                   TX
122870   JN8AY2NC1LX518646   Nissan                           SAN DIEGO                 CA
122871   JN8AY2NC1LX518694   Nissan       ARMADA              Irving                    TX
122872   JN8AY2NC1LX518744   Nissan       ARMADA              DES MOINES                IA
122873   JN8AY2NC1LX518758   Nissan       ARMADA              HOUSTON                   TX
122874   JN8AY2NC1LX518775   Nissan       ARMADA              Irving                    TX
122875   JN8AY2NC1LX518789   Nissan                           Lake Elsinore             CA
122876   JN8AY2NC1LX518792   Nissan       ARMADA              LOS ANGELES               CA
122877   JN8AY2NC1LX518811   Nissan       ARMADA              DALLAS                    TX
122878   JN8AY2NC1LX518839   Nissan       ARMADA              PHOENIX                   AZ
122879   JN8AY2NC1LX518842   Nissan       ARMADA              SALT LAKE CITY            US
122880   JN8AY2NC1LX518856   Nissan       ARMADA              PHOENIX                   AZ
122881   JN8AY2NC1LX518887   Nissan       ARMADA              TUCSON                    AZ
122882   JN8AY2NC1LX518906   Nissan       ARMADA              PHOENIX                   AZ
122883   JN8AY2NC1LX518937   Nissan       ARMADA              PHOENIX                   AZ
122884   JN8AY2NC1LX519151   Nissan       ARMADA              BURLINGTON                VT
122885   JN8AY2NC2J9556954   Nissan       ARMADA              Warwick                   RI
122886   JN8AY2NC2J9557361   Nissan       ARMADA              Londonderry               NH
122887   JN8AY2NC2JX501643   Nissan       ARMADA              HILO                      HI
122888   JN8AY2NC2JX502467   Nissan       ARMADA              KALAOA                    HI
122889   JN8AY2NC2JX502758   Nissan       ARMADA              HILO                      HI
122890   JN8AY2NC2L9616895   Nissan       ARMADA              JAMAICA                   NY
122891   JN8AY2NC2L9616900   Nissan       ARMADA              Portland                  ME
122892   JN8AY2NC2L9616931   Nissan                           BOSTON                    MA
122893   JN8AY2NC2L9616945   Nissan       ARMADA              DETROIT                   MI
122894   JN8AY2NC2L9616959   Nissan                           NORFOLK                   VA
122895   JN8AY2NC2L9617108   Nissan       ARMADA              CHICAGO                   IL
122896   JN8AY2NC2L9617125   Nissan       ARMADA              CHICAGO                   IL
122897   JN8AY2NC2L9617271   Nissan       ARMADA              BOSTON                    MA
122898   JN8AY2NC2L9617366   Nissan       ARMADA              Reno                      NV
122899   JN8AY2NC2L9617447   Nissan       ARMADA              CHICAGO                   IL
122900   JN8AY2NC2L9617710   Nissan       ARMADA              SANTA ANA                 CA
122901   JN8AY2NC2L9617741   Nissan       ARMADA              HOUSTON                   TX
122902   JN8AY2NC2L9617755   Nissan       ARMADA              HOUSTON                   TX
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122903   JN8AY2NC2L9617979   Nissan       ARMADA              LOS ANGELES               CA
122904   JN8AY2NC2L9617996   Nissan       ARMADA              DALLAS                    TX
122905   JN8AY2NC2L9618064   Nissan       ARMADA              MIDLAND                   TX
122906   JN8AY2NC2L9618078   Nissan       ARMADA              DALLAS                    TX
122907   JN8AY2NC2L9618100   Nissan       ARMADA              DALLAS                    TX
122908   JN8AY2NC2L9618131   Nissan       ARMADA              DALLAS                    TX
122909   JN8AY2NC2L9618145   Nissan       ARMADA              PHOENIX                   AZ
122910   JN8AY2NC2LX516484   Nissan                           BOSTON                    MA
122911   JN8AY2NC2LX516632   Nissan       ARMADA              HARTFORD                  CT
122912   JN8AY2NC2LX516663   Nissan       ARMADA              BOSTON                    MA
122913   JN8AY2NC2LX516789   Nissan       ARMADA              RICHMOND                  VA
122914   JN8AY2NC2LX516792   Nissan       ARMADA              NEW BERN                  NC
122915   JN8AY2NC2LX516811   Nissan                           BOSTON                    MA
122916   JN8AY2NC2LX516906   Nissan       ARMADA              CHARLOTTE                 NC
122917   JN8AY2NC2LX517389   Nissan       ARMADA              WARWICK                   RI
122918   JN8AY2NC2LX517392   Nissan       ARMADA              BOSTON                    MA
122919   JN8AY2NC2LX517425   Nissan       ARMADA              RALIEGH                   NC
122920   JN8AY2NC2LX517442   Nissan       ARMADA              BOSTON                    MA
122921   JN8AY2NC2LX517456   Nissan       ARMADA              BOSTON                    MA
122922   JN8AY2NC2LX517800   Nissan       ARMADA              NEW BERN                  NC
122923   JN8AY2NC2LX517912   Nissan       ARMADA              CHICAGO                   IL
122924   JN8AY2NC2LX517974   Nissan       ARMADA              CHICAGO                   IL
122925   JN8AY2NC2LX517988   Nissan       ARMADA              CHICAGO                   IL
122926   JN8AY2NC2LX518042   Nissan       ARMADA              CHICAGO                   IL
122927   JN8AY2NC2LX518087   Nissan       ARMADA              CHICAGO                   IL
122928   JN8AY2NC2LX518154   Nissan       ARMADA              SAINT PAUL                MN
122929   JN8AY2NC2LX518171   Nissan       ARMADA              CHICAGO O'HARE AP         IL
122930   JN8AY2NC2LX518266   Nissan       ARMADA              STERLING                  VA
122931   JN8AY2NC2LX518641   Nissan                           HOUSTON                   TX
122932   JN8AY2NC2LX518770   Nissan       ARMADA              Dallas                    TX
122933   JN8AY2NC2LX518803   Nissan       ARMADA              PHOENIX                   AZ
122934   JN8AY2NC2LX518834   Nissan       ARMADA              PHOENIX                   AZ
122935   JN8AY2NC2LX518879   Nissan       ARMADA              PHOENIX                   AZ
122936   JN8AY2NC2LX518896   Nissan       ARMADA              PHOENIX                   AZ
122937   JN8AY2NC2LX518929   Nissan       ARMADA              NORFOLK                   VA
122938   JN8AY2NC2LX518946   Nissan       ARMADA              PHOENIX                   AZ
122939   JN8AY2NC3JX502607   Nissan       ARMADA              BIRMINGHAN                AL
122940   JN8AY2NC3JX502767   Nissan       ARMADA              Kailua‐Kona               HI
122941   JN8AY2NC3JX502784   Nissan       ARMADA              Ventura                   CA
122942   JN8AY2NC3L9616906   Nissan                           BOSTON                    MA
122943   JN8AY2NC3L9616940   Nissan       ARMADA              BOSTON                    MA
122944   JN8AY2NC3L9617084   Nissan       ARMADA              SAINT LOUIS               MO
122945   JN8AY2NC3L9617215   Nissan                           BUFFALO                   NY
122946   JN8AY2NC3L9617246   Nissan       ARMADA              BOSTON                    MA
122947   JN8AY2NC3L9617263   Nissan       ARMADA              CHARLOTTE                 NC
122948   JN8AY2NC3L9617487   Nissan       ARMADA              CHICAGO                   IL
122949   JN8AY2NC3L9617666   Nissan       ARMADA              SANTA ANA                 CA
122950   JN8AY2NC3L9617683   Nissan                           PENSACOLA                 FL
122951   JN8AY2NC3L9617781   Nissan                           HOUSTON                   TX
122952   JN8AY2NC3L9617795   Nissan                           SAN DIEGO                 CA
122953   JN8AY2NC3L9617828   Nissan                           SAN DIEGO                 CA
122954   JN8AY2NC3L9617893   Nissan                           CHICAGO                   IL
122955   JN8AY2NC3L9617909   Nissan                           LAS VEGAS                 NV
122956   JN8AY2NC3L9618042   Nissan       ARMADA              PHOENIX                   AZ
122957   JN8AY2NC3L9618056   Nissan       ARMADA              DALLAS                    TX
122958   JN8AY2NC3L9618168   Nissan       ARMADA              PHOENIX                   AZ
122959   JN8AY2NC3L9618185   Nissan       ARMADA              PHOENIX                   AZ
122960   JN8AY2NC3L9618235   Nissan       ARMADA              PHOENIX                   AZ
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122961   JN8AY2NC3L9618266   Nissan       ARMADA              PHOENIX                   AZ
122962   JN8AY2NC3L9618283   Nissan       ARMADA              BURBANK                   CA
122963   JN8AY2NC3LX516493   Nissan                           BOSTON                    MA
122964   JN8AY2NC3LX516509   Nissan       ARMADA              WARWICK                   RI
122965   JN8AY2NC3LX516641   Nissan       ARMADA              CHICAGO                   IL
122966   JN8AY2NC3LX516669   Nissan       ARMADA              CHICAGO                   IL
122967   JN8AY2NC3LX516770   Nissan       ARMADA              ATLANTA                   GA
122968   JN8AY2NC3LX516817   Nissan       ARMADA              CLEVELAND                 OH
122969   JN8AY2NC3LX516882   Nissan       ARMADA              CHARLOTTE                 US
122970   JN8AY2NC3LX516963   Nissan                           NEW YORK CITY             NY
122971   JN8AY2NC3LX517031   Nissan                           WHITE PLAINS              NY
122972   JN8AY2NC3LX517045   Nissan       ARMADA              CHICAGO                   IL
122973   JN8AY2NC3LX517093   Nissan       ARMADA              CHICAGO                   IL
122974   JN8AY2NC3LX517174   Nissan       ARMADA              MILWAUKEE                 WI
122975   JN8AY2NC3LX517188   Nissan       ARMADA              CHICAGO                   IL
122976   JN8AY2NC3LX517207   Nissan       ARMADA              CHICAGO                   IL
122977   JN8AY2NC3LX517269   Nissan       ARMADA              LOUISVILLE                KY
122978   JN8AY2NC3LX517367   Nissan       ARMADA              WHITE PLAINS              NY
122979   JN8AY2NC3LX517398   Nissan       ARMADA              BOSTON                    MA
122980   JN8AY2NC3LX517417   Nissan       ARMADA              PORTLAND                  ME
122981   JN8AY2NC3LX517434   Nissan       ARMADA              BOSTON                    MA
122982   JN8AY2NC3LX517496   Nissan       ARMADA              BOSTON                    MA
122983   JN8AY2NC3LX517501   Nissan       ARMADA              KENNER                    LA
122984   JN8AY2NC3LX517515   Nissan       ARMADA              LANSING                   MI
122985   JN8AY2NC3LX517532   Nissan       ARMADA              BOSTON                    MA
122986   JN8AY2NC3LX517577   Nissan       ARMADA              BOSTON                    MA
122987   JN8AY2NC3LX517580   Nissan       ARMADA              ROCHESTER                 NY
122988   JN8AY2NC3LX517692   Nissan       ARMADA              CHARLOTTE                 NC
122989   JN8AY2NC3LX517739   Nissan       ARMADA              MONTEREY                  CA
122990   JN8AY2NC3LX517840   Nissan       ARMADA              TAMPA                     FL
122991   JN8AY2NC3LX517918   Nissan       ARMADA              CHICAGO                   IL
122992   JN8AY2NC3LX517952   Nissan       ARMADA              FARGO                     ND
122993   JN8AY2NC3LX518034   Nissan       ARMADA              CHICAGO                   IL
122994   JN8AY2NC3LX518132   Nissan       ARMADA              CHICAGO                   IL
122995   JN8AY2NC3LX518180   Nissan       ARMADA              CHICAGO                   IL
122996   JN8AY2NC3LX518213   Nissan       ARMADA              CHICAGO                   IL
122997   JN8AY2NC3LX518258   Nissan       ARMADA              GRAND RAPIDS              MI
122998   JN8AY2NC3LX518275   Nissan       ARMADA              CHICAGO                   IL
122999   JN8AY2NC3LX518650   Nissan       ARMADA              SAN DIEGO                 US
123000   JN8AY2NC3LX518664   Nissan                           BURBANK                   CA
123001   JN8AY2NC3LX518678   Nissan                           HOUSTON                   TX
123002   JN8AY2NC3LX518700   Nissan       ARMADA              LOS ANGELES               CA
123003   JN8AY2NC3LX518812   Nissan       ARMADA              OKLAHOMA CITY             OK
123004   JN8AY2NC3LX518857   Nissan       ARMADA              PHOENIX                   AZ
123005   JN8AY2NC3LX518874   Nissan       ARMADA              PHOENIX                   AZ
123006   JN8AY2NC3LX518910   Nissan       ARMADA              ORLANDO                   FL
123007   JN8AY2NC3LX519300   Nissan       ARMADA              Teterboro                 NJ
123008   JN8AY2NC4JX501630   Nissan       ARMADA              Portland                  OR
123009   JN8AY2NC4JX502454   Nissan       ARMADA              HILO                      HI
123010   JN8AY2NC4JX502616   Nissan       ARMADA              Davie                     FL
123011   JN8AY2NC4L9616932   Nissan       ARMADA              Teterboro                 NJ
123012   JN8AY2NC4L9617045   Nissan       ARMADA              CHICAGO                   IL
123013   JN8AY2NC4L9617059   Nissan       ARMADA              CHICAGO                   IL
123014   JN8AY2NC4L9617093   Nissan       ARMADA              CHICAGO                   IL
123015   JN8AY2NC4L9617434   Nissan       ARMADA              CHICAGO                   IL
123016   JN8AY2NC4L9617739   Nissan                           HOUSTON                   TX
123017   JN8AY2NC4L9617756   Nissan       ARMADA              HOUSTON                   TX
123018   JN8AY2NC4L9617806   Nissan                           HOUSTON                   TX
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123019   JN8AY2NC4L9617840   Nissan       ARMADA              BURBANK                   CA
123020   JN8AY2NC4L9617854   Nissan                           SAN ANTONIO               TX
123021   JN8AY2NC4L9617966   Nissan                           HOUSTON                   TX
123022   JN8AY2NC4L9618003   Nissan       ARMADA              LOS ANGELES               CA
123023   JN8AY2NC4L9618132   Nissan       ARMADA              Irving                    TX
123024   JN8AY2NC4L9618289   Nissan       ARMADA              PHOENIX                   AZ
123025   JN8AY2NC4LX516454   Nissan       ARMADA              HARTFORD                  CT
123026   JN8AY2NC4LX516504   Nissan       ARMADA              DENVER                    CO
123027   JN8AY2NC4LX516518   Nissan       ARMADA              RICHMOND                  VA
123028   JN8AY2NC4LX516521   Nissan       ARMADA              STERLING                  VA
123029   JN8AY2NC4LX516728   Nissan       ARMADA              BOSTON                    MA
123030   JN8AY2NC4LX516745   Nissan       ARMADA              NEWARK                    NJ
123031   JN8AY2NC4LX516809   Nissan                           PORTLAND                  ME
123032   JN8AY2NC4LX516857   Nissan                           PORTLAND                  ME
123033   JN8AY2NC4LX516955   Nissan                           BOSTON                    MA
123034   JN8AY2NC4LX517006   Nissan                           STERLING                  VA
123035   JN8AY2NC4LX517040   Nissan       ARMADA              HOUSTON                   TX
123036   JN8AY2NC4LX517099   Nissan       ARMADA              CHICAGO                   IL
123037   JN8AY2NC4LX517104   Nissan       ARMADA              CHICAGO                   IL
123038   JN8AY2NC4LX517135   Nissan       ARMADA              MILWAUKEE                 WI
123039   JN8AY2NC4LX517233   Nissan       ARMADA              KNOXVILLE                 TN
123040   JN8AY2NC4LX517359   Nissan       ARMADA              BOSTON                    MA
123041   JN8AY2NC4LX517376   Nissan       ARMADA              EAST BOSTON               MA
123042   JN8AY2NC4LX517555   Nissan       ARMADA              NEW YORK CITY             NY
123043   JN8AY2NC4LX517605   Nissan       ARMADA              CHARLOTTE                 NC
123044   JN8AY2NC4LX517653   Nissan       ARMADA              CHARLOTTE                 NC
123045   JN8AY2NC4LX517796   Nissan       ARMADA              Reno                      NV
123046   JN8AY2NC4LX517801   Nissan       ARMADA              CHARLOTTE                 NC
123047   JN8AY2NC4LX517832   Nissan       ARMADA              CHARLESTON                SC
123048   JN8AY2NC4LX517863   Nissan       ARMADA              CHARLOTTE                 NC
123049   JN8AY2NC4LX517894   Nissan       ARMADA              CHICAGO                   IL
123050   JN8AY2NC4LX517930   Nissan       ARMADA              CHICAGO                   IL
123051   JN8AY2NC4LX517944   Nissan       ARMADA              RENO                      NV
123052   JN8AY2NC4LX517958   Nissan       ARMADA              DETROIT                   MI
123053   JN8AY2NC4LX517989   Nissan       ARMADA              CHICAGO                   IL
123054   JN8AY2NC4LX518060   Nissan       ARMADA              LOS ANGELES               CA
123055   JN8AY2NC4LX518107   Nissan       ARMADA              JAMAICA                   NY
123056   JN8AY2NC4LX518432   Nissan       ARMADA              CHICAGO                   IL
123057   JN8AY2NC4LX518592   Nissan                           NEWARK                    NJ
123058   JN8AY2NC4LX518639   Nissan       ARMADA              LOS ANGELES               CA
123059   JN8AY2NC4LX518656   Nissan                           HOUSTON                   TX
123060   JN8AY2NC4LX518706   Nissan       ARMADA              LOS ANGELES               CA
123061   JN8AY2NC4LX518737   Nissan       ARMADA              DALLAS                    TX
123062   JN8AY2NC4LX518740   Nissan       ARMADA              AUSTIN                    TX
123063   JN8AY2NC4LX518754   Nissan       ARMADA              HOUSTON                   TX
123064   JN8AY2NC4LX518785   Nissan       ARMADA              DALLAS                    TX
123065   JN8AY2NC4LX518799   Nissan       ARMADA              DALLAS                    TX
123066   JN8AY2NC4LX518804   Nissan       ARMADA              DALLAS                    TX
123067   JN8AY2NC4LX518849   Nissan       ARMADA              PHOENIX                   AZ
123068   JN8AY2NC4LX518916   Nissan       ARMADA              PHOENIX                   AZ
123069   JN8AY2NC4LX518933   Nissan       ARMADA              TUCSON                    AZ
123070   JN8AY2NC5J9557273   Nissan       ARMADA              WHITE PLAINS              NY
123071   JN8AY2NC5J9557645   Nissan       ARMADA              SAN DIEGO                 CA
123072   JN8AY2NC5JX501040   Nissan       ARMADA
123073   JN8AY2NC5JX501555   Nissan       ARMADA              Honolulu                  HI
123074   JN8AY2NC5L9616907   Nissan                           Portland                  ME
123075   JN8AY2NC5L9616938   Nissan       ARMADA              WHITE PLAINS              NY
123076   JN8AY2NC5L9616941   Nissan       ARMADA              RONKONKOMA                NY
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123077   JN8AY2NC5L9616955   Nissan                           BALTIMORE                 MD
123078   JN8AY2NC5L9617054   Nissan       ARMADA              CHICAGO O'HARE AP         IL
123079   JN8AY2NC5L9617460   Nissan       ARMADA              MILWAUKEE                 WI
123080   JN8AY2NC5L9617510   Nissan       ARMADA              CHICAGO                   IL
123081   JN8AY2NC5L9617670   Nissan       ARMADA              ORANGE COUNTY             CA
123082   JN8AY2NC5L9617684   Nissan                           SAN JOSE                  CA
123083   JN8AY2NC5L9617801   Nissan                           HOUSTON                   TX
123084   JN8AY2NC5L9617961   Nissan       ARMADA              DALLAS                    TX
123085   JN8AY2NC5L9618091   Nissan       ARMADA              DALLAS                    TX
123086   JN8AY2NC5L9618110   Nissan       ARMADA              DALLAS                    TX
123087   JN8AY2NC5L9618222   Nissan       ARMADA              PHOENIX                   AZ
123088   JN8AY2NC5L9618267   Nissan       ARMADA              PHOENIX                   AZ
123089   JN8AY2NC5LX516480   Nissan       ARMADA              INDIANAPOLIS              IN
123090   JN8AY2NC5LX516592   Nissan       ARMADA              ORLANDO                   FL
123091   JN8AY2NC5LX516656   Nissan       ARMADA              CHICAGO                   IL
123092   JN8AY2NC5LX516673   Nissan       ARMADA              BLOOMINGTON               IL
123093   JN8AY2NC5LX516737   Nissan       ARMADA              SARASOTA                  FL
123094   JN8AY2NC5LX516804   Nissan       ARMADA              GREENVILLE                NC
123095   JN8AY2NC5LX516818   Nissan       ARMADA              BALTIMORE                 MD
123096   JN8AY2NC5LX516981   Nissan       ARMADA              CHARLOTTE                 US
123097   JN8AY2NC5LX516995   Nissan       ARMADA              CHARLOTTE                 NC
123098   JN8AY2NC5LX517158   Nissan       ARMADA              FORT LAUDERDALE           FL
123099   JN8AY2NC5LX517211   Nissan       ARMADA              CHICAGO                   IL
123100   JN8AY2NC5LX517242   Nissan       ARMADA              BLOOMINGTON               IL
123101   JN8AY2NC5LX517368   Nissan       ARMADA              BOSTON                    MA
123102   JN8AY2NC5LX517371   Nissan       ARMADA              WARWICK                   RI
123103   JN8AY2NC5LX517404   Nissan       ARMADA              NEWARK                    NJ
123104   JN8AY2NC5LX517435   Nissan       ARMADA              BOSTON                    MA
123105   JN8AY2NC5LX517449   Nissan       ARMADA              BOSTON, LOGAN AP          MA
123106   JN8AY2NC5LX517483   Nissan       ARMADA              BOSTON                    MA
123107   JN8AY2NC5LX517533   Nissan       ARMADA              BOSTON                    MA
123108   JN8AY2NC5LX517564   Nissan       ARMADA              BOSTON                    MA
123109   JN8AY2NC5LX517614   Nissan       ARMADA              Reno                      NV
123110   JN8AY2NC5LX517712   Nissan       ARMADA              RENO                      NV
123111   JN8AY2NC5LX517757   Nissan                           ONTARIO                   CA
123112   JN8AY2NC5LX517869   Nissan       ARMADA              CHARLOTTE                 NC
123113   JN8AY2NC5LX517953   Nissan       ARMADA              CHICAGO                   IL
123114   JN8AY2NC5LX517984   Nissan       ARMADA              CHICAGO                   IL
123115   JN8AY2NC5LX517998   Nissan       ARMADA              DENVER                    CO
123116   JN8AY2NC5LX518049   Nissan       ARMADA              CHICAGO                   IL
123117   JN8AY2NC5LX518083   Nissan       ARMADA              CHICAGO                   IL
123118   JN8AY2NC5LX518164   Nissan       ARMADA              CHICAGO                   IL
123119   JN8AY2NC5LX518293   Nissan       ARMADA              COLUMBUS                  OH
123120   JN8AY2NC5LX518603   Nissan                           SANTA ANA                 CA
123121   JN8AY2NC5LX518617   Nissan       ARMADA              SANTA ANA                 CA
123122   JN8AY2NC5LX518620   Nissan       ARMADA              CHARLOTTE                 NC
123123   JN8AY2NC5LX518634   Nissan       ARMADA              CHARLOTTE                 NC
123124   JN8AY2NC5LX518679   Nissan                           Downey                    CA
123125   JN8AY2NC5LX518682   Nissan                           WICHITA FALLS             TX
123126   JN8AY2NC5LX518701   Nissan                           LOS ANGELES               CA
123127   JN8AY2NC5LX518732   Nissan       ARMADA              Dallas                    TX
123128   JN8AY2NC5LX518777   Nissan       ARMADA              AUSTIN                    TX
123129   JN8AY2NC5LX518780   Nissan       ARMADA              SACRAMENTO                CA
123130   JN8AY2NC5LX518813   Nissan       ARMADA              PHOENIX                   AZ
123131   JN8AY2NC5LX518827   Nissan       ARMADA              PHOENIX                   AZ
123132   JN8AY2NC5LX518844   Nissan       ARMADA              PHOENIX                   AZ
123133   JN8AY2NC5LX518858   Nissan       ARMADA              SAN DIEGO                 CA
123134   JN8AY2NC5LX518889   Nissan       ARMADA              PHOENIX                   AZ
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123135   JN8AY2NC5LX518892   Nissan       ARMADA              ROSWELL                   NM
123136   JN8AY2NC5LX518942   Nissan       ARMADA              PHOENIX                   AZ
123137   JN8AY2NC6J9557458   Nissan       ARMADA              Davie                     FL
123138   JN8AY2NC6J9557492   Nissan       ARMADA              NEW BERN                  NC
123139   JN8AY2NC6JX501581   Nissan       ARMADA              WAIMEA                    HI
123140   JN8AY2NC6JX502455   Nissan       ARMADA              KAILUA‐KONA               HI
123141   JN8AY2NC6JX502830   Nissan       ARMADA              Fontana                   CA
123142   JN8AY2NC6L9616916   Nissan       ARMADA              PITTSBURGH                PA
123143   JN8AY2NC6L9616933   Nissan       ARMADA              RICHMOND                  VA
123144   JN8AY2NC6L9616947   Nissan       ARMADA              PHILADELPHIA              PA
123145   JN8AY2NC6L9617063   Nissan       ARMADA              TALLAHASSEE               FL
123146   JN8AY2NC6L9617077   Nissan       ARMADA              SACRAMENTO                CA
123147   JN8AY2NC6L9617239   Nissan       ARMADA              CHARLOTTE                 NC
123148   JN8AY2NC6L9617743   Nissan                           SANTA ANA                 CA
123149   JN8AY2NC6L9617838   Nissan       ARMADA              MIAMI                     FL
123150   JN8AY2NC6L9617841   Nissan                           SANTA ANA                 CA
123151   JN8AY2NC6L9617886   Nissan       ARMADA              SANTA ANA                 CA
123152   JN8AY2NC6L9617919   Nissan       ARMADA              NEWPORT BEACH             CA
123153   JN8AY2NC6L9617922   Nissan       ARMADA              MCALLEN                   TX
123154   JN8AY2NC6L9617953   Nissan       ARMADA              DALLAS                    TX
123155   JN8AY2NC6L9618018   Nissan       ARMADA              LOS ANGELES AP            CA
123156   JN8AY2NC6L9618021   Nissan       ARMADA              Irving                    TX
123157   JN8AY2NC6L9618035   Nissan       ARMADA              PHOENIX                   AZ
123158   JN8AY2NC6L9618150   Nissan       ARMADA              PHOENIX                   AZ
123159   JN8AY2NC6L9618388   Nissan                           BURBANK                   CA
123160   JN8AY2NC6LX516469   Nissan       ARMADA              SAN FRANCISCO             CA
123161   JN8AY2NC6LX516472   Nissan       ARMADA              HANOVER                   MD
123162   JN8AY2NC6LX516682   Nissan       ARMADA              STERLING                  VA
123163   JN8AY2NC6LX516696   Nissan       ARMADA              CHICAGO                   IL
123164   JN8AY2NC6LX516715   Nissan       ARMADA              CHICAGO                   IL
123165   JN8AY2NC6LX516861   Nissan       ARMADA              CHICAGO                   IL
123166   JN8AY2NC6LX516892   Nissan                           BOSTON                    MA
123167   JN8AY2NC6LX516925   Nissan                           HARTFORD                  CT
123168   JN8AY2NC6LX517069   Nissan       ARMADA              CHICAGO                   IL
123169   JN8AY2NC6LX517167   Nissan       ARMADA              CHICAGO                   IL
123170   JN8AY2NC6LX517301   Nissan       ARMADA              CHICAGO                   IL
123171   JN8AY2NC6LX517430   Nissan       ARMADA              WARWICK                   RI
123172   JN8AY2NC6LX517461   Nissan       ARMADA              BOSTON                    MA
123173   JN8AY2NC6LX517475   Nissan       ARMADA              NEWARK                    NJ
123174   JN8AY2NC6LX517492   Nissan       ARMADA              BOSTON                    MA
123175   JN8AY2NC6LX517699   Nissan       ARMADA              CHARLOTTE                 NC
123176   JN8AY2NC6LX517704   Nissan       ARMADA              Reno                      NV
123177   JN8AY2NC6LX517749   Nissan       ARMADA              Reno                      NV
123178   JN8AY2NC6LX517752   Nissan       ARMADA              WEST COLUMBIA             SC
123179   JN8AY2NC6LX518027   Nissan       ARMADA              CHICAGO O'HARE AP         IL
123180   JN8AY2NC6LX518075   Nissan       ARMADA              RENO                      NV
123181   JN8AY2NC6LX518092   Nissan       ARMADA              CHICAGO                   IL
123182   JN8AY2NC6LX518206   Nissan       ARMADA              CHICAGO                   IL
123183   JN8AY2NC6LX518223   Nissan       ARMADA              CHICAGO                   IL
123184   JN8AY2NC6LX518254   Nissan       ARMADA              CHICAGO                   IL
123185   JN8AY2NC6LX518285   Nissan       ARMADA              CHICAGO                   IL
123186   JN8AY2NC6LX518299   Nissan       ARMADA              CHICAGO                   IL
123187   JN8AY2NC6LX518318   Nissan       ARMADA              CHICAGO                   IL
123188   JN8AY2NC6LX518593   Nissan       ARMADA              CHARLOTTE                 US
123189   JN8AY2NC6LX518609   Nissan                           SANTA ANA                 CA
123190   JN8AY2NC6LX518660   Nissan                           BURLINGAME                CA
123191   JN8AY2NC6LX518710   Nissan       ARMADA              LOS ANGELES               CA
123192   JN8AY2NC6LX518786   Nissan       ARMADA              Dallas                    TX
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123193   JN8AY2NC6LX518934   Nissan       ARMADA              PHOENIX                   AZ
123194   JN8AY2NC7J9556917   Nissan       ARMADA              PHILADELPHIA              PA
123195   JN8AY2NC7J9557274   Nissan       ARMADA              Manheim                   PA
123196   JN8AY2NC7J9558120   Nissan       ARMADA              Jacksonville              FL
123197   JN8AY2NC7JX501525   Nissan       ARMADA              Portland                  OR
123198   JN8AY2NC7JX501542   Nissan       ARMADA              Hilo                      HI
123199   JN8AY2NC7JX502450   Nissan       ARMADA              BURBANK                   CA
123200   JN8AY2NC7JX502514   Nissan       ARMADA              Kansas City               MO
123201   JN8AY2NC7L9616911   Nissan       ARMADA              EVERETT                   MA
123202   JN8AY2NC7L9617055   Nissan       ARMADA              CHICAGO                   IL
123203   JN8AY2NC7L9617069   Nissan       ARMADA              CHICAGO                   IL
123204   JN8AY2NC7L9617105   Nissan       ARMADA              CHICAGO                   IL
123205   JN8AY2NC7L9617444   Nissan       ARMADA              GRAND RAPIDS              MI
123206   JN8AY2NC7L9617704   Nissan       ARMADA              HOUSTON                   TX
123207   JN8AY2NC7L9617721   Nissan                           LAS VEGAS                 NV
123208   JN8AY2NC7L9617766   Nissan                           ORANGE COUNTY             CA
123209   JN8AY2NC7L9617864   Nissan       ARMADA              Lake Elsinore             CA
123210   JN8AY2NC7L9617878   Nissan       ARMADA              LOS ANGELES               CA
123211   JN8AY2NC7L9617914   Nissan                           Lake Elsinore             CA
123212   JN8AY2NC7L9617959   Nissan       ARMADA              NEW ORLEANS               LA
123213   JN8AY2NC7L9618111   Nissan       ARMADA              DALLAS                    TX
123214   JN8AY2NC7L9618190   Nissan       ARMADA              PHOENIX                   AZ
123215   JN8AY2NC7L9618237   Nissan       ARMADA              SAN DIEGO                 CA
123216   JN8AY2NC7LX516450   Nissan       ARMADA              GREENFIELD                MA
123217   JN8AY2NC7LX516464   Nissan       ARMADA              CHICAGO                   IL
123218   JN8AY2NC7LX516481   Nissan       ARMADA              NEWARK                    NJ
123219   JN8AY2NC7LX516528   Nissan       ARMADA              PORTLAND                  ME
123220   JN8AY2NC7LX516531   Nissan       ARMADA              STERLING                  VA
123221   JN8AY2NC7LX516657   Nissan       ARMADA              CHICAGO                   IL
123222   JN8AY2NC7LX516674   Nissan       ARMADA              CHICAGO                   IL
123223   JN8AY2NC7LX516688   Nissan       ARMADA              CHICAGO                   IL
123224   JN8AY2NC7LX516738   Nissan       ARMADA              ORLANDO                   FL
123225   JN8AY2NC7LX516853   Nissan       ARMADA              NEWARK                    NJ
123226   JN8AY2NC7LX516917   Nissan                           BOSTON                    MA
123227   JN8AY2NC7LX517016   Nissan       ARMADA              CHARLOTTE                 NC
123228   JN8AY2NC7LX517114   Nissan       ARMADA              CHICAGO                   IL
123229   JN8AY2NC7LX517128   Nissan       ARMADA              FORT LAUDERDALE           FL
123230   JN8AY2NC7LX517145   Nissan       ARMADA              SAINT PAUL                MN
123231   JN8AY2NC7LX517159   Nissan       ARMADA              CHICAGO                   IL
123232   JN8AY2NC7LX517405   Nissan       ARMADA              BOSTON                    MA
123233   JN8AY2NC7LX517467   Nissan       ARMADA              BOSTON                    MA
123234   JN8AY2NC7LX517520   Nissan                           BOSTON                    MA
123235   JN8AY2NC7LX517534   Nissan       ARMADA              PHILADELPHIA              PA
123236   JN8AY2NC7LX517551   Nissan       ARMADA              PORTLAND                  ME
123237   JN8AY2NC7LX517579   Nissan       ARMADA              NEWARK                    NJ
123238   JN8AY2NC7LX517646   Nissan       ARMADA              CHARLOTTE                 US
123239   JN8AY2NC7LX517663   Nissan       ARMADA              CHARLOTTE                 NC
123240   JN8AY2NC7LX517873   Nissan       ARMADA              MYRTLE BEACH              SC
123241   JN8AY2NC7LX517906   Nissan       ARMADA              CHICAGO O'HARE AP         IL
123242   JN8AY2NC7LX517923   Nissan       ARMADA              CHICAGO                   IL
123243   JN8AY2NC7LX517937   Nissan       ARMADA              CHICAGO                   IL
123244   JN8AY2NC7LX517985   Nissan       ARMADA              CHICAGO                   IL
123245   JN8AY2NC7LX517999   Nissan       ARMADA              CHICAGO                   IL
123246   JN8AY2NC7LX518165   Nissan       ARMADA              DETROIT                   MI
123247   JN8AY2NC7LX518313   Nissan       ARMADA              CHICAGO                   IL
123248   JN8AY2NC7LX518571   Nissan       ARMADA              CHICAGO                   IL
123249   JN8AY2NC7LX518604   Nissan                           ORANGE COUNTY             CA
123250   JN8AY2NC7LX518652   Nissan                           HOUSTON                   TX
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123251   JN8AY2NC7LX518716   Nissan       ARMADA              DALLAS                    TX
123252   JN8AY2NC7LX518750   Nissan       ARMADA              DALLAS                    TX
123253   JN8AY2NC7LX518764   Nissan       ARMADA              DALLAS                    TX
123254   JN8AY2NC7LX518814   Nissan       ARMADA              PHOENIX                   AZ
123255   JN8AY2NC7LX518828   Nissan       ARMADA              KENNER                    LA
123256   JN8AY2NC7LX518831   Nissan       ARMADA              Pheonix                   AZ
123257   JN8AY2NC8J9555792   Nissan       ARMADA              Aurora                    CO
123258   JN8AY2NC8JX501601   Nissan       ARMADA              Kailua‐Kona               HI
123259   JN8AY2NC8JX501632   Nissan       ARMADA              Portland                  OR
123260   JN8AY2NC8JX501887   Nissan       ARMADA              Chicago                   IL
123261   JN8AY2NC8JX502506   Nissan       ARMADA              SAN FRANCISCO             CA
123262   JN8AY2NC8JX502652   Nissan       ARMADA              Fontana                   CA
123263   JN8AY2NC8JX502764   Nissan       ARMADA              KAILUA‐KONA               HI
123264   JN8AY2NC8L9616903   Nissan       ARMADA              DES MOINES                IA
123265   JN8AY2NC8L9616920   Nissan       ARMADA              WHITE PLAINS              NY
123266   JN8AY2NC8L9616951   Nissan       ARMADA              BOSTON, LOGAN AP          MA
123267   JN8AY2NC8L9617050   Nissan       ARMADA              CHICAGO                   IL
123268   JN8AY2NC8L9617064   Nissan       ARMADA              Des Moines                IA
123269   JN8AY2NC8L9617078   Nissan       ARMADA              CHICAGO                   IL
123270   JN8AY2NC8L9617095   Nissan       ARMADA              CHICAGO                   IL
123271   JN8AY2NC8L9617288   Nissan       ARMADA              NORFOLK                   VA
123272   JN8AY2NC8L9617419   Nissan       ARMADA              DES MOINES                IA
123273   JN8AY2NC8L9617484   Nissan       ARMADA              GYPSUM                    CO
123274   JN8AY2NC8L9617808   Nissan       ARMADA              HOUSTON                   TX
123275   JN8AY2NC8L9617940   Nissan                           CORPUS CHRISTI            TX
123276   JN8AY2NC8L9618005   Nissan       ARMADA              PORTLAND                  OR
123277   JN8AY2NC8L9618036   Nissan       ARMADA              PHOENIX                   AZ
123278   JN8AY2NC8LX516442   Nissan       ARMADA              RONKONKOMA                NY
123279   JN8AY2NC8LX516604   Nissan       ARMADA              NEW YORK CITY             NY
123280   JN8AY2NC8LX516666   Nissan       ARMADA              NEW YORK CITY             NY
123281   JN8AY2NC8LX516702   Nissan       ARMADA              WEST PALM BEACH           FL
123282   JN8AY2NC8LX516909   Nissan                           BOSTON                    MA
123283   JN8AY2NC8LX516957   Nissan                           STERLING                  VA
123284   JN8AY2NC8LX517123   Nissan       ARMADA              CHICAGO                   IL
123285   JN8AY2NC8LX517185   Nissan       ARMADA              CHICAGO                   IL
123286   JN8AY2NC8LX517560   Nissan       ARMADA              LOS ANGELES               CA
123287   JN8AY2NC8LX517591   Nissan       ARMADA              BOSTON                    MA
123288   JN8AY2NC8LX517641   Nissan       ARMADA              CHARLOTTE                 NC
123289   JN8AY2NC8LX517767   Nissan       ARMADA              CHARLOTTE                 NC
123290   JN8AY2NC8LX517879   Nissan       ARMADA              CHICAGO                   IL
123291   JN8AY2NC8LX517929   Nissan       ARMADA              CHICAGO                   IL
123292   JN8AY2NC8LX517932   Nissan       ARMADA              SOUTH BEND                IN
123293   JN8AY2NC8LX517946   Nissan       ARMADA              CHICAGO                   IL
123294   JN8AY2NC8LX517977   Nissan       ARMADA              CHICAGO                   IL
123295   JN8AY2NC8LX518112   Nissan       ARMADA              CHICAGO                   IL
123296   JN8AY2NC8LX518174   Nissan       ARMADA              CHICAGO                   IL
123297   JN8AY2NC8LX518188   Nissan       ARMADA              CHICAGO                   IL
123298   JN8AY2NC8LX518241   Nissan       ARMADA              CHICAGO                   IL
123299   JN8AY2NC8LX518594   Nissan                           ORANGE COUNTY             CA
123300   JN8AY2NC8LX518644   Nissan                           SANTA ANA                 CA
123301   JN8AY2NC8LX518658   Nissan       ARMADA              CHARLOTTE                 NC
123302   JN8AY2NC8LX518675   Nissan                           HOUSTON                   TX
123303   JN8AY2NC8LX518692   Nissan       ARMADA              CHARLOTTE                 NC
123304   JN8AY2NC8LX518711   Nissan                           LOS ANGELES               CA
123305   JN8AY2NC8LX518725   Nissan       ARMADA              LOS ANGELES               CA
123306   JN8AY2NC8LX518742   Nissan       ARMADA              DALLAS                    TX
123307   JN8AY2NC8LX518756   Nissan                           LOS ANGELES               CA
123308   JN8AY2NC8LX518773   Nissan       ARMADA              LOS ANGELES               CA
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123309   JN8AY2NC8LX518837   Nissan       ARMADA              DENVER                    CO
123310   JN8AY2NC8LX518868   Nissan       ARMADA              TUCSON                    AZ
123311   JN8AY2NC8LX518885   Nissan       ARMADA              PHOENIX                   AZ
123312   JN8AY2NC8LX518899   Nissan       ARMADA              PHOENIX                   AZ
123313   JN8AY2NC8LX518921   Nissan       ARMADA              PHOENIX                   AZ
123314   JN8AY2NC9JX501526   Nissan       ARMADA              Portland                  OR
123315   JN8AY2NC9JX502613   Nissan       ARMADA              SOUTHWEST DEALER D        TX
123316   JN8AY2NC9L9616893   Nissan       ARMADA              NEWARK                    NJ
123317   JN8AY2NC9L9616926   Nissan       ARMADA              FORT MYERS                FL
123318   JN8AY2NC9L9616957   Nissan       ARMADA              LEXINGTON                 KY
123319   JN8AY2NC9L9617073   Nissan       ARMADA              CHICAGO                   IL
123320   JN8AY2NC9L9617106   Nissan       ARMADA              CHICAGO                   IL
123321   JN8AY2NC9L9617218   Nissan       ARMADA              BOSTON, LOGAN AP          MA
123322   JN8AY2NC9L9617350   Nissan       ARMADA              Reno                      NV
123323   JN8AY2NC9L9617414   Nissan       ARMADA              CHICAGO                   IL
123324   JN8AY2NC9L9617512   Nissan       ARMADA              AUSTIN                    TX
123325   JN8AY2NC9L9617932   Nissan                           SAN ANTONIO               TX
123326   JN8AY2NC9L9618062   Nissan       ARMADA              FRESNO                    CA
123327   JN8AY2NC9L9618076   Nissan       ARMADA              DALLAS                    TX
123328   JN8AY2NC9L9618093   Nissan       ARMADA              AUSTIN                    TX
123329   JN8AY2NC9L9618191   Nissan       ARMADA              PHOENIX                   AZ
123330   JN8AY2NC9L9618207   Nissan       ARMADA              Pheonix                   AZ
123331   JN8AY2NC9L9618336   Nissan                           FRESNO                    CA
123332   JN8AY2NC9L9618384   Nissan                           PALM SPRINGS              CA
123333   JN8AY2NC9LX516448   Nissan       ARMADA              RICHMOND                  VA
123334   JN8AY2NC9LX516479   Nissan       ARMADA              DENVER                    CO
123335   JN8AY2NC9LX516501   Nissan                           NEWARK                    NJ
123336   JN8AY2NC9LX516515   Nissan       ARMADA              DENVER                    CO
123337   JN8AY2NC9LX516529   Nissan       ARMADA              BOSTON                    MA
123338   JN8AY2NC9LX516661   Nissan       ARMADA              CHICAGO                   IL
123339   JN8AY2NC9LX516675   Nissan       ARMADA              CHICAGO                   IL
123340   JN8AY2NC9LX516773   Nissan       ARMADA              CHATTANOOGA               TN
123341   JN8AY2NC9LX516854   Nissan       ARMADA              WEST PALM BEACH           FL
123342   JN8AY2NC9LX516949   Nissan                           HARTFORD                  CT
123343   JN8AY2NC9LX516952   Nissan                           BOSTON                    MA
123344   JN8AY2NC9LX516983   Nissan       ARMADA              CHARLOTTE                 NC
123345   JN8AY2NC9LX517065   Nissan       ARMADA              CHICAGO                   IL
123346   JN8AY2NC9LX517079   Nissan       ARMADA              CHICAGO                   IL
123347   JN8AY2NC9LX517163   Nissan       ARMADA              CHICAGO                   IL
123348   JN8AY2NC9LX517244   Nissan       ARMADA              CHICAGO                   IL
123349   JN8AY2NC9LX517406   Nissan       ARMADA              BOSTON                    MA
123350   JN8AY2NC9LX517468   Nissan       ARMADA              WARWICK                   RI
123351   JN8AY2NC9LX517485   Nissan       ARMADA              NEWARK                    NJ
123352   JN8AY2NC9LX517518   Nissan       ARMADA              RICHMOND                  VA
123353   JN8AY2NC9LX517566   Nissan       ARMADA              BOSTON                    MA
123354   JN8AY2NC9LX517907   Nissan       ARMADA              CHICAGO                   IL
123355   JN8AY2NC9LX517955   Nissan       ARMADA              SOUTH BEND                IN
123356   JN8AY2NC9LX518068   Nissan       ARMADA              CHICAGO                   IL
123357   JN8AY2NC9LX518099   Nissan       ARMADA              MILWAUKEE                 WI
123358   JN8AY2NC9LX518121   Nissan       ARMADA              CHICAGO                   IL
123359   JN8AY2NC9LX518278   Nissan       ARMADA              CHICAGO                   IL
123360   JN8AY2NC9LX518605   Nissan                           GYPSUM                    CO
123361   JN8AY2NC9LX518619   Nissan                           NEWPORT BEACH             CA
123362   JN8AY2NC9LX518622   Nissan       ARMADA              BURBANK                   CA
123363   JN8AY2NC9LX518653   Nissan                           ORANGE COUNTY             CA
123364   JN8AY2NC9LX518684   Nissan                           PORTLAND                  OR
123365   JN8AY2NC9LX518717   Nissan       ARMADA              AMARILLO                  US
123366   JN8AY2NC9LX518720   Nissan       ARMADA              Dallas                    TX
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123367   JN8AY2NC9LX518734   Nissan       ARMADA              PENSACOLA                 FL
123368   JN8AY2NC9LX518782   Nissan       ARMADA              JACKSONVILLE              FL
123369   JN8AY2NC9LX518913   Nissan       ARMADA              PHOENIX                   AZ
123370   JN8AY2NC9LX518930   Nissan       ARMADA              PHOENIX                   AZ
123371   JN8AY2NCXJ9554675   Nissan       ARMADA              SAN JOSE                  CA
123372   JN8AY2NCXJ9557253   Nissan       ARMADA              Montgomery                AL
123373   JN8AY2NCXJ9557365   Nissan       ARMADA              DAYTONA BEACH             FL
123374   JN8AY2NCXJX501499   Nissan       ARMADA              Kailua‐Kona               HI
123375   JN8AY2NCXJX501566   Nissan       ARMADA              KAUAI                     HI
123376   JN8AY2NCXJX502457   Nissan       ARMADA              WAIMEA                    HI
123377   JN8AY2NCXJX502460   Nissan       ARMADA              KALAOA                    HI
123378   JN8AY2NCXJX502801   Nissan       ARMADA              DENVER                    CO
123379   JN8AY2NCXL9616918   Nissan       ARMADA              OMAHA                     NE
123380   JN8AY2NCXL9616921   Nissan       ARMADA              WARWICK                   RI
123381   JN8AY2NCXL9616949   Nissan                           BOSTON                    MA
123382   JN8AY2NCXL9617079   Nissan       ARMADA              DES MOINES                IA
123383   JN8AY2NCXL9617101   Nissan       ARMADA              CHICAGO                   IL
123384   JN8AY2NCXL9617213   Nissan       ARMADA              WARWICK                   RI
123385   JN8AY2NCXL9617342   Nissan       ARMADA              Reno                      NV
123386   JN8AY2NCXL9617437   Nissan       ARMADA              CHICAGO                   IL
123387   JN8AY2NCXL9617731   Nissan       ARMADA              ONTARIO                   CA
123388   JN8AY2NCXL9617776   Nissan       ARMADA              HOUSTON                   TX
123389   JN8AY2NCXL9617826   Nissan       ARMADA              Lake Elsinore             CA
123390   JN8AY2NCXL9617843   Nissan       ARMADA              Lake Elsinore             CA
123391   JN8AY2NCXL9617860   Nissan                           SAN ANTONIO               TX
123392   JN8AY2NCXL9617891   Nissan                           LOS ANGELES               CA
123393   JN8AY2NCXL9617969   Nissan       ARMADA              DALLAS                    TX
123394   JN8AY2NCXL9618040   Nissan       ARMADA              PHOENIX                   AZ
123395   JN8AY2NCXL9618183   Nissan       ARMADA              PHOENIX                   AZ
123396   JN8AY2NCXL9618314   Nissan       ARMADA              Phoenix                   AZ
123397   JN8AY2NCXL9618328   Nissan                           SAN DIEGO                 CA
123398   JN8AY2NCXLX516457   Nissan       ARMADA              BOSTON                    MA
123399   JN8AY2NCXLX516460   Nissan       ARMADA              BOSTON                    MA
123400   JN8AY2NCXLX516474   Nissan                           RALEIGH                   NC
123401   JN8AY2NCXLX516507   Nissan       ARMADA              RALEIGH                   NC
123402   JN8AY2NCXLX516541   Nissan       ARMADA              ALLENTOWN                 US
123403   JN8AY2NCXLX516586   Nissan       ARMADA              ONTARIO                   CA
123404   JN8AY2NCXLX516619   Nissan       ARMADA              WARWICK                   RI
123405   JN8AY2NCXLX516667   Nissan       ARMADA              Oak Lawn                  IL
123406   JN8AY2NCXLX516698   Nissan       ARMADA              CLEVELAND                 OH
123407   JN8AY2NCXLX516751   Nissan       ARMADA              COLUMBIA                  SC
123408   JN8AY2NCXLX516765   Nissan       ARMADA              DETROIT                   MI
123409   JN8AY2NCXLX516801   Nissan       ARMADA              NEWARK                    NJ
123410   JN8AY2NCXLX516846   Nissan       ARMADA              DALLAS                    TX
123411   JN8AY2NCXLX516958   Nissan       ARMADA              CHARLOTTE                 NC
123412   JN8AY2NCXLX516989   Nissan       ARMADA              PORTLAND                  ME
123413   JN8AY2NCXLX517009   Nissan       ARMADA              CHARLOTTE                 NC
123414   JN8AY2NCXLX517057   Nissan       ARMADA              CHICAGO                   IL
123415   JN8AY2NCXLX517110   Nissan       ARMADA              CHICAGO                   IL
123416   JN8AY2NCXLX517138   Nissan       ARMADA              CHICAGO                   IL
123417   JN8AY2NCXLX517205   Nissan       ARMADA              CHICAGO                   IL
123418   JN8AY2NCXLX517219   Nissan       ARMADA              CHICAGO                   IL
123419   JN8AY2NCXLX517253   Nissan       ARMADA              CHICAGO O'HARE AP         IL
123420   JN8AY2NCXLX517267   Nissan       ARMADA              CHICAGO                   IL
123421   JN8AY2NCXLX517401   Nissan       ARMADA              BOSTON                    MA
123422   JN8AY2NCXLX517513   Nissan       ARMADA              ROANOKE                   VA
123423   JN8AY2NCXLX517589   Nissan       ARMADA              NEW YORK CITY             NY
123424   JN8AY2NCXLX517592   Nissan       ARMADA              BOSTON, LOGAN AP          MA
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123425   JN8AY2NCXLX517902   Nissan       ARMADA              CHICAGO                   IL
123426   JN8AY2NCXLX517981   Nissan       ARMADA              CHICAGO                   IL
123427   JN8AY2NCXLX517995   Nissan       ARMADA              CHICAGO                   IL
123428   JN8AY2NCXLX518046   Nissan       ARMADA              CHICAGO                   IL
123429   JN8AY2NCXLX518077   Nissan       ARMADA              CHICAGO                   IL
123430   JN8AY2NCXLX518080   Nissan       ARMADA              CHICAGO                   IL
123431   JN8AY2NCXLX518094   Nissan       ARMADA              CHICAGO O'HARE AP         IL
123432   JN8AY2NCXLX518144   Nissan       ARMADA              CHICAGO                   IL
123433   JN8AY2NCXLX518189   Nissan       ARMADA              CHICAGO                   IL
123434   JN8AY2NCXLX518273   Nissan       ARMADA              CHICAGO                   IL
123435   JN8AY2NCXLX518631   Nissan       ARMADA              HOUSTON                   TX
123436   JN8AY2NCXLX518676   Nissan                           SAN DIEGO                 CA
123437   JN8AY2NCXLX518693   Nissan       ARMADA              CHICAGO                   IL
123438   JN8AY2NCXLX518709   Nissan       ARMADA              SAN ANTONIO               TX
123439   JN8AY2NCXLX518712   Nissan                           LAS VEGAS                 NV
123440   JN8AY2NCXLX518726   Nissan       ARMADA              Lake Elsinore             CA
123441   JN8AY2NCXLX518743   Nissan       ARMADA              TAMPA                     FL
123442   JN8AY2NCXLX518760   Nissan       ARMADA              DALLAS                    TX
123443   JN8AY2NCXLX518774   Nissan       ARMADA              LOS ANGELES               CA
123444   JN8AY2NCXLX518791   Nissan       ARMADA              LOS ANGELES               CA
123445   JN8AY2NCXLX518807   Nissan       ARMADA              DALLAS                    TX
123446   JN8AY2NCXLX518810   Nissan       ARMADA              Phoenix                   AZ
123447   JN8AY2NCXLX518872   Nissan       ARMADA              PHOENIX                   AZ
123448   JN8AY2NCXLX518905   Nissan       ARMADA              ONTARIO                   CA
123449   JN8AY2NCXLX519102   Nissan       ARMADA              SAN ANTONIO               TX
123450   JN8AY2ND0JX001814   Nissan       ARMADA              HILO                      HI
123451   JN8AY2ND0JX002025   Nissan       ARMADA              HILO                      HI
123452   JN8AY2ND0JX002266   Nissan       ARMADA              North Las Vegas           NV
123453   JN8AY2ND0L9106053   Nissan       ARMADA              MIAMI                     FL
123454   JN8AY2ND0L9106120   Nissan       ARMADA              HOUSTON                   TX
123455   JN8AY2ND0L9106165   Nissan       ARMADA              DALLAS                    TX
123456   JN8AY2ND0L9106277   Nissan       ARMADA              Dallas                    TX
123457   JN8AY2ND0L9107204   Nissan       ARMADA              ATLANTA                   GA
123458   JN8AY2ND0L9107235   Nissan       ARMADA              SAVANNAH                  GA
123459   JN8AY2ND0L9107431   Nissan       ARMADA              ATLANTA                   GA
123460   JN8AY2ND0L9107686   Nissan       ARMADA              NASHVILLE                 TN
123461   JN8AY2ND0L9107722   Nissan       ARMADA              RONKONKOMA                NY
123462   JN8AY2ND0L9107767   Nissan       ARMADA              SANTA FE                  NM
123463   JN8AY2ND0L9107980   Nissan       ARMADA              KNOXVILLE                 TN
123464   JN8AY2ND0L9108109   Nissan       ARMADA              PANAMA CITY               FL
123465   JN8AY2ND0L9108661   Nissan       ARMADA              MIAMI                     FL
123466   JN8AY2ND0L9108918   Nissan       ARMADA              FORT MYERS                FL
123467   JN8AY2ND0L9108952   Nissan       ARMADA              MIAMI                     FL
123468   JN8AY2ND0L9109003   Nissan       ARMADA              MIAMI                     FL
123469   JN8AY2ND0L9109017   Nissan       ARMADA              FORT LAUDERDALE           FL
123470   JN8AY2ND0LX015859   Nissan       ARMADA              FORT MYERS                FL
123471   JN8AY2ND0LX015991   Nissan       ARMADA              NEW ORLEANS               LA
123472   JN8AY2ND0LX016008   Nissan       ARMADA              HOUSTON                   TX
123473   JN8AY2ND0LX016039   Nissan       ARMADA              HOUSTON                   TX
123474   JN8AY2ND0LX016090   Nissan       ARMADA              KENNER                    LA
123475   JN8AY2ND0LX016171   Nissan       ARMADA              SAN ANTONIO               TX
123476   JN8AY2ND0LX016588   Nissan       ARMADA              ORLANDO                   FL
123477   JN8AY2ND0LX016669   Nissan       ARMADA              DALLAS                    TX
123478   JN8AY2ND0LX016722   Nissan       ARMADA              Irving                    TX
123479   JN8AY2ND1JX001241   Nissan       ARMADA              WAIMEA                    HI
123480   JN8AY2ND1JX001689   Nissan       ARMADA              HONOLULU                  HI
123481   JN8AY2ND1JX002180   Nissan       ARMADA              HILO                      HI
123482   JN8AY2ND1L9106031   Nissan       ARMADA              MIAMI                     FL
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123483   JN8AY2ND1L9106045   Nissan       ARMADA              KNOXVILLE                 TN
123484   JN8AY2ND1L9106076   Nissan       ARMADA              ORLANDO                   FL
123485   JN8AY2ND1L9106112   Nissan       ARMADA              BOSTON                    MA
123486   JN8AY2ND1L9106580   Nissan       ARMADA              SAN ANTONIO               TX
123487   JN8AY2ND1L9106966   Nissan       ARMADA              PHOENIX                   AZ
123488   JN8AY2ND1L9107079   Nissan       ARMADA              ORLANDO                   FL
123489   JN8AY2ND1L9107101   Nissan       ARMADA              SYRACUSE                  NY
123490   JN8AY2ND1L9107468   Nissan       ARMADA              Atlanta                   GA
123491   JN8AY2ND1L9107485   Nissan       ARMADA              ALEXANDRIA                AL
123492   JN8AY2ND1L9107647   Nissan       ARMADA              NASHVILLE                 TN
123493   JN8AY2ND1L9108118   Nissan       ARMADA              ORLANDO                   FL
123494   JN8AY2ND1L9108135   Nissan       ARMADA              ORLANDO                   FL
123495   JN8AY2ND1L9108846   Nissan       ARMADA              MIAMI                     FL
123496   JN8AY2ND1LX015823   Nissan       ARMADA              INDIANAPOLIS              IN
123497   JN8AY2ND1LX015966   Nissan       ARMADA              DALLAS                    TX
123498   JN8AY2ND1LX015983   Nissan       ARMADA              Tulsa                     OK
123499   JN8AY2ND1LX015997   Nissan       ARMADA              KANSAS CITY               MO
123500   JN8AY2ND1LX016454   Nissan       ARMADA              COCOA                     FL
123501   JN8AY2ND2JX001197   Nissan       ARMADA              SAN FRANCISCO             CA
123502   JN8AY2ND2JX001300   Nissan       ARMADA              Fontana                   CA
123503   JN8AY2ND2JX001460   Nissan       ARMADA              SAN FRANCISCO             CA
123504   JN8AY2ND2JX001801   Nissan       ARMADA              HILO                      HI
123505   JN8AY2ND2JX002169   Nissan       ARMADA              Kailua‐Kona               HI
123506   JN8AY2ND2L9106040   Nissan       ARMADA              DALLAS                    TX
123507   JN8AY2ND2L9106068   Nissan       ARMADA              WEST PALM BEACH           FL
123508   JN8AY2ND2L9107317   Nissan       ARMADA              NASHVILLE                 TN
123509   JN8AY2ND2L9107561   Nissan       ARMADA              ROY                       UT
123510   JN8AY2ND2L9107592   Nissan       ARMADA              SPRINGFIELD               OH
123511   JN8AY2ND2L9107639   Nissan       ARMADA              KNOXVILLE                 TN
123512   JN8AY2ND2L9107835   Nissan       ARMADA              PANAMA CITY               FL
123513   JN8AY2ND2L9107981   Nissan       ARMADA              DANIA BEACH               FL
123514   JN8AY2ND2L9108029   Nissan       ARMADA              FORT LAUDERDALE           FL
123515   JN8AY2ND2L9108578   Nissan       ARMADA              FORT MYERS                FL
123516   JN8AY2ND2L9108631   Nissan       ARMADA              FORT MYERS                FL
123517   JN8AY2ND2L9108676   Nissan       ARMADA              FORT MYERS                FL
123518   JN8AY2ND2L9108967   Nissan       ARMADA              FORT LAUDERDALE           FL
123519   JN8AY2ND2L9108984   Nissan       ARMADA              MIAMI                     FL
123520   JN8AY2ND2L9109049   Nissan       ARMADA              MIAMI                     FL
123521   JN8AY2ND2LX015510   Nissan       ARMADA              NAPLES                    FL
123522   JN8AY2ND2LX015930   Nissan       ARMADA              ORLANDO                   FL
123523   JN8AY2ND2LX016043   Nissan       ARMADA              ORLANDO                   FL
123524   JN8AY2ND2LX016799   Nissan       ARMADA              DALLAS                    TX
123525   JN8AY2ND2LX017466   Nissan       ARMADA              PHOENIX                   AZ
123526   JN8AY2ND3JX001693   Nissan       ARMADA              KALAOA                    HI
123527   JN8AY2ND3JX001757   Nissan       ARMADA              Portland                  OR
123528   JN8AY2ND3JX001998   Nissan       ARMADA              HILO                      HI
123529   JN8AY2ND3JX002021   Nissan       ARMADA              HILO                      HI
123530   JN8AY2ND3JX002147   Nissan       ARMADA              KAILUA‐KONA               HI
123531   JN8AY2ND3JX002178   Nissan       ARMADA              HILO                      HI
123532   JN8AY2ND3JX002200   Nissan       ARMADA              KAILUA‐KONA               HI
123533   JN8AY2ND3L9106077   Nissan       ARMADA              MIAMI                     FL
123534   JN8AY2ND3L9106130   Nissan       ARMADA              AUSTIN                    TX
123535   JN8AY2ND3L9106709   Nissan       ARMADA              AUSTIN                    TX
123536   JN8AY2ND3L9107178   Nissan       ARMADA              Atlanta                   GA
123537   JN8AY2ND3L9107424   Nissan       ARMADA              GREENVILLE                NC
123538   JN8AY2ND3L9107438   Nissan       ARMADA              JACKSONVILLE              FL
123539   JN8AY2ND3L9107486   Nissan       ARMADA              KNOXVILLE                 TN
123540   JN8AY2ND3L9107505   Nissan       ARMADA              MONTGOMERY                AL
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123541   JN8AY2ND3L9107844   Nissan       ARMADA              PENSACOLA                 FL
123542   JN8AY2ND3L9108007   Nissan       ARMADA              WEST PALM BEACH           FL
123543   JN8AY2ND3L9108928   Nissan       ARMADA              MIAMI                     FL
123544   JN8AY2ND3L9108962   Nissan       ARMADA              MIAMI                     FL
123545   JN8AY2ND3L9109027   Nissan       ARMADA              MIAMI                     FL
123546   JN8AY2ND3L9109125   Nissan       ARMADA              MIAMI                     FL
123547   JN8AY2ND3LX015838   Nissan       ARMADA              FORT MYERS                FL
123548   JN8AY2ND3LX015936   Nissan       ARMADA              TUCSON                    AZ
123549   JN8AY2ND3LX016004   Nissan       ARMADA              HOUSTON                   TX
123550   JN8AY2ND4JX001587   Nissan       ARMADA              Portland                  OR
123551   JN8AY2ND4JX002027   Nissan       ARMADA              HILO                      HI
123552   JN8AY2ND4JX002092   Nissan       ARMADA              KAILUA‐KONA               HI
123553   JN8AY2ND4JX002125   Nissan       ARMADA              HILO                      HI
123554   JN8AY2ND4L9106055   Nissan       ARMADA              DAYTONA BEACH             FL
123555   JN8AY2ND4L9106086   Nissan       ARMADA              ORLANDO                   FL
123556   JN8AY2ND4L9106119   Nissan       ARMADA              MIAMI                     FL
123557   JN8AY2ND4L9106122   Nissan       ARMADA              DALLAS                    TX
123558   JN8AY2ND4L9106153   Nissan       ARMADA              HARTFORD                  CT
123559   JN8AY2ND4L9106167   Nissan       ARMADA              DALLAS                    TX
123560   JN8AY2ND4L9106170   Nissan       ARMADA              BROOKLYN                  NY
123561   JN8AY2ND4L9106198   Nissan       ARMADA              HOUSTON                   TX
123562   JN8AY2ND4L9106265   Nissan       ARMADA              SHREVEPORT                LA
123563   JN8AY2ND4L9106914   Nissan       ARMADA              HOUSTON                   TX
123564   JN8AY2ND4L9107013   Nissan       ARMADA              HOUSTON                   TX
123565   JN8AY2ND4L9107206   Nissan       ARMADA              ATLANTA                   GA
123566   JN8AY2ND4L9107240   Nissan       ARMADA              COLLEGE PARK              GA
123567   JN8AY2ND4L9107268   Nissan       ARMADA              ATLANTA                   GA
123568   JN8AY2ND4L9107299   Nissan       ARMADA              BIRMINGHAN                AL
123569   JN8AY2ND4L9107397   Nissan       ARMADA              PENSACOLA                 FL
123570   JN8AY2ND4L9107433   Nissan       ARMADA              SAVANNAH                  GA
123571   JN8AY2ND4L9107464   Nissan       ARMADA              MIAMI                     FL
123572   JN8AY2ND4L9107822   Nissan       ARMADA              PENSACOLA                 FL
123573   JN8AY2ND4L9107979   Nissan       ARMADA              FORT LAUDERDALE           FL
123574   JN8AY2ND4L9108601   Nissan       ARMADA              FORT LAUDERDALE           FL
123575   JN8AY2ND4L9108937   Nissan       ARMADA              MIAMI                     FL
123576   JN8AY2ND4L9108940   Nissan       ARMADA              FORT LAUDERDALE           FL
123577   JN8AY2ND4L9108971   Nissan       ARMADA              MIAMI                     FL
123578   JN8AY2ND4LX015928   Nissan       ARMADA              Miami                     FL
123579   JN8AY2ND4LX016528   Nissan       ARMADA              MIAMI                     FL
123580   JN8AY2ND5JX001906   Nissan       ARMADA              SAN FRANCISCO             CA
123581   JN8AY2ND5JX001954   Nissan       ARMADA              KAILUA KONA               HI
123582   JN8AY2ND5JX002084   Nissan       ARMADA              WAIMEA                    HI
123583   JN8AY2ND5JX002134   Nissan       ARMADA              KALAOA                    HI
123584   JN8AY2ND5JX002151   Nissan       ARMADA              KAILUA‐KONA               HI
123585   JN8AY2ND5JX002179   Nissan       ARMADA              KALAOA                    HI
123586   JN8AY2ND5L9106081   Nissan       ARMADA              FORT LAUDERDALE           FL
123587   JN8AY2ND5L9106095   Nissan       ARMADA              ORLANDO                   FL
123588   JN8AY2ND5L9106114   Nissan       ARMADA              Dallas                    TX
123589   JN8AY2ND5L9106212   Nissan       ARMADA              Irving                    TX
123590   JN8AY2ND5L9106260   Nissan       ARMADA              DETROIT                   MI
123591   JN8AY2ND5L9107196   Nissan       ARMADA              BIRMINGHAM                AL
123592   JN8AY2ND5L9107277   Nissan       ARMADA              ORLANDO                   FL
123593   JN8AY2ND5L9107344   Nissan       ARMADA              NEW BERN                  NC
123594   JN8AY2ND5L9107358   Nissan       ARMADA              JACKSON                   MS
123595   JN8AY2ND5L9107487   Nissan       ARMADA              NEW ORLEANS               LA
123596   JN8AY2ND5L9107666   Nissan       ARMADA              NASHVILLE                 TN
123597   JN8AY2ND5L9107683   Nissan       ARMADA              KNOXVILLE                 TN
123598   JN8AY2ND5L9107795   Nissan       ARMADA              PANAMA CITY               FL
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123599   JN8AY2ND5L9108056   Nissan       ARMADA              Atlanta                   GA
123600   JN8AY2ND5L9108316   Nissan       ARMADA              KENNER                    LA
123601   JN8AY2ND5L9108638   Nissan       ARMADA              FORT MYERS                FL
123602   JN8AY2ND5L9108946   Nissan       ARMADA              Miami                     FL
123603   JN8AY2ND5L9108980   Nissan       ARMADA              Miami                     FL
123604   JN8AY2ND5LX015811   Nissan       ARMADA              RALIEGH                   NC
123605   JN8AY2ND5LX016571   Nissan       ARMADA              Miami                     FL
123606   JN8AY2ND6JX001185   Nissan       ARMADA              HILO                      HI
123607   JN8AY2ND6JX001848   Nissan       ARMADA              WAIMEA                    HI
123608   JN8AY2ND6JX001946   Nissan       ARMADA              HILO                      HI
123609   JN8AY2ND6JX001994   Nissan       ARMADA              KALAOA                    HI
123610   JN8AY2ND6JX002014   Nissan       ARMADA              HILO                      HI
123611   JN8AY2ND6JX002174   Nissan       ARMADA              WAIMEA                    HI
123612   JN8AY2ND6JX002188   Nissan       ARMADA              WAIMEA                    HI
123613   JN8AY2ND6L9106042   Nissan       ARMADA              Tampa                     FL
123614   JN8AY2ND6L9106087   Nissan       ARMADA              MIAMI                     FL
123615   JN8AY2ND6L9106168   Nissan       ARMADA              HOUSTON                   TX
123616   JN8AY2ND6L9106171   Nissan       ARMADA              KNOXVILLE                 TN
123617   JN8AY2ND6L9106204   Nissan       ARMADA              DALLAS                    TX
123618   JN8AY2ND6L9107157   Nissan       ARMADA              PHOENIX                   AZ
123619   JN8AY2ND6L9107224   Nissan       ARMADA              COLLEGE PARK              GA
123620   JN8AY2ND6L9107269   Nissan       ARMADA              ATLANTA                   GA
123621   JN8AY2ND6L9107420   Nissan       ARMADA              COLLEGE PARK              GA
123622   JN8AY2ND6L9108258   Nissan       ARMADA              PENSACOLA                 FL
123623   JN8AY2ND6L9108762   Nissan       ARMADA              WEST PALM BEACH           FL
123624   JN8AY2ND6L9108941   Nissan       ARMADA              FORT LAUDERDALE           FL
123625   JN8AY2ND6LX015851   Nissan       ARMADA              ORLANDO                   FL
123626   JN8AY2ND6LX015946   Nissan       ARMADA              TAMPA                     FL
123627   JN8AY2ND6LX015977   Nissan       ARMADA              Tulsa                     OK
123628   JN8AY2ND6LX016093   Nissan       ARMADA              AUSTIN                    TX
123629   JN8AY2ND6LX016546   Nissan       ARMADA              Dallas                    TX
123630   JN8AY2ND6LX017339   Nissan       ARMADA              AUSTIN                    TX
123631   JN8AY2ND7JX001907   Nissan       ARMADA              KALAOA                    HI
123632   JN8AY2ND7JX001924   Nissan       ARMADA              WAIMEA                    HI
123633   JN8AY2ND7L9106034   Nissan       ARMADA              CHARLOTTE                 US
123634   JN8AY2ND7L9106115   Nissan       ARMADA              HOUSTON                   TX
123635   JN8AY2ND7L9106129   Nissan       ARMADA              SARASOTA                  FL
123636   JN8AY2ND7L9106177   Nissan       ARMADA              Atlanta                   GA
123637   JN8AY2ND7L9106227   Nissan       ARMADA              SHREVEPORT                LA
123638   JN8AY2ND7L9106230   Nissan       ARMADA              DALLAS                    TX
123639   JN8AY2ND7L9107250   Nissan       ARMADA              Atlanta                   GA
123640   JN8AY2ND7L9107295   Nissan       ARMADA              JACKSONVILLE              FL
123641   JN8AY2ND7L9107443   Nissan       ARMADA              CHARLOTTE                 NC
123642   JN8AY2ND7L9107538   Nissan       ARMADA              KNOXVILLE                 TN
123643   JN8AY2ND7L9107667   Nissan       ARMADA              KNOXVILLE                 TN
123644   JN8AY2ND7L9107801   Nissan       ARMADA              PANAMA CITY               FL
123645   JN8AY2ND7L9108589   Nissan       ARMADA              FORT LAUDERDALE           FL
123646   JN8AY2ND7L9108771   Nissan       ARMADA              MIAMI                     FL
123647   JN8AY2ND7L9108897   Nissan       ARMADA              MIAMI                     FL
123648   JN8AY2ND7L9108902   Nissan       ARMADA              MIAMI                     FL
123649   JN8AY2ND7L9108978   Nissan       ARMADA              FORT LAUDERDALE           FL
123650   JN8AY2ND7L9108995   Nissan       ARMADA              KEY WEST                  FL
123651   JN8AY2ND7LX015499   Nissan       ARMADA              SARASOTA                  FL
123652   JN8AY2ND7LX015812   Nissan       ARMADA              CHATTANOOGA               TN
123653   JN8AY2ND7LX015888   Nissan       ARMADA              WEST PALM BEACH           FL
123654   JN8AY2ND7LX016006   Nissan       ARMADA              HOUSTON                   TX
123655   JN8AY2ND7LX016118   Nissan       ARMADA              HOUSTON                   TX
123656   JN8AY2ND7LX016524   Nissan       ARMADA              TAMPA                     FL
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123657   JN8AY2ND7LX017575   Nissan       ARMADA              Tulsa                     OK
123658   JN8AY2ND8JX001186   Nissan       ARMADA              LIHUE                     HI
123659   JN8AY2ND8JX001821   Nissan       ARMADA              KALAOA                    HI
123660   JN8AY2ND8JX002032   Nissan       ARMADA              Kailua‐Kona               HI
123661   JN8AY2ND8JX002144   Nissan       ARMADA              WAIMEA                    HI
123662   JN8AY2ND8JX002175   Nissan       ARMADA              WAIMEA                    HI
123663   JN8AY2ND8L9106043   Nissan       ARMADA              ORLANDO                   FL
123664   JN8AY2ND8L9106074   Nissan       ARMADA              WEST PALM BEACH           FL
123665   JN8AY2ND8L9106088   Nissan       ARMADA              Tampa                     FL
123666   JN8AY2ND8L9106107   Nissan       ARMADA              HOUSTON                   TX
123667   JN8AY2ND8L9106110   Nissan       ARMADA              MEMPHIS                   TN
123668   JN8AY2ND8L9106138   Nissan       ARMADA              DALLAS                    TX
123669   JN8AY2ND8L9106141   Nissan       ARMADA              FORT MYERS                FL
123670   JN8AY2ND8L9106236   Nissan       ARMADA              KILLEEN                   TX
123671   JN8AY2ND8L9107189   Nissan       ARMADA              WEST PALM BEACH           FL
123672   JN8AY2ND8L9107242   Nissan       ARMADA              KNOXVILLE                 TN
123673   JN8AY2ND8L9107354   Nissan       ARMADA              TAMPA                     FL
123674   JN8AY2ND8L9107418   Nissan       ARMADA              DAYTONA BEACH             FL
123675   JN8AY2ND8L9107600   Nissan       ARMADA              NASHVILLE                 TN
123676   JN8AY2ND8L9107662   Nissan       ARMADA              MEMPHIS                   TN
123677   JN8AY2ND8L9108102   Nissan       ARMADA              PANAMA CITY               FL
123678   JN8AY2ND8L9108410   Nissan       ARMADA              FORT MYERS                FL
123679   JN8AY2ND8L9108634   Nissan       ARMADA              ORLANDO                   FL
123680   JN8AY2ND8L9108830   Nissan       ARMADA              MIAMI                     FL
123681   JN8AY2ND8L9109136   Nissan       ARMADA              HOUSTON                   TX
123682   JN8AY2ND8LX015849   Nissan       ARMADA              ORLANDO                   FL
123683   JN8AY2ND8LX015916   Nissan       ARMADA              WEST PALM BEACH           FL
123684   JN8AY2ND8LX015978   Nissan       ARMADA              HOUSTON                   TX
123685   JN8AY2ND8LX015995   Nissan       ARMADA              EL PASO                   TX
123686   JN8AY2ND8LX016046   Nissan       ARMADA              HOUSTON                   TX
123687   JN8AY2ND8LX016614   Nissan       ARMADA              Dallas                    TX
123688   JN8AY2ND8LX018072   Nissan       ARMADA              FORT MYERS                FL
123689   JN8AY2ND9JX001701   Nissan       ARMADA              Honolulu                  HI
123690   JN8AY2ND9JX001889   Nissan       ARMADA              KALAOA                    HI
123691   JN8AY2ND9JX002055   Nissan       ARMADA              HILO                      HI
123692   JN8AY2ND9JX002220   Nissan       ARMADA              Kailua‐Kona               HI
123693   JN8AY2ND9L9106035   Nissan       ARMADA              ORLANDO                   FL
123694   JN8AY2ND9L9106083   Nissan       ARMADA              MIAMI                     FL
123695   JN8AY2ND9L9106147   Nissan       ARMADA              HOUSTON                   TX
123696   JN8AY2ND9L9106164   Nissan       ARMADA              DALLAS                    TX
123697   JN8AY2ND9L9106262   Nissan       ARMADA              HOUSTON                   TX
123698   JN8AY2ND9L9106715   Nissan       ARMADA              LUBBOCK                   TX
123699   JN8AY2ND9L9107217   Nissan       ARMADA              HANOVER                   MD
123700   JN8AY2ND9L9107220   Nissan       ARMADA              COCOA                     FL
123701   JN8AY2ND9L9107282   Nissan       ARMADA              Atlanta                   GA
123702   JN8AY2ND9L9107654   Nissan       ARMADA              KNOXVILLE                 TN
123703   JN8AY2ND9L9107699   Nissan       ARMADA              NASHVILLE                 TN
123704   JN8AY2ND9L9108853   Nissan       ARMADA              MIAMI                     FL
123705   JN8AY2ND9L9109081   Nissan       ARMADA              MIAMI                     FL
123706   JN8AY2ND9LX015827   Nissan       ARMADA              SARASOTA                  FL
123707   JN8AY2ND9LX015889   Nissan       ARMADA              MIAMI                     FL
123708   JN8AY2ND9LX016279   Nissan       ARMADA              HOUSTON                   TX
123709   JN8AY2ND9LX016461   Nissan       ARMADA              Tampa                     FL
123710   JN8AY2ND9LX016508   Nissan       ARMADA              MIAMI                     FL
123711   JN8AY2ND9LX016654   Nissan       ARMADA              HOUSTON                   TX
123712   JN8AY2ND9LX016718   Nissan       ARMADA              SHREVEPORT                LA
123713   JN8AY2ND9LX017254   Nissan       ARMADA              AUSTIN                    TX
123714   JN8AY2ND9LX017304   Nissan       ARMADA              Atlanta                   GA
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123715   JN8AY2ND9LX017402   Nissan       ARMADA              PHOENIX                   AZ
123716   JN8AY2NDXJX001612   Nissan       ARMADA              SAN FRANCISCO             CA
123717   JN8AY2NDXJX001805   Nissan       ARMADA              HILO                      HI
123718   JN8AY2NDXJX002033   Nissan       ARMADA              KALAOA                    HI
123719   JN8AY2NDXJX002078   Nissan       ARMADA              HILO                      HI
123720   JN8AY2NDXJX002081   Nissan       ARMADA              Kailua‐Kona               HI
123721   JN8AY2NDXL9106058   Nissan       ARMADA              CHARLESTON                SC
123722   JN8AY2NDXL9106075   Nissan       ARMADA              LUBBOCK                   TX
123723   JN8AY2NDXL9106092   Nissan       ARMADA              MIAMI                     FL
123724   JN8AY2NDXL9106190   Nissan       ARMADA              SAINT LOUIS               MO
123725   JN8AY2NDXL9107260   Nissan       ARMADA              Miami                     FL
123726   JN8AY2NDXL9107582   Nissan       ARMADA              KNOXVILLE                 TN
123727   JN8AY2NDXL9107646   Nissan       ARMADA              KNOXVILLE                 TN
123728   JN8AY2NDXL9108098   Nissan       ARMADA              MIAMI                     FL
123729   JN8AY2NDXL9108151   Nissan       ARMADA              PANAMA CITY               FL
123730   JN8AY2NDXL9108523   Nissan       ARMADA              ORLANDO                   FL
123731   JN8AY2NDXL9108618   Nissan       ARMADA              SAVANNAH                  GA
123732   JN8AY2NDXL9108747   Nissan       ARMADA              FORT LAUDERDALE           FL
123733   JN8AY2NDXL9108750   Nissan       ARMADA              ORLANDO                   FL
123734   JN8AY2NDXL9108862   Nissan       ARMADA              Miami                     FL
123735   JN8AY2NDXL9108893   Nissan       ARMADA              FORT MYERS                FL
123736   JN8AY2NDXL9108957   Nissan       ARMADA              MIAMI                     FL
123737   JN8AY2NDXL9108991   Nissan       ARMADA              MIAMI                     FL
123738   JN8AY2NDXL9109106   Nissan       ARMADA              MIAMI                     FL
123739   JN8AY2NDXLX018073   Nissan       ARMADA              FORT MYERS                FL
123740   JN8AZ2NE0J9193293   Nissan       QX80                Fontana                   CA
123741   JN8AZ2NE0K9232580   Nissan       QX80                Portland                  ME
123742   JN8AZ2NE0K9232594   Nissan       QX80                CHICAGO                   IL
123743   JN8AZ2NE0K9232627   Nissan       QX80                SHAKOPEE                  MN
123744   JN8AZ2NE0K9232790   Nissan       QX80                SAN FRANCISCO             CA
123745   JN8AZ2NE0K9232806   Nissan       QX80                FORT MYERS                FL
123746   JN8AZ2NE0K9232854   Nissan       QX80                LOS ANGELES               CA
123747   JN8AZ2NE0K9232885   Nissan       QX80                CHICAGO                   IL
123748   JN8AZ2NE0K9232918   Nissan       QX80                Riverside                 CA
123749   JN8AZ2NE0K9232949   Nissan       QX80                DENVER                    CO
123750   JN8AZ2NE0K9232983   Nissan       QX80                SALT LAKE CITY            UT
123751   JN8AZ2NE0K9233079   Nissan       QX80                DENVER                    CO
123752   JN8AZ2NE0K9233227   Nissan       QX80                Aurora                    CO
123753   JN8AZ2NE0K9233258   Nissan       QX80                SAN DIEGO                 CA
123754   JN8AZ2NE0K9233292   Nissan       QX80                DENVER                    CO
123755   JN8AZ2NE0K9233342   Nissan       QX80                ONTARIO, RIVERSIDE        CA
123756   JN8AZ2NE0K9233356   Nissan       QX80                PICO RIVERA               CA
123757   JN8AZ2NE0K9233468   Nissan       QX80                OAKLAND                   CA
123758   JN8AZ2NE0K9233471   Nissan       QX80                COLLEGE PARK              GA
123759   JN8AZ2NE0K9233583   Nissan       QX80                ALBANY                    NY
123760   JN8AZ2NE0K9233597   Nissan       QX80                Alexandria                VA
123761   JN8AZ2NE0K9233602   Nissan       QX80                Union City                GA
123762   JN8AZ2NE0K9233616   Nissan       QX80                BURBANK                   CA
123763   JN8AZ2NE0K9233650   Nissan       QX80                CHICAGO                   IL
123764   JN8AZ2NE0K9233731   Nissan       QX80                TULSA                     OK
123765   JN8AZ2NE0K9233745   Nissan       QX80                TAMPA                     US
123766   JN8AZ2NE0K9233759   Nissan       QX80                Statesville               NC
123767   JN8AZ2NE0K9233941   Nissan       QX80                SANTA ANA                 CA
123768   JN8AZ2NE0K9233986   Nissan       QX80                San Diego                 CA
123769   JN8AZ2NE0K9234183   Nissan       QX80                PHOENIX                   AZ
123770   JN8AZ2NE0K9234250   Nissan       QX80                Sacramento                CA
123771   JN8AZ2NE0K9234281   Nissan       QX80                LOS ANGELES               CA
123772   JN8AZ2NE0K9234409   Nissan       QX80                Stockton                  CA
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123773   JN8AZ2NE1J9191262   Nissan       QX80                Anaheim                   CA
123774   JN8AZ2NE1K9232586   Nissan       QX80                Rockville Centr           NY
123775   JN8AZ2NE1K9232636   Nissan       QX80                STERLING                  US
123776   JN8AZ2NE1K9232734   Nissan       QX80                BALTIMORE                 MD
123777   JN8AZ2NE1K9232877   Nissan       QX80                LAS VEGAS                 NV
123778   JN8AZ2NE1K9232958   Nissan       QX80                LOS ANGELES               CA
123779   JN8AZ2NE1K9232975   Nissan       QX80                DFW AIRPORT               TX
123780   JN8AZ2NE1K9232989   Nissan       QX80                FORT MYERS                FL
123781   JN8AZ2NE1K9232992   Nissan       QX80                RENO                      NV
123782   JN8AZ2NE1K9233012   Nissan       QX80                Riverside                 CA
123783   JN8AZ2NE1K9233026   Nissan       QX80                SEATAC                    WA
123784   JN8AZ2NE1K9233043   Nissan       QX80                DENVER                    CO
123785   JN8AZ2NE1K9233057   Nissan       QX80                Reno                      NV
123786   JN8AZ2NE1K9233222   Nissan       QX80                DENVER                    CO
123787   JN8AZ2NE1K9233303   Nissan       QX80                SAN FRANCISCO             CA
123788   JN8AZ2NE1K9233477   Nissan       QX80                STERLING                  VA
123789   JN8AZ2NE1K9233589   Nissan       QX80                NEW YORK CITY             NY
123790   JN8AZ2NE1K9233706   Nissan       QX80                Lexington                 KY
123791   JN8AZ2NE1K9233902   Nissan       QX80                DENVER                    CO
123792   JN8AZ2NE1K9233933   Nissan       QX80                BURBANK                   CA
123793   JN8AZ2NE1K9233947   Nissan       QX80                LOS ANGELES AP            CA
123794   JN8AZ2NE1K9233981   Nissan       QX80                Atlanta                   GA
123795   JN8AZ2NE1K9234001   Nissan       QX80                Reno                      NV
123796   JN8AZ2NE1K9234032   Nissan       QX80                SAN DIEGO                 CA
123797   JN8AZ2NE1K9234077   Nissan       QX80                ALBUQUERQUE               NM
123798   JN8AZ2NE1K9234158   Nissan       QX80                DENVER                    CO
123799   JN8AZ2NE1K9234175   Nissan       QX80                SANTA ANA                 CA
123800   JN8AZ2NE1K9234211   Nissan       QX80                ONTARIO                   CA
123801   JN8AZ2NE1K9234225   Nissan       QX80                LOS ANGELES AP            CA
123802   JN8AZ2NE1K9234239   Nissan       QX80                Lake Elsinore             CA
123803   JN8AZ2NE1K9234306   Nissan       QX80                LAS VEGAS                 NV
123804   JN8AZ2NE1K9234323   Nissan       QX80                North Las Vegas           NV
123805   JN8AZ2NE1K9234368   Nissan       QX80                DENVER                    CO
123806   JN8AZ2NE1K9234371   Nissan       QX80                LOS ANGELES               CA
123807   JN8AZ2NE1K9234399   Nissan       QX80                Englewood                 CO
123808   JN8AZ2NE2K9232595   Nissan       QX80                SCRANTON                  PA
123809   JN8AZ2NE2K9232600   Nissan       QX80                Manheim                   PA
123810   JN8AZ2NE2K9232791   Nissan       QX80                PHOENIX                   AZ
123811   JN8AZ2NE2K9232838   Nissan       QX80                CHICAGO                   IL
123812   JN8AZ2NE2K9232841   Nissan       QX80                BOISE                     US
123813   JN8AZ2NE2K9232922   Nissan       QX80                Kansas City               MO
123814   JN8AZ2NE2K9232967   Nissan       QX80                DENVER                    CO
123815   JN8AZ2NE2K9233004   Nissan       QX80                LOS ANGELES               CA
123816   JN8AZ2NE2K9233018   Nissan       QX80                San Diego                 CA
123817   JN8AZ2NE2K9233102   Nissan       QX80                PHOENIX                   AZ
123818   JN8AZ2NE2K9233116   Nissan       QX80                DENVER                    CO
123819   JN8AZ2NE2K9233200   Nissan       QX80                DENVER                    CO
123820   JN8AZ2NE2K9233245   Nissan       QX80                PORTLAND                  OR
123821   JN8AZ2NE2K9233276   Nissan       QX80                PALM SPRINGS              CA
123822   JN8AZ2NE2K9233469   Nissan       QX80                TAMPA                     FL
123823   JN8AZ2NE2K9233570   Nissan       QX80                Bensalem                  PA
123824   JN8AZ2NE2K9233603   Nissan       QX80                Houston                   TX
123825   JN8AZ2NE2K9233729   Nissan       QX80                DENVER                    CO
123826   JN8AZ2NE2K9233844   Nissan       QX80                PALM SPRINGS              CA
123827   JN8AZ2NE2K9233908   Nissan       QX80                PORTLAND                  OR
123828   JN8AZ2NE2K9233925   Nissan       QX80                Fresno                    CA
123829   JN8AZ2NE2K9233939   Nissan       QX80                DALLAS                    TX
123830   JN8AZ2NE2K9234041   Nissan       QX80                Riverside                 CA
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123831   JN8AZ2NE2K9234055   Nissan       QX80                Lake Elsinore             CA
123832   JN8AZ2NE2K9234069   Nissan       QX80                PHOENIX                   AZ
123833   JN8AZ2NE2K9234119   Nissan       QX80                Fresno                    CA
123834   JN8AZ2NE2K9234184   Nissan       QX80                SACRAMENTO                CA
123835   JN8AZ2NE2K9234248   Nissan       QX80                LAS VEGAS                 NV
123836   JN8AZ2NE2K9234282   Nissan       QX80                LAS VEGAS                 NV
123837   JN8AZ2NE2K9234296   Nissan       QX80                PORTLAND                  OR
123838   JN8AZ2NE2K9234301   Nissan       QX80                SALT LAKE CITY            US
123839   JN8AZ2NE2K9234363   Nissan       QX80                SANTA ANA                 CA
123840   JN8AZ2NE2K9234380   Nissan       QX80                Los Angeles               CA
123841   JN8AZ2NE2K9234413   Nissan       QX80                Sacramento                CA
123842   JN8AZ2NE2K9234427   Nissan       QX80                TUCSON                    AZ
123843   JN8AZ2NE3J9190520   Nissan       QX80                LAS VEGAS                 NV
123844   JN8AZ2NE3J9190825   Nissan       QX80                Hayward                   CA
123845   JN8AZ2NE3J9193093   Nissan       QX80                Elkridge                  MD
123846   JN8AZ2NE3K9232623   Nissan       QX80                INDIANAPOLIS              IN
123847   JN8AZ2NE3K9232637   Nissan       QX80                DETROIT                   MI
123848   JN8AZ2NE3K9232654   Nissan       QX80                JACKSONVILLE              FL
123849   JN8AZ2NE3K9232685   Nissan       QX80                Detroit                   MI
123850   JN8AZ2NE3K9232699   Nissan       QX80                SALT LAKE CITY            US
123851   JN8AZ2NE3K9232766   Nissan       QX80                ALBUQUERQUE               NM
123852   JN8AZ2NE3K9232783   Nissan       QX80                MIAMI                     FL
123853   JN8AZ2NE3K9232847   Nissan       QX80                ORANGE COUNTY             CA
123854   JN8AZ2NE3K9232881   Nissan       QX80                SAN FRANCISCO             CA
123855   JN8AZ2NE3K9232928   Nissan       QX80                Carleton                  MI
123856   JN8AZ2NE3K9232931   Nissan       QX80                Kansas City               MO
123857   JN8AZ2NE3K9233013   Nissan       QX80                DENVER                    CO
123858   JN8AZ2NE3K9233030   Nissan       QX80                LOS ANGELES               CA
123859   JN8AZ2NE3K9233058   Nissan       QX80                DENVER                    CO
123860   JN8AZ2NE3K9233061   Nissan       QX80                DENVER                    CO
123861   JN8AZ2NE3K9233142   Nissan       QX80                Salt Lake City            UT
123862   JN8AZ2NE3K9233237   Nissan       QX80                ALBUQUERQUE               NM
123863   JN8AZ2NE3K9233254   Nissan       QX80                Scottsdale                AZ
123864   JN8AZ2NE3K9233335   Nissan       QX80                SEATTLE                   WA
123865   JN8AZ2NE3K9233450   Nissan       QX80                NEWARK                    NJ
123866   JN8AZ2NE3K9233562   Nissan       QX80                Alcoa                     TN
123867   JN8AZ2NE3K9233576   Nissan       QX80                ALBANY                    N
123868   JN8AZ2NE3K9233609   Nissan       QX80                CHARLOTTE                 NC
123869   JN8AZ2NE3K9233822   Nissan       QX80                JACKSONVILLE              FL
123870   JN8AZ2NE3K9233979   Nissan       QX80                LOS ANGELES AP            CA
123871   JN8AZ2NE3K9234002   Nissan       QX80                Irving                    TX
123872   JN8AZ2NE3K9234033   Nissan       QX80                BURBANK                   CA
123873   JN8AZ2NE3K9234078   Nissan       QX80                Albuquerque               NM
123874   JN8AZ2NE3K9234162   Nissan       QX80                LOS ANGELES               CA
123875   JN8AZ2NE3K9234209   Nissan       QX80                PHOENIX                   AZ
123876   JN8AZ2NE3K9234243   Nissan       QX80                LOS ANGELES               CA
123877   JN8AZ2NE3K9234291   Nissan       QX80                Tolleson                  AZ
123878   JN8AZ2NE3K9234341   Nissan       QX80                Riverside                 CA
123879   JN8AZ2NE3K9234372   Nissan       QX80                Los Angeles               CA
123880   JN8AZ2NE3K9234386   Nissan       QX80                Rio Linda                 CA
123881   JN8AZ2NE3K9234419   Nissan       QX80                LOS ANGELES               CA
123882   JN8AZ2NE3K9234436   Nissan       QX80                PHOENIX                   AZ
123883   JN8AZ2NE4J9190929   Nissan       QX80                Fontana                   CA
123884   JN8AZ2NE4J9191076   Nissan       QX80                Fontana                   CA
123885   JN8AZ2NE4J9192857   Nissan       QX80                Manheim                   PA
123886   JN8AZ2NE4J9194012   Nissan       QX80                Slidell                   LA
123887   JN8AZ2NE4K9232582   Nissan       QX80                NEWARK                    NJ
123888   JN8AZ2NE4K9232713   Nissan       QX80                MIAMI                     FL
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123889   JN8AZ2NE4K9232775   Nissan       QX80                San Francisco             CA
123890   JN8AZ2NE4K9232839   Nissan       QX80                Atlanta                   GA
123891   JN8AZ2NE4K9232971   Nissan       QX80                Aurora                    CO
123892   JN8AZ2NE4K9232999   Nissan       QX80                Denver                    CO
123893   JN8AZ2NE4K9233005   Nissan       QX80                Santa Clara               CA
123894   JN8AZ2NE4K9233084   Nissan       QX80                Charlotte                 NC
123895   JN8AZ2NE4K9233151   Nissan       QX80                DENVER                    CO
123896   JN8AZ2NE4K9233182   Nissan       QX80                LOS ANGELES               CA
123897   JN8AZ2NE4K9233201   Nissan       QX80                CHICAGO                   IL
123898   JN8AZ2NE4K9233277   Nissan       QX80                Sacramento                CA
123899   JN8AZ2NE4K9233330   Nissan       QX80                PHOENIX                   AZ
123900   JN8AZ2NE4K9233389   Nissan       QX80                LAS VEGAS                 NV
123901   JN8AZ2NE4K9233537   Nissan       QX80                CLEVELAND                 OH
123902   JN8AZ2NE4K9233554   Nissan       QX80                FORT LAUDERDALE           FL
123903   JN8AZ2NE4K9233585   Nissan       QX80                NEW BERN                  NC
123904   JN8AZ2NE4K9233781   Nissan       QX80                Denver                    CO
123905   JN8AZ2NE4K9233814   Nissan       QX80                BIRMINGHAM                AL
123906   JN8AZ2NE4K9233876   Nissan       QX80                TAMPA                     FL
123907   JN8AZ2NE4K9233912   Nissan       QX80                Atlanta                   GA
123908   JN8AZ2NE4K9233943   Nissan       QX80                Reno                      NV
123909   JN8AZ2NE4K9234039   Nissan       QX80                Denver                    CO
123910   JN8AZ2NE4K9234042   Nissan       QX80                KANSAS CITY               MO
123911   JN8AZ2NE4K9234106   Nissan       QX80                CHICAGO O'HARE AP         IL
123912   JN8AZ2NE4K9234137   Nissan       QX80                Anaheim                   CA
123913   JN8AZ2NE4K9234154   Nissan       QX80                Aurora                    CO
123914   JN8AZ2NE4K9234218   Nissan       QX80                LAS VEGAS                 NV
123915   JN8AZ2NE4K9234283   Nissan       QX80                Riverside                 CA
123916   JN8AZ2NE4K9234350   Nissan       QX80                SANTA ANA                 CA
123917   JN8AZ2NE4K9234381   Nissan       QX80                Roseville                 CA
123918   JN8AZ2NE4K9234414   Nissan       QX80                LOS ANGELES AP            CA
123919   JN8AZ2NE4K9234431   Nissan       QX80                RENO                      NV
123920   JN8AZ2NE5H9151129   Nissan       QX80                TRACY                     CA
123921   JN8AZ2NE5J9191006   Nissan       QX80                Anchorage                 AK
123922   JN8AZ2NE5K9232610   Nissan       QX80                PHILADELPHIA              US
123923   JN8AZ2NE5K9232641   Nissan       QX80                NEW YORK CITY             NY
123924   JN8AZ2NE5K9232719   Nissan       QX80                Hartford                  CT
123925   JN8AZ2NE5K9232848   Nissan       QX80                DALLAS                    TX
123926   JN8AZ2NE5K9232901   Nissan       QX80                SAN FRANCISCO             CA
123927   JN8AZ2NE5K9233028   Nissan       QX80                SACRAMENTO                CA
123928   JN8AZ2NE5K9233112   Nissan       QX80                Hayward                   CA
123929   JN8AZ2NE5K9233353   Nissan       QX80                PALM SPRINGS              CA
123930   JN8AZ2NE5K9233448   Nissan       QX80                CHARLESTON                SC
123931   JN8AZ2NE5K9233479   Nissan       QX80                Atlanta                   GA
123932   JN8AZ2NE5K9233482   Nissan       QX80                PHILADELPHIA              PA
123933   JN8AZ2NE5K9233594   Nissan       QX80                BALTIMORE                 MD
123934   JN8AZ2NE5K9233790   Nissan       QX80                DANIA                     FL
123935   JN8AZ2NE5K9233823   Nissan       QX80                PHILADELPHIA              US
123936   JN8AZ2NE5K9233837   Nissan       QX80                Miami                     FL
123937   JN8AZ2NE5K9233949   Nissan       QX80                AUSTIN                    TX
123938   JN8AZ2NE5K9234003   Nissan       QX80                HOUSTON                   TX
123939   JN8AZ2NE5K9234079   Nissan       QX80                PHOENIX                   AZ
123940   JN8AZ2NE5K9234163   Nissan       QX80                Fresno                    CA
123941   JN8AZ2NE5K9234289   Nissan       QX80                Las Vegas                 NV
123942   JN8AZ2NE5K9234292   Nissan       QX80                LAS VEGAS                 NV
123943   JN8AZ2NE5K9234342   Nissan       QX80                LAS VEGAS                 NV
123944   JN8AZ2NE5K9234387   Nissan       QX80                LAS VEGAS                 NV
123945   JN8AZ2NE6J9190124   Nissan       QX80                SACRAMENTO                CA
123946   JN8AZ2NE6J9191998   Nissan       QX80                Anaheim                   CA
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123947   JN8AZ2NE6K9232583   Nissan       QX80                ROCHESTER                 NY
123948   JN8AZ2NE6K9232602   Nissan       QX80                BOISE                     US
123949   JN8AZ2NE6K9232616   Nissan       QX80                Memphis                   TN
123950   JN8AZ2NE6K9232650   Nissan       QX80                BOSTON                    MA
123951   JN8AZ2NE6K9232762   Nissan       QX80                NORFOLK                   VA
123952   JN8AZ2NE6K9232809   Nissan       QX80                PHOENIX                   AZ
123953   JN8AZ2NE6K9232874   Nissan       QX80                ELKRIDGE                  MD
123954   JN8AZ2NE6K9232972   Nissan       QX80                PROVIDENCE                RI
123955   JN8AZ2NE6K9233037   Nissan       QX80                ALBUQUERQUE               NM
123956   JN8AZ2NE6K9233135   Nissan       QX80                West Bountiful            UT
123957   JN8AZ2NE6K9233166   Nissan       QX80                DENVER                    CO
123958   JN8AZ2NE6K9233233   Nissan       QX80                HOUSTON                   TX
123959   JN8AZ2NE6K9233247   Nissan       QX80                SOUTHEAST DST OFFC        OK
123960   JN8AZ2NE6K9233250   Nissan       QX80                GUNNISON                  CO
123961   JN8AZ2NE6K9233457   Nissan       QX80                FAYETTEVILLE              GA
123962   JN8AZ2NE6K9233541   Nissan       QX80                SALT LAKE CITY            US
123963   JN8AZ2NE6K9233569   Nissan       QX80                RALEIGH                   NC
123964   JN8AZ2NE6K9233619   Nissan       QX80                Smithtown                 NY
123965   JN8AZ2NE6K9233622   Nissan       QX80                LOS ANGELES               CA
123966   JN8AZ2NE6K9233684   Nissan       QX80                BOSTON                    MA
123967   JN8AZ2NE6K9233927   Nissan       QX80                LAS VEGAS                 NV
123968   JN8AZ2NE6K9233961   Nissan       QX80                LAS VEGAS                 NV
123969   JN8AZ2NE6K9234026   Nissan       QX80                PHOENIX                   AZ
123970   JN8AZ2NE6K9234107   Nissan       QX80                DENVER                    CO
123971   JN8AZ2NE6K9234141   Nissan       QX80                Las Vegas                 NV
123972   JN8AZ2NE6K9234222   Nissan       QX80                SANTA ANA                 CA
123973   JN8AZ2NE6K9234284   Nissan       QX80                San Diego                 CA
123974   JN8AZ2NE6K9234298   Nissan       QX80                SAN JOSE                  CA
123975   JN8AZ2NE6K9234334   Nissan       QX80                SEATAC                    WA
123976   JN8AZ2NE6K9234348   Nissan       QX80                Chicago                   IL
123977   JN8AZ2NE6K9234351   Nissan       QX80                BOISE                     US
123978   JN8AZ2NE6K9234379   Nissan       QX80                PHOENIX                   AZ
123979   JN8AZ2NE6K9234401   Nissan       QX80                LOS ANGELES               CA
123980   JN8AZ2NE7J9190164   Nissan       QX80                FT. LAUDERDALE            FL
123981   JN8AZ2NE7J9190925   Nissan       QX80                Manheim                   PA
123982   JN8AZ2NE7J9190956   Nissan       QX80                Norwalk                   CA
123983   JN8AZ2NE7J9192934   Nissan       QX80                PHILADELPHIA              PA
123984   JN8AZ2NE7J9193324   Nissan       QX80                OAKLAND                   CA
123985   JN8AZ2NE7K9232821   Nissan       QX80                NEW BERN                  NC
123986   JN8AZ2NE7K9232897   Nissan       QX80                LAS VEGAS                 NV
123987   JN8AZ2NE7K9232947   Nissan       QX80                DENVER                    CO
123988   JN8AZ2NE7K9232978   Nissan       QX80                SOUTH SAN FRANC           CA
123989   JN8AZ2NE7K9232995   Nissan       QX80                LAS VEGAS                 NV
123990   JN8AZ2NE7K9233029   Nissan       QX80                Sacramento                CA
123991   JN8AZ2NE7K9233032   Nissan       QX80                SAN FRANCISCO             CA
123992   JN8AZ2NE7K9233175   Nissan       QX80                DENVER                    CO
123993   JN8AZ2NE7K9233189   Nissan       QX80                LAS VEGAS                 NV
123994   JN8AZ2NE7K9233287   Nissan       QX80                STOCKTON                  CA
123995   JN8AZ2NE7K9233290   Nissan       QX80                ST Paul                   MN
123996   JN8AZ2NE7K9233449   Nissan       QX80                Beaverton                 OR
123997   JN8AZ2NE7K9233452   Nissan       QX80                Lynn                      MA
123998   JN8AZ2NE7K9233466   Nissan       QX80                FORT MYERS                FL
123999   JN8AZ2NE7K9233547   Nissan       QX80                PORTLAND                  ME
124000   JN8AZ2NE7K9233578   Nissan       QX80                ATLANTA                   GA
124001   JN8AZ2NE7K9233726   Nissan       QX80                LOS ANGELES               CA
124002   JN8AZ2NE7K9233743   Nissan       QX80                ORLANDO                   FL
124003   JN8AZ2NE7K9233791   Nissan       QX80                FT. LAUDERDALE            FL
124004   JN8AZ2NE7K9234004   Nissan       QX80                Riverside                 CA
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124005   JN8AZ2NE7K9234018   Nissan       QX80                LAS VEGAS                 NV
124006   JN8AZ2NE7K9234066   Nissan       QX80                PHOENIX                   AZ
124007   JN8AZ2NE7K9234150   Nissan       QX80                SAINT PAUL                MN
124008   JN8AZ2NE7K9234228   Nissan       QX80                PALM SPRINGS              CA
124009   JN8AZ2NE7K9234293   Nissan       QX80                LOS ANGELES               CA
124010   JN8AZ2NE7K9234357   Nissan       QX80                LOS ANGELES               CA
124011   JN8AZ2NE7K9234374   Nissan       QX80                LAS VEGAS                 NV
124012   JN8AZ2NE7K9234407   Nissan       QX80                DENVER                    CO
124013   JN8AZ2NE7K9234410   Nissan       QX80                LAS VEGAS                 NV
124014   JN8AZ2NE8J9190173   Nissan       QX80                LAS VEGAS                 NV
124015   JN8AZ2NE8J9190478   Nissan       QX80                Carleton                  MI
124016   JN8AZ2NE8K9232701   Nissan       QX80                DENVER                    CO
124017   JN8AZ2NE8K9232875   Nissan       QX80                DFW AIRPORT               TX
124018   JN8AZ2NE8K9232911   Nissan       QX80                Torrance                  CA
124019   JN8AZ2NE8K9233007   Nissan       QX80                LOS ANGELES               CA
124020   JN8AZ2NE8K9233072   Nissan       QX80                albuquerque               nm
124021   JN8AZ2NE8K9233086   Nissan       QX80                DENVER                    CO
124022   JN8AZ2NE8K9233153   Nissan       QX80                WEST PALM BEACH           FL
124023   JN8AZ2NE8K9233198   Nissan       QX80                Kent                      WA
124024   JN8AZ2NE8K9233234   Nissan       QX80                DENVER                    CO
124025   JN8AZ2NE8K9233265   Nissan       QX80                LAS VEGAS                 NV
124026   JN8AZ2NE8K9233346   Nissan       QX80                Riverside                 CA
124027   JN8AZ2NE8K9233394   Nissan       QX80                Revere                    MA
124028   JN8AZ2NE8K9233461   Nissan       QX80                BOSTON                    MA
124029   JN8AZ2NE8K9233489   Nissan       QX80                FORT MYERS                FL
124030   JN8AZ2NE8K9233573   Nissan       QX80                CHICAGO                   IL
124031   JN8AZ2NE8K9233623   Nissan       QX80                BOSTON                    MA
124032   JN8AZ2NE8K9233637   Nissan       QX80                BIRMINGHAN                AL
124033   JN8AZ2NE8K9233685   Nissan       QX80                SALT LAKE CITY            UT
124034   JN8AZ2NE8K9233735   Nissan       QX80                Aurora                    CO
124035   JN8AZ2NE8K9233766   Nissan       QX80                ALLENTOWN                 US
124036   JN8AZ2NE8K9233797   Nissan       QX80                Portland                  OR
124037   JN8AZ2NE8K9233928   Nissan       QX80                LOS ANGELES               CA
124038   JN8AZ2NE8K9233976   Nissan       QX80                ALBUQUERQUE               NM
124039   JN8AZ2NE8K9233993   Nissan       QX80                Norwalk                   CA
124040   JN8AZ2NE8K9234013   Nissan       QX80                SAN FRANCISCO             CA
124041   JN8AZ2NE8K9234027   Nissan       QX80                LAS VEGAS                 NV
124042   JN8AZ2NE8K9234044   Nissan       QX80                ALBUQERQUE                NM
124043   JN8AZ2NE8K9234058   Nissan       QX80                SACRAMENTO                CA
124044   JN8AZ2NE8K9234061   Nissan       QX80                ONTARIO                   CA
124045   JN8AZ2NE8K9234092   Nissan       QX80                Roseville                 CA
124046   JN8AZ2NE8K9234111   Nissan       QX80                Stockton                  CA
124047   JN8AZ2NE8K9234142   Nissan       QX80                DENVER                    CO
124048   JN8AZ2NE8K9234223   Nissan       QX80                BURBANK                   CA
124049   JN8AZ2NE8K9234240   Nissan       QX80                SAN DIEGO                 CA
124050   JN8AZ2NE8K9234268   Nissan       QX80                Sacramento                CA
124051   JN8AZ2NE8K9234304   Nissan       QX80                LOS ANGELES               CA
124052   JN8AZ2NE8K9234321   Nissan       QX80                LAS VEGAS                 NV
124053   JN8AZ2NE8K9234335   Nissan       QX80                ORANGE COUNTY             CA
124054   JN8AZ2NE8K9234349   Nissan       QX80                Oklahoma City             OK
124055   JN8AZ2NE8K9234366   Nissan       QX80                BURBANK                   CA
124056   JN8AZ2NE8K9234416   Nissan       QX80                ONTARIO                   CA
124057   JN8AZ2NE8K9234433   Nissan       QX80                Santa Clara               CA
124058   JN8AZ2NE9H9154373   Nissan       QX80                TAMPA                     US
124059   JN8AZ2NE9J9191252   Nissan       QX80                Fontana                   CA
124060   JN8AZ2NE9J9192028   Nissan       QX80                PLEASANTON                CA
124061   JN8AZ2NE9J9193809   Nissan       QX80                MEMPHIS                   TN
124062   JN8AZ2NE9K9232593   Nissan       QX80                North Dighton             MA
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124063   JN8AZ2NE9K9232609   Nissan       QX80                Bensalem                  PA
124064   JN8AZ2NE9K9232612   Nissan       QX80                NEWARK                    NJ
124065   JN8AZ2NE9K9232643   Nissan       QX80                Kansas City               MO
124066   JN8AZ2NE9K9232674   Nissan       QX80                DENVER                    CO
124067   JN8AZ2NE9K9232707   Nissan       QX80                KANSAS CITY               MO
124068   JN8AZ2NE9K9232805   Nissan       QX80                DANIA BEACH               FL
124069   JN8AZ2NE9K9232948   Nissan       QX80                DENVER                    CO
124070   JN8AZ2NE9K9233002   Nissan       QX80                Fontana                   CA
124071   JN8AZ2NE9K9233095   Nissan       QX80                GYPSUM                    CO
124072   JN8AZ2NE9K9233114   Nissan       QX80                Hayward                   CA
124073   JN8AZ2NE9K9233162   Nissan       QX80                Aurora                    CO
124074   JN8AZ2NE9K9233209   Nissan       QX80                Euless                    TX
124075   JN8AZ2NE9K9233307   Nissan       QX80                PHOENIX                   AZ
124076   JN8AZ2NE9K9233310   Nissan       QX80                Roseville                 CA
124077   JN8AZ2NE9K9233467   Nissan       QX80                DES PLAINES               US
124078   JN8AZ2NE9K9233579   Nissan       QX80                TAMPA                     FL
124079   JN8AZ2NE9K9233629   Nissan       QX80                CLEVELAND                 OH
124080   JN8AZ2NE9K9233825   Nissan       QX80                WEST PALM BEACH           FL
124081   JN8AZ2NE9K9233842   Nissan       QX80                Fredericksburg            VA
124082   JN8AZ2NE9K9233923   Nissan       QX80                SAN DIEGO                 CA
124083   JN8AZ2NE9K9233940   Nissan       QX80                NEWPORT BEACH             CA
124084   JN8AZ2NE9K9233968   Nissan       QX80                GRAND RAPIDS              MI
124085   JN8AZ2NE9K9233971   Nissan       QX80                FRESNO                    CA
124086   JN8AZ2NE9K9233985   Nissan       QX80                STERLING                  VA
124087   JN8AZ2NE9K9234005   Nissan       QX80                SALT LAKE CITY            US
124088   JN8AZ2NE9K9234022   Nissan       QX80                Tolleson                  AZ
124089   JN8AZ2NE9K9234053   Nissan       QX80                LAS VEGAS                 NV
124090   JN8AZ2NE9K9234232   Nissan       QX80                SALT LAKE CITY            US
124091   JN8AZ2NE9K9234246   Nissan       QX80                ORANGE COUNTY             CA
124092   JN8AZ2NE9K9234327   Nissan       QX80                PHOENIX                   AZ
124093   JN8AZ2NE9K9234408   Nissan       QX80                Albuquerque               NM
124094   JN8AZ2NE9K9234425   Nissan       QX80                BURBANK                   CA
124095   JN8AZ2NEXF9086954   Nissan       QX80                FAYETTEVILLE              GA
124096   JN8AZ2NEXK9232604   Nissan       QX80                HANOVER                   MD
124097   JN8AZ2NEXK9232649   Nissan       QX80                WEST PALM BEACH           FL
124098   JN8AZ2NEXK9232652   Nissan       QX80                Atlanta                   GA
124099   JN8AZ2NEXK9232697   Nissan       QX80                FORT MYERS                FL
124100   JN8AZ2NEXK9232702   Nissan       QX80                MIAMI                     FL
124101   JN8AZ2NEXK9232764   Nissan       QX80                DES PLAINES               US
124102   JN8AZ2NEXK9232778   Nissan       QX80                SACRAMENTO                CA
124103   JN8AZ2NEXK9232795   Nissan       QX80                SAN DIEGO                 CA
124104   JN8AZ2NEXK9232800   Nissan       QX80                DENVER                    CO
124105   JN8AZ2NEXK9232814   Nissan       QX80                LOS ANGELES               CA
124106   JN8AZ2NEXK9232828   Nissan       QX80                LAS VEGAS                 NV
124107   JN8AZ2NEXK9232845   Nissan       QX80                SACRAMENTO                CA
124108   JN8AZ2NEXK9232859   Nissan       QX80                DETROIT                   MI
124109   JN8AZ2NEXK9232909   Nissan       QX80                MIAMI                     FL
124110   JN8AZ2NEXK9232974   Nissan       QX80                HOUSTON                   TX
124111   JN8AZ2NEXK9233008   Nissan       QX80                SAN DIEGO                 CA
124112   JN8AZ2NEXK9233025   Nissan       QX80                SAN JOSE                  CA
124113   JN8AZ2NEXK9233042   Nissan       QX80                DENVER                    CO
124114   JN8AZ2NEXK9233154   Nissan       QX80                DENVER                    CO
124115   JN8AZ2NEXK9233185   Nissan       QX80                Pasadena                  CA
124116   JN8AZ2NEXK9233204   Nissan       QX80                Denver                    CO
124117   JN8AZ2NEXK9233218   Nissan       QX80                SANTA ANA                 CA
124118   JN8AZ2NEXK9233221   Nissan       QX80                LAS VEGAS                 NV
124119   JN8AZ2NEXK9233266   Nissan       QX80                KNOXVILLE                 TN
124120   JN8AZ2NEXK9233297   Nissan       QX80                Phoenix                   AZ
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124121   JN8AZ2NEXK9233462   Nissan       QX80                ORLANDO                   FL
124122   JN8AZ2NEXK9233476   Nissan       QX80                Teterboro                 NJ
124123   JN8AZ2NEXK9233493   Nissan       QX80                North Dighton             MA
124124   JN8AZ2NEXK9233669   Nissan       QX80                HARTFORD                  CT
124125   JN8AZ2NEXK9233932   Nissan       QX80                LOS ANGELES               CA
124126   JN8AZ2NEXK9233946   Nissan       QX80                SANTA ANA                 CA
124127   JN8AZ2NEXK9233977   Nissan       QX80                LOS ANGELES               CA
124128   JN8AZ2NEXK9234014   Nissan       QX80                DENVER                    CO
124129   JN8AZ2NEXK9234031   Nissan       QX80                Albuquerque               NM
124130   JN8AZ2NEXK9234126   Nissan       QX80                DENVER                    CO
124131   JN8AZ2NEXK9234157   Nissan       QX80                Bensalem                  PA
124132   JN8AZ2NEXK9234224   Nissan       QX80                OAKLAND                   CA
124133   JN8AZ2NEXK9234241   Nissan       QX80                Lake Elsinore             CA
124134   JN8AZ2NEXK9234319   Nissan       QX80                PALM SPRINGS              CA
124135   JN8AZ2NEXK9234403   Nissan       QX80                DENVER                    CO
124136   JN8AZ2NEXK9234420   Nissan       QX80                Sacramento                CA
124137   JN8AZ2NF0J9662164   Nissan       QX80                SOUTHEAST DST OFFC        OK
124138   JN8AZ2NF0J9662679   Nissan       QX80                Coraopolis                PA
124139   JN8AZ2NF0J9663072   Nissan       QX80                Lake in the Hil           IL
124140   JN8AZ2NF0K9685011   Nissan       QX80                WARWICK                   RI
124141   JN8AZ2NF0K9685042   Nissan       QX80                HANOVER                   MD
124142   JN8AZ2NF0K9685073   Nissan       QX80                Atlanta                   GA
124143   JN8AZ2NF0K9685123   Nissan       QX80                PHILADELPHIA              PA
124144   JN8AZ2NF0K9685168   Nissan       QX80                MIAMI                     FL
124145   JN8AZ2NF0K9685364   Nissan       QX80                SANTA ANA                 CA
124146   JN8AZ2NF0K9685395   Nissan       QX80                Newport Beach             CA
124147   JN8AZ2NF0K9685414   Nissan       QX80                SEA TAC                   WA
124148   JN8AZ2NF0K9685980   Nissan       QX80                ORLANDO                   FL
124149   JN8AZ2NF0K9686000   Nissan       QX80                West Palm Beach           FL
124150   JN8AZ2NF0K9686031   Nissan       QX80                MIAMI                     FL
124151   JN8AZ2NF0K9686062   Nissan       QX80                ATLANTA                   GA
124152   JN8AZ2NF0K9686076   Nissan       QX80                UNION CITY                GA
124153   JN8AZ2NF1J9662240   Nissan       QX80                North Dighton             MA
124154   JN8AZ2NF1J9662299   Nissan       QX80                Albuquerque               NM
124155   JN8AZ2NF1J9662917   Nissan       QX80                Bordentown                NJ
124156   JN8AZ2NF1J9663100   Nissan       QX80                AUSTIN                    TX
124157   JN8AZ2NF1K9685051   Nissan       QX80                MIAMI                     FL
124158   JN8AZ2NF1K9685065   Nissan       QX80                FORT LAUDERDALE           FL
124159   JN8AZ2NF1K9685096   Nissan       QX80                MIAMI                     FL
124160   JN8AZ2NF1K9685132   Nissan       QX80                Bensalem                  PA
124161   JN8AZ2NF1K9685213   Nissan       QX80                FORT LAUDERDALE           FL
124162   JN8AZ2NF1K9685275   Nissan       QX80                FORT LAUDERDALE           FL
124163   JN8AZ2NF1K9685339   Nissan       QX80                SEATAC                    WA
124164   JN8AZ2NF1K9685356   Nissan       QX80                SAVANNAH                  GA
124165   JN8AZ2NF1K9685387   Nissan       QX80                SAN DIEGO                 CA
124166   JN8AZ2NF1K9685972   Nissan       QX80                Wilmington                NC
124167   JN8AZ2NF1K9686006   Nissan       QX80                Davie                     FL
124168   JN8AZ2NF1K9686359   Nissan       QX80                SANTA ANA                 CA
124169   JN8AZ2NF1K9686376   Nissan       QX80                PHOENIX                   AZ
124170   JN8AZ2NF2J9663056   Nissan       QX80                MIAMI                     FL
124171   JN8AZ2NF2J9663199   Nissan       QX80                Des Plaines               IL
124172   JN8AZ2NF2K9685026   Nissan       QX80                DALLAS                    TX
124173   JN8AZ2NF2K9685088   Nissan       QX80                NEWARK                    NJ
124174   JN8AZ2NF2K9685091   Nissan       QX80                FORT MYERS                FL
124175   JN8AZ2NF2K9685141   Nissan       QX80                MIAMI                     FL
124176   JN8AZ2NF2K9685348   Nissan       QX80                LAS VEGAS                 NV
124177   JN8AZ2NF2K9685964   Nissan       QX80                DES PLAINES               US
124178   JN8AZ2NF2K9686001   Nissan       QX80                JACKSON                   MS
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124179   JN8AZ2NF2K9686015   Nissan       QX80                FORT LAUDERDALE           FL
124180   JN8AZ2NF2K9686029   Nissan       QX80                MIAMI                     FL
124181   JN8AZ2NF2K9686032   Nissan       QX80                TAMPA                     FL
124182   JN8AZ2NF2K9686046   Nissan       QX80                EAST BOSTON               MA
124183   JN8AZ2NF2K9686080   Nissan       QX80                DAYTONA BEACH             FL
124184   JN8AZ2NF2K9686385   Nissan       QX80                DENVER                    CO
124185   JN8AZ2NF3J9662871   Nissan       QX80                Pasadena                  CA
124186   JN8AZ2NF3J9663034   Nissan       QX80                Greensboro                NC
124187   JN8AZ2NF3K9685083   Nissan       QX80                Grove City                OH
124188   JN8AZ2NF3K9685133   Nissan       QX80                FT. LAUDERDALE            FL
124189   JN8AZ2NF3K9685195   Nissan       QX80                SAN DIEGO                 CA
124190   JN8AZ2NF3K9685357   Nissan       QX80                PHOENIX                   AZ
124191   JN8AZ2NF3K9686038   Nissan       QX80                ORLANDO                   FL
124192   JN8AZ2NF3K9686413   Nissan       QX80                SAN DIEGO                 CA
124193   JN8AZ2NF4J9662295   Nissan       QX80                Mira Loma                 CA
124194   JN8AZ2NF4J9662569   Nissan       QX80                Fredericksburg            VA
124195   JN8AZ2NF4J9662992   Nissan       QX80                ORLANDO                   FL
124196   JN8AZ2NF4K9685061   Nissan       QX80                FORT MYERS                FL
124197   JN8AZ2NF4K9685089   Nissan       QX80                MIAMI                     FL
124198   JN8AZ2NF4K9685187   Nissan       QX80                MIAMI                     FL
124199   JN8AZ2NF4K9685352   Nissan       QX80                FORT LAUDERDALE           FL
124200   JN8AZ2NF4K9685383   Nissan       QX80                Sacramento                CA
124201   JN8AZ2NF4K9686047   Nissan       QX80                FORT LAUDERDALE           FL
124202   JN8AZ2NF4K9686064   Nissan       QX80                FORT LAUDERDALE           FL
124203   JN8AZ2NF4K9686078   Nissan       QX80                DAYTONA BEACH             FL
124204   JN8AZ2NF5J9663150   Nissan       QX80                Hartford                  CT
124205   JN8AZ2NF5J9663245   Nissan       QX80                Davie                     FL
124206   JN8AZ2NF5K9685053   Nissan       QX80                WEST PALM BEACH           FL
124207   JN8AZ2NF5K9685067   Nissan       QX80                MIAMI                     FL
124208   JN8AZ2NF5K9685084   Nissan       QX80                ORLANDO                   FL
124209   JN8AZ2NF5K9685098   Nissan       QX80                FORT LAUDERDALE           FL
124210   JN8AZ2NF5K9685151   Nissan       QX80                CHARLOTTE                 NC
124211   JN8AZ2NF5K9685165   Nissan       QX80                FAYETTEVILLE              GA
124212   JN8AZ2NF5K9685229   Nissan       QX80                WILMINGTON                NC
124213   JN8AZ2NF5K9685280   Nissan       QX80                SAN DIEGO                 CA
124214   JN8AZ2NF5K9685408   Nissan       QX80                SAN JOSE                  CA
124215   JN8AZ2NF5K9685442   Nissan       QX80                LOS ANGELES               CA
124216   JN8AZ2NF5K9685487   Nissan       QX80                PORTLAND                  OR
124217   JN8AZ2NF5K9685957   Nissan       QX80                RALEIGH                   NC
124218   JN8AZ2NF5K9686042   Nissan       QX80                MIAMI                     FL
124219   JN8AZ2NF5K9686073   Nissan       QX80                MIAMI                     FL
124220   JN8AZ2NF6J9662234   Nissan       QX80                INDIANAPOLIS              IN
124221   JN8AZ2NF6K9685045   Nissan       QX80                MYRTLE BEACH              SC
124222   JN8AZ2NF6K9685059   Nissan       QX80                ORLANDO                   FL
124223   JN8AZ2NF6K9685093   Nissan       QX80                MIAMI                     FL
124224   JN8AZ2NF6K9685109   Nissan       QX80                DANIA BEACH               FL
124225   JN8AZ2NF6K9685112   Nissan       QX80                FORT LAUDERDALE           FL
124226   JN8AZ2NF6K9685420   Nissan       QX80                Lake Elsinore             CA
124227   JN8AZ2NF6K9685966   Nissan       QX80                FORT MYERS                FL
124228   JN8AZ2NF6K9685997   Nissan       QX80                Slidell                   LA
124229   JN8AZ2NF6K9686034   Nissan       QX80                HARTFORD                  CT
124230   JN8AZ2NF6K9686048   Nissan       QX80                GRAND RAPIDS              MI
124231   JN8AZ2NF6K9686051   Nissan       QX80                RICHMOND                  VA
124232   JN8AZ2NF7J9663215   Nissan       QX80                ORLANDO                   FL
124233   JN8AZ2NF7K9685040   Nissan       QX80                MIAMI                     FL
124234   JN8AZ2NF7K9685054   Nissan       QX80                FORT LAUDERDALE           FL
124235   JN8AZ2NF7K9685071   Nissan       QX80                CHARLESTON                SC
124236   JN8AZ2NF7K9685099   Nissan       QX80                TAMPA                     FL
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124237   JN8AZ2NF7K9685104   Nissan       QX80                Atlanta                   GA
124238   JN8AZ2NF7K9685281   Nissan       QX80                NORFOLK                   VA
124239   JN8AZ2NF7K9685412   Nissan       QX80                Lake Elsinore             CA
124240   JN8AZ2NF7K9685832   Nissan       QX80                Clearwater                FL
124241   JN8AZ2NF7K9685961   Nissan       QX80                Tampa                     FL
124242   JN8AZ2NF7K9686009   Nissan       QX80                ATLANTA                   GA
124243   JN8AZ2NF7K9686060   Nissan       QX80                MIAMI                     FL
124244   JN8AZ2NF7K9686074   Nissan       QX80                ORLANDO                   FL
124245   JN8AZ2NF7K9686205   Nissan       QX80                SAINT LOUIS               MO
124246   JN8AZ2NF8J9662316   Nissan       QX80                North Dighton             MA
124247   JN8AZ2NF8J9662963   Nissan       QX80                North Las Vegas           NV
124248   JN8AZ2NF8J9663109   Nissan       QX80                Slidell                   LA
124249   JN8AZ2NF8K9685063   Nissan       QX80                FORT LAUDERDALE           FL
124250   JN8AZ2NF8K9685077   Nissan       QX80                MIAMI                     FL
124251   JN8AZ2NF8K9685158   Nissan       QX80                ORLANDO                   FL
124252   JN8AZ2NF8K9685189   Nissan       QX80                MEMPHIS                   TN
124253   JN8AZ2NF8K9685208   Nissan       QX80                JACKSONVILLE              FL
124254   JN8AZ2NF8K9685211   Nissan       QX80                DANIA BEACH               FL
124255   JN8AZ2NF8K9685242   Nissan       QX80                FORT LAUDERDALE           FL
124256   JN8AZ2NF8K9685273   Nissan       QX80                PITTSBURGH                PA
124257   JN8AZ2NF8K9685418   Nissan       QX80                SAN FRANCISCO             CA
124258   JN8AZ2NF8K9685421   Nissan       QX80                SEATTLE                   WA
124259   JN8AZ2NF8K9685452   Nissan       QX80                PORTLAND                  OR
124260   JN8AZ2NF8K9685869   Nissan       QX80                Houston                   TX
124261   JN8AZ2NF8K9685998   Nissan       QX80                Stone Mountain            GA
124262   JN8AZ2NF8K9686021   Nissan       QX80                MIAMI                     FL
124263   JN8AZ2NF8K9686035   Nissan       QX80                WEST PALM BEACH           FL
124264   JN8AZ2NF9J9662728   Nissan       QX80                North Dighton             MA
124265   JN8AZ2NF9K9685038   Nissan       QX80                PENSACOLA                 FL
124266   JN8AZ2NF9K9685041   Nissan       QX80                RONKONKOMA                NY
124267   JN8AZ2NF9K9685055   Nissan       QX80                SACRAMENTO                CA
124268   JN8AZ2NF9K9685105   Nissan       QX80                Teterboro                 NJ
124269   JN8AZ2NF9K9685119   Nissan       QX80                DENVER                    CO
124270   JN8AZ2NF9K9685136   Nissan       QX80                Tampa                     FL
124271   JN8AZ2NF9K9685430   Nissan       QX80                LAS VEGAS                 NV
124272   JN8AZ2NF9K9685816   Nissan       QX80                TAMPA                     FL
124273   JN8AZ2NF9K9685993   Nissan       QX80                WEST PALM BEACH           FL
124274   JN8AZ2NF9K9686027   Nissan       QX80                FORT MYERS                FL
124275   JN8AZ2NF9K9686044   Nissan       QX80                WEST PALM BEACH           FL
124276   JN8AZ2NF9K9686092   Nissan       QX80                SOUTHEAST DST OFFC        OK
124277   JN8AZ2NF9K9686125   Nissan       QX80                INDIANAPOLIS              IN
124278   JN8AZ2NF9K9686349   Nissan       QX80                PHOENIX                   AZ
124279   JN8AZ2NFXJ9662463   Nissan       QX80                Roseville                 CA
124280   JN8AZ2NFXJ9662611   Nissan       QX80                Las Vegas                 NV
124281   JN8AZ2NFXJ9663287   Nissan       QX80                Slidell                   LA
124282   JN8AZ2NFXK9685050   Nissan       QX80                MIAMI                     FL
124283   JN8AZ2NFXK9685064   Nissan       QX80                JACKSONVILLE              FL
124284   JN8AZ2NFXK9685081   Nissan       QX80                DALLAS                    TX
124285   JN8AZ2NFXK9685100   Nissan       QX80                WEST PALM BEACH           FL
124286   JN8AZ2NFXK9685131   Nissan       QX80                SAVANNAH                  GA
124287   JN8AZ2NFXK9685467   Nissan       QX80                Killeen                   TX
124288   JN8AZ2NFXK9685825   Nissan       QX80                Midland                   TX
124289   JN8AZ2NFXK9686005   Nissan       QX80                Tampa                     FL
124290   JN8AZ2NFXK9686019   Nissan       QX80                Fayetteville              NC
124291   JN8AZ2NFXK9686067   Nissan       QX80                DAYTONA BEACH             FL
124292   JN8AZ2NFXK9686070   Nissan       QX80                MIAMI                     FL
124293   JN8AZ2NFXK9686392   Nissan       QX80                NEWPORT BEACH             CA
124294   JN8CS1MW3HM414457   Nissan       QX70                DES PLAINES               US
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124295   JN8CS1MW4HM412815   Nissan       QX70                Aurora                    CO
124296   JTDEPRAE0LJ018593   Toyota       COROLLA             Lynn                      MA
124297   JTDEPRAE0LJ019467   Toyota       COROLLA             Lynn                      MA
124298   JTDEPRAE0LJ023728   Toyota       COROLLA             Woodhaven                 MI
124299   JTDEPRAE0LJ025933   Toyota       COROLLA             Bridgeton                 MO
124300   JTDEPRAE0LJ034244   Toyota       COROLLA             TAMPA                     FL
124301   JTDEPRAE0LJ034275   Toyota       COROLLA             Tulsa                     OK
124302   JTDEPRAE0LJ042960   Toyota       COROLLA             Austell                   GA
124303   JTDEPRAE1LJ021969   Toyota       COROLLA             Pompano Beach             FL
124304   JTDEPRAE1LJ034897   Toyota       COROLLA             Oklahoma City             OK
124305   JTDEPRAE1LJ035161   Toyota       COROLLA             Atlanta                   GA
124306   JTDEPRAE1LJ035354   Toyota       COROLLA             Oklahoma City             OK
124307   JTDEPRAE1LJ039257   Toyota       COROLLA             RONKONKOMA                NY
124308   JTDEPRAE1LJ050498   Toyota       COROLLA             Hayward                   CA
124309   JTDEPRAE2LJ023326   Toyota       COROLLA             Warminster                PA
124310   JTDEPRAE2LJ023858   Toyota       COROLLA             Leesburg                  VA
124311   JTDEPRAE2LJ026596   Toyota       COROLLA             Tulsa                     OK
124312   JTDEPRAE2LJ034634   Toyota       COROLLA             Tulsa                     OK
124313   JTDEPRAE2LJ034942   Toyota       COROLLA             Oklahoma City             OK
124314   JTDEPRAE2LJ038568   Toyota       COROLLA             FORT MYERS                FL
124315   JTDEPRAE3LJ021245   Toyota       COROLLA             FORT MYERS                FL
124316   JTDEPRAE3LJ026333   Toyota       COROLLA             MEMPHIS                   TN
124317   JTDEPRAE3LJ034917   Toyota       COROLLA             Tulsa                     OK
124318   JTDEPRAE3LJ038837   Toyota       COROLLA             FORT MYERS                FL
124319   JTDEPRAE3LJ039759   Toyota       COROLLA             ORLANDO                   FL
124320   JTDEPRAE3LJ046727   Toyota       COROLLA             FORT MYERS                FL
124321   JTDEPRAE4LJ022811   Toyota       COROLLA             ALEXANDRIA                VA
124322   JTDEPRAE4LJ024672   Toyota       COROLLA             SAN ANTONIO               TX
124323   JTDEPRAE4LJ034487   Toyota       COROLLA             SAN ANTONIO               TX
124324   JTDEPRAE4LJ035672   Toyota       COROLLA             SAN ANTONIO               TX
124325   JTDEPRAE4LJ038412   Toyota       COROLLA             Atlanta                   GA
124326   JTDEPRAE4LJ038748   Toyota       COROLLA             Central Square            NY
124327   JTDEPRAE4LJ043044   Toyota       COROLLA             JAMAICA                   NY
124328   JTDEPRAE4LJ044419   Toyota       COROLLA             Medford                   NY
124329   JTDEPRAE5LJ023434   Toyota       COROLLA             Austell                   GA
124330   JTDEPRAE5LJ042372   Toyota       COROLLA             Hattiesburg               MS
124331   JTDEPRAE5LJ042646   Toyota       COROLLA             FORT MYERS                FL
124332   JTDEPRAE5LJ043635   Toyota       COROLLA             NEWARK                    NY
124333   JTDEPRAE5LJ052822   Toyota       COROLLA             Portland                  OR
124334   JTDEPRAE6LJ018971   Toyota       COROLLA             FORT MYERS                FL
124335   JTDEPRAE6LJ019649   Toyota       COROLLA             Des Plaines               IL
124336   JTDEPRAE6LJ022261   Toyota       COROLLA             Leesburg                  VA
124337   JTDEPRAE6LJ023250   Toyota       COROLLA             Oklahoma City             OK
124338   JTDEPRAE6LJ035219   Toyota       COROLLA             Brighton                  CO
124339   JTDEPRAE6LJ040274   Toyota       COROLLA             Lynn                      MA
124340   JTDEPRAE6LJ052134   Toyota       COROLLA             WILMINGTON                CA
124341   JTDEPRAE6LJ085215   Toyota       COROLLA             FORT MYERS                FL
124342   JTDEPRAE7LJ034872   Toyota       COROLLA             SAN ANTONIO               TX
124343   JTDEPRAE7LJ042308   Toyota       COROLLA             FORT MYERS                FL
124344   JTDEPRAE7LJ051798   Toyota       COROLLA             SAN ANTONIO               TX
124345   JTDEPRAE7LJ085238   Toyota       COROLLA             FORT MYERS                FL
124346   JTDEPRAE8LJ034427   Toyota       COROLLA             Oklahoma City             OK
124347   JTDEPRAE9LJ019452   Toyota       COROLLA             Warminster                PA
124348   JTDEPRAE9LJ023713   Toyota       COROLLA             North Billerica           MA
124349   JTDEPRAE9LJ025638   Toyota       COROLLA             TAMPA                     FL
124350   JTDEPRAE9LJ026210   Toyota       COROLLA             RONKONKOMA                NY
124351   JTDEPRAE9LJ031309   Toyota       COROLLA             FORT MYERS                FL
124352   JTDEPRAE9LJ034145   Toyota       COROLLA             FORT MYERS                FL
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124353   JTDEPRAE9LJ034825   Toyota       COROLLA             Oklahoma City             OK
124354   JTDEPRAE9LJ047445   Toyota       COROLLA             FORT MYERS                FL
124355   JTDEPRAEXLJ017614   Toyota       COROLLA             Miami                     FL
124356   JTDEPRAEXLJ021873   Toyota       COROLLA             Warminster                PA
124357   JTDEPRAEXLJ035238   Toyota       COROLLA             Oklahoma City             OK
124358   JTDEPRAEXLJ037250   Toyota       COROLLA             PALM SPRINGS              CA
124359   JTDEPRAEXLJ046899   Toyota       COROLLA             Austell                   GA
124360   JTDKARFU0K3070538   Toyota       PRIUS               KENNER                    LA
124361   JTDKARFU1K3071276   Toyota       PRIUS               Houston                   TX
124362   JTDKARFU1K3073769   Toyota       PRIUS               PASADENA                  CA
124363   JTDKARFU1K3078454   Toyota       PRIUS               SYRACUSE                  NY
124364   JTDKARFU1K3078664   Toyota       PRIUS               San Diego                 CA
124365   JTDKARFU1K3088837   Toyota       PRIUS               Estero                    FL
124366   JTDKARFU1K3091382   Toyota       PRIUS               Baltimore                 MD
124367   JTDKARFU2K3088832   Toyota       PRIUS               PENSACOLA                 FL
124368   JTDKARFU4K3070512   Toyota       PRIUS               Sacramento                CA
124369   JTDKARFU4K3086970   Toyota       PRIUS               WARWICK                   RI
124370   JTDKARFU4K3088850   Toyota       PRIUS               NEW ORLEANS               LA
124371   JTDKARFU6K3078692   Toyota       PRIUS               SACRAMENTO                CA
124372   JTDKARFU6K3092012   Toyota       PRIUS               Cleveland                 OH
124373   JTDKARFU6L3111563   Toyota       PRIUS               ALBUQUERQUE               NM
124374   JTDKARFU7K3070519   Toyota       PRIUS               KNOXVILLE                 TN
124375   JTDKARFU7K3073520   Toyota       PRIUS               SEATAC                    WA
124376   JTDKARFU8K3070500   Toyota       PRIUS               Winston‐Salem             NC
124377   JTDKARFU8K3070545   Toyota       PRIUS               Tolleson                  AZ
124378   JTDKARFU8K3078273   Toyota       PRIUS               San Diego                 CA
124379   JTDKARFU8K3088060   Toyota       PRIUS               BUFFALO                   NY
124380   JTDKARFU9K3073776   Toyota       PRIUS               San Diego                 CA
124381   JTDKARFUXK3070482   Toyota       PRIUS               Fresno                    CA
124382   JTDKARFUXK3073513   Toyota       PRIUS               Atlanta                   GA
124383   JTDKARFUXL3111114   Toyota       PRIUS               NEW ORLEANS               LA
124384   JTDKBRFU0H3042731   Toyota       PRIUS               NEW YORK CITY             NY
124385   JTDKBRFU0J3064119   Toyota       PRIUS               ALEXANDRIA                VA
124386   JTDKBRFU0J3583770   Toyota       PRIUS               HEBRON                    KY
124387   JTDKBRFU1H3038753   Toyota       PRIUS               PHOENIX                   AZ
124388   JTDKBRFU1H3550044   Toyota       PRIUS               NORFOLK                   VA
124389   JTDKBRFU1J3600334   Toyota       PRIUS               DETROIT                   MI
124390   JTDKBRFU2H3042911   Toyota       PRIUS               BOSTON, LOGAN AP          MA
124391   JTDKBRFU2H3548643   Toyota       PRIUS               NEW YORK CITY             NY
124392   JTDKBRFU2H3550148   Toyota       PRIUS               WHITE PLAINS              NY
124393   JTDKBRFU2H3559710   Toyota       PRIUS               JACKSONVILLE              FL
124394   JTDKBRFU2H3560159   Toyota       PRIUS               NEWARK                    NJ
124395   JTDKBRFU2J3581647   Toyota       PRIUS               AUSTIN                    TX
124396   JTDKBRFU2J3581681   Toyota       PRIUS               KENNER                    LA
124397   JTDKBRFU3J3057682   Toyota       PRIUS               WEST PALM BEACH           FL
124398   JTDKBRFU4H3037323   Toyota       PRIUS               NEWARK                    NJ
124399   JTDKBRFU4H3042568   Toyota       PRIUS               Manheim                   PA
124400   JTDKBRFU4J3061238   Toyota       PRIUS               MONTGOMERY                AL
124401   JTDKBRFU4J3585294   Toyota       PRIUS               GREENSBORO                NC
124402   JTDKBRFU4J3592925   Toyota       PRIUS               Slidell                   LA
124403   JTDKBRFU4J3599745   Toyota       PRIUS               SYRACUSE                  NY
124404   JTDKBRFU5H3042854   Toyota       PRIUS               FORT MYERS                FL
124405   JTDKBRFU5J3063936   Toyota       PRIUS               RONKONKOMA                NY
124406   JTDKBRFU5J3589211   Toyota       PRIUS               TUCSON                    AZ
124407   JTDKBRFU5J3591315   Toyota       PRIUS               PADUCAH                   KY
124408   JTDKBRFU5J3600420   Toyota       PRIUS               ALBANY                    NY
124409   JTDKBRFU5J3600661   Toyota       PRIUS               Hebron                    KY
124410   JTDKBRFU6H3036867   Toyota       PRIUS               Birmingham                AL
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124411   JTDKBRFU6H3036951   Toyota       PRIUS               WHITE PLAINS              NY
124412   JTDKBRFU6H3036965   Toyota       PRIUS               WEST PALM BEACH           FL
124413   JTDKBRFU6H3560410   Toyota       PRIUS               NEW EGYPT                 NJ
124414   JTDKBRFU7H3040054   Toyota       PRIUS               NEW BERN                  NC
124415   JTDKBRFU7H3040569   Toyota       PRIUS               KNOXVILLE                 TN
124416   JTDKBRFU7H3042239   Toyota       PRIUS               ALEXANDRIA                VA
124417   JTDKBRFU7H3042418   Toyota       PRIUS               BALTIMORE                 MD
124418   JTDKBRFU7H3042905   Toyota       PRIUS               GRAND RAPIDS              MI
124419   JTDKBRFU7J3592708   Toyota       PRIUS               Ventura                   CA
124420   JTDKBRFU7J3594099   Toyota       PRIUS               Miami                     FL
124421   JTDKBRFU8H3042542   Toyota       PRIUS               CLEVELAND                 OH
124422   JTDKBRFU8H3042864   Toyota       PRIUS               MEMPHIS                   TN
124423   JTDKBRFU8H3556522   Toyota       PRIUS               BOSTON                    MA
124424   JTDKBRFU8J3063204   Toyota       PRIUS               ALBANY                    NY
124425   JTDKBRFU8J3595911   Toyota       PRIUS               Springfield               MO
124426   JTDKBRFU8J3599568   Toyota       PRIUS               CHICAGO                   IL
124427   JTDKBRFU9H3042243   Toyota       PRIUS               NEWARK                    NJ
124428   JTDKBRFU9J3064247   Toyota       PRIUS               PORTLAND                  ME
124429   JTDKBRFUXH3040078   Toyota       PRIUS               EAST BOSTON               MA
124430   JTDKBRFUXJ3059445   Toyota       PRIUS               ATLANTA                   GA
124431   JTDKBRFUXJ3061647   Toyota       PRIUS               Gaston                    SC
124432   JTDKBRFUXJ3590807   Toyota       PRIUS               BOSTON                    MA
124433   JTDKBRFUXJ3592976   Toyota       PRIUS               ROCHESTER                 NY
124434   JTDS4RCE3LJ025272   Toyota       COROLLA             Medford                   NY
124435   JTEBU5JR0J5543999   Toyota       4RUNNER             DAYTONA BEACH             FL
124436   JTEBU5JR0J5572290   Toyota       4RUNNER             North Dighton             MA
124437   JTEBU5JR0J5572502   Toyota       4RUNNER             Woodhaven                 MI
124438   JTEBU5JR0J5573827   Toyota       4RUNNER             SARASOTA                  FL
124439   JTEBU5JR0J5577179   Toyota       4RUNNER             Richmond                  VA
124440   JTEBU5JR0J5577456   Toyota       4RUNNER             Dallas                    TX
124441   JTEBU5JR0J5579224   Toyota       4RUNNER             EAST BOSTON               MA
124442   JTEBU5JR0J5583791   Toyota       4RUNNER             WEST DUNDEE               IL
124443   JTEBU5JR0J5590031   Toyota       4RUNNER             Torrance                  CA
124444   JTEBU5JR0J5591714   Toyota       4RUNNER             DETROIT                   MI
124445   JTEBU5JR0J5594760   Toyota       4RUNNER             EL PASO                   TX
124446   JTEBU5JR0J5595164   Toyota       4RUNNER             PHOENIX                   AZ
124447   JTEBU5JR0K5654554   Toyota       4RUNNER             KANSAS CITY               MO
124448   JTEBU5JR0K5660483   Toyota       4RUNNER             Atlanta                   GA
124449   JTEBU5JR0K5661181   Toyota       4RUNNER             SAINT LOUIS               MO
124450   JTEBU5JR0K5662573   Toyota       4RUNNER             SAN ANTONIO               TX
124451   JTEBU5JR0K5664467   Toyota       4RUNNER             HOUSTON                   TX
124452   JTEBU5JR0K5664663   Toyota       4RUNNER             BURLINGAME                CA
124453   JTEBU5JR0K5665358   Toyota       4RUNNER             DENVER                    CO
124454   JTEBU5JR0K5665439   Toyota       4RUNNER             KENNER                    LA
124455   JTEBU5JR0K5665621   Toyota       4RUNNER             DENVER                    CO
124456   JTEBU5JR0K5665909   Toyota       4RUNNER             SAN ANTONIO               TX
124457   JTEBU5JR0K5665912   Toyota       4RUNNER             UNION CITY                GA
124458   JTEBU5JR0K5666168   Toyota       4RUNNER             CHARLOTTE                 NC
124459   JTEBU5JR0K5666493   Toyota       4RUNNER             Honolulu                  HI
124460   JTEBU5JR0K5667224   Toyota       4RUNNER             DECATUR                   GA
124461   JTEBU5JR0K5667319   Toyota       4RUNNER             Killeen                   TX
124462   JTEBU5JR0K5667479   Toyota       4RUNNER             LAS VEGAS                 NV
124463   JTEBU5JR0K5667899   Toyota       4RUNNER             Philadelphia              PA
124464   JTEBU5JR0K5668518   Toyota       4RUNNER             SANTA ANA                 CA
124465   JTEBU5JR0K5669037   Toyota       4RUNNER             LOS ANGELES               CA
124466   JTEBU5JR0K5670057   Toyota       4RUNNER             UNION CITY                GA
124467   JTEBU5JR0K5670432   Toyota       4RUNNER             PHOENIX                   AZ
124468   JTEBU5JR0K5671273   Toyota       4RUNNER             Warminster                PA
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124469   JTEBU5JR0K5671371   Toyota       4RUNNER             CHARLOTTE                 NC
124470   JTEBU5JR0K5673170   Toyota       4RUNNER             KENNER                    LA
124471   JTEBU5JR0K5673461   Toyota       4RUNNER             PHILADELPHIA              PA
124472   JTEBU5JR0K5673847   Toyota       4RUNNER             Miami                     FL
124473   JTEBU5JR0K5673931   Toyota       4RUNNER             UNION CITY                GA
124474   JTEBU5JR0K5674741   Toyota       4RUNNER             NEWARK                    NJ
124475   JTEBU5JR0K5675761   Toyota       4RUNNER             PLATTSBURGH               NY
124476   JTEBU5JR0K5676215   Toyota       4RUNNER             WEST COLUMBIA             SC
124477   JTEBU5JR0K5676926   Toyota       4RUNNER             DETROIT                   MI
124478   JTEBU5JR0K5678515   Toyota       4RUNNER             Anaheim                   CA
124479   JTEBU5JR0K5679373   Toyota       4RUNNER             PHOENIX                   AZ
124480   JTEBU5JR0K5681141   Toyota       4RUNNER             FAIRBANKS                 AK
124481   JTEBU5JR1J5536608   Toyota       4RUNNER             SEATAC                    WA
124482   JTEBU5JR1J5538830   Toyota       4RUNNER             TAMPA                     FL
124483   JTEBU5JR1J5571505   Toyota       4RUNNER             Hamilton                  OH
124484   JTEBU5JR1J5572007   Toyota       4RUNNER             WEST PALM BEACH           FL
124485   JTEBU5JR1J5573058   Toyota       4RUNNER             West Columbia             SC
124486   JTEBU5JR1J5573223   Toyota       4RUNNER             NEW BERN                  NC
124487   JTEBU5JR1J5573352   Toyota       4RUNNER             WEST PALM BEACH           FL
124488   JTEBU5JR1J5574162   Toyota       4RUNNER             Leesburg                  VA
124489   JTEBU5JR1J5576526   Toyota       4RUNNER             CHARLESTON                WV
124490   JTEBU5JR1J5577823   Toyota       4RUNNER             ATLANTA                   GA
124491   JTEBU5JR1J5586943   Toyota       4RUNNER             Phoenix                   AZ
124492   JTEBU5JR1J5592192   Toyota       4RUNNER             North Dighton             MA
124493   JTEBU5JR1K5659939   Toyota       4RUNNER             Houston                   TX
124494   JTEBU5JR1K5660007   Toyota       4RUNNER             Dallas                    TX
124495   JTEBU5JR1K5660136   Toyota       4RUNNER             LOS ANGELES               CA
124496   JTEBU5JR1K5660654   Toyota       4RUNNER             DENVER                    CO
124497   JTEBU5JR1K5660752   Toyota       4RUNNER             Dallas                    TX
124498   JTEBU5JR1K5660816   Toyota       4RUNNER             Austin                    TX
124499   JTEBU5JR1K5661481   Toyota       4RUNNER             PHOENIX                   AZ
124500   JTEBU5JR1K5663067   Toyota       4RUNNER             SAINT LOUIS               MO
124501   JTEBU5JR1K5664008   Toyota       4RUNNER             MIAMI                     FL
124502   JTEBU5JR1K5664512   Toyota       4RUNNER             Denver                    CO
124503   JTEBU5JR1K5664705   Toyota       4RUNNER             ORLANDO                   FL
124504   JTEBU5JR1K5664851   Toyota       4RUNNER             Miami                     FL
124505   JTEBU5JR1K5665059   Toyota       4RUNNER             BOSTON                    MA
124506   JTEBU5JR1K5665062   Toyota       4RUNNER             Slidell                   LA
124507   JTEBU5JR1K5665613   Toyota       4RUNNER             DALLAS                    TX
124508   JTEBU5JR1K5665725   Toyota       4RUNNER             ORLANDO                   FL
124509   JTEBU5JR1K5665918   Toyota       4RUNNER             San Antonio               TX
124510   JTEBU5JR1K5666339   Toyota       4RUNNER             LOS ANGELES               CA
124511   JTEBU5JR1K5666647   Toyota       4RUNNER             Denver                    CO
124512   JTEBU5JR1K5666793   Toyota       4RUNNER             LOS ANGELES               CA
124513   JTEBU5JR1K5666860   Toyota       4RUNNER             TAMPA                     US
124514   JTEBU5JR1K5667197   Toyota       4RUNNER             TAMPA                     US
124515   JTEBU5JR1K5667572   Toyota       4RUNNER             LOS ANGELES               CA
124516   JTEBU5JR1K5667684   Toyota       4RUNNER             PASADENA                  MD
124517   JTEBU5JR1K5668303   Toyota       4RUNNER             UNION CITY                GA
124518   JTEBU5JR1K5668527   Toyota       4RUNNER             PHILADELPHIA              PA
124519   JTEBU5JR1K5669502   Toyota       4RUNNER             UNION CITY                GA
124520   JTEBU5JR1K5670276   Toyota       4RUNNER             albuquerque               nm
124521   JTEBU5JR1K5670701   Toyota       4RUNNER             Phoenix                   AZ
124522   JTEBU5JR1K5670729   Toyota       4RUNNER             PHILADELPHIA              PA
124523   JTEBU5JR1K5671198   Toyota       4RUNNER             DALLAS                    TX
124524   JTEBU5JR1K5671363   Toyota       4RUNNER             GRAND RAPIDS              MI
124525   JTEBU5JR1K5671508   Toyota       4RUNNER             HOUSTON                   TX
124526   JTEBU5JR1K5671881   Toyota       4RUNNER             Los Angeles               CA
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124527   JTEBU5JR1K5672402   Toyota       4RUNNER             WEST COLUMBIA             SC
124528   JTEBU5JR1K5672447   Toyota       4RUNNER             DALLAS                    TX
124529   JTEBU5JR1K5672495   Toyota       4RUNNER             TAMPA                     US
124530   JTEBU5JR1K5672741   Toyota       4RUNNER             ST PAUL                   MN
124531   JTEBU5JR1K5672870   Toyota       4RUNNER             West Palm Beach           FL
124532   JTEBU5JR1K5672920   Toyota       4RUNNER             ALBANY                    N
124533   JTEBU5JR1K5673260   Toyota       4RUNNER             BURLINGAME                CA
124534   JTEBU5JR1K5673324   Toyota       4RUNNER             Cleveland                 OH
124535   JTEBU5JR1K5673517   Toyota       4RUNNER             HOUSTON                   TX
124536   JTEBU5JR1K5673579   Toyota       4RUNNER             UNION CITY                GA
124537   JTEBU5JR1K5673923   Toyota       4RUNNER             Live Oak                  TX
124538   JTEBU5JR1K5674246   Toyota       4RUNNER             SACRAMENTO                CA
124539   JTEBU5JR1K5674845   Toyota       4RUNNER             TAMPA                     US
124540   JTEBU5JR1K5679303   Toyota       4RUNNER             DETROIT                   MI
124541   JTEBU5JR1K5679480   Toyota       4RUNNER             SEATTLE                   WA
124542   JTEBU5JR1K5680323   Toyota       4RUNNER             TUCSON                    AZ
124543   JTEBU5JR1K5683609   Toyota       4RUNNER             SOUTHEAST DST OFFC        OK
124544   JTEBU5JR2J5515914   Toyota       4RUNNER             Clarksville               IN
124545   JTEBU5JR2J5576132   Toyota       4RUNNER             BOSTON                    MA
124546   JTEBU5JR2J5576261   Toyota       4RUNNER             Manheim                   PA
124547   JTEBU5JR2J5576664   Toyota       4RUNNER             Cranberry Towns           PA
124548   JTEBU5JR2J5578639   Toyota       4RUNNER             Bordentown                NJ
124549   JTEBU5JR2J5583369   Toyota       4RUNNER             ST Paul                   MN
124550   JTEBU5JR2J5584781   Toyota       4RUNNER             FULLERTON                 CA
124551   JTEBU5JR2J5589477   Toyota       4RUNNER             Rio Linda                 CA
124552   JTEBU5JR2J5590418   Toyota       4RUNNER             Indianapolis              IN
124553   JTEBU5JR2J5591777   Toyota       4RUNNER             DENVER                    CO
124554   JTEBU5JR2K5655236   Toyota       4RUNNER             FORT MYERS                FL
124555   JTEBU5JR2K5659805   Toyota       4RUNNER             Live Oak                  TX
124556   JTEBU5JR2K5659996   Toyota       4RUNNER             San Antonio               TX
124557   JTEBU5JR2K5661585   Toyota       4RUNNER             GYPSUM                    CO
124558   JTEBU5JR2K5661635   Toyota       4RUNNER             SAINT LOUIS               MO
124559   JTEBU5JR2K5661991   Toyota       4RUNNER             TAMPA                     US
124560   JTEBU5JR2K5662039   Toyota       4RUNNER             SAINT PAUL                MN
124561   JTEBU5JR2K5662509   Toyota       4RUNNER             HOUSTON                   TX
124562   JTEBU5JR2K5663773   Toyota       4RUNNER             EAST BOSTON               MA
124563   JTEBU5JR2K5665362   Toyota       4RUNNER             Dallas                    TX
124564   JTEBU5JR2K5665698   Toyota       4RUNNER             Denver                    CO
124565   JTEBU5JR2K5666012   Toyota       4RUNNER             LOS ANGELES               CA
124566   JTEBU5JR2K5666270   Toyota       4RUNNER             GYPSUM                    CO
124567   JTEBU5JR2K5666303   Toyota       4RUNNER             Webster                   NY
124568   JTEBU5JR2K5666611   Toyota       4RUNNER             UNION CITY                GA
124569   JTEBU5JR2K5666981   Toyota       4RUNNER             LOS ANGELES               CA
124570   JTEBU5JR2K5667726   Toyota       4RUNNER             PHOENIX                   AZ
124571   JTEBU5JR2K5667970   Toyota       4RUNNER             SOUTHEAST DST OFFC        OK
124572   JTEBU5JR2K5668021   Toyota       4RUNNER             Leesburg                  VA
124573   JTEBU5JR2K5668357   Toyota       4RUNNER             AUGUSTA                   GA
124574   JTEBU5JR2K5668472   Toyota       4RUNNER             ORLANDO                   FL
124575   JTEBU5JR2K5668584   Toyota       4RUNNER             SOUTHEAST DST OFFC        OK
124576   JTEBU5JR2K5668794   Toyota       4RUNNER             FRESNO                    CA
124577   JTEBU5JR2K5668889   Toyota       4RUNNER             KENNER                    LA
124578   JTEBU5JR2K5668973   Toyota       4RUNNER             Denver                    CO
124579   JTEBU5JR2K5669198   Toyota       4RUNNER             LAS VEGAS                 NV
124580   JTEBU5JR2K5669427   Toyota       4RUNNER             LOS ANGELES               CA
124581   JTEBU5JR2K5669928   Toyota       4RUNNER             ORLANDO                   FL
124582   JTEBU5JR2K5670321   Toyota       4RUNNER             LOS ANGELES               CA
124583   JTEBU5JR2K5670898   Toyota       4RUNNER             CHICAGO                   IL
124584   JTEBU5JR2K5671078   Toyota       4RUNNER             ROCHESTER                 NY
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124585   JTEBU5JR2K5671243   Toyota       4RUNNER             Indianapolis              IN
124586   JTEBU5JR2K5671906   Toyota       4RUNNER             KENNER                    LA
124587   JTEBU5JR2K5672117   Toyota       4RUNNER             PHILADELPHIA              PA
124588   JTEBU5JR2K5673087   Toyota       4RUNNER             TAMPA                     US
124589   JTEBU5JR2K5673381   Toyota       4RUNNER             DALLAS                    TX
124590   JTEBU5JR2K5673901   Toyota       4RUNNER             GRAND RAPIDS              MI
124591   JTEBU5JR2K5674241   Toyota       4RUNNER             PITTSBURGH                PA
124592   JTEBU5JR2K5674420   Toyota       4RUNNER             HARTFORD                  CT
124593   JTEBU5JR2K5674997   Toyota       4RUNNER             North Dighton             MA
124594   JTEBU5JR2K5675017   Toyota       4RUNNER             PHILADELPHIA              PA
124595   JTEBU5JR2K5677902   Toyota       4RUNNER             North Dighton             MA
124596   JTEBU5JR2K5684297   Toyota       4RUNNER             BALTIMORE                 MD
124597   JTEBU5JR3J5571120   Toyota       4RUNNER             Fredericksburg            VA
124598   JTEBU5JR3J5572865   Toyota       4RUNNER             CHARLOTTESVILLE           VA
124599   JTEBU5JR3J5575572   Toyota       4RUNNER             STERLING                  VA
124600   JTEBU5JR3J5582974   Toyota       4RUNNER             KENNER                    LA
124601   JTEBU5JR3J5591299   Toyota       4RUNNER             Manheim                   PA
124602   JTEBU5JR3J5591433   Toyota       4RUNNER             Ft. Myers                 FL
124603   JTEBU5JR3J5592064   Toyota       4RUNNER             Hanover                   MD
124604   JTEBU5JR3J5593182   Toyota       4RUNNER             Lake Elsinore             CA
124605   JTEBU5JR3K5661174   Toyota       4RUNNER             Florissant                MO
124606   JTEBU5JR3K5661224   Toyota       4RUNNER             GRAND JUNCTION            C
124607   JTEBU5JR3K5661238   Toyota       4RUNNER             HOUSTON                   TX
124608   JTEBU5JR3K5664575   Toyota       4RUNNER             LOS ANGELES               CA
124609   JTEBU5JR3K5664625   Toyota       4RUNNER             HOUSTON                   TX
124610   JTEBU5JR3K5664754   Toyota       4RUNNER             Denver                    CO
124611   JTEBU5JR3K5665080   Toyota       4RUNNER             FAYETTEVILLE              GA
124612   JTEBU5JR3K5665404   Toyota       4RUNNER             AUSTIN                    TX
124613   JTEBU5JR3K5665712   Toyota       4RUNNER             PHOENIX                   AZ
124614   JTEBU5JR3K5665788   Toyota       4RUNNER             HOUSTON                   TX
124615   JTEBU5JR3K5665807   Toyota       4RUNNER             DENVER                    CO
124616   JTEBU5JR3K5666231   Toyota       4RUNNER             DENVER                    CO
124617   JTEBU5JR3K5666388   Toyota       4RUNNER             Denver                    CO
124618   JTEBU5JR3K5666634   Toyota       4RUNNER             GYPSUM                    CO
124619   JTEBU5JR3K5666858   Toyota       4RUNNER             North Dighton             MA
124620   JTEBU5JR3K5668593   Toyota       4RUNNER             Miami                     FL
124621   JTEBU5JR3K5668612   Toyota       4RUNNER             TAMPA                     US
124622   JTEBU5JR3K5669081   Toyota       4RUNNER             Atlanta                   GA
124623   JTEBU5JR3K5669632   Toyota       4RUNNER             BURLINGAME                CA
124624   JTEBU5JR3K5670974   Toyota       4RUNNER             FORT MYERS                FL
124625   JTEBU5JR3K5671400   Toyota       4RUNNER             SAN FRANCISCO             CA
124626   JTEBU5JR3K5671753   Toyota       4RUNNER             DANIA                     FL
124627   JTEBU5JR3K5671901   Toyota       4RUNNER             TAMPA                     US
124628   JTEBU5JR3K5672160   Toyota       4RUNNER             DETROIT                   MI
124629   JTEBU5JR3K5674314   Toyota       4RUNNER             PHILADELPHIA              PA
124630   JTEBU5JR3K5677844   Toyota       4RUNNER             FRESNO                    CA
124631   JTEBU5JR3K5677990   Toyota       4RUNNER             Miami                     FL
124632   JTEBU5JR3K5680307   Toyota       4RUNNER             SAN DIEGO                 CA
124633   JTEBU5JR3K5684051   Toyota       4RUNNER             North Dighton             MA
124634   JTEBU5JR4J5533248   Toyota       4RUNNER             North Dighton             MA
124635   JTEBU5JR4J5535503   Toyota       4RUNNER             DENVER                    CO
124636   JTEBU5JR4J5575919   Toyota       4RUNNER             Maple Grove               MN
124637   JTEBU5JR4J5577668   Toyota       4RUNNER             Omaha                     NE
124638   JTEBU5JR4J5579470   Toyota       4RUNNER             SEATTLE                   WA
124639   JTEBU5JR4J5580778   Toyota       4RUNNER             Slidell                   LA
124640   JTEBU5JR4J5581512   Toyota       4RUNNER             Manheim                   PA
124641   JTEBU5JR4J5589545   Toyota       4RUNNER             Portland                  OR
124642   JTEBU5JR4J5590663   Toyota       4RUNNER             Maple Grove               MN
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124643   JTEBU5JR4J5591053   Toyota       4RUNNER             NEWARK                    NJ
124644   JTEBU5JR4J5591263   Toyota       4RUNNER             Miami                     FL
124645   JTEBU5JR4J5592767   Toyota       4RUNNER             TUCSON                    AZ
124646   JTEBU5JR4J5593286   Toyota       4RUNNER             SAN DIEGO                 CA
124647   JTEBU5JR4J5593479   Toyota       4RUNNER             TRACY                     CA
124648   JTEBU5JR4K5657361   Toyota       4RUNNER             FORT LAUDERDALE           FL
124649   JTEBU5JR4K5657439   Toyota       4RUNNER             GLASSBORO                 NJ
124650   JTEBU5JR4K5661393   Toyota       4RUNNER             DALLAS                    TX
124651   JTEBU5JR4K5661653   Toyota       4RUNNER             Ontario                   CA
124652   JTEBU5JR4K5662012   Toyota       4RUNNER             LOS ANGELES               CA
124653   JTEBU5JR4K5662916   Toyota       4RUNNER             HOUSTON                   TX
124654   JTEBU5JR4K5662981   Toyota       4RUNNER             HOUSTON                   TX
124655   JTEBU5JR4K5663614   Toyota       4RUNNER             KNOXVILLE                 TN
124656   JTEBU5JR4K5664911   Toyota       4RUNNER             LOS ANGELES               CA
124657   JTEBU5JR4K5665136   Toyota       4RUNNER             GYPSUM                    CO
124658   JTEBU5JR4K5666206   Toyota       4RUNNER             Denver                    CO
124659   JTEBU5JR4K5666903   Toyota       4RUNNER             DENVER                    CO
124660   JTEBU5JR4K5666934   Toyota       4RUNNER             DENVER                    CO
124661   JTEBU5JR4K5667615   Toyota       4RUNNER             Hebron                    KY
124662   JTEBU5JR4K5668540   Toyota       4RUNNER             LOS ANGELES               CA
124663   JTEBU5JR4K5668814   Toyota       4RUNNER             LOS ANGELES               CA
124664   JTEBU5JR4K5669025   Toyota       4RUNNER             LAS VEGAS                 NV
124665   JTEBU5JR4K5669400   Toyota       4RUNNER             HOUSTON                   TX
124666   JTEBU5JR4K5670093   Toyota       4RUNNER             CLEVELAND                 OH
124667   JTEBU5JR4K5670272   Toyota       4RUNNER             ATLANTA                   GA
124668   JTEBU5JR4K5670868   Toyota       4RUNNER             PHOENIX                   AZ
124669   JTEBU5JR4K5670952   Toyota       4RUNNER             New Britain               CT
124670   JTEBU5JR4K5671695   Toyota       4RUNNER             MARIETTA                  GA
124671   JTEBU5JR4K5671812   Toyota       4RUNNER             DALLAS                    TX
124672   JTEBU5JR4K5671857   Toyota       4RUNNER             Teterboro                 NJ
124673   JTEBU5JR4K5672328   Toyota       4RUNNER             Fredericksburg            VA
124674   JTEBU5JR4K5672488   Toyota       4RUNNER             Atlanta                   GA
124675   JTEBU5JR4K5672989   Toyota       4RUNNER             MIDLAND                   TX
124676   JTEBU5JR4K5673138   Toyota       4RUNNER             TAMPA                     US
124677   JTEBU5JR4K5673334   Toyota       4RUNNER             LINDEN                    NJ
124678   JTEBU5JR4K5675438   Toyota       4RUNNER             Coraopolis                PA
124679   JTEBU5JR4K5680459   Toyota       4RUNNER             OAKLAND                   CA
124680   JTEBU5JR4K5684138   Toyota       4RUNNER             BURLINGTON                VT
124681   JTEBU5JR5J5570972   Toyota       4RUNNER             WEST PALM BEACH           FL
124682   JTEBU5JR5J5575735   Toyota       4RUNNER             FT LAUDERDALE             FL
124683   JTEBU5JR5J5577999   Toyota       4RUNNER             NEW YORK CITY             NY
124684   JTEBU5JR5J5579381   Toyota       4RUNNER             Miami                     FL
124685   JTEBU5JR5J5579722   Toyota       4RUNNER             SOUTHEAST DST OFFC        OK
124686   JTEBU5JR5J5579820   Toyota       4RUNNER             Greensboro                NC
124687   JTEBU5JR5J5592955   Toyota       4RUNNER             Columbia                  MD
124688   JTEBU5JR5J5593653   Toyota       4RUNNER             PHOENIX                   AZ
124689   JTEBU5JR5K5660026   Toyota       4RUNNER             HOUSTON                   TX
124690   JTEBU5JR5K5662231   Toyota       4RUNNER             PHOENIX                   AZ
124691   JTEBU5JR5K5664495   Toyota       4RUNNER             Denver                    CO
124692   JTEBU5JR5K5664688   Toyota       4RUNNER             EULESS                    TX
124693   JTEBU5JR5K5666330   Toyota       4RUNNER             Seattle                   WA
124694   JTEBU5JR5K5666778   Toyota       4RUNNER             Denver                    CO
124695   JTEBU5JR5K5667042   Toyota       4RUNNER             BURLINGAME                CA
124696   JTEBU5JR5K5667526   Toyota       4RUNNER             Phoenix                   AZ
124697   JTEBU5JR5K5667736   Toyota       4RUNNER             UNION CITY                GA
124698   JTEBU5JR5K5668885   Toyota       4RUNNER             ST PAUL                   MN
124699   JTEBU5JR5K5669308   Toyota       4RUNNER             ORLANDO                   FL
124700   JTEBU5JR5K5669339   Toyota       4RUNNER             TAMPA                     US
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124701   JTEBU5JR5K5669857   Toyota       4RUNNER             Grove City                OH
124702   JTEBU5JR5K5670023   Toyota       4RUNNER             KENNER                    LA
124703   JTEBU5JR5K5670622   Toyota       4RUNNER             NEWARK                    NY
124704   JTEBU5JR5K5670751   Toyota       4RUNNER             SOUTHEAST DST OFFC        OK
124705   JTEBU5JR5K5670927   Toyota       4RUNNER             NASHVILLE                 TN
124706   JTEBU5JR5K5671527   Toyota       4RUNNER             AUGUSTA                   GA
124707   JTEBU5JR5K5671592   Toyota       4RUNNER             Des Moines                IA
124708   JTEBU5JR5K5671883   Toyota       4RUNNER             ALBANY                    NY
124709   JTEBU5JR5K5671964   Toyota       4RUNNER             TAMPA                     US
124710   JTEBU5JR5K5672077   Toyota       4RUNNER             Houston                   TX
124711   JTEBU5JR5K5672130   Toyota       4RUNNER             HOUSTON                   TX
124712   JTEBU5JR5K5672161   Toyota       4RUNNER             TAMPA                     US
124713   JTEBU5JR5K5672306   Toyota       4RUNNER             FORT MYERS                FL
124714   JTEBU5JR5K5672449   Toyota       4RUNNER             North Dighton             MA
124715   JTEBU5JR5K5672483   Toyota       4RUNNER             Morrisville               NC
124716   JTEBU5JR5K5672693   Toyota       4RUNNER             NEWARK                    NJ
124717   JTEBU5JR5K5672838   Toyota       4RUNNER             MARIETTA                  GA
124718   JTEBU5JR5K5672984   Toyota       4RUNNER             Atlanta                   GA
124719   JTEBU5JR5K5673035   Toyota       4RUNNER             Harvey                    LA
124720   JTEBU5JR5K5673133   Toyota       4RUNNER             CHICAGO                   IL
124721   JTEBU5JR5K5673147   Toyota       4RUNNER             LOS ANGELES               CA
124722   JTEBU5JR5K5673617   Toyota       4RUNNER             CHARLESTON                WV
124723   JTEBU5JR5K5673701   Toyota       4RUNNER             West Palm Beach           FL
124724   JTEBU5JR5K5673777   Toyota       4RUNNER             WEST COLUMBIA             SC
124725   JTEBU5JR5K5673889   Toyota       4RUNNER             WEST COLUMBIA             SC
124726   JTEBU5JR5K5674265   Toyota       4RUNNER             DANIA                     FL
124727   JTEBU5JR5K5674279   Toyota       4RUNNER             PHOENIX                   AZ
124728   JTEBU5JR5K5674315   Toyota       4RUNNER             AUSTIN                    TX
124729   JTEBU5JR5K5674699   Toyota       4RUNNER             Chicago                   IL
124730   JTEBU5JR5K5678980   Toyota       4RUNNER             Atlanta                   GA
124731   JTEBU5JR5K5679014   Toyota       4RUNNER             LAKEWOOD                  WA
124732   JTEBU5JR5K5679966   Toyota       4RUNNER             SEWARD                    AK
124733   JTEBU5JR5K5680888   Toyota       4RUNNER             Avoca                     PA
124734   JTEBU5JR6J5533851   Toyota       4RUNNER             Carleton                  MI
124735   JTEBU5JR6J5538385   Toyota       4RUNNER             Tampa                     FL
124736   JTEBU5JR6J5572794   Toyota       4RUNNER             North Dighton             MA
124737   JTEBU5JR6J5575131   Toyota       4RUNNER             Harvey                    LA
124738   JTEBU5JR6J5576022   Toyota       4RUNNER             Elkridge                  MD
124739   JTEBU5JR6J5576182   Toyota       4RUNNER             Baltimore                 MD
124740   JTEBU5JR6J5580197   Toyota       4RUNNER             HOUSTON                   TX
124741   JTEBU5JR6J5580801   Toyota       4RUNNER             Harvey                    LA
124742   JTEBU5JR6J5584752   Toyota       4RUNNER             Fresno                    CA
124743   JTEBU5JR6J5586131   Toyota       4RUNNER             RICHMOND                  VA
124744   JTEBU5JR6J5587554   Toyota       4RUNNER             Woodhaven                 MI
124745   JTEBU5JR6J5590616   Toyota       4RUNNER             Greensboro                NC
124746   JTEBU5JR6J5592043   Toyota       4RUNNER             Irving                    TX
124747   JTEBU5JR6J5592723   Toyota       4RUNNER             Elkridge                  MD
124748   JTEBU5JR6K5659662   Toyota       4RUNNER             HOUSTON                   TX
124749   JTEBU5JR6K5660584   Toyota       4RUNNER             Arlington                 WA
124750   JTEBU5JR6K5662190   Toyota       4RUNNER             Denver                    CO
124751   JTEBU5JR6K5663193   Toyota       4RUNNER             TAMPA                     US
124752   JTEBU5JR6K5663209   Toyota       4RUNNER             TAMPA                     US
124753   JTEBU5JR6K5663680   Toyota       4RUNNER             LOS ANGELES               CA
124754   JTEBU5JR6K5664778   Toyota       4RUNNER             Ft. Myers                 FL
124755   JTEBU5JR6K5664991   Toyota       4RUNNER             Hebron                    KY
124756   JTEBU5JR6K5665221   Toyota       4RUNNER             HOUSTON                   TX
124757   JTEBU5JR6K5665820   Toyota       4RUNNER             Detroit                   MI
124758   JTEBU5JR6K5666417   Toyota       4RUNNER             PHOENIX                   AZ
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124759   JTEBU5JR6K5666854   Toyota       4RUNNER             Denver                    CO
124760   JTEBU5JR6K5666904   Toyota       4RUNNER             Denver                    CO
124761   JTEBU5JR6K5667289   Toyota       4RUNNER             CHICAGO                   IL
124762   JTEBU5JR6K5667308   Toyota       4RUNNER             Hebron                    KY
124763   JTEBU5JR6K5667549   Toyota       4RUNNER             PHOENIX                   AZ
124764   JTEBU5JR6K5667793   Toyota       4RUNNER             COSTA MESA                CA
124765   JTEBU5JR6K5668040   Toyota       4RUNNER             PHOENIX                   AZ
124766   JTEBU5JR6K5668331   Toyota       4RUNNER             Miami                     FL
124767   JTEBU5JR6K5668927   Toyota       4RUNNER             West Palm Beach           FL
124768   JTEBU5JR6K5669169   Toyota       4RUNNER             CHATTANOOGA               TN
124769   JTEBU5JR6K5669480   Toyota       4RUNNER             BALTIMORE                 MD
124770   JTEBU5JR6K5669592   Toyota       4RUNNER             Irving                    TX
124771   JTEBU5JR6K5670046   Toyota       4RUNNER             ORLANDO                   FL
124772   JTEBU5JR6K5670077   Toyota       4RUNNER             BOSTON                    MA
124773   JTEBU5JR6K5670239   Toyota       4RUNNER             TAMPA                     FL
124774   JTEBU5JR6K5670449   Toyota       4RUNNER             PHOENIX                   AZ
124775   JTEBU5JR6K5671519   Toyota       4RUNNER             DENVER                    CO
124776   JTEBU5JR6K5671522   Toyota       4RUNNER             ORLANDO                   FL
124777   JTEBU5JR6K5671942   Toyota       4RUNNER             DETROIT                   MI
124778   JTEBU5JR6K5672038   Toyota       4RUNNER             TAMPA                     US
124779   JTEBU5JR6K5672105   Toyota       4RUNNER             Miami                     FL
124780   JTEBU5JR6K5672315   Toyota       4RUNNER             ORLANDO                   FL
124781   JTEBU5JR6K5672847   Toyota       4RUNNER             NEW ORLEANS               LA
124782   JTEBU5JR6K5672850   Toyota       4RUNNER             Harvey                    LA
124783   JTEBU5JR6K5672914   Toyota       4RUNNER             UNION CITY                GA
124784   JTEBU5JR6K5672928   Toyota       4RUNNER             SOUTH BEND                IN
124785   JTEBU5JR6K5673576   Toyota       4RUNNER             West Palm Beach           FL
124786   JTEBU5JR6K5673691   Toyota       4RUNNER             PHILADELPHIA              PA
124787   JTEBU5JR6K5673898   Toyota       4RUNNER             ORLANDO                   FL
124788   JTEBU5JR6K5674324   Toyota       4RUNNER             SNELLVILLE                GA
124789   JTEBU5JR6K5674386   Toyota       4RUNNER             Warr Acres                OK
124790   JTEBU5JR6K5674470   Toyota       4RUNNER             ORLANDO                   FL
124791   JTEBU5JR6K5674677   Toyota       4RUNNER             SYRACUSE                  NY
124792   JTEBU5JR6K5674856   Toyota       4RUNNER             Ocoee                     FL
124793   JTEBU5JR6K5674873   Toyota       4RUNNER             FORT LAUDERDALE           FL
124794   JTEBU5JR6K5674887   Toyota       4RUNNER             GRAND RAPIDS              MI
124795   JTEBU5JR6K5679894   Toyota       4RUNNER             CLEARWATER                FL
124796   JTEBU5JR6K5681709   Toyota       4RUNNER             HAMPTON                   VA
124797   JTEBU5JR6K5684352   Toyota       4RUNNER             NEWARK                    NJ
124798   JTEBU5JR7J5571833   Toyota       4RUNNER             Maple Grove               MN
124799   JTEBU5JR7J5571881   Toyota       4RUNNER             RALEIGH                   NC
124800   JTEBU5JR7J5572366   Toyota       4RUNNER             Philadelphia              PA
124801   JTEBU5JR7J5572965   Toyota       4RUNNER             Grove City                OH
124802   JTEBU5JR7J5573047   Toyota       4RUNNER             Manheim                   PA
124803   JTEBU5JR7J5574716   Toyota       4RUNNER             Atlanta                   GA
124804   JTEBU5JR7J5575767   Toyota       4RUNNER             Hartford                  CT
124805   JTEBU5JR7J5578345   Toyota       4RUNNER             ORLANDO                   FL
124806   JTEBU5JR7J5580158   Toyota       4RUNNER             JACKSON                   MS
124807   JTEBU5JR7J5581343   Toyota       4RUNNER             LOS ANGELES               CA
124808   JTEBU5JR7J5582816   Toyota       4RUNNER             NORFOLK                   VA
124809   JTEBU5JR7J5583089   Toyota       4RUNNER             Little Rock               AR
124810   JTEBU5JR7J5586512   Toyota       4RUNNER             SEATTLE                   WA
124811   JTEBU5JR7J5589913   Toyota       4RUNNER             COLUMBIA                  SC
124812   JTEBU5JR7J5591497   Toyota       4RUNNER             Bordentown                NJ
124813   JTEBU5JR7J5593234   Toyota       4RUNNER             Tampa                     FL
124814   JTEBU5JR7K5656141   Toyota       4RUNNER             ATLANTA                   GA
124815   JTEBU5JR7K5656172   Toyota       4RUNNER             BURLINGAME                CA
124816   JTEBU5JR7K5657192   Toyota       4RUNNER             PALM SPRINGS              CA
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124817   JTEBU5JR7K5660075   Toyota       4RUNNER             UNION CITY                GA
124818   JTEBU5JR7K5660089   Toyota       4RUNNER             SAN ANTONIO               TX
124819   JTEBU5JR7K5662859   Toyota       4RUNNER             Florissant                MO
124820   JTEBU5JR7K5663512   Toyota       4RUNNER             EULESS                    TX
124821   JTEBU5JR7K5664451   Toyota       4RUNNER             PENSACOLA                 FL
124822   JTEBU5JR7K5664501   Toyota       4RUNNER             HOUSTON                   TX
124823   JTEBU5JR7K5664871   Toyota       4RUNNER             Austin                    TX
124824   JTEBU5JR7K5666538   Toyota       4RUNNER             FORT MYERS                FL
124825   JTEBU5JR7K5666622   Toyota       4RUNNER             HANOVER                   MD
124826   JTEBU5JR7K5666698   Toyota       4RUNNER             Denver                    CO
124827   JTEBU5JR7K5666829   Toyota       4RUNNER             KANSAS CITY               MO
124828   JTEBU5JR7K5666913   Toyota       4RUNNER             DRB                       UT
124829   JTEBU5JR7K5667186   Toyota       4RUNNER             LOS ANGELES               CA
124830   JTEBU5JR7K5667270   Toyota       4RUNNER             albuquerque               nm
124831   JTEBU5JR7K5667446   Toyota       4RUNNER             LOS ANGELES               CA
124832   JTEBU5JR7K5667527   Toyota       4RUNNER             LOS ANGELES               CA
124833   JTEBU5JR7K5667947   Toyota       4RUNNER             FRESNO                    CA
124834   JTEBU5JR7K5668290   Toyota       4RUNNER             BURLINGAME                CA
124835   JTEBU5JR7K5668404   Toyota       4RUNNER             Chicago                   IL
124836   JTEBU5JR7K5669214   Toyota       4RUNNER             LOS ANGELES               CA
124837   JTEBU5JR7K5669696   Toyota       4RUNNER             Teterboro                 NJ
124838   JTEBU5JR7K5670251   Toyota       4RUNNER             PENSACOLA                 FL
124839   JTEBU5JR7K5670685   Toyota       4RUNNER             TAMPA                     US
124840   JTEBU5JR7K5670735   Toyota       4RUNNER             North Dighton             MA
124841   JTEBU5JR7K5671285   Toyota       4RUNNER             TAMPA                     US
124842   JTEBU5JR7K5671383   Toyota       4RUNNER             PITTSBURGH                PA
124843   JTEBU5JR7K5671741   Toyota       4RUNNER             PHOENIX                   AZ
124844   JTEBU5JR7K5672386   Toyota       4RUNNER             KENNER                    LA
124845   JTEBU5JR7K5672601   Toyota       4RUNNER             Portland                  ME
124846   JTEBU5JR7K5672968   Toyota       4RUNNER             SYRACUSE                  NY
124847   JTEBU5JR7K5673361   Toyota       4RUNNER             NEW ORLEANS               LA
124848   JTEBU5JR7K5673781   Toyota       4RUNNER             WEST COLUMBIA             SC
124849   JTEBU5JR7K5673876   Toyota       4RUNNER             ORLANDO                   FL
124850   JTEBU5JR7K5674364   Toyota       4RUNNER             Atlanta                   GA
124851   JTEBU5JR7K5674459   Toyota       4RUNNER             Ft. Myers                 FL
124852   JTEBU5JR7K5674817   Toyota       4RUNNER             Warr Acres                OK
124853   JTEBU5JR7K5676177   Toyota       4RUNNER             ORLANDO                   FL
124854   JTEBU5JR7K5680391   Toyota       4RUNNER             OAKLAND                   CA
124855   JTEBU5JR7K5682528   Toyota       4RUNNER             SACRAMENTO                CA
124856   JTEBU5JR8J5571078   Toyota       4RUNNER             Atlanta                   GA
124857   JTEBU5JR8J5571551   Toyota       4RUNNER             ORLANDO                   FL
124858   JTEBU5JR8J5572974   Toyota       4RUNNER             Springfield               MO
124859   JTEBU5JR8J5578788   Toyota       4RUNNER             Coraopolis                PA
124860   JTEBU5JR8J5580296   Toyota       4RUNNER             FRESNO                    CA
124861   JTEBU5JR8J5580704   Toyota       4RUNNER             FORT MYERS                FL
124862   JTEBU5JR8J5582999   Toyota       4RUNNER             SAN JOSE                  CA
124863   JTEBU5JR8J5593999   Toyota       4RUNNER             NEW BERN                  NC
124864   JTEBU5JR8K5655323   Toyota       4RUNNER             UNION CITY                GA
124865   JTEBU5JR8K5661283   Toyota       4RUNNER             PHOENIX                   AZ
124866   JTEBU5JR8K5661316   Toyota       4RUNNER             SOUTHEAST DST OFFC        OK
124867   JTEBU5JR8K5661770   Toyota       4RUNNER             OAKLAND                   CA
124868   JTEBU5JR8K5662563   Toyota       4RUNNER             SAN ANTONIO               TX
124869   JTEBU5JR8K5662918   Toyota       4RUNNER             HOUSTON                   TX
124870   JTEBU5JR8K5664474   Toyota       4RUNNER             DALLAS                    TX
124871   JTEBU5JR8K5664491   Toyota       4RUNNER             UNION CITY                GA
124872   JTEBU5JR8K5665172   Toyota       4RUNNER             Atlanta                   GA
124873   JTEBU5JR8K5665320   Toyota       4RUNNER             UNION CITY                GA
124874   JTEBU5JR8K5666628   Toyota       4RUNNER             CHICAGO                   IL
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124875   JTEBU5JR8K5666807   Toyota       4RUNNER             CHARLOTTE                 NC
124876   JTEBU5JR8K5667293   Toyota       4RUNNER             Reno                      NV
124877   JTEBU5JR8K5667634   Toyota       4RUNNER             KENNER                    LA
124878   JTEBU5JR8K5667813   Toyota       4RUNNER             NAPLES                    FL
124879   JTEBU5JR8K5668203   Toyota       4RUNNER             Hapeville                 GA
124880   JTEBU5JR8K5668461   Toyota       4RUNNER             KNOXVILLE                 TN
124881   JTEBU5JR8K5668881   Toyota       4RUNNER             FARMINGTON                NM
124882   JTEBU5JR8K5669514   Toyota       4RUNNER             PHOENIX                   AZ
124883   JTEBU5JR8K5669707   Toyota       4RUNNER             PHILADELPHIA              PA
124884   JTEBU5JR8K5670193   Toyota       4RUNNER             Nashville                 TN
124885   JTEBU5JR8K5670890   Toyota       4RUNNER             Cleveland                 OH
124886   JTEBU5JR8K5670971   Toyota       4RUNNER             BOSTON                    MA
124887   JTEBU5JR8K5671005   Toyota       4RUNNER             HOUSTON                   TX
124888   JTEBU5JR8K5671148   Toyota       4RUNNER             Londonderry               NH
124889   JTEBU5JR8K5671456   Toyota       4RUNNER             GRAND RAPIDS              MI
124890   JTEBU5JR8K5671814   Toyota       4RUNNER             LOS ANGELES               CA
124891   JTEBU5JR8K5671859   Toyota       4RUNNER             CHARLESTON                WV
124892   JTEBU5JR8K5672591   Toyota       4RUNNER             JACKSON                   MS
124893   JTEBU5JR8K5672932   Toyota       4RUNNER             Miami                     FL
124894   JTEBU5JR8K5673692   Toyota       4RUNNER             FORT MYERS                FL
124895   JTEBU5JR8K5673725   Toyota       4RUNNER             ORLANDO                   FL
124896   JTEBU5JR8K5673952   Toyota       4RUNNER             CHATTANOOGA               TN
124897   JTEBU5JR8K5674096   Toyota       4RUNNER             ORLANDO                   FL
124898   JTEBU5JR8K5674339   Toyota       4RUNNER             PHILADELPHIA              PA
124899   JTEBU5JR8K5674552   Toyota       4RUNNER             SOUTH BEND                IN
124900   JTEBU5JR8K5674566   Toyota       4RUNNER             Windsor Locks             CT
124901   JTEBU5JR8K5676253   Toyota       4RUNNER             ORLANDO                   FL
124902   JTEBU5JR8K5677760   Toyota       4RUNNER             LAS VEGAS                 NV
124903   JTEBU5JR8K5679511   Toyota       4RUNNER             LAS VEGAS                 NV
124904   JTEBU5JR8K5679816   Toyota       4RUNNER             DETROIT                   MI
124905   JTEBU5JR8K5680772   Toyota       4RUNNER             Portland                  OR
124906   JTEBU5JR8K5683302   Toyota       4RUNNER             San Antonio               TX
124907   JTEBU5JR8K5684854   Toyota       4RUNNER             Middletown                PA
124908   JTEBU5JR9J5541989   Toyota       4RUNNER             Caledonia                 WI
124909   JTEBU5JR9J5543001   Toyota       4RUNNER             Warminster                PA
124910   JTEBU5JR9J5571817   Toyota       4RUNNER             Fredericksburg            VA
124911   JTEBU5JR9J5572384   Toyota       4RUNNER             Manheim                   PA
124912   JTEBU5JR9J5576998   Toyota       4RUNNER             FORT MYERS                FL
124913   JTEBU5JR9J5577844   Toyota       4RUNNER             FORT MYERS                FL
124914   JTEBU5JR9J5578699   Toyota       4RUNNER             TAMPA                     FL
124915   JTEBU5JR9J5578881   Toyota       4RUNNER             NEWARK                    NJ
124916   JTEBU5JR9J5578962   Toyota       4RUNNER             Manheim                   PA
124917   JTEBU5JR9J5580145   Toyota       4RUNNER             KNOXVILLE                 TN
124918   JTEBU5JR9J5580176   Toyota       4RUNNER             SUWANEE                   GA
124919   JTEBU5JR9J5581005   Toyota       4RUNNER             TRACY                     CA
124920   JTEBU5JR9J5588939   Toyota       4RUNNER             Stockton                  CA
124921   JTEBU5JR9J5589427   Toyota       4RUNNER             PLEASANTON                CA
124922   JTEBU5JR9K5653693   Toyota       4RUNNER             Denver                    CO
124923   JTEBU5JR9K5656125   Toyota       4RUNNER             ALBANY                    GA
124924   JTEBU5JR9K5659817   Toyota       4RUNNER             ST Paul                   MN
124925   JTEBU5JR9K5660188   Toyota       4RUNNER             LOS ANGELES               CA
124926   JTEBU5JR9K5660689   Toyota       4RUNNER             BIRMINGHAN                AL
124927   JTEBU5JR9K5663284   Toyota       4RUNNER             AUSTIN                    TX
124928   JTEBU5JR9K5663589   Toyota       4RUNNER             KNOXVILLE                 TN
124929   JTEBU5JR9K5664595   Toyota       4RUNNER             COLLEGE PARK              GA
124930   JTEBU5JR9K5665276   Toyota       4RUNNER             Live Oak                  TX
124931   JTEBU5JR9K5666086   Toyota       4RUNNER             Atlanta                   GA
124932   JTEBU5JR9K5666105   Toyota       4RUNNER             ATLANTA                   GA
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124933   JTEBU5JR9K5666122   Toyota       4RUNNER             CHATTANOOGA               TN
124934   JTEBU5JR9K5666430   Toyota       4RUNNER             SAN FRANCISCO             CA
124935   JTEBU5JR9K5666458   Toyota       4RUNNER             EULESS                    TX
124936   JTEBU5JR9K5666606   Toyota       4RUNNER             FAYETTEVILLE              AR
124937   JTEBU5JR9K5666766   Toyota       4RUNNER             DENVER                    CO
124938   JTEBU5JR9K5666833   Toyota       4RUNNER             BURBANK                   CA
124939   JTEBU5JR9K5667027   Toyota       4RUNNER             LOS ANGELES               CA
124940   JTEBU5JR9K5667335   Toyota       4RUNNER             NEW BERN                  NC
124941   JTEBU5JR9K5668033   Toyota       4RUNNER             Philadelphia              PA
124942   JTEBU5JR9K5669084   Toyota       4RUNNER             LOS ANGELES               CA
124943   JTEBU5JR9K5669747   Toyota       4RUNNER             FAYETTEVILLE              GA
124944   JTEBU5JR9K5669859   Toyota       4RUNNER             KALISPELL                 MT
124945   JTEBU5JR9K5670073   Toyota       4RUNNER             BOSTON                    MA
124946   JTEBU5JR9K5670171   Toyota       4RUNNER             PHOENIX                   AZ
124947   JTEBU5JR9K5670297   Toyota       4RUNNER             SAN FRANCISCO             CA
124948   JTEBU5JR9K5670364   Toyota       4RUNNER             Alcoa                     TN
124949   JTEBU5JR9K5670509   Toyota       4RUNNER             LOS ANGELES               CA
124950   JTEBU5JR9K5670820   Toyota       4RUNNER             ORLANDO                   FL
124951   JTEBU5JR9K5670980   Toyota       4RUNNER             DALLAS                    TX
124952   JTEBU5JR9K5671014   Toyota       4RUNNER             SACRAMENTO                CA
124953   JTEBU5JR9K5671434   Toyota       4RUNNER             Denver                    CO
124954   JTEBU5JR9K5672227   Toyota       4RUNNER             DALLAS                    TX
124955   JTEBU5JR9K5672437   Toyota       4RUNNER             CLEVELAND                 OH
124956   JTEBU5JR9K5673460   Toyota       4RUNNER             WEST PALM BEACH           FL
124957   JTEBU5JR9K5674687   Toyota       4RUNNER             LOS ANGELES               CA
124958   JTEBU5JR9K5674916   Toyota       4RUNNER             SAN JOSE                  CA
124959   JTEBU5JR9K5675001   Toyota       4RUNNER             STERLING                  VA
124960   JTEBU5JR9K5677590   Toyota       4RUNNER             CHICAGO                   IL
124961   JTEBU5JR9K5677752   Toyota       4RUNNER             BALTIMORE                 MD
124962   JTEBU5JR9K5677962   Toyota       4RUNNER             LAS VEGAS                 NV
124963   JTEBU5JR9K5678108   Toyota       4RUNNER             Chicago                   IL
124964   JTEBU5JR9K5679677   Toyota       4RUNNER             Lake Elsinore             CA
124965   JTEBU5JR9K5682059   Toyota       4RUNNER             SACRAMENTO                CA
124966   JTEBU5JR9K5682515   Toyota       4RUNNER             SEATAC                    WA
124967   JTEBU5JRXJ5517474   Toyota       4RUNNER             SAN DIEGO                 CA
124968   JTEBU5JRXJ5538714   Toyota       4RUNNER             ORLANDO                   FL
124969   JTEBU5JRXJ5571647   Toyota       4RUNNER             Slidell                   LA
124970   JTEBU5JRXJ5572037   Toyota       4RUNNER             Detroit                   MI
124971   JTEBU5JRXJ5574158   Toyota       4RUNNER             BOSTON, LOGAN AP          MA
124972   JTEBU5JRXJ5574631   Toyota       4RUNNER             North Dighton             MA
124973   JTEBU5JRXJ5575200   Toyota       4RUNNER             FORT MYERS                FL
124974   JTEBU5JRXJ5576668   Toyota       4RUNNER             MIAMI                     FL
124975   JTEBU5JRXJ5577075   Toyota       4RUNNER             PHILADELPHIA              PA
124976   JTEBU5JRXJ5579778   Toyota       4RUNNER             BOSTON                    MA
124977   JTEBU5JRXJ5581840   Toyota       4RUNNER             ORANGE COUNTY             CA
124978   JTEBU5JRXJ5591932   Toyota       4RUNNER             Chicago                   IL
124979   JTEBU5JRXK5655355   Toyota       4RUNNER             BIRMINGHAN                AL
124980   JTEBU5JRXK5660054   Toyota       4RUNNER             Houston                   TX
124981   JTEBU5JRXK5660233   Toyota       4RUNNER             Atlanta                   GA
124982   JTEBU5JRXK5661009   Toyota       4RUNNER             CHICAGO                   IL
124983   JTEBU5JRXK5663018   Toyota       4RUNNER             Denver                    CO
124984   JTEBU5JRXK5663102   Toyota       4RUNNER             KILLEEN                   US
124985   JTEBU5JRXK5663374   Toyota       4RUNNER             UNION CITY                GA
124986   JTEBU5JRXK5663634   Toyota       4RUNNER             San Diego                 CA
124987   JTEBU5JRXK5663729   Toyota       4RUNNER             ORLANDO                   FL
124988   JTEBU5JRXK5663861   Toyota       4RUNNER             BIRMINGHAN                AL
124989   JTEBU5JRXK5664590   Toyota       4RUNNER             DENVER                    CO
124990   JTEBU5JRXK5665707   Toyota       4RUNNER             ORLANDO                   FL
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124991   JTEBU5JRXK5666209   Toyota       4RUNNER             NORTH HILLS               CA
124992   JTEBU5JRXK5666579   Toyota       4RUNNER             HOUSTON                   TX
124993   JTEBU5JRXK5666890   Toyota       4RUNNER             LAS VEGAS                 NV
124994   JTEBU5JRXK5666999   Toyota       4RUNNER             BURLINGAME                CA
124995   JTEBU5JRXK5667411   Toyota       4RUNNER             AUGUSTA                   GA
124996   JTEBU5JRXK5667862   Toyota       4RUNNER             North Dighton             MA
124997   JTEBU5JRXK5668204   Toyota       4RUNNER             LOS ANGELES               CA
124998   JTEBU5JRXK5668283   Toyota       4RUNNER             KNOXVILLE                 TN
124999   JTEBU5JRXK5668672   Toyota       4RUNNER             LOS ANGELES               CA
125000   JTEBU5JRXK5669076   Toyota       4RUNNER             SAN DIEGO                 CA
125001   JTEBU5JRXK5670292   Toyota       4RUNNER             FORT MYERS                FL
125002   JTEBU5JRXK5670437   Toyota       4RUNNER             WEST COLUMBIA             SC
125003   JTEBU5JRXK5670521   Toyota       4RUNNER             COLUMBUS                  OH
125004   JTEBU5JRXK5670759   Toyota       4RUNNER             Denver                    CO
125005   JTEBU5JRXK5670860   Toyota       4RUNNER             ORLANDO                   FL
125006   JTEBU5JRXK5671877   Toyota       4RUNNER             MIAMI                     FL
125007   JTEBU5JRXK5672396   Toyota       4RUNNER             LOS ANGELES               CA
125008   JTEBU5JRXK5672558   Toyota       4RUNNER             CHARLESTON                WV
125009   JTEBU5JRXK5672964   Toyota       4RUNNER             PHILADELPHIA              PA
125010   JTEBU5JRXK5677145   Toyota       4RUNNER             COLUMBUS                  OH
125011   JTEBU5JRXK5677789   Toyota       4RUNNER             SOUTHEAST DST OFFC        OK
125012   JTEBU5JRXK5677856   Toyota       4RUNNER             Leroy                     NY
125013   JTEBU5JRXK5680207   Toyota       4RUNNER             LOS ANGELES               CA
125014   JTEBU5JRXK5683690   Toyota       4RUNNER             RALEIGH                   NC
125015   JTEZU5JR0K5191605   Toyota       4RUNNER             HOUSTON                   TX
125016   JTEZU5JR0K5191782   Toyota       4RUNNER             UNION CITY                GA
125017   JTEZU5JR0K5192463   Toyota       4RUNNER             Tucson                    AZ
125018   JTEZU5JR0K5192818   Toyota       4RUNNER             Jacksonville              FL
125019   JTEZU5JR0K5192981   Toyota       4RUNNER             LOUISVILLE                KY
125020   JTEZU5JR0K5192995   Toyota       4RUNNER             PHOENIX                   AZ
125021   JTEZU5JR0K5193371   Toyota       4RUNNER             PHOENIX                   AZ
125022   JTEZU5JR0K5193953   Toyota       4RUNNER             Manheim                   PA
125023   JTEZU5JR0K5196786   Toyota       4RUNNER             Davie                     FL
125024   JTEZU5JR0K5196853   Toyota       4RUNNER             San Antonio               TX
125025   JTEZU5JR0K5198182   Toyota       4RUNNER             SACRAMENTO                CA
125026   JTEZU5JR0K5199106   Toyota       4RUNNER             PHILADELPHIA              PA
125027   JTEZU5JR1K5191922   Toyota       4RUNNER             WHITE PLAINS              NY
125028   JTEZU5JR1K5192441   Toyota       4RUNNER             Irving                    TX
125029   JTEZU5JR1K5192844   Toyota       4RUNNER             Hebron                    KY
125030   JTEZU5JR1K5193248   Toyota       4RUNNER             CHICAGO                   IL
125031   JTEZU5JR1K5193377   Toyota       4RUNNER             KANSAS CITY               MO
125032   JTEZU5JR1K5194481   Toyota       4RUNNER             LAS VEGAS                 NV
125033   JTEZU5JR1K5195212   Toyota       4RUNNER             RONKONKOMA                NY
125034   JTEZU5JR1K5195792   Toyota       4RUNNER             Rock Hill                 SC
125035   JTEZU5JR1K5196005   Toyota       4RUNNER             Dallas                    TX
125036   JTEZU5JR1K5197056   Toyota       4RUNNER             UNION CITY                GA
125037   JTEZU5JR1K5197168   Toyota       4RUNNER             FAYETTEVILLE              GA
125038   JTEZU5JR1K5197171   Toyota       4RUNNER             KANSAS CITY               MO
125039   JTEZU5JR1K5197347   Toyota       4RUNNER             Tucson                    AZ
125040   JTEZU5JR1K5197364   Toyota       4RUNNER             Bridgeton                 MO
125041   JTEZU5JR1K5197381   Toyota       4RUNNER             LOS ANGELES               CA
125042   JTEZU5JR1K5197865   Toyota       4RUNNER             LOS ANGELES               CA
125043   JTEZU5JR1K5198210   Toyota       4RUNNER             LOS ANGELES               CA
125044   JTEZU5JR1K5199194   Toyota       4RUNNER             Louisville                KY
125045   JTEZU5JR2K5192142   Toyota       4RUNNER             MEMPHIS                   TN
125046   JTEZU5JR2K5192240   Toyota       4RUNNER             KENNER                    LA
125047   JTEZU5JR2K5192349   Toyota       4RUNNER             SAINT LOUIS               MO
125048   JTEZU5JR2K5192450   Toyota       4RUNNER             ALBUQERQUE                NM
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125049   JTEZU5JR2K5192464   Toyota       4RUNNER             REDDING                   CA
125050   JTEZU5JR2K5192853   Toyota       4RUNNER             LOS ANGELES               CA
125051   JTEZU5JR2K5193064   Toyota       4RUNNER             Wichita                   KS
125052   JTEZU5JR2K5195655   Toyota       4RUNNER             Harvey                    LA
125053   JTEZU5JR2K5196224   Toyota       4RUNNER             Jacksonville              FL
125054   JTEZU5JR2K5197129   Toyota       4RUNNER             Dallas                    TX
125055   JTEZU5JR2K5197163   Toyota       4RUNNER             UNION CITY                GA
125056   JTEZU5JR2K5197468   Toyota       4RUNNER             SAN ANTONIO               TX
125057   JTEZU5JR2K5197602   Toyota       4RUNNER             PHOENIX                   AZ
125058   JTEZU5JR2K5197695   Toyota       4RUNNER             PHOENIX                   AZ
125059   JTEZU5JR2K5197759   Toyota       4RUNNER             Houston                   TX
125060   JTEZU5JR2K5197986   Toyota       4RUNNER             SANTA BARBARA             CA
125061   JTEZU5JR2K5198250   Toyota       4RUNNER             WOODSON TERRACE           MO
125062   JTEZU5JR3K5192702   Toyota       4RUNNER             Houston                   TX
125063   JTEZU5JR3K5192862   Toyota       4RUNNER             INDIANAPOLIS              IN
125064   JTEZU5JR3K5193171   Toyota       4RUNNER             WEST HARTFORD             CT
125065   JTEZU5JR3K5197124   Toyota       4RUNNER             Houston                   TX
125066   JTEZU5JR3K5197138   Toyota       4RUNNER             HOUSTON                   TX
125067   JTEZU5JR3K5197267   Toyota       4RUNNER             Dallas                    TX
125068   JTEZU5JR3K5197365   Toyota       4RUNNER             FULLERTON                 CA
125069   JTEZU5JR3K5197477   Toyota       4RUNNER             Irving                    TX
125070   JTEZU5JR3K5197768   Toyota       4RUNNER             LOS ANGELES               CA
125071   JTEZU5JR4K5192062   Toyota       4RUNNER             DETROIT                   MI
125072   JTEZU5JR4K5192594   Toyota       4RUNNER             Tulsa                     OK
125073   JTEZU5JR4K5193468   Toyota       4RUNNER             KANSAS CITY               MO
125074   JTEZU5JR4K5193891   Toyota       4RUNNER             SOUTH BEND                IN
125075   JTEZU5JR4K5193986   Toyota       4RUNNER             GRAND RAPIDS              MI
125076   JTEZU5JR4K5194362   Toyota       4RUNNER             BOSTON                    MA
125077   JTEZU5JR4K5195544   Toyota       4RUNNER             WEST COLUMBIA             SC
125078   JTEZU5JR4K5195849   Toyota       4RUNNER             ORLANDO                   FL
125079   JTEZU5JR4K5196080   Toyota       4RUNNER             SAINT LOUIS               MO
125080   JTEZU5JR4K5197066   Toyota       4RUNNER             Austell                   GA
125081   JTEZU5JR4K5197553   Toyota       4RUNNER             NEWPORT BEACH             CA
125082   JTEZU5JR4K5197570   Toyota       4RUNNER             ONTARIO                   CA
125083   JTEZU5JR4K5197715   Toyota       4RUNNER             HOUSTON                   TX
125084   JTEZU5JR4K5197956   Toyota       4RUNNER             ONTARIO                   CA
125085   JTEZU5JR4K5198847   Toyota       4RUNNER             HOUSTON                   TX
125086   JTEZU5JR5K5191664   Toyota       4RUNNER             Jacksonville              FL
125087   JTEZU5JR5K5191809   Toyota       4RUNNER             UNION CITY                GA
125088   JTEZU5JR5K5192099   Toyota       4RUNNER             SAN DIEGO                 CA
125089   JTEZU5JR5K5192300   Toyota       4RUNNER             MCALLEN                   TX
125090   JTEZU5JR5K5192331   Toyota       4RUNNER             EL PASO                   TX
125091   JTEZU5JR5K5192457   Toyota       4RUNNER             Houston                   TX
125092   JTEZU5JR5K5192524   Toyota       4RUNNER             Atlanta                   GA
125093   JTEZU5JR5K5192541   Toyota       4RUNNER             MCALLEN                   TX
125094   JTEZU5JR5K5192717   Toyota       4RUNNER             Jacksonville              FL
125095   JTEZU5JR5K5193169   Toyota       4RUNNER             Killeen                   TX
125096   JTEZU5JR5K5193494   Toyota       4RUNNER             MEMPHIS                   TN
125097   JTEZU5JR5K5193589   Toyota       4RUNNER             Ventura                   CA
125098   JTEZU5JR5K5194497   Toyota       4RUNNER             ORLANDO                   FL
125099   JTEZU5JR5K5194967   Toyota       4RUNNER             WARWICK                   RI
125100   JTEZU5JR5K5196685   Toyota       4RUNNER             Hamilton                  OH
125101   JTEZU5JR5K5197609   Toyota       4RUNNER             TUCSON                    AZ
125102   JTEZU5JR5K5197657   Toyota       4RUNNER             Houston                   TX
125103   JTEZU5JR5K5197979   Toyota       4RUNNER             Warr Acres                OK
125104   JTEZU5JR5K5198209   Toyota       4RUNNER             COSTA MESA                CA
125105   JTEZU5JR5K5198808   Toyota       4RUNNER             CLEVELAND                 OH
125106   JTEZU5JR5K5199182   Toyota       4RUNNER             DALLAS                    TX
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125107   JTEZU5JR6K5192029   Toyota       4RUNNER             BURBANK                   CA
125108   JTEZU5JR6K5192158   Toyota       4RUNNER             PHOENIX                   AZ
125109   JTEZU5JR6K5192161   Toyota       4RUNNER             EULESS                    TX
125110   JTEZU5JR6K5192208   Toyota       4RUNNER             Dallas                    TX
125111   JTEZU5JR6K5192595   Toyota       4RUNNER             LOS ANGELES               CA
125112   JTEZU5JR6K5194170   Toyota       4RUNNER             Atlanta                   GA
125113   JTEZU5JR6K5194346   Toyota       4RUNNER             BOSTON                    MA
125114   JTEZU5JR6K5197067   Toyota       4RUNNER             San Antonio               TX
125115   JTEZU5JR6K5197232   Toyota       4RUNNER             PHOENIX                   AZ
125116   JTEZU5JR6K5197280   Toyota       4RUNNER             Corpus Christi            TX
125117   JTEZU5JR6K5197764   Toyota       4RUNNER             LOS ANGELES               CA
125118   JTEZU5JR7K5192380   Toyota       4RUNNER             Salt Lake City            UT
125119   JTEZU5JR7K5193304   Toyota       4RUNNER             MILWAUKEE                 WI
125120   JTEZU5JR7K5193366   Toyota       4RUNNER             DRB                       UT
125121   JTEZU5JR7K5193741   Toyota       4RUNNER             CLEVELAND                 OH
125122   JTEZU5JR7K5196302   Toyota       4RUNNER             Live Oak                  TX
125123   JTEZU5JR7K5197496   Toyota       4RUNNER             SAN DIEGO                 CA
125124   JTEZU5JR7K5197675   Toyota       4RUNNER             PHOENIX                   AZ
125125   JTEZU5JR7K5197871   Toyota       4RUNNER             Beaverton                 OR
125126   JTEZU5JR7K5199202   Toyota       4RUNNER             Austin                    TX
125127   JTEZU5JR7K5199300   Toyota       4RUNNER             Harvey                    LA
125128   JTEZU5JR8K5192145   Toyota       4RUNNER             SAN FRANCISCO             CA
125129   JTEZU5JR8K5192209   Toyota       4RUNNER             TULSA                     OK
125130   JTEZU5JR8K5192632   Toyota       4RUNNER             Houston                   TX
125131   JTEZU5JR8K5192825   Toyota       4RUNNER             Dallas                    TX
125132   JTEZU5JR8K5193246   Toyota       4RUNNER             Oklahoma City             OK
125133   JTEZU5JR8K5193764   Toyota       4RUNNER             PHILADELPHIA              US
125134   JTEZU5JR8K5194977   Toyota       4RUNNER             Teterboro                 NJ
125135   JTEZU5JR8K5195580   Toyota       4RUNNER             Winter Park               FL
125136   JTEZU5JR8K5197247   Toyota       4RUNNER             LAS VEGAS                 NV
125137   JTEZU5JR8K5197491   Toyota       4RUNNER             KANSAS CITY               MO
125138   JTEZU5JR8K5197670   Toyota       4RUNNER             SAN DIEGO                 CA
125139   JTEZU5JR8K5197698   Toyota       4RUNNER             Springfield               MO
125140   JTEZU5JR8K5197782   Toyota       4RUNNER             Hanover                   MD
125141   JTEZU5JR8K5197846   Toyota       4RUNNER             PHOENIX                   AZ
125142   JTEZU5JR8K5197863   Toyota       4RUNNER             JACKSON                   TN
125143   JTEZU5JR8K5197989   Toyota       4RUNNER             Hattiesburg               MS
125144   JTEZU5JR8K5197992   Toyota       4RUNNER             FARGO                     ND
125145   JTEZU5JR8K5199029   Toyota       4RUNNER             Miami                     FL
125146   JTEZU5JR9K5192073   Toyota       4RUNNER             KNOXVILLE                 TN
125147   JTEZU5JR9K5192476   Toyota       4RUNNER             Houston                   TX
125148   JTEZU5JR9K5192932   Toyota       4RUNNER             ST PAUL                   MN
125149   JTEZU5JR9K5192977   Toyota       4RUNNER             Houston                   TX
125150   JTEZU5JR9K5193840   Toyota       4RUNNER             BRONX                     NY
125151   JTEZU5JR9K5193949   Toyota       4RUNNER             NEW YORK CITY             NY
125152   JTEZU5JR9K5195488   Toyota       4RUNNER             TAMPA                     US
125153   JTEZU5JR9K5196382   Toyota       4RUNNER             UNION CITY                GA
125154   JTEZU5JR9K5196477   Toyota       4RUNNER             EULESS                    TX
125155   JTEZU5JR9K5197158   Toyota       4RUNNER             EULESS                    TX
125156   JTEZU5JR9K5197595   Toyota       4RUNNER             PORTLAND                  OR
125157   JTEZU5JR9K5197841   Toyota       4RUNNER             SACRAMENTO                CA
125158   JTEZU5JR9K5197905   Toyota       4RUNNER             Burien                    WA
125159   JTEZU5JRXK5192681   Toyota       4RUNNER             Florissant                MO
125160   JTEZU5JRXK5192714   Toyota       4RUNNER             LOS ANGELES               CA
125161   JTEZU5JRXK5192986   Toyota       4RUNNER             DALLAS                    TX
125162   JTEZU5JRXK5193099   Toyota       4RUNNER             DFW AIRPORT               TX
125163   JTEZU5JRXK5194723   Toyota       4RUNNER             NEWARK                    NJ
125164   JTEZU5JRXK5195595   Toyota       4RUNNER             ORLANDO                   FL
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125165   JTEZU5JRXK5197069   Toyota       4RUNNER             HOUSTON                   TX
125166   JTEZU5JRXK5197167   Toyota       4RUNNER             PHOENIX                   AZ
125167   JTEZU5JRXK5197220   Toyota       4RUNNER             Irving                    TX
125168   JTEZU5JRXK5197329   Toyota       4RUNNER             SANTA ANA                 CA
125169   JTEZU5JRXK5197864   Toyota       4RUNNER             SACRAMENTO                CA
125170   JTEZU5JRXK5197881   Toyota       4RUNNER             Hamilton                  OH
125171   JTEZU5JRXK5197945   Toyota       4RUNNER             Wichita                   KS
125172   JTEZU5JRXK5199100   Toyota       4RUNNER             Irving                    TX
125173   JTMF1RFV1KD002902   Toyota       RAV4                BOSTON                    MA
125174   JTMF1RFV1KD007579   Toyota       RAV4                Smithtown                 NY
125175   JTMF1RFV1KD501084   Toyota       RAV4                MIAMI                     FL
125176   JTMF1RFV1KD503000   Toyota       RAV4                Richmond                  VA
125177   JTMF1RFV2KD007798   Toyota       RAV4                Cleveland                 OH
125178   JTMF1RFV2KD503216   Toyota       RAV4                Philadelphia              PA
125179   JTMF1RFV2KJ002764   Toyota       RAV4                FORT LAUDERDALE           FL
125180   JTMF1RFV3KD500258   Toyota       RAV4                Philadelphia              PA
125181   JTMF1RFV3KD500695   Toyota       RAV4                Bensalem                  PA
125182   JTMF1RFV3KD501328   Toyota       RAV4                Philadelphia              PA
125183   JTMF1RFV4KD501497   Toyota       RAV4                Bensalem                  PA
125184   JTMF1RFV5KD005530   Toyota       RAV4                Atlanta                   GA
125185   JTMF1RFV5KD501332   Toyota       RAV4                Detroit                   MI
125186   JTMF1RFV5KD502576   Toyota       RAV4                Cincinnati                OH
125187   JTMF1RFV6KD502361   Toyota       RAV4                DETROIT                   MI
125188   JTMF1RFV7KD005514   Toyota       RAV4                ORLANDO                   FL
125189   JTMF1RFV7KJ002033   Toyota       RAV4                PHILADELPHIA              PA
125190   JTMF1RFV8KD004002   Toyota       RAV4                Greensboro                NC
125191   JTMF1RFV8KD005487   Toyota       RAV4                Elkridge                  MD
125192   JTMF1RFV8KD500529   Toyota       RAV4                LAS VEGAS                 NV
125193   JTMF1RFV8KD502622   Toyota       RAV4                NEW YORK CITY             NY
125194   JTMF1RFV8KJ003496   Toyota       RAV4                MILWAUKEE                 WI
125195   JTMF1RFVXKD007211   Toyota       RAV4                Beaverton                 OR
125196   JTMF1RFVXKJ002608   Toyota       RAV4                Webster                   NY
125197   JTMH1RFV0KD007338   Toyota       RAV4                MIAMI                     FL
125198   JTMH1RFV0KD501201   Toyota       RAV4                TAMPA                     FL
125199   JTMH1RFV1KJ005227   Toyota       RAV4                SOUTHEAST DST OFFC        OK
125200   JTMH1RFV1KJ006037   Toyota       RAV4                MORROW                    GA
125201   JTMH1RFV2KD006188   Toyota       RAV4                TAMPA                     FL
125202   JTMH1RFV2KD006773   Toyota       RAV4                ATLANTA                   GA
125203   JTMH1RFV2KJ005558   Toyota       RAV4                TAMPA                     FL
125204   JTMH1RFV3KD005776   Toyota       RAV4                WEST PALM BEACH           FL
125205   JTMH1RFV3KD006197   Toyota       RAV4                FORT LAUDERDALE           FL
125206   JTMH1RFV3KD502195   Toyota       RAV4                CHICAGO                   IL
125207   JTMH1RFV3KJ002295   Toyota       RAV4                Stone Mountain            GA
125208   JTMH1RFV5KD006184   Toyota       RAV4                Dallas                    TX
125209   JTMH1RFV5KD011899   Toyota       RAV4                TAMPA                     FL
125210   JTMH1RFV5KD502375   Toyota       RAV4                MIAMI                     FL
125211   JTMH1RFV6KD011667   Toyota       RAV4                ORLANDO                   FL
125212   JTMH1RFV6KD501882   Toyota       RAV4                STERLING                  VA
125213   JTMH1RFV6KD505169   Toyota       RAV4                ORLANDO                   FL
125214   JTMH1RFV6KJ001271   Toyota       RAV4                Richmond                  VA
125215   JTMH1RFV7KD011385   Toyota       RAV4                ORLANDO                   FL
125216   JTMH1RFV7KJ001943   Toyota       RAV4                FORT MYERS                FL
125217   JTMH1RFV7KJ005880   Toyota       RAV4                FORT MYERS                FL
125218   JTMH1RFV8KD005384   Toyota       RAV4                TAMPA                     FL
125219   JTMH1RFV8KD011637   Toyota       RAV4                TAMPA                     FL
125220   JTMH1RFV8KD012173   Toyota       RAV4                ORLANDO                   FL
125221   JTMH1RFV9KJ001961   Toyota       RAV4                Florissant                MO
125222   JTMH1RFVXKD005340   Toyota       RAV4                Atlanta                   GA
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125223   JTMH1RFVXKD505935   Toyota       RAV4                SAVANNAH                  GA
125224   JTMP1RFV0KD007545   Toyota       RAV4                Las Vegas                 NV
125225   JTMP1RFV0KD007853   Toyota       RAV4                Richmond                  VA
125226   JTMP1RFV0KD501923   Toyota       RAV4                Smithtown                 NY
125227   JTMP1RFV0KJ001097   Toyota       RAV4                STERLING                  VA
125228   JTMP1RFV0KJ003352   Toyota       RAV4                Irving                    TX
125229   JTMP1RFV1KJ001173   Toyota       RAV4                Hartford                  CT
125230   JTMP1RFV1KJ001562   Toyota       RAV4                Harvey                    LA
125231   JTMP1RFV2KD005778   Toyota       RAV4                WEST PALM BEACH           FL
125232   JTMP1RFV2KD006977   Toyota       RAV4                Smithtown                 NY
125233   JTMP1RFV2KD007210   Toyota       RAV4                Woodhaven                 MI
125234   JTMP1RFV2KD502751   Toyota       RAV4                Atlanta                   GA
125235   JTMP1RFV3KD007524   Toyota       RAV4                Statesville               NC
125236   JTMP1RFV3KD007586   Toyota       RAV4                Atlanta                   GA
125237   JTMP1RFV3KD503181   Toyota       RAV4                Orlando                   FL
125238   JTMP1RFV3KD503195   Toyota       RAV4                Bensalem                  PA
125239   JTMP1RFV4KD003479   Toyota       RAV4                DETROIT                   MI
125240   JTMP1RFV4KD007337   Toyota       RAV4                JACKSONVILLE              FL
125241   JTMP1RFV4KD007869   Toyota       RAV4                GREEN BAY                 WI
125242   JTMP1RFV4KJ003029   Toyota       RAV4                North Dighton             MA
125243   JTMP1RFV5KD005788   Toyota       RAV4                Chicago                   IL
125244   JTMP1RFV5KD005855   Toyota       RAV4                TAMPA                     FL
125245   JTMP1RFV5KD006438   Toyota       RAV4                UNION CITY                GA
125246   JTMP1RFV5KD006942   Toyota       RAV4                Cincinnati                OH
125247   JTMP1RFV5KD007203   Toyota       RAV4                Ocoee                     FL
125248   JTMP1RFV5KD007542   Toyota       RAV4                TAMPA                     FL
125249   JTMP1RFV6KD006044   Toyota       RAV4                Webster                   NY
125250   JTMP1RFV6KD006710   Toyota       RAV4                Dallas                    TX
125251   JTMP1RFV6KD007582   Toyota       RAV4                Warminster                PA
125252   JTMP1RFV6KD501327   Toyota       RAV4                ORLANDO                   FL
125253   JTMP1RFV6KD502140   Toyota       RAV4
125254   JTMP1RFV6KD503210   Toyota       RAV4                BOSTON                    MA
125255   JTMP1RFV6KJ002061   Toyota       RAV4                Florissant                MO
125256   JTMP1RFV7KD007218   Toyota       RAV4                Philadelphia              PA
125257   JTMP1RFV7KD007235   Toyota       RAV4                Massapequa                NY
125258   JTMP1RFV7KD007249   Toyota       RAV4                Bensalem                  PA
125259   JTMP1RFV7KD007526   Toyota       RAV4                Smithtown                 NY
125260   JTMP1RFV7KD007560   Toyota       RAV4                CLEARWATER                FL
125261   JTMP1RFV7KD501708   Toyota       RAV4                WARWICK                   RI
125262   JTMP1RFV8KD003744   Toyota       RAV4                PORTLAND                  ME
125263   JTMP1RFV8KD006093   Toyota       RAV4                Lynn                      MA
125264   JTMP1RFV8KD007311   Toyota       RAV4                PHILADELPHIA              PA
125265   JTMP1RFV8KD007499   Toyota       RAV4                Windsor Locks             CT
125266   JTMP1RFV8KD500261   Toyota       RAV4                Massapequa                NY
125267   JTMP1RFV8KD500390   Toyota       RAV4                NEWARK                    NJ
125268   JTMP1RFV8KD501734   Toyota       RAV4                WEST PALM BEACH           FL
125269   JTMP1RFV8KD501913   Toyota       RAV4                WEST PALM BEACH           FL
125270   JTMP1RFV8KD501927   Toyota       RAV4                Atlanta                   GA
125271   JTMP1RFV8KD502351   Toyota       RAV4                Charlotte                 NC
125272   JTMP1RFV8KD502754   Toyota       RAV4                Warminster                PA
125273   JTMP1RFV8KJ001784   Toyota       RAV4                Baltimore                 MD
125274   JTMP1RFV8KJ002207   Toyota       RAV4                Webster                   NY
125275   JTMP1RFV9KD006927   Toyota       RAV4                Ft. Myers                 FL
125276   JTMP1RFV9KD006958   Toyota       RAV4                STERLING                  VA
125277   JTMP1RFV9KD006961   Toyota       RAV4                North Billerica           MA
125278   JTMP1RFV9KD007866   Toyota       RAV4                NEWARK                    NJ
125279   JTMP1RFV9KD500432   Toyota       RAV4                Bensalem                  PA
125280   JTMP1RFV9KJ003379   Toyota       RAV4                North Dighton             MA
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125281   JTMP1RFVXKD002272   Toyota       RAV4                NEW BERN                  NC
125282   JTMP1RFVXKJ002371   Toyota       RAV4                NORFOLK                   VA
125283   JTMW1RFV0KD005659   Toyota       RAV4                ATLANTA                   GA
125284   JTMW1RFV0KD011400   Toyota       RAV4                MIAMI                     FL
125285   JTMW1RFV0KD011428   Toyota       RAV4                JACKSONVILLE              FL
125286   JTMW1RFV1KD005928   Toyota       RAV4                TAMPA                     FL
125287   JTMW1RFV1KD011485   Toyota       RAV4                DARLINGTON                SC
125288   JTMW1RFV1KD502056   Toyota       RAV4                KANSAS CITY               MO
125289   JTMW1RFV1KD502431   Toyota       RAV4                Ft. Myers                 FL
125290   JTMW1RFV1KD505832   Toyota       RAV4                FORT MYERS                FL
125291   JTMW1RFV1KJ002206   Toyota       RAV4                WEST PALM BEACH           FL
125292   JTMW1RFV2KD006215   Toyota       RAV4                Atlanta                   GA
125293   JTMW1RFV3KD002464   Toyota       RAV4                FORT MYERS                FL
125294   JTMW1RFV3KD003095   Toyota       RAV4                MIAMI                     FL
125295   JTMW1RFV3KD502429   Toyota       RAV4                RONKONKOMA                NY
125296   JTMW1RFV3KD502625   Toyota       RAV4                ORLANDO                   FL
125297   JTMW1RFV4KD011383   Toyota       RAV4                MELROSE PARK              IL
125298   JTMW1RFV4KD501564   Toyota       RAV4                Atlanta                   GA
125299   JTMW1RFV4KD502049   Toyota       RAV4                Miami                     FL
125300   JTMW1RFV4KD506019   Toyota       RAV4                WEST PALM BEACH           FL
125301   JTMW1RFV4KJ005858   Toyota       RAV4                MIAMI                     FL
125302   JTMW1RFV5KD004622   Toyota       RAV4                MIAMI                     FL
125303   JTMW1RFV5KD005897   Toyota       RAV4                TAMPA                     FL
125304   JTMW1RFV5KD011957   Toyota       RAV4                Atlanta                   GA
125305   JTMW1RFV5KD012493   Toyota       RAV4                SOUTHEAST DST OFFC        OK
125306   JTMW1RFV5KD501380   Toyota       RAV4                FORT LAUDERDALE           FL
125307   JTMW1RFV6KD003348   Toyota       RAV4                FORT MYERS                FL
125308   JTMW1RFV6KD006735   Toyota       RAV4                MIAMI                     FL
125309   JTMW1RFV6KD011630   Toyota       RAV4                TAMPA                     FL
125310   JTMW1RFV6KJ001438   Toyota       RAV4                ORLANDO                   FL
125311   JTMW1RFV7KD006467   Toyota       RAV4                JACKSONVILLE              FL
125312   JTMW1RFV7KD502613   Toyota       RAV4                NEW BERN                  NC
125313   JTMW1RFV8KD005358   Toyota       RAV4                SAINT PAUL                MN
125314   JTMW1RFV8KD006512   Toyota       RAV4                MIAMI                     FL
125315   JTMW1RFV8KD006767   Toyota       RAV4                JACKSONVILLE              FL
125316   JTMW1RFV8KD011919   Toyota       RAV4                TAMPA                     FL
125317   JTMW1RFV8KD012732   Toyota       RAV4                TAMPA                     FL
125318   JTMW1RFV8KD501387   Toyota       RAV4                TAMPA                     FL
125319   JTMW1RFV8KD502572   Toyota       RAV4                TAMPA                     FL
125320   JTMW1RFV8KD502605   Toyota       RAV4                DETROIT                   MI
125321   JTMW1RFV8KD506251   Toyota       RAV4                COLLEGE PARK              GA
125322   JTMW1RFV8KJ001103   Toyota       RAV4                DETROIT                   MI
125323   JTMW1RFV9KD003361   Toyota       RAV4                TAMPA                     FL
125324   JTMW1RFV9KD011721   Toyota       RAV4                Tampa                     FL
125325   JTMW1RFV9KD506050   Toyota       RAV4                MIAMI                     FL
125326   JTMW1RFVXKD011484   Toyota       RAV4                Greensboro                NC
125327   JTMW1RFVXKJ002978   Toyota       RAV4                TAMPA                     FL
125328   JTMWFREV0GD081473   Toyota       RAV4                ORLANDO                   FL
125329   JTMWFREV1JJ156870   Toyota       RAV4                Fort Lauderdale           FL
125330   JTMWFREV5JD130710   Toyota       RAV4                FAYETTEVILLE              GA
125331   JTMWFREV5JJ751012   Toyota       RAV4                HOUSTON                   TX
125332   JTMZFREV0JJ206431   Toyota       RAV4                ATLANTA                   GA
125333   JTMZFREV0JJ743493   Toyota       RAV4                SALT LAKE CITY            UT
125334   JTMZFREV3JJ179449   Toyota       RAV4                FORT LAUDERDALE           FL
125335   JTMZFREV5HJ108909   Toyota       RAV4                SAN DIEGO                 CA
125336   JTMZFREV6GJ076891   Toyota       RAV4                DALLAS                    TX
125337   JTMZFREVXJJ205769   Toyota       RAV4                FORT LAUDERDALE           FL
125338   JTNB11HK2J3051495   Toyota       CAMRY               BURBANK                   CA
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125339   JTNB11HK4J3046671   Toyota       CAMRY               SAN JOSE                  CA
125340   JTNK4RBE2K3013646   Toyota       COROLLA             Miami                     FL
125341   JTNKARJE1GJ514315   Toyota       SCION               Los Angeles               CA
125342   JTNKARJE7JJ568001   Toyota       COROLLA             CHARLESTON                WV
125343   JTNKARJE9JJ552883   Toyota       COROLLA             ORLANDO                   FL
125344   JTNKARJE9JJ576309   Toyota       COROLLA             Estero                    FL
125345   JTNKHMBX0K1032703   Toyota       CHR                 SEATTLE                   WA
125346   JTNKHMBX0K1032863   Toyota       CHR                 Bridgeton                 MO
125347   JTNKHMBX0K1032992   Toyota       CHR                 McAllen                   TX
125348   JTNKHMBX0K1033060   Toyota       CHR                 Denver                    CO
125349   JTNKHMBX0K1033074   Toyota       CHR                 Elkridge                  MD
125350   JTNKHMBX0K1033124   Toyota       CHR                 LOUISVILLE                KY
125351   JTNKHMBX0K1033267   Toyota       CHR                 Ft. Myers                 FL
125352   JTNKHMBX0K1033284   Toyota       CHR                 Harvey                    LA
125353   JTNKHMBX0K1033320   Toyota       CHR                 WEST PALM BEACH           FL
125354   JTNKHMBX0K1033334   Toyota       CHR                 LOUISVILLE                KY
125355   JTNKHMBX0K1034144   Toyota       CHR                 Colorado Spring           CO
125356   JTNKHMBX0K1034211   Toyota       CHR                 Stockton                  CA
125357   JTNKHMBX0K1034337   Toyota       CHR                 Riverside                 CA
125358   JTNKHMBX0K1034385   Toyota       CHR                 Burlingame                CA
125359   JTNKHMBX0K1034399   Toyota       CHR                 Las Vegas                 NV
125360   JTNKHMBX0K1034659   Toyota       CHR                 Jacksonville              FL
125361   JTNKHMBX0K1035164   Toyota       CHR                 Philadelphia              PA
125362   JTNKHMBX0K1035228   Toyota       CHR                 Lake in the Hil           IL
125363   JTNKHMBX0K1035245   Toyota       CHR                 Harvey                    LA
125364   JTNKHMBX0K1035262   Toyota       CHR                 Ft Pierce                 FL
125365   JTNKHMBX0K1035276   Toyota       CHR                 Atlanta                   GA
125366   JTNKHMBX0K1035293   Toyota       CHR                 DANIA BEACH               FL
125367   JTNKHMBX0K1035312   Toyota       CHR                 ORLANDO                   FL
125368   JTNKHMBX0K1035360   Toyota       CHR                 DETROIT                   MI
125369   JTNKHMBX0K1035438   Toyota       CHR                 DAYTONA BEACH             FL
125370   JTNKHMBX0K1035472   Toyota       CHR                 CHARLOTTESVILLE           VA
125371   JTNKHMBX0K1035603   Toyota       CHR                 ORLANDO                   FL
125372   JTNKHMBX0K1035634   Toyota       CHR                 Philadelphia              PA
125373   JTNKHMBX0K1035651   Toyota       CHR                 MEMPHIS                   TN
125374   JTNKHMBX0K1035729   Toyota       CHR                 FORT MYERS                FL
125375   JTNKHMBX0K1035732   Toyota       CHR                 Pompano Beach             FL
125376   JTNKHMBX0K1035763   Toyota       CHR                 ORLANDO                   FL
125377   JTNKHMBX0K1036119   Toyota       CHR                 Dallas                    TX
125378   JTNKHMBX0K1036136   Toyota       CHR                 Elkridge                  MD
125379   JTNKHMBX0K1036217   Toyota       CHR                 Dallas                    TX
125380   JTNKHMBX0K1036248   Toyota       CHR                 Columbus                  OH
125381   JTNKHMBX0K1036413   Toyota       CHR                 San Antonio               TX
125382   JTNKHMBX0K1036444   Toyota       CHR                 BIRMINGHAM                AL
125383   JTNKHMBX0K1036508   Toyota       CHR                 Dallas                    TX
125384   JTNKHMBX0K1036637   Toyota       CHR                 SARASOTA                  FL
125385   JTNKHMBX0K1036704   Toyota       CHR                 Fontana                   CA
125386   JTNKHMBX0K1036881   Toyota       CHR                 Woodhaven                 MI
125387   JTNKHMBX0K1036895   Toyota       CHR                 MEMPHIS                   TN
125388   JTNKHMBX0K1037027   Toyota       CHR                 Bridgeton                 MO
125389   JTNKHMBX0K1037058   Toyota       CHR                 Atlanta                   GA
125390   JTNKHMBX0K1037173   Toyota       CHR                 Atlanta                   GA
125391   JTNKHMBX0K1037190   Toyota       CHR                 COLLEGE PARK              GA
125392   JTNKHMBX0K1037299   Toyota       CHR                 Hendersonville            TN
125393   JTNKHMBX0K1041367   Toyota       CHR                 Santa Clara               CA
125394   JTNKHMBX0K1041434   Toyota       CHR                 Fresno                    CA
125395   JTNKHMBX0K1041482   Toyota       CHR                 Manheim                   PA
125396   JTNKHMBX0K1041515   Toyota       CHR                 Lake Elsinore             CA
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125397   JTNKHMBX0K1041627   Toyota       CHR                 Ventura                   CA
125398   JTNKHMBX0K1041837   Toyota       CHR                 Stockton                  CA
125399   JTNKHMBX0K1041871   Toyota       CHR                 Fontana                   CA
125400   JTNKHMBX0K1041918   Toyota       CHR                 SEATTLE                   WA
125401   JTNKHMBX0K1041983   Toyota       CHR                 FORT LAUDERDALE           FL
125402   JTNKHMBX0K1042034   Toyota       CHR                 Englewood                 CO
125403   JTNKHMBX0K1042244   Toyota       CHR                 Atlanta                   GA
125404   JTNKHMBX0K1042275   Toyota       CHR                 Atlanta                   GA
125405   JTNKHMBX0K1042311   Toyota       CHR                 NASHVILLE                 TN
125406   JTNKHMBX0K1042325   Toyota       CHR                 COLLEGE PARK              GA
125407   JTNKHMBX1K1032841   Toyota       CHR                 San Antonio               TX
125408   JTNKHMBX1K1032919   Toyota       CHR                 San Antonio               TX
125409   JTNKHMBX1K1032970   Toyota       CHR                 Clearwater                FL
125410   JTNKHMBX1K1033049   Toyota       CHR                 SARASOTA                  FL
125411   JTNKHMBX1K1033133   Toyota       CHR                 Englewood                 CO
125412   JTNKHMBX1K1034492   Toyota       CHR                 Los Angeles               CA
125413   JTNKHMBX1K1034766   Toyota       CHR                 ORLANDO                   FL
125414   JTNKHMBX1K1034783   Toyota       CHR                 DFW AIRPORT               TX
125415   JTNKHMBX1K1035173   Toyota       CHR                 ORLANDO                   FL
125416   JTNKHMBX1K1035187   Toyota       CHR                 Dallas                    TX
125417   JTNKHMBX1K1035206   Toyota       CHR                 SANFORD                   FL
125418   JTNKHMBX1K1035223   Toyota       CHR                 FORT MYERS                FL
125419   JTNKHMBX1K1035240   Toyota       CHR                 Hendersonville            TN
125420   JTNKHMBX1K1035254   Toyota       CHR                 DAVIE                     FL
125421   JTNKHMBX1K1035299   Toyota       CHR                 PENSACOLA                 FL
125422   JTNKHMBX1K1035304   Toyota       CHR                 WEST PALM BEACH           FL
125423   JTNKHMBX1K1035318   Toyota       CHR                 ORLANDO                   FL
125424   JTNKHMBX1K1035335   Toyota       CHR                 ORLANDO                   FL
125425   JTNKHMBX1K1035349   Toyota       CHR                 Jacksonville              FL
125426   JTNKHMBX1K1035352   Toyota       CHR                 TAMPA                     FL
125427   JTNKHMBX1K1035433   Toyota       CHR                 FORT MYERS                FL
125428   JTNKHMBX1K1035450   Toyota       CHR                 Carleton                  MI
125429   JTNKHMBX1K1035478   Toyota       CHR                 FORT MYERS                FL
125430   JTNKHMBX1K1035481   Toyota       CHR                 FORT LAUDERDALE           FL
125431   JTNKHMBX1K1035528   Toyota       CHR                 FT LAUDERDALE             FL
125432   JTNKHMBX1K1035593   Toyota       CHR                 FORT MYERS                FL
125433   JTNKHMBX1K1035609   Toyota       CHR                 Hapeville                 GA
125434   JTNKHMBX1K1035612   Toyota       CHR                 BURBANK                   CA
125435   JTNKHMBX1K1035643   Toyota       CHR                 FORT MYERS                FL
125436   JTNKHMBX1K1035741   Toyota       CHR                 KNOXVILLE                 TN
125437   JTNKHMBX1K1035772   Toyota       CHR                 Miami                     FL
125438   JTNKHMBX1K1035786   Toyota       CHR                 BIRMINGHAM                AL
125439   JTNKHMBX1K1036100   Toyota       CHR                 Austin                    TX
125440   JTNKHMBX1K1036131   Toyota       CHR                 Tampa                     FL
125441   JTNKHMBX1K1036159   Toyota       CHR                 SAN FRANCISCO             CA
125442   JTNKHMBX1K1036243   Toyota       CHR                 Houston                   TX
125443   JTNKHMBX1K1036310   Toyota       CHR                 SAINT LOUIS               MO
125444   JTNKHMBX1K1036386   Toyota       CHR                 Harvey                    LA
125445   JTNKHMBX1K1036548   Toyota       CHR                 AUSTIN                    TX
125446   JTNKHMBX1K1036551   Toyota       CHR                 Phoenix                   AZ
125447   JTNKHMBX1K1036579   Toyota       CHR                 NASHVILLE                 TN
125448   JTNKHMBX1K1036629   Toyota       CHR                 KNOXVILLE                 TN
125449   JTNKHMBX1K1036713   Toyota       CHR                 COLLEGE PARK              GA
125450   JTNKHMBX1K1037036   Toyota       CHR                 MEMPHIS                   TN
125451   JTNKHMBX1K1037229   Toyota       CHR                 Houston                   TX
125452   JTNKHMBX1K1037361   Toyota       CHR                 TAMPA                     FL
125453   JTNKHMBX1K1041216   Toyota       CHR                 MORROW                    GA
125454   JTNKHMBX1K1041359   Toyota       CHR                 Riverside                 CA
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125455   JTNKHMBX1K1041409   Toyota       CHR                 Fontana                   CA
125456   JTNKHMBX1K1041457   Toyota       CHR                 Scottsdale                AZ
125457   JTNKHMBX1K1041488   Toyota       CHR                 Woodhaven                 MI
125458   JTNKHMBX1K1041541   Toyota       CHR                 Los Angeles               CA
125459   JTNKHMBX1K1041572   Toyota       CHR                 Fontana                   CA
125460   JTNKHMBX1K1041636   Toyota       CHR                 Fontana                   CA
125461   JTNKHMBX1K1041653   Toyota       CHR                 Fontana                   CA
125462   JTNKHMBX1K1041684   Toyota       CHR                 SAN DIEGO                 CA
125463   JTNKHMBX1K1041698   Toyota       CHR                 Louisville                KY
125464   JTNKHMBX1K1041703   Toyota       CHR                 Warminster                PA
125465   JTNKHMBX1K1041717   Toyota       CHR                 LOS ANGELES               CA
125466   JTNKHMBX1K1041782   Toyota       CHR                 ALBUQUERQUE               NM
125467   JTNKHMBX1K1041815   Toyota       CHR                 Riverside                 CA
125468   JTNKHMBX1K1041894   Toyota       CHR                 Riverside                 CA
125469   JTNKHMBX1K1041958   Toyota       CHR                 Sacramento                CA
125470   JTNKHMBX1K1042060   Toyota       CHR                 Las Vegas                 NV
125471   JTNKHMBX1K1042205   Toyota       CHR                 Bridgeton                 MO
125472   JTNKHMBX2K1032539   Toyota       CHR                 ORLANDO                   FL
125473   JTNKHMBX2K1032637   Toyota       CHR                 Clearwater                FL
125474   JTNKHMBX2K1032749   Toyota       CHR                 Clearwater                FL
125475   JTNKHMBX2K1032914   Toyota       CHR                 MEDINA                    OH
125476   JTNKHMBX2K1032993   Toyota       CHR                 Slidell                   LA
125477   JTNKHMBX2K1033111   Toyota       CHR                 San Antonio               TX
125478   JTNKHMBX2K1033142   Toyota       CHR                 Orlando                   FL
125479   JTNKHMBX2K1033156   Toyota       CHR                 Live Oak                  TX
125480   JTNKHMBX2K1033173   Toyota       CHR                 FORT LAUDERDALE           FL
125481   JTNKHMBX2K1033254   Toyota       CHR                 Pensacola                 FL
125482   JTNKHMBX2K1033349   Toyota       CHR                 Bensalem                  PA
125483   JTNKHMBX2K1034095   Toyota       CHR                 Santa Clara               CA
125484   JTNKHMBX2K1034372   Toyota       CHR                 Cedar Rapids              IA
125485   JTNKHMBX2K1034596   Toyota       CHR                 SEATTLE                   WA
125486   JTNKHMBX2K1035201   Toyota       CHR                 FORT LAUDERDALE           FL
125487   JTNKHMBX2K1035215   Toyota       CHR                 Massapequa                NY
125488   JTNKHMBX2K1035232   Toyota       CHR                 WEST PALM BEACH           FL
125489   JTNKHMBX2K1035294   Toyota       CHR                 FORT MYERS                FL
125490   JTNKHMBX2K1035344   Toyota       CHR                 Atlanta                   GA
125491   JTNKHMBX2K1035408   Toyota       CHR                 Memphis                   TN
125492   JTNKHMBX2K1035425   Toyota       CHR                 NASHVILLE                 TN
125493   JTNKHMBX2K1035456   Toyota       CHR                 Lexington                 KY
125494   JTNKHMBX2K1035506   Toyota       CHR                 WEST PALM BEACH           FL
125495   JTNKHMBX2K1035554   Toyota       CHR                 Miami                     FL
125496   JTNKHMBX2K1035568   Toyota       CHR                 TAMPA                     US
125497   JTNKHMBX2K1035585   Toyota       CHR                 FORT MYERS                FL
125498   JTNKHMBX2K1035649   Toyota       CHR                 TAMPA                     FL
125499   JTNKHMBX2K1035652   Toyota       CHR                 Atlanta                   GA
125500   JTNKHMBX2K1035666   Toyota       CHR                 SARASOTA                  FL
125501   JTNKHMBX2K1035697   Toyota       CHR                 UNION CITY                GA
125502   JTNKHMBX2K1035702   Toyota       CHR                 Philadelphia              PA
125503   JTNKHMBX2K1035733   Toyota       CHR                 FORT LAUDERDALE           FL
125504   JTNKHMBX2K1035747   Toyota       CHR                 MIAMI                     FL
125505   JTNKHMBX2K1035781   Toyota       CHR                 GREEN BAY                 WI
125506   JTNKHMBX2K1035795   Toyota       CHR                 TAMPA                     FL
125507   JTNKHMBX2K1036039   Toyota       CHR                 Austin                    TX
125508   JTNKHMBX2K1036090   Toyota       CHR                 Oklahoma City             OK
125509   JTNKHMBX2K1036137   Toyota       CHR                 KENNER                    LA
125510   JTNKHMBX2K1036140   Toyota       CHR                 KNOXVILLE                 TN
125511   JTNKHMBX2K1036297   Toyota       CHR                 Englewood                 CO
125512   JTNKHMBX2K1036560   Toyota       CHR                 FORT LAUDERDALE           FL
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125513   JTNKHMBX2K1036753   Toyota       CHR                 DALLAS                    TX
125514   JTNKHMBX2K1036820   Toyota       CHR                 ORLANDO                   FL
125515   JTNKHMBX2K1036865   Toyota       CHR                 Atlanta                   GA
125516   JTNKHMBX2K1036932   Toyota       CHR                 Smithtown                 NY
125517   JTNKHMBX2K1037336   Toyota       CHR                 Tampa                     FL
125518   JTNKHMBX2K1037384   Toyota       CHR                 KNOXVILLE                 TN
125519   JTNKHMBX2K1040947   Toyota       CHR                 Stockton                  CA
125520   JTNKHMBX2K1041192   Toyota       CHR                 Salt Lake City            UT
125521   JTNKHMBX2K1041354   Toyota       CHR                 Harvey                    LA
125522   JTNKHMBX2K1041385   Toyota       CHR                 Warminster                PA
125523   JTNKHMBX2K1041693   Toyota       CHR                 ORLANDO                   FL
125524   JTNKHMBX2K1041712   Toyota       CHR                 Lake Elsinore             CA
125525   JTNKHMBX2K1041757   Toyota       CHR                 SAN DIEGO                 CA
125526   JTNKHMBX2K1041788   Toyota       CHR                 EULESS                    TX
125527   JTNKHMBX2K1041841   Toyota       CHR                 COLLEGE PARK              GA
125528   JTNKHMBX2K1041872   Toyota       CHR                 BURBANK                   CA
125529   JTNKHMBX2K1041936   Toyota       CHR                 Riverside                 CA
125530   JTNKHMBX2K1042049   Toyota       CHR                 NORTH HILLS               CA
125531   JTNKHMBX2K1042133   Toyota       CHR                 Rochester                 NY
125532   JTNKHMBX2K1042259   Toyota       CHR                 Nashville                 TN
125533   JTNKHMBX2K1042276   Toyota       CHR                 KNOXVILLE                 TN
125534   JTNKHMBX2K1042326   Toyota       CHR                 Lake in the Hil           IL
125535   JTNKHMBX2K1042374   Toyota       CHR                 Harvey                    LA
125536   JTNKHMBX3K1032534   Toyota       CHR                 FORT LAUDERDALE           FL
125537   JTNKHMBX3K1032677   Toyota       CHR                 Atlanta                   GA
125538   JTNKHMBX3K1033036   Toyota       CHR                 MIAMI                     FL
125539   JTNKHMBX3K1033053   Toyota       CHR                 DAYTONA BEACH             FL
125540   JTNKHMBX3K1033103   Toyota       CHR                 TAMPA                     FL
125541   JTNKHMBX3K1033120   Toyota       CHR                 Clearwater                FL
125542   JTNKHMBX3K1033179   Toyota       CHR                 WEST PALM BEACH           FL
125543   JTNKHMBX3K1033201   Toyota       CHR                 Fontana                   CA
125544   JTNKHMBX3K1033344   Toyota       CHR                 FORT MYERS                FL
125545   JTNKHMBX3K1034588   Toyota       CHR                 Stockton                  CA
125546   JTNKHMBX3K1034753   Toyota       CHR                 Englewood                 CO
125547   JTNKHMBX3K1035174   Toyota       CHR                 Estero                    FL
125548   JTNKHMBX3K1035188   Toyota       CHR                 SOUTHEAST DST OFFC        OK
125549   JTNKHMBX3K1035255   Toyota       CHR                 TAMPA                     FL
125550   JTNKHMBX3K1035272   Toyota       CHR                 SARASOTA                  FL
125551   JTNKHMBX3K1035367   Toyota       CHR                 WEST PALM BEACH           FL
125552   JTNKHMBX3K1035384   Toyota       CHR                 FORT LAUDERDALE           FL
125553   JTNKHMBX3K1035417   Toyota       CHR                 Memphis                   TN
125554   JTNKHMBX3K1035420   Toyota       CHR                 WEST PALM BEACH           FL
125555   JTNKHMBX3K1035448   Toyota       CHR                 ORLANDO                   FL
125556   JTNKHMBX3K1035451   Toyota       CHR                 Clearwater                FL
125557   JTNKHMBX3K1035465   Toyota       CHR                 FORT LAUDERDALE           FL
125558   JTNKHMBX3K1035482   Toyota       CHR                 Philadelphia              PA
125559   JTNKHMBX3K1035496   Toyota       CHR                 Atlanta                   GA
125560   JTNKHMBX3K1035501   Toyota       CHR                 SARASOTA                  FL
125561   JTNKHMBX3K1035532   Toyota       CHR                 SARASOTA                  FL
125562   JTNKHMBX3K1035546   Toyota       CHR                 Atlanta                   GA
125563   JTNKHMBX3K1035613   Toyota       CHR                 Dallas                    TX
125564   JTNKHMBX3K1035658   Toyota       CHR                 Rockville Centr           NY
125565   JTNKHMBX3K1035675   Toyota       CHR                 Clearwater                FL
125566   JTNKHMBX3K1035742   Toyota       CHR                 TAMPA                     FL
125567   JTNKHMBX3K1035773   Toyota       CHR                 Winter Park               FL
125568   JTNKHMBX3K1036079   Toyota       CHR                 SEATTLE                   WA
125569   JTNKHMBX3K1036177   Toyota       CHR                 Bridgeton                 MO
125570   JTNKHMBX3K1036244   Toyota       CHR                 Burien                    WA
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125571   JTNKHMBX3K1036289   Toyota       CHR                 Irving                    TX
125572   JTNKHMBX3K1036292   Toyota       CHR                 MEDINA                    OH
125573   JTNKHMBX3K1036356   Toyota       CHR                 SAINT LOUIS               MO
125574   JTNKHMBX3K1036440   Toyota       CHR                 Clearwater                FL
125575   JTNKHMBX3K1036552   Toyota       CHR                 Atlanta                   GA
125576   JTNKHMBX3K1036762   Toyota       CHR                 Cranberry Towns           PA
125577   JTNKHMBX3K1036843   Toyota       CHR                 WEST PALM BEACH           FL
125578   JTNKHMBX3K1037152   Toyota       CHR                 Atlanta                   GA
125579   JTNKHMBX3K1037376   Toyota       CHR                 KNOXVILLE                 TN
125580   JTNKHMBX3K1041167   Toyota       CHR                 Phoenix                   AZ
125581   JTNKHMBX3K1041217   Toyota       CHR                 KANSAS CITY               MO
125582   JTNKHMBX3K1041394   Toyota       CHR                 Houston                   TX
125583   JTNKHMBX3K1041444   Toyota       CHR                 Albuquerque               NM
125584   JTNKHMBX3K1041489   Toyota       CHR                 ONTARIO                   CA
125585   JTNKHMBX3K1041735   Toyota       CHR                 JACKSON                   MS
125586   JTNKHMBX3K1041928   Toyota       CHR                 Atlanta                   GA
125587   JTNKHMBX3K1041976   Toyota       CHR                 TAMPA                     FL
125588   JTNKHMBX3K1042061   Toyota       CHR                 SEATTLE                   WA
125589   JTNKHMBX3K1042075   Toyota       CHR                 SEATTLE                   WA
125590   JTNKHMBX3K1042092   Toyota       CHR                 Phoenix                   AZ
125591   JTNKHMBX3K1042187   Toyota       CHR                 BIRMINGHAM                AL
125592   JTNKHMBX3K1042299   Toyota       CHR                 Nashville                 TN
125593   JTNKHMBX4J1000657   Toyota       CHR                 LOS ANGELES               CA
125594   JTNKHMBX4K1032817   Toyota       CHR                 ATLANTA                   GA
125595   JTNKHMBX4K1032929   Toyota       CHR                 SHAKOPEE                  MN
125596   JTNKHMBX4K1032963   Toyota       CHR                 Sanford                   FL
125597   JTNKHMBX4K1033031   Toyota       CHR                 ORLANDO                   FL
125598   JTNKHMBX4K1033076   Toyota       CHR                 ATLANTA                   GA
125599   JTNKHMBX4K1033143   Toyota       CHR                 Carleton                  MI
125600   JTNKHMBX4K1033224   Toyota       CHR                 Riverside                 CA
125601   JTNKHMBX4K1033272   Toyota       CHR                 PUEBLO                    CO
125602   JTNKHMBX4K1033286   Toyota       CHR                 Winter Park               FL
125603   JTNKHMBX4K1034101   Toyota       CHR                 SAN FRANCISCO             CA
125604   JTNKHMBX4K1035054   Toyota       CHR                 Cincinnati                OH
125605   JTNKHMBX4K1035166   Toyota       CHR                 ORLANDO                   FL
125606   JTNKHMBX4K1035197   Toyota       CHR                 TAMPA                     FL
125607   JTNKHMBX4K1035202   Toyota       CHR                 Clearwater                FL
125608   JTNKHMBX4K1035247   Toyota       CHR                 Louisville                KY
125609   JTNKHMBX4K1035250   Toyota       CHR                 CHICAGO                   IL
125610   JTNKHMBX4K1035281   Toyota       CHR                 DANIA BEACH               FL
125611   JTNKHMBX4K1035295   Toyota       CHR                 DAYTONA BEACH             FL
125612   JTNKHMBX4K1035300   Toyota       CHR                 WEST PALM BEACH           FL
125613   JTNKHMBX4K1035314   Toyota       CHR                 DALLAS                    TX
125614   JTNKHMBX4K1035328   Toyota       CHR                 WEST PALM BEACH           FL
125615   JTNKHMBX4K1035331   Toyota       CHR                 Atlanta                   GA
125616   JTNKHMBX4K1035362   Toyota       CHR                 Miami                     FL
125617   JTNKHMBX4K1035393   Toyota       CHR                 Lynn                      MA
125618   JTNKHMBX4K1035426   Toyota       CHR                 ORLANDO                   FL
125619   JTNKHMBX4K1035443   Toyota       CHR                 MIAMI                     FL
125620   JTNKHMBX4K1035457   Toyota       CHR                 ORLANDO                   FL
125621   JTNKHMBX4K1035488   Toyota       CHR                 Atlanta                   GA
125622   JTNKHMBX4K1035491   Toyota       CHR                 Detroit                   MI
125623   JTNKHMBX4K1035541   Toyota       CHR                 Jacksonville              FL
125624   JTNKHMBX4K1035569   Toyota       CHR                 KENNER                    LA
125625   JTNKHMBX4K1035586   Toyota       CHR                 Ft. Myers                 FL
125626   JTNKHMBX4K1035619   Toyota       CHR                 WEST PALM BEACH           FL
125627   JTNKHMBX4K1035703   Toyota       CHR                 DAYTONA BEACH             FL
125628   JTNKHMBX4K1035717   Toyota       CHR                 ORLANDO                   FL
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125629   JTNKHMBX4K1035720   Toyota       CHR                 FORT LAUDERDALE           FL
125630   JTNKHMBX4K1035779   Toyota       CHR                 FORT MYERS                FL
125631   JTNKHMBX4K1035782   Toyota       CHR                 Atlanta                   GA
125632   JTNKHMBX4K1035796   Toyota       CHR                 SARASOTA                  FL
125633   JTNKHMBX4K1036091   Toyota       CHR                 Kansas City               MO
125634   JTNKHMBX4K1036110   Toyota       CHR                 Irving                    TX
125635   JTNKHMBX4K1036236   Toyota       CHR                 Davie                     FL
125636   JTNKHMBX4K1036284   Toyota       CHR                 Slidell                   LA
125637   JTNKHMBX4K1036303   Toyota       CHR                 Smithtown                 NY
125638   JTNKHMBX4K1036379   Toyota       CHR                 Atlanta                   GA
125639   JTNKHMBX4K1036415   Toyota       CHR                 Warminster                PA
125640   JTNKHMBX4K1036494   Toyota       CHR                 Tampa                     FL
125641   JTNKHMBX4K1036799   Toyota       CHR                 TAMPA                     FL
125642   JTNKHMBX4K1037094   Toyota       CHR                 Euless                    TX
125643   JTNKHMBX4K1037175   Toyota       CHR                 KNOXVILLE                 TN
125644   JTNKHMBX4K1041100   Toyota       CHR                 Houston                   TX
125645   JTNKHMBX4K1041131   Toyota       CHR                 Beaverton                 OR
125646   JTNKHMBX4K1041324   Toyota       CHR                 KANSAS CITY               MO
125647   JTNKHMBX4K1041338   Toyota       CHR                 ALBUQERQUE                NM
125648   JTNKHMBX4K1041369   Toyota       CHR                 TRACY                     CA
125649   JTNKHMBX4K1041520   Toyota       CHR                 Ventura                   CA
125650   JTNKHMBX4K1041551   Toyota       CHR                 SEATTLE                   WA
125651   JTNKHMBX4K1041579   Toyota       CHR                 Riverside                 CA
125652   JTNKHMBX4K1041596   Toyota       CHR                 Las Vegas                 NV
125653   JTNKHMBX4K1041694   Toyota       CHR                 ORLANDO                   FL
125654   JTNKHMBX4K1041792   Toyota       CHR                 Lake Elsinore             CA
125655   JTNKHMBX4K1041968   Toyota       CHR                 Dallas                    TX
125656   JTNKHMBX4K1042117   Toyota       CHR                 Austin                    TX
125657   JTNKHMBX4K1042196   Toyota       CHR                 Bensalem                  PA
125658   JTNKHMBX4K1042330   Toyota       CHR                 MIAMI                     FL
125659   JTNKHMBX5K1032549   Toyota       CHR                 TAMPA                     US
125660   JTNKHMBX5K1032633   Toyota       CHR                 Torrance                  CA
125661   JTNKHMBX5K1032731   Toyota       CHR                 Warminster                PA
125662   JTNKHMBX5K1032759   Toyota       CHR                 SEATTLE                   WA
125663   JTNKHMBX5K1032969   Toyota       CHR                 WEST PALM BEACH           FL
125664   JTNKHMBX5K1033040   Toyota       CHR                 Harvey                    LA
125665   JTNKHMBX5K1033118   Toyota       CHR                 ORLANDO                   FL
125666   JTNKHMBX5K1033183   Toyota       CHR                 ATLANTA                   GA
125667   JTNKHMBX5K1033247   Toyota       CHR                 ATLANTA                   GA
125668   JTNKHMBX5K1033331   Toyota       CHR                 Tampa                     FL
125669   JTNKHMBX5K1034155   Toyota       CHR                 Las Vegas                 NV
125670   JTNKHMBX5K1034186   Toyota       CHR                 Portland                  OR
125671   JTNKHMBX5K1034513   Toyota       CHR                 Portland                  OR
125672   JTNKHMBX5K1034561   Toyota       CHR                 SANTA ANA                 CA
125673   JTNKHMBX5K1034768   Toyota       CHR                 Harvey                    LA
125674   JTNKHMBX5K1034950   Toyota       CHR                 MIAMI                     FL
125675   JTNKHMBX5K1035192   Toyota       CHR                 ORLANDO                   FL
125676   JTNKHMBX5K1035225   Toyota       CHR                 FORT MYERS                FL
125677   JTNKHMBX5K1035340   Toyota       CHR                 ORLANDO                   FL
125678   JTNKHMBX5K1035368   Toyota       CHR                 ATLANTA                   GA
125679   JTNKHMBX5K1035399   Toyota       CHR                 ORLANDO                   FL
125680   JTNKHMBX5K1035435   Toyota       CHR                 ATLANTA                   GA
125681   JTNKHMBX5K1035449   Toyota       CHR                 Atlanta                   GA
125682   JTNKHMBX5K1035483   Toyota       CHR                 WARWICK                   RI
125683   JTNKHMBX5K1035497   Toyota       CHR                 Clearwater                FL
125684   JTNKHMBX5K1035595   Toyota       CHR                 ORLANDO                   FL
125685   JTNKHMBX5K1035662   Toyota       CHR                 Hapeville                 GA
125686   JTNKHMBX5K1035709   Toyota       CHR                 Atlanta                   GA
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125687   JTNKHMBX5K1035743   Toyota       CHR                 JACKSONVILLE              FL
125688   JTNKHMBX5K1035757   Toyota       CHR                 SARASOTA                  FL
125689   JTNKHMBX5K1035791   Toyota       CHR                 ORLANDO                   FL
125690   JTNKHMBX5K1036147   Toyota       CHR                 Houston                   TX
125691   JTNKHMBX5K1036228   Toyota       CHR                 KANSAS CITY               MO
125692   JTNKHMBX5K1036309   Toyota       CHR                 DALLAS                    TX
125693   JTNKHMBX5K1036374   Toyota       CHR                 ORLANDO                   FL
125694   JTNKHMBX5K1036388   Toyota       CHR                 Austin                    TX
125695   JTNKHMBX5K1036455   Toyota       CHR                 Colorado Spring           CO
125696   JTNKHMBX5K1036679   Toyota       CHR                 Schaumburg                IL
125697   JTNKHMBX5K1036715   Toyota       CHR                 SOUTHEAST DST OFFC        OK
125698   JTNKHMBX5K1037041   Toyota       CHR                 SHREVEPORT                US
125699   JTNKHMBX5K1037167   Toyota       CHR                 Atlanta                   GA
125700   JTNKHMBX5K1037220   Toyota       CHR                 AUSTIN                    TX
125701   JTNKHMBX5K1037363   Toyota       CHR                 Atlanta                   GA
125702   JTNKHMBX5K1037394   Toyota       CHR                 Jacksonville              FL
125703   JTNKHMBX5K1041395   Toyota       CHR                 PALM SPRINGS              CA
125704   JTNKHMBX5K1041400   Toyota       CHR                 Hayward                   CA
125705   JTNKHMBX5K1041672   Toyota       CHR                 SEATTLE                   WA
125706   JTNKHMBX5K1041882   Toyota       CHR                 Kansas City               MO
125707   JTNKHMBX5K1041932   Toyota       CHR                 SEATTLE                   WA
125708   JTNKHMBX5K1042000   Toyota       CHR                 Fontana                   CA
125709   JTNKHMBX5K1042031   Toyota       CHR                 Riverside                 CA
125710   JTNKHMBX5K1042045   Toyota       CHR                 PLEASANTON                CA
125711   JTNKHMBX5K1042157   Toyota       CHR                 Austin                    TX
125712   JTNKHMBX5K1042174   Toyota       CHR                 MIAMI                     FL
125713   JTNKHMBX5K1042286   Toyota       CHR                 FORT LAUDERDALE           FL
125714   JTNKHMBX6K1032625   Toyota       CHR                 FT LAUDERDALE             FL
125715   JTNKHMBX6K1032706   Toyota       CHR                 Winston‐Salem             NC
125716   JTNKHMBX6K1032768   Toyota       CHR                 North Las Vegas           NV
125717   JTNKHMBX6K1032902   Toyota       CHR                 WEST PALM BEACH           FL
125718   JTNKHMBX6K1032995   Toyota       CHR                 Houston                   TX
125719   JTNKHMBX6K1033001   Toyota       CHR                 Tampa                     FL
125720   JTNKHMBX6K1033029   Toyota       CHR                 WARWICK                   RI
125721   JTNKHMBX6K1033080   Toyota       CHR                 ORLANDO                   FL
125722   JTNKHMBX6K1033127   Toyota       CHR                 DALLAS                    TX
125723   JTNKHMBX6K1033208   Toyota       CHR                 Jacksonville              FL
125724   JTNKHMBX6K1033225   Toyota       CHR                 Hapeville                 GA
125725   JTNKHMBX6K1033242   Toyota       CHR                 FORT MYERS                FL
125726   JTNKHMBX6K1034231   Toyota       CHR                 Englewood                 CO
125727   JTNKHMBX6K1034410   Toyota       CHR                 Fontana                   CA
125728   JTNKHMBX6K1034939   Toyota       CHR                 HOUSTON                   TX
125729   JTNKHMBX6K1034956   Toyota       CHR                 FORT LAUDERDALE           FL
125730   JTNKHMBX6K1035055   Toyota       CHR                 DAYTONA BEACH             FL
125731   JTNKHMBX6K1035198   Toyota       CHR                 ATLANTA                   GA
125732   JTNKHMBX6K1035217   Toyota       CHR                 COLUMBIA                  SC
125733   JTNKHMBX6K1035220   Toyota       CHR                 Irving                    TX
125734   JTNKHMBX6K1035248   Toyota       CHR                 Hendersonville            TN
125735   JTNKHMBX6K1035282   Toyota       CHR                 FORT LAUDERDALE           FL
125736   JTNKHMBX6K1035332   Toyota       CHR                 JACKSONVILLE              FL
125737   JTNKHMBX6K1035380   Toyota       CHR                 TAMPA                     FL
125738   JTNKHMBX6K1035413   Toyota       CHR                 Kansas City               MO
125739   JTNKHMBX6K1035427   Toyota       CHR                 Atlanta                   GA
125740   JTNKHMBX6K1035444   Toyota       CHR                 HOLLY HILL                FL
125741   JTNKHMBX6K1035489   Toyota       CHR                 SANFORD                   FL
125742   JTNKHMBX6K1035556   Toyota       CHR                 Jacksonville              FL
125743   JTNKHMBX6K1035587   Toyota       CHR                 Baltimore                 MD
125744   JTNKHMBX6K1035637   Toyota       CHR                 Harvey                    LA
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125745   JTNKHMBX6K1035640   Toyota       CHR                 Orlando                   FL
125746   JTNKHMBX6K1035668   Toyota       CHR                 ORLANDO                   FL
125747   JTNKHMBX6K1035671   Toyota       CHR                 UNION CITY                GA
125748   JTNKHMBX6K1035749   Toyota       CHR                 Clearwater                FL
125749   JTNKHMBX6K1035766   Toyota       CHR                 KNOXVILLE                 TN
125750   JTNKHMBX6K1036089   Toyota       CHR                 Ft Pierce                 FL
125751   JTNKHMBX6K1036156   Toyota       CHR                 DALLAS                    TX
125752   JTNKHMBX6K1036271   Toyota       CHR                 Las Vegas                 NV
125753   JTNKHMBX6K1036299   Toyota       CHR                 Houston                   TX
125754   JTNKHMBX6K1036304   Toyota       CHR                 Fontana                   CA
125755   JTNKHMBX6K1036397   Toyota       CHR                 HOUSTON                   TX
125756   JTNKHMBX6K1036433   Toyota       CHR                 COLLEGE PARK              GA
125757   JTNKHMBX6K1036688   Toyota       CHR                 PENSACOLA                 FL
125758   JTNKHMBX6K1036707   Toyota       CHR                 KENNER                    LA
125759   JTNKHMBX6K1036870   Toyota       CHR                 Irving                    TX
125760   JTNKHMBX6K1037016   Toyota       CHR                 TAMPA                     FL
125761   JTNKHMBX6K1037033   Toyota       CHR                 TAMPA                     FL
125762   JTNKHMBX6K1037226   Toyota       CHR                 JACKSON                   MS
125763   JTNKHMBX6K1041051   Toyota       CHR                 Dallas                    TX
125764   JTNKHMBX6K1041227   Toyota       CHR                 KNOXVILLE                 TN
125765   JTNKHMBX6K1041504   Toyota       CHR                 Las Vegas                 NV
125766   JTNKHMBX6K1041745   Toyota       CHR                 MEDINA                    OH
125767   JTNKHMBX6K1041759   Toyota       CHR                 Lake Elsinore             CA
125768   JTNKHMBX6K1041891   Toyota       CHR                 LOS ANGELES AP            CA
125769   JTNKHMBX6K1041969   Toyota       CHR                 Warminster                PA
125770   JTNKHMBX6K1042023   Toyota       CHR                 SEATTLE                   WA
125771   JTNKHMBX6K1042037   Toyota       CHR                 LOS ANGELES               CA
125772   JTNKHMBX6K1042085   Toyota       CHR                 GREENVILLE                NC
125773   JTNKHMBX6K1042300   Toyota       CHR                 FORT MYERS                FL
125774   JTNKHMBX7K1032617   Toyota       CHR                 FORT LAUDERDALE           FL
125775   JTNKHMBX7K1032729   Toyota       CHR                 San Antonio               TX
125776   JTNKHMBX7K1032732   Toyota       CHR                 Phoenix                   AZ
125777   JTNKHMBX7K1032777   Toyota       CHR                 Houston                   TX
125778   JTNKHMBX7K1032925   Toyota       CHR                 Milwaukee                 WI
125779   JTNKHMBX7K1032973   Toyota       CHR                 TAMPA                     FL
125780   JTNKHMBX7K1032987   Toyota       CHR                 Tampa                     FL
125781   JTNKHMBX7K1033041   Toyota       CHR                 Dallas                    TX
125782   JTNKHMBX7K1033119   Toyota       CHR                 ATLANTA                   GA
125783   JTNKHMBX7K1033167   Toyota       CHR                 ORLANDO                   FL
125784   JTNKHMBX7K1033198   Toyota       CHR                 Tolleson                  AZ
125785   JTNKHMBX7K1033265   Toyota       CHR                 Nashville                 TN
125786   JTNKHMBX7K1033279   Toyota       CHR                 Estero                    FL
125787   JTNKHMBX7K1033329   Toyota       CHR                 Tampa                     FL
125788   JTNKHMBX7K1033377   Toyota       CHR                 Rockville Centr           NY
125789   JTNKHMBX7K1034352   Toyota       CHR                 Rio Linda                 CA
125790   JTNKHMBX7K1034612   Toyota       CHR                 Smithtown                 NY
125791   JTNKHMBX7K1034738   Toyota       CHR                 ORANGE COUNTY             CA
125792   JTNKHMBX7K1035176   Toyota       CHR                 Atlanta                   GA
125793   JTNKHMBX7K1035209   Toyota       CHR                 Ft. Myers                 FL
125794   JTNKHMBX7K1035226   Toyota       CHR                 Dallas                    TX
125795   JTNKHMBX7K1035243   Toyota       CHR                 Atlanta                   GA
125796   JTNKHMBX7K1035257   Toyota       CHR                 MIAMI                     FL
125797   JTNKHMBX7K1035274   Toyota       CHR                 WEST PALM BEACH           FL
125798   JTNKHMBX7K1035288   Toyota       CHR                 SHREVEPORT                LA
125799   JTNKHMBX7K1035307   Toyota       CHR                 N. Palm Beach             FL
125800   JTNKHMBX7K1035324   Toyota       CHR                 DAYTONA BEACH             FL
125801   JTNKHMBX7K1035341   Toyota       CHR                 Atlanta                   GA
125802   JTNKHMBX7K1035355   Toyota       CHR                 ORLANDO                   FL
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125803   JTNKHMBX7K1035422   Toyota       CHR                 North Dighton             MA
125804   JTNKHMBX7K1035520   Toyota       CHR                 TAMPA                     FL
125805   JTNKHMBX7K1035579   Toyota       CHR                 ORLANDO                   FL
125806   JTNKHMBX7K1035582   Toyota       CHR                 Clearwater                FL
125807   JTNKHMBX7K1035646   Toyota       CHR                 San Antonio               TX
125808   JTNKHMBX7K1035663   Toyota       CHR                 Clearwater                FL
125809   JTNKHMBX7K1035677   Toyota       CHR                 TAMPA                     FL
125810   JTNKHMBX7K1036070   Toyota       CHR                 Dallas                    TX
125811   JTNKHMBX7K1036117   Toyota       CHR                 Estero                    FL
125812   JTNKHMBX7K1036280   Toyota       CHR                 PENSACOLA                 FL
125813   JTNKHMBX7K1036375   Toyota       CHR                 Detroit                   MI
125814   JTNKHMBX7K1036411   Toyota       CHR                 Austin                    TX
125815   JTNKHMBX7K1036537   Toyota       CHR                 SAINT LOUIS               MO
125816   JTNKHMBX7K1036571   Toyota       CHR                 Florissant                MO
125817   JTNKHMBX7K1036599   Toyota       CHR                 Bridgeton                 MO
125818   JTNKHMBX7K1036618   Toyota       CHR                 Stockton                  CA
125819   JTNKHMBX7K1036621   Toyota       CHR                 Bensalem                  PA
125820   JTNKHMBX7K1036764   Toyota       CHR                 MEMPHIS                   TN
125821   JTNKHMBX7K1036876   Toyota       CHR                 Pompano Beach             FL
125822   JTNKHMBX7K1036926   Toyota       CHR                 Euless                    TX
125823   JTNKHMBX7K1037090   Toyota       CHR                 HOUSTON                   TX
125824   JTNKHMBX7K1037218   Toyota       CHR                 KNOXVILLE                 TN
125825   JTNKHMBX7K1037333   Toyota       CHR                 Atlanta                   GA
125826   JTNKHMBX7K1037378   Toyota       CHR                 Stockton                  CA
125827   JTNKHMBX7K1040894   Toyota       CHR                 MELROSE PARK              IL
125828   JTNKHMBX7K1041348   Toyota       CHR                 Stockton                  CA
125829   JTNKHMBX7K1041429   Toyota       CHR                 Las Vegas                 NV
125830   JTNKHMBX7K1041799   Toyota       CHR                 SEATTLE                   WA
125831   JTNKHMBX7K1041804   Toyota       CHR                 SEATTLE                   WA
125832   JTNKHMBX7K1041852   Toyota       CHR                 KNOXVILLE                 TN
125833   JTNKHMBX7K1041883   Toyota       CHR                 FORT LAUDERDALE           FL
125834   JTNKHMBX7K1041947   Toyota       CHR                 LOS ANGELES               CA
125835   JTNKHMBX7K1041981   Toyota       CHR                 Atlanta                   GA
125836   JTNKHMBX7K1042032   Toyota       CHR                 Harvey                    LA
125837   JTNKHMBX7K1042063   Toyota       CHR                 Burlingame                CA
125838   JTNKHMBX7K1042080   Toyota       CHR                 Fontana                   CA
125839   JTNKHMBX7K1042175   Toyota       CHR                 Newark                    NJ
125840   JTNKHMBX7K1042211   Toyota       CHR                 NASHVILLE                 TN
125841   JTNKHMBX7K1042225   Toyota       CHR                 PENSACOLA                 FL
125842   JTNKHMBX7K1042242   Toyota       CHR                 ORLANDO                   FL
125843   JTNKHMBX8K1032626   Toyota       CHR                 ATLANTA                   GA
125844   JTNKHMBX8K1032786   Toyota       CHR                 FORT MYERS                FL
125845   JTNKHMBX8K1032951   Toyota       CHR                 FORT MYERS                FL
125846   JTNKHMBX8K1032979   Toyota       CHR                 DES MOINES                IA
125847   JTNKHMBX8K1032996   Toyota       CHR                 Grove City                OH
125848   JTNKHMBX8K1033033   Toyota       CHR                 MIAMI                     FL
125849   JTNKHMBX8K1033050   Toyota       CHR                 Houston                   TX
125850   JTNKHMBX8K1033114   Toyota       CHR                 Davie                     FL
125851   JTNKHMBX8K1033145   Toyota       CHR                 BURNSVILLE                MN
125852   JTNKHMBX8K1033162   Toyota       CHR                 Houston                   TX
125853   JTNKHMBX8K1033212   Toyota       CHR                 Warr Acres                OK
125854   JTNKHMBX8K1033243   Toyota       CHR                 Tampa                     FL
125855   JTNKHMBX8K1033324   Toyota       CHR                 COLUMBIA                  SC
125856   JTNKHMBX8K1033341   Toyota       CHR                 Phoenix                   AZ
125857   JTNKHMBX8K1033355   Toyota       CHR                 Euless                    TX
125858   JTNKHMBX8K1034778   Toyota       CHR                 Atlanta                   GA
125859   JTNKHMBX8K1034831   Toyota       CHR                 Hebron                    KY
125860   JTNKHMBX8K1035171   Toyota       CHR                 DANIA BEACH               FL
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125861   JTNKHMBX8K1035199   Toyota       CHR                 MEMPHIS                   TN
125862   JTNKHMBX8K1035252   Toyota       CHR                 MEDINA                    OH
125863   JTNKHMBX8K1035266   Toyota       CHR                 JACKSONVILLE              FL
125864   JTNKHMBX8K1035283   Toyota       CHR                 ORLANDO                   FL
125865   JTNKHMBX8K1035302   Toyota       CHR                 ORLANDO                   FL
125866   JTNKHMBX8K1035316   Toyota       CHR                 COLLEGE PARK              GA
125867   JTNKHMBX8K1035350   Toyota       CHR                 WEST PALM BEACH           FL
125868   JTNKHMBX8K1035364   Toyota       CHR                 Atlanta                   GA
125869   JTNKHMBX8K1035381   Toyota       CHR                 Beaverton                 OR
125870   JTNKHMBX8K1035395   Toyota       CHR                 Atlanta                   GA
125871   JTNKHMBX8K1035400   Toyota       CHR                 Bensalem                  PA
125872   JTNKHMBX8K1035414   Toyota       CHR                 ORLANDO                   FL
125873   JTNKHMBX8K1035428   Toyota       CHR                 WEST PALM BEACH           FL
125874   JTNKHMBX8K1035459   Toyota       CHR                 SARASOTA                  FL
125875   JTNKHMBX8K1035462   Toyota       CHR                 SARASOTA                  FL
125876   JTNKHMBX8K1035560   Toyota       CHR                 GREENSBORO                NC
125877   JTNKHMBX8K1035624   Toyota       CHR                 COLUMBUS                  OH
125878   JTNKHMBX8K1035638   Toyota       CHR                 ORLANDO                   FL
125879   JTNKHMBX8K1035641   Toyota       CHR                 Richmond                  VA
125880   JTNKHMBX8K1035669   Toyota       CHR                 KNOXVILLE                 TN
125881   JTNKHMBX8K1035719   Toyota       CHR                 TAMPA                     FL
125882   JTNKHMBX8K1035736   Toyota       CHR                 Slidell                   LA
125883   JTNKHMBX8K1035770   Toyota       CHR                 Miami                     FL
125884   JTNKHMBX8K1036255   Toyota       CHR                 Dallas                    TX
125885   JTNKHMBX8K1036269   Toyota       CHR                 Irving                    TX
125886   JTNKHMBX8K1036272   Toyota       CHR                 Houston                   TX
125887   JTNKHMBX8K1036286   Toyota       CHR                 Houston                   TX
125888   JTNKHMBX8K1036305   Toyota       CHR                 DALLAS                    TX
125889   JTNKHMBX8K1036403   Toyota       CHR                 Stockton                  CA
125890   JTNKHMBX8K1036420   Toyota       CHR                 Irving                    TX
125891   JTNKHMBX8K1036563   Toyota       CHR                 KENNER                    LA
125892   JTNKHMBX8K1036613   Toyota       CHR                 Austin                    TX
125893   JTNKHMBX8K1036837   Toyota       CHR                 SOUTHEAST DST OFFC        OK
125894   JTNKHMBX8K1036868   Toyota       CHR                 Dallas                    TX
125895   JTNKHMBX8K1036904   Toyota       CHR                 PENSACOLA                 FL
125896   JTNKHMBX8K1037048   Toyota       CHR                 Nashville                 TN
125897   JTNKHMBX8K1037051   Toyota       CHR                 San Antonio               TX
125898   JTNKHMBX8K1037387   Toyota       CHR                 Jacksonville              FL
125899   JTNKHMBX8K1041276   Toyota       CHR                 EL PASO                   TX
125900   JTNKHMBX8K1041441   Toyota       CHR                 Fontana                   CA
125901   JTNKHMBX8K1041522   Toyota       CHR                 SEATTLE                   WA
125902   JTNKHMBX8K1041651   Toyota       CHR                 Riverside                 CA
125903   JTNKHMBX8K1041715   Toyota       CHR                 Newport Beach             CA
125904   JTNKHMBX8K1041858   Toyota       CHR                 WEST COLUMBIA             SC
125905   JTNKHMBX8K1041911   Toyota       CHR                 INGLEWOOD                 CA
125906   JTNKHMBX8K1042069   Toyota       CHR                 PENSACOLA                 FL
125907   JTNKHMBX8K1042072   Toyota       CHR                 Phoenix                   AZ
125908   JTNKHMBX8K1042122   Toyota       CHR                 ORLANDO                   FL
125909   JTNKHMBX8K1042234   Toyota       CHR                 MOBILE                    A
125910   JTNKHMBX8K1042265   Toyota       CHR                 ORLANDO                   FL
125911   JTNKHMBX9K1032909   Toyota       CHR                 Bensalem                  PA
125912   JTNKHMBX9K1032988   Toyota       CHR                 Houston                   TX
125913   JTNKHMBX9K1032991   Toyota       CHR                 FORT MYERS                FL
125914   JTNKHMBX9K1033025   Toyota       CHR                 Tampa                     FL
125915   JTNKHMBX9K1033039   Toyota       CHR                 N. Palm Beach             FL
125916   JTNKHMBX9K1033042   Toyota       CHR                 Hebron                    KY
125917   JTNKHMBX9K1033154   Toyota       CHR                 Tampa                     FL
125918   JTNKHMBX9K1033218   Toyota       CHR                 Lexington                 KY
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125919   JTNKHMBX9K1033283   Toyota       CHR                 Tolleson                  AZ
125920   JTNKHMBX9K1033333   Toyota       CHR                 FT LAUDERDALE             FL
125921   JTNKHMBX9K1033364   Toyota       CHR                 COLLEGE PARK              GA
125922   JTNKHMBX9K1034577   Toyota       CHR                 KENNER                    LA
125923   JTNKHMBX9K1034644   Toyota       CHR                 Denver                    CO
125924   JTNKHMBX9K1035177   Toyota       CHR                 Davie                     FL
125925   JTNKHMBX9K1035227   Toyota       CHR                 Tampa                     FL
125926   JTNKHMBX9K1035230   Toyota       CHR                 Baltimore                 MD
125927   JTNKHMBX9K1035258   Toyota       CHR                 ORLANDO                   FL
125928   JTNKHMBX9K1035292   Toyota       CHR                 SARASOTA                  FL
125929   JTNKHMBX9K1035311   Toyota       CHR                 Miami                     FL
125930   JTNKHMBX9K1035356   Toyota       CHR                 FORT MYERS                FL
125931   JTNKHMBX9K1035440   Toyota       CHR                 NASHVILLE                 TN
125932   JTNKHMBX9K1035485   Toyota       CHR                 DAYTONA BEACH             FL
125933   JTNKHMBX9K1035549   Toyota       CHR                 TAMPA                     FL
125934   JTNKHMBX9K1035566   Toyota       CHR                 Hebron                    KY
125935   JTNKHMBX9K1035602   Toyota       CHR                 Fredericksburg            VA
125936   JTNKHMBX9K1035616   Toyota       CHR                 BIRMINGHAM                AL
125937   JTNKHMBX9K1035650   Toyota       CHR                 CLEVELAND                 OH
125938   JTNKHMBX9K1035700   Toyota       CHR                 LUBBOCK                   TX
125939   JTNKHMBX9K1035714   Toyota       CHR                 SARASOTA                  FL
125940   JTNKHMBX9K1035728   Toyota       CHR                 TAMPA                     FL
125941   JTNKHMBX9K1035731   Toyota       CHR                 Tampa                     FL
125942   JTNKHMBX9K1035759   Toyota       CHR                 FORT LAUDERDALE           FL
125943   JTNKHMBX9K1035762   Toyota       CHR                 ATLANTA                   GA
125944   JTNKHMBX9K1035776   Toyota       CHR                 Orlando                   FL
125945   JTNKHMBX9K1035793   Toyota       CHR                 Cranberry Towns           PA
125946   JTNKHMBX9K1036071   Toyota       CHR                 Irving                    TX
125947   JTNKHMBX9K1036104   Toyota       CHR                 SNELLVILLE                GA
125948   JTNKHMBX9K1036121   Toyota       CHR                 PENSACOLA                 FL
125949   JTNKHMBX9K1036152   Toyota       CHR                 Atlanta                   GA
125950   JTNKHMBX9K1036281   Toyota       CHR                 WEST DUNDEE               IL
125951   JTNKHMBX9K1036331   Toyota       CHR                 JACKSON                   MS
125952   JTNKHMBX9K1036409   Toyota       CHR                 MEMPHIS                   TN
125953   JTNKHMBX9K1036426   Toyota       CHR                 ORLANDO                   FL
125954   JTNKHMBX9K1036491   Toyota       CHR                 Winston‐Salem             NC
125955   JTNKHMBX9K1036569   Toyota       CHR                 Dallas                    TX
125956   JTNKHMBX9K1036605   Toyota       CHR                 SHAKOPEE                  MN
125957   JTNKHMBX9K1036667   Toyota       CHR                 Tampa                     FL
125958   JTNKHMBX9K1036703   Toyota       CHR                 N. Palm Beach             FL
125959   JTNKHMBX9K1036717   Toyota       CHR                 Orlando                   FL
125960   JTNKHMBX9K1036832   Toyota       CHR                 Bridgeton                 MO
125961   JTNKHMBX9K1036992   Toyota       CHR                 KNOXVILLE                 TN
125962   JTNKHMBX9K1037043   Toyota       CHR                 Riverside                 CA
125963   JTNKHMBX9K1037107   Toyota       CHR                 Warminster                PA
125964   JTNKHMBX9K1037365   Toyota       CHR                 FORT LAUDERDALE           FL
125965   JTNKHMBX9K1041190   Toyota       CHR                 Las Vegas                 NV
125966   JTNKHMBX9K1041285   Toyota       CHR                 Lake in the Hil           IL
125967   JTNKHMBX9K1041450   Toyota       CHR                 SEATTLE                   WA
125968   JTNKHMBX9K1041528   Toyota       CHR                 North Las Vegas           NV
125969   JTNKHMBX9K1041643   Toyota       CHR                 SACRAMENTO                CA
125970   JTNKHMBX9K1041657   Toyota       CHR                 Las Vegas                 NV
125971   JTNKHMBX9K1041688   Toyota       CHR                 ORLANDO                   FL
125972   JTNKHMBX9K1041755   Toyota       CHR                 Santa Clara               CA
125973   JTNKHMBX9K1042078   Toyota       CHR                 Norwalk                   CA
125974   JTNKHMBX9K1042100   Toyota       CHR                 SEATTLE                   WA
125975   JTNKHMBX9K1042114   Toyota       CHR                 PHILADELPHIA              US
125976   JTNKHMBX9K1042212   Toyota       CHR                 Ft. Myers                 FL
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125977   JTNKHMBX9K1042341   Toyota       CHR                 FLORIDA DEALER DIR        FL
125978   JTNKHMBXXK1032546   Toyota       CHR                 CHICAGO                   IL
125979   JTNKHMBXXK1032577   Toyota       CHR                 WEST PALM BEACH           FL
125980   JTNKHMBXXK1032580   Toyota       CHR                 Austin                    TX
125981   JTNKHMBXXK1032661   Toyota       CHR                 Smithtown                 NY
125982   JTNKHMBXXK1033079   Toyota       CHR                 Hendersonville            TN
125983   JTNKHMBXXK1033129   Toyota       CHR                 DALLAS                    TX
125984   JTNKHMBXXK1033244   Toyota       CHR                 FORT LAUDERDALE           FL
125985   JTNKHMBXXK1033275   Toyota       CHR                 COLUMBIA                  SC
125986   JTNKHMBXXK1034149   Toyota       CHR                 SEATTLE                   WA
125987   JTNKHMBXXK1034541   Toyota       CHR                 Las Vegas                 NV
125988   JTNKHMBXXK1034586   Toyota       CHR                 DES MOINES                IA
125989   JTNKHMBXXK1034717   Toyota       CHR                 SEATTLE                   WA
125990   JTNKHMBXXK1034734   Toyota       CHR                 Las Vegas                 NV
125991   JTNKHMBXXK1035060   Toyota       CHR                 Tampa                     FL
125992   JTNKHMBXXK1035107   Toyota       CHR                 Dallas                    TX
125993   JTNKHMBXXK1035169   Toyota       CHR                 FORT MYERS                FL
125994   JTNKHMBXXK1035172   Toyota       CHR                 ENTERPRISE                AL
125995   JTNKHMBXXK1035186   Toyota       CHR                 ORLANDO                   FL
125996   JTNKHMBXXK1035205   Toyota       CHR                 TAMPA                     FL
125997   JTNKHMBXXK1035219   Toyota       CHR                 FORT LAUDERDALE           FL
125998   JTNKHMBXXK1035222   Toyota       CHR                 FORT MYERS                FL
125999   JTNKHMBXXK1035253   Toyota       CHR                 WEST PALM BEACH           FL
126000   JTNKHMBXXK1035270   Toyota       CHR                 ORLANDO                   FL
126001   JTNKHMBXXK1035317   Toyota       CHR                 MIAMI                     FL
126002   JTNKHMBXXK1035334   Toyota       CHR                 Clearwater                FL
126003   JTNKHMBXXK1035348   Toyota       CHR                 MIAMI                     FL
126004   JTNKHMBXXK1035379   Toyota       CHR                 TAMPA                     FL
126005   JTNKHMBXXK1035429   Toyota       CHR                 Miami                     FL
126006   JTNKHMBXXK1035480   Toyota       CHR                 COLUMBIA                  SC
126007   JTNKHMBXXK1035494   Toyota       CHR                 ORLANDO                   FL
126008   JTNKHMBXXK1035530   Toyota       CHR                 JACKSONVILLE              FL
126009   JTNKHMBXXK1035589   Toyota       CHR                 DALLAS                    TX
126010   JTNKHMBXXK1035592   Toyota       CHR                 BLOOMINGTON               IL
126011   JTNKHMBXXK1035625   Toyota       CHR                 FORT MYERS                FL
126012   JTNKHMBXXK1035639   Toyota       CHR                 TAMPA                     FL
126013   JTNKHMBXXK1035642   Toyota       CHR                 Tampa                     FL
126014   JTNKHMBXXK1035687   Toyota       CHR                 Carleton                  MI
126015   JTNKHMBXXK1035690   Toyota       CHR                 ORLANDO                   FL
126016   JTNKHMBXXK1035706   Toyota       CHR                 Ft. Myers                 FL
126017   JTNKHMBXXK1035737   Toyota       CHR                 FORT LAUDERDALE           FL
126018   JTNKHMBXXK1035754   Toyota       CHR                 MIAMI                     FL
126019   JTNKHMBXXK1035768   Toyota       CHR                 Atlanta                   GA
126020   JTNKHMBXXK1035785   Toyota       CHR                 Clearwater                FL
126021   JTNKHMBXXK1036080   Toyota       CHR                 Schaumburg                IL
126022   JTNKHMBXXK1036127   Toyota       CHR                 MEMPHIS                   TN
126023   JTNKHMBXXK1036158   Toyota       CHR                 AUSTIN                    TX
126024   JTNKHMBXXK1036256   Toyota       CHR                 DALLAS                    TX
126025   JTNKHMBXXK1036290   Toyota       CHR                 Jacksonville              FL
126026   JTNKHMBXXK1036354   Toyota       CHR                 Springfield               MO
126027   JTNKHMBXXK1036418   Toyota       CHR                 Dallas                    TX
126028   JTNKHMBXXK1036533   Toyota       CHR                 Atlanta                   GA
126029   JTNKHMBXXK1036659   Toyota       CHR                 Harvey                    LA
126030   JTNKHMBXXK1036855   Toyota       CHR                 WEST PALM BEACH           FL
126031   JTNKHMBXXK1036984   Toyota       CHR                 Philadelphia              PA
126032   JTNKHMBXXK1037004   Toyota       CHR                 ORLANDO                   FL
126033   JTNKHMBXXK1037052   Toyota       CHR                 BIRMINGHAN                AL
126034   JTNKHMBXXK1037164   Toyota       CHR                 TAMPA                     US
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126035   JTNKHMBXXK1037309   Toyota        CHR                 Winston‐Salem             NC
126036   JTNKHMBXXK1037326   Toyota        CHR                 BIRMINGHAM                AL
126037   JTNKHMBXXK1037357   Toyota        CHR                 FORT LAUDERDALE           FL
126038   JTNKHMBXXK1041084   Toyota        CHR                 Dallas                    TX
126039   JTNKHMBXXK1041375   Toyota        CHR                 Hayward                   CA
126040   JTNKHMBXXK1041389   Toyota        CHR                 Fontana                   CA
126041   JTNKHMBXXK1041487   Toyota        CHR                 ROANOKE                   VA
126042   JTNKHMBXXK1041506   Toyota        CHR                 Las Vegas                 NV
126043   JTNKHMBXXK1041554   Toyota        CHR                 Roseville                 CA
126044   JTNKHMBXXK1041568   Toyota        CHR                 SAN DIEGO                 CA
126045   JTNKHMBXXK1041599   Toyota        CHR                 DAYTONA BEACH             FL
126046   JTNKHMBXXK1041635   Toyota        CHR                 Burien                    WA
126047   JTNKHMBXXK1041764   Toyota        CHR                 Lake Elsinore             CA
126048   JTNKHMBXXK1041795   Toyota        CHR                 Sacramento                CA
126049   JTNKHMBXXK1041845   Toyota        CHR                 Winter Park               FL
126050   JTNKHMBXXK1041960   Toyota        CHR                 LOS ANGELES               CA
126051   JTNKHMBXXK1042008   Toyota        CHR                 BURBANK                   CA
126052   JTNKHMBXXK1042011   Toyota        CHR                 JACKSON                   MS
126053   JTNKHMBXXK1042042   Toyota        CHR                 Warr Acres                OK
126054   JTNKHMBXXK1042073   Toyota        CHR                 Portland                  OR
126055   JTNKHMBXXK1042137   Toyota        CHR                 Atlanta                   GA
126056   K48K12AA1KU296968   Hyundai       KONA                TAMPA                     FL
126057   K48K1CAA2KU300094   Hyundai       KONA                LOS ANGELES               CA
126058   K48K1CAA4KU299661   Hyundai       KONA                Torrance                  CA
126059   K48K1CAA5KU348785   Hyundai       KONA                Torrance                  CA
126060   K48K1CAA7KU345077   Hyundai       KONA                BURBANK                   CA
126061   K48K1CAAXKU326118   Hyundai       KONA                Torrance                  CA
126062   K4HD35LH6HU381148   Hyundai       ELANTRA             SANTA ANA                 CA
126063   K5AGT4L30J5206164   Kia           OPTIMA              NEW YORK CITY             NY
126064   K5AGT4L30J5214135   Kia           OPTIMA              SAN DIEGO                 CA
126065   K5AGT4L30J5218167   Kia           OPTIMA              Miami                     FL
126066   K5AGT4L30J5232313   Kia           OPTIMA              Scottsdale                AZ
126067   K5AGT4L30J5235213   Kia           OPTIMA              Massapequa                NY
126068   K5AGT4L30J5238886   Kia           OPTIMA              BURBANK                   CA
126069   K5AGT4L31J5213804   Kia           OPTIMA              Dallas                    TX
126070   K5AGT4L31J5232174   Kia           OPTIMA              SAN FRANCISCO             CA
126071   K5AGT4L31J5232272   Kia           OPTIMA              BURBANK                   CA
126072   K5AGT4L31J5232319   Kia           OPTIMA              LOS ANGELES               CA
126073   K5AGT4L31J5232546   Kia           OPTIMA              Coraopolis                PA
126074   K5AGT4L31J5232594   Kia           OPTIMA              BURBANK                   CA
126075   K5AGT4L31J5232630   Kia           OPTIMA              Cedar Rapids              IA
126076   K5AGT4L31J5235348   Kia           OPTIMA              Smithtown                 NY
126077   K5AGT4L31J5238444   Kia           OPTIMA              BURBANK                   CA
126078   K5AGT4L31J5239058   Kia           OPTIMA              Charlotte                 NC
126079   K5AGT4L32J5218106   Kia           OPTIMA              Irving                    TX
126080   K5AGT4L32J5219319   Kia           OPTIMA              ROSEVILLE                 CA
126081   K5AGT4L32J5232622   Kia           OPTIMA              PICO RIVERA               CA
126082   K5AGT4L32J5238937   Kia           OPTIMA              SAN LEANDRO               CA
126083   K5AGT4L33J5216431   Kia           OPTIMA              Tolleson                  AZ
126084   K5AGT4L33J5216865   Kia           OPTIMA              SPRINGFIELD               VA
126085   K5AGT4L33J5219622   Kia           OPTIMA              Indianapolis              IN
126086   K5AGT4L33J5232273   Kia           OPTIMA              BURBANK                   CA
126087   K5AGT4L33J5232595   Kia           OPTIMA              CHANDLER                  AZ
126088   K5AGT4L33J5232614   Kia           OPTIMA              RIVERSIDE                 CA
126089   K5AGT4L33J5238431   Kia           OPTIMA              JACKSONVILLE              FL
126090   K5AGT4L33J5238588   Kia           OPTIMA              FORT LAUDERDALE           FL
126091   K5AGT4L33J5238879   Kia           OPTIMA              SAN JOSE                  CA
126092   K5AGT4L33J5238946   Kia           OPTIMA              ORLANDO                   FL
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126093   K5AGT4L34J5212128   Kia          OPTIMA              BOSTON                    MA
126094   K5AGT4L34J5213201   Kia          OPTIMA              ATLANTA                   GA
126095   K5AGT4L34J5239328   Kia          OPTIMA              Portland                  OR
126096   K5AGT4L35J5214020   Kia          OPTIMA              KNOXVILLE                 TN
126097   K5AGT4L35J5214289   Kia          OPTIMA              NORTH PAC                 CA
126098   K5AGT4L35J5217175   Kia          OPTIMA              CHARLOTTE                 NC
126099   K5AGT4L35J5218164   Kia          OPTIMA              NORTH PAC                 CA
126100   K5AGT4L35J5218343   Kia          OPTIMA              LOS ANGELES               CA
126101   K5AGT4L35J5232176   Kia          OPTIMA              GRAND RAPIDS              MI
126102   K5AGT4L35J5232601   Kia          OPTIMA              SAN DIEGO                 CA
126103   K5AGT4L35J5238706   Kia          OPTIMA              SANTA ANA                 CA
126104   K5AGT4L35J5239550   Kia          OPTIMA              Englewood                 CO
126105   K5AGT4L36J5219601   Kia          OPTIMA              SAN DIEGO                 CA
126106   K5AGT4L36J5220117   Kia          OPTIMA              AUGUSTA                   GA
126107   K5AGT4L36J5234678   Kia          OPTIMA              Clearwater                FL
126108   K5AGT4L37J5212124   Kia          OPTIMA              WARWICK                   RI
126109   K5AGT4L37J5221762   Kia          OPTIMA              MEDINA                    OH
126110   K5AGT4L37J5238657   Kia          OPTIMA              Portland                  OR
126111   K5AGT4L37J5238674   Kia          OPTIMA              Fresno                    CA
126112   K5AGT4L37J5238920   Kia          OPTIMA              SANTA ANA                 CA
126113   K5AGT4L37J5238934   Kia          OPTIMA              Las Vegas                 NV
126114   K5AGT4L38J5219485   Kia          OPTIMA              BURIEN                    WA
126115   K5AGT4L38J5232558   Kia          OPTIMA              SANTA ANA                 CA
126116   K5AGT4L39J5213730   Kia          OPTIMA              SAN ANTONIO               TX
126117   K5AGT4L39J5216482   Kia          OPTIMA              SEATAC                    WA
126118   K5AGT4L39J5232312   Kia          OPTIMA              SAN JOSE                  CA
126119   K5AGT4L39J5235162   Kia          OPTIMA              Phoenix                   AZ
126120   K5AGT4L39J5236831   Kia          OPTIMA              CHICAGO                   IL
126121   K5AGT4L39J5238515   Kia          OPTIMA              SAN FRANCISCO             CA
126122   K5AGT4L39J5238675   Kia          OPTIMA              Charlotte                 NC
126123   K5AGT4L39J5238935   Kia          OPTIMA              NORTH PAC                 CA
126124   K5AGT4L3XJ5213526   Kia          OPTIMA              BURBANK                   CA
126125   K5AGT4L3XJ5219326   Kia          OPTIMA              REDWOOD CITY              CA
126126   K5AGT4L3XJ5219715   Kia          OPTIMA              SANTA ANA                 CA
126127   K5AGT4L3XJ5238863   Kia          OPTIMA              BURBANK                   CA
126128   K5AGT4L3XJ5238944   Kia          OPTIMA              SAN FRANCISCO             CA
126129   K5AGT4L3XJ5238958   Kia          OPTIMA              SAN JOSE                  CA
126130   K5DCB3LCXK5293457   Kia          NIRO                Bensalem                  PA
126131   K5DJP3A50J7593458   Kia          SOUL                Hartford                  CT
126132   K5DJP3A50J7599504   Kia          SOUL                BURBANK                   CA
126133   K5DJP3A50J7600344   Kia          SOUL                TAMPA                     FL
126134   K5DJP3A50J7600537   Kia          SOUL                CHARLESTON                SC
126135   K5DJP3A50J7604331   Kia          SOUL                SAN ANTONIO               TX
126136   K5DJP3A50J7604412   Kia          SOUL                Dallas                    TX
126137   K5DJP3A50J7604796   Kia          SOUL                Winter Park               FL
126138   K5DJP3A50J7604927   Kia          SOUL                NORTH PAC                 CA
126139   K5DJP3A50J7605026   Kia          SOUL                DETROIT                   MI
126140   K5DJP3A50J7605074   Kia          SOUL                TAMPA                     FL
126141   K5DJP3A50J7605530   Kia          SOUL                North Dighton             MA
126142   K5DJP3A50J7605639   Kia          SOUL                North Dighton             MA
126143   K5DJP3A50J7605916   Kia          SOUL                HUEYTOWN                  AL
126144   K5DJP3A50J7605933   Kia          SOUL                MEMPHIS                   TN
126145   K5DJP3A50J7606970   Kia          SOUL                SAN ANTONIO               TX
126146   K5DJP3A50J7607195   Kia          SOUL                Nashville                 TN
126147   K5DJP3A50J7608220   Kia          SOUL                ORLANDO                   FL
126148   K5DJP3A50J7609786   Kia          SOUL                ATLANTA                   GA
126149   K5DJP3A50J7610176   Kia          SOUL                WEST PALM BEACH           FL
126150   K5DJP3A50J7610226   Kia          SOUL                MIAMI                     FL
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126151   K5DJP3A50J7610789   Kia          SOUL                DANIA                     FL
126152   K5DJP3A50J7611148   Kia          SOUL                Slidell                   LA
126153   K5DJP3A50J7611277   Kia          SOUL                ORLANDO                   FL
126154   K5DJP3A50J7611280   Kia          SOUL                KNOXVILLE                 TN
126155   K5DJP3A50J7611358   Kia          SOUL                WEST PALM BEACH           FL
126156   K5DJP3A50J7611618   Kia          SOUL                FORT MYERS                FL
126157   K5DJP3A50J7611621   Kia          SOUL                FORT LAUDERDALE           FL
126158   K5DJP3A50J7611652   Kia          SOUL                Miami                     FL
126159   K5DJP3A50J7612333   Kia          SOUL                TAMPA                     FL
126160   K5DJP3A50J7612655   Kia          SOUL                Atlanta                   GA
126161   K5DJP3A50J7616592   Kia          SOUL                NEW ENGLAND DEALER        MA
126162   K5DJP3A50J7619184   Kia          SOUL                WEST PALM BEACH           FL
126163   K5DJP3A50J7619640   Kia          SOUL                KILLEEN                   US
126164   K5DJP3A50J7620271   Kia          SOUL                MEDINA                    OH
126165   K5DJP3A50J7621758   Kia          SOUL                Atlanta                   GA
126166   K5DJP3A50J7623414   Kia          SOUL                DALLAS                    TX
126167   K5DJP3A50J7623591   Kia          SOUL                West Palm Beach           FL
126168   K5DJP3A50J7623798   Kia          SOUL                TAMPA                     FL
126169   K5DJP3A50J7625308   Kia          SOUL                ORLANDO                   FL
126170   K5DJP3A50J7626006   Kia          SOUL                DAYTONA BEACH             FL
126171   K5DJP3A50J7626958   Kia          SOUL                CHARLOTTE                 NC
126172   K5DJP3A50J7901406   Kia          SOUL                North Las Vegas           NV
126173   K5DJP3A50J7901518   Kia          SOUL                DAYTONA BEACH             FL
126174   K5DJP3A50J7902278   Kia          SOUL                Rio Linda                 CA
126175   K5DJP3A50J7902913   Kia          SOUL                Charlotte                 NC
126176   K5DJP3A50J7902975   Kia          SOUL                SOUTHEAST DST OFFC        OK
126177   K5DJP3A50J7904242   Kia          SOUL                ORLANDO                   FL
126178   K5DJP3A50J7907321   Kia          SOUL                BURBANK                   CA
126179   K5DJP3A51J7544513   Kia          SOUL                LOS ANGELES AP            CA
126180   K5DJP3A51J7592397   Kia          SOUL                JACKSON                   MS
126181   K5DJP3A51J7592643   Kia          SOUL                Irving                    TX
126182   K5DJP3A51J7594005   Kia          SOUL                EL PASO                   TX
126183   K5DJP3A51J7598801   Kia          SOUL                Austin                    TX
126184   K5DJP3A51J7599544   Kia          SOUL                FORT MYERS                FL
126185   K5DJP3A51J7600059   Kia          SOUL                Rock Hill                 SC
126186   K5DJP3A51J7601938   Kia          SOUL                DETROIT                   MI
126187   K5DJP3A51J7601972   Kia          SOUL                ORLANDO                   FL
126188   K5DJP3A51J7603351   Kia          SOUL                Dallas                    TX
126189   K5DJP3A51J7603527   Kia          SOUL                WEST PALM BEACH           FL
126190   K5DJP3A51J7605178   Kia          SOUL                MEMPHIS                   TN
126191   K5DJP3A51J7607366   Kia          SOUL                Houston                   TX
126192   K5DJP3A51J7609439   Kia          SOUL                HOUSTON                   TX
126193   K5DJP3A51J7610090   Kia          SOUL                ORLANDO                   FL
126194   K5DJP3A51J7610381   Kia          SOUL                ORLANDO                   FL
126195   K5DJP3A51J7610879   Kia          SOUL                Lake Elsinore             CA
126196   K5DJP3A51J7611112   Kia          SOUL                Jacksonville              FL
126197   K5DJP3A51J7611286   Kia          SOUL                FORT LAUDERDALE           FL
126198   K5DJP3A51J7611563   Kia          SOUL                Richmond                  VA
126199   K5DJP3A51J7611711   Kia          SOUL                FORT LAUDERDALE           FL
126200   K5DJP3A51J7612955   Kia          SOUL                MEMPHIS                   TN
126201   K5DJP3A51J7613071   Kia          SOUL                DANIA BEACH               FL
126202   K5DJP3A51J7616875   Kia          SOUL                BURBANK                   CA
126203   K5DJP3A51J7618559   Kia          SOUL                HOUSTON                   TX
126204   K5DJP3A51J7619758   Kia          SOUL                MIAMI                     FL
126205   K5DJP3A51J7620165   Kia          SOUL                TAMPA                     FL
126206   K5DJP3A51J7620750   Kia          SOUL                SAINT PAUL                MN
126207   K5DJP3A51J7621302   Kia          SOUL                TAMPA                     FL
126208   K5DJP3A51J7623602   Kia          SOUL                SANTA FE                  NM
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126209   K5DJP3A51J7623695   Kia          SOUL                Tolleson                  AZ
126210   K5DJP3A51J7624149   Kia          SOUL                JACKSONVILLE              FL
126211   K5DJP3A51J7625026   Kia          SOUL                INDIANAPOLIS              IN
126212   K5DJP3A51J7902435   Kia          SOUL                BURBANK                   CA
126213   K5DJP3A51J7903052   Kia          SOUL                Florissant                MO
126214   K5DJP3A51J7903777   Kia          SOUL                Houston                   TX
126215   K5DJP3A51J7904105   Kia          SOUL                Smithtown                 NY
126216   K5DJP3A51J7904962   Kia          SOUL                Smithtown                 NY
126217   K5DJP3A51J7905027   Kia          SOUL                BURBANK                   CA
126218   K5DJP3A51J7907280   Kia          SOUL                Ft. Myers                 FL
126219   K5DJP3A51K7914893   Kia          SOUL                Webster                   NY
126220   K5DJP3A52J7592585   Kia          SOUL                PORTLAND                  OR
126221   K5DJP3A52J7593719   Kia          SOUL                PORTLAND                  OR
126222   K5DJP3A52J7597365   Kia          SOUL                DAYTONA BEACH             FL
126223   K5DJP3A52J7598404   Kia          SOUL                Atlanta                   GA
126224   K5DJP3A52J7600541   Kia          SOUL                TAMPA                     FL
126225   K5DJP3A52J7601494   Kia          SOUL                Austin                    TX
126226   K5DJP3A52J7601687   Kia          SOUL                FORT MYERS                FL
126227   K5DJP3A52J7602497   Kia          SOUL                KENNER                    LA
126228   K5DJP3A52J7602631   Kia          SOUL                EAST BOSTON               MA
126229   K5DJP3A52J7603018   Kia          SOUL                Darlington                SC
126230   K5DJP3A52J7603892   Kia          SOUL                SOUTHEAST DST OFFC        OK
126231   K5DJP3A52J7604234   Kia          SOUL                Dallas                    TX
126232   K5DJP3A52J7604430   Kia          SOUL                WEST DUNDEE               IL
126233   K5DJP3A52J7604931   Kia          SOUL                ORLANDO                   FL
126234   K5DJP3A52J7605738   Kia          SOUL                Irving                    TX
126235   K5DJP3A52J7605741   Kia          SOUL                KNOXVILLE                 TN
126236   K5DJP3A52J7605903   Kia          SOUL                JACKSONVILLE              FL
126237   K5DJP3A52J7606890   Kia          SOUL                TAMPA                     FL
126238   K5DJP3A52J7607067   Kia          SOUL                DALLAS                    TX
126239   K5DJP3A52J7607859   Kia          SOUL                Florissant                MO
126240   K5DJP3A52J7609417   Kia          SOUL                MIAMI                     FL
126241   K5DJP3A52J7610065   Kia          SOUL                TAMPA                     FL
126242   K5DJP3A52J7610079   Kia          SOUL                ORLANDO                   FL
126243   K5DJP3A52J7610387   Kia          SOUL                MELROSE PARK              IL
126244   K5DJP3A52J7610745   Kia          SOUL                WASHINGTON DC             MD
126245   K5DJP3A52J7611720   Kia          SOUL                COLLEGE PARK              GA
126246   K5DJP3A52J7612396   Kia          SOUL                North Dighton             MA
126247   K5DJP3A52J7612477   Kia          SOUL                PORTLAND                  OR
126248   K5DJP3A52J7616870   Kia          SOUL                BURBANK                   CA
126249   K5DJP3A52J7620014   Kia          SOUL                Plainfield                IN
126250   K5DJP3A52J7621860   Kia          SOUL                FORT MYERS                FL
126251   K5DJP3A52J7623592   Kia          SOUL                DAYTONA BEACH             FL
126252   K5DJP3A52J7625150   Kia          SOUL                TAMPA                     FL
126253   K5DJP3A52J7626458   Kia          SOUL                Tampa                     FL
126254   K5DJP3A52J7626945   Kia          SOUL                JACKSONVILLE              FL
126255   K5DJP3A52J7626962   Kia          SOUL                Miami                     FL
126256   K5DJP3A52J7901133   Kia          SOUL                Smithtown                 NY
126257   K5DJP3A52J7902170   Kia          SOUL                MIAMI                     FL
126258   K5DJP3A52J7903562   Kia          SOUL                Hanover                   MD
126259   K5DJP3A52J7903951   Kia          SOUL                North Dighton             MA
126260   K5DJP3A52J7904503   Kia          SOUL                FORT MYERS                FL
126261   K5DJP3A52J7904582   Kia          SOUL                WEST PALM BEACH           FL
126262   K5DJP3A52J7904758   Kia          SOUL                Warr Acres                OK
126263   K5DJP3A52J7904971   Kia          SOUL                FORT MYERS                FL
126264   K5DJP3A52J7905098   Kia          SOUL                WEST PALM BEACH           FL
126265   K5DJP3A52J7906820   Kia          SOUL                FT LAUDERDALE             FL
126266   K5DJP3A52J7906834   Kia          SOUL                NEW YORK CITY             NY
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126267   K5DJP3A52K7665729   Kia          SOUL                KEY WEST                  FL
126268   K5DJP3A53J7592594   Kia          SOUL                Newark                    NJ
126269   K5DJP3A53J7592627   Kia          SOUL                Elkridge                  MD
126270   K5DJP3A53J7592644   Kia          SOUL                Rock Hill                 SC
126271   K5DJP3A53J7593700   Kia          SOUL                BURBANK                   CA
126272   K5DJP3A53J7598802   Kia          SOUL                Caledonia                 WI
126273   K5DJP3A53J7598962   Kia          SOUL                KNOXVILLE                 TN
126274   K5DJP3A53J7599383   Kia          SOUL                DANIA BEACH               FL
126275   K5DJP3A53J7600127   Kia          SOUL                Euless                    TX
126276   K5DJP3A53J7600354   Kia          SOUL                Louisville                KY
126277   K5DJP3A53J7600709   Kia          SOUL                TAMPA                     FL
126278   K5DJP3A53J7600788   Kia          SOUL                ORLANDO                   FL
126279   K5DJP3A53J7600824   Kia          SOUL                Las Vegas                 NV
126280   K5DJP3A53J7602461   Kia          SOUL                SAN ANTONIO               TX
126281   K5DJP3A53J7603433   Kia          SOUL                Atlanta                   GA
126282   K5DJP3A53J7604016   Kia          SOUL                NEWARK                    NJ
126283   K5DJP3A53J7604419   Kia          SOUL                Jacksonville              FL
126284   K5DJP3A53J7604548   Kia          SOUL                Tolleson                  AZ
126285   K5DJP3A53J7604808   Kia          SOUL                TAMPA                     FL
126286   K5DJP3A53J7607689   Kia          SOUL                Houston                   TX
126287   K5DJP3A53J7609457   Kia          SOUL                TAMPA                     FL
126288   K5DJP3A53J7610382   Kia          SOUL                Charlotte                 NC
126289   K5DJP3A53J7610401   Kia          SOUL                PITTSBURGH                PA
126290   K5DJP3A53J7611001   Kia          SOUL                Hamilton                  OH
126291   K5DJP3A53J7611564   Kia          SOUL                WEST PALM BEACH           FL
126292   K5DJP3A53J7611810   Kia          SOUL                Atlanta                   GA
126293   K5DJP3A53J7611869   Kia          SOUL                Dallas                    TX
126294   K5DJP3A53J7611872   Kia          SOUL                Bensalem                  PA
126295   K5DJP3A53J7612052   Kia          SOUL                ORLANDO                   FL
126296   K5DJP3A53J7612326   Kia          SOUL                DAYTONA BEACH             FL
126297   K5DJP3A53J7612438   Kia          SOUL                ORLANDO                   FL
126298   K5DJP3A53J7612553   Kia          SOUL                SARASOTA                  FL
126299   K5DJP3A53J7612648   Kia          SOUL                Tampa                     FL
126300   K5DJP3A53J7616795   Kia          SOUL                BURBANK                   CA
126301   K5DJP3A53J7618630   Kia          SOUL                WEST PALM BEACH           FL
126302   K5DJP3A53J7618854   Kia          SOUL                FORT MYERS                FL
126303   K5DJP3A53J7619972   Kia          SOUL                FORT MYERS                FL
126304   K5DJP3A53J7622371   Kia          SOUL                SARASOTA                  FL
126305   K5DJP3A53J7623052   Kia          SOUL                TAMPA                     FL
126306   K5DJP3A53J7623701   Kia          SOUL                ORLANDO                   FL
126307   K5DJP3A53J7623889   Kia          SOUL                TAMPA                     FL
126308   K5DJP3A53J7624511   Kia          SOUL                CLEVELAND                 OH
126309   K5DJP3A53J7624718   Kia          SOUL                ORLANDO                   FL
126310   K5DJP3A53J7625030   Kia          SOUL                FORT MYERS                FL
126311   K5DJP3A53J7626985   Kia          SOUL                BURBANK                   CA
126312   K5DJP3A53J7901125   Kia          SOUL                ORLANDO                   FL
126313   K5DJP3A53J7901139   Kia          SOUL                Irving                    TX
126314   K5DJP3A53J7901142   Kia          SOUL                Houston                   TX
126315   K5DJP3A53J7904168   Kia          SOUL                FLORIDA DEALER DIR        FL
126316   K5DJP3A53J7904655   Kia          SOUL                SARASOTA                  FL
126317   K5DJP3A53J7907295   Kia          SOUL                WEST PALM BEACH           FL
126318   K5DJP3A53J7907376   Kia          SOUL                TAMPA                     FL
126319   K5DJP3A54J7592281   Kia          SOUL                HOUSTON                   TX
126320   K5DJP3A54J7592409   Kia          SOUL                Atlanta                   GA
126321   K5DJP3A54J7593589   Kia          SOUL                Dallas                    TX
126322   K5DJP3A54J7593821   Kia          SOUL                EULESS                    TX
126323   K5DJP3A54J7594824   Kia          SOUL                Hamilton                  OH
126324   K5DJP3A54J7598713   Kia          SOUL                Irving                    TX
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126325   K5DJP3A54J7599375   Kia          SOUL                Kansas City               MO
126326   K5DJP3A54J7600279   Kia          SOUL                Las Vegas                 NV
126327   K5DJP3A54J7600721   Kia          SOUL                Mira Loma                 CA
126328   K5DJP3A54J7601643   Kia          SOUL                SEATTLE                   WA
126329   K5DJP3A54J7602498   Kia          SOUL                Scottsdale                AZ
126330   K5DJP3A54J7604610   Kia          SOUL                BIRMINGHAM                AL
126331   K5DJP3A54J7604722   Kia          SOUL                WEST PALM BEACH           FL
126332   K5DJP3A54J7604865   Kia          SOUL                Winston‐Salem             NC
126333   K5DJP3A54J7604932   Kia          SOUL                HARVEY                    LA
126334   K5DJP3A54J7605286   Kia          SOUL                HOUSTON                   TX
126335   K5DJP3A54J7605420   Kia          SOUL                Statesville               NC
126336   K5DJP3A54J7609452   Kia          SOUL                SOUTHEAST DST OFFC        OK
126337   K5DJP3A54J7609807   Kia          SOUL                PITTSBURGH                PA
126338   K5DJP3A54J7609953   Kia          SOUL                Sterling                  VA
126339   K5DJP3A54J7610049   Kia          SOUL                FORT MYERS                FL
126340   K5DJP3A54J7611007   Kia          SOUL                Miami                     FL
126341   K5DJP3A54J7612321   Kia          SOUL                COLUMBIA                  SC
126342   K5DJP3A54J7612951   Kia          SOUL                COLUMBIA                  SC
126343   K5DJP3A54J7619950   Kia          SOUL                MIAMI                     FL
126344   K5DJP3A54J7620175   Kia          SOUL                FORT MYERS                FL
126345   K5DJP3A54J7621052   Kia          SOUL                BURBANK                   CA
126346   K5DJP3A54J7624355   Kia          SOUL                SEATAC                    WA
126347   K5DJP3A54J7624372   Kia          SOUL                Dallas                    TX
126348   K5DJP3A54J7625473   Kia          SOUL                Hebron                    KY
126349   K5DJP3A54J7901439   Kia          SOUL                Englewood                 CO
126350   K5DJP3A54J7902624   Kia          SOUL                Miami                     FL
126351   K5DJP3A54J7902784   Kia          SOUL                Atlanta                   GA
126352   K5DJP3A54J7904065   Kia          SOUL                San Diego                 CA
126353   K5DJP3A54J7904258   Kia          SOUL                Florissant                MO
126354   K5DJP3A54J7907337   Kia          SOUL                TAMPA                     FL
126355   K5DJP3A55H7416849   Kia          SOUL                SANTA ANA                 CA
126356   K5DJP3A55H7498131   Kia          SOUL                Atlanta                   GA
126357   K5DJP3A55J7598400   Kia          SOUL                TAMPA                     FL
126358   K5DJP3A55J7598803   Kia          SOUL                HOUSTON                   TX
126359   K5DJP3A55J7598994   Kia          SOUL                HOUSTON                   TX
126360   K5DJP3A55J7600095   Kia          SOUL                FORT MYERS                FL
126361   K5DJP3A55J7600503   Kia          SOUL                Burien                    WA
126362   K5DJP3A55J7600646   Kia          SOUL                SARASOTA                  FL
126363   K5DJP3A55J7600999   Kia          SOUL                CORPUS CHRISTI            TX
126364   K5DJP3A55J7601103   Kia          SOUL                TAMPA                     FL
126365   K5DJP3A55J7601229   Kia          SOUL                Tampa                     FL
126366   K5DJP3A55J7602610   Kia          SOUL                FORT LAUDERDALE           FL
126367   K5DJP3A55J7603319   Kia          SOUL                TAMPA                     FL
126368   K5DJP3A55J7605068   Kia          SOUL                ORLANDO                   FL
126369   K5DJP3A55J7605152   Kia          SOUL                FORT MYERS                FL
126370   K5DJP3A55J7605524   Kia          SOUL                Cerritos                  CA
126371   K5DJP3A55J7606611   Kia          SOUL                Lake in the Hil           IL
126372   K5DJP3A55J7609976   Kia          SOUL                RICHMOND                  VA
126373   K5DJP3A55J7610416   Kia          SOUL                SARASOTA                  FL
126374   K5DJP3A55J7610478   Kia          SOUL                HOUSTON                   TX
126375   K5DJP3A55J7610657   Kia          SOUL                Austin                    TX
126376   K5DJP3A55J7610707   Kia          SOUL                OKLAHOMA CITY             OK
126377   K5DJP3A55J7610819   Kia          SOUL                COLLEGE PARK              GA
126378   K5DJP3A55J7611145   Kia          SOUL                FORT MYERS                FL
126379   K5DJP3A55J7611775   Kia          SOUL                WEST PALM BEACH           FL
126380   K5DJP3A55J7612229   Kia          SOUL                TAMPA                     FL
126381   K5DJP3A55J7612456   Kia          SOUL                Tampa                     FL
126382   K5DJP3A55J7619200   Kia          SOUL                ORLANDO                   FL
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126383   K5DJP3A55J7619763   Kia          SOUL                BURBANK                   CA
126384   K5DJP3A55J7620055   Kia          SOUL                Coraopolis                PA
126385   K5DJP3A55J7622047   Kia          SOUL                FORT LAUDERDALE           FL
126386   K5DJP3A55J7622193   Kia          SOUL                Houston                   TX
126387   K5DJP3A55J7623571   Kia          SOUL                ORLANDO                   FL
126388   K5DJP3A55J7623683   Kia          SOUL                Lake in the Hil           IL
126389   K5DJP3A55J7623702   Kia          SOUL                ORLANDO                   FL
126390   K5DJP3A55J7901613   Kia          SOUL                NEWARK                    NJ
126391   K5DJP3A55J7903989   Kia          SOUL                ORLANDO                   FL
126392   K5DJP3A55J7904673   Kia          SOUL                MILWAUKEE                 WI
126393   K5DJP3A55K7663019   Kia          SOUL                Miami                     FL
126394   K5DJP3A56J7563607   Kia          SOUL                Springfield               MO
126395   K5DJP3A56J7597644   Kia          SOUL                Scottsdale                AZ
126396   K5DJP3A56J7598017   Kia          SOUL                ORLANDO                   FL
126397   K5DJP3A56J7600087   Kia          SOUL                Atlanta                   GA
126398   K5DJP3A56J7600803   Kia          SOUL                MINNEAPOLIS               MN
126399   K5DJP3A56J7601188   Kia          SOUL                JACKSONVILLE              FL
126400   K5DJP3A56J7602308   Kia          SOUL                ORLANDO                   FL
126401   K5DJP3A56J7602924   Kia          SOUL                Cincinnati                OH
126402   K5DJP3A56J7602986   Kia          SOUL                TAMPA                     FL
126403   K5DJP3A56J7603233   Kia          SOUL                Houston                   TX
126404   K5DJP3A56J7603877   Kia          SOUL                ORLANDO                   FL
126405   K5DJP3A56J7604012   Kia          SOUL                Tampa                     FL
126406   K5DJP3A56J7604723   Kia          SOUL                DETROIT                   MI
126407   K5DJP3A56J7605628   Kia          SOUL                ONTARIO                   CA
126408   K5DJP3A56J7606486   Kia          SOUL                ORLANDO                   FL
126409   K5DJP3A56J7607363   Kia          SOUL                SAN ANTONIO               TX
126410   K5DJP3A56J7607797   Kia          SOUL                Atlanta                   GA
126411   K5DJP3A56J7609050   Kia          SOUL                Austin                    TX
126412   K5DJP3A56J7609906   Kia          SOUL                Santa Clara               CA
126413   K5DJP3A56J7610733   Kia          SOUL                DETROIT                   MI
126414   K5DJP3A56J7611008   Kia          SOUL                Harlingen                 TX
126415   K5DJP3A56J7611638   Kia          SOUL                FORT LAUDERDALE           FL
126416   K5DJP3A56J7611705   Kia          SOUL                FORT MYERS                FL
126417   K5DJP3A56J7611736   Kia          SOUL                JACKSONVILLE              FL
126418   K5DJP3A56J7611770   Kia          SOUL                DETROIT                   MI
126419   K5DJP3A56J7613082   Kia          SOUL                Atlanta                   GA
126420   K5DJP3A56J7616872   Kia          SOUL                Phoenix                   AZ
126421   K5DJP3A56J7617259   Kia          SOUL                BURBANK                   CA
126422   K5DJP3A56J7620257   Kia          SOUL                TAMPA                     FL
126423   K5DJP3A56J7623207   Kia          SOUL                Austell                   GA
126424   K5DJP3A56J7625300   Kia          SOUL                TAMPA                     FL
126425   K5DJP3A56J7625684   Kia          SOUL                Plainfield                IN
126426   K5DJP3A56J7626012   Kia          SOUL                WEST PALM BEACH           FL
126427   K5DJP3A56J7626964   Kia          SOUL                FORT MYERS                FL
126428   K5DJP3A56J7902611   Kia          SOUL                Dallas                    TX
126429   K5DJP3A56J7903001   Kia          SOUL                MEDINA                    OH
126430   K5DJP3A56J7903046   Kia          SOUL                DAYTONA BEACH             FL
126431   K5DJP3A56J7903399   Kia          SOUL                WEST PALM BEACH           FL
126432   K5DJP3A56J7904097   Kia          SOUL                Oklahoma City             OK
126433   K5DJP3A56J7904391   Kia          SOUL                Baltimore                 MD
126434   K5DJP3A56J7904570   Kia          SOUL                Houston                   TX
126435   K5DJP3A56J7905315   Kia          SOUL                Houston                   TX
126436   K5DJP3A56J7905699   Kia          SOUL                ATLANTA                   GA
126437   K5DJP3A56J7906061   Kia          SOUL                SANTA ANA                 CA
126438   K5DJP3A56K7666155   Kia          SOUL                JACKSONVILLE              FL
126439   K5DJP3A56K7915330   Kia          SOUL                Dania                     FL
126440   K5DJP3A57J7557119   Kia          SOUL                Norwalk                   CA
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126441   K5DJP3A57J7592579   Kia          SOUL                FORT LAUDERDALE           FL
126442   K5DJP3A57J7598611   Kia          SOUL                GRAND RAPIDS              MI
126443   K5DJP3A57J7599516   Kia          SOUL                North Dighton             MA
126444   K5DJP3A57J7600390   Kia          SOUL                HOUSTON                   TX
126445   K5DJP3A57J7600695   Kia          SOUL                Dallas                    TX
126446   K5DJP3A57J7601409   Kia          SOUL                BURBANK                   CA
126447   K5DJP3A57J7602656   Kia          SOUL                SOUTHWEST DEALER D        TX
126448   K5DJP3A57J7602981   Kia          SOUL                ORLANDO                   FL
126449   K5DJP3A57J7603340   Kia          SOUL                Massapequa                NY
126450   K5DJP3A57J7603399   Kia          SOUL                MIAMI                     FL
126451   K5DJP3A57J7603807   Kia          SOUL                ORLANDO                   FL
126452   K5DJP3A57J7605007   Kia          SOUL                Dallas                    TX
126453   K5DJP3A57J7605749   Kia          SOUL                AUSTIN                    TX
126454   K5DJP3A57J7606786   Kia          SOUL                Matteson                  IL
126455   K5DJP3A57J7606920   Kia          SOUL                ORLANDO                   FL
126456   K5DJP3A57J7606934   Kia          SOUL                ORLANDO                   FL
126457   K5DJP3A57J7608070   Kia          SOUL                CHICAGO                   IL
126458   K5DJP3A57J7608828   Kia          SOUL                DALLAS                    TX
126459   K5DJP3A57J7609543   Kia          SOUL                Houston                   TX
126460   K5DJP3A57J7609946   Kia          SOUL                FORT MYERS                FL
126461   K5DJP3A57J7610224   Kia          SOUL                Chicago                   IL
126462   K5DJP3A57J7610417   Kia          SOUL                WEST PALM BEACH           FL
126463   K5DJP3A57J7611163   Kia          SOUL                Irving                    TX
126464   K5DJP3A57J7611406   Kia          SOUL                FORT LAUDERDALE           FL
126465   K5DJP3A57J7611650   Kia          SOUL                Stone Mountain            GA
126466   K5DJP3A57J7611843   Kia          SOUL                INDIANAPOLIS              IN
126467   K5DJP3A57J7612118   Kia          SOUL                Irving                    TX
126468   K5DJP3A57J7612328   Kia          SOUL                ORLANDO                   FL
126469   K5DJP3A57J7612359   Kia          SOUL                FORT MYERS                FL
126470   K5DJP3A57J7612488   Kia          SOUL                HOUSTON                   TX
126471   K5DJP3A57J7612670   Kia          SOUL                Florissant                MO
126472   K5DJP3A57J7619098   Kia          SOUL                Rockville Centr           NY
126473   K5DJP3A57J7619117   Kia          SOUL                FORT LAUDERDALE           FL
126474   K5DJP3A57J7620154   Kia          SOUL                SANTA ANA                 CA
126475   K5DJP3A57J7622048   Kia          SOUL                JACKSONVILLE              FL
126476   K5DJP3A57J7622177   Kia          SOUL                ORLANDO                   FL
126477   K5DJP3A57J7622194   Kia          SOUL                FORT MYERS                FL
126478   K5DJP3A57J7623393   Kia          SOUL                Austell                   GA
126479   K5DJP3A57J7623698   Kia          SOUL                MIAMI                     FL
126480   K5DJP3A57J7624043   Kia          SOUL                RICHMOND                  VA
126481   K5DJP3A57J7624558   Kia          SOUL                Ft. Myers                 FL
126482   K5DJP3A57J7626343   Kia          SOUL                HOUSTON                   TX
126483   K5DJP3A57J7626990   Kia          SOUL                BURBANK                   CA
126484   K5DJP3A57J7901595   Kia          SOUL                COLUMBIA                  SC
126485   K5DJP3A57J7902620   Kia          SOUL                FLORIDA DEALER DIR        FL
126486   K5DJP3A57J7902651   Kia          SOUL                Euless                    TX
126487   K5DJP3A57J7904075   Kia          SOUL                KENNER                    LA
126488   K5DJP3A57J7905100   Kia          SOUL                DAYTONA BEACH             FL
126489   K5DJP3A57J7906876   Kia          SOUL                RALEIGH, DURHAM           NC
126490   K5DJP3A57J7907283   Kia          SOUL                TAMPA                     FL
126491   K5DJP3A58J7556657   Kia          SOUL                CHICAGO                   IL
126492   K5DJP3A58J7564709   Kia          SOUL                GYPSUM                    CO
126493   K5DJP3A58J7593370   Kia          SOUL                TAMPA                     FL
126494   K5DJP3A58J7593580   Kia          SOUL                Fredericksburg            VA
126495   K5DJP3A58J7597631   Kia          SOUL                ORLANDO                   FL
126496   K5DJP3A58J7597709   Kia          SOUL                SAN JOSE                  CA
126497   K5DJP3A58J7599945   Kia          SOUL                TAMPA                     FL
126498   K5DJP3A58J7600043   Kia          SOUL                Baltimore                 MD
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126499   K5DJP3A58J7601127   Kia          SOUL                TALLAHASSEE               F
126500   K5DJP3A58J7601841   Kia          SOUL                GREENWOOD                 NE
126501   K5DJP3A58J7603010   Kia          SOUL                Richmond                  VA
126502   K5DJP3A58J7604304   Kia          SOUL                SOUTHEAST DST OFFC        OK
126503   K5DJP3A58J7605310   Kia          SOUL                SAINT LOUIS               MO
126504   K5DJP3A58J7605632   Kia          SOUL                Irving                    TX
126505   K5DJP3A58J7609163   Kia          SOUL                Springfield               MO
126506   K5DJP3A58J7609468   Kia          SOUL                Warr Acres                OK
126507   K5DJP3A58J7609535   Kia          SOUL                DAYTONA BEACH             FL
126508   K5DJP3A58J7610085   Kia          SOUL                TAMPA                     FL
126509   K5DJP3A58J7610393   Kia          SOUL                BOSTON                    MA
126510   K5DJP3A58J7611804   Kia          SOUL                ORLANDO                   FL
126511   K5DJP3A58J7612175   Kia          SOUL                WEST PALM BEACH           FL
126512   K5DJP3A58J7618445   Kia          SOUL                WEST PALM BEACH           FL
126513   K5DJP3A58J7619207   Kia          SOUL                TAMPA                     FL
126514   K5DJP3A58J7619840   Kia          SOUL                BURBANK                   CA
126515   K5DJP3A58J7620020   Kia          SOUL                NASHVILLE                 TN
126516   K5DJP3A58J7621331   Kia          SOUL                MIAMI                     FL
126517   K5DJP3A58J7624035   Kia          SOUL                Irving                    TX
126518   K5DJP3A58J7624469   Kia          SOUL                ORLANDO                   FL
126519   K5DJP3A58J7624942   Kia          SOUL                SARASOTA                  FL
126520   K5DJP3A58J7625122   Kia          SOUL                MORROW                    GA
126521   K5DJP3A58J7625377   Kia          SOUL                MORROW                    GA
126522   K5DJP3A58J7625878   Kia          SOUL                CHICAGO                   IL
126523   K5DJP3A58J7903128   Kia          SOUL                Miami                     FL
126524   K5DJP3A58J7904683   Kia          SOUL                Dallas                    TX
126525   K5DJP3A58J7904800   Kia          SOUL                FORT MYERS                FL
126526   K5DJP3A58J7905025   Kia          SOUL                ALBUQERQUE                NM
126527   K5DJP3A58J7905428   Kia          SOUL                Detroit                   MI
126528   K5DJP3A59J7593622   Kia          SOUL                SARASOTA                  FL
126529   K5DJP3A59J7596259   Kia          SOUL                PALM SPRINGS              CA
126530   K5DJP3A59J7597136   Kia          SOUL                Las Vegas                 NV
126531   K5DJP3A59J7598643   Kia          SOUL                Irving                    TX
126532   K5DJP3A59J7599095   Kia          SOUL                FORT LAUDERDALE           FL
126533   K5DJP3A59J7599873   Kia          SOUL                FORT MYERS                FL
126534   K5DJP3A59J7602352   Kia          SOUL                Cranberry Towns           PA
126535   K5DJP3A59J7602612   Kia          SOUL                Manheim                   PA
126536   K5DJP3A59J7603534   Kia          SOUL                FORT MYERS                FL
126537   K5DJP3A59J7604330   Kia          SOUL                SANTA ANA                 CA
126538   K5DJP3A59J7604862   Kia          SOUL                DAYTONA BEACH             FL
126539   K5DJP3A59J7605915   Kia          SOUL                ORLANDO                   FL
126540   K5DJP3A59J7606014   Kia          SOUL                NORTH PAC                 CA
126541   K5DJP3A59J7606031   Kia          SOUL                FORT LAUDERDALE           FL
126542   K5DJP3A59J7606367   Kia          SOUL                SHREVEPORT                LA
126543   K5DJP3A59J7606496   Kia          SOUL                Manheim                   PA
126544   K5DJP3A59J7607079   Kia          SOUL                Omaha                     NE
126545   K5DJP3A59J7607700   Kia          SOUL                Atlanta                   GA
126546   K5DJP3A59J7607793   Kia          SOUL                SOUTH SAN FRANCISO        CA
126547   K5DJP3A59J7609964   Kia          SOUL                ORLANDO                   FL
126548   K5DJP3A59J7610046   Kia          SOUL                Bensalem                  PA
126549   K5DJP3A59J7611715   Kia          SOUL                FORT LAUDERDALE           FL
126550   K5DJP3A59J7611780   Kia          SOUL                FORT MYERS                FL
126551   K5DJP3A59J7611861   Kia          SOUL                TAMPA                     FL
126552   K5DJP3A59J7612041   Kia          SOUL                Memphis                   TN
126553   K5DJP3A59J7612105   Kia          SOUL                FORT MYERS                FL
126554   K5DJP3A59J7616493   Kia          SOUL                FORT MYERS                FL
126555   K5DJP3A59J7618440   Kia          SOUL                TAMPA                     FL
126556   K5DJP3A59J7621287   Kia          SOUL                WEST PALM BEACH           FL
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126557   K5DJP3A59J7623055   Kia          SOUL                MIAMI                     FL
126558   K5DJP3A59J7623203   Kia          SOUL                ORLANDO                   FL
126559   K5DJP3A59J7624013   Kia          SOUL                FORT MYERS                FL
126560   K5DJP3A59J7624139   Kia          SOUL                MIAMI                     FL
126561   K5DJP3A59J7625713   Kia          SOUL                FORT MYERS                FL
126562   K5DJP3A59J7625890   Kia          SOUL                ORLANDO                   FL
126563   K5DJP3A59J7901095   Kia          SOUL                Irving                    TX
126564   K5DJP3A59J7903395   Kia          SOUL                FORT MYERS                FL
126565   K5DJP3A59J7903431   Kia          SOUL                KENNER                    LA
126566   K5DJP3A59J7903946   Kia          SOUL                Roseville                 CA
126567   K5DJP3A59J7904126   Kia          SOUL                Atlanta                   GA
126568   K5DJP3A59J7904241   Kia          SOUL                Memphis                   TN
126569   K5DJP3A59J7904675   Kia          SOUL                FORT MYERS                FL
126570   K5DJP3A59J7907186   Kia          SOUL                ORLANDO                   FL
126571   K5DJP3A59J7907351   Kia          SOUL                BOSTON                    MA
126572   K5DJP3A59K7659104   Kia          SOUL                Miami                     FL
126573   K5DJP3A5XJ7593449   Kia          SOUL                HARVEY                    LA
126574   K5DJP3A5XJ7593483   Kia          SOUL                EVANSVILLE                IN
126575   K5DJP3A5XJ7596450   Kia          SOUL                PALM SPRINGS              CA
126576   K5DJP3A5XJ7596867   Kia          SOUL                Smithtown                 NY
126577   K5DJP3A5XJ7597839   Kia          SOUL                FLORIDA DEALER DIR        FL
126578   K5DJP3A5XJ7599171   Kia          SOUL                TAMPA                     FL
126579   K5DJP3A5XJ7600058   Kia          SOUL                Houston                   TX
126580   K5DJP3A5XJ7601002   Kia          SOUL                San Antonio               TX
126581   K5DJP3A5XJ7601629   Kia          SOUL                FORT LAUDERDALE           FL
126582   K5DJP3A5XJ7602313   Kia          SOUL                LOS ANGELES               CA
126583   K5DJP3A5XJ7603333   Kia          SOUL                FAYETTEVILLE              GA
126584   K5DJP3A5XJ7604854   Kia          SOUL                WARWICK                   RI
126585   K5DJP3A5XJ7605597   Kia          SOUL                DES MOINES                IA
126586   K5DJP3A5XJ7606622   Kia          SOUL                Atlanta                   GA
126587   K5DJP3A5XJ7606958   Kia          SOUL                SAN ANTONIO               TX
126588   K5DJP3A5XJ7607642   Kia          SOUL                Pompano Beach             FL
126589   K5DJP3A5XJ7608077   Kia          SOUL                Myrtle Beach              SC
126590   K5DJP3A5XJ7609049   Kia          SOUL                SYRACUSE                  NY
126591   K5DJP3A5XJ7609908   Kia          SOUL                BURBANK                   CA
126592   K5DJP3A5XJ7609942   Kia          SOUL                DETROIT                   MI
126593   K5DJP3A5XJ7610069   Kia          SOUL                Atlanta                   GA
126594   K5DJP3A5XJ7610380   Kia          SOUL                ORLANDO                   FL
126595   K5DJP3A5XJ7610623   Kia          SOUL                DALLAS                    TX
126596   K5DJP3A5XJ7611738   Kia          SOUL                Ft. Myers                 FL
126597   K5DJP3A5XJ7611769   Kia          SOUL                TAMPA                     FL
126598   K5DJP3A5XJ7611819   Kia          SOUL                TAMPA                     FL
126599   K5DJP3A5XJ7612257   Kia          SOUL                Davie                     FL
126600   K5DJP3A5XJ7612680   Kia          SOUL                SAVANNAH                  GA
126601   K5DJP3A5XJ7618267   Kia          SOUL                ORLANDO                   FL
126602   K5DJP3A5XJ7618625   Kia          SOUL                FORT LAUDERDALE           FL
126603   K5DJP3A5XJ7618852   Kia          SOUL                ORLANDO                   FL
126604   K5DJP3A5XJ7619841   Kia          SOUL                Santa Clara               CA
126605   K5DJP3A5XJ7620066   Kia          SOUL                FORT LAUDERDALE           FL
126606   K5DJP3A5XJ7623050   Kia          SOUL                BIRMINGHAM                AL
126607   K5DJP3A5XJ7626014   Kia          SOUL                WEST PALM BEACH           FL
126608   K5DJP3A5XJ7898739   Kia          SOUL                Houston                   TX
126609   K5DJP3A5XJ7902613   Kia          SOUL                HOUSTON                   TX
126610   K5DJP3A5XJ7902630   Kia          SOUL                Atlanta                   GA
126611   K5DJP3A5XJ7902790   Kia          SOUL                Fairburn                  GA
126612   K5DJP3A5XJ7904636   Kia          SOUL                SAVANNAH                  GA
126613   K5DJP3A5XJ7904684   Kia          SOUL                SOUTHEAST DST OFFC        OK
126614   K5DJP3A5XJ7904751   Kia          SOUL                SALT LAKE CITY            US
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126615   K5DJP3A5XJ7905236   Kia         SOUL                Atlanta                   GA
126616   K5DJP3A5XJ7906841   Kia         SOUL                JACKSONVILLE              FL
126617   K5DJP3A5XK7694234   Kia         SOUL                MIAMI                     FL
126618   K5DPM3ACXK7555951   Kia         SPORTAGE            Miami                     FL
126619   K5DPMCAC3K7560263   Kia         SPORTAGE            Miami                     FL
126620   KL4CJ1SB1HB044789   GM          ENCORE              SAN DIEGO                 CA
126621   KL4CJ1SB3HB136275   GM          ENCORE              Lynn                      MA
126622   KL4CJ1SB4HB009776   GM          ENCORE              Chandler                  AZ
126623   KL4CJ1SB4HB080945   GM          ENCORE              Lynn                      MA
126624   KL4CJ1SB4HB134180   GM          ENCORE              Phoenix                   AZ
126625   KL4CJ1SM2GB578772   GM          ENCORE              PHILADELPHIA              PA
126626   KL4CJ1SM8GB579988   GM          ENCORE              CHICAGO                   IL
126627   KL4CJ2SM9GB600904   GM          ENCORE              NORTH PAC                 CA
126628   KL4CJASB0HB179861   GM          ENCORE              Chicago                   IL
126629   KL4CJASB0LB024459   GM          ENCORE              Memphis                   TN
126630   KL4CJASB0LB024526   GM          ENCORE              Harlingen                 TX
126631   KL4CJASB0LB024574   GM          ENCORE              ALBUQUERQUE               NM
126632   KL4CJASB0LB024607   GM          ENCORE              GRAND RAPIDS              MI
126633   KL4CJASB0LB025109   GM          ENCORE              KANSAS CITY               MO
126634   KL4CJASB0LB025319   GM          ENCORE              COLUMBIA                  SC
126635   KL4CJASB0LB025451   GM          ENCORE              Lexington                 KY
126636   KL4CJASB0LB025563   GM          ENCORE              Houston                   TX
126637   KL4CJASB0LB025675   GM          ENCORE              Nashville                 TN
126638   KL4CJASB0LB025692   GM          ENCORE              Louisville                KY
126639   KL4CJASB0LB026230   GM          ENCORE              PHOENIX                   AZ
126640   KL4CJASB0LB026311   GM          ENCORE              PENSACOLA                 FL
126641   KL4CJASB0LB026549   GM          ENCORE              Hapeville                 GA
126642   KL4CJASB0LB026597   GM          ENCORE              NASHVILLE                 TN
126643   KL4CJASB0LB026874   GM          ENCORE              PORTLAND                  ME
126644   KL4CJASB0LB026941   GM          ENCORE              STERLING                  VA
126645   KL4CJASB0LB026972   GM          ENCORE              Live Oak                  TX
126646   KL4CJASB0LB027250   GM          ENCORE              Dallas                    TX
126647   KL4CJASB0LB027314   GM          ENCORE              Memphis                   TN
126648   KL4CJASB0LB027331   GM          ENCORE              ATLANTA                   GA
126649   KL4CJASB0LB027961   GM          ENCORE              PHOENIX                   AZ
126650   KL4CJASB0LB028432   GM          ENCORE              Windsor Locks             CT
126651   KL4CJASB0LB028544   GM          ENCORE              FORT MYERS                FL
126652   KL4CJASB1FB153783   GM          ENCORE              Philadelphia              PA
126653   KL4CJASB1GB735223   GM          ENCORE              MIAMI                     FL
126654   KL4CJASB1HB007516   GM          ENCORE              BATON ROUGE               LA
126655   KL4CJASB1LB024583   GM          ENCORE              COLUMBIA                  SC
126656   KL4CJASB1LB024650   GM          ENCORE              Slidell                   LA
126657   KL4CJASB1LB024678   GM          ENCORE              Charlotte                 NC
126658   KL4CJASB1LB025264   GM          ENCORE              KENNER                    LA
126659   KL4CJASB1LB025331   GM          ENCORE              PHOENIX                   AZ
126660   KL4CJASB1LB025359   GM          ENCORE              KENNER                    LA
126661   KL4CJASB1LB025426   GM          ENCORE              Hamilton                  OH
126662   KL4CJASB1LB025507   GM          ENCORE              Hendersonville            TN
126663   KL4CJASB1LB025586   GM          ENCORE              Killeen                   TX
126664   KL4CJASB1LB025622   GM          ENCORE              Tampa                     FL
126665   KL4CJASB1LB025877   GM          ENCORE              RALIEGH                   NC
126666   KL4CJASB1LB026026   GM          ENCORE              Scottsdale                AZ
126667   KL4CJASB1LB026236   GM          ENCORE              Dallas                    TX
126668   KL4CJASB1LB026396   GM          ENCORE              TUCSON                    US
126669   KL4CJASB1LB026558   GM          ENCORE              Killeen                   TX
126670   KL4CJASB1LB026656   GM          ENCORE              Dallas                    TX
126671   KL4CJASB1LB026687   GM          ENCORE              FORT MYERS                FL
126672   KL4CJASB1LB026785   GM          ENCORE              HOUSTON                   TX
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126673   KL4CJASB1LB026804   GM           ENCORE              San Antonio               TX
126674   KL4CJASB1LB027354   GM           ENCORE              JACKSON                   MS
126675   KL4CJASB1LB027483   GM           ENCORE              Irving                    TX
126676   KL4CJASB1LB027600   GM           ENCORE              Irving                    TX
126677   KL4CJASB1LB027628   GM           ENCORE              CLEVELAND                 OH
126678   KL4CJASB1LB027709   GM           ENCORE              PHOENIX                   AZ
126679   KL4CJASB1LB028035   GM           ENCORE              PHOENIX                   AZ
126680   KL4CJASB1LB028455   GM           ENCORE              PHOENIX                   AZ
126681   KL4CJASB2GB650925   GM           ENCORE              Elkridge                  MD
126682   KL4CJASB2HB117216   GM           ENCORE              Ventura                   CA
126683   KL4CJASB2HB174970   GM           ENCORE              CHICAGO                   IL
126684   KL4CJASB2HB195799   GM           ENCORE              Lexington                 KY
126685   KL4CJASB2KB785752   GM           ENCORE              DALLAS                    TX
126686   KL4CJASB2LB024494   GM           ENCORE              KENNER                    LA
126687   KL4CJASB2LB024575   GM           ENCORE              MELROSE PARK              IL
126688   KL4CJASB2LB024592   GM           ENCORE              LOUISVILLE                KY
126689   KL4CJASB2LB024639   GM           ENCORE              Irving                    TX
126690   KL4CJASB2LB024706   GM           ENCORE              Scottsdale                AZ
126691   KL4CJASB2LB024754   GM           ENCORE              Greer                     SC
126692   KL4CJASB2LB024785   GM           ENCORE              Bridgeton                 MO
126693   KL4CJASB2LB024835   GM           ENCORE              LOUISVILLE                KY
126694   KL4CJASB2LB025080   GM           ENCORE              KANSAS CITY               MO
126695   KL4CJASB2LB025354   GM           ENCORE              Killeen                   TX
126696   KL4CJASB2LB025791   GM           ENCORE              Nashville                 TN
126697   KL4CJASB2LB026066   GM           ENCORE              FORT MYERS                FL
126698   KL4CJASB2LB026360   GM           ENCORE              Cincinnati                OH
126699   KL4CJASB2LB026388   GM           ENCORE              CLEARWATER                FL
126700   KL4CJASB2LB026519   GM           ENCORE              Kansas City               MO
126701   KL4CJASB2LB026746   GM           ENCORE              PHOENIX                   AZ
126702   KL4CJASB2LB027413   GM           ENCORE              Nashville                 TN
126703   KL4CJASB2LB027430   GM           ENCORE              NASHVILLE                 TN
126704   KL4CJASB2LB028240   GM           ENCORE              MEDINA                    OH
126705   KL4CJASB2LB028299   GM           ENCORE              Slidell                   LA
126706   KL4CJASB2LB028335   GM           ENCORE              Clearwater                FL
126707   KL4CJASB2LB028397   GM           ENCORE              Phoenix                   AZ
126708   KL4CJASB3FB255411   GM           ENCORE              Dania                     FL
126709   KL4CJASB3GB683951   GM           ENCORE              NEW ENGLAND DEALER        MA
126710   KL4CJASB3HB011518   GM           ENCORE              SAN ANTONIO               TX
126711   KL4CJASB3HB186898   GM           ENCORE              SAN DIEGO                 CA
126712   KL4CJASB3JB578141   GM           ENCORE              N MIAMI BEACH             FL
126713   KL4CJASB3KB703608   GM           ENCORE              LAS VEGAS                 NV
126714   KL4CJASB3LB024438   GM           ENCORE              BOSTON                    MA
126715   KL4CJASB3LB024570   GM           ENCORE              SAN ANTONIO               TX
126716   KL4CJASB3LB024603   GM           ENCORE              MIAMI                     FL
126717   KL4CJASB3LB024617   GM           ENCORE              Nashville                 TN
126718   KL4CJASB3LB024634   GM           ENCORE              Warr Acres                OK
126719   KL4CJASB3LB024679   GM           ENCORE              FORT MYERS                FL
126720   KL4CJASB3LB025217   GM           ENCORE              Irving                    TX
126721   KL4CJASB3LB025329   GM           ENCORE              CLARKSVILLE               IN
126722   KL4CJASB3LB025492   GM           ENCORE              KENNER                    LA
126723   KL4CJASB3LB025511   GM           ENCORE              ATLANTA                   GA
126724   KL4CJASB3LB025606   GM           ENCORE              INDIANAPOLIS              IN
126725   KL4CJASB3LB025640   GM           ENCORE              JACKSON                   MS
126726   KL4CJASB3LB025668   GM           ENCORE              Nashville                 TN
126727   KL4CJASB3LB025766   GM           ENCORE              INDIANAPOLIS              IN
126728   KL4CJASB3LB025802   GM           ENCORE              Hendersonville            TN
126729   KL4CJASB3LB025895   GM           ENCORE              SALT LAKE CITY            UT
126730   KL4CJASB3LB026058   GM           ENCORE              Cincinnati                OH
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126731   KL4CJASB3LB026285   GM           ENCORE              TUCSON                    AZ
126732   KL4CJASB3LB026321   GM           ENCORE              KENNER                    LA
126733   KL4CJASB3LB026500   GM           ENCORE              Harvey                    LA
126734   KL4CJASB3LB026965   GM           ENCORE              CLARKSVILLE               IN
126735   KL4CJASB3LB027064   GM           ENCORE              CLARKSVILLE               IN
126736   KL4CJASB3LB027257   GM           ENCORE              COLUMBIA                  SC
126737   KL4CJASB3LB027338   GM           ENCORE              Memphis                   TN
126738   KL4CJASB3LB027629   GM           ENCORE              N. Palm Beach             FL
126739   KL4CJASB3LB027663   GM           ENCORE              Cincinnati                OH
126740   KL4CJASB3LB027744   GM           ENCORE              TUCSON                    AZ
126741   KL4CJASB3LB027761   GM           ENCORE              Hendersonville            TN
126742   KL4CJASB3LB027825   GM           ENCORE              Denver                    CO
126743   KL4CJASB3LB027873   GM           ENCORE              PHOENIX                   AZ
126744   KL4CJASB3LB027954   GM           ENCORE              NASHVILLE                 TN
126745   KL4CJASB3LB027985   GM           ENCORE              Harvey                    LA
126746   KL4CJASB3LB028568   GM           ENCORE              Fort Worth                TX
126747   KL4CJASB4FB194733   GM           ENCORE              Chicago                   IL
126748   KL4CJASB4FB242439   GM           ENCORE              Matteson                  IL
126749   KL4CJASB4GB677267   GM           ENCORE              Columbus                  OH
126750   KL4CJASB4GB699334   GM           ENCORE              SANTA ANA                 CA
126751   KL4CJASB4GB735376   GM           ENCORE              BURBANK                   CA
126752   KL4CJASB4HB019739   GM           ENCORE              PHOENIX                   AZ
126753   KL4CJASB4HB259485   GM           ENCORE              LOS ANGELES               CA
126754   KL4CJASB4KB708848   GM           ENCORE              Jacksonville              FL
126755   KL4CJASB4LB024433   GM           ENCORE              COLUMBIA                  SC
126756   KL4CJASB4LB024531   GM           ENCORE              Florissant                MO
126757   KL4CJASB4LB024674   GM           ENCORE              COLLEGE PARK              GA
126758   KL4CJASB4LB024772   GM           ENCORE              KANSAS CITY               MO
126759   KL4CJASB4LB024884   GM           ENCORE              Jacksonville              FL
126760   KL4CJASB4LB025128   GM           ENCORE              KNOXVILLE                 TN
126761   KL4CJASB4LB025341   GM           ENCORE              N. Palm Beach             FL
126762   KL4CJASB4LB025372   GM           ENCORE              Houston                   TX
126763   KL4CJASB4LB025498   GM           ENCORE              FORT MYERS                FL
126764   KL4CJASB4LB025789   GM           ENCORE              Leesburg                  VA
126765   KL4CJASB4LB025839   GM           ENCORE              Baltimore                 MD
126766   KL4CJASB4LB026022   GM           ENCORE              Dallas                    TX
126767   KL4CJASB4LB026036   GM           ENCORE              PHOENIX                   AZ
126768   KL4CJASB4LB026103   GM           ENCORE              Irving                    TX
126769   KL4CJASB4LB026375   GM           ENCORE              Houston                   TX
126770   KL4CJASB4LB026456   GM           ENCORE              Irving                    TX
126771   KL4CJASB4LB026747   GM           ENCORE              FORT MYERS                FL
126772   KL4CJASB4LB026750   GM           ENCORE              ATLANTA                   GA
126773   KL4CJASB4LB026960   GM           ENCORE              CLARKSVILLE               IN
126774   KL4CJASB4LB027610   GM           ENCORE              Winter Park               FL
126775   KL4CJASB4LB027798   GM           ENCORE              Hamilton                  OH
126776   KL4CJASB4LB027901   GM           ENCORE              Harlingen                 TX
126777   KL4CJASB4LB028160   GM           ENCORE              Harvey                    LA
126778   KL4CJASB4LB028241   GM           ENCORE              NASHVILLE                 TN
126779   KL4CJASB4LB028322   GM           ENCORE              Orlando                   FL
126780   KL4CJASB4LB028420   GM           ENCORE              San Antonio               TX
126781   KL4CJASB5FB268242   GM           ENCORE              SOUTHEAST DST OFFC        OK
126782   KL4CJASB5GB564461   GM           ENCORE              MEDINA                    OH
126783   KL4CJASB5GB704721   GM           ENCORE              STERLING                  VA
126784   KL4CJASB5HB019426   GM           ENCORE              PHOENIX                   AZ
126785   KL4CJASB5HB027459   GM           ENCORE              Las Vegas                 NV
126786   KL4CJASB5HB052278   GM           ENCORE              CHANDLER                  AZ
126787   KL4CJASB5JB581915   GM           ENCORE              SAN FRANCISCO             CA
126788   KL4CJASB5JB600690   GM           ENCORE              FAYETTEVILLE              GA
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126789   KL4CJASB5LB024442   GM           ENCORE              Nashville                 TN
126790   KL4CJASB5LB024554   GM           ENCORE              Cleveland                 OH
126791   KL4CJASB5LB024778   GM           ENCORE              ATLANTA                   GA
126792   KL4CJASB5LB025283   GM           ENCORE              FORT MYERS                FL
126793   KL4CJASB5LB025347   GM           ENCORE              Winston‐Salem             NC
126794   KL4CJASB5LB025350   GM           ENCORE              Hendersonville            TN
126795   KL4CJASB5LB025459   GM           ENCORE              Tampa                     FL
126796   KL4CJASB5LB025669   GM           ENCORE              Albuquerque               NM
126797   KL4CJASB5LB025686   GM           ENCORE              ATLANTA                   GA
126798   KL4CJASB5LB025963   GM           ENCORE              FORT MYERS                FL
126799   KL4CJASB5LB026076   GM           ENCORE              Houston                   TX
126800   KL4CJASB5LB026286   GM           ENCORE              UNION CITY                GA
126801   KL4CJASB5LB026420   GM           ENCORE              Phoenix                   AZ
126802   KL4CJASB5LB026627   GM           ENCORE              Atlanta                   GA
126803   KL4CJASB5LB027261   GM           ENCORE              Denver                    CO
126804   KL4CJASB5LB027373   GM           ENCORE              Memphis                   TN
126805   KL4CJASB5LB027728   GM           ENCORE              PHOENIX                   AZ
126806   KL4CJASB5LB027860   GM           ENCORE              NEW ORLEANS               LA
126807   KL4CJASB5LB027891   GM           ENCORE              Jacksonville              FL
126808   KL4CJASB5LB027972   GM           ENCORE              Florissant                MO
126809   KL4CJASB5LB028264   GM           ENCORE              CHARLOTTE                 NC
126810   KL4CJASB5LB028474   GM           ENCORE              ALBUQUERQUE               NM
126811   KL4CJASB6GB726887   GM           ENCORE              ORLANDO                   FL
126812   KL4CJASB6HB059112   GM           ENCORE              Orlando                   FL
126813   KL4CJASB6JB558059   GM           ENCORE              SAN FRANCISCO             CA
126814   KL4CJASB6JB663488   GM           ENCORE              Hattiesburg               MS
126815   KL4CJASB6LB024773   GM           ENCORE              Harvey                    LA
126816   KL4CJASB6LB025129   GM           ENCORE              San Antonio               TX
126817   KL4CJASB6LB025230   GM           ENCORE              Florissant                MO
126818   KL4CJASB6LB025681   GM           ENCORE              Dallas                    TX
126819   KL4CJASB6LB025759   GM           ENCORE              Memphis                   TN
126820   KL4CJASB6LB025857   GM           ENCORE              Denver                    CO
126821   KL4CJASB6LB026586   GM           ENCORE              MILWAUKEE                 WI
126822   KL4CJASB6LB026667   GM           ENCORE              COLUMBIA                  SC
126823   KL4CJASB6LB026703   GM           ENCORE              LITTLE ROCK               AR
126824   KL4CJASB6LB027267   GM           ENCORE              Clearwater                FL
126825   KL4CJASB6LB027575   GM           ENCORE              Tampa                     FL
126826   KL4CJASB6LB027656   GM           ENCORE              PHOENIX                   AZ
126827   KL4CJASB6LB027849   GM           ENCORE              Clearwater                FL
126828   KL4CJASB6LB028094   GM           ENCORE              Estero                    FL
126829   KL4CJASB6LB028385   GM           ENCORE              Hamilton                  OH
126830   KL4CJASB6LB028497   GM           ENCORE              Nashville                 TN
126831   KL4CJASB6LB028502   GM           ENCORE              Louisville                KY
126832   KL4CJASB6LB028614   GM           ENCORE              Irving                    TX
126833   KL4CJASB7GB647681   GM           ENCORE              Atlanta                   GA
126834   KL4CJASB7HB071396   GM           ENCORE              FORT MYERS                FL
126835   KL4CJASB7JB552965   GM           ENCORE              FORT MYERS                FL
126836   KL4CJASB7JB603865   GM           ENCORE              Torrance                  CA
126837   KL4CJASB7LB024488   GM           ENCORE              RALEIGH                   NC
126838   KL4CJASB7LB024930   GM           ENCORE              Austin                    TX
126839   KL4CJASB7LB025396   GM           ENCORE              Florissant                MO
126840   KL4CJASB7LB025723   GM           ENCORE              Killeen                   TX
126841   KL4CJASB7LB025754   GM           ENCORE              Denver                    CO
126842   KL4CJASB7LB026130   GM           ENCORE              ATLANTA                   GA
126843   KL4CJASB7LB026242   GM           ENCORE              MILWAUKEE                 WI
126844   KL4CJASB7LB026340   GM           ENCORE              CLEVELAND                 OH
126845   KL4CJASB7LB026824   GM           ENCORE              Hendersonville            TN
126846   KL4CJASB7LB027133   GM           ENCORE              PHOENIX                   AZ
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126847   KL4CJASB7LB027195   GM           ENCORE              Clearwater                FL
126848   KL4CJASB7LB027553   GM           ENCORE              PHOENIX                   AZ
126849   KL4CJASB7LB027570   GM           ENCORE              KENNER                    LA
126850   KL4CJASB7LB027651   GM           ENCORE              MOBILE                    A
126851   KL4CJASB7LB027973   GM           ENCORE              PHOENIX                   AZ
126852   KL4CJASB7LB028329   GM           ENCORE              Hapeville                 GA
126853   KL4CJASB7LB028508   GM           ENCORE              CLARKSVILLE               IN
126854   KL4CJASB7LB028699   GM           ENCORE              Savannah                  GA
126855   KL4CJASB8GB525928   GM           ENCORE              CHICAGO                   IL
126856   KL4CJASB8GB599978   GM           ENCORE              Philadelphia              PA
126857   KL4CJASB8GB640593   GM           ENCORE              PHILADELPHIA              PA
126858   KL4CJASB8GB644515   GM           ENCORE              Elkridge                  MD
126859   KL4CJASB8HB150513   GM           ENCORE              BURBANK                   CA
126860   KL4CJASB8HB161558   GM           ENCORE              SEATTLE                   WA
126861   KL4CJASB8HB172950   GM           ENCORE              CHICAGO                   IL
126862   KL4CJASB8JB530361   GM           ENCORE              ORLANDO                   FL
126863   KL4CJASB8LB024466   GM           ENCORE              Florissant                MO
126864   KL4CJASB8LB024502   GM           ENCORE              Orlando                   FL
126865   KL4CJASB8LB025343   GM           ENCORE              Jacksonville              FL
126866   KL4CJASB8LB025360   GM           ENCORE              San Antonio               TX
126867   KL4CJASB8LB025827   GM           ENCORE              Nashville                 TN
126868   KL4CJASB8LB026069   GM           ENCORE              Charlotte                 NC
126869   KL4CJASB8LB026508   GM           ENCORE              Hamilton                  OH
126870   KL4CJASB8LB027156   GM           ENCORE              LAS VEGAS                 NV
126871   KL4CJASB8LB027237   GM           ENCORE              CHICAGO                   IL
126872   KL4CJASB8LB027321   GM           ENCORE              SANTA FE                  NM
126873   KL4CJASB8LB027349   GM           ENCORE              FORT MYERS                FL
126874   KL4CJASB8LB027657   GM           ENCORE              COLLEGE PARK              GA
126875   KL4CJASB8LB028002   GM           ENCORE              San Antonio               TX
126876   KL4CJASB8LB028047   GM           ENCORE              Harvey                    LA
126877   KL4CJASB8LB028100   GM           ENCORE              GRAND RAPIDS              MI
126878   KL4CJASB8LB028288   GM           ENCORE              Harvey                    LA
126879   KL4CJASB8LB028520   GM           ENCORE              Memphis                   TN
126880   KL4CJASB9GB574443   GM           ENCORE              STERLING                  VA
126881   KL4CJASB9GB619445   GM           ENCORE              NEW ENGLAND DEALER        MA
126882   KL4CJASB9GB626900   GM           ENCORE              Chicago                   IL
126883   KL4CJASB9HB118024   GM           ENCORE              WEST PALM BEACH           FL
126884   KL4CJASB9JB577396   GM           ENCORE              CHARLESTON                WV
126885   KL4CJASB9LB024640   GM           ENCORE              Cincinnati                OH
126886   KL4CJASB9LB024928   GM           ENCORE              EL PASO                   TX
126887   KL4CJASB9LB025299   GM           ENCORE              FAYETTEVILLE              GA
126888   KL4CJASB9LB025318   GM           ENCORE              Harvey                    LA
126889   KL4CJASB9LB025383   GM           ENCORE              Indianapolis              IN
126890   KL4CJASB9LB025514   GM           ENCORE              Louisville                KY
126891   KL4CJASB9LB026050   GM           ENCORE              Clearwater                FL
126892   KL4CJASB9LB026727   GM           ENCORE              Statesville               NC
126893   KL4CJASB9LB026954   GM           ENCORE              Warr Acres                OK
126894   KL4CJASB9LB027070   GM           ENCORE              Hanover                   MD
126895   KL4CJASB9LB027313   GM           ENCORE              Houston                   TX
126896   KL4CJASB9LB027490   GM           ENCORE              Florissant                MO
126897   KL4CJASB9LB027652   GM           ENCORE              HOUSTON                   TX
126898   KL4CJASB9LB028042   GM           ENCORE              NEW ORLEANS               LA
126899   KL4CJASBXGB537773   GM           ENCORE              PHOENIX                   AZ
126900   KL4CJASBXGB583202   GM           ENCORE              SAN FRANCISCO             CA
126901   KL4CJASBXGB588531   GM           ENCORE              PHILADELPHIA              PA
126902   KL4CJASBXGB602766   GM           ENCORE              PHILADELPHIA              PA
126903   KL4CJASBXGB658495   GM           ENCORE              Euless                    TX
126904   KL4CJASBXGB664667   GM           ENCORE              BURBANK                   CA
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126905   KL4CJASBXHB171525   GM           ENCORE              NORTH HILLS               CA
126906   KL4CJASBXLB021553   GM           ENCORE              Tucson                    AZ
126907   KL4CJASBXLB023948   GM           ENCORE              Phoenix                   AZ
126908   KL4CJASBXLB024467   GM           ENCORE              Ft. Myers                 FL
126909   KL4CJASBXLB024498   GM           ENCORE              SEATTLE                   WA
126910   KL4CJASBXLB024629   GM           ENCORE              Houston                   TX
126911   KL4CJASBXLB024730   GM           ENCORE              Nashville                 TN
126912   KL4CJASBXLB024811   GM           ENCORE              Dallas                    TX
126913   KL4CJASBXLB024825   GM           ENCORE              Clearwater                FL
126914   KL4CJASBXLB025277   GM           ENCORE              OMAHA                     NE
126915   KL4CJASBXLB025456   GM           ENCORE              DETROIT                   MI
126916   KL4CJASBXLB025473   GM           ENCORE              CHATTANOOGA               TN
126917   KL4CJASBXLB025604   GM           ENCORE              TUCSON                    AZ
126918   KL4CJASBXLB026316   GM           ENCORE              Estero                    FL
126919   KL4CJASBXLB026364   GM           ENCORE              Corpus Christi            TX
126920   KL4CJASBXLB026414   GM           ENCORE              KNOXVILLE                 TN
126921   KL4CJASBXLB026655   GM           ENCORE              Harvey                    LA
126922   KL4CJASBXLB026798   GM           ENCORE              PHOENIX                   AZ
126923   KL4CJASBXLB026929   GM           ENCORE              PHOENIX                   AZ
126924   KL4CJASBXLB027045   GM           ENCORE              SHREVEPORT                LA
126925   KL4CJASBXLB027224   GM           ENCORE              Baltimore                 MD
126926   KL4CJASBXLB027367   GM           ENCORE              Killeen                   TX
126927   KL4CJASBXLB027675   GM           ENCORE              CLOVIS                    CA
126928   KL4CJASBXLB027868   GM           ENCORE              Winter Park               FL
126929   KL4CJASBXLB028177   GM           ENCORE              Baltimore                 MD
126930   KL4CJASBXLB028230   GM           ENCORE              Coraopolis                PA
126931   KL4CJASBXLB028468   GM           ENCORE              FORT MYERS                FL
126932   KL4CJASBXLB028485   GM           ENCORE              Winter Park               FL
126933   KL4CJBSB0GB580170   GM           ENCORE              Miami                     FL
126934   KL4CJBSB1FB200008   GM           ENCORE              N. Palm Beach             FL
126935   KL4CJBSB2GB640210   GM           ENCORE              BURBANK                   CA
126936   KL4CJBSB4GB519288   GM           ENCORE              Sacramento                CA
126937   KL4CJBSB4GB519985   GM           ENCORE              TAMPA                     FL
126938   KL4CJBSB5GB539629   GM           ENCORE              North Dighton             MA
126939   KL4CJBSB5GB557841   GM           ENCORE              Elkridge                  MD
126940   KL4CJBSB5GB595845   GM           ENCORE              Lawndale                  CA
126941   KL4CJBSB5GB616208   GM           ENCORE              Cleveland                 OH
126942   KL4CJBSB7GB666902   GM           ENCORE              BURBANK                   CA
126943   KL4CJBSB8GB602027   GM           ENCORE              CHICAGO                   IL
126944   KL4CJBSB8GB616252   GM           ENCORE              Sarasota                  FL
126945   KL4CJBSB9GB536099   GM           ENCORE              ST PAUL                   MN
126946   KL4CJBSB9HB247273   GM           ENCORE              CHANDLER                  AZ
126947   KL4CJBSBXHB038964   GM           ENCORE              FORT MYERS                FL
126948   KL4CJCSB0HB020771   GM           ENCORE              CHICAGO                   IL
126949   KL4CJCSB0JB532939   GM           ENCORE              North Las Vegas           NV
126950   KL4CJCSB0JB554732   GM           ENCORE              Manheim                   PA
126951   KL4CJCSB0JB616758   GM           ENCORE              WARWICK                   RI
126952   KL4CJCSB0JB626674   GM           ENCORE              RONKONKOMA                NY
126953   KL4CJCSB0JB629803   GM           ENCORE              Schaumburg                IL
126954   KL4CJCSB0JB631101   GM           ENCORE              TAMPA                     FL
126955   KL4CJCSB0JB644205   GM           ENCORE              Hattiesburg               MS
126956   KL4CJCSB0JB646312   GM           ENCORE              ORANGE COUNTY             CA
126957   KL4CJCSB0JB695848   GM           ENCORE              RONKONKOMA                NY
126958   KL4CJCSB0JB698653   GM           ENCORE              STERLING                  VA
126959   KL4CJCSB0LB037241   GM           ENCORE              Rock Hill                 SC
126960   KL4CJCSB0LB039359   GM           ENCORE              LOUISVILLE                KY
126961   KL4CJCSB0LB043332   GM           ENCORE              CLOVIS                    CA
126962   KL4CJCSB0LB043895   GM           ENCORE              CLOVIS                    CA
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126963   KL4CJCSB0LB044190   GM           ENCORE              Warr Acres                OK
126964   KL4CJCSB0LB044772   GM           ENCORE              Dallas                    TX
126965   KL4CJCSB0LB045498   GM           ENCORE              Hanover                   MD
126966   KL4CJCSB0LB046411   GM           ENCORE              Harvey                    LA
126967   KL4CJCSB0LB046506   GM           ENCORE              Tulsa                     OK
126968   KL4CJCSB0LB046912   GM           ENCORE              Rock Hill                 SC
126969   KL4CJCSB0LB047512   GM           ENCORE              Memphis                   TN
126970   KL4CJCSB0LB047641   GM           ENCORE              Warr Acres                OK
126971   KL4CJCSB0LB048966   GM           ENCORE              FORT MYERS                FL
126972   KL4CJCSB0LB059305   GM           ENCORE              Estero                    FL
126973   KL4CJCSB1JB607843   GM           ENCORE              SOUTHEAST DST OFFC        OK
126974   KL4CJCSB1JB615067   GM           ENCORE              TAMPA                     FL
126975   KL4CJCSB1JB627400   GM           ENCORE              TAMPA                     FL
126976   KL4CJCSB1JB647808   GM           ENCORE              CHARLESTON                SC
126977   KL4CJCSB1JB670912   GM           ENCORE              FORT LAUDERDALE           FL
126978   KL4CJCSB1JB671977   GM           ENCORE              FORT MYERS                FL
126979   KL4CJCSB1JB684003   GM           ENCORE              NEW BERN                  NC
126980   KL4CJCSB1JB696040   GM           ENCORE              Estero                    FL
126981   KL4CJCSB1LB034588   GM           ENCORE              ALBUQUERQUE               NM
126982   KL4CJCSB1LB034848   GM           ENCORE              Riverside                 CA
126983   KL4CJCSB1LB041525   GM           ENCORE              Chicago                   IL
126984   KL4CJCSB1LB043212   GM           ENCORE              Killeen                   TX
126985   KL4CJCSB1LB044358   GM           ENCORE              Warr Acres                OK
126986   KL4CJCSB1LB044621   GM           ENCORE              Tulsa                     OK
126987   KL4CJCSB1LB045025   GM           ENCORE              Coraopolis                PA
126988   KL4CJCSB1LB045719   GM           ENCORE              Santa Clara               CA
126989   KL4CJCSB1LB046482   GM           ENCORE              Hendersonville            TN
126990   KL4CJCSB1LB046501   GM           ENCORE              San Antonio               TX
126991   KL4CJCSB1LB048555   GM           ENCORE              FORT MYERS                FL
126992   KL4CJCSB1LB048829   GM           ENCORE              Irving                    TX
126993   KL4CJCSB1LB049382   GM           ENCORE              Warr Acres                OK
126994   KL4CJCSB1LB055456   GM           ENCORE              Baltimore                 MD
126995   KL4CJCSB1LB056963   GM           ENCORE              SEATTLE                   WA
126996   KL4CJCSB1LB058423   GM           ENCORE              Charlotte                 NC
126997   KL4CJCSB1LB059233   GM           ENCORE              Albuquerque               NM
126998   KL4CJCSB2GB747473   GM           ENCORE              BURBANK                   CA
126999   KL4CJCSB2HB039726   GM           ENCORE              WEST PALM BEACH           FL
127000   KL4CJCSB2JB524888   GM           ENCORE              TRACY                     CA
127001   KL4CJCSB2JB525474   GM           ENCORE              Manheim                   PA
127002   KL4CJCSB2JB529959   GM           ENCORE              Atlanta                   GA
127003   KL4CJCSB2JB533199   GM           ENCORE              NEW YORK CITY             NY
127004   KL4CJCSB2JB533400   GM           ENCORE              Framingham                MA
127005   KL4CJCSB2JB581625   GM           ENCORE              SACRAMENTO                CA
127006   KL4CJCSB2JB582399   GM           ENCORE              Santa Clara               CA
127007   KL4CJCSB2JB614980   GM           ENCORE              MIAMI                     FL
127008   KL4CJCSB2JB628328   GM           ENCORE              ORLANDO                   FL
127009   KL4CJCSB2JB643475   GM           ENCORE              Winter Park               FL
127010   KL4CJCSB2JB698427   GM           ENCORE              ROCHESTER                 NY
127011   KL4CJCSB2JB698542   GM           ENCORE              Hebron                    KY
127012   KL4CJCSB2LB039203   GM           ENCORE              Scottsdale                AZ
127013   KL4CJCSB2LB040397   GM           ENCORE              Memphis                   TN
127014   KL4CJCSB2LB041551   GM           ENCORE              Harvey                    LA
127015   KL4CJCSB2LB041937   GM           ENCORE              Austin                    TX
127016   KL4CJCSB2LB042196   GM           ENCORE              Dallas                    TX
127017   KL4CJCSB2LB044739   GM           ENCORE              Dallas                    TX
127018   KL4CJCSB2LB045096   GM           ENCORE              FORT MYERS                FL
127019   KL4CJCSB2LB046104   GM           ENCORE              Irving                    TX
127020   KL4CJCSB2LB046586   GM           ENCORE              Euless                    TX
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127021   KL4CJCSB2LB047625   GM           ENCORE              Killeen                   TX
127022   KL4CJCSB2LB048760   GM           ENCORE              Memphis                   TN
127023   KL4CJCSB2LB055997   GM           ENCORE              Ft Pierce                 FL
127024   KL4CJCSB2LB056373   GM           ENCORE              Memphis                   TN
127025   KL4CJCSB2LB056681   GM           ENCORE              Memphis                   TN
127026   KL4CJCSB2LB056910   GM           ENCORE              Baltimore                 MD
127027   KL4CJCSB2LB058513   GM           ENCORE              Marietta                  GA
127028   KL4CJCSB2LB059628   GM           ENCORE              Nashville                 TN
127029   KL4CJCSB2LB060343   GM           ENCORE              Charlotte                 NC
127030   KL4CJCSB2LB061539   GM           ENCORE              LAS VEGAS                 NV
127031   KL4CJCSB3GB563644   GM           ENCORE              CHICAGO                   IL
127032   KL4CJCSB3GB631666   GM           ENCORE              Smithtown                 NY
127033   KL4CJCSB3GB659886   GM           ENCORE              Phoenix                   AZ
127034   KL4CJCSB3JB530733   GM           ENCORE              NASHVILLE                 TN
127035   KL4CJCSB3JB533759   GM           ENCORE              MIAMI                     FL
127036   KL4CJCSB3JB536130   GM           ENCORE              Windsor Locks             CT
127037   KL4CJCSB3JB615054   GM           ENCORE              Ft. Myers                 FL
127038   KL4CJCSB3JB626815   GM           ENCORE              COLUMBIA                  SC
127039   KL4CJCSB3JB626913   GM           ENCORE              NEW ORLEANS               LA
127040   KL4CJCSB3JB627558   GM           ENCORE              Elkridge                  MD
127041   KL4CJCSB3JB642836   GM           ENCORE              TAMPA                     FL
127042   KL4CJCSB3JB643548   GM           ENCORE              Savannah                  GA
127043   KL4CJCSB3JB692815   GM           ENCORE              ORLANDO                   FL
127044   KL4CJCSB3JB697397   GM           ENCORE              FORT LAUDERDALE           FL
127045   KL4CJCSB3JB697626   GM           ENCORE              Milwaukee                 WI
127046   KL4CJCSB3JB698680   GM           ENCORE              FORT MYERS                FL
127047   KL4CJCSB3LB034382   GM           ENCORE              ATLANTA                   GA
127048   KL4CJCSB3LB035774   GM           ENCORE              COLUMBIA                  SC
127049   KL4CJCSB3LB036570   GM           ENCORE              Phoenix                   AZ
127050   KL4CJCSB3LB037816   GM           ENCORE              Sanford                   FL
127051   KL4CJCSB3LB039839   GM           ENCORE              Dallas                    TX
127052   KL4CJCSB3LB040909   GM           ENCORE              Irving                    TX
127053   KL4CJCSB3LB041428   GM           ENCORE              Hamilton                  OH
127054   KL4CJCSB3LB043955   GM           ENCORE              Dallas                    TX
127055   KL4CJCSB3LB045379   GM           ENCORE              Dallas                    TX
127056   KL4CJCSB3LB047407   GM           ENCORE              Dallas                    TX
127057   KL4CJCSB3LB047536   GM           ENCORE              ATLANTA                   GA
127058   KL4CJCSB3LB047858   GM           ENCORE              Tulsa                     OK
127059   KL4CJCSB3LB049206   GM           ENCORE              COLUMBIA                  SC
127060   KL4CJCSB3LB057516   GM           ENCORE              Memphis                   TN
127061   KL4CJCSB3LB057905   GM           ENCORE              Alcoa                     TN
127062   KL4CJCSB3LB057967   GM           ENCORE              Florissant                MO
127063   KL4CJCSB3LB058956   GM           ENCORE              Rock Hill                 SC
127064   KL4CJCSB3LB069990   GM           ENCORE              FORT MYERS                FL
127065   KL4CJCSB4JB627360   GM           ENCORE              HANOVER                   MD
127066   KL4CJCSB4JB629707   GM           ENCORE              PHILADELPHIA              US
127067   KL4CJCSB4JB630842   GM           ENCORE              TAMPA                     FL
127068   KL4CJCSB4JB647477   GM           ENCORE              TAMPA                     FL
127069   KL4CJCSB4JB676185   GM           ENCORE              SAN FRANCISCO             CA
127070   KL4CJCSB4JB693200   GM           ENCORE              ONTARIO                   CA
127071   KL4CJCSB4JB693553   GM           ENCORE              LOS ANGELES               CA
127072   KL4CJCSB4JB697828   GM           ENCORE              Bridgeton                 MO
127073   KL4CJCSB4JB698140   GM           ENCORE              Lexington                 KY
127074   KL4CJCSB4LB034598   GM           ENCORE              PHOENIX                   AZ
127075   KL4CJCSB4LB034794   GM           ENCORE              FORT MYERS                FL
127076   KL4CJCSB4LB037548   GM           ENCORE              Portland                  OR
127077   KL4CJCSB4LB038442   GM           ENCORE              Austell                   GA
127078   KL4CJCSB4LB040238   GM           ENCORE              Irving                    TX
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127079   KL4CJCSB4LB040742   GM           ENCORE              Portland                  OR
127080   KL4CJCSB4LB041261   GM           ENCORE              Albuquerque               NM
127081   KL4CJCSB4LB044709   GM           ENCORE              Warr Acres                OK
127082   KL4CJCSB4LB045147   GM           ENCORE              COLUMBIA                  SC
127083   KL4CJCSB4LB047531   GM           ENCORE              Florissant                MO
127084   KL4CJCSB4LB048906   GM           ENCORE              Dallas                    TX
127085   KL4CJCSB4LB057895   GM           ENCORE              Las Vegas                 NV
127086   KL4CJCSB4LB058125   GM           ENCORE              Massapequa                NY
127087   KL4CJCSB4LB058366   GM           ENCORE              COLUMBIA                  SC
127088   KL4CJCSB5FB264736   GM           ENCORE              Avoca                     PA
127089   KL4CJCSB5JB561417   GM           ENCORE              WEST PALM BEACH           FL
127090   KL4CJCSB5JB564754   GM           ENCORE              ORLANDO                   FL
127091   KL4CJCSB5JB583207   GM           ENCORE              Harvey                    LA
127092   KL4CJCSB5JB628355   GM           ENCORE              STATESBORO                GA
127093   KL4CJCSB5JB690046   GM           ENCORE              EL PASO                   TX
127094   KL4CJCSB5JB691603   GM           ENCORE              St. Louis                 MO
127095   KL4CJCSB5JB697577   GM           ENCORE              KENNER                    LA
127096   KL4CJCSB5JB697885   GM           ENCORE              APPLETON                  WI
127097   KL4CJCSB5JB698499   GM           ENCORE              San Antonio               TX
127098   KL4CJCSB5LB038725   GM           ENCORE              Clearwater                FL
127099   KL4CJCSB5LB040121   GM           ENCORE              Memphis                   TN
127100   KL4CJCSB5LB042970   GM           ENCORE              Salt Lake City            UT
127101   KL4CJCSB5LB043956   GM           ENCORE              Salt Lake City            UT
127102   KL4CJCSB5LB044458   GM           ENCORE              Warr Acres                OK
127103   KL4CJCSB5LB044878   GM           ENCORE              Hendersonville            TN
127104   KL4CJCSB5LB045285   GM           ENCORE              COLUMBIA                  SC
127105   KL4CJCSB5LB046095   GM           ENCORE              Baltimore                 MD
127106   KL4CJCSB5LB046596   GM           ENCORE              Hanover                   MD
127107   KL4CJCSB5LB056707   GM           ENCORE              Cincinnati                OH
127108   KL4CJCSB5LB056965   GM           ENCORE              Marietta                  GA
127109   KL4CJCSB5LB057372   GM           ENCORE              Memphis                   TN
127110   KL4CJCSB5LB059882   GM           ENCORE              Memphis                   TN
127111   KL4CJCSB5LB060028   GM           ENCORE              WEST PALM BEACH           FL
127112   KL4CJCSB5LB067948   GM           ENCORE              FT LAUDERDALE             FL
127113   KL4CJCSB6GB611623   GM           ENCORE              Schaumburg                IL
127114   KL4CJCSB6HB104528   GM           ENCORE              Phoenix                   AZ
127115   KL4CJCSB6JB523825   GM           ENCORE              North Dighton             MA
127116   KL4CJCSB6JB525056   GM           ENCORE              Kahului                   HI
127117   KL4CJCSB6JB531018   GM           ENCORE              Davie                     FL
127118   KL4CJCSB6JB533139   GM           ENCORE              Pompano Beach             FL
127119   KL4CJCSB6JB535490   GM           ENCORE              North Dighton             MA
127120   KL4CJCSB6JB537384   GM           ENCORE              WEST PALM BEACH           FL
127121   KL4CJCSB6JB552158   GM           ENCORE              Manheim                   PA
127122   KL4CJCSB6JB625805   GM           ENCORE              North Dighton             MA
127123   KL4CJCSB6JB626338   GM           ENCORE              FORT MYERS                FL
127124   KL4CJCSB6JB643561   GM           ENCORE              Denver                    CO
127125   KL4CJCSB6JB647609   GM           ENCORE              Houston                   TX
127126   KL4CJCSB6JB684014   GM           ENCORE              UNION CITY                GA
127127   KL4CJCSB6JB698771   GM           ENCORE              RICHMOND                  VA
127128   KL4CJCSB6LB033923   GM           ENCORE              Rock Hill                 SC
127129   KL4CJCSB6LB035784   GM           ENCORE              Dallas                    TX
127130   KL4CJCSB6LB040449   GM           ENCORE              Irving                    TX
127131   KL4CJCSB6LB041133   GM           ENCORE              Austin                    TX
127132   KL4CJCSB6LB043271   GM           ENCORE              Austin                    TX
127133   KL4CJCSB6LB055338   GM           ENCORE              Memphis                   TN
127134   KL4CJCSB6LB058076   GM           ENCORE              COLUMBIA                  SC
127135   KL4CJCSB6LB058546   GM           ENCORE              FORT MYERS                FL
127136   KL4CJCSB6LB058885   GM           ENCORE              Nashville                 TN
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127137   KL4CJCSB6LB060376   GM           ENCORE              CHICAGO                   IL
127138   KL4CJCSB6LB060474   GM           ENCORE              Memphis                   TN
127139   KL4CJCSB6LB069191   GM           ENCORE              Louisville                KY
127140   KL4CJCSB7GB702125   GM           ENCORE              Kenner                    LA
127141   KL4CJCSB7HB005622   GM           ENCORE              El Paso                   TX
127142   KL4CJCSB7JB530721   GM           ENCORE              WEST PALM BEACH           FL
127143   KL4CJCSB7JB530783   GM           ENCORE              Lake Elsinore             CA
127144   KL4CJCSB7JB547387   GM           ENCORE              STERLING                  VA
127145   KL4CJCSB7JB626476   GM           ENCORE              Warwick                   RI
127146   KL4CJCSB7JB645321   GM           ENCORE              ONTARIO                   CA
127147   KL4CJCSB7JB696804   GM           ENCORE              NEW BERN                  NC
127148   KL4CJCSB7JB698391   GM           ENCORE              FORT MYERS                FL
127149   KL4CJCSB7JB698570   GM           ENCORE              Orlando                   FL
127150   KL4CJCSB7LB037284   GM           ENCORE              San Antonio               TX
127151   KL4CJCSB7LB041061   GM           ENCORE              Warr Acres                OK
127152   KL4CJCSB7LB042498   GM           ENCORE              Austin                    TX
127153   KL4CJCSB7LB043022   GM           ENCORE              EULESS                    TX
127154   KL4CJCSB7LB043537   GM           ENCORE              Irving                    TX
127155   KL4CJCSB7LB046096   GM           ENCORE              San Antonio               TX
127156   KL4CJCSB7LB048057   GM           ENCORE              TAMPA                     FL
127157   KL4CJCSB7LB048852   GM           ENCORE              Louisville                KY
127158   KL4CJCSB7LB056594   GM           ENCORE              MEBANE                    NC
127159   KL4CJCSB7LB056644   GM           ENCORE              S. San Francisc           CA
127160   KL4CJCSB7LB057065   GM           ENCORE              Salt Lake City            UT
127161   KL4CJCSB7LB057339   GM           ENCORE              Memphis                   TN
127162   KL4CJCSB7LB057387   GM           ENCORE              Hendersonville            TN
127163   KL4CJCSB7LB058135   GM           ENCORE              MEMPHIS                   TN
127164   KL4CJCSB7LB059219   GM           ENCORE              Hendersonville            TN
127165   KL4CJCSB8GB522507   GM           ENCORE              Fredericksburg            VA
127166   KL4CJCSB8GB712839   GM           ENCORE              DAYTONA BEACH             FL
127167   KL4CJCSB8HB142763   GM           ENCORE              FT LAUDERDALE             FL
127168   KL4CJCSB8JB524006   GM           ENCORE              Orlando                   FL
127169   KL4CJCSB8JB530534   GM           ENCORE              Tampa                     FL
127170   KL4CJCSB8JB537726   GM           ENCORE              Pittsburgh                PA
127171   KL4CJCSB8JB627135   GM           ENCORE              North Dighton             MA
127172   KL4CJCSB8JB627233   GM           ENCORE              North Dighton             MA
127173   KL4CJCSB8JB642623   GM           ENCORE              ORLANDO                   FL
127174   KL4CJCSB8JB682930   GM           ENCORE              North Dighton             MA
127175   KL4CJCSB8JB689571   GM           ENCORE              ORLANDO                   FL
127176   KL4CJCSB8JB690557   GM           ENCORE              Atlanta                   GA
127177   KL4CJCSB8JB692857   GM           ENCORE              LOS ANGELES               CA
127178   KL4CJCSB8JB695337   GM           ENCORE              N. Palm Beach             FL
127179   KL4CJCSB8JB695645   GM           ENCORE              DETROIT                   MI
127180   KL4CJCSB8JB696598   GM           ENCORE              WEST PALM BEACH           FL
127181   KL4CJCSB8JB697587   GM           ENCORE              ORLANDO                   FL
127182   KL4CJCSB8LB037214   GM           ENCORE              FT. LAUDERDALE            FL
127183   KL4CJCSB8LB040856   GM           ENCORE              Austin                    TX
127184   KL4CJCSB8LB042431   GM           ENCORE              Dallas                    TX
127185   KL4CJCSB8LB043515   GM           ENCORE              Denver                    CO
127186   KL4CJCSB8LB043983   GM           ENCORE              Austin                    TX
127187   KL4CJCSB8LB044096   GM           ENCORE              SPRINGFIELD               VA
127188   KL4CJCSB8LB045720   GM           ENCORE              Rock Hill                 SC
127189   KL4CJCSB8LB045930   GM           ENCORE              NASHVILLE                 TN
127190   KL4CJCSB8LB048181   GM           ENCORE              Winston‐Salem             NC
127191   KL4CJCSB8LB055552   GM           ENCORE              Hayward                   CA
127192   KL4CJCSB8LB055664   GM           ENCORE              Nashville                 TN
127193   KL4CJCSB8LB055826   GM           ENCORE              MORROW                    GA
127194   KL4CJCSB8LB056510   GM           ENCORE              Hendersonville            TN
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127195   KL4CJCSB8LB057270   GM           ENCORE              Memphis                   TN
127196   KL4CJCSB8LB057558   GM           ENCORE              Hamilton                  OH
127197   KL4CJCSB8LB059519   GM           ENCORE              KNOXVILLE                 TN
127198   KL4CJCSB8LB070245   GM           ENCORE              FORT MYERS                FL
127199   KL4CJCSB9GB537372   GM           ENCORE              MEMPHIS                   TN
127200   KL4CJCSB9HB037102   GM           ENCORE              WEST PALM BEACH           FL
127201   KL4CJCSB9JB528419   GM           ENCORE              LAS VEGAS                 NV
127202   KL4CJCSB9JB534558   GM           ENCORE              Davie                     FL
127203   KL4CJCSB9JB535905   GM           ENCORE              Clearwater                FL
127204   KL4CJCSB9JB549321   GM           ENCORE              Manheim                   PA
127205   KL4CJCSB9JB616600   GM           ENCORE              LOS ANGELES               CA
127206   KL4CJCSB9JB628231   GM           ENCORE              FT LAUDERDALE             US
127207   KL4CJCSB9JB630190   GM           ENCORE              FORT LAUDERDALE           FL
127208   KL4CJCSB9JB645059   GM           ENCORE              Manheim                   PA
127209   KL4CJCSB9JB670575   GM           ENCORE              Houston                   TX
127210   KL4CJCSB9JB674786   GM           ENCORE              SACRAMENTO                CA
127211   KL4CJCSB9JB675632   GM           ENCORE              Fresno                    CA
127212   KL4CJCSB9JB696321   GM           ENCORE              SARASOTA                  FL
127213   KL4CJCSB9JB698537   GM           ENCORE              Fontana                   CA
127214   KL4CJCSB9LB034547   GM           ENCORE              Hendersonville            TN
127215   KL4CJCSB9LB039490   GM           ENCORE              Memphis                   TN
127216   KL4CJCSB9LB040087   GM           ENCORE              Irving                    TX
127217   KL4CJCSB9LB041045   GM           ENCORE              Dallas                    TX
127218   KL4CJCSB9LB042681   GM           ENCORE              SAN ANTONIO               TX
127219   KL4CJCSB9LB043796   GM           ENCORE              Salt Lake City            UT
127220   KL4CJCSB9LB045032   GM           ENCORE              Memphis                   TN
127221   KL4CJCSB9LB045841   GM           ENCORE              Irving                    TX
127222   KL4CJCSB9LB047315   GM           ENCORE              Dallas                    TX
127223   KL4CJCSB9LB048237   GM           ENCORE              NASHVILLE                 TN
127224   KL4CJCSB9LB055902   GM           ENCORE              Memphis                   TN
127225   KL4CJCSB9LB056662   GM           ENCORE              NASHVILLE                 TN
127226   KL4CJCSB9LB057097   GM           ENCORE              FORT MYERS                FL
127227   KL4CJCSB9LB058136   GM           ENCORE              Marietta                  GA
127228   KL4CJCSB9LB059304   GM           ENCORE              SAN JOSE                  CA
127229   KL4CJCSB9LB060355   GM           ENCORE              COLUMBIA                  SC
127230   KL4CJCSB9LB060372   GM           ENCORE              COLUMBIA                  SC
127231   KL4CJCSBXJB526369   GM           ENCORE              Cranberry Towns           PA
127232   KL4CJCSBXJB530051   GM           ENCORE              TOLCUA LAKE               CA
127233   KL4CJCSBXJB550686   GM           ENCORE              SARASOTA                  FL
127234   KL4CJCSBXJB627931   GM           ENCORE              Manheim                   PA
127235   KL4CJCSBXJB644423   GM           ENCORE              Pompano Beach             FL
127236   KL4CJCSBXJB647015   GM           ENCORE              SACRAMENTO                CA
127237   KL4CJCSBXLB038316   GM           ENCORE              Coraopolis                PA
127238   KL4CJCSBXLB040339   GM           ENCORE              Memphis                   TN
127239   KL4CJCSBXLB045380   GM           ENCORE              FORT MYERS                FL
127240   KL4CJCSBXLB045833   GM           ENCORE              KNOXVILLE                 TN
127241   KL4CJCSBXLB047114   GM           ENCORE              Irving                    TX
127242   KL4CJCSBXLB049042   GM           ENCORE              Louisville                KY
127243   KL4CJCSBXLB059229   GM           ENCORE              Rock Hill                 SC
127244   KL4CJCSM0KB761642   GM           ENCORE              KNOXVILLE                 TN
127245   KL4CJCSM0KB762810   GM           ENCORE              WEST PALM BEACH           FL
127246   KL4CJCSM0KB763195   GM           ENCORE              LOS ANGELES               CA
127247   KL4CJCSM0KB763844   GM           ENCORE              FORT LAUDERDALE           FL
127248   KL4CJCSM0KB765416   GM           ENCORE              PALM SPRINGS              CA
127249   KL4CJCSM0KB766727   GM           ENCORE              Dallas                    TX
127250   KL4CJCSM0KB766985   GM           ENCORE              HARTFORD                  CT
127251   KL4CJCSM0KB767361   GM           ENCORE              SALT LAKE CITY            UT
127252   KL4CJCSM0KB770728   GM           ENCORE              ORLANDO                   FL
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127253   KL4CJCSM0KB771572   GM           ENCORE              MEMPHIS                   TN
127254   KL4CJCSM0KB771670   GM           ENCORE              DANIA BEACH               FL
127255   KL4CJCSM0KB772141   GM           ENCORE              TAMPA                     FL
127256   KL4CJCSM0KB772561   GM           ENCORE              MIAMI                     FL
127257   KL4CJCSM0KB773466   GM           ENCORE              WEST PALM BEACH           FL
127258   KL4CJCSM0KB774293   GM           ENCORE              FORT LAUDERDALE           FL
127259   KL4CJCSM0KB774357   GM           ENCORE              ORLANDO                   FL
127260   KL4CJCSM0KB774651   GM           ENCORE              Johnston                  RI
127261   KL4CJCSM0KB774990   GM           ENCORE              FORT MYERS                FL
127262   KL4CJCSM0KB775220   GM           ENCORE              TAMPA                     FL
127263   KL4CJCSM0KB775265   GM           ENCORE              ORLANDO                   FL
127264   KL4CJCSM0KB775329   GM           ENCORE              Dallas                    TX
127265   KL4CJCSM0KB775640   GM           ENCORE              ORLANDO                   FL
127266   KL4CJCSM0KB776089   GM           ENCORE              Tampa                     FL
127267   KL4CJCSM0KB777209   GM           ENCORE              SARASOTA                  FL
127268   KL4CJCSM0KB777422   GM           ENCORE              MIAMI                     FL
127269   KL4CJCSM0KB778361   GM           ENCORE              BIRMINGHAM                AL
127270   KL4CJCSM0KB779901   GM           ENCORE              WEST PALM BEACH           FL
127271   KL4CJCSM0KB780093   GM           ENCORE              TAMPA                     FL
127272   KL4CJCSM0KB780496   GM           ENCORE              Marietta                  GA
127273   KL4CJCSM0KB780823   GM           ENCORE              JACKSONVILLE              FL
127274   KL4CJCSM0KB781051   GM           ENCORE              TAMPA                     FL
127275   KL4CJCSM0KB781258   GM           ENCORE              STERLING                  VA
127276   KL4CJCSM0KB782748   GM           ENCORE              JACKSONVILLE              FL
127277   KL4CJCSM0KB783690   GM           ENCORE              JACKSONVILLE              FL
127278   KL4CJCSM0KB789733   GM           ENCORE              SANTA BARBARA             CA
127279   KL4CJCSM0KB801279   GM           ENCORE              SAN DIEGO                 CA
127280   KL4CJCSM0KB801296   GM           ENCORE              PALM SPRINGS              CA
127281   KL4CJCSM0KB803758   GM           ENCORE              LOS ANGELES               CA
127282   KL4CJCSM0KB806532   GM           ENCORE              FORT MYERS                FL
127283   KL4CJCSM0KB808667   GM           ENCORE              DALLAS                    TX
127284   KL4CJCSM0KB808782   GM           ENCORE              ORLANDO                   FL
127285   KL4CJCSM0KB834816   GM           ENCORE              Atlanta                   GA
127286   KL4CJCSM0KB836078   GM           ENCORE              DAVIE                     FL
127287   KL4CJCSM0KB837960   GM           ENCORE              WINTER PARK               FL
127288   KL4CJCSM0KB839322   GM           ENCORE              TAMPA                     FL
127289   KL4CJCSM0KB839532   GM           ENCORE              WEST PALM BEACH           FL
127290   KL4CJCSM0KB839983   GM           ENCORE              NEW ORLEANS               LA
127291   KL4CJCSM0KB840468   GM           ENCORE              SMITHFIELD                NC
127292   KL4CJCSM0KB840485   GM           ENCORE              MEMPHIS                   TN
127293   KL4CJCSM0KB841071   GM           ENCORE              WEST PALM BEACH           FL
127294   KL4CJCSM0KB841751   GM           ENCORE              FORT LAUDERDALE           FL
127295   KL4CJCSM0KB842057   GM           ENCORE              SARASOTA                  FL
127296   KL4CJCSM0KB842074   GM           ENCORE              TAMPA                     FL
127297   KL4CJCSM0KB842303   GM           ENCORE              ORLANDO                   FL
127298   KL4CJCSM0KB842320   GM           ENCORE              Atlanta                   GA
127299   KL4CJCSM0KB842737   GM           ENCORE              BIRMINGHAM                AL
127300   KL4CJCSM0KB842754   GM           ENCORE              FORT LAUDERDALE           FL
127301   KL4CJCSM0KB843502   GM           ENCORE              TAMPA                     FL
127302   KL4CJCSM0KB843869   GM           ENCORE              Atlanta                   GA
127303   KL4CJCSM0KB844178   GM           ENCORE              SARASOTA                  FL
127304   KL4CJCSM0KB844326   GM           ENCORE              FORT LAUDERDALE           FL
127305   KL4CJCSM0KB844861   GM           ENCORE              WEST PALM BEACH           FL
127306   KL4CJCSM0KB845928   GM           ENCORE              JACKSON                   MS
127307   KL4CJCSM0KB854614   GM           ENCORE              LOS ANGELES               CA
127308   KL4CJCSM0KB869078   GM           ENCORE              LOS ANGELES               CA
127309   KL4CJCSM0KB869601   GM           ENCORE              ONTARIO                   CA
127310   KL4CJCSM0KB870697   GM           ENCORE              SAN DIEGO                 CA
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127311   KL4CJCSM0KB872014   GM           ENCORE              LOS ANGELES               CA
127312   KL4CJCSM0KB872840   GM           ENCORE              Dallas                    TX
127313   KL4CJCSM0KB873051   GM           ENCORE              LOS ANGELES               CA
127314   KL4CJCSM0KB875172   GM           ENCORE              LOS ANGELES               CA
127315   KL4CJCSM0KB879027   GM           ENCORE              BROOKLYN                  NY
127316   KL4CJCSM0KB879531   GM           ENCORE              ONTARIO                   CA
127317   KL4CJCSM0KB879769   GM           ENCORE              TAMPA                     FL
127318   KL4CJCSM0KB886298   GM           ENCORE              SAVANNAH                  GA
127319   KL4CJCSM0KB887693   GM           ENCORE              Dallas                    TX
127320   KL4CJCSM0KB888214   GM           ENCORE              Austin                    TX
127321   KL4CJCSM0KB889329   GM           ENCORE              SAN DIEGO                 CA
127322   KL4CJCSM0KB892263   GM           ENCORE              FORT MYERS                FL
127323   KL4CJCSM0KB892361   GM           ENCORE              TALLAHASSEE               F
127324   KL4CJCSM0KB892506   GM           ENCORE              ORLANDO                   FL
127325   KL4CJCSM0KB894000   GM           ENCORE              TAMPA                     FL
127326   KL4CJCSM0KB894739   GM           ENCORE              JACKSONVILLE              FL
127327   KL4CJCSM0KB894997   GM           ENCORE              Miami                     FL
127328   KL4CJCSM0KB895244   GM           ENCORE              TAMPA                     FL
127329   KL4CJCSM0KB895535   GM           ENCORE              SAINT PAUL                MN
127330   KL4CJCSM0KB897494   GM           ENCORE              SAINT PAUL                MN
127331   KL4CJCSM0KB898581   GM           ENCORE              KENNER                    LA
127332   KL4CJCSM0KB899942   GM           ENCORE              KNOXVILLE                 TN
127333   KL4CJCSM0KB907232   GM           ENCORE              Portland                  OR
127334   KL4CJCSM0KB907683   GM           ENCORE              LAS VEGAS                 NV
127335   KL4CJCSM0KB908431   GM           ENCORE              LOS ANGELES               CA
127336   KL4CJCSM0KB909031   GM           ENCORE              SANTA ANA                 CA
127337   KL4CJCSM0KB909756   GM           ENCORE              LAS VEGAS                 NV
127338   KL4CJCSM1KB763335   GM           ENCORE              ORLANDO                   FL
127339   KL4CJCSM1KB763349   GM           ENCORE              SACRAMENTO                CA
127340   KL4CJCSM1KB763609   GM           ENCORE              Las Vegas                 NV
127341   KL4CJCSM1KB764923   GM           ENCORE              DENVER                    CO
127342   KL4CJCSM1KB766137   GM           ENCORE              COLLEGE PARK              GA
127343   KL4CJCSM1KB771032   GM           ENCORE              MIAMI                     FL
127344   KL4CJCSM1KB771077   GM           ENCORE              Hapeville                 GA
127345   KL4CJCSM1KB771158   GM           ENCORE              WEST COLUMBIA             SC
127346   KL4CJCSM1KB771323   GM           ENCORE              ORLANDO                   FL
127347   KL4CJCSM1KB772021   GM           ENCORE              FORT MYERS                FL
127348   KL4CJCSM1KB772584   GM           ENCORE              FORT MYERS                FL
127349   KL4CJCSM1KB772648   GM           ENCORE              FORT MYERS                FL
127350   KL4CJCSM1KB773041   GM           ENCORE              WEST PALM BEACH           FL
127351   KL4CJCSM1KB773752   GM           ENCORE              ORLANDO                   FL
127352   KL4CJCSM1KB773816   GM           ENCORE              FORT MYERS                FL
127353   KL4CJCSM1KB773976   GM           ENCORE              SAN DIEGO                 US
127354   KL4CJCSM1KB774691   GM           ENCORE              ORLANDO                   FL
127355   KL4CJCSM1KB774755   GM           ENCORE              ORLANDO                   FL
127356   KL4CJCSM1KB774898   GM           ENCORE              DAYTONA BEACH             FL
127357   KL4CJCSM1KB775615   GM           ENCORE              Schaumburg                IL
127358   KL4CJCSM1KB775680   GM           ENCORE              MIAMI                     FL
127359   KL4CJCSM1KB776117   GM           ENCORE              TAMPA                     FL
127360   KL4CJCSM1KB776912   GM           ENCORE              WEST PALM BEACH           FL
127361   KL4CJCSM1KB777087   GM           ENCORE              FORT MYERS                FL
127362   KL4CJCSM1KB777476   GM           ENCORE              TAMPA                     FL
127363   KL4CJCSM1KB777901   GM           ENCORE              WEST PALM BEACH           FL
127364   KL4CJCSM1KB779874   GM           ENCORE              FT. LAUDERDALE            FL
127365   KL4CJCSM1KB781415   GM           ENCORE              FORT MYERS                FL
127366   KL4CJCSM1KB781723   GM           ENCORE              JACKSONVILLE              FL
127367   KL4CJCSM1KB782158   GM           ENCORE              Davie                     FL
127368   KL4CJCSM1KB783519   GM           ENCORE              SARASOTA                  FL
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127369   KL4CJCSM1KB800593   GM           ENCORE              Scottsdale                AZ
127370   KL4CJCSM1KB803364   GM           ENCORE              LOS ANGELES               CA
127371   KL4CJCSM1KB804885   GM           ENCORE              Hayward                   CA
127372   KL4CJCSM1KB807382   GM           ENCORE              TAMPA                     FL
127373   KL4CJCSM1KB809018   GM           ENCORE              FT LAUDERDALE             FL
127374   KL4CJCSM1KB834680   GM           ENCORE              Live Oak                  TX
127375   KL4CJCSM1KB835117   GM           ENCORE              FORT LAUDERDALE           FL
127376   KL4CJCSM1KB835389   GM           ENCORE              FORT LAUDERDALE           FL
127377   KL4CJCSM1KB836526   GM           ENCORE              Atlanta                   GA
127378   KL4CJCSM1KB838745   GM           ENCORE              KNOXVILLE                 TN
127379   KL4CJCSM1KB839264   GM           ENCORE              MEMPHIS                   TN
127380   KL4CJCSM1KB839927   GM           ENCORE              JACKSONVILLE              FL
127381   KL4CJCSM1KB840902   GM           ENCORE              ORLANDO                   FL
127382   KL4CJCSM1KB841130   GM           ENCORE              SAVANNAH                  GA
127383   KL4CJCSM1KB841404   GM           ENCORE              HARTFORD                  CT
127384   KL4CJCSM1KB842116   GM           ENCORE              UNION CITY                GA
127385   KL4CJCSM1KB842133   GM           ENCORE              BIRMINGHAM                AL
127386   KL4CJCSM1KB843170   GM           ENCORE              ATLANTA                   GA
127387   KL4CJCSM1KB843444   GM           ENCORE              Atlanta                   GA
127388   KL4CJCSM1KB843685   GM           ENCORE              Atlanta                   GA
127389   KL4CJCSM1KB843718   GM           ENCORE              Atlanta                   GA
127390   KL4CJCSM1KB844268   GM           ENCORE              LAS VEGAS                 NV
127391   KL4CJCSM1KB845033   GM           ENCORE              BIRMINGHAM                AL
127392   KL4CJCSM1KB847736   GM           ENCORE              KNOXVILLE                 TN
127393   KL4CJCSM1KB849616   GM           ENCORE              KNOXVILLE                 TN
127394   KL4CJCSM1KB849647   GM           ENCORE              ORLANDO                   FL
127395   KL4CJCSM1KB852175   GM           ENCORE              LOS ANGELES               CA
127396   KL4CJCSM1KB869056   GM           ENCORE              LAS VEGAS                 NV
127397   KL4CJCSM1KB869526   GM           ENCORE              SAN DIEGO                 CA
127398   KL4CJCSM1KB870305   GM           ENCORE              BURBANK                   CA
127399   KL4CJCSM1KB872295   GM           ENCORE              ONTARIO                   CA
127400   KL4CJCSM1KB872474   GM           ENCORE              SAN DIEGO                 CA
127401   KL4CJCSM1KB872992   GM           ENCORE              SAN DIEGO                 CA
127402   KL4CJCSM1KB873060   GM           ENCORE              ONTARIO, RIVERSIDE        CA
127403   KL4CJCSM1KB873110   GM           ENCORE              LOS ANGELES               CA
127404   KL4CJCSM1KB873446   GM           ENCORE              ONTARIO                   CA
127405   KL4CJCSM1KB873463   GM           ENCORE              LOS ANGELES               CA
127406   KL4CJCSM1KB876671   GM           ENCORE              MIAMI                     FL
127407   KL4CJCSM1KB876704   GM           ENCORE              SAN DIEGO                 CA
127408   KL4CJCSM1KB878517   GM           ENCORE              Atlanta                   GA
127409   KL4CJCSM1KB878985   GM           ENCORE              MORROW                    GA
127410   KL4CJCSM1KB879814   GM           ENCORE              ONTARIO                   CA
127411   KL4CJCSM1KB886181   GM           ENCORE              DETROIT                   MI
127412   KL4CJCSM1KB887248   GM           ENCORE              NORTH HILLS               CA
127413   KL4CJCSM1KB890022   GM           ENCORE              MIAMI                     FL
127414   KL4CJCSM1KB891056   GM           ENCORE              TAMPA                     FL
127415   KL4CJCSM1KB891154   GM           ENCORE              KENNER                    LA
127416   KL4CJCSM1KB891896   GM           ENCORE              ORLANDO                   FL
127417   KL4CJCSM1KB892093   GM           ENCORE              FORT LAUDERDALE           FL
127418   KL4CJCSM1KB893471   GM           ENCORE              TAMPA                     FL
127419   KL4CJCSM1KB893745   GM           ENCORE              TAMPA                     FL
127420   KL4CJCSM1KB894491   GM           ENCORE              TAMPA                     FL
127421   KL4CJCSM1KB894698   GM           ENCORE              NAPLES                    FL
127422   KL4CJCSM1KB895284   GM           ENCORE              TAMPA                     FL
127423   KL4CJCSM1KB897603   GM           ENCORE              NEW ORLEANS               LA
127424   KL4CJCSM1KB897732   GM           ENCORE              KENNER                    LA
127425   KL4CJCSM1KB897939   GM           ENCORE              SAINT LOUIS               MO
127426   KL4CJCSM1KB901407   GM           ENCORE              FORT MYERS                FL
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127427   KL4CJCSM1KB907739   GM           ENCORE              SANTA BARBARA             CA
127428   KL4CJCSM1KB907899   GM           ENCORE              LOS ANGELES               CA
127429   KL4CJCSM1KB907949   GM           ENCORE              SAN DIEGO                 CA
127430   KL4CJCSM1KB909961   GM           ENCORE              LOS ANGELES               CA
127431   KL4CJCSM1KB924167   GM           ENCORE              JACKSONVILLE              FL
127432   KL4CJCSM2KB761285   GM           ENCORE              CHATTANOOGA               TN
127433   KL4CJCSM2KB761318   GM           ENCORE              MIAMI                     FL
127434   KL4CJCSM2KB761772   GM           ENCORE              LOS ANGELES               CA
127435   KL4CJCSM2KB763912   GM           ENCORE              Live Oak                  TX
127436   KL4CJCSM2KB765448   GM           ENCORE              AUGUSTA                   GA
127437   KL4CJCSM2KB768849   GM           ENCORE              Atlanta                   GA
127438   KL4CJCSM2KB770813   GM           ENCORE              TAMPA                     FL
127439   KL4CJCSM2KB770939   GM           ENCORE              FORT LAUDERDALE           FL
127440   KL4CJCSM2KB771007   GM           ENCORE              ONTARIO                   CA
127441   KL4CJCSM2KB771847   GM           ENCORE              ORLANDO                   FL
127442   KL4CJCSM2KB772173   GM           ENCORE              WEST PALM BEACH           FL
127443   KL4CJCSM2KB773288   GM           ENCORE              SAN DIEGO                 CA
127444   KL4CJCSM2KB773291   GM           ENCORE              ORLANDO                   FL
127445   KL4CJCSM2KB773646   GM           ENCORE              JACKSONVILLE              FL
127446   KL4CJCSM2KB775008   GM           ENCORE              TAMPA                     US
127447   KL4CJCSM2KB775283   GM           ENCORE              ORLANDO                   FL
127448   KL4CJCSM2KB775395   GM           ENCORE              FORT LAUDERDALE           FL
127449   KL4CJCSM2KB775798   GM           ENCORE              ORLANDO                   FL
127450   KL4CJCSM2KB775851   GM           ENCORE              FORT LAUDERDALE           FL
127451   KL4CJCSM2KB775980   GM           ENCORE              TAMPA                     FL
127452   KL4CJCSM2KB776045   GM           ENCORE              LOUISVILLE                KY
127453   KL4CJCSM2KB776062   GM           ENCORE              FORT MYERS                FL
127454   KL4CJCSM2KB776580   GM           ENCORE              Ft. Myers                 FL
127455   KL4CJCSM2KB777129   GM           ENCORE              FORT LAUDERDALE           FL
127456   KL4CJCSM2KB777759   GM           ENCORE              FORT MYERS                FL
127457   KL4CJCSM2KB779544   GM           ENCORE              ORLANDO                   FL
127458   KL4CJCSM2KB781357   GM           ENCORE              TAMPA                     FL
127459   KL4CJCSM2KB781505   GM           ENCORE              FORT LAUDERDALE           FL
127460   KL4CJCSM2KB781696   GM           ENCORE              FORT MYERS                FL
127461   KL4CJCSM2KB781892   GM           ENCORE              SAVANNAH                  GA
127462   KL4CJCSM2KB782945   GM           ENCORE              WEST PALM BEACH           FL
127463   KL4CJCSM2KB783240   GM           ENCORE              LOS ANGELES               CA
127464   KL4CJCSM2KB783464   GM           ENCORE              MIAMI                     FL
127465   KL4CJCSM2KB785571   GM           ENCORE              FORT MYERS                FL
127466   KL4CJCSM2KB799714   GM           ENCORE              INGLEWOOD                 CA
127467   KL4CJCSM2KB807522   GM           ENCORE              JACKSONVILLE              FL
127468   KL4CJCSM2KB834381   GM           ENCORE              TAMPA                     FL
127469   KL4CJCSM2KB834641   GM           ENCORE              FORT LAUDERDALE           FL
127470   KL4CJCSM2KB836891   GM           ENCORE              ORLANDO                   FL
127471   KL4CJCSM2KB837975   GM           ENCORE              BIRMINGHAN                AL
127472   KL4CJCSM2KB838267   GM           ENCORE              TAMPA                     FL
127473   KL4CJCSM2KB838527   GM           ENCORE              INDIANAPOLIS              IN
127474   KL4CJCSM2KB838544   GM           ENCORE              KNOXVILLE                 TN
127475   KL4CJCSM2KB838947   GM           ENCORE              ORLANDO                   FL
127476   KL4CJCSM2KB840214   GM           ENCORE              Atlanta                   GA
127477   KL4CJCSM2KB841105   GM           ENCORE              KENNER                    LA
127478   KL4CJCSM2KB841685   GM           ENCORE              ORLANDO                   FL
127479   KL4CJCSM2KB841802   GM           ENCORE              WEST PALM BEACH           FL
127480   KL4CJCSM2KB841914   GM           ENCORE              Atlanta                   GA
127481   KL4CJCSM2KB842609   GM           ENCORE              PENSACOLA                 FL
127482   KL4CJCSM2KB843243   GM           ENCORE              FORT MYERS                FL
127483   KL4CJCSM2KB844344   GM           ENCORE              LOS ANGELES               CA
127484   KL4CJCSM2KB844652   GM           ENCORE              SARASOTA                  FL
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127485   KL4CJCSM2KB844702   GM           ENCORE              ORLANDO                   FL
127486   KL4CJCSM2KB844926   GM           ENCORE              San Antonio               TX
127487   KL4CJCSM2KB845669   GM           ENCORE              PENSACOLA                 FL
127488   KL4CJCSM2KB851603   GM           ENCORE              ONTARIO                   CA
127489   KL4CJCSM2KB868921   GM           ENCORE              LAS VEGAS                 NV
127490   KL4CJCSM2KB868966   GM           ENCORE              SANTA ANA                 CA
127491   KL4CJCSM2KB869874   GM           ENCORE              SACRAMENTO                CA
127492   KL4CJCSM2KB870684   GM           ENCORE              LAS VEGAS                 NV
127493   KL4CJCSM2KB870961   GM           ENCORE              PALM SPRINGS              CA
127494   KL4CJCSM2KB871043   GM           ENCORE              BURBANK                   CA
127495   KL4CJCSM2KB871849   GM           ENCORE              ONTARIO                   CA
127496   KL4CJCSM2KB871947   GM           ENCORE              LOS ANGELES AP            CA
127497   KL4CJCSM2KB872029   GM           ENCORE              Portland                  OR
127498   KL4CJCSM2KB872516   GM           ENCORE              PALM SPRINGS              CA
127499   KL4CJCSM2KB873276   GM           ENCORE              LAS VEGAS                 NV
127500   KL4CJCSM2KB874296   GM           ENCORE              MIAMI                     FL
127501   KL4CJCSM2KB874962   GM           ENCORE              N HOLLYWOOD               CA
127502   KL4CJCSM2KB876081   GM           ENCORE              LOS ANGELES               CA
127503   KL4CJCSM2KB876162   GM           ENCORE              ORLANDO                   FL
127504   KL4CJCSM2KB876212   GM           ENCORE              Des Moines                IA
127505   KL4CJCSM2KB876274   GM           ENCORE              LAS VEGAS                 NV
127506   KL4CJCSM2KB876498   GM           ENCORE              SAN DIEGO                 CA
127507   KL4CJCSM2KB876579   GM           ENCORE              LOS ANGELES               CA
127508   KL4CJCSM2KB876646   GM           ENCORE              LAS VEGAS                 NV
127509   KL4CJCSM2KB877005   GM           ENCORE              SAN DIEGO                 CA
127510   KL4CJCSM2KB878333   GM           ENCORE              KANSAS CITY               MO
127511   KL4CJCSM2KB879238   GM           ENCORE              ORLANDO                   FL
127512   KL4CJCSM2KB879272   GM           ENCORE              SAN DIEGO                 US
127513   KL4CJCSM2KB880213   GM           ENCORE              SANTA ANA                 CA
127514   KL4CJCSM2KB889297   GM           ENCORE              Florissant                MO
127515   KL4CJCSM2KB889459   GM           ENCORE              MILWAUKEE                 WI
127516   KL4CJCSM2KB890689   GM           ENCORE              PENSACOLA                 FL
127517   KL4CJCSM2KB890725   GM           ENCORE              KNOXVILLE                 TN
127518   KL4CJCSM2KB891339   GM           ENCORE              TAMPA                     FL
127519   KL4CJCSM2KB891731   GM           ENCORE              SAN DIEGO                 CA
127520   KL4CJCSM2KB891776   GM           ENCORE              ORLANDO                   FL
127521   KL4CJCSM2KB892068   GM           ENCORE              FORT LAUDERDALE           FL
127522   KL4CJCSM2KB892121   GM           ENCORE              SAN DIEGO                 CA
127523   KL4CJCSM2KB892233   GM           ENCORE              FORT LAUDERDALE           FL
127524   KL4CJCSM2KB892782   GM           ENCORE              FORT MYERS                FL
127525   KL4CJCSM2KB893849   GM           ENCORE              FORT LAUDERDALE           FL
127526   KL4CJCSM2KB894466   GM           ENCORE              COCOA                     FL
127527   KL4CJCSM2KB894922   GM           ENCORE              FORT LAUDERDALE           FL
127528   KL4CJCSM2KB895228   GM           ENCORE              WICHITA FALLS             TX
127529   KL4CJCSM2KB895584   GM           ENCORE              ORLANDO                   FL
127530   KL4CJCSM2KB896198   GM           ENCORE              Miami                     FL
127531   KL4CJCSM2KB896685   GM           ENCORE              Atlanta                   GA
127532   KL4CJCSM2KB908513   GM           ENCORE              MONTGOMERY                AL
127533   KL4CJCSM2KB909063   GM           ENCORE              SANTA ANA                 CA
127534   KL4CJCSM2KB909662   GM           ENCORE              INGLEWOOD                 CA
127535   KL4CJCSM2KB912514   GM           ENCORE              LAS VEGAS                 NV
127536   KL4CJCSM2KB946727   GM           ENCORE              FORT MYERS                FL
127537   KL4CJCSM3KB760047   GM           ENCORE              LOS ANGELES               CA
127538   KL4CJCSM3KB761859   GM           ENCORE              FORT LAUDERDALE           FL
127539   KL4CJCSM3KB763465   GM           ENCORE              Salt Lake City            UT
127540   KL4CJCSM3KB765992   GM           ENCORE              PENSACOLA                 FL
127541   KL4CJCSM3KB766611   GM           ENCORE              Atlanta                   GA
127542   KL4CJCSM3KB767046   GM           ENCORE              MEMPHIS                   TN
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127543   KL4CJCSM3KB767371   GM           ENCORE              Miami                     FL
127544   KL4CJCSM3KB768147   GM           ENCORE              ONTARIO                   CA
127545   KL4CJCSM3KB768374   GM           ENCORE              FORT MYERS                FL
127546   KL4CJCSM3KB770948   GM           ENCORE              FORT LAUDERDALE           FL
127547   KL4CJCSM3KB771453   GM           ENCORE              SARASOTA                  FL
127548   KL4CJCSM3KB771615   GM           ENCORE              FORT MYERS                FL
127549   KL4CJCSM3KB771999   GM           ENCORE              ORLANDO                   FL
127550   KL4CJCSM3KB772182   GM           ENCORE              PALM SPRINGS              CA
127551   KL4CJCSM3KB773736   GM           ENCORE              ATLANTA                   GA
127552   KL4CJCSM3KB774241   GM           ENCORE              FORT MYERS                FL
127553   KL4CJCSM3KB775020   GM           ENCORE              TAMPA                     FL
127554   KL4CJCSM3KB775485   GM           ENCORE              Atlanta                   GA
127555   KL4CJCSM3KB775521   GM           ENCORE              WEST PALM BEACH           FL
127556   KL4CJCSM3KB775650   GM           ENCORE              MIAMI                     FL
127557   KL4CJCSM3KB775955   GM           ENCORE              FT LAUDERDALE             FL
127558   KL4CJCSM3KB777107   GM           ENCORE              FORT LAUDERDALE           FL
127559   KL4CJCSM3KB777236   GM           ENCORE              TAMPA                     FL
127560   KL4CJCSM3KB777589   GM           ENCORE              FORT LAUDERDALE           FL
127561   KL4CJCSM3KB778337   GM           ENCORE              TAMPA                     FL
127562   KL4CJCSM3KB778774   GM           ENCORE              ORLANDO                   FL
127563   KL4CJCSM3KB778953   GM           ENCORE              Ft. Myers                 FL
127564   KL4CJCSM3KB779004   GM           ENCORE              ORLANDO                   FL
127565   KL4CJCSM3KB779603   GM           ENCORE              FT. LAUDERDALE            FL
127566   KL4CJCSM3KB779813   GM           ENCORE              ORLANDO                   FL
127567   KL4CJCSM3KB780329   GM           ENCORE              Teterboro                 NJ
127568   KL4CJCSM3KB780685   GM           ENCORE              FORT LAUDERDALE           FL
127569   KL4CJCSM3KB780945   GM           ENCORE              TAMPA                     US
127570   KL4CJCSM3KB781013   GM           ENCORE              ORLANDO                   FL
127571   KL4CJCSM3KB781075   GM           ENCORE              ORLANDO                   FL
127572   KL4CJCSM3KB782467   GM           ENCORE              Salt Lake City            UT
127573   KL4CJCSM3KB783165   GM           ENCORE              MIAMI                     FL
127574   KL4CJCSM3KB802412   GM           ENCORE              LAS VEGAS                 NV
127575   KL4CJCSM3KB802877   GM           ENCORE              SANTA ANA                 CA
127576   KL4CJCSM3KB802894   GM           ENCORE              SAN ANTONIO               TX
127577   KL4CJCSM3KB804015   GM           ENCORE              SAN DIEGO                 CA
127578   KL4CJCSM3KB806962   GM           ENCORE              Beaverton                 OR
127579   KL4CJCSM3KB807383   GM           ENCORE              Portland                  OR
127580   KL4CJCSM3KB808212   GM           ENCORE              LAS VEGAS                 NV
127581   KL4CJCSM3KB834857   GM           ENCORE              MORROW                    GA
127582   KL4CJCSM3KB838150   GM           ENCORE              SUMTER                    SC
127583   KL4CJCSM3KB839279   GM           ENCORE              MEMPHIS                   TN
127584   KL4CJCSM3KB839508   GM           ENCORE              UNION CITY                GA
127585   KL4CJCSM3KB840741   GM           ENCORE              SHREVEPORT                LA
127586   KL4CJCSM3KB842490   GM           ENCORE              ORLANDO                   FL
127587   KL4CJCSM3KB842585   GM           ENCORE              TAMPA                     FL
127588   KL4CJCSM3KB842764   GM           ENCORE              PENSACOLA                 FL
127589   KL4CJCSM3KB843252   GM           ENCORE              Atlanta                   GA
127590   KL4CJCSM3KB844045   GM           ENCORE              UNION CITY                GA
127591   KL4CJCSM3KB844109   GM           ENCORE              KNOXVILLE                 TN
127592   KL4CJCSM3KB846233   GM           ENCORE              PENSACOLA                 FL
127593   KL4CJCSM3KB847415   GM           ENCORE              BIRMINGHAM                AL
127594   KL4CJCSM3KB848340   GM           ENCORE              Wichita                   KS
127595   KL4CJCSM3KB848533   GM           ENCORE              Houston                   TX
127596   KL4CJCSM3KB851979   GM           ENCORE              SAN DIEGO                 CA
127597   KL4CJCSM3KB869169   GM           ENCORE              Killeen                   TX
127598   KL4CJCSM3KB869415   GM           ENCORE              SANTA ANA                 CA
127599   KL4CJCSM3KB870838   GM           ENCORE              LOS ANGELES               CA
127600   KL4CJCSM3KB871391   GM           ENCORE              SANTA ANA                 CA
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127601   KL4CJCSM3KB871679   GM           ENCORE              SANTA ANA                 CA
127602   KL4CJCSM3KB872525   GM           ENCORE              INGLEWOOD                 CA
127603   KL4CJCSM3KB873819   GM           ENCORE              LOS ANGELES               CA
127604   KL4CJCSM3KB875246   GM           ENCORE              SANTA ANA                 CA
127605   KL4CJCSM3KB875862   GM           ENCORE              JACKSONVILLE              FL
127606   KL4CJCSM3KB876462   GM           ENCORE              CHICAGO                   IL
127607   KL4CJCSM3KB877319   GM           ENCORE              LOS ANGELES               CA
127608   KL4CJCSM3KB878714   GM           ENCORE              LAS VEGAS                 NV
127609   KL4CJCSM3KB879085   GM           ENCORE              Stockton                  CA
127610   KL4CJCSM3KB879832   GM           ENCORE              LAS VEGAS                 NV
127611   KL4CJCSM3KB880155   GM           ENCORE              SAINT LOUIS               MO
127612   KL4CJCSM3KB886036   GM           ENCORE              ATLANTA                   GA
127613   KL4CJCSM3KB886795   GM           ENCORE              Ft. Myers                 FL
127614   KL4CJCSM3KB887445   GM           ENCORE              GRAND RAPIDS              MI
127615   KL4CJCSM3KB887915   GM           ENCORE              SAVANNAH                  GA
127616   KL4CJCSM3KB891530   GM           ENCORE              SAINT PAUL                MN
127617   KL4CJCSM3KB891768   GM           ENCORE              SARASOTA                  FL
127618   KL4CJCSM3KB891866   GM           ENCORE              WEST PALM BEACH           FL
127619   KL4CJCSM3KB891978   GM           ENCORE              FORT LAUDERDALE           FL
127620   KL4CJCSM3KB892466   GM           ENCORE              KENNER                    LA
127621   KL4CJCSM3KB894900   GM           ENCORE              KNOXVILLE                 TN
127622   KL4CJCSM3KB895190   GM           ENCORE              FORT MYERS                FL
127623   KL4CJCSM3KB895304   GM           ENCORE              Atlanta                   GA
127624   KL4CJCSM3KB895593   GM           ENCORE              BIRMINGHAN                AL
127625   KL4CJCSM3KB895612   GM           ENCORE              JACKSONVILLE              FL
127626   KL4CJCSM3KB895688   GM           ENCORE              ORLANDO                   FL
127627   KL4CJCSM3KB895755   GM           ENCORE              TAMPA                     FL
127628   KL4CJCSM3KB896159   GM           ENCORE              TAMPA                     FL
127629   KL4CJCSM3KB899238   GM           ENCORE              SHREVEPORT                LA
127630   KL4CJCSM3KB907256   GM           ENCORE              PALM SPRINGS              CA
127631   KL4CJCSM3KB907306   GM           ENCORE              LAS VEGAS                 NV
127632   KL4CJCSM3KB911761   GM           ENCORE              OMAHA                     NE
127633   KL4CJCSM3KB925854   GM           ENCORE              BLOOMINGTON               IL
127634   KL4CJCSM3KB946512   GM           ENCORE              TAMPA                     FL
127635   KL4CJCSM4KB763152   GM           ENCORE              LAS VEGAS                 NV
127636   KL4CJCSM4KB764964   GM           ENCORE              Smithtown                 NY
127637   KL4CJCSM4KB766830   GM           ENCORE              MEMPHIS                   TN
127638   KL4CJCSM4KB768514   GM           ENCORE              WEST PALM BEACH           FL
127639   KL4CJCSM4KB769596   GM           ENCORE              ORLANDO                   FL
127640   KL4CJCSM4KB770893   GM           ENCORE              Dallas                    TX
127641   KL4CJCSM4KB771039   GM           ENCORE              GULFPORT                  MS
127642   KL4CJCSM4KB771042   GM           ENCORE              MONTGOMERY                AL
127643   KL4CJCSM4KB771087   GM           ENCORE              ORLANDO                   FL
127644   KL4CJCSM4KB771249   GM           ENCORE              Live Oak                  TX
127645   KL4CJCSM4KB771798   GM           ENCORE              KNOXVILLE                 TN
127646   KL4CJCSM4KB771817   GM           ENCORE              SAVANNAH                  GA
127647   KL4CJCSM4KB771865   GM           ENCORE              FORT LAUDERDALE           FL
127648   KL4CJCSM4KB772241   GM           ENCORE              PANAMA CITY               FL
127649   KL4CJCSM4KB772286   GM           ENCORE              ORLANDO                   FL
127650   KL4CJCSM4KB772451   GM           ENCORE              TAMPA                     FL
127651   KL4CJCSM4KB772496   GM           ENCORE              ORLANDO                   FL
127652   KL4CJCSM4KB773051   GM           ENCORE              Houston                   TX
127653   KL4CJCSM4KB773261   GM           ENCORE              San Antonio               TX
127654   KL4CJCSM4KB773616   GM           ENCORE              LAS VEGAS                 NV
127655   KL4CJCSM4KB773633   GM           ENCORE              ORLANDO                   FL
127656   KL4CJCSM4KB773681   GM           ENCORE              Tampa                     FL
127657   KL4CJCSM4KB775303   GM           ENCORE              ORLANDO                   FL
127658   KL4CJCSM4KB775723   GM           ENCORE              WEST PALM BEACH           FL
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127659   KL4CJCSM4KB776175   GM           ENCORE              MIAMI                     FL
127660   KL4CJCSM4KB777679   GM           ENCORE              ORLANDO                   FL
127661   KL4CJCSM4KB777911   GM           ENCORE              BIRMINGHAM                AL
127662   KL4CJCSM4KB779366   GM           ENCORE              WEST PALM BEACH           FL
127663   KL4CJCSM4KB779822   GM           ENCORE              WEST PALM BEACH           FL
127664   KL4CJCSM4KB780078   GM           ENCORE              WEST PALM BEACH           FL
127665   KL4CJCSM4KB780355   GM           ENCORE              Ft. Myers                 FL
127666   KL4CJCSM4KB780842   GM           ENCORE              FORT LAUDERDALE           FL
127667   KL4CJCSM4KB781179   GM           ENCORE              San Antonio               TX
127668   KL4CJCSM4KB781618   GM           ENCORE              TAMPA                     FL
127669   KL4CJCSM4KB783109   GM           ENCORE              ORANGE COUNTY             CA
127670   KL4CJCSM4KB799200   GM           ENCORE              LOS ANGELES               CA
127671   KL4CJCSM4KB801494   GM           ENCORE              LOS ANGELES               CA
127672   KL4CJCSM4KB803648   GM           ENCORE              BURBANK                   CA
127673   KL4CJCSM4KB806842   GM           ENCORE              COLLEGE PARK              GA
127674   KL4CJCSM4KB809563   GM           ENCORE              ORLANDO                   FL
127675   KL4CJCSM4KB809644   GM           ENCORE              Stone Mountain            GA
127676   KL4CJCSM4KB834544   GM           ENCORE              KENNER                    LA
127677   KL4CJCSM4KB834673   GM           ENCORE              RICHMOND                  VA
127678   KL4CJCSM4KB835323   GM           ENCORE              San Antonio               TX
127679   KL4CJCSM4KB837914   GM           ENCORE              Atlanta                   GA
127680   KL4CJCSM4KB838920   GM           ENCORE              UNION CITY                GA
127681   KL4CJCSM4KB839419   GM           ENCORE              KENNER                    LA
127682   KL4CJCSM4KB839839   GM           ENCORE              MEMPHIS                   TN
127683   KL4CJCSM4KB840392   GM           ENCORE              Atlanta                   GA
127684   KL4CJCSM4KB840697   GM           ENCORE              FORT MYERS                FL
127685   KL4CJCSM4KB841896   GM           ENCORE              Atlanta                   GA
127686   KL4CJCSM4KB842076   GM           ENCORE              ATLANTA                   GA
127687   KL4CJCSM4KB842322   GM           ENCORE              Atlanta                   GA
127688   KL4CJCSM4KB842918   GM           ENCORE              BIRMINGHAN                AL
127689   KL4CJCSM4KB843759   GM           ENCORE              KNOXVILLE                 TN
127690   KL4CJCSM4KB843809   GM           ENCORE              PENSACOLA                 FL
127691   KL4CJCSM4KB843860   GM           ENCORE              MIAMI                     FL
127692   KL4CJCSM4KB844958   GM           ENCORE              TAMPA                     FL
127693   KL4CJCSM4KB844975   GM           ENCORE              JACKSONVILLE              FL
127694   KL4CJCSM4KB846113   GM           ENCORE              ORLANDO                   FL
127695   KL4CJCSM4KB847312   GM           ENCORE              LOS ANGELES               CA
127696   KL4CJCSM4KB847357   GM           ENCORE              BIRMINGHAM                AL
127697   KL4CJCSM4KB849724   GM           ENCORE              ORLANDO                   FL
127698   KL4CJCSM4KB853515   GM           ENCORE              LOS ANGELES               CA
127699   KL4CJCSM4KB854745   GM           ENCORE              INGLEWOOD                 CA
127700   KL4CJCSM4KB855393   GM           ENCORE              LOS ANGELES               CA
127701   KL4CJCSM4KB869598   GM           ENCORE              ONTARIO                   CA
127702   KL4CJCSM4KB870038   GM           ENCORE              Portland                  OR
127703   KL4CJCSM4KB871240   GM           ENCORE              INGLEWOOD                 CA
127704   KL4CJCSM4KB871724   GM           ENCORE              JACKSON                   MS
127705   KL4CJCSM4KB871738   GM           ENCORE              LOS ANGELES               CA
127706   KL4CJCSM4KB873120   GM           ENCORE              ORANGE COUNTY             CA
127707   KL4CJCSM4KB874199   GM           ENCORE              LAS VEGAS                 NV
127708   KL4CJCSM4KB874929   GM           ENCORE              WEST PALM BEACH           FL
127709   KL4CJCSM4KB875529   GM           ENCORE              SALT LAKE CITY            UT
127710   KL4CJCSM4KB876146   GM           ENCORE              SANTA ANA                 CA
127711   KL4CJCSM4KB877846   GM           ENCORE              WEST PALM BEACH           FL
127712   KL4CJCSM4KB877894   GM           ENCORE              INDIANAPOLIS              IN
127713   KL4CJCSM4KB878656   GM           ENCORE              Dallas                    TX
127714   KL4CJCSM4KB878950   GM           ENCORE              SAN DIEGO                 CA
127715   KL4CJCSM4KB879757   GM           ENCORE              SAN DIEGO                 CA
127716   KL4CJCSM4KB879970   GM           ENCORE              SAN DIEGO                 CA
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127717   KL4CJCSM4KB880066   GM           ENCORE              ONTARIO                   CA
127718   KL4CJCSM4KB886742   GM           ENCORE              BIRMINGHAM                AL
127719   KL4CJCSM4KB887082   GM           ENCORE              LITTLE ROCK               AR
127720   KL4CJCSM4KB887860   GM           ENCORE              CHICAGO                   IL
127721   KL4CJCSM4KB887891   GM           ENCORE              CHICAGO                   IL
127722   KL4CJCSM4KB887907   GM           ENCORE              Austin                    TX
127723   KL4CJCSM4KB888278   GM           ENCORE              ALBANY                    GA
127724   KL4CJCSM4KB891374   GM           ENCORE              PALM SPRINGS              CA
127725   KL4CJCSM4KB892556   GM           ENCORE              TAMPA                     FL
127726   KL4CJCSM4KB893223   GM           ENCORE              FORT MYERS                FL
127727   KL4CJCSM4KB893321   GM           ENCORE              Miami                     FL
127728   KL4CJCSM4KB893626   GM           ENCORE              ORLANDO                   FL
127729   KL4CJCSM4KB893805   GM           ENCORE              FORT MYERS                FL
127730   KL4CJCSM4KB895067   GM           ENCORE              FORT LAUDERDALE           FL
127731   KL4CJCSM4KB895358   GM           ENCORE              FORT LAUDERDALE           FL
127732   KL4CJCSM4KB896638   GM           ENCORE              WEST PALM BEACH           FL
127733   KL4CJCSM4KB897157   GM           ENCORE              KANSAS CITY               MO
127734   KL4CJCSM4KB899278   GM           ENCORE              ORLANDO                   FL
127735   KL4CJCSM4KB908237   GM           ENCORE              PLEASANTON                CA
127736   KL4CJCSM4KB908674   GM           ENCORE              Portland                  OR
127737   KL4CJCSM4KB909212   GM           ENCORE              LOS ANGELES               CA
127738   KL4CJCSM4KB911199   GM           ENCORE              CHICAGO                   IL
127739   KL4CJCSM4KB912577   GM           ENCORE              LOS ANGELES AP            CA
127740   KL4CJCSM5KB759952   GM           ENCORE              MIDDLE RIVER              MD
127741   KL4CJCSM5KB766108   GM           ENCORE              Houston                   TX
127742   KL4CJCSM5KB766710   GM           ENCORE              DENVER                    CO
127743   KL4CJCSM5KB768568   GM           ENCORE              Columbus                  OH
127744   KL4CJCSM5KB771132   GM           ENCORE              FORT LAUDERDALE           FL
127745   KL4CJCSM5KB771647   GM           ENCORE              MARY ESTHER               FL
127746   KL4CJCSM5KB771700   GM           ENCORE              TAMPA                     FL
127747   KL4CJCSM5KB772328   GM           ENCORE              Newark                    NJ
127748   KL4CJCSM5KB772376   GM           ENCORE              ORLANDO                   FL
127749   KL4CJCSM5KB772667   GM           ENCORE              WEST PALM BEACH           FL
127750   KL4CJCSM5KB772961   GM           ENCORE              WEST PALM BEACH           FL
127751   KL4CJCSM5KB773124   GM           ENCORE              ORLANDO                   FL
127752   KL4CJCSM5KB773558   GM           ENCORE              FORT MYERS                FL
127753   KL4CJCSM5KB774726   GM           ENCORE              WEST PALM BEACH           FL
127754   KL4CJCSM5KB775357   GM           ENCORE              TAMPA                     FL
127755   KL4CJCSM5KB775567   GM           ENCORE              LAS VEGAS                 NV
127756   KL4CJCSM5KB775732   GM           ENCORE              TAMPA                     FL
127757   KL4CJCSM5KB776010   GM           ENCORE              FORT LAUDERDALE           FL
127758   KL4CJCSM5KB776654   GM           ENCORE              FORT MYERS                FL
127759   KL4CJCSM5KB778467   GM           ENCORE              TAMPA                     FL
127760   KL4CJCSM5KB778906   GM           ENCORE              FORT MYERS                FL
127761   KL4CJCSM5KB779229   GM           ENCORE              WEST PALM BEACH           FL
127762   KL4CJCSM5KB779988   GM           ENCORE              FORT LAUDERDALE           FL
127763   KL4CJCSM5KB780297   GM           ENCORE              WEST PALM BEACH           FL
127764   KL4CJCSM5KB781093   GM           ENCORE              Atlanta                   GA
127765   KL4CJCSM5KB781398   GM           ENCORE              ORLANDO                   FL
127766   KL4CJCSM5KB781871   GM           ENCORE              Lake Elsinore             CA
127767   KL4CJCSM5KB782261   GM           ENCORE              WEST PALM BEACH           FL
127768   KL4CJCSM5KB784155   GM           ENCORE              FORT MYERS                FL
127769   KL4CJCSM5KB798265   GM           ENCORE              LAS VEGAS                 NV
127770   KL4CJCSM5KB800757   GM           ENCORE              PALM SPRINGS              CA
127771   KL4CJCSM5KB802492   GM           ENCORE              LOS ANGELES               CA
127772   KL4CJCSM5KB803030   GM           ENCORE              JACKSONVILLE              FL
127773   KL4CJCSM5KB804338   GM           ENCORE              BURBANK                   CA
127774   KL4CJCSM5KB805070   GM           ENCORE              Stone Mountain            GA
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127775   KL4CJCSM5KB837792   GM           ENCORE              PHILADELPHIA              PA
127776   KL4CJCSM5KB839297   GM           ENCORE              KNOXVILLE                 TN
127777   KL4CJCSM5KB839655   GM           ENCORE              SAN DIEGO                 CA
127778   KL4CJCSM5KB839851   GM           ENCORE              FORT LAUDERDALE           FL
127779   KL4CJCSM5KB840238   GM           ENCORE              ORLANDO                   FL
127780   KL4CJCSM5KB840756   GM           ENCORE              ORLANDO                   FL
127781   KL4CJCSM5KB840885   GM           ENCORE              PENSACOLA                 FL
127782   KL4CJCSM5KB841115   GM           ENCORE              ATLANTA                   GA
127783   KL4CJCSM5KB841504   GM           ENCORE              KNOXVILLE                 TN
127784   KL4CJCSM5KB841521   GM           ENCORE              STONE MOUNTAIN            GA
127785   KL4CJCSM5KB841776   GM           ENCORE              COLLEGE PARK              GA
127786   KL4CJCSM5KB842023   GM           ENCORE              Atlanta                   GA
127787   KL4CJCSM5KB842099   GM           ENCORE              KNOXVILLE                 TN
127788   KL4CJCSM5KB842569   GM           ENCORE              ORLANDO                   FL
127789   KL4CJCSM5KB842619   GM           ENCORE              SAN ANTONIO               TX
127790   KL4CJCSM5KB842927   GM           ENCORE              Atlanta                   GA
127791   KL4CJCSM5KB843009   GM           ENCORE              JACKSON                   MS
127792   KL4CJCSM5KB843303   GM           ENCORE              ATLANTA                   GA
127793   KL4CJCSM5KB843902   GM           ENCORE              ATLANTA                   GA
127794   KL4CJCSM5KB844726   GM           ENCORE              KNOXVILLE                 TN
127795   KL4CJCSM5KB869089   GM           ENCORE              ONTARIO                   CA
127796   KL4CJCSM5KB870971   GM           ENCORE              LOS ANGELES AP            CA
127797   KL4CJCSM5KB871196   GM           ENCORE              SAVANNAH                  GA
127798   KL4CJCSM5KB871280   GM           ENCORE              LAS VEGAS                 NV
127799   KL4CJCSM5KB872736   GM           ENCORE              LOS ANGELES               CA
127800   KL4CJCSM5KB874373   GM           ENCORE              PALM SPRINGS              CA
127801   KL4CJCSM5KB876396   GM           ENCORE              WICHITA FALLS             TX
127802   KL4CJCSM5KB876429   GM           ENCORE              WESTLAKE                  OH
127803   KL4CJCSM5KB876995   GM           ENCORE              ONTARIO                   CA
127804   KL4CJCSM5KB878732   GM           ENCORE              LAS VEGAS                 NV
127805   KL4CJCSM5KB878911   GM           ENCORE              PALM SPRINGS              CA
127806   KL4CJCSM5KB879444   GM           ENCORE              KENNER                    LA
127807   KL4CJCSM5KB880187   GM           ENCORE              LITTLE ROCK               AR
127808   KL4CJCSM5KB887026   GM           ENCORE              TAMPA                     FL
127809   KL4CJCSM5KB887866   GM           ENCORE              PALM SPRINGS              CA
127810   KL4CJCSM5KB888984   GM           ENCORE              KNOXVILLE                 TN
127811   KL4CJCSM5KB889312   GM           ENCORE              FORT MYERS                FL
127812   KL4CJCSM5KB889469   GM           ENCORE              MILWAUKEE                 WI
127813   KL4CJCSM5KB892341   GM           ENCORE              FORT MYERS                FL
127814   KL4CJCSM5KB892663   GM           ENCORE              Atlanta                   GA
127815   KL4CJCSM5KB892758   GM           ENCORE              FORT MYERS                FL
127816   KL4CJCSM5KB892873   GM           ENCORE              FORT LAUDERDALE           FL
127817   KL4CJCSM5KB893411   GM           ENCORE              ORLANDO                   FL
127818   KL4CJCSM5KB894476   GM           ENCORE              PENSACOLA                 FL
127819   KL4CJCSM5KB894638   GM           ENCORE              KENNER                    LA
127820   KL4CJCSM5KB894736   GM           ENCORE              ORLANDO                   FL
127821   KL4CJCSM5KB894865   GM           ENCORE              ORLANDO                   FL
127822   KL4CJCSM5KB895207   GM           ENCORE              SAN DIEGO                 CA
127823   KL4CJCSM5KB895529   GM           ENCORE              Atlanta                   GA
127824   KL4CJCSM5KB895983   GM           ENCORE              CHICAGO                   IL
127825   KL4CJCSM5KB896339   GM           ENCORE              MIAMI                     FL
127826   KL4CJCSM5KB899158   GM           ENCORE              CHICAGO                   IL
127827   KL4CJCSM5KB907369   GM           ENCORE              BURBANK                   CA
127828   KL4CJCSM5KB908845   GM           ENCORE              SAN DIEGO                 CA
127829   KL4CJCSM5KB910093   GM           ENCORE              ORANGE COUNTY             CA
127830   KL4CJCSM5KB911793   GM           ENCORE              LAS VEGAS                 NV
127831   KL4CJCSM5KB912734   GM           ENCORE              LOS ANGELES               CA
127832   KL4CJCSM5KB912751   GM           ENCORE              ORANGE COUNTY             CA
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127833   KL4CJCSM5KB924012   GM           ENCORE              SAINT LOUIS               MO
127834   KL4CJCSM5KB924835   GM           ENCORE              SAN DIEGO                 CA
127835   KL4CJCSM5KB926293   GM           ENCORE              DULUTH                    GA
127836   KL4CJCSM6KB763265   GM           ENCORE              LAS VEGAS                 NV
127837   KL4CJCSM6KB764397   GM           ENCORE              LAS VEGAS                 NV
127838   KL4CJCSM6KB765260   GM           ENCORE              EL SEGUNDO                CA
127839   KL4CJCSM6KB766814   GM           ENCORE              Miami                     FL
127840   KL4CJCSM6KB766988   GM           ENCORE              SAVANNAH                  GA
127841   KL4CJCSM6KB770667   GM           ENCORE              FORT LAUDERDALE           FL
127842   KL4CJCSM6KB770748   GM           ENCORE              FORT LAUDERDALE           FL
127843   KL4CJCSM6KB770765   GM           ENCORE              SARASOTA                  FL
127844   KL4CJCSM6KB770877   GM           ENCORE              FORT MYERS                FL
127845   KL4CJCSM6KB772256   GM           ENCORE              FORT LAUDERDALE           FL
127846   KL4CJCSM6KB773536   GM           ENCORE              Philadelphia              PA
127847   KL4CJCSM6KB773679   GM           ENCORE              WEST PALM BEACH           FL
127848   KL4CJCSM6KB774394   GM           ENCORE              WEST PALM BEACH           FL
127849   KL4CJCSM6KB774461   GM           ENCORE              Beaverton                 OR
127850   KL4CJCSM6KB774864   GM           ENCORE              MIAMI                     FL
127851   KL4CJCSM6KB775237   GM           ENCORE              TAMPA                     FL
127852   KL4CJCSM6KB775965   GM           ENCORE              FORT LAUDERDALE           FL
127853   KL4CJCSM6KB778008   GM           ENCORE              ORLANDO                   FL
127854   KL4CJCSM6KB778025   GM           ENCORE              ORLANDO                   FL
127855   KL4CJCSM6KB778963   GM           ENCORE              ORLANDO                   FL
127856   KL4CJCSM6KB779840   GM           ENCORE              TAMPA                     FL
127857   KL4CJCSM6KB779952   GM           ENCORE              SARASOTA                  FL
127858   KL4CJCSM6KB780258   GM           ENCORE              TAMPA                     FL
127859   KL4CJCSM6KB781040   GM           ENCORE              TAMPA                     FL
127860   KL4CJCSM6KB781748   GM           ENCORE              FORT LAUDERDALE           FL
127861   KL4CJCSM6KB802078   GM           ENCORE              LOS ANGELES               CA
127862   KL4CJCSM6KB802260   GM           ENCORE              BURBANK                   CA
127863   KL4CJCSM6KB803506   GM           ENCORE              MIAMI                     FL
127864   KL4CJCSM6KB804297   GM           ENCORE              Bridgeton                 MO
127865   KL4CJCSM6KB804896   GM           ENCORE              TAMPA                     FL
127866   KL4CJCSM6KB805286   GM           ENCORE              LAS VEGAS                 NV
127867   KL4CJCSM6KB809113   GM           ENCORE              Irving                    TX
127868   KL4CJCSM6KB831774   GM           ENCORE              ORLANDO                   FL
127869   KL4CJCSM6KB834447   GM           ENCORE              ORLANDO                   FL
127870   KL4CJCSM6KB836246   GM           ENCORE              Atlanta                   GA
127871   KL4CJCSM6KB836831   GM           ENCORE              SANTA ANA                 CA
127872   KL4CJCSM6KB838336   GM           ENCORE              KENNER                    LA
127873   KL4CJCSM6KB838966   GM           ENCORE              BIRMINGHAM                AL
127874   KL4CJCSM6KB839325   GM           ENCORE              COLLEGE PARK              GA
127875   KL4CJCSM6KB840040   GM           ENCORE              NEW YORK CITY             NY
127876   KL4CJCSM6KB840104   GM           ENCORE              ORLANDO                   FL
127877   KL4CJCSM6KB840569   GM           ENCORE              Miami                     FL
127878   KL4CJCSM6KB841012   GM           ENCORE              MIAMI                     FL
127879   KL4CJCSM6KB841351   GM           ENCORE              ORLANDO                   FL
127880   KL4CJCSM6KB841530   GM           ENCORE              ORLANDO                   FL
127881   KL4CJCSM6KB841589   GM           ENCORE              Atlanta                   GA
127882   KL4CJCSM6KB841785   GM           ENCORE              UNION CITY                GA
127883   KL4CJCSM6KB842287   GM           ENCORE              Atlanta                   GA
127884   KL4CJCSM6KB843035   GM           ENCORE              KNOXVILLE                 TN
127885   KL4CJCSM6KB843228   GM           ENCORE              BIRMINGHAM                AL
127886   KL4CJCSM6KB843293   GM           ENCORE              FORT MYERS                FL
127887   KL4CJCSM6KB843469   GM           ENCORE              BIRMINGHAM                AL
127888   KL4CJCSM6KB843911   GM           ENCORE              Atlanta                   GA
127889   KL4CJCSM6KB844170   GM           ENCORE              WEST PALM BEACH           FL
127890   KL4CJCSM6KB844234   GM           ENCORE              PENSACOLA                 FL
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127891   KL4CJCSM6KB844718   GM           ENCORE              PENSACOLA                 FL
127892   KL4CJCSM6KB844895   GM           ENCORE              KENNER                    LA
127893   KL4CJCSM6KB845092   GM           ENCORE              ORLANDO                   FL
127894   KL4CJCSM6KB868890   GM           ENCORE              LAS VEGAS                 NV
127895   KL4CJCSM6KB871210   GM           ENCORE              LAS VEGAS                 NV
127896   KL4CJCSM6KB871319   GM           ENCORE              MIAMI                     FL
127897   KL4CJCSM6KB871868   GM           ENCORE              LOS ANGELES               CA
127898   KL4CJCSM6KB872552   GM           ENCORE              PALM SPRINGS              CA
127899   KL4CJCSM6KB872602   GM           ENCORE              LAS VEGAS                 NV
127900   KL4CJCSM6KB872678   GM           ENCORE              LAS VEGAS                 NV
127901   KL4CJCSM6KB872941   GM           ENCORE              LAS VEGAS                 NV
127902   KL4CJCSM6KB873636   GM           ENCORE              ALBUQUERQUE               NM
127903   KL4CJCSM6KB873670   GM           ENCORE              Des Moines                IA
127904   KL4CJCSM6KB873863   GM           ENCORE              LOS ANGELES               CA
127905   KL4CJCSM6KB874530   GM           ENCORE              LOS ANGELES               CA
127906   KL4CJCSM6KB875581   GM           ENCORE              LAS VEGAS                 NV
127907   KL4CJCSM6KB876021   GM           ENCORE              SAN DIEGO                 CA
127908   KL4CJCSM6KB876861   GM           ENCORE              SANTA ANA                 CA
127909   KL4CJCSM6KB877153   GM           ENCORE              JACKSON                   MS
127910   KL4CJCSM6KB877816   GM           ENCORE              MEMPHIS                   TN
127911   KL4CJCSM6KB879386   GM           ENCORE              BURBANK                   CA
127912   KL4CJCSM6KB887651   GM           ENCORE              KENNER                    LA
127913   KL4CJCSM6KB888864   GM           ENCORE              FLORENCE                  AL
127914   KL4CJCSM6KB889240   GM           ENCORE              FORT MYERS                FL
127915   KL4CJCSM6KB890484   GM           ENCORE              SARASOTA                  FL
127916   KL4CJCSM6KB891229   GM           ENCORE              Atlanta                   GA
127917   KL4CJCSM6KB892526   GM           ENCORE              FORT MYERS                FL
127918   KL4CJCSM6KB892574   GM           ENCORE              ORLANDO                   FL
127919   KL4CJCSM6KB892722   GM           ENCORE              TAMPA                     FL
127920   KL4CJCSM6KB892848   GM           ENCORE              TAMPA                     FL
127921   KL4CJCSM6KB893045   GM           ENCORE              FORT MYERS                FL
127922   KL4CJCSM6KB893255   GM           ENCORE              Tampa                     FL
127923   KL4CJCSM6KB894745   GM           ENCORE              LOUISVILLE                KY
127924   KL4CJCSM6KB895765   GM           ENCORE              FORT LAUDERDALE           FL
127925   KL4CJCSM6KB895944   GM           ENCORE              TAMPA                     FL
127926   KL4CJCSM6KB896141   GM           ENCORE              SARASOTA                  FL
127927   KL4CJCSM6KB897547   GM           ENCORE              KENNER                    LA
127928   KL4CJCSM6KB897595   GM           ENCORE              Irving                    TX
127929   KL4CJCSM6KB898679   GM           ENCORE              KENNER                    LA
127930   KL4CJCSM6KB909437   GM           ENCORE              LOS ANGELES               CA
127931   KL4CJCSM6KB909499   GM           ENCORE              LOS ANGELES               CA
127932   KL4CJCSM6KB912760   GM           ENCORE              LOS ANGELES               CA
127933   KL4CJCSM6KB926321   GM           ENCORE              SAN ANTONIO               TX
127934   KL4CJCSM6KB927422   GM           ENCORE              SAINT LOUIS               MO
127935   KL4CJCSM7KB763548   GM           ENCORE              TULSA                     OK
127936   KL4CJCSM7KB766336   GM           ENCORE              ORLANDO                   FL
127937   KL4CJCSM7KB766529   GM           ENCORE              Warr Acres                OK
127938   KL4CJCSM7KB768216   GM           ENCORE              Houston                   TX
127939   KL4CJCSM7KB768684   GM           ENCORE              Chicago                   IL
127940   KL4CJCSM7KB768846   GM           ENCORE              FORT LAUDERDALE           FL
127941   KL4CJCSM7KB768975   GM           ENCORE              COLLEGE PARK              GA
127942   KL4CJCSM7KB772685   GM           ENCORE              ORLANDO                   FL
127943   KL4CJCSM7KB772881   GM           ENCORE              INDIANAPOLIS              IN
127944   KL4CJCSM7KB773660   GM           ENCORE              WEST PALM BEACH           FL
127945   KL4CJCSM7KB774386   GM           ENCORE              WEST PALM BEACH           FL
127946   KL4CJCSM7KB774534   GM           ENCORE              MIAMI                     FL
127947   KL4CJCSM7KB774632   GM           ENCORE              ATLANTA                   GA
127948   KL4CJCSM7KB774808   GM           ENCORE              JACKSON                   MS
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127949   KL4CJCSM7KB775246   GM           ENCORE              WEST PALM BEACH           FL
127950   KL4CJCSM7KB775778   GM           ENCORE              ORLANDO                   FL
127951   KL4CJCSM7KB776199   GM           ENCORE              SOUTHEAST DST OFFC        OK
127952   KL4CJCSM7KB776252   GM           ENCORE              ORLANDO                   FL
127953   KL4CJCSM7KB776803   GM           ENCORE              ORLANDO                   FL
127954   KL4CJCSM7KB778017   GM           ENCORE              FORT MYERS                FL
127955   KL4CJCSM7KB778096   GM           ENCORE              ORLANDO                   FL
127956   KL4CJCSM7KB778664   GM           ENCORE              TAMPA                     FL
127957   KL4CJCSM7KB778745   GM           ENCORE              TAMPA                     FL
127958   KL4CJCSM7KB779345   GM           ENCORE              NASHVILLE                 TN
127959   KL4CJCSM7KB779586   GM           ENCORE              Atlanta                   GA
127960   KL4CJCSM7KB781130   GM           ENCORE              TAMPA                     FL
127961   KL4CJCSM7KB781645   GM           ENCORE              TAMPA                     FL
127962   KL4CJCSM7KB783492   GM           ENCORE              FORT LAUDERDALE           FL
127963   KL4CJCSM7KB784089   GM           ENCORE              SAN DIEGO                 CA
127964   KL4CJCSM7KB786733   GM           ENCORE              TAMPA                     FL
127965   KL4CJCSM7KB799238   GM           ENCORE              LOS ANGELES               CA
127966   KL4CJCSM7KB800128   GM           ENCORE              SANTA ANA                 CA
127967   KL4CJCSM7KB800162   GM           ENCORE              ORLANDO                   FL
127968   KL4CJCSM7KB801392   GM           ENCORE              Irving                    TX
127969   KL4CJCSM7KB802140   GM           ENCORE              SAN DIEGO                 CA
127970   KL4CJCSM7KB803160   GM           ENCORE              SANTA ANA                 CA
127971   KL4CJCSM7KB803630   GM           ENCORE              LOS ANGELES               CA
127972   KL4CJCSM7KB803661   GM           ENCORE              LOS ANGELES AP            CA
127973   KL4CJCSM7KB804728   GM           ENCORE              LOS ANGELES               CA
127974   KL4CJCSM7KB835512   GM           ENCORE              MIAMI                     FL
127975   KL4CJCSM7KB838667   GM           ENCORE              Atlanta                   GA
127976   KL4CJCSM7KB838815   GM           ENCORE              ORLANDO                   FL
127977   KL4CJCSM7KB839902   GM           ENCORE              RALIEGH                   NC
127978   KL4CJCSM7KB840256   GM           ENCORE              JACKSON                   MS
127979   KL4CJCSM7KB840290   GM           ENCORE              BIRMINGHAM                AL
127980   KL4CJCSM7KB840306   GM           ENCORE              FORT LAUDERDALE           FL
127981   KL4CJCSM7KB840886   GM           ENCORE              SARASOTA                  FL
127982   KL4CJCSM7KB841147   GM           ENCORE              COLLEGE PARK              GA
127983   KL4CJCSM7KB841326   GM           ENCORE              RALEIGH                   NC
127984   KL4CJCSM7KB841598   GM           ENCORE              Union City                GA
127985   KL4CJCSM7KB841651   GM           ENCORE              SARASOTA                  FL
127986   KL4CJCSM7KB841844   GM           ENCORE              WEST PALM BEACH           FL
127987   KL4CJCSM7KB841861   GM           ENCORE              KNOXVILLE                 TN
127988   KL4CJCSM7KB842380   GM           ENCORE              FORT LAUDERDALE           FL
127989   KL4CJCSM7KB842895   GM           ENCORE              KNOXVILLE                 TN
127990   KL4CJCSM7KB842993   GM           ENCORE              ORLANDO                   FL
127991   KL4CJCSM7KB843836   GM           ENCORE              BIRMINGHAM                AL
127992   KL4CJCSM7KB843920   GM           ENCORE              TAMPA                     FL
127993   KL4CJCSM7KB844159   GM           ENCORE              MEMPHIS                   TN
127994   KL4CJCSM7KB844243   GM           ENCORE              Atlanta                   GA
127995   KL4CJCSM7KB844453   GM           ENCORE              ATLANTA                   GA
127996   KL4CJCSM7KB844744   GM           ENCORE              ORLANDO                   FL
127997   KL4CJCSM7KB847658   GM           ENCORE              JACKSON                   MS
127998   KL4CJCSM7KB869465   GM           ENCORE              LAS VEGAS                 NV
127999   KL4CJCSM7KB869997   GM           ENCORE              LAS VEGAS                 NV
128000   KL4CJCSM7KB872396   GM           ENCORE              COSTA MESA                CA
128001   KL4CJCSM7KB872544   GM           ENCORE              SAN DIEGO                 CA
128002   KL4CJCSM7KB872849   GM           ENCORE              LAS VEGAS                 NV
128003   KL4CJCSM7KB873290   GM           ENCORE              LAS VEGAS                 NV
128004   KL4CJCSM7KB874018   GM           ENCORE              LOS ANGELES               CA
128005   KL4CJCSM7KB876853   GM           ENCORE              LOS ANGELES               CA
128006   KL4CJCSM7KB876948   GM           ENCORE              LOS ANGELES               CA
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128007   KL4CJCSM7KB878246   GM           ENCORE              PALM SPRINGS              CA
128008   KL4CJCSM7KB878294   GM           ENCORE              SAN DIEGO                 US
128009   KL4CJCSM7KB878683   GM           ENCORE              Elmhurst                  IL
128010   KL4CJCSM7KB878974   GM           ENCORE              BURBANK                   CA
128011   KL4CJCSM7KB879560   GM           ENCORE              MONTCLAIR                 CA
128012   KL4CJCSM7KB887142   GM           ENCORE              LITTLE ROCK               AR
128013   KL4CJCSM7KB888047   GM           ENCORE              WICHITA FALLS             TX
128014   KL4CJCSM7KB892938   GM           ENCORE              SARASOTA                  FL
128015   KL4CJCSM7KB894110   GM           ENCORE              LOUISVILLE                KY
128016   KL4CJCSM7KB894513   GM           ENCORE              ORLANDO                   FL
128017   KL4CJCSM7KB894611   GM           ENCORE              LOS ANGELES               CA
128018   KL4CJCSM7KB894883   GM           ENCORE              KANSAS CITY               MO
128019   KL4CJCSM7KB896293   GM           ENCORE              FORT MYERS                FL
128020   KL4CJCSM7KB900942   GM           ENCORE              KENNER                    LA
128021   KL4CJCSM7KB907664   GM           ENCORE              ATLANTA                   GA
128022   KL4CJCSM7KB908331   GM           ENCORE              LOS ANGELES AP            CA
128023   KL4CJCSM7KB909687   GM           ENCORE              ONTARIO                   CA
128024   KL4CJCSM7KB910077   GM           ENCORE              Portland                  OR
128025   KL4CJCSM8KB761257   GM           ENCORE              ORLANDO                   FL
128026   KL4CJCSM8KB765499   GM           ENCORE              KENNER                    LA
128027   KL4CJCSM8KB765809   GM           ENCORE              WEST PALM BEACH           FL
128028   KL4CJCSM8KB766409   GM           ENCORE              WICHITA FALLS             TX
128029   KL4CJCSM8KB766877   GM           ENCORE              KENNER                    LA
128030   KL4CJCSM8KB767849   GM           ENCORE              FORT LAUDERDALE           FL
128031   KL4CJCSM8KB771397   GM           ENCORE              Miami                     FL
128032   KL4CJCSM8KB771917   GM           ENCORE              FORT LAUDERDALE           FL
128033   KL4CJCSM8KB772596   GM           ENCORE              LAS VEGAS                 NV
128034   KL4CJCSM8KB773151   GM           ENCORE              ORLANDO                   FL
128035   KL4CJCSM8KB774266   GM           ENCORE              ORLANDO                   FL
128036   KL4CJCSM8KB774526   GM           ENCORE              Miami                     FL
128037   KL4CJCSM8KB774834   GM           ENCORE              TAMPA                     FL
128038   KL4CJCSM8KB774946   GM           ENCORE              WEST PALM BEACH           FL
128039   KL4CJCSM8KB775045   GM           ENCORE              ORLANDO                   FL
128040   KL4CJCSM8KB775384   GM           ENCORE              SARASOTA                  FL
128041   KL4CJCSM8KB775725   GM           ENCORE              ORLANDO                   FL
128042   KL4CJCSM8KB776020   GM           ENCORE              ORANGE COUNTY             CA
128043   KL4CJCSM8KB776194   GM           ENCORE              ORLANDO                   FL
128044   KL4CJCSM8KB776437   GM           ENCORE              FORT MYERS                FL
128045   KL4CJCSM8KB776664   GM           ENCORE              ORLANDO                   FL
128046   KL4CJCSM8KB777166   GM           ENCORE              WEST PALM BEACH           FL
128047   KL4CJCSM8KB777362   GM           ENCORE              ORLANDO                   FL
128048   KL4CJCSM8KB778219   GM           ENCORE              ORLANDO                   FL
128049   KL4CJCSM8KB778754   GM           ENCORE              TAMPA                     FL
128050   KL4CJCSM8KB778818   GM           ENCORE              TAMPA                     FL
128051   KL4CJCSM8KB778897   GM           ENCORE              FORT LAUDERDALE           FL
128052   KL4CJCSM8KB779306   GM           ENCORE              JACKSONVILLE              FL
128053   KL4CJCSM8KB779919   GM           ENCORE              FORT LAUDERDALE           FL
128054   KL4CJCSM8KB780049   GM           ENCORE              FT LAUDERDALE             FL
128055   KL4CJCSM8KB780276   GM           ENCORE              FT. LAUDERDALE            FL
128056   KL4CJCSM8KB804530   GM           ENCORE              ORLANDO                   FL
128057   KL4CJCSM8KB805502   GM           ENCORE              LAS VEGAS                 NV
128058   KL4CJCSM8KB837026   GM           ENCORE              JACKSONVILLE              FL
128059   KL4CJCSM8KB838273   GM           ENCORE              TAMPA                     FL
128060   KL4CJCSM8KB838564   GM           ENCORE              KNOXVILLE                 TN
128061   KL4CJCSM8KB838693   GM           ENCORE              ORLANDO                   FL
128062   KL4CJCSM8KB839620   GM           ENCORE              CHARLESTON                WV
128063   KL4CJCSM8KB839830   GM           ENCORE              SARASOTA                  FL
128064   KL4CJCSM8KB840671   GM           ENCORE              Atlanta                   GA
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128065   KL4CJCSM8KB841318   GM           ENCORE              ORLANDO                   FL
128066   KL4CJCSM8KB841819   GM           ENCORE              Atlanta                   GA
128067   KL4CJCSM8KB842193   GM           ENCORE              TAMPA                     FL
128068   KL4CJCSM8KB842405   GM           ENCORE              JACKSONVILLE              FL
128069   KL4CJCSM8KB843134   GM           ENCORE              UNION CITY                GA
128070   KL4CJCSM8KB843568   GM           ENCORE              SARASOTA                  FL
128071   KL4CJCSM8KB843652   GM           ENCORE              FORT LAUDERDALE           FL
128072   KL4CJCSM8KB845076   GM           ENCORE              CHICAGO                   IL
128073   KL4CJCSM8KB845790   GM           ENCORE              KNOXVILLE                 TN
128074   KL4CJCSM8KB848821   GM           ENCORE              MEMPHIS                   TN
128075   KL4CJCSM8KB850228   GM           ENCORE              ORANGE COUNTY             CA
128076   KL4CJCSM8KB868986   GM           ENCORE              SANTA ANA                 CA
128077   KL4CJCSM8KB869474   GM           ENCORE              SAN DIEGO                 CA
128078   KL4CJCSM8KB870821   GM           ENCORE              SAN DIEGO                 CA
128079   KL4CJCSM8KB871550   GM           ENCORE              BURBANK                   CA
128080   KL4CJCSM8KB871824   GM           ENCORE              INGLEWOOD                 CA
128081   KL4CJCSM8KB871841   GM           ENCORE              SAN DIEGO                 CA
128082   KL4CJCSM8KB872634   GM           ENCORE              LAS VEGAS                 NV
128083   KL4CJCSM8KB872813   GM           ENCORE              LAS VEGAS                 NV
128084   KL4CJCSM8KB872892   GM           ENCORE              LOS ANGELES               CA
128085   KL4CJCSM8KB873069   GM           ENCORE              SAN DIEGO                 CA
128086   KL4CJCSM8KB874190   GM           ENCORE              ORANGE COUNTY             CA
128087   KL4CJCSM8KB874223   GM           ENCORE              INGLEWOOD                 CA
128088   KL4CJCSM8KB875212   GM           ENCORE              LAS VEGAS                 NV
128089   KL4CJCSM8KB875954   GM           ENCORE              LAS VEGAS                 NV
128090   KL4CJCSM8KB876098   GM           ENCORE              LOS ANGELES               CA
128091   KL4CJCSM8KB876179   GM           ENCORE              OMAHA                     NE
128092   KL4CJCSM8KB876828   GM           ENCORE              SAN DIEGO                 CA
128093   KL4CJCSM8KB876845   GM           ENCORE              SAN DIEGO                 CA
128094   KL4CJCSM8KB877011   GM           ENCORE              BURBANK                   CA
128095   KL4CJCSM8KB878546   GM           ENCORE              DODGE CITY                KS
128096   KL4CJCSM8KB878790   GM           ENCORE              SANTA ANA                 CA
128097   KL4CJCSM8KB879793   GM           ENCORE              PALM SPRINGS              CA
128098   KL4CJCSM8KB886968   GM           ENCORE              BLOOMINGTON               IL
128099   KL4CJCSM8KB888767   GM           ENCORE              Austin                    TX
128100   KL4CJCSM8KB888901   GM           ENCORE              GRAND RAPIDS              MI
128101   KL4CJCSM8KB889174   GM           ENCORE              KANSAS CITY               MO
128102   KL4CJCSM8KB889899   GM           ENCORE              KNOXVILLE                 TN
128103   KL4CJCSM8KB891927   GM           ENCORE              BURBANK                   CA
128104   KL4CJCSM8KB893189   GM           ENCORE              Pompano Beach             FL
128105   KL4CJCSM8KB893824   GM           ENCORE              TAMPA                     FL
128106   KL4CJCSM8KB895492   GM           ENCORE              PALM SPRINGS              CA
128107   KL4CJCSM8KB895539   GM           ENCORE              SAVANNAH                  GA
128108   KL4CJCSM8KB895573   GM           ENCORE              TAMPA                     FL
128109   KL4CJCSM8KB895637   GM           ENCORE              ORLANDO                   FL
128110   KL4CJCSM8KB895699   GM           ENCORE              ORLANDO                   FL
128111   KL4CJCSM8KB896061   GM           ENCORE              TAMPA                     FL
128112   KL4CJCSM8KB896187   GM           ENCORE              SAN DIEGO                 CA
128113   KL4CJCSM8KB896240   GM           ENCORE              MIAMI                     FL
128114   KL4CJCSM8KB899381   GM           ENCORE              LITTLE ROCK               AR
128115   KL4CJCSM8KB901095   GM           ENCORE              TAMPA                     US
128116   KL4CJCSM8KB901629   GM           ENCORE              Houston                   TX
128117   KL4CJCSM8KB902053   GM           ENCORE              KENNER                    LA
128118   KL4CJCSM8KB909293   GM           ENCORE              SAN DIEGO                 CA
128119   KL4CJCSM8KB911447   GM           ENCORE              PALM SPRINGS              CA
128120   KL4CJCSM8KB925347   GM           ENCORE              Tulsa                     OK
128121   KL4CJCSM9KB761137   GM           ENCORE              San Antonio               TX
128122   KL4CJCSM9KB765687   GM           ENCORE              KENNER                    LA
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128123   KL4CJCSM9KB765818   GM           ENCORE              ORLANDO                   FL
128124   KL4CJCSM9KB766824   GM           ENCORE              KENNER                    LA
128125   KL4CJCSM9KB770632   GM           ENCORE              ORLANDO                   FL
128126   KL4CJCSM9KB771117   GM           ENCORE              TAMPA                     FL
128127   KL4CJCSM9KB771652   GM           ENCORE              JACKSONVILLE              FL
128128   KL4CJCSM9KB771912   GM           ENCORE              MIAMI                     FL
128129   KL4CJCSM9KB772641   GM           ENCORE              TAMPA                     FL
128130   KL4CJCSM9KB773014   GM           ENCORE              ORLANDO                   FL
128131   KL4CJCSM9KB773921   GM           ENCORE              WEST PALM BEACH           FL
128132   KL4CJCSM9KB773935   GM           ENCORE              FORT MYERS                FL
128133   KL4CJCSM9KB774468   GM           ENCORE              Miami                     FL
128134   KL4CJCSM9KB774700   GM           ENCORE              Atlanta                   GA
128135   KL4CJCSM9KB774874   GM           ENCORE              WEST PALM BEACH           FL
128136   KL4CJCSM9KB775622   GM           ENCORE              WEST PALM BEACH           FL
128137   KL4CJCSM9KB775815   GM           ENCORE              Omaha                     NE
128138   KL4CJCSM9KB776219   GM           ENCORE              WEST PALM BEACH           FL
128139   KL4CJCSM9KB776429   GM           ENCORE              ORLANDO                   FL
128140   KL4CJCSM9KB776866   GM           ENCORE              ORLANDO                   FL
128141   KL4CJCSM9KB777323   GM           ENCORE              JACKSONVILLE              FL
128142   KL4CJCSM9KB777550   GM           ENCORE              FORT MYERS                FL
128143   KL4CJCSM9KB777628   GM           ENCORE              FORT MYERS                FL
128144   KL4CJCSM9KB778973   GM           ENCORE              Fairburn                  GA
128145   KL4CJCSM9KB778987   GM           ENCORE              FORT LAUDERDALE           FL
128146   KL4CJCSM9KB779637   GM           ENCORE              FORT LAUDERDALE           FL
128147   KL4CJCSM9KB780111   GM           ENCORE              MIAMI                     FL
128148   KL4CJCSM9KB780559   GM           ENCORE              FORT MYERS                FL
128149   KL4CJCSM9KB781162   GM           ENCORE              ORLANDO                   FL
128150   KL4CJCSM9KB782795   GM           ENCORE              ORLANDO                   FL
128151   KL4CJCSM9KB783221   GM           ENCORE              MIAMI                     FL
128152   KL4CJCSM9KB784062   GM           ENCORE              FORT MYERS                FL
128153   KL4CJCSM9KB785356   GM           ENCORE              TAMPA                     FL
128154   KL4CJCSM9KB802236   GM           ENCORE              LAS VEGAS                 NV
128155   KL4CJCSM9KB802270   GM           ENCORE              LOS ANGELES               CA
128156   KL4CJCSM9KB806433   GM           ENCORE              ORLANDO                   FL
128157   KL4CJCSM9KB807937   GM           ENCORE              FORT LAUDERDALE           FL
128158   KL4CJCSM9KB834622   GM           ENCORE              TAMPA                     US
128159   KL4CJCSM9KB837312   GM           ENCORE              Tampa                     FL
128160   KL4CJCSM9KB839979   GM           ENCORE              TAMPA                     FL
128161   KL4CJCSM9KB840212   GM           ENCORE              Houston                   TX
128162   KL4CJCSM9KB841361   GM           ENCORE              MIAMI                     FL
128163   KL4CJCSM9KB842235   GM           ENCORE              ORLANDO                   FL
128164   KL4CJCSM9KB842901   GM           ENCORE              CHARLOTTE                 NC
128165   KL4CJCSM9KB842977   GM           ENCORE              CLEVELAND                 OH
128166   KL4CJCSM9KB843143   GM           ENCORE              Houston                   TX
128167   KL4CJCSM9KB843384   GM           ENCORE              Atlanta                   GA
128168   KL4CJCSM9KB844809   GM           ENCORE              TAMPA                     FL
128169   KL4CJCSM9KB846804   GM           ENCORE              OAKLAND                   CA
128170   KL4CJCSM9KB850240   GM           ENCORE              TAMPA                     FL
128171   KL4CJCSM9KB870469   GM           ENCORE              LOS ANGELES               CA
128172   KL4CJCSM9KB870584   GM           ENCORE              INGLEWOOD                 CA
128173   KL4CJCSM9KB870858   GM           ENCORE              Los Angeles               CA
128174   KL4CJCSM9KB870911   GM           ENCORE              PALM SPRINGS              CA
128175   KL4CJCSM9KB872013   GM           ENCORE              LOS ANGELES               CA
128176   KL4CJCSM9KB872108   GM           ENCORE              LOS ANGELES               CA
128177   KL4CJCSM9KB873310   GM           ENCORE              LAS VEGAS                 NV
128178   KL4CJCSM9KB875137   GM           ENCORE              LAS VEGAS                 NV
128179   KL4CJCSM9KB876921   GM           ENCORE              LOS ANGELES AP            CA
128180   KL4CJCSM9KB877602   GM           ENCORE              SANTA ANA                 CA
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128181   KL4CJCSM9KB877826   GM           ENCORE              ATLANTA AP                GA
128182   KL4CJCSM9KB878099   GM           ENCORE              Austin                    TX
128183   KL4CJCSM9KB878118   GM           ENCORE              ORANGE COUNTY             CA
128184   KL4CJCSM9KB878264   GM           ENCORE              LOS ANGELES               CA
128185   KL4CJCSM9KB878751   GM           ENCORE              SANTA ANA                 CA
128186   KL4CJCSM9KB878829   GM           ENCORE              INDIANAPOLIS              IN
128187   KL4CJCSM9KB878880   GM           ENCORE              SAN DIEGO                 CA
128188   KL4CJCSM9KB886655   GM           ENCORE              OKLAHOMA CITY             OK
128189   KL4CJCSM9KB886722   GM           ENCORE              SARASOTA                  FL
128190   KL4CJCSM9KB887661   GM           ENCORE              KENNER                    LA
128191   KL4CJCSM9KB889037   GM           ENCORE              BLOOMINGTON               IL
128192   KL4CJCSM9KB889233   GM           ENCORE              ATLANTA                   GA
128193   KL4CJCSM9KB889958   GM           ENCORE              SAINT LOUIS               MO
128194   KL4CJCSM9KB890267   GM           ENCORE              DALLAS                    TX
128195   KL4CJCSM9KB891404   GM           ENCORE              OMAHA                     NE
128196   KL4CJCSM9KB892391   GM           ENCORE              WEST PALM BEACH           FL
128197   KL4CJCSM9KB894156   GM           ENCORE              FORT MYERS                FL
128198   KL4CJCSM9KB894318   GM           ENCORE              ORLANDO                   FL
128199   KL4CJCSM9KB894674   GM           ENCORE              FORT MYERS                FL
128200   KL4CJCSM9KB895579   GM           ENCORE              JACKSONVILLE              FL
128201   KL4CJCSM9KB895663   GM           ENCORE              ORLANDO                   FL
128202   KL4CJCSM9KB895744   GM           ENCORE              FORT MYERS                FL
128203   KL4CJCSM9KB896263   GM           ENCORE              FORT MYERS                FL
128204   KL4CJCSM9KB897395   GM           ENCORE              PENSACOLA                 FL
128205   KL4CJCSM9KB899776   GM           ENCORE              LOS ANGELES               CA
128206   KL4CJCSM9KB900134   GM           ENCORE              Spring                    TX
128207   KL4CJCSM9KB901221   GM           ENCORE              TULSA                     OK
128208   KL4CJCSM9KB907357   GM           ENCORE              ORANGE COUNTY             CA
128209   KL4CJCSM9KB908881   GM           ENCORE              LOS ANGELES               CA
128210   KL4CJCSM9KB922814   GM           ENCORE              RALEIGH                   NC
128211   KL4CJCSMXKB766332   GM           ENCORE              KENNER                    LA
128212   KL4CJCSMXKB766766   GM           ENCORE              St. Louis                 MO
128213   KL4CJCSMXKB767559   GM           ENCORE              MIAMI                     FL
128214   KL4CJCSMXKB769621   GM           ENCORE              Houston                   TX
128215   KL4CJCSMXKB770929   GM           ENCORE              FORT LAUDERDALE           FL
128216   KL4CJCSMXKB771272   GM           ENCORE              WEST PALM BEACH           FL
128217   KL4CJCSMXKB771837   GM           ENCORE              ORLANDO                   FL
128218   KL4CJCSMXKB772356   GM           ENCORE              WEST PALM BEACH           FL
128219   KL4CJCSMXKB772616   GM           ENCORE              FORT MYERS                FL
128220   KL4CJCSMXKB773281   GM           ENCORE              Irving                    TX
128221   KL4CJCSMXKB773541   GM           ENCORE              Irving                    TX
128222   KL4CJCSMXKB773846   GM           ENCORE              WEST PALM BEACH           FL
128223   KL4CJCSMXKB774091   GM           ENCORE              FORT MYERS                FL
128224   KL4CJCSMXKB774186   GM           ENCORE              WEST PALM BEACH           FL
128225   KL4CJCSMXKB774219   GM           ENCORE              LAS VEGAS                 NV
128226   KL4CJCSMXKB774284   GM           ENCORE              MIAMI                     FL
128227   KL4CJCSMXKB774494   GM           ENCORE              WEST PALM BEACH           FL
128228   KL4CJCSMXKB774771   GM           ENCORE              UNION CITY                GA
128229   KL4CJCSMXKB775063   GM           ENCORE              FORT MYERS                FL
128230   KL4CJCSMXKB776536   GM           ENCORE              FORT MYERS                FL
128231   KL4CJCSMXKB776634   GM           ENCORE              SARASOTA                  FL
128232   KL4CJCSMXKB776973   GM           ENCORE              PALM SPRINGS              CA
128233   KL4CJCSMXKB777797   GM           ENCORE              TAMPA                     FL
128234   KL4CJCSMXKB778450   GM           ENCORE              SARASOTA                  FL
128235   KL4CJCSMXKB778853   GM           ENCORE              FORT MYERS                FL
128236   KL4CJCSMXKB779419   GM           ENCORE              Irving                    TX
128237   KL4CJCSMXKB779534   GM           ENCORE              FORT MYERS                FL
128238   KL4CJCSMXKB779727   GM           ENCORE              ATLANTA                   GA
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128239   KL4CJCSMXKB780960   GM           ENCORE              DANIA BEACH               FL
128240   KL4CJCSMXKB782711   GM           ENCORE              Irving                    TX
128241   KL4CJCSMXKB785950   GM           ENCORE              MIAMI                     FL
128242   KL4CJCSMXKB799301   GM           ENCORE              SARASOTA                  FL
128243   KL4CJCSMXKB799461   GM           ENCORE              LOS ANGELES               CA
128244   KL4CJCSMXKB799685   GM           ENCORE              SAN DIEGO                 US
128245   KL4CJCSMXKB800527   GM           ENCORE              Houston                   TX
128246   KL4CJCSMXKB800933   GM           ENCORE              EL PASO                   TX
128247   KL4CJCSMXKB800950   GM           ENCORE              NORTH HILLS               CA
128248   KL4CJCSMXKB802827   GM           ENCORE              DENVER                    CO
128249   KL4CJCSMXKB802939   GM           ENCORE              Houston                   TX
128250   KL4CJCSMXKB802973   GM           ENCORE              LOS ANGELES AP            CA
128251   KL4CJCSMXKB808398   GM           ENCORE              BURBANK                   CA
128252   KL4CJCSMXKB834712   GM           ENCORE              SARASOTA                  FL
128253   KL4CJCSMXKB835343   GM           ENCORE              ORLANDO                   FL
128254   KL4CJCSMXKB835486   GM           ENCORE              NEW ORLEANS               LA
128255   KL4CJCSMXKB835858   GM           ENCORE              Houston                   TX
128256   KL4CJCSMXKB838002   GM           ENCORE              MEMPHIS                   TN
128257   KL4CJCSMXKB838369   GM           ENCORE              SARASOTA                  FL
128258   KL4CJCSMXKB838999   GM           ENCORE              KNOXVILLE                 TN
128259   KL4CJCSMXKB839778   GM           ENCORE              ATLANTA                   GA
128260   KL4CJCSMXKB840333   GM           ENCORE              HOUSTON                   TX
128261   KL4CJCSMXKB840459   GM           ENCORE              Atlanta                   GA
128262   KL4CJCSMXKB841045   GM           ENCORE              NEW BERN                  NC
128263   KL4CJCSMXKB841207   GM           ENCORE              SAVANNAH                  GA
128264   KL4CJCSMXKB841496   GM           ENCORE              SAN DIEGO                 CA
128265   KL4CJCSMXKB841871   GM           ENCORE              KENNER                    LA
128266   KL4CJCSMXKB842518   GM           ENCORE              FORT MYERS                FL
128267   KL4CJCSMXKB842602   GM           ENCORE              SOUTHEAST DST OFFC        OK
128268   KL4CJCSMXKB842678   GM           ENCORE              FORT MYERS                FL
128269   KL4CJCSMXKB842826   GM           ENCORE              MORROW                    GA
128270   KL4CJCSMXKB844186   GM           ENCORE              BIRMINGHAM                AL
128271   KL4CJCSMXKB844561   GM           ENCORE              San Antonio               TX
128272   KL4CJCSMXKB844852   GM           ENCORE              ATLANTA                   GA
128273   KL4CJCSMXKB848772   GM           ENCORE              MEMPHIS                   TN
128274   KL4CJCSMXKB849985   GM           ENCORE              PENSACOLA                 FL
128275   KL4CJCSMXKB855317   GM           ENCORE              SANTA ANA                 CA
128276   KL4CJCSMXKB869413   GM           ENCORE              ONTARIO                   CA
128277   KL4CJCSMXKB872067   GM           ENCORE              BURBANK                   CA
128278   KL4CJCSMXKB872652   GM           ENCORE              LOS ANGELES               CA
128279   KL4CJCSMXKB873350   GM           ENCORE              SAN DIEGO                 CA
128280   KL4CJCSMXKB873896   GM           ENCORE              LOS ANGELES               CA
128281   KL4CJCSMXKB873915   GM           ENCORE              PALM SPRINGS              CA
128282   KL4CJCSMXKB874921   GM           ENCORE              Irving                    TX
128283   KL4CJCSMXKB875065   GM           ENCORE              LAS VEGAS                 NV
128284   KL4CJCSMXKB875454   GM           ENCORE              KENNER                    LA
128285   KL4CJCSMXKB876880   GM           ENCORE              OMAHA                     NE
128286   KL4CJCSMXKB876930   GM           ENCORE              PASCO                     WA
128287   KL4CJCSMXKB876961   GM           ENCORE              LOS ANGELES               CA
128288   KL4CJCSMXKB877544   GM           ENCORE              ORLANDO                   FL
128289   KL4CJCSMXKB878225   GM           ENCORE              SAINT PAUL                MN
128290   KL4CJCSMXKB878273   GM           ENCORE              LAS VEGAS                 NV
128291   KL4CJCSMXKB878449   GM           ENCORE              MOBILE                    A
128292   KL4CJCSMXKB878841   GM           ENCORE              PENSACOLA                 FL
128293   KL4CJCSMXKB879598   GM           ENCORE              Portland                  OR
128294   KL4CJCSMXKB879715   GM           ENCORE              JACKSONVILLE              FL
128295   KL4CJCSMXKB880038   GM           ENCORE              KENNER                    LA
128296   KL4CJCSMXKB886826   GM           ENCORE              WICHITA FALLS             TX
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128297   KL4CJCSMXKB887006   GM           ENCORE              SAN DIEGO                 CA
128298   KL4CJCSMXKB888690   GM           ENCORE              DECATUR                   GA
128299   KL4CJCSMXKB889824   GM           ENCORE              NEW ORLEANS               LA
128300   KL4CJCSMXKB890147   GM           ENCORE              ATLANTA                   GA
128301   KL4CJCSMXKB890715   GM           ENCORE              ATLANTA                   GA
128302   KL4CJCSMXKB891394   GM           ENCORE              MONTGOMERY                AL
128303   KL4CJCSMXKB891704   GM           ENCORE              FORT LAUDERDALE           FL
128304   KL4CJCSMXKB891816   GM           ENCORE              FORT MYERS                FL
128305   KL4CJCSMXKB894425   GM           ENCORE              KANSAS CITY               MO
128306   KL4CJCSMXKB896692   GM           ENCORE              MILWAUKEE                 WI
128307   KL4CJCSMXKB899558   GM           ENCORE              Tulsa                     OK
128308   KL4CJCSMXKB901373   GM           ENCORE              SAVANNAH                  GA
128309   KL4CJCSMXKB908274   GM           ENCORE              LOS ANGELES               CA
128310   KL4CJCSMXKB908520   GM           ENCORE              SOUTH SAN FRANC           CA
128311   KL4CJCSMXKB908758   GM           ENCORE              LAS VEGAS                 NV
128312   KL4CJCSMXKB909070   GM           ENCORE              LOS ANGELES               CA
128313   KL4CJCSMXKB910333   GM           ENCORE              LOS ANGELES               CA
128314   KL4CJCSMXKB911529   GM           ENCORE              SAN DIEGO                 CA
128315   KL4CJDSB0GB517985   GM           ENCORE              DALLAS                    TX
128316   KL4CJDSB8GB555271   GM           ENCORE              ORLANDO                   FL
128317   KL4CJDSB8GB703399   GM           ENCORE              BURBANK                   CA
128318   KL4CJDSB9GB643231   GM           ENCORE              BURBANK                   CA
128319   KL4CJDSBXFB261627   GM           ENCORE              Elkridge                  MD
128320   KL4CJDSBXGB603322   GM           ENCORE              Kent                      WA
128321   KL4CJDSBXHB114632   GM           ENCORE              PORTLAND                  OR
128322   KL4CJESB0GB600502   GM           ENCORE              FLORIDA DEALER DIR        FL
128323   KL4CJESB0JB613869   GM           ENCORE              DALLAS                    TX
128324   KL4CJESB0LB025182   GM           ENCORE              PHILADELPHIA              PA
128325   KL4CJESB0LB025313   GM           ENCORE              PHILADELPHIA              PA
128326   KL4CJESB0LB025490   GM           ENCORE              SAN FRANCISCO             CA
128327   KL4CJESB0LB025845   GM           ENCORE              MT EPHRAIM                NJ
128328   KL4CJESB0LB027238   GM           ENCORE              SAN ANTONIO               TX
128329   KL4CJESB1LB026499   GM           ENCORE              PORTLAND                  ME
128330   KL4CJESB2LB024728   GM           ENCORE              SYRACUSE                  NY
128331   KL4CJESB2LB025345   GM           ENCORE              GREENSBORO                NC
128332   KL4CJESB2LB027175   GM           ENCORE              Windsor Locks             CT
128333   KL4CJESB3LB025452   GM           ENCORE              PHILADELPHIA              PA
128334   KL4CJESB3LB025967   GM           ENCORE              PHOENIX                   AZ
128335   KL4CJESB3LB026391   GM           ENCORE              ORLANDO                   FL
128336   KL4CJESB3LB027685   GM           ENCORE              CHARLOTTE                 NC
128337   KL4CJESB3LB028013   GM           ENCORE              GRAND RAPIDS              MI
128338   KL4CJESB4LB024763   GM           ENCORE              CHICAGO                   IL
128339   KL4CJESB4LB025816   GM           ENCORE              Brooklyn                  NY
128340   KL4CJESB4LB026139   GM           ENCORE              Webster                   NY
128341   KL4CJESB4LB028456   GM           ENCORE              JACKSONVILLE              FL
128342   KL4CJESB5LB024478   GM           ENCORE              PHILADELPHIA              PA
128343   KL4CJESB5LB024786   GM           ENCORE              Teterboro                 NJ
128344   KL4CJESB5LB025078   GM           ENCORE              BIRMINGHAN                AL
128345   KL4CJESB5LB028112   GM           ENCORE              PHOENIX                   AZ
128346   KL4CJESB6LB026434   GM           ENCORE              RONKONKOMA                NY
128347   KL4CJESB6LB027616   GM           ENCORE              Webster                   NY
128348   KL4CJESB7GB602506   GM           ENCORE              Elkridge                  MD
128349   KL4CJESB7LB024627   GM           ENCORE              NEW YORK CITY             NY
128350   KL4CJESB7LB024837   GM           ENCORE              NEW BERN                  NC
128351   KL4CJESB7LB025258   GM           ENCORE              EGG HARBOR TOWN           NJ
128352   KL4CJESB7LB026281   GM           ENCORE              ALBANY                    NY
128353   KL4CJESB7LB027950   GM           ENCORE              HARTFORD                  CT
128354   KL4CJESB7LB028550   GM           ENCORE              SARASOTA                  FL
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128355   KL4CJESB8LB025348   GM           ENCORE              PHILADELPHIA              PA
128356   KL4CJESB8LB026628   GM           ENCORE              Johnston                  RI
128357   KL4CJESB8LB027472   GM           ENCORE              PHILADELPHIA              PA
128358   KL4CJESB8LB027827   GM           ENCORE              NORFOLK                   VA
128359   KL4CJESB9LB026671   GM           ENCORE              MANCHESTER                US
128360   KL4CJESB9LB026721   GM           ENCORE              FORT MYERS                FL
128361   KL4CJESB9LB027223   GM           ENCORE              PHILADELPHIA              PA
128362   KL4CJESB9LB027285   GM           ENCORE              Windsor Locks             CT
128363   KL4CJESB9LB028503   GM           ENCORE              NEW YORK CITY             NY
128364   KL4CJESBXGB583630   GM           ENCORE              Philadelphia              PA
128365   KL4CJESBXLB024878   GM           ENCORE              CHICAGO                   IL
128366   KL4CJESBXLB025304   GM           ENCORE              NEWARK                    NJ
128367   KL4CJESBXLB025335   GM           ENCORE              Webster                   NY
128368   KL4CJESBXLB025707   GM           ENCORE              Nashville                 TN
128369   KL4CJESBXLB025853   GM           ENCORE              PORTLAND                  ME
128370   KL4CJESBXLB026064   GM           ENCORE              PHILADELPHIA              PA
128371   KL4CJESBXLB026274   GM           ENCORE              Massapequa                NY
128372   KL4CJESBXLB026596   GM           ENCORE              PHILADELPHIA              PA
128373   KL4CJFSB2GB563068   GM           ENCORE              SPRINGFIELD               VA
128374   KL4CJFSB2GB571106   GM           ENCORE              CHICAGO                   IL
128375   KL4CJFSB5GB523809   GM           ENCORE              STERLING                  VA
128376   KL4CJFSB5GB531635   GM           ENCORE              Philadelphia              PA
128377   KL4CJFSB6GB557838   GM           ENCORE              Elkridge                  MD
128378   KL4CJFSB8GB530169   GM           ENCORE              PHILADELPHIA              US
128379   KL4CJFSB9GB565951   GM           ENCORE              PITTSBURGH                PA
128380   KL4CJFSBXGB568504   GM           ENCORE              Honolulu                  HI
128381   KL4CJGSB0JB551563   GM           ENCORE              Ventura                   CA
128382   KL4CJGSB0JB690365   GM           ENCORE              Ventura                   CA
128383   KL4CJGSB0JB696926   GM           ENCORE              Detroit                   MI
128384   KL4CJGSB0LB033732   GM           ENCORE              Houston                   TX
128385   KL4CJGSB0LB033939   GM           ENCORE              TUCSON                    AZ
128386   KL4CJGSB0LB034220   GM           ENCORE              CHICAGO                   IL
128387   KL4CJGSB0LB034458   GM           ENCORE              PHOENIX                   AZ
128388   KL4CJGSB0LB034623   GM           ENCORE              TUCSON                    AZ
128389   KL4CJGSB0LB034735   GM           ENCORE              HOUSTON                   TX
128390   KL4CJGSB0LB034931   GM           ENCORE              PHOENIX                   AZ
128391   KL4CJGSB0LB035397   GM           ENCORE              PHOENIX                   AZ
128392   KL4CJGSB0LB035495   GM           ENCORE              SAN DIEGO                 CA
128393   KL4CJGSB0LB036503   GM           ENCORE              FORT LAUDERDALE           FL
128394   KL4CJGSB0LB036579   GM           ENCORE              BURBANK                   CA
128395   KL4CJGSB0LB036596   GM           ENCORE              PHOENIX                   AZ
128396   KL4CJGSB0LB036629   GM           ENCORE              SAN FRANCISCO             CA
128397   KL4CJGSB0LB037070   GM           ENCORE              LOS ANGELES               CA
128398   KL4CJGSB0LB037506   GM           ENCORE              FULLERTON                 CA
128399   KL4CJGSB0LB037635   GM           ENCORE              SAN FRANCISCO             CA
128400   KL4CJGSB0LB037747   GM           ENCORE              DES MOINES                IA
128401   KL4CJGSB0LB037876   GM           ENCORE              DETROIT                   MI
128402   KL4CJGSB0LB038266   GM           ENCORE              LOS ANGELES               CA
128403   KL4CJGSB0LB038459   GM           ENCORE              Tampa                     FL
128404   KL4CJGSB0LB038901   GM           ENCORE              RONKONKOMA                NY
128405   KL4CJGSB0LB039126   GM           ENCORE              Bridgeton                 MO
128406   KL4CJGSB0LB040373   GM           ENCORE              Schaumburg                IL
128407   KL4CJGSB0LB041023   GM           ENCORE              Atlanta                   GA
128408   KL4CJGSB0LB041295   GM           ENCORE              FORT MYERS                FL
128409   KL4CJGSB0LB041328   GM           ENCORE              LAS VEGAS                 NV
128410   KL4CJGSB0LB041734   GM           ENCORE              SAN ANTONIO               TX
128411   KL4CJGSB0LB041779   GM           ENCORE              Hebron                    KY
128412   KL4CJGSB0LB041815   GM           ENCORE              DULUTH                    GA
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128413   KL4CJGSB0LB042303   GM           ENCORE              PHOENIX                   AZ
128414   KL4CJGSB0LB042446   GM           ENCORE              CHARLOTTE                 NC
128415   KL4CJGSB0LB042754   GM           ENCORE              DAYTONA BEACH             FL
128416   KL4CJGSB0LB042866   GM           ENCORE              CLEARWATER                FL
128417   KL4CJGSB0LB042981   GM           ENCORE              TUCSON                    AZ
128418   KL4CJGSB0LB043001   GM           ENCORE              KENNER                    LA
128419   KL4CJGSB0LB043208   GM           ENCORE              PHOENIX                   AZ
128420   KL4CJGSB0LB043435   GM           ENCORE              ORLANDO                   FL
128421   KL4CJGSB0LB043628   GM           ENCORE              JACKSONVILLE              FL
128422   KL4CJGSB0LB044293   GM           ENCORE              NEW BERN                  NC
128423   KL4CJGSB0LB044343   GM           ENCORE              Smithtown                 NY
128424   KL4CJGSB0LB044357   GM           ENCORE              Atlanta                   GA
128425   KL4CJGSB0LB044388   GM           ENCORE              MEDINA                    OH
128426   KL4CJGSB0LB044410   GM           ENCORE              LOS ANGELES               CA
128427   KL4CJGSB0LB044486   GM           ENCORE              ALBANY                    NY
128428   KL4CJGSB0LB044567   GM           ENCORE              SAN DIEGO                 CA
128429   KL4CJGSB0LB044620   GM           ENCORE              Newark                    NJ
128430   KL4CJGSB0LB044651   GM           ENCORE              LOS ANGELES               CA
128431   KL4CJGSB0LB044665   GM           ENCORE              RONKONKOMA                NY
128432   KL4CJGSB0LB044679   GM           ENCORE              STERLING                  VA
128433   KL4CJGSB0LB044701   GM           ENCORE              FRESNO                    CA
128434   KL4CJGSB0LB044844   GM           ENCORE              PHILADELPHIA              PA
128435   KL4CJGSB0LB044858   GM           ENCORE              PHILADELPHIA              PA
128436   KL4CJGSB0LB044908   GM           ENCORE              RALEIGH                   NC
128437   KL4CJGSB0LB044942   GM           ENCORE              HARRISBURG                PA
128438   KL4CJGSB0LB045010   GM           ENCORE              HARTFORD                  CT
128439   KL4CJGSB0LB045444   GM           ENCORE              SAN JOSE                  CA
128440   KL4CJGSB0LB045489   GM           ENCORE              DENVER                    CO
128441   KL4CJGSB0LB045590   GM           ENCORE              PHOENIX                   AZ
128442   KL4CJGSB0LB045718   GM           ENCORE              LAS VEGAS                 NV
128443   KL4CJGSB0LB045914   GM           ENCORE              DES MOINES                IA
128444   KL4CJGSB0LB046187   GM           ENCORE              NEW BERN                  NC
128445   KL4CJGSB0LB046190   GM           ENCORE              ALBANY                    NY
128446   KL4CJGSB0LB046450   GM           ENCORE              INDIANAPOLIS              IN
128447   KL4CJGSB0LB047629   GM           ENCORE              Atlanta                   GA
128448   KL4CJGSB0LB047646   GM           ENCORE              CHARLOTTE                 NC
128449   KL4CJGSB0LB047758   GM           ENCORE              ROCHESTER                 NY
128450   KL4CJGSB0LB047906   GM           ENCORE              MEDINA                    OH
128451   KL4CJGSB0LB047923   GM           ENCORE              Atlanta                   GA
128452   KL4CJGSB0LB047999   GM           ENCORE              Hartford                  CT
128453   KL4CJGSB0LB048229   GM           ENCORE              Atlanta                   GA
128454   KL4CJGSB0LB048263   GM           ENCORE              GYPSUM                    CO
128455   KL4CJGSB0LB048828   GM           ENCORE              CHARLOTTE                 NC
128456   KL4CJGSB0LB049039   GM           ENCORE              PROVIDENCE                RI
128457   KL4CJGSB0LB049185   GM           ENCORE              JACKSONVILLE              FL
128458   KL4CJGSB0LB049350   GM           ENCORE              DES MOINES                IA
128459   KL4CJGSB0LB055424   GM           ENCORE              KANSAS CITY               MO
128460   KL4CJGSB0LB055455   GM           ENCORE              ORLANDO                   FL
128461   KL4CJGSB0LB055584   GM           ENCORE              PHOENIX                   AZ
128462   KL4CJGSB0LB055679   GM           ENCORE              WICHITA FALLS             TX
128463   KL4CJGSB0LB056184   GM           ENCORE              Florissant                MO
128464   KL4CJGSB0LB056380   GM           ENCORE              Atlanta                   GA
128465   KL4CJGSB0LB056430   GM           ENCORE              PHOENIX                   AZ
128466   KL4CJGSB0LB056458   GM           ENCORE              ATLANTA                   GA
128467   KL4CJGSB0LB056475   GM           ENCORE              Florissant                MO
128468   KL4CJGSB0LB056637   GM           ENCORE              Kansas City               MO
128469   KL4CJGSB0LB057285   GM           ENCORE              WILMINGTON                NC
128470   KL4CJGSB0LB057559   GM           ENCORE              SAINT PAUL                MN
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128471   KL4CJGSB0LB057805   GM           ENCORE              Atlanta                   GA
128472   KL4CJGSB0LB057996   GM           ENCORE              JACKSONVILLE              FL
128473   KL4CJGSB0LB058064   GM           ENCORE              PHOENIX                   AZ
128474   KL4CJGSB0LB058999   GM           ENCORE              SAINT PAUL                MN
128475   KL4CJGSB0LB059067   GM           ENCORE              LAS VEGAS                 NV
128476   KL4CJGSB0LB059120   GM           ENCORE              PHOENIX                   AZ
128477   KL4CJGSB0LB059148   GM           ENCORE              WILMINGTON                NC
128478   KL4CJGSB0LB059151   GM           ENCORE              PHOENIX                   AZ
128479   KL4CJGSB0LB059201   GM           ENCORE              Coraopolis                PA
128480   KL4CJGSB0LB059375   GM           ENCORE              PHOENIX                   AZ
128481   KL4CJGSB0LB059568   GM           ENCORE              Maple Grove               MN
128482   KL4CJGSB0LB059618   GM           ENCORE              PHOENIX                   AZ
128483   KL4CJGSB0LB059649   GM           ENCORE              OAKLAND                   CA
128484   KL4CJGSB0LB059831   GM           ENCORE              NEW BERN                  NC
128485   KL4CJGSB0LB060302   GM           ENCORE              ATLANTA AP                GA
128486   KL4CJGSB0LB060364   GM           ENCORE              TAMPA                     FL
128487   KL4CJGSB0LB060560   GM           ENCORE              LAS VEGAS                 NV
128488   KL4CJGSB0LB060686   GM           ENCORE              ALBUQUERQUE               NM
128489   KL4CJGSB0LB061269   GM           ENCORE              Florissant                MO
128490   KL4CJGSB0LB062079   GM           ENCORE              PHOENIX                   AZ
128491   KL4CJGSB0LB068027   GM           ENCORE              TUCSON                    AZ
128492   KL4CJGSB0LB071445   GM           ENCORE              TUCSON                    AZ
128493   KL4CJGSB0LB071588   GM           ENCORE              COLLEGE PARK              GA
128494   KL4CJGSB1JB644608   GM           ENCORE              ATLANTA                   GA
128495   KL4CJGSB1JB645046   GM           ENCORE              Manheim                   PA
128496   KL4CJGSB1LB033755   GM           ENCORE              BURBANK                   CA
128497   KL4CJGSB1LB033822   GM           ENCORE              PALM SPRINGS              CA
128498   KL4CJGSB1LB033836   GM           ENCORE              TUCSON                    AZ
128499   KL4CJGSB1LB034243   GM           ENCORE              DETROIT                   MI
128500   KL4CJGSB1LB034307   GM           ENCORE              Salt Lake City            UT
128501   KL4CJGSB1LB034341   GM           ENCORE              FRESNO                    CA
128502   KL4CJGSB1LB034419   GM           ENCORE              CHICAGO                   IL
128503   KL4CJGSB1LB034615   GM           ENCORE              SAINT PAUL                MN
128504   KL4CJGSB1LB034825   GM           ENCORE              SAN JOSE                  CA
128505   KL4CJGSB1LB034856   GM           ENCORE              LOS ANGELES               CA
128506   KL4CJGSB1LB034985   GM           ENCORE              OKLAHOMA CITY             OK
128507   KL4CJGSB1LB035036   GM           ENCORE              PHOENIX                   AZ
128508   KL4CJGSB1LB035182   GM           ENCORE              LAS VEGAS                 NV
128509   KL4CJGSB1LB035196   GM           ENCORE              CHICAGO                   IL
128510   KL4CJGSB1LB035344   GM           ENCORE              PHOENIX                   AZ
128511   KL4CJGSB1LB035702   GM           ENCORE              LOS ANGELES               CA
128512   KL4CJGSB1LB035912   GM           ENCORE              SEATAC                    WA
128513   KL4CJGSB1LB035957   GM           ENCORE              PHOENIX                   AZ
128514   KL4CJGSB1LB035991   GM           ENCORE              LAS VEGAS                 NV
128515   KL4CJGSB1LB036543   GM           ENCORE              Teterboro                 NJ
128516   KL4CJGSB1LB036607   GM           ENCORE              TUCSON                    AZ
128517   KL4CJGSB1LB036638   GM           ENCORE              SANTA ANA                 CA
128518   KL4CJGSB1LB036915   GM           ENCORE              PHOENIX                   AZ
128519   KL4CJGSB1LB037529   GM           ENCORE              ATLANTA                   GA
128520   KL4CJGSB1LB037563   GM           ENCORE              Dallas                    TX
128521   KL4CJGSB1LB037627   GM           ENCORE              BLOOMINGTON               IL
128522   KL4CJGSB1LB037644   GM           ENCORE              WEST PALM BEACH           FL
128523   KL4CJGSB1LB037790   GM           ENCORE              ORLANDO                   FL
128524   KL4CJGSB1LB038504   GM           ENCORE              BURBANK                   CA
128525   KL4CJGSB1LB038650   GM           ENCORE              SARASOTA                  FL
128526   KL4CJGSB1LB039118   GM           ENCORE              SACRAMENTO                CA
128527   KL4CJGSB1LB040432   GM           ENCORE              SAINT PAUL                MN
128528   KL4CJGSB1LB041029   GM           ENCORE              CHARLOTTE                 NC
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128529   KL4CJGSB1LB041516   GM           ENCORE              SARASOTA                  FL
128530   KL4CJGSB1LB042309   GM           ENCORE              SARASOTA                  FL
128531   KL4CJGSB1LB043590   GM           ENCORE              NEW BERN                  NC
128532   KL4CJGSB1LB043637   GM           ENCORE              MIAMI                     FL
128533   KL4CJGSB1LB043847   GM           ENCORE              TAMPA                     FL
128534   KL4CJGSB1LB044206   GM           ENCORE              INGLEWOOD                 CA
128535   KL4CJGSB1LB044254   GM           ENCORE              NEW YORK CITY             NY
128536   KL4CJGSB1LB044335   GM           ENCORE              BOSTON                    MA
128537   KL4CJGSB1LB044366   GM           ENCORE              LOS ANGELES               CA
128538   KL4CJGSB1LB044402   GM           ENCORE              JAMAICA                   NY
128539   KL4CJGSB1LB044416   GM           ENCORE              GRAND RAPIDS              MI
128540   KL4CJGSB1LB044495   GM           ENCORE              NEW YORK CITY             NY
128541   KL4CJGSB1LB044612   GM           ENCORE              DETROIT                   MI
128542   KL4CJGSB1LB044643   GM           ENCORE              LAS VEGAS                 NV
128543   KL4CJGSB1LB044657   GM           ENCORE              MEDINA                    OH
128544   KL4CJGSB1LB044688   GM           ENCORE              STERLING                  VA
128545   KL4CJGSB1LB044707   GM           ENCORE              Ft Pierce                 FL
128546   KL4CJGSB1LB044724   GM           ENCORE              FORT MYERS                FL
128547   KL4CJGSB1LB044836   GM           ENCORE              LOS ANGELES               CA
128548   KL4CJGSB1LB044870   GM           ENCORE              NEW BERN                  NC
128549   KL4CJGSB1LB045078   GM           ENCORE              CHARLOTTE                 NC
128550   KL4CJGSB1LB045226   GM           ENCORE              SAN JOSE                  CA
128551   KL4CJGSB1LB045310   GM           ENCORE              Windsor Locks             CT
128552   KL4CJGSB1LB045582   GM           ENCORE              STERLING                  VA
128553   KL4CJGSB1LB045792   GM           ENCORE              BURBANK                   CA
128554   KL4CJGSB1LB045971   GM           ENCORE              GRAND RAPIDS              MI
128555   KL4CJGSB1LB046389   GM           ENCORE              Massapequa                NY
128556   KL4CJGSB1LB046800   GM           ENCORE              CHICAGO                   IL
128557   KL4CJGSB1LB047249   GM           ENCORE              Hartford                  CT
128558   KL4CJGSB1LB047302   GM           ENCORE              ATLANTA                   GA
128559   KL4CJGSB1LB047414   GM           ENCORE              SAN JOSE                  CA
128560   KL4CJGSB1LB047719   GM           ENCORE              SAINT PAUL                MN
128561   KL4CJGSB1LB048370   GM           ENCORE              NEW BERN                  NC
128562   KL4CJGSB1LB048580   GM           ENCORE              Teterboro                 NJ
128563   KL4CJGSB1LB048630   GM           ENCORE              ATLANTA                   GA
128564   KL4CJGSB1LB048739   GM           ENCORE              DALLAS                    TX
128565   KL4CJGSB1LB048742   GM           ENCORE              PHILADELPHIA              PA
128566   KL4CJGSB1LB048918   GM           ENCORE              BIRMINGHAM                AL
128567   KL4CJGSB1LB049096   GM           ENCORE              Detroit                   MI
128568   KL4CJGSB1LB049308   GM           ENCORE              Atlanta                   GA
128569   KL4CJGSB1LB055397   GM           ENCORE              PHOENIX                   AZ
128570   KL4CJGSB1LB055593   GM           ENCORE              DES MOINES                IA
128571   KL4CJGSB1LB056551   GM           ENCORE              NEW BERN                  NC
128572   KL4CJGSB1LB056629   GM           ENCORE              PHOENIX                   AZ
128573   KL4CJGSB1LB056937   GM           ENCORE              WEST PALM BEACH           FL
128574   KL4CJGSB1LB057148   GM           ENCORE              PHOENIX                   AZ
128575   KL4CJGSB1LB057330   GM           ENCORE              SAINT PAUL                MN
128576   KL4CJGSB1LB057490   GM           ENCORE              ATLANTA                   GA
128577   KL4CJGSB1LB057599   GM           ENCORE              TAMPA                     FL
128578   KL4CJGSB1LB057764   GM           ENCORE              DENVER                    CO
128579   KL4CJGSB1LB057926   GM           ENCORE              SACRAMENTO                CA
128580   KL4CJGSB1LB058025   GM           ENCORE              PHOENIX                   AZ
128581   KL4CJGSB1LB058185   GM           ENCORE              PHOENIX                   AZ
128582   KL4CJGSB1LB058462   GM           ENCORE              MOBILE                    A
128583   KL4CJGSB1LB058560   GM           ENCORE              PHOENIX                   AZ
128584   KL4CJGSB1LB058770   GM           ENCORE              ORLANDO                   FL
128585   KL4CJGSB1LB059692   GM           ENCORE              PHOENIX                   AZ
128586   KL4CJGSB1LB059790   GM           ENCORE              SARASOTA                  FL
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128587   KL4CJGSB1LB060633   GM           ENCORE              LOUISVILLE                KY
128588   KL4CJGSB1LB060664   GM           ENCORE              PHOENIX                   AZ
128589   KL4CJGSB1LB060860   GM           ENCORE              TAMPA                     FL
128590   KL4CJGSB1LB060891   GM           ENCORE              SAN FRANCISCO             CA
128591   KL4CJGSB1LB061443   GM           ENCORE              SEATTLE                   WA
128592   KL4CJGSB1LB061488   GM           ENCORE              HARRISBURG                PA
128593   KL4CJGSB1LB067338   GM           ENCORE              TAMPA                     FL
128594   KL4CJGSB1LB067727   GM           ENCORE              LAS VEGAS                 NV
128595   KL4CJGSB1LB068053   GM           ENCORE              PHOENIX                   AZ
128596   KL4CJGSB1LB068618   GM           ENCORE              KNOXVILLE                 TN
128597   KL4CJGSB1LB069140   GM           ENCORE              WEST PALM BEACH           FL
128598   KL4CJGSB1LB070515   GM           ENCORE              TALLAHASSEE               FL
128599   KL4CJGSB1LB071373   GM           ENCORE              SAINT PAUL                MN
128600   KL4CJGSB1LB071499   GM           ENCORE              ATLANTA                   GA
128601   KL4CJGSB2GB636168   GM           ENCORE              SALT LAKE CITY            US
128602   KL4CJGSB2JB532559   GM           ENCORE              Rio Linda                 CA
128603   KL4CJGSB2JB671364   GM           ENCORE              ORLANDO                   FL
128604   KL4CJGSB2LB033733   GM           ENCORE              albuquerque               nm
128605   KL4CJGSB2LB033781   GM           ENCORE              Lake in the Hil           IL
128606   KL4CJGSB2LB033831   GM           ENCORE              RALEIGH                   NC
128607   KL4CJGSB2LB033876   GM           ENCORE              DENVER                    CO
128608   KL4CJGSB2LB034459   GM           ENCORE              CHARLESTON                WV
128609   KL4CJGSB2LB034980   GM           ENCORE              MILWAUKEE                 WI
128610   KL4CJGSB2LB035238   GM           ENCORE              ATLANTA                   GA
128611   KL4CJGSB2LB035367   GM           ENCORE              PHOENIX                   AZ
128612   KL4CJGSB2LB035532   GM           ENCORE              SAN ANTONIO               TX
128613   KL4CJGSB2LB035563   GM           ENCORE              PHOENIX                   AZ
128614   KL4CJGSB2LB035627   GM           ENCORE              Tampa                     FL
128615   KL4CJGSB2LB035725   GM           ENCORE              CHARLESTON                SC
128616   KL4CJGSB2LB035742   GM           ENCORE              PHOENIX                   AZ
128617   KL4CJGSB2LB035868   GM           ENCORE              PHOENIX                   AZ
128618   KL4CJGSB2LB036020   GM           ENCORE              PHOENIX                   AZ
128619   KL4CJGSB2LB036034   GM           ENCORE              PHOENIX                   AZ
128620   KL4CJGSB2LB036258   GM           ENCORE              PHOENIX                   AZ
128621   KL4CJGSB2LB036762   GM           ENCORE              WHITE PLAINS              NY
128622   KL4CJGSB2LB037135   GM           ENCORE              LAS VEGAS                 NV
128623   KL4CJGSB2LB037619   GM           ENCORE              ORLANDO                   FL
128624   KL4CJGSB2LB037782   GM           ENCORE              TAMPA                     FL
128625   KL4CJGSB2LB038074   GM           ENCORE              KNOXVILLE                 TN
128626   KL4CJGSB2LB038091   GM           ENCORE              FORT LAUDERDALE           FL
128627   KL4CJGSB2LB039127   GM           ENCORE              NEWARK                    NJ
128628   KL4CJGSB2LB039418   GM           ENCORE              SAINT PAUL                MN
128629   KL4CJGSB2LB039578   GM           ENCORE              FORT MYERS                FL
128630   KL4CJGSB2LB040746   GM           ENCORE              FORT MYERS                FL
128631   KL4CJGSB2LB040908   GM           ENCORE              PHOENIX                   AZ
128632   KL4CJGSB2LB041055   GM           ENCORE              DALLAS                    TX
128633   KL4CJGSB2LB041203   GM           ENCORE              ALEXANDRIA                VA
128634   KL4CJGSB2LB041587   GM           ENCORE              STOCKBRIDGE               GA
128635   KL4CJGSB2LB041931   GM           ENCORE              Atlanta                   GA
128636   KL4CJGSB2LB042142   GM           ENCORE              PHOENIX                   AZ
128637   KL4CJGSB2LB042206   GM           ENCORE              Atlanta                   GA
128638   KL4CJGSB2LB042349   GM           ENCORE              ATLANTA AP                GA
128639   KL4CJGSB2LB042674   GM           ENCORE              Atlanta                   GA
128640   KL4CJGSB2LB042772   GM           ENCORE              KNOXVILLE                 TN
128641   KL4CJGSB2LB042805   GM           ENCORE              SAINT PAUL                MN
128642   KL4CJGSB2LB044246   GM           ENCORE              NEWARK                    NJ
128643   KL4CJGSB2LB044280   GM           ENCORE              Smithtown                 NY
128644   KL4CJGSB2LB044313   GM           ENCORE              Harvey                    LA
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128645   KL4CJGSB2LB044330   GM           ENCORE              TUCSON                    AZ
128646   KL4CJGSB2LB044344   GM           ENCORE              ONTARIO                   CA
128647   KL4CJGSB2LB044473   GM           ENCORE              LAS VEGAS                 NV
128648   KL4CJGSB2LB044487   GM           ENCORE              Cincinnati                OH
128649   KL4CJGSB2LB044523   GM           ENCORE              CLEVELAND                 OH
128650   KL4CJGSB2LB044568   GM           ENCORE              Hartford                  CT
128651   KL4CJGSB2LB044716   GM           ENCORE              TUCSON                    AZ
128652   KL4CJGSB2LB044781   GM           ENCORE              NORFOLK                   VA
128653   KL4CJGSB2LB044795   GM           ENCORE              ALLENTOWN                 US
128654   KL4CJGSB2LB044831   GM           ENCORE              SAN DIEGO                 CA
128655   KL4CJGSB2LB044893   GM           ENCORE              Colorado Spring           CO
128656   KL4CJGSB2LB044957   GM           ENCORE              KNOXVILLE                 TN
128657   KL4CJGSB2LB045378   GM           ENCORE              ONTARIO                   CA
128658   KL4CJGSB2LB045431   GM           ENCORE              WARWICK                   RI
128659   KL4CJGSB2LB045462   GM           ENCORE              Atlanta                   GA
128660   KL4CJGSB2LB046045   GM           ENCORE              SAN FRANCISCO             CA
128661   KL4CJGSB2LB046305   GM           ENCORE              CHARLOTTE                 NC
128662   KL4CJGSB2LB046322   GM           ENCORE              OAKLAND                   CA
128663   KL4CJGSB2LB046417   GM           ENCORE              STERLING                  VA
128664   KL4CJGSB2LB046675   GM           ENCORE              Smithtown                 NY
128665   KL4CJGSB2LB046692   GM           ENCORE              BLOOMINGTON               IL
128666   KL4CJGSB2LB046773   GM           ENCORE              WHITE PLAINS              NY
128667   KL4CJGSB2LB046871   GM           ENCORE              MIDDLE RIVER              MD
128668   KL4CJGSB2LB046952   GM           ENCORE              STERLING                  VA
128669   KL4CJGSB2LB047227   GM           ENCORE              SAINT PAUL                MN
128670   KL4CJGSB2LB047552   GM           ENCORE              WICHITA FALLS             TX
128671   KL4CJGSB2LB047650   GM           ENCORE              GRAND RAPIDS              MI
128672   KL4CJGSB2LB047843   GM           ENCORE              GRAND RAPIDS              MI
128673   KL4CJGSB2LB048359   GM           ENCORE              SAINT PAUL                MN
128674   KL4CJGSB2LB048488   GM           ENCORE              SAINT PAUL                MN
128675   KL4CJGSB2LB048524   GM           ENCORE              DENVER                    CO
128676   KL4CJGSB2LB049351   GM           ENCORE              KNOXVILLE                 TN
128677   KL4CJGSB2LB055649   GM           ENCORE              LOS ANGELES               CA
128678   KL4CJGSB2LB055800   GM           ENCORE              Chicago                   IL
128679   KL4CJGSB2LB055828   GM           ENCORE              SAINT PAUL                MN
128680   KL4CJGSB2LB055893   GM           ENCORE              PHOENIX                   AZ
128681   KL4CJGSB2LB055988   GM           ENCORE              PHOENIX                   AZ
128682   KL4CJGSB2LB056073   GM           ENCORE              CHICAGO                   IL
128683   KL4CJGSB2LB056610   GM           ENCORE              SAN JOSE                  CA
128684   KL4CJGSB2LB057207   GM           ENCORE              HOUSTON                   TX
128685   KL4CJGSB2LB057210   GM           ENCORE              CHICAGO                   IL
128686   KL4CJGSB2LB057479   GM           ENCORE              Atlanta                   GA
128687   KL4CJGSB2LB057577   GM           ENCORE              SALT LAKE CITY            UT
128688   KL4CJGSB2LB057594   GM           ENCORE              DETROIT                   MI
128689   KL4CJGSB2LB057756   GM           ENCORE              PHOENIX                   AZ
128690   KL4CJGSB2LB058342   GM           ENCORE              LOUISVILLE                KY
128691   KL4CJGSB2LB058356   GM           ENCORE              PHOENIX                   AZ
128692   KL4CJGSB2LB059118   GM           ENCORE              Rockville Centr           NY
128693   KL4CJGSB2LB059507   GM           ENCORE              HANOVER                   MD
128694   KL4CJGSB2LB059863   GM           ENCORE              PHOENIX                   AZ
128695   KL4CJGSB2LB060219   GM           ENCORE              PHOENIX                   AZ
128696   KL4CJGSB2LB060222   GM           ENCORE              RICHMOND                  VA
128697   KL4CJGSB2LB060351   GM           ENCORE              KNOXVILLE                 TN
128698   KL4CJGSB2LB061001   GM           ENCORE              ATLANTA                   GA
128699   KL4CJGSB2LB061208   GM           ENCORE              PHOENIX                   AZ
128700   KL4CJGSB2LB061368   GM           ENCORE              PHOENIX                   AZ
128701   KL4CJGSB2LB061614   GM           ENCORE              OAKLAND                   CA
128702   KL4CJGSB2LB061628   GM           ENCORE              PHOENIX                   AZ
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128703   KL4CJGSB2LB068143   GM           ENCORE              Bridgeton                 MO
128704   KL4CJGSB2LB068434   GM           ENCORE              ATLANTA                   GA
128705   KL4CJGSB2LB068711   GM           ENCORE              Atlanta                   GA
128706   KL4CJGSB2LB069390   GM           ENCORE              Phoenix                   AZ
128707   KL4CJGSB2LB069664   GM           ENCORE              MILWAUKEE                 WI
128708   KL4CJGSB2LB070992   GM           ENCORE              BIRMINGHAM                AL
128709   KL4CJGSB3GB589880   GM           ENCORE              North Dighton             MA
128710   KL4CJGSB3GB682642   GM           ENCORE              BURBANK                   CA
128711   KL4CJGSB3LB033787   GM           ENCORE              PHOENIX                   AZ
128712   KL4CJGSB3LB033871   GM           ENCORE              Coraopolis                PA
128713   KL4CJGSB3LB034101   GM           ENCORE              Schaumburg                IL
128714   KL4CJGSB3LB034129   GM           ENCORE              CHICAGO                   IL
128715   KL4CJGSB3LB034342   GM           ENCORE              SAN DIEGO                 CA
128716   KL4CJGSB3LB034874   GM           ENCORE              SAINT PAUL                MN
128717   KL4CJGSB3LB035183   GM           ENCORE              PHOENIX                   AZ
128718   KL4CJGSB3LB035345   GM           ENCORE              DETROIT                   MI
128719   KL4CJGSB3LB035362   GM           ENCORE              PHOENIX                   AZ
128720   KL4CJGSB3LB035376   GM           ENCORE              LOS ANGELES               CA
128721   KL4CJGSB3LB035765   GM           ENCORE              PHOENIX                   AZ
128722   KL4CJGSB3LB036253   GM           ENCORE              TUCSON                    AZ
128723   KL4CJGSB3LB037581   GM           ENCORE              CLEVELAND                 OH
128724   KL4CJGSB3LB038150   GM           ENCORE              ORANGE COUNTY             CA
128725   KL4CJGSB3LB038701   GM           ENCORE              LAS VEGAS                 NV
128726   KL4CJGSB3LB039136   GM           ENCORE              TULSA                     OK
128727   KL4CJGSB3LB039461   GM           ENCORE              LAS VEGAS                 NV
128728   KL4CJGSB3LB040321   GM           ENCORE              TAMPA                     FL
128729   KL4CJGSB3LB040593   GM           ENCORE              COLLEGE PARK              GA
128730   KL4CJGSB3LB041081   GM           ENCORE              JACKSONVILLE              FL
128731   KL4CJGSB3LB041663   GM           ENCORE              FORT LAUDERDALE           FL
128732   KL4CJGSB3LB041677   GM           ENCORE              FT LAUDERDALE             FL
128733   KL4CJGSB3LB042246   GM           ENCORE              SARASOTA                  FL
128734   KL4CJGSB3LB042456   GM           ENCORE              TUCSON                    AZ
128735   KL4CJGSB3LB043493   GM           ENCORE              SARASOTA                  FL
128736   KL4CJGSB3LB043669   GM           ENCORE              FORT LAUDERDALE           FL
128737   KL4CJGSB3LB043705   GM           ENCORE              AUSTIN                    TX
128738   KL4CJGSB3LB044191   GM           ENCORE              SAN DIEGO                 CA
128739   KL4CJGSB3LB044272   GM           ENCORE              MEDINA                    OH
128740   KL4CJGSB3LB044322   GM           ENCORE              EGG HARBOR TOWN           NJ
128741   KL4CJGSB3LB044336   GM           ENCORE              SAN FRANCISCO             CA
128742   KL4CJGSB3LB044451   GM           ENCORE              BUTLER                    PA
128743   KL4CJGSB3LB044465   GM           ENCORE              DETROIT                   MI
128744   KL4CJGSB3LB044479   GM           ENCORE              Baltimore                 MD
128745   KL4CJGSB3LB044501   GM           ENCORE              JAMAICA                   NY
128746   KL4CJGSB3LB044532   GM           ENCORE              Memphis                   TN
128747   KL4CJGSB3LB044658   GM           ENCORE              GRAND RAPIDS              MI
128748   KL4CJGSB3LB044708   GM           ENCORE              MILWAUKEE                 WI
128749   KL4CJGSB3LB044773   GM           ENCORE              WARWICK                   RI
128750   KL4CJGSB3LB044837   GM           ENCORE              LAS VEGAS                 NV
128751   KL4CJGSB3LB044871   GM           ENCORE              ORLANDO                   FL
128752   KL4CJGSB3LB044921   GM           ENCORE              LOS ANGELES AP            CA
128753   KL4CJGSB3LB044935   GM           ENCORE              SAVANNAH                  GA
128754   KL4CJGSB3LB045048   GM           ENCORE              NEWARK                    NJ
128755   KL4CJGSB3LB045213   GM           ENCORE              SPRINGFIELD               VA
128756   KL4CJGSB3LB045261   GM           ENCORE              Hendersonville            TN
128757   KL4CJGSB3LB045728   GM           ENCORE              Atlanta                   GA
128758   KL4CJGSB3LB045843   GM           ENCORE              Windsor Locks             CT
128759   KL4CJGSB3LB045938   GM           ENCORE              SAN FRANCISCO             CA
128760   KL4CJGSB3LB046281   GM           ENCORE              PHOENIX                   AZ
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128761   KL4CJGSB3LB046359   GM           ENCORE              KNOXVILLE                 TN
128762   KL4CJGSB3LB046409   GM           ENCORE              Atlanta                   GA
128763   KL4CJGSB3LB046622   GM           ENCORE              SAN JOSE                  CA
128764   KL4CJGSB3LB047088   GM           ENCORE              Florissant                MO
128765   KL4CJGSB3LB047656   GM           ENCORE              MORRISVILLE               NC
128766   KL4CJGSB3LB048693   GM           ENCORE              FRESNO                    CA
128767   KL4CJGSB3LB048824   GM           ENCORE              KENNER                    LA
128768   KL4CJGSB3LB049021   GM           ENCORE              Smithtown                 NY
128769   KL4CJGSB3LB049357   GM           ENCORE              CLARKSVILLE               IN
128770   KL4CJGSB3LB055322   GM           ENCORE              PHOENIX                   AZ
128771   KL4CJGSB3LB055434   GM           ENCORE              SACRAMENTO                CA
128772   KL4CJGSB3LB055563   GM           ENCORE              PHOENIX                   AZ
128773   KL4CJGSB3LB055708   GM           ENCORE              CHARLOTTE                 NC
128774   KL4CJGSB3LB055756   GM           ENCORE              OAKLAND                   CA
128775   KL4CJGSB3LB055921   GM           ENCORE              MEDINA                    OH
128776   KL4CJGSB3LB056244   GM           ENCORE              PALM SPRINGS              CA
128777   KL4CJGSB3LB056390   GM           ENCORE              CHICAGO                   IL
128778   KL4CJGSB3LB056406   GM           ENCORE              SAINT PAUL                MN
128779   KL4CJGSB3LB056440   GM           ENCORE              SALT LAKE CITY            UT
128780   KL4CJGSB3LB056602   GM           ENCORE              LOS ANGELES               CA
128781   KL4CJGSB3LB056860   GM           ENCORE              PHOENIX                   AZ
128782   KL4CJGSB3LB056972   GM           ENCORE              NEW BERN                  NC
128783   KL4CJGSB3LB057202   GM           ENCORE              DENVER                    CO
128784   KL4CJGSB3LB057698   GM           ENCORE              JACKSONVILLE              FL
128785   KL4CJGSB3LB057717   GM           ENCORE              Ft. Myers                 FL
128786   KL4CJGSB3LB058043   GM           ENCORE              Florissant                MO
128787   KL4CJGSB3LB058107   GM           ENCORE              WEST COLUMBIA             SC
128788   KL4CJGSB3LB058639   GM           ENCORE              SANTA ANA                 CA
128789   KL4CJGSB3LB058897   GM           ENCORE              FORT LAUDERDALE           FL
128790   KL4CJGSB3LB059547   GM           ENCORE              PHOENIX                   AZ
128791   KL4CJGSB3LB059550   GM           ENCORE              SAINT PAUL                MN
128792   KL4CJGSB3LB059841   GM           ENCORE              Louisville                KY
128793   KL4CJGSB3LB059984   GM           ENCORE              AUSTIN                    TX
128794   KL4CJGSB3LB060178   GM           ENCORE              PHOENIX                   AZ
128795   KL4CJGSB3LB060262   GM           ENCORE              PHOENIX                   AZ
128796   KL4CJGSB3LB060312   GM           ENCORE              DALLAS                    TX
128797   KL4CJGSB3LB060472   GM           ENCORE              TALLAHASSEE               FL
128798   KL4CJGSB3LB060925   GM           ENCORE              LAS VEGAS                 NV
128799   KL4CJGSB3LB061086   GM           ENCORE              CHICAGO                   IL
128800   KL4CJGSB3LB061671   GM           ENCORE              PHOENIX                   AZ
128801   KL4CJGSB3LB061704   GM           ENCORE              INDIANAPOLIS              IN
128802   KL4CJGSB3LB061878   GM           ENCORE              LUBBOCK                   TX
128803   KL4CJGSB3LB067230   GM           ENCORE              MILWAUKEE                 WI
128804   KL4CJGSB3LB069379   GM           ENCORE              ATLANTA                   GA
128805   KL4CJGSB3LB069432   GM           ENCORE              Florissant                MO
128806   KL4CJGSB3LB069740   GM           ENCORE              PHOENIX                   AZ
128807   KL4CJGSB3LB070256   GM           ENCORE              NEW BERN                  NC
128808   KL4CJGSB3LB071293   GM           ENCORE              Atlanta                   GA
128809   KL4CJGSB4JB643131   GM           ENCORE              DENVER                    CO
128810   KL4CJGSB4JB648314   GM           ENCORE              Des Plaines               IL
128811   KL4CJGSB4JB670278   GM           ENCORE              Hamilton                  OH
128812   KL4CJGSB4LB033829   GM           ENCORE              CHICAGO                   IL
128813   KL4CJGSB4LB033975   GM           ENCORE              ORANGE COUNTY             CA
128814   KL4CJGSB4LB034172   GM           ENCORE              PHOENIX                   AZ
128815   KL4CJGSB4LB034494   GM           ENCORE              SAN FRANCISCO             CA
128816   KL4CJGSB4LB034575   GM           ENCORE              SAINT PAUL                MN
128817   KL4CJGSB4LB034785   GM           ENCORE              PHOENIX                   AZ
128818   KL4CJGSB4LB035418   GM           ENCORE              SAINT PAUL                MN
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128819   KL4CJGSB4LB035466   GM           ENCORE              PHOENIX                   AZ
128820   KL4CJGSB4LB035676   GM           ENCORE              MIDLAND                   TX
128821   KL4CJGSB4LB036181   GM           ENCORE              Dallas                    TX
128822   KL4CJGSB4LB036259   GM           ENCORE              SAINT PAUL                MN
128823   KL4CJGSB4LB037024   GM           ENCORE              GRAND RAPIDS              MI
128824   KL4CJGSB4LB037573   GM           ENCORE              NEW YORK CITY             NY
128825   KL4CJGSB4LB038643   GM           ENCORE              WHITE PLAINS              NY
128826   KL4CJGSB4LB038660   GM           ENCORE              MILWAUKEE                 WI
128827   KL4CJGSB4LB038707   GM           ENCORE              MIAMI                     FL
128828   KL4CJGSB4LB038805   GM           ENCORE              SAN DIEGO                 CA
128829   KL4CJGSB4LB039307   GM           ENCORE              TUCSON                    AZ
128830   KL4CJGSB4LB039386   GM           ENCORE              Nashville                 TN
128831   KL4CJGSB4LB040568   GM           ENCORE              ORLANDO                   FL
128832   KL4CJGSB4LB040716   GM           ENCORE              TAMPA                     FL
128833   KL4CJGSB4LB040778   GM           ENCORE              ORLANDO                   FL
128834   KL4CJGSB4LB041090   GM           ENCORE              GREENVILLE                NC
128835   KL4CJGSB4LB041669   GM           ENCORE              ATLANTA                   GA
128836   KL4CJGSB4LB041882   GM           ENCORE              WEST PALM BEACH           FL
128837   KL4CJGSB4LB042109   GM           ENCORE              PHOENIX                   AZ
128838   KL4CJGSB4LB042143   GM           ENCORE              PHOENIX                   AZ
128839   KL4CJGSB4LB042160   GM           ENCORE              FT. LAUDERDALE            FL
128840   KL4CJGSB4LB042577   GM           ENCORE              TAMPA                     FL
128841   KL4CJGSB4LB042904   GM           ENCORE              Atlanta                   GA
128842   KL4CJGSB4LB043017   GM           ENCORE              TUCSON                    AZ
128843   KL4CJGSB4LB043194   GM           ENCORE              COLLEGE PARK              GA
128844   KL4CJGSB4LB043390   GM           ENCORE              MIAMI                     FL
128845   KL4CJGSB4LB043468   GM           ENCORE              TAMPA                     FL
128846   KL4CJGSB4LB043471   GM           ENCORE              TUCSON                    AZ
128847   KL4CJGSB4LB043678   GM           ENCORE              GAINESVILLE               FL
128848   KL4CJGSB4LB043695   GM           ENCORE              Atlanta                   GA
128849   KL4CJGSB4LB044183   GM           ENCORE              GRAND RAPIDS              MI
128850   KL4CJGSB4LB044281   GM           ENCORE              Baltimore                 MD
128851   KL4CJGSB4LB044314   GM           ENCORE              NEWARK                    NJ
128852   KL4CJGSB4LB044457   GM           ENCORE              Rockville Centr           NY
128853   KL4CJGSB4LB044510   GM           ENCORE              SOUTH SAN FRANC           CA
128854   KL4CJGSB4LB044524   GM           ENCORE              Sterling                  VA
128855   KL4CJGSB4LB044605   GM           ENCORE              WARWICK                   RI
128856   KL4CJGSB4LB044765   GM           ENCORE              DETROIT                   MI
128857   KL4CJGSB4LB044782   GM           ENCORE              PENSACOLA                 FL
128858   KL4CJGSB4LB044815   GM           ENCORE              Baltimore                 MD
128859   KL4CJGSB4LB044877   GM           ENCORE              NEW YORK CITY             NY
128860   KL4CJGSB4LB044894   GM           ENCORE              RONKONKOMA                NY
128861   KL4CJGSB4LB044930   GM           ENCORE              ROANOKE                   VA
128862   KL4CJGSB4LB045267   GM           ENCORE              PENSACOLA                 FL
128863   KL4CJGSB4LB045446   GM           ENCORE              EGG HARBOR TOWN           NJ
128864   KL4CJGSB4LB045723   GM           ENCORE              BLOOMINGTON               IL
128865   KL4CJGSB4LB045897   GM           ENCORE              NEW YORK CITY             NY
128866   KL4CJGSB4LB046161   GM           ENCORE              STERLING                  VA
128867   KL4CJGSB4LB046497   GM           ENCORE              Indianapolis              IN
128868   KL4CJGSB4LB046595   GM           ENCORE              SAN DIEGO                 CA
128869   KL4CJGSB4LB046810   GM           ENCORE              DETROIT                   MI
128870   KL4CJGSB4LB046953   GM           ENCORE              SAN FRANCISCO             CA
128871   KL4CJGSB4LB046984   GM           ENCORE              PHILADELPHIA              PA
128872   KL4CJGSB4LB047262   GM           ENCORE              MINNEAPOLIS               MN
128873   KL4CJGSB4LB047634   GM           ENCORE              GREENVILLE                NC
128874   KL4CJGSB4LB047827   GM           ENCORE              BOSTON                    MA
128875   KL4CJGSB4LB048086   GM           ENCORE              CHARLOTTE                 NC
128876   KL4CJGSB4LB048105   GM           ENCORE              DENVER                    CO
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128877   KL4CJGSB4LB048489   GM           ENCORE              UNION CITY                GA
128878   KL4CJGSB4LB048637   GM           ENCORE              CHEEKTOWAGA               NY
128879   KL4CJGSB4LB048718   GM           ENCORE              Schaumburg                IL
128880   KL4CJGSB4LB048931   GM           ENCORE              BLOOMINGTON               IL
128881   KL4CJGSB4LB048976   GM           ENCORE              STERLING                  VA
128882   KL4CJGSB4LB049318   GM           ENCORE              PHOENIX                   AZ
128883   KL4CJGSB4LB055362   GM           ENCORE              Atlanta                   GA
128884   KL4CJGSB4LB055507   GM           ENCORE              LOS ANGELES               CA
128885   KL4CJGSB4LB055605   GM           ENCORE              COLLEGE PARK              GA
128886   KL4CJGSB4LB055670   GM           ENCORE              PHOENIX                   AZ
128887   KL4CJGSB4LB055765   GM           ENCORE              DES MOINES                IA
128888   KL4CJGSB4LB056124   GM           ENCORE              PHOENIX                   AZ
128889   KL4CJGSB4LB056320   GM           ENCORE              CHICAGO                   IL
128890   KL4CJGSB4LB056835   GM           ENCORE              SAINT PAUL                MN
128891   KL4CJGSB4LB056902   GM           ENCORE              SANTA ANA                 CA
128892   KL4CJGSB4LB057371   GM           ENCORE              OMAHA                     NE
128893   KL4CJGSB4LB057404   GM           ENCORE              TAMPA                     FL
128894   KL4CJGSB4LB057497   GM           ENCORE              Tampa                     FL
128895   KL4CJGSB4LB057709   GM           ENCORE              KILLEEN                   TX
128896   KL4CJGSB4LB058004   GM           ENCORE              PHOENIX                   AZ
128897   KL4CJGSB4LB058570   GM           ENCORE              PHOENIX                   AZ
128898   KL4CJGSB4LB058875   GM           ENCORE              PHOENIX                   AZ
128899   KL4CJGSB4LB059220   GM           ENCORE              PHOENIX                   AZ
128900   KL4CJGSB4LB059332   GM           ENCORE              SAN FRANCISCO             CA
128901   KL4CJGSB4LB059413   GM           ENCORE              DENVER                    CO
128902   KL4CJGSB4LB059508   GM           ENCORE              PHOENIX                   AZ
128903   KL4CJGSB4LB059590   GM           ENCORE              ATLANTA                   GA
128904   KL4CJGSB4LB059721   GM           ENCORE              DES MOINES                IA
128905   KL4CJGSB4LB059833   GM           ENCORE              Schaumburg                IL
128906   KL4CJGSB4LB060321   GM           ENCORE              BIRMINGHAM                AL
128907   KL4CJGSB4LB060335   GM           ENCORE              STATESBORO                GA
128908   KL4CJGSB4LB060352   GM           ENCORE              ATLANTA                   GA
128909   KL4CJGSB4LB060707   GM           ENCORE              Florissant                MO
128910   KL4CJGSB4LB060979   GM           ENCORE              SAN DIEGO                 CA
128911   KL4CJGSB4LB061324   GM           ENCORE              HARLEYVILLE               SC
128912   KL4CJGSB4LB061498   GM           ENCORE              WICHITA FALLS             TX
128913   KL4CJGSB4LB061596   GM           ENCORE              GRAND JUNCTION            CO
128914   KL4CJGSB4LB067737   GM           ENCORE              Atlanta                   GA
128915   KL4CJGSB4LB068239   GM           ENCORE              WOODS CROSS               US
128916   KL4CJGSB4LB069536   GM           ENCORE              PHOENIX                   AZ
128917   KL4CJGSB4LB070783   GM           ENCORE              Florissant                MO
128918   KL4CJGSB4LB070847   GM           ENCORE              WEST COLUMBIA             SC
128919   KL4CJGSB4LB071562   GM           ENCORE              ATLANTA                   GA
128920   KL4CJGSB5LB033760   GM           ENCORE              KNOXVILLE                 TN
128921   KL4CJGSB5LB034150   GM           ENCORE              DENVER                    CO
128922   KL4CJGSB5LB034245   GM           ENCORE              PHOENIX                   AZ
128923   KL4CJGSB5LB034455   GM           ENCORE              PHOENIX                   AZ
128924   KL4CJGSB5LB034603   GM           ENCORE              DES MOINES                IA
128925   KL4CJGSB5LB035217   GM           ENCORE              TUCSON                    AZ
128926   KL4CJGSB5LB035492   GM           ENCORE              PHOENIX                   AZ
128927   KL4CJGSB5LB035671   GM           ENCORE              PORTLAND                  OR
128928   KL4CJGSB5LB035864   GM           ENCORE              Las Vegas                 NV
128929   KL4CJGSB5LB035959   GM           ENCORE              DETROIT                   MI
128930   KL4CJGSB5LB035962   GM           ENCORE              Atlanta                   GA
128931   KL4CJGSB5LB036271   GM           ENCORE              Hamilton                  OH
128932   KL4CJGSB5LB036335   GM           ENCORE              DALLAS                    TX
128933   KL4CJGSB5LB036352   GM           ENCORE              Smithtown                 NY
128934   KL4CJGSB5LB036366   GM           ENCORE              RALIEGH                   NC
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128935   KL4CJGSB5LB037095   GM           ENCORE              Des Moines                IA
128936   KL4CJGSB5LB037534   GM           ENCORE              Pheonix                   AZ
128937   KL4CJGSB5LB037890   GM           ENCORE              PHOENIX                   AZ
128938   KL4CJGSB5LB038005   GM           ENCORE              CHARLOTTE                 NC
128939   KL4CJGSB5LB038280   GM           ENCORE              UNION CITY                GA
128940   KL4CJGSB5LB038392   GM           ENCORE              PHOENIX                   AZ
128941   KL4CJGSB5LB038716   GM           ENCORE              RONKONKOMA                NY
128942   KL4CJGSB5LB038750   GM           ENCORE              Albuquerque               NM
128943   KL4CJGSB5LB039266   GM           ENCORE              ORLANDO                   FL
128944   KL4CJGSB5LB041177   GM           ENCORE              ORLANDO                   FL
128945   KL4CJGSB5LB041583   GM           ENCORE              TAMPA                     FL
128946   KL4CJGSB5LB042068   GM           ENCORE              UNION CITY                GA
128947   KL4CJGSB5LB042152   GM           ENCORE              TAMPA                     FL
128948   KL4CJGSB5LB042202   GM           ENCORE              COLLEGE PARK              GA
128949   KL4CJGSB5LB042264   GM           ENCORE              BOSTON                    MA
128950   KL4CJGSB5LB042359   GM           ENCORE              PENSACOLA                 FL
128951   KL4CJGSB5LB043351   GM           ENCORE              ORLANDO                   FL
128952   KL4CJGSB5LB043852   GM           ENCORE              NEWARK                    NJ
128953   KL4CJGSB5LB043866   GM           ENCORE              ORLANDO                   FL
128954   KL4CJGSB5LB044094   GM           ENCORE              ORLANDO                   FL
128955   KL4CJGSB5LB044175   GM           ENCORE              GRAND RAPIDS              MI
128956   KL4CJGSB5LB044189   GM           ENCORE              SAN FRANCISCO             CA
128957   KL4CJGSB5LB044273   GM           ENCORE              LOS ANGELES               CA
128958   KL4CJGSB5LB044323   GM           ENCORE              HOUSTON                   TX
128959   KL4CJGSB5LB044502   GM           ENCORE              Smithtown                 NY
128960   KL4CJGSB5LB044547   GM           ENCORE              PHOENIX                   AZ
128961   KL4CJGSB5LB044774   GM           ENCORE              Pompano Beach             FL
128962   KL4CJGSB5LB044788   GM           ENCORE              GRAND RAPIDS              MI
128963   KL4CJGSB5LB044824   GM           ENCORE              HARRISBURG                PA
128964   KL4CJGSB5LB044886   GM           ENCORE              LOS ANGELES               CA
128965   KL4CJGSB5LB044936   GM           ENCORE              LOS ANGELES AP            CA
128966   KL4CJGSB5LB045360   GM           ENCORE              SANTA CLARA               CA
128967   KL4CJGSB5LB045472   GM           ENCORE              SACRAMENTO                CA
128968   KL4CJGSB5LB045536   GM           ENCORE              Atlanta                   GA
128969   KL4CJGSB5LB045567   GM           ENCORE              CLARKSVILLE               IN
128970   KL4CJGSB5LB045634   GM           ENCORE              RALEIGH                   NC
128971   KL4CJGSB5LB046072   GM           ENCORE              RENO                      NV
128972   KL4CJGSB5LB046086   GM           ENCORE              Baltimore                 MD
128973   KL4CJGSB5LB046119   GM           ENCORE              SAINT PAUL                MN
128974   KL4CJGSB5LB046220   GM           ENCORE              Webster                   NY
128975   KL4CJGSB5LB046315   GM           ENCORE              WEST COLUMBIA             SC
128976   KL4CJGSB5LB046332   GM           ENCORE              CHARLESTON                WV
128977   KL4CJGSB5LB046864   GM           ENCORE              Atlanta                   GA
128978   KL4CJGSB5LB046878   GM           ENCORE              TUCSON                    AZ
128979   KL4CJGSB5LB047383   GM           ENCORE              ATLANTA                   GA
128980   KL4CJGSB5LB047562   GM           ENCORE              SAN DIEGO                 US
128981   KL4CJGSB5LB047593   GM           ENCORE              SAINT PAUL                MN
128982   KL4CJGSB5LB047738   GM           ENCORE              PITTSBURGH                PA
128983   KL4CJGSB5LB047870   GM           ENCORE              HOUSTON                   TX
128984   KL4CJGSB5LB048825   GM           ENCORE              GAINESVILLE               GA
128985   KL4CJGSB5LB049103   GM           ENCORE              Hartford                  CT
128986   KL4CJGSB5LB049182   GM           ENCORE              PENSACOLA                 FL
128987   KL4CJGSB5LB055354   GM           ENCORE              PHOENIX                   AZ
128988   KL4CJGSB5LB055404   GM           ENCORE              PHOENIX                   AZ
128989   KL4CJGSB5LB055662   GM           ENCORE              Denver                    CO
128990   KL4CJGSB5LB055936   GM           ENCORE              Florissant                MO
128991   KL4CJGSB5LB055998   GM           ENCORE              INDIANAPOLIS              IN
128992   KL4CJGSB5LB056133   GM           ENCORE              LAS VEGAS                 NV
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128993   KL4CJGSB5LB056195   GM           ENCORE              ONTARIO                   CA
128994   KL4CJGSB5LB056438   GM           ENCORE              SAN JOSE                  CA
128995   KL4CJGSB5LB056827   GM           ENCORE              DALLAS                    TX
128996   KL4CJGSB5LB057086   GM           ENCORE              PHOENIX                   AZ
128997   KL4CJGSB5LB057489   GM           ENCORE              JACKSONVILLE              FL
128998   KL4CJGSB5LB057556   GM           ENCORE              CHICAGO                   IL
128999   KL4CJGSB5LB057976   GM           ENCORE              SAN FRANCISCO             CA
129000   KL4CJGSB5LB058965   GM           ENCORE              TUCSON                    AZ
129001   KL4CJGSB5LB058996   GM           ENCORE              PHOENIX                   AZ
129002   KL4CJGSB5LB059324   GM           ENCORE              ST PETERS                 MO
129003   KL4CJGSB5LB059436   GM           ENCORE              PHOENIX                   AZ
129004   KL4CJGSB5LB059467   GM           ENCORE              Baltimore                 MD
129005   KL4CJGSB5LB060117   GM           ENCORE              NEW BERN                  NC
129006   KL4CJGSB5LB060179   GM           ENCORE              Florissant                MO
129007   KL4CJGSB5LB060182   GM           ENCORE              ST Paul                   MN
129008   KL4CJGSB5LB060201   GM           ENCORE              ORLANDO                   FL
129009   KL4CJGSB5LB060232   GM           ENCORE              TUCSON                    AZ
129010   KL4CJGSB5LB060280   GM           ENCORE              PHOENIX                   AZ
129011   KL4CJGSB5LB060439   GM           ENCORE              UNION CITY                GA
129012   KL4CJGSB5LB060571   GM           ENCORE              PHOENIX                   AZ
129013   KL4CJGSB5LB060599   GM           ENCORE              PHOENIX                   AZ
129014   KL4CJGSB5LB061140   GM           ENCORE              Kansas City               MO
129015   KL4CJGSB5LB061381   GM           ENCORE              UNION CITY                GA
129016   KL4CJGSB5LB061476   GM           ENCORE              PHOENIX                   AZ
129017   KL4CJGSB5LB061574   GM           ENCORE              LAS VEGAS                 NV
129018   KL4CJGSB5LB061834   GM           ENCORE              Florissant                MO
129019   KL4CJGSB5LB067312   GM           ENCORE              Massapequa                NY
129020   KL4CJGSB5LB067763   GM           ENCORE              ATLANTA                   GA
129021   KL4CJGSB5LB067956   GM           ENCORE              Florissant                MO
129022   KL4CJGSB5LB068976   GM           ENCORE              Hamilton                  OH
129023   KL4CJGSB6GB550278   GM           ENCORE              PHILADELPHIA              PA
129024   KL4CJGSB6GB592076   GM           ENCORE              GLEN BURNIE               MD
129025   KL4CJGSB6GB638070   GM           ENCORE              Elkridge                  MD
129026   KL4CJGSB6JB529552   GM           ENCORE              TRACY                     CA
129027   KL4CJGSB6JB534251   GM           ENCORE              Dallas                    TX
129028   KL4CJGSB6JB643535   GM           ENCORE              Winter Park               FL
129029   KL4CJGSB6JB688944   GM           ENCORE              DES PLAINES               US
129030   KL4CJGSB6LB033735   GM           ENCORE              PHOENIX                   AZ
129031   KL4CJGSB6LB033783   GM           ENCORE              Indianapolis              IN
129032   KL4CJGSB6LB033833   GM           ENCORE              PHOENIX                   AZ
129033   KL4CJGSB6LB034044   GM           ENCORE              TUCSON                    AZ
129034   KL4CJGSB6LB034075   GM           ENCORE              PHOENIX                   AZ
129035   KL4CJGSB6LB034478   GM           ENCORE              OMAHA                     NE
129036   KL4CJGSB6LB034500   GM           ENCORE              PHOENIX                   AZ
129037   KL4CJGSB6LB035016   GM           ENCORE              PHOENIX                   AZ
129038   KL4CJGSB6LB035047   GM           ENCORE              PASADENA                  MD
129039   KL4CJGSB6LB035498   GM           ENCORE              PHOENIX                   AZ
129040   KL4CJGSB6LB035663   GM           ENCORE              Saint Paul                MN
129041   KL4CJGSB6LB035811   GM           ENCORE              PHOENIX                   AZ
129042   KL4CJGSB6LB035825   GM           ENCORE              PHOENIX                   AZ
129043   KL4CJGSB6LB035923   GM           ENCORE              SEATAC                    WA
129044   KL4CJGSB6LB036053   GM           ENCORE              LOS ANGELES               CA
129045   KL4CJGSB6LB036179   GM           ENCORE              SAN ANTONIO               TX
129046   KL4CJGSB6LB036196   GM           ENCORE              PHOENIX                   AZ
129047   KL4CJGSB6LB036246   GM           ENCORE              FRESNO                    CA
129048   KL4CJGSB6LB036344   GM           ENCORE              TAMPA                     FL
129049   KL4CJGSB6LB037025   GM           ENCORE              MEDINA                    OH
129050   KL4CJGSB6LB037316   GM           ENCORE              WHITE PLAINS              NY
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129051   KL4CJGSB6LB037459   GM           ENCORE              SAN JOSE                  CA
129052   KL4CJGSB6LB037686   GM           ENCORE              Webster                   NY
129053   KL4CJGSB6LB037963   GM           ENCORE              SAN DIEGO                 CA
129054   KL4CJGSB6LB038157   GM           ENCORE              CHICAGO                   IL
129055   KL4CJGSB6LB038417   GM           ENCORE              Florissant                MO
129056   KL4CJGSB6LB038580   GM           ENCORE              NEW BERN                  NC
129057   KL4CJGSB6LB038708   GM           ENCORE              Baltimore                 MD
129058   KL4CJGSB6LB038742   GM           ENCORE              PHOENIX                   AZ
129059   KL4CJGSB6LB039146   GM           ENCORE              CHICAGO                   IL
129060   KL4CJGSB6LB040510   GM           ENCORE              ORLANDO                   FL
129061   KL4CJGSB6LB040829   GM           ENCORE              PHOENIX                   AZ
129062   KL4CJGSB6LB040958   GM           ENCORE              PHOENIX                   AZ
129063   KL4CJGSB6LB041060   GM           ENCORE              LOS ANGELES               CA
129064   KL4CJGSB6LB041429   GM           ENCORE              FORT MYERS                FL
129065   KL4CJGSB6LB041964   GM           ENCORE              Atlanta                   GA
129066   KL4CJGSB6LB042127   GM           ENCORE              Atlanta                   GA
129067   KL4CJGSB6LB042211   GM           ENCORE              COLLEGE PARK              GA
129068   KL4CJGSB6LB042502   GM           ENCORE              Atlanta                   GA
129069   KL4CJGSB6LB042600   GM           ENCORE              Atlanta                   GA
129070   KL4CJGSB6LB042676   GM           ENCORE              JACKSONVILLE              FL
129071   KL4CJGSB6LB043066   GM           ENCORE              ORLANDO                   FL
129072   KL4CJGSB6LB043407   GM           ENCORE              MIAMI                     FL
129073   KL4CJGSB6LB043519   GM           ENCORE              Atlanta                   GA
129074   KL4CJGSB6LB044153   GM           ENCORE              BOSTON                    MA
129075   KL4CJGSB6LB044220   GM           ENCORE              NEW YORK CITY             NY
129076   KL4CJGSB6LB044234   GM           ENCORE              DENVER                    CO
129077   KL4CJGSB6LB044301   GM           ENCORE              PHOENIX                   AZ
129078   KL4CJGSB6LB044430   GM           ENCORE              LOS ANGELES               CA
129079   KL4CJGSB6LB044508   GM           ENCORE              PALM SPRINGS              CA
129080   KL4CJGSB6LB044539   GM           ENCORE              ORANGE COUNTY             CA
129081   KL4CJGSB6LB044766   GM           ENCORE              NEWARK                    NJ
129082   KL4CJGSB6LB044816   GM           ENCORE              PHOENIX                   AZ
129083   KL4CJGSB6LB044850   GM           ENCORE              LOS ANGELES               CA
129084   KL4CJGSB6LB044864   GM           ENCORE              KANSAS CITY               MO
129085   KL4CJGSB6LB045058   GM           ENCORE              CHICAGO                   IL
129086   KL4CJGSB6LB045223   GM           ENCORE              ST Paul                   MN
129087   KL4CJGSB6LB045349   GM           ENCORE              Harvey                    LA
129088   KL4CJGSB6LB045545   GM           ENCORE              HARRISBURG                PA
129089   KL4CJGSB6LB045772   GM           ENCORE              DENVER                    CO
129090   KL4CJGSB6LB045867   GM           ENCORE              Des Plaines               IL
129091   KL4CJGSB6LB045917   GM           ENCORE              MILWAUKEE AIRPORT         WI
129092   KL4CJGSB6LB046291   GM           ENCORE              STERLING                  VA
129093   KL4CJGSB6LB046999   GM           ENCORE              HOUSTON                   TX
129094   KL4CJGSB6LB047246   GM           ENCORE              GRAND RAPIDS              MI
129095   KL4CJGSB6LB047568   GM           ENCORE              CHICAGO                   IL
129096   KL4CJGSB6LB047747   GM           ENCORE              SAN FRANCISCO             CA
129097   KL4CJGSB6LB047800   GM           ENCORE              DENVER                    CO
129098   KL4CJGSB6LB047926   GM           ENCORE              TUCSON                    AZ
129099   KL4CJGSB6LB047957   GM           ENCORE              SANTA ANA                 CA
129100   KL4CJGSB6LB048168   GM           ENCORE              MANCHESTER                US
129101   KL4CJGSB6LB048719   GM           ENCORE              SAINT LOUIS               MO
129102   KL4CJGSB6LB048736   GM           ENCORE              JACKSONVILLE              FL
129103   KL4CJGSB6LB048865   GM           ENCORE              CORPUS CHRISTI            TX
129104   KL4CJGSB6LB049255   GM           ENCORE              FALMOUTH                  MA
129105   KL4CJGSB6LB055640   GM           ENCORE              PHOENIX                   AZ
129106   KL4CJGSB6LB056304   GM           ENCORE              Baltimore                 MD
129107   KL4CJGSB6LB056433   GM           ENCORE              Indianapolis              IN
129108   KL4CJGSB6LB056867   GM           ENCORE              CHICAGO                   IL
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129109   KL4CJGSB6LB057078   GM           ENCORE              DENVER                    CO
129110   KL4CJGSB6LB057243   GM           ENCORE              PHOENIX                   AZ
129111   KL4CJGSB6LB058053   GM           ENCORE              SANTA ANA                 CA
129112   KL4CJGSB6LB058215   GM           ENCORE              GAYLORD                   MI
129113   KL4CJGSB6LB058263   GM           ENCORE              CLOVIS                    CA
129114   KL4CJGSB6LB058392   GM           ENCORE              INDIANAPOLIS              IN
129115   KL4CJGSB6LB058425   GM           ENCORE              TAMPA                     FL
129116   KL4CJGSB6LB058442   GM           ENCORE              NASHVILLE                 TN
129117   KL4CJGSB6LB058568   GM           ENCORE              PHOENIX                   AZ
129118   KL4CJGSB6LB058750   GM           ENCORE              ATLANTA AP                GA
129119   KL4CJGSB6LB058764   GM           ENCORE              KANSAS CITY               MO
129120   KL4CJGSB6LB058862   GM           ENCORE              NEW BERN                  NC
129121   KL4CJGSB6LB058893   GM           ENCORE              COLLEGE PARK              GA
129122   KL4CJGSB6LB059445   GM           ENCORE              PHOENIX                   AZ
129123   KL4CJGSB6LB059610   GM           ENCORE              PHOENIX                   AZ
129124   KL4CJGSB6LB060045   GM           ENCORE              PHOENIX                   AZ
129125   KL4CJGSB6LB060059   GM           ENCORE              DENVER                    CO
129126   KL4CJGSB6LB060188   GM           ENCORE              INDIANAPOLIS              IN
129127   KL4CJGSB6LB060272   GM           ENCORE              PHOENIX                   AZ
129128   KL4CJGSB6LB060322   GM           ENCORE              ORLANDO                   FL
129129   KL4CJGSB6LB060675   GM           ENCORE              SEATAC                    WA
129130   KL4CJGSB6LB060711   GM           ENCORE              WEST PALM BEACH           FL
129131   KL4CJGSB6LB060773   GM           ENCORE              PHOENIX                   AZ
129132   KL4CJGSB6LB060871   GM           ENCORE              SAINT PAUL                MN
129133   KL4CJGSB6LB061129   GM           ENCORE              Des Moines                IA
129134   KL4CJGSB6LB061454   GM           ENCORE              Chicago                   IL
129135   KL4CJGSB6LB061521   GM           ENCORE              SAINT PAUL                MN
129136   KL4CJGSB6LB062023   GM           ENCORE              PHOENIX                   AZ
129137   KL4CJGSB6LB067285   GM           ENCORE              PHOENIX                   AZ
129138   KL4CJGSB6LB067576   GM           ENCORE              CHARLOTTE                 NC
129139   KL4CJGSB6LB067786   GM           ENCORE              PHOENIX                   AZ
129140   KL4CJGSB6LB068811   GM           ENCORE              PHOENIX                   AZ
129141   KL4CJGSB6LB069649   GM           ENCORE              Atlanta                   GA
129142   KL4CJGSB7JB630910   GM           ENCORE              Coraopolis                PA
129143   KL4CJGSB7JB692632   GM           ENCORE              TAMPA                     FL
129144   KL4CJGSB7LB033873   GM           ENCORE              Hamilton                  OH
129145   KL4CJGSB7LB033954   GM           ENCORE              Albuquerque               NM
129146   KL4CJGSB7LB034344   GM           ENCORE              PHOENIX                   AZ
129147   KL4CJGSB7LB034411   GM           ENCORE              PHOENIX                   AZ
129148   KL4CJGSB7LB034439   GM           ENCORE              SAINT LOUIS               MO
129149   KL4CJGSB7LB034568   GM           ENCORE              PHOENIX                   AZ
129150   KL4CJGSB7LB034621   GM           ENCORE              CHICAGO                   IL
129151   KL4CJGSB7LB034876   GM           ENCORE              Teterboro                 NJ
129152   KL4CJGSB7LB035042   GM           ENCORE              PHOENIX                   AZ
129153   KL4CJGSB7LB035154   GM           ENCORE              SAN DIEGO                 CA
129154   KL4CJGSB7LB035283   GM           ENCORE              SAINT PAUL                MN
129155   KL4CJGSB7LB035414   GM           ENCORE              LOS ANGELES               CA
129156   KL4CJGSB7LB035476   GM           ENCORE              GRAND RAPIDS              MI
129157   KL4CJGSB7LB035526   GM           ENCORE              PHOENIX                   AZ
129158   KL4CJGSB7LB035753   GM           ENCORE              CHICAGO MIDWAY            IL
129159   KL4CJGSB7LB035820   GM           ENCORE              Saint Paul                MN
129160   KL4CJGSB7LB036014   GM           ENCORE              PHOENIX                   AZ
129161   KL4CJGSB7LB036210   GM           ENCORE              PHOENIX                   AZ
129162   KL4CJGSB7LB036711   GM           ENCORE              PALM SPRINGS              CA
129163   KL4CJGSB7LB037390   GM           ENCORE              NEWARK                    NJ
129164   KL4CJGSB7LB038121   GM           ENCORE              BOSTON                    MA
129165   KL4CJGSB7LB039107   GM           ENCORE              SACRAMENTO                CA
129166   KL4CJGSB7LB039608   GM           ENCORE              ORLANDO                   FL
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129167   KL4CJGSB7LB040676   GM           ENCORE              Atlanta                   GA
129168   KL4CJGSB7LB041018   GM           ENCORE              Atlanta                   GA
129169   KL4CJGSB7LB041682   GM           ENCORE              JACKSONVILLE              FL
129170   KL4CJGSB7LB041746   GM           ENCORE              ORLANDO                   FL
129171   KL4CJGSB7LB042024   GM           ENCORE              FORT LAUDERDALE           FL
129172   KL4CJGSB7LB042699   GM           ENCORE              ORLANDO                   FL
129173   KL4CJGSB7LB043027   GM           ENCORE              PHILADELPHIA              PA
129174   KL4CJGSB7LB043044   GM           ENCORE              TAMPA                     FL
129175   KL4CJGSB7LB043125   GM           ENCORE              MIAMI                     FL
129176   KL4CJGSB7LB043402   GM           ENCORE              TAMPA                     US
129177   KL4CJGSB7LB043514   GM           ENCORE              FORT MYERS                FL
129178   KL4CJGSB7LB043559   GM           ENCORE              UNION CITY                GA
129179   KL4CJGSB7LB043786   GM           ENCORE              WEST PALM BEACH           FL
129180   KL4CJGSB7LB044145   GM           ENCORE              Detroit                   MI
129181   KL4CJGSB7LB044159   GM           ENCORE              GRAND RAPIDS              MI
129182   KL4CJGSB7LB044226   GM           ENCORE              MILWAUKEE                 WI
129183   KL4CJGSB7LB044307   GM           ENCORE              PHOENIX                   AZ
129184   KL4CJGSB7LB044372   GM           ENCORE              LOS ANGELES               CA
129185   KL4CJGSB7LB044422   GM           ENCORE              PHOENIX                   AZ
129186   KL4CJGSB7LB044582   GM           ENCORE              SAN JOSE                  CA
129187   KL4CJGSB7LB044629   GM           ENCORE              NEW YORK CITY             NY
129188   KL4CJGSB7LB044680   GM           ENCORE              RICHMOND                  VA
129189   KL4CJGSB7LB044694   GM           ENCORE              BOSTON                    MA
129190   KL4CJGSB7LB044825   GM           ENCORE              Hebron                    KY
129191   KL4CJGSB7LB044856   GM           ENCORE              ORLANDO                   FL
129192   KL4CJGSB7LB044954   GM           ENCORE              PALM SPRINGS              CA
129193   KL4CJGSB7LB045263   GM           ENCORE              KNOXVILLE                 TN
129194   KL4CJGSB7LB045862   GM           ENCORE              Leesburg                  VA
129195   KL4CJGSB7LB046008   GM           ENCORE              Nashville                 TN
129196   KL4CJGSB7LB046252   GM           ENCORE              MELROSE PARK              IL
129197   KL4CJGSB7LB046347   GM           ENCORE              DENVER                    CO
129198   KL4CJGSB7LB046638   GM           ENCORE              PHILADELPHIA              PA
129199   KL4CJGSB7LB046767   GM           ENCORE              DES MOINES                IA
129200   KL4CJGSB7LB046901   GM           ENCORE              HOUSTON                   TX
129201   KL4CJGSB7LB047367   GM           ENCORE              WEST PALM BEACH           FL
129202   KL4CJGSB7LB047532   GM           ENCORE              Detroit                   MI
129203   KL4CJGSB7LB047675   GM           ENCORE              SAN JOSE                  CA
129204   KL4CJGSB7LB048468   GM           ENCORE              GRAND RAPIDS              MI
129205   KL4CJGSB7LB048633   GM           ENCORE              Las Vegas                 NV
129206   KL4CJGSB7LB048664   GM           ENCORE              BIRMINGHAM                AL
129207   KL4CJGSB7LB049202   GM           ENCORE              DES MOINES                IA
129208   KL4CJGSB7LB049278   GM           ENCORE              Des Moines                IA
129209   KL4CJGSB7LB055484   GM           ENCORE              NEW BERN                  NC
129210   KL4CJGSB7LB055954   GM           ENCORE              SAN JOSE                  CA
129211   KL4CJGSB7LB056148   GM           ENCORE              PHOENIX                   AZ
129212   KL4CJGSB7LB056246   GM           ENCORE              SAINT PAUL                MN
129213   KL4CJGSB7LB057199   GM           ENCORE              PHOENIX                   AZ
129214   KL4CJGSB7LB057218   GM           ENCORE              Des Moines                IA
129215   KL4CJGSB7LB057235   GM           ENCORE              ORLANDO                   FL
129216   KL4CJGSB7LB057428   GM           ENCORE              PHOENIX                   AZ
129217   KL4CJGSB7LB057462   GM           ENCORE              FORT MYERS                FL
129218   KL4CJGSB7LB057669   GM           ENCORE              PHOENIX                   AZ
129219   KL4CJGSB7LB057784   GM           ENCORE              ST PAUL                   MN
129220   KL4CJGSB7LB057834   GM           ENCORE              ONTARIO                   CA
129221   KL4CJGSB7LB057896   GM           ENCORE              Cincinnati                OH
129222   KL4CJGSB7LB057994   GM           ENCORE              LAS VEGAS                 NV
129223   KL4CJGSB7LB058689   GM           ENCORE              PHOENIX                   AZ
129224   KL4CJGSB7LB059101   GM           ENCORE              JACKSONVILLE              FL
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129225   KL4CJGSB7LB059129   GM           ENCORE              SAN ANTONIO               TX
129226   KL4CJGSB7LB059535   GM           ENCORE              LAS VEGAS                 NV
129227   KL4CJGSB7LB060281   GM           ENCORE              PHOENIX                   AZ
129228   KL4CJGSB7LB060300   GM           ENCORE              CHARLOTTE                 NC
129229   KL4CJGSB7LB060331   GM           ENCORE              ORLANDO                   FL
129230   KL4CJGSB7LB060362   GM           ENCORE              INDIANAPOLIS              IN
129231   KL4CJGSB7LB060524   GM           ENCORE              SEATAC                    WA
129232   KL4CJGSB7LB061057   GM           ENCORE              ORLANDO                   FL
129233   KL4CJGSB7LB061219   GM           ENCORE              CHICAGO                   IL
129234   KL4CJGSB7LB061639   GM           ENCORE              Miami                     FL
129235   KL4CJGSB7LB068414   GM           ENCORE              COLLEGE PARK              GA
129236   KL4CJGSB7LB070499   GM           ENCORE              ATLANTA                   GA
129237   KL4CJGSB8JB527169   GM           ENCORE              MARIETTA                  GA
129238   KL4CJGSB8JB647764   GM           ENCORE              Fredericksburg            VA
129239   KL4CJGSB8JB716419   GM           ENCORE              SAN DIEGO                 US
129240   KL4CJGSB8LB033770   GM           ENCORE              PHOENIX                   AZ
129241   KL4CJGSB8LB033798   GM           ENCORE              PHOENIX                   AZ
129242   KL4CJGSB8LB033865   GM           ENCORE              SAINT PAUL                MN
129243   KL4CJGSB8LB034000   GM           ENCORE              PHOENIX                   AZ
129244   KL4CJGSB8LB034109   GM           ENCORE              CHICAGO                   IL
129245   KL4CJGSB8LB034269   GM           ENCORE              PHOENIX                   AZ
129246   KL4CJGSB8LB034322   GM           ENCORE              PHOENIX                   AZ
129247   KL4CJGSB8LB034420   GM           ENCORE              PHOENIX                   AZ
129248   KL4CJGSB8LB034546   GM           ENCORE              SEATAC                    WA
129249   KL4CJGSB8LB034630   GM           ENCORE              Webster                   NY
129250   KL4CJGSB8LB034661   GM           ENCORE              PHOENIX                   AZ
129251   KL4CJGSB8LB034837   GM           ENCORE              SOUTH BEND                IN
129252   KL4CJGSB8LB034918   GM           ENCORE              PHOENIX                   AZ
129253   KL4CJGSB8LB035230   GM           ENCORE              SYRACUSE                  NY
129254   KL4CJGSB8LB035342   GM           ENCORE              SANTA ANA                 CA
129255   KL4CJGSB8LB035468   GM           ENCORE              Des Moines                IA
129256   KL4CJGSB8LB035471   GM           ENCORE              Atlanta                   GA
129257   KL4CJGSB8LB035566   GM           ENCORE              PHOENIX                   AZ
129258   KL4CJGSB8LB035731   GM           ENCORE              PHOENIX                   AZ
129259   KL4CJGSB8LB035809   GM           ENCORE              PHOENIX                   AZ
129260   KL4CJGSB8LB035972   GM           ENCORE              MILWAUKEE                 WI
129261   KL4CJGSB8LB036197   GM           ENCORE              Hebron                    KY
129262   KL4CJGSB8LB036247   GM           ENCORE              Dallas                    TX
129263   KL4CJGSB8LB036264   GM           ENCORE              MILWAUKEE                 WI
129264   KL4CJGSB8LB036586   GM           ENCORE              Detroit                   MI
129265   KL4CJGSB8LB037205   GM           ENCORE              Hamilton                  OH
129266   KL4CJGSB8LB037852   GM           ENCORE              SAINT LOUIS               MO
129267   KL4CJGSB8LB038354   GM           ENCORE              Atlanta                   GA
129268   KL4CJGSB8LB038659   GM           ENCORE              ONTARIO                   CA
129269   KL4CJGSB8LB039648   GM           ENCORE              BIRMINGHAM                AL
129270   KL4CJGSB8LB040766   GM           ENCORE              ORLANDO                   FL
129271   KL4CJGSB8LB041075   GM           ENCORE              Atlanta                   GA
129272   KL4CJGSB8LB041691   GM           ENCORE              MIAMI                     FL
129273   KL4CJGSB8LB041867   GM           ENCORE              NASHVILLE                 TN
129274   KL4CJGSB8LB042081   GM           ENCORE              ATLANTA                   GA
129275   KL4CJGSB8LB042405   GM           ENCORE              SYRACUSE                  NY
129276   KL4CJGSB8LB042677   GM           ENCORE              SPRINGFIELD               VA
129277   KL4CJGSB8LB042873   GM           ENCORE              Ft. Myers                 FL
129278   KL4CJGSB8LB043053   GM           ENCORE              STERLING                  VA
129279   KL4CJGSB8LB043506   GM           ENCORE              UNION CITY                GA
129280   KL4CJGSB8LB043585   GM           ENCORE              ORLANDO                   FL
129281   KL4CJGSB8LB043635   GM           ENCORE              SARASOTA                  FL
129282   KL4CJGSB8LB044042   GM           ENCORE              DECATUR                   GA
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129283   KL4CJGSB8LB044140   GM           ENCORE              GREENSBORO                NC
129284   KL4CJGSB8LB044302   GM           ENCORE              SAN DIEGO                 CA
129285   KL4CJGSB8LB044350   GM           ENCORE              SAN DIEGO                 CA
129286   KL4CJGSB8LB044395   GM           ENCORE              HANOVER                   MD
129287   KL4CJGSB8LB044445   GM           ENCORE              LAS VEGAS                 NV
129288   KL4CJGSB8LB044509   GM           ENCORE              ONTARIO                   CA
129289   KL4CJGSB8LB044560   GM           ENCORE              PHILADELPHIA              PA
129290   KL4CJGSB8LB044574   GM           ENCORE              NEWARK                    NJ
129291   KL4CJGSB8LB044686   GM           ENCORE              BOSTON                    MA
129292   KL4CJGSB8LB044803   GM           ENCORE              LAS VEGAS                 NV
129293   KL4CJGSB8LB044865   GM           ENCORE              RICHMOND                  VA
129294   KL4CJGSB8LB044901   GM           ENCORE              SAN DIEGO                 CA
129295   KL4CJGSB8LB044915   GM           ENCORE              Detroit                   MI
129296   KL4CJGSB8LB045725   GM           ENCORE              COLLEGE PARK              GA
129297   KL4CJGSB8LB045756   GM           ENCORE              DETROIT                   MI
129298   KL4CJGSB8LB045840   GM           ENCORE              INDIANAPOLIS              IN
129299   KL4CJGSB8LB046227   GM           ENCORE              Hartford                  CT
129300   KL4CJGSB8LB046325   GM           ENCORE              CHICAGO                   IL
129301   KL4CJGSB8LB047006   GM           ENCORE              SAINT PAUL                MN
129302   KL4CJGSB8LB047989   GM           ENCORE              Reno                      NV
129303   KL4CJGSB8LB048088   GM           ENCORE              SACRAMENTO                CA
129304   KL4CJGSB8LB048480   GM           ENCORE              Atlanta                   GA
129305   KL4CJGSB8LB048835   GM           ENCORE              NORFOLK                   VA
129306   KL4CJGSB8LB055347   GM           ENCORE              ONTARIO                   CA
129307   KL4CJGSB8LB055431   GM           ENCORE              PHILADELPHIA              PA
129308   KL4CJGSB8LB055929   GM           ENCORE              SAINT PAUL                MN
129309   KL4CJGSB8LB055963   GM           ENCORE              CHICAGO                   IL
129310   KL4CJGSB8LB056305   GM           ENCORE              PHOENIX                   AZ
129311   KL4CJGSB8LB056451   GM           ENCORE              SANTA ANA                 CA
129312   KL4CJGSB8LB056465   GM           ENCORE              PHOENIX                   AZ
129313   KL4CJGSB8LB056515   GM           ENCORE              PHOENIX                   AZ
129314   KL4CJGSB8LB056577   GM           ENCORE              SAN JOSE                  CA
129315   KL4CJGSB8LB056689   GM           ENCORE              Des Moines                IA
129316   KL4CJGSB8LB056708   GM           ENCORE              SAN FRANCISCO             CA
129317   KL4CJGSB8LB056952   GM           ENCORE              TUCSON                    AZ
129318   KL4CJGSB8LB057440   GM           ENCORE              ALBUQERQUE                NM
129319   KL4CJGSB8LB057664   GM           ENCORE              Albuquerque               NM
129320   KL4CJGSB8LB058216   GM           ENCORE              BIRMINGHAM                AL
129321   KL4CJGSB8LB058510   GM           ENCORE              GRAND RAPIDS              MI
129322   KL4CJGSB8LB059396   GM           ENCORE              LAS VEGAS                 NV
129323   KL4CJGSB8LB059947   GM           ENCORE              Omaha                     NE
129324   KL4CJGSB8LB059978   GM           ENCORE              LAS VEGAS                 NV
129325   KL4CJGSB8LB060077   GM           ENCORE              BURBANK                   CA
129326   KL4CJGSB8LB060211   GM           ENCORE              Florissant                MO
129327   KL4CJGSB8LB060273   GM           ENCORE              PHOENIX                   AZ
129328   KL4CJGSB8LB060290   GM           ENCORE              WEST COLUMBIA             SC
129329   KL4CJGSB8LB060323   GM           ENCORE              Memphis                   TN
129330   KL4CJGSB8LB060418   GM           ENCORE              PALM SPRINGS              CA
129331   KL4CJGSB8LB060483   GM           ENCORE              PENSACOLA                 FL
129332   KL4CJGSB8LB060838   GM           ENCORE              LAS VEGAS                 NV
129333   KL4CJGSB8LB060869   GM           ENCORE              Atlanta                   GA
129334   KL4CJGSB8LB061357   GM           ENCORE              MIDLAND                   TX
129335   KL4CJGSB8LB061388   GM           ENCORE              CHICAGO                   IL
129336   KL4CJGSB8LB061410   GM           ENCORE              PHOENIX                   AZ
129337   KL4CJGSB8LB061715   GM           ENCORE              FORT LAUDERDALE           FL
129338   KL4CJGSB8LB061813   GM           ENCORE              INDIANAPOLIS              IN
129339   KL4CJGSB8LB067949   GM           ENCORE              Atlanta                   GA
129340   KL4CJGSB8LB068941   GM           ENCORE              SAN JOSE                  CA
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129341   KL4CJGSB8LB069927   GM           ENCORE              KNOXVILLE                 TN
129342   KL4CJGSB8LB070303   GM           ENCORE              Atlanta                   GA
129343   KL4CJGSB8LB071046   GM           ENCORE              Hamilton                  OH
129344   KL4CJGSB8LB071385   GM           ENCORE              PHOENIX                   AZ
129345   KL4CJGSB9JB563579   GM           ENCORE              SYRACUSE                  NY
129346   KL4CJGSB9LB033888   GM           ENCORE              DETROIT                   MI
129347   KL4CJGSB9LB033891   GM           ENCORE              PHOENIX                   AZ
129348   KL4CJGSB9LB033969   GM           ENCORE              SAN JOSE                  CA
129349   KL4CJGSB9LB034099   GM           ENCORE              ST Paul                   MN
129350   KL4CJGSB9LB034149   GM           ENCORE              TUCSON                    AZ
129351   KL4CJGSB9LB034152   GM           ENCORE              Scottsdale                AZ
129352   KL4CJGSB9LB034216   GM           ENCORE              LOS ANGELES AP            CA
129353   KL4CJGSB9LB034393   GM           ENCORE              Coraopolis                PA
129354   KL4CJGSB9LB034524   GM           ENCORE              SAN DIEGO                 CA
129355   KL4CJGSB9LB034619   GM           ENCORE              SAN FRANCISCO             CA
129356   KL4CJGSB9LB034622   GM           ENCORE              PHOENIX                   AZ
129357   KL4CJGSB9LB034751   GM           ENCORE              TUCSON                    AZ
129358   KL4CJGSB9LB035043   GM           ENCORE              CHICAGO O'HARE AP         IL
129359   KL4CJGSB9LB035110   GM           ENCORE              PHOENIX                   AZ
129360   KL4CJGSB9LB035172   GM           ENCORE              Des Moines                IA
129361   KL4CJGSB9LB035978   GM           ENCORE              ST PAUL                   MN
129362   KL4CJGSB9LB036192   GM           ENCORE              ORLANDO                   FL
129363   KL4CJGSB9LB037035   GM           ENCORE              GRAND RAPIDS              MI
129364   KL4CJGSB9LB037102   GM           ENCORE              LAS VEGAS                 NV
129365   KL4CJGSB9LB037696   GM           ENCORE              CHARLOTTE                 NC
129366   KL4CJGSB9LB038055   GM           ENCORE              ORLANDO                   FL
129367   KL4CJGSB9LB039898   GM           ENCORE              KNOXVILLE                 TN
129368   KL4CJGSB9LB040310   GM           ENCORE              GRAND RAPIDS              MI
129369   KL4CJGSB9LB040629   GM           ENCORE              Tampa                     FL
129370   KL4CJGSB9LB040839   GM           ENCORE              ROANOKE                   VA
129371   KL4CJGSB9LB041392   GM           ENCORE              ORLANDO                   FL
129372   KL4CJGSB9LB041862   GM           ENCORE              COLUMBIA                  SC
129373   KL4CJGSB9LB041876   GM           ENCORE              MIAMI                     FL
129374   KL4CJGSB9LB042235   GM           ENCORE              HARTFORD                  CT
129375   KL4CJGSB9LB042333   GM           ENCORE              FORT MYERS                FL
129376   KL4CJGSB9LB042364   GM           ENCORE              BIRMINGHAM                AL
129377   KL4CJGSB9LB042980   GM           ENCORE              COLUMBIA                  SC
129378   KL4CJGSB9LB043398   GM           ENCORE              TUCSON                    AZ
129379   KL4CJGSB9LB043403   GM           ENCORE              DES MOINES                IA
129380   KL4CJGSB9LB043675   GM           ENCORE              BIRMINGHAM                AL
129381   KL4CJGSB9LB043854   GM           ENCORE              BULLHEAD CITY             AZ
129382   KL4CJGSB9LB044213   GM           ENCORE              PHOENIX                   AZ
129383   KL4CJGSB9LB044227   GM           ENCORE              DETROIT                   MI
129384   KL4CJGSB9LB044261   GM           ENCORE              LOS ANGELES               CA
129385   KL4CJGSB9LB044356   GM           ENCORE              Smithtown                 NY
129386   KL4CJGSB9LB044423   GM           ENCORE              SAINT PAUL                MN
129387   KL4CJGSB9LB044437   GM           ENCORE              Newark                    NJ
129388   KL4CJGSB9LB044597   GM           ENCORE              SANTA ANA                 CA
129389   KL4CJGSB9LB044650   GM           ENCORE              SANTA ANA                 CA
129390   KL4CJGSB9LB044664   GM           ENCORE              GRAND RAPIDS              MI
129391   KL4CJGSB9LB044700   GM           ENCORE              LOS ANGELES               CA
129392   KL4CJGSB9LB044731   GM           ENCORE              PHILADELPHIA              PA
129393   KL4CJGSB9LB044745   GM           ENCORE              HARRISBURG                PA
129394   KL4CJGSB9LB044759   GM           ENCORE              DES MOINES                IA
129395   KL4CJGSB9LB044857   GM           ENCORE              PHILADELPHIA              PA
129396   KL4CJGSB9LB044955   GM           ENCORE              SACRAMENTO                CA
129397   KL4CJGSB9LB045085   GM           ENCORE              Hanover                   MD
129398   KL4CJGSB9LB046012   GM           ENCORE              BOSTON                    MA
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129399   KL4CJGSB9LB046043   GM           ENCORE              PHOENIX                   AZ
129400   KL4CJGSB9LB046284   GM           ENCORE              DALLAS                    TX
129401   KL4CJGSB9LB046558   GM           ENCORE              PORTLAND                  OR
129402   KL4CJGSB9LB046608   GM           ENCORE              MIAMI                     FL
129403   KL4CJGSB9LB047127   GM           ENCORE              ORLANDO                   FL
129404   KL4CJGSB9LB047340   GM           ENCORE              CANTON                    T
129405   KL4CJGSB9LB048231   GM           ENCORE              MEMPHIS                   TN
129406   KL4CJGSB9LB048391   GM           ENCORE              NEW BERN                  NC
129407   KL4CJGSB9LB048567   GM           ENCORE              JACKSONVILLE              FL
129408   KL4CJGSB9LB048701   GM           ENCORE              CHARLOTTE                 NC
129409   KL4CJGSB9LB048729   GM           ENCORE              MEDINA                    OH
129410   KL4CJGSB9LB049007   GM           ENCORE              Obetz                     OH
129411   KL4CJGSB9LB055535   GM           ENCORE              FRESNO                    CA
129412   KL4CJGSB9LB055793   GM           ENCORE              SAN DIEGO                 CA
129413   KL4CJGSB9LB055843   GM           ENCORE              BLOOMINGTON               IL
129414   KL4CJGSB9LB056166   GM           ENCORE              PHOENIX                   AZ
129415   KL4CJGSB9LB056653   GM           ENCORE              FRESNO                    CA
129416   KL4CJGSB9LB057768   GM           ENCORE              CHICAGO                   IL
129417   KL4CJGSB9LB057818   GM           ENCORE              PHOENIX                   AZ
129418   KL4CJGSB9LB058631   GM           ENCORE              Indianapolis              IN
129419   KL4CJGSB9LB058709   GM           ENCORE              PHOENIX                   AZ
129420   KL4CJGSB9LB058967   GM           ENCORE              GRAND RAPIDS              MI
129421   KL4CJGSB9LB059018   GM           ENCORE              HARRISBURG                PA
129422   KL4CJGSB9LB059875   GM           ENCORE              PHOENIX                   AZ
129423   KL4CJGSB9LB060170   GM           ENCORE              PHOENIX                   AZ
129424   KL4CJGSB9LB060332   GM           ENCORE              WEST PALM BEACH           FL
129425   KL4CJGSB9LB060363   GM           ENCORE              ORLANDO                   FL
129426   KL4CJGSB9LB060816   GM           ENCORE              SAINT PAUL                MN
129427   KL4CJGSB9LB061237   GM           ENCORE              PHOENIX                   AZ
129428   KL4CJGSB9LB061660   GM           ENCORE              PHOENIX                   AZ
129429   KL4CJGSB9LB061934   GM           ENCORE              MILWAUKEE                 WI
129430   KL4CJGSB9LB067295   GM           ENCORE              WEST PALM BEACH           FL
129431   KL4CJGSB9LB068043   GM           ENCORE              Leesburg                  VA
129432   KL4CJGSB9LB068222   GM           ENCORE              CHARLESTON                WV
129433   KL4CJGSB9LB068754   GM           ENCORE              DENVER                    CO
129434   KL4CJGSBXGB620963   GM           ENCORE              PHILADELPHIA              PA
129435   KL4CJGSBXJB628424   GM           ENCORE              Richmond                  VA
129436   KL4CJGSBXJB629735   GM           ENCORE              Ocoee                     FL
129437   KL4CJGSBXJB643585   GM           ENCORE              SHAKOPEE                  MN
129438   KL4CJGSBXLB033902   GM           ENCORE              SAINT PAUL                MN
129439   KL4CJGSBXLB034063   GM           ENCORE              PHOENIX                   AZ
129440   KL4CJGSBXLB034242   GM           ENCORE              CHICAGO                   IL
129441   KL4CJGSBXLB034418   GM           ENCORE              SARASOTA                  FL
129442   KL4CJGSBXLB034497   GM           ENCORE              DALLAS                    TX
129443   KL4CJGSBXLB035200   GM           ENCORE              SAINT PAUL                MN
129444   KL4CJGSBXLB035407   GM           ENCORE              PALM SPRINGS              CA
129445   KL4CJGSBXLB035441   GM           ENCORE              KANSAS CITY               MO
129446   KL4CJGSBXLB035553   GM           ENCORE              DENVER                    CO
129447   KL4CJGSBXLB035620   GM           ENCORE              FAIRFIELD                 CA
129448   KL4CJGSBXLB035715   GM           ENCORE              Phoenix                   AZ
129449   KL4CJGSBXLB036265   GM           ENCORE              PHOENIX                   AZ
129450   KL4CJGSBXLB036492   GM           ENCORE              SACRAMENTO                CA
129451   KL4CJGSBXLB036587   GM           ENCORE              ALBANY                    NY
129452   KL4CJGSBXLB036721   GM           ENCORE              OAKLAND                   CA
129453   KL4CJGSBXLB037156   GM           ENCORE              SANTA ANA                 CA
129454   KL4CJGSBXLB037206   GM           ENCORE              SAN DIEGO                 CA
129455   KL4CJGSBXLB037223   GM           ENCORE              WEST COLUMBIA             SC
129456   KL4CJGSBXLB038047   GM           ENCORE              WHITE PLAINS              NY
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129457   KL4CJGSBXLB038176   GM           ENCORE              Webster                   NY
129458   KL4CJGSBXLB038291   GM           ENCORE              SAN FRANCISCO             CA
129459   KL4CJGSBXLB038355   GM           ENCORE              WARWICK                   RI
129460   KL4CJGSBXLB038596   GM           ENCORE              SACRAMENTO                CA
129461   KL4CJGSBXLB040669   GM           ENCORE              ORLANDO                   FL
129462   KL4CJGSBXLB040686   GM           ENCORE              Florissant                MO
129463   KL4CJGSBXLB040851   GM           ENCORE              MIAMI                     FL
129464   KL4CJGSBXLB040879   GM           ENCORE              MYRTLE BEACH              SC
129465   KL4CJGSBXLB040929   GM           ENCORE              ATLANTA                   GA
129466   KL4CJGSBXLB041367   GM           ENCORE              MIAMI                     FL
129467   KL4CJGSBXLB041434   GM           ENCORE              JACKSONVILLE              FL
129468   KL4CJGSBXLB041479   GM           ENCORE              Hendersonville            TN
129469   KL4CJGSBXLB041613   GM           ENCORE              JACKSON                   MS
129470   KL4CJGSBXLB042244   GM           ENCORE              ORLANDO                   FL
129471   KL4CJGSBXLB042390   GM           ENCORE              CHARLOTTE                 NC
129472   KL4CJGSBXLB042535   GM           ENCORE              TAMPA                     FL
129473   KL4CJGSBXLB042650   GM           ENCORE              ORLANDO                   FL
129474   KL4CJGSBXLB043281   GM           ENCORE              FORT MYERS                FL
129475   KL4CJGSBXLB043393   GM           ENCORE              COLLEGE PARK              GA
129476   KL4CJGSBXLB043555   GM           ENCORE              TAMPA                     FL
129477   KL4CJGSBXLB044253   GM           ENCORE              DETROIT                   MI
129478   KL4CJGSBXLB044365   GM           ENCORE              LOS ANGELES               CA
129479   KL4CJGSBXLB044379   GM           ENCORE              LOS ANGELES               CA
129480   KL4CJGSBXLB044530   GM           ENCORE              LOS ANGELES               CA
129481   KL4CJGSBXLB044561   GM           ENCORE              TUCSON                    AZ
129482   KL4CJGSBXLB044589   GM           ENCORE              BOSTON                    MA
129483   KL4CJGSBXLB044687   GM           ENCORE              PALM SPRINGS              CA
129484   KL4CJGSBXLB044723   GM           ENCORE              LOS ANGELES               CA
129485   KL4CJGSBXLB044740   GM           ENCORE              PHOENIX                   AZ
129486   KL4CJGSBXLB044947   GM           ENCORE              ORLANDO                   FL
129487   KL4CJGSBXLB045368   GM           ENCORE              LAS VEGAS                 NV
129488   KL4CJGSBXLB045435   GM           ENCORE              PHOENIX                   AZ
129489   KL4CJGSBXLB045600   GM           ENCORE              PHILADELPHIA              PA
129490   KL4CJGSBXLB045614   GM           ENCORE              RICHMOND                  VA
129491   KL4CJGSBXLB045998   GM           ENCORE              Memphis                   TN
129492   KL4CJGSBXLB046035   GM           ENCORE              KENNER                    LA
129493   KL4CJGSBXLB046052   GM           ENCORE              CHICAGO                   IL
129494   KL4CJGSBXLB046780   GM           ENCORE              EL PASO                   TX
129495   KL4CJGSBXLB047508   GM           ENCORE              OMAHA                     NE
129496   KL4CJGSBXLB047525   GM           ENCORE              RALEIGH                   NC
129497   KL4CJGSBXLB047637   GM           ENCORE              Nashville                 TN
129498   KL4CJGSBXLB047640   GM           ENCORE              NASHVILLE                 TN
129499   KL4CJGSBXLB047833   GM           ENCORE              SAN DIEGO                 CA
129500   KL4CJGSBXLB048108   GM           ENCORE              PHOENIX                   AZ
129501   KL4CJGSBXLB048190   GM           ENCORE              Austell                   GA
129502   KL4CJGSBXLB055656   GM           ENCORE              TUCSON                    AZ
129503   KL4CJGSBXLB055947   GM           ENCORE              SAINT PAUL                MN
129504   KL4CJGSBXLB056158   GM           ENCORE              LAS VEGAS                 NV
129505   KL4CJGSBXLB056287   GM           ENCORE              PHOENIX                   AZ
129506   KL4CJGSBXLB056354   GM           ENCORE              LOS ANGELES               CA
129507   KL4CJGSBXLB056628   GM           ENCORE              KANSAS CITY               MO
129508   KL4CJGSBXLB056919   GM           ENCORE              PHOENIX                   AZ
129509   KL4CJGSBXLB056922   GM           ENCORE              JACKSONVILLE              FL
129510   KL4CJGSBXLB057407   GM           ENCORE              Detroit                   MI
129511   KL4CJGSBXLB057584   GM           ENCORE              FAYETTEVILLE              GA
129512   KL4CJGSBXLB057634   GM           ENCORE              DETROIT                   MI
129513   KL4CJGSBXLB057696   GM           ENCORE              PHOENIX                   AZ
129514   KL4CJGSBXLB057746   GM           ENCORE              SAINT PAUL                MN
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129515   KL4CJGSBXLB057777   GM           ENCORE              BLOOMINGTON               IL
129516   KL4CJGSBXLB058007   GM           ENCORE              PALM SPRINGS              CA
129517   KL4CJGSBXLB058055   GM           ENCORE              SAN DIEGO                 CA
129518   KL4CJGSBXLB058864   GM           ENCORE              FRESNO                    CA
129519   KL4CJGSBXLB058895   GM           ENCORE              Atlanta                   GA
129520   KL4CJGSBXLB059111   GM           ENCORE              TUCSON                    AZ
129521   KL4CJGSBXLB059190   GM           ENCORE              PHOENIX                   AZ
129522   KL4CJGSBXLB059383   GM           ENCORE              Nashville                 TN
129523   KL4CJGSBXLB059576   GM           ENCORE              FORT MYERS                FL
129524   KL4CJGSBXLB059917   GM           ENCORE              FORT LAUDERDALE           FL
129525   KL4CJGSBXLB060016   GM           ENCORE              Des Moines                IA
129526   KL4CJGSBXLB060131   GM           ENCORE              SAINT PAUL                MN
129527   KL4CJGSBXLB060291   GM           ENCORE              PANAMA CITY               FL
129528   KL4CJGSBXLB060324   GM           ENCORE              ORLANDO                   FL
129529   KL4CJGSBXLB061151   GM           ENCORE              SAINT PAUL                MN
129530   KL4CJGSBXLB061229   GM           ENCORE              PHOENIX                   AZ
129531   KL4CJGSBXLB061327   GM           ENCORE              PHOENIX                   AZ
129532   KL4CJGSBXLB061585   GM           ENCORE              TAMPA                     FL
129533   KL4CJGSBXLB061702   GM           ENCORE              TUCSON                    AZ
129534   KL4CJGSBXLB061957   GM           ENCORE              PHOENIX                   AZ
129535   KL4CJGSBXLB068195   GM           ENCORE              Atlanta                   GA
129536   KL4CJGSBXLB069167   GM           ENCORE              JACKSONVILLE              FL
129537   KL4CJGSBXLB069962   GM           ENCORE              PORTLAND                  OR
129538   KL4CJGSBXLB070223   GM           ENCORE              Atlanta                   GA
129539   KL4CJGSBXLB071100   GM           ENCORE              Atlanta                   GA
129540   KL4CJGSM0KB759915   GM           ENCORE              TAMPA                     FL
129541   KL4CJGSM0KB760675   GM           ENCORE              RALIEGH                   NC
129542   KL4CJGSM0KB761356   GM           ENCORE              NEW BERN                  NC
129543   KL4CJGSM0KB765147   GM           ENCORE              NASHVILLE                 TN
129544   KL4CJGSM0KB766833   GM           ENCORE              UNION CITY                GA
129545   KL4CJGSM0KB767397   GM           ENCORE              San Antonio               TX
129546   KL4CJGSM0KB767688   GM           ENCORE              HEBRON                    KY
129547   KL4CJGSM0KB768596   GM           ENCORE              MILWAUKEE                 WI
129548   KL4CJGSM0KB769182   GM           ENCORE              LOUISVILLE                KY
129549   KL4CJGSM0KB770459   GM           ENCORE              DES PLAINES               US
129550   KL4CJGSM0KB770512   GM           ENCORE              PITTSBURGH                PA
129551   KL4CJGSM0KB771207   GM           ENCORE              DETROIT                   MI
129552   KL4CJGSM0KB773216   GM           ENCORE              PHILADELPHIA              PA
129553   KL4CJGSM0KB773801   GM           ENCORE              NEWTOWN SQUARE            PA
129554   KL4CJGSM0KB783342   GM           ENCORE              PALM SPRINGS              CA
129555   KL4CJGSM0KB784555   GM           ENCORE              FORT LAUDERDALE           FL
129556   KL4CJGSM0KB791764   GM           ENCORE              LOS ANGELES               CA
129557   KL4CJGSM0KB793143   GM           ENCORE              CHICAGO                   IL
129558   KL4CJGSM0KB793336   GM           ENCORE              INGLEWOOD                 CA
129559   KL4CJGSM0KB793966   GM           ENCORE              SANTA ANA                 CA
129560   KL4CJGSM0KB838081   GM           ENCORE              MIAMI                     FL
129561   KL4CJGSM0KB839781   GM           ENCORE              SARASOTA                  FL
129562   KL4CJGSM0KB846150   GM           ENCORE              Portland                  OR
129563   KL4CJGSM0KB846696   GM           ENCORE              SALT LAKE CITY            US
129564   KL4CJGSM0KB848237   GM           ENCORE              KNOXVILLE                 TN
129565   KL4CJGSM0KB849579   GM           ENCORE              BIRMINGHAM                AL
129566   KL4CJGSM0KB871176   GM           ENCORE              Kansas City               MO
129567   KL4CJGSM0KB874806   GM           ENCORE              BIRMINGHAM                AL
129568   KL4CJGSM0KB888477   GM           ENCORE              Kansas City               MO
129569   KL4CJGSM1KB760510   GM           ENCORE              ORLANDO                   FL
129570   KL4CJGSM1KB760829   GM           ENCORE              RALIEGH                   NC
129571   KL4CJGSM1KB762970   GM           ENCORE              PITTSBURGH                PA
129572   KL4CJGSM1KB765528   GM           ENCORE              WEST PALM BEACH           FL
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129573   KL4CJGSM1KB765609   GM           ENCORE              Hebron                    KY
129574   KL4CJGSM1KB766601   GM           ENCORE              WEST PALM BEACH           FL
129575   KL4CJGSM1KB767201   GM           ENCORE              FORT LAUDERDALE           FL
129576   KL4CJGSM1KB767294   GM           ENCORE              Hapeville                 GA
129577   KL4CJGSM1KB768235   GM           ENCORE              SALT LAKE CITY            US
129578   KL4CJGSM1KB768283   GM           ENCORE              TAMPA                     FL
129579   KL4CJGSM1KB772706   GM           ENCORE              SARASOTA                  FL
129580   KL4CJGSM1KB773743   GM           ENCORE              WEST PALM BEACH           FL
129581   KL4CJGSM1KB775136   GM           ENCORE              WEST PALM BEACH           FL
129582   KL4CJGSM1KB792695   GM           ENCORE              LOS ANGELES               CA
129583   KL4CJGSM1KB793863   GM           ENCORE              LOS ANGELES               CA
129584   KL4CJGSM1KB834556   GM           ENCORE              Atlanta                   GA
129585   KL4CJGSM1KB834797   GM           ENCORE              Cincinnati                OH
129586   KL4CJGSM1KB838784   GM           ENCORE              PHOENIX                   AZ
129587   KL4CJGSM1KB839577   GM           ENCORE              ORLANDO                   FL
129588   KL4CJGSM1KB840163   GM           ENCORE              FORT MYERS                FL
129589   KL4CJGSM1KB840714   GM           ENCORE              Euless                    TX
129590   KL4CJGSM1KB850322   GM           ENCORE              MORROW                    GA
129591   KL4CJGSM1KB872448   GM           ENCORE              DANIA BEACH               FL
129592   KL4CJGSM1KB897110   GM           ENCORE              Dallas                    TX
129593   KL4CJGSM2KB762220   GM           ENCORE              STERLING                  VA
129594   KL4CJGSM2KB764534   GM           ENCORE              ALBANY                    GA
129595   KL4CJGSM2KB765876   GM           ENCORE              DETROIT                   MI
129596   KL4CJGSM2KB767501   GM           ENCORE              Manheim                   PA
129597   KL4CJGSM2KB767546   GM           ENCORE              SAINT PAUL                MN
129598   KL4CJGSM2KB768289   GM           ENCORE              PITTSBURGH                PA
129599   KL4CJGSM2KB769359   GM           ENCORE              KNOXVILLE                 TN
129600   KL4CJGSM2KB769460   GM           ENCORE              MIAMI                     FL
129601   KL4CJGSM2KB770091   GM           ENCORE              CHICAGO                   IL
129602   KL4CJGSM2KB770494   GM           ENCORE              EL PASO                   TX
129603   KL4CJGSM2KB771855   GM           ENCORE              NEW BERN                  NC
129604   KL4CJGSM2KB789529   GM           ENCORE              Des Plaines               IL
129605   KL4CJGSM2KB789546   GM           ENCORE              OAKLAND                   CA
129606   KL4CJGSM2KB791460   GM           ENCORE              SALT LAKE CITY            UT
129607   KL4CJGSM2KB791815   GM           ENCORE              PHOENIX                   AZ
129608   KL4CJGSM2KB796979   GM           ENCORE              ORANGE COUNTY             CA
129609   KL4CJGSM2KB836090   GM           ENCORE              DES MOINES                IA
129610   KL4CJGSM2KB838728   GM           ENCORE              Rockville Centr           NY
129611   KL4CJGSM2KB839720   GM           ENCORE              JACKSON                   MS
129612   KL4CJGSM2KB910737   GM           ENCORE              Florissant                MO
129613   KL4CJGSM3KB760539   GM           ENCORE              PALM SPRINGS              CA
129614   KL4CJGSM3KB763862   GM           ENCORE              DETROIT                   MI
129615   KL4CJGSM3KB765059   GM           ENCORE              ROANOKE                   VA
129616   KL4CJGSM3KB765871   GM           ENCORE              BIRMINGHAM                AL
129617   KL4CJGSM3KB766065   GM           ENCORE              NEW BERN                  NC
129618   KL4CJGSM3KB766471   GM           ENCORE              GREENSBORO                NC
129619   KL4CJGSM3KB766809   GM           ENCORE              MORROW                    GA
129620   KL4CJGSM3KB767264   GM           ENCORE              KNOXVILLE                 TN
129621   KL4CJGSM3KB767572   GM           ENCORE              TAMPA                     FL
129622   KL4CJGSM3KB768768   GM           ENCORE              DETROIT                   MI
129623   KL4CJGSM3KB768950   GM           ENCORE              Atlanta                   GA
129624   KL4CJGSM3KB769242   GM           ENCORE              SARASOTA                  FL
129625   KL4CJGSM3KB770200   GM           ENCORE              BOSTON                    MA
129626   KL4CJGSM3KB770469   GM           ENCORE              STERLING                  VA
129627   KL4CJGSM3KB772657   GM           ENCORE              Atlanta                   GA
129628   KL4CJGSM3KB773811   GM           ENCORE              Hebron                    KY
129629   KL4CJGSM3KB775459   GM           ENCORE              FORT MYERS                FL
129630   KL4CJGSM3KB782654   GM           ENCORE              ORLANDO                   FL
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129631   KL4CJGSM3KB787353   GM           ENCORE              Stone Mountain            GA
129632   KL4CJGSM3KB789393   GM           ENCORE              ORLANDO                   FL
129633   KL4CJGSM3KB790592   GM           ENCORE              TAMPA                     FL
129634   KL4CJGSM3KB791841   GM           ENCORE              Detroit                   MI
129635   KL4CJGSM3KB793217   GM           ENCORE              ORANGE COUNTY             CA
129636   KL4CJGSM3KB794688   GM           ENCORE              LAS VEGAS                 NV
129637   KL4CJGSM3KB795128   GM           ENCORE              LOS ANGELES               CA
129638   KL4CJGSM3KB795890   GM           ENCORE              LOS ANGELES               CA
129639   KL4CJGSM3KB836034   GM           ENCORE              SARASOTA                  FL
129640   KL4CJGSM3KB836129   GM           ENCORE              MIAMI                     FL
129641   KL4CJGSM3KB837765   GM           ENCORE              Tulsa                     OK
129642   KL4CJGSM3KB838964   GM           ENCORE              FORT MYERS                FL
129643   KL4CJGSM3KB847180   GM           ENCORE              TAMPA                     FL
129644   KL4CJGSM3KB847499   GM           ENCORE              FORT MYERS                FL
129645   KL4CJGSM3KB848460   GM           ENCORE              ATLANTA                   GA
129646   KL4CJGSM3KB869843   GM           ENCORE              MIAMI                     FL
129647   KL4CJGSM3KB874248   GM           ENCORE              Houston                   TX
129648   KL4CJGSM4KB761103   GM           ENCORE              CATONSVILLE               MD
129649   KL4CJGSM4KB762090   GM           ENCORE              PHILADELPHIA              PA
129650   KL4CJGSM4KB762350   GM           ENCORE              SAVANNAH                  GA
129651   KL4CJGSM4KB763126   GM           ENCORE              Statesville               NC
129652   KL4CJGSM4KB763367   GM           ENCORE              WEST PALM BEACH           FL
129653   KL4CJGSM4KB763871   GM           ENCORE              Woodhaven                 MI
129654   KL4CJGSM4KB767662   GM           ENCORE              ORLANDO                   FL
129655   KL4CJGSM4KB768021   GM           ENCORE              ORLANDO                   FL
129656   KL4CJGSM4KB768066   GM           ENCORE              ATLANTA                   GA
129657   KL4CJGSM4KB768309   GM           ENCORE              BIRMINGHAM                AL
129658   KL4CJGSM4KB768486   GM           ENCORE              ORLANDO                   FL
129659   KL4CJGSM4KB768505   GM           ENCORE              TAMPA                     FL
129660   KL4CJGSM4KB769315   GM           ENCORE              RALEIGH                   NC
129661   KL4CJGSM4KB769606   GM           ENCORE              SAINT LOUIS               MO
129662   KL4CJGSM4KB770111   GM           ENCORE              FORT MYERS                FL
129663   KL4CJGSM4KB770223   GM           ENCORE              PITTSBURGH                PA
129664   KL4CJGSM4KB770335   GM           ENCORE              COLLEGE PARK              GA
129665   KL4CJGSM4KB771307   GM           ENCORE              ROANOKE                   VA
129666   KL4CJGSM4KB773834   GM           ENCORE              TAMPA                     FL
129667   KL4CJGSM4KB773946   GM           ENCORE              CHARLOTTE                 NC
129668   KL4CJGSM4KB775910   GM           ENCORE              DETROIT                   MI
129669   KL4CJGSM4KB789192   GM           ENCORE              LOS ANGELES               CA
129670   KL4CJGSM4KB790178   GM           ENCORE              Detroit                   MI
129671   KL4CJGSM4KB791248   GM           ENCORE              DALLAS                    TX
129672   KL4CJGSM4KB834356   GM           ENCORE              LOUISVILLE                KY
129673   KL4CJGSM4KB839542   GM           ENCORE              MIDWAY                    FL
129674   KL4CJGSM4KB846331   GM           ENCORE              ORLANDO                   FL
129675   KL4CJGSM4KB870807   GM           ENCORE              Dallas                    TX
129676   KL4CJGSM4KB912554   GM           ENCORE              SALT LAKE CITY            US
129677   KL4CJGSM5KB759781   GM           ENCORE              Detroit                   MI
129678   KL4CJGSM5KB762020   GM           ENCORE              BLOOMINGTON               IL
129679   KL4CJGSM5KB763135   GM           ENCORE              PHILADELPHIA              PA
129680   KL4CJGSM5KB764821   GM           ENCORE              LOS ANGELES               CA
129681   KL4CJGSM5KB764852   GM           ENCORE              ORLANDO                   FL
129682   KL4CJGSM5KB765712   GM           ENCORE              BOSTON                    MA
129683   KL4CJGSM5KB766746   GM           ENCORE              MILWAUKEE                 WI
129684   KL4CJGSM5KB766858   GM           ENCORE              LOUISVILLE                KY
129685   KL4CJGSM5KB766892   GM           ENCORE              JACKSONVILLE              FL
129686   KL4CJGSM5KB767721   GM           ENCORE              GREENSBORO                NC
129687   KL4CJGSM5KB769288   GM           ENCORE              FORT MYERS                FL
129688   KL4CJGSM5KB769677   GM           ENCORE              KENNER                    LA
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129689   KL4CJGSM5KB770649   GM           ENCORE              ALLENTOWN, SCRANTON       PA
129690   KL4CJGSM5KB771297   GM           ENCORE              SARASOTA                  FL
129691   KL4CJGSM5KB771588   GM           ENCORE              PITTSBURGH                PA
129692   KL4CJGSM5KB772630   GM           ENCORE              BOSTON                    MA
129693   KL4CJGSM5KB772871   GM           ENCORE              COLUMBIA                  SC
129694   KL4CJGSM5KB775320   GM           ENCORE              NORFOLK                   VA
129695   KL4CJGSM5KB785894   GM           ENCORE              SALT LAKE CITY            US
129696   KL4CJGSM5KB786205   GM           ENCORE              INDIANAPOLIS              IN
129697   KL4CJGSM5KB794921   GM           ENCORE              LOS ANGELES               CA
129698   KL4CJGSM5KB795146   GM           ENCORE              SAN FRANCISCO             CA
129699   KL4CJGSM5KB837010   GM           ENCORE              MIAMI                     FL
129700   KL4CJGSM5KB838142   GM           ENCORE              KNOXVILLE                 TN
129701   KL4CJGSM5KB838982   GM           ENCORE              KENNER                    LA
129702   KL4CJGSM5KB840408   GM           ENCORE              TAMPA                     FL
129703   KL4CJGSM5KB845513   GM           ENCORE              Austin                    TX
129704   KL4CJGSM5KB846497   GM           ENCORE              Cincinnati                OH
129705   KL4CJGSM5KB887633   GM           ENCORE              DALLAS                    TX
129706   KL4CJGSM5KB888569   GM           ENCORE              Dallas                    TX
129707   KL4CJGSM5KB893433   GM           ENCORE              Dallas                    TX
129708   KL4CJGSM6KB762754   GM           ENCORE              MIAMI                     FL
129709   KL4CJGSM6KB762852   GM           ENCORE              STERLING                  VA
129710   KL4CJGSM6KB763290   GM           ENCORE              CHICAGO                   IL
129711   KL4CJGSM6KB763774   GM           ENCORE              GRAND RAPIDS              MI
129712   KL4CJGSM6KB765105   GM           ENCORE              STATESBORO                GA
129713   KL4CJGSM6KB765816   GM           ENCORE              SAN DIEGO                 CA
129714   KL4CJGSM6KB766951   GM           ENCORE              WEST PALM BEACH           FL
129715   KL4CJGSM6KB767436   GM           ENCORE              UNION CITY                GA
129716   KL4CJGSM6KB767713   GM           ENCORE              Salt Lake City            UT
129717   KL4CJGSM6KB768490   GM           ENCORE              ORLANDO                   FL
129718   KL4CJGSM6KB768778   GM           ENCORE              PITTSBURGH                PA
129719   KL4CJGSM6KB770434   GM           ENCORE              TAMPA                     FL
129720   KL4CJGSM6KB770952   GM           ENCORE              Warminster                PA
129721   KL4CJGSM6KB771342   GM           ENCORE              DENVER                    CO
129722   KL4CJGSM6KB789677   GM           ENCORE              LAS VEGAS                 NV
129723   KL4CJGSM6KB790456   GM           ENCORE              Kansas City               MO
129724   KL4CJGSM6KB792871   GM           ENCORE              SALT LAKE CITY            US
129725   KL4CJGSM6KB792997   GM           ENCORE              LOS ANGELES AP            CA
129726   KL4CJGSM6KB795138   GM           ENCORE              Portland                  OR
129727   KL4CJGSM6KB796726   GM           ENCORE              SAN DIEGO                 CA
129728   KL4CJGSM6KB796774   GM           ENCORE              SAN JOSE                  CA
129729   KL4CJGSM6KB835962   GM           ENCORE              SARASOTA                  FL
129730   KL4CJGSM6KB845424   GM           ENCORE              SARASOTA                  FL
129731   KL4CJGSM6KB871909   GM           ENCORE              CHICAGO                   IL
129732   KL4CJGSM7KB759958   GM           ENCORE              SAN FRANCISCO             CA
129733   KL4CJGSM7KB761807   GM           ENCORE              ORLANDO                   FL
129734   KL4CJGSM7KB762875   GM           ENCORE              TAMPA                     FL
129735   KL4CJGSM7KB762911   GM           ENCORE              TAMPA                     FL
129736   KL4CJGSM7KB764545   GM           ENCORE              PHILADELPHIA              PA
129737   KL4CJGSM7KB766456   GM           ENCORE              ATLANTA                   GA
129738   KL4CJGSM7KB767526   GM           ENCORE              FORT MYERS                FL
129739   KL4CJGSM7KB767672   GM           ENCORE              CHARLOTTESVILLE           VA
129740   KL4CJGSM7KB767753   GM           ENCORE              WEST PALM BEACH           FL
129741   KL4CJGSM7KB768157   GM           ENCORE              RICHMOND                  VA
129742   KL4CJGSM7KB769728   GM           ENCORE              KNOXVILLE                 TN
129743   KL4CJGSM7KB772502   GM           ENCORE              MIAMI                     FL
129744   KL4CJGSM7KB772631   GM           ENCORE              STERLING                  VA
129745   KL4CJGSM7KB775030   GM           ENCORE              PHILADELPHIA              PA
129746   KL4CJGSM7KB776145   GM           ENCORE              FORT LAUDERDALE           FL
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129747   KL4CJGSM7KB789168   GM           ENCORE              Rio Linda                 CA
129748   KL4CJGSM7KB791938   GM           ENCORE              PALM SPRINGS              CA
129749   KL4CJGSM7KB793026   GM           ENCORE              SAN RAFAEL                CA
129750   KL4CJGSM7KB796556   GM           ENCORE              SALT LAKE CITY            US
129751   KL4CJGSM7KB839602   GM           ENCORE              ORLANDO                   FL
129752   KL4CJGSM7KB839874   GM           ENCORE              Bel Air                   MD
129753   KL4CJGSM7KB877718   GM           ENCORE              Irving                    TX
129754   KL4CJGSM8KB762514   GM           ENCORE              RICHMOND                  VA
129755   KL4CJGSM8KB762738   GM           ENCORE              PHILADELPHIA              PA
129756   KL4CJGSM8KB763159   GM           ENCORE              TAMPA                     FL
129757   KL4CJGSM8KB764165   GM           ENCORE              Detroit                   MI
129758   KL4CJGSM8KB764621   GM           ENCORE              RICHMOND                  VA
129759   KL4CJGSM8KB765669   GM           ENCORE              TAMPA                     FL
129760   KL4CJGSM8KB766224   GM           ENCORE              BLOOMINGTON               IL
129761   KL4CJGSM8KB767244   GM           ENCORE              Raleigh                   NC
129762   KL4CJGSM8KB769253   GM           ENCORE              ELLWOOD CITY              PA
129763   KL4CJGSM8KB769270   GM           ENCORE              Hebron                    KY
129764   KL4CJGSM8KB770306   GM           ENCORE              KNOXVILLE                 TN
129765   KL4CJGSM8KB772721   GM           ENCORE              BOSTON                    MA
129766   KL4CJGSM8KB773366   GM           ENCORE              BOSTON                    MA
129767   KL4CJGSM8KB774131   GM           ENCORE              Stone Mountain            GA
129768   KL4CJGSM8KB774274   GM           ENCORE              Richmond                  VA
129769   KL4CJGSM8KB774596   GM           ENCORE              Miami                     FL
129770   KL4CJGSM8KB786148   GM           ENCORE              FORT LAUDERDALE           FL
129771   KL4CJGSM8KB789437   GM           ENCORE              PHOENIX                   AZ
129772   KL4CJGSM8KB835896   GM           ENCORE              JACKSON                   MS
129773   KL4CJGSM8KB838877   GM           ENCORE              TAMPA                     US
129774   KL4CJGSM8KB874679   GM           ENCORE              New Britain               CT
129775   KL4CJGSM8KB886959   GM           ENCORE              Des Plaines               IL
129776   KL4CJGSM8KB927896   GM           ENCORE              Winter Park               FL
129777   KL4CJGSM9KB760142   GM           ENCORE              FORT MYERS                FL
129778   KL4CJGSM9KB760707   GM           ENCORE              Schaumburg                IL
129779   KL4CJGSM9KB761789   GM           ENCORE              Mt. Juliet                TN
129780   KL4CJGSM9KB767253   GM           ENCORE              SANTA CLARA               CA
129781   KL4CJGSM9KB768354   GM           ENCORE              STERLING                  VA
129782   KL4CJGSM9KB768581   GM           ENCORE              Dallas                    TX
129783   KL4CJGSM9KB768676   GM           ENCORE              STERLING                  VA
129784   KL4CJGSM9KB768693   GM           ENCORE              MIAMI                     FL
129785   KL4CJGSM9KB769343   GM           ENCORE              SARASOTA                  FL
129786   KL4CJGSM9KB769486   GM           ENCORE              WEST PALM BEACH           FL
129787   KL4CJGSM9KB769505   GM           ENCORE              BIRMINGHAM                AL
129788   KL4CJGSM9KB769939   GM           ENCORE              FORT LAUDERDALE           FL
129789   KL4CJGSM9KB770010   GM           ENCORE              ALBANY                    GA
129790   KL4CJGSM9KB770055   GM           ENCORE              Smithtown                 NY
129791   KL4CJGSM9KB770573   GM           ENCORE              PITTSBURGH                PA
129792   KL4CJGSM9KB772842   GM           ENCORE              ONTARIO                   CA
129793   KL4CJGSM9KB772968   GM           ENCORE              NORFOLK                   VA
129794   KL4CJGSM9KB774056   GM           ENCORE              SAINT LOUIS               MO
129795   KL4CJGSM9KB774736   GM           ENCORE              Atlanta                   GA
129796   KL4CJGSM9KB775420   GM           ENCORE              LOS ANGELES               CA
129797   KL4CJGSM9KB783212   GM           ENCORE              BIRMINGHAN                AL
129798   KL4CJGSM9KB786546   GM           ENCORE              Atlanta                   GA
129799   KL4CJGSM9KB793075   GM           ENCORE              MIAMI                     FL
129800   KL4CJGSM9KB794209   GM           ENCORE              Reno                      NV
129801   KL4CJGSM9KB835440   GM           ENCORE              FORT MYERS                FL
129802   KL4CJGSM9KB837625   GM           ENCORE              TAMPA                     FL
129803   KL4CJGSM9KB896691   GM           ENCORE              ST Paul                   MN
129804   KL4CJGSMXKB762031   GM           ENCORE              DETROIT                   MI
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129805   KL4CJGSMXKB765088   GM           ENCORE              Annapolis                 MD
129806   KL4CJGSMXKB765432   GM           ENCORE              TAMPA                     FL
129807   KL4CJGSMXKB765852   GM           ENCORE              JACKSONVILLE              FL
129808   KL4CJGSMXKB766211   GM           ENCORE              Atlanta                   GA
129809   KL4CJGSMXKB766564   GM           ENCORE              Newark                    NJ
129810   KL4CJGSMXKB767388   GM           ENCORE              ATLANTA                   GA
129811   KL4CJGSMXKB768198   GM           ENCORE              WEST PALM BEACH           FL
129812   KL4CJGSMXKB768248   GM           ENCORE              TAMPA                     FL
129813   KL4CJGSMXKB768900   GM           ENCORE              FORT MYERS                FL
129814   KL4CJGSMXKB769030   GM           ENCORE              LOS ANGELES AP            CA
129815   KL4CJGSMXKB770565   GM           ENCORE              Atlanta                   GA
129816   KL4CJGSMXKB772431   GM           ENCORE              DETROIT                   MI
129817   KL4CJGSMXKB785969   GM           ENCORE              CHICAGO                   IL
129818   KL4CJGSMXKB790881   GM           ENCORE              LAS VEGAS                 NV
129819   KL4CJGSMXKB794266   GM           ENCORE              OAKLAND                   CA
129820   KL4CJGSMXKB796096   GM           ENCORE              ONTARIO                   CA
129821   KL4CJGSMXKB796339   GM           ENCORE              LOS ANGELES               CA
129822   KL4CJGSMXKB796809   GM           ENCORE              Beaverton                 OR
129823   KL4CJGSMXKB834829   GM           ENCORE              ORLANDO                   FL
129824   KL4CJGSMXKB845748   GM           ENCORE              ATLANTA                   GA
129825   KL4CJGSMXKB847449   GM           ENCORE              ATLANTA                   GA
129826   KL4CJGSMXKB898773   GM           ENCORE              Florissant                MO
129827   KL4CJGSMXKB900926   GM           ENCORE              DULUTH                    GA
129828   KL4CJHSB2GB534990   GM           ENCORE              BURBANK                   CA
129829   KL4CJHSB5GB533607   GM           ENCORE              BOSTON                    MA
129830   KL4CJHSB5GB563965   GM           ENCORE              Matteson                  IL
129831   KL4CJHSB6GB526147   GM           ENCORE              North Dighton             MA
129832   KL4CJHSB7GB619632   GM           ENCORE              Portland                  OR
129833   KL4CJHSB8GB517417   GM           ENCORE              NEW ENGLAND DEALER        MA
129834   KL7CJKSB0GB701895   GM           TRAX                Pasadena                  CA
129835   KL7CJKSB1GB562926   GM           TRAX                FT LAUDERDALE             FL
129836   KL7CJKSB2GB655230   GM           TRAX                BURBANK                   CA
129837   KL7CJKSB2GB759619   GM           TRAX                N MIAMI BEACH             FL
129838   KL7CJKSB3HB151819   GM           TRAX                BURBANK                   CA
129839   KL7CJKSB4GB661921   GM           TRAX                BURBANK                   CA
129840   KL7CJKSB4HB085152   GM           TRAX                CLEVELAND                 OH
129841   KL7CJKSB5GB511624   GM           TRAX                SEATAC                    WA
129842   KL7CJKSB5GB683345   GM           TRAX                Ft. Myers                 FL
129843   KL7CJKSB5HB158688   GM           TRAX                DES PLAINES               IL
129844   KL7CJKSB6GB506173   GM           TRAX                Fredericksburg            VA
129845   KL7CJKSB8GB708576   GM           TRAX                Denver                    CO
129846   KL7CJKSB8GB737429   GM           TRAX                BURBANK                   CA
129847   KL7CJKSB9HB224787   GM           TRAX                ORLANDO                   FL
129848   KL7CJLSB0FB099164   GM           TRAX                Pasadena                  CA
129849   KL7CJLSB1FB124458   GM           TRAX                BURBANK                   CA
129850   KL7CJLSB1GB600886   GM           TRAX                Winter Park               FL
129851   KL7CJLSB1GB629384   GM           TRAX                COLLEGE PARK              GA
129852   KL7CJLSB1GB646900   GM           TRAX                Tampa                     FL
129853   KL7CJLSB2GB527754   GM           TRAX                Denver                    CO
129854   KL7CJLSB2GB615655   GM           TRAX                FAYETTEVILLE              GA
129855   KL7CJLSB3HB120429   GM           TRAX                Coraopolis                PA
129856   KL7CJLSB3HB135187   GM           TRAX                Detroit                   MI
129857   KL7CJLSB4GB761877   GM           TRAX                Hayward                   CA
129858   KL7CJLSB5GB619571   GM           TRAX                Chicago                   IL
129859   KL7CJLSB5HB168286   GM           TRAX                Woodhaven                 MI
129860   KL7CJLSB6JB537937   GM           TRAX                COLLEGE PARK              GA
129861   KL7CJLSB7HB158360   GM           TRAX                Montgomery                AL
129862   KL7CJLSB7HB158908   GM           TRAX                Philadelphia              PA
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129863   KL7CJLSB7HB221537   GM            TRAX                PALM SPRINGS              CA
129864   KL7CJLSB7JB719047   GM            TRAX                PHOENIX                   AZ
129865   KL7CJLSB9GB669261   GM            TRAX                PHILADELPHIA              PA
129866   KL7CJLSBXGB732691   GM            TRAX                Chicago                   IL
129867   KL7CJLSBXHB196441   GM            TRAX                Hebron                    KY
129868   KL7CJMSB1GB504200   GM            TRAX                STERLING                  VA
129869   KL7CJMSB6GB641231   GM            TRAX                Matteson                  IL
129870   KL7CJNSB0GB543916   GM            TRAX                STERLING                  VA
129871   KL7CJNSB0GB688356   GM            TRAX                Philadelphia              PA
129872   KL7CJNSB1HB114740   GM            TRAX                Lake Elsinore             CA
129873   KL7CJNSB3GB605101   GM            TRAX                ORLANDO                   FL
129874   KL7CJNSB4GB570780   GM            TRAX                Elkridge                  MD
129875   KL7CJNSB6GB644328   GM            TRAX                Baltimore                 MD
129876   KL7CJNSB8HB075029   GM            TRAX                Fredericksburg            VA
129877   KL7CJNSB9GB566238   GM            TRAX                NEW ENGLAND DEALER        MA
129878   KL7CJNSB9HB128952   GM            TRAX                Slidell                   LA
129879   KL7CJPSB1GB592036   GM            TRAX                Cranberry Towns           PA
129880   KL7CJPSB2GB505793   GM            TRAX                Philadelphia              PA
129881   KL7CJPSB3GB524529   GM            TRAX                PITTSBURGH                PA
129882   KL7CJPSB3GB617633   GM            TRAX                SPRINGFIELD               VA
129883   KL7CJPSB5GB579693   GM            TRAX                Lynn                      MA
129884   KL7CJPSB7GB565293   GM            TRAX                PHILADELPHIA              PA
129885   KL7CJPSB8GB565870   GM            TRAX                GRAND RAPIDS              MI
129886   KL7CJRSB1FB261290   GM            TRAX                SPRINGFIELD               VA
129887   KL7CJRSB1GB645300   GM            TRAX                Hanover                   MD
129888   KL7CJRSB5GB645722   GM            TRAX                PITTSBURGH                PA
129889   KL7CJRSB8GB658884   GM            TRAX                Schaumburg                IL
129890   KL8CD6SA0LC428091   GM            SPARK               Orlando                   FL
129891   KL8CD6SA0LC443903   GM            SPARK               FORT MYERS                FL
129892   KL8CD6SA1LC442341   GM            SPARK               Miami                     FL
129893   KL8CD6SA1LC449256   GM            SPARK               RALEIGH, DURHAM           NC
129894   KL8CD6SA2LC443904   GM            SPARK               Tulsa                     OK
129895   KL8CD6SA2LC447841   GM            SPARK               ATLANTA                   GA
129896   KL8CD6SA4LC450918   GM            SPARK               Sacramento                CA
129897   KL8CD6SA5LC429849   GM            SPARK               Estero                    FL
129898   KL8CD6SA6LC427771   GM            SPARK               KAILUA KONA               HI
129899   KL8CD6SA6LC446255   GM            SPARK               FORT MYERS                FL
129900   KL8CD6SA6LC448006   GM            SPARK               FORT MYERS                FL
129901   KL8CD6SA7LC441968   GM            SPARK               Oklahoma City             OK
129902   KL8CD6SA7LC447673   GM            SPARK               LOS ANGELES               CA
129903   KL8CD6SA8LC428131   GM            SPARK               FORT MYERS                FL
129904   KL8CD6SA8LC444152   GM            SPARK               FORT MYERS                FL
129905   KL8CD6SA8LC448010   GM            SPARK               FORT MYERS                FL
129906   KL8CD6SA9LC450980   GM            SPARK               Tulsa                     OK
129907   KL8CD6SAXLC443620   GM            SPARK               FORT MYERS                FL
129908   KL8CD6SAXLC443973   GM            SPARK               FORT MYERS                FL
129909   KL8CD6SAXLC445576   GM            SPARK               Lafayette                 LA
129910   KM8J23A40HU281993   Hyundai       TUCSON              LOS ANGELES               CA
129911   KM8J23A40JU767614   Hyundai       TUCSON              PHOENIX                   AZ
129912   KM8J23A41HU439063   Hyundai       TUCSON              KNOXVILLE                 TN
129913   KM8J23A41JU755312   Hyundai       TUCSON              Chandler                  AZ
129914   KM8J23A42HU341532   Hyundai       TUCSON              Miami                     FL
129915   KM8J23A42JU610246   Hyundai       TUCSON              BURBANK                   CA
129916   KM8J23A43GU042453   Hyundai       TUCSON              LOS ANGELES               CA
129917   KM8J23A43HU419882   Hyundai       TUCSON              Fort Lauderdale           FL
129918   KM8J23A45JU755037   Hyundai       TUCSON              BURBANK                   CA
129919   KM8J23A46GU160223   Hyundai       TUCSON              HAYWARD                   CA
129920   KM8J23A46HU274207   Hyundai       TUCSON              AUSTIN                    TX
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129921   KM8J23A46JU754270   Hyundai       TUCSON              PHOENIX                   AZ
129922   KM8J23A48GU200463   Hyundai       TUCSON              Winter Park               FL
129923   KM8J23A48JU769045   Hyundai       TUCSON              CHANDLER                  AZ
129924   KM8J23A49GU126566   Hyundai       TUCSON              SANTA ANA                 CA
129925   KM8J23A49JU755977   Hyundai       TUCSON              PHOENIX                   AZ
129926   KM8J23A49JU767496   Hyundai       TUCSON              PHOENIX                   AZ
129927   KM8J23A49JU767594   Hyundai       TUCSON              CHANDLER                  AZ
129928   KM8J23A4XJU758354   Hyundai       TUCSON              Phoenix                   AZ
129929   KM8J23A4XJU791919   Hyundai       TUCSON              Ventura                   CA
129930   KM8J2CA47KU873382   Hyundai       TUCSON              Davie                     FL
129931   KM8J33A21GU181427   Hyundai       TUCSON              TALLAHASSEE               FL
129932   KM8J33A23GU074749   Hyundai       TUCSON              Tolleson                  AZ
129933   KM8J33A24HU357419   Hyundai       TUCSON              Torrance                  CA
129934   KM8J33A25GU240267   Hyundai       TUCSON              Tolleson                  AZ
129935   KM8J33A26HU356952   Hyundai       TUCSON              LOS ANGELES               CA
129936   KM8J33A27HU299855   Hyundai       TUCSON              Scottsdale                AZ
129937   KM8J33A27HU386784   Hyundai       TUCSON              BURBANK                   CA
129938   KM8J33A40GU145763   Hyundai       TUCSON              Norwalk                   CA
129939   KM8J33A40JU652170   Hyundai       TUCSON              Phoenix                   AZ
129940   KM8J33A40KU842715   Hyundai       TUCSON              Portland                  OR
129941   KM8J33A40KU844478   Hyundai       TUCSON              FORT MYERS                FL
129942   KM8J33A40KU847073   Hyundai       TUCSON              TAMPA                     FL
129943   KM8J33A40KU857358   Hyundai       TUCSON              ORLANDO                   FL
129944   KM8J33A40KU860549   Hyundai       TUCSON              SALT LAKE CITY            UT
129945   KM8J33A40KU862110   Hyundai       TUCSON              PALM SPRINGS              CA
129946   KM8J33A40KU862138   Hyundai       TUCSON              LOS ANGELES AP            CA
129947   KM8J33A40KU869350   Hyundai       TUCSON              BALTIMORE                 MD
129948   KM8J33A40KU894698   Hyundai       TUCSON              Elkridge                  MD
129949   KM8J33A40KU913797   Hyundai       TUCSON              ST Paul                   MN
129950   KM8J33A40LU134577   Hyundai       TUCSON              TAMPA                     FL
129951   KM8J33A41GU237335   Hyundai       TUCSON              San Diego                 CA
129952   KM8J33A41HU352714   Hyundai       TUCSON              Pompano Beach             FL
129953   KM8J33A41KU844439   Hyundai       TUCSON              DES PLAINES               US
129954   KM8J33A41KU844473   Hyundai       TUCSON              COLUMBUS                  OH
129955   KM8J33A41KU859992   Hyundai       TUCSON              Phoenix                   AZ
129956   KM8J33A41KU862844   Hyundai       TUCSON              North Las Vegas           NV
129957   KM8J33A41KU867476   Hyundai       TUCSON              LOS ANGELES               CA
129958   KM8J33A41KU888800   Hyundai       TUCSON              Tulsa                     OK
129959   KM8J33A41KU895178   Hyundai       TUCSON              St. Louis                 MO
129960   KM8J33A41KU904106   Hyundai       TUCSON              BIRMINGHAM                AL
129961   KM8J33A41KU904283   Hyundai       TUCSON              ATLANTA                   GA
129962   KM8J33A41KU941205   Hyundai       TUCSON              Dallas                    TX
129963   KM8J33A41LU143661   Hyundai       TUCSON              Louisville                KY
129964   KM8J33A41LU167801   Hyundai       TUCSON              Sarasota                  FL
129965   KM8J33A42GU181664   Hyundai       TUCSON              LOS ANGELES               CA
129966   KM8J33A42KU846300   Hyundai       TUCSON              ORLANDO                   FL
129967   KM8J33A42KU846832   Hyundai       TUCSON              Coraopolis                PA
129968   KM8J33A42KU846975   Hyundai       TUCSON              LAS VEGAS                 NV
129969   KM8J33A42KU860018   Hyundai       TUCSON              SACRAMENTO                CA
129970   KM8J33A42KU860729   Hyundai       TUCSON              Omaha                     NE
129971   KM8J33A42KU860746   Hyundai       TUCSON              PHOENIX                   AZ
129972   KM8J33A42KU941374   Hyundai       TUCSON              Warminster                PA
129973   KM8J33A42KU956506   Hyundai       KONA                HOUSTON                   TX
129974   KM8J33A42LU111222   Hyundai       TUCSON              DALLAS                    TX
129975   KM8J33A42LU151025   Hyundai       TUCSON              FORT MYERS                FL
129976   KM8J33A43GU120565   Hyundai       TUCSON              FT LAUDERDALE             FL
129977   KM8J33A43KU842708   Hyundai       TUCSON              Hanover                   MD
129978   KM8J33A43KU845155   Hyundai       TUCSON              NASHVILLE                 TN
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129979   KM8J33A43KU847939   Hyundai       TUCSON              FORT LAUDERDALE           FL
129980   KM8J33A43KU850016   Hyundai       TUCSON              LAS VEGAS                 NV
129981   KM8J33A43KU850081   Hyundai       TUCSON              BURBANK                   CA
129982   KM8J33A43KU861095   Hyundai       TUCSON              SOUTH BEND                IN
129983   KM8J33A43KU891908   Hyundai       TUCSON              Nashville                 TN
129984   KM8J33A43KU914006   Hyundai       TUCSON              SALT LAKE CITY            UT
129985   KM8J33A43KU927001   Hyundai       TUCSON              Houston                   TX
129986   KM8J33A43LU128417   Hyundai       TUCSON              FORT MYERS                FL
129987   KM8J33A43LU143614   Hyundai       TUCSON              JACKSONVILLE              FL
129988   KM8J33A44GU237961   Hyundai       TUCSON              CLOVIS                    CA
129989   KM8J33A44GU259121   Hyundai       TUCSON              TAMPA                     FL
129990   KM8J33A44HU330349   Hyundai       TUCSON              Fontana                   CA
129991   KM8J33A44HU355722   Hyundai       TUCSON              NORTH PAC                 CA
129992   KM8J33A44HU387313   Hyundai       TUCSON              TAMPA                     FL
129993   KM8J33A44JU653211   Hyundai       TUCSON              Phoenix                   AZ
129994   KM8J33A44KU866872   Hyundai       TUCSON              FORT MYERS                FL
129995   KM8J33A44KU869187   Hyundai       TUCSON              Leesburg                  VA
129996   KM8J33A44KU939125   Hyundai       TUCSON              Live Oak                  TX
129997   KM8J33A44LU141497   Hyundai       TUCSON              TAMPA                     FL
129998   KM8J33A44LU150913   Hyundai       TUCSON              Sarasota                  FL
129999   KM8J33A45GU089271   Hyundai       TUCSON              Los Angeles               CA
130000   KM8J33A45KU846985   Hyundai       TUCSON              FORT MYERS                FL
130001   KM8J33A45KU847084   Hyundai       TUCSON              ATLANTA                   GA
130002   KM8J33A45KU847358   Hyundai       TUCSON              TAMPA                     FL
130003   KM8J33A45KU859543   Hyundai       TUCSON              PENSACOLA                 FL
130004   KM8J33A45KU859591   Hyundai       TUCSON              Richmond                  VA
130005   KM8J33A45KU862071   Hyundai       TUCSON              BURBANK                   CA
130006   KM8J33A45KU864841   Hyundai       TUCSON              MIAMI                     FL
130007   KM8J33A45KU866668   Hyundai       TUCSON              WEST PALM BEACH           FL
130008   KM8J33A45KU911186   Hyundai       TUCSON              Houston                   TX
130009   KM8J33A45LU141072   Hyundai       TUCSON              Atlanta                   GA
130010   KM8J33A45LU144828   Hyundai       TUCSON              DES MOINES                IA
130011   KM8J33A46GU075461   Hyundai       TUCSON              Norwalk                   CA
130012   KM8J33A46KU849054   Hyundai       TUCSON              ONTARIO                   CA
130013   KM8J33A46KU849989   Hyundai       TUCSON              BURBANK                   CA
130014   KM8J33A46KU850088   Hyundai       TUCSON              BURBANK                   CA
130015   KM8J33A46KU853234   Hyundai       TUCSON              FORT MYERS                FL
130016   KM8J33A46KU859969   Hyundai       TUCSON              Phoenix                   AZ
130017   KM8J33A46KU915537   Hyundai       TUCSON              Tolleson                  AZ
130018   KM8J33A46LU151383   Hyundai       TUCSON              ORLANDO                   FL
130019   KM8J33A47GU145789   Hyundai       TUCSON              PHOENIX                   AZ
130020   KM8J33A47HU448685   Hyundai       TUCSON              CHANDLER                  AZ
130021   KM8J33A47KU843456   Hyundai       TUCSON              Stone Mountain            GA
130022   KM8J33A47KU843649   Hyundai       TUCSON              Manheim                   PA
130023   KM8J33A47KU861262   Hyundai       TUCSON              ORANGE COUNTY             CA
130024   KM8J33A47KU867868   Hyundai       TUCSON              MIAMI                     FL
130025   KM8J33A47KU888414   Hyundai       TUCSON              RICHMOND                  VA
130026   KM8J33A47KU913764   Hyundai       TUCSON              Stockton                  CA
130027   KM8J33A47KU923002   Hyundai       TUCSON              Dallas                    TX
130028   KM8J33A47LU128419   Hyundai       TUCSON              Atlanta                   GA
130029   KM8J33A47LU142708   Hyundai       TUCSON              FORT MYERS                FL
130030   KM8J33A48GU121310   Hyundai       TUCSON              Riverside                 CA
130031   KM8J33A48HU313554   Hyundai       TUCSON              PHOENIX                   AZ
130032   KM8J33A48KU846544   Hyundai       TUCSON              Tulsa                     OK
130033   KM8J33A48KU850061   Hyundai       TUCSON              SEATTLE                   WA
130034   KM8J33A48KU850075   Hyundai       TUCSON              PALM SPRINGS              CA
130035   KM8J33A48KU850092   Hyundai       TUCSON              BURBANK                   CA
130036   KM8J33A48KU854272   Hyundai       TUCSON              SANTA ANA                 CA
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130037   KM8J33A48KU859522   Hyundai       TUCSON              Bridgeton                 MO
130038   KM8J33A48KU859536   Hyundai       TUCSON              CHICAGO                   IL
130039   KM8J33A48KU859715   Hyundai       TUCSON              LAS VEGAS                 NV
130040   KM8J33A48KU859729   Hyundai       TUCSON              Salt Lake City            UT
130041   KM8J33A48KU862033   Hyundai       TUCSON              DETROIT                   MI
130042   KM8J33A48KU871525   Hyundai       TUCSON              ORLANDO                   FL
130043   KM8J33A48KU909898   Hyundai       TUCSON              Clearwater                FL
130044   KM8J33A48KU911067   Hyundai       TUCSON              FORT MYERS                FL
130045   KM8J33A48KU923073   Hyundai       TUCSON              SOUTH BEND                IN
130046   KM8J33A48KU923090   Hyundai       TUCSON              Shreveport                LA
130047   KM8J33A48KU955165   Hyundai       TUCSON              Portland                  OR
130048   KM8J33A48LU150994   Hyundai       TUCSON              WEST PALM BEACH           FL
130049   KM8J33A49GU061568   Hyundai       TUCSON              BURBANK                   CA
130050   KM8J33A49JU681702   Hyundai       TUCSON              LAS VEGAS                 NV
130051   KM8J33A49KU846892   Hyundai       TUCSON              JACKSONVILLE              FL
130052   KM8J33A49KU869461   Hyundai       TUCSON              Florissant                MO
130053   KM8J33A49KU880623   Hyundai       TUCSON              ORLANDO                   FL
130054   KM8J33A49KU885059   Hyundai       TUCSON              Florissant                MO
130055   KM8J33A49KU923017   Hyundai       TUCSON              Portland                  OR
130056   KM8J33A49KU941114   Hyundai       TUCSON              SAN ANTONIO               TX
130057   KM8J33A49LU126610   Hyundai       TUCSON              DES MOINES                IA
130058   KM8J33A49LU141768   Hyundai       TUCSON              Memphis                   TN
130059   KM8J33A4XHU379376   Hyundai       TUCSON              SAN FRANCISCO             CA
130060   KM8J33A4XKU843368   Hyundai       TUCSON              ORLANDO                   FL
130061   KM8J33A4XKU846643   Hyundai       TUCSON              FORT LAUDERDALE           FL
130062   KM8J33A4XKU846982   Hyundai       TUCSON              ATLANTA                   GA
130063   KM8J33A4XKU847047   Hyundai       TUCSON              RENO                      NV
130064   KM8J33A4XKU847291   Hyundai       TUCSON              RALEIGH                   NC
130065   KM8J33A4XKU862177   Hyundai       TUCSON              LAS VEGAS                 NV
130066   KM8J33A4XKU877410   Hyundai       TUCSON              BIRMINGHAM                AL
130067   KM8J33A4XLU134800   Hyundai       TUCSON              ORLANDO                   FL
130068   KM8J33A4XLU143674   Hyundai       TUCSON              Louisville                KY
130069   KM8J33A4XLU143920   Hyundai       TUCSON              Pompano Beach             FL
130070   KM8J3CA26GU174053   Hyundai       TUCSON              STERLING                  VA
130071   KM8J3CA28HU280196   Hyundai       TUCSON              Webster                   NY
130072   KM8J3CA40JU674721   Hyundai       TUCSON              DES MOINES                IA
130073   KM8J3CA40JU679935   Hyundai       TUCSON              STERLING                  VA
130074   KM8J3CA40JU713596   Hyundai       TUCSON              SPRINGFIELD               VA
130075   KM8J3CA40JU718121   Hyundai       TUCSON              Elkridge                  MD
130076   KM8J3CA40KU845436   Hyundai       TUCSON              SEATAC                    WA
130077   KM8J3CA40KU935587   Hyundai       TUCSON              Winston‐Salem             NC
130078   KM8J3CA40KU935881   Hyundai       TUCSON              PENSACOLA                 FL
130079   KM8J3CA40KU946427   Hyundai       TUCSON              MELROSE PARK              IL
130080   KM8J3CA41HU475476   Hyundai       TUCSON              Phoenix                   AZ
130081   KM8J3CA41JU645180   Hyundai       TUCSON              Harvey                    LA
130082   KM8J3CA41JU651643   Hyundai       TUCSON              CHICAGO                   IL
130083   KM8J3CA41JU673674   Hyundai       TUCSON              STERLING                  VA
130084   KM8J3CA41JU677062   Hyundai       TUCSON              HARVEY                    LA
130085   KM8J3CA41JU704938   Hyundai       TUCSON              STERLING                  VA
130086   KM8J3CA41JU717432   Hyundai       TUCSON              STERLING                  VA
130087   KM8J3CA41KU841153   Hyundai       TUCSON              LAS VEGAS                 NV
130088   KM8J3CA41KU841816   Hyundai       TUCSON              Salt Lake City            UT
130089   KM8J3CA41KU855117   Hyundai       TUCSON              Portland                  OR
130090   KM8J3CA41KU856364   Hyundai       TUCSON              SEATAC                    WA
130091   KM8J3CA41KU868594   Hyundai       TUCSON              Charlotte                 NC
130092   KM8J3CA41KU878607   Hyundai       TUCSON              KENNER                    LA
130093   KM8J3CA41KU881278   Hyundai       TUCSON              Dallas                    TX
130094   KM8J3CA41KU891728   Hyundai       TUCSON              Downey                    CA
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130095   KM8J3CA41KU895150   Hyundai       TUCSON              WEST PALM BEACH           FL
130096   KM8J3CA41KU910925   Hyundai       TUCSON              Indianapolis              IN
130097   KM8J3CA41KU935758   Hyundai       TUCSON              KNOXVILLE                 TN
130098   KM8J3CA41KU935906   Hyundai       TUCSON              OKLAHOMA CITY             OK
130099   KM8J3CA42GU126390   Hyundai       TUCSON              STERLING                  VA
130100   KM8J3CA42JU660478   Hyundai       TUCSON              DES PLAINES               IL
130101   KM8J3CA42JU681007   Hyundai       TUCSON              Harvey                    LA
130102   KM8J3CA42JU721554   Hyundai       TUCSON              MIDDLE RIVER              MD
130103   KM8J3CA42JU734613   Hyundai       TUCSON              Winston‐Salem             NC
130104   KM8J3CA42KU843770   Hyundai       TUCSON              SAN ANTONIO               TX
130105   KM8J3CA42KU854073   Hyundai       TUCSON              ORLANDO                   FL
130106   KM8J3CA42KU860696   Hyundai       TUCSON              SARASOTA                  FL
130107   KM8J3CA42KU864957   Hyundai       TUCSON              Omaha                     NE
130108   KM8J3CA42KU868247   Hyundai       TUCSON              SAINT PAUL                MN
130109   KM8J3CA42KU882049   Hyundai       TUCSON              ONTARIO                   CA
130110   KM8J3CA42KU887364   Hyundai       TUCSON              Atlanta                   GA
130111   KM8J3CA42KU887879   Hyundai       TUCSON              FORT LAUDERDALE           FL
130112   KM8J3CA42KU891530   Hyundai       TUCSON              EL PASO                   TX
130113   KM8J3CA42KU893732   Hyundai       TUCSON              MOBILE                    A
130114   KM8J3CA42KU936109   Hyundai       TUCSON              KNOXVILLE                 TN
130115   KM8J3CA42KU946767   Hyundai       TUCSON              Kansas City               MO
130116   KM8J3CA42KU952083   Hyundai       TUCSON              Houston                   TX
130117   KM8J3CA42LU101564   Hyundai       TUCSON              Portland                  OR
130118   KM8J3CA43JU615906   Hyundai       TUCSON              CHICAGO                   IL
130119   KM8J3CA43JU623231   Hyundai       TUCSON              STERLING                  VA
130120   KM8J3CA43JU637579   Hyundai       TUCSON              Fredericksburg            VA
130121   KM8J3CA43JU655130   Hyundai       TUCSON              ELKRIDGE                  MD
130122   KM8J3CA43JU681002   Hyundai       TUCSON              Lake in the Hil           IL
130123   KM8J3CA43JU738458   Hyundai       TUCSON              CHICAGO                   IL
130124   KM8J3CA43KU844328   Hyundai       TUCSON              PALM SPRINGS              CA
130125   KM8J3CA43KU851179   Hyundai       TUCSON              BURBANK                   CA
130126   KM8J3CA43KU858696   Hyundai       TUCSON              Webster                   NY
130127   KM8J3CA43KU862683   Hyundai       TUCSON              LITTLE ROCK               AR
130128   KM8J3CA43KU863834   Hyundai       TUCSON              SAN JOSE                  CA
130129   KM8J3CA43KU867737   Hyundai       TUCSON              Mira Loma                 CA
130130   KM8J3CA43KU880388   Hyundai       TUCSON              STERLING                  VA
130131   KM8J3CA43KU881413   Hyundai       TUCSON              BURBANK                   CA
130132   KM8J3CA43KU882402   Hyundai       TUCSON              SAN DIEGO                 CA
130133   KM8J3CA43KU887695   Hyundai       TUCSON              Philadelphia              PA
130134   KM8J3CA43KU887745   Hyundai       TUCSON              NASHVILLE                 TN
130135   KM8J3CA43KU896333   Hyundai       TUCSON              GLENOLDEN                 PA
130136   KM8J3CA43KU935759   Hyundai       TUCSON              Jacksonville              FL
130137   KM8J3CA44JU652317   Hyundai       TUCSON              STERLING                  VA
130138   KM8J3CA44JU655363   Hyundai       TUCSON              CHICAGO                   IL
130139   KM8J3CA44JU655475   Hyundai       TUCSON              CHICAGO                   IL
130140   KM8J3CA44JU666783   Hyundai       TUCSON              STERLING                  VA
130141   KM8J3CA44JU713634   Hyundai       TUCSON              STERLING                  VA
130142   KM8J3CA44JU728263   Hyundai       TUCSON              STERLING                  VA
130143   KM8J3CA44JU739814   Hyundai       TUCSON              DANIA BEACH               FL
130144   KM8J3CA44KU843110   Hyundai       TUCSON              TAMPA                     FL
130145   KM8J3CA44KU851384   Hyundai       TUCSON              Burien                    WA
130146   KM8J3CA44KU863874   Hyundai       TUCSON              Sacramento                CA
130147   KM8J3CA44KU874213   Hyundai       TUCSON              SEATAC                    WA
130148   KM8J3CA44KU876401   Hyundai       TUCSON              Torrance                  CA
130149   KM8J3CA44KU881789   Hyundai       TUCSON              LAS VEGAS                 NV
130150   KM8J3CA44KU881839   Hyundai       TUCSON              SACRAMENTO                CA
130151   KM8J3CA44KU887883   Hyundai       TUCSON              CLEVELAND                 OH
130152   KM8J3CA44KU889696   Hyundai       TUCSON              BURBANK                   CA
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130153   KM8J3CA44KU889911   Hyundai       TUCSON              SEATAC                    WA
130154   KM8J3CA44KU893604   Hyundai       TUCSON              CLEVELAND                 OH
130155   KM8J3CA44KU897152   Hyundai       TUCSON              DAYTONA BEACH             FL
130156   KM8J3CA45JU625675   Hyundai       TUCSON              STERLING                  VA
130157   KM8J3CA45JU653220   Hyundai       TUCSON              DES MOINES                IA
130158   KM8J3CA45JU683673   Hyundai       TUCSON              KENNER                    LA
130159   KM8J3CA45JU684578   Hyundai       TUCSON              N. Palm Beach             FL
130160   KM8J3CA45JU694639   Hyundai       TUCSON              Slidell                   LA
130161   KM8J3CA45JU702867   Hyundai       TUCSON              Elkridge                  MD
130162   KM8J3CA45JU730040   Hyundai       TUCSON              Fredericksburg            VA
130163   KM8J3CA45JU735030   Hyundai       TUCSON              Elkridge                  MD
130164   KM8J3CA45JU735061   Hyundai       TUCSON              DANIA BEACH               FL
130165   KM8J3CA45KU843052   Hyundai       TUCSON              ORLANDO                   FL
130166   KM8J3CA45KU844735   Hyundai       TUCSON              CHICAGO                   IL
130167   KM8J3CA45KU845092   Hyundai       TUCSON              DETROIT                   MI
130168   KM8J3CA45KU845903   Hyundai       TUCSON              SEATTLE                   WA
130169   KM8J3CA45KU848140   Hyundai       TUCSON              KNOXVILLE                 TN
130170   KM8J3CA45KU858702   Hyundai       TUCSON              SYRACUSE                  NY
130171   KM8J3CA45KU863916   Hyundai       TUCSON              DAYTON                    OH
130172   KM8J3CA45KU874608   Hyundai       TUCSON              AUSTIN                    TX
130173   KM8J3CA45KU876486   Hyundai       TUCSON              JACKSONVILLE              FL
130174   KM8J3CA45KU881106   Hyundai       TUCSON              Woodhaven                 MI
130175   KM8J3CA45KU881185   Hyundai       TUCSON              LEWISTON                  ID
130176   KM8J3CA45KU891439   Hyundai       TUCSON              SEATAC                    WA
130177   KM8J3CA45KU930157   Hyundai       TUCSON              BOSTON                    MA
130178   KM8J3CA45KU935617   Hyundai       TUCSON              LOUISVILLE                KY
130179   KM8J3CA45KU953387   Hyundai       TUCSON              Kent                      WA
130180   KM8J3CA46GU242062   Hyundai       TUCSON              San Diego                 CA
130181   KM8J3CA46JU650780   Hyundai       TUCSON              DES PLAINES               IL
130182   KM8J3CA46JU665487   Hyundai       TUCSON              CHICAGO                   IL
130183   KM8J3CA46JU672293   Hyundai       TUCSON              DES PLAINES               US
130184   KM8J3CA46JU674075   Hyundai       TUCSON              Schaumburg                IL
130185   KM8J3CA46JU689417   Hyundai       TUCSON              STERLING                  VA
130186   KM8J3CA46JU723260   Hyundai       TUCSON              CHICAGO                   IL
130187   KM8J3CA46JU730273   Hyundai       TUCSON              Slidell                   LA
130188   KM8J3CA46JU756047   Hyundai       TUCSON              DANIA BEACH               FL
130189   KM8J3CA46KU841150   Hyundai       TUCSON              Tulsa                     OK
130190   KM8J3CA46KU842413   Hyundai       TUCSON              Euless                    TX
130191   KM8J3CA46KU851449   Hyundai       TUCSON              SALT LAKE CITY            US
130192   KM8J3CA46KU862824   Hyundai       TUCSON              Phoenix                   AZ
130193   KM8J3CA46KU874259   Hyundai       TUCSON              KNOXVILLE                 TN
130194   KM8J3CA46KU877548   Hyundai       TUCSON              Irving                    TX
130195   KM8J3CA46KU881793   Hyundai       TUCSON              INGLEWOOD                 CA
130196   KM8J3CA46KU882362   Hyundai       TUCSON              ONTARIO                   CA
130197   KM8J3CA46KU888033   Hyundai       TUCSON              Leesburg                  VA
130198   KM8J3CA46KU916414   Hyundai       TUCSON              CHARLOTTE                 NC
130199   KM8J3CA46KU930183   Hyundai       TUCSON              FORT MYERS                FL
130200   KM8J3CA46KU935674   Hyundai       TUCSON              UNION CITY                GA
130201   KM8J3CA46KU936016   Hyundai       TUCSON              SAVANNAH                  GA
130202   KM8J3CA46KU946626   Hyundai       TUCSON              Lynn                      MA
130203   KM8J3CA46KU954760   Hyundai       TUCSON              LUBBOCK                   TX
130204   KM8J3CA46LU116746   Hyundai       TUCSON              Lynn                      MA
130205   KM8J3CA47JU640212   Hyundai       TUCSON              Webster                   NY
130206   KM8J3CA47JU654790   Hyundai       TUCSON              Matteson                  IL
130207   KM8J3CA47KU854053   Hyundai       TUCSON              CHARLESTON                WV
130208   KM8J3CA47KU856465   Hyundai       TUCSON              Pompano Beach             FL
130209   KM8J3CA47KU858636   Hyundai       TUCSON              North Dighton             MA
130210   KM8J3CA47KU863884   Hyundai       TUCSON              Denver                    CO
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130211   KM8J3CA47KU874402   Hyundai       TUCSON              Elkridge                  MD
130212   KM8J3CA47KU881902   Hyundai       TUCSON              CHICAGO                   IL
130213   KM8J3CA47KU882158   Hyundai       TUCSON              Johnston                  RI
130214   KM8J3CA47KU888073   Hyundai       TUCSON              CHARLOTTE                 NC
130215   KM8J3CA47KU889398   Hyundai       TUCSON              SACRAMENTO                CA
130216   KM8J3CA47KU935649   Hyundai       TUCSON              Atlanta                   GA
130217   KM8J3CA47KU941533   Hyundai       TUCSON              MEMPHIS                   TN
130218   KM8J3CA47KU946313   Hyundai       TUCSON              Oklahoma City             OK
130219   KM8J3CA47KU946490   Hyundai       TUCSON              KNOXVILLE                 TN
130220   KM8J3CA47KU946683   Hyundai       TUCSON              CHICAGO                   IL
130221   KM8J3CA48JU600334   Hyundai       TUCSON              KENNER                    LA
130222   KM8J3CA48JU659500   Hyundai       TUCSON              DES PLAINES               IL
130223   KM8J3CA48JU670786   Hyundai       TUCSON              CHICAGO                   IL
130224   KM8J3CA48JU679875   Hyundai       TUCSON              Chicago                   IL
130225   KM8J3CA48JU679939   Hyundai       TUCSON              Dania                     FL
130226   KM8J3CA48JU702720   Hyundai       TUCSON              CHICAGO                   IL
130227   KM8J3CA48JU717282   Hyundai       TUCSON              KENNER                    LA
130228   KM8J3CA48JU743381   Hyundai       TUCSON              Richmond                  VA
130229   KM8J3CA48KU874585   Hyundai       TUCSON              Los Angeles               CA
130230   KM8J3CA48KU881830   Hyundai       TUCSON              SAN DIEGO                 CA
130231   KM8J3CA48KU881987   Hyundai       TUCSON              LOS ANGELES               CA
130232   KM8J3CA48KU889894   Hyundai       TUCSON              PORTLAND                  OR
130233   KM8J3CA48KU896179   Hyundai       TUCSON              ATLANTA                   GA
130234   KM8J3CA48KU954310   Hyundai       TUCSON              GRAND RAPIDS              MI
130235   KM8J3CA49JU614405   Hyundai       TUCSON              DALLAS                    TX
130236   KM8J3CA49JU626716   Hyundai       TUCSON              Harvey                    LA
130237   KM8J3CA49JU659098   Hyundai       TUCSON              Harvey                    LA
130238   KM8J3CA49JU674393   Hyundai       TUCSON              Slidell                   LA
130239   KM8J3CA49JU674829   Hyundai       TUCSON              LAPLACE                   LA
130240   KM8J3CA49JU679819   Hyundai       TUCSON              STERLING                  VA
130241   KM8J3CA49JU695714   Hyundai       TUCSON              HARVEY                    LA
130242   KM8J3CA49KU840316   Hyundai       TUCSON              SEATAC                    WA
130243   KM8J3CA49KU842163   Hyundai       TUCSON              SEATTLE                   WA
130244   KM8J3CA49KU851218   Hyundai       TUCSON              Burien                    WA
130245   KM8J3CA49KU854054   Hyundai       TUCSON              WEST PALM BEACH           FL
130246   KM8J3CA49KU856354   Hyundai       TUCSON              SALT LAKE CITY            UT
130247   KM8J3CA49KU856502   Hyundai       TUCSON              MIAMI                     FL
130248   KM8J3CA49KU865006   Hyundai       TUCSON              Warr Acres                OK
130249   KM8J3CA49KU874725   Hyundai       TUCSON              PHILADELPHIA              PA
130250   KM8J3CA49KU881125   Hyundai       TUCSON              SANTA ANA                 CA
130251   KM8J3CA49KU887765   Hyundai       TUCSON              KNOXVILLE                 TN
130252   KM8J3CA49KU887801   Hyundai       TUCSON              TAMPA                     FL
130253   KM8J3CA49KU888060   Hyundai       TUCSON              FORT MYERS                FL
130254   KM8J3CA49KU891587   Hyundai       TUCSON              ORLANDO                   FL
130255   KM8J3CA49KU935586   Hyundai       TUCSON              PENSACOLA                 FL
130256   KM8J3CA49LU116000   Hyundai       TUCSON              Warminster                PA
130257   KM8J3CA49LU137705   Hyundai       TUCSON              FORT MYERS                FL
130258   KM8J3CA4XJU649325   Hyundai       TUCSON              KENNER                    LA
130259   KM8J3CA4XJU669445   Hyundai       TUCSON              CHICAGO                   IL
130260   KM8J3CA4XJU678047   Hyundai       TUCSON              STERLING                  VA
130261   KM8J3CA4XJU684771   Hyundai       TUCSON              CHICAGO                   IL
130262   KM8J3CA4XJU701410   Hyundai       TUCSON              LOUISVILLE                KY
130263   KM8J3CA4XJU702637   Hyundai       TUCSON              CHICAGO                   IL
130264   KM8J3CA4XKU841233   Hyundai       TUCSON              Santa Clara               CA
130265   KM8J3CA4XKU844858   Hyundai       TUCSON              Philadelphia              PA
130266   KM8J3CA4XKU856458   Hyundai       TUCSON              Marietta                  GA
130267   KM8J3CA4XKU866522   Hyundai       TUCSON              MIAMI                     FL
130268   KM8J3CA4XKU877522   Hyundai       TUCSON              WEST PALM BEACH           FL
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130269   KM8J3CA4XKU881974   Hyundai       TUCSON              Euless                    TX
130270   KM8J3CA4XKU882073   Hyundai       TUCSON              LOS ANGELES               CA
130271   KM8J3CA4XKU882140   Hyundai       TUCSON              MIAMI                     FL
130272   KM8J3CA4XKU882428   Hyundai       TUCSON              LOS ANGELES               CA
130273   KM8J3CA4XKU891498   Hyundai       TUCSON              SEATAC                    WA
130274   KM8J3CA4XKU935564   Hyundai       TUCSON              SAINT PAUL                MN
130275   KM8J3CA4XKU935757   Hyundai       TUCSON              Atlanta                   GA
130276   KM8J3CA4XLU136045   Hyundai       TUCSON              Killeen                   TX
130277   KM8K12AA0KU208539   Hyundai       KONA                Hendersonville            TN
130278   KM8K12AA0KU209206   Hyundai       KONA                RICHMOND                  VA
130279   KM8K12AA0KU280793   Hyundai       KONA                SOUTHEAST DST OFFC        OK
130280   KM8K12AA0KU297187   Hyundai       KONA                FORT MYERS                FL
130281   KM8K12AA1KU266921   Hyundai       KONA                Clearwater                FL
130282   KM8K12AA1KU280883   Hyundai       KONA                TAMPA                     FL
130283   KM8K12AA1LU466036   Hyundai       KONA                FORT MYERS                FL
130284   KM8K12AA2KU266524   Hyundai       KONA                FORT MYERS                FL
130285   KM8K12AA2KU280939   Hyundai       KONA                Pensacola                 FL
130286   KM8K12AA2KU280987   Hyundai       KONA                ORLANDO                   FL
130287   KM8K12AA2KU281234   Hyundai       KONA                Stone Mountain            GA
130288   KM8K12AA2KU281623   Hyundai       KONA                N. Palm Beach             FL
130289   KM8K12AA2KU281685   Hyundai       KONA                NASHVILLE                 TN
130290   KM8K12AA2LU447253   Hyundai       KONA                FORT MYERS                FL
130291   KM8K12AA3KU265740   Hyundai       KONA                TAMPA                     US
130292   KM8K12AA3KU266855   Hyundai       KONA                TAMPA                     FL
130293   KM8K12AA3KU280223   Hyundai       KONA                FT LAUDERDALE             US
130294   KM8K12AA3KU280951   Hyundai       KONA                Atlanta                   GA
130295   KM8K12AA3KU281291   Hyundai       KONA                KENNER                    LA
130296   KM8K12AA3KU297362   Hyundai       KONA                MIAMI                     FL
130297   KM8K12AA3LU477040   Hyundai       KONA                FORT MYERS                FL
130298   KM8K12AA4KU280845   Hyundai       KONA                Massapequa                NY
130299   KM8K12AA4KU281350   Hyundai       KONA                Lynn                      MA
130300   KM8K12AA4KU281607   Hyundai       KONA                Windsor Locks             CT
130301   KM8K12AA4LU461025   Hyundai       KONA                FORT MYERS                FL
130302   KM8K12AA4LU465589   Hyundai       KONA                FORT MYERS                FL
130303   KM8K12AA5KU208083   Hyundai       KONA                Baltimore                 MD
130304   KM8K12AA5KU265450   Hyundai       KONA                Newark                    NJ
130305   KM8K12AA5KU266095   Hyundai       KONA                Clarksville               IN
130306   KM8K12AA5KU283995   Hyundai       KONA                ATLANTA                   GA
130307   KM8K12AA6KU209193   Hyundai       KONA                ORLANDO                   FL
130308   KM8K12AA6KU280863   Hyundai       KONA                MIAMI                     FL
130309   KM8K12AA6KU280975   Hyundai       KONA                SOUTHEAST DST OFFC        OK
130310   KM8K12AA6KU281012   Hyundai       KONA                Lynn                      MA
130311   KM8K12AA6KU281382   Hyundai       KONA                TAMPA                     FL
130312   KM8K12AA6KU281611   Hyundai       KONA                ORLANDO                   FL
130313   KM8K12AA6KU282693   Hyundai       KONA                CLEVELAND                 OH
130314   KM8K12AA6LU447286   Hyundai       KONA                FORT MYERS                FL
130315   KM8K12AA6LU507440   Hyundai       KONA                FORT MYERS                FL
130316   KM8K12AA7KU280788   Hyundai       KONA                Austell                   GA
130317   KM8K12AA7KU280869   Hyundai       KONA                Windsor Locks             CT
130318   KM8K12AA7KU281116   Hyundai       KONA                Rock Hill                 SC
130319   KM8K12AA7KU281164   Hyundai       KONA                ATLANTA AP                GA
130320   KM8K12AA7KU281357   Hyundai       KONA                RONKONKOMA                NY
130321   KM8K12AA7LU447314   Hyundai       KONA                FORT MYERS                FL
130322   KM8K12AA8KU266138   Hyundai       KONA                Atlanta                   GA
130323   KM8K12AA8KU280993   Hyundai       KONA                WEST PALM BEACH           FL
130324   KM8K12AA9KU196309   Hyundai       KONA                Torrance                  CA
130325   KM8K12AA9KU200360   Hyundai       KONA                ALBUQUERQUE               NM
130326   KM8K12AA9KU203436   Hyundai       KONA                LAS VEGAS                 NV
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130327   KM8K12AA9KU280162   Hyundai       KONA                Hebron                    KY
130328   KM8K12AA9KU280923   Hyundai       KONA                NASHVILLE                 TN
130329   KM8K12AAXKU203445   Hyundai       KONA                SAINT PAUL                MN
130330   KM8K12AAXKU280168   Hyundai       KONA                ORLANDO                   FL
130331   KM8K12AAXKU281210   Hyundai       KONA                MIAMI                     FL
130332   KM8K12AAXLU506422   Hyundai       KONA                FORT MYERS                FL
130333   KM8K1CAA0KU271355   Hyundai       KONA                SAN DIEGO                 US
130334   KM8K1CAA0KU294635   Hyundai       KONA                LAS VEGAS                 NV
130335   KM8K1CAA0KU295574   Hyundai       KONA                SACRAMENTO                CA
130336   KM8K1CAA0KU295624   Hyundai       KONA                LOS ANGELES               CA
130337   KM8K1CAA0KU296868   Hyundai       KONA                PHOENIX                   AZ
130338   KM8K1CAA0KU296952   Hyundai       KONA                DENVER                    CO
130339   KM8K1CAA0KU297020   Hyundai       KONA                FRESNO                    CA
130340   KM8K1CAA0KU297065   Hyundai       KONA                SAN FRANCISCO             CA
130341   KM8K1CAA0KU297177   Hyundai       KONA                MONTEREY                  CA
130342   KM8K1CAA0KU297194   Hyundai       KONA                DALLAS                    TX
130343   KM8K1CAA0KU297454   Hyundai       KONA                SAN DIEGO                 CA
130344   KM8K1CAA0KU326211   Hyundai       KONA                WEST COLUMBIA             SC
130345   KM8K1CAA0KU340514   Hyundai       KONA                Smithtown                 NY
130346   KM8K1CAA0KU340738   Hyundai       KONA                Coraopolis                PA
130347   KM8K1CAA0KU358771   Hyundai       KONA                BUFFALO                   NY
130348   KM8K1CAA1KU271252   Hyundai       KONA                FRESNO                    CA
130349   KM8K1CAA1KU275110   Hyundai       KONA                RALEIGH                   NC
130350   KM8K1CAA1KU295440   Hyundai       KONA                Riverside                 CA
130351   KM8K1CAA1KU296457   Hyundai       KONA                Hendersonville            TN
130352   KM8K1CAA1KU296815   Hyundai       KONA                Warminster                PA
130353   KM8K1CAA1KU296894   Hyundai       KONA                LOS ANGELES               CA
130354   KM8K1CAA1KU296992   Hyundai       KONA                DENVER                    CO
130355   KM8K1CAA1KU297043   Hyundai       KONA                ONTARIO                   CA
130356   KM8K1CAA1KU297317   Hyundai       KONA                DENVER                    CO
130357   KM8K1CAA1KU297804   Hyundai       KONA                Tulsa                     OK
130358   KM8K1CAA1KU297866   Hyundai       KONA                NEW BERN                  NC
130359   KM8K1CAA1KU340327   Hyundai       KONA                BUFFALO                   NY
130360   KM8K1CAA1KU340375   Hyundai       KONA                NEW BERN                  NC
130361   KM8K1CAA1KU340490   Hyundai       KONA                GREENSBORO                NC
130362   KM8K1CAA1KU345012   Hyundai       KONA                Warminster                PA
130363   KM8K1CAA1KU359055   Hyundai       KONA                Woodhaven                 MI
130364   KM8K1CAA2KU294622   Hyundai       KONA                DENVER                    CO
130365   KM8K1CAA2KU297200   Hyundai       KONA                Los Angeles               CA
130366   KM8K1CAA2KU298038   Hyundai       KONA                DENVER                    CO
130367   KM8K1CAA2KU340353   Hyundai       KONA                CHICAGO                   IL
130368   KM8K1CAA2KU341082   Hyundai       KONA                CHEEKTOWAGA               NY
130369   KM8K1CAA2KU345536   Hyundai       KONA                STERLING                  VA
130370   KM8K1CAA2KU353491   Hyundai       KONA                SPRINGFIELD               VA
130371   KM8K1CAA2KU359131   Hyundai       KONA                Philadelphia              PA
130372   KM8K1CAA2KU359288   Hyundai       KONA                PORTLAND                  ME
130373   KM8K1CAA3KU270975   Hyundai       KONA                SAN JOSE                  CA
130374   KM8K1CAA3KU275139   Hyundai       KONA                LOS ANGELES               CA
130375   KM8K1CAA3KU275156   Hyundai       KONA                Phoenix                   AZ
130376   KM8K1CAA3KU297027   Hyundai       KONA                PENSACOLA                 FL
130377   KM8K1CAA3KU297030   Hyundai       KONA                LAS VEGAS                 NV
130378   KM8K1CAA3KU297111   Hyundai       KONA                LOS ANGELES AP            CA
130379   KM8K1CAA3KU297156   Hyundai       KONA                SALT LAKE CITY            UT
130380   KM8K1CAA3KU297383   Hyundai       KONA                LOS ANGELES               CA
130381   KM8K1CAA3KU297691   Hyundai       KONA                KNOXVILLE                 TN
130382   KM8K1CAA3KU297738   Hyundai       KONA                LAS VEGAS                 NV
130383   KM8K1CAA3KU297819   Hyundai       KONA                LOS ANGELES               CA
130384   KM8K1CAA3KU298064   Hyundai       KONA                COLUMBUS                  OH
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130385   KM8K1CAA3KU340474   Hyundai       KONA                Woodhaven                 MI
130386   KM8K1CAA3KU341060   Hyundai       KONA                KNOXVILLE                 TN
130387   KM8K1CAA3KU341625   Hyundai       KONA                Bensalem                  PA
130388   KM8K1CAA3KU345433   Hyundai       KONA                DETROIT                   MI
130389   KM8K1CAA3KU345559   Hyundai       KONA                MEDINA                    OH
130390   KM8K1CAA4KU274937   Hyundai       KONA                LOS ANGELES               CA
130391   KM8K1CAA4KU296341   Hyundai       KONA                DENVER                    CO
130392   KM8K1CAA4KU296422   Hyundai       KONA                DENVER                    CO
130393   KM8K1CAA4KU297098   Hyundai       KONA                DENVER                    CO
130394   KM8K1CAA4KU297747   Hyundai       KONA                SANTA BARBARA             CA
130395   KM8K1CAA4KU297800   Hyundai       KONA                PASADENA                  CA
130396   KM8K1CAA4KU340628   Hyundai       KONA                Winston‐Salem             NC
130397   KM8K1CAA4KU341326   Hyundai       KONA                Windsor Locks             CT
130398   KM8K1CAA5KU275014   Hyundai       KONA                LOS ANGELES               CA
130399   KM8K1CAA5KU295733   Hyundai       KONA                SALT LAKE CITY            US
130400   KM8K1CAA5KU296851   Hyundai       KONA                BURBANK                   CA
130401   KM8K1CAA5KU296929   Hyundai       KONA                LAS VEGAS                 NV
130402   KM8K1CAA5KU297062   Hyundai       KONA                STOCKTON                  CA
130403   KM8K1CAA5KU297093   Hyundai       KONA                SANTA CLARA               CA
130404   KM8K1CAA5KU297336   Hyundai       KONA                Warminster                PA
130405   KM8K1CAA5KU340329   Hyundai       KONA                SANFORD                   FL
130406   KM8K1CAA5KU340427   Hyundai       KONA                Rockville Centr           NY
130407   KM8K1CAA5KU345062   Hyundai       KONA                Leesburg                  VA
130408   KM8K1CAA5KU345188   Hyundai       KONA                Windsor Locks             CT
130409   KM8K1CAA6KU275328   Hyundai       KONA                DALLAS                    TX
130410   KM8K1CAA6KU296518   Hyundai       KONA                LOS ANGELES               CA
130411   KM8K1CAA6KU296826   Hyundai       KONA                CHARLOTTE                 NC
130412   KM8K1CAA6KU296941   Hyundai       KONA                SANTA ANA                 CA
130413   KM8K1CAA6KU297121   Hyundai       KONA                BURBANK                   CA
130414   KM8K1CAA6KU297300   Hyundai       KONA                CLEVELAND                 OH
130415   KM8K1CAA6KU297331   Hyundai       KONA                STERLING                  VA
130416   KM8K1CAA6KU340498   Hyundai       KONA                Hanover                   MD
130417   KM8K1CAA7KU275161   Hyundai       KONA                Anaheim                   CA
130418   KM8K1CAA7KU296821   Hyundai       KONA                LAS VEGAS                 NV
130419   KM8K1CAA7KU296835   Hyundai       KONA                DENVER                    CO
130420   KM8K1CAA7KU296849   Hyundai       KONA                Kansas City               MO
130421   KM8K1CAA7KU296947   Hyundai       KONA                Riverside                 CA
130422   KM8K1CAA7KU296950   Hyundai       KONA                SALT LAKE CITY            US
130423   KM8K1CAA7KU297015   Hyundai       KONA                Scottsdale                AZ
130424   KM8K1CAA7KU297032   Hyundai       KONA                LOS ANGELES               CA
130425   KM8K1CAA7KU297144   Hyundai       KONA                Colorado Spring           CO
130426   KM8K1CAA7KU297158   Hyundai       KONA                Englewood                 CO
130427   KM8K1CAA7KU297323   Hyundai       KONA                STERLING                  VA
130428   KM8K1CAA7KU340543   Hyundai       KONA                Smithtown                 NY
130429   KM8K1CAA7KU340638   Hyundai       KONA                SPRINGFIELD               VA
130430   KM8K1CAA7KU345371   Hyundai       KONA                CHEEKTOWAGA               NY
130431   KM8K1CAA7KU357892   Hyundai       KONA                PHILADELPHIA              PA
130432   KM8K1CAA8KU274908   Hyundai       KONA                KNOXVILLE                 TN
130433   KM8K1CAA8KU275251   Hyundai       KONA                Phoenix                   AZ
130434   KM8K1CAA8KU275279   Hyundai       KONA                Salt Lake City            UT
130435   KM8K1CAA8KU295497   Hyundai       KONA                NORTH PAC                 CA
130436   KM8K1CAA8KU297136   Hyundai       KONA                INDIANAPOLIS              IN
130437   KM8K1CAA8KU297167   Hyundai       KONA                KENNER                    LA
130438   KM8K1CAA8KU297265   Hyundai       KONA                Chicago                   IL
130439   KM8K1CAA8KU297282   Hyundai       KONA                LAS VEGAS                 NV
130440   KM8K1CAA8KU298044   Hyundai       KONA                PHILADELPHIA              PA
130441   KM8K1CAA8KU340437   Hyundai       KONA                PEMBROKE                  MA
130442   KM8K1CAA8KU340762   Hyundai       KONA                Massapequa                NY
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130443   KM8K1CAA8KU341295   Hyundai       KONA                SOUTH BEND                IN
130444   KM8K1CAA8KU360056   Hyundai       KONA                SYRACUSE                  NY
130445   KM8K1CAA9KU296528   Hyundai       KONA                SACRAMENTO                CA
130446   KM8K1CAA9KU296934   Hyundai       KONA                LOUISVILLE                KY
130447   KM8K1CAA9KU297128   Hyundai       KONA                FRESNO                    CA
130448   KM8K1CAA9KU297811   Hyundai       KONA                ALTOONA                   PA
130449   KM8K1CAA9KU297985   Hyundai       KONA                ONTARIO                   CA
130450   KM8K1CAA9KU341080   Hyundai       KONA                BUFFALO                   NY
130451   KM8K1CAA9KU341564   Hyundai       KONA                CHAMBERSBURG              PA
130452   KM8K1CAA9KU359028   Hyundai       KONA                STERLING                  VA
130453   KM8K1CAAXKU257043   Hyundai       KONA                FRESNO                    CA
130454   KM8K1CAAXKU271203   Hyundai       KONA                SAN DIEGO                 US
130455   KM8K1CAAXKU294514   Hyundai       KONA                Anaheim                   CA
130456   KM8K1CAAXKU295730   Hyundai       KONA                EL PASO                   TX
130457   KM8K1CAAXKU297008   Hyundai       KONA                LOS ANGELES AP            CA
130458   KM8K1CAAXKU297073   Hyundai       KONA                Riverside                 CA
130459   KM8K1CAAXKU297431   Hyundai       KONA                LOS ANGELES               CA
130460   KM8K1CAAXKU297817   Hyundai       KONA                BIRMINGHAN                AL
130461   KM8K1CAAXKU297932   Hyundai       KONA                Sacramento                CA
130462   KM8K1CAAXKU326099   Hyundai       KONA                CHICAGO                   IL
130463   KM8K1CAAXKU341069   Hyundai       KONA                NEW BERN                  NC
130464   KM8SM4HFXHU229962   Hyundai       SANTA               Los Angeles               CA
130465   KMHCT4AE0HU308663   Hyundai       ACCENT
130466   KMHCT4AE0HU310672   Hyundai       ACCENT              TUCSON                    AZ
130467   KMHCT4AE4HU221722   Hyundai       ACCENT              KENNER                    LA
130468   KMHCT4AE4HU317088   Hyundai       ACCENT              KANSAS CITY               MO
130469   KMHCT4AE9HU361538   Hyundai       ACCENT              Harvey                    LA
130470   KMHCT4AEXHU290883   Hyundai       ACCENT              TRACY                     CA
130471   KMHCT5AE6HU349871   Hyundai       ACCENT              Schaumburg                IL
130472   KMHD04LB9HU359823   Hyundai       ELANTRA             Mira Loma                 CA
130473   KMHD35LH1GU317534   Hyundai       ELANTRA             LOS ANGELES AP            CA
130474   KMHD35LH2GU311418   Hyundai       ELANTRA             Torrance                  CA
130475   KMHD35LH6HU384356   Hyundai       ELANTRA             DES PLAINES               IL
130476   KMHD35LH8HU384472   Hyundai       ELANTRA             CHICAGO O'HARE AP         IL
130477   KMHD35LH9GU252111   Hyundai       ELANTRA             LOS ANGELES               CA
130478   KMHD74LF0HU123169   Hyundai       ELANTRA             Woodhaven                 MI
130479   KMHD74LF0JU630403   Hyundai       ELANTRA             LAS VEGAS                 NV
130480   KMHD74LF0KU823815   Hyundai       ELANTRA             WEST PALM BEACH           FL
130481   KMHD74LF1HU194137   Hyundai       ELANTRA             SAN JOSE                  CA
130482   KMHD74LF1HU362326   Hyundai       ELANTRA             Stone Mountain            GA
130483   KMHD74LF2HU064657   Hyundai       ELANTRA             Manheim                   PA
130484   KMHD74LF2HU064691   Hyundai       ELANTRA             Johnston                  RI
130485   KMHD74LF3HU114546   Hyundai       ELANTRA             Johnston                  RI
130486   KMHD74LF3HU149796   Hyundai       ELANTRA             PROVIDENCE                RI
130487   KMHD74LF3HU176402   Hyundai       ELANTRA             Miami                     FL
130488   KMHD74LF3KU779177   Hyundai       ELANTRA             PITTSBURGH                PA
130489   KMHD74LF3KU798862   Hyundai       ELANTRA             DALLAS                    TX
130490   KMHD74LF3KU839331   Hyundai       ELANTRA             KNOXVILLE                 TN
130491   KMHD74LF4HU116676   Hyundai       ELANTRA             FORT LAUDERDALE           FL
130492   KMHD74LF4HU211528   Hyundai       ELANTRA             Warminster                PA
130493   KMHD74LF4KU779186   Hyundai       ELANTRA             SAN FRANCISCO             CA
130494   KMHD74LF5HU061252   Hyundai       ELANTRA             Birmingham                AL
130495   KMHD74LF5HU128576   Hyundai       ELANTRA             SAN ANTONIO               TX
130496   KMHD74LF5HU328910   Hyundai       ELANTRA             Nashville                 TN
130497   KMHD74LF6HU119577   Hyundai       ELANTRA             HANOVER                   MD
130498   KMHD74LF6HU160159   Hyundai       ELANTRA             Tolleson                  AZ
130499   KMHD74LF6KU796216   Hyundai       ELANTRA             DENVER                    CO
130500   KMHD74LF6KU816769   Hyundai       ELANTRA             Denver                    CO
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130501   KMHD74LF6KU825990   Hyundai       ELANTRA             TAMPA                     FL
130502   KMHD74LF7HU126795   Hyundai       ELANTRA             Austell                   GA
130503   KMHD74LF7HU400044   Hyundai       ELANTRA             ORLANDO                   FL
130504   KMHD74LF7HU408466   Hyundai       ELANTRA             TAMPA                     FL
130505   KMHD74LF8HU115479   Hyundai       ELANTRA             Hamilton                  OH
130506   KMHD74LF8HU120911   Hyundai       ELANTRA             Indianapolis              IN
130507   KMHD74LF8HU164293   Hyundai       ELANTRA             SAN FRANCISCO             CA
130508   KMHD74LF8KU797318   Hyundai       ELANTRA             Cedar Rapids              IA
130509   KMHD74LF9HU152797   Hyundai       ELANTRA             Hebron                    KY
130510   KMHD74LF9KU838961   Hyundai       ELANTRA             Chicago                   IL
130511   KMHD74LFXHU398998   Hyundai       ELANTRA             ORLANDO                   FL
130512   KMHD74LFXKU804379   Hyundai       ELANTRA             Dallas                    TX
130513   KMHD74LFXKU809047   Hyundai       ELANTRA             TAMPA                     FL
130514   KMHD74LFXKU839018   Hyundai       ELANTRA             Hayward                   CA
130515   KMHD84LF0HU200653   Hyundai       ELANTRA             Schaumburg                IL
130516   KMHD84LF0HU225567   Hyundai       ELANTRA             Columbus                  OH
130517   KMHD84LF0HU377039   Hyundai       ELANTRA             Las Vegas                 NV
130518   KMHD84LF0KU766853   Hyundai       ELANTRA             SAN JOSE                  CA
130519   KMHD84LF0KU810026   Hyundai       ELANTRA             Jamaica                   NY
130520   KMHD84LF1HU191266   Hyundai       ELANTRA             Hebron                    KY
130521   KMHD84LF1HU209488   Hyundai       ELANTRA             SPRINGFIELD               VA
130522   KMHD84LF1HU276883   Hyundai       ELANTRA             Davie                     FL
130523   KMHD84LF1JU525205   Hyundai       ELANTRA             LAS VEGAS                 NV
130524   KMHD84LF1KU735143   Hyundai       ELANTRA             SAN FRANCISCO             CA
130525   KMHD84LF1KU764528   Hyundai       ELANTRA             Norwalk                   CA
130526   KMHD84LF1KU779269   Hyundai       ELANTRA             Woodhaven                 MI
130527   KMHD84LF2HU064462   Hyundai       ELANTRA             ORLANDO                   FL
130528   KMHD84LF2HU069774   Hyundai       ELANTRA             PHOENIX                   AZ
130529   KMHD84LF2HU151388   Hyundai       ELANTRA             SAVANNAH                  GA
130530   KMHD84LF2HU384820   Hyundai       ELANTRA             BURBANK                   CA
130531   KMHD84LF2KU737404   Hyundai       ELANTRA             Scottsdale                AZ
130532   KMHD84LF2KU746569   Hyundai       ELANTRA             SAN DIEGO                 CA
130533   KMHD84LF3HU141484   Hyundai       ELANTRA             Elkridge                  MD
130534   KMHD84LF3HU155949   Hyundai       ELANTRA             Harvey                    LA
130535   KMHD84LF3HU192094   Hyundai       ELANTRA             LAS VEGAS                 NV
130536   KMHD84LF3KU759055   Hyundai       ELANTRA             Clearwater                FL
130537   KMHD84LF3KU798888   Hyundai       ELANTRA             FORT MYERS                FL
130538   KMHD84LF4HU063796   Hyundai       ELANTRA             Pasadena                  CA
130539   KMHD84LF4HU214104   Hyundai       ELANTRA             Chicago                   IL
130540   KMHD84LF4JU620891   Hyundai       ELANTRA             Stockton                  CA
130541   KMHD84LF4KU781923   Hyundai       ELANTRA             Schaumburg                IL
130542   KMHD84LF4KU811891   Hyundai       ELANTRA             Bensalem                  PA
130543   KMHD84LF5HU075553   Hyundai       ELANTRA             Fredericksburg            VA
130544   KMHD84LF5HU105408   Hyundai       ELANTRA             Dallas                    TX
130545   KMHD84LF5HU194977   Hyundai       ELANTRA             Tulsa                     OK
130546   KMHD84LF5HU272531   Hyundai       ELANTRA             ORLANDO                   FL
130547   KMHD84LF5KU737915   Hyundai       ELANTRA             Phoenix                   AZ
130548   KMHD84LF5KU809485   Hyundai       ELANTRA             Winter Park               FL
130549   KMHD84LF5KU816663   Hyundai       ELANTRA             Rockville Centr           NY
130550   KMHD84LF6HU182885   Hyundai       ELANTRA             Davie                     FL
130551   KMHD84LF6HU227890   Hyundai       ELANTRA             CHANDLER                  AZ
130552   KMHD84LF6KU754867   Hyundai       ELANTRA             SAN FRANCISCO             CA
130553   KMHD84LF6KU763830   Hyundai       ELANTRA             MELROSE PARK              IL
130554   KMHD84LF6KU781325   Hyundai       ELANTRA             Dallas                    TX
130555   KMHD84LF6KU784709   Hyundai       ELANTRA             Phoenix                   AZ
130556   KMHD84LF6KU801122   Hyundai       ELANTRA             Milwaukee                 WI
130557   KMHD84LF6KU810077   Hyundai       ELANTRA             Colorado Spring           CO
130558   KMHD84LF7HU164153   Hyundai       ELANTRA             Hartford                  CT
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130559   KMHD84LF7HU206045   Hyundai       ELANTRA             Culpeper                  VA
130560   KMHD84LF7KU810184   Hyundai       ELANTRA             Charlotte                 NC
130561   KMHD84LF8HU061162   Hyundai       ELANTRA             Hamilton                  OH
130562   KMHD84LF8HU076034   Hyundai       ELANTRA             ORLANDO                   FL
130563   KMHD84LF8HU099135   Hyundai       ELANTRA             DES PLAINES               IL
130564   KMHD84LF8HU182855   Hyundai       ELANTRA             ORLANDO                   FL
130565   KMHD84LF8JU614477   Hyundai       ELANTRA             Salt Lake City            UT
130566   KMHD84LF8JU677417   Hyundai       ELANTRA             LOS ANGELES               CA
130567   KMHD84LF8KU786462   Hyundai       ELANTRA             MELROSE PARK              IL
130568   KMHD84LF8KU801168   Hyundai       ELANTRA             KNOXVILLE                 TN
130569   KMHD84LF9HU148746   Hyundai       ELANTRA             Mira Loma                 CA
130570   KMHD84LF9HU164364   Hyundai       ELANTRA             ELKRIDGE                  MD
130571   KMHD84LF9HU169905   Hyundai       ELANTRA             ORLANDO                   FL
130572   KMHD84LF9HU214132   Hyundai       ELANTRA             Las Vegas                 NV
130573   KMHD84LF9HU271852   Hyundai       ELANTRA             Orlando                   FL
130574   KMHD84LF9KU761814   Hyundai       ELANTRA             Riverside                 CA
130575   KMHD84LF9KU779276   Hyundai       ELANTRA             ST Paul                   MN
130576   KMHD84LF9KU782677   Hyundai       ELANTRA             SEATTLE                   WA
130577   KMHD84LF9KU809053   Hyundai       ELANTRA             Johnston                  RI
130578   KMHD84LF9KU809165   Hyundai       ELANTRA             Maple Grove               MN
130579   KMHD84LF9KU812471   Hyundai       ELANTRA             MCALLEN                   TX
130580   KMHD84LFXHU063544   Hyundai       ELANTRA             Miami                     FL
130581   KMHD84LFXHU067237   Hyundai       ELANTRA             DES MOINES                IA
130582   KMHD84LFXHU164177   Hyundai       ELANTRA             NORTH PAC                 CA
130583   KMHD84LFXKU814245   Hyundai       ELANTRA             Webster                   NY
130584   KMHD84LFXKU818909   Hyundai       ELANTRA             Tampa                     FL
130585   KMHDH4AE3GU593539   Hyundai       ELANTRA             Lake Elsinore             CA
130586   KMHDH4AE4GU489920   Hyundai       ELANTRA             SHREVEPORT                LA
130587   KMHDH4AE4GU598894   Hyundai       ELANTRA             FORT MYERS                FL
130588   KMHDH4AE5GU481647   Hyundai       ELANTRA             PHOENIX                   AZ
130589   KMHDH4AE6FU298322   Hyundai       ELANTRA             RALEIGH                   NC
130590   KMHDH4AE6FU360950   Hyundai       ELANTRA             PHOENIX                   AZ
130591   KMHDH4AE7GU623528   Hyundai       ELANTRA             SEATAC                    WA
130592   KMHDH4AE7GU634335   Hyundai       ELANTRA             NORTH PAC                 CA
130593   KMHDH4AE9GU650973   Hyundai       ELANTRA             CLEVELAND                 OH
130594   KMHDH4AEXGU568184   Hyundai       ELANTRA             FORT LAUDERDALE           FL
130595   KMHDH4AH9FU382922   Hyundai       ELANTRA             Newark                    NJ
130596   KMHE24L31HA064207   Hyundai       SONATA              BURBANK                   CA
130597   KMHE24L32HA063373   Hyundai       SONATA              Seattle                   WA
130598   KMHE24L33HA064872   Hyundai       SONATA              SANTA ANA                 CA
130599   KMHH35LE8JU027483   Hyundai       ELANTRA             LOS ANGELES               CA
130600   KMHH35LEXJU069198   Hyundai       ELANTRA             Oklahoma City             OK
130601   KMHTC6AD3GU292900   Hyundai       VELOSTER            LAS VEGAS                 NV
130602   KMHTC6AD7HU319890   Hyundai       VELOSTER            Rock Hill                 SC
130603   KMHTG6AF0KU012171   Hyundai       VELOSTER            CLEVELAND                 OH
130604   KMHTG6AF0KU014986   Hyundai       VELOSTER            JAMAICA                   NY
130605   KMHTG6AF0KU016379   Hyundai       VELOSTER            ORLANDO                   FL
130606   KMHTG6AF0KU016558   Hyundai       VELOSTER            HOLLY HILL                FL
130607   KMHTG6AF0KU016625   Hyundai       VELOSTER            Beaverton                 OR
130608   KMHTG6AF0KU016642   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130609   KMHTG6AF0KU016852   Hyundai       VELOSTER            Elgin                     IL
130610   KMHTG6AF0KU016902   Hyundai       VELOSTER            MIAMI                     FL
130611   KMHTG6AF0KU016995   Hyundai       VELOSTER            TAMPA                     FL
130612   KMHTG6AF0KU017029   Hyundai       VELOSTER            WEST PALM BEACH           FL
130613   KMHTG6AF0KU017130   Hyundai       VELOSTER            SARASOTA                  FL
130614   KMHTG6AF0KU017287   Hyundai       VELOSTER            ORLANDO                   FL
130615   KMHTG6AF0KU017290   Hyundai       VELOSTER            TAMPA                     FL
130616   KMHTG6AF0KU017323   Hyundai       VELOSTER            FORT MYERS                FL
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130617   KMHTG6AF0KU017340   Hyundai       VELOSTER            WEST PALM BEACH           FL
130618   KMHTG6AF0KU017404   Hyundai       VELOSTER            SARASOTA                  FL
130619   KMHTG6AF0KU017452   Hyundai       VELOSTER            TAMPA                     FL
130620   KMHTG6AF0KU017550   Hyundai       VELOSTER            ORLANDO                   FL
130621   KMHTG6AF0KU017709   Hyundai       VELOSTER            MIAMI                     FL
130622   KMHTG6AF0KU017886   Hyundai       VELOSTER            TAMPA                     FL
130623   KMHTG6AF0KU017953   Hyundai       VELOSTER            ORLANDO                   FL
130624   KMHTG6AF0KU019718   Hyundai       VELOSTER            Phoenix                   AZ
130625   KMHTG6AF0KU019783   Hyundai       VELOSTER            Beaverton                 OR
130626   KMHTG6AF1KU015712   Hyundai       VELOSTER            TAMPA                     US
130627   KMHTG6AF1KU016360   Hyundai       VELOSTER            SARASOTA                  FL
130628   KMHTG6AF1KU016584   Hyundai       VELOSTER            TAMPA                     FL
130629   KMHTG6AF1KU016729   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130630   KMHTG6AF1KU016827   Hyundai       VELOSTER            ORLANDO                   FL
130631   KMHTG6AF1KU017038   Hyundai       VELOSTER            MIAMI                     FL
130632   KMHTG6AF1KU017069   Hyundai       VELOSTER            ORLANDO                   FL
130633   KMHTG6AF1KU017119   Hyundai       VELOSTER            TAMPA                     FL
130634   KMHTG6AF1KU017184   Hyundai       VELOSTER            JACKSONVILLE              FL
130635   KMHTG6AF1KU017251   Hyundai       VELOSTER            PHOENIX                   AZ
130636   KMHTG6AF1KU017279   Hyundai       VELOSTER            TAMPA                     FL
130637   KMHTG6AF1KU017301   Hyundai       VELOSTER            WEST PALM BEACH           FL
130638   KMHTG6AF1KU017315   Hyundai       VELOSTER            TAMPA                     FL
130639   KMHTG6AF1KU017329   Hyundai       VELOSTER            MIAMI                     FL
130640   KMHTG6AF1KU017363   Hyundai       VELOSTER            TAMPA                     FL
130641   KMHTG6AF1KU017394   Hyundai       VELOSTER            WEST PALM BEACH           FL
130642   KMHTG6AF1KU017458   Hyundai       VELOSTER            TAMPA                     FL
130643   KMHTG6AF1KU017461   Hyundai       VELOSTER            JACKSONVILLE              FL
130644   KMHTG6AF1KU017556   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130645   KMHTG6AF1KU017606   Hyundai       VELOSTER            Warr Acres                OK
130646   KMHTG6AF1KU017654   Hyundai       VELOSTER            EULESS                    TX
130647   KMHTG6AF1KU017878   Hyundai       VELOSTER            FORT MYERS                FL
130648   KMHTG6AF1KU017962   Hyundai       VELOSTER            WEST PALM BEACH           FL
130649   KMHTG6AF1KU018478   Hyundai       VELOSTER            Irving                    TX
130650   KMHTG6AF1KU018514   Hyundai       VELOSTER            Davie                     FL
130651   KMHTG6AF1KU018562   Hyundai       VELOSTER            PHILADELPHIA              PA
130652   KMHTG6AF1KU018710   Hyundai       VELOSTER            Salt Lake City            UT
130653   KMHTG6AF1KU019372   Hyundai       VELOSTER            Phoenix                   AZ
130654   KMHTG6AF1KU019775   Hyundai       VELOSTER            Denver                    CO
130655   KMHTG6AF2KU012656   Hyundai       VELOSTER            WEST PALM BEACH           FL
130656   KMHTG6AF2KU016352   Hyundai       VELOSTER            TAMPA                     FL
130657   KMHTG6AF2KU016545   Hyundai       VELOSTER            MIAMI                     FL
130658   KMHTG6AF2KU016562   Hyundai       VELOSTER            Miami                     FL
130659   KMHTG6AF2KU016819   Hyundai       VELOSTER            WEST PALM BEACH           FL
130660   KMHTG6AF2KU016903   Hyundai       VELOSTER            MIAMI                     FL
130661   KMHTG6AF2KU016920   Hyundai       VELOSTER            TAMPA                     FL
130662   KMHTG6AF2KU017226   Hyundai       VELOSTER            Miami                     FL
130663   KMHTG6AF2KU017260   Hyundai       VELOSTER            FORT MYERS                FL
130664   KMHTG6AF2KU017274   Hyundai       VELOSTER            TAMPA                     US
130665   KMHTG6AF2KU017288   Hyundai       VELOSTER            FORT MYERS                FL
130666   KMHTG6AF2KU017307   Hyundai       VELOSTER            FORT MYERS                FL
130667   KMHTG6AF2KU017338   Hyundai       VELOSTER            TAMPA                     FL
130668   KMHTG6AF2KU017372   Hyundai       VELOSTER            SOUTHEAST DST OFFC        OK
130669   KMHTG6AF2KU017386   Hyundai       VELOSTER            TAMPA                     US
130670   KMHTG6AF2KU017419   Hyundai       VELOSTER            Austell                   GA
130671   KMHTG6AF2KU017520   Hyundai       VELOSTER            ORLANDO                   FL
130672   KMHTG6AF2KU017534   Hyundai       VELOSTER            FORT MYERS                FL
130673   KMHTG6AF2KU017548   Hyundai       VELOSTER            ORLANDO                   FL
130674   KMHTG6AF2KU018201   Hyundai       VELOSTER            SARASOTA                  FL
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130675   KMHTG6AF3KU013122   Hyundai       VELOSTER            PHOENIX                   AZ
130676   KMHTG6AF3KU016585   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130677   KMHTG6AF3KU016599   Hyundai       VELOSTER            MIAMI                     FL
130678   KMHTG6AF3KU016716   Hyundai       VELOSTER            ORLANDO                   FL
130679   KMHTG6AF3KU016800   Hyundai       VELOSTER            ORLANDO                   FL
130680   KMHTG6AF3KU016828   Hyundai       VELOSTER            ORLANDO                   FL
130681   KMHTG6AF3KU016909   Hyundai       VELOSTER            ORLANDO                   FL
130682   KMHTG6AF3KU016912   Hyundai       VELOSTER            ORLANDO                   FL
130683   KMHTG6AF3KU016943   Hyundai       VELOSTER            JACKSONVILLE              FL
130684   KMHTG6AF3KU017011   Hyundai       VELOSTER            JACKSONVILLE              FL
130685   KMHTG6AF3KU017087   Hyundai       VELOSTER            FORT MYERS                FL
130686   KMHTG6AF3KU017140   Hyundai       VELOSTER            MIAMI                     FL
130687   KMHTG6AF3KU017185   Hyundai       VELOSTER            Houston                   TX
130688   KMHTG6AF3KU017266   Hyundai       VELOSTER            ORLANDO                   FL
130689   KMHTG6AF3KU017283   Hyundai       VELOSTER            Wichita                   KS
130690   KMHTG6AF3KU017302   Hyundai       VELOSTER            TAMPA                     US
130691   KMHTG6AF3KU017364   Hyundai       VELOSTER            JACKSONVILLE              FL
130692   KMHTG6AF3KU017381   Hyundai       VELOSTER            FT. LAUDERDALE            FL
130693   KMHTG6AF3KU017445   Hyundai       VELOSTER            ORLANDO                   FL
130694   KMHTG6AF3KU017512   Hyundai       VELOSTER            Tulsa                     OK
130695   KMHTG6AF3KU017543   Hyundai       VELOSTER            Miami                     FL
130696   KMHTG6AF3KU017896   Hyundai       VELOSTER            ORLANDO                   FL
130697   KMHTG6AF3KU018059   Hyundai       VELOSTER            ORLANDO                   FL
130698   KMHTG6AF3KU018272   Hyundai       VELOSTER            Tucson                    AZ
130699   KMHTG6AF3KU018403   Hyundai       VELOSTER            Houston                   TX
130700   KMHTG6AF3KU018479   Hyundai       VELOSTER            San Antonio               TX
130701   KMHTG6AF3KU019342   Hyundai       VELOSTER            Beaverton                 OR
130702   KMHTG6AF3KU019731   Hyundai       VELOSTER            Portland                  OR
130703   KMHTG6AF4KU015686   Hyundai       VELOSTER            JACKSONVILLE              FL
130704   KMHTG6AF4KU016854   Hyundai       VELOSTER            ORLANDO                   FL
130705   KMHTG6AF4KU016899   Hyundai       VELOSTER            Winter Park               FL
130706   KMHTG6AF4KU016904   Hyundai       VELOSTER            Marietta                  GA
130707   KMHTG6AF4KU017003   Hyundai       VELOSTER            TAMPA                     FL
130708   KMHTG6AF4KU017163   Hyundai       VELOSTER            JACKSONVILLE              FL
130709   KMHTG6AF4KU017180   Hyundai       VELOSTER            Maple Grove               MN
130710   KMHTG6AF4KU017440   Hyundai       VELOSTER            MIAMI                     FL
130711   KMHTG6AF4KU017454   Hyundai       VELOSTER            Florissant                MO
130712   KMHTG6AF4KU017552   Hyundai       VELOSTER            FORT MYERS                FL
130713   KMHTG6AF4KU017566   Hyundai       VELOSTER            COLUMBIA                  SC
130714   KMHTG6AF4KU017583   Hyundai       VELOSTER            JACKSONVILLE              FL
130715   KMHTG6AF4KU017602   Hyundai       VELOSTER            Darlington                SC
130716   KMHTG6AF4KU018362   Hyundai       VELOSTER            PHOENIX                   AZ
130717   KMHTG6AF4KU018569   Hyundai       VELOSTER            Kansas City               MO
130718   KMHTG6AF5KU014806   Hyundai       VELOSTER            SARASOTA                  FL
130719   KMHTG6AF5KU016345   Hyundai       VELOSTER            JACKSONVILLE              FL
130720   KMHTG6AF5KU016362   Hyundai       VELOSTER            TAMPA                     FL
130721   KMHTG6AF5KU016572   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130722   KMHTG6AF5KU016863   Hyundai       VELOSTER            ORLANDO                   FL
130723   KMHTG6AF5KU016894   Hyundai       VELOSTER            Hamilton                  OH
130724   KMHTG6AF5KU016913   Hyundai       VELOSTER            MIAMI                     FL
130725   KMHTG6AF5KU016944   Hyundai       VELOSTER            ORLANDO                   FL
130726   KMHTG6AF5KU016958   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130727   KMHTG6AF5KU017141   Hyundai       VELOSTER            Houston                   TX
130728   KMHTG6AF5KU017155   Hyundai       VELOSTER            FT. LAUDERDALE            FL
130729   KMHTG6AF5KU017169   Hyundai       VELOSTER            ORLANDO                   FL
130730   KMHTG6AF5KU017172   Hyundai       VELOSTER            MIAMI                     FL
130731   KMHTG6AF5KU017267   Hyundai       VELOSTER            JACKSONVILLE              FL
130732   KMHTG6AF5KU017303   Hyundai       VELOSTER            TAMPA                     FL
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130733   KMHTG6AF5KU017317   Hyundai       VELOSTER            MIAMI                     FL
130734   KMHTG6AF5KU017351   Hyundai       VELOSTER            RONKONKOMA                NY
130735   KMHTG6AF5KU017463   Hyundai       VELOSTER            JACKSONVILLE              FL
130736   KMHTG6AF5KU017575   Hyundai       VELOSTER            FORT MYERS                FL
130737   KMHTG6AF5KU017687   Hyundai       VELOSTER            MIAMI                     FL
130738   KMHTG6AF5KU018421   Hyundai       VELOSTER            SARASOTA                  FL
130739   KMHTG6AF5KU018547   Hyundai       VELOSTER            DURYEA                    PA
130740   KMHTG6AF5KU018581   Hyundai       VELOSTER            DAVIE                     FL
130741   KMHTG6AF5KU018600   Hyundai       VELOSTER            Lafayette                 LA
130742   KMHTG6AF5KU018614   Hyundai       VELOSTER            SANTA ANA                 CA
130743   KMHTG6AF5KU018659   Hyundai       VELOSTER            SAN DIEGO                 CA
130744   KMHTG6AF6KU014989   Hyundai       VELOSTER            MIAMI                     FL
130745   KMHTG6AF6KU016368   Hyundai       VELOSTER            DAYTON                    OH
130746   KMHTG6AF6KU016709   Hyundai       VELOSTER            SEATAC                    WA
130747   KMHTG6AF6KU016726   Hyundai       VELOSTER            Birmingham                AL
130748   KMHTG6AF6KU016743   Hyundai       VELOSTER            ORLANDO                   FL
130749   KMHTG6AF6KU016838   Hyundai       VELOSTER            MIAMI                     FL
130750   KMHTG6AF6KU016841   Hyundai       VELOSTER            HARLEYVILLE               SC
130751   KMHTG6AF6KU016886   Hyundai       VELOSTER            ORLANDO                   FL
130752   KMHTG6AF6KU016922   Hyundai       VELOSTER            FORT MYERS                FL
130753   KMHTG6AF6KU016936   Hyundai       VELOSTER            WEST PALM BEACH           FL
130754   KMHTG6AF6KU016970   Hyundai       VELOSTER            CHARLOTTE                 NC
130755   KMHTG6AF6KU017097   Hyundai       VELOSTER            TAMPA                     FL
130756   KMHTG6AF6KU017133   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130757   KMHTG6AF6KU017147   Hyundai       VELOSTER            FORT MYERS                FL
130758   KMHTG6AF6KU017150   Hyundai       VELOSTER            MIAMI                     FL
130759   KMHTG6AF6KU017231   Hyundai       VELOSTER            ORLANDO                   FL
130760   KMHTG6AF6KU017245   Hyundai       VELOSTER            JACKSONVILLE              FL
130761   KMHTG6AF6KU017276   Hyundai       VELOSTER            Sarasota                  FL
130762   KMHTG6AF6KU017293   Hyundai       VELOSTER            WEST PALM BEACH           FL
130763   KMHTG6AF6KU017374   Hyundai       VELOSTER            TAMPA                     FL
130764   KMHTG6AF6KU017391   Hyundai       VELOSTER            ORLANDO                   FL
130765   KMHTG6AF6KU017424   Hyundai       VELOSTER            Austell                   GA
130766   KMHTG6AF6KU017519   Hyundai       VELOSTER            Oklahoma City             OK
130767   KMHTG6AF6KU017651   Hyundai       VELOSTER            Nashville                 TN
130768   KMHTG6AF6KU017665   Hyundai       VELOSTER            North Canton              OH
130769   KMHTG6AF6KU017925   Hyundai       VELOSTER            Detroit                   MI
130770   KMHTG6AF6KU019934   Hyundai       VELOSTER            Houston                   TX
130771   KMHTG6AF6KU020078   Hyundai       VELOSTER            Phoenix                   AZ
130772   KMHTG6AF7KU013009   Hyundai       VELOSTER            Florissant                MO
130773   KMHTG6AF7KU015195   Hyundai       VELOSTER            Stockton                  CA
130774   KMHTG6AF7KU016377   Hyundai       VELOSTER            FORT MYERS                FL
130775   KMHTG6AF7KU016590   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130776   KMHTG6AF7KU016640   Hyundai       VELOSTER            TAMPA                     FL
130777   KMHTG6AF7KU016718   Hyundai       VELOSTER            MIAMI                     FL
130778   KMHTG6AF7KU016850   Hyundai       VELOSTER            ORLANDO                   FL
130779   KMHTG6AF7KU016878   Hyundai       VELOSTER            FORT MYERS                FL
130780   KMHTG6AF7KU016914   Hyundai       VELOSTER            MIAMI                     FL
130781   KMHTG6AF7KU017092   Hyundai       VELOSTER            TAMPA                     FL
130782   KMHTG6AF7KU017108   Hyundai       VELOSTER            TAMPA                     FL
130783   KMHTG6AF7KU017139   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130784   KMHTG6AF7KU017190   Hyundai       VELOSTER            JACKSONVILLE              FL
130785   KMHTG6AF7KU017237   Hyundai       VELOSTER            ORLANDO                   FL
130786   KMHTG6AF7KU017352   Hyundai       VELOSTER            ORLANDO                   FL
130787   KMHTG6AF7KU017383   Hyundai       VELOSTER            ORLANDO                   FL
130788   KMHTG6AF7KU017397   Hyundai       VELOSTER            ORLANDO                   FL
130789   KMHTG6AF7KU017416   Hyundai       VELOSTER            SARASOTA                  FL
130790   KMHTG6AF7KU017447   Hyundai       VELOSTER            FORT MYERS                FL
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130791   KMHTG6AF7KU017450   Hyundai       VELOSTER            TAMPA                     FL
130792   KMHTG6AF7KU017691   Hyundai       VELOSTER            Oklahoma City             OK
130793   KMHTG6AF7KU017707   Hyundai       VELOSTER            ORLANDO                   FL
130794   KMHTG6AF7KU018078   Hyundai       VELOSTER            SARASOTA                  FL
130795   KMHTG6AF7KU018260   Hyundai       VELOSTER            SARASOTA                  FL
130796   KMHTG6AF7KU019571   Hyundai       VELOSTER            Portland                  OR
130797   KMHTG6AF8KU014962   Hyundai       VELOSTER            TAMPA                     FL
130798   KMHTG6AF8KU015710   Hyundai       VELOSTER            Houston                   TX
130799   KMHTG6AF8KU016405   Hyundai       VELOSTER            ORLANDO                   FL
130800   KMHTG6AF8KU016565   Hyundai       VELOSTER            FORT MYERS                FL
130801   KMHTG6AF8KU016730   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130802   KMHTG6AF8KU016789   Hyundai       VELOSTER            Kansas City               MO
130803   KMHTG6AF8KU016811   Hyundai       VELOSTER            WEST PALM BEACH           FL
130804   KMHTG6AF8KU016825   Hyundai       VELOSTER            Killeen                   TX
130805   KMHTG6AF8KU016923   Hyundai       VELOSTER            JACKSONVILLE              FL
130806   KMHTG6AF8KU016985   Hyundai       VELOSTER            JACKSONVILLE              FL
130807   KMHTG6AF8KU017294   Hyundai       VELOSTER            WEST PALM BEACH           FL
130808   KMHTG6AF8KU017313   Hyundai       VELOSTER            Teterboro                 NJ
130809   KMHTG6AF8KU017392   Hyundai       VELOSTER            FORT MYERS                FL
130810   KMHTG6AF8KU017456   Hyundai       VELOSTER            FORT MYERS                FL
130811   KMHTG6AF8KU017926   Hyundai       VELOSTER            MIAMI                     FL
130812   KMHTG6AF8KU018574   Hyundai       VELOSTER            FORT MYERS                FL
130813   KMHTG6AF8KU019241   Hyundai       VELOSTER            Sacramento                CA
130814   KMHTG6AF8KU019403   Hyundai       VELOSTER            COLUMBIA STATIO           OH
130815   KMHTG6AF8KU019756   Hyundai       VELOSTER            Houston                   TX
130816   KMHTG6AF8KU019997   Hyundai       VELOSTER            Phoenix                   AZ
130817   KMHTG6AF9KU013450   Hyundai       VELOSTER            JACKSONVILLE              FL
130818   KMHTG6AF9KU014968   Hyundai       VELOSTER            TAMPA                     FL
130819   KMHTG6AF9KU016347   Hyundai       VELOSTER            ORLANDO                   FL
130820   KMHTG6AF9KU016381   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130821   KMHTG6AF9KU016610   Hyundai       VELOSTER            MIAMI                     FL
130822   KMHTG6AF9KU016638   Hyundai       VELOSTER            ORLANDO                   FL
130823   KMHTG6AF9KU016784   Hyundai       VELOSTER            ORLANDO                   FL
130824   KMHTG6AF9KU016848   Hyundai       VELOSTER            TAMPA                     FL
130825   KMHTG6AF9KU016879   Hyundai       VELOSTER            TAMPA                     FL
130826   KMHTG6AF9KU016946   Hyundai       VELOSTER            Coraopolis                PA
130827   KMHTG6AF9KU017000   Hyundai       VELOSTER            ORLANDO                   FL
130828   KMHTG6AF9KU017062   Hyundai       VELOSTER            Austell                   GA
130829   KMHTG6AF9KU017112   Hyundai       VELOSTER            ORLANDO                   FL
130830   KMHTG6AF9KU017126   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130831   KMHTG6AF9KU017174   Hyundai       VELOSTER            WEST PALM BEACH           FL
130832   KMHTG6AF9KU017241   Hyundai       VELOSTER            TAMPA                     FL
130833   KMHTG6AF9KU017367   Hyundai       VELOSTER            Hebron                    KY
130834   KMHTG6AF9KU017403   Hyundai       VELOSTER            SARASOTA                  FL
130835   KMHTG6AF9KU017496   Hyundai       VELOSTER            TAMPA                     FL
130836   KMHTG6AF9KU017854   Hyundai       VELOSTER            ORLANDO                   FL
130837   KMHTG6AF9KU017921   Hyundai       VELOSTER            ORLANDO                   FL
130838   KMHTG6AF9KU018003   Hyundai       VELOSTER            WEST PALM BEACH           FL
130839   KMHTG6AF9KU018339   Hyundai       VELOSTER            SACRAMENTO                CA
130840   KMHTG6AF9KU018549   Hyundai       VELOSTER            Florissant                MO
130841   KMHTG6AFXKU015711   Hyundai       VELOSTER            MIAMI                     FL
130842   KMHTG6AFXKU015787   Hyundai       VELOSTER            TAMPA                     FL
130843   KMHTG6AFXKU016874   Hyundai       VELOSTER            TAMPA                     FL
130844   KMHTG6AFXKU016888   Hyundai       VELOSTER            MIAMI                     FL
130845   KMHTG6AFXKU016972   Hyundai       VELOSTER            ORLANDO                   FL
130846   KMHTG6AFXKU017006   Hyundai       VELOSTER            FORT MYERS                FL
130847   KMHTG6AFXKU017068   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130848   KMHTG6AFXKU017104   Hyundai       VELOSTER            SARASOTA                  FL
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130849   KMHTG6AFXKU017135   Hyundai       VELOSTER            ORLANDO                   FL
130850   KMHTG6AFXKU017183   Hyundai       VELOSTER            ORLANDO                   FL
130851   KMHTG6AFXKU017278   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130852   KMHTG6AFXKU017300   Hyundai       VELOSTER            WHITE PLAINS              NY
130853   KMHTG6AFXKU017412   Hyundai       VELOSTER            FORT LAUDERDALE           FL
130854   KMHTG6AFXKU017426   Hyundai       VELOSTER            TAMPA                     FL
130855   KMHTG6AFXKU017569   Hyundai       VELOSTER            SARASOTA                  FL
130856   KMHTG6AFXKU017619   Hyundai       VELOSTER            Dallas                    TX
130857   KMHTG6AFXKU017880   Hyundai       VELOSTER            Tulsa                     OK
130858   KNADM4A36H6029899   Kia           RIO                 DANIA                     US
130859   KNADM4A3XH6072612   Kia           RIO                 PHOENIX                   AZ
130860   KNADN4A38G6578550   Kia           RIO                 MEDINA                    OH
130861   KNAFK4A60G5506534   Kia           FORTE               Hebron                    KY
130862   KNAFK4A60G5542014   Kia           FORTE               Teterboro                 NJ
130863   KNAFK4A61G5462947   Kia           FORTE               SAN FRANCISCO             CA
130864   KNAFK4A62G5531127   Kia           FORTE               STERLING                  VA
130865   KNAFK4A62G5615223   Kia           FORTE               Atlanta                   GA
130866   KNAFK4A64G5538158   Kia           FORTE               SAN JOSE                  CA
130867   KNAFK4A66F5434625   Kia           FORTE               UNION CITY                GA
130868   KNAFK4A66G5502939   Kia           FORTE               FORT LAUDERDALE           FL
130869   KNAFK4A67G5607098   Kia           FORTE               Dallas                    TX
130870   KNAFK4A68G5584995   Kia           FORTE               Chicago                   IL
130871   KNAFK4A69G5612478   Kia           FORTE               BURBANK                   CA
130872   KNAFK4A6XG5611999   Kia           FORTE               Atlanta                   GA
130873   KNAFK5A82G5591156   Kia           FORTE               Florissant                MO
130874   KNAFK5A82H5682199   Kia           FORTE               Salt Lake City            UT
130875   KNAFK5A83G5646732   Kia           FORTE               TRACY                     CA
130876   KNAFK5A84H5686481   Kia           FORTE               TAMPA                     US
130877   KNAFK5A87G5526304   Kia           FORTE               DAYTONA BEACH             FL
130878   KNAFK5A87G5593291   Kia           FORTE               HARVEY                    LA
130879   KNAFK5A87G5636091   Kia           FORTE               PHILADELPHIA              PA
130880   KNAFK5A88G5570179   Kia           FORTE               Kansas City               MO
130881   KNAFX4A60G5606649   Kia           FORTE               Atlanta                   GA
130882   KNAFX4A61G5532058   Kia           FORTE               ANNANDALE                 VA
130883   KNAFX4A67F5358561   Kia           FORTE               DES PLAINES               IL
130884   KNAFX4A67G5603361   Kia           FORTE               KENNER                    LA
130885   KNAFX4A68G5610190   Kia           FORTE               ORLANDO                   FL
130886   KNAFX4A6XF5332553   Kia           FORTE               Slidell                   LA
130887   KNAFX4A82G5505386   Kia           FORTE               Tampa                     FL
130888   KNAFX5A85G5527677   Kia           FORTE               SANTA ANA                 CA
130889   KNAFX5A87F5323204   Kia           FORTE               BURBANK                   CA
130890   KNAFX5A89G5633713   Kia           FORTE               FRESNO                    CA
130891   KNAFZ4A81G5489398   Kia           FORTE               SAN DIEGO                 CA
130892   KNAFZ4A82G5577778   Kia           FORTE               BURBANK                   CA
130893   KNAFZ4A87G5479801   Kia           FORTE               ORLANDO                   FL
130894   KNAFZ4A88G5551072   Kia           FORTE               Detroit                   MI
130895   KNAGM4A70F5631443   Kia           OPTIMA              PICO RIVERA               CA
130896   KNAGM4A72F5642606   Kia           OPTIMA              ONTARIO                   CA
130897   KNAGM4A77F5640009   Kia           OPTIMA              ONTARIO                   CA
130898   KNAGN4AD8G5099010   Kia           OPTIMA              LOS ANGELES               CA
130899   KNAGT4L30G5070286   Kia           FORTE               NORTH PAC                 CA
130900   KNAGT4L30G5084687   Kia           OPTIMA              Atlanta                   GA
130901   KNAGT4L30J5219352   Kia           OPTIMA              DALLAS                    TX
130902   KNAGT4L31J5213995   Kia           OPTIMA              SANTA ANA                 CA
130903   KNAGT4L31J5219702   Kia           OPTIMA              NORTH PAC                 CA
130904   KNAGT4L32G5079782   Kia           OPTIMA              Phoenix                   AZ
130905   KNAGT4L32H5146415   Kia           OPTIMA              Louisville                KY
130906   KNAGT4L32J5216386   Kia           OPTIMA              NOTTINGHAM                MD
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130907   KNAGT4L32J5219630   Kia          OPTIMA              SAINT PAUL                MN
130908   KNAGT4L32J5237528   Kia          OPTIMA              Charlotte                 NC
130909   KNAGT4L33G5085882   Kia          OPTIMA              SAN DIEGO                 US
130910   KNAGT4L33J5211861   Kia          OPTIMA              Mira Loma                 CA
130911   KNAGT4L33J5214498   Kia          OPTIMA              Bordentown                NJ
130912   KNAGT4L33J5220091   Kia          OPTIMA              Louisville                KY
130913   KNAGT4L34G5074342   Kia          OPTIMA              DALLAS                    TX
130914   KNAGT4L34J5212159   Kia          OPTIMA              Fredericksburg            VA
130915   KNAGT4L34J5214431   Kia          OPTIMA              HANOVER                   MD
130916   KNAGT4L35G5076584   Kia          OPTIMA              FORT MYERS                FL
130917   KNAGT4L35J5235269   Kia          OPTIMA              Irving                    TX
130918   KNAGT4L36J5235006   Kia          OPTIMA              DAYTONA BEACH             FL
130919   KNAGT4L37G5102862   Kia          OPTIMA              Los Angeles               CA
130920   KNAGT4L37H5141856   Kia          OPTIMA              ENGLEWOOD                 CO
130921   KNAGT4L37J5211930   Kia          OPTIMA              Hebron                    KY
130922   KNAGT4L37J5219493   Kia          OPTIMA              NORTH PAC                 CA
130923   KNAGT4L37J5219655   Kia          OPTIMA              Matteson                  IL
130924   KNAGT4L39J5212786   Kia          OPTIMA              North Dighton             MA
130925   KNAGT4L3XG5073213   Kia          OPTIMA              PHOENIX                   AZ
130926   KNAGT4L3XJ5219648   Kia          OPTIMA              ROSEVILLE                 CA
130927   KNAGT4L3XJ5235445   Kia          OPTIMA              Hebron                    KY
130928   KNDCB3LC0J5171480   Kia          NIRO                RALIEGH                   NC
130929   KNDCB3LC0K5216998   Kia          NIRO                MIAMI                     FL
130930   KNDCB3LC0K5217035   Kia          NIRO                FORT MYERS                FL
130931   KNDCB3LC0K5217097   Kia          NIRO                TAMPA                     FL
130932   KNDCB3LC0K5217178   Kia          NIRO                WEST PALM BEACH           FL
130933   KNDCB3LC0K5217200   Kia          NIRO                WEST PALM BEACH           FL
130934   KNDCB3LC0K5217245   Kia          NIRO                NEW BERN                  NC
130935   KNDCB3LC0K5217312   Kia          NIRO                ST Paul                   MN
130936   KNDCB3LC0K5217407   Kia          NIRO                RICHMOND                  VA
130937   KNDCB3LC0K5217424   Kia          NIRO                Clearwater                FL
130938   KNDCB3LC0K5217889   Kia          NIRO                ORLANDO                   FL
130939   KNDCB3LC0K5217925   Kia          NIRO                NEW BERN                  NC
130940   KNDCB3LC0K5217942   Kia          NIRO                DALLAS                    TX
130941   KNDCB3LC0K5218072   Kia          NIRO                Houston                   TX
130942   KNDCB3LC0K5218444   Kia          NIRO                PORTLAND                  ME
130943   KNDCB3LC0K5218458   Kia          NIRO                ORLANDO                   FL
130944   KNDCB3LC0K5219030   Kia          NIRO                WEST COLUMBIA             SC
130945   KNDCB3LC0K5219111   Kia          NIRO                WHITE PLAINS              NY
130946   KNDCB3LC0K5219173   Kia          NIRO                TAMPA                     FL
130947   KNDCB3LC0K5219982   Kia          NIRO                Baltimore                 MD
130948   KNDCB3LC0K5231307   Kia          NIRO                Houston                   TX
130949   KNDCB3LC0K5233543   Kia          NIRO                JAMAICA                   NY
130950   KNDCB3LC1K5217030   Kia          NIRO                FORT LAUDERDALE           FL
130951   KNDCB3LC1K5217075   Kia          NIRO                FORT MYERS                FL
130952   KNDCB3LC1K5217108   Kia          NIRO                MIAMI                     FL
130953   KNDCB3LC1K5217223   Kia          NIRO                MIAMI                     FL
130954   KNDCB3LC1K5217397   Kia          NIRO                DENVER                    CO
130955   KNDCB3LC1K5217447   Kia          NIRO                GREENVILLE                NC
130956   KNDCB3LC1K5217464   Kia          NIRO                ORLANDO                   FL
130957   KNDCB3LC1K5218467   Kia          NIRO                FORT MYERS                FL
130958   KNDCB3LC1K5218470   Kia          NIRO                WEST PALM BEACH           FL
130959   KNDCB3LC1K5219070   Kia          NIRO                PHILADELPHIA              PA
130960   KNDCB3LC1K5219098   Kia          NIRO                Smithtown                 NY
130961   KNDCB3LC1K5219103   Kia          NIRO                ORLANDO                   FL
130962   KNDCB3LC1K5219988   Kia          NIRO                MELROSE PARK              IL
130963   KNDCB3LC1K5232952   Kia          NIRO                MOBILE                    A
130964   KNDCB3LC1K5233597   Kia          NIRO                SAN ANTONIO               TX
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130965   KNDCB3LC1K5257818   Kia          NIRO                ALEXANDRIA                VA
130966   KNDCB3LC1K5262694   Kia          NIRO                KENNER                    LA
130967   KNDCB3LC1K5263070   Kia          NIRO                SAN ANTONIO               TX
130968   KNDCB3LC2J5170637   Kia          NIRO                Dallas                    TX
130969   KNDCB3LC2J5179046   Kia          NIRO                ALBUQUERQUE               NM
130970   KNDCB3LC2J5190208   Kia          NIRO                Dallas                    TX
130971   KNDCB3LC2K5217067   Kia          NIRO                FORT MYERS                FL
130972   KNDCB3LC2K5217070   Kia          NIRO                ORLANDO                   FL
130973   KNDCB3LC2K5217098   Kia          NIRO                WEST PALM BEACH           FL
130974   KNDCB3LC2K5217215   Kia          NIRO                Tampa                     FL
130975   KNDCB3LC2K5217375   Kia          NIRO                BOSTON                    MA
130976   KNDCB3LC2K5217408   Kia          NIRO                FORT MYERS                FL
130977   KNDCB3LC2K5217926   Kia          NIRO                ORLANDO                   FL
130978   KNDCB3LC2K5218672   Kia          NIRO                FORT MYERS                FL
130979   KNDCB3LC2K5219952   Kia          NIRO                SYRACUSE                  NY
130980   KNDCB3LC3J5190153   Kia          NIRO                BOSTON                    MA
130981   KNDCB3LC3K5217000   Kia          NIRO                STERLING                  VA
130982   KNDCB3LC3K5217031   Kia          NIRO                Baltimore                 MD
130983   KNDCB3LC3K5217076   Kia          NIRO                TAMPA                     FL
130984   KNDCB3LC3K5217109   Kia          NIRO                ORLANDO                   FL
130985   KNDCB3LC3K5217188   Kia          NIRO                SANFORD                   FL
130986   KNDCB3LC3K5217224   Kia          NIRO                WEST PALM BEACH           FL
130987   KNDCB3LC3K5217241   Kia          NIRO                COLUMBUS                  OH
130988   KNDCB3LC3K5217272   Kia          NIRO                WEST PALM BEACH           FL
130989   KNDCB3LC3K5217286   Kia          NIRO                BOSTON                    MA
130990   KNDCB3LC3K5217370   Kia          NIRO                ORLANDO                   FL
130991   KNDCB3LC3K5217403   Kia          NIRO                MIAMI                     FL
130992   KNDCB3LC3K5217448   Kia          NIRO                Jacksonville              FL
130993   KNDCB3LC3K5217465   Kia          NIRO                FORT LAUDERDALE           FL
130994   KNDCB3LC3K5217515   Kia          NIRO                STERLING                  VA
130995   KNDCB3LC3K5217885   Kia          NIRO                ATLANTA                   GA
130996   KNDCB3LC3K5217935   Kia          NIRO                BRONX                     NY
130997   KNDCB3LC3K5219071   Kia          NIRO                FORT MYERS                FL
130998   KNDCB3LC3K5219099   Kia          NIRO                ATLANTA                   GA
130999   KNDCB3LC3K5219104   Kia          NIRO                ORLANDO                   FL
131000   KNDCB3LC3K5219958   Kia          NIRO                BIRMINGHAM                AL
131001   KNDCB3LC3K5258498   Kia          NIRO                Richmond                  VA
131002   KNDCB3LC3K5259022   Kia          NIRO                Elkridge                  MD
131003   KNDCB3LC3K5293512   Kia          NIRO                Austell                   GA
131004   KNDCB3LC4J5179095   Kia          NIRO                NO KANSAS CITY            MO
131005   KNDCB3LC4K5217037   Kia          NIRO                FORT MYERS                FL
131006   KNDCB3LC4K5217040   Kia          NIRO                Atlanta                   GA
131007   KNDCB3LC4K5217068   Kia          NIRO                Austin                    TX
131008   KNDCB3LC4K5217071   Kia          NIRO                Atlanta                   GA
131009   KNDCB3LC4K5217085   Kia          NIRO                Harvey                    LA
131010   KNDCB3LC4K5217197   Kia          NIRO                BOSTON                    MA
131011   KNDCB3LC4K5217233   Kia          NIRO                Jacksonville              FL
131012   KNDCB3LC4K5217376   Kia          NIRO                ORLANDO                   FL
131013   KNDCB3LC4K5217393   Kia          NIRO                WEST PALM BEACH           FL
131014   KNDCB3LC4K5217457   Kia          NIRO                TAMPA                     FL
131015   KNDCB3LC4K5217460   Kia          NIRO                MIAMI                     FL
131016   KNDCB3LC4K5217524   Kia          NIRO                S. San Francisc           CA
131017   KNDCB3LC4K5217930   Kia          NIRO                Smithtown                 NY
131018   KNDCB3LC4K5217944   Kia          NIRO                MEMPHIS                   TN
131019   KNDCB3LC4K5218432   Kia          NIRO                SACRAMENTO                CA
131020   KNDCB3LC4K5218446   Kia          NIRO                FORT MYERS                FL
131021   KNDCB3LC4K5218463   Kia          NIRO                FT. LAUDERDALE            FL
131022   KNDCB3LC4K5218656   Kia          NIRO                MIAMI                     FL
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131023   KNDCB3LC4K5219046   Kia          NIRO                SANFORD                          FL
131024   KNDCB3LC4K5231309   Kia          NIRO                Houston                          TX
131025   KNDCB3LC4K5231312   Kia          NIRO                ORLANDO                          FL
131026   KNDCB3LC4K5231441   Kia          NIRO                San Antonio                      TX
131027   KNDCB3LC4K5232878   Kia          NIRO                SAINT PAUL                       MN
131028   KNDCB3LC4K5232881   Kia          NIRO                Florissant                       MO
131029   KNDCB3LC5J5203307   Kia          NIRO                WASHINGTON DC, DULLES INT'L AP   DC
131030   KNDCB3LC5K5217029   Kia          NIRO                TAMPA                            FL
131031   KNDCB3LC5K5217077   Kia          NIRO                SARASOTA                         FL
131032   KNDCB3LC5K5217080   Kia          NIRO                ORLANDO                          FL
131033   KNDCB3LC5K5217094   Kia          NIRO                Orlando                          FL
131034   KNDCB3LC5K5217211   Kia          NIRO                KNOXVILLE                        TN
131035   KNDCB3LC5K5217242   Kia          NIRO                FORT MYERS                       FL
131036   KNDCB3LC5K5217290   Kia          NIRO                PHILADELPHIA                     PA
131037   KNDCB3LC5K5217368   Kia          NIRO                PENSACOLA                        FL
131038   KNDCB3LC5K5217399   Kia          NIRO                MEMPHIS                          TN
131039   KNDCB3LC5K5217435   Kia          NIRO                ORLANDO                          FL
131040   KNDCB3LC5K5217466   Kia          NIRO                FORT LAUDERDALE                  FL
131041   KNDCB3LC5K5217497   Kia          NIRO                Live Oak                         TX
131042   KNDCB3LC5K5217886   Kia          NIRO                ORLANDO                          FL
131043   KNDCB3LC5K5217922   Kia          NIRO                ORLANDO                          FL
131044   KNDCB3LC5K5218648   Kia          NIRO                ATLANTA                          GA
131045   KNDCB3LC5K5218665   Kia          NIRO                RONKONKOMA                       NY
131046   KNDCB3LC5K5219105   Kia          NIRO                FORT MYERS                       FL
131047   KNDCB3LC5K5232968   Kia          NIRO                WESLACO                          TX
131048   KNDCB3LC5K5263072   Kia          NIRO                SACRAMENTO                       CA
131049   KNDCB3LC6K5217024   Kia          NIRO                STERLING                         VA
131050   KNDCB3LC6K5217055   Kia          NIRO                FT LAUDERDALE                    FL
131051   KNDCB3LC6K5217069   Kia          NIRO                ORLANDO                          FL
131052   KNDCB3LC6K5217086   Kia          NIRO                MIAMI                            FL
131053   KNDCB3LC6K5217105   Kia          NIRO                TAMPA                            FL
131054   KNDCB3LC6K5217217   Kia          NIRO                WEST PALM BEACH                  FL
131055   KNDCB3LC6K5217301   Kia          NIRO                CHARLOTTE                        NC
131056   KNDCB3LC6K5217394   Kia          NIRO                TAMPA                            FL
131057   KNDCB3LC6K5217427   Kia          NIRO                Atlanta                          GA
131058   KNDCB3LC6K5217430   Kia          NIRO                CHARLOTTE                        US
131059   KNDCB3LC6K5217461   Kia          NIRO                Winston‐Salem                    NC
131060   KNDCB3LC6K5217878   Kia          NIRO                Miami                            FL
131061   KNDCB3LC6K5217931   Kia          NIRO                JACKSON                          MS
131062   KNDCB3LC6K5218433   Kia          NIRO                FORT LAUDERDALE                  FL
131063   KNDCB3LC6K5218447   Kia          NIRO                PHILADELPHIA                     PA
131064   KNDCB3LC6K5218464   Kia          NIRO                FORT LAUDERDALE                  FL
131065   KNDCB3LC6K5218657   Kia          NIRO                WEST PALM BEACH                  FL
131066   KNDCB3LC6K5218660   Kia          NIRO                DFW AIRPORT                      TX
131067   KNDCB3LC6K5219100   Kia          NIRO                Johnston                         RI
131068   KNDCB3LC6K5219176   Kia          NIRO                ROCHESTER                        NY
131069   KNDCB3LC6K5231313   Kia          NIRO                SARASOTA                         FL
131070   KNDCB3LC6K5231442   Kia          NIRO                WARWICK                          RI
131071   KNDCB3LC6K5261038   Kia          NIRO                Cranberry Towns                  PA
131072   KNDCB3LC6K5264408   Kia          NIRO                SANTA ANA                        CA
131073   KNDCB3LC7J5170665   Kia          NIRO                DALLAS                           TX
131074   KNDCB3LC7K5217002   Kia          NIRO                ORLANDO                          FL
131075   KNDCB3LC7K5217081   Kia          NIRO                ORLANDO                          FL
131076   KNDCB3LC7K5217128   Kia          NIRO                Harvey                           LA
131077   KNDCB3LC7K5217209   Kia          NIRO                GRAND RAPIDS                     MI
131078   KNDCB3LC7K5217212   Kia          NIRO                DANIA BEACH                      FL
131079   KNDCB3LC7K5217243   Kia          NIRO                SARASOTA                         FL
131080   KNDCB3LC7K5217405   Kia          NIRO                NEW YORK CITY                    NY
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131081   KNDCB3LC7K5217453   Kia          NIRO                Orlando                   FL
131082   KNDCB3LC7K5217467   Kia          NIRO                ORLANDO                   FL
131083   KNDCB3LC7K5217470   Kia          NIRO                KEY WEST                  FL
131084   KNDCB3LC7K5217923   Kia          NIRO                ORLANDO                   FL
131085   KNDCB3LC7K5218649   Kia          NIRO                ORLANDO                   FL
131086   KNDCB3LC7K5218652   Kia          NIRO                ORLANDO                   FL
131087   KNDCB3LC7K5218666   Kia          NIRO                Lynn                      MA
131088   KNDCB3LC7K5231305   Kia          NIRO                Salt Lake City            UT
131089   KNDCB3LC7K5253417   Kia          NIRO                Philadelphia              PA
131090   KNDCB3LC7K5257550   Kia          NIRO                Philadelphia              PA
131091   KNDCB3LC7K5257578   Kia          NIRO                Philadelphia              PA
131092   KNDCB3LC7K5259041   Kia          NIRO                Coraopolis                PA
131093   KNDCB3LC7K5264305   Kia          NIRO                Coraopolis                PA
131094   KNDCB3LC8J5169184   Kia          NIRO                SACRAMENTO                CA
131095   KNDCB3LC8J5171498   Kia          NIRO                ORLANDO                   FL
131096   KNDCB3LC8K5217008   Kia          NIRO                SARASOTA                  FL
131097   KNDCB3LC8K5217011   Kia          NIRO                MIAMI                     FL
131098   KNDCB3LC8K5217039   Kia          NIRO                FORT MYERS                FL
131099   KNDCB3LC8K5217073   Kia          NIRO                ORLANDO                   FL
131100   KNDCB3LC8K5217087   Kia          NIRO                SARASOTA                  FL
131101   KNDCB3LC8K5217090   Kia          NIRO                MEMPHIS                   TN
131102   KNDCB3LC8K5217123   Kia          NIRO                Winston‐Salem             NC
131103   KNDCB3LC8K5217235   Kia          NIRO                ATLANTA                   GA
131104   KNDCB3LC8K5217378   Kia          NIRO                TAMPA                     FL
131105   KNDCB3LC8K5217381   Kia          NIRO                TAMPA                     US
131106   KNDCB3LC8K5217428   Kia          NIRO                RICHMOND                  VA
131107   KNDCB3LC8K5217459   Kia          NIRO                WEST PALM BEACH           FL
131108   KNDCB3LC8K5217462   Kia          NIRO                ORLANDO                   FL
131109   KNDCB3LC8K5217493   Kia          NIRO                NEWARK                    NJ
131110   KNDCB3LC8K5218658   Kia          NIRO                Winter Park               FL
131111   KNDCB3LC8K5219048   Kia          NIRO                TAMPA                     FL
131112   KNDCB3LC8K5219101   Kia          NIRO                Cleveland                 OH
131113   KNDCB3LC8K5219177   Kia          NIRO                NEWARK                    NJ
131114   KNDCB3LC8K5231314   Kia          NIRO                Reno                      NV
131115   KNDCB3LC8K5231409   Kia          NIRO                Dallas                    TX
131116   KNDCB3LC9J5170621   Kia          NIRO                Dallas                    TX
131117   KNDCB3LC9J5170683   Kia          NIRO                SAN ANTONIO               TX
131118   KNDCB3LC9J5190139   Kia          NIRO                FORT LAUDERDALE           FL
131119   KNDCB3LC9J5190237   Kia          NIRO                MONTGOMERY                AL
131120   KNDCB3LC9K5217034   Kia          NIRO                ORLANDO                   FL
131121   KNDCB3LC9K5217051   Kia          NIRO                SOUTHEAST DST OFFC        OK
131122   KNDCB3LC9K5217082   Kia          NIRO                WEST PALM BEACH           FL
131123   KNDCB3LC9K5217096   Kia          NIRO                FORT MYERS                FL
131124   KNDCB3LC9K5217180   Kia          NIRO                Ft. Myers                 FL
131125   KNDCB3LC9K5217213   Kia          NIRO                ATLANTA                   GA
131126   KNDCB3LC9K5217244   Kia          NIRO                TAMPA                     FL
131127   KNDCB3LC9K5217468   Kia          NIRO                HAGERSTOWN                MD
131128   KNDCB3LC9K5217924   Kia          NIRO                FORT MYERS                FL
131129   KNDCB3LC9K5218071   Kia          NIRO                JACKSONVILLE              FL
131130   KNDCB3LC9K5218443   Kia          NIRO                ORLANDO                   FL
131131   KNDCB3LC9K5218653   Kia          NIRO                PITTSBURGH                PA
131132   KNDCB3LC9K5218670   Kia          NIRO                NEWARK                    NJ
131133   KNDCB3LC9K5219107   Kia          NIRO                WEST PALM BEACH           FL
131134   KNDCB3LC9K5219110   Kia          NIRO                ORLANDO                   FL
131135   KNDCB3LC9K5219172   Kia          NIRO                FORT MYERS                FL
131136   KNDCB3LC9K5219186   Kia          NIRO                DALLAS                    TX
131137   KNDCB3LC9K5259025   Kia          NIRO                Warminster                PA
131138   KNDCB3LC9K5259039   Kia          NIRO                Warminster                PA
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131139   KNDCB3LC9K5261471   Kia          NIRO                KENNER                    LA
131140   KNDCB3LCXK5217043   Kia          NIRO                SARASOTA                  FL
131141   KNDCB3LCXK5217074   Kia          NIRO                KENNER                    LA
131142   KNDCB3LCXK5217091   Kia          NIRO                CLEVELAND                 OH
131143   KNDCB3LCXK5217186   Kia          NIRO                STERLING                  VA
131144   KNDCB3LCXK5217222   Kia          NIRO                SACRAMENTO                CA
131145   KNDCB3LCXK5217303   Kia          NIRO                MIAMI                     FL
131146   KNDCB3LCXK5217365   Kia          NIRO                WEST PALM BEACH           FL
131147   KNDCB3LCXK5217382   Kia          NIRO                TAMPA                     FL
131148   KNDCB3LCXK5217429   Kia          NIRO                SARASOTA                  FL
131149   KNDCB3LCXK5217494   Kia          NIRO                LOS ANGELES               CA
131150   KNDCB3LCXK5218662   Kia          NIRO                ORLANDO                   FL
131151   KNDCB3LCXK5219049   Kia          NIRO                LAUREL                    MD
131152   KNDCB3LCXK5219102   Kia          NIRO                TAMPA                     FL
131153   KNDCB3LCXK5219178   Kia          NIRO                FORT LAUDERDALE           FL
131154   KNDCB3LCXK5219181   Kia          NIRO                MIAMI                     FL
131155   KNDCB3LCXK5231444   Kia          NIRO                BIRMINGHAM                AL
131156   KNDCB3LCXK5232898   Kia          NIRO                SAN ANTONIO               TX
131157   KNDJ23AU0L7000741   Kia          SOUL                Atlanta                   GA
131158   KNDJ23AU0L7000769   Kia          SOUL                Leesburg                  VA
131159   KNDJ23AU0L7000805   Kia          SOUL                SANDSTON                  VA
131160   KNDJ23AU0L7011447   Kia          SOUL                Florissant                MO
131161   KNDJ23AU0L7011853   Kia          SOUL                Louisville                KY
131162   KNDJ23AU0L7013120   Kia          SOUL                CLARKSVILLE               IN
131163   KNDJ23AU0L7016728   Kia          SOUL                Killeen                   TX
131164   KNDJ23AU0L7017894   Kia          SOUL                Houston                   TX
131165   KNDJ23AU0L7020052   Kia          SOUL                San Antonio               TX
131166   KNDJ23AU0L7020343   Kia          SOUL                KNOXVILLE                 TN
131167   KNDJ23AU1L7005141   Kia          SOUL                Johnston                  RI
131168   KNDJ23AU1L7005589   Kia          SOUL                Portland                  ME
131169   KNDJ23AU1L7006242   Kia          SOUL                San Antonio               TX
131170   KNDJ23AU1L7008850   Kia          SOUL                Tampa                     FL
131171   KNDJ23AU1L7014051   Kia          SOUL                Euless                    TX
131172   KNDJ23AU1L7015703   Kia          SOUL                SOUTH BEND                IN
131173   KNDJ23AU1L7018438   Kia          SOUL                Hendersonville            TN
131174   KNDJ23AU1L7018617   Kia          SOUL                Tampa                     FL
131175   KNDJ23AU1L7018942   Kia          SOUL                CLARKSVILLE               IN
131176   KNDJ23AU1L7020139   Kia          SOUL                ATLANTA                   GA
131177   KNDJ23AU1L7020982   Kia          SOUL                ORLANDO                   FL
131178   KNDJ23AU2L7004547   Kia          SOUL                PHILADELPHIA              PA
131179   KNDJ23AU2L7004967   Kia          SOUL                Smithtown                 NY
131180   KNDJ23AU2L7006038   Kia          SOUL                Clearwater                FL
131181   KNDJ23AU2L7018870   Kia          SOUL                Louisville                KY
131182   KNDJ23AU2L7020392   Kia          SOUL                Hamilton                  OH
131183   KNDJ23AU2L7020781   Kia          SOUL                Hapeville                 GA
131184   KNDJ23AU2L7037466   Kia          SOUL                Tampa                     FL
131185   KNDJ23AU3L7006016   Kia          SOUL                Atlanta                   GA
131186   KNDJ23AU3L7007117   Kia          SOUL                Harvey                    LA
131187   KNDJ23AU3L7008221   Kia          SOUL                Hamilton                  OH
131188   KNDJ23AU3L7011541   Kia          SOUL                Portland                  OR
131189   KNDJ23AU3L7011605   Kia          SOUL                Franklin                  OH
131190   KNDJ23AU3L7014827   Kia          SOUL                COLUMBIA                  SC
131191   KNDJ23AU3L7014844   Kia          SOUL                Atlanta                   GA
131192   KNDJ23AU3L7015038   Kia          SOUL                Dallas                    TX
131193   KNDJ23AU3L7017159   Kia          SOUL                Harvey                    LA
131194   KNDJ23AU3L7018005   Kia          SOUL                Indianapolis              IN
131195   KNDJ23AU3L7018134   Kia          SOUL                Anaheim                   CA
131196   KNDJ23AU3L7019591   Kia          SOUL                Tampa                     FL
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131197   KNDJ23AU3L7020482   Kia          SOUL                Hamilton                  OH
131198   KNDJ23AU3L7020871   Kia          SOUL                Anaheim                   CA
131199   KNDJ23AU3L7037265   Kia          SOUL                Clearwater                FL
131200   KNDJ23AU3L7037637   Kia          SOUL                ATLANTA                   GA
131201   KNDJ23AU4L7000645   Kia          SOUL                MIAMI                     FL
131202   KNDJ23AU4L7000967   Kia          SOUL                MEDINA                    OH
131203   KNDJ23AU4L7001634   Kia          SOUL                Detroit                   MI
131204   KNDJ23AU4L7006493   Kia          SOUL                NASHVILLE                 TN
131205   KNDJ23AU4L7016201   Kia          SOUL                Memphis                   TN
131206   KNDJ23AU4L7016490   Kia          SOUL                EULESS                    TX
131207   KNDJ23AU4L7018921   Kia          SOUL                Mira Loma                 CA
131208   KNDJ23AU4L7019762   Kia          SOUL                Memphis                   TN
131209   KNDJ23AU4L7020118   Kia          SOUL                Florissant                MO
131210   KNDJ23AU4L7020409   Kia          SOUL                PLEASANTON                CA
131211   KNDJ23AU4L7039591   Kia          SOUL                MIAMI                     FL
131212   KNDJ23AU5L7001352   Kia          SOUL                Marietta                  GA
131213   KNDJ23AU5L7006213   Kia          SOUL                Florissant                MO
131214   KNDJ23AU5L7007006   Kia          SOUL                Cleveland                 OH
131215   KNDJ23AU5L7013873   Kia          SOUL                CLARKSVILLE               IN
131216   KNDJ23AU5L7019141   Kia          SOUL                Hamilton                  OH
131217   KNDJ23AU5L7019771   Kia          SOUL                Warminster                PA
131218   KNDJ23AU5L7020354   Kia          SOUL                SOUTHEAST DST OFFC        OK
131219   KNDJ23AU5L7020810   Kia          SOUL                Hamilton                  OH
131220   KNDJ23AU5L7038756   Kia          SOUL                Tampa                     FL
131221   KNDJ23AU5L7039146   Kia          SOUL                Hamilton                  OH
131222   KNDJ23AU5L7040894   Kia          SOUL                Tampa                     FL
131223   KNDJ23AU6L7004423   Kia          SOUL                Rockville Centr           NY
131224   KNDJ23AU6L7004762   Kia          SOUL                Hendersonville            TN
131225   KNDJ23AU6L7005295   Kia          SOUL                Baltimore                 MD
131226   KNDJ23AU6L7006303   Kia          SOUL                HAMPTON                   VA
131227   KNDJ23AU6L7014787   Kia          SOUL                Salt Lake City            UT
131228   KNDJ23AU6L7017513   Kia          SOUL                Harvey                    LA
131229   KNDJ23AU6L7019617   Kia          SOUL                HOUSTON                   TX
131230   KNDJ23AU6L7020346   Kia          SOUL                Memphis                   TN
131231   KNDJ23AU6L7020380   Kia          SOUL                Nashville                 TN
131232   KNDJ23AU6L7020945   Kia          SOUL                Philadelphia              PA
131233   KNDJ23AU6L7021075   Kia          SOUL                Memphis                   TN
131234   KNDJ23AU6L7038555   Kia          SOUL                Austin                    TX
131235   KNDJ23AU6L7040046   Kia          SOUL                College Park              GA
131236   KNDJ23AU7L7001496   Kia          SOUL                Louisville                KY
131237   KNDJ23AU7L7007024   Kia          SOUL                Baltimore                 MD
131238   KNDJ23AU7L7007122   Kia          SOUL                San Antonio               TX
131239   KNDJ23AU7L7007654   Kia          SOUL                Baltimore                 MD
131240   KNDJ23AU7L7017696   Kia          SOUL                Irving                    TX
131241   KNDJ23AU7L7018900   Kia          SOUL                MELROSE PARK              IL
131242   KNDJ23AU7L7019934   Kia          SOUL                Memphis                   TN
131243   KNDJ23AU7L7020095   Kia          SOUL                TAMPA                     US
131244   KNDJ23AU7L7020145   Kia          SOUL                Nashville                 TN
131245   KNDJ23AU7L7020162   Kia          SOUL                Marietta                  GA
131246   KNDJ23AU7L7020419   Kia          SOUL                Baltimore                 MD
131247   KNDJ23AU7L7020890   Kia          SOUL                Atlanta                   GA
131248   KNDJ23AU7L7021067   Kia          SOUL                CLARKSVILLE               IN
131249   KNDJ23AU8L7004455   Kia          SOUL                Smithtown                 NY
131250   KNDJ23AU8L7004830   Kia          SOUL                Florissant                MO
131251   KNDJ23AU8L7006240   Kia          SOUL                MELROSE PARK              IL
131252   KNDJ23AU8L7006660   Kia          SOUL                Memphis                   TN
131253   KNDJ23AU8L7007968   Kia          SOUL                PHOENIX                   AZ
131254   KNDJ23AU8L7007971   Kia          SOUL                Newark                    NJ
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131255   KNDJ23AU8L7008229   Kia          SOUL                Hamilton                  OH
131256   KNDJ23AU8L7015374   Kia          SOUL                Hebron                    KY
131257   KNDJ23AU8L7016931   Kia          SOUL                Grove City                OH
131258   KNDJ23AU8L7019487   Kia          SOUL                Baltimore                 MD
131259   KNDJ23AU8L7020879   Kia          SOUL                Memphis                   TN
131260   KNDJ23AU9L7007266   Kia          SOUL                MEMPHIS                   TN
131261   KNDJ23AU9L7014282   Kia          SOUL                ATLANTA                   GA
131262   KNDJ23AU9L7017814   Kia          SOUL                SOUTHEAST DST OFFC        OK
131263   KNDJ23AU9L7018509   Kia          SOUL                Florissant                MO
131264   KNDJ23AU9L7018770   Kia          SOUL                Hebron                    KY
131265   KNDJ23AU9L7021264   Kia          SOUL                Hendersonville            TN
131266   KNDJ23AU9L7026965   Kia          SOUL                Harvey                    LA
131267   KNDJ23AUXL7000617   Kia          SOUL                Hapeville                 GA
131268   KNDJ23AUXL7000732   Kia          SOUL                LOUISVILLE                KY
131269   KNDJ23AUXL7004795   Kia          SOUL                MEMPHIS                   TN
131270   KNDJ23AUXL7005333   Kia          SOUL                CLARKSVILLE               IN
131271   KNDJ23AUXL7014985   Kia          SOUL                Florissant                MO
131272   KNDJ23AUXL7016798   Kia          SOUL                Warr Acres                OK
131273   KNDJ23AUXL7018793   Kia          SOUL                Atlanta                   GA
131274   KNDJ23AUXL7019085   Kia          SOUL                Atlanta                   GA
131275   KNDJ23AUXL7019409   Kia          SOUL                COLUMBIA                  SC
131276   KNDJ23AUXL7020186   Kia          SOUL                CLARKSVILLE               IN
131277   KNDJ23AUXL7022374   Kia          SOUL                MEDINA                    OH
131278   KNDJ23AUXL7037473   Kia          SOUL                Rockville Centr           NY
131279   KNDJ23AUXL7037957   Kia          SOUL                Memphis                   TN
131280   KNDJ23AUXL7039854   Kia          SOUL                MEDINA                    OH
131281   KNDJN2A20F7795858   Kia          SOUL                NORTH PAC                 CA
131282   KNDJN2A20J7541673   Kia          SOUL                Lake Elsinore             CA
131283   KNDJN2A22G7272097   Kia          SOUL                SAN DIEGO                 CA
131284   KNDJN2A22H7423148   Kia          SOUL                Dallas                    TX
131285   KNDJN2A22K7663873   Kia          SOUL                FORT MYERS                FL
131286   KNDJN2A22K7689468   Kia          SOUL                Teterboro                 NJ
131287   KNDJN2A23G7320190   Kia          SOUL                CENTRAL DIST OFFC         OK
131288   KNDJN2A23G7325745   Kia          SOUL                LOS ANGELES               CA
131289   KNDJN2A25G7328372   Kia          SOUL                PHOENIX                   AZ
131290   KNDJN2A25J7596197   Kia          SOUL                TAMPA                     FL
131291   KNDJN2A25K7692459   Kia          SOUL                TAMPA                     FL
131292   KNDJN2A26F7795511   Kia          SOUL                SOUTHEAST DST OFFC        OK
131293   KNDJN2A26J7620202   Kia          SOUL                Ft. Myers                 FL
131294   KNDJN2A27E7020780   Kia          SOUL                Tampa                     FL
131295   KNDJN2A27F7802885   Kia          SOUL                SAN DIEGO                 CA
131296   KNDJN2A27H7472510   Kia          SOUL                Riverside                 CA
131297   KNDJN2A27J7547888   Kia          SOUL                Corpus Christi            TX
131298   KNDJN2A27J7903207   Kia          SOUL                St. Louis                 MO
131299   KNDJN2A28H7474850   Kia          SOUL                Anaheim                   CA
131300   KNDJN2A28H7882412   Kia          SOUL                Lynn                      MA
131301   KNDJN2A28J7623554   Kia          SOUL                ORLANDO                   FL
131302   KNDJN2A28K7003417   Kia          SOUL                ORLANDO                   FL
131303   KNDJN2A28K7683562   Kia          SOUL                Fresno                    CA
131304   KNDJN2A29G7285087   Kia          SOUL                DES MOINES                IA
131305   KNDJN2A29G7289625   Kia          SOUL                Los Angeles               CA
131306   KNDJN2A29G7323532   Kia          SOUL                OCEANSIDE                 CA
131307   KNDJN2A29K7015849   Kia          SOUL                Newark                    NJ
131308   KNDJN2A2XG7863536   Kia          SOUL                Tampa                     FL
131309   KNDJN2A2XH7468533   Kia          SOUL                PHOENIX                   AZ
131310   KNDJN2A2XJ7520961   Kia          SOUL                Cranberry Towns           PA
131311   KNDJN2A2XJ7605587   Kia          SOUL                FORT LAUDERDALE           FL
131312   KNDJP3A50G7365369   Kia          SOUL                Davie                     FL
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131313   KNDJP3A50H7410960   Kia          SOUL                BURBANK                   CA
131314   KNDJP3A50H7411168   Kia          SOUL                BURBANK                   CA
131315   KNDJP3A50H7415088   Kia          SOUL                DES PLAINES               US
131316   KNDJP3A50H7426818   Kia          SOUL                Elkridge                  MD
131317   KNDJP3A50H7444753   Kia          SOUL                Atlanta                   GA
131318   KNDJP3A50H7463383   Kia          SOUL                Rock Hill                 SC
131319   KNDJP3A50H7470494   Kia          SOUL                HANOVER                   MD
131320   KNDJP3A50H7477672   Kia          SOUL                MEDINA                    OH
131321   KNDJP3A50H7477753   Kia          SOUL                Elkridge                  MD
131322   KNDJP3A50H7478269   Kia          SOUL                Davie                     FL
131323   KNDJP3A50H7499171   Kia          SOUL                Atlanta                   GA
131324   KNDJP3A50H7499753   Kia          SOUL                STERLING                  VA
131325   KNDJP3A50H7500058   Kia          SOUL                North Dighton             MA
131326   KNDJP3A50H7500075   Kia          SOUL                NEW ORLEANS               LA
131327   KNDJP3A50H7884164   Kia          SOUL                San Diego                 CA
131328   KNDJP3A50J7508070   Kia          SOUL                SOUTHEAST DST OFFC        OK
131329   KNDJP3A50J7508148   Kia          SOUL                SOUTHEAST DST OFFC        OK
131330   KNDJP3A50J7509557   Kia          SOUL                SAN ANTONIO               TX
131331   KNDJP3A50J7510370   Kia          SOUL                Matteson                  IL
131332   KNDJP3A50J7513012   Kia          SOUL                PHILADELPHIA              PA
131333   KNDJP3A50J7513933   Kia          SOUL                Tampa                     FL
131334   KNDJP3A50J7522437   Kia          SOUL                CHICAGO                   IL
131335   KNDJP3A50J7526312   Kia          SOUL                LOS ANGELES               CA
131336   KNDJP3A50J7526844   Kia          SOUL                Tolleson                  AZ
131337   KNDJP3A50J7527640   Kia          SOUL                BURBANK                   CA
131338   KNDJP3A50J7528321   Kia          SOUL                BURBANK                   CA
131339   KNDJP3A50J7528559   Kia          SOUL                Sacramento                CA
131340   KNDJP3A50J7528870   Kia          SOUL                LOS ANGELES               CA
131341   KNDJP3A50J7529436   Kia          SOUL                CHICAGO                   IL
131342   KNDJP3A50J7529906   Kia          SOUL                Ventura                   CA
131343   KNDJP3A50J7534250   Kia          SOUL                NORTH PAC                 CA
131344   KNDJP3A50J7537472   Kia          SOUL                WASHINGTON DC             MD
131345   KNDJP3A50J7537598   Kia          SOUL                PHOENIX                   AZ
131346   KNDJP3A50J7538492   Kia          SOUL                SPRINGFIELD               VA
131347   KNDJP3A50J7541909   Kia          SOUL                PHILADELPHIA              PA
131348   KNDJP3A50J7542445   Kia          SOUL                Torrance                  CA
131349   KNDJP3A50J7542459   Kia          SOUL                North Dighton             MA
131350   KNDJP3A50J7543076   Kia          SOUL                San Antonio               TX
131351   KNDJP3A50J7543238   Kia          SOUL                DANIA BEACH               FL
131352   KNDJP3A50J7543823   Kia          SOUL                SEATTLE                   WA
131353   KNDJP3A50J7543899   Kia          SOUL                KENNER                    LA
131354   KNDJP3A50J7544258   Kia          SOUL                NEW YORK DEALER DI        NJ
131355   KNDJP3A50J7545281   Kia          SOUL                Slidell                   LA
131356   KNDJP3A50J7547015   Kia          SOUL                North Las Vegas           NV
131357   KNDJP3A50J7549542   Kia          SOUL                SACRAMENTO                CA
131358   KNDJP3A50J7552442   Kia          SOUL                TRACY                     CA
131359   KNDJP3A50J7556975   Kia          SOUL                BURBANK                   CA
131360   KNDJP3A50J7557527   Kia          SOUL                LOS ANGELES AP            CA
131361   KNDJP3A50J7557947   Kia          SOUL                North Las Vegas           NV
131362   KNDJP3A50J7558273   Kia          SOUL                DAYTONA BEACH             FL
131363   KNDJP3A50J7559651   Kia          SOUL                Riverside                 CA
131364   KNDJP3A50J7559889   Kia          SOUL                Fairburn                  GA
131365   KNDJP3A50J7559973   Kia          SOUL                Dania                     FL
131366   KNDJP3A50J7560069   Kia          SOUL                SANTA ANA                 CA
131367   KNDJP3A50J7561660   Kia          SOUL                LAS VEGAS                 NV
131368   KNDJP3A50J7561934   Kia          SOUL                DAYTONA BEACH             FL
131369   KNDJP3A50J7562520   Kia          SOUL                NEW ENGLAND DEALER        MA
131370   KNDJP3A50J7566941   Kia          SOUL                Rock Hill                 SC
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131371   KNDJP3A50J7567751   Kia          SOUL                Tampa                     FL
131372   KNDJP3A50J7567877   Kia          SOUL                Sanford                   FL
131373   KNDJP3A50J7568592   Kia          SOUL                DAYTONA BEACH             FL
131374   KNDJP3A50J7568625   Kia          SOUL                ST Paul                   MN
131375   KNDJP3A50J7569256   Kia          SOUL                Statesville               NC
131376   KNDJP3A50J7572478   Kia          SOUL                Chandler                  AZ
131377   KNDJP3A50J7572805   Kia          SOUL                BURBANK                   CA
131378   KNDJP3A50J7573808   Kia          SOUL                Slidell                   LA
131379   KNDJP3A50J7574473   Kia          SOUL                Norwalk                   CA
131380   KNDJP3A50J7574733   Kia          SOUL                DAYTONA BEACH             FL
131381   KNDJP3A50J7574747   Kia          SOUL                South San Franc           CA
131382   KNDJP3A50J7575462   Kia          SOUL                Denver                    CO
131383   KNDJP3A50J7575753   Kia          SOUL                LOS ANGELES               CA
131384   KNDJP3A50J7576367   Kia          SOUL                BURBANK                   CA
131385   KNDJP3A50J7576532   Kia          SOUL                San Diego                 CA
131386   KNDJP3A50J7577017   Kia          SOUL                San Diego                 CA
131387   KNDJP3A50J7577843   Kia          SOUL                PHOENIX                   AZ
131388   KNDJP3A50J7577955   Kia          SOUL                LOS ANGELES               CA
131389   KNDJP3A50J7578040   Kia          SOUL                DAYTONA BEACH             FL
131390   KNDJP3A50J7578166   Kia          SOUL                Fredericksburg            VA
131391   KNDJP3A50J7580449   Kia          SOUL                LOS ANGELES               CA
131392   KNDJP3A50J7583335   Kia          SOUL                MIAMI                     FL
131393   KNDJP3A50J7583769   Kia          SOUL                GLENOLDEN                 PA
131394   KNDJP3A50J7587031   Kia          SOUL                Atlanta                   GA
131395   KNDJP3A50J7587725   Kia          SOUL                Anaheim                   CA
131396   KNDJP3A50J7587823   Kia          SOUL                JACKSONVILLE              FL
131397   KNDJP3A50J7592309   Kia          SOUL                Dallas                    TX
131398   KNDJP3A50J7593010   Kia          SOUL                Austin                    TX
131399   KNDJP3A50J7593301   Kia          SOUL                Hendersonville            TN
131400   KNDJP3A50J7594139   Kia          SOUL                Hamilton                  OH
131401   KNDJP3A50J7594299   Kia          SOUL                BURBANK                   CA
131402   KNDJP3A50J7594352   Kia          SOUL                Irving                    TX
131403   KNDJP3A50J7596120   Kia          SOUL                Tolleson                  AZ
131404   KNDJP3A50J7596876   Kia          SOUL                BURBANK                   CA
131405   KNDJP3A50J7598160   Kia          SOUL                Fairburn                  GA
131406   KNDJP3A50J7598644   Kia          SOUL                TAMPA                     FL
131407   KNDJP3A50J7600263   Kia          SOUL                SAN ANTONIO               TX
131408   KNDJP3A50J7600358   Kia          SOUL                Rio Linda                 CA
131409   KNDJP3A50J7602112   Kia          SOUL                STERLING                  VA
131410   KNDJP3A50J7602921   Kia          SOUL                HOUSTON                   TX
131411   KNDJP3A50J7602997   Kia          SOUL                Honolulu                  HI
131412   KNDJP3A50J7603227   Kia          SOUL                KENNER                    LA
131413   KNDJP3A50J7604426   Kia          SOUL                Atlanta                   GA
131414   KNDJP3A50J7604670   Kia          SOUL                SANTA FE                  NM
131415   KNDJP3A50J7604684   Kia          SOUL                Tampa                     FL
131416   KNDJP3A50J7607066   Kia          SOUL                Tampa                     FL
131417   KNDJP3A50J7609285   Kia          SOUL                BURBANK                   CA
131418   KNDJP3A50J7612087   Kia          SOUL                MIAMI INT'L AP            FL
131419   KNDJP3A50J7618553   Kia          SOUL                HOUSTON                   TX
131420   KNDJP3A50J7623879   Kia          SOUL                ORLANDO                   FL
131421   KNDJP3A50J7891041   Kia          SOUL                Oakland                   CA
131422   KNDJP3A50J7894084   Kia          SOUL                CHARLOTTE                 NC
131423   KNDJP3A50J7894926   Kia          SOUL                SAN JOSE                  CA
131424   KNDJP3A50J7894943   Kia          SOUL                NORTH PAC                 CA
131425   KNDJP3A50J7895364   Kia          SOUL                ORLANDO                   FL
131426   KNDJP3A50J7897728   Kia          SOUL                SEATAC                    WA
131427   KNDJP3A50J7898068   Kia          SOUL                Elkridge                  MD
131428   KNDJP3A50J7898667   Kia          SOUL                FLORIDA DEALER DIR        FL
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131429   KNDJP3A50J7898684   Kia          SOUL                NORTH PAC                 CA
131430   KNDJP3A50J7898698   Kia          SOUL                Miami                     FL
131431   KNDJP3A50J7898930   Kia          SOUL                Miami                     FL
131432   KNDJP3A50J7899236   Kia          SOUL                ORLANDO                   FL
131433   KNDJP3A50J7901387   Kia          SOUL                Las Vegas                 NV
131434   KNDJP3A50J7901566   Kia          SOUL                Manheim                   PA
131435   KNDJP3A50J7902183   Kia          SOUL                LOS ANGELES               CA
131436   KNDJP3A50J7903432   Kia          SOUL                ORLANDO                   FL
131437   KNDJP3A50J7904225   Kia          SOUL                Las Vegas                 NV
131438   KNDJP3A50J7904239   Kia          SOUL                Hayward                   CA
131439   KNDJP3A50J7904483   Kia          SOUL                WHITE PLAINS              NY
131440   KNDJP3A50J7904760   Kia          SOUL                FORT MYERS                FL
131441   KNDJP3A50K7013403   Kia          SOUL                TAMPA                     FL
131442   KNDJP3A50K7628646   Kia          SOUL                Miami                     FL
131443   KNDJP3A50K7628985   Kia          SOUL                Pompano Beach             FL
131444   KNDJP3A50K7629554   Kia          SOUL                ORLANDO                   FL
131445   KNDJP3A50K7629585   Kia          SOUL                FAYETTEVILLE              GA
131446   KNDJP3A50K7630199   Kia          SOUL                COSTA MESA                CA
131447   KNDJP3A50K7630221   Kia          SOUL                ASTORIA                   NY
131448   KNDJP3A50K7630364   Kia          SOUL                ORLANDO                   FL
131449   KNDJP3A50K7630459   Kia          SOUL                DAYTONA BEACH             FL
131450   KNDJP3A50K7630462   Kia          SOUL                Statesville               NC
131451   KNDJP3A50K7630560   Kia          SOUL                Atlanta                   GA
131452   KNDJP3A50K7630753   Kia          SOUL                TAMPA                     FL
131453   KNDJP3A50K7630803   Kia          SOUL                BRONX                     NY
131454   KNDJP3A50K7630963   Kia          SOUL                WEST PALM BEACH           FL
131455   KNDJP3A50K7631773   Kia          SOUL                SARASOTA                  FL
131456   KNDJP3A50K7631840   Kia          SOUL                ORLANDO                   FL
131457   KNDJP3A50K7631921   Kia          SOUL                FORT MYERS                FL
131458   KNDJP3A50K7632597   Kia          SOUL                ORLANDO                   FL
131459   KNDJP3A50K7632874   Kia          SOUL                FORT MYERS                FL
131460   KNDJP3A50K7633457   Kia          SOUL                FORT LAUDERDALE           FL
131461   KNDJP3A50K7636438   Kia          SOUL                EL PASO                   TX
131462   KNDJP3A50K7636617   Kia          SOUL                SACRAMENTO                CA
131463   KNDJP3A50K7636892   Kia          SOUL                NEWARK                    NJ
131464   KNDJP3A50K7637475   Kia          SOUL                BURBANK                   CA
131465   KNDJP3A50K7637752   Kia          SOUL                Des Plaines               IL
131466   KNDJP3A50K7637931   Kia          SOUL                FRESNO                    CA
131467   KNDJP3A50K7638688   Kia          SOUL                BURBANK                   CA
131468   KNDJP3A50K7639114   Kia          SOUL                Aurora                    CO
131469   KNDJP3A50K7639128   Kia          SOUL                MANHATTAN                 KS
131470   KNDJP3A50K7639551   Kia          SOUL                SACRAMENTO                CA
131471   KNDJP3A50K7640831   Kia          SOUL                ORLANDO                   FL
131472   KNDJP3A50K7641400   Kia          SOUL                FORT LAUDERDALE           FL
131473   KNDJP3A50K7644281   Kia          SOUL                San Antonio               TX
131474   KNDJP3A50K7644913   Kia          SOUL                Fairburn                  GA
131475   KNDJP3A50K7644961   Kia          SOUL                FRESNO                    CA
131476   KNDJP3A50K7648167   Kia          SOUL                Irving                    TX
131477   KNDJP3A50K7648251   Kia          SOUL                MILWAUKEE                 WI
131478   KNDJP3A50K7648850   Kia          SOUL                ONTARIO                   CA
131479   KNDJP3A50K7648864   Kia          SOUL                Harvey                    LA
131480   KNDJP3A50K7649366   Kia          SOUL                CHARLOTTE                 NC
131481   KNDJP3A50K7649710   Kia          SOUL                ORLANDO                   FL
131482   KNDJP3A50K7650212   Kia          SOUL                Birmingham                AL
131483   KNDJP3A50K7650596   Kia          SOUL                FORT MYERS                FL
131484   KNDJP3A50K7650887   Kia          SOUL                SAINT PAUL                MN
131485   KNDJP3A50K7650906   Kia          SOUL                Fairburn                  GA
131486   KNDJP3A50K7651036   Kia          SOUL                Roseville                 CA
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131487   KNDJP3A50K7651635   Kia          SOUL                Dallas                    TX
131488   KNDJP3A50K7651683   Kia          SOUL                FORT MYERS                FL
131489   KNDJP3A50K7652462   Kia          SOUL                Wichita                   KS
131490   KNDJP3A50K7652607   Kia          SOUL                CHARLOTTE                 NC
131491   KNDJP3A50K7652624   Kia          SOUL                Dallas                    TX
131492   KNDJP3A50K7653966   Kia          SOUL                San Antonio               TX
131493   KNDJP3A50K7654227   Kia          SOUL                Hayward                   CA
131494   KNDJP3A50K7654695   Kia          SOUL                SOUTH BEND                IN
131495   KNDJP3A50K7654700   Kia          SOUL                JACKSON                   MS
131496   KNDJP3A50K7654728   Kia          SOUL                Irving                    TX
131497   KNDJP3A50K7655376   Kia          SOUL                ONTARIO                   CA
131498   KNDJP3A50K7655491   Kia          SOUL                Las Vegas                 NV
131499   KNDJP3A50K7655619   Kia          SOUL                Norwalk                   CA
131500   KNDJP3A50K7655801   Kia          SOUL                West Bountiful            UT
131501   KNDJP3A50K7655815   Kia          SOUL                BIRMINGHAM                AL
131502   KNDJP3A50K7660609   Kia          SOUL                Honolulu                  HI
131503   KNDJP3A50K7660724   Kia          SOUL                Tampa                     FL
131504   KNDJP3A50K7660870   Kia          SOUL                Austell                   GA
131505   KNDJP3A50K7660884   Kia          SOUL                ST PAUL                   MN
131506   KNDJP3A50K7660979   Kia          SOUL                NEW YORK DEALER DI        NJ
131507   KNDJP3A50K7661503   Kia          SOUL                ST Paul                   MN
131508   KNDJP3A50K7661551   Kia          SOUL                TAMPA                     FL
131509   KNDJP3A50K7661890   Kia          SOUL                SACRAMENTO                CA
131510   KNDJP3A50K7662165   Kia          SOUL                SAN JOSE                  CA
131511   KNDJP3A50K7662215   Kia          SOUL                ORLANDO                   FL
131512   KNDJP3A50K7662294   Kia          SOUL                FORT MYERS                FL
131513   KNDJP3A50K7662330   Kia          SOUL                Riverside                 CA
131514   KNDJP3A50K7662716   Kia          SOUL                INGLEWOOD                 CA
131515   KNDJP3A50K7662876   Kia          SOUL                BOSTON                    MA
131516   KNDJP3A50K7662960   Kia          SOUL                ORLANDO                   FL
131517   KNDJP3A50K7662991   Kia          SOUL                TAMPA                     FL
131518   KNDJP3A50K7663073   Kia          SOUL                Kansas City               MO
131519   KNDJP3A50K7663350   Kia          SOUL                SAN DIEGO                 US
131520   KNDJP3A50K7663459   Kia          SOUL                MIDLAND                   TX
131521   KNDJP3A50K7663493   Kia          SOUL                JACKSONVILLE              FL
131522   KNDJP3A50K7664157   Kia          SOUL                Florissant                MO
131523   KNDJP3A50K7664191   Kia          SOUL                Fresno                    CA
131524   KNDJP3A50K7664496   Kia          SOUL                ORLANDO                   FL
131525   KNDJP3A50K7664546   Kia          SOUL                MIAMI                     FL
131526   KNDJP3A50K7664577   Kia          SOUL                Pompano Beach             FL
131527   KNDJP3A50K7664580   Kia          SOUL                Humble                    TX
131528   KNDJP3A50K7665535   Kia          SOUL                Hendersonville            TN
131529   KNDJP3A50K7665907   Kia          SOUL                BURBANK                   CA
131530   KNDJP3A50K7666023   Kia          SOUL                BURBANK                   CA
131531   KNDJP3A50K7666202   Kia          SOUL                CHICAGO                   IL
131532   KNDJP3A50K7666667   Kia          SOUL                Harvey                    LA
131533   KNDJP3A50K7666880   Kia          SOUL                HILO                      HI
131534   KNDJP3A50K7666894   Kia          SOUL                Hamilton                  OH
131535   KNDJP3A50K7678480   Kia          SOUL                MEDINA                    OH
131536   KNDJP3A50K7692704   Kia          SOUL                Beaverton                 OR
131537   KNDJP3A50K7697112   Kia          SOUL                Las Vegas                 NV
131538   KNDJP3A50K7908258   Kia          SOUL                FORT LAUDERDALE           FL
131539   KNDJP3A50K7908650   Kia          SOUL                DANIA BEACH               FL
131540   KNDJP3A50K7908907   Kia          SOUL                BLOOMINGTON               IL
131541   KNDJP3A50K7910088   Kia          SOUL                SHREVEPORT                LA
131542   KNDJP3A50K7910284   Kia          SOUL                Dallas                    TX
131543   KNDJP3A50K7910348   Kia          SOUL                LAS VEGAS                 NV
131544   KNDJP3A50K7910401   Kia          SOUL                CHICAGO                   IL
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131545   KNDJP3A50K7910916   Kia          SOUL                Cleveland                 OH
131546   KNDJP3A50K7912102   Kia          SOUL                KENNER                    LA
131547   KNDJP3A50K7912889   Kia          SOUL                NORTH PAC                 CA
131548   KNDJP3A50K7913945   Kia          SOUL                PHOENIX                   AZ
131549   KNDJP3A50K7918188   Kia          SOUL                Winston‐Salem             NC
131550   KNDJP3A51H7416699   Kia          SOUL                Fontana                   CA
131551   KNDJP3A51H7425841   Kia          SOUL                Miami                     FL
131552   KNDJP3A51H7448911   Kia          SOUL                Burien                    WA
131553   KNDJP3A51H7463859   Kia          SOUL                LOS ANGELES               CA
131554   KNDJP3A51H7467555   Kia          SOUL                HANOVER                   MD
131555   KNDJP3A51H7477759   Kia          SOUL                Davie                     FL
131556   KNDJP3A51H7477857   Kia          SOUL                North Dighton             MA
131557   KNDJP3A51H7495467   Kia          SOUL                Tampa                     FL
131558   KNDJP3A51H7497333   Kia          SOUL                Pompano Beach             FL
131559   KNDJP3A51H7498515   Kia          SOUL                Elkridge                  MD
131560   KNDJP3A51H7499051   Kia          SOUL                Elkridge                  MD
131561   KNDJP3A51H7501851   Kia          SOUL                North Dighton             MA
131562   KNDJP3A51H7882827   Kia          SOUL                FLORIDA DEALER DIR        FL
131563   KNDJP3A51J7508210   Kia          SOUL                BURLINGAME                CA
131564   KNDJP3A51J7508742   Kia          SOUL                DAYTONA BEACH             FL
131565   KNDJP3A51J7511897   Kia          SOUL                Sterling                  VA
131566   KNDJP3A51J7512242   Kia          SOUL                PHILADELPHIA              PA
131567   KNDJP3A51J7526528   Kia          SOUL                North Las Vegas           NV
131568   KNDJP3A51J7527131   Kia          SOUL                SEATAC                    WA
131569   KNDJP3A51J7528988   Kia          SOUL                LAS VEGAS                 NV
131570   KNDJP3A51J7532653   Kia          SOUL                BURBANK                   CA
131571   KNDJP3A51J7533673   Kia          SOUL                COLLEGE PARK              GA
131572   KNDJP3A51J7537142   Kia          SOUL                STERLING                  VA
131573   KNDJP3A51J7539005   Kia          SOUL                Detroit                   MI
131574   KNDJP3A51J7539795   Kia          SOUL                North Dighton             MA
131575   KNDJP3A51J7542454   Kia          SOUL                LAS VEGAS                 NV
131576   KNDJP3A51J7544091   Kia          SOUL                SAN DIEGO                 CA
131577   KNDJP3A51J7544284   Kia          SOUL                SAN JOSE                  CA
131578   KNDJP3A51J7546035   Kia          SOUL                LOS ANGELES               CA
131579   KNDJP3A51J7547010   Kia          SOUL                North Las Vegas           NV
131580   KNDJP3A51J7551493   Kia          SOUL                SOUTHWEST DEALER D        TX
131581   KNDJP3A51J7552062   Kia          SOUL                OAKLAND                   CA
131582   KNDJP3A51J7552451   Kia          SOUL                ROSEVILLE                 CA
131583   KNDJP3A51J7555883   Kia          SOUL                BURBANK                   CA
131584   KNDJP3A51J7556435   Kia          SOUL                TRACY                     CA
131585   KNDJP3A51J7556841   Kia          SOUL                LOS ANGELES               CA
131586   KNDJP3A51J7556998   Kia          SOUL                NORTH PAC                 CA
131587   KNDJP3A51J7557035   Kia          SOUL                BURBANK                   CA
131588   KNDJP3A51J7557570   Kia          SOUL                SANTA ANA                 CA
131589   KNDJP3A51J7558380   Kia          SOUL                CENTRAL DIST OFFC         OK
131590   KNDJP3A51J7558962   Kia          SOUL                Richmond                  VA
131591   KNDJP3A51J7560095   Kia          SOUL                NORTH PAC                 CA
131592   KNDJP3A51J7562655   Kia          SOUL                CHICAGO                   IL
131593   KNDJP3A51J7563966   Kia          SOUL                LAS VEGAS                 NV
131594   KNDJP3A51J7565071   Kia          SOUL                BURBANK                   CA
131595   KNDJP3A51J7565832   Kia          SOUL                BOSTON                    MA
131596   KNDJP3A51J7566320   Kia          SOUL                Bensalem                  PA
131597   KNDJP3A51J7567788   Kia          SOUL                Ontario                   CA
131598   KNDJP3A51J7568410   Kia          SOUL                Denver                    CO
131599   KNDJP3A51J7568519   Kia          SOUL                Englewood                 CO
131600   KNDJP3A51J7568861   Kia          SOUL                N. Palm Beach             FL
131601   KNDJP3A51J7568875   Kia          SOUL                North Dighton             MA
131602   KNDJP3A51J7573493   Kia          SOUL                SAINT PAUL                MN
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131603   KNDJP3A51J7573672   Kia          SOUL                ORLANDO                   FL
131604   KNDJP3A51J7574076   Kia          SOUL                ROSEVILLE                 CA
131605   KNDJP3A51J7574305   Kia          SOUL                Costa Mesa                CA
131606   KNDJP3A51J7574708   Kia          SOUL                SANTA ANA                 CA
131607   KNDJP3A51J7576099   Kia          SOUL                North Las Vegas           NV
131608   KNDJP3A51J7576376   Kia          SOUL                NORTH PAC                 CA
131609   KNDJP3A51J7576720   Kia          SOUL                NORTH PAC                 CA
131610   KNDJP3A51J7576815   Kia          SOUL                Riverside                 CA
131611   KNDJP3A51J7577009   Kia          SOUL                BURBANK                   CA
131612   KNDJP3A51J7577298   Kia          SOUL                North Las Vegas           NV
131613   KNDJP3A51J7577625   Kia          SOUL                Tolleson                  AZ
131614   KNDJP3A51J7577785   Kia          SOUL                SAN DIEGO                 CA
131615   KNDJP3A51J7577818   Kia          SOUL                ONTARIO                   CA
131616   KNDJP3A51J7578029   Kia          SOUL                BURBANK                   CA
131617   KNDJP3A51J7578144   Kia          SOUL                LOS ANGELES               CA
131618   KNDJP3A51J7579262   Kia          SOUL                OAKLAND                   CA
131619   KNDJP3A51J7587507   Kia          SOUL                PLEASANTON                CA
131620   KNDJP3A51J7588740   Kia          SOUL                Anaheim                   CA
131621   KNDJP3A51J7592187   Kia          SOUL                Marietta                  GA
131622   KNDJP3A51J7592433   Kia          SOUL                DAYTONA BEACH             FL
131623   KNDJP3A51J7593727   Kia          SOUL                ENGLEWOOD                 CO
131624   KNDJP3A51J7594165   Kia          SOUL                AUSTIN                    TX
131625   KNDJP3A51J7594263   Kia          SOUL                BURBANK                   CA
131626   KNDJP3A51J7594473   Kia          SOUL                Fontana                   CA
131627   KNDJP3A51J7594621   Kia          SOUL                Phoenix                   AZ
131628   KNDJP3A51J7594781   Kia          SOUL                N. Las Vegas              NV
131629   KNDJP3A51J7595946   Kia          SOUL                BURBANK                   CA
131630   KNDJP3A51J7596689   Kia          SOUL                OAKLAND                   CA
131631   KNDJP3A51J7596708   Kia          SOUL                Roseville                 CA
131632   KNDJP3A51J7599480   Kia          SOUL                ORLANDO                   FL
131633   KNDJP3A51J7601695   Kia          SOUL                HOBOKEN                   NJ
131634   KNDJP3A51J7602507   Kia          SOUL                WEST PALM BEACH           FL
131635   KNDJP3A51J7602622   Kia          SOUL                Englewood                 CO
131636   KNDJP3A51J7604063   Kia          SOUL                DALLAS                    TX
131637   KNDJP3A51J7604306   Kia          SOUL                Hamilton                  OH
131638   KNDJP3A51J7604693   Kia          SOUL                BIRMINGHAN                AL
131639   KNDJP3A51J7606945   Kia          SOUL                Hanover                   MD
131640   KNDJP3A51J7607951   Kia          SOUL                Denver                    CO
131641   KNDJP3A51J7609053   Kia          SOUL                JACKSONVILLE              FL
131642   KNDJP3A51J7610722   Kia          SOUL                DANIA BEACH               FL
131643   KNDJP3A51J7626466   Kia          SOUL                BURBANK                   CA
131644   KNDJP3A51J7888634   Kia          SOUL                STERLING                  VA
131645   KNDJP3A51J7888679   Kia          SOUL                Elkridge                  MD
131646   KNDJP3A51J7890996   Kia          SOUL                BURBANK                   CA
131647   KNDJP3A51J7894787   Kia          SOUL                BURBANK                   CA
131648   KNDJP3A51J7895020   Kia          SOUL                SAN FRANCISCO             CA
131649   KNDJP3A51J7896958   Kia          SOUL                BURBANK                   CA
131650   KNDJP3A51J7897866   Kia          SOUL                BURBANK                   CA
131651   KNDJP3A51J7897981   Kia          SOUL                NEW ENGLAND DEALER        MA
131652   KNDJP3A51J7898077   Kia          SOUL                DAYTONA BEACH             FL
131653   KNDJP3A51J7898189   Kia          SOUL                Manheim                   PA
131654   KNDJP3A51J7898256   Kia          SOUL                DALLAS                    TX
131655   KNDJP3A51J7898323   Kia          SOUL                NORTH PAC                 CA
131656   KNDJP3A51J7898516   Kia          SOUL                OAKLAND                   CA
131657   KNDJP3A51J7901222   Kia          SOUL                HOUSTON                   TX
131658   KNDJP3A51J7901334   Kia          SOUL                BURBANK                   CA
131659   KNDJP3A51J7902077   Kia          SOUL                NORTH PAC                 CA
131660   KNDJP3A51J7902080   Kia          SOUL                BURBANK                   CA
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131661   KNDJP3A51J7902211   Kia          SOUL                BURBANK                   CA
131662   KNDJP3A51J7903469   Kia          SOUL                Florissant                MO
131663   KNDJP3A51J7904752   Kia          SOUL                LA HABRA                  CA
131664   KNDJP3A51J7905271   Kia          SOUL                DENVER                    CO
131665   KNDJP3A51J7907828   Kia          SOUL                N. Las Vegas              NV
131666   KNDJP3A51K7000529   Kia          SOUL                ORLANDO                   FL
131667   KNDJP3A51K7002037   Kia          SOUL                West Bountiful            UT
131668   KNDJP3A51K7017752   Kia          SOUL                Winston‐Salem             NC
131669   KNDJP3A51K7629112   Kia          SOUL                Hamilton                  OH
131670   KNDJP3A51K7629322   Kia          SOUL                FORT LAUDERDALE           FL
131671   KNDJP3A51K7629840   Kia          SOUL                STERLING                  VA
131672   KNDJP3A51K7630213   Kia          SOUL                Memphis                   TN
131673   KNDJP3A51K7630549   Kia          SOUL                EXETER                    RI
131674   KNDJP3A51K7630938   Kia          SOUL                TAMPA                     FL
131675   KNDJP3A51K7631071   Kia          SOUL                Elkridge                  MD
131676   KNDJP3A51K7631748   Kia          SOUL                ONTARIO                   CA
131677   KNDJP3A51K7631927   Kia          SOUL                Dallas                    TX
131678   KNDJP3A51K7632396   Kia          SOUL                FORT MYERS                FL
131679   KNDJP3A51K7638280   Kia          SOUL                Florissant                MO
131680   KNDJP3A51K7639641   Kia          SOUL                Schaumburg                IL
131681   KNDJP3A51K7639686   Kia          SOUL                WEST PALM BEACH           FL
131682   KNDJP3A51K7639901   Kia          SOUL                BALTIMORE                 MD
131683   KNDJP3A51K7644936   Kia          SOUL                LOS ANGELES               CA
131684   KNDJP3A51K7644970   Kia          SOUL                SAN JOSE                  CA
131685   KNDJP3A51K7645875   Kia          SOUL                NEW YORK CITY             NY
131686   KNDJP3A51K7646525   Kia          SOUL                HARTFORD                  CT
131687   KNDJP3A51K7648467   Kia          SOUL                Chicago                   IL
131688   KNDJP3A51K7649649   Kia          SOUL                FORT MYERS                FL
131689   KNDJP3A51K7650350   Kia          SOUL                OAKLAND                   CA
131690   KNDJP3A51K7651031   Kia          SOUL                Warr Acres                OK
131691   KNDJP3A51K7652373   Kia          SOUL                DFW AIRPORT               TX
131692   KNDJP3A51K7652857   Kia          SOUL                Anaheim                   CA
131693   KNDJP3A51K7652924   Kia          SOUL                SAN DIEGO                 CA
131694   KNDJP3A51K7653037   Kia          SOUL                Kansas City               MO
131695   KNDJP3A51K7653345   Kia          SOUL                PLEASANTON                CA
131696   KNDJP3A51K7653510   Kia          SOUL                Phoenix                   AZ
131697   KNDJP3A51K7653734   Kia          SOUL                Norwalk                   CA
131698   KNDJP3A51K7653863   Kia          SOUL                El Paso                   TX
131699   KNDJP3A51K7653989   Kia          SOUL                Phoenix                   AZ
131700   KNDJP3A51K7654172   Kia          SOUL                LOS ANGELES               CA
131701   KNDJP3A51K7654222   Kia          SOUL                ONTARIO                   CA
131702   KNDJP3A51K7654298   Kia          SOUL                SAN JOSE                  CA
131703   KNDJP3A51K7654527   Kia          SOUL                Los Angeles               CA
131704   KNDJP3A51K7654690   Kia          SOUL                Florissant                MO
131705   KNDJP3A51K7654771   Kia          SOUL                Pheonix                   AZ
131706   KNDJP3A51K7654866   Kia          SOUL                TUCSON                    AZ
131707   KNDJP3A51K7655810   Kia          SOUL                MIAMI                     FL
131708   KNDJP3A51K7660134   Kia          SOUL                TAMPA                     FL
131709   KNDJP3A51K7660196   Kia          SOUL                WEST PALM BEACH           FL
131710   KNDJP3A51K7660876   Kia          SOUL                SAINT LOUIS               MO
131711   KNDJP3A51K7661025   Kia          SOUL                ORLANDO                   FL
131712   KNDJP3A51K7661087   Kia          SOUL                Beaverton                 OR
131713   KNDJP3A51K7661090   Kia          SOUL                ORLANDO                   FL
131714   KNDJP3A51K7661641   Kia          SOUL                FORT LAUDERDALE           FL
131715   KNDJP3A51K7662241   Kia          SOUL                Denver                    CO
131716   KNDJP3A51K7662319   Kia          SOUL                TAMPA                     FL
131717   KNDJP3A51K7662935   Kia          SOUL                Dallas                    TX
131718   KNDJP3A51K7663650   Kia          SOUL                Detroit                   MI
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131719   KNDJP3A51K7663700   Kia          SOUL                COLLEGE PARK              GA
131720   KNDJP3A51K7663759   Kia          SOUL                WEST PALM BEACH           FL
131721   KNDJP3A51K7663910   Kia          SOUL                MIAMI                     FL
131722   KNDJP3A51K7664331   Kia          SOUL                CHICAGO                   IL
131723   KNDJP3A51K7664409   Kia          SOUL                RONKONKOMA                NY
131724   KNDJP3A51K7664510   Kia          SOUL                Atlanta                   GA
131725   KNDJP3A51K7664555   Kia          SOUL                Marietta                  GA
131726   KNDJP3A51K7664569   Kia          SOUL                RICHMOND                  VA
131727   KNDJP3A51K7664622   Kia          SOUL                ORLANDO                   FL
131728   KNDJP3A51K7664927   Kia          SOUL                SAN ANTONIO               TX
131729   KNDJP3A51K7665527   Kia          SOUL                Orlando                   FL
131730   KNDJP3A51K7665639   Kia          SOUL                HARTFORD                  CT
131731   KNDJP3A51K7665642   Kia          SOUL                WATERTOWN                 CT
131732   KNDJP3A51K7665852   Kia          SOUL                BURBANK                   CA
131733   KNDJP3A51K7665866   Kia          SOUL                Norwalk                   CA
131734   KNDJP3A51K7666158   Kia          SOUL                SAINT PAUL                MN
131735   KNDJP3A51K7666547   Kia          SOUL                North Las Vegas           NV
131736   KNDJP3A51K7669089   Kia          SOUL                Kailua‐Kona               HI
131737   KNDJP3A51K7673871   Kia          SOUL                Harvey                    LA
131738   KNDJP3A51K7677905   Kia          SOUL                NASHVILLE                 TN
131739   KNDJP3A51K7679248   Kia          SOUL                Houston                   TX
131740   KNDJP3A51K7679413   Kia          SOUL                Roseville                 CA
131741   KNDJP3A51K7696230   Kia          SOUL                Davie                     FL
131742   KNDJP3A51K7696440   Kia          SOUL                FORT MYERS                FL
131743   KNDJP3A51K7696633   Kia          SOUL                TAMPA                     FL
131744   KNDJP3A51K7908463   Kia          SOUL                DALLAS                    TX
131745   KNDJP3A51K7908513   Kia          SOUL                ORLANDO                   FL
131746   KNDJP3A51K7908737   Kia          SOUL                FORT LAUDERDALE           FL
131747   KNDJP3A51K7909063   Kia          SOUL                San Antonio               TX
131748   KNDJP3A51K7910584   Kia          SOUL                ALBUQERQUE                NM
131749   KNDJP3A51K7910617   Kia          SOUL                Phoenix                   AZ
131750   KNDJP3A51K7910665   Kia          SOUL                TUCSON                    AZ
131751   KNDJP3A51K7911279   Kia          SOUL                Santa Clara               CA
131752   KNDJP3A51K7912058   Kia          SOUL                TAMPA                     FL
131753   KNDJP3A51K7912691   Kia          SOUL                SANTA ANA                 CA
131754   KNDJP3A51K7913226   Kia          SOUL                Warwick                   RI
131755   KNDJP3A51K7913775   Kia          SOUL                SAINT PAUL                MN
131756   KNDJP3A51K7913923   Kia          SOUL                TAMPA                     FL
131757   KNDJP3A51K7914196   Kia          SOUL                Sacramento                CA
131758   KNDJP3A51K7918037   Kia          SOUL                Davie                     FL
131759   KNDJP3A52G7287208   Kia          SOUL                CHANDLER                  AZ
131760   KNDJP3A52G7360271   Kia          SOUL                Pheonix                   AZ
131761   KNDJP3A52H7423175   Kia          SOUL                Hanover                   MD
131762   KNDJP3A52H7426710   Kia          SOUL                Davie                     FL
131763   KNDJP3A52H7428974   Kia          SOUL                NORTH HOLLYWOOD           CA
131764   KNDJP3A52H7463837   Kia          SOUL                Oakland                   CA
131765   KNDJP3A52H7476815   Kia          SOUL                MIDDLE RIVER              MD
131766   KNDJP3A52H7477222   Kia          SOUL                MEDINA                    OH
131767   KNDJP3A52H7477785   Kia          SOUL                DALLAS FORT WORTH AP      TX
131768   KNDJP3A52H7477818   Kia          SOUL                CLEVELAND                 OH
131769   KNDJP3A52H7478046   Kia          SOUL                Tampa                     FL
131770   KNDJP3A52H7495137   Kia          SOUL                PHILADELPHIA              PA
131771   KNDJP3A52H7496711   Kia          SOUL                Fort Lauderdale           FL
131772   KNDJP3A52H7502748   Kia          SOUL                Hanover                   MD
131773   KNDJP3A52H7504192   Kia          SOUL                NORTHEAST DISTRICT        NJ
131774   KNDJP3A52H7884702   Kia          SOUL                HANOVER                   MD
131775   KNDJP3A52J7509012   Kia          SOUL                Fredericksburg            VA
131776   KNDJP3A52J7509527   Kia          SOUL                DANIA BEACH               FL
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131777   KNDJP3A52J7510242   Kia          SOUL                Austell                   GA
131778   KNDJP3A52J7510807   Kia          SOUL                Philadelphia              PA
131779   KNDJP3A52J7520642   Kia          SOUL                Tampa                     FL
131780   KNDJP3A52J7522536   Kia          SOUL                PHILADELPHIA              US
131781   KNDJP3A52J7525968   Kia          SOUL                NORTH PAC                 CA
131782   KNDJP3A52J7526425   Kia          SOUL                DENVER                    CO
131783   KNDJP3A52J7526974   Kia          SOUL                LOS ANGELES               CA
131784   KNDJP3A52J7527185   Kia          SOUL                BURBANK                   CA
131785   KNDJP3A52J7527445   Kia          SOUL                BURBANK                   CA
131786   KNDJP3A52J7528711   Kia          SOUL                Phoenix                   AZ
131787   KNDJP3A52J7529566   Kia          SOUL                Lake Elsinore             CA
131788   KNDJP3A52J7529888   Kia          SOUL                Norwalk                   CA
131789   KNDJP3A52J7529907   Kia          SOUL                NORTH PAC                 CA
131790   KNDJP3A52J7537392   Kia          SOUL                SAN DIEGO                 CA
131791   KNDJP3A52J7537604   Kia          SOUL                ONTARIO                   CA
131792   KNDJP3A52J7538607   Kia          SOUL                SPRINGFIELD               VA
131793   KNDJP3A52J7538994   Kia          SOUL                Denver                    CO
131794   KNDJP3A52J7539126   Kia          SOUL                MORROW                    GA
131795   KNDJP3A52J7541815   Kia          SOUL                MORROW                    GA
131796   KNDJP3A52J7542284   Kia          SOUL                Las Vegas                 NV
131797   KNDJP3A52J7544150   Kia          SOUL                North Las Vegas           NV
131798   KNDJP3A52J7544259   Kia          SOUL                LOS ANGELES               CA
131799   KNDJP3A52J7544276   Kia          SOUL                NORTH PAC                 CA
131800   KNDJP3A52J7544794   Kia          SOUL                Irving                    TX
131801   KNDJP3A52J7545248   Kia          SOUL                North Las Vegas           NV
131802   KNDJP3A52J7546819   Kia          SOUL                NORTH HOLLYWOOD           CA
131803   KNDJP3A52J7550448   Kia          SOUL                Torrance                  CA
131804   KNDJP3A52J7551194   Kia          SOUL                ENGLEWOOD                 CO
131805   KNDJP3A52J7551339   Kia          SOUL                BURBANK                   CA
131806   KNDJP3A52J7556668   Kia          SOUL                SPRINGFIELD               VA
131807   KNDJP3A52J7556833   Kia          SOUL                SAN JOSE                  CA
131808   KNDJP3A52J7556850   Kia          SOUL                BURBANK                   CA
131809   KNDJP3A52J7557206   Kia          SOUL                ONTARIO                   CA
131810   KNDJP3A52J7557786   Kia          SOUL                SACRAMENTO                CA
131811   KNDJP3A52J7558971   Kia          SOUL                Fort Lauderdale           FL
131812   KNDJP3A52J7559067   Kia          SOUL                DAYTONA BEACH             FL
131813   KNDJP3A52J7559652   Kia          SOUL                LOS ANGELES               CA
131814   KNDJP3A52J7559778   Kia          SOUL                LOS ANGELES               CA
131815   KNDJP3A52J7559974   Kia          SOUL                FLORIDA DEALER DIR        FL
131816   KNDJP3A52J7561840   Kia          SOUL                Greensboro                NC
131817   KNDJP3A52J7566231   Kia          SOUL                Dallas                    TX
131818   KNDJP3A52J7567265   Kia          SOUL                DANIA BEACH               FL
131819   KNDJP3A52J7567900   Kia          SOUL                Tampa                     FL
131820   KNDJP3A52J7568495   Kia          SOUL                Miami                     FL
131821   KNDJP3A52J7569369   Kia          SOUL                Dallas                    TX
131822   KNDJP3A52J7569808   Kia          SOUL                DAYTONA BEACH             FL
131823   KNDJP3A52J7570165   Kia          SOUL                LOS ANGELES               CA
131824   KNDJP3A52J7570246   Kia          SOUL                FT. LAUDERDALE            FL
131825   KNDJP3A52J7570358   Kia          SOUL                NORTH PAC                 CA
131826   KNDJP3A52J7570652   Kia          SOUL                Dallas                    TX
131827   KNDJP3A52J7571171   Kia          SOUL                BURBANK                   CA
131828   KNDJP3A52J7571316   Kia          SOUL                ORLANDO                   FL
131829   KNDJP3A52J7573146   Kia          SOUL                Burien                    WA
131830   KNDJP3A52J7573700   Kia          SOUL                NORTH PAC                 CA
131831   KNDJP3A52J7573812   Kia          SOUL                KENNER                    LA
131832   KNDJP3A52J7574040   Kia          SOUL                LOS ANGELES               CA
131833   KNDJP3A52J7574071   Kia          SOUL                SAN FRANCISCO             CA
131834   KNDJP3A52J7574197   Kia          SOUL                SOUTHEAST DST OFFC        OK
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131835   KNDJP3A52J7575169   Kia          SOUL                Chandler                  AZ
131836   KNDJP3A52J7575320   Kia          SOUL                DAYTONA BEACH             FL
131837   KNDJP3A52J7575981   Kia          SOUL                WEST CENTRAL DEALE        CO
131838   KNDJP3A52J7577021   Kia          SOUL                NORTH PAC                 CA
131839   KNDJP3A52J7577164   Kia          SOUL                SAN FRANCISCO             CA
131840   KNDJP3A52J7577634   Kia          SOUL                BURBANK                   CA
131841   KNDJP3A52J7577956   Kia          SOUL                SAN FRANCISCO             CA
131842   KNDJP3A52J7578038   Kia          SOUL                BURBANK                   CA
131843   KNDJP3A52J7578055   Kia          SOUL                SPRINGFIELD               VA
131844   KNDJP3A52J7579268   Kia          SOUL                LOS ANGELES               CA
131845   KNDJP3A52J7579478   Kia          SOUL                Atlanta                   GA
131846   KNDJP3A52J7589069   Kia          SOUL                BURBANK                   CA
131847   KNDJP3A52J7594479   Kia          SOUL                BURBANK                   CA
131848   KNDJP3A52J7594482   Kia          SOUL                Tolleson                  AZ
131849   KNDJP3A52J7595325   Kia          SOUL                Scottsdale                AZ
131850   KNDJP3A52J7596233   Kia          SOUL                DOWNEY                    CA
131851   KNDJP3A52J7597656   Kia          SOUL                Dallas                    TX
131852   KNDJP3A52J7597818   Kia          SOUL                ORLANDO                   FL
131853   KNDJP3A52J7600054   Kia          SOUL                Greensboro                NC
131854   KNDJP3A52J7600393   Kia          SOUL                Atlanta                   GA
131855   KNDJP3A52J7600720   Kia          SOUL                WEST PALM BEACH           FL
131856   KNDJP3A52J7601981   Kia          SOUL                TAMPA                     FL
131857   KNDJP3A52J7603200   Kia          SOUL                NORTH HOLLYWOOD           CA
131858   KNDJP3A52J7603715   Kia          SOUL                PHILADELPHIA              PA
131859   KNDJP3A52J7604024   Kia          SOUL                Hayward                   CA
131860   KNDJP3A52J7606226   Kia          SOUL                LOS ANGELES               CA
131861   KNDJP3A52J7610180   Kia          SOUL                Lafayette                 LA
131862   KNDJP3A52J7610194   Kia          SOUL                Estero                    FL
131863   KNDJP3A52J7610650   Kia          SOUL                NOTTINGHAM                MA
131864   KNDJP3A52J7610664   Kia          SOUL                BURBANK                   CA
131865   KNDJP3A52J7611295   Kia          SOUL                LAS VEGAS                 NV
131866   KNDJP3A52J7611880   Kia          SOUL                Atlanta                   GA
131867   KNDJP3A52J7612849   Kia          SOUL                Florissant                MO
131868   KNDJP3A52J7622006   Kia          SOUL                BURBANK                   CA
131869   KNDJP3A52J7623897   Kia          SOUL                BURBANK                   CA
131870   KNDJP3A52J7625858   Kia          SOUL                ORLANDO                   FL
131871   KNDJP3A52J7889503   Kia          SOUL                RIVERDALE                 GA
131872   KNDJP3A52J7893339   Kia          SOUL                BURBANK                   CA
131873   KNDJP3A52J7894734   Kia          SOUL                ROSEVILLE                 CA
131874   KNDJP3A52J7894765   Kia          SOUL                North Dighton             MA
131875   KNDJP3A52J7894832   Kia          SOUL                LOS ANGELES               CA
131876   KNDJP3A52J7894958   Kia          SOUL                LOS ANGELES               CA
131877   KNDJP3A52J7894961   Kia          SOUL                Los Angeles               CA
131878   KNDJP3A52J7898072   Kia          SOUL                RICHMOND                  VA
131879   KNDJP3A52J7898086   Kia          SOUL                North Las Vegas           NV
131880   KNDJP3A52J7898184   Kia          SOUL                ORLANDO                   FL
131881   KNDJP3A52J7898265   Kia          SOUL                FAYETTEVILLE              GA
131882   KNDJP3A52J7898332   Kia          SOUL                Tolleson                  AZ
131883   KNDJP3A52J7899108   Kia          SOUL                Mira Loma                 CA
131884   KNDJP3A52J7899111   Kia          SOUL                SANTA ANA                 CA
131885   KNDJP3A52J7899836   Kia          SOUL                DALLAS                    TX
131886   KNDJP3A52J7901049   Kia          SOUL                CHARLOTTE                 NC
131887   KNDJP3A52J7901245   Kia          SOUL                TAMPA                     FL
131888   KNDJP3A52J7902489   Kia          SOUL                HOUSTON                   TX
131889   KNDJP3A52J7902623   Kia          SOUL                SANTA ANA                 CA
131890   KNDJP3A52J7903058   Kia          SOUL                Atlanta                   GA
131891   KNDJP3A52J7903447   Kia          SOUL                HOUSTON                   TX
131892   KNDJP3A52J7903450   Kia          SOUL                Tampa                     FL
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131893   KNDJP3A52J7903979   Kia          SOUL                HANOVER                   MD
131894   KNDJP3A52J7904081   Kia          SOUL                WESTBOROUGH               MA
131895   KNDJP3A52J7904226   Kia          SOUL                Sacramento                CA
131896   KNDJP3A52J7904243   Kia          SOUL                ORLANDO                   FL
131897   KNDJP3A52J7904453   Kia          SOUL                Clearwater                FL
131898   KNDJP3A52J7906705   Kia          SOUL                Miami                     FL
131899   KNDJP3A52J7906977   Kia          SOUL                Sacramento                CA
131900   KNDJP3A52K7000894   Kia          SOUL                Alcoa                     TN
131901   KNDJP3A52K7012205   Kia          SOUL                Tampa                     FL
131902   KNDJP3A52K7013290   Kia          SOUL                Davie                     FL
131903   KNDJP3A52K7019817   Kia          SOUL                NEW ORLEANS               LA
131904   KNDJP3A52K7020692   Kia          SOUL                Slidell                   LA
131905   KNDJP3A52K7628826   Kia          SOUL                MORROW                    GA
131906   KNDJP3A52K7628843   Kia          SOUL                WEST PALM BEACH           FL
131907   KNDJP3A52K7629068   Kia          SOUL                BIRMINGHAM                AL
131908   KNDJP3A52K7629099   Kia          SOUL                WEST PALM BEACH           FL
131909   KNDJP3A52K7630253   Kia          SOUL                MIAMI                     FL
131910   KNDJP3A52K7630365   Kia          SOUL                CLARKSVILLE               IN
131911   KNDJP3A52K7630690   Kia          SOUL                MIAMI                     FL
131912   KNDJP3A52K7630706   Kia          SOUL                WHITE PLAINS              NY
131913   KNDJP3A52K7631094   Kia          SOUL                ORLANDO                   FL
131914   KNDJP3A52K7631256   Kia          SOUL                Florissant                MO
131915   KNDJP3A52K7631726   Kia          SOUL                CHARLOTTE                 NC
131916   KNDJP3A52K7631774   Kia          SOUL                CLARKSVILLE               IN
131917   KNDJP3A52K7632410   Kia          SOUL                ORLANDO                   FL
131918   KNDJP3A52K7632553   Kia          SOUL                ORLANDO                   FL
131919   KNDJP3A52K7632875   Kia          SOUL                NEW YORK CITY             NY
131920   KNDJP3A52K7634187   Kia          SOUL                WEST PALM BEACH           FL
131921   KNDJP3A52K7636232   Kia          SOUL                CENTRAL DIST OFFC         OK
131922   KNDJP3A52K7636294   Kia          SOUL                FRESNO                    CA
131923   KNDJP3A52K7637199   Kia          SOUL                ORLANDO                   FL
131924   KNDJP3A52K7637350   Kia          SOUL                Sacramento                CA
131925   KNDJP3A52K7637803   Kia          SOUL                Louisville                KY
131926   KNDJP3A52K7641852   Kia          SOUL                HOUSTON                   TX
131927   KNDJP3A52K7642144   Kia          SOUL                ALBUQUERQUE               NM
131928   KNDJP3A52K7643925   Kia          SOUL                Norwalk                   CA
131929   KNDJP3A52K7644038   Kia          SOUL                N. Las Vegas              NV
131930   KNDJP3A52K7648753   Kia          SOUL                Dallas                    TX
131931   KNDJP3A52K7648848   Kia          SOUL                Bridgeton                 MO
131932   KNDJP3A52K7649661   Kia          SOUL                LOS ANGELES               CA
131933   KNDJP3A52K7650017   Kia          SOUL                DENVER                    CO
131934   KNDJP3A52K7650258   Kia          SOUL                WOODLAND HILLS            CA
131935   KNDJP3A52K7650924   Kia          SOUL                IRVING                    TX
131936   KNDJP3A52K7651006   Kia          SOUL                LAS VEGAS                 NV
131937   KNDJP3A52K7651765   Kia          SOUL                Maple Grove               MN
131938   KNDJP3A52K7652589   Kia          SOUL                SALT LAKE CITY            US
131939   KNDJP3A52K7652611   Kia          SOUL                Springfield               MO
131940   KNDJP3A52K7652771   Kia          SOUL                San Antonio               TX
131941   KNDJP3A52K7653192   Kia          SOUL                BOISE                     US
131942   KNDJP3A52K7653919   Kia          SOUL                Las Vegas                 NV
131943   KNDJP3A52K7653936   Kia          SOUL                Warr Acres                OK
131944   KNDJP3A52K7654214   Kia          SOUL                PHOENIX                   AZ
131945   KNDJP3A52K7654228   Kia          SOUL                SAN DIEGO                 CA
131946   KNDJP3A52K7654312   Kia          SOUL                LOS ANGELES               CA
131947   KNDJP3A52K7654469   Kia          SOUL                LOS ANGELES               CA
131948   KNDJP3A52K7654472   Kia          SOUL                LAS VEGAS                 NV
131949   KNDJP3A52K7654696   Kia          SOUL                DETROIT                   MI
131950   KNDJP3A52K7654729   Kia          SOUL                BURBANK                   CA
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131951   KNDJP3A52K7655637   Kia          SOUL                Detroit                   MI
131952   KNDJP3A52K7655735   Kia          SOUL                ONTARIO                   CA
131953   KNDJP3A52K7655802   Kia          SOUL                LOUISVILLE                KY
131954   KNDJP3A52K7656187   Kia          SOUL                Torrance                  CA
131955   KNDJP3A52K7656464   Kia          SOUL                STOCKTON                  CA
131956   KNDJP3A52K7660157   Kia          SOUL                KNOXVILLE                 TN
131957   KNDJP3A52K7660739   Kia          SOUL                LAYTON                    UT
131958   KNDJP3A52K7661020   Kia          SOUL                TAMPA                     FL
131959   KNDJP3A52K7661129   Kia          SOUL                INGLEWOOD                 CA
131960   KNDJP3A52K7661308   Kia          SOUL                SACRAMENTO                CA
131961   KNDJP3A52K7661647   Kia          SOUL                ORLANDO                   FL
131962   KNDJP3A52K7661650   Kia          SOUL                Memphis                   TN
131963   KNDJP3A52K7662216   Kia          SOUL                WEST PALM BEACH           FL
131964   KNDJP3A52K7662278   Kia          SOUL                TAMPA                     FL
131965   KNDJP3A52K7662457   Kia          SOUL                EWA BEACH                 HI
131966   KNDJP3A52K7662474   Kia          SOUL                Santa Clara               CA
131967   KNDJP3A52K7662748   Kia          SOUL                Ft. Myers                 FL
131968   KNDJP3A52K7662751   Kia          SOUL                NEWARK                    NJ
131969   KNDJP3A52K7662880   Kia          SOUL                LAS VEGAS                 NV
131970   KNDJP3A52K7662930   Kia          SOUL                Hendersonville            TN
131971   KNDJP3A52K7663494   Kia          SOUL                Bensalem                  PA
131972   KNDJP3A52K7663608   Kia          SOUL                Statesville               NC
131973   KNDJP3A52K7663706   Kia          SOUL                SAVANNAH                  GA
131974   KNDJP3A52K7663723   Kia          SOUL                ORLANDO                   FL
131975   KNDJP3A52K7664127   Kia          SOUL                San Antonio               TX
131976   KNDJP3A52K7664287   Kia          SOUL                Irving                    TX
131977   KNDJP3A52K7664399   Kia          SOUL                KNOXVILLE                 TN
131978   KNDJP3A52K7664497   Kia          SOUL                LOS ANGELES               CA
131979   KNDJP3A52K7664581   Kia          SOUL                JACKSONVILLE              FL
131980   KNDJP3A52K7665150   Kia          SOUL                SAN DIEGO                 CA
131981   KNDJP3A52K7665357   Kia          SOUL                Teterboro                 NJ
131982   KNDJP3A52K7665536   Kia          SOUL                LOS ANGELES               CA
131983   KNDJP3A52K7665732   Kia          SOUL                JACKSONVILLE              FL
131984   KNDJP3A52K7665908   Kia          SOUL                BURBANK                   CA
131985   KNDJP3A52K7666895   Kia          SOUL                TAMPA                     FL
131986   KNDJP3A52K7667822   Kia          SOUL                BURBANK                   CA
131987   KNDJP3A52K7678061   Kia          SOUL                JACKSONVILLE              FL
131988   KNDJP3A52K7694633   Kia          SOUL                TAMPA                     FL
131989   KNDJP3A52K7696396   Kia          SOUL                DAYTONA BEACH             FL
131990   KNDJP3A52K7908245   Kia          SOUL                BATON ROUGE               LA
131991   KNDJP3A52K7908536   Kia          SOUL                SAN DIEGO                 CA
131992   KNDJP3A52K7908908   Kia          SOUL                CHICAGO                   IL
131993   KNDJP3A52K7909072   Kia          SOUL                DANIA BEACH               FL
131994   KNDJP3A52K7909086   Kia          SOUL                DAYTONA BEACH             FL
131995   KNDJP3A52K7909184   Kia          SOUL                JACKSONVILLE              FL
131996   KNDJP3A52K7910366   Kia          SOUL                WILMINGTON                CA
131997   KNDJP3A52K7913820   Kia          SOUL                FORT MYERS                FL
131998   KNDJP3A52K7913963   Kia          SOUL                RALEIGH                   NC
131999   KNDJP3A52K7918032   Kia          SOUL                ORLANDO                   FL
132000   KNDJP3A52K7918175   Kia          SOUL                Lafayette                 LA
132001   KNDJP3A53H7411178   Kia          SOUL                SAN DIEGO                 CA
132002   KNDJP3A53H7424321   Kia          SOUL
132003   KNDJP3A53H7429776   Kia          SOUL                FT LAUDERDALE             FL
132004   KNDJP3A53H7443340   Kia          SOUL                DAYTONA BEACH             FL
132005   KNDJP3A53H7444956   Kia          SOUL                Hanover                   MD
132006   KNDJP3A53H7462244   Kia          SOUL                BOSTON                    MA
132007   KNDJP3A53H7462258   Kia          SOUL                Ventura                   CA
132008   KNDJP3A53H7478024   Kia          SOUL                HANOVER                   MD
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132009   KNDJP3A53H7478153   Kia          SOUL                Elkridge                  MD
132010   KNDJP3A53H7478248   Kia          SOUL                HANOVER                   MD
132011   KNDJP3A53H7497317   Kia          SOUL                DENVER                    CO
132012   KNDJP3A53H7500975   Kia          SOUL                MALDEN                    MA
132013   KNDJP3A53H7876902   Kia          SOUL                HAYWARD                   CA
132014   KNDJP3A53H7888144   Kia          SOUL                Winston‐Salem             NC
132015   KNDJP3A53J7508838   Kia          SOUL                DAYTONA BEACH             FL
132016   KNDJP3A53J7508970   Kia          SOUL                STERLING                  VA
132017   KNDJP3A53J7509181   Kia          SOUL                Elkridge                  MD
132018   KNDJP3A53J7513036   Kia          SOUL                Slidell                   LA
132019   KNDJP3A53J7513523   Kia          SOUL                HANOVER                   MD
132020   KNDJP3A53J7530631   Kia          SOUL                LOS ANGELES               CA
132021   KNDJP3A53J7535585   Kia          SOUL                CHICAGO                   IL
132022   KNDJP3A53J7535909   Kia          SOUL                DES MOINES                IA
132023   KNDJP3A53J7536882   Kia          SOUL                Santa Clara               CA
132024   KNDJP3A53J7537451   Kia          SOUL                STERLING                  VA
132025   KNDJP3A53J7537532   Kia          SOUL                ROSEVILLE                 CA
132026   KNDJP3A53J7538468   Kia          SOUL                Nashville                 TN
132027   KNDJP3A53J7540866   Kia          SOUL                North Las Vegas           NV
132028   KNDJP3A53J7543251   Kia          SOUL                BATON ROUGE               LA
132029   KNDJP3A53J7543721   Kia          SOUL                Marietta                  GA
132030   KNDJP3A53J7544271   Kia          SOUL                TRACY                     CA
132031   KNDJP3A53J7544285   Kia          SOUL                BURBANK                   CA
132032   KNDJP3A53J7545226   Kia          SOUL                PORTLAND                  OR
132033   KNDJP3A53J7545274   Kia          SOUL                Slidell                   LA
132034   KNDJP3A53J7546327   Kia          SOUL                Tolleson                  AZ
132035   KNDJP3A53J7546702   Kia          SOUL                BURBANK                   CA
132036   KNDJP3A53J7547588   Kia          SOUL                LAS VEGAS                 NV
132037   KNDJP3A53J7550071   Kia          SOUL                SEATAC                    WA
132038   KNDJP3A53J7553875   Kia          SOUL                Fredericksburg            VA
132039   KNDJP3A53J7556050   Kia          SOUL                Richmond                  VA
132040   KNDJP3A53J7557005   Kia          SOUL                Hayward                   CA
132041   KNDJP3A53J7557070   Kia          SOUL                BURBANK                   CA
132042   KNDJP3A53J7557439   Kia          SOUL                BURBANK                   CA
132043   KNDJP3A53J7558834   Kia          SOUL                BURBANK                   CA
132044   KNDJP3A53J7559207   Kia          SOUL                CLOVIS                    CA
132045   KNDJP3A53J7559384   Kia          SOUL                DANIA BEACH               FL
132046   KNDJP3A53J7561233   Kia          SOUL                BURBANK                   CA
132047   KNDJP3A53J7561488   Kia          SOUL                Elkridge                  MD
132048   KNDJP3A53J7561653   Kia          SOUL                Manheim                   PA
132049   KNDJP3A53J7561829   Kia          SOUL                S. San Francisc           CA
132050   KNDJP3A53J7561832   Kia          SOUL                ONTARIO                   CA
132051   KNDJP3A53J7563385   Kia          SOUL                GLEN BURNIE               MD
132052   KNDJP3A53J7564388   Kia          SOUL                PHILADELPHIA              PA
132053   KNDJP3A53J7566190   Kia          SOUL                ORLANDO                   FL
132054   KNDJP3A53J7566397   Kia          SOUL                Elkridge                  MD
132055   KNDJP3A53J7567680   Kia          SOUL                Statesville               NC
132056   KNDJP3A53J7567890   Kia          SOUL                Las Vegas                 NV
132057   KNDJP3A53J7568411   Kia          SOUL                MEBANE                    NC
132058   KNDJP3A53J7568523   Kia          SOUL                SAN DIEGO                 CA
132059   KNDJP3A53J7568781   Kia          SOUL                MORROW                    GA
132060   KNDJP3A53J7569123   Kia          SOUL                STERLING                  VA
132061   KNDJP3A53J7569512   Kia          SOUL                Baltimore                 MD
132062   KNDJP3A53J7571423   Kia          SOUL                BURBANK                   CA
132063   KNDJP3A53J7572359   Kia          SOUL                LAS VEGAS                 NV
132064   KNDJP3A53J7573317   Kia          SOUL                WEST CENTRAL DEALE        CO
132065   KNDJP3A53J7573690   Kia          SOUL                Tampa                     FL
132066   KNDJP3A53J7575021   Kia          SOUL                ANNANDALE                 VA
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132067   KNDJP3A53J7575889   Kia          SOUL                Atlanta                   GA
132068   KNDJP3A53J7576248   Kia          SOUL                DAYTONA BEACH             FL
132069   KNDJP3A53J7576380   Kia          SOUL                BURBANK                   CA
132070   KNDJP3A53J7576668   Kia          SOUL                SAN FRANCISCO             CA
132071   KNDJP3A53J7576721   Kia          SOUL                SAN FRANCISCO             CA
132072   KNDJP3A53J7576833   Kia          SOUL                Fort Worth                TX
132073   KNDJP3A53J7577139   Kia          SOUL                TRACY                     CA
132074   KNDJP3A53J7577836   Kia          SOUL                Anaheim                   CA
132075   KNDJP3A53J7578145   Kia          SOUL                ROSEVILLE                 CA
132076   KNDJP3A53J7588271   Kia          SOUL                Webster                   NY
132077   KNDJP3A53J7588576   Kia          SOUL                SAN ANTONIO               TX
132078   KNDJP3A53J7590151   Kia          SOUL                Rio Linda                 CA
132079   KNDJP3A53J7592739   Kia          SOUL                DETROIT                   MI
132080   KNDJP3A53J7593440   Kia          SOUL                NORTH PAC                 CA
132081   KNDJP3A53J7594443   Kia          SOUL                Denver                    CO
132082   KNDJP3A53J7594832   Kia          SOUL                Costa Mesa                CA
132083   KNDJP3A53J7594944   Kia          SOUL                North Las Vegas           NV
132084   KNDJP3A53J7596368   Kia          SOUL                LOS ANGELES               CA
132085   KNDJP3A53J7596855   Kia          SOUL                FORT MYERS                FL
132086   KNDJP3A53J7596919   Kia          SOUL                SANTA ANA                 CA
132087   KNDJP3A53J7597133   Kia          SOUL                LOS ANGELES               CA
132088   KNDJP3A53J7597858   Kia          SOUL                SARASOTA                  FL
132089   KNDJP3A53J7598783   Kia          SOUL                BURBANK                   CA
132090   KNDJP3A53J7599481   Kia          SOUL                Hartford                  CT
132091   KNDJP3A53J7599707   Kia          SOUL                COLLEGE PARK              GA
132092   KNDJP3A53J7600807   Kia          SOUL                Fredericksburg            VA
132093   KNDJP3A53J7602895   Kia          SOUL                DALLAS                    TX
132094   KNDJP3A53J7603089   Kia          SOUL                Miami                     FL
132095   KNDJP3A53J7604033   Kia          SOUL                Elkridge                  MD
132096   KNDJP3A53J7606025   Kia          SOUL                Dallas                    TX
132097   KNDJP3A53J7610673   Kia          SOUL                NORTH PAC                 CA
132098   KNDJP3A53J7612097   Kia          SOUL                Sacramento                CA
132099   KNDJP3A53J7617400   Kia          SOUL                LAS VEGAS                 NV
132100   KNDJP3A53J7620300   Kia          SOUL                N. Las Vegas              NV
132101   KNDJP3A53J7625402   Kia          SOUL                CENTRAL DIST OFFC         OK
132102   KNDJP3A53J7892605   Kia          SOUL                Ft. Myers                 FL
132103   KNDJP3A53J7893043   Kia          SOUL                SALT LAKE CITY            UT
132104   KNDJP3A53J7893365   Kia          SOUL                SAN FRANCISCO             CA
132105   KNDJP3A53J7894953   Kia          SOUL                BURBANK                   CA
132106   KNDJP3A53J7895469   Kia          SOUL                Elkridge                  MD
132107   KNDJP3A53J7897612   Kia          SOUL                LOS ANGELES               CA
132108   KNDJP3A53J7898131   Kia          SOUL                Bensalem                  PA
132109   KNDJP3A53J7898176   Kia          SOUL                DARLINGTON                SC
132110   KNDJP3A53J7898260   Kia          SOUL                SAN ANTONIO               TX
132111   KNDJP3A53J7898968   Kia          SOUL                Coraopolis                PA
132112   KNDJP3A53J7901531   Kia          SOUL                Hebron                    KY
132113   KNDJP3A53J7901867   Kia          SOUL                CHICAGO                   IL
132114   KNDJP3A53J7901903   Kia          SOUL                ST Paul                   MN
132115   KNDJP3A53J7902954   Kia          SOUL                Fresno                    CA
132116   KNDJP3A53J7902968   Kia          SOUL                NORTH PAC                 CA
132117   KNDJP3A53J7903473   Kia          SOUL                KENNER                    LA
132118   KNDJP3A53J7904073   Kia          SOUL                DALLAS                    TX
132119   KNDJP3A53J7904798   Kia          SOUL                RALEIGH                   NC
132120   KNDJP3A53K7009314   Kia          SOUL                DAYTONA BEACH             FL
132121   KNDJP3A53K7628835   Kia          SOUL                ORLANDO                   FL
132122   KNDJP3A53K7629094   Kia          SOUL                TAMPA                     FL
132123   KNDJP3A53K7630701   Kia          SOUL                FORT MYERS                FL
132124   KNDJP3A53K7630956   Kia          SOUL                MELROSE PARK              IL
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132125   KNDJP3A53K7631170   Kia          SOUL                PHILADELPHIA              PA
132126   KNDJP3A53K7631721   Kia          SOUL                TAMPA                     FL
132127   KNDJP3A53K7632402   Kia          SOUL                CHARLESTON                WV
132128   KNDJP3A53K7632447   Kia          SOUL                WEST COLUMBIA             SC
132129   KNDJP3A53K7632836   Kia          SOUL                Atlanta                   GA
132130   KNDJP3A53K7633453   Kia          SOUL                Estero                    FL
132131   KNDJP3A53K7633808   Kia          SOUL                NEWARK                    NJ
132132   KNDJP3A53K7634389   Kia          SOUL                North Canton              OH
132133   KNDJP3A53K7635509   Kia          SOUL                Atlanta                   GA
132134   KNDJP3A53K7635834   Kia          SOUL                Rock Hill                 SC
132135   KNDJP3A53K7636403   Kia          SOUL                DALLAS                    TX
132136   KNDJP3A53K7637177   Kia          SOUL                DAYTONA BEACH             FL
132137   KNDJP3A53K7638202   Kia          SOUL                TAMPA                     FL
132138   KNDJP3A53K7638572   Kia          SOUL                Detroit                   MI
132139   KNDJP3A53K7641570   Kia          SOUL                Florissant                MO
132140   KNDJP3A53K7641598   Kia          SOUL                CHICAGO                   IL
132141   KNDJP3A53K7642587   Kia          SOUL                WEST PALM BEACH           FL
132142   KNDJP3A53K7642900   Kia          SOUL                SAN DIEGO                 US
132143   KNDJP3A53K7644937   Kia          SOUL                Springfield               MO
132144   KNDJP3A53K7648115   Kia          SOUL                OAKLAND                   CA
132145   KNDJP3A53K7648731   Kia          SOUL                BURBANK                   CA
132146   KNDJP3A53K7648924   Kia          SOUL                Fresno                    CA
132147   KNDJP3A53K7649118   Kia          SOUL                BURBANK                   CA
132148   KNDJP3A53K7649541   Kia          SOUL                LAS VEGAS                 NV
132149   KNDJP3A53K7649717   Kia          SOUL                Dallas                    TX
132150   KNDJP3A53K7649880   Kia          SOUL                BOSTON                    MA
132151   KNDJP3A53K7650950   Kia          SOUL                PHOENIX                   AZ
132152   KNDJP3A53K7652374   Kia          SOUL                Woodhaven                 MI
132153   KNDJP3A53K7652830   Kia          SOUL                PHOENIX                   AZ
132154   KNDJP3A53K7653122   Kia          SOUL                Nashville                 TN
132155   KNDJP3A53K7653136   Kia          SOUL                SACRAMENTO                CA
132156   KNDJP3A53K7653539   Kia          SOUL                Corpus Christi            TX
132157   KNDJP3A53K7653668   Kia          SOUL                PHOENIX                   AZ
132158   KNDJP3A53K7653766   Kia          SOUL                TUCSON                    AZ
132159   KNDJP3A53K7654089   Kia          SOUL                PHOENIX                   AZ
132160   KNDJP3A53K7654464   Kia          SOUL                SAN JOSE                  CA
132161   KNDJP3A53K7654531   Kia          SOUL                Tolleson                  AZ
132162   KNDJP3A53K7654545   Kia          SOUL                NEWARK                    NJ
132163   KNDJP3A53K7654609   Kia          SOUL                Hayward                   CA
132164   KNDJP3A53K7654688   Kia          SOUL                HOUSTON                   TX
132165   KNDJP3A53K7654772   Kia          SOUL                NORTH HOLLYWOOD           CA
132166   KNDJP3A53K7655372   Kia          SOUL                San Diego                 CA
132167   KNDJP3A53K7656067   Kia          SOUL                BURBANK                   CA
132168   KNDJP3A53K7656148   Kia          SOUL                BURBANK                   CA
132169   KNDJP3A53K7656179   Kia          SOUL                SACRAMENTO                CA
132170   KNDJP3A53K7660300   Kia          SOUL                ORLANDO                   FL
132171   KNDJP3A53K7661317   Kia          SOUL                Chicago                   IL
132172   KNDJP3A53K7661592   Kia          SOUL                TAMPA                     FL
132173   KNDJP3A53K7662256   Kia          SOUL                LAS VEGAS                 NV
132174   KNDJP3A53K7662497   Kia          SOUL                SARASOTA                  FL
132175   KNDJP3A53K7662936   Kia          SOUL                ELLWOOD CITY              PA
132176   KNDJP3A53K7663634   Kia          SOUL                FORT MYERS                FL
132177   KNDJP3A53K7663715   Kia          SOUL                Houston                   TX
132178   KNDJP3A53K7664136   Kia          SOUL                LAS VEGAS                 NV
132179   KNDJP3A53K7664170   Kia          SOUL                AIEA                      HI
132180   KNDJP3A53K7664346   Kia          SOUL                FORT MYERS                FL
132181   KNDJP3A53K7664363   Kia          SOUL                STERLING                  VA
132182   KNDJP3A53K7664394   Kia          SOUL                Indianapolis              IN
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132183   KNDJP3A53K7664413   Kia          SOUL                Morrisville               NC
132184   KNDJP3A53K7664525   Kia          SOUL                WILMINGTON                NC
132185   KNDJP3A53K7664590   Kia          SOUL                JACKSONVILLE              FL
132186   KNDJP3A53K7665321   Kia          SOUL                CLARKSVILLE               IN
132187   KNDJP3A53K7665349   Kia          SOUL                Vandalia                  OH
132188   KNDJP3A53K7665478   Kia          SOUL                SAINT PAUL                MN
132189   KNDJP3A53K7665545   Kia          SOUL                TAMPA                     FL
132190   KNDJP3A53K7665657   Kia          SOUL                PHOENIX                   AZ
132191   KNDJP3A53K7665691   Kia          SOUL                NEW YORK CITY             NY
132192   KNDJP3A53K7666212   Kia          SOUL                CHICAGO                   IL
132193   KNDJP3A53K7667649   Kia          SOUL                LAS VEGAS                 NV
132194   KNDJP3A53K7678084   Kia          SOUL                Denver                    CO
132195   KNDJP3A53K7693796   Kia          SOUL                DAYTONA BEACH             FL
132196   KNDJP3A53K7908464   Kia          SOUL                FORT MYERS                FL
132197   KNDJP3A53K7908688   Kia          SOUL                Winston‐Salem             NC
132198   KNDJP3A53K7908691   Kia          SOUL                Tampa                     FL
132199   KNDJP3A53K7908755   Kia          SOUL                Hamilton                  OH
132200   KNDJP3A53K7909047   Kia          SOUL                Winston‐Salem             NC
132201   KNDJP3A53K7909050   Kia          SOUL                Davie                     FL
132202   KNDJP3A53K7910120   Kia          SOUL                KNOXVILLE                 TN
132203   KNDJP3A53K7912854   Kia          SOUL                BURBANK                   CA
132204   KNDJP3A53K7913776   Kia          SOUL                ORLANDO                   FL
132205   KNDJP3A53K7913891   Kia          SOUL                FORT MYERS                FL
132206   KNDJP3A53K7914006   Kia          SOUL                DANIA BEACH               FL
132207   KNDJP3A53K7914071   Kia          SOUL                ORLANDO                   FL
132208   KNDJP3A53K7915964   Kia          SOUL                Baltimore                 MD
132209   KNDJP3A53K7916130   Kia          SOUL                SARASOTA                  FL
132210   KNDJP3A53K7918024   Kia          SOUL                TAMPA                     FL
132211   KNDJP3A53K7920064   Kia          SOUL                FT LAUDERDALE             FL
132212   KNDJP3A54G7864952   Kia          SOUL                HANOVER                   MD
132213   KNDJP3A54H7442522   Kia          SOUL                SAN DIEGO                 CA
132214   KNDJP3A54H7464231   Kia          SOUL                Los Angeles               CA
132215   KNDJP3A54H7467212   Kia          SOUL                Cleveland                 OH
132216   KNDJP3A54H7476962   Kia          SOUL                Hanover                   MD
132217   KNDJP3A54H7477321   Kia          SOUL                PHILADELPHIA              PA
132218   KNDJP3A54H7495673   Kia          SOUL                SPRINGFIELD               VA
132219   KNDJP3A54H7501259   Kia          SOUL                HANOVER                   MD
132220   KNDJP3A54H7502637   Kia          SOUL                PHILADELPHIA              PA
132221   KNDJP3A54H7502931   Kia          SOUL                Baltimore                 MD
132222   KNDJP3A54H7503710   Kia          SOUL                ORLANDO                   FL
132223   KNDJP3A54J7508699   Kia          SOUL                HANOVER                   MD
132224   KNDJP3A54J7509013   Kia          SOUL                Elkridge                  MD
132225   KNDJP3A54J7509111   Kia          SOUL                SPRINGFIELD               VA
132226   KNDJP3A54J7509223   Kia          SOUL                STERLING                  VA
132227   KNDJP3A54J7510646   Kia          SOUL                ORLANDO                   FL
132228   KNDJP3A54J7512476   Kia          SOUL                Elkridge                  MD
132229   KNDJP3A54J7513031   Kia          SOUL                STERLING                  VA
132230   KNDJP3A54J7517709   Kia          SOUL                Atlanta                   GA
132231   KNDJP3A54J7526636   Kia          SOUL                PICO RIVERA               CA
132232   KNDJP3A54J7527396   Kia          SOUL                SANTA ANA                 CA
132233   KNDJP3A54J7527933   Kia          SOUL                North Las Vegas           NV
132234   KNDJP3A54J7528287   Kia          SOUL                BURBANK                   CA
132235   KNDJP3A54J7528435   Kia          SOUL                BURBANK                   CA
132236   KNDJP3A54J7529102   Kia          SOUL                Las Vegas                 NV
132237   KNDJP3A54J7530315   Kia          SOUL                SAN FRANCISCO             CA
132238   KNDJP3A54J7531948   Kia          SOUL                NORTH PAC                 CA
132239   KNDJP3A54J7533764   Kia          SOUL                Austin                    TX
132240   KNDJP3A54J7536924   Kia          SOUL                South San Franc           CA
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132241   KNDJP3A54J7540696   Kia          SOUL                Sacramento                CA
132242   KNDJP3A54J7542268   Kia          SOUL                LAS VEGAS                 NV
132243   KNDJP3A54J7542304   Kia          SOUL                LAS VEGAS                 NV
132244   KNDJP3A54J7542612   Kia          SOUL                MIDDLE RIVER              MD
132245   KNDJP3A54J7543968   Kia          SOUL                Slidell                   LA
132246   KNDJP3A54J7544280   Kia          SOUL                BURBANK                   CA
132247   KNDJP3A54J7544540   Kia          SOUL
132248   KNDJP3A54J7544974   Kia          SOUL                SAN FRANCISCO             CA
132249   KNDJP3A54J7546143   Kia          SOUL                BURBANK                   CA
132250   KNDJP3A54J7549656   Kia          SOUL                ROSEVILLE                 CA
132251   KNDJP3A54J7550354   Kia          SOUL                BURBANK                   CA
132252   KNDJP3A54J7550581   Kia          SOUL                STERLING                  VA
132253   KNDJP3A54J7552072   Kia          SOUL                SAN DIEGO                 CA
132254   KNDJP3A54J7552217   Kia          SOUL                Fredericksburg            VA
132255   KNDJP3A54J7552489   Kia          SOUL                SANTA ANA                 CA
132256   KNDJP3A54J7556879   Kia          SOUL                NORTH PAC                 CA
132257   KNDJP3A54J7556901   Kia          SOUL                NORTH PAC                 CA
132258   KNDJP3A54J7557028   Kia          SOUL                SACRAMENTO                CA
132259   KNDJP3A54J7558552   Kia          SOUL                BURBANK                   CA
132260   KNDJP3A54J7560396   Kia          SOUL                SAN JOSE                  CA
132261   KNDJP3A54J7560561   Kia          SOUL                BURBANK                   CA
132262   KNDJP3A54J7561032   Kia          SOUL                BURBANK                   CA
132263   KNDJP3A54J7561354   Kia          SOUL                Tampa                     FL
132264   KNDJP3A54J7561662   Kia          SOUL                TAMPA                     FL
132265   KNDJP3A54J7561824   Kia          SOUL                DANIA BEACH               FL
132266   KNDJP3A54J7566909   Kia          SOUL                North Las Vegas           NV
132267   KNDJP3A54J7567638   Kia          SOUL                Cleveland                 OH
132268   KNDJP3A54J7567784   Kia          SOUL                BOSTON                    MA
132269   KNDJP3A54J7567879   Kia          SOUL                Davie                     FL
132270   KNDJP3A54J7567994   Kia          SOUL                CHARLOTTE                 NC
132271   KNDJP3A54J7568000   Kia          SOUL                Denver                    CO
132272   KNDJP3A54J7568269   Kia          SOUL                PHILADELPHIA              PA
132273   KNDJP3A54J7568305   Kia          SOUL                TAMPA                     US
132274   KNDJP3A54J7568613   Kia          SOUL                PORTLAND                  OR
132275   KNDJP3A54J7568773   Kia          SOUL                Miami                     FL
132276   KNDJP3A54J7569132   Kia          SOUL                ORLANDO                   FL
132277   KNDJP3A54J7569258   Kia          SOUL                MEDINA                    OH
132278   KNDJP3A54J7569356   Kia          SOUL                Pittsburgh                PA
132279   KNDJP3A54J7569440   Kia          SOUL                Indianapolis              IN
132280   KNDJP3A54J7569521   Kia          SOUL                MEDINA                    OH
132281   KNDJP3A54J7569664   Kia          SOUL                DALLAS                    TX
132282   KNDJP3A54J7569745   Kia          SOUL                Tampa                     FL
132283   KNDJP3A54J7570023   Kia          SOUL                Tolleson                  AZ
132284   KNDJP3A54J7570149   Kia          SOUL                SAN LEANDRO               CA
132285   KNDJP3A54J7570197   Kia          SOUL                CENTRAL DIST OFFC         OK
132286   KNDJP3A54J7570510   Kia          SOUL                FLORIDA DEALER DIR        FL
132287   KNDJP3A54J7572080   Kia          SOUL                ROSEVILLE                 CA
132288   KNDJP3A54J7573861   Kia          SOUL                San Diego                 CA
132289   KNDJP3A54J7574041   Kia          SOUL                BURBANK                   CA
132290   KNDJP3A54J7574069   Kia          SOUL                BURBANK                   CA
132291   KNDJP3A54J7574315   Kia          SOUL                Fort Lauderdale           FL
132292   KNDJP3A54J7574508   Kia          SOUL                MORROW                    GA
132293   KNDJP3A54J7575206   Kia          SOUL                Irving                    TX
132294   KNDJP3A54J7575335   Kia          SOUL                CHICAGO                   IL
132295   KNDJP3A54J7576792   Kia          SOUL                DENVER                    CO
132296   KNDJP3A54J7576856   Kia          SOUL                LOS ANGELES               CA
132297   KNDJP3A54J7576971   Kia          SOUL                ONTARIO                   CA
132298   KNDJP3A54J7577005   Kia          SOUL                Tolleson                  AZ
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132299   KNDJP3A54J7577019   Kia          SOUL                BURBANK                   CA
132300   KNDJP3A54J7577926   Kia          SOUL                Salt Lake City            UT
132301   KNDJP3A54J7578025   Kia          SOUL                CLEVELAND                 OH
132302   KNDJP3A54J7578168   Kia          SOUL                SAN JOSE                  CA
132303   KNDJP3A54J7578171   Kia          SOUL                SANTA ANA                 CA
132304   KNDJP3A54J7578252   Kia          SOUL                ROSEVILLE                 CA
132305   KNDJP3A54J7578719   Kia          SOUL                BURBANK                   CA
132306   KNDJP3A54J7579255   Kia          SOUL                DALLAS                    TX
132307   KNDJP3A54J7579398   Kia          SOUL                Norwalk                   CA
132308   KNDJP3A54J7593009   Kia          SOUL                Los Angeles               CA
132309   KNDJP3A54J7594192   Kia          SOUL                Dallas                    TX
132310   KNDJP3A54J7594631   Kia          SOUL                FAYETTEVILLE              GA
132311   KNDJP3A54J7595472   Kia          SOUL                Tolleson                  AZ
132312   KNDJP3A54J7595486   Kia          SOUL                SANTA ANA                 CA
132313   KNDJP3A54J7596122   Kia          SOUL                Beaverton                 OR
132314   KNDJP3A54J7596217   Kia          SOUL                SAN FRANCISCO             CA
132315   KNDJP3A54J7596525   Kia          SOUL                Portland                  OR
132316   KNDJP3A54J7597884   Kia          SOUL                SALT LAKE CITY            UT
132317   KNDJP3A54J7598162   Kia          SOUL                PHILADELPHIA              PA
132318   KNDJP3A54J7599277   Kia          SOUL                WILMINGTON                CA
132319   KNDJP3A54J7599523   Kia          SOUL                Marietta                  GA
132320   KNDJP3A54J7600363   Kia          SOUL                Tolleson                  AZ
132321   KNDJP3A54J7602288   Kia          SOUL                SOUTHEAST DST OFFC        OK
132322   KNDJP3A54J7603313   Kia          SOUL                ORLANDO                   FL
132323   KNDJP3A54J7603537   Kia          SOUL                SAN DIEGO                 CA
132324   KNDJP3A54J7605322   Kia          SOUL                ATLANTA                   GA
132325   KNDJP3A54J7609791   Kia          SOUL                BURBANK                   CA
132326   KNDJP3A54J7610696   Kia          SOUL                WEST PALM BEACH           FL
132327   KNDJP3A54J7611301   Kia          SOUL                FORT MYERS                FL
132328   KNDJP3A54J7611377   Kia          SOUL                BURBANK                   CA
132329   KNDJP3A54J7612836   Kia          SOUL                BURBANK                   CA
132330   KNDJP3A54J7618555   Kia          SOUL                Tampa                     FL
132331   KNDJP3A54J7620533   Kia          SOUL                BURBANK                   CA
132332   KNDJP3A54J7624243   Kia          SOUL                DALLAS                    TX
132333   KNDJP3A54J7626929   Kia          SOUL                AUSTIN                    TX
132334   KNDJP3A54J7890961   Kia          SOUL                LOS ANGELES               CA
132335   KNDJP3A54J7891141   Kia          SOUL                LAS VEGAS                 NV
132336   KNDJP3A54J7893388   Kia          SOUL                SAN JOSE                  CA
132337   KNDJP3A54J7893410   Kia          SOUL                TRACY                     CA
132338   KNDJP3A54J7894718   Kia          SOUL                ENGLEWOOD                 CO
132339   KNDJP3A54J7894900   Kia          SOUL                SAN DIEGO                 CA
132340   KNDJP3A54J7894914   Kia          SOUL                BURBANK                   CA
132341   KNDJP3A54J7896887   Kia          SOUL                Tampa                     FL
132342   KNDJP3A54J7897618   Kia          SOUL                South San Franc           CA
132343   KNDJP3A54J7897974   Kia          SOUL                STERLING                  VA
132344   KNDJP3A54J7898249   Kia          SOUL                Sacramento                CA
132345   KNDJP3A54J7898302   Kia          SOUL                LOS ANGELES               CA
132346   KNDJP3A54J7898963   Kia          SOUL                DAYTONA BEACH             FL
132347   KNDJP3A54J7899482   Kia          SOUL                BURBANK                   CA
132348   KNDJP3A54J7902719   Kia          SOUL                Statesville               NC
132349   KNDJP3A54J7904552   Kia          SOUL                Atlanta                   GA
132350   KNDJP3A54J7905524   Kia          SOUL                PHILADELPHIA              PA
132351   KNDJP3A54K7000704   Kia          SOUL                Kansas City               MO
132352   KNDJP3A54K7000797   Kia          SOUL                Roseville                 CA
132353   KNDJP3A54K7013419   Kia          SOUL                Davie                     FL
132354   KNDJP3A54K7019639   Kia          SOUL                MORROW                    GA
132355   KNDJP3A54K7021598   Kia          SOUL                Charlotte                 NC
132356   KNDJP3A54K7628567   Kia          SOUL                ORLANDO                   FL
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132357   KNDJP3A54K7628729   Kia          SOUL                SARASOTA                  FL
132358   KNDJP3A54K7628990   Kia          SOUL                Tulsa                     OK
132359   KNDJP3A54K7629556   Kia          SOUL                ORLANDO                   FL
132360   KNDJP3A54K7630187   Kia          SOUL                FORT MYERS                FL
132361   KNDJP3A54K7630612   Kia          SOUL                FORT MYERS                FL
132362   KNDJP3A54K7630884   Kia          SOUL                WEST PALM BEACH           FL
132363   KNDJP3A54K7631467   Kia          SOUL                JACKSONVILLE              FL
132364   KNDJP3A54K7632070   Kia          SOUL                JACKSONVILLE              FL
132365   KNDJP3A54K7632330   Kia          SOUL                DETROIT                   MI
132366   KNDJP3A54K7632800   Kia          SOUL                KANSAS CITY               MO
132367   KNDJP3A54K7633378   Kia          SOUL                WEST PALM BEACH           FL
132368   KNDJP3A54K7633980   Kia          SOUL                FORT LAUDERDALE           FL
132369   KNDJP3A54K7635423   Kia          SOUL                TAMPA                     FL
132370   KNDJP3A54K7635809   Kia          SOUL                Windsor Locks             CT
132371   KNDJP3A54K7636796   Kia          SOUL                Stockton                  CA
132372   KNDJP3A54K7637172   Kia          SOUL                LAS VEGAS                 NV
132373   KNDJP3A54K7637348   Kia          SOUL                OAKLAND                   CA
132374   KNDJP3A54K7637351   Kia          SOUL                DENVER                    CO
132375   KNDJP3A54K7638810   Kia          SOUL                PHOENIX                   AZ
132376   KNDJP3A54K7639651   Kia          SOUL                Slidell                   LA
132377   KNDJP3A54K7639892   Kia          SOUL                Louisville                KY
132378   KNDJP3A54K7642291   Kia          SOUL                SAN JOSE                  CA
132379   KNDJP3A54K7644106   Kia          SOUL                Live Oak                  TX
132380   KNDJP3A54K7644266   Kia          SOUL                OAKLAND                   CA
132381   KNDJP3A54K7644915   Kia          SOUL                ORLANDO                   FL
132382   KNDJP3A54K7644963   Kia          SOUL                Fontana                   CA
132383   KNDJP3A54K7645501   Kia          SOUL                Fresno                    CA
132384   KNDJP3A54K7645580   Kia          SOUL                BURBANK                   CA
132385   KNDJP3A54K7648169   Kia          SOUL                CHARLOTTE                 NC
132386   KNDJP3A54K7648253   Kia          SOUL                BURBANK                   CA
132387   KNDJP3A54K7648771   Kia          SOUL                ORLANDO                   FL
132388   KNDJP3A54K7648852   Kia          SOUL                SACRAMENTO                CA
132389   KNDJP3A54K7649046   Kia          SOUL                Fresno                    CA
132390   KNDJP3A54K7649113   Kia          SOUL                HOUSTON                   TX
132391   KNDJP3A54K7650262   Kia          SOUL                NEW ENGLAND DEALER        MA
132392   KNDJP3A54K7650407   Kia          SOUL                ORLANDO                   FL
132393   KNDJP3A54K7650522   Kia          SOUL                Nashville                 TN
132394   KNDJP3A54K7651637   Kia          SOUL                BURBANK                   CA
132395   KNDJP3A54K7651654   Kia          SOUL                ORLANDO                   FL
132396   KNDJP3A54K7652688   Kia          SOUL                Tolleson                  AZ
132397   KNDJP3A54K7652996   Kia          SOUL                CHANDLER                  AZ
132398   KNDJP3A54K7653002   Kia          SOUL                Chicago                   IL
132399   KNDJP3A54K7653145   Kia          SOUL                LAS VEGAS                 NV
132400   KNDJP3A54K7653453   Kia          SOUL                LOS ANGELES               CA
132401   KNDJP3A54K7653761   Kia          SOUL                RONKONKOMA                NY
132402   KNDJP3A54K7653789   Kia          SOUL                Salt Lake City            UT
132403   KNDJP3A54K7653923   Kia          SOUL                Riverside                 CA
132404   KNDJP3A54K7653937   Kia          SOUL                Riverside                 CA
132405   KNDJP3A54K7654246   Kia          SOUL                Dallas                    TX
132406   KNDJP3A54K7654294   Kia          SOUL                Scottsdale                AZ
132407   KNDJP3A54K7654585   Kia          SOUL                Burien                    WA
132408   KNDJP3A54K7654652   Kia          SOUL                MIAMI                     FL
132409   KNDJP3A54K7654733   Kia          SOUL                Norwalk                   CA
132410   KNDJP3A54K7655235   Kia          SOUL                BURBANK                   CA
132411   KNDJP3A54K7655588   Kia          SOUL                Tolleson                  AZ
132412   KNDJP3A54K7660189   Kia          SOUL                FT. LAUDERDALE            FL
132413   KNDJP3A54K7660936   Kia          SOUL                ORLANDO                   FL
132414   KNDJP3A54K7661441   Kia          SOUL                SANTA ANA                 CA
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132415   KNDJP3A54K7661780   Kia          SOUL                OAKLAND                   CA
132416   KNDJP3A54K7662248   Kia          SOUL                HOUSTON                   TX
132417   KNDJP3A54K7662279   Kia          SOUL                PHOENIX                   AZ
132418   KNDJP3A54K7662301   Kia          SOUL                TAMPA                     FL
132419   KNDJP3A54K7662508   Kia          SOUL                Roseville                 CA
132420   KNDJP3A54K7662511   Kia          SOUL                Ventura                   CA
132421   KNDJP3A54K7662945   Kia          SOUL                WEST COLUMBIA             SC
132422   KNDJP3A54K7662962   Kia          SOUL                SARASOTA                  FL
132423   KNDJP3A54K7663190   Kia          SOUL                HOUSTON                   TX
132424   KNDJP3A54K7663402   Kia          SOUL                Englewood                 CO
132425   KNDJP3A54K7663528   Kia          SOUL                BALTIMORE                 MD
132426   KNDJP3A54K7663609   Kia          SOUL                ALBANY                    NY
132427   KNDJP3A54K7663710   Kia          SOUL                GREENSBORO                NC
132428   KNDJP3A54K7663755   Kia          SOUL                MIAMI                     FL
132429   KNDJP3A54K7664498   Kia          SOUL                Charlotte                 NC
132430   KNDJP3A54K7665151   Kia          SOUL                Florissant                MO
132431   KNDJP3A54K7665229   Kia          SOUL                North Las Vegas           NV
132432   KNDJP3A54K7665358   Kia          SOUL                SARASOTA                  FL
132433   KNDJP3A54K7665635   Kia          SOUL                ORLANDO                   FL
132434   KNDJP3A54K7665831   Kia          SOUL                Las Vegas                 NV
132435   KNDJP3A54K7666168   Kia          SOUL                FORT MYERS                FL
132436   KNDJP3A54K7666204   Kia          SOUL                MELROSE PARK              IL
132437   KNDJP3A54K7666459   Kia          SOUL                CENTRAL DIST OFFC         OK
132438   KNDJP3A54K7666462   Kia          SOUL                FORT MYERS                FL
132439   KNDJP3A54K7666784   Kia          SOUL                Norwalk                   CA
132440   KNDJP3A54K7666803   Kia          SOUL                North Las Vegas           NV
132441   KNDJP3A54K7669278   Kia          SOUL                Killeen                   TX
132442   KNDJP3A54K7676781   Kia          SOUL                Las Vegas                 NV
132443   KNDJP3A54K7679907   Kia          SOUL                SARASOTA                  FL
132444   KNDJP3A54K7689398   Kia          SOUL                MIAMI                     FL
132445   KNDJP3A54K7691409   Kia          SOUL                Winston‐Salem             NC
132446   KNDJP3A54K7695833   Kia          SOUL                WEST PALM BEACH           FL
132447   KNDJP3A54K7696397   Kia          SOUL                GAINESVILLE               FL
132448   KNDJP3A54K7699297   Kia          SOUL                Englewood                 CO
132449   KNDJP3A54K7909073   Kia          SOUL                TAMPA                     FL
132450   KNDJP3A54K7909137   Kia          SOUL                WEST PALM BEACH           FL
132451   KNDJP3A54K7909140   Kia          SOUL                JACKSONVILLE              FL
132452   KNDJP3A54K7910353   Kia          SOUL                PORTLAND                  OR
132453   KNDJP3A54K7910370   Kia          SOUL                WEST CENTRAL DEALE        CO
132454   KNDJP3A54K7910451   Kia          SOUL                SAINT PAUL                MN
132455   KNDJP3A54K7910465   Kia          SOUL                NORTH PAC                 CA
132456   KNDJP3A54K7912104   Kia          SOUL                Dallas                    TX
132457   KNDJP3A54K7912846   Kia          SOUL                MIAMI                     FL
132458   KNDJP3A54K7913950   Kia          SOUL                HARLEYVILLE               SC
132459   KNDJP3A54K7913964   Kia          SOUL                JACKSONVILLE              FL
132460   KNDJP3A54K7914077   Kia          SOUL                Nashville                 TN
132461   KNDJP3A54K7914192   Kia          SOUL                BURBANK                   CA
132462   KNDJP3A54K7914354   Kia          SOUL                TAMPA                     FL
132463   KNDJP3A54K7916024   Kia          SOUL                FORT LAUDERDALE           FL
132464   KNDJP3A54K7916279   Kia          SOUL                SOUTHEAST DST OFFC        OK
132465   KNDJP3A54K7918033   Kia          SOUL                TAMPA                     US
132466   KNDJP3A54K7918131   Kia          SOUL                MORROW                    GA
132467   KNDJP3A54K7918176   Kia          SOUL                DAYTONA BEACH             FL
132468   KNDJP3A54K7918503   Kia          SOUL                Jacksonville              FL
132469   KNDJP3A54K7920137   Kia          SOUL                DANIA BEACH               FL
132470   KNDJP3A55G7359471   Kia          SOUL                Charlotte                 NC
132471   KNDJP3A55H7418536   Kia          SOUL                SPRINGFIELD               VA
132472   KNDJP3A55H7447244   Kia          SOUL                Slidell                   LA
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132473   KNDJP3A55H7448586   Kia          SOUL                DENVER                    CO
132474   KNDJP3A55H7448877   Kia          SOUL                Smithtown                 NY
132475   KNDJP3A55H7449074   Kia          SOUL                Fredericksburg            VA
132476   KNDJP3A55H7475013   Kia          SOUL                DARLINGTON                SC
132477   KNDJP3A55H7477702   Kia          SOUL                Richmond                  VA
132478   KNDJP3A55H7477943   Kia          SOUL                Richmond                  VA
132479   KNDJP3A55H7478543   Kia          SOUL                Baltimore                 MD
132480   KNDJP3A55H7478641   Kia          SOUL                Lynn                      MA
132481   KNDJP3A55H7493480   Kia          SOUL                DAYTONA BEACH             FL
132482   KNDJP3A55H7493902   Kia          SOUL                Tampa                     FL
132483   KNDJP3A55H7495715   Kia          SOUL                NORTH PAC                 CA
132484   KNDJP3A55H7498906   Kia          SOUL                STERLING                  VA
132485   KNDJP3A55H7502937   Kia          SOUL                RICHMOND                  VA
132486   KNDJP3A55H7504316   Kia          SOUL                STERLING                  VA
132487   KNDJP3A55H7879204   Kia          SOUL                ORLANDO                   FL
132488   KNDJP3A55H7887934   Kia          SOUL                PHILADELPHIA              PA
132489   KNDJP3A55J7510249   Kia          SOUL                MIDDLE RIVER              MD
132490   KNDJP3A55J7510784   Kia          SOUL                PHILADELPHIA              PA
132491   KNDJP3A55J7511580   Kia          SOUL                Elkridge                  MD
132492   KNDJP3A55J7512633   Kia          SOUL                Tampa                     FL
132493   KNDJP3A55J7512826   Kia          SOUL                Fredericksburg            VA
132494   KNDJP3A55J7513362   Kia          SOUL                ROSEVILLE                 CA
132495   KNDJP3A55J7527973   Kia          SOUL                SAN JOSE                  CA
132496   KNDJP3A55J7528752   Kia          SOUL                LOS ANGELES               CA
132497   KNDJP3A55J7529318   Kia          SOUL                Lake Elsinore             CA
132498   KNDJP3A55J7531473   Kia          SOUL                North Las Vegas           NV
132499   KNDJP3A55J7542604   Kia          SOUL                Atlanta                   GA
132500   KNDJP3A55J7544997   Kia          SOUL                BURBANK                   CA
132501   KNDJP3A55J7545003   Kia          SOUL                NORTH PAC                 CA
132502   KNDJP3A55J7545163   Kia          SOUL                Miami                     FL
132503   KNDJP3A55J7545714   Kia          SOUL                SAN DIEGO                 CA
132504   KNDJP3A55J7545745   Kia          SOUL                San Diego                 CA
132505   KNDJP3A55J7545972   Kia          SOUL                Norwalk                   CA
132506   KNDJP3A55J7546118   Kia          SOUL                PHOENIX                   AZ
132507   KNDJP3A55J7549830   Kia          SOUL                BURBANK                   CA
132508   KNDJP3A55J7550069   Kia          SOUL                BURBANK                   CA
132509   KNDJP3A55J7550105   Kia          SOUL                BURBANK                   CA
132510   KNDJP3A55J7550668   Kia          SOUL                Winter Park               FL
132511   KNDJP3A55J7551531   Kia          SOUL                MEDINA                    OH
132512   KNDJP3A55J7554364   Kia          SOUL                North Dighton             MA
132513   KNDJP3A55J7556020   Kia          SOUL                SANTA ANA                 CA
132514   KNDJP3A55J7556230   Kia          SOUL                SALT LAKE CITY            UT
132515   KNDJP3A55J7556695   Kia          SOUL                Rock Hill                 SC
132516   KNDJP3A55J7557913   Kia          SOUL                BURBANK                   CA
132517   KNDJP3A55J7558298   Kia          SOUL                North Dighton             MA
132518   KNDJP3A55J7558382   Kia          SOUL                SAN DIEGO                 CA
132519   KNDJP3A55J7558527   Kia          SOUL                DALLAS                    TX
132520   KNDJP3A55J7560908   Kia          SOUL                Fort Lauderdale           FL
132521   KNDJP3A55J7560990   Kia          SOUL                PASADENA                  MD
132522   KNDJP3A55J7564120   Kia          SOUL                Estero                    FL
132523   KNDJP3A55J7564778   Kia          SOUL                ORLANDO                   FL
132524   KNDJP3A55J7565252   Kia          SOUL                San Antonio               TX
132525   KNDJP3A55J7566319   Kia          SOUL                DANIA BEACH               FL
132526   KNDJP3A55J7566952   Kia          SOUL                CHICAGO                   IL
132527   KNDJP3A55J7566983   Kia          SOUL                Statesville               NC
132528   KNDJP3A55J7567633   Kia          SOUL                North Dighton             MA
132529   KNDJP3A55J7567874   Kia          SOUL                Harvey                    LA
132530   KNDJP3A55J7568040   Kia          SOUL                CHICAGO                   IL
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132531   KNDJP3A55J7568359   Kia          SOUL                Tampa                     FL
132532   KNDJP3A55J7569074   Kia          SOUL                ORLANDO                   FL
132533   KNDJP3A55J7570208   Kia          SOUL                Irving                    TX
132534   KNDJP3A55J7570659   Kia          SOUL                TAMPA                     FL
132535   KNDJP3A55J7570760   Kia          SOUL                BURBANK                   CA
132536   KNDJP3A55J7571584   Kia          SOUL                SALT LAKE CITY            UT
132537   KNDJP3A55J7571648   Kia          SOUL                DAYTONA BEACH             FL
132538   KNDJP3A55J7572072   Kia          SOUL                Tolleson                  AZ
132539   KNDJP3A55J7572170   Kia          SOUL                SAN FRANCISCO             CA
132540   KNDJP3A55J7572444   Kia          SOUL                SEATAC                    WA
132541   KNDJP3A55J7572492   Kia          SOUL                LAS VEGAS                 NV
132542   KNDJP3A55J7572623   Kia          SOUL                Salt Lake City            UT
132543   KNDJP3A55J7572766   Kia          SOUL                LAS VEGAS                 NV
132544   KNDJP3A55J7572802   Kia          SOUL                Fontana                   CA
132545   KNDJP3A55J7572959   Kia          SOUL                SAN JOSE                  CA
132546   KNDJP3A55J7573674   Kia          SOUL                TAMPA                     FL
132547   KNDJP3A55J7573688   Kia          SOUL                LOS ANGELES               CA
132548   KNDJP3A55J7573805   Kia          SOUL                NORTH PAC                 CA
132549   KNDJP3A55J7573870   Kia          SOUL                CHICAGO                   IL
132550   KNDJP3A55J7573917   Kia          SOUL                MEDINA                    OH
132551   KNDJP3A55J7574050   Kia          SOUL                FORT MYERS                FL
132552   KNDJP3A55J7575456   Kia          SOUL                NEW YORK DEALER DI        NJ
132553   KNDJP3A55J7575893   Kia          SOUL                ORLANDO                   FL
132554   KNDJP3A55J7576252   Kia          SOUL                Santa Clara               CA
132555   KNDJP3A55J7576719   Kia          SOUL                NORTH PAC                 CA
132556   KNDJP3A55J7576817   Kia          SOUL                BURBANK                   CA
132557   KNDJP3A55J7577157   Kia          SOUL                Roseville                 CA
132558   KNDJP3A55J7577174   Kia          SOUL                LOS ANGELES               CA
132559   KNDJP3A55J7577613   Kia          SOUL                BURBANK                   CA
132560   KNDJP3A55J7577823   Kia          SOUL                Anaheim                   CA
132561   KNDJP3A55J7577837   Kia          SOUL                BURBANK                   CA
132562   KNDJP3A55J7577949   Kia          SOUL                Denver                    CO
132563   KNDJP3A55J7578017   Kia          SOUL                BURBANK                   CA
132564   KNDJP3A55J7578177   Kia          SOUL                LOS ANGELES               CA
132565   KNDJP3A55J7578714   Kia          SOUL                BURBANK                   CA
132566   KNDJP3A55J7578972   Kia          SOUL                BURBANK                   CA
132567   KNDJP3A55J7580737   Kia          SOUL                ORLANDO                   FL
132568   KNDJP3A55J7588191   Kia          SOUL                LOS ANGELES               CA
132569   KNDJP3A55J7592872   Kia          SOUL                Manheim                   PA
132570   KNDJP3A55J7593732   Kia          SOUL                DAYTONA BEACH             FL
132571   KNDJP3A55J7594833   Kia          SOUL                NORTH PAC                 CA
132572   KNDJP3A55J7595464   Kia          SOUL                Stockton                  CA
132573   KNDJP3A55J7595500   Kia          SOUL                PHOENIX                   AZ
132574   KNDJP3A55J7595514   Kia          SOUL                BURBANK                   CA
132575   KNDJP3A55J7595691   Kia          SOUL                Riverside                 CA
132576   KNDJP3A55J7596095   Kia          SOUL                Fort Lauderdale           FL
132577   KNDJP3A55J7598154   Kia          SOUL                NORTH PAC                 CA
132578   KNDJP3A55J7599384   Kia          SOUL                Phoenix                   AZ
132579   KNDJP3A55J7601652   Kia          SOUL                JACKSON                   MS
132580   KNDJP3A55J7601733   Kia          SOUL                Cedar Rapids              IA
132581   KNDJP3A55J7602090   Kia          SOUL                ORLANDO                   FL
132582   KNDJP3A55J7602283   Kia          SOUL                JACKSONVILLE              FL
132583   KNDJP3A55J7602882   Kia          SOUL                TAMPA                     FL
132584   KNDJP3A55J7602946   Kia          SOUL                Louisville                KY
132585   KNDJP3A55J7603840   Kia          SOUL                North Dighton             MA
132586   KNDJP3A55J7604180   Kia          SOUL                Florissant                MO
132587   KNDJP3A55J7607287   Kia          SOUL                Winston‐Salem             NC
132588   KNDJP3A55J7609802   Kia          SOUL                Atlanta                   GA
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132589   KNDJP3A55J7611226   Kia          SOUL                KENNER                    LA
132590   KNDJP3A55J7611985   Kia          SOUL                Norwalk                   CA
132591   KNDJP3A55J7612697   Kia          SOUL                BURBANK                   CA
132592   KNDJP3A55J7618547   Kia          SOUL                TAMPA                     FL
132593   KNDJP3A55J7620105   Kia          SOUL                Rio Linda                 CA
132594   KNDJP3A55J7621321   Kia          SOUL                Las Vegas                 NV
132595   KNDJP3A55J7626938   Kia          SOUL                SAN DIEGO                 CA
132596   KNDJP3A55J7893061   Kia          SOUL                HANOVER                   MD
132597   KNDJP3A55J7893626   Kia          SOUL                Tampa                     FL
132598   KNDJP3A55J7894940   Kia          SOUL                SANTA ANA                 CA
132599   KNDJP3A55J7894954   Kia          SOUL                SACRAMENTO                CA
132600   KNDJP3A55J7895005   Kia          SOUL                LOS ANGELES               CA
132601   KNDJP3A55J7895019   Kia          SOUL                Riverside                 CA
132602   KNDJP3A55J7896932   Kia          SOUL                WHITE PLAINS              NY
132603   KNDJP3A55J7897126   Kia          SOUL                KNOXVILLE                 TN
132604   KNDJP3A55J7897725   Kia          SOUL                GOLD RIVER                CA
132605   KNDJP3A55J7898048   Kia          SOUL                Morrisville               NC
132606   KNDJP3A55J7898079   Kia          SOUL                WEST PALM BEACH           FL
132607   KNDJP3A55J7898101   Kia          SOUL                SOUTHEAST DST OFFC        OK
132608   KNDJP3A55J7898194   Kia          SOUL                PHOENIX                   AZ
132609   KNDJP3A55J7898311   Kia          SOUL                Atlanta                   GA
132610   KNDJP3A55J7898647   Kia          SOUL                BURBANK                   CA
132611   KNDJP3A55J7898681   Kia          SOUL                BURBANK                   CA
132612   KNDJP3A55J7898972   Kia          SOUL                BURBANK                   CA
132613   KNDJP3A55J7899376   Kia          SOUL                Manheim                   PA
132614   KNDJP3A55J7900817   Kia          SOUL                CLEVELAND                 OH
132615   KNDJP3A55J7901546   Kia          SOUL                HOUSTON                   TX
132616   KNDJP3A55J7902308   Kia          SOUL                NORTH PAC                 CA
132617   KNDJP3A55J7902325   Kia          SOUL                NORTH PAC                 CA
132618   KNDJP3A55J7902423   Kia          SOUL                ONTARIO                   CA
132619   KNDJP3A55J7904026   Kia          SOUL                Atlanta                   GA
132620   KNDJP3A55J7904138   Kia          SOUL                NORTH PAC                 CA
132621   KNDJP3A55J7904480   Kia          SOUL                FORT MYERS                FL
132622   KNDJP3A55J7904768   Kia          SOUL                Live Oak                  TX
132623   KNDJP3A55J7904866   Kia          SOUL                Killeen                   TX
132624   KNDJP3A55K7013008   Kia          SOUL                Irving                    TX
132625   KNDJP3A55K7628559   Kia          SOUL                TAMPA                     FL
132626   KNDJP3A55K7628562   Kia          SOUL                Dallas                    TX
132627   KNDJP3A55K7628738   Kia          SOUL                Elkridge                  MD
132628   KNDJP3A55K7629842   Kia          SOUL                JACKSONVILLE              FL
132629   KNDJP3A55K7630375   Kia          SOUL                FORT MYERS                FL
132630   KNDJP3A55K7631011   Kia          SOUL                SAN JOSE                  CA
132631   KNDJP3A55K7631378   Kia          SOUL                TAMPA                     FL
132632   KNDJP3A55K7631428   Kia          SOUL                FORT MYERS                FL
132633   KNDJP3A55K7632305   Kia          SOUL                MIAMI                     FL
132634   KNDJP3A55K7633311   Kia          SOUL                ORLANDO                   FL
132635   KNDJP3A55K7633938   Kia          SOUL                MIAMI                     FL
132636   KNDJP3A55K7636001   Kia          SOUL                ORLANDO                   FL
132637   KNDJP3A55K7636435   Kia          SOUL                NORTH PAC                 CA
132638   KNDJP3A55K7636614   Kia          SOUL                North Las Vegas           NV
132639   KNDJP3A55K7638377   Kia          SOUL                BURBANK                   CA
132640   KNDJP3A55K7638556   Kia          SOUL                Louisville                KY
132641   KNDJP3A55K7638802   Kia          SOUL                SAINT LOUIS               MO
132642   KNDJP3A55K7640159   Kia          SOUL                ORLANDO                   FL
132643   KNDJP3A55K7640162   Kia          SOUL                TAMPA                     FL
132644   KNDJP3A55K7640226   Kia          SOUL                NORTH PAC                 CA
132645   KNDJP3A55K7642266   Kia          SOUL                JACKSONVILLE              FL
132646   KNDJP3A55K7642977   Kia          SOUL                Houston                   TX
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132647   KNDJP3A55K7643658   Kia          SOUL                NORTH PAC                 CA
132648   KNDJP3A55K7644065   Kia          SOUL                SACRAMENTO                CA
132649   KNDJP3A55K7644275   Kia          SOUL                Portland                  OR
132650   KNDJP3A55K7646298   Kia          SOUL                MOBILE                    A
132651   KNDJP3A55K7648746   Kia          SOUL                Austin                    TX
132652   KNDJP3A55K7649895   Kia          SOUL                SAINT PAUL                MN
132653   KNDJP3A55K7650366   Kia          SOUL                Plainfield                IN
132654   KNDJP3A55K7651985   Kia          SOUL                San Antonio               TX
132655   KNDJP3A55K7652473   Kia          SOUL                OAKLAND                   CA
132656   KNDJP3A55K7653025   Kia          SOUL                LAS VEGAS                 NV
132657   KNDJP3A55K7653171   Kia          SOUL                Houston                   TX
132658   KNDJP3A55K7653753   Kia          SOUL                FRESNO                    CA
132659   KNDJP3A55K7654112   Kia          SOUL                Omaha                     NE
132660   KNDJP3A55K7654403   Kia          SOUL                Phoenix                   AZ
132661   KNDJP3A55K7654417   Kia          SOUL                OAKLAND                   CA
132662   KNDJP3A55K7654420   Kia          SOUL                SACRAMENTO                CA
132663   KNDJP3A55K7654532   Kia          SOUL                SAN DIEGO                 CA
132664   KNDJP3A55K7654675   Kia          SOUL                KENNER                    LA
132665   KNDJP3A55K7654689   Kia          SOUL                LITTLE ROCK               AR
132666   KNDJP3A55K7654692   Kia          SOUL                ORLANDO                   FL
132667   KNDJP3A55K7654725   Kia          SOUL                Dallas                    TX
132668   KNDJP3A55K7655017   Kia          SOUL                SACRAMENTO                CA
132669   KNDJP3A55K7655356   Kia          SOUL                PLEASANTON                CA
132670   KNDJP3A55K7655955   Kia          SOUL                CHANDLER                  AZ
132671   KNDJP3A55K7660170   Kia          SOUL                Omaha                     NE
132672   KNDJP3A55K7660427   Kia          SOUL                Newark                    NJ
132673   KNDJP3A55K7660993   Kia          SOUL                TAMPA                     FL
132674   KNDJP3A55K7661089   Kia          SOUL                TAMPA                     FL
132675   KNDJP3A55K7661321   Kia          SOUL                Las Vegas                 NV
132676   KNDJP3A55K7661559   Kia          SOUL                DAYTONA BEACH             FL
132677   KNDJP3A55K7661707   Kia          SOUL                NEWARK                    NJ
132678   KNDJP3A55K7661836   Kia          SOUL                SAN JOSE                  CA
132679   KNDJP3A55K7664137   Kia          SOUL                Florissant                MO
132680   KNDJP3A55K7664168   Kia          SOUL                EWA BEACH                 HI
132681   KNDJP3A55K7664283   Kia          SOUL                Honolulu                  HI
132682   KNDJP3A55K7664347   Kia          SOUL                SALT LAKE CITY            UT
132683   KNDJP3A55K7664509   Kia          SOUL                DAYTONA BEACH             FL
132684   KNDJP3A55K7664543   Kia          SOUL                Irving                    TX
132685   KNDJP3A55K7664557   Kia          SOUL                ORLANDO                   FL
132686   KNDJP3A55K7665384   Kia          SOUL                WEST PALM BEACH           FL
132687   KNDJP3A55K7665658   Kia          SOUL                SARASOTA                  FL
132688   KNDJP3A55K7666017   Kia          SOUL                Euless                    TX
132689   KNDJP3A55K7666020   Kia          SOUL                BURBANK                   CA
132690   KNDJP3A55K7666048   Kia          SOUL                BURBANK                   CA
132691   KNDJP3A55K7666146   Kia          SOUL                Hamilton                  OH
132692   KNDJP3A55K7666874   Kia          SOUL                KENNER                    LA
132693   KNDJP3A55K7678359   Kia          SOUL                West Bountiful            UT
132694   KNDJP3A55K7689085   Kia          SOUL                LOUISVILLE                KY
132695   KNDJP3A55K7695369   Kia          SOUL                Louisville                KY
132696   KNDJP3A55K7696229   Kia          SOUL                Davie                     FL
132697   KNDJP3A55K7697171   Kia          SOUL                WEST PALM BEACH           FL
132698   KNDJP3A55K7698529   Kia          SOUL                Philadelphia              PA
132699   KNDJP3A55K7908255   Kia          SOUL                MIAMI                     FL
132700   KNDJP3A55K7910085   Kia          SOUL                Dallas                    TX
132701   KNDJP3A55K7910118   Kia          SOUL                PHOENIX                   AZ
132702   KNDJP3A55K7910135   Kia          SOUL                Santa Clara               CA
132703   KNDJP3A55K7913262   Kia          SOUL                Denver                    CO
132704   KNDJP3A55K7913780   Kia          SOUL                DES MOINES                IA
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132705   KNDJP3A55K7913830   Kia          SOUL                NASHVILLE                 TN
132706   KNDJP3A55K7914010   Kia          SOUL                ORLANDO                   FL
132707   KNDJP3A55K7915920   Kia          SOUL                FORT MYERS                FL
132708   KNDJP3A55K7916176   Kia          SOUL                ORLANDO                   FL
132709   KNDJP3A55K7917988   Kia          SOUL                Charlotte                 NC
132710   KNDJP3A55K7918008   Kia          SOUL                DAYTONA BEACH             FL
132711   KNDJP3A55K7918431   Kia          SOUL                Manheim                   PA
132712   KNDJP3A56H7440383   Kia          SOUL                CHICAGO                   IL
132713   KNDJP3A56H7464117   Kia          SOUL                Kent                      WA
132714   KNDJP3A56H7465056   Kia          SOUL                SAN JOSE                  CA
132715   KNDJP3A56H7476154   Kia          SOUL                SANTA ANA                 CA
132716   KNDJP3A56H7476509   Kia          SOUL                Bensalem                  PA
132717   KNDJP3A56H7477126   Kia          SOUL                NEW ENGLAND DEALER        MA
132718   KNDJP3A56H7477417   Kia          SOUL                Denver                    CO
132719   KNDJP3A56H7478180   Kia          SOUL                BOSTON                    MA
132720   KNDJP3A56H7478325   Kia          SOUL                NEW YORK DEALER DI        NJ
132721   KNDJP3A56H7478647   Kia          SOUL                BOSTON                    MA
132722   KNDJP3A56H7500386   Kia          SOUL                Philadelphia              PA
132723   KNDJP3A56H7504471   Kia          SOUL                PHILADELPHIA              PA
132724   KNDJP3A56H7884105   Kia          SOUL                Fort Lauderdale           FL
132725   KNDJP3A56J7511426   Kia          SOUL                STERLING                  VA
132726   KNDJP3A56J7512317   Kia          SOUL                Alexandria                VA
132727   KNDJP3A56J7512964   Kia          SOUL                MEBANE                    NC
132728   KNDJP3A56J7518702   Kia          SOUL                GLEN BURNIE               MD
132729   KNDJP3A56J7526170   Kia          SOUL                SANTA ANA                 CA
132730   KNDJP3A56J7527643   Kia          SOUL                PLEASANTON                CA
132731   KNDJP3A56J7527707   Kia          SOUL                NORTH PAC                 CA
132732   KNDJP3A56J7527996   Kia          SOUL                LOS ANGELES               CA
132733   KNDJP3A56J7528999   Kia          SOUL                LOS ANGELES               CA
132734   KNDJP3A56J7530834   Kia          SOUL                North Las Vegas           NV
132735   KNDJP3A56J7539257   Kia          SOUL                LOS ANGELES               CA
132736   KNDJP3A56J7542305   Kia          SOUL                Aurora                    CO
132737   KNDJP3A56J7542739   Kia          SOUL                PHILADELPHIA              PA
132738   KNDJP3A56J7543034   Kia          SOUL                Roseville                 CA
132739   KNDJP3A56J7543762   Kia          SOUL                SOUTHEAST DST OFFC        OK
132740   KNDJP3A56J7544152   Kia          SOUL                NORTH PAC                 CA
132741   KNDJP3A56J7544653   Kia          SOUL                Davie                     FL
132742   KNDJP3A56J7545110   Kia          SOUL                SAN JOSE                  CA
132743   KNDJP3A56J7545754   Kia          SOUL                ROSEVILLE                 CA
132744   KNDJP3A56J7545866   Kia          SOUL                LOS ANGELES               CA
132745   KNDJP3A56J7546290   Kia          SOUL                Stockton                  CA
132746   KNDJP3A56J7547018   Kia          SOUL                PHOENIX                   AZ
132747   KNDJP3A56J7548380   Kia          SOUL                OAKLAND                   CA
132748   KNDJP3A56J7550582   Kia          SOUL                Ventura                   CA
132749   KNDJP3A56J7551196   Kia          SOUL                BURBANK                   CA
132750   KNDJP3A56J7551344   Kia          SOUL                Elkridge                  MD
132751   KNDJP3A56J7556026   Kia          SOUL                OAKLAND                   CA
132752   KNDJP3A56J7556057   Kia          SOUL                SAN JOSE                  CA
132753   KNDJP3A56J7556236   Kia          SOUL                BURBANK                   CA
132754   KNDJP3A56J7556835   Kia          SOUL                BURBANK                   CA
132755   KNDJP3A56J7557774   Kia          SOUL                NORTH PAC                 CA
132756   KNDJP3A56J7557791   Kia          SOUL                LOS ANGELES               CA
132757   KNDJP3A56J7557936   Kia          SOUL                Torrance                  CA
132758   KNDJP3A56J7558701   Kia          SOUL                PHILADELPHIA              PA
132759   KNDJP3A56J7559265   Kia          SOUL                Davie                     FL
132760   KNDJP3A56J7559900   Kia          SOUL                Fredericksburg            VA
132761   KNDJP3A56J7560092   Kia          SOUL                SAC                       CA
132762   KNDJP3A56J7560416   Kia          SOUL                South San Franc           CA
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132763   KNDJP3A56J7561033   Kia          SOUL                Norwalk                   CA
132764   KNDJP3A56J7562666   Kia          SOUL                SHAKOPEE                  MN
132765   KNDJP3A56J7562845   Kia          SOUL                RICHMOND                  VA
132766   KNDJP3A56J7564563   Kia          SOUL                Miami                     FL
132767   KNDJP3A56J7564644   Kia          SOUL                Tolleson                  AZ
132768   KNDJP3A56J7566796   Kia          SOUL                PHILADELPHIA              PA
132769   KNDJP3A56J7567382   Kia          SOUL                Atlanta                   GA
132770   KNDJP3A56J7567690   Kia          SOUL                CHICAGO                   IL
132771   KNDJP3A56J7568256   Kia          SOUL                FLORIDA DEALER DIR        FL
132772   KNDJP3A56J7569018   Kia          SOUL                DALLAS                    TX
132773   KNDJP3A56J7570198   Kia          SOUL                LAS VEGAS                 NV
132774   KNDJP3A56J7571612   Kia          SOUL                North Las Vegas           NV
132775   KNDJP3A56J7572260   Kia          SOUL                Tolleson                  AZ
132776   KNDJP3A56J7572601   Kia          SOUL                BURBANK                   CA
132777   KNDJP3A56J7573859   Kia          SOUL                ONTARIO                   CA
132778   KNDJP3A56J7574509   Kia          SOUL                Denver                    CO
132779   KNDJP3A56J7574753   Kia          SOUL                BURBANK                   CA
132780   KNDJP3A56J7574896   Kia          SOUL                ORLANDO                   FL
132781   KNDJP3A56J7575014   Kia          SOUL                CHICAGO                   IL
132782   KNDJP3A56J7575336   Kia          SOUL                CHICAGO                   IL
132783   KNDJP3A56J7575479   Kia          SOUL                BURBANK                   CA
132784   KNDJP3A56J7575885   Kia          SOUL                North Las Vegas           NV
132785   KNDJP3A56J7576115   Kia          SOUL                Lake Elsinore             CA
132786   KNDJP3A56J7576244   Kia          SOUL                Pittsburgh                PA
132787   KNDJP3A56J7576373   Kia          SOUL                BURBANK                   CA
132788   KNDJP3A56J7576700   Kia          SOUL                Statesville               NC
132789   KNDJP3A56J7577006   Kia          SOUL                BURBANK                   CA
132790   KNDJP3A56J7578172   Kia          SOUL                Stockton                  CA
132791   KNDJP3A56J7578821   Kia          SOUL                ENGLEWOOD                 CO
132792   KNDJP3A56J7578916   Kia          SOUL                BURBANK                   CA
132793   KNDJP3A56J7579855   Kia          SOUL                ONTARIO                   CA
132794   KNDJP3A56J7579984   Kia          SOUL                NORWALK                   CA
132795   KNDJP3A56J7580570   Kia          SOUL                Riverside                 CA
132796   KNDJP3A56J7592721   Kia          SOUL                CHICAGO                   IL
132797   KNDJP3A56J7592783   Kia          SOUL                LOS ANGELES AP            CA
132798   KNDJP3A56J7593030   Kia          SOUL                Charlotte                 NC
132799   KNDJP3A56J7594257   Kia          SOUL                BURBANK                   CA
132800   KNDJP3A56J7595487   Kia          SOUL                LOS ANGELES               CA
132801   KNDJP3A56J7598163   Kia          SOUL                COLLEGE PARK              GA
132802   KNDJP3A56J7598552   Kia          SOUL                COLLEGE PARK              GA
132803   KNDJP3A56J7599524   Kia          SOUL                Atlanta                   GA
132804   KNDJP3A56J7602485   Kia          SOUL                Smithtown                 NY
132805   KNDJP3A56J7602499   Kia          SOUL                DALLAS                    TX
132806   KNDJP3A56J7604592   Kia          SOUL                FORT LAUDERDALE           FL
132807   KNDJP3A56J7604690   Kia          SOUL                MORROW                    GA
132808   KNDJP3A56J7605161   Kia          SOUL                KNOXVILLE                 TN
132809   KNDJP3A56J7605435   Kia          SOUL                Chandler                  AZ
132810   KNDJP3A56J7606780   Kia          SOUL                Riverside                 CA
132811   KNDJP3A56J7607654   Kia          SOUL                Teterboro                 NJ
132812   KNDJP3A56J7608464   Kia          SOUL                BURBANK                   CA
132813   KNDJP3A56J7611395   Kia          SOUL                Ventura                   CA
132814   KNDJP3A56J7612496   Kia          SOUL                CLEVELAND                 OH
132815   KNDJP3A56J7616449   Kia          SOUL                Los Angeles               CA
132816   KNDJP3A56J7621442   Kia          SOUL                North Las Vegas           NV
132817   KNDJP3A56J7890931   Kia          SOUL                NORTH PAC                 CA
132818   KNDJP3A56J7892775   Kia          SOUL                LOS ANGELES AP            CA
132819   KNDJP3A56J7894199   Kia          SOUL                HANOVER                   MD
132820   KNDJP3A56J7894882   Kia          SOUL                SAN JOSE                  CA
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132821   KNDJP3A56J7894901   Kia          SOUL                SAN DIEGO                 CA
132822   KNDJP3A56J7895272   Kia          SOUL                DAYTONA BEACH             FL
132823   KNDJP3A56J7896891   Kia          SOUL                Elkridge                  MD
132824   KNDJP3A56J7897460   Kia          SOUL                ORLANDO                   FL
132825   KNDJP3A56J7897622   Kia          SOUL                Norwalk                   CA
132826   KNDJP3A56J7897989   Kia          SOUL                Ocoee                     FL
132827   KNDJP3A56J7898186   Kia          SOUL                DALLAS                    TX
132828   KNDJP3A56J7902169   Kia          SOUL                JACKSONVILLE              FL
132829   KNDJP3A56J7902298   Kia          SOUL                NORTH HOLLYWOOD           CA
132830   KNDJP3A56J7904455   Kia          SOUL                WEST PALM BEACH           FL
132831   KNDJP3A56K7001059   Kia          SOUL                Portland                  OR
132832   KNDJP3A56K7002051   Kia          SOUL                S. San Francisc           CA
132833   KNDJP3A56K7002471   Kia          SOUL                HILO                      HI
132834   KNDJP3A56K7006648   Kia          SOUL                KALAOA                    HI
132835   KNDJP3A56K7012255   Kia          SOUL                DAYTONA BEACH             FL
132836   KNDJP3A56K7018766   Kia          SOUL                BLOOMINGTON               IL
132837   KNDJP3A56K7628697   Kia          SOUL                Austell                   GA
132838   KNDJP3A56K7628747   Kia          SOUL                Cleveland                 OH
132839   KNDJP3A56K7628778   Kia          SOUL                NEW YORK CITY             NY
132840   KNDJP3A56K7630191   Kia          SOUL                ORLANDO                   FL
132841   KNDJP3A56K7630451   Kia          SOUL                NEW YORK CITY             NY
132842   KNDJP3A56K7630773   Kia          SOUL                WEST PALM BEACH           FL
132843   KNDJP3A56K7631132   Kia          SOUL                PHOENIX                   AZ
132844   KNDJP3A56K7631454   Kia          SOUL                EL SEGUNDO                CA
132845   KNDJP3A56K7631518   Kia          SOUL                ORLANDO                   FL
132846   KNDJP3A56K7631602   Kia          SOUL                PITTSBURGH                PA
132847   KNDJP3A56K7633379   Kia          SOUL                SARASOTA                  FL
132848   KNDJP3A56K7636637   Kia          SOUL                BURBANK                   CA
132849   KNDJP3A56K7637075   Kia          SOUL                SAINT PAUL                MN
132850   KNDJP3A56K7637321   Kia          SOUL                Austin                    TX
132851   KNDJP3A56K7637495   Kia          SOUL                Hayward                   CA
132852   KNDJP3A56K7638095   Kia          SOUL                SALT LAKE CITY            UT
132853   KNDJP3A56K7638811   Kia          SOUL                NEW BERN                  NC
132854   KNDJP3A56K7640445   Kia          SOUL                ORLANDO                   FL
132855   KNDJP3A56K7640848   Kia          SOUL                SAN ANTONIO               TX
132856   KNDJP3A56K7641577   Kia          SOUL                SACRAMENTO                CA
132857   KNDJP3A56K7643250   Kia          SOUL                BURBANK                   CA
132858   KNDJP3A56K7643961   Kia          SOUL                LAS VEGAS                 NV
132859   KNDJP3A56K7644267   Kia          SOUL                Albuquerque               NM
132860   KNDJP3A56K7645953   Kia          SOUL                North Las Vegas           NV
132861   KNDJP3A56K7648786   Kia          SOUL                Aurora                    CO
132862   KNDJP3A56K7649050   Kia          SOUL                RALIEGH                   NC
132863   KNDJP3A56K7649615   Kia          SOUL                BURBANK                   CA
132864   KNDJP3A56K7649663   Kia          SOUL                Houston                   TX
132865   KNDJP3A56K7650263   Kia          SOUL                BURBANK                   CA
132866   KNDJP3A56K7650442   Kia          SOUL                Dallas                    TX
132867   KNDJP3A56K7652580   Kia          SOUL                SACRAMENTO                CA
132868   KNDJP3A56K7652658   Kia          SOUL                SANTA ANA                 CA
132869   KNDJP3A56K7653146   Kia          SOUL                LAS VEGAS                 NV
132870   KNDJP3A56K7653311   Kia          SOUL                PHOENIX                   AZ
132871   KNDJP3A56K7653762   Kia          SOUL                San Diego                 CA
132872   KNDJP3A56K7653809   Kia          SOUL                Fresno                    CA
132873   KNDJP3A56K7653924   Kia          SOUL                KENNER                    LA
132874   KNDJP3A56K7653938   Kia          SOUL                BURBANK                   CA
132875   KNDJP3A56K7654409   Kia          SOUL                SACRAMENTO                CA
132876   KNDJP3A56K7654670   Kia          SOUL                Hapeville                 GA
132877   KNDJP3A56K7654703   Kia          SOUL                FORT MYERS                FL
132878   KNDJP3A56K7654751   Kia          SOUL                ORLANDO                   FL
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132879   KNDJP3A56K7654796   Kia          SOUL                Ventura                   CA
132880   KNDJP3A56K7654927   Kia          SOUL                Norwalk                   CA
132881   KNDJP3A56K7655589   Kia          SOUL                SOUTH SAN FRANC           CA
132882   KNDJP3A56K7655737   Kia          SOUL                San Diego                 CA
132883   KNDJP3A56K7656175   Kia          SOUL                Stockton                  CA
132884   KNDJP3A56K7656337   Kia          SOUL                Sacramento                CA
132885   KNDJP3A56K7660596   Kia          SOUL                SACRAMENTO                CA
132886   KNDJP3A56K7660906   Kia          SOUL                ORLANDO                   FL
132887   KNDJP3A56K7660968   Kia          SOUL                PHILADELPHIA              PA
132888   KNDJP3A56K7660971   Kia          SOUL                FORT MYERS                FL
132889   KNDJP3A56K7661005   Kia          SOUL                ATLANTA                   GA
132890   KNDJP3A56K7661084   Kia          SOUL                DANIA BEACH               FL
132891   KNDJP3A56K7661134   Kia          SOUL                Norwalk                   CA
132892   KNDJP3A56K7661568   Kia          SOUL                TAMPA                     FL
132893   KNDJP3A56K7661585   Kia          SOUL                Chicago                   IL
132894   KNDJP3A56K7661649   Kia          SOUL                Sarasota                  FL
132895   KNDJP3A56K7661702   Kia          SOUL                Fort Lauderdale           FL
132896   KNDJP3A56K7661831   Kia          SOUL                TUCSON                    AZ
132897   KNDJP3A56K7662204   Kia          SOUL                Dallas                    TX
132898   KNDJP3A56K7662249   Kia          SOUL                SAN JOSE                  CA
132899   KNDJP3A56K7662493   Kia          SOUL                JACKSONVILLE              FL
132900   KNDJP3A56K7663384   Kia          SOUL                Winston‐Salem             NC
132901   KNDJP3A56K7663630   Kia          SOUL                CHARLESTON                WV
132902   KNDJP3A56K7663692   Kia          SOUL                FORT MYERS                FL
132903   KNDJP3A56K7663711   Kia          SOUL                FORT MYERS                FL
132904   KNDJP3A56K7664406   Kia          SOUL                MIAMI                     FL
132905   KNDJP3A56K7664437   Kia          SOUL                TAMPA                     FL
132906   KNDJP3A56K7664468   Kia          SOUL                MILWAUKEE                 WI
132907   KNDJP3A56K7664504   Kia          SOUL                MIAMI                     FL
132908   KNDJP3A56K7664521   Kia          SOUL                Richmond                  VA
132909   KNDJP3A56K7664924   Kia          SOUL                TUCSON                    AZ
132910   KNDJP3A56K7665006   Kia          SOUL                AUSTIN                    TX
132911   KNDJP3A56K7665149   Kia          SOUL                PASADENA                  CA
132912   KNDJP3A56K7665460   Kia          SOUL                TAMPA                     FL
132913   KNDJP3A56K7666012   Kia          SOUL                FORT LAUDERDALE           FL
132914   KNDJP3A56K7666785   Kia          SOUL                CENTRAL DIST OFFC         OK
132915   KNDJP3A56K7666818   Kia          SOUL                Nashville                 TN
132916   KNDJP3A56K7669282   Kia          SOUL                ORLANDO                   FL
132917   KNDJP3A56K7672361   Kia          SOUL                Atlanta                   GA
132918   KNDJP3A56K7678354   Kia          SOUL                Portland                  OR
132919   KNDJP3A56K7678788   Kia          SOUL                ORLANDO                   FL
132920   KNDJP3A56K7679018   Kia          SOUL                Kansas City               MO
132921   KNDJP3A56K7681545   Kia          SOUL                Kent                      WA
132922   KNDJP3A56K7689399   Kia          SOUL                TAMPA                     FL
132923   KNDJP3A56K7908538   Kia          SOUL                SARASOTA                  FL
132924   KNDJP3A56K7908569   Kia          SOUL                PHILADELPHIA              PA
132925   KNDJP3A56K7908586   Kia          SOUL                Hebron                    KY
132926   KNDJP3A56K7908605   Kia          SOUL                FORT MYERS                FL
132927   KNDJP3A56K7908698   Kia          SOUL                NEWARK                    NJ
132928   KNDJP3A56K7909074   Kia          SOUL                JACKSONVILLE              FL
132929   KNDJP3A56K7910354   Kia          SOUL                Coraopolis                PA
132930   KNDJP3A56K7910368   Kia          SOUL                DENVER                    CO
132931   KNDJP3A56K7910452   Kia          SOUL                WARWICK                   RI
132932   KNDJP3A56K7910533   Kia          SOUL                SAN JOSE                  CA
132933   KNDJP3A56K7910645   Kia          SOUL                SANTA ANA                 CA
132934   KNDJP3A56K7910676   Kia          SOUL                SARASOTA                  FL
132935   KNDJP3A56K7913920   Kia          SOUL                ORLANDO                   FL
132936   KNDJP3A56K7913965   Kia          SOUL                Charlotte                 NC
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132937   KNDJP3A56K7916008   Kia          SOUL                TAMPA                     FL
132938   KNDJP3A56K7918180   Kia          SOUL                DAYTONA BEACH             FL
132939   KNDJP3A56K7918342   Kia          SOUL                MIAMI                     FL
132940   KNDJP3A57H7413161   Kia          SOUL                SAN DIEGO                 CA
132941   KNDJP3A57H7422118   Kia          SOUL                NORTH PAC                 CA
132942   KNDJP3A57H7423172   Kia          SOUL                North Las Vegas           NV
132943   KNDJP3A57H7423480   Kia          SOUL                Chicago                   IL
132944   KNDJP3A57H7430753   Kia          SOUL                Elkridge                  MD
132945   KNDJP3A57H7445897   Kia          SOUL                FAYETTEVILLE              GA
132946   KNDJP3A57H7447391   Kia          SOUL                Fredericksburg            VA
132947   KNDJP3A57H7460805   Kia          SOUL                STERLING                  VA
132948   KNDJP3A57H7476678   Kia          SOUL                Las Vegas                 NV
132949   KNDJP3A57H7477281   Kia          SOUL                Rock Hill                 SC
132950   KNDJP3A57H7478575   Kia          SOUL                North Dighton             MA
132951   KNDJP3A57H7490144   Kia          SOUL                HANOVER                   MD
132952   KNDJP3A57H7499037   Kia          SOUL                BOSTON                    MA
132953   KNDJP3A57H7499040   Kia          SOUL                Cleveland                 OH
132954   KNDJP3A57H7500073   Kia          SOUL                Miami                     FL
132955   KNDJP3A57H7884646   Kia          SOUL                DARLINGTON                SC
132956   KNDJP3A57J7509927   Kia          SOUL                CHICAGO                   IL
132957   KNDJP3A57J7511550   Kia          SOUL                Orlando                   FL
132958   KNDJP3A57J7517641   Kia          SOUL                Atlanta                   GA
132959   KNDJP3A57J7526193   Kia          SOUL                SAN FRANCISCO             CA
132960   KNDJP3A57J7527540   Kia          SOUL                BURBANK                   CA
132961   KNDJP3A57J7528087   Kia          SOUL                BURBANK                   CA
132962   KNDJP3A57J7528817   Kia          SOUL                Torrance                  CA
132963   KNDJP3A57J7532673   Kia          SOUL                BURBANK                   CA
132964   KNDJP3A57J7536626   Kia          SOUL                SANTA ANA                 CA
132965   KNDJP3A57J7536870   Kia          SOUL                Detroit                   MI
132966   KNDJP3A57J7537002   Kia          SOUL                SALT LAKE CITY            UT
132967   KNDJP3A57J7537601   Kia          SOUL                BURBANK                   CA
132968   KNDJP3A57J7538215   Kia          SOUL                Marietta                  GA
132969   KNDJP3A57J7540711   Kia          SOUL                DES MOINES                IA
132970   KNDJP3A57J7541292   Kia          SOUL                HANOVER                   MD
132971   KNDJP3A57J7542409   Kia          SOUL                TRACY                     CA
132972   KNDJP3A57J7543494   Kia          SOUL                DALLAS                    TX
132973   KNDJP3A57J7544287   Kia          SOUL                SANTA ANA                 CA
132974   KNDJP3A57J7544967   Kia          SOUL                OAKLAND                   CA
132975   KNDJP3A57J7546279   Kia          SOUL                LOS ANGELES               CA
132976   KNDJP3A57J7549540   Kia          SOUL                BURBANK                   CA
132977   KNDJP3A57J7550350   Kia          SOUL                BURBANK                   CA
132978   KNDJP3A57J7550364   Kia          SOUL                BURBANK                   CA
132979   KNDJP3A57J7550445   Kia          SOUL                South San Franc           CA
132980   KNDJP3A57J7550705   Kia          SOUL                N. Palm Beach             FL
132981   KNDJP3A57J7550736   Kia          SOUL                Stone Mountain            GA
132982   KNDJP3A57J7551952   Kia          SOUL                BURBANK                   CA
132983   KNDJP3A57J7554060   Kia          SOUL                DAYTONA BEACH             FL
132984   KNDJP3A57J7556083   Kia          SOUL                SAN FRANCISCO             CA
132985   KNDJP3A57J7556200   Kia          SOUL                PHILADELPHIA              PA
132986   KNDJP3A57J7556830   Kia          SOUL                SAN FRANCISCO             CA
132987   KNDJP3A57J7557122   Kia          SOUL                Greer                     SC
132988   KNDJP3A57J7557167   Kia          SOUL                BURBANK                   CA
132989   KNDJP3A57J7557203   Kia          SOUL                LOS ANGELES               CA
132990   KNDJP3A57J7557735   Kia          SOUL                NORTH PAC                 CA
132991   KNDJP3A57J7557783   Kia          SOUL                NORTH PAC                 CA
132992   KNDJP3A57J7558738   Kia          SOUL                LAS VEGAS                 NV
132993   KNDJP3A57J7558965   Kia          SOUL                Davie                     FL
132994   KNDJP3A57J7559274   Kia          SOUL                NORWALK                   CA
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132995   KNDJP3A57J7559534   Kia          SOUL                FORT LAUDERDALE           FL
132996   KNDJP3A57J7559968   Kia          SOUL                Tampa                     FL
132997   KNDJP3A57J7560912   Kia          SOUL                HANOVER                   MD
132998   KNDJP3A57J7561946   Kia          SOUL                BURBANK                   CA
132999   KNDJP3A57J7562045   Kia          SOUL                Miami                     FL
133000   KNDJP3A57J7562157   Kia          SOUL                BURBANK                   CA
133001   KNDJP3A57J7563325   Kia          SOUL                HOUSTON                   TX
133002   KNDJP3A57J7563762   Kia          SOUL                North Dighton             MA
133003   KNDJP3A57J7564667   Kia          SOUL                OMAHA                     NE
133004   KNDJP3A57J7565141   Kia          SOUL                TAMPA                     US
133005   KNDJP3A57J7566399   Kia          SOUL                HANOVER                   MD
133006   KNDJP3A57J7567682   Kia          SOUL                NORTH PAC                 CA
133007   KNDJP3A57J7567875   Kia          SOUL                Marietta                  GA
133008   KNDJP3A57J7568394   Kia          SOUL                Elkridge                  MD
133009   KNDJP3A57J7568525   Kia          SOUL                SANTA ANA                 CA
133010   KNDJP3A57J7569433   Kia          SOUL                SAN ANTONIO               TX
133011   KNDJP3A57J7569867   Kia          SOUL                Manheim                   PA
133012   KNDJP3A57J7570758   Kia          SOUL                BURBANK                   CA
133013   KNDJP3A57J7571425   Kia          SOUL                North Las Vegas           NV
133014   KNDJP3A57J7571747   Kia          SOUL                North Las Vegas           NV
133015   KNDJP3A57J7571795   Kia          SOUL                Englewood                 CO
133016   KNDJP3A57J7572011   Kia          SOUL                LAS VEGAS                 NV
133017   KNDJP3A57J7572347   Kia          SOUL                LAS VEGAS                 NV
133018   KNDJP3A57J7572607   Kia          SOUL                Atlanta                   GA
133019   KNDJP3A57J7572624   Kia          SOUL                Atlanta                   GA
133020   KNDJP3A57J7572803   Kia          SOUL                LAS VEGAS                 NV
133021   KNDJP3A57J7573790   Kia          SOUL                PICO RIVERA               CA
133022   KNDJP3A57J7574633   Kia          SOUL                Austin                    TX
133023   KNDJP3A57J7577788   Kia          SOUL                BURBANK                   CA
133024   KNDJP3A57J7587110   Kia          SOUL                Stone Mountain            GA
133025   KNDJP3A57J7587494   Kia          SOUL                Marietta                  GA
133026   KNDJP3A57J7592002   Kia          SOUL                Miami                     FL
133027   KNDJP3A57J7593344   Kia          SOUL                Smithtown                 NY
133028   KNDJP3A57J7593733   Kia          SOUL                DALLAS                    TX
133029   KNDJP3A57J7594297   Kia          SOUL                Atlanta                   GA
133030   KNDJP3A57J7594753   Kia          SOUL                Nashville                 TN
133031   KNDJP3A57J7595322   Kia          SOUL                BURBANK                   CA
133032   KNDJP3A57J7596096   Kia          SOUL                NORTH PAC                 CA
133033   KNDJP3A57J7596518   Kia          SOUL                Statesville               NC
133034   KNDJP3A57J7596907   Kia          SOUL                Rio Linda                 CA
133035   KNDJP3A57J7598169   Kia          SOUL                NORTH PAC                 CA
133036   KNDJP3A57J7598558   Kia          SOUL                Bensalem                  PA
133037   KNDJP3A57J7599340   Kia          SOUL                TAMPA                     FL
133038   KNDJP3A57J7599631   Kia          SOUL                PHOENIX                   AZ
133039   KNDJP3A57J7600244   Kia          SOUL                Orlando                   FL
133040   KNDJP3A57J7601703   Kia          SOUL                BURLINGAME                CA
133041   KNDJP3A57J7602964   Kia          SOUL                AUSTIN                    TX
133042   KNDJP3A57J7603354   Kia          SOUL                Dallas                    TX
133043   KNDJP3A57J7603614   Kia          SOUL                HOUSTON                   TX
133044   KNDJP3A57J7604021   Kia          SOUL                Atlanta                   GA
133045   KNDJP3A57J7604729   Kia          SOUL                ORLANDO                   FL
133046   KNDJP3A57J7604925   Kia          SOUL                Tampa                     FL
133047   KNDJP3A57J7607100   Kia          SOUL                Atlanta                   GA
133048   KNDJP3A57J7609767   Kia          SOUL                ORLANDO                   FL
133049   KNDJP3A57J7611079   Kia          SOUL                SALT LAKE CITY            UT
133050   KNDJP3A57J7611986   Kia          SOUL                BURBANK                   CA
133051   KNDJP3A57J7612054   Kia          SOUL                ORLANDO                   FL
133052   KNDJP3A57J7612183   Kia          SOUL                DES MOINES                IA
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133053   KNDJP3A57J7616928   Kia          SOUL                PORTLAND                  OR
133054   KNDJP3A57J7618873   Kia          SOUL                NORTH PAC                 CA
133055   KNDJP3A57J7619196   Kia          SOUL                LOS ANGELES               CA
133056   KNDJP3A57J7624382   Kia          SOUL                North Las Vegas           NV
133057   KNDJP3A57J7893224   Kia          SOUL                NORFOLK                   VA
133058   KNDJP3A57J7893336   Kia          SOUL                BURBANK                   CA
133059   KNDJP3A57J7893532   Kia          SOUL                Tampa                     FL
133060   KNDJP3A57J7894860   Kia          SOUL                Costa Mesa                CA
133061   KNDJP3A57J7895023   Kia          SOUL                NORTH PAC                 CA
133062   KNDJP3A57J7897287   Kia          SOUL                COLLEGE PARK              GA
133063   KNDJP3A57J7897726   Kia          SOUL                Torrance                  CA
133064   KNDJP3A57J7898181   Kia          SOUL                CHICAGO                   IL
133065   KNDJP3A57J7898228   Kia          SOUL                Atlanta                   GA
133066   KNDJP3A57J7898262   Kia          SOUL                DALLAS                    TX
133067   KNDJP3A57J7898326   Kia          SOUL                SAN FRANCISCO             CA
133068   KNDJP3A57J7898472   Kia          SOUL                CHARLOTTE                 US
133069   KNDJP3A57J7898584   Kia          SOUL                Culver City               CA
133070   KNDJP3A57J7899301   Kia          SOUL                LOS ANGELES               CA
133071   KNDJP3A57J7900933   Kia          SOUL                DENVER                    CO
133072   KNDJP3A57J7901452   Kia          SOUL                CHICAGO                   IL
133073   KNDJP3A57J7901757   Kia          SOUL                WEST CENTRAL DEALE        CO
133074   KNDJP3A57J7902293   Kia          SOUL                NORTH PAC                 CA
133075   KNDJP3A57J7902312   Kia          SOUL                BURBANK                   CA
133076   KNDJP3A57J7904240   Kia          SOUL                Las Vegas                 NV
133077   KNDJP3A57J7906988   Kia          SOUL                Fresno                    CA
133078   KNDJP3A57J7907140   Kia          SOUL                Tolleson                  AZ
133079   KNDJP3A57K7001474   Kia          SOUL                Mira Loma                 CA
133080   KNDJP3A57K7004200   Kia          SOUL                EWA BEACH                 HI
133081   KNDJP3A57K7008019   Kia          SOUL                Riverside                 CA
133082   KNDJP3A57K7012832   Kia          SOUL                Davie                     FL
133083   KNDJP3A57K7018405   Kia          SOUL                Davie                     FL
133084   KNDJP3A57K7021451   Kia          SOUL                SARASOTA                  FL
133085   KNDJP3A57K7630510   Kia          SOUL                KNOXVILLE                 TN
133086   KNDJP3A57K7630684   Kia          SOUL                ORLANDO                   FL
133087   KNDJP3A57K7630930   Kia          SOUL                Coraopolis                PA
133088   KNDJP3A57K7631253   Kia          SOUL                CHARLESTON                WV
133089   KNDJP3A57K7631530   Kia          SOUL                N. Las Vegas              NV
133090   KNDJP3A57K7632015   Kia          SOUL                ORLANDO                   FL
133091   KNDJP3A57K7632841   Kia          SOUL                FORT LAUDERDALE           FL
133092   KNDJP3A57K7633424   Kia          SOUL                Davie                     FL
133093   KNDJP3A57K7633441   Kia          SOUL                Windsor Locks             CT
133094   KNDJP3A57K7633567   Kia          SOUL                NEWARK                    NJ
133095   KNDJP3A57K7633732   Kia          SOUL                ORLANDO                   FL
133096   KNDJP3A57K7635433   Kia          SOUL                Miami                     FL
133097   KNDJP3A57K7636291   Kia          SOUL                LOS ANGELES               CA
133098   KNDJP3A57K7637523   Kia          SOUL                Live Oak                  TX
133099   KNDJP3A57K7638090   Kia          SOUL                BURBANK                   CA
133100   KNDJP3A57K7638672   Kia          SOUL                BURBANK                   CA
133101   KNDJP3A57K7638896   Kia          SOUL                BURBANK                   CA
133102   KNDJP3A57K7639921   Kia          SOUL                SAN ANTONIO               TX
133103   KNDJP3A57K7641300   Kia          SOUL                INDIANAPOLIS              IN
133104   KNDJP3A57K7645377   Kia          SOUL                KENNER                    LA
133105   KNDJP3A57K7648165   Kia          SOUL                TAMPA                     FL
133106   KNDJP3A57K7648747   Kia          SOUL                LOS ANGELES               CA
133107   KNDJP3A57K7648862   Kia          SOUL                SAINT LOUIS               MO
133108   KNDJP3A57K7648926   Kia          SOUL                Dallas                    TX
133109   KNDJP3A57K7653138   Kia          SOUL                LOS ANGELES               CA
133110   KNDJP3A57K7653429   Kia          SOUL                Dallas                    TX
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133111   KNDJP3A57K7653513   Kia          SOUL                SALT LAKE CITY            US
133112   KNDJP3A57K7653737   Kia          SOUL                San Diego                 CA
133113   KNDJP3A57K7653947   Kia          SOUL                COLUMBIA                  SC
133114   KNDJP3A57K7654130   Kia          SOUL                PHOENIX                   AZ
133115   KNDJP3A57K7654418   Kia          SOUL                SALT LAKE CITY            US
133116   KNDJP3A57K7654466   Kia          SOUL                LAS VEGAS                 NV
133117   KNDJP3A57K7654547   Kia          SOUL                Portland                  OR
133118   KNDJP3A57K7654998   Kia          SOUL                SAN JOSE                  CA
133119   KNDJP3A57K7655620   Kia          SOUL                NORWALK                   CA
133120   KNDJP3A57K7655634   Kia          SOUL                SEA TAC                   WA
133121   KNDJP3A57K7655732   Kia          SOUL                NORTH PAC                 CA
133122   KNDJP3A57K7655813   Kia          SOUL                ORLANDO                   FL
133123   KNDJP3A57K7656069   Kia          SOUL                BURBANK                   CA
133124   KNDJP3A57K7656735   Kia          SOUL                Dallas                    TX
133125   KNDJP3A57K7657674   Kia          SOUL                Dallas                    TX
133126   KNDJP3A57K7660428   Kia          SOUL                CHANDLER                  AZ
133127   KNDJP3A57K7660431   Kia          SOUL                LOS ANGELES               CA
133128   KNDJP3A57K7660445   Kia          SOUL                BURBANK                   CA
133129   KNDJP3A57K7660526   Kia          SOUL                FORT LAUDERDALE           FL
133130   KNDJP3A57K7660929   Kia          SOUL                PHOENIX                   AZ
133131   KNDJP3A57K7661045   Kia          SOUL                FORT MYERS                FL
133132   KNDJP3A57K7661837   Kia          SOUL                Kent                      WA
133133   KNDJP3A57K7662079   Kia          SOUL                Albuquerque               NM
133134   KNDJP3A57K7662230   Kia          SOUL                FORT LAUDERDALE           FL
133135   KNDJP3A57K7662289   Kia          SOUL                TAMPA                     FL
133136   KNDJP3A57K7662342   Kia          SOUL                MIAMI                     FL
133137   KNDJP3A57K7662471   Kia          SOUL                Phoenix                   AZ
133138   KNDJP3A57K7662938   Kia          SOUL                ORLANDO                   FL
133139   KNDJP3A57K7662955   Kia          SOUL                STERLING                  VA
133140   KNDJP3A57K7663085   Kia          SOUL                FORT MYERS                FL
133141   KNDJP3A57K7663345   Kia          SOUL                Dallas                    TX
133142   KNDJP3A57K7663460   Kia          SOUL                SACRAMENTO                CA
133143   KNDJP3A57K7663684   Kia          SOUL                DETROIT                   MI
133144   KNDJP3A57K7663703   Kia          SOUL                ROCHESTER                 NY
133145   KNDJP3A57K7663748   Kia          SOUL                FORT LAUDERDALE           FL
133146   KNDJP3A57K7664124   Kia          SOUL                SARASOTA                  FL
133147   KNDJP3A57K7664141   Kia          SOUL                OAKLAND                   CA
133148   KNDJP3A57K7664186   Kia          SOUL                ONTARIO                   CA
133149   KNDJP3A57K7664351   Kia          SOUL                WEST PALM BEACH           FL
133150   KNDJP3A57K7664396   Kia          SOUL                North Dighton             MA
133151   KNDJP3A57K7664401   Kia          SOUL                Matteson                  IL
133152   KNDJP3A57K7664625   Kia          SOUL                TAMPA                     FL
133153   KNDJP3A57K7665516   Kia          SOUL                TAMPA                     FL
133154   KNDJP3A57K7666018   Kia          SOUL                BURBANK                   CA
133155   KNDJP3A57K7666309   Kia          SOUL                Chicago                   IL
133156   KNDJP3A57K7666794   Kia          SOUL                SARASOTA                  FL
133157   KNDJP3A57K7678346   Kia          SOUL                Burien                    WA
133158   KNDJP3A57K7679433   Kia          SOUL                FORT MYERS                FL
133159   KNDJP3A57K7694370   Kia          SOUL                PITTSBURGH                PA
133160   KNDJP3A57K7696460   Kia          SOUL                ORLANDO                   FL
133161   KNDJP3A57K7696961   Kia          SOUL                Marietta                  GA
133162   KNDJP3A57K7697950   Kia          SOUL                MIAMI                     FL
133163   KNDJP3A57K7908306   Kia          SOUL                Estero                    FL
133164   KNDJP3A57K7908676   Kia          SOUL                TAMPA                     FL
133165   KNDJP3A57K7909021   Kia          SOUL                Winston‐Salem             NC
133166   KNDJP3A57K7909052   Kia          SOUL                FORT LAUDERDALE           FL
133167   KNDJP3A57K7910086   Kia          SOUL                SAN JOSE                  CA
133168   KNDJP3A57K7910458   Kia          SOUL                PHOENIX                   AZ
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133169   KNDJP3A57K7910900   Kia          SOUL                RALIEGH                   NC
133170   KNDJP3A57K7911092   Kia          SOUL                Lake Elsinore             CA
133171   KNDJP3A57K7912100   Kia          SOUL                OKLAHOMA CITY             OK
133172   KNDJP3A57K7912856   Kia          SOUL                St. Louis                 MO
133173   KNDJP3A57K7913778   Kia          SOUL                Alcoa                     TN
133174   KNDJP3A57K7913828   Kia          SOUL                ASHEVILLE                 NC
133175   KNDJP3A57K7913943   Kia          SOUL                Detroit                   MI
133176   KNDJP3A57K7914090   Kia          SOUL                Killeen                   TX
133177   KNDJP3A57K7914526   Kia          SOUL                BURBANK                   CA
133178   KNDJP3A57K7918284   Kia          SOUL                Davie                     FL
133179   KNDJP3A58G7346150   Kia          SOUL                Euless                    TX
133180   KNDJP3A58H7410074   Kia          SOUL                BURBANK                   CA
133181   KNDJP3A58H7410320   Kia          SOUL                Elkridge                  MD
133182   KNDJP3A58H7410463   Kia          SOUL                BURBANK                   CA
133183   KNDJP3A58H7410639   Kia          SOUL                SAN DIEGO                 CA
133184   KNDJP3A58H7418935   Kia          SOUL                DAYTONA BEACH             FL
133185   KNDJP3A58H7443608   Kia          SOUL                HAPERVILLE                US
133186   KNDJP3A58H7449229   Kia          SOUL                ANNANDALE                 VA
133187   KNDJP3A58H7477242   Kia          SOUL                Tolleson                  AZ
133188   KNDJP3A58H7477709   Kia          SOUL                PHILADELPHIA              PA
133189   KNDJP3A58H7478083   Kia          SOUL                HANOVER                   MD
133190   KNDJP3A58H7478598   Kia          SOUL                HANOVER                   MD
133191   KNDJP3A58H7492484   Kia          SOUL                DAYTONA BEACH             FL
133192   KNDJP3A58H7492873   Kia          SOUL                FLORIDA DEALER DIR        FL
133193   KNDJP3A58H7493635   Kia          SOUL                Manheim                   PA
133194   KNDJP3A58H7498303   Kia          SOUL                PHILADELPHIA              PA
133195   KNDJP3A58H7499015   Kia          SOUL                Orlando                   FL
133196   KNDJP3A58H7499449   Kia          SOUL                Fredericksburg            VA
133197   KNDJP3A58H7880704   Kia          SOUL                CHICAGO                   IL
133198   KNDJP3A58J7509516   Kia          SOUL                BURBANK                   CA
133199   KNDJP3A58J7511394   Kia          SOUL                LOS ANGELES               CA
133200   KNDJP3A58J7512688   Kia          SOUL                CHICAGO                   IL
133201   KNDJP3A58J7512948   Kia          SOUL                DAYTONA BEACH             FL
133202   KNDJP3A58J7513081   Kia          SOUL                STERLING                  VA
133203   KNDJP3A58J7526283   Kia          SOUL                Santa Clara               CA
133204   KNDJP3A58J7526526   Kia          SOUL                NORTH PAC                 CA
133205   KNDJP3A58J7527286   Kia          SOUL                BURBANK                   CA
133206   KNDJP3A58J7527546   Kia          SOUL                TRACY                     CA
133207   KNDJP3A58J7528731   Kia          SOUL                NORTH PAC                 CA
133208   KNDJP3A58J7530141   Kia          SOUL                CHICAGO                   IL
133209   KNDJP3A58J7531712   Kia          SOUL                BURBANK                   CA
133210   KNDJP3A58J7532004   Kia          SOUL                ROSEVILLE                 CA
133211   KNDJP3A58J7541267   Kia          SOUL                Rock Hill                 SC
133212   KNDJP3A58J7541303   Kia          SOUL                SPRINGFIELD               VA
133213   KNDJP3A58J7543200   Kia          SOUL                Stone Mountain            GA
133214   KNDJP3A58J7543729   Kia          SOUL                albuquerque               nm
133215   KNDJP3A58J7546713   Kia          SOUL                CHICAGO                   IL
133216   KNDJP3A58J7546985   Kia          SOUL                Tampa                     FL
133217   KNDJP3A58J7549787   Kia          SOUL                BURBANK                   CA
133218   KNDJP3A58J7550258   Kia          SOUL                MEDINA                    OH
133219   KNDJP3A58J7550437   Kia          SOUL                SANTA ANA                 CA
133220   KNDJP3A58J7551362   Kia          SOUL                CHICAGO                   IL
133221   KNDJP3A58J7552575   Kia          SOUL                NEW ENGLAND DEALER        MA
133222   KNDJP3A58J7555833   Kia          SOUL                ANNANDALE                 VA
133223   KNDJP3A58J7556027   Kia          SOUL                LOS ANGELES               CA
133224   KNDJP3A58J7556089   Kia          SOUL                Los Angeles               CA
133225   KNDJP3A58J7556917   Kia          SOUL                Irving                    TX
133226   KNDJP3A58J7557050   Kia          SOUL                LOS ANGELES               CA
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133227   KNDJP3A58J7557758   Kia          SOUL                NORTH PAC                 CA
133228   KNDJP3A58J7558960   Kia          SOUL                Massapequa                NY
133229   KNDJP3A58J7559056   Kia          SOUL                SACRAMENTO                CA
133230   KNDJP3A58J7559607   Kia          SOUL                Riverside                 CA
133231   KNDJP3A58J7560031   Kia          SOUL                BURBANK                   CA
133232   KNDJP3A58J7560398   Kia          SOUL                BURBANK                   CA
133233   KNDJP3A58J7567626   Kia          SOUL                Aurora                    CO
133234   KNDJP3A58J7567688   Kia          SOUL                CHICAGO                   IL
133235   KNDJP3A58J7567691   Kia          SOUL                CHARLOTTE                 NC
133236   KNDJP3A58J7567867   Kia          SOUL                Euless                    TX
133237   KNDJP3A58J7568002   Kia          SOUL                Tampa                     FL
133238   KNDJP3A58J7568064   Kia          SOUL                DAYTONA BEACH             FL
133239   KNDJP3A58J7568243   Kia          SOUL                Tolleson                  AZ
133240   KNDJP3A58J7568596   Kia          SOUL                Elkridge                  MD
133241   KNDJP3A58J7568999   Kia          SOUL                Manheim                   PA
133242   KNDJP3A58J7569280   Kia          SOUL                Stockton                  CA
133243   KNDJP3A58J7569361   Kia          SOUL                SAN ANTONIO               TX
133244   KNDJP3A58J7571188   Kia          SOUL                TAMPA                     FL
133245   KNDJP3A58J7571420   Kia          SOUL                Cleveland                 OH
133246   KNDJP3A58J7572356   Kia          SOUL                Fredericksburg            VA
133247   KNDJP3A58J7573698   Kia          SOUL                SAN ANTONIO               TX
133248   KNDJP3A58J7573989   Kia          SOUL                SEATTLE                   WA
133249   KNDJP3A58J7574074   Kia          SOUL                SANTA ANA                 CA
133250   KNDJP3A58J7574317   Kia          SOUL                Fredericksburg            VA
133251   KNDJP3A58J7574480   Kia          SOUL                Tampa                     FL
133252   KNDJP3A58J7574723   Kia          SOUL                DAYTONA BEACH             FL
133253   KNDJP3A58J7575323   Kia          SOUL                Chicago                   IL
133254   KNDJP3A58J7576102   Kia          SOUL                Honolulu                  HI
133255   KNDJP3A58J7576133   Kia          SOUL                DANIA BEACH               FL
133256   KNDJP3A58J7576231   Kia          SOUL                HOUSTON                   TX
133257   KNDJP3A58J7576374   Kia          SOUL                NORTH PAC                 CA
133258   KNDJP3A58J7576701   Kia          SOUL                DAYTONA BEACH             FL
133259   KNDJP3A58J7576987   Kia          SOUL                BURBANK                   CA
133260   KNDJP3A58J7577458   Kia          SOUL                BURBANK                   CA
133261   KNDJP3A58J7579355   Kia          SOUL                Atlanta                   GA
133262   KNDJP3A58J7580070   Kia          SOUL                ROSEVILLE                 CA
133263   KNDJP3A58J7580666   Kia          SOUL                Lake Elsinore             CA
133264   KNDJP3A58J7589707   Kia          SOUL                SAN JOSE                  CA
133265   KNDJP3A58J7593837   Kia          SOUL                Irving                    TX
133266   KNDJP3A58J7594096   Kia          SOUL                Chandler                  AZ
133267   KNDJP3A58J7594261   Kia          SOUL                BURBANK                   CA
133268   KNDJP3A58J7594518   Kia          SOUL                Phoenix                   AZ
133269   KNDJP3A58J7594986   Kia          SOUL                Irving                    TX
133270   KNDJP3A58J7595328   Kia          SOUL                BURBANK                   CA
133271   KNDJP3A58J7595698   Kia          SOUL                North Las Vegas           NV
133272   KNDJP3A58J7596415   Kia          SOUL                BURBANK                   CA
133273   KNDJP3A58J7597404   Kia          SOUL                Phoenix                   AZ
133274   KNDJP3A58J7599301   Kia          SOUL                WEST PALM BEACH           FL
133275   KNDJP3A58J7599475   Kia          SOUL                PHOENIX                   AZ
133276   KNDJP3A58J7599878   Kia          SOUL                BURBANK                   CA
133277   KNDJP3A58J7600401   Kia          SOUL                NORTH HOLLYWOOD           CA
133278   KNDJP3A58J7600544   Kia          SOUL                FORT MYERS                FL
133279   KNDJP3A58J7601970   Kia          SOUL                COLLEGE PARK              GA
133280   KNDJP3A58J7602150   Kia          SOUL                Teterboro                 NJ
133281   KNDJP3A58J7602780   Kia          SOUL                SOUTHWEST DEALER D        TX
133282   KNDJP3A58J7603590   Kia          SOUL                CHARLOTTE                 NC
133283   KNDJP3A58J7603668   Kia          SOUL                HOUSTON                   TX
133284   KNDJP3A58J7603900   Kia          SOUL                NORTH PAC                 CA
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133285   KNDJP3A58J7605436   Kia          SOUL                MARIETTA                  GA
133286   KNDJP3A58J7609809   Kia          SOUL                Fontana                   CA
133287   KNDJP3A58J7611740   Kia          SOUL                TAMPA                     FL
133288   KNDJP3A58J7612256   Kia          SOUL                Downey                    CA
133289   KNDJP3A58J7612838   Kia          SOUL                PHOENIX                   AZ
133290   KNDJP3A58J7624830   Kia          SOUL                LAS VEGAS                 NV
133291   KNDJP3A58J7891059   Kia          SOUL                BURBANK                   CA
133292   KNDJP3A58J7893393   Kia          SOUL                North Las Vegas           NV
133293   KNDJP3A58J7893409   Kia          SOUL                Las Vegas                 NV
133294   KNDJP3A58J7894768   Kia          SOUL                LOS ANGELES               CA
133295   KNDJP3A58J7894849   Kia          SOUL                LOS ANGELES               CA
133296   KNDJP3A58J7898187   Kia          SOUL                Dallas                    TX
133297   KNDJP3A58J7898514   Kia          SOUL                N. Palm Beach             FL
133298   KNDJP3A58J7898660   Kia          SOUL                Pompano Beach             FL
133299   KNDJP3A58J7899307   Kia          SOUL                SANTA ANA                 CA
133300   KNDJP3A58J7900911   Kia          SOUL                Nashville                 TN
133301   KNDJP3A58J7901010   Kia          SOUL                Manheim                   PA
133302   KNDJP3A58J7901119   Kia          SOUL                NEW YORK DEALER DI        NJ
133303   KNDJP3A58J7901251   Kia          SOUL                Florissant                MO
133304   KNDJP3A58J7901699   Kia          SOUL                Elkridge                  MD
133305   KNDJP3A58J7902108   Kia          SOUL                SAN JOSE                  CA
133306   KNDJP3A58J7902318   Kia          SOUL                LOS ANGELES               CA
133307   KNDJP3A58J7902612   Kia          SOUL                DALLAS                    TX
133308   KNDJP3A58J7902996   Kia          SOUL                North Las Vegas           NV
133309   KNDJP3A58J7904263   Kia          SOUL                Salt Lake City            UT
133310   KNDJP3A58J7904361   Kia          SOUL                Englewood                 CO
133311   KNDJP3A58J7904425   Kia          SOUL                MIAMI                     FL
133312   KNDJP3A58J7905235   Kia          SOUL                Baltimore                 MD
133313   KNDJP3A58J7907325   Kia          SOUL                BURBANK                   CA
133314   KNDJP3A58K7005047   Kia          SOUL                Davie                     FL
133315   KNDJP3A58K7628541   Kia          SOUL                JACKSONVILLE              FL
133316   KNDJP3A58K7628832   Kia          SOUL                ORLANDO                   FL
133317   KNDJP3A58K7628975   Kia          SOUL                TAMPA                     FL
133318   KNDJP3A58K7629429   Kia          SOUL                ORLANDO                   FL
133319   KNDJP3A58K7630192   Kia          SOUL                WHITE PLAINS              NY
133320   KNDJP3A58K7630371   Kia          SOUL                WARWICK                   RI
133321   KNDJP3A58K7630550   Kia          SOUL                CLARKSVILLE               IN
133322   KNDJP3A58K7630631   Kia          SOUL                FORT LAUDERDALE           FL
133323   KNDJP3A58K7630905   Kia          SOUL                Cincinnati                OH
133324   KNDJP3A58K7630919   Kia          SOUL                Newark                    NJ
133325   KNDJP3A58K7631276   Kia          SOUL                TAMPA                     FL
133326   KNDJP3A58K7631732   Kia          SOUL                MIAMI                     FL
133327   KNDJP3A58K7631777   Kia          SOUL                ATLANTA                   GA
133328   KNDJP3A58K7632069   Kia          SOUL                WEST PALM BEACH           FL
133329   KNDJP3A58K7632315   Kia          SOUL                ORLANDO                   FL
133330   KNDJP3A58K7632833   Kia          SOUL                BALTIMORE                 MD
133331   KNDJP3A58K7633447   Kia          SOUL                Maple Grove               MN
133332   KNDJP3A58K7636347   Kia          SOUL                Houston                   TX
133333   KNDJP3A58K7636428   Kia          SOUL                BURBANK                   CA
133334   KNDJP3A58K7637787   Kia          SOUL                CHICAGO                   IL
133335   KNDJP3A58K7638213   Kia          SOUL                MARIETTA                  GA
133336   KNDJP3A58K7638700   Kia          SOUL                LOS ANGELES AP            CA
133337   KNDJP3A58K7641094   Kia          SOUL                S. San Francisc           CA
133338   KNDJP3A58K7642181   Kia          SOUL                DES MOINES                IA
133339   KNDJP3A58K7643640   Kia          SOUL                ONTARIO                   CA
133340   KNDJP3A58K7645551   Kia          SOUL                Denver                    CO
133341   KNDJP3A58K7645985   Kia          SOUL                BURBANK                   CA
133342   KNDJP3A58K7648109   Kia          SOUL                Manheim                   PA
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133343   KNDJP3A58K7648255   Kia          SOUL                Florissant                MO
133344   KNDJP3A58K7648594   Kia          SOUL                Estero                    FL
133345   KNDJP3A58K7648742   Kia          SOUL                BURBANK                   CA
133346   KNDJP3A58K7649650   Kia          SOUL                JACKSONVILLE              FL
133347   KNDJP3A58K7649728   Kia          SOUL                HOUSTON                   TX
133348   KNDJP3A58K7649731   Kia          SOUL                San Antonio               TX
133349   KNDJP3A58K7650197   Kia          SOUL                SAN JOSE                  CA
133350   KNDJP3A58K7650510   Kia          SOUL                Kansas City               MO
133351   KNDJP3A58K7651060   Kia          SOUL                Conway                    AR
133352   KNDJP3A58K7652922   Kia          SOUL                SALT LAKE CITY            UT
133353   KNDJP3A58K7652998   Kia          SOUL                Warr Acres                OK
133354   KNDJP3A58K7653147   Kia          SOUL                JACKSON                   MS
133355   KNDJP3A58K7653195   Kia          SOUL                Las Vegas                 NV
133356   KNDJP3A58K7653505   Kia          SOUL                LAS VEGAS                 NV
133357   KNDJP3A58K7653522   Kia          SOUL                CLEVELAND                 OH
133358   KNDJP3A58K7653617   Kia          SOUL                Hapeville                 GA
133359   KNDJP3A58K7653620   Kia          SOUL                LOS ANGELES               CA
133360   KNDJP3A58K7653665   Kia          SOUL                FRESNO                    CA
133361   KNDJP3A58K7653746   Kia          SOUL                LOS ANGELES               CA
133362   KNDJP3A58K7653763   Kia          SOUL                LOS ANGELES               CA
133363   KNDJP3A58K7653813   Kia          SOUL                PHOENIX                   AZ
133364   KNDJP3A58K7653942   Kia          SOUL                LOS ANGELES               CA
133365   KNDJP3A58K7654590   Kia          SOUL                Phoenix                   AZ
133366   KNDJP3A58K7654671   Kia          SOUL                SANTA ANA                 CA
133367   KNDJP3A58K7654864   Kia          SOUL                SAN ANTONIO               TX
133368   KNDJP3A58K7654976   Kia          SOUL                HONOLULU                  HI
133369   KNDJP3A58K7655738   Kia          SOUL                WOODLAND HILLS            CA
133370   KNDJP3A58K7655741   Kia          SOUL                TUCSON                    AZ
133371   KNDJP3A58K7660941   Kia          SOUL                ORLANDO                   FL
133372   KNDJP3A58K7660972   Kia          SOUL                FORT MYERS                FL
133373   KNDJP3A58K7661006   Kia          SOUL                FORT LAUDERDALE           FL
133374   KNDJP3A58K7661023   Kia          SOUL                WEST PALM BEACH           FL
133375   KNDJP3A58K7661121   Kia          SOUL                SAN DIEGO                 US
133376   KNDJP3A58K7662219   Kia          SOUL                TAMPA                     FL
133377   KNDJP3A58K7662463   Kia          SOUL                Tolleson                  AZ
133378   KNDJP3A58K7662947   Kia          SOUL                NORFOLK                   VA
133379   KNDJP3A58K7663094   Kia          SOUL                Atlanta                   GA
133380   KNDJP3A58K7663189   Kia          SOUL                Florissant                MO
133381   KNDJP3A58K7663371   Kia          SOUL                BIRMINGHAM                AL
133382   KNDJP3A58K7663631   Kia          SOUL                Florissant                MO
133383   KNDJP3A58K7663712   Kia          SOUL                ORLANDO                   FL
133384   KNDJP3A58K7663824   Kia          SOUL                TAMPA                     FL
133385   KNDJP3A58K7664133   Kia          SOUL                JACKSONVILLE              FL
133386   KNDJP3A58K7664181   Kia          SOUL                Tolleson                  AZ
133387   KNDJP3A58K7664455   Kia          SOUL                TAMPA                     FL
133388   KNDJP3A58K7664505   Kia          SOUL                ORLANDO                   FL
133389   KNDJP3A58K7664553   Kia          SOUL                FORT MYERS                FL
133390   KNDJP3A58K7664567   Kia          SOUL                Nashville                 TN
133391   KNDJP3A58K7664584   Kia          SOUL                DETROIT                   MI
133392   KNDJP3A58K7664620   Kia          SOUL                WEST PALM BEACH           FL
133393   KNDJP3A58K7664925   Kia          SOUL                OKLAHOMA CITY             OK
133394   KNDJP3A58K7665024   Kia          SOUL                Florissant                MO
133395   KNDJP3A58K7665315   Kia          SOUL                Atlanta                   GA
133396   KNDJP3A58K7665542   Kia          SOUL                Cleveland                 OH
133397   KNDJP3A58K7665637   Kia          SOUL                WEST PALM BEACH           FL
133398   KNDJP3A58K7665718   Kia          SOUL                Austell                   GA
133399   KNDJP3A58K7665914   Kia          SOUL                CENTRAL DIST OFFC         OK
133400   KNDJP3A58K7666030   Kia          SOUL                DALLAS                    TX
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133401   KNDJP3A58K7666772   Kia          SOUL                LAS VEGAS                 NV
133402   KNDJP3A58K7666786   Kia          SOUL                Dallas                    TX
133403   KNDJP3A58K7667971   Kia          SOUL                EWA BEACH                 HI
133404   KNDJP3A58K7669431   Kia          SOUL                Hebron                    KY
133405   KNDJP3A58K7677187   Kia          SOUL                San Antonio               TX
133406   KNDJP3A58K7678663   Kia          SOUL                Woodhaven                 MI
133407   KNDJP3A58K7679134   Kia          SOUL                North Dighton             MA
133408   KNDJP3A58K7679635   Kia          SOUL                MIAMI                     FL
133409   KNDJP3A58K7690828   Kia          SOUL                BUFFALO                   NY
133410   KNDJP3A58K7694832   Kia          SOUL                ORLANDO                   FL
133411   KNDJP3A58K7696385   Kia          SOUL                Stockton                  CA
133412   KNDJP3A58K7696709   Kia          SOUL                Newport Beach             CA
133413   KNDJP3A58K7699464   Kia          SOUL                Sacramento                CA
133414   KNDJP3A58K7908556   Kia          SOUL                Slidell                   LA
133415   KNDJP3A58K7909013   Kia          SOUL                TAMPA                     US
133416   KNDJP3A58K7910369   Kia          SOUL                ROSEVILLE                 CA
133417   KNDJP3A58K7910579   Kia          SOUL                SAN ANTONIO               TX
133418   KNDJP3A58K7910954   Kia          SOUL                LAS VEGAS                 NV
133419   KNDJP3A58K7912686   Kia          SOUL                Tolleson                  AZ
133420   KNDJP3A58K7913871   Kia          SOUL                JACKSONVILLE              FL
133421   KNDJP3A58K7913997   Kia          SOUL                Miami                     FL
133422   KNDJP3A58K7918469   Kia          SOUL                ORLANDO                   FL
133423   KNDJP3A58K7918486   Kia          SOUL                Fort Lauderdale           FL
133424   KNDJP3A59F7785498   Kia          SOUL                Miami                     FL
133425   KNDJP3A59H7420970   Kia          SOUL                HANOVER                   MD
133426   KNDJP3A59H7447960   Kia          SOUL                North Dighton             MA
133427   KNDJP3A59H7464452   Kia          SOUL                LOS ANGELES               CA
133428   KNDJP3A59H7469246   Kia          SOUL                NOTTINGHAM                MD
133429   KNDJP3A59H7477315   Kia          SOUL                North Dighton             MA
133430   KNDJP3A59H7478335   Kia          SOUL                Fort Lauderdale           FL
133431   KNDJP3A59H7478495   Kia          SOUL                NEWARK                    NJ
133432   KNDJP3A59H7478657   Kia          SOUL                DANIA BEACH               FL
133433   KNDJP3A59H7495300   Kia          SOUL                Orlando                   FL
133434   KNDJP3A59H7499234   Kia          SOUL                LAS VEGAS                 NV
133435   KNDJP3A59H7499489   Kia          SOUL                ORLANDO                   FL
133436   KNDJP3A59H7884597   Kia          SOUL                DAYTONA BEACH             FL
133437   KNDJP3A59H7884647   Kia          SOUL                MARIETTA                  GA
133438   KNDJP3A59J7509153   Kia          SOUL                Matteson                  IL
133439   KNDJP3A59J7509525   Kia          SOUL                Davie                     FL
133440   KNDJP3A59J7511789   Kia          SOUL                Fort Lauderdale           FL
133441   KNDJP3A59J7519505   Kia          SOUL                GLEN BURNIE               MD
133442   KNDJP3A59J7525756   Kia          SOUL                SAN FRANCISCO             CA
133443   KNDJP3A59J7527040   Kia          SOUL                Sacramento                CA
133444   KNDJP3A59J7527717   Kia          SOUL                SAN FRANCISCO             CA
133445   KNDJP3A59J7530858   Kia          SOUL                TRACY                     CA
133446   KNDJP3A59J7532397   Kia          SOUL                North Las Vegas           NV
133447   KNDJP3A59J7538345   Kia          SOUL                BURBANK                   CA
133448   KNDJP3A59J7539110   Kia          SOUL                STERLING                  VA
133449   KNDJP3A59J7539866   Kia          SOUL                Fredericksburg            VA
133450   KNDJP3A59J7541777   Kia          SOUL                Atlanta                   GA
133451   KNDJP3A59J7543061   Kia          SOUL                SAN DIEGO                 CA
133452   KNDJP3A59J7544999   Kia          SOUL                NORTH PAC                 CA
133453   KNDJP3A59J7545165   Kia          SOUL                North Las Vegas           NV
133454   KNDJP3A59J7545358   Kia          SOUL                PHILADELPHIA              PA
133455   KNDJP3A59J7545733   Kia          SOUL                BURBANK                   CA
133456   KNDJP3A59J7545991   Kia          SOUL                Costa Mesa                CA
133457   KNDJP3A59J7551144   Kia          SOUL                Las Vegas                 NV
133458   KNDJP3A59J7551368   Kia          SOUL                ROSEVILLE                 CA
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133459   KNDJP3A59J7555825   Kia          SOUL                Davie                     FL
133460   KNDJP3A59J7556439   Kia          SOUL                BURBANK                   CA
133461   KNDJP3A59J7556828   Kia          SOUL                SEATAC                    WA
133462   KNDJP3A59J7557073   Kia          SOUL                North Las Vegas           NV
133463   KNDJP3A59J7557204   Kia          SOUL                MIAMI                     FL
133464   KNDJP3A59J7557493   Kia          SOUL                Miami                     FL
133465   KNDJP3A59J7557574   Kia          SOUL                BURBANK                   CA
133466   KNDJP3A59J7557588   Kia          SOUL                BURBANK                   CA
133467   KNDJP3A59J7558367   Kia          SOUL                Orlando                   FL
133468   KNDJP3A59J7559583   Kia          SOUL                ONTARIO                   CA
133469   KNDJP3A59J7560393   Kia          SOUL                Atlanta                   GA
133470   KNDJP3A59J7562290   Kia          SOUL                Tampa                     FL
133471   KNDJP3A59J7562905   Kia          SOUL                Cleveland                 OH
133472   KNDJP3A59J7567389   Kia          SOUL                DAYTONA BEACH             FL
133473   KNDJP3A59J7567487   Kia          SOUL                DES PLAINES               IL
133474   KNDJP3A59J7568008   Kia          SOUL                DFW AIRPORT               TX
133475   KNDJP3A59J7568073   Kia          SOUL                Houston                   TX
133476   KNDJP3A59J7568333   Kia          SOUL                Hendersonville            TN
133477   KNDJP3A59J7568638   Kia          SOUL                Irving                    TX
133478   KNDJP3A59J7569000   Kia          SOUL                ORLANDO                   FL
133479   KNDJP3A59J7570180   Kia          SOUL                NORTH PAC                 CA
133480   KNDJP3A59J7571409   Kia          SOUL                Rio Linda                 CA
133481   KNDJP3A59J7571426   Kia          SOUL                LOS ANGELES               CA
133482   KNDJP3A59J7571491   Kia          SOUL                MIDDLE RIVER              MD
133483   KNDJP3A59J7571796   Kia          SOUL                North Las Vegas           NV
133484   KNDJP3A59J7572950   Kia          SOUL                BURBANK                   CA
133485   KNDJP3A59J7573368   Kia          SOUL                SAN JOSE                  CA
133486   KNDJP3A59J7573371   Kia          SOUL                BURBANK                   CA
133487   KNDJP3A59J7574195   Kia          SOUL                PHOENIX                   AZ
133488   KNDJP3A59J7574312   Kia          SOUL                SANFORD                   OK
133489   KNDJP3A59J7574326   Kia          SOUL                Fontana                   CA
133490   KNDJP3A59J7575010   Kia          SOUL                SANTA ANA                 CA
133491   KNDJP3A59J7576223   Kia          SOUL                Harvey                    LA
133492   KNDJP3A59J7576366   Kia          SOUL                SAN DIEGO                 CA
133493   KNDJP3A59J7576383   Kia          SOUL                Rio Linda                 CA
133494   KNDJP3A59J7576710   Kia          SOUL                NORTH PAC                 CA
133495   KNDJP3A59J7577162   Kia          SOUL                Denver                    CO
133496   KNDJP3A59J7577646   Kia          SOUL                OAKLAND                   CA
133497   KNDJP3A59J7577842   Kia          SOUL                NORTH HOLLYWOOD           CA
133498   KNDJP3A59J7579249   Kia          SOUL                Matteson                  IL
133499   KNDJP3A59J7579560   Kia          SOUL                Tolleson                  AZ
133500   KNDJP3A59J7580160   Kia          SOUL                SAN FRANCISCO             CA
133501   KNDJP3A59J7580742   Kia          SOUL                NORTH PAC                 CA
133502   KNDJP3A59J7588078   Kia          SOUL                Dallas                    TX
133503   KNDJP3A59J7589148   Kia          SOUL                MOBILE                    A
133504   KNDJP3A59J7593572   Kia          SOUL                SAN ANTONIO               TX
133505   KNDJP3A59J7593684   Kia          SOUL                Fort Lauderdale           FL
133506   KNDJP3A59J7593846   Kia          SOUL                Elkridge                  MD
133507   KNDJP3A59J7594446   Kia          SOUL                North Las Vegas           NV
133508   KNDJP3A59J7594625   Kia          SOUL                PORTLAND                  OR
133509   KNDJP3A59J7594639   Kia          SOUL                DAYTONA BEACH             FL
133510   KNDJP3A59J7595080   Kia          SOUL                Norwalk                   CA
133511   KNDJP3A59J7595175   Kia          SOUL                BURBANK                   CA
133512   KNDJP3A59J7595502   Kia          SOUL                NORTH PAC                 CA
133513   KNDJP3A59J7596083   Kia          SOUL                Brownsville               TX
133514   KNDJP3A59J7596410   Kia          SOUL                NORTH PAC                 CA
133515   KNDJP3A59J7597850   Kia          SOUL                PHOENIX                   AZ
133516   KNDJP3A59J7598609   Kia          SOUL                BALTIMORE                 MD
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133517   KNDJP3A59J7600567   Kia          SOUL                ATLANTA                   GA
133518   KNDJP3A59J7601380   Kia          SOUL                Las Vegas                 NV
133519   KNDJP3A59J7603744   Kia          SOUL                WHITE PLAINS              NY
133520   KNDJP3A59J7606790   Kia          SOUL                San Diego                 CA
133521   KNDJP3A59J7607373   Kia          SOUL                HOUSTON                   TX
133522   KNDJP3A59J7610676   Kia          SOUL                Denver                    CO
133523   KNDJP3A59J7611567   Kia          SOUL                DENVER                    CO
133524   KNDJP3A59J7611892   Kia          SOUL                TAMPA                     FL
133525   KNDJP3A59J7612086   Kia          SOUL                Rio Linda                 CA
133526   KNDJP3A59J7612203   Kia          SOUL                FORT LAUDERDALE           FL
133527   KNDJP3A59J7616414   Kia          SOUL                FRESNO                    CA
133528   KNDJP3A59J7621998   Kia          SOUL                LAS VEGAS                 NV
133529   KNDJP3A59J7625887   Kia          SOUL                Alexandria                VA
133530   KNDJP3A59J7894391   Kia          SOUL                Philadelphia              PA
133531   KNDJP3A59J7894858   Kia          SOUL                Tolleson                  AZ
133532   KNDJP3A59J7895363   Kia          SOUL                DAYTONA BEACH             FL
133533   KNDJP3A59J7896738   Kia          SOUL                North Dighton             MA
133534   KNDJP3A59J7897601   Kia          SOUL                SAN FRANCISCO             CA
133535   KNDJP3A59J7898120   Kia          SOUL                Atlanta                   GA
133536   KNDJP3A59J7898134   Kia          SOUL                Davie                     FL
133537   KNDJP3A59J7898179   Kia          SOUL                North Dighton             MA
133538   KNDJP3A59J7898988   Kia          SOUL                BURBANK                   CA
133539   KNDJP3A59J7899302   Kia          SOUL                BURBANK                   CA
133540   KNDJP3A59J7899834   Kia          SOUL                NEW YORK DEALER DI        NJ
133541   KNDJP3A59J7901386   Kia          SOUL                Dallas                    TX
133542   KNDJP3A59J7902294   Kia          SOUL                LOS ANGELES               CA
133543   KNDJP3A59J7902330   Kia          SOUL                BURBANK                   CA
133544   KNDJP3A59J7904207   Kia          SOUL                HAYWARD                   CA
133545   KNDJP3A59J7904692   Kia          SOUL                Atlanta                   GA
133546   KNDJP3A59K7004022   Kia          SOUL                Honolulu                  HI
133547   KNDJP3A59K7011990   Kia          SOUL                MIAMI                     FL
133548   KNDJP3A59K7012170   Kia          SOUL                Winter Park               FL
133549   KNDJP3A59K7012959   Kia          SOUL                DAYTONA BEACH             FL
133550   KNDJP3A59K7017868   Kia          SOUL                FORT LAUDERDALE           FL
133551   KNDJP3A59K7628743   Kia          SOUL                DES MOINES                IA
133552   KNDJP3A59K7628807   Kia          SOUL                BIRMINGHAN                AL
133553   KNDJP3A59K7630511   Kia          SOUL                Vandalia                  OH
133554   KNDJP3A59K7630704   Kia          SOUL                JACKSONVILLE              FL
133555   KNDJP3A59K7630914   Kia          SOUL                ORLANDO                   FL
133556   KNDJP3A59K7631075   Kia          SOUL                FORT MYERS                FL
133557   KNDJP3A59K7632193   Kia          SOUL                SARASOTA                  FL
133558   KNDJP3A59K7632629   Kia          SOUL                Chandler                  AZ
133559   KNDJP3A59K7632839   Kia          SOUL                CHICAGO                   IL
133560   KNDJP3A59K7632968   Kia          SOUL                WEST PALM BEACH           FL
133561   KNDJP3A59K7633909   Kia          SOUL                Columbus                  OH
133562   KNDJP3A59K7634798   Kia          SOUL                FORT LAUDERDALE           FL
133563   KNDJP3A59K7635496   Kia          SOUL                MIAMI                     FL
133564   KNDJP3A59K7637975   Kia          SOUL                CHICAGO                   IL
133565   KNDJP3A59K7638687   Kia          SOUL                DENVER                    CO
133566   KNDJP3A59K7639127   Kia          SOUL                North Las Vegas           NV
133567   KNDJP3A59K7642559   Kia          SOUL                ATLANTA                   GA
133568   KNDJP3A59K7644313   Kia          SOUL                KENNER                    LA
133569   KNDJP3A59K7645039   Kia          SOUL                PHOENIX                   AZ
133570   KNDJP3A59K7648913   Kia          SOUL                Tucson                    AZ
133571   KNDJP3A59K7649057   Kia          SOUL                INDIANAPOLIS              IN
133572   KNDJP3A59K7649270   Kia          SOUL                LOS ANGELES               CA
133573   KNDJP3A59K7649334   Kia          SOUL                Aurora                    CO
133574   KNDJP3A59K7650208   Kia          SOUL                San Antonio               TX
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133575   KNDJP3A59K7650256   Kia          SOUL                Florissant                MO
133576   KNDJP3A59K7650354   Kia          SOUL                Honolulu                  HI
133577   KNDJP3A59K7650399   Kia          SOUL                BURBANK                   CA
133578   KNDJP3A59K7650452   Kia          SOUL                ORLANDO                   FL
133579   KNDJP3A59K7650919   Kia          SOUL                Tolleson                  AZ
133580   KNDJP3A59K7651634   Kia          SOUL                COLORADO SPRING           CO
133581   KNDJP3A59K7652458   Kia          SOUL                SARASOTA                  FL
133582   KNDJP3A59K7653013   Kia          SOUL                SHREVEPORT                LA
133583   KNDJP3A59K7653142   Kia          SOUL                Phoenix                   AZ
133584   KNDJP3A59K7653626   Kia          SOUL                TAMPA                     FL
133585   KNDJP3A59K7653660   Kia          SOUL                PHILADELPHIA              PA
133586   KNDJP3A59K7653917   Kia          SOUL                KENNER                    LA
133587   KNDJP3A59K7653951   Kia          SOUL                SACRAMENTO                CA
133588   KNDJP3A59K7654100   Kia          SOUL                San Francisco             CA
133589   KNDJP3A59K7654128   Kia          SOUL                gardena                   ca
133590   KNDJP3A59K7654355   Kia          SOUL                WILLITS                   CA
133591   KNDJP3A59K7654677   Kia          SOUL                DALLAS                    TX
133592   KNDJP3A59K7654694   Kia          SOUL                TUCSON                    AZ
133593   KNDJP3A59K7654730   Kia          SOUL                Tolleson                  AZ
133594   KNDJP3A59K7654873   Kia          SOUL                NORTH PAC                 CA
133595   KNDJP3A59K7654971   Kia          SOUL                Norwalk                   CA
133596   KNDJP3A59K7655585   Kia          SOUL                SHAKOPEE                  MN
133597   KNDJP3A59K7656171   Kia          SOUL                PHOENIX                   AZ
133598   KNDJP3A59K7660303   Kia          SOUL                Indianapolis              IN
133599   KNDJP3A59K7660527   Kia          SOUL                MIAMI                     FL
133600   KNDJP3A59K7660656   Kia          SOUL                PALM SPRINGS              CA
133601   KNDJP3A59K7661130   Kia          SOUL                Tucson                    AZ
133602   KNDJP3A59K7661340   Kia          SOUL                Phoenix                   AZ
133603   KNDJP3A59K7661645   Kia          SOUL                ORLANDO                   FL
133604   KNDJP3A59K7662228   Kia          SOUL                ORLANDO                   FL
133605   KNDJP3A59K7662231   Kia          SOUL                SAN DIEGO                 CA
133606   KNDJP3A59K7662858   Kia          SOUL                SAINT PAUL                MN
133607   KNDJP3A59K7662889   Kia          SOUL                ST Paul                   MN
133608   KNDJP3A59K7662942   Kia          SOUL                FORT MYERS                FL
133609   KNDJP3A59K7663072   Kia          SOUL                BLOOMINGTON               IL
133610   KNDJP3A59K7663489   Kia          SOUL                OAKLAND                   CA
133611   KNDJP3A59K7663640   Kia          SOUL                San Antonio               TX
133612   KNDJP3A59K7663685   Kia          SOUL                HARTFORD                  CT
133613   KNDJP3A59K7664111   Kia          SOUL                ORLANDO                   FL
133614   KNDJP3A59K7664190   Kia          SOUL                DENVER                    CO
133615   KNDJP3A59K7664349   Kia          SOUL                KNOXVILLE                 TN
133616   KNDJP3A59K7664397   Kia          SOUL                CHARLOTTE                 NC
133617   KNDJP3A59K7664528   Kia          SOUL                FORT MYERS                FL
133618   KNDJP3A59K7664755   Kia          SOUL                Portland                  OR
133619   KNDJP3A59K7665047   Kia          SOUL                Colorado Spring           CO
133620   KNDJP3A59K7666201   Kia          SOUL                Florissant                MO
133621   KNDJP3A59K7679479   Kia          SOUL                Euless                    TX
133622   KNDJP3A59K7689218   Kia          SOUL                Kansas City               MO
133623   KNDJP3A59K7694631   Kia          SOUL                Philadelphia              PA
133624   KNDJP3A59K7695357   Kia          SOUL                Atlanta                   GA
133625   KNDJP3A59K7696458   Kia          SOUL                BATON ROUGE               LA
133626   KNDJP3A59K7697108   Kia          SOUL                FORT MYERS                FL
133627   KNDJP3A59K7697173   Kia          SOUL                FT LAUDERDALE             FL
133628   KNDJP3A59K7698727   Kia          SOUL                FORT LAUDERDALE           FL
133629   KNDJP3A59K7908257   Kia          SOUL                NEW YORK CITY             NY
133630   KNDJP3A59K7908260   Kia          SOUL                MEMPHIS                   TN
133631   KNDJP3A59K7908307   Kia          SOUL                MIDWAY                    FL
133632   KNDJP3A59K7908470   Kia          SOUL                SOUTH BEND                IN
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133633   KNDJP3A59K7908677   Kia          SOUL                ALEXANDRIA                VA
133634   KNDJP3A59K7908680   Kia          SOUL                MIAMI                     FL
133635   KNDJP3A59K7908906   Kia          SOUL                MIDDLE RIVER              MD
133636   KNDJP3A59K7909036   Kia          SOUL                DAYTONA BEACH             FL
133637   KNDJP3A59K7910090   Kia          SOUL                ONTARIO                   CA
133638   KNDJP3A59K7912888   Kia          SOUL                North Las Vegas           NV
133639   KNDJP3A59K7913832   Kia          SOUL                CHARLOTTE                 NC
133640   KNDJP3A59K7914009   Kia          SOUL                CHARLOTTE                 NC
133641   KNDJP3A59K7914074   Kia          SOUL                FORT LAUDERDALE           FL
133642   KNDJP3A59K7916083   Kia          SOUL                FORT LAUDERDALE           FL
133643   KNDJP3A59K7918027   Kia          SOUL                JACKSONVILLE              FL
133644   KNDJP3A59K7918044   Kia          SOUL                HARVEY                    LA
133645   KNDJP3A59K7920070   Kia          SOUL                Kenner                    LA
133646   KNDJP3A5XH7417897   Kia          SOUL                Atlanta                   GA
133647   KNDJP3A5XH7424736   Kia          SOUL                Philadelphia              PA
133648   KNDJP3A5XH7429290   Kia          SOUL                Elkridge                  MD
133649   KNDJP3A5XH7444050   Kia          SOUL                Cleveland                 OH
133650   KNDJP3A5XH7470499   Kia          SOUL                Lynn                      MA
133651   KNDJP3A5XH7476304   Kia          SOUL                EAST BOSTON               MA
133652   KNDJP3A5XH7493992   Kia          SOUL                Harvey                    LA
133653   KNDJP3A5XH7494804   Kia          SOUL                North Dighton             MA
133654   KNDJP3A5XH7495287   Kia          SOUL                Charlotte                 NC
133655   KNDJP3A5XJ7511140   Kia          SOUL                MEDINA                    OH
133656   KNDJP3A5XJ7512403   Kia          SOUL                KENNER                    LA
133657   KNDJP3A5XJ7512420   Kia          SOUL                STERLING                  VA
133658   KNDJP3A5XJ7512773   Kia          SOUL                Fort Lauderdale           FL
133659   KNDJP3A5XJ7513440   Kia          SOUL                STERLING                  VA
133660   KNDJP3A5XJ7517942   Kia          SOUL                DES MOINES                IA
133661   KNDJP3A5XJ7518444   Kia          SOUL                MORROW                    GA
133662   KNDJP3A5XJ7526009   Kia          SOUL                BURBANK                   CA
133663   KNDJP3A5XJ7526186   Kia          SOUL                SAN JOSE                  CA
133664   KNDJP3A5XJ7527001   Kia          SOUL                BURBANK                   CA
133665   KNDJP3A5XJ7527547   Kia          SOUL                North Las Vegas           NV
133666   KNDJP3A5XJ7528083   Kia          SOUL                North Las Vegas           NV
133667   KNDJP3A5XJ7529170   Kia          SOUL                BURBANK                   CA
133668   KNDJP3A5XJ7529685   Kia          SOUL                BURBANK                   CA
133669   KNDJP3A5XJ7530898   Kia          SOUL                DARLINGTON                SC
133670   KNDJP3A5XJ7536605   Kia          SOUL                FLORIDA DEALER DIR        FL
133671   KNDJP3A5XJ7536958   Kia          SOUL                BURBANK                   CA
133672   KNDJP3A5XJ7541934   Kia          SOUL                DARLINGTON                SC
133673   KNDJP3A5XJ7543067   Kia          SOUL                NORTH PAC                 CA
133674   KNDJP3A5XJ7543764   Kia          SOUL                MIAMI                     FL
133675   KNDJP3A5XJ7544283   Kia          SOUL                PALM SPRINGS              CA
133676   KNDJP3A5XJ7544302   Kia          SOUL                SANTA ANA                 CA
133677   KNDJP3A5XJ7544977   Kia          SOUL                PHOENIX                   AZ
133678   KNDJP3A5XJ7545725   Kia          SOUL                SAN FRANCISCO             CA
133679   KNDJP3A5XJ7545997   Kia          SOUL                BURBANK                   CA
133680   KNDJP3A5XJ7546129   Kia          SOUL                SOUTHWEST DEALER D        TX
133681   KNDJP3A5XJ7547023   Kia          SOUL                Fontana                   CA
133682   KNDJP3A5XJ7548804   Kia          SOUL                LOS ANGELES               CA
133683   KNDJP3A5XJ7549824   Kia          SOUL                Kent                      WA
133684   KNDJP3A5XJ7556434   Kia          SOUL                Tolleson                  AZ
133685   KNDJP3A5XJ7557020   Kia          SOUL                Hayward                   CA
133686   KNDJP3A5XJ7557874   Kia          SOUL                LOS ANGELES               CA
133687   KNDJP3A5XJ7557910   Kia          SOUL                North Las Vegas           NV
133688   KNDJP3A5XJ7558829   Kia          SOUL                Miami                     FL
133689   KNDJP3A5XJ7558975   Kia          SOUL                LUBBOCK                   TX
133690   KNDJP3A5XJ7559897   Kia          SOUL                RICHMOND                  VA
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                  Case 20-11218-MFW
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133691   KNDJP3A5XJ7560290   Kia          SOUL                DANIA BEACH               FL
133692   KNDJP3A5XJ7562847   Kia          SOUL                Charlotte                 NC
133693   KNDJP3A5XJ7564498   Kia          SOUL                Smithtown                 NY
133694   KNDJP3A5XJ7564579   Kia          SOUL                Scottsdale                AZ
133695   KNDJP3A5XJ7565229   Kia          SOUL                HOUSTON IAH AP            TX
133696   KNDJP3A5XJ7566395   Kia          SOUL                DAYTONA BEACH             FL
133697   KNDJP3A5XJ7566946   Kia          SOUL                Louisville                KY
133698   KNDJP3A5XJ7567398   Kia          SOUL                CHICAGO                   IL
133699   KNDJP3A5XJ7567546   Kia          SOUL                Hayward                   CA
133700   KNDJP3A5XJ7568079   Kia          SOUL                Rock Hill                 SC
133701   KNDJP3A5XJ7568518   Kia          SOUL                HANOVER                   MD
133702   KNDJP3A5XJ7569152   Kia          SOUL                SAINT PAUL                MN
133703   KNDJP3A5XJ7569264   Kia          SOUL                Miami                     FL
133704   KNDJP3A5XJ7569569   Kia          SOUL                Charlotte                 NC
133705   KNDJP3A5XJ7569863   Kia          SOUL                FLORIDA DEALER DIR        FL
133706   KNDJP3A5XJ7571757   Kia          SOUL                NORTH PAC                 CA
133707   KNDJP3A5XJ7572231   Kia          SOUL                BURBANK                   CA
133708   KNDJP3A5XJ7573525   Kia          SOUL                Atlanta                   GA
133709   KNDJP3A5XJ7573704   Kia          SOUL                Slidell                   LA
133710   KNDJP3A5XJ7574058   Kia          SOUL                TAMPA                     FL
133711   KNDJP3A5XJ7574321   Kia          SOUL                Tampa                     FL
133712   KNDJP3A5XJ7574724   Kia          SOUL                Statesville               NC
133713   KNDJP3A5XJ7576120   Kia          SOUL                South San Franc           CA
133714   KNDJP3A5XJ7576215   Kia          SOUL                Scottsdale                AZ
133715   KNDJP3A5XJ7576246   Kia          SOUL                WEST PALM BEACH           FL
133716   KNDJP3A5XJ7576327   Kia          SOUL                SOUTHEAST DST OFFC        OK
133717   KNDJP3A5XJ7576344   Kia          SOUL                BURBANK                   CA
133718   KNDJP3A5XJ7576702   Kia          SOUL                PHILADELPHIA              PA
133719   KNDJP3A5XJ7576859   Kia          SOUL                CHICAGO                   IL
133720   KNDJP3A5XJ7577011   Kia          SOUL                Anaheim                   CA
133721   KNDJP3A5XJ7577140   Kia          SOUL                North Las Vegas           NV
133722   KNDJP3A5XJ7577610   Kia          SOUL                BURBANK                   CA
133723   KNDJP3A5XJ7577638   Kia          SOUL                NORTH PAC                 CA
133724   KNDJP3A5XJ7577820   Kia          SOUL                BURBANK                   CA
133725   KNDJP3A5XJ7578157   Kia          SOUL                CHICAGO                   IL
133726   KNDJP3A5XJ7588378   Kia          SOUL                NORTH PAC                 CA
133727   KNDJP3A5XJ7588381   Kia          SOUL                ROSEVILLE                 CA
133728   KNDJP3A5XJ7592057   Kia          SOUL                Chicago                   IL
133729   KNDJP3A5XJ7592656   Kia          SOUL                Hartford                  CT
133730   KNDJP3A5XJ7592883   Kia          SOUL                RALEIGH                   NC
133731   KNDJP3A5XJ7593063   Kia          SOUL                Slidell                   LA
133732   KNDJP3A5XJ7593340   Kia          SOUL                Statesville               NC
133733   KNDJP3A5XJ7594441   Kia          SOUL                LOS ANGELES               CA
133734   KNDJP3A5XJ7596089   Kia          SOUL                Stockton                  CA
133735   KNDJP3A5XJ7596108   Kia          SOUL                Tolleson                  AZ
133736   KNDJP3A5XJ7597534   Kia          SOUL                Denver                    CO
133737   KNDJP3A5XJ7598635   Kia          SOUL                Charlotte                 NC
133738   KNDJP3A5XJ7599381   Kia          SOUL                BURBANK                   CA
133739   KNDJP3A5XJ7599610   Kia          SOUL                Hapeville                 GA
133740   KNDJP3A5XJ7599882   Kia          SOUL                Austin                    TX
133741   KNDJP3A5XJ7600268   Kia          SOUL                CENTRAL DIST OFFC         OK
133742   KNDJP3A5XJ7601081   Kia          SOUL                FRESNO                    CA
133743   KNDJP3A5XJ7601632   Kia          SOUL                SAN DIEGO                 US
133744   KNDJP3A5XJ7602120   Kia          SOUL                Louisville                KY
133745   KNDJP3A5XJ7602134   Kia          SOUL                BURBANK                   CA
133746   KNDJP3A5XJ7602361   Kia          SOUL                SPRINGFIELD               VA
133747   KNDJP3A5XJ7602862   Kia          SOUL                Miami                     FL
133748   KNDJP3A5XJ7602912   Kia          SOUL                Vandalia                  OH
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133749   KNDJP3A5XJ7603459   Kia          SOUL                Rock Hill                 SC
133750   KNDJP3A5XJ7604112   Kia          SOUL                Davie                     FL
133751   KNDJP3A5XJ7605406   Kia          SOUL                MIAMI                     FL
133752   KNDJP3A5XJ7606376   Kia          SOUL                FORT MYERS                FL
133753   KNDJP3A5XJ7606913   Kia          SOUL                SNELLVILLE                GA
133754   KNDJP3A5XJ7610721   Kia          SOUL                ORLANDO                   FL
133755   KNDJP3A5XJ7611318   Kia          SOUL                Fresno                    CA
133756   KNDJP3A5XJ7611450   Kia          SOUL                MEDINA                    OH
133757   KNDJP3A5XJ7616504   Kia          SOUL                SAN JOSE                  CA
133758   KNDJP3A5XJ7623372   Kia          SOUL                Hayward                   CA
133759   KNDJP3A5XJ7624070   Kia          SOUL                BURBANK                   CA
133760   KNDJP3A5XJ7891001   Kia          SOUL                BURBANK                   CA
133761   KNDJP3A5XJ7891631   Kia          SOUL                AUSTIN                    TX
133762   KNDJP3A5XJ7892200   Kia          SOUL                CHICAGO                   IL
133763   KNDJP3A5XJ7894075   Kia          SOUL                BURBANK                   CA
133764   KNDJP3A5XJ7894920   Kia          SOUL                BURBANK                   CA
133765   KNDJP3A5XJ7897896   Kia          SOUL                Atlanta                   GA
133766   KNDJP3A5XJ7897901   Kia          SOUL                RALEIGH                   NC
133767   KNDJP3A5XJ7897977   Kia          SOUL                DANIA BEACH               FL
133768   KNDJP3A5XJ7898112   Kia          SOUL                Miami                     FL
133769   KNDJP3A5XJ7898174   Kia          SOUL                DANIA BEACH               FL
133770   KNDJP3A5XJ7898322   Kia          SOUL                ROSEVILLE                 CA
133771   KNDJP3A5XJ7898661   Kia          SOUL                Davie                     FL
133772   KNDJP3A5XJ7898966   Kia          SOUL                Fort Lauderdale           FL
133773   KNDJP3A5XJ7900246   Kia          SOUL                Roseville                 CA
133774   KNDJP3A5XJ7901171   Kia          SOUL                Pensacola                 FL
133775   KNDJP3A5XJ7901395   Kia          SOUL                N. Las Vegas              NV
133776   KNDJP3A5XJ7901901   Kia          SOUL                KNOXVILLE                 TN
133777   KNDJP3A5XJ7902076   Kia          SOUL                BURBANK                   CA
133778   KNDJP3A5XJ7902319   Kia          SOUL                LAS VEGAS                 NV
133779   KNDJP3A5XJ7902336   Kia          SOUL                LAS VEGAS                 NV
133780   KNDJP3A5XJ7902949   Kia          SOUL                Costa Mesa                CA
133781   KNDJP3A5XJ7904118   Kia          SOUL                CLEVELAND                 OH
133782   KNDJP3A5XJ7904250   Kia          SOUL                CHANDLER                  AZ
133783   KNDJP3A5XJ7904734   Kia          SOUL                Tampa                     FL
133784   KNDJP3A5XJ7904782   Kia          SOUL                DALLAS                    TX
133785   KNDJP3A5XJ7906998   Kia          SOUL                BURBANK                   CA
133786   KNDJP3A5XK7000075   Kia          SOUL                Norwalk                   CA
133787   KNDJP3A5XK7000285   Kia          SOUL                Kansas City               MO
133788   KNDJP3A5XK7012212   Kia          SOUL                JACKSONVILLE              FL
133789   KNDJP3A5XK7628752   Kia          SOUL                Atlanta                   GA
133790   KNDJP3A5XK7628783   Kia          SOUL                Ventura                   CA
133791   KNDJP3A5XK7628833   Kia          SOUL                ORLANDO                   FL
133792   KNDJP3A5XK7628847   Kia          SOUL                FORT LAUDERDALE           FL
133793   KNDJP3A5XK7628962   Kia          SOUL                Dallas                    TX
133794   KNDJP3A5XK7629089   Kia          SOUL                Tampa                     FL
133795   KNDJP3A5XK7629304   Kia          SOUL                NEW BERN                  NC
133796   KNDJP3A5XK7629402   Kia          SOUL                FORT MYERS                FL
133797   KNDJP3A5XK7629447   Kia          SOUL                MIAMI                     FL
133798   KNDJP3A5XK7629870   Kia          SOUL                ORLANDO                   FL
133799   KNDJP3A5XK7630372   Kia          SOUL                ORLANDO                   FL
133800   KNDJP3A5XK7630730   Kia          SOUL                FORT LAUDERDALE           FL
133801   KNDJP3A5XK7631070   Kia          SOUL                INDIANAPOLIS              IN
133802   KNDJP3A5XK7631134   Kia          SOUL                KNOXVILLE                 TN
133803   KNDJP3A5XK7631490   Kia          SOUL                RICHMOND                  VA
133804   KNDJP3A5XK7631747   Kia          SOUL                Tampa                     FL
133805   KNDJP3A5XK7634700   Kia          SOUL                CHARLESTON                WV
133806   KNDJP3A5XK7635278   Kia          SOUL                Philadelphia              PA
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133807   KNDJP3A5XK7636639   Kia          SOUL                Los Angeles               CA
133808   KNDJP3A5XK7636799   Kia          SOUL                FORT MYERS                FL
133809   KNDJP3A5XK7636804   Kia          SOUL                TAMPA                     FL
133810   KNDJP3A5XK7637323   Kia          SOUL                San Antonio               TX
133811   KNDJP3A5XK7637354   Kia          SOUL                North Las Vegas           NV
133812   KNDJP3A5XK7637841   Kia          SOUL                Las Vegas                 NV
133813   KNDJP3A5XK7640819   Kia          SOUL                TAMPA                     FL
133814   KNDJP3A5XK7641422   Kia          SOUL                DAYTONA BEACH             FL
133815   KNDJP3A5XK7644272   Kia          SOUL                Norwalk                   CA
133816   KNDJP3A5XK7644319   Kia          SOUL                SAN JOSE                  CA
133817   KNDJP3A5XK7645194   Kia          SOUL                FRESNO                    CA
133818   KNDJP3A5XK7645583   Kia          SOUL                PALM SPRINGS              CA
133819   KNDJP3A5XK7648113   Kia          SOUL                TUCSON                    AZ
133820   KNDJP3A5XK7648239   Kia          SOUL                Irving                    TX
133821   KNDJP3A5XK7648743   Kia          SOUL                Corpus Christi            TX
133822   KNDJP3A5XK7649049   Kia          SOUL                Austin                    TX
133823   KNDJP3A5XK7649536   Kia          SOUL                KNOXVILLE                 TN
133824   KNDJP3A5XK7649892   Kia          SOUL                ALBANY                    GA
133825   KNDJP3A5XK7650217   Kia          SOUL                Memphis                   TN
133826   KNDJP3A5XK7650914   Kia          SOUL                MILWAUKEE                 WI
133827   KNDJP3A5XK7652839   Kia          SOUL                PHOENIX                   AZ
133828   KNDJP3A5XK7653148   Kia          SOUL                LOS ANGELES               CA
133829   KNDJP3A5XK7653487   Kia          SOUL                SAN JOSE                  CA
133830   KNDJP3A5XK7654221   Kia          SOUL                PHOENIX                   AZ
133831   KNDJP3A5XK7654235   Kia          SOUL                Hebron                    KY
133832   KNDJP3A5XK7654302   Kia          SOUL                OAKLAND                   CA
133833   KNDJP3A5XK7654395   Kia          SOUL                COLLEGE PARK              GA
133834   KNDJP3A5XK7654400   Kia          SOUL                San Diego                 CA
133835   KNDJP3A5XK7654672   Kia          SOUL                SAN ANTONIO               TX
133836   KNDJP3A5XK7654722   Kia          SOUL                Elkridge                  MD
133837   KNDJP3A5XK7655272   Kia          SOUL                BURBANK                   CA
133838   KNDJP3A5XK7656468   Kia          SOUL                S. San Francisc           CA
133839   KNDJP3A5XK7656471   Kia          SOUL                Sacramento                CA
133840   KNDJP3A5XK7660178   Kia          SOUL                ORLANDO                   FL
133841   KNDJP3A5XK7660973   Kia          SOUL                Philadelphia              PA
133842   KNDJP3A5XK7661010   Kia          SOUL                FORT MYERS                FL
133843   KNDJP3A5XK7661119   Kia          SOUL                Lake Elsinore             CA
133844   KNDJP3A5XK7661413   Kia          SOUL                Miami                     FL
133845   KNDJP3A5XK7661556   Kia          SOUL                FORT MYERS                FL
133846   KNDJP3A5XK7661802   Kia          SOUL                CHICAGO                   IL
133847   KNDJP3A5XK7661833   Kia          SOUL                San Diego                 CA
133848   KNDJP3A5XK7661895   Kia          SOUL                JACKSONVILLE              FL
133849   KNDJP3A5XK7661900   Kia          SOUL                DALLAS                    TX
133850   KNDJP3A5XK7662464   Kia          SOUL                OAKLAND                   CA
133851   KNDJP3A5XK7662884   Kia          SOUL                Des Plaines               IL
133852   KNDJP3A5XK7663386   Kia          SOUL                TUCSON                    AZ
133853   KNDJP3A5XK7663615   Kia          SOUL                MIAMI                     FL
133854   KNDJP3A5XK7663632   Kia          SOUL                Manheim                   PA
133855   KNDJP3A5XK7663713   Kia          SOUL                Tampa                     FL
133856   KNDJP3A5XK7664473   Kia          SOUL                CHICAGO                   IL
133857   KNDJP3A5XK7664585   Kia          SOUL                TAMPA                     FL
133858   KNDJP3A5XK7665039   Kia          SOUL                N. Las Vegas              NV
133859   KNDJP3A5XK7665154   Kia          SOUL                Maple Grove               MN
133860   KNDJP3A5XK7665350   Kia          SOUL                Richmond                  VA
133861   KNDJP3A5XK7665512   Kia          SOUL                FORT LAUDERDALE           FL
133862   KNDJP3A5XK7665543   Kia          SOUL                Houston                   TX
133863   KNDJP3A5XK7665641   Kia          SOUL                Detroit                   MI
133864   KNDJP3A5XK7665655   Kia          SOUL                Atlanta                   GA
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133865   KNDJP3A5XK7665820   Kia         SOUL                CENTRAL DIST OFFC         OK
133866   KNDJP3A5XK7665834   Kia         SOUL                BURBANK                   CA
133867   KNDJP3A5XK7666000   Kia         SOUL                BURBANK                   CA
133868   KNDJP3A5XK7666014   Kia         SOUL                HANOVER                   MD
133869   KNDJP3A5XK7666028   Kia         SOUL                Springfield               MO
133870   KNDJP3A5XK7666157   Kia         SOUL                COLUMBUS                  OH
133871   KNDJP3A5XK7666787   Kia         SOUL                OAKLAND                   CA
133872   KNDJP3A5XK7666790   Kia         SOUL                FORT MYERS                FL
133873   KNDJP3A5XK7671567   Kia         SOUL                Fort Lauderdale           FL
133874   KNDJP3A5XK7675523   Kia         SOUL                ORLANDO                   FL
133875   KNDJP3A5XK7679250   Kia         SOUL                SAVANNAH                  GA
133876   KNDJP3A5XK7694492   Kia         SOUL                DANIA BEACH               FL
133877   KNDJP3A5XK7694640   Kia         SOUL                Charlotte                 NC
133878   KNDJP3A5XK7697117   Kia         SOUL                Ventura                   CA
133879   KNDJP3A5XK7908509   Kia         SOUL                JACKSONVILLE              FL
133880   KNDJP3A5XK7910468   Kia         SOUL                Louisville                KY
133881   KNDJP3A5XK7910941   Kia         SOUL                Springfield               MO
133882   KNDJP3A5XK7912057   Kia         SOUL                ATLANTA                   GA
133883   KNDJP3A5XK7912687   Kia         SOUL                SANTA ANA                 CA
133884   KNDJP3A5XK7912690   Kia         SOUL                San Antonio               TX
133885   KNDJP3A5XK7912852   Kia         SOUL                TAMPA                     FL
133886   KNDJP3A5XK7913774   Kia         SOUL                Atlanta                   GA
133887   KNDJP3A5XK7913872   Kia         SOUL                FORT MYERS                FL
133888   KNDJP3A5XK7913998   Kia         SOUL                Hebron                    KY
133889   KNDJP3A5XK7914200   Kia         SOUL                BOSTON                    MA
133890   KNDJP3A5XK7916027   Kia         SOUL                FORT LAUDERDALE           FL
133891   KNDJP3A5XK7919297   Kia         SOUL                DAYTONA BEACH             FL
133892   KNDJX3A50F7797541   Kia         SOUL                FLORIDA DEALER DIR        FL
133893   KNDJX3A52F7164555   Kia         SOUL                BURBANK                   CA
133894   KNDJX3A59G7282099   Kia         SOUL                LOS ANGELES               CA
133895   KNDJX3AA3H7447885   Kia         SOUL                ORLANDO                   FL
133896   KNDMB5C10K6513438   Kia         SEDONA              SARASOTA                  FL
133897   KNDMB5C11K6492874   Kia         SEDONA              KNOXVILLE                 TN
133898   KNDMB5C11K6503632   Kia         SEDONA              RALIEGH                   NC
133899   KNDMB5C11K6512864   Kia         SEDONA              FORT LAUDERDALE           FL
133900   KNDMB5C12K6494147   Kia         SEDONA              ORLANDO                   FL
133901   KNDMB5C13K6500277   Kia         SEDONA              ORLANDO                   FL
133902   KNDMB5C13K6500280   Kia         SEDONA              MILWAUKEE                 WI
133903   KNDMB5C14K6493386   Kia         SEDONA              San Antonio               TX
133904   KNDMB5C14K6494358   Kia         SEDONA              FRESNO                    CA
133905   KNDMB5C15K6513760   Kia         SEDONA              NASHVILLE                 TN
133906   KNDMB5C18K6494153   Kia         SEDONA              FORT MYERS                FL
133907   KNDMB5C18K6513445   Kia         SEDONA              HARTFORD                  CT
133908   KNDMB5C19K6494324   Kia         SEDONA              Atlanta                   GA
133909   KNDMB5C1XK6494168   Kia         SEDONA              MIAMI                     FL
133910   KNDMB5C1XK6511986   Kia         SEDONA              DENVER                    CO
133911   KNDME5C14J6383928   Kia         SEDONA              CHARLOTTE                 NC
133912   KNDME5C14J6400694   Kia         SEDONA              PHOENIX                   AZ
133913   KNDME5C15J6380987   Kia         SEDONA              SEATAC                    WA
133914   KNDME5C16J6399984   Kia         SEDONA              ATLANTA                   GA
133915   KNDPB3AC1G7851647   Kia         SPORTAGE            Fort Lauderdale           FL
133916   KNDPB3AC3G7811781   Kia         SPORTAGE            Dallas                    TX
133917   KNDPB3AC5G7872551   Kia         SPORTAGE            DANIA BEACH               FL
133918   KNDPB3AC7G7813758   Kia         SPORTAGE            Fredericksburg            VA
133919   KNDPBCAC0G7840462   Kia         SPORTAGE            Lynn                      MA
133920   KNDPBCAC2G7876363   Kia         SPORTAGE            VANDALLA                  US
133921   KNDPC3AC0F7692194   Kia         SPORTAGE            SAN JOSE                  CA
133922   KNDPC3AC3F7763677   Kia         SPORTAGE            Stone Mountain            GA
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133923   KNDPC3AC8G7840318   Kia         SPORTAGE            SAN DIEGO                 CA
133924   KNDPC3AC8G7874727   Kia         SPORTAGE            Santa Clara               CA
133925   KNDPC3AC9G7840523   Kia         SPORTAGE            Tolleson                  AZ
133926   KNDPCCAC8F7739780   Kia         SPORTAGE            Lutherville‐Tim           MD
133927   KNDPCCAC9G7849898   Kia         SPORTAGE            Elkridge                  MD
133928   KNDPM3AC0H7153395   Kia         SPORTAGE            Louisville                KY
133929   KNDPM3AC0J7323423   Kia         SPORTAGE            DALLAS                    TX
133930   KNDPM3AC0J7375313   Kia         SPORTAGE            BURBANK                   CA
133931   KNDPM3AC0J7392211   Kia         SPORTAGE            Austell                   GA
133932   KNDPM3AC0J7392838   Kia         SPORTAGE            Johnston                  RI
133933   KNDPM3AC0J7399384   Kia         SPORTAGE            SAN JOSE                  CA
133934   KNDPM3AC0J7400033   Kia         SPORTAGE            ORLANDO                   FL
133935   KNDPM3AC0J7420511   Kia         SPORTAGE            CLEVELAND                 OH
133936   KNDPM3AC0J7420587   Kia         SPORTAGE            Slidell                   LA
133937   KNDPM3AC0J7423375   Kia         SPORTAGE            Colorado Spring           CO
133938   KNDPM3AC0J7424767   Kia         SPORTAGE            ORLANDO                   FL
133939   KNDPM3AC0J7445831   Kia         SPORTAGE            MIAMI                     FL
133940   KNDPM3AC0J7450480   Kia         SPORTAGE            DALLAS                    TX
133941   KNDPM3AC0J7453346   Kia         SPORTAGE            SPRINGFIELD               VA
133942   KNDPM3AC0J7453430   Kia         SPORTAGE            ORLANDO                   FL
133943   KNDPM3AC0J7455730   Kia         SPORTAGE            Miami                     FL
133944   KNDPM3AC0J7457154   Kia         SPORTAGE            PHILADELPHIA              PA
133945   KNDPM3AC0J7459518   Kia         SPORTAGE            KENNER                    LA
133946   KNDPM3AC0J7463732   Kia         SPORTAGE            San Diego                 CA
133947   KNDPM3AC0J7464069   Kia         SPORTAGE            SAN JOSE                  CA
133948   KNDPM3AC0J7466713   Kia         SPORTAGE            DAYTONA BEACH             FL
133949   KNDPM3AC0J7466842   Kia         SPORTAGE            SAINT LOUIS               MO
133950   KNDPM3AC0J7468025   Kia         SPORTAGE            BURBANK                   CA
133951   KNDPM3AC0J7469322   Kia         SPORTAGE            SAN FRANCISCO             CA
133952   KNDPM3AC0J7469773   Kia         SPORTAGE            Davie                     FL
133953   KNDPM3AC0J7470390   Kia         SPORTAGE            PHOENIX                   AZ
133954   KNDPM3AC0J7471541   Kia         SPORTAGE            Austell                   GA
133955   KNDPM3AC0J7472298   Kia         SPORTAGE            Atlanta                   GA
133956   KNDPM3AC0J7472320   Kia         SPORTAGE            CHICAGO                   IL
133957   KNDPM3AC0J7472334   Kia         SPORTAGE            PHOENIX                   AZ
133958   KNDPM3AC0J7473290   Kia         SPORTAGE            LAS VEGAS                 NV
133959   KNDPM3AC0J7484421   Kia         SPORTAGE            BOSTON                    MA
133960   KNDPM3AC0K7491077   Kia         SPORTAGE            ORLANDO                   FL
133961   KNDPM3AC0K7491287   Kia         SPORTAGE            Jacksonville              FL
133962   KNDPM3AC0K7491385   Kia         SPORTAGE            Webster                   NY
133963   KNDPM3AC0K7491497   Kia         SPORTAGE            Des Plaines               IL
133964   KNDPM3AC0K7491919   Kia         SPORTAGE            ORLANDO                   FL
133965   KNDPM3AC0K7493802   Kia         SPORTAGE            MATTHEWS                  NC
133966   KNDPM3AC0K7494450   Kia         SPORTAGE            SARASOTA                  FL
133967   KNDPM3AC0K7495825   Kia         SPORTAGE            TAMPA                     FL
133968   KNDPM3AC0K7496134   Kia         SPORTAGE            FORT MYERS                FL
133969   KNDPM3AC0K7501168   Kia         SPORTAGE            DFW AIRPORT               TX
133970   KNDPM3AC0K7501977   Kia         SPORTAGE            ORLANDO                   FL
133971   KNDPM3AC0K7504099   Kia         SPORTAGE            MIAMI                     FL
133972   KNDPM3AC0K7507715   Kia         SPORTAGE            HANOVER                   MD
133973   KNDPM3AC0K7508105   Kia         SPORTAGE            SAN JOSE                  CA
133974   KNDPM3AC0K7508170   Kia         SPORTAGE            MONTCLAIR                 CA
133975   KNDPM3AC0K7511277   Kia         SPORTAGE            NOTTINGHAM                MD
133976   KNDPM3AC0K7511389   Kia         SPORTAGE            Santa Clara               CA
133977   KNDPM3AC0K7511425   Kia         SPORTAGE            Irving                    TX
133978   KNDPM3AC0K7511473   Kia         SPORTAGE            ORLANDO                   FL
133979   KNDPM3AC0K7511778   Kia         SPORTAGE            WEST PALM BEACH           FL
133980   KNDPM3AC0K7512042   Kia         SPORTAGE            Houston                   TX
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133981   KNDPM3AC0K7513126   Kia         SPORTAGE            LOS ANGELES               CA
133982   KNDPM3AC0K7513322   Kia         SPORTAGE            SACRAMENTO                CA
133983   KNDPM3AC0K7513417   Kia         SPORTAGE            SAN DIEGO                 CA
133984   KNDPM3AC0K7513465   Kia         SPORTAGE            Woodhaven                 MI
133985   KNDPM3AC0K7513661   Kia         SPORTAGE            PHOENIX                   AZ
133986   KNDPM3AC0K7513692   Kia         SPORTAGE            ORLANDO                   FL
133987   KNDPM3AC0K7513756   Kia         SPORTAGE            ONTARIO                   CA
133988   KNDPM3AC0K7513918   Kia         SPORTAGE            ORLANDO                   FL
133989   KNDPM3AC0K7514129   Kia         SPORTAGE            NORTH PAC                 CA
133990   KNDPM3AC0K7514342   Kia         SPORTAGE            FRESNO                    CA
133991   KNDPM3AC0K7514423   Kia         SPORTAGE            HARVEY                    LA
133992   KNDPM3AC0K7514891   Kia         SPORTAGE            Kansas City               MO
133993   KNDPM3AC0K7515538   Kia         SPORTAGE            SANTA ANA                 CA
133994   KNDPM3AC0K7515832   Kia         SPORTAGE            San Diego                 CA
133995   KNDPM3AC0K7581491   Kia         SPORTAGE            CHARLOTTE                 NC
133996   KNDPM3AC0K7584777   Kia         SPORTAGE            ORLANDO                   FL
133997   KNDPM3AC0K7584892   Kia         SPORTAGE            DANIA BEACH               FL
133998   KNDPM3AC0K7593785   Kia         SPORTAGE            ORANGE COUNTY             CA
133999   KNDPM3AC0K7593821   Kia         SPORTAGE            SALT LAKE CITY            US
134000   KNDPM3AC0K7594001   Kia         SPORTAGE            Kansas City               MO
134001   KNDPM3AC0K7594273   Kia         SPORTAGE            FORT LAUDERDALE           FL
134002   KNDPM3AC1H7169136   Kia         SPORTAGE            Orlando                   FL
134003   KNDPM3AC1H7231103   Kia         SPORTAGE            Torrance                  CA
134004   KNDPM3AC1J7301639   Kia         SPORTAGE            DANIA BEACH               FL
134005   KNDPM3AC1J7312270   Kia         SPORTAGE            EVERETT                   MA
134006   KNDPM3AC1J7318408   Kia         SPORTAGE            Chandler                  AZ
134007   KNDPM3AC1J7343759   Kia         SPORTAGE            ORLANDO                   FL
134008   KNDPM3AC1J7357709   Kia         SPORTAGE            BOSTON                    MA
134009   KNDPM3AC1J7379502   Kia         SPORTAGE            ORLANDO                   FL
134010   KNDPM3AC1J7380682   Kia         SPORTAGE            Davie                     FL
134011   KNDPM3AC1J7382416   Kia         SPORTAGE            FT LAUDERDALE             FL
134012   KNDPM3AC1J7383484   Kia         SPORTAGE            RALEIGH                   NC
134013   KNDPM3AC1J7383761   Kia         SPORTAGE            BURBANK                   CA
134014   KNDPM3AC1J7401286   Kia         SPORTAGE            BURNSVILLE                MN
134015   KNDPM3AC1J7401580   Kia         SPORTAGE            NEW ENGLAND DEALER        MA
134016   KNDPM3AC1J7430593   Kia         SPORTAGE            ORLANDO                   FL
134017   KNDPM3AC1J7445918   Kia         SPORTAGE            DALLAS                    TX
134018   KNDPM3AC1J7449225   Kia         SPORTAGE            SANTA ANA                 CA
134019   KNDPM3AC1J7450438   Kia         SPORTAGE            North Las Vegas           NV
134020   KNDPM3AC1J7450553   Kia         SPORTAGE            Dallas                    TX
134021   KNDPM3AC1J7450648   Kia         SPORTAGE            Johnston                  RI
134022   KNDPM3AC1J7450858   Kia         SPORTAGE            Hartford                  CT
134023   KNDPM3AC1J7451301   Kia         SPORTAGE            ATLANTA                   GA
134024   KNDPM3AC1J7451685   Kia         SPORTAGE            DAYTONA BEACH             FL
134025   KNDPM3AC1J7452318   Kia         SPORTAGE            Davie                     FL
134026   KNDPM3AC1J7452531   Kia         SPORTAGE            FT. LAUDERDALE            FL
134027   KNDPM3AC1J7452920   Kia         SPORTAGE            PHILADELPHIA              PA
134028   KNDPM3AC1J7453310   Kia         SPORTAGE            Sacramento                CA
134029   KNDPM3AC1J7453369   Kia         SPORTAGE            BOSTON                    MA
134030   KNDPM3AC1J7453503   Kia         SPORTAGE            CHARLOTTE                 NC
134031   KNDPM3AC1J7454554   Kia         SPORTAGE            LAS VEGAS                 NV
134032   KNDPM3AC1J7454666   Kia         SPORTAGE            COLLEGE PARK              GA
134033   KNDPM3AC1J7454750   Kia         SPORTAGE            RALEIGH                   NC
134034   KNDPM3AC1J7454814   Kia         SPORTAGE            Davie                     FL
134035   KNDPM3AC1J7455672   Kia         SPORTAGE            SARASOTA                  FL
134036   KNDPM3AC1J7456367   Kia         SPORTAGE            Dania                     FL
134037   KNDPM3AC1J7457471   Kia         SPORTAGE            Irving                    TX
134038   KNDPM3AC1J7458409   Kia         SPORTAGE            TAMPA                     FL
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134039   KNDPM3AC1J7459804   Kia         SPORTAGE            FT LAUDERDALE             FL
134040   KNDPM3AC1J7461889   Kia         SPORTAGE            LOS ANGELES               CA
134041   KNDPM3AC1J7463299   Kia         SPORTAGE            SAN JOSE                  CA
134042   KNDPM3AC1J7467398   Kia         SPORTAGE            Statesville               NC
134043   KNDPM3AC1J7467515   Kia         SPORTAGE            ORLANDO                   FL
134044   KNDPM3AC1J7468969   Kia         SPORTAGE            Live Oak                  TX
134045   KNDPM3AC1J7469779   Kia         SPORTAGE            DFW AIRPORT               TX
134046   KNDPM3AC1J7471015   Kia         SPORTAGE            FORT LAUDERDALE           FL
134047   KNDPM3AC1J7484444   Kia         SPORTAGE            ORLANDO                   FL
134048   KNDPM3AC1J7484931   Kia         SPORTAGE            MARLOW HEIGHTS            MD
134049   KNDPM3AC1J7488476   Kia         SPORTAGE            COLLEGE PARK              GA
134050   KNDPM3AC1K7491220   Kia         SPORTAGE            FORT MYERS                FL
134051   KNDPM3AC1K7491315   Kia         SPORTAGE            FORT LAUDERDALE           FL
134052   KNDPM3AC1K7491329   Kia         SPORTAGE            NEW ORLEANS               LA
134053   KNDPM3AC1K7491699   Kia         SPORTAGE            ROSEVILLE                 CA
134054   KNDPM3AC1K7491945   Kia         SPORTAGE            KENNER                    LA
134055   KNDPM3AC1K7493274   Kia         SPORTAGE            FORT LAUDERDALE           FL
134056   KNDPM3AC1K7493565   Kia         SPORTAGE            ORLANDO                   FL
134057   KNDPM3AC1K7493811   Kia         SPORTAGE            MIAMI                     FL
134058   KNDPM3AC1K7494134   Kia         SPORTAGE            FORT MYERS                FL
134059   KNDPM3AC1K7494604   Kia         SPORTAGE            North Las Vegas           NV
134060   KNDPM3AC1K7494733   Kia         SPORTAGE            HOLLY HILL                FL
134061   KNDPM3AC1K7494814   Kia         SPORTAGE            ORLANDO                   FL
134062   KNDPM3AC1K7495137   Kia         SPORTAGE            PHILADELPHIA              PA
134063   KNDPM3AC1K7496031   Kia         SPORTAGE            MIAMI                     FL
134064   KNDPM3AC1K7500384   Kia         SPORTAGE            TAMPA                     US
134065   KNDPM3AC1K7506458   Kia         SPORTAGE            NEW BERN                  NC
134066   KNDPM3AC1K7507769   Kia         SPORTAGE            SAN FRANCISCO             CA
134067   KNDPM3AC1K7509201   Kia         SPORTAGE            CHANDLER                  AZ
134068   KNDPM3AC1K7509294   Kia         SPORTAGE            SANTA ANA                 CA
134069   KNDPM3AC1K7510218   Kia         SPORTAGE            Woodhaven                 MI
134070   KNDPM3AC1K7510901   Kia         SPORTAGE            LAS VEGAS                 NV
134071   KNDPM3AC1K7511532   Kia         SPORTAGE            MIAMI                     FL
134072   KNDPM3AC1K7511563   Kia         SPORTAGE            JACKSONVILLE              FL
134073   KNDPM3AC1K7511580   Kia         SPORTAGE            PHILADELPHIA              PA
134074   KNDPM3AC1K7512227   Kia         SPORTAGE            DALLAS                    TX
134075   KNDPM3AC1K7512308   Kia         SPORTAGE            Stone Mountain            GA
134076   KNDPM3AC1K7512714   Kia         SPORTAGE            SAN JOSE                  CA
134077   KNDPM3AC1K7513099   Kia         SPORTAGE            BURBANK                   CA
134078   KNDPM3AC1K7513202   Kia         SPORTAGE            Maple Grove               MN
134079   KNDPM3AC1K7513426   Kia         SPORTAGE            SAN JOSE                  CA
134080   KNDPM3AC1K7513510   Kia         SPORTAGE            Ontario                   CA
134081   KNDPM3AC1K7513586   Kia         SPORTAGE            Hartford                  CT
134082   KNDPM3AC1K7513765   Kia         SPORTAGE            DAYTONA BEACH             FL
134083   KNDPM3AC1K7513801   Kia         SPORTAGE            ROSEVILLE                 CA
134084   KNDPM3AC1K7514947   Kia         SPORTAGE            MATTHEWS                  NC
134085   KNDPM3AC1K7514964   Kia         SPORTAGE            FORT LAUDERDALE           FL
134086   KNDPM3AC1K7580429   Kia         SPORTAGE            TAMPA                     FL
134087   KNDPM3AC1K7584495   Kia         SPORTAGE            FT LAUDERDALE             FL
134088   KNDPM3AC1K7592869   Kia         SPORTAGE            FORT MYERS                FL
134089   KNDPM3AC1K7593617   Kia         SPORTAGE            Atlanta                   GA
134090   KNDPM3AC1K7594007   Kia         SPORTAGE            Charleston                SC
134091   KNDPM3AC2H7072298   Kia         SPORTAGE            Jacksonville              FL
134092   KNDPM3AC2H7117577   Kia         SPORTAGE            Tolleson                  AZ
134093   KNDPM3AC2H7153169   Kia         SPORTAGE            BURBANK                   CA
134094   KNDPM3AC2H7162535   Kia         SPORTAGE            Fort Lauderdale           FL
134095   KNDPM3AC2J7345732   Kia         SPORTAGE            North Dighton             MA
134096   KNDPM3AC2J7375183   Kia         SPORTAGE            PHOENIX                   AZ
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134097   KNDPM3AC2J7382540   Kia         SPORTAGE            RONKONKOMA                NY
134098   KNDPM3AC2J7390542   Kia         SPORTAGE            MIAMI                     FL
134099   KNDPM3AC2J7390704   Kia         SPORTAGE            Charlotte                 NC
134100   KNDPM3AC2J7392212   Kia         SPORTAGE            Elkridge                  MD
134101   KNDPM3AC2J7401149   Kia         SPORTAGE            Baltimore                 MD
134102   KNDPM3AC2J7402673   Kia         SPORTAGE            SAN JOSE                  CA
134103   KNDPM3AC2J7413415   Kia         SPORTAGE            SAN ANTONIO               TX
134104   KNDPM3AC2J7421868   Kia         SPORTAGE            CHICAGO                   IL
134105   KNDPM3AC2J7424169   Kia         SPORTAGE            SANTA ANA                 CA
134106   KNDPM3AC2J7445068   Kia         SPORTAGE            Miami                     FL
134107   KNDPM3AC2J7445653   Kia         SPORTAGE            Miami                     FL
134108   KNDPM3AC2J7447936   Kia         SPORTAGE            BOSTON                    MA
134109   KNDPM3AC2J7450495   Kia         SPORTAGE            Columbus                  OH
134110   KNDPM3AC2J7451310   Kia         SPORTAGE            DETROIT                   MI
134111   KNDPM3AC2J7452098   Kia         SPORTAGE            MIAMI                     FL
134112   KNDPM3AC2J7453347   Kia         SPORTAGE            Hanover                   MD
134113   KNDPM3AC2J7453431   Kia         SPORTAGE            Davie                     FL
134114   KNDPM3AC2J7454028   Kia         SPORTAGE            CHICAGO                   IL
134115   KNDPM3AC2J7454398   Kia         SPORTAGE            DANIA BEACH               FL
134116   KNDPM3AC2J7455776   Kia         SPORTAGE            San Antonio               TX
134117   KNDPM3AC2J7456216   Kia         SPORTAGE            MATTHEWS                  NC
134118   KNDPM3AC2J7456376   Kia         SPORTAGE            Phoenix                   AZ
134119   KNDPM3AC2J7462212   Kia         SPORTAGE            NORTH PAC                 CA
134120   KNDPM3AC2J7467359   Kia         SPORTAGE            MORROW                    GA
134121   KNDPM3AC2J7469192   Kia         SPORTAGE            FORT LAUDERDALE           FL
134122   KNDPM3AC2J7469709   Kia         SPORTAGE            LOS ANGELES               CA
134123   KNDPM3AC2J7469760   Kia         SPORTAGE            Dallas                    TX
134124   KNDPM3AC2J7469838   Kia         SPORTAGE            Richmond                  VA
134125   KNDPM3AC2J7470407   Kia         SPORTAGE            EULESS                    TX
134126   KNDPM3AC2J7470682   Kia         SPORTAGE            CHICAGO                   IL
134127   KNDPM3AC2J7473291   Kia         SPORTAGE            ORLANDO                   FL
134128   KNDPM3AC2J7481472   Kia         SPORTAGE            Hartford                  CT
134129   KNDPM3AC2J7484372   Kia         SPORTAGE            FAYETTEVILLE              GA
134130   KNDPM3AC2K7492215   Kia         SPORTAGE            Rockville Centr           NY
134131   KNDPM3AC2K7493364   Kia         SPORTAGE            DALLAS                    TX
134132   KNDPM3AC2K7493770   Kia         SPORTAGE            Clearwater                FL
134133   KNDPM3AC2K7501138   Kia         SPORTAGE            MATTHEWS                  NC
134134   KNDPM3AC2K7501172   Kia         SPORTAGE            ORLANDO                   FL
134135   KNDPM3AC2K7501298   Kia         SPORTAGE            North Dighton             MA
134136   KNDPM3AC2K7501477   Kia         SPORTAGE            ORLANDO                   FL
134137   KNDPM3AC2K7504136   Kia         SPORTAGE            Houston                   TX
134138   KNDPM3AC2K7507442   Kia         SPORTAGE            CHANDLER                  AZ
134139   KNDPM3AC2K7507716   Kia         SPORTAGE            HOUSTON                   TX
134140   KNDPM3AC2K7507800   Kia         SPORTAGE            MONTGOMERY                AL
134141   KNDPM3AC2K7507909   Kia         SPORTAGE            Manheim                   PA
134142   KNDPM3AC2K7510003   Kia         SPORTAGE            LOS ANGELES               CA
134143   KNDPM3AC2K7510129   Kia         SPORTAGE            Woodhaven                 MI
134144   KNDPM3AC2K7510177   Kia         SPORTAGE            MIAMI                     FL
134145   KNDPM3AC2K7510261   Kia         SPORTAGE            Slidell                   LA
134146   KNDPM3AC2K7511278   Kia         SPORTAGE            ORLANDO                   FL
134147   KNDPM3AC2K7511426   Kia         SPORTAGE            Fredericksburg            VA
134148   KNDPM3AC2K7512107   Kia         SPORTAGE            MIAMI                     FL
134149   KNDPM3AC2K7512172   Kia         SPORTAGE            DALLAS                    TX
134150   KNDPM3AC2K7512186   Kia         SPORTAGE            FORT LAUDERDALE           FL
134151   KNDPM3AC2K7512754   Kia         SPORTAGE            PHOENIX                   AZ
134152   KNDPM3AC2K7513063   Kia         SPORTAGE            SAN JOSE                  CA
134153   KNDPM3AC2K7513239   Kia         SPORTAGE            SANTA ANA                 CA
134154   KNDPM3AC2K7513452   Kia         SPORTAGE            BURBANK                   CA
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134155   KNDPM3AC2K7513550   Kia         SPORTAGE            MIAMI                     FL
134156   KNDPM3AC2K7513662   Kia         SPORTAGE            SANTA ANA                 CA
134157   KNDPM3AC2K7513760   Kia         SPORTAGE            LOS ANGELES               CA
134158   KNDPM3AC2K7515105   Kia         SPORTAGE            WEST PALM BEACH           FL
134159   KNDPM3AC2K7515119   Kia         SPORTAGE            Charlotte                 NC
134160   KNDPM3AC2K7517582   Kia         SPORTAGE            FORT MYERS                FL
134161   KNDPM3AC2K7580696   Kia         SPORTAGE            MINNEAPOLIS               MN
134162   KNDPM3AC2K7580875   Kia         SPORTAGE            Davie                     FL
134163   KNDPM3AC2K7586000   Kia         SPORTAGE            TAMPA                     FL
134164   KNDPM3AC2K7593299   Kia         SPORTAGE            TAMPA                     FL
134165   KNDPM3AC2K7593920   Kia         SPORTAGE            Houston                   TX
134166   KNDPM3AC2K7593982   Kia         SPORTAGE            SAN ANTONIO               TX
134167   KNDPM3AC3J7317051   Kia         SPORTAGE            FT LAUDERDALE             FL
134168   KNDPM3AC3J7357971   Kia         SPORTAGE            North Dighton             MA
134169   KNDPM3AC3J7381140   Kia         SPORTAGE            Miami                     FL
134170   KNDPM3AC3J7382319   Kia         SPORTAGE            ORLANDO                   FL
134171   KNDPM3AC3J7382546   Kia         SPORTAGE            N. Palm Beach             FL
134172   KNDPM3AC3J7392283   Kia         SPORTAGE            Winter Park               FL
134173   KNDPM3AC3J7400494   Kia         SPORTAGE            North Las Vegas           NV
134174   KNDPM3AC3J7402536   Kia         SPORTAGE            DAYTONA BEACH             FL
134175   KNDPM3AC3J7402715   Kia         SPORTAGE            Norwalk                   CA
134176   KNDPM3AC3J7424262   Kia         SPORTAGE            HANOVER                   MD
134177   KNDPM3AC3J7430689   Kia         SPORTAGE            Miami                     FL
134178   KNDPM3AC3J7444012   Kia         SPORTAGE            Richmond                  VA
134179   KNDPM3AC3J7444995   Kia         SPORTAGE            MATTHEWS                  NC
134180   KNDPM3AC3J7445063   Kia         SPORTAGE            DANIA BEACH               FL
134181   KNDPM3AC3J7445886   Kia         SPORTAGE            HARVEY                    LA
134182   KNDPM3AC3J7448433   Kia         SPORTAGE            BALDWIN                   NY
134183   KNDPM3AC3J7449467   Kia         SPORTAGE            BOISE                     US
134184   KNDPM3AC3J7450019   Kia         SPORTAGE            Portland                  ME
134185   KNDPM3AC3J7451316   Kia         SPORTAGE            DANIA BEACH               FL
134186   KNDPM3AC3J7452370   Kia         SPORTAGE            BOSTON                    MA
134187   KNDPM3AC3J7452823   Kia         SPORTAGE            FORT MYERS                FL
134188   KNDPM3AC3J7452837   Kia         SPORTAGE            Windsor Locks             CT
134189   KNDPM3AC3J7453115   Kia         SPORTAGE            Baltimore                 MD
134190   KNDPM3AC3J7453180   Kia         SPORTAGE            N. Palm Beach             FL
134191   KNDPM3AC3J7455379   Kia         SPORTAGE            BOSTON                    MA
134192   KNDPM3AC3J7456368   Kia         SPORTAGE            BALDWIN                   NY
134193   KNDPM3AC3J7456483   Kia         SPORTAGE            San Antonio               TX
134194   KNDPM3AC3J7457519   Kia         SPORTAGE            Winston‐Salem             NC
134195   KNDPM3AC3J7458752   Kia         SPORTAGE            FORT MYERS                FL
134196   KNDPM3AC3J7467001   Kia         SPORTAGE            FORT LAUDERDALE           FL
134197   KNDPM3AC3J7467841   Kia         SPORTAGE            FORT LAUDERDALE           FL
134198   KNDPM3AC3J7468990   Kia         SPORTAGE            Houston                   TX
134199   KNDPM3AC3J7469170   Kia         SPORTAGE            Houston                   TX
134200   KNDPM3AC3J7470299   Kia         SPORTAGE            Houston                   TX
134201   KNDPM3AC3J7470304   Kia         SPORTAGE            CHICAGO                   IL
134202   KNDPM3AC3J7470657   Kia         SPORTAGE            PORTLAND                  ME
134203   KNDPM3AC3J7470948   Kia         SPORTAGE            Euless                    TX
134204   KNDPM3AC3J7471176   Kia         SPORTAGE            Hendersonville            TN
134205   KNDPM3AC3J7472392   Kia         SPORTAGE            Atlanta                   GA
134206   KNDPM3AC3J7472439   Kia         SPORTAGE            GRAND RAPIDS              MI
134207   KNDPM3AC3J7472540   Kia         SPORTAGE            Dallas                    TX
134208   KNDPM3AC3J7482517   Kia         SPORTAGE            SAN FRANCISCO             CA
134209   KNDPM3AC3J7484896   Kia         SPORTAGE            Smithtown                 NY
134210   KNDPM3AC3J7485062   Kia         SPORTAGE            Schaumburg                IL
134211   KNDPM3AC3J7485403   Kia         SPORTAGE            BOSTON                    MA
134212   KNDPM3AC3K7491199   Kia         SPORTAGE            DETROIT                   MI
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134213   KNDPM3AC3K7494815   Kia         SPORTAGE            Houston                   TX
134214   KNDPM3AC3K7495088   Kia         SPORTAGE            MIAMI                     FL
134215   KNDPM3AC3K7495950   Kia         SPORTAGE            MARIETTA                  GA
134216   KNDPM3AC3K7500287   Kia         SPORTAGE            TAMPA                     FL
134217   KNDPM3AC3K7501214   Kia         SPORTAGE            MIAMI INT'L AP            FL
134218   KNDPM3AC3K7508535   Kia         SPORTAGE            LOS ANGELES               CA
134219   KNDPM3AC3K7510897   Kia         SPORTAGE            PHOENIX                   AZ
134220   KNDPM3AC3K7511421   Kia         SPORTAGE            HANOVER                   MD
134221   KNDPM3AC3K7511466   Kia         SPORTAGE            SARASOTA                  FL
134222   KNDPM3AC3K7511760   Kia         SPORTAGE            SARASOTA                  FL
134223   KNDPM3AC3K7511953   Kia         SPORTAGE            FORT MYERS                FL
134224   KNDPM3AC3K7511967   Kia         SPORTAGE            ORLANDO                   FL
134225   KNDPM3AC3K7512763   Kia         SPORTAGE            INGLEWOOD                 CA
134226   KNDPM3AC3K7512813   Kia         SPORTAGE            LOS ANGELES               CA
134227   KNDPM3AC3K7512925   Kia         SPORTAGE            Fairburn                  GA
134228   KNDPM3AC3K7513315   Kia         SPORTAGE            Phoenix                   AZ
134229   KNDPM3AC3K7513430   Kia         SPORTAGE            BULLHEAD CITY             AZ
134230   KNDPM3AC3K7513587   Kia         SPORTAGE            Hebron                    KY
134231   KNDPM3AC3K7513590   Kia         SPORTAGE            TAMPA                     US
134232   KNDPM3AC3K7513749   Kia         SPORTAGE            BURBANK                   CA
134233   KNDPM3AC3K7514836   Kia         SPORTAGE            STERLING                  VA
134234   KNDPM3AC3K7517221   Kia         SPORTAGE            DALLAS                    TX
134235   KNDPM3AC3K7580559   Kia         SPORTAGE            JACKSONVILLE              FL
134236   KNDPM3AC3K7581369   Kia         SPORTAGE            TAMPA                     FL
134237   KNDPM3AC3K7581758   Kia         SPORTAGE            ORLANDO                   FL
134238   KNDPM3AC3K7593764   Kia         SPORTAGE            TAMPA                     FL
134239   KNDPM3AC3K7594252   Kia         SPORTAGE            LAS VEGAS                 NV
134240   KNDPM3AC3K7594395   Kia         SPORTAGE            TAMPA                     FL
134241   KNDPM3AC3K7594493   Kia         SPORTAGE            Florissant                MO
134242   KNDPM3AC4H7215204   Kia         SPORTAGE            Miami                     FL
134243   KNDPM3AC4J7321481   Kia         SPORTAGE            Elkridge                  MD
134244   KNDPM3AC4J7329659   Kia         SPORTAGE            BURBANK                   CA
134245   KNDPM3AC4J7345036   Kia         SPORTAGE            Milwaukee                 WI
134246   KNDPM3AC4J7345344   Kia         SPORTAGE            Fort Lauderdale           FL
134247   KNDPM3AC4J7360541   Kia         SPORTAGE            Rockville Centr           NY
134248   KNDPM3AC4J7360944   Kia         SPORTAGE            ORLANDO                   FL
134249   KNDPM3AC4J7364928   Kia         SPORTAGE            WEST PALM BEACH           FL
134250   KNDPM3AC4J7402626   Kia         SPORTAGE            FORT MYERS                FL
134251   KNDPM3AC4J7422150   Kia         SPORTAGE            North Dighton             MA
134252   KNDPM3AC4J7422343   Kia         SPORTAGE            HANOVER                   MD
134253   KNDPM3AC4J7425016   Kia         SPORTAGE            North Dighton             MA
134254   KNDPM3AC4J7444875   Kia         SPORTAGE            FLORIDA DEALER DIR        FL
134255   KNDPM3AC4J7445931   Kia         SPORTAGE            FORT MYERS                FL
134256   KNDPM3AC4J7451325   Kia         SPORTAGE            Rock Hill                 SC
134257   KNDPM3AC4J7453432   Kia         SPORTAGE            ORLANDO                   FL
134258   KNDPM3AC4J7453916   Kia         SPORTAGE            Charlotte                 NC
134259   KNDPM3AC4J7453995   Kia         SPORTAGE            DALLAS                    TX
134260   KNDPM3AC4J7455410   Kia         SPORTAGE            BALDWIN                   NY
134261   KNDPM3AC4J7455746   Kia         SPORTAGE            TAMPA                     FL
134262   KNDPM3AC4J7458629   Kia         SPORTAGE            Smithtown                 NY
134263   KNDPM3AC4J7459859   Kia         SPORTAGE            LOS ANGELES               CA
134264   KNDPM3AC4J7463314   Kia         SPORTAGE            San Diego                 CA
134265   KNDPM3AC4J7463619   Kia         SPORTAGE            BURBANK                   CA
134266   KNDPM3AC4J7466679   Kia         SPORTAGE            Atlanta                   GA
134267   KNDPM3AC4J7469839   Kia         SPORTAGE            Charlotte                 NC
134268   KNDPM3AC4J7471154   Kia         SPORTAGE            Chicago                   IL
134269   KNDPM3AC4J7471381   Kia         SPORTAGE            CHICAGO                   IL
134270   KNDPM3AC4J7471543   Kia         SPORTAGE            KENNER                    LA
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134271   KNDPM3AC4J7471879   Kia         SPORTAGE            CHICAGO                   IL
134272   KNDPM3AC4J7472093   Kia         SPORTAGE            Hartford                  CT
134273   KNDPM3AC4J7472269   Kia         SPORTAGE            Houston                   TX
134274   KNDPM3AC4J7484924   Kia         SPORTAGE            RALEIGH                   NC
134275   KNDPM3AC4J7485085   Kia         SPORTAGE            Warminster                PA
134276   KNDPM3AC4K7491079   Kia         SPORTAGE            Hendersonville            TN
134277   KNDPM3AC4K7491616   Kia         SPORTAGE            SARASOTA                  FL
134278   KNDPM3AC4K7491695   Kia         SPORTAGE            Nashville                 TN
134279   KNDPM3AC4K7491700   Kia         SPORTAGE            Warminster                PA
134280   KNDPM3AC4K7491714   Kia         SPORTAGE            FORT MYERS                FL
134281   KNDPM3AC4K7495813   Kia         SPORTAGE            PITTSBURGH                PA
134282   KNDPM3AC4K7496038   Kia         SPORTAGE            Sterling                  VA
134283   KNDPM3AC4K7501223   Kia         SPORTAGE            Tampa                     FL
134284   KNDPM3AC4K7501853   Kia         SPORTAGE            TAMPA                     FL
134285   KNDPM3AC4K7502033   Kia         SPORTAGE            OAKLAND                   CA
134286   KNDPM3AC4K7502078   Kia         SPORTAGE            JACKSONVILLE              FL
134287   KNDPM3AC4K7502209   Kia         SPORTAGE            TAMPA                     FL
134288   KNDPM3AC4K7502663   Kia         SPORTAGE            Ft. Myers                 FL
134289   KNDPM3AC4K7502811   Kia         SPORTAGE            Clearwater                FL
134290   KNDPM3AC4K7506454   Kia         SPORTAGE            BURBANK                   CA
134291   KNDPM3AC4K7507717   Kia         SPORTAGE            Warminster                PA
134292   KNDPM3AC4K7507815   Kia         SPORTAGE            S. San Francisc           CA
134293   KNDPM3AC4K7507958   Kia         SPORTAGE            SEATAC                    WA
134294   KNDPM3AC4K7508107   Kia         SPORTAGE            NORTH PAC                 CA
134295   KNDPM3AC4K7508110   Kia         SPORTAGE            SAN JOSE                  CA
134296   KNDPM3AC4K7510083   Kia         SPORTAGE            LOS ANGELES               CA
134297   KNDPM3AC4K7510262   Kia         SPORTAGE            Manheim                   PA
134298   KNDPM3AC4K7511217   Kia         SPORTAGE            Kansas City               MO
134299   KNDPM3AC4K7511315   Kia         SPORTAGE            FORT LAUDERDALE           FL
134300   KNDPM3AC4K7511394   Kia         SPORTAGE            Orlando                   FL
134301   KNDPM3AC4K7511783   Kia         SPORTAGE            CLEVELAND                 OH
134302   KNDPM3AC4K7511850   Kia         SPORTAGE            ORLANDO                   FL
134303   KNDPM3AC4K7512805   Kia         SPORTAGE            SANTA ANA                 CA
134304   KNDPM3AC4K7512917   Kia         SPORTAGE            LOS ANGELES               CA
134305   KNDPM3AC4K7513100   Kia         SPORTAGE            Norwalk                   CA
134306   KNDPM3AC4K7513310   Kia         SPORTAGE            BURBANK                   CA
134307   KNDPM3AC4K7513422   Kia         SPORTAGE            SANTA ANA                 CA
134308   KNDPM3AC4K7513579   Kia         SPORTAGE            JACKSONVILLE              FL
134309   KNDPM3AC4K7513582   Kia         SPORTAGE            ORLANDO                   FL
134310   KNDPM3AC4K7513601   Kia         SPORTAGE            TAMPA                     FL
134311   KNDPM3AC4K7513792   Kia         SPORTAGE            RALEIGH                   NC
134312   KNDPM3AC4K7513999   Kia         SPORTAGE            SAN FRANCISCO             CA
134313   KNDPM3AC4K7515557   Kia         SPORTAGE            STERLING                  VA
134314   KNDPM3AC4K7516806   Kia         SPORTAGE            Orlando                   FL
134315   KNDPM3AC4K7575855   Kia         SPORTAGE            ORLANDO                   FL
134316   KNDPM3AC4K7580439   Kia         SPORTAGE            DETROIT                   MI
134317   KNDPM3AC4K7580456   Kia         SPORTAGE            DETROIT                   MI
134318   KNDPM3AC4K7580828   Kia         SPORTAGE            FORT MYERS                FL
134319   KNDPM3AC4K7581378   Kia         SPORTAGE            RALEIGH                   NC
134320   KNDPM3AC4K7585124   Kia         SPORTAGE            FORT MYERS                FL
134321   KNDPM3AC4K7585561   Kia         SPORTAGE            ORLANDO                   FL
134322   KNDPM3AC4K7593434   Kia         SPORTAGE            KENNER                    LA
134323   KNDPM3AC4K7593806   Kia         SPORTAGE            TAMPA                     FL
134324   KNDPM3AC4K7593997   Kia         SPORTAGE            Longmont                  CO
134325   KNDPM3AC4K7594504   Kia         SPORTAGE            MIAMI                     FL
134326   KNDPM3AC5H7230665   Kia         SPORTAGE            San Antonio               TX
134327   KNDPM3AC5J7315589   Kia         SPORTAGE            Las Vegas                 NV
134328   KNDPM3AC5J7319190   Kia         SPORTAGE            Fort Lauderdale           FL
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134329   KNDPM3AC5J7328925   Kia         SPORTAGE            LOS ANGELES               CA
134330   KNDPM3AC5J7380328   Kia         SPORTAGE            PROVIDENCE                RI
134331   KNDPM3AC5J7385898   Kia         SPORTAGE            DALLAS                    TX
134332   KNDPM3AC5J7402635   Kia         SPORTAGE            BURBANK                   CA
134333   KNDPM3AC5J7412923   Kia         SPORTAGE            DENVER                    CO
134334   KNDPM3AC5J7413070   Kia         SPORTAGE            Harvey                    LA
134335   KNDPM3AC5J7422383   Kia         SPORTAGE            ORLANDO                   FL
134336   KNDPM3AC5J7424473   Kia         SPORTAGE            TAMPA                     US
134337   KNDPM3AC5J7430967   Kia         SPORTAGE            Ventura                   CA
134338   KNDPM3AC5J7443248   Kia         SPORTAGE            Webster                   NY
134339   KNDPM3AC5J7445517   Kia         SPORTAGE            CHANDLER                  AZ
134340   KNDPM3AC5J7445789   Kia         SPORTAGE            Philadelphia              PA
134341   KNDPM3AC5J7448594   Kia         SPORTAGE            ORLANDO                   FL
134342   KNDPM3AC5J7450300   Kia         SPORTAGE            BURBANK                   CA
134343   KNDPM3AC5J7452385   Kia         SPORTAGE            EAST BOSTON               MA
134344   KNDPM3AC5J7453343   Kia         SPORTAGE            BOSTON                    MA
134345   KNDPM3AC5J7454556   Kia         SPORTAGE            Atlanta                   GA
134346   KNDPM3AC5J7455089   Kia         SPORTAGE            LAS VEGAS                 NV
134347   KNDPM3AC5J7455254   Kia         SPORTAGE            BALDWIN                   NY
134348   KNDPM3AC5J7455335   Kia         SPORTAGE            CHICAGO                   IL
134349   KNDPM3AC5J7458784   Kia         SPORTAGE            MIAMI                     FL
134350   KNDPM3AC5J7466884   Kia         SPORTAGE            RALEIGH                   NC
134351   KNDPM3AC5J7468389   Kia         SPORTAGE            CHARLOTTE                 NC
134352   KNDPM3AC5J7469820   Kia         SPORTAGE            Houston                   TX
134353   KNDPM3AC5J7470661   Kia         SPORTAGE            KNOXVILLE                 TN
134354   KNDPM3AC5J7470899   Kia         SPORTAGE            BURBANK                   CA
134355   KNDPM3AC5J7472054   Kia         SPORTAGE            FORT LAUDERDALE           FL
134356   KNDPM3AC5J7472443   Kia         SPORTAGE            Richmond                  VA
134357   KNDPM3AC5J7472541   Kia         SPORTAGE            BURBANK                   CA
134358   KNDPM3AC5J7472555   Kia         SPORTAGE            BOSTON                    MA
134359   KNDPM3AC5J7482325   Kia         SPORTAGE            FORT MYERS                FL
134360   KNDPM3AC5J7484320   Kia         SPORTAGE            NEW YORK DEALER DI        NJ
134361   KNDPM3AC5K7491074   Kia         SPORTAGE            SARASOTA                  FL
134362   KNDPM3AC5K7491222   Kia         SPORTAGE            JACKSONVILLE              FL
134363   KNDPM3AC5K7491706   Kia         SPORTAGE            FORT MYERS                FL
134364   KNDPM3AC5K7491818   Kia         SPORTAGE            FORT MYERS                FL
134365   KNDPM3AC5K7492029   Kia         SPORTAGE            NEW ENGLAND DEALER        MA
134366   KNDPM3AC5K7493455   Kia         SPORTAGE            FORT LAUDERDALE           FL
134367   KNDPM3AC5K7493939   Kia         SPORTAGE            Denver                    CO
134368   KNDPM3AC5K7495139   Kia         SPORTAGE            Philadelphia              PA
134369   KNDPM3AC5K7495805   Kia         SPORTAGE            SARASOTA                  FL
134370   KNDPM3AC5K7501537   Kia         SPORTAGE            ORLANDO                   FL
134371   KNDPM3AC5K7502817   Kia         SPORTAGE            ORLANDO                   FL
134372   KNDPM3AC5K7502929   Kia         SPORTAGE            Miami                     FL
134373   KNDPM3AC5K7506320   Kia         SPORTAGE            Boise                     ID
134374   KNDPM3AC5K7506334   Kia         SPORTAGE            Santa Clara               CA
134375   KNDPM3AC5K7506463   Kia         SPORTAGE            BURBANK                   CA
134376   KNDPM3AC5K7507600   Kia         SPORTAGE            DALLAS                    TX
134377   KNDPM3AC5K7508116   Kia         SPORTAGE            Sacramento                CA
134378   KNDPM3AC5K7508178   Kia         SPORTAGE            LOS ANGELES               CA
134379   KNDPM3AC5K7509329   Kia         SPORTAGE            SAN JOSE                  CA
134380   KNDPM3AC5K7510898   Kia         SPORTAGE            LOS ANGELES               CA
134381   KNDPM3AC5K7510982   Kia         SPORTAGE            Las Vegas                 NV
134382   KNDPM3AC5K7511291   Kia         SPORTAGE            SARASOTA                  FL
134383   KNDPM3AC5K7511582   Kia         SPORTAGE            WEST COLUMBIA             SC
134384   KNDPM3AC5K7511596   Kia         SPORTAGE            GRAND RAPIDS              MI
134385   KNDPM3AC5K7511954   Kia         SPORTAGE            Charlotte                 NC
134386   KNDPM3AC5K7512148   Kia         SPORTAGE            Statesville               NC
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134387   KNDPM3AC5K7512442   Kia         SPORTAGE            ROCHESTER                 NY
134388   KNDPM3AC5K7512716   Kia         SPORTAGE            SAN JOSE                  CA
134389   KNDPM3AC5K7512926   Kia         SPORTAGE            EL PASO                   TX
134390   KNDPM3AC5K7513199   Kia         SPORTAGE            SAN FRANCISCO             CA
134391   KNDPM3AC5K7513347   Kia         SPORTAGE            LOS ANGELES               CA
134392   KNDPM3AC5K7513557   Kia         SPORTAGE            MARY ESTHER               FL
134393   KNDPM3AC5K7513591   Kia         SPORTAGE            INDIANAPOLIS              IN
134394   KNDPM3AC5K7513896   Kia         SPORTAGE            BURLINGAME                CA
134395   KNDPM3AC5K7514868   Kia         SPORTAGE            ATLANTA                   GA
134396   KNDPM3AC5K7514935   Kia         SPORTAGE            SAN ANTONIO               TX
134397   KNDPM3AC5K7515082   Kia         SPORTAGE            CHARLOTTE                 NC
134398   KNDPM3AC5K7515115   Kia         SPORTAGE            Milwaukee                 WI
134399   KNDPM3AC5K7581194   Kia         SPORTAGE            ORLANDO                   FL
134400   KNDPM3AC5K7581342   Kia         SPORTAGE            ORLANDO                   FL
134401   KNDPM3AC5K7585522   Kia         SPORTAGE            Nashville                 TN
134402   KNDPM3AC5K7592552   Kia         SPORTAGE            GAINESVILLE               FL
134403   KNDPM3AC5K7593488   Kia         SPORTAGE            LAS VEGAS                 NV
134404   KNDPM3AC5K7593698   Kia         SPORTAGE            FORT MYERS                FL
134405   KNDPM3AC5K7593801   Kia         SPORTAGE            SAN ANTONIO               TX
134406   KNDPM3AC5K7594432   Kia         SPORTAGE            Pompano Beach             FL
134407   KNDPM3AC6J7311731   Kia         SPORTAGE            DANIA BEACH               FL
134408   KNDPM3AC6J7312524   Kia         SPORTAGE            Miami                     FL
134409   KNDPM3AC6J7321479   Kia         SPORTAGE            DAYTONA BEACH             FL
134410   KNDPM3AC6J7345605   Kia         SPORTAGE            Detroit                   MI
134411   KNDPM3AC6J7378779   Kia         SPORTAGE            FT LAUDERDALE             FL
134412   KNDPM3AC6J7379253   Kia         SPORTAGE            CHICAGO                   IL
134413   KNDPM3AC6J7380175   Kia         SPORTAGE            Euless                    TX
134414   KNDPM3AC6J7390706   Kia         SPORTAGE            BOSTON                    MA
134415   KNDPM3AC6J7394755   Kia         SPORTAGE            DALLAS                    TX
134416   KNDPM3AC6J7400439   Kia         SPORTAGE            NORTH HOLLYWOOD           CA
134417   KNDPM3AC6J7413062   Kia         SPORTAGE            SAN ANTONIO               TX
134418   KNDPM3AC6J7429648   Kia         SPORTAGE            SAN JOSE                  CA
134419   KNDPM3AC6J7429780   Kia         SPORTAGE            AUSTIN                    TX
134420   KNDPM3AC6J7445266   Kia         SPORTAGE            Smithtown                 NY
134421   KNDPM3AC6J7445932   Kia         SPORTAGE            Marietta                  GA
134422   KNDPM3AC6J7449382   Kia         SPORTAGE            SAINT PAUL                MN
134423   KNDPM3AC6J7453447   Kia         SPORTAGE            BURBANK                   CA
134424   KNDPM3AC6J7454744   Kia         SPORTAGE            Webster                   NY
134425   KNDPM3AC6J7455568   Kia         SPORTAGE            PHOENIX                   AZ
134426   KNDPM3AC6J7455957   Kia         SPORTAGE            Hartford                  CT
134427   KNDPM3AC6J7458843   Kia         SPORTAGE            Los Angeles               CA
134428   KNDPM3AC6J7468322   Kia         SPORTAGE            n hollywood               ca
134429   KNDPM3AC6J7469938   Kia         SPORTAGE            LUBBOCK                   TX
134430   KNDPM3AC6J7470152   Kia         SPORTAGE            DAYTONA BEACH             FL
134431   KNDPM3AC6J7470426   Kia         SPORTAGE            JACKSONVILLE              FL
134432   KNDPM3AC6J7470507   Kia         SPORTAGE            DANIA BEACH               FL
134433   KNDPM3AC6J7472323   Kia         SPORTAGE            SHREVEPORT                LA
134434   KNDPM3AC6J7472502   Kia         SPORTAGE            Atlanta                   GA
134435   KNDPM3AC6J7473584   Kia         SPORTAGE            LAS VEGAS                 NV
134436   KNDPM3AC6J7484326   Kia         SPORTAGE            Johnston                  RI
134437   KNDPM3AC6J7484441   Kia         SPORTAGE            Windsor Locks             CT
134438   KNDPM3AC6J7488702   Kia         SPORTAGE            BURBANK                   CA
134439   KNDPM3AC6K7490984   Kia         SPORTAGE            DARLINGTON                SC
134440   KNDPM3AC6K7491049   Kia         SPORTAGE            FORT MYERS                FL
134441   KNDPM3AC6K7491097   Kia         SPORTAGE            FORT MYERS                FL
134442   KNDPM3AC6K7491388   Kia         SPORTAGE            DALLAS FORT WORTH AP      TX
134443   KNDPM3AC6K7491598   Kia         SPORTAGE            FORT MYERS                FL
134444   KNDPM3AC6K7491715   Kia         SPORTAGE            WEST PALM BEACH           FL
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134445   KNDPM3AC6K7492069   Kia         SPORTAGE            Sarasota                  FL
134446   KNDPM3AC6K7493576   Kia         SPORTAGE            Manheim                   PA
134447   KNDPM3AC6K7493688   Kia         SPORTAGE            KANSAS CITY               MO
134448   KNDPM3AC6K7495828   Kia         SPORTAGE            FORT LAUDERDALE           FL
134449   KNDPM3AC6K7496056   Kia         SPORTAGE            MIAMI                     FL
134450   KNDPM3AC6K7496378   Kia         SPORTAGE            Rock Hill                 SC
134451   KNDPM3AC6K7501546   Kia         SPORTAGE            Houston                   TX
134452   KNDPM3AC6K7501644   Kia         SPORTAGE            TAMPA                     FL
134453   KNDPM3AC6K7502115   Kia         SPORTAGE            Tampa                     FL
134454   KNDPM3AC6K7507718   Kia         SPORTAGE            FORT LAUDERDALE           FL
134455   KNDPM3AC6K7508349   Kia         SPORTAGE            Honolulu                  HI
134456   KNDPM3AC6K7508366   Kia         SPORTAGE            Irving                    TX
134457   KNDPM3AC6K7509193   Kia         SPORTAGE            SAN FRANCISCO             CA
134458   KNDPM3AC6K7509923   Kia         SPORTAGE            BURBANK                   CA
134459   KNDPM3AC6K7510067   Kia         SPORTAGE            BURBANK                   CA
134460   KNDPM3AC6K7511378   Kia         SPORTAGE            ORLANDO                   FL
134461   KNDPM3AC6K7511395   Kia         SPORTAGE            SAN ANTONIO               TX
134462   KNDPM3AC6K7511400   Kia         SPORTAGE            Richmond                  VA
134463   KNDPM3AC6K7511462   Kia         SPORTAGE            FORT MYERS                FL
134464   KNDPM3AC6K7511509   Kia         SPORTAGE            TAMPA                     FL
134465   KNDPM3AC6K7511851   Kia         SPORTAGE            FORT MYERS                FL
134466   KNDPM3AC6K7512255   Kia         SPORTAGE            TAMPA                     US
134467   KNDPM3AC6K7512918   Kia         SPORTAGE            TRACY                     CA
134468   KNDPM3AC6K7513549   Kia         SPORTAGE            ORLANDO                   FL
134469   KNDPM3AC6K7513647   Kia         SPORTAGE            Manheim                   PA
134470   KNDPM3AC6K7513731   Kia         SPORTAGE            TRACY                     CA
134471   KNDPM3AC6K7514006   Kia         SPORTAGE            BURBANK                   CA
134472   KNDPM3AC6K7515057   Kia         SPORTAGE            Miami                     FL
134473   KNDPM3AC6K7515219   Kia         SPORTAGE            Tolleson                  AZ
134474   KNDPM3AC6K7515740   Kia         SPORTAGE            FORT LAUDERDALE           FL
134475   KNDPM3AC6K7516399   Kia         SPORTAGE            HOUSTON                   TX
134476   KNDPM3AC6K7516404   Kia         SPORTAGE            ST Paul                   MN
134477   KNDPM3AC6K7516998   Kia         SPORTAGE            SAN DIEGO                 CA
134478   KNDPM3AC6K7552416   Kia         SPORTAGE            DALLAS                    TX
134479   KNDPM3AC6K7580457   Kia         SPORTAGE            LOS ANGELES AP            CA
134480   KNDPM3AC6K7584606   Kia         SPORTAGE            BLOOMINGTON               IL
134481   KNDPM3AC6K7585576   Kia         SPORTAGE            Detroit                   MI
134482   KNDPM3AC6K7593564   Kia         SPORTAGE            TAMPA                     FL
134483   KNDPM3AC6K7593595   Kia         SPORTAGE            Phoenix                   AZ
134484   KNDPM3AC6K7593676   Kia         SPORTAGE            TAMPA                     FL
134485   KNDPM3AC6K7593807   Kia         SPORTAGE            ORLANDO                   FL
134486   KNDPM3AC6K7593855   Kia         SPORTAGE            DFW AIRPORT               TX
134487   KNDPM3AC6K7594164   Kia         SPORTAGE            CHICAGO                   IL
134488   KNDPM3AC6K7594326   Kia         SPORTAGE            FORT MYERS                FL
134489   KNDPM3AC6K7597131   Kia         SPORTAGE            FORT MYERS                FL
134490   KNDPM3AC7H7087119   Kia         SPORTAGE            BURLINGAME                CA
134491   KNDPM3AC7H7177306   Kia         SPORTAGE            Newport Beach             CA
134492   KNDPM3AC7J7302097   Kia         SPORTAGE            DANIA BEACH               FL
134493   KNDPM3AC7J7315013   Kia         SPORTAGE            BURBANK                   CA
134494   KNDPM3AC7J7329400   Kia         SPORTAGE            NORTH PAC                 CA
134495   KNDPM3AC7J7351297   Kia         SPORTAGE            Davie                     FL
134496   KNDPM3AC7J7379097   Kia         SPORTAGE            SARASOTA                  FL
134497   KNDPM3AC7J7413538   Kia         SPORTAGE            Euless                    TX
134498   KNDPM3AC7J7422689   Kia         SPORTAGE            Mira Loma                 CA
134499   KNDPM3AC7J7424183   Kia         SPORTAGE            Slidell                   LA
134500   KNDPM3AC7J7424927   Kia         SPORTAGE            CHARLOTTE                 NC
134501   KNDPM3AC7J7424930   Kia         SPORTAGE            IRVING                    TX
134502   KNDPM3AC7J7445518   Kia         SPORTAGE            Miami                     FL
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134503   KNDPM3AC7J7445633   Kia         SPORTAGE            DFW AIRPORT               TX
134504   KNDPM3AC7J7445910   Kia         SPORTAGE            STERLING                  VA
134505   KNDPM3AC7J7447267   Kia         SPORTAGE            Ocoee                     FL
134506   KNDPM3AC7J7451433   Kia         SPORTAGE            Sanford                   FL
134507   KNDPM3AC7J7451688   Kia         SPORTAGE            N MIAMI BEACH             FL
134508   KNDPM3AC7J7452534   Kia         SPORTAGE            Port Newark               NJ
134509   KNDPM3AC7J7454185   Kia         SPORTAGE            SACRAMENTO                CA
134510   KNDPM3AC7J7454851   Kia         SPORTAGE            FORT LAUDERDALE           FL
134511   KNDPM3AC7J7463419   Kia         SPORTAGE            SEATAC                    WA
134512   KNDPM3AC7J7463436   Kia         SPORTAGE            SPRINGFIELD               VA
134513   KNDPM3AC7J7466840   Kia         SPORTAGE            WEST PALM BEACH           FL
134514   KNDPM3AC7J7467311   Kia         SPORTAGE            Detroit                   MI
134515   KNDPM3AC7J7468166   Kia         SPORTAGE            FT. LAUDERDALE            FL
134516   KNDPM3AC7J7470483   Kia         SPORTAGE            Honolulu                  HI
134517   KNDPM3AC7J7470659   Kia         SPORTAGE            Florissant                MO
134518   KNDPM3AC7J7470872   Kia         SPORTAGE            ONTARIO                   CA
134519   KNDPM3AC7J7472296   Kia         SPORTAGE            N. Palm Beach             FL
134520   KNDPM3AC7J7472301   Kia         SPORTAGE            DAYTONA BEACH             FL
134521   KNDPM3AC7J7483850   Kia         SPORTAGE            Richmond                  VA
134522   KNDPM3AC7J7484416   Kia         SPORTAGE            North Dighton             MA
134523   KNDPM3AC7J7488479   Kia         SPORTAGE            BURBANK                   CA
134524   KNDPM3AC7K7490976   Kia         SPORTAGE            Charlotte                 NC
134525   KNDPM3AC7K7491089   Kia         SPORTAGE            Richmond                  VA
134526   KNDPM3AC7K7491092   Kia         SPORTAGE            STERLING                  VA
134527   KNDPM3AC7K7491268   Kia         SPORTAGE            CHICAGO                   IL
134528   KNDPM3AC7K7492081   Kia         SPORTAGE            Winston‐Salem             NC
134529   KNDPM3AC7K7494655   Kia         SPORTAGE            TAMPA                     FL
134530   KNDPM3AC7K7495126   Kia         SPORTAGE            ORLANDO                   FL
134531   KNDPM3AC7K7495840   Kia         SPORTAGE            Hamilton                  OH
134532   KNDPM3AC7K7500650   Kia         SPORTAGE            MATTHEWS                  NC
134533   KNDPM3AC7K7501443   Kia         SPORTAGE            Baltimore                 MD
134534   KNDPM3AC7K7501815   Kia         SPORTAGE            ORLANDO                   FL
134535   KNDPM3AC7K7502222   Kia         SPORTAGE            WEST PALM BEACH           FL
134536   KNDPM3AC7K7503628   Kia         SPORTAGE            ORLANDO                   FL
134537   KNDPM3AC7K7504276   Kia         SPORTAGE            TAMPA                     FL
134538   KNDPM3AC7K7507727   Kia         SPORTAGE            SACRAMENTO                CA
134539   KNDPM3AC7K7510126   Kia         SPORTAGE            SEATAC                    WA
134540   KNDPM3AC7K7511311   Kia         SPORTAGE            Atlanta                   GA
134541   KNDPM3AC7K7511342   Kia         SPORTAGE            FORT MYERS                FL
134542   KNDPM3AC7K7511387   Kia         SPORTAGE            Atlanta                   GA
134543   KNDPM3AC7K7511521   Kia         SPORTAGE            FORT LAUDERDALE           FL
134544   KNDPM3AC7K7511583   Kia         SPORTAGE            Denver                    CO
134545   KNDPM3AC7K7512202   Kia         SPORTAGE            Charlotte                 NC
134546   KNDPM3AC7K7513141   Kia         SPORTAGE            OAKLAND                   CA
134547   KNDPM3AC7K7513642   Kia         SPORTAGE            ORLANDO                   FL
134548   KNDPM3AC7K7513687   Kia         SPORTAGE            HANOVER                   MD
134549   KNDPM3AC7K7513723   Kia         SPORTAGE            WEST PALM BEACH           FL
134550   KNDPM3AC7K7513835   Kia         SPORTAGE            ORLANDO                   FL
134551   KNDPM3AC7K7514841   Kia         SPORTAGE            SEATAC                    WA
134552   KNDPM3AC7K7580516   Kia         SPORTAGE            ORLANDO                   FL
134553   KNDPM3AC7K7581486   Kia         SPORTAGE            Hamilton                  OH
134554   KNDPM3AC7K7581701   Kia         SPORTAGE            ORLANDO                   FL
134555   KNDPM3AC7K7584534   Kia         SPORTAGE            CHARLESTON                SC
134556   KNDPM3AC7K7584663   Kia         SPORTAGE            FORT MYERS                FL
134557   KNDPM3AC7K7592553   Kia         SPORTAGE            ST Paul                   MN
134558   KNDPM3AC7K7593251   Kia         SPORTAGE            Pensacola                 FL
134559   KNDPM3AC7K7593265   Kia         SPORTAGE            HOUSTON                   TX
134560   KNDPM3AC7K7593332   Kia         SPORTAGE            ST Paul                   MN
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134561   KNDPM3AC7K7593427   Kia         SPORTAGE            DANIA BEACH               FL
134562   KNDPM3AC7K7593492   Kia         SPORTAGE            ORLANDO                   FL
134563   KNDPM3AC7K7593654   Kia         SPORTAGE            FORT MYERS                FL
134564   KNDPM3AC7K7593671   Kia         SPORTAGE            FORT LAUDERDALE           FL
134565   KNDPM3AC7K7594349   Kia         SPORTAGE            CHICAGO                   IL
134566   KNDPM3AC7K7594397   Kia         SPORTAGE            FORT MYERS                FL
134567   KNDPM3AC7L7651215   Kia         SPORTAGE            EULESS                    TX
134568   KNDPM3AC8J7375205   Kia         SPORTAGE            SAN DIEGO                 CA
134569   KNDPM3AC8J7381120   Kia         SPORTAGE            DANIA BEACH               FL
134570   KNDPM3AC8J7381151   Kia         SPORTAGE            SALT LAKE CITY            UT
134571   KNDPM3AC8J7382106   Kia         SPORTAGE            Miami                     FL
134572   KNDPM3AC8J7382350   Kia         SPORTAGE            Marietta                  GA
134573   KNDPM3AC8J7391064   Kia         SPORTAGE            WEST PALM BEACH           FL
134574   KNDPM3AC8J7394854   Kia         SPORTAGE            San Antonio               TX
134575   KNDPM3AC8J7401141   Kia         SPORTAGE            Norwalk                   CA
134576   KNDPM3AC8J7401611   Kia         SPORTAGE            BURBANK                   CA
134577   KNDPM3AC8J7420577   Kia         SPORTAGE            FLORIDA DEALER DIR        FL
134578   KNDPM3AC8J7430333   Kia         SPORTAGE            BURBANK                   CA
134579   KNDPM3AC8J7444961   Kia         SPORTAGE            Pompano Beach             FL
134580   KNDPM3AC8J7445043   Kia         SPORTAGE            Winter Park               FL
134581   KNDPM3AC8J7445222   Kia         SPORTAGE            SAN ANTONIO               TX
134582   KNDPM3AC8J7445639   Kia         SPORTAGE            GLENOLDEN                 PA
134583   KNDPM3AC8J7447780   Kia         SPORTAGE            NORTH PAC                 CA
134584   KNDPM3AC8J7447956   Kia         SPORTAGE            SAN DIEGO                 CA
134585   KNDPM3AC8J7450047   Kia         SPORTAGE            FORT LAUDERDALE           FL
134586   KNDPM3AC8J7450176   Kia         SPORTAGE            Matteson                  IL
134587   KNDPM3AC8J7450422   Kia         SPORTAGE            LOS ANGELES               CA
134588   KNDPM3AC8J7450484   Kia         SPORTAGE            DAYTONA BEACH             FL
134589   KNDPM3AC8J7452526   Kia         SPORTAGE            DANIA BEACH               FL
134590   KNDPM3AC8J7453711   Kia         SPORTAGE            SAN DIEGO                 CA
134591   KNDPM3AC8J7454809   Kia         SPORTAGE            DALLAS                    TX
134592   KNDPM3AC8J7455068   Kia         SPORTAGE            SANTA ANA                 CA
134593   KNDPM3AC8J7455328   Kia         SPORTAGE            ORLANDO                   FL
134594   KNDPM3AC8J7455376   Kia         SPORTAGE            CHARLOTTE                 NC
134595   KNDPM3AC8J7455572   Kia         SPORTAGE            ATLANTA                   GA
134596   KNDPM3AC8J7455653   Kia         SPORTAGE            Atlanta                   GA
134597   KNDPM3AC8J7466927   Kia         SPORTAGE            FT LAUDERDALE             FL
134598   KNDPM3AC8J7467317   Kia         SPORTAGE            UNION CITY                GA
134599   KNDPM3AC8J7469696   Kia         SPORTAGE            SAN ANTONIO               TX
134600   KNDPM3AC8J7469827   Kia         SPORTAGE            SAN ANTONIO               TX
134601   KNDPM3AC8J7471416   Kia         SPORTAGE            SAINT PAUL                MN
134602   KNDPM3AC8J7471884   Kia         SPORTAGE            TAMPA                     FL
134603   KNDPM3AC8J7471948   Kia         SPORTAGE            SAN DIEGO                 CA
134604   KNDPM3AC8J7471982   Kia         SPORTAGE            BURBANK                   CA
134605   KNDPM3AC8J7472498   Kia         SPORTAGE            CHARLOTTE                 NC
134606   KNDPM3AC8J7484182   Kia         SPORTAGE            RALEIGH                   NC
134607   KNDPM3AC8J7484442   Kia         SPORTAGE            DALLAS                    TX
134608   KNDPM3AC8J7484943   Kia         SPORTAGE            BOSTON                    MA
134609   KNDPM3AC8J7485056   Kia         SPORTAGE            BOSTON                    MA
134610   KNDPM3AC8J7488040   Kia         SPORTAGE            LAS VEGAS                 NV
134611   KNDPM3AC8K7491120   Kia         SPORTAGE            TAMPA                     FL
134612   KNDPM3AC8K7491201   Kia         SPORTAGE            COLUMBIA                  SC
134613   KNDPM3AC8K7492011   Kia         SPORTAGE            FORT LAUDERDALE           FL
134614   KNDPM3AC8K7494499   Kia         SPORTAGE            TAMPA                     FL
134615   KNDPM3AC8K7495961   Kia         SPORTAGE            PALM SPRINGS              CA
134616   KNDPM3AC8K7500558   Kia         SPORTAGE            MATTHEWS                  NC
134617   KNDPM3AC8K7501645   Kia         SPORTAGE            Tampa                     FL
134618   KNDPM3AC8K7502200   Kia         SPORTAGE            TAMPA                     FL
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134619   KNDPM3AC8K7502407   Kia         SPORTAGE            San Antonio               TX
134620   KNDPM3AC8K7502813   Kia         SPORTAGE            MIAMI                     FL
134621   KNDPM3AC8K7502939   Kia         SPORTAGE            WEST PALM BEACH           FL
134622   KNDPM3AC8K7507722   Kia         SPORTAGE            FRESNO                    CA
134623   KNDPM3AC8K7507767   Kia         SPORTAGE            Hebron                    KY
134624   KNDPM3AC8K7509227   Kia         SPORTAGE            FORT MYERS                FL
134625   KNDPM3AC8K7510068   Kia         SPORTAGE            NORTH PAC                 CA
134626   KNDPM3AC8K7510992   Kia         SPORTAGE            Lake Elsinore             CA
134627   KNDPM3AC8K7511320   Kia         SPORTAGE            DANIA BEACH               FL
134628   KNDPM3AC8K7511348   Kia         SPORTAGE            PHOENIX                   AZ
134629   KNDPM3AC8K7511401   Kia         SPORTAGE            WEST PALM BEACH           FL
134630   KNDPM3AC8K7511785   Kia         SPORTAGE            LAS VEGAS                 NV
134631   KNDPM3AC8K7512144   Kia         SPORTAGE            DALLAS                    TX
134632   KNDPM3AC8K7512208   Kia         SPORTAGE            SANFORD                   FL
134633   KNDPM3AC8K7512242   Kia         SPORTAGE            FORT LAUDERDALE           FL
134634   KNDPM3AC8K7512712   Kia         SPORTAGE            NORTH PAC                 CA
134635   KNDPM3AC8K7513066   Kia         SPORTAGE            LOS ANGELES               CA
134636   KNDPM3AC8K7513259   Kia         SPORTAGE            Norwalk                   CA
134637   KNDPM3AC8K7513388   Kia         SPORTAGE            LOS ANGELES               CA
134638   KNDPM3AC8K7513763   Kia         SPORTAGE            SEATAC                    WA
134639   KNDPM3AC8K7513780   Kia         SPORTAGE            Houston                   TX
134640   KNDPM3AC8K7513861   Kia         SPORTAGE            Tolleson                  AZ
134641   KNDPM3AC8K7514864   Kia         SPORTAGE            Burien                    WA
134642   KNDPM3AC8K7514962   Kia         SPORTAGE            ORLANDO                   FL
134643   KNDPM3AC8K7515089   Kia         SPORTAGE            N. Las Vegas              NV
134644   KNDPM3AC8K7515190   Kia         SPORTAGE            Houston                   TX
134645   KNDPM3AC8K7516775   Kia         SPORTAGE            Irving                    TX
134646   KNDPM3AC8K7517022   Kia         SPORTAGE            DALLAS                    TX
134647   KNDPM3AC8K7582145   Kia         SPORTAGE            ORLANDO                   FL
134648   KNDPM3AC8K7585627   Kia         SPORTAGE            ORLANDO                   FL
134649   KNDPM3AC8K7585675   Kia         SPORTAGE            Orlando                   FL
134650   KNDPM3AC8K7592772   Kia         SPORTAGE            KENNER                    LA
134651   KNDPM3AC8K7592870   Kia         SPORTAGE            FORT MYERS                FL
134652   KNDPM3AC8K7593615   Kia         SPORTAGE            Hendersonville            TN
134653   KNDPM3AC8K7593825   Kia         SPORTAGE            SAN DIEGO                 CA
134654   KNDPM3AC8K7593842   Kia         SPORTAGE            HOUSTON                   TX
134655   KNDPM3AC8K7593856   Kia         SPORTAGE            ONTARIO                   CA
134656   KNDPM3AC8K7593940   Kia         SPORTAGE            TAMPA                     FL
134657   KNDPM3AC8K7593971   Kia         SPORTAGE            TRACY                     CA
134658   KNDPM3AC8K7593985   Kia         SPORTAGE            Live Oak                  TX
134659   KNDPM3AC9H7043414   Kia         SPORTAGE            Detroit                   MI
134660   KNDPM3AC9J7316888   Kia         SPORTAGE            DAYTONA BEACH             FL
134661   KNDPM3AC9J7319077   Kia         SPORTAGE            Teterboro                 NJ
134662   KNDPM3AC9J7319547   Kia         SPORTAGE            Miami                     FL
134663   KNDPM3AC9J7322979   Kia         SPORTAGE            FORT MYERS                FL
134664   KNDPM3AC9J7323002   Kia         SPORTAGE            N MIAMI BEACH             FL
134665   KNDPM3AC9J7358980   Kia         SPORTAGE            STERLING                  VA
134666   KNDPM3AC9J7365377   Kia         SPORTAGE            KENNER                    LA
134667   KNDPM3AC9J7375827   Kia         SPORTAGE            BURBANK                   CA
134668   KNDPM3AC9J7402475   Kia         SPORTAGE            North Dighton             MA
134669   KNDPM3AC9J7445424   Kia         SPORTAGE            San Antonio               TX
134670   KNDPM3AC9J7445875   Kia         SPORTAGE            North Dighton             MA
134671   KNDPM3AC9J7448646   Kia         SPORTAGE            Fort Lauderdale           FL
134672   KNDPM3AC9J7450686   Kia         SPORTAGE            SOUTHEAST DST OFFC        OK
134673   KNDPM3AC9J7451255   Kia         SPORTAGE            Manheim                   PA
134674   KNDPM3AC9J7452390   Kia         SPORTAGE            MOBILE                    A
134675   KNDPM3AC9J7452745   Kia         SPORTAGE            Coraopolis                PA
134676   KNDPM3AC9J7453331   Kia         SPORTAGE            Ft. Myers                 FL
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134677   KNDPM3AC9J7453362   Kia         SPORTAGE            Tampa                     FL
134678   KNDPM3AC9J7454513   Kia         SPORTAGE            WEST PALM BEACH           FL
134679   KNDPM3AC9J7454608   Kia         SPORTAGE            DALLAS                    TX
134680   KNDPM3AC9J7454852   Kia         SPORTAGE            ATLANTA                   GA
134681   KNDPM3AC9J7456388   Kia         SPORTAGE            PHILADELPHIA              PA
134682   KNDPM3AC9J7457363   Kia         SPORTAGE            KENNER                    LA
134683   KNDPM3AC9J7458304   Kia         SPORTAGE            BOSTON                    MA
134684   KNDPM3AC9J7467455   Kia         SPORTAGE            FOND DU LAC               WI
134685   KNDPM3AC9J7467570   Kia         SPORTAGE            Sanford                   FL
134686   KNDPM3AC9J7469173   Kia         SPORTAGE            REDWOOD CITY              CA
134687   KNDPM3AC9J7470632   Kia         SPORTAGE            BOSTON                    MA
134688   KNDPM3AC9J7471117   Kia         SPORTAGE            DENVER                    CO
134689   KNDPM3AC9J7472154   Kia         SPORTAGE            ORLANDO                   FL
134690   KNDPM3AC9J7472171   Kia         SPORTAGE            FORT LAUDERDALE           FL
134691   KNDPM3AC9J7484322   Kia         SPORTAGE            Coraopolis                PA
134692   KNDPM3AC9J7485051   Kia         SPORTAGE            WHITE PLAINS              NY
134693   KNDPM3AC9K7491188   Kia         SPORTAGE            ORLANDO                   FL
134694   KNDPM3AC9K7491191   Kia         SPORTAGE            Atlanta                   GA
134695   KNDPM3AC9K7491448   Kia         SPORTAGE            PHILADELPHIA              PA
134696   KNDPM3AC9K7492065   Kia         SPORTAGE            FORT MYERS                FL
134697   KNDPM3AC9K7492213   Kia         SPORTAGE            WEST PALM BEACH           FL
134698   KNDPM3AC9K7495127   Kia         SPORTAGE            TAMPA                     FL
134699   KNDPM3AC9K7495130   Kia         SPORTAGE            TAMPA                     FL
134700   KNDPM3AC9K7500729   Kia         SPORTAGE            WEST PALM BEACH           FL
134701   KNDPM3AC9K7501024   Kia         SPORTAGE            FORT LAUDERDALE           FL
134702   KNDPM3AC9K7501377   Kia         SPORTAGE            FORT LAUDERDALE           FL
134703   KNDPM3AC9K7501556   Kia         SPORTAGE            JACKSONVILLE              FL
134704   KNDPM3AC9K7502402   Kia         SPORTAGE            STERLING                  VA
134705   KNDPM3AC9K7502836   Kia         SPORTAGE            FORT MYERS                FL
134706   KNDPM3AC9K7504277   Kia         SPORTAGE            ORLANDO                   FL
134707   KNDPM3AC9K7507826   Kia         SPORTAGE            Tampa                     FL
134708   KNDPM3AC9K7507955   Kia         SPORTAGE            BURBANK                   CA
134709   KNDPM3AC9K7508734   Kia         SPORTAGE            DALLAS                    TX
134710   KNDPM3AC9K7509334   Kia         SPORTAGE            SAN FRANCISCO             CA
134711   KNDPM3AC9K7510077   Kia         SPORTAGE            SANTA ANA                 CA
134712   KNDPM3AC9K7510130   Kia         SPORTAGE            Lynn                      MA
134713   KNDPM3AC9K7510984   Kia         SPORTAGE            LOS ANGELES               CA
134714   KNDPM3AC9K7511200   Kia         SPORTAGE            MIAMI                     FL
134715   KNDPM3AC9K7511570   Kia         SPORTAGE            FORT LAUDERDALE           FL
134716   KNDPM3AC9K7511746   Kia         SPORTAGE            NAPLES                    FL
134717   KNDPM3AC9K7512430   Kia         SPORTAGE            COLLEGE PARK              GA
134718   KNDPM3AC9K7512931   Kia         SPORTAGE            BURBANK                   CA
134719   KNDPM3AC9K7513528   Kia         SPORTAGE            Phoenix                   AZ
134720   KNDPM3AC9K7513867   Kia         SPORTAGE            SAN DIEGO                 CA
134721   KNDPM3AC9K7514002   Kia         SPORTAGE            DALLAS                    TX
134722   KNDPM3AC9K7514310   Kia         SPORTAGE            SANTA ANA                 CA
134723   KNDPM3AC9K7514839   Kia         SPORTAGE            CHARLOTTE                 NC
134724   KNDPM3AC9K7516803   Kia         SPORTAGE            Austin                    TX
134725   KNDPM3AC9K7517448   Kia         SPORTAGE            TAMPA                     FL
134726   KNDPM3AC9K7517451   Kia         SPORTAGE            Tolleson                  AZ
134727   KNDPM3AC9K7552944   Kia         SPORTAGE            ORLANDO                   FL
134728   KNDPM3AC9K7568352   Kia         SPORTAGE            JACKSONVILLE              FL
134729   KNDPM3AC9K7580288   Kia         SPORTAGE            TAMPA                     FL
134730   KNDPM3AC9K7580436   Kia         SPORTAGE            ATLANTA                   GA
134731   KNDPM3AC9K7593302   Kia         SPORTAGE            BURBANK                   CA
134732   KNDPM3AC9K7594059   Kia         SPORTAGE            SALT LAKE CITY            US
134733   KNDPM3AC9K7594238   Kia         SPORTAGE            HANOVER                   MD
134734   KNDPM3ACXH7209374   Kia         SPORTAGE            MIAMI                     FL
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134735   KNDPM3ACXJ7311859   Kia         SPORTAGE            North Dighton             MA
134736   KNDPM3ACXJ7317466   Kia         SPORTAGE            N MIAMI BEACH             FL
134737   KNDPM3ACXJ7323283   Kia         SPORTAGE            DANIA BEACH               FL
134738   KNDPM3ACXJ7346367   Kia         SPORTAGE            Rock Hill                 SC
134739   KNDPM3ACXJ7374668   Kia         SPORTAGE            MATTHEWS                  NC
134740   KNDPM3ACXJ7379465   Kia         SPORTAGE            HARVEY                    LA
134741   KNDPM3ACXJ7380504   Kia         SPORTAGE            MIDDLE RIVER              MD
134742   KNDPM3ACXJ7381202   Kia         SPORTAGE            SOUTHEAST DST OFFC        OK
134743   KNDPM3ACXJ7382530   Kia         SPORTAGE            MIAMI                     FL
134744   KNDPM3ACXJ7399506   Kia         SPORTAGE            WEST PALM BEACH           FL
134745   KNDPM3ACXJ7424193   Kia         SPORTAGE            PITTSBURGH                PA
134746   KNDPM3ACXJ7430737   Kia         SPORTAGE            BURBANK                   CA
134747   KNDPM3ACXJ7444766   Kia         SPORTAGE            Irving                    TX
134748   KNDPM3ACXJ7444931   Kia         SPORTAGE            HANOVER                   MD
134749   KNDPM3ACXJ7450499   Kia         SPORTAGE            TAMPA                     FL
134750   KNDPM3ACXJ7451314   Kia         SPORTAGE            DANIA BEACH               FL
134751   KNDPM3ACXJ7452396   Kia         SPORTAGE            DAYTONA BEACH             FL
134752   KNDPM3ACXJ7453399   Kia         SPORTAGE            ORLANDO                   FL
134753   KNDPM3ACXJ7455749   Kia         SPORTAGE            Houston                   TX
134754   KNDPM3ACXJ7456402   Kia         SPORTAGE            FORT LAUDERDALE           FL
134755   KNDPM3ACXJ7458263   Kia         SPORTAGE            FAYETTEVILLE              GA
134756   KNDPM3ACXJ7458649   Kia         SPORTAGE            SEATTLE                   WA
134757   KNDPM3ACXJ7463298   Kia         SPORTAGE            LAS VEGAS                 NV
134758   KNDPM3ACXJ7467514   Kia         SPORTAGE            MIAMI                     FL
134759   KNDPM3ACXJ7467920   Kia         SPORTAGE            DES PLAINES               IL
134760   KNDPM3ACXJ7468386   Kia         SPORTAGE            Fredericksburg            VA
134761   KNDPM3ACXJ7469845   Kia         SPORTAGE            Teterboro                 NJ
134762   KNDPM3ACXJ7470512   Kia         SPORTAGE            Irving                    TX
134763   KNDPM3ACXJ7470557   Kia         SPORTAGE            Davie                     FL
134764   KNDPM3ACXJ7470946   Kia         SPORTAGE            FORT LAUDERDALE           FL
134765   KNDPM3ACXJ7471126   Kia         SPORTAGE            BURBANK                   CA
134766   KNDPM3ACXJ7471157   Kia         SPORTAGE            SAN DIEGO                 CA
134767   KNDPM3ACXJ7471322   Kia         SPORTAGE            FORT MYERS                FL
134768   KNDPM3ACXJ7472177   Kia         SPORTAGE            KENNER                    LA
134769   KNDPM3ACXJ7472213   Kia         SPORTAGE            Slidell                   LA
134770   KNDPM3ACXJ7472258   Kia         SPORTAGE            Dallas                    TX
134771   KNDPM3ACXJ7472499   Kia         SPORTAGE            DENVER                    CO
134772   KNDPM3ACXJ7484930   Kia         SPORTAGE            PHILADELPHIA              PA
134773   KNDPM3ACXJ7485012   Kia         SPORTAGE            JACKSONVILLE              FL
134774   KNDPM3ACXJ7488475   Kia         SPORTAGE            BURBANK                   CA
134775   KNDPM3ACXJ7488511   Kia         SPORTAGE            BURBANK                   CA
134776   KNDPM3ACXJ7488704   Kia         SPORTAGE            MORROW                    GA
134777   KNDPM3ACXK7491071   Kia         SPORTAGE            Ft. Myers                 FL
134778   KNDPM3ACXK7491121   Kia         SPORTAGE            FORT LAUDERDALE           FL
134779   KNDPM3ACXK7491281   Kia         SPORTAGE            MIAMI                     FL
134780   KNDPM3ACXK7491295   Kia         SPORTAGE            RALEIGH                   NC
134781   KNDPM3ACXK7491605   Kia         SPORTAGE            Nashville                 TN
134782   KNDPM3ACXK7491927   Kia         SPORTAGE            Atlanta                   GA
134783   KNDPM3ACXK7493225   Kia         SPORTAGE            NEWARK                    NJ
134784   KNDPM3ACXK7501470   Kia         SPORTAGE            NORFOLK                   VA
134785   KNDPM3ACXK7501534   Kia         SPORTAGE            ATLANTA                   GA
134786   KNDPM3ACXK7501856   Kia         SPORTAGE            Atlanta                   GA
134787   KNDPM3ACXK7502117   Kia         SPORTAGE            FORT MYERS                FL
134788   KNDPM3ACXK7502408   Kia         SPORTAGE            Coraopolis                PA
134789   KNDPM3ACXK7502571   Kia         SPORTAGE            RALEIGH                   NC
134790   KNDPM3ACXK7502828   Kia         SPORTAGE            FORT MYERS                FL
134791   KNDPM3ACXK7502943   Kia         SPORTAGE            COLLEGE PARK              GA
134792   KNDPM3ACXK7507771   Kia         SPORTAGE            BURBANK                   CA
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134793   KNDPM3ACXK7508175   Kia         SPORTAGE            LOS ANGELES               CA
134794   KNDPM3ACXK7510895   Kia         SPORTAGE            Salt Lake City            UT
134795   KNDPM3ACXK7511383   Kia         SPORTAGE            SARASOTA                  FL
134796   KNDPM3ACXK7511755   Kia         SPORTAGE            HANOVER                   MD
134797   KNDPM3ACXK7511965   Kia         SPORTAGE            WEST PALM BEACH           FL
134798   KNDPM3ACXK7512145   Kia         SPORTAGE            WEST PALM BEACH           FL
134799   KNDPM3ACXK7512677   Kia         SPORTAGE            FORT LAUDERDALE           FL
134800   KNDPM3ACXK7512808   Kia         SPORTAGE            PHOENIX                   AZ
134801   KNDPM3ACXK7513019   Kia         SPORTAGE            San Antonio               TX
134802   KNDPM3ACXK7513649   Kia         SPORTAGE            SEATAC                    WA
134803   KNDPM3ACXK7513652   Kia         SPORTAGE            WEST PALM BEACH           FL
134804   KNDPM3ACXK7513747   Kia         SPORTAGE            PORTLAND                  OR
134805   KNDPM3ACXK7513912   Kia         SPORTAGE            LOS ANGELES               CA
134806   KNDPM3ACXK7513974   Kia         SPORTAGE            NORTH PAC                 CA
134807   KNDPM3ACXK7513991   Kia         SPORTAGE            HANOVER                   MD
134808   KNDPM3ACXK7514221   Kia         SPORTAGE            Norwalk                   CA
134809   KNDPM3ACXK7514655   Kia         SPORTAGE            TAMPA                     FL
134810   KNDPM3ACXK7514963   Kia         SPORTAGE            TAMPA                     FL
134811   KNDPM3ACXK7515112   Kia         SPORTAGE            JACKSONVILLE              FL
134812   KNDPM3ACXK7515532   Kia         SPORTAGE            ATLANTA                   GA
134813   KNDPM3ACXK7580171   Kia         SPORTAGE            FORT MYERS                FL
134814   KNDPM3ACXK7580526   Kia         SPORTAGE            Tampa                     FL
134815   KNDPM3ACXK7580557   Kia         SPORTAGE            TAMPA                     FL
134816   KNDPM3ACXK7580574   Kia         SPORTAGE            TAMPA                     FL
134817   KNDPM3ACXK7580638   Kia         SPORTAGE            SARASOTA                  FL
134818   KNDPM3ACXK7580798   Kia         SPORTAGE            SNELLVILLE                GA
134819   KNDPM3ACXK7581336   Kia         SPORTAGE            ORLANDO                   FL
134820   KNDPM3ACXK7582390   Kia         SPORTAGE            Tampa                     FL
134821   KNDPM3ACXK7586486   Kia         SPORTAGE            Richmond                  VA
134822   KNDPM3ACXK7586567   Kia         SPORTAGE            SEATTLE                   WA
134823   KNDPM3ACXK7593888   Kia         SPORTAGE            ROANOKE                   VA
134824   KNDPMCAC0J7440628   Kia         SPORTAGE            PITTSBURGH                PA
134825   KNDPMCAC0J7450947   Kia         SPORTAGE            LOS ANGELES               CA
134826   KNDPMCAC0J7451208   Kia         SPORTAGE            SANTA ANA                 CA
134827   KNDPMCAC0J7454304   Kia         SPORTAGE            CHANDLER                  AZ
134828   KNDPMCAC0K7511022   Kia         SPORTAGE            DALLAS                    TX
134829   KNDPMCAC0K7565419   Kia         SPORTAGE            MIAMI                     FL
134830   KNDPMCAC0K7592197   Kia         SPORTAGE            Irving                    TX
134831   KNDPMCAC1H7040782   Kia         SPORTAGE            Cranberry Towns           PA
134832   KNDPMCAC1H7114945   Kia         SPORTAGE            Phoenix                   AZ
134833   KNDPMCAC1J7419531   Kia         SPORTAGE            ALBUQUERQUE               NM
134834   KNDPMCAC1J7429900   Kia         SPORTAGE            SAN FRANCISCO             CA
134835   KNDPMCAC1J7440220   Kia         SPORTAGE            DENVER                    CO
134836   KNDPMCAC1J7444056   Kia         SPORTAGE            NEW ENGLAND DEALER        MA
134837   KNDPMCAC1J7444493   Kia         SPORTAGE            San Diego                 CA
134838   KNDPMCAC1J7444851   Kia         SPORTAGE            Atlanta                   GA
134839   KNDPMCAC1J7450715   Kia         SPORTAGE            ROSEVILLE                 CA
134840   KNDPMCAC1J7454845   Kia         SPORTAGE            LAS VEGAS                 NV
134841   KNDPMCAC2H7085956   Kia         SPORTAGE            Hartford                  CT
134842   KNDPMCAC2J7444275   Kia         SPORTAGE            FORT LAUDERDALE           FL
134843   KNDPMCAC2J7444485   Kia         SPORTAGE            Denver                    CO
134844   KNDPMCAC2J7451243   Kia         SPORTAGE            LOS ANGELES               CA
134845   KNDPMCAC2J7454045   Kia         SPORTAGE            BURBANK                   CA
134846   KNDPMCAC2K7561386   Kia         SPORTAGE            FORT MYERS                FL
134847   KNDPMCAC3J7423564   Kia         SPORTAGE            DALLAS                    TX
134848   KNDPMCAC3J7445418   Kia         SPORTAGE            BURBANK                   CA
134849   KNDPMCAC3J7450859   Kia         SPORTAGE            SARASOTA                  FL
134850   KNDPMCAC3J7451011   Kia         SPORTAGE            Dallas                    TX
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134851   KNDPMCAC3J7451087   Kia         SPORTAGE            Ventura                   CA
134852   KNDPMCAC3J7451199   Kia         SPORTAGE            LOS ANGELES               CA
134853   KNDPMCAC3J7452532   Kia         SPORTAGE            Charlotte                 NC
134854   KNDPMCAC3J7454748   Kia         SPORTAGE            NORTH PAC                 CA
134855   KNDPMCAC3J7456595   Kia         SPORTAGE            LAS VEGAS                 NV
134856   KNDPMCAC3J7484333   Kia         SPORTAGE            LOS ANGELES               CA
134857   KNDPMCAC3K7508700   Kia         SPORTAGE            DENVER                    CO
134858   KNDPMCAC3K7560246   Kia         SPORTAGE            SAINT PAUL                MN
134859   KNDPMCAC4H7123994   Kia         SPORTAGE            PHILADELPHIA              PA
134860   KNDPMCAC4H7171995   Kia         SPORTAGE            Caledonia                 WI
134861   KNDPMCAC4H7272177   Kia         SPORTAGE            Chicago                   IL
134862   KNDPMCAC4J7395709   Kia         SPORTAGE            SAN JOSE                  CA
134863   KNDPMCAC4J7429891   Kia         SPORTAGE            Stockton                  CA
134864   KNDPMCAC4J7444326   Kia         SPORTAGE            PHOENIX                   AZ
134865   KNDPMCAC4J7444925   Kia         SPORTAGE            LOS ANGELES               CA
134866   KNDPMCAC4K7574995   Kia         SPORTAGE            Winter Park               FL
134867   KNDPMCAC5H7081593   Kia         SPORTAGE            SANTA CLARA               CA
134868   KNDPMCAC5J7395704   Kia         SPORTAGE            Las Vegas                 NV
134869   KNDPMCAC5J7395864   Kia         SPORTAGE            Elkridge                  MD
134870   KNDPMCAC5J7435778   Kia         SPORTAGE            STERLING                  VA
134871   KNDPMCAC5J7439846   Kia         SPORTAGE            MORROW                    GA
134872   KNDPMCAC5J7444755   Kia         SPORTAGE            SACRAMENTO                CA
134873   KNDPMCAC5J7444898   Kia         SPORTAGE            SAN FRANCISCO             CA
134874   KNDPMCAC5J7445064   Kia         SPORTAGE            DENVER                    CO
134875   KNDPMCAC5J7445078   Kia         SPORTAGE            SAN FRANCISCO             CA
134876   KNDPMCAC5J7450703   Kia         SPORTAGE            BURBANK                   CA
134877   KNDPMCAC5J7451091   Kia         SPORTAGE            BURBANK                   CA
134878   KNDPMCAC5J7451317   Kia         SPORTAGE            SAN DIEGO                 CA
134879   KNDPMCAC5J7453634   Kia         SPORTAGE            LOS ANGELES               CA
134880   KNDPMCAC5J7453925   Kia         SPORTAGE            PHOENIX                   AZ
134881   KNDPMCAC5J7482888   Kia         SPORTAGE            PLEASANTON                CA
134882   KNDPMCAC5K7554268   Kia         SPORTAGE            CHARLOTTE                 NC
134883   KNDPMCAC6J7378703   Kia         SPORTAGE            SAN DIEGO                 CA
134884   KNDPMCAC6J7429617   Kia         SPORTAGE            DAYTONA BEACH             FL
134885   KNDPMCAC6J7430928   Kia         SPORTAGE            San Diego                 CA
134886   KNDPMCAC6J7444196   Kia         SPORTAGE            TAMPA                     FL
134887   KNDPMCAC6J7444358   Kia         SPORTAGE            LAS VEGAS                 NV
134888   KNDPMCAC6J7444800   Kia         SPORTAGE            BURBANK                   CA
134889   KNDPMCAC6J7444943   Kia         SPORTAGE            RICHMOND                  VA
134890   KNDPMCAC6J7445011   Kia         SPORTAGE            HARVEY                    LA
134891   KNDPMCAC6J7448314   Kia         SPORTAGE            Hendersonville            TN
134892   KNDPMCAC6J7451164   Kia         SPORTAGE            Scottsdale                AZ
134893   KNDPMCAC6J7451309   Kia         SPORTAGE            LOS ANGELES               CA
134894   KNDPMCAC6J7466568   Kia         SPORTAGE            LOS ANGELES               CA
134895   KNDPMCAC6K7560449   Kia         SPORTAGE            Omaha                     NE
134896   KNDPMCAC7H7040740   Kia         SPORTAGE            North Dighton             MA
134897   KNDPMCAC7H7044027   Kia         SPORTAGE            Webster                   NY
134898   KNDPMCAC7J7344656   Kia         SPORTAGE            HANOVER                   MD
134899   KNDPMCAC7J7370495   Kia         SPORTAGE            Warwick                   RI
134900   KNDPMCAC7J7395493   Kia         SPORTAGE            BURBANK                   CA
134901   KNDPMCAC7J7430579   Kia         SPORTAGE            Dallas                    TX
134902   KNDPMCAC7J7444093   Kia         SPORTAGE            SAN FRANCISCO             CA
134903   KNDPMCAC7J7444868   Kia         SPORTAGE            SAN JOSE                  CA
134904   KNDPMCAC7J7451142   Kia         SPORTAGE            Phoenix                   AZ
134905   KNDPMCAC7J7455112   Kia         SPORTAGE            SEATAC                    WA
134906   KNDPMCAC7K7560914   Kia         SPORTAGE            FORT MYERS                FL
134907   KNDPMCAC7K7561528   Kia         SPORTAGE            FORT LAUDERDALE           FL
134908   KNDPMCAC8H7076307   Kia         SPORTAGE            ELLWOOD CITY              PA
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134909   KNDPMCAC8H7217649   Kia          SPORTAGE            Stone Mountain            GA
134910   KNDPMCAC8J7429795   Kia          SPORTAGE            CHICAGO                   IL
134911   KNDPMCAC8J7440215   Kia          SPORTAGE            Scottsdale                AZ
134912   KNDPMCAC8J7440263   Kia          SPORTAGE            TAMPA                     FL
134913   KNDPMCAC8J7444216   Kia          SPORTAGE            LOS ANGELES               CA
134914   KNDPMCAC8J7444362   Kia          SPORTAGE            BURBANK                   CA
134915   KNDPMCAC8J7451022   Kia          SPORTAGE            BURBANK                   CA
134916   KNDPMCAC8J7451067   Kia          SPORTAGE            EAST BOSTON               MA
134917   KNDPMCAC9H7042277   Kia          SPORTAGE            Winston‐Salem             NC
134918   KNDPMCAC9H7102722   Kia          SPORTAGE            Warminster                PA
134919   KNDPMCAC9J7444757   Kia          SPORTAGE            Fort Lauderdale           FL
134920   KNDPMCAC9J7451112   Kia          SPORTAGE            LOS ANGELES               CA
134921   KNDPMCAC9J7453586   Kia          SPORTAGE            SARASOTA                  FL
134922   KNDPMCAC9L7640247   Kia          SPORTAGE            KANSAS CITY               MO
134923   KNDPMCACXJ7429765   Kia          SPORTAGE            MEDINA                    OH
134924   KNDPMCACXJ7444802   Kia          SPORTAGE            PHOENIX                   AZ
134925   KNDPMCACXJ7450647   Kia          SPORTAGE            ENGLEWOOD                 CA
134926   KNDPMCACXJ7450700   Kia          SPORTAGE            South San Franc           CA
134927   KNDPMCACXJ7453578   Kia          SPORTAGE            SANTA ANA                 CA
134928   KNDPMCACXJ7454956   Kia          SPORTAGE            LOS ANGELES               CA
134929   KNDPMCACXJ7455041   Kia          SPORTAGE            LOS ANGELES               CA
134930   KNDPN3AC1H7243409   Kia          SPORTAGE            CHANDLER                  AZ
134931   KNDPN3AC4H7080755   Kia          SPORTAGE            CHANDLER                  AZ
134932   KNDPN3AC4H7186946   Kia          SPORTAGE            DAYTONA BEACH             FL
134933   KNDPN3AC6H7117501   Kia          SPORTAGE            BURBANK                   CA
134934   KNDPN3AC7H7108645   Kia          SPORTAGE            SANTA ANA                 CA
134935   KNDPN3AC7J7387374   Kia          SPORTAGE            CHANDLER                  AZ
134936   KNDPNCAC0H7084866   Kia          SPORTAGE            WHITE PLAINS              NY
134937   KNDPNCAC0H7203659   Kia          SPORTAGE            MIAMI                     FL
134938   KNDPNCAC0H7264011   Kia          SPORTAGE            Indianapolis              IN
134939   KNDPNCAC2H7050055   Kia          SPORTAGE            LAS VEGAS                 NV
134940   KNDPNCAC6H7052956   Kia          SPORTAGE            CHICAGO                   IL
134941   KNDPNCAC8H7104703   Kia          SPORTAGE            Warminster                PA
134942   KNDPNCAC8H7109688   Kia          SPORTAGE            EL PASO                   TX
134943   KNDPNCAC9H7107397   Kia          SPORTAGE            Lynn                      MA
134944   KNDPNCACXH7153210   Kia          SPORTAGE            ORLANDO                   FL
134945   KNMAT2MT0HP513411   Nissan       ROGUE               BURBANK                   CA
134946   KNMAT2MT0HP545372   Nissan       ROGUE               LOS ANGELES               CA
134947   KNMAT2MT0HP576623   Nissan       ROGUE               BURBANK                   CA
134948   KNMAT2MT0HP581577   Nissan       ROGUE               SANTA ANA                 CA
134949   KNMAT2MT0HP586133   Nissan       ROGUE               LAS VEGAS                 NV
134950   KNMAT2MT0HP586486   Nissan       ROGUE               BURBANK                   CA
134951   KNMAT2MT0JP506819   Nissan       ROGUE               Florissant                MO
134952   KNMAT2MT0JP506903   Nissan       ROGUE               NORTH PAC                 CA
134953   KNMAT2MT0JP514922   Nissan       ROGUE               North Las Vegas           NV
134954   KNMAT2MT0JP520901   Nissan       ROGUE               Elkridge                  MD
134955   KNMAT2MT0JP521207   Nissan       ROGUE               LOS ANGELES               CA
134956   KNMAT2MT0JP521594   Nissan       ROGUE               BURBANK                   CA
134957   KNMAT2MT0JP521644   Nissan       ROGUE               ALBUQUERQUE               NM
134958   KNMAT2MT0JP522485   Nissan       ROGUE               LOS ANGELES               CA
134959   KNMAT2MT0JP522826   Nissan       ROGUE               Sterling                  VA
134960   KNMAT2MT0JP524172   Nissan       ROGUE               LOS ANGELES               CA
134961   KNMAT2MT0JP524222   Nissan       ROGUE               LOS ANGELES               CA
134962   KNMAT2MT0JP525936   Nissan       ROGUE               Lake Elsinore             CA
134963   KNMAT2MT0JP526679   Nissan       ROGUE               SAN JOSE                  CA
134964   KNMAT2MT0JP527203   Nissan       ROGUE               SANTA ANA                 CA
134965   KNMAT2MT0JP528397   Nissan       ROGUE               Las Vegas                 NV
134966   KNMAT2MT0JP534961   Nissan       ROGUE               LAS VEGAS                 NV
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134967   KNMAT2MT0JP535138   Nissan       ROGUE               Los Angeles               CA
134968   KNMAT2MT0JP536127   Nissan       ROGUE               FAYETTEVILLE              GA
134969   KNMAT2MT0JP536449   Nissan       ROGUE               Jamaica                   NY
134970   KNMAT2MT0JP539125   Nissan       ROGUE               BURBANK                   CA
134971   KNMAT2MT0JP540548   Nissan       ROGUE               WEST PALM BEACH           FL
134972   KNMAT2MT0JP543434   Nissan       ROGUE               DALLAS                    TX
134973   KNMAT2MT0JP543661   Nissan       ROGUE               LAS VEGAS                 NV
134974   KNMAT2MT0JP544325   Nissan       ROGUE               FORT MYERS                FL
134975   KNMAT2MT0JP544373   Nissan       ROGUE               SPRINGFIELD               VA
134976   KNMAT2MT0JP545216   Nissan       ROGUE               GRAND JUNCTION            C
134977   KNMAT2MT0JP548939   Nissan       ROGUE               MORROW                    GA
134978   KNMAT2MT0JP549203   Nissan       ROGUE               So. San Francis           CA
134979   KNMAT2MT0JP549606   Nissan       ROGUE               WEST CENTRAL DEALE        CO
134980   KNMAT2MT0JP550562   Nissan       ROGUE               PHOENIX                   AZ
134981   KNMAT2MT0JP551565   Nissan       ROGUE               BURBANK                   CA
134982   KNMAT2MT0JP567667   Nissan       ROGUE               DALLAS                    TX
134983   KNMAT2MT0JP568169   Nissan       ROGUE               Las Vegas                 NV
134984   KNMAT2MT0JP569547   Nissan       ROGUE               Miami                     FL
134985   KNMAT2MT0JP569936   Nissan       ROGUE               SAN ANTONIO               TX
134986   KNMAT2MT0JP576045   Nissan       ROGUE               SANTA ANA                 CA
134987   KNMAT2MT0JP576319   Nissan       ROGUE               CHANDLER                  AZ
134988   KNMAT2MT0JP577230   Nissan       ROGUE               LUBBOCK                   TX
134989   KNMAT2MT0JP583447   Nissan       ROGUE               NORTH PAC                 CA
134990   KNMAT2MT0JP584453   Nissan       ROGUE               SAN FRANCISCO             CA
134991   KNMAT2MT0JP586302   Nissan       ROGUE               Marietta                  GA
134992   KNMAT2MT0JP588535   Nissan       ROGUE               LAS VEGAS                 NV
134993   KNMAT2MT0JP592231   Nissan       ROGUE               RALEIGH                   NC
134994   KNMAT2MT0JP592276   Nissan       ROGUE               PALM SPRINGS              CA
134995   KNMAT2MT0KP520804   Nissan       ROGUE               ORLANDO                   FL
134996   KNMAT2MT0KP526408   Nissan       ROGUE               Smithtown                 NY
134997   KNMAT2MT0KP536355   Nissan       ROGUE               Dallas                    TX
134998   KNMAT2MT0KP543130   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
134999   KNMAT2MT0KP547677   Nissan       ROGUE               Houston                   TX
135000   KNMAT2MT0KP547808   Nissan       ROGUE               HOUSTON                   TX
135001   KNMAT2MT0KP550000   Nissan       ROGUE               TAMPA                     FL
135002   KNMAT2MT0KP550384   Nissan       ROGUE               Nashville                 TN
135003   KNMAT2MT0KP553737   Nissan       ROGUE               PENSACOLA                 FL
135004   KNMAT2MT0KP554077   Nissan       ROGUE               CLARKSVILLE               IN
135005   KNMAT2MT0LP526698   Nissan       ROGUE               WEST PALM BEACH           FL
135006   KNMAT2MT0LP526751   Nissan       ROGUE               LAS VEGAS                 NV
135007   KNMAT2MT0LP526782   Nissan       ROGUE               SHREVEPORT                LA
135008   KNMAT2MT0LP526863   Nissan       ROGUE               ORLANDO                   FL
135009   KNMAT2MT0LP526880   Nissan       ROGUE               ORLANDO                   FL
135010   KNMAT2MT0LP526927   Nissan       ROGUE               LOUISVILLE                KY
135011   KNMAT2MT0LP526958   Nissan       ROGUE               ORLANDO                   FL
135012   KNMAT2MT0LP527026   Nissan       ROGUE               SARASOTA                  FL
135013   KNMAT2MT0LP527138   Nissan       ROGUE               ORLANDO                   FL
135014   KNMAT2MT0LP527141   Nissan       ROGUE               ORLANDO                   FL
135015   KNMAT2MT0LP527155   Nissan       ROGUE               ORLANDO                   FL
135016   KNMAT2MT0LP527172   Nissan       ROGUE               ORLANDO                   FL
135017   KNMAT2MT0LP527284   Nissan       ROGUE               TAMPA                     FL
135018   KNMAT2MT0LP527303   Nissan       ROGUE               NEW ORLEANS               LA
135019   KNMAT2MT0LP527334   Nissan       ROGUE               KEY WEST                  FL
135020   KNMAT2MT0LP527379   Nissan       ROGUE               FORT MYERS                FL
135021   KNMAT2MT0LP527477   Nissan       ROGUE               PALM SPRINGS              CA
135022   KNMAT2MT0LP527527   Nissan       ROGUE               LOS ANGELES               CA
135023   KNMAT2MT0LP527544   Nissan       ROGUE               SAN DIEGO                 CA
135024   KNMAT2MT0LP527575   Nissan       ROGUE               NASHVILLE                 TN
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135025   KNMAT2MT0LP527625   Nissan       ROGUE               ORLANDO                   FL
135026   KNMAT2MT0LP527690   Nissan       ROGUE               FORT LAUDERDALE           FL
135027   KNMAT2MT0LP527706   Nissan       ROGUE               ORLANDO                   FL
135028   KNMAT2MT0LP527737   Nissan       ROGUE               FORT MYERS                FL
135029   KNMAT2MT0LP527740   Nissan       ROGUE               SARASOTA                  FL
135030   KNMAT2MT0LP527799   Nissan       ROGUE               FORT MYERS                FL
135031   KNMAT2MT0LP527852   Nissan       ROGUE               ORLANDO                   FL
135032   KNMAT2MT0LP527866   Nissan       ROGUE               SANTA ANA                 CA
135033   KNMAT2MT0LP527883   Nissan       ROGUE               JACKSONVILLE              FL
135034   KNMAT2MT0LP527902   Nissan       ROGUE               JACKSONVILLE              FL
135035   KNMAT2MT0LP527933   Nissan       ROGUE               ATLANTA                   GA
135036   KNMAT2MT0LP527995   Nissan       ROGUE               WEST PALM BEACH           FL
135037   KNMAT2MT0LP528127   Nissan       ROGUE               Atlanta                   GA
135038   KNMAT2MT0LP528192   Nissan       ROGUE               SANTA ANA                 CA
135039   KNMAT2MT0LP528208   Nissan       ROGUE               ORANGE COUNTY             CA
135040   KNMAT2MT0LP528225   Nissan       ROGUE               LOS ANGELES               CA
135041   KNMAT2MT0LP528242   Nissan       ROGUE               ATLANTA                   GA
135042   KNMAT2MT0LP528418   Nissan       ROGUE               TAMPA                     FL
135043   KNMAT2MT0LP528483   Nissan       ROGUE               ORLANDO                   FL
135044   KNMAT2MT0LP528502   Nissan       ROGUE               BURBANK                   CA
135045   KNMAT2MT0LP528595   Nissan       ROGUE               SAN DIEGO                 CA
135046   KNMAT2MT0LP528645   Nissan       ROGUE               BIRMINGHAM                AL
135047   KNMAT2MT0LP528841   Nissan       ROGUE               LAS VEGAS                 NV
135048   KNMAT2MT0LP528998   Nissan       ROGUE               SANTA ANA                 CA
135049   KNMAT2MT0LP529049   Nissan       ROGUE               FORT MYERS                FL
135050   KNMAT2MT0LP529133   Nissan       ROGUE               SANTA ANA                 CA
135051   KNMAT2MT0LP529150   Nissan       ROGUE               CHICAGO                   IL
135052   KNMAT2MT0LP529228   Nissan       ROGUE               TAMPA                     FL
135053   KNMAT2MT0LP529441   Nissan       ROGUE               ONTARIO                   CA
135054   KNMAT2MT0LP529696   Nissan       ROGUE               CLARKSVILLE               IN
135055   KNMAT2MT0LP530265   Nissan       ROGUE               SAN DIEGO                 CA
135056   KNMAT2MT0LP530640   Nissan       ROGUE               San Diego                 CA
135057   KNMAT2MT0LP532078   Nissan       ROGUE               SANTA ANA                 CA
135058   KNMAT2MT0LP532534   Nissan       ROGUE               SARASOTA                  FL
135059   KNMAT2MT0LP532940   Nissan       ROGUE               PALM SPRINGS              CA
135060   KNMAT2MT0LP532954   Nissan       ROGUE               PALM SPRINGS              CA
135061   KNMAT2MT0LP533019   Nissan       ROGUE               SAN DIEGO                 CA
135062   KNMAT2MT0LP533036   Nissan       ROGUE               TAMPA                     FL
135063   KNMAT2MT0LP533067   Nissan       ROGUE               SAN DIEGO                 CA
135064   KNMAT2MT0LP533103   Nissan       ROGUE               WEST PALM BEACH           FL
135065   KNMAT2MT0LP533134   Nissan       ROGUE               LOS ANGELES               CA
135066   KNMAT2MT0LP533148   Nissan       ROGUE               ORLANDO                   FL
135067   KNMAT2MT0LP533165   Nissan       ROGUE               LOS ANGELES               CA
135068   KNMAT2MT0LP533201   Nissan       ROGUE               MIAMI                     FL
135069   KNMAT2MT0LP533344   Nissan       ROGUE               LOS ANGELES               CA
135070   KNMAT2MT0LP533456   Nissan       ROGUE               MIAMI                     FL
135071   KNMAT2MT0LP533487   Nissan       ROGUE               FORT MYERS                FL
135072   KNMAT2MT0LP533540   Nissan       ROGUE               FORT LAUDERDALE           FL
135073   KNMAT2MT0LP533568   Nissan       ROGUE               TAMPA                     FL
135074   KNMAT2MT0LP533599   Nissan       ROGUE               WEST PALM BEACH           FL
135075   KNMAT2MT0LP533683   Nissan       ROGUE               ORLANDO                   FL
135076   KNMAT2MT0LP533702   Nissan       ROGUE               Miami                     FL
135077   KNMAT2MT0LP533781   Nissan       ROGUE               WEST PALM BEACH           FL
135078   KNMAT2MT0LP533831   Nissan       ROGUE               JACKSONVILLE              FL
135079   KNMAT2MT0LP533862   Nissan       ROGUE               LOUISVILLE                KY
135080   KNMAT2MT0LP533991   Nissan       ROGUE               FORT LAUDERDALE           FL
135081   KNMAT2MT0LP534011   Nissan       ROGUE               MEMPHIS                   TN
135082   KNMAT2MT0LP534204   Nissan       ROGUE               MIAMI                     FL
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135083   KNMAT2MT0LP534462   Nissan       ROGUE               SAN DIEGO                 CA
135084   KNMAT2MT0LP534574   Nissan       ROGUE               LOS ANGELES               CA
135085   KNMAT2MT0LP534588   Nissan       ROGUE               LAS VEGAS                 NV
135086   KNMAT2MT0LP534672   Nissan       ROGUE               ORANGE COUNTY             CA
135087   KNMAT2MT0LP534753   Nissan       ROGUE               FORT MYERS                FL
135088   KNMAT2MT0LP535742   Nissan       ROGUE               LOS ANGELES AP            CA
135089   KNMAT2MT0LP536275   Nissan       ROGUE               LAS VEGAS                 NV
135090   KNMAT2MT0LP536308   Nissan       ROGUE               BURBANK                   CA
135091   KNMAT2MT0LP536373   Nissan       ROGUE               PALM SPRINGS              CA
135092   KNMAT2MT0LP536423   Nissan       ROGUE               PALM SPRINGS              CA
135093   KNMAT2MT0LP536468   Nissan       ROGUE               SAN DIEGO                 US
135094   KNMAT2MT0LP536521   Nissan       ROGUE               ORLANDO                   FL
135095   KNMAT2MT0LP536633   Nissan       ROGUE               PORTLAND                  ME
135096   KNMAT2MT0LP536700   Nissan       ROGUE               WEST PALM BEACH           FL
135097   KNMAT2MT0LP536714   Nissan       ROGUE               MIAMI                     FL
135098   KNMAT2MT0LP536759   Nissan       ROGUE               TAMPA                     FL
135099   KNMAT2MT0LP536776   Nissan       ROGUE               MIAMI                     FL
135100   KNMAT2MT0LP536910   Nissan       ROGUE               Florissant                MO
135101   KNMAT2MT0LP536986   Nissan       ROGUE               JACKSONVILLE              FL
135102   KNMAT2MT0LP537068   Nissan       ROGUE               LAS VEGAS                 NV
135103   KNMAT2MT0LP537099   Nissan       ROGUE               MEMPHIS                   TN
135104   KNMAT2MT0LP537295   Nissan       ROGUE               FORT MYERS                FL
135105   KNMAT2MT0LP537314   Nissan       ROGUE               LAS VEGAS                 NV
135106   KNMAT2MT0LP537345   Nissan       ROGUE               LAS VEGAS                 NV
135107   KNMAT2MT0LP537569   Nissan       ROGUE               ORLANDO                   FL
135108   KNMAT2MT0LP537667   Nissan       ROGUE               LAS VEGAS                 NV
135109   KNMAT2MT0LP537670   Nissan       ROGUE               SALT LAKE CITY            UT
135110   KNMAT2MT0LP537734   Nissan       ROGUE               FORT MYERS                FL
135111   KNMAT2MT0LP537961   Nissan       ROGUE               ORLANDO                   FL
135112   KNMAT2MT0LP538138   Nissan       ROGUE               TAMPA                     FL
135113   KNMAT2MT0LP538222   Nissan       ROGUE               TAMPA                     US
135114   KNMAT2MT0LP538253   Nissan       ROGUE               SAN DIEGO                 CA
135115   KNMAT2MT0LP538446   Nissan       ROGUE               FT LAUDERDALE             US
135116   KNMAT2MT0LP538477   Nissan       ROGUE               Ft. Myers                 FL
135117   KNMAT2MT0LP538575   Nissan       ROGUE               BUFFALO                   NY
135118   KNMAT2MT0LP538687   Nissan       ROGUE               FORT MYERS                FL
135119   KNMAT2MT0LP538690   Nissan       ROGUE               EAST BOSTON               MA
135120   KNMAT2MT0LP538754   Nissan       ROGUE               EAST BOSTON               MA
135121   KNMAT2MT0LP538916   Nissan       ROGUE               EAST BOSTON               MA
135122   KNMAT2MT0LP539113   Nissan       ROGUE               FORT MYERS                FL
135123   KNMAT2MT0LP539497   Nissan       ROGUE               FORT MYERS                FL
135124   KNMAT2MT0LP539824   Nissan       ROGUE               SAVANNAH                  GA
135125   KNMAT2MT0LP539984   Nissan       ROGUE               JACKSONVILLE              FL
135126   KNMAT2MT0LP540617   Nissan       ROGUE               TAMPA                     FL
135127   KNMAT2MT0LP540875   Nissan       ROGUE               EAST BOSTON               MA
135128   KNMAT2MT0LP541170   Nissan       ROGUE               EAST BOSTON               MA
135129   KNMAT2MT0LP541282   Nissan       ROGUE               EAST BOSTON               MA
135130   KNMAT2MT0LP541427   Nissan       ROGUE               EAST BOSTON               MA
135131   KNMAT2MT0LP541623   Nissan       ROGUE               EAST BOSTON               MA
135132   KNMAT2MT1HP506435   Nissan       ROGUE               SAN JOSE                  CA
135133   KNMAT2MT1HP516947   Nissan       ROGUE               Irving                    TX
135134   KNMAT2MT1HP541153   Nissan       ROGUE               SAN JOSE                  CA
135135   KNMAT2MT1HP553433   Nissan       ROGUE               Atlanta                   GA
135136   KNMAT2MT1HP553626   Nissan       ROGUE               Atlanta                   GA
135137   KNMAT2MT1HP570135   Nissan       ROGUE               BURLINGAME                CA
135138   KNMAT2MT1HP570295   Nissan       ROGUE               Las Vegas                 NV
135139   KNMAT2MT1HP576873   Nissan       ROGUE               Denver                    CO
135140   KNMAT2MT1JP500298   Nissan       ROGUE               SALT LAKE CITY            UT
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135141   KNMAT2MT1JP500432   Nissan       ROGUE               Ocoee                     FL
135142   KNMAT2MT1JP500737   Nissan       ROGUE               Stockton                  CA
135143   KNMAT2MT1JP501337   Nissan       ROGUE               LOS ANGELES               CA
135144   KNMAT2MT1JP503475   Nissan       ROGUE               BOSTON                    MA
135145   KNMAT2MT1JP506098   Nissan       ROGUE               PHOENIX                   AZ
135146   KNMAT2MT1JP506991   Nissan       ROGUE               SANTA ANA                 CA
135147   KNMAT2MT1JP507204   Nissan       ROGUE               BURBANK                   CA
135148   KNMAT2MT1JP509227   Nissan       ROGUE               ORLANDO                   FL
135149   KNMAT2MT1JP514735   Nissan       ROGUE               NORTH PAC                 CA
135150   KNMAT2MT1JP516453   Nissan       ROGUE               Hanover                   MD
135151   KNMAT2MT1JP518400   Nissan       ROGUE               SAN DIEGO                 CA
135152   KNMAT2MT1JP518848   Nissan       ROGUE               STERLING                  VA
135153   KNMAT2MT1JP521491   Nissan       ROGUE               RICHMOND                  VA
135154   KNMAT2MT1JP521989   Nissan       ROGUE               WEST PALM BEACH           FL
135155   KNMAT2MT1JP522785   Nissan       ROGUE               CHICAGO                   IL
135156   KNMAT2MT1JP522902   Nissan       ROGUE               BURBANK                   CA
135157   KNMAT2MT1JP524410   Nissan       ROGUE               LAS VEGAS                 NV
135158   KNMAT2MT1JP527128   Nissan       ROGUE               North Las Vegas           NV
135159   KNMAT2MT1JP527209   Nissan       ROGUE               Euless                    TX
135160   KNMAT2MT1JP535794   Nissan       ROGUE               SEATAC                    WA
135161   KNMAT2MT1JP536203   Nissan       ROGUE               ORLANDO                   FL
135162   KNMAT2MT1JP537254   Nissan       ROGUE               LAS VEGAS                 NV
135163   KNMAT2MT1JP537335   Nissan       ROGUE               Atlanta                   GA
135164   KNMAT2MT1JP537464   Nissan       ROGUE               LOS ANGELES AP            CA
135165   KNMAT2MT1JP538839   Nissan       ROGUE               STERLING                  VA
135166   KNMAT2MT1JP538890   Nissan       ROGUE               LOS ANGELES               CA
135167   KNMAT2MT1JP540915   Nissan       ROGUE               North Dighton             MA
135168   KNMAT2MT1JP543653   Nissan       ROGUE               FORT MYERS                FL
135169   KNMAT2MT1JP543703   Nissan       ROGUE               GLEN BURNIE               MD
135170   KNMAT2MT1JP551221   Nissan       ROGUE               SAN JOSE                  CA
135171   KNMAT2MT1JP551509   Nissan       ROGUE               LOS ANGELES               CA
135172   KNMAT2MT1JP552420   Nissan       ROGUE               Atlanta                   GA
135173   KNMAT2MT1JP555480   Nissan       ROGUE               Miami                     FL
135174   KNMAT2MT1JP566785   Nissan       ROGUE               Dallas                    TX
135175   KNMAT2MT1JP569007   Nissan       ROGUE               Miami                     FL
135176   KNMAT2MT1JP569640   Nissan       ROGUE               FORT MYERS                FL
135177   KNMAT2MT1JP570464   Nissan       ROGUE               SEATAC                    WA
135178   KNMAT2MT1JP570898   Nissan       ROGUE               San Antonio               TX
135179   KNMAT2MT1JP575647   Nissan       ROGUE               LOS ANGELES               CA
135180   KNMAT2MT1JP575776   Nissan       ROGUE               SANTA ANA                 CA
135181   KNMAT2MT1JP576166   Nissan       ROGUE               SAN JOSE                  CA
135182   KNMAT2MT1JP577155   Nissan       ROGUE               Fredericksburg            VA
135183   KNMAT2MT1JP577270   Nissan       ROGUE               NORTH PAC                 CA
135184   KNMAT2MT1JP583439   Nissan       ROGUE               ROSEVILLE                 CA
135185   KNMAT2MT1JP583618   Nissan       ROGUE               SANTA ANA                 CA
135186   KNMAT2MT1JP584090   Nissan       ROGUE               BURBANK                   CA
135187   KNMAT2MT1KP516325   Nissan       ROGUE               ORLANDO                   FL
135188   KNMAT2MT1KP520178   Nissan       ROGUE               ORLANDO                   FL
135189   KNMAT2MT1KP520617   Nissan       ROGUE               MORROW                    GA
135190   KNMAT2MT1KP522559   Nissan       ROGUE               TAMPA                     FL
135191   KNMAT2MT1KP522626   Nissan       ROGUE               FORT MYERS                FL
135192   KNMAT2MT1KP543931   Nissan       ROGUE               Tulsa                     OK
135193   KNMAT2MT1KP545596   Nissan       ROGUE               PORTLAND                  OR
135194   KNMAT2MT1KP546957   Nissan       ROGUE               Milwaukee                 WI
135195   KNMAT2MT1KP547655   Nissan       ROGUE               ORLANDO                   FL
135196   KNMAT2MT1KP550426   Nissan       ROGUE               MIAMI                     FL
135197   KNMAT2MT1LP526659   Nissan       ROGUE               SAN DIEGO                 CA
135198   KNMAT2MT1LP526676   Nissan       ROGUE               PALM SPRINGS              CA
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135199   KNMAT2MT1LP526693   Nissan       ROGUE               ORANGE COUNTY             CA
135200   KNMAT2MT1LP526774   Nissan       ROGUE               PALM SPRINGS              CA
135201   KNMAT2MT1LP526824   Nissan       ROGUE               TAMPA                     FL
135202   KNMAT2MT1LP526841   Nissan       ROGUE               LOS ANGELES               CA
135203   KNMAT2MT1LP526886   Nissan       ROGUE               BURBANK                   CA
135204   KNMAT2MT1LP527200   Nissan       ROGUE               FORT MYERS                FL
135205   KNMAT2MT1LP527309   Nissan       ROGUE               SHREVEPORT                LA
135206   KNMAT2MT1LP527343   Nissan       ROGUE               ORLANDO                   FL
135207   KNMAT2MT1LP527407   Nissan       ROGUE               LOS ANGELES               CA
135208   KNMAT2MT1LP527441   Nissan       ROGUE               FORT LAUDERDALE           FL
135209   KNMAT2MT1LP527486   Nissan       ROGUE               FORT LAUDERDALE           FL
135210   KNMAT2MT1LP527505   Nissan       ROGUE               LOS ANGELES               CA
135211   KNMAT2MT1LP527519   Nissan       ROGUE               PALM SPRINGS              CA
135212   KNMAT2MT1LP527584   Nissan       ROGUE               LOS ANGELES               CA
135213   KNMAT2MT1LP527603   Nissan       ROGUE               SARASOTA                  FL
135214   KNMAT2MT1LP527696   Nissan       ROGUE               NEW ORLEANS               LA
135215   KNMAT2MT1LP527746   Nissan       ROGUE               FORT MYERS                FL
135216   KNMAT2MT1LP527794   Nissan       ROGUE               WEST PALM BEACH           FL
135217   KNMAT2MT1LP527813   Nissan       ROGUE               CHARLOTTE                 NC
135218   KNMAT2MT1LP527889   Nissan       ROGUE               FORT MYERS                FL
135219   KNMAT2MT1LP527892   Nissan       ROGUE               MIAMI                     FL
135220   KNMAT2MT1LP528038   Nissan       ROGUE               ORLANDO                   FL
135221   KNMAT2MT1LP528055   Nissan       ROGUE               TAMPA                     FL
135222   KNMAT2MT1LP528086   Nissan       ROGUE               PENSACOLA                 FL
135223   KNMAT2MT1LP528170   Nissan       ROGUE               SANTA ANA                 CA
135224   KNMAT2MT1LP528203   Nissan       ROGUE               JACKSONVILLE              FL
135225   KNMAT2MT1LP528265   Nissan       ROGUE               Norwalk                   CA
135226   KNMAT2MT1LP528427   Nissan       ROGUE               LOS ANGELES               CA
135227   KNMAT2MT1LP528489   Nissan       ROGUE               LOS ANGELES AP            CA
135228   KNMAT2MT1LP528508   Nissan       ROGUE               SAN DIEGO                 CA
135229   KNMAT2MT1LP528606   Nissan       ROGUE               LOS ANGELES               CA
135230   KNMAT2MT1LP528637   Nissan       ROGUE               ORLANDO                   FL
135231   KNMAT2MT1LP528668   Nissan       ROGUE               PALM SPRINGS              CA
135232   KNMAT2MT1LP528833   Nissan       ROGUE               SAN DIEGO                 CA
135233   KNMAT2MT1LP528847   Nissan       ROGUE               Lake Elsinore             CA
135234   KNMAT2MT1LP528959   Nissan       ROGUE               ONTARIO                   CA
135235   KNMAT2MT1LP528993   Nissan       ROGUE               SANTA ANA                 CA
135236   KNMAT2MT1LP529058   Nissan       ROGUE               INGLEWOOD                 CA
135237   KNMAT2MT1LP529139   Nissan       ROGUE               SANTA ANA                 CA
135238   KNMAT2MT1LP529173   Nissan       ROGUE               BIRMINGHAM                AL
135239   KNMAT2MT1LP529237   Nissan       ROGUE               LOS ANGELES               CA
135240   KNMAT2MT1LP530002   Nissan       ROGUE               BOSTON                    MA
135241   KNMAT2MT1LP532865   Nissan       ROGUE               TAMPA                     FL
135242   KNMAT2MT1LP532901   Nissan       ROGUE               SAN DIEGO                 CA
135243   KNMAT2MT1LP533014   Nissan       ROGUE               LAS VEGAS                 NV
135244   KNMAT2MT1LP533076   Nissan       ROGUE               SAN DIEGO                 CA
135245   KNMAT2MT1LP533112   Nissan       ROGUE               FORT MYERS                FL
135246   KNMAT2MT1LP533188   Nissan       ROGUE               LOS ANGELES               CA
135247   KNMAT2MT1LP533191   Nissan       ROGUE               NEWPORT BEACH             CA
135248   KNMAT2MT1LP533305   Nissan       ROGUE               KEY WEST                  FL
135249   KNMAT2MT1LP533319   Nissan       ROGUE               FORT MYERS                FL
135250   KNMAT2MT1LP533322   Nissan       ROGUE               JACKSONVILLE              FL
135251   KNMAT2MT1LP533403   Nissan       ROGUE               WEST PALM BEACH           FL
135252   KNMAT2MT1LP533420   Nissan       ROGUE               WEST PALM BEACH           FL
135253   KNMAT2MT1LP533434   Nissan       ROGUE               FORT LAUDERDALE           FL
135254   KNMAT2MT1LP533580   Nissan       ROGUE               JACKSONVILLE              FL
135255   KNMAT2MT1LP533773   Nissan       ROGUE               ATLANTA                   GA
135256   KNMAT2MT1LP533823   Nissan       ROGUE               WOBURN                    MA
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135257   KNMAT2MT1LP533854   Nissan       ROGUE               FORT LAUDERDALE           FL
135258   KNMAT2MT1LP533949   Nissan       ROGUE               FORT MYERS                FL
135259   KNMAT2MT1LP534020   Nissan       ROGUE               JACKSONVILLE              FL
135260   KNMAT2MT1LP534101   Nissan       ROGUE               SAN JOSE                  CA
135261   KNMAT2MT1LP534518   Nissan       ROGUE               FORT MYERS                FL
135262   KNMAT2MT1LP534521   Nissan       ROGUE               LOS ANGELES               CA
135263   KNMAT2MT1LP534535   Nissan       ROGUE               LOS ANGELES               CA
135264   KNMAT2MT1LP534597   Nissan       ROGUE               ORANGE COUNTY             CA
135265   KNMAT2MT1LP534650   Nissan       ROGUE               MEMPHIS                   TN
135266   KNMAT2MT1LP534759   Nissan       ROGUE               LAS VEGAS                 NV
135267   KNMAT2MT1LP534793   Nissan       ROGUE               LOS ANGELES               CA
135268   KNMAT2MT1LP535409   Nissan       ROGUE               COSTA MESA                CA
135269   KNMAT2MT1LP535538   Nissan       ROGUE               COSTA MESA                CA
135270   KNMAT2MT1LP535863   Nissan       ROGUE               PALM SPRINGS              CA
135271   KNMAT2MT1LP536298   Nissan       ROGUE               LOS ANGELES               CA
135272   KNMAT2MT1LP536348   Nissan       ROGUE               PALM SPRINGS              CA
135273   KNMAT2MT1LP536401   Nissan       ROGUE               Norwalk                   CA
135274   KNMAT2MT1LP536530   Nissan       ROGUE               ORLANDO                   FL
135275   KNMAT2MT1LP536592   Nissan       ROGUE               KENNER                    LA
135276   KNMAT2MT1LP536771   Nissan       ROGUE               ORLANDO                   FL
135277   KNMAT2MT1LP536785   Nissan       ROGUE               SARASOTA                  FL
135278   KNMAT2MT1LP536866   Nissan       ROGUE               BOSTON                    MA
135279   KNMAT2MT1LP537001   Nissan       ROGUE               LAS VEGAS                 NV
135280   KNMAT2MT1LP537094   Nissan       ROGUE               WEST PALM BEACH           FL
135281   KNMAT2MT1LP537127   Nissan       ROGUE               FORT MYERS                FL
135282   KNMAT2MT1LP537161   Nissan       ROGUE               MIAMI                     FL
135283   KNMAT2MT1LP537175   Nissan       ROGUE               WEST PALM BEACH           FL
135284   KNMAT2MT1LP537273   Nissan       ROGUE               KEY WEST                  FL
135285   KNMAT2MT1LP537418   Nissan       ROGUE               BIRMINGHAN                AL
135286   KNMAT2MT1LP537550   Nissan       ROGUE               LAS VEGAS                 NV
135287   KNMAT2MT1LP537578   Nissan       ROGUE               FORT LAUDERDALE           FL
135288   KNMAT2MT1LP537581   Nissan       ROGUE               FORT MYERS                FL
135289   KNMAT2MT1LP537659   Nissan       ROGUE               LOS ANGELES               CA
135290   KNMAT2MT1LP537886   Nissan       ROGUE               ORLANDO                   FL
135291   KNMAT2MT1LP537967   Nissan       ROGUE               LAS VEGAS                 NV
135292   KNMAT2MT1LP538004   Nissan       ROGUE               LAS VEGAS                 NV
135293   KNMAT2MT1LP538052   Nissan       ROGUE               LAS VEGAS                 NV
135294   KNMAT2MT1LP538276   Nissan       ROGUE               ORLANDO                   FL
135295   KNMAT2MT1LP538391   Nissan       ROGUE               FORT MYERS                FL
135296   KNMAT2MT1LP538472   Nissan       ROGUE               FORT MYERS                FL
135297   KNMAT2MT1LP538729   Nissan       ROGUE               MOBILE                    A
135298   KNMAT2MT1LP538732   Nissan       ROGUE               TAMPA                     FL
135299   KNMAT2MT1LP538908   Nissan       ROGUE               EAST BOSTON               MA
135300   KNMAT2MT1LP539024   Nissan       ROGUE               FORT MYERS                FL
135301   KNMAT2MT1LP539119   Nissan       ROGUE               FORT MYERS                FL
135302   KNMAT2MT1LP539394   Nissan       ROGUE               ORLANDO                   FL
135303   KNMAT2MT1LP539427   Nissan       ROGUE               ORLANDO                   FL
135304   KNMAT2MT1LP539475   Nissan       ROGUE               WEST PALM BEACH           FL
135305   KNMAT2MT1LP540982   Nissan       ROGUE               EAST BOSTON               MA
135306   KNMAT2MT1LP541016   Nissan       ROGUE               EAST BOSTON               MA
135307   KNMAT2MT1LP541047   Nissan       ROGUE               EAST BOSTON               MA
135308   KNMAT2MT1LP541050   Nissan       ROGUE               EAST BOSTON               MA
135309   KNMAT2MT1LP541081   Nissan       ROGUE               EAST BOSTON               MA
135310   KNMAT2MT1LP541100   Nissan       ROGUE               EAST BOSTON               MA
135311   KNMAT2MT1LP541128   Nissan       ROGUE               EAST BOSTON               MA
135312   KNMAT2MT1LP541274   Nissan       ROGUE               EAST BOSTON               MA
135313   KNMAT2MT1LP541324   Nissan       ROGUE               EAST BOSTON               MA
135314   KNMAT2MT1LP541386   Nissan       ROGUE               EAST BOSTON               MA
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135315   KNMAT2MT2HP534972   Nissan       ROGUE               Slidell                   LA
135316   KNMAT2MT2HP540433   Nissan       ROGUE
135317   KNMAT2MT2HP552856   Nissan       ROGUE               PHOENIX                   AZ
135318   KNMAT2MT2HP553148   Nissan       ROGUE               STERLING                  VA
135319   KNMAT2MT2HP564960   Nissan       ROGUE               NORTH PAC                 CA
135320   KNMAT2MT2JP500438   Nissan       ROGUE               North Las Vegas           NV
135321   KNMAT2MT2JP501394   Nissan       ROGUE               SALT LAKE CITY            UT
135322   KNMAT2MT2JP501962   Nissan       ROGUE               Baltimore                 MD
135323   KNMAT2MT2JP502089   Nissan       ROGUE               Mira Loma                 CA
135324   KNMAT2MT2JP502304   Nissan       ROGUE               BURBANK                   CA
135325   KNMAT2MT2JP504893   Nissan       ROGUE               CHICAGO                   IL
135326   KNMAT2MT2JP505719   Nissan       ROGUE               SYRACUSE                  NY
135327   KNMAT2MT2JP507809   Nissan       ROGUE               SAN DIEGO                 CA
135328   KNMAT2MT2JP518227   Nissan       ROGUE               SAN JOSE                  CA
135329   KNMAT2MT2JP519894   Nissan       ROGUE               BURBANK                   CA
135330   KNMAT2MT2JP520107   Nissan       ROGUE               LOS ANGELES               CA
135331   KNMAT2MT2JP521189   Nissan       ROGUE               Roseville                 CA
135332   KNMAT2MT2JP521600   Nissan       ROGUE               BURBANK                   CA
135333   KNMAT2MT2JP521841   Nissan       ROGUE               BURBANK                   CA
135334   KNMAT2MT2JP523038   Nissan       ROGUE               BURBANK                   CA
135335   KNMAT2MT2JP523699   Nissan       ROGUE               Honolulu                  HI
135336   KNMAT2MT2JP524707   Nissan       ROGUE               LOS ANGELES               CA
135337   KNMAT2MT2JP527056   Nissan       ROGUE               Sacramento                CA
135338   KNMAT2MT2JP527414   Nissan       ROGUE               LOS ANGELES               CA
135339   KNMAT2MT2JP536128   Nissan       ROGUE               DES PLAINES               US
135340   KNMAT2MT2JP536436   Nissan       ROGUE               Estero                    FL
135341   KNMAT2MT2JP537828   Nissan       ROGUE               LOS ANGELES               CA
135342   KNMAT2MT2JP539577   Nissan       ROGUE               SALT LAKE CITY            UT
135343   KNMAT2MT2JP541832   Nissan       ROGUE               Estero                    FL
135344   KNMAT2MT2JP544942   Nissan       ROGUE               Elkridge                  MD
135345   KNMAT2MT2JP549462   Nissan       ROGUE               BURBANK                   CA
135346   KNMAT2MT2JP550076   Nissan       ROGUE               Lake Elsinore             CA
135347   KNMAT2MT2JP552586   Nissan       ROGUE               Austell                   GA
135348   KNMAT2MT2JP568206   Nissan       ROGUE               NORTH PAC                 CA
135349   KNMAT2MT2JP570022   Nissan       ROGUE               LOS ANGELES               CA
135350   KNMAT2MT2JP571493   Nissan       ROGUE               WEST CENTRAL DEALE        CO
135351   KNMAT2MT2JP575785   Nissan       ROGUE               Davie                     FL
135352   KNMAT2MT2JP577066   Nissan       ROGUE               SAN DIEGO                 CA
135353   KNMAT2MT2JP577195   Nissan       ROGUE               BURBANK                   CA
135354   KNMAT2MT2JP577522   Nissan       ROGUE               CENTRAL DIST OFFC         OK
135355   KNMAT2MT2JP583627   Nissan       ROGUE               West Palm Beach           FL
135356   KNMAT2MT2JP585491   Nissan       ROGUE               LAS VEGAS                 NV
135357   KNMAT2MT2KP516463   Nissan       ROGUE               Dallas                    TX
135358   KNMAT2MT2KP522344   Nissan       ROGUE               ORLANDO                   FL
135359   KNMAT2MT2KP526085   Nissan       ROGUE               Ft. Myers                 FL
135360   KNMAT2MT2KP544098   Nissan       ROGUE               ORLANDO                   FL
135361   KNMAT2MT2LP526797   Nissan       ROGUE               WEST PALM BEACH           FL
135362   KNMAT2MT2LP526847   Nissan       ROGUE               FORT LAUDERDALE           FL
135363   KNMAT2MT2LP526881   Nissan       ROGUE               FORT LAUDERDALE           FL
135364   KNMAT2MT2LP526900   Nissan       ROGUE               FORT MYERS                FL
135365   KNMAT2MT2LP526945   Nissan       ROGUE               LOS ANGELES               CA
135366   KNMAT2MT2LP527089   Nissan       ROGUE               LOS ANGELES               CA
135367   KNMAT2MT2LP527108   Nissan       ROGUE               TAMPA                     FL
135368   KNMAT2MT2LP527125   Nissan       ROGUE               LOS ANGELES               CA
135369   KNMAT2MT2LP527206   Nissan       ROGUE               WEST PALM BEACH           FL
135370   KNMAT2MT2LP527240   Nissan       ROGUE               ORLANDO                   FL
135371   KNMAT2MT2LP527268   Nissan       ROGUE               MIAMI                     FL
135372   KNMAT2MT2LP527271   Nissan       ROGUE               FORT MYERS                FL
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135373   KNMAT2MT2LP527318   Nissan       ROGUE               TAMPA                     FL
135374   KNMAT2MT2LP527349   Nissan       ROGUE               Dallas                    TX
135375   KNMAT2MT2LP527383   Nissan       ROGUE               FORT MYERS                FL
135376   KNMAT2MT2LP527397   Nissan       ROGUE               TAMPA                     FL
135377   KNMAT2MT2LP527402   Nissan       ROGUE               LAS VEGAS                 NV
135378   KNMAT2MT2LP527447   Nissan       ROGUE               FORT MYERS                FL
135379   KNMAT2MT2LP527450   Nissan       ROGUE               SARASOTA                  FL
135380   KNMAT2MT2LP527464   Nissan       ROGUE               FORT LAUDERDALE           FL
135381   KNMAT2MT2LP527478   Nissan       ROGUE               ORANGE COUNTY             CA
135382   KNMAT2MT2LP527495   Nissan       ROGUE               KNOXVILLE                 TN
135383   KNMAT2MT2LP527528   Nissan       ROGUE               LOS ANGELES               CA
135384   KNMAT2MT2LP527559   Nissan       ROGUE               ORLANDO                   FL
135385   KNMAT2MT2LP527609   Nissan       ROGUE               Miami                     FL
135386   KNMAT2MT2LP527688   Nissan       ROGUE               SAN DIEGO                 CA
135387   KNMAT2MT2LP527707   Nissan       ROGUE               WEST PALM BEACH           FL
135388   KNMAT2MT2LP527724   Nissan       ROGUE               FORT MYERS                FL
135389   KNMAT2MT2LP527741   Nissan       ROGUE               ORLANDO                   FL
135390   KNMAT2MT2LP527755   Nissan       ROGUE               FORT MYERS                FL
135391   KNMAT2MT2LP527917   Nissan       ROGUE               TAMPA                     FL
135392   KNMAT2MT2LP527920   Nissan       ROGUE               MIAMI                     FL
135393   KNMAT2MT2LP527934   Nissan       ROGUE               NASHVILLE                 TN
135394   KNMAT2MT2LP527951   Nissan       ROGUE               FORT LAUDERDALE           FL
135395   KNMAT2MT2LP527965   Nissan       ROGUE               ORLANDO                   FL
135396   KNMAT2MT2LP528002   Nissan       ROGUE               JACKSONVILLE              FL
135397   KNMAT2MT2LP528050   Nissan       ROGUE               WEST PALM BEACH           FL
135398   KNMAT2MT2LP528100   Nissan       ROGUE               MIAMI                     FL
135399   KNMAT2MT2LP528131   Nissan       ROGUE               Torrance                  CA
135400   KNMAT2MT2LP528145   Nissan       ROGUE               ORLANDO                   FL
135401   KNMAT2MT2LP528260   Nissan       ROGUE               SANTA ANA                 CA
135402   KNMAT2MT2LP528291   Nissan       ROGUE               Norwalk                   CA
135403   KNMAT2MT2LP528324   Nissan       ROGUE               KENNER                    LA
135404   KNMAT2MT2LP528355   Nissan       ROGUE               LOS ANGELES               CA
135405   KNMAT2MT2LP528422   Nissan       ROGUE               FORT MYERS                FL
135406   KNMAT2MT2LP528517   Nissan       ROGUE               BIRMINGHAM                AL
135407   KNMAT2MT2LP528534   Nissan       ROGUE               ATLANTA                   GA
135408   KNMAT2MT2LP528551   Nissan       ROGUE               LOS ANGELES               CA
135409   KNMAT2MT2LP528873   Nissan       ROGUE               LOS ANGELES               CA
135410   KNMAT2MT2LP529019   Nissan       ROGUE               PALM SPRINGS              CA
135411   KNMAT2MT2LP529151   Nissan       ROGUE               PALM SPRINGS              CA
135412   KNMAT2MT2LP529392   Nissan       ROGUE               WEST PALM BEACH           FL
135413   KNMAT2MT2LP529439   Nissan       ROGUE               JACKSONVILLE              FL
135414   KNMAT2MT2LP529554   Nissan       ROGUE               COLLEGE PARK              GA
135415   KNMAT2MT2LP529702   Nissan       ROGUE               NASHVILLE                 TN
135416   KNMAT2MT2LP532082   Nissan       ROGUE               ORANGE COUNTY             CA
135417   KNMAT2MT2LP532731   Nissan       ROGUE               WEST PALM BEACH           FL
135418   KNMAT2MT2LP532793   Nissan       ROGUE               Houston                   TX
135419   KNMAT2MT2LP533314   Nissan       ROGUE               ORLANDO                   FL
135420   KNMAT2MT2LP533426   Nissan       ROGUE               ORLANDO                   FL
135421   KNMAT2MT2LP533443   Nissan       ROGUE               FORT MYERS                FL
135422   KNMAT2MT2LP533510   Nissan       ROGUE               ORLANDO                   FL
135423   KNMAT2MT2LP533524   Nissan       ROGUE               FORT MYERS                FL
135424   KNMAT2MT2LP533605   Nissan       ROGUE               WEST PALM BEACH           FL
135425   KNMAT2MT2LP533619   Nissan       ROGUE               TAMPA                     FL
135426   KNMAT2MT2LP533622   Nissan       ROGUE               ORLANDO                   FL
135427   KNMAT2MT2LP533667   Nissan       ROGUE               MIAMI                     FL
135428   KNMAT2MT2LP533684   Nissan       ROGUE               TAMPA                     FL
135429   KNMAT2MT2LP533779   Nissan       ROGUE               FORT MYERS                FL
135430   KNMAT2MT2LP533796   Nissan       ROGUE               TAMPA                     FL
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135431   KNMAT2MT2LP533801   Nissan       ROGUE               FORT LAUDERDALE           FL
135432   KNMAT2MT2LP533894   Nissan       ROGUE               TAMPA                     FL
135433   KNMAT2MT2LP533913   Nissan       ROGUE               ORLANDO                   FL
135434   KNMAT2MT2LP533944   Nissan       ROGUE               JACKSONVILLE              FL
135435   KNMAT2MT2LP533989   Nissan       ROGUE               INDIANAPOLIS              IN
135436   KNMAT2MT2LP534446   Nissan       ROGUE               SAN DIEGO                 CA
135437   KNMAT2MT2LP534477   Nissan       ROGUE               SAN DIEGO                 CA
135438   KNMAT2MT2LP534611   Nissan       ROGUE               Buena Park                CA
135439   KNMAT2MT2LP534771   Nissan       ROGUE               FORT MYERS                FL
135440   KNMAT2MT2LP534785   Nissan       ROGUE               SAN DIEGO                 CA
135441   KNMAT2MT2LP534799   Nissan       ROGUE               LAS VEGAS                 NV
135442   KNMAT2MT2LP534866   Nissan       ROGUE               LAS VEGAS                 NV
135443   KNMAT2MT2LP534897   Nissan       ROGUE               LOS ANGELES               CA
135444   KNMAT2MT2LP535306   Nissan       ROGUE               BURBANK                   CA
135445   KNMAT2MT2LP535614   Nissan       ROGUE               SANTA ANA                 CA
135446   KNMAT2MT2LP535922   Nissan       ROGUE               LOS ANGELES               CA
135447   KNMAT2MT2LP535967   Nissan       ROGUE               INGLEWOOD                 CA
135448   KNMAT2MT2LP536214   Nissan       ROGUE               MEMPHIS                   TN
135449   KNMAT2MT2LP536259   Nissan       ROGUE               LOS ANGELES               CA
135450   KNMAT2MT2LP536312   Nissan       ROGUE               LAS VEGAS                 NV
135451   KNMAT2MT2LP536360   Nissan       ROGUE               LOS ANGELES               CA
135452   KNMAT2MT2LP536469   Nissan       ROGUE               MEMPHIS                   TN
135453   KNMAT2MT2LP536505   Nissan       ROGUE               FORT LAUDERDALE           FL
135454   KNMAT2MT2LP536519   Nissan       ROGUE               FORT MYERS                FL
135455   KNMAT2MT2LP536598   Nissan       ROGUE               JACKSONVILLE              FL
135456   KNMAT2MT2LP536696   Nissan       ROGUE               ORLANDO                   FL
135457   KNMAT2MT2LP536794   Nissan       ROGUE               WEST PALM BEACH           FL
135458   KNMAT2MT2LP536875   Nissan       ROGUE               LAS VEGAS                 NV
135459   KNMAT2MT2LP536892   Nissan       ROGUE               SAINT LOUIS               MO
135460   KNMAT2MT2LP536939   Nissan       ROGUE               SAVANNAH                  GA
135461   KNMAT2MT2LP536956   Nissan       ROGUE               PALM SPRINGS              CA
135462   KNMAT2MT2LP537105   Nissan       ROGUE               MIAMI                     FL
135463   KNMAT2MT2LP537119   Nissan       ROGUE               INGLEWOOD                 CA
135464   KNMAT2MT2LP537136   Nissan       ROGUE               Lake Elsinore             CA
135465   KNMAT2MT2LP537282   Nissan       ROGUE               LOS ANGELES AP            CA
135466   KNMAT2MT2LP537394   Nissan       ROGUE               LAS VEGAS                 NV
135467   KNMAT2MT2LP537458   Nissan       ROGUE               LOS ANGELES AP            CA
135468   KNMAT2MT2LP537511   Nissan       ROGUE               LAS VEGAS                 NV
135469   KNMAT2MT2LP537721   Nissan       ROGUE               MIAMI                     FL
135470   KNMAT2MT2LP537895   Nissan       ROGUE               WEST PALM BEACH           FL
135471   KNMAT2MT2LP537993   Nissan       ROGUE               TAMPA                     FL
135472   KNMAT2MT2LP538125   Nissan       ROGUE               TAMPA                     FL
135473   KNMAT2MT2LP538318   Nissan       ROGUE               ORLANDO                   FL
135474   KNMAT2MT2LP538450   Nissan       ROGUE               FORT MYERS                FL
135475   KNMAT2MT2LP538495   Nissan       ROGUE               FORT MYERS                FL
135476   KNMAT2MT2LP538514   Nissan       ROGUE               FORT MYERS                FL
135477   KNMAT2MT2LP539405   Nissan       ROGUE               ORLANDO                   FL
135478   KNMAT2MT2LP539470   Nissan       ROGUE               ORLANDO                   FL
135479   KNMAT2MT2LP539484   Nissan       ROGUE               ORLANDO                   FL
135480   KNMAT2MT2LP539601   Nissan       ROGUE               BOSTON                    MA
135481   KNMAT2MT2LP539940   Nissan       ROGUE               SARASOTA                  FL
135482   KNMAT2MT2LP540554   Nissan       ROGUE               SAVANNAH                  GA
135483   KNMAT2MT2LP540912   Nissan       ROGUE               EAST BOSTON               MA
135484   KNMAT2MT2LP540974   Nissan       ROGUE               EAST BOSTON               MA
135485   KNMAT2MT2LP541090   Nissan       ROGUE               EAST BOSTON               MA
135486   KNMAT2MT2LP541106   Nissan       ROGUE               EAST BOSTON               MA
135487   KNMAT2MT2LP541154   Nissan       ROGUE               EAST BOSTON               MA
135488   KNMAT2MT2LP541235   Nissan       ROGUE               EAST BOSTON               MA
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135489   KNMAT2MT2LP541459   Nissan       ROGUE               SAVANNAH                  GA
135490   KNMAT2MT2LP542207   Nissan       ROGUE               LAS VEGAS                 NV
135491   KNMAT2MT3HP576907   Nissan       ROGUE               BURBANK                   CA
135492   KNMAT2MT3JP500979   Nissan       ROGUE               DANIA BEACH               FL
135493   KNMAT2MT3JP501212   Nissan       ROGUE               FT LAUDERDALE             FL
135494   KNMAT2MT3JP501579   Nissan       ROGUE               Tampa                     FL
135495   KNMAT2MT3JP501906   Nissan       ROGUE               BROOK PARK                OH
135496   KNMAT2MT3JP506149   Nissan       ROGUE               North Dighton             MA
135497   KNMAT2MT3JP506961   Nissan       ROGUE               Atlanta                   GA
135498   KNMAT2MT3JP513103   Nissan       ROGUE               CLEVELAND                 OH
135499   KNMAT2MT3JP517488   Nissan       ROGUE               Las Vegas                 NV
135500   KNMAT2MT3JP518401   Nissan       ROGUE               SAN DIEGO                 CA
135501   KNMAT2MT3JP519581   Nissan       ROGUE               ORLANDO                   FL
135502   KNMAT2MT3JP521380   Nissan       ROGUE               SAN FRANCISCO             CA
135503   KNMAT2MT3JP521637   Nissan       ROGUE               LOS ANGELES               CA
135504   KNMAT2MT3JP521671   Nissan       ROGUE               Carol Stream              IL
135505   KNMAT2MT3JP521816   Nissan       ROGUE               BURBANK                   CA
135506   KNMAT2MT3JP523419   Nissan       ROGUE               BURBANK                   CA
135507   KNMAT2MT3JP524618   Nissan       ROGUE               DENVER                    CO
135508   KNMAT2MT3JP525610   Nissan       ROGUE               PHOENIX                   AZ
135509   KNMAT2MT3JP526871   Nissan       ROGUE               N MIAMI BEACH             FL
135510   KNMAT2MT3JP535957   Nissan       ROGUE               MORROW                    GA
135511   KNMAT2MT3JP536137   Nissan       ROGUE               DALLAS                    TX
135512   KNMAT2MT3JP536574   Nissan       ROGUE               Richmond                  VA
135513   KNMAT2MT3JP537241   Nissan       ROGUE               Scottsdale                AZ
135514   KNMAT2MT3JP537482   Nissan       ROGUE               LOS ANGELES               CA
135515   KNMAT2MT3JP537868   Nissan       ROGUE               N. Palm Beach             FL
135516   KNMAT2MT3JP538518   Nissan       ROGUE               Lake Elsinore             CA
135517   KNMAT2MT3JP538521   Nissan       ROGUE               COLLEGE PARK              GA
135518   KNMAT2MT3JP538597   Nissan       ROGUE               SAN FRANCISCO             CA
135519   KNMAT2MT3JP541726   Nissan       ROGUE               Tampa                     FL
135520   KNMAT2MT3JP546568   Nissan       ROGUE               North Canton              OH
135521   KNMAT2MT3JP551561   Nissan       ROGUE               BURBANK                   CA
135522   KNMAT2MT3JP559675   Nissan       ROGUE               TAMPA                     FL
135523   KNMAT2MT3JP568067   Nissan       ROGUE               ENGLEWOOD                 CO
135524   KNMAT2MT3JP569557   Nissan       ROGUE               SAN DIEGO                 CA
135525   KNMAT2MT3JP569946   Nissan       ROGUE               Statesville               NC
135526   KNMAT2MT3JP571325   Nissan       ROGUE               NEWPORT BEACH             CA
135527   KNMAT2MT3JP575584   Nissan       ROGUE               SANTA ANA                 CA
135528   KNMAT2MT3JP575973   Nissan       ROGUE               LOS ANGELES               CA
135529   KNMAT2MT3JP576038   Nissan       ROGUE               SANTA ANA                 CA
135530   KNMAT2MT3JP576055   Nissan       ROGUE               SAN JOSE                  CA
135531   KNMAT2MT3JP576072   Nissan       ROGUE               Lake Elsinore             CA
135532   KNMAT2MT3JP576282   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
135533   KNMAT2MT3JP576427   Nissan       ROGUE               CHANDLER                  AZ
135534   KNMAT2MT3JP576461   Nissan       ROGUE               BURBANK                   CA
135535   KNMAT2MT3JP577268   Nissan       ROGUE               LOS ANGELES               CA
135536   KNMAT2MT3JP577450   Nissan       ROGUE               LOS ANGELES               CA
135537   KNMAT2MT3JP577884   Nissan       ROGUE               BURBANK                   CA
135538   KNMAT2MT3JP586844   Nissan       ROGUE               SEATAC                    WA
135539   KNMAT2MT3JP592160   Nissan       ROGUE               REDWOOD CITY              CA
135540   KNMAT2MT3KP516472   Nissan       ROGUE               Austell                   GA
135541   KNMAT2MT3KP541923   Nissan       ROGUE               Slidell                   LA
135542   KNMAT2MT3KP544403   Nissan       ROGUE               N. Palm Beach             FL
135543   KNMAT2MT3KP545115   Nissan       ROGUE               San Antonio               TX
135544   KNMAT2MT3KP545583   Nissan       ROGUE               Dallas                    TX
135545   KNMAT2MT3KP546880   Nissan       ROGUE               TAMPA                     FL
135546   KNMAT2MT3KP547219   Nissan       ROGUE               HOUSTON                   TX
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135547   KNMAT2MT3KP547656   Nissan       ROGUE               Austin                    TX
135548   KNMAT2MT3LP526663   Nissan       ROGUE               ORLANDO                   FL
135549   KNMAT2MT3LP526727   Nissan       ROGUE               BURBANK                   CA
135550   KNMAT2MT3LP526789   Nissan       ROGUE               ORLANDO                   FL
135551   KNMAT2MT3LP526811   Nissan       ROGUE               SAN DIEGO                 CA
135552   KNMAT2MT3LP526873   Nissan       ROGUE               FORT MYERS                FL
135553   KNMAT2MT3LP526890   Nissan       ROGUE               LOS ANGELES               CA
135554   KNMAT2MT3LP526906   Nissan       ROGUE               ORLANDO                   FL
135555   KNMAT2MT3LP526971   Nissan       ROGUE               DETROIT                   MI
135556   KNMAT2MT3LP527022   Nissan       ROGUE               West Palm Beach           FL
135557   KNMAT2MT3LP527036   Nissan       ROGUE               FORT LAUDERDALE           FL
135558   KNMAT2MT3LP527117   Nissan       ROGUE               WEST PALM BEACH           FL
135559   KNMAT2MT3LP527151   Nissan       ROGUE               FORT MYERS                FL
135560   KNMAT2MT3LP527196   Nissan       ROGUE               TAMPA                     FL
135561   KNMAT2MT3LP527201   Nissan       ROGUE               ORLANDO                   FL
135562   KNMAT2MT3LP527229   Nissan       ROGUE               Miami                     FL
135563   KNMAT2MT3LP527232   Nissan       ROGUE               WEST PALM BEACH           FL
135564   KNMAT2MT3LP527263   Nissan       ROGUE               ONTARIO, RIVERSIDE        CA
135565   KNMAT2MT3LP527280   Nissan       ROGUE               SAVANNAH                  GA
135566   KNMAT2MT3LP527344   Nissan       ROGUE               MIAMI                     FL
135567   KNMAT2MT3LP527375   Nissan       ROGUE               JACKSONVILLE              FL
135568   KNMAT2MT3LP527389   Nissan       ROGUE               ORLANDO                   FL
135569   KNMAT2MT3LP527411   Nissan       ROGUE               JACKSONVILLE              FL
135570   KNMAT2MT3LP527425   Nissan       ROGUE               JACKSONVILLE              FL
135571   KNMAT2MT3LP527683   Nissan       ROGUE               SAN DIEGO                 CA
135572   KNMAT2MT3LP527750   Nissan       ROGUE               FORT MYERS                FL
135573   KNMAT2MT3LP527764   Nissan       ROGUE               SAN DIEGO                 CA
135574   KNMAT2MT3LP527795   Nissan       ROGUE               FORT LAUDERDALE           FL
135575   KNMAT2MT3LP527828   Nissan       ROGUE               ORLANDO                   FL
135576   KNMAT2MT3LP527845   Nissan       ROGUE               ORLANDO                   FL
135577   KNMAT2MT3LP527909   Nissan       ROGUE               JACKSON                   MS
135578   KNMAT2MT3LP527974   Nissan       ROGUE               MIAMI                     FL
135579   KNMAT2MT3LP527988   Nissan       ROGUE               TAMPA                     FL
135580   KNMAT2MT3LP528042   Nissan       ROGUE               TAMPA                     FL
135581   KNMAT2MT3LP528056   Nissan       ROGUE               TAMPA                     FL
135582   KNMAT2MT3LP528297   Nissan       ROGUE               Costa Mesa                CA
135583   KNMAT2MT3LP528350   Nissan       ROGUE               INGLEWOOD                 CA
135584   KNMAT2MT3LP528705   Nissan       ROGUE               PALM SPRINGS              CA
135585   KNMAT2MT3LP528722   Nissan       ROGUE               SANTA ANA                 CA
135586   KNMAT2MT3LP528901   Nissan       ROGUE               COLLEGE PARK              GA
135587   KNMAT2MT3LP528963   Nissan       ROGUE               GRAND RAPIDS              MI
135588   KNMAT2MT3LP529160   Nissan       ROGUE               Riverside                 CA
135589   KNMAT2MT3LP529210   Nissan       ROGUE               Memphis                   TN
135590   KNMAT2MT3LP529353   Nissan       ROGUE               JACKSONVILLE              FL
135591   KNMAT2MT3LP529398   Nissan       ROGUE               LOS ANGELES               CA
135592   KNMAT2MT3LP529563   Nissan       ROGUE               ATLANTA AP                GA
135593   KNMAT2MT3LP529644   Nissan       ROGUE               ATLANTA                   GA
135594   KNMAT2MT3LP529871   Nissan       ROGUE               TAMPA                     FL
135595   KNMAT2MT3LP530227   Nissan       ROGUE               JACKSONVILLE              FL
135596   KNMAT2MT3LP530812   Nissan       ROGUE               LAS VEGAS                 NV
135597   KNMAT2MT3LP531023   Nissan       ROGUE               LOS ANGELES AP            CA
135598   KNMAT2MT3LP532396   Nissan       ROGUE               FORT LAUDERDALE           FL
135599   KNMAT2MT3LP532883   Nissan       ROGUE               SANTA ANA                 CA
135600   KNMAT2MT3LP533029   Nissan       ROGUE               FORT LAUDERDALE           FL
135601   KNMAT2MT3LP533032   Nissan       ROGUE               SARASOTA                  FL
135602   KNMAT2MT3LP533127   Nissan       ROGUE               LAS VEGAS                 NV
135603   KNMAT2MT3LP533144   Nissan       ROGUE               SANTA ANA                 CA
135604   KNMAT2MT3LP533418   Nissan       ROGUE               TAMPA                     FL
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135605   KNMAT2MT3LP533497   Nissan       ROGUE               ORLANDO                   FL
135606   KNMAT2MT3LP533516   Nissan       ROGUE               FORT MYERS                FL
135607   KNMAT2MT3LP533547   Nissan       ROGUE               FORT LAUDERDALE           FL
135608   KNMAT2MT3LP533564   Nissan       ROGUE               TAMPA                     FL
135609   KNMAT2MT3LP533659   Nissan       ROGUE               TAMPA                     FL
135610   KNMAT2MT3LP533712   Nissan       ROGUE               FORT MYERS                FL
135611   KNMAT2MT3LP533743   Nissan       ROGUE               ORLANDO                   FL
135612   KNMAT2MT3LP533757   Nissan       ROGUE               JACKSONVILLE              FL
135613   KNMAT2MT3LP533855   Nissan       ROGUE               TAMPA                     FL
135614   KNMAT2MT3LP533872   Nissan       ROGUE               WEST PALM BEACH           FL
135615   KNMAT2MT3LP533905   Nissan       ROGUE               ORLANDO                   FL
135616   KNMAT2MT3LP533919   Nissan       ROGUE               FORT LAUDERDALE           FL
135617   KNMAT2MT3LP533953   Nissan       ROGUE               Atlanta                   GA
135618   KNMAT2MT3LP533967   Nissan       ROGUE               ORLANDO                   FL
135619   KNMAT2MT3LP533984   Nissan       ROGUE               TALLAHASSEE               F
135620   KNMAT2MT3LP534374   Nissan       ROGUE               MEMPHIS                   TN
135621   KNMAT2MT3LP534469   Nissan       ROGUE               ONTARIO, RIVERSIDE        CA
135622   KNMAT2MT3LP534553   Nissan       ROGUE               BURBANK                   CA
135623   KNMAT2MT3LP534584   Nissan       ROGUE               ONTARIO                   CA
135624   KNMAT2MT3LP534665   Nissan       ROGUE               ORANGE COUNTY             CA
135625   KNMAT2MT3LP534729   Nissan       ROGUE               ORANGE COUNTY             CA
135626   KNMAT2MT3LP535024   Nissan       ROGUE               ATLANTA                   GA
135627   KNMAT2MT3LP535038   Nissan       ROGUE               LOS ANGELES               CA
135628   KNMAT2MT3LP535590   Nissan       ROGUE               SANTA BARBARA             CA
135629   KNMAT2MT3LP535802   Nissan       ROGUE               LOS ANGELES               CA
135630   KNMAT2MT3LP535833   Nissan       ROGUE               Salt Lake City            UT
135631   KNMAT2MT3LP536013   Nissan       ROGUE               LOS ANGELES               CA
135632   KNMAT2MT3LP536268   Nissan       ROGUE               SANTA ANA                 CA
135633   KNMAT2MT3LP536383   Nissan       ROGUE               SAN DIEGO                 CA
135634   KNMAT2MT3LP536416   Nissan       ROGUE               SAN DIEGO                 CA
135635   KNMAT2MT3LP536447   Nissan       ROGUE               ONTARIO                   CA
135636   KNMAT2MT3LP536478   Nissan       ROGUE               SANTA ANA                 CA
135637   KNMAT2MT3LP536481   Nissan       ROGUE               PALM SPRINGS              CA
135638   KNMAT2MT3LP536495   Nissan       ROGUE               ORLANDO                   FL
135639   KNMAT2MT3LP536500   Nissan       ROGUE               JACKSONVILLE              FL
135640   KNMAT2MT3LP536514   Nissan       ROGUE               ORLANDO                   FL
135641   KNMAT2MT3LP536593   Nissan       ROGUE               MEMPHIS                   TN
135642   KNMAT2MT3LP536626   Nissan       ROGUE               FORT LAUDERDALE           FL
135643   KNMAT2MT3LP536688   Nissan       ROGUE               FORT LAUDERDALE           FL
135644   KNMAT2MT3LP536755   Nissan       ROGUE               ORLANDO                   FL
135645   KNMAT2MT3LP536786   Nissan       ROGUE               LOS ANGELES               CA
135646   KNMAT2MT3LP536836   Nissan       ROGUE               PENSACOLA                 FL
135647   KNMAT2MT3LP536917   Nissan       ROGUE               LAS VEGAS                 NV
135648   KNMAT2MT3LP536934   Nissan       ROGUE               TAMPA                     FL
135649   KNMAT2MT3LP536948   Nissan       ROGUE               LOS ANGELES               CA
135650   KNMAT2MT3LP536996   Nissan       ROGUE               LAS VEGAS                 NV
135651   KNMAT2MT3LP537159   Nissan       ROGUE               HARTFORD                  CT
135652   KNMAT2MT3LP537243   Nissan       ROGUE               WEST PALM BEACH           FL
135653   KNMAT2MT3LP537307   Nissan       ROGUE               LAS VEGAS                 NV
135654   KNMAT2MT3LP537470   Nissan       ROGUE               LOS ANGELES               CA
135655   KNMAT2MT3LP537534   Nissan       ROGUE               SANTA ANA                 CA
135656   KNMAT2MT3LP537601   Nissan       ROGUE               ORLANDO                   FL
135657   KNMAT2MT3LP537730   Nissan       ROGUE               TAMPA                     US
135658   KNMAT2MT3LP537758   Nissan       ROGUE               Miami                     FL
135659   KNMAT2MT3LP537937   Nissan       ROGUE               MIAMI INT'L AP            FL
135660   KNMAT2MT3LP538151   Nissan       ROGUE               MIAMI                     FL
135661   KNMAT2MT3LP538196   Nissan       ROGUE               ORLANDO                   FL
135662   KNMAT2MT3LP538330   Nissan       ROGUE               FORT MYERS                FL
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135663   KNMAT2MT3LP538411   Nissan       ROGUE               Ft. Myers                 FL
135664   KNMAT2MT3LP538585   Nissan       ROGUE               FORT LAUDERDALE           FL
135665   KNMAT2MT3LP538750   Nissan       ROGUE               TAMPA                     FL
135666   KNMAT2MT3LP538831   Nissan       ROGUE               EAST BOSTON               MA
135667   KNMAT2MT3LP538845   Nissan       ROGUE               SAVANNAH                  GA
135668   KNMAT2MT3LP539123   Nissan       ROGUE               FORT MYERS                FL
135669   KNMAT2MT3LP539414   Nissan       ROGUE               ORLANDO                   FL
135670   KNMAT2MT3LP539431   Nissan       ROGUE               ORLANDO                   FL
135671   KNMAT2MT3LP539509   Nissan       ROGUE               FORT MYERS                FL
135672   KNMAT2MT3LP539607   Nissan       ROGUE               EAST BOSTON               MA
135673   KNMAT2MT3LP539820   Nissan       ROGUE               EAST BOSTON               MA
135674   KNMAT2MT3LP540546   Nissan       ROGUE               TAMPA                     FL
135675   KNMAT2MT3LP540563   Nissan       ROGUE               SAVANNAH                  GA
135676   KNMAT2MT3LP540871   Nissan       ROGUE               EAST BOSTON               MA
135677   KNMAT2MT3LP540921   Nissan       ROGUE               EAST BOSTON               MA
135678   KNMAT2MT3LP541034   Nissan       ROGUE               EAST BOSTON               MA
135679   KNMAT2MT3LP541325   Nissan       ROGUE               EAST BOSTON               MA
135680   KNMAT2MT3LP541454   Nissan       ROGUE               SAVANNAH                  GA
135681   KNMAT2MT3LP541664   Nissan       ROGUE               EAST BOSTON               MA
135682   KNMAT2MT4GP639799   Nissan       ROGUE               MORROW                    GA
135683   KNMAT2MT4GP733567   Nissan       ROGUE               LAS VEGAS                 NV
135684   KNMAT2MT4HP538439   Nissan       ROGUE               Tampa                     FL
135685   KNMAT2MT4HP549022   Nissan       ROGUE               BURBANK                   CA
135686   KNMAT2MT4HP554236   Nissan       ROGUE               SAN ANTONIO               TX
135687   KNMAT2MT4JP501557   Nissan       ROGUE               Norwalk                   CA
135688   KNMAT2MT4JP501736   Nissan       ROGUE               Rio Linda                 CA
135689   KNMAT2MT4JP506290   Nissan       ROGUE               North Las Vegas           NV
135690   KNMAT2MT4JP517614   Nissan       ROGUE               Richmond                  VA
135691   KNMAT2MT4JP518567   Nissan       ROGUE               FT. LAUDERDALE            FL
135692   KNMAT2MT4JP520870   Nissan       ROGUE               RALIEGH                   NC
135693   KNMAT2MT4JP521629   Nissan       ROGUE               SANTA ANA                 CA
135694   KNMAT2MT4JP521775   Nissan       ROGUE               BURBANK                   CA
135695   KNMAT2MT4JP521887   Nissan       ROGUE               WEST PALM BEACH           FL
135696   KNMAT2MT4JP521954   Nissan       ROGUE               Norwalk                   CA
135697   KNMAT2MT4JP521999   Nissan       ROGUE               BURBANK                   CA
135698   KNMAT2MT4JP525101   Nissan       ROGUE               PHOENIX                   AZ
135699   KNMAT2MT4JP525728   Nissan       ROGUE               Las Vegas                 NV
135700   KNMAT2MT4JP534560   Nissan       ROGUE               Elkridge                  MD
135701   KNMAT2MT4JP536180   Nissan       ROGUE               BURBANK                   CA
135702   KNMAT2MT4JP537832   Nissan       ROGUE               BALTIMORE                 MD
135703   KNMAT2MT4JP538110   Nissan       ROGUE               Salt Lake City            UT
135704   KNMAT2MT4JP538284   Nissan       ROGUE               CHICAGO                   IL
135705   KNMAT2MT4JP538656   Nissan       ROGUE               LOS ANGELES               CA
135706   KNMAT2MT4JP538950   Nissan       ROGUE               SANTA ANA                 CA
135707   KNMAT2MT4JP539113   Nissan       ROGUE               SANTA ANA                 CA
135708   KNMAT2MT4JP544117   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
135709   KNMAT2MT4JP544246   Nissan       ROGUE               WEST PALM BEACH           FL
135710   KNMAT2MT4JP545283   Nissan       ROGUE               ORLANDO                   FL
135711   KNMAT2MT4JP546711   Nissan       ROGUE               Baltimore                 MD
135712   KNMAT2MT4JP549608   Nissan       ROGUE               BURBANK                   CA
135713   KNMAT2MT4JP549849   Nissan       ROGUE               BURBANK                   CA
135714   KNMAT2MT4JP550130   Nissan       ROGUE               BURBANK                   CA
135715   KNMAT2MT4JP551326   Nissan       ROGUE               SANTA ANA                 CA
135716   KNMAT2MT4JP559460   Nissan       ROGUE               N. Palm Beach             FL
135717   KNMAT2MT4JP568014   Nissan       ROGUE               Honolulu                  HI
135718   KNMAT2MT4JP569728   Nissan       ROGUE               FORT MYERS                FL
135719   KNMAT2MT4JP569809   Nissan       ROGUE               ALBANY                    N
135720   KNMAT2MT4JP570216   Nissan       ROGUE               DALLAS                    TX
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135721   KNMAT2MT4JP570667   Nissan       ROGUE               Statesville               NC
135722   KNMAT2MT4JP575688   Nissan       ROGUE               SAN FRANCISCO             CA
135723   KNMAT2MT4JP575965   Nissan       ROGUE               AUSTIN                    TX
135724   KNMAT2MT4JP576002   Nissan       ROGUE               NORTH PAC                 CA
135725   KNMAT2MT4JP576310   Nissan       ROGUE               ONTARIO                   CA
135726   KNMAT2MT4JP576453   Nissan       ROGUE               SPRINGFIELD               VA
135727   KNMAT2MT4JP577134   Nissan       ROGUE               SAN JOSE                  CA
135728   KNMAT2MT4JP577540   Nissan       ROGUE               BURBANK                   CA
135729   KNMAT2MT4JP583743   Nissan       ROGUE               SAN DIEGO                 CA
135730   KNMAT2MT4JP583774   Nissan       ROGUE               Dallas                    TX
135731   KNMAT2MT4JP584066   Nissan       ROGUE               LAS VEGAS                 NV
135732   KNMAT2MT4JP585721   Nissan       ROGUE               Scottsdale                AZ
135733   KNMAT2MT4JP586514   Nissan       ROGUE               Pasadena                  CA
135734   KNMAT2MT4KP516187   Nissan       ROGUE               ORLANDO                   FL
135735   KNMAT2MT4KP516237   Nissan       ROGUE               Orlando                   FL
135736   KNMAT2MT4KP520210   Nissan       ROGUE               ATHENS                    GA
135737   KNMAT2MT4KP521129   Nissan       ROGUE               FORT LAUDERDALE           FL
135738   KNMAT2MT4KP526301   Nissan       ROGUE               PALM SPRINGS              CA
135739   KNMAT2MT4KP528176   Nissan       ROGUE               CHICAGO                   IL
135740   KNMAT2MT4KP546726   Nissan       ROGUE               Slidell                   LA
135741   KNMAT2MT4LP526672   Nissan       ROGUE               SANTA ANA                 CA
135742   KNMAT2MT4LP526705   Nissan       ROGUE               LOS ANGELES               CA
135743   KNMAT2MT4LP526722   Nissan       ROGUE               FORT LAUDERDALE           FL
135744   KNMAT2MT4LP526736   Nissan       ROGUE               LAS VEGAS                 NV
135745   KNMAT2MT4LP526784   Nissan       ROGUE               WEST PALM BEACH           FL
135746   KNMAT2MT4LP526851   Nissan       ROGUE               LAS VEGAS                 NV
135747   KNMAT2MT4LP526865   Nissan       ROGUE               SAN DIEGO                 CA
135748   KNMAT2MT4LP526977   Nissan       ROGUE               DANIA BEACH               FL
135749   KNMAT2MT4LP527028   Nissan       ROGUE               FORT LAUDERDALE           FL
135750   KNMAT2MT4LP527076   Nissan       ROGUE               Carson                    CA
135751   KNMAT2MT4LP527188   Nissan       ROGUE               Los Angeles               CA
135752   KNMAT2MT4LP527207   Nissan       ROGUE               SAN DIEGO                 CA
135753   KNMAT2MT4LP527224   Nissan       ROGUE               MIAMI                     FL
135754   KNMAT2MT4LP527255   Nissan       ROGUE               MIAMI                     FL
135755   KNMAT2MT4LP527305   Nissan       ROGUE               FORT MYERS                FL
135756   KNMAT2MT4LP527336   Nissan       ROGUE               STERLING                  VA
135757   KNMAT2MT4LP527367   Nissan       ROGUE               ORLANDO                   FL
135758   KNMAT2MT4LP527451   Nissan       ROGUE               JACKSONVILLE              FL
135759   KNMAT2MT4LP527482   Nissan       ROGUE               PALM SPRINGS              CA
135760   KNMAT2MT4LP527515   Nissan       ROGUE               FORT MYERS                FL
135761   KNMAT2MT4LP527532   Nissan       ROGUE               Dallas                    TX
135762   KNMAT2MT4LP527546   Nissan       ROGUE               TAMPA                     FL
135763   KNMAT2MT4LP527644   Nissan       ROGUE               LOS ANGELES               CA
135764   KNMAT2MT4LP527658   Nissan       ROGUE               INGLEWOOD                 CA
135765   KNMAT2MT4LP527661   Nissan       ROGUE               ORANGE COUNTY             CA
135766   KNMAT2MT4LP527692   Nissan       ROGUE               WEST PALM BEACH           FL
135767   KNMAT2MT4LP527773   Nissan       ROGUE               SAVANNAH                  GA
135768   KNMAT2MT4LP527787   Nissan       ROGUE               ORLANDO                   FL
135769   KNMAT2MT4LP527790   Nissan       ROGUE               GAINESVILLE               FL
135770   KNMAT2MT4LP527806   Nissan       ROGUE               JACKSONVILLE              FL
135771   KNMAT2MT4LP527885   Nissan       ROGUE               WEST PALM BEACH           FL
135772   KNMAT2MT4LP527949   Nissan       ROGUE               FORT MYERS                FL
135773   KNMAT2MT4LP527983   Nissan       ROGUE               SARASOTA                  FL
135774   KNMAT2MT4LP528034   Nissan       ROGUE               FORT MYERS                FL
135775   KNMAT2MT4LP528048   Nissan       ROGUE               FORT MYERS                FL
135776   KNMAT2MT4LP528146   Nissan       ROGUE               SAVANNAH                  GA
135777   KNMAT2MT4LP528163   Nissan       ROGUE               LOS ANGELES               CA
135778   KNMAT2MT4LP528518   Nissan       ROGUE               ORANGE COUNTY             CA
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135779   KNMAT2MT4LP528521   Nissan       ROGUE               PENSACOLA                 FL
135780   KNMAT2MT4LP528647   Nissan       ROGUE               Hendersonville            TN
135781   KNMAT2MT4LP528664   Nissan       ROGUE               SANTA ANA                 CA
135782   KNMAT2MT4LP528728   Nissan       ROGUE               SAN DIEGO                 CA
135783   KNMAT2MT4LP528759   Nissan       ROGUE               Downey                    CA
135784   KNMAT2MT4LP528910   Nissan       ROGUE               LOS ANGELES               CA
135785   KNMAT2MT4LP528924   Nissan       ROGUE               JACKSONVILLE              FL
135786   KNMAT2MT4LP528969   Nissan       ROGUE               CLOVIS                    CA
135787   KNMAT2MT4LP529085   Nissan       ROGUE               MIAMI                     FL
135788   KNMAT2MT4LP529183   Nissan       ROGUE               BIRMINGHAM                AL
135789   KNMAT2MT4LP529250   Nissan       ROGUE               FORT MYERS                FL
135790   KNMAT2MT4LP529264   Nissan       ROGUE               ORLANDO                   FL
135791   KNMAT2MT4LP529295   Nissan       ROGUE               Harlingen                 TX
135792   KNMAT2MT4LP529328   Nissan       ROGUE               ORLANDO                   FL
135793   KNMAT2MT4LP529393   Nissan       ROGUE               FORT LAUDERDALE           FL
135794   KNMAT2MT4LP529703   Nissan       ROGUE               Massapequa                NY
135795   KNMAT2MT4LP529748   Nissan       ROGUE               PENSACOLA                 FL
135796   KNMAT2MT4LP529877   Nissan       ROGUE               KENNER                    LA
135797   KNMAT2MT4LP530592   Nissan       ROGUE               LAS VEGAS                 NV
135798   KNMAT2MT4LP532388   Nissan       ROGUE               SARASOTA                  FL
135799   KNMAT2MT4LP532486   Nissan       ROGUE               FORT MYERS                FL
135800   KNMAT2MT4LP532729   Nissan       ROGUE               TAMPA                     FL
135801   KNMAT2MT4LP532732   Nissan       ROGUE               FORT MYERS                FL
135802   KNMAT2MT4LP533119   Nissan       ROGUE               LOS ANGELES               CA
135803   KNMAT2MT4LP533136   Nissan       ROGUE               SAN DIEGO                 CA
135804   KNMAT2MT4LP533265   Nissan       ROGUE               BURBANK                   CA
135805   KNMAT2MT4LP533279   Nissan       ROGUE               PALM SPRINGS              CA
135806   KNMAT2MT4LP533427   Nissan       ROGUE               FORT LAUDERDALE           FL
135807   KNMAT2MT4LP533461   Nissan       ROGUE               JACKSONVILLE              FL
135808   KNMAT2MT4LP533475   Nissan       ROGUE               FORT LAUDERDALE           FL
135809   KNMAT2MT4LP533587   Nissan       ROGUE               FORT LAUDERDALE           FL
135810   KNMAT2MT4LP533590   Nissan       ROGUE               Miami                     FL
135811   KNMAT2MT4LP533671   Nissan       ROGUE               FORT LAUDERDALE           FL
135812   KNMAT2MT4LP533749   Nissan       ROGUE               TAMPA                     FL
135813   KNMAT2MT4LP533752   Nissan       ROGUE               FORT MYERS                FL
135814   KNMAT2MT4LP533783   Nissan       ROGUE               Atlanta                   GA
135815   KNMAT2MT4LP533959   Nissan       ROGUE               WEST PALM BEACH           FL
135816   KNMAT2MT4LP534013   Nissan       ROGUE               ORLANDO                   FL
135817   KNMAT2MT4LP534108   Nissan       ROGUE               WARWICK                   RI
135818   KNMAT2MT4LP534481   Nissan       ROGUE               SAN DIEGO                 CA
135819   KNMAT2MT4LP534495   Nissan       ROGUE               INGLEWOOD                 CA
135820   KNMAT2MT4LP534643   Nissan       ROGUE               LAS VEGAS                 NV
135821   KNMAT2MT4LP534657   Nissan       ROGUE               Tustin                    CA
135822   KNMAT2MT4LP534674   Nissan       ROGUE               PALM SPRINGS              CA
135823   KNMAT2MT4LP534769   Nissan       ROGUE               FORT MYERS                FL
135824   KNMAT2MT4LP534934   Nissan       ROGUE               LOS ANGELES               CA
135825   KNMAT2MT4LP535419   Nissan       ROGUE               ORANGE COUNTY             CA
135826   KNMAT2MT4LP536070   Nissan       ROGUE               SAN DIEGO                 CA
135827   KNMAT2MT4LP536151   Nissan       ROGUE               PALM SPRINGS              CA
135828   KNMAT2MT4LP536439   Nissan       ROGUE               PALM SPRINGS              CA
135829   KNMAT2MT4LP536523   Nissan       ROGUE               PALM SPRINGS              CA
135830   KNMAT2MT4LP536540   Nissan       ROGUE               FORT LAUDERDALE           FL
135831   KNMAT2MT4LP536585   Nissan       ROGUE               FORT MYERS                FL
135832   KNMAT2MT4LP536618   Nissan       ROGUE               FORT MYERS                FL
135833   KNMAT2MT4LP536635   Nissan       ROGUE               Miami                     FL
135834   KNMAT2MT4LP536683   Nissan       ROGUE               JACKSON                   MS
135835   KNMAT2MT4LP536702   Nissan       ROGUE               TAMPA                     FL
135836   KNMAT2MT4LP536800   Nissan       ROGUE               SARASOTA                  FL
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135837   KNMAT2MT4LP536926   Nissan       ROGUE               LOS ANGELES               CA
135838   KNMAT2MT4LP536960   Nissan       ROGUE               BIRMINGHAM                AL
135839   KNMAT2MT4LP536974   Nissan       ROGUE               MEMPHIS                   TN
135840   KNMAT2MT4LP537087   Nissan       ROGUE               TAMPA                     FL
135841   KNMAT2MT4LP537137   Nissan       ROGUE               WEST PALM BEACH           FL
135842   KNMAT2MT4LP537235   Nissan       ROGUE               ORLANDO                   FL
135843   KNMAT2MT4LP537445   Nissan       ROGUE               LEXINGTON                 KY
135844   KNMAT2MT4LP537574   Nissan       ROGUE               ORLANDO                   FL
135845   KNMAT2MT4LP537719   Nissan       ROGUE               FORT LAUDERDALE           FL
135846   KNMAT2MT4LP537753   Nissan       ROGUE               MIAMI                     FL
135847   KNMAT2MT4LP538210   Nissan       ROGUE               LAS VEGAS                 NV
135848   KNMAT2MT4LP538241   Nissan       ROGUE               ORLANDO                   FL
135849   KNMAT2MT4LP538269   Nissan       ROGUE               LAS VEGAS                 NV
135850   KNMAT2MT4LP538417   Nissan       ROGUE               COLLEGE PARK              GA
135851   KNMAT2MT4LP538644   Nissan       ROGUE               WEST PALM BEACH           FL
135852   KNMAT2MT4LP538823   Nissan       ROGUE               SARASOTA                  FL
135853   KNMAT2MT4LP538997   Nissan       ROGUE               EAST BOSTON               MA
135854   KNMAT2MT4LP539017   Nissan       ROGUE               FORT MYERS                FL
135855   KNMAT2MT4LP539020   Nissan       ROGUE               FORT MYERS                FL
135856   KNMAT2MT4LP539048   Nissan       ROGUE               FORT MYERS                FL
135857   KNMAT2MT4LP539051   Nissan       ROGUE               FORT MYERS                FL
135858   KNMAT2MT4LP539065   Nissan       ROGUE               FORT MYERS                FL
135859   KNMAT2MT4LP539079   Nissan       ROGUE               EAST BOSTON               MA
135860   KNMAT2MT4LP539261   Nissan       ROGUE               FORT MYERS                FL
135861   KNMAT2MT4LP539325   Nissan       ROGUE               WEST PALM BEACH           FL
135862   KNMAT2MT4LP539437   Nissan       ROGUE               ORLANDO                   FL
135863   KNMAT2MT4LP539552   Nissan       ROGUE               SAVANNAH                  GA
135864   KNMAT2MT4LP539695   Nissan       ROGUE               BOSTON                    MA
135865   KNMAT2MT4LP540877   Nissan       ROGUE               KENNER                    LA
135866   KNMAT2MT5HP541561   Nissan       ROGUE               LAS VEGAS                 NV
135867   KNMAT2MT5HP544377   Nissan       ROGUE               Fort Lauderdale           FL
135868   KNMAT2MT5HP569814   Nissan       ROGUE               BURBANK                   CA
135869   KNMAT2MT5JP501602   Nissan       ROGUE               HANOVER                   MD
135870   KNMAT2MT5JP502300   Nissan       ROGUE               Roseville                 CA
135871   KNMAT2MT5JP503219   Nissan       ROGUE               Warminster                PA
135872   KNMAT2MT5JP503480   Nissan       ROGUE               CHARLOTTE                 NC
135873   KNMAT2MT5JP504743   Nissan       ROGUE               Lynn                      MA
135874   KNMAT2MT5JP506136   Nissan       ROGUE               CHARLOTTE                 NC
135875   KNMAT2MT5JP509229   Nissan       ROGUE               NOTTINGHAM                MD
135876   KNMAT2MT5JP518206   Nissan       ROGUE               CHANDLER                  AZ
135877   KNMAT2MT5JP521008   Nissan       ROGUE               Marietta                  GA
135878   KNMAT2MT5JP521641   Nissan       ROGUE               BURBANK                   CA
135879   KNMAT2MT5JP521820   Nissan       ROGUE               DALLAS                    TX
135880   KNMAT2MT5JP522143   Nissan       ROGUE               NORTH PAC                 CA
135881   KNMAT2MT5JP523776   Nissan       ROGUE               Elkridge                  MD
135882   KNMAT2MT5JP525799   Nissan       ROGUE               PHOENIX                   AZ
135883   KNMAT2MT5JP526001   Nissan       ROGUE               BURBANK                   CA
135884   KNMAT2MT5JP526080   Nissan       ROGUE               SAN DIEGO                 CA
135885   KNMAT2MT5JP526662   Nissan       ROGUE               Las Vegas                 NV
135886   KNMAT2MT5JP533479   Nissan       ROGUE               BURBANK                   CA
135887   KNMAT2MT5JP538102   Nissan       ROGUE               BURBANK                   CA
135888   KNMAT2MT5JP538360   Nissan       ROGUE               GLEN BURNIE               MD
135889   KNMAT2MT5JP538505   Nissan       ROGUE               COLLEGE PARK              GA
135890   KNMAT2MT5JP538973   Nissan       ROGUE               Anaheim                   CA
135891   KNMAT2MT5JP539038   Nissan       ROGUE               SAN JOSE                  CA
135892   KNMAT2MT5JP545311   Nissan       ROGUE               WEST PALM BEACH           FL
135893   KNMAT2MT5JP548449   Nissan       ROGUE               OAKLAND                   CA
135894   KNMAT2MT5JP549889   Nissan       ROGUE               BURBANK                   CA
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135895   KNMAT2MT5JP567387   Nissan       ROGUE               SAN ANTONIO               TX
135896   KNMAT2MT5JP568300   Nissan       ROGUE               BRONX                     NY
135897   KNMAT2MT5JP569723   Nissan       ROGUE               RICHMOND                  VA
135898   KNMAT2MT5JP570869   Nissan       ROGUE               Atlanta                   GA
135899   KNMAT2MT5JP570886   Nissan       ROGUE               Tolleson                  AZ
135900   KNMAT2MT5JP571388   Nissan       ROGUE               Miami                     FL
135901   KNMAT2MT5JP571696   Nissan       ROGUE               MARIETTA                  GA
135902   KNMAT2MT5JP572301   Nissan       ROGUE               N. Palm Beach             FL
135903   KNMAT2MT5JP572749   Nissan       ROGUE               LAS VEGAS                 NV
135904   KNMAT2MT5JP576333   Nissan       ROGUE               Lake Elsinore             CA
135905   KNMAT2MT5JP577160   Nissan       ROGUE               Los Angeles               CA
135906   KNMAT2MT5JP584139   Nissan       ROGUE               BURBANK                   CA
135907   KNMAT2MT5JP584190   Nissan       ROGUE               SAN DIEGO                 CA
135908   KNMAT2MT5JP584531   Nissan       ROGUE               LOS ANGELES               CA
135909   KNMAT2MT5JP586411   Nissan       ROGUE               BURBANK                   CA
135910   KNMAT2MT5JP590281   Nissan       ROGUE               PHOENIX                   AZ
135911   KNMAT2MT5KP518983   Nissan       ROGUE               Leesburg                  VA
135912   KNMAT2MT5KP521351   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
135913   KNMAT2MT5KP526193   Nissan       ROGUE               ORANGE COUNTY             CA
135914   KNMAT2MT5KP545147   Nissan       ROGUE               NEW BERN                  NC
135915   KNMAT2MT5KP546461   Nissan       ROGUE               DETROIT                   MI
135916   KNMAT2MT5KP547688   Nissan       ROGUE               HOUSTON                   TX
135917   KNMAT2MT5KP550056   Nissan       ROGUE               Hapeville                 GA
135918   KNMAT2MT5KP551384   Nissan       ROGUE               Ontario                   CA
135919   KNMAT2MT5KP554706   Nissan       ROGUE               TAMPA                     FL
135920   KNMAT2MT5KP556892   Nissan       ROGUE               TAMPA                     FL
135921   KNMAT2MT5LP526664   Nissan       ROGUE               ORLANDO                   FL
135922   KNMAT2MT5LP526678   Nissan       ROGUE               PALM SPRINGS              CA
135923   KNMAT2MT5LP526681   Nissan       ROGUE               PALM SPRINGS              CA
135924   KNMAT2MT5LP526714   Nissan       ROGUE               SAN DIEGO                 CA
135925   KNMAT2MT5LP526728   Nissan       ROGUE               BURBANK                   CA
135926   KNMAT2MT5LP526745   Nissan       ROGUE               SANTA ANA                 CA
135927   KNMAT2MT5LP526776   Nissan       ROGUE               ORLANDO                   FL
135928   KNMAT2MT5LP526809   Nissan       ROGUE               SARASOTA                  FL
135929   KNMAT2MT5LP526812   Nissan       ROGUE               WEST PALM BEACH           FL
135930   KNMAT2MT5LP526826   Nissan       ROGUE               ORLANDO                   FL
135931   KNMAT2MT5LP526843   Nissan       ROGUE               FORT MYERS                FL
135932   KNMAT2MT5LP526888   Nissan       ROGUE               COSTA MESA                CA
135933   KNMAT2MT5LP526907   Nissan       ROGUE               Salt Lake City            UT
135934   KNMAT2MT5LP526941   Nissan       ROGUE               Tampa                     FL
135935   KNMAT2MT5LP526986   Nissan       ROGUE               ORLANDO                   FL
135936   KNMAT2MT5LP527054   Nissan       ROGUE               SAN DIEGO                 CA
135937   KNMAT2MT5LP527071   Nissan       ROGUE               TAMPA                     FL
135938   KNMAT2MT5LP527085   Nissan       ROGUE               PALM SPRINGS              CA
135939   KNMAT2MT5LP527149   Nissan       ROGUE               MIAMI                     FL
135940   KNMAT2MT5LP527152   Nissan       ROGUE               FORT LAUDERDALE           FL
135941   KNMAT2MT5LP527166   Nissan       ROGUE               ORLANDO                   FL
135942   KNMAT2MT5LP527183   Nissan       ROGUE               WEST PALM BEACH           FL
135943   KNMAT2MT5LP527197   Nissan       ROGUE               SAN DIEGO                 CA
135944   KNMAT2MT5LP527233   Nissan       ROGUE               Tampa                     FL
135945   KNMAT2MT5LP527247   Nissan       ROGUE               FORT MYERS                FL
135946   KNMAT2MT5LP527281   Nissan       ROGUE               Tustin                    CA
135947   KNMAT2MT5LP527295   Nissan       ROGUE               Lake Elsinore             CA
135948   KNMAT2MT5LP527328   Nissan       ROGUE               SARASOTA                  FL
135949   KNMAT2MT5LP527331   Nissan       ROGUE               Miami                     FL
135950   KNMAT2MT5LP527359   Nissan       ROGUE               ORLANDO                   FL
135951   KNMAT2MT5LP527393   Nissan       ROGUE               ORLANDO                   FL
135952   KNMAT2MT5LP527457   Nissan       ROGUE               ORLANDO                   FL
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135953   KNMAT2MT5LP527474   Nissan       ROGUE               ORLANDO                   FL
135954   KNMAT2MT5LP527524   Nissan       ROGUE               BURBANK                   CA
135955   KNMAT2MT5LP527538   Nissan       ROGUE               LOS ANGELES               CA
135956   KNMAT2MT5LP527605   Nissan       ROGUE               JACKSONVILLE              FL
135957   KNMAT2MT5LP527636   Nissan       ROGUE               ORLANDO                   FL
135958   KNMAT2MT5LP527653   Nissan       ROGUE               BURBANK                   CA
135959   KNMAT2MT5LP527698   Nissan       ROGUE               FORT LAUDERDALE           FL
135960   KNMAT2MT5LP527751   Nissan       ROGUE               TAMPA                     FL
135961   KNMAT2MT5LP527815   Nissan       ROGUE               FORT MYERS                FL
135962   KNMAT2MT5LP527829   Nissan       ROGUE               FORT MYERS                FL
135963   KNMAT2MT5LP527880   Nissan       ROGUE               TAMPA                     US
135964   KNMAT2MT5LP527992   Nissan       ROGUE               SARASOTA                  FL
135965   KNMAT2MT5LP528107   Nissan       ROGUE               LOS ANGELES               CA
135966   KNMAT2MT5LP528141   Nissan       ROGUE               FORT LAUDERDALE           FL
135967   KNMAT2MT5LP528169   Nissan       ROGUE               ORLANDO                   FL
135968   KNMAT2MT5LP528236   Nissan       ROGUE               Norwalk                   CA
135969   KNMAT2MT5LP528303   Nissan       ROGUE               PALM SPRINGS              CA
135970   KNMAT2MT5LP528396   Nissan       ROGUE               ONTARIO                   CA
135971   KNMAT2MT5LP528415   Nissan       ROGUE               SANTA ANA                 CA
135972   KNMAT2MT5LP528446   Nissan       ROGUE               SANTA ANA                 CA
135973   KNMAT2MT5LP528513   Nissan       ROGUE               LOS ANGELES               CA
135974   KNMAT2MT5LP528611   Nissan       ROGUE               JACKSON                   MS
135975   KNMAT2MT5LP528768   Nissan       ROGUE               SANTA ANA                 CA
135976   KNMAT2MT5LP528897   Nissan       ROGUE               PALM SPRINGS              CA
135977   KNMAT2MT5LP528916   Nissan       ROGUE               LOS ANGELES               CA
135978   KNMAT2MT5LP529015   Nissan       ROGUE               ORLANDO                   FL
135979   KNMAT2MT5LP529144   Nissan       ROGUE               FORT LAUDERDALE           FL
135980   KNMAT2MT5LP529189   Nissan       ROGUE               ORANGE COUNTY             CA
135981   KNMAT2MT5LP529290   Nissan       ROGUE               GRAND RAPIDS              MI
135982   KNMAT2MT5LP529810   Nissan       ROGUE               FORT MYERS                FL
135983   KNMAT2MT5LP529984   Nissan       ROGUE               TAMPA                     FL
135984   KNMAT2MT5LP532478   Nissan       ROGUE               FORT MYERS                FL
135985   KNMAT2MT5LP532903   Nissan       ROGUE               PALM SPRINGS              CA
135986   KNMAT2MT5LP533081   Nissan       ROGUE               LOS ANGELES               CA
135987   KNMAT2MT5LP533095   Nissan       ROGUE               LAS VEGAS                 NV
135988   KNMAT2MT5LP533100   Nissan       ROGUE               LOS ANGELES               CA
135989   KNMAT2MT5LP533114   Nissan       ROGUE               PALM SPRINGS              CA
135990   KNMAT2MT5LP533162   Nissan       ROGUE               LOS ANGELES               CA
135991   KNMAT2MT5LP533193   Nissan       ROGUE               ORLANDO                   FL
135992   KNMAT2MT5LP533453   Nissan       ROGUE               FORT MYERS                FL
135993   KNMAT2MT5LP533470   Nissan       ROGUE               NASHVILLE                 TN
135994   KNMAT2MT5LP533484   Nissan       ROGUE               MIAMI                     FL
135995   KNMAT2MT5LP533503   Nissan       ROGUE               FORT MYERS                FL
135996   KNMAT2MT5LP533596   Nissan       ROGUE               WEST PALM BEACH           FL
135997   KNMAT2MT5LP533677   Nissan       ROGUE               MIAMI                     FL
135998   KNMAT2MT5LP533680   Nissan       ROGUE               MIAMI                     FL
135999   KNMAT2MT5LP533694   Nissan       ROGUE               SAN DIEGO                 CA
136000   KNMAT2MT5LP533761   Nissan       ROGUE               MILWAUKEE                 WI
136001   KNMAT2MT5LP533792   Nissan       ROGUE               ORLANDO                   FL
136002   KNMAT2MT5LP533940   Nissan       ROGUE               MEMPHIS                   TN
136003   KNMAT2MT5LP534022   Nissan       ROGUE               FORT LAUDERDALE           FL
136004   KNMAT2MT5LP534201   Nissan       ROGUE               PENSACOLA                 FL
136005   KNMAT2MT5LP534506   Nissan       ROGUE               LAS VEGAS                 NV
136006   KNMAT2MT5LP534540   Nissan       ROGUE               SANTA ANA                 CA
136007   KNMAT2MT5LP534604   Nissan       ROGUE               LOS ANGELES               CA
136008   KNMAT2MT5LP534845   Nissan       ROGUE               FORT MYERS                FL
136009   KNMAT2MT5LP534893   Nissan       ROGUE               LAS VEGAS                 NV
136010   KNMAT2MT5LP534957   Nissan       ROGUE               Hayward                   CA
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136011   KNMAT2MT5LP535042   Nissan       ROGUE               PALM SPRINGS              CA
136012   KNMAT2MT5LP535428   Nissan       ROGUE               LOS ANGELES               CA
136013   KNMAT2MT5LP535509   Nissan       ROGUE               BURBANK                   CA
136014   KNMAT2MT5LP535624   Nissan       ROGUE               INGLEWOOD                 CA
136015   KNMAT2MT5LP535655   Nissan       ROGUE               ONTARIO, RIVERSIDE        CA
136016   KNMAT2MT5LP536191   Nissan       ROGUE               LOS ANGELES               CA
136017   KNMAT2MT5LP536286   Nissan       ROGUE               SAN FRANCISCO             CA
136018   KNMAT2MT5LP536319   Nissan       ROGUE               Hebron                    KY
136019   KNMAT2MT5LP536322   Nissan       ROGUE               LOS ANGELES AP            CA
136020   KNMAT2MT5LP536627   Nissan       ROGUE               SARASOTA                  FL
136021   KNMAT2MT5LP536675   Nissan       ROGUE               JACKSONVILLE              FL
136022   KNMAT2MT5LP536742   Nissan       ROGUE               FORT MYERS                FL
136023   KNMAT2MT5LP536837   Nissan       ROGUE               PALM SPRINGS              CA
136024   KNMAT2MT5LP536840   Nissan       ROGUE               FORT LAUDERDALE           FL
136025   KNMAT2MT5LP536854   Nissan       ROGUE               KNOXVILLE                 TN
136026   KNMAT2MT5LP537003   Nissan       ROGUE               EAST BOSTON               MA
136027   KNMAT2MT5LP537017   Nissan       ROGUE               LOUISVILLE                KY
136028   KNMAT2MT5LP537020   Nissan       ROGUE               PENSACOLA                 FL
136029   KNMAT2MT5LP537051   Nissan       ROGUE               WOODLAND HILLS            CA
136030   KNMAT2MT5LP537096   Nissan       ROGUE               SAN DIEGO                 CA
136031   KNMAT2MT5LP537129   Nissan       ROGUE               FORT MYERS                FL
136032   KNMAT2MT5LP537180   Nissan       ROGUE               FORT LAUDERDALE           FL
136033   KNMAT2MT5LP537194   Nissan       ROGUE               ORLANDO                   FL
136034   KNMAT2MT5LP537664   Nissan       ROGUE               LAS VEGAS                 NV
136035   KNMAT2MT5LP537714   Nissan       ROGUE               MIAMI                     FL
136036   KNMAT2MT5LP537762   Nissan       ROGUE               LAS VEGAS                 NV
136037   KNMAT2MT5LP537793   Nissan       ROGUE               Miami                     FL
136038   KNMAT2MT5LP537891   Nissan       ROGUE               MIAMI                     FL
136039   KNMAT2MT5LP537910   Nissan       ROGUE               FORT LAUDERDALE           FL
136040   KNMAT2MT5LP537924   Nissan       ROGUE               LAS VEGAS                 NV
136041   KNMAT2MT5LP538216   Nissan       ROGUE               DAYTONA BEACH             FL
136042   KNMAT2MT5LP538247   Nissan       ROGUE               FORT MYERS                FL
136043   KNMAT2MT5LP538264   Nissan       ROGUE               ORLANDO                   FL
136044   KNMAT2MT5LP538281   Nissan       ROGUE               ORLANDO                   FL
136045   KNMAT2MT5LP538300   Nissan       ROGUE               PALM SPRINGS              CA
136046   KNMAT2MT5LP538426   Nissan       ROGUE               ORLANDO                   FL
136047   KNMAT2MT5LP538488   Nissan       ROGUE               WEST PALM BEACH           FL
136048   KNMAT2MT5LP538765   Nissan       ROGUE               EAST BOSTON               MA
136049   KNMAT2MT5LP538913   Nissan       ROGUE               SAVANNAH                  GA
136050   KNMAT2MT5LP538989   Nissan       ROGUE               EAST BOSTON               MA
136051   KNMAT2MT5LP539334   Nissan       ROGUE               WEST PALM BEACH           FL
136052   KNMAT2MT5LP539494   Nissan       ROGUE               FORT MYERS                FL
136053   KNMAT2MT5LP539897   Nissan       ROGUE               ATLANTA                   GA
136054   KNMAT2MT5LP540581   Nissan       ROGUE               SARASOTA                  FL
136055   KNMAT2MT5LP540967   Nissan       ROGUE               BOSTON                    MA
136056   KNMAT2MT5LP541097   Nissan       ROGUE               EAST BOSTON               MA
136057   KNMAT2MT5LP541178   Nissan       ROGUE               EAST BOSTON               MA
136058   KNMAT2MT5LP541200   Nissan       ROGUE               EAST BOSTON               MA
136059   KNMAT2MT5LP541262   Nissan       ROGUE               EAST BOSTON               MA
136060   KNMAT2MT5LP541326   Nissan       ROGUE               BOSTON                    MA
136061   KNMAT2MT5LP541617   Nissan       ROGUE               EAST BOSTON               MA
136062   KNMAT2MT6GP655745   Nissan       ROGUE               NORTH PAC                 CA
136063   KNMAT2MT6GP698997   Nissan       ROGUE               MORROW                    GA
136064   KNMAT2MT6HP543934   Nissan       ROGUE               Austell                   GA
136065   KNMAT2MT6HP558465   Nissan       ROGUE               BURBANK                   CA
136066   KNMAT2MT6HP581275   Nissan       ROGUE               LOS ANGELES               CA
136067   KNMAT2MT6HP581552   Nissan       ROGUE               PICO RIVERA               CA
136068   KNMAT2MT6JP502662   Nissan       ROGUE               N. Las Vegas              NV
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136069   KNMAT2MT6JP505030   Nissan       ROGUE               Davie                     FL
136070   KNMAT2MT6JP505559   Nissan       ROGUE               Stockton                  CA
136071   KNMAT2MT6JP509613   Nissan       ROGUE               Phoenix                   AZ
136072   KNMAT2MT6JP513242   Nissan       ROGUE               Elkridge                  MD
136073   KNMAT2MT6JP515556   Nissan       ROGUE               HARVEY                    LA
136074   KNMAT2MT6JP516206   Nissan       ROGUE               Anaheim                   CA
136075   KNMAT2MT6JP519039   Nissan       ROGUE               Pittsburgh                PA
136076   KNMAT2MT6JP521230   Nissan       ROGUE               North Dighton             MA
136077   KNMAT2MT6JP521714   Nissan       ROGUE               SANTA ANA                 CA
136078   KNMAT2MT6JP522104   Nissan       ROGUE               Los Angeles               CA
136079   KNMAT2MT6JP525536   Nissan       ROGUE               LOS ANGELES               CA
136080   KNMAT2MT6JP526833   Nissan       ROGUE               SEATTLE                   WA
136081   KNMAT2MT6JP537928   Nissan       ROGUE               TAMPA                     FL
136082   KNMAT2MT6JP538805   Nissan       ROGUE               NEW YORK DEALER DI        NJ
136083   KNMAT2MT6JP538948   Nissan       ROGUE               Dallas                    TX
136084   KNMAT2MT6JP548749   Nissan       ROGUE               DALLAS                    TX
136085   KNMAT2MT6JP548959   Nissan       ROGUE               SANTA ANA                 CA
136086   KNMAT2MT6JP550081   Nissan       ROGUE               BURBANK                   CA
136087   KNMAT2MT6JP554129   Nissan       ROGUE               HOUSTON                   TX
136088   KNMAT2MT6JP566930   Nissan       ROGUE               IRVING                    TX
136089   KNMAT2MT6JP568113   Nissan       ROGUE               SAN FRANCISCO             CA
136090   KNMAT2MT6JP568144   Nissan       ROGUE               LOS ANGELES               CA
136091   KNMAT2MT6JP569066   Nissan       ROGUE               Baltimore                 MD
136092   KNMAT2MT6JP569262   Nissan       ROGUE               DALLAS                    TX
136093   KNMAT2MT6JP569651   Nissan       ROGUE               SAN ANTONIO               TX
136094   KNMAT2MT6JP569858   Nissan       ROGUE               SAN ANTONIO               TX
136095   KNMAT2MT6JP569861   Nissan       ROGUE               AUSTIN                    TX
136096   KNMAT2MT6JP570606   Nissan       ROGUE               BOSTON                    MA
136097   KNMAT2MT6JP576177   Nissan       ROGUE               Warwick                   RI
136098   KNMAT2MT6JP576180   Nissan       ROGUE               SAN ANTONIO               TX
136099   KNMAT2MT6JP576468   Nissan       ROGUE               BURBANK                   CA
136100   KNMAT2MT6JP577104   Nissan       ROGUE               OAKLAND                   CA
136101   KNMAT2MT6JP577393   Nissan       ROGUE               Los Angeles               CA
136102   KNMAT2MT6JP577412   Nissan       ROGUE               Sacramento                CA
136103   KNMAT2MT6JP583369   Nissan       ROGUE               SANTA ANA                 CA
136104   KNMAT2MT6JP583890   Nissan       ROGUE               CHANDLER                  AZ
136105   KNMAT2MT6JP583937   Nissan       ROGUE               LOS ANGELES               CA
136106   KNMAT2MT6JP584182   Nissan       ROGUE               BURBANK                   CA
136107   KNMAT2MT6JP592024   Nissan       ROGUE               BURBANK                   CA
136108   KNMAT2MT6KP522332   Nissan       ROGUE               NOTTINGHAM                MD
136109   KNMAT2MT6KP522461   Nissan       ROGUE               LOS ANGELES               CA
136110   KNMAT2MT6KP526445   Nissan       ROGUE               ORLANDO                   FL
136111   KNMAT2MT6KP526736   Nissan       ROGUE               Fresno                    CA
136112   KNMAT2MT6KP540961   Nissan       ROGUE               Riverside                 CA
136113   KNMAT2MT6KP543276   Nissan       ROGUE               SHREVEPORT                LA
136114   KNMAT2MT6KP544394   Nissan       ROGUE               DALLAS                    TX
136115   KNMAT2MT6KP547215   Nissan       ROGUE               Live Oak                  TX
136116   KNMAT2MT6KP547814   Nissan       ROGUE               Hapeville                 GA
136117   KNMAT2MT6LP526723   Nissan       ROGUE               PALM SPRINGS              CA
136118   KNMAT2MT6LP526768   Nissan       ROGUE               Buena Park                CA
136119   KNMAT2MT6LP526771   Nissan       ROGUE               WEST PALM BEACH           FL
136120   KNMAT2MT6LP526852   Nissan       ROGUE               TAMPA                     FL
136121   KNMAT2MT6LP526897   Nissan       ROGUE               Ft. Myers                 FL
136122   KNMAT2MT6LP526947   Nissan       ROGUE               FORT LAUDERDALE           FL
136123   KNMAT2MT6LP527001   Nissan       ROGUE               MIAMI                     FL
136124   KNMAT2MT6LP527015   Nissan       ROGUE               Atlanta                   GA
136125   KNMAT2MT6LP527032   Nissan       ROGUE               TAMPA                     FL
136126   KNMAT2MT6LP527094   Nissan       ROGUE               WEST PALM BEACH           FL
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136127   KNMAT2MT6LP527113   Nissan       ROGUE               TAMPA                     FL
136128   KNMAT2MT6LP527127   Nissan       ROGUE               ORLANDO                   FL
136129   KNMAT2MT6LP527175   Nissan       ROGUE               SARASOTA                  FL
136130   KNMAT2MT6LP527239   Nissan       ROGUE               WINTER PARK               FL
136131   KNMAT2MT6LP527287   Nissan       ROGUE               LOS ANGELES               CA
136132   KNMAT2MT6LP527337   Nissan       ROGUE               PENSACOLA                 FL
136133   KNMAT2MT6LP527368   Nissan       ROGUE               ORLANDO                   FL
136134   KNMAT2MT6LP527421   Nissan       ROGUE               ORLANDO                   FL
136135   KNMAT2MT6LP527547   Nissan       ROGUE               ATLANTA                   GA
136136   KNMAT2MT6LP527550   Nissan       ROGUE               KEY WEST                  FL
136137   KNMAT2MT6LP527581   Nissan       ROGUE               SAN FRANCISCO             CA
136138   KNMAT2MT6LP527662   Nissan       ROGUE               SAN DIEGO                 CA
136139   KNMAT2MT6LP527693   Nissan       ROGUE               ORLANDO                   FL
136140   KNMAT2MT6LP527709   Nissan       ROGUE               MIAMI                     FL
136141   KNMAT2MT6LP527807   Nissan       ROGUE               FORT MYERS                FL
136142   KNMAT2MT6LP527855   Nissan       ROGUE               WEST PALM BEACH           FL
136143   KNMAT2MT6LP527984   Nissan       ROGUE               ORLANDO                   FL
136144   KNMAT2MT6LP528083   Nissan       ROGUE               FORT LAUDERDALE           FL
136145   KNMAT2MT6LP528097   Nissan       ROGUE               ORLANDO                   FL
136146   KNMAT2MT6LP528102   Nissan       ROGUE               TAMPA                     FL
136147   KNMAT2MT6LP528133   Nissan       ROGUE               ORANGE COUNTY             CA
136148   KNMAT2MT6LP528326   Nissan       ROGUE               Hendersonville            TN
136149   KNMAT2MT6LP528343   Nissan       ROGUE               COLLEGE PARK              GA
136150   KNMAT2MT6LP528357   Nissan       ROGUE               PENSACOLA                 FL
136151   KNMAT2MT6LP528651   Nissan       ROGUE               FORT MYERS                FL
136152   KNMAT2MT6LP528780   Nissan       ROGUE               BURBANK                   CA
136153   KNMAT2MT6LP528939   Nissan       ROGUE               TAMPA                     FL
136154   KNMAT2MT6LP528973   Nissan       ROGUE               PALM SPRINGS              CA
136155   KNMAT2MT6LP529007   Nissan       ROGUE               ORANGE COUNTY             CA
136156   KNMAT2MT6LP529038   Nissan       ROGUE               SANTA ANA                 CA
136157   KNMAT2MT6LP529069   Nissan       ROGUE               SAN DIEGO                 CA
136158   KNMAT2MT6LP529153   Nissan       ROGUE               Ventura                   CA
136159   KNMAT2MT6LP529217   Nissan       ROGUE               ORANGE COUNTY             CA
136160   KNMAT2MT6LP529315   Nissan       ROGUE               PALM SPRINGS              CA
136161   KNMAT2MT6LP529699   Nissan       ROGUE               LITTLE ROCK               AR
136162   KNMAT2MT6LP529993   Nissan       ROGUE               FORT MYERS                FL
136163   KNMAT2MT6LP530089   Nissan       ROGUE               Ft. Myers                 FL
136164   KNMAT2MT6LP530433   Nissan       ROGUE               LOS ANGELES               CA
136165   KNMAT2MT6LP530688   Nissan       ROGUE               LOS ANGELES               CA
136166   KNMAT2MT6LP530710   Nissan       ROGUE               ORANGE COUNTY             CA
136167   KNMAT2MT6LP531100   Nissan       ROGUE               LAS VEGAS                 NV
136168   KNMAT2MT6LP532926   Nissan       ROGUE               SARASOTA                  FL
136169   KNMAT2MT6LP533087   Nissan       ROGUE               PALM SPRINGS              CA
136170   KNMAT2MT6LP533090   Nissan       ROGUE               TAMPA                     FL
136171   KNMAT2MT6LP533106   Nissan       ROGUE               SANTA ANA                 CA
136172   KNMAT2MT6LP533140   Nissan       ROGUE               SAN DIEGO                 CA
136173   KNMAT2MT6LP533199   Nissan       ROGUE               PALM SPRINGS              CA
136174   KNMAT2MT6LP533221   Nissan       ROGUE               PALM SPRINGS              CA
136175   KNMAT2MT6LP533316   Nissan       ROGUE               TAMPA                     FL
136176   KNMAT2MT6LP533414   Nissan       ROGUE               FORT MYERS                FL
136177   KNMAT2MT6LP533431   Nissan       ROGUE               DAYTONA BEACH             FL
136178   KNMAT2MT6LP533459   Nissan       ROGUE               ORLANDO                   FL
136179   KNMAT2MT6LP533493   Nissan       ROGUE               FORT MYERS                FL
136180   KNMAT2MT6LP533512   Nissan       ROGUE               FORT MYERS                FL
136181   KNMAT2MT6LP533526   Nissan       ROGUE               FORT LAUDERDALE           FL
136182   KNMAT2MT6LP533543   Nissan       ROGUE               FORT MYERS                FL
136183   KNMAT2MT6LP533607   Nissan       ROGUE               SARASOTA                  FL
136184   KNMAT2MT6LP533686   Nissan       ROGUE               ORLANDO                   FL
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136185   KNMAT2MT6LP533736   Nissan       ROGUE               FORT MYERS                FL
136186   KNMAT2MT6LP533848   Nissan       ROGUE               WHITE PLAINS              NY
136187   KNMAT2MT6LP533879   Nissan       ROGUE               TAMPA                     FL
136188   KNMAT2MT6LP533882   Nissan       ROGUE               WEST PALM BEACH           FL
136189   KNMAT2MT6LP533896   Nissan       ROGUE               ORLANDO                   FL
136190   KNMAT2MT6LP533901   Nissan       ROGUE               ORLANDO                   FL
136191   KNMAT2MT6LP533994   Nissan       ROGUE               WEST PALM BEACH           FL
136192   KNMAT2MT6LP534580   Nissan       ROGUE               PALM SPRINGS              CA
136193   KNMAT2MT6LP534756   Nissan       ROGUE               SAN DIEGO                 CA
136194   KNMAT2MT6LP534790   Nissan       ROGUE               LAS VEGAS                 NV
136195   KNMAT2MT6LP535034   Nissan       ROGUE               SAN DIEGO                 CA
136196   KNMAT2MT6LP536068   Nissan       ROGUE               PALM SPRINGS              CA
136197   KNMAT2MT6LP536247   Nissan       ROGUE               SANTA ANA                 CA
136198   KNMAT2MT6LP536264   Nissan       ROGUE               ONTARIO, RIVERSIDE        CA
136199   KNMAT2MT6LP536345   Nissan       ROGUE               LOS ANGELES               CA
136200   KNMAT2MT6LP536376   Nissan       ROGUE               LOS ANGELES               CA
136201   KNMAT2MT6LP536491   Nissan       ROGUE               LOUISVILLE                KY
136202   KNMAT2MT6LP536524   Nissan       ROGUE               ORLANDO                   FL
136203   KNMAT2MT6LP536538   Nissan       ROGUE               ORLANDO                   FL
136204   KNMAT2MT6LP536605   Nissan       ROGUE               EAST BOSTON               MA
136205   KNMAT2MT6LP536717   Nissan       ROGUE               FORT MYERS                FL
136206   KNMAT2MT6LP536782   Nissan       ROGUE               SARASOTA                  FL
136207   KNMAT2MT6LP536796   Nissan       ROGUE               CLEVELAND                 OH
136208   KNMAT2MT6LP536880   Nissan       ROGUE               LOS ANGELES               CA
136209   KNMAT2MT6LP536894   Nissan       ROGUE               LOS ANGELES               CA
136210   KNMAT2MT6LP536927   Nissan       ROGUE               FORT MYERS                FL
136211   KNMAT2MT6LP536930   Nissan       ROGUE               LAS VEGAS                 NV
136212   KNMAT2MT6LP536992   Nissan       ROGUE               SAN DIEGO                 CA
136213   KNMAT2MT6LP537009   Nissan       ROGUE               BOSTON                    MA
136214   KNMAT2MT6LP537074   Nissan       ROGUE               KNOXVILLE                 TN
136215   KNMAT2MT6LP537625   Nissan       ROGUE               Costa Mesa                CA
136216   KNMAT2MT6LP537656   Nissan       ROGUE               SAN DIEGO                 CA
136217   KNMAT2MT6LP537849   Nissan       ROGUE               LOS ANGELES               CA
136218   KNMAT2MT6LP537852   Nissan       ROGUE               SAN DIEGO                 CA
136219   KNMAT2MT6LP538287   Nissan       ROGUE               ORLANDO                   FL
136220   KNMAT2MT6LP538385   Nissan       ROGUE               FORT MYERS                FL
136221   KNMAT2MT6LP538435   Nissan       ROGUE               ORLANDO                   FL
136222   KNMAT2MT6LP538550   Nissan       ROGUE               SYRACUSE                  NY
136223   KNMAT2MT6LP538905   Nissan       ROGUE               EAST BOSTON               MA
136224   KNMAT2MT6LP538919   Nissan       ROGUE               EAST BOSTON               MA
136225   KNMAT2MT6LP539116   Nissan       ROGUE               FORT MYERS                FL
136226   KNMAT2MT6LP539312   Nissan       ROGUE               WEST PALM BEACH           FL
136227   KNMAT2MT6LP539407   Nissan       ROGUE               WEST PALM BEACH           FL
136228   KNMAT2MT6LP539472   Nissan       ROGUE               WEST PALM BEACH           FL
136229   KNMAT2MT6LP539696   Nissan       ROGUE               EAST BOSTON               MA
136230   KNMAT2MT6LP540055   Nissan       ROGUE               ORLANDO                   FL
136231   KNMAT2MT6LP540900   Nissan       ROGUE               EAST BOSTON               MA
136232   KNMAT2MT6LP541108   Nissan       ROGUE               EAST BOSTON               MA
136233   KNMAT2MT6LP541125   Nissan       ROGUE               EAST BOSTON               MA
136234   KNMAT2MT6LP541139   Nissan       ROGUE               EAST BOSTON               MA
136235   KNMAT2MT6LP541156   Nissan       ROGUE               EAST BOSTON               MA
136236   KNMAT2MT6LP541299   Nissan       ROGUE               EAST BOSTON               MA
136237   KNMAT2MT6LP541657   Nissan       ROGUE               EAST BOSTON               MA
136238   KNMAT2MT7GP705732   Nissan       ROGUE               BURBANK                   CA
136239   KNMAT2MT7JP500855   Nissan       ROGUE               Elkridge                  MD
136240   KNMAT2MT7JP501374   Nissan       ROGUE               SANTA ANA                 CA
136241   KNMAT2MT7JP501794   Nissan       ROGUE               BURBANK                   CA
136242   KNMAT2MT7JP502136   Nissan       ROGUE               WEST CENTRAL DEALE        CO
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136243   KNMAT2MT7JP505117   Nissan       ROGUE               Winter Park               FL
136244   KNMAT2MT7JP507482   Nissan       ROGUE               BURBANK                   CA
136245   KNMAT2MT7JP508101   Nissan       ROGUE               HARVEY                    LA
136246   KNMAT2MT7JP513153   Nissan       ROGUE               STERLING                  VA
136247   KNMAT2MT7JP519955   Nissan       ROGUE               LOS ANGELES               CA
136248   KNMAT2MT7JP521575   Nissan       ROGUE               LAS VEGAS                 NV
136249   KNMAT2MT7JP521818   Nissan       ROGUE               Rio Linda                 CA
136250   KNMAT2MT7JP521933   Nissan       ROGUE               WILMINGTON                CA
136251   KNMAT2MT7JP521950   Nissan       ROGUE               LOS ANGELES               CA
136252   KNMAT2MT7JP522905   Nissan       ROGUE               Stockton                  CA
136253   KNMAT2MT7JP523083   Nissan       ROGUE               Atlanta                   GA
136254   KNMAT2MT7JP523164   Nissan       ROGUE               LOS ANGELES               CA
136255   KNMAT2MT7JP525318   Nissan       ROGUE               Lake Elsinore             CA
136256   KNMAT2MT7JP525996   Nissan       ROGUE               SANTA ANA                 CA
136257   KNMAT2MT7JP527246   Nissan       ROGUE               HANOVER                   MD
136258   KNMAT2MT7JP531653   Nissan       ROGUE               Hebron                    KY
136259   KNMAT2MT7JP534374   Nissan       ROGUE               BURBANK                   CA
136260   KNMAT2MT7JP535668   Nissan       ROGUE               Phoenix                   AZ
136261   KNMAT2MT7JP535833   Nissan       ROGUE               LOS ANGELES               CA
136262   KNMAT2MT7JP536089   Nissan       ROGUE               MIAMI                     FL
136263   KNMAT2MT7JP536383   Nissan       ROGUE               Greensboro                NC
136264   KNMAT2MT7JP537677   Nissan       ROGUE               Alcoa                     TN
136265   KNMAT2MT7JP537839   Nissan       ROGUE               TRACY                     CA
136266   KNMAT2MT7JP538327   Nissan       ROGUE               BURBANK                   CA
136267   KNMAT2MT7JP543785   Nissan       ROGUE               BURBANK                   CA
136268   KNMAT2MT7JP543902   Nissan       ROGUE               Tampa                     FL
136269   KNMAT2MT7JP544595   Nissan       ROGUE               RICHMOND                  VA
136270   KNMAT2MT7JP546492   Nissan       ROGUE               Tampa                     FL
136271   KNMAT2MT7JP546640   Nissan       ROGUE               ATLANTA                   GA
136272   KNMAT2MT7JP549344   Nissan       ROGUE               Roseville                 CA
136273   KNMAT2MT7JP549750   Nissan       ROGUE               BURBANK                   CA
136274   KNMAT2MT7JP549893   Nissan       ROGUE               SAN DIEGO                 CA
136275   KNMAT2MT7JP550350   Nissan       ROGUE               BURBANK                   CA
136276   KNMAT2MT7JP550428   Nissan       ROGUE               BURBANK                   CA
136277   KNMAT2MT7JP555631   Nissan       ROGUE               DALLAS                    TX
136278   KNMAT2MT7JP556021   Nissan       ROGUE               Clearwater                FL
136279   KNMAT2MT7JP566838   Nissan       ROGUE               San Diego                 CA
136280   KNMAT2MT7JP568699   Nissan       ROGUE               DALLAS                    TX
136281   KNMAT2MT7JP569237   Nissan       ROGUE               Fort Lauderdale           FL
136282   KNMAT2MT7JP569321   Nissan       ROGUE               NOTTINGHAM                MD
136283   KNMAT2MT7JP569514   Nissan       ROGUE               CHICAGO                   IL
136284   KNMAT2MT7JP569688   Nissan       ROGUE               Manheim                   PA
136285   KNMAT2MT7JP569917   Nissan       ROGUE               Dania                     FL
136286   KNMAT2MT7JP571067   Nissan       ROGUE               BOSTON                    MA
136287   KNMAT2MT7JP572607   Nissan       ROGUE               Dallas                    TX
136288   KNMAT2MT7JP574129   Nissan       ROGUE               SAN ANTONIO               TX
136289   KNMAT2MT7JP575653   Nissan       ROGUE               NORTH PAC                 CA
136290   KNMAT2MT7JP576432   Nissan       ROGUE               BURBANK                   CA
136291   KNMAT2MT7JP576687   Nissan       ROGUE               LAS VEGAS                 NV
136292   KNMAT2MT7JP577502   Nissan       ROGUE               ROSEVILLE                 CA
136293   KNMAT2MT7JP583316   Nissan       ROGUE               SAN FRANCISCO             CA
136294   KNMAT2MT7JP583946   Nissan       ROGUE               BURBANK                   CA
136295   KNMAT2MT7KP520668   Nissan       ROGUE               TAMPA                     FL
136296   KNMAT2MT7KP521612   Nissan       ROGUE               KALISPELL                 MT
136297   KNMAT2MT7KP539446   Nissan       ROGUE               Houston                   TX
136298   KNMAT2MT7KP543867   Nissan       ROGUE               HOUSTON                   TX
136299   KNMAT2MT7KP546476   Nissan       ROGUE               GLENOLDEN                 PA
136300   KNMAT2MT7KP546865   Nissan       ROGUE               Atlanta                   GA
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136301   KNMAT2MT7KP551046   Nissan       ROGUE               Florissant                MO
136302   KNMAT2MT7LP526648   Nissan       ROGUE               COSTA MESA                CA
136303   KNMAT2MT7LP526651   Nissan       ROGUE               ORANGE COUNTY             CA
136304   KNMAT2MT7LP526701   Nissan       ROGUE               ORANGE COUNTY             CA
136305   KNMAT2MT7LP526780   Nissan       ROGUE               MIAMI                     FL
136306   KNMAT2MT7LP526813   Nissan       ROGUE               TAMPA                     FL
136307   KNMAT2MT7LP526973   Nissan       ROGUE               SAN DIEGO                 CA
136308   KNMAT2MT7LP527024   Nissan       ROGUE               FORT MYERS                FL
136309   KNMAT2MT7LP527105   Nissan       ROGUE               ORLANDO                   FL
136310   KNMAT2MT7LP527119   Nissan       ROGUE               TAMPA                     FL
136311   KNMAT2MT7LP527136   Nissan       ROGUE               FORT MYERS                FL
136312   KNMAT2MT7LP527170   Nissan       ROGUE               WEST PALM BEACH           FL
136313   KNMAT2MT7LP527217   Nissan       ROGUE               MIAMI                     FL
136314   KNMAT2MT7LP527251   Nissan       ROGUE               FORT MYERS                FL
136315   KNMAT2MT7LP527265   Nissan       ROGUE               ONTARIO                   CA
136316   KNMAT2MT7LP527301   Nissan       ROGUE               KNOXVILLE                 TN
136317   KNMAT2MT7LP527377   Nissan       ROGUE               FORT MYERS                FL
136318   KNMAT2MT7LP527413   Nissan       ROGUE               COLLEGE PARK              GA
136319   KNMAT2MT7LP527539   Nissan       ROGUE               SANTA ANA                 CA
136320   KNMAT2MT7LP527685   Nissan       ROGUE               BIRMINGHAN                AL
136321   KNMAT2MT7LP527797   Nissan       ROGUE               SAN DIEGO                 CA
136322   KNMAT2MT7LP527833   Nissan       ROGUE               TAMPA                     FL
136323   KNMAT2MT7LP527864   Nissan       ROGUE               TAMPA                     FL
136324   KNMAT2MT7LP527962   Nissan       ROGUE               MIAMI                     FL
136325   KNMAT2MT7LP527976   Nissan       ROGUE               FORT MYERS                FL
136326   KNMAT2MT7LP528061   Nissan       ROGUE               ATLANTA                   GA
136327   KNMAT2MT7LP528089   Nissan       ROGUE               ONTARIO                   CA
136328   KNMAT2MT7LP528092   Nissan       ROGUE               LAS VEGAS                 NV
136329   KNMAT2MT7LP528139   Nissan       ROGUE               STERLING                  VA
136330   KNMAT2MT7LP528187   Nissan       ROGUE               San Diego                 CA
136331   KNMAT2MT7LP528321   Nissan       ROGUE               Birmingham                AL
136332   KNMAT2MT7LP528383   Nissan       ROGUE               NASHVILLE                 TN
136333   KNMAT2MT7LP528514   Nissan       ROGUE               SAVANNAH                  GA
136334   KNMAT2MT7LP528562   Nissan       ROGUE               LOS ANGELES AP            CA
136335   KNMAT2MT7LP528576   Nissan       ROGUE               LOS ANGELES               CA
136336   KNMAT2MT7LP528609   Nissan       ROGUE               BURBANK                   CA
136337   KNMAT2MT7LP528710   Nissan       ROGUE               KNOXVILLE                 TN
136338   KNMAT2MT7LP528920   Nissan       ROGUE               BLOOMINGTON               IL
136339   KNMAT2MT7LP529033   Nissan       ROGUE               S. San Francisc           CA
136340   KNMAT2MT7LP529212   Nissan       ROGUE               WEST PALM BEACH           FL
136341   KNMAT2MT7LP529288   Nissan       ROGUE               Florissant                MO
136342   KNMAT2MT7LP529419   Nissan       ROGUE               PHOENIX                   AZ
136343   KNMAT2MT7LP529484   Nissan       ROGUE               Anaheim                   CA
136344   KNMAT2MT7LP529873   Nissan       ROGUE               PENSACOLA                 FL
136345   KNMAT2MT7LP530618   Nissan       ROGUE               SANTA ANA                 CA
136346   KNMAT2MT7LP532451   Nissan       ROGUE               SARASOTA                  FL
136347   KNMAT2MT7LP532465   Nissan       ROGUE               MIAMI                     FL
136348   KNMAT2MT7LP532773   Nissan       ROGUE               MIAMI                     FL
136349   KNMAT2MT7LP532854   Nissan       ROGUE               FORT LAUDERDALE           FL
136350   KNMAT2MT7LP532868   Nissan       ROGUE               LOS ANGELES               CA
136351   KNMAT2MT7LP532899   Nissan       ROGUE               PALM SPRINGS              CA
136352   KNMAT2MT7LP533034   Nissan       ROGUE               FORT LAUDERDALE           FL
136353   KNMAT2MT7LP533146   Nissan       ROGUE               WOODLAND HILLS            CA
136354   KNMAT2MT7LP533244   Nissan       ROGUE               SAN DIEGO                 CA
136355   KNMAT2MT7LP533275   Nissan       ROGUE               PALM SPRINGS              CA
136356   KNMAT2MT7LP533325   Nissan       ROGUE               WEST PALM BEACH           FL
136357   KNMAT2MT7LP533406   Nissan       ROGUE               TAMPA                     FL
136358   KNMAT2MT7LP533423   Nissan       ROGUE               ORLANDO                   FL
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136359   KNMAT2MT7LP533468   Nissan       ROGUE               ORLANDO                   FL
136360   KNMAT2MT7LP533552   Nissan       ROGUE               MIAMI                     FL
136361   KNMAT2MT7LP533583   Nissan       ROGUE               WEST PALM BEACH           FL
136362   KNMAT2MT7LP533597   Nissan       ROGUE               Ventura                   CA
136363   KNMAT2MT7LP533602   Nissan       ROGUE               SARASOTA                  FL
136364   KNMAT2MT7LP533616   Nissan       ROGUE               SYRACUSE                  NY
136365   KNMAT2MT7LP533664   Nissan       ROGUE               ORLANDO                   FL
136366   KNMAT2MT7LP533714   Nissan       ROGUE               JACKSONVILLE              FL
136367   KNMAT2MT7LP533745   Nissan       ROGUE               ATLANTA                   GA
136368   KNMAT2MT7LP533759   Nissan       ROGUE               FORT LAUDERDALE           FL
136369   KNMAT2MT7LP533762   Nissan       ROGUE               ORLANDO                   FL
136370   KNMAT2MT7LP533843   Nissan       ROGUE               ORLANDO                   FL
136371   KNMAT2MT7LP533907   Nissan       ROGUE               ORLANDO                   FL
136372   KNMAT2MT7LP533955   Nissan       ROGUE               ORLANDO                   FL
136373   KNMAT2MT7LP533986   Nissan       ROGUE               FORT MYERS                FL
136374   KNMAT2MT7LP534023   Nissan       ROGUE               TAMPA                     FL
136375   KNMAT2MT7LP534104   Nissan       ROGUE               SAVANNAH                  GA
136376   KNMAT2MT7LP534488   Nissan       ROGUE               SAN DIEGO                 CA
136377   KNMAT2MT7LP534555   Nissan       ROGUE               MEMPHIS                   TN
136378   KNMAT2MT7LP534734   Nissan       ROGUE               SAN DIEGO                 US
136379   KNMAT2MT7LP534796   Nissan       ROGUE               SAN DIEGO                 CA
136380   KNMAT2MT7LP535138   Nissan       ROGUE               MEMPHIS                   TN
136381   KNMAT2MT7LP535284   Nissan       ROGUE               ONTARIO                   CA
136382   KNMAT2MT7LP535852   Nissan       ROGUE               LAS VEGAS                 NV
136383   KNMAT2MT7LP536306   Nissan       ROGUE               LOS ANGELES               CA
136384   KNMAT2MT7LP536337   Nissan       ROGUE               LOS ANGELES               CA
136385   KNMAT2MT7LP536385   Nissan       ROGUE               ORANGE COUNTY             CA
136386   KNMAT2MT7LP536483   Nissan       ROGUE               PALM SPRINGS              CA
136387   KNMAT2MT7LP536516   Nissan       ROGUE               MIAMI                     FL
136388   KNMAT2MT7LP536533   Nissan       ROGUE               INGLEWOOD                 CA
136389   KNMAT2MT7LP536614   Nissan       ROGUE               WEST PALM BEACH           FL
136390   KNMAT2MT7LP536757   Nissan       ROGUE               MIAMI                     FL
136391   KNMAT2MT7LP536788   Nissan       ROGUE               ORLANDO                   FL
136392   KNMAT2MT7LP536855   Nissan       ROGUE               TALLAHASSEE               F
136393   KNMAT2MT7LP536869   Nissan       ROGUE               TAMPA                     FL
136394   KNMAT2MT7LP536886   Nissan       ROGUE               SANTA ANA                 CA
136395   KNMAT2MT7LP536922   Nissan       ROGUE               SAN DIEGO                 CA
136396   KNMAT2MT7LP537018   Nissan       ROGUE               MIAMI                     FL
136397   KNMAT2MT7LP537035   Nissan       ROGUE               LAS VEGAS                 NV
136398   KNMAT2MT7LP537195   Nissan       ROGUE               NASHVILLE                 TN
136399   KNMAT2MT7LP537584   Nissan       ROGUE               MIAMI                     FL
136400   KNMAT2MT7LP537679   Nissan       ROGUE               LAS VEGAS                 NV
136401   KNMAT2MT7LP537682   Nissan       ROGUE               MIAMI                     FL
136402   KNMAT2MT7LP537746   Nissan       ROGUE               MIAMI                     FL
136403   KNMAT2MT7LP537861   Nissan       ROGUE               SANTA ANA                 CA
136404   KNMAT2MT7LP538363   Nissan       ROGUE               SAN DIEGO                 CA
136405   KNMAT2MT7LP538394   Nissan       ROGUE               TAMPA                     FL
136406   KNMAT2MT7LP538430   Nissan       ROGUE               DANIA BEACH               FL
136407   KNMAT2MT7LP538508   Nissan       ROGUE               TAMPA                     FL
136408   KNMAT2MT7LP538511   Nissan       ROGUE               HARTFORD                  CT
136409   KNMAT2MT7LP538704   Nissan       ROGUE               EAST BOSTON               MA
136410   KNMAT2MT7LP539027   Nissan       ROGUE               FORT MYERS                FL
136411   KNMAT2MT7LP539044   Nissan       ROGUE               FORT MYERS                FL
136412   KNMAT2MT7LP539089   Nissan       ROGUE               FORT MYERS                FL
136413   KNMAT2MT7LP539092   Nissan       ROGUE               FORT MYERS                FL
136414   KNMAT2MT7LP539304   Nissan       ROGUE               WARWICK                   RI
136415   KNMAT2MT7LP539433   Nissan       ROGUE               Alexandria                VA
136416   KNMAT2MT7LP539481   Nissan       ROGUE               FORT MYERS                FL
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136417   KNMAT2MT7LP539562   Nissan       ROGUE               SAVANNAH                  GA
136418   KNMAT2MT7LP539934   Nissan       ROGUE               TAMPA                     FL
136419   KNMAT2MT7LP540923   Nissan       ROGUE               EAST BOSTON               MA
136420   KNMAT2MT7LP540985   Nissan       ROGUE               EAST BOSTON               MA
136421   KNMAT2MT7LP540999   Nissan       ROGUE               EAST BOSTON               MA
136422   KNMAT2MT7LP541151   Nissan       ROGUE               EAST BOSTON               MA
136423   KNMAT2MT7LP541196   Nissan       ROGUE               EAST BOSTON               MA
136424   KNMAT2MT7LP541229   Nissan       ROGUE               EAST BOSTON               MA
136425   KNMAT2MT7LP541277   Nissan       ROGUE               EAST BOSTON               MA
136426   KNMAT2MT7LP541327   Nissan       ROGUE               BOSTON                    MA
136427   KNMAT2MT8HP517254   Nissan       ROGUE               BURBANK                   CA
136428   KNMAT2MT8HP520168   Nissan       ROGUE               North Dighton             MA
136429   KNMAT2MT8HP542624   Nissan       ROGUE               BURBANK                   CA
136430   KNMAT2MT8HP552618   Nissan       ROGUE               REDWOOD CITY              CA
136431   KNMAT2MT8HP575610   Nissan       ROGUE               Atlanta                   GA
136432   KNMAT2MT8HP581200   Nissan       ROGUE               LOUISVILLE                KY
136433   KNMAT2MT8HP581505   Nissan       ROGUE               BURBANK                   CA
136434   KNMAT2MT8JP504641   Nissan       ROGUE               NOTTINGHAM                MD
136435   KNMAT2MT8JP507975   Nissan       ROGUE               Fredericksburg            VA
136436   KNMAT2MT8JP513128   Nissan       ROGUE               FORT LAUDERDALE           FL
136437   KNMAT2MT8JP515235   Nissan       ROGUE               Irving                    TX
136438   KNMAT2MT8JP524596   Nissan       ROGUE               N. Las Vegas              NV
136439   KNMAT2MT8JP525182   Nissan       ROGUE               North Las Vegas           NV
136440   KNMAT2MT8JP527174   Nissan       ROGUE               PLEASANTON                CA
136441   KNMAT2MT8JP529085   Nissan       ROGUE               Philadelphia              PA
136442   KNMAT2MT8JP532472   Nissan       ROGUE               CHELSEA                   MA
136443   KNMAT2MT8JP536439   Nissan       ROGUE               MORROW                    GA
136444   KNMAT2MT8JP537249   Nissan       ROGUE               BURBANK                   CA
136445   KNMAT2MT8JP537493   Nissan       ROGUE               AUGUSTA                   GA
136446   KNMAT2MT8JP537624   Nissan       ROGUE               BURBANK                   CA
136447   KNMAT2MT8JP538952   Nissan       ROGUE               South San Franc           CA
136448   KNMAT2MT8JP539146   Nissan       ROGUE               PHOENIX                   AZ
136449   KNMAT2MT8JP539468   Nissan       ROGUE               LOS ANGELES               CA
136450   KNMAT2MT8JP544217   Nissan       ROGUE               SANFORD                   FL
136451   KNMAT2MT8JP545013   Nissan       ROGUE               Davie                     FL
136452   KNMAT2MT8JP545688   Nissan       ROGUE               SANTA ANA                 CA
136453   KNMAT2MT8JP546369   Nissan       ROGUE               RALEIGH                   NC
136454   KNMAT2MT8JP546422   Nissan       ROGUE               Atlanta                   GA
136455   KNMAT2MT8JP548459   Nissan       ROGUE               SAC                       CA
136456   KNMAT2MT8JP548963   Nissan       ROGUE               Mira Loma                 CA
136457   KNMAT2MT8JP549708   Nissan       ROGUE               ORLANDO                   FL
136458   KNMAT2MT8JP567481   Nissan       ROGUE               WEST PALM BEACH           FL
136459   KNMAT2MT8JP568341   Nissan       ROGUE               DALLAS                    TX
136460   KNMAT2MT8JP569019   Nissan       ROGUE               SEATAC                    WA
136461   KNMAT2MT8JP569182   Nissan       ROGUE               ORLANDO                   FL
136462   KNMAT2MT8JP569389   Nissan       ROGUE               IRVING                    TX
136463   KNMAT2MT8JP569408   Nissan       ROGUE               Vandalia                  OH
136464   KNMAT2MT8JP569411   Nissan       ROGUE               HOUSTON                   TX
136465   KNMAT2MT8JP569442   Nissan       ROGUE               MARIETTA                  GA
136466   KNMAT2MT8JP569912   Nissan       ROGUE               SAN ANTONIO               TX
136467   KNMAT2MT8JP570509   Nissan       ROGUE               San Antonio               TX
136468   KNMAT2MT8JP571885   Nissan       ROGUE               PENSACOLA                 FL
136469   KNMAT2MT8JP575936   Nissan       ROGUE               LOS ANGELES               CA
136470   KNMAT2MT8JP576536   Nissan       ROGUE               BURBANK                   CA
136471   KNMAT2MT8JP577234   Nissan       ROGUE               SAN DIEGO                 CA
136472   KNMAT2MT8JP577248   Nissan       ROGUE               Dallas                    TX
136473   KNMAT2MT8JP585379   Nissan       ROGUE               SANTA ANA                 CA
136474   KNMAT2MT8KP516242   Nissan       ROGUE               LOS ANGELES               CA
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136475   KNMAT2MT8KP520775   Nissan       ROGUE               Ft. Myers                 FL
136476   KNMAT2MT8KP521909   Nissan       ROGUE               FORT MYERS                FL
136477   KNMAT2MT8KP522347   Nissan       ROGUE               KANSAS CITY               MO
136478   KNMAT2MT8KP526110   Nissan       ROGUE               ONTARIO                   CA
136479   KNMAT2MT8KP526446   Nissan       ROGUE               Hebron                    KY
136480   KNMAT2MT8KP541285   Nissan       ROGUE               TAMPA                     US
136481   KNMAT2MT8KP545594   Nissan       ROGUE               Harvey                    LA
136482   KNMAT2MT8KP553761   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
136483   KNMAT2MT8KP553887   Nissan       ROGUE               WEST PALM BEACH           FL
136484   KNMAT2MT8KP554019   Nissan       ROGUE               TAMPA                     US
136485   KNMAT2MT8KP557065   Nissan       ROGUE               ORLANDO                   FL
136486   KNMAT2MT8LP526660   Nissan       ROGUE               LOS ANGELES               CA
136487   KNMAT2MT8LP526688   Nissan       ROGUE               TAMPA                     FL
136488   KNMAT2MT8LP526710   Nissan       ROGUE               WEST PALM BEACH           FL
136489   KNMAT2MT8LP526805   Nissan       ROGUE               TAMPA                     FL
136490   KNMAT2MT8LP526822   Nissan       ROGUE               FORT LAUDERDALE           FL
136491   KNMAT2MT8LP526870   Nissan       ROGUE               ORLANDO                   FL
136492   KNMAT2MT8LP526884   Nissan       ROGUE               SARASOTA                  FL
136493   KNMAT2MT8LP526903   Nissan       ROGUE               LOS ANGELES               CA
136494   KNMAT2MT8LP526948   Nissan       ROGUE               FORT LAUDERDALE           FL
136495   KNMAT2MT8LP526965   Nissan       ROGUE               JACKSONVILLE              FL
136496   KNMAT2MT8LP526979   Nissan       ROGUE               LOS ANGELES               CA
136497   KNMAT2MT8LP526996   Nissan       ROGUE               BURBANK                   CA
136498   KNMAT2MT8LP527002   Nissan       ROGUE               Miami                     FL
136499   KNMAT2MT8LP527050   Nissan       ROGUE               ORLANDO                   FL
136500   KNMAT2MT8LP527100   Nissan       ROGUE               ORLANDO                   FL
136501   KNMAT2MT8LP527145   Nissan       ROGUE               TAMPA                     FL
136502   KNMAT2MT8LP527159   Nissan       ROGUE               SAN DIEGO                 CA
136503   KNMAT2MT8LP527162   Nissan       ROGUE               ORLANDO                   FL
136504   KNMAT2MT8LP527176   Nissan       ROGUE               ORLANDO                   FL
136505   KNMAT2MT8LP527193   Nissan       ROGUE               SAN DIEGO                 CA
136506   KNMAT2MT8LP527212   Nissan       ROGUE               PHOENIX                   AZ
136507   KNMAT2MT8LP527226   Nissan       ROGUE               WEST PALM BEACH           FL
136508   KNMAT2MT8LP527260   Nissan       ROGUE               ORLANDO                   FL
136509   KNMAT2MT8LP527369   Nissan       ROGUE               ORANGE COUNTY             CA
136510   KNMAT2MT8LP527405   Nissan       ROGUE               LAS VEGAS                 NV
136511   KNMAT2MT8LP527419   Nissan       ROGUE               FORT LAUDERDALE           FL
136512   KNMAT2MT8LP527453   Nissan       ROGUE               ORLANDO                   FL
136513   KNMAT2MT8LP527467   Nissan       ROGUE               FORT MYERS                FL
136514   KNMAT2MT8LP527470   Nissan       ROGUE               Miami                     FL
136515   KNMAT2MT8LP527534   Nissan       ROGUE               LOS ANGELES AP            CA
136516   KNMAT2MT8LP527548   Nissan       ROGUE               JACKSONVILLE              FL
136517   KNMAT2MT8LP527579   Nissan       ROGUE               COSTA MESA                CA
136518   KNMAT2MT8LP527677   Nissan       ROGUE               PALM SPRINGS              CA
136519   KNMAT2MT8LP527744   Nissan       ROGUE               ORLANDO                   FL
136520   KNMAT2MT8LP527758   Nissan       ROGUE               TAMPA                     FL
136521   KNMAT2MT8LP527775   Nissan       ROGUE               Houston                   TX
136522   KNMAT2MT8LP527792   Nissan       ROGUE               FORT MYERS                FL
136523   KNMAT2MT8LP527811   Nissan       ROGUE               FORT MYERS                FL
136524   KNMAT2MT8LP527937   Nissan       ROGUE               Atlanta                   GA
136525   KNMAT2MT8LP527999   Nissan       ROGUE               FORT MYERS                FL
136526   KNMAT2MT8LP528005   Nissan       ROGUE               LOS ANGELES               CA
136527   KNMAT2MT8LP528036   Nissan       ROGUE               COLLEGE PARK              GA
136528   KNMAT2MT8LP528067   Nissan       ROGUE               JACKSONVILLE              FL
136529   KNMAT2MT8LP528070   Nissan       ROGUE               ONTARIO, RIVERSIDE        CA
136530   KNMAT2MT8LP528201   Nissan       ROGUE               SANTA ANA                 CA
136531   KNMAT2MT8LP528361   Nissan       ROGUE               SAN DIEGO                 CA
136532   KNMAT2MT8LP528473   Nissan       ROGUE               ORANGE COUNTY             CA
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136533   KNMAT2MT8LP528523   Nissan       ROGUE               SAN DIEGO                 CA
136534   KNMAT2MT8LP528540   Nissan       ROGUE               RENO                      NV
136535   KNMAT2MT8LP528683   Nissan       ROGUE               RIVERSIDE                 CA
136536   KNMAT2MT8LP528697   Nissan       ROGUE               SANTA ANA                 CA
136537   KNMAT2MT8LP528733   Nissan       ROGUE               LOS ANGELES               CA
136538   KNMAT2MT8LP528862   Nissan       ROGUE               San Diego                 CA
136539   KNMAT2MT8LP529025   Nissan       ROGUE               LOS ANGELES               CA
136540   KNMAT2MT8LP529106   Nissan       ROGUE               Chicago                   IL
136541   KNMAT2MT8LP529381   Nissan       ROGUE               Sacramento                CA
136542   KNMAT2MT8LP529705   Nissan       ROGUE               CHICAGO                   IL
136543   KNMAT2MT8LP530255   Nissan       ROGUE               KENNER                    LA
136544   KNMAT2MT8LP530742   Nissan       ROGUE               San Diego                 CA
136545   KNMAT2MT8LP532460   Nissan       ROGUE               FORT MYERS                FL
136546   KNMAT2MT8LP532944   Nissan       ROGUE               NEW ORLEANS               LA
136547   KNMAT2MT8LP533169   Nissan       ROGUE               SAN DIEGO                 CA
136548   KNMAT2MT8LP533205   Nissan       ROGUE               ORLANDO                   FL
136549   KNMAT2MT8LP533270   Nissan       ROGUE               LOS ANGELES               CA
136550   KNMAT2MT8LP533298   Nissan       ROGUE               LOS ANGELES               CA
136551   KNMAT2MT8LP533334   Nissan       ROGUE               SAN DIEGO                 CA
136552   KNMAT2MT8LP533429   Nissan       ROGUE               FORT LAUDERDALE           FL
136553   KNMAT2MT8LP533446   Nissan       ROGUE               FORT LAUDERDALE           FL
136554   KNMAT2MT8LP533513   Nissan       ROGUE               ORLANDO                   FL
136555   KNMAT2MT8LP533544   Nissan       ROGUE               FT. LAUDERDALE            FL
136556   KNMAT2MT8LP533558   Nissan       ROGUE               WEST PALM BEACH           FL
136557   KNMAT2MT8LP533592   Nissan       ROGUE               TAMPA                     FL
136558   KNMAT2MT8LP533608   Nissan       ROGUE               TAMPA                     FL
136559   KNMAT2MT8LP533611   Nissan       ROGUE               MIAMI                     FL
136560   KNMAT2MT8LP533673   Nissan       ROGUE               KEY WEST                  FL
136561   KNMAT2MT8LP533723   Nissan       ROGUE               ORLANDO                   FL
136562   KNMAT2MT8LP533768   Nissan       ROGUE               TAMPA                     FL
136563   KNMAT2MT8LP533804   Nissan       ROGUE               BOSTON                    MA
136564   KNMAT2MT8LP533821   Nissan       ROGUE               FORT LAUDERDALE           FL
136565   KNMAT2MT8LP533835   Nissan       ROGUE               ORLANDO                   FL
136566   KNMAT2MT8LP533866   Nissan       ROGUE               ORLANDO                   FL
136567   KNMAT2MT8LP533933   Nissan       ROGUE               TAMPA                     FL
136568   KNMAT2MT8LP533947   Nissan       ROGUE               JACKSONVILLE              FL
136569   KNMAT2MT8LP534001   Nissan       ROGUE               MEMPHIS                   TN
136570   KNMAT2MT8LP534029   Nissan       ROGUE               ORLANDO                   FL
136571   KNMAT2MT8LP534094   Nissan       ROGUE               WEST PALM BEACH           FL
136572   KNMAT2MT8LP534404   Nissan       ROGUE               SAN DIEGO                 CA
136573   KNMAT2MT8LP534449   Nissan       ROGUE               PALM SPRINGS              CA
136574   KNMAT2MT8LP534497   Nissan       ROGUE               LOS ANGELES               CA
136575   KNMAT2MT8LP534595   Nissan       ROGUE               ONTARIO                   CA
136576   KNMAT2MT8LP534631   Nissan       ROGUE               INGLEWOOD                 CA
136577   KNMAT2MT8LP534953   Nissan       ROGUE               LOS ANGELES               CA
136578   KNMAT2MT8LP535584   Nissan       ROGUE               LOS ANGELES               CA
136579   KNMAT2MT8LP535603   Nissan       ROGUE               ORANGE COUNTY             CA
136580   KNMAT2MT8LP535634   Nissan       ROGUE               LOS ANGELES               CA
136581   KNMAT2MT8LP535729   Nissan       ROGUE               LOS ANGELES               CA
136582   KNMAT2MT8LP536184   Nissan       ROGUE               LOS ANGELES               CA
136583   KNMAT2MT8LP536220   Nissan       ROGUE               TAMPA                     FL
136584   KNMAT2MT8LP536377   Nissan       ROGUE               SAN DIEGO                 CA
136585   KNMAT2MT8LP536444   Nissan       ROGUE               SAN DIEGO                 CA
136586   KNMAT2MT8LP536458   Nissan       ROGUE               FORT LAUDERDALE           FL
136587   KNMAT2MT8LP536587   Nissan       ROGUE               EAST BOSTON               MA
136588   KNMAT2MT8LP536637   Nissan       ROGUE               ORLANDO                   FL
136589   KNMAT2MT8LP536699   Nissan       ROGUE               FORT LAUDERDALE           FL
136590   KNMAT2MT8LP536847   Nissan       ROGUE               KEY WEST                  FL
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136591   KNMAT2MT8LP536895   Nissan       ROGUE               LOS ANGELES AP            CA
136592   KNMAT2MT8LP536914   Nissan       ROGUE               Roseville                 CA
136593   KNMAT2MT8LP537092   Nissan       ROGUE               TAMPA                     FL
136594   KNMAT2MT8LP537125   Nissan       ROGUE               TAMPA                     FL
136595   KNMAT2MT8LP537142   Nissan       ROGUE               FORT LAUDERDALE           FL
136596   KNMAT2MT8LP537156   Nissan       ROGUE               TAMPA                     FL
136597   KNMAT2MT8LP537190   Nissan       ROGUE               MIAMI                     FL
136598   KNMAT2MT8LP537254   Nissan       ROGUE               FORT MYERS                FL
136599   KNMAT2MT8LP537383   Nissan       ROGUE               PALM SPRINGS              CA
136600   KNMAT2MT8LP537416   Nissan       ROGUE               ORLANDO                   FL
136601   KNMAT2MT8LP537450   Nissan       ROGUE               PALM SPRINGS              CA
136602   KNMAT2MT8LP537786   Nissan       ROGUE               Fresno                    CA
136603   KNMAT2MT8LP537853   Nissan       ROGUE               LAS VEGAS                 NV
136604   KNMAT2MT8LP537870   Nissan       ROGUE               ORLANDO                   FL
136605   KNMAT2MT8LP537884   Nissan       ROGUE               LOS ANGELES               CA
136606   KNMAT2MT8LP537948   Nissan       ROGUE               TAMPA                     FL
136607   KNMAT2MT8LP538145   Nissan       ROGUE               MIAMI                     FL
136608   KNMAT2MT8LP538324   Nissan       ROGUE               WEST PALM BEACH           FL
136609   KNMAT2MT8LP538369   Nissan       ROGUE               FORT MYERS                FL
136610   KNMAT2MT8LP538498   Nissan       ROGUE               FORT MYERS                FL
136611   KNMAT2MT8LP538579   Nissan       ROGUE               FORT MYERS                FL
136612   KNMAT2MT8LP538582   Nissan       ROGUE               TAMPA                     FL
136613   KNMAT2MT8LP538985   Nissan       ROGUE               EAST BOSTON               MA
136614   KNMAT2MT8LP539487   Nissan       ROGUE               WEST PALM BEACH           FL
136615   KNMAT2MT8LP539490   Nissan       ROGUE               ORLANDO                   FL
136616   KNMAT2MT8LP539778   Nissan       ROGUE               SAVANNAH                  GA
136617   KNMAT2MT8LP539781   Nissan       ROGUE               ORLANDO                   FL
136618   KNMAT2MT8LP539893   Nissan       ROGUE               ORLANDO                   FL
136619   KNMAT2MT8LP540929   Nissan       ROGUE               EAST BOSTON               MA
136620   KNMAT2MT8LP540932   Nissan       ROGUE               EAST BOSTON               MA
136621   KNMAT2MT8LP541031   Nissan       ROGUE               EAST BOSTON               MA
136622   KNMAT2MT8LP541062   Nissan       ROGUE               EAST BOSTON               MA
136623   KNMAT2MT8LP541210   Nissan       ROGUE               EAST BOSTON               MA
136624   KNMAT2MT8LP541241   Nissan       ROGUE               EAST BOSTON               MA
136625   KNMAT2MT8LP541482   Nissan       ROGUE               EAST BOSTON               MA
136626   KNMAT2MT8LP541613   Nissan       ROGUE               EAST BOSTON               MA
136627   KNMAT2MT9HP506859   Nissan       ROGUE               DES PLAINES               IL
136628   KNMAT2MT9HP537903   Nissan       ROGUE               BIRMINGHAM                AL
136629   KNMAT2MT9HP540249   Nissan       ROGUE               NORTH PAC                 CA
136630   KNMAT2MT9HP543605   Nissan       ROGUE               Fort Lauderdale           FL
136631   KNMAT2MT9HP546374   Nissan       ROGUE               Los Angeles               CA
136632   KNMAT2MT9HP552983   Nissan       ROGUE               Las Vegas                 NV
136633   KNMAT2MT9JP500839   Nissan       ROGUE               Mira Loma                 CA
136634   KNMAT2MT9JP501196   Nissan       ROGUE               LOS ANGELES               CA
136635   KNMAT2MT9JP502719   Nissan       ROGUE               Atlanta                   GA
136636   KNMAT2MT9JP506916   Nissan       ROGUE               ARLINGTON                 VA
136637   KNMAT2MT9JP507208   Nissan       ROGUE               LOS ANGELES               CA
136638   KNMAT2MT9JP507810   Nissan       ROGUE               DANIA BEACH               FL
136639   KNMAT2MT9JP521352   Nissan       ROGUE               Matteson                  IL
136640   KNMAT2MT9JP521528   Nissan       ROGUE               Tolleson                  AZ
136641   KNMAT2MT9JP521853   Nissan       ROGUE               NOTTINGHAM                MD
136642   KNMAT2MT9JP522470   Nissan       ROGUE               SAN FRANCISCO             CA
136643   KNMAT2MT9JP525045   Nissan       ROGUE               South San Franc           CA
136644   KNMAT2MT9JP525644   Nissan       ROGUE               Maple Grove               MN
136645   KNMAT2MT9JP533517   Nissan       ROGUE               Aurora                    CO
136646   KNMAT2MT9JP534716   Nissan       ROGUE               Las Vegas                 NV
136647   KNMAT2MT9JP536353   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
136648   KNMAT2MT9JP537485   Nissan       ROGUE               LOS ANGELES               CA
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136649   KNMAT2MT9JP537566   Nissan       ROGUE               Tampa                     FL
136650   KNMAT2MT9JP537969   Nissan       ROGUE               NORTH HOLLYWOOD           CA
136651   KNMAT2MT9JP538040   Nissan       ROGUE               BURBANK                   CA
136652   KNMAT2MT9JP538331   Nissan       ROGUE               Tampa                     FL
136653   KNMAT2MT9JP538698   Nissan       ROGUE               MIAMI INT'L AP            FL
136654   KNMAT2MT9JP544257   Nissan       ROGUE               Atlanta                   GA
136655   KNMAT2MT9JP544839   Nissan       ROGUE               Savannah                  GA
136656   KNMAT2MT9JP545229   Nissan       ROGUE               Statesville               NC
136657   KNMAT2MT9JP547448   Nissan       ROGUE               North Dighton             MA
136658   KNMAT2MT9JP549412   Nissan       ROGUE               NORTH HOLLYWOOD           CA
136659   KNMAT2MT9JP549863   Nissan       ROGUE               LAS VEGAS                 NV
136660   KNMAT2MT9JP550043   Nissan       ROGUE               SANTA ANA                 CA
136661   KNMAT2MT9JP552164   Nissan       ROGUE               CLEVELAND                 OH
136662   KNMAT2MT9JP552245   Nissan       ROGUE               Atlanta                   GA
136663   KNMAT2MT9JP552391   Nissan       ROGUE               Sanford                   FL
136664   KNMAT2MT9JP556053   Nissan       ROGUE               SAN ANTONIO               TX
136665   KNMAT2MT9JP567022   Nissan       ROGUE               ORLANDO                   FL
136666   KNMAT2MT9JP567439   Nissan       ROGUE               PHOENIX                   AZ
136667   KNMAT2MT9JP571037   Nissan       ROGUE               TAMPA                     FL
136668   KNMAT2MT9JP571152   Nissan       ROGUE               AUSTIN                    TX
136669   KNMAT2MT9JP573631   Nissan       ROGUE               Live Oak                  TX
136670   KNMAT2MT9JP576707   Nissan       ROGUE               BURBANK                   CA
136671   KNMAT2MT9JP583690   Nissan       ROGUE               LOS ANGELES               CA
136672   KNMAT2MT9JP583768   Nissan       ROGUE               LOS ANGELES               CA
136673   KNMAT2MT9JP583818   Nissan       ROGUE               LOS ANGELES               CA
136674   KNMAT2MT9JP585097   Nissan       ROGUE               BURBANK                   CA
136675   KNMAT2MT9JP585231   Nissan       ROGUE               BURBANK                   CA
136676   KNMAT2MT9KP536354   Nissan       ROGUE               Dallas                    TX
136677   KNMAT2MT9KP542655   Nissan       ROGUE               Pensacola                 FL
136678   KNMAT2MT9KP544020   Nissan       ROGUE               Hebron                    KY
136679   KNMAT2MT9KP544289   Nissan       ROGUE               Birmingham                AL
136680   KNMAT2MT9KP545586   Nissan       ROGUE               MARIETTA                  GA
136681   KNMAT2MT9KP547127   Nissan       ROGUE               DALLAS                    TX
136682   KNMAT2MT9KP547175   Nissan       ROGUE               KENNER                    LA
136683   KNMAT2MT9KP547287   Nissan       ROGUE               Wilmington                NC
136684   KNMAT2MT9KP554191   Nissan       ROGUE               Jacksonville              FL
136685   KNMAT2MT9LP526652   Nissan       ROGUE               BURBANK                   CA
136686   KNMAT2MT9LP526697   Nissan       ROGUE               LOS ANGELES               CA
136687   KNMAT2MT9LP526733   Nissan       ROGUE               Miami                     FL
136688   KNMAT2MT9LP526764   Nissan       ROGUE               PALM SPRINGS              CA
136689   KNMAT2MT9LP526800   Nissan       ROGUE               FORT LAUDERDALE           FL
136690   KNMAT2MT9LP526845   Nissan       ROGUE               MIAMI                     FL
136691   KNMAT2MT9LP526926   Nissan       ROGUE               LOS ANGELES               CA
136692   KNMAT2MT9LP526943   Nissan       ROGUE               ORLANDO                   FL
136693   KNMAT2MT9LP526960   Nissan       ROGUE               ONTARIO                   CA
136694   KNMAT2MT9LP526974   Nissan       ROGUE               FORT MYERS                FL
136695   KNMAT2MT9LP527008   Nissan       ROGUE               TAMPA                     FL
136696   KNMAT2MT9LP527042   Nissan       ROGUE               SARASOTA                  FL
136697   KNMAT2MT9LP527168   Nissan       ROGUE               MIAMI                     FL
136698   KNMAT2MT9LP527252   Nissan       ROGUE               WEST PALM BEACH           FL
136699   KNMAT2MT9LP527347   Nissan       ROGUE               TAMPA                     FL
136700   KNMAT2MT9LP527364   Nissan       ROGUE               KNOXVILLE                 TN
136701   KNMAT2MT9LP527381   Nissan       ROGUE               ATLANTA                   GA
136702   KNMAT2MT9LP527395   Nissan       ROGUE               ORLANDO                   FL
136703   KNMAT2MT9LP527431   Nissan       ROGUE               KENNER                    LA
136704   KNMAT2MT9LP527462   Nissan       ROGUE               TAMPA                     FL
136705   KNMAT2MT9LP527722   Nissan       ROGUE               ONTARIO, RIVERSIDE        CA
136706   KNMAT2MT9LP527803   Nissan       ROGUE               ORLANDO                   FL
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136707   KNMAT2MT9LP527915   Nissan       ROGUE               UNION CITY                GA
136708   KNMAT2MT9LP527980   Nissan       ROGUE               WEST PALM BEACH           FL
136709   KNMAT2MT9LP528000   Nissan       ROGUE               WEST PALM BEACH           FL
136710   KNMAT2MT9LP528031   Nissan       ROGUE               ORLANDO                   FL
136711   KNMAT2MT9LP528045   Nissan       ROGUE               ORLANDO                   FL
136712   KNMAT2MT9LP528059   Nissan       ROGUE               JACKSONVILLE              FL
136713   KNMAT2MT9LP528143   Nissan       ROGUE               LAS VEGAS                 NV
136714   KNMAT2MT9LP528160   Nissan       ROGUE               PENSACOLA                 FL
136715   KNMAT2MT9LP528210   Nissan       ROGUE               LOS ANGELES               CA
136716   KNMAT2MT9LP528241   Nissan       ROGUE               SANTA ANA                 CA
136717   KNMAT2MT9LP528398   Nissan       ROGUE               INGLEWOOD                 CA
136718   KNMAT2MT9LP528482   Nissan       ROGUE               Lake Elsinore             CA
136719   KNMAT2MT9LP528577   Nissan       ROGUE               SAN DIEGO                 CA
136720   KNMAT2MT9LP528580   Nissan       ROGUE               LOS ANGELES               CA
136721   KNMAT2MT9LP528630   Nissan       ROGUE               Costa Mesa                CA
136722   KNMAT2MT9LP528689   Nissan       ROGUE               ORANGE COUNTY             CA
136723   KNMAT2MT9LP528773   Nissan       ROGUE               BURBANK                   CA
136724   KNMAT2MT9LP528790   Nissan       ROGUE               BURBANK                   CA
136725   KNMAT2MT9LP528949   Nissan       ROGUE               LOS ANGELES AP            CA
136726   KNMAT2MT9LP529003   Nissan       ROGUE               SAN DIEGO                 CA
136727   KNMAT2MT9LP529082   Nissan       ROGUE               SAN DIEGO                 CA
136728   KNMAT2MT9LP529101   Nissan       ROGUE               TAMPA                     FL
136729   KNMAT2MT9LP529292   Nissan       ROGUE               BIRMINGHAM                AL
136730   KNMAT2MT9LP529454   Nissan       ROGUE               FORT MYERS                FL
136731   KNMAT2MT9LP529468   Nissan       ROGUE               MEMPHIS                   TN
136732   KNMAT2MT9LP529566   Nissan       ROGUE               Nashville                 TN
136733   KNMAT2MT9LP529633   Nissan       ROGUE               KENNER                    LA
136734   KNMAT2MT9LP529809   Nissan       ROGUE               ORLANDO                   FL
136735   KNMAT2MT9LP529941   Nissan       ROGUE               JACKSON                   MS
136736   KNMAT2MT9LP530328   Nissan       ROGUE               LAS VEGAS                 NV
136737   KNMAT2MT9LP530331   Nissan       ROGUE               SANTA BARBARA             CA
136738   KNMAT2MT9LP530443   Nissan       ROGUE               PALM SPRINGS              CA
136739   KNMAT2MT9LP530605   Nissan       ROGUE               LAS VEGAS                 NV
136740   KNMAT2MT9LP532726   Nissan       ROGUE               JACKSONVILLE              FL
136741   KNMAT2MT9LP533018   Nissan       ROGUE               SAN DIEGO                 CA
136742   KNMAT2MT9LP533228   Nissan       ROGUE               SAN DIEGO                 CA
136743   KNMAT2MT9LP533438   Nissan       ROGUE               SAVANNAH                  GA
136744   KNMAT2MT9LP533441   Nissan       ROGUE               MIAMI                     FL
136745   KNMAT2MT9LP533519   Nissan       ROGUE               ORLANDO                   FL
136746   KNMAT2MT9LP533603   Nissan       ROGUE               FORT LAUDERDALE           FL
136747   KNMAT2MT9LP533679   Nissan       ROGUE               MIAMI                     FL
136748   KNMAT2MT9LP533682   Nissan       ROGUE               ORLANDO                   FL
136749   KNMAT2MT9LP533746   Nissan       ROGUE               WEST PALM BEACH           FL
136750   KNMAT2MT9LP533844   Nissan       ROGUE               WEST PALM BEACH           FL
136751   KNMAT2MT9LP533875   Nissan       ROGUE               SARASOTA                  FL
136752   KNMAT2MT9LP533956   Nissan       ROGUE               MIAMI                     FL
136753   KNMAT2MT9LP533987   Nissan       ROGUE               FORT LAUDERDALE           FL
136754   KNMAT2MT9LP534119   Nissan       ROGUE               MIAMI                     FL
136755   KNMAT2MT9LP534427   Nissan       ROGUE               SAN DIEGO                 CA
136756   KNMAT2MT9LP534458   Nissan       ROGUE               KENNER                    LA
136757   KNMAT2MT9LP534508   Nissan       ROGUE               PALM SPRINGS              CA
136758   KNMAT2MT9LP534511   Nissan       ROGUE               SAN DIEGO                 CA
136759   KNMAT2MT9LP534590   Nissan       ROGUE               Los Angeles               CA
136760   KNMAT2MT9LP535044   Nissan       ROGUE               ORANGE COUNTY             CA
136761   KNMAT2MT9LP535996   Nissan       ROGUE               INGLEWOOD                 CA
136762   KNMAT2MT9LP536212   Nissan       ROGUE               PALM SPRINGS              CA
136763   KNMAT2MT9LP536355   Nissan       ROGUE               ORANGE COUNTY             CA
136764   KNMAT2MT9LP536498   Nissan       ROGUE               FORT MYERS                FL
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136765   KNMAT2MT9LP536503   Nissan       ROGUE               MIAMI                     FL
136766   KNMAT2MT9LP536534   Nissan       ROGUE               ORLANDO                   FL
136767   KNMAT2MT9LP536551   Nissan       ROGUE               ORLANDO                   FL
136768   KNMAT2MT9LP536632   Nissan       ROGUE               FORT MYERS                FL
136769   KNMAT2MT9LP536677   Nissan       ROGUE               Miami                     FL
136770   KNMAT2MT9LP536761   Nissan       ROGUE               FT. LAUDERDALE            FL
136771   KNMAT2MT9LP536775   Nissan       ROGUE               TAMPA                     FL
136772   KNMAT2MT9LP536825   Nissan       ROGUE               PALM SPRINGS              CA
136773   KNMAT2MT9LP536887   Nissan       ROGUE               LAS VEGAS                 NV
136774   KNMAT2MT9LP536890   Nissan       ROGUE               LOS ANGELES AP            CA
136775   KNMAT2MT9LP536906   Nissan       ROGUE               LOS ANGELES               CA
136776   KNMAT2MT9LP536985   Nissan       ROGUE               FORT MYERS                FL
136777   KNMAT2MT9LP537022   Nissan       ROGUE               TAMPA                     FL
136778   KNMAT2MT9LP537036   Nissan       ROGUE               KNOXVILLE                 TN
136779   KNMAT2MT9LP537067   Nissan       ROGUE               SAN DIEGO                 CA
136780   KNMAT2MT9LP537103   Nissan       ROGUE               ORLANDO                   FL
136781   KNMAT2MT9LP537117   Nissan       ROGUE               TAMPA                     FL
136782   KNMAT2MT9LP537165   Nissan       ROGUE               MIAMI                     FL
136783   KNMAT2MT9LP537277   Nissan       ROGUE               BURBANK                   CA
136784   KNMAT2MT9LP537327   Nissan       ROGUE               LOS ANGELES               CA
136785   KNMAT2MT9LP537442   Nissan       ROGUE               JACKSONVILLE              FL
136786   KNMAT2MT9LP537540   Nissan       ROGUE               LAS VEGAS                 NV
136787   KNMAT2MT9LP537702   Nissan       ROGUE               MIAMI                     FL
136788   KNMAT2MT9LP537781   Nissan       ROGUE               PALM SPRINGS              CA
136789   KNMAT2MT9LP537876   Nissan       ROGUE               ORLANDO                   FL
136790   KNMAT2MT9LP538493   Nissan       ROGUE               FORT MYERS                FL
136791   KNMAT2MT9LP538588   Nissan       ROGUE               Ft. Myers                 FL
136792   KNMAT2MT9LP538851   Nissan       ROGUE               WHITE PLAINS              NY
136793   KNMAT2MT9LP538994   Nissan       ROGUE               EAST BOSTON               MA
136794   KNMAT2MT9LP539014   Nissan       ROGUE               FORT MYERS                FL
136795   KNMAT2MT9LP539109   Nissan       ROGUE               FORT MYERS                FL
136796   KNMAT2MT9LP539160   Nissan       ROGUE               NEWARK                    NJ
136797   KNMAT2MT9LP539286   Nissan       ROGUE               FORT MYERS                FL
136798   KNMAT2MT9LP539384   Nissan       ROGUE               WEST PALM BEACH           FL
136799   KNMAT2MT9LP539398   Nissan       ROGUE               WEST PALM BEACH           FL
136800   KNMAT2MT9LP539417   Nissan       ROGUE               ORLANDO                   FL
136801   KNMAT2MT9LP539448   Nissan       ROGUE               ORLANDO                   FL
136802   KNMAT2MT9LP539515   Nissan       ROGUE               JACKSONVILLE              FL
136803   KNMAT2MT9LP539868   Nissan       ROGUE               ORLANDO                   FL
136804   KNMAT2MT9LP540020   Nissan       ROGUE               SAVANNAH                  GA
136805   KNMAT2MT9LP540972   Nissan       ROGUE               EAST BOSTON               MA
136806   KNMAT2MT9LP541068   Nissan       ROGUE               EAST BOSTON               MA
136807   KNMAT2MT9LP541085   Nissan       ROGUE               EAST BOSTON               MA
136808   KNMAT2MT9LP541135   Nissan       ROGUE               EAST BOSTON               MA
136809   KNMAT2MT9LP541166   Nissan       ROGUE               EAST BOSTON               MA
136810   KNMAT2MT9LP541183   Nissan       ROGUE               EAST BOSTON               MA
136811   KNMAT2MT9LP541247   Nissan       ROGUE               EAST BOSTON               MA
136812   KNMAT2MT9LP541295   Nissan       ROGUE               EAST BOSTON               MA
136813   KNMAT2MT9LP541832   Nissan       ROGUE               EAST BOSTON               MA
136814   KNMAT2MTXGP595341   Nissan       ROGUE               SAN FRANCISCO             CA
136815   KNMAT2MTXGP696265   Nissan       ROGUE               Davie                     FL
136816   KNMAT2MTXHP553561   Nissan       ROGUE               SOUTH SAN FRANC           CA
136817   KNMAT2MTXHP562311   Nissan       ROGUE               Davie                     FL
136818   KNMAT2MTXHP566133   Nissan       ROGUE               STERLING                  VA
136819   KNMAT2MTXHP567623   Nissan       ROGUE               SAN ANTONIO               TX
136820   KNMAT2MTXHP575107   Nissan       ROGUE               Portland                  OR
136821   KNMAT2MTXJP501708   Nissan       ROGUE               BURBANK                   CA
136822   KNMAT2MTXJP501711   Nissan       ROGUE               ROSEVILLE                 CA
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136823   KNMAT2MTXJP501837   Nissan       ROGUE               SAN FRANCISCO             CA
136824   KNMAT2MTXJP502597   Nissan       ROGUE               PHILADELPHIA              PA
136825   KNMAT2MTXJP509405   Nissan       ROGUE               Stockton                  CA
136826   KNMAT2MTXJP509615   Nissan       ROGUE               LOS ANGELES               CA
136827   KNMAT2MTXJP518668   Nissan       ROGUE               BURBANK                   CA
136828   KNMAT2MTXJP519478   Nissan       ROGUE               Tampa                     FL
136829   KNMAT2MTXJP520176   Nissan       ROGUE               HANOVER                   MD
136830   KNMAT2MTXJP521764   Nissan       ROGUE               Lynn                      MA
136831   KNMAT2MTXJP522087   Nissan       ROGUE               LOS ANGELES               CA
136832   KNMAT2MTXJP522896   Nissan       ROGUE               SANTA ANA                 CA
136833   KNMAT2MTXJP523689   Nissan       ROGUE               LAS VEGAS                 NV
136834   KNMAT2MTXJP525541   Nissan       ROGUE               BURBANK                   CA
136835   KNMAT2MTXJP525605   Nissan       ROGUE               BURBANK                   CA
136836   KNMAT2MTXJP525801   Nissan       ROGUE               ORLANDO                   FL
136837   KNMAT2MTXJP526480   Nissan       ROGUE               LOS ANGELES               CA
136838   KNMAT2MTXJP526639   Nissan       ROGUE               SACRAMENTO                CA
136839   KNMAT2MTXJP527063   Nissan       ROGUE               Mira Loma                 CA
136840   KNMAT2MTXJP527340   Nissan       ROGUE               SAN FRANCISCO             CA
136841   KNMAT2MTXJP528570   Nissan       ROGUE               NAPLES                    FL
136842   KNMAT2MTXJP531341   Nissan       ROGUE               Marietta                  GA
136843   KNMAT2MTXJP535003   Nissan       ROGUE               DENVER                    CO
136844   KNMAT2MTXJP536006   Nissan       ROGUE               DALLAS                    TX
136845   KNMAT2MTXJP536281   Nissan       ROGUE               Atlanta                   GA
136846   KNMAT2MTXJP538094   Nissan       ROGUE               COLLEGE PARK              GA
136847   KNMAT2MTXJP538211   Nissan       ROGUE               Tampa                     FL
136848   KNMAT2MTXJP538435   Nissan       ROGUE               Clearwater                FL
136849   KNMAT2MTXJP538709   Nissan       ROGUE               SAN FRANCISCO             CA
136850   KNMAT2MTXJP538967   Nissan       ROGUE               NORTH PAC                 CA
136851   KNMAT2MTXJP539519   Nissan       ROGUE               BURBANK                   CA
136852   KNMAT2MTXJP539522   Nissan       ROGUE               SAN DIEGO                 CA
136853   KNMAT2MTXJP539973   Nissan       ROGUE               BURBANK                   CA
136854   KNMAT2MTXJP543554   Nissan       ROGUE               BALTIMORE                 MD
136855   KNMAT2MTXJP544381   Nissan       ROGUE               FORT LAUDERDALE           FL
136856   KNMAT2MTXJP544588   Nissan       ROGUE               Statesville               NC
136857   KNMAT2MTXJP546521   Nissan       ROGUE               Atlanta                   GA
136858   KNMAT2MTXJP548284   Nissan       ROGUE               BURBANK                   CA
136859   KNMAT2MTXJP550391   Nissan       ROGUE               LAS VEGAS                 NV
136860   KNMAT2MTXJP565716   Nissan       ROGUE               Miami                     FL
136861   KNMAT2MTXJP567580   Nissan       ROGUE               ORLANDO                   FL
136862   KNMAT2MTXJP568096   Nissan       ROGUE               SEATAC                    WA
136863   KNMAT2MTXJP570138   Nissan       ROGUE               Baton Rouge               LA
136864   KNMAT2MTXJP570804   Nissan       ROGUE               CHARLOTTE                 NC
136865   KNMAT2MTXJP573640   Nissan       ROGUE               Mt. Juliet                TN
136866   KNMAT2MTXJP575906   Nissan       ROGUE               LOS ANGELES               CA
136867   KNMAT2MTXJP576005   Nissan       ROGUE               DUBLIN                    CA
136868   KNMAT2MTXJP576697   Nissan       ROGUE               Mira Loma                 CA
136869   KNMAT2MTXJP577154   Nissan       ROGUE               BURBANK                   CA
136870   KNMAT2MTXJP577168   Nissan       ROGUE               DALLAS                    TX
136871   KNMAT2MTXJP577171   Nissan       ROGUE               SAN FRANCISCO             CA
136872   KNMAT2MTXJP577381   Nissan       ROGUE               BURBANK                   CA
136873   KNMAT2MTXJP577431   Nissan       ROGUE               SAN ANTONIO               TX
136874   KNMAT2MTXJP584458   Nissan       ROGUE               DENVER                    CO
136875   KNMAT2MTXJP584525   Nissan       ROGUE               SANTA ANA                 CA
136876   KNMAT2MTXJP584962   Nissan       ROGUE               Los Angeles               CA
136877   KNMAT2MTXJP585027   Nissan       ROGUE               SAN JOSE                  CA
136878   KNMAT2MTXJP590020   Nissan       ROGUE               NEW ENGLAND DEALER        MA
136879   KNMAT2MTXKP520132   Nissan       ROGUE               Winter Park               FL
136880   KNMAT2MTXKP521281   Nissan       ROGUE               NEW ORLEANS               LA
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136881   KNMAT2MTXKP521751   Nissan       ROGUE               ORLANDO                   FL
136882   KNMAT2MTXKP526433   Nissan       ROGUE               FORT MYERS                FL
136883   KNMAT2MTXKP543636   Nissan       ROGUE               OKLAHOMA CITY             OK
136884   KNMAT2MTXKP544012   Nissan       ROGUE               Miami                     FL
136885   KNMAT2MTXKP544527   Nissan       ROGUE               KANSAS CITY               MO
136886   KNMAT2MTXKP547122   Nissan       ROGUE               Houston                   TX
136887   KNMAT2MTXKP547184   Nissan       ROGUE               NEWARK                    NJ
136888   KNMAT2MTXKP548349   Nissan       ROGUE               Warr Acres                OK
136889   KNMAT2MTXLP526675   Nissan       ROGUE               LOS ANGELES               CA
136890   KNMAT2MTXLP526725   Nissan       ROGUE               LOS ANGELES               CA
136891   KNMAT2MTXLP526787   Nissan       ROGUE               FORT LAUDERDALE           FL
136892   KNMAT2MTXLP526837   Nissan       ROGUE               Phoenix                   AZ
136893   KNMAT2MTXLP526949   Nissan       ROGUE               WEST PALM BEACH           FL
136894   KNMAT2MTXLP526952   Nissan       ROGUE               ORLANDO                   FL
136895   KNMAT2MTXLP526983   Nissan       ROGUE               MIAMI                     FL
136896   KNMAT2MTXLP527034   Nissan       ROGUE               ORLANDO                   FL
136897   KNMAT2MTXLP527048   Nissan       ROGUE               ORLANDO                   FL
136898   KNMAT2MTXLP527129   Nissan       ROGUE               LOS ANGELES               CA
136899   KNMAT2MTXLP527132   Nissan       ROGUE               SAN DIEGO                 CA
136900   KNMAT2MTXLP527146   Nissan       ROGUE               FORT MYERS                FL
136901   KNMAT2MTXLP527163   Nissan       ROGUE               MIAMI                     FL
136902   KNMAT2MTXLP527180   Nissan       ROGUE               ORLANDO                   FL
136903   KNMAT2MTXLP527230   Nissan       ROGUE               TAMPA                     FL
136904   KNMAT2MTXLP527258   Nissan       ROGUE               TAMPA                     FL
136905   KNMAT2MTXLP527292   Nissan       ROGUE               SARASOTA                  FL
136906   KNMAT2MTXLP527311   Nissan       ROGUE               FORT MYERS                FL
136907   KNMAT2MTXLP527454   Nissan       ROGUE               FORT MYERS                FL
136908   KNMAT2MTXLP527468   Nissan       ROGUE               TAMPA                     FL
136909   KNMAT2MTXLP527521   Nissan       ROGUE               Tustin                    CA
136910   KNMAT2MTXLP527700   Nissan       ROGUE               TAMPA                     FL
136911   KNMAT2MTXLP527762   Nissan       ROGUE               PENSACOLA                 FL
136912   KNMAT2MTXLP527776   Nissan       ROGUE               TAMPA                     FL
136913   KNMAT2MTXLP527907   Nissan       ROGUE               SANTA ANA                 CA
136914   KNMAT2MTXLP527955   Nissan       ROGUE               FORT MYERS                FL
136915   KNMAT2MTXLP528197   Nissan       ROGUE               ONTARIO                   CA
136916   KNMAT2MTXLP528281   Nissan       ROGUE               KNOXVILLE                 TN
136917   KNMAT2MTXLP528426   Nissan       ROGUE               JACKSONVILLE              FL
136918   KNMAT2MTXLP528569   Nissan       ROGUE               BIRMINGHAN                AL
136919   KNMAT2MTXLP528717   Nissan       ROGUE               Las Vegas                 NV
136920   KNMAT2MTXLP528930   Nissan       ROGUE               PALM SPRINGS              CA
136921   KNMAT2MTXLP529074   Nissan       ROGUE               ORANGE COUNTY             CA
136922   KNMAT2MTXLP529091   Nissan       ROGUE               Costa Mesa                CA
136923   KNMAT2MTXLP529205   Nissan       ROGUE               LAS VEGAS                 NV
136924   KNMAT2MTXLP529219   Nissan       ROGUE               FORT MYERS                FL
136925   KNMAT2MTXLP529270   Nissan       ROGUE               FORT MYERS                FL
136926   KNMAT2MTXLP529320   Nissan       ROGUE               BIRMINGHAM                AL
136927   KNMAT2MTXLP529415   Nissan       ROGUE               ORLANDO                   FL
136928   KNMAT2MTXLP529463   Nissan       ROGUE               ATLANTA                   GA
136929   KNMAT2MTXLP529561   Nissan       ROGUE               AUGUSTA                   GA
136930   KNMAT2MTXLP529639   Nissan       ROGUE               Hendersonville            TN
136931   KNMAT2MTXLP529804   Nissan       ROGUE               BEAUFORT                  SC
136932   KNMAT2MTXLP530239   Nissan       ROGUE               CHARLOTTE                 NC
136933   KNMAT2MTXLP530807   Nissan       ROGUE               ATLANTA                   GA
136934   KNMAT2MTXLP530872   Nissan       ROGUE               Tustin                    CA
136935   KNMAT2MTXLP531150   Nissan       ROGUE               LOS ANGELES               CA
136936   KNMAT2MTXLP532895   Nissan       ROGUE               LOS ANGELES               CA
136937   KNMAT2MTXLP532959   Nissan       ROGUE               Miami                     FL
136938   KNMAT2MTXLP533108   Nissan       ROGUE               SANTA ANA                 CA
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136939   KNMAT2MTXLP533190   Nissan       ROGUE               FORT MYERS                FL
136940   KNMAT2MTXLP533285   Nissan       ROGUE               PALM SPRINGS              CA
136941   KNMAT2MTXLP533349   Nissan       ROGUE               LOS ANGELES               CA
136942   KNMAT2MTXLP533433   Nissan       ROGUE               MIAMI                     FL
136943   KNMAT2MTXLP533464   Nissan       ROGUE               Miami                     FL
136944   KNMAT2MTXLP533495   Nissan       ROGUE               TULSA                     OK
136945   KNMAT2MTXLP533500   Nissan       ROGUE               FORT MYERS                FL
136946   KNMAT2MTXLP533514   Nissan       ROGUE               ORLANDO                   FL
136947   KNMAT2MTXLP533562   Nissan       ROGUE               ORLANDO                   FL
136948   KNMAT2MTXLP533688   Nissan       ROGUE               TAMPA                     FL
136949   KNMAT2MTXLP533707   Nissan       ROGUE               ORLANDO                   FL
136950   KNMAT2MTXLP533710   Nissan       ROGUE               FORT MYERS                FL
136951   KNMAT2MTXLP533738   Nissan       ROGUE               TAMPA                     FL
136952   KNMAT2MTXLP533741   Nissan       ROGUE               FORT LAUDERDALE           FL
136953   KNMAT2MTXLP533819   Nissan       ROGUE               Hebron                    KY
136954   KNMAT2MTXLP533853   Nissan       ROGUE               ORLANDO                   FL
136955   KNMAT2MTXLP534016   Nissan       ROGUE               WEST PALM BEACH           FL
136956   KNMAT2MTXLP534050   Nissan       ROGUE               CHARLESTON                WV
136957   KNMAT2MTXLP534355   Nissan       ROGUE               ORLANDO                   FL
136958   KNMAT2MTXLP534386   Nissan       ROGUE               KENNER                    LA
136959   KNMAT2MTXLP534436   Nissan       ROGUE               SAN DIEGO                 CA
136960   KNMAT2MTXLP534582   Nissan       ROGUE               LOS ANGELES               CA
136961   KNMAT2MTXLP534615   Nissan       ROGUE               LOS ANGELES               CA
136962   KNMAT2MTXLP535036   Nissan       ROGUE               LAS VEGAS                 NV
136963   KNMAT2MTXLP536171   Nissan       ROGUE               SAN DIEGO                 CA
136964   KNMAT2MTXLP536316   Nissan       ROGUE               LOS ANGELES AP            CA
136965   KNMAT2MTXLP536350   Nissan       ROGUE               SANTA ANA                 CA
136966   KNMAT2MTXLP536607   Nissan       ROGUE               WEST PALM BEACH           FL
136967   KNMAT2MTXLP536686   Nissan       ROGUE               FORT MYERS                FL
136968   KNMAT2MTXLP536879   Nissan       ROGUE               ORLANDO                   FL
136969   KNMAT2MTXLP536882   Nissan       ROGUE               MIAMI                     FL
136970   KNMAT2MTXLP536946   Nissan       ROGUE               WEST PALM BEACH           FL
136971   KNMAT2MTXLP536963   Nissan       ROGUE               Roseville                 CA
136972   KNMAT2MTXLP537014   Nissan       ROGUE               WEST PALM BEACH           FL
136973   KNMAT2MTXLP537336   Nissan       ROGUE               LAS VEGAS                 NV
136974   KNMAT2MTXLP537403   Nissan       ROGUE               LAS VEGAS                 NV
136975   KNMAT2MTXLP537465   Nissan       ROGUE               LOS ANGELES               CA
136976   KNMAT2MTXLP537529   Nissan       ROGUE               LAS VEGAS                 NV
136977   KNMAT2MTXLP537613   Nissan       ROGUE               ORLANDO                   FL
136978   KNMAT2MTXLP537675   Nissan       ROGUE               LOS ANGELES               CA
136979   KNMAT2MTXLP537742   Nissan       ROGUE               BURBANK                   CA
136980   KNMAT2MTXLP537904   Nissan       ROGUE               FORT LAUDERDALE           FL
136981   KNMAT2MTXLP537921   Nissan       ROGUE               LAS VEGAS                 NV
136982   KNMAT2MTXLP538177   Nissan       ROGUE               ORLANDO                   FL
136983   KNMAT2MTXLP538230   Nissan       ROGUE               LAS VEGAS                 NV
136984   KNMAT2MTXLP538292   Nissan       ROGUE               LAS VEGAS                 NV
136985   KNMAT2MTXLP538311   Nissan       ROGUE               ORLANDO                   FL
136986   KNMAT2MTXLP538440   Nissan       ROGUE               ORLANDO                   FL
136987   KNMAT2MTXLP538454   Nissan       ROGUE               MIAMI                     FL
136988   KNMAT2MTXLP538471   Nissan       ROGUE               SARASOTA                  FL
136989   KNMAT2MTXLP538535   Nissan       ROGUE               SAVANNAH                  GA
136990   KNMAT2MTXLP538809   Nissan       ROGUE               FORT LAUDERDALE           FL
136991   KNMAT2MTXLP538910   Nissan       ROGUE               EAST BOSTON               MA
136992   KNMAT2MTXLP539054   Nissan       ROGUE               FORT MYERS                FL
136993   KNMAT2MTXLP539099   Nissan       ROGUE               FORT MYERS                FL
136994   KNMAT2MTXLP539393   Nissan       ROGUE               WEST PALM BEACH           FL
136995   KNMAT2MTXLP539443   Nissan       ROGUE               ORLANDO                   FL
136996   KNMAT2MTXLP539863   Nissan       ROGUE               SAVANNAH                  GA
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136997   KNMAT2MTXLP540866   Nissan       ROGUE               EAST BOSTON               MA
136998   KNMAT2MTXLP540902   Nissan       ROGUE               EAST BOSTON               MA
136999   KNMAT2MTXLP540981   Nissan       ROGUE               EAST BOSTON               MA
137000   KNMAT2MTXLP541029   Nissan       ROGUE               EAST BOSTON               MA
137001   KNMAT2MTXLP541161   Nissan       ROGUE               EAST BOSTON               MA
137002   KNMAT2MTXLP541225   Nissan       ROGUE               EAST BOSTON               MA
137003   KNMAT2MTXLP541659   Nissan       ROGUE               EAST BOSTON               MA
137004   KNMAT2MTXLP541676   Nissan       ROGUE               EAST BOSTON               MA
137005   KNMAT2MV0GP599769   Nissan       ROGUE               Elkridge                  MD
137006   KNMAT2MV0GP641454   Nissan       ROGUE               MIDDLE RIVER              MD
137007   KNMAT2MV0GP675880   Nissan       ROGUE               STERLING                  VA
137008   KNMAT2MV0GP706741   Nissan       ROGUE               North Dighton             MA
137009   KNMAT2MV0GP737214   Nissan       ROGUE               MEDINA                    OH
137010   KNMAT2MV0JP516638   Nissan       ROGUE               LOS ANGELES               CA
137011   KNMAT2MV0JP518339   Nissan       ROGUE               ORLANDO                   FL
137012   KNMAT2MV0JP519829   Nissan       ROGUE               NEW ENGLAND DEALER        MA
137013   KNMAT2MV0JP522312   Nissan       ROGUE               CLEVELAND                 OH
137014   KNMAT2MV0JP530586   Nissan       ROGUE               TAMPA                     FL
137015   KNMAT2MV0JP548277   Nissan       ROGUE               North Dighton             MA
137016   KNMAT2MV0JP554418   Nissan       ROGUE               Webster                   NY
137017   KNMAT2MV0JP556251   Nissan       ROGUE               DALLAS                    TX
137018   KNMAT2MV0JP557626   Nissan       ROGUE               DALLAS                    TX
137019   KNMAT2MV0JP559294   Nissan       ROGUE               Atlanta                   GA
137020   KNMAT2MV0JP570442   Nissan       ROGUE               Houston                   TX
137021   KNMAT2MV0JP579917   Nissan       ROGUE               Charlotte                 NC
137022   KNMAT2MV0JP584003   Nissan       ROGUE               Webster                   NY
137023   KNMAT2MV0KP517340   Nissan       ROGUE               TAMPA                     FL
137024   KNMAT2MV0KP518116   Nissan       ROGUE               Warminster                PA
137025   KNMAT2MV0KP518892   Nissan       ROGUE               WARWICK                   RI
137026   KNMAT2MV0KP520173   Nissan       ROGUE               Newark                    NJ
137027   KNMAT2MV0KP520237   Nissan       ROGUE               INGLEWOOD                 CA
137028   KNMAT2MV0KP528421   Nissan       ROGUE               PHILADELPHIA              PA
137029   KNMAT2MV0KP541721   Nissan       ROGUE               SAN DIEGO                 CA
137030   KNMAT2MV0LP512110   Nissan       ROGUE               Warminster                PA
137031   KNMAT2MV0LP512222   Nissan       ROGUE               COLUMBIA                  SC
137032   KNMAT2MV0LP514732   Nissan       ROGUE               Las Vegas                 NV
137033   KNMAT2MV0LP515251   Nissan       ROGUE               Live Oak                  TX
137034   KNMAT2MV0LP526718   Nissan       ROGUE               PHOENIX                   AZ
137035   KNMAT2MV0LP526752   Nissan       ROGUE               PHOENIX                   AZ
137036   KNMAT2MV0LP526833   Nissan       ROGUE               SEATAC                    WA
137037   KNMAT2MV0LP526864   Nissan       ROGUE               TUCSON                    AZ
137038   KNMAT2MV0LP526928   Nissan       ROGUE               PALM SPRINGS              CA
137039   KNMAT2MV0LP526931   Nissan       ROGUE               ORANGE COUNTY             CA
137040   KNMAT2MV0LP527044   Nissan       ROGUE               PHOENIX                   AZ
137041   KNMAT2MV0LP527111   Nissan       ROGUE               Sacramento                CA
137042   KNMAT2MV0LP527352   Nissan       ROGUE               PHOENIX                   AZ
137043   KNMAT2MV0LP527500   Nissan       ROGUE               PHOENIX                   AZ
137044   KNMAT2MV0LP527643   Nissan       ROGUE               PHOENIX                   AZ
137045   KNMAT2MV0LP527772   Nissan       ROGUE               PHOENIX                   AZ
137046   KNMAT2MV0LP527996   Nissan       ROGUE               ONTARIO                   CA
137047   KNMAT2MV0LP528095   Nissan       ROGUE               TUCSON                    AZ
137048   KNMAT2MV0LP528310   Nissan       ROGUE               PHOENIX                   AZ
137049   KNMAT2MV0LP528758   Nissan       ROGUE               LAS VEGAS                 NV
137050   KNMAT2MV0LP529022   Nissan       ROGUE               PHOENIX                   AZ
137051   KNMAT2MV0LP530462   Nissan       ROGUE               PHOENIX                   AZ
137052   KNMAT2MV0LP530901   Nissan       ROGUE               PHOENIX                   AZ
137053   KNMAT2MV0LP535032   Nissan       ROGUE               SAN DIEGO                 CA
137054   KNMAT2MV0LP535631   Nissan       ROGUE               LAS VEGAS                 NV
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137055   KNMAT2MV0LP535693   Nissan       ROGUE               LOS ANGELES                      CA
137056   KNMAT2MV0LP537430   Nissan       ROGUE               PLEASANTON                       CA
137057   KNMAT2MV0LP539694   Nissan       ROGUE               TAMPA                            FL
137058   KNMAT2MV1GP636358   Nissan       ROGUE               CHICAGO                          IL
137059   KNMAT2MV1GP661020   Nissan       ROGUE               Scottsdale                       AZ
137060   KNMAT2MV1JP518785   Nissan       ROGUE               BALDWIN                          NY
137061   KNMAT2MV1JP518995   Nissan       ROGUE               TAMPA                            FL
137062   KNMAT2MV1JP520536   Nissan       ROGUE               HARVEY                           LA
137063   KNMAT2MV1JP521847   Nissan       ROGUE               BURBANK                          CA
137064   KNMAT2MV1JP533075   Nissan       ROGUE               HANOVER                          MD
137065   KNMAT2MV1JP533531   Nissan       ROGUE               FLORIDA DEALER DIR               FL
137066   KNMAT2MV1JP545937   Nissan       ROGUE               LA HABRA                         CA
137067   KNMAT2MV1JP567632   Nissan       ROGUE               MILWAUKEE                        WI
137068   KNMAT2MV1JP568019   Nissan       ROGUE               LOS ANGELES                      CA
137069   KNMAT2MV1JP570997   Nissan       ROGUE               SAINT PAUL                       MN
137070   KNMAT2MV1JP571406   Nissan       ROGUE               Elkridge                         MD
137071   KNMAT2MV1JP574466   Nissan       ROGUE               WASHINGTON DC, DULLES INT'L AP   DC
137072   KNMAT2MV1JP580056   Nissan       ROGUE               Winter Park                      FL
137073   KNMAT2MV1JP591266   Nissan       ROGUE               SAN JOSE                         CA
137074   KNMAT2MV1KP518304   Nissan       ROGUE               Lake Elsinore                    CA
137075   KNMAT2MV1KP518867   Nissan       ROGUE               Detroit                          MI
137076   KNMAT2MV1KP520358   Nissan       ROGUE               TAMPA                            FL
137077   KNMAT2MV1KP528329   Nissan       ROGUE               PHOENIX                          AZ
137078   KNMAT2MV1KP529142   Nissan       ROGUE               BURBANK                          CA
137079   KNMAT2MV1KP529271   Nissan       ROGUE               San Diego                        CA
137080   KNMAT2MV1KP542375   Nissan       ROGUE               Lake Elsinore                    CA
137081   KNMAT2MV1KP542442   Nissan       ROGUE               San Diego                        CA
137082   KNMAT2MV1KP542621   Nissan       ROGUE               SAN DIEGO                        CA
137083   KNMAT2MV1KP542697   Nissan       ROGUE               ST Paul                          MN
137084   KNMAT2MV1KP542862   Nissan       ROGUE               ST Paul                          MN
137085   KNMAT2MV1KP543168   Nissan       ROGUE               Ontario                          CA
137086   KNMAT2MV1LP503903   Nissan       ROGUE               Stone Mountain                   GA
137087   KNMAT2MV1LP508423   Nissan       ROGUE               Richmond                         VA
137088   KNMAT2MV1LP512259   Nissan       ROGUE               North Dighton                    MA
137089   KNMAT2MV1LP514805   Nissan       ROGUE               Scottsdale                       AZ
137090   KNMAT2MV1LP516165   Nissan       ROGUE               Massapequa                       NY
137091   KNMAT2MV1LP526677   Nissan       ROGUE               PHOENIX                          AZ
137092   KNMAT2MV1LP526694   Nissan       ROGUE               PALM SPRINGS                     CA
137093   KNMAT2MV1LP526792   Nissan       ROGUE               PHOENIX                          AZ
137094   KNMAT2MV1LP526808   Nissan       ROGUE               PHOENIX                          AZ
137095   KNMAT2MV1LP526937   Nissan       ROGUE               PHOENIX                          AZ
137096   KNMAT2MV1LP527182   Nissan       ROGUE               PHOENIX                          AZ
137097   KNMAT2MV1LP528008   Nissan       ROGUE               TUCSON                           AZ
137098   KNMAT2MV1LP528087   Nissan       ROGUE               MURRAY                           KY
137099   KNMAT2MV1LP528610   Nissan       ROGUE               PHOENIX                          AZ
137100   KNMAT2MV1LP529014   Nissan       ROGUE               PHOENIX                          AZ
137101   KNMAT2MV1LP529496   Nissan       ROGUE               PHOENIX                          AZ
137102   KNMAT2MV1LP532611   Nissan       ROGUE               LAS VEGAS                        NV
137103   KNMAT2MV1LP532642   Nissan       ROGUE               ORANGE COUNTY                    CA
137104   KNMAT2MV1LP535797   Nissan       ROGUE               Fresno                           CA
137105   KNMAT2MV1LP537453   Nissan       ROGUE               SAN DIEGO                        CA
137106   KNMAT2MV1LP537825   Nissan       ROGUE               SAN DIEGO                        CA
137107   KNMAT2MV1LP538070   Nissan       ROGUE               BURBANK                          CA
137108   KNMAT2MV2GP639821   Nissan       ROGUE               Hanover                          MD
137109   KNMAT2MV2GP733956   Nissan       ROGUE               DALLAS                           TX
137110   KNMAT2MV2JP520738   Nissan       ROGUE               Nashville                        TN
137111   KNMAT2MV2JP522361   Nissan       ROGUE               Fredericksburg                   VA
137112   KNMAT2MV2JP533067   Nissan       ROGUE               NEW YORK CITY                    NY
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137113   KNMAT2MV2JP534624   Nissan       ROGUE               Webster                   NY
137114   KNMAT2MV2JP541668   Nissan       ROGUE               PHOENIX                   AZ
137115   KNMAT2MV2JP550256   Nissan       ROGUE               DAYTONA BEACH             FL
137116   KNMAT2MV2JP556798   Nissan       ROGUE               NEW ENGLAND DEALER        MA
137117   KNMAT2MV2JP569227   Nissan       ROGUE               WEST PALM BEACH           FL
137118   KNMAT2MV2JP570412   Nissan       ROGUE               TAMPA                     FL
137119   KNMAT2MV2JP578607   Nissan       ROGUE               SARASOTA                  FL
137120   KNMAT2MV2JP583757   Nissan       ROGUE               PORTLAND                  ME
137121   KNMAT2MV2JP583919   Nissan       ROGUE               BURBANK                   CA
137122   KNMAT2MV2JP584150   Nissan       ROGUE               LOS ANGELES               CA
137123   KNMAT2MV2JP584505   Nissan       ROGUE               BOISE                     US
137124   KNMAT2MV2JP587985   Nissan       ROGUE               DENVER                    CO
137125   KNMAT2MV2JP598128   Nissan       ROGUE               Milwaukee                 WI
137126   KNMAT2MV2KP517095   Nissan       ROGUE               Morrisville               NC
137127   KNMAT2MV2KP517548   Nissan       ROGUE               Massapequa                NY
137128   KNMAT2MV2KP517579   Nissan       ROGUE               Buena Park                CA
137129   KNMAT2MV2KP529053   Nissan       ROGUE               SEATAC                    WA
137130   KNMAT2MV2KP542305   Nissan       ROGUE               PHOENIX                   AZ
137131   KNMAT2MV2KP549416   Nissan       ROGUE               Nashville                 TN
137132   KNMAT2MV2LP505255   Nissan       ROGUE               Chicago                   IL
137133   KNMAT2MV2LP512254   Nissan       ROGUE               Newark                    NJ
137134   KNMAT2MV2LP512268   Nissan       ROGUE               Warminster                PA
137135   KNMAT2MV2LP514666   Nissan       ROGUE               PALM SPRINGS              CA
137136   KNMAT2MV2LP526770   Nissan       ROGUE               PHOENIX                   AZ
137137   KNMAT2MV2LP527109   Nissan       ROGUE               PHOENIX                   AZ
137138   KNMAT2MV2LP527160   Nissan       ROGUE               Stockton                  CA
137139   KNMAT2MV2LP527238   Nissan       ROGUE               PHOENIX                   AZ
137140   KNMAT2MV2LP527286   Nissan       ROGUE               SANTA ANA                 CA
137141   KNMAT2MV2LP527322   Nissan       ROGUE               PHOENIX                   AZ
137142   KNMAT2MV2LP527420   Nissan       ROGUE               LOS ANGELES               CA
137143   KNMAT2MV2LP527448   Nissan       ROGUE               HAYWARD                   CA
137144   KNMAT2MV2LP527725   Nissan       ROGUE               PALM SPRINGS              CA
137145   KNMAT2MV2LP527904   Nissan       ROGUE               PHOENIX                   AZ
137146   KNMAT2MV2LP528082   Nissan       ROGUE               PHOENIX                   AZ
137147   KNMAT2MV2LP528096   Nissan       ROGUE               LOS ANGELES AP            CA
137148   KNMAT2MV2LP528115   Nissan       ROGUE               SAN DIEGO                 CA
137149   KNMAT2MV2LP528292   Nissan       ROGUE               PHOENIX                   AZ
137150   KNMAT2MV2LP531158   Nissan       ROGUE               SAN DIEGO                 CA
137151   KNMAT2MV2LP532617   Nissan       ROGUE               ONTARIO, RIVERSIDE        CA
137152   KNMAT2MV2LP533802   Nissan       ROGUE               LAS VEGAS                 NV
137153   KNMAT2MV2LP534920   Nissan       ROGUE               LOS ANGELES AP            CA
137154   KNMAT2MV2LP535744   Nissan       ROGUE               S. San Francisc           CA
137155   KNMAT2MV2LP538272   Nissan       ROGUE               LAS VEGAS                 NV
137156   KNMAT2MV2LP539406   Nissan       ROGUE               TAMPA                     FL
137157   KNMAT2MV2LP539597   Nissan       ROGUE               Tampa                     FL
137158   KNMAT2MV3GP648835   Nissan       ROGUE               CHICAGO                   IL
137159   KNMAT2MV3GP673234   Nissan       ROGUE               CHICAGO                   IL
137160   KNMAT2MV3JP522594   Nissan       ROGUE               North Dighton             MA
137161   KNMAT2MV3JP524636   Nissan       ROGUE               NEW ENGLAND DEALER        MA
137162   KNMAT2MV3JP534552   Nissan       ROGUE               DALLAS                    TX
137163   KNMAT2MV3JP542988   Nissan       ROGUE               North Dighton             MA
137164   KNMAT2MV3JP556728   Nissan       ROGUE               ATLANTA                   GA
137165   KNMAT2MV3JP570693   Nissan       ROGUE               WEST COLUMBIA             SC
137166   KNMAT2MV3JP571469   Nissan       ROGUE               Medford                   NY
137167   KNMAT2MV3KP516439   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
137168   KNMAT2MV3KP518174   Nissan       ROGUE               Latham                    NY
137169   KNMAT2MV3KP518353   Nissan       ROGUE               Teterboro                 NJ
137170   KNMAT2MV3KP518725   Nissan       ROGUE               Las Vegas                 NV
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137171   KNMAT2MV3KP518742   Nissan       ROGUE               WEST PALM BEACH           FL
137172   KNMAT2MV3KP520328   Nissan       ROGUE               Hayward                   CA
137173   KNMAT2MV3KP542989   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
137174   KNMAT2MV3LP512229   Nissan       ROGUE               Corpus Christi            TX
137175   KNMAT2MV3LP526700   Nissan       ROGUE               PHOENIX                   AZ
137176   KNMAT2MV3LP526910   Nissan       ROGUE               PHOENIX                   AZ
137177   KNMAT2MV3LP526924   Nissan       ROGUE               ORANGE COUNTY             CA
137178   KNMAT2MV3LP526938   Nissan       ROGUE               PHOENIX                   AZ
137179   KNMAT2MV3LP526972   Nissan       ROGUE               PHOENIX                   AZ
137180   KNMAT2MV3LP527202   Nissan       ROGUE               PHOENIX                   AZ
137181   KNMAT2MV3LP527412   Nissan       ROGUE               Scottsdale                AZ
137182   KNMAT2MV3LP527961   Nissan       ROGUE               SANTA ANA                 CA
137183   KNMAT2MV3LP528043   Nissan       ROGUE               Tolleson                  AZ
137184   KNMAT2MV3LP528060   Nissan       ROGUE               PALM SPRINGS              CA
137185   KNMAT2MV3LP528480   Nissan       ROGUE               PHOENIX                   AZ
137186   KNMAT2MV3LP528575   Nissan       ROGUE               PHOENIX                   AZ
137187   KNMAT2MV3LP528608   Nissan       ROGUE               PHOENIX                   AZ
137188   KNMAT2MV3LP528690   Nissan       ROGUE               PHOENIX                   AZ
137189   KNMAT2MV3LP528866   Nissan       ROGUE               PHOENIX                   AZ
137190   KNMAT2MV3LP528883   Nissan       ROGUE               TUCSON                    AZ
137191   KNMAT2MV3LP529208   Nissan       ROGUE               PHOENIX                   AZ
137192   KNMAT2MV3LP533534   Nissan       ROGUE               FORT MYERS                FL
137193   KNMAT2MV3LP535414   Nissan       ROGUE               Sacramento                CA
137194   KNMAT2MV3LP535610   Nissan       ROGUE               RIVERSIDE                 CA
137195   KNMAT2MV3LP537406   Nissan       ROGUE               Roseville                 CA
137196   KNMAT2MV3LP538099   Nissan       ROGUE               Roseville                 CA
137197   KNMAT2MV3LP539401   Nissan       ROGUE               Tampa                     FL
137198   KNMAT2MV3LP539687   Nissan       ROGUE               TAMPA                     FL
137199   KNMAT2MV3LP539690   Nissan       ROGUE               TAMPA                     FL
137200   KNMAT2MV3LP540600   Nissan       ROGUE               Tampa                     FL
137201   KNMAT2MV4HP508200   Nissan       ROGUE               Statesville               NC
137202   KNMAT2MV4HP565822   Nissan       ROGUE
137203   KNMAT2MV4HP593233   Nissan       ROGUE               TAMPA                     FL
137204   KNMAT2MV4JP516674   Nissan       ROGUE               SACRAMENTO                CA
137205   KNMAT2MV4JP522409   Nissan       ROGUE               Quincy                    MA
137206   KNMAT2MV4JP526234   Nissan       ROGUE               BOSTON                    MA
137207   KNMAT2MV4JP527352   Nissan       ROGUE               Ft. Myers                 FL
137208   KNMAT2MV4JP530994   Nissan       ROGUE               TAMPA                     FL
137209   KNMAT2MV4JP532440   Nissan       ROGUE               Lynn                      MA
137210   KNMAT2MV4JP532616   Nissan       ROGUE               NEWARK                    NJ
137211   KNMAT2MV4JP533409   Nissan       ROGUE               NEW YORK CITY             NY
137212   KNMAT2MV4JP535709   Nissan       ROGUE               CHANDLER                  AZ
137213   KNMAT2MV4JP539811   Nissan       ROGUE
137214   KNMAT2MV4JP554079   Nissan       ROGUE               NEW ENGLAND DEALER        MA
137215   KNMAT2MV4JP554583   Nissan       ROGUE               CHARLOTTE                 NC
137216   KNMAT2MV4JP570055   Nissan       ROGUE               Johnston                  RI
137217   KNMAT2MV4JP570542   Nissan       ROGUE               N. Palm Beach             FL
137218   KNMAT2MV4JP571478   Nissan       ROGUE               Atlanta                   GA
137219   KNMAT2MV4JP571609   Nissan       ROGUE               Manheim                   PA
137220   KNMAT2MV4JP581329   Nissan       ROGUE               Tampa                     FL
137221   KNMAT2MV4JP583663   Nissan       ROGUE               Miami                     FL
137222   KNMAT2MV4KP514974   Nissan       ROGUE               Jamaica                   NY
137223   KNMAT2MV4KP516272   Nissan       ROGUE               Hamilton                  OH
137224   KNMAT2MV4KP516336   Nissan       ROGUE               Newark                    NJ
137225   KNMAT2MV4KP518555   Nissan       ROGUE               Portland                  ME
137226   KNMAT2MV4KP519088   Nissan       ROGUE               LOS ANGELES               CA
137227   KNMAT2MV4KP525280   Nissan       ROGUE               Teterboro                 NJ
137228   KNMAT2MV4KP528227   Nissan       ROGUE               Englewood                 CO
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137229   KNMAT2MV4KP528258   Nissan       ROGUE               Denver                    CO
137230   KNMAT2MV4KP528325   Nissan       ROGUE               LAS VEGAS                 NV
137231   KNMAT2MV4KP541723   Nissan       ROGUE               LAS VEGAS                 NV
137232   KNMAT2MV4KP541849   Nissan       ROGUE               Cedar Rapids              IA
137233   KNMAT2MV4KP542032   Nissan       ROGUE               Des Plaines               IL
137234   KNMAT2MV4KP542550   Nissan       ROGUE               ST Paul                   MN
137235   KNMAT2MV4LP512112   Nissan       ROGUE               SYRACUSE                  NY
137236   KNMAT2MV4LP512191   Nissan       ROGUE               Dallas                    TX
137237   KNMAT2MV4LP512241   Nissan       ROGUE               Johnston                  RI
137238   KNMAT2MV4LP526673   Nissan       ROGUE               PALM S                    CA
137239   KNMAT2MV4LP526690   Nissan       ROGUE               PHOENIX                   AZ
137240   KNMAT2MV4LP526706   Nissan       ROGUE               TUCSON                    AZ
137241   KNMAT2MV4LP526754   Nissan       ROGUE               PHOENIX                   AZ
137242   KNMAT2MV4LP526835   Nissan       ROGUE               KANSAS CITY               MO
137243   KNMAT2MV4LP526866   Nissan       ROGUE               PHOENIX                   AZ
137244   KNMAT2MV4LP526995   Nissan       ROGUE               PALM SPRINGS              CA
137245   KNMAT2MV4LP527063   Nissan       ROGUE               ORANGE COUNTY             CA
137246   KNMAT2MV4LP527211   Nissan       ROGUE               ONTARIO                   CA
137247   KNMAT2MV4LP527242   Nissan       ROGUE               PHOENIX                   AZ
137248   KNMAT2MV4LP527449   Nissan       ROGUE               PHOENIX                   AZ
137249   KNMAT2MV4LP527516   Nissan       ROGUE               ORANGE COUNTY             CA
137250   KNMAT2MV4LP527533   Nissan       ROGUE               CHICAGO                   IL
137251   KNMAT2MV4LP527564   Nissan       ROGUE               San Diego                 CA
137252   KNMAT2MV4LP527578   Nissan       ROGUE               SAN DIEGO                 CA
137253   KNMAT2MV4LP527600   Nissan       ROGUE               PHOENIX                   AZ
137254   KNMAT2MV4LP527774   Nissan       ROGUE               SAN DIEGO                 CA
137255   KNMAT2MV4LP527998   Nissan       ROGUE               Smithtown                 NY
137256   KNMAT2MV4LP528035   Nissan       ROGUE               CLOVIS                    CA
137257   KNMAT2MV4LP528665   Nissan       ROGUE               PHOENIX                   AZ
137258   KNMAT2MV4LP528956   Nissan       ROGUE               PHOENIX                   AZ
137259   KNMAT2MV4LP529024   Nissan       ROGUE               PHOENIX                   AZ
137260   KNMAT2MV4LP529086   Nissan       ROGUE               TUCSON                    AZ
137261   KNMAT2MV4LP529282   Nissan       ROGUE               LOS ANGELES               CA
137262   KNMAT2MV4LP530769   Nissan       ROGUE               PHOENIX                   AZ
137263   KNMAT2MV4LP533655   Nissan       ROGUE               FORT MYERS                FL
137264   KNMAT2MV4LP535616   Nissan       ROGUE               LAS VEGAS                 NV
137265   KNMAT2MV4LP537172   Nissan       ROGUE               SAN DIEGO                 CA
137266   KNMAT2MV4LP537754   Nissan       ROGUE               Burien                    WA
137267   KNMAT2MV4LP539410   Nissan       ROGUE               Tampa                     FL
137268   KNMAT2MV4LP539584   Nissan       ROGUE               Tampa                     FL
137269   KNMAT2MV4LP539651   Nissan       ROGUE               TAMPA                     FL
137270   KNMAT2MV5GP602679   Nissan       ROGUE               Elgin                     IL
137271   KNMAT2MV5GP624679   Nissan       ROGUE               Fort Worth                TX
137272   KNMAT2MV5HP523904   Nissan       ROGUE               Belton                    MO
137273   KNMAT2MV5HP572326   Nissan       ROGUE               STERLING                  VA
137274   KNMAT2MV5HP579003   Nissan       ROGUE               TRACY                     CA
137275   KNMAT2MV5JP501522   Nissan       ROGUE               Sanford                   FL
137276   KNMAT2MV5JP528610   Nissan       ROGUE               SANTA CLARA               CA
137277   KNMAT2MV5JP532303   Nissan       ROGUE               ORLANDO                   FL
137278   KNMAT2MV5JP535007   Nissan       ROGUE               LAS VEGAS                 NV
137279   KNMAT2MV5JP554673   Nissan       ROGUE               SAN ANTONIO               TX
137280   KNMAT2MV5JP560554   Nissan       ROGUE               DETROIT                   MI
137281   KNMAT2MV5JP561638   Nissan       ROGUE               WEST PALM BEACH           FL
137282   KNMAT2MV5JP562823   Nissan       ROGUE               FORT MYERS                FL
137283   KNMAT2MV5JP563065   Nissan       ROGUE               NEWPORT BEACH             CA
137284   KNMAT2MV5JP570436   Nissan       ROGUE               DAYTONA BEACH             FL
137285   KNMAT2MV5JP571263   Nissan       ROGUE               Memphis                   TN
137286   KNMAT2MV5JP585745   Nissan       ROGUE               PHOENIX                   AZ
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137287   KNMAT2MV5JP592159   Nissan       ROGUE               SAN DIEGO                 CA
137288   KNMAT2MV5KP514966   Nissan       ROGUE               SAN DIEGO                 CA
137289   KNMAT2MV5KP517320   Nissan       ROGUE               Atlanta                   GA
137290   KNMAT2MV5KP517687   Nissan       ROGUE               Irving                    TX
137291   KNMAT2MV5KP518256   Nissan       ROGUE               SARASOTA                  FL
137292   KNMAT2MV5KP518659   Nissan       ROGUE               North Dighton             MA
137293   KNMAT2MV5KP528284   Nissan       ROGUE               NORTH HOLLYWOOD           CA
137294   KNMAT2MV5KP528298   Nissan       ROGUE               Newport Beach             CA
137295   KNMAT2MV5KP542217   Nissan       ROGUE               Caledonia                 WI
137296   KNMAT2MV5KP549345   Nissan       ROGUE               Salt Lake City            UT
137297   KNMAT2MV5LP508635   Nissan       ROGUE               Cincinnati                OH
137298   KNMAT2MV5LP512328   Nissan       ROGUE               Alexandria                VA
137299   KNMAT2MV5LP514919   Nissan       ROGUE               LOS ANGELES               CA
137300   KNMAT2MV5LP526696   Nissan       ROGUE               LOS ANGELES               CA
137301   KNMAT2MV5LP526732   Nissan       ROGUE               LAS VEGAS                 NV
137302   KNMAT2MV5LP526777   Nissan       ROGUE               PHOENIX                   AZ
137303   KNMAT2MV5LP526794   Nissan       ROGUE               PALM SPRINGS              CA
137304   KNMAT2MV5LP526844   Nissan       ROGUE               SANTA CLARA               CA
137305   KNMAT2MV5LP526911   Nissan       ROGUE               TUCSON                    AZ
137306   KNMAT2MV5LP526925   Nissan       ROGUE               PHOENIX                   AZ
137307   KNMAT2MV5LP527010   Nissan       ROGUE               Portland                  OR
137308   KNMAT2MV5LP527086   Nissan       ROGUE               SAN DIEGO                 CA
137309   KNMAT2MV5LP527184   Nissan       ROGUE               PHOENIX                   AZ
137310   KNMAT2MV5LP527234   Nissan       ROGUE               CLOVIS                    CA
137311   KNMAT2MV5LP527282   Nissan       ROGUE               SAN DIEGO                 US
137312   KNMAT2MV5LP527475   Nissan       ROGUE               PHOENIX                   AZ
137313   KNMAT2MV5LP527492   Nissan       ROGUE               PHOENIX                   AZ
137314   KNMAT2MV5LP527511   Nissan       ROGUE               Hamilton                  OH
137315   KNMAT2MV5LP527525   Nissan       ROGUE               PHOENIX                   AZ
137316   KNMAT2MV5LP528156   Nissan       ROGUE               SAN DIEGO                 CA
137317   KNMAT2MV5LP528173   Nissan       ROGUE               LAS VEGAS                 NV
137318   KNMAT2MV5LP528478   Nissan       ROGUE               PHOENIX                   AZ
137319   KNMAT2MV5LP528674   Nissan       ROGUE               PHOENIX                   AZ
137320   KNMAT2MV5LP528741   Nissan       ROGUE               PHOENIX                   AZ
137321   KNMAT2MV5LP529064   Nissan       ROGUE               TUCSON                    AZ
137322   KNMAT2MV5LP532370   Nissan       ROGUE               FORT MYERS                FL
137323   KNMAT2MV5LP533535   Nissan       ROGUE               FORT MYERS                FL
137324   KNMAT2MV5LP534538   Nissan       ROGUE               SAN DIEGO                 CA
137325   KNMAT2MV5LP534913   Nissan       ROGUE               LAS VEGAS                 NV
137326   KNMAT2MV5LP535320   Nissan       ROGUE               KANSAS CITY               MO
137327   KNMAT2MV5LP535494   Nissan       ROGUE               LOS ANGELES               CA
137328   KNMAT2MV5LP536175   Nissan       ROGUE               Sacramento                CA
137329   KNMAT2MV5LP536256   Nissan       ROGUE               S. San Francisc           CA
137330   KNMAT2MV5LP537200   Nissan       ROGUE               SAN DIEGO                 CA
137331   KNMAT2MV5LP537990   Nissan       ROGUE               LAS VEGAS                 NV
137332   KNMAT2MV5LP539397   Nissan       ROGUE               Tampa                     FL
137333   KNMAT2MV5LP539688   Nissan       ROGUE               TAMPA                     FL
137334   KNMAT2MV5LP539691   Nissan       ROGUE               TAMPA                     FL
137335   KNMAT2MV6FP579749   Nissan       ROGUE               PHOENIX                   AZ
137336   KNMAT2MV6GP713628   Nissan       ROGUE               CHICAGO                   IL
137337   KNMAT2MV6GP720630   Nissan       ROGUE               CHICAGO                   IL
137338   KNMAT2MV6JP500167   Nissan       ROGUE               Hayward                   CA
137339   KNMAT2MV6JP519222   Nissan       ROGUE               BOSTON                    MA
137340   KNMAT2MV6JP521598   Nissan       ROGUE               Windsor Locks             CT
137341   KNMAT2MV6JP526963   Nissan       ROGUE               FORT MYERS                FL
137342   KNMAT2MV6JP535243   Nissan       ROGUE               North Dighton             MA
137343   KNMAT2MV6JP535436   Nissan       ROGUE               Kansas City               MO
137344   KNMAT2MV6JP536344   Nissan       ROGUE               North Dighton             MA
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137345   KNMAT2MV6JP561938   Nissan       ROGUE               Maple Grove               MN
137346   KNMAT2MV6JP570753   Nissan       ROGUE               WEST PALM BEACH           FL
137347   KNMAT2MV6JP583888   Nissan       ROGUE               Coraopolis                PA
137348   KNMAT2MV6JP584328   Nissan       ROGUE               LOS ANGELES               CA
137349   KNMAT2MV6JP584460   Nissan       ROGUE               Palm Springs              CA
137350   KNMAT2MV6JP587200   Nissan       ROGUE               Boise                     ID
137351   KNMAT2MV6JP587844   Nissan       ROGUE               DENVER                    CO
137352   KNMAT2MV6JP588279   Nissan       ROGUE               BURBANK                   CA
137353   KNMAT2MV6JP591652   Nissan       ROGUE               DENVER                    CO
137354   KNMAT2MV6JP592669   Nissan       ROGUE               NORTH PAC                 CA
137355   KNMAT2MV6KP518606   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
137356   KNMAT2MV6KP529833   Nissan       ROGUE               Portland                  OR
137357   KNMAT2MV6KP542324   Nissan       ROGUE               Louisville                KY
137358   KNMAT2MV6LP512225   Nissan       ROGUE               Dallas                    TX
137359   KNMAT2MV6LP514847   Nissan       ROGUE               CATHEDRAL CITY            CA
137360   KNMAT2MV6LP526934   Nissan       ROGUE               PHOENIX                   AZ
137361   KNMAT2MV6LP527131   Nissan       ROGUE               Riverside                 CA
137362   KNMAT2MV6LP527209   Nissan       ROGUE               PHOENIX                   AZ
137363   KNMAT2MV6LP527503   Nissan       ROGUE               PHOENIX                   AZ
137364   KNMAT2MV6LP527520   Nissan       ROGUE               PALM SPRINGS              CA
137365   KNMAT2MV6LP527906   Nissan       ROGUE               PHOENIX                   AZ
137366   KNMAT2MV6LP527985   Nissan       ROGUE               LOS ANGELES               CA
137367   KNMAT2MV6LP528084   Nissan       ROGUE               SAN FRANCISCO             CA
137368   KNMAT2MV6LP528117   Nissan       ROGUE               PALM SPRINGS              CA
137369   KNMAT2MV6LP528148   Nissan       ROGUE               PALM SPRINGS              CA
137370   KNMAT2MV6LP528294   Nissan       ROGUE               PHOENIX                   AZ
137371   KNMAT2MV6LP528327   Nissan       ROGUE               TUCSON                    AZ
137372   KNMAT2MV6LP528537   Nissan       ROGUE               ORANGE COUNTY             CA
137373   KNMAT2MV6LP528957   Nissan       ROGUE               PHOENIX                   AZ
137374   KNMAT2MV6LP530482   Nissan       ROGUE               PHOENIX                   AZ
137375   KNMAT2MV6LP533530   Nissan       ROGUE               FORT MYERS                FL
137376   KNMAT2MV6LP534872   Nissan       ROGUE               Burien                    WA
137377   KNMAT2MV6LP534970   Nissan       ROGUE               LOS ANGELES               CA
137378   KNMAT2MV6LP535309   Nissan       ROGUE               LOS ANGELES AP            CA
137379   KNMAT2MV6LP535407   Nissan       ROGUE               Las Vegas                 NV
137380   KNMAT2MV6LP535553   Nissan       ROGUE               BURBANK                   CA
137381   KNMAT2MV6LP535701   Nissan       ROGUE               BURBANK                   CA
137382   KNMAT2MV6LP536153   Nissan       ROGUE               ONTARIO, RIVERSIDE        CA
137383   KNMAT2MV6LP536959   Nissan       ROGUE               SANTA ANA                 CA
137384   KNMAT2MV6LP537531   Nissan       ROGUE               SAN DIEGO                 CA
137385   KNMAT2MV6LP537898   Nissan       ROGUE               Kahului                   HI
137386   KNMAT2MV6LP538002   Nissan       ROGUE               ONTARIO                   CA
137387   KNMAT2MV6LP539442   Nissan       ROGUE               Tampa                     FL
137388   KNMAT2MV6LP539599   Nissan       ROGUE               TAMPA                     FL
137389   KNMAT2MV7GP650104   Nissan       ROGUE               CHICAGO                   IL
137390   KNMAT2MV7GP663581   Nissan       ROGUE               COLLEGE PARK              GA
137391   KNMAT2MV7JP500310   Nissan       ROGUE               Englewood                 CO
137392   KNMAT2MV7JP519164   Nissan       ROGUE               Portland                  ME
137393   KNMAT2MV7JP519486   Nissan       ROGUE               BOSTON                    MA
137394   KNMAT2MV7JP522257   Nissan       ROGUE               Riverside                 CA
137395   KNMAT2MV7JP522260   Nissan       ROGUE               N. Las Vegas              NV
137396   KNMAT2MV7JP524655   Nissan       ROGUE               Atlanta                   GA
137397   KNMAT2MV7JP548664   Nissan       ROGUE               STERLING                  VA
137398   KNMAT2MV7JP554433   Nissan       ROGUE               BALDWIN                   NY
137399   KNMAT2MV7JP570423   Nissan       ROGUE               BOSTON                    MA
137400   KNMAT2MV7JP570695   Nissan       ROGUE               CHARLOTTE                 NC
137401   KNMAT2MV7JP571040   Nissan       ROGUE               HARVEY                    LA
137402   KNMAT2MV7JP583267   Nissan       ROGUE               SANTA ANA                 CA
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137403   KNMAT2MV7JP583964   Nissan       ROGUE               ROSEVILLE                 CA
137404   KNMAT2MV7JP584936   Nissan       ROGUE               LOS ANGELES               CA
137405   KNMAT2MV7KP516167   Nissan       ROGUE               COLUMBUS                  OH
137406   KNMAT2MV7KP516492   Nissan       ROGUE               ORLANDO                   FL
137407   KNMAT2MV7KP517917   Nissan       ROGUE               Morrisville               NC
137408   KNMAT2MV7KP528352   Nissan       ROGUE               SANTA ANA                 CA
137409   KNMAT2MV7KP528402   Nissan       ROGUE               MIDDLE RIVER              MD
137410   KNMAT2MV7KP528416   Nissan       ROGUE               SAN DIEGO                 US
137411   KNMAT2MV7KP528514   Nissan       ROGUE               San Diego                 CA
137412   KNMAT2MV7KP541294   Nissan       ROGUE               Seattle                   WA
137413   KNMAT2MV7KP542753   Nissan       ROGUE               Maple Grove               MN
137414   KNMAT2MV7KP544812   Nissan       ROGUE               Milwaukee                 WI
137415   KNMAT2MV7KP554711   Nissan       ROGUE               Johnston                  RI
137416   KNMAT2MV7KP555678   Nissan       ROGUE               Cedar Rapids              IA
137417   KNMAT2MV7LP505106   Nissan       ROGUE               Florissant                MO
137418   KNMAT2MV7LP526702   Nissan       ROGUE               TUCSON                    AZ
137419   KNMAT2MV7LP526781   Nissan       ROGUE               LOS ANGELES AP            CA
137420   KNMAT2MV7LP526828   Nissan       ROGUE               PHOENIX                   AZ
137421   KNMAT2MV7LP526876   Nissan       ROGUE               Sacramento                CA
137422   KNMAT2MV7LP527140   Nissan       ROGUE               PHOENIX                   AZ
137423   KNMAT2MV7LP527185   Nissan       ROGUE               San Antonio               TX
137424   KNMAT2MV7LP527400   Nissan       ROGUE               TUCSON                    AZ
137425   KNMAT2MV7LP527428   Nissan       ROGUE               PHOENIX                   AZ
137426   KNMAT2MV7LP527560   Nissan       ROGUE               LAS VEGAS                 NV
137427   KNMAT2MV7LP527607   Nissan       ROGUE               PHOENIX                   AZ
137428   KNMAT2MV7LP527798   Nissan       ROGUE               PHOENIX                   AZ
137429   KNMAT2MV7LP527820   Nissan       ROGUE               SAN DIEGO                 CA
137430   KNMAT2MV7LP527865   Nissan       ROGUE               LOS ANGELES               CA
137431   KNMAT2MV7LP528613   Nissan       ROGUE               PHOENIX                   AZ
137432   KNMAT2MV7LP528661   Nissan       ROGUE               PHOENIX                   AZ
137433   KNMAT2MV7LP528756   Nissan       ROGUE               TUCSON                    AZ
137434   KNMAT2MV7LP529275   Nissan       ROGUE               LOS ANGELES AP            CA
137435   KNMAT2MV7LP536162   Nissan       ROGUE               SANTA ANA                 CA
137436   KNMAT2MV7LP537215   Nissan       ROGUE               ORANGE COUNTY             CA
137437   KNMAT2MV7LP537893   Nissan       ROGUE               BUFFALO                   NY
137438   KNMAT2MV7LP537926   Nissan       ROGUE               LOS ANGELES               CA
137439   KNMAT2MV8FP519259   Nissan       ROGUE               DANIA BEACH               FL
137440   KNMAT2MV8HP535268   Nissan       ROGUE               LOMBARD                   IL
137441   KNMAT2MV8JP519450   Nissan       ROGUE               Webster                   NY
137442   KNMAT2MV8JP527712   Nissan       ROGUE               Tampa                     FL
137443   KNMAT2MV8JP537642   Nissan       ROGUE               Mira Loma                 CA
137444   KNMAT2MV8JP557194   Nissan       ROGUE               PHILADELPHIA              PA
137445   KNMAT2MV8JP557843   Nissan       ROGUE               Johnston                  RI
137446   KNMAT2MV8JP562850   Nissan       ROGUE               FORT MYERS                FL
137447   KNMAT2MV8JP563836   Nissan       ROGUE               ALBANY                    NY
137448   KNMAT2MV8JP570933   Nissan       ROGUE               WHITE PLAINS              NY
137449   KNMAT2MV8JP571046   Nissan       ROGUE               Omaha                     NE
137450   KNMAT2MV8JP583374   Nissan       ROGUE               SANTA ANA                 CA
137451   KNMAT2MV8JP583598   Nissan       ROGUE               SANTA ANA                 CA
137452   KNMAT2MV8JP583861   Nissan       ROGUE               ONTARIO                   CA
137453   KNMAT2MV8JP587490   Nissan       ROGUE               ROSEVILLE                 CA
137454   KNMAT2MV8KP517232   Nissan       ROGUE               SOUTHEAST DST OFFC        OK
137455   KNMAT2MV8KP517988   Nissan       ROGUE               Jamaica                   NY
137456   KNMAT2MV8KP518011   Nissan       ROGUE               FORT MYERS                FL
137457   KNMAT2MV8KP518915   Nissan       ROGUE               Rochester                 NY
137458   KNMAT2MV8KP520115   Nissan       ROGUE               Newark                    NJ
137459   KNMAT2MV8KP528716   Nissan       ROGUE               BURBANK                   CA
137460   KNMAT2MV8KP529154   Nissan       ROGUE               LAS VEGAS                 NV
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137461   KNMAT2MV8KP529199   Nissan       ROGUE               Sacramento                CA
137462   KNMAT2MV8KP529431   Nissan       ROGUE               SALT LAKE CITY            UT
137463   KNMAT2MV8KP543247   Nissan       ROGUE               Milwaukee                 WI
137464   KNMAT2MV8KP555950   Nissan       ROGUE               ST Paul                   MN
137465   KNMAT2MV8LP512114   Nissan       ROGUE               Coraopolis                PA
137466   KNMAT2MV8LP512128   Nissan       ROGUE               Dallas                    TX
137467   KNMAT2MV8LP512131   Nissan       ROGUE               BOSTON                    MA
137468   KNMAT2MV8LP512209   Nissan       ROGUE               NASHVILLE                 TN
137469   KNMAT2MV8LP514459   Nissan       ROGUE               LOS ANGELES               CA
137470   KNMAT2MV8LP514638   Nissan       ROGUE               Windsor Locks             CT
137471   KNMAT2MV8LP526644   Nissan       ROGUE               PHOENIX                   AZ
137472   KNMAT2MV8LP526899   Nissan       ROGUE               TUCSON                    AZ
137473   KNMAT2MV8LP526997   Nissan       ROGUE               INGLEWOOD                 CA
137474   KNMAT2MV8LP527289   Nissan       ROGUE               seatac                    wa
137475   KNMAT2MV8LP527339   Nissan       ROGUE               PHOENIX                   AZ
137476   KNMAT2MV8LP527387   Nissan       ROGUE               Riverside                 CA
137477   KNMAT2MV8LP527390   Nissan       ROGUE               PALM SPRINGS              CA
137478   KNMAT2MV8LP527423   Nissan       ROGUE               Costa Mesa                CA
137479   KNMAT2MV8LP527471   Nissan       ROGUE               PHOENIX                   AZ
137480   KNMAT2MV8LP527552   Nissan       ROGUE               LOS ANGELES               CA
137481   KNMAT2MV8LP527633   Nissan       ROGUE               LAS VEGAS                 NV
137482   KNMAT2MV8LP527728   Nissan       ROGUE               SAN DIEGO                 CA
137483   KNMAT2MV8LP527826   Nissan       ROGUE               Ventura                   CA
137484   KNMAT2MV8LP527924   Nissan       ROGUE               PHOENIX                   AZ
137485   KNMAT2MV8LP528071   Nissan       ROGUE               LOS ANGELES               CA
137486   KNMAT2MV8LP528104   Nissan       ROGUE               TUCSON                    AZ
137487   KNMAT2MV8LP528216   Nissan       ROGUE               TUCSON                    AZ
137488   KNMAT2MV8LP528443   Nissan       ROGUE               PHOENIX                   AZ
137489   KNMAT2MV8LP528488   Nissan       ROGUE               PHOENIX                   AZ
137490   KNMAT2MV8LP528541   Nissan       ROGUE               PHOENIX                   AZ
137491   KNMAT2MV8LP528927   Nissan       ROGUE               PHOENIX                   AZ
137492   KNMAT2MV8LP529088   Nissan       ROGUE               PHOENIX                   AZ
137493   KNMAT2MV8LP534047   Nissan       ROGUE               Stockton                  CA
137494   KNMAT2MV8LP534405   Nissan       ROGUE               SANTA ANA                 CA
137495   KNMAT2MV8LP534937   Nissan       ROGUE               Salt Lake City            UT
137496   KNMAT2MV8LP535425   Nissan       ROGUE               Sacramento                CA
137497   KNMAT2MV8LP537949   Nissan       ROGUE               S. San Francisc           CA
137498   KNMAT2MV8LP539412   Nissan       ROGUE               TAMPA                     FL
137499   KNMAT2MV8LP539460   Nissan       ROGUE               TAMPA                     FL
137500   KNMAT2MV9GP604435   Nissan       ROGUE               FLORIDA DEALER DIR        FL
137501   KNMAT2MV9GP633157   Nissan       ROGUE               Atlanta                   GA
137502   KNMAT2MV9GP721030   Nissan       ROGUE               CHICAGO                   IL
137503   KNMAT2MV9HP573740   Nissan       ROGUE               LAS VEGAS                 NV
137504   KNMAT2MV9JP519795   Nissan       ROGUE               WEST PALM BEACH           FL
137505   KNMAT2MV9JP521613   Nissan       ROGUE               PHOENIX                   AZ
137506   KNMAT2MV9JP522437   Nissan       ROGUE               SEATAC                    WA
137507   KNMAT2MV9JP526455   Nissan       ROGUE               North Dighton             MA
137508   KNMAT2MV9JP534412   Nissan       ROGUE               Fort Lauderdale           FL
137509   KNMAT2MV9JP549279   Nissan       ROGUE               RICHMOND                  VA
137510   KNMAT2MV9JP553896   Nissan       ROGUE               PHOENIX                   AZ
137511   KNMAT2MV9JP555924   Nissan       ROGUE               Elkridge                  MD
137512   KNMAT2MV9JP557026   Nissan       ROGUE               STERLING                  VA
137513   KNMAT2MV9JP561545   Nissan       ROGUE               Savannah                  GA
137514   KNMAT2MV9JP562677   Nissan       ROGUE               Leesburg                  VA
137515   KNMAT2MV9JP569113   Nissan       ROGUE               LOS ANGELES               CA
137516   KNMAT2MV9JP577888   Nissan       ROGUE               Hapeville                 GA
137517   KNMAT2MV9JP580449   Nissan       ROGUE               SACRAMENTO                CA
137518   KNMAT2MV9JP585067   Nissan       ROGUE               LOS ANGELES               CA
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137519   KNMAT2MV9JP588874   Nissan       ROGUE               Fresno                    CA
137520   KNMAT2MV9KP518633   Nissan       ROGUE               Schaumburg                IL
137521   KNMAT2MV9KP528224   Nissan       ROGUE               SARASOTA                  FL
137522   KNMAT2MV9KP528398   Nissan       ROGUE               Las Vegas                 NV
137523   KNMAT2MV9KP541247   Nissan       ROGUE               Chicago                   IL
137524   KNMAT2MV9KP551941   Nissan       ROGUE               PHILADELPHIA              PA
137525   KNMAT2MV9LP512252   Nissan       ROGUE               Newark                    NJ
137526   KNMAT2MV9LP526734   Nissan       ROGUE               Phoenix                   AZ
137527   KNMAT2MV9LP526796   Nissan       ROGUE               PHOENIX                   AZ
137528   KNMAT2MV9LP526801   Nissan       ROGUE               PHOENIX                   AZ
137529   KNMAT2MV9LP526989   Nissan       ROGUE               PHOENIX                   AZ
137530   KNMAT2MV9LP527009   Nissan       ROGUE               PHOENIX                   AZ
137531   KNMAT2MV9LP527219   Nissan       ROGUE               LOS ANGELES               CA
137532   KNMAT2MV9LP527270   Nissan       ROGUE               Fresno                    CA
137533   KNMAT2MV9LP527611   Nissan       ROGUE               PHOENIX                   AZ
137534   KNMAT2MV9LP527639   Nissan       ROGUE               PHOENIX                   AZ
137535   KNMAT2MV9LP527768   Nissan       ROGUE               SAN DIEGO                 CA
137536   KNMAT2MV9LP527818   Nissan       ROGUE               EULESS                    TX
137537   KNMAT2MV9LP527916   Nissan       ROGUE               PHOENIX                   AZ
137538   KNMAT2MV9LP527950   Nissan       ROGUE               Englewood                 CO
137539   KNMAT2MV9LP527964   Nissan       ROGUE               PHOENIX                   AZ
137540   KNMAT2MV9LP528032   Nissan       ROGUE               Roseville                 CA
137541   KNMAT2MV9LP528063   Nissan       ROGUE               PHOENIX                   AZ
137542   KNMAT2MV9LP528614   Nissan       ROGUE               PHOENIX                   AZ
137543   KNMAT2MV9LP528659   Nissan       ROGUE               TUCSON                    AZ
137544   KNMAT2MV9LP528662   Nissan       ROGUE               COSTA MESA                CA
137545   KNMAT2MV9LP528693   Nissan       ROGUE               PHOENIX                   AZ
137546   KNMAT2MV9LP528869   Nissan       ROGUE               PHOENIX                   AZ
137547   KNMAT2MV9LP530671   Nissan       ROGUE               SAN DIEGO                 CA
137548   KNMAT2MV9LP533912   Nissan       ROGUE               FORT MYERS                FL
137549   KNMAT2MV9LP534459   Nissan       ROGUE               SAN DIEGO                 CA
137550   KNMAT2MV9LP534963   Nissan       ROGUE               LOS ANGELES               CA
137551   KNMAT2MV9LP535658   Nissan       ROGUE               CLOVIS                    CA
137552   KNMAT2MV9LP539693   Nissan       ROGUE               TAMPA                     FL
137553   KNMAT2MV9LP540598   Nissan       ROGUE               Tampa                     FL
137554   KNMAT2MVXGP654809   Nissan       ROGUE               FLORIDA DEALER DIR        FL
137555   KNMAT2MVXGP657824   Nissan       ROGUE               PHILADELPHIA              US
137556   KNMAT2MVXGP687440   Nissan       ROGUE               HANOVER                   MD
137557   KNMAT2MVXJP503833   Nissan       ROGUE               Irving                    TX
137558   KNMAT2MVXJP518378   Nissan       ROGUE               North Dighton             MA
137559   KNMAT2MVXJP519479   Nissan       ROGUE               PITTSBURGH                PA
137560   KNMAT2MVXJP521331   Nissan       ROGUE               SAN JOSE                  CA
137561   KNMAT2MVXJP545368   Nissan       ROGUE               TAMPA                     FL
137562   KNMAT2MVXJP548836   Nissan       ROGUE               North Dighton             MA
137563   KNMAT2MVXJP557150   Nissan       ROGUE               DAYTONA BEACH             FL
137564   KNMAT2MVXJP565197   Nissan       ROGUE               FORT LAUDERDALE           FL
137565   KNMAT2MVXJP570044   Nissan       ROGUE               ORLANDO                   FL
137566   KNMAT2MVXJP571050   Nissan       ROGUE               Austin                    TX
137567   KNMAT2MVXJP571601   Nissan       ROGUE               TAMPA                     FL
137568   KNMAT2MVXJP584963   Nissan       ROGUE               FORT LAUDERDALE           FL
137569   KNMAT2MVXKP517202   Nissan       ROGUE               FORT LAUDERDALE           FL
137570   KNMAT2MVXKP517605   Nissan       ROGUE               Pittsburgh                PA
137571   KNMAT2MVXKP518821   Nissan       ROGUE               Pittsburgh                PA
137572   KNMAT2MVXKP518849   Nissan       ROGUE               Jamaica                   NY
137573   KNMAT2MVXKP542231   Nissan       ROGUE               DAYTON                    OH
137574   KNMAT2MVXKP549535   Nissan       ROGUE               Ventura                   CA
137575   KNMAT2MVXLP507335   Nissan       ROGUE               Webster                   NY
137576   KNMAT2MVXLP508369   Nissan       ROGUE               Windsor Locks             CT
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137577   KNMAT2MVXLP512289   Nissan       ROGUE               Warminster                PA
137578   KNMAT2MVXLP512339   Nissan       ROGUE               BOSTON                    MA
137579   KNMAT2MVXLP526709   Nissan       ROGUE               PHOENIX                   AZ
137580   KNMAT2MVXLP526712   Nissan       ROGUE               PALM SPRINGS              CA
137581   KNMAT2MVXLP526970   Nissan       ROGUE               PHOENIX                   AZ
137582   KNMAT2MVXLP527195   Nissan       ROGUE               PHOENIX                   AZ
137583   KNMAT2MVXLP527231   Nissan       ROGUE               PHOENIX                   AZ
137584   KNMAT2MVXLP527424   Nissan       ROGUE               PALM SPRINGS              CA
137585   KNMAT2MVXLP527570   Nissan       ROGUE               Windsor Locks             CT
137586   KNMAT2MVXLP528363   Nissan       ROGUE               LOS ANGELES               CA
137587   KNMAT2MVXLP528685   Nissan       ROGUE               PHOENIX                   AZ
137588   KNMAT2MVXLP528802   Nissan       ROGUE               PHOENIX                   AZ
137589   KNMAT2MVXLP528962   Nissan       ROGUE               PHOENIX                   AZ
137590   KNMAT2MVXLP530419   Nissan       ROGUE               TUCSON                    AZ
137591   KNMAT2MVXLP533109   Nissan       ROGUE               ORANGE COUNTY             CA
137592   KNMAT2MVXLP533594   Nissan       ROGUE               ORLANDO                   FL
137593   KNMAT2MVXLP535037   Nissan       ROGUE               Kansas City               KS
137594   KNMAT2MVXLP535541   Nissan       ROGUE               LOS ANGELES               CA
137595   KNMAT2MVXLP535829   Nissan       ROGUE               SAN DIEGO                 CA
137596   KNMAT2MVXLP536088   Nissan       ROGUE               SAN DIEGO                 CA
137597   KNMAT2MVXLP537306   Nissan       ROGUE               LOS ANGELES               CA
137598   KNMAT2MVXLP537547   Nissan       ROGUE               Santa Clara               CA
137599   KNMAT2MVXLP537628   Nissan       ROGUE               LOS ANGELES               CA
137600   KNMAT2MVXLP537791   Nissan       ROGUE               S. San Francisc           CA
137601   KNMAT2MVXLP538049   Nissan       ROGUE               INGLEWOOD                 CA
137602   LRBFX1SA7JD084229   GM           ENVISION            Statesville               NC
137603   LRBFX1SA8JD084112   GM           ENVISION            Kansas City               MO
137604   LRBFX2SA4JD116379   GM           ENVISION            DAYTONA BEACH             FL
137605   LRBFX2SA5JD114253   GM           ENVISION            MILWAUKEE                 WI
137606   LRBFX3SX8JD113298   GM           ENVISION            PHILADELPHIA              PA
137607   LRBFX4SX6JD116237   GM           ENVISION            PHOENIX                   AZ
137608   LVY102MKXJP057156   Volvo        S90                 Dallas                    TX
137609   LVY982MK2JP036023   Volvo        S90                 WEST PALM BEACH           FL
137610   LVY982MK3JP016198   Volvo        S90                 Orlando                   FL
137611   LVY982MK5JP035920   Volvo        S90                 Hayward                   CA
137612   LVY982MK6JP038129   Volvo        S90                 HARTFORD                  CT
137613   LVY982MK7JP036034   Volvo        S90                 WARWICK                   RI
137614   LVY982MK8JP016651   Volvo        S90                 DARLINGTON                SC
137615   LVY982MKXJP032883   Volvo        S90                 Stone Mountain            GA
137616   LVY982MKXJP036030   Volvo        S90                 MANCHESTER                US
137617   LVY992ML3JP031001   Volvo        S90                 ATLANTA                   GA
137618   LVY992ML5JP036152   Volvo        S90                 STERLING                  VA
137619   LVY992MLXJP028919   Volvo        S90                 EAST BOSTON               MA
137620   LVYBC0AL2JP038503   Volvo        S90                 Union City                GA
137621   LVYBC0AL6JP038097   Volvo        S90                 JACKSONVILLE              FL
137622   LVYBC0AL9JP034321   Volvo        S90                 ORLANDO                   FL
137623   LVYBR0AL0JP050700   Volvo        S90                 Union City                GA
137624   LVYBR0AL2JP047166   Volvo        S90                 Union City                GA
137625   M1J6S3JL1KC296104   Ford         ECOSPORT            CHICAGO                   IL
137626   M1J6S3JL1KC296426   Ford         ECOSPORT            MILWAUKEE                 WI
137627   M1J6S3JL2KC296063   Ford         ECOSPORT            INDIANAPOLIS              IN
137628   M1J6S3JL2KC296452   Ford         ECOSPORT            CHICAGO                   IL
137629   M1J6S3JL4KC296503   Ford         ECOSPORT            INDIANAPOLIS              IN
137630   M1J6S3JL5KC296428   Ford         ECOSPORT            Hebron                    KY
137631   M1J6S3JL5KC296476   Ford         ECOSPORT            LOS ANGELES               CA
137632   M1J6S3JL6KC296468   Ford         ECOSPORT            WARWICK                   RI
137633   M1J6S3JL9KC288896   Ford         ECOSPORT            CHICAGO                   IL
137634   M1J6S3KL0KC296559   Ford         ECOSPORT            INDIANAPOLIS              IN
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137635   M1J6S3KL0KC299400   Ford         ECOSPORT            ORANGE COUNTY             CA
137636   M1J6S3KL2KC287930   Ford         ECOSPORT            GRAND RAPIDS              MI
137637   M1J6S3KL2KC296157   Ford         ECOSPORT            INDIANAPOLIS              IN
137638   M1J6S3KL2KC296594   Ford         ECOSPORT            WEST COLUMBIA             SC
137639   M1J6S3KL4KC296547   Ford         ECOSPORT            CLEVELAND                 OH
137640   M1J6S3KL4KC301133   Ford         ECOSPORT            NEWARK                    NJ
137641   M1J6S3KL6KC299367   Ford         ECOSPORT            SAN JOSE                  CA
137642   M1J6S3KL8KC297751   Ford         ECOSPORT            SACRAMENTO                CA
137643   MAJ3P1RE9JC196667   Ford         ECOSPORT            SARASOTA                  FL
137644   MAJ3P1REXJC187492   Ford         ECOSPORT            Tolleson                  AZ
137645   MAJ3P1TE1JC188457   Ford         ECOSPORT            Charleston                WV
137646   MAJ3P1TE3JC194874   Ford         ECOSPORT            SAN FRANCISCO             CA
137647   MAJ3P1TE5JC171340   Ford         ECOSPORT            LAS VEGAS                 NV
137648   MAJ3P1TE7JC164812   Ford         ECOSPORT            GRAND RAPIDS              MI
137649   MAJ3P1TE8JC202371   Ford         ECOSPORT            LAS VEGAS                 NV
137650   MAJ3P1TEXJC172466   Ford         ECOSPORT            SANTA ANA                 CA
137651   MAJ3P1VE0JC168553   Ford         ECOSPORT            AUSTIN                    TX
137652   MAJ3P1VE2JC192286   Ford         ECOSPORT            BURBANK                   CA
137653   MAJ3P1VE2JC192367   Ford         ECOSPORT            BURBANK                   CA
137654   MAJ3P1VE6JC191352   Ford         ECOSPORT            BURBANK                   CA
137655   MAJ3P1VE6JC205556   Ford         ECOSPORT            DARLINGTON                SC
137656   MAJ3S2GE0KC264458   Ford         ECOSPORT            LAS VEGAS                 NV
137657   MAJ6P1CL0JC203669   Ford         ECOSPORT            CHICAGO                   IL
137658   MAJ6P1CL1JC212199   Ford         ECOSPORT            RENO                      NV
137659   MAJ6P1CL3JC192148   Ford         ECOSPORT            CLEVELAND                 OH
137660   MAJ6P1CL3JC202936   Ford         ECOSPORT            BOSTON                    MA
137661   MAJ6P1CL5JC192135   Ford         ECOSPORT            BUBANK                    CA
137662   MAJ6P1CL7JC157578   Ford         ECOSPORT            GRAND RAPIDS              MI
137663   MAJ6P1CL8JC203368   Ford         ECOSPORT            SARASOTA                  FL
137664   MAJ6P1CL9JC192204   Ford         ECOSPORT            PENSACOLA                 FL
137665   MAJ6P1CL9JC194745   Ford         ECOSPORT            FORT LAUDERDALE           FL
137666   MAJ6P1CLXJC194110   Ford         ECOSPORT            Caledonia                 WI
137667   MAJ6P1TE7JC157520   Ford         ECOSPORT            Detroit                   MI
137668   MAJ6P1UL3JC193587   Ford         ECOSPORT            FORT MYERS                FL
137669   MAJ6P1UL4JC186387   Ford         ECOSPORT            INDIANAPOLIS              IN
137670   MAJ6P1UL8JC193584   Ford         ECOSPORT            WEST PALM BEACH           FL
137671   MAJ6P1ULXJC161445   Ford         ECOSPORT            LOS ANGELES               CA
137672   MAJ6P1WL0JC216658   Ford         ECOSPORT            WEST COLUMBIA             SC
137673   MAJ6P1WL1JC205068   Ford         ECOSPORT            ATLANTA                   GA
137674   MAJ6P1WL1JC211839   Ford         ECOSPORT            COLLEGE PARK              GA
137675   MAJ6P1WL2JC188717   Ford         ECOSPORT            Hebron                    KY
137676   MAJ6P1WL2JC209291   Ford         ECOSPORT            WHITE PLAINS              NY
137677   MAJ6P1WL2JC216581   Ford         ECOSPORT            WEST PALM BEACH           FL
137678   MAJ6P1WL3JC199936   Ford         ECOSPORT            Indianapolis              IN
137679   MAJ6P1WL3JC205704   Ford         ECOSPORT            MORROW                    GA
137680   MAJ6P1WL4JC195734   Ford         ECOSPORT            ORLANDO                   FL
137681   MAJ6P1WL4JC202388   Ford         ECOSPORT            TAMPA                     FL
137682   MAJ6P1WL5JC210645   Ford         ECOSPORT            BURBANK                   CA
137683   MAJ6P1WL5JC210659   Ford         ECOSPORT            OAKLAND                   CA
137684   MAJ6P1WL6JC191491   Ford         ECOSPORT            Atlanta                   GA
137685   MAJ6P1WL6JC194004   Ford         ECOSPORT            Atlanta                   GA
137686   MAJ6P1WL6JC195072   Ford         ECOSPORT            FORT MYERS                FL
137687   MAJ6P1WL6JC195783   Ford         ECOSPORT            SPRINGFIELD               VA
137688   MAJ6P1WL6JC195802   Ford         ECOSPORT            INDIANAPOLIS              IN
137689   MAJ6P1WL6JC211531   Ford         ECOSPORT            CHARLESTON                SC
137690   MAJ6P1WL6JC216521   Ford         ECOSPORT            LOS ANGELES               CA
137691   MAJ6P1WL7JC190026   Ford         ECOSPORT            PHILADELPHIA              PA
137692   MAJ6P1WL7JC201431   Ford         ECOSPORT            COCOA                     FL
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137693   MAJ6P1WL7JC216589   Ford         ECOSPORT            EL PASO                   TX
137694   MAJ6P1WL8JC189354   Ford         ECOSPORT            NEW BERN                  NC
137695   MAJ6P1WL8JC194909   Ford         ECOSPORT            AUSTIN                    TX
137696   MAJ6P1WL8JC199043   Ford         ECOSPORT            ORLANDO                   FL
137697   MAJ6P1WL8JC216732   Ford         ECOSPORT            KNOXVILLE                 TN
137698   MAJ6P1WL9JC157304   Ford         ECOSPORT            CLEVELAND                 OH
137699   MAJ6P1WL9JC202421   Ford         ECOSPORT            NEWARK                    NJ
137700   MAJ6P1WL9JC210728   Ford         ECOSPORT            KNOXVILLE                 TN
137701   MAJ6P1WLXJC212830   Ford         ECOSPORT            ATLANTA                   GA
137702   MAJ6S3JL0LC327408   Ford         ECOSPORT            Hebron                    KY
137703   MAJ6S3JL0LC327425   Ford         ECOSPORT            ORLANDO                   FL
137704   MAJ6S3JL0LC327697   Ford         ECOSPORT            SAN JOSE                  CA
137705   MAJ6S3JL0LC327716   Ford         ECOSPORT            SAN DIEGO                 CA
137706   MAJ6S3JL0LC327764   Ford         ECOSPORT            JACKSONVILLE              FL
137707   MAJ6S3JL0LC327781   Ford         ECOSPORT            FORT LAUDERDALE           FL
137708   MAJ6S3JL0LC327795   Ford         ECOSPORT            SARASOTA                  FL
137709   MAJ6S3JL0LC327800   Ford         ECOSPORT            TAMPA                     FL
137710   MAJ6S3JL0LC328073   Ford         ECOSPORT            INGLEWOOD                 CA
137711   MAJ6S3JL0LC328087   Ford         ECOSPORT            DAYTON                    OH
137712   MAJ6S3JL0LC343172   Ford         ECOSPORT            FORT LAUDERDALE           FL
137713   MAJ6S3JL0LC343365   Ford         ECOSPORT            SARASOTA                  FL
137714   MAJ6S3JL0LC343429   Ford         ECOSPORT            FORT MYERS                FL
137715   MAJ6S3JL1LC327241   Ford         ECOSPORT            SALT LAKE CITY            UT
137716   MAJ6S3JL1LC327403   Ford         ECOSPORT            COLLEGE PARK              GA
137717   MAJ6S3JL1LC327420   Ford         ECOSPORT            JACKSONVILLE              FL
137718   MAJ6S3JL1LC327708   Ford         ECOSPORT            MIAMI                     FL
137719   MAJ6S3JL1LC327711   Ford         ECOSPORT            WEST PALM BEACH           FL
137720   MAJ6S3JL1LC327773   Ford         ECOSPORT            SAN JOSE                  CA
137721   MAJ6S3JL1LC327787   Ford         ECOSPORT            TAMPA                     FL
137722   MAJ6S3JL1LC334013   Ford         ECOSPORT            GAINESVILLE               FL
137723   MAJ6S3JL1LC343309   Ford         ECOSPORT            WEST PALM BEACH           FL
137724   MAJ6S3JL1LC343357   Ford         ECOSPORT            FORT LAUDERDALE           FL
137725   MAJ6S3JL1LC343360   Ford         ECOSPORT            FORT LAUDERDALE           FL
137726   MAJ6S3JL1LC343469   Ford         ECOSPORT            WEST PALM BEACH           FL
137727   MAJ6S3JL2LC327409   Ford         ECOSPORT            ATLANTA                   GA
137728   MAJ6S3JL2LC327412   Ford         ECOSPORT            UNION CITY                GA
137729   MAJ6S3JL2LC327703   Ford         ECOSPORT            SAN FRANCISCO             CA
137730   MAJ6S3JL2LC327720   Ford         ECOSPORT            Atlanta                   GA
137731   MAJ6S3JL2LC327765   Ford         ECOSPORT            LOS ANGELES               CA
137732   MAJ6S3JL2LC327796   Ford         ECOSPORT            KENNER                    LA
137733   MAJ6S3JL2LC327801   Ford         ECOSPORT            BURBANK                   CA
137734   MAJ6S3JL2LC328074   Ford         ECOSPORT            Ft. Myers                 FL
137735   MAJ6S3JL2LC328124   Ford         ECOSPORT            DES MOINES                IA
137736   MAJ6S3JL2LC328222   Ford         ECOSPORT            INDIANAPOLIS              IN
137737   MAJ6S3JL2LC328429   Ford         ECOSPORT            FORT MYERS                FL
137738   MAJ6S3JL2LC328432   Ford         ECOSPORT            WEST PALM BEACH           FL
137739   MAJ6S3JL2LC343240   Ford         ECOSPORT            TAMPA                     FL
137740   MAJ6S3JL2LC343254   Ford         ECOSPORT            FORT LAUDERDALE           FL
137741   MAJ6S3JL2LC343321   Ford         ECOSPORT            FORT LAUDERDALE           FL
137742   MAJ6S3JL2LC343481   Ford         ECOSPORT            MIAMI                     FL
137743   MAJ6S3JL3LC327399   Ford         ECOSPORT            KNOXVILLE                 TN
137744   MAJ6S3JL3LC327709   Ford         ECOSPORT            WEST PALM BEACH           FL
137745   MAJ6S3JL3LC327791   Ford         ECOSPORT            SARASOTA                  FL
137746   MAJ6S3JL3LC343196   Ford         ECOSPORT            MIAMI                     FL
137747   MAJ6S3JL3LC343294   Ford         ECOSPORT            TAMPA                     FL
137748   MAJ6S3JL3LC343358   Ford         ECOSPORT            FORT LAUDERDALE           FL
137749   MAJ6S3JL3LC343392   Ford         ECOSPORT            JACKSONVILLE              FL
137750   MAJ6S3JL3LC343439   Ford         ECOSPORT            FORT MYERS                FL
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137751   MAJ6S3JL4LC327699   Ford         ECOSPORT            SAN JOSE                  CA
137752   MAJ6S3JL4LC327704   Ford         ECOSPORT            WEST PALM BEACH           FL
137753   MAJ6S3JL4LC327721   Ford         ECOSPORT            BIRMINGHAM                AL
137754   MAJ6S3JL4LC327766   Ford         ECOSPORT            LOS ANGELES               CA
137755   MAJ6S3JL4LC327797   Ford         ECOSPORT            FORT MYERS                FL
137756   MAJ6S3JL4LC328111   Ford         ECOSPORT            WEST PALM BEACH           FL
137757   MAJ6S3JL4LC328125   Ford         ECOSPORT            COLLEGE PARK              GA
137758   MAJ6S3JL4LC328433   Ford         ECOSPORT            ORLANDO                   FL
137759   MAJ6S3JL4LC343191   Ford         ECOSPORT            CLEVELAND                 OH
137760   MAJ6S3JL4LC343286   Ford         ECOSPORT            FAYETTEVILLE              GA
137761   MAJ6S3JL4LC343322   Ford         ECOSPORT            FORT LAUDERDALE           FL
137762   MAJ6S3JL4LC343353   Ford         ECOSPORT            FORT LAUDERDALE           FL
137763   MAJ6S3JL4LC343403   Ford         ECOSPORT            ATLANTA                   GA
137764   MAJ6S3JL4LC343448   Ford         ECOSPORT            TAMPA                     FL
137765   MAJ6S3JL4LC343479   Ford         ECOSPORT            ORLANDO                   FL
137766   MAJ6S3JL5KC309761   Ford         ECOSPORT            Salt Lake City            UT
137767   MAJ6S3JL5LC327243   Ford         ECOSPORT            Colorado Spring           CO
137768   MAJ6S3JL5LC327419   Ford         ECOSPORT            ORLANDO                   FL
137769   MAJ6S3JL5LC327422   Ford         ECOSPORT            BUFFALO                   NY
137770   MAJ6S3JL5LC327713   Ford         ECOSPORT            MIAMI                     FL
137771   MAJ6S3JL5LC327730   Ford         ECOSPORT            SAN DIEGO                 CA
137772   MAJ6S3JL5LC327775   Ford         ECOSPORT            PALM SPRINGS              CA
137773   MAJ6S3JL5LC328425   Ford         ECOSPORT            TAMPA                     FL
137774   MAJ6S3JL5LC333978   Ford         ECOSPORT            FORT MYERS                FL
137775   MAJ6S3JL5LC334001   Ford         ECOSPORT            FORT LAUDERDALE           FL
137776   MAJ6S3JL5LC334015   Ford         ECOSPORT            KNOXVILLE                 TN
137777   MAJ6S3JL5LC343362   Ford         ECOSPORT            FORT LAUDERDALE           FL
137778   MAJ6S3JL5LC343457   Ford         ECOSPORT            FORT MYERS                FL
137779   MAJ6S3JL5LC343488   Ford         ECOSPORT            ORLANDO                   FL
137780   MAJ6S3JL5LC343491   Ford         ECOSPORT            WEST PALM BEACH           FL
137781   MAJ6S3JL6LC327705   Ford         ECOSPORT            WEST PALM BEACH           FL
137782   MAJ6S3JL6LC327719   Ford         ECOSPORT            SANTA ANA                 CA
137783   MAJ6S3JL6LC327722   Ford         ECOSPORT            CHARLOTTE                 NC
137784   MAJ6S3JL6LC327767   Ford         ECOSPORT            SANTA ANA                 CA
137785   MAJ6S3JL6LC327770   Ford         ECOSPORT            SAN FRANCISCO             CA
137786   MAJ6S3JL6LC327784   Ford         ECOSPORT            ORLANDO                   FL
137787   MAJ6S3JL6LC327798   Ford         ECOSPORT            TAMPA                     FL
137788   MAJ6S3JL6LC328434   Ford         ECOSPORT            FORT LAUDERDALE           FL
137789   MAJ6S3JL6LC328448   Ford         ECOSPORT            JACKSONVILLE              FL
137790   MAJ6S3JL6LC333987   Ford         ECOSPORT            ORLANDO                   FL
137791   MAJ6S3JL6LC333990   Ford         ECOSPORT            TALLAHASSEE               F
137792   MAJ6S3JL6LC343189   Ford         ECOSPORT            WEST PALM BEACH           FL
137793   MAJ6S3JL6LC343306   Ford         ECOSPORT            TAMPA                     FL
137794   MAJ6S3JL6LC343340   Ford         ECOSPORT            ORLANDO                   FL
137795   MAJ6S3JL6LC343421   Ford         ECOSPORT            FORT MYERS                FL
137796   MAJ6S3JL6LC343452   Ford         ECOSPORT            Ft. Myers                 FL
137797   MAJ6S3JL7LC327406   Ford         ECOSPORT            BIRMINGHAM                AL
137798   MAJ6S3JL7LC327423   Ford         ECOSPORT            WHITE PLAINS              NY
137799   MAJ6S3JL7LC327700   Ford         ECOSPORT            Los Angeles               CA
137800   MAJ6S3JL7LC327731   Ford         ECOSPORT            SAN FRANCISCO             CA
137801   MAJ6S3JL7LC327776   Ford         ECOSPORT            SANTA ANA                 CA
137802   MAJ6S3JL7LC327793   Ford         ECOSPORT            TAMPA                     FL
137803   MAJ6S3JL7LC328071   Ford         ECOSPORT            Lake Elsinore             CA
137804   MAJ6S3JL7LC328426   Ford         ECOSPORT            Miami                     FL
137805   MAJ6S3JL7LC334002   Ford         ECOSPORT            MIAMI                     FL
137806   MAJ6S3JL7LC343251   Ford         ECOSPORT            TAMPA                     FL
137807   MAJ6S3JL7LC343315   Ford         ECOSPORT            TAMPA                     US
137808   MAJ6S3JL7LC343329   Ford         ECOSPORT            FORT MYERS                FL
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137809   MAJ6S3JL7LC343363   Ford         ECOSPORT            FORT LAUDERDALE           FL
137810   MAJ6S3JL8LC327401   Ford         ECOSPORT            DETROIT                   MI
137811   MAJ6S3JL8LC327415   Ford         ECOSPORT            JACKSONVILLE              FL
137812   MAJ6S3JL8LC327706   Ford         ECOSPORT            ORLANDO                   FL
137813   MAJ6S3JL8LC327768   Ford         ECOSPORT            SAN JOSE                  CA
137814   MAJ6S3JL8LC327799   Ford         ECOSPORT            ORLANDO                   FL
137815   MAJ6S3JL8LC328225   Ford         ECOSPORT            SANTA ANA                 CA
137816   MAJ6S3JL8LC333991   Ford         ECOSPORT            ORLANDO                   FL
137817   MAJ6S3JL8LC334011   Ford         ECOSPORT            JACKSONVILLE              FL
137818   MAJ6S3JL8LC343257   Ford         ECOSPORT            TAMPA                     FL
137819   MAJ6S3JL8LC343338   Ford         ECOSPORT            FORT LAUDERDALE           FL
137820   MAJ6S3JL8LC343369   Ford         ECOSPORT            ORLANDO                   FL
137821   MAJ6S3JL8LC343419   Ford         ECOSPORT            FORT MYERS                FL
137822   MAJ6S3JL9LC327407   Ford         ECOSPORT            Atlanta                   GA
137823   MAJ6S3JL9LC327410   Ford         ECOSPORT            JACKSONVILLE              FL
137824   MAJ6S3JL9LC327701   Ford         ECOSPORT            SAN JOSE                  CA
137825   MAJ6S3JL9LC327729   Ford         ECOSPORT            MONTEREY                  CA
137826   MAJ6S3JL9LC327777   Ford         ECOSPORT            SAN JOSE                  CA
137827   MAJ6S3JL9LC334003   Ford         ECOSPORT            GAINESVILLE               FL
137828   MAJ6S3JL9LC343283   Ford         ECOSPORT            TAMPA                     FL
137829   MAJ6S3JL9LC343302   Ford         ECOSPORT            TAMPA                     FL
137830   MAJ6S3JL9LC343428   Ford         ECOSPORT            FORT MYERS                FL
137831   MAJ6S3JL9LC343445   Ford         ECOSPORT            FORT MYERS                FL
137832   MAJ6S3JL9LC343459   Ford         ECOSPORT            FORT MYERS                FL
137833   MAJ6S3JLXKC260220   Ford         ECOSPORT            CHARLOTTE                 NC
137834   MAJ6S3JLXLC327237   Ford         ECOSPORT            FRESNO                    CA
137835   MAJ6S3JLXLC327707   Ford         ECOSPORT            FORT LAUDERDALE           FL
137836   MAJ6S3JLXLC327786   Ford         ECOSPORT            JACKSONVILLE              FL
137837   MAJ6S3JLXLC328078   Ford         ECOSPORT            LOS ANGELES               CA
137838   MAJ6S3JLXLC328081   Ford         ECOSPORT            SAN DIEGO                 CA
137839   MAJ6S3JLXLC328114   Ford         ECOSPORT            FORT MYERS                FL
137840   MAJ6S3JLXLC333989   Ford         ECOSPORT            TAMPA                     FL
137841   MAJ6S3JLXLC342885   Ford         ECOSPORT            Tulsa                     OK
137842   MAJ6S3JLXLC343177   Ford         ECOSPORT            ORLANDO                   FL
137843   MAJ6S3JLXLC343180   Ford         ECOSPORT            Tampa                     FL
137844   MAJ6S3JLXLC343194   Ford         ECOSPORT            FORT LAUDERDALE           FL
137845   MAJ6S3JLXLC343244   Ford         ECOSPORT            TAMPA                     FL
137846   MAJ6S3JLXLC343292   Ford         ECOSPORT            TAMPA                     FL
137847   MAJ6S3JLXLC343373   Ford         ECOSPORT            SAVANNAH                  GA
137848   MAJ6S3JLXLC343423   Ford         ECOSPORT            FORT MYERS                FL
137849   MAJ6S3JLXLC343437   Ford         ECOSPORT            Miami                     FL
137850   MAJ6S3JLXLC343485   Ford         ECOSPORT            WEST PALM BEACH           FL
137851   MAJ6S3KL0LC327455   Ford         ECOSPORT            ORLANDO                   FL
137852   MAJ6S3KL0LC327469   Ford         ECOSPORT            PENSACOLA                 FL
137853   MAJ6S3KL0LC327486   Ford         ECOSPORT            Atlanta                   GA
137854   MAJ6S3KL0LC327990   Ford         ECOSPORT            Atlanta                   GA
137855   MAJ6S3KL0LC328119   Ford         ECOSPORT            LOS ANGELES               CA
137856   MAJ6S3KL0LC328122   Ford         ECOSPORT            FORT MYERS                FL
137857   MAJ6S3KL0LC328461   Ford         ECOSPORT            FT LAUDERDALE             FL
137858   MAJ6S3KL0LC328489   Ford         ECOSPORT            TAMPA                     FL
137859   MAJ6S3KL0LC328492   Ford         ECOSPORT            TAMPA                     FL
137860   MAJ6S3KL0LC328508   Ford         ECOSPORT            FORT LAUDERDALE           FL
137861   MAJ6S3KL0LC328511   Ford         ECOSPORT            KEY WEST                  FL
137862   MAJ6S3KL0LC328525   Ford         ECOSPORT            FORT MYERS                FL
137863   MAJ6S3KL0LC329657   Ford         ECOSPORT            JACKSONVILLE              FL
137864   MAJ6S3KL0LC329660   Ford         ECOSPORT            ORLANDO                   FL
137865   MAJ6S3KL0LC329688   Ford         ECOSPORT            SAN FRANCISCO             CA
137866   MAJ6S3KL0LC329738   Ford         ECOSPORT            TAMPA                     FL
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137867   MAJ6S3KL0LC329741   Ford         ECOSPORT            SAN DIEGO                 CA
137868   MAJ6S3KL0LC334051   Ford         ECOSPORT            MIAMI                     FL
137869   MAJ6S3KL0LC334079   Ford         ECOSPORT            FORT MYERS                FL
137870   MAJ6S3KL0LC335006   Ford         ECOSPORT            ORLANDO                   FL
137871   MAJ6S3KL0LC343056   Ford         ECOSPORT            AUGUSTA                   GA
137872   MAJ6S3KL1KC309447   Ford         ECOSPORT            Tolleson                  AZ
137873   MAJ6S3KL1LC327433   Ford         ECOSPORT            BIRMINGHAM                AL
137874   MAJ6S3KL1LC327447   Ford         ECOSPORT            TALLAHASSEE               FL
137875   MAJ6S3KL1LC327464   Ford         ECOSPORT            TAMPA                     FL
137876   MAJ6S3KL1LC327478   Ford         ECOSPORT            DALLAS                    TX
137877   MAJ6S3KL1LC327481   Ford         ECOSPORT            BIRMINGHAM                AL
137878   MAJ6S3KL1LC327951   Ford         ECOSPORT            Atlanta                   GA
137879   MAJ6S3KL1LC327965   Ford         ECOSPORT            KNOXVILLE                 TN
137880   MAJ6S3KL1LC327979   Ford         ECOSPORT            KNOXVILLE                 TN
137881   MAJ6S3KL1LC328095   Ford         ECOSPORT            LOS ANGELES               CA
137882   MAJ6S3KL1LC328484   Ford         ECOSPORT            MIAMI                     FL
137883   MAJ6S3KL1LC328503   Ford         ECOSPORT            TAMPA                     FL
137884   MAJ6S3KL1LC328517   Ford         ECOSPORT            TAMPA                     FL
137885   MAJ6S3KL1LC328520   Ford         ECOSPORT            ORLANDO                   FL
137886   MAJ6S3KL1LC328534   Ford         ECOSPORT            TAMPA                     FL
137887   MAJ6S3KL1LC329635   Ford         ECOSPORT            EL PASO                   TX
137888   MAJ6S3KL1LC329697   Ford         ECOSPORT            SAN DIEGO                 CA
137889   MAJ6S3KL1LC329702   Ford         ECOSPORT            SAN FRANCISCO             CA
137890   MAJ6S3KL1LC329733   Ford         ECOSPORT            TAMPA                     FL
137891   MAJ6S3KL1LC329747   Ford         ECOSPORT            BURBANK                   CA
137892   MAJ6S3KL1LC334057   Ford         ECOSPORT            MIAMI                     FL
137893   MAJ6S3KL1LC334060   Ford         ECOSPORT            West Palm Beach           FL
137894   MAJ6S3KL1LC335001   Ford         ECOSPORT            JACKSONVILLE              FL
137895   MAJ6S3KL1LC343115   Ford         ECOSPORT            ATLANTA                   GA
137896   MAJ6S3KL1LC343521   Ford         ECOSPORT            FORT MYERS                FL
137897   MAJ6S3KL1LC343633   Ford         ECOSPORT            FORT LAUDERDALE           FL
137898   MAJ6S3KL2KC260453   Ford         ECOSPORT            ORLANDO                   FL
137899   MAJ6S3KL2LC327263   Ford         ECOSPORT            CLEVELAND                 OH
137900   MAJ6S3KL2LC327456   Ford         ECOSPORT            ATLANTA                   GA
137901   MAJ6S3KL2LC327487   Ford         ECOSPORT            Atlanta                   GA
137902   MAJ6S3KL2LC327490   Ford         ECOSPORT            Jacksonville              FL
137903   MAJ6S3KL2LC328106   Ford         ECOSPORT            FRESNO                    CA
137904   MAJ6S3KL2LC328123   Ford         ECOSPORT            FORT MYERS                FL
137905   MAJ6S3KL2LC328493   Ford         ECOSPORT            FT. LAUDERDALE            FL
137906   MAJ6S3KL2LC328509   Ford         ECOSPORT            FORT MYERS                FL
137907   MAJ6S3KL2LC328526   Ford         ECOSPORT            FORT MYERS                FL
137908   MAJ6S3KL2LC329661   Ford         ECOSPORT            FORT LAUDERDALE           FL
137909   MAJ6S3KL2LC329689   Ford         ECOSPORT            FRESNO                    CA
137910   MAJ6S3KL2LC329692   Ford         ECOSPORT            SAN JOSE                  CA
137911   MAJ6S3KL2LC329725   Ford         ECOSPORT            TAMPA                     FL
137912   MAJ6S3KL2LC329742   Ford         ECOSPORT            SACRAMENTO                CA
137913   MAJ6S3KL2LC329756   Ford         ECOSPORT            ORLANDO                   FL
137914   MAJ6S3KL2LC335475   Ford         ECOSPORT            SARASOTA                  FL
137915   MAJ6S3KL2LC342958   Ford         ECOSPORT            ATLANTA                   GA
137916   MAJ6S3KL2LC342992   Ford         ECOSPORT            Union City                GA
137917   MAJ6S3KL2LC343494   Ford         ECOSPORT            ORLANDO                   FL
137918   MAJ6S3KL2LC343530   Ford         ECOSPORT            FORT MYERS                FL
137919   MAJ6S3KL2LC343544   Ford         ECOSPORT            Miami                     FL
137920   MAJ6S3KL2LC343558   Ford         ECOSPORT            JACKSONVILLE              FL
137921   MAJ6S3KL2LC343592   Ford         ECOSPORT            Miami                     FL
137922   MAJ6S3KL3LC327451   Ford         ECOSPORT            SAINT LOUIS               MO
137923   MAJ6S3KL3LC327465   Ford         ECOSPORT            ORLANDO                   FL
137924   MAJ6S3KL3LC327482   Ford         ECOSPORT            SAINT LOUIS               MO
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137925   MAJ6S3KL3LC327756   Ford         ECOSPORT            LAS VEGAS                 NV
137926   MAJ6S3KL3LC327949   Ford         ECOSPORT            NORFOLK                   VA
137927   MAJ6S3KL3LC327966   Ford         ECOSPORT            ATLANTA                   GA
137928   MAJ6S3KL3LC327983   Ford         ECOSPORT            NASHVILLE                 TN
137929   MAJ6S3KL3LC328101   Ford         ECOSPORT            PHOENIX                   AZ
137930   MAJ6S3KL3LC328454   Ford         ECOSPORT            TAMPA                     FL
137931   MAJ6S3KL3LC328471   Ford         ECOSPORT            WEST PALM BEACH           FL
137932   MAJ6S3KL3LC328499   Ford         ECOSPORT            MIAMI                     FL
137933   MAJ6S3KL3LC328535   Ford         ECOSPORT            JACKSONVILLE              FL
137934   MAJ6S3KL3LC328549   Ford         ECOSPORT            DALLAS                    TX
137935   MAJ6S3KL3LC329653   Ford         ECOSPORT            ORLANDO                   FL
137936   MAJ6S3KL3LC329684   Ford         ECOSPORT            SAN DIEGO                 CA
137937   MAJ6S3KL3LC329748   Ford         ECOSPORT            SAN JOSE                  CA
137938   MAJ6S3KL3LC329751   Ford         ECOSPORT            SARASOTA                  FL
137939   MAJ6S3KL3LC334030   Ford         ECOSPORT            ORLANDO                   FL
137940   MAJ6S3KL3LC334058   Ford         ECOSPORT            Miami                     FL
137941   MAJ6S3KL3LC334092   Ford         ECOSPORT            TAMPA                     FL
137942   MAJ6S3KL3LC335498   Ford         ECOSPORT            MIAMI                     FL
137943   MAJ6S3KL3LC335629   Ford         ECOSPORT            GAINESVILLE               FL
137944   MAJ6S3KL3LC343052   Ford         ECOSPORT            ORLANDO                   FL
137945   MAJ6S3KL3LC343519   Ford         ECOSPORT            MIAMI                     FL
137946   MAJ6S3KL3LC343648   Ford         ECOSPORT            FORT LAUDERDALE           FL
137947   MAJ6S3KL4LC327443   Ford         ECOSPORT            LOUISVILLE                KY
137948   MAJ6S3KL4LC327457   Ford         ECOSPORT            INDIANAPOLIS              IN
137949   MAJ6S3KL4LC327460   Ford         ECOSPORT            LOUISVILLE                KY
137950   MAJ6S3KL4LC327474   Ford         ECOSPORT            FORT LAUDERDALE           FL
137951   MAJ6S3KL4LC327488   Ford         ECOSPORT            KNOXVILLE                 TN
137952   MAJ6S3KL4LC327975   Ford         ECOSPORT            Atlanta                   GA
137953   MAJ6S3KL4LC327989   Ford         ECOSPORT            St. Louis                 MO
137954   MAJ6S3KL4LC328107   Ford         ECOSPORT            LOS ANGELES               CA
137955   MAJ6S3KL4LC328527   Ford         ECOSPORT            TAMPA                     FL
137956   MAJ6S3KL4LC328530   Ford         ECOSPORT            ORLANDO                   FL
137957   MAJ6S3KL4LC328561   Ford         ECOSPORT            CHICAGO                   IL
137958   MAJ6S3KL4LC329659   Ford         ECOSPORT            JACKSONVILLE              FL
137959   MAJ6S3KL4LC329676   Ford         ECOSPORT            MIAMI                     FL
137960   MAJ6S3KL4LC329693   Ford         ECOSPORT            SACRAMENTO                CA
137961   MAJ6S3KL4LC329726   Ford         ECOSPORT            ORLANDO                   FL
137962   MAJ6S3KL4LC329743   Ford         ECOSPORT            SAN FRANCISCO             CA
137963   MAJ6S3KL4LC329757   Ford         ECOSPORT            FORT MYERS                FL
137964   MAJ6S3KL4LC334053   Ford         ECOSPORT            SARASOTA                  FL
137965   MAJ6S3KL4LC334067   Ford         ECOSPORT            FORT MYERS                FL
137966   MAJ6S3KL4LC334070   Ford         ECOSPORT            MIAMI                     FL
137967   MAJ6S3KL4LC335011   Ford         ECOSPORT            TAMPA                     FL
137968   MAJ6S3KL4LC335624   Ford         ECOSPORT            KNOXVILLE                 TN
137969   MAJ6S3KL4LC335641   Ford         ECOSPORT            ORLANDO                   FL
137970   MAJ6S3KL4LC342962   Ford         ECOSPORT            ATLANTA                   GA
137971   MAJ6S3KL4LC343528   Ford         ECOSPORT            Miami                     FL
137972   MAJ6S3KL4LC343562   Ford         ECOSPORT            ORLANDO                   FL
137973   MAJ6S3KL4LC343593   Ford         ECOSPORT            MIAMI                     FL
137974   MAJ6S3KL4LC343609   Ford         ECOSPORT            TAMPA                     FL
137975   MAJ6S3KL4LC343612   Ford         ECOSPORT            Miami                     FL
137976   MAJ6S3KL5LC327435   Ford         ECOSPORT            INDIANAPOLIS              IN
137977   MAJ6S3KL5LC327449   Ford         ECOSPORT            Hebron                    KY
137978   MAJ6S3KL5LC327466   Ford         ECOSPORT            DETROIT                   MI
137979   MAJ6S3KL5LC327483   Ford         ECOSPORT            VANDALIA                  OH
137980   MAJ6S3KL5LC327967   Ford         ECOSPORT            Atlanta                   GA
137981   MAJ6S3KL5LC327970   Ford         ECOSPORT            SHREVEPORT                LA
137982   MAJ6S3KL5LC327984   Ford         ECOSPORT            KNOXVILLE                 TN
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137983   MAJ6S3KL5LC328097   Ford         ECOSPORT            LOS ANGELES               CA
137984   MAJ6S3KL5LC328102   Ford         ECOSPORT            INGLEWOOD                 CA
137985   MAJ6S3KL5LC328486   Ford         ECOSPORT            FORT LAUDERDALE           FL
137986   MAJ6S3KL5LC328519   Ford         ECOSPORT            JACKSONVILLE              FL
137987   MAJ6S3KL5LC328522   Ford         ECOSPORT            Miami                     FL
137988   MAJ6S3KL5LC329640   Ford         ECOSPORT            STERLING                  VA
137989   MAJ6S3KL5LC329685   Ford         ECOSPORT            SAN DIEGO                 CA
137990   MAJ6S3KL5LC329699   Ford         ECOSPORT            LOS ANGELES               CA
137991   MAJ6S3KL5LC329704   Ford         ECOSPORT            SACRAMENTO                CA
137992   MAJ6S3KL5LC329752   Ford         ECOSPORT            JACKSONVILLE              FL
137993   MAJ6S3KL5LC334031   Ford         ECOSPORT            SAVANNAH                  GA
137994   MAJ6S3KL5LC343036   Ford         ECOSPORT            Conyers                   GA
137995   MAJ6S3KL5LC343084   Ford         ECOSPORT            ORLANDO                   FL
137996   MAJ6S3KL5LC343523   Ford         ECOSPORT            Miami                     FL
137997   MAJ6S3KL5LC343554   Ford         ECOSPORT            Miami                     FL
137998   MAJ6S3KL5LC343604   Ford         ECOSPORT            MIAMI                     FL
137999   MAJ6S3KL6LC327458   Ford         ECOSPORT            ATLANTA                   GA
138000   MAJ6S3KL6LC327461   Ford         ECOSPORT            Atlanta                   GA
138001   MAJ6S3KL6LC327489   Ford         ECOSPORT            KENNER                    LA
138002   MAJ6S3KL6LC327959   Ford         ECOSPORT            CHARLOTTE                 NC
138003   MAJ6S3KL6LC327962   Ford         ECOSPORT            Atlanta                   GA
138004   MAJ6S3KL6LC328108   Ford         ECOSPORT            LOS ANGELES               CA
138005   MAJ6S3KL6LC328495   Ford         ECOSPORT            MIAMI                     FL
138006   MAJ6S3KL6LC328500   Ford         ECOSPORT            TAMPA                     FL
138007   MAJ6S3KL6LC328514   Ford         ECOSPORT            Miami                     FL
138008   MAJ6S3KL6LC328531   Ford         ECOSPORT            FORT LAUDERDALE           FL
138009   MAJ6S3KL6LC329646   Ford         ECOSPORT            TAMPA                     FL
138010   MAJ6S3KL6LC329680   Ford         ECOSPORT            LAS VEGAS                 NV
138011   MAJ6S3KL6LC329727   Ford         ECOSPORT            TAMPA                     FL
138012   MAJ6S3KL6LC329758   Ford         ECOSPORT            TAMPA                     FL
138013   MAJ6S3KL6LC334037   Ford         ECOSPORT            WEST PALM BEACH           FL
138014   MAJ6S3KL6LC343028   Ford         ECOSPORT            COLLEGE PARK              GA
138015   MAJ6S3KL6LC343532   Ford         ECOSPORT            FORT MYERS                FL
138016   MAJ6S3KL6LC343577   Ford         ECOSPORT            TAMPA                     FL
138017   MAJ6S3KL7LC327436   Ford         ECOSPORT            LOUISVILLE                KY
138018   MAJ6S3KL7LC327453   Ford         ECOSPORT            ATLANTA                   GA
138019   MAJ6S3KL7LC327758   Ford         ECOSPORT            OAKLAND                   CA
138020   MAJ6S3KL7LC327761   Ford         ECOSPORT            OAKLAND                   CA
138021   MAJ6S3KL7LC327968   Ford         ECOSPORT            ATLANTA                   GA
138022   MAJ6S3KL7LC328098   Ford         ECOSPORT            SAN DIEGO                 CA
138023   MAJ6S3KL7LC328103   Ford         ECOSPORT            SAN JOSE                  CA
138024   MAJ6S3KL7LC328120   Ford         ECOSPORT            FRESNO                    CA
138025   MAJ6S3KL7LC328456   Ford         ECOSPORT            WEST PALM BEACH           FL
138026   MAJ6S3KL7LC328473   Ford         ECOSPORT            GAINESVILLE               FL
138027   MAJ6S3KL7LC328487   Ford         ECOSPORT            WEST PALM BEACH           FL
138028   MAJ6S3KL7LC328490   Ford         ECOSPORT            TAMPA                     FL
138029   MAJ6S3KL7LC328523   Ford         ECOSPORT            ORLANDO                   FL
138030   MAJ6S3KL7LC328537   Ford         ECOSPORT            FORT LAUDERDALE           FL
138031   MAJ6S3KL7LC328554   Ford         ECOSPORT            Atlanta                   GA
138032   MAJ6S3KL7LC329655   Ford         ECOSPORT            ORLANDO                   FL
138033   MAJ6S3KL7LC329686   Ford         ECOSPORT            BURBANK                   CA
138034   MAJ6S3KL7LC329722   Ford         ECOSPORT            TALLAHASSEE               F
138035   MAJ6S3KL7LC329736   Ford         ECOSPORT            TAMPA                     FL
138036   MAJ6S3KL7LC334063   Ford         ECOSPORT            ORLANDO                   FL
138037   MAJ6S3KL7LC334077   Ford         ECOSPORT            FORT MYERS                FL
138038   MAJ6S3KL7LC334094   Ford         ECOSPORT            WEST PALM BEACH           FL
138039   MAJ6S3KL7LC343068   Ford         ECOSPORT            JACKSON                   MS
138040   MAJ6S3KL7LC343071   Ford         ECOSPORT            COLLEGE PARK              GA
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138041   MAJ6S3KL7LC343507   Ford         ECOSPORT            FORT MYERS                FL
138042   MAJ6S3KL7LC343636   Ford         ECOSPORT            ORLANDO                   FL
138043   MAJ6S3KL8LC327249   Ford         ECOSPORT            INDIANAPOLIS              IN
138044   MAJ6S3KL8LC327431   Ford         ECOSPORT            KNOXVILLE                 TN
138045   MAJ6S3KL8LC327459   Ford         ECOSPORT            ATLANTA                   GA
138046   MAJ6S3KL8LC327462   Ford         ECOSPORT            TAMPA                     FL
138047   MAJ6S3KL8LC327963   Ford         ECOSPORT            CHICAGO                   IL
138048   MAJ6S3KL8LC327977   Ford         ECOSPORT            ORLANDO                   FL
138049   MAJ6S3KL8LC327980   Ford         ECOSPORT            ALBANY                    GA
138050   MAJ6S3KL8LC328093   Ford         ECOSPORT            SAN JOSE                  CA
138051   MAJ6S3KL8LC328451   Ford         ECOSPORT            SAN JOSE                  CA
138052   MAJ6S3KL8LC328465   Ford         ECOSPORT            ORLANDO                   FL
138053   MAJ6S3KL8LC328482   Ford         ECOSPORT            SARASOTA                  FL
138054   MAJ6S3KL8LC328532   Ford         ECOSPORT            TAMPA                     FL
138055   MAJ6S3KL8LC329633   Ford         ECOSPORT            Atlanta                   GA
138056   MAJ6S3KL8LC329647   Ford         ECOSPORT            ORLANDO                   FL
138057   MAJ6S3KL8LC329664   Ford         ECOSPORT            JACKSONVILLE              FL
138058   MAJ6S3KL8LC329678   Ford         ECOSPORT            LAS VEGAS                 NV
138059   MAJ6S3KL8LC329681   Ford         ECOSPORT            LOS ANGELES               CA
138060   MAJ6S3KL8LC329700   Ford         ECOSPORT            SAN FRANCISCO             CA
138061   MAJ6S3KL8LC329728   Ford         ECOSPORT            Tampa                     FL
138062   MAJ6S3KL8LC329731   Ford         ECOSPORT            FORT LAUDERDALE           FL
138063   MAJ6S3KL8LC329745   Ford         ECOSPORT            LAS VEGAS                 NV
138064   MAJ6S3KL8LC334055   Ford         ECOSPORT            ORLANDO                   FL
138065   MAJ6S3KL8LC343581   Ford         ECOSPORT            ORLANDO                   FL
138066   MAJ6S3KL8LC343628   Ford         ECOSPORT            COLUMBUS                  OH
138067   MAJ6S3KL8LC343631   Ford         ECOSPORT            FORT LAUDERDALE           FL
138068   MAJ6S3KL9LC327437   Ford         ECOSPORT            JACKSONVILLE              FL
138069   MAJ6S3KL9LC327440   Ford         ECOSPORT            CLEVELAND                 OH
138070   MAJ6S3KL9LC327454   Ford         ECOSPORT            Atlanta                   GA
138071   MAJ6S3KL9LC327471   Ford         ECOSPORT            ORLANDO                   FL
138072   MAJ6S3KL9LC327485   Ford         ECOSPORT            FAYETTEVILLE              GA
138073   MAJ6S3KL9LC327759   Ford         ECOSPORT            PALM SPRINGS              CA
138074   MAJ6S3KL9LC327969   Ford         ECOSPORT            ORLANDO                   FL
138075   MAJ6S3KL9LC327972   Ford         ECOSPORT            ORLANDO                   FL
138076   MAJ6S3KL9LC327986   Ford         ECOSPORT            KNOXVILLE                 TN
138077   MAJ6S3KL9LC328118   Ford         ECOSPORT            SAN DIEGO                 CA
138078   MAJ6S3KL9LC328121   Ford         ECOSPORT            JACKSON                   MS
138079   MAJ6S3KL9LC328457   Ford         ECOSPORT            FORT LAUDERDALE           FL
138080   MAJ6S3KL9LC328460   Ford         ECOSPORT            SARASOTA                  FL
138081   MAJ6S3KL9LC328474   Ford         ECOSPORT            TAMPA                     FL
138082   MAJ6S3KL9LC328488   Ford         ECOSPORT            Miami                     FL
138083   MAJ6S3KL9LC328491   Ford         ECOSPORT            MIAMI                     FL
138084   MAJ6S3KL9LC328507   Ford         ECOSPORT            TAMPA                     FL
138085   MAJ6S3KL9LC328510   Ford         ECOSPORT            FORT MYERS                FL
138086   MAJ6S3KL9LC329690   Ford         ECOSPORT            ORANGE COUNTY             CA
138087   MAJ6S3KL9LC329723   Ford         ECOSPORT            MIAMI                     FL
138088   MAJ6S3KL9LC329737   Ford         ECOSPORT            TAMPA                     FL
138089   MAJ6S3KL9LC329754   Ford         ECOSPORT            FORT LAUDERDALE           FL
138090   MAJ6S3KL9LC343542   Ford         ECOSPORT            MIAMI                     FL
138091   MAJ6S3KL9LC343590   Ford         ECOSPORT            KEY WEST                  FL
138092   MAJ6S3KL9LC343637   Ford         ECOSPORT            FORT LAUDERDALE           FL
138093   MAJ6S3KLXKC256926   Ford         ECOSPORT            FORT LAUDERDALE           FL
138094   MAJ6S3KLXLC327432   Ford         ECOSPORT            Phoenix                   AZ
138095   MAJ6S3KLXLC327463   Ford         ECOSPORT            KNOXVILLE                 TN
138096   MAJ6S3KLXLC327477   Ford         ECOSPORT            JACKSON                   MS
138097   MAJ6S3KLXLC327480   Ford         ECOSPORT            Hebron                    KY
138098   MAJ6S3KLXLC327916   Ford         ECOSPORT            SAN FRANCISCO             CA
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138099   MAJ6S3KLXLC327964   Ford             ECOSPORT            CHATTANOOGA               TN
138100   MAJ6S3KLXLC328094   Ford             ECOSPORT            SAN FRANCISCO             CA
138101   MAJ6S3KLXLC328452   Ford             ECOSPORT            SAN DIEGO                 CA
138102   MAJ6S3KLXLC328483   Ford             ECOSPORT            TAMPA                     FL
138103   MAJ6S3KLXLC328497   Ford             ECOSPORT            ORLANDO                   FL
138104   MAJ6S3KLXLC328516   Ford             ECOSPORT            SARASOTA                  FL
138105   MAJ6S3KLXLC328533   Ford             ECOSPORT            FORT LAUDERDALE           FL
138106   MAJ6S3KLXLC328550   Ford             ECOSPORT            CLEVELAND                 OH
138107   MAJ6S3KLXLC329634   Ford             ECOSPORT            TAMPA                     FL
138108   MAJ6S3KLXLC329651   Ford             ECOSPORT            INDIANAPOLIS              IN
138109   MAJ6S3KLXLC329701   Ford             ECOSPORT            PALM SPRINGS              CA
138110   MAJ6S3KLXLC329729   Ford             ECOSPORT            FORT MYERS                FL
138111   MAJ6S3KLXLC334087   Ford             ECOSPORT            FORT MYERS                FL
138112   MAJ6S3KLXLC342996   Ford             ECOSPORT            BIRMINGHAN                AL
138113   MAJ6S3KLXLC343002   Ford             ECOSPORT            Atlanta                   GA
138114   MAJ6S3KLXLC343016   Ford             ECOSPORT            Atlanta                   GA
138115   MAJ6S3KLXLC343078   Ford             ECOSPORT            ATLANTA                   GA
138116   MAJ6S3KLXLC343081   Ford             ECOSPORT            Union City                GA
138117   MAJ6S3KLXLC343503   Ford             ECOSPORT            MIAMI                     FL
138118   MAJ6S3KLXLC343596   Ford             ECOSPORT            FORT MYERS                FL
138119   MAJ6S3KLXLC343646   Ford             ECOSPORT            MIAMI                     FL
138120   ML32F3FJ5JHF10829   Mitsubishi       MIRAGE              Lexington                 KY
138121   ML32F4FJ3JHF09409   Mitsubishi       MIRAGE              ORLANDO                   FL
138122   ML32F4FJ8HHF14857   Mitsubishi       MIRAGE              Tampa                     FL
138123   ML32F4FJ8JHF03282   Mitsubishi       MIRAGE              San Diego                 CA
138124   NMTKHMBX1KR090437   Toyota           CHR                 SANFORD                   FL
138125   NMTKHMBX2JR019472   Toyota           CHR                 Rock Hill                 SC
138126   NMTKHMBX2KR090401   Toyota           CHR                 Smithtown                 NY
138127   NMTKHMBX2KR090415   Toyota           CHR                 Hendersonville            TN
138128   NMTKHMBX3KR090424   Toyota           CHR                 Detroit                   MI
138129   NMTKHMBX4KR090416   Toyota           CHR                 Los Angeles               CA
138130   NMTKHMBX5JR045659   Toyota           CHR                 TAMPA                     FL
138131   NMTKHMBX5KR090425   Toyota           CHR                 Fredericksburg            VA
138132   NMTKHMBX7JR047817   Toyota           CHR                 ORLANDO                   FL
138133   NMTKHMBX8KR090421   Toyota           CHR                 Baltimore                 MD
138134   NMTKHMBXXKR090405   Toyota           CHR                 Philadelphia              PA
138135   NMTKHMBXXKR090436   Toyota           CHR                 Webster                   NY
138136   SADCJ2FX0KA601713   Jaguar           F‐PACE              CHICAGO                   IL
138137   SADCJ2FX0KA601856   Jaguar           F‐PACE              ORLANDO                   FL
138138   SADCJ2FX0KA601937   Jaguar           F‐PACE              RONKONKOMA                NY
138139   SADCJ2FX0KA601940   Jaguar           F‐PACE              DALLAS                    TX
138140   SADCJ2FX0KA602005   Jaguar           F‐PACE              BOSTON                    MA
138141   SADCJ2FX0KA602117   Jaguar           F‐PACE              LAS VEGAS                 NV
138142   SADCJ2FX0KA602165   Jaguar           F‐PACE              Ft. Myers                 FL
138143   SADCJ2FX0KA602196   Jaguar           F‐PACE              Marietta                  GA
138144   SADCJ2FX0KA602330   Jaguar           F‐PACE              CHAMBLEE                  GA
138145   SADCJ2FX0KA602909   Jaguar           F‐PACE              LOS ANGELES               CA
138146   SADCJ2FX0KA604255   Jaguar           F‐PACE              KNOXVILLE                 TN
138147   SADCJ2FX0KA604272   Jaguar           F‐PACE              SEATAC                    WA
138148   SADCJ2FX0KA605602   Jaguar           F‐PACE              LAS VEGAS                 NV
138149   SADCJ2FX0KA605812   Jaguar           F‐PACE              SAN JOSE                  CA
138150   SADCJ2FX0KA606135   Jaguar           F‐PACE              DENVER                    CO
138151   SADCJ2FX0LA644319   Jaguar           F‐PACE              SEATAC                    WA
138152   SADCJ2FX0LA644417   Jaguar           F‐PACE              LOS ANGELES               CA
138153   SADCJ2FX0LA644496   Jaguar           F‐PACE              DENVER                    CO
138154   SADCJ2FX0LA644563   Jaguar           F‐PACE              LOS ANGELES               CA
138155   SADCJ2FX0LA644711   Jaguar           F‐PACE              INDIO                     CA
138156   SADCJ2FX0LA644725   Jaguar           F‐PACE              LOS ANGELES               CA
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138157   SADCJ2FX0LA644823   Jaguar       F‐PACE              LOS ANGELES               CA
138158   SADCJ2FX0LA645518   Jaguar       F‐PACE              ORLANDO                   FL
138159   SADCJ2FX0LA645521   Jaguar       F‐PACE              Miami                     FL
138160   SADCJ2FX0LA645552   Jaguar       F‐PACE              CHARLOTTE                 NC
138161   SADCJ2FX0LA645602   Jaguar       F‐PACE              DENVER                    CO
138162   SADCJ2FX0LA645728   Jaguar       F‐PACE              CHARLESTON                SC
138163   SADCJ2FX0LA645745   Jaguar       F‐PACE              NEWARK                    NJ
138164   SADCJ2FX0LA645910   Jaguar       F‐PACE              BOSTON                    MA
138165   SADCJ2FX1KA601669   Jaguar       F‐PACE              CLEVELAND                 OH
138166   SADCJ2FX1KA601705   Jaguar       F‐PACE              ORLANDO                   FL
138167   SADCJ2FX1KA601719   Jaguar       F‐PACE              MIAMI                     FL
138168   SADCJ2FX1KA601834   Jaguar       F‐PACE              INDIANAPOLIS              IN
138169   SADCJ2FX1KA601865   Jaguar       F‐PACE              MIAMI                     FL
138170   SADCJ2FX1KA601901   Jaguar       F‐PACE              Lynn                      MA
138171   SADCJ2FX1KA601963   Jaguar       F‐PACE              RONKONKOMA                NY
138172   SADCJ2FX1KA601977   Jaguar       F‐PACE              NORTHFIELD                IL
138173   SADCJ2FX1KA602031   Jaguar       F‐PACE              DAYTONA BEACH             FL
138174   SADCJ2FX1KA602109   Jaguar       F‐PACE              CHICAGO                   IL
138175   SADCJ2FX1KA602269   Jaguar       F‐PACE              Tampa                     FL
138176   SADCJ2FX1KA602305   Jaguar       F‐PACE              ORLANDO                   FL
138177   SADCJ2FX1KA603129   Jaguar       F‐PACE              FORT MYERS                FL
138178   SADCJ2FX1KA603468   Jaguar       F‐PACE              OAKLAND                   CA
138179   SADCJ2FX1KA603499   Jaguar       F‐PACE              SEATAC                    WA
138180   SADCJ2FX1KA603695   Jaguar       F‐PACE              Portland                  OR
138181   SADCJ2FX1KA604362   Jaguar       F‐PACE              SAN JOSE                  CA
138182   SADCJ2FX1KA604443   Jaguar       F‐PACE              SANTA BARBARA             CA
138183   SADCJ2FX1KA604975   Jaguar       F‐PACE              ELMHURST                  IL
138184   SADCJ2FX1KA605527   Jaguar       F‐PACE              SAN FRANCISCO             CA
138185   SADCJ2FX1KA605673   Jaguar       F‐PACE              BLOOMINGTON               IL
138186   SADCJ2FX1KA605690   Jaguar       F‐PACE              SAN JOSE                  CA
138187   SADCJ2FX1KA605771   Jaguar       F‐PACE              SAN JOSE                  CA
138188   SADCJ2FX1KA606144   Jaguar       F‐PACE              LOS ANGELES               CA
138189   SADCJ2FX1KA606516   Jaguar       F‐PACE              CHICAGO                   IL
138190   SADCJ2FX1LA644264   Jaguar       F‐PACE              LOS ANGELES               CA
138191   SADCJ2FX1LA644510   Jaguar       F‐PACE              LOS ANGELES               CA
138192   SADCJ2FX1LA644748   Jaguar       F‐PACE              PORTLAND                  OR
138193   SADCJ2FX1LA644782   Jaguar       F‐PACE              SAN FRANCISCO             CA
138194   SADCJ2FX1LA644829   Jaguar       F‐PACE              ATLANTA                   GA
138195   SADCJ2FX1LA645186   Jaguar       F‐PACE              Miami                     FL
138196   SADCJ2FX1LA645298   Jaguar       F‐PACE              Miami                     FL
138197   SADCJ2FX1LA645317   Jaguar       F‐PACE              BOSTON                    MA
138198   SADCJ2FX1LA645348   Jaguar       F‐PACE              PITTSBURGH                PA
138199   SADCJ2FX1LA645401   Jaguar       F‐PACE              BOSTON                    MA
138200   SADCJ2FX1LA645432   Jaguar       F‐PACE              FORT LAUDERDALE           FL
138201   SADCJ2FX1LA645463   Jaguar       F‐PACE              BOSTON                    MA
138202   SADCJ2FX1LA645608   Jaguar       F‐PACE              JACKSONVILLE              FL
138203   SADCJ2FX1LA645639   Jaguar       F‐PACE              BOSTON                    MA
138204   SADCJ2FX1LA645706   Jaguar       F‐PACE              RALEIGH                   NC
138205   SADCJ2FX1LA645768   Jaguar       F‐PACE              AUSTIN                    TX
138206   SADCJ2FX1LA645771   Jaguar       F‐PACE              AUSTIN                    TX
138207   SADCJ2FX1LA645804   Jaguar       F‐PACE              FT. LAUDERDALE            FL
138208   SADCJ2FX2KA601647   Jaguar       F‐PACE              Stone Mountain            GA
138209   SADCJ2FX2KA601678   Jaguar       F‐PACE              ORLANDO                   FL
138210   SADCJ2FX2KA601681   Jaguar       F‐PACE              Salt Lake City            UT
138211   SADCJ2FX2KA601888   Jaguar       F‐PACE              ATLANTA                   GA
138212   SADCJ2FX2KA601972   Jaguar       F‐PACE              SAN FRANCISCO             CA
138213   SADCJ2FX2KA601986   Jaguar       F‐PACE              MILWAUKEE                 WI
138214   SADCJ2FX2KA602023   Jaguar       F‐PACE              PHILADELPHIA              PA
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138215   SADCJ2FX2KA602104   Jaguar       F‐PACE              LAS VEGAS                 NV
138216   SADCJ2FX2KA602233   Jaguar       F‐PACE              Clearwater                FL
138217   SADCJ2FX2KA602247   Jaguar       F‐PACE              ORLANDO                   FL
138218   SADCJ2FX2KA603432   Jaguar       F‐PACE              Burien                    WA
138219   SADCJ2FX2KA604936   Jaguar       F‐PACE              Salt Lake City            UT
138220   SADCJ2FX2KA605133   Jaguar       F‐PACE              LAS VEGAS                 NV
138221   SADCJ2FX2KA605634   Jaguar       F‐PACE              LAS VEGAS                 NV
138222   SADCJ2FX2KA605682   Jaguar       F‐PACE              LOS ANGELES               CA
138223   SADCJ2FX2KA605729   Jaguar       F‐PACE              DENVER                    CO
138224   SADCJ2FX2KA605780   Jaguar       F‐PACE              LAS VEGAS                 NV
138225   SADCJ2FX2KA605827   Jaguar       F‐PACE              SANTA ANA                 CA
138226   SADCJ2FX2KA606041   Jaguar       F‐PACE              DENVER                    CO
138227   SADCJ2FX2LA644516   Jaguar       F‐PACE              LAS VEGAS                 NV
138228   SADCJ2FX2LA644645   Jaguar       F‐PACE              SAN FRANCISCO             CA
138229   SADCJ2FX2LA644693   Jaguar       F‐PACE              SAN FRANCISCO             CA
138230   SADCJ2FX2LA644791   Jaguar       F‐PACE              SEATAC                    WA
138231   SADCJ2FX2LA644810   Jaguar       F‐PACE              SAN FRANCISCO             CA
138232   SADCJ2FX2LA644841   Jaguar       F‐PACE              PORTLAND                  OR
138233   SADCJ2FX2LA645150   Jaguar       F‐PACE              DENVER                    CO
138234   SADCJ2FX2LA645326   Jaguar       F‐PACE              Miami                     FL
138235   SADCJ2FX2LA645455   Jaguar       F‐PACE              FORT MYERS                FL
138236   SADCJ2FX2LA645486   Jaguar       F‐PACE              WEST COLUMBIA             SC
138237   SADCJ2FX2LA645536   Jaguar       F‐PACE              Miami                     FL
138238   SADCJ2FX2LA645567   Jaguar       F‐PACE              AUSTIN                    TX
138239   SADCJ2FX2LA645598   Jaguar       F‐PACE              AUSTIN                    TX
138240   SADCJ2FX2LA645701   Jaguar       F‐PACE              WARWICK                   RI
138241   SADCJ2FX2LA645732   Jaguar       F‐PACE              AUSTIN                    TX
138242   SADCJ2FX2LA645813   Jaguar       F‐PACE              DENVER                    CO
138243   SADCJ2FX2LA645861   Jaguar       F‐PACE              FORT MYERS                FL
138244   SADCJ2FX2LA645875   Jaguar       F‐PACE              Miami                     FL
138245   SADCJ2FX3KA601687   Jaguar       F‐PACE              CHICAGO O'HARE AP         IL
138246   SADCJ2FX3KA601737   Jaguar       F‐PACE              Matteson                  IL
138247   SADCJ2FX3KA601768   Jaguar       F‐PACE              PITTSBURGH                PA
138248   SADCJ2FX3KA601799   Jaguar       F‐PACE              ORLANDO                   FL
138249   SADCJ2FX3KA601804   Jaguar       F‐PACE              SARASOTA                  FL
138250   SADCJ2FX3KA601902   Jaguar       F‐PACE              Miami                     FL
138251   SADCJ2FX3KA601947   Jaguar       F‐PACE              SALT LAKE CITY            US
138252   SADCJ2FX3KA601995   Jaguar       F‐PACE              San Diego                 CA
138253   SADCJ2FX3KA602001   Jaguar       F‐PACE              BOSTON                    MA
138254   SADCJ2FX3KA603259   Jaguar       F‐PACE              Phoenix                   AZ
138255   SADCJ2FX3KA603844   Jaguar       F‐PACE              Houston                   TX
138256   SADCJ2FX3KA603987   Jaguar       F‐PACE              EAST BOSTON               MA
138257   SADCJ2FX3KA605447   Jaguar       F‐PACE              SAN FRANCISCO             CA
138258   SADCJ2FX3KA605707   Jaguar       F‐PACE              SAN DIEGO                 CA
138259   SADCJ2FX3KA606095   Jaguar       F‐PACE              GYPSUM                    CO
138260   SADCJ2FX3KA606789   Jaguar       F‐PACE              DENVER                    CO
138261   SADCJ2FX3LA644427   Jaguar       F‐PACE              LOS ANGELES               CA
138262   SADCJ2FX3LA644573   Jaguar       F‐PACE              LAS VEGAS                 NV
138263   SADCJ2FX3LA644623   Jaguar       F‐PACE              CHICAGO                   IL
138264   SADCJ2FX3LA644718   Jaguar       F‐PACE              LOS ANGELES               CA
138265   SADCJ2FX3LA644802   Jaguar       F‐PACE              LOS ANGELES               CA
138266   SADCJ2FX3LA645416   Jaguar       F‐PACE              AUSTIN                    TX
138267   SADCJ2FX3LA645433   Jaguar       F‐PACE              Miami                     FL
138268   SADCJ2FX3LA645447   Jaguar       F‐PACE              Miami                     FL
138269   SADCJ2FX3LA645478   Jaguar       F‐PACE              STERLING                  VA
138270   SADCJ2FX3LA645514   Jaguar       F‐PACE              Miami                     FL
138271   SADCJ2FX3LA645626   Jaguar       F‐PACE              FAYETTEVILLE              GA
138272   SADCJ2FX3LA645688   Jaguar       F‐PACE              Teterboro                 NJ
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138273   SADCJ2FX3LA645707   Jaguar       F‐PACE              DENVER                    CO
138274   SADCJ2FX3LA645741   Jaguar       F‐PACE              DENVER                    CO
138275   SADCJ2FX3LA645853   Jaguar       F‐PACE              ATLANTA                   GA
138276   SADCJ2FX3LA645903   Jaguar       F‐PACE              KNOXVILLE                 TN
138277   SADCJ2FX4KA601732   Jaguar       F‐PACE              Elkridge                  MD
138278   SADCJ2FX4KA601858   Jaguar       F‐PACE              FORT LAUDERDALE           FL
138279   SADCJ2FX4KA601925   Jaguar       F‐PACE              CHICAGO                   IL
138280   SADCJ2FX4KA601942   Jaguar       F‐PACE              LOS ANGELES               CA
138281   SADCJ2FX4KA602038   Jaguar       F‐PACE              PHILADELPHIA              PA
138282   SADCJ2FX4KA602170   Jaguar       F‐PACE              SAINT PAUL                MN
138283   SADCJ2FX4KA602203   Jaguar       F‐PACE              FORT MYERS                FL
138284   SADCJ2FX4KA602282   Jaguar       F‐PACE              FORT MYERS                FL
138285   SADCJ2FX4KA602329   Jaguar       F‐PACE              N. Palm Beach             FL
138286   SADCJ2FX4KA602914   Jaguar       F‐PACE              KENNER                    LA
138287   SADCJ2FX4KA603416   Jaguar       F‐PACE              LOS ANGELES               CA
138288   SADCJ2FX4KA604078   Jaguar       F‐PACE              LOS ANGELES               CA
138289   SADCJ2FX4KA604467   Jaguar       F‐PACE              Pompano Beach             FL
138290   SADCJ2FX4KA604792   Jaguar       F‐PACE              LOS ANGELES               CA
138291   SADCJ2FX4KA605649   Jaguar       F‐PACE              SAN FRANCISCO             CA
138292   SADCJ2FX4KA605831   Jaguar       F‐PACE              SALT LAKE CITY            UT
138293   SADCJ2FX4KA605859   Jaguar       F‐PACE              DENVER                    CO
138294   SADCJ2FX4LA644419   Jaguar       F‐PACE              LOS ANGELES               CA
138295   SADCJ2FX4LA644498   Jaguar       F‐PACE              CHICAGO                   IL
138296   SADCJ2FX4LA644534   Jaguar       F‐PACE              BLOOMINGTON               IL
138297   SADCJ2FX4LA644761   Jaguar       F‐PACE              LOS ANGELES               CA
138298   SADCJ2FX4LA645182   Jaguar       F‐PACE              DENVER                    CO
138299   SADCJ2FX4LA645263   Jaguar       F‐PACE              DENVER                    CO
138300   SADCJ2FX4LA645313   Jaguar       F‐PACE              WARWICK                   RI
138301   SADCJ2FX4LA645358   Jaguar       F‐PACE              Miami                     FL
138302   SADCJ2FX4LA645408   Jaguar       F‐PACE              FT. LAUDERDALE            FL
138303   SADCJ2FX4LA645490   Jaguar       F‐PACE              PROVIDENCE                RI
138304   SADCJ2FX4LA645571   Jaguar       F‐PACE              Miami                     FL
138305   SADCJ2FX4LA645747   Jaguar       F‐PACE              HARTFORD                  CT
138306   SADCJ2FX5KA601674   Jaguar       F‐PACE              SANTA ANA                 CA
138307   SADCJ2FX5KA601805   Jaguar       F‐PACE              NEWARK                    NJ
138308   SADCJ2FX5KA601822   Jaguar       F‐PACE              WARWICK                   RI
138309   SADCJ2FX5KA601884   Jaguar       F‐PACE              MORRISVILLE               NC
138310   SADCJ2FX5KA601979   Jaguar       F‐PACE              SAN JOSE                  CA
138311   SADCJ2FX5KA602291   Jaguar       F‐PACE              KANSAS CITY               MO
138312   SADCJ2FX5KA603134   Jaguar       F‐PACE              Tampa                     FL
138313   SADCJ2FX5KA603411   Jaguar       F‐PACE              PORTLAND                  OR
138314   SADCJ2FX5KA603764   Jaguar       F‐PACE              SAN DIEGO                 US
138315   SADCJ2FX5KA604011   Jaguar       F‐PACE              SAN JOSE                  CA
138316   SADCJ2FX5KA604655   Jaguar       F‐PACE              JACKSONVILLE              FL
138317   SADCJ2FX5KA605210   Jaguar       F‐PACE              SAN FRANCISCO             CA
138318   SADCJ2FX5KA605644   Jaguar       F‐PACE              OAKLAND                   CA
138319   SADCJ2FX5KA605675   Jaguar       F‐PACE              SAN FRANCISCO             CA
138320   SADCJ2FX5KA605692   Jaguar       F‐PACE              SAN FRANCISCO             CA
138321   SADCJ2FX5KA605711   Jaguar       F‐PACE              SALT LAKE CITY            UT
138322   SADCJ2FX5KA605739   Jaguar       F‐PACE              GYPSUM                    CO
138323   SADCJ2FX5KA605966   Jaguar       F‐PACE              DENVER                    CO
138324   SADCJ2FX5LA644476   Jaguar       F‐PACE              DES MOINES                IA
138325   SADCJ2FX5LA644512   Jaguar       F‐PACE              LAS VEGAS                 NV
138326   SADCJ2FX5LA644624   Jaguar       F‐PACE              BIRMINGHAM                AL
138327   SADCJ2FX5LA644641   Jaguar       F‐PACE              MIAMI                     FL
138328   SADCJ2FX5LA644753   Jaguar       F‐PACE              SAN DIEGO                 US
138329   SADCJ2FX5LA645109   Jaguar       F‐PACE              RALEIGH                   NC
138330   SADCJ2FX5LA645224   Jaguar       F‐PACE              PHILADELPHIA              PA
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138331   SADCJ2FX5LA645305   Jaguar       F‐PACE              Miami                     FL
138332   SADCJ2FX5LA645322   Jaguar       F‐PACE              CHARLESTON                SC
138333   SADCJ2FX5LA645448   Jaguar       F‐PACE              STERLING                  VA
138334   SADCJ2FX5LA645594   Jaguar       F‐PACE              TALLAHASSEE               F
138335   SADCJ2FX5LA645630   Jaguar       F‐PACE              FORT MYERS                FL
138336   SADCJ2FX5LA645658   Jaguar       F‐PACE              FT. LAUDERDALE            FL
138337   SADCJ2FX5LA645661   Jaguar       F‐PACE              STERLING                  VA
138338   SADCJ2FX5LA645742   Jaguar       F‐PACE              ORLANDO                   FL
138339   SADCJ2FX5LA645854   Jaguar       F‐PACE              WARWICK                   RI
138340   SADCJ2FX5LA645868   Jaguar       F‐PACE              CHARLOTTE                 NC
138341   SADCJ2FX5LA645899   Jaguar       F‐PACE              HANOVER                   MD
138342   SADCJ2FX6KA601652   Jaguar       F‐PACE              BIRMINGHAN                AL
138343   SADCJ2FX6KA601778   Jaguar       F‐PACE              Lynn                      MA
138344   SADCJ2FX6KA601800   Jaguar       F‐PACE              Hebron                    KY
138345   SADCJ2FX6KA601831   Jaguar       F‐PACE              MANHATTAN                 NY
138346   SADCJ2FX6KA601862   Jaguar       F‐PACE              WEST PALM BEACH           FL
138347   SADCJ2FX6KA601909   Jaguar       F‐PACE              STERLING                  VA
138348   SADCJ2FX6KA602106   Jaguar       F‐PACE              SALT LAKE CITY            US
138349   SADCJ2FX6KA602235   Jaguar       F‐PACE              SEATAC                    WA
138350   SADCJ2FX6KA602316   Jaguar       F‐PACE              BLOOMINGTON               IL
138351   SADCJ2FX6KA602851   Jaguar       F‐PACE              Phoenix                   AZ
138352   SADCJ2FX6KA603045   Jaguar       F‐PACE              Grove City                OH
138353   SADCJ2FX6KA603952   Jaguar       F‐PACE              SEATTLE                   WA
138354   SADCJ2FX6KA604132   Jaguar       F‐PACE              Cincinnati                OH
138355   SADCJ2FX6LA644227   Jaguar       F‐PACE              PORTLAND                  OR
138356   SADCJ2FX6LA644390   Jaguar       F‐PACE              LAS VEGAS                 NV
138357   SADCJ2FX6LA644471   Jaguar       F‐PACE              ATLANTA                   GA
138358   SADCJ2FX6LA644549   Jaguar       F‐PACE              SAN FRANCISCO             CA
138359   SADCJ2FX6LA644602   Jaguar       F‐PACE              CHICAGO                   IL
138360   SADCJ2FX6LA644793   Jaguar       F‐PACE              PORTLAND                  OR
138361   SADCJ2FX6LA645099   Jaguar       F‐PACE              FORT MYERS                FL
138362   SADCJ2FX6LA645135   Jaguar       F‐PACE              SAN ANTONIO               TX
138363   SADCJ2FX6LA645362   Jaguar       F‐PACE              PROVIDENCE                RI
138364   SADCJ2FX6LA645409   Jaguar       F‐PACE              STERLING                  VA
138365   SADCJ2FX6LA645443   Jaguar       F‐PACE              WEST PALM BEACH           FL
138366   SADCJ2FX6LA645460   Jaguar       F‐PACE              EAST BOSTON               MA
138367   SADCJ2FX6LA645474   Jaguar       F‐PACE              FT. LAUDERDALE            FL
138368   SADCJ2FX6LA645524   Jaguar       F‐PACE              BOSTON                    MA
138369   SADCJ2FX6LA645622   Jaguar       F‐PACE              HOUSTON                   TX
138370   SADCJ2FX6LA645877   Jaguar       F‐PACE              PORTLAND                  ME
138371   SADCJ2FX6LA645894   Jaguar       F‐PACE              NEW YORK CITY             NY
138372   SADCJ2FX7KA601708   Jaguar       F‐PACE              MIAMI                     FL
138373   SADCJ2FX7KA601711   Jaguar       F‐PACE              FORT LAUDERDALE           FL
138374   SADCJ2FX7KA601739   Jaguar       F‐PACE              Miami                     FL
138375   SADCJ2FX7KA601756   Jaguar       F‐PACE              FORT LAUDERDALE           FL
138376   SADCJ2FX7KA601966   Jaguar       F‐PACE              WARWICK                   RI
138377   SADCJ2FX7KA601983   Jaguar       F‐PACE              KANSAS CITY               MO
138378   SADCJ2FX7KA602230   Jaguar       F‐PACE              PORTLAND                  OR
138379   SADCJ2FX7KA603071   Jaguar       F‐PACE              MIAMI                     FL
138380   SADCJ2FX7KA603247   Jaguar       F‐PACE              ATLANTA                   GA
138381   SADCJ2FX7KA603751   Jaguar       F‐PACE              RALEIGH, DURHAM           NC
138382   SADCJ2FX7KA604799   Jaguar       F‐PACE              LAS VEGAS                 NV
138383   SADCJ2FX7KA605306   Jaguar       F‐PACE              FRESNO                    CA
138384   SADCJ2FX7LA644303   Jaguar       F‐PACE              SAN FRANCISCO             CA
138385   SADCJ2FX7LA644351   Jaguar       F‐PACE              PORTLAND                  OR
138386   SADCJ2FX7LA644365   Jaguar       F‐PACE              DENVER                    CO
138387   SADCJ2FX7LA644446   Jaguar       F‐PACE              PORTLAND                  OR
138388   SADCJ2FX7LA644558   Jaguar       F‐PACE              LOS ANGELES               CA
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138389   SADCJ2FX7LA644737   Jaguar       F‐PACE              KNOXVILLE                 TN
138390   SADCJ2FX7LA644754   Jaguar       F‐PACE              DENVER                    CO
138391   SADCJ2FX7LA644768   Jaguar       F‐PACE              SAN FRANCISCO             CA
138392   SADCJ2FX7LA645273   Jaguar       F‐PACE              WHITE PLAINS              NY
138393   SADCJ2FX7LA645404   Jaguar       F‐PACE              HOUSTON                   TX
138394   SADCJ2FX7LA645547   Jaguar       F‐PACE              MIAMI                     FL
138395   SADCJ2FX7LA645564   Jaguar       F‐PACE              Miami                     FL
138396   SADCJ2FX7LA645709   Jaguar       F‐PACE              BOSTON                    MA
138397   SADCJ2FX7LA645712   Jaguar       F‐PACE              FT. LAUDERDALE            FL
138398   SADCJ2FX7LA645807   Jaguar       F‐PACE              AUSTIN                    TX
138399   SADCJ2FX7LA645838   Jaguar       F‐PACE              BOSTON                    MA
138400   SADCJ2FX8KA601796   Jaguar       F‐PACE              SANTA ANA                 CA
138401   SADCJ2FX8KA601801   Jaguar       F‐PACE              MIAMI                     FL
138402   SADCJ2FX8KA601846   Jaguar       F‐PACE              KANSAS CITY               MO
138403   SADCJ2FX8KA601913   Jaguar       F‐PACE              ORLANDO                   FL
138404   SADCJ2FX8KA602138   Jaguar       F‐PACE              SEATAC                    WA
138405   SADCJ2FX8KA603483   Jaguar       F‐PACE              LOS ANGELES               CA
138406   SADCJ2FX8KA603807   Jaguar       F‐PACE              WEST PALM BEACH           FL
138407   SADCJ2FX8KA605766   Jaguar       F‐PACE              LAS VEGAS                 NV
138408   SADCJ2FX8KA606075   Jaguar       F‐PACE              DENVER                    CO
138409   SADCJ2FX8LA644083   Jaguar       F‐PACE              PORTLAND                  OR
138410   SADCJ2FX8LA644133   Jaguar       F‐PACE              DENVER                    CO
138411   SADCJ2FX8LA644164   Jaguar       F‐PACE              DENVER                    CO
138412   SADCJ2FX8LA644469   Jaguar       F‐PACE              SAINT PAUL                MN
138413   SADCJ2FX8LA644486   Jaguar       F‐PACE              SAN DIEGO                 CA
138414   SADCJ2FX8LA644505   Jaguar       F‐PACE              MILWAUKEE                 WI
138415   SADCJ2FX8LA644701   Jaguar       F‐PACE              DENVER                    CO
138416   SADCJ2FX8LA645301   Jaguar       F‐PACE              DENVER                    CO
138417   SADCJ2FX8LA645394   Jaguar       F‐PACE              BROOKLYN                  NY
138418   SADCJ2FX8LA645797   Jaguar       F‐PACE              Miami                     FL
138419   SADCJ2FX8LA645881   Jaguar       F‐PACE              Miami                     FL
138420   SADCJ2FX9KA601676   Jaguar       F‐PACE              PENSACOLA                 FL
138421   SADCJ2FX9KA601824   Jaguar       F‐PACE              FORT MYERS                FL
138422   SADCJ2FX9KA601841   Jaguar       F‐PACE              WARWICK                   RI
138423   SADCJ2FX9KA601953   Jaguar       F‐PACE              CHICAGO                   IL
138424   SADCJ2FX9KA602021   Jaguar       F‐PACE              Teterboro                 NJ
138425   SADCJ2FX9KA602052   Jaguar       F‐PACE              ORLANDO                   FL
138426   SADCJ2FX9KA603704   Jaguar       F‐PACE              SEATAC                    WA
138427   SADCJ2FX9KA605579   Jaguar       F‐PACE              TUCSON                    AZ
138428   SADCJ2FX9KA605680   Jaguar       F‐PACE              SACRAMENTO                CA
138429   SADCJ2FX9KA605775   Jaguar       F‐PACE              SAN FRANCISCO             CA
138430   SADCJ2FX9KA606151   Jaguar       F‐PACE              ONTARIO                   CA
138431   SADCJ2FX9KA606540   Jaguar       F‐PACE              DENVER                    CO
138432   SADCJ2FX9LA644304   Jaguar       F‐PACE              SAN FRANCISCO             CA
138433   SADCJ2FX9LA644366   Jaguar       F‐PACE              LAS VEGAS                 NV
138434   SADCJ2FX9LA644383   Jaguar       F‐PACE              DENVER                    CO
138435   SADCJ2FX9LA644416   Jaguar       F‐PACE              LOS ANGELES               CA
138436   SADCJ2FX9LA644626   Jaguar       F‐PACE              PORTLAND                  OR
138437   SADCJ2FX9LA644707   Jaguar       F‐PACE              SANTA ANA                 CA
138438   SADCJ2FX9LA645291   Jaguar       F‐PACE              ATLANTA                   GA
138439   SADCJ2FX9LA645324   Jaguar       F‐PACE              ATLANTA                   GA
138440   SADCJ2FX9LA645355   Jaguar       F‐PACE              CHARLOTTE                 NC
138441   SADCJ2FX9LA645436   Jaguar       F‐PACE              ATLANTA                   GA
138442   SADCJ2FX9LA645498   Jaguar       F‐PACE              PHILADELPHIA              PA
138443   SADCJ2FX9LA645534   Jaguar       F‐PACE              FORT MYERS                FL
138444   SADCJ2FX9LA645615   Jaguar       F‐PACE              ORLANDO                   FL
138445   SADCJ2FX9LA645646   Jaguar       F‐PACE              CHARLOTTE                 NC
138446   SADCJ2FX9LA645694   Jaguar       F‐PACE              Atlanta                   GA
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138447   SADCJ2FX9LA645811   Jaguar       F‐PACE              STERLING                  VA
138448   SADCJ2FX9LA645890   Jaguar       F‐PACE              HARTFORD                  CT
138449   SADCJ2FX9LA645906   Jaguar       F‐PACE              BURBANK                   CA
138450   SADCJ2FXXKA601671   Jaguar       F‐PACE              MIAMI                     FL
138451   SADCJ2FXXKA601721   Jaguar       F‐PACE              DES PLAINES               US
138452   SADCJ2FXXKA601752   Jaguar       F‐PACE              W DEPTFORD                NJ
138453   SADCJ2FXXKA601783   Jaguar       F‐PACE              RONKONKOMA                NY
138454   SADCJ2FXXKA601878   Jaguar       F‐PACE              KNOXVILLE                 TN
138455   SADCJ2FXXKA601895   Jaguar       F‐PACE              SAN FRANCISCO             CA
138456   SADCJ2FXXKA602044   Jaguar       F‐PACE              EL SEGUNDO                CA
138457   SADCJ2FXXKA602142   Jaguar       F‐PACE              DAYTONA BEACH             FL
138458   SADCJ2FXXKA602187   Jaguar       F‐PACE              Stone Mountain            GA
138459   SADCJ2FXXKA603209   Jaguar       F‐PACE              Anaheim                   CA
138460   SADCJ2FXXKA603338   Jaguar       F‐PACE              JACKSON                   MS
138461   SADCJ2FXXKA605719   Jaguar       F‐PACE              SANTA ANA                 CA
138462   SADCJ2FXXKA605722   Jaguar       F‐PACE              PHOENIX                   AZ
138463   SADCJ2FXXLA644361   Jaguar       F‐PACE              LAS VEGAS                 NV
138464   SADCJ2FXXLA644408   Jaguar       F‐PACE              CHICAGO                   IL
138465   SADCJ2FXXLA644523   Jaguar       F‐PACE              DENVER                    CO
138466   SADCJ2FXXLA644537   Jaguar       F‐PACE              LAS VEGAS                 NV
138467   SADCJ2FXXLA644554   Jaguar       F‐PACE              LAS VEGAS                 NV
138468   SADCJ2FXXLA645333   Jaguar       F‐PACE              MALDEN                    MA
138469   SADCJ2FXXLA645347   Jaguar       F‐PACE              WEST PALM BEACH           FL
138470   SADCJ2FXXLA645378   Jaguar       F‐PACE              Miami                     FL
138471   SADCJ2FXXLA645476   Jaguar       F‐PACE              DENVER                    CO
138472   SADCJ2FXXLA645560   Jaguar       F‐PACE              BOSTON                    MA
138473   SADCJ2FXXLA645607   Jaguar       F‐PACE              WARWICK                   RI
138474   SADCJ2FXXLA645641   Jaguar       F‐PACE              RALIEGH                   NC
138475   SADCJ2FXXLA645669   Jaguar       F‐PACE              Miami                     FL
138476   SADCJ2FXXLA645672   Jaguar       F‐PACE              STERLING                  VA
138477   SADCS2FX0KA601644   Jaguar       F‐PACE              LOS ANGELES               CA
138478   SADCS2FX0KA601658   Jaguar       F‐PACE              PHILADELPHIA              PA
138479   SADCS2FX0KA601661   Jaguar       F‐PACE              NASHVILLE                 TN
138480   SADCS2FX0KA601787   Jaguar       F‐PACE              BOSTON                    MA
138481   SADCS2FX0KA601837   Jaguar       F‐PACE              North Dighton             MA
138482   SADCS2FX0KA601854   Jaguar       F‐PACE              ORLANDO                   FL
138483   SADCS2FX0KA602177   Jaguar       F‐PACE              STERLING                  VA
138484   SADCS2FX0KA603023   Jaguar       F‐PACE              PHOENIX                   AZ
138485   SADCS2FX0KA606486   Jaguar       F‐PACE              DENVER                    CO
138486   SADCS2FX0KA606505   Jaguar       F‐PACE              DENVER                    CO
138487   SADCS2FX0KA606519   Jaguar       F‐PACE              SAINT PAUL                MN
138488   SADCS2FX0KA606746   Jaguar       F‐PACE              DALLAS                    TX
138489   SADCS2FX0LA639540   Jaguar       F‐PACE              WEST PALM BEACH           FL
138490   SADCS2FX0LA642972   Jaguar       F‐PACE              ORLANDO                   FL
138491   SADCS2FX0LA643068   Jaguar       F‐PACE              ORLANDO                   FL
138492   SADCS2FX0LA643202   Jaguar       F‐PACE              ORLANDO                   FL
138493   SADCS2FX0LA643264   Jaguar       F‐PACE              MIAMI                     FL
138494   SADCS2FX0LA643295   Jaguar       F‐PACE              DENVER                    CO
138495   SADCS2FX0LA644074   Jaguar       F‐PACE              ONTARIO                   CA
138496   SADCS2FX0LA644155   Jaguar       F‐PACE              PHOENIX                   AZ
138497   SADCS2FX0LA644284   Jaguar       F‐PACE              FORT MYERS                FL
138498   SADCS2FX0LA644320   Jaguar       F‐PACE              LOS ANGELES               CA
138499   SADCS2FX0LA644561   Jaguar       F‐PACE              LOS ANGELES               CA
138500   SADCS2FX0LA644575   Jaguar       F‐PACE              LOS ANGELES               CA
138501   SADCS2FX0LA644690   Jaguar       F‐PACE              LOS ANGELES               CA
138502   SADCS2FX0LA644740   Jaguar       F‐PACE              SEATAC                    WA
138503   SADCS2FX0LA644771   Jaguar       F‐PACE              PORTLAND                  OR
138504   SADCS2FX0LA644821   Jaguar       F‐PACE              LAS VEGAS                 NV
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138505   SADCS2FX0LA645287   Jaguar       F‐PACE              PHOENIX                   AZ
138506   SADCS2FX0LA645421   Jaguar       F‐PACE              BOSTON                    MA
138507   SADCS2FX0LA645502   Jaguar       F‐PACE              CHARLESTON                SC
138508   SADCS2FX0LA645516   Jaguar       F‐PACE              CHARLESTON                SC
138509   SADCS2FX0LA645676   Jaguar       F‐PACE              PORTLAND                  ME
138510   SADCS2FX0LA645757   Jaguar       F‐PACE              CHARLESTON                SC
138511   SADCS2FX0LA645810   Jaguar       F‐PACE              OAKLAND                   CA
138512   SADCS2FX0LA645869   Jaguar       F‐PACE              STERLING                  VA
138513   SADCS2FX0LA645872   Jaguar       F‐PACE              NEWARK                    NJ
138514   SADCS2FX1KA601667   Jaguar       F‐PACE              LOS ANGELES               CA
138515   SADCS2FX1KA601684   Jaguar       F‐PACE              FORT MYERS                FL
138516   SADCS2FX1KA601698   Jaguar       F‐PACE              FORT LAUDERDALE           FL
138517   SADCS2FX1KA601703   Jaguar       F‐PACE              MIAMI                     FL
138518   SADCS2FX1KA601717   Jaguar       F‐PACE              MIAMI                     FL
138519   SADCS2FX1KA601720   Jaguar       F‐PACE              ROCHESTER                 NY
138520   SADCS2FX1KA601779   Jaguar       F‐PACE              SACRAMENTO                CA
138521   SADCS2FX1KA601815   Jaguar       F‐PACE              BOSTON                    MA
138522   SADCS2FX1KA601927   Jaguar       F‐PACE              WEST PALM BEACH           FL
138523   SADCS2FX1KA601961   Jaguar       F‐PACE              SAINT PAUL                MN
138524   SADCS2FX1KA602088   Jaguar       F‐PACE              BOSTON                    MA
138525   SADCS2FX1KA602124   Jaguar       F‐PACE              BIRMINGHAN                AL
138526   SADCS2FX1KA602219   Jaguar       F‐PACE              BALTIMORE                 MD
138527   SADCS2FX1KA602284   Jaguar       F‐PACE              RONKONKOMA                NY
138528   SADCS2FX1KA603905   Jaguar       F‐PACE              SACRAMENTO                CA
138529   SADCS2FX1KA604018   Jaguar       F‐PACE              SAN DIEGO                 CA
138530   SADCS2FX1KA605685   Jaguar       F‐PACE              SACRAMENTO                CA
138531   SADCS2FX1KA605704   Jaguar       F‐PACE              SAN FRANCISCO             CA
138532   SADCS2FX1KA605802   Jaguar       F‐PACE              SAN DIEGO                 CA
138533   SADCS2FX1KA605850   Jaguar       F‐PACE              DENVER                    CO
138534   SADCS2FX1LA639451   Jaguar       F‐PACE              WEST PALM BEACH           FL
138535   SADCS2FX1LA640681   Jaguar       F‐PACE              FORT MYERS                FL
138536   SADCS2FX1LA642933   Jaguar       F‐PACE              MIAMI                     FL
138537   SADCS2FX1LA643189   Jaguar       F‐PACE              ORLANDO                   FL
138538   SADCS2FX1LA643192   Jaguar       F‐PACE              ORLANDO                   FL
138539   SADCS2FX1LA644228   Jaguar       F‐PACE              SACRAMENTO                CA
138540   SADCS2FX1LA644360   Jaguar       F‐PACE              SAN FRANCISCO             CA
138541   SADCS2FX1LA644410   Jaguar       F‐PACE              DENVER                    CO
138542   SADCS2FX1LA644438   Jaguar       F‐PACE              DENVER                    CO
138543   SADCS2FX1LA644455   Jaguar       F‐PACE              SAN FRANCISCO             CA
138544   SADCS2FX1LA644620   Jaguar       F‐PACE              FORT MYERS                FL
138545   SADCS2FX1LA644634   Jaguar       F‐PACE              LOS ANGELES               CA
138546   SADCS2FX1LA644648   Jaguar       F‐PACE              LOS ANGELES               CA
138547   SADCS2FX1LA644794   Jaguar       F‐PACE              SACRAMENTO                CA
138548   SADCS2FX1LA645279   Jaguar       F‐PACE              DALLAS                    TX
138549   SADCS2FX1LA645489   Jaguar       F‐PACE              AUSTIN                    TX
138550   SADCS2FX1LA645637   Jaguar       F‐PACE              CHARLESTON                SC
138551   SADCS2FX1LA645654   Jaguar       F‐PACE              MYRTLE BEACH              SC
138552   SADCS2FX1LA645721   Jaguar       F‐PACE              ORLANDO                   FL
138553   SADCS2FX1LA645783   Jaguar       F‐PACE              STERLING                  VA
138554   SADCS2FX1LA645833   Jaguar       F‐PACE              FORT MYERS                FL
138555   SADCS2FX1LA645850   Jaguar       F‐PACE              CHARLOTTE                 NC
138556   SADCS2FX1LA645895   Jaguar       F‐PACE              PHILADELPHIA              PA
138557   SADCS2FX2KA601645   Jaguar       F‐PACE              ORLANDO                   FL
138558   SADCS2FX2KA601693   Jaguar       F‐PACE              SYRACUSE                  NY
138559   SADCS2FX2KA601709   Jaguar       F‐PACE              BURBANK                   CA
138560   SADCS2FX2KA601757   Jaguar       F‐PACE              NEW BERN                  NC
138561   SADCS2FX2KA601760   Jaguar       F‐PACE              ALEXANDRIA                VA
138562   SADCS2FX2KA601869   Jaguar       F‐PACE              HARTFORD                  CT
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138563   SADCS2FX2KA601886   Jaguar       F‐PACE              WOODSON TERRACE           MO
138564   SADCS2FX2KA601922   Jaguar       F‐PACE              FORT LAUDERDALE           FL
138565   SADCS2FX2KA601970   Jaguar       F‐PACE              PITTSBURGH                PA
138566   SADCS2FX2KA602018   Jaguar       F‐PACE              WEST PALM BEACH           FL
138567   SADCS2FX2KA602035   Jaguar       F‐PACE              BALTIMORE                 MD
138568   SADCS2FX2KA602228   Jaguar       F‐PACE              Clearwater                FL
138569   SADCS2FX2KA602293   Jaguar       F‐PACE              CHARLESTON                SC
138570   SADCS2FX2KA602830   Jaguar       F‐PACE              LOS ANGELES               CA
138571   SADCS2FX2KA603119   Jaguar       F‐PACE              SAINT PAUL                MN
138572   SADCS2FX2KA605145   Jaguar       F‐PACE              ONTARIO                   CA
138573   SADCS2FX2KA605372   Jaguar       F‐PACE              LAS VEGAS                 NV
138574   SADCS2FX2KA605646   Jaguar       F‐PACE              INDIANAPOLIS              IN
138575   SADCS2FX2KA605663   Jaguar       F‐PACE              LAS VEGAS                 NV
138576   SADCS2FX2KA605727   Jaguar       F‐PACE              ONTARIO                   CA
138577   SADCS2FX2KA605758   Jaguar       F‐PACE              LOS ANGELES               CA
138578   SADCS2FX2KA605999   Jaguar       F‐PACE              Dallas                    TX
138579   SADCS2FX2KA606070   Jaguar       F‐PACE              LOS ANGELES               CA
138580   SADCS2FX2LA639278   Jaguar       F‐PACE              TAMPA                     FL
138581   SADCS2FX2LA642889   Jaguar       F‐PACE              TAMPA                     FL
138582   SADCS2FX2LA642892   Jaguar       F‐PACE              MIAMI                     FL
138583   SADCS2FX2LA643170   Jaguar       F‐PACE              DENVER                    CO
138584   SADCS2FX2LA643184   Jaguar       F‐PACE              FORT LAUDERDALE           FL
138585   SADCS2FX2LA643265   Jaguar       F‐PACE              FORT LAUDERDALE           FL
138586   SADCS2FX2LA643492   Jaguar       F‐PACE              MIAMI                     FL
138587   SADCS2FX2LA644402   Jaguar       F‐PACE              PORTLAND                  OR
138588   SADCS2FX2LA644528   Jaguar       F‐PACE              LAS VEGAS                 NV
138589   SADCS2FX2LA644657   Jaguar       F‐PACE              PORTLAND                  OR
138590   SADCS2FX2LA644853   Jaguar       F‐PACE              SAN JOSE                  CA
138591   SADCS2FX2LA645310   Jaguar       F‐PACE              PHILADELPHIA              PA
138592   SADCS2FX2LA645405   Jaguar       F‐PACE              ALBANY                    N
138593   SADCS2FX2LA645467   Jaguar       F‐PACE              AUSTIN                    TX
138594   SADCS2FX2LA645680   Jaguar       F‐PACE              CHARLESTON                SC
138595   SADCS2FX2LA645761   Jaguar       F‐PACE              PHILADELPHIA              PA
138596   SADCS2FX2LA645775   Jaguar       F‐PACE              CHARLESTON                SC
138597   SADCS2FX2LA645839   Jaguar       F‐PACE              BOSTON                    MA
138598   SADCS2FX2LA645842   Jaguar       F‐PACE              Teterboro                 NJ
138599   SADCS2FX3KA600827   Jaguar       F‐PACE              BOSTON                    MA
138600   SADCS2FX3KA601685   Jaguar       F‐PACE              DETROIT                   MI
138601   SADCS2FX3KA601718   Jaguar       F‐PACE              HARTFORD                  CT
138602   SADCS2FX3KA601749   Jaguar       F‐PACE              MYRTLE BEACH              SC
138603   SADCS2FX3KA601797   Jaguar       F‐PACE              CHICAGO                   IL
138604   SADCS2FX3KA601850   Jaguar       F‐PACE              FORT LAUDERDALE           FL
138605   SADCS2FX3KA601959   Jaguar       F‐PACE              ORLANDO                   FL
138606   SADCS2FX3KA602013   Jaguar       F‐PACE              BLOOMINGTON               IL
138607   SADCS2FX3KA602092   Jaguar       F‐PACE              JAMAICA                   NY
138608   SADCS2FX3KA602190   Jaguar       F‐PACE              EAST BOSTON               MA
138609   SADCS2FX3KA602299   Jaguar       F‐PACE              North Dighton             MA
138610   SADCS2FX3KA603100   Jaguar       F‐PACE              SAN DIEGO                 CA
138611   SADCS2FX3KA605591   Jaguar       F‐PACE              PICO RIVERA               CA
138612   SADCS2FX3KA605641   Jaguar       F‐PACE              Phoenix                   AZ
138613   SADCS2FX3LA639225   Jaguar       F‐PACE              JACKSONVILLE              FL
138614   SADCS2FX3LA639578   Jaguar       F‐PACE              WINTER PARK               FL
138615   SADCS2FX3LA643114   Jaguar       F‐PACE              SARASOTA                  FL
138616   SADCS2FX3LA643159   Jaguar       F‐PACE              ORLANDO                   FL
138617   SADCS2FX3LA643307   Jaguar       F‐PACE              ORLANDO                   FL
138618   SADCS2FX3LA644327   Jaguar       F‐PACE              SAN FRANCISCO             CA
138619   SADCS2FX3LA644442   Jaguar       F‐PACE              BURBANK                   CA
138620   SADCS2FX3LA644456   Jaguar       F‐PACE              PORTLAND                  OR
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138621   SADCS2FX3LA644506   Jaguar       F‐PACE              PORTLAND                  OR
138622   SADCS2FX3LA644568   Jaguar       F‐PACE              SAN DIEGO                 CA
138623   SADCS2FX3LA644716   Jaguar       F‐PACE              SAN DIEGO                 CA
138624   SADCS2FX3LA645087   Jaguar       F‐PACE              BOSTON, LOGAN AP          MA
138625   SADCS2FX3LA645185   Jaguar       F‐PACE              AUSTIN                    TX
138626   SADCS2FX3LA645204   Jaguar       F‐PACE              MIAMI                     FL
138627   SADCS2FX3LA645221   Jaguar       F‐PACE              CHARLESTON                SC
138628   SADCS2FX3LA645381   Jaguar       F‐PACE              CHARLOTTE                 NC
138629   SADCS2FX3LA645431   Jaguar       F‐PACE              LAS VEGAS                 NV
138630   SADCS2FX3LA645459   Jaguar       F‐PACE              Atlanta                   GA
138631   SADCS2FX3LA645610   Jaguar       F‐PACE              NEWARK                    NJ
138632   SADCS2FX3LA645798   Jaguar       F‐PACE              STERLING                  VA
138633   SADCS2FX3LA645803   Jaguar       F‐PACE              CHARLOTTE                 NC
138634   SADCS2FX3LA645817   Jaguar       F‐PACE              BOSTON                    MA
138635   SADCS2FX3LA645834   Jaguar       F‐PACE              PHILADELPHIA              PA
138636   SADCS2FX4KA601744   Jaguar       F‐PACE              ONTARIO, RIVERSIDE        CA
138637   SADCS2FX4KA601839   Jaguar       F‐PACE              LOS ANGELES               CA
138638   SADCS2FX4KA601968   Jaguar       F‐PACE              DAYTONA BEACH             FL
138639   SADCS2FX4KA602182   Jaguar       F‐PACE              WEST PALM BEACH           FL
138640   SADCS2FX4KA605552   Jaguar       F‐PACE              SAN FRANCISCO             CA
138641   SADCS2FX4KA605731   Jaguar       F‐PACE              KANSAS CITY               MO
138642   SADCS2FX4KA605745   Jaguar       F‐PACE              PALM SPRINGS              CA
138643   SADCS2FX4KA605793   Jaguar       F‐PACE              LAS VEGAS                 NV
138644   SADCS2FX4KA606460   Jaguar       F‐PACE              Colorado Spring           CO
138645   SADCS2FX4KA606510   Jaguar       F‐PACE              DENVER                    CO
138646   SADCS2FX4LA643011   Jaguar       F‐PACE              RALEIGH                   NC
138647   SADCS2FX4LA643199   Jaguar       F‐PACE              DENVER                    CO
138648   SADCS2FX4LA643204   Jaguar       F‐PACE              ORLANDO                   FL
138649   SADCS2FX4LA643297   Jaguar       F‐PACE              WINTER PARK               FL
138650   SADCS2FX4LA643476   Jaguar       F‐PACE              PENSACOLA                 FL
138651   SADCS2FX4LA644403   Jaguar       F‐PACE              PORTLAND                  OR
138652   SADCS2FX4LA644451   Jaguar       F‐PACE              SEATAC                    WA
138653   SADCS2FX4LA644482   Jaguar       F‐PACE              LOS ANGELES               CA
138654   SADCS2FX4LA645325   Jaguar       F‐PACE              SAN FRANCISCO             CA
138655   SADCS2FX4LA645440   Jaguar       F‐PACE              NEWARK                    NJ
138656   SADCS2FX4LA645549   Jaguar       F‐PACE              STERLING                  VA
138657   SADCS2FX4LA645633   Jaguar       F‐PACE              NEW YORK CITY             NY
138658   SADCS2FX4LA645650   Jaguar       F‐PACE              CHARLESTON                SC
138659   SADCS2FX4LA645714   Jaguar       F‐PACE              CHARLESTON                SC
138660   SADCS2FX4LA645888   Jaguar       F‐PACE              RALEIGH                   NC
138661   SADCS2FX4LA645891   Jaguar       F‐PACE              NEW YORK CITY             NY
138662   SADCS2FX5KA601820   Jaguar       F‐PACE              STERLING                  VA
138663   SADCS2FX5KA601882   Jaguar       F‐PACE              NORFOLK                   VA
138664   SADCS2FX5KA601929   Jaguar       F‐PACE              FORT MYERS                FL
138665   SADCS2FX5KA602076   Jaguar       F‐PACE              SAINT PAUL                MN
138666   SADCS2FX5KA602983   Jaguar       F‐PACE              DENVER                    CO
138667   SADCS2FX5KA603423   Jaguar       F‐PACE              PORTLAND                  OR
138668   SADCS2FX5KA603647   Jaguar       F‐PACE              SALT LAKE CITY            US
138669   SADCS2FX5KA604510   Jaguar       F‐PACE              DENVER                    CO
138670   SADCS2FX5KA605639   Jaguar       F‐PACE              SEATAC                    WA
138671   SADCS2FX5KA606080   Jaguar       F‐PACE              DENVER                    CO
138672   SADCS2FX5KA606760   Jaguar       F‐PACE              BURBANK                   CA
138673   SADCS2FX5LA639274   Jaguar       F‐PACE              TAMPA                     FL
138674   SADCS2FX5LA642885   Jaguar       F‐PACE              MIAMI                     FL
138675   SADCS2FX5LA642935   Jaguar       F‐PACE              TAMPA                     US
138676   SADCS2FX5LA643079   Jaguar       F‐PACE              ORLANDO                   FL
138677   SADCS2FX5LA643163   Jaguar       F‐PACE              ORLANDO                   FL
138678   SADCS2FX5LA643194   Jaguar       F‐PACE              MIAMI                     FL
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138679   SADCS2FX5LA643244   Jaguar       F‐PACE              DENVER                    CO
138680   SADCS2FX5LA643325   Jaguar       F‐PACE              ORLANDO                   FL
138681   SADCS2FX5LA644149   Jaguar       F‐PACE              SEATAC                    WA
138682   SADCS2FX5LA644152   Jaguar       F‐PACE              SEATAC                    WA
138683   SADCS2FX5LA644233   Jaguar       F‐PACE              SEATAC                    WA
138684   SADCS2FX5LA644443   Jaguar       F‐PACE              LAS VEGAS                 NV
138685   SADCS2FX5LA644457   Jaguar       F‐PACE              LOS ANGELES               CA
138686   SADCS2FX5LA644734   Jaguar       F‐PACE              LOS ANGELES               CA
138687   SADCS2FX5LA644751   Jaguar       F‐PACE              LOS ANGELES               CA
138688   SADCS2FX5LA644796   Jaguar       F‐PACE              ATLANTA                   GA
138689   SADCS2FX5LA645236   Jaguar       F‐PACE              CHARLOTTE                 NC
138690   SADCS2FX5LA645365   Jaguar       F‐PACE              CHARLESTON                SC
138691   SADCS2FX5LA645382   Jaguar       F‐PACE              HARTFORD                  CT
138692   SADCS2FX5LA645494   Jaguar       F‐PACE              BRONX                     NY
138693   SADCS2FX5LA645527   Jaguar       F‐PACE              AUSTIN                    TX
138694   SADCS2FX5LA645611   Jaguar       F‐PACE              SAN FRANCISCO             CA
138695   SADCS2FX5LA645835   Jaguar       F‐PACE              LOUISVILLE                KY
138696   SADCS2FX5LA645849   Jaguar       F‐PACE              AUSTIN                    TX
138697   SADCS2FX5LA645902   Jaguar       F‐PACE              BOSTON                    MA
138698   SADCS2FX6KA601695   Jaguar       F‐PACE              MIAMI                     FL
138699   SADCS2FX6KA601700   Jaguar       F‐PACE              OAKLAND                   CA
138700   SADCS2FX6KA601731   Jaguar       F‐PACE              DES MOINES                IA
138701   SADCS2FX6KA601776   Jaguar       F‐PACE              PARAMUS                   US
138702   SADCS2FX6KA601826   Jaguar       F‐PACE              STERLING                  VA
138703   SADCS2FX6KA601860   Jaguar       F‐PACE              TAMPA                     FL
138704   SADCS2FX6KA601907   Jaguar       F‐PACE              PORTLAND                  ME
138705   SADCS2FX6KA601938   Jaguar       F‐PACE              STERLING                  VA
138706   SADCS2FX6KA601955   Jaguar       F‐PACE              ORLANDO                   FL
138707   SADCS2FX6KA602071   Jaguar       F‐PACE              MANCHESTER                US
138708   SADCS2FX6KA602135   Jaguar       F‐PACE              NEW BERN                  NC
138709   SADCS2FX6KA602149   Jaguar       F‐PACE              HARTFORD                  CT
138710   SADCS2FX6KA602295   Jaguar       F‐PACE              DENVER                    CO
138711   SADCS2FX6KA603124   Jaguar       F‐PACE              DENVER                    CO
138712   SADCS2FX6KA603818   Jaguar       F‐PACE              DENVER                    CO
138713   SADCS2FX6KA605651   Jaguar       F‐PACE              LOS ANGELES               CA
138714   SADCS2FX6LA642989   Jaguar       F‐PACE              FT. LAUDERDALE            FL
138715   SADCS2FX6LA643303   Jaguar       F‐PACE              NEWARK                    NJ
138716   SADCS2FX6LA644211   Jaguar       F‐PACE              LOS ANGELES               CA
138717   SADCS2FX6LA644290   Jaguar       F‐PACE              SAN FRANCISCO             CA
138718   SADCS2FX6LA644399   Jaguar       F‐PACE              SAN FRANCISCO             CA
138719   SADCS2FX6LA644452   Jaguar       F‐PACE              SEATAC                    WA
138720   SADCS2FX6LA644614   Jaguar       F‐PACE              LAS VEGAS                 NV
138721   SADCS2FX6LA644743   Jaguar       F‐PACE              DENVER                    CO
138722   SADCS2FX6LA645200   Jaguar       F‐PACE              BOSTON                    MA
138723   SADCS2FX6LA645584   Jaguar       F‐PACE              PHILADELPHIA              PA
138724   SADCS2FX6LA645715   Jaguar       F‐PACE              SAN FRANCISCO             CA
138725   SADCS2FX6LA645830   Jaguar       F‐PACE              AUSTIN                    TX
138726   SADCS2FX7KA601690   Jaguar       F‐PACE              GREENSBORO                NC
138727   SADCS2FX7KA601706   Jaguar       F‐PACE              BOSTON                    MA
138728   SADCS2FX7KA601723   Jaguar       F‐PACE              Teterboro                 NJ
138729   SADCS2FX7KA601916   Jaguar       F‐PACE              SAN DIEGO                 CA
138730   SADCS2FX7KA601981   Jaguar       F‐PACE              SARASOTA                  FL
138731   SADCS2FX7KA602175   Jaguar       F‐PACE              Teterboro                 NJ
138732   SADCS2FX7KA604623   Jaguar       F‐PACE              DENVER                    CO
138733   SADCS2FX7KA604900   Jaguar       F‐PACE              DENVER                    CO
138734   SADCS2FX7KA605724   Jaguar       F‐PACE              SAN DIEGO                 CA
138735   SADCS2FX7KA606016   Jaguar       F‐PACE              LOS ANGELES AP            CA
138736   SADCS2FX7KA606498   Jaguar       F‐PACE              DENVER                    CO
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138737   SADCS2FX7LA643181   Jaguar       F‐PACE              DENVER                    CO
138738   SADCS2FX7LA643391   Jaguar       F‐PACE              ORLANDO                   FL
138739   SADCS2FX7LA644234   Jaguar       F‐PACE              LOS ANGELES               CA
138740   SADCS2FX7LA644380   Jaguar       F‐PACE              PICO RIVERA               CA
138741   SADCS2FX7LA644492   Jaguar       F‐PACE              SEATAC                    WA
138742   SADCS2FX7LA644590   Jaguar       F‐PACE              LOUISVILLE                KY
138743   SADCS2FX7LA644640   Jaguar       F‐PACE              Cerritos                  CA
138744   SADCS2FX7LA644671   Jaguar       F‐PACE              LOS ANGELES               CA
138745   SADCS2FX7LA644685   Jaguar       F‐PACE              SEATAC                    WA
138746   SADCS2FX7LA644783   Jaguar       F‐PACE              SAN DIEGO                 CA
138747   SADCS2FX7LA644816   Jaguar       F‐PACE              DENVER                    CO
138748   SADCS2FX7LA645156   Jaguar       F‐PACE              RONKONKOMA                NY
138749   SADCS2FX7LA645237   Jaguar       F‐PACE              PHILADELPHIA              PA
138750   SADCS2FX7LA645304   Jaguar       F‐PACE              ROCHESTER                 NY
138751   SADCS2FX7LA645366   Jaguar       F‐PACE              BOSTON                    MA
138752   SADCS2FX7LA645464   Jaguar       F‐PACE              NEWARK                    NJ
138753   SADCS2FX7LA645495   Jaguar       F‐PACE              BOSTON                    MA
138754   SADCS2FX7LA645562   Jaguar       F‐PACE              BOSTON                    MA
138755   SADCS2FX7LA645657   Jaguar       F‐PACE              CHARLESTON                SC
138756   SADCS2FX7LA645738   Jaguar       F‐PACE              WHITE PLAINS              NY
138757   SADCS2FX7LA645819   Jaguar       F‐PACE              RALEIGH                   NC
138758   SADCS2FX7LA645822   Jaguar       F‐PACE              SOUTH SAN FRANC           CA
138759   SADCS2FX7LA645884   Jaguar       F‐PACE              STERLING                  VA
138760   SADCS2FX8KA601665   Jaguar       F‐PACE              STERLING                  US
138761   SADCS2FX8KA601746   Jaguar       F‐PACE              WHITE PLAINS              NY
138762   SADCS2FX8KA601763   Jaguar       F‐PACE              MIAMI                     FL
138763   SADCS2FX8KA601892   Jaguar       F‐PACE              WARWICK                   RI
138764   SADCS2FX8KA601911   Jaguar       F‐PACE              SAINT LOUIS               MO
138765   SADCS2FX8KA602010   Jaguar       F‐PACE              JACKSONVILLE              FL
138766   SADCS2FX8KA602153   Jaguar       F‐PACE              PHILADELPHIA              PA
138767   SADCS2FX8KA602993   Jaguar       F‐PACE              Ocoee                     FL
138768   SADCS2FX8KA603867   Jaguar       F‐PACE              DENVER                    CO
138769   SADCS2FX8KA603884   Jaguar       F‐PACE              DENVER                    CO
138770   SADCS2FX8KA605697   Jaguar       F‐PACE              TUCSON                    AZ
138771   SADCS2FX8KA605778   Jaguar       F‐PACE              LOS ANGELES               CA
138772   SADCS2FX8KA606011   Jaguar       F‐PACE              DENVER                    CO
138773   SADCS2FX8LA642976   Jaguar       F‐PACE              FORT MYERS                FL
138774   SADCS2FX8LA643187   Jaguar       F‐PACE              DENVER                    CO
138775   SADCS2FX8LA643206   Jaguar       F‐PACE              DENVER                    CO
138776   SADCS2FX8LA643237   Jaguar       F‐PACE              ORLANDO                   FL
138777   SADCS2FX8LA643268   Jaguar       F‐PACE              DENVER                    CO
138778   SADCS2FX8LA644145   Jaguar       F‐PACE              FORT MYERS                FL
138779   SADCS2FX8LA644162   Jaguar       F‐PACE              SEATAC                    WA
138780   SADCS2FX8LA644291   Jaguar       F‐PACE              SAN FRANCISCO             CA
138781   SADCS2FX8LA644372   Jaguar       F‐PACE              PORTLAND                  OR
138782   SADCS2FX8LA644386   Jaguar       F‐PACE              DENVER                    CO
138783   SADCS2FX8LA644470   Jaguar       F‐PACE              DENVER                    CO
138784   SADCS2FX8LA644503   Jaguar       F‐PACE              DENVER                    CO
138785   SADCS2FX8LA644548   Jaguar       F‐PACE              DENVER                    CO
138786   SADCS2FX8LA644596   Jaguar       F‐PACE              FORT MYERS                FL
138787   SADCS2FX8LA644789   Jaguar       F‐PACE              DENVER                    CO
138788   SADCS2FX8LA644792   Jaguar       F‐PACE              FORT MYERS                FL
138789   SADCS2FX8LA644811   Jaguar       F‐PACE              PORTLAND                  OR
138790   SADCS2FX8LA645246   Jaguar       F‐PACE              NEW YORK CITY             NY
138791   SADCS2FX8LA645425   Jaguar       F‐PACE              STERLING                  VA
138792   SADCS2FX8LA645439   Jaguar       F‐PACE              MANCHESTER                US
138793   SADCS2FX8LA645652   Jaguar       F‐PACE              CHARLOTTE                 NC
138794   SADCS2FX8LA645697   Jaguar       F‐PACE              SAN FRANCISCO             CA
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138795   SADCS2FX8LA645795   Jaguar       F‐PACE              ORLANDO                   FL
138796   SADCS2FX8LA645800   Jaguar       F‐PACE              NEW YORK CITY             NY
138797   SADCS2FX9KA601691   Jaguar       F‐PACE              JAMAICA                   NY
138798   SADCS2FX9KA601755   Jaguar       F‐PACE              MIAMI                     FL
138799   SADCS2FX9KA601836   Jaguar       F‐PACE              Pheonix                   AZ
138800   SADCS2FX9KA601867   Jaguar       F‐PACE              N. Palm Beach             FL
138801   SADCS2FX9KA601898   Jaguar       F‐PACE              FORT LAUDERDALE           FL
138802   SADCS2FX9KA601920   Jaguar       F‐PACE              LOS ANGELES               CA
138803   SADCS2FX9KA602016   Jaguar       F‐PACE              NEWARK                    NJ
138804   SADCS2FX9KA602033   Jaguar       F‐PACE              FORT LAUDERDALE           FL
138805   SADCS2FX9KA602131   Jaguar       F‐PACE              LOS ANGELES               CA
138806   SADCS2FX9KA602193   Jaguar       F‐PACE              Leesburg                  VA
138807   SADCS2FX9KA602260   Jaguar       F‐PACE              ATLANTA                   GA
138808   SADCS2FX9KA602310   Jaguar       F‐PACE              BOSTON                    MA
138809   SADCS2FX9KA602971   Jaguar       F‐PACE              DENVER                    CO
138810   SADCS2FX9KA603473   Jaguar       F‐PACE              DENVER                    CO
138811   SADCS2FX9KA604204   Jaguar       F‐PACE              GYPSUM                    CO
138812   SADCS2FX9KA605661   Jaguar       F‐PACE              SALT LAKE CITY            US
138813   SADCS2FX9KA606051   Jaguar       F‐PACE              DENVER                    CO
138814   SADCS2FX9LA643196   Jaguar       F‐PACE              JACKSONVILLE              FL
138815   SADCS2FX9LA643232   Jaguar       F‐PACE              ALBUQERQUE                NM
138816   SADCS2FX9LA643411   Jaguar       F‐PACE              SARASOTA                  FL
138817   SADCS2FX9LA644543   Jaguar       F‐PACE              SAN FRANCISCO             CA
138818   SADCS2FX9LA644767   Jaguar       F‐PACE              LAS VEGAS                 NV
138819   SADCS2FX9LA645238   Jaguar       F‐PACE              NEW ORLEANS               LA
138820   SADCS2FX9LA645420   Jaguar       F‐PACE              CHARLESTON                SC
138821   SADCS2FX9LA645532   Jaguar       F‐PACE              PHILADELPHIA              PA
138822   SADCS2FX9LA645675   Jaguar       F‐PACE              BOSTON                    MA
138823   SADCS2FX9LA645692   Jaguar       F‐PACE              NEWARK                    NJ
138824   SADCS2FX9LA645725   Jaguar       F‐PACE              SAVANNAH                  GA
138825   SADCS2FX9LA645787   Jaguar       F‐PACE              Atlanta                   GA
138826   SADCS2FX9LA645871   Jaguar       F‐PACE              PHILADELPHIA              PA
138827   SADCS2FXXKA601697   Jaguar       F‐PACE              STERLING                  VA
138828   SADCS2FXXKA601876   Jaguar       F‐PACE              PHILADELPHIA              PA
138829   SADCS2FXXKA602834   Jaguar       F‐PACE              Burlingame                CA
138830   SADCS2FXXKA603918   Jaguar       F‐PACE              LOS ANGELES               CA
138831   SADCS2FXXKA605670   Jaguar       F‐PACE              LOS ANGELES               CA
138832   SADCS2FXXKA605751   Jaguar       F‐PACE              SAN FRANCISCO             CA
138833   SADCS2FXXKA606480   Jaguar       F‐PACE              DENVER                    CO
138834   SADCS2FXXKA606494   Jaguar       F‐PACE              LAS VEGAS                 NV
138835   SADCS2FXXLA643403   Jaguar       F‐PACE              ORLANDO                   FL
138836   SADCS2FXXLA644096   Jaguar       F‐PACE              PORTLAND                  OR
138837   SADCS2FXXLA644258   Jaguar       F‐PACE              PORTLAND                  OR
138838   SADCS2FXXLA644373   Jaguar       F‐PACE              BURBANK                   CA
138839   SADCS2FXXLA644504   Jaguar       F‐PACE              LOS ANGELES               CA
138840   SADCS2FXXLA644521   Jaguar       F‐PACE              SEATAC                    WA
138841   SADCS2FXXLA644566   Jaguar       F‐PACE              SEATAC                    WA
138842   SADCS2FXXLA644647   Jaguar       F‐PACE              SANTA BARBARA             CA
138843   SADCS2FXXLA644695   Jaguar       F‐PACE              DENVER                    CO
138844   SADCS2FXXLA644731   Jaguar       F‐PACE              LOS ANGELES               CA
138845   SADCS2FXXLA644762   Jaguar       F‐PACE              CHATTANOOGA               TN
138846   SADCS2FXXLA644812   Jaguar       F‐PACE              SEATAC                    WA
138847   SADCS2FXXLA645314   Jaguar       F‐PACE              WARWICK                   RI
138848   SADCS2FXXLA645328   Jaguar       F‐PACE              PHILADELPHIA              PA
138849   SADCS2FXXLA645359   Jaguar       F‐PACE              FORT LAUDERDALE           FL
138850   SADCS2FXXLA645412   Jaguar       F‐PACE              BALTIMORE                 MD
138851   SADCS2FXXLA645538   Jaguar       F‐PACE              SAN JOSE                  CA
138852   SADCS2FXXLA645541   Jaguar       F‐PACE              BOSTON                    MA
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138853   SADCS2FXXLA645555   Jaguar       F‐PACE              CHARLESTON                SC
138854   SADCS2FXXLA645572   Jaguar       F‐PACE              BOSTON                    MA
138855   SADCS2FXXLA645684   Jaguar       F‐PACE              CHARLOTTE                 NC
138856   SADCS2FXXLA645779   Jaguar       F‐PACE              AUSTIN                    TX
138857   SADCS2FXXLA645815   Jaguar       F‐PACE              NEWARK                    NJ
138858   SADCS2FXXLA645846   Jaguar       F‐PACE              WHITE PLAINS              NY
138859   SAJAE4BG1HA966260   Jaguar       XE                  SAN FRANCISCO             CA
138860   SAJAE4BG4HA963501   Jaguar       XE                  Los Angeles               CA
138861   SAJAE4BG4HA966849   Jaguar       XE                  North Las Vegas           NV
138862   SAJAE4BG5HA965452   Jaguar       XE                  LOS ANGELES               CA
138863   SAJAE4BG6HA964875   Jaguar       XE                  SOUTH SAN FRANC           CA
138864   SAJAR4FX0KCP51673   Jaguar       XE                  BALTIMORE                 MD
138865   SAJAR4FX0KCP51737   Jaguar       XE                  Des Plaines               IL
138866   SAJAR4FX0KCP51804   Jaguar       XE                  SARASOTA                  FL
138867   SAJAR4FX0KCP52077   Jaguar       XE                  NEWARK                    NJ
138868   SAJAR4FX0KCP52211   Jaguar       XE                  CLEVELAND                 OH
138869   SAJAR4FX0KCP52659   Jaguar       XE                  Portland                  OR
138870   SAJAR4FX0KCP52662   Jaguar       XE                  LOS ANGELES               CA
138871   SAJAR4FX0KCP52743   Jaguar       XE                  CHARLOTTE                 NC
138872   SAJAR4FX0KCP52757   Jaguar       XE                  CHICAGO                   IL
138873   SAJAR4FX0KCP52788   Jaguar       XE                  BLOOMINGTON               IL
138874   SAJAR4FX1KCP51729   Jaguar       XE                  SAINT LOUIS               MO
138875   SAJAR4FX1KCP51746   Jaguar       XE                  NEWARK                    NJ
138876   SAJAR4FX1KCP52055   Jaguar       XE                  NEWARK                    NJ
138877   SAJAR4FX1KCP52363   Jaguar       XE                  FORT LAUDERDALE           FL
138878   SAJAR4FX1KCP52377   Jaguar       XE                  PORTLAND                  ME
138879   SAJAR4FX1KCP52380   Jaguar       XE                  SARASOTA                  FL
138880   SAJAR4FX1KCP52461   Jaguar       XE                  MIAMI                     FL
138881   SAJAR4FX1KCP52492   Jaguar       XE                  NEWARK                    NJ
138882   SAJAR4FX1KCP52766   Jaguar       XE                  LOS ANGELES               CA
138883   SAJAR4FX1KCP52783   Jaguar       XE                  OAKLAND                   CA
138884   SAJAR4FX1KCP52847   Jaguar       XE                  SALT LAKE CITY            US
138885   SAJAR4FX1KCP52864   Jaguar       XE                  FORT MYERS                FL
138886   SAJAR4FX2KCP51707   Jaguar       XE                  PITTSBURGH                PA
138887   SAJAR4FX2KCP51724   Jaguar       XE                  STERLING                  VA
138888   SAJAR4FX2KCP51786   Jaguar       XE                  BRONX                     NY
138889   SAJAR4FX2KCP51819   Jaguar       XE                  Austin                    TX
138890   SAJAR4FX2KCP51982   Jaguar       XE                  PITTSBURGH                PA
138891   SAJAR4FX2KCP52209   Jaguar       XE                  Jacksonville              FL
138892   SAJAR4FX2KCP52551   Jaguar       XE                  FORT LAUDERDALE           FL
138893   SAJAR4FX2KCP52579   Jaguar       XE                  WEST PALM BEACH           FL
138894   SAJAR4FX2KCP52601   Jaguar       XE                  FAYETTEVILLE              GA
138895   SAJAR4FX2KCP52615   Jaguar       XE                  ORLANDO                   FL
138896   SAJAR4FX2KCP52730   Jaguar       XE                  Rogersville               MO
138897   SAJAR4FX2KCP52761   Jaguar       XE                  SAN ANTONIO               TX
138898   SAJAR4FX2KCP52839   Jaguar       XE                  CLEVELAND                 OH
138899   SAJAR4FX2KCP52856   Jaguar       XE                  SAN JOSE                  CA
138900   SAJAR4FX2KCP52873   Jaguar       XE                  ATLANTA                   GA
138901   SAJAR4FX3KCP51781   Jaguar       XE                  STERLING                  VA
138902   SAJAR4FX3KCP51828   Jaguar       XE                  Leesburg                  VA
138903   SAJAR4FX3KCP51991   Jaguar       XE                  CLEVELAND                 OH
138904   SAJAR4FX3KCP52171   Jaguar       XE                  ST Paul                   MN
138905   SAJAR4FX3KCP52364   Jaguar       XE                  CLEVELAND                 OH
138906   SAJAR4FX3KCP52378   Jaguar       XE                  MIAMI                     FL
138907   SAJAR4FX3KCP52445   Jaguar       XE                  DANIA                     FL
138908   SAJAR4FX3KCP52462   Jaguar       XE                  BIRMINGHAM                AL
138909   SAJAR4FX3KCP52588   Jaguar       XE                  Clearwater                FL
138910   SAJAR4FX3KCP52705   Jaguar       XE                  SEATAC                    WA
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138911   SAJAR4FX3KCP52736   Jaguar       XE                  SAN DIEGO                 CA
138912   SAJAR4FX3KCP52770   Jaguar       XE                  ONTARIO                   CA
138913   SAJAR4FX3KCP52820   Jaguar       XE                  Dallas                    TX
138914   SAJAR4FX3KCP52929   Jaguar       XE                  LAS VEGAS                 NV
138915   SAJAR4FX4KCP51773   Jaguar       XE                  RICHMOND                  VA
138916   SAJAR4FX4KCP52079   Jaguar       XE                  Hebron                    KY
138917   SAJAR4FX4KCP52390   Jaguar       XE                  PHILADELPHIA              PA
138918   SAJAR4FX4KCP52437   Jaguar       XE                  FORT LAUDERDALE           FL
138919   SAJAR4FX4KCP52440   Jaguar       XE                  Tampa                     FL
138920   SAJAR4FX4KCP52468   Jaguar       XE                  ORLANDO                   FL
138921   SAJAR4FX4KCP52485   Jaguar       XE                  AMARILLO                  US
138922   SAJAR4FX4KCP52499   Jaguar       XE                  FORT LAUDERDALE           FL
138923   SAJAR4FX4KCP52535   Jaguar       XE                  WEST PALM BEACH           FL
138924   SAJAR4FX4KCP52664   Jaguar       XE                  CHICAGO                   IL
138925   SAJAR4FX4KCP52700   Jaguar       XE                  ALBUQUERQUE               NM
138926   SAJAR4FX4KCP52714   Jaguar       XE                  OAKLAND                   CA
138927   SAJAR4FX4KCP52793   Jaguar       XE                  LOS ANGELES               CA
138928   SAJAR4FX5KCP52043   Jaguar       XE                  SOUTHEAST DST OFFC        OK
138929   SAJAR4FX5KCP52124   Jaguar       XE                  RALIEGH                   NC
138930   SAJAR4FX5KCP52205   Jaguar       XE                  BALTIMORE                 MD
138931   SAJAR4FX5KCP52334   Jaguar       XE                  PANAMA CITY               FL
138932   SAJAR4FX5KCP52351   Jaguar       XE                  PHILADELPHIA              PA
138933   SAJAR4FX5KCP52415   Jaguar       XE                  NORFOLK                   VA
138934   SAJAR4FX5KCP52463   Jaguar       XE                  ATLANTA                   GA
138935   SAJAR4FX5KCP52477   Jaguar       XE                  FORT MYERS                FL
138936   SAJAR4FX5KCP52544   Jaguar       XE                  TAMPA                     FL
138937   SAJAR4FX5KCP52589   Jaguar       XE                  SALT LAKE CITY            UT
138938   SAJAR4FX5KCP52656   Jaguar       XE                  Kent                      WA
138939   SAJAR4FX5KCP52737   Jaguar       XE                  OAKLAND                   CA
138940   SAJAR4FX5KCP52799   Jaguar       XE                  DALLAS                    TX
138941   SAJAR4FX5KCP52804   Jaguar       XE                  FORT LAUDERDALE           FL
138942   SAJAR4FX5KCP52849   Jaguar       XE                  CHARLOTTE                 NC
138943   SAJAR4FX5KCP52866   Jaguar       XE                  Aurora                    CO
138944   SAJAR4FX5KCP52883   Jaguar       XE                  Cerritos                  CA
138945   SAJAR4FX5KCP52902   Jaguar       XE                  BURBANK                   CA
138946   SAJAR4FX6KCP51788   Jaguar       XE                  CHARLOTTE                 NC
138947   SAJAR4FX6KCP52018   Jaguar       XE                  NEWARK                    NJ
138948   SAJAR4FX6KCP52357   Jaguar       XE                  FORT MYERS                FL
138949   SAJAR4FX6KCP52407   Jaguar       XE                  Ft. Myers                 FL
138950   SAJAR4FX6KCP52472   Jaguar       XE                  Orlando                   FL
138951   SAJAR4FX6KCP52519   Jaguar       XE                  ORLANDO                   FL
138952   SAJAR4FX6KCP52567   Jaguar       XE                  PHOENIX                   AZ
138953   SAJAR4FX6KCP52570   Jaguar       XE                  Pheonix                   AZ
138954   SAJAR4FX6KCP52617   Jaguar       XE                  DAYTONA BEACH             FL
138955   SAJAR4FX6KCP52665   Jaguar       XE                  SAN FRANCISCO             CA
138956   SAJAR4FX6KCP52777   Jaguar       XE                  NORFOLK                   VA
138957   SAJAR4FX6KCP52813   Jaguar       XE                  SAN DIEGO                 CA
138958   SAJAR4FX6KCP52875   Jaguar       XE                  DENVER                    CO
138959   SAJAR4FX6KCP52889   Jaguar       XE                  LOS ANGELES               CA
138960   SAJAR4FX7KCP51668   Jaguar       XE                  LOUISVILLE                KY
138961   SAJAR4FX7KCP51749   Jaguar       XE                  DENVER                    CO
138962   SAJAR4FX7KCP51797   Jaguar       XE                  STERLING                  VA
138963   SAJAR4FX7KCP52061   Jaguar       XE                  CHARLOTTE                 NC
138964   SAJAR4FX7KCP52402   Jaguar       XE                  BIRMINGHAN                AL
138965   SAJAR4FX7KCP52447   Jaguar       XE                  CHICAGO                   IL
138966   SAJAR4FX7KCP52528   Jaguar       XE                  ORLANDO                   FL
138967   SAJAR4FX7KCP52545   Jaguar       XE                  WEST PALM BEACH           FL
138968   SAJAR4FX7KCP52559   Jaguar       XE                  FORT MYERS                FL
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138969   SAJAR4FX7KCP52576   Jaguar       XE                  ORLANDO                   FL
138970   SAJAR4FX7KCP52612   Jaguar       XE                  Burien                    WA
138971   SAJAR4FX7KCP52688   Jaguar       XE                  ALBUQERQUE                NM
138972   SAJAR4FX7KCP52805   Jaguar       XE                  RENO                      NV
138973   SAJAR4FX7KCP52951   Jaguar       XE                  Atlanta                   GA
138974   SAJAR4FX8KCP51677   Jaguar       XE                  MILWAUKEE                 WI
138975   SAJAR4FX8KCP51730   Jaguar       XE                  PHOENIX                   AZ
138976   SAJAR4FX8KCP52036   Jaguar       XE                  JAMAICA                   NY
138977   SAJAR4FX8KCP52067   Jaguar       XE                  MIAMI                     FL
138978   SAJAR4FX8KCP52196   Jaguar       XE                  Leesburg                  VA
138979   SAJAR4FX8KCP52229   Jaguar       XE                  CHICAGO                   IL
138980   SAJAR4FX8KCP52232   Jaguar       XE                  BOSTON                    MA
138981   SAJAR4FX8KCP52344   Jaguar       XE                  MIAMI                     FL
138982   SAJAR4FX8KCP52361   Jaguar       XE                  FORT MYERS                FL
138983   SAJAR4FX8KCP52375   Jaguar       XE                  CHEEKTOWAGA               NY
138984   SAJAR4FX8KCP52389   Jaguar       XE                  MIAMI                     FL
138985   SAJAR4FX8KCP52408   Jaguar       XE                  Jacksonville              FL
138986   SAJAR4FX8KCP52442   Jaguar       XE                  Tampa                     FL
138987   SAJAR4FX8KCP52456   Jaguar       XE                  TAMPA                     FL
138988   SAJAR4FX8KCP52473   Jaguar       XE                  HOUSTON                   TX
138989   SAJAR4FX8KCP52506   Jaguar       XE                  WEST PALM BEACH           FL
138990   SAJAR4FX8KCP52683   Jaguar       XE                  LAS VEGAS                 NV
138991   SAJAR4FX8KCP52750   Jaguar       XE                  FAYETTEVILLE              GA
138992   SAJAR4FX8KCP52795   Jaguar       XE                  HOUSTON                   TX
138993   SAJAR4FX8KCP52893   Jaguar       XE                  Portland                  OR
138994   SAJAR4FX9KCP51686   Jaguar       XE                  INDIANAPOLIS              IN
138995   SAJAR4FX9KCP51753   Jaguar       XE                  BUFFALO                   NY
138996   SAJAR4FX9KCP51770   Jaguar       XE                  DETROIT                   MI
138997   SAJAR4FX9KCP51784   Jaguar       XE                  CHICAGO O'HARE AP         IL
138998   SAJAR4FX9KCP51817   Jaguar       XE                  SAINT LOUIS               MO
138999   SAJAR4FX9KCP52207   Jaguar       XE                  BOSTON                    MA
139000   SAJAR4FX9KCP52384   Jaguar       XE                  INDIANAPOLIS              IN
139001   SAJAR4FX9KCP52398   Jaguar       XE                  MIAMI                     FL
139002   SAJAR4FX9KCP52420   Jaguar       XE                  Clearwater                FL
139003   SAJAR4FX9KCP52434   Jaguar       XE                  AUSTIN                    TX
139004   SAJAR4FX9KCP52451   Jaguar       XE                  BIRMINGHAN                AL
139005   SAJAR4FX9KCP52515   Jaguar       XE                  ORLANDO                   FL
139006   SAJAR4FX9KCP52546   Jaguar       XE                  ORLANDO                   FL
139007   SAJAR4FX9KCP52708   Jaguar       XE                  JACKSON                   WY
139008   SAJAR4FX9KCP52739   Jaguar       XE                  ORANGE COUNTY             CA
139009   SAJAR4FX9KCP52871   Jaguar       XE                  SACRAMENTO                CA
139010   SAJAR4FXXKCP51700   Jaguar       XE                  KNOXVILLE                 TN
139011   SAJAR4FXXKCP51728   Jaguar       XE                  STERLING                  US
139012   SAJAR4FXXKCP51793   Jaguar       XE                  NEWARK                    NJ
139013   SAJAR4FXXKCP51924   Jaguar       XE                  Philadelphia              PA
139014   SAJAR4FXXKCP51938   Jaguar       XE                  CHICAGO                   IL
139015   SAJAR4FXXKCP52023   Jaguar       XE                  PANAMA CITY               FL
139016   SAJAR4FXXKCP52331   Jaguar       XE                  BOSTON                    MA
139017   SAJAR4FXXKCP52359   Jaguar       XE                  TAMPA                     US
139018   SAJAR4FXXKCP52393   Jaguar       XE                  New York                  NY
139019   SAJAR4FXXKCP52491   Jaguar       XE                  TAMPA                     FL
139020   SAJAR4FXXKCP52555   Jaguar       XE                  Fontana                   CA
139021   SAJAR4FXXKCP52653   Jaguar       XE                  RONKONKOMA                NY
139022   SAJAR4FXXKCP52801   Jaguar       XE                  ORANGE COUNTY             CA
139023   SAJAR4FXXKCP52832   Jaguar       XE                  albuquerque               nm
139024   SAJAS4FX0KCP51662   Jaguar       XE                  STERLING                  VA
139025   SAJAS4FX0KCP51998   Jaguar       XE                  SAINT LOUIS               MO
139026   SAJAS4FX0KCP52388   Jaguar       XE                  PHILADELPHIA              PA
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139027   SAJAS4FX0KCP52455   Jaguar       XE                  LAS VEGAS                 NV
139028   SAJAS4FX0KCP52469   Jaguar       XE                  LAS VEGAS                 NV
139029   SAJAS4FX0KCP52486   Jaguar       XE                  KENNER                    LA
139030   SAJAS4FX0KCP52553   Jaguar       XE                  FORT MYERS                FL
139031   SAJAS4FX0KCP52598   Jaguar       XE                  DETROIT                   MI
139032   SAJAS4FX0KCP52620   Jaguar       XE                  SARASOTA                  FL
139033   SAJAS4FX0KCP52648   Jaguar       XE                  CHARLOTTE                 NC
139034   SAJAS4FX0KCP52651   Jaguar       XE                  DANIA                     FL
139035   SAJAS4FX0KCP52729   Jaguar       XE                  Manheim                   PA
139036   SAJAS4FX0KCP52763   Jaguar       XE                  BURBANK                   CA
139037   SAJAS4FX0KCP52794   Jaguar       XE                  SACRAMENTO                CA
139038   SAJAS4FX0KCP52858   Jaguar       XE                  SAN DIEGO                 CA
139039   SAJAS4FX0KCP52939   Jaguar       XE                  LOS ANGELES               CA
139040   SAJAS4FX0KCP52956   Jaguar       XE                  SAN FRANCISCO             CA
139041   SAJAS4FX1KCP51931   Jaguar       XE                  NEWARK                    NJ
139042   SAJAS4FX1KCP52223   Jaguar       XE                  Lynn                      MA
139043   SAJAS4FX1KCP52335   Jaguar       XE                  FORT MYERS                FL
139044   SAJAS4FX1KCP52366   Jaguar       XE                  TITUSVILLE                FL
139045   SAJAS4FX1KCP52383   Jaguar       XE                  ORLANDO                   FL
139046   SAJAS4FX1KCP52660   Jaguar       XE                  ALBUQERQUE                NM
139047   SAJAS4FX1KCP52738   Jaguar       XE                  Cerritos                  CA
139048   SAJAS4FX2KCP51789   Jaguar       XE                  JACKSONVILLE              FL
139049   SAJAS4FX2KCP51985   Jaguar       XE                  HANOVER                   MD
139050   SAJAS4FX2KCP52005   Jaguar       XE                  CLEVELAND                 OH
139051   SAJAS4FX2KCP52487   Jaguar       XE                  FORT LAUDERDALE           FL
139052   SAJAS4FX2KCP52585   Jaguar       XE                  Warminster                PA
139053   SAJAS4FX2KCP52635   Jaguar       XE                  PICO RIVERA               CA
139054   SAJAS4FX2KCP52702   Jaguar       XE                  BURBANK                   CA
139055   SAJAS4FX2KCP52747   Jaguar       XE                  LAS VEGAS                 NV
139056   SAJAS4FX2KCP52926   Jaguar       XE                  ATLANTA                   GA
139057   SAJAS4FX2KCP52943   Jaguar       XE                  LOS ANGELES               CA
139058   SAJAS4FX3KCP51719   Jaguar       XE                  STERLING                  VA
139059   SAJAS4FX3KCP51963   Jaguar       XE                  DETROIT                   MI
139060   SAJAS4FX3KCP52353   Jaguar       XE                  Phoenix                   AZ
139061   SAJAS4FX3KCP52367   Jaguar       XE                  DETROIT                   MI
139062   SAJAS4FX3KCP52417   Jaguar       XE                  LAFAYETTE                 LA
139063   SAJAS4FX3KCP52465   Jaguar       XE                  ORLANDO                   FL
139064   SAJAS4FX3KCP52532   Jaguar       XE                  FORT MYERS                FL
139065   SAJAS4FX3KCP52580   Jaguar       XE                  WEST PALM BEACH           FL
139066   SAJAS4FX3KCP52689   Jaguar       XE                  AUSTIN                    TX
139067   SAJAS4FX3KCP52773   Jaguar       XE                  SANTA CLARA               CA
139068   SAJAS4FX3KCP52823   Jaguar       XE                  SAN JOSE                  CA
139069   SAJAS4FX3KCP52935   Jaguar       XE                  DALLAS                    TX
139070   SAJAS4FX4KCP51759   Jaguar       XE                  CHARLOTTE                 US
139071   SAJAS4FX4KCP51809   Jaguar       XE                  Lynn                      MA
139072   SAJAS4FX4KCP51955   Jaguar       XE                  NEW YORK CITY             NY
139073   SAJAS4FX4KCP52362   Jaguar       XE                  Orlando                   FL
139074   SAJAS4FX4KCP52426   Jaguar       XE                  BALTIMORE                 MD
139075   SAJAS4FX4KCP52507   Jaguar       XE                  MIAMI                     FL
139076   SAJAS4FX4KCP52538   Jaguar       XE                  FORT MYERS                FL
139077   SAJAS4FX4KCP52541   Jaguar       XE                  Jacksonville              FL
139078   SAJAS4FX4KCP52605   Jaguar       XE                  Kent                      WA
139079   SAJAS4FX4KCP52619   Jaguar       XE                  Estero                    FL
139080   SAJAS4FX4KCP52717   Jaguar       XE                  LAS VEGAS                 NV
139081   SAJAS4FX4KCP52734   Jaguar       XE                  FRESNO                    CA
139082   SAJAS4FX4KCP52748   Jaguar       XE                  SAN DIEGO                 CA
139083   SAJAS4FX4KCP52815   Jaguar       XE                  SOUTH SAN FRANC           CA
139084   SAJAS4FX4KCP53009   Jaguar       XE                  LOS ANGELES               CA
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139085   SAJAS4FX5KCP52340   Jaguar       XE                  NEW YORK CITY             NY
139086   SAJAS4FX5KCP52371   Jaguar       XE                  WEST PALM BEACH           FL
139087   SAJAS4FX5KCP52404   Jaguar       XE                  MIAMI                     FL
139088   SAJAS4FX5KCP52418   Jaguar       XE                  LOS ANGELES               CA
139089   SAJAS4FX5KCP52435   Jaguar       XE                  WEST PALM BEACH           FL
139090   SAJAS4FX5KCP52449   Jaguar       XE                  FORT MYERS                FL
139091   SAJAS4FX5KCP52497   Jaguar       XE                  JACKSONVILLE              FL
139092   SAJAS4FX5KCP52502   Jaguar       XE                  TAMPA                     FL
139093   SAJAS4FX5KCP52600   Jaguar       XE                  NORFOLK                   VA
139094   SAJAS4FX5KCP52676   Jaguar       XE                  PORTLAND                  OR
139095   SAJAS4FX5KCP52712   Jaguar       XE                  LOS ANGELES               CA
139096   SAJAS4FX5KCP52774   Jaguar       XE                  SEATAC                    WA
139097   SAJAS4FX5KCP52936   Jaguar       XE                  PHOENIX                   AZ
139098   SAJAS4FX5KCP52953   Jaguar       XE                  LOS ANGELES               CA
139099   SAJAS4FX6KCP51813   Jaguar       XE                  CHARLOTTE                 NC
139100   SAJAS4FX6KCP52332   Jaguar       XE                  ONTARIO                   CA
139101   SAJAS4FX6KCP52346   Jaguar       XE                  SAN DIEGO                 CA
139102   SAJAS4FX6KCP52394   Jaguar       XE                  LOS ANGELES               CA
139103   SAJAS4FX6KCP52413   Jaguar       XE                  PHOENIX                   AZ
139104   SAJAS4FX6KCP52475   Jaguar       XE                  WEST PALM BEACH           FL
139105   SAJAS4FX6KCP52489   Jaguar       XE                  FORT MYERS                FL
139106   SAJAS4FX6KCP52511   Jaguar       XE                  JACKSONVILLE              FL
139107   SAJAS4FX6KCP52539   Jaguar       XE                  MIAMI                     FL
139108   SAJAS4FX6KCP52606   Jaguar       XE                  NORFOLK                   VA
139109   SAJAS4FX6KCP52668   Jaguar       XE                  LAS VEGAS                 NV
139110   SAJAS4FX6KCP52749   Jaguar       XE                  LOS ANGELES               CA
139111   SAJAS4FX6KCP52878   Jaguar       XE                  ATLANTA                   GA
139112   SAJAS4FX7KCP51688   Jaguar       XE                  Woodhaven                 MI
139113   SAJAS4FX7KCP52016   Jaguar       XE                  NEWARK                    NJ
139114   SAJAS4FX7KCP52033   Jaguar       XE                  RALIEGH                   NC
139115   SAJAS4FX7KCP52050   Jaguar       XE                  INDIANAPOLIS              IN
139116   SAJAS4FX7KCP52369   Jaguar       XE                  LAS VEGAS                 NV
139117   SAJAS4FX7KCP52386   Jaguar       XE                  DETROIT                   MI
139118   SAJAS4FX7KCP52422   Jaguar       XE                  BURBANK                   CA
139119   SAJAS4FX7KCP52453   Jaguar       XE                  SACRAMENTO                CA
139120   SAJAS4FX7KCP52467   Jaguar       XE                  ORLANDO                   FL
139121   SAJAS4FX7KCP52517   Jaguar       XE                  FORT LAUDERDALE           FL
139122   SAJAS4FX7KCP52596   Jaguar       XE                  FORT LAUDERDALE           FL
139123   SAJAS4FX7KCP52629   Jaguar       XE                  FORT MYERS                FL
139124   SAJAS4FX7KCP52677   Jaguar       XE                  PHILADELPHIA              PA
139125   SAJAS4FX7KCP52680   Jaguar       XE                  DALLAS                    TX
139126   SAJAS4FX7KCP52792   Jaguar       XE                  BURBANK                   CA
139127   SAJAS4FX7KCP52825   Jaguar       XE                  SAN DIEGO                 CA
139128   SAJAS4FX7KCP52842   Jaguar       XE                  Los Angeles               CA
139129   SAJAS4FX7KCP52937   Jaguar       XE                  OAKLAND                   CA
139130   SAJAS4FX8KCP51764   Jaguar       XE                  RALEIGH                   NC
139131   SAJAS4FX8KCP52008   Jaguar       XE                  CLEVELAND                 OH
139132   SAJAS4FX8KCP52039   Jaguar       XE                  RONKONKOMA                NY
139133   SAJAS4FX8KCP52350   Jaguar       XE                  HANOVER                   MD
139134   SAJAS4FX8KCP52414   Jaguar       XE                  Atlanta                   GA
139135   SAJAS4FX8KCP52428   Jaguar       XE                  Estero                    FL
139136   SAJAS4FX8KCP52431   Jaguar       XE                  ORLANDO                   FL
139137   SAJAS4FX8KCP52493   Jaguar       XE                  NEWARK                    NJ
139138   SAJAS4FX8KCP52509   Jaguar       XE                  LAS VEGAS                 NV
139139   SAJAS4FX8KCP52638   Jaguar       XE                  Kent                      WA
139140   SAJAS4FX8KCP52672   Jaguar       XE                  FORT LAUDERDALE           FL
139141   SAJAS4FX8KCP52686   Jaguar       XE                  Cerritos                  CA
139142   SAJAS4FX8KCP52719   Jaguar       XE                  TUCSON                    AZ
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139143   SAJAS4FX8KCP52879   Jaguar       XE                  Dallas                    TX
139144   SAJAS4FX8KCP52882   Jaguar       XE                  KENNER                    LA
139145   SAJAS4FX8KCP52946   Jaguar       XE                  BURBANK                   CA
139146   SAJAS4FX9KCP52339   Jaguar       XE                  Scottsdale                AZ
139147   SAJAS4FX9KCP52342   Jaguar       XE                  TAMPA                     US
139148   SAJAS4FX9KCP52356   Jaguar       XE                  RALIEGH                   NC
139149   SAJAS4FX9KCP52373   Jaguar       XE                  PORTLAND                  OR
139150   SAJAS4FX9KCP52504   Jaguar       XE                  FORT LAUDERDALE           FL
139151   SAJAS4FX9KCP52728   Jaguar       XE                  ONTARIO                   CA
139152   SAJAS4FX9KCP52776   Jaguar       XE                  LAS VEGAS                 NV
139153   SAJAS4FX9KCP52809   Jaguar       XE                  LOS ANGELES               CA
139154   SAJAS4FX9KCP52857   Jaguar       XE                  Kent                      WA
139155   SAJAS4FX9KCP52907   Jaguar       XE                  RALEIGH                   NC
139156   SAJAS4FXXKCP52091   Jaguar       XE                  SAINT LOUIS               MO
139157   SAJAS4FXXKCP52348   Jaguar       XE                  DENVER                    CO
139158   SAJAS4FXXKCP52401   Jaguar       XE                  LAS VEGAS                 NV
139159   SAJAS4FXXKCP52530   Jaguar       XE                  MORRISVILLE               NC
139160   SAJAS4FXXKCP52723   Jaguar       XE                  FORT LAUDERDALE           FL
139161   SAJAS4FXXKCP52740   Jaguar       XE                  SACRAMENTO                CA
139162   SAJAS4FXXKCP52768   Jaguar       XE                  SAN FRANCISCO             CA
139163   SAJAS4FXXKCP52818   Jaguar       XE                  FORT LAUDERDALE           FL
139164   SAJAS4FXXKCP52852   Jaguar       XE                  SAINT LOUIS               MO
139165   SAJAS4FXXKCP52933   Jaguar       XE                  Charlotte                 NC
139166   SAJAS4FXXKCP53001   Jaguar       XE                  Cerritos                  CA
139167   SAJBD4BV1HCY35257   Jaguar       XF                  ATLANTA                   GA
139168   SAJBD4FX0KCY79186   Jaguar       XF                  SAN FRANCISCO             CA
139169   SAJBD4FX0KCY79219   Jaguar       XF                  SEATAC                    WA
139170   SAJBD4FX0KCY79432   Jaguar       XF                  ATLANTA                   GA
139171   SAJBD4FX1KCY78838   Jaguar       XF                  FORT MYERS                FL
139172   SAJBD4FX1KCY79178   Jaguar       XF                  Matteson                  IL
139173   SAJBD4FX1KCY79200   Jaguar       XF                  Portland                  OR
139174   SAJBD4FX1KCY79357   Jaguar       XF                  MEMPHIS                   TN
139175   SAJBD4FX1KCY79505   Jaguar       XF                  Santa Clara               CA
139176   SAJBD4FX1KCY79519   Jaguar       XF                  Euless                    TX
139177   SAJBD4FX2KCY78959   Jaguar       XF                  Orlando                   FL
139178   SAJBD4FX2KCY79075   Jaguar       XF                  Tampa                     FL
139179   SAJBD4FX2KCY79366   Jaguar       XF                  CHICAGO                   IL
139180   SAJBD4FX2KCY79528   Jaguar       XF                  ATLANTA                   GA
139181   SAJBD4FX3KCY78842   Jaguar       XF                  Davie                     FL
139182   SAJBD4FX3KCY78923   Jaguar       XF                  ATLANTA                   GA
139183   SAJBD4FX3KCY78954   Jaguar       XF                  Orlando                   FL
139184   SAJBD4FX3KCY79134   Jaguar       XF                  Portland                  OR
139185   SAJBD4FX3KCY79179   Jaguar       XF                  Kent                      WA
139186   SAJBD4FX3KCY79229   Jaguar       XF                  PLEASANTON                CA
139187   SAJBD4FX3KCY79327   Jaguar       XF                  RICHMOND                  VA
139188   SAJBD4FX3KCY79456   Jaguar       XF                  KNOXVILLE                 TN
139189   SAJBD4FX4KCY78767   Jaguar       XF                  FORT LAUDERDALE           FL
139190   SAJBD4FX4KCY78817   Jaguar       XF                  Jacksonville              FL
139191   SAJBD4FX4KCY78994   Jaguar       XF                  CHICAGO                   IL
139192   SAJBD4FX4KCY79109   Jaguar       XF                  Ocoee                     FL
139193   SAJBD4FX4KCY79420   Jaguar       XF                  ATLANTA                   GA
139194   SAJBD4FX4KCY79496   Jaguar       XF                  Davie                     FL
139195   SAJBD4FX5KCY78700   Jaguar       XF                  Davie                     FL
139196   SAJBD4FX5KCY78793   Jaguar       XF                  Davie                     FL
139197   SAJBD4FX5KCY78969   Jaguar       XF                  ORLANDO                   FL
139198   SAJBD4FX5KCY79085   Jaguar       XF                  FORT MYERS                FL
139199   SAJBD4FX5KCY79216   Jaguar       XF                  Santa Clara               CA
139200   SAJBD4FX5KCY79460   Jaguar       XF                  MORROW                    GA
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139201   SAJBD4FX6KCY78687   Jaguar       XF                  CHARLESTON                SC
139202   SAJBD4FX6KCY78821   Jaguar       XF                  JACKSON                   MS
139203   SAJBD4FX6KCY78964   Jaguar       XF                  Ft. Myers                 FL
139204   SAJBD4FX6KCY79189   Jaguar       XF                  KNOXVILLE                 TN
139205   SAJBD4FX6KCY79192   Jaguar       XF                  Phoenix                   AZ
139206   SAJBD4FX6KCY79323   Jaguar       XF                  Houston                   TX
139207   SAJBD4FX6KCY79564   Jaguar       XF                  KNOXVILLE                 TN
139208   SAJBD4FX7KCY78827   Jaguar       XF                  Davie                     FL
139209   SAJBD4FX7KCY78858   Jaguar       XF                  Davie                     FL
139210   SAJBD4FX7KCY78956   Jaguar       XF                  DAYTONA BEACH             FL
139211   SAJBD4FX7KCY78990   Jaguar       XF                  ORLANDO                   FL
139212   SAJBD4FX7KCY79153   Jaguar       XF                  Stockton                  CA
139213   SAJBD4FX7KCY79203   Jaguar       XF                  Portland                  OR
139214   SAJBD4FX7KCY79234   Jaguar       XF                  Santa Clara               CA
139215   SAJBD4FX7KCY79363   Jaguar       XF                  WEST COLUMBIA             SC
139216   SAJBD4FX7KCY79427   Jaguar       XF                  SAINT LOUIS               MO
139217   SAJBD4FX8KCY78769   Jaguar       XF                  Davie                     FL
139218   SAJBD4FX8KCY79016   Jaguar       XF                  SUWANEE                   GA
139219   SAJBD4FX8KCY79131   Jaguar       XF                  SANTA CLARA               CA
139220   SAJBD4FX8KCY79260   Jaguar       XF                  MIAMI                     FL
139221   SAJBD4FX8KCY79386   Jaguar       XF                  KANSAS CITY               MO
139222   SAJBD4FX8KCY79517   Jaguar       XF                  Davie                     FL
139223   SAJBD4FX9KCY78845   Jaguar       XF                  Davie                     FL
139224   SAJBD4FX9KCY79087   Jaguar       XF                  WEST PALM BEACH           FL
139225   SAJBD4FX9KCY79154   Jaguar       XF                  BURBANK                   CA
139226   SAJBD4FX9KCY79168   Jaguar       XF                  Riverside                 CA
139227   SAJBD4FX9KCY79333   Jaguar       XF                  BIRMINGHAN                AL
139228   SAJBD4FX9KCY79400   Jaguar       XF                  ORLANDO                   FL
139229   SAJBD4FXXKCY78806   Jaguar       XF                  Hattiesburg               MS
139230   SAJBD4FXXKCY78840   Jaguar       XF                  Clearwater                FL
139231   SAJBD4FXXKCY78871   Jaguar       XF                  MIAMI                     FL
139232   SAJBJ4FX0KCY79083   Jaguar       XF                  North Dighton             MA
139233   SAJBJ4FX0KCY79116   Jaguar       XF                  RALEIGH, DURHAM           NC
139234   SAJBJ4FX0KCY79164   Jaguar       XF                  LOS ANGELES               CA
139235   SAJBJ4FX0KCY79181   Jaguar       XF                  PHOENIX                   AZ
139236   SAJBJ4FX0KCY79214   Jaguar       XF                  SAN DIEGO                 CA
139237   SAJBJ4FX0KCY79231   Jaguar       XF                  ONTARIO                   CA
139238   SAJBJ4FX0KCY79245   Jaguar       XF                  SEATTLE                   WA
139239   SAJBJ4FX0KCY79259   Jaguar       XF                  SANTA ANA                 CA
139240   SAJBJ4FX0KCY79312   Jaguar       XF                  NEWARK                    NJ
139241   SAJBJ4FX0KCY79391   Jaguar       XF                  LAS VEGAS                 NV
139242   SAJBJ4FX0KCY79424   Jaguar       XF                  PLEASANTON                CA
139243   SAJBJ4FX0KCY79472   Jaguar       XF                  Burien                    WA
139244   SAJBJ4FX0KCY79570   Jaguar       XF                  PHOENIX                   AZ
139245   SAJBJ4FX0KCY79584   Jaguar       XF                  Matteson                  IL
139246   SAJBJ4FX1KCY78945   Jaguar       XF                  SAN FRANCISCO             CA
139247   SAJBJ4FX1KCY79142   Jaguar       XF                  SAN JOSE                  CA
139248   SAJBJ4FX1KCY79187   Jaguar       XF                  WOODLAND HILLS            CA
139249   SAJBJ4FX1KCY79190   Jaguar       XF                  LAS VEGAS                 NV
139250   SAJBJ4FX1KCY79223   Jaguar       XF                  San Diego                 CA
139251   SAJBJ4FX1KCY79240   Jaguar       XF                  LAS VEGAS                 NV
139252   SAJBJ4FX1KCY79271   Jaguar       XF                  LOS ANGELES               CA
139253   SAJBJ4FX1KCY79562   Jaguar       XF                  LOS ANGELES               CA
139254   SAJBJ4FX1KCY79612   Jaguar       XF                  BUFFALO                   NY
139255   SAJBJ4FX2KCY78937   Jaguar       XF                  LOS ANGELES               CA
139256   SAJBJ4FX2KCY78940   Jaguar       XF                  SANTA ANA                 CA
139257   SAJBJ4FX2KCY78971   Jaguar       XF                  Hayward                   CA
139258   SAJBJ4FX2KCY78999   Jaguar       XF                  SAN JOSE                  CA
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139259   SAJBJ4FX2KCY79148   Jaguar       XF                  SAN DIEGO                 CA
139260   SAJBJ4FX2KCY79165   Jaguar       XF                  OAKLAND                   CA
139261   SAJBJ4FX2KCY79232   Jaguar       XF                  Fontana                   CA
139262   SAJBJ4FX2KCY79473   Jaguar       XF                  CHEEKTOWAGA               NY
139263   SAJBJ4FX2KCY79537   Jaguar       XF                  Fontana                   CA
139264   SAJBJ4FX3KCY79143   Jaguar       XF                  PORTLAND                  OR
139265   SAJBJ4FX3KCY79157   Jaguar       XF                  SAN JOSE                  CA
139266   SAJBJ4FX3KCY79403   Jaguar       XF                  BALTIMORE                 MD
139267   SAJBJ4FX3KCY79448   Jaguar       XF                  Beaverton                 OR
139268   SAJBJ4FX3KCY79451   Jaguar       XF                  PHOENIX                   AZ
139269   SAJBJ4FX3KCY79515   Jaguar       XF                  PHOENIX                   AZ
139270   SAJBJ4FX4KCY78986   Jaguar       XF                  Roseville                 CA
139271   SAJBJ4FX4KCY79376   Jaguar       XF                  SEATAC                    WA
139272   SAJBJ4FX4KCY79491   Jaguar       XF                  BURBANK                   CA
139273   SAJBJ4FX4KCY79507   Jaguar       XF                  PHOENIX                   AZ
139274   SAJBJ4FX4KCY79538   Jaguar       XF                  ALBUQERQUE                NM
139275   SAJBJ4FX4KCY79572   Jaguar       XF                  FRESNO                    CA
139276   SAJBJ4FX5KCY78947   Jaguar       XF                  SAVANNAH                  GA
139277   SAJBJ4FX5KCY79046   Jaguar       XF                  NORFOLK                   US
139278   SAJBJ4FX5KCY79175   Jaguar       XF                  LOS ANGELES               CA
139279   SAJBJ4FX5KCY79211   Jaguar       XF                  LOS ANGELES               CA
139280   SAJBJ4FX5KCY79256   Jaguar       XF                  LOS ANGELES               CA
139281   SAJBJ4FX6KCY78925   Jaguar       XF                  LOS ANGELES               CA
139282   SAJBJ4FX6KCY78973   Jaguar       XF                  SAN FRANCISCO             CA
139283   SAJBJ4FX6KCY79170   Jaguar       XF                  PALM SPRINGS              CA
139284   SAJBJ4FX6KCY79251   Jaguar       XF                  SAN JOSE                  CA
139285   SAJBJ4FX6KCY79282   Jaguar       XF                  LOS ANGELES               CA
139286   SAJBJ4FX6KCY79444   Jaguar       XF                  LAS VEGAS                 NV
139287   SAJBJ4FX6KCY79458   Jaguar       XF                  Portland                  OR
139288   SAJBJ4FX6KCY79539   Jaguar       XF                  SACRAMENTO                CA
139289   SAJBJ4FX7KCY79100   Jaguar       XF                  BOSTON                    MA
139290   SAJBJ4FX7KCY79176   Jaguar       XF                  LOS ANGELES               CA
139291   SAJBJ4FX7KCY79291   Jaguar       XF                  SAN DIEGO                 CA
139292   SAJBJ4FX7KCY79503   Jaguar       XF                  LOS ANGELES               CA
139293   SAJBJ4FX7KCY79548   Jaguar       XF                  Fontana                   CA
139294   SAJBJ4FX8KCY79025   Jaguar       XF                  Philadelphia              PA
139295   SAJBJ4FX8KCY79199   Jaguar       XF                  SEATAC                    WA
139296   SAJBJ4FX8KCY79588   Jaguar       XF                  Smithtown                 NY
139297   SAJBJ4FX8KCY79610   Jaguar       XF                  LAS VEGAS                 NV
139298   SAJBJ4FX9KCY78949   Jaguar       XF                  Mira Loma                 CA
139299   SAJBJ4FX9KCY78983   Jaguar       XF                  LAS VEGAS                 NV
139300   SAJBJ4FX9KCY79146   Jaguar       XF                  Beaverton                 OR
139301   SAJBJ4FX9KCY79339   Jaguar       XF                  DALLAS                    TX
139302   SAJBJ4FX9KCY79373   Jaguar       XF                  Burbank                   CA
139303   SAJBJ4FX9KCY79552   Jaguar       XF                  PHOENIX                   AZ
139304   SAJBJ4FXXKCY78961   Jaguar       XF                  LOS ANGELES               CA
139305   SAJBJ4FXXKCY78992   Jaguar       XF                  ALBUQERQUE                NM
139306   SAJBJ4FXXKCY79253   Jaguar       XF                  Fresno                    CA
139307   SAJBJ4FXXKCY79351   Jaguar       XF                  SAN FRANCISCO             CA
139308   SAJBJ4FXXKCY79401   Jaguar       XF                  SAN FRANCISCO             CA
139309   SAJBJ4FXXKCY79463   Jaguar       XF                  BALTIMORE                 MD
139310   SAJBR4BV5HCY26594   Jaguar       XF                  SOUTH SAN FRANC           CA
139311   SAJBR4FX0JCY69970   Jaguar       XE                  Bridgeton                 MO
139312   SAJBR4FX1JCY69623   Jaguar       XE                  ALBUQUERQUE               NM
139313   SAJBR4FX2JCY69548   Jaguar       XE                  Riverside                 CA
139314   SAJBR4FX3JCY71082   Jaguar       XE                  Hapeville                 GA
139315   SAJBR4FX4JCY69891   Jaguar       XE                  SACRAMENTO                CA
139316   SAJBR4FX4JCY69941   Jaguar       XE                  TRACY                     CA
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139317   SAJBR4FX4JCY69955   Jaguar          XE                  Albuquerque               NM
139318   SAJBR4FX7JCY69738   Jaguar          XE                  LOS ANGELES               CA
139319   SAJBR4FX8JCY69599   Jaguar          XE                  LOS ANGELES               CA
139320   SAJBR4FX8JCY69618   Jaguar          XE                  North Las Vegas           NV
139321   SAJBR4FX8JCY69716   Jaguar          XE                  Rio Linda                 CA
139322   SAJBR4FX9JCY70731   Jaguar          XE                  Chicago                   IL
139323   SAJBS4FX4JCY71144   Jaguar          XF                  Bordentown                NJ
139324   SAJBS4FX7JCY70148   Jaguar          XF                  SAINT PAUL                MN
139325   SAJBS4FX9JCY71141   Jaguar          XF                  Fontana                   CA
139326   SALCP2BG6HH689577   LandRover       DISCOVRY            Riverside                 CA
139327   SALCP2FX0KH807866   LandRover       DISCOVRY            Killeen                   TX
139328   SALCP2FX0KH809083   LandRover       DISCOVRY            DENVER                    CO
139329   SALCP2FX0KH809116   LandRover       DISCOVRY            Denver                    CO
139330   SALCP2FX0KH811738   LandRover       DISCOVRY            SALT LAKE CITY            UT
139331   SALCP2FX0KH812355   LandRover       DISCOVRY            DENVER                    CO
139332   SALCP2FX1KH807763   LandRover       DISCOVRY            SAINT PAUL                MN
139333   SALCP2FX1KH808329   LandRover       DISCOVRY            DENVER                    CO
139334   SALCP2FX1KH808427   LandRover       DISCOVRY            Salt Lake City            UT
139335   SALCP2FX1KH811893   LandRover       DISCOVRY            Stockton                  CA
139336   SALCP2FX2KH807755   LandRover       DISCOVRY            ATLANTA                   GA
139337   SALCP2FX2KH808310   LandRover       DISCOVRY            DENVER                    CO
139338   SALCP2FX2KH808484   LandRover       DISCOVRY            DENVER                    CO
139339   SALCP2FX2KH808565   LandRover       DISCOVRY            DENVER                    CO
139340   SALCP2FX2KH808792   LandRover       DISCOVRY            DENVER                    CO
139341   SALCP2FX2KH808971   LandRover       DISCOVRY            Houston                   TX
139342   SALCP2FX2KH809120   LandRover       DISCOVRY            DENVER                    CO
139343   SALCP2FX2KH812390   LandRover       DISCOVRY            Fresno                    CA
139344   SALCP2FX3KH808283   LandRover       DISCOVRY            Austin                    TX
139345   SALCP2FX3KH808297   LandRover       DISCOVRY            Tampa                     FL
139346   SALCP2FX3KH812706   LandRover       DISCOVRY            Stockton                  CA
139347   SALCP2FX4KH808194   LandRover       DISCOVRY            RALIEGH                   NC
139348   SALCP2FX4KH811970   LandRover       DISCOVRY            SAN FRANCISCO             CA
139349   SALCP2FX5KH808155   LandRover       DISCOVRY            Aurora                    CO
139350   SALCP2FX5KH808253   LandRover       DISCOVRY            Kent                      WA
139351   SALCP2FX5KH808401   LandRover       DISCOVRY            DENVER                    CO
139352   SALCP2FX5KH808477   LandRover       DISCOVRY            Houston                   TX
139353   SALCP2FX5KH812044   LandRover       DISCOVRY            DENVER                    CO
139354   SALCP2FX5KH812478   LandRover       DISCOVRY            Aurora                    CO
139355   SALCP2FX6KH807757   LandRover       DISCOVRY            SAINT PAUL                MN
139356   SALCP2FX6KH808178   LandRover       DISCOVRY            RICHMOND                  VA
139357   SALCP2FX6KH808813   LandRover       DISCOVRY            GYPSUM                    CO
139358   SALCP2FX6KH812926   LandRover       DISCOVRY            Aurora                    CO
139359   SALCP2FX7KH807931   LandRover       DISCOVRY            LOS ANGELES               CA
139360   SALCP2FX7KH807959   LandRover       DISCOVRY            Irving                    TX
139361   SALCP2FX7KH808321   LandRover       DISCOVRY            WEST PALM BEACH           FL
139362   SALCP2FX7KH808366   LandRover       DISCOVRY            DENVER                    CO
139363   SALCP2FX7KH811946   LandRover       DISCOVRY            DENVER                    CO
139364   SALCP2FX8KH807906   LandRover       DISCOVRY            SOUTHEAST DST OFFC        OK
139365   SALCP2FX8KH808229   LandRover       DISCOVRY            BLOOMINGTON               IL
139366   SALCP2FX8KH812295   LandRover       DISCOVRY            SALT LAKE CITY            US
139367   SALCP2FX9KH809051   LandRover       DISCOVRY            BOISE                     US
139368   SALCP2FX9KH814122   LandRover       DISCOVRY            ATLANTA                   GA
139369   SALCP2FXXKH808118   LandRover       DISCOVRY            Denver                    CO
139370   SALCP2FXXKH808989   LandRover       DISCOVRY            DENVER                    CO
139371   SALCP2RX0JH746500   LandRover       DISCOVRY            TUCSON                    AZ
139372   SALCP2RX1JH746568   LandRover       DISCOVRY            KAHULUI                   HI
139373   SALCP2RX1JH753407   LandRover       DISCOVRY            HONOLULU                  HI
139374   SALCP2RX2JH753044   LandRover       DISCOVRY            HONOLULU                  HI
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139375   SALCP2RX3JH749178   LandRover       DISCOVRY            FORT MYERS                FL
139376   SALCP2RX3JH749441   LandRover       DISCOVRY            FORT LAUDERDALE           FL
139377   SALCP2RX4JH754826   LandRover       DISCOVRY            DENVER                    CO
139378   SALCP2RX6JH746629   LandRover       DISCOVRY            Santa Clara               CA
139379   SALCP2RX6JH749109   LandRover       DISCOVRY            MIAMI                     FL
139380   SALCP2RX6JH749126   LandRover       DISCOVRY            Estero                    FL
139381   SALCP2RX6JH750292   LandRover       DISCOVRY            Honolulu                  HI
139382   SALCP2RX7JH747501   LandRover       DISCOVRY            BURLINGAME                CA
139383   SALCP2RX8JH749158   LandRover       DISCOVRY            N. Palm Beach             FL
139384   SALCP2RX8JH749256   LandRover       DISCOVRY            Miami                     FL
139385   SALCP2RX8JH750732   LandRover       DISCOVRY            Manheim                   PA
139386   SALCP2RX9JH749413   LandRover       DISCOVRY            DAYTONA BEACH             FL
139387   SALCP2RX9JH750173   LandRover       DISCOVRY            Honolulu                  HI
139388   SALCP2RXXJH746617   LandRover       DISCOVRY            HONOLULU                  HI
139389   SALCP2RXXJH746696   LandRover       DISCOVRY            Honolulu                  HI
139390   SALCR2BG1HH647635   LandRover       DISCOVRY            North Las Vegas           NV
139391   SALCR2FX0KH807733   LandRover       DISCOVRY            Manheim                   PA
139392   SALCR2FX0KH809062   LandRover       DISCOVRY            San Diego                 CA
139393   SALCR2FX1KH810785   LandRover       DISCOVRY            SALT LAKE CITY            UT
139394   SALCR2FX1KH811127   LandRover       DISCOVRY            SALT LAKE CITY            US
139395   SALCR2FX1KH811600   LandRover       DISCOVRY            Fontana                   CA
139396   SALCR2FX2KH811878   LandRover       DISCOVRY            DENVER                    CO
139397   SALCR2FX2KH812657   LandRover       DISCOVRY            FRESNO                    CA
139398   SALCR2FX3KH811162   LandRover       DISCOVRY            SACRAMENTO                CA
139399   SALCR2FX3KH811713   LandRover       DISCOVRY            GYPSUM                    CO
139400   SALCR2FX3KH812943   LandRover       DISCOVRY            DENVER                    CO
139401   SALCR2FX4KH807766   LandRover       DISCOVRY            GREENWOOD                 IN
139402   SALCR2FX4KH810389   LandRover       DISCOVRY            Salt Lake City            UT
139403   SALCR2FX4KH810635   LandRover       DISCOVRY            Salt Lake City            UT
139404   SALCR2FX4KH810778   LandRover       DISCOVRY            DENVER                    CO
139405   SALCR2FX4KH812966   LandRover       DISCOVRY            Aurora                    CO
139406   SALCR2FX4KH812997   LandRover       DISCOVRY            Union City                GA
139407   SALCR2FX5KH808134   LandRover       DISCOVRY            Denver                    CO
139408   SALCR2FX5KH811521   LandRover       DISCOVRY            DENVER                    CO
139409   SALCR2FX6KH810250   LandRover       DISCOVRY            DENVER                    CO
139410   SALCR2FX6KH810314   LandRover       DISCOVRY            ALBUQUERQUE               NM
139411   SALCR2FX6KH812726   LandRover       DISCOVRY            SEA TAC                   WA
139412   SALCR2FX7KH807776   LandRover       DISCOVRY            Elgin                     IL
139413   SALCR2FX7KH808152   LandRover       DISCOVRY            Aurora                    CO
139414   SALCR2FX7KH810516   LandRover       DISCOVRY            Burien                    WA
139415   SALCR2FX7KH812105   LandRover       DISCOVRY            Salt Lake City            UT
139416   SALCR2FX8KH807768   LandRover       DISCOVRY            Matteson                  IL
139417   SALCR2FX8KH811383   LandRover       DISCOVRY            NASHVILLE                 TN
139418   SALCR2FX8KH811884   LandRover       DISCOVRY            DENVER                    CO
139419   SALCR2FX9KH810968   LandRover       DISCOVRY            DENVER                    CO
139420   SALCR2FX9KH811957   LandRover       DISCOVRY            Aurora                    CO
139421   SALCR2FXXKH810865   LandRover       DISCOVRY            SALT LAKE CITY            UT
139422   SALCT2GX8KH799526   LandRover       DISCOVRY            INDIANAPOLIS              IN
139423   SALGR2RV0JA399625   LandRover       RANGE               PINELLAS PARK             F
139424   SALGR2RV2JA394362   LandRover       RANGE               NEWARK                    NJ
139425   SALGR2RV2JA501426   LandRover       RANGE               MIAMI                     FL
139426   SALGR2RV4JA394668   LandRover       RANGE               Santa Clara               CA
139427   SALGR2RV5JA399569   LandRover       RANGE               HONOLULU                  HI
139428   SALGR2RV5JA399765   LandRover       RANGE               HONOLULU                  HI
139429   SALGR2RV6JA394641   LandRover       RANGE               SACRAMENTO                CA
139430   SALGR2RV6JA399368   LandRover       RANGE               Honolulu                  HI
139431   SALGR2RV6JA399516   LandRover       RANGE               HONOLULU                  HI
139432   SALGR2RV7JA399430   LandRover       RANGE               HONOLULU                  HI
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139433   SALGR2RVXJA502579   LandRover       RANGE               Estero                    FL
139434   SALRG2RV1JA056353   LandRover       DISCOVERY           Torrance                  CA
139435   SALRG2RV2JA058659   LandRover       DISCOVERY           Lake Elsinore             CA
139436   SALRG2RV3JA055253   LandRover       DISCOVERY           North Dighton             MA
139437   SALRG2RV6JA055215   LandRover       DISCOVERY           Lake Elsinore             CA
139438   SALRG2RV7JA058687   LandRover       DISCOVERY           Matteson                  IL
139439   SALRG2RV9JA054351   LandRover       DISCOVERY           Statesville               NC
139440   SALRG2RV9JA056391   LandRover       DISCOVERY           Bordentown                NJ
139441   SALRR2RV0JA052109   LandRover       DISCOVERY           CHICAGO                   IL
139442   SALRR2RV0JA055365   LandRover       DISCOVERY           SAN DIEGO                 CA
139443   SALRR2RV0JA056516   LandRover       DISCOVERY           North Dighton             MA
139444   SALRR2RV2JA056100   LandRover       DISCOVERY           Manheim                   PA
139445   SALRR2RV2JA057487   LandRover       DISCOVERY           Manheim                   PA
139446   SALRR2RV2JA059563   LandRover       DISCOVERY           TRACY                     CA
139447   SALRR2RV6JA059422   LandRover       DISCOVERY           San Diego                 CA
139448   SALRR2RV6JA059940   LandRover       DISCOVERY           Manheim                   PA
139449   SALRR2RV7JA055279   LandRover       DISCOVERY           Baltimore                 MD
139450   SALRR2RV7JA056187   LandRover       DISCOVERY           Bordentown                NJ
139451   SALRR2RV7JA059882   LandRover       DISCOVERY           Elkridge                  MD
139452   SALRR2RV8JA058692   LandRover       DISCOVERY           Orlando                   FL
139453   SALRR2RV9JA058667   LandRover       DISCOVERY           Salt Lake City            UT
139454   SALVP2BG4HH218021   LandRover       RR                  ATLANTA                   GA
139455   SALVP2BG5HH190245   LandRover       RR                  PLEASANTON                CA
139456   SALVP2BG7HH231734   LandRover       RR                  Slidell                   LA
139457   SALVP2BG8HH186254   LandRover       RR                  Honolulu                  HI
139458   SALVP2BG9HH184609   LandRover       RR                  Honolulu                  HI
139459   SALVP2RX0JH295030   LandRover       RR                  New Stanton               PA
139460   SALVP2RX0JH298364   LandRover       RR                  WARWICK                   RI
139461   SALVP2RX0KH344938   LandRover       RR                  SAN FRANCISCO             CA
139462   SALVP2RX0KH345507   LandRover       RR                  Des Plaines               IL
139463   SALVP2RX0KH345992   LandRover       RR                  NEWARK                    NJ
139464   SALVP2RX0KH346334   LandRover       RR                  PHILADELPHIA              PA
139465   SALVP2RX0KH346513   LandRover       RR                  FORT LAUDERDALE           FL
139466   SALVP2RX0KH346768   LandRover       RR                  FORT LAUDERDALE           FL
139467   SALVP2RX0KH346866   LandRover       RR                  PHILADELPHIA              PA
139468   SALVP2RX0KH346902   LandRover       RR                  SAN FRANCISCO             CA
139469   SALVP2RX0KH347595   LandRover       RR                  Ft. Myers                 FL
139470   SALVP2RX0KH347953   LandRover       RR                  SAN FRANCISCO             CA
139471   SALVP2RX0KH348133   LandRover       RR                  Riverside                 CA
139472   SALVP2RX0KH348388   LandRover       RR                  PALM SPRINGS              CA
139473   SALVP2RX0KH348830   LandRover       RR                  FORT MYERS                FL
139474   SALVP2RX0KH349945   LandRover       RR                  ONTARIO                   CA
139475   SALVP2RX1KH345564   LandRover       RR                  ST PAUL                   MN
139476   SALVP2RX1KH345919   LandRover       RR                  WEST PALM BEACH           FL
139477   SALVP2RX1KH347167   LandRover       RR                  FORT LAUDERDALE           FL
139478   SALVP2RX1KH347671   LandRover       RR                  DAYTONA BEACH             FL
139479   SALVP2RX1KH348531   LandRover       RR                  HOUSTON                   TX
139480   SALVP2RX1KH349761   LandRover       RR                  GLENOLDEN                 PA
139481   SALVP2RX1KH350005   LandRover       RR                  Atlanta                   GA
139482   SALVP2RX1KH350053   LandRover       RR                  SANTA CLARA               CA
139483   SALVP2RX1KH350814   LandRover       RR                  WEST PALM BEACH           FL
139484   SALVP2RX2JH295725   LandRover       RR                  TRACY                     CA
139485   SALVP2RX2KH346254   LandRover       RR                  PITTSBURGH                PA
139486   SALVP2RX2KH347033   LandRover       RR                  Manheim                   PA
139487   SALVP2RX2KH347100   LandRover       RR                  Greensboro                NC
139488   SALVP2RX2KH347131   LandRover       RR                  KANSAS CITY               MO
139489   SALVP2RX2KH348201   LandRover       RR                  FORT MYERS                FL
139490   SALVP2RX2KH348358   LandRover       RR                  Ventura                   CA
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139491   SALVP2RX2KH348649   LandRover       RR                  SAN DIEGO                 CA
139492   SALVP2RX2KH349235   LandRover       RR                  DENVER                    CO
139493   SALVP2RX2KH349591   LandRover       RR                  Roseville                 CA
139494   SALVP2RX2KH350448   LandRover       RR                  Cerritos                  CA
139495   SALVP2RX3JH295572   LandRover       RR                  SAN DIEGO                 CA
139496   SALVP2RX3KH345534   LandRover       RR                  TAMPA                     FL
139497   SALVP2RX3KH346750   LandRover       RR                  Portland                  OR
139498   SALVP2RX3KH346974   LandRover       RR                  KENNER                    LA
139499   SALVP2RX3KH347171   LandRover       RR                  TALLAHASSEE               F
139500   SALVP2RX3KH347896   LandRover       RR                  LAS VEGAS                 NV
139501   SALVP2RX3KH348160   LandRover       RR                  Cerritos                  CA
139502   SALVP2RX3KH348370   LandRover       RR                  Portland                  ME
139503   SALVP2RX3KH349633   LandRover       RR                  DENVER                    CO
139504   SALVP2RX3KH349874   LandRover       RR                  AUSTIN                    TX
139505   SALVP2RX4JH294947   LandRover       RR                  FORT MYERS                FL
139506   SALVP2RX4KH345753   LandRover       RR                  COSTA MESA                CA
139507   SALVP2RX4KH346739   LandRover       RR                  LOS ANGELES               CA
139508   SALVP2RX4KH346966   LandRover       RR                  EAST BRUNSWICK            NJ
139509   SALVP2RX4KH347017   LandRover       RR                  GYPSUM                    CO
139510   SALVP2RX4KH347535   LandRover       RR                  ATLANTA                   GA
139511   SALVP2RX4KH348488   LandRover       RR                  GREENVILLE                NC
139512   SALVP2RX4KH348510   LandRover       RR                  LAS VEGAS                 NV
139513   SALVP2RX4KH348586   LandRover       RR                  Ventura                   CA
139514   SALVP2RX4KH348670   LandRover       RR                  LAS VEGAS                 NV
139515   SALVP2RX4KH349558   LandRover       RR                  MIAMI                     FL
139516   SALVP2RX4KH350399   LandRover       RR                  ROCHESTER                 NY
139517   SALVP2RX4KH350449   LandRover       RR                  SOUTH SALT LAKE           UT
139518   SALVP2RX4KH351715   LandRover       RR                  ORANGE COUNTY             CA
139519   SALVP2RX5KH345373   LandRover       RR                  DETROIT                   MI
139520   SALVP2RX5KH345888   LandRover       RR                  NEWARK                    NJ
139521   SALVP2RX5KH346619   LandRover       RR                  MIAMI                     FL
139522   SALVP2RX5KH346975   LandRover       RR                  KANSAS CITY               MO
139523   SALVP2RX5KH347091   LandRover       RR                  DENVER                    CO
139524   SALVP2RX5KH347690   LandRover       RR                  SAN DIEGO                 CA
139525   SALVP2RX5KH347818   LandRover       RR                  KENNER                    LA
139526   SALVP2RX5KH347947   LandRover       RR                  SOUTH SAN FRANC           CA
139527   SALVP2RX5KH348208   LandRover       RR                  Las Vegas                 NV
139528   SALVP2RX5KH348788   LandRover       RR                  Lake Elsinore             CA
139529   SALVP2RX5KH349164   LandRover       RR                  LOS ANGELES               CA
139530   SALVP2RX5KH349634   LandRover       RR                  PHOENIX                   AZ
139531   SALVP2RX6KH344930   LandRover       RR                  North Las Vegas           NV
139532   SALVP2RX6KH346225   LandRover       RR                  North Dighton             MA
139533   SALVP2RX6KH346855   LandRover       RR                  SAN FRANCISCO             CA
139534   SALVP2RX6KH347259   LandRover       RR                  Hapeville                 GA
139535   SALVP2RX6KH347889   LandRover       RR                  PHILADELPHIA              PA
139536   SALVP2RX6KH348198   LandRover       RR                  Los Angeles               CA
139537   SALVP2RX6KH348475   LandRover       RR                  SAN JOSE                  CA
139538   SALVP2RX6KH348606   LandRover       RR                  KENNER                    LA
139539   SALVP2RX6KH348816   LandRover       RR                  LOS ANGELES               CA
139540   SALVP2RX6KH349965   LandRover       RR                  SAN FRANCISCO             CA
139541   SALVP2RX6KH350405   LandRover       RR                  LOS ANGELES               CA
139542   SALVP2RX7KH346718   LandRover       RR                  SAN DIEGO                 CA
139543   SALVP2RX7KH346850   LandRover       RR                  FORT LAUDERDALE           FL
139544   SALVP2RX7KH346864   LandRover       RR                  South San Franc           CA
139545   SALVP2RX7KH347321   LandRover       RR                  SALT LAKE CITY            US
139546   SALVP2RX7KH347934   LandRover       RR                  CLEVELAND                 OH
139547   SALVP2RX7KH348064   LandRover       RR                  SAN DIEGO                 CA
139548   SALVP2RX7KH348310   LandRover       RR                  LAS VEGAS                 NV
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139549   SALVP2RX7KH348629   LandRover       RR                  INDIANAPOLIS              IN
139550   SALVP2RX7KH348680   LandRover       RR                  WEST PALM BEACH           FL
139551   SALVP2RX7KH348758   LandRover       RR                  LOS ANGELES               CA
139552   SALVP2RX7KH348775   LandRover       RR                  Torrance                  CA
139553   SALVP2RX7KH348808   LandRover       RR                  OAKLAND                   CA
139554   SALVP2RX8JH294997   LandRover       RR                  Davie                     FL
139555   SALVP2RX8JH295308   LandRover       RR                  Fontana                   CA
139556   SALVP2RX8KH345643   LandRover       RR                  NEWARK                    NJ
139557   SALVP2RX8KH345657   LandRover       RR                  FAYETTEVILLE              GA
139558   SALVP2RX8KH345836   LandRover       RR                  BIRMINGHAM                AL
139559   SALVP2RX8KH346632   LandRover       RR                  NEWARK                    NJ
139560   SALVP2RX8KH346906   LandRover       RR                  TAMPA                     FL
139561   SALVP2RX8KH347151   LandRover       RR                  JAMAICA                   NY
139562   SALVP2RX8KH347277   LandRover       RR                  Houston                   TX
139563   SALVP2RX8KH348042   LandRover       RR                  LOS ANGELES               CA
139564   SALVP2RX8KH348073   LandRover       RR                  Pheonix                   AZ
139565   SALVP2RX8KH348543   LandRover       RR                  Salt Lake City            UT
139566   SALVP2RX8KH348610   LandRover       RR                  San Diego                 CA
139567   SALVP2RX8KH348736   LandRover       RR                  SALT LAKE CITY            US
139568   SALVP2RX8KH349014   LandRover       RR                  Lake Elsinore             CA
139569   SALVP2RX8KH349224   LandRover       RR                  SAN DIEGO                 CA
139570   SALVP2RX8KH349613   LandRover       RR                  LOS ANGELES AP            CA
139571   SALVP2RX9JH295432   LandRover       RR                  Burlingame                CA
139572   SALVP2RX9KH345117   LandRover       RR                  Las Vegas                 NV
139573   SALVP2RX9KH346588   LandRover       RR                  MIAMI                     FL
139574   SALVP2RX9KH346798   LandRover       RR                  LAS VEGAS                 NV
139575   SALVP2RX9KH346879   LandRover       RR                  LOS ANGELES               CA
139576   SALVP2RX9KH346929   LandRover       RR                  North Las Vegas           NV
139577   SALVP2RX9KH346977   LandRover       RR                  NEWPORT BEACH             CA
139578   SALVP2RX9KH347031   LandRover       RR                  RONKONKOMA                NY
139579   SALVP2RX9KH347210   LandRover       RR                  Carleton                  MI
139580   SALVP2RX9KH347823   LandRover       RR                  DENVER                    CO
139581   SALVP2RX9KH348213   LandRover       RR                  ORANGE COUNTY             CA
139582   SALVP2RX9KH348583   LandRover       RR                  LOS ANGELES               CA
139583   SALVP2RX9KH348647   LandRover       RR                  SAN JOSE                  CA
139584   SALVP2RX9KH348888   LandRover       RR                  LOS ANGELES               CA
139585   SALVP2RX9KH349636   LandRover       RR                  ONTARIO                   CA
139586   SALVP2RX9KH350057   LandRover       RR                  DAYTONA BEACH             FL
139587   SALVP2RX9KH350060   LandRover       RR                  SAN DIEGO                 CA
139588   SALVP2RX9KH350401   LandRover       RR                  LOS ANGELES AP            CA
139589   SALVP2RX9KH350415   LandRover       RR                  AUSTIN                    TX
139590   SALVP2RX9KH351435   LandRover       RR                  Dallas                    TX
139591   SALVP2RXXKH345675   LandRover       RR                  GYPSUM                    CO
139592   SALVP2RXXKH346891   LandRover       RR                  DENVER                    CO
139593   SALVP2RXXKH346941   LandRover       RR                  North Las Vegas           NV
139594   SALVP2RXXKH347054   LandRover       RR                  Atlanta                   GA
139595   SALVP2RXXKH347619   LandRover       RR                  BOSTON                    MA
139596   SALVP2RXXKH347653   LandRover       RR                  Springfield               MO
139597   SALVP2RXXKH347734   LandRover       RR                  MCALLEN                   TX
139598   SALVP2RXXKH347796   LandRover       RR                  Dallas                    TX
139599   SALVP2RXXKH348091   LandRover       RR                  NEWPORT BEACH             CA
139600   SALVP2RXXKH348432   LandRover       RR                  MIAMI                     FL
139601   SALVP2RXXKH348687   LandRover       RR                  BOSTON                    MA
139602   SALVP2RXXKH348964   LandRover       RR                  SALT LAKE CITY            UT
139603   SALVP2RXXKH349015   LandRover       RR                  SAN FRANCISCO             CA
139604   SALVP2RXXKH350245   LandRover       RR                  SAN JOSE                  CA
139605   SALVP2RXXKH350391   LandRover       RR                  SAN ANTONIO               TX
139606   SALWR2EF6GA121220   LandRover       RANGE               Fontana                   CA
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139607   SALWR2PF2GA118909   LandRover       RANGE               Ocoee                     FL
139608   SALWR2PF8GA119689   LandRover       RANGE               ORLANDO                   FL
139609   SALWR2PF9GA118325   LandRover       RANGE               Tampa                     FL
139610   SALWR2RV0JA194592   LandRover       RR                  ATLANTA                   GA
139611   SALWR2RV0KA837170   LandRover       RR                  WEST PALM BEACH           FL
139612   SALWR2RV0KA838819   LandRover       RR                  Hattiesburg               MS
139613   SALWR2RV0KA838822   LandRover       RR                  Norwalk                   CA
139614   SALWR2RV0KA839176   LandRover       RR                  Tolleson                  AZ
139615   SALWR2RV0KA839307   LandRover       RR                  Davie                     FL
139616   SALWR2RV0KA839419   LandRover       RR                  STERLING                  VA
139617   SALWR2RV0KA839615   LandRover       RR                  STERLING                  VA
139618   SALWR2RV0KA840683   LandRover       RR                  San Diego                 CA
139619   SALWR2RV0KA840991   LandRover       RR                  Riverside                 CA
139620   SALWR2RV0KA841994   LandRover       RR                  Fontana                   CA
139621   SALWR2RV1JA192656   LandRover       RR                  Ocoee                     FL
139622   SALWR2RV1KA837307   LandRover       RR                  Sarasota                  FL
139623   SALWR2RV1KA839493   LandRover       RR                  ATLANTA                   GA
139624   SALWR2RV1KA839509   LandRover       RR                  SAN JOSE                  CA
139625   SALWR2RV1KA841017   LandRover       RR                  Riverside                 CA
139626   SALWR2RV1KA841227   LandRover       RR                  Mira Loma                 CA
139627   SALWR2RV1KA841812   LandRover       RR                  OAKLAND                   CA
139628   SALWR2RV1KA842037   LandRover       RR                  SAN FRANCISCO             CA
139629   SALWR2RV1KA845228   LandRover       RR                  LOS ANGELES               CA
139630   SALWR2RV2JA191452   LandRover       RR                  Riverside                 CA
139631   SALWR2RV2JA192715   LandRover       RR                  HONOLULU                  HI
139632   SALWR2RV2JA193749   LandRover       RR                  Oceanside                 CA
139633   SALWR2RV2JA193752   LandRover       RR                  Hayward                   CA
139634   SALWR2RV2JA193976   LandRover       RR                  SAN DIEGO                 CA
139635   SALWR2RV2JA194710   LandRover       RR                  HONOLULU                  HI
139636   SALWR2RV2KA837350   LandRover       RR                  Manheim                   PA
139637   SALWR2RV2KA839003   LandRover       RR                  LOS ANGELES               CA
139638   SALWR2RV2KA839079   LandRover       RR                  Davie                     FL
139639   SALWR2RV2KA839499   LandRover       RR                  Norwalk                   CA
139640   SALWR2RV2KA839695   LandRover       RR                  Manheim                   PA
139641   SALWR2RV2KA839857   LandRover       RR                  LOS ANGELES               CA
139642   SALWR2RV2KA840829   LandRover       RR                  OAKLAND                   CA
139643   SALWR2RV2KA840989   LandRover       RR                  LOS ANGELES               CA
139644   SALWR2RV2KA841088   LandRover       RR                  SAN FRANCISCO             CA
139645   SALWR2RV2KA841253   LandRover       RR                  Tampa                     FL
139646   SALWR2RV2KA841799   LandRover       RR                  SAN JOSE                  CA
139647   SALWR2RV2KA841849   LandRover       RR                  Stockton                  CA
139648   SALWR2RV2KA841866   LandRover       RR                  Salt Lake City            UT
139649   SALWR2RV2KA842029   LandRover       RR                  Riverside                 CA
139650   SALWR2RV2KA842032   LandRover       RR                  Norwalk                   CA
139651   SALWR2RV3JA188897   LandRover       RR                  Riverside                 CA
139652   SALWR2RV3JA192738   LandRover       RR                  Burlingame                CA
139653   SALWR2RV3JA192870   LandRover       RR                  HONOLULU                  HI
139654   SALWR2RV3KA837180   LandRover       RR                  Schaumburg                IL
139655   SALWR2RV3KA837406   LandRover       RR                  HANOVER                   MD
139656   SALWR2RV3KA839012   LandRover       RR                  BURBANK                   CA
139657   SALWR2RV3KA839088   LandRover       RR                  Denver                    CO
139658   SALWR2RV3KA839138   LandRover       RR                  North Dighton             MA
139659   SALWR2RV3KA839284   LandRover       RR                  Manheim                   PA
139660   SALWR2RV3KA839947   LandRover       RR                  Pompano Beach             FL
139661   SALWR2RV3KA840063   LandRover       RR                  Estero                    FL
139662   SALWR2RV3KA841214   LandRover       RR                  Costa Mesa                CA
139663   SALWR2RV3KA842024   LandRover       RR                  LAS VEGAS                 NV
139664   SALWR2RV3KA844940   LandRover       RR                  Stockton                  CA
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139665   SALWR2RV4JA192683   LandRover       RR                  Honolulu                  HI
139666   SALWR2RV4KA837124   LandRover       RR                  Aurora                    CO
139667   SALWR2RV4KA837589   LandRover       RR                  Davie                     FL
139668   SALWR2RV4KA837687   LandRover       RR                  CHICAGO                   IL
139669   SALWR2RV4KA838970   LandRover       RR                  Chicago                   IL
139670   SALWR2RV4KA839097   LandRover       RR                  North Dighton             MA
139671   SALWR2RV4KA839150   LandRover       RR                  Schaumburg                IL
139672   SALWR2RV4KA839410   LandRover       RR                  SANTA ANA                 CA
139673   SALWR2RV4KA839486   LandRover       RR                  Cerritos                  CA
139674   SALWR2RV4KA840914   LandRover       RR                  LAS VEGAS                 NV
139675   SALWR2RV4KA841156   LandRover       RR                  Lake Elsinore             CA
139676   SALWR2RV4KA841206   LandRover       RR                  Riverside                 CA
139677   SALWR2RV4KA841223   LandRover       RR                  WEST PALM BEACH           FL
139678   SALWR2RV4KA844882   LandRover       RR                  LAS VEGAS                 NV
139679   SALWR2RV5JA190697   LandRover       RR                  Davie                     FL
139680   SALWR2RV5KA837357   LandRover       RR                  FT. LAUDERDALE            FL
139681   SALWR2RV5KA837505   LandRover       RR                  Manheim                   PA
139682   SALWR2RV5KA837567   LandRover       RR                  ORLANDO                   FL
139683   SALWR2RV5KA839254   LandRover       RR                  Ocoee                     FL
139684   SALWR2RV5KA839965   LandRover       RR                  Denver                    CO
139685   SALWR2RV5KA840078   LandRover       RR                  Warwick                   RI
139686   SALWR2RV5KA840730   LandRover       RR                  SAN DIEGO                 CA
139687   SALWR2RV5KA841389   LandRover       RR                  LOS ANGELES               CA
139688   SALWR2RV5KA844776   LandRover       RR                  CHICAGO                   IL
139689   SALWR2RV6JA192832   LandRover       RR                  Honolulu                  HI
139690   SALWR2RV6JA195150   LandRover       RR                  Manheim                   PA
139691   SALWR2RV6KA837769   LandRover       RR                  Elkridge                  MD
139692   SALWR2RV6KA838842   LandRover       RR                  OAKLAND                   CA
139693   SALWR2RV6KA840865   LandRover       RR                  NEWPORT BEACH             CA
139694   SALWR2RV6KA841062   LandRover       RR                  Riverside                 CA
139695   SALWR2RV6KA841840   LandRover       RR                  LOS ANGELES               CA
139696   SALWR2RV7JA192807   LandRover       RR
139697   SALWR2RV7JA195030   LandRover       RR                  DETROIT                   MI
139698   SALWR2RV7KA838915   LandRover       RR                  Tampa                     FL
139699   SALWR2RV7KA838963   LandRover       RR                  Torrance                  CA
139700   SALWR2RV7KA839840   LandRover       RR                  SAN DIEGO                 CA
139701   SALWR2RV7KA839868   LandRover       RR                  Denver                    CO
139702   SALWR2RV7KA840115   LandRover       RR                  Denver                    CO
139703   SALWR2RV7KA841006   LandRover       RR                  LOS ANGELES               CA
139704   SALWR2RV7KA841054   LandRover       RR                  Phoenix                   AZ
139705   SALWR2RV7KA841104   LandRover       RR                  Fontana                   CA
139706   SALWR2RV7KA841183   LandRover       RR                  SAN DIEGO                 CA
139707   SALWR2RV7KA841443   LandRover       RR                  PALM SPRINGS              CA
139708   SALWR2RV7KA844925   LandRover       RR                  Salt Lake City            UT
139709   SALWR2RV8JA191973   LandRover       RR                  Roseville                 CA
139710   SALWR2RV8JA192735   LandRover       RR                  Roseville                 CA
139711   SALWR2RV8KA839104   LandRover       RR                  SAN DIEGO                 CA
139712   SALWR2RV8KA839149   LandRover       RR                  North Dighton             MA
139713   SALWR2RV8KA839197   LandRover       RR                  Schaumburg                IL
139714   SALWR2RV8KA840091   LandRover       RR                  Norwalk                   CA
139715   SALWR2RV8KA840835   LandRover       RR                  LAS VEGAS                 NV
139716   SALWR2RV8KA841743   LandRover       RR                  SAN JOSE                  CA
139717   SALWR2RV8KA842035   LandRover       RR                  Riverside                 CA
139718   SALWR2RV9JA192565   LandRover       RR                  HONOLULU                  HI
139719   SALWR2RV9KA837409   LandRover       RR                  ATLANTA                   GA
139720   SALWR2RV9KA837457   LandRover       RR                  ORLANDO                   FL
139721   SALWR2RV9KA838897   LandRover       RR                  RONKONKOMA                NY
139722   SALWR2RV9KA839015   LandRover       RR                  Riverside                 CA
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139723   SALWR2RV9KA839063   LandRover       RR                  BOSTON                    MA
139724   SALWR2RV9KA840004   LandRover       RR                  Manheim                   PA
139725   SALWR2RV9KA840018   LandRover       RR                  Los Angeles               CA
139726   SALWR2RV9KA840617   LandRover       RR                  ATLANTA                   GA
139727   SALWR2RV9KA840875   LandRover       RR                  SAN FRANCISCO             CA
139728   SALWR2RV9KA841783   LandRover       RR                  SAN DIEGO                 CA
139729   SALWR2RV9KA841976   LandRover       RR                  Costa Mesa                CA
139730   SALWR2RVXJA194163   LandRover       RR                  HONOLULU                  HI
139731   SALWR2RVXKA837211   LandRover       RR                  Manheim                   PA
139732   SALWR2RVXKA837323   LandRover       RR                  Aurora                    CO
139733   SALWR2RVXKA837502   LandRover       RR                  Chicago                   IL
139734   SALWR2RVXKA839007   LandRover       RR                  LOS ANGELES               CA
139735   SALWR2RVXKA839640   LandRover       RR                  North Dighton             MA
139736   SALWR2RVXKA839816   LandRover       RR                  ORLANDO                   FL
139737   SALWR2RVXKA840030   LandRover       RR                  Riverside                 CA
139738   SALWR2RVXKA840951   LandRover       RR                  SAN FRANCISCO             CA
139739   SALWR2RVXKA841002   LandRover       RR                  Riverside                 CA
139740   SALWR2RVXKA841100   LandRover       RR                  TRACY                     CA
139741   SALWR2SU0LA723267   LandRover       RR                  KNOXVILLE                 TN
139742   SALWR2SU5LA724978   LandRover       RR                  CHICAGO                   IL
139743   SALWR2SUXLA722871   LandRover       RR                  KNOXVILLE                 TN
139744   SALYA2EX0KA210752   LandRover       RR                  Miami                     FL
139745   SALYA2EX0KA210976   LandRover       RR                  MIAMI                     FL
139746   SALYA2EX0KA217278   LandRover       RR                  Lake Elsinore             CA
139747   SALYA2EX0KA217443   LandRover       RR                  LOS ANGELES               CA
139748   SALYA2EX0KA217524   LandRover       RR                  LAS VEGAS                 NV
139749   SALYA2EX0KA217619   LandRover       RR                  SAN FRANCISCO             CA
139750   SALYA2EX0KA217667   LandRover       RR                  LAS VEGAS                 NV
139751   SALYA2EX0KA217734   LandRover       RR                  PORTLAND                  OR
139752   SALYA2EX1KA212476   LandRover       RR                  Jamaica                   NY
139753   SALYA2EX1KA214020   LandRover       RR                  Ft. Myers                 FL
139754   SALYA2EX1KA215734   LandRover       RR                  NEWARK                    NJ
139755   SALYA2EX1KA216673   LandRover       RR                  DENVER                    CO
139756   SALYA2EX1KA216950   LandRover       RR                  SAN FRANCISCO             CA
139757   SALYA2EX1KA216995   LandRover       RR                  LOS ANGELES               CA
139758   SALYA2EX1KA217239   LandRover       RR                  LOS ANGELES               CA
139759   SALYA2EX1KA217578   LandRover       RR                  PHOENIX                   AZ
139760   SALYA2EX2KA210820   LandRover       RR                  BOSTON                    MA
139761   SALYA2EX2KA212633   LandRover       RR                  STERLING                  VA
139762   SALYA2EX2KA214219   LandRover       RR                  BOSTON                    MA
139763   SALYA2EX2KA215449   LandRover       RR                  PHILADELPHIA              PA
139764   SALYA2EX2KA215922   LandRover       RR                  EAST BOSTON               MA
139765   SALYA2EX2KA216794   LandRover       RR                  DENVER                    CO
139766   SALYA2EX2KA216844   LandRover       RR                  LAS VEGAS                 NV
139767   SALYA2EX2KA217122   LandRover       RR                  San Diego                 CA
139768   SALYA2EX2KA217136   LandRover       RR                  SANTA BARBARA             CA
139769   SALYA2EX2KA217184   LandRover       RR                  BIRMINGHAM                AL
139770   SALYA2EX2KA217265   LandRover       RR                  Kent                      WA
139771   SALYA2EX2KA217363   LandRover       RR                  EL SEGUNDO                CA
139772   SALYA2EX2KA217427   LandRover       RR                  INDIO                     CA
139773   SALYA2EX2KA217606   LandRover       RR                  REEDLEY                   CA
139774   SALYA2EX2KA217640   LandRover       RR                  BURBANK                   CA
139775   SALYA2EX2KA217668   LandRover       RR                  NEWPORT BEACH             CA
139776   SALYA2EX2KA217699   LandRover       RR                  SALT LAKE CITY            US
139777   SALYA2EX2KA217721   LandRover       RR                  OAKLAND                   CA
139778   SALYA2EX3KA211023   LandRover       RR                  FORT MYERS                FL
139779   SALYA2EX3KA215914   LandRover       RR                  SYRACUSE                  NY
139780   SALYA2EX3KA216836   LandRover       RR                  SANTA ANA                 CA
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139781   SALYA2EX3KA216853   LandRover       RR                  SEATAC                    WA
139782   SALYA2EX3KA216996   LandRover       RR                  LOS ANGELES               CA
139783   SALYA2EX3KA217436   LandRover       RR                  BURBANK                   CA
139784   SALYA2EX3KA217520   LandRover       RR                  PALM SPRINGS              CA
139785   SALYA2EX3KA217629   LandRover       RR                  LOS ANGELES               CA
139786   SALYA2EX3KA217730   LandRover       RR                  LOS ANGELES               CA
139787   SALYA2EX4KA216067   LandRover       RR                  Matteson                  IL
139788   SALYA2EX4KA217221   LandRover       RR                  PALM S                    CA
139789   SALYA2EX4KA217249   LandRover       RR                  SOUTH SAN FRANC           CA
139790   SALYA2EX4KA217283   LandRover       RR                  LOS ANGELES               CA
139791   SALYA2EX4KA217428   LandRover       RR                  LAS VEGAS                 NV
139792   SALYA2EX4KA217476   LandRover       RR                  SACRAMENTO                CA
139793   SALYA2EX4KA217526   LandRover       RR                  PORTLAND                  OR
139794   SALYA2EX4KA217624   LandRover       RR                  DENVER                    CO
139795   SALYA2EX4KA217719   LandRover       RR                  Salt Lake City            UT
139796   SALYA2EX5KA214179   LandRover       RR                  FORT MYERS                FL
139797   SALYA2EX5KA216692   LandRover       RR                  LOS ANGELES               CA
139798   SALYA2EX5KA216725   LandRover       RR                  SALT LAKE CITY            UT
139799   SALYA2EX5KA216739   LandRover       RR                  SAINT PAUL                MN
139800   SALYA2EX5KA217082   LandRover       RR                  LOS ANGELES               CA
139801   SALYA2EX5KA217163   LandRover       RR                  Portland                  OR
139802   SALYA2EX5KA217325   LandRover       RR                  LOS ANGELES               CA
139803   SALYA2EX5KA217406   LandRover       RR                  Riverside                 CA
139804   SALYA2EX5KA217597   LandRover       RR                  SAN DIEGO                 US
139805   SALYA2EX6KA212439   LandRover       RR                  DALLAS                    TX
139806   SALYA2EX6KA212523   LandRover       RR                  CHICAGO                   IL
139807   SALYA2EX6KA216734   LandRover       RR                  Portland                  OR
139808   SALYA2EX6KA216796   LandRover       RR                  DENVER                    CO
139809   SALYA2EX6KA216801   LandRover       RR                  DENVER                    CO
139810   SALYA2EX6KA216913   LandRover       RR                  San Diego                 CA
139811   SALYA2EX6KA216927   LandRover       RR                  SANTA CLARA               C
139812   SALYA2EX6KA216944   LandRover       RR                  DENVER                    CO
139813   SALYA2EX6KA217107   LandRover       RR                  Lake Elsinore             CA
139814   SALYA2EX6KA217267   LandRover       RR                  PHOENIX                   AZ
139815   SALYA2EX6KA217303   LandRover       RR                  SALT LAKE CITY            UT
139816   SALYA2EX6KA217320   LandRover       RR                  LAS VEGAS                 NV
139817   SALYA2EX6KA217513   LandRover       RR                  SEA TAC                   WA
139818   SALYA2EX6KA217544   LandRover       RR                  PHOENIX                   AZ
139819   SALYA2EX6KA217561   LandRover       RR                  Cerritos                  CA
139820   SALYA2EX6KA217639   LandRover       RR                  SAN DIEGO                 CA
139821   SALYA2EX7KA210831   LandRover       RR                  ORLANDO                   FL
139822   SALYA2EX7KA211039   LandRover       RR                  CHICAGO                   IL
139823   SALYA2EX7KA212451   LandRover       RR                  OMAHA                     NE
139824   SALYA2EX7KA212756   LandRover       RR                  MIAMI                     FL
139825   SALYA2EX7KA214135   LandRover       RR                  Maple Grove               MN
139826   SALYA2EX7KA216791   LandRover       RR                  PALM S                    CA
139827   SALYA2EX7KA217097   LandRover       RR                  BURBANK                   CA
139828   SALYA2EX7KA217231   LandRover       RR                  Fontana                   CA
139829   SALYA2EX7KA217374   LandRover       RR                  PHOENIX                   AZ
139830   SALYA2EX7KA217598   LandRover       RR                  PORTLAND                  OR
139831   SALYA2EX8KA210997   LandRover       RR                  DAYTONA BEACH             FL
139832   SALYA2EX8KA214273   LandRover       RR                  FORT MYERS                FL
139833   SALYA2EX8KA216704   LandRover       RR                  FRESNO                    CA
139834   SALYA2EX8KA216895   LandRover       RR                  ORANGE COUNTY             CA
139835   SALYA2EX8KA217173   LandRover       RR                  LOS ANGELES               CA
139836   SALYA2EX8KA217318   LandRover       RR                  OAKLAND                   CA
139837   SALYA2EX8KA217397   LandRover       RR                  LAS VEGAS                 NV
139838   SALYA2EX8KA217447   LandRover       RR                  LOS ANGELES               CA
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139839   SALYA2EX8KA217609   LandRover       RR                  LOS ANGELES               CA
139840   SALYA2EX9KA210913   LandRover       RR                  MIAMI                     FL
139841   SALYA2EX9KA214329   LandRover       RR                  PHILADELPHIA              PA
139842   SALYA2EX9KA215304   LandRover       RR                  BOSTON                    MA
139843   SALYA2EX9KA215786   LandRover       RR                  HARTFORD                  CT
139844   SALYA2EX9KA216761   LandRover       RR                  DENVER                    CO
139845   SALYA2EX9KA217215   LandRover       RR                  SALT LAKE CITY            US
139846   SALYA2EX9KA217327   LandRover       RR                  SAN DIEGO                 US
139847   SALYA2EX9KA217375   LandRover       RR                  DENVER                    CO
139848   SALYA2EX9KA217554   LandRover       RR                  LOS ANGELES               CA
139849   SALYA2EX9KA217621   LandRover       RR                  LAS VEGAS                 NV
139850   SALYA2EXXKA210970   LandRover       RR                  Tampa                     FL
139851   SALYA2EXXKA217028   LandRover       RR                  SAN DIEGO                 CA
139852   SALYA2EXXKA217126   LandRover       RR                  Los Angeles               CA
139853   SALYA2EXXKA217305   LandRover       RR                  SAN FRANCISCO             CA
139854   SALYA2EXXKA217322   LandRover       RR                  DENVER                    CO
139855   SALYA2EXXKA217384   LandRover       RR                  SAN JOSE                  CA
139856   SALYA2EXXKA217479   LandRover       RR                  MILWAUKEE AIRPORT         WI
139857   SALYA2RX0JA752295   LandRover       RANGE               Sacramento                CA
139858   SALYB2EX0LA265748   LandRover       RR                  FT. LAUDERDALE            FL
139859   SALYB2EX0LA268620   LandRover       RR                  ORLANDO                   FL
139860   SALYB2EX0LA268634   LandRover       RR                  ORLANDO                   FL
139861   SALYB2EX0LA269993   LandRover       RR                  BIRMINGHAM                AL
139862   SALYB2EX1LA265399   LandRover       RR                  FORT MYERS                FL
139863   SALYB2EX1LA265855   LandRover       RR                  DENVER                    CO
139864   SALYB2EX1LA268285   LandRover       RR                  MIAMI                     FL
139865   SALYB2EX2LA265282   LandRover       RR                  Elgin                     IL
139866   SALYB2EX2LA265301   LandRover       RR                  MIAMI                     FL
139867   SALYB2EX2LA265573   LandRover       RR                  MIAMI                     FL
139868   SALYB2EX2LA265623   LandRover       RR                  BOSTON                    MA
139869   SALYB2EX2LA268683   LandRover       RR                  ATLANTA                   GA
139870   SALYB2EX2LA269946   LandRover       RR                  ORLANDO                   FL
139871   SALYB2EX3LA265730   LandRover       RR                  FORT MYERS                FL
139872   SALYB2EX3LA265761   LandRover       RR                  COLORADO SPRING           CO
139873   SALYB2EX3LA265789   LandRover       RR                  FORT MYERS                FL
139874   SALYB2EX3LA268627   LandRover       RR                  MIAMI                     FL
139875   SALYB2EX4LA265428   LandRover       RR                  DENVER                    CO
139876   SALYB2EX4LA265476   LandRover       RR                  PORTLAND                  ME
139877   SALYB2EX4LA268488   LandRover       RR                  MIAMI                     FL
139878   SALYB2EX4LA268510   LandRover       RR                  MIAMI                     FL
139879   SALYB2EX4LA269639   LandRover       RR                  DANIA                     FL
139880   SALYB2EX4LA270094   LandRover       RR                  Atlanta                   GA
139881   SALYB2EX5LA265177   LandRover       RR                  DENVER                    CO
139882   SALYB2EX5LA265549   LandRover       RR                  FORT LAUDERDALE           FL
139883   SALYB2EX5LA265616   LandRover       RR                  DENVER                    CO
139884   SALYB2EX5LA265745   LandRover       RR                  FORT MYERS                FL
139885   SALYB2EX5LA265891   LandRover       RR                  FORT MYERS                FL
139886   SALYB2EX5LA268774   LandRover       RR                  FORT LAUDERDALE           FL
139887   SALYB2EX5LA268824   LandRover       RR                  MIAMI                     FL
139888   SALYB2EX5LA268872   LandRover       RR                  BOSTON                    MA
139889   SALYB2EX5LA270041   LandRover       RR                  LOS ANGELES               CA
139890   SALYB2EX6LA269481   LandRover       RR                  NASHVILLE                 TN
139891   SALYB2EX6LA269836   LandRover       RR                  LOS ANGELES               CA
139892   SALYB2EX6LA269979   LandRover       RR                  FORT LAUDERDALE           FL
139893   SALYB2EX7LA265293   LandRover       RR                  BOSTON                    MA
139894   SALYB2EX8LA265013   LandRover       RR                  FORT LAUDERDALE           FL
139895   SALYB2EX8LA265254   LandRover       RR                  BOSTON                    MA
139896   SALYB2EX9LA265313   LandRover       RR                  DANIA BEACH               FL
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139897   SALYB2EX9LA265764   LandRover       RR                  DENVER                    CO
139898   SALYB2EXXLA265594   LandRover       RR                  DENVER                    CO
139899   SALYB2EXXLA265661   LandRover       RR                  DENVER                    CO
139900   SALYB2EXXLA268253   LandRover       RR                  ATLANTA                   GA
139901   SALYB2EXXLA268608   LandRover       RR                  Ft. Myers                 FL
139902   SALYB2RX2JA757110   LandRover       RANGE               MIDDLE RIVER              MD
139903   SALYB2RX3JA756788   LandRover       RANGE               Riverside                 CA
139904   SALYB2RX6JA756817   LandRover       RANGE               North Las Vegas           NV
139905   SALYB2RX6JA757028   LandRover       RANGE               Slidell                   LA
139906   SALZP2FX0LH074620   LandRover       RR                  ROANOKE                   VA
139907   SALZP2FX0LH075024   LandRover       RR                  ORANGE COUNTY             CA
139908   SALZP2FX0LH075136   LandRover       RR                  PHOENIX                   AZ
139909   SALZP2FX0LH075315   LandRover       RR                  LAS VEGAS                 NV
139910   SALZP2FX0LH075489   LandRover       RR                  LEXINGTON                 KY
139911   SALZP2FX0LH075766   LandRover       RR                  KENNER                    LA
139912   SALZP2FX0LH075847   LandRover       RR                  DALLAS                    TX
139913   SALZP2FX0LH076044   LandRover       RR                  ONTARIO, RIVERSIDE        CA
139914   SALZP2FX0LH076657   LandRover       RR                  LOS ANGELES               CA
139915   SALZP2FX0LH076951   LandRover       RR                  LOS ANGELES               CA
139916   SALZP2FX0LH077033   LandRover       RR                  PHOENIX                   AZ
139917   SALZP2FX0LH077131   LandRover       RR                  BOSTON                    MA
139918   SALZP2FX0LH077226   LandRover       RR                  MILWAUKEE                 WI
139919   SALZP2FX0LH077288   LandRover       RR                  KNOXVILLE                 TN
139920   SALZP2FX0LH077341   LandRover       RR                  DENVER                    CO
139921   SALZP2FX0LH077453   LandRover       RR                  KANSAS CITY               MO
139922   SALZP2FX0LH077551   LandRover       RR                  CHARLESTON                SC
139923   SALZP2FX0LH077579   LandRover       RR                  CHARLOTTE                 US
139924   SALZP2FX0LH077601   LandRover       RR                  HARTFORD                  CT
139925   SALZP2FX0LH077615   LandRover       RR                  DENVER                    CO
139926   SALZP2FX0LH077680   LandRover       RR                  Hebron                    KY
139927   SALZP2FX0LH077761   LandRover       RR                  CLEVELAND                 OH
139928   SALZP2FX0LH077971   LandRover       RR                  PHILADELPHIA              PA
139929   SALZP2FX0LH078098   LandRover       RR                  EAST BOSTON               MA
139930   SALZP2FX0LH078120   LandRover       RR                  HARTFORD                  CT
139931   SALZP2FX0LH078151   LandRover       RR                  RALIEGH                   NC
139932   SALZP2FX0LH078165   LandRover       RR                  STERLING                  VA
139933   SALZP2FX0LH078179   LandRover       RR                  PHILADELPHIA              PA
139934   SALZP2FX0LH078196   LandRover       RR                  DENVER                    CO
139935   SALZP2FX0LH078232   LandRover       RR                  ROANOKE                   VA
139936   SALZP2FX0LH079896   LandRover       RR                  ATLANTA                   GA
139937   SALZP2FX0LH079977   LandRover       RR                  PHILADELPHIA              PA
139938   SALZP2FX0LH080076   LandRover       RR                  MEMPHIS                   TN
139939   SALZP2FX0LH080207   LandRover       RR                  PHILADELPHIA              PA
139940   SALZP2FX0LH080319   LandRover       RR                  BALTIMORE                 MD
139941   SALZP2FX0LH080403   LandRover       RR                  BOSTON                    MA
139942   SALZP2FX0LH080515   LandRover       RR                  CHICAGO O'HARE AP         IL
139943   SALZP2FX0LH080546   LandRover       RR                  STERLING                  VA
139944   SALZP2FX0LH080627   LandRover       RR                  DENVER                    CO
139945   SALZP2FX0LH080661   LandRover       RR                  KANSAS CITY               MO
139946   SALZP2FX0LH080692   LandRover       RR                  KANSAS CITY               MO
139947   SALZP2FX0LH080708   LandRover       RR                  CHICAGO                   IL
139948   SALZP2FX0LH080711   LandRover       RR                  SAINT LOUIS               MO
139949   SALZP2FX0LH081017   LandRover       RR                  OMAHA                     NE
139950   SALZP2FX0LH081079   LandRover       RR                  OKLAHOMA CITY             OK
139951   SALZP2FX1LH074979   LandRover       RR                  JACKSONVILLE              FL
139952   SALZP2FX1LH074996   LandRover       RR                  NEWPORT BEACH             CA
139953   SALZP2FX1LH075002   LandRover       RR                  PALM SPRINGS              CA
139954   SALZP2FX1LH075159   LandRover       RR                  NEW ORLEANS               LA
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139955   SALZP2FX1LH075162   LandRover       RR                  LAS VEGAS                 NV
139956   SALZP2FX1LH075291   LandRover       RR                  KENNER                    LA
139957   SALZP2FX1LH075744   LandRover       RR                  LAS VEGAS                 NV
139958   SALZP2FX1LH076778   LandRover       RR                  BOSTON                    MA
139959   SALZP2FX1LH076781   LandRover       RR                  Los Angeles               CA
139960   SALZP2FX1LH076926   LandRover       RR                  NEWARK                    NJ
139961   SALZP2FX1LH077056   LandRover       RR                  BOSTON                    MA
139962   SALZP2FX1LH077073   LandRover       RR                  SYRACUSE                  NY
139963   SALZP2FX1LH077087   LandRover       RR                  LAS VEGAS                 NV
139964   SALZP2FX1LH077168   LandRover       RR                  FORT LAUDERDALE           FL
139965   SALZP2FX1LH077199   LandRover       RR                  GREENSBORO                NC
139966   SALZP2FX1LH077266   LandRover       RR                  SAINT PAUL                MN
139967   SALZP2FX1LH077283   LandRover       RR                  MILWAUKEE                 WI
139968   SALZP2FX1LH077302   LandRover       RR                  BOSTON                    MA
139969   SALZP2FX1LH077428   LandRover       RR                  KANSAS CITY               MO
139970   SALZP2FX1LH077431   LandRover       RR                  DENVER                    CO
139971   SALZP2FX1LH077509   LandRover       RR                  CHARLOTTE                 US
139972   SALZP2FX1LH077560   LandRover       RR                  LAS VEGAS                 NV
139973   SALZP2FX1LH077607   LandRover       RR                  LOUISVILLE                KY
139974   SALZP2FX1LH077672   LandRover       RR                  CLEVELAND                 OH
139975   SALZP2FX1LH077722   LandRover       RR                  CHICAGO                   IL
139976   SALZP2FX1LH077851   LandRover       RR                  PITTSBURGH                PA
139977   SALZP2FX1LH077865   LandRover       RR                  NEW BERN                  NC
139978   SALZP2FX1LH077879   LandRover       RR                  MILWAUKEE                 WI
139979   SALZP2FX1LH077977   LandRover       RR                  MILWAUKEE                 WI
139980   SALZP2FX1LH078028   LandRover       RR                  Saint Paul                MN
139981   SALZP2FX1LH078059   LandRover       RR                  KNOXVILLE                 TN
139982   SALZP2FX1LH078093   LandRover       RR                  PORTLAND                  OR
139983   SALZP2FX1LH078224   LandRover       RR                  SAINT PAUL                MN
139984   SALZP2FX1LH079826   LandRover       RR                  WASHINGTON DC             MD
139985   SALZP2FX1LH079843   LandRover       RR                  ATLANTA                   GA
139986   SALZP2FX1LH079986   LandRover       RR                  HANOVER                   MD
139987   SALZP2FX1LH080460   LandRover       RR                  SAINT LOUIS               MO
139988   SALZP2FX1LH080488   LandRover       RR                  NEW YORK CITY             NY
139989   SALZP2FX1LH080670   LandRover       RR                  PHILADELPHIA              PA
139990   SALZP2FX1LH080989   LandRover       RR                  BALTIMORE                 MD
139991   SALZP2FX1LH081401   LandRover       RR                  ATLANTA                   GA
139992   SALZP2FX1LH081530   LandRover       RR                  HANOVER                   MD
139993   SALZP2FX2LH074635   LandRover       RR                  CHARLESTON                SC
139994   SALZP2FX2LH075199   LandRover       RR                  SARASOTA                  FL
139995   SALZP2FX2LH075218   LandRover       RR                  ATLANTA                   GA
139996   SALZP2FX2LH075378   LandRover       RR                  SANTA ANA                 CA
139997   SALZP2FX2LH075509   LandRover       RR                  Atlanta                   GA
139998   SALZP2FX2LH075607   LandRover       RR                  LAS VEGAS                 NV
139999   SALZP2FX2LH076482   LandRover       RR                  LOS ANGELES               CA
140000   SALZP2FX2LH076949   LandRover       RR                  SAN FRANCISCO             CA
140001   SALZP2FX2LH077129   LandRover       RR                  DENVER                    CO
140002   SALZP2FX2LH077163   LandRover       RR                  LAS VEGAS                 NV
140003   SALZP2FX2LH077230   LandRover       RR                  PHILADELPHIA              PA
140004   SALZP2FX2LH077275   LandRover       RR                  SAINT PAUL                MN
140005   SALZP2FX2LH077471   LandRover       RR                  DENVER                    CO
140006   SALZP2FX2LH077485   LandRover       RR                  PANAMA CITY               FL
140007   SALZP2FX2LH077566   LandRover       RR                  LAS VEGAS                 NV
140008   SALZP2FX2LH077695   LandRover       RR                  KNOXVILLE                 TN
140009   SALZP2FX2LH077860   LandRover       RR                  DENVER                    CO
140010   SALZP2FX2LH077907   LandRover       RR                  GREENWOOD                 IN
140011   SALZP2FX2LH077969   LandRover       RR                  BOSTON                    MA
140012   SALZP2FX2LH078037   LandRover       RR                  KANSAS CITY               MO
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140013   SALZP2FX2LH078071   LandRover       RR                  CLEVELAND                 OH
140014   SALZP2FX2LH078135   LandRover       RR                  PITTSBURGH                PA
140015   SALZP2FX2LH078149   LandRover       RR                  DENVER                    CO
140016   SALZP2FX2LH078166   LandRover       RR                  DENVER                    CO
140017   SALZP2FX2LH078250   LandRover       RR                  BIRMINGHAM                AL
140018   SALZP2FX2LH080080   LandRover       RR                  SAVANNAH                  GA
140019   SALZP2FX2LH080385   LandRover       RR                  DENVER                    CO
140020   SALZP2FX2LH080418   LandRover       RR                  DENVER                    CO
140021   SALZP2FX2LH080614   LandRover       RR                  BALTIMORE                 MD
140022   SALZP2FX2LH080662   LandRover       RR                  EGG HARBOR TOWN           NJ
140023   SALZP2FX2LH081116   LandRover       RR                  SAINT LOUIS               MO
140024   SALZP2FX2LH081388   LandRover       RR                  PHILADELPHIA              PA
140025   SALZP2FX2LH081424   LandRover       RR                  Atlanta                   GA
140026   SALZP2FX2LH081472   LandRover       RR                  FREDERICK                 MD
140027   SALZP2FX3LH074983   LandRover       RR                  LAS VEGAS                 NV
140028   SALZP2FX3LH075020   LandRover       RR                  PHILADELPHIA              PA
140029   SALZP2FX3LH075034   LandRover       RR                  NORFOLK                   VA
140030   SALZP2FX3LH075079   LandRover       RR                  LOS ANGELES               CA
140031   SALZP2FX3LH075213   LandRover       RR                  JACKSONVILLE              FL
140032   SALZP2FX3LH076054   LandRover       RR                  LOS ANGELES               CA
140033   SALZP2FX3LH076152   LandRover       RR                  ORLANDO                   FL
140034   SALZP2FX3LH076717   LandRover       RR                  PHILADELPHIA              PA
140035   SALZP2FX3LH077043   LandRover       RR                  SAN DIEGO                 CA
140036   SALZP2FX3LH077091   LandRover       RR                  NEWARK                    NJ
140037   SALZP2FX3LH077124   LandRover       RR                  DENVER                    CO
140038   SALZP2FX3LH077236   LandRover       RR                  DENVER                    CO
140039   SALZP2FX3LH077253   LandRover       RR                  MILWAUKEE                 WI
140040   SALZP2FX3LH077415   LandRover       RR                  FORT MYERS                FL
140041   SALZP2FX3LH077558   LandRover       RR                  NORFOLK                   VA
140042   SALZP2FX3LH077592   LandRover       RR                  CLEVELAND                 OH
140043   SALZP2FX3LH077611   LandRover       RR                  PHILADELPHIA              PA
140044   SALZP2FX3LH077690   LandRover       RR                  SAINT LOUIS               MO
140045   SALZP2FX3LH077706   LandRover       RR                  MILWAUKEE                 WI
140046   SALZP2FX3LH077835   LandRover       RR                  KNOXVILLE                 TN
140047   SALZP2FX3LH077849   LandRover       RR                  DENVER                    CO
140048   SALZP2FX3LH077933   LandRover       RR                  DENVER                    CO
140049   SALZP2FX3LH077947   LandRover       RR                  SAINT PAUL                MN
140050   SALZP2FX3LH077950   LandRover       RR                  CHARLOTTE                 US
140051   SALZP2FX3LH077964   LandRover       RR                  SAINT PAUL                MN
140052   SALZP2FX3LH078001   LandRover       RR                  NASHVILLE                 TN
140053   SALZP2FX3LH078077   LandRover       RR                  CLEVELAND                 OH
140054   SALZP2FX3LH078094   LandRover       RR                  SAINT LOUIS               MO
140055   SALZP2FX3LH078113   LandRover       RR                  PHOENIX                   AZ
140056   SALZP2FX3LH078144   LandRover       RR                  LAS VEGAS                 NV
140057   SALZP2FX3LH078161   LandRover       RR                  SAINT PAUL                MN
140058   SALZP2FX3LH078175   LandRover       RR                  SAINT LOUIS               MO
140059   SALZP2FX3LH078225   LandRover       RR                  ATLANTA                   GA
140060   SALZP2FX3LH078239   LandRover       RR                  SAINT PAUL                MN
140061   SALZP2FX3LH080654   LandRover       RR                  CHICAGO                   IL
140062   SALZP2FX3LH080704   LandRover       RR                  SAVANNAH                  GA
140063   SALZP2FX3LH081173   LandRover       RR                  DENVER                    CO
140064   SALZP2FX3LH081206   LandRover       RR                  CHICAGO                   IL
140065   SALZP2FX3LH081495   LandRover       RR                  HANOVER                   MD
140066   SALZP2FX3LH081514   LandRover       RR                  Atlanta                   GA
140067   SALZP2FX4LH074409   LandRover       RR                  KNOXVILLE                 TN
140068   SALZP2FX4LH074622   LandRover       RR                  NEWARK                    NJ
140069   SALZP2FX4LH075219   LandRover       RR                  SAINT PAUL                MN
140070   SALZP2FX4LH075253   LandRover       RR                  WEST COLUMBIA             SC
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140071   SALZP2FX4LH075494   LandRover       RR                  FORT LAUDERDALE           FL
140072   SALZP2FX4LH076046   LandRover       RR                  WEST PALM BEACH           FL
140073   SALZP2FX4LH076967   LandRover       RR                  PALM SPRINGS              CA
140074   SALZP2FX4LH077018   LandRover       RR                  RALEIGH                   NC
140075   SALZP2FX4LH077147   LandRover       RR                  CLEVELAND                 OH
140076   SALZP2FX4LH077164   LandRover       RR                  SAINT PAUL                MN
140077   SALZP2FX4LH077214   LandRover       RR                  RALEIGH                   NC
140078   SALZP2FX4LH077343   LandRover       RR                  MILWAUKEE                 WI
140079   SALZP2FX4LH077374   LandRover       RR                  CHARLOTTE                 NC
140080   SALZP2FX4LH077388   LandRover       RR                  LAS VEGAS                 NV
140081   SALZP2FX4LH077620   LandRover       RR                  RALIEGH                   NC
140082   SALZP2FX4LH077634   LandRover       RR                  SAINT PAUL                MN
140083   SALZP2FX4LH077665   LandRover       RR                  KNOXVILLE                 TN
140084   SALZP2FX4LH077701   LandRover       RR                  CLEVELAND                 OH
140085   SALZP2FX4LH077780   LandRover       RR                  CLEVELAND                 OH
140086   SALZP2FX4LH077794   LandRover       RR                  BOSTON                    MA
140087   SALZP2FX4LH077830   LandRover       RR                  CLEVELAND                 OH
140088   SALZP2FX4LH077858   LandRover       RR                  JAMAICA                   NY
140089   SALZP2FX4LH077875   LandRover       RR                  HARTFORD                  CT
140090   SALZP2FX4LH077942   LandRover       RR                  KANSAS CITY               MO
140091   SALZP2FX4LH077990   LandRover       RR                  OMAHA                     NE
140092   SALZP2FX4LH078010   LandRover       RR                  BOSTON                    MA
140093   SALZP2FX4LH078170   LandRover       RR                  ATLANTA                   GA
140094   SALZP2FX4LH078220   LandRover       RR                  LAS VEGAS                 NV
140095   SALZP2FX4LH078234   LandRover       RR                  PORTLAND                  OR
140096   SALZP2FX4LH080128   LandRover       RR                  KANSAS CITY               MO
140097   SALZP2FX4LH080291   LandRover       RR                  Kansas City               MO
140098   SALZP2FX4LH080341   LandRover       RR                  JACKSONVILLE              FL
140099   SALZP2FX4LH080646   LandRover       RR                  MILWAUKEE                 WI
140100   SALZP2FX4LH080677   LandRover       RR                  Des Moines                IA
140101   SALZP2FX4LH081019   LandRover       RR                  CHICAGO                   IL
140102   SALZP2FX4LH081389   LandRover       RR                  BOSTON                    MA
140103   SALZP2FX4LH081554   LandRover       RR                  CHICAGO                   IL
140104   SALZP2FX5LH075018   LandRover       RR                  LAS VEGAS                 NV
140105   SALZP2FX5LH075262   LandRover       RR                  LAS VEGAS                 NV
140106   SALZP2FX5LH075407   LandRover       RR                  LAS VEGAS                 NV
140107   SALZP2FX5LH076752   LandRover       RR                  BOSTON                    MA
140108   SALZP2FX5LH076864   LandRover       RR                  BOSTON                    MA
140109   SALZP2FX5LH076914   LandRover       RR                  HARTFORD                  CT
140110   SALZP2FX5LH077108   LandRover       RR                  PHILADELPHIA              PA
140111   SALZP2FX5LH077206   LandRover       RR                  STERLING                  VA
140112   SALZP2FX5LH077321   LandRover       RR                  PHILADELPHIA              PA
140113   SALZP2FX5LH077335   LandRover       RR                  LAS VEGAS                 NV
140114   SALZP2FX5LH077366   LandRover       RR                  SAN FRANCISCO             CA
140115   SALZP2FX5LH077500   LandRover       RR                  LAS VEGAS                 NV
140116   SALZP2FX5LH077531   LandRover       RR                  KNOXVILLE                 TN
140117   SALZP2FX5LH077657   LandRover       RR                  WOODSTOCK                 GA
140118   SALZP2FX5LH077738   LandRover       RR                  SAINT PAUL                MN
140119   SALZP2FX5LH077903   LandRover       RR                  CHARLOTTE                 NC
140120   SALZP2FX5LH077917   LandRover       RR                  KENNER                    LA
140121   SALZP2FX5LH077934   LandRover       RR                  WOODSON TERRACE           MO
140122   SALZP2FX5LH077982   LandRover       RR                  SAINT PAUL                MN
140123   SALZP2FX5LH078047   LandRover       RR                  SAINT PAUL                MN
140124   SALZP2FX5LH078243   LandRover       RR                  NEW BERN                  NC
140125   SALZP2FX5LH079991   LandRover       RR                  STERLING                  VA
140126   SALZP2FX5LH080350   LandRover       RR                  BALTIMORE                 MD
140127   SALZP2FX5LH080431   LandRover       RR                  PHILADELPHIA              US
140128   SALZP2FX5LH080610   LandRover       RR                  ATLANTA                   GA
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140129   SALZP2FX5LH080719   LandRover       RR                  DENVER                    CO
140130   SALZP2FX5LH081112   LandRover       RR                  HARTFORD                  CT
140131   SALZP2FX5LH081126   LandRover       RR                  DENVER                    CO
140132   SALZP2FX5LH081448   LandRover       RR                  EAST BOSTON               MA
140133   SALZP2FX6LH075125   LandRover       RR                  SANTA ANA                 CA
140134   SALZP2FX6LH075397   LandRover       RR                  LAS VEGAS                 NV
140135   SALZP2FX6LH075979   LandRover       RR                  SANTA ANA                 CA
140136   SALZP2FX6LH076467   LandRover       RR                  MANCHESTER                US
140137   SALZP2FX6LH076775   LandRover       RR                  EAST BOSTON               MA
140138   SALZP2FX6LH076923   LandRover       RR                  BOSTON                    MA
140139   SALZP2FX6LH076954   LandRover       RR                  LOS ANGELES               CA
140140   SALZP2FX6LH076999   LandRover       RR                  LOS ANGELES               CA
140141   SALZP2FX6LH077196   LandRover       RR                  CLEVELAND                 OH
140142   SALZP2FX6LH077201   LandRover       RR                  KANSAS CITY               MO
140143   SALZP2FX6LH077263   LandRover       RR                  RALIEGH                   NC
140144   SALZP2FX6LH077389   LandRover       RR                  MILWAUKEE                 WI
140145   SALZP2FX6LH077411   LandRover       RR                  DENVER                    CO
140146   SALZP2FX6LH077473   LandRover       RR                  ATLANTA                   GA
140147   SALZP2FX6LH077537   LandRover       RR                  CHICAGO                   IL
140148   SALZP2FX6LH077554   LandRover       RR                  GRAND RAPIDS              MI
140149   SALZP2FX6LH077697   LandRover       RR                  SAINT PAUL                MN
140150   SALZP2FX6LH077781   LandRover       RR                  CLEVELAND                 OH
140151   SALZP2FX6LH077795   LandRover       RR                  WARWICK                   RI
140152   SALZP2FX6LH077974   LandRover       RR                  MANCHESTER                US
140153   SALZP2FX6LH078073   LandRover       RR                  PROVIDENCE                RI
140154   SALZP2FX6LH078106   LandRover       RR                  BOSTON                    MA
140155   SALZP2FX6LH078140   LandRover       RR                  PANAMA CITY               FL
140156   SALZP2FX6LH078199   LandRover       RR                  BOSTON                    MA
140157   SALZP2FX6LH079871   LandRover       RR                  EVERETT                   MA
140158   SALZP2FX6LH080292   LandRover       RR                  BALTIMORE                 MD
140159   SALZP2FX6LH080373   LandRover       RR                  DALLAS                    TX
140160   SALZP2FX6LH080387   LandRover       RR                  DENVER                    CO
140161   SALZP2FX6LH080485   LandRover       RR                  ATLANTA                   GA
140162   SALZP2FX6LH080583   LandRover       RR                  SYRACUSE                  NY
140163   SALZP2FX6LH080700   LandRover       RR                  CHICAGO                   IL
140164   SALZP2FX6LH081376   LandRover       RR                  KNOXVILLE                 TN
140165   SALZP2FX6LH081460   LandRover       RR                  STERLING                  VA
140166   SALZP2FX6LH081507   LandRover       RR                  PROVIDENCE                RI
140167   SALZP2FX7LH074310   LandRover       RR                  ATLANTA                   GA
140168   SALZP2FX7LH075117   LandRover       RR                  MIAMI                     FL
140169   SALZP2FX7LH075232   LandRover       RR                  ORLANDO                   FL
140170   SALZP2FX7LH075957   LandRover       RR                  LOS ANGELES               CA
140171   SALZP2FX7LH076011   LandRover       RR                  KENNER                    LA
140172   SALZP2FX7LH076056   LandRover       RR                  ORLANDO                   FL
140173   SALZP2FX7LH076493   LandRover       RR                  SAN JOSE                  CA
140174   SALZP2FX7LH077093   LandRover       RR                  DALLAS                    TX
140175   SALZP2FX7LH077143   LandRover       RR                  ORLANDO                   FL
140176   SALZP2FX7LH077269   LandRover       RR                  DENVER                    CO
140177   SALZP2FX7LH077305   LandRover       RR                  DENVER                    CO
140178   SALZP2FX7LH077479   LandRover       RR                  LAS VEGAS                 NV
140179   SALZP2FX7LH077482   LandRover       RR                  DENVER                    CO
140180   SALZP2FX7LH077546   LandRover       RR                  CLEVELAND                 OH
140181   SALZP2FX7LH077563   LandRover       RR                  DENVER                    CO
140182   SALZP2FX7LH077577   LandRover       RR                  OMAHA                     NE
140183   SALZP2FX7LH077580   LandRover       RR                  SAINT PAUL                MN
140184   SALZP2FX7LH077594   LandRover       RR                  DENVER                    CO
140185   SALZP2FX7LH077708   LandRover       RR                  LAS VEGAS                 NV
140186   SALZP2FX7LH077787   LandRover       RR                  KNOXVILLE                 TN
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140187   SALZP2FX7LH077790   LandRover       RR                  DENVER                    CO
140188   SALZP2FX7LH078003   LandRover       RR                  SAINT LOUIS               MO
140189   SALZP2FX7LH078017   LandRover       RR                  CLEVELAND                 OH
140190   SALZP2FX7LH078051   LandRover       RR                  PHILADELPHIA              PA
140191   SALZP2FX7LH078244   LandRover       RR                  KNOXVILLE                 TN
140192   SALZP2FX7LH080091   LandRover       RR                  ATLANTA                   GA
140193   SALZP2FX7LH080270   LandRover       RR                  CHICAGO                   IL
140194   SALZP2FX7LH080298   LandRover       RR                  WHITE PLAINS              NY
140195   SALZP2FX7LH080429   LandRover       RR                  CHICAGO                   IL
140196   SALZP2FX7LH080978   LandRover       RR                  PORTLAND                  ME
140197   SALZP2FX7LH081242   LandRover       RR                  DENVER                    CO
140198   SALZP2FX8LH074932   LandRover       RR                  Atlanta                   GA
140199   SALZP2FX8LH075367   LandRover       RR                  ATLANTA                   GA
140200   SALZP2FX8LH075384   LandRover       RR                  MILWAUKEE                 WI
140201   SALZP2FX8LH076034   LandRover       RR                  LAS VEGAS                 NV
140202   SALZP2FX8LH076051   LandRover       RR                  LAS VEGAS                 NV
140203   SALZP2FX8LH077071   LandRover       RR                  NEWARK                    NJ
140204   SALZP2FX8LH077135   LandRover       RR                  KNOXVILLE                 TN
140205   SALZP2FX8LH077278   LandRover       RR                  GYPSUM                    CO
140206   SALZP2FX8LH077376   LandRover       RR                  CLEVELAND                 OH
140207   SALZP2FX8LH077443   LandRover       RR                  SAN JOSE                  CA
140208   SALZP2FX8LH077622   LandRover       RR                  MANCHESTER                US
140209   SALZP2FX8LH077717   LandRover       RR                  RALIEGH                   NC
140210   SALZP2FX8LH077720   LandRover       RR                  CLEVELAND                 OH
140211   SALZP2FX8LH077801   LandRover       RR                  SAINT PAUL                MN
140212   SALZP2FX8LH077894   LandRover       RR                  DENVER                    CO
140213   SALZP2FX8LH077961   LandRover       RR                  INDIANAPOLIS              IN
140214   SALZP2FX8LH078043   LandRover       RR                  INDIANAPOLIS              IN
140215   SALZP2FX8LH078057   LandRover       RR                  KNOXVILLE                 TN
140216   SALZP2FX8LH078186   LandRover       RR                  DENVER                    CO
140217   SALZP2FX8LH080147   LandRover       RR                  BALTIMORE                 MD
140218   SALZP2FX8LH080214   LandRover       RR                  OMAHA                     NE
140219   SALZP2FX8LH080570   LandRover       RR                  CHICAGO                   IL
140220   SALZP2FX8LH080620   LandRover       RR                  CHICAGO                   IL
140221   SALZP2FX8LH080648   LandRover       RR                  BOSTON                    MA
140222   SALZP2FX8LH081198   LandRover       RR                  BALTIMORE                 MD
140223   SALZP2FX8LH081265   LandRover       RR                  ROCHESTER                 NY
140224   SALZP2FX8LH081301   LandRover       RR                  KNOXVILLE                 TN
140225   SALZP2FX9LH074647   LandRover       RR                  Atlanta                   GA
140226   SALZP2FX9LH075099   LandRover       RR                  CHICAGO                   IL
140227   SALZP2FX9LH075152   LandRover       RR                  GYPSUM                    CO
140228   SALZP2FX9LH075216   LandRover       RR                  MIAMI                     FL
140229   SALZP2FX9LH075250   LandRover       RR                  Fort Myers                FL
140230   SALZP2FX9LH075426   LandRover       RR                  KENNER                    LA
140231   SALZP2FX9LH075510   LandRover       RR                  LAS VEGAS                 NV
140232   SALZP2FX9LH075622   LandRover       RR                  ORANGE COUNTY             CA
140233   SALZP2FX9LH075765   LandRover       RR                  LOS ANGELES               CA
140234   SALZP2FX9LH075975   LandRover       RR                  ORLANDO                   FL
140235   SALZP2FX9LH075989   LandRover       RR                  TAMPA                     US
140236   SALZP2FX9LH076611   LandRover       RR                  BOSTON                    MA
140237   SALZP2FX9LH076818   LandRover       RR                  Cerritos                  CA
140238   SALZP2FX9LH076835   LandRover       RR                  HANOVER                   MD
140239   SALZP2FX9LH077046   LandRover       RR                  FORT LAUDERDALE           FL
140240   SALZP2FX9LH077158   LandRover       RR                  PHILADELPHIA              PA
140241   SALZP2FX9LH077256   LandRover       RR                  SAINT PAUL                MN
140242   SALZP2FX9LH077287   LandRover       RR                  RALIEGH                   NC
140243   SALZP2FX9LH077385   LandRover       RR                  LAS VEGAS                 NV
140244   SALZP2FX9LH077435   LandRover       RR                  PROVIDENCE                RI
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140245   SALZP2FX9LH077595   LandRover       RR                  CLEVELAND                 OH
140246   SALZP2FX9LH077645   LandRover       RR                  CLEVELAND                 OH
140247   SALZP2FX9LH077659   LandRover       RR                  GYPSUM                    CO
140248   SALZP2FX9LH077662   LandRover       RR                  STERLING                  VA
140249   SALZP2FX9LH077693   LandRover       RR                  BOSTON                    MA
140250   SALZP2FX9LH077709   LandRover       RR                  KANSAS CITY               MO
140251   SALZP2FX9LH077824   LandRover       RR                  KANSAS CITY               MO
140252   SALZP2FX9LH077838   LandRover       RR                  BOSTON                    MA
140253   SALZP2FX9LH077872   LandRover       RR                  STERLING                  VA
140254   SALZP2FX9LH077919   LandRover       RR                  DENVER                    CO
140255   SALZP2FX9LH078102   LandRover       RR                  HARTFORD                  CT
140256   SALZP2FX9LH078214   LandRover       RR                  Hebron                    KY
140257   SALZP2FX9LH079993   LandRover       RR                  Houston                   TX
140258   SALZP2FX9LH080531   LandRover       RR                  KANSAS CITY               MO
140259   SALZP2FX9LH080545   LandRover       RR                  BALTIMORE                 MD
140260   SALZP2FX9LH080609   LandRover       RR                  BURLINGTON                VT
140261   SALZP2FX9LH081436   LandRover       RR                  BALTIMORE                 MD
140262   SALZP2FXXLH074415   LandRover       RR                  BURBANK                   CA
140263   SALZP2FXXLH074561   LandRover       RR                  ATLANTA                   GA
140264   SALZP2FXXLH074978   LandRover       RR                  STERLING                  VA
140265   SALZP2FXXLH075340   LandRover       RR                  HAPEVILLE                 GA
140266   SALZP2FXXLH076018   LandRover       RR                  LOS ANGELES AP            CA
140267   SALZP2FXXLH076858   LandRover       RR                  BOSTON                    MA
140268   SALZP2FXXLH077105   LandRover       RR                  COLUMBUS                  OH
140269   SALZP2FXXLH077220   LandRover       RR                  PHILADELPHIA              PA
140270   SALZP2FXXLH077380   LandRover       RR                  DENVER                    CO
140271   SALZP2FXXLH077394   LandRover       RR                  SAINT PAUL                MN
140272   SALZP2FXXLH077525   LandRover       RR                  BOSTON                    MA
140273   SALZP2FXXLH077539   LandRover       RR                  KNOXVILLE                 TN
140274   SALZP2FXXLH077556   LandRover       RR                  BOSTON                    MA
140275   SALZP2FXXLH077606   LandRover       RR                  KNOXVILLE                 TN
140276   SALZP2FXXLH077637   LandRover       RR                  BOSTON                    MA
140277   SALZP2FXXLH077749   LandRover       RR                  PHILADELPHIA              PA
140278   SALZP2FXXLH077752   LandRover       RR                  KANSAS CITY               MO
140279   SALZP2FXXLH077766   LandRover       RR                  PORTLAND                  OR
140280   SALZP2FXXLH077914   LandRover       RR                  SAN FRANCISCO             CA
140281   SALZP2FXXLH077928   LandRover       RR                  Union City                GA
140282   SALZP2FXXLH078075   LandRover       RR                  SAN JOSE                  CA
140283   SALZP2FXXLH078089   LandRover       RR                  MEMPHIS                   TN
140284   SALZP2FXXLH078139   LandRover       RR                  KNOXVILLE                 TN
140285   SALZP2FXXLH078187   LandRover       RR                  DENVER                    CO
140286   SALZP2FXXLH080022   LandRover       RR                  GREENSBORO                NC
140287   SALZP2FXXLH080151   LandRover       RR                  BALTIMORE                 MD
140288   SALZP2FXXLH080327   LandRover       RR                  BLOOMINGTON               IL
140289   SALZP2FXXLH080408   LandRover       RR                  BALTIMORE                 MD
140290   SALZP2FXXLH080649   LandRover       RR                  DES MOINES                IA
140291   SALZP2FXXLH080697   LandRover       RR                  CHICAGO                   IL
140292   SALZP2FXXLH081543   LandRover       RR                  CHICAGO                   IL
140293   SHHFK7H39KU203337   Honda           CIVIC               Dallas                    TX
140294   SJKCH5CP3JA060472   Nissan          QX30                North Las Vegas           NV
140295   SJKCH5CP7HA039344   Nissan          QX30                ORLANDO                   US
140296   SJKCH5CP9JA060489   Nissan          QX30                Las Vegas                 NV
140297   VNKKTUD30HA073457   Toyota          YARIS
140298   VNKKTUD31HA078554   Toyota          YARIS               MIAMI                     FL
140299   VNKKTUD31HA083348   Toyota          YARIS               Newark                    NJ
140300   VNKKTUD33HA083304   Toyota          YARIS               Mira Loma                 CA
140301   VNKKTUD37HA076131   Toyota          YARIS               Ventura                   CA
140302   W04GL6SX7J1137722   GM              REGAL               BIRMINGHAN                AL
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140303   W04GM6SX7J1147891   GM             REGAL               Tulsa                     OK
140304   W04GM6SX8J1137001   GM             REGAL
140305   W04GP6SX7J1148157   GM             REGAL               RENO                      NV
140306   W04GP6SX9J1116939   GM             REGAL               BOISE                     US
140307   W04GP6SX9J1137452   GM             REGAL               Atlanta                   GA
140308   W04WH3N50JG036637   GM             CASCADA             Santa Clara               CA
140309   W04WH3N50JG040686   GM             CASCADA             Norwalk                   CA
140310   W04WH3N50JG041689   GM             CASCADA             CHINO                     CA
140311   W04WH3N50JG042924   GM             CASCADA             LAS VEGAS                 NV
140312   W04WH3N51JG035822   GM             CASCADA             SANTA CLARA               CA
140313   W04WH3N52JG041810   GM             CASCADA             PHOENIX                   AZ
140314   W04WH3N55JG039047   GM             CASCADA             Hayward                   CA
140315   W04WH3N55JG040876   GM             CASCADA             LAS VEGAS                 NV
140316   W04WH3N56JG039428   GM             CASCADA             Salt Lake City            UT
140317   W04WH3N57JG032018   GM             CASCADA             Fontana                   CA
140318   W04WH3N57JG039972   GM             CASCADA             North Las Vegas           NV
140319   W04WH3N58JG035008   GM             CASCADA             SALT LAKE CITY            UT
140320   W04WH3N58JG037387   GM             CASCADA             LAS VEGAS                 NV
140321   W04WH3N58JG041309   GM             CASCADA             Roseville                 CA
140322   W04WH3N59JG040024   GM             CASCADA             San Diego                 CA
140323   W04WH3N59JG043148   GM             CASCADA             Colma                     CA
140324   W04WH3N5XJG035141   GM             CASCADA             Stockton                  CA
140325   W1K3G4EB4LJ200555   Mercedes       A220                DETROIT                   MI
140326   W1K3G4EB6LJ203747   Mercedes       A220                SAINT LOUIS               MO
140327   W1K3G4FB0LJ198608   Mercedes       A220                NEW YORK CITY             NY
140328   W1K3G4FB0LW047772   Mercedes       A220                PHOENIX                   AZ
140329   W1K3G4FB1LJ198892   Mercedes       A220                STERLING                  VA
140330   W1K3G4FB1LJ199136   Mercedes       A220                STERLING                  VA
140331   W1K3G4FB1LJ199282   Mercedes       A220                HOUSTON                   TX
140332   W1K3G4FB1LJ203444   Mercedes       A220                DETROIT                   MI
140333   W1K3G4FB1LW047067   Mercedes       A220                NEWARK                    NJ
140334   W1K3G4FB1LW047148   Mercedes       A220                STERLING                  VA
140335   W1K3G4FB1LW047781   Mercedes       A220                BALTIMORE                 MD
140336   W1K3G4FB2LW047739   Mercedes       A220                STERLING                  VA
140337   W1K3G4FB2LW047823   Mercedes       A220                HANOVER                   MD
140338   W1K3G4FB3LJ199106   Mercedes       A220                KNOXVILLE                 TN
140339   W1K3G4FB3LJ199414   Mercedes       A220                NEWARK                    NJ
140340   W1K3G4FB3LJ201825   Mercedes       A220                NEWARK                    NJ
140341   W1K3G4FB3LW047023   Mercedes       A220                BALTIMORE                 MD
140342   W1K3G4FB4LJ198594   Mercedes       A220                PHOENIX                   AZ
140343   W1K3G4FB4LJ198837   Mercedes       A220                STERLING                  VA
140344   W1K3G4FB4LJ199731   Mercedes       A220                NEWARK                    NJ
140345   W1K3G4FB4LJ199776   Mercedes       A220                RONKONKOMA                NY
140346   W1K3G4FB4LJ200649   Mercedes       A220                NEWARK                    NJ
140347   W1K3G4FB4LW047659   Mercedes       A220                PORTLAND                  ME
140348   W1K3G4FB5LJ198734   Mercedes       A220                PHOENIX                   AZ
140349   W1K3G4FB5LJ199429   Mercedes       A220                STERLING                  VA
140350   W1K3G4FB5LJ199690   Mercedes       A220                PHOENIX                   AZ
140351   W1K3G4FB5LJ199723   Mercedes       A220                NEWARK                    NJ
140352   W1K3G4FB5LJ201650   Mercedes       A220                LAS VEGAS                 NV
140353   W1K3G4FB5LW047721   Mercedes       A220                NEWARK                    NJ
140354   W1K3G4FB5LW047749   Mercedes       A220                GOODYEAR                  AZ
140355   W1K3G4FB6LJ196751   Mercedes       A220                STERLING                  US
140356   W1K3G4FB6LJ198614   Mercedes       A220                PHOENIX                   AZ
140357   W1K3G4FB6LJ199066   Mercedes       A220                NEWARK                    NJ
140358   W1K3G4FB6LJ199150   Mercedes       A220                PITTSBURGH                PA
140359   W1K3G4FB6LJ199505   Mercedes       A220                LOUISVILLE                KY
140360   W1K3G4FB6LJ199522   Mercedes       A220                NEW BERN                  NC
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140361   W1K3G4FB6LW047310   Mercedes       A220                   ROCHESTER              NY
140362   W1K3G4FB6LW047548   Mercedes       A220                   PHOENIX                AZ
140363   W1K3G4FB7LJ197102   Mercedes       A220                   STERLING               VA
140364   W1K3G4FB7LJ202590   Mercedes       A220                   JAMAICA                NY
140365   W1K3G4FB7LJ202735   Mercedes       A220                   PHILADELPHIA           PA
140366   W1K3G4FB7LW047011   Mercedes       A220                   JAMAICA                NY
140367   W1K3G4FB7LW047039   Mercedes       A220                   Parkville              MD
140368   W1K3G4FB8LJ201187   Mercedes       A220                   PITTSBURGH             PA
140369   W1K3G4FB8LW047051   Mercedes       A220                   HANOVER                MD
140370   W1K3G4FB8LW047289   Mercedes       A220                   PHOENIX                AZ
140371   W1K3G4FB9LJ198879   Mercedes       A220                   PHOENIX                AZ
140372   W1K3G4FB9LJ199613   Mercedes       A220                   NEWARK                 NJ
140373   W1K3G4FBXLJ198647   Mercedes       A220                   New York               NY
140374   W1K3G4FBXLJ199717   Mercedes       A220                   NEWARK                 NJ
140375   W1K3G4FBXLJ201496   Mercedes       A220                   ATLANTA                GA
140376   W1K3G4FBXLJ202471   Mercedes       A220                   NEWARK                 NJ
140377   W1K3G4FBXLW046824   Mercedes       A220                   BALTIMORE              MD
140378   W1K3G4FBXLW047231   Mercedes       A220                   PHOENIX                AZ
140379   W1K3G4FBXLW047424   Mercedes       A220                   CHERRY HILL            NJ
140380   W1K3G4FBXLW047617   Mercedes       A220                   BOSTON                 MA
140381   W1N0G8DBXLF760775   Mercedes       GLC300                 FORT MYERS             FL
140382   W1N0G8EB0LF780810   Mercedes       GLC300                 SAN FRANCISCO          CA
140383   W1N0G8EB2LF781263   Mercedes       GLC300                 SAN FRANCISCO          CA
140384   W1N0G8EB2LF781988   Mercedes       GLC300                 PORTLAND               OR
140385   W1N0G8EB5LF775473   Mercedes       GLC300                 SALT LAKE CITY         US
140386   W1N0G8EB5LF781631   Mercedes       GLC300                 SAN FRANCISCO          CA
140387   W1N0G8EB5LF782729   Mercedes       GLC300                 SAN FRANCISCO          CA
140388   W1N0G8EB6LF782044   Mercedes       GLC300                 SAN FRANCISCO          CA
140389   W1N0G8EB6LF782609   Mercedes       GLC300                 LAS VEGAS              NV
140390   W1N0G8EB6LF786532   Mercedes       GLC300                 SAN FRANCISCO          CA
140391   W1N0G8EB7LF757119   Mercedes       GLC300                 ATLANTA                GA
140392   W1N0G8EBXLF782645   Mercedes       GLC300                 SAN FRANCISCO          CA
140393   WAUAUGFF2J1041672   Audi           A3                     SAN DIEGO              CA
140394   WAUAUGFF6KA094313   Audi           A3                     Fresno                 CA
140395   WAUKMAF45JN009811   Audi           A4                     SAN FRANCISCO          CA
140396   WBA4J1C00LCD57472   BMW                             430   SANTA ANA              CA
140397   WBA4J1C00LCD59190   BMW                             430   SANTA ANA              CA
140398   WBA4J1C00LCD59299   BMW                             430   BURBANK                CA
140399   WBA4J1C00LCD62090   BMW                             430   LAS VEGAS              NV
140400   WBA4J1C00LCD63949   BMW                             430   LOS ANGELES            CA
140401   WBA4J1C00LCD64275   BMW                             430   LOS ANGELES AP         CA
140402   WBA4J1C00LCD66804   BMW                             430   SAN FRANCISCO          CA
140403   WBA4J1C00LCD66835   BMW                             430   LAS VEGAS              NV
140404   WBA4J1C00LCD67340   BMW                             430   SAN FRANCISCO          CA
140405   WBA4J1C00LCD69430   BMW                             430   SAN FRANCISCO          CA
140406   WBA4J1C00LCD69475   BMW                             430   SAN FRANCISCO          CA
140407   WBA4J1C00LCD72005   BMW                             430   ORLANDO                FL
140408   WBA4J1C00LCD72084   BMW                             430   LOS ANGELES            CA
140409   WBA4J1C00LCD72277   BMW                             430   LOS ANGELES            CA
140410   WBA4J1C00LCD73977   BMW                             430   WEST PALM BEACH        FL
140411   WBA4J1C00LCD77303   BMW                             430   PHOENIX                AZ
140412   WBA4J1C00LCD77415   BMW                             430   ORLANDO                FL
140413   WBA4J1C00LCD79617   BMW                             430   PHOENIX                AZ
140414   WBA4J1C00LCD79620   BMW                             430   PHOENIX                AZ
140415   WBA4J1C00LCD96658   BMW                             430   PHOENIX                AZ
140416   WBA4J1C00LCD99513   BMW                             430   LAS VEGAS              NV
140417   WBA4J1C00LCD99575   BMW                             430   SAN DIEGO              CA
140418   WBA4J1C00LCE01115   BMW                             430   LOS ANGELES            CA
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140419   WBA4J1C00LCE01244   BMW                           430   SAN DIEGO              US
140420   WBA4J1C00LCE04709   BMW                           430   LOS ANGELES AP         CA
140421   WBA4J1C00LCE04810   BMW                           430   LOS ANGELES AP         CA
140422   WBA4J1C00LCE04838   BMW                           430   LOS ANGELES            CA
140423   WBA4J1C00LCE06332   BMW                           430   LAS VEGAS              NV
140424   WBA4J1C00LCE07853   BMW                           430   ATLANTA                GA
140425   WBA4J1C00LCE10123   BMW                           430   ATLANTA                GA
140426   WBA4J1C00LCE10140   BMW                           430   MEMPHIS                TN
140427   WBA4J1C00LCE10266   BMW                           430   ORLANDO                FL
140428   WBA4J1C00LCE11272   BMW                           430   CHARLOTTE              NC
140429   WBA4J1C00LCE13023   BMW                           430   HOUSTON                TX
140430   WBA4J1C00LCE15175   BMW                           430   HOUSTON                TX
140431   WBA4J1C00LCE16147   BMW                           430   DALLAS                 TX
140432   WBA4J1C00LCE18481   BMW                           430   HOUSTON                TX
140433   WBA4J1C00LCE18495   BMW                           430   HOUSTON                TX
140434   WBA4J1C00LCE20294   BMW                           430   HOUSTON                TX
140435   WBA4J1C01LCD51941   BMW                           430   LOS ANGELES            CA
140436   WBA4J1C01LCD51969   BMW                           430   SAN DIEGO              CA
140437   WBA4J1C01LCD59313   BMW                           430   SAN JOSE               CA
140438   WBA4J1C01LCD63975   BMW                           430   LOS ANGELES            CA
140439   WBA4J1C01LCD64057   BMW                           430   BURBANK                CA
140440   WBA4J1C01LCD66911   BMW                           430   SAN DIEGO              CA
140441   WBA4J1C01LCD66956   BMW                           430   LOS ANGELES            CA
140442   WBA4J1C01LCD69274   BMW                           430   SANTA ANA              CA
140443   WBA4J1C01LCD69453   BMW                           430   LOS ANGELES            CA
140444   WBA4J1C01LCD69484   BMW                           430   SOUTH SAN FRANC        CA
140445   WBA4J1C01LCD72059   BMW                           430   FORT LAUDERDALE        FL
140446   WBA4J1C01LCD72157   BMW                           430   INDIANAPOLIS           IN
140447   WBA4J1C01LCD72160   BMW                           430   FORT LAUDERDALE        FL
140448   WBA4J1C01LCD72188   BMW                           430   SACRAMENTO             CA
140449   WBA4J1C01LCD72210   BMW                           430   SAN FRANCISCO          CA
140450   WBA4J1C01LCD72269   BMW                           430   SACRAMENTO             CA
140451   WBA4J1C01LCD72272   BMW                           430   SAN FRANCISCO          CA
140452   WBA4J1C01LCD73874   BMW                           430   TAMPA                  FL
140453   WBA4J1C01LCD73938   BMW                           430   CLEVELAND              OH
140454   WBA4J1C01LCD75124   BMW                           430   NEWARK                 NJ
140455   WBA4J1C01LCD75186   BMW                           430   WEST PALM BEACH        FL
140456   WBA4J1C01LCD75978   BMW                           430   PHOENIX                AZ
140457   WBA4J1C01LCD76080   BMW                           430   PHOENIX                AZ
140458   WBA4J1C01LCD79559   BMW                           430   PHOENIX                AZ
140459   WBA4J1C01LCD80789   BMW                           430   SAN FRANCISCO          CA
140460   WBA4J1C01LCD80873   BMW                           430   PHOENIX                AZ
140461   WBA4J1C01LCD80890   BMW                           430   PHOENIX                AZ
140462   WBA4J1C01LCD99424   BMW                           430   LAS VEGAS              NV
140463   WBA4J1C01LCD99438   BMW                           430   LAS VEGAS              NV
140464   WBA4J1C01LCD99441   BMW                           430   SAN DIEGO              CA
140465   WBA4J1C01LCE03245   BMW                           430   LAS VEGAS              NV
140466   WBA4J1C01LCE06114   BMW                           430   ATLANTA                GA
140467   WBA4J1C01LCE06176   BMW                           430   CHARLOTTE              NC
140468   WBA4J1C01LCE06257   BMW                           430   FAYETTEVILLE           GA
140469   WBA4J1C01LCE06310   BMW                           430   ATLANTA                GA
140470   WBA4J1C01LCE07926   BMW                           430   LAS VEGAS              NV
140471   WBA4J1C01LCE10065   BMW                           430   ATLANTA                GA
140472   WBA4J1C01LCE10230   BMW                           430   ATLANTA                GA
140473   WBA4J1C01LCE18425   BMW                           430   HOUSTON                TX
140474   WBA4J1C01LCE18473   BMW                           430   HOUSTON                TX
140475   WBA4J1C01LCE18604   BMW                           430   HOUSTON                TX
140476   WBA4J1C02LCD51964   BMW                           430   SAN DIEGO              CA
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140477   WBA4J1C02LCD57540   BMW                           430   SACRAMENTO             CA
140478   WBA4J1C02LCD58008   BMW                           430   LOS ANGELES            CA
140479   WBA4J1C02LCD58039   BMW                           430   PALM SPRINGS           CA
140480   WBA4J1C02LCD58087   BMW                           430   WILMINGTON             CA
140481   WBA4J1C02LCD58123   BMW                           430   ORANGE COUNTY          CA
140482   WBA4J1C02LCD59353   BMW                           430   SAN DIEGO              CA
140483   WBA4J1C02LCD61524   BMW                           430   LOS ANGELES            CA
140484   WBA4J1C02LCD61541   BMW                           430   LOS ANGELES            CA
140485   WBA4J1C02LCD61619   BMW                           430   Downey                 CA
140486   WBA4J1C02LCD61622   BMW                           430   ORANGE COUNTY          CA
140487   WBA4J1C02LCD63967   BMW                           430   PHOENIX                AZ
140488   WBA4J1C02LCD64035   BMW                           430   BURBANK                CA
140489   WBA4J1C02LCD64066   BMW                           430   DALLAS                 TX
140490   WBA4J1C02LCD66822   BMW                           430   LAS VEGAS              NV
140491   WBA4J1C02LCD66884   BMW                           430   OAKLAND                CA
140492   WBA4J1C02LCD69204   BMW                           430   OAKLAND                CA
140493   WBA4J1C02LCD69283   BMW                           430   SAN JOSE               CA
140494   WBA4J1C02LCD72118   BMW                           430   SAN FRANCISCO          CA
140495   WBA4J1C02LCD72247   BMW                           430   SAN JOSE               CA
140496   WBA4J1C02LCD77447   BMW                           430   INDIANAPOLIS           IN
140497   WBA4J1C02LCD80915   BMW                           430   PHOENIX                AZ
140498   WBA4J1C02LCD98198   BMW                           430   PHOENIX                AZ
140499   WBA4J1C02LCD99383   BMW                           430   SAN DIEGO              CA
140500   WBA4J1C02LCD99478   BMW                           430   LOS ANGELES            CA
140501   WBA4J1C02LCD99545   BMW                           430   LAS VEGAS              NV
140502   WBA4J1C02LCE01018   BMW                           430   LAS VEGAS              NV
140503   WBA4J1C02LCE03237   BMW                           430   PHOENIX                AZ
140504   WBA4J1C02LCE03366   BMW                           430   LAS VEGAS              NV
140505   WBA4J1C02LCE04615   BMW                           430   LOS ANGELES            CA
140506   WBA4J1C02LCE04775   BMW                           430   LOS ANGELES AP         CA
140507   WBA4J1C02LCE06171   BMW                           430   ATLANTA                GA
140508   WBA4J1C02LCE09121   BMW                           430   ATHENS                 GA
140509   WBA4J1C02LCE10155   BMW                           430   TAMPA                  FL
140510   WBA4J1C02LCE11256   BMW                           430   ATLANTA                GA
140511   WBA4J1C02LCE12889   BMW                           430   HOUSTON                TX
140512   WBA4J1C02LCE15548   BMW                           430   HOUSTON                TX
140513   WBA4J1C02LCE16151   BMW                           430   HOUSTON                TX
140514   WBA4J1C03LCD55182   BMW                           430   LOS ANGELES            CA
140515   WBA4J1C03LCD57398   BMW                           430   LAS VEGAS              NV
140516   WBA4J1C03LCD57532   BMW                           430   SALT LAKE CITY         UT
140517   WBA4J1C03LCD59233   BMW                           430   SAN DIEGO              CA
140518   WBA4J1C03LCD59247   BMW                           430   LAS VEGAS              NV
140519   WBA4J1C03LCD59264   BMW                           430   NORWALK                CA
140520   WBA4J1C03LCD59281   BMW                           430   PALM SPRINGS           CA
140521   WBA4J1C03LCD61497   BMW                           430   RENO                   NV
140522   WBA4J1C03LCD64299   BMW                           430   SAN FRANCISCO          CA
140523   WBA4J1C03LCD64416   BMW                           430   SAN FRANCISCO          CA
140524   WBA4J1C03LCD66943   BMW                           430   SAN FRANCISCO          CA
140525   WBA4J1C03LCD72094   BMW                           430   SAN FRANCISCO          CA
140526   WBA4J1C03LCD72306   BMW                           430   SAN FRANCISCO          CA
140527   WBA4J1C03LCD75156   BMW                           430   FT. LAUDERDALE         FL
140528   WBA4J1C03LCD76033   BMW                           430   LAS VEGAS              NV
140529   WBA4J1C03LCD76047   BMW                           430   Phoenix                AZ
140530   WBA4J1C03LCD77313   BMW                           430   WEST PALM BEACH        FL
140531   WBA4J1C03LCD77392   BMW                           430   PHOENIX                AZ
140532   WBA4J1C03LCD77425   BMW                           430   JACKSONVILLE           FL
140533   WBA4J1C03LCD79529   BMW                           430   PHOENIX                AZ
140534   WBA4J1C03LCD79546   BMW                           430   Phoenix                AZ
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140535   WBA4J1C03LCD80745   BMW                           430   LOS ANGELES            CA
140536   WBA4J1C03LCD80759   BMW                           430   LAS VEGAS              NV
140537   WBA4J1C03LCD80860   BMW                           430   PHOENIX                AZ
140538   WBA4J1C03LCD98310   BMW                           430   LAS VEGAS              NV
140539   WBA4J1C03LCD99411   BMW                           430   LAS VEGAS              NV
140540   WBA4J1C03LCE01108   BMW                           430   LAS VEGAS              NV
140541   WBA4J1C03LCE04882   BMW                           430   LOS ANGELES AP         CA
140542   WBA4J1C03LCE06325   BMW                           430   ATLANTA                GA
140543   WBA4J1C03LCE07913   BMW                           430   HOUSTON                TX
140544   WBA4J1C03LCE09080   BMW                           430   Union City             GA
140545   WBA4J1C03LCE10195   BMW                           430   ATLANTA                GA
140546   WBA4J1C03LCE11430   BMW                           430   ATLANTA                GA
140547   WBA4J1C03LCE12898   BMW                           430   HOUSTON                TX
140548   WBA4J1C03LCE15140   BMW                           430   HOUSTON                TX
140549   WBA4J1C03LCE15204   BMW                           430   HOUSTON                TX
140550   WBA4J1C03LCE16210   BMW                           430   DALLAS                 TX
140551   WBA4J1C04LCD51786   BMW                           430   SANTA ANA              CA
140552   WBA4J1C04LCD53649   BMW                           430   SANTA ANA              CA
140553   WBA4J1C04LCD54963   BMW                           430   INGLEWOOD              CA
140554   WBA4J1C04LCD55028   BMW                           430   BURBANK                CA
140555   WBA4J1C04LCD55157   BMW                           430   BOISE                  US
140556   WBA4J1C04LCD59239   BMW                           430   SAN DIEGO              CA
140557   WBA4J1C04LCD63937   BMW                           430   SAN FRANCISCO          CA
140558   WBA4J1C04LCD64425   BMW                           430   LOS ANGELES            CA
140559   WBA4J1C04LCD66854   BMW                           430   INGLEWOOD              CA
140560   WBA4J1C04LCD66904   BMW                           430   MONTEREY               CA
140561   WBA4J1C04LCD67308   BMW                           430   SAN FRANCISCO          CA
140562   WBA4J1C04LCD69463   BMW                           430   PALM SPRINGS           CA
140563   WBA4J1C04LCD69544   BMW                           430   SAN FRANCISCO          CA
140564   WBA4J1C04LCD71990   BMW                           430   SAN FRANCISCO          CA
140565   WBA4J1C04LCD79586   BMW                           430   PHOENIX                AZ
140566   WBA4J1C04LCD99434   BMW                           430   LAS VEGAS              NV
140567   WBA4J1C04LCD99465   BMW                           430   SAN DIEGO              CA
140568   WBA4J1C04LCE01022   BMW                           430   San Diego              CA
140569   WBA4J1C04LCE01036   BMW                           430   SAN DIEGO              CA
140570   WBA4J1C04LCE01070   BMW                           430   SAN DIEGO              CA
140571   WBA4J1C04LCE02607   BMW                           430   LAS VEGAS              NV
140572   WBA4J1C04LCE04759   BMW                           430   LOS ANGELES AP         CA
140573   WBA4J1C04LCE06298   BMW                           430   LAS VEGAS              NV
140574   WBA4J1C04LCE06351   BMW                           430   LOS ANGELES AP         CA
140575   WBA4J1C04LCE12926   BMW                           430   DALLAS                 TX
140576   WBA4J1C04LCE13056   BMW                           430   DALLAS                 TX
140577   WBA4J1C04LCE15454   BMW                           430   HOUSTON                TX
140578   WBA4J1C04LCE18435   BMW                           430   HOUSTON                TX
140579   WBA4J1C04LCE18550   BMW                           430   HOUSTON                TX
140580   WBA4J1C04LCE18600   BMW                           430   HOUSTON                TX
140581   WBA4J1C05LCD51845   BMW                           430   FRESNO                 CA
140582   WBA4J1C05LCD51974   BMW                           430   SAN DIEGO              CA
140583   WBA4J1C05LCD53630   BMW                           430   LAS VEGAS              NV
140584   WBA4J1C05LCD54986   BMW                           430   SACRAMENTO             CA
140585   WBA4J1C05LCD55006   BMW                           430   SAN JOSE               CA
140586   WBA4J1C05LCD57483   BMW                           430   PALM SPRINGS           CA
140587   WBA4J1C05LCD61453   BMW                           430   SAN FRANCISCO          CA
140588   WBA4J1C05LCD61534   BMW                           430   SEATAC                 WA
140589   WBA4J1C05LCD61629   BMW                           430   SANTA ANA              CA
140590   WBA4J1C05LCD66829   BMW                           430   SACRAMENTO             CA
140591   WBA4J1C05LCD66894   BMW                           430   SACRAMENTO             CA
140592   WBA4J1C05LCD66961   BMW                           430   SAN JOSE               CA
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140593   WBA4J1C05LCD69214   BMW                           430   PHOENIX                AZ
140594   WBA4J1C05LCD72047   BMW                           430   FORT LAUDERDALE        FL
140595   WBA4J1C05LCD72078   BMW                           430   SACRAMENTO             CA
140596   WBA4J1C05LCD72131   BMW                           430   SAN FRANCISCO          CA
140597   WBA4J1C05LCD75126   BMW                           430   DANIA                  FL
140598   WBA4J1C05LCD80763   BMW                           430   PHOENIX                AZ
140599   WBA4J1C05LCE01112   BMW                           430   LAS VEGAS              NV
140600   WBA4J1C05LCE01224   BMW                           430   SAN DIEGO              CA
140601   WBA4J1C05LCE02602   BMW                           430   SACRAMENTO             CA
140602   WBA4J1C05LCE03359   BMW                           430   Pheonix                AZ
140603   WBA4J1C05LCE04737   BMW                           430   CHARLOTTE              NC
140604   WBA4J1C05LCE06228   BMW                           430   LAS VEGAS              NV
140605   WBA4J1C05LCE06231   BMW                           430   LAS VEGAS              NV
140606   WBA4J1C05LCE08027   BMW                           430   LAS VEGAS              NV
140607   WBA4J1C05LCE09064   BMW                           430   ATLANTA                GA
140608   WBA4J1C05LCE09114   BMW                           430   ATLANTA                GA
140609   WBA4J1C05LCE10280   BMW                           430   ATLANTA                GA
140610   WBA4J1C05LCE11347   BMW                           430   DALLAS                 TX
140611   WBA4J1C05LCE15074   BMW                           430   HOUSTON                TX
140612   WBA4J1C05LCE16371   BMW                           430   HOUSTON                TX
140613   WBA4J1C06LCD51885   BMW                           430   LOS ANGELES            CA
140614   WBA4J1C06LCD53586   BMW                           430   SAN DIEGO              CA
140615   WBA4J1C06LCD53605   BMW                           430   LOS ANGELES            CA
140616   WBA4J1C06LCD53720   BMW                           430   ONTARIO                CA
140617   WBA4J1C06LCD55063   BMW                           430   SANTA ANA              CA
140618   WBA4J1C06LCD58027   BMW                           430   SAN FRANCISCO          CA
140619   WBA4J1C06LCD59338   BMW                           430   PHOENIX                AZ
140620   WBA4J1C06LCD61509   BMW                           430   LOS ANGELES            CA
140621   WBA4J1C06LCD64006   BMW                           430   FRESNO                 CA
140622   WBA4J1C06LCD64037   BMW                           430   LOS ANGELES            CA
140623   WBA4J1C06LCD64295   BMW                           430   LOS ANGELES            CA
140624   WBA4J1C06LCD64376   BMW                           430   SACRAMENTO             CA
140625   WBA4J1C06LCD66838   BMW                           430   SAN FRANCISCO          CA
140626   WBA4J1C06LCD66970   BMW                           430   SAN DIEGO              CA
140627   WBA4J1C06LCD69237   BMW                           430   SACRAMENTO             CA
140628   WBA4J1C06LCD69433   BMW                           430   BURBANK                CA
140629   WBA4J1C06LCD69481   BMW                           430   FORT LAUDERDALE        FL
140630   WBA4J1C06LCD72056   BMW                           430   SAN FRANCISCO          CA
140631   WBA4J1C06LCD72087   BMW                           430   FORT LAUDERDALE        FL
140632   WBA4J1C06LCD72283   BMW                           430   SAN FRANCISCO          CA
140633   WBA4J1C06LCD73966   BMW                           430   FORT LAUDERDALE        FL
140634   WBA4J1C06LCD75099   BMW                           430   NEW YORK CITY          NY
140635   WBA4J1C06LCD75944   BMW                           430   FORT LAUDERDALE        FL
140636   WBA4J1C06LCD77399   BMW                           430   FORT LAUDERDALE        FL
140637   WBA4J1C06LCD79539   BMW                           430   PHOENIX                AZ
140638   WBA4J1C06LCD79623   BMW                           430   LOS ANGELES            CA
140639   WBA4J1C06LCD80822   BMW                           430   Phoenix                AZ
140640   WBA4J1C06LCD80898   BMW                           430   MIDLAND                TX
140641   WBA4J1C06LCD99354   BMW                           430   LAS VEGAS              NV
140642   WBA4J1C06LCE01104   BMW                           430   DALLAS                 TX
140643   WBA4J1C06LCE01233   BMW                           430   SAN DIEGO              CA
140644   WBA4J1C06LCE03256   BMW                           430   LAS VEGAS              NV
140645   WBA4J1C06LCE03273   BMW                           430   LOS ANGELES AP         CA
140646   WBA4J1C06LCE03404   BMW                           430   LOS ANGELES            CA
140647   WBA4J1C06LCE04875   BMW                           430   LOS ANGELES            CA
140648   WBA4J1C06LCE06108   BMW                           430   LAS VEGAS              NV
140649   WBA4J1C06LCE08036   BMW                           430   LAS VEGAS              NV
140650   WBA4J1C06LCE10224   BMW                           430   Atlanta                GA
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140651   WBA4J1C06LCE15066   BMW                           430   HOUSTON                TX
140652   WBA4J1C06LCE15259   BMW                           430   HOUSTON                TX
140653   WBA4J1C06LCE16248   BMW                           430   HOUSTON                TX
140654   WBA4J1C06LCE16251   BMW                           430   MEMPHIS                TN
140655   WBA4J1C06LCE16265   BMW                           430   DFW AIRPORT            TX
140656   WBA4J1C07LCD55105   BMW                           430   LOS ANGELES            CA
140657   WBA4J1C07LCD55119   BMW                           430   LAS VEGAS              NV
140658   WBA4J1C07LCD58151   BMW                           430   SAN DIEGO              CA
140659   WBA4J1C07LCD61566   BMW                           430   LOS ANGELES            CA
140660   WBA4J1C07LCD62054   BMW                           430   ORANGE COUNTY          CA
140661   WBA4J1C07LCD62068   BMW                           430   BURBANK                CA
140662   WBA4J1C07LCD64032   BMW                           430   LOS ANGELES            CA
140663   WBA4J1C07LCD66802   BMW                           430   SAN FRANCISCO          CA
140664   WBA4J1C07LCD66881   BMW                           430   OAKLAND                CA
140665   WBA4J1C07LCD69442   BMW                           430   SAN JOSE               CA
140666   WBA4J1C07LCD69523   BMW                           430   SACRAMENTO             CA
140667   WBA4J1C07LCD72289   BMW                           430   SACRAMENTO             CA
140668   WBA4J1C07LCD75161   BMW                           430   FORT LAUDERDALE        FL
140669   WBA4J1C07LCD76066   BMW                           430   MIAMI                  FL
140670   WBA4J1C07LCD79565   BMW                           430   PHOENIX                AZ
140671   WBA4J1C07LCD79582   BMW                           430   PHOENIX                AZ
140672   WBA4J1C07LCD80778   BMW                           430   PHOENIX                AZ
140673   WBA4J1C07LCD80876   BMW                           430   PHOENIX                AZ
140674   WBA4J1C07LCD80909   BMW                           430   TUCSON                 AZ
140675   WBA4J1C07LCD96513   BMW                           430   PHOENIX                AZ
140676   WBA4J1C07LCD98164   BMW                           430   PHOENIX                AZ
140677   WBA4J1C07LCD98231   BMW                           430   LAS VEGAS              NV
140678   WBA4J1C07LCD99573   BMW                           430   LAS VEGAS              NV
140679   WBA4J1C07LCE01189   BMW                           430   LAS VEGAS              NV
140680   WBA4J1C07LCE01192   BMW                           430   SAN DIEGO              CA
140681   WBA4J1C07LCE02567   BMW                           430   LAS VEGAS              NV
140682   WBA4J1C07LCE03380   BMW                           430   LOS ANGELES AP         CA
140683   WBA4J1C07LCE04643   BMW                           430   LOS ANGELES AP         CA
140684   WBA4J1C07LCE04674   BMW                           430   LOS ANGELES AP         CA
140685   WBA4J1C07LCE04688   BMW                           430   LOS ANGELES AP         CA
140686   WBA4J1C07LCE06179   BMW                           430   LAS VEGAS              NV
140687   WBA4J1C07LCE06201   BMW                           430   LAS VEGAS              NV
140688   WBA4J1C07LCE06313   BMW                           430   LAS VEGAS              NV
140689   WBA4J1C07LCE07834   BMW                           430   JACKSONVILLE           FL
140690   WBA4J1C07LCE09020   BMW                           430   ATLANTA                GA
140691   WBA4J1C07LCE10085   BMW                           430   ATLANTA                GA
140692   WBA4J1C07LCE15125   BMW                           430   HOUSTON                TX
140693   WBA4J1C07LCE15187   BMW                           430   HOUSTON                TX
140694   WBA4J1C08LCD51841   BMW                           430   Tampa                  FL
140695   WBA4J1C08LCD53685   BMW                           430   SAN DIEGO              CA
140696   WBA4J1C08LCD55131   BMW                           430   SAN DIEGO              CA
140697   WBA4J1C08LCD58076   BMW                           430   WOODLAND HILLS         CA
140698   WBA4J1C08LCD59292   BMW                           430   ORANGE COUNTY          CA
140699   WBA4J1C08LCD72110   BMW                           430   JACKSONVILLE           FL
140700   WBA4J1C08LCD73998   BMW                           430   FORT MYERS             FL
140701   WBA4J1C08LCD99386   BMW                           430   LOS ANGELES            CA
140702   WBA4J1C08LCD99405   BMW                           430   LAS VEGAS              NV
140703   WBA4J1C08LCD99422   BMW                           430   LAS VEGAS              NV
140704   WBA4J1C08LCD99596   BMW                           430   PHOENIX                AZ
140705   WBA4J1C08LCE01136   BMW                           430   LAS VEGAS              NV
140706   WBA4J1C08LCE01217   BMW                           430   SAN DIEGO              CA
140707   WBA4J1C08LCE02545   BMW                           430   LOS ANGELES            CA
140708   WBA4J1C08LCE02643   BMW                           430   LAS VEGAS              NV
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140709   WBA4J1C08LCE03226   BMW                           430   LAS VEGAS              NV
140710   WBA4J1C08LCE04747   BMW                           430   LOS ANGELES AP         CA
140711   WBA4J1C08LCE06286   BMW                           430   SANTA ANA              CA
140712   WBA4J1C08LCE07941   BMW                           430   BURBANK                CA
140713   WBA4J1C08LCE10144   BMW                           430   ATLANTA                GA
140714   WBA4J1C08LCE11276   BMW                           430   ATLANTA                GA
140715   WBA4J1C08LCE12878   BMW                           430   CHARLOTTE              NC
140716   WBA4J1C08LCE13044   BMW                           430   Houston                TX
140717   WBA4J1C08LCE15196   BMW                           430   HOUSTON                TX
140718   WBA4J1C08LCE15442   BMW                           430   HOUSTON                TX
140719   WBA4J1C08LCE16171   BMW                           430   HOUSTON                TX
140720   WBA4J1C08LCE18650   BMW                           430   HOUSTON                TX
140721   WBA4J1C09LCD51928   BMW                           430   LAS VEGAS              NV
140722   WBA4J1C09LCD53744   BMW                           430   LAS VEGAS              NV
140723   WBA4J1C09LCD55140   BMW                           430   LOS ANGELES            CA
140724   WBA4J1C09LCD57390   BMW                           430   ORANGE COUNTY          CA
140725   WBA4J1C09LCD57521   BMW                           430   BURBANK                CA
140726   WBA4J1C09LCD58054   BMW                           430   LOS ANGELES            CA
140727   WBA4J1C09LCD58071   BMW                           430   LOS ANGELES            CA
140728   WBA4J1C09LCD58121   BMW                           430   PHOENIX                AZ
140729   WBA4J1C09LCD58149   BMW                           430   SANTA ANA              CA
140730   WBA4J1C09LCD63920   BMW                           430   SANTA ANA              CA
140731   WBA4J1C09LCD64064   BMW                           430   LOS ANGELES            CA
140732   WBA4J1C09LCD64288   BMW                           430   ONTARIO                CA
140733   WBA4J1C09LCD67305   BMW                           430   Hayward                CA
140734   WBA4J1C09LCD69541   BMW                           430   SAN FRANCISCO          CA
140735   WBA4J1C09LCD72021   BMW                           430   ORANGE COUNTY          CA
140736   WBA4J1C09LCD72309   BMW                           430   RENO                   NV
140737   WBA4J1C09LCD72312   BMW                           430   OAKLAND                CA
140738   WBA4J1C09LCD75131   BMW                           430   MIAMI                  FL
140739   WBA4J1C09LCD75940   BMW                           430   PHOENIX                AZ
140740   WBA4J1C09LCD76084   BMW                           430   PHOENIX                AZ
140741   WBA4J1C09LCD77428   BMW                           430   TAMPA                  US
140742   WBA4J1C09LCD80829   BMW                           430   SAN JOSE               CA
140743   WBA4J1C09LCD80846   BMW                           430   PHOENIX                AZ
140744   WBA4J1C09LCD80894   BMW                           430   PHOENIX                AZ
140745   WBA4J1C09LCD99395   BMW                           430   LAS VEGAS              NV
140746   WBA4J1C09LCD99462   BMW                           430   SAN JOSE               CA
140747   WBA4J1C09LCE01128   BMW                           430   SAN DIEGO              US
140748   WBA4J1C09LCE02554   BMW                           430   LOS ANGELES AP         CA
140749   WBA4J1C09LCE03168   BMW                           430   PHOENIX                AZ
140750   WBA4J1C09LCE06135   BMW                           430   Atlanta                GA
140751   WBA4J1C09LCE06149   BMW                           430   LAS VEGAS              NV
140752   WBA4J1C09LCE06166   BMW                           430   ATLANTA                GA
140753   WBA4J1C09LCE07978   BMW                           430   LOS ANGELES            CA
140754   WBA4J1C09LCE10198   BMW                           430   ATLANTA                GA
140755   WBA4J1C09LCE11237   BMW                           430   ATLANTA                GA
140756   WBA4J1C09LCE11304   BMW                           430   ATLANTA                GA
140757   WBA4J1C09LCE16180   BMW                           430   DFW AIRPORT            TX
140758   WBA4J1C09LCE16339   BMW                           430   Irving                 TX
140759   WBA4J1C09LCE18530   BMW                           430   HOUSTON                TX
140760   WBA4J1C09LCE18544   BMW                           430   HOUSTON                TX
140761   WBA4J1C0XLCD51792   BMW                           430   SANTA ANA              CA
140762   WBA4J1C0XLCD51968   BMW                           430   DALLAS                 TX
140763   WBA4J1C0XLCD54983   BMW                           430   SAN JOSE               CA
140764   WBA4J1C0XLCD55017   BMW                           430   ORANGE COUNTY          CA
140765   WBA4J1C0XLCD57415   BMW                           430   ONTARIO                CA
140766   WBA4J1C0XLCD57964   BMW                           430   LOS ANGELES            CA
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140767   WBA4J1C0XLCD61545   BMW                          430   LOS ANGELES            CA
140768   WBA4J1C0XLCD64302   BMW                          430   LOS ANGELES AP         CA
140769   WBA4J1C0XLCD64347   BMW                          430   PALM SPRINGS           CA
140770   WBA4J1C0XLCD64381   BMW                          430   SAN JOSE               CA
140771   WBA4J1C0XLCD64428   BMW                          430   PALM SPRINGS           CA
140772   WBA4J1C0XLCD69287   BMW                          430   SAN FRANCISCO          CA
140773   WBA4J1C0XLCD69404   BMW                          430   FRESNO                 CA
140774   WBA4J1C0XLCD72030   BMW                          430   PORTLAND               OR
140775   WBA4J1C0XLCD72075   BMW                          430   SACRAMENTO             CA
140776   WBA4J1C0XLCD72125   BMW                          430   SACRAMENTO             CA
140777   WBA4J1C0XLCD72321   BMW                          430   SAN FRANCISCO          CA
140778   WBA4J1C0XLCD73842   BMW                          430   ORLANDO                FL
140779   WBA4J1C0XLCD75137   BMW                          430   FORT LAUDERDALE        FL
140780   WBA4J1C0XLCD75963   BMW                          430   LOS ANGELES            CA
140781   WBA4J1C0XLCD77339   BMW                          430   SAN DIEGO              CA
140782   WBA4J1C0XLCD77356   BMW                          430   MIAMI                  FL
140783   WBA4J1C0XLCD79575   BMW                          430   PHOENIX                AZ
140784   WBA4J1C0XLCD79608   BMW                          430   PHOENIX                AZ
140785   WBA4J1C0XLCD80886   BMW                          430   PHOENIX                AZ
140786   WBA4J1C0XLCD99552   BMW                          430   LAS VEGAS              NV
140787   WBA4J1C0XLCE01168   BMW                          430   LAS VEGAS              NV
140788   WBA4J1C0XLCE02594   BMW                          430   SAN FRANCISCO          CA
140789   WBA4J1C0XLCE02627   BMW                          430   LAS VEGAS              NV
140790   WBA4J1C0XLCE03406   BMW                          430   LOS ANGELES AP         CA
140791   WBA4J1C0XLCE04801   BMW                          430   LOS ANGELES            CA
140792   WBA4J1C0XLCE04829   BMW                          430   LOS ANGELES AP         CA
140793   WBA4J1C0XLCE04846   BMW                          430   LOS ANGELES            CA
140794   WBA4J1C0XLCE04880   BMW                          430   SACRAMENTO             CA
140795   WBA4J1C0XLCE07911   BMW                          430   LAS VEGAS              NV
140796   WBA4J1C0XLCE10100   BMW                          430   BIRMINGHAM             AL
140797   WBA4J1C0XLCE10176   BMW                          430   ATLANTA                GA
140798   WBA4J1C0XLCE11246   BMW                          430   ATLANTA                GA
140799   WBA4J1C0XLCE11327   BMW                          430   ATLANTA                GA
140800   WBA4J1C0XLCE15278   BMW                          430   HOUSTON                TX
140801   WBA4J1C0XLCE15541   BMW                          430   HOUSTON                TX
140802   WBA4J1C0XLCE18505   BMW                          430   HOUSTON                TX
140803   WBA4J1C0XLCE18598   BMW                          430   HOUSTON                TX
140804   WBA7E2C50KB454501   BMW         740I                   NEWPORT BEACH          CA
140805   WBA7E2C50KB454529   BMW         740I                   San Diego              CA
140806   WBA7E2C50KB454532   BMW         740I                   Manheim                PA
140807   WBA7E2C50KB454546   BMW         740I                   Kent                   WA
140808   WBA7E2C50KB454563   BMW         740I                   SAN FRANCISCO          CA
140809   WBA7E2C50KB454577   BMW         740I                   HOUSTON                TX
140810   WBA7E2C50KB454594   BMW         740I                   Houston                TX
140811   WBA7E2C50KB454644   BMW         740I                   ATLANTA                GA
140812   WBA7E2C50KB454658   BMW         740I                   ORLANDO                FL
140813   WBA7E2C50KB454692   BMW         740I                   SALT LAKE CITY         US
140814   WBA7E2C50KB454708   BMW         740I                   LOS ANGELES            CA
140815   WBA7E2C50KB454739   BMW         740I                   North Dighton          MA
140816   WBA7E2C51KB454507   BMW         740I                   SAN FRANCISCO          CA
140817   WBA7E2C51KB454510   BMW         740I                   SAN FRANCISCO          CA
140818   WBA7E2C51KB454541   BMW         740I                   ONTARIO                CA
140819   WBA7E2C51KB454555   BMW         740I                   SEA TAC                WA
140820   WBA7E2C51KB454569   BMW         740I                   SAN FRANCISCO          CA
140821   WBA7E2C51KB454572   BMW         740I                   San Francisco          CA
140822   WBA7E2C51KB454605   BMW         740I                   Harvey                 LA
140823   WBA7E2C51KB454622   BMW         740I                   HOUSTON                TX
140824   WBA7E2C51KB454636   BMW         740I                   MIAMI                  FL
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140825   WBA7E2C51KB454653   BMW         740I                MIAMI                     FL
140826   WBA7E2C51KB454667   BMW         740I                Manheim                   PA
140827   WBA7E2C51KB454670   BMW         740I                Fairburn                  GA
140828   WBA7E2C51KB454684   BMW         740I                JAMAICA                   NY
140829   WBA7E2C51KB454698   BMW         740I                Burbank                   CA
140830   WBA7E2C51KB454703   BMW         740I                LOS ANGELES               CA
140831   WBA7E2C51KB454717   BMW         740I                PITTSBURGH                PA
140832   WBA7E2C51KB454720   BMW         740I                MIAMI                     FL
140833   WBA7E2C51KB454748   BMW         740I                RALEIGH                   NC
140834   WBA7E2C51KB454751   BMW         740I                FORT LAUDERDALE           FL
140835   WBA7E2C52KB454533   BMW         740I                LOS ANGELES               CA
140836   WBA7E2C52KB454547   BMW         740I                LOS ANGELES               CA
140837   WBA7E2C52KB454550   BMW         740I                PORTLAND                  OR
140838   WBA7E2C52KB454564   BMW         740I                Hayward                   CA
140839   WBA7E2C52KB454578   BMW         740I                HOUSTON                   TX
140840   WBA7E2C52KB454581   BMW         740I                SAN JOSE                  CA
140841   WBA7E2C52KB454662   BMW         740I                Caledonia                 WI
140842   WBA7E2C52KB454676   BMW         740I                Manheim                   PA
140843   WBA7E2C52KB454693   BMW         740I                LOS ANGELES               CA
140844   WBA7E2C52KB454709   BMW         740I                LOS ANGELES               CA
140845   WBA7E2C52KB454726   BMW         740I                Elkridge                  MD
140846   WBA7E2C53KB454508   BMW         740I                LOS ANGELES               CA
140847   WBA7E2C53KB454511   BMW         740I                LOS ANGELES               CA
140848   WBA7E2C53KB454539   BMW         740I                Riverside                 CA
140849   WBA7E2C53KB454556   BMW         740I                SOUTH SAN FRANC           CA
140850   WBA7E2C53KB454573   BMW         740I                SAN FRANCISCO             CA
140851   WBA7E2C53KB454587   BMW         740I                SAN FRANCISCO             CA
140852   WBA7E2C53KB454590   BMW         740I                HOUSTON                   TX
140853   WBA7E2C53KB454623   BMW         740I                Dallas                    TX
140854   WBA7E2C53KB454637   BMW         740I                ORLANDO                   FL
140855   WBA7E2C53KB454654   BMW         740I                MIAMI                     FL
140856   WBA7E2C53KB454668   BMW         740I                Elkridge                  MD
140857   WBA7E2C53KB454704   BMW         740I                LOS ANGELES               CA
140858   WBA7E2C53KB454721   BMW         740I                ORLANDO                   FL
140859   WBA7E2C53KB454752   BMW         740I                Bordentown                NJ
140860   WBA7E2C54KB454517   BMW         740I                Tampa                     FL
140861   WBA7E2C54KB454534   BMW         740I                LOS ANGELES               CA
140862   WBA7E2C54KB454551   BMW         740I                SEATAC                    WA
140863   WBA7E2C54KB454565   BMW         740I                SAN FRANCISCO             CA
140864   WBA7E2C54KB454582   BMW         740I                SAN FRANCISCO             CA
140865   WBA7E2C54KB454629   BMW         740I                HOUSTON                   TX
140866   WBA7E2C54KB454632   BMW         740I                MIAMI                     FL
140867   WBA7E2C54KB454646   BMW         740I                SAN FRANCISCO             CA
140868   WBA7E2C54KB454677   BMW         740I                Bordentown                NJ
140869   WBA7E2C54KB454694   BMW         740I                LAS VEGAS                 NV
140870   WBA7E2C54KB454727   BMW         740I                MIAMI                     FL
140871   WBA7E2C54KB454730   BMW         740I                ORLANDO                   FL
140872   WBA7E2C54KB454744   BMW         740I                MIAMI                     FL
140873   WBA7E2C55KB454526   BMW         740I                Seattle                   WA
140874   WBA7E2C55KB454557   BMW         740I                LOS ANGELES               CA
140875   WBA7E2C55KB454560   BMW         740I                EL PASO                   TX
140876   WBA7E2C55KB454588   BMW         740I                FORT MYERS                FL
140877   WBA7E2C55KB454610   BMW         740I                WEST PALM BEACH           FL
140878   WBA7E2C55KB454624   BMW         740I                KANSAS CITY               MO
140879   WBA7E2C55KB454638   BMW         740I                SANTA ANA                 CA
140880   WBA7E2C55KB454641   BMW         740I                WEST PALM BEACH           FL
140881   WBA7E2C55KB454672   BMW         740I                Norfolk                   VA
140882   WBA7E2C55KB454686   BMW         740I                SAN FRANCISCO             CA
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140883   WBA7E2C55KB454705   BMW         740I                Los Angeles               CA
140884   WBA7E2C55KB454719   BMW         740I                EGG HARBOR TOWN           NJ
140885   WBA7E2C56KB454504   BMW         740I                San Francisco             CA
140886   WBA7E2C56KB454518   BMW         740I                MIAMI                     FL
140887   WBA7E2C56KB454521   BMW         740I                LOS ANGELES               CA
140888   WBA7E2C56KB454552   BMW         740I                SEA TAC                   WA
140889   WBA7E2C56KB454583   BMW         740I                SAN FRANCISCO             CA
140890   WBA7E2C56KB454616   BMW         740I                MIAMI                     FL
140891   WBA7E2C56KB454633   BMW         740I                MIAMI                     FL
140892   WBA7E2C56KB454647   BMW         740I                FORT MYERS                FL
140893   WBA7E2C56KB454650   BMW         740I                Lake Elsinore             CA
140894   WBA7E2C56KB454664   BMW         740I                Statesville               NC
140895   WBA7E2C56KB454678   BMW         740I                Manheim                   PA
140896   WBA7E2C56KB454695   BMW         740I                SAN DIEGO                 CA
140897   WBA7E2C56KB454700   BMW         740I                LOS ANGELES               CA
140898   WBA7E2C56KB454714   BMW         740I                Lake Elsinore             CA
140899   WBA7E2C56KB454728   BMW         740I                Lynn                      MA
140900   WBA7E2C56KB454731   BMW         740I                ORLANDO                   FL
140901   WBA7E2C56KB454745   BMW         740I                Miami                     FL
140902   WBA7E2C57KB454494   BMW         740I                LOS ANGELES               CA
140903   WBA7E2C57KB454527   BMW         740I                SEATAC                    WA
140904   WBA7E2C57KB454530   BMW         740I                SAN DIEGO                 CA
140905   WBA7E2C57KB454544   BMW         740I                Riverside                 CA
140906   WBA7E2C57KB454558   BMW         740I                LOS ANGELES               CA
140907   WBA7E2C57KB454561   BMW         740I                SEATAC                    WA
140908   WBA7E2C57KB454575   BMW         740I                SAN FRANCISCO             CA
140909   WBA7E2C57KB454589   BMW         740I                DFW AIRPORT               TX
140910   WBA7E2C57KB454639   BMW         740I                SAN DIEGO                 CA
140911   WBA7E2C57KB454656   BMW         740I                BALTIMORE                 MD
140912   WBA7E2C57KB454690   BMW         740I                SAN FRANCISCO             CA
140913   WBA7E2C57KB454706   BMW         740I                LOS ANGELES               CA
140914   WBA7E2C58KB454553   BMW         740I                ONTARIO                   CA
140915   WBA7E2C58KB454567   BMW         740I                SAN FRANCISCO             CA
140916   WBA7E2C58KB454570   BMW         740I                SAN FRANCISCO             CA
140917   WBA7E2C58KB454584   BMW         740I                WOODLAND HILLS            CA
140918   WBA7E2C58KB454598   BMW         740I                Marietta                  GA
140919   WBA7E2C58KB454603   BMW         740I                Dallas                    TX
140920   WBA7E2C58KB454617   BMW         740I                Irving                    TX
140921   WBA7E2C58KB454665   BMW         740I                Bordentown                NJ
140922   WBA7E2C58KB454679   BMW         740I                Atlanta                   GA
140923   WBA7E2C58KB454682   BMW         740I                PHILADELPHIA              PA
140924   WBA7E2C58KB454696   BMW         740I                LOS ANGELES               CA
140925   WBA7E2C58KB454701   BMW         740I                LOS ANGELES               CA
140926   WBA7E2C58KB454715   BMW         740I                ORLANDO                   FL
140927   WBA7E2C58KB454729   BMW         740I                STERLING                  VA
140928   WBA7E2C59KB454495   BMW         740I                LOS ANGELES               CA
140929   WBA7E2C59KB454514   BMW         740I                SAN FRANCISCO             CA
140930   WBA7E2C59KB454528   BMW         740I                SAN FRANCISCO             CA
140931   WBA7E2C59KB454531   BMW         740I                LOS ANGELES               CA
140932   WBA7E2C59KB454545   BMW         740I                Riverside                 CA
140933   WBA7E2C59KB454559   BMW         740I                Los Angeles               CA
140934   WBA7E2C59KB454593   BMW         740I                HOUSTON                   TX
140935   WBA7E2C59KB454609   BMW         740I                MIAMI                     FL
140936   WBA7E2C59KB454643   BMW         740I                WEST PALM BEACH           FL
140937   WBA7E2C59KB454688   BMW         740I                LOS ANGELES               CA
140938   WBA7E2C59KB454707   BMW         740I                SANTA ANA                 CA
140939   WBA7E2C59KB454738   BMW         740I                FORT LAUDERDALE           FL
140940   WBA7E2C59KB454741   BMW         740I                Warminster                PA
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140941   WBA7E2C5XKB454537   BMW         740I                LOS ANGELES               CA
140942   WBA7E2C5XKB454554   BMW         740I                SAN FRANCISCO             CA
140943   WBA7E2C5XKB454568   BMW         740I                SANTA ANA                 CA
140944   WBA7E2C5XKB454599   BMW         740I                HOUSTON                   TX
140945   WBA7E2C5XKB454618   BMW         740I                LOS ANGELES               CA
140946   WBA7E2C5XKB454621   BMW         740I                MIAMI                     FL
140947   WBA7E2C5XKB454649   BMW         740I                Chicago                   IL
140948   WBA7E2C5XKB454683   BMW         740I                JAMAICA                   NY
140949   WBA7E2C5XKB454697   BMW         740I                Riverside                 CA
140950   WBA7E2C5XKB454702   BMW         740I                PHOENIX                   AZ
140951   WBA7E2C5XKB454733   BMW         740I                STERLING                  US
140952   WBA7E2C5XKB454747   BMW         740I                Jacksonville              FL
140953   WBA7E2C5XKB454750   BMW         740I                FORT LAUDERDALE           FL
140954   WBA7T2C00LCD56349   BMW         740I                Atlanta                   GA
140955   WBA7T2C00LCD72423   BMW         740I                FORT MYERS                FL
140956   WBA7T2C00LCD86550   BMW         740I                LOS ANGELES               CA
140957   WBA7T2C00LCE04951   BMW         740I                CHARLOTTE                 NC
140958   WBA7T2C00LCE12693   BMW         740I                AUSTIN                    TX
140959   WBA7T2C00LCE25217   BMW         740I                JAMAICA                   NY
140960   WBA7T2C01LCD53430   BMW         740I                MIAMI                     FL
140961   WBA7T2C01LCD53461   BMW         740I                FORT LAUDERDALE           FL
140962   WBA7T2C01LCD53542   BMW         740I                PHOENIX                   AZ
140963   WBA7T2C01LCD54805   BMW         740I                FORT LAUDERDALE           FL
140964   WBA7T2C01LCD73676   BMW         740I                ORLANDO                   FL
140965   WBA7T2C01LCD81924   BMW         740I                SAN DIEGO                 CA
140966   WBA7T2C01LCD85035   BMW         740I                SAN DIEGO                 CA
140967   WBA7T2C01LCE06403   BMW         740I                CHARLOTTE                 NC
140968   WBA7T2C01LCE09883   BMW         740I                NEW YORK CITY             NY
140969   WBA7T2C02LCD52187   BMW         740I                LOS ANGELES               CA
140970   WBA7T2C02LCD53369   BMW         740I                LAS VEGAS                 NV
140971   WBA7T2C02LCD53534   BMW         740I                ATLANTA                   GA
140972   WBA7T2C02LCD83617   BMW         740I                SAN DIEGO                 CA
140973   WBA7T2C02LCD83651   BMW         740I                SAN DIEGO                 CA
140974   WBA7T2C02LCE03557   BMW         740I                LOS ANGELES               CA
140975   WBA7T2C03LCD52067   BMW         740I                SAINT PAUL                MN
140976   WBA7T2C03LCD53428   BMW         740I                MIAMI                     FL
140977   WBA7T2C03LCD70567   BMW         740I                JAMAICA                   NY
140978   WBA7T2C03LCD70570   BMW         740I                MIAMI                     FL
140979   WBA7T2C03LCD70861   BMW         740I                FORT LAUDERDALE           FL
140980   WBA7T2C03LCE11618   BMW         740I                LOS ANGELES AP            CA
140981   WBA7T2C04LCD52031   BMW         740I                PHOENIX                   AZ
140982   WBA7T2C04LCD52224   BMW         740I                SANTA ANA                 CA
140983   WBA7T2C04LCD70481   BMW         740I                JAMAICA                   NY
140984   WBA7T2C04LCD70996   BMW         740I                TAMPA                     FL
140985   WBA7T2C04LCE07688   BMW         740I                SAN DIEGO                 CA
140986   WBA7T2C04LCE09862   BMW         740I                LOS ANGELES AP            CA
140987   WBA7T2C05LCD52233   BMW         740I                LOS ANGELES               CA
140988   WBA7T2C05LCD53298   BMW         740I                FT. LAUDERDALE            FL
140989   WBA7T2C05LCD53561   BMW         740I                PHOENIX                   AZ
140990   WBA7T2C05LCD59599   BMW         740I                FORT MYERS                FL
140991   WBA7T2C05LCD68657   BMW         740I                PHOENIX                   AZ
140992   WBA7T2C05LCD68707   BMW         740I                WEST PALM BEACH           FL
140993   WBA7T2C06LCD53438   BMW         740I                LOS ANGELES               CA
140994   WBA7T2C06LCD53486   BMW         740I                FORT LAUDERDALE           FL
140995   WBA7T2C06LCD53519   BMW         740I                PHOENIX                   AZ
140996   WBA7T2C06LCD53536   BMW         740I                WEST PALM BEACH           FL
140997   WBA7T2C06LCD54928   BMW         740I                ATLANTA                   GA
140998   WBA7T2C06LCD56291   BMW         740I                ATLANTA                   GA
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140999   WBA7T2C06LCD68750   BMW         740I                   SOUTH SAN FRANC        CA
141000   WBA7T2C06LCD70451   BMW         740I                   ORLANDO                FL
141001   WBA7T2C06LCD70580   BMW         740I                   ORLANDO                FL
141002   WBA7T2C07LCD52153   BMW         740I                   SAN DIEGO              CA
141003   WBA7T2C07LCD52217   BMW         740I                   LOS ANGELES            CA
141004   WBA7T2C07LCD53576   BMW         740I                   FORT LAUDERDALE        FL
141005   WBA7T2C07LCD54873   BMW         740I                   FT. LAUDERDALE         FL
141006   WBA7T2C07LCD56347   BMW         740I                   ATLANTA                GA
141007   WBA7T2C07LCD68644   BMW         740I                   ORLANDO                FL
141008   WBA7T2C07LCD70541   BMW         740I                   TAMPA                  FL
141009   WBA7T2C07LCD72449   BMW         740I                   FORT MYERS             FL
141010   WBA7T2C07LCD72516   BMW         740I                   WEST COLUMBIA          SC
141011   WBA7T2C07LCE09631   BMW         740I                   LOS ANGELES AP         CA
141012   WBA7T2C08LCD52159   BMW         740I                   LOS ANGELES            CA
141013   WBA7T2C08LCD53294   BMW         740I                   GYPSUM                 CO
141014   WBA7T2C08LCD68734   BMW         740I                   FORT LAUDERDALE        FL
141015   WBA7T2C08LCD96677   BMW         740I                   RENO                   NV
141016   WBA7T2C09LCD52137   BMW         740I                   TUCSON                 AZ
141017   WBA7T2C09LCD52154   BMW         740I                   LAS VEGAS              NV
141018   WBA7T2C09LCD52168   BMW         740I                   Los Angeles            CA
141019   WBA7T2C09LCD53398   BMW         740I                   NEW YORK CITY          NY
141020   WBA7T2C09LCE11641   BMW         740I                   LAS VEGAS              NV
141021   WBA7T2C0XLCD53443   BMW         740I                   PHOENIX                AZ
141022   WBA7T2C0XLCD53572   BMW         740I                   LOS ANGELES            CA
141023   WBA7T2C0XLCD56276   BMW         740I                   ATLANTA                GA
141024   WBA7T2C0XLCD56293   BMW         740I                   FORT LAUDERDALE        FL
141025   WBA7T2C0XLCD68637   BMW         740I                   WEST PALM BEACH        FL
141026   WBA7T2C0XLCD68749   BMW         740I                   FORT LAUDERDALE        FL
141027   WBA7T2C0XLCD70467   BMW         740I                   ORLANDO                FL
141028   WBA7T2C0XLCD70954   BMW         740I                   TAMPA                  FL
141029   WBA7T2C0XLCD72526   BMW         740I                   MIAMI                  FL
141030   WBA7T2C0XLCE11552   BMW         740I                   LAS VEGAS              NV
141031   WBA7T2C0XLCE25418   BMW         740I                   JAMAICA                NY
141032   WBAJA5C50KBX46748   BMW                          530   Houston                TX
141033   WBAJA5C50KBX46877   BMW                          530   Burien                 WA
141034   WBAJA5C50KBX46913   BMW                          530   Aurora                 CO
141035   WBAJA5C50KBX49083   BMW                          530   North Dighton          MA
141036   WBAJA5C50KBX49102   BMW                          530   SEATAC                 WA
141037   WBAJA5C50KBX49116   BMW                          530   Matteson               IL
141038   WBAJA5C50KBX86506   BMW                          530   Tolleson               AZ
141039   WBAJA5C50KBX86666   BMW                          530   ORANGE COUNTY          CA
141040   WBAJA5C50KBX86716   BMW                          530   LAS VEGAS              NV
141041   WBAJA5C50KBX86778   BMW                          530   Kent                   WA
141042   WBAJA5C50KBX86814   BMW                          530   DES MOINES             IA
141043   WBAJA5C50KBX86845   BMW                          530   CHARLOTTE              NC
141044   WBAJA5C50KBX86876   BMW                          530   Aurora                 CO
141045   WBAJA5C50KBX86909   BMW                          530   Hayward                CA
141046   WBAJA5C50KBX86912   BMW                          530   NEWARK                 NY
141047   WBAJA5C50KBX86957   BMW                          530   DAYTONA BEACH          FL
141048   WBAJA5C50KBX87011   BMW                          530   Manheim                PA
141049   WBAJA5C50KBX87042   BMW                          530   SOUTH BEND             IN
141050   WBAJA5C50KBX87087   BMW                          530   LAS VEGAS              NV
141051   WBAJA5C50KBX87249   BMW                          530   TRACY                  CA
141052   WBAJA5C50KBX87252   BMW                          530   SAINT PAUL             MN
141053   WBAJA5C50KBX87297   BMW                          530   PITTSBURGH             PA
141054   WBAJA5C50KBX87476   BMW                          530   Lake Elsinore          CA
141055   WBAJA5C50KBX87493   BMW                          530   SAINT PAUL             MN
141056   WBAJA5C50KBX87526   BMW                          530   INDIANAPOLIS           IN
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141057   WBAJA5C50KBX87610   BMW                          530   DES MOINES             IA
141058   WBAJA5C50KBX87624   BMW                          530   LOS ANGELES            CA
141059   WBAJA5C50KBX87638   BMW                          530   North Canton           OH
141060   WBAJA5C50KBX87641   BMW                          530   Bordentown             NJ
141061   WBAJA5C50KBX87655   BMW                          530   DETROIT                MI
141062   WBAJA5C50KBX87705   BMW                          530   Kent                   WA
141063   WBAJA5C50KBX87719   BMW                          530   LOS ANGELES            CA
141064   WBAJA5C50KBX87770   BMW                          530   LOS ANGELES AP         CA
141065   WBAJA5C50KBX87784   BMW                          530   SAN FRANCISCO          CA
141066   WBAJA5C50KBX87848   BMW                          530   CHICAGO                IL
141067   WBAJA5C50KBX87851   BMW                          530   North Dighton          MA
141068   WBAJA5C50KBX87932   BMW                          530   LOS ANGELES            CA
141069   WBAJA5C50KBX87946   BMW                          530   LAS VEGAS              NV
141070   WBAJA5C50KBX87977   BMW                          530   Hebron                 KY
141071   WBAJA5C50KBX87994   BMW                          530   BURBANK                CA
141072   WBAJA5C50KBX88000   BMW                          530   SEATAC                 WA
141073   WBAJA5C50KBX88031   BMW                          530   SAN FRANCISCO          CA
141074   WBAJA5C50KBX88062   BMW                          530   CHICAGO                IL
141075   WBAJA5C50KBX88188   BMW                          530   Riverside              CA
141076   WBAJA5C50KBX88191   BMW                          530   WICHITA FALLS          TX
141077   WBAJA5C50KG901138   BMW                          530   NEWARK                 NJ
141078   WBAJA5C50KWW07616   BMW                          530   Santa Clara            CA
141079   WBAJA5C50KWW35111   BMW                          530   PITTSBURGH             PA
141080   WBAJA5C50KWW49817   BMW                          530   Schaumburg             IL
141081   WBAJA5C50KWW49879   BMW                          530   Manheim                PA
141082   WBAJA5C51KBX46676   BMW                          530   North Dighton          MA
141083   WBAJA5C51KBX46807   BMW                          530   ELLWOOD CITY           PA
141084   WBAJA5C51KBX49125   BMW                          530   CHICAGO                IL
141085   WBAJA5C51KBX49156   BMW                          530   Florissant             MO
141086   WBAJA5C51KBX86272   BMW                          530   CHICAGO                IL
141087   WBAJA5C51KBX86451   BMW                          530   CHICAGO                IL
141088   WBAJA5C51KBX86532   BMW                          530   Manheim                PA
141089   WBAJA5C51KBX86577   BMW                          530   Bordentown             NJ
141090   WBAJA5C51KBX86661   BMW                          530   Bordentown             NJ
141091   WBAJA5C51KBX86708   BMW                          530   NEWARK                 NJ
141092   WBAJA5C51KBX86742   BMW                          530   LOS ANGELES            CA
141093   WBAJA5C51KBX86790   BMW                          530   NEWARK                 NJ
141094   WBAJA5C51KBX86837   BMW                          530   JAMAICA                NY
141095   WBAJA5C51KBX86949   BMW                          530   Riverside              CA
141096   WBAJA5C51KBX86952   BMW                          530   Matteson               IL
141097   WBAJA5C51KBX87177   BMW                          530   SACRAMENTO             CA
141098   WBAJA5C51KBX87194   BMW                          530   SAN JOSE               CA
141099   WBAJA5C51KBX87275   BMW                          530   Riverside              CA
141100   WBAJA5C51KBX87289   BMW                          530   Elkridge               MD
141101   WBAJA5C51KBX87454   BMW                          530   JACKSON                MS
141102   WBAJA5C51KBX87471   BMW                          530   BOSTON                 MA
141103   WBAJA5C51KBX87485   BMW                          530   NEWARK                 NJ
141104   WBAJA5C51KBX87521   BMW                          530   MILWAUKEE              WI
141105   WBAJA5C51KBX87535   BMW                          530   CHICAGO                IL
141106   WBAJA5C51KBX87549   BMW                          530   Riverside              CA
141107   WBAJA5C51KBX87597   BMW                          530   INDIANAPOLIS           IN
141108   WBAJA5C51KBX87633   BMW                          530   CHARLESTON             WV
141109   WBAJA5C51KBX87647   BMW                          530   DENVER                 CO
141110   WBAJA5C51KBX87678   BMW                          530   North Dighton          MA
141111   WBAJA5C51KBX87681   BMW                          530   Schaumburg             IL
141112   WBAJA5C51KBX88071   BMW                          530   BURBANK                CA
141113   WBAJA5C51KBX88166   BMW                          530   TAMPA                  FL
141114   WBAJA5C51KBX88183   BMW                          530   PORTLAND               OR
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141115   WBAJA5C51KWW20715   BMW                          530   DAYTONA BEACH          FL
141116   WBAJA5C51KWW38969   BMW                          530   LOS ANGELES            CA
141117   WBAJA5C51KWW39412   BMW                          530   Statesville            NC
141118   WBAJA5C51KWW39653   BMW                          530   SOUTHEAST DST OFFC     OK
141119   WBAJA5C51KWW44383   BMW                          530   Matteson               IL
141120   WBAJA5C51KWW46540   BMW                          530   North Dighton          MA
141121   WBAJA5C51KWW46568   BMW                          530   CHICAGO                IL
141122   WBAJA5C51KWW49597   BMW                          530   Lake Elsinore          CA
141123   WBAJA5C51KWW49664   BMW                          530   TAMPA                  FL
141124   WBAJA5C52KBX46833   BMW                          530   RONKONKOMA             NY
141125   WBAJA5C52KBX49070   BMW                          530   Omaha                  NE
141126   WBAJA5C52KBX86152   BMW                          530   NEWARK                 NJ
141127   WBAJA5C52KBX86247   BMW                          530   CHICAGO                IL
141128   WBAJA5C52KBX86362   BMW                          530   BURBANK                CA
141129   WBAJA5C52KBX86460   BMW                          530   BALTIMORE              MD
141130   WBAJA5C52KBX86636   BMW                          530   NEWARK                 NY
141131   WBAJA5C52KBX86734   BMW                          530   BOSTON, LOGAN AP       MA
141132   WBAJA5C52KBX86748   BMW                          530   Manheim                PA
141133   WBAJA5C52KBX86779   BMW                          530   SAN FRANCISCO          CA
141134   WBAJA5C52KBX86863   BMW                          530   Hayward                CA
141135   WBAJA5C52KBX86877   BMW                          530   CLEVELAND              OH
141136   WBAJA5C52KBX86927   BMW                          530   DETROIT                MI
141137   WBAJA5C52KBX87057   BMW                          530   Maple Grove            MN
141138   WBAJA5C52KBX87074   BMW                          530   Fredericksburg         VA
141139   WBAJA5C52KBX87124   BMW                          530   Kent                   WA
141140   WBAJA5C52KBX87205   BMW                          530   SAN FRANCISCO          CA
141141   WBAJA5C52KBX87351   BMW                          530   Kent                   WA
141142   WBAJA5C52KBX87365   BMW                          530   Hayward                CA
141143   WBAJA5C52KBX87446   BMW                          530   STERLING               VA
141144   WBAJA5C52KBX87558   BMW                          530   Hayward                CA
141145   WBAJA5C52KBX87575   BMW                          530   MILWAUKEE              WI
141146   WBAJA5C52KBX87611   BMW                          530   CLEVELAND              OH
141147   WBAJA5C52KBX87625   BMW                          530   DETROIT                MI
141148   WBAJA5C52KBX87642   BMW                          530   JAMAICA                NY
141149   WBAJA5C52KBX87656   BMW                          530   Clearwater             FL
141150   WBAJA5C52KBX87673   BMW                          530   Carleton               MI
141151   WBAJA5C52KBX87690   BMW                          530   Riverside              CA
141152   WBAJA5C52KBX87723   BMW                          530   Pittsburgh             PA
141153   WBAJA5C52KBX87754   BMW                          530   Kent                   WA
141154   WBAJA5C52KBX87849   BMW                          530   CHICAGO                IL
141155   WBAJA5C52KBX87866   BMW                          530   Schaumburg             IL
141156   WBAJA5C52KBX87933   BMW                          530   Kansas City            MO
141157   WBAJA5C52KBX87964   BMW                          530   S. San Francisc        CA
141158   WBAJA5C52KBX87978   BMW                          530   SAINT PAUL             MN
141159   WBAJA5C52KBX88225   BMW                          530   SAINT PAUL             MN
141160   WBAJA5C52KBX88239   BMW                          530   CHICAGO O'HARE AP      IL
141161   WBAJA5C52KWW20528   BMW                          530   Riverside              CA
141162   WBAJA5C52KWW20920   BMW                          530   OMAHA                  NE
141163   WBAJA5C52KWW40505   BMW                          530   SPRINGFIELD            NJ
141164   WBAJA5C52KWW40522   BMW                          530   NEWPORT BEACH          CA
141165   WBAJA5C52KWW43811   BMW                          530   Manheim                PA
141166   WBAJA5C52KWW47342   BMW                          530   Manheim                PA
141167   WBAJA5C53KBX46744   BMW                          530   Bordentown             NJ
141168   WBAJA5C53KBX46873   BMW                          530   HEBRON                 KY
141169   WBAJA5C53KBX46887   BMW                          530   NEWARK                 NJ
141170   WBAJA5C53KBX46890   BMW                          530   Manheim                PA
141171   WBAJA5C53KBX49160   BMW                          530   LOUISVILLE             KY
141172   WBAJA5C53KBX86158   BMW                          530   PHOENIX                AZ
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141173   WBAJA5C53KBX86239   BMW                          530   Memphis                TN
141174   WBAJA5C53KBX86466   BMW                          530   BURBANK                CA
141175   WBAJA5C53KBX86483   BMW                          530   Hebron                 KY
141176   WBAJA5C53KBX86578   BMW                          530   LOUISVILLE             KY
141177   WBAJA5C53KBX86628   BMW                          530   PENSACOLA              FL
141178   WBAJA5C53KBX86676   BMW                          530   LOS ANGELES            CA
141179   WBAJA5C53KBX86743   BMW                          530   NEWARK                 NJ
141180   WBAJA5C53KBX86788   BMW                          530   LOS ANGELES            CA
141181   WBAJA5C53KBX86791   BMW                          530   Hebron                 KY
141182   WBAJA5C53KBX86838   BMW                          530   Los Angeles            CA
141183   WBAJA5C53KBX86886   BMW                          530   COLUMBUS               OH
141184   WBAJA5C53KBX86984   BMW                          530   Bensalem               PA
141185   WBAJA5C53KBX87035   BMW                          530   North Dighton          MA
141186   WBAJA5C53KBX87102   BMW                          530   OAKLAND                CA
141187   WBAJA5C53KBX87133   BMW                          530   Manheim                PA
141188   WBAJA5C53KBX87150   BMW                          530   LOS ANGELES            CA
141189   WBAJA5C53KBX87259   BMW                          530   PHOENIX                AZ
141190   WBAJA5C53KBX87262   BMW                          530   SAN FRANCISCO          CA
141191   WBAJA5C53KBX87293   BMW                          530   SANTA ANA              CA
141192   WBAJA5C53KBX87309   BMW                          530   DETROIT                MI
141193   WBAJA5C53KBX87438   BMW                          530   Detroit                MI
141194   WBAJA5C53KBX87455   BMW                          530   CLEVELAND              OH
141195   WBAJA5C53KBX87536   BMW                          530   Aurora                 CO
141196   WBAJA5C53KBX87567   BMW                          530   OMAHA                  NE
141197   WBAJA5C53KBX87570   BMW                          530   ROSEVILLE              CA
141198   WBAJA5C53KBX87584   BMW                          530   JAMAICA                NY
141199   WBAJA5C53KBX87634   BMW                          530   NEWARK                 NJ
141200   WBAJA5C53KBX87651   BMW                          530   Costa Mesa             CA
141201   WBAJA5C53KBX87682   BMW                          530   BALTIMORE              MD
141202   WBAJA5C53KBX87701   BMW                          530   ATLANTA                GA
141203   WBAJA5C53KBX87729   BMW                          530   Buena Park             CA
141204   WBAJA5C53KBX87732   BMW                          530   Tolleson               AZ
141205   WBAJA5C53KBX87813   BMW                          530   Kent                   WA
141206   WBAJA5C53KBX87858   BMW                          530   Albuquerque            NM
141207   WBAJA5C53KBX87973   BMW                          530   SAINT LOUIS            MO
141208   WBAJA5C53KBX88010   BMW                          530   PHILADELPHIA           PA
141209   WBAJA5C53KBX88041   BMW                          530   BLOOMINGTON            IL
141210   WBAJA5C53KBX88170   BMW                          530   Plainfield             IN
141211   WBAJA5C53KBX88184   BMW                          530   SAINT PAUL             MN
141212   WBAJA5C53KBX88203   BMW                          530   Riverside              CA
141213   WBAJA5C53KBX88217   BMW                          530   SAN FRANCISCO          CA
141214   WBAJA5C53KBX88220   BMW                          530   S. San Francisc        CA
141215   WBAJA5C53KG901053   BMW                          530   Fredericksburg         VA
141216   WBAJA5C53KWW08369   BMW                          530   Aurora                 CO
141217   WBAJA5C53KWW34714   BMW                          530   ROCHESTER              NY
141218   WBAJA5C53KWW38553   BMW                          530   SAN FRANCISCO          CA
141219   WBAJA5C53KWW38617   BMW                          530   Portland               OR
141220   WBAJA5C53KWW39413   BMW                          530   Sarasota               FL
141221   WBAJA5C53KWW42246   BMW                          530   LOS ANGELES            CA
141222   WBAJA5C53KWW44353   BMW                          530   LAS VEGAS              NV
141223   WBAJA5C53KWW46071   BMW                          530   Manheim                PA
141224   WBAJA5C53KWW49455   BMW                          530   SANTA CLARA            CA
141225   WBAJA5C54KBX46655   BMW                          530   NEWARK                 NJ
141226   WBAJA5C54KBX46753   BMW                          530   Louisville             KY
141227   WBAJA5C54KBX86542   BMW                          530   NEWARK                 NJ
141228   WBAJA5C54KBX86685   BMW                          530   PALM SPRINGS           CA
141229   WBAJA5C54KBX86752   BMW                          530   BOSTON                 MA
141230   WBAJA5C54KBX86783   BMW                          530   Costa Mesa             CA
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141231   WBAJA5C54KBX86802   BMW                          530   ALBANY                 NY
141232   WBAJA5C54KBX86847   BMW                          530   Burien                 WA
141233   WBAJA5C54KBX86864   BMW                          530   Riverside              CA
141234   WBAJA5C54KBX86914   BMW                          530   Bordentown             NJ
141235   WBAJA5C54KBX86976   BMW                          530   WEST PALM BEACH        FL
141236   WBAJA5C54KBX87092   BMW                          530   Hebron                 KY
141237   WBAJA5C54KBX87139   BMW                          530   Aurora                 CO
141238   WBAJA5C54KBX87156   BMW                          530   KANSAS CITY            MO
141239   WBAJA5C54KBX87173   BMW                          530   MELROSE PARK           IL
141240   WBAJA5C54KBX87206   BMW                          530   INDIANAPOLIS           IN
141241   WBAJA5C54KBX87254   BMW                          530   MORROW                 GA
141242   WBAJA5C54KBX87271   BMW                          530   Hayward                CA
141243   WBAJA5C54KBX87402   BMW                          530   Des Plaines            IL
141244   WBAJA5C54KBX87416   BMW                          530   NEWARK                 NJ
141245   WBAJA5C54KBX87447   BMW                          530   Matteson               IL
141246   WBAJA5C54KBX87531   BMW                          530   SACRAMENTO             CA
141247   WBAJA5C54KBX87545   BMW                          530   LOUISVILLE             KY
141248   WBAJA5C54KBX87576   BMW                          530   Aurora                 CO
141249   WBAJA5C54KBX87593   BMW                          530   BLOOMINGTON            IL
141250   WBAJA5C54KBX87626   BMW                          530   Kansas City            MO
141251   WBAJA5C54KBX87738   BMW                          530   LOS ANGELES            CA
141252   WBAJA5C54KBX87772   BMW                          530   HANOVER                MD
141253   WBAJA5C54KBX87819   BMW                          530   RONKONKOMA             NY
141254   WBAJA5C54KBX87836   BMW                          530   WOODLAND HILLS         CA
141255   WBAJA5C54KBX87867   BMW                          530   Manheim                PA
141256   WBAJA5C54KBX88033   BMW                          530   JAMAICA                NY
141257   WBAJA5C54KBX88047   BMW                          530   JACKSON                WY
141258   WBAJA5C54KBX88212   BMW                          530   DAYTONA BEACH          FL
141259   WBAJA5C54KG901191   BMW                          530   LAS VEGAS              NV
141260   WBAJA5C54KWW08705   BMW                          530   SAINT LOUIS            MO
141261   WBAJA5C54KWW20935   BMW                          530   SAN FRANCISCO          CA
141262   WBAJA5C54KWW34527   BMW                          530   ORLANDO                FL
141263   WBAJA5C54KWW39162   BMW                          530   PHOENIX                AZ
141264   WBAJA5C54KWW39274   BMW                          530   North Dighton          MA
141265   WBAJA5C54KWW40991   BMW                          530   Omaha                  NE
141266   WBAJA5C54KWW46435   BMW                          530   Kent                   WA
141267   WBAJA5C54KWW49416   BMW                          530   BLOOMINGTON            IL
141268   WBAJA5C55KBX46759   BMW                          530   DETROIT                MI
141269   WBAJA5C55KBX46857   BMW                          530   Beaverton              OR
141270   WBAJA5C55KBX49080   BMW                          530   BURBANK                CA
141271   WBAJA5C55KBX49158   BMW                          530   Hayward                CA
141272   WBAJA5C55KBX86226   BMW                          530   LOS ANGELES            CA
141273   WBAJA5C55KBX86307   BMW                          530   Massapequa             NY
141274   WBAJA5C55KBX86453   BMW                          530   Davie                  FL
141275   WBAJA5C55KBX86467   BMW                          530   PHOENIX                AZ
141276   WBAJA5C55KBX86484   BMW                          530   North Las Vegas        NV
141277   WBAJA5C55KBX86520   BMW                          530   LOS ANGELES            CA
141278   WBAJA5C55KBX86579   BMW                          530   DENVER                 CO
141279   WBAJA5C55KBX86629   BMW                          530   Cudahy                 WI
141280   WBAJA5C55KBX86632   BMW                          530   Des Plaines            IL
141281   WBAJA5C55KBX86761   BMW                          530   SHREVEPORT             LA
141282   WBAJA5C55KBX86775   BMW                          530   LAS VEGAS              NV
141283   WBAJA5C55KBX86825   BMW                          530   Elkridge               MD
141284   WBAJA5C55KBX86923   BMW                          530   DETROIT                MI
141285   WBAJA5C55KBX87053   BMW                          530   ALBANY                 N
141286   WBAJA5C55KBX87098   BMW                          530   Rio Linda              CA
141287   WBAJA5C55KBX87229   BMW                          530   NEWARK                 NJ
141288   WBAJA5C55KBX87232   BMW                          530   Fontana                CA
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141289   WBAJA5C55KBX87277   BMW                          530   LAS VEGAS              NV
141290   WBAJA5C55KBX87439   BMW                          530   STERLING               VA
141291   WBAJA5C55KBX87442   BMW                          530   PALM SPRINGS           CA
141292   WBAJA5C55KBX87506   BMW                          530   LAS VEGAS              NV
141293   WBAJA5C55KBX87523   BMW                          530   Fresno                 CA
141294   WBAJA5C55KBX87540   BMW                          530   LOUISVILLE             KY
141295   WBAJA5C55KBX87652   BMW                          530   Louisville             KY
141296   WBAJA5C55KBX87702   BMW                          530   ROSEVILLE              CA
141297   WBAJA5C55KBX87716   BMW                          530   CHICAGO                IL
141298   WBAJA5C55KBX87747   BMW                          530   BIRMINGHAM             AL
141299   WBAJA5C55KBX87781   BMW                          530   BOSTON                 MA
141300   WBAJA5C55KBX87795   BMW                          530   Kansas City            MO
141301   WBAJA5C55KBX87876   BMW                          530   KNOXVILLE              TN
141302   WBAJA5C55KBX87893   BMW                          530   LOS ANGELES            CA
141303   WBAJA5C55KBX88056   BMW                          530   Maple Grove            MN
141304   WBAJA5C55KBX88087   BMW                          530   CHICAGO                IL
141305   WBAJA5C55KBX88140   BMW                          530   CHICAGO                IL
141306   WBAJA5C55KBX88168   BMW                          530   CHICAGO                IL
141307   WBAJA5C55KBX88235   BMW                          530   LOS ANGELES            CA
141308   WBAJA5C55KG900907   BMW                          530   Aurora                 CO
141309   WBAJA5C55KG901166   BMW                          530   CHICAGO                IL
141310   WBAJA5C55KWW20264   BMW                          530   Hamilton               OH
141311   WBAJA5C55KWW38196   BMW                          530   DETROIT                MI
141312   WBAJA5C55KWW43219   BMW                          530   Santa Clara            CA
141313   WBAJA5C55KWW45407   BMW                          530   Hayward                CA
141314   WBAJA5C55KWW49442   BMW                          530   CHICAGO                IL
141315   WBAJA5C55KWW49456   BMW                          530   Las Vegas              NV
141316   WBAJA5C55KWW49585   BMW                          530   LOUISVILLE             KY
141317   WBAJA5C55KWW49649   BMW                          530   Cranberry Towns        PA
141318   WBAJA5C56KBX46740   BMW                          530   Detroit                MI
141319   WBAJA5C56KBX86283   BMW                          530   Portland               ME
141320   WBAJA5C56KBX86543   BMW                          530   SAN FRANCISCO          CA
141321   WBAJA5C56KBX86624   BMW                          530   Grove City             OH
141322   WBAJA5C56KBX86641   BMW                          530   Fredericksburg         VA
141323   WBAJA5C56KBX86767   BMW                          530   North Dighton          MA
141324   WBAJA5C56KBX86803   BMW                          530   LOS ANGELES            CA
141325   WBAJA5C56KBX86848   BMW                          530   SANTA ANA              CA
141326   WBAJA5C56KBX86851   BMW                          530   PHOENIX                AZ
141327   WBAJA5C56KBX87059   BMW                          530   DAYTONA BEACH          FL
141328   WBAJA5C56KBX87062   BMW                          530   Cleveland              OH
141329   WBAJA5C56KBX87093   BMW                          530   SOUTH BURLINGTO        VT
141330   WBAJA5C56KBX87112   BMW                          530   SACRAMENTO             CA
141331   WBAJA5C56KBX87160   BMW                          530   LAS VEGAS              NV
141332   WBAJA5C56KBX87210   BMW                          530   CHICAGO                IL
141333   WBAJA5C56KBX87238   BMW                          530   SAINT PAUL             MN
141334   WBAJA5C56KBX87241   BMW                          530   LOS ANGELES            CA
141335   WBAJA5C56KBX87286   BMW                          530   DETROIT                MI
141336   WBAJA5C56KBX87305   BMW                          530   LAS VEGAS              NV
141337   WBAJA5C56KBX87336   BMW                          530   PHILADELPHIA           PA
141338   WBAJA5C56KBX87384   BMW                          530   Kent                   WA
141339   WBAJA5C56KBX87420   BMW                          530   KANSAS CITY            MO
141340   WBAJA5C56KBX87451   BMW                          530   Statesville            NC
141341   WBAJA5C56KBX87465   BMW                          530   CHICAGO                IL
141342   WBAJA5C56KBX87482   BMW                          530   DETROIT                MI
141343   WBAJA5C56KBX87580   BMW                          530   Manheim                PA
141344   WBAJA5C56KBX87658   BMW                          530   SAINT LOUIS            MO
141345   WBAJA5C56KBX87661   BMW                          530   Pompano Beach          FL
141346   WBAJA5C56KBX87689   BMW                          530   Kansas City            MO
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141347   WBAJA5C56KBX87708   BMW                          530   INDIANAPOLIS           IN
141348   WBAJA5C56KBX87711   BMW                          530   Maple Grove            MN
141349   WBAJA5C56KBX87756   BMW                          530   Portland               OR
141350   WBAJA5C56KBX87773   BMW                          530   Orlando                FL
141351   WBAJA5C56KBX87790   BMW                          530   Riverside              CA
141352   WBAJA5C56KBX87806   BMW                          530   CHICAGO                IL
141353   WBAJA5C56KBX87837   BMW                          530   Manheim                PA
141354   WBAJA5C56KBX87868   BMW                          530   SAN DIEGO              CA
141355   WBAJA5C56KBX87885   BMW                          530   North Dighton          MA
141356   WBAJA5C56KBX87918   BMW                          530   N. Palm Beach          FL
141357   WBAJA5C56KBX87921   BMW                          530   ATLANTA                GA
141358   WBAJA5C56KBX87966   BMW                          530   LOS ANGELES            CA
141359   WBAJA5C56KBX87997   BMW                          530   SAINT PAUL             MN
141360   WBAJA5C56KBX88017   BMW                          530   CHICAGO                IL
141361   WBAJA5C56KBX88051   BMW                          530   PHOENIX                AZ
141362   WBAJA5C56KBX88146   BMW                          530   Lake Elsinore          CA
141363   WBAJA5C56KBX88163   BMW                          530   Elkridge               MD
141364   WBAJA5C56KBX88194   BMW                          530   LOUISVILLE             KY
141365   WBAJA5C56KBX88213   BMW                          530   SAN DIEGO              CA
141366   WBAJA5C56KBX88230   BMW                          530   Riverside              CA
141367   WBAJA5C56KG901094   BMW                          530   Manheim                PA
141368   WBAJA5C56KWW07846   BMW                          530   San Diego              CA
141369   WBAJA5C56KWW26221   BMW                          530   Sterling               VA
141370   WBAJA5C56KWW26574   BMW                          530   BLOOMINGTON            IL
141371   WBAJA5C56KWW36103   BMW                          530   SAN JOSE               CA
141372   WBAJA5C56KWW38174   BMW                          530   JAMAICA                NY
141373   WBAJA5C56KWW38546   BMW                          530   TRACY                  CA
141374   WBAJA5C56KWW38952   BMW                          530   Jacksonville           FL
141375   WBAJA5C56KWW49403   BMW                          530   CHICAGO                IL
141376   WBAJA5C56KWW49434   BMW                          530   LOS ANGELES            CA
141377   WBAJA5C57KBX49100   BMW                          530   SAINT LOUIS            MO
141378   WBAJA5C57KBX49145   BMW                          530   NASHVILLE              TN
141379   WBAJA5C57KBX86194   BMW                          530   CHICAGO                IL
141380   WBAJA5C57KBX86373   BMW                          530   North Dighton          MA
141381   WBAJA5C57KBX86468   BMW                          530   Hebron                 KY
141382   WBAJA5C57KBX86566   BMW                          530   TRACY                  CA
141383   WBAJA5C57KBX86583   BMW                          530   LOS ANGELES            CA
141384   WBAJA5C57KBX86602   BMW                          530   Tolleson               AZ
141385   WBAJA5C57KBX86731   BMW                          530   Salt Lake City         UT
141386   WBAJA5C57KBX86793   BMW                          530   SAN ANTONIO            TX
141387   WBAJA5C57KBX86907   BMW                          530   ALBUQUERQUE            NM
141388   WBAJA5C57KBX86941   BMW                          530   CLEVELAND              OH
141389   WBAJA5C57KBX87006   BMW                          530   NEWARK                 NJ
141390   WBAJA5C57KBX87068   BMW                          530   NEWARK                 NJ
141391   WBAJA5C57KBX87135   BMW                          530   Greensboro             NC
141392   WBAJA5C57KBX87183   BMW                          530   Kent                   WA
141393   WBAJA5C57KBX87197   BMW                          530   NEW YORK CITY          NY
141394   WBAJA5C57KBX87247   BMW                          530   Riverside              CA
141395   WBAJA5C57KBX87281   BMW                          530   LAS VEGAS              NV
141396   WBAJA5C57KBX87409   BMW                          530   Massapequa             NY
141397   WBAJA5C57KBX87412   BMW                          530   STERLING               VA
141398   WBAJA5C57KBX87443   BMW                          530   Phoenix                AZ
141399   WBAJA5C57KBX87457   BMW                          530   FRESNO                 CA
141400   WBAJA5C57KBX87488   BMW                          530   Davie                  FL
141401   WBAJA5C57KBX87538   BMW                          530   Teterboro              NJ
141402   WBAJA5C57KBX87541   BMW                          530   Riverside              CA
141403   WBAJA5C57KBX87698   BMW                          530   Burlingame             CA
141404   WBAJA5C57KBX87779   BMW                          530   Rio Linda              CA
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141405   WBAJA5C57KBX87796   BMW                          530   North Dighton          MA
141406   WBAJA5C57KBX87846   BMW                          530   Maple Grove            MN
141407   WBAJA5C57KBX87913   BMW                          530   SAINT LOUIS            MO
141408   WBAJA5C57KBX88088   BMW                          530   Denver                 CO
141409   WBAJA5C57KBX88186   BMW                          530   MINNEAPOLIS            MN
141410   WBAJA5C57KBX88205   BMW                          530   SAN FRANCISCO          CA
141411   WBAJA5C57KBX88222   BMW                          530   SAN FRANCISCO          CA
141412   WBAJA5C57KG901153   BMW                          530   Manheim                PA
141413   WBAJA5C57KWW08357   BMW                          530   LAS VEGAS              NV
141414   WBAJA5C57KWW21464   BMW                          530   NEW YORK CITY          NY
141415   WBAJA5C57KWW33579   BMW                          530   PHILADELPHIA           US
141416   WBAJA5C57KWW33999   BMW                          530   DETROIT                MI
141417   WBAJA5C57KWW34702   BMW                          530   CHICAGO                IL
141418   WBAJA5C57KWW38927   BMW                          530   LAS VEGAS              NV
141419   WBAJA5C57KWW39415   BMW                          530   Elkridge               MD
141420   WBAJA5C57KWW49412   BMW                          530   Chicago                IL
141421   WBAJA5C58KBX46738   BMW                          530   SCRANTON               PA
141422   WBAJA5C58KBX86172   BMW                          530   JAMAICA                NY
141423   WBAJA5C58KBX86284   BMW                          530   Leesburg               VA
141424   WBAJA5C58KBX86494   BMW                          530   SAN FRANCISCO          CA
141425   WBAJA5C58KBX86513   BMW                          530   Atlanta                GA
141426   WBAJA5C58KBX86530   BMW                          530   CHARLOTTE              US
141427   WBAJA5C58KBX86561   BMW                          530   New York               NY
141428   WBAJA5C58KBX86608   BMW                          530   Hayward                CA
141429   WBAJA5C58KBX86866   BMW                          530   BLOOMINGTON            IL
141430   WBAJA5C58KBX86883   BMW                          530   PHILADELPHIA           PA
141431   WBAJA5C58KBX86978   BMW                          530   Elkridge               MD
141432   WBAJA5C58KBX86981   BMW                          530   WARWICK                RI
141433   WBAJA5C58KBX87063   BMW                          530   TAMPA                  FL
141434   WBAJA5C58KBX87175   BMW                          530   NEWARK                 NJ
141435   WBAJA5C58KBX87189   BMW                          530   Portland               ME
141436   WBAJA5C58KBX87239   BMW                          530   DES PLAINES            IL
141437   WBAJA5C58KBX87256   BMW                          530   Manheim                PA
141438   WBAJA5C58KBX87273   BMW                          530   LOUISVILLE             KY
141439   WBAJA5C58KBX87290   BMW                          530   Salt Lake City         UT
141440   WBAJA5C58KBX87306   BMW                          530   LOS ANGELES            CA
141441   WBAJA5C58KBX87340   BMW                          530   BURBANK                CA
141442   WBAJA5C58KBX87399   BMW                          530   STERLING               VA
141443   WBAJA5C58KBX87418   BMW                          530   GRAND RAPIDS           MI
141444   WBAJA5C58KBX87452   BMW                          530   Denver                 CO
141445   WBAJA5C58KBX87483   BMW                          530   SAINT LOUIS            MO
141446   WBAJA5C58KBX87497   BMW                          530   Manheim                PA
141447   WBAJA5C58KBX87564   BMW                          530   NEWARK                 NJ
141448   WBAJA5C58KBX87581   BMW                          530   Matteson               IL
141449   WBAJA5C58KBX87595   BMW                          530   CLEVELAND              OH
141450   WBAJA5C58KBX87614   BMW                          530   DETROIT                MI
141451   WBAJA5C58KBX87645   BMW                          530   Manheim                PA
141452   WBAJA5C58KBX87676   BMW                          530   Manheim                PA
141453   WBAJA5C58KBX87693   BMW                          530   SAVANNAH               GA
141454   WBAJA5C58KBX87709   BMW                          530   Sterling               VA
141455   WBAJA5C58KBX87788   BMW                          530   BLOOMINGTON            IL
141456   WBAJA5C58KBX87855   BMW                          530   HAYWARD                CA
141457   WBAJA5C58KBX87919   BMW                          530   CLEVELAND              OH
141458   WBAJA5C58KBX87967   BMW                          530   Clearwater             FL
141459   WBAJA5C58KBX88021   BMW                          530   SOUTH BEND             IN
141460   WBAJA5C58KBX88052   BMW                          530   SAN DIEGO              CA
141461   WBAJA5C58KBX88147   BMW                          530   Torrance               CA
141462   WBAJA5C58KBX88150   BMW                          530   SAINT LOUIS            MO
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141463   WBAJA5C58KBX88178   BMW                          530   PHOENIX                AZ
141464   WBAJA5C58KBX88195   BMW                          530   Lake in the Hil        IL
141465   WBAJA5C58KWW30013   BMW                          530   Fresno                 CA
141466   WBAJA5C58KWW35809   BMW                          530   LOS ANGELES            CA
141467   WBAJA5C58KWW39729   BMW                          530   SEATAC                 WA
141468   WBAJA5C58KWW42419   BMW                          530   WHITE PLAINS           NY
141469   WBAJA5C58KWW44140   BMW                          530   ATLANTA                GA
141470   WBAJA5C58KWW49421   BMW                          530   Lake Elsinore          CA
141471   WBAJA5C58KWW49578   BMW                          530   PORTLAND               ME
141472   WBAJA5C58KWW49595   BMW                          530   CHICAGO                IL
141473   WBAJA5C59KBX46781   BMW                          530   TRACY                  CA
141474   WBAJA5C59KBX86312   BMW                          530   NEWARK                 NJ
141475   WBAJA5C59KBX86410   BMW                          530   LOUISVILLE             KY
141476   WBAJA5C59KBX86570   BMW                          530   PASSAIC                NJ
141477   WBAJA5C59KBX86620   BMW                          530   Hayward                CA
141478   WBAJA5C59KBX86701   BMW                          530   LAS VEGAS              NV
141479   WBAJA5C59KBX86715   BMW                          530   DES PLAINES            US
141480   WBAJA5C59KBX86732   BMW                          530   BOSTON                 MA
141481   WBAJA5C59KBX86746   BMW                          530   PHOENIX                AZ
141482   WBAJA5C59KBX86763   BMW                          530   OMAHA                  NE
141483   WBAJA5C59KBX86780   BMW                          530   North Dighton          MA
141484   WBAJA5C59KBX86844   BMW                          530   TRACY                  CA
141485   WBAJA5C59KBX86861   BMW                          530   Plainfield             IN
141486   WBAJA5C59KBX86875   BMW                          530   OMAHA                  NE
141487   WBAJA5C59KBX86973   BMW                          530   Hebron                 KY
141488   WBAJA5C59KBX86987   BMW                          530   NEWARK                 NJ
141489   WBAJA5C59KBX87010   BMW                          530   Nashville              TN
141490   WBAJA5C59KBX87038   BMW                          530   Manheim                PA
141491   WBAJA5C59KBX87069   BMW                          530   FORT LAUDERDALE        FL
141492   WBAJA5C59KBX87167   BMW                          530   ALBUQUERQUE            NM
141493   WBAJA5C59KBX87265   BMW                          530   SOUTH BEND             IN
141494   WBAJA5C59KBX87282   BMW                          530   Elgin                  IL
141495   WBAJA5C59KBX87458   BMW                          530   CHICAGO                IL
141496   WBAJA5C59KBX87492   BMW                          530   Riverside              CA
141497   WBAJA5C59KBX87511   BMW                          530   MERRIAM                KS
141498   WBAJA5C59KBX87525   BMW                          530   Kansas City            MO
141499   WBAJA5C59KBX87573   BMW                          530   Sterling               VA
141500   WBAJA5C59KBX87590   BMW                          530   PHOENIX                AZ
141501   WBAJA5C59KBX87671   BMW                          530   INDIANAPOLIS           IN
141502   WBAJA5C59KBX87685   BMW                          530   SYRACUSE               NY
141503   WBAJA5C59KBX87704   BMW                          530   LOS ANGELES            CA
141504   WBAJA5C59KBX87914   BMW                          530   SOUTHEAST DST OFFC     OK
141505   WBAJA5C59KBX88044   BMW                          530   Maple Grove            MN
141506   WBAJA5C59KBX88139   BMW                          530   MILWAUKEE              WI
141507   WBAJA5C59KBX88142   BMW                          530   Des Moines             IA
141508   WBAJA5C59KBX88156   BMW                          530   CHARLOTTE              NC
141509   WBAJA5C59KBX88173   BMW                          530   WHITE PLAINS           NY
141510   WBAJA5C59KBX88206   BMW                          530   Los Angeles            CA
141511   WBAJA5C59KWW07808   BMW                          530   Riverside              CA
141512   WBAJA5C59KWW46432   BMW                          530   NEWARK                 NY
141513   WBAJA5C5XKBX46708   BMW                          530   Maple Grove            MN
141514   WBAJA5C5XKBX46725   BMW                          530   INDIANAPOLIS           IN
141515   WBAJA5C5XKBX49110   BMW                          530   PHOENIX                AZ
141516   WBAJA5C5XKBX86402   BMW                          530   Reno                   NV
141517   WBAJA5C5XKBX86450   BMW                          530   LOS ANGELES            CA
141518   WBAJA5C5XKBX86500   BMW                          530   LAS VEGAS              NV
141519   WBAJA5C5XKBX86612   BMW                          530   Salt Lake City         UT
141520   WBAJA5C5XKBX86710   BMW                          530   NEW YORK CITY          NY
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141521   WBAJA5C5XKBX86819   BMW                          530   CHICAGO                IL
141522   WBAJA5C5XKBX86867   BMW                          530   LOS ANGELES            CA
141523   WBAJA5C5XKBX86870   BMW                          530   Colorado Spring        CO
141524   WBAJA5C5XKBX86917   BMW                          530   CHICAGO                IL
141525   WBAJA5C5XKBX86934   BMW                          530   SAN DIEGO              CA
141526   WBAJA5C5XKBX87050   BMW                          530   Lexington              KY
141527   WBAJA5C5XKBX87078   BMW                          530   SAN FRANCISCO          CA
141528   WBAJA5C5XKBX87081   BMW                          530   Teterboro              NJ
141529   WBAJA5C5XKBX87145   BMW                          530   Kent                   WA
141530   WBAJA5C5XKBX87159   BMW                          530   Matteson               IL
141531   WBAJA5C5XKBX87176   BMW                          530   Pasadena               CA
141532   WBAJA5C5XKBX87193   BMW                          530   PORTLAND               OR
141533   WBAJA5C5XKBX87226   BMW                          530   North Dighton          MA
141534   WBAJA5C5XKBX87257   BMW                          530   PROVIDENCE             RI
141535   WBAJA5C5XKBX87274   BMW                          530   Riverside              CA
141536   WBAJA5C5XKBX87288   BMW                          530   SAN JOSE               CA
141537   WBAJA5C5XKBX87386   BMW                          530   JACKSON                MS
141538   WBAJA5C5XKBX87453   BMW                          530   CHARLESTON             WV
141539   WBAJA5C5XKBX87534   BMW                          530   LAS VEGAS              NV
141540   WBAJA5C5XKBX87548   BMW                          530   Riverside              CA
141541   WBAJA5C5XKBX87551   BMW                          530   DETROIT                MI
141542   WBAJA5C5XKBX87582   BMW                          530   Omaha                  NE
141543   WBAJA5C5XKBX87596   BMW                          530   Maple Grove            MN
141544   WBAJA5C5XKBX87663   BMW                          530   NEWARK                 NJ
141545   WBAJA5C5XKBX87761   BMW                          530   SAN FRANCISCO          CA
141546   WBAJA5C5XKBX87775   BMW                          530   DES MOINES             IA
141547   WBAJA5C5XKBX87808   BMW                          530   DETROIT                MI
141548   WBAJA5C5XKBX87887   BMW                          530   KANSAS CITY            MO
141549   WBAJA5C5XKBX87923   BMW                          530   CHICAGO                IL
141550   WBAJA5C5XKBX87971   BMW                          530   LOS ANGELES            CA
141551   WBAJA5C5XKBX87999   BMW                          530   SAINT PAUL             MN
141552   WBAJA5C5XKBX88019   BMW                          530   SAN FRANCISCO          CA
141553   WBAJA5C5XKBX88067   BMW                          530   SOUTH BEND             IN
141554   WBAJA5C5XKBX88148   BMW                          530   NEWARK                 NJ
141555   WBAJA5C5XKBX88151   BMW                          530   DAYTONA BEACH          FL
141556   WBAJA5C5XKBX88232   BMW                          530   Matteson               IL
141557   WBAJA5C5XKG901132   BMW                          530   Schaumburg             IL
141558   WBAJA5C5XKG901177   BMW                          530   Manheim                PA
141559   WBAJA5C5XKWW37030   BMW                          530   Tulsa                  OK
141560   WBAJA5C5XKWW38520   BMW                          530   DURHAM                 NC
141561   WBAJA5C5XKWW38890   BMW                          530   SEATAC                 WA
141562   WBAJA5C5XKWW43555   BMW                          530   HARTFORD               CT
141563   WBAJA5C5XKWW49615   BMW                          530   Philadelphia           PA
141564   WBAJA7C50KG910840   BMW                          530   Charlotte              NC
141565   WBAJA7C50KG910921   BMW                          530   Slidell                LA
141566   WBAJA7C50KG911373   BMW                          530   HARTFORD               CT
141567   WBAJA7C50KG911406   BMW                          530   SOUTHEAST DST OFFC     OK
141568   WBAJA7C50KG911485   BMW                          530   BALTIMORE              MD
141569   WBAJA7C50KG911938   BMW                          530   NEWARK                 NJ
141570   WBAJA7C50KG912037   BMW                          530   Memphis                TN
141571   WBAJA7C50KG912040   BMW                          530   Manheim                PA
141572   WBAJA7C50KG912135   BMW                          530   NEWARK                 NJ
141573   WBAJA7C50KG912149   BMW                          530   Bordentown             NJ
141574   WBAJA7C50KG912247   BMW                          530   MILWAUKEE              WI
141575   WBAJA7C50KG912331   BMW                          530   BOSTON                 MA
141576   WBAJA7C50KG912362   BMW                          530   NEWARK                 NJ
141577   WBAJA7C50KG912376   BMW                          530   CHARLOTTE              NC
141578   WBAJA7C50KG912443   BMW                          530   NEWARK                 NJ
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141579   WBAJA7C50KWW24122   BMW                          530   North Billerica        MA
141580   WBAJA7C50KWW27201   BMW                          530   NEW YORK CITY          NY
141581   WBAJA7C50KWW37467   BMW                          530   North Dighton          MA
141582   WBAJA7C50KWW39784   BMW                          530   CLEVELAND              OH
141583   WBAJA7C50KWW42457   BMW                          530   HARTFORD               CT
141584   WBAJA7C50KWW43334   BMW                          530   Atlanta                GA
141585   WBAJA7C50KWW47402   BMW                          530   ATLANTA                GA
141586   WBAJA7C50KWW47660   BMW                          530   North Dighton          MA
141587   WBAJA7C50KWW47870   BMW                          530   DETROIT                MI
141588   WBAJA7C50KWW48484   BMW                          530   PITTSBURGH             PA
141589   WBAJA7C50KWW48548   BMW                          530   NEW YORK CITY          NY
141590   WBAJA7C50KWW48579   BMW                          530   Manheim                PA
141591   WBAJA7C50KWW49408   BMW                          530   STERLING               VA
141592   WBAJA7C51KG910667   BMW                          530   MEMPHIS                TN
141593   WBAJA7C51KG911169   BMW                          530   PITTSBURGH             PA
141594   WBAJA7C51KG911267   BMW                          530   MEMPHIS                TN
141595   WBAJA7C51KG911396   BMW                          530   BOSTON                 MA
141596   WBAJA7C51KG911432   BMW                          530   EAST BOSTON            MA
141597   WBAJA7C51KG911477   BMW                          530   Manheim                PA
141598   WBAJA7C51KG911480   BMW                          530   Charleston             SC
141599   WBAJA7C51KG911558   BMW                          530   DETROIT                MI
141600   WBAJA7C51KG911625   BMW                          530   Tampa                  FL
141601   WBAJA7C51KG911804   BMW                          530   Manheim                PA
141602   WBAJA7C51KG911821   BMW                          530   BOSTON                 MA
141603   WBAJA7C51KG911849   BMW                          530   CHICAGO                IL
141604   WBAJA7C51KG912032   BMW                          530   HANOVER                MD
141605   WBAJA7C51KG912046   BMW                          530   NEW YORK CITY          NY
141606   WBAJA7C51KG912077   BMW                          530   CHARLESTON             SC
141607   WBAJA7C51KG912113   BMW                          530   MANCHESTER             US
141608   WBAJA7C51KG912144   BMW                          530   Manheim                PA
141609   WBAJA7C51KG912189   BMW                          530   North Dighton          MA
141610   WBAJA7C51KG912273   BMW                          530   CHARLESTON             WV
141611   WBAJA7C51KG912340   BMW                          530   Detroit                MI
141612   WBAJA7C51KG912354   BMW                          530   RONKONKOMA             NY
141613   WBAJA7C51KG912368   BMW                          530   BOSTON                 MA
141614   WBAJA7C51KG912404   BMW                          530   Statesville            NC
141615   WBAJA7C51KG912449   BMW                          530   Manheim                PA
141616   WBAJA7C51KG912502   BMW                          530   NEWARK                 NJ
141617   WBAJA7C51KG912841   BMW                          530   SOUTHEAST DST OFFC     OK
141618   WBAJA7C51KWW21245   BMW                          530   Cranberry Towns        PA
141619   WBAJA7C51KWW27868   BMW                          530   North Dighton          MA
141620   WBAJA7C51KWW38966   BMW                          530   Greensboro             NC
141621   WBAJA7C51KWW45643   BMW                          530   SAINT PAUL             MN
141622   WBAJA7C51KWW47585   BMW                          530   Greensboro             NC
141623   WBAJA7C51KWW48090   BMW                          530   CLEVELAND              OH
141624   WBAJA7C51KWW48493   BMW                          530   RONKONKOMA             NY
141625   WBAJA7C51KWW49420   BMW                          530   PHILADELPHIA           US
141626   WBAJA7C52KG911004   BMW                          530   Greensboro             NC
141627   WBAJA7C52KG911472   BMW                          530   Manheim                PA
141628   WBAJA7C52KG911827   BMW                          530   Medford                NY
141629   WBAJA7C52KG911908   BMW                          530   SOUTHEAST DST OFFC     OK
141630   WBAJA7C52KG911956   BMW                          530   Teterboro              NJ
141631   WBAJA7C52KG911973   BMW                          530   Medford                NY
141632   WBAJA7C52KG912136   BMW                          530   BALTIMORE              MD
141633   WBAJA7C52KG912170   BMW                          530   Bordentown             NJ
141634   WBAJA7C52KG912220   BMW                          530   Manheim                PA
141635   WBAJA7C52KG912234   BMW                          530   BOSTON                 MA
141636   WBAJA7C52KG912265   BMW                          530   Grove City             OH
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141637   WBAJA7C52KG912279   BMW                          530   KANSAS CITY            MO
141638   WBAJA7C52KG912282   BMW                          530   PORTLAND               ME
141639   WBAJA7C52KG912315   BMW                          530   EAST BOSTON            MA
141640   WBAJA7C52KG912346   BMW                          530   WHITE PLAINS           NY
141641   WBAJA7C52KG912542   BMW                          530   FAYETTEVILLE           GA
141642   WBAJA7C52KG912556   BMW                          530   Orlando                FL
141643   WBAJA7C52KG912699   BMW                          530   BALTIMORE              MD
141644   WBAJA7C52KWW20430   BMW                          530   ASTORIA                NY
141645   WBAJA7C52KWW37390   BMW                          530   Manheim                PA
141646   WBAJA7C52KWW41648   BMW                          530   PHILADELPHIA           PA
141647   WBAJA7C52KWW46395   BMW                          530   BOSTON                 MA
141648   WBAJA7C52KWW47613   BMW                          530   MONTGOMERY             AL
141649   WBAJA7C52KWW47840   BMW                          530   BROOKLYN               NY
141650   WBAJA7C52KWW48535   BMW                          530   CHARLOTTE              NC
141651   WBAJA7C52KWW49426   BMW                          530   Manheim                PA
141652   WBAJA7C53KG911500   BMW                          530   RONKONKOMA             NY
141653   WBAJA7C53KG911612   BMW                          530   Manheim                PA
141654   WBAJA7C53KG911867   BMW                          530   NEWARK                 NJ
141655   WBAJA7C53KG912078   BMW                          530   JAMAICA                NY
141656   WBAJA7C53KG912209   BMW                          530   ROCHESTER              NY
141657   WBAJA7C53KG912257   BMW                          530   Manheim                PA
141658   WBAJA7C53KG912310   BMW                          530
141659   WBAJA7C53KG912324   BMW                          530   CLEVELAND              OH
141660   WBAJA7C53KG912338   BMW                          530   DETROIT                MI
141661   WBAJA7C53KG912369   BMW                          530   Matteson               IL
141662   WBAJA7C53KG912372   BMW                          530   DETROIT                MI
141663   WBAJA7C53KG912615   BMW                          530   NEWARK                 NJ
141664   WBAJA7C53KG912744   BMW                          530   MEMPHIS                TN
141665   WBAJA7C53KG912842   BMW                          530   North Dighton          MA
141666   WBAJA7C53KWW39665   BMW                          530   EAST BOSTON            MA
141667   WBAJA7C53KWW39763   BMW                          530   Bordentown             NJ
141668   WBAJA7C53KWW39777   BMW                          530   Houston                TX
141669   WBAJA7C53KWW39780   BMW                          530   JAMAICA                NY
141670   WBAJA7C53KWW47572   BMW                          530   CLEVELAND              OH
141671   WBAJA7C53KWW47846   BMW                          530   North Dighton          MA
141672   WBAJA7C53KWW47877   BMW                          530   North Dighton          MA
141673   WBAJA7C53KWW47894   BMW                          530   STERLING               VA
141674   WBAJA7C53KWW48916   BMW                          530   DETROIT                MI
141675   WBAJA7C53KWW49645   BMW                          530   NEWARK                 NJ
141676   WBAJA7C54KG911005   BMW                          530   Teterboro              NJ
141677   WBAJA7C54KG911408   BMW                          530   Bordentown             NJ
141678   WBAJA7C54KG911411   BMW                          530   RONKONKOMA             NY
141679   WBAJA7C54KG911439   BMW                          530   RONKONKOMA             NY
141680   WBAJA7C54KG911487   BMW                          530   White Plains           ny
141681   WBAJA7C54KG911506   BMW                          530   INDIANAPOLIS           IN
141682   WBAJA7C54KG911716   BMW                          530   Elkridge               MD
141683   WBAJA7C54KG911831   BMW                          530   Greensboro             NC
141684   WBAJA7C54KG911876   BMW                          530   LOUISVILLE             KY
141685   WBAJA7C54KG911943   BMW                          530   Norfolk                VA
141686   WBAJA7C54KG912042   BMW                          530   SAVANNAH               GA
141687   WBAJA7C54KG912381   BMW                          530   PHILADELPHIA           PA
141688   WBAJA7C54KG912428   BMW                          530   DETROIT                MI
141689   WBAJA7C54KG912543   BMW                          530   STERLING               VA
141690   WBAJA7C54KG912574   BMW                          530   Manheim                PA
141691   WBAJA7C54KG912736   BMW                          530   PHILADELPHIA           PA
141692   WBAJA7C54KG912767   BMW                          530   Manheim                PA
141693   WBAJA7C54KWW27217   BMW                          530   Manheim                PA
141694   WBAJA7C54KWW45183   BMW                          530   Manheim                PA
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141695   WBAJA7C54KWW48746   BMW                          530   Manheim                PA
141696   WBAJA7C54KWW49413   BMW                          530   STERLING               VA
141697   WBAJA7C54KWW49640   BMW                          530   Bordentown             NJ
141698   WBAJA7C55KG911160   BMW                          530   JAMAICA                NY
141699   WBAJA7C55KG911207   BMW                          530   Manheim                PA
141700   WBAJA7C55KG911269   BMW                          530   CLEVELAND              OH
141701   WBAJA7C55KG911367   BMW                          530   WARWICK                RI
141702   WBAJA7C55KG911384   BMW                          530   STERLING               VA
141703   WBAJA7C55KG911420   BMW                          530   NEWARK                 NJ
141704   WBAJA7C55KG911479   BMW                          530   Des Plaines            IL
141705   WBAJA7C55KG911580   BMW                          530   North Dighton          MA
141706   WBAJA7C55KG911689   BMW                          530   KNOXVILLE              TN
141707   WBAJA7C55KG911868   BMW                          530   NEWARK                 NJ
141708   WBAJA7C55KG911885   BMW                          530   CHICAGO                IL
141709   WBAJA7C55KG911899   BMW                          530   North Dighton          MA
141710   WBAJA7C55KG912082   BMW                          530   JACKSON                MS
141711   WBAJA7C55KG912129   BMW                          530   SYRACUSE               NY
141712   WBAJA7C55KG912518   BMW                          530   Manheim                PA
141713   WBAJA7C55KG912681   BMW                          530   Lynn                   MA
141714   WBAJA7C55KWW46519   BMW                          530   Manheim                PA
141715   WBAJA7C55KWW48528   BMW                          530   Grove City             OH
141716   WBAJA7C56KG910664   BMW                          530   MANCHESTER             US
141717   WBAJA7C56KG910714   BMW                          530   BUFFALO                NY
141718   WBAJA7C56KG910745   BMW                          530   CHICAGO                IL
141719   WBAJA7C56KG911264   BMW                          530   STERLING               VA
141720   WBAJA7C56KG911491   BMW                          530   RONKONKOMA             NY
141721   WBAJA7C56KG911586   BMW                          530   NEW YORK CITY          NY
141722   WBAJA7C56KG911622   BMW                          530   STERLING               VA
141723   WBAJA7C56KG911796   BMW                          530   PROVIDENCE             RI
141724   WBAJA7C56KG911877   BMW                          530   HANOVER                MD
141725   WBAJA7C56KG912043   BMW                          530   BALTIMORE              MD
141726   WBAJA7C56KG912155   BMW                          530   NEWARK                 NJ
141727   WBAJA7C56KG912303   BMW                          530   PHILADELPHIA           PA
141728   WBAJA7C56KG912317   BMW                          530   EAST BOSTON            MA
141729   WBAJA7C56KG912351   BMW                          530   INDIANAPOLIS           IN
141730   WBAJA7C56KG912365   BMW                          530   Richmond               VA
141731   WBAJA7C56KG912379   BMW                          530   WHITE PLAINS           NY
141732   WBAJA7C56KG912415   BMW                          530   GLENOLDEN              PA
141733   WBAJA7C56KG912544   BMW                          530   NEWARK                 NJ
141734   WBAJA7C56KG912592   BMW                          530   Atlanta                GA
141735   WBAJA7C56KG912754   BMW                          530   RALEIGH, DURHAM        NC
141736   WBAJA7C56KWW37375   BMW                          530   RONKONKOMA             NY
141737   WBAJA7C56KWW39742   BMW                          530   Warwick                RI
141738   WBAJA7C56KWW39787   BMW                          530   BOSTON                 MA
141739   WBAJA7C56KWW40504   BMW                          530   Bordentown             NJ
141740   WBAJA7C56KWW47405   BMW                          530   ALBANY                 N
141741   WBAJA7C56KWW47646   BMW                          530   North Dighton          MA
141742   WBAJA7C56KWW47842   BMW                          530   Kansas City            MO
141743   WBAJA7C56KWW48800   BMW                          530   BOSTON                 MA
141744   WBAJA7C56KWW48974   BMW                          530   BOSTON                 MA
141745   WBAJA7C57KG911368   BMW                          530   DETROIT                MI
141746   WBAJA7C57KG911483   BMW                          530   HARRISBURG             PA
141747   WBAJA7C57KG911810   BMW                          530   CHARLOTTE              NC
141748   WBAJA7C57KG912004   BMW                          530   North Dighton          MA
141749   WBAJA7C57KG912018   BMW                          530   Las Vegas              NV
141750   WBAJA7C57KG912052   BMW                          530   Portland               ME
141751   WBAJA7C57KG912133   BMW                          530   Atlanta                GA
141752   WBAJA7C57KG912276   BMW                          530   ATLANTA                GA
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141753   WBAJA7C57KG912357   BMW                          530   NEWARK                 NJ
141754   WBAJA7C57KG912374   BMW                          530   JAMAICA                NY
141755   WBAJA7C57KG912567   BMW                          530   NEWARK                 NJ
141756   WBAJA7C57KG912844   BMW                          530   DETROIT                MI
141757   WBAJA7C57KWW27325   BMW                          530   HARTFORD               CT
141758   WBAJA7C57KWW41306   BMW                          530   BOSTON                 MA
141759   WBAJA7C57KWW45968   BMW                          530   North Dighton          MA
141760   WBAJA7C57KWW47588   BMW                          530   NEWARK                 NJ
141761   WBAJA7C57KWW47865   BMW                          530   HARTFORD               CT
141762   WBAJA7C57KWW47879   BMW                          530   North Dighton          MA
141763   WBAJA7C57KWW48515   BMW                          530   JAMAICA                NY
141764   WBAJA7C57KWW48711   BMW                          530   PITTSBURGH             PA
141765   WBAJA7C58KG910682   BMW                          530   HARTFORD               CT
141766   WBAJA7C58KG911380   BMW                          530   Leesburg               VA
141767   WBAJA7C58KG911427   BMW                          530   Manheim                PA
141768   WBAJA7C58KG911590   BMW                          530   LOS ANGELES            CA
141769   WBAJA7C58KG911749   BMW                          530   NEWARK                 NJ
141770   WBAJA7C58KG911878   BMW                          530   STERLING               VA
141771   WBAJA7C58KG911881   BMW                          530   NEWARK                 NJ
141772   WBAJA7C58KG911895   BMW                          530   North Dighton          MA
141773   WBAJA7C58KG912030   BMW                          530   JAMAICA                NY
141774   WBAJA7C58KG912044   BMW                          530   NEWARK                 NJ
141775   WBAJA7C58KG912173   BMW                          530   Warminster             PA
141776   WBAJA7C58KG912299   BMW                          530   Leesburg               VA
141777   WBAJA7C58KG912318   BMW                          530   NEWARK                 NJ
141778   WBAJA7C58KG912593   BMW                          530   Warminster             PA
141779   WBAJA7C58KWW27561   BMW                          530   DETROIT                MI
141780   WBAJA7C58KWW30380   BMW                          530   Manheim                PA
141781   WBAJA7C58KWW39340   BMW                          530   Bordentown             NJ
141782   WBAJA7C58KWW39757   BMW                          530   NEWARK                 NJ
141783   WBAJA7C58KWW39774   BMW                          530   Bordentown             NJ
141784   WBAJA7C58KWW42125   BMW                          530   ROCKAWAY BEACH         NY
141785   WBAJA7C58KWW42464   BMW                          530   Teterboro              NJ
141786   WBAJA7C58KWW45946   BMW                          530   Manheim                PA
141787   WBAJA7C58KWW46935   BMW                          530   PHILADELPHIA           PA
141788   WBAJA7C58KWW47597   BMW                          530   Louisville             KY
141789   WBAJA7C58KWW48555   BMW                          530   Bordentown             NJ
141790   WBAJA7C59KG911209   BMW                          530   Manheim                PA
141791   WBAJA7C59KG911694   BMW                          530   Greensboro             NC
141792   WBAJA7C59KG911713   BMW                          530   Orlando                FL
141793   WBAJA7C59KG912036   BMW                          530   CHICAGO                IL
141794   WBAJA7C59KG912148   BMW                          530   CHARLESTON             WV
141795   WBAJA7C59KG912151   BMW                          530   ALBANY                 NY
141796   WBAJA7C59KG912330   BMW                          530   RONKONKOMA             NY
141797   WBAJA7C59KG912344   BMW                          530   Manheim                PA
141798   WBAJA7C59KG912358   BMW                          530   Leesburg               VA
141799   WBAJA7C59KG912554   BMW                          530   Manheim                PA
141800   WBAJA7C59KG912621   BMW                          530   NEWARK                 NJ
141801   WBAJA7C59KWW48550   BMW                          530   SYRACUSE               NY
141802   WBAJA7C59KWW48807   BMW                          530   CHARLOTTE              NC
141803   WBAJA7C59KWW49634   BMW                          530   Manheim                PA
141804   WBAJA7C5XKG910411   BMW                          530   CLEVELAND              OH
141805   WBAJA7C5XKG910571   BMW                          530   ATLANTA                GA
141806   WBAJA7C5XKG910585   BMW                          530   STERLING               VA
141807   WBAJA7C5XKG910747   BMW                          530   Jamaica                NY
141808   WBAJA7C5XKG911252   BMW                          530   FT LAUDERDALE          FL
141809   WBAJA7C5XKG911445   BMW                          530   Manheim                PA
141810   WBAJA7C5XKG911459   BMW                          530   Salt Lake City         UT
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141811   WBAJA7C5XKG911462   BMW                          530   HANOVER                MD
141812   WBAJA7C5XKG911574   BMW                          530   CLEVELAND              OH
141813   WBAJA7C5XKG911607   BMW                          530   STERLING               VA
141814   WBAJA7C5XKG911803   BMW                          530   CLEVELAND              OH
141815   WBAJA7C5XKG911817   BMW                          530   BLOOMINGTON            IL
141816   WBAJA7C5XKG911879   BMW                          530   Albuquerque            NM
141817   WBAJA7C5XKG912031   BMW                          530   RONKONKOMA             NY
141818   WBAJA7C5XKG912241   BMW                          530   STERLING               VA
141819   WBAJA7C5XKG912353   BMW                          530   PORTLAND               ME
141820   WBAJA7C5XKG912370   BMW                          530   BROOKLYN               NY
141821   WBAJA7C5XKG912501   BMW                          530   Lynn                   MA
141822   WBAJA7C5XKG912577   BMW                          530   CHARLESTON             SC
141823   WBAJA7C5XKWW27366   BMW                          530   JAMAICA                NY
141824   WBAJA7C5XKWW27626   BMW                          530   Lynn                   MA
141825   WBAJA7C5XKWW38383   BMW                          530   Manheim                PA
141826   WBAJA7C5XKWW39663   BMW                          530   Manheim                PA
141827   WBAJA7C5XKWW47570   BMW                          530   Hebron                 KY
141828   WBAJA7C5XKWW47598   BMW                          530   Albany                 NY
141829   WBAJA7C5XKWW47634   BMW                          530   STERLING               VA
141830   WBAJA7C5XKWW48492   BMW                          530   Newark                 NJ
141831   WBAJA7C5XKWW48931   BMW                          530   Greensboro             NC
141832   WBAJA7C5XKWW49383   BMW                          530   New York               NY
141833   WBAJE7C54JWC57179   BMW                          540   STERLING               VA
141834   WBAJE7C55JWC57398   BMW                          540   Warminster             PA
141835   WBS4Z9C00L5P78807   BMW         M4                     LOS ANGELES            CA
141836   WBS4Z9C00L5P80976   BMW         M4                     MIAMI                  FL
141837   WBS4Z9C00L5P88866   BMW         M4                     NORWALK                CA
141838   WBS4Z9C01L5P68674   BMW         M4                     FORT MYERS             FL
141839   WBS4Z9C01L5P72966   BMW         M4                     FORT MYERS             FL
141840   WBS4Z9C01L5P81067   BMW         M4                     DANIA BEACH            FL
141841   WBS4Z9C02L5P68666   BMW         M4                     FORT LAUDERDALE        FL
141842   WBS4Z9C02L5P83359   BMW         M4                     MIAMI                  FL
141843   WBS4Z9C02L5P86343   BMW         M4                     FRESNO                 CA
141844   WBS4Z9C02L5P91817   BMW         M4                     PHOENIX                AZ
141845   WBS4Z9C02L5P91820   BMW         M4                     LOS ANGELES AP         CA
141846   WBS4Z9C02L5P93373   BMW         M4                     PHOENIX                AZ
141847   WBS4Z9C03L5P73147   BMW         M4                     FORT LAUDERDALE        FL
141848   WBS4Z9C03L5P86349   BMW         M4                     LOS ANGELES            CA
141849   WBS4Z9C03L5P88862   BMW         M4                     SAN DIEGO              CA
141850   WBS4Z9C03L5P89266   BMW         M4                     LOS ANGELES            CA
141851   WBS4Z9C04L5P62366   BMW         M4                     PHOENIX                AZ
141852   WBS4Z9C04L5P65431   BMW         M4                     DANIA                  FL
141853   WBS4Z9C04L5P77353   BMW         M4                     ORLANDO                FL
141854   WBS4Z9C04L5P80981   BMW         M4                     MIAMI                  FL
141855   WBS4Z9C04L5P85159   BMW         M4                     LOS ANGELES            CA
141856   WBS4Z9C04L5P88854   BMW         M4                     LOS ANGELES            CA
141857   WBS4Z9C04L5P90278   BMW         M4                     LOS ANGELES            CA
141858   WBS4Z9C05L5P65437   BMW         M4                     ORLANDO                FL
141859   WBS4Z9C05L5P69679   BMW         M4                     ORLANDO                FL
141860   WBS4Z9C05L5P77345   BMW         M4                     DANIA                  FL
141861   WBS4Z9C05L5P80987   BMW         M4                     TAMPA                  FL
141862   WBS4Z9C05L5P86336   BMW         M4                     LOS ANGELES            CA
141863   WBS4Z9C05L5P87664   BMW         M4                     HOUSTON                TX
141864   WBS4Z9C06L5P62403   BMW         M4                     PHOENIX                AZ
141865   WBS4Z9C06L5P75068   BMW         M4                     MIAMI                  FL
141866   WBS4Z9C06L5P87656   BMW         M4                     SAN DIEGO              CA
141867   WBS4Z9C06L5P89262   BMW         M4                     LOS ANGELES            CA
141868   WBS4Z9C06L5P94431   BMW         M4                     PALM SPRINGS           CA
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141869   WBS4Z9C07L5P62412   BMW          M4                  MIAMI                     FL
141870   WBS4Z9C07L5P66640   BMW          M4                  FORT MYERS                FL
141871   WBS4Z9C07L5P91814   BMW          M4                  PHOENIX                   AZ
141872   WBS4Z9C08L5P62421   BMW          M4                  PHOENIX                   AZ
141873   WBS4Z9C08L5P78800   BMW          M4                  MIAMI                     FL
141874   WBS4Z9C08L5P85164   BMW          M4                  LOS ANGELES               CA
141875   WBS4Z9C08L5P87660   BMW          M4                  LOS ANGELES               CA
141876   WBS4Z9C08L5P91823   BMW          M4                  LOS ANGELES               CA
141877   WBS4Z9C08L5P93376   BMW          M4                  PHOENIX                   AZ
141878   WBS4Z9C09L5P64419   BMW          M4                  MIAMI                     FL
141879   WBS4Z9C09L5P89269   BMW          M4                  LOS ANGELES               CA
141880   WBS4Z9C09L5P90275   BMW          M4                  SAN DIEGO                 CA
141881   WBS4Z9C0XL5P88857   BMW          M4                  ONTARIO                   CA
141882   WBXHU7C36J5L05452   BMW          X1                  Slidell                   LA
141883   WBXJG9C00L3L77076   BMW          X1                  HOUSTON                   TX
141884   WBXJG9C00L3L77353   BMW          X1                  HOUSTON                   TX
141885   WBXJG9C00L3L78339   BMW          X1                  WEST PALM BEACH           FL
141886   WBXJG9C00L3L79359   BMW          X1                  HOUSTON                   TX
141887   WBXJG9C00L3L79412   BMW          X1                  AUSTIN                    TX
141888   WBXJG9C00L3L79734   BMW          X1                  HOUSTON                   TX
141889   WBXJG9C00L3L79779   BMW          X1                  NEW YORK CITY             NY
141890   WBXJG9C00L3L79796   BMW          X1                  CHICAGO                   IL
141891   WBXJG9C00L3L80995   BMW          X1                  NORFOLK                   VA
141892   WBXJG9C00L3L81080   BMW          X1                  NEW YORK CITY             NY
141893   WBXJG9C00L3L81614   BMW          X1                  Teterboro                 NJ
141894   WBXJG9C00L3L81676   BMW          X1                  SYRACUSE                  NY
141895   WBXJG9C00L3L81774   BMW          X1                  PHILADELPHIA              PA
141896   WBXJG9C00L3L83167   BMW          X1                  MANCHESTER                US
141897   WBXJG9C00L3L83170   BMW          X1                  COLUMBIA                  SC
141898   WBXJG9C00L3L83198   BMW          X1                  DULUTH                    GA
141899   WBXJG9C00L3L84383   BMW          X1                  BALTIMORE                 MD
141900   WBXJG9C00L3L84951   BMW          X1                  PHOENIX                   AZ
141901   WBXJG9C00L5P73383   BMW          X1                  MIAMI                     FL
141902   WBXJG9C00L5P73545   BMW          X1                  MIAMI                     FL
141903   WBXJG9C00L5P73626   BMW          X1                  FORT MYERS                FL
141904   WBXJG9C00L5P73674   BMW          X1                  WEST PALM BEACH           FL
141905   WBXJG9C00L5P73691   BMW          X1                  TAMPA                     FL
141906   WBXJG9C00L5P73755   BMW          X1                  JACKSONVILLE              FL
141907   WBXJG9C00L5P73769   BMW          X1                  FORT MYERS                FL
141908   WBXJG9C00L5P73772   BMW          X1                  FORT MYERS                FL
141909   WBXJG9C00L5P73836   BMW          X1                  MIAMI                     FL
141910   WBXJG9C00L5P73979   BMW          X1                  ORLANDO                   FL
141911   WBXJG9C00L5P73996   BMW          X1                  WEST PALM BEACH           FL
141912   WBXJG9C00L5P74033   BMW          X1                  FORT LAUDERDALE           FL
141913   WBXJG9C00L5P74288   BMW          X1                  RALEIGH                   NC
141914   WBXJG9C00L5P74517   BMW          X1                  SARASOTA                  FL
141915   WBXJG9C00L5P74582   BMW          X1                  FORT LAUDERDALE           FL
141916   WBXJG9C00L5P74680   BMW          X1                  MIAMI                     FL
141917   WBXJG9C00L5P75084   BMW          X1                  AUSTIN                    TX
141918   WBXJG9C00L5P75215   BMW          X1                  BOSTON                    MA
141919   WBXJG9C00L5P75375   BMW          X1                  WEST PALM BEACH           FL
141920   WBXJG9C00L5P75411   BMW          X1                  FORT LAUDERDALE           FL
141921   WBXJG9C00L5P75490   BMW          X1                  ORLANDO                   FL
141922   WBXJG9C00L5P75828   BMW          X1                  ORLANDO                   FL
141923   WBXJG9C00L5P75859   BMW          X1                  Jacksonville              FL
141924   WBXJG9C00L5P75991   BMW          X1                  FORT LAUDERDALE           FL
141925   WBXJG9C00L5P76798   BMW          X1                  MIAMI                     FL
141926   WBXJG9C00L5P76963   BMW          X1                  ORLANDO                   FL
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141927   WBXJG9C00L5P77045   BMW          X1                  FORT MYERS                FL
141928   WBXJG9C00L5P78292   BMW          X1                  ORLANDO                   FL
141929   WBXJG9C00L5P78471   BMW          X1                  FORT MYERS                FL
141930   WBXJG9C00L5P78549   BMW          X1                  FORT MYERS                FL
141931   WBXJG9C00L5P78566   BMW          X1                  FORT MYERS                FL
141932   WBXJG9C00L5P86988   BMW          X1                  LOS ANGELES               CA
141933   WBXJG9C00L5P87137   BMW          X1                  ORANGE COUNTY             CA
141934   WBXJG9C00L5P87171   BMW          X1                  SACRAMENTO                CA
141935   WBXJG9C00L5P88157   BMW          X1                  COSTA MESA                CA
141936   WBXJG9C00L5P88546   BMW          X1                  SAN DIEGO                 US
141937   WBXJG9C00L5P88644   BMW          X1                  SAN DIEGO                 CA
141938   WBXJG9C00L5P88725   BMW          X1                  PHOENIX                   AZ
141939   WBXJG9C00L5P89289   BMW          X1                  SAN DIEGO                 CA
141940   WBXJG9C00L5P89325   BMW          X1                  SAN DIEGO                 CA
141941   WBXJG9C00L5P89390   BMW          X1                  OAKLAND                   CA
141942   WBXJG9C00L5P89731   BMW          X1                  TUCSON                    AZ
141943   WBXJG9C00L5P89826   BMW          X1                  LAS VEGAS                 NV
141944   WBXJG9C00L5P89860   BMW          X1                  SANTA ANA                 CA
141945   WBXJG9C00L5P90670   BMW          X1                  LAS VEGAS                 NV
141946   WBXJG9C00L5P90751   BMW          X1                  LAS VEGAS                 NV
141947   WBXJG9C00L5P91026   BMW          X1                  ONTARIO                   CA
141948   WBXJG9C00L5P91303   BMW          X1                  SAN DIEGO                 CA
141949   WBXJG9C00L5P91849   BMW          X1                  PHOENIX                   AZ
141950   WBXJG9C00L5P92306   BMW          X1                  ORANGE COUNTY             CA
141951   WBXJG9C00L5P92516   BMW          X1                  LOS ANGELES AP            CA
141952   WBXJG9C00L5P92550   BMW          X1                  PHOENIX                   AZ
141953   WBXJG9C00L5P92600   BMW          X1                  LOS ANGELES AP            CA
141954   WBXJG9C00L5P92726   BMW          X1                  LOS ANGELES AP            CA
141955   WBXJG9C00L5P92774   BMW          X1                  PHOENIX                   AZ
141956   WBXJG9C00L5P92953   BMW          X1                  LOS ANGELES AP            CA
141957   WBXJG9C00L5P93066   BMW          X1                  PHOENIX                   AZ
141958   WBXJG9C00L5P93147   BMW          X1                  PHOENIX                   AZ
141959   WBXJG9C00L5P93164   BMW          X1                  TUCSON                    AZ
141960   WBXJG9C00L5P93343   BMW          X1                  TAMPA                     FL
141961   WBXJG9C00L5P93861   BMW          X1                  KNOXVILLE                 TN
141962   WBXJG9C00L5P93908   BMW          X1                  TAMPA                     FL
141963   WBXJG9C00L5P93987   BMW          X1                  SARASOTA                  FL
141964   WBXJG9C00L5P94220   BMW          X1                  JACKSONVILLE              FL
141965   WBXJG9C00L5P94248   BMW          X1                  FORT LAUDERDALE           FL
141966   WBXJG9C00L5P94282   BMW          X1                  WEST PALM BEACH           FL
141967   WBXJG9C00L5P94380   BMW          X1                  FORT LAUDERDALE           FL
141968   WBXJG9C00L5P95397   BMW          X1                  ORLANDO                   FL
141969   WBXJG9C00L5P95416   BMW          X1                  FORT MYERS                FL
141970   WBXJG9C00L5P95450   BMW          X1                  FORT LAUDERDALE           FL
141971   WBXJG9C00L5P95643   BMW          X1                  FORT MYERS                FL
141972   WBXJG9C00L5P95710   BMW          X1                  SAINT LOUIS               MO
141973   WBXJG9C00L5P95853   BMW          X1                  FORT LAUDERDALE           FL
141974   WBXJG9C00L5P95898   BMW          X1                  DANIA BEACH               FL
141975   WBXJG9C00L5P95920   BMW          X1                  FORT LAUDERDALE           FL
141976   WBXJG9C00L5P95934   BMW          X1                  FORT LAUDERDALE           FL
141977   WBXJG9C00L5P95979   BMW          X1                  ORLANDO                   FL
141978   WBXJG9C00L5P95996   BMW          X1                  ORLANDO                   FL
141979   WBXJG9C00L5P96064   BMW          X1                  FORT MYERS                FL
141980   WBXJG9C00L5P96517   BMW          X1                  Dallas                    TX
141981   WBXJG9C00L5P96758   BMW          X1                  HOUSTON                   TX
141982   WBXJG9C00L5P96775   BMW          X1                  HOUSTON                   TX
141983   WBXJG9C00L5P97781   BMW          X1                  DALLAS                    TX
141984   WBXJG9C00L5P97800   BMW          X1                  DALLAS                    TX
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141985   WBXJG9C00L5R00679   BMW          X1                  LAS VEGAS                 NV
141986   WBXJG9C00L5R00746   BMW          X1                  LOS ANGELES               CA
141987   WBXJG9C00L5R00956   BMW          X1                  SANTA ANA                 CA
141988   WBXJG9C00L5R01024   BMW          X1                  LAS VEGAS                 NV
141989   WBXJG9C00L5R01606   BMW          X1                  BURBANK                   CA
141990   WBXJG9C00L5R01864   BMW          X1                  SAN JOSE                  CA
141991   WBXJG9C00L5R01928   BMW          X1                  LAS VEGAS                 NV
141992   WBXJG9C00L5R03128   BMW          X1                  SAN FRANCISCO             CA
141993   WBXJG9C00L5R03209   BMW          X1                  SAN FRANCISCO             CA
141994   WBXJG9C00L5R03212   BMW          X1                  ORANGE COUNTY             CA
141995   WBXJG9C00L5R03680   BMW          X1                  RONKONKOMA                NY
141996   WBXJG9C00L5R03856   BMW          X1                  HANOVER                   MD
141997   WBXJG9C00L5R05719   BMW          X1                  SYRACUSE                  NY
141998   WBXJG9C00L5R05770   BMW          X1                  STERLING                  VA
141999   WBXJG9C00L5R06157   BMW          X1                  BOSTON                    MA
142000   WBXJG9C00L5R29678   BMW          X1                  PORTLAND                  OR
142001   WBXJG9C00L5R29793   BMW          X1                  NEW YORK CITY             NY
142002   WBXJG9C00L5R30054   BMW          X1                  NEWARK                    NJ
142003   WBXJG9C00L5R32371   BMW          X1                  EAST BOSTON               MA
142004   WBXJG9C00L5R32855   BMW          X1                  BOSTON                    MA
142005   WBXJG9C00L5R32970   BMW          X1                  LOS ANGELES               CA
142006   WBXJG9C00L5R33181   BMW          X1                  WHITE PLAINS              NY
142007   WBXJG9C00L5R34234   BMW          X1                  JAMAICA                   NY
142008   WBXJG9C01L3L77023   BMW          X1                  HOUSTON                   TX
142009   WBXJG9C01L3L77121   BMW          X1                  HOUSTON                   TX
142010   WBXJG9C01L3L77314   BMW          X1                  DALLAS                    TX
142011   WBXJG9C01L3L78320   BMW          X1                  HOUSTON                   TX
142012   WBXJG9C01L3L79368   BMW          X1                  HOUSTON                   TX
142013   WBXJG9C01L3L79418   BMW          X1                  HOUSTON                   TX
142014   WBXJG9C01L3L81055   BMW          X1                  PHILADELPHIA              PA
142015   WBXJG9C01L3L81685   BMW          X1                  WHITE PLAINS              NY
142016   WBXJG9C01L3L81721   BMW          X1                  HARTFORD                  CT
142017   WBXJG9C01L3L81752   BMW          X1                  PITTSBURGH                PA
142018   WBXJG9C01L3L81766   BMW          X1                  PHILADELPHIA              PA
142019   WBXJG9C01L3L83775   BMW          X1                  PROVIDENCE                RI
142020   WBXJG9C01L3L84456   BMW          X1                  LAS VEGAS                 NV
142021   WBXJG9C01L3L84909   BMW          X1                  PHOENIX                   AZ
142022   WBXJG9C01L3L84957   BMW          X1                  SANTA ANA                 CA
142023   WBXJG9C01L3L85705   BMW          X1                  PHOENIX                   AZ
142024   WBXJG9C01L5P73165   BMW          X1                  ORLANDO                   FL
142025   WBXJG9C01L5P73196   BMW          X1                  FORT MYERS                FL
142026   WBXJG9C01L5P73246   BMW          X1                  MIAMI                     FL
142027   WBXJG9C01L5P73392   BMW          X1                  TAMPA                     FL
142028   WBXJG9C01L5P73666   BMW          X1                  WEST PALM BEACH           FL
142029   WBXJG9C01L5P73733   BMW          X1                  Estero                    FL
142030   WBXJG9C01L5P73750   BMW          X1                  DANIA BEACH               FL
142031   WBXJG9C01L5P73778   BMW          X1                  FORT MYERS                FL
142032   WBXJG9C01L5P73781   BMW          X1                  ATLANTA                   GA
142033   WBXJG9C01L5P73845   BMW          X1                  MIAMI                     FL
142034   WBXJG9C01L5P73859   BMW          X1                  Miami                     FL
142035   WBXJG9C01L5P73876   BMW          X1                  SARASOTA                  FL
142036   WBXJG9C01L5P73909   BMW          X1                  WEST PALM BEACH           FL
142037   WBXJG9C01L5P73926   BMW          X1                  WEST PALM BEACH           FL
142038   WBXJG9C01L5P73974   BMW          X1                  WEST PALM BEACH           FL
142039   WBXJG9C01L5P74591   BMW          X1                  MIAMI                     FL
142040   WBXJG9C01L5P75482   BMW          X1                  MIAMI                     FL
142041   WBXJG9C01L5P75739   BMW          X1                  ORLANDO                   FL
142042   WBXJG9C01L5P75742   BMW          X1                  TITUSVILLE                FL
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142043   WBXJG9C01L5P75868   BMW          X1                  Hollywood                 FL
142044   WBXJG9C01L5P75918   BMW          X1                  ORLANDO                   FL
142045   WBXJG9C01L5P75983   BMW          X1                  WEST PALM BEACH           FL
142046   WBXJG9C01L5P75997   BMW          X1                  HOUSTON                   TX
142047   WBXJG9C01L5P76969   BMW          X1                  FORT MYERS                FL
142048   WBXJG9C01L5P76986   BMW          X1                  FORT LAUDERDALE           FL
142049   WBXJG9C01L5P77037   BMW          X1                  FORT MYERS                FL
142050   WBXJG9C01L5P78009   BMW          X1                  FORT MYERS                FL
142051   WBXJG9C01L5P78074   BMW          X1                  NEW ORLEANS               LA
142052   WBXJG9C01L5P78298   BMW          X1                  FORT MYERS                FL
142053   WBXJG9C01L5P78382   BMW          X1                  JACKSONVILLE              FL
142054   WBXJG9C01L5P78463   BMW          X1                  FORT MYERS                FL
142055   WBXJG9C01L5P88376   BMW          X1                  SAN DIEGO                 CA
142056   WBXJG9C01L5P88409   BMW          X1                  LOS ANGELES               CA
142057   WBXJG9C01L5P88412   BMW          X1                  LAS VEGAS                 NV
142058   WBXJG9C01L5P88507   BMW          X1                  SAN DIEGO                 CA
142059   WBXJG9C01L5P88748   BMW          X1                  LAS VEGAS                 NV
142060   WBXJG9C01L5P88782   BMW          X1                  OKLAHOMA CITY             OK
142061   WBXJG9C01L5P89804   BMW          X1                  LAS VEGAS                 NV
142062   WBXJG9C01L5P89818   BMW          X1                  BURBANK                   CA
142063   WBXJG9C01L5P89849   BMW          X1                  LAS VEGAS                 NV
142064   WBXJG9C01L5P90600   BMW          X1                  LAS VEGAS                 NV
142065   WBXJG9C01L5P90676   BMW          X1                  LAS VEGAS                 NV
142066   WBXJG9C01L5P90791   BMW          X1                  LAS VEGAS                 NV
142067   WBXJG9C01L5P90824   BMW          X1                  DALLAS                    TX
142068   WBXJG9C01L5P90919   BMW          X1                  SAN DIEGO                 CA
142069   WBXJG9C01L5P90967   BMW          X1                  LOS ANGELES               CA
142070   WBXJG9C01L5P91066   BMW          X1                  SAN FRANCISCO             CA
142071   WBXJG9C01L5P91083   BMW          X1                  SANTA ANA                 CA
142072   WBXJG9C01L5P91102   BMW          X1                  EL SEGUNDO                CA
142073   WBXJG9C01L5P91147   BMW          X1                  PHOENIX                   AZ
142074   WBXJG9C01L5P92492   BMW          X1                  LOS ANGELES AP            CA
142075   WBXJG9C01L5P93061   BMW          X1                  PHOENIX                   AZ
142076   WBXJG9C01L5P93108   BMW          X1                  PHOENIX                   AZ
142077   WBXJG9C01L5P93190   BMW          X1                  OAKLAND                   CA
142078   WBXJG9C01L5P93335   BMW          X1                  WEST PALM BEACH           FL
142079   WBXJG9C01L5P93707   BMW          X1                  Phoenix                   AZ
142080   WBXJG9C01L5P93724   BMW          X1                  WEST PALM BEACH           FL
142081   WBXJG9C01L5P93884   BMW          X1                  WEST PALM BEACH           FL
142082   WBXJG9C01L5P93920   BMW          X1                  HARRISBURG                PA
142083   WBXJG9C01L5P93965   BMW          X1                  MIAMI                     FL
142084   WBXJG9C01L5P94050   BMW          X1                  MIAMI                     FL
142085   WBXJG9C01L5P94064   BMW          X1                  FORT LAUDERDALE           FL
142086   WBXJG9C01L5P94081   BMW          X1                  CHICAGO                   IL
142087   WBXJG9C01L5P94131   BMW          X1                  SAN JOSE                  CA
142088   WBXJG9C01L5P94193   BMW          X1                  MIAMI                     FL
142089   WBXJG9C01L5P94209   BMW          X1                  Tampa                     FL
142090   WBXJG9C01L5P94260   BMW          X1                  WEST PALM BEACH           FL
142091   WBXJG9C01L5P95389   BMW          X1                  FORT LAUDERDALE           FL
142092   WBXJG9C01L5P95442   BMW          X1                  FORT MYERS                FL
142093   WBXJG9C01L5P95666   BMW          X1                  WEST PALM BEACH           FL
142094   WBXJG9C01L5P96042   BMW          X1                  ORLANDO                   FL
142095   WBXJG9C01L5P96073   BMW          X1                  SARASOTA                  FL
142096   WBXJG9C01L5P96669   BMW          X1                  TAMPA                     FL
142097   WBXJG9C01L5P97434   BMW          X1                  DALLAS                    TX
142098   WBXJG9C01L5P97885   BMW          X1                  DALLAS                    TX
142099   WBXJG9C01L5P97899   BMW          X1                  DALLAS                    TX
142100   WBXJG9C01L5R00738   BMW          X1                  SAN JOSE                  CA
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142101   WBXJG9C01L5R00772   BMW          X1                  NORWALK                   CA
142102   WBXJG9C01L5R00836   BMW          X1                  BURLINGAME                CA
142103   WBXJG9C01L5R01095   BMW          X1                  LOS ANGELES               CA
142104   WBXJG9C01L5R01100   BMW          X1                  SAN FRANCISCO             CA
142105   WBXJG9C01L5R01727   BMW          X1                  ONTARIO                   CA
142106   WBXJG9C01L5R01730   BMW          X1                  SAN DIEGO                 CA
142107   WBXJG9C01L5R01761   BMW          X1                  SAN FRANCISCO             CA
142108   WBXJG9C01L5R01937   BMW          X1                  LAS VEGAS                 NV
142109   WBXJG9C01L5R03168   BMW          X1                  SAN FRANCISCO             CA
142110   WBXJG9C01L5R05924   BMW          X1                  NEW BERN                  NC
142111   WBXJG9C01L5R06426   BMW          X1                  PHILADELPHIA              PA
142112   WBXJG9C01L5R06541   BMW          X1                  STERLING                  VA
142113   WBXJG9C01L5R06636   BMW          X1                  NEW YORK CITY             NY
142114   WBXJG9C01L5R31410   BMW          X1                  STERLING                  VA
142115   WBXJG9C01L5R32461   BMW          X1                  EAST BOSTON               MA
142116   WBXJG9C01L5R32878   BMW          X1                  NEWARK                    NJ
142117   WBXJG9C01L5R34212   BMW          X1                  JAMAICA                   NY
142118   WBXJG9C02L3L75748   BMW          X1                  LOS ANGELES AP            CA
142119   WBXJG9C02L3L77323   BMW          X1                  HOUSTON                   TX
142120   WBXJG9C02L3L77337   BMW          X1                  DFW AIRPORT               TX
142121   WBXJG9C02L3L77340   BMW          X1                  HOUSTON                   TX
142122   WBXJG9C02L3L79346   BMW          X1                  HOUSTON                   TX
142123   WBXJG9C02L3L79430   BMW          X1                  JACKSONVILLE              FL
142124   WBXJG9C02L3L79802   BMW          X1                  ORLANDO                   FL
142125   WBXJG9C02L3L79833   BMW          X1                  LAS VEGAS                 NV
142126   WBXJG9C02L3L81050   BMW          X1                  ALBANY                    N
142127   WBXJG9C02L3L81078   BMW          X1                  NEW YORK CITY             NY
142128   WBXJG9C02L3L81081   BMW          X1                  WHITE PLAINS              NY
142129   WBXJG9C02L3L81095   BMW          X1                  LAS VEGAS                 NV
142130   WBXJG9C02L3L81792   BMW          X1                  FORT MYERS                FL
142131   WBXJG9C02L3L83137   BMW          X1                  NEW YORK CITY             NY
142132   WBXJG9C02L3L83204   BMW          X1                  FORT MYERS                FL
142133   WBXJG9C02L3L85664   BMW          X1                  SAN FRANCISCO             CA
142134   WBXJG9C02L3L85695   BMW          X1                  FRESNO                    CA
142135   WBXJG9C02L5P73191   BMW          X1                  DANIA BEACH               FL
142136   WBXJG9C02L5P73286   BMW          X1                  FORT LAUDERDALE           FL
142137   WBXJG9C02L5P73319   BMW          X1                  WEST PALM BEACH           FL
142138   WBXJG9C02L5P73479   BMW          X1                  DANIA BEACH               FL
142139   WBXJG9C02L5P73529   BMW          X1                  Miami                     FL
142140   WBXJG9C02L5P73563   BMW          X1                  FORT LAUDERDALE           FL
142141   WBXJG9C02L5P73787   BMW          X1                  ORLANDO                   FL
142142   WBXJG9C02L5P73840   BMW          X1                  FORT MYERS                FL
142143   WBXJG9C02L5P73918   BMW          X1                  MIAMI                     FL
142144   WBXJG9C02L5P73921   BMW          X1                  MYRTLE BEACH              SC
142145   WBXJG9C02L5P73949   BMW          X1                  CHICAGO                   IL
142146   WBXJG9C02L5P73952   BMW          X1                  FORT MYERS                FL
142147   WBXJG9C02L5P73966   BMW          X1                  ORLANDO                   FL
142148   WBXJG9C02L5P73983   BMW          X1                  SAVANNAH                  GA
142149   WBXJG9C02L5P74017   BMW          X1                  WEST PALM BEACH           FL
142150   WBXJG9C02L5P74440   BMW          X1                  GAINESVILLE               FL
142151   WBXJG9C02L5P74468   BMW          X1                  WEST PALM BEACH           FL
142152   WBXJG9C02L5P74549   BMW          X1                  TAMPA                     FL
142153   WBXJG9C02L5P74616   BMW          X1                  FORT LAUDERDALE           FL
142154   WBXJG9C02L5P74700   BMW          X1                  MIAMI                     FL
142155   WBXJG9C02L5P74728   BMW          X1                  FORT LAUDERDALE           FL
142156   WBXJG9C02L5P74759   BMW          X1                  WEST PALM BEACH           FL
142157   WBXJG9C02L5P75121   BMW          X1                  JACKSONVILLE              FL
142158   WBXJG9C02L5P75149   BMW          X1                  KANSAS CITY               MO
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142159   WBXJG9C02L5P75233   BMW          X1                  FORT LAUDERDALE           FL
142160   WBXJG9C02L5P75314   BMW          X1                  CHARLOTTE                 NC
142161   WBXJG9C02L5P75703   BMW          X1                  Clearwater                FL
142162   WBXJG9C02L5P75765   BMW          X1                  JACKSONVILLE              FL
142163   WBXJG9C02L5P75880   BMW          X1                  ORLANDO                   FL
142164   WBXJG9C02L5P76012   BMW          X1                  ORLANDO                   FL
142165   WBXJG9C02L5P76091   BMW          X1                  CHICAGO                   IL
142166   WBXJG9C02L5P76821   BMW          X1                  MIAMI                     FL
142167   WBXJG9C02L5P77032   BMW          X1                  WEST PALM BEACH           FL
142168   WBXJG9C02L5P77807   BMW          X1                  ORLANDO                   FL
142169   WBXJG9C02L5P78195   BMW          X1                  MIAMI                     FL
142170   WBXJG9C02L5P78360   BMW          X1                  ORLANDO                   FL
142171   WBXJG9C02L5P78438   BMW          X1                  FORT LAUDERDALE           FL
142172   WBXJG9C02L5P78441   BMW          X1                  JACKSONVILLE              FL
142173   WBXJG9C02L5P78570   BMW          X1                  JACKSONVILLE              FL
142174   WBXJG9C02L5P87110   BMW          X1                  LOS ANGELES               CA
142175   WBXJG9C02L5P87348   BMW          X1                  LOS ANGELES               CA
142176   WBXJG9C02L5P88371   BMW          X1                  SAN DIEGO                 CA
142177   WBXJG9C02L5P88418   BMW          X1                  LOS ANGELES               CA
142178   WBXJG9C02L5P88452   BMW          X1                  SAN DIEGO                 CA
142179   WBXJG9C02L5P88578   BMW          X1                  SANTA ANA                 CA
142180   WBXJG9C02L5P88676   BMW          X1                  SANTA ANA                 CA
142181   WBXJG9C02L5P88743   BMW          X1                  LOS ANGELES               CA
142182   WBXJG9C02L5P89343   BMW          X1                  LAS VEGAS                 NV
142183   WBXJG9C02L5P89505   BMW          X1                  BOSTON                    MA
142184   WBXJG9C02L5P89584   BMW          X1                  LAS VEGAS                 NV
142185   WBXJG9C02L5P89665   BMW          X1                  LAS VEGAS                 NV
142186   WBXJG9C02L5P89679   BMW          X1                  LOS ANGELES               CA
142187   WBXJG9C02L5P89777   BMW          X1                  SEATAC                    WA
142188   WBXJG9C02L5P90590   BMW          X1                  LAS VEGAS                 NV
142189   WBXJG9C02L5P90685   BMW          X1                  PHOENIX                   AZ
142190   WBXJG9C02L5P90816   BMW          X1                  LAS VEGAS                 NV
142191   WBXJG9C02L5P91075   BMW          X1                  NORWALK                   CA
142192   WBXJG9C02L5P91240   BMW          X1                  LAS VEGAS                 NV
142193   WBXJG9C02L5P91318   BMW          X1                  LOS ANGELES AP            CA
142194   WBXJG9C02L5P91349   BMW          X1                  LOS ANGELES AP            CA
142195   WBXJG9C02L5P92419   BMW          X1                  FRESNO                    CA
142196   WBXJG9C02L5P92503   BMW          X1                  LOS ANGELES               CA
142197   WBXJG9C02L5P92565   BMW          X1                  LOS ANGELES AP            CA
142198   WBXJG9C02L5P92940   BMW          X1                  LOS ANGELES AP            CA
142199   WBXJG9C02L5P92985   BMW          X1                  LOS ANGELES               CA
142200   WBXJG9C02L5P93134   BMW          X1                  PHOENIX                   AZ
142201   WBXJG9C02L5P93781   BMW          X1                  ORLANDO                   FL
142202   WBXJG9C02L5P93828   BMW          X1                  WEST PALM BEACH           FL
142203   WBXJG9C02L5P94008   BMW          X1                  FORT MYERS                FL
142204   WBXJG9C02L5P94204   BMW          X1                  MIAMI                     FL
142205   WBXJG9C02L5P94252   BMW          X1                  WEST PALM BEACH           FL
142206   WBXJG9C02L5P94414   BMW          X1                  Tampa                     FL
142207   WBXJG9C02L5P95367   BMW          X1                  MIAMI                     FL
142208   WBXJG9C02L5P95613   BMW          X1                  FORT LAUDERDALE           FL
142209   WBXJG9C02L5P95885   BMW          X1                  ORLANDO                   FL
142210   WBXJG9C02L5P96048   BMW          X1                  TAMPA                     FL
142211   WBXJG9C02L5P96096   BMW          X1                  FORT MYERS                FL
142212   WBXJG9C02L5P96177   BMW          X1                  DALLAS                    TX
142213   WBXJG9C02L5P96227   BMW          X1                  DALLAS                    TX
142214   WBXJG9C02L5P96339   BMW          X1                  DALLAS                    TX
142215   WBXJG9C02L5P96809   BMW          X1                  HOUSTON                   TX
142216   WBXJG9C02L5P96812   BMW          X1                  DALLAS                    TX
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142217   WBXJG9C02L5P96826   BMW          X1                  DALLAS                    TX
142218   WBXJG9C02L5P97488   BMW          X1                  DALLAS                    TX
142219   WBXJG9C02L5P97717   BMW          X1                  DALLAS                    TX
142220   WBXJG9C02L5P97863   BMW          X1                  DALLAS                    TX
142221   WBXJG9C02L5R00554   BMW          X1                  SAN FRANCISCO             CA
142222   WBXJG9C02L5R00974   BMW          X1                  LAS VEGAS                 NV
142223   WBXJG9C02L5R01090   BMW          X1                  LAS VEGAS                 NV
142224   WBXJG9C02L5R01588   BMW          X1                  LOS ANGELES               CA
142225   WBXJG9C02L5R01798   BMW          X1                  SAN FRANCISCO             CA
142226   WBXJG9C02L5R01817   BMW          X1                  SAN FRANCISCO             CA
142227   WBXJG9C02L5R01946   BMW          X1                  ONTARIO                   CA
142228   WBXJG9C02L5R01963   BMW          X1                  OAKLAND                   CA
142229   WBXJG9C02L5R03289   BMW          X1                  NEWARK                    NJ
142230   WBXJG9C02L5R03759   BMW          X1                  NEW BERN                  NC
142231   WBXJG9C02L5R06225   BMW          X1                  Portland                  ME
142232   WBXJG9C02L5R29858   BMW          X1                  NEWARK                    NJ
142233   WBXJG9C02L5R30041   BMW          X1                  DETROIT                   MI
142234   WBXJG9C02L5R30301   BMW          X1                  NEWARK                    NJ
142235   WBXJG9C02L5R32906   BMW          X1                  BOSTON                    MA
142236   WBXJG9C02L5R33134   BMW          X1                  EAST BOSTON               MA
142237   WBXJG9C02L5R33165   BMW          X1                  BOSTON                    MA
142238   WBXJG9C03L3L77282   BMW          X1                  FORT MYERS                FL
142239   WBXJG9C03L3L79372   BMW          X1                  HOUSTON                   TX
142240   WBXJG9C03L3L79422   BMW          X1                  HOUSTON                   TX
142241   WBXJG9C03L3L79453   BMW          X1                  HOUSTON                   TX
142242   WBXJG9C03L3L79758   BMW          X1                  PHILADELPHIA              PA
142243   WBXJG9C03L3L79792   BMW          X1                  STERLING                  VA
142244   WBXJG9C03L3L79808   BMW          X1                  BOSTON                    MA
142245   WBXJG9C03L3L79825   BMW          X1                  LAS VEGAS                 NV
142246   WBXJG9C03L3L81090   BMW          X1                  NEWARK                    NJ
142247   WBXJG9C03L3L81106   BMW          X1                  LAS VEGAS                 NV
142248   WBXJG9C03L3L81655   BMW          X1                  WHITE PLAINS              NY
142249   WBXJG9C03L3L81686   BMW          X1                  DETROIT                   MI
142250   WBXJG9C03L3L83129   BMW          X1                  DETROIT                   MI
142251   WBXJG9C03L3L84359   BMW          X1                  RALEIGH                   NC
142252   WBXJG9C03L3L84443   BMW          X1                  SAN FRANCISCO             CA
142253   WBXJG9C03L3L85950   BMW          X1                  LAS VEGAS                 NV
142254   WBXJG9C03L3L86533   BMW          X1                  PHOENIX                   AZ
142255   WBXJG9C03L3L86564   BMW          X1                  PHOENIX                   AZ
142256   WBXJG9C03L5P73183   BMW          X1                  ORLANDO                   FL
142257   WBXJG9C03L5P73569   BMW          X1                  MIAMI                     FL
142258   WBXJG9C03L5P73605   BMW          X1                  FORT MYERS                FL
142259   WBXJG9C03L5P73653   BMW          X1                  FORT LAUDERDALE           FL
142260   WBXJG9C03L5P73765   BMW          X1                  FORT MYERS                FL
142261   WBXJG9C03L5P73829   BMW          X1                  SARASOTA                  FL
142262   WBXJG9C03L5P74057   BMW          X1                  WEST PALM BEACH           FL
142263   WBXJG9C03L5P74205   BMW          X1                  FORT LAUDERDALE           FL
142264   WBXJG9C03L5P74365   BMW          X1                  SARASOTA                  FL
142265   WBXJG9C03L5P74625   BMW          X1                  FORT MYERS                FL
142266   WBXJG9C03L5P74768   BMW          X1                  Miami                     FL
142267   WBXJG9C03L5P75323   BMW          X1                  Miami                     FL
142268   WBXJG9C03L5P75399   BMW          X1                  KNOXVILLE                 TN
142269   WBXJG9C03L5P75404   BMW          X1                  ORLANDO                   FL
142270   WBXJG9C03L5P75452   BMW          X1                  FORT MYERS                FL
142271   WBXJG9C03L5P75886   BMW          X1                  MIAMI                     FL
142272   WBXJG9C03L5P75970   BMW          X1                  WEST PALM BEACH           FL
142273   WBXJG9C03L5P76035   BMW          X1                  DANIA BEACH               FL
142274   WBXJG9C03L5P76083   BMW          X1                  FORT LAUDERDALE           FL
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142275   WBXJG9C03L5P76102   BMW          X1                  ORLANDO                   FL
142276   WBXJG9C03L5P78058   BMW          X1                  FORT LAUDERDALE           FL
142277   WBXJG9C03L5P78061   BMW          X1                  FORT MYERS                FL
142278   WBXJG9C03L5P78304   BMW          X1                  TAMPA                     US
142279   WBXJG9C03L5P78397   BMW          X1                  JOPLIN                    MO
142280   WBXJG9C03L5P78447   BMW          X1                  NORFOLK                   VA
142281   WBXJG9C03L5P78478   BMW          X1                  FORT MYERS                FL
142282   WBXJG9C03L5P78481   BMW          X1                  CHARLOTTE                 NC
142283   WBXJG9C03L5P78495   BMW          X1                  FORT MYERS                FL
142284   WBXJG9C03L5P78562   BMW          X1                  ORLANDO                   FL
142285   WBXJG9C03L5P87245   BMW          X1                  PALM SPRINGS              CA
142286   WBXJG9C03L5P88167   BMW          X1                  NEWPORT BEACH             CA
142287   WBXJG9C03L5P88430   BMW          X1                  LOS ANGELES               CA
142288   WBXJG9C03L5P88444   BMW          X1                  SAN DIEGO                 US
142289   WBXJG9C03L5P88461   BMW          X1                  PALM SPRINGS              CA
142290   WBXJG9C03L5P88492   BMW          X1                  SAN DIEGO                 CA
142291   WBXJG9C03L5P88590   BMW          X1                  BURBANK                   CA
142292   WBXJG9C03L5P88704   BMW          X1                  SAN DIEGO                 US
142293   WBXJG9C03L5P88735   BMW          X1                  LAS VEGAS                 NV
142294   WBXJG9C03L5P89352   BMW          X1                  LAS VEGAS                 NV
142295   WBXJG9C03L5P89450   BMW          X1                  SEATAC                    WA
142296   WBXJG9C03L5P89514   BMW          X1                  LAS VEGAS                 NV
142297   WBXJG9C03L5P89674   BMW          X1                  LAS VEGAS                 NV
142298   WBXJG9C03L5P89724   BMW          X1                  LAS VEGAS                 NV
142299   WBXJG9C03L5P89769   BMW          X1                  LOS ANGELES               CA
142300   WBXJG9C03L5P89822   BMW          X1                  LAS VEGAS                 NV
142301   WBXJG9C03L5P89853   BMW          X1                  LAS VEGAS                 NV
142302   WBXJG9C03L5P90839   BMW          X1                  LAS VEGAS                 NV
142303   WBXJG9C03L5P91005   BMW          X1                  LOS ANGELES               CA
142304   WBXJG9C03L5P91036   BMW          X1                  SAN FRANCISCO             CA
142305   WBXJG9C03L5P91117   BMW          X1                  LAS VEGAS                 NV
142306   WBXJG9C03L5P92414   BMW          X1                  LOS ANGELES AP            CA
142307   WBXJG9C03L5P92512   BMW          X1                  LOS ANGELES AP            CA
142308   WBXJG9C03L5P92591   BMW          X1                  LOS ANGELES               CA
142309   WBXJG9C03L5P93112   BMW          X1                  ALBUQERQUE                NM
142310   WBXJG9C03L5P93787   BMW          X1                  FORT LAUDERDALE           FL
142311   WBXJG9C03L5P94034   BMW          X1                  ORLANDO                   FL
142312   WBXJG9C03L5P94325   BMW          X1                  WEST PALM BEACH           FL
142313   WBXJG9C03L5P94339   BMW          X1                  TAMPA                     FL
142314   WBXJG9C03L5P94373   BMW          X1                  PHOENIX                   AZ
142315   WBXJG9C03L5P95281   BMW          X1                  ORLANDO                   FL
142316   WBXJG9C03L5P95295   BMW          X1                  FORT MYERS                FL
142317   WBXJG9C03L5P95488   BMW          X1                  MIAMI                     FL
142318   WBXJG9C03L5P95524   BMW          X1                  FORT LAUDERDALE           FL
142319   WBXJG9C03L5P95541   BMW          X1                  WEST PALM BEACH           FL
142320   WBXJG9C03L5P95569   BMW          X1                  TAMPA                     FL
142321   WBXJG9C03L5P95619   BMW          X1                  MIAMI                     FL
142322   WBXJG9C03L5P95720   BMW          X1                  TAMPA                     FL
142323   WBXJG9C03L5P95765   BMW          X1                  JACKSONVILLE              FL
142324   WBXJG9C03L5P95779   BMW          X1                  FORT LAUDERDALE           FL
142325   WBXJG9C03L5P95829   BMW          X1                  FORT LAUDERDALE           FL
142326   WBXJG9C03L5P95944   BMW          X1                  TAMPA                     FL
142327   WBXJG9C03L5P95975   BMW          X1                  WEST PALM BEACH           FL
142328   WBXJG9C03L5P96110   BMW          X1                  DALLAS                    TX
142329   WBXJG9C03L5P96737   BMW          X1                  HOUSTON                   TX
142330   WBXJG9C03L5P96818   BMW          X1                  DALLAS                    TX
142331   WBXJG9C03L5P97595   BMW          X1                  DALLAS                    TX
142332   WBXJG9C03L5P97788   BMW          X1                  DALLAS                    TX
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142333   WBXJG9C03L5P97855   BMW          X1                  Irving                    TX
142334   WBXJG9C03L5R00515   BMW          X1                  ORANGE COUNTY             CA
142335   WBXJG9C03L5R00790   BMW          X1                  LOS ANGELES               CA
142336   WBXJG9C03L5R00921   BMW          X1                  LOS ANGELES               CA
142337   WBXJG9C03L5R00949   BMW          X1                  LOS ANGELES               CA
142338   WBXJG9C03L5R01017   BMW          X1                  LAS VEGAS                 NV
142339   WBXJG9C03L5R01082   BMW          X1                  LAS VEGAS                 NV
142340   WBXJG9C03L5R01650   BMW          X1                  LAS VEGAS                 NV
142341   WBXJG9C03L5R03205   BMW          X1                  SAN JOSE                  CA
142342   WBXJG9C03L5R03267   BMW          X1                  CHARLOTTESVILLE           VA
142343   WBXJG9C03L5R05942   BMW          X1                  SANTA ANA                 CA
142344   WBXJG9C03L5R06167   BMW          X1                  WARWICK                   RI
142345   WBXJG9C03L5R06203   BMW          X1                  HANOVER                   MD
142346   WBXJG9C03L5R29660   BMW          X1                  RALEIGH                   NC
142347   WBXJG9C03L5R29996   BMW          X1                  SAVANNAH                  GA
142348   WBXJG9C03L5R31389   BMW          X1                  HOUSTON                   TX
142349   WBXJG9C03L5R32428   BMW          X1                  EAST BOSTON               MA
142350   WBXJG9C03L5R32705   BMW          X1                  GRAND RAPIDS              MI
142351   WBXJG9C03L5R32851   BMW          X1                  BOSTON, LOGAN AP          MA
142352   WBXJG9C03L5R32865   BMW          X1                  EAST BOSTON               MA
142353   WBXJG9C03L5R34258   BMW          X1                  BROOKLYN                  NY
142354   WBXJG9C04L3L77081   BMW          X1                  HOUSTON                   TX
142355   WBXJG9C04L3L77095   BMW          X1                  HOUSTON                   TX
142356   WBXJG9C04L3L79817   BMW          X1                  PHILADELPHIA              PA
142357   WBXJG9C04L3L79834   BMW          X1                  LAS VEGAS                 NV
142358   WBXJG9C04L3L81034   BMW          X1                  NEWARK                    NJ
142359   WBXJG9C04L3L81695   BMW          X1                  MANCHESTER                US
142360   WBXJG9C04L3L81728   BMW          X1                  CHARLOTTE                 NC
142361   WBXJG9C04L3L81759   BMW          X1                  ROCHESTER                 NY
142362   WBXJG9C04L3L81793   BMW          X1                  NEWARK                    NJ
142363   WBXJG9C04L3L83186   BMW          X1                  ALEXANDRIA                VA
142364   WBXJG9C04L3L83771   BMW          X1                  PITTSBURGH                PA
142365   WBXJG9C04L3L83821   BMW          X1                  CHICAGO                   IL
142366   WBXJG9C04L3L84936   BMW          X1                  SACRAMENTO                CA
142367   WBXJG9C04L3L84970   BMW          X1                  SACRAMENTO                CA
142368   WBXJG9C04L3L85682   BMW          X1                  SAN FRANCISCO             CA
142369   WBXJG9C04L3L85875   BMW          X1                  SAN FRANCISCO             CA
142370   WBXJG9C04L3L85925   BMW          X1                  PHOENIX                   AZ
142371   WBXJG9C04L5P73371   BMW          X1                  JACKSONVILLE              FL
142372   WBXJG9C04L5P73399   BMW          X1                  WEST PALM BEACH           FL
142373   WBXJG9C04L5P73578   BMW          X1                  MIAMI                     FL
142374   WBXJG9C04L5P73709   BMW          X1                  WEST PALM BEACH           FL
142375   WBXJG9C04L5P73712   BMW          X1                  WEST PALM BEACH           FL
142376   WBXJG9C04L5P73855   BMW          X1                  MIAMI                     FL
142377   WBXJG9C04L5P73886   BMW          X1                  TAMPA                     US
142378   WBXJG9C04L5P73936   BMW          X1                  WEST PALM BEACH           FL
142379   WBXJG9C04L5P74004   BMW          X1                  FORT MYERS                FL
142380   WBXJG9C04L5P74052   BMW          X1                  SARASOTA                  FL
142381   WBXJG9C04L5P74388   BMW          X1                  Miami                     FL
142382   WBXJG9C04L5P74553   BMW          X1                  TAMPA                     FL
142383   WBXJG9C04L5P74780   BMW          X1                  WEST PALM BEACH           FL
142384   WBXJG9C04L5P75153   BMW          X1                  DURHAM                    NC
142385   WBXJG9C04L5P75203   BMW          X1                  TAMPA                     FL
142386   WBXJG9C04L5P75301   BMW          X1                  ORLANDO                   FL
142387   WBXJG9C04L5P75427   BMW          X1                  ORLANDO                   FL
142388   WBXJG9C04L5P75556   BMW          X1                  ORLANDO                   FL
142389   WBXJG9C04L5P75573   BMW          X1                  FORT LAUDERDALE           FL
142390   WBXJG9C04L5P75718   BMW          X1                  MIAMI                     FL
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142391   WBXJG9C04L5P75783   BMW          X1                  MIAMI                     FL
142392   WBXJG9C04L5P75816   BMW          X1                  TALLAHASSEE               FL
142393   WBXJG9C04L5P75847   BMW          X1                  WEST PALM BEACH           FL
142394   WBXJG9C04L5P75850   BMW          X1                  ORLANDO                   FL
142395   WBXJG9C04L5P75931   BMW          X1                  WEST PALM BEACH           FL
142396   WBXJG9C04L5P76027   BMW          X1                  Jacksonville              FL
142397   WBXJG9C04L5P76058   BMW          X1                  ORLANDO                   FL
142398   WBXJG9C04L5P76061   BMW          X1                  SARASOTA                  FL
142399   WBXJG9C04L5P76979   BMW          X1                  Tampa                     FL
142400   WBXJG9C04L5P77811   BMW          X1                  SAINT LOUIS               MO
142401   WBXJG9C04L5P77937   BMW          X1                  WEST PALM BEACH           FL
142402   WBXJG9C04L5P77971   BMW          X1                  MIAMI                     FL
142403   WBXJG9C04L5P78005   BMW          X1                  WEST PALM BEACH           FL
142404   WBXJG9C04L5P78067   BMW          X1                  TAMPA                     US
142405   WBXJG9C04L5P78103   BMW          X1                  FORT MYERS                FL
142406   WBXJG9C04L5P78246   BMW          X1                  ORLANDO                   FL
142407   WBXJG9C04L5P78280   BMW          X1                  SARASOTA                  FL
142408   WBXJG9C04L5P78392   BMW          X1                  MIAMI                     FL
142409   WBXJG9C04L5P78408   BMW          X1                  INDIANAPOLIS              IN
142410   WBXJG9C04L5P78456   BMW          X1                  FORT MYERS                FL
142411   WBXJG9C04L5P78537   BMW          X1                  MIAMI                     FL
142412   WBXJG9C04L5P87240   BMW          X1                  INGLEWOOD                 CA
142413   WBXJG9C04L5P87254   BMW          X1                  SAN DIEGO                 CA
142414   WBXJG9C04L5P88596   BMW          X1                  SAN JOSE                  CA
142415   WBXJG9C04L5P88713   BMW          X1                  SARASOTA                  FL
142416   WBXJG9C04L5P89330   BMW          X1                  LAS VEGAS                 NV
142417   WBXJG9C04L5P89425   BMW          X1                  LAS VEGAS                 NV
142418   WBXJG9C04L5P89523   BMW          X1                  LAS VEGAS                 NV
142419   WBXJG9C04L5P89568   BMW          X1                  LAS VEGAS                 NV
142420   WBXJG9C04L5P89599   BMW          X1                  LAS VEGAS                 NV
142421   WBXJG9C04L5P89635   BMW          X1                  LAS VEGAS                 NV
142422   WBXJG9C04L5P89649   BMW          X1                  OAKLAND                   CA
142423   WBXJG9C04L5P89764   BMW          X1                  LAS VEGAS                 NV
142424   WBXJG9C04L5P89781   BMW          X1                  LOS ANGELES               CA
142425   WBXJG9C04L5P89800   BMW          X1                  LAS VEGAS                 NV
142426   WBXJG9C04L5P89814   BMW          X1                  LAS VEGAS                 NV
142427   WBXJG9C04L5P91045   BMW          X1                  LOS ANGELES               CA
142428   WBXJG9C04L5P91143   BMW          X1                  SANTA ANA                 CA
142429   WBXJG9C04L5P91157   BMW          X1                  LOS ANGELES               CA
142430   WBXJG9C04L5P91224   BMW          X1                  SALT LAKE CITY            UT
142431   WBXJG9C04L5P91353   BMW          X1                  LOS ANGELES               CA
142432   WBXJG9C04L5P91367   BMW          X1                  LOS ANGELES               CA
142433   WBXJG9C04L5P92292   BMW          X1                  LAS VEGAS                 NV
142434   WBXJG9C04L5P92406   BMW          X1                  LOS ANGELES AP            CA
142435   WBXJG9C04L5P92454   BMW          X1                  LOS ANGELES AP            CA
142436   WBXJG9C04L5P92471   BMW          X1                  LOS ANGELES               CA
142437   WBXJG9C04L5P92759   BMW          X1                  ONTARIO                   CA
142438   WBXJG9C04L5P92843   BMW          X1                  ONTARIO                   CA
142439   WBXJG9C04L5P93264   BMW          X1                  PHOENIX                   AZ
142440   WBXJG9C04L5P93300   BMW          X1                  PHOENIX                   AZ
142441   WBXJG9C04L5P93314   BMW          X1                  PHOENIX                   AZ
142442   WBXJG9C04L5P93751   BMW          X1                  ORLANDO                   FL
142443   WBXJG9C04L5P93877   BMW          X1                  ORLANDO                   FL
142444   WBXJG9C04L5P93975   BMW          X1                  SARASOTA                  FL
142445   WBXJG9C04L5P94155   BMW          X1                  PHOENIX                   AZ
142446   WBXJG9C04L5P94236   BMW          X1                  MIAMI                     FL
142447   WBXJG9C04L5P94348   BMW          X1                  PHOENIX                   AZ
142448   WBXJG9C04L5P94401   BMW          X1                  WEST PALM BEACH           FL
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142449   WBXJG9C04L5P95533   BMW          X1                  FORT MYERS                FL
142450   WBXJG9C04L5P95578   BMW          X1                  SARASOTA                  FL
142451   WBXJG9C04L5P95595   BMW          X1                  ORLANDO                   FL
142452   WBXJG9C04L5P95628   BMW          X1                  ORLANDO                   FL
142453   WBXJG9C04L5P95631   BMW          X1                  FORT MYERS                FL
142454   WBXJG9C04L5P95757   BMW          X1                  ORLANDO                   FL
142455   WBXJG9C04L5P95791   BMW          X1                  TAMPA                     FL
142456   WBXJG9C04L5P95807   BMW          X1                  FORT LAUDERDALE           FL
142457   WBXJG9C04L5P95824   BMW          X1                  FORT LAUDERDALE           FL
142458   WBXJG9C04L5P95922   BMW          X1                  FORT LAUDERDALE           FL
142459   WBXJG9C04L5P96021   BMW          X1                  FORT LAUDERDALE           FL
142460   WBXJG9C04L5P96035   BMW          X1                  DANIA BEACH               FL
142461   WBXJG9C04L5P96293   BMW          X1                  DALLAS                    TX
142462   WBXJG9C04L5P96522   BMW          X1                  DALLAS                    TX
142463   WBXJG9C04L5P97444   BMW          X1                  HOUSTON                   TX
142464   WBXJG9C04L5P97654   BMW          X1                  DALLAS                    TX
142465   WBXJG9C04L5P97704   BMW          X1                  DALLAS                    TX
142466   WBXJG9C04L5P97749   BMW          X1                  DALLAS                    TX
142467   WBXJG9C04L5P97752   BMW          X1                  Irving                    TX
142468   WBXJG9C04L5P97847   BMW          X1                  DALLAS                    TX
142469   WBXJG9C04L5R00510   BMW          X1                  LAS VEGAS                 NV
142470   WBXJG9C04L5R00569   BMW          X1                  LAS VEGAS                 NV
142471   WBXJG9C04L5R00782   BMW          X1                  LOS ANGELES               CA
142472   WBXJG9C04L5R01012   BMW          X1                  LAS VEGAS                 NV
142473   WBXJG9C04L5R01107   BMW          X1                  Los Angeles               CA
142474   WBXJG9C04L5R01835   BMW          X1                  SAN FRANCISCO             CA
142475   WBXJG9C04L5R03262   BMW          X1                  Portland                  ME
142476   WBXJG9C04L5R29781   BMW          X1                  NEWARK                    NJ
142477   WBXJG9C04L5R29828   BMW          X1                  FORT LAUDERDALE           FL
142478   WBXJG9C04L5R29991   BMW          X1                  NEWARK                    NJ
142479   WBXJG9C04L5R32387   BMW          X1                  EAST BOSTON               MA
142480   WBXJG9C04L5R32440   BMW          X1                  BOSTON, LOGAN AP          MA
142481   WBXJG9C04L5R33054   BMW          X1                  HOUSTON                   TX
142482   WBXJG9C05L3L78305   BMW          X1                  HOUSTON                   TX
142483   WBXJG9C05L3L79440   BMW          X1                  HOUSTON                   TX
142484   WBXJG9C05L3L79812   BMW          X1                  ALBANY                    N
142485   WBXJG9C05L3L81057   BMW          X1                  HARTFORD                  CT
142486   WBXJG9C05L3L81060   BMW          X1                  JAMAICA                   NY
142487   WBXJG9C05L3L81723   BMW          X1                  PHILADELPHIA              PA
142488   WBXJG9C05L3L81737   BMW          X1                  PHILADELPHIA              PA
142489   WBXJG9C05L3L81785   BMW          X1                  NEW YORK CITY             NY
142490   WBXJG9C05L3L81799   BMW          X1                  Teterboro                 NJ
142491   WBXJG9C05L3L83794   BMW          X1                  RONKONKOMA                NY
142492   WBXJG9C05L3L83827   BMW          X1                  NEWARK                    NJ
142493   WBXJG9C05L3L84458   BMW          X1                  PHOENIX                   AZ
142494   WBXJG9C05L3L84461   BMW          X1                  SEATAC                    WA
142495   WBXJG9C05L3L85688   BMW          X1                  OAKLAND                   CA
142496   WBXJG9C05L3L85691   BMW          X1                  PHOENIX                   AZ
142497   WBXJG9C05L5P73251   BMW          X1                  CHICAGO                   IL
142498   WBXJG9C05L5P73282   BMW          X1                  MIAMI                     FL
142499   WBXJG9C05L5P73301   BMW          X1                  FORT LAUDERDALE           FL
142500   WBXJG9C05L5P73346   BMW          X1                  FORT MYERS                FL
142501   WBXJG9C05L5P73363   BMW          X1                  WEST PALM BEACH           FL
142502   WBXJG9C05L5P73797   BMW          X1                  DANIA BEACH               FL
142503   WBXJG9C05L5P73802   BMW          X1                  FORT MYERS                FL
142504   WBXJG9C05L5P73833   BMW          X1                  PENSACOLA                 FL
142505   WBXJG9C05L5P73881   BMW          X1                  MIAMI                     FL
142506   WBXJG9C05L5P73945   BMW          X1                  FORT LAUDERDALE           FL
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142507   WBXJG9C05L5P73959   BMW          X1                  MIAMI                     FL
142508   WBXJG9C05L5P73993   BMW          X1                  JACKSONVILLE              FL
142509   WBXJG9C05L5P74514   BMW          X1                  TAMPA                     FL
142510   WBXJG9C05L5P74660   BMW          X1                  TAMPA                     US
142511   WBXJG9C05L5P75713   BMW          X1                  MIAMI                     FL
142512   WBXJG9C05L5P75839   BMW          X1                  TAMPA                     FL
142513   WBXJG9C05L5P75890   BMW          X1                  BOSTON                    MA
142514   WBXJG9C05L5P75999   BMW          X1                  CHARLOTTE                 NC
142515   WBXJG9C05L5P76067   BMW          X1                  FORT LAUDERDALE           FL
142516   WBXJG9C05L5P76098   BMW          X1                  WEST PALM BEACH           FL
142517   WBXJG9C05L5P78045   BMW          X1                  MIAMI                     FL
142518   WBXJG9C05L5P78126   BMW          X1                  FORT MYERS                FL
142519   WBXJG9C05L5P78188   BMW          X1                  FORT MYERS                FL
142520   WBXJG9C05L5P78238   BMW          X1                  FORT MYERS                FL
142521   WBXJG9C05L5P78255   BMW          X1                  FORT LAUDERDALE           FL
142522   WBXJG9C05L5P78367   BMW          X1                  ORLANDO                   FL
142523   WBXJG9C05L5P87005   BMW          X1                  SAN DIEGO                 CA
142524   WBXJG9C05L5P87148   BMW          X1                  SAN DIEGO                 CA
142525   WBXJG9C05L5P87232   BMW          X1                  SAN DIEGO                 CA
142526   WBXJG9C05L5P88073   BMW          X1                  LAS VEGAS                 NV
142527   WBXJG9C05L5P88185   BMW          X1                  SACRAMENTO                CA
142528   WBXJG9C05L5P88476   BMW          X1                  SAN DIEGO                 US
142529   WBXJG9C05L5P88526   BMW          X1                  LOS ANGELES               CA
142530   WBXJG9C05L5P88560   BMW          X1                  LOS ANGELES               CA
142531   WBXJG9C05L5P88767   BMW          X1                  LAS VEGAS                 NV
142532   WBXJG9C05L5P89479   BMW          X1                  LAS VEGAS                 NV
142533   WBXJG9C05L5P89739   BMW          X1                  LAS VEGAS                 NV
142534   WBXJG9C05L5P89756   BMW          X1                  LAS VEGAS                 NV
142535   WBXJG9C05L5P89868   BMW          X1                  LAS VEGAS                 NV
142536   WBXJG9C05L5P90597   BMW          X1                  LOS ANGELES AP            CA
142537   WBXJG9C05L5P90941   BMW          X1                  LAS VEGAS                 NV
142538   WBXJG9C05L5P91121   BMW          X1                  LAS VEGAS                 NV
142539   WBXJG9C05L5P91281   BMW          X1                  LOS ANGELES               CA
142540   WBXJG9C05L5P91362   BMW          X1                  LOS ANGELES               CA
142541   WBXJG9C05L5P92253   BMW          X1                  SAN JOSE                  CA
142542   WBXJG9C05L5P92351   BMW          X1                  LOS ANGELES               CA
142543   WBXJG9C05L5P92396   BMW          X1                  ONTARIO                   CA
142544   WBXJG9C05L5P92463   BMW          X1                  LOS ANGELES               CA
142545   WBXJG9C05L5P92561   BMW          X1                  LOS ANGELES AP            CA
142546   WBXJG9C05L5P92575   BMW          X1                  LOS ANGELES               CA
142547   WBXJG9C05L5P92785   BMW          X1                  LOS ANGELES               CA
142548   WBXJG9C05L5P93077   BMW          X1                  LOS ANGELES               CA
142549   WBXJG9C05L5P93094   BMW          X1                  PHOENIX                   AZ
142550   WBXJG9C05L5P93208   BMW          X1                  PHOENIX                   AZ
142551   WBXJG9C05L5P93306   BMW          X1                  LOS ANGELES               CA
142552   WBXJG9C05L5P93970   BMW          X1                  FORT MYERS                FL
142553   WBXJG9C05L5P94116   BMW          X1                  FORT LAUDERDALE           FL
142554   WBXJG9C05L5P94245   BMW          X1                  ORLANDO                   FL
142555   WBXJG9C05L5P94360   BMW          X1                  PHOENIX                   AZ
142556   WBXJG9C05L5P94388   BMW          X1                  FORT MYERS                FL
142557   WBXJG9C05L5P95394   BMW          X1                  FORT LAUDERDALE           FL
142558   WBXJG9C05L5P95430   BMW          X1                  FORT LAUDERDALE           FL
142559   WBXJG9C05L5P95508   BMW          X1                  KEY WEST                  FL
142560   WBXJG9C05L5P95587   BMW          X1                  MIAMI                     FL
142561   WBXJG9C05L5P95783   BMW          X1                  MIAMI                     FL
142562   WBXJG9C05L5P95864   BMW          X1                  FORT LAUDERDALE           FL
142563   WBXJG9C05L5P96576   BMW          X1                  ORLANDO                   FL
142564   WBXJG9C05L5P96660   BMW          X1                  FORT MYERS                FL
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142565   WBXJG9C05L5P96724   BMW          X1                  HOUSTON                   TX
142566   WBXJG9C05L5P96755   BMW          X1                  HOUSTON                   TX
142567   WBXJG9C05L5P96769   BMW          X1                  HOUSTON                   TX
142568   WBXJG9C05L5P96836   BMW          X1                  CLEVELAND                 OH
142569   WBXJG9C05L5P97503   BMW          X1                  DALLAS FORT WORTH AP      TX
142570   WBXJG9C05L5P97601   BMW          X1                  DALLAS                    TX
142571   WBXJG9C05L5P97744   BMW          X1                  DALLAS                    TX
142572   WBXJG9C05L5P97825   BMW          X1                  DALLAS                    TX
142573   WBXJG9C05L5R00824   BMW          X1                  LOS ANGELES               CA
142574   WBXJG9C05L5R00855   BMW          X1                  LOS ANGELES               CA
142575   WBXJG9C05L5R01066   BMW          X1                  LAS VEGAS                 NV
142576   WBXJG9C05L5R01844   BMW          X1                  SAN FRANCISCO             CA
142577   WBXJG9C05L5R01858   BMW          X1                  BURBANK                   CA
142578   WBXJG9C05L5R01875   BMW          X1                  FRESNO                    CA
142579   WBXJG9C05L5R03691   BMW          X1                  NEWARK                    NJ
142580   WBXJG9C05L5R30289   BMW          X1                  PHILADELPHIA              US
142581   WBXJG9C05L5R32544   BMW          X1                  BOSTON                    MA
142582   WBXJG9C05L5R32981   BMW          X1                  JAMAICA                   NY
142583   WBXJG9C05L5R33175   BMW          X1                  STERLING                  VA
142584   WBXJG9C06L3L77356   BMW          X1                  HOUSTON                   TX
142585   WBXJG9C06L3L78281   BMW          X1                  FORT MYERS                FL
142586   WBXJG9C06L3L78295   BMW          X1                  HOUSTON                   TX
142587   WBXJG9C06L3L79317   BMW          X1                  HOUSTON                   TX
142588   WBXJG9C06L3L79432   BMW          X1                  HOUSTON                   TX
142589   WBXJG9C06L3L81004   BMW          X1                  NEWARK                    NJ
142590   WBXJG9C06L3L81021   BMW          X1                  BOSTON                    MA
142591   WBXJG9C06L3L81083   BMW          X1                  NEW YORK CITY             NY
142592   WBXJG9C06L3L81634   BMW          X1                  BALTIMORE                 MD
142593   WBXJG9C06L3L81696   BMW          X1                  PHILADELPHIA              PA
142594   WBXJG9C06L3L83738   BMW          X1                  GRAND RAPIDS              MI
142595   WBXJG9C06L3L83819   BMW          X1                  Atlanta                   GA
142596   WBXJG9C06L3L84887   BMW          X1                  SAN FRANCISCO             CA
142597   WBXJG9C06L3L85666   BMW          X1                  SAN FRANCISCO             CA
142598   WBXJG9C06L3L86557   BMW          X1                  PHOENIX                   AZ
142599   WBXJG9C06L5P73243   BMW          X1                  FORT MYERS                FL
142600   WBXJG9C06L5P73405   BMW          X1                  MIAMI                     FL
142601   WBXJG9C06L5P73467   BMW          X1                  WEST PALM BEACH           FL
142602   WBXJG9C06L5P73596   BMW          X1                  FORT MYERS                FL
142603   WBXJG9C06L5P73615   BMW          X1                  JACKSONVILLE              FL
142604   WBXJG9C06L5P73629   BMW          X1                  MIAMI                     FL
142605   WBXJG9C06L5P73632   BMW          X1                  FORT MYERS                FL
142606   WBXJG9C06L5P73646   BMW          X1                  MIAMI                     FL
142607   WBXJG9C06L5P73758   BMW          X1                  FORT LAUDERDALE           FL
142608   WBXJG9C06L5P73811   BMW          X1                  HIALEIA                   FL
142609   WBXJG9C06L5P73873   BMW          X1                  FORT LAUDERDALE           FL
142610   WBXJG9C06L5P73890   BMW          X1                  ORLANDO                   FL
142611   WBXJG9C06L5P73985   BMW          X1                  ORLANDO                   FL
142612   WBXJG9C06L5P74036   BMW          X1                  Miami                     FL
142613   WBXJG9C06L5P74067   BMW          X1                  WEST PALM BEACH           FL
142614   WBXJG9C06L5P74201   BMW          X1                  ORLANDO                   FL
142615   WBXJG9C06L5P74327   BMW          X1                  TAMPA                     US
142616   WBXJG9C06L5P74330   BMW          X1                  ORLANDO                   FL
142617   WBXJG9C06L5P74358   BMW          X1                  Clearwater                FL
142618   WBXJG9C06L5P74604   BMW          X1                  CHARLOTTE                 NC
142619   WBXJG9C06L5P74697   BMW          X1                  Bensalem                  PA
142620   WBXJG9C06L5P74800   BMW          X1                  TITUSVILLE                FL
142621   WBXJG9C06L5P75090   BMW          X1                  TAMPA                     FL
142622   WBXJG9C06L5P75333   BMW          X1                  DANIA BEACH               FL
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142623   WBXJG9C06L5P75591   BMW          X1                  ORLANDO                   FL
142624   WBXJG9C06L5P75705   BMW          X1                  Tampa                     FL
142625   WBXJG9C06L5P75915   BMW          X1                  ORLANDO                   FL
142626   WBXJG9C06L5P76840   BMW          X1                  WEST PALM BEACH           FL
142627   WBXJG9C06L5P76983   BMW          X1                  FORT MYERS                FL
142628   WBXJG9C06L5P77941   BMW          X1                  WEST PALM BEACH           FL
142629   WBXJG9C06L5P78152   BMW          X1                  FORT MYERS                FL
142630   WBXJG9C06L5P78202   BMW          X1                  SARASOTA                  FL
142631   WBXJG9C06L5P78216   BMW          X1                  MIAMI                     FL
142632   WBXJG9C06L5P78345   BMW          X1                  SYRACUSE                  NY
142633   WBXJG9C06L5P78412   BMW          X1                  STERLING                  VA
142634   WBXJG9C06L5P78474   BMW          X1                  FORT MYERS                FL
142635   WBXJG9C06L5P78488   BMW          X1                  TAMPA                     FL
142636   WBXJG9C06L5P78541   BMW          X1                  PITTSBURGH                PA
142637   WBXJG9C06L5P86896   BMW          X1                  LAS VEGAS                 NV
142638   WBXJG9C06L5P86980   BMW          X1                  SEATAC                    WA
142639   WBXJG9C06L5P87014   BMW          X1                  SAN DIEGO                 US
142640   WBXJG9C06L5P87286   BMW          X1                  SAN DIEGO                 US
142641   WBXJG9C06L5P87353   BMW          X1                  LAS VEGAS                 NV
142642   WBXJG9C06L5P87370   BMW          X1                  SAN DIEGO                 CA
142643   WBXJG9C06L5P88101   BMW          X1                  SAN DIEGO                 CA
142644   WBXJG9C06L5P88602   BMW          X1                  SAN FRANCISCO             CA
142645   WBXJG9C06L5P88695   BMW          X1                  SAN DIEGO                 CA
142646   WBXJG9C06L5P88759   BMW          X1                  LAS VEGAS                 NV
142647   WBXJG9C06L5P89605   BMW          X1                  LAS VEGAS                 NV
142648   WBXJG9C06L5P89622   BMW          X1                  LAS VEGAS                 NV
142649   WBXJG9C06L5P89734   BMW          X1                  LAS VEGAS                 NV
142650   WBXJG9C06L5P89748   BMW          X1                  LAS VEGAS                 NV
142651   WBXJG9C06L5P89751   BMW          X1                  LAS VEGAS                 NV
142652   WBXJG9C06L5P89796   BMW          X1                  LAS VEGAS                 NV
142653   WBXJG9C06L5P89846   BMW          X1                  LAS VEGAS                 NV
142654   WBXJG9C06L5P89863   BMW          X1                  LOS ANGELES               CA
142655   WBXJG9C06L5P90737   BMW          X1                  LAS VEGAS                 NV
142656   WBXJG9C06L5P90883   BMW          X1                  LAS VEGAS                 NV
142657   WBXJG9C06L5P91113   BMW          X1                  FRESNO                    CA
142658   WBXJG9C06L5P91340   BMW          X1                  LOS ANGELES               CA
142659   WBXJG9C06L5P92262   BMW          X1                  SANTA BARBARA             CA
142660   WBXJG9C06L5P92441   BMW          X1                  LOS ANGELES               CA
142661   WBXJG9C06L5P92553   BMW          X1                  PHOENIX                   AZ
142662   WBXJG9C06L5P93041   BMW          X1                  LOS ANGELES AP            CA
142663   WBXJG9C06L5P93329   BMW          X1                  PHOENIX                   AZ
142664   WBXJG9C06L5P93671   BMW          X1                  PHOENIX                   AZ
142665   WBXJG9C06L5P93718   BMW          X1                  FORT LAUDERDALE           FL
142666   WBXJG9C06L5P93864   BMW          X1                  WEST PALM BEACH           FL
142667   WBXJG9C06L5P93881   BMW          X1                  ORLANDO                   FL
142668   WBXJG9C06L5P93900   BMW          X1                  WEST PALM BEACH           FL
142669   WBXJG9C06L5P93928   BMW          X1                  BALTIMORE                 MD
142670   WBXJG9C06L5P94089   BMW          X1                  FT. LAUDERDALE            FL
142671   WBXJG9C06L5P94125   BMW          X1                  LAS VEGAS                 NV
142672   WBXJG9C06L5P94142   BMW          X1                  PHOENIX                   AZ
142673   WBXJG9C06L5P94268   BMW          X1                  ORLANDO                   FL
142674   WBXJG9C06L5P94397   BMW          X1                  WEST PALM BEACH           FL
142675   WBXJG9C06L5P95484   BMW          X1                  FORT LAUDERDALE           FL
142676   WBXJG9C06L5P95520   BMW          X1                  FORT LAUDERDALE           FL
142677   WBXJG9C06L5P95906   BMW          X1                  ATLANTA                   GA
142678   WBXJG9C06L5P95985   BMW          X1                  SARASOTA                  FL
142679   WBXJG9C06L5P96005   BMW          X1                  LOUISVILLE                KY
142680   WBXJG9C06L5P96599   BMW          X1                  CHARLESTON                SC
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142681   WBXJG9C06L5P96604   BMW          X1                  MIAMI                     FL
142682   WBXJG9C06L5P96649   BMW          X1                  NAPLES                    FL
142683   WBXJG9C06L5P96764   BMW          X1                  HOUSTON                   TX
142684   WBXJG9C06L5P97803   BMW          X1                  DALLAS                    TX
142685   WBXJG9C06L5P97851   BMW          X1                  DALLAS                    TX
142686   WBXJG9C06L5P97882   BMW          X1                  DALLAS                    TX
142687   WBXJG9C06L5R00699   BMW          X1                  SAN DIEGO                 US
142688   WBXJG9C06L5R00735   BMW          X1                  BURBANK                   CA
142689   WBXJG9C06L5R00959   BMW          X1                  LAS VEGAS                 NV
142690   WBXJG9C06L5R01058   BMW          X1                  LAS VEGAS                 NV
142691   WBXJG9C06L5R01609   BMW          X1                  LOS ANGELES               CA
142692   WBXJG9C06L5R01982   BMW          X1                  SOUTH SAN FRANC           CA
142693   WBXJG9C06L5R02002   BMW          X1                  SAN FRANCISCO             CA
142694   WBXJG9C06L5R02954   BMW          X1                  MILWAUKEE                 WI
142695   WBXJG9C06L5R03229   BMW          X1                  BOSTON                    MA
142696   WBXJG9C06L5R06194   BMW          X1                  HANOVER                   MD
142697   WBXJG9C06L5R06213   BMW          X1                  NEWARK                    NJ
142698   WBXJG9C06L5R06583   BMW          X1                  NEW YORK CITY             NY
142699   WBXJG9C06L5R30205   BMW          X1                  CLEVELAND                 OH
142700   WBXJG9C06L5R32570   BMW          X1                  BOSTON                    MA
142701   WBXJG9C06L5R32701   BMW          X1                  NEW YORK CITY             NY
142702   WBXJG9C07L3L78323   BMW          X1                  HOUSTON                   TX
142703   WBXJG9C07L3L79276   BMW          X1                  HOUSTON                   TX
142704   WBXJG9C07L3L79326   BMW          X1                  HOUSTON                   TX
142705   WBXJG9C07L3L79830   BMW          X1                  LAS VEGAS                 NV
142706   WBXJG9C07L3L81111   BMW          X1                  LAS VEGAS                 NV
142707   WBXJG9C07L3L81738   BMW          X1                  KNOXVILLE                 TN
142708   WBXJG9C07L3L83800   BMW          X1                  WEST COLUMBIA             SC
142709   WBXJG9C07L3L84431   BMW          X1                  BOSTON                    MA
142710   WBXJG9C07L3L84915   BMW          X1                  LAS VEGAS                 NV
142711   WBXJG9C07L3L84932   BMW          X1                  PHOENIX                   AZ
142712   WBXJG9C07L3L85689   BMW          X1                  SAN JOSE                  CA
142713   WBXJG9C07L3L85952   BMW          X1                  PHOENIX                   AZ
142714   WBXJG9C07L3L86521   BMW          X1                  SAN FRANCISCO             CA
142715   WBXJG9C07L5P73221   BMW          X1                  MIAMI                     FL
142716   WBXJG9C07L5P73395   BMW          X1                  WEST PALM BEACH           FL
142717   WBXJG9C07L5P73512   BMW          X1                  MIAMI                     FL
142718   WBXJG9C07L5P73526   BMW          X1                  ORLANDO                   FL
142719   WBXJG9C07L5P73610   BMW          X1                  WEST PALM BEACH           FL
142720   WBXJG9C07L5P73784   BMW          X1                  WEST PALM BEACH           FL
142721   WBXJG9C07L5P73848   BMW          X1                  MIAMI                     FL
142722   WBXJG9C07L5P73932   BMW          X1                  FORT MYERS                FL
142723   WBXJG9C07L5P74028   BMW          X1                  FT LAUDERDALE             FL
142724   WBXJG9C07L5P74045   BMW          X1                  FORT LAUDERDALE           FL
142725   WBXJG9C07L5P74532   BMW          X1                  DANIA BEACH               FL
142726   WBXJG9C07L5P74613   BMW          X1                  FORT LAUDERDALE           FL
142727   WBXJG9C07L5P74756   BMW          X1                  MIAMI                     FL
142728   WBXJG9C07L5P75115   BMW          X1                  MIAMI                     FL
142729   WBXJG9C07L5P75275   BMW          X1                  MIAMI                     FL
142730   WBXJG9C07L5P75311   BMW          X1                  Jacksonville              FL
142731   WBXJG9C07L5P75423   BMW          X1                  ORLANDO                   FL
142732   WBXJG9C07L5P75583   BMW          X1                  ORLANDO                   FL
142733   WBXJG9C07L5P75681   BMW          X1                  ORLANDO                   FL
142734   WBXJG9C07L5P75728   BMW          X1                  ORLANDO                   FL
142735   WBXJG9C07L5P75762   BMW          X1                  KNOXVILLE                 TN
142736   WBXJG9C07L5P75941   BMW          X1                  MIAMI                     FL
142737   WBXJG9C07L5P76040   BMW          X1                  DES PLAINES               US
142738   WBXJG9C07L5P76071   BMW          X1                  FORT MYERS                FL
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142739   WBXJG9C07L5P77026   BMW          X1                  ORLANDO                   FL
142740   WBXJG9C07L5P78192   BMW          X1                  FORT MYERS                FL
142741   WBXJG9C07L5P78208   BMW          X1                  FORT MYERS                FL
142742   WBXJG9C07L5P78225   BMW          X1                  FORT MYERS                FL
142743   WBXJG9C07L5P78340   BMW          X1                  MIAMI                     FL
142744   WBXJG9C07L5P78385   BMW          X1                  MIAMI                     FL
142745   WBXJG9C07L5P78418   BMW          X1                  FORT LAUDERDALE           FL
142746   WBXJG9C07L5P78421   BMW          X1                  ORLANDO                   FL
142747   WBXJG9C07L5P78452   BMW          X1                  FORT MYERS                FL
142748   WBXJG9C07L5P86938   BMW          X1                  SAN DIEGO                 CA
142749   WBXJG9C07L5P87121   BMW          X1                  SAN DIEGO                 US
142750   WBXJG9C07L5P87300   BMW          X1                  SAN DIEGO                 CA
142751   WBXJG9C07L5P87328   BMW          X1                  LOS ANGELES               CA
142752   WBXJG9C07L5P88494   BMW          X1                  FRESNO                    CA
142753   WBXJG9C07L5P88611   BMW          X1                  GRAND RAPIDS              MI
142754   WBXJG9C07L5P88690   BMW          X1                  SAN DIEGO                 US
142755   WBXJG9C07L5P89466   BMW          X1                  LAS VEGAS                 NV
142756   WBXJG9C07L5P89595   BMW          X1                  LAS VEGAS                 NV
142757   WBXJG9C07L5P89645   BMW          X1                  LAS VEGAS                 NV
142758   WBXJG9C07L5P89788   BMW          X1                  LOS ANGELES               CA
142759   WBXJG9C07L5P89807   BMW          X1                  LAS VEGAS                 NV
142760   WBXJG9C07L5P90634   BMW          X1                  LAS VEGAS                 NV
142761   WBXJG9C07L5P90665   BMW          X1                  LAS VEGAS                 NV
142762   WBXJG9C07L5P90746   BMW          X1                  LAS VEGAS                 NV
142763   WBXJG9C07L5P91234   BMW          X1                  LAS VEGAS                 NV
142764   WBXJG9C07L5P91248   BMW          X1                  SALT LAKE CITY            UT
142765   WBXJG9C07L5P92268   BMW          X1                  SAN FRANCISCO             CA
142766   WBXJG9C07L5P92321   BMW          X1                  LOS ANGELES AP            CA
142767   WBXJG9C07L5P92383   BMW          X1                  SAN DIEGO                 CA
142768   WBXJG9C07L5P92495   BMW          X1                  LOS ANGELES               CA
142769   WBXJG9C07L5P93274   BMW          X1                  PHOENIX                   AZ
142770   WBXJG9C07L5P93310   BMW          X1                  PHOENIX                   AZ
142771   WBXJG9C07L5P93341   BMW          X1                  FORT LAUDERDALE           FL
142772   WBXJG9C07L5P93775   BMW          X1                  HIALEAH                   FL
142773   WBXJG9C07L5P94313   BMW          X1                  WEST PALM BEACH           FL
142774   WBXJG9C07L5P94392   BMW          X1                  WEST PALM BEACH           FL
142775   WBXJG9C07L5P95638   BMW          X1                  FORT MYERS                FL
142776   WBXJG9C07L5P95753   BMW          X1                  ORLANDO                   FL
142777   WBXJG9C07L5P95820   BMW          X1                  SARASOTA                  FL
142778   WBXJG9C07L5P95915   BMW          X1                  FORT LAUDERDALE           FL
142779   WBXJG9C07L5P95929   BMW          X1                  FORT LAUDERDALE           FL
142780   WBXJG9C07L5P96000   BMW          X1                  ORLANDO                   FL
142781   WBXJG9C07L5P96675   BMW          X1                  MIAMI                     FL
142782   WBXJG9C07L5P96708   BMW          X1                  FORT MYERS                FL
142783   WBXJG9C07L5P97437   BMW          X1                  DALLAS                    TX
142784   WBXJG9C07L5P97664   BMW          X1                  DALLAS                    TX
142785   WBXJG9C07L5P97762   BMW          X1                  SAN ANTONIO               TX
142786   WBXJG9C07L5P97812   BMW          X1                  DALLAS                    TX
142787   WBXJG9C07L5R00047   BMW          X1                  LAS VEGAS                 NV
142788   WBXJG9C07L5R00629   BMW          X1                  San Diego                 CA
142789   WBXJG9C07L5R00887   BMW          X1                  SAN FRANCISCO             CA
142790   WBXJG9C07L5R00985   BMW          X1                  LAS VEGAS                 NV
142791   WBXJG9C07L5R01036   BMW          X1                  LAS VEGAS                 NV
142792   WBXJG9C07L5R01070   BMW          X1                  LAS VEGAS                 NV
142793   WBXJG9C07L5R01733   BMW          X1                  SAN FRANCISCO             CA
142794   WBXJG9C07L5R03675   BMW          X1                  NEW YORK CITY             NY
142795   WBXJG9C07L5R06138   BMW          X1                  BALTIMORE                 MD
142796   WBXJG9C07L5R06222   BMW          X1                  BOSTON                    MA
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142797   WBXJG9C07L5R32397   BMW          X1                  BOSTON                    MA
142798   WBXJG9C07L5R32433   BMW          X1                  EAST BOSTON               MA
142799   WBXJG9C07L5R32688   BMW          X1                  KNOXVILLE                 TN
142800   WBXJG9C07L5R33081   BMW          X1                  BOSTON, LOGAN AP          MA
142801   WBXJG9C07L5R33159   BMW          X1                  EAST BOSTON               MA
142802   WBXJG9C08L3L76368   BMW          X1                  LOS ANGELES               CA
142803   WBXJG9C08L3L77052   BMW          X1                  HOUSTON                   TX
142804   WBXJG9C08L3L79691   BMW          X1                  NEWARK                    NJ
142805   WBXJG9C08L3L79819   BMW          X1                  LAS VEGAS                 NV
142806   WBXJG9C08L3L81067   BMW          X1                  ALBANY                    N
142807   WBXJG9C08L3L81084   BMW          X1                  SOUTH BEND                IN
142808   WBXJG9C08L3L81103   BMW          X1                  LAS VEGAS                 NV
142809   WBXJG9C08L3L81117   BMW          X1                  LAS VEGAS                 NV
142810   WBXJG9C08L3L81781   BMW          X1                  Des Moines                IA
142811   WBXJG9C08L3L83143   BMW          X1                  JAMAICA                   NY
142812   WBXJG9C08L3L83174   BMW          X1                  NEW YORK CITY             NY
142813   WBXJG9C08L3L84907   BMW          X1                  SAN FRANCISCO             CA
142814   WBXJG9C08L3L84941   BMW          X1                  PHOENIX                   AZ
142815   WBXJG9C08L3L84972   BMW          X1                  PHOENIX                   AZ
142816   WBXJG9C08L3L85703   BMW          X1                  PHOENIX                   AZ
142817   WBXJG9C08L5P73485   BMW          X1                  MIAMI                     FL
142818   WBXJG9C08L5P73731   BMW          X1                  JACKSONVILLE              FL
142819   WBXJG9C08L5P73793   BMW          X1                  FORT MYERS                FL
142820   WBXJG9C08L5P73809   BMW          X1                  ATLANTA                   GA
142821   WBXJG9C08L5P73826   BMW          X1                  SARASOTA                  FL
142822   WBXJG9C08L5P73924   BMW          X1                  MIAMI                     FL
142823   WBXJG9C08L5P73969   BMW          X1                  WEST PALM BEACH           FL
142824   WBXJG9C08L5P74006   BMW          X1                  WEST PALM BEACH           FL
142825   WBXJG9C08L5P74023   BMW          X1                  MIAMI                     FL
142826   WBXJG9C08L5P74541   BMW          X1                  TAMPA                     US
142827   WBXJG9C08L5P74653   BMW          X1                  ATLANTA                   GA
142828   WBXJG9C08L5P74734   BMW          X1                  MIAMI                     FL
142829   WBXJG9C08L5P74796   BMW          X1                  Houston                   TX
142830   WBXJG9C08L5P75396   BMW          X1                  ORLANDO                   FL
142831   WBXJG9C08L5P75401   BMW          X1                  FORT LAUDERDALE           FL
142832   WBXJG9C08L5P75432   BMW          X1                  FORT MYERS                FL
142833   WBXJG9C08L5P75477   BMW          X1                  ORLANDO                   FL
142834   WBXJG9C08L5P75575   BMW          X1                  ORLANDO                   FL
142835   WBXJG9C08L5P75639   BMW          X1                  ORLANDO                   FL
142836   WBXJG9C08L5P75737   BMW          X1                  ORLANDO                   FL
142837   WBXJG9C08L5P75768   BMW          X1                  ORLANDO                   FL
142838   WBXJG9C08L5P75818   BMW          X1                  FORT MYERS                FL
142839   WBXJG9C08L5P76094   BMW          X1                  FORT LAUDERDALE           FL
142840   WBXJG9C08L5P77925   BMW          X1                  FORT LAUDERDALE           FL
142841   WBXJG9C08L5P78167   BMW          X1                  FORT MYERS                FL
142842   WBXJG9C08L5P78220   BMW          X1                  ORLANDO                   FL
142843   WBXJG9C08L5P78248   BMW          X1                  FORT MYERS                FL
142844   WBXJG9C08L5P78363   BMW          X1                  DAYTONA BEACH             FL
142845   WBXJG9C08L5P78394   BMW          X1                  MIAMI                     FL
142846   WBXJG9C08L5P78444   BMW          X1                  FORT MYERS                FL
142847   WBXJG9C08L5P78587   BMW          X1                  TAMPA                     FL
142848   WBXJG9C08L5P87046   BMW          X1                  PALM SPRINGS              CA
142849   WBXJG9C08L5P87144   BMW          X1                  ORANGE COUNTY             CA
142850   WBXJG9C08L5P87340   BMW          X1                  SANTA ANA                 CA
142851   WBXJG9C08L5P88133   BMW          X1                  PALM SPRINGS              CA
142852   WBXJG9C08L5P88312   BMW          X1                  DALLAS                    TX
142853   WBXJG9C08L5P88360   BMW          X1                  PHOENIX                   AZ
142854   WBXJG9C08L5P88441   BMW          X1                  LOS ANGELES               CA
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142855   WBXJG9C08L5P88536   BMW          X1                  ORANGE COUNTY             CA
142856   WBXJG9C08L5P88584   BMW          X1                  LAS VEGAS                 NV
142857   WBXJG9C08L5P88732   BMW          X1                  DENVER                    CO
142858   WBXJG9C08L5P88777   BMW          X1                  LAS VEGAS                 NV
142859   WBXJG9C08L5P89640   BMW          X1                  LAS VEGAS                 NV
142860   WBXJG9C08L5P89699   BMW          X1                  LAS VEGAS                 NV
142861   WBXJG9C08L5P89704   BMW          X1                  LAS VEGAS                 NV
142862   WBXJG9C08L5P89783   BMW          X1                  LAS VEGAS                 NV
142863   WBXJG9C08L5P89878   BMW          X1                  LAS VEGAS                 NV
142864   WBXJG9C08L5P91016   BMW          X1                  LOS ANGELES               CA
142865   WBXJG9C08L5P91131   BMW          X1                  ALBUQUERQUE               NM
142866   WBXJG9C08L5P91212   BMW          X1                  LOS ANGELES               CA
142867   WBXJG9C08L5P91243   BMW          X1                  LAS VEGAS                 NV
142868   WBXJG9C08L5P91274   BMW          X1                  BURBANK                   CA
142869   WBXJG9C08L5P91307   BMW          X1                  LOS ANGELES               CA
142870   WBXJG9C08L5P91310   BMW          X1                  DENVER                    CO
142871   WBXJG9C08L5P92487   BMW          X1                  SANTA ANA                 CA
142872   WBXJG9C08L5P92523   BMW          X1                  PHOENIX                   AZ
142873   WBXJG9C08L5P92585   BMW          X1                  LOS ANGELES               CA
142874   WBXJG9C08L5P92831   BMW          X1                  LOS ANGELES AP            CA
142875   WBXJG9C08L5P93056   BMW          X1                  PHOENIX                   AZ
142876   WBXJG9C08L5P93218   BMW          X1                  PHOENIX                   AZ
142877   WBXJG9C08L5P93283   BMW          X1                  PHOENIX                   AZ
142878   WBXJG9C08L5P93333   BMW          X1                  PHOENIX                   AZ
142879   WBXJG9C08L5P93350   BMW          X1                  MIAMI                     FL
142880   WBXJG9C08L5P94000   BMW          X1                  FORT MYERS                FL
142881   WBXJG9C08L5P94014   BMW          X1                  FORT MYERS                FL
142882   WBXJG9C08L5P94109   BMW          X1                  FORT LAUDERDALE           FL
142883   WBXJG9C08L5P94224   BMW          X1                  MIAMI                     FL
142884   WBXJG9C08L5P94286   BMW          X1                  FORT LAUDERDALE           FL
142885   WBXJG9C08L5P94319   BMW          X1                  WEST PALM BEACH           FL
142886   WBXJG9C08L5P94322   BMW          X1                  FORT LAUDERDALE           FL
142887   WBXJG9C08L5P94353   BMW          X1                  PHOENIX                   AZ
142888   WBXJG9C08L5P95356   BMW          X1                  FORT LAUDERDALE           FL
142889   WBXJG9C08L5P95714   BMW          X1                  FORT MYERS                FL
142890   WBXJG9C08L5P95857   BMW          X1                  MIAMI                     FL
142891   WBXJG9C08L5P95955   BMW          X1                  ORLANDO                   FL
142892   WBXJG9C08L5P96149   BMW          X1                  DALLAS                    TX
142893   WBXJG9C08L5P96541   BMW          X1                  ORLANDO                   FL
142894   WBXJG9C08L5P96698   BMW          X1                  Ft. Myers                 FL
142895   WBXJG9C08L5P96748   BMW          X1                  HOUSTON                   TX
142896   WBXJG9C08L5P96801   BMW          X1                  HOUSTON                   TX
142897   WBXJG9C08L5P97298   BMW          X1                  DALLAS                    TX
142898   WBXJG9C08L5P97480   BMW          X1                  DALLAS                    TX
142899   WBXJG9C08L5P97527   BMW          X1                  DALLAS                    TX
142900   WBXJG9C08L5P97544   BMW          X1                  DALLAS                    TX
142901   WBXJG9C08L5P97737   BMW          X1                  DALLAS                    TX
142902   WBXJG9C08L5P97902   BMW          X1                  DALLAS                    TX
142903   WBXJG9C08L5P99889   BMW          X1                  LAS VEGAS                 NV
142904   WBXJG9C08L5R00574   BMW          X1                  SAN FRANCISCO             CA
142905   WBXJG9C08L5R00848   BMW          X1                  SAN FRANCISCO             CA
142906   WBXJG9C08L5R00865   BMW          X1                  PORTLAND                  OR
142907   WBXJG9C08L5R00896   BMW          X1                  SAN FRANCISCO             CA
142908   WBXJG9C08L5R00901   BMW          X1                  SAN FRANCISCO             CA
142909   WBXJG9C08L5R01062   BMW          X1                  SALT LAKE CITY            UT
142910   WBXJG9C08L5R01563   BMW          X1                  SAN FRANCISCO             CA
142911   WBXJG9C08L5R01823   BMW          X1                  SACRAMENTO                CA
142912   WBXJG9C08L5R01871   BMW          X1                  SAN FRANCISCO             CA
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142913   WBXJG9C08L5R01949   BMW          X1                  albuquerque               nm
142914   WBXJG9C08L5R03698   BMW          X1                  NEWARK                    NJ
142915   WBXJG9C08L5R05919   BMW          X1                  FORT LAUDERDALE           FL
142916   WBXJG9C08L5R06147   BMW          X1                  KNOXVILLE                 TN
142917   WBXJG9C08L5R06181   BMW          X1                  Hebron                    KY
142918   WBXJG9C08L5R06472   BMW          X1                  PHILADELPHIA              PA
142919   WBXJG9C08L5R06620   BMW          X1                  NEWARK                    NJ
142920   WBXJG9C08L5R32506   BMW          X1                  EAST BOSTON               MA
142921   WBXJG9C08L5R32697   BMW          X1                  NEW YORK CITY             NY
142922   WBXJG9C08L5R32747   BMW          X1                  EAST BOSTON               MA
142923   WBXJG9C08L5R33185   BMW          X1                  HANOVER                   MD
142924   WBXJG9C09L3L77058   BMW          X1                  HOUSTON                   TX
142925   WBXJG9C09L3L77108   BMW          X1                  HOUSTON                   TX
142926   WBXJG9C09L3L77335   BMW          X1                  KANSAS CITY               MO
142927   WBXJG9C09L3L79800   BMW          X1                  NEW YORK CITY             NY
142928   WBXJG9C09L3L79828   BMW          X1                  LAS VEGAS                 NV
142929   WBXJG9C09L3L81630   BMW          X1                  FORT LAUDERDALE           FL
142930   WBXJG9C09L3L81661   BMW          X1                  BOSTON                    MA
142931   WBXJG9C09L3L81711   BMW          X1                  JACKSONVILLE              FL
142932   WBXJG9C09L3L81725   BMW          X1                  STERLING                  VA
142933   WBXJG9C09L3L81773   BMW          X1                  PHILADELPHIA              PA
142934   WBXJG9C09L3L83202   BMW          X1                  BOSTON                    MA
142935   WBXJG9C09L3L83748   BMW          X1                  WHITE PLAINS              NY
142936   WBXJG9C09L3L83782   BMW          X1                  WARWICK                   RI
142937   WBXJG9C09L3L83796   BMW          X1                  BALTIMORE                 MD
142938   WBXJG9C09L3L83829   BMW          X1                  WARWICK                   RI
142939   WBXJG9C09L3L85922   BMW          X1                  SAN FRANCISCO             CA
142940   WBXJG9C09L3L85936   BMW          X1                  Pheonix                   AZ
142941   WBXJG9C09L5P73401   BMW          X1                  DANIA                     FL
142942   WBXJG9C09L5P73446   BMW          X1                  FORT LAUDERDALE           FL
142943   WBXJG9C09L5P73706   BMW          X1                  WEST PALM BEACH           FL
142944   WBXJG9C09L5P73740   BMW          X1                  WEST PALM BEACH           FL
142945   WBXJG9C09L5P73799   BMW          X1                  MIAMI                     FL
142946   WBXJG9C09L5P73852   BMW          X1                  ORLANDO                   FL
142947   WBXJG9C09L5P74001   BMW          X1                  FORT LAUDERDALE           FL
142948   WBXJG9C09L5P74015   BMW          X1                  FORT LAUDERDALE           FL
142949   WBXJG9C09L5P74712   BMW          X1                  JACKSONVILLE              FL
142950   WBXJG9C09L5P74774   BMW          X1                  Ft. Myers                 FL
142951   WBXJG9C09L5P75178   BMW          X1                  FORT MYERS                FL
142952   WBXJG9C09L5P75794   BMW          X1                  FORT MYERS                FL
142953   WBXJG9C09L5P76086   BMW          X1                  MIAMI                     FL
142954   WBXJG9C09L5P77951   BMW          X1                  FORT MYERS                FL
142955   WBXJG9C09L5P78078   BMW          X1                  Harvey                    LA
142956   WBXJG9C09L5P78257   BMW          X1                  FORT MYERS                FL
142957   WBXJG9C09L5P78338   BMW          X1                  TAMPA                     US
142958   WBXJG9C09L5P78405   BMW          X1                  ORLANDO                   FL
142959   WBXJG9C09L5P78484   BMW          X1                  FORT MYERS                FL
142960   WBXJG9C09L5P78503   BMW          X1                  TAMPA                     FL
142961   WBXJG9C09L5P78534   BMW          X1                  ORLANDO                   FL
142962   WBXJG9C09L5P88254   BMW          X1                  PICO RIVERA               CA
142963   WBXJG9C09L5P88481   BMW          X1                  SANTA ANA                 CA
142964   WBXJG9C09L5P88626   BMW          X1                  SAN JOSE                  CA
142965   WBXJG9C09L5P88707   BMW          X1                  LOS ANGELES               CA
142966   WBXJG9C09L5P88710   BMW          X1                  LOS ANGELES               CA
142967   WBXJG9C09L5P89436   BMW          X1                  LAS VEGAS                 NV
142968   WBXJG9C09L5P89551   BMW          X1                  LAS VEGAS                 NV
142969   WBXJG9C09L5P89615   BMW          X1                  LAS VEGAS                 NV
142970   WBXJG9C09L5P89713   BMW          X1                  LAS VEGAS                 NV
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142971   WBXJG9C09L5P89744   BMW          X1                  LAS VEGAS                 NV
142972   WBXJG9C09L5P89839   BMW          X1                  Los Angeles               CA
142973   WBXJG9C09L5P90960   BMW          X1                  LOS ANGELES               CA
142974   WBXJG9C09L5P91011   BMW          X1                  SAN DIEGO                 CA
142975   WBXJG9C09L5P91087   BMW          X1                  SAN FRANCISCO             CA
142976   WBXJG9C09L5P91137   BMW          X1                  SANTA BARBARA             CA
142977   WBXJG9C09L5P91218   BMW          X1                  BURBANK                   CA
142978   WBXJG9C09L5P91221   BMW          X1                  LOS ANGELES               CA
142979   WBXJG9C09L5P91297   BMW          X1                  LOS ANGELES               CA
142980   WBXJG9C09L5P91316   BMW          X1                  LOS ANGELES               CA
142981   WBXJG9C09L5P91333   BMW          X1                  SAN FRANCISCO             CA
142982   WBXJG9C09L5P92479   BMW          X1                  LOS ANGELES               CA
142983   WBXJG9C09L5P92482   BMW          X1                  LOS ANGELES AP            CA
142984   WBXJG9C09L5P92532   BMW          X1                  TULSA                     OK
142985   WBXJG9C09L5P92580   BMW          X1                  LOS ANGELES               CA
142986   WBXJG9C09L5P92739   BMW          X1                  LOS ANGELES AP            CA
142987   WBXJG9C09L5P92885   BMW          X1                  BURBANK                   CA
142988   WBXJG9C09L5P93244   BMW          X1                  PHOENIX                   AZ
142989   WBXJG9C09L5P93325   BMW          X1                  PHOENIX                   AZ
142990   WBXJG9C09L5P93356   BMW          X1                  DAYTONA BEACH             FL
142991   WBXJG9C09L5P93874   BMW          X1                  WEST PALM BEACH           FL
142992   WBXJG9C09L5P93888   BMW          X1                  NASHVILLE                 TN
142993   WBXJG9C09L5P94104   BMW          X1                  WEST PALM BEACH           FL
142994   WBXJG9C09L5P94135   BMW          X1                  PHOENIX                   AZ
142995   WBXJG9C09L5P94152   BMW          X1                  PHOENIX                   AZ
142996   WBXJG9C09L5P94278   BMW          X1                  WEST PALM BEACH           FL
142997   WBXJG9C09L5P94295   BMW          X1                  WEST PALM BEACH           FL
142998   WBXJG9C09L5P94331   BMW          X1                  TAMPA                     FL
142999   WBXJG9C09L5P94345   BMW          X1                  ORLANDO                   FL
143000   WBXJG9C09L5P94376   BMW          X1                  PHOENIX                   AZ
143001   WBXJG9C09L5P95334   BMW          X1                  FORT LAUDERDALE           FL
143002   WBXJG9C09L5P95480   BMW          X1                  BOSTON, LOGAN AP          MA
143003   WBXJG9C09L5P95592   BMW          X1                  ORLANDO                   FL
143004   WBXJG9C09L5P95737   BMW          X1                  ORLANDO                   FL
143005   WBXJG9C09L5P95849   BMW          X1                  TALLAHASSEE               FL
143006   WBXJG9C09L5P95902   BMW          X1                  MIAMI                     FL
143007   WBXJG9C09L5P96029   BMW          X1                  HOUSTON                   TX
143008   WBXJG9C09L5P96712   BMW          X1                  FORT MYERS                FL
143009   WBXJG9C09L5P96791   BMW          X1                  HOUSTON                   TX
143010   WBXJG9C09L5P97858   BMW          X1                  DALLAS                    TX
143011   WBXJG9C09L5R00535   BMW          X1                  SAN FRANCISCO             CA
143012   WBXJG9C09L5R01054   BMW          X1                  LAS VEGAS                 NV
143013   WBXJG9C09L5R01698   BMW          X1                  LOS ANGELES               CA
143014   WBXJG9C09L5R01748   BMW          X1                  SAN FRANCISCO             CA
143015   WBXJG9C09L5R01815   BMW          X1                  SAN FRANCISCO             CA
143016   WBXJG9C09L5R05668   BMW          X1                  NEWARK                    NJ
143017   WBXJG9C09L5R06349   BMW          X1                  TAMPA                     FL
143018   WBXJG9C09L5R06500   BMW          X1                  BOSTON                    MA
143019   WBXJG9C09L5R32319   BMW          X1                  EAST BOSTON               MA
143020   WBXJG9C09L5R32420   BMW          X1                  EAST BOSTON               MA
143021   WBXJG9C09L5R32529   BMW          X1                  STERLING                  VA
143022   WBXJG9C09L5R32613   BMW          X1                  BOSTON, LOGAN AP          MA
143023   WBXJG9C09L5R32658   BMW          X1                  SYRACUSE                  NY
143024   WBXJG9C09L5R32675   BMW          X1                  JAMAICA                   NY
143025   WBXJG9C09L5R32871   BMW          X1                  BOSTON, LOGAN AP          MA
143026   WBXJG9C09L5R32904   BMW          X1                  EAST BOSTON               MA
143027   WBXJG9C09L5R32918   BMW          X1                  BOSTON, LOGAN AP          MA
143028   WBXJG9C0XL3L78302   BMW          X1                  HOUSTON                   TX
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143029   WBXJG9C0XL3L79787   BMW          X1                  STERLING                  VA
143030   WBXJG9C0XL3L79806   BMW          X1                  NORFOLK                   VA
143031   WBXJG9C0XL3L79837   BMW          X1                  LAS VEGAS                 NV
143032   WBXJG9C0XL3L81037   BMW          X1                  CLEVELAND                 OH
143033   WBXJG9C0XL3L81040   BMW          X1                  ALEXANDRIA                VA
143034   WBXJG9C0XL3L81104   BMW          X1                  LAS VEGAS                 NV
143035   WBXJG9C0XL3L81118   BMW          X1                  LAS VEGAS                 NV
143036   WBXJG9C0XL3L81619   BMW          X1                  NEW YORK CITY             NY
143037   WBXJG9C0XL3L81748   BMW          X1                  FORT LAUDERDALE           FL
143038   WBXJG9C0XL3L83130   BMW          X1                  INDIANAPOLIS              IN
143039   WBXJG9C0XL3L83726   BMW          X1                  NEW YORK CITY             NY
143040   WBXJG9C0XL3L83791   BMW          X1                  STERLING                  VA
143041   WBXJG9C0XL3L83807   BMW          X1                  STERLING                  VA
143042   WBXJG9C0XL3L84438   BMW          X1                  SAN FRANCISCO             CA
143043   WBXJG9C0XL3L84925   BMW          X1                  LAS VEGAS                 NV
143044   WBXJG9C0XL3L86562   BMW          X1                  PHOENIX                   AZ
143045   WBXJG9C0XL5P73388   BMW          X1                  ORLANDO                   FL
143046   WBXJG9C0XL5P73505   BMW          X1                  MIAMI                     FL
143047   WBXJG9C0XL5P73536   BMW          X1                  WEST PALM BEACH           FL
143048   WBXJG9C0XL5P73567   BMW          X1                  FORT LAUDERDALE           FL
143049   WBXJG9C0XL5P73634   BMW          X1                  FORT LAUDERDALE           FL
143050   WBXJG9C0XL5P73682   BMW          X1                  TAMPA                     FL
143051   WBXJG9C0XL5P73696   BMW          X1                  HOUSTON                   TX
143052   WBXJG9C0XL5P73911   BMW          X1                  MIAMI                     FL
143053   WBXJG9C0XL5P73939   BMW          X1                  FORT LAUDERDALE           FL
143054   WBXJG9C0XL5P73942   BMW          X1                  ORLANDO                   FL
143055   WBXJG9C0XL5P73990   BMW          X1                  WEST PALM BEACH           FL
143056   WBXJG9C0XL5P74010   BMW          X1                  FORT MYERS                FL
143057   WBXJG9C0XL5P74055   BMW          X1                  ORLANDO                   FL
143058   WBXJG9C0XL5P74296   BMW          X1                  FORT MYERS                FL
143059   WBXJG9C0XL5P74511   BMW          X1                  WEST PALM BEACH           FL
143060   WBXJG9C0XL5P74671   BMW          X1                  Tampa                     FL
143061   WBXJG9C0XL5P74704   BMW          X1                  MIAMI                     FL
143062   WBXJG9C0XL5P74783   BMW          X1                  FORT LAUDERDALE           FL
143063   WBXJG9C0XL5P75304   BMW          X1                  ORLANDO                   FL
143064   WBXJG9C0XL5P75710   BMW          X1                  FORT LAUDERDALE           FL
143065   WBXJG9C0XL5P75836   BMW          X1                  FORT LAUDERDALE           FL
143066   WBXJG9C0XL5P75870   BMW          X1                  WEST PALM BEACH           FL
143067   WBXJG9C0XL5P75903   BMW          X1                  FORT LAUDERDALE           FL
143068   WBXJG9C0XL5P76033   BMW          X1                  ORLANDO                   FL
143069   WBXJG9C0XL5P76999   BMW          X1                  ORLANDO                   FL
143070   WBXJG9C0XL5P77795   BMW          X1                  FORT MYERS                FL
143071   WBXJG9C0XL5P77814   BMW          X1                  WEST PALM BEACH           FL
143072   WBXJG9C0XL5P77831   BMW          X1                  MIAMI                     FL
143073   WBXJG9C0XL5P78252   BMW          X1                  FORT MYERS                FL
143074   WBXJG9C0XL5P78266   BMW          X1                  WOODSON TERRACE           MO
143075   WBXJG9C0XL5P78400   BMW          X1                  JACKSONVILLE              FL
143076   WBXJG9C0XL5P78428   BMW          X1                  ORLANDO                   FL
143077   WBXJG9C0XL5P78509   BMW          X1                  ORLANDO                   FL
143078   WBXJG9C0XL5P78512   BMW          X1                  FORT MYERS                FL
143079   WBXJG9C0XL5P78557   BMW          X1                  ORLANDO                   FL
143080   WBXJG9C0XL5P88215   BMW          X1                  LAS VEGAS                 NV
143081   WBXJG9C0XL5P88554   BMW          X1                  LOS ANGELES               CA
143082   WBXJG9C0XL5P88571   BMW          X1                  SAN DIEGO                 CA
143083   WBXJG9C0XL5P88618   BMW          X1                  PORTLAND                  OR
143084   WBXJG9C0XL5P88666   BMW          X1                  LOS ANGELES               CA
143085   WBXJG9C0XL5P88764   BMW          X1                  LAS VEGAS                 NV
143086   WBXJG9C0XL5P89526   BMW          X1                  LAS VEGAS                 NV
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143087   WBXJG9C0XL5P89834   BMW            X1                  LAS VEGAS                 NV
143088   WBXJG9C0XL5P89882   BMW            X1                  PHOENIX                   AZ
143089   WBXJG9C0XL5P90904   BMW            X1                  LAS VEGAS                 NV
143090   WBXJG9C0XL5P90935   BMW            X1                  LAS VEGAS                 NV
143091   WBXJG9C0XL5P91020   BMW            X1                  LOS ANGELES               CA
143092   WBXJG9C0XL5P91096   BMW            X1                  SANTA ANA                 CA
143093   WBXJG9C0XL5P91129   BMW            X1                  LOS ANGELES               CA
143094   WBXJG9C0XL5P91258   BMW            X1                  PALM SPRINGS              CA
143095   WBXJG9C0XL5P91261   BMW            X1                  LAS VEGAS                 NV
143096   WBXJG9C0XL5P91325   BMW            X1                  LOS ANGELES AP            CA
143097   WBXJG9C0XL5P92300   BMW            X1                  LOS ANGELES               CA
143098   WBXJG9C0XL5P92331   BMW            X1                  LOS ANGELES               CA
143099   WBXJG9C0XL5P92541   BMW            X1                  PHOENIX                   AZ
143100   WBXJG9C0XL5P92622   BMW            X1                  PHOENIX                   AZ
143101   WBXJG9C0XL5P92863   BMW            X1                  LOS ANGELES               CA
143102   WBXJG9C0XL5P92961   BMW            X1                  LOS ANGELES AP            CA
143103   WBXJG9C0XL5P92992   BMW            X1                  PORTLAND                  OR
143104   WBXJG9C0XL5P94161   BMW            X1                  PHOENIX                   AZ
143105   WBXJG9C0XL5P94211   BMW            X1                  ORLANDO                   FL
143106   WBXJG9C0XL5P94242   BMW            X1                  MIAMI                     FL
143107   WBXJG9C0XL5P94273   BMW            X1                  WEST PALM BEACH           FL
143108   WBXJG9C0XL5P95424   BMW            X1                  MIAMI INT'L AP            FL
143109   WBXJG9C0XL5P95553   BMW            X1                  SAVANNAH                  GA
143110   WBXJG9C0XL5P95584   BMW            X1                  ORLANDO                   FL
143111   WBXJG9C0XL5P95732   BMW            X1                  DANIA BEACH               FL
143112   WBXJG9C0XL5P95875   BMW            X1                  WEST PALM BEACH           FL
143113   WBXJG9C0XL5P95889   BMW            X1                  FT. LAUDERDALE            FL
143114   WBXJG9C0XL5P96525   BMW            X1                  ORLANDO                   FL
143115   WBXJG9C0XL5P96654   BMW            X1                  FORT MYERS                FL
143116   WBXJG9C0XL5P96718   BMW            X1                  HOUSTON                   TX
143117   WBXJG9C0XL5P96797   BMW            X1                  HOUSTON                   TX
143118   WBXJG9C0XL5P97657   BMW            X1                  DALLAS                    TX
143119   WBXJG9C0XL5P97691   BMW            X1                  DALLAS                    TX
143120   WBXJG9C0XL5P97836   BMW            X1                  DALLAS                    TX
143121   WBXJG9C0XL5R00687   BMW            X1                  LOS ANGELES               CA
143122   WBXJG9C0XL5R00916   BMW            X1                  SAN FRANCISCO             CA
143123   WBXJG9C0XL5R01709   BMW            X1                  SAN DIEGO                 CA
143124   WBXJG9C0XL5R01712   BMW            X1                  SAN FRANCISCO             CA
143125   WBXJG9C0XL5R01757   BMW            X1                  OAKLAND                   CA
143126   WBXJG9C0XL5R01774   BMW            X1                  SAN FRANCISCO             CA
143127   WBXJG9C0XL5R03296   BMW            X1                  MYRTLE BEACH              SC
143128   WBXJG9C0XL5R05937   BMW            X1                  NEWARK                    NJ
143129   WBXJG9C0XL5R06084   BMW            X1                  PHILADELPHIA              PA
143130   WBXJG9C0XL5R06117   BMW            X1                  PHILADELPHIA              PA
143131   WBXJG9C0XL5R06375   BMW            X1                  TAMPA                     FL
143132   WBXJG9C0XL5R30028   BMW            X1                  DENVER                    CO
143133   WBXJG9C0XL5R32636   BMW            X1                  PITTSBURGH                PA
143134   WBXJG9C0XL5R32751   BMW            X1                  JACKSONVILLE              FL
143135   WBXJG9C0XL5R32930   BMW            X1                  BOSTON, LOGAN AP          MA
143136   WBXJG9C0XL5R32958   BMW            X1                  BOSTON, LOGAN AP          MA
143137   WBXJG9C0XL5R33043   BMW            X1                  HOUSTON                   TX
143138   WBXJG9C0XL5R33141   BMW            X1                  BOSTON, LOGAN AP          MA
143139   WD4PG2EE6G3160702   Mercedes       C300                HOUSTON                   TX
143140   WDC0G4JB0KF596773   Mercedes       GLC300              BURBANK                   CA
143141   WDC0G4JB0KF597776   Mercedes       GLC300              SAN JOSE                  CA
143142   WDC0G4JB0KF603222   Mercedes       GLC300              LAS VEGAS                 NV
143143   WDC0G4JB0KF608436   Mercedes       GLC300              BURBANK                   CA
143144   WDC0G4JB0KV158700   Mercedes       GLC300              MIAMI                     FL
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143145   WDC0G4JB0KV160303   Mercedes       GLC300              MIAMI                     FL
143146   WDC0G4JB0KV165405   Mercedes       GLC300              SAN DIEGO                 CA
143147   WDC0G4JB0KV169020   Mercedes       GLC300              SAN FRANCISCO             CA
143148   WDC0G4JB1KF594448   Mercedes       GLC300              FORT LAUDERDALE           FL
143149   WDC0G4JB1KF595941   Mercedes       GLC300              PORTLAND                  OR
143150   WDC0G4JB1KF600748   Mercedes       GLC300              LOS ANGELES               CA
143151   WDC0G4JB1KF601849   Mercedes       GLC300              LOS ANGELES               CA
143152   WDC0G4JB1KF603567   Mercedes       GLC300              KNOXVILLE                 TN
143153   WDC0G4JB1KF604931   Mercedes       GLC300              Hayward                   CA
143154   WDC0G4JB1KF606422   Mercedes       GLC300              ONTARIO                   CA
143155   WDC0G4JB1KV167356   Mercedes       GLC300              AUSTIN                    TX
143156   WDC0G4JB1KV169043   Mercedes       GLC300              FORT LAUDERDALE           FL
143157   WDC0G4JB1KV170340   Mercedes       GLC300              MIAMI                     FL
143158   WDC0G4JB2KF598346   Mercedes       GLC300              EL SEGUNDO                CA
143159   WDC0G4JB2KF600483   Mercedes       GLC300              ONTARIO                   CA
143160   WDC0G4JB2KF609250   Mercedes       GLC300              SAN FRANCISCO             CA
143161   WDC0G4JB2KV157631   Mercedes       GLC300              FORT MYERS                FL
143162   WDC0G4JB2KV158679   Mercedes       GLC300              Tampa                     FL
143163   WDC0G4JB2KV165017   Mercedes       GLC300              LOS ANGELES               CA
143164   WDC0G4JB2KV167365   Mercedes       GLC300              DALLAS                    TX
143165   WDC0G4JB3KV158058   Mercedes       GLC300              DENVER                    CO
143166   WDC0G4JB3KV158738   Mercedes       GLC300              WEST PALM BEACH           FL
143167   WDC0G4JB3KV160084   Mercedes       GLC300              MIAMI                     FL
143168   WDC0G4JB3KV160747   Mercedes       GLC300              MIAMI                     FL
143169   WDC0G4JB4KF598963   Mercedes       GLC300              SAN JOSE                  CA
143170   WDC0G4JB4KF605054   Mercedes       GLC300              PALM S                    CA
143171   WDC0G4JB4KF608729   Mercedes       GLC300              LOS ANGELES               CA
143172   WDC0G4JB4KF610156   Mercedes       GLC300              Kent                      WA
143173   WDC0G4JB4KV157551   Mercedes       GLC300              MIAMI                     FL
143174   WDC0G4JB4KV159297   Mercedes       GLC300              HOUSTON                   TX
143175   WDC0G4JB4KV167805   Mercedes       GLC300              BOSTON                    MA
143176   WDC0G4JB4KV169103   Mercedes       GLC300              JACKSONVILLE              FL
143177   WDC0G4JB4KV169442   Mercedes       GLC300              WEST PALM BEACH           FL
143178   WDC0G4JB5KF596431   Mercedes       GLC300              LOS ANGELES               CA
143179   WDC0G4JB5KF598499   Mercedes       GLC300              LOS ANGELES               CA
143180   WDC0G4JB5KF604978   Mercedes       GLC300              SANTA BARBARA             CA
143181   WDC0G4JB5KF607539   Mercedes       GLC300              Denver                    CO
143182   WDC0G4JB5KV159583   Mercedes       GLC300              FORT LAUDERDALE           FL
143183   WDC0G4JB5KV164766   Mercedes       GLC300              LOS ANGELES               CA
143184   WDC0G4JB5KV168106   Mercedes       GLC300              TAMPA                     FL
143185   WDC0G4JB5KV168655   Mercedes       GLC300              Ft. Myers                 FL
143186   WDC0G4JB6KF594588   Mercedes       GLC300              FORT LAUDERDALE           FL
143187   WDC0G4JB6KF596678   Mercedes       GLC300              INDIANAPOLIS              IN
143188   WDC0G4JB6KF608022   Mercedes       GLC300              Riverside                 CA
143189   WDC0G4JB6KF608103   Mercedes       GLC300              LOS ANGELES               CA
143190   WDC0G4JB6KV158944   Mercedes       GLC300              WEST PALM BEACH           FL
143191   WDC0G4JB6KV168065   Mercedes       GLC300              DANIA BEACH               FL
143192   WDC0G4JB7KF598083   Mercedes       GLC300              LOS ANGELES               CA
143193   WDC0G4JB7KF604805   Mercedes       GLC300              OAKLAND                   CA
143194   WDC0G4JB7KV157558   Mercedes       GLC300              Wilmington                NC
143195   WDC0G4JB7KV158001   Mercedes       GLC300              MIAMI                     FL
143196   WDC0G4JB7KV160556   Mercedes       GLC300              Tampa                     FL
143197   WDC0G4JB7KV164638   Mercedes       GLC300              PALM S                    CA
143198   WDC0G4JB7KV165028   Mercedes       GLC300              LAS VEGAS                 NV
143199   WDC0G4JB7KV167054   Mercedes       GLC300              TAMPA                     FL
143200   WDC0G4JB7KV169046   Mercedes       GLC300              Lake Elsinore             CA
143201   WDC0G4JB8KF596245   Mercedes       GLC300              NEWPORT BEACH             CA
143202   WDC0G4JB8KF596861   Mercedes       GLC300              PHOENIX                   AZ
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143203   WDC0G4JB8KF605221   Mercedes       GLC300              SACRAMENTO                CA
143204   WDC0G4JB8KV160064   Mercedes       GLC300              Tampa                     FL
143205   WDC0G4JB8KV160288   Mercedes       GLC300              FORT LAUDERDALE           FL
143206   WDC0G4JB8KV165104   Mercedes       GLC300              BUFFALO                   NY
143207   WDC0G4JB9KF594715   Mercedes       GLC300              SAN JOSE                  CA
143208   WDC0G4JB9KF596853   Mercedes       GLC300              BURLINGAME                CA
143209   WDC0G4JB9KF600271   Mercedes       GLC300              NEWPORT BEACH             CA
143210   WDC0G4JB9KF606569   Mercedes       GLC300              SAN JOSE                  CA
143211   WDC0G4JB9KF607270   Mercedes       GLC300              SAN FRANCISCO             CA
143212   WDC0G4JB9KV157884   Mercedes       GLC300              ORLANDO                   FL
143213   WDC0G4JB9KV158873   Mercedes       GLC300              FORT LAUDERDALE           FL
143214   WDC0G4JB9KV167072   Mercedes       GLC300              SAN FRANCISCO             CA
143215   WDC0G4JB9KV167217   Mercedes       GLC300              WEST PALM BEACH           FL
143216   WDC0G4JB9KV167976   Mercedes       GLC300              MIAMI                     FL
143217   WDC0G4JBXKF580550   Mercedes       GLC300              MIAMI                     FL
143218   WDC0G4JBXKF602305   Mercedes       GLC300              LOS ANGELES               CA
143219   WDC0G4JBXKF606449   Mercedes       GLC300              LOS ANGELES               CA
143220   WDC0G4JBXKF606600   Mercedes       GLC300              LAS VEGAS                 NV
143221   WDC0G4JBXKF606757   Mercedes       GLC300              LOS ANGELES               CA
143222   WDC0G4JBXKV157828   Mercedes       GLC300              ORLANDO                   FL
143223   WDC0G4JBXKV168876   Mercedes       GLC300              ORLANDO                   FL
143224   WDC0G4JBXKV169414   Mercedes       GLC300              LOS ANGELES               CA
143225   WDC0G4KB0HV006827   Mercedes       GLC300              PLEASANTON                CA
143226   WDC0G4KB0JV075393   Mercedes       GLC300              Kahului                   HI
143227   WDC0G4KB0JV076446   Mercedes       GLC300              Honolulu                  HI
143228   WDC0G4KB0JV076513   Mercedes       GLC300              HONOLULU                  HI
143229   WDC0G4KB0KF583939   Mercedes       GLC300              SALT LAKE CITY            US
143230   WDC0G4KB0KF600884   Mercedes       GLC300              Bensalem                  PA
143231   WDC0G4KB0KV161966   Mercedes       GLC300              PORTLAND                  OR
143232   WDC0G4KB0KV162020   Mercedes       GLC300              NEWARK                    NJ
143233   WDC0G4KB0KV164754   Mercedes       GLC300              NEWARK                    NJ
143234   WDC0G4KB0KV165063   Mercedes       GLC300              BALTIMORE                 MD
143235   WDC0G4KB0KV168741   Mercedes       GLC300              PHILADELPHIA              PA
143236   WDC0G4KB1HF212992   Mercedes       GLC300              FAYETTEVILLE              GA
143237   WDC0G4KB1HF251520   Mercedes       GLC300              KAHULUI                   HI
143238   WDC0G4KB1HF257673   Mercedes       GLC300              Grove City                OH
143239   WDC0G4KB1JV076665   Mercedes       GLC300              Kahului                   HI
143240   WDC0G4KB1KF579477   Mercedes       GLC300              DENVER                    CO
143241   WDC0G4KB1KF582962   Mercedes       GLC300              DENVER                    CO
143242   WDC0G4KB1KV163998   Mercedes       GLC300              ORLANDO                   FL
143243   WDC0G4KB1KV167243   Mercedes       GLC300              DENVER                    CO
143244   WDC0G4KB1KV167534   Mercedes       GLC300              DENVER                    CO
143245   WDC0G4KB1KV168621   Mercedes       GLC300              JACKSONVILLE              FL
143246   WDC0G4KB1KV169171   Mercedes       GLC300              RALEIGH                   NC
143247   WDC0G4KB2HV006814   Mercedes       GLC300              North Las Vegas           NV
143248   WDC0G4KB2HV006845   Mercedes       GLC300              Kahului                   HI
143249   WDC0G4KB2HV007106   Mercedes       GLC300              North Las Vegas           NV
143250   WDC0G4KB2HV007459   Mercedes       GLC300              Kahului                   HI
143251   WDC0G4KB2JV076318   Mercedes       GLC300              Kahului                   HI
143252   WDC0G4KB2KF583053   Mercedes       GLC300              DENVER                    CO
143253   WDC0G4KB2KF595347   Mercedes       GLC300              STERLING                  VA
143254   WDC0G4KB2KV164576   Mercedes       GLC300              WARWICK                   RI
143255   WDC0G4KB2KV168384   Mercedes       GLC300              COLORADO SPRINGS          CO
143256   WDC0G4KB2KV169034   Mercedes       GLC300              DENVER                    CO
143257   WDC0G4KB3HV011262   Mercedes       GLC300              Kahului                   HI
143258   WDC0G4KB3JF436402   Mercedes       GLC300              WEST PALM BEACH           FL
143259   WDC0G4KB3JV075503   Mercedes       GLC300              Kahului                   HI
143260   WDC0G4KB3KF581621   Mercedes       GLC300              DENVER                    CO
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143261   WDC0G4KB3KV168829   Mercedes       GLC300              Teterboro                 NJ
143262   WDC0G4KB3KV170435   Mercedes       GLC300              Teterboro                 NJ
143263   WDC0G4KB4HV007396   Mercedes       GLC300              HONOLULU                  HI
143264   WDC0G4KB4JV076451   Mercedes       GLC300              KAHULUI                   HI
143265   WDC0G4KB4KF595799   Mercedes       GLC300              CLEVELAND                 OH
143266   WDC0G4KB4KV167463   Mercedes       GLC300              DENVER                    CO
143267   WDC0G4KB4KV168340   Mercedes       GLC300              DENVER                    CO
143268   WDC0G4KB4KV168662   Mercedes       GLC300              NEW BERN                  NC
143269   WDC0G4KB4KV169374   Mercedes       GLC300              BOSTON                    MA
143270   WDC0G4KB4KV169455   Mercedes       GLC300              RICHMOND                  VA
143271   WDC0G4KB4KV169701   Mercedes       GLC300              DENVER                    CO
143272   WDC0G4KB5HV009822   Mercedes       GLC300              North Las Vegas           NV
143273   WDC0G4KB5JV076491   Mercedes       GLC300              Kahului                   HI
143274   WDC0G4KB5KF584844   Mercedes       GLC300              DENVER                    CO
143275   WDC0G4KB5KV167052   Mercedes       GLC300              SAN ANTONIO               TX
143276   WDC0G4KB5KV167830   Mercedes       GLC300              CHARLESTON                WV
143277   WDC0G4KB5KV168153   Mercedes       GLC300              DENVER                    CO
143278   WDC0G4KB5KV168301   Mercedes       GLC300              JACKSONVILLE              FL
143279   WDC0G4KB5KV168945   Mercedes       GLC300              Denver                    CO
143280   WDC0G4KB5KV169190   Mercedes       GLC300              DENVER                    CO
143281   WDC0G4KB5KV169643   Mercedes       GLC300              DENVER                    CO
143282   WDC0G4KB5KV170095   Mercedes       GLC300              ATLANTA                   GA
143283   WDC0G4KB6HF250833   Mercedes       GLC300              Riverside                 CA
143284   WDC0G4KB6HF257281   Mercedes       GLC300              Kahului                   HI
143285   WDC0G4KB6HV006959   Mercedes       GLC300              North Las Vegas           NV
143286   WDC0G4KB6HV007822   Mercedes       GLC300              PLEASANTON                CA
143287   WDC0G4KB6JV076614   Mercedes       GLC300              Honolulu                  HI
143288   WDC0G4KB6KF581516   Mercedes       GLC300              DENVER                    CO
143289   WDC0G4KB6KF582584   Mercedes       GLC300              Denver                    CO
143290   WDC0G4KB6KF600663   Mercedes       GLC300              FORT MYERS                FL
143291   WDC0G4KB6KV164810   Mercedes       GLC300              RONKONKOMA                NY
143292   WDC0G4KB6KV165911   Mercedes       GLC300              Leesburg                  VA
143293   WDC0G4KB6KV167710   Mercedes       GLC300              GYPSUM                    CO
143294   WDC0G4KB6KV167996   Mercedes       GLC300              DETROIT                   MI
143295   WDC0G4KB6KV168940   Mercedes       GLC300              DENVER                    CO
143296   WDC0G4KB6KV168954   Mercedes       GLC300              DENVER                    CO
143297   WDC0G4KB6KV169683   Mercedes       GLC300              DENVER                    CO
143298   WDC0G4KB7HV007215   Mercedes       GLC300              Kahului                   HI
143299   WDC0G4KB7HV008090   Mercedes       GLC300              Riverside                 CA
143300   WDC0G4KB7JV075357   Mercedes       GLC300              HONOLULU                  HI
143301   WDC0G4KB7KF601482   Mercedes       GLC300              FORT LAUDERDALE           FL
143302   WDC0G4KB7KF606939   Mercedes       GLC300              NEWARK                    NJ
143303   WDC0G4KB7KV169269   Mercedes       GLC300              DENVER                    CO
143304   WDC0G4KB7KV169580   Mercedes       GLC300              DENVER                    CO
143305   WDC0G4KB7KV169630   Mercedes       GLC300              DENVER                    CO
143306   WDC0G4KB8HV007515   Mercedes       GLC300              North Las Vegas           NV
143307   WDC0G4KB8JV075349   Mercedes       GLC300              KAHULUI MAUI              HI
143308   WDC0G4KB8JV075528   Mercedes       GLC300              Kahului                   HI
143309   WDC0G4KB8JV075917   Mercedes       GLC300              Kahului                   HI
143310   WDC0G4KB8JV076467   Mercedes       GLC300              HONOLULU                  HI
143311   WDC0G4KB8KV164016   Mercedes       GLC300              DANIA BEACH               FL
143312   WDC0G4KB8KV164324   Mercedes       GLC300              Lynn                      MA
143313   WDC0G4KB8KV168115   Mercedes       GLC300              Lynn                      MA
143314   WDC0G4KB8KV168678   Mercedes       GLC300              Aurora                    CO
143315   WDC0G4KB8KV170088   Mercedes       GLC300              DENVER                    CO
143316   WDC0G4KB8KV170110   Mercedes       GLC300              WEST COLUMBIA             SC
143317   WDC0G4KB9JV075022   Mercedes       GLC300              Fontana                   CA
143318   WDC0G4KB9JV075828   Mercedes       GLC300              Honolulu                  HI
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143319   WDC0G4KB9JV075912   Mercedes       GLC300              Kahului                   HI
143320   WDC0G4KB9JV076509   Mercedes       GLC300              Smithtown                 NY
143321   WDC0G4KB9JV076770   Mercedes       GLC300              HONOLULU                  HI
143322   WDC0G4KB9KV163229   Mercedes       GLC300              BOSTON                    MA
143323   WDC0G4KB9KV163277   Mercedes       GLC300              BOSTON                    MA
143324   WDC0G4KB9KV164428   Mercedes       GLC300              Massapequa                NY
143325   WDC0G4KB9KV164543   Mercedes       GLC300              CLEVELAND                 OH
143326   WDC0G4KB9KV167331   Mercedes       GLC300              NEWARK                    NJ
143327   WDC0G4KB9KV168205   Mercedes       GLC300              ALBANY                    N
143328   WDC0G4KB9KV169189   Mercedes       GLC300              ROCHESTER                 NY
143329   WDC0G4KBXKF578828   Mercedes       GLC300              Slidell                   LA
143330   WDC0G4KBXKF581325   Mercedes       GLC300              Aurora                    CO
143331   WDC0G4KBXKF603100   Mercedes       GLC300              JAMAICA                   NY
143332   WDC0G4KBXKV162977   Mercedes       GLC300              CHAMBERSBURG              PA
143333   WDC0G4KBXKV167970   Mercedes       GLC300              OMAHA                     NE
143334   WDC0G4KBXKV168374   Mercedes       GLC300              DENVER                    CO
143335   WDC0G4KBXKV169315   Mercedes       GLC300              NEW YORK CITY             NY
143336   WDC0G8DB6LF749578   Mercedes       GLC300              NORFOLK                   VA
143337   WDC0G8DB9LF753835   Mercedes       GLC300              WEST PALM BEACH           FL
143338   WDC0G8EB0LF747632   Mercedes       GLC300              Des Plaines               IL
143339   WDC0G8EB0LF752989   Mercedes       GLC300              SAINT PAUL                MN
143340   WDC0G8EB0LF753950   Mercedes       GLC300              CHICAGO                   IL
143341   WDC0G8EB1LF749261   Mercedes       GLC300              WOODSON TERRACE           MO
143342   WDC0G8EB1LF750295   Mercedes       GLC300              DENVER                    CO
143343   WDC0G8EB2LF750676   Mercedes       GLC300              ST PAUL                   MN
143344   WDC0G8EB3LF749567   Mercedes       GLC300              CHICAGO                   IL
143345   WDC0G8EB3LF751710   Mercedes       GLC300              CHICAGO                   IL
143346   WDC0G8EB4LF745138   Mercedes       GLC300              Hebron                    KY
143347   WDC0G8EB4LF754180   Mercedes       GLC300              CLEVELAND                 OH
143348   WDC0G8EB4LF756186   Mercedes       GLC300              DES MOINES                IA
143349   WDC0G8EB5LF745973   Mercedes       GLC300              SAINT PAUL                MN
143350   WDC0G8EB5LF749733   Mercedes       GLC300              Des Plaines               IL
143351   WDC0G8EB6LF741589   Mercedes       GLC300              SAINT PAUL                MN
143352   WDC0G8EB6LF744878   Mercedes       GLC300              ATLANTA                   GA
143353   WDC0G8EB6LF750308   Mercedes       GLC300              KNOXVILLE                 TN
143354   WDC0G8EB7LF751046   Mercedes       GLC300              CHICAGO                   IL
143355   WDC0G8EB8LF749127   Mercedes       GLC300              SAINT PAUL                MN
143356   WDC0G8EB9LF751226   Mercedes       GLC300              DES PLAINES               US
143357   WDC0G8EBXLF751929   Mercedes       GLC300              CHICAGO                   IL
143358   WDCTG4EBXGJ256512   Mercedes       GLA250              Mira Loma                 CA
143359   WDCTG4GB5HJ354264   Mercedes       GLA250              Chicago                   IL
143360   WDCYC6BJ0KX327814   Mercedes       G550                LOS ANGELES               CA
143361   WDCYC6BJ1KX329006   Mercedes       G550                LOS ANGELES               CA
143362   WDCYC6BJ3KX327970   Mercedes       G550                LOS ANGELES               CA
143363   WDCYC6BJ3KX328584   Mercedes       G550                NEWARK                    NJ
143364   WDCYC6BJ8KX332615   Mercedes       G550                LOS ANGELES               CA
143365   WDD3G4EB0KW015386   Mercedes       A220                OAKLAND                   CA
143366   WDD3G4EB0KW015498   Mercedes       A220                GRAND RAPIDS              MI
143367   WDD3G4EB0KW018739   Mercedes       A220                Clearwater                FL
143368   WDD3G4EB0KW020412   Mercedes       A220                SAN FRANCISCO             CA
143369   WDD3G4EB0KW021155   Mercedes       A220                SOUTHEAST DST OFFC        OK
143370   WDD3G4EB0KW021382   Mercedes       A220                SAN JOSE                  CA
143371   WDD3G4EB0KW021589   Mercedes       A220                LOS ANGELES               CA
143372   WDD3G4EB0KW021690   Mercedes       A220                Hebron                    KY
143373   WDD3G4EB0KW023097   Mercedes       A220                Pompano Beach             FL
143374   WDD3G4EB0KW023259   Mercedes       A220                PALM SPRINGS              CA
143375   WDD3G4EB0KW023617   Mercedes       A220                SACRAMENTO                CA
143376   WDD3G4EB0KW024248   Mercedes       A220                SALT LAKE CITY            US
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143377   WDD3G4EB0KW025495   Mercedes       A220                LOS ANGELES               CA
143378   WDD3G4EB0KW025657   Mercedes       A220                SAN DIEGO                 CA
143379   WDD3G4EB0KW025772   Mercedes       A220                ATLANTA                   GA
143380   WDD3G4EB0KW025786   Mercedes       A220                BURBANK                   CA
143381   WDD3G4EB0KW035721   Mercedes       A220                PHOENIX                   AZ
143382   WDD3G4EB0KW035959   Mercedes       A220                ALLENTOWN                 US
143383   WDD3G4EB0KW036089   Mercedes       A220                WHITE PLAINS              NY
143384   WDD3G4EB0KW036108   Mercedes       A220                STERLING                  VA
143385   WDD3G4EB1KW017387   Mercedes       A220                CHARLOTTE                 NC
143386   WDD3G4EB1KW019169   Mercedes       A220                SAN DIEGO                 CA
143387   WDD3G4EB1KW022959   Mercedes       A220                NEW BERN                  NC
143388   WDD3G4EB1KW023903   Mercedes       A220                SAN DIEGO                 CA
143389   WDD3G4EB1KW024386   Mercedes       A220                SAINT LOUIS               MO
143390   WDD3G4EB1KW025456   Mercedes       A220                RALIEGH                   NC
143391   WDD3G4EB1KW025537   Mercedes       A220                LAS VEGAS                 NV
143392   WDD3G4EB1KW025781   Mercedes       A220                RALIEGH                   NC
143393   WDD3G4EB1KW025831   Mercedes       A220                OAKLAND                   CA
143394   WDD3G4EB1KW025974   Mercedes       A220                TRACY                     CA
143395   WDD3G4EB1KW026753   Mercedes       A220                BURBANK                   CA
143396   WDD3G4EB1KW027269   Mercedes       A220                Phoenix                   AZ
143397   WDD3G4EB1KW031712   Mercedes       A220                NEWARK                    NY
143398   WDD3G4EB1KW035713   Mercedes       A220                SACRAMENTO                CA
143399   WDD3G4EB1KW035727   Mercedes       A220                PHOENIX                   AZ
143400   WDD3G4EB1KW035839   Mercedes       A220                TUCSON                    AZ
143401   WDD3G4EB2KW015499   Mercedes       A220                ATLANTA                   GA
143402   WDD3G4EB2KW015633   Mercedes       A220                SAN DIEGO                 CA
143403   WDD3G4EB2KW016992   Mercedes       A220                PALM SPRINGS              CA
143404   WDD3G4EB2KW020895   Mercedes       A220                LOS ANGELES               CA
143405   WDD3G4EB2KW021626   Mercedes       A220                SANTA ANA                 CA
143406   WDD3G4EB2KW022517   Mercedes       A220                STERLING                  VA
143407   WDD3G4EB2KW023683   Mercedes       A220                LOS ANGELES               CA
143408   WDD3G4EB2KW023747   Mercedes       A220                SOUTH SAN FRANC           CA
143409   WDD3G4EB2KW024140   Mercedes       A220                ATLANTA                   GA
143410   WDD3G4EB2KW024591   Mercedes       A220                PHOENIX                   AZ
143411   WDD3G4EB2KW025434   Mercedes       A220                ATLANTA                   GA
143412   WDD3G4EB2KW025577   Mercedes       A220                FRESNO                    CA
143413   WDD3G4EB2KW025661   Mercedes       A220                ONTARIO                   CA
143414   WDD3G4EB2KW025689   Mercedes       A220                ONTARIO                   CA
143415   WDD3G4EB2KW025949   Mercedes       A220                SACRAMENTO                CA
143416   WDD3G4EB2KW027409   Mercedes       A220                BURBANK                   CA
143417   WDD3G4EB2KW027541   Mercedes       A220                PALM SPRINGS              CA
143418   WDD3G4EB2KW035963   Mercedes       A220                PHOENIX                   AZ
143419   WDD3G4EB2KW036109   Mercedes       A220                BALTIMORE                 MD
143420   WDD3G4EB3KW015138   Mercedes       A220                Burbank                   CA
143421   WDD3G4EB3KW016905   Mercedes       A220                SAN FRANCISCO             CA
143422   WDD3G4EB3KW018718   Mercedes       A220                STERLING                  VA
143423   WDD3G4EB3KW019495   Mercedes       A220                BURBANK                   CA
143424   WDD3G4EB3KW019786   Mercedes       A220                SAN FRANCISCO             CA
143425   WDD3G4EB3KW019982   Mercedes       A220                DALLAS                    TX
143426   WDD3G4EB3KW020341   Mercedes       A220                BIRMINGHAN                AL
143427   WDD3G4EB3KW020470   Mercedes       A220                Tolleson                  AZ
143428   WDD3G4EB3KW020498   Mercedes       A220                LAS VEGAS                 NV
143429   WDD3G4EB3KW021389   Mercedes       A220                Hebron                    KY
143430   WDD3G4EB3KW021523   Mercedes       A220                SOUTHEAST DST OFFC        OK
143431   WDD3G4EB3KW023692   Mercedes       A220                Scottsdale                AZ
143432   WDD3G4EB3KW023868   Mercedes       A220                LOS ANGELES               CA
143433   WDD3G4EB3KW024258   Mercedes       A220                SAN JOSE                  CA
143434   WDD3G4EB3KW024261   Mercedes       A220                GREENVILLE                NC
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143435   WDD3G4EB3KW025507   Mercedes       A220                FAIRFIELD                 CA
143436   WDD3G4EB3KW025538   Mercedes       A220                FRESNO                    CA
143437   WDD3G4EB3KW025829   Mercedes       A220                SOUTHEAST DST OFFC        OK
143438   WDD3G4EB3KW026057   Mercedes       A220                TUCSON                    AZ
143439   WDD3G4EB3KW035678   Mercedes       A220                PHOENIX                   AZ
143440   WDD3G4EB3KW035972   Mercedes       A220                RALIEGH                   NC
143441   WDD3G4EB3KW036118   Mercedes       A220                BALTIMORE                 MD
143442   WDD3G4EB4KW017352   Mercedes       A220                PHOENIX                   AZ
143443   WDD3G4EB4KW018307   Mercedes       A220                ORLANDO                   FL
143444   WDD3G4EB4KW021062   Mercedes       A220                SAN JOSE                  CA
143445   WDD3G4EB4KW022678   Mercedes       A220                LOS ANGELES               CA
143446   WDD3G4EB4KW022888   Mercedes       A220                ORLANDO                   FL
143447   WDD3G4EB4KW022955   Mercedes       A220                SAN FRANCISCO             CA
143448   WDD3G4EB4KW023832   Mercedes       A220                PHOENIX                   AZ
143449   WDD3G4EB4KW023846   Mercedes       A220                PHILADELPHIA              PA
143450   WDD3G4EB4KW024298   Mercedes       A220                SANTA ANA                 CA
143451   WDD3G4EB4KW024303   Mercedes       A220                SAN DIEGO                 CA
143452   WDD3G4EB4KW024432   Mercedes       A220                Los Angeles               CA
143453   WDD3G4EB4KW025645   Mercedes       A220                FRESNO                    CA
143454   WDD3G4EB4KW026410   Mercedes       A220                FAYETTEVILLE              GA
143455   WDD3G4EB4KW026634   Mercedes       A220                SOUTH SAN FRANC           CA
143456   WDD3G4EB4KW035706   Mercedes       A220                PHOENIX                   AZ
143457   WDD3G4EB4KW035799   Mercedes       A220                DENVER                    CO
143458   WDD3G4EB4KW036001   Mercedes       A220                PROVIDENCE                RI
143459   WDD3G4EB4KW036161   Mercedes       A220                LOS ANGELES               CA
143460   WDD3G4EB5KW015500   Mercedes       A220                SAN FRANCISCO             CA
143461   WDD3G4EB5KW016436   Mercedes       A220                LOS ANGELES               CA
143462   WDD3G4EB5KW019787   Mercedes       A220                Tampa                     FL
143463   WDD3G4EB5KW020325   Mercedes       A220                CHARLESTON                SC
143464   WDD3G4EB5KW023113   Mercedes       A220                SAN DIEGO                 CA
143465   WDD3G4EB5KW023502   Mercedes       A220                LAS VEGAS                 NV
143466   WDD3G4EB5KW023788   Mercedes       A220                SEA TAC                   WA
143467   WDD3G4EB5KW024200   Mercedes       A220                SACRAMENTO                CA
143468   WDD3G4EB5KW024486   Mercedes       A220                LAS VEGAS                 NV
143469   WDD3G4EB5KW024729   Mercedes       A220                Dallas                    TX
143470   WDD3G4EB5KW024777   Mercedes       A220                LOS ANGELES               CA
143471   WDD3G4EB5KW026013   Mercedes       A220                Los Angeles               CA
143472   WDD3G4EB5KW026268   Mercedes       A220                LOS ANGELES               CA
143473   WDD3G4EB5KW026514   Mercedes       A220                CHICAGO                   IL
143474   WDD3G4EB5KW026545   Mercedes       A220                LOS ANGELES               CA
143475   WDD3G4EB5KW026738   Mercedes       A220                MIAMI                     FL
143476   WDD3G4EB5KW027288   Mercedes       A220                FRESNO                    CA
143477   WDD3G4EB5KW035844   Mercedes       A220                LAS VEGAS                 NV
143478   WDD3G4EB5KW035973   Mercedes       A220                BURBANK                   CA
143479   WDD3G4EB5KW035990   Mercedes       A220                TUCSON                    AZ
143480   WDD3G4EB6KW017353   Mercedes       A220                SAN FRANCISCO             CA
143481   WDD3G4EB6KW018499   Mercedes       A220                NORTH HILLS               CA
143482   WDD3G4EB6KW018700   Mercedes       A220                ORANGE COUNTY             CA
143483   WDD3G4EB6KW019426   Mercedes       A220                Miami                     FL
143484   WDD3G4EB6KW019992   Mercedes       A220                Marietta                  GA
143485   WDD3G4EB6KW020141   Mercedes       A220                ALBUQUERQUE               NM
143486   WDD3G4EB6KW020477   Mercedes       A220                AUSTIN                    TX
143487   WDD3G4EB6KW020804   Mercedes       A220                Warminster                PA
143488   WDD3G4EB6KW021130   Mercedes       A220                SAN JOSE                  CA
143489   WDD3G4EB6KW021175   Mercedes       A220                SAN ANTONIO               TX
143490   WDD3G4EB6KW023072   Mercedes       A220                Killeen                   TX
143491   WDD3G4EB6KW023119   Mercedes       A220                SAN JOSE                  CA
143492   WDD3G4EB6KW023198   Mercedes       A220                MILWAUKEE                 WI
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143493   WDD3G4EB6KW024206   Mercedes       A220                PHOENIX                   AZ
143494   WDD3G4EB6KW025419   Mercedes       A220                CHARLOTTE                 NC
143495   WDD3G4EB6KW025551   Mercedes       A220                LOS ANGELES               CA
143496   WDD3G4EB6KW025646   Mercedes       A220                PHOENIX                   AZ
143497   WDD3G4EB6KW025775   Mercedes       A220                SANTA ANA                 CA
143498   WDD3G4EB6KW026246   Mercedes       A220                FRESNO                    CA
143499   WDD3G4EB6KW026702   Mercedes       A220                SACRAMENTO                CA
143500   WDD3G4EB6KW026960   Mercedes       A220                GYPSUM                    CO
143501   WDD3G4EB6KW035755   Mercedes       A220                LAS VEGAS                 NV
143502   WDD3G4EB6KW035805   Mercedes       A220                LOS ANGELES               CA
143503   WDD3G4EB6KW035965   Mercedes       A220                PHOENIX                   AZ
143504   WDD3G4EB6KW036081   Mercedes       A220                PHOENIX                   AZ
143505   WDD3G4EB6KW036159   Mercedes       A220                NORFOLK                   VA
143506   WDD3G4EB7KW015465   Mercedes       A220                SAN JOSE                  CA
143507   WDD3G4EB7KW015496   Mercedes       A220                SANTA BARBARA             CA
143508   WDD3G4EB7KW018088   Mercedes       A220                LOS ANGELES               CA
143509   WDD3G4EB7KW018222   Mercedes       A220                LOS ANGELES               CA
143510   WDD3G4EB7KW019354   Mercedes       A220                LOS ANGELES               CA
143511   WDD3G4EB7KW019676   Mercedes       A220                SAN DIEGO                 CA
143512   WDD3G4EB7KW019869   Mercedes       A220                WEST COLUMBIA             SC
143513   WDD3G4EB7KW020679   Mercedes       A220                BURBANK                   CA
143514   WDD3G4EB7KW022514   Mercedes       A220                LOS ANGELES AP            CA
143515   WDD3G4EB7KW022559   Mercedes       A220                JACKSONVILLE              FL
143516   WDD3G4EB7KW022979   Mercedes       A220                TAMPA                     US
143517   WDD3G4EB7KW023260   Mercedes       A220                Houston                   TX
143518   WDD3G4EB7KW023906   Mercedes       A220                SACRAMENTO                CA
143519   WDD3G4EB7KW025753   Mercedes       A220                SAN DIEGO                 CA
143520   WDD3G4EB7KW026000   Mercedes       A220                SAN DIEGO                 CA
143521   WDD3G4EB7KW026109   Mercedes       A220                FRESNO                    CA
143522   WDD3G4EB7KW026370   Mercedes       A220                KENNER                    LA
143523   WDD3G4EB7KW026417   Mercedes       A220                LOS ANGELES               CA
143524   WDD3G4EB7KW026420   Mercedes       A220                SAN DIEGO                 CA
143525   WDD3G4EB7KW026465   Mercedes       A220                BURBANK                   CA
143526   WDD3G4EB7KW026725   Mercedes       A220                Jacksonville              FL
143527   WDD3G4EB7KW026904   Mercedes       A220                SAN DIEGO                 CA
143528   WDD3G4EB7KW027289   Mercedes       A220                SALT LAKE CITY            UT
143529   WDD3G4EB7KW035747   Mercedes       A220                PHOENIX                   AZ
143530   WDD3G4EB7KW036087   Mercedes       A220                CLEVELAND                 OH
143531   WDD3G4EB8KW013787   Mercedes       A220                LOS ANGELES               CA
143532   WDD3G4EB8KW016155   Mercedes       A220                LOS ANGELES               CA
143533   WDD3G4EB8KW016687   Mercedes       A220                SANTA ANA                 CA
143534   WDD3G4EB8KW018228   Mercedes       A220                SAN DIEGO                 CA
143535   WDD3G4EB8KW019976   Mercedes       A220                SANTA ANA                 CA
143536   WDD3G4EB8KW020383   Mercedes       A220                ATLANTA                   GA
143537   WDD3G4EB8KW020660   Mercedes       A220                Warminster                PA
143538   WDD3G4EB8KW021761   Mercedes       A220                PHOENIX                   AZ
143539   WDD3G4EB8KW022845   Mercedes       A220                LOS ANGELES               CA
143540   WDD3G4EB8KW022926   Mercedes       A220                SALT LAKE CITY            US
143541   WDD3G4EB8KW024076   Mercedes       A220                BURBANK                   CA
143542   WDD3G4EB8KW025633   Mercedes       A220                Hebron                    KY
143543   WDD3G4EB8KW025776   Mercedes       A220                LOS ANGELES               CA
143544   WDD3G4EB8KW026541   Mercedes       A220                LAS VEGAS                 NV
143545   WDD3G4EB8KW035675   Mercedes       A220                PHOENIX                   AZ
143546   WDD3G4EB8KW035711   Mercedes       A220                PHOENIX                   AZ
143547   WDD3G4EB8KW036079   Mercedes       A220                PHOENIX                   AZ
143548   WDD3G4EB8KW036163   Mercedes       A220                BALTIMORE                 MD
143549   WDD3G4EB9KW016259   Mercedes       A220                ORANGE COUNTY             CA
143550   WDD3G4EB9KW020425   Mercedes       A220                SANTA ANA                 CA
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143551   WDD3G4EB9KW020750   Mercedes       A220                ATLANTA                   GA
143552   WDD3G4EB9KW022787   Mercedes       A220                SAN JOSE                  CA
143553   WDD3G4EB9KW023423   Mercedes       A220                LOS ANGELES               CA
143554   WDD3G4EB9KW023907   Mercedes       A220                FRESNO                    CA
143555   WDD3G4EB9KW024796   Mercedes       A220                SACRAMENTO                CA
143556   WDD3G4EB9KW025902   Mercedes       A220                SANTA ANA                 CA
143557   WDD3G4EB9KW026094   Mercedes       A220                PHOENIX                   AZ
143558   WDD3G4EB9KW026418   Mercedes       A220                SAN FRANCISCO             CA
143559   WDD3G4EB9KW027262   Mercedes       A220                FRESNO                    CA
143560   WDD3G4EB9KW035734   Mercedes       A220                PHOENIX                   AZ
143561   WDD3G4EB9KW035958   Mercedes       A220                INDIANAPOLIS              IN
143562   WDD3G4EB9KW035992   Mercedes       A220                Euless                    TX
143563   WDD3G4EB9KW036124   Mercedes       A220                PHOENIX                   AZ
143564   WDD3G4EBXKW015895   Mercedes       A220                ORLANDO                   FL
143565   WDD3G4EBXKW016156   Mercedes       A220                LOS ANGELES               CA
143566   WDD3G4EBXKW018215   Mercedes       A220                Los Angeles               CA
143567   WDD3G4EBXKW019218   Mercedes       A220                SAN FRANCISCO             CA
143568   WDD3G4EBXKW019641   Mercedes       A220                BURBANK                   CA
143569   WDD3G4EBXKW019980   Mercedes       A220                KNOXVILLE                 TN
143570   WDD3G4EBXKW020062   Mercedes       A220                PANAMA CITY               FL
143571   WDD3G4EBXKW020160   Mercedes       A220                PHOENIX                   AZ
143572   WDD3G4EBXKW020272   Mercedes       A220                FRESNO                    CA
143573   WDD3G4EBXKW020577   Mercedes       A220                HOUSTON                   TX
143574   WDD3G4EBXKW020630   Mercedes       A220                RALIEGH                   NC
143575   WDD3G4EBXKW021244   Mercedes       A220                OAKLAND                   CA
143576   WDD3G4EBXKW024208   Mercedes       A220                SAN FRANCISCO             CA
143577   WDD3G4EBXKW024404   Mercedes       A220                PHOENIX                   AZ
143578   WDD3G4EBXKW025603   Mercedes       A220                LOS ANGELES               CA
143579   WDD3G4EBXKW026444   Mercedes       A220                SAN FRANCISCO             CA
143580   WDD3G4EBXKW035807   Mercedes       A220                TUCSON                    AZ
143581   WDD3G4EBXKW035970   Mercedes       A220                Phoenix                   AZ
143582   WDD3G4FB0KW018237   Mercedes       A220                SACRAMENTO                CA
143583   WDD3G4FB0KW018626   Mercedes       A220                PHOENIX                   AZ
143584   WDD3G4FB0KW019548   Mercedes       A220                LOS ANGELES               CA
143585   WDD3G4FB0KW019629   Mercedes       A220                CLEVELAND                 OH
143586   WDD3G4FB0KW019775   Mercedes       A220                San Diego                 CA
143587   WDD3G4FB0KW019971   Mercedes       A220                LOS ANGELES               CA
143588   WDD3G4FB0KW020411   Mercedes       A220                DENVER                    CO
143589   WDD3G4FB0KW020537   Mercedes       A220                PALM SPRINGS              CA
143590   WDD3G4FB0KW020585   Mercedes       A220                SAN DIEGO                 CA
143591   WDD3G4FB0KW020876   Mercedes       A220                ORANGE COUNTY             CA
143592   WDD3G4FB0KW020912   Mercedes       A220                Bensalem                  PA
143593   WDD3G4FB0KW021171   Mercedes       A220                BOSTON                    MA
143594   WDD3G4FB0KW021347   Mercedes       A220                PHOENIX                   AZ
143595   WDD3G4FB0KW022529   Mercedes       A220                ONTARIO                   CA
143596   WDD3G4FB0KW023115   Mercedes       A220                NEWARK                    NJ
143597   WDD3G4FB0KW023521   Mercedes       A220                BURBANK                   CA
143598   WDD3G4FB0KW024068   Mercedes       A220                NEW BERN                  NC
143599   WDD3G4FB0KW024233   Mercedes       A220                Ocoee                     FL
143600   WDD3G4FB0KW025804   Mercedes       A220                SEATAC                    WA
143601   WDD3G4FB0KW026628   Mercedes       A220                SAINT LOUIS               MO
143602   WDD3G4FB0KW026712   Mercedes       A220                ALBANY                    N
143603   WDD3G4FB0KW027309   Mercedes       A220                SAN FRANCISCO             CA
143604   WDD3G4FB1KW014312   Mercedes       A220                DENVER                    CO
143605   WDD3G4FB1KW018165   Mercedes       A220                PHOENIX                   AZ
143606   WDD3G4FB1KW018716   Mercedes       A220                PHOENIX                   AZ
143607   WDD3G4FB1KW018909   Mercedes       A220                LOS ANGELES               CA
143608   WDD3G4FB1KW019400   Mercedes       A220                SAN JOSE                  CA
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143609   WDD3G4FB1KW019638   Mercedes       A220                LOS ANGELES               CA
143610   WDD3G4FB1KW020143   Mercedes       A220                SAN JOSE                  CA
143611   WDD3G4FB1KW020403   Mercedes       A220                BURBANK                   CA
143612   WDD3G4FB1KW020806   Mercedes       A220                LAS VEGAS                 NV
143613   WDD3G4FB1KW021051   Mercedes       A220                SAN FRANCISCO             CA
143614   WDD3G4FB1KW021079   Mercedes       A220                SYRACUSE                  NY
143615   WDD3G4FB1KW022393   Mercedes       A220                PHOENIX                   AZ
143616   WDD3G4FB1KW022653   Mercedes       A220                SALT LAKE CITY            UT
143617   WDD3G4FB1KW022779   Mercedes       A220                COLUMBIA                  SC
143618   WDD3G4FB1KW023219   Mercedes       A220                NEWARK                    NJ
143619   WDD3G4FB1KW023835   Mercedes       A220                SANTA ANA                 CA
143620   WDD3G4FB1KW023916   Mercedes       A220                PHOENIX                   AZ
143621   WDD3G4FB1KW024483   Mercedes       A220                SACRAMENTO                CA
143622   WDD3G4FB1KW025424   Mercedes       A220                NEWARK                    NJ
143623   WDD3G4FB1KW025729   Mercedes       A220                Leesburg                  VA
143624   WDD3G4FB1KW026010   Mercedes       A220                BALTIMORE                 MD
143625   WDD3G4FB1KW026475   Mercedes       A220                LOS ANGELES               CA
143626   WDD3G4FB1KW026721   Mercedes       A220                NEWARK                    NJ
143627   WDD3G4FB1KW027240   Mercedes       A220                LOS ANGELES               CA
143628   WDD3G4FB1KW027352   Mercedes       A220                SAN DIEGO                 CA
143629   WDD3G4FB2KW018238   Mercedes       A220                RENO                      NV
143630   WDD3G4FB2KW019597   Mercedes       A220                NEWARK                    NJ
143631   WDD3G4FB2KW019714   Mercedes       A220                LOS ANGELES               CA
143632   WDD3G4FB2KW020202   Mercedes       A220                SEATAC                    WA
143633   WDD3G4FB2KW020426   Mercedes       A220                SANTA ANA                 CA
143634   WDD3G4FB2KW020538   Mercedes       A220                MONTEREY                  CA
143635   WDD3G4FB2KW021530   Mercedes       A220                PHOENIX                   AZ
143636   WDD3G4FB2KW022886   Mercedes       A220                LOS ANGELES               CA
143637   WDD3G4FB2KW023147   Mercedes       A220                LOS ANGELES               CA
143638   WDD3G4FB2KW023777   Mercedes       A220                BURBANK                   CA
143639   WDD3G4FB2KW023942   Mercedes       A220                SANTA ANA                 CA
143640   WDD3G4FB2KW024430   Mercedes       A220                LOS ANGELES               CA
143641   WDD3G4FB2KW025481   Mercedes       A220                SANTA ANA                 CA
143642   WDD3G4FB2KW025612   Mercedes       A220                College Park              GA
143643   WDD3G4FB2KW025805   Mercedes       A220                FRESNO                    CA
143644   WDD3G4FB2KW025898   Mercedes       A220                Sacramento                CA
143645   WDD3G4FB2KW025934   Mercedes       A220                PITTSBURGH                PA
143646   WDD3G4FB2KW025951   Mercedes       A220                CLEVELAND                 OH
143647   WDD3G4FB2KW026663   Mercedes       A220                Davie                     FL
143648   WDD3G4FB2KW032009   Mercedes       A220                CHARLOTTE                 NC
143649   WDD3G4FB2KW032415   Mercedes       A220                CLEVELAND                 OH
143650   WDD3G4FB3KW018233   Mercedes       A220                LAS VEGAS                 NV
143651   WDD3G4FB3KW019463   Mercedes       A220                DENVER                    CO
143652   WDD3G4FB3KW019530   Mercedes       A220                CHICAGO                   IL
143653   WDD3G4FB3KW019608   Mercedes       A220                Phoenix                   AZ
143654   WDD3G4FB3KW020158   Mercedes       A220                LAS VEGAS                 NV
143655   WDD3G4FB3KW020385   Mercedes       A220                BURBANK                   CA
143656   WDD3G4FB3KW020788   Mercedes       A220                LOS ANGELES               CA
143657   WDD3G4FB3KW020970   Mercedes       A220                ORANGE COUNTY             CA
143658   WDD3G4FB3KW021052   Mercedes       A220                Portland                  OR
143659   WDD3G4FB3KW022685   Mercedes       A220                SAN DIEGO                 CA
143660   WDD3G4FB3KW022721   Mercedes       A220                CHARLESTON                WV
143661   WDD3G4FB3KW022878   Mercedes       A220                DENVER                    CO
143662   WDD3G4FB3KW026056   Mercedes       A220                NEW YORK CITY             NY
143663   WDD3G4FB3KW026087   Mercedes       A220                BROOKLYN                  NY
143664   WDD3G4FB3KW026090   Mercedes       A220                NEWARK                    NJ
143665   WDD3G4FB3KW026221   Mercedes       A220                LOS ANGELES               CA
143666   WDD3G4FB3KW026543   Mercedes       A220                DAYTONA BEACH             FL
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143667   WDD3G4FB3KW026851   Mercedes       A220                ONTARIO                   CA
143668   WDD3G4FB3KW027093   Mercedes       A220                CHARLESTON                WV
143669   WDD3G4FB3KW027353   Mercedes       A220                LAS VEGAS                 NV
143670   WDD3G4FB4KW018791   Mercedes       A220                CLEVELAND                 OH
143671   WDD3G4FB4KW019357   Mercedes       A220                SAN JOSE                  CA
143672   WDD3G4FB4KW019360   Mercedes       A220                NEWARK                    NJ
143673   WDD3G4FB4KW019875   Mercedes       A220                ASTORIA                   NY
143674   WDD3G4FB4KW020122   Mercedes       A220                CLEVELAND                 OH
143675   WDD3G4FB4KW020217   Mercedes       A220                DENVER                    CO
143676   WDD3G4FB4KW020315   Mercedes       A220                RALIEGH                   NC
143677   WDD3G4FB4KW020377   Mercedes       A220                CHICAGO                   IL
143678   WDD3G4FB4KW020380   Mercedes       A220                HEMPSTEAD                 NY
143679   WDD3G4FB4KW020721   Mercedes       A220                LOS ANGELES               CA
143680   WDD3G4FB4KW021156   Mercedes       A220                SANTA ANA                 CA
143681   WDD3G4FB4KW021416   Mercedes       A220                SAN DIEGO                 CA
143682   WDD3G4FB4KW022677   Mercedes       A220                PORTLAND                  OR
143683   WDD3G4FB4KW023246   Mercedes       A220                PHOENIX                   AZ
143684   WDD3G4FB4KW023425   Mercedes       A220                DAYTONA BEACH             FL
143685   WDD3G4FB4KW025952   Mercedes       A220                PHILADELPHIA              US
143686   WDD3G4FB4KW026423   Mercedes       A220                LOS ANGELES               CA
143687   WDD3G4FB4KW027233   Mercedes       A220                Cicero                    NY
143688   WDD3G4FB5KW018234   Mercedes       A220                PHILADELPHIA              PA
143689   WDD3G4FB5KW019366   Mercedes       A220                SANTA ANA                 CA
143690   WDD3G4FB5KW019934   Mercedes       A220                PHILADELPHIA              PA
143691   WDD3G4FB5KW019979   Mercedes       A220                BURBANK                   CA
143692   WDD3G4FB5KW020842   Mercedes       A220                Matteson                  IL
143693   WDD3G4FB5KW021392   Mercedes       A220                DENVER                    CO
143694   WDD3G4FB5KW021442   Mercedes       A220                DALLAS                    TX
143695   WDD3G4FB5KW021490   Mercedes       A220                BOSTON, LOGAN AP          MA
143696   WDD3G4FB5KW023501   Mercedes       A220                SEATAC                    WA
143697   WDD3G4FB5KW024034   Mercedes       A220                SEA TAC                   WA
143698   WDD3G4FB5KW024549   Mercedes       A220                ATLANTA                   GA
143699   WDD3G4FB5KW025524   Mercedes       A220                BIRMINGHAN                AL
143700   WDD3G4FB5KW025684   Mercedes       A220                SAN FRANCISCO             CA
143701   WDD3G4FB5KW025975   Mercedes       A220                MOBILE                    A
143702   WDD3G4FB5KW026432   Mercedes       A220                STERLING                  VA
143703   WDD3G4FB5KW026740   Mercedes       A220                PHILADELPHIA              US
143704   WDD3G4FB5KW026821   Mercedes       A220                NASHVILLE                 TN
143705   WDD3G4FB5KW026964   Mercedes       A220                PLATTSBURGH               NY
143706   WDD3G4FB5KW027175   Mercedes       A220                LOS ANGELES               CA
143707   WDD3G4FB6KW018193   Mercedes       A220                LOS ANGELES               CA
143708   WDD3G4FB6KW018551   Mercedes       A220                ALBUQERQUE                NM
143709   WDD3G4FB6KW018906   Mercedes       A220                LOS ANGELES               CA
143710   WDD3G4FB6KW019263   Mercedes       A220                SAN FRANCISCO             CA
143711   WDD3G4FB6KW019490   Mercedes       A220                MONTEREY                  CA
143712   WDD3G4FB6KW019697   Mercedes       A220                SACRAMENTO                CA
143713   WDD3G4FB6KW019960   Mercedes       A220                SEATAC                    WA
143714   WDD3G4FB6KW020123   Mercedes       A220                BOSTON                    MA
143715   WDD3G4FB6KW020381   Mercedes       A220                SACRAMENTO                CA
143716   WDD3G4FB6KW020400   Mercedes       A220                Manheim                   PA
143717   WDD3G4FB6KW020462   Mercedes       A220                NEWARK                    NJ
143718   WDD3G4FB6KW020669   Mercedes       A220                SEATAC                    WA
143719   WDD3G4FB6KW020722   Mercedes       A220                PHOENIX                   AZ
143720   WDD3G4FB6KW020817   Mercedes       A220                LAS VEGAS                 NV
143721   WDD3G4FB6KW021238   Mercedes       A220                LOS ANGELES               CA
143722   WDD3G4FB6KW021241   Mercedes       A220                SEATAC                    WA
143723   WDD3G4FB6KW022468   Mercedes       A220                BURBANK                   CA
143724   WDD3G4FB6KW022616   Mercedes       A220                WILMINGTON                NC
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143725   WDD3G4FB6KW022650   Mercedes       A220                NEWARK                    NJ
143726   WDD3G4FB6KW023586   Mercedes       A220                N. Palm Beach             FL
143727   WDD3G4FB6KW025757   Mercedes       A220                BURBANK                   CA
143728   WDD3G4FB6KW026519   Mercedes       A220                PITTSBURGH                PA
143729   WDD3G4FB6KW026665   Mercedes       A220                LOS ANGELES               CA
143730   WDD3G4FB6KW026715   Mercedes       A220                BALTIMORE                 MD
143731   WDD3G4FB6KW026973   Mercedes       A220                STERLING                  VA
143732   WDD3G4FB6KW026987   Mercedes       A220                ROCHESTER                 NY
143733   WDD3G4FB7KW018283   Mercedes       A220                LAS VEGAS                 NV
143734   WDD3G4FB7KW019692   Mercedes       A220                BOSTON                    MA
143735   WDD3G4FB7KW019711   Mercedes       A220                SEATAC                    WA
143736   WDD3G4FB7KW019756   Mercedes       A220                LOS ANGELES               CA
143737   WDD3G4FB7KW020681   Mercedes       A220                LAS VEGAS                 NV
143738   WDD3G4FB7KW020695   Mercedes       A220                PORTLAND                  ME
143739   WDD3G4FB7KW020857   Mercedes       A220                SAN DIEGO                 CA
143740   WDD3G4FB7KW021152   Mercedes       A220                JAMAICA                   NY
143741   WDD3G4FB7KW021636   Mercedes       A220                HARTFORD                  CT
143742   WDD3G4FB7KW022396   Mercedes       A220                NEW YORK CITY             NY
143743   WDD3G4FB7KW022706   Mercedes       A220                PALM SPRINGS              CA
143744   WDD3G4FB7KW023967   Mercedes       A220                SAN FRANCISCO             CA
143745   WDD3G4FB7KW026092   Mercedes       A220                CHICAGO                   IL
143746   WDD3G4FB7KW026433   Mercedes       A220                LOS ANGELES               CA
143747   WDD3G4FB7KW027176   Mercedes       A220                SAN DIEGO                 CA
143748   WDD3G4FB7KW027291   Mercedes       A220                SAN DIEGO                 CA
143749   WDD3G4FB8KW014288   Mercedes       A220                DENVER                    CO
143750   WDD3G4FB8KW018048   Mercedes       A220                COLORADO SPRING           CO
143751   WDD3G4FB8KW018602   Mercedes       A220                DENVER                    CO
143752   WDD3G4FB8KW019569   Mercedes       A220                Salt Lake City            UT
143753   WDD3G4FB8KW019605   Mercedes       A220                CHICAGO                   IL
143754   WDD3G4FB8KW020446   Mercedes       A220                BURBANK                   CA
143755   WDD3G4FB8KW021788   Mercedes       A220                PORTLAND                  OR
143756   WDD3G4FB8KW022567   Mercedes       A220                PORTLAND                  OR
143757   WDD3G4FB8KW022763   Mercedes       A220                BURBANK                   CA
143758   WDD3G4FB8KW022858   Mercedes       A220                BALTIMORE                 MD
143759   WDD3G4FB8KW022908   Mercedes       A220                COLUMBUS                  OH
143760   WDD3G4FB8KW022956   Mercedes       A220                BALTIMORE                 MD
143761   WDD3G4FB8KW023847   Mercedes       A220                SACRAMENTO                CA
143762   WDD3G4FB8KW025548   Mercedes       A220                SANTA CLARA               CA
143763   WDD3G4FB8KW025579   Mercedes       A220                Lynn                      MA
143764   WDD3G4FB8KW025954   Mercedes       A220                LAS VEGAS                 NV
143765   WDD3G4FB8KW025971   Mercedes       A220                BURBANK                   CA
143766   WDD3G4FB8KW026280   Mercedes       A220                STERLING                  VA
143767   WDD3G4FB8KW026523   Mercedes       A220                SOUTH SAN FRANC           CA
143768   WDD3G4FB9KW018236   Mercedes       A220                LOS ANGELES               CA
143769   WDD3G4FB9KW018544   Mercedes       A220                RICHMOND                  VA
143770   WDD3G4FB9KW019306   Mercedes       A220                Los Angeles               CA
143771   WDD3G4FB9KW020200   Mercedes       A220                SYRACUSE                  NY
143772   WDD3G4FB9KW020634   Mercedes       A220                WHITE PLAINS              NY
143773   WDD3G4FB9KW020696   Mercedes       A220                MILWAUKEE                 WI
143774   WDD3G4FB9KW020701   Mercedes       A220                SOUTH SAN FRANC           CA
143775   WDD3G4FB9KW020715   Mercedes       A220                HARTFORD                  CT
143776   WDD3G4FB9KW020858   Mercedes       A220                PHOENIX                   AZ
143777   WDD3G4FB9KW020911   Mercedes       A220                SAN DIEGO                 CA
143778   WDD3G4FB9KW022397   Mercedes       A220                NEWARK                    NJ
143779   WDD3G4FB9KW022416   Mercedes       A220                PHOENIX                   AZ
143780   WDD3G4FB9KW022707   Mercedes       A220                DES PLAINES               IL
143781   WDD3G4FB9KW023422   Mercedes       A220                PALM SPRINGS              CA
143782   WDD3G4FB9KW024330   Mercedes       A220                PALM SPRINGS              CA
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143783   WDD3G4FB9KW025882   Mercedes       A220                Winston‐Salem             NC
143784   WDD3G4FB9KW026014   Mercedes       A220                PHOENIX                   AZ
143785   WDD3G4FB9KW026353   Mercedes       A220                RALEIGH                   NC
143786   WDD3G4FB9KW026479   Mercedes       A220                BALTIMORE                 MD
143787   WDD3G4FB9KW026756   Mercedes       A220                NEW YORK CITY             NY
143788   WDD3G4FB9KW027132   Mercedes       A220                FRESNO                    CA
143789   WDD3G4FB9KW027308   Mercedes       A220                SAN DIEGO                 CA
143790   WDD3G4FBXKW013630   Mercedes       A220                DENVER                    CO
143791   WDD3G4FBXKW018004   Mercedes       A220                WHITE PLAINS              NY
143792   WDD3G4FBXKW018312   Mercedes       A220                OAKLAND                   CA
143793   WDD3G4FBXKW018472   Mercedes       A220                NASHVILLE                 TN
143794   WDD3G4FBXKW018651   Mercedes       A220                Jacksonville              FL
143795   WDD3G4FBXKW018911   Mercedes       A220                SANTA BARBARA             CA
143796   WDD3G4FBXKW019699   Mercedes       A220                OAKLAND                   CA
143797   WDD3G4FBXKW020609   Mercedes       A220                PELHAM MANOR              NY
143798   WDD3G4FBXKW021095   Mercedes       A220                NEWARK                    NJ
143799   WDD3G4FBXKW021646   Mercedes       A220                Johnston                  RI
143800   WDD3G4FBXKW021677   Mercedes       A220                LOS ANGELES AP            CA
143801   WDD3G4FBXKW021825   Mercedes       A220                SAN FRANCISCO             CA
143802   WDD3G4FBXKW022960   Mercedes       A220                SAN JOSE                  CA
143803   WDD3G4FBXKW023011   Mercedes       A220                KENNER                    LA
143804   WDD3G4FBXKW023963   Mercedes       A220                SAN FRANCISCO             CA
143805   WDD3G4FBXKW025955   Mercedes       A220                BIRMINGHAM                AL
143806   WDD3G4FBXKW026572   Mercedes       A220                SYRACUSE                  NY
143807   WDD3G4FBXKW026605   Mercedes       A220                BOSTON                    MA
143808   WDD3G4FBXKW026636   Mercedes       A220                PALM SPRINGS              CA
143809   WDD3G4FBXKW027267   Mercedes       A220                SYRACUSE                  NY
143810   WDD3G4FBXKW027561   Mercedes       A220                SAN FRANCISCO             CA
143811   WDDHF5KB6GB326340   Mercedes       E350                EAST BOSTON               MA
143812   WDDPK3JA0JF155556   Mercedes       SLC300              Kahului                   HI
143813   WDDPK3JA0JF155704   Mercedes       SLC300              DAYTONA BEACH             FL
143814   WDDPK3JA0JF155878   Mercedes       SLC300              SANTA ANA                 CA
143815   WDDPK3JA0KF161830   Mercedes       SLC300              LOS ANGELES               CA
143816   WDDPK3JA0KF162878   Mercedes       SLC300              LAS VEGAS                 NV
143817   WDDPK3JA0KF163092   Mercedes       SLC300              Riverside                 CA
143818   WDDPK3JA1HF141188   Mercedes       SLC300              Honolulu                  HI
143819   WDDPK3JA1JF155520   Mercedes       SLC300              Kahului                   HI
143820   WDDPK3JA1JF155565   Mercedes       SLC300              Kahului                   HI
143821   WDDPK3JA1JF156182   Mercedes       SLC300              WOODLAND HILLS            CA
143822   WDDPK3JA1KF162923   Mercedes       SLC300              TRACY                     CA
143823   WDDPK3JA1KF162954   Mercedes       SLC300              Reno                      NV
143824   WDDPK3JA1KF162985   Mercedes       SLC300              TAMPA                     FL
143825   WDDPK3JA1KF163036   Mercedes       SLC300              SACRAMENTO                CA
143826   WDDPK3JA1KF163053   Mercedes       SLC300              SACRAMENTO                CA
143827   WDDPK3JA1KF163070   Mercedes       SLC300              SAN JOSE                  CA
143828   WDDPK3JA1KF163148   Mercedes       SLC300              FORT MYERS                FL
143829   WDDPK3JA1KF163389   Mercedes       SLC300              PHOENIX                   AZ
143830   WDDPK3JA1KF163540   Mercedes       SLC300              Torrance                  CA
143831   WDDPK3JA1KF163831   Mercedes       SLC300              LOS ANGELES               CA
143832   WDDPK3JA2JF155039   Mercedes       SLC300              Kahului                   HI
143833   WDDPK3JA2JF155199   Mercedes       SLC300              Kahului                   HI
143834   WDDPK3JA2JF155624   Mercedes       SLC300              KAHULUI                   HI
143835   WDDPK3JA2JF155669   Mercedes       SLC300              TRACY                     CA
143836   WDDPK3JA2JF155963   Mercedes       SLC300              BURBANK                   CA
143837   WDDPK3JA2KF161960   Mercedes       SLC300              SAN DIEGO                 CA
143838   WDDPK3JA2KF161988   Mercedes       SLC300              LOS ANGELES               CA
143839   WDDPK3JA2KF162817   Mercedes       SLC300              FORT MYERS                FL
143840   WDDPK3JA2KF162865   Mercedes       SLC300              ORLANDO                   FL
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143841   WDDPK3JA2KF162963   Mercedes       SLC300              ORLANDO                   FL
143842   WDDPK3JA2KF163031   Mercedes       SLC300              PHOENIX                   AZ
143843   WDDPK3JA2KF163062   Mercedes       SLC300              SAN FRANCISCO             CA
143844   WDDPK3JA2KF163367   Mercedes       SLC300              SANTA ANA                 CA
143845   WDDPK3JA3JF155096   Mercedes       SLC300              Kahului                   HI
143846   WDDPK3JA3JF155261   Mercedes       SLC300              Mira Loma                 CA
143847   WDDPK3JA3JF155454   Mercedes       SLC300              San Diego                 CA
143848   WDDPK3JA3JF155812   Mercedes       SLC300              Fresno                    CA
143849   WDDPK3JA3JF156295   Mercedes       SLC300              Las Vegas                 NV
143850   WDDPK3JA3KF161806   Mercedes       SLC300              LOS ANGELES               CA
143851   WDDPK3JA3KF162745   Mercedes       SLC300              SAN JOSE                  CA
143852   WDDPK3JA3KF162891   Mercedes       SLC300              PHOENIX                   AZ
143853   WDDPK3JA3KF162910   Mercedes       SLC300              SEATAC                    WA
143854   WDDPK3JA3KF162969   Mercedes       SLC300              NEWARK                    NJ
143855   WDDPK3JA3KF163216   Mercedes       SLC300              Davie                     FL
143856   WDDPK3JA3KF163233   Mercedes       SLC300              WEST PALM BEACH           FL
143857   WDDPK3JA3KF163281   Mercedes       SLC300              PHOENIX                   AZ
143858   WDDPK3JA3KF163328   Mercedes       SLC300              SACRAMENTO                CA
143859   WDDPK3JA3KF163863   Mercedes       SLC300              ORLANDO                   FL
143860   WDDPK3JA4JF155186   Mercedes       SLC300              SAN DIEGO                 CA
143861   WDDPK3JA4JF156225   Mercedes       SLC300              SAN FRANCISCO             CA
143862   WDDPK3JA4KF162057   Mercedes       SLC300              SAN FRANCISCO             CA
143863   WDDPK3JA4KF162298   Mercedes       SLC300              San Diego                 CA
143864   WDDPK3JA4KF162799   Mercedes       SLC300              SAN DIEGO                 CA
143865   WDDPK3JA4KF162804   Mercedes       SLC300              SAN DIEGO                 CA
143866   WDDPK3JA4KF162897   Mercedes       SLC300              SAVANNAH                  GA
143867   WDDPK3JA4KF162978   Mercedes       SLC300              LOS ANGELES               CA
143868   WDDPK3JA4KF163029   Mercedes       SLC300              SANTA CLARA               CA
143869   WDDPK3JA4KF163080   Mercedes       SLC300              Anaheim                   CA
143870   WDDPK3JA4KF163113   Mercedes       SLC300              FORT LAUDERDALE           FL
143871   WDDPK3JA4KF163242   Mercedes       SLC300              SAN JOSE                  CA
143872   WDDPK3JA5JF155181   Mercedes       SLC300              Kahului                   HI
143873   WDDPK3JA5JF155228   Mercedes       SLC300              Fontana                   CA
143874   WDDPK3JA5JF155343   Mercedes       SLC300              Atlanta                   GA
143875   WDDPK3JA5JF155715   Mercedes       SLC300              LOS ANGELES               CA
143876   WDDPK3JA5JF156542   Mercedes       SLC300              SANTA ANA                 CA
143877   WDDPK3JA5KF161919   Mercedes       SLC300              PHOENIX                   AZ
143878   WDDPK3JA5KF162097   Mercedes       SLC300              Burien                    WA
143879   WDDPK3JA5KF162973   Mercedes       SLC300              LOS ANGELES               CA
143880   WDDPK3JA5KF162987   Mercedes       SLC300              MIAMI                     FL
143881   WDDPK3JA5KF163072   Mercedes       SLC300              ORLANDO                   FL
143882   WDDPK3JA5KF163458   Mercedes       SLC300              ATLANTA                   GA
143883   WDDPK3JA5KF163511   Mercedes       SLC300              SANTA BARBARA             CA
143884   WDDPK3JA5KF163721   Mercedes       SLC300              Salt Lake City            UT
143885   WDDPK3JA6HF141378   Mercedes       SLC300              North Las Vegas           NV
143886   WDDPK3JA6JF155075   Mercedes       SLC300              Kahului                   HI
143887   WDDPK3JA6JF155593   Mercedes       SLC300              ATLANTA                   GA
143888   WDDPK3JA6JF156551   Mercedes       SLC300              Phoenix                   AZ
143889   WDDPK3JA6KF162027   Mercedes       SLC300              LAS VEGAS                 NV
143890   WDDPK3JA6KF162772   Mercedes       SLC300              LOS ANGELES               CA
143891   WDDPK3JA6KF162836   Mercedes       SLC300              ORLANDO                   FL
143892   WDDPK3JA6KF163002   Mercedes       SLC300              SAN FRANCISCO             CA
143893   WDDPK3JA6KF163033   Mercedes       SLC300              Fontana                   CA
143894   WDDPK3JA6KF163081   Mercedes       SLC300              KNOXVILLE                 TN
143895   WDDPK3JA6KF163100   Mercedes       SLC300              MONTEREY                  CA
143896   WDDPK3JA6KF163260   Mercedes       SLC300              Warr Acres                OK
143897   WDDPK3JA6KF163436   Mercedes       SLC300              SAN JOSE                  CA
143898   WDDPK3JA6KF163663   Mercedes       SLC300              Tampa                     FL
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143899   WDDPK3JA6KF163789   Mercedes       SLC300              Tampa                     FL
143900   WDDPK3JA6KF163985   Mercedes       SLC300              Davie                     FL
143901   WDDPK3JA7HF140868   Mercedes       SLC300              North Las Vegas           NV
143902   WDDPK3JA7JF155540   Mercedes       SLC300              MIAMI                     FL
143903   WDDPK3JA7KF162912   Mercedes       SLC300              PALM SPRINGS              CA
143904   WDDPK3JA7KF163025   Mercedes       SLC300              WEST PALM BEACH           FL
143905   WDDPK3JA7KF163509   Mercedes       SLC300              SANTA ANA                 CA
143906   WDDPK3JA7KF163994   Mercedes       SLC300              SARASOTA                  FL
143907   WDDPK3JA8JF155014   Mercedes       SLC300              FORT MYERS                FL
143908   WDDPK3JA8JF155286   Mercedes       SLC300              KAHULUI                   HI
143909   WDDPK3JA8JF156230   Mercedes       SLC300              LOS ANGELES               CA
143910   WDDPK3JA8JF156504   Mercedes       SLC300              DES PLAINES               IL
143911   WDDPK3JA8KF161929   Mercedes       SLC300              LOS ANGELES               CA
143912   WDDPK3JA8KF162045   Mercedes       SLC300              SAN FRANCISCO             CA
143913   WDDPK3JA8KF162109   Mercedes       SLC300              SAN DIEGO                 CA
143914   WDDPK3JA8KF162420   Mercedes       SLC300              OAKLAND                   CA
143915   WDDPK3JA8KF162806   Mercedes       SLC300              ORANGE COUNTY             CA
143916   WDDPK3JA8KF162840   Mercedes       SLC300              MIAMI                     FL
143917   WDDPK3JA8KF162885   Mercedes       SLC300              Tampa                     FL
143918   WDDPK3JA8KF163132   Mercedes       SLC300              Stone Mountain            GA
143919   WDDPK3JA8KF163440   Mercedes       SLC300              S. San Francisc           CA
143920   WDDPK3JA8KF163891   Mercedes       SLC300              LAS VEGAS                 NV
143921   WDDPK3JA9JF155121   Mercedes       SLC300              WEST PALM BEACH           FL
143922   WDDPK3JA9JF155135   Mercedes       SLC300              WEST PALM BEACH           FL
143923   WDDPK3JA9JF155149   Mercedes       SLC300              SAN FRANCISCO             CA
143924   WDDPK3JA9JF155202   Mercedes       SLC300              SAN JOSE                  CA
143925   WDDPK3JA9JF156186   Mercedes       SLC300              CARLSBAD                  CA
143926   WDDPK3JA9JF156284   Mercedes       SLC300              BURBANK                   CA
143927   WDDPK3JA9JF156365   Mercedes       SLC300              San Diego                 CA
143928   WDDPK3JA9JF156429   Mercedes       SLC300              ATLANTA                   GA
143929   WDDPK3JA9KF162460   Mercedes       SLC300              Hayward                   CA
143930   WDDPK3JA9KF162717   Mercedes       SLC300              Davie                     FL
143931   WDDPK3JA9KF162975   Mercedes       SLC300              SAN DIEGO                 US
143932   WDDPK3JA9KF163009   Mercedes       SLC300              Davie                     FL
143933   WDDPK3JA9KF163088   Mercedes       SLC300              Ft. Myers                 FL
143934   WDDPK3JA9KF163155   Mercedes       SLC300              SAN JOSE                  CA
143935   WDDPK3JA9KF163477   Mercedes       SLC300              Santa Clara               CA
143936   WDDPK3JA9KF163513   Mercedes       SLC300              PHOENIX                   AZ
143937   WDDPK3JA9KF163754   Mercedes       SLC300              Sacramento                CA
143938   WDDPK3JA9KF163835   Mercedes       SLC300              SAN FRANCISCO             CA
143939   WDDPK3JAXJF155211   Mercedes       SLC300              LAS VEGAS                 NV
143940   WDDPK3JAXJF155676   Mercedes       SLC300              LOS ANGELES               CA
143941   WDDPK3JAXJF156374   Mercedes       SLC300              LOS ANGELES               CA
143942   WDDPK3JAXKF161916   Mercedes       SLC300              PORTLAND                  OR
143943   WDDPK3JAXKF162077   Mercedes       SLC300              ONTARIO                   CA
143944   WDDPK3JAXKF162371   Mercedes       SLC300              Santa Clara               CA
143945   WDDPK3JAXKF162418   Mercedes       SLC300              Phoenix                   AZ
143946   WDDPK3JAXKF162757   Mercedes       SLC300              WEST PALM BEACH           FL
143947   WDDPK3JAXKF162788   Mercedes       SLC300              SANTA ANA                 CA
143948   WDDPK3JAXKF162810   Mercedes       SLC300              Ft. Myers                 FL
143949   WDDPK3JAXKF163004   Mercedes       SLC300              LAS VEGAS                 NV
143950   WDDPK3JAXKF163150   Mercedes       SLC300              ORLANDO                   FL
143951   WDDPK3JAXKF163195   Mercedes       SLC300              Riverside                 CA
143952   WDDPK3JAXKF163245   Mercedes       SLC300              SEATAC                    WA
143953   WDDPK3JAXKF163326   Mercedes       SLC300              Portland                  OR
143954   WDDSJ4EB2GN303484   Mercedes       CLA250              JACKSONVILLE              US
143955   WDDSJ5CB0JN677270   Mercedes       CLA45               DAYTONA BEACH             FL
143956   WDDSJ5CB0KN764166   Mercedes       CLA45               LOS ANGELES               CA
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143957   WDDSJ5CB0KN767102   Mercedes       CLA45               WEST PALM BEACH           FL
143958   WDDSJ5CB1JN666097   Mercedes       CLA45               Fontana                   CA
143959   WDDSJ5CB1KN764208   Mercedes       CLA45               ORLANDO                   FL
143960   WDDSJ5CB1KN764919   Mercedes       CLA45               MIAMI                     FL
143961   WDDSJ5CB1KN765763   Mercedes       CLA45               SAN DIEGO                 CA
143962   WDDSJ5CB1KN765956   Mercedes       CLA45               LOS ANGELES               CA
143963   WDDSJ5CB2JN665119   Mercedes       CLA45               SAN DIEGO                 CA
143964   WDDSJ5CB2KN766260   Mercedes       CLA45               LAS VEGAS                 NV
143965   WDDSJ5CB3JN665906   Mercedes       CLA45               SAN DIEGO                 CA
143966   WDDSJ5CB3JN671723   Mercedes       CLA45               LOS ANGELES               CA
143967   WDDSJ5CB3JN683077   Mercedes       CLA45               SAN JOSE                  CA
143968   WDDSJ5CB3KN762637   Mercedes       CLA45               PHOENIX                   AZ
143969   WDDSJ5CB3KN763738   Mercedes       CLA45               ATLANTA                   GA
143970   WDDSJ5CB3KN766199   Mercedes       CLA45               SANTA ANA                 CA
143971   WDDSJ5CB4JN667633   Mercedes       CLA45               N. Palm Beach             FL
143972   WDDSJ5CB4JN668281   Mercedes       CLA45               MIAMI                     FL
143973   WDDSJ5CB4JN669771   Mercedes       CLA45               LAS VEGAS                 NV
143974   WDDSJ5CB4JN679538   Mercedes       CLA45               Tampa                     FL
143975   WDDSJ5CB4KN762596   Mercedes       CLA45               Clearwater                FL
143976   WDDSJ5CB4KN765997   Mercedes       CLA45               SAN DIEGO                 CA
143977   WDDSJ5CB5KN764440   Mercedes       CLA45               MIAMI                     FL
143978   WDDSJ5CB5KN765815   Mercedes       CLA45               SAN DIEGO                 CA
143979   WDDSJ5CB5KN766429   Mercedes       CLA45               MIAMI                     FL
143980   WDDSJ5CB6JN665964   Mercedes       CLA45               LOS ANGELES               CA
143981   WDDSJ5CB6JN678214   Mercedes       CLA45               N. Palm Beach             FL
143982   WDDSJ5CB6JN680125   Mercedes       CLA45               FORT MYERS                FL
143983   WDDSJ5CB6JN681825   Mercedes       CLA45               SAN DIEGO                 CA
143984   WDDSJ5CB7JN665570   Mercedes       CLA45               SAN FRANCISCO             CA
143985   WDDSJ5CB7KN763872   Mercedes       CLA45               Tampa                     FL
143986   WDDSJ5CB7KN764391   Mercedes       CLA45               SAN DIEGO                 CA
143987   WDDSJ5CB7KN765167   Mercedes       CLA45               LOS ANGELES               CA
143988   WDDSJ5CB8KN763993   Mercedes       CLA45               TAMPA                     US
143989   WDDSJ5CB8KN764996   Mercedes       CLA45               ORLANDO                   FL
143990   WDDSJ5CB8KN765713   Mercedes       CLA45               MIAMI                     FL
143991   WDDSJ5CB8KN766134   Mercedes       CLA45               FORT LAUDERDALE           FL
143992   WDDSJ5CB9JN671306   Mercedes       CLA45               LOS ANGELES               CA
143993   WDDSJ5CB9KN765106   Mercedes       CLA45               SAN DIEGO                 CA
143994   WDDSJ5CB9KN765638   Mercedes       CLA45               LOS ANGELES               CA
143995   WDDSJ5CBXJN678099   Mercedes       CLA45               TAMPA                     US
143996   WDDWK4JB0JF614112   Mercedes       C300                LOS ANGELES               CA
143997   WDDWK4JB1JF653629   Mercedes       C300                Fontana                   CA
143998   WDDWK4JB3JF617621   Mercedes       C300                LOS ANGELES               CA
143999   WDDWK4JB4JF642432   Mercedes       C300                SACRAMENTO                CA
144000   WDDWK4JB5JF618589   Mercedes       C300                North Las Vegas           NV
144001   WDDWK4JB6JF637295   Mercedes       C300
144002   WP0AA2A80KS260097   Porsche        CAYMAN              LOS ANGELES               CA
144003   WP0AA2A80KS260102   Porsche        CAYMAN              WEST PALM BEACH           FL
144004   WP0AA2A80KS260147   Porsche        CAYMAN              MIAMI                     FL
144005   WP0AA2A80KS260150   Porsche        CAYMAN              San Francisco             CA
144006   WP0AA2A81KS260092   Porsche        CAYMAN              FORT MYERS                FL
144007   WP0AA2A82KS260098   Porsche        CAYMAN              ORLANDO                   FL
144008   WP0AA2A82KS260103   Porsche        CAYMAN              LOS ANGELES               CA
144009   WP0AA2A83KS260093   Porsche        CAYMAN              DAYTONA BEACH             FL
144010   WP0AA2A83KS260109   Porsche        CAYMAN              Tampa                     FL
144011   WP0AA2A83KS260143   Porsche        CAYMAN              FORT LAUDERDALE           FL
144012   WP0AA2A84KS260099   Porsche        CAYMAN              Miami                     FL
144013   WP0AA2A84KS260149   Porsche        CAYMAN              MIAMI                     FL
144014   WP0AA2A84KS260152   Porsche        CAYMAN              ORLANDO                   FL
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144015   WP0AA2A85KS260094   Porsche       CAYMAN                 SAN FRANCISCO          CA
144016   WP0AA2A85KS260158   Porsche       CAYMAN                 FORT MYERS             FL
144017   WP0AA2A87KS260095   Porsche       CAYMAN                 ORLANDO                FL
144018   WP0AA2A87KS260100   Porsche       CAYMAN                 SANTA ANA              CA
144019   WP0AA2A88KS260090   Porsche       CAYMAN                 ORLANDO                FL
144020   WP0AA2A88KS260154   Porsche       CAYMAN                 SAN JOSE               CA
144021   WP0AA2A89KS260096   Porsche       CAYMAN                 FORT LAUDERDALE        FL
144022   WP0AA2A89KS260101   Porsche       CAYMAN                 LOS ANGELES            CA
144023   WP0AA2A89KS260146   Porsche       CAYMAN                 SAN FRANCISCO          CA
144024   WP0AA2A8XKS260091   Porsche       CAYMAN                 SAN FRANCISCO          CA
144025   WP0AA2A8XKS260110   Porsche       CAYMAN                 LOS ANGELES            CA
144026   WP0AA2A8XKS260155   Porsche       CAYMAN                 MIAMI                  FL
144027   WP0AA2A90KS103517   Porsche                        911   MIAMI                  FL
144028   WP0AA2A90KS103520   Porsche                        911   LOS ANGELES            CA
144029   WP0AA2A90KS103548   Porsche                        911   MIAMI                  FL
144030   WP0AA2A90KS103551   Porsche                        911   FORT LAUDERDALE        FL
144031   WP0AA2A90KS103582   Porsche                        911   FORT LAUDERDALE        FL
144032   WP0AA2A91KS103509   Porsche                        911   Dania                  FL
144033   WP0AA2A91KS103543   Porsche                        911   Dania Beach            FL
144034   WP0AA2A92KS103549   Porsche                        911   MIAMI                  FL
144035   WP0AA2A92KS103552   Porsche                        911   WEST PALM BEACH        FL
144036   WP0AA2A92KS103583   Porsche                        911   DANIA BEACH            FL
144037   WP0AA2A93KS103527   Porsche                        911   Statesville            NC
144038   WP0AA2A93KS103530   Porsche                        911   SAN FRANCISCO          CA
144039   WP0AA2A93KS103561   Porsche                        911   FT. LAUDERDALE         FL
144040   WP0AA2A93KS103575   Porsche                        911   SAN FRANCISCO          CA
144041   WP0AA2A93KS103589   Porsche                        911   FT. LAUDERDALE         FL
144042   WP0AA2A94KS103536   Porsche                        911   TAMPA                  FL
144043   WP0AA2A94KS103553   Porsche                        911   BURBANK                CA
144044   WP0AA2A94KS103567   Porsche                        911   TRACY                  CA
144045   WP0AA2A94KS103570   Porsche                        911   WEST PALM BEACH        FL
144046   WP0AA2A95KS103514   Porsche                        911   SAN DIEGO              CA
144047   WP0AA2A95KS103528   Porsche                        911   MIAMI                  FL
144048   WP0AA2A95KS103531   Porsche                        911   MIAMI                  FL
144049   WP0AA2A96KS103506   Porsche                        911   SAN DIEGO              CA
144050   WP0AA2A96KS103568   Porsche                        911   FORT LAUDERDALE        FL
144051   WP0AA2A96KS103571   Porsche                        911   MIAMI                  FL
144052   WP0AA2A96KS103585   Porsche                        911   FORT LAUDERDALE        FL
144053   WP0AA2A96KS103635   Porsche                        911   SAN DIEGO              CA
144054   WP0AA2A97KS103515   Porsche                        911   SOUTH SAN FRANC        CA
144055   WP0AA2A97KS103529   Porsche                        911   Jacksonville           FL
144056   WP0AA2A97KS103563   Porsche                        911   SAN FRANCISCO          CA
144057   WP0AA2A98KS103510   Porsche                        911   SAN FRANCISCO          CA
144058   WP0AA2A98KS103524   Porsche                        911   Tampa                  FL
144059   WP0AA2A98KS103541   Porsche                        911   LOS ANGELES            CA
144060   WP0AA2A98KS103572   Porsche                        911   FORT LAUDERDALE        FL
144061   WP0AA2A98KS103586   Porsche                        911   SAN FRANCISCO          CA
144062   WP0AA2A99KS103550   Porsche                        911   TAMPA                  FL
144063   WP0AA2A99KS103564   Porsche                        911   MIAMI                  FL
144064   WP0AA2A99KS103578   Porsche                        911   SOUTH SAN FRANC        CA
144065   WP0AA2A9XKS103492   Porsche                        911   TRACY                  CA
144066   WP0AA2A9XKS103508   Porsche                        911   SARASOTA               FL
144067   WP0AA2A9XKS103525   Porsche                        911   SOUTH SAN FRANC        CA
144068   WP0AA2A9XKS103539   Porsche                        911   DANIA BEACH            FL
144069   WP0AA2A9XKS103556   Porsche                        911   FORT MYERS             FL
144070   WP0AB2A90LS227480   Porsche                        911   ORLANDO                FL
144071   WP0AB2A90LS227513   Porsche                        911   CHARLOTTE              US
144072   WP0AB2A90LS227527   Porsche                        911   HANOVER                MD
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144073   WP0AB2A90LS227589   Porsche                        911   SAN FRANCISCO          CA
144074   WP0AB2A90LS227818   Porsche                        911   SAN FRANCISCO          CA
144075   WP0AB2A90LS227852   Porsche                        911   SAN FRANCISCO          CA
144076   WP0AB2A90LS227866   Porsche                        911   SAN FRANCISCO          CA
144077   WP0AB2A91LS227505   Porsche                        911   MIAMI                  FL
144078   WP0AB2A91LS227813   Porsche                        911   STERLING               US
144079   WP0AB2A91LS227858   Porsche                        911   LOS ANGELES            CA
144080   WP0AB2A91LS227861   Porsche                        911   LAS VEGAS              NV
144081   WP0AB2A91LS227875   Porsche                        911   SAN FRANCISCO          CA
144082   WP0AB2A93LS227392   Porsche                        911   LAS VEGAS              NV
144083   WP0AB2A93LS227456   Porsche                        911   ORLANDO                FL
144084   WP0AB2A93LS227487   Porsche                        911   ORLANDO                FL
144085   WP0AB2A93LS227506   Porsche                        911   FORT LAUDERDALE        FL
144086   WP0AB2A93LS227781   Porsche                        911   SAN JOSE               CA
144087   WP0AB2A93LS227814   Porsche                        911   LAS VEGAS              NV
144088   WP0AB2A94LS227482   Porsche                        911   MIAMI                  FL
144089   WP0AB2A94LS227773   Porsche                        911   LAS VEGAS              NV
144090   WP0AB2A94LS227790   Porsche                        911   SAN FRANCISCO          CA
144091   WP0AB2A94LS227871   Porsche                        911   SOUTH SAN FRANC        CA
144092   WP0AB2A95LS227491   Porsche                        911   MIAMI                  FL
144093   WP0AB2A95LS227779   Porsche                        911   STERLING               VA
144094   WP0AB2A95LS227815   Porsche                        911   LOS ANGELES AP         CA
144095   WP0AB2A96LS227628   Porsche                        911   LOS ANGELES            CA
144096   WP0AB2A96LS227788   Porsche                        911   NEWARK                 NJ
144097   WP0AB2A96LS227872   Porsche                        911   STERLING               VA
144098   WP0AB2A97LS227492   Porsche                        911   MIAMI                  FL
144099   WP0AB2A97LS227542   Porsche                        911   LOS ANGELES            CA
144100   WP0AB2A97LS227850   Porsche                        911   LOS ANGELES            CA
144101   WP0AB2A97LS227864   Porsche                        911   STERLING               VA
144102   WP0AB2A98LS227789   Porsche                        911   LOS ANGELES            CA
144103   WP0AB2A98LS227811   Porsche                        911   LOS ANGELES            CA
144104   WP0AB2A98LS227856   Porsche                        911   LOS ANGELES            CA
144105   WP0AB2A98LS227873   Porsche                        911   LOS ANGELES            CA
144106   WP0AB2A99LS227851   Porsche                        911   SAN FRANCISCO          CA
144107   WP0AB2A9XLS227504   Porsche                        911   MIAMI                  FL
144108   WP0AB2A9XLS227812   Porsche                        911   SAN FRANCISCO          CA
144109   WP0AB2A9XLS227857   Porsche                        911   LOS ANGELES            CA
144110   WP0AB2A9XLS227874   Porsche                        911   SAN DIEGO              CA
144111   WP0CA2A80KS210244   Porsche       BOXSTER                SAN FRANCISCO          CA
144112   WP0CA2A80KS210261   Porsche       BOXSTER                TAMPA                  US
144113   WP0CA2A80KS210275   Porsche       BOXSTER                TAMPA                  US
144114   WP0CA2A80KS210292   Porsche       BOXSTER                MIAMI                  FL
144115   WP0CA2A81KS210219   Porsche       BOXSTER                LOS ANGELES            CA
144116   WP0CA2A81KS210236   Porsche       BOXSTER                MIAMI                  FL
144117   WP0CA2A81KS210270   Porsche       BOXSTER                FORT LAUDERDALE        FL
144118   WP0CA2A81KS210284   Porsche       BOXSTER                MIAMI                  FL
144119   WP0CA2A82KS210245   Porsche       BOXSTER                FORT LAUDERDALE        FL
144120   WP0CA2A82KS210259   Porsche       BOXSTER                FORT LAUDERDALE        FL
144121   WP0CA2A82KS210262   Porsche       BOXSTER                FORT LAUDERDALE        FL
144122   WP0CA2A82KS210276   Porsche       BOXSTER                MIAMI                  FL
144123   WP0CA2A83KS210254   Porsche       BOXSTER                LOS ANGELES            CA
144124   WP0CA2A83KS210271   Porsche       BOXSTER                ORLANDO                FL
144125   WP0CA2A83KS210285   Porsche       BOXSTER                FORT MYERS             FL
144126   WP0CA2A84KS210246   Porsche       BOXSTER                FORT MYERS             FL
144127   WP0CA2A84KS210277   Porsche       BOXSTER                SAN FRANCISCO          CA
144128   WP0CA2A84KS210280   Porsche       BOXSTER                SAN JOSE               CA
144129   WP0CA2A84KS210294   Porsche       BOXSTER                ORLANDO                FL
144130   WP0CA2A85KS210255   Porsche       BOXSTER                MIAMI                  FL
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144131   WP0CA2A85KS210272   Porsche       BOXSTER             MIAMI                     FL
144132   WP0CA2A86KS210216   Porsche       BOXSTER             LOS ANGELES               CA
144133   WP0CA2A86KS210250   Porsche       BOXSTER             LOS ANGELES               CA
144134   WP0CA2A86KS210278   Porsche       BOXSTER             MIAMI                     FL
144135   WP0CA2A86KS210281   Porsche       BOXSTER             ORLANDO                   FL
144136   WP0CA2A86KS210295   Porsche       BOXSTER             FORT LAUDERDALE           FL
144137   WP0CA2A86KS210300   Porsche       BOXSTER             MIAMI                     FL
144138   WP0CA2A87KS210273   Porsche       BOXSTER             MIAMI                     FL
144139   WP0CA2A87KS210287   Porsche       BOXSTER             SAN FRANCISCO             CA
144140   WP0CA2A87KS210290   Porsche       BOXSTER             ORLANDO                   FL
144141   WP0CA2A88KS210170   Porsche       BOXSTER             MIAMI                     FL
144142   WP0CA2A88KS210248   Porsche       BOXSTER             SOUTH SAN FRANC           CA
144143   WP0CA2A88KS210251   Porsche       BOXSTER             SAN JOSE                  CA
144144   WP0CA2A88KS210279   Porsche       BOXSTER             ORLANDO                   FL
144145   WP0CA2A88KS210282   Porsche       BOXSTER             FORT LAUDERDALE           FL
144146   WP0CA2A88KS210296   Porsche       BOXSTER             ORLANDO                   FL
144147   WP0CA2A88KS210301   Porsche       BOXSTER             SARASOTA                  FL
144148   WP0CA2A89KS210274   Porsche       BOXSTER             FORT LAUDERDALE           FL
144149   WP0CA2A89KS210288   Porsche       BOXSTER             ORLANDO                   FL
144150   WP0CA2A89KS210291   Porsche       BOXSTER             OAKLAND                   CA
144151   WP0CA2A8XKS210185   Porsche       BOXSTER             SAN FRANCISCO             CA
144152   WP0CA2A8XKS210218   Porsche       BOXSTER             LAS VEGAS                 NV
144153   WP0CA2A8XKS210221   Porsche       BOXSTER             LOS ANGELES               CA
144154   WP0CA2A8XKS210249   Porsche       BOXSTER             MIAMI                     FL
144155   WP0CA2A8XKS210252   Porsche       BOXSTER             SANTA ANA                 CA
144156   WP0CA2A8XKS210297   Porsche       BOXSTER             Sacramento                CA
144157   WP1AA2A50JLB19575   Porsche       MACAN               PHOENIX                   AZ
144158   WP1AA2A50JLB19673   Porsche       MACAN               North Las Vegas           NV
144159   WP1AA2A50JLB19690   Porsche       MACAN               LAS VEGAS                 NV
144160   WP1AA2A50JLB19706   Porsche       MACAN               Aurora                    CO
144161   WP1AA2A50JLB19785   Porsche       MACAN               San Diego                 CA
144162   WP1AA2A50JLB19950   Porsche       MACAN               Las Vegas                 NV
144163   WP1AA2A50JLB19978   Porsche       MACAN               DENVER                    CO
144164   WP1AA2A50JLB19981   Porsche       MACAN               WEST PALM BEACH           FL
144165   WP1AA2A50LLB03024   Porsche       MACAN               FORT LAUDERDALE           FL
144166   WP1AA2A50LLB03041   Porsche       MACAN               STERLING                  VA
144167   WP1AA2A50LLB03055   Porsche       MACAN               INDIANAPOLIS              IN
144168   WP1AA2A51JLB19441   Porsche       MACAN               BURBANK                   CA
144169   WP1AA2A51JLB19665   Porsche       MACAN               SAN FRANCISCO             CA
144170   WP1AA2A51JLB19682   Porsche       MACAN               OAKLAND                   CA
144171   WP1AA2A51JLB19875   Porsche       MACAN               FORT LAUDERDALE           FL
144172   WP1AA2A51JLB19925   Porsche       MACAN               MIAMI                     FL
144173   WP1AA2A51JLB20024   Porsche       MACAN               North Las Vegas           NV
144174   WP1AA2A51JLB20041   Porsche       MACAN               DENVER                    CO
144175   WP1AA2A51LLB03033   Porsche       MACAN               CHARLESTON                WV
144176   WP1AA2A52JLB19691   Porsche       MACAN               Davie                     FL
144177   WP1AA2A52JLB19819   Porsche       MACAN               PHOENIX                   AZ
144178   WP1AA2A52JLB19898   Porsche       MACAN               SAN DIEGO                 CA
144179   WP1AA2A52JLB19917   Porsche       MACAN               MIAMI                     FL
144180   WP1AA2A52JLB19951   Porsche       MACAN               SAN DIEGO                 CA
144181   WP1AA2A52JLB20033   Porsche       MACAN               North Las Vegas           NV
144182   WP1AA2A52JLB20047   Porsche       MACAN               ATLANTA                   GA
144183   WP1AA2A52JLB20050   Porsche       MACAN               ORLANDO                   FL
144184   WP1AA2A52LLB03042   Porsche       MACAN               JAMAICA                   NY
144185   WP1AA2A52LLB03056   Porsche       MACAN               BOSTON                    MA
144186   WP1AA2A53JLB19652   Porsche       MACAN               Denver                    CO
144187   WP1AA2A53JLB19702   Porsche       MACAN               LOS ANGELES               CA
144188   WP1AA2A53JLB19750   Porsche       MACAN               SAN FRANCISCO             CA
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144189   WP1AA2A53JLB19764   Porsche       MACAN               LOS ANGELES               CA
144190   WP1AA2A53JLB19800   Porsche       MACAN               MIAMI                     FL
144191   WP1AA2A53JLB19814   Porsche       MACAN               LOS ANGELES               CA
144192   WP1AA2A53JLB19926   Porsche       MACAN               Miami                     FL
144193   WP1AA2A53JLB19943   Porsche       MACAN               FORT MYERS                FL
144194   WP1AA2A53JLB19988   Porsche       MACAN               LAS VEGAS                 NV
144195   WP1AA2A53JLB20025   Porsche       MACAN               MIAMI                     FL
144196   WP1AA2A54JLB19658   Porsche       MACAN               MIAMI                     FL
144197   WP1AA2A54JLB19725   Porsche       MACAN               Burlingame                CA
144198   WP1AA2A54JLB19773   Porsche       MACAN               DENVER                    CO
144199   WP1AA2A54JLB19790   Porsche       MACAN               LOS ANGELES               CA
144200   WP1AA2A54JLB19837   Porsche       MACAN               Dania                     FL
144201   WP1AA2A54JLB19918   Porsche       MACAN               Riverside                 CA
144202   WP1AA2A54JLB20051   Porsche       MACAN               SAN FRANCISCO             CA
144203   WP1AA2A54LLB03057   Porsche       MACAN               JAMAICA                   NY
144204   WP1AA2A54LLB03141   Porsche       MACAN               PHILADELPHIA              PA
144205   WP1AA2A55JLB19412   Porsche       MACAN               LOS ANGELES               CA
144206   WP1AA2A55JLB19541   Porsche       MACAN               SAN FRANCISCO             CA
144207   WP1AA2A55JLB19720   Porsche       MACAN               DENVER                    CO
144208   WP1AA2A55JLB19748   Porsche       MACAN               MIAMI                     FL
144209   WP1AA2A55JLB19863   Porsche       MACAN               orlando                   FL
144210   WP1AA2A55JLB19975   Porsche       MACAN               North Las Vegas           NV
144211   WP1AA2A55JLB20009   Porsche       MACAN               DENVER                    CO
144212   WP1AA2A55LLB03021   Porsche       MACAN               NEWARK                    NJ
144213   WP1AA2A56JLB19435   Porsche       MACAN               LAS VEGAS                 NV
144214   WP1AA2A56JLB19516   Porsche       MACAN               LOS ANGELES AP            CA
144215   WP1AA2A56JLB19693   Porsche       MACAN               LOS ANGELES               CA
144216   WP1AA2A56JLB19869   Porsche       MACAN               LOS ANGELES               CA
144217   WP1AA2A56JLB20004   Porsche       MACAN               MIAMI                     FL
144218   WP1AA2A56JLB20018   Porsche       MACAN               SAN FRANCISCO             CA
144219   WP1AA2A56LLB03139   Porsche       MACAN               PHILADELPHIA              PA
144220   WP1AA2A57JLB19704   Porsche       MACAN               LOS ANGELES               CA
144221   WP1AA2A57JLB19718   Porsche       MACAN               MIAMI                     FL
144222   WP1AA2A57JLB19833   Porsche       MACAN               Pheonix                   AZ
144223   WP1AA2A57JLB19864   Porsche       MACAN               DENVER                    CO
144224   WP1AA2A57JLB19928   Porsche       MACAN               SAN FRANCISCO             CA
144225   WP1AA2A57JLB20027   Porsche       MACAN               SAN FRANCISCO             CA
144226   WP1AA2A57JLB20044   Porsche       MACAN               North Las Vegas           NV
144227   WP1AA2A57LLB03120   Porsche       MACAN               NEWARK                    NJ
144228   WP1AA2A58JLB19386   Porsche       MACAN               LITTLETON                 CO
144229   WP1AA2A58JLB19470   Porsche       MACAN               Santa Clara               CA
144230   WP1AA2A58JLB19677   Porsche       MACAN               SAN FRANCISCO             CA
144231   WP1AA2A58JLB19694   Porsche       MACAN               MIAMI                     FL
144232   WP1AA2A58JLB19727   Porsche       MACAN               ORLANDO                   FL
144233   WP1AA2A58JLB19856   Porsche       MACAN               MIAMI                     FL
144234   WP1AA2A59JLB19414   Porsche       MACAN               MIAMI                     FL
144235   WP1AA2A59JLB19462   Porsche       MACAN               MIAMI                     FL
144236   WP1AA2A59JLB19574   Porsche       MACAN               LAS VEGAS                 NV
144237   WP1AA2A59JLB19722   Porsche       MACAN               HAWTHORNE                 CA
144238   WP1AA2A59JLB19736   Porsche       MACAN               SAN DIEGO                 CA
144239   WP1AA2A59JLB19848   Porsche       MACAN               MIAMI                     FL
144240   WP1AA2A59JLB19994   Porsche       MACAN               DENVER                    CO
144241   WP1AA2A59JLB20031   Porsche       MACAN               DENVER                    CO
144242   WP1AA2A59LLB03099   Porsche       MACAN               PHILADELPHIA              PA
144243   WP1AA2A5XJLB19325   Porsche       MACAN               SAN FRANCISCO             CA
144244   WP1AA2A5XJLB19549   Porsche       MACAN               SANTA ANA                 CA
144245   WP1AA2A5XJLB19762   Porsche       MACAN               Aurora                    CO
144246   WP1AA2A5XJLB19793   Porsche       MACAN               ORLANDO                   FL
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144247   WP1AA2A5XJLB19843   Porsche          MACAN               OAKLAND                   CA
144248   WP1AA2A5XJLB19860   Porsche          MACAN               Riverside                 CA
144249   WP1AA2A5XJLB19874   Porsche          MACAN               DENVER                    CO
144250   WP1AA2A5XJLB19910   Porsche          MACAN               North Las Vegas           NV
144251   WP1AA2A5XJLB20040   Porsche          MACAN               DAYTONA BEACH             FL
144252   WP1AA2A5XLLB03144   Porsche          MACAN               NEWARK                    NJ
144253   WP1AA2AY0LDA01713   Porsche          CAYENNE             MIAMI                     FL
144254   WP1AA2AY0LDA01727   Porsche          CAYENNE             LOS ANGELES               CA
144255   WP1AA2AY0LDA01744   Porsche          CAYENNE             FORT LAUDERDALE           FL
144256   WP1AA2AY0LDA01825   Porsche          CAYENNE             FORT LAUDERDALE           FL
144257   WP1AA2AY1LDA01638   Porsche          CAYENNE             SAN FRANCISCO             CA
144258   WP1AA2AY1LDA01736   Porsche          CAYENNE             AUSTIN                    TX
144259   WP1AA2AY1LDA01820   Porsche          CAYENNE             FORT LAUDERDALE           FL
144260   WP1AA2AY1LDA01851   Porsche          CAYENNE             MIAMI                     FL
144261   WP1AA2AY1LDA01946   Porsche          CAYENNE             SAN FRANCISCO             CA
144262   WP1AA2AY2LDA01664   Porsche          CAYENNE             OAKLAND                   CA
144263   WP1AA2AY2LDA01678   Porsche          CAYENNE             SAN DIEGO                 CA
144264   WP1AA2AY2LDA01731   Porsche          CAYENNE             LOS ANGELES               CA
144265   WP1AA2AY2LDA01745   Porsche          CAYENNE             LOS ANGELES               CA
144266   WP1AA2AY3LDA01706   Porsche          CAYENNE             MIAMI                     FL
144267   WP1AA2AY3LDA01737   Porsche          CAYENNE             BOSTON                    MA
144268   WP1AA2AY3LDA01740   Porsche          CAYENNE             Hawthorne                 CA
144269   WP1AA2AY3LDA01849   Porsche          CAYENNE             SAN DIEGO                 CA
144270   WP1AA2AY3LDA01852   Porsche          CAYENNE             SAN FRANCISCO             CA
144271   WP1AA2AY4LDA01729   Porsche          CAYENNE             LOS ANGELES               CA
144272   WP1AA2AY4LDA01746   Porsche          CAYENNE             LOS ANGELES               CA
144273   WP1AA2AY4LDA01827   Porsche          CAYENNE             MIAMI                     FL
144274   WP1AA2AY5LDA01738   Porsche          CAYENNE             BOSTON                    MA
144275   WP1AA2AY5LDA01741   Porsche          CAYENNE             FORT LAUDERDALE           FL
144276   WP1AA2AY5LDA01836   Porsche          CAYENNE             DENVER                    CO
144277   WP1AA2AY5LDA01853   Porsche          CAYENNE             FT. LAUDERDALE            FL
144278   WP1AA2AY6LDA01733   Porsche          CAYENNE             LOS ANGELES               CA
144279   WP1AA2AY6LDA01747   Porsche          CAYENNE             DENVER                    CO
144280   WP1AA2AY6LDA01764   Porsche          CAYENNE             LAS VEGAS                 NV
144281   WP1AA2AY6LDA01781   Porsche          CAYENNE             SAN FRANCISCO             CA
144282   WP1AA2AY6LDA01845   Porsche          CAYENNE             LOS ANGELES               CA
144283   WP1AA2AY7LDA01739   Porsche          CAYENNE             DENVER                    CO
144284   WP1AA2AY7LDA01966   Porsche          CAYENNE             SAN FRANCISCO             CA
144285   WP1AA2AY8LDA01717   Porsche          CAYENNE             FORT LAUDERDALE           FL
144286   WP1AA2AY8LDA01748   Porsche          CAYENNE             BOSTON                    MA
144287   WP1AA2AY8LDA01815   Porsche          CAYENNE             MIAMI                     FL
144288   WP1AA2AY9LDA01712   Porsche          CAYENNE             BURBANK                   CA
144289   WP1AA2AY9LDA01726   Porsche          CAYENNE             DFW AIRPORT               TX
144290   WP1AA2AY9LDA01807   Porsche          CAYENNE             OAKLAND                   CA
144291   WP1AA2AY9LDA01855   Porsche          CAYENNE             SAN FRANCISCO             CA
144292   WP1AA2AYXLDA01735   Porsche          CAYENNE             MIAMI                     FL
144293   WP1AA2AYXLDA01797   Porsche          CAYENNE             BOSTON                    MA
144294   WP1AA2AYXLDA01850   Porsche          CAYENNE             MIAMI                     FL
144295   WVGAV7AX3GW537247   Volkswagen       TIGUAN              LOS ANGELES               CA
144296   WVGAV7AX3GW556395   Volkswagen       TIGUAN              SAN JOSE                  CA
144297   WVGAV7AX3GW585055   Volkswagen       TIGUAN              BURBANK                   CA
144298   WVGAV7AX4GW541744   Volkswagen       TIGUAN              ORLANDO                   FL
144299   WVGAV7AX5GW561355   Volkswagen       TIGUAN              NEW ENGLAND DEALER        MA
144300   WVGAV7AX6GW517932   Volkswagen       TIGUAN              South San Franc           CA
144301   WVGAV7AX6GW575569   Volkswagen       TIGUAN              St. Louis                 MO
144302   WVGAV7AX8GW552729   Volkswagen       TIGUAN              BURBANK                   CA
144303   WVGBV7AX7FW115601   Volkswagen       TIGUAN              BOSTON                    MA
144304   WVGBV7AX8GW594211   Volkswagen       TIGUAN              Lynn                      MA
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144305   WVGBV7AX9FW584334   Volkswagen       TIGUAN              HANOVER                   MD
144306   WVGBV7AX9GW068122   Volkswagen       TIGUAN              CHICAGO                   IL
144307   WVGBV7AXXGW576776   Volkswagen       TIGUAN              Dallas                    TX
144308   WVGSV7AX0HK001496   Volkswagen       TIGUAN              North Dighton             MA
144309   ZACCJAAB3HPF53828   Chrysler         RENEGADE            DENVER                    CO
144310   ZACCJAAT2GPD68371   Chrysler         RENEGADE            Stone Mountain            GA
144311   ZACCJAATXGPD36557   Chrysler         RENEGADE            Scottsdale                AZ
144312   ZACCJABB0HPE58920   Chrysler         RENEGADE            PITTSBURGH                PA
144313   ZACCJABB0HPE60070   Chrysler         RENEGADE            North Las Vegas           NV
144314   ZACCJABB1HPE94356   Chrysler         RENEGADE            BURBANK                   CA
144315   ZACCJABB1HPE94504   Chrysler         RENEGADE            Lake Elsinore             CA
144316   ZACCJABB2HPE57641   Chrysler         RENEGADE            PICO RIVERA               CA
144317   ZACCJABB2HPF03131   Chrysler         RENEGADE            BURBANK                   CA
144318   ZACCJABB3JPG79529   Chrysler         RENEGADE            LOS ANGELES               CA
144319   ZACCJABB3JPH62250   Chrysler         RENEGADE            ORLANDO                   FL
144320   ZACCJABB4HPE94495   Chrysler         RENEGADE            Scottsdale                AZ
144321   ZACCJABB4HPE95081   Chrysler         RENEGADE            NORTH PAC                 CA
144322   ZACCJABB5HPE94375   Chrysler         RENEGADE            BURBANK                   CA
144323   ZACCJABB5HPE97180   Chrysler         RENEGADE            ROSEVILLE                 CA
144324   ZACCJABB5HPE97213   Chrysler         RENEGADE            BURBANK                   CA
144325   ZACCJABB6HPE56377   Chrysler         RENEGADE            Mira Loma                 CA
144326   ZACCJABB6HPE56430   Chrysler         RENEGADE            Hayward                   CA
144327   ZACCJABB9HPE94203   Chrysler         PATRIOT             SAN ANTONIO               TX
144328   ZACCJABBXHPF16287   Chrysler         RENEGADE            Scottsdale                AZ
144329   ZACCJABT8FPC25101   Chrysler         RENEGADE            Euless                    TX
144330   ZACCJADB6HPE40421   Chrysler         RENEGADE            Las Vegas                 NV
144331   ZACCJADT5FPB67915   Chrysler         RENEGADE            BURBANK                   CA
144332   ZACCJBAB1JPH27181   Chrysler         RENEGADE            ORLANDO                   FL
144333   ZACCJBAB2JPH00037   Chrysler         RENEGADE            CHICAGO                   IL
144334   ZACCJBAB4JPH37882   Chrysler         RENEGADE            SANTA ANA                 CA
144335   ZACCJBAT1GPD46819   Chrysler         RENEGADE            PHOENIX                   AZ
144336   ZACCJBATXGPC78472   Chrysler         RENEGADE            CHICAGO                   IL
144337   ZACCJBBT8FPB54911   Chrysler         RENEGADE            Elkridge                  MD
144338   ZACCJBCB0JPG79332   Chrysler         RENEGADE            Manheim                   PA
144339   ZACCJBCB0JPH13690   Chrysler         RENEGADE            BOSTON                    MA
144340   ZACCJBCB0JPH13737   Chrysler         RENEGADE            Baltimore                 MD
144341   ZACCJBCB0JPH13981   Chrysler         RENEGADE            DETROIT                   MI
144342   ZACCJBCB1JPH13987   Chrysler         RENEGADE            FORT MYERS                FL
144343   ZACCJBCB2JPH14047   Chrysler         RENEGADE            North Dighton             MA
144344   ZACCJBCB3JPG79521   Chrysler         RENEGADE            NEW BERN                  NC
144345   ZACCJBCB3JPG79602   Chrysler         RENEGADE            PORTLAND                  ME
144346   ZACCJBCB4HPF19948   Chrysler         RENEGADE            RICHMOND                  VA
144347   ZACCJBCB4JPG79589   Chrysler         RENEGADE            DENVER                    CO
144348   ZACCJBCB4JPH13952   Chrysler         RENEGADE            ATLANTA                   GA
144349   ZACCJBCB5JPH01759   Chrysler         RENEGADE            Des Plaines               IL
144350   ZACCJBCB5JPH02457   Chrysler         RENEGADE            ORLANDO                   FL
144351   ZACCJBCB6HPF17098   Chrysler         RENEGADE            HANOVER                   MD
144352   ZACCJBCB6JPG78976   Chrysler         RENEGADE            Hamilton                  OH
144353   ZACCJBCB6JPG79111   Chrysler         RENEGADE            PHILADELPHIA              PA
144354   ZACCJBCB6JPG79240   Chrysler         RENEGADE            Winston‐Salem             NC
144355   ZACCJBCB6JPH11362   Chrysler         RENEGADE            Savannah                  GA
144356   ZACCJBCB6JPH13919   Chrysler         RENEGADE            Bensalem                  PA
144357   ZACCJBCB6JPH13970   Chrysler         RENEGADE            COLUMBIA                  SC
144358   ZACCJBCB6JPH13984   Chrysler         RENEGADE            McAllen                   TX
144359   ZACCJBCB6JPH13998   Chrysler         RENEGADE            Warwick                   RI
144360   ZACCJBCB7JPG96774   Chrysler         RENEGADE            Bensalem                  PA
144361   ZACCJBCB7JPG96788   Chrysler         RENEGADE            North Dighton             MA
144362   ZACCJBCB7JPH13718   Chrysler         RENEGADE            Detroit                   MI
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144363   ZACCJBCB8JPH01691   Chrysler       RENEGADE            Winston‐Salem             NC
144364   ZACCJBCB9HPE98711   Chrysler       RENEGADE            SEATAC                    WA
144365   ZACCJBCB9JPG79507   Chrysler       RENEGADE            Orlando                   FL
144366   ZACCJBCB9JPH11226   Chrysler       RENEGADE            Schaumburg                IL
144367   ZACCJBCB9JPH13834   Chrysler       RENEGADE            Winter Park               FL
144368   ZACCJBCB9JPH14000   Chrysler       RENEGADE            Warminster                PA
144369   ZACCJBCBXJPG75255   Chrysler       RENEGADE            BURBANK                   CA
144370   ZACCJBCBXJPG79564   Chrysler       RENEGADE            DFW AIRPORT               TX
144371   ZACCJBCBXJPH01952   Chrysler       RENEGADE            FORT LAUDERDALE           FL
144372   ZACCJBCBXJPH11655   Chrysler       RENEGADE            OKLAHOMA CITY             OK
